Exhibit H
 PART 2 of 2
                        https://www.nytimes.com/2021/10/20/busines Netflix Employees Walk Out to Protest        By John Koblin and Nicole
2021-10-20   2021-10-21 s/media/netflix-protest-dave-chappelle.html Chappelle StandUp Special                   Sperling                             TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/busines Teslas Profit and Revenue Surge With Jump
2021-10-20   2021-10-21 s/tesla-earnings.html                       in Electric Car Sales                       By Neal E Boudette                   TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/climate Fossil Fuel Plans Hinder Climate Goals
2021-10-20   2021-10-21 /fossil-fuel-drilling-pledges.html          Report Says                                 By Brad Plumer                       TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/health/
2021-10-20   2021-10-21 nadia-chaudhri-dead.html                    Nadia Chaudhri 43 Scientist With a Mission By Annabelle Williams                 TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/health/
2021-10-20   2021-10-21 nursing-homes-covid-vaccine-mandate.html When Caregivers Shun Shots                     By Reed Abelson                      TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/nyregio New York City Workers Ordered to Get         By Emma G Fitzsimmons Joseph
2021-10-20   2021-10-21 n/nyc-vaccine-mandate.html                  Vaccine                                     Goldstein and Sharon Otterman        TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/nyregio
                        n/trump-westchester-golf-club-              County Attorney Opens Criminal              By William K Rashbaum and Ben
2021-10-20   2021-10-21 investigation.html                          Investigation of Trump Organization         Protess                              TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/opinion How Will Blue America Live With Endless
2021-10-20   2021-10-21 /covid-restrictions-democratic-states.html  Covid                                       By Ross Douthat                      TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/opinion
2021-10-20   2021-10-21 /joe-manchin-democratic-party.html          Manchin Never Claimed to Be a Progressive By Michelle Cottle                     TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/opinion
2021-10-20   2021-10-21 /virginia-governor-race.html                I Forgot to Press Send                      By Gail Collins                      TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/sports/b
2021-10-20   2021-10-21 aseball/brian-snitker-bobby-cox.html        A 40Year Bond Between Two Skippers          By Alan Blinder                      TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/sports/b
2021-10-20   2021-10-21 aseball/houston-astros-bullpen.html         Todays Astros Copy the Old Celtics Playbook By Tyler Kepner                      TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/sports/b
                        asketball/lakers-warriors-james-
2021-10-20   2021-10-21 westbrook.html                              Game 1 Hiccups Just as in Years Past        By Scott Cacciola                    TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/sports/b Without the Unvaccinated Irving the Nets
2021-10-20   2021-10-21 asketball/nets-bucks-kyrie-irving.html      Stumble Badly Against the Champions         By Sopan Deb                         TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/20/sports/f
2021-10-20   2021-10-21 ootball/nfl-concussion-settlement-race.html NFL Plan Drops Race In Gauging Dementia       By Ken Belson                      TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/style/bl
2021-10-20   2021-10-21 acktag-has-big-plans.html                   Blacktag Is Making Big Plans                  By Diana Tsui                      TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/20/technol
2021-10-20   2021-10-21 ogy/mark-zuckerberg-facebook-lawsuit.html Zuckerberg Now Cited In Lawsuit On Privacy By Cecilia Kang                           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/technol
2021-10-20   2021-10-21 ogy/paypal-pinterest-acquisition-deal.html PayPal Is Said to Offer 45 Billion for Pinterest By Lauren Hirsch and Erin Griffith TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/technol
                        ogy/personaltech/google-apple-translate-
2021-10-20   2021-10-21 language.html                              Apps to Avoid Getting Lost in Translation        By J D Biersdorfer                 TX 9-103-504   2021-12-01




                                                                                 Page 2898 of 5793
                        https://www.nytimes.com/2021/10/20/theater/ Leslie Bricusse Songwriter for Willy Wonka
2021-10-20   2021-10-21 leslie-bricusse-dead.html                   Goldfinger and Broadway Smashes Dies at 90 By Neil Genzlinger               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/us/amh Amherst College Ends Policy Favoring
2021-10-20   2021-10-21 erst-college-legacy-admissions.html         Children of Alumni                         By Jacey Fortin                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/us/dori Science Ideology and Politics Jostle in the
2021-10-20   2021-10-21 an-abbot-mit.html                           Halls of Academia                          By Michael Powell                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/us/park Gunman Pleads Guilty in School Shooting at By Nick Madigan Patricia Mazzei
2021-10-20   2021-10-21 land-shooting-guilty-nikolas-cruz.html      Parkland                                   and Nicholas BogelBurroughs      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/us/polit Democrats Are Backing Away From Plan to By Jim Tankersley and Emily
2021-10-20   2021-10-21 ics/democrats-tax-rates.html                Raise the Corporate Tax Rate               Cochrane                         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/us/polit Detention of Afghan at Guantnamo Bay Is
2021-10-20   2021-10-21 ics/guantanamo-afghan-detainee.html         Ruled Unlawful                             By Carol Rosenberg               TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/20/us/polit Officials at Black Colleges Feel Stung by
2021-10-20   2021-10-21 ics/hbcu-democrats-spending-congress.html Cuts in Aid Planned in Democrats Bill         By Erica L Green                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/us/polit Retirements Imperil Democrats Majority in
2021-10-20   2021-10-21 ics/house-democrat-retirements.html         House                                       By Jonathan Weisman             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/us/polit US Details Plan For Vaccinating Children 5
2021-10-20   2021-10-21 ics/kids-covid-vaccination.html             to 11                                       By Katie Rogers                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/us/polit Divided Senate Confirms Pick for Education
2021-10-20   2021-10-21 ics/lhamon-biden-education-senate.html      Dept                                        By Madeleine Ngo                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/us/polit
2021-10-20   2021-10-21 ics/minneapolis-deep-canvassing.html        The AntiRobocall Listening to Voters Talk   By Jennifer Medina              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/us/polit
                        ics/rahm-emanuel-senate-mcdonald-           Emanuel Is Questioned About Police Shooting By Glenn Thrush and Michael
2021-10-20   2021-10-21 shooting.html                               in Seeking Japan Posting                    Crowley                         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/us/polit
                        ics/submarine-spy-hearing-jonathan-diana-   Court Files Show Couple Had Plan to Sell    By Julian E Barnes and Zach
2021-10-20   2021-10-21 toebbe.html                                 Secrets And Flee With the Money             Montague                        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/us/polit Voting Rights Impasse Puts Pressure on
2021-10-20   2021-10-21 ics/voting-rights-filibuster-democrats.html Filibuster                                  By Carl Hulse                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/world/a
                        mericas/bolsonaro-pandemic-inquiry-         Brazil Pandemic Panel in Late Shift Softens
2021-10-20   2021-10-21 crimes.html                                 View on Charges for Bolsonaro               By Jack Nicas                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/world/a
2021-10-20   2021-10-21 sia/india-nepal-floods-landslides.html      Heavy Rains Kill Dozens in India and Nepal By Emily Schmall                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/world/a Transgender Woman Flees Malaysia After
2021-10-20   2021-10-21 sia/malaysia-transgender.html               Jail Threat for Wearing Hijab               By Hannah Beech and Hadi Azmi   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/world/e
                        urope/navalny-sakharov-prize-putin-         Navalny Putins Imprisoned Foe Wins EUs      By Andrew E Kramer and Aina J
2021-10-20   2021-10-21 russia.html                                 Top Human Rights Award                      Khan                            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/world/e
                        urope/putin-glasgow-climate-conference-     Russian Leader Wont Go To Glasgow
2021-10-20   2021-10-21 cop26.html                                  Conference                                  By Andrew E Kramer              TX 9-103-504   2021-12-01



                                                                               Page 2899 of 5793
                        https://www.nytimes.com/2021/10/20/world/e
2021-10-20   2021-10-21 urope/queen-elizabeth-northern-ireland.html Queen Cancels a Trip Citing Medical Advice By Mark Landler                  TX 9-103-504    2021-12-01

                        https://www.nytimes.com/2021/10/20/world/e Spain Agrees to Extradite ExVenezuela Spy
2021-10-20   2021-10-21 urope/spain-extradite-carvajal-venezuela.html Chief                                     By Raphael Minder               TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/world/e A Sleepy Border Town Becomes a Beacon of
2021-10-20   2021-10-21 urope/turkey-syria-border-refugees.html       Ethnic Harmony                            By Carlotta Gall                TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/world/
2021-10-20   2021-10-21 middleeast/egypt-judges-women.html            In Egypt Women Hear No Girls On the Bench By Mona ElNaggar                TX 9-103-504    2021-12-01

                        https://www.nytimes.com/2021/10/20/world/ Bombing of Military Bus In Syrian Capital
2021-10-20   2021-10-21 middleeast/syria-military-bus-bombing.html Kills 14                                    By Ben Hubbard                   TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/21/world/a In Afghanistan Former Judges Are on the Run
2021-10-20   2021-10-21 sia/afghan-judges-women-taliban.html       for Being Female                            By David Zucchino                TX 9-103-504    2021-12-01

                        https://www.nytimes.com/interactive/2021/10/
2021-10-20   2021-10-21 20/opinion/tom-morello-protest-music.html Songs of Justice Songs of Power               By Tom Morello                  TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/nyregio Sliwa Ties His Mayoral Rival to Elites Adams
2021-10-21   2021-10-21 n/debate-adams-sliwa-mayor-nyc.html          Sees Buffoonery                            By Katie Glueck                 TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/sports/b Onslaught Leaves Red Sox on the Brink
2021-10-21   2021-10-21 aseball/astros-red-sox-alcs-game-5.html      Where Theyve Been Before                   By David Waldstein              TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/sports/ New Chief of Womens League Promises to
2021-10-21   2021-10-21 women-soccer-abuse-ceo.html                  Get Our House in Order                     By Juliet Macur                 TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/us/polit
                        ics/fda-boosters-moderna-johnson-            MixandMatch Booster Shot And More Brands By Noah Weiland and Sharon
2021-10-21   2021-10-21 johnson.html                                 Approved                                   LaFraniere                      TX 9-103-504    2021-12-01

                        https://www.nytimes.com/2021/10/21/busines
2021-10-21   2021-10-21 s/economy/federal-reserve-ethics-trading.html Fed Gave A Warning On Trading              By Jeanna Smialek              TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/21/fashion A New Kind of Agent for a New Kind of
2021-10-21   2021-10-21 /kendall-werts-jeffries.html                  Celebrity                                  By Jessica Iredale             TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/21/insider/
                        chronicling-the-black-lives-matter-movement-
2021-10-21   2021-10-21 for-kids.html                                 Finding a Protests Place in History        By Sarah Bahr                  TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/21/nyregio Associate of Giuliani Gained Easy Access to
2021-10-21   2021-10-21 n/lev-parnas-trump-giuliani.html              Trump Allies                               By Colin Moynihan               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/nyregio New Yorkers Driven Mad by the Constant        By Patrick McGeehan and Michael
2021-10-21   2021-10-21 n/nyc-helicopter-noise-complaints.html        ThwupThwupThwup                            Gold                            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/style/kn
2021-10-21   2021-10-21 obkerry-east-village-boutique.html            Who Was Sara Penn Rediscovering a Career   By Guy Trebay                  TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/19/arts/mu
                        sic/john-coltrane-a-love-supreme-live-in-
2021-10-19   2021-10-22 seattle.html                                  Discovery Yields Coltrane Insights         By Giovanni Russonello         TX 9-103-504    2021-12-01




                                                                                Page 2900 of 5793
                        https://www.nytimes.com/2021/10/19/movies/
2021-10-19   2021-10-22 escape-from-mogadishu-review.html          Escape From Mogadishu                         By Beatrice Loayza                TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/20/arts/des
2021-10-20   2021-10-22 ign/valadon-painter-barnes-philadelphia.html A Bohemian Model Turned Painter             By Will Heinrich                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/books/n
2021-10-20   2021-10-22 adifa-mohamed-fortune-men.html               Exploring the Past To Examine Injustice     By Geneva Abdul                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/busines                                               By Peter S Goodman and Eshe
2021-10-20   2021-10-22 s/boris-johnson-shortages-britain.html       Johnson Spins Upside in Britain             Nelson                            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/health/r Doctor Accused in Assaults Faces New
2021-10-20   2021-10-22 icardo-cruciani-federal-charges.html         Federal Charges                             By Roni Caryn Rabin               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/movies/
2021-10-20   2021-10-22 chameleon-street-bam.html                    He Thinks Therefore He Scams                By J Hoberman                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/movies/
2021-10-20   2021-10-22 dune-review.html                             These Sands Constantly Sift and Shift       By Manohla Dargis                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/movies/
2021-10-20   2021-10-22 found-review.html                            Found                                       By Lisa Kennedy                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/movies/
2021-10-20   2021-10-22 night-teeth-review.html                      Night Teeth                                 By Jeannette Catsoulis            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/movies/
2021-10-20   2021-10-22 the-french-dispatch-review.html              An InkStained Hymn to the Joy of Print      By AO Scott                       TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/20/technol The True Cost of Upgrading Your Phone
2021-10-20   2021-10-22 ogy/personaltech/iphone-upgrades-cost.html Every Year                                    By Brian X Chen                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/interactive/2021/10/
                        20/upshot/democrats-trim-reconciliation-                                                 By Margot SangerKatz and Alicia
2021-10-20   2021-10-22 bill.html                                    The Democrats Have a Lot of Cutting to Do   Parlapiano                        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/des Museum Ousts Volunteers in Diversity Push
2021-10-21   2021-10-22 ign/chicago-art-institute-docents.html       Uproar Ensues                               By Robin Pogrebin                 TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/21/arts/des
2021-10-21   2021-10-22 ign/emma-amos-philadelphia-museum.html Retelling History In Her Own Voice                By Jillian Steinhauer             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/des
2021-10-21   2021-10-22 ign/hispanic-society-grolier-club.html       After Years in Limbo a Revelation           By Holland Cotter                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/hal
2021-10-21   2021-10-22 loween-events-nyc.html                       Finding Just the Right Dose of Fright       By Erik Piepenburg                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/mu
                        sic/classical-music-new-york-
2021-10-21   2021-10-22 philharmonic.html                            Contemporary Works Performed With Brio      By Seth Colter Walls              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/tele
2021-10-21   2021-10-22 vision/insecure-locke-and-key.html           This Weekend I Have                         By Margaret Lyons                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/tele TV Was an Alien World for Her Until
2021-10-21   2021-10-22 vision/invasion-golshifteh-farahani.html     Invasion                                    By Elisabeth Vincentelli          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/automo Inquiry Refutes Police Claim That No One
2021-10-21   2021-10-22 biles/tesla-texas-crash-autopilot.html       Was at Wheel of Tesla in Fatal Crash        By Neal E Boudette                TX 9-103-504   2021-12-01



                                                                                 Page 2901 of 5793
                        https://www.nytimes.com/2021/10/21/books/j Jerry Pinkney 81 Dies Artist Who Reimagined
2021-10-21   2021-10-22 erry-pinkney-dead.html                     Classic Childrens Books                     By Neil Genzlinger                 TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/21/busines American and Southwest Ride Recovery to
2021-10-21   2021-10-22 s/american-southwest-airlines-earnings.html Profits                                     By Niraj Chokshi                  TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/busines AutoNation Profits as Inventory Lag Pushes
2021-10-21   2021-10-22 s/autonation-profits-car-prices.html        Up Prices                                   By Neal E Boudette                TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/busines
2021-10-21   2021-10-22 s/economy/stock-market-record.html          Optimism Spurs Stock Market to Record       By Matt Phillips                  TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/busines
                        s/facebook-oversight-board-members-         Facebooks Oversight Board Faults Favoritism
2021-10-21   2021-10-22 criticism.html                              in Rules                                    By Adam Satariano                 TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/busines
2021-10-21   2021-10-22 s/federal-reserve-trading-ethics.html       Fed Unveils New Rules On Trading            By Jeanna Smialek                 TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/21/busines US Agrees to Drop Tariffs in Deal to End
2021-10-21   2021-10-22 s/global-tax-agreement-digital-services.html Digital Tax                                By Alan Rappeport                 TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/busines
                        s/media/trump-spac-social-media-             Wall St Fad Helps Trump In Financing New   By David Enrich Matthew
2021-10-21   2021-10-22 venture.html                                 Venture                                    Goldstein and Shane Goldmacher    TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/busines WeWork Stock Is Trading 2 Years After
2021-10-21   2021-10-22 s/wework-trading-debut.html                  Aborted IPO                                By Peter Eavis                      TX 9-103-504   2021-12-01
                                                                                                                By Christopher Flavelle Julian E
                        https://www.nytimes.com/2021/10/21/climate Reports Lay Out Climates Threat To US        Barnes Eileen Sullivan and Jennifer
2021-10-21   2021-10-22 /climate-change-national-security.html      Security                                    Steinhauer                          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/climate
2021-10-21   2021-10-22 /noaa-forecast-winter-drought-lanina.html   Western US Should Expect More Drought      By Henry Fountain                  TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/health/c CDC Approves Use of Moderna and Johnson
2021-10-21   2021-10-22 ovid-vaccine-boosters-cdc.html              amp Johnson Booster Shots                  By Apoorva Mandavilli              TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/movies/
2021-10-21   2021-10-22 becoming-cousteau-review.html               An Old Man and His Seas                    By AO Scott                        TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/movies/ Learning to Live Together The Return of Mad
2021-10-21   2021-10-22 learning-to-live-together-review.html       Dogs amp Englishmen                        By Glenn Kenny                     TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/movies/
2021-10-21   2021-10-22 minyan-review.html                          Minyan                                     By Teo Bugbee                      TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/movies/
2021-10-21   2021-10-22 no-future-review.html                       No Future                                  By Calum Marsh                     TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/movies/
2021-10-21   2021-10-22 rons-gone-wrong-review.html                 Surveillance State And a Wonky Robot       By Ben Kenigsberg                  TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/21/movies/
2021-10-21   2021-10-22 the-electrical-life-of-louis-wain-review.html He Drew a Cat For Everybody               By Manohla Dargis                 TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/movies/
2021-10-21   2021-10-22 warning-review.html                           Warning                                   By Amy Nicholson                  TX 9-103-504     2021-12-01




                                                                                Page 2902 of 5793
                        https://www.nytimes.com/2021/10/21/nyregio Prosecutor for a Tense Era Never Seen Him
2021-10-21   2021-10-22 n/breon-peace-us-attorney.html              Sweat                                        By Rebecca Davis OBrien        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/opinion
2021-10-21   2021-10-22 /colin-powell.html                          The Paradox of Colin Powell                  By Theodore R Johnson          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/opinion
2021-10-21   2021-10-22 /corporate-taxes-deficit-spending.html      Deficits Shouldnt Stop Bidens Agenda         By Paul Krugman                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/opinion
2021-10-21   2021-10-22 /donald-trump.html                          Democrats Must Not Underestimate Trump By David Brock                       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/opinion Why Did the Supreme Court Stop This
2021-10-21   2021-10-22 /supreme-court-religion-execution.html      Execution                                    By Linda Greenhouse            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/science NIH Says Bat Studies Were Not Submitted       By Carl Zimmer and Benjamin
2021-10-21   2021-10-22 /bats-covid-lab-leak-nih.html               Promptly                                     Mueller                        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/science Fireball Seen Over Midwest Was Satellite
2021-10-21   2021-10-22 /russian-satellite-break-up.html            That Failed                                  By Joey Roulette               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/sports/a
2021-10-21   2021-10-22 utoracing/f1-mercedes-george-russell.html   With Russell Mercedes goes younger           By Luke Smith                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/sports/a
2021-10-21   2021-10-22 utoracing/us-grand-prix.html                Grand Prix is confident in its future        By Ian Parkes                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/sports/b Can the Slumping Red Sox Get Back on
2021-10-21   2021-10-22 aseball/red-sox-alcs.html                   Track We Did It Before                       By Tyler Kepner                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/sports/b A CubanBorn Slugger Lets His Bat Do the
2021-10-21   2021-10-22 aseball/yordan-alvarez-alcs-mvp.html        Talking                                      By James Wagner                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/sports/b China Pulls Celtics Games Off Internet After
2021-10-21   2021-10-22 asketball/celtics-kanter-china-tibet.html   ProTibet Posts                               By Raymond Zhong and Sopan Deb TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/sports/b Its Just One Game but Knicks Show an
2021-10-21   2021-10-22 asketball/knicks-celtics.html               Increased Offensive Arsenal                  By Sopan Deb                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/sports/b For His Final Act Lowry Is Calling His Own
2021-10-21   2021-10-22 asketball/kyle-lowry-miami-heat.html        Shots                                        By Jonathan Abrams             TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/21/technol                                           By Karen Weise and Coral Murphy
2021-10-21   2021-10-22 ogy/amazon-workers-union-staten-island.html Amazon Faces a Union Vote in New York    Marcos                          TX 9-103-504      2021-12-01

                        https://www.nytimes.com/2021/10/21/theater/
2021-10-21   2021-10-22 thoughts-of-a-colored-man-keenan-scott.html How Thoughts of a Colored Man Evolved        By Eric Grode                TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/us/ashl Alabamas Next Poet Laureate Writes
2021-10-21   2021-10-22 ey-jones-poet-laureate-alabama.html         Searingly About Race                         By Tariro Mzezewa            TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/us/men In FarFlung Churches RoundtheClock Prayer By Elizabeth Dias and Ruth
2021-10-21   2021-10-22 nonites-prayer-haiti-hostages.html          For Captive Missionaries                     Graham                       TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/us/moh Court Trims Officers Term For a Killing In
2021-10-21   2021-10-22 amed-noor-minneapolis-sentenced.html        Minnesota                                    By Mitch Smith               TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/us/polit Reports Detail Migrants Accounts of Abuse in
2021-10-21   2021-10-22 ics/asylum-migrants-abuse.html              US Custody                                   By Eileen Sullivan           TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/us/polit
2021-10-21   2021-10-22 ics/bannon-contempt-jan-6-subpoena.html     Bannon Found In Contempt Of Congress         By Luke Broadwater           TX 9-103-504     2021-12-01




                                                                              Page 2903 of 5793
                        https://www.nytimes.com/2021/10/21/us/polit US Warns Climate Change Is Emerging         By Alan Rappeport and Christopher
2021-10-21   2021-10-22 ics/climate-change-cost-us.html             Threat to Financial System                  Flavelle                          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/us/polit Long Fight to Curb Drug Prices May Be
2021-10-21   2021-10-22 ics/drug-prices-democrats.html              Headed to New Defeat                        By Jonathan Weisman               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/us/polit Garland Pressured by Both Sides in House
2021-10-21   2021-10-22 ics/garland-testimony-jan-6.html            Testimony                                   By Katie Benner                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/us/polit McCarthy or Cheney Consultants Must
2021-10-21   2021-10-22 ics/liz-cheney-kevin-mccarthy.html          Choose                                      By Jonathan Martin                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/us/polit Justice Dept Adds 2 Prosecutors to Gaetz    By Michael S Schmidt and Katie
2021-10-21   2021-10-22 ics/matt-gaetz-justice-department.html      Case                                        Benner                            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/us/polit No Pressure Seen in Hiring Of Trump Ally At
2021-10-21   2021-10-22 ics/nsa-michael-ellis-trump.html            the NSA                                     By Julian E Barnes                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/us/polit Calling Sinema an Obstacle to Progress 5    By Catie Edmondson and Luke
2021-10-21   2021-10-22 ics/sinema-veterans-resign.html             Veterans Leave Her Advisory Council         Broadwater                        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/us/polit Texas Urges Top Court Not to Block
2021-10-21   2021-10-22 ics/texas-abortion-law-supreme-court.html   Abortion Law                                By Adam Liptak                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/us/repu Sights Set on School Districts As GOP
2021-10-21   2021-10-22 blicans-schools-critical-race-theory.html   Targets Race Theory                         By Stephanie Saul                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/us/sept Prosecutor Casts Doubt on Report That No     By Jon Hurdle and Campbell
2021-10-21   2021-10-22 a-assault-passengers.html                   One Intervened in Rape                      Robertson                         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/us/texa
2021-10-21   2021-10-22 s-governor-secretary-of-state.html          Trump Ally Will Oversee Vote Review         By J David Goodman                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/world/a Lines Blur Between Government And Gangs By Catherine Porter and Natalie
2021-10-21   2021-10-22 mericas/haiti-gangs-kidnapping.html         Terrorizing Haitians                        Kitroeff                          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/world/a
                        mericas/haiti-missionary-kidnapping-
2021-10-21   2021-10-22 threat.html                                 Threat to Kill Missionaries Held in Haiti   By Maria AbiHabib                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/world/a Crack the Glass Ceiling Schools Prove a
2021-10-21   2021-10-22 sia/china-schools-gender-bias.html          Barrier                                     By Joy Dong                       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/world/a South Korea Says Rocket Had Incomplete
2021-10-21   2021-10-22 sia/south-korea-rocket.html                 Mission                                     By Choe SangHun                   TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/21/world/a In Australia Fossil Fuels Pose a Grave Danger
2021-10-21   2021-10-22 ustralia/australia-coal-fossil-fuel-carbon.html Leaders Want More                        By Damien Cave                 TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/world/a
                        ustralia/new-zealand-christchurch-              New Inquiry Opens in New Zealand Over
2021-10-21   2021-10-22 investigation.html                              Mosque Attacks That Killed 51            By Charlotte GrahamMcLay       TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/world/e Britains NoRestrictions Gamble Is Tested as By Mark Landler and Stephen
2021-10-21   2021-10-22 urope/britain-virus.html                        Covid Cases Spike                        Castle                         TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/21/world/e Queen Elizabeth Back at Windsor After
2021-10-21   2021-10-22 urope/queen-elizabeth-health-hospital.html      Overnight Hospital Stay Palace Discloses By Mark Landler                TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/21/world/e 25YearOld Man Is Charged With Murder in
2021-10-21   2021-10-22 urope/uk-david-amess-suspect-charged.html Stabbing of British Lawmaker                By Megan Specia                   TX 9-103-504     2021-12-01




                                                                               Page 2904 of 5793
                        https://www.nytimes.com/2021/10/21/world/ 24 in Syria Are Executed Over Series Of
2021-10-21   2021-10-22 middleeast/syria-wildfire-executions.html   Wildfires                                   By Ben Hubbard                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/us/polit
                        ics/house-ethics-kelly-malinowski-mooney- 4 House Members Accused Of Violating          By Catie Edmondson and Luke
2021-10-22   2021-10-22 hagendorn.html                              Rules on Ethics                             Broadwater                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/busines
2021-10-22   2021-10-22 s/volvo-electric-future-design-ipo.html     A Sleeker Volvo Breaks Out of Its Old Box By Brett Berk                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/fashion
2021-10-22   2021-10-22 /smartwatches-garmin-apple-suunto.html      Watches get smarter                         By Alexandra Cheney           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/fashion
2021-10-22   2021-10-22 /watches-children-cara-barrett.html         A new face for children                     By Robin Swithinbank          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/fashion
                        /watches-customization-the-dial-artist-
2021-10-22   2021-10-22 scotland.html                               Want Original Artwork on Your Wrist         By Robin Swithinbank          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/fashion
                        /watches-golden-ratio-bianchet-
2021-10-22   2021-10-22 switzerland.html                            Pleasing principles                         By Melanie Abrams             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/fashion
                        /watches-greenwich-meridian-bremont-
2021-10-22   2021-10-22 england.html                                The Meridian and a watch                    By Rachel Felder              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/fashion
2021-10-22   2021-10-22 /watches-independent-makers-demand.html Too much success                                By Nazanin Lankarani          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/fashion
2021-10-22   2021-10-22 /watches-instagram.html                     Instagram A watch brands best friend        By Victoria Gomelsky          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/fashion
2021-10-22   2021-10-22 /watches-rectangular-cartier.html           All the right angles                        By Robin Swithinbank          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/fashion
2021-10-22   2021-10-22 /watches-retail-auction.html                Welcome watch buyers                        By Kathleen Beckett           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/fashion
                        /watches-world-time-bulgari-arnold-and-
2021-10-22   2021-10-22 son.html                                    Telling time anywhere                       By Kathleen Beckett           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/insider/
                        high-above-the-newsroom-a-history-of-the-
2021-10-22   2021-10-22 times.html                                  A Museum Above the Newsroom                 By Emmett Lindner             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/nyregio Online Furor Over a Students Hijab Engulfs a
2021-10-22   2021-10-22 n/hijab-muslim-nj-student.html              New Jersey Town                             By Tracey Tully               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/arts/mu
                        sic/pinkpantheresss-to-hell-with-it-        PinkPantheress Rides Atop Waves of Recent
2021-10-19   2021-10-23 review.html                                 Nostalgia                                   By Jon Caramanica             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/upshot/ Democrats Are Divided On ObamaEra
2021-10-19   2021-10-23 deficit-public-debt-debate.html             Economics                                   By Neil Irwin                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/us/chris In Fraught Time for Education Evangelical
2021-10-19   2021-10-23 tian-schools-growth.html                    Schools Boom                                By Ruth Graham                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/arts/mu
2021-10-20   2021-10-23 sic/helado-negro-far-in.html                Helado Negro at the End of the World        By Isabelia Herrera           TX 9-103-504   2021-12-01



                                                                               Page 2905 of 5793
                        https://www.nytimes.com/2021/10/20/theater/
                        songs-for-a-new-world-paper-mill-playhouse- StandAlone Songs in a Straightforward
2021-10-20   2021-10-23 review.html                                  Revival                                       By Juan A Ramrez           TX 9-103-504      2021-12-01
                        https://www.nytimes.com/2021/10/20/us/earl- Earl Old Person 92 Chief Of Blackfeet and
2021-10-20   2021-10-23 old-person-dead.html                         Advocate For Small Tribal Businesses          By Clay Risen              TX 9-103-504      2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/dan
2021-10-21   2021-10-23 ce/cassils-human-measure.html                For This Artist the Medium Is the Body        By Josie ThaddeusJohns     TX 9-103-504      2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/mu Bernard Haitink Conductor Who Let Music
2021-10-21   2021-10-23 sic/bernard-haitink-dead.html                Speak for Itself Is Dead at 92                By Vivien Schweitzer       TX 9-103-504      2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/tele
                        vision/sitcoms-1990s-immigration-
2021-10-21   2021-10-23 assimilation.html                            Just Who Did Those Sitcoms Make Me            By Maya Salam              TX 9-103-504      2021-12-01
                        https://www.nytimes.com/2021/10/21/opinion Helen Keller and the Problem of Inspiration
2021-10-21   2021-10-23 /helen-keller.html                           Porn                                          By M Leona Godin           TX 9-103-504      2021-12-01
                        https://www.nytimes.com/2021/10/21/opinion
2021-10-21   2021-10-23 /squid-game-violence.html                    The Popularity of Squid Game Terrifies Me By Frank Bruni                 TX 9-103-504      2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/mu
2021-10-22   2021-10-23 sic/li-yundi-china-prostitution.html         China Detains Pianist Accused of Solicitation By Javier C Hernndez       TX 9-103-504      2021-12-01
                        https://www.nytimes.com/2021/10/21/busines Evergrande Makes a LastSecond Payment to
2021-10-22   2021-10-23 s/china-evergrande-bond-payment.html         Avoid a Default                               By Alexandra Stevenson     TX 9-103-504      2021-12-01
                        https://www.nytimes.com/2021/10/21/technol Lyft Releases 2019 Numbers On Assaults and
2021-10-22   2021-10-23 ogy/lyft-sex-assaults-report.html            Crashes                                       By Kate Conger             TX 9-103-504      2021-12-01
                        https://www.nytimes.com/2021/10/21/us/alec- A Famous Actor a Gun and Death on a Film By Simon Romero Julia Jacobs and
2021-10-22   2021-10-23 baldwin-shooting-rust-movie.html             Set                                           Glenn Thrush               TX 9-103-504      2021-12-01
                        https://www.nytimes.com/2021/10/22/arts/dan
2021-10-22   2021-10-23 ce/giselle-american-ballet-theater.html      Emerging Through The Fog                      By Gia Kourlas             TX 9-103-504      2021-12-01
                        https://www.nytimes.com/2021/10/22/arts/dan
2021-10-22   2021-10-23 ce/hope-boykin-92nd-street-y-review.html     A Personal Exploration Of Motion and Voice By Siobhan Burke              TX 9-103-504      2021-12-01

                        https://www.nytimes.com/2021/10/22/arts/mu A Tale of Espionage Remains Enigmatic
2021-10-22   2021-10-23 sic/robert-ashley-el-aficionado-review.html Urgent and Timeless                            By Joshua Barone              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/arts/pet Peter Scolari 66 Dies Newhart and Girls
2021-10-22   2021-10-23 er-scolari-dead.html                        Actor Also Worked on the Stage                 By Neil Genzlinger            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/busines At 28 Trillion Federal Deficit In Virus Year Is
2021-10-22   2021-10-23 s/federal-deficit-fiscal-2021.html          2nd Highest                                    By Alan Rappeport             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/busines Despite Inflation Worries Powell Says Its Not By Jeanna Smialek and Matthew
2021-10-22   2021-10-23 s/feds-powell-supply-chain.html             Time to Raise Rates                            Phillips                      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/busines Films Often Use Real Guns But Have Safety
2021-10-22   2021-10-23 s/prop-guns-baldwin-shooting.html           Protocols                                      By Brooks Barnes              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/busines
2021-10-22   2021-10-23 s/shortages-supply-chain.html               How the Global Supply Chain Failed             By Peter S Goodman            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/busines Tom Morey 86 Surfer Who Invented the
2021-10-22   2021-10-23 s/tom-morey-dead.html                       Boogie Board                                   By Richard Sandomir           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/climate Biden Devising Plan B to Fight Climate
2021-10-22   2021-10-23 /biden-climate-plan.html                    Change                                         By Coral Davenport            TX 9-103-504   2021-12-01



                                                                                Page 2906 of 5793
                        https://www.nytimes.com/2021/10/22/movies/ Filmmaker Is Remembered for Her Talent and By Julia Jacobs and Maria
2021-10-22   2021-10-23 halyna-hutchins-alec-baldwin-rust.html      Her Spirit                                   Varenikova                       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/movies/
2021-10-22   2021-10-23 hans-zimmer-dune.html                       Conjuring the Sound Of Sand and Spice        By Darryn King                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/nyregio Giuliani Ally Convicted for Funneling
2021-10-22   2021-10-23 n/lev-parnas-guilty-giuiliani.html          Russian Money Into Election                  By Colin Moynihan                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/nyregio Durst Faces New Charge For Murder of His
2021-10-22   2021-10-23 n/robert-durst-wife-kathie.html             Wife                                         By Charles V Bagli               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/opinion
2021-10-22   2021-10-23 /angela-merkel-refugees-germany.html        The Vindication of Merkel                    By Michelle Goldberg             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/opinion Even With a Dream Job You Can Be
2021-10-22   2021-10-23 /work-resignations-covid.html               Antiwork                                     By Farhad Manjoo                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/science NASA Plans Moon Orbit With Sights on a
2021-10-22   2021-10-23 /nasa-moon-rocket.html                      Future Landing                               By Michael Roston                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/sports/b Finding a Path for a Talented but Shaken
2021-10-22   2021-10-23 aseball/astros-alcs.html                    Franchise                                    By Tyler Kepner                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/sports/b When Lightning Strikes Thrice In the
2021-10-22   2021-10-23 aseball/chris-taylor-three-homers.html      Postseason It Still Stands Out               By Victor Mather                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/sports/b
2021-10-22   2021-10-23 asketball/klay-thompson-boat.html           Captain Klay Warrior of the Waves            By Scott Cacciola                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/sports/s Faith in Leagues Eroding Outside Hotlines
2021-10-22   2021-10-23 occer/athlete-abuse-hotlines.html           Emerge As Space to Report Abuse              By David W Chen                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/sports/s Why Failure Is the Key to Manchester Uniteds
2021-10-22   2021-10-23 occer/manchester-united-liverpool.html      Success                                      By Rory Smith                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/technol
2021-10-22   2021-10-23 ogy/elizabeth-holmes-trial-takeaways.html   Holmes Trial Shifts Gears To Marketing       By Erin Woo and Erin Griffith    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/technol Russia Slams Brakes on a Freewheeling         By Adam Satariano and Paul
2021-10-22   2021-10-23 ogy/russia-internet-censorship-putin.html   Internet                                     Mozur                            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/technol                                               By Kate Conger Kellen Browning
2021-10-22   2021-10-23 ogy/social-media-eating-disorders.html      Social Media And Ties To a Disorder          and Erin Woo                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/us/new- How New Mexico Became a Big Hub for
2021-10-22   2021-10-23 mexico-movie-tv-production.html             Hollywood                                    By Simon Romero                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/us/polit
2021-10-22   2021-10-23 ics/biden-senate-filibuster.html            Not Quite Ready To Fight the Filibuster      By Carl Hulse                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/us/polit
2021-10-22   2021-10-23 ics/biden-taiwan-defense-china.html         Biden Is Blunt but Taiwan Policy Is Opaque By David E Sanger                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/us/polit
                        ics/border-crossings-immigration-record-    Illegal Border Crossings Soar to Highest     By Eileen Sullivan and Miriam
2021-10-22   2021-10-23 high.html                                   Number Since 1960 Data Shows                 Jordan                           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/us/polit US Warns of Plan by the Chinese to Collect
2021-10-22   2021-10-23 ics/china-genetic-data-collection.html      Genetic Data From Around the World           By Julian E Barnes               TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/22/us/polit After Dropping Free Community College Plan
2021-10-22   2021-10-23 ics/free-community-college-democrats.html Democrats Explore Their Options              By Madeleine Ngo                   TX 9-103-504   2021-12-01




                                                                                Page 2907 of 5793
                        https://www.nytimes.com/2021/10/22/us/polit New Role for a Former Nominee for Budget
2021-10-22   2021-10-23 ics/neera-tanden-staff-secretary.html       Director                                    By Michael D Shear              TX 9-103-504       2021-12-01
                        https://www.nytimes.com/2021/10/22/us/polit New Data From Pfizer Suggests Vaccine       By Sharon LaFraniere and Noah
2021-10-22   2021-10-23 ics/pfizer-vaccine-children-5-to-11.html    Works in 5 to 11YearOlds                    Weiland                         TX 9-103-504       2021-12-01
                        https://www.nytimes.com/2021/10/22/us/polit Sinemas Stance on Budget Bill Could Yield a
2021-10-22   2021-10-23 ics/sinema-wealth-taxes.html                Billionaires Tax                            By Jonathan Weisman             TX 9-103-504       2021-12-01
                        https://www.nytimes.com/2021/10/22/us/polit Woman in Submarine Case Ordered to Stay
2021-10-22   2021-10-23 ics/submarine-spy-secrets.html              in Custody                                  By Julian E Barnes              TX 9-103-504       2021-12-01
                        https://www.nytimes.com/2021/10/22/us/supr
2021-10-22   2021-10-23 eme-court-abortion-texas.html               Justices Again Decline to Halt Abortion Ban By Adam Liptak                  TX 9-103-504       2021-12-01
                        https://www.nytimes.com/2021/10/22/world/a Fighting in Tigray Region Thwarts UN Aid By Rick Gladstone and Declan
2021-10-22   2021-10-23 frica/ethiopia-united-nations-aid.html      Flight                                      Walsh                           TX 9-103-504       2021-12-01
                        https://www.nytimes.com/2021/10/22/world/a Targeting the Church Haitian Gangs Ignore A By Maria AbiHabib and Constant
2021-10-22   2021-10-23 mericas/haiti-gangs-church.html             DeepSeated Taboo                            Mheut                           TX 9-103-504       2021-12-01
                        https://www.nytimes.com/2021/10/22/world/a
2021-10-22   2021-10-23 mericas/sandra-mason-barbados.html          Barbados Elects Its First Head of State     By Christine Hauser             TX 9-103-504       2021-12-01
                        https://www.nytimes.com/2021/10/22/world/a In India Death of 8 Signals New Phase in     By Emily Schmall Hari Kumar and
2021-10-22   2021-10-23 sia/india-farmers-protests-modi.html        Farmers Protests                            Mujib Mashal                    TX 9-103-504       2021-12-01

                        https://www.nytimes.com/2021/10/22/world/a
2021-10-22   2021-10-23 ustralia/new-zealand-vaccination-gangs.html Vaccinating Gangs in New Zealand                By Natasha Frost                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/world/e As Poland Challenges Pillar of EU Law the        By Elian Peltier and Monika
2021-10-22   2021-10-23 urope/eu-poland-rule-of-law.html             Bloc Is Torn Over How to React                 Pronczuk                        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/world/e Fears of Needle Spiking Spread in UK             By Megan Specia and Isabella
2021-10-22   2021-10-23 urope/needle-spiking-uk.html                 Nightclubs                                     Kwai                            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/world/e Capturing a Films Essential Moments With
2021-10-22   2021-10-23 urope/renato-casaro-movie-posters.html       His Brushstrokes                               By Elisabetta Povoledo          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/world/
                        middleeast/israel-palestinian-rights-        Palestine Rights Groups Called Terrorists by
2021-10-22   2021-10-23 groups.html                                  Israel                                         By Patrick Kingsley             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/your-
2021-10-22   2021-10-23 money/credit-card-fraud-protection.html      Making Online Holiday Shopping Safe            By Ann Carrns                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/interactive/2021/10/
                        22/science/developing-country-covid-         Heres Why Developing Countries Can Make
2021-10-22   2021-10-23 vaccines.html                                mRNA Covid Vaccines                            By Stephanie Nolen              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/us/hack Dark Forces A Murky Mystery On 3                 By Barry Meier and Karan Deep
2021-10-23   2021-10-23 ing-emirates-farhad-azima.html               Continents                                     Singh                           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/18/busines
                        s/scholastic-iole-lucchese-succession-        The RealLife Succession Drama At              By Katherine Rosman and
2021-10-18   2021-10-24 battle.html                                  Scholastic                                     Elizabeth A Harris              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/18/nyregio A Towering Vantage Point Emerges From a
2021-10-18   2021-10-24 n/summit-one-vanderbilt-kenzo.html           Dream                                          By Alyson Krueger               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/18/realesta
2021-10-18   2021-10-24 te/shopping-for-swing-arm-lamps.html         Light Well Directed                            By Tim McKeough                 TX 9-103-504   2021-12-01




                                                                                  Page 2908 of 5793
                        https://www.nytimes.com/2021/10/19/arts/chi
2021-10-19   2021-10-24 cago-fire-1871-exhibition-museum.html           Revisiting the Great Chicago Fire             By Jane L Levere          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/arts/cli
2021-10-19   2021-10-24 mate-exhibitions.html                           Exhibitions Look Beyond Calamity              By Tess Thackara          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/arts/den
2021-10-19   2021-10-24 ver-art-museum.html                             What a Museum Wants to Be                     By Ray Mark Rinaldi       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/arts/des
2021-10-19   2021-10-24 ign/ricky-jay-magician-collection.html          Now Youll See It at Sothebys                  By Dan Barry              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/arts/gill
2021-10-19   2021-10-24 ian-wearing-masks.html                          One Face With Many Masks                      By Tanya Mohn             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/arts/hu
2021-10-19   2021-10-24 dson-river-museum-black-artists.html            Moving Forward Through Art                    By Alina Tugend           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/arts/mu
2021-10-19   2021-10-24 sic/san-francisco-opera-eun-sun-kim.html        Shes Making History but Isnt Satisfied        By Javier C Hernndez      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/arts/ph
2021-10-19   2021-10-24 otography-minority-exhibitions.html             Focusing on the Unseen                        By Geraldine Fabrikant    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/arts/smi
2021-10-19   2021-10-24 thsonian-art-industries-building.html           Can History Reshape the Future                By Laura van Straaten     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/arts/sou
2021-10-19   2021-10-24 thern-jewish-experience-museum.html             The Story of Jews in the South                By Claudia Dreifus        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/magazi
2021-10-19   2021-10-24 ne/buyers-letter-real-estate.html               Letters to Strangers                          By Kate Petersen          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/magazi
2021-10-19   2021-10-24 ne/how-to-recommend-a-book.html                 How to Recommend a Book                       By Malia Wollan           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/magazi
                        ne/is-it-ok-for-my-boss-to-use-a-fake-identity- Is It OK for My Boss to Use a Fake Identity
2021-10-19   2021-10-24 with-customers.html                             on thePhone With Customers                    By Kwame Anthony Appiah   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/magazi
2021-10-19   2021-10-24 ne/viktor-orban-rod-dreher.html                 The Orban Effect                              By Elisabeth Zerofsky     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/realesta
                        te/the-austin-bungalow-had-charm-but-it-
2021-10-19   2021-10-24 needed-everything.html                          A Growing Home for a Growing Family           By Tim McKeough           TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/20/arts/aca
2021-10-20   2021-10-24 demy-museum-of-motion-pictures-opens.html The Magic of Movies in One Place                    By Eilene Zimmerman       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/arts/arti
2021-10-20   2021-10-24 st-residencies-pandemic.html                 Artist Residencies Are Thriving                  By Shane Mitchell         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/arts/bos
2021-10-20   2021-10-24 ton-museum-fine-arts-technology.html         An Ancient Eureka Moment                         By Tanya Mohn             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/arts/des
2021-10-20   2021-10-24 ign/bob-thompson-influence.html              The Influence of Bob Thompson                    By Brian Boucher          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/arts/des
2021-10-20   2021-10-24 ign/walla-walla-foundry-art.html             Where Giants Are Born                            By Alex V Cipolle         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/arts/hill
2021-10-20   2021-10-24 wood-estate-art-kristine-mays.html           Sculptures of Wire and Emotion                   By Kerry Hannon           TX 9-103-504   2021-12-01



                                                                                    Page 2909 of 5793
                        https://www.nytimes.com/2021/10/20/arts/mi
2021-10-20   2021-10-24 nneapolis-native-american-culture.html       A Home for Indigenous Art               By Alex V Cipolle             TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/arts/pro
2021-10-20   2021-10-24 spect-new-orleans-art-festival.html          A New Orleans Show Returns              By Hilarie M Sheets           TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/arts/wit
2021-10-20   2021-10-24 ches-salem-peabody-essex-art.html            A Witchs Brew of an Exhibit             By Shane Mitchell             TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/magazi Fried Oysters Are Delicious Theyre Even
2021-10-20   2021-10-24 ne/fried-oysters-recipe.html                 Better at Home                          By Gabrielle Hamilton         TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/magazi
2021-10-20   2021-10-24 ne/rebecca-hall-passing.html                 The Secret Toll of Racial Ambiguity     By Alexandra Kleeman          TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/magazi
2021-10-20   2021-10-24 ne/tiktok-home-design.html                   Home Game                               By Daisy Alioto               TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/realesta
                        te/house-hunting-in-france-in-brittany-a-    A Medieval Makeover With Original
2021-10-20   2021-10-24 medieval-makeover-for-1-2-million.html       Touches                                 By Alison Gregor              TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/realesta
                        te/take-a-walk-in-the-garden-before-its-too-
2021-10-20   2021-10-24 late.html                                    Right Now Go Out Observe and Listen     By Margaret Roach             TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/realesta An Affordable River Town Between Two
2021-10-20   2021-10-24 te/yardley-pa.html                           Urban Hubs                              By Dave Caldwell              TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/20/theater/
2021-10-20   2021-10-24 sharon-d-clarke-caroline-or-change.html      Sharon D Clarkes Big Sing               By Laura CollinsHughes        TX 9-103-504    2021-12-01
                        https://www.nytimes.com/interactive/2021/10/
2021-10-20   2021-10-24 20/magazine/sharks-cape-cod.html             Fear on Cape Cod as Sharks Hunt Again   By C J Chivers                TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/ars
2021-10-21   2021-10-24 hile-gorky-new-painting.html                 Art That Was Hiding in Plain Sight      By Ted Loos                   TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/des
2021-10-21   2021-10-24 ign/rubin-museum-mandala-lab.html            A LifeChanging Path                     By Laurel Graeber             TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/ed
2021-10-21   2021-10-24 mund-de-waal-art-jewish-museum.html          An Ivory Figurine Leads the Way         By Sophie Haigney             TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/gor
2021-10-21   2021-10-24 don-parks-photographs.html                   Celebrating Gordon Parks                By Hilarie M Sheets           TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/ma
2021-10-21   2021-10-24 ss-moca-artists.html                         Where Artists Come First                By Laura van Straaten         TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/mu
2021-10-21   2021-10-24 seums-shows-listings.html                    Art to Discover                         By Ted Loos                   TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/mu
2021-10-21   2021-10-24 sic/vinyl-records-delays.html                Logjams Stall A Vinyl Revival           By Ben Sisario                TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/21/arts/rbg-
2021-10-21   2021-10-24 exhibit-supreme-court-justice.html           A Filmmaker Reflects on Justice         By Betsy West                  TX 9-103-504   2021-12-01
                                                                                                             By Ted Loos and Video by
                        https://www.nytimes.com/2021/10/21/arts/rob                                          Mohamed Sadek for The New York
2021-10-21   2021-10-24 erto-lugo-ceramics.html                     From Graffiti to the Met                 Times                          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/books/
2021-10-21   2021-10-24 meg-wolitzer-second-shelf.html              Essay The Second Shelf                   By Meg Wolitzer               TX 9-103-504    2021-12-01



                                                                                 Page 2910 of 5793
                        https://www.nytimes.com/2021/10/21/books/r
2021-10-21   2021-10-24 eview-eat-pray-love-elizabeth-gilbert.html Review Eat Pray Love by Elizabeth Gilbert   By Jennifer Egan                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/books/r
2021-10-21   2021-10-24 eview-wolf-hall-hilary-mantel.html         Review Wolf Hall by Hilary Mantel           By Christopher Benfey           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/books/r
2021-10-21   2021-10-24 eview/interview-gore-vidal.html            Interview Gore Vidal                        By Diane Johnson                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/books/r
2021-10-21   2021-10-24 eview/marjane-satrapi-persepolis.html      Review Persepolis by Marjane Satrapi        By Fernanda Eberstadt           TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/21/books/r
2021-10-21   2021-10-24 eview/review-hannibal-by-thomas-harris.html Review Hannibal by Thomas Harris           By Stephen King                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/books/r
                        eview/review-the-road-by-cormac-
2021-10-21   2021-10-24 mccarthy.html                               Review The Road by Cormac McCarthy         By William Kennedy              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/books/r
2021-10-21   2021-10-24 eview/roots-alex-hale.html                  Review Roots by Alex Haley                 By James Baldwin                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/books/r
2021-10-21   2021-10-24 eview/song-of-solomon-toni-morrison.html Review Song of Solomon by Toni Morrison       By Reynolds Price               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/books/r
                        eview/the-first-new-york-times-book-review- The First New York Times Book Review
2021-10-21   2021-10-24 best-seller-list.html                       BestSeller List                            By Tina Jordan                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/books/r
2021-10-21   2021-10-24 eview/weather-claudia-rankine.html          Weather                                    By Claudia Rankine              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/books/t
2021-10-21   2021-10-24 he-joy-luck-club-amy-tan.html               Review The Joy Luck Club by Amy Tan        By Orville Schell               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/magazi
                        ne/judge-john-hodgman-on-ice-cream-
2021-10-21   2021-10-24 slander.html                                Bonus Advice From Judge John Hodgman       By Judge John Hodgman           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/magazi
                        ne/poem-the-contrariness-of-the-mad-                                                   By Wendell Berry and Reginald
2021-10-21   2021-10-24 farmer.html                                 The Contrariness of the Mad Farmer         Dwayne Betts                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/magazi Why Is Good Medical Advice for Pregnant
2021-10-21   2021-10-24 ne/pregnancy-advice-doctors.html            Women So Hard to Find                      By Kim Tingley                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/movies/ Diane Weyermann 66 Film Executive Who
2021-10-21   2021-10-24 diane-weyermann-dead.html                   Promoted An Inconvenient Truth             By Penelope Green               TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/21/movies/ For Jack Whitehall Festivals Are Where the
2021-10-21   2021-10-24 jack-whitehall-clifford-the-big-red-dog.html Fun Is                                     By Kathryn Shattuck            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/needies Filling In Gaps While Realizing the Dream of
2021-10-21   2021-10-24 t-cases/i-just-want-a-better-life.html       a College Degree                           By Kristen Bayrakdarian        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/opinion
2021-10-21   2021-10-24 /biden-china-xi-jinping.html                 How Biden Can Get the Edge Over China      By Susan Thornton              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/realesta
                        te/top-real-estate-destinations-in-the-
2021-10-21   2021-10-24 americas.html                                Destinations Beyond the 50 States          By Michael Kolomatsky          TX 9-103-504   2021-12-01



                                                                                Page 2911 of 5793
                        https://www.nytimes.com/2021/10/21/sports/f Whats the Matter With Kansas City Defense
2021-10-21   2021-10-24 ootball/nfl-week-7-picks.html                and Turnovers                             By Emmanuel Morgan              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/style/fri
2021-10-21   2021-10-24 end-jealous-social-qs.html                   A TooEnviable Friend                      By Philip Galanes               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/style/po
2021-10-21   2021-10-24 t-plant-fake-cannabis.html                   That Plant Is It Pot                      By Anna P Kambhampaty           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/t-        Notes on the Culture How Laura Ashley
2021-10-21   2021-10-24 magazine/laura-ashley-batsheva.html          Endures                                   By Amanda Fortini               TX 9-103-504   2021-12-01
                                                                     She Searched the East Side of Manhattan
                        https://www.nytimes.com/interactive/2021/10/ With a 625000 Budget Which Apartment
2021-10-21   2021-10-24 21/realestate/21hunt-small.html              Would You Choose                          By Joyce Cohen                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/arts/mu Edita Gruberova Dazzling Slovak Soprano
2021-10-22   2021-10-24 sic/edita-gruberova-dead.html                With Emotional Power Dies at 74           By Anthony Tommasini            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/arts/tele
2021-10-22   2021-10-24 vision/american-veteran-pbs.html             Those Who Served Have Their Say           By Chris Vognar                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/busines To Get Ahead at Work It Helps to Actually By Noam Scheiber and David
2021-10-22   2021-10-24 s/economy/law-firm-return-to-office.html     Be at Work                                Kasnic                          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/busines
                        s/roxane-gay-work-friend-union-              Can Employees Be Themselves in a New
2021-10-22   2021-10-24 organizing.html                              Office                                    By Roxane Gay                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/busines
2021-10-22   2021-10-24 s/stocks-coal-climate-change.html            The Planet Is Warming but Coal Is on Fire By Jeff Sommer                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/movies/
2021-10-22   2021-10-24 the-french-dispatch-wes-anderson.html        In the Company of Wes Anderson            By Melena Ryzik                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/nyregio
2021-10-22   2021-10-24 n/alices-tea-cup-nyc.html                    Who Will Save Alices Tea Cup              By Alix Strauss                 TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/22/nyregio
2021-10-22   2021-10-24 n/byron-lewis-urbanite-black-advertising.html He Set the Template for Black Media           By Ginia Bellafante        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/nyregio Churchs Plight Preservation May Imperil
2021-10-22   2021-10-24 n/grace-congregational-church-harlem.html Survival                                          By Liam Stack              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/nyregio
2021-10-22   2021-10-24 n/karina-yan-glaser-vanderbeeker.html         Books Pets Plants and Kids Fill a Day         By Tammy La Gorce          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/nyregio
                        n/mayor-stamford-connecticut-valentine-
2021-10-22   2021-10-24 simmons.html                                  Going From the Ball Field to the Ballot Box   By Neil Vigdor             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/opinion
                        /cohousing-mothers-pandemic-
2021-10-22   2021-10-24 community.html                                CoHousing Makes Parents Happier               By Judith Shulevitz        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/opinion                                                  By E Tammy Kim and Damon
2021-10-22   2021-10-24 /lummi-climate-change-port-terminal.html      Fighting to Save a Fragile Ecosystem          Winter                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/opinion
2021-10-22   2021-10-24 /supreme-court-libel-news-media.html          Will the Justices Undo Libel Law              By Floyd Abrams            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/realesta The First Apartment That the Rent Star
2021-10-22   2021-10-24 te/anthony-rapp-home-sale.html                Anthony Rapp Bought Is for Sale               By Vivian Marino           TX 9-103-504   2021-12-01



                                                                                  Page 2912 of 5793
                        https://www.nytimes.com/2021/10/22/realesta Quirky Network Encourages Intentional
2021-10-22   2021-10-24 te/buy-nothing-facebook-group.html          Sharing                                     By Ronda Kaysen         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/realesta
2021-10-22   2021-10-24 te/single-family-rentals.html               New Homes Built to Rent Alter a Dream       By Debra Kamin          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/sports/b Atlantas Infield Coach Keeps His Players
2021-10-22   2021-10-24 aseball/ron-washington-atlanta.html         Laughing and Learning                       By Scott Miller         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/style/a
2021-10-22   2021-10-24 manda-knox-ten-years-later.html             Amanda Knox Exonerated Not Fully Free       By Jessica Bennett      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/style/an
2021-10-22   2021-10-24 ne-dimock-richard-olver-wedding.html        Cuddling Once a Day That Is Their Rule      By Vincent M Mallozzi   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/style/as
2021-10-22   2021-10-24 hley-chiang-roy-xiao-wedding.html           Their Chemistry Developed Organically       By Nina Reyes           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/style/bo
2021-10-22   2021-10-24 ttega-veneta-detroit.html                   Italian Luxury Brand Loops In the Midwest   By Vanessa Friedman     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/style/br Forgoing the Cheese Plate to Forge a
2021-10-22   2021-10-24 ian-ellner-jarrett-olivo-wedding.html       Connection                                  By Alix Strauss         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/style/br
                        uce-springsteen-paul-mccartney-and-alicia-
2021-10-22   2021-10-24 keys-fight-poverty.html                     The Merry Band Of Robin Hood                By Denny Lee            TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/22/style/co
2021-10-22   2021-10-24 urtney-thomas-benjamin-allen-wedding.html Her Lack of Kickball Skills Drew Him In     By Kristen Bayrakdarian   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/style/ga
2021-10-22   2021-10-24 bi-conti-daren-johnson-wedding.html            His Proposal Was in the Cards          By Tammy La Gorce         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/style/gil
2021-10-22   2021-10-24 lian-stoss-zach-lent-wedding.html              A Love as Old as AOL Instant Messenger By Alix Wall              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/style/gr
                        ace-van-patten-a-breakout-star-of-nine-perfect A Sopranos Veteran Making Her Presence
2021-10-22   2021-10-24 strangers.html                                 Known                                  By Kate Dwyer             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/style/ja
2021-10-22   2021-10-24 y-ellis-insecure-top-gun-harlem.html           Jay Ellis Comes Back to Harlem         By Alexis Soloski         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/style/m
2021-10-22   2021-10-24 att-fraser-alexa-papigiotis-wedding.html       A Medium Meets His Match               By Tammy La Gorce         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/style/m
2021-10-22   2021-10-24 odern-love-hinge-date-not-mr-right.html        Two Wrongs Dont Make Mr Right          By Kayla Ringelheim       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/style/na When He Saw Her Face He Just Had to Meet
2021-10-22   2021-10-24 jee-forte-danielle-dorsi-wedding.html          Her                                    By Vincent M Mallozzi     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/style/no
                        elle-jasmine-kennedy-white-charles-joseph-
2021-10-22   2021-10-24 mahoney-iv-wedding.html                        I Only Wish I Had Met Her Sooner       By Vincent M Mallozzi     TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/22/style/pr
2021-10-22   2021-10-24 incess-francois-andy-estevez-wedding.html They Would Give This Romance an APlus         By Tammy La Gorce       TX 9-103-504   2021-12-01




                                                                                Page 2913 of 5793
                        https://www.nytimes.com/2021/10/22/technol Misinformation Tripped Alarms Inside
2021-10-22   2021-10-24 ogy/facebook-election-misinformation.html Facebook                                          By Ryan Mac and Sheera Frenkel    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/us/polit
                        ics/maryland-counties-west-virginia-        3 Counties In Maryland Float Proposal To
2021-10-22   2021-10-24 request.html                                Secede                                          By Michael Levenson               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/busines
2021-10-23   2021-10-24 s/everytable-healthy-fast-food.html         The Amazon Of Quinoa Bowls                      By Jane Black                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/nyregio Who Is Eric Adams No One Knows but Hes           By Matt Flegenheimer Michael
2021-10-23   2021-10-24 n/eric-adams-mayor-nyc.html                 Probably a Winner                               Rothfeld and Jeffery C Mays       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/nyregio In New Hires a Hint That James Might Run
2021-10-23   2021-10-24 n/letitia-james-new-york-governor.html      for Governor                                    By Katie Glueck                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/opinion
2021-10-23   2021-10-24 /climate-glasgow-biden-xi.html              The Global Stakes At Glasgow                    By The Editorial Board            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/opinion
2021-10-23   2021-10-24 /colin-powell-legacy.html                   Colin Powell and Guernica                       By Maureen Dowd                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/opinion
2021-10-23   2021-10-24 /lyme-disease-chronic-illness.html          How I Became a Sick Person                      By Ross Douthat                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/opinion
                        /sunday/illinois-parole-mass-                                                               By Ben Austen and Khalil Gibran
2021-10-23   2021-10-24 incarceration.html                          Let the Punishment Fit the Crime                Muhammad                          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/realesta
                        te/whats-the-best-way-to-sublet-my-         Whats the Best Way to Sublet A
2021-10-23   2021-10-24 apartment.html                              RentStabilized Apartment                        By Ronda Kaysen                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/sports/b
2021-10-23   2021-10-24 arcelona-madrid-clasico.html                Life After Messi Is Quiet for Barcelona         By Rory Smith                     TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/23/sports/b The Astros Manager Tries to Shed an
2021-10-23   2021-10-24 aseball/dusty-baker-astros-world-series.html Unwanted Record                                By Tyler Kepner                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/sports/b Lifelong Dream Dims But NBA Prospect
2021-10-23   2021-10-24 asketball/kris-wilkes-ucla-nba.html          Learns to Walk Again                           By David Gardner                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/sports/b
                        asketball/vanessa-bryant-helicopter-crash-   In Deposition Vanessa Bryant Recalls a Day     By Jonathan Abrams and Kevin
2021-10-23   2021-10-24 lawsuit.html                                 of Loss                                        Draper                            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/style/ral
2021-10-23   2021-10-24 ph-lauren-polo-bar.html                      Ralph Lauren Restarts the Fantasy              By Jessica Testa                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/theater/ Racism Protests Change the Script on
2021-10-23   2021-10-24 broadway-race-depictions.html                Broadway                                       By Michael Paulson                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/us/alec- Inadvertent Shots Reported on Set Before
2021-10-23   2021-10-24 baldwin-rust-shooting.html                   Fatal Shooting by Baldwin                      By Simon Romero and Julia Jacobs TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/23/us/calif
                        ornia-atmospheric-river-flooding-            After Fires and Droughts California Prepares
2021-10-23   2021-10-24 mudslides.html                               for Heavy Rain and Floods                      By Maria Cramer                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/us/chief In Mourning the Blackfeet Nation Says
2021-10-23   2021-10-24 earl-old-person-blackfeet-nation.html        Farewell                                       By Tailyr Irvine                  TX 9-103-504   2021-12-01



                                                                                  Page 2914 of 5793
                        https://www.nytimes.com/2021/10/23/us/polit Vetting Flagged Dozens Fleeing Rule of
2021-10-23   2021-10-24 ics/afghan-evacuees-kosovo.html             Taliban                                      By Charlie Savage                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/us/polit The Pessimistic Electorate Behind Bidens
2021-10-23   2021-10-24 ics/biden-approval-ratings.html             Low Approval Ratings                         By Nate Cohn                      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/us/polit
2021-10-23   2021-10-24 ics/biden-polls-spending-bill.html          Biden Finds Even Victory Has Its Costs       By Michael D Shear                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/us/voter Man Claimed Voter Fraud Now He Faces
2021-10-23   2021-10-24 fraud-nevada.html                           Fraud Charges                                By Eduardo Medina                 TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/23/world/a Taliban Pay Homage To Suicide Bombers         By Thomas GibbonsNeff Sharif
2021-10-23   2021-10-24 sia/afghanistan-taliban-suicide-bombers.html Purveyors of Agony                          Hassan and Ruhullah Khapalwak     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/world/a Stranded and Longing For a Broken Home I
2021-10-23   2021-10-24 sia/afghans-india-return-home.html           Am Completely Lost                          By Mujib Mashal                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/world/a Shes a Pioneer In Space China Sent
2021-10-23   2021-10-24 sia/china-space-women-wang-yaping.html       Cosmetics                                   By Steven Lee Myers               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/world/a For India and Pakistan Identity Is Wrapped
2021-10-23   2021-10-24 sia/cricket-india-pakistan.html              Up In Cricket Team Fortunes                 By Mujib Mashal                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/world/e
                        urope/erdogan-turkey-ambassadors-persona- Turkey Moves Toward Expelling Envoys
2021-10-23   2021-10-24 non-grata.html                               Over Advocacy                               By Carlotta Gall                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/world/
                        middleeast/turkey-election-erdogan-          Turkish Opposition Joins Forces Against
2021-10-23   2021-10-24 opposition.html                              Erdogan                                     By Carlotta Gall                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/us/ototo Drug Kingpin Colombias Most Wanted Man       By Michael Levenson and Sofa
2021-10-24   2021-10-24 niel-captured-colombia.html                  Captured                                    Villamil                          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/busines The Week in Business A Consumer Internet
2021-10-24   2021-10-24 s/the-week-ahead.html                        Deal                                        By Sarah Kessler                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/insider/
2021-10-24   2021-10-24 hacking-nso-surveillance.html                I Was Hacked Without a Click                By Ben Hubbard                    TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/24/world/e In Siberian Forest a Sect Holds On Without    By Valerie Hopkins and Mary
2021-10-24   2021-10-24 urope/russia-church-repression-siberia.html Its Visionary                                Gelman                            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/interactive/2021/09/
                        30/sports/montana-skateboarding-jeff-        A Rock Stars Next Act Making Montana a
2021-09-30   2021-10-25 ament.html                                   Skateboarding Oasis                         By Jim Robbins and Todd Heisler   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/20/arts/mu
                        sic/orchestra-st-lukes-orpheus-chamber-      Two New York Orchestras Return With Acts
2021-10-20   2021-10-25 orchestra.html                               of Renewal                                  By Anthony Tommasini              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/books/r
                        eview-between-the-world-and-me-by-ta-nehisi Review Between the World and Me by
2021-10-21   2021-10-25 coates.html                                  TaNehisi Coates                             By Michelle Alexander             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/obituari Overlooked No More Kim Haksoon Who
2021-10-21   2021-10-25 es/kim-hak-soon-overlooked.html              Broke the Silence for Comfort Women         By Choe SangHun                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/sports/f Defenses Seek Players With No Set Position
2021-10-21   2021-10-25 ootball/nfl-defense-versatility.html         and Whole Field to Cover                    By Emmanuel Morgan                TX 9-103-504   2021-12-01



                                                                                Page 2915 of 5793
                        https://www.nytimes.com/2021/10/21/technol
2021-10-21   2021-10-25 ogy/comcast-tvs-streaming.html              Why a Cable Company Is Starting to Sell TVs By Shira Ovide                   TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/22/arts/des
2021-10-22   2021-10-25 ign/fiac-paris.html                         At a French Art Fair Ambitions Are High     By Scott Reyburn                 TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/22/movies/ Dorothy Steel 95 Who Came Late to the Big
2021-10-22   2021-10-25 dorothy-steel-dead.html                     Screen                                      By Richard Sandomir              TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/22/theater/
2021-10-22   2021-10-25 phantom-of-the-opera-broadway.html          A Creator Revisits His Lasting Vision       By Joshua Barone                 TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/23/busines Chuck Bundrant 79 Who Turned a Single
2021-10-23   2021-10-25 s/chuck-bundrant-dead.html                  Boat Into a Seafood Empire Dies             By Clay Risen                    TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/23/busines The Difference Between Unpaid and Paid
2021-10-23   2021-10-25 s/college-endorsement-deals.html            StudentAthletes Not Much It Turns Out       By Joe Nocera                    TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/23/opinion
                        /culture/dune-frank-herbert-native-
2021-10-23   2021-10-25 americans.html                              For Dune a Surprising Inspiration           By Daniel Immerwahr              TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/23/technol In India The Ugliness On Facebook Is
2021-10-23   2021-10-25 ogy/facebook-india-misinformation.html      Amplified                                   By Sheera Frenkel and Davey Alba TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/24/arts/ca
2021-10-24   2021-10-25 mbodia-met-museum-looted-antiquities.html Cambodia Says Met Acquired Loot of War          By Tom Mashberg                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/arts/dan Silky Ballet Solos and Irresistible Tapping
2021-10-24   2021-10-25 ce/fall-for-dance.html                      Toes                                          By Gia Kourlas                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/arts/mu Jay Black 82 Whose Velvety Voice Was the
2021-10-24   2021-10-25 sic/jay-black-dead.html                     Americans Hitmaker Dies                       By Richard Sandomir              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/books/r
                        eview-radical-potter-josiah-wedgwood-       A Master of Making Fine China and a
2021-10-24   2021-10-25 tristram-hunt.html                          Firebrand Too                                 By Alexandra Jacobs              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/nyregio They Gave Up A Job to Avoid Covid
2021-10-24   2021-10-25 n/new-york-workers-refuse-vaccine.html      Vaccines                                      By Sarah Maslin Nir              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/opinion
2021-10-24   2021-10-25 /biden-voting-filibuster.html               Biden Tepid In the Face Of Catastrophe        By Charles M Blow                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/opinion Why Medical Bills Can Be Lower in
2021-10-24   2021-10-25 /maryland-medical-bills-lower.html          Maryland                                      By Elisabeth Rosenthal           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/opinion
2021-10-24   2021-10-25 /republicans-tax-evasion.html               Tax Evasion and the Republican Party          By Binyamin Appelbaum            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/opinion
2021-10-24   2021-10-25 /thomas-jefferson-statue-new-york.html      Jefferson Once Signified Religious Freedom    By Jonathan D Sarna              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/sports/b Aarons Legacy Lives On in Manager Trying
2021-10-24   2021-10-25 aseball/hank-aaron-dusty-baker.html         to Beat His Team                              By Tyler Kepner                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/sports/f
                        ootball/giants-panthers-jets-patriots-
2021-10-24   2021-10-25 score.html                                  Bad Days for the Jets and an ExJet            By Devin Gordon and Diante Lee   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/sports/f
2021-10-24   2021-10-25 ootball/nfl-week-7-scores.html              What We Learned This Week                     By Tyler Dunne                   TX 9-103-504   2021-12-01




                                                                                 Page 2916 of 5793
                        https://www.nytimes.com/2021/10/24/sports/l
2021-10-24   2021-10-25 os-angeles-marathon-students-academics.html Proving That Youth Can Run Marathons          By Matthew Futterman              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/sports/n As Era Nears End LSU Reaches for
2021-10-24   2021-10-25 caafootball/lsu-mississippi-orgeron.html    Motivation But Does Little but Flail          By Alanis Thames                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/sports/s
                        occer/manchester-united-liverpool-score-
2021-10-24   2021-10-25 gunnar.html                                 Theres Plenty About Man United to Taunt       By Rory Smith                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/technol Flawed System Led to Lost Pay Inside           By Jodi Kantor Karen Weise and
2021-10-24   2021-10-25 ogy/amazon-employee-leave-errors.html       Amazon                                        Grace Ashford                     TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/24/technol The Sleuths Who Cracked A Ransomware
2021-10-24   2021-10-25 ogy/ransomware-emsisoft-blackmatter.html Operator                                         By Nicole Perlroth                TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/24/theater/
2021-10-24   2021-10-25 review-fairycakes-douglas-carter-beane.html Fantasyland MashUp Misses Mark                By Jesse Green                    TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/24/us/bom 2 Unusual Storms Converge And Pummel
2021-10-24   2021-10-25 b-cyclone-california-atmospheric-river.html California Coast                              By Neil Vigdor and Alyssa Lukpat TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/24/us/charl FarRight Organizers Intended to Foment
2021-10-24   2021-10-25 ottesville-rally-trial.html                 Violence Victims Say                          By Neil MacFarquhar               TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/24/us/conf In a Tennessee City a Confederate Statue       By Jamie McGee and Sarahbeth
2021-10-24   2021-10-25 ederate-statue-tennessee-black-troops.html  Stays but Gets Company                        Maney                             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/us/garb In a Florida City Trash Pickup Is Stymied by
2021-10-24   2021-10-25 age-delays-labor-jacksonville-florida.html  a Pandemic Labor Shortage                     By Patricia Mazzei                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/us/polit
                        ics/biden-manchin-schumer-spending-         Pelosi Says Democrats Near Accord on          By Catie Edmondson and Emily
2021-10-24   2021-10-25 bill.html                                   Social Bill                                   Cochrane                          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/us/polit
                        ics/montana-misinformation-national-        Falsehoods Meddle in Humble Bid to Honor
2021-10-24   2021-10-25 heritage.html                               Past                                          By Reid J Epstein                 TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/24/world/a Focus on Attacks on Women After Kenyan
2021-10-24   2021-10-25 frica/agnes-jebet-tirop-stabbing-arrest.html Runners Killing                              By Abdi Latif Dahir               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/world/a A Faltering Shadow War Against Somali          By Declan Walsh Eric Schmitt
2021-10-24   2021-10-25 frica/al-shabab-somalia-us-cia.html          Militants                                    Julian E Barnes and Tyler Hicks   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/world/a Journalists Fret as Hong Kong Civil Society
2021-10-24   2021-10-25 sia/hong-kong-civil-society.html             Buckles                                      By Austin Ramzy                   TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/24/world/a For Japans Royal Women the Crown Can Be
2021-10-24   2021-10-25 sia/japan-princess-mako-mental-health.html a Crushing Burden                       By Motoko Rich and Hikari Hida           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/world/a Please Dont Feed the Whale Sharks Town
2021-10-24   2021-10-25 sia/philippines-whale-shark-tourism.html   Says It Must to Prosper                 By Hannah Reyes Morales                  TX 9-103-504   2021-12-01




                                                                                 Page 2917 of 5793
                        https://www.nytimes.com/2021/10/24/world/
2021-10-24   2021-10-25 world-expo-dubai.html                     A worldclass world expo                         By Sam Lubell                 TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/24/busines
2021-10-25   2021-10-25 s/media/facebook-leak-frances-haugen.html In Big Leaks Sources Role Holds Power          By Ben Smith                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/us/bald Officials Scrutinize Assistant Directors Role By Simon Romero Julia Jacobs and
2021-10-25   2021-10-25 win-shooting-assistant-director.html         in Fatal Shooting on Baldwin Film Set       Graham Bowley                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/arts/tele
                        vision/whats-on-tv-this-week-great-
2021-10-25   2021-10-25 performances-and-in-the-heights.html         This Week on TV                             By Gabe Cohn                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/busines
2021-10-25   2021-10-25 s/amazon-imdbtv-judge-judy.html              Why Is Amazon In Business With Judge Judy By Brooks Barnes                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/nyregio Police Officers to Testify About Chokehold
2021-10-25   2021-10-25 n/eric-garner-death-inquiry.html             Death In LongDelayed Inquiry                By Troy Closson                  TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/25/sports/b The National Pastimes Challenge Prove Its
2021-10-25   2021-10-25 aseball-popularity-black-participation.html Time Hasnt Passed                         By David Waldstein                TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/25/sports/
2021-10-25   2021-10-25 muhammad-ali-documentaries.html             Alis Endless Allure In Books and Films    By Morgan Campbell                TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/25/us/polit Russia Restarts Cyberoperation Despite
2021-10-25   2021-10-25 ics/russia-cybersurveillance-biden.html     Rebuke                                    By David E Sanger                 TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/07/science
2021-10-07   2021-10-26 /gunpowder-medieval-cannons.html            Downtime for Chemist Leads to Cannonballs By William J Broad                TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/11/arts/des A Swiss Museum Is Still Haunted By a Nazi
2021-10-11   2021-10-26 ign/kunsthaus-zurich-buhrle-collection.html Legacy                                       By Catherine Hickley           TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/13/well/liv Whether to Monitor Your Digestive Systems
2021-10-13   2021-10-26 e/microbiome-test.html                      Microbes                                     By Anahad OConnor              TX 9-103-504     2021-12-01
                        https://www.nytimes.com/article/aspirin-    What Does the New Advice On Aspirin Mean
2021-10-15   2021-10-26 recommendation-explained.html               for You                                      By Tara ParkerPope             TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/18/well/fa
2021-10-18   2021-10-26 mily/covid-19-exposure-kids.html            Preparing Children for Covid Risks at School By Perri Klass MD              TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/18/world/ A Knights Weapon Sword Wielded in Third
2021-10-18   2021-10-26 middleeast/crusader-sword-found-israel.html Crusade Is Given Second Chance at Life        By Eduardo Medina             TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/19/busines Welcoming Back Guests To a New World of
2021-10-19   2021-10-26 s/hotels-pandemic-options.html              Travel Less Staff and Fewer Perks             By Jane L Levere              TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/science
2021-10-20   2021-10-26 /ancient-dna-archaeology-ethics.html        Study of Ancient DNA Has New Guidelines       By Sabrina Imbler             TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/science First Steppers Pursuing the Horses Ancestors
2021-10-20   2021-10-26 /horse-domestication-russia.html            4200 Years Away in Russia                     By Sabrina Imbler             TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/science
2021-10-20   2021-10-26 /vikings-newfoundland-age.html              Its a Major Anniversary for the Vikings       By Katherine Kornei           TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/20/well/m
2021-10-20   2021-10-26 ove/exercise-estrogen-levels.html           Estrogen Movement and the Brain               By Gretchen Reynolds          TX 9-103-504     2021-12-01



                                                                                Page 2918 of 5793
                        https://www.nytimes.com/2021/10/21/arts/des Alan Lapidus Hotel and Casino Architect
2021-10-21   2021-10-26 ign/alan-lapidus-dead.html                   With Whimsy Dies at 85                      By Sam Roberts                 TX 9-103-504   2021-12-01
                                                                     Diminishing Returns Research Shrinks
                        https://www.nytimes.com/2021/10/21/science Australian Dinosaur And Gives It Better
2021-10-21   2021-10-26 /triassic-dinosaur-australia-footprints.html Table Manners                               By Corinne Purtill             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/science
2021-10-21   2021-10-26 /tuskless-elephants-evolution.html           New Problems Evolve For Tuskless Elephants By Elizabeth Preston            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/arts/dan
2021-10-22   2021-10-26 ce/review-unedited.html                      In Unedited Revisions Are Part of Tradition By Brian Seibert               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/arts/mu Under No One Else Did Music So Often
2021-10-22   2021-10-26 sic/bernard-haitink-conductor-dead.html      Sound So Right                              By David Allen                 TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/22/arts/mu Lana Del Reys Sisterly Solidarity and 8 More By Isabelia Herrera Giovanni
2021-10-22   2021-10-26 sic/playlist-lana-del-rey-summer-walker.html New Songs                                  Russonello and Lindsay Zoladz   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/movies/
2021-10-22   2021-10-26 international-streaming.html                 Thrills and Charms All Across the Globe    By Devika Girish                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/science Floating the Possibility Of Disabled
2021-10-22   2021-10-26 /astronauts-disabilities-astroaccess.html    Astronauts                                 By Amanda Morris                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/upshot/ Democrats Plan Recognizes That Men Too
2021-10-22   2021-10-26 biden-caregivers-family-plan.html            Are Caregivers                             By Claire Cain Miller           TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/22/world/e In Russias Far North Cashing In on Warming
2021-10-22   2021-10-26 urope/russia-arctic-climate-change-putin.html Seas                                    By Andrew E Kramer               TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/24/arts/mu Dee Pop 65 A Drummer Full of Soul In
2021-10-24   2021-10-26 sic/dee-pop-dead.html                         New York                                By Alex Vadukul                  TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/24/arts/tele James Michael Tyler 59 Wry Barista on
2021-10-25   2021-10-26 vision/james-michael-tyler-dead.html          Friends                                 By Vimal Patel and Jesus Jimnez TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/25/arts/mu
                        sic/conductor-antonio-pappano-met-
2021-10-25   2021-10-26 opera.html                                    Balancing Tradition and Innovation      By David Allen                   TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/arts/mu
                        sic/el-alfa-dembow-madison-square-            El Alfa King of Dembow Dazzles in New
2021-10-25   2021-10-26 garden.html                                   York                                    By Isabelia Herrera              TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/books/ FSG Publishing Names Woman As Its
2021-10-25   2021-10-26 mitzi-angel-farrar-straus-giroux.html         President For First Time                By Elizabeth A Harris            TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/books/r
                        eview-chancellor-angela-merkel-kati-
2021-10-25   2021-10-26 marton.html                                   A Steadfast Leader In a Shaky World     By Dwight Garner                 TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/busines ESports Conglomerate to Go Public in a     By Kellen Browning and Lauren
2021-10-25   2021-10-26 s/faze-clan-esports-spac.html                 SPAC Deal                               Hirsch                           TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/busines Informant Makes Case For Social Media
2021-10-25   2021-10-26 s/frances-haugen-facebook.html                Curbs To British Parliament             By Adam Satariano and Mike Isaac TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/busines Teslas Value Hits 1 Trillion As Hertz Adds By Neal E Boudette and Niraj
2021-10-25   2021-10-26 s/hertz-tesla-electric-vehicles.html          Electric Cars                           Chokshi                          TX 9-103-504    2021-12-01




                                                                                Page 2919 of 5793
                        https://www.nytimes.com/2021/10/25/climate 100 Billion Pledge to Address Climate
2021-10-25   2021-10-26 /100-billion-climate-aid-cop26.html         Change Falters Again                        By Somini Sengupta              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/dining/t
                        hanksgiving-inflation-supply-chain-food-    This Years Thanksgiving Meal Is Poised to
2021-10-25   2021-10-26 costs.html                                  Wallop the Wallet                           By Kim Severson                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/health/c Are Booster Shots Widely Necessary Some
2021-10-25   2021-10-26 ovid-boosters-cdc-fda.html                  Federal Advisers Have Misgivings            By Apoorva Mandavilli           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/health/
2021-10-25   2021-10-26 moderna-covid-vaccine-children.html         Vaccine Strong in Children Moderna Says     By Apoorva Mandavilli           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/movies/
                        alec-baldwin-shooting-ammunition-           Details Emerge on Fatal Shot As Baldwin     By Julia Jacobs and Graham
2021-10-25   2021-10-26 found.html                                  Rehearsed Scene                             Bowley                          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/movies/
2021-10-25   2021-10-26 halloween-franchise-problems.html           Halloween Maintains Its Grip                By Jason Bailey                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/nyregio Gene Freidman 50 Symbol of Rise and Fall
2021-10-25   2021-10-26 n/gene-freidman-dead.html                   Of Taxi Industry Dies                       By Sam Roberts                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/opinion
2021-10-25   2021-10-26 /biden-manchin-sinema-roe.html              Democrats Are on the Verge of Something By Gail Collins and Bret Stephens   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/opinion
2021-10-25   2021-10-26 /democrats-child-benefit-tax.html           Tax the Rich Help Americas Children         By Paul Krugman                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/opinion Biden Has a Chance to Go Big and Bold at
2021-10-25   2021-10-26 /federal-reserve-powell-biden.html          the Fed                                     By Annelise Riles               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/opinion The First Thing We Do Lets Kill All the Leaf
2021-10-25   2021-10-26 /leaf-blowers-california-emissions.html     Blowers                                     By Margaret Renkl               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/science Entertaining Lemurs Theyve Got Rhythm But
2021-10-25   2021-10-26 /lemurs-rhythm-singing.html                 You Could Ask For a Bit Less Noise          By Sam Jones                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/science BezosOwned Blue Origin Joins Partnership
2021-10-25   2021-10-26 /space-station-blue-origin-sierra.html      to Build A Private Space Station            By Joey Roulette                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/science Blobs of Worms Yield Lessons in Group
2021-10-25   2021-10-26 /worm-blobs.html                            Behavior                                    By Sabrina Imbler               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/sports/a Recalling a Braves Journey Full of 40Foot
2021-10-25   2021-10-26 tlanta-braves-world-series.html             Potholes                                    By Alan Blinder                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/sports/b
2021-10-25   2021-10-26 aseball/eddie-rosario-world-series.html     Rosario Delivers Big Hits And Style         By Scott Miller                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/sports/b
2021-10-25   2021-10-26 aseball/world-series-astros-braves.html     Astros Vs Braves Around the Horn            By Tyler Kepner                 TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/25/sports/f Was Putting Jones Back in Harms Way Worth
2021-10-25   2021-10-26 ootball/daniel-jones-one-handed-catch.html a 16Yard Gain                               By Ben Shpigel                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/technol Staten Island Amazon Workers Take Step
2021-10-25   2021-10-26 ogy/amazon-staten-island-jfk-union.html     Toward Union                               By Karen Weise                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/technol
2021-10-25   2021-10-26 ogy/facebook-like-share-buttons.html        Power of Likes Puts Facebook In a Quandary By Mike Isaac                    TX 9-103-504   2021-12-01




                                                                               Page 2920 of 5793
                        https://www.nytimes.com/2021/10/25/technol Amid Swirling Controversies Facebook
2021-10-25   2021-10-26 ogy/facebook-profits-earnings-q3-2021.html Profits Jump 17                                By Mike Isaac                      TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/25/technol
2021-10-25   2021-10-26 ogy/personaltech/google-pixel-6-review.html Pixel 6 Is Nice but Doesnt Change the Game    By Brian X Chen                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/upshot/ Tax on Billionaires Raises Question Whats
2021-10-25   2021-10-26 biden-tax-billionaires.html                 Income                                        By Neil Irwin                      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/upshot/ Even With 4 Weeks US Would Lag in Paid
2021-10-25   2021-10-26 paid-leave-democrats.html                   Leave                                         By Claire Cain Miller              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/us/john- New Gacy Victim Is Identified 4 Decades
2021-10-25   2021-10-26 wayne-gacy-victim.html                      After Murder                                  By Julie Bosman                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/us/luis- At 100 Priest Bids Farewell to Church He
2021-10-25   2021-10-26 urriza-priest-texas.html                    Built                                         By Rick Rojas                      TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/25/us/polit Democrats Push For Budget Deal As Rifts
2021-10-25   2021-10-26 ics/biden-democrats-reconciliation-bill.html Persist                                      By Emily Cochrane                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/us/polit Border Patrol Gave Agents Light Penalties
2021-10-25   2021-10-26 ics/border-patrol-discipline.html            Report on Bias Says                          By Eileen Sullivan                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/us/utah-
2021-10-25   2021-10-26 school-racial-harassment-doj.html            Utah District Ignored Racism Inquiry Finds   By Eduardo Medina                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/us/vacc Evangelical Insider Fired After Endorsing
2021-10-25   2021-10-26 ine-fired-church.html                        Vaccine Seeks Civility in New Job            By Ruth Graham                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/well/liv
2021-10-25   2021-10-26 e/adult-acne.html                            Like Adolescents Adults Can Develop Acne     By Jane E Brody                  TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/25/world/a Sudan Military Crushes Hopes For               By Declan Walsh Abdi Latif Dahir
2021-10-25   2021-10-26 frica/sudan-military-coup.html               Democracy                                    and Simon Marks                  TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/25/world/e Diplomacy Halts Erdogans Push To Expel
2021-10-25   2021-10-26 urope/erdogan-turkey-ambassador.html         Envoys                                       By Carlotta Gall                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/world/e
                        urope/eric-zemmour-france-jewish-bernard- Jewish FarRight Pundit Splits French Jewish
2021-10-25   2021-10-26 henri-levy.html                              Community                                    By Roger Cohen                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/world/e German Court Finds Woman Guilty in Death
2021-10-25   2021-10-26 urope/germany-isis-yazidi-child.html         Of Yazidi Child                              By Melissa Eddy                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/world/e
                        urope/richard-gere-matteo-salvini-immigrant- At Migrant Trial in Italy Testimony From
2021-10-25   2021-10-26 trial.html                                   Celebrity May Lift Populists Profile         By Emma Bubola                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/world/ Egypts President Lifts National State of
2021-10-25   2021-10-26 middleeast/egypt-sisi-state-emergency.html Emergency                                      By Vivian Yee                      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/world/
                        middleeast/israel-jews-palestinians-         Whose Promised Land Journeying Across a      By Patrick Kingsley and Laetitia
2021-10-25   2021-10-26 journey.html                                 Divided Israel                               Vancon                             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/article/hong-kong- Hong Kong Uses Security Law to Clamp
2021-10-25   2021-10-26 security-law-speech.html                     Down on Speech                               By Austin Ramzy                    TX 9-103-504   2021-12-01




                                                                                Page 2921 of 5793
                        https://www.nytimes.com/2021/10/26/insider/
                        why-humans-not-machines-make-the-tough-
2021-10-26   2021-10-26 calls-on-comments.html                         Why Machines Are Bad Umpires             By Alex Traub                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/nyregio
2021-10-26   2021-10-26 n/thomas-kenniff-manhattan-da.html             Manhattan DA Candidate Sees City on Edge By Jonah E Bromwich               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/opinion
2021-10-26   2021-10-26 /europe-merkel-macron-scholz.html              The Next Leader of Europe Will Be No One By Helen Thompson                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/science
2021-10-26   2021-10-26 /drosophila-fly-brain-connectome.html          A Flys Brain                             By Emily Anthes                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/technol Inside the Pages Detailing Facebooks Vexing
2021-10-26   2021-10-26 ogy/facebook-sec-complaints.html               Issues                                   By Cecilia Kang                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/11/t-
2021-10-11   2021-10-27 magazine/chanel-embroidered-flap-bag.html Rough Draft                                   By Nancy Hass                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/11/t-
                        magazine/eric-touchaleaume-robert-mallet-                                               By Jean Grogan and Matthew
2021-10-11   2021-10-27 stevens.html                                   Free Radical                             Avignone                          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/11/t-
2021-10-11   2021-10-27 magazine/night-blooming-flowers.html           A Little Night Magic                     By Ligaya Mishan                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/12/t-                                                   By Stephen Wallis and Rafal
2021-10-12   2021-10-27 magazine/marcin-rusak-plant-decay.html         Born to Die                              Milach                            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/12/t-
                        magazine/monogrammed-bags-purses-
2021-10-12   2021-10-27 winter.html                                    Monogrammed Bags                         By Mari Maeda and Yuji Oboshi     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/12/t-                                                   By Ligaya Mishan and Josh
2021-10-12   2021-10-27 magazine/shanghai-teahouses-china.html         Alone Together                           Robenstone                        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/13/t-
2021-10-13   2021-10-27 magazine/black-art-collectives-creators.html All Together Now                           By Adam Bradley                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/13/t-
2021-10-13   2021-10-27 magazine/bulgari-necklace-tassels.html         The Thing                                By Nancy Hass                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/13/t-
2021-10-13   2021-10-27 magazine/winter-fluffy-fashion.html            Where the Wild Things Are                By Toby Coulson and Ian Bradley   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/15/t-
2021-10-15   2021-10-27 magazine/birkin-bag-hermes.html                The Birkin Bag Gets an Update            By Lindsay Talbot                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/15/t-
2021-10-15   2021-10-27 magazine/england-garden-olivia-laing.html The Revisionist                               By Benot Loiseau and Teresa Eng   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/15/t-
2021-10-15   2021-10-27 magazine/harlem-ymca-black-culture.html        The Rooms Where It Happened              By Sandra E Garcia                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/dining/
2021-10-21   2021-10-27 mountain-tides-wine-petite-sirah.html          Embracing an Unloved Grape               By Eric Asimov                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/dining/i
2021-10-22   2021-10-27 nstant-pot-recipes-wisdom.html                 Instant Pot Wisdom Half a Decade Later   By Melissa Clark                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/dining/
                        mortars-pestles-and-the-comfort-of-a-culinary-
2021-10-22   2021-10-27 ritual.html                                    There Is Comfort In Culinary Rituals     By Yewande Komolafe               TX 9-103-504   2021-12-01




                                                                               Page 2922 of 5793
                        https://www.nytimes.com/2021/10/25/arts/mu
2021-10-25   2021-10-27 sic/adele-easy-on-me-chart.html             Adeles Easy on Me Takes No 1 Spot              By Ben Sisario                 TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/arts/mu
2021-10-25   2021-10-27 sic/bric-jazzfest.html                      A Young Festival in Flux Finds Its Footing     By Giovanni Russonello         TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/busines
                        s/economy/foreign-workers-shortage-
2021-10-25   2021-10-27 hiring.html                                 America Misses Its Foreign Workers             By Jeanna Smialek              TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/dining/ To Squeeze Citrus Is the Star For the Cold
2021-10-25   2021-10-27 citrus-butterfield-market.html              Months                                         By Florence Fabricant          TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/dining/
2021-10-25   2021-10-27 don-guerra-barrio-bread-tucson.html         Baking Up Bread That Blurs Borders             By John Birdsall               TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/dining/
2021-10-25   2021-10-27 drinks/craft-beer-bars.html                 It May Be Last Call for CraftBeer Bars         By Joshua M Bernstein          TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/dining/f
2021-10-25   2021-10-27 or-shakshuka-or-what-have-you.html          To Spread Versatile Sauces For Your Meals      By Florence Fabricant          TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/dining/ To Learn Teaching Spooky Pasta And
2021-10-25   2021-10-27 halloween-cooking-classes.html              Ghastly Cookies                                By Florence Fabricant          TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/dining/ To Sip Where Theres Smoke There Is Also
2021-10-25   2021-10-27 hangar-one-vodka-smoke-point.html           Vodka                                          By Florence Fabricant          TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/dining/l To Cook Come for the Focaccia Stay for the
2021-10-25   2021-10-27 iguria-the-cookbook-laurel-evans.html       History                                        By Florence Fabricant          TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/dining/t To Serve A Domestic Prosciutto From the
2021-10-25   2021-10-27 rue-story-prosciutto.html                   Ozarks                                         By Florence Fabricant          TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/25/theater/
                        broadway-closings-is-this-a-room-dana-
2021-10-25   2021-10-27 h.html                                      Two Broadway Dramas to Close Early             By Michael Paulson             TX 9-103-504    2021-12-01

                        https://www.nytimes.com/2021/10/25/world/a A Princess Gets Married Minus the Royal
2021-10-26   2021-10-27 sia/japan-royal-wedding-princess-mako.html Fanfare                                         By Motoko Rich and Makiko Inoue TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/arts/con Cheating Scandal Roils Genteel World of
2021-10-26   2021-10-27 tract-bridge-cheating.html                  Bridge                                         By Alan Yuhas                  TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/26/arts/dan
2021-10-26   2021-10-27 ce/lypsinka-ballet-theater-pride.html       A Pianist And a Drag Persona Too               By Joshua Barone               TX 9-103-504    2021-12-01

                        https://www.nytimes.com/2021/10/26/arts/des
2021-10-26   2021-10-27 ign/detroit-arts-center-church-renovation.html Creating an Arts Complex in Detroit         By Hilarie M Sheets            TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/26/arts/tele Mort Sahl Whose Biting Commentary
2021-10-26   2021-10-27 vision/mort-sahl-dead.html                     Redefined StandUp Dies at 94                By Bruce Weber                 TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/26/books/g
2021-10-26   2021-10-27 ary-shteyngart-our-country-friends.html        The Pandemic Becomes Part Of the Plot       By Alexandra Alter             TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/26/books/r
                        eview-shattering-america-1960s-kevin-
2021-10-26   2021-10-27 boyle.html                                     Theres More to Know About the Storied 60s   By Jennifer Szalai             TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/26/busines In British Plan Consumers Pitch In for
2021-10-26   2021-10-27 s/britain-nuclear-plants.html                  Nuclear Plants                              By Stanley Reed                TX 9-103-504    2021-12-01



                                                                                 Page 2923 of 5793
                        https://www.nytimes.com/2021/10/26/busines
2021-10-26   2021-10-27 s/climate-change-sustainable-real-estate.html Investors Steering Money to Green Buildings By Patrick Sisson                TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/26/busines Rising Prices Complicate Bidens Plans For
2021-10-26   2021-10-27 s/economy/biden-inflation.html                Recovery                                    By Jim Tankersley                TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/26/busines
2021-10-26   2021-10-27 s/inflation-interest-rates-treasury-bonds.html Bond Market Hints Uptick In Inflation        By Matt Phillips                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/busines
                        s/media/netflix-new-jersey-fort-               Netflix Plans to Bid on Shuttered New Jersey
2021-10-26   2021-10-27 monmouth.html                                  Army Base for a Production Hub               By Brooks Barnes and John Koblin TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/busines
2021-10-26   2021-10-27 s/new-york-commercial-real-estate.html         Transactions                                 By Jordan Allen                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/busines
2021-10-26   2021-10-27 s/tyson-vaccine-mandate.html                   Tyson Foods Exceeds 96 Percent Shot Rate By Lauren Hirsch                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/dining/
2021-10-26   2021-10-27 midtown-restaurants-nyc.html                   New York Is Served Here                      By Pete Wells                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/dining/ Kaiseki Room by Yamada Opens in Midtown
2021-10-26   2021-10-27 new-york-restaurant-openings.html              Manhattan                                    By Florence Fabricant            TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/26/movies/ Criminal Charges Possible In Fatal FilmSet    By Simon Romero Graham Bowley
2021-10-26   2021-10-27 criminal-charges-shooting-alec-baldwin.html Shooting                                     and Julia Jacobs              TX 9-103-504         2021-12-01

                        https://www.nytimes.com/2021/10/26/nyregio Childrens Beating Deaths Expose Citys      By Andy Newman Ashley Southall
2021-10-26   2021-10-27 n/child-abuse-reports-deaths-nyc.html       Lapses                                    and Chelsia Rose Marcius         TX 9-103-504         2021-12-01
                        https://www.nytimes.com/2021/10/26/nyregio Brinks Robbery Participant Now 77 Is       By Michael Wilson and Ed
2021-10-26   2021-10-27 n/david-gilbert-brinks-parole.html          Granted Parole                            Shanahan                         TX 9-103-504         2021-12-01
                        https://www.nytimes.com/2021/10/26/nyregio De Blasio After Meeting With Big Developer
2021-10-26   2021-10-27 n/fifth-ave-bus-deblasio.html               Postpones 5th Avenue Busway               By Dana Rubinstein and Winnie Hu TX 9-103-504         2021-12-01
                        https://www.nytimes.com/2021/10/26/nyregio Sprawling Storm Lashes New York With
2021-10-26   2021-10-27 n/new-york-rain.html                        Rain and High Winds                       By Michael Gold                  TX 9-103-504         2021-12-01
                        https://www.nytimes.com/2021/10/26/opinion Facebook Wont Change Unless Advertisers
2021-10-26   2021-10-27 /facebook-advertisers.html                  Demand It                                 By Greg Bensinger                TX 9-103-504         2021-12-01
                        https://www.nytimes.com/2021/10/26/opinion Biden and Mother Nature Have Reshaped the
2021-10-26   2021-10-27 /middle-east-climate-change.html            Middle East                               By Thomas L Friedman             TX 9-103-504         2021-12-01
                        https://www.nytimes.com/2021/10/26/opinion
2021-10-26   2021-10-27 /us-military-russia-china-iran.html         Americas Crumbling Global Position        By Bret Stephens                 TX 9-103-504         2021-12-01
                        https://www.nytimes.com/2021/10/26/opinion
2021-10-26   2021-10-27 /zuckerberg-facebook-ceo.html               The Zuckerberg Era Is Over                By Kara Swisher                  TX 9-103-504         2021-12-01
                        https://www.nytimes.com/2021/10/26/science Finally Revealed Why SpaceX Had a Leaky
2021-10-26   2021-10-27 /spacex-toilet-nasa.html                    Toilet                                    By Joey Roulette                 TX 9-103-504         2021-12-01
                        https://www.nytimes.com/2021/10/26/sports/a
2021-10-26   2021-10-27 lex-honnold-mother-el-capitan.html          70th Birthday Party Climbing El Capitan   By Tim Neville                   TX 9-103-504         2021-12-01




                                                                                 Page 2924 of 5793
                        https://www.nytimes.com/2021/10/26/sports/b
                        aseball/martin-maldonado-astros-world-      Why the Astros Call a 172 Hitter Truly a
2021-10-26   2021-10-27 series.html                                 Blessing                                       By James Wagner             TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/26/sports/b In Baseballs Era of Parity Youve Just Got to
2021-10-26   2021-10-27 aseball/world-series-atlanta-houston.html   Get In                                         By Tyler Kepner             TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/26/sports/f
                        ootball/washington-football-team-           ExWashington Employees Want Inquiry
2021-10-26   2021-10-27 investigation.html                          Made Public                                    By Ken Belson               TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/26/sports/h
                        ockey/blackhawks-investigation-sex-assault- Blackhawks Executives Ignored Sex Assault
2021-10-26   2021-10-27 bowman.html                                 Investigation Says                             By Kevin Draper             TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/26/technol
                        ogy/youtube-snap-and-tiktok-executives-take-                                             By David McCabe Kate Conger and
2021-10-26   2021-10-27 their-turn-answering-to-washington.html      Executives Defend Platforms at Hearing      Daisuke Wakabayashi             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/theater/
2021-10-26   2021-10-27 covid-crime-stop-asian-hate.html             Exploring How Hate Can Hurt Us All          By Laura Zornosa                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/theater/
2021-10-26   2021-10-27 martha-henry-dead.html                       Martha Henry 83 Star Of the Stage in Canada By Neil Genzlinger              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/us/clau Arrested at 15 for Not Giving Up Seat on a
2021-10-26   2021-10-27 dette-colvin-arrest-record.html              Bus She Wants Her Record Expunged           By Eduardo Medina               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/us/deaf- Protests Roil a School of Deaf Diverse
2021-10-26   2021-10-27 students-protests-schools.html               Students                                    By Amanda Morris                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/us/fda- Vaccine by Pfzifer Gets Key Backing for       By Sharon LaFraniere and Noah
2021-10-26   2021-10-27 pfizer-covid-vaccine-kids.html               Children 511                                Weiland                         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/us/polit
2021-10-26   2021-10-27 ics/dark-web-drug-sales.html                 Authorities Disrupt Global Drug Ring        By Katie Benner                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/us/polit Biden Nominee Would Become First Woman
2021-10-26   2021-10-27 ics/jessica-rosenworcel-fcc.html             to Be the Leader of the FCC                 By Elizabeth Williamson         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/us/polit Its a FullCourt Press on Manchin Trying to
2021-10-26   2021-10-27 ics/joe-manchin-biden.html                   Get Him to Change His Mind                  By Emily Cochrane               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/us/polit McAuliffe Is All About Trump Virginia
2021-10-26   2021-10-27 ics/terry-mcauliffe-biden.html               Voters May Be All About Biden               By Lisa Lerer                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/us/texa Texas Man Arrested 11 Days After Driveway
2021-10-26   2021-10-27 s-driveway-killing.html                      Killing                                     By Christine Hauser             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/us/texa Texas Republicans Fight For a Democratic
2021-10-26   2021-10-27 s-state-house-runoff.html                    Bastion                                     By Edgar Sandoval               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/world/a Moderna to Sell Doses To Countries in         By Rebecca Robbins and Lynsey
2021-10-26   2021-10-27 frica/covid-moderna-african-union.html       Africa                                      Chutel                          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/world/a Sudans Prime Minister Was Detained at         By Abdi Latif Dahir and Simon
2021-10-26   2021-10-27 frica/sudan-coup-protests.html               Home of General Who Led Coup                Marks                           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/world/a As Gangs Overrun Cities Haitis Police Are
2021-10-26   2021-10-27 mericas/haiti-police-gangs.html              Outgunned and Underpaid                     By Maria AbiHabib               TX 9-103-504   2021-12-01




                                                                                 Page 2925 of 5793
                        https://www.nytimes.com/2021/10/26/world/a
                        sia/myanmar-coup-trial-aung-san-suu-          Defense Begins in ClosedDoor Show Trial of By SuiLee Wee and Richard C
2021-10-26   2021-10-27 kyi.html                                      Myanmars Ousted Leader                     Paddock                       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/world/a World Cup Victories Let Pakistan Forget
2021-10-26   2021-10-27 sia/pakistan-cricket-victory-india.html       About Its Troubles for a While             By Salman Masood              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/world/a
2021-10-26   2021-10-27 sia/roh-tae-woo-dies.html                     Roh Taewoo South Korean Leader Dies at 88 By Choe SangHun                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/world/a In Australia Leaders Plan On Emissions Is
2021-10-26   2021-10-27 ustralia/net-zero-delay.html                  Chastised                                  By Damien Cave                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/world/c After a Dispiriting Election Trudeau Promises
2021-10-26   2021-10-27 anada/justin-trudeau-cabinet.html             to Get Big Things Done                     By Ian Austen                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/world/e Nazi Backers Unearthed Writings Cause Stir
2021-10-26   2021-10-27 urope/celine-manuscripts-france.html          in France                                  By Lontine Gallois            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/world/e
                        urope/france-murder-trial-holocaust-survivor- Trial in a Paris Killing Focuses on
2021-10-26   2021-10-27 mireille-knoll.html                           Antisemitism                               By Constant Mheut             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/world/e
2021-10-26   2021-10-27 urope/poland-eu-aid.html                      Polexit Drive Hits a Bump EUs Largess      By Andrew Higgins             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/world/e Queen Elizabeth Will Skip Summit in
2021-10-26   2021-10-27 urope/queen-elizabeth-cop26-summit.html       Glasgow                                    By Richard PrezPea            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/world/ Iran Got What It Wanted US Has Left
2021-10-26   2021-10-27 middleeast/iran-taliban-afghanistan.html      Afghanistan Now Tehran Is Worried          By Farnaz Fassihi             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/article/where-to-eat-
2021-10-26   2021-10-27 in-midtown-nyc.html                           A Menu Of Midtown Favorites                By The New York Times         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/nyregio Adams and Sliwa Mix It Up At Final Mayoral
2021-10-27   2021-10-27 n/eric-adams-curtis-sliwa-debate.html         Debate                                     By Emma G Fitzsimmons         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/us/polit Democrats Urge Billionaires Tax To Help
2021-10-27   2021-10-27 ics/democrats-billionaires-tax.html           Fund Bill                                  By Jonathan Weisman           TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/27/sports/f
2021-10-27   2021-10-27 ootball/jamarr-chase-cincinnati-bengals.html These Bengals May Be Ready for Prime Time By Mike Tanier                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/technol Carded by Web Bouncers Users See Privacy
2021-10-27   2021-10-27 ogy/internet-age-check-proof.html            Risk                                      By David McCabe                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/busines Cant Find What You Want Product Shortages
2021-10-19   2021-10-28 s/supply-chain-holidays.html                 Arent Going Away Anytime Soon             By Ellen Rosen                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/style/on
2021-10-21   2021-10-28 lyfans-nude-art-vienna.html                  Where Some See Art AI Sees Pornography    By Valeriya Safronova           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/style/an
2021-10-25   2021-10-28 drew-lloyd-webber-phantom-party.html         DJ Webz Plays the Hits                    By Shane ONeill                 TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/25/technol
2021-10-25   2021-10-28 ogy/automated-flight-helicopter-skyryse.html Im Not a Pilot But I Just Flew A Helicopter By Cade Metz                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/arts/mu Sonny Osborne 83 Titan Of Bluegrass Who
2021-10-26   2021-10-28 sic/sonny-osborne-dead.html                  Played In a Groundbreaking Band             By Bill FriskicsWarren        TX 9-103-504   2021-12-01




                                                                                 Page 2926 of 5793
                        https://www.nytimes.com/2021/10/26/opinion Yes Young Children Should Get the Covid
2021-10-26   2021-10-28 /covid-vaccine-kids.html                   Vaccine                                       By Lee Savio Beers                 TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/26/opinion
2021-10-26   2021-10-28 /manchin-appalachia-coal-infrastructure.html Your County Is Getting a Bad Deal         By Farah Stockman                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/sports/b Arnold Hano Author Who Took You Out
2021-10-26   2021-10-28 aseball/arnold-hano-dead.html                With the Crowd Dies at 99                 By Richard Goldstein                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/style/ac
2021-10-26   2021-10-28 rylic-nails-pamela-council.html              Acrylic Nails 350000 Embellish an Artwork By Sandra E Garcia                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/style/fr
                        ederic-arnault-tag-heuer-lvmh-
2021-10-26   2021-10-28 succession.html                              The Newest Player in Luxurys First Family By Vanessa Friedman                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/theater/ A Cerebral Dramatic Puzzle That Begs to Be
2021-10-27   2021-10-28 the-mother-review-wooster-group.html         Discussed                                 By Elisabeth Vincentelli             TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/27/arts/dan A Retro Fantasy That Feels Out of Sync With
2021-10-27   2021-10-28 ce/american-ballet-theater-gala-review.html the Moment                                     By Gia Kourlas                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/arts/dan
                        ce/martha-graham-dance-company-              The Graham Company Steps Past the
2021-10-27   2021-10-28 review.html                                  Pandemic                                      By Brian Seibert                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/arts/mu
2021-10-27   2021-10-28 sic/geese-projector.html                     PostPunk Teenagers Set to Take Flight         By Jim Farber                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/arts/mu
2021-10-27   2021-10-28 sic/meistersinger-met-opera-review.html      A Paean to Music and Joyful Bickering         By Zachary Woolfe                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/arts/tele Mort Sahl Paved the Way for Intellectual
2021-10-27   2021-10-28 vision/mort-sahl-comedy-legacy.html          Comics                                        By Jason Zinoman                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/arts/tele
2021-10-27   2021-10-28 vision/my-unorthodox-life-debate.html        Divided Over A Reality Series                 By Joseph Berger                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/books/r
                        eview-our-country-friends-gary-
2021-10-27   2021-10-28 shteyngart.html                              Squabbles Abound Among Old Pals               By Molly Young                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/busines Delays of Troubled Dreamliner Drag Down
2021-10-27   2021-10-28 s/boeing-3q-2021-earnings.html               Boeings Quarterly Earnings                    By Niraj Chokshi                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/busines
2021-10-27   2021-10-28 s/britain-budget-sunak.html                  Britain Plans for PostPandemic Economy        By Eshe Nelson                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/busines                                                 By Nelson D Schwartz and Coral
2021-10-27   2021-10-28 s/economy/food-prices-us.html                The Poor Feel the Strain as Food Prices Surge Murphy Marcos                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/busines Revenue Falls for Ford and GM As Global
2021-10-27   2021-10-28 s/general-motors-earnings.html               Chip Shortage Lingers                         By Neal E Boudette               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/busines
                        s/mcdonalds-kraft-heinz-coca-cola-           Despite Higher Prices 3 Global Food Giants
2021-10-27   2021-10-28 earnings.html                                Post Solid Gains                              By Gray Beltran                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/busines McKinsey Employees Outraged by Work             By Michael Forsythe and Walt
2021-10-27   2021-10-28 s/mckinsey-climate-change.html               With Many of Biggest Polluters                Bogdanich                        TX 9-103-504   2021-12-01




                                                                                 Page 2927 of 5793
                        https://www.nytimes.com/2021/10/27/busines Battered by Pandemic Rent the Runway
2021-10-27   2021-10-28 s/rent-the-runway-ipo.html                  Climbs in Trading Debut                    By Sapna Maheshwari              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/climate FEMA Misses Deadlines On Disaster Aid
2021-10-27   2021-10-28 /fema-aid-racial-disparities.html           Inequity                                   By Christopher Flavelle          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/health/c Merck Moves to Share Covid Pill With Poor
2021-10-27   2021-10-28 ovid-pill-access-molnupiravir.html          Nations                                    By Stephanie Nolen               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/movies/ David DePatie 91 Brains Behind the Pink
2021-10-27   2021-10-28 david-depatie-dead.html                     Panther A James Bond With Fur              By Richard Sandomir              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/movies/ Check on Gun Given to Baldwin Was           By Simon Romero Julia Jacobs and
2021-10-27   2021-10-28 rust-shooting-investigation-dave-halls.html Incomplete Affidavit Says                  Graham Bowley                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/nyregio
                        n/catholic-school-teacher-fired-same-sex-   Brooklyn Diocese Fires Gay Teacher Who
2021-10-27   2021-10-28 marriage.html                               Wed                                        By Liam Stack                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/nyregio New York Attorney General Is Preparing to By Nicholas Fandos Katie Glueck
2021-10-27   2021-10-28 n/letitia-james-governor-ny.html            Announce Shes Running for Governor         and Luis FerrSadurn              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/nyregio
2021-10-27   2021-10-28 n/monica-goods-christopher-baldner.html     NY Trooper Is Charged In Death After Chase By Ed Shanahan                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/nyregio Climate Activists and Hochul Applaud Denial By Grace Ashford and Anne
2021-10-27   2021-10-28 n/ny-gas-power-plants-permits-denied.html of GasPowered Plant Upgrades                 Barnard                          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/nyregio One Oath Keeper At the Capitol Riot Is Also
2021-10-27   2021-10-28 n/oath-keeper-nj-assembly.html              on the Ballot                              By Tracey Tully                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/opinion
2021-10-27   2021-10-28 /americas-immigration-migration.html        A New Approach to Border Policy            By Andrew Selee                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/opinion
2021-10-27   2021-10-28 /local-election-mayor.html                  The Cat Dad Vs the Vegan                   By Gail Collins                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/opinion The Supreme Court Has Failed on Police      By Barry Friedman and Maria
2021-10-27   2021-10-28 /supreme-court-police-reform.html           Reform                                     Ponomarenko                      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/sports/b
2021-10-27   2021-10-28 aseball/atlanta-world-series.html           Atlanta Has Heroes Waiting in the Wings    By Tyler Kepner                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/sports/b
                        aseball/charlie-morton-broken-leg-world-    Broken Leg Shelves Ace Who Gets a Few
2021-10-27   2021-10-28 series.html                                 Outs First                                 By David Waldstein               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/sports/b Issues to Sort but MLB and Its Union Focus
2021-10-27   2021-10-28 aseball/mlb-manfred-clark.html              on Labor Peace                             By James Wagner                  TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/27/sports/b
2021-10-27   2021-10-28 aseball/tyler-matzek-atlanta-world-series.html Centered And Thriving At Center Stage      By Scott Miller              TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/27/style/al
2021-10-27   2021-10-28 exander-palace-russia-restoration.html         The Last Czars Palace Reborn as a Museum   By Ivan Nechepurenko         TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/27/technol Takeaways from Week 9 Of the Holmes
2021-10-27   2021-10-28 ogy/elizabeth-holmes-trial-takeaways.html      Fraud Trial                                By Erin Griffith             TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/27/technol In Face of Legal Inquiries Facebook Tells
2021-10-27   2021-10-28 ogy/facebook-legal-communications.html         Employees To Save Communications           By Ryan Mac and Mike Isaac   TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/27/us/cape- Storm Batters Massachusetts Cutting Power
2021-10-27   2021-10-28 cod-noreaster.html                             To Thousands                               By Ellen Barry               TX 9-103-504    2021-12-01



                                                                                 Page 2928 of 5793
                        https://www.nytimes.com/2021/10/27/us/hasti School Faces Founders Role in Native
2021-10-27   2021-10-28 ngs-college-law-native-massacre.html        Killings                                    By Thomas Fuller                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/kyle- Legal Debate On Who Can Be Described As a
2021-10-27   2021-10-28 rittenhouse-trial-victims.html              Victim                                      By Julie Bosman and Dan Hinkel     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/long- Struggle for Long Covid Patients Getting
2021-10-27   2021-10-28 covid-disability-benefits.html              Disability Benefits                         By Amanda Morris                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/polit
2021-10-27   2021-10-28 ics/beloved-toni-morrison-virginia.html     Book Is Rallying Point in Governor Race     By Lisa Lerer and Reid J Epstein   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/polit
                        ics/biden-immigration-ice-schools-          Biden Bars Immigration Enforcement in
2021-10-27   2021-10-28 hospitals.html                              Protected Areas                             By Miriam Jordan                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/polit How Democrats Would Tax Billionaires to
2021-10-27   2021-10-28 ics/billionaires-tax.html                   Pay for Their Agenda                        By Jonathan Weisman                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/polit
2021-10-27   2021-10-28 ics/budget-bill-republicans.html            Sidelined Republicans Snipe at Budget       By Carl Hulse                      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/polit                                             By David E Sanger and William J
2021-10-27   2021-10-28 ics/china-hypersonic-missile.html           China Testing New Weapon Jolts Pentagon Broad                                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/polit Seeking Revenue Democrats Rush To Redo By Alan Rappeport and Jim
2021-10-27   2021-10-28 ics/democrats-rush-rewrite-tax-code.html    Tax Code                                    Tankersley                         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/polit
2021-10-27   2021-10-28 ics/diplomats-security-blinken.html         State Dept Eases Rules On Security Overseas By Lara Jakes                      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/polit Pastries With Persuasion Securing a Global
2021-10-27   2021-10-28 ics/global-minimum-tax-deal.html            Tax Deal                                    By Alan Rappeport                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/polit Briefs Draw Battle Lines as Abortion Law
2021-10-27   2021-10-28 ics/supreme-court-texas-abortion.html       Nears Justices                              By Adam Liptak                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/polit In Virginia Early Voting Has Been Surging
2021-10-27   2021-10-28 ics/virginia-early-voting-governor.html     And It Lasts for a While                    By Nick Corasaniti                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/yose Californias Rain Brings a Roar Back to
2021-10-27   2021-10-28 mite-falls.html                             Yosemite                                    By Johnny Diaz                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/world/a Fear of Gangs Hinders Supply Of Fuel in      By Natalie Kitroeff and Maria
2021-10-27   2021-10-28 mericas/haiti-gangs-fuel-shortage.html      Haiti                                       AbiHabib                           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/world/a For Some Afghan Girls a Wary Return to       By Christina Goldbaum and Kiana
2021-10-27   2021-10-28 sia/afghan-girls-school-taliban.html        School                                      Hayeri                             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/world/a Japans Communists Weak and Mild Become
2021-10-27   2021-10-28 sia/japan-election-communist-party.html     a Campaign Target                           By Ben Dooley and Hisako Ueno      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/world/a Hot Dusty Land in the Middle of Nowhere
2021-10-27   2021-10-28 ustralia/free-land.html                     The Price Is Right                          By Yan Zhuang                      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/world/c Pope Eyeing Canada Visit To Discuss          By Elisabetta Povoledo and Ian
2021-10-27   2021-10-28 anada/pope-indigenous-apology.html          School Abuses                               Austen                             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/world/e Viktor Bryukhanov Chernobyl Manager
2021-10-27   2021-10-28 urope/viktor-bryukhanov-dead.html           Blamed for Disaster Dies at 85              By Sam Roberts                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/world/
2021-10-27   2021-10-28 middleeast/iran-nuclear-talks.html          Iran to Rejoin Nuclear Talks Official Says By Vivian Yee                       TX 9-103-504   2021-12-01




                                                                                Page 2929 of 5793
                        https://www.nytimes.com/2021/10/27/world/ Israel Advances Expansion Plan for
2021-10-27   2021-10-28 middleeast/israel-settlements-west-bank.html Settlements in First for Bennett Era           By Patrick Kingsley     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/article/transgender- Texas Bill Is the Latest to Place Restrictions
2021-10-27   2021-10-28 athlete-ban.html                             on Transgender Athletes                        By David W Chen         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/live/2021/10/26/wo
                        rld/covid-vaccine-boosters/brazil-bolsonaro- Brazil Panel Urges Charges For Bolsonaro in
2021-10-27   2021-10-28 criminal-charges                             Pandemic                                       By Jack Nicas           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/sports/b
                        aseball/astros-braves-world-series-game-     Dinks and Miscues Help the Astros Stop An
2021-10-28   2021-10-28 2.html                                       Unwanted Streak                                By David Waldstein      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/theater/
2021-10-28   2021-10-28 caroline-or-change-review.html               History And Heartbreak                         By Jesse Green          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/polit
                        ics/democrats-reconciliation-bill-           Running Short of Time Democrats Grasp for a
2021-10-28   2021-10-28 negotiations.html                            Deal on Bidens Agenda                          By Emily Cochrane       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/us/polit
                        ics/merrick-garland-justice-department-
2021-10-28   2021-10-28 schools-memo.html                            Garland Is Assailed For Memo On Schools        By Katie Benner         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/busines
                        s/energy-environment/electric-grid-overload- Outdated Power Grid Hampers Move to a
2021-10-28   2021-10-28 solar-ev.html                                Clean Energy Future                            By Ivan Penn            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/insider/
2021-10-28   2021-10-28 jia-lynn-yang-national-editor.html           Covering This Big Messy Country                By Alex Traub           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/style/di
2021-10-28   2021-10-28 saster-prep-kits.html                        Awaiting the End of the World in Style         By Whitney Bauck        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/style/do
2021-10-28   2021-10-28 you-believe-in-ghosts.html                   Ghosts Zombies and Spirits Are You In          By Anna P Kambhampaty   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/us/mich Harvard Progressive Makes a Play for Power
2021-10-28   2021-10-28 elle-wu-boston-election.html                 as Bostons Mayor                               By Ellen Barry          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/19/movies/
2021-10-19   2021-10-29 women-is-losers-review.html                  Women Is Losers                                By Concepcin de Len     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/22/climate Geert Jan van Oldenborgh 59 Linked Weather
2021-10-22   2021-10-29 /geert-jan-van-oldenborgh-dead.html          Disasters to Climate Change                    By Henry Fountain       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/24/sports/f Paul Salata 94 Who Put the Irrelevant Of the
2021-10-24   2021-10-29 ootball/paul-salata-dead.html                NFL Draft on a Quirky Pedestal                 By Ken Belson           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/movies/
2021-10-25   2021-10-29 raw-monogamy-offbeat-streaming.html          The Good the Not Bad and the Gory              By Jason Bailey         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/arts/tele
                        vision/review-colin-in-black-and-white-
2021-10-27   2021-10-29 netflix.html                                 His Life Before He Took A Knee                 By James Poniewozik     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/books/a
                        bdulrazak-gurnah-nobel-prize-literature-     Even Nobel Winners Face SupplyChain
2021-10-27   2021-10-29 afterlives.html                              Problems                                       By Alexandra Alter      TX 9-103-504   2021-12-01




                                                                                Page 2930 of 5793
                        https://www.nytimes.com/2021/10/27/movies/
2021-10-27   2021-10-29 hypnotic-review.html                         The Doctor Will Deceive You Now           By Lena Wilson                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/opinion
2021-10-27   2021-10-29 /trump-biden-virginia-youngkin.html          Virginia Is Making Democrats Nervous      By Michelle Cottle                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/science Mihaly Csikszentmihalyi 87 Psychologist and
2021-10-27   2021-10-29 /mihaly-csikszentmihalyi-dead.html           Father of Flow Dies                       By Clay Risen                      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/world/a What Lies Behind Chinas Zealous Push for
2021-10-28   2021-10-29 sia/china-zero-covid-virus.html              Zero Covid                                By Vivian Wang                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/arts/des Benins Looted Treasures Begin Return From By Farah Nayeri and Norimitsu
2021-10-28   2021-10-29 ign/france-benin-restitution.html            France                                    Onishi                             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/arts/des
                        ign/kandis-williams-ebony-haynes-52-                                                   By Siddhartha Mitter and Siobhan
2021-10-28   2021-10-29 walker.html                                  An Artist Who Draws Connections           Burke                              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/arts/des
2021-10-28   2021-10-29 ign/tribeca-art-galleries.html               TriBeCa Gallery Guide                     By Will Heinrich                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/arts/mu Delivering Barnstormers Of the Bel Canto
2021-10-28   2021-10-29 sic/rossini-opera-brownlee-spyres.html       Repertory                                 By Zachary Woolfe                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/arts/tele
                        vision/doctor-who-season-13-swagger-
2021-10-28   2021-10-29 apple.html                                   This Weekend I Have                       By Alexis Soloski                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/books/n
2021-10-28   2021-10-29 ovember-2021-books.html                      It Looks Like No Turkeys Lurk Here        By Joumana Khatib                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/busines Amazons Sales Growth Cools Down as Costs
2021-10-28   2021-10-29 s/amazon-stock.html                          Climb                                     By Karen Weise                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/busines                                             By Nicholas Kulish Ephrat Livni
2021-10-28   2021-10-29 s/america-billionaires.html                  Billionaires Of America Are Thriving      and Emma Goldberg                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/busines Virus Surge And Delays For Supplies Slow
2021-10-28   2021-10-29 s/economy/us-3q-gdp-report.html              Growth                                    By Ben Casselman                   TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/28/busines China Hurries to Burn More Coal Putting
2021-10-28   2021-10-29 s/energy-environment/china-coal-climate.html Climate Goals at Risk                       By Keith Bradsher                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/busines
2021-10-28   2021-10-29 s/european-central-bank-inflation.html       European Central Bank to Keep Policy Steady By Eshe Nelson                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/busines
                        s/media/alec-baldwin-shooting-rust-          Producers Under Scrutiny After Shooting on By Brooks Barnes and Nicole
2021-10-28   2021-10-29 producers.html                               Film Set                                    Sperling                         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/busines
                        s/media/tucker-carlson-geraldo-rivera-       Carlson Draws Criticism For Series on
2021-10-28   2021-10-29 fox.html                                     Capitol Riot                                By Michael M Grynbaum            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/busines Activist Investor Wants Shell to Be Broken
2021-10-28   2021-10-29 s/third-point-shell-breakup.html             Up                                          By Stanley Reed                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/climate Climate Projects Are Top Priorities in
2021-10-28   2021-10-29 /climate-change-framework-bill.html          Spending Bill                               By Coral Davenport               TX 9-103-504   2021-12-01




                                                                               Page 2931 of 5793
                        https://www.nytimes.com/2021/10/28/climate
                        /oil-executives-house-disinformation-       Big Oils Role in Climate Distortion       By Hiroko Tabuchi and Lisa
2021-10-28   2021-10-29 testimony.html                              Scrutinized                               Friedman                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/health/c Has the Virus Infected Large Numbers of
2021-10-28   2021-10-29 ovid-vaccine-children.html                  Younger Children                          By Apoorva Mandavilli        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 a-mouthful-of-air-review.html               A Mouthful of Air                         By Natalia Winkelman         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 antlers-review.html                         Life Here Can Be a Real Beast             By Amy Nicholson             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 army-of-thieves-review.html                 Army of Thieves                           By Calum Marsh               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 attica-review.html                          Attica                                    By Ben Kenigsberg            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 bulletproof-review.html                     Bulletproof                               By Teo Bugbee                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
                        chess-of-the-wind-review-a-remnant-of-an-
2021-10-28   2021-10-29 iran-that-used-to-be.html                   Chess of the Wind                         By Glenn Kenny               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 cicada-review.html                          Cicada                                    By Kyle Turner               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/ George Butler 78 Documentarian Of
2021-10-28   2021-10-29 george-butler-dead.html                     Bodybuilding Subculture Dies              By Richard Sandomir          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 how-they-got-over-review.html               How They Got Over                         By Lisa Kennedy              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 joy-ride-review.html                        Joy Ride                                  By Nicolas Rapold            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 last-night-in-soho-review.html              A Psychic Bond in Swinging Seedy London   By Jeannette Catsoulis       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
                        my-hero-academia-world-heroes-mission-
2021-10-28   2021-10-29 review.html                                 My Hero Academia World Heroes Mission     By Maya Phillips             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 only-the-animals-review.html                A Missing Woman in a Cruel World          By Manohla Dargis            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 roh-review.html                             Roh                                       By Beatrice Loayza           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 snakehead-review.html                       Snakehead                                 By Beandrea July             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 speer-goes-to-hollywood-review.html         Speer Goes To Hollywood                   By Beatrice Loayza           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 the-souvenir-part-ii-review.html            Trying to Dream Herself Into Being        By Manohla Dargis            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 the-spine-of-night-review.html              The Spine of Night                        By Glenn Kenny               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-29 violet-review.html                          Answering the Bully in Her Head           By Jeannette Catsoulis       TX 9-103-504   2021-12-01



                                                                              Page 2932 of 5793
                        https://www.nytimes.com/2021/10/28/nyregio CoWorking Spaces Set Their Sights on
2021-10-28   2021-10-29 n/co-working-space-suburbs.html            Suburbs                                     By Nicole Hong and Matthew Haag TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/28/nyregio Cuomo Charged Over Allegation He Groped     By Luis FerrSadurn and Jonah E
2021-10-28   2021-10-29 n/cuomo-forcible-touching-complaint.html   Aide                                        Bromwich                        TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/28/nyregio With Transparency Initiative Hochul         By Grace Ashford and Luis
2021-10-28   2021-10-29 n/hochul-conflict-of-interest.html         Acknowledges Conflict                       FerrSadurn                      TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/28/nyregio
                        n/jumaane-williams-public-advocate-        Hes Running for One Office With an Eye on
2021-10-28   2021-10-29 governor.html                              Another                                     By Jeffery C Mays                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/nyregio As Bail Reform Emerges as Key Issue
2021-10-28   2021-10-29 n/nassau-da-kaminsky-donnelly.html         Suburban Prosecutors Race Tightens          By Luis FerrSadurn                TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/28/nyregio Officials in New York City Brace for Worker By Sharon Otterman Emma G
2021-10-28   2021-10-29 n/nyc-police-vaccine-mandate.html          Shortage As Vaccine Deadline Nears          Fitzsimmons and Troy Closson      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/opinion
2021-10-28   2021-10-29 /bolsonaro-brazil-report.html              We Knew Bolsonaro Was Guilty                By Vanessa Barbara                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/opinion
2021-10-28   2021-10-29 /climate-change-biden-spending.html        Bidens 35 Trillion Was Peanuts              By Abrahm Lustgarten              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/opinion
2021-10-28   2021-10-29 /republicans-vaccines.html                 Cowards Not Crazies Are Destroying Us       By Paul Krugman                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/opinion
2021-10-28   2021-10-29 /school-culture-wars.html                  The SelfIsolation of the American Left      By David Brooks                   TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/28/sports/b A Team in the World Series Found a Secret
2021-10-28   2021-10-29 aseball/atlanta-ice-cream-world-series.html Sauce Its Sugary                               By James Wagner               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/sports/b
2021-10-28   2021-10-29 aseball/atlanta-world-series.html           In Atlanta Its Us Against the World            By Tyler Kepner               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/sports/o Chinas Woeful Hockey Team May Lose Its
2021-10-28   2021-10-29 lympics/china-olympics-hockey.html          Place in Games                                 By Tariq Panja                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/technol Clearview AI Performs Well In ThirdParty
2021-10-28   2021-10-29 ogy/clearview-ai-test.html                  Accuracy Test                                  By Kashmir Hill               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/technol
2021-10-28   2021-10-29 ogy/facebook-meta-name-change.html          Is Meta Really Betta                           By Mike Isaac                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/upshot/ Millionaires Were Stuck With the Tab for
2021-10-28   2021-10-29 biden-taxes-billionaires-millionaires.html  Bidens Spending Bill                           By Neil Irwin                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/us/charl Trial Begins in Suit Over 2017 Charlottesville
2021-10-28   2021-10-29 ottesville-trial.html                       Violence                                       By Neil MacFarquhar           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/us/dyla Justice Dept To Pay Victims Of Massacre 88 By Christine Hauser and Isabella
2021-10-28   2021-10-29 nn-roof-settlement-families.html            Million                                        Grulln Paz                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/us/hasti
2021-10-28   2021-10-29 ngs-college-native-massacres.html           Reporting From a Haunted Land                  By Thomas Fuller              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/us/polit President Offers Compromise Plan to Speed By Jonathan Weisman and Emily
2021-10-28   2021-10-29 ics/biden-framework-bill-plan.html          Agenda                                         Cochrane                      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/us/polit
2021-10-28   2021-10-29 ics/biden-tax-plan-increases.html           New Tax Increases                              By Alan Rappeport             TX 9-103-504   2021-12-01



                                                                               Page 2933 of 5793
                        https://www.nytimes.com/2021/10/28/us/polit Presidents Gamble Comes With Grim          By Michael D Shear and Jim
2021-10-28   2021-10-29 ics/infrastructure-bill-spending-plan.html  Warning                                    Tankersley                        TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/28/us/polit A 185 Trillion Framework for Economic      By Jim Tankersley and Zolan
2021-10-28   2021-10-29 ics/spending-plan-bill-biden.html           Programs                                   KannoYoungs                       TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/28/us/polit Court Allows 2 Executions In Oklahoma To
2021-10-28   2021-10-29 ics/supreme-court-oklahoma-executions.html Go Ahead                                        By Adam Liptak                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/world/a How Rural Towns Keep Japan on a                 By Motoko Rich Makiko Inoue and
2021-10-28   2021-10-29 sia/japan-election-rural-urban.html            Conservative Track                          Hikari Hida                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/world/e Statue Symbolizes Citys Resilience After
2021-10-28   2021-10-29 urope/brescia-italy-winged-victory.html        Pandemics Ravages                           By Elisabetta Povoledo          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/world/e US Conciliatory May Offer More Than             By Roger Cohen and Helene
2021-10-28   2021-10-29 urope/france-biden-macron-g20.html             Words to France                             Cooper                          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/world/e Biden and Francis Share Polarizing Challenge
2021-10-28   2021-10-29 urope/pope-biden-catholic-church-rift.html     Churchs Conservatives                       By Jason Horowitz               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/world/ Saudi Official Oddly Absent From Forum
2021-10-28   2021-10-29 middleeast/saudi-investment-covid.html         Hed Oversee                                 By Kate Kelly                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/article/kyle-          Trial to Begin for Teenager Who Shot 3 Amid
2021-10-28   2021-10-29 rittenhouse-trial.html                         Protests                                    By Julie Bosman                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/live/2021/10/28/bus
                        iness/news-business-stock-market/apple-        Apple Reports Revenue Rise Despite Supply
2021-10-28   2021-10-29 earnings-iphone                                Chain Woes                                  By Kellen Browning              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/sports/f Goodells Pay for the Last Two Years A Cool
2021-10-29   2021-10-29 ootball/roger-goodell-salary-nfl.html          128 Million                                 By Ken Belson                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/us/polit Families Separated by Trump Policy Could
2021-10-29   2021-10-29 ics/trump-family-separation-border.html        Get Compensatory Payments                   By Miriam Jordan                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/sports/b After an AllStar Game Snub a Region Gets Its
2021-10-29   2021-10-29 aseball/atlanta-hank-aaron-tribute.html        Chance to Honor Aaron                       By David Waldstein              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/sports/b League Equivocates As Atlanta Holds On To
2021-10-29   2021-10-29 aseball/tomahawk-chop-rob-manfred.html         Racist Caricatures                          By Kurt Streeter                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/min Minneapolis Voters Hold Future Of Police
2021-10-29   2021-10-29 neapolis-police-ballot-measure.html            Dept in Their Hands                         By Mitch Smith and Tim Arango TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/29/us/polit Biden Visits Europe Where His America Is       By Katie Rogers and Jim
2021-10-29   2021-10-29 ics/biden-g20-summit.html                      Back Vow Faces Test                         Tankersley                      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/opinion
2021-10-27   2021-10-30 /halloween-kids-movies-tv.html                 In Defense of Inappropriate Movies          By Jessica Grose                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/arts/des
                        ign/authorities-return-248-looted-antiquities-
2021-10-28   2021-10-30 to-india.html                                  Antiquities Go Back To India                By Tom Mashberg                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/arts/tele Val Bisoglio 95 Actor With Everymanish
2021-10-28   2021-10-30 vision/val-bisoglio-dead.html                  Face On Popular Shows Dies                  By Neil Genzlinger              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/movies/
2021-10-28   2021-10-30 french-dispatch-paris.html                     Wes Andersons Dream of France               By Roger Cohen                  TX 9-103-504   2021-12-01




                                                                                Page 2934 of 5793
                        https://www.nytimes.com/2021/10/28/opinion Vaccine Policy Should Consider Hybrid
2021-10-28   2021-10-30 /covid-vaccine-hybrid-natural-immunity.html Immunity                                    By Charlotte Thlin            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/opinion The Rights Big Lie About a Sexual Assault in
2021-10-28   2021-10-30 /loudoun-county-trans.html                   Virginia                                   By Michelle Goldberg          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/busines One Mistake Shows YouTubes Power Over
2021-10-28   2021-10-30 s/youtube-novara.html                        the Press                                  By Adam Satariano             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/article/mississippi- Lawsuit From Mississippi Is More Direct
2021-10-28   2021-10-30 abortion-law.html                            Challenge To Roe v Wade Precedent          By Adeel Hassan               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/us/polit For First Time in Public ExDetainee
2021-10-29   2021-10-30 ics/guantanamo-detainee-torture.html         Describes Torture at CIAs Hands            By Carol Rosenberg            TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/29/arts/dan
2021-10-29   2021-10-30 ce/review-madeline-hollander-performa.html Choreographic Skeletons From a Lost Time By Gia Kourlas                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/arts/des
2021-10-29   2021-10-30 ign/stanley-whitney-lisson-gallery.html     Stanley Whitney Dances With Matisse         By Hilarie M Sheets           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/arts/mu
2021-10-29   2021-10-30 sic/ed-sheeran-equals-review.html           A Pop Mathematician Is Up to His Old Tricks By Lindsay Zoladz             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/arts/mu Rose Lee Maphis 98 Early Star of Country
2021-10-29   2021-10-30 sic/rose-lee-maphis-dead.html               Music TV                                    By Bill FriskicsWarren        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/arts/nep Citizen Activists Lead the Hunt For Looted
2021-10-29   2021-10-30 al-looted-antiquities-citizens.html         Art                                         By Zachary Small              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/busines As Pay Surges the Feds Favorite Inflation
2021-10-29   2021-10-30 s/economy/september-pce-inflation.html      Index Remains at a 30Year High              By Jeanna Smialek             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/busines Rising Prices Offset Growth And Recovery In
2021-10-29   2021-10-30 s/eurozone-economy-inflation.html           the Eurozone                                By Eshe Nelson                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/busines                                              By Liz Alderman and Eirini
2021-10-29   2021-10-30 s/greece-green-energy-climate-eu.html       A Sea Change in Energy for Greece           Vourloumis                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/busines
2021-10-29   2021-10-30 s/stock-market-record.html                  SampP Has Biggest Monthly Gain of Year      By Coral Murphy Marcos        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/busines                                              By Matthew Goldstein Lauren
2021-10-29   2021-10-30 s/trump-spac-digital-world.html             Trump Deal May Have Skirted Law             Hirsch and David Enrich       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/climate                                              By Melissa Eddy and Somini
2021-10-29   2021-10-30 /europe-energy-crisis-cop.html              EU Reliance On Gas Hurts Climate Goals      Sengupta                      TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/29/fashion
2021-10-29   2021-10-30 /craftsmanship-custom-shoe-lasts-britain.html First step in making a shoe The last        By Susanne Fowler           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/fashion
                        /craftsmanship-lincoln-kayiwa-helsinki-
2021-10-29   2021-10-30 finland.html                                  From Uganda to Finland                      By Penelope Colston         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/fashion
2021-10-29   2021-10-30 /craftsmanship-patchwork-quilts.html          Piecing together a style craze              By Melanie Abrams           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/fashion
2021-10-29   2021-10-30 /craftsmanship-seoul-palace-pavilion.html     Restoring a royal pavilion piece by piece   By David Belcher            TX 9-103-504   2021-12-01




                                                                                   Page 2935 of 5793
                        https://www.nytimes.com/2021/10/29/fashion
                        /craftsmanship-sonia-ahmimou-handbags-
2021-10-29   2021-10-30 paris.html                                   Falling early for craftsmanship         By Tina IsaacGoiz                TX 9-103-504          2021-12-01
                        https://www.nytimes.com/2021/10/29/fashion
                        /jewelry-faberge-victoria-albert-exhibition-
2021-10-29   2021-10-30 london.html                                  Faberg in Britain                       By Milena Lazazzera              TX 9-103-504          2021-12-01
                        https://www.nytimes.com/2021/10/29/movies/
2021-10-29   2021-10-30 antlers-folk-horror-movies.html              Old Scares Are Back in Style            By Erik Piepenburg               TX 9-103-504          2021-12-01
                        https://www.nytimes.com/2021/10/29/movies/ Rust Armorer Has No Idea How Set Got Live
2021-10-29   2021-10-30 hannah-gutierrez-reed-rust-armorer.html      Rounds                                  By Julia Jacobs and Simon Romero TX 9-103-504          2021-12-01

                        https://www.nytimes.com/2021/10/29/movies/
2021-10-29   2021-10-30 paranormal-activity-next-of-kin-review.html Too Many Cameras Few Chills                     By Ben Kenigsberg                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/nyregio                                                  By Luis FerrSadurn Grace Ashford
2021-10-29   2021-10-30 n/cuomo-charged-brittany-commisso.html      Sheriffs Move Against Cuomo Surprised DA        and Jonah E Bromwich             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/nyregio Rapper Pleads Not Guilty to Drug Charges
2021-10-29   2021-10-30 n/fetty-wap-rolling-loud-arrest.html        After Arrest at Citi Field                      By Karen Zraick                 TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/29/nyregio James Announces Bid for Governor Setting
2021-10-29   2021-10-30 n/letitia-james-governor.html               Up Primary in New York                          By Katie Glueck                 TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/29/opinion To Solve Our Supply Chain Crisis Rethink
2021-10-29   2021-10-30 /hawley-supply-chain-trade-policy.html      Trade                                           By Josh Hawley                  TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/29/opinion
2021-10-29   2021-10-30 /sudan-coup-military.html                   This Is How to Stop the Coup in Sudan           By Killian Clarke and Mai Hassan TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/sports/a
2021-10-29   2021-10-30 utoracing/max-verstappen-f1.html            Max Verstappen sees no reason to worry          By Ian Parkes                   TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/29/sports/a
2021-10-29   2021-10-30 utoracing/miami-formula-1-race.html         Miami gets its chance at the racing spotlight   By Phillip Horton               TX 9-103-504    2021-12-01

                        https://www.nytimes.com/2021/10/29/sports/a
2021-10-29   2021-10-30 utoracing/sebastian-vettel-better-world.html A goal of more than just winning           By Ian Parkes                       TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/29/sports/b Hes on the Bench But in His Head Hes in the
2021-10-29   2021-10-30 aseball/ronald-acuna-world-series.html       Game                                       By James Wagner                     TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/29/sports/b
                        asketball/kevin-garnett-showtime-            Garnett Talks About His Acting Player
2021-10-29   2021-10-30 documentary.html                             Activism and More                          By Sopan Deb                        TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/29/sports/c Shooting at a Big Goal in the Krakens New By Ken Belson and Lindsey
2021-10-29   2021-10-30 limate-pledge-arena-seattle.html             Home                                       Wasson                              TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/29/sports/g Norman Joins New Group Taking Aim at
2021-10-29   2021-10-30 olf/greg-norman-pga-saudi-arabia.html        PGA Tour With Funds From Saudis            By Bill Pennington                  TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/29/sports/h The NHL Is Being Forced to Confront the
2021-10-29   2021-10-30 ockey/blackhawks-scandal.html                Problems in Its Culture                    By Kevin Draper                     TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/29/technol
2021-10-29   2021-10-30 ogy/apple-polishing-cloth.html               A 19 Cloth A MustBuy And a Meme            By Daisuke Wakabayashi              TX 9-103-504    2021-12-01
                        https://www.nytimes.com/2021/10/29/technol Amid RealWorld Problems Facebook Escapes
2021-10-29   2021-10-30 ogy/meta-facebook-zuckerberg.html            to Virtual Reality                         By Kevin Roose                      TX 9-103-504    2021-12-01



                                                                                  Page 2936 of 5793
                        https://www.nytimes.com/2021/10/29/theater/ Kristina Wongs Story Sewing With Her
2021-10-29   2021-10-30 kristina-wong-masks.html                    Aunties                                      By Sarah Bahr                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/upshot/ Slashed Biden Plan Still Has Significant Help
2021-10-29   2021-10-30 democrats-preschool-child-care.html         for Parents of Young Children                By Claire Cain Miller             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/flori Florida Bars Professors From Testifying As
2021-10-29   2021-10-30 da-professors-voting-rights-lawsuit.html    Expert Witnesses in Voting Case              By Michael Wines                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/okla Facing Questions Oklahoma Vows to Keep
2021-10-29   2021-10-30 homa-execution-lethal-injection.html        Lethal Injection                             By Nicholas BogelBurroughs        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/polit Trump Critic In Illinois Will Not Seek
2021-10-29   2021-10-30 ics/adam-kinzinger-illinois-election.html   Another Term                                 By Reid J Epstein                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/polit
                        ics/andreessen-horowitz-lobbying-           One Firms Bold Push to Dominate Crypto       By Eric Lipton Daisuke
2021-10-29   2021-10-30 cryptocurrency.html                         World                                        Wakabayashi and Ephrat Livni      TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/29/us/polit Origin of the Coronavirus Is Likely to Remain
2021-10-29   2021-10-30 ics/coronavirus-origin-intelligence-report.html Murky                                     By Julian E Barnes               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/polit First Coronavirus Shot For Young Children Is By Noah Weiland and Sharon
2021-10-29   2021-10-30 ics/covid-vaccine-children.html                 Approved by FDA                           LaFraniere                       TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/29/us/polit Supreme Court to Hear Case on the EPAs
2021-10-29   2021-10-30 ics/epa-carbon-emissions-supreme-court.html Power to Limit Carbon Emissions               By Adam Liptak                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/polit
                        ics/glenn-youngkin-virginia-governors-      Running in Virginia Youngkin Shifted Tone
2021-10-29   2021-10-30 race.html                                   With Hard Right Turn                          By Jeremy W Peters               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/polit Democrats Focus on Unused Green Cards to By Zolan KannoYoungs and Luke
2021-10-29   2021-10-30 ics/immigration-green-cards-visas.html      Reform Legal Immigration                      Broadwater                       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/polit Biden Is Again Seeking to End Remain in
2021-10-29   2021-10-30 ics/immigration-remain-mexico.html          Mexico Policy                                 By Eileen Sullivan               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/polit Supreme Court Wont Block Vaccine Mandate
2021-10-29   2021-10-30 ics/maine-coronavirus-vaccine.html          in Maine for Health Care Workers              By Adam Liptak                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/polit Justice Dept Revives Office Offering Access
2021-10-29   2021-10-30 ics/office-access-justice-legal-aid.html    to Legal Aid                                  By Katie Benner                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/polit Democrats See Tight Race Despite Shifts in
2021-10-29   2021-10-30 ics/richmond-virginia-elections.html        Richmond and Suburbs                          By Trip Gabriel                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/walt Philadelphia Settles Suit In Shooting Of Black
2021-10-29   2021-10-30 er-wallace-jr-settlement.html               Man                                           By Johnny Diaz                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/world/a Back to Square One Tracking Sudans Drift       By Abdi Latif Dahir and Declan
2021-10-29   2021-10-30 frica/sudan-coup-general.html               Back to Military Rule                         Walsh                            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/world/a Hurdles in Australia Britain and the US
2021-10-29   2021-10-30 ustralia/nuclear-powered-submarines.html    Imperil Submarine Deal                        By Chris Buckley                 TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/29/world/e UK Court Hears Appeal Over Assange
2021-10-29   2021-10-30 urope/appeal-julian-assange-extradition.html Extradition                             By Megan Specia                       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/world/e Meeting Macron Biden Endeavors To Rebuild By Katie Rogers and Jason
2021-10-29   2021-10-30 urope/biden-g20.html                         Ties                                    Horowitz                              TX 9-103-504   2021-12-01



                                                                                Page 2937 of 5793
                        https://www.nytimes.com/2021/10/29/world/e Desk Duty Zoom Meetings Beyond That
2021-10-29   2021-10-30 urope/queen-elizabeth-2-weeks-rest.html     Doctors Advise Rest for Queen Elizabeth     By Mark Landler                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/world/e UK Drops Last 7 Countries From a Restricted
2021-10-29   2021-10-30 urope/uk-covid-travel-red-list.html         Travel List                                 By Aina J Khan                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/your-
2021-10-29   2021-10-30 money/credit-card-debt-stress-health.html   Debt That Might Be Hurting Your Body        By Ann Carrns                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/your- Heres a Hot Stock Tip Invest More Like a
2021-10-29   2021-10-30 money/women-investing-stocks.html           Woman                                       By Ron Lieber                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/article/day-of-the- Far Cry From Halloween Mexicos Day of the
2021-10-29   2021-10-30 dead-mexico.html                            Dead Is a Time of Sweet Sorrow              By Oscar Lopez                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/sports/b
                        aseball/braves-astros-world-series-game-
2021-10-30   2021-10-30 3.html                                      Atlanta Flirts With NoNo and Takes Lead     By Alan Blinder                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/sports/b At World Series Atlanta Finally Pays Homage
2021-10-30   2021-10-30 aseball/hank-aaron-tribute.html             In Year of Hank Aaron                       By David Waldstein                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/nyregio Sliwa Still in That Red Beret Returns to New By Michael Rothfeld and Emma G
2021-10-30   2021-10-30 n/curtis-sliwa-nyc-mayor.html               York Spotlight                              Fitzsimmons                       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/08/17/books/r
                        eview/two-way-mirror-fiona-sampson-
2021-08-17   2021-10-31 elizabeth-barrett-browning.html             Poet of Everyday Life                       By John Plotz                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/09/04/books/r
                        eview/the-antisocial-network-by-ben-
2021-09-04   2021-10-31 mezrich.html                                This Is Not a Game                          By Giri Nathan                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/09/07/books/r
2021-09-07   2021-10-31 eview/fault-lines-emily-itami.html          Love in Bloom                               By Amanda Eyre Ward               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/09/14/books/r
2021-09-14   2021-10-31 eview/fuzz-mary-roach.html                  Wild World                                  By Vicki Constantine Croke        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/09/15/arts/mi A Times Photographers Conversation With      By Michelle V Agins and Charlie
2021-09-15   2021-10-31 chelle-agins-photoville-photography.html    the World                                   BrinkhurstCuff                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/09/21/books/r
2021-09-21   2021-10-31 eview/anne-marie-slaughter-renewal.html     A Painful Lesson                            By Emily Yoffe                    TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/09/28/books/r
2021-09-28   2021-10-31 eview/karl-ove-knausgaard-morning-star.html Touch of Evil                             By Heidi Julavits                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/09/29/books/r
                        eview/how-the-animal-world-is-adapting-to-
2021-09-29   2021-10-31 climate-change.html                         Adaptation                                By Jonathan Balcombe                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/01/books/r
                        eview/black-girls-must-die-exhausted-jayne-
2021-10-01   2021-10-31 allen.html                                  Reporting Live                            By Sandra E Garcia                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/03/books/r
2021-10-03   2021-10-31 eview/rationality-steven-pinker.html        Clear Thinking                            By Anthony Gottlieb                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/05/books/r
                        eview/elisa-victoria-charlotte-whittle-
2021-10-05   2021-10-31 oldladyvoice.html                           Wise Beyond Her Years                     By Camille Bordas                   TX 9-103-504   2021-12-01



                                                                               Page 2938 of 5793
                        https://www.nytimes.com/2021/10/05/books/r
                        eview/i-love-you-but-ive-chosen-darkness-
2021-10-05   2021-10-31 claire-vaye-watkins.html                      Hot Mess                                    By Cree LeFavour                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/07/books/r
                        eview/esi-edugyan-out-of-the-sun-on-race-and
2021-10-07   2021-10-31 storytelling.html                             Black Lives                                 By Antwaun Sargent                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/12/books/r
                        eview/freedom-literary-expression-henry-louis
2021-10-12   2021-10-31 gates.html                                    The Republic of Letters Needs Open Borders By Henry Louis Gates Jr            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/21/books/r Dave Grohl Has Some Writing Advice You
2021-10-21   2021-10-31 eview/the-storyteller-dave-grohl.html         Need to Hear                                By Elisabeth Egan                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/23/books/r
                        eview/read-until-you-understand-farah-
2021-10-23   2021-10-31 jasmine-griffin.html                          Operating Instructions                      By Monica Drake                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/books/n
2021-10-25   2021-10-31 ew-horror-books.html                          The Horror                                  By Danielle Trussoni              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/25/realesta
2021-10-25   2021-10-31 te/renters-east-village.html                  Stars Align For Artists Downtown            By DW Gibson                      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/interactive/2021/10/ David Sedaris Knows What Youll Laugh at
2021-10-25   2021-10-31 25/magazine/david-sedaris-interview.html      When No One Is Judging                      By David Marchese                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/arts/hau
2021-10-26   2021-10-31 nted-house-actors-halloween.html              Leaping Out to Go Boo Is Only the Beginning By Alexis Soloski and Erik Tanner TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/arts/tele
                        vision/tavi-gevinson-gossip-girl-
2021-10-26   2021-10-31 assassins.html                                Tavi Gevinson Gives a Book 30 Pages         By Juan A Ramrez                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/magazi The Son My Sister Placed For Adoption
2021-10-26   2021-10-31 ne/adoption-confidentiality-ethics.html       Wants to Find Her What Should I Do          By Kwame Anthony Appiah           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/magazi
2021-10-26   2021-10-31 ne/goosebumps.html                            Goosebumps                                  By Madelyne Xiao                  TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/26/magazi
2021-10-26   2021-10-31 ne/kyle-rittenhouse-kenosha-wisconsin.html Made in America By Charles Homans            By Charles Homans                 TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/26/magazi
2021-10-26   2021-10-31 ne/remember-what-your-doctor-says.html     How to Remember What Your Doctor Says        By Malia Wollan                   TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/26/opinion
2021-10-26   2021-10-31 /climate-change-divestment-fossil-fuels.html Draining Money From Fossil Fuels           By Bill McKibben                  TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/26/opinion
2021-10-26   2021-10-31 /evangelical-republican.html                 Becoming Evangelical                       By Ryan Burge                     TX 9-103-504     2021-12-01

                        https://www.nytimes.com/2021/10/26/realesta She Moved In and a Bachelor Pad Got a
2021-10-26   2021-10-31 te/apartment-decorating-charlotte-moore.html Serious Upgrade                            By Joanne Kaufman                 TX 9-103-504     2021-12-01
                        https://www.nytimes.com/2021/10/27/arts/mu
2021-10-27   2021-10-31 sic/abba-fans.html                           Theyve Never Stopped Loving the Songs      By Jeremy Gordon                  TX 9-103-504     2021-12-01




                                                                                Page 2939 of 5793
                        https://www.nytimes.com/2021/10/27/arts/mu
2021-10-27   2021-10-31 sic/abba-reunion-voyage.html                 Abba Takes a Chance With Its Legacy         By Elisabeth Vincentelli     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/fashion Gone Forever but Still a Presence at the
2021-10-27   2021-10-31 /weddings/wedding-tributes-deceased.html     Wedding                                     By Jenny Block               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/magazi
2021-10-27   2021-10-31 ne/motorcycles-sturgis.html                  Uneasy RIder                                By Jamie Lauren Keiles       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/magazi
2021-10-27   2021-10-31 ne/party-wreath-recipe.html                  Dinner for 10 Make This Party Wreath        By Tejal Rao                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/magazi
2021-10-27   2021-10-31 ne/social-media-mental-health.html           Social Service                              By Amanda Hess               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/movies/
2021-10-27   2021-10-31 edgar-wright-last-night-in-soho.html         Exploring the Trap of 1960s Nostalgia       By Dave Itzkoff              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/realesta A MixedIncome River Town but a View Will
2021-10-27   2021-10-31 te/dobbs-ferry-ny.html                       Cost You                                    By Susan Hodara              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/realesta
                        te/home-prices-new-york-california-and-
2021-10-27   2021-10-31 wyoming.html                                 3 Million                                   By Angela Serratore          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/realesta
                        te/house-hunting-in-canada-a-restored-19th- A Farmhouse in Quebec From the 19th
2021-10-27   2021-10-31 century-farmhouse-in-quebec.html             Century                                     By Michael Kaminer           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/t-
                        magazine/peter-halley-design-art-            A Life in Objects What Fills One Artists
2021-10-27   2021-10-31 collection.html                              Memory Palace                               By Alice NewellHanson        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/27/theater/                                              By Laura Zornosa and Malik
2021-10-27   2021-10-31 lackawanna-blues-broadway.html               The Steel Town At a Plays Heart             Rainey                       TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/arts/des
2021-10-28   2021-10-31 ign/guild-gallery-ceramics.html              Journey to a Center of the Earth            By Ted Loos                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/arts/mu
                        sic/dorny-jurowski-bavarian-state-opera-
2021-10-28   2021-10-31 munich.html                                  Leading Opera Into a New Era                By Joshua Barone             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/arts/tele
2021-10-28   2021-10-31 vision/tv-show-podcasts.html                 The Stories Behind the Shows                By Emma Dibdin               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/busines
2021-10-28   2021-10-31 s/gen-z-workplace-culture.html               The 23YearOlds Want to Run the Office       By Emma Goldberg             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/garden/
2021-10-28   2021-10-31 design-revival-movement.html                 Havent I Seen You Somewhere                 By Arlene Hirst              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/garden/
2021-10-28   2021-10-31 paris-apartment-renovation.html              In Paris a Straight Road to the Past        By Julie Lasky               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/magazi
                        ne/adult-multisystem-inflammatory-           He Had Severe Abdominal Pain and a Fever It
2021-10-28   2021-10-31 syndrome.html                                Wasnt Food Poisoning                        By Lisa Sanders MD           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/magazi
2021-10-28   2021-10-31 ne/corruption-lebanon.html                   State of Collapse                           By Rania Abouzeid            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/magazi
2021-10-28   2021-10-31 ne/family-netflix-mature-shows.html          Bonus Advice From Judge John Hodgman        By John Hodgman              TX 9-103-504   2021-12-01



                                                                                Page 2940 of 5793
                        https://www.nytimes.com/2021/10/28/magazi
                        ne/poem-if-you-want-to-make-it-to-the-                                                     By Dan Chiasson and Reginald
2021-10-28   2021-10-31 moon.html                                     Poem If you want to make it to the moon      Dwayne Betts                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/needies
                        t-cases/bolstering-education-outside-the-     Bolstering Education Outside Classrooms
2021-10-28   2021-10-31 classroom.html                                After a Pandemic School Year                 By Emma Grillo                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/nyregio
2021-10-28   2021-10-31 n/nyc-wildlife-habitats-animals.html          Native Creatures Are Loving Life in the City By Lisa M Collins              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/opinion
2021-10-28   2021-10-31 /sunday/nick-kristof-farewell.html            A Farewell to Readers With Hope              By Nicholas Kristof            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/realesta
                        te/new-york-citys-most-expensive-
2021-10-28   2021-10-31 neighborhoods.html                            Affluent Neighbors Are Found Here            By Michael Kolomatsky          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/sports/f The Dorian Gray of the NFL Takes On the
2021-10-28   2021-10-31 ootball/nfl-predictions-spread.html           Wounded Saints                               By Emmanuel Morgan             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/style/de
2021-10-28   2021-10-31 li-new-york.html                              The Rise of the Designer Deli                By Karrie Jacobs               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/style/de
2021-10-28   2021-10-31 sign-advice-tips.html                         How Low Can You Go Sofawise                  By Stephen Treffinger          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/style/de
2021-10-28   2021-10-31 sign-products-people.html                     A Panorama of Design                         By The New York Times          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/style/gr
2021-10-28   2021-10-31 egory-ain-home-los-angeles.html               Celebrating a Phoenix                        By Alexandra Lange             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/style/m
2021-10-28   2021-10-31 emphis-design-movement.html                   Memphiss Revival                             By Deyan Sudjic                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/style/pa
2021-10-28   2021-10-31 inted-woodwork-homes.html                     An Update Or a Crime                         By Eve M Kahn                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/28/style/pr
2021-10-28   2021-10-31 e-nuptial-agreement-marriage.html             Its Not Her Business                         By Philip Galanes              TX 9-103-504   2021-12-01
                                                                      When a California Pit Stop Became
                        https://www.nytimes.com/interactive/2021/10/ Permanent They Scrambled for a Place to Buy
2021-10-28   2021-10-31 28/realestate/28hunt-tuma.html                Which Home Would You Choose                  By Candace Jackson             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/arts/des
                        ign/neil-zukerman-tom-shivers-
2021-10-29   2021-10-31 apartment.html                                A SoontoVanish Surrealist World              By Susan Mulcahy               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/arts/in- The Curious Persistent Power Of a Yard Sign
2021-10-29   2021-10-31 this-house-yard-signs.html                    That Went Viral                              By Amanda Hess                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/books/r
                        eview/can-we-talk-about-israel-daniel-sokatch
                        haifa-republic-omri-boehm-twelve-tribes-
2021-10-29   2021-10-31 ethan-michaeli.html                           Israel                                       By Dov Waxman                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/books/r
2021-10-29   2021-10-31 eview/new-paperbacks.html                     Paperback Row                                By Tina Jordan                 TX 9-103-504   2021-12-01




                                                                                 Page 2941 of 5793
                        https://www.nytimes.com/2021/10/29/books/r
                        eview/sea-lions-in-the-parking-lot-lenora-
                        todaro-annika-siems-tracking-tortoises-kate-
2021-10-29   2021-10-31 messner.html                                 Wild Hope                                  By Helen Scales                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/books/r Richard Hammer Author Who Illuminated the
2021-10-29   2021-10-31 ichard-hammer-dead.html                      My Lai Massacre Dies at 93                 By Sam Roberts                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/busines Mimi Levin Lieber 93 Specialized in Focus
2021-10-29   2021-10-31 s/mimi-levin-lieber-dead.html                Groups                                     By Clay Risen                      TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/busines
2021-10-29   2021-10-31 s/nascar-next-gen-car.html                   NASCAR Nation Wants to Open the Door       By Roy Furchgott                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/busines                                              By Julia Rothman and Shaina
2021-10-29   2021-10-31 s/supply-chain-trucks.html                   The Truck Stops Here                       Feinberg                           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/nyregio
2021-10-29   2021-10-31 n/anti-vaccine-protests.html                 A Harmony of Dissenting Voices             By Ginia Bellafante                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/nyregio
2021-10-29   2021-10-31 n/brooklyn-school-mural-diversity.html       Controversy Erupts Over a Mural            By Kimiko de FreytasTamura         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/nyregio
2021-10-29   2021-10-31 n/green-wood-cemetery-nyc.html               Cemetery Caretaker Is Living It Up         By Tammy La Gorce                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/nyregio
2021-10-29   2021-10-31 n/nyc-mayoral-race-adams-sliwa.html          Adams Sliwa                                By The New York Times              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/opinion
                        /amy-coney-barrett-supreme-court-
2021-10-29   2021-10-31 abortion.html                                Barrett Proves To Be a Careful Strategist  By Emily Bazelon                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/opinion
2021-10-29   2021-10-31 /normal-politics-gilded-age.html             The Last Time America Broke                By Jon Grinspan                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/realesta
2021-10-29   2021-10-31 te/5-world-trade-center-affordable.html      Towering Affordability                     By Stefanos Chen                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/realesta At Central Park Tower More Big Closings
2021-10-29   2021-10-31 te/top-nyc-real-estate-sales.html            Are Recorded                               By Vivian Marino                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/sports/b
2021-10-29   2021-10-31 aseball/pitchers-hitting.html                Pitchers Could Be Taking Their Final AtBat By Alan Blinder and Scott Miller   TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/29/sports/s
2021-10-29   2021-10-31 occer/barcelona-koeman-united-solskjaer.html No Next Step on the Coaching Ladder            By Rory Smith                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/style/ab
2021-10-29   2021-10-31 by-brecher-gregory-marcus-wedding.html       No Rush for a First Date or for a First Kiss   By Rosalie R Radomsky          TX 9-103-504   2021-12-01

                        https://www.nytimes.com/2021/10/29/style/an
2021-10-29   2021-10-31 na-johnson-trivante-bloodman-wedding.html Some Small Talk Then a Speechless Proposal By Becca Foley                        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/style/bil Two TV Writers Finally Get on the Same
2021-10-29   2021-10-31 l-prady-jessica-queller-wedding.html         Page                                     By Monica Corcoran Harel             TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/style/co
2021-10-29   2021-10-31 bie-smulders-communes-with-sharks.html       Communing With the Sharks                By Alexis Soloski                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/style/e For a Gold Star Spouse Another Strong Hand
2021-10-29   2021-10-31 mily-feeks-curtis-owen-wedding.html          to Hold                                  By Tammy La Gorce                    TX 9-103-504   2021-12-01



                                                                                   Page 2942 of 5793
                        https://www.nytimes.com/2021/10/29/style/la
2021-10-29   2021-10-31 uren-trout-chris-angeloro-marriage.html     First Came Goats Then Came Marriage         By Alix Wall                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/style/m
                        arideth-batchelor-austin-telenko-
2021-10-29   2021-10-31 wedding.html                                Choreographing a Life Together on TikTok By Emma Grillo                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/style/m
2021-10-29   2021-10-31 odern-love-23andme-family-secret.html       For Starters a Stranger Looked Like My Twin By Kama Einhorn                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/style/na
                        talie-joumblat-harrison-van-der-linde-
2021-10-29   2021-10-31 wedding.html                                Letters Made Their Hearts Grow Fonder       By Robbie Spencer               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/style/qu
2021-10-29   2021-10-31 it-your-job.html                            You Quit You Wish                           By John Herrman                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/style/ra
2021-10-29   2021-10-31 ndy-james-ashley-finigan-wedding.html       He Got to I Love You Doubly Quick           By Becca Foley                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/ahm Community on Edge as the Trial for Arberys
2021-10-29   2021-10-31 aud-arbery-killing-trial.html               Killing Nears                               By Tariro Mzezewa               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/us/jo- JoCarroll Dennison Oldest Surviving Former
2021-10-29   2021-10-31 carroll-dennison-dead.html                  Miss America Is Dead at 97                  By Katharine Q Seelye           TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/world/e
                        urope/spanish-writer-carmen-mola-true-      Trailblazing Female Spanish Author No 3
2021-10-29   2021-10-31 identity.html                               Men                                         By Nicholas Casey               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/29/nyregio Prince Andrew Hits Back Against Accuser in By Benjamin Weiser and Rebecca
2021-10-30   2021-10-31 n/prince-andrew-jeffrey-epstein.html        Abuse Case                                  Davis OBrien                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/busines US Agrees To Roll Back Metal Tariffs On
2021-10-30   2021-10-31 s/economy/biden-steel-tariffs-europe.html   the EU                                      By Ana Swanson and Katie Rogers TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/busines The Scariest Part of Halloween This Year
2021-10-30   2021-10-31 s/halloween-supply-chain.html               Dressing Up                                 By Sophia June                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/busines After 2Week Strike by John Deere Workers
2021-10-30   2021-10-31 s/john-deere-workers-strike.html            Union Reaches Tentative Deal                By Noam Scheiber                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/busines What if It Never Gets Easier to Be a Working
2021-10-30   2021-10-31 s/paid-family-leave-working-parents.html    Parent                                      By Sydney Ember                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/climate Colossal Stakes As Leaders Meet to Talk
2021-10-30   2021-10-31 /climate-summit-glasgow.html                Climate                                     By Somini Sengupta              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/fashion If You Want It Done Right Hell Primp Your
2021-10-30   2021-10-31 /ammo-car-detailer-larry-kosilla.html       Ride                                        By Steven Kurutz                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/health/c Some Vaccinated Parents Balk at Covid Shots
2021-10-30   2021-10-31 ovid-vaccine-kids-parents.html              for Their Youngest                          By Jan Hoffman                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/movies/ Reconstruction of a Shooting Reveals a       By Simon Romero Graham Bowley
2021-10-30   2021-10-31 alec-baldwin-rust-shooting-timeline.html    Troubled Set                                and Julia Jacobs                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/nyregio
                        n/rikers-correction-officers-sexual-        Sexual Assaults Worsen Rikers Crisis
2021-10-30   2021-10-31 assault.html                                Officers Say                                By Karen Zraick                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/opinion
2021-10-30   2021-10-31 /eric-adams-nyc-mayor.html                  A ToDo List for Eric Adams                  By The Editorial Board          TX 9-103-504   2021-12-01




                                                                              Page 2943 of 5793
                        https://www.nytimes.com/2021/10/30/opinion
2021-10-30   2021-10-31 /eric-schmidt-ai.html                       AI Is Not AOK                               By Maureen Dowd                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/opinion
2021-10-30   2021-10-31 /lyme-disease-science.html                  How I Became a Science Experiment           By Ross Douthat                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/opinion
2021-10-30   2021-10-31 /nyc-elections-board-reform.html            Reform New York Citys Board of Elections By The Editorial Board              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/realesta My Landlord Has Ignored Orders To Provide
2021-10-30   2021-10-31 te/nyc-heat-landlord.html                   Heat What Can I Do                          By Ronda Kaysen                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/science Cool Heads in Cold War Faced a 50Megaton
2021-10-30   2021-10-31 /tsar-bomba-60.html                         Test                                        By William J Broad               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/sports/b
                        aseball/ian-anderson-no-hitter-world-       65 Years Later a Managers Call to the
2021-10-30   2021-10-31 series.html                                 Bullpen                                     By Tyler Kepner                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/style/ad
2021-10-30   2021-10-31 ams-family-horror-films-hellbender.html     Familys Movie Nights Turn Gory              By Joshua Lyon                   TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/style/ch
2021-10-30   2021-10-31 ristmas-shopping-early.html                 Christmas Elbows Past Halloween             By Alyson Krueger                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/style/va
2021-10-30   2021-10-31 mpires-coronavirus.html                     The AgeOld Bite of the Vampire Metaphor     By Jason Zinoman                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/us/floo High Tidal Surges Bring Record Floods to the
2021-10-30   2021-10-31 ding-new-jersey-maryland-virginia.html      MidAtlantic Coast                           By Sophie Kasakove               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/us/polit Trump Lawyer Blamed Pence For Violence
2021-10-30   2021-10-31 ics/eastman-pence-capitol-riot.html         At the Capitol                              By Luke Broadwater               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/us/polit Filing Details Records Trump Seeks to Block
2021-10-30   2021-10-31 ics/trump-capitol-riot-inquiry.html         From Inquiry                                By Luke Broadwater               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/us/seatt Seattle Voters Have Choice Of Both Extremes
2021-10-30   2021-10-31 le-city-attorney-election.html              on Police                                   By Mike Baker                    TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/world/a South African Town Has No Electricity or
2021-10-30   2021-10-31 frica/south-africa-elections-anc.html       Water But Mayors It Has 2                   By Lynsey Chutel                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/world/a 3 Killed and Scores Are Wounded as
2021-10-30   2021-10-31 frica/sudan-protests-coup.html              Widespread Protests Fill Sudans Streets     By Abdi Latif Dahir              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/world/a
                        mericas/g20-summit-rome-covid-protests-     Pressure Grows on Rich Nations to Help      By Katie Rogers Jim Tankersley
2021-10-30   2021-10-31 biden-draghi.html                           Worlds Poor Get Vaccines                    and Jason Horowitz               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/world/a A Bunker Mentality Has China Looking         By Steven Lee Myers and Chris
2021-10-30   2021-10-31 sia/china-xi-jinping-g20.html               Inward and Xi Staying Put                   Buckley                          TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/world/e
                        urope/g20-biden-corporate-tax-              Biden Finds Raising Corporate Taxes to Be By Jim Tankersley and Alan
2021-10-30   2021-10-31 agreement.html                              Easier Abroad                               Rappeport                        TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/world/e
                        urope/russia-gas-pipeline-nordstream-       Russia Shifts Natural Gas Eastward From
2021-10-30   2021-10-31 putin.html                                  Europe                                      By Andrew E Kramer               TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/30/world/
                        middleeast/lebanon-ambassadors-saudi-       Gulf States Pull Lebanon Diplomats Over
2021-10-30   2021-10-31 gulf.html                                   Ministers Yemen War Criticism               By Vivian Yee                    TX 9-103-504   2021-12-01



                                                                                Page 2944 of 5793
                        https://www.nytimes.com/2021/10/31/busines The Week in Business From Facebook to
2021-10-31   2021-10-31 s/the-week-in-business.html                  Meta                                     By Sarah Kessler                  TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/31/insider/
2021-10-31   2021-10-31 advice-you-dont-need-but-might-want.html Advice You Didnt Know You Needed             By Callie Holtermann              TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/31/realesta
2021-10-31   2021-10-31 te/home-sales-600000-dollars.html            Homes That Sold for Around 650000        By C J Hughes                     TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/31/sports/g An Ivy League Rematch 125 Years in the
2021-10-31   2021-10-31 olf/yale-columbia-ivy-league.html            Making Evokes Golfs History              By Corey Kilgannon                TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/31/us/kyle- Kenosha Trial to Peg Whether Teen Is Hero
2021-10-31   2021-10-31 rittenhouse-trial.html                       or Reckless Gunman                       By Julie Bosman                   TX 9-103-504   2021-12-01
                                                                     Across America Many Towns Thirst for
                        https://www.nytimes.com/2021/10/31/us/polic Money Sends Patrol Cars Hunting for Any   By Mike McIntire and Michael H
2021-10-31   2021-10-31 e-ticket-quotas-money-funding.html           Possible Violations                      Keller                            TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/31/us/polic How Broken Taillights End in Killings by  By David D Kirkpatrick Steve Eder
2021-10-31   2021-10-31 e-traffic-stops-killings.html                Police                                   Kim Barker and Julie Tate         TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/31/us/rach Top Christian Author Has a Final Message
2021-10-31   2021-10-31 el-held-evans-book.html                      For Spiritual Seekers                    By Elizabeth Dias                 TX 9-103-504   2021-12-01
                        https://www.nytimes.com/2021/10/26/arts/mu
                        sic/mary-lattimore-harp-collected-pieces-
2021-10-26   2021-11-01 ii.html                                      She Really Does Let the Music Move Her   By Grayson Haver Currin           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/27/upshot/ For Democrats Now Might Be Best Chance to
2021-10-27   2021-11-01 drug-prices-democrats.html                   Lower Drug Prices                        By Margot SangerKatz              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/28/opinion
2021-10-28   2021-11-01 /race-immigration-racism.html                Immigration Laws Racist Legacy           By Reece Jones                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/28/technol
2021-10-28   2021-11-01 ogy/google-facebook-advertising.html         The Ad Empires of Google and Facebook    By Shira Ovide                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/interactive/2021/10/ Who Had Covid19 Vaccine Breakthrough     By Aliza Aufrichtig and Amy
2021-10-28   2021-11-01 28/us/covid-breakthrough-cases.html          Cases                                    Schoenfeld Walker                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/29/arts/dan The Queer Reimagining of a Harsh Greek
2021-10-29   2021-11-01 ce/christopher-williams-narcissus-review.html Myth                                   By Brian Seibert                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/10/29/arts/mu Bruce Gaston 75 Pioneer Of Fusing Western
2021-10-29   2021-11-01 sic/bruce-gaston-dead.html                    Sounds With Thai Classical Music       By Seth Mydans                   TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/10/29/arts/tele Four StandUp Specials From HardWorking
2021-10-29   2021-11-01 vision/four-stand-up-specials-to-watch.html Comics                                      By Jason Zinoman              TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/10/29/movies/
2021-10-29   2021-11-01 joanna-hogg-the-souvenir.html                A Life Continues in The Souvenir Part II   By Nicolas Rapold             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/10/29/movies/
2021-10-29   2021-11-01 mubi-go-art-house-theaters.html              New Service Curates ArtHouse Movies        By Matt Stevens               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/10/29/nyregio ExOfficer Who Paid to Order Hit Man Is
2021-10-29   2021-11-01 n/nypd-officer-hitman-sentenced.html         Sentenced                                  By Rebecca Davis OBrien       TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/10/29/opinion
2021-10-29   2021-11-01 /taiwan-china-biden.html                     Taiwans Voice Must Be Heeded               By Natasha Kassam             TX 9-117-906     2022-01-03




                                                                                Page 2945 of 5793
                        https://www.nytimes.com/2021/10/29/sports/b A 46 Million Question Is It Luka Doncics
2021-10-29   2021-11-01 asketball/luka-doncic-autograph.html        Signature                                   By Jason M Bailey                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/busines Many Questions Remain About the Best Way
2021-10-30   2021-11-01 s/how-to-tax-billionaires.html              to Tax Billionaires                         By Sarah Kessler                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/busines
2021-10-30   2021-11-01 s/uae-net-zero-cop26.html                   UAE Sees Upside of Green Transition         By Stanley Reed                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/dining/l Louise Slade Scientist Who Ensured Your
2021-10-30   2021-11-01 ouise-slade-dead.html                       Goodies Stay Good Is Dead at 74             By Clay Risen                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/nyregio Hes Likely Manhattans Next DA but Now
2021-10-30   2021-11-01 n/alvin-bragg-eric-garner-nypd.html         Grills Police Over Garners Death            By Jonah E Bromwich              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/nyregio How New Yorkers Can Shape Voting Rules
2021-10-30   2021-11-01 n/new-york-election-ballot-measures.html    and Environmental Rights                    By Ashley Wong                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/science Endangered Condor Species Can Reproduce
2021-10-30   2021-11-01 /san-diego-zoo-condor-virgin-births.html    Asexually                                   By Claire Fahy                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/sports/l
2021-10-30   2021-11-01 arry-trachtenberg-nyc-marathon.html         There for the First and Aiming for the 50th By Talya Minsberg                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/sports/t
2021-10-30   2021-11-01 ennis/france-mens-players.html              The future of French tennis is near         By Cindy Shmerler                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/sports/t
2021-10-30   2021-11-01 ennis/line-calling-technology.html          The machines see all                        By Stuart Miller                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/sports/t
2021-10-30   2021-11-01 ennis/mens-players-top-young.html           The next generation                         By Stuart Miller                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/us/pauli Pauline Bart Wry Incisive Scholar Of
2021-10-30   2021-11-01 ne-bart-dead.html                           Womens Challenges Dies at 91                By Penelope Green                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/us/polit Ugly Infighting and Virginia Election Fill
2021-10-30   2021-11-01 ics/virginia-governors-election.html        Democrats With Dread                        By Jonathan Martin               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/us/wild As Wildfires Get Worse Rural West Fights
2021-10-30   2021-11-01 fires-landowners-trucks.html                Back                                        By Ilie Mitaru                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/world/a Incumbents Win Election In Japan Despite     By Motoko Rich Hisako Ueno and
2021-10-31   2021-11-01 sia/japan-election-fumio-kishida.html       Backing A Boring Prime Minister             Makiko Inoue                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/arts/da
2021-10-31   2021-11-01 wn-of-everything-graeber-wengrow.html       A Revised Course of Human History           By Jennifer Schuessler           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/arts/mu
2021-10-31   2021-11-01 sic/rock-and-roll-hall-of-fame-jay-z.html   Rock Hall of Fame Names New Inductees       By Andy Downing                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/busines American Cancels 1200 Weekend Flights
2021-10-31   2021-11-01 s/american-airlines-cancels-flights.html    Over Bad Weather and Staff Shortages        By Niraj Chokshi                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/busines
2021-10-31   2021-11-01 s/coffee-climate-change.html                Coffee and climate Its complicated          By Tatiana Schlossberg           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/busines
                        s/economy/global-shipping-delays-           Its a Merry Fishmas After All No Thanks to
2021-10-31   2021-11-01 shortages.html                              the Supply Chain                            By Ana Swanson                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/busines
2021-10-31   2021-11-01 s/electric-cars-china-europe.html           A New Rival in Europes Showrooms            By Jack Ewing                    TX 9-117-906   2022-01-03




                                                                               Page 2946 of 5793
                        https://www.nytimes.com/2021/10/31/busines Zuckerbergs Major News Adds to a
2021-10-31   2021-11-01 s/media/media-tech-companies-facebook.html Deepening Rift                               By Ben Smith                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/climate
2021-10-31   2021-11-01 /car-recycling-environment.html            Dirtycar exports threaten climate goals      By Tanya Mohn                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/climate Biden Insists US Is Ready to Lead Globe on   By Lisa Friedman Jim Tankersley
2021-10-31   2021-11-01 /climate-change-biden-cop26.html           Climate                                      and Coral Davenport               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/climate
2021-10-31   2021-11-01 /cows-grassland-carbon.html                Ranchers Join Fight To Curb Warming          By Benjamin Ryan                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/climate
2021-10-31   2021-11-01 /deforestation-seeds-environment.html      Can drones be used to plant forests          By Rachel Chaundler               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/climate G20 Nations Agree to Stop Financing          By Somini Sengupta Jason
2021-10-31   2021-11-01 /g20-coal.html                             CoalBurning Plants Overseas                  Horowitz and Jim Tankersley       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/nyregio Places in New York City Where GOP
2021-10-31   2021-11-01 n/city-council-nyc-election.html           Candidates Even Now Stand a Chance           By Katie Glueck                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/opinion Will Glasgow Be the Climate Advance We
2021-10-31   2021-11-01 /climate-change-glasgow.html               Need                                         By Justin Gillis                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/opinion
2021-10-31   2021-11-01 /metaverse-facebook.html                   Metaverse Are You Kidding Me                 By Charles M Blow                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/31/opinion A Dangerous Supreme Court Fight Over
2021-10-31   2021-11-01 /supreme-court-vaccine-mandates-covid.html Vaccine Mandates Looms                       By Wendy Parmet                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/sports/b After Years of Letdowns a Team Has a
2021-10-31   2021-11-01 aseball/atlanta-braves-world-series.html    Mission Dont Let Up                         By Tyler Kepner                   TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/31/sports/b He Once Launched a 77Yard Punt Now He
2021-10-31   2021-11-01 aseball/austin-riley-atlanta-world-series.html Prefers a Different Long Ball             By Scott Miller                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/sports/b Jerry Remy 68 an AllStar And a Voice for the
2021-10-31   2021-11-01 aseball/jerry-remy-dead.html                   Red Sox                                   By Richard Goldstein             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/sports/f
2021-10-31   2021-11-01 ootball/jets-bengals-mike-white.html           Mike Who Jets Get a Welcome Answer        By Devin Gordon                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/sports/f
2021-10-31   2021-11-01 ootball/nfl-week-8-scores.html                 What We Learned This Week                 By Tyler Dunne                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/technol
2021-10-31   2021-11-01 ogy/roblox-outage-halloween.html               Roblox Crash Drives Kids To Go Out        By Kellen Browning               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/theater/
2021-10-31   2021-11-01 irish-arts-center-new-york.html                Arts Center For Irish Is Taking A Step Up By Michael Paulson               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/us/migr One Dead After Dozens Try To Swim
2021-10-31   2021-11-01 ants-swim-border.html                          Around Border Fence                       By Austin Ramzy                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/us/polit Military Jurors Rebuke Torture As Moral
2021-10-31   2021-11-01 ics/guantanamo-torture-letter.html             Stain                                     By Carol Rosenberg               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/us/polit Texas Abortion Law Case Throws a Spotlight
2021-10-31   2021-11-01 ics/kavanaugh-texas-abortion-law.html          on Kavanaugh                              By Adam Liptak                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/us/polit Hope for Family Leave Lives On But the
2021-10-31   2021-11-01 ics/paid-family-leave.html                     Question Is How to Do It                  By Jonathan Weisman              TX 9-117-906   2022-01-03



                                                                                Page 2947 of 5793
                        https://www.nytimes.com/2021/10/31/us/polit
                        ics/virginia-governors-race-youngkin-       Candidates Seek Energy As Race to Lead       By Jeremy W Peters and Matthew
2021-10-31   2021-11-01 mcauliffe.html                              Virginia Enters Its Final Hours              Cullen                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/us/rama South Africas Leader Is on Mission to Restore
2021-10-31   2021-11-01 phosa-anc-south-africa.html                 Faith in Liberation Party                    By John Eligon and Lynsey Chutel TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/world/a As Taliban Swept In Afghanistans Cultural
2021-10-31   2021-11-01 sia/afghanistan-taliban-artists.html        Class Hurried Out                            By Sharif Hassan                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/world/b Buoyed by a Weekend of Diplomacy Biden By Jim Tankersley and Katie
2021-10-31   2021-11-01 iden-g20-covid-climate.html                 Heads to Glasgow Summit                      Rogers                           TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/31/world/e Rivals on World Stage US And Russia           By Anton Troianovski and David E
2021-10-31   2021-11-01 urope/biden-putin-russia-united-states.html   Quietly Pursue Mutual Areas of Harmony     Sanger                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/world/e Skepticism Greets Britains Efforts to Combat
2021-10-31   2021-11-01 urope/uk-police-sexual-misconduct.html        Police Abuse of Women                      By Megan Specia                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/us/lets-
2021-11-01   2021-11-01 go-brandon-southwest-airlines.html            Airline Contrite After a Pilot Mocks Biden By Melina Delkic                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/arts/tele
                        vision/whats-on-tv-this-week-the-oratorio-and-
2021-11-01   2021-11-01 dexter-new-blood.html                         This Week on TV                            By Gabe Cohn                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/busines To Protest Irans AntiGay Abuse Artist Paints
2021-11-01   2021-11-01 s/art-car-iran.html                           Dictators Car                              By Brett Berk                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/busines
2021-11-01   2021-11-01 s/banks-crypto-bitcoin.html                   With Crypto Banks Race To Catch Up         By Emily Flitter                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/01/sports/b Black Coaches Are Elevated As Black Players
2021-11-01   2021-11-01 asketball/nba-black-coaches-diversity.html  Are Heard                                   By Scott Cacciola               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/01/us/term On the Left a New Scramble Over the Right
2021-11-01   2021-11-01 inology-language-politics.html              Words to Say                                By Amy Harmon                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/01/world/e Once a Leading Polluter Britain Is Trying to
2021-11-01   2021-11-01 urope/britain-climate-change.html           Lead on Climate Change                      By Mark Landler                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/article/what-is-
2021-10-19   2021-11-02 cop26-climate-change-summit.html            A Guide to the Summit On Global Warming By Lisa Friedman                    TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/10/20/science Latest Stumbling Block For the Webb
2021-10-20   2021-11-02 /webb-telescope-astronomy-homophobia.html Telescope Concern Over Its Name                By Dennis Overbye              TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/10/21/science Big Socializers In Argentina the Dinosaurs
2021-10-21   2021-11-02 /dinosaur-herds.html                        Exhibited a Real Herd Mentality              By Nicholas Bakalar            TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/10/22/well/liv Shifting Medical Advice Is a Feature Not a
2021-10-22   2021-11-02 e/aspirin-heart-attack-stroke.html          Bug                                          By Tara ParkerPope             TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/10/27/science Tastes of Mistaken Identity Sharks
2021-10-27   2021-11-02 /shark-attacks-vision.html                 Bloodthirsty Thats Not How They See Things By Sabrina Imbler                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/10/27/us/blac 8 Black Women Form Sisterhood of Power as By Jennifer Harlan and Giulia
2021-10-27   2021-11-02 k-women-mayor-us-cities.html               BigCity Mayors                             McDonnell Nieto del Rio           TX 9-117-906     2022-01-03




                                                                                 Page 2948 of 5793
                        https://www.nytimes.com/2021/10/27/well/liv On Boosters Deciding Whether to Mix or
2021-10-27   2021-11-02 e/covid-booster-shot-mix-and-match.html     Match                                       By Tara ParkerPope                TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/28/climate Tribal Nations More Exposed to Climate
2021-10-28   2021-11-02 /native-americans-climate-change-effects.html Threats                                   By Christopher Flavelle           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/28/science CuttingEdge Research To Grow Tusks That
2021-10-28   2021-11-02 /elephant-walrus-tusks-evolution.html         Long Give Yourself 255 Million Years      By Asher Elbein                   TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/29/science Pale Beauties The Reason Some Strawberries
2021-10-29   2021-11-02 /strawberries-evolution-genetics-white.html Turn a Ghostly Shade of White             By Veronique Greenwood              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/30/health/
                        open-enrollment-health-insurance-           Why Arent More People Comparison
2021-10-30   2021-11-02 medicare.html                               Shopping                                  By Paula Span                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/arts/mu
2021-10-31   2021-11-02 sic/grand-old-opry-5000-broadcast.html      The Opry Still Twangs After 5000 Shows    By Rick Rojas                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/us/polit
                        ics/saudi-investment-conference-trump-      Trump Allies and Alumni Make Their
2021-10-31   2021-11-02 allies.html                                 Presence Felt At Saudi Financial Event    By Kate Kelly                       TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/24/busines                                              By Michael J de la Merced and
2021-11-01   2021-11-02 s/james-staley-barclays-jeffrey-epstein.html CEO Out At Barclays Over Ties To Epstein   Matthew Goldstein                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/arts/mu
2021-11-01   2021-11-02 sic/met-opera-meistersinger-wagner.html      A Whole Night at the Opera                 By Javier C Hernndez              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/arts/mu StarCrossed Lovers Return to a New
2021-11-01   2021-11-02 sic/porgy-bess-gershwin-met-opera.html       Landscape                                  By Joshua Barone                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/arts/mu Ronnie Tutt 83 Drummer Lent Power and
2021-11-01   2021-11-02 sic/ronnie-tutt-dead.html                    Versatility To Both Rock and Pop Hits      By Bill FriskicsWarren            TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/01/books/r
2021-11-01   2021-11-02 eview-solid-ivory-memoirs-james-ivory.html Gossip Is Served                         By Alexandra Jacobs                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/busines How the Pandemic Has Given Workers New
2021-11-01   2021-11-02 s/economy/strikes-labor-pandemic.html      Leverage                                 By Noam Scheiber                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/busines Dixie Fire Costs PGampE 115 Billion Plus
2021-11-01   2021-11-02 s/energy-environment/pge-dixie-fire.html   Inquiry                                  By Ivan Penn                          TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/01/busines
2021-11-01   2021-11-02 s/media/american-crime-story-streaming.html The TV Hit That Wasnt                      By John Koblin                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/busines
2021-11-01   2021-11-02 s/rivian-ipo-valuation.html                 Rivian Aims IPO Value To Exceed 50 Billion By Lauren Hirsch                   TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/01/busines
2021-11-01   2021-11-02 s/stablecoins-cryptocurrency-regulation.html Action Urged To Regulate Stablecoins       By Ephrat Livni and Eric Lipton   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/climate Biden Seeks Boost in Oil While Urging        By Jim Tankersley and Lisa
2021-11-01   2021-11-02 /biden-oil-gas-cop26.html                    Emissions Cuts                             Friedman                          TX 9-117-906   2022-01-03




                                                                                Page 2949 of 5793
                        https://www.nytimes.com/2021/11/01/fashion
                        /watch-mickey-mouse-gerald-genta-
2021-11-01   2021-11-02 bulgari.html                               A highend mouse                               By Robin Swithinbank   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/fashion
2021-11-01   2021-11-02 /watches-anordain-scotland.html            Scottish brands flex their creativity         By Rachel Felder       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/fashion
                        /watches-audemars-piguet-shanya-
2021-11-01   2021-11-02 amarasuriya-singapore.html                 Coming aboard                                 By Melanie Abrams      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/fashion
                        /watches-climate-change-ayana-elizabeth-
2021-11-01   2021-11-02 johnson.html                               Where climate intersects with time and legacy By Alexandra Cheney    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/fashion
2021-11-01   2021-11-02 /watches-green-color-audemars-piguet.html Going green                                    By Robin Swithinbank   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/fashion
2021-11-01   2021-11-02 /watches-id-geneve-circular-model.html     Beyond Tradition                              By Victoria Gomelsky   TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/01/fashion
2021-11-01   2021-11-02 /watches-leonardo-galileo-atomic-clock.html Keeping time in space                      By David Belcher         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/fashion
                        /watches-naoya-hida-and-company-
2021-11-01   2021-11-02 tokyo.html                                  Frustration leads to a new brand           By Vivian Morelli        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/fashion
                        /watches-oak-collection-design-museum-
2021-11-01   2021-11-02 london.html                                 Sharing watches but not a name             By Susanne Fowler        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/fashion
                        /watches-pearls-tasaki-chanel-patek-
2021-11-01   2021-11-02 philippe.html                               Puttin on the pearls                       By Ming Liu              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/fashion
                        /watches-recycling-ocean-plastics-tom-
2021-11-01   2021-11-02 ford.html                                   From the ocean to your wrist               By Alexandra Cheney      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/fashion
                        /watches-seiko-masterpiece-collection-
2021-11-01   2021-11-02 japan.html                                  Focused on fine watchmaking                By Vivian Morelli        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/fashion
2021-11-01   2021-11-02 /watches-sustainability-kering-cartier.html A greener industry                         By Victoria Gomelsky     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/fashion
2021-11-01   2021-11-02 /watches-switzerland-image.html             Is a country a company town                By Jane A Peterson       TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/01/health/c Childrens Risk of Heart Trouble From
2021-11-01   2021-11-02 ovid-kids-children.html                     Vaccines Less Than From Covid Experts Say By Apoorva Mandavilli     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/health/ Dr Aaron T Beck Pioneer of Cognitive
2021-11-01   2021-11-02 dr-aaron-t-beck-dead.html                   Behavioral Therapy Is Dead at 100         By Benedict Carey         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/health/ Biden Promised to Fix Home Care for
2021-11-01   2021-11-02 home-health-aides-health-care.html          Seniors More Aid May Be Needed            By Reed Abelson           TX 9-117-906   2022-01-03




                                                                                 Page 2950 of 5793
                        https://www.nytimes.com/2021/11/01/nyregio Contests Put New York Democrats at
2021-11-01   2021-11-02 n/democratic-party-ny.html                 Crossroads                                    By Katie Glueck                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/nyregio
                        n/india-walton-byron-brown-buffalo-        Buffalos Mayor Is Looking To WriteIns to
2021-11-01   2021-11-02 mayor.html                                 Retain Seat                                   By Jesse McKinley                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/nyregio Cabdriver Hunger Strike Aims to Win More
2021-11-01   2021-11-02 n/ny-taxi-drivers-hunger-strike.html       Relief From Medallion Loans                   By Brian M Rosenthal              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/nyregio 9000 Unvaccinated New York City Workers By Joseph Goldstein and Sharon
2021-11-01   2021-11-02 n/nyc-vaccine-mandate.html                 Are Put on Unpaid Leave                       Otterman                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/nyregio Murder Charge for Durst In Wifes
2021-11-01   2021-11-02 n/robert-durst-murder-charge.html          Disappearance                                 By Charles V Bagli                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/opinion Would Russia or China Help Us if Space
2021-11-01   2021-11-02 /climate-glasgow-russia-china.html         Aliens Invaded                                By Thomas L Friedman              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/opinion
                        /mcauliffe-youngkin-manchin-
2021-11-01   2021-11-02 minneapolis.html                           Its Election Day Then Movie Night             By Gail Collins and Bret Stephens TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/opinion
2021-11-01   2021-11-02 /school-board-saturday-night-live.html     Write Off School Board Politics at Your Peril By Lily Geismer and Eitan D Hersh TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/01/opinion
2021-11-01   2021-11-02 /vaccine-mandates-biden-republicans.html    Fight Against Vaccines Isnt About Freedom By Paul Krugman                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/science Amazon Chases Musk Into Space For
2021-11-01   2021-11-02 /amazon-satellite-launch.html               Satellite Internet                            By Joey Roulette                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/sports/b
                        aseball/astros-braves-world-series-         We Interrupt This Series for Yet Another Call
2021-11-01   2021-11-02 relievers.html                              to the Bullpen                                By Tyler Kepner                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/sports/b After a Setback Atlanta Hopes for a
2021-11-01   2021-11-02 aseball/atlanta-world-series.html           RoadField Advantage                           By Alan Blinder and James Wagner TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/01/sports/b Recipe for a Rare Comeback Confidence and
2021-11-01   2021-11-02 aseball/world-series-comeback-astros.html   Some Candy                                By David Waldstein                 TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/01/sports/h Bettman Defends NHLs Response to Sexual
2021-11-01   2021-11-02 ockey/blackhawks-bettman-beach-nhl.html     Assault Claim                                 By Victor Mather               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/01/theater/ Amid Climate Talks Actors Call to Action
2021-11-01   2021-11-02 climate-crisis-theater-cop26.html           Unfolds Onstage                               By Whitney Bauck               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/01/theater/
2021-11-01   2021-11-02 ohio-state-murders-broadway.html            Ohio State Murders to Get Its Biggest Stage By Michael Paulson               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/01/us/dere
2021-11-01   2021-11-02 k-chauvin-trial-jury.html                   Identities of the Chauvin Jurors Are Revealed By Nicholas BogelBurroughs     TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/01/us/linw Linwood Holton Dies 98 Republican Led
2021-11-01   2021-11-02 ood-holton-dead.html                        Virginia And Heralded New South               By Clay Risen                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/01/us/polit Desperate for Housing Communities Are
2021-11-01   2021-11-02 ics/ballot-initiatives-voters-voting.html   Turning to the Ballot Box                     By Jennifer Steinhauer         TX 9-117-906     2022-01-03




                                                                                Page 2951 of 5793
                        https://www.nytimes.com/2021/11/01/us/polit Manchin Raises Doubts On Safety Net         By Emily Cochrane Jonathan
2021-11-01   2021-11-02 ics/manchin-endorse-framework.html          Package                                     Weisman and Margot SangerKatz      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/us/polit
2021-11-01   2021-11-02 ics/medicaid-uninsured.html                 Health Lifeline To Poor Adults May Be Brief By Sheryl Gay Stolberg             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/us/polit
2021-11-01   2021-11-02 ics/texas-abortion-law-supreme-court.html   Shift Suggested on Law in Texas             By Adam Liptak                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/us/polit
                        ics/youngkin-trump-mcauliffe-virginia-
2021-11-01   2021-11-02 governor.html                               Candidates Crisscross Virginia in Last Push By Reid J Epstein                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/us/supr To Tame Unruly Oral Arguments Supreme
2021-11-01   2021-11-02 eme-court-oral-arguments.html               Court Revises Its Procedures                By Adam Liptak                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/well/liv
2021-11-01   2021-11-02 e/chronic-kidney-disease-failure.html       Chronic Kidney Disease Isnt Always Dire     By Jane E Brody                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/world/5-Official Global Virus Death Count Exceeds 5
2021-11-01   2021-11-02 million-covid-deaths.html                   Million Scientists Say                      By Daniel E Slotnik                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/world/a                                              By Abdi Latif Dahir and Ismail
2021-11-01   2021-11-02 frica/nigeria-building-collapse-.html       Scores Feared Trapped in Building Collapse Alfa                                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/world/a After Violent Protests Pakistan Makes Deal
2021-11-01   2021-11-02 sia/pakistan-protests-negotiations-tlp.html With Islamist Group                         By Salman Masood                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/world/e Rifts and FingerPointing As Climate Summit By Jim Tankersley Lisa Friedman
2021-11-01   2021-11-02 urope/cop26-glasgow-biden-climate.html      Opens                                       and Somini Sengupta                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/world/ Egypt to Give More Powers To President And
2021-11-01   2021-11-02 middleeast/egypt-security-military.html     Military                                    By Vivian Yee and Nada Rashwan     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/article/kyle-       Timeline of the Rittenhouse Shootings and
2021-11-01   2021-11-02 rittenhouse-shooting-timeline.html          His Trial                                   By Julie Bosman                    TX 9-117-906   2022-01-03

                        https://www.nytimes.com/interactive/2021/11/ How Much Are Countries Pledging to Reduce By Brad Plumer Blacki Migliozzi
2021-11-01   2021-11-02 01/climate/paris-pledges-tracker-cop-26.html Emissions                                 and Nadja Popovich                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/sports/b Mets Dismiss Interim GM Two Months
2021-11-02   2021-11-02 aseball/zack-scott-mets.html                 After Arrest                              By David Waldstein                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/01/theater/
2021-11-02   2021-11-02 twilight-los-angeles-1992-rodney-king.html Embodying Justice After a Police Beating     By Jesse Green                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/us/kyle- After Barrage of Questions Rittenhouse Jury
2021-11-02   2021-11-02 rittenhouse-trial-jury.html                 Is Seated                                   By Julie Bosman                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/busines Lack of Car Parts Risks Putting Worlds
2021-11-02   2021-11-02 s/car-shortage-global-economy.html          Economy in a Tailspin                       By Jack Ewing and Patricia Cohen   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/climate Biden Administration Moves to Cut Methane
2021-11-02   2021-11-02 /biden-methane-climate.html                 From Oil and Gas Rigs                       By Lisa Friedman                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/insider/
2021-11-02   2021-11-02 shadowman-street-art.html                   The Reporter Chasing Shadows                By Bob Morris                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/science
2021-11-02   2021-11-02 /climate-change-archaeology.html            The Race To Save History                    By Franz Lidz                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/sports/f An Injury Halts Henrys RecordChallenging
2021-11-02   2021-11-02 ootball/derrick-henry-injury.html           Stampede                                    By Ben Shpigel and Kevin Quealy    TX 9-117-906   2022-01-03



                                                                                Page 2952 of 5793
                        https://www.nytimes.com/2021/11/02/sports/n Covering the Race as a OneMan Roving Press
2021-11-02   2021-11-02 ew-york-city-marathon-running.html          Box                                        By Marc Bloom              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/us/polit Both Parties Will Study Crucial Election
2021-11-02   2021-11-02 ics/election-results-polls-closing.html     Results To Forge 2022 Strategy             By Shane Goldmacher        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/world/ In Debt Out of Work And Headed Back To By Patrick Kingsley and Iyad
2021-11-02   2021-11-02 middleeast/gaza-wedding-debt-prison.html    Jail                                       Abuheweila                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/09/27/travel/ A Third Gender Has Its Place in the Life of
2021-09-27   2021-11-03 mexico-muxes-third-gender.html              Mexico                                     By Nria Lpez Torres        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/29/dining/l
                        amb-shank-recipe-carrot-salad-molasses-
2021-10-29   2021-11-03 ginger-cake.html                            LongSimmering Lamb for Falls Chill         By David Tanis             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/29/dining/
2021-10-29   2021-11-03 mozzarella-sticks.html                      Mozzarella Sticks Are a Hot Item           By Priya Krishna           TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/31/opinion Not Everyone in NY Wanted the Coronavirus
2021-10-31   2021-11-03 /vaccine-disinformation-new-york-city.html to Lose                                      By Mara Gay               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/arts/mu
2021-11-01   2021-11-03 sic/drake-certified-lover-boy-chart.html    Drake Earns a Fifth Week at No 1            By Joe Coscarelli         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/busines
                        s/energy-environment/europe-climate-action-
2021-11-01   2021-11-03 cost.html                                   The Costs of Climate Action                 By Liz Alderman           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/dining/ To Brew Jelly Maker Turns Its Attention to
2021-11-01   2021-11-03 bonne-maman-herbal-tea.html                 Tea                                         By Florence Fabricant     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/dining/ To Store Butter Saver Can Handle Either a
2021-11-01   2021-11-03 butter-hub-saver.html                       Stick or a Block                            By Florence Fabricant     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/dining/
2021-11-01   2021-11-03 claudia-roden-middle-eastern-cooking.html Her Greatest Inspiration Is Home              By Melissa Clark          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/dining/
                        dogfish-head-book-sam-calagione-            To Explore Craft Beer Pioneer Tells Its Own
2021-11-01   2021-11-03 mariah.html                                 Story                                       By Florence Fabricant     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/dining/
2021-11-01   2021-11-03 drinks/kevin-zraly-wine.html                The Accidental Wine Educator                By Eric Asimov            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/dining/i
2021-11-01   2021-11-03 ndigenous-people-fry-bread.html             Fry Bread Is Beloved but Also Divisive      By Kevin Noble Maillard   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/dining/l To Participate Immersive Experience For La
2021-11-01   2021-11-03 a-fete-du-champagne-nyc.html                Fte du Champagne                            By Florence Fabricant     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/dining/l
2021-11-01   2021-11-03 a-grenouille-nyc.html                       Formal Dining Flashy Crooning               By Priya Krishna          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/dining/ To Dazzle Peking Duck Is Coming With
2021-11-01   2021-11-03 peking-duck-hutong.html                     Some Added Fire                             By Florence Fabricant     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/dining/ To Learn An Uncommon Rise For a
2021-11-01   2021-11-03 salt-rising-bread-jenny-bardwell-talk.html  Traditional Bread                           By Florence Fabricant     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/movies/
2021-11-01   2021-11-03 attica-documentary-prison-uprising.html     Views of Attica From a Different Window     By Nicolas Rapold         TX 9-117-906   2022-01-03




                                                                               Page 2953 of 5793
                        https://www.nytimes.com/2021/11/01/opinion
2021-11-01   2021-11-03 /california-homeless-crisis.html            A Big Idea About the Homeless                 By Jay Caspian Kang             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/opinion Facebook Makes Us Know Too Much About
2021-11-01   2021-11-03 /facebook-social-media-problems.html        One Another                                   By Michelle Goldberg            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/science Muriel Lezak 94 Wrote Essential Guide to
2021-11-01   2021-11-03 /muriel-lezak-dead.html                     Brain Disorders                               By Richard Sandomir             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/books/k
                        al-penn-you-cant-be-serious-memoir-
2021-11-02   2021-11-03 interview.html                              Discovering That He Has a Story to Tell       By John Williams                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/arts/dan
                        ce/radio-city-christmas-spectacular-covid-
2021-11-02   2021-11-03 rules.html                                  Radio City Protocols At Issue                 By Matt Stevens                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/arts/des
2021-11-02   2021-11-03 ign/tupac-shakur-exhibition.html            Tupac Shakur Is Focus Of a New Exhibition     By Sophie Haigney               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/02/arts/mu An Organist for the Ages In an Era of
2021-11-02   2021-11-03 sic/classical-music-jeanne-demessieux.html Invisibility                                By David Allen                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/arts/mu
                        sic/pat-martino-jazz-guitarist-who-overcame- Pat Martino Who Lost And Regained Mastery
2021-11-02   2021-11-03 amnesia-dies-at-77.html                      Of Jazz Guitar Dies at 77                 By Neil Genzlinger                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/arts/mu
2021-11-02   2021-11-03 sic/sloppy-jane-madison-cave.html            Making Big Sounds Underground             By Danielle Dowling                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/arts/tele
2021-11-02   2021-11-03 vision/big-mouth-netflix.html                Move It Kid I Want to Watch My Cartoons   By Mike Hale                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/books/p
                        enguin-random-house-simon-schuster-merger- US Sues to Stop Top Publishers From         By Elizabeth A Harris Alexandra
2021-11-02   2021-11-03 lawsuit.html                                 Merging in Antitrust Push                 Alter and David McCabe             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/books/r
2021-11-02   2021-11-03 eview-sentence-louise-erdrich.html           Nightmare Stalks A Bookstore              By Molly Young                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/busines
2021-11-02   2021-11-03 s/bp-3q-2021-earnings.html                   BPs Profit Is Higher Amid Rise In Prices  By Stanley Reed                    TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/02/busines                                                By Michael Corkery and Julie
2021-11-02   2021-11-03 s/corporate-climate-pledge-supply-chain.html Emissions Goals With an Asterisk             Creswell                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/busines
                        s/economy/fed-jerome-powell-rates-           Rise in Rates Is New Focus As Fed Plans To
2021-11-02   2021-11-03 inflation.html                               Slow Aid                                     By Jeanna Smialek               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/busines
                        s/media/meta-ad-strategy-facebook-           Giant Once Known as Facebook Changes Its
2021-11-02   2021-11-03 scandal.html                                 Marketing Strategy                           By Tiffany Hsu and Davey Alba   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/busines                                                By Jordan Allen and Kristen
2021-11-02   2021-11-03 s/new-york-commercial-real-estate.html       Transactions                                 Bayrakdarian                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/busines
                        s/social-security-same-sex-survivor-         More SameSex Couples May Get Survivor
2021-11-02   2021-11-03 benefits.html                                Benefits                                     By Tara Siegel Bernard          TX 9-117-906   2022-01-03



                                                                                 Page 2954 of 5793
                        https://www.nytimes.com/2021/11/02/busines
2021-11-02   2021-11-03 s/solar-farms-resistance.html               As Solar Farms Grow So Does Resistance      By Ellen Rosen                   TX 9-117-906    2022-01-03
                                                                    Global Leaders Pledge to Eliminate
                        https://www.nytimes.com/2021/11/02/climate Deforestation by 2030 in a Landmark          By Catrin Einhorn and Chris
2021-11-02   2021-11-03 /cop26-deforestation.html                   Agreement                                   Buckley                          TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/02/dining/
2021-11-02   2021-11-03 covid-vaccine-thanksgiving.html             This Holidays Flash Point Vaccination       By Christina Morales             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/02/dining/ Four the Latest From Jesse Schenker Opens
2021-11-02   2021-11-03 new-york-restaurant-openings.html           on Long Island                              By Florence Fabricant            TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/02/dining/r
                        estaurant-review-foda-egyptian-sandwiches-
2021-11-02   2021-11-03 queens.html                                 For Liver Lovers the Line Starts Here       By Pete Wells                    TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/02/health/c CDCs Nod Means Children 5 to 11 Could Get
2021-11-02   2021-11-03 ovid-vaccine-children-cdc.html              a Shot This Week                            By Apoorva Mandavilli            TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/02/health/ Opioid Makers Win Major Victory in
2021-11-02   2021-11-03 opioids-johnson-ruling-california.html      California Trial                            By Jan Hoffman                   TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/02/movies/ Responsibility To Check Gun On Film Set Is
2021-11-02   2021-11-03 dave-halls-rust-gun-alec-baldwin.html       Questioned                                  By Julia Jacobs                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/02/nyregio Fur Flies at Manhattan Polling Site As Sliwa
2021-11-02   2021-11-03 n/curtis-sliwa-cat-voting.html              and Cat Show Up to Vote                     By Emma G Fitzsimmons            TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/02/opinion                                              By John Reid and Thomas E
2021-11-02   2021-11-03 /climate-change-glasgow-deforestation.html We Can Still Save Earths Forests             Lovejoy                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/opinion                                              By J Michael Luttig and Richard D
2021-11-02   2021-11-03 /supreme-court-gun-law-new-york.html        Uphold the ConcealedCarry Law               Bernstein                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/sports/b For Knicks Success and Failure Arrives 3
2021-11-02   2021-11-03 asketball/knicks-raptors.html               Points at a Time                            By Sopan Deb                     TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/02/sports/f Raiders Star Likely to Face Felony Count In
2021-11-02   2021-11-03 ootball/henry-ruggs-accident-dui-raiders.html Fatal Crash                                   By Ben Shpigel               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/02/sports/f The Rams Title Window Is Open So Theyre
2021-11-02   2021-11-03 ootball/von-miller-trade-rams.html            Diving Through                                By Emmanuel Morgan           TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/02/sports/n
                        caafootball/college-football-playoff-georgia-
                        alabama-michigan-state-oregon-                Georgia Is the Playoffs Top Seed Then It Gets
2021-11-02   2021-11-03 cincinnati.html                               Complicated                                   By Billy Witz                TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/02/sports/o Chinese Hockey Team Will Be Allowed to
2021-11-02   2021-11-03 lympics/china-hockey-olympics-beijing.html Play Despite Concerns Over Skill             By Tariq Panja                   TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/02/sports/s Former FIFA Officials Indicted on Fraud
2021-11-02   2021-11-03 occer/fifa-blatter-platini-fraud-charges.html Charges Over Secret Payment               By Tariq Panja                   TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/02/technol Tensions Between Apple and Its Workers
2021-11-02   2021-11-03 ogy/apple-worker-retaliation.html             Escalate With a Federal Complaint         By Kellen Browning               TX 9-117-906    2022-01-03




                                                                                 Page 2955 of 5793
                        https://www.nytimes.com/2021/11/02/technol Amid Privacy Fears Facebook Is Dropping
2021-11-02   2021-11-03 ogy/facebook-facial-recognition.html        Facial Recognition                           By Kashmir Hill and Ryan Mac     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/us/elect City Where George Floyd Was Killed
2021-11-02   2021-11-03 ions/minneapolis-police-vote.html           Considers Fate of Police Department          By Mitch Smith and Jay Senter    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/us/polit Biden Uses Trip to Try To Restore Leadership
2021-11-02   2021-11-03 ics/biden-cop26.html                        Of US and Himself                            By Katie Rogers                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/us/polit How America Got to Charlottesville An
2021-11-02   2021-11-03 ics/charlottesville-trial-holocaust.html    Expert Draws a Map                           By Elizabeth Williamson          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/us/polit Prominent Conservatives Back States Limits
2021-11-02   2021-11-03 ics/conservatives-new-york-gun-law.html     on Guns in Public                            By Adam Liptak                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/us/polit Democrats Reach Deal to Add Drug Price       By Jonathan Weisman and Emily
2021-11-02   2021-11-03 ics/prescription-drug-prices-medicare.html  Controls to Safety Net Bill                  Cochrane                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/us/polit                                              By Emily Cochrane and Alan
2021-11-02   2021-11-03 ics/salt-cap-tax-deduction.html             Democrats Hope to Doff SALT Cap              Rappeport                        TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/02/us/polit Justices Hear Case Pitting Free Speech Vs
2021-11-02   2021-11-03 ics/supreme-court-free-speech-censure.html Censure                                       By Adam Liptak                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/us/polit Military Grants Few Vaccine Exemptions as
2021-11-02   2021-11-03 ics/vaccine-military-army.html              Deadlines Loom                               By Jennifer Steinhauer           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/world/a Ethiopia Declares State of Emergency as
2021-11-02   2021-11-03 frica/ethiopia-state-of-emergency.html      Tigrayans Advance Toward Capital             By Declan Walsh and Simon Marks TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/02/world/a Nigerian Site Was Flagged For Problems        By Ben Ezeamalu and Abdi Latif
2021-11-02   2021-11-03 frica/nigeria-lagos-building-collapse.html  Before Failure                               Dahir                           TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/02/world/a Brazil Facing Skeptics Seeks Role as a
2021-11-02   2021-11-03 mericas/brazil-climate.html                 Climate Leader                               By Manuela Andreoni              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/world/a Soldiers Killed In Their Beds As ISIS Group   By Thomas GibbonsNeff Sami
2021-11-02   2021-11-03 sia/afghanistan-kabul-hospital-attack.html  Hits Hospital                                Sahak and Taimoor Shah           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/world/a Mocking Chinas Heroes Can Lead to Jail
2021-11-02   2021-11-03 sia/china-slander-law.html                  Time                                         By Steven Lee Myers              TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/02/world/e Nations Cut Deals to Slash Methane            By Jim Tankersley Katie Rogers
2021-11-02   2021-11-03 urope/climate-summit-methane-forests.html Emissions and Save Forests                     and Lisa Friedman                TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/02/world/e USRussia Engagement Deepens as CIA Chief By Anton Troianovski and Julian E
2021-11-02   2021-11-03 urope/united-states-russia-william-burns.html Visits Moscow                               Barnes                      TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/02/world/
                        middleeast/palestinian-jerusalem-eviction-
2021-11-02   2021-11-03 jarrah.html                                   Palestinians in Housing Fight Spurn Deal    By Patrick Kingsley         TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/02/nyregio Manhattan Elects Its First Black DA in a Shift
2021-11-03   2021-11-03 n/alvin-bragg-wins-manhattan-da.html          That Is Beyond Symbolic                     By Jonah E Bromwich         TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/02/nyregio Adams Is Elected to Lead New York in Time
2021-11-03   2021-11-03 n/eric-adams-mayor.html                       of Change                                   By Katie Glueck             TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/02/sports/b
2021-11-03   2021-11-03 aseball/braves-win-world-series.html          Longball Ends a Long Wait                   By David Waldstein          TX 9-117-906       2022-01-03




                                                                                Page 2956 of 5793
                        https://www.nytimes.com/2021/11/02/theater/
2021-11-03   2021-11-03 tammany-hall-review.html                     Electoral Politics Got You Down             By Alexis Soloski                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/us/elect                                              By Jonathan Martin and Alexander
2021-11-03   2021-11-03 ions/youngkin-wins-virginia-governor.html Youngkin Ahead in Close Virginia Race          Burns                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/us/kyle- Rittenhouse Trial Quickly Focuses on
2021-11-03   2021-11-03 rittenhouse-trial-opening.html               Disposition and Intent                      By Julie Bosman and Dan Hinkel TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/03/sports/f The NFLs Awards Season Starts Early This
2021-11-03   2021-11-03 ootball/mvp-award-nfl.html                   Year                                        By Mike Tanier                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/world/e Abused by the Belgian State and Seeking
2021-11-03   2021-11-03 urope/belgium-congo-kidnapping.html          Reparations                                 By Elian Peltier                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/live/2021/11/02/us/
                        election-news/minneapolis-reject-defund-
2021-11-03   2021-11-03 police                                       Voters Oppose Police Change In Minneapolis By Mitch Smith and Tim Arango TX 9-117-906       2022-01-03
                        https://www.nytimes.com/article/flu-season- Here to Help How to Prepare for Flu Season
2021-10-25   2021-11-04 symptoms.html                                Part 2                                      By Melinda Wenner Moyer          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/27/us/us- US Issues First Passport With X Gender
2021-10-27   2021-11-04 first-passport-gender-x.html                 Marker                                      By Christine Hauser              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/style/ha
2021-11-02   2021-11-04 rry-styles-halloween-costume.html            What Harry Styles Fans Wore for Harryween By Ruth La Ferla                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/arts/ma Manuel Neri 91 a Figurative Sculptor Who
2021-11-02   2021-11-04 nuel-neri-dead.html                          Mixed Artistic Mediums and Styles           By Annabelle Williams            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/arts/ma
2021-11-02   2021-11-04 rk-zuckerberg-meta.html                      The Zuckerberg Aesthetic                    By Amanda Hess                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/style/m
2021-11-02   2021-11-04 eta-facebook.html                            Are You Missing Out on the Metaverse        By John Herrman                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/theater/
2021-11-02   2021-11-04 jaws-play-the-shark-is-broken.html           A Play Recreates The Drama of Jaws          By Alex Marshall                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/arts/dan
2021-11-03   2021-11-04 ce/gibney-company-review-joyce.html          Reimagined And Overstuffed                  By Gia Kourlas                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/arts/tele
2021-11-03   2021-11-04 vision/review-dr-brain-south-korea.html      SciFi Embroidered With Film Noir            By Mike Hale                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/books/b
                        ooker-prize-winner-damon-galgut-the-         South African Wins Booker Prize for The
2021-11-03   2021-11-04 promise.html                                 Promise                                     By Alexandra Alter               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/books/p Paul Newmans Story Told Years After His
2021-11-03   2021-11-04 aul-newman-memoir.html                       Death                                       By Elizabeth A Harris            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/books/r
                        eview-splendid-intelligence-elizabeth-
2021-11-03   2021-11-04 hardwick-biography-cathy-curtis.html         Biography of a Critic Who Hated Biographies By Jennifer Szalai               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/busines Central Banks Around the World Are Dialing By Jeanna Smialek and Eshe
2021-11-03   2021-11-04 s/central-banks-interest-rates.html          Back Their PandemicEra Support              Nelson                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/busines
2021-11-03   2021-11-04 s/economy/biden-trade-policy-steel.html      Steel Plan Links Trade With Climate         By Ana Swanson                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/busines Fed Dials Back Stimulus Policy As Prices
2021-11-03   2021-11-04 s/economy/fed-taper-bond-buying.html         Jump                                        By Jeanna Smialek                TX 9-117-906   2022-01-03



                                                                               Page 2957 of 5793
                        https://www.nytimes.com/2021/11/03/busines Spain Is Facing the Loss of a Major Source of
2021-11-03   2021-11-04 s/energy-environment/spain-natural-gas.html Natural Gas                                  By Raphael Minder               TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/03/busines Deere Confronts Strikers Saying New
2021-11-03   2021-11-04 s/john-deere-union-strike.html              Contract Was Final Offer                     By Noam Scheiber                TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/03/busines New York Sun Plans to Make a Digital
2021-11-03   2021-11-04 s/media/new-york-sun-return-online.html     Comeback                                     By Katie Robertson              TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/03/busines Times Reports Subscriptions Are Nearing 84
2021-11-03   2021-11-04 s/media/new-york-times-3q-earnings.html     Million                                      By Marc Tracy                   TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/03/busines Smartmatic Sues RightWing Outlets Over        By Jonah E Bromwich and Michael
2021-11-03   2021-11-04 s/media/smartmatic-newsmax-oan.html         Defamation                                   M Grynbaum                      TX 9-117-906      2022-01-03

                        https://www.nytimes.com/2021/11/03/busines US Blacklists Israeli Surveillance Firm Citing By David E Sanger Nicole Perlroth
2021-11-03   2021-11-04 s/nso-group-spyware-blacklist.html         the Sharing of Spyware                         Ana Swanson and Ronen Bergman TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/03/busines
2021-11-03   2021-11-04 s/student-housing-real-estate.html         Sinking Empire Traps Students And Investors By Matthew Goldstein                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/climate                                                By Brad Plumer Lisa Friedman and
2021-11-03   2021-11-04 /climate-summit-finance-glasgow.html       Glasgow Event Asks Who Covers the Bill         Eshe Nelson                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/movies/
2021-11-03   2021-11-04 the-souvenir-bergman-island.html           Female Filmmakers Can Tell It                  By Beatrice Loayza                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/nyregio Progressive Rival Concedes Election to
2021-11-03   2021-11-04 n/byron-brown-buffalo-mayor.html           Buffalos Mayor                                 By Jesse McKinley                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/nyregio                                                By Emma G Fitzsimmons and
2021-11-03   2021-11-04 n/eric-adams-mayor-nyc.html                Adams Vows to Get Stuff Done From Day 1 Jeffery C Mays                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/nyregio Murphy Reelected in New Jersey In an           By Tracey Tully Nick Corasaniti
2021-11-03   2021-11-04 n/murphy-wins-nj-governor.html             Unexpectedly Close Contest                     and Katie Glueck                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/nyregio After Hunger Strike New York Taxi Drivers
2021-11-03   2021-11-04 n/nyc-taxi-drivers-hunger-strike.html      Win Millions More in Aid                       By Brian M Rosenthal              TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/03/nyregio Hochul Moves Pennsylvania Station Upgrade By Matthew Haag and Patrick
2021-11-03   2021-11-04 n/penn-station-nyc-hochul.html             to the Front of the Development Line      McGeehan                             TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/03/nyregio New York Democrats Assess Their Losses It    By Nicholas Fandos and Katie
2021-11-03   2021-11-04 n/republican-election-results-new-york.html Was a Shellacking                           Glueck                            TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/03/opinion
2021-11-03   2021-11-04 /election-results.html                      Election Day Silver Linings Well a Few      By Gail Collins                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/03/opinion
2021-11-03   2021-11-04 /havana-syndrome.html                       The Havana Syndrome Mystery                 By Serge Schmemann                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/03/opinion We Can Now See the Playbook for
2021-11-03   2021-11-04 /roe-v-wade-texas-abortion-sb8.html         Overturning Roe v Wade                      By Mary Ziegler                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/03/opinion
                        /virgina-election-mcauliffe-democrats-
2021-11-03   2021-11-04 concede.html                                In Virginia One Party Models How to Lose    By Jesse Wegman                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/03/opinion Youngkins Victory Shows Why Democrats
2021-11-03   2021-11-04 /virginia-election-democratic-party.html    Are in Trouble                              By Bret Stephens                  TX 9-117-906     2022-01-03



                                                                                Page 2958 of 5793
                        https://www.nytimes.com/2021/11/03/sports/b
                        aseball/alex-anthopoulos-covid-braves-world- Architect of Atlantas Championship Had to
2021-11-03   2021-11-04 series.html                                  Watch the Clinching at Home                  By Scott Miller                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/sports/b In Astros Clubhouse Disappointment Today
2021-11-03   2021-11-04 aseball/astros-lose-world-series.html        And a Cloudy Future                          By Scott Miller                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/sports/b
                        aseball/freddie-freeman-braves-world-        The Heart and Soul of a Franchise Shines
2021-11-03   2021-11-04 series.html                                  Through                                      By Tyler Kepner                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/sports/b Everyone Wants This Ring But No One
2021-11-03   2021-11-04 aseball/world-series-rings.html              Actually Wears It                            By Tyler Kepner                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/sports/f
                        ootball/aaron-rodgers-covid-vaccinated-      Rodgers Unvaccinated Must Miss Kansas
2021-11-03   2021-11-04 packers.html                                 City Game Under Covid Rules                  By Ben Shpigel                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/sports/f Tom Matte 82 FillIn Quarterback Nearly
2021-11-03   2021-11-04 ootball/tom-matte-dead.html                  Captured Title                               By Richard Sandomir             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/sports/n
                        caafootball/college-football-playoff-        Youre a Good Team Cincinnati Not Good
2021-11-03   2021-11-04 cincinnati.html                              Enough                                       By Billy Witz                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/sports/s
                        occer/wrexham-ryan-reynolds-rob-             A Quest for Content Blurs the Line Between
2021-11-03   2021-11-04 mcelhenney.html                              Spectacle and Sport                          By Rory Smith                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/style/ai
2021-11-03   2021-11-04 da-rodriguez.html                            Choosing Comedy Cheaper Than Therapy         By Sandra E Garcia              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/style/eri
2021-11-03   2021-11-04 c-adams-style.html                           Theres Power in What He Wears                By Vanessa Friedman             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/style/gu
2021-11-03   2021-11-04 cci-love-parade-hollywood.html               Gucci Steps Out in Hollywood                 By Vanessa Friedman             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/technol
                        ogy/google-pentagon-artificial-              Google Seeks Defense Deal That Risks A       By Daisuke Wakabayashi and Kate
2021-11-03   2021-11-04 intelligence.html                            Backlash                                     Conger                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/technol
                        ogy/personaltech/smartphone-focus-
2021-11-03   2021-11-04 mode.html                                    Silence Those Smartphone Interruptions       By J D Biersdorfer              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/theater/
2021-11-03   2021-11-04 julianne-boyd-barrington-stage.html          Leader to Retire At Barrington Stage         By Michael Paulson              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/upshot/
2021-11-03   2021-11-04 powell-fed-rates-inflation.html              Powell Calm As Inflation Raises Alarm        By Neil Irwin                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/ahm
                        aud-arbery-killing-trial-jury-selection-     Only One Black Juror Picked for Trial of     By Richard Fausset and Giulia
2021-11-03   2021-11-04 race.html                                    White Men in Arbery Killing                  Heyward                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/child The Rush Is On Parents Leap for               By Shawn Hubler and Sharon
2021-11-03   2021-11-04 ren-covid-vaccines.html                      Vaccinations Ahead of Thanksgiving           LaFraniere                      TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/03/us/elect Housing Measures Passed Setting the Table
2021-11-03   2021-11-04 ions/affordable-housing-ballot-questions.html for 2022                                    By Jennifer Steinhauer          TX 9-117-906   2022-01-03



                                                                                 Page 2959 of 5793
                        https://www.nytimes.com/2021/11/03/us/elect After Celebrating the US Abroad the
2021-11-03   2021-11-04 ions/biden-virginia-nj.html                 President Returns to Challenges at Home      By Zolan KannoYoungs              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/elect
2021-11-03   2021-11-04 ions/glenn-youngkin.html                    From Wall St Magnate to GOP Star             By Trip Gabriel                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/elect
                        ions/here-are-five-takeaways-from-the-
2021-11-03   2021-11-04 election-results.html                       Assessing the Election Results Joy and Alarm By Shane Goldmacher               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/elect Texas Democratic Stronghold Narrowly         By Edgar Sandoval and James
2021-11-03   2021-11-04 ions/john-lujan-san-antonio-house.html      Favors Republican                            Dobbins                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/mar Margaret York 80 LAPD Trailblazer Who
2021-11-03   2021-11-04 garet-york-dead.html                        Inspired Cagney amp Lacey Dies               By Katharine Q Seelye             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/mich On a Dark Night for Democrats a Star Shone
2021-11-03   2021-11-04 elle-wu-boston-progressives.html            in Boston                                    By Ellen Barry                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/polic Given Chance to Reinvent Policing
2021-11-03   2021-11-04 e-reform-minneapolis-election.html          Minneapolis Opts for What It Knows           By Mitch Smith and Tim Arango TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/03/us/polit China Could Have 1000 Nuclear Warheads by
2021-11-03   2021-11-04 ics/china-military-nuclear.html             2030 Pentagon Report Says                    By Helene Cooper                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/polit Bruised at Polls Democrats Look at Their     By Jonathan Martin and Alexander
2021-11-03   2021-11-04 ics/democrat-losses-2022.html               Missteps                                     Burns                             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/polit Democrats Press Ahead On Ambitious           By Jonathan Weisman and Emily
2021-11-03   2021-11-04 ics/democrats-virginia-biden-congress.html Agenda After Losses at the Polls              Cochrane                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/polit Democrats See Republicans Resurgence as a
2021-11-03   2021-11-04 ics/democrats-virginia-governor-race.html   Vivid Warning                                By Lisa Lerer                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/polit Video Footage Shows Child Near Site
2021-11-03   2021-11-04 ics/drone-strike-kabul-child.html           Minutes Before Drone Strike in Kabul         By Helene Cooper and Eric Schmitt TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/polit
                        ics/rescind-medals-wounded-knee-            Lawmakers Seek to Rescind Medals From
2021-11-03   2021-11-04 massacre.html                               Wounded Knee                                 By Mark Walker                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/polit GOP Turns Education Into Potent Wedge
2021-11-03   2021-11-04 ics/school-republican-campaign-issue.html   Issue                                        By Lisa Lerer and Jeremy W Peters TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/03/us/polit GOP Blocks a Second Voting Rights Bill in
2021-11-03   2021-11-04 ics/senate-republicans-voting-rights-act.html the Senate                                  By Carl Hulse                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/03/us/polit
                        ics/supreme-court-guns-second-                Justices Appear Likely to Strike GunCarry
2021-11-03   2021-11-04 amendment.html                                Law                                         By Adam Liptak                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/03/us/polit
2021-11-03   2021-11-04 ics/virginia-governor-youngkin-trump.html In Virginia Dance With Trump Was Pivotal        By Reid J Epstein              TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/03/us/richa Richard M Ohmann Is Dead at 90 Entwined
2021-11-03   2021-11-04 rd-m-ohmann-dead.html                         Activism and Academia                       By Clay Risen                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/03/world/a Ethiopian Leader Remains Defiant Even as
2021-11-03   2021-11-04 frica/ethiopia-war-un-report.html             Rebels Advance                              By Declan Walsh                TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/03/world/a Tennis Star Accuses Former Chinese Leader
2021-11-03   2021-11-04 sia/china-metoo-peng-shuai-zhang-gaoli.html of Sexual Assault                        By Steven Lee Myers                 TX 9-117-906     2022-01-03



                                                                                 Page 2960 of 5793
                        https://www.nytimes.com/2021/11/03/world/a WHO Gives Approval To Vaccine Made in
2021-11-03   2021-11-04 sia/covaxin-covid-vaccine-who.html         India                                       By Sameer Yasir and Hari Kumar   TX 9-117-906   2022-01-03
                                                                                                               By Victor J Blue Thomas
                        https://www.nytimes.com/2021/11/03/world/a In Afghanistan Rising Threat From ISIS      GibbonsNeff and Christina
2021-11-03   2021-11-04 sia/isis-afghanistan-taliban.html           Looms Over Taliban                         Goldbaum                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/world/a How South Korea Became a Cultural
2021-11-03   2021-11-04 sia/squid-game-korea-bts.html               Juggernaut                                  By Choe SangHun                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/world/a Sunao Tsuboi 96 a Survivor Of Hiroshima
2021-11-03   2021-11-04 sia/sunao-tsuboi-dead.html                  Who Spoke Up                                By Alex Traub                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/world/a Police Rescue Missing Girl In Australia Man
2021-11-03   2021-11-04 ustralia/missing-cleo-smith.html            Is Held                                     By Yan Zhuang                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/world/ Study Implicates Russia In Weapons in
2021-11-03   2021-11-04 weapons-ukraine-russia.html                 Ukraine                                     By Andrew E Kramer              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/your-
2021-11-03   2021-11-04 money/series-i-bonds-inflation-rate.html    Inflation Bonds Are Getting a Big Rate Bump By Ann Carrns                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/climate
                        /carbon-dioxide-emissions-global-           Carbon Dioxide Emissions Rebounded in
2021-11-04   2021-11-04 warming.html                                2021 Nearly Erasing 2020 Declines           By Brad Plumer                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/theater/
2021-11-04   2021-11-04 morning-sun-review.html                     March of the Everywomen                     By Jesse Green                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/polit Biden Rejects Option to Pay Thousands To
2021-11-04   2021-11-04 ics/biden-rejects-payments-migrants.html    Migrants                                    By Zolan KannoYoungs            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/insider/
2021-11-04   2021-11-04 gen-z-millennial-workplace.html             Do Generations Matter Well Maybe            By Emma Goldberg                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/style/ra
2021-11-04   2021-11-04 ngoli-art-diwali.html                       The Art and Ritual of Rangoli               By Anna P Kambhampaty           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/26/arts/mu
2021-10-26   2021-11-05 sic/self-esteem-prioritise-pleasure.html    She Wants Britain to Prioritise Pleasure    By Alex Marshall                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/27/busines
2021-10-27   2021-11-05 s/cbd-japan-cannabis-marijuana.html         A Cannabis Curative Makes Inroads in Japan By Ben Dooley and Hikari Hida    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/29/movies/
2021-10-29   2021-11-05 science-fiction-streaming.html              Twisted Tales and Rousing Twists            By Elisabeth Vincentelli        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/opinion
2021-11-01   2021-11-05 /turning-60-aging.html                      I Just Turned 60 but I Still Feel 22        By Margaret Renkl               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/movies/
2021-11-02   2021-11-05 isolation-review.html                       Isolation                                   By Lena Wilson                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/03/arts/for Arts Groups in Southeast to Receive More
2021-11-03   2021-11-05 d-foundation-southern-cultural-treasures.html Funding                                  By Colin Moynihan                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/movies/
2021-11-03   2021-11-05 simple-as-water-review.html                   Simple as Water                          By Claire Shaffer                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/movies/
2021-11-03   2021-11-05 the-harder-they-fall-review.html              The Old Wests New Look                   By AO Scott                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/nyregio GOP Campaign Defeats Ballot Proposals on
2021-11-03   2021-11-05 n/ny-ballot-measures.html                     Voting                                   By Dana Rubinstein               TX 9-117-906   2022-01-03



                                                                               Page 2961 of 5793
                        https://www.nytimes.com/2021/11/03/nyregio Inquiry Decades Later Further Tangles Case By Jesse McKinley and Danny
2021-11-03   2021-11-05 n/richard-matt-buffalo-murder.html           Of Womans Murder                           Hakim                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/sports/b
                        asketball/scottie-pippen-unguarded-book-     Pippen Takes Aim At Selfish Jordan In His
2021-11-03   2021-11-05 michael-jordan.html                          New Memoir                                 By Sopan Deb                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/sports/o
                        lympics/horses-equestrian-jumping-modern-
2021-11-03   2021-11-05 pentathlon.html                              Pentathlon To Replace Horse Event          By Victor Mather                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/us/tony- Tony Downs Economist Who Wrote About
2021-11-03   2021-11-05 downs-dead.html                              Voting And Race Is Dead at 90              By Sam Roberts                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/arts/des
2021-11-04   2021-11-05 ign/annie-leibovitz-wonderland.html          A Conceptual Artist at Work                By Patricia Morrisroe            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/arts/des
2021-11-04   2021-11-05 ign/new-museum-triennial-review.html         Hidden Strengths of Soft Power             By Holland Cotter                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/arts/mu Nelson Freire 77 Reclusive Piano Virtuoso of
2021-11-04   2021-11-05 sic/nelson-freire-dead.html                  Warmth and Finesse Dies                    By David Allen                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/arts/tele
2021-11-04   2021-11-05 vision/cake-for-all-mankind.html             This Weekend I Have                        By Margaret Lyons                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/arts/tele
2021-11-04   2021-11-05 vision/dexter-review.html                    No It Cant Be Its Its Still Alive          By James Poniewozik              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/busines Large Companies Have Until Jan 4 To
2021-11-04   2021-11-05 s/biden-vaccine-mandate-osha.html            Require Shots                              By Lauren Hirsch                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/busines Bank of England Holds Steady Signaling
2021-11-04   2021-11-05 s/board-of-england-policy-rates.html         Rates May Rise Later                       By Eshe Nelson                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/busines                                              By Rebecca Robbins Aina J Khan
2021-11-04   2021-11-05 s/britain-covid-merck-antiviral.html         UK Blesses Antiviral Pill For Covid19      and Megan Specia                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/04/busines
2021-11-04   2021-11-05 s/cop26-wall-street-pledges-fossil-fuels.html Energy Shift Poses Perils CEOs Say      By David Gelles                    TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/04/busines OPEC and Russia Wont Change Oil Output
2021-11-04   2021-11-05 s/energy-environment/opec-russia-biden.html Plan                                      By Stanley Reed                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/04/busines                                            By Lauren Hirsch and Michael
2021-11-04   2021-11-05 s/tyson-vaccine-mandate.html                Once Faulted Tyson Becomes Vaccine Leader Corkery                          TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/04/busines Didi Investment Bites Uber Which Loses 24
2021-11-04   2021-11-05 s/uber-3q-earnings.html                     Billion                                   By Kate Conger                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/04/climate Dozens of Countries Pledge to Stop Using
2021-11-04   2021-11-05 /cop26-coal-climate.html                    Coal Power                                By Brad Plumer and Lisa Friedman TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/04/climate Thunberg Says Leaders Treat Summit As PR
2021-11-04   2021-11-05 /greta-thunberg-cop26.html                  Event                                     By Jenny Gross                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/04/movies/
2021-11-04   2021-11-05 a-cop-movie-review.html                     A Cop Movie                               By Ben Kenigsberg                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/04/movies/
2021-11-04   2021-11-05 a-man-named-scott-review.html               A Man Named Scott                         By Chris Azzopardi               TX 9-117-906     2022-01-03




                                                                                 Page 2962 of 5793
                        https://www.nytimes.com/2021/11/04/movies/
2021-11-04   2021-11-05 all-is-forgiven-review.html                All Is Forgiven                             By Glenn Kenny                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/movies/
2021-11-04   2021-11-05 beans-review.html                          Beans                                       By Teo Bugbee                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/movies/ Theyre Gods Superheroes and Maybe a
2021-11-04   2021-11-05 eternals-review.html                       Franchise                                   By Manohla Dargis               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/movies/ An Apocalyptic Road Trip That Goes
2021-11-04   2021-11-05 finch-review.html                          Nowhere                                     By Jeannette Catsoulis          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/movies/
2021-11-04   2021-11-05 hive-review.html                           Tending the Beehives With a Stern Jaw       By Manohla Dargis               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/04/movies/
2021-11-04   2021-11-05 mark-mary-some-other-people-review.html Mark Mary amp Some Other People              By Amy Nicholson                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/04/movies/
2021-11-04   2021-11-05 review-this-is-not-a-war-story.html        This Is Not a War Story                   By Beatrice Loayza               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/04/movies/
2021-11-04   2021-11-05 spencer-review.html                        Princess Dianas Fractured Fairy Tale      By AO Scott                      TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/04/movies/
2021-11-04   2021-11-05 the-beta-test-review.html                  The Beta Test                             By Natalia Winkelman             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/04/nyregio Bones in the Backyard How the Police
2021-11-04   2021-11-05 n/bones-cold-case-nyc.html                 Cracked a Grisly Cold Case in Queens      By Ali Watkins and Nate Schweber TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/04/nyregio
2021-11-04   2021-11-05 n/city-council-republicans-nyc.html        Council Grows Diverse and More Republican By Michael Gold and Karen Zraick TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/04/nyregio Narrow Race In New Jersey Could Push It
2021-11-04   2021-11-05 n/nj-governor-race-phil-murphy-victory.html Toward Right                               By Tracey Tully                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/nyregio                                             By Nick Corasaniti and Tracey
2021-11-04   2021-11-05 n/stephen-sweeney-durr-nj-election.html     Trucker Ousts Power Broker In New Jersey Tully                             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/opinion Do Gun Rights Depend on Abortion Rights Its
2021-11-04   2021-11-05 /abortion-guns-supreme-court.html           Up to the Court                            By Linda Greenhouse             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/opinion
2021-11-04   2021-11-05 /democrats-culture-wars.html                Democrats Must Confront Their Privilege    By David Brooks                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/04/opinion Enough Dithering Its Time to Pass Something
2021-11-04   2021-11-05 /democrats-election-congress-vaccines.html Significant                                 By Paul Krugman                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/opinion
2021-11-04   2021-11-05 /democrats-election-results.html           Face Reality Democrats                      By The Editorial Board          TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/04/science Blue Origin Loses Battle Over SpaceX
2021-11-04   2021-11-05 /blue-origin-nasa-spacex-moon-contract.html Contract For NASAs Moon Craft              By Joey Roulette                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/sports/b
2021-11-04   2021-11-05 aseball/ron-washington-world-series.html     10 Years Later Redemption in Game 6       By David Waldstein              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/sports/b
                        asketball/golden-state-stephen-curry-jordan- A Star on the Mend and a Rejuvenated
2021-11-04   2021-11-05 poole.html                                   Golden State                              By Tania Ganguli                TX 9-117-906   2022-01-03



                                                                                Page 2963 of 5793
                        https://www.nytimes.com/2021/11/04/sports/h Bafferts Horses Still Welcomed at the
2021-11-04   2021-11-05 orse-racing/bob-baffert-breeders-cup.html   Breeders Cup                                 By Joe Drape                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/sports/n Delayed 50th Marathon Is Milestone of the
2021-11-04   2021-11-05 yc-marathon-returns.html                    Citys Resilience                             By Michael Gold                     TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/04/technol Facebook Accused of Sinking a StartUp Faces By Sheera Frenkel and Daisuke
2021-11-04   2021-11-05 ogy/facebook-antitrust-lawsuit-phhhoto.html a New Antitrust Lawsuit                       Wakabayashi                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/technol Pamela McCorduck 80 Author Dedicated To
2021-11-04   2021-11-05 ogy/pamela-mccorduck-dead.html              Sharing History of Artificial Intelligence    By Richard Sandomir                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/technol
                        ogy/theranos-elizabeth-holmes-investors-
2021-11-04   2021-11-05 diligence.html                              Investors Exposed As Anything But Diligent By Erin Griffith                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/theater/ Camille Saviola 71 Actor In Star Trek and
2021-11-04   2021-11-05 camille-saviola-dead.html                   Theater                                       By Neil Genzlinger                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/us/ahm Nearly AllWhite Jury in Arbery Case Shows By Richard Fausset and Tariro
2021-11-04   2021-11-05 aud-arbery-killing-trial-jury.html          Limits of an AntiBias Tool                    Mzezewa                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/us/calif
2021-11-04   2021-11-05 ornia-conserve-water.html                   How Californians Save Water                   By Soumya Karlamangla              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/us/calif California Tries to Close the Gap in Math but
2021-11-04   2021-11-05 ornia-math-curriculum-guidelines.html       Sets Off a Backlash                           By Jacey Fortin                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/us/flori A Firestorm in Florida Over the Muzzling of
2021-11-04   2021-11-05 da-professors-lawsuit.html                  Professors                                    By Michael Wines                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/us/kyle- Graphic Video and Dismissal Of Juror in
2021-11-04   2021-11-05 rittenhouse-trial-takeaways.html            Rittenhouse Trial                             By Julie Bosman and Dan Hinkel     TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/04/us/polit                                              By Richard Fausset and Tariro
2021-11-04   2021-11-05 ics/atlanta-mayor-runoff-felicia-moore.html In Atlanta Race No Comeback for ExMayor Mzezewa                                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/us/polit Big Donors Financed Bidens 2020 Run Now
2021-11-04   2021-11-05 ics/biden-donors-white-house.html           Theyre Frustrated                            By Shane Goldmacher                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/us/polit
                        ics/democrats-spending-bill-budget-         In Spending Bill Democrats Use Gimmicks
2021-11-04   2021-11-05 tricks.html                                 They Once Derided                            By Alan Rappeport                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/us/polit Democrats Hunt for Votes in House To Pass By Emily Cochrane and Jonathan
2021-11-04   2021-11-05 ics/house-democrats-biden.html              Social Safety Net Measure                    Weisman                             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/us/polit
                        ics/igor-danchenko-arrested-steele-                                                      By Adam Goldman and Charlie
2021-11-04   2021-11-05 dossier.html                                Contributor to Steele Dossier Is Arrested    Savage                              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/us/polit Senate Confirms the First Latino To Lead the
2021-11-04   2021-11-05 ics/robert-santos-census-bureau.html        US Census Bureau                             By Zach Montague                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/us/polit Justice Dept Sues Texas Over Voting          By Reid J Epstein Nick Corasaniti
2021-11-04   2021-11-05 ics/texas-voting-restrictions-lawsuit.html  Restrictions                                 and Katie Benner                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/us/polit Judge Questions Trumps Grounds for
2021-11-04   2021-11-05 ics/trump-jan-6-documents.html              Keeping Jan 6 Documents Secret               By Luke Broadwater                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/world/a Crackdown Sweeps Ethiopias Capital as         By Declan Walsh and Abdi Latif
2021-11-04   2021-11-05 frica/ethiopia-tigray-crackdown.html        Rebels Close In on City                      Dahir                               TX 9-117-906   2022-01-03



                                                                                 Page 2964 of 5793
                        https://www.nytimes.com/2021/11/04/world/a ANC Suffers Worst Election Setback Since
2021-11-04   2021-11-05 frica/south-africa-election-anc.html          Apartheid Ended                              By Lynsey Chutel                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/world/a Man Charged In Abduction Of a Girl 4 In
2021-11-04   2021-11-05 ustralia/charge-cleo-smith.html               Australia                                    By Yan Zhuang                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/world/c Canada Gives Civilian Authorities               By Ian Austen and Jennifer
2021-11-04   2021-11-05 anada/canada-military-sexual-assault.html     Jurisdiction in Military Sex Assault Cases   Steinhauer                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/world/e
                        urope/brexit-britain-france-johnson-          Bitter FranceUK Feud Is at Heart About       By Mark Landler and Norimitsu
2021-11-04   2021-11-05 macron.html                                   Brexit                                       Onishi                             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/world/e Hub of Vaccine Protests Is Now Covid Hot
2021-11-04   2021-11-05 urope/italy-trieste-covid-protests.html       Spot                                         By Jason Horowitz                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/world/ Israel Passes First Budget In 3 Years Easing
2021-11-04   2021-11-05 middleeast/israel-budget.html                 Chaos                                        By Isabel Kershner                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/article/robert-sarver-Allegations of Racism From Suns Team
2021-11-04   2021-11-05 suns-racism-sexism.html                       Owner Heres What We Know                     By Sopan Deb and Kevin Draper TX 9-117-906        2022-01-03
                        https://www.nytimes.com/article/vaccine-      Answering Questions About the New Rules
2021-11-04   2021-11-05 mandate-biden-osha.html                       From OSHA on Covid                           By Emma Goldberg                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/sports/b Citing Catchings Demands Posey Calls It a
2021-11-05   2021-11-05 aseball/buster-posey-retires.html             Career at 34                                 By James Wagner                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/theater/
                        kristina-wong-sweatshop-overlord-
2021-11-05   2021-11-05 review.html                                   Patriots Deliver Hope With Spools of Thread By Laura CollinsHughes              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/theater/
2021-11-05   2021-11-05 the-visitor-review.html                       A Musical Out of Step With the Times         By Maya Phillips                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/us/emer US Cancels Contract With Troubled Vaccine
2021-11-05   2021-11-05 gent-biosolutions-covid-vaccine.html          Maker                                        By Chris Hamby                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/movies/
2021-11-05   2021-11-05 love-hard-review.html                         Love Hard                                    By Concepcin de Len                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/world/e
                        urope/russia-nuclear-power-climate-           Keeping the Water Piping Hot In Siberia With
2021-11-05   2021-11-05 change.html                                   Nuclear Power                                By Andrew E Kramer                 TX 9-117-906   2022-01-03
                                                                                                                   By Nadja Popovich Noah Pisner
                        https://www.nytimes.com/interactive/2021/10/                                               Nick Bartzokas Evan Grothjan
                        19/climate/dixie-fire-storm-clouds-           See How the Dixie Fire Created Its Own       Daniel Mangosing Karthik Patanjali
2021-10-19   2021-11-06 weather.html                                  Weather                                      and Scott Reinhard                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/opinion
2021-11-02   2021-11-06 /biden-china-cold-war.html                    Theres No Cold War With China                By Joseph S Nye Jr                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/02/opinion I Was Told I Have Career Advantages as a
2021-11-02   2021-11-06 /culture/board-diversity-black-women.html   Black Woman                                By Edith Cooper                      TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/03/busines In a Workers Economy Who Really Holds the
2021-11-03   2021-11-06 s/jobs-workers-economy.html                 Cards                                      By Emma Goldberg                     TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/03/sports/b
2021-11-03   2021-11-06 en-true-nyc-marathon.html                   FirstTime Marathoner Values the Hired Help By Scott Cacciola                    TX 9-117-906     2022-01-03




                                                                                 Page 2965 of 5793
                        https://www.nytimes.com/2021/11/04/movies/
2021-11-04   2021-11-06 north-by-current-review.html                A Transgender Artist Goes Home Again        By Nicolas Rapold                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/04/opinion What Should We Actually Do About
2021-11-04   2021-11-06 /facebook-experts.html                      Facebook                                    By Farhad Manjoo                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/04/realesta
2021-11-04   2021-11-06 te/england-seaside-towns-resorts.html       Rejuvenation for Britains seaside resorts   By Mark Ellwood                   TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/04/realesta
2021-11-04   2021-11-06 te/florida-hallandale-beach-real-estate.html A coastal alternative to Miamis scene       By Shivani Vora                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/04/realesta
2021-11-04   2021-11-06 te/hawaii-housing-prices-pandemic.html       The new price of paradise                   By Michael Croley                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/arts/des
2021-11-05   2021-11-06 ign/hunter-biden-art-buyers.html             A Gallery Balances on an Ethical Tightrope By Graham Bowley                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/arts/des
                        ign/hunter-biden-exhibition-berges-          Random Acts Of Artwork Committed As
2021-11-05   2021-11-06 gallery.html                                 Therapy                                     By Jason Farago                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/arts/mu
2021-11-05   2021-11-06 sic/mtt-new-york-philharmonic.html           A Stirring Return for Michael Tilson Thomas By Anthony Tommasini             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/arts/mu
2021-11-05   2021-11-06 sic/snail-mail-valentine-review.html         Looking to a Bleeding Heart for Inspiration By Lindsay Zoladz                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/arts/tele Get the Kill Room Ready Dexter Has
2021-11-05   2021-11-06 vision/dexter-where-we-left-off.html         Returned                                    By Alexis Soloski                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/arts/tele JoAnna Cameron 73 First Female Superhero
2021-11-05   2021-11-06 vision/joanna-cameron-dead.html              on TV                                       By Katharine Q Seelye            TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/busines Aaron Feuerstein 95 Mill Owner Who
2021-11-05   2021-11-06 s/aaron-feuerstein-dead.html                 Refused to Leave Massachusetts Dies         By Clay Risen                    TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/05/busines Boeing Directors To Settle Suit Over 2
2021-11-05   2021-11-06 s/boeing-directors-737-max-settlement.html Tragedies                                       By Niraj Chokshi                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/busines Congress Investigating McKinsey Over Its        By Walt Bogdanich and Michael
2021-11-05   2021-11-06 s/congress-mckinsey-opioid-crisis.html     Role in the Opioid Crisis                       Forsythe                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/busines Surge in Hiring Shows Economy Is Bouncing By Nelson D Schwartz and Talmon
2021-11-05   2021-11-06 s/economy/october-2021-jobs-report.html    Back                                            Joseph Smith                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/busines
2021-11-05   2021-11-06 s/economy/wages-inflation.html             As Wages and Inflation Duel the Fed Watches By Jeanna Smialek                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/busines
2021-11-05   2021-11-06 s/lakefront-home-destinations.html         The growing appeal of lake living               By Shivani Vora                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/climate Energy Department to Invest In Carbon
2021-11-05   2021-11-06 /glasgow-carbon-removal-climate.html       Removal Research                                By Brad Plumer                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/health/ Antiviral Pill Is Highly Effective For Treating
2021-11-05   2021-11-06 pfizer-covid-pill.html                     Covid Pfizer Says                               By Rebecca Robbins               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/movies/
2021-11-05   2021-11-06 kristen-stewart-spencer.html               A Stars Princess Diaries                        By Kyle Buchanan                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/nyregio DA in Albany Lists Concerns In Cuomo            By Luis FerrSadurn Grace Ashford
2021-11-05   2021-11-06 n/andrew-cuomo-da-charges.html             Case                                            and Jonah E Bromwich             TX 9-117-906   2022-01-03



                                                                                  Page 2966 of 5793
                        https://www.nytimes.com/2021/11/05/nyregio
                        n/edward-mullins-police-union-             Retirement Takes Effect Same Day As a        By Rebecca Davis OBrien and Ali
2021-11-05   2021-11-06 convicted.html                             Penalty                                      Watkins                         TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/05/opinion The Pandemic Taught Us to Stop Racing
2021-11-05   2021-11-06 /culture/nyc-marathon-running-slower.html Against Ourselves                               By Lindsay Crouse               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/realesta
2021-11-05   2021-11-06 te/cliff-homes-architecture.html            Living on the edge literally                  By Paulette Perhach             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/realesta
                        te/portugal-comporta-real-estate-resorts-
2021-11-05   2021-11-06 homes.html                                  Portugals open secret                         By Shivani Vora                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/sports/c
2021-11-05   2021-11-06 anelo-alvarez-caleb-plant-boxing.html       lvarez Looks to Unify the 168Pound Titles     By Morgan Campbell              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/sports/f
2021-11-05   2021-11-06 ootball/coronavirus-aaron-rodgers.html      Rodgers Sees Covid Rules As Senseless         By Emmanuel Morgan              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/sports/k Will the Race and a Record Go to the Swiftest
2021-11-05   2021-11-06 enenisa-bekele-nyc-marathon.html            And What if Hes 39                            By Matthew Futterman            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/sports/n                                               By The New York Times and Jer
2021-11-05   2021-11-06 yc-marathon-historical-photos.html          262 AT 50 Before the Race                     Longman                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/sports/s
                        occer/ronaldo-manchester-united-            Beckham Ronaldo And the Solution As the
2021-11-05   2021-11-06 beckham.html                                Problem                                       By Rory Smith                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/sports/t
2021-11-05   2021-11-06 ennis/barbora-krejcikova-interview.html     Tennis grew on her                            By Cindy Shmerler               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/sports/t
2021-11-05   2021-11-06 ennis/iga-swiatek-wta-finals.html           A fan favorite gets ready                     By Cindy Shmerler               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/sports/t
2021-11-05   2021-11-06 ennis/wta-finals-mexico.html                Tournaments next stop Mexico                  By Stuart Miller                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/sports/u UFC Champ Wants the Glory and a Normal
2021-11-05   2021-11-06 fc-268-kamaru-usman.html                    Life Too                                      By Emmanuel Morgan              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/technol Storefronts In Reality To Show Off The
2021-11-05   2021-11-06 ogy/facebook-stores-meta-metaverse.html     Virtual                                       By Mike Isaac                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/technol Google Temps Lost a Bonus And Then They
2021-11-05   2021-11-06 ogy/google-workers.html                     Won It Back                                   By Daisuke Wakabayashi          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/upshot/ Surging Job Growth Shows Economy Is Not
2021-11-05   2021-11-06 jobs-numbers-stagflation-scare.html         Stagnating                                    By Neil Irwin                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/us/ahm Starkly Conflicting Stories Open Arbery         By Richard Fausset and Tariro
2021-11-05   2021-11-06 aud-arbery-trial.html                       Murder Trial                                  Mzezewa                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/us/pand                                                By Jack Healy Audra D S Burch
2021-11-05   2021-11-06 emic-funk-america.html                      A State of the Union Both Bitter and Gloomy and Patricia Mazzei               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/us/polit At Funeral for Powell Republicans and
2021-11-05   2021-11-06 ics/colin-powell-funeral.html               Democrats Are Brought Together                By David E Sanger               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/us/polit Prosecutors at Guantnamo Agree to Reassess
2021-11-05   2021-11-06 ics/guantanamo-torture-foia-cia.html        Secrets                                       By Carol Rosenberg              TX 9-117-906   2022-01-03




                                                                                Page 2967 of 5793
                        https://www.nytimes.com/2021/11/05/us/polit                                                     By Jonathan Weisman Emily
2021-11-05   2021-11-06 ics/house-infrastructure-reconciliation.html Democrats Put Safety Net Bill Back on Hold         Cochrane and Catie Edmondson     TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/us/polit                                                     By Michael S Schmidt William K
                        ics/project-veritas-investigation-ashley-biden- People Tied to Project Veritas Scrutinized in   Rashbaum Precious Fondren and
2021-11-05   2021-11-06 diary.html                                      Theft of Diary From Bidens Daughter             Adam Goldman                     TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/us/polit Enraged Parents Turn a Civic Calling Into a
2021-11-05   2021-11-06 ics/school-board-threats.html                   Dangerous Duty                                  By Alan Feuer                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/us/polit Tens of Thousands in State Dept Gifts Are
2021-11-05   2021-11-06 ics/state-dept-missing-gifts.html               Missing Report Finds                            By Michael S Schmidt             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/us/tom
                        b-of-the-unknown-soldier-100th-                 Public Will Be Allowed Near Tomb of
2021-11-05   2021-11-06 anniversary.html                                Unknowns For 1st Time Since 1948                By Maria Cramer                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/us/usc-
2021-11-05   2021-11-06 official-varsity-blues-guilty.html              ExOfficial At USC Pleads Guilty To Fraud        By Anemona Hartocollis           TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/us/voti Under Fire University of Florida Lets
2021-11-05   2021-11-06 ng-rights-florida-professors-testify.html       Professors Testify in Voting Rights Case        By Michael Wines                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/world/a Tigrayans Forge Alliance With Eight Ethnic
2021-11-05   2021-11-06 frica/ethiopia-tigray-eight-groups.html         Groups To Vie for Ethiopian Rule                By Abdi Latif Dahir and Lara Jakes TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/world/a UN Rights Panel Appoints Expert to
2021-11-05   2021-11-06 frica/un-rights-panel-sudan-coup.html           Investigate Abuses in Sudan Coup                By Nick CummingBruce             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/world/a Chinas Zero Covid Policy Leaves a City in
2021-11-05   2021-11-06 sia/china-coronavirus-ruili.html                Perpetual Lockdown                              By Vivian Wang and Joy Dong      TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/05/world/a Pleas Made to Singapore To Stop Execution
2021-11-05   2021-11-06 sia/singapore-capital-punishment-drugs.html of Man With Mental Disability                       By Richard C Paddock             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/world/e Unmoved by Climate Promises Activists Hit            By Megan Specia and Stephen
2021-11-05   2021-11-06 urope/cop-protests.html                     Glasgows Streets                                    Castle                           TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/world/e ExMacron Aide Convicted of Assault and
                        urope/france-macron-alexandre-benalla-      Posing as Officer Is Sentenced to House
2021-11-05   2021-11-06 guilty.html                                 Arrest                                              By Aurelien Breeden              TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/05/world/e First Black Woman in Bundestag Wants to
2021-11-05   2021-11-06 urope/germany-black-woman-bundestag.html Alter Image of Germanness                              By Ian Bateson                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/world/e
                        urope/shortages-german-economic-           German Economy Is Being Hampered By
2021-11-05   2021-11-06 growth.html                                Supply Problems                                      By Melissa Eddy                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/world/ As Erdogans Grip on Turkey Wobbles He
2021-11-05   2021-11-06 middleeast/erdogan-turkey-cop26.html       Gets Spikier on World Stage                          By Carlotta Gall                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/your-
                        money/open-enrollment-federal-health-
2021-11-05   2021-11-06 insurance.html                             New Ballgame for Health Marketplace                  By Ann Carrns                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/article/eternals-
2021-11-05   2021-11-06 marvel-chloe-zhao.html                     A Few Truths About Eternals                          By Devin Fuller                  TX 9-117-906     2022-01-03




                                                                                     Page 2968 of 5793
                        https://www.nytimes.com/live/2021/11/05/bus
                        iness/jobs-report-stock-market-news/the-bank-
                        of-england-adds-green-criteria-to-its-        British Central Bank Moves to Make Its
2021-11-05   2021-11-06 corporate-bond-purchases                      Corporate Bond Purchases Greener           By Eshe Nelson                TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/05/us/polit Trump Justice Dept Official Refuses to
2021-11-06   2021-11-06 ics/jeffrey-clark-capitol-riot-committee.html Answer Jan 6 House Panels Questions        By Luke Broadwater            TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/06/nyregio Garners Mother Wanted Answers on His
2021-11-06   2021-11-06 n/eric-garner-death-police.html               Death She Isnt Satisfied                   By Troy Closson               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/06/upshot/ Democrats Balance Price and Innovation in
2021-11-06   2021-11-06 democrats-drug-prices.html                    Prescription Drug Compromise               By Margot SangerKatz          TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/07/02/opinion
2021-07-02   2021-11-07 /america-july-4-ideas.html                    Snap Out of It America                     By Ezekiel Kweku              TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/07/02/opinion
2021-07-02   2021-11-07 /compulsory-national-service-america.html  To Unite a Divided Country Enlist the Young By Jonathan Holloway            TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/07/02/opinion
2021-07-02   2021-11-07 /student-loan-medical-debt-forgiveness.html Make Americans Crushing Debt Disappear       By Astra Taylor               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/07/02/opinion The Strange Sad Death of Americas Political
2021-07-02   2021-11-07 /us-politics-edward-bellamy.html            Imagination                                  By Daniel Immerwahr           TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/07/07/opinion
2021-07-07   2021-11-07 /us-states.html                             Weve Had 50 States For Long Enough           By Noah Millman               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/07/28/opinion
2021-07-28   2021-11-07 /noncitizen-voting-us-elections.html        You Shouldnt Have to be a Citizen to Vote    By Atossa Araxia Abrahamian   TX 9-117-906    2022-01-03

                        https://www.nytimes.com/interactive/2021/08/ We the People Have a Few Ideas for the      Compiled by The New York Times
2021-08-04   2021-11-07 04/opinion/us-constitution-amendments.html Constitution                                  Opinion                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/08/11/opinion
                        /politics/we-need-to-build-our-way-out-of-this
2021-08-11   2021-11-07 mess.html                                      Let America Build                         By Eli Dourado                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/08/18/opinion
2021-08-18   2021-11-07 /us-canada-immigration.html                    How to Reverse the Demographic Decline    By Shikha Dalmia              TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/08/25/opinion
2021-08-25   2021-11-07 /declaration-war-president-Congress.html       End the Imperial Presidency               By Stephen Wertheim           TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/09/01/opinion
2021-09-01   2021-11-07 /politics/kids-right-to-vote.html              Give Babies the Vote                      By Lyman Stone                TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/09/08/books/r
2021-09-08   2021-11-07 eview/dara-horn-people-love-dead-jews.html Kaddish                                       By Yaniv Iczkovits            TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/09/14/books/r
                        eview/the-girls-in-the-wild-fig-tree-nice-
2021-09-14   2021-11-07 lengete.html                               Her Whole Self                                By Sonia Faleiro              TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/09/15/opinion How CryptoCurrency Can Help Keep
2021-09-16   2021-11-07 /cryptocurrency-americans-free.html        America Free                                  By James Poulos               TX 9-117-906    2022-01-03



                                                                                  Page 2969 of 5793
                        https://www.nytimes.com/2021/09/21/books/r
                        eview/the-wrong-end-of-the-telescope-rabih-
2021-09-21   2021-11-07 alameddine.html                             Saviors With Selfies                         By Dina Nayeri             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/09/24/books/r
2021-09-24   2021-11-07 eview/the-amur-river-colin-thubron.html     With the Flow                                By Ben Ehrenreich          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/09/28/books/r
2021-09-28   2021-11-07 eview/robert-e-lee-allen-c-guelzo.html      The Traitor                                  By David Goldfield         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/09/28/books/r
2021-09-28   2021-11-07 eview/stanislaw-lem-truth-dialogues.html    Idiot Calculators                            By Scott Bradfield         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/01/books/r
                        eview/wildland-evan-osnos-the-raging-2020s-
2021-10-01   2021-11-07 alec-ross.html                              Our Broken Social Contract                   By Angus Deaton            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/04/books/r
                        eview/jocelyn-nicole-johnson-my-
2021-10-04   2021-11-07 monticello.html                             Sweet Home Virginia                          By Bridgett M Davis        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/05/books/r
2021-10-05   2021-11-07 eview/amor-towles-lincoln-highway.html      Along for the Ride                           By Chris Bachelder         TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/05/books/r
                        eview/walk-with-me-kate-clifford-larson-until-
2021-10-05   2021-11-07 i-am-free-keisha-blain-fannie-lou-hamer.html Freedom Singer                              By Jill Watts              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/06/books/r
2021-10-06   2021-11-07 eview/james-han-mattson-reprieve.html         Harms Ways                                 By Victor LaValle          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/08/books/r
                        eview/crisis-zone-simon-hanselmann-street- How Comics Responded to Our LockedDown
2021-10-08   2021-11-07 cop-art-spiegelman.html                       Anxious Covid Lives                        By Ed Park                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/18/books/r
2021-10-18   2021-11-07 eview/oh-william-elizabeth-strout.html        The Marriage Plot                          By Jennifer Egan           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/19/books/r
                        eview/adam-schiff-midnight-in-
2021-10-19   2021-11-07 washington.html                               Eyewitness to the Revolution               By Jonathan Martin         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/28/books/r
                        eview/lauren-blackwood-within-these-wicked-
2021-10-28   2021-11-07 walls.html                                    Inside the List                            By Elisabeth Egan          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/interactive/2021/10/
2021-10-28   2021-11-07 28/nyregion/ny-indianpoint.html               What Happens After a Nuclear Plant Closes By Patrick McGeehan         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/books/r
                        eview/montagu-parker-ark-of-the-covenant-
2021-10-31   2021-11-07 jerusalem.html                                Are We All Writing the Same Book           By Olivia Parker           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/arts/nea Neal Brennans Stars Include Billy Wilder and
2021-11-01   2021-11-07 l-brennan.html                                Kanye                                      By Elisabeth Vincentelli   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/opinion
2021-11-01   2021-11-07 /stopping-climate-change.html                 A WinWin Solution On Climate Change        By Peter Coy               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/realesta
2021-11-01   2021-11-07 te/shopping-for-alarm-clocks.html             Opening Your Eyes Gets a Little Easier     By Tim McKeough            TX 9-117-906   2022-01-03



                                                                                 Page 2970 of 5793
                        https://www.nytimes.com/2021/11/01/style/at-
2021-11-01   2021-11-07 home-covid-tests-socializing.html            Making Covid Tests a Habit                  By Alyson Krueger         TX 9-117-906   2022-01-03

                        https://www.nytimes.com/interactive/2021/11/ Kenneth Branagh Is Finally Processing His
2021-11-01   2021-11-07 01/magazine/kenneth-branagh-interview.html Childhood Trauma                              By David Marchese         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/arts/mu
                        sic/wayne-shorter-esperanza-spalding-
2021-11-02   2021-11-07 iphigenia.html                               Real Magic No Tricks No Gimmicks            By Giovanni Russonello    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/arts/tele
2021-11-02   2021-11-07 vision/dexter-michael-c-hall.html            Dexter Nails His Man Again                  By Alexis Soloski         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/magazi Should I Tell a Facebook Friend I Had an
2021-11-02   2021-11-07 ne/affair-cheating-ethics.html               Affair With Her Partner                     By Kwame Anthony Appiah   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/magazi
2021-11-02   2021-11-07 ne/israel-american-jews.html                 Generation Exodus                           By Marc Tracy             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/magazi
2021-11-02   2021-11-07 ne/journaling.html                           How to Keep a Journal                       By Malia Wollan           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/magazi
2021-11-02   2021-11-07 ne/take-notes-while-reading.html             Writing in Books                            By Robert Rubsam          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/opinion
2021-11-02   2021-11-07 /men-covid-19-deaths.html                    Why Do More Men Die of Covid19              By Ezekiel J Emanuel      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/realesta
                        te/they-were-looking-for-a-place-with-an-
2021-11-02   2021-11-07 elevator-they-found-a-lot-more.html          The Ups and Downs of House Hunting          By Tim McKeough           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/style/te
2021-11-02   2021-11-07 xas-rose-queen.html                          Here She Comes the Rose Queen of Texas      By Alex Schechter         TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/03/arts/dan
2021-11-03   2021-11-07 ce/indigenous-enterprise-joyce-theater.html With Spirit a Troupe Educates and Heals      By Brian Seibert          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/magazi Its Apple Season This Galette Cuts the Chill
2021-11-03   2021-11-07 ne/apple-sweet-potato-recipe.html           With a Kick                                  By Dorie Greenspan        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/magazi
2021-11-03   2021-11-07 ne/celeste-barber.html                      False Moves                                  By Carina Chocano         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/magazi
2021-11-03   2021-11-07 ne/pandemic-dreams.html                     The Global Dream Job                         By Brooke Jarvis          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/movies/
                        aunjanue-ellis-king-richard-oracene-
2021-11-03   2021-11-07 price.html                                  A Path Filled With Fun and Service           By Iman Stevenson         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/movies/
2021-11-03   2021-11-07 passing-macbeth-belfast.html                Solemn Tones For a New Season                By Kyle Buchanan          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/opinion
2021-11-03   2021-11-07 /trump-youngkin-virginia.html               Behold the Rise of the Sorta Trumper         By Frank Bruni            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/realesta
2021-11-03   2021-11-07 te/gardening-lichen-fall.html               Its Time to Study the Book of Lichens        By Margaret Roach         TX 9-117-906   2022-01-03




                                                                                 Page 2971 of 5793
                        https://www.nytimes.com/2021/11/03/realesta
                        te/house-hunting-in-mexico-a-modern-hillside-A Modern Masterpiece On a Hillside in
2021-11-03   2021-11-07 masterpiece-in-acapulco.html                 Acapulco                                  By Lisa Prevost                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/theater/
2021-11-03   2021-11-07 alice-childress-trouble-in-mind.html         Alice Childress Told the Truth            By Maya Phillips                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/theater/
2021-11-03   2021-11-07 jesus-christ-superstar-reminiscences.html    Fresh Memories of Jesus Christ Superstar  By Scott Heller                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/arts/ivy- Ivy Nicholson 88 Model And Warhol Factory
2021-11-04   2021-11-07 nicholson-dead.html                          Star                                      By John Leland                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/magazi
                        ne/poem-we-feel-now-a-largeness-coming-                                                By Tracy K Smith and Reginald
2021-11-04   2021-11-07 on.html                                      Poem We Feel Now a Largeness Coming On Dwayne Betts                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/magazi Judge John Hodgman on the Uncapped Water
2021-11-04   2021-11-07 ne/water-bottle-spill.html                   Bottle                                    By John Hodgman                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/04/movies/
2021-11-04   2021-11-07 benedict-cumberbatch-power-of-the-dog.html Unearthing and Nurturing an Inner Monster By Roslyn Sulcas                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/movies/
2021-11-04   2021-11-07 meryl-streep-dont-look-up.html                 How Meryl Streep Became President        By Dave Itzkoff                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/movies/ A Film About a Musical About Writing a
2021-11-04   2021-11-07 tick-tick-boom-lin-manuel-netflix.html         Musical                                  By Sarah Bahr                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/needies
                        t-cases/bringing-books-to-children-that-speak- Bringing Children Books That Speak Their
2021-11-04   2021-11-07 their-language.html                            Language                                 By Kristen Bayrakdarian        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/nyregio At the Starting Line of New Yorks Biggest
2021-11-04   2021-11-07 n/nyc-marathon-history.html                    Race                                     By George A Hirsch             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/opinion 3000 Miles From Glasgow a Town And Its By Binyamin Appelbaum and
2021-11-04   2021-11-07 /arctic-climate-change-canada.html             Polar Bears Face the Future              Damon Winter                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/opinion
2021-11-04   2021-11-07 /elon-musk-capitalism.html                     Capitalism Is Out of This World          By Jill Lepore                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/opinion
                        /graeber-wengrow-dawn-of-everything-                                                    By David Graeber and David
2021-11-04   2021-11-07 history.html                                   What Is the Cause Of Social Inequality   Wengrow                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/realesta
                        te/manhattan-valley-a-more-affordable-pocket-A More Affordable Pocket of the Upper West
2021-11-04   2021-11-07 of-the-upper-west-side.html                    Side                                     By Karin Lipson                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/realesta
                        te/which-cities-are-growing-most-at-the-
2021-11-04   2021-11-07 expense-of-others.html                         Residents Ebb and Flow Among Cities      By Michael Kolomatsky          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/sports/f Opposite Directions Upgraded Rams Face
2021-11-04   2021-11-07 ootball/nfl-week-9-picks.html                  Depleted Titans                          By Emmanuel Morgan             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/style/th
2021-11-04   2021-11-07 anksgiving-family-social-qs.html               Unreasonable Fears                       By Philip Galanes              TX 9-117-906   2022-01-03




                                                                               Page 2972 of 5793
                        https://www.nytimes.com/2021/11/05/movies/
2021-11-04   2021-11-07 winter-movies-2021-streaming-theater.html The Listings                                 By Ben Kenigsberg        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/interactive/2021/11/ They Wanted a Balcony in Brooklyn on a
2021-11-04   2021-11-07 04/realestate/04hunt-mullin.html             Budget Which Option Would You Choose      By Joyce Cohen           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/arts/des
2021-11-05   2021-11-07 ign/memphis-museum.html                      In Memphis a Park and Art Upgrade         By Arthur Lubow          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/arts/mu
2021-11-05   2021-11-07 sic/marian-anderson-opera-music.html         Voice of Justice And Authenticity         By Anthony Tommasini     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/arts/mu Ronnie Wilson Founder of the Gap Band Dies
2021-11-05   2021-11-07 sic/ronnie-wilson-dead.html                  at 73                                     By Alex Traub            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/books/r
                        eview/emily-ratajkowski-my-body-toufah-
2021-11-05   2021-11-07 jallow-toufah-n-west-moss-flesh-blood.html Memoirs                                     By Melissa Febos         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/books/r
                        eview/how-war-changed-rondo-romana-
2021-11-05   2021-11-07 romanyshyn-andriy-lesiv.html                 Battle Scars                              By Gal Beckerman         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/books/r New in Paperback First Principles and The
2021-11-05   2021-11-07 eview/new-paperbacks.html                    Searcher                                  By Jennifer Krauss       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/books/r
                        eview/steve-sheinkin-fallout-spies-
                        superbombs-and-the-ultimate-cold-war-
2021-11-05   2021-11-07 showdown.html                                Explosive Secrets                         By Abby McGanney Nolan   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/busines When Bad Climate News Is Good for Green
2021-11-05   2021-11-07 s/climate-green-stock-market.html            Stocks                                    By Jeff Sommer           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/busines
                        s/what-to-think-at-work-when-youre-          What to Expect at Work When Youre
2021-11-05   2021-11-07 expecting.html                               Expecting                                 By Roxane Gay            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/fashion
                        /weddings/whitney-montgomery-lennie-         Now Together Wednesdays Through
2021-11-05   2021-11-07 breland-wedding.html                         Tuesdays                                  By Tammy La Gorce        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/nyregio
2021-11-05   2021-11-07 n/new-york-city-marathon-director.html       Most Weekends a Marathon Director Relaxes By Alix Strauss          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/nyregio
2021-11-05   2021-11-07 n/outdoor-dining-nyc.html                    Dining Sheds Represent Blight to Some     By Ginia Bellafante      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/nyregio William Conway 91 Conservationist Who
2021-11-05   2021-11-07 n/william-conway-dead.html                   Reimagined Americas Zoos Dies             By Sam Roberts           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/opinion
                        /israel-moves-to-silence-the-stalwarts-of-
2021-11-05   2021-11-07 palestinian-civil-society.html               Israel Is Silencing Us                    By Zena Agha             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/realesta
2021-11-05   2021-11-07 te/landmarks-arent-always-forever.html       Historic Doesnt Always Mean Forever       By John Freeman Gill     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/realesta
2021-11-05   2021-11-07 te/nyc-landmarks-demolition.html             A Harlem Landmark Demolished              By John Freeman Gill     TX 9-117-906   2022-01-03




                                                                             Page 2973 of 5793
                        https://www.nytimes.com/2021/11/05/realesta Someone Out There Wants Your Ancient
2021-11-05   2021-11-07 te/retro-home-decor-bathroom-kitchen.html Pink Toilet                                     By Ronda Kaysen                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/05/sports/b The Big Questions Heading Into Baseball
2021-11-05   2021-11-07 aseball/mlb-free-agency.html                 Free Agency                                  By Benjamin Hoffman             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/05/style/av
2021-11-05   2021-11-07 eri-harper-kenneth-robinson-wedding.html     Finding Love on the Overnight Shift          By Vincent M Mallozzi           TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/05/style/br
2021-11-05   2021-11-07 andon-george-adam-eaker-wedding.html         When Art and Music Collide                   By Emma Grillo                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/05/style/do Their Love for Fun Inspired a Love for Each
2021-11-05   2021-11-07 uglas-atkins-charles-huck-wedding.html       Other                                        By Jenny Block                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/05/style/er
2021-11-05   2021-11-07 nest-owens-barry-johnson-wedding.html        A Crush That Turned Into Something More      By Nina Reyes                   TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/05/style/gil
2021-11-05   2021-11-07 gentile-hannah-mandel-wedding.html           Connecting With Art and Artists Books        By Rosalie R Radomsky           TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/05/style/gi
2021-11-05   2021-11-07 nny-valonis-harry-mirra-wedding.html         Till Tonights Sleepover Do They Stay Apart   By Tammy La Gorce               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/05/style/hu
                        laween-american-ballet-theater-studio-
2021-11-05   2021-11-07 museum-gala.html                             Disco Queens For Halloween                   By Denny Lee                    TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/05/style/je Still Playing House but Now on a Permanent
2021-11-05   2021-11-07 ssica-rosenblum-steve-young-wedding.html Basis                                            By Nina Reyes                   TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/05/style/ju At the Capitol an Important Proposal to
2021-11-05   2021-11-07 lia-tishman-adam-elias-wedding.html         Consider                                      By Kristen Bayrakdarian         TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/05/style/mi
2021-11-05   2021-11-07 chael-rubin-fanatics-76ers.html             Michael Rubins Big Shot With Fanatics         By Katherine Rosman             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/05/style/m
2021-11-05   2021-11-07 odern-love-fate-tarot-tale-of-mr-kale.html  The Curious Tale of Mr Kale                   By Felice Neals                 TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/05/style/za
2021-11-05   2021-11-07 chary-chan-ashley-mungiguerra-wedding.html Letting the TSA In on His Plan               By Jenny Block                    TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/05/technol
2021-11-05   2021-11-07 ogy/nft-nyc-metaverse.html                   Crypto Is Cool Get on the Yacht            By Kevin Roose                    TX 9-117-906    2022-01-03
                        https://www.nytimes.com/interactive/2021/11/
2021-11-05   2021-11-07 05/magazine/sushi-us.html                    The Untold Story of Sushi in America       By Daniel Fromson                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/interactive/2021/11/ A Visual Tour of New Yorks 750Mile Bicycle By Jane Margolies and Wm
2021-11-05   2021-11-07 05/nyregion/ny-empire-trail.html             Route                                      Ferguson                          TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/06/busines Berkshire Hathaways Profits Dropped in
2021-11-06   2021-11-07 s/dealbook/berkshire-hathaway-earnings.html Third Quarter Reflecting US Slowdown          By Stephen Gandel               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/06/busines
2021-11-06   2021-11-07 s/economy/unions-race-boston.html           Can Diversity Be UnionMade                    By Eduardo Porter and Tony Luong TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/busines Mezcal Enthusiasts Flock To Mexico With
2021-11-06   2021-11-07 s/mezcal-sales-growth-oaxaca.html           Dreams Of Lightning in a Bottle               By Sheila Yasmin Marikar        TX 9-117-906    2022-01-03



                                                                                 Page 2974 of 5793
                        https://www.nytimes.com/2021/11/06/climate Two Generations One Mostly Female
2021-11-06   2021-11-07 /climate-activists-glasgow-summit.html       Decades Apart on a Climate Fix              By Somini Sengupta               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/climate Bill Includes Money for Communities to        By Coral Davenport and
2021-11-06   2021-11-07 /infrastructure-bill-climate.html            Invest in Climate Resilience                Christopher Flavelle             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/opinion
2021-11-06   2021-11-07 /lyme-disease-medicine.html                  How I Became Extremely OpenMinded           By Ross Douthat                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/opinion
2021-11-06   2021-11-07 /sunday/democrats-elections.html             A WokeUp Call for Democrats                 By Maureen Dowd                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/realesta How Do I Get My Landlord To Pay Me for
2021-11-06   2021-11-07 te/rent-stabilized-apartment-repairs.html    an Oven                                     By Ronda Kaysen                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/sports/
2021-11-06   2021-11-07 molly-seidel-nyc-marathon.html               From Coffee and Hardware to Olympic Glory By Scott Cacciola                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/sports/n After a Rough Year New York Road Runners
2021-11-06   2021-11-07 yrr-ceo-search.html                          Looks Ahead                                 By Matthew Futterman             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/style/an-
2021-11-06   2021-11-07 8-year-old-explains-the-metaverse.html       My Metaverse Tour Guide                     By Alex Williams                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/style/an
2021-11-06   2021-11-07 xious-avoidant-secure-attached-book.html     One Dating Book Has Still Got You Covered By Foster Kamer                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/style/do
2021-11-06   2021-11-07 es-everyone-have-a-cold-right-now.html       Pass the Tissues                            By Shane ONeill                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/style/pi
                        nkpantheress-has-1-million-fans-on-          Bard of Gen Z Angst Now Draws a Legion
2021-11-06   2021-11-07 tiktok.html                                  Of TikTok Followers                         By Danya Issawi                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/upshot/ Americas Economy Is Strong Even if It
2021-11-06   2021-11-07 inflation-psychology-economy.html            Doesnt Feel That Way                        By Neil Irwin                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/us/polic                                              By Kim Barker Steve Eder David D
2021-11-06   2021-11-07 e-traffic-stops-shooting.html                When Police Call a Car a Weapon             Kirkpatrick and Arya Sundaram    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/us/polit They Broke With Party On Infrastructure      By Luke Broadwater and Zach
2021-11-06   2021-11-07 ics/defectors-infrastructure-bill-squad.html Vote                                        Montague                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/us/polit How Bill to Fix Infrastructure Survived      By Jonathan Weisman and Carl
2021-11-06   2021-11-07 ics/infrastructure-black-caucus-vote.html    Brawl                                       Hulse                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/us/polit                                              By Michael S Schmidt William K
                        ics/james-okeefe-project-veritas-ashley-     FBI Searches Project Veritas Founders Home Rashbaum Adam Goldman and Ben
2021-11-06   2021-11-07 biden.html                                   in Connection With Diary Theft              Protess                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/us/polit Military Jury Shows Its Disgust Over CIA
2021-11-06   2021-11-07 ics/military-jury-cia-torture.html           Torture                                     By Carol Rosenberg               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/us/polit
                        ics/trump-election-interference-             Grand Jury in Georgia Looms in Trump        By Danny Hakim and Richard
2021-11-06   2021-11-07 investigation.html                           Inquiry                                     Fausset                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/us/puer                                               By Patricia Mazzei and Erika P
2021-11-06   2021-11-07 to-rico-beaches-threats.html                 Can a Lone Turtle Save Puerto Ricos Beaches Rodriguez                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/us/rural-                                             By Astead W Herndon and Shane
2021-11-06   2021-11-07 vote-democrats-virginia.html                 In Rural Areas Prospects Sink For Democrats Goldmacher                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/us/state Where States Aim to Spend Those              By Shawn Hubler Emily Cochrane
2021-11-06   2021-11-07 s-infrastructure-bill-funding.html           LongAwaited Billions                        and Zach Montague                TX 9-117-906   2022-01-03



                                                                               Page 2975 of 5793
                        https://www.nytimes.com/2021/11/06/us/travi                                            By J David Goodman and Maria
2021-11-06   2021-11-07 s-scott-crowd-surge.html                    Texas Concert Ends in Chaos And 8 Deaths   Jimenez Moya                       TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/06/world/a Tanker Truck Crashes and Explodes in Sierra By Jaime Yaya Barry and Ruth
2021-11-06   2021-11-07 frica/tanker-truck-explodes-sierra-leone.html Leone Killing 98                           Maclean                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/world/a
                        mericas/biden-osha-vaccine-mandate-           Court Temporarily Blocks Vaccine Mandate By Lauren Hirsch and Isabella
2021-11-06   2021-11-07 blocked.html                                  for Large Companies                        Grulln Paz                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/world/a As Ethnic Violence Rises In Region India Is
2021-11-06   2021-11-07 sia/india-region-muslim-hindu-strife.html     Silent                                     By Mujib Mashal                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/world/a Daily Cloud of Suffering Uyghur Crackdown
2021-11-06   2021-11-07 sia/uyghur-mental-health-china.html           Felt Beyond China                          By Amy Qin and SuiLee Wee        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/world/e Preserving a Pilgrimages Past on Foot and on
2021-11-06   2021-11-07 urope/camino-de-santiago-spain.html           Hoof                                       By Nicholas Casey                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/world/e Protesters Back Array of Causes Connected By Stephen Castle and Megan
2021-11-06   2021-11-07 urope/cop-climate-protests.html               by a Common Theme                          Specia                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/world/e
2021-11-06   2021-11-07 urope/spain-plane-passengers-escape.html      Travelers Fled Jet to Escape Into Mallorca By Raphael Minder                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/busines
                        s/the-week-in-business-economic-              The Week in Business Time to Slow the
2021-11-07   2021-11-07 stimulus.html                                 Economic Stimulus                          By Sarah Kessler                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/07/insider/
2021-11-07   2021-11-07 new-york-city-marathon-photographers.html Chasing Runners Camera In Hand               By Katie Van Syckle                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/style/hb
2021-11-07   2021-11-07 cu-mackenzie-scott-donation.html              Donation and Circumstances               By Gina Cherelus                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/style/jil-
                        sander-ski-wear-coming-to-a-city-block-near- Jil Sander Ski Wear on a City Block Near
2021-11-07   2021-11-07 you.html                                      You                                      By Jessica Testa                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/world/e Report on Clergy Abuse in France Spotlights By Norimitsu Onishi and Aurelien
2021-11-07   2021-11-07 urope/france-confession-abuse.html            the Secrecy of Confession                Breeden                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/27/arts/des
2021-10-27   2021-11-08 ign/petrit-halilaj-tate-kosovo-war.html       A War Zone Was His Canvas                By Alex Marshall                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/busines After ClimateDriven Fires Looking for a Way
2021-10-31   2021-11-08 s/paradise-camp-fire-rebuild.html             Home                                     By Grace Mitchell Tada             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/31/climate In Iceland Theyre Capturing Carbon
2021-10-31   2021-11-08 /is-carbon-capture-here.html                  Emissions and Turning Them Into Rock     By Peter Wilson                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/busines Its not about the coming back its about the
2021-11-01   2021-11-08 s/millburn-hurricane-ida-flooding.html        surviving after                          By Kevin Armstrong                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/busines With Boom Quieted the Dream of a
2021-11-01   2021-11-08 s/supersonic-plane-travel-concorde.html       Supersonic Airline Revives               By Roy Furchgott                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/opinion
2021-11-02   2021-11-08 /constitution-slavery-lincoln.html            Lincoln Broke the US Constitution        By Noah Feldman                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/opinion
2021-11-03   2021-11-08 /music-pop-culture-justice.html               Can We Separate the Art From the Artist  By Jennifer Finney Boylan          TX 9-117-906   2022-01-03



                                                                               Page 2976 of 5793
                        https://www.nytimes.com/2021/11/03/technol
2021-11-03   2021-11-08 ogy/electric-vehicles-driverless-cars.html Cars Have Problems Technology Cant Fix      By Shira Ovide                      TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/04/nyregio
2021-11-04   2021-11-08 n/louise-blanchard-bethune-overlooked.html Louise Blanchard Bethune                       By Sydney Franklin               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/arts/des Smithsonian Moves Toward Returning Looted
2021-11-05   2021-11-08 ign/smithsonian-benin-bronzes.html             Benin Bronzes                              By Matt Stevens                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/arts/juli Julie Green 60 Artist Who Memorialized
2021-11-05   2021-11-08 e-green-dead.html                              Inmates Last Suppers Dies                  By Penelope Green                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/busines Opposing Sides Awaiting Fate of UK Oil
2021-11-05   2021-11-08 s/cambo-scotland-uk.html                       Field Predict the Future                   By Stanley Reed                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/movies/ A Princesss Story Told in Vastly Different
2021-11-05   2021-11-08 diana-onscreen.html                            Ways                                       By Scott Bryan                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/movies/ Before or After the Apocalypse Lots of Bad
2021-11-05   2021-11-08 five-action-movies-to-stream-now.html          Guys to Battle                             By Robert Daniels                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/movies/
                        regina-king-zazie-beetz-the-harder-they-
2021-11-05   2021-11-08 fall.html                                      Two Tropes Are Tackled In an Old West Film By Laura Zornosa                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/nyregio Rats Amok in the Park on the Block and Even
2021-11-05   2021-11-08 n/nyc-rats-sightings.html                      at Your Table                              By Ed Shanahan                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/nyregio
                        n/supreme-court-new-york-gun-control-                                                     By Jonah E Bromwich and Ashley
2021-11-05   2021-11-08 law.html                                       New York Braces for Easing of Gun Laws     Southall                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/upshot/ 2000 Pages and Fast Budget Scorekeepers        By Margot SangerKatz and Emily
2021-11-05   2021-11-08 biden-budget-scorekeepers-cbo.html             Face the Pressure                          Cochrane                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/busines Is the Lawyer Who Stood Up to Chevron a
2021-11-06   2021-11-08 s/dealbook/steven-donziger.html                Hero or an Outlaw                          By Joe Nocera                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/sports/s
2021-11-06   2021-11-08 occer/carli-lloyd-soccer-retirement.html       As Star Heads Out Tributes Pour In         By Monique Jaques                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/us/mar
                        k-glaze-influential-gun-control-advocate-dies- Mark Glaze 51 Founder Of Modern
2021-11-06   2021-11-08 at-51.html                                     Movement For Gun Control Dies              By Clay Risen                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/us/pitts Student Body Barred From Hockey Games
2021-11-06   2021-11-08 burgh-armstrong-hockey-chant-ban.html          After a Goalie Is Crudely Taunted          By Isabella Grulln Paz           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/06/world/ Iraqs Prime Minister Is Injured After Being
2021-11-07   2021-11-08 middleeast/iraq-prime-minister-drone.html      Targeted in a Drone Attack at Home         By Jane Arraf                    TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/07/books/r Seeking a Measure of Comfort in a World
2021-11-07   2021-11-08 eview-on-consolation-michael-ignatieff.html Full of Despair                            By Alexandra Jacobs                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/07/movies/
2021-11-07   2021-11-08 tracey-deer-beans-indigenous-director.html Indigenous Trauma Channeled Into Film       By Laurel Graeber               TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/07/nyregio Who Wants to Hang Out With Adams in         By Emma G Fitzsimmons and Katie
2021-11-07   2021-11-08 n/eric-adams-somos-mayor.html              Puerto Rico Everyone                        Glueck                          TX 9-117-906       2022-01-03




                                                                                Page 2977 of 5793
                        https://www.nytimes.com/2021/11/07/opinion
                        /culture/holiday-gift-shopping-             The Joy of Buying Nothing New for the
2021-11-07   2021-11-08 secondhand.html                             Holidays                                      By Annaliese Griffin              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/opinion
2021-11-07   2021-11-08 /faith-science-covid.html                   Faith and Science Are Not at Odds             By Tish Harrison Warren           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/sports/c Boxings Undisputed King Is a Target for
2021-11-07   2021-11-08 anelo-alvarez-next-fight.html               Fighters and Promoters                        By Morgan Campbell                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/sports/f
2021-11-07   2021-11-08 ootball/giants-raiders-score.html           Jones Is as Fun as Giants Will Let Him Be     By Devin Gordon and Diante Lee TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/07/sports/n Fanfare and Hope at an Event That Felt Like a
2021-11-07   2021-11-08 ew-york-city-marathon-2021.html             Homecoming Party                              By Mihir Zaveri                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/sports/n Top Runner Helps Countrywoman Keep Pace
2021-11-07   2021-11-08 yc-marathon-highlights.html                 to No 2                                       By Scott Cacciola                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/sports/n
                        yc-marathon-wheelchair-marcel-hug-de-       Paralympic Champions Build on Sterling
2021-11-07   2021-11-08 rozario.html                                Years In Wheelchair Division                  By Ken Belson                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/sports/s In Brisk 23332 Flanagan Completes Her Goal
2021-11-07   2021-11-08 halane-flanagan.html                        of 6 Marathons in 6 Weeks                     By Matthew Futterman              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/sports/t Misery Loves Company and Apparently
2021-11-07   2021-11-08 exans-dolphins-deshaun-watson.html          Turnovers                                     By Alanis Thames                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/sports/u UFC Champ Wants to Fight Top Boxer But
2021-11-07   2021-11-08 fc-kamaru-usman.html                        That May Never Happen                         By Emmanuel Morgan                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/theater/
2021-11-07   2021-11-08 gnit-review.html                            Stepping Out of Ibsens Shadow                 By Maya Phillips                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/us/polit Desperation at Abbey Gate Americas Final
2021-11-07   2021-11-08 ics/afghanistan-war-marines.html            Days in Afghanistan                           By Helene Cooper and Eric Schmitt TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/us/polit
2021-11-07   2021-11-08 ics/republican-party-trump.html             After Wins GOP Diverges on Whats Next         By Jeremy W Peters                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/world/a This Isnt an Election This Is a Farce Ortega By Yubelka Mendoza and Natalie
2021-11-07   2021-11-08 mericas/nicaragua-election-ortega.html      Wields Fear in Nicaragua                      Kitroeff                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/world/a Afghan Military Pilots Fear Abandonment by
2021-11-07   2021-11-08 sia/afghan-pilots-taliban-us.html           the US                                        By David Zucchino                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/world/a To Steer Chinas Future Xi Rewrites History
2021-11-07   2021-11-08 sia/china-xi-jinping.html                   He Comes Off Well                             By Chris Buckley                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/world/a On Tiny Guam Its One Man Against 30000
2021-11-07   2021-11-08 sia/guam-dogcatcher.html                    Stray Dogs                                    By Kelly Kasulis Cho              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/world/a After Meetings in Myanmar A Former UN
2021-11-07   2021-11-08 sia/myanmar-bill-richardson.html            Ambassador Gets Criticized by Activists       By Richard C Paddock              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/world/e Deliverance for Koreans Stranded by History
2021-11-07   2021-11-08 urope/korea-sakhalin-japan-russia.html      on Russian Island                             By Anton Troianovski              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/article/astroworld- High Schoolers and College Students Among
2021-11-07   2021-11-08 festival-victims.html                       the Dead at Astroworld Festival               By Giulia Heyward                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/07/busines Why We All Care About Labor Coverage
2021-11-08   2021-11-08 s/media/labor-unions-media-coverage.html   Now                                          By Ben Smith                      TX 9-117-906     2022-01-03



                                                                                Page 2978 of 5793
                        https://www.nytimes.com/2021/11/07/health/c Long Covid Left Her in Agony Were Her
2021-11-08   2021-11-08 ovid-organ-transplants.html                 Organs Safe to Give                        By Roni Caryn Rabin               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/sports/f
2021-11-08   2021-11-08 ootball/nfl-week-9-scores.html              What We Learned This Week                  By Tyler Dunne                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/us/astro Houston Police Wary of Crowd Before        By J David Goodman and Edgar
2021-11-08   2021-11-08 world-travis-scott-deaths.html              Tragedy                                    Sandoval                          TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/08/arts/tele
                        vision/whats-on-tv-this-week-documentaries-
2021-11-08   2021-11-08 kevin-garnett-jake-burton-carpenter.html     This Week on TV                           By Gabe Cohn                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/08/busines Retailers Raising Game in the Race for      By Sapna Maheshwari and Michael
2021-11-08   2021-11-08 s/retail-hiring-holidays-workers.html        Holiday Help                              Corkery                         TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/08/insider/
2021-11-08   2021-11-08 photographing-annie-leibovitz.html           How to Photograph Annie Leibovitz         By Megan DiTrolio                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/08/sports/b
2021-11-08   2021-11-08 asketball/lamarcus-aldridge-retirement.html Unretired And Loving Every Minute             By Sopan Deb                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/technol New Power Players Emerge Amid Global
2021-11-08   2021-11-08 ogy/computer-chip-shortage.html             Chip Shortage                                 By Don Clark                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/01/movies/
2021-10-01   2021-11-09 science-fiction-movies-streaming.html       Theres Plenty to Ponder in Five New Films By Elisabeth Vincentelli           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/21/well/mi Jane Goodall Continues To Have Hope for
2021-10-22   2021-11-09 nd/jane-goodall-book-humans.html            People                                        By Tara ParkerPope             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/22/well/mi
2021-10-22   2021-11-09 nd/adhd-coaching.html                       Living With ADHD A Coach Could Help           By Christina Caron             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/world/a
2021-11-01   2021-11-09 sia/new-zealand-bird-bats.html              A Bat Bests the Competition in a Bird Contest By Natasha Frost               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/science Coronavirus Infections Are Found in Iowa
2021-11-02   2021-11-09 /deer-covid-infection.html                  Deer                                          By Andrew Jacobs               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/well/mi
2021-11-02   2021-11-09 nd/thanksgiving-unvaccinated.html           Hosting Thanksgiving With the Unvaccinated By Christina Caron                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/science Dentally Advanced Itll Sink Its Teeth Into
2021-11-03   2021-11-09 /fish-teeth-pacific-lingcod.html            You Then Get Some New Ones                    By Annie Roth                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/well/m
2021-11-03   2021-11-09 ove/cardio-weight-lifting.html              Your Weight Routine Stepped Up                By Gretchen Reynolds           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/health/s
2021-11-04   2021-11-09 harif-tabebordbar-gene-therapy.html         Determined Yet Patient He Looks for a Cure By Gina Kolata                    TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/04/science
2021-11-04   2021-11-09 /astronomy-decadal-survey-telescope.html      A New 10Year Plan for the Cosmos         By Dennis Overbye                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/arts/mu                                             By Jon Pareles Isabelia Herrera
                        sic/playlist-post-malone-the-weeknd-kendrick- Post Malone and the Weeknd Move On and   Giovanni Russonello and Lindsay
2021-11-05   2021-11-09 lamar.html                                    10 More New Songs                        Zoladz                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/science For an Eagle Gone Astray Home Lies the
2021-11-05   2021-11-09 /stellers-sea-eagle.html                      Other Way                                By Marion Renault                 TX 9-117-906   2022-01-03



                                                                                Page 2979 of 5793
                        https://www.nytimes.com/2021/11/06/opinion Africa Must See Decisive Action on Climate
2021-11-06   2021-11-09 /africa-cop26-climate.html                   Change                                      By Ellen Johnson Sirleaf      TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/06/science Call Me Perpendicular In Another Solar
2021-11-06   2021-11-09 /perpendicular-planets-star-system.html      System Different Angles to Consider         By Jonathan OCallaghan        TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/07/science Primeval Heat Wave When Winter Coats
2021-11-07   2021-11-09 /antarctica-wildfires.html                   Werent Worn in Antarctica                   By Emily Cataneo              TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/07/science Michael Rutter 88 Child Psychiatrist Who
2021-11-07   2021-11-09 /michael-rutter-dead.html                    Transformed His Field Dies                  By Richard Sandomir           TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/07/us/evict Eviction Ban Lifted a Crisis Unfolds Step by
2021-11-07   2021-11-09 ions-crisis-us.html                          Unsettling Step                             By Sophie Kasakove            TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/08/arts/crit
2021-11-08   2021-11-09 ical-race-theory-bans.html                   Free Speech Threatened Group Says           By Jennifer Schuessler        TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/08/arts/mu
2021-11-08   2021-11-09 sic/ed-sheeran-equals-billboard-chart.html   Sheerans Album Debuts at No 1               By Ben Sisario                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/08/arts/mu Before Houston Tragedy Scott Often Played at
2021-11-08   2021-11-09 sic/travis-scott-astroworld-concerts.html    Mayhems Edge                                By Joe Coscarelli             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/08/arts/tele
2021-11-08   2021-11-09 vision/joe-pera-comedy.html                  Like Mister Rogers but Not as Flashy        By Jason Zinoman              TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/08/books/r
                        eview-patricia-highsmith-diaries-
2021-11-08   2021-11-09 notebooks.html                               Relishing the High Life and Taking Notes    By Dwight Garner              TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/08/busines
2021-11-08   2021-11-09 s/economy/home-heating-prices-winter.html Rising Winter Heating Bills Loom              By Talmon Joseph Smith           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/busines
2021-11-08   2021-11-09 s/elon-musk-twitter-poll.html              The Tax Bill Behind a Poll Musk Posted       By Stephen Gandel                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/busines
                        s/fed-meme-stocks-social-media-
2021-11-08   2021-11-09 volatility.html                            Meme Stock Poses Risks Fed Warns             By Jeanna Smialek                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/busines
                        s/media/wirecutter-walkout-contract-       Wirecutter Union Workers Threaten Walkout
2021-11-08   2021-11-09 talks.html                                 Over Contract Delays                         By Katie Robertson               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/busines Paytm Aims to Have Indias Largest Public
2021-11-08   2021-11-09 s/paytm-ipo.html                           Offering                                     By Emily Schmall                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/busines Feds Quarles to Step Down As Governor in
2021-11-08   2021-11-09 s/randal-quarles-fed.html                  December                                     By Jeanna Smialek                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/climate
2021-11-08   2021-11-09 /glasgow-climate-summit.html               Climate Talks Bring Promises Slim on Details By Brad Plumer and Lisa Friedman TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/climate Obama in a Climate Speech Focused on
2021-11-08   2021-11-09 /obama-cop26-climate-summit.html           Youth Has Words for Republicans Too          By Somini Sengupta               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/movies/
2021-11-08   2021-11-09 sooryavanshi-review.html                   SelfRighteous Cops Defying Laws of Physics By Devika Girish                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/nyregio No One Is Claiming Voter Fraud but
2021-11-08   2021-11-09 n/jack-ciattarelli-phil-murphy.html        Concessions Are Still on Hold                By Tracey Tully                  TX 9-117-906   2022-01-03




                                                                                 Page 2980 of 5793
                        https://www.nytimes.com/2021/11/08/nyregio As Deaths Rose in New York Citys Jails an By Dana Rubinstein and Jonah E
2021-11-08   2021-11-09 n/jails-rikers-oversight-correction.html    Oversight Board Remained Silent             Bromwich                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/nyregio Republican Tide Swept Away Democrats and By Dana Rubinstein and Chelsia
2021-11-08   2021-11-09 n/nassau-county-republicans-election.html   Remade Nassau County Politics               Rose Marcius                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/nyregio
                        n/new-york-phone-betting-mobile-            New Yorkers Long Wait for Sports Betting by
2021-11-08   2021-11-09 gaming.html                                 Phone Is Nearly Over                        By Jesse McKinley                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/nyregio 60 Criminal Cases Are Thrown Out in Queens
2021-11-08   2021-11-09 n/nypd-queens-detectives.html               After Misconduct by 3 Detectives            By Rebecca Davis OBrien             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/opinion                                              By Darby Saxbe and Sofia
2021-11-08   2021-11-09 /paid-family-leave-fathers.html             Paid Leave Is Good for Everyone             Cardenas                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/opinion
2021-11-08   2021-11-09 /virginia-election-democrats.html           Bridges of America Rejoice                  By Gail Collins and Bret Stephens   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/science Priapulan Envy By Any Other Name These
2021-11-08   2021-11-09 /penis-worms-hermits.html                   Worms Might Not Seem So Neat                By Asher Elbein                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/sports/f Scientists Fight a New Source of Vaccine
2021-11-08   2021-11-09 ootball/aaron-rodgers-vaccine.html          Misinformation Rodgers                      By Ken Belson and Emily Anthes      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/sports/n
                        caabasketball/duke-mike-krzyzewski-jon-     As Krzyzewskis Final Tour Nears
2021-11-08   2021-11-09 scheyer.html                                Replacement Reloads                         By Adam Zagoria                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/sports/t Djokovic Regains Familiar Form and Revels
2021-11-08   2021-11-09 ennis/novak-djokovic-australian-open.html   in a New Rivalry                            By Christopher Clarey               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/sports/t
2021-11-08   2021-11-09 ommy-rivers-puzey-marathon.html             A Beacon for a Cancer Recovery              By Talya Minsberg                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/theater/
2021-11-08   2021-11-09 aint-too-proud-cousins.html                 I Think Were Cousins                        By Julia Jacobs                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/travel/u Borders Reopen to Giddy Crowds Traveling By Ceylan Yeginsu Heather
2021-11-08   2021-11-09 sa-travel-restrictions.html                 to US                                       Murphy and Concepcin de Len         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/upshot/ Studies on Preschools Show What Works And
2021-11-08   2021-11-09 preschool-child-care-biden.html             What Doesnt                                 By Claire Cain Miller               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/08/us/kyle- Shooting Victim Describes Rittenhouse
2021-11-08   2021-11-09 rittenhouse-gaige-grosskreutz-testimony.html Encounter I Was Going to Die                By Julie Bosman                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/us/polic Does Adding Officers Really Reduce Crime
2021-11-08   2021-11-09 e-crime.html                                 The Results Are Mixed                       By Shaila Dewan                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/us/polit
                        ics/democrats-budget-bill-cuts-              Chicagos Poor Grow Impatient Over
2021-11-08   2021-11-09 infrastructure.html                          Washingtons Compromises                     By Astead W Herndon                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/us/polit ISIS House in Drone Strike Hasnt Been
2021-11-08   2021-11-09 ics/isis-military.html                       Found by US                                 By Eric Schmitt                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/us/polit
                        ics/jan-6-subpoenas-eastman-flynn-           Moving Past Riot Jan 6 Panel Focuses on Bid
2021-11-08   2021-11-09 trump.html                                   to Subvert Vote                             By Luke Broadwater                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/us/polit First Lady Visits School Hosting a Vaccine
2021-11-08   2021-11-09 ics/jill-biden-kids-vaccine.html             Clinic                                      By Sheryl Gay Stolberg             TX 9-117-906   2022-01-03



                                                                                Page 2981 of 5793
                        https://www.nytimes.com/2021/11/08/us/polit Justice Dept Brings Charges Against Russian By Katie Benner and Nicole
2021-11-08   2021-11-09 ics/justice-dept-ransomware.html            and Ukrainian in Ransomware Attacks         Perlroth                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/us/supr Court Weighs Rules Scope In Spy Case
2021-11-08   2021-11-09 eme-court-fbi-muslims.html                  Against FBI                                 By Adam Liptak                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/well/so
2021-11-08   2021-11-09 cial-justice-parenting-traci-baxley.html    Nurturing Kindness Early On Has Its Rewards By Jane E Brody                     TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/08/world/a Olympic Sprinter Convicted Of Murder Is Up
2021-11-08   2021-11-09 frica/oscar-pistorius-bladerunner-parole.html for Parole                              By Lynsey Chutel                      TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/08/world/a                                               By Ernesto Londoo Flvia
2021-11-08   2021-11-09 mericas/brazil-telegram-disinformation.html Disinformation Finds Haven in Brazil         Milhorance and Jack Nicas          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/world/e End of Ban on EU Travel to US Lifts
2021-11-08   2021-11-09 urope/europe-us-travel-ban.html              Personal and Diplomatic Tensions            By Elian Peltier                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/world/e
                        urope/france-catholic-church-compensate-sex- Roman Catholic Church in France to Sell
2021-11-08   2021-11-09 abuse-victims.html                           Assets to Compensate Abuse Victims          By Aurelien Breeden                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/world/e
                        urope/france-police-officer-stabbed-         Police Officer Is Attacked With a Knife In  By Aurelien Breeden and Constant
2021-11-08   2021-11-09 cannes.html                                  Cannes                                      Mheut                              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/world/e Romania Mired in Falsehoods Suffers Highest
2021-11-08   2021-11-09 urope/romania-covid-vaccine-refusal.html     Covid Death Rate                            By Andrew Higgins                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/world/e Brain Drain From Britain Delivers a Financial
2021-11-08   2021-11-09 urope/uk-brexit-estonia-business.html        Boon to Estonia                             By Stephen Castle                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/world/
                        middleeast/nso-israel-palestinians-          Palestinians Targeted by Israeli Firms      By Ronen Bergman and Patrick
2021-11-08   2021-11-09 spyware.html                                 Spyware Experts Say                         Kingsley                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/live/2021/11/08/bus
                        iness/news-business-stock-market/a-former-
                        softbank-executive-will-join-the-silicon-    Former SoftBank Executive Set to Join
2021-11-08   2021-11-09 valley-venture-firm-general-catalyst         Silicon Valley Firm                         By Maureen Farrell                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/busines Stakes Are High as Starbucks Union Vote
2021-11-09   2021-11-09 s/starbucks-union-election.html              Nears                                       By Noam Scheiber                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/opinion
2021-11-09   2021-11-09 /infrastructure-bill-biden.html              Biden Is Building Why Didnt Trump           By Paul Krugman                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/opinion
2021-11-09   2021-11-09 /public-school-enrollment.html               Democrats Need Schools Back to Normal       By Michelle Goldberg               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/us/miss Police Charge St Louis Man After Spree of
2021-11-09   2021-11-09 ouri-serial-killer.html                      Killings                                    By Frances Robles                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/us/polit US Urges Court Not to Block Vaccine
2021-11-09   2021-11-09 ics/employer-vaccine-mandates.html           Mandate on Big Employers                    By Charlie Savage                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/us/ut- Organizers Plan New University They Say
2021-11-09   2021-11-09 austin-free-speech.html                      Will Defend Free Speech                     By Anemona Hartocollis             TX 9-117-906   2022-01-03




                                                                                Page 2982 of 5793
                        https://www.nytimes.com/2021/11/09/insider/
                        my-journey-into-the-dark-with-a-punk-rock-
2021-11-09   2021-11-09 orchestra.html                              A Trip Into the Cave of Punk Rock            By Danielle Dowling       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/nyregio Hochuls Plan to Close 6 More State Prisons
2021-11-09   2021-11-09 n/prisons-closing-new-york-hochul.html      Raises GOP Hackles                           By Luis FerrSadurn        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/science
2021-11-09   2021-11-09 /kilauea-volcano-eruption.html              New Lessons In Fiery Lava                    By Robin George Andrews   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/09/24/movies/
2021-09-24   2021-11-10 international-streaming.html                Intrigue and More Far From Hollywood         By Devika Girish          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/dining/f
2021-11-03   2021-11-10 luffernutter-dictionary.html                Fluffernutter One Sweet Noun                 By Carla Correa           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/dining/
                        baked-macaroni-cheese-recipe-
2021-11-04   2021-11-10 homemade.html                               A Classic Baked Macaroni and Cheese          By Eric Kim               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/dining/
2021-11-04   2021-11-10 covid-indigenous-foods-alaska.html          Indigenous Foods in the Healing Plan         By Victoria Petersen      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/dining/ NoSweat Guide To Lively Choices For Your
2021-11-04   2021-11-10 drinks/review-thanksgiving-wines.html       Feast                                        By Eric Asimov            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/books/r
2021-11-05   2021-11-10 eview-my-body-emily-ratajkowski.html        A Model Sends Mixed Messages                 By Molly Young            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/05/dining/
2021-11-05   2021-11-10 sunken-harbor-club-tiki-bar-brooklyn.html   A Home for Tropical Drinks                   By Robert Simonson        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/07/opinion Dont Be So Quick to Doubt Chinas
2021-11-07   2021-11-10 /cop26-china-climate.html                   Dedication to Cutting Emissions              By Angel Hsu              TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/08/dining/
2021-11-08   2021-11-10 best-thanksgiving-side-dishes-memories.html And With a Side of Memories Please           By Yewande Komolafe       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/dining/
2021-11-08   2021-11-10 colive-extra-virgin-olive-oil.html          To Drizzle Project Produces More Olive Oil   By Florence Fabricant     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/dining/
                        gabriel-kreuther-the-spirit-of-alsace-      To Prepare Some Alsatian Delights From
2021-11-08   2021-11-10 cookbook.html                               Gabriel Kreuther                             By Florence Fabricant     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/dining/l
                        iberian-american-thanksgiving-west-
2021-11-08   2021-11-10 africa.html                                 Holiday With a Deep History                  By Priya Krishna          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/dining/ To Learn Mexican Variations On Chicken
2021-11-08   2021-11-10 pati-jinich-92nd-street-y.html              Soup                                         By Florence Fabricant     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/dining/r To Pour This Refreshing Spritz Is Ready to
2021-11-08   2021-11-10 amona-amarino-spritz.html                   Move                                         By Florence Fabricant     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/dining/r
                        estaurant-review-dame-greenwich-
2021-11-08   2021-11-10 village.html                                Improvisational Cooking With Seafood         By Pete Wells             TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/08/dining/r To Sample Theyll Be So Blue Thinking
2021-11-08   2021-11-10 ogue-creamery-blue-cheese-gift-boxes.html About You                                      By Florence Fabricant     TX 9-117-906   2022-01-03



                                                                                Page 2983 of 5793
                        https://www.nytimes.com/2021/11/08/dining/t
                        hanksgiving-recipes-essential-new-york-times-
2021-11-08   2021-11-10 cookbook.html                                 Timeless Recipes From the Archives         By Krysten Chambrot              TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/08/insider/ When the Taliban Escorts You Back to the
2021-11-08   2021-11-10 taliban-kabul-afghanistan-journalists.html    Office                                     By Thomas GibbonsNeff            TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/08/nyregio Elaine Romagnoli 79 a Longtime Fixture Of
2021-11-08   2021-11-10 n/elaine-romagnoli-dead.html                  Lesbian Nightlife in New York City         By Julia Carmel                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/08/opinion
2021-11-08   2021-11-10 /covid-recession.html                         The Unusual Covid Recession                By Austan Goolsbee               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/08/us/coro
                        navirus-what-happened-today-china-covid-
2021-11-08   2021-11-10 zero-us-reopening-travel.html                 Chinas Drive for Zero Covid                By Jonathan Wolfe                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/08/us/tikto Missing Girl Is Rescued After Displaying     By Daniel Victor and Eduardo
2021-11-08   2021-11-10 k-hand-signal-abduction.html                  Distress Hand Signal Spread via TikTok     Medina                           TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/arts/des Indigenous Activists Try to Stop Sale of
2021-11-09   2021-11-10 ign/taino-artifacts-christies-sale.html       Sacred Artifacts                           By Laura Zornosa                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/arts/mu A Balancing Act at the Chamber Music
2021-11-09   2021-11-10 sic/classical-music-lincoln-center.html       Society                                    By Javier C Hernndez             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/arts/mu
                        sic/courtney-barnett-things-take-time-take-
2021-11-09   2021-11-10 time.html                                     She Knows Small Is Also Eternal            By Brodie Lancaster              TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/arts/mu
2021-11-09   2021-11-10 slims-movie-database-disney-pillars.html      Aiming to Change Depictions of Muslims     By Colin Moynihan                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/arts/tele Dean Stockwell 85 Dies Child Actor And
2021-11-09   2021-11-10 vision/dean-stockwell-dead.html               Acclaimed Quantum Leap Star                By Daniel Victor                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/arts/tele
2021-11-09   2021-11-10 vision/dickinson-final-season.html            Channeling a Poet as the Battle Begins     By Sarah Lyall                   TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/busines                                               By Alexandra Stevenson and Joy
2021-11-09   2021-11-10 s/china-evergrande-kaisa.html                 Developers Woes Ripple in China            Dong                             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/busines
2021-11-09   2021-11-10 s/data-tracking-real-estate.html              Reshaping the BricksandMortar Experience   By Patrick Sisson                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/busines
                        s/energy-environment/workhorse-electric-      Inquiry and Grim Results For ElectricVan
2021-11-09   2021-11-10 vehicle-earnings.html                         Producer                                   By Neal E Boudette                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/busines By Shedding Past GE Aims to Secure Its        By Steve Lohr and Michael J de la
2021-11-09   2021-11-10 s/general-electric-break-up.html              Future                                     Merced                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/busines Hearst Employees Rebel at ReturntoOffice
2021-11-09   2021-11-10 s/hearst-rto-union-protest.html               Order                                      By Marc Tracy                    TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/busines
2021-11-09   2021-11-10 s/new-york-commercial-real-estate.html        Transactions                               By Kristen Bayrakdarian          TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/busines RollsRoyce Plans to Build Small Nuclear
2021-11-09   2021-11-10 s/rolls-royce-nuclear-power-uk.html           Power Plants                               By Stanley Reed                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/climate The World Needs to Quit Oil Africas
2021-11-09   2021-11-10 /africa-fossil-fuel-gas-cop26.html            Proposal Rich Countries First              By Shola Lawal                   TX 9-117-906    2022-01-03




                                                                                Page 2984 of 5793
                        https://www.nytimes.com/2021/11/09/climate America Is Back in the Effort to Slow
2021-11-09   2021-11-10 /alexandria-ocasio-cortez-cop26.html        Warming Pelosi Says at Climate Talks      By Lisa Friedman                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/dining/
2021-11-09   2021-11-10 padma-lakshmi-thanksgiving-turkey.html      A Homebodys Thanksgiving                  By Genevieve Ko                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/health/
                        oklahoma-supreme-court-johnson-johnson- Oklahomas Top Court Throws Out 465
2021-11-09   2021-11-10 opioids.html                                Million Opioid Ruling Against JampJ       By Jan Hoffman                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/movies/ Rust Shooting Spurs Debate Over Using Guns
2021-11-09   2021-11-10 rust-movie-shooting-gun-debate.html         on Sets                                   By Julia Jacobs                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/nyregio To Your Door in Minutes but Raising        By Winnie Hu and Chelsia Rose
2021-11-09   2021-11-10 n/online-grocery-delivery-nyc.html          Questions on the Way                      Marcius                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/science Date for a Moon Landing To Be Delayed
2021-11-09   2021-11-10 /nasa-moon-2025.html                        Until 2025                                By Joey Roulette                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/science Astronauts Land Safely In Capsule By
2021-11-09   2021-11-10 /spacex-nasa-water-landing.html             SpaceX                                    By Joey Roulette                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/sports/b If You Can Make It There the Mets Would
2021-11-09   2021-11-10 aseball/sandy-alderson-mets-gm.html         Like Your Number                          By James Wagner                   TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/09/sports/b Jokic Reigning MVP Is Ejected for Shoving
2021-11-09   2021-11-10 asketball/nikola-jokic-markieff-ejected.html Heats Morris in Back                       By Victor Mather                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/technol Meta to Drop Thousands Of AdTargeting
2021-11-09   2021-11-10 ogy/meta-facebook-ad-targeting.html          Categories                                 By Mike Isaac and Tiffany Hsu   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/technol New for Twitter Subscribers Access to
2021-11-09   2021-11-10 ogy/twitter-blue-news-articles.html          Articles Minus Ads                         By Kate Conger                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/us/mod Moderna Moves for Total Credit in Vaccine     By Sheryl Gay Stolberg and
2021-11-09   2021-11-10 erna-vaccine-patent.html                     Patent                                     Rebecca Robbins                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/09/us/nim
2021-11-09   2021-11-10 blewill-nomad-appalachian-trail-hiker.html At 83 an Appalachian Trail Milestone        By Christine Hauser              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/us/polit                                            By Luke Broadwater and Mark
2021-11-09   2021-11-10 ics/jan-6-subpoena.html                     Trump Loses Effort to Keep Papers Secret   Mazzetti                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/us/polit Max Cleland Vietnam War Veteran and
2021-11-09   2021-11-10 ics/max-cleland-dead.html                   Former Senator Is Dead at 79               By Katharine Q Seelye            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/us/polit Democratic Campaign Chief Says Partys
2021-11-09   2021-11-10 ics/sean-maloney-democrats.html             Achievements Need to Be the Message        By Trip Gabriel                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/us/polit Sununu to Run Again for Governor Rejecting
2021-11-09   2021-11-10 ics/sununu-new-hampshire-governor.html      Senate Bid                                 By Trip Gabriel                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/us/polit Lack of Truckers Is Choking US Supply      By Madeleine Ngo and Ana
2021-11-09   2021-11-10 ics/trucker-shortage-supply-chain.html      Chain                                      Swanson                          TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/09/us/polit
2021-11-09   2021-11-10 ics/trump-officials-illegal-campaigning.html Trump Aides Ignored Law Report Finds       By Michael D Shear              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/us/supr Court Weighs Condemned Mans Wish for
2021-11-09   2021-11-10 eme-court-pastor-texas-execution.html        Pastors Touch                              By Adam Liptak                  TX 9-117-906   2022-01-03




                                                                                Page 2985 of 5793
                        https://www.nytimes.com/2021/11/09/us/supr Case Reviews Status of Aid For Recipients In
2021-11-09   2021-11-10 eme-court-puerto-rico-social-security.html Puerto Rico                                   By Adam Liptak                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/world/a                                               By Rick Gladstone and Declan
2021-11-09   2021-11-10 frica/ethiopia-united-nations.html         16 Staff Members Held By Ethiopia UN Says Walsh                               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/world/a India Eased Its Covid19 Disaster but Fears of
2021-11-09   2021-11-10 sia/india-covid-vaccinations.html          Complacency Remain                            By Emily Schmall and Hari Kumar TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/world/a Pakistan Says It Reached CeaseFire With
2021-11-09   2021-11-10 sia/pakistan-taliban-cease-fire.html       Taliban                                       By Salman Masood                TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/09/world/e As Macron Tightens Virus Rules Some Call It
2021-11-09   2021-11-10 urope/france-macron-covid-restrictions.html a Campaign Stunt                            By Norimitsu Onishi             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/world/e Belarus Stacks Migrants Along Its Polish     By Anton Troianovski Monika
2021-11-09   2021-11-10 urope/poland-belarus-border-crisis.html     Border                                      Pronczuk and Anatol Magdziarz   TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/busines Williams MSNBC Host Is Leaving the
2021-11-10   2021-11-10 s/media/brian-williams-msnbc.html           Company                                     By Michael M Grynbaum           TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/climate 6 Automakers and 31 Countries Pledge to      By Brad Plumer and Hiroko
2021-11-10   2021-11-10 /cars-zero-emissions-cop26.html             Phase Out Gasoline Car Sales                Tabuchi                         TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/health/ Pfizer Petitions To Get Booster Into All
2021-11-10   2021-11-10 pfizer-booster-eligibility-adults.html      Adults                                      By Sharon LaFraniere            TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/opinion The Climate Summit Has Me Very Energized
2021-11-10   2021-11-10 /climate-change-summit-glasgow.html         and Very Afraid                             By Thomas L Friedman            TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/opinion
2021-11-10   2021-11-10 /social-justice-america.html                Why Wokeness Will Fail                      By Bret Stephens                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/sports/c Saturdays CalUSC Game Delayed Over Covid
2021-11-10   2021-11-10 al-usc-game-covid-postponed.html            Concerns                                    By Evan Easterling              TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/sports/f
                        ootball/packers-rodgers-lazard-fined-       NFL Fines Rodgers a Second Packer and
2021-11-10   2021-11-10 covid.html                                  Their Team                                  By Ken Belson                   TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/09/us/travi Rap Megatstars Ties to Houston Create
2021-11-10   2021-11-10 s-scott-astroworld-houston.html             Possible Complication for Investigators     By J David Goodman              TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/10/busines Companies Ponder Hires Amid Doubts On
2021-11-10   2021-11-10 s/osha-vaccine-mandate-employers.html       Mandate                                     By Emma Goldberg                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/10/nyregio Diced Into 7 Districts a Queens Neighborhood
2021-11-10   2021-11-10 n/redistricting-queens-asians-nyc.html      Cant Get Anything Done                      By Nicholas Fandos              TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/10/sports/f No Simple Way To Explain Flurry Of NFL
2021-11-10   2021-11-10 ootball/nfl-upsets-betting-picks.html       Upsets                                      By Mike Tanier                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/10/sports/s
                        occer/barcelona-womens-champions-
2021-11-10   2021-11-10 league.html                                 Barcelona Is Perfect but Could Be Better    By Rory Smith                   TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/10/world/e
                        urope/france-climate-change-energy-         In France the People the Climate Summit
2021-11-10   2021-11-10 prices.html                                 Forgot                                      By Roger Cohen                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/07/health/ Stephen Karpiak 74 Champion For Older
2021-11-07   2021-11-11 dr-stephen-karpiak-dead.html                People With HIV Dies                        By Alex Vadukul                 TX 9-117-906    2022-01-03



                                                                               Page 2986 of 5793
                        https://www.nytimes.com/2021/11/08/us/rabb Rabbi Earl A Grollman 96 Who Ministered to
2021-11-08   2021-11-11 i-earl-grollman-grollman.html              All Faiths In Effort to Demystify Death    By Annabelle Williams               TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/09/fashion
2021-11-09   2021-11-11 /mary-j-blige-chanel-rockefeller-center.html And Theyre All Smelling So Good             By Andr Wheeler                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/opinion
2021-11-09   2021-11-11 /minneapolis-police-defund.html              Black Voters Want Better Policing           By Nekima Levy Armstrong           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/style/pr
2021-11-09   2021-11-11 abal-gurung-laura-kim.html                   House of Slays Stars Step Out               By Alyson Krueger                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/arts/des
                        ign/art-museum-labeling-new-york-historical-
2021-11-10   2021-11-11 society.html                                 Reading Your Writing On the Wall            By Julia Jacobs                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/arts/mu
2021-11-10   2021-11-11 sic/boheme-met-opera-review.html             A Maestro Guides a Triumph                  By Anthony Tommasini               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/arts/mu Don Maddox 98 the Last Surviving Member
2021-11-10   2021-11-11 sic/don-maddox-dead.html                     Of a Pioneering West Coast Country Band     By Bill FriskicsWarren             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/arts/mu
                        sic/jon-hopkins-music-for-psychedelic-
2021-11-10   2021-11-11 therapy.html                                 Looking Within To Find His Music            By Grayson Haver Currin            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/arts/tele
2021-11-10   2021-11-11 vision/yellowjackets-showtime.html           Girls Can Be Savages Too                    By Alexis Soloski                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/automo Is Rivian Worth 86 Billion Investors Think So
2021-11-10   2021-11-11 biles/rivian-stock-price-ipo.html            But It Has Delivered Only 156 Vehicles      By Peter Eavis and Neal E Boudette TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/books/r
                        eview-sinner-saint-dostoyevsky-crime-
2021-11-10   2021-11-11 punishment-kevin-birmingham.html             A Killer in Actions and With His Words      By Jennifer Szalai                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/busines Boeing Accepts Blame for 737 Max Crash in
2021-11-10   2021-11-11 s/boeing-737-max-crash-ethiopia.html         Ethiopia                                    By Niraj Chokshi                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/busines Headwinds Continue for Disney as Subscriber
2021-11-10   2021-11-11 s/disney-plus-growth-slows.html              Growth Slows                                By Brooks Barnes                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/busines
                        s/economy/consumer-price-inflation-          Inflation Surges Putting More Heat on
2021-11-10   2021-11-11 october.html                                 Washington                                  By Jeanna Smialek                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/busines Chinese Property Giant Averts Default on
2021-11-10   2021-11-11 s/evergrande-bond-deadline.html              Bonds                                       By Lauren Hirsch                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/busines EUs 28 Billion Antitrust Fine Against Google
2021-11-10   2021-11-11 s/google-eu-appeal-antitrust.html            Upheld in Court                             By Adam Satariano                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/busines
2021-11-10   2021-11-11 s/ozy-doj-sec-investigations.html            2 Agencies Investigating Ozy Media          By Ben Smith and Ben Protess       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/climate
2021-11-10   2021-11-11 /climate-cop26-glasgow.html                  US and China Join in Seeking Emissions Cuts By Brad Plumer and Lisa Friedman TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/10/movies/
2021-11-10   2021-11-11 nina-mae-mckinney.html                       A Black Actress Undone by Hollywood         By Manohla Dargis                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/movies/ Member of Rust Crew Accuses Several           By Julia Jacobs Adam Nagourney
2021-11-10   2021-11-11 rust-lawsuit-alec-baldwin.html               People Of Negligence in Lawsuit             and Graham Bowley                  TX 9-117-906   2022-01-03



                                                                                Page 2987 of 5793
                        https://www.nytimes.com/2021/11/10/nyregio Sect Accused of Using Forced Labor Across
2021-11-10   2021-11-11 n/baps-hindu-forced-labor.html                US                                           By Annie Correal            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/nyregio In Documents a Detailed Look at the Fall of
2021-11-10   2021-11-11 n/cuomo-investigation-testimony.html          New Yorks ExGovernor                         By Luis FerrSadurn          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/nyregio
2021-11-10   2021-11-11 n/foster-care-lawsuit-nyc.html                When Family Is Blocked From Fostering Kin By Andy Newman                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/nyregio Peter L Zimroth 78 Counsel For New York
2021-11-10   2021-11-11 n/peter-zimroth-dead.html                     City on Reform Of Its StopandFrisk Policy    By Sam Roberts              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/nyregio New York City Rebukes Group That
2021-11-10   2021-11-11 n/queens-prosecutors-misconduct.html          Publicized Prosecutors Misdeeds              By Jonah E Bromwich         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/opinion Higher Wages Can Make Some Workers
2021-11-10   2021-11-11 /benefits-cliff-welfare.html                  Poorer                                       By Peter Coy                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/opinion
2021-11-10   2021-11-11 /university-of-austin-colleges.html           Why We Need New Colleges                     By Ross Douthat             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/sports/f
2021-11-10   2021-11-11 ootball/dalvin-cook-abuse-vikings.html        Suit Accuses Vikings Star of Violent Assault By Emmanuel Morgan          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/sports/f Former Raiders Receiver Ruggs Charged
2021-11-10   2021-11-11 ootball/henry-ruggs-felony-car-crash.html     After Fatal Car Crash                        By Ben Shpigel              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/sports/n
                        caabasketball/mens-college-basketball-season- Didnt Study Up on the New Season Heres a
2021-11-10   2021-11-11 preview.html                                  Cram Session                                 By Adam Zagoria             TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/10/sports/s Hint of KerriganHarding Sequel in the Attack
2021-11-10   2021-11-11 occer/psg-women-attack-aminata-diallo.html on a Soccer Player                            By Tariq Panja                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/style/ca A Palace of Print Has Been Holding Its
2021-11-10   2021-11-11 sa-magazines-west-village.html              Ground                                       By Kate Dwyer                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/style/ci
2021-11-10   2021-11-11 nderella-myth-maid-netflix.html             The Cinderella Myth We Cant Quit             By Rhonda Garelick            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/style/de                                              By Haley Nahman and OK
2021-11-10   2021-11-11 nim-jeans-trends.html                       Denim Options Gift and Curse                 McCausland                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/technol
2021-11-10   2021-11-11 ogy/amazon-cargo-ships.html                 Amazon Merchants Find Smooth Sailing         By Shira Ovide                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/technol
2021-11-10   2021-11-11 ogy/china-alibaba-singles-day.html          Chastened Alibaba Tones Down A Bonanza By Raymond Zhong                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/technol US Sues Uber Over Fees Charged to Disabled
2021-11-10   2021-11-11 ogy/doj-uber-suit-disabilities.html         Passengers                                   By Kate Conger                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/technol Logo for Meta Facebooks Bold New Future Is
2021-11-10   2021-11-11 ogy/facebook-meta-new-logo.html             on the Tame Side                             By Gray Beltran               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/judg Wisconsin Judge Has Served on the Bench for
2021-11-10   2021-11-11 e-bruce-schroeder-rittenhouse-trial.html    Almost 40 Years                              By Julie Bosman               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/10/us/justi Tree DNA Sends Poacher Of Hardwood to
2021-11-10   2021-11-11 n-wilke-maple-fire-tree-dna-sentenced.html Prison After Forest Fire Was Set             By Vimal Patel                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/kyle- He Saw Himself as a Medic And Is Now        By Julie Bosman and Daniel E
2021-11-10   2021-11-11 rittenhouse-who-is.html                     Studying Nursing                            Slotnik                        TX 9-117-906   2022-01-03



                                                                                Page 2988 of 5793
                        https://www.nytimes.com/2021/11/10/us/polit Jan 6 Assault of Officer Gets Man 41Month
2021-11-10   2021-11-11 ics/fairlamb-jan-6-riot.html                Term                                           By Alan Feuer                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/polit US Charges 3 Who Ran Scam PACs With
2021-11-10   2021-11-11 ics/pac-operator-charges.html               Fraud                                          By Shane Goldmacher              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/polit
                        ics/republicans-backlash-infrastructure-
2021-11-10   2021-11-11 bill.html                                   After 13 Backed Infrastructure Fury in GOP     By Catie Edmondson               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/polit Blinken Warns Russia Against Making a
2021-11-10   2021-11-11 ics/russia-blinken-ukraine.html             Serious Mistake With Ukraine                   By Michael Crowley               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/10/us/polit Judges Swift Ruling Tests Trumps Delay
2021-11-10   2021-11-11 ics/swift-ruling-tests-trump-delay-tactic.html Tactics                                     By Charlie Savage                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/puer Arrest Is Sought For Executive Of Energy
2021-11-10   2021-11-11 to-rico-luma-stensby-arrest.html               Firm In Puerto Rico                         By Patricia Mazzei               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/ritte Focal Point MilitaryStyle Rifle In the
2021-11-10   2021-11-11 nhouse-trial-semiautomatic-rifle.html          Possession of a Teenager                    By Dan Hinkel                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/ruth- Ruth Ann Minner DowntoEarth Governor of
2021-11-10   2021-11-11 ann-minner-dead.html                           Delaware Dies at 86                         By Katharine Q Seelye            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/san- San Franciscos Progressive DA Faces Recall
2021-11-10   2021-11-11 francisco-recall-chesa-boudin.html             Election                                    By Tim Arango                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/self- Agreeing to Take the Stand Presents Risks
2021-11-10   2021-11-11 defense-rittenhouse-trial.html                 for Defendants                              By Mitch Smith                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/world/a
                        frica/mozambique-corruption-manuel-chang- Former Official In Mozambique Ordered to
2021-11-10   2021-11-11 extradition.html                               US To Face Charges                          By Lynsey Chutel                 TX 9-117-906   2022-01-03
                                                                       American Journalist Held in Myanmar Since
                        https://www.nytimes.com/2021/11/10/world/a May Faces New Charges of Terrorism and
2021-11-10   2021-11-11 sia/danny-fenster-myanmar.html                 Sedition                                    By Richard C Paddock             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/world/a Wary of an Authoritarian China Europe
2021-11-10   2021-11-11 sia/taiwan-europe-china.html                   Warms Up to Taiwan                          By Amy Qin and Steven Erlanger   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/world/a
                        sia/vietnam-communist-gold-steak-salt-
2021-11-10   2021-11-11 bae.html                                       Chefs Video Spurs Anger In Vietnam          By Azi Paybarah                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/10/world/e Seeking Praise on Global Stage British Leader
2021-11-10   2021-11-11 urope/boris-johnson-climate-scandal.html    Instead Deals With Ethics Scandal at Home By Mark Landler                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/world/e Harris Meets Macron Signaling New Era
2021-11-10   2021-11-11 urope/france-kamala-harris-macron.html      After a Snub Both Say                        By Katie Rogers                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/world/e Conviction in France in Death Of Holocaust
2021-11-10   2021-11-11 urope/knoll-france-murder.html              Survivor in 2018                             By Constant Mheut                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/live/2021/11/10/bus
                        iness/dealbook-summit/kenneth-griffin-is-   Citadel Chief Voices Concerns About
2021-11-10   2021-11-11 worried-about-inflation                     Inflations Effect on Markets and the Economy By Michael J de la Merced          TX 9-117-906   2022-01-03




                                                                                 Page 2989 of 5793
                        https://www.nytimes.com/live/2021/11/10/bus
                        iness/dealbook-summit/mary-barra-says-
                        investors-will-reward-gm-for-its-electric-
2021-11-10   2021-11-11 vehicle-investment                           GM Is Moving At Full Steam In EV Market By Neal E Boudette                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/busines After Exercising Options Musk Sells 11
2021-11-11   2021-11-11 s/elon-musk-tesla-stock-sale.html            Billion in Tesla Stock to Cover Taxes      By William P Davis                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/climate Surprise Deal Overcomes Strained USChina
2021-11-11   2021-11-11 /china-us-climate-deal-kerry-xie.html        Ties                                       By Lisa Friedman                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/nyregio
                        n/cuomo-sexual-harassment-                   Cuomo Defiant And Dismissive As End        By Jonah E Bromwich and Luis
2021-11-11   2021-11-11 investigation.html                           Neared                                     FerrSadurn                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/nyregio New Jersey Senate President Concedes to
2021-11-11   2021-11-11 n/steve-sweeney-durr-nj-election.html        Republican Truck Driver                    By Tracey Tully                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/opinion
2021-11-11   2021-11-11 /biden-infrastructure-deal.html              Deck the Halls With Infrastructure         By Gail Collins                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/theater/ Cloaking Reality In Euphemisms Saps a
2021-11-11   2021-11-11 trevor-musical-review.html                   Mission                                    By Jesse Green                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/judg Ruling in Texas Allows Schools To Issue
2021-11-11   2021-11-11 e-rules-mandates-up-to-texas-schools.html    Own Rules on Masks                         By Eduardo Medina                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/kyle- Rittenhouse Testifies Amid Clashes in
2021-11-11   2021-11-11 rittenhouse-testimony.html                   Courtroom                                  By Julie Bosman                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/polit Bidens Next Hurdle Winning Over Public On By Glenn Thrush and Zolan
2021-11-11   2021-11-11 ics/biden-infrastructure.html                His 1 Trillion Plan                        KannoYoungs                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/polit NIH Says It Will Pursue Patent Fight With   By Sheryl Gay Stolberg and
2021-11-11   2021-11-11 ics/moderna-vaccine-patent-nih.html          Moderna                                    Rebecca Robbins                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/world/e
2021-11-11   2021-11-11 urope/poland-belarus-border-europe.html      Border Crisis Pushes the EU To Back Poland By Steven Erlanger                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/style/tik
2021-11-11   2021-11-11 tok-hair-boys-men.html                       Alexander Had a Great Hairdo Too           By Danya Issawi                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/style/w
                        hat-to-do-with-a-multimillion-dollar-        HowTos for Megamansion Life They Have
2021-11-11   2021-11-11 megamansion-they-have-some-ideas.html        Ideas                                      By Candace Jackson                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/insider/
2021-11-13   2021-11-11 dixie-fire-weather-3-d.html                  Building a Model Using Radar Data          By Megan DiTrolio                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/29/books/e
2021-10-29   2021-11-12 mily-ratajkowski-my-body.html                Some Words Behind All the Pictures         By Lauren Christensen               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/interactive/2021/11/                                            By Nick Corasaniti Reid J Epstein
                        07/us/politics/redistricting-maps-                                                      Taylor Johnston Rebecca
2021-11-08   2021-11-12 explained.html                               How Maps Reshape American Politics         Lieberman and Eden Weingart         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/world/e
2021-11-10   2021-11-12 urope/malala-yousafzai-married.html          Nobel Peace Laureate Announces Marriage By Alyssa Lukpat                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/movies/
2021-11-10   2021-11-12 clifford-the-big-red-dog-review.html         Clifford the Big Red Dog                   By Natalia Winkelman                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/opinion
2021-11-10   2021-11-12 /electric-vehicle-climate-battery.html       A Snag for the Electric Car Future         By Steve LeVine                     TX 9-117-906   2022-01-03



                                                                                Page 2990 of 5793
                        https://www.nytimes.com/2021/11/10/opinion
2021-11-10   2021-11-12 /paid-family-leave-dads.html                Men Should Speak Up for Family Leave          By Jessica Grose           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/opinion
2021-11-10   2021-11-12 /rikers-island-jail.html                    To End the Crisis at Rikers Close the Jails   By Jonathan Lippman        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/theater/
                        billy-crystal-mr-saturday-night-            Broadway Musical to Adapt Billy Crystals
2021-11-10   2021-11-12 broadway.html                               1992 Movie                                    By Michael Paulson         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/us/texa Principal In Spotlight Over Race Agrees to
2021-11-10   2021-11-12 s-principal-critical-race-theory.html       Go                                            By Christine Hauser        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/theater/
2021-11-11   2021-11-12 while-you-were-partying-review.html         When Autobiography and Fiction Collide        By Elisabeth Vincentelli   TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/11/arts/dan
2021-11-11   2021-11-12 ce/review-molly-poerstel-monte-jones.html Their Movements Contain Multitudes              By Siobhan Burke           TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/11/arts/des
2021-11-11   2021-11-12 ign/barbara-kruger-art-institute-review.html Infinitely Copied Still Unmatched         By Jon Caramanica             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/arts/des A Fair Focused on Dcor Returns to the
2021-11-11   2021-11-12 ign/salon-fair-park-avenue-armory.html       Armory                                    By Martha Schwendener         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/arts/mu
2021-11-11   2021-11-12 sic/juilliard-orfeo-opera.html               A Mythical Love That Keeps on Giving      By Anthony Tommasini          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/arts/tele
2021-11-11   2021-11-12 vision/review-yellowjackets.html             Sins of the Past That Stain the Present   By James Poniewozik           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/arts/tele
                        vision/stream-shrink-next-door-
2021-11-11   2021-11-12 succession.html                              This Weekend I Have                       By Margaret Lyons             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/arts/tele
                        vision/transgender-documentaries-always-
2021-11-11   2021-11-12 jane.html                                    This Generation Is Opening Doors          By Robert Ito                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/busines Supply Shortages Hinder Britains Economic
2021-11-11   2021-11-12 s/britain-economy-recovery.html              Recovery                                  By Eshe Nelson                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/busines As Biden Pledges Dip in Inflation Question By Jeanna Smialek and Jim
2021-11-11   2021-11-12 s/economy/biden-inflation.html               Is When                                   Tankersley                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/busines                                             By Matt Phillips and Emily
2021-11-11   2021-11-12 s/india-stock-market.html                    Indias Market Is a Magnet for Investors   Schmall                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/busines
2021-11-11   2021-11-12 s/new-mercedes-sl-2022.html                  Mercedes SL Stresses Horsepower and Verve By Brett Berk                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/climate Clamor for Reparations Over Emissions
2021-11-11   2021-11-12 /climate-glasgow-cop26-loss-damage.html      Grows                                     By Somini Sengupta            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/health/ Strategy to Hold Industry Liable For Opioid
2021-11-11   2021-11-12 opioids-lawsuits-public-nuisance.html        Crisis Starts to Falter                   By Jan Hoffman                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-12 3212-un-redacted-review.html                 3212 UnRedacted                           By Ben Kenigsberg             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-12 7-prisoners-review.html                      7 Prisoners                               By Isabelia Herrera           TX 9-117-906   2022-01-03



                                                                                 Page 2991 of 5793
                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-12 belfast-review.html                        RoseTinted Lens for Tough Times             By Jeannette Catsoulis   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-12 cusp-review-documentary.html               Cusp                                        By Beatrice Loayza       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/movies/
                        home-sweet-home-alone-review-a-winter-with
2021-11-11   2021-11-12 plenty-of-falls.html                       Home Sweet Home Alone                       By Amy Nicholson         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-12 julia-review.html                          Julia                                       By Glenn Kenny           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-12 love-is-love-is-love-review.html           Love Is Love Is Love                        By Teo Bugbee            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-12 mayor-pete-review.html                     Mayor Pete                                  By Ben Kenigsberg        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-12 night-raiders-review.html                  Night Raiders                               By Devika Girish         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-12 paper-glue-review.html                     Paper amp Glue                              By Lisa Kennedy          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-12 passing-review.html                        Black Skin White Masks                      By Manohla Dargis        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-12 red-notice-review.html                     The Stars Dont Shine                        By Beatrice Loayza       TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-12 they-say-nothing-stays-the-same-review.html They Say Nothing Stays the Same                By Nicolas Rapold    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-12 uppercase-print-review.html                 Uppercase Print                                By Devika Girish     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/movies/
                        what-do-we-see-when-we-look-at-the-sky-
2021-11-11   2021-11-12 review.html                                 No Explosions Here Lifes Small Dramas          By Manohla Dargis    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/nyregio Neighbors Turn Out to Honor World War II
2021-11-11   2021-11-12 n/veterans-day-brooklyn-parade.html         Veteran in Their Midst                         By Andy Newman       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/science In Busy Year of Launches Frenzied Week for
2021-11-11   2021-11-12 /spacex-nasa-docking.html                   SpaceX and NASA                                By Joey Roulette     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/sports/b Fears of a Lockout Are Percolating Welcome
2021-11-11   2021-11-12 aseball/mlb-free-agency-lockout.html        to Lukewarm Stove Season                       By James Wagner      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/sports/b Pedro Feliciano 45 a Durable Relief Pitcher
2021-11-11   2021-11-12 aseball/pedro-feliciano-dead.html           for the Mets                                   By Peter Keepnews    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/sports/b
2021-11-11   2021-11-12 asketball/nba-celtics-raptors.html          Celtics Are Starting to Get Their Act Together By Scott Cacciola    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/sports/f Carolina Brings Back Newton for Second
2021-11-11   2021-11-12 ootball/cam-newton-carolina-panthers.html Stint                                            By Emmanuel Morgan   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/sports/f
                        ootball/odell-beckham-jr-los-angeles-       Beckham Will Join the Rams Who Continue
2021-11-11   2021-11-12 rams.html                                   to Add Veterans                                By Emmanuel Morgan   TX 9-117-906   2022-01-03




                                                                                Page 2992 of 5793
                        https://www.nytimes.com/2021/11/11/sports/s PSG Player Is Released Without Charges in
2021-11-11   2021-11-12 occer/psg-attack-diallo-released.html       the Attack on a Teammate                       By Tariq Panja and Andrew Das   TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/11/sports/s Uruguay the Little Country That Could Is at a
2021-11-11   2021-11-12 occer/uruguay-argentina-suarez-cavani.html Crossroads                                     By Rory Smith                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/technol Alibaba Says Sales Gains Slowed For Singles
2021-11-11   2021-11-12 ogy/alibaba-singles-day-sales.html          Day Shopping Event                            By Raymond Zhong                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/theater/ Jonathan Reynolds 79 Who Wrote Plays And
2021-11-11   2021-11-12 jonathan-reynolds-dead.html                 Movies Before Cooking Up a Column             By Neil Genzlinger               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/us/affir Group Challenging Affirmative Action At 2
2021-11-11   2021-11-12 mative-action-harvard-unc.html              Schools Seeks Single Day in Court             By Anemona Hartocollis           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/us/ahm Videos of Arbery Before Killing Play Key        By Richard Fausset and Tariro
2021-11-11   2021-11-12 aud-arbery-videos-trial.html                Role at Trial                                 Mzezewa                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/us/polit Biden Honors Americas Soul on a Veterans
2021-11-11   2021-11-12 ics/biden-veterans-day.html                 Day Notably Absent of War                     By Michael D Shear               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/us/polit Problems at Washington Jail Were Ignored
2021-11-11   2021-11-12 ics/dc-jail-jan-6.html                      Until Jan 6 Defendants Came Along             By Alan Feuer                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/us/polit
                        ics/project-veritas-journalism-political-                                                 By Adam Goldman and Mark
2021-11-11   2021-11-12 spying.html                                 Is It Journalism or Political Spycraft        Mazzetti                         TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/11/us/polit Illinois Republicans Votes On Infrastructure
2021-11-11   2021-11-12 ics/republicans-infrastructure-bill.html    Diverge In an Age of Uncertainty               By Jonathan Weisman             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/us/polit Federal Court Halts Release Of Trump Files     By Charlie Savage and Luke
2021-11-11   2021-11-12 ics/trump-files-january-6.html              About Jan 6                                    Broadwater                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/us/subs Schools Face Teacher Crunch Putting a
2021-11-11   2021-11-12 titute-teachers-demand.html                 Premium on Substitutes                         By Giulia Heyward               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/world/a With Schools Still Mostly Closed Ugandans
2021-11-11   2021-11-12 frica/covid-uganda-schools.html             Suffer                                         By Musinguzi Blanshe            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/world/a FW de Klerk Last President of Apartheid
2021-11-11   2021-11-12 frica/fw-de-klerk-dead.html                 South Africa Is Dead at 85                     By Marc Lacey                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/world/a Top General in Sudan Solidifies Military
2021-11-11   2021-11-12 frica/sudan-military-coup.html              Coup                                           By Declan Walsh                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/11/world/a Trump Allies Export Election Playbook to
2021-11-11   2021-11-12 mericas/bolsonaro-trump-brazil-election.html Brazil                                        By Jack Nicas                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/11/world/a Hindus Pray in a River Whose Water Is Holy      By Mujib Mashal Hari Kumar and
2021-11-11   2021-11-12 sia/india-pollution-yamuna-chhath.html       but Polluted                                  Saumya Khandelwal              TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/11/world/e
                        urope/austria-chancellor-lockdown-
2021-11-11   2021-11-12 unvaccinated.html                            Lockdown Likely for Austrias Unvaccinated     By Johnny Diaz                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/world/e Fourth Covid Wave Grips Germany in a
2021-11-11   2021-11-12 urope/germany-covid-unvaccinated.html        Pandemic Of the Unvaccinated                  By Katrin Bennhold              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/world/e
2021-11-11   2021-11-12 urope/glasgow-garbage-strike.html            Mountains of Garbage Rise Outside Summit      By Jenny Gross                  TX 9-117-906   2022-01-03



                                                                                 Page 2993 of 5793
                        https://www.nytimes.com/2021/11/11/world/
                        middleeast/israel-palestinian-nso-        New Claim of Hacking of Palestinians With       By Patrick Kingsley and Rawan
2021-11-11   2021-11-12 hacking.html                              Israeli Spyware                                 Sheikh Ahmad                    TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/11/world/ Saudi Court Blocks Execution Of a Teenager By Ben Hubbard and Asmaa
2021-11-11   2021-11-12 middleeast/saudi-court-execution-crime.html in a Fatal Heist                         alOmar                               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/your-
                        money/single-mothers-home-buyer-
2021-11-11   2021-11-12 pandemic.html                               Why Single Moms Are Losing Ground        By Tara Siegel Bernard               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/live/2021/11/11/bus
                        iness/news-business-stock-market/surge-in-
                        energy-prices-saps-european-unions-         As Energy Prices Surge EUs Rebound Is at
2021-11-11   2021-11-12 pandemic-recovery                           Risk                                     By Liz Alderman                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/nyregio John Artis 75 Who Was Convicted With
2021-11-12   2021-11-12 n/john-artis-dead.html                      Boxer in a Triple Murder Dies            By Sam Roberts                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/opinion
2021-11-12   2021-11-12 /imagination-empathy.html                   The Awesome Importance of Imagination    By David Brooks                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/opinion
2021-11-12   2021-11-12 /inflation-history.html                     History Says Dont Panic About Inflation  By Paul Krugman                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/theater/
2021-11-12   2021-11-12 nollywood-dreams-review.html                And a Movie Industry Is Born             By Jesse Green                       TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/11/us/kyle- Judge in Rittenhouse Cases Urges Applause
2021-11-12   2021-11-12 rittenhouse-judge-bruce-schroeder.html      For All Veterans Including the Next Witness   By Nicholas BogelBurroughs      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/world/e
                        urope/migrants-poland-belarus-
2021-11-12   2021-11-12 lukashenko.html                             Europe Nears Boiling Point Over Borders       By Andrew Higgins               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/insider/
2021-11-12   2021-11-12 covering-global-climate-conference.html     Covering a Global Climate Summit              By Megan DiTrolio               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/nyregio New York Base Likes Her Ideas If Not Her       By Katie Glueck and Nicholas
2021-11-12   2021-11-12 n/aoc-infrastructure-bill-vote.html         Vote                                          Fandos                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/busines
2021-11-09   2021-11-13 s/powells-books-pandemic.html               The Next Chapter                              By Peter S Goodman              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/opinion
2021-11-10   2021-11-13 /apple-microprocessor.html                  The Chip That Could Transform Computing       By Farhad Manjoo                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/theater/
2021-11-10   2021-11-13 cherry-lane-theater-back-on-market.html     Cherry Lane Theater Is Back on the Market     By Sarah Bahr                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/nyregio Edward L Sadowsky 92 Who Served Six
2021-11-11   2021-11-13 n/edward-sadowsky-dead.html                 Terms on New Yorks City Council               By Sam Roberts                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/opinion
2021-11-11   2021-11-13 /critical-race-theory.html                  Can We Talk About Critical Race Theory        By Jay Caspian Kang             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/opinion
                        /democrats-midterms-virginia-new-           How Likely Is a Democratic Comeback Next
2021-11-11   2021-11-13 jersey.html                                 Year                                          By Kyle Kondik                  TX 9-117-906   2022-01-03




                                                                                Page 2994 of 5793
                        https://www.nytimes.com/2021/11/11/opinion The Shadow of Ronald Reagan Is Costing Us
2021-11-11   2021-11-13 /reagan-social-welfare.html                 Dearly                                   By Claire Bond Potter               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/us/treas Treasure Hunter Who Got Lost in          By Isabella Grulln Paz and Claire
2021-11-11   2021-11-13 ure-hunter-yellowstone.html                 Yellowstone Must Pay for Rescue          Fahy                                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/world/a Zuo Fang 86 a Chinese Journalist Who
2021-11-11   2021-11-13 sia/zuo-fang-dead.html                      Challenged the Powerful Dies             By Li Yuan                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/nyregio Republican Concedes Governors Race in New
2021-11-12   2021-11-13 n/jack-ciatterelli-concedes-nj-gov.html     Jersey 10 Days After Polls Closed        By Tracey Tully                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/us/ohio- KKK Sign Leads Officer To Complain
2021-11-12   2021-11-13 police-discrimination-supreme-court.html    Against Force                            By Neil Vigdor                      TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/12/arts/dan Sensation and Skin in a Theater Housed in
2021-11-12   2021-11-13 ce/luciana-achugar-puro-teatro-review.html Bodies                                       By Gia Kourlas                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/arts/des
2021-11-12   2021-11-13 ign/hong-kong-m-museum-censorship.html Museum in Hong Kong Finally Opens                By Vivian Wang                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/arts/des
2021-11-12   2021-11-13 ign/new-york-international-tourists.html    Arts Groups Are Courting Global Visitors    By Matt Stevens                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/arts/mu
                        sic/sheku-kanneh-mason-new-york-
2021-11-12   2021-11-13 philharmonic.html                           Making a Declarative Entrance               By Joshua Barone                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/arts/mu
2021-11-12   2021-11-13 sic/silk-sonic-bruno-mars.html              A Pleasant Trip in the Sound Time Machine   By Jon Pareles                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/arts/mu
2021-11-12   2021-11-13 sic/young-concert-artists-zhu-wang.html     An InPerson Recital With a Superb Pianist   By Anthony Tommasini             TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/12/busines
2021-11-12   2021-11-13 s/economy/consumer-sentiment-inflation.html US Consumer Sentiment Falls              By Nelson D Schwartz             TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/12/busines
2021-11-12   2021-11-13 s/economy/jobs-labor-openings-quit.html     Millions Quit Jobs in US In September    By Ben Casselman                 TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/12/busines JampJ to Split Into Two Consumer And      By Rebecca Robbins and Michael J
2021-11-12   2021-11-13 s/johnson-johnson-split.html                Medical                                  de la Merced                     TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/12/climate Deadline Passes But Climate Plan Remains By Somini Sengupta Lisa Friedman
2021-11-12   2021-11-13 /glasgow-climate-cop26.html                 Elusive                                  and Brad Plumer                  TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/12/nyregio Shatner Crewmate on Trip To Space Dies in
2021-11-12   2021-11-13 n/glen-de-vries-plane-crash.html            Plane Crash                              By Ed Shanahan                   TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/12/nyregio Out of Funds New York to Stop Pandemic
2021-11-12   2021-11-13 n/new-york-pandemic-rental-aid.html         Rental Aid Applications                  By Mihir Zaveri and Matthew Haag TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/12/opinion
2021-11-12   2021-11-13 /build-back-better-joe-manchin.html         What We Cant Afford                      By Bryce Covert                  TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/12/opinion The Many Deaths of William Holden Trained
2021-11-12   2021-11-13 /william-holden-death-anxiety.html          Me to See Danger                         By Alexander Aciman              TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/12/sports/b Want to Be Like Steph Knicks Offer
2021-11-12   2021-11-13 asketball/knicks-defense.html               Opponents A Paradise of 3Pointers        By Sopan Deb                     TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/12/sports/l Nike Executive Told of Killing a Man     By Jer Longman Kevin Draper and
2021-11-12   2021-11-13 arry-miller-nike.html                       Omitting a Key Detail                    Kriston Jae Bethel               TX 9-117-906      2022-01-03



                                                                                Page 2995 of 5793
                        https://www.nytimes.com/2021/11/12/sports/n
                        caabasketball/womens-college-basketball-    More Stars in More Places Should Produce a
2021-11-12   2021-11-13 2021-22-preview.html                        More Competitive Season                      By Natalie Weiner                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/sports/s US Pins Its Hopes For the World Cup On a
2021-11-12   2021-11-13 occer/usa-mexico-world-cup-pepi.html        Teenage No 9                                 By Andrew Keh                     TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/sports/t
2021-11-12   2021-11-13 ennis/atp-finals-long-season.html           A seasons end finally in sight               By Stuart Miller                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/sports/t
2021-11-12   2021-11-13 ennis/daniil-medvedev.html                  A chess master a genius and an octopus       By Cindy Shmerler                 TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/12/sports/t
2021-11-12   2021-11-13 ennis/nikola-mektic-mate-pavic-doubles.html The winning couple of tennis                  By Cindy Shmerler                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/technol
                        ogy/amazon-union-staten-island-             Amazon Workers Retract Request for Union
2021-11-12   2021-11-13 withdraw.html                               Election                                      By Karen Weise                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/theater/
                        candace-bushnell-is-there-still-sex-in-the-
2021-11-12   2021-11-13 city.html                                   Candace Bushnells Latest Adventure            By Alexis Soloski                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/us/ahm Cantankerous Lawyer At Arbery Trial
2021-11-12   2021-11-13 aud-arbery-trial-lawyer-kevin-gough.html    Crossed Over Line Critics Say                 By Richard Fausset               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/us/blac                                                By Miriam Jordan and Sarahbeth
2021-11-12   2021-11-13 k-farmworkers-mississippi-lawsuit.html      Fighting for Livelihoods Rooted in Delta Soil Maney                            TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/us/pless Figure in 1892 Separate but Equal Case Is
2021-11-12   2021-11-13 y-ferguson-pardon.html                      Closer to Pardon                              By Rick Rojas                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/us/polit Bannon Indicted After Rebuffing House         By Katie Benner and Luke
2021-11-12   2021-11-13 ics/bannon-indicted.html                    Subpoenas                                     Broadwater                       TX 9-117-906     2022-01-03
                                                                    Biden and Xi Agree to Virtual Summit to
                        https://www.nytimes.com/2021/11/12/us/polit Confront an Array of USChina Sticking
2021-11-12   2021-11-13 ics/biden-china-xi-jinping.html             Points                                        By Michael D Shear               TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/12/us/polit In Talks With Macron the US Vice President By Katie Rogers and Zolan
2021-11-12   2021-11-13 ics/kamala-harris-macron-france.html         Asserts Herself as a Diplomatic Asset         KannoYoungs                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/us/polit Murkowski to Seek Reelection in a Tough
2021-11-12   2021-11-13 ics/murkowski-re-election-bid.html           Race                                          By Emily Cochrane                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/us/polit Tuition Aid Plan Leaves Out Thousands Who
2021-11-12   2021-11-13 ics/pell-grants-for-profit-colleges-aid.html Require Help                                  By Erica L Green                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/us/polit                                                By Lisa Lerer and Astead W
2021-11-12   2021-11-13 ics/republican-violent-rhetoric.html         Menace Grows Commonplace Among GOP Herndon                                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/us/polit Despite Ties to Drug Industry Califf Picked to By Sheryl Gay Stolberg and Sheila
2021-11-12   2021-11-13 ics/robert-califf-fda.html                   Lead FDA                                      Kaplan                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/us/polit Qatar to Represent American Interests in
2021-11-12   2021-11-13 ics/us-qatar-afghanistan.html                Afghanistan Blinken Says                      By Lara Jakes                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/world/a Trusted Broadcaster Muzzled As Hong Kong
2021-11-12   2021-11-13 sia/hong-kong-rthk-crackdown-china.html      Minds Beijing                                 By Vivian Wang                    TX 9-117-906   2022-01-03




                                                                                 Page 2996 of 5793
                        https://www.nytimes.com/2021/11/12/world/a Belarus Forces the EUs Hand by Exposing
2021-11-12   2021-11-13 sia/migration-eu-poland-belarus.html       Europes Migrant Crisis                        By Max Fisher                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/world/a US Journalist Is Sentenced To 11 Years in
2021-11-12   2021-11-13 sia/myanmar-danny-fenster.html             Myanmar Jail                                  By Richard C Paddock             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/world/e
                        urope/julian-assange-stella-moris-         While in Jail Assange Gets UK Consent For
2021-11-12   2021-11-13 marriage.html                              Marriage                                      By Cora Engelbrecht              TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/12/world/e As Belarus Strongman Goads the West Russia
2021-11-12   2021-11-13 urope/lukashenko-putin-belarus-russia.html Grows Increasingly Wary                      By Anton Troianovski              TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/world/
                        middleeast/israel-ethiopia-jews-             Ethiopian Civil War Has Fallout in Israeli
2021-11-12   2021-11-13 immigration.html                             Immigration Fray                           By Isabel Kershner                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/your-
2021-11-12   2021-11-13 money/heating-bills-winter-tips.html         Holding Down Your Winter Heating Bills     By Ann Carrns                     TX 9-117-906     2022-01-03
                        https://www.nytimes.com/interactive/2021/11/
                        12/climate/cop26-emissions-                  Who Has The Most Historical Responsibility By Nadja Popovich and Brad
2021-11-12   2021-11-13 compensation.html                            for Climate Change                         Plumer                            TX 9-117-906     2022-01-03

                        https://www.nytimes.com/live/2021/11/12/cli
                        mate/cop26-glasgow-climate-summit/some-
                        say-french-food-helped-win-the-paris-climate- Glasgow Menu Leaves Some Stomachs          By Somini Sengupta and Lisa
2021-11-12   2021-11-13 agreement-in-glasgow-things-are-different     Rumbling and Some Officials Grumbling      Friedman                         TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/12/arts/mu After 13 Years Spears Regains Right to
2021-11-13   2021-11-13 sic/britney-spears-conservatorship-ends.html Control Her Own Life                        By Joe Coscarelli and Julia Jacobs TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/sports/f The Suffering in Wisconsin That Rodgers Is
2021-11-13   2021-11-13 ootball/aaron-rodgers-vaccine-covid.html     Missing                                     By Kurt Streeter                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/sports/f Gruden Sues NFL and Goodell Alleging
2021-11-13   2021-11-13 ootball/gruden-sues-nfl.html                 Soviet Style Plot Against Him               By Ben Shpigel                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/theater/ All the Worlds a Stage but Some May Miss
2021-11-13   2021-11-13 preparedness-review-hillary-miller.html      Their Cue                                   By Elisabeth Vincentelli         TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/us/kyle- Rittenhouse Jury to Weigh Complex Legal
2021-11-13   2021-11-13 rittenhouse-trial-charges.html               Issues as Trial Approaches End              By Dan Hinkel                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/us/polit Appeals Court Extends Block on Bidens
2021-11-13   2021-11-13 ics/court-vaccine-mandate.html               Employer Vaccine Mandate                    By Charlie Savage                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/us/polit Group Says It Was Told Biden Diary Wasnt     By Michael S Schmidt and Adam
2021-11-13   2021-11-13 ics/project-veritas-ashley-biden-diary.html  Stolen                                      Goldman                          TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/13/nyregio PalmShaded Scramble For Power in New
2021-11-13   2021-11-13 n/city-council-speaker-nyc.html              York                                        By Emma G Fitzsimmons            TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/13/world/a Deep Within Chinas Mines a Worker
2021-11-13   2021-11-13 sia/china-miner-poet-chen-nianxi.html        Discovers the Soul of a Poet                By Vivian Wang                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/13/your-
                        money/public-service-loan-forgiveness-peace-
2021-11-13   2021-11-13 corps.html                                   Peace Corps Is Left Out Of Loan Fix         By Ron Lieber                    TX 9-117-906     2022-01-03



                                                                                Page 2997 of 5793
                        https://www.nytimes.com/2021/09/07/books/r
2021-09-07   2021-11-14 eview/lo-yi-chin-faraway.html              Mirror World                                By Jamie Fisher      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/09/14/books/r
                        eview/gabrielle-union-you-got-anything-
2021-09-14   2021-11-14 stronger.html                              Bring It On                                 By Erin Vanderhoof   TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/09/18/books/r
2021-09-18   2021-11-14 eview/generation-occupy-michael-levitin.html Activated                                 By Todd Gitlin       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/09/27/books/r
2021-09-27   2021-11-14 eview/kevin-young-stones-poems.html          At Play Among the Dead                    By David Orr         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/05/books/r
2021-10-05   2021-11-14 eview/dave-eggers-every.html                 The Enemy Is Us                           By Chelsea Leu       TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/12/books/r
2021-10-12   2021-11-14 eview/american-made-farah-stockman.html Labor Pains                                    By Richard Davies    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/12/books/r
2021-10-12   2021-11-14 eview/concepcion-albert-samaha.html        Long Way Down                               By Roberto Lovato    TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/12/books/r
2021-10-12   2021-11-14 eview/the-book-of-magic-alice-hoffman.html Bewitched                                   By Joanne Ramos      TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/18/travel/l In Los Angeles Glimpses of an Oasis With
2021-10-18   2021-11-14 os-angeles-san-pedro-community-garden.html Deep Immigrant Roots                        By Stella Kalinina   TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/19/books/r
2021-10-19   2021-11-14 eview/fallen-idols-alex-von-tunzelmann.html Correcting History                         By James Fallows     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/26/books/r
2021-10-26   2021-11-14 eview/john-mcwhorter-woke-racism.html       The New Inquisition                        By Zaid Jilani       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/books/r
                        eview/gary-shteyngart-our-country-          Locked Down With Friends Lovers and
2021-11-02   2021-11-14 friends.html                                Rivals in Gary Shteyngarts New Novel       By Dana Spiotta      TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/02/books/r
2021-11-02   2021-11-14 eview/new-york-my-village-uwem-akpan.htmlNation Divided                                By Jo Hamya          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/books/r
                        eview/noah-feldman-the-broken-
2021-11-02   2021-11-14 constitution.html                            Was the Constitution ProSlavery           By Sean Wilentz      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/books/r
2021-11-02   2021-11-14 eview/yevgeny-zamyatin-we.html               Savage States of Freedom                  By Jennifer Wilson   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/arts/mu
                        sic/robert-plant-alison-krauss-raise-the-
2021-11-04   2021-11-14 roof.html                                    Old Partners Find Their Way Back          By Jon Pareles       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/books/r
                        eview/schitts-creek-daniel-levy-best-wishes-
2021-11-04   2021-11-14 warmest-regards.html                         Inside the List                           By Elisabeth Egan    TX 9-117-906   2022-01-03



                                                                                Page 2998 of 5793
                        https://www.nytimes.com/2021/11/08/magazi
2021-11-08   2021-11-14 ne/emily-ratajkowski.html                     Through the Looking Glass                 By Andrea Long Chu           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/realesta
                        te/renters-williamsburg-brooklyn-
2021-11-08   2021-11-14 basketball.html                               A Quiet Studio With a HomeCourt Advantage By Marian Bull               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/t-
                        magazine/jacqueline-de-jong-art-border-
2021-11-08   2021-11-14 line.html                                     Still Taking Charcoal in Hand             By Julia Felsenthal          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/t-
2021-11-08   2021-11-14 magazine/men-bags-purses-gender.html          Call It a Purse                           By Nick Haramis              TX 9-117-906   2022-01-03
                                                                                                                By Alicia Kennedy Jennifer
                        https://www.nytimes.com/2021/11/08/t-                                                   Livingston and Haidee
2021-11-08   2021-11-14 magazine/messy-cakes-baking-instagram.html The Weirdness IS the Point                   FindlayLevin                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/interactive/2021/11/
                        08/magazine/yuval-noah-harari-                Yuval Noah Harari Believes This Simple
2021-11-08   2021-11-14 interview.html                                Story Can Save the Planet                 By David Marchese            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/arts/tele Thandiwe Newton Recommends James
2021-11-09   2021-11-14 vision/thandiwe-newton-westworld.html         Baldwin                                   By Kathryn Shattuck          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/books/r
                        eview/aristotle-dante-waters-world-bad-girls-
2021-11-09   2021-11-14 never-say-die-himawari-house.html             Next Steps                                By MJ Franklin               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/books/r
2021-11-09   2021-11-14 eview/the-sentence-louise-erdrich.html        Fever Dreams                              By Malcolm Jones             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/books/r
                        eview/win-me-something-kyle-lucia-wu-lean-
                        your-loneliness-slowly-against-mine-klara-
2021-11-09   2021-11-14 hveberg-the-archer-shruti-swamy.html          Debut Novels                              By YZ Chin                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/books/r
                        eview/year-of-the-reaper-beasts-of-prey-skin-
2021-11-09   2021-11-14 of-the-sea-gilded.html                        Mad Magic                                 By Jennifer Harlan           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/magazi
2021-11-09   2021-11-14 ne/1619-project-us-history.html               A Nation Of Argument                      By Jake Silverstein          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/magazi
2021-11-09   2021-11-14 ne/difficult-mother-in-law-ethics.html        What Do I Owe My Difficult MotherinLaw By Kwame Anthony Appiah         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/magazi
2021-11-09   2021-11-14 ne/voice-over.html                            How to Do a VoiceOver                     By Jaime Lowe                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/magazi
2021-11-09   2021-11-14 ne/volunteer-firefighting.html                Volunteer Firefighting                    By David Wall                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/opinion
2021-11-09   2021-11-14 /ramirez-execution-human-touch.html           Touch in the Death Chamber                By Helen Prejean             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/opinion
2021-11-09   2021-11-14 /structural-racism.html                       Racism Is Not A Moral Question            By Jamelle Bouie             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/realesta
2021-11-09   2021-11-14 te/your-walls-dont-have-to-be-boring.html     Your Blank Walls Dont Have to Be Boring   By Tim McKeough              TX 9-117-906   2022-01-03




                                                                                Page 2999 of 5793
                        https://www.nytimes.com/2021/11/09/sports/g A Ravaged Town Seeks Normalcy and            By Jer Longman and Bryan
2021-11-09   2021-11-14 rand-isle-cross-country.html                Running Helps                                Tarnowski                        TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/09/style/gr Five Weddings and a Planned Demolition in
2021-11-09   2021-11-14 and-prospect-hall-brooklyn-demolition.html Brooklyn                                      By Julianne McShane              TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/09/t-
2021-11-09   2021-11-14 magazine/ana-mendieta-brunch.html           A Celebration in Oaxaca                      By Anna Furman                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/09/t-
2021-11-09   2021-11-14 magazine/bonsai-plants-trees-craft.html     In Control                                   By Michael Snyder                TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/09/t-
2021-11-09   2021-11-14 magazine/sparkly-accessories-shoes-bags.html Sparkly Accessories                         By Mari Maeda and Yuji Oboshi    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/10/arts/tele
                        vision/will-ferrell-paul-rudd-the-shrink-next-
2021-11-10   2021-11-14 door.html                                      Overstepping the 50Minute Hour            By Dave Itzkoff                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/10/magazi
2021-11-10   2021-11-14 ne/green-salad-recipe.html                     The Secret to a Better Green Salad        By Eric Kim                      TX 9-117-906     2022-01-03

                                                                    Her persistent cough cracked a rib and her
                        https://www.nytimes.com/2021/11/10/magazi body ached all the time Then a doctor asked
2021-11-10   2021-11-14 ne/relapsing-polychondritis-diagnosis.html  two strange questions that revealed why      By Lisa Sanders MD               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/10/realesta
2021-11-10   2021-11-14 te/cool-roofs-climate-change-nyc.html       Up On The Roof Climate Relief                By Christina Poletto             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/10/style/da
2021-11-10   2021-11-14 niel-lee-bottega-veneta.html                A Surprise Exit at Bottega Veneta            By Vanessa Friedman               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/10/t-                                                    By Gabrielle Bellot Renee Cox and
2021-11-10   2021-11-14 magazine/black-horror-films-get-out.html    American Horror Story                        Danielle McKinney                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/10/t-
                        magazine/paris-apartment-design-                                                         By Nancy Hass and Thibault
2021-11-10   2021-11-14 antiques.html                               The Time Traveler                            Montamat                         TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/10/theater/
2021-11-10   2021-11-14 chicago-broadway-anniversary.html           The Enduring RazzleDazzle of Chicago         By Juan A Ramrez                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/theater/                                              By Alex Marshall Carlotta Gall and
2021-11-10   2021-11-14 little-amal-the-walk.html                   A Refugee Puppets Long Search for Home       Elisabetta Povoledo                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/arts/mu
2021-11-11   2021-11-14 sic/beatles-get-back-peter-jackson.html     Revisiting the Beatles Final Audition        By Ben Sisario                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/11/fashion
                        /cfda-awards-christopher-john-rogers-
2021-11-11   2021-11-14 bode.html                                   Fashions Oscars Return With a New Vision     By Guy Trebay                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/11/fashion Steven Mark Klein 70 Fashion Arbiter
2021-11-11   2021-11-14 /steven-mark-klein-dead.html                Gadfly And Archivist Is Dead                 By Penelope Green                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/11/magazi
2021-11-11   2021-11-14 ne/judge-john-hodgman-on-menu-talk.html Bonus Advice From Judge John Hodgman             By John Hodgman                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/11/magazi                                                By Airea D Matthews and Reginald
2021-11-11   2021-11-14 ne/poem-from-the-pocket-of-his-lip.html     Poem From the Pocket of His Lip              Dwayne Betts                     TX 9-117-906     2022-01-03



                                                                                   Page 3000 of 5793
                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-14 harry-potter-sorcerers-stone-anniversary.html The Harry Potter That Started It All          By Sarah Bahr                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/needies
                        t-cases/a-little-push-for-artists-in-challenging- Little Push for Artists and Campers in
2021-11-11   2021-11-14 times.html                                        Challenging Times                         By Emma Grillo                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/opinion
2021-11-11   2021-11-14 /courts-labor-strikes.html                        The Courts Take a Hammer to Labor         By Sara Nelson                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/realesta
2021-11-11   2021-11-14 te/home-values-near-national-parks.html           Bargains and Not Near National Parks      By Michael Kolomatsky            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/realesta
                        te/manhasset-ny-hometown-aura-and-a-short- Lured by a Hometown Aura and a Short
2021-11-11   2021-11-14 commute-lure-residents.html                       Commute                                   By Marcelle Sussman Fischler     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/sports/f In Terms of the Playoffs Its Getting Late Early
2021-11-11   2021-11-14 ootball/nfl-week-10-picks.html                    for Kansas City                           By Emmanuel Morgan               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/style/pa
2021-11-11   2021-11-14 rents-financial-support-social-qs.html            Tugging Purse Strings                     By Philip Galanes                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/style/sq
2021-11-11   2021-11-14 uid-game-track-suits.html                         What a Track Suit Says About a Nation     By Aileen Kwun                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/t-
2021-11-11   2021-11-14 magazine/mansaf-bedouin-rice.html                 The Lost Meal                             By Diana AbuJaber and Renee Cox TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/11/t-
2021-11-11   2021-11-14 magazine/mexico-rice-conquest.html                The Interloper                            By Aatish Taseer and Stefan Ruiz TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/t-                                                       By Ligaya Mishan and Anthony
2021-11-11   2021-11-14 magazine/scorched-burnt-rice.html                 Let it Burn                               Cotsifas                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/t-                                                       By Angela Flournoy and Manuel
2021-11-11   2021-11-14 magazine/senegal-homegrown-rice.html              Our Rice Ourselves                        ObadiaWills                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/t-
2021-11-11   2021-11-14 magazine/travel-rice.html                         One More Bowl                             By Hanya Yanagihara              TX 9-117-906   2022-01-03
                                                                          They Took Their Brooklyn Budget to New
                        https://www.nytimes.com/interactive/2021/11/ Jersey for More Value Which Home Would
2021-11-11   2021-11-14 11/realestate/11hunt-chu.html                     You Choose                                By Joyce Cohen                   TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/12/arts/des
2021-11-12   2021-11-14 ign/nick-relph-eclipse-body-soul-syntax.html Stalking New York As It Keeps Rising       By Randy Kennedy                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/arts/mu
2021-11-12   2021-11-14 sic/opera-wagner-ring-met.html                 Hes Taking Another Shot at the Ring      By Matthew Anderson                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/books/r
                        eview/alejandra-algorta-ivan-rickenmann-
2021-11-12   2021-11-14 neverforgotten.html                            Like Riding a Bike                       By Pam Muoz Ryan                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/books/r
                        eview/art-of-protest-de-nichols-diana-dagadita
                        molly-mendoza-olivia-twist-saddo-raul-oprea-
2021-11-12   2021-11-14 diego-becas.html                               The Medium and the Message               By Javaka Steptoe                  TX 9-117-906     2022-01-03




                                                                                 Page 3001 of 5793
                        https://www.nytimes.com/2021/11/12/books/r
                        eview/betsy-bird-david-small-long-road-to-the
2021-11-12   2021-11-14 circus.html                                   Flight of the Ostriches                 By Elisabeth Egan        TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/12/books/r
                        eview/candace-fleming-the-curse-of-the-
2021-11-12   2021-11-14 mummy-uncovering-tutankhamuns-tomb.html Return of the King                            By Joshua Hammer         TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/12/books/r
2021-11-12   2021-11-14 eview/dan-yaccarino-the-longest-storm.html Opening the Door                            By Bruce Handy          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/books/r
                        eview/eugene-yelchin-the-genius-under-the-
                        table-growing-up-behind-the-iron-
2021-11-12   2021-11-14 curtain.html                                   Escape Artist                           By Vera Brosgol         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/books/r
2021-11-12   2021-11-14 eview/gayle-forman-frankie-and-bug.html        California Dreaming                     By Jennifer L Holm      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/books/r
                        eview/how-do-you-live-genzaburo-
2021-11-12   2021-11-14 yoshino.html                                   Whats Dreamt of in Our Philosophy       By Adam Gopnik          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/books/r
                        eview/isamu-noguchi-shahzia-sikander-
                        giuliano-cucco-picture-books-about-art-and-
2021-11-12   2021-11-14 childhood.html                                 The Art of Childhood                    By Sergio Ruzzier       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/books/r
                        eview/mac-barnett-carson-ellis-what-is-
2021-11-12   2021-11-14 love.html                                      A Big Ask                               By Paul O Zelinsky      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/books/r
                        eview/maggie-o-farrell-where-snow-angels-
2021-11-12   2021-11-14 go.html                                        Cold Snap                               By Eowyn Ivey           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/books/r
2021-11-12   2021-11-14 eview/new-paperbacks.html                      Paperback Row                           By Tina Jordan          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/books/r
                        eview/nina-simone-jimi-hendrix-picture-
                        books-traci-n-todd-christian-robinson-charles-
2021-11-12   2021-11-14 r-smith-jr-edel-rodriguez.html                 Sonic Sensations                        By Daphne A Brooks      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/books/r
                        eview/r-j-palacio-pony-sharon-m-draper-out-
2021-11-12   2021-11-14 of-my-heart.html                               The Soul of an Animal                   By Sarah Maslin Nir     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/books/r
2021-11-12   2021-11-14 eview/yuyi-morales-bright-star.html            The Power of Community                  By Matt de la Pea       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/busines What Bosses Really Think About the Future
2021-11-12   2021-11-14 s/corner-office-return.html                    of Work                                 By David Gelles         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/busines Helene Fortunoff Who Built a Family Jewelry
2021-11-12   2021-11-14 s/helene-fortunoff-dead.html                   Empire Is Dead at 88                    By Katharine Q Seelye   TX 9-117-906   2022-01-03




                                                                                   Page 3002 of 5793
                        https://www.nytimes.com/2021/11/12/busines                                                By Julia Rothman and Shaina
2021-11-12   2021-11-14 s/sustainable-fashion.html                 Fashionably Late to the Climate Crisis         Feinberg                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/fashion
                        /weddings/david-raleigh-rich-bahl-         After 26 Years Still Seeing the Best in Each
2021-11-12   2021-11-14 wedding.html                               Other                                          By Tammy La Gorce             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/magazi
2021-11-12   2021-11-14 ne/real-estate-pandemic.html               Madhouse                                       By Francesca Mari             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/nyregio
2021-11-12   2021-11-14 n/dawn-davis-bon-appetit.html              Step by Step With Recipes and the Dog          By Alix Strauss               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/12/nyregio
2021-11-12   2021-11-14 n/martin-luther-king-jr-connecticut-farm.html Saving a Farm That Helped Inspire the Dream By Corey Kilgannon            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/nyregio She Cares for the Oldest and Sickest at Rikers
2021-11-12   2021-11-14 n/rikers-older-prisoners.html                 Island                                      By Ted Alcorn                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/nyregio
                        n/trump-defamation-lawsuit-summer-            Apprentice Contestant Ends Trump
2021-11-12   2021-11-14 zervos.html                                   Defamation Lawsuit                          By Jonah E Bromwich           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/nyregio
2021-11-12   2021-11-14 n/yemen-coffee-brooklyn.html                  Yemenis Reclaim Their Coffee Heritage       By Saki Knafo                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/nyregio
2021-11-12   2021-11-14 n/zephyr-teachout-attorney-general.html       Is the Time Right for Zephyr Teachout       By Ginia Bellafante           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/opinion
2021-11-12   2021-11-14 /biden-foreign-policy.html                    The Biden Doctrine Is What Exactly          By AnneMarie Slaughter        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/opinion
2021-11-12   2021-11-14 /facebook-privacy.html                        Facebook Is Targeting You                   By Shoshana Zuboff            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/realesta
2021-11-12   2021-11-14 te/disaster-proof-housing.html                Safe Houses                                 By Candace Jackson            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/sports/b To Keep Ohtani Happy the Angels Have to
2021-11-12   2021-11-14 aseball/shohei-ohtani-angels.html             Win                                         By Scott Miller               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/sports/s With the World Cup Approaching Qatar
2021-11-12   2021-11-14 occer/world-cup-2022-qatar.html               Hopes It Pays Off                           By Rory Smith                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/12/style/an
2021-11-12   2021-11-14 drew-katz-marysa-greenawalt-wedding.html Leaving Washington and Amtrak Behind             By Vincent M Mallozzi         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/style/au
2021-11-12   2021-11-14 drey-han-dong-frank-han-wedding.html         No Reason to Change Any Names Here           By Vincent M Mallozzi         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/style/de
                        nrick-kimathi-cooper-jr-elizabeth-comer-
2021-11-12   2021-11-14 wedding.html                                 A First Date With Serious Budget Limitations By Judy Mandell               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/style/eli
2021-11-12   2021-11-14 sabeth-rohm-peter-glatzer-wedding.html       The Kiss to End All Kisses                   By Abby Ellin                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/style/fl Her Old Babysitter Provided Inspiration For a
2021-11-12   2021-11-14 ora-collins-nanny-dearest.html               Debut Thriller                               By Alex Hawgood               TX 9-117-906   2022-01-03




                                                                                 Page 3003 of 5793
                        https://www.nytimes.com/2021/11/12/style/gi He Had Her Number but Not a Whole Lot
2021-11-12   2021-11-14 ovanni-rivera-barbara-delgado-wedding.html Else                                         By Linda Marx                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/style/la
2021-11-12   2021-11-14 cma-gala-nypl-library-lions-art-show.html   Movies First Then the Books                 By Denny Lee                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/style/m
2021-11-12   2021-11-14 odern-love-the-manny-diaries.html           Contributing a Chapter to the Manny Diaries By Kevin Renn                   TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/12/style/pe In a 100Date Challenge Happy to Fall 68
2021-11-12   2021-11-14 tra-schaefer-bruce-hunsaker-wedding.html    Short                                     By Nina Reyes                     TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/style/sa
2021-11-12   2021-11-14 rah-santucci-kevin-zhang-wedding.html       She Had Him at the Genus Nepenthes        By Becca Foley                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/style/so
2021-11-12   2021-11-14 cial-media-chat.html                        Lets Chat About a Better Internet         By John Herrman                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/12/t-
2021-11-12   2021-11-14 magazine/agnieszka-kurant-art.html          Out of One Many                           By Zo Lescaze                     TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/12/t-       Celine Jewelry Pieces That Center the Brands
2021-11-12   2021-11-14 magazine/celine-triomphe-jewelry-paris.html Triomphe Emblem                              By Lindsay Talbot                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/t-
                        magazine/nancy-holt-robert-smithson-
2021-11-12   2021-11-14 island.html                                 The Possibility of an Island                 By Andrew Russeth                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/us/polit Democrats Could Have a Long Wait if They
2021-11-12   2021-11-14 ics/democrats-trifecta-power.html           Lose Control of Washington                   By Nate Cohn                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/arts/mu Graeme Edge 80 Poet Drummer and
2021-11-13   2021-11-14 sic/graeme-edge-dead.html                   CoFounder Of Britains Moody Blues            By Clay Risen                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/busines
2021-11-13   2021-11-14 s/401k-starting-a-business.html             Be Careful Using a 401k to Start a Business By Tammy La Gorce                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/busines
2021-11-13   2021-11-14 s/john-deere-strike-union.html              Deere Reaches Third Deal With Union          By Noam Scheiber                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/busines Kaiser Permanente Averts Strike After
2021-11-13   2021-11-14 s/kaiser-permanente-unions-strike.html      Negotiating Tentative Pact                   By Noam Scheiber                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/climate Climate Summit Reaches Accord Amid
2021-11-13   2021-11-14 /cop26-glasgow-climate-agreement.html       Contention                                   By Brad Plumer and Lisa Friedman TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/opinion
2021-11-13   2021-11-14 /can-reaganism-rise-again.html              Can Reaganism Rise Again                     By Ross Douthat                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/opinion Teaching My Daughter to Love Her Brown
2021-11-13   2021-11-14 /culture/racism-colorism-parenting.html     Skin                                         By Wajahat Ali                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/opinion
2021-11-13   2021-11-14 /immigration-trump-biden-covid.html         End the Emergency at the Border              By The Editorial Board           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/realesta
                        te/accommodations-disabled-nyc-             I Am Disabled Why Cant I Keep My Walker
2021-11-13   2021-11-14 buildings.html                              Outside My Front Door                        By Ronda Kaysen                  TX 9-117-906   2022-01-03




                                                                                Page 3004 of 5793
                        https://www.nytimes.com/2021/11/13/sports/s Trash Talk Scuffles a Special Undershirt
2021-11-13   2021-11-14 occer/usmnt-mexico-pulisic-mckennie.html Chants and a Key Victory                      By Andrew Keh                     TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/13/style/sa
2021-11-13   2021-11-14 m-asghari-britney-spears.html               Keeping Up Appearances With Sam Asghari    By Caity Weaver                   TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/13/style/si
2021-11-13   2021-11-14 ng-2-rodarte-costumes.html                  A HighFashion Family Film Experiment       By Jessica Testa                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/13/us/doct Doctor Charged in Ruse for Rescue Request
2021-11-13   2021-11-14 or-denali-false-report-helicopter.html      on Denali                                  By Amanda Holpuch                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/13/us/polit A Chaotic Presidency Election Falsehoods
2021-11-13   2021-11-14 ics/chris-christie-book-trump.html          And Plenty of Trump                        By Maggie Haberman                TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/13/us/polit With Ancestral Land a Toxic Dump a Tribe
2021-11-13   2021-11-14 ics/tribal-lands-flooding-nuclear-waste.html Seeks a Solution                           By Mark Walker                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/us/ritte Trials Spotlight The Fault Lines In
2021-11-13   2021-11-14 nhouse-arbery-self-defense.html              SelfDefense                                By Shaila Dewan                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/us/us-
2021-11-13   2021-11-14 airstrikes-civilian-deaths.html              How the US Hid a Devastating Airstrike     By Dave Philipps and Eric Schmitt TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/world/a Sudan Police Open Fire On Protesters Killing
2021-11-13   2021-11-14 frica/sudan-protests.html                    5                                          By Declan Walsh                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/world/a Regional Rivalries Slow Food Aid to
2021-11-13   2021-11-14 sia/india-pakistan-afghanistan-wheat.html    Afghanistan                                By Mujib Mashal                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/world/a Potential MarcosDuterte Ticket Starts to
2021-11-13   2021-11-14 sia/philippines-sara-duterte-marcos.html     Emerge in Philippines Election             By SuiLee Wee and Jason Gutierrez TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/world/c In Atlantic Canada a Tide of Come From
2021-11-13   2021-11-14 anada/newfoundland-migrants.html             Awayers                                    By Dan Bilefsky                   TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/13/world/e Dead Among the Living Trauma of 2015
2021-11-13   2021-11-14 urope/france-2015-attacks-trial-victims.html Paris Attacks Fills Courtroom             By Aurelien Breeden               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/13/world/e A UKUS Split Screen Of Meghans Two
2021-11-13   2021-11-14 urope/meghan-markle-uk-tabloids.html         Images                                    By Mark Landler                   TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/13/world/
2021-11-13   2021-11-14 middleeast/belarus-migrants-iraq-kurds.html Belarus Using Iraqi Migrants As Weapons    By Jane Arraf and Elian Peltier   TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/13/sports/n Oklahoma Had Playoff Hopes Baylor Had
2021-11-14   2021-11-14 caafootball/baylor-oklahoma.html            Other Ideas                                By Alanis Thames                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/14/busines Few Rules No Taxes Where Crypto             By David Segal and Ivan
2021-11-14   2021-11-14 s/crypto-ukraine.html                       Mavericks Play                             Nechepurenko                      TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/14/busines
                        s/the-week-in-business-conglomerates-break- The Week in Business Conglomerates Break
2021-11-14   2021-11-14 up.html                                     Up                                         By Sarah Kessler                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/14/insider/
2021-11-14   2021-11-14 casa-magazines-community.html               Casa Magazines The Secret Is Out           By Kate Dwyer                     TX 9-117-906    2022-01-03




                                                                               Page 3005 of 5793
                        https://www.nytimes.com/2021/11/14/realesta
                        te/homes-that-sold-for-around-1-5-
2021-11-14   2021-11-14 million.html                                Homes That Sold for Around 15 Million        By C J Hughes                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/us/loud Districts Focus On Bias Ignited Fury in
2021-11-14   2021-11-14 oun-county-school-board-va.html             Virginia                                     By Stephanie Saul                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/world/a Seeking Food and Freedom Young Cubans
2021-11-14   2021-11-14 mericas/cuba-protest.html                   Plan Bold Action A Protest                   By Ed Augustin                    TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/21/realesta
2021-11-21   2021-11-14 te/homes-that-sold-for-around-1-million.html Homes That Sold for Around 1 Million   By C J Hughes                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/19/busines Please Unmute Your Mutt How Dog Trainers
2021-10-19   2021-11-15 s/dogs-video-training.html                   Are Turning to Video Sessions          By John Hanc                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/technol
                        ogy/social-media-youtube-shopping-
2021-11-11   2021-11-15 destinations.html                            Why the Internet Is Turning Into QVC   By Shira Ovide                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/interactive/2021/11/ What We Know So Far About Waning       By Amy Schoenfeld Walker and
2021-11-11   2021-11-15 11/science/vaccine-waning-immunity.html      Vaccine Effectiveness                  Josh Holder                            TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/12/arts/dan
2021-11-12   2021-11-15 ce/zvi-gotheiner-the-art-of-fugue-review.html Adding an Unexpected Round to the Fugue    By Brian Seibert                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/12/arts/mu
2021-11-12   2021-11-15 sic/astroworld-travis-scott-concert-safety.html Festival Deaths Renew Questions          By Ben Sisario                    TX 9-117-906   2022-01-03
                                                                                                                 By Jon Pareles Isabelia Herrera
                        https://www.nytimes.com/2021/11/12/arts/mu                                               Giovanni Russonello and Lindsay
2021-11-12   2021-11-15 sic/taylor-swift-red.html                   In 2021 Swift Goes Back to 2012              Zoladz                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/busines
                        s/media/nbcuniversal-nielsen-tv-            How TV Executives Want Nielsen to
2021-11-12   2021-11-15 alternatives.html                           Measure Up                                   By Tiffany Hsu                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/busines                                               By SuiLee Wee and Vo Kieu Bao
2021-11-12   2021-11-15 s/vietnam-workers-covid.html                Resistance From Vietnams Workers             Uyen                              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/opinion Social Media Is Polluted With Climate
2021-11-12   2021-11-15 /climate-change-facebook-glasgow.html       Denialism                                    By Greg Bensinger                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/opinion
2021-11-12   2021-11-15 /kyrsten-sinema-clothing.html               The Message of Sinemas Style                 By Tressie McMillan Cottom        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/us/pard
2021-11-13   2021-11-15 on-north-carolina-compensation.html         Man Is Pardoned After 24 Years in Prison     By Michael Levenson               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/busines Business Schools Respond to a Flood of
2021-11-13   2021-11-15 s/dealbook/business-schools-esg.html        Interest in Social Impact Coursework         By Jenny Gross                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/nyregio Bettina Grossman Quirky Artistic Fixture at
2021-11-13   2021-11-15 n/bettina-grossman-dead.html                Chelsea Hotel Dies at 94                     By Corey Kilgannon                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/sports/t Jane Brown Grimes 80 Quiet Leader of
2021-11-13   2021-11-15 ennis/jane-brown-grimes-dead.html           Womens Tennis                                By Richard Sandomir               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/sports/f Sam Huff 87 Fearsome Hall of Fame
2021-11-14   2021-11-15 ootball/sam-huff-dead.html                  Linebacker in Giants Glory Years Dies        By Richard Goldstein              TX 9-117-906   2022-01-03



                                                                                  Page 3006 of 5793
                        https://www.nytimes.com/2021/11/14/arts/des
2021-11-14   2021-11-15 ign/longhouse-reserve-east-hampton.html         At Sculpture Garden A Display of Bitterness By Stacey Stowe                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/arts/tele SNL Gives Ted Cruz His Own Version of
2021-11-14   2021-11-15 vision/snl-taylor-swift-ted-cruz.html          Sesame Street                                By Dave Itzkoff                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/books/h
                        anif-abdurraqib-little-devil-america-national-
2021-11-14   2021-11-15 book-awards.html                               Unplanned Success In a Writing Career        By Elizabeth A Harris            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/busines
                        s/economy/farm-exports-supply-chain-
2021-11-14   2021-11-15 ports.html                                     Crunch at Ports Spells Trouble for US Farms By Ana Swanson                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/busines
2021-11-14   2021-11-15 s/japan-economy.html                           Slow Revival Of Economy Hurts Japan          By Ben Dooley and Hisako Ueno    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/climate Scant Few Hold Keys to Success Of Climate
2021-11-14   2021-11-15 /glasgow-cop26-leadership.html                 Vow                                          By Somini Sengupta               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/nyregio Is Brooklyn in the House and City Hall Its
2021-11-14   2021-11-15 n/brooklyn-eric-adams-elections.html           Politicians Certainly Are                    By Jeffery C Mays                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/obituari Etel Adnan 96 Who Wrote A Classic of War
2021-11-14   2021-11-15 es/etel-adnan-dead.html                        Literature                                   By Nana Asfour                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/opinion The Impact of the Browning of America on
2021-11-14   2021-11-15 /latinos-colorism-anti-blackness.html          AntiBlackness                                By Charles M Blow                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/opinion
2021-11-14   2021-11-15 /paid-family-leave-biden.html                  Without Parental Leave I Might Be Dead       By Bess Kalb                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/sports/f
2021-11-14   2021-11-15 ootball/bills-jets-score.html                  Bills End Fairy Tale for a Jets Backup       By Devin Gordon and Diante Lee   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/sports/                                                  By Billy Witz and Gabriella
2021-11-14   2021-11-15 mater-dei-st-john-bosco.html                   College Football but in High School          AngottiJones                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/sports/p Womens Tour Seeks Chinese Inquiry Into
2021-11-14   2021-11-15 eng-shuai-zhang-gaoli.html                     Players Sexual Assault Accusation            By Christopher Clarey            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/theater/
2021-11-14   2021-11-15 assassins-review-classic-stage.html            John Wilkes Booth and Friends Misfiring      By Laura CollinsHughes           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/us/ghos Firearm Kits Sold Online Fuel Epidemic of
2021-11-14   2021-11-15 t-guns-homemade-firearms.html                  Violence                                     By Glenn Thrush                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/us/kyle-
2021-11-14   2021-11-15 rittenhouse-trial-takeaways.html               Rittenhouse Trial 6 Key Moments              By Julie Bosman                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/14/world/a Sierra Leones Health System Feels Strain   By Mara KardasNelson and Ruth
2021-11-14   2021-11-15 frica/sierra-leone-explosion-healthcare.html After a Deadly Explosion                 Maclean                                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/world/a ISIS Attacks Kill Three Generations of One By Christina Goldbaum Yaqoob
2021-11-14   2021-11-15 sia/afghanistan-isis-shiites.html            Afghan Family Over Two Weeks             Akbary and Jim Huylebroek              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/world/a Driven Out of Myanmar and Facing Death
2021-11-14   2021-11-15 sia/rohingya-refugees-bangladesh.html        Threats in Bangladesh                    By Hannah Beech                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/world/e Bad Back Sidelines Queen Fueling Anxieties
2021-11-14   2021-11-15 urope/queen-elizabeth-health.html            in Britain                               By Mark Landler                        TX 9-117-906   2022-01-03




                                                                                 Page 3007 of 5793
                        https://www.nytimes.com/2021/11/14/world/
                        middleeast/afghan-university-students-      Students From the American University in
2021-11-14   2021-11-15 iraq.html                                   Kabul Find Refuge in Iraq                    By Jane Arraf                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/world/   Air Route to Belarus Closed to Migrants in   By Isabella Kwai and Monika
2021-11-14   2021-11-15 middleeast/belarus-mideast-air-route.html   Bid to Halt Crisis                           Pronczuk                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/world/   One Is Dead As 2 Quakes Rattle South Of
2021-11-14   2021-11-15 middleeast/iran-earthquake.html             Iran                                         By Farnaz Fassihi             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/world/
2021-11-14   2021-11-15 middleeast/libya-president-qaddafi.html     Qaddafis Son to Run for President in Libya   By Vivian Yee                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/14/busines A Christian News Editor Is Out as Clashes
2021-11-15   2021-11-15 s/world-magazine-marvin-olasky-trump.html Grow                                          By Ben Smith                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/sports/f
                        ootball/aaron-rodgers-packers-seahawks-     Rodgerss Triumphant Return Reflects Packers
2021-11-15   2021-11-15 score.html                                  Priorities                                  By Ben Shpigel                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/sports/f
2021-11-15   2021-11-15 ootball/nfl-scores.html                     What We Learned This Week                   By Tyler Dunne                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/14/us/polit Biden Names Louisianian To Supervise      By Michael D Shear and Zolan
2021-11-15   2021-11-15 ics/biden-mitch-landrieu-infrastructure.html Spending                                 KannoYoungs                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/us/polit Looming Fight On Faith Funds And Child
2021-11-15   2021-11-15 ics/religious-groups-child-care.html          Care                                    By Luke Broadwater               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/us/polit Trump Hotel to Be Sold For at Least 375
2021-11-15   2021-11-15 ics/trump-hotel-sale.html                     Million                                 By Ben Protess and Eric Lipton   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/arts/tele
                        vision/whats-on-tv-this-week-simple-as-water-
2021-11-15   2021-11-15 and-the-american-music-awards.html            This Week on TV                         By Gabe Cohn                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/busines When the Wealthy Give Its With This Firms
2021-11-15   2021-11-15 s/billionaires-donating-consulting.html       Advice                                  By Nicholas Kulish               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/busines
                        s/media/people-magazine-dotdash-              Where Does People Magazine Fit in New
2021-11-15   2021-11-15 meredith.html                                 Owners Portfolio                        By Marc Tracy                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/nyregio Bill Will Give Overdue Aid To Crumbing     By Michael Gold Mihir Zaveri and
2021-11-15   2021-11-15 n/infrastructure-bill-new-york.html           Public Works                            Ashley Wong                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/sports/n The NCAA Is Rewriting Its Rules Heres How
2021-11-15   2021-11-15 caafootball/ncaa-constitution.html            University Sports Might Change          By Alan Blinder                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/sports/t In WTA Finals Season Of Endless Surprises
2021-11-15   2021-11-15 ennis/wta-finals.html                         Comes to Fitting End                    By Matthew Futterman             TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/15/us/polit                                              By Reid J Epstein and Nick
2021-11-15   2021-11-15 ics/republicans-2022-redistricting-maps.html Jagged Maps Tilt Key Races Toward GOP       Corasaniti                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/well/m Can Specific Foods or Diets Boost Your
2021-11-02   2021-11-16 ale-testosterone-levels.html                 Testosterone Levels                         By Randi Hutter Epstein MD    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/climate
2021-11-03   2021-11-16 /satellites-carbon-dioxide.html              Satellites Could Track Carbon Reductions    By Henry Fountain             TX 9-117-906   2022-01-03



                                                                                Page 3008 of 5793
                        https://www.nytimes.com/2021/11/06/us/dark-
2021-11-06   2021-11-16 sky-parks-us.html                           Five New DarkSky Places for Stargazing         By Johnny Diaz                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/science Fore New Zealands Sea Lions Return And
2021-11-09   2021-11-16 /new-zealand-sea-lions.html                 Push Back Some Tee Times                       By Charlotte GrahamMcLay        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/science A Cry for Help I Scream You Scream and
2021-11-10   2021-11-16 /bees-screaming-murder-hornets.html         Now Bees Are Screaming Too                     By Sabrina Imbler               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/10/science Molten Innards To Get a Glimpse Inside a
2021-11-10   2021-11-16 /volcanoes-muons-muography.html             Volcano Think Cosmically                       By Robin George Andrews         TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/10/well/m
2021-11-10   2021-11-16 ove/hiit-high-intensity-interval-training.html Revving Up Your Exercise Routine            By Gretchen Reynolds            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/educati Quandra Prettyman 88 Champion of Black
2021-11-11   2021-11-16 on/quandra-prettyman-dead.html                 Women Writers                               By Clay Risen                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/health/ Bariatric Surgery May Help With Liver
2021-11-11   2021-11-16 obesity-fatty-liver-surgery.html               Disease                                     By Roni Caryn Rabin             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/health/
2021-11-11   2021-11-16 veterans-psychedelics-ptsd-depression.html Healing Messengers                              By Andrew Jacobs                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/science Little Wonder It Follows Earth Around the
2021-11-11   2021-11-16 /moon-kamooalewa-asteroid.html                 Sun But Please Dont Call It a Moon          By Robin George Andrews         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/well/fa
2021-11-12   2021-11-16 mily/dog-insomnia-sleep-effects.html           Is Dogsomnia Keeping You Awake              By Tara ParkerPope              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/busines
                        s/media/coronavirus-misinformation-radio- Falsehoods About Covid Find Home On
2021-11-12   2021-11-16 podcasts.html                                  Podcasts                                    By Tiffany Hsu and Marc Tracy   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/theater/
                        othello-rikki-henry-landestheater-
2021-11-12   2021-11-16 niederoesterreich.html                         New Othello Puts the Spotlight on Race      By AJ Goldmann                  TX 9-117-906   2022-01-03
                                                                       275 Minutes on Hold
                        https://www.nytimes.com/2021/11/12/travel/a Why Airline Customer Service Still Cant
2021-11-12   2021-11-16 irline-customer-service-covid.html             Keep Up With the Deluge                     By Heather Murphy               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/health/c School Nurses Battle Covid19 and Enemy
2021-11-13   2021-11-16 oronavirus-school-nurses.html                  Label                                       By Emily Anthes                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/health/
2021-11-13   2021-11-16 death-dying-dignity.html                       Terminal Patients Seek Assistance           By Paula Span                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/arts/bot
2021-11-15   2021-11-16 ox.html                                        The Art of Botox and the Loss of Frowning   By Amanda Hess                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/arts/dan
2021-11-15   2021-11-16 ce/twyla-tharp-twyla-now.html                  My Hope for a Perfect World                 By Gia Kourlas                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/15/arts/mu
2021-11-15   2021-11-16 sic/san-francisco-theaters-concert-halls.html A Downtown Tries to Fill Empty Seats         By Adam Nagourney               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/arts/mu
2021-11-15   2021-11-16 sic/taylor-swift-all-too-well.html            Taylor Swifts Weaponization of Memory        By Lindsay Zoladz               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/books/r
2021-11-15   2021-11-16 eview-medusas-ankles-a-s-byatt.html           Liberated by the Lure of Fairy Tales         By Dwight Garner                TX 9-117-906   2022-01-03



                                                                                  Page 3009 of 5793
                        https://www.nytimes.com/2021/11/15/busines Will Hydrogen Be Aviations EcoFriendly
2021-11-15   2021-11-16 s/airplanes-hydrogen-fuel-travel.html       Fuel                                           By Roy Furchgott                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/busines
                        s/energy-environment/gas-prices-            With Gas Prices High Pressure Increases to
2021-11-15   2021-11-16 inflation.html                              Tap the US Strategic Oil Reserve               By Clifford Krauss                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/busines
2021-11-15   2021-11-16 s/shell-britain-move.html                   Shell Proposes Moving Operations to Britain By Stanley Reed                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/busines
                        s/wework-in-its-first-earnings-report-as-a-
2021-11-15   2021-11-16 public-company-shows-more-losses.html       Amid Losses WeWork Likes Trend Lines           By Peter Eavis                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/climate Biden to Bar Drilling Around a Major Native
2021-11-15   2021-11-16 /biden-bans-drilling-chaco-canyon.html      American Cultural Site                         By Coral Davenport                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/climate
2021-11-15   2021-11-16 /climate-conservation-gender-equality.html Protecting the planet woman by woman            By Sarah Trent                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/climate
2021-11-15   2021-11-16 /generation-climate.html                    Young voices from the front lines              By The New York Times               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/climate
2021-11-15   2021-11-16 /hydrogen-green-revolution.html             Helping to fuel a green revolution             By Peter Wilson                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/climate
2021-11-15   2021-11-16 /martin-henn-architecture.html              Building with the future in mind               By Shivani Vora                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/health/c
2021-11-15   2021-11-16 oronavirus-vaccine-cats-dogs-pets.html      A Covid Vaccine For Pets                       By Emily Anthes                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/nyregio Federal Billions on Way MTA to Delay
2021-11-15   2021-11-16 n/mta-train-subway-nyc.html                 Increase In Fares and Service Cuts             By Michael Gold                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/nyregio New York City Broadens Guidelines for
2021-11-15   2021-11-16 n/nyc-booster-shots-adults.html             Adult Boosters                                 By Lola Fadulu                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/nyregio                                                 By Jeffery C Mays and Zachary
2021-11-15   2021-11-16 n/thomas-jefferson-statue-nyc.html          Jefferson Statue Will Be Moved to a Museum Small                                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/opinion
2021-11-15   2021-11-16 /antitrust-penguin-biden.html               Paying Attention to Monopolys Bad Cousin By Binyamin Appelbaum                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/opinion
2021-11-15   2021-11-16 /covid-bannon-rittenhouse.html              Next Thing You Know You Have Covid             By Gail Collins and Bret Stephens   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/sports/b
                        aseball/arozarena-india-rookie-of-the-      One Rookie of the Year Fulfills the Hype
2021-11-15   2021-11-16 year.html                                   Another Earns His Own Notice                   By Benjamin Hoffman                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/sports/b Unsung Pioneer Across Decades May Get His
2021-11-15   2021-11-16 aseball/minnie-minoso-hall-of-fame.html     Due                                            By Tyler Kepner                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/sports/h For the Islanders Its Been a Long Way to
2021-11-15   2021-11-16 ockey/new-york-islanders.html               Almost Home                                    By David Waldstein                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/technol Alan Paller Who Made Cybersecurity
2021-11-15   2021-11-16 ogy/alan-paller-dead.html                   Education His Mission Dies at 76               By Nicole Perlroth                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/technol
2021-11-15   2021-11-16 ogy/halo-infinite-xbox.html                 Microsoft Counts on Master Chief               By Kellen Browning                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/theater/
2021-11-15   2021-11-16 for-colored-girls-broadway.html             Revival of For Colored Girls Is Set for Spring By Nicole Herrington                TX 9-117-906   2022-01-03



                                                                                  Page 3010 of 5793
                                                                                                                  By Julie Bosman Mitch Smith Neil
                                                                                                                  MacFarquhar Tim Arango Chloe
                                                                                                                  Reynolds Adria Malcolm Mason
                        https://www.nytimes.com/2021/11/15/us/hom Four Lives Lost Inside a Surging Homicide       Trinca Cydni Elledge and Stephen
2021-11-15   2021-11-16 icides-america.html                         Rate                                          Speranza                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/us/polit Judge Rules for Sandy Hook Families Over
2021-11-15   2021-11-16 ics/alex-jones-sandy-hook.html              FarRight Broadcaster                           By Elizabeth Williamson        TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/15/us/polit Bannon Surrenders on Contempt of Congress
2021-11-15   2021-11-16 ics/bannon-congress-trump-jan-6.html        Charges but Vows to Fight Back                 By Katie Benner                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/15/us/polit
                        ics/beto-orourke-texas-governor-            ORourke to Make LongShot Bid for Texas
2021-11-15   2021-11-16 announcement.html                           Governor                                       By J David Goodman             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/15/us/polit
                        ics/biden-approval-rating-infrastructure-   Biden Got His Bipartisan Win Now He
2021-11-15   2021-11-16 bill.html                                   Returns to a Harsher Reality                   By Michael D Shear             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/15/us/polit Biden and Xi Meet in a Bid to Ease Economic
2021-11-15   2021-11-16 ics/biden-china-xi-jinping.html             and Military Tensions                          By Michael D Shear             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/15/us/polit
2021-11-15   2021-11-16 ics/biden-signs-infrastructure-bill.html    Biden Signs Bill For Bolstering Infrastructure By Jim Tankersley              TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/15/us/polit Bidens Plan To Capture 400 Billion Hits a
2021-11-15   2021-11-16 ics/biden-social-policy-bill-irs.html       Snag                                           By Alan Rappeport              TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/15/us/polit Blinken Heads to Africa to Try to Avert
2021-11-15   2021-11-16 ics/blinken-africa-ethiopia.html            Ethiopia Disaster                              By Michael Crowley             TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/15/us/polit After Nearly 50 Years Leahy of Vermont
2021-11-15   2021-11-16 ics/pat-leahy-senate-retire.html            Plans to Retire From Senate When Term Ends By Emily Cochrane               TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/15/us/polit Court Shows Impatience With Death Row
2021-11-15   2021-11-16 ics/supreme-court-death-penalty.html        Cases                                      By Adam Liptak                  TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/15/us/ritte Rittenhouse Case in the Jurys Hands as     By Julie Bosman Dan Hinkel and
2021-11-15   2021-11-16 nhouse-trial-closing-arguments.html         Closing Arguments Wrap Up                  Nicholas BogelBurroughs         TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/15/us/river No Longer an Underdog A Deaf High School
2021-11-15   2021-11-16 side-california-deaf-football-team.html     Team Takes California by Storm             By Thomas Fuller                TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/15/well/liv
2021-11-15   2021-11-16 e/surgery-medical-tests.html                Presurgical Tests Are Often Unnecessary    By Jane E Brody                 TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/15/world/a Government Forces Disrupt Planned Protests
2021-11-15   2021-11-16 mericas/cuba-protests.html                  in Cuba                                    By Frances Robles               TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/15/world/a In an Aging Japan Turning Mountains Of
2021-11-15   2021-11-16 sia/adult-diapers-japan.html                Waste Into Fuel                            By Motoko Rich and Makiko Inoue TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/15/world/a Duterte Announces Senate Campaign As
2021-11-15   2021-11-16 sia/duterte-philippines-election.html       Daughter Runs for Vice President           By SuiLee Wee                   TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/15/world/a
                        sia/india-journalists-arrested-crackdown-   Indian Reporters Arrested As Hindu Party
2021-11-15   2021-11-16 tripura.html                                Denies Mosques Were Vandalized             By Emily Schmall and Hari Kumar TX 9-117-906       2022-01-03
                        https://www.nytimes.com/2021/11/15/world/a
2021-11-15   2021-11-16 sia/myanmar-danny-fenster-release.html      Myanmar Frees US Journalist From Jail Term By Richard C Paddock            TX 9-117-906       2022-01-03



                                                                                 Page 3011 of 5793
                        https://www.nytimes.com/2021/11/15/world/e
                        urope/belarus-poland-eu-sanctions-          EU Penalizes Belarus As Freezing Migrants By Monika Pronczuk and Steven
2021-11-15   2021-11-16 migrants.html                               Crowd at Polish Border                        Erlanger                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/world/e
2021-11-15   2021-11-16 urope/europe-vaccine.html                   Europe Targets Unvaccinated In Virus Spike By Jason Horowitz                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/world/e UK Officials Say Blast in Taxi Was an Act
2021-11-15   2021-11-16 urope/uk-taxi-explosion-liverpool.html      Of Terror and Praise the Drivers Response     By Megan Specia                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/world/e
2021-11-15   2021-11-16 urope/ukraine-russia-war-putin.html         Ukraine Fight Over Groceries Ignites a Battle By Andrew E Kramer                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/world/ Plagues Strike Egypt Sudden Floods Then
2021-11-15   2021-11-16 middleeast/scorpions-egypt.html             4Inch Scorpions Called Deathstalkers          By Vivian Yee and Nada Rashwan    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/arts/des
                        ign/sothebys-macklowe-auction-rothko-       Macklowe Art Auction Brings 676 Million at
2021-11-16   2021-11-16 warhol.html                                 Sothebys                                      By Robin Pogrebin                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/opinion
2021-11-16   2021-11-16 /diversity-equity-inclusion.html            The Absurd Side of Social Justice Efforts     By Michelle Goldberg              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/opinion
2021-11-16   2021-11-16 /steele-dossier.html                        The Steele Dossier Indicted the Media         By Bill Grueskin                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/15/science Russian Weapon Tests Debris Forces
2021-11-16   2021-11-16 /russia-anti-satellite-missile-test-debris.html Astronauts to Shelter                       By Joey Roulette                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/theater/ A Dozing Play Reawakens Only to Drift Off
2021-11-16   2021-11-16 mornings-at-seven-review.html                   Again                                       By Alexis Soloski               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/us/ahm Judge Rebuffs Call for Mistrial in Arbery         By Richard Fausset and Tariro
2021-11-16   2021-11-16 aud-arbery-trial.html                           Case                                        Mzezewa                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/us/migr Illegal Migration at Border Dips for the Third
2021-11-16   2021-11-16 ants-border-crossings.html                      Month                                       By Miriam Jordan                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/us/polit Defense Chief Wants Details Of Airstrike On
2021-11-16   2021-11-16 ics/pentagon-syria-airstrike.html               Civilians                                   By Eric Schmitt                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/nyregio Rats Jobs Parking Nightlife A Clash Over
2021-11-16   2021-11-16 n/outdoor-dining-near-me-nyc.html               Outdoor Dining                              By Nicole Hong                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/books/r
2021-11-09   2021-11-17 eview-will-smith-memoir.html                    There emIsem Such A Thing As Luck           By Alexandra Jacobs             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/theater/
2021-11-11   2021-11-17 zadie-smith-wife-of-willesden.html              Zadie Smith Revisits Chaucer for First Play By Desiree Ibekwe               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/dining/
2021-11-12   2021-11-17 best-mashed-potatoes-recipe.html                The Essential Mashed Potatoes Are Here      By Genevieve Ko                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/dining/
                        best-pumpkin-apple-pecan-pie-recipes-
2021-11-12   2021-11-17 thanksgiving.html                               Three Classics Made Perfect                 By Melissa Clark                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/dining/t
2021-11-12   2021-11-17 hanksgiving-hashweh-stuffing.html               Turkeys Fine but Try the Rice Stuffing      By Reem Kassis                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/dining/t
                        his-lemon-pie-captures-the-feeling-of-
2021-11-12   2021-11-17 home.html                                       This Lemon Pie Feels Like Home              By Yewande Komolafe             TX 9-117-906   2022-01-03



                                                                                  Page 3012 of 5793
                        https://www.nytimes.com/2021/11/14/books/l Lee Maracle 71 Author Who Stood Up For
2021-11-14   2021-11-17 ee-maracle-dead.html                         Indigenous People Including Herself          By Alex Traub                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/14/opinion Denmarks Hard Lessons About Trust and          By Rebecca AdlerNissen Sune
2021-11-14   2021-11-17 /denmark-trust-covid-vaccine.html            Covid                                        Lehmann and Andreas Roepstorff   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/arts/mu Summer Walker Beats Abbas First Album in
2021-11-15   2021-11-17 sic/summer-walker-still-over-it.html         Decades to No 1                              By Ben Sisario                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/arts/tele
2021-11-15   2021-11-17 vision/the-sex-lives-of-college-girls.html    An Awkward Education In Intimacy            By Alexis Soloski                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/busines
2021-11-15   2021-11-17 s/wall-street-china.html                     Wall Street Goes All In As China Eases Rules By Lananh Nguyen                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/dining/ To Debate The Subject of Latkes Is on the
2021-11-15   2021-11-17 all-about-latkes-talk.html                   Table                                        By Florence Fabricant            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/dining/ Bakery Takes Its Babka To the Upper East
2021-11-15   2021-11-17 breads-bakery-upper-east-side.html           Side                                         By Florence Fabricant            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/dining/ To Pour Elegant Glass Vessels Stand Ready
2021-11-15   2021-11-17 civilian-objects-cruet.html                  to Serve                                     By Florence Fabricant            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/dining/
2021-11-15   2021-11-17 drinks/thanksgiving-wine.html                For Thanksgiving and Beyond                  By Eric Asimov                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/dining/
2021-11-15   2021-11-17 how-to-improve-thanksgiving-dinner.html      More Thrills on the Plate                    By Samin Nosrat                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/15/dining/ To Enjoy A Holiday Spectacular You Wont
2021-11-15   2021-11-17 hudson-valley-fisheries-steelhead-trout.html Want to Miss                                By Florence Fabricant             TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/15/dining/l To Serve TunisianStyle Lemons Ready to
2021-11-15   2021-11-17 a-boite-tunisian-style-preserved-lemon.html Bring the Heat                               By Florence Fabricant             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/dining/ To Nibble Chocolates for Hanukkah With
2021-11-15   2021-11-17 sufganiyot-babka-hanukkah.html               Flavors of the Season                       By Florence Fabricant             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/dining/t
2021-11-15   2021-11-17 hanksgiving-recipes-for-beginners.html       A Beginners Thanksgiving                    By Eric Kim                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/opinion
2021-11-15   2021-11-17 /pope-francis-lgbt-community.html            My Letter From Pope Francis                 By Michael OLoughlin              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/technol Google Pursues Pentagon Contract Despite      By Kate Conger and Daisuke
2021-11-15   2021-11-17 ogy/google-ai-pentagon.html                  Revolt                                      Wakabayashi                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/upshot/ Recession Solutions Complicate Pandemic
2021-11-15   2021-11-17 pandemic-economic-response.html              Problems                                    By Neil Irwin                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/arts/des Bob Gill Graphic Designer Who Insisted the
2021-11-16   2021-11-17 ign/bob-gill-dead.html                       Message Was the Mission Dies at 90          By Penelope Green                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/arts/des Fearless Girl Stands in Limbo Over Permit
2021-11-16   2021-11-17 ign/fearless-girl-fate-uncertain.html        Issue                                       By Zachary Small                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/arts/tele
2021-11-16   2021-11-17 vision/tiger-king-2.html                     Tiger King Characters Where Are They Now    By Jennifer Vineyard              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/busines Natural Gas Prices Soar After Russian
2021-11-16   2021-11-17 s/germany-gas-pipeline.html                  Pipeline Is Delayed                         By Melissa Eddy                   TX 9-117-906   2022-01-03




                                                                                Page 3013 of 5793
                        https://www.nytimes.com/2021/11/16/busines                                              By Dera Menra Sijabat Richard C
2021-11-16   2021-11-17 s/indonesia-spaceport-elon-musk.html        Is This the Space Races Next Frontier       Paddock and Ulet Ifansasti       TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/16/busines
2021-11-16   2021-11-17 s/media/netflix-top-10.html                 Whats Hot On Netflix Its No Longer A Secret By John Koblin                   TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/16/busines
2021-11-16   2021-11-17 s/net-zero-homes.html                       In Demand Homes That Make Own Power         By Jane Margolies                TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/16/busines                                              By Kristen Bayrakdarian and
2021-11-16   2021-11-17 s/newy-york-commercial-real-estate.html     Transactions                                Jordan Allen                     TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/16/busines Relief at Pump May Be in Sight As Oil
2021-11-16   2021-11-17 s/oil-production-prices.html                Supplies Gain on Need                       By Stanley Reed                  TX 9-117-906      2022-01-03
                                                                                                                By Ben Casselman Sapna
                        https://www.nytimes.com/2021/11/16/busines Americans Dread Rising Inflation But Spend Maheshwari and Coral Murphy
2021-11-16   2021-11-17 s/retail-sales-october.html                 Freely                                      Marcos                           TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/16/busines When Some Are Back in the Office and the
2021-11-16   2021-11-17 s/return-to-office-hybrid-work.html         Rest Are Still in PJs                       By Emma Goldberg                 TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/16/busines JPMorgan Sues Tesla for 162 Million Over
2021-11-16   2021-11-17 s/tesla-jpmorgan-elon-musk.html             Musk Tweet                                  By Emily Flitter                 TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/16/climate
2021-11-16   2021-11-17 /ppe-coronavirus-waste.html                 The pandemics secondary scourge             By Jessica Leigh Hester          TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/16/dining/f
2021-11-16   2021-11-17 rancie-restaurant-brooklyn.html             A Welcome Return to Fancy Dining            By Pete Wells                    TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/16/dining/ Caviar Russe in Midtown Opens a
2021-11-16   2021-11-17 new-york-restaurant-openings.html           LowerLevel Bar and Lounge                   By Florence Fabricant            TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/16/health/c Pfizer to Allow Cheaper Covid Pill in Poor  By Stephanie Nolen and Rebecca
2021-11-16   2021-11-17 ovid-pill-pfizer.html                       Countries                                   Robbins                          TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/16/movies/
                        a-choice-of-weapons-inspired-by-gordon-
2021-11-16   2021-11-17 parks-review.html                           The Power of a Photographers Eye            By Nicolas Rapold                TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/16/nyregio Cuomo Might Be Forced to Relinquish          By Grace Ashford and Luis
2021-11-16   2021-11-17 n/andrew-cuomo-book.html                    Millions Earned Off Pandemic Memoir         FerrSadurn                       TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/16/nyregio
                        n/bronx-evictions-housing-coronavirus-      How the Pandemic Worsened the Housing       By Mihir Zaveri Matthew Haag and
2021-11-16   2021-11-17 pandemic.html                               Crisis in the Bronx                         Sofia Cerda Campero              TX 9-117-906      2022-01-03

                        https://www.nytimes.com/2021/11/16/nyregio Jury Selection Begins In Sex Trafficking Trial By Rebecca Davis OBrien and
2021-11-16   2021-11-17 n/ghislaine-maxwell-jeffrey-epstein-trial.html Of Epstein Companion                       Benjamin Weiser                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/16/nyregio In Times Square on New Years Plan to Be        By Ashley Wong and Dana
2021-11-16   2021-11-17 n/new-years-eve-times-square.html              Cold and Vaccinated                        Rubinstein                      TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/16/opinion
2021-11-16   2021-11-17 /biden-inflation-spending-manchin.html         I Warned the Democrats About Inflation     By Steven Rattner               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/16/sports/b Midrange Shooting Is Making Durant A
2021-11-16   2021-11-17 asketball/kevin-durant-midrange.html           Tough Matchup                              By Sopan Deb                    TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/16/sports/s Regulators in Italy Ask a Question What Is a
2021-11-16   2021-11-17 occer/juventus-plusvalenza-italy-serie-a.html Player Actually Worth                      By Tariq Panja and Gaia Pianigiani TX 9-117-906   2022-01-03



                                                                                Page 3014 of 5793
                        https://www.nytimes.com/2021/11/16/theater/
2021-11-16   2021-11-17 jeanna-de-waal-diana-broadway.html          Eager to Stand Out In a Crowded Field       By Sarah Lyall                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/us/arch New Orleans Archdiocese Settles Disaster
2021-11-16   2021-11-17 diocese-new-orleans-fraud-settlement.html   Aid Claims                                  By Sophie Kasakove                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/us/fanta After Police Shot Girl Murder Charges for 2
2021-11-16   2021-11-17 bility-police-shooting.html                 Teenagers                                   By Tim Arango                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/us/polit President Casts Upgrades to Public Works as
2021-11-16   2021-11-17 ics/biden-infrastructure-china.html         Way to Regain Edge on China                 By Jim Tankersley                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/us/polit Lawsuits Against Mandate Are Moved to
2021-11-16   2021-11-17 ics/biden-vaccine-mandate-osha-ohio.html    Appeals Court in Cincinnati                 By Charlie Savage                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/us/polit Can Biden Law Reverse Legacy Of Racial By Zolan KannoYoungs and
2021-11-16   2021-11-17 ics/racial-equity-states-government.html    Bias                                        Madeleine Ngo                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/us/polit
2021-11-16   2021-11-17 ics/trump-files-jan-6-committee.html        Trump Asks for Block On Records to Remain By Charlie Savage                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/us/polit Washington And Beijing Ease Policies For
2021-11-16   2021-11-17 ics/us-china-journalists.html               Reporters                                   By Michael D Shear                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/us/polit Veteran Diplomat Battles Critics in the US
2021-11-16   2021-11-17 ics/zalmay-khalilzad-afghanistan-war.html   and Afghanistan                             By Michael Crowley                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/16/world/a Nigerian Army Engaged In Massacre at
2021-11-16   2021-11-17 frica/nigeria-protest-report-massacare.html Protest                                     By Ben Ezeamalu                     TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/16/world/a US and Allies Spur Much of Worlds
2021-11-16   2021-11-17 mericas/democracy-decline-worldwide.html Democratic Decline Data Shows                    By Max Fisher                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/world/a                                                By Steven Lee Myers and David E
2021-11-16   2021-11-17 sia/biden-xi-usa-china.html                  Bidens Talks With Xi Calm Rising Tension Sanger                                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/world/a Communist Party Anoints Xi as One of
2021-11-16   2021-11-17 sia/china-history-xi-jinping.html            Chinas Greatest Leaders                      By Chris Buckley                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/world/e Clarissa Eden Influential British Countess and
2021-11-16   2021-11-17 urope/clarissa-eden-dead.html                Iconoclast Dies at 101                       By Alan Cowell                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/world/e
2021-11-16   2021-11-17 urope/italy-mob-drug-arrests.html            A MobRun Drug Ring Is Broken Up in Italy By Gaia Pianigiani                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/world/e
                        urope/moscow-face-pay-technology-
2021-11-16   2021-11-17 privacy.html                                 Facial recognition as a doubleedged sword    By Celestine Bohlen               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/world/e Angry and Out of Options Migrants Rush         By Andrew Higgins and Marc
2021-11-16   2021-11-17 urope/poland-belarus-border-crisis.html      Border                                       Santora                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/world/e Russia Admits to Conducting Weapon Test in
2021-11-16   2021-11-17 urope/russia-antisatellite-missile-test.html Space Destroying Old Satellite               By Andrew E Kramer                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/world/ Discovering Empathy With Political Enemies
2021-11-16   2021-11-17 middleeast/gaza-university-israel-poet.html Through Poetry                                By Patrick Kingsley               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/arts/des
                        ign/frida-kahlo-painting-diego-y-yo-         Kahlo SelfPortrait Sells for 349 Million a
2021-11-17   2021-11-17 auction.html                                 Record for a Latin American                  By Zachary Small                  TX 9-117-906   2022-01-03




                                                                                Page 3015 of 5793
                        https://www.nytimes.com/2021/11/16/opinion Want to Save the Earth We Need a Lot More
2021-11-17   2021-11-17 /glasgow-climate-change.html               Elon Musks                                By Thomas L Friedman                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/16/opinion
2021-11-17   2021-11-17 /steele-dossier-fbi-trump.html             The Federal Bureau of Dirty Tricks        By Bret Stephens                    TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/16/sports/s
2021-11-17   2021-11-17 occer/us-jamaica-world-cup-qualifying.html After Mexico Win US Falls Flat in Draw        By Andrew Keh                   TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/16/us/kyle-
2021-11-17   2021-11-17 rittenhouse-trial-jacob-blake.html          As Jurors Deliberate One Man Tries to Heal   By Nicholas BogelBurroughs      TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/16/us/polit FBI Tracks Threats Made To Personnel At
2021-11-17   2021-11-17 ics/fbi-school-threats.html                 Schools                                      By Katie Benner                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/16/us/polit FDA Plans to Authorize Pfizer Boosters for   By Noah Weiland and Sharon
2021-11-17   2021-11-17 ics/fda-pfizer-booster-shot.html            All Adults This Week                         LaFraniere                      TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/16/us/polit House Democrats Press for Censure of
2021-11-17   2021-11-17 ics/gosar-violent-video-censure.html        Republican Over a Video                      By Catie Edmondson               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/us/polit US Plans to Pay 5 Billion for Stockpile of   By Sharon LaFraniere and Rebecca
2021-11-17   2021-11-17 ics/us-pfizer-covid-pill.html               Antiviral Drug                               Robbins                          TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/17/sports/f Its Rodgers World but the Packers Defense
2021-11-17   2021-11-17 ootball/green-bay-packers-defense-nfl.html Makes It Spin                                 By Mike Tanier                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/17/sports/k
2021-11-17   2021-11-17 u-stevens-running-nevada.html               Tradition One Step At a Time                 By Kurt Streeter                TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/15/opinion
2021-11-15   2021-11-18 /local-bookstores-holiday-supply-chain.html This Holiday Season Shop Local               By Margaret Renkl               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/15/style/ad
2021-11-15   2021-11-18 ele-oprah-white-pantsuit.html                Adele Sets the Tone For a Power Interview   By Vanessa Friedman             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/16/arts/mu
2021-11-16   2021-11-18 sic/mon-laferte-seis-1940-carmen.html        She Wants to Give You Goose Bumps           By Jon Pareles                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/16/books/r
                        eview-betrayal-final-act-trump-show-jonathan-Shaking Up a Beltway Insiders View of
2021-11-16   2021-11-18 karl.html                                    Power                                       By Jennifer Szalai              TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/16/nyregio New Wrinkle Arises in Trial For Associate Of
2021-11-16   2021-11-18 n/ghislaine-maxwell-trial-epstein-judge.html Epstein                                    By Benjamin Weiser               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/16/world/c
                        anada/evacuations-mudslides-british-         Long Recovery Is Expected for British      By Christine Hauser Christine
2021-11-16   2021-11-18 columbia.html                                Columbias Inundated Cities                 Chung and Alyssa Lukpat          TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/11/busines Staples Center in Los Angeles to Be Renamed
2021-11-17   2021-11-18 s/staples-center-crypto-arena.html           Cryptocom Arena                            By Mike Ives                     TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/16/science For First Time a Black Woman Is Set To Join
2021-11-17   2021-11-18 /jessica-watkins-nasa-spacex.html            the Crew of the Space Station              By Joey Roulette                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/16/sports/b Signing Syndergaard Angels Take a Risk
2021-11-17   2021-11-18 aseball/noah-syndergaard-angels.html         With a Lot of Upside                       By Benjamin Hoffman              TX 9-117-906    2022-01-03




                                                                                 Page 3016 of 5793
                        https://www.nytimes.com/2021/11/16/theater/ Ed Bullins 86 Playwright Whose Voice
2021-11-17   2021-11-18 ed-bullins-dead.html                         Influenced Black Arts Movement Dies        By Clay Risen                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/theater/
2021-11-17   2021-11-18 medicine-review-domhnall-gleeson.html        Theres Something Surreal About These Marys By Maya Phillips                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/arts/brit
                        tany-luse-eric-eddings-for-colored-nerds-    A Podcasting Duo Find a Haven for Their
2021-11-17   2021-11-18 podcast.html                                 Vision                                     By Reggie Ugwu                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/arts/jim Jimmie Durham Sculptor Who Explored
2021-11-17   2021-11-18 mie-durham-dead.html                         Indigenous Themes Dies at 81               By Jori Finkel                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/arts/mu
2021-11-17   2021-11-18 sic/adele-new-album-30.html                  Six Years Later Adele Is Back              By Ben Sisario                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/arts/mu A Celebrated Music School Reunites Far
2021-11-17   2021-11-18 sic/afghanistan-music-school-qatar.html      From Kabul                                 By Javier C Hernndez              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/arts/mu
2021-11-17   2021-11-18 sic/park-avenue-armory-season.html           A Futuristic Lineup at Park Avenue Armory By Sarah Bahr                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/arts/mu Young Dolph 36 a Promising Rapper Is Shot By Jon Caramanica and Joe
2021-11-17   2021-11-18 sic/young-dolph-dead.html                    and Killed at a Memphis Bakery             Coscarelli                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/arts/tele
2021-11-17   2021-11-18 vision/cowboy-bebop-yoko-kanno.html           Cowboy Bebop Then and Now                 By LeighAnn Jackson               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/arts/tele
2021-11-17   2021-11-18 vision/review-anna-amc.html                  I Dont Want to Grow Up No Not Me           By Mike Hale                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/busines Facing High Fees Amazon Wont Accept Visa By Eshe Nelson and Adam
2021-11-17   2021-11-18 s/amazon-visa-britain.html                   Cards Issued in Britain                    Satariano                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/busines Biden Tested by Gas Prices And Lag in
2021-11-17   2021-11-18 s/biden-gas-prices.html                      Shifting to EVs                            By Jim Tankersley                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/busines
                        s/biogens-alzheimers-aduhelm-european-       Biogen Says New Drug for Alzheimers Is
2021-11-17   2021-11-18 union.html                                   Unlikely to Win EU Approval                By Rebecca Robbins                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/busines Rocketing Cost Of Energy Lifts British
2021-11-17   2021-11-18 s/britain-inflation.html                     Inflation To 10Year High                   By Eshe Nelson                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/busines They the Crypto Fans Want To Buy the
2021-11-17   2021-11-18 s/crypto-constitution-sothebys.html          Constitution                               By Kevin Roose                    TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/17/busines Film Studio Sues Tarantino Citing Copyright
2021-11-17   2021-11-18 s/miramax-tarantino-nft-pulp-fiction.html  Infringement Over NTFs for Pulp Fiction        By Johnny Diaz                  TX 9-117-906   2022-01-03
                                                                                                                  By Manuela Andreoni Hiroko
                        https://www.nytimes.com/2021/11/17/climate Destroying the Amazon for Leather Auto         Tabuchi Albert Sun and Victor
2021-11-17   2021-11-18 /leather-seats-cars-rainforest.html        Seats                                          Moriyama                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/health/
2021-11-17   2021-11-18 drug-overdoses-fentanyl-deaths.html        US Reaches A Grim Record For Overdoses By Roni Caryn Rabin                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/movies/ Script Supervisor for Rust Sues for Infliction By Julia Jacobs and Graham
2021-11-17   2021-11-18 rust-lawsuit-mamie-mitchell.html           of Harm                                        Bowley                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/nyregio New Yorks BestKnown Democratic Political By Nicholas Fandos and Katie
2021-11-17   2021-11-18 n/governor-ny-jumaane-williams.html        Figures Eye States Top Spot                    Glueck                          TX 9-117-906   2022-01-03




                                                                                 Page 3017 of 5793
                        https://www.nytimes.com/2021/11/17/nyregio 2 Will Be Cleared in Malcolm X Case After 5 By Ashley Southall and Jonah E
2021-11-17   2021-11-18 n/malcolm-x-killing-exonerated.html         12 Decades                                   Bromwich                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/nyregio Timeline of Major Events In a Case Filled
2021-11-17   2021-11-18 n/timeline-malcolm-x-case.html              With Mystery                                 By Troy Closson                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/nyregio
2021-11-17   2021-11-18 n/who-killed-malcolm-x.html                 The Men Who Scholars Believe Really Did It By Troy Closson                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/opinion Bosnia and Herzegovina Is on the Brink of
2021-11-17   2021-11-18 /bosnia-dodik-dayton-accords.html           Rupture                                      By Srecko Latal                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/opinion
2021-11-17   2021-11-18 /kyle-rittenhouse-guns.html                 Its All About the Guns                       By Farhad Manjoo               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/sports/b
                        aseball/corbin-burnes-robbie-ray-cy-        Cy Young Awards Go to Pitchers Who Once
2021-11-17   2021-11-18 young.html                                  Hit Bottom                                   By Benjamin Hoffman            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/sports/f
                        ootball/nfl-covid-testing-masks-            With Cases Rising and Thanksgiving Near
2021-11-17   2021-11-18 thanksgiving.html                           NFL Tightens Covid Protocols                 By Ken Belson                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/sports/g
2021-11-17   2021-11-18 olf/billy-horschel-pga-european-tours.html  Playing in 2 worlds                          By Paul Sullivan               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/sports/g
2021-11-17   2021-11-18 olf/pga-european-tours.html                 An American take on the European Tour        By Paul Sullivan               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/sports/g
2021-11-17   2021-11-18 olf/race-to-dubai-players.html              The five players to watch                    By John Clarke                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/sports/ Indigenous Women of the Yucatn Are            By Adam Williams and Marian
2021-11-17   2021-11-18 mexico-softball-indigenous-women.html       Swinging for the Fences                      Carrasquero                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/sports/n Report Questions NHLs Promotion of           By Kevin Draper and Hiroko
2021-11-17   2021-11-18 hl-chemours-ammonia-ice.html                Refrigerant That Affects the Climate         Tabuchi                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/sports/s
2021-11-17   2021-11-18 occer/world-cup-qualifying-norway.html      The World Cup Loses Its First Star           By Rory Smith                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/sports/t Federer in Interview Suggests Hell Miss
2021-11-17   2021-11-18 ennis/roger-federer-australian-open.html    Most or All of 22                            By Christopher Clarey          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/style/bl
2021-11-17   2021-11-18 ack-ivy-style-jason-jules.html              Dressing Conservatively Acting Radically     By Guy Trebay                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/style/co Fashion Is Taken Seriously at the UN Climate
2021-11-17   2021-11-18 p26-fashion-sustainability.html             Conference                                   By Vanessa Friedman            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/style/pr
2021-11-17   2021-11-18 ivate-dog-parks-new-york-city.html          Does Your Dog Deserve a Private Park         By Susan Lehman                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/style/vo A Brands Twisted Rise to Fame The Untold
2021-11-17   2021-11-18 n-dutch-hulu-documentary.html               Story of Von Dutch                           By Ilana Kaplan                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/technol
                        ogy/personaltech/apple-iphone-self-         Apple Opens the Way for DoItYourself
2021-11-17   2021-11-18 repair.html                                 Repairs to Its Products                      By Brian X Chen                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/technol
                        ogy/samsung-semiconductor-chip-
2021-11-17   2021-11-18 production.html                             Making Chips on the Old Block                By David McCabe                TX 9-117-906   2022-01-03




                                                                               Page 3018 of 5793
                        https://www.nytimes.com/2021/11/17/us/calif
2021-11-17   2021-11-18 ornia-school-for-the-deaf.html              The Cubs The Pride of Riverside             By Thomas Fuller                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/us/cath
2021-11-17   2021-11-18 olic-bishops-biden-communion.html           Bishops Avoid Biden Conflict Over Eucharist By Ruth Graham                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/us/covi 2 Who Stole Pandemic Aid Are on Run
2021-11-17   2021-11-18 d-relief-fraud-fugitives.html               Officials Say                               By Maria Cramer                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/us/nativ
                        e-american-boarding-school-deaths-          At Nebraska School for Native Americans a
2021-11-17   2021-11-18 nebraska.html                               List of Dozens of Dead                      By Christine Chung                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/us/polit Pentagon Chief Says Military Must Do More
2021-11-17   2021-11-18 ics/austin-pentagon-syria-airstrike.html    to Prevent Civilian Casualties              By Eric Schmitt and Dave Philipps TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/us/polit Tucked Into Spending Bill Funds for EBikes
2021-11-17   2021-11-18 ics/biden-build-back-better-act.html        and Doulas                                  By Jonathan Weisman               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/us/polit HopedFor Remedy for Gerrymandering Only By Nick Corasaniti and Reid J
2021-11-17   2021-11-18 ics/gerrymandering-redistricting.html       Leads to More of It                         Epstein                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/us/polit Vaccine Battle Between Oklahoma Governor
2021-11-17   2021-11-18 ics/oklahoma-vaccine-mandate.html           and Pentagon Intensifies                    By Jennifer Steinhauer            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/us/polit Republican Censured By a Divided House For By Jonathan Weisman and Catie
2021-11-17   2021-11-18 ics/paul-gosar-video.html                   a Violent Video                             Edmondson                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/us/polit Jan 6 Rioter Known as QAnon Shaman Gets
2021-11-17   2021-11-18 ics/qanon-shaman-jan-6-sentenced.html       41 Months                                   By Alan Feuer                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/world/a
                        frica/africa-blinken-ethiopia-sudan-        Intractable African Crises Flare Up as Top  By Michael Crowley and Declan
2021-11-17   2021-11-18 kenya.html                                  American Diplomat Visits Kenya              Walsh                             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/world/a Mass Detention Campaign Adds Fuel to the
2021-11-17   2021-11-18 frica/ethiopia-tigrayan-detention.html      Climate of Fear in Ethiopia                 By Abdi Latif Dahir               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/world/a Ral Rivero 75 Disenchanted Voice of Cuban
2021-11-17   2021-11-18 mericas/raul-rivero-dead.html               Revolution                                  By Sam Roberts                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/world/e British Leader Is Battered as Scandal Puts   By Mark Landler and Stephen
2021-11-17   2021-11-18 urope/boris-johnson-britain.html            Him on Defense                              Castle                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/world/e Europes Covid Culture War Plays Out in
2021-11-17   2021-11-18 urope/covid-vaccine-germany-europe.html     Pockets of Germany                          By Katrin Bennhold                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/world/e
                        urope/greece-migrants-aid-workers-          Aid Workers Face Charges Of Espionage In
2021-11-17   2021-11-18 espionage.html                              Greece                                      By Niki Kitsantonis               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/world/e
                        urope/poland-belarus-migrants-              Leader of Belarus Runs Risk of Migrants
2021-11-17   2021-11-18 lukashenko.html                             Wanting to Stay in His Country              By Andrew Higgins                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/17/world/e Green Light in Window Offers Migrants
2021-11-17   2021-11-18 urope/poland-belarus-migrants-support.html Safety                                     By Monika Pronczuk                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/12/16/opinion
2021-11-17   2021-11-18 /supply-chain-labor-economy-covid.html     The Supply Chains Labor Crisis             By Guy Platten                    TX 9-117-906     2022-01-03




                                                                               Page 3019 of 5793
                        https://www.nytimes.com/live/2021/11/17/nyr
                        egion/malcolm-x-assassination/detective-gene-
2021-11-17   2021-11-18 roberts-malcolm-x                               The Detective Who Witnessed the Killing  By Ashley Southall              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/live/2021/11/17/nyr
                        egion/malcolm-x-assassination/why-did-the-
                        manhattan-da-review-the-evidence-in-
2021-11-17   2021-11-18 malcolm-xs-murder                               Why Did Manhattan DA Review Evidence     By Troy Closson                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/live/2021/11/17/wo
                        rld/covid-vaccine-boosters-mandates/fedex-
                        citing-quarantine-rules-to-close-its-crew-base- FedEx to Shut Hong Kong Crew Base Citing By Austin Ramzy and Alexandra
2021-11-17   2021-11-18 in-hong-kong                                    Quarantine Rules                         Stevenson                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/books/n National Book Award Goes To Hell of a Book
2021-11-18   2021-11-18 ational-book-awards-winners.html                Novelist                                 By Elizabeth A Harris           TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/17/busines Deere Workers Approve Contract on Third
2021-11-18   2021-11-18 s/john-deere-strike-uaw-union-contract.html Try                                            By Noam Scheiber              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/sports/n
                        caabasketball/ncaa-womens-basketball-       After SelfInflicted Debacle NCAA Expands
2021-11-18   2021-11-18 tournament-68-teams.html                    Womens Tournament                              By Alan Blinder               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/theater/ Exploiting The Peoples Princess On
2021-11-18   2021-11-18 diana-the-musical-review.html               Broadway                                       By Jesse Green                TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/17/us/ahm Man Who Shot Arbery Describes a Life or
2021-11-18   2021-11-18 aud-arbery-travis-mcmichael-testimony.html Death Struggle                                By Giulia Heyward               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/us/kyle- Jury Asks to Review Video as It Continues to By Julie Bosman and Nicholas
2021-11-18   2021-11-18 rittenhouse-jury-deliberations.html         Weigh Rittenhouses Fate                      BogelBurroughs                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/17/us/polit Biden Proposes Push to Increase Flow of
2021-11-18   2021-11-18 ics/biden-covid-vaccine-manufacturing.html Vaccine                                         By Sheryl Gay Stolberg        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/us/polit Accused 911 Mastermind Seeks Access to
2021-11-18   2021-11-18 ics/khalid-shaikh-mohammed.html             Secret Testimony                               By Carol Rosenberg            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/nyregio
                        n/new-york-blood-center-manhattan-          So Much Ugliness As Upper East Siders
2021-11-18   2021-11-18 development.html                            Battle 16Story Tower                           By Matthew Haag               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/style/ba
2021-11-18   2021-11-18 lenciaga-gucci-hacker.html                  Fashion Fans Line Up for a Hack                By Shane ONeill               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/live/2021/11/18/nyr
                        egion/malcolm-x-convictions/the-exoneration-
2021-11-18   2021-11-18 leaves-larger-questions-unanswered           Questions Left Unanswered                     By John Leland                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/books/j
                        osh-ritter-great-glorious-goddamn-of-it-all-
2021-11-08   2021-11-19 interview.html                               An Artist Listens to the Voices in His Head   By John Williams              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/movies/
2021-11-16   2021-11-19 aulcie-review.html                           Aulcie                                        By Natalia Winkelman          TX 9-117-906   2022-01-03



                                                                                  Page 3020 of 5793
                        https://www.nytimes.com/2021/11/16/opinion
2021-11-16   2021-11-19 /woke-progressive-liberal.html              Its Time for a New Term                     By John McWhorter            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/sports/e Ed Lucas 82 Blind Fan Whose Passion for
2021-11-16   2021-11-19 d-lucas-dead.html                           Baseball Led to a Reporting Career          By Richard Sandomir          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/arts/mu
2021-11-17   2021-11-19 sic/adele-new-album-30-review.html          Still Rolling in the Deep Feelings          By Jon Pareles               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/arts/mu Dave Frishberg Witty Songwriter for
2021-11-17   2021-11-19 sic/dave-frishberg-dead.html                Schoolhouse Rock Is Dead at 88              By Barry Singer              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/busines
2021-11-17   2021-11-19 s/peloton-zoom-stock.html                   Howre Those Pandemic Stocks Doing           By Matt Phillips             TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/17/busines Criticism of Bank Regulator Pick Crosses
2021-11-17   2021-11-19 s/saule-omarova-banks-capitalism-occ.html Aisle                                         By Emily Flitter             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/movies/
2021-11-17   2021-11-19 out-of-the-blue-dennis-hopper.html           Dad Daughter and Bad Role Models           By J Hoberman                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/movies/
                        prayers-for-the-stolen-review-coming-of-age-
2021-11-17   2021-11-19 among-the-poppies.html                       Prayers for the Stolen                     By Beatrice Loayza           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/nyregio Justus Rosenberg 100 Beloved Literature
2021-11-17   2021-11-19 n/justus-rosenberg-dead.html                 Professor With a Heroic Past Dies          By Alex Vadukul              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/us/juliu                                             By Michael Levenson Maria
2021-11-17   2021-11-19 s-jones-oklahoma-clemency.html               In Oklahoma Execution Stay After an Outcry Cramer and Simon Romero      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/world/a Reconnecting With Her Uyghur Roots and a
2021-11-17   2021-11-19 sia/uyghur-doppa-hat.html                    LongCherished Hat                          By Aina J Khan               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/theater/
2021-11-18   2021-11-19 cullud-wattah-review.html                    Three Generations Awaiting Justice         By Naveen Kumar              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/us/flori Florida Takes Lead as GOP Fights Masks and
2021-11-18   2021-11-19 da-coronavirus-covid-19.html                 Vaccine Mandates                           By Patricia Mazzei           TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/17/world/a Chinese Tennis Star Vanishes And World       By Alexandra Stevenson and
2021-11-18   2021-11-19 sia/peng-shuai-zhang-gaoli-china-tennis.html Demands Answers                            Steven Lee Myers             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/arts/dan
2021-11-18   2021-11-19 ce/twyla-tharp-city-center-review.html       She Looks Back And Ahead Too               By Siobhan Burke             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/arts/des
                        ign/gillian-wearing-is-spilling-your-
2021-11-18   2021-11-19 secrets.html                                 Spilling Secrets but Much Is Left Unsaid   By Will Heinrich             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/arts/des
2021-11-18   2021-11-19 ign/jennifer-packer-whitney.html             To Tell a Bigger Tale Leave a Little Out   By Aruna DSouza              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/arts/i-
2021-11-18   2021-11-19 was-a-simple-man-review.html                 I Was a Simple Man                         By Nicolas Rapold            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/arts/mu
                        sic/dima-slobodeniouk-new-york-              When a Surprise Conductor Makes a Superb
2021-11-18   2021-11-19 philharmonic.html                            Debut                                      By Anthony Tommasini         TX 9-117-906   2022-01-03




                                                                               Page 3021 of 5793
                        https://www.nytimes.com/2021/11/18/arts/tele
                        vision/harriet-the-spy-blown-away-
2021-11-18   2021-11-19 christmas.html                               This Weekend I Have                         By Margaret Lyons                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/arts/tele
2021-11-18   2021-11-19 vision/review-wheel-of-time.html             This Wheel Goes Nowhere Fast                By James Poniewozik              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/busines Automakers Plan to Raise Supply of
2021-11-18   2021-11-19 s/ford-globalfoundries-chip-shortage.html    Computer Chips                              By Neal E Boudette and Don Clark TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/busines
2021-11-18   2021-11-19 s/ford-model-a-hot-rod.html                  A Hot Rod Before Its Time Fords Model A     By Paul Stenquist                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/busines He Helped Build Tesla Now Hes Gunning for
2021-11-18   2021-11-19 s/lucid-motors-tesla.html                    It                                          By Niraj Chokshi and Jack Ewing TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/18/busines Macys Raises Its Forecast After a Rosy Sales
2021-11-18   2021-11-19 s/macys-q3-2021-earnings.html                Report                                      By Sapna Maheshwari              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/busines
                        s/oprah-winfrey-reese-witherspoon-
2021-11-18   2021-11-19 spanx.html                                   TV and Film Stars Join In Takeover of Spanx By Lauren Hirsch                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/health/c Wuhan Vendor Is Suspected as First Covid     By Carl Zimmer Benjamin Mueller
2021-11-18   2021-11-19 ovid-wuhan-market-lab-leak.html              Case                                        and Chris Buckley                TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/18/movies/
2021-11-18   2021-11-19 bad-luck-banging-or-loony-porn-review.html When Sanctimony Smothers Sanity            By AO Scott                       TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/18/movies/
2021-11-18   2021-11-19 black-friday-review.html                   Black Friday                               By Lena Wilson                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/18/movies/
2021-11-18   2021-11-19 cmon-cmon-review-joaquin-phoenix.html      Dipping a Toe Into the Parenting Pond      By Manohla Dargis                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/18/movies/
2021-11-18   2021-11-19 ghostbusters-afterlife-review.html         I Aint Afraid of No Franchise              By Manohla Dargis                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/18/movies/
2021-11-18   2021-11-19 india-sweets-and-spices-review.html        India Sweets and Spices                    By Lisa Kennedy                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/18/movies/
2021-11-18   2021-11-19 jagged-review.html                         The Rocky Road To Stunning Success         By Elisabeth Vincentelli          TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/18/movies/
2021-11-18   2021-11-19 king-richard-review-will-smith.html        Venus and Serena Father Knows Best         By AO Scott                       TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/18/movies/
2021-11-18   2021-11-19 kurt-vonnegut-unstuck-in-time-review.html Kurt Vonnegut Unstuck in Time               By Glenn Kenny                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/18/movies/
2021-11-18   2021-11-19 procession-review.html                     Procession                                 By Ben Kenigsberg                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/18/movies/
2021-11-18   2021-11-19 she-paradise-review.html                   She Paradise                               By Concepcin de Len               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/18/movies/
2021-11-18   2021-11-19 the-first-wave-review.html                 The First Wave                             By Teo Bugbee                     TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/18/movies/
2021-11-18   2021-11-19 the-princess-switch-3-review.html          The Princess Switch 3 Romancing the Star   By Helen T Verongos               TX 9-117-906     2022-01-03




                                                                               Page 3022 of 5793
                        https://www.nytimes.com/2021/11/18/movies/ SelfPortrait of the Artist As an Anxious
2021-11-18   2021-11-19 tick-tick-boom-review.html                 Bohemian                                       By Amy Nicholson                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/movies/
                        zeros-and-ones-review-plague-and-          A Political Thriller Offers a Double Dose of
2021-11-18   2021-11-19 paranoia.html                              Ethan Hawke                                    By Jeannette Catsoulis           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/nyregio Judge Orders Probation In Sex Attacks on 4
2021-11-18   2021-11-19 n/christopher-belter-rape-sentence.html    Girls                                          By Ed Shanahan                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/nyregio De Blasio Is Still Looking to Ban
2021-11-18   2021-11-19 n/de-blasio-horse-carriage-ban.html        HorseDrawn Carriages                           By Dana Rubinstein               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/nyregio A Deathbed Statement a New Jersey Landfill
2021-11-18   2021-11-19 n/jimmy-hoffa-fbi-investigation.html       and the Enduring Mystery of Hoffa              By Michael Wilson                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/nyregio
                        n/khalil-islam-muhammad-aziz-              Exonerations in Malcolm Xs Death Are           By Jonah E Bromwich Ashley
2021-11-18   2021-11-19 exonerated.html                            Official but Bittersweet                       Southall and Troy Closson        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/opinion On Abortion and Covid19 a Court Goes
2021-11-18   2021-11-19 /abortion-covid19-supreme-court.html       Rogue                                          By Linda Greenhouse              TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/18/opinion Want More Affordable Housing and Health By Samuel Hammond Daniel
2021-11-18   2021-11-19 /democrats-build-back-better-regulations.html Care Heres a Fix                         Takash and Steven Teles             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/sports/b Harper Showed Phillies He Was And Still Is
2021-11-18   2021-11-19 aseball/bryce-harper-nl-mvp.html              All In                                   By Tyler Kepner                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/sports/b The MVPs Carried Their Teams but Not to
2021-11-18   2021-11-19 aseball/shohei-ohtani-al-mvp.html             the Playoffs                             By James Wagner                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/sports/s                                            By James Montague and Bradley
2021-11-18   2021-11-19 occer/afghanistan-soccer-taliban.html         A Resilient Team for a Broken Nation     Secker                              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/sports/t Power and Muguruza Are the Big Winners At
2021-11-18   2021-11-19 ennis/garbine-muguruza-wta-finals.html        the WTA Tour Finals                      By Matthew Futterman                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/technol Holmess Fall Converted Media Into Tech
2021-11-18   2021-11-19 ogy/elizabeth-holmes-theranos-trial.html      Skeptics                                 By Erin Griffith and Erin Woo       TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/18/technol
2021-11-18   2021-11-19 ogy/meta-instagram-investigation-teens.html States Open Inquiry Into Instagram Risks      By Cecilia Kang and Mike Isaac   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/us/charl Four Years After Unite the Right
2021-11-18   2021-11-19 ottesville-nc-unite-the-right-rally.html    Charlottesville Struggles to Move On          By Neil MacFarquhar              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/us/charl
2021-11-18   2021-11-19 ottesville-rally-trial-takeaways.html       Five Takeaways From the Trial                 By Neil MacFarquhar              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/us/polit Budget Analysts See Spending Bill Adding      By Jim Tankersley Alan Rappeport
2021-11-18   2021-11-19 ics/cbo-biden-spending-bill.html            to Deficit                                    and Emily Cochrane               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/us/polit Minimum Tax Plan Aims At US Corporate
2021-11-18   2021-11-19 ics/democrats-corporate-tax-proposal.html   Giants                                        By Madeleine Ngo                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/us/polit Moving Agency Hurt Diversity a Watchdog
2021-11-18   2021-11-19 ics/federal-agency-diversity.html           Finds                                         By Michael D Shear               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/18/us/polit Safety Net Bill Narrowly Wins House           By Emily Cochrane and Jonathan
2021-11-18   2021-11-19 ics/house-vote-pelosi-social-policy-bill.html Approval                                    Weisman                          TX 9-117-906   2022-01-03



                                                                                Page 3023 of 5793
                        https://www.nytimes.com/2021/11/18/us/polit As Democrats Debate Tax Perk for the Rich By Alan Rappeport and Patrick
2021-11-18   2021-11-19 ics/salt-tax-deduction-democrats.html       Republicans Pounce                          McGeehan                        TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/18/us/polit US Canada and Mexico Push Thornier Issues By Katie Rogers and Natalie
2021-11-18   2021-11-19 ics/us-canada-mexico-summit.html            Aside                                       Kitroeff                        TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/18/well/mi Black Youths And Suicide Painful Hunt For By Christina Caron and Julien
2021-11-18   2021-11-19 nd/suicide-black-kids.html                  Answers                                     James                           TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/18/world/a As Capital Chokes in Smog Indias Leaders
2021-11-18   2021-11-19 sia/india-new-delhi-pollution.html          Trade Blame                                 By Hari Kumar and Emily Schmall TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/18/world/a Fury Erupts in Kashmir After 4 Are Killed in
2021-11-18   2021-11-19 sia/kashmir-shopping-complex-raid.html      Raid By Indian Security Forces              By Sameer Yasir                 TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/18/world/e
2021-11-18   2021-11-19 urope/belarus-poland-migrant-camp.html      Belarus Clears Migrant Camp Next to Poland By Andrew Higgins and James Hill TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/18/world/ Iran Struck US Base in Response to Israeli    By Eric Schmitt and Ronen
2021-11-18   2021-11-19 middleeast/iran-drone-al-tanf-syria.html    Attack Officials Say                        Bergman                         TX 9-117-906      2022-01-03

                        https://www.nytimes.com/2021/11/18/world/ Activists Use Social Media to Bring Sex Ed to
2021-11-18   2021-11-19 middleeast/sex-ed-arab-women-mideast.html Arab Women                                    By Mona ElNaggar and Sara Aridi TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/18/arts/des
                        ign/inigo-philbrick-pleads-guilty-art-      Dealer in Art Pleads Guilty To Role in 86
2021-11-19   2021-11-19 scam.html                                   Million Scam                                By Colin Moynihan               TX 9-117-906      2022-01-03

                        https://www.nytimes.com/2021/11/18/busines Critic of Leader Claims Victory in Teamsters
2021-11-19   2021-11-19 s/economy/teamsters-union-sean-obrien.html Race                                         By Noam Scheiber                   TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/18/busines
2021-11-19   2021-11-19 s/media/new-york-times-project-veritas.html Times Told to Limit Project Veritas Reporting By Michael M Grynbaum            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/nyregio Federal Inquiry Leaves Questions
2021-11-19   2021-11-19 n/malcolm-x-assassination-mystery.html      Unanswered                                    By John Leland                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/opinion
2021-11-19   2021-11-19 /biden-infrastructure-stimulus-bill.html    The President Is Succeeding                   By David Brooks                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/technol
                        ogy/cryptocurrency-group-bid-copy-          Crypto Fans Bid For Constitution Comes Up
2021-11-19   2021-11-19 constitution.html                           Short                                         By Kevin Roose                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/theater/
2021-11-19   2021-11-19 trouble-in-mind-review.html                 66 Years Late and Right on Time               By Jesse Green                   TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/18/us/ahm Prosecutor Challenges a Defendants Claim        By Tariro Mzezewa Giulia
2021-11-19   2021-11-19 aud-arbery-travis-mcmichael-testimony.html That Arbery Was a Threat                       Heyward and Richard Fausset      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/us/kyle- Speculation but Few Certainties as the        By Julie Bosman Dan Hinkel and
2021-11-19   2021-11-19 rittenhouse-jury-deliberations.html         Rittenhouse Jurors Deliberate                 Nicholas BogelBurroughs          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/us/polit US Considering Boycott Of Beijing 2022
2021-11-19   2021-11-19 ics/beijing-olympics-boycott.html           Games Over Rights Violations                  By Zolan KannoYoungs             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/us/polit
                        ics/iranian-hackers-voter-intimidation-     2 Iranian Hackers Are Indicted Over Effort to By David E Sanger and Julian E
2021-11-19   2021-11-19 indicted.html                               Interfere With the 2020 US Election           Barnes                           TX 9-117-906   2022-01-03



                                                                                Page 3024 of 5793
                        https://www.nytimes.com/2021/11/18/us/polit Supreme Court Panel Shows Interest in Calls
2021-11-19   2021-11-19 ics/supreme-court-term-limits-biden.html     For Judges Term Limits                       By Charlie Savage                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/insider/
2021-11-19   2021-11-19 janet-jackson-documentary.html               A Wardrobe Malfunction Revisited             By Rachel Abrams                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/arts/mu Terence Astro Wilson 64 Part of Reggae Band
2021-11-16   2021-11-20 sic/terence-wilson-astro-dead.html           UB40                                         By Neil Genzlinger                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/arts/des
                        ign/metropolitan-museum-afrofuturist-
2021-11-17   2021-11-20 seneca.html                                  Tweaking Time to Grasp a Trauma              By Salamishah Tillet               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/theater/
2021-11-17   2021-11-20 the-antelope-party-review.html               Friendship Is Magic With Exceptions          By Juan A Ramrez                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/upshot/                                                By Claire Cain Miller and Alicia
2021-11-17   2021-11-20 global-survey-optimism.html                  Youth More Hopeful In Poorer Countries       Parlapiano                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/sports/b
                        asketball/josiah-johnson-twitter-            The King of NBA Satire on Twitter Is Just
2021-11-18   2021-11-20 kingjosiah54.html                            Being Social                                 By Alanis Thames                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/technol
2021-11-18   2021-11-20 ogy/crypto-staples-center-la.html            Who Is Renaming the Staples Center           By Ryan Mac                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/theater/
2021-11-18   2021-11-20 in-the-southern-breeze-review.html           Perseverance and Despair Duel for the Soul By Laura CollinsHughes               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/world/a A Weakened Modi Bows to Protesting             By Emily Schmall Karan Deep
2021-11-19   2021-11-20 sia/india-farmers-modi.html                  Farmers Stunning India                       Singh and Sameer Yasir             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/arts/dan
                        ce/review-stephen-petronio-punk-picks-and-
2021-11-19   2021-11-20 other-delights.html                          Rediscovering Inspiration In Tight Spaces    By Gia Kourlas                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/arts/des Roosevelt Statue to Head West to Presidential
2021-11-19   2021-11-20 ign/roosevelt-statue-north-dakota.html       Library                                      By Sarah Bahr                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/arts/mu
2021-11-19   2021-11-20 sic/jazz-lincoln-center-marsalis.html        Jazz at Lincoln Center Reopens               By Alan Scherstuhl                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/arts/mu One Orchestras Novel View of Musical
2021-11-19   2021-11-20 sic/the-orchestra-now-review.html            History                                      By Joshua Barone                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/arts/tele Take a Western Add Noir Then Subtract
2021-11-19   2021-11-20 vision/review-cowboy-bebop-netflix.html      Animation                                    By Mike Hale                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/busines
2021-11-19   2021-11-20 s/biden-tax-buyback-stock.html               Will Tax End Buying Back Of Stocks           By Peter Eavis                     TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/19/busines Hoffa Ally Turned Foe Is Set to Lead
2021-11-19   2021-11-20 s/economy/teamsters-sean-obrien-hoffa.html Teamsters                                   By Noam Scheiber                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/busines
2021-11-19   2021-11-20 s/leased-cars-buying-out-used.html         Buying the Car You Lease Can Pay Off        By Ann Carrns                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/busines
2021-11-19   2021-11-20 s/media/wnyc-gothamist-jami-floyd.html     WNYC Deletes 4 Articles From Its News Site By Marc Tracy                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/climate A HalfTrillionDollar Boost for the Fight to
2021-11-19   2021-11-20 /climate-change-bill.html                  Save the World From Warming                 By Coral Davenport                    TX 9-117-906   2022-01-03




                                                                                  Page 3025 of 5793
                        https://www.nytimes.com/2021/11/19/dining/
                        master-sommeliers-terminated-sexual-       Wine Group May Expel 6 Men for
2021-11-19   2021-11-20 harassment.html                            Misconduct                                     By Christina Morales       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/fashion Chocolates crafted with heritage and history
2021-11-19   2021-11-20 /chocolates-palomas-lyon-france.html       in mind                                        By Tina IsaacGoiz          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/fashion
2021-11-19   2021-11-20 /gifts-botanical-prints-england.html       CAPTURING THE ENGLISH GARDEN                   By Susanne Fowler          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/fashion
2021-11-19   2021-11-20 /gifts-custom-silk-scarves-paris.html      The stuff of dreams                            By Tina IsaacGoiz          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/fashion
2021-11-19   2021-11-20 /gifts-dance-classes-kpop-bts.html         Dance like the Kpop stars do                   By Kathleen Beckett        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/fashion
2021-11-19   2021-11-20 /gifts-fitness-pilates-boxing.html         Gifts for a fitness fanatic                    By Alexandra Cheney        TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/19/fashion
2021-11-19   2021-11-20 /gifts-himmeli-straw-ornaments-finland.html In Finland Turning Straw Into Magic        By Penelope Colston           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/fashion
2021-11-19   2021-11-20 /gifts-japan-temari-balls.html              In Japan Artisans Now Make These Toy Balls By Vivian Morelli             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/fashion
2021-11-19   2021-11-20 /gifts-luxury-resale-sites.html             Presents with a past                       By Rachel Felder              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/fashion
2021-11-19   2021-11-20 /gifts-time-christmas-2021.html             My time the most precious gift of all      By Jessica Bumpus             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/fashion
2021-11-19   2021-11-20 /gifts-travel-jewelry-food.html             Shopping but out of ideas                  By Victoria Gomelsky          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/fashion
2021-11-19   2021-11-20 /gifts-travel-london.html                   Making memories with loved ones            By Ginanne Brownell           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/fashion
2021-11-19   2021-11-20 /globes-bellerby-and-company-london.html A way to give the whole world                 By Felicia Craddock           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/health/c As Cases Again Rise CDC Backs Booster
2021-11-19   2021-11-20 ovid-boosters-cdc.html                      Shots for All Adults                       By Apoorva Mandavilli         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/movies/
2021-11-19   2021-11-20 new-york-ninja-movie.html                   Lights Camera and After Many Years Action By Eric Grode                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/nyregio Findings Are Said to Contain Grounds to
2021-11-19   2021-11-20 n/cuomo-impeachment-report.html             Impeach Cuomo                              By Grace Ashford              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/nyregio Manhattan Developer Charged Over
2021-11-19   2021-11-20 n/nyc-fraud-campaign-finance.html           Campaign Gifts                             By Matthew Haag               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/opinion
2021-11-19   2021-11-20 /new-york-blood-center-city-council.html    New York NIMBYs Try for the Jugular        By Mara Gay                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/opinion The BelarusPoland Border Chaos Is Partly of
2021-11-19   2021-11-20 /poland-belarus-border-europe.html          Europes Own Making                         By Charlotte McDonaldGibson   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/science As Some Earthlings Sleep The Moon Puts On By Michael Roston and Matt
2021-11-19   2021-11-20 /lunar-eclipse-photos.html                  a Show                                     McCann                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/sports/b The Mets Hire a GM Familiar With Injuries
2021-11-19   2021-11-20 aseball/billy-eppler-mets-gm.html           And a Thin Roster                          By Tyler Kepner               TX 9-117-906   2022-01-03




                                                                                 Page 3026 of 5793
                        https://www.nytimes.com/2021/11/19/sports/b MLB Finalizes a Plan to Provide Housing for
2021-11-19   2021-11-20 aseball/mlb-housing.html                    Minor League Players                        By James Wagner                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/sports/b No Trash Talk Mutual Respect Crawford vs
2021-11-19   2021-11-20 oxing-crawford-porter.html                  Porter Is a Big Deal Anyway                 By Morgan Campbell               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/sports/o Wheres Peng Shuai Leaders of the IOC
2021-11-19   2021-11-20 lympics/where-is-peng-shuai-ioc.html        Should Be Asking                            By Kurt Streeter                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/sports/p
2021-11-19   2021-11-20 eng-shuai-china.html                        Intrigue Imperils a Big Bet on China        By Christopher Clarey            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/sports/s Womens Professional League Faces Murky
2021-11-19   2021-11-20 occer/nwsl-final-washington-spirit.html     OffSeason                                   By Kevin Draper                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/technol After Prosecution Rests Holmes Takes the
2021-11-19   2021-11-20 ogy/elizabeth-holmes-trial.html             Stand in Fraud Trial                        By Erin Griffith                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/ahm Defense Lawyer Seeking Mistrial Cites Woke
2021-11-19   2021-11-20 aud-arbery-defense-lawyer-mistrial.html     Left Mob                                    By Richard Fausset               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/ahm Mention of Race Is Notably Absent in Trial of By Tariro Mzezewa Giulia
2021-11-19   2021-11-20 aud-arbery-shooting-race.html               Arberys Accused Killers                     Heyward and Richard Fausset      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/betti Bettina Plevan 75 Litigator Who Shattered
2021-11-19   2021-11-20 na-plevan-dead.html                         Multiple Glass Ceilings Dies                By Katharine Q Seelye            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/kyle-
2021-11-19   2021-11-20 rittenhouse-charges-acquittal.html          The Charges                                 By Patrick J Lyons               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/polit Harris Is First Woman to Become Acting      By Katie Rogers and Lawrence K
2021-11-19   2021-11-20 ics/biden-physical-healthy.html             President                                   Altman MD                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/polit Other Traditions Fade But This One Has
2021-11-19   2021-11-20 ics/biden-turkey-pardon.html                Legs                                        By Katie Rogers                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/polit Boosters of Pfizer and Moderna Vaccines Are By Sharon LaFraniere and Noah
2021-11-19   2021-11-20 ics/coronavirus-boosters-fda.html           Approved for All Adults by FDA              Weiland                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/polit Mounting Crises Provided Tailwind for
2021-11-19   2021-11-20 ics/democrats-economic-bill.html            Passage                                     By Jonathan Weisman              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/polit                                             By Emily Cochrane and Jonathan
2021-11-19   2021-11-20 ics/house-passes-reconciliation-bill.html   House Passes Bidens Social Safety Net Bill Weisman                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/polit McCarthys Delaying Speech Is Longest in     By Jonathan Weisman and Jenny
2021-11-19   2021-11-20 ics/kevin-mccarthy-speech.html              Modern House History                        Gross                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/polit
                        ics/wisconsin-republicans-decertify-        Wisconsin Republicans Push to Take Control
2021-11-19   2021-11-20 election.html                               of States Elections                         By Reid J Epstein                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/world/a Deforestation of the Amazon Skyrockets to a
2021-11-19   2021-11-20 mericas/brazil-amazon-deforestation.html    15Year High                                 By Manuela Andreoni              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/world/a Venezuelan Opposition Leader Returns From By Julie Turkewitz and Adriana
2021-11-19   2021-11-20 mericas/venezuela-elections-maduro.html     Exile to Run for Governor                   Loureiro Fernandez               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/world/a Chinas Influence Looming Over Blinkens
2021-11-19   2021-11-20 sia/blinken-africa-china-invest.html        Africa Visit                                By Michael Crowley               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/world/a Quiet Swap Before Talks A US Citizen For 7 By Raymond Zhong and Katie
2021-11-19   2021-11-20 sia/us-china-exit-ban-deport.html           Chinese                                     Rogers                           TX 9-117-906   2022-01-03




                                                                               Page 3027 of 5793
                        https://www.nytimes.com/2021/11/19/world/e
                        urope/austria-covid-vaccine-mandate-         Austria Will Mandate Vaccinations a First By Jason Horowitz and Melissa
2021-11-19   2021-11-20 lockdown.html                                Among European Nations                    Eddy                                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/world/e Ascending to Russias Parliament After 15
2021-11-19   2021-11-20 urope/maria-butina-russia-duma.html          Months in US Prisons                      By Valerie Hopkins                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/world/e Putin Nurtures Destabilization Keeping US
2021-11-19   2021-11-20 urope/russia-putin-belarus-ukraine.html      and West on Edge                          By Anton Troianovski                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/world/ Prince Charles Is Welcomed by an Egypt That
2021-11-19   2021-11-20 middleeast/prince-charles-egypt.html         Is Trying to Remake Itself                By Vivian Yee                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/interactive/2021/11/
                        18/upshot/whats-in-democrats-reconciliation- Everything in the House Democrats Budget By Alicia Parlapiano and
2021-11-19   2021-11-20 bill.html                                    Bill                                      Quoctrung Bui                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/live/2021/11/18/wo
                        rld/covid-vaccine-boosters-mandates/china- In China Man Is Punished For Lying About
2021-11-19   2021-11-20 covid-hiding-sentence                        Coronavirus                               By Keith Bradsher                   TX 9-117-906   2022-01-03

                        https://www.nytimes.com/live/2021/11/19/us/ NOT GUILTY RULING ON ALL 5
2021-11-19   2021-11-20 kyle-rittenhouse-trial/kyle-rittenhouse-verdict CHARGES FOR RITTENHOUSE                By Julie Bosman                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/opinion
2021-11-20   2021-11-20 /peng-shuai-china.html                          Where Is Peng Shuai                    By The Editorial Board              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/keno Civil Lawsuits Over Unrest In Kenosha Are
2021-11-20   2021-11-20 sha-lawsuit-victim.html                         Up Next                                By Dan Hinkel                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/polit FBI Agents Became Temporary CIA
2021-11-20   2021-11-20 ics/guantanamo-torture-fbi-cia.html             Operatives in Secret Prisons Abroad    By Carol Rosenberg                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/19/us/polit Russian Threat to Ukraine Growing US         By Julian E Barnes and Eric
2021-11-20   2021-11-20 ics/russia-ukraine-biden-administration.html Warns Allies                                Schmitt                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/ritte SelfDefense Is Difficult To Disprove Experts
2021-11-20   2021-11-20 nhouse-acquittal-self-defense.html           Say                                         By Shaila Dewan and Mitch Smith   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/us/calif
2021-11-20   2021-11-20 ornia-fires-killed-sequoias.html             Sequoias Ravaged by Fires                   By Vimal Patel                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/us/polit Why the Bills Total Price Went Up by 350
2021-11-20   2021-11-20 ics/biden-spending-bill-cost.html            Billion As We Crunched Numbers              By Jim Tankersley                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/05/books/r
2021-10-05   2021-11-21 eview/chibundu-onuzo-sankofa.html            My Dad the Dictator                         By Bliss Broyard                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/11/books/r
2021-10-11   2021-11-21 eview/silverview-john-le-carre.html          To Catch a Spy                              By Joseph Finder                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/12/books/r
                        eview/diane-williams-how-high-that-
2021-10-12   2021-11-21 high.html                                    Close Encounters                            By Jessi Jezewska Stevens         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/25/books/r
2021-10-25   2021-11-21 eview/lemon-kwon-yeo-sun.html                The Virgin Homicides                        By Oyinkan Braithwaite            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/27/books/r
2021-10-27   2021-11-21 eview/mark-oppenheimer-squirrel-hill.html Sitting Shiva                                  By Irina Reyn                     TX 9-117-906   2022-01-03




                                                                                Page 3028 of 5793
                        https://www.nytimes.com/2021/10/28/books/r
2021-10-28   2021-11-21 eview/patrick-rosal-last-thing-poems.html       Leaps and Bounds                           By Stephanie Burt         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/01/books/r
2021-11-01   2021-11-21 eview/both-and-huma-abedin.html                 Public and Private                         By Susan Dominus          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/02/books/r
2021-11-02   2021-11-21 eview/olga-bernhard-schlink.html                Between Two Worlds                         By Alida Becker           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/books/o Reporting on a Chaotic and Unfamiliar Place
2021-11-09   2021-11-21 beautiful-jung-yun.html                         That Used to Be Home                       By Elisabeth Egan         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/us/fertil
2021-11-09   2021-11-21 ity-clinic-embryo-mixup.html                    We Had Their Baby and They Had Our Baby By Neil Vigdor               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/books/r
                        eview/five-poets-who-find-music-in-the-
2021-11-11   2021-11-21 personal-the-political-or-in-music-itself.html The Shortlist                               By Daisy Fried            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/books/r
                        eview/wholehearted-faith-rachel-held-           On the Best Seller List Rachel Held Evanss
2021-11-11   2021-11-21 evans.html                                      Legacy Endures                             By Elisabeth Egan         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/style/int
2021-11-11   2021-11-21 erracial-dating.html                            The Complexities of Interracial Dating     By Brianna Holt           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/opinion
2021-11-12   2021-11-21 /gerrymandering-guarantee-clause.html           Madison Saw Something Weve Forgotten       By Jamelle Bouie          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/books/r
                        eview/the-1619-project-nikole-hannah-jones-
                        caitlin-roper-ilena-silverman-jake-
2021-11-15   2021-11-21 silverstein.html                                A Nations Legacy                           By Adam Hochschild        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/nyregio Feeding the Hungry and Also Helping
2021-11-15   2021-11-21 n/new-jersey-meals-program.html                 Restaurants                                By Precious Fondren       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/15/realesta
2021-11-15   2021-11-21 te/shopping-for-credenzas.html                  Furnishing Form With Function              By Tim McKeough           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/arts/mu Maureen Cleave 87 Writer And a Beatles
2021-11-16   2021-11-21 sic/maureen-cleave-dead.html                    Confidante                                 By Annabelle Williams     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/arts/tele
2021-11-16   2021-11-21 vision/lucy-hale-ragdoll.html                   Lucy Hale Grooves to Elvis and Grease      By Sarah Bahr             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/books/r
                        eview/cathy-curtis-a-splendid-intelligence-the-
2021-11-16   2021-11-21 life-of-elizabeth-hardwick.html                 Razor Sharp                                By Heather Clark          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/magazi Should Our Supervisor Have Told Us That a
2021-11-16   2021-11-21 ne/co-worker-has-covid-coronavirus.html         Colleague Had Covid                        By Kwame Anthony Appiah   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/magazi
2021-11-16   2021-11-21 ne/jane-campion-power-of-the-dog.html           Into the Wild                              By Jordan Kisner          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/magazi
2021-11-16   2021-11-21 ne/shooting-star.html                           How to Spot A Shooting Star                By Jaime Lowe             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/magazi
2021-11-16   2021-11-21 ne/time-slips-time-travel.html                  Time Slips                                 By Lucie Elven            TX 9-117-906   2022-01-03




                                                                                Page 3029 of 5793
                        https://www.nytimes.com/2021/11/16/realesta
                        te/in-florida-a-gut-renovation-in-shades-of-
2021-11-16   2021-11-21 grape.html                                   The Renovation Comes in Shades of Grape       By Tim McKeough                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/style/da
2021-11-16   2021-11-21 isy-eagan-kurt-bloom.html                    Theirs Is a Traditional Untraditional Union   By Alix Strauss                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/arts/des
2021-11-17   2021-11-21 ign/antiquities-manhattan-da.html            The Manhattan DAs Hall of Looted Idols        By Tom Mashberg                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/arts/mu
2021-11-17   2021-11-21 sic/philip-margo-dead.html                   Philip Margo 79 Who Sang of a Sleepy Lion     By Neil Genzlinger               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/magazi
                        ne/a-crispy-upgrade-for-cheese-and-          Stacking Cheddar Frying saltines turns this
2021-11-17   2021-11-21 crackers.html                                unpretentious bar snack sublime               By Gabrielle Hamilton            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/magazi                                                  By Emily Bazelon and Jennifer
2021-11-17   2021-11-21 ne/george-gascon-los-angeles.html            The Lightning Rod                             Medina                           TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/17/magazi
2021-11-17   2021-11-21 ne/kyrsten-sinema-mitt-romney-ted-lasso.html Good Game                                     By Jeremy Gordon                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/nyregio
2021-11-17   2021-11-21 n/marvin-stein-mafia-guardianship.html       Caught in the Middle of a Family Fight        By John Leland                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/opinion
2021-11-17   2021-11-21 /covid-retirement-older.html                 Living My Life Again                          By Katharine Esty                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/opinion
2021-11-17   2021-11-21 /covid-thanksgiving-holiday-risk.html        Can Covid Winter Be Merry and Bright          By New York Times Opinion        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/realesta
                        te/home-prices-arkansas-texas-and-           450000 Homes in Arkansas Texas and
2021-11-17   2021-11-21 minnesota.html                               Minnesota                                     By Angela Serratore              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/realesta Townhouse Offers a Lofty Perch on a Boho
2021-11-17   2021-11-21 te/house-hunting-milan-italy.html            Avenue                                        By Marcelle Sussman Fischler     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/t-
                        magazine/italy-la-posta-vecchia-dance-
2021-11-17   2021-11-21 party.html                                   A Reunion By the Ocean                        By Laura May Todd                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/theater/
                        flying-over-sunset-broadway-james-lapine-
2021-11-17   2021-11-21 lsd.html                                     The Celebrities With Kaleidoscope Eyes        By Lisa Birnbach                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/interactive/2021/11/                                               By Tara ParkerPope and Kenneth
2021-11-17   2021-11-21 17/well/live/holiday-gatherings-covid.html   Should We Just Cancel Everything              Chang                            TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/18/arts/mu
2021-11-18   2021-11-21 sic/the-meters-leo-nocentelli-solo-album.html A Lost Album Finds the Light                 By Nate Rogers                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/books/ Wilbur Smith Author of Adventure Novels
2021-11-18   2021-11-21 wilbur-smith-dead.html                        Dies at 88                                   By Sam Roberts                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/magazi
2021-11-18   2021-11-21 ne/poem-hold-hands.html                       Poem Hold Hands                              By David Baker                   TX 9-117-906   2022-01-03




                                                                                 Page 3030 of 5793
                        https://www.nytimes.com/2021/11/18/magazi
                        ne/real-estate-memphis-black-
2021-11-18   2021-11-21 neighborhoods.html                             Waiting for Prosperity                      By Vanessa Gregory        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/movies/
2021-11-18   2021-11-21 jamie-dornan-belfast.html                      Jamie Dornan Comes Home to Belfast          By Kyle Buchanan          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/needies
                        t-cases/striving-to-fulfill-the-college-       Striving to Fulfill College Dreams Everyone
2021-11-18   2021-11-21 dream.html                                     Deserves an Opportunity                     By Kristen Bayrakdarian   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/nyregio I Was Afraid of the Path So I Hired a Bike
2021-11-18   2021-11-21 n/bike-riding-coach-therapy.html               Coach                                       By Joyce Wadler           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/opinion
2021-11-18   2021-11-21 /covid-winter-risk.html                        Can We Learn From Failure                   By Zeynep Tufekci         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/opinion
                        /supply-chain-trucks-south-carolina-                                                       By E Tammy Kim and Sean
2021-11-18   2021-11-21 ports.html                                     Taking the Load Off Truck Drivers           Rayford                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/realesta
                        te/long-branch-nj-a-shore-city-with-a-mix-of-
2021-11-18   2021-11-21 styles-and-a-comeback-spirit.html              A Diverse Shore City With a Comeback Spirit By Kathleen Lynn          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/realesta
                        te/which-cities-are-best-at-celebrating-
2021-11-18   2021-11-21 thanksgiving.html                              Thanksgiving by the Numbers                 By Michael Kolomatsky     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/sports/f Against the Cowboys Kansas City Faces a
2021-11-18   2021-11-21 ootball/nfl-week-11-picks.html                 Reality Check                               By Emmanuel Morgan        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/style/ha
2021-11-18   2021-11-21 ruki-murakami-t-shirt-book.html                Drawers Full of Wearable Memories           By Anna P Kambhampaty     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/style/ho When Bacchanalian Behavior Moves Into
2021-11-18   2021-11-21 use-of-yes-x-manhattan-ian-schrager.html       Manhattan                                   By Shane ONeill           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/style/im
2021-11-18   2021-11-21 an-david-bowie.html                            The Essence of Their Love                   By Guy Trebay             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/style/si
2021-11-18   2021-11-21 blings-falling-out-social-qs.html              Blocked by a Brother                        By Philip Galanes         TX 9-117-906   2022-01-03
                                                                       A Single Mother Canvassed Coops and
                        https://www.nytimes.com/interactive/2021/11/ Condos on the Upper East Side Which Option
2021-11-18   2021-11-21 18/realestate/18hunt-lane.html                 Would You Choose                            By Joyce Cohen            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/arts/dan
2021-11-19   2021-11-21 ce/berries-and-cream-tik-tok.html              Finding a Sweet Spot on TikTok              By Margaret Fuhrer        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/arts/mu
2021-11-19   2021-11-21 sic/yannick-nezet-seguin-met-opera.html        Hes New Yorks Conductor Now                 By Zachary Woolfe         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/arts/tele
                        vision/jeremy-renner-hawkeye-mayor-of-
2021-11-19   2021-11-21 kingstown.html                                 He Delights in Showing His Range            By Dave Itzkoff           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/books/r
                        eview/david-sedaris-carnival-of-snackery-this-
                        is-ear-hustle-nigel-poor-earlonne-woods-
2021-11-19   2021-11-21 bourdain-oral-biography-laurie-woolev.html Getting Personal                                By Sebastian Modak        TX 9-117-906   2022-01-03



                                                                                Page 3031 of 5793
                                                                    New in Paperback The Revolution According
                        https://www.nytimes.com/2021/11/19/books/r to Raymundo Mata and This Is Not My
2021-11-19   2021-11-21 eview/new-paperbacks.html                   Memoir                                         By Jennifer Krauss             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/busines How to Guard Your Nest Egg Against the
2021-11-19   2021-11-21 s/inflation-retirement-savings.html         Enemy Inflation                                By John F Wasik                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/busines
2021-11-19   2021-11-21 s/roxane-gay-work-friend-hiring.html        The Sting of the Careless Email Chain          By Roxane Gay                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/busines Buy Stocks to Prosper and Bonds to Sleep at
2021-11-19   2021-11-21 s/stock-market-bonds-crash.html             Night                                          By Jeff Sommer                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/nyregio
2021-11-19   2021-11-21 n/bill-ackman-penthouse-addition.html       Next Elon Musks Rocket Atop the Dakota         By Ginia Bellafante            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/nyregio With Hatred On the March Manhattan US           By Karen Zraick and Benjamin
2021-11-19   2021-11-21 n/damian-williams-civil-rights.html         Attorney Forms New Civil Rights Unit           Weiser                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/nyregio
2021-11-19   2021-11-21 n/macys-thanksgiving-day-parade.html        Visions of Big Balloons Dance in His Head By Tammy La Gorce                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/nyregio
2021-11-19   2021-11-21 n/nyc-clubs-pandemic-debt.html              Yes the Party Is Back but Its Still Recovering By Anna P Kambhampaty          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/realesta
2021-11-19   2021-11-21 te/ibuying-ilending.html                    Its a Deal Instantly                           By Debra Kamin                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/realesta Here Are the Houses You Definitely Dont
2021-11-19   2021-11-21 te/zillow-influencers.html                  Want                                           By Ronda Kaysen                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/sports/f
                        ootball/nj-high-school-football-            New Jerseys First Family of Football Spreads
2021-11-19   2021-11-21 campanile.html                              Its Branches Wide                              By Kevin Armstrong             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/sports/s
                        occer/transfer-rumors-mohamed-salah-
2021-11-19   2021-11-21 barcelona-madrid.html                       Things Change but Soccer Does Not Notice By Rory Smith                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/style/an
2021-11-19   2021-11-21 gela-schiller-robert-swift-wedding.html     They Fell for Each Other Over a Fall Lunch By Judy Mandell                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/style/be
                        njamin-lowell-william-winkelman-
2021-11-19   2021-11-21 wedding.html                                Taking Life One Adventure at a Time            By Emma Grillo                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/style/de
                        mi-singleton-serena-williams-king-
2021-11-19   2021-11-21 richard.html                                Onscreen She Stars As Serena Williams          By Kate Dwyer                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/style/ka
2021-11-19   2021-11-21 thleen-reardon-timothy-agra-wedding.html    A Mermaid Finds Her Captain                    By Jenny Block                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/19/style/ke Dictating All the Terms That Define Their
2021-11-19   2021-11-21 lsey-reynolds-kamah-wilson-wedding.html     Love                                         By Jenny Block                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/style/lo
2021-11-19   2021-11-21 rde-guggenheim.html                         A Rumpus In the Rotunda                      By Denny Lee                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/style/lo
2021-11-19   2021-11-21 ve-on-the-spectrum-jodi-rodgers.html        We Could All Use a Jodi in Our Lives         By Valeriya Safronova            TX 9-117-906   2022-01-03




                                                                                 Page 3032 of 5793
                        https://www.nytimes.com/2021/11/19/style/m
                        odern-love-he-cared-so-i-broke-up-with-
2021-11-19   2021-11-21 him.html                                     He Cared About Me So I Broke Up With Him By Jessica Slice                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/style/pe
2021-11-19   2021-11-21 ter-vidani-jennifer-pierce-wedding.html      Anticipating a Deed They Said I Do          By Julianne McShane            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/style/re
2021-11-19   2021-11-21 becca-woods-beth-schafer-wedding.html        How Do You Say Smitten in Yiddish           By Rosalie R Radomsky          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/style/tai
2021-11-19   2021-11-21 leclaire-dominic-tetro-wedding.html          Geography Brought Them Closer Together      By Nina Reyes                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/style/yo
2021-11-19   2021-11-21 elit-lipinsky-ariel-greene-wedding.html      Attribute Everything to the Chill Yentas    By Becca Foley                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/t-
2021-11-19   2021-11-21 magazine/toyin-ojih-odutola-art.html         Finding Magic After Midnight                By Lovia Gyarkye               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/calif Former Professor Is Indicted in Arson Spree
2021-11-19   2021-11-21 ornia-wildfires-gary-stephen-maynard.html in California That Started Wildfires           By Christine Hauser            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/rev- Rev W Sterling Cary Pioneering Cleric and
2021-11-19   2021-11-21 w-sterling-cary-dead.html                    Civil Rights Leader Dies at 94              By Sam Roberts                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/nyregio Officers Used Excess Force In Arrest US
2021-11-20   2021-11-21 n/officers-excessive-force-stomp.html        Alleges                                     By Lola Fadulu                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/busines
2021-11-20   2021-11-21 s/career-spiritual-coaching-pandemic.html    Career Coaches Tell Clients to Seek Thyself By Lauren Mechling             TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/20/climate The Midwestern City Where Rounder Is
2021-11-20   2021-11-21 /roundabouts-climate-emissions-driving.html Greener                                       By Cara Buckley and AJ Mast   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/nyregio
2021-11-20   2021-11-21 n/fentanyl-opioid-deaths.html               This Is Poison Fentanyl Jolts Drug Epidemic   By Sarah Maslin Nir           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/opinion
2021-11-20   2021-11-21 /democrat-trump-elections.html              The Diminishing Democratic Majority           By Ross Douthat               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/opinion
2021-11-20   2021-11-21 /police-traffic-stops-deaths.html           When the Police Kill Without Cause            By The Editorial Board        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/opinion
2021-11-20   2021-11-21 /uk-france-submarine.html                   Ooh La La Le Messy Divorce                    By Maureen Dowd               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/20/realesta Is It Right to Have a Christmas Tree In the
2021-11-20   2021-11-21 te/discrimination-holiday-displays-nyc.html Lobby but Not a Menorah                         By Ronda Kaysen             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/sports/t Videos Said to Be of Chinese Tennis Player By Matthew Futterman and
2021-11-20   2021-11-21 ennis/peng-shuai-video.html                 Dont Resolve if She Is Safe                     Christopher Clarey          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/style/br
2021-11-20   2021-11-21 eed-children-climate-change.html            In an Age Like This Is It Still OK to Procreate By Alex Williams            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/style/fr
2021-11-20   2021-11-21 ances-moore-lappe-diet-small-planet.html    50 Years On a Legacy Of PlantBased Living By Steven Kurutz                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/us/allen-Dallas Erects Memorial Where a Black Man
2021-11-20   2021-11-21 brooks-1910-lynching-dallas.html            Was Lynched in 1910                             By Claire Fahy              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/us/kyle-
2021-11-20   2021-11-21 rittenhouse-gun-control.html                Kenosha Trial Shows Nation Split by Guns        By Glenn Thrush             TX 9-117-906   2022-01-03



                                                                                 Page 3033 of 5793
                        https://www.nytimes.com/2021/11/20/us/polit GOP May Be Energized but Trump Cancel       By Jonathan Martin and Shane
2021-11-20   2021-11-21 ics/gop-trump-governors-midterms.html       Culture Poses a Threat                      Goldmacher                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/us/polit How Pelosi Got Her Democrats Over Finish
2021-11-20   2021-11-21 ics/pelosi-democrats-biden-agenda.html      Line                                        By Carl Hulse                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/us/polit
2021-11-20   2021-11-21 ics/us-middle-east.html                     US Faces Questions From Arab Allies         By Helene Cooper                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/world/a Vaccines Arrival in South Sudan Is Cold
2021-11-20   2021-11-21 frica/south-sudan-covid-flooding.html       Comfort                                     By Lynsey Addario                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/world/a How Indias Farmers Organized and
2021-11-20   2021-11-21 sia/india-modi-farmer-protests.html         WellFunded Faced Down Modi                  By Emily Schmall                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/world/c A Furry National Symbol Too Busy for Its
2021-11-20   2021-11-21 anada/canada-beaver-dams.html               Own Good                                    By Ian Austen                     TX 9-117-906   2022-01-03
                                                                                                                By Dionne Searcey Michael
                        https://www.nytimes.com/2021/11/20/world/c Power Struggle Over Cobalt Rattles the Clean Forsythe Eric Lipton and Ashley
2021-11-20   2021-11-21 hina-congo-cobalt.html                      Energy Revolution                           Gilbertson                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/world/e
                        urope/austria-lockdown-vaccine-mandate-     Thousands of Austrians Protest New Covid
2021-11-20   2021-11-21 covid.html                                  Rules                                       By Melissa Eddy                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/world/e Londons Top Tabloid Changes Editors Which
2021-11-20   2021-11-21 urope/daily-mail-editor-out.html            Could Please Downing Street                 By Mark Landler                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/world/e
                        urope/france-murder-ghislaine-marchal-omar-
2021-11-20   2021-11-21 raddad.html                                 Bloody Scrawl Dead Socialite And a Mystery By Norimitsu Onishi                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/world/h                                              By Michael Forsythe Eric Lipton
2021-11-20   2021-11-21 unter-biden-china-cobalt.html               Mine Deal Tied To Bidens Son                and Dionne Searcey                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/us/elija McClain Family to Receive 15 Million in
2021-11-21   2021-11-21 h-mcclain-settlement.html                   Settlement                                  By Sophie Kasakove                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/busines
                        s/media/american-high-teen-comedies-
2021-11-21   2021-11-21 movies.html                                 High School The Remake                      By Nicole Sperling                TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/21/busines The Week in Business Bidens Safety Net
2021-11-21   2021-11-21 s/the-week-in-business-biden-safety-net.html Package Clears One Hurdle                    By Sarah Kessler                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/sports/n
                        caafootball/ivy-league-football-             Despite Obstacles the Ivy League Was Glad to
2021-11-21   2021-11-21 champion.html                                Be Back                                      By Billy Witz                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/style/ko
2021-11-21   2021-11-21 rea-hair-curlers-gen-z.html                  Curlers in Your Hair No More Shame           By Jin Yu Young                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/us/redis Legal Ways to Overturn Increasingly
2021-11-21   2021-11-21 tricting-gerrymandering-republicans.html     Egregious Gerrymanders Dwindle               By Michael Wines                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/world/a Myanmars Notorious Army Faces Morale
2021-11-21   2021-11-21 sia/myanmar-defectors-coup.html              Crisis as More Soldiers Defect               By SuiLee Wee                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/insider/
2021-11-22   2021-11-21 unification-church-sushi.html                Telling The Untold Story of Sushi            By Daniel Fromson               TX 9-117-906   2022-01-03




                                                                                Page 3034 of 5793
                        https://www.nytimes.com/2021/11/10/travel/fl
2021-11-10   2021-11-22 y-fishing-italy.html                         The Joy of Casting in Clear Italian Waters   By Kenneth R Rosen             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/11/movies/
2021-11-11   2021-11-22 lady-gaga-ridley-scott-house-of-gucci.html   Learning To Play The Part So Well            By Kyle Buchanan               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/technol
                        ogy/personaltech/chip-gaming-device-
2021-11-17   2021-11-22 shortage.html                                The Tech Gifts That Are Scarce This Season   By Brian X Chen                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/busines Billions in Aid on the Way To Help With
2021-11-18   2021-11-22 s/mortgage-assistance-homeowners.html        Mortgage Bills                               By Matthew Goldstein           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/technol
2021-11-18   2021-11-22 ogy/amazon-instagram-brand-loyalty.html      The Internet Broke Brand Loyalty             By Shira Ovide                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/books/f Clashing Identities Lesbian Muslim And
2021-11-19   2021-11-22 atima-daas-the-last-one.html                 Outsider                                     By Julia Webster Ayuso         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/movies/
2021-11-19   2021-11-22 passing-black-lesbian-women.html             Passing Between The Lines                    By Salamishah Tillet           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/movies/
2021-11-19   2021-11-22 tick-tick-boom-robin-de-jesus.html           Tick Tick Boom Is His Showcase               By Laura Zornosa               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/opinion I Cannot Heal My Childrens Grief but I Can
2021-11-19   2021-11-22 /grief-mourning-children.html                Empathize                                    By Miranda Featherstone        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/opinion
2021-11-19   2021-11-22 /trump-gop-misogyny.html                     The GOP Has a Bad Men Problem                By Michelle Cottle             TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/19/opinion Rittenhouse and the Rights White Vigilante
2021-11-20   2021-11-22 /kyle-rittenhouse-not-guilty-vigilantes.html Heroes                                       By Charles M Blow              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/arts/mu Mick Rock Dies at 72 Photographers Name
2021-11-20   2021-11-22 sic/mick-rock-dead.html                      Was His Wild Destiny                         By Neil Genzlinger             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/busines Bridgewater Founder Writes on the Empires
2021-11-20   2021-11-22 s/dealbook/ray-dalio.html                    of the Past                                  By Andrew Ross Sorkin          TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/20/busines High Gas Prices Curb Traveling and Dining By Emma Goldberg Coral Murphy
2021-11-20   2021-11-22 s/high-gas-prices.html                      Out                                           Marcos and Kellen Browning     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/nyregio                                                By Precious Fondren and Lola
2021-11-20   2021-11-22 n/covid-booster-nyc.html                    How to Get a Booster Shot in New York City Fadulu                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/technol Jay Last 92 Physicist and a Pioneer of Silicon
2021-11-20   2021-11-22 ogy/jay-last-dead.html                      Valley                                        By Cade Metz                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/us/cam
2021-11-20   2021-11-22 eron-lamb-eric-devalkenaere.html            Detective Is Guilty of Killing Black Man      By Maria Cramer                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/20/us/claib
                        orne-expressway-new-orleans-                A Divided Neighborhoods Stake in the
2021-11-20   2021-11-22 infrastructure.html                         Infrastructure Bill                           By Audra D S Burch             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/arts/des An ExPlunderer Helps Cambodia Reclaim Its
2021-11-21   2021-11-22 ign/toek-tik-cambodian-artifacts.html       Cultural Relics                               By Tom Mashberg                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/arts/mu
2021-11-21   2021-11-22 sic/met-opera-wagner-walkure.html           A Simpler Ring and a Better Fit               By Zachary Woolfe              TX 9-117-906   2022-01-03




                                                                                 Page 3035 of 5793
                        https://www.nytimes.com/2021/11/21/books/r New Yorks Midcentury Art Scene Springs to
2021-11-21   2021-11-22 eview-loft-generation-edith-schloss.html      Life                                         By Alexandra Jacobs              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/busines
                        s/jonah-goldberg-steve-hayes-quit-fox-tucker-
2021-11-21   2021-11-22 carlson.html                                  Jan 6 Show Spurs 2 Exits At Fox News         By Ben Smith                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/canada- Flooding Forces 17000 From British
2021-11-21   2021-11-22 flooding-climate-change.html                  Columbia Homes Emptying Towns                By Ian Austen and Vjosa Isai     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/opinion
                        /astroworld-rust-surfside-conspiracies-       When Disaster Strikes Are You a Conspiracist
2021-11-21   2021-11-22 catastrophes.html                             or Reformist                                 By Adrian J Rivera               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/21/sports/f
2021-11-21   2021-11-22 ootball/jets-dolphins-score-elijah-moore.html Another Jets Loss but a Touch of Fun         By Devin Gordon and Diante Lee   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/sports/h
2021-11-21   2021-11-22 ockey/new-york-islanders-ubs-arena.html       We Waited a Long Time                        By David Waldstein               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/sports/
2021-11-21   2021-11-22 marathon-dnf.html                             Handling Unfinished Marathon Business        By Michael Malone                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/sports/n Crushing Loss Has Oregon And Pac12 Adrift
2021-11-21   2021-11-22 caafootball/utah-oregon-game.html             Yet Again                                    By Alan Blinder                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/sports/n The Nets Are Winning Despite an Identity
2021-11-21   2021-11-22 ets-james-harden.html                         Crisis                                       By Tania Ganguli                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/sports/s
                        occer/manchester-united-ole-gunnar-           With a Final Insult of a Defeat Solskjaer Is
2021-11-21   2021-11-22 solskjaer.html                                Out at Manchester United                     By Rory Smith                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/sports/t Zverev Proves He Is Rising Despite Cloud Of
2021-11-21   2021-11-22 ennis/alexander-zverev-atp-finals.html        Suspicion                                    By Christopher Clarey            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/sports/t
2021-11-21   2021-11-22 ennis/peng-shuai-video-ioc.html               Missing Tennis Star Appears in Video Call    By Matthew Futterman             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/theater/
                        review-the-alchemist-a-play-in-search-of-
2021-11-21   2021-11-22 comedy-gold.html                              The Master Is Away OK Lets Play              By Elisabeth Vincentelli         TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/21/us/polit                                               By David E Sanger Steven Erlanger
2021-11-21   2021-11-22 ics/iran-nuclear-standoff.html              Israeli Attacks Spur Upgrade Of Iran Sites    Farnaz Fassihi and Lara Jakes     TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/21/us/polit                                              By Kenneth P Vogel and Kate
2021-11-21   2021-11-22 ics/manchin-sinema-republican-donors.html GOP Donors Flock to Back 2 Democrats           Kelly                              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/us/polit This Year Rising Prices During Holiday
2021-11-21   2021-11-22 ics/thanksgiving-higher-prices.html         Season Could Cost Democrats                  By Trip Gabriel                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/us/ritte To Paramilitary Groups Verdict In Kenosha Is
2021-11-21   2021-11-22 nhouse-militia-paramilitary.html            Vindication                                  By Charles Homans                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/world/a Sudans Prime Minister Makes Deal With
2021-11-21   2021-11-22 frica/sudan-coup-abdalla-hamdok.html        Military Angering Protesters                 By Declan Walsh                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/world/a Chilean Voters Give Lead To a FarRight        By Pascale Bonnefoy and Ernesto
2021-11-21   2021-11-22 mericas/chile-election-boric-kast.html      Candidate                                    Londoo                             TX 9-117-906   2022-01-03



                                                                                  Page 3036 of 5793
                        https://www.nytimes.com/2021/11/21/world/a 2 of 17 Kidnapped in Haiti Are Free Group
2021-11-21   2021-11-22 mericas/haiti-missionaries-kidnapping.html Says                                          By Maria AbiHabib                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/world/a Opposition Leader Flees As Cuba Works to
2021-11-21   2021-11-22 mericas/yunior-garcia-exile-spain.html       Stifle A Resistance Movement                By Nicholas Casey                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/world/a War and Drought Drive Afghan Farmers to       By Thomas GibbonsNeff and
2021-11-21   2021-11-22 sia/afghanistan-crops-opium-taliban.html     Join the Opium Trade                        Taimoor Shah                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/world/a Ardeshir Zahedi Who Raised Irans Profile on
2021-11-21   2021-11-22 sia/ardeshir-zahedi-dead.html                a Tide of Champagne Dies at 93              By Katharine Q Seelye             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/world/e
                        urope/austria-covid-lockdown-vaccine-        Frustrated Austrians Argue Over Virus
2021-11-21   2021-11-22 mandates.html                                Restrictions                                By Melissa Eddy                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/world/e Demanding Rent Relief As Evictions Roil       By Nicholas Casey and Roser Toll
2021-11-21   2021-11-22 urope/spain-evictions-cerberus-covid.html    Spain                                       Pifarr                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/world/ Palestinian Kills Israeli Near Holiest Site in By Patrick Kingsley and Myra
2021-11-21   2021-11-22 middleeast/shooting-israel-jerusalem.html    Jerusalem                                   Noveck                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/world/u How US Lost a Clean Energy Treasure to        By Eric Lipton Dionne Searcey and
2021-11-21   2021-11-22 s-china-energy.html                          China                                       Ashley Gilbertson                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/sports/f
2021-11-22   2021-11-22 ootball/nfl-week-11-scores.html              What We Learned This Week                   By Tyler Dunne                    TX 9-117-906   2022-01-03
                                                                                                                 By Dan Simmons Mitch Smith
                        https://www.nytimes.com/2021/11/21/us/wisc SUV Fatally Plows Into Wisconsin Christmas Robert Chiarito Jesus Jimnez and
2021-11-22   2021-11-22 onsin-parade-crash.html                      Parade Striking Over 20                     Livia AlbeckRipka                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/arts/tele
2021-11-22   2021-11-22 vision/whats-on-tv-this-week.html            This Week on TV                             By Geordon Wollner                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/busines
2021-11-22   2021-11-22 s/media/netflix-movies-theaters.html         Netflix Seeks To Create Blockbusters        By Nicole Sperling                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/insider/
2021-11-22   2021-11-22 times-hall-of-fame-voting.html               When The Times Doesnt Vote                  By Mathew Brownstein              TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/22/nyregio Exonerations Lift One Burden For an       By Jonah E Bromwich Ashley
2021-11-22   2021-11-22 n/malcolm-x-assassination-halim-hayer.html Assassin of Malcolm X                     Southall and Troy Closson           TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/22/sports/f Giants Facing a Complex Call About Their
2021-11-22   2021-11-22 ootball/daniel-jones-giants-contract.html   Future                                   By Emmanuel Morgan                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/22/sports/ Traveling US Carrying the NBAs Hopes for
2021-11-22   2021-11-22 mexico-city-capitanes-nba-texas.html        Mexico                                   By Scott Cacciola                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/22/us/us- US Virus Cases Are Rising Again As Holiday
2021-11-22   2021-11-22 covid-cases-rising-thanksgiving.html        Nears                                    By Mitch Smith                      TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/22/world/
                        middleeast/belarus-iraqi-migrant-           Deported from Belarus Iraqis Are Left
2021-11-22   2021-11-22 deportations.html                           Destitute And Facing Grim Futures        By Jane Arraf and Sangar Khaleel    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/05/well/da Facing Fatherhood and Embracing a
2021-11-05   2021-11-23 d-cerebral-palsy.html                       Disability                               By Christopher Vaughan              TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/09/well/liv Treatment Takes a Team I Had to Build My
2021-11-09   2021-11-23 e/chronic-pain-treatment.html               Own                                      By Kari Cobham                      TX 9-117-906     2022-01-03



                                                                                Page 3037 of 5793
                        https://www.nytimes.com/2021/11/09/well/mi
2021-11-09   2021-11-23 nd/chronic-pain-language-effects.html      Words Matter Apt Depictions Can Alter Pain By Cameron Walker                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/well/mi
2021-11-09   2021-11-23 nd/glial-cells-chronic-pain-treatment.html Sciences Quiet Hope for Ending the Agony By David Dobbs                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/09/well/mi
2021-11-09   2021-11-23 nd/john-sarno-chronic-pain-relief.html     MindBody Connections to Suffering          By Juno DeMelo                        TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/09/well/mi
2021-11-09   2021-11-23 nd/psychologists-chronic-pain-therapy.html Medications Arent the Only Option                 By Sushma Subramanian          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/13/us/pre
2021-11-13   2021-11-23 mature-baby-guinness-record.html                Born 19 Weeks Early Baby Shocks Doctors By Maria Cramer                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/16/well/eat Does It Matter if I Eat the Stickers on Fruits
2021-11-16   2021-11-23 /stickers-fruits-vegetables.html                and Vegetables                               By Sophie Egan                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/science Researchers Reveal the Long Misuse of Roma
2021-11-17   2021-11-23 /genetics-ethics-roma.html                      DNA                                          By Sabrina Imbler              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/science
2021-11-17   2021-11-23 /la-almoloya-spain.html                         Sketching Faces Not Seen for Millenniums     By Jennifer Pinkowski          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/well/m
2021-11-17   2021-11-23 ove/exercise-cancer.html                        Exercise the Cancer Threat Away              By Gretchen Reynolds           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/opinion The Worlds Deadliest Place for                    By Blanca Luca Echeverry and
2021-11-18   2021-11-23 /colombia-environmental-defenders.html          Environmentalists                            Andrew Miller                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/opinion
2021-11-19   2021-11-23 /abortion-rights-judaism.html                   Her Welfare Is Primary                       By Sarah Seltzer               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/technol
2021-11-19   2021-11-23 ogy/can-a-machine-learn-morality.html           Can a Machine Learn Morality                 By Cade Metz                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/well/m
2021-11-19   2021-11-23 ove/workout-exercise-knee-health.html           To Keep Knees Healthy It Pays to Stay Active By Alex Hutchinson             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/us/cand Suspects Family Helps Crack Girls Unsolved
2021-11-21   2021-11-23 y-rogers-murder-case-solved.html                Killing From 1959                            By Michael Levenson            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/sports/t Crawford Has Decisions to Make About
2021-11-22   2021-11-23 erence-crawford-shawn-porter-fight.html         Getting Opponent He Wants                    By Morgan Campbell             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/arts/des
                        ign/city-gives-brooklyn-museum-50-              Brooklyn Museum to Receive 50 Million
2021-11-22   2021-11-23 million.html                                    From the City                                By Sarah Bahr                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/arts/des
                        ign/frank-stella-sculpture-world-trade-
2021-11-22   2021-11-23 center.html                                     Revisiting Ground Zero                       By MH Miller                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/arts/ma
2021-11-22   2021-11-23 cys-parade-thanksgiving-2021.html               For Kids Parade Includes Asterisk            By Julia Jacobs                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/arts/mu
2021-11-22   2021-11-23 sic/eurydice-met-opera.html                     Looking Back at an Operas Evolution          By Joshua Barone               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/arts/mu
                        sic/taylor-swift-red-taylors-version-billboard-
2021-11-22   2021-11-23 chart.html                                      Swift Has Her Fourth No 1 in 16 Months       By Ben Sisario                 TX 9-117-906   2022-01-03




                                                                                  Page 3038 of 5793
                        https://www.nytimes.com/2021/11/22/books/r Robert Bly a Poet Who Gave Rise to a Mens
2021-11-22   2021-11-23 obert-bly-dead.html                        Movement Dies at 94                           By Robert D McFadden             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/busines
                        s/athenahealth-hellman-friedman-bain-      In Big Buyout Year Deal for Athenahealth
2021-11-22   2021-11-23 capital.html                               Shines at 17 Billion                          By Michael J de la Merced        TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/busines Bezos Donates 100 Million to the Obama
2021-11-22   2021-11-23 s/bezos-obama-foundation.html              Foundation                                    By Nicholas Kulish               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/busines
                        s/economy/fed-chair-jerome-powell-         President Seeks to Retain Powell As Leader of By Jeanna Smialek and Jim
2021-11-22   2021-11-23 biden.html                                 Fed                                           Tankersley                       TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/22/busines                                               By Jeanna Smialek and Madeleine
2021-11-22   2021-11-23 s/economy/lael-brainard-fed-vice-chair.html DC Insider Tapped to Be No 2 at Fed          Ngo                             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/22/busines Alden Global Bids for Lee Enterprises a Big
2021-11-22   2021-11-23 s/media/alden-global-lee-enterprises.html   Newspaper Chain                              By Katie Robertson               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/busines UKs First Popeyes Prompts Biscuit
2021-11-22   2021-11-23 s/popeyes-london.html                       Befuddlement                                 By Jenny Gross and Chris Stanford TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/busines One Big Holiday 20 Million Airline            By Sydney Ember and Niraj
2021-11-22   2021-11-23 s/thanksgiving-holiday-travel-airlines.html Passengers                                   Chokshi                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/fashion
                        /jewelry-gary-bowersox-afghanistan-gem-
2021-11-22   2021-11-23 business.html                               The future of Afghan gems                    By Victoria Gomelsky             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/fashion
                        /jewelry-history-beatriz-chadour-sampson-
2021-11-22   2021-11-23 england.html                                Following the golden clues                   By Susanne Fowler                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/fashion
                        /jewelry-leather-maria-sole-ferragamo-
2021-11-22   2021-11-23 italy.html                                  From leather to a jewelry line               By Jessica Bumpus                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/fashion
                        /jewelry-pink-sapphires-padparadscha-sri-
2021-11-22   2021-11-23 lanka.html                                  Sapphires pink and trendy                    By Melanie Abrams                TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/22/fashion
2021-11-22   2021-11-23 /jewelry-red-coral-torre-del-greco-italy.html The challenges to coral and its artisans   By Laura Rysman                  TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/22/fashion
2021-11-22   2021-11-23 /jewelry-rubies-myanmar-mozambique.html The troubled Burmese rubies                      By Nazanin Lankarani             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/fashion
                        /jewelry-selections-liza-urla-gemologue-
2021-11-22   2021-11-23 london.html                                Five favorite pieces                          By Penelope Colston              TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/fashion
2021-11-22   2021-11-23 /jewelry-selim-mouzannar-beirut.html       Beirut as inspiration                         By Rachel Felder                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/fashion
                        /jewelry-shin-ye-gwon-david-avalon-
2021-11-22   2021-11-23 seoul.html                                 The king of Korean rap grills                 By David Belcher                 TX 9-117-906    2022-01-03



                                                                                    Page 3039 of 5793
                        https://www.nytimes.com/2021/11/22/fashion
2021-11-22   2021-11-23 /jewelry-yutai-ishihara-tokyo.html          Jewelry designs to last                    By Vivian Morelli                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/health/a Death of Participant In Alzheimers Trial
2021-11-22   2021-11-23 duhelm-death-safety.html                    Spurs FDA Inquiry                          By Pam Belluck                   TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/movies/
2021-11-22   2021-11-23 paul-thomas-anderson-licorice-pizza.html    Returning To the Valley Once More          By Kyle Buchanan                 TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/22/nyregio Man Who Threatened Democrats Is
2021-11-22   2021-11-23 n/brendan-hunt-online-threats-democrats.html Sentenced To 19 Months in Prison          By Rebecca Davis OBrien          TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/nyregio Covid Efforts Hindered By Cuomo Doctor      By Joseph Goldstein and Sharon
2021-11-22   2021-11-23 n/cuomo-covid-health-department.html         Says                                      Otterman                         TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/nyregio Assembly Adds To the Findings Against       By Grace Ashford and Luis
2021-11-22   2021-11-23 n/cuomo-ny-assembly-investigation.html       Cuomo                                     FerrSadurn                       TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/nyregio
2021-11-22   2021-11-23 n/jimmy-hoffa-search.html                    A New Search for Jimmy Hoffa              By James Barron                  TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/22/nyregio Tourists Descend to Stroll Shop and Nosh    By Nicole Hong Patrick McGeehan
2021-11-22   2021-11-23 n/new-york-tourism.html                     Anew                                       and Chelsia Rose Marcius        TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/22/nyregio
                        n/steven-banks-resigns-nyc-social-          NYC Official Who Protected Homeless Will
2021-11-22   2021-11-23 services.html                               Resign                                     By Andy Newman                   TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/opinion
2021-11-22   2021-11-23 /thanksgiving-biden-rittenhouse.html        Thanks for This No Thanks to That          By Gail Collins and Bret Stephens TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/science
2021-11-22   2021-11-23 /mammoth-tusk-ocean.html                    Deep Mystery                               By Annie Roth                    TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/sports/b
2021-11-22   2021-11-23 aseball/baseball-hall-of-fame-ballot.html   On the Ballot With Legacies And Stories    By Tyler Kepner                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/sports/b
                        asketball/south-carolina-uconn-womens-
2021-11-22   2021-11-23 basketball.html                             No 2 Huskies Sloppy in Showdown Loss       By Natalie Weiner                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/sports/l
2021-11-22   2021-11-23 ebron-james-ejected-isaiah-stewart.html     James Suspended Wont Face Knicks           By Victor Mather                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/sports/
2021-11-22   2021-11-23 magnus-carlsen-chess.html                   Making Big Money With Every Move           By Dylan Loeb McClain            TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/22/sports/s Manchester Uniteds Past Glory Didnt Pave a
2021-11-22   2021-11-23 occer/manchester-united-ole-solskjaer.html Path Forward                                By Rory Smith                    TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/sports/t After ATP Finals Young Italians Hope to
2021-11-22   2021-11-23 ennis/atp-finals-turin-sinner-berrettini.html Keep Their Nation Buzzing                By Christopher Clarey            TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/style/je
2021-11-22   2021-11-23 welry-prince-dimitri-of-yugoslavia.html       Fascinated by gems                       By Kathleen Beckett              TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/22/technol
2021-11-22   2021-11-23 ogy/elizabeth-holmes-testimony-day-2.html Holmes Hones Defense With Testimony          By Erin Griffith and Erin Woo    TX 9-117-906    2022-01-03




                                                                                 Page 3040 of 5793
                        https://www.nytimes.com/2021/11/22/theater/
2021-11-22   2021-11-23 girl-is-a-half-formed-thing-review.html      Anger at the Speed of Thought               By Laura CollinsHughes          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/theater/
                        lynn-nottage-clydes-broadway-
2021-11-22   2021-11-23 livestream.html                              New Play Will Go Live but Stream Too        By Michael Paulson              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/upshot/ Biden Keeps Continuity Of Leaders At the
2021-11-22   2021-11-23 powell-brainard-fed-biden.html               Fed                                         By Neil Irwin                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/us/ahm
2021-11-22   2021-11-23 aud-arbery-trial-family.html                 A Mission for Arberys Loved Ones            By Tariro Mzezewa               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/us/arbe
2021-11-22   2021-11-23 ry-murder-defendants.html                    The Defendants                              By Sophie Kasakove              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/us/grov 4 Black Men Exonerated In False Case Of
2021-11-22   2021-11-23 eland-four-exonerated-florida.html           Rape in 49                                  By Amanda Holpuch               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/us/polit
                        ics/capitol-riot-subpoenas-roger-stone-alex- Five Trump Allies Including Jones and Stone
2021-11-22   2021-11-23 jones.html                                   See Jan 6 Subpoenas                         By Luke Broadwater              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/us/polit
2021-11-22   2021-11-23 ics/jan-6-trump-files.html                   Lawyers Argue Panel Should See Trump Files By Charlie Savage                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/us/polit
                        ics/sean-parnell-suspends-pennsylvania-
2021-11-22   2021-11-23 senate.html                                  Trump Pick Halts Senate Bid in Pennsylvania By Jennifer Medina              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/well/liv
2021-11-22   2021-11-23 e/heart-calcium-scan.html                    A Scan That Can Help Guide Heart Treatment By Jane E Brody                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/22/world/a Proof of Vaccination Mandate Is Met With
2021-11-22   2021-11-23 frica/kenya-covid-vaccination-mandate.html Outrage in Kenya                             By Abdi Latif Dahir              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/world/a
                        mericas/guadelouple-protests-covid-        French Vaccine Regulations Stir Violent
2021-11-22   2021-11-23 vaccine.html                               Protests in Guadeloupe                       By Aurelien Breeden              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/world/a Lurching From Golden Flower to Silenced      By Alexandra Stevenson and
2021-11-22   2021-11-23 sia/china-peng-shuai-metoo.html            MeToo Accuser                                Steven Lee Myers                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/world/e
                        urope/belarus-migrants-facebook-fake-      On the Polish Border a Fight Against Cold    By Andrew Higgins Adam
2021-11-22   2021-11-23 news.html                                  Smugglers and Fake News                      Satariano and Jane Arraf         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/world/e Anger Fills Europes Streets as Lockdowns
2021-11-22   2021-11-23 urope/covid-europe-surge-protests.html     Spread                                       By Steven Erlanger               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/world/e Putin Tries to Erase History of Gulag
2021-11-22   2021-11-23 urope/russia-memorial-prosecution.html     Atrocities                                   By Valerie Hopkins               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/22/world/ Critical Witness Testifies at Netanyahu Trial By Patrick Kingsley and Isabel
2021-11-22   2021-11-23 middleeast/israel-netanyahu-trial-hefetz.html Reviving a Drifting Case                  Kershner                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/live/2021/11/22/bus
                        iness/federal-reserve-powell-brainard/us-stock
2021-11-22   2021-11-23 market-today                                   Fed News Sends Markets Up Then Down      By Matt Phillips                 TX 9-117-906   2022-01-03




                                                                                Page 3041 of 5793
                        https://www.nytimes.com/live/2021/11/22/us/
                        ahmaud-arbery-murder-trial/charges-arbery-
2021-11-22   2021-11-23 murder-trial                                The Charges                                 By Patrick J Lyons               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/live/2021/11/23/us/
                        ahmaud-arbery-murder-trial/arbery-murder-
2021-11-22   2021-11-23 trial-explained                             Heres What You Need to Know                 By Richard Fausset               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/books/r
                        eview-tinderbox-hbo-oral-history-james-
2021-11-23   2021-11-23 andrew-miller.html                          Charting the Rise Of a Cable Giant          By Dwight Garner                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/opinion
2021-11-23   2021-11-23 /american-democracy.html                    The Problem Of Political Despair            By Michelle Goldberg             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/opinion
2021-11-23   2021-11-23 /biden-infrastructure-spending.html         Spending as if The Future Matters             By Paul Krugman                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/us/arbe Prosecutor Raises Racial Motive in Arbery      By Richard Fausset Tariro
2021-11-23   2021-11-23 ry-murder-trial-closing-arguments.html      Killing Trial                                 Mzezewa and Rick Rojas         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/us/park Families Get 130 Million In Settlement Of      By Patricia Mazzei and Katie
2021-11-23   2021-11-23 land-shooting-victims-settlement.html       Parkland                                      Benner                         TX 9-117-906   2022-01-03
                                                                                                                  By Mitch Smith Dan Simmons
                        https://www.nytimes.com/2021/11/22/us/wisc                                                Glenn Thrush and Serge F
2021-11-23   2021-11-23 onsin-waukesha-parade.html                  Suspect Faced Many Charges Before Parade Kovaleski                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/world/c
                        anada/canada-indigenous-journalist-         Journalists Arrested at Canada Rally Are Free
2021-11-23   2021-11-23 arrests.html                                on Bail                                       By Ian Austen                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/sports/b Why Knicks and Lakers Are Worth Billions
2021-11-23   2021-11-23 asketball/knicks-lakers-worth.html          Win or Lose                                   By Sopan Deb                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/article/waukesha- A March of Young Musicians And Dancing By Shawn Hubler and Giulia
2021-11-23   2021-11-23 victims-dancing-grannies.html               Grandmothers                                  Heyward                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/article/mlb-free-
2021-11-17   2021-11-24 agency-tracker.html                         Where Free Agents Went or Stayed              By Benjamin Hoffman            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/dining/
2021-11-18   2021-11-24 drinks/wine-school-greek-reds.html          Demystifying Greek Reds Is a Long Game        By Eric Asimov                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/dining/
2021-11-18   2021-11-24 upperline-closed-new-orleans.html           The Queen Calls It a Night                    By Brett Anderson              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/dining/
                        wine-school-california-cabernet-
2021-11-18   2021-11-24 sauvignon.html                              Beyond Napa Valley                            By Eric Asimov                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/dining/
2021-11-19   2021-11-24 elena-ruz-cuban-sandwich.html               May I Have an Elena Ruz Please                By Christina Morales           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/dining/
2021-11-19   2021-11-24 hanukkah-dessert-recipes.html               Hanukkah Desserts That Skip the Fryer         By Melissa Clark               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/dining/
2021-11-19   2021-11-24 matzo-ball-chicken-soup-recipe.html         OnePot Soup EightNight Holiday                By Joan Nathan                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/21/opinion This Year Exercise Your Thankfulness
2021-11-21   2021-11-24 /thanksgiving-gratitude.html                Muscles                                       By Tish Harrison Warren        TX 9-117-906   2022-01-03




                                                                                 Page 3042 of 5793
                        https://www.nytimes.com/2021/11/22/dining/
2021-11-22   2021-11-24 drinks/death-co-canned-cocktails.html       To Sip Collaboration Mixes Canned Cocktails By Robert Simonson              TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/dining/f
2021-11-22   2021-11-24 riendsgiving.html                           When Friendsgiving Is a Lifeline             By Eric Kim                    TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/dining/ To Prepare A Full Pasta Guide From Missy
2021-11-22   2021-11-24 missy-robbins-pasta-cookbook.html           Robbins                                      By Florence Fabricant          TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/dining/ To Present This Tasting Sampler Goes Deep
2021-11-22   2021-11-24 mother-in-laws-kimchi-sampler.html          on Kimchi                                    By Florence Fabricant          TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/dining/ To Learn Cuisine of Indian Jews Is Topic of
2021-11-22   2021-11-24 museum-of-food-and-drink-talk.html          Discussions                                  By Florence Fabricant          TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/dining/
2021-11-22   2021-11-24 native-americans-thanksgiving-corn.html     In the Feast a Helping of History            By Pete Wells                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/dining/
2021-11-22   2021-11-24 pie-server-cake-moma.html                   To Serve Pie and Cake Servers Can Be Stylish By Florence Fabricant          TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/dining/ To Nibble Three Flavors of Taralli Are Ready
2021-11-22   2021-11-24 snacks-taralli.html                         for Snacking                                 By Florence Fabricant          TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/opinion
2021-11-22   2021-11-24 /biden-powell-inflation-fed-economy.html    Cooling the Overheated Economy               By Michael R Strain            TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/travel/k Supporting Families and Finding One in the
2021-11-22   2021-11-24 entucky-tobacco-harvest.html                Tobacco Fields                               By Luke Sharrett               TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/22/arts/des Hundreds of Looted Ancient Artifacts Are
2021-11-23   2021-11-24 ign/us-mali-looted-antiquities-returned.html Returned to Mali                           By Zachary Small                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/22/nyregio
                        n/jack-brown-core-services-homeless-         New York City Cuts Ties With Housing
2021-11-23   2021-11-24 nyc.html                                     Group                                      By Amy Julia Harris             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/23/arts/mu
2021-11-23   2021-11-24 sic/grammy-awards-nominees.html              At the Grammys Expanded Options             By Ben Sisario                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/23/arts/mu Grammy Awards 2022 The Full List of
2021-11-23   2021-11-24 sic/grammys-nominee-list.html                Nominees                                   By Gabe Cohn                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/arts/mu                                              By Jon Caramanica Joe Coscarelli
2021-11-23   2021-11-24 sic/snubs-surprises-grammy-awards.html       Making Sense of All the Noise              and Jon Pareles                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/arts/tele
2021-11-23   2021-11-24 vision/cowboy-bebop.html                     Cowboy Bebop The Good and Bad              By Maya Phillips                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/23/books/r
2021-11-23   2021-11-24 eview-white-on-white-aysegul-savas.html      Ruptures in the LandlordTenant Pact        By Molly Young                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/23/busines As Price of Gas Climbs Biden Taps Oil        By Zolan KannoYoungs Stanley
2021-11-23   2021-11-24 s/biden-oil-reserves-gas-prices.html         Reserves                                   Reed and Jim Tankersley         TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/23/busines
                        s/black-neighborhoods-history-
2021-11-23   2021-11-24 revitalization.html                          Reviving Storied Black Neighborhoods        By Seth Berkman                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/23/busines
2021-11-23   2021-11-24 s/china-peng-shuai-metoo.html                China Cant Bury Its MeToo Scandal          By Li Yuan                      TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/23/busines Pakistan Seeks IMF Aid To Quell Inflation    By Emily Schmall and Salman
2021-11-23   2021-11-24 s/economy/pakistan-imf-economy.html          Crisis                                     Masood                          TX 9-117-906    2022-01-03



                                                                                 Page 3043 of 5793
                        https://www.nytimes.com/2021/11/23/busines                                               By Isabella Paoletto and Kristen
2021-11-23   2021-11-24 s/new-york-commercial-real-estate.html     Transactions                                  Bayrakdarian                       TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/23/busines Which Stores Are Open And Which Are
2021-11-23   2021-11-24 s/stores-open-thanksgiving-black-friday.html Closed                                        By Coral Murphy Marcos             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/climate Private Loans Are Filling Gap Of Slow
2021-11-23   2021-11-24 /climate-disaster-hud.html                   Federal Disaster Aid                          By Christopher Flavelle            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/climate A Gulf of California Porpoise Is on the Brink
2021-11-23   2021-11-24 /vaquita-mexico-extinction.html              of Extinction                                 By Catrin Einhorn and Fred Ramos TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/23/dining/f
                        rankenmuth-restaurants-thanksgiving-
2021-11-23   2021-11-24 dinner.html                                  Feeding the Holiday Spirit                    By Sara Bonisteel                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/dining/ El Pingino Focusing on Seafood in
2021-11-23   2021-11-24 new-york-restaurant-openings.html            Greenpoint Opens                              By Florence Fabricant              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/dining/r
2021-11-23   2021-11-24 estaurant-review-cha-kee-chinatown.html      A Beacon in Chinatowns Revival                By Pete Wells                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/health/
2021-11-23   2021-11-24 walmart-cvs-opioid-lawsuit-verdict.html      Retail Chains Found at Fault In Opioid Crisis By Jan Hoffman                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/movies/
2021-11-23   2021-11-24 encanto-review.html                          In This House Magic Is Made                   By Maya Phillips                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/movies/
2021-11-23   2021-11-24 house-of-gucci-review.html                   Its Murder Dressed With an Italian Flair      By AO Scott                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/nyregio In Rezoning Bills de Blasio Eyes Affluent
2021-11-23   2021-11-24 n/affordable-housing-gowanus-soho.html       Areas of City                                 By Mihir Zaveri                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/nyregio
                        n/ethel-denise-perry-millennium-care-        Director of Homeless Shelter Used Citys
2021-11-23   2021-11-24 fraud.html                                   Money on Herself                              By Andy Newman                     TX 9-117-906   2022-01-03
                                                                                                                   By Benjamin Weiser Matthew
                        https://www.nytimes.com/2021/11/23/nyregio Lies Agitation and Despair Filled Epsteins      Goldstein Danielle Ivory and Steve
2021-11-23   2021-11-24 n/jeffrey-epstein-suicide-death.html         Final Days in Jail                            Eder                               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/23/nyregio A Daughter Of Malcolm X Is Found Dead In
2021-11-23   2021-11-24 n/malcolm-x-daugher-malikah-shabazz.html Brooklyn                                       By Ashley Southall                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/23/nyregio New York City to Extend Right To Vote to     By Jeffery C Mays and Annie
2021-11-23   2021-11-24 n/noncitizen-voting-rights-nyc.html         800000 Noncitizens                          Correal                             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/23/opinion
2021-11-23   2021-11-24 /russia-putin-west.html                     No Putin Isnt Trying to Bring Down the West By Kadri Liik                       TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/23/sports/b Bill Virdon 90 Manager Of 4 Major League
2021-11-23   2021-11-24 aseball/bill-virdon-dead.html               Teams And Hitter of Key Grounder            By Richard Goldstein                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/23/sports/s Black Triathlete Endured to Be Her Sports
2021-11-23   2021-11-24 ika-henry-triathlon.html                    First                                       By Alanis Thames                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/23/technol Apple Sues to Block Israeli Spyware Firm
2021-11-23   2021-11-24 ogy/apple-nso-group-lawsuit.html            From iPhone Access                          By Nicole Perlroth                  TX 9-117-906     2022-01-03




                                                                                  Page 3044 of 5793
                        https://www.nytimes.com/2021/11/23/technol
                        ogy/clearview-ai-facial-recognition-        Clearview Face Recognition Passes Accuracy
2021-11-23   2021-11-24 accuracy.html                               Tests                                        By Kashmir Hill                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/technol
2021-11-23   2021-11-24 ogy/elizabeth-holmes-testimony.html         On Stand Holmes Aims To Woo Jury             By Erin Griffith                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/technol Samsung to Build Chip Plant in Texas In Big
2021-11-23   2021-11-24 ogy/samsung-chip-plant-texas.html           Win for US                                   By David McCabe                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/us/army Army Cadets Tried to Get Navys Goat It
2021-11-23   2021-11-24 navy-mascot-kidnap-goat.html                Went as Well as the Bay of Pigs              By Dave Philipps                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/us/charl
2021-11-23   2021-11-24 ottesville-rally-verdict.html               Nine Are Held Liable in Rally by Right Wing By Neil MacFarquhar                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/us/ian- Maj Ian Fishback 42 Who Exposed Abuse of
2021-11-23   2021-11-24 fishback-dead.html                          Detainees in Iraq Is Dead                    By Sam Roberts                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/us/polit                                              By Luke Broadwater and Alan
2021-11-23   2021-11-24 ics/jan-6-proud-boys-oathkeepers.html       Jan 6 Panel Subpoenas Militia Groups         Feuer                             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/us/polit 75 Billion To Reinforce Health Care In Rural
2021-11-23   2021-11-24 ics/rural-health-care-relief-funds.html     Areas                                        By Mark Walker                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/world/a Flawed Vote Is One Way For Maduro to Keep By Isayen Herrera and Anatoly
2021-11-23   2021-11-24 mericas/venezuela-election-maduro.html      Grip                                         Kurmanaev                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/world/a Chun Doohwan South Koreas Unrepentant
2021-11-23   2021-11-24 sia/chun-doo-hwan-dead.html                 ExDictator Dies at 90                        By Choe SangHun                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/world/a
                        sia/immigration-pandemic-labor-             Wealthy Nations Compete to Lure Foreign      By Damien Cave and Christopher F
2021-11-23   2021-11-24 shortages.html                              Workers                                      Schuetze                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/world/a Kashmiri Human Rights Activist Is Arrested
2021-11-23   2021-11-24 sia/kashmiri-activist-india-antiterror.html Under Indias Antiterrorism Act               By Mujib Mashal                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/world/e
                        urope/bulgaria-bus-crash-north-             At Least 45 People Die In Bus Crash in       By Boryana Dzhambazova and
2021-11-23   2021-11-24 macedonia.html                              Bulgaria                                     Livia AlbeckRipka                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/world/e
                        urope/rudy-guede-free-killer-meredith-      After 13 Years In Jail Killer Of Student Is
2021-11-23   2021-11-24 kercher.html                                Free in Italy                                By Elisabetta Povoledo            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/live/2021/11/23/bus
                        iness/news-business-stock-market/bank-
                        regulators-released-a-road-map-for-crypto-
2021-11-23   2021-11-24 regulation-thats-short-on-details           Crypto Road Map Is Short on Details          By Emily Flitter                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/live/2021/11/23/bus
                        iness/news-business-stock-market/chinas-
                        peng-shuai-controversy-puts-pressure-on-    Pressure Mounts on Sponsors of Winter        By Lauren Hirsch and Michael J de
2021-11-23   2021-11-24 olympic-sponsors                            Games                                        la Merced                         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/nyregio Man Who Served 16 Years Is Exonerated in By Karen Zraick and Alexandra
2021-11-24   2021-11-24 n/anthony-broadwater-alice-sebold.html      Rape Case Described in Memoir                Alter                             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/opinion Flying to Visit Family With Less Climate
2021-11-24   2021-11-24 /climate-change-guilt-flights.html          Guilt                                        By Farah Stockman                 TX 9-117-906   2022-01-03




                                                                                Page 3045 of 5793
                        https://www.nytimes.com/2021/11/23/opinion
2021-11-24   2021-11-24 /liberals-survive-progressivism.html        Can Liberals Survive Progressivism        By Bret Stephens                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/23/sports/s November Win and Poll Hint at Potential
2021-11-24   2021-11-24 outh-carolina-womens-basketball.html        Dynasty                                   By Natalie Weiner                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/23/theater/
2021-11-24   2021-11-24 clydes-review.html                          More Than Just Sandwiches                  By Jesse Green                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/us/jury- After Prosecutors Rebuttal Jury Begins     By Richard Fausset Rick Rojas and
2021-11-24   2021-11-24 deliberations-arbery-murder-trial.html      Deliberations in Arbery Killing Trial      Tariro Mzezewa                    TX 9-117-906   2022-01-03
                                                                                                               By Mitch Smith Brandon Dupr
                        https://www.nytimes.com/2021/11/23/us/wau Suspect in Wisconsin Rampage Is Charged as Serge F Kovaleski and Miriam
2021-11-24   2021-11-24 kesha-parade-brooks-court.html               Toll Rises to 6                           Jordan                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/us/wau A Young Life Is Dashed And Others Are        By Shawn Hubler and Giulia
2021-11-24   2021-11-24 kesha-parade-children-injured.html           Shattered                                 Heyward                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/us/polit
2021-11-24   2021-11-24 ics/pentagon-ufos.html                       US Forms Group to Shed Light on UFOs      By Julian E Barnes                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/25/travel/s Ink in the Skin Bringing Protection By the
2021-10-25   2021-11-25 ak-yant-tattoo-thailand.html                 Spirits                                   By Francesco Lastrucci            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/travel/b Does Black Friday Matter to Travelers
2021-11-18   2021-11-25 lack-friday-travel-deals.html                Anymore                                   By Elaine Glusac                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/sports/a Bob Bondurant Car Racer Who Tutored
2021-11-19   2021-11-25 utoracing/bob-bondurant-dead.html            Actors on the Track Dies at 88            By Richard Sandomir               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/opinion
2021-11-22   2021-11-25 /letters-new-year-resolution.html            The Nicest Resolution I Ever Made         By Margaret Renkl                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/arts/tele
2021-11-23   2021-11-25 vision/kevin-hart-netflix.html               Broadening His Repertoire                 By Dave Itzkoff                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/busines As Covid Surges in Europe New Economic By Patricia Cohen and Melissa
2021-11-23   2021-11-25 s/economy/europe-covid-economy.html          Toll Follows                              Eddy                              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/busines Peter Buck 90 Designer of Nuclear Plants
2021-11-23   2021-11-25 s/peter-buck-dead.html                       Who Helped Create Subway Restaurants      By Katharine Q Seelye             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/busines
2021-11-23   2021-11-25 s/taxes-family-farm.html                     Once Were Gone Were Not Coming Back       By Alyssa Schukar                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/style/pl
2021-11-23   2021-11-25 ant-gifts.html                               Crop of Cute Gifts For Plant Lovers       By Anthony Rotunno                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/style/th
2021-11-23   2021-11-25 e-sensibility-of-ssense.html                 Value and the Sensibility of Ssense       By Nathan Taylor Pemberton        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/theater/ NYU Skirball Season Reinvigorates the
2021-11-23   2021-11-25 nyu-skirball-center-new-season.html          Classics                                  By Sarah Bahr                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/movies/ Thanksgiving Movies to Watch After Your
2021-11-24   2021-11-25 thanksgiving-movies-streaming.html           Big Meal Is Over                          By Amy Nicholson                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/world/e
                        urope/lithuania-migrants-belarus-middle-     Lithuania Welcomes Refugees if Theyre
2021-11-24   2021-11-25 east.html                                    Belarusian                                By Anton Troianovski              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/arts/des                                            By Lauren Herstik and Graham
2021-11-24   2021-11-25 ign/artists-in-residence-los-angeles.html    Another Day At the Office Making Art      Bowley                            TX 9-117-906   2022-01-03




                                                                                Page 3046 of 5793
                        https://www.nytimes.com/2021/11/24/arts/des
2021-11-24   2021-11-25 ign/maya-lin-rocking-the-boat.html          Dying Trees Revived As Art Then Crafts     By Zachary Small               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/arts/mu
2021-11-24   2021-11-25 sic/met-opera-eurydice.html                 Teeming Action In the Underworld           By Zachary Woolfe              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/books/r
2021-11-24   2021-11-25 eview-in-eye-of-wild-nastassja-martin.html One Womans Life Marked by the Bear          By Jennifer Szalai             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/busines
                        s/economy/fed-fomc-meeting-minutes-         Inflation Worries Drive Fed to Ponder a
2021-11-24   2021-11-25 november-2021.html                          Quicker Tapering of Its BondBuying Program By Madeleine Ngo               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/24/busines Jobless Claims Decline To a HalfCentury
2021-11-24   2021-11-25 s/economy/jobless-unemployment-claims.html Low                                        By Nelson D Schwartz            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/nyregio Student Worker Union At Columbia Is Again
2021-11-24   2021-11-25 n/columbia-grad-student-strike.html         Striking for Higher Pay                   By Ashley Wong                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/nyregio Nonprofit Run by Hunters Helps to Feed the
2021-11-24   2021-11-25 n/nj-deer-venison-food-bank.html            Hungry                                    By Tracey Tully                 TX 9-117-906   2022-01-03
                                                                                                              By Ben Protess William K
                        https://www.nytimes.com/2021/11/24/nyregio Trump Inquiry Enters Key Phase as District Rashbaum Jonah E Bromwich and
2021-11-24   2021-11-25 n/trump-investigation-cyrus-vance.html      Attorneys Term Nears End                  David Enrich                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/opinion
2021-11-24   2021-11-25 /gop-democracy-trump.html                   The Republicans Were Thankful For         By Michelle Cottle              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/opinion
2021-11-24   2021-11-25 /trucking-trump-biden-tariffs.html          End the Destructive TrumpBiden Tariffs    By Binyamin Appelbaum           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/sports/b Matz Goes To St Louis Cohen Goes Off on
2021-11-24   2021-11-25 aseball/steven-matz-cardinals-mets.html     Agent                                     By Tyler Kepner                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/sports/f NFL Settles Suit Over Rams Relocation for
2021-11-24   2021-11-25 ootball/nfl-st-louis-rams-relocation.html   790 Million                               By Ken Belson                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/sports/n Gonzaga Gets Upper Hand on UCLA but
2021-11-24   2021-11-25 caabasketball/gonzaga-ucla.html             Thats Only Step 1                         By Adam Zagoria                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/24/sports/n A Crash Course In College Football For
2021-11-24   2021-11-25 caafootball/college-football-thanksgiving.html Thanksgiving                               By Alan Blinder             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/sports/o
2021-11-24   2021-11-25 lympics/china-sports-peng-shuai.html           Do Sports Still Need China                 By Andrew Keh               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/sports/s
                        occer/karim-benzema-verdict-sex-tape-          French Star Is Convicted in Blackmailing
2021-11-24   2021-11-25 trial.html                                     Over Sex Tape                              By Aurelien Breeden         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/style/ba
                        by-yoda-grogu-balloon-thanksgiving-
2021-11-24   2021-11-25 parade.html                                    A Pop Culture Figure Made ParadeWorthy     By Frank DeCaro             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/style/ye
2021-11-24   2021-11-25 ezy-gap-jacket.html                            Connecting With Kanye West                 By Andr Wheeler             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/technol When the Best Tech Gifts Dont Require
2021-11-24   2021-11-25 ogy/personaltech/best-tech-gifts.html          Buying Tech                                By Brian X Chen             TX 9-117-906   2022-01-03




                                                                                  Page 3047 of 5793
                        https://www.nytimes.com/2021/11/24/us/afgh Difficult Choices in Resettling Afghan       By Michael D Shear and Jim
2021-11-24   2021-11-25 an-refugees.html                            Refugees                                    Tankersley                       TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/24/us/ahm Three in Georgia are Found Guilty in Arbery By Richard Fausset Tariro
2021-11-24   2021-11-25 aud-arbery-murder-verdict.html              Murder                                      Mzezewa and Rick Rojas           TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/24/us/ahm Justice Is Possible Widespread Praise For a
2021-11-24   2021-11-25 aud-arbery-verdict-reaction.html            Guilty Verdict                              By Jack Healy and Tariro Mzezewa TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/24/us/charl Charlottesvilles Extremist Theories Echo in
2021-11-24   2021-11-25 ottesville-rally-trial.html                 the Mainstream Right                        By Alan Feuer                    TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/24/us/polit
2021-11-24   2021-11-25 ics/biden-inflation-prices.html             Recovery Bet Haunts Biden                   By Jim Tankersley                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/24/us/polit Helicopters Clipboards and Crew Cuts The
2021-11-24   2021-11-25 ics/biden-thanksgiving-nantucket.html       President Must Be in Town                   By Zolan KannoYoungs             TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/24/us/polit
                        ics/ian-fishback-veteran-mental-health-     Death Highlights Depth Of an Army Health
2021-11-24   2021-11-25 crisis.html                                 Crisis                                      By Jennifer Steinhauer           TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/24/us/polit Still Resisting Mandates Republicans Blame
2021-11-24   2021-11-25 ics/republicans-biden-coronavirus.html      Biden As Infections Start to Rise           By Jonathan Weisman              TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/24/world/a Australia Defamation Case Signals a
2021-11-24   2021-11-25 ustralia/defamation-lawsuit.html            Crackdown Critics Say                       By Yan Zhuang                    TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/24/world/e
                        urope/germany-new-chancellor-olaf-
2021-11-24   2021-11-25 scholz.html                                 In Channeling Merkel Leader Takes the Reins By Katrin Bennhold               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/24/world/e Iran Rebuffs Watchdog On Resuming
2021-11-24   2021-11-25 urope/iran-nuclear-talks.html               Inspections                                 By Steven Erlanger               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/24/world/e Migrants Boat Capsizes In the English        By Aurelien Breeden Constant
2021-11-24   2021-11-25 urope/migrants-boat-capsize-calais.html     Channel                                     Mheut and Norimitsu Onishi       TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/24/world/e Migrant Crisis at Polands Border Eases          By Andrew Higgins and Monika
2021-11-24   2021-11-25 urope/poland-border-migrants-politics.html Pressure on Government                          Pronczuk                       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/world/e Talk of Herd Immunity Revives Debate on         By Stephen Castle and Mark
2021-11-24   2021-11-25 urope/uk-virus-herd-immunity.html            UK Covid Policy                               Landler                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/interactive/2021/11/ See Where US Covid Cases and
2021-11-24   2021-11-25 24/us/covid-uptick-thanksgiving.html         Hospitalizations Are Surging                  By Keith Collins               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/health/c
                        ovid-vaccine-children-                       Childrens Shots Lift Big Burden In Some
2021-11-25   2021-11-25 immunocompromised.html                       Homes                                         By Jennifer Steinhauer         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/insider/
2021-11-25   2021-11-25 a-taste-of-thanksgiving-tradition.html       A Taste of Thanksgiving Tradition             By Megan DiTrolio              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/opinion
2021-11-25   2021-11-25 /thanksgiving-penknife.html                  The Penknife A Thanksgiving Memory            By Rafael Alvarez              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/us/turk
2021-11-25   2021-11-25 ey-college-campus.html                       Across the Country Off to College They Trot   By Mitch Smith                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/11/travel/s Unforgiving Scottish Outpost May Be Worth
2021-10-11   2021-11-26 t-kilda-scotland.html                        the Rough Ride                                By Stephen Hiltner             TX 9-117-906   2022-01-03




                                                                                 Page 3048 of 5793
                        https://www.nytimes.com/2021/10/19/busines Service With a Chirp Robots Step Up in
2021-10-19   2021-11-26 s/restaurants-robots-workers.html           Labor Shortage                             By Janet Morrissey            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/04/well/liv                                            By Tara ParkerPope and Tony
2021-11-04   2021-11-26 e/holiday-gift-guide-wellness.html          2021 Holiday Gift Guide                    Cenicola                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/books/c Caroline Todd 86 Half Of a MysteryWriting
2021-11-19   2021-11-26 aroline-todd-dead.html                      Duo                                        By Clay Risen                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/us/i-
2021-11-19   2021-11-26 love-la-song.html                           A Reporters Case for Los Angeles           By Soumya Karlamangla         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/books/s Sylvre Lotringer 83 ShapeShifting Force of
2021-11-22   2021-11-26 ylvere-lotringer-dead.html                  the AvantGarde Dies                        By Alex Traub                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/arts/dan
2021-11-23   2021-11-26 ce/cultural-center-opens-in-chelsea.html    Center in Chelsea Aims to Help Artists     By Javier C Hernndez          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/busines Bidens Media Restraint Draws Allies
2021-11-23   2021-11-26 s/media/biden-media-strategy.html           Concerns                                   By Michael M Grynbaum         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/movies/
2021-11-23   2021-11-26 boiling-point-review.html                   Boiling Point                              By Glenn Kenny                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/movies/
2021-11-23   2021-11-26 the-humans-review.html                      Dinner With a Side of Existential Dread    By Jeannette Catsoulis        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/technol
2021-11-23   2021-11-26 ogy/big-tech-small-businesses.html          Imagine Not Living in Big Techs World      By Shira Ovide                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/arts/dan
2021-11-24   2021-11-26 ce/nutcracker-new-york-city-ballet.html     Why Nutcracker Kids Stand Taller This Year By Gia Kourlas                TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/24/arts/des A Cultural Circus Returns to Give Gallerists a
2021-11-24   2021-11-26 ign/art-basel-miami-beach-betancourt.html   Jolt                                           By Brett Sokol            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/arts/des
                        ign/athena-latocha-bric-sculpture-native-
2021-11-24   2021-11-26 american.html                               Large Works in Communion With the Land By Siddhartha Mitter              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/arts/mu Slide Hampton Trombonist And Composer
2021-11-24   2021-11-26 sic/slide-hampton-dead.html                 Dies at 89                                     By Clay Risen             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/books/n
2021-11-24   2021-11-26 ew-books-december.html                      Give Them as Gifts to Others or to Yourself By Joumana Khatib            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/busines Steering Volkswagen With Eye on Beating
2021-11-24   2021-11-26 s/volkswagen-ceo-herbert-diess.html         Tesla                                          By Melissa Eddy           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/movies/
2021-11-24   2021-11-26 8-bit-christmas-review.html                 8Bit Christmas                                 By Calum Marsh            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/movies/
2021-11-24   2021-11-26 a-boy-called-christmas-review.html          A Boy Called Christmas                         By Natalia Winkelman      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/movies/
2021-11-24   2021-11-26 a-castle-for-christmas-review.html          A Castle for Christmas                         By Lisa Kennedy           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/movies/
2021-11-24   2021-11-26 drive-my-car-review.html                    The Ride Is as Important as the Destination By Manohla Dargis            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/movies/
                        keep-sweet-review-a-legacy-of-polygamy-in-a
2021-11-24   2021-11-26 religious-sect.html                         Keep Sweet                                     By Ben Kenigsberg         TX 9-117-906   2022-01-03



                                                                                 Page 3049 of 5793
                        https://www.nytimes.com/2021/11/24/movies/
                        resident-evil-welcome-to-raccoon-city-
2021-11-24   2021-11-26 review.html                                 Resident Evil Welcome to Raccoon City          By Amy Nicholson                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/opinion
2021-11-24   2021-11-26 /arbery-verdict-rittenhouse.html            Criminal Trials Are Not Moral Reckonings       By Sarah Lustbader               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/opinion
2021-11-24   2021-11-26 /creative-minority-multiculturalism.html    The Age of The Creative Minority               By David Brooks                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/opinion                                                 By Shuiyin Sharon Yam and Alex
2021-11-24   2021-11-26 /hong-kong-university-china.html            A Blow to Hong Kongs Democracy                 Chow                             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/sports/k A Strong Start Without a Lot of Stars to Get
2021-11-24   2021-11-26 yle-kuzma-bradley-beal-wizards.html         in the Way                                     By Sopan Deb                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/style/be
                        rgen-norway-rainwear-weather-shopping-
2021-11-24   2021-11-26 fashion.html                                How to beat the elements in Norway Shop        By Ingrid K Williams             TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/24/style/jo
2021-11-24   2021-11-26 hannesburg-south-africa-victoria-yards.html Where artisans and community meet          By Mark Ellwood                TX 9-117-906         2022-01-03
                        https://www.nytimes.com/2021/11/24/style/sh
2021-11-24   2021-11-26 opping-colombia-indigenous.html              A celebration of Indigenous talent        By Nora Walsh                  TX 9-117-906         2022-01-03
                        https://www.nytimes.com/2021/11/24/style/sp
2021-11-24   2021-11-26 anish-ceramics.html                          Going to the source for Spanish ceramics  By Andrew Ferren               TX 9-117-906         2022-01-03
                        https://www.nytimes.com/2021/11/24/style/za
2021-11-24   2021-11-26 greb-croatia-accessories-fashion.html        In dapper Croatia accessorizing in style  By Kristin Vukovic             TX 9-117-906         2022-01-03
                        https://www.nytimes.com/2021/11/24/nyregio Two Officers Are Wounded In a Shootout in By Michael Levenson Karen Zraick
2021-11-25   2021-11-26 n/nypd-officers-shot-bronx.html              the Bronx                                 and Ashley Southall            TX 9-117-906         2022-01-03
                        https://www.nytimes.com/2021/11/25/arts/mu
                        sic/classical-music-beethoven-joshua-
2021-11-25   2021-11-26 bell.html                                    Dependability Itself                      By Zachary Woolfe              TX 9-117-906         2022-01-03
                        https://www.nytimes.com/2021/11/25/arts/tele
                        vision/how-to-with-john-wilson-season-
2021-11-25   2021-11-26 2.html                                       This Weekend I Have                       By Margaret Lyons              TX 9-117-906         2022-01-03
                        https://www.nytimes.com/2021/11/25/arts/tele
2021-11-25   2021-11-26 vision/nash-bridges-don-johnson.html         For Don Johnson Its Back to Bridges       By Robert Ito                  TX 9-117-906         2022-01-03
                        https://www.nytimes.com/2021/11/25/books/n Noah Gordon 95 Novelist With an Audience
2021-11-25   2021-11-26 oah-gordon-dead.html                         Overseas                                  By Sam Roberts                 TX 9-117-906         2022-01-03
                        https://www.nytimes.com/2021/11/25/busines Holiday Shopping Amid Unvaccinated          By Lauren Hirsch and Sapna
2021-11-25   2021-11-26 s/retail-vaccine-mandates.html               Workers                                   Maheshwari                     TX 9-117-906         2022-01-03
                        https://www.nytimes.com/2021/11/25/climate
2021-11-25   2021-11-26 /smithsonian-museum-flooding.html            Saving History With WetVacs In Washington By Christopher Flavelle        TX 9-117-906         2022-01-03
                        https://www.nytimes.com/2021/11/25/movies/
2021-11-25   2021-11-26 bruised-review.html                          Bruised                                   By Teo Bugbee                  TX 9-117-906         2022-01-03

                        https://www.nytimes.com/2021/11/25/movies/
2021-11-25   2021-11-26 burning-review-documentary-australia.html Burning                                          By Nicolas Rapold                TX 9-117-906   2022-01-03




                                                                                  Page 3050 of 5793
                        https://www.nytimes.com/2021/11/25/movies/
2021-11-25   2021-11-26 licorice-pizza-review.html                 California Dreaming and Scheming            By Manohla Dargis                 TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/25/movies/
2021-11-25   2021-11-26 twas-the-fight-before-christmas-review.html ememTwas the Fight Before Christmas        By Claire Shaffer                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/movies/
2021-11-25   2021-11-26 writing-with-fire-review.html               Writing With Fire                          By Devika Girish                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/nyregio Walking Back Toward Normal Parading
2021-11-25   2021-11-26 n/macys-thanksgiving-parade.html            Before Spectators Again                    By Sarah Maslin Nir               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/nyregio Officer Struck Man on Road Then Brought
2021-11-25   2021-11-26 n/new-jersey-police-officer-car-home.html   Body Home                                  By Mike Ives and Alyssa Lukpat    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/opinion Bankers Took Over the Climate Change
2021-11-25   2021-11-26 /cop26-gfanz-climate-change.html            Summit                                     By Christopher Caldwell           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/opinion
2021-11-25   2021-11-26 /self-sufficiency-generosity.html           SelfSufficiency Is Overrated               By Sarah Wildman                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/25/sports/a                                             By Damien Cave and Michaela
2021-11-25   2021-11-26 ustralia-volunteer-lifesaving-swimming.html I Hated Swimming Until I Moved to Australia Skovranova                       TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/25/sports/s While Searching for New Manager
2021-11-25   2021-11-26 occer/manchester-united-ralf-rangnick.html Manchester United Is in Steady Hands        By Rory Smith                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/us/alam A Texas Feud Heats Up Over How to
2021-11-25   2021-11-26 o-burial-native-americans.html              Remember the Alamo                         By Simon Romero                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/us/polit US Is Quiet on Its Line With Russia Over   By Michael Crowley and Julian E
2021-11-25   2021-11-26 ics/biden-putin-russia-ukraine.html         Ukraine                                    Barnes                            TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/25/us/polit Maps Give GOP A Stranglehold In Swing
2021-11-25   2021-11-26 ics/republican-redistricting-swing-states.html States                                 By Nick Corasaniti               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/25/us/pros
                        ecutor-white-jury-conviction-ahmaud-           In Arbery Case Legal Strategy Full of
2021-11-25   2021-11-26 arbery.html                                    Surprise                               By Richard Fausset               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/25/us/wau Waukesha Case Could Stall Efforts to Change
2021-11-25   2021-11-26 kesha-wisconsin-brooks-bail.html               How Courts Treat Bail                  By Glenn Thrush and Shaila Dewan TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/25/world/a Ethiopian Leader Vows To Lead Troops in
2021-11-25   2021-11-26 frica/ethiopia-abiy-troops-battlefront.html    Battle                                 By Declan Walsh                  TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/25/world/a Explosion Outside School Kills 8 in Somalias
2021-11-25   2021-11-26 frica/somalia-explosion-school-8-dead.html Capital                                      By Abdi Latif Dahir              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/world/a Leader Accused by Tennis Player Personified By Chris Buckley and Steven Lee
2021-11-25   2021-11-26 sia/china-peng-shuai-zhang-gaoli.html      Power in Beijing Elite                       Myers                            TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/25/world/a Pakistan Madrasa Taught the Leaders of
2021-11-25   2021-11-26 sia/pakistan-taliban-afghanistan-madrasa.html Afghanistans Taliban                     By Zia urRehman                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/world/a Whats Behind the Protests in the Solomon
2021-11-25   2021-11-26 sia/solomon-islands-riot.html                 Islands                                  By Yan Zhuang                     TX 9-117-906   2022-01-03



                                                                                Page 3051 of 5793
                        https://www.nytimes.com/2021/11/25/world/e Undeterred by Channels Perils Migrants Still By Constant Mheut and Norimitsu
2021-11-25   2021-11-26 urope/english-channel-migrant-crossings.html Plan to Cross                                Onishi                           TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/25/world/e Germanys New Leader Plans a Green              By Katrin Bennhold and Melissa
2021-11-25   2021-11-26 urope/germany-coalition-green.html           Overhaul if He Can Disable the Debt Brake Eddy                                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/25/world/e Rescuers Are Among Dozens Killed in Coal
2021-11-25   2021-11-26 urope/russia-mine-explosion.html             Mine Explosion in Russia                     By Ivan Nechepurenko             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/25/world/g Abuses Under Gambias ExRuler Should Be By Saikou Jammeh and Ruth
2021-11-25   2021-11-26 ambia-jammeh-prosecution.html                Prosecuted Panel Says                        Maclean                          TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/25/world/
2021-11-25   2021-11-26 macys-pikachu-parade-new-york-city.html      Day in the Life of a Balloon Handler         By George Gene Gustines          TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/25/world/v                                                By Lynsey Chutel Andrs R Martnez
2021-11-25   2021-11-26 ariant-south-africa-covid.html               South Africa Identifies New Variant of Virus and Mike Ives                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/26/health/t Texas Doctors Say Abortion Law
2021-11-26   2021-11-26 exas-abortion-law-risky-pregnancy.html       Complicates Risky Pregnancies                By Roni Caryn Rabin              TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/26/nyregio A Grieving Family Waits as Cases Go
2021-11-26   2021-11-26 n/nypd-murder-clearance-rate.html            Unsolved                                     By Ali Watkins                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/26/sports/s He Knows The Secret All of Soccer Wants to
2021-11-26   2021-11-26 occer/ballon-dor-messi-lewandowski.html      Hear No He Wont Tell                         By Rory Smith                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/interactive/2021/10/                                              By Catrin Einhorn Christopher
                        31/climate/climate-change-sustainability-    What Is a Carbon Footprint And 12 Other      Flavelle Hiroko Tabuchi Brad
2021-11-01   2021-11-27 definition.html                              Climate Buzzwords                            Plumer and Winston ChoiSchagrin TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/18/world/s Must This Swab Go That Far Up Your Nose By Livia AlbeckRipka and John
2021-11-18   2021-11-27 wab-test-covid.html                          to Test for Covid Probably                   Yoon                             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/article/world-cup- A Year Out Heres Who Is Already in the
2021-11-20   2021-11-27 2022-qualified-teams.html                    World Cup                                    By Rory Smith                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/22/us/nath Nathan Johnson Modernist Architect of
2021-11-22   2021-11-27 an-johnson-dead.html                         Detroits Black Churches Dies at 96           By Penelope Green                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/23/health/z Zena Stein 99 Researcher and Advocate of
2021-11-23   2021-11-27 ena-stein-dead.html                          Womens Health                                By Annabelle Williams            TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/23/travel/j Enslaved to a Founding Father She Sought
2021-11-23   2021-11-27 ohn-jay-paris-abigail-slavery.html           Freedom in Paris                             By Martha S Jones                TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/24/arts/mu
2021-11-24   2021-11-27 sic/mickey-guyton-grammy-nominations.html Mickey Guyton I Was Right                      By Joe Coscarelli                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/arts/mu
                        sic/grammy-nominations-taylor-swift-kanye- Big Names Benefit From Surprise Grammy
2021-11-25   2021-11-27 west.html                                  Change                                        By Ben Sisario and Joe Coscarelli   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/busines Car Key of the Future Ecological Fashionable
2021-11-25   2021-11-27 s/car-keys-fobs.html                       and Still Pocket Size                         By Stephen Williams                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/busines
2021-11-25   2021-11-27 s/rivian-r1t-truck-review.html             Rivians Electric Truck Is a Cutie and a Beast By Lawrence Ulrich                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/movies/
2021-11-25   2021-11-27 stephanie-beatriz-interview-encanto.html   Creating a Voice For Mirabel                  By Carlos Aguilar                   TX 9-117-906   2022-01-03




                                                                                 Page 3052 of 5793
                        https://www.nytimes.com/2021/11/25/opinion                                               By Brad Wilcox Hal Boyd and
2021-11-25   2021-11-27 /liberals-happiness-thanksgiving.html       How Liberals Can Be Happier                  Wendy Wang                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/arts/des
                        ign/sophie-taeuber-arp-review-moma-
2021-11-26   2021-11-27 dada.html                                   A Creativity Free to Wander                  By Jason Farago                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/arts/mu
2021-11-26   2021-11-27 sic/erin-morley-eurydice-met-opera.html     Savoring Her Moment at the Top               By Joshua Barone               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/26/busines
2021-11-26   2021-11-27 s/covid-variant-stock-market-oil-prices.html New Variant Of Virus Sends Stocks Down       By Eshe Nelson                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/busines Holiday Shopping Meets New and Old Buyer
2021-11-26   2021-11-27 s/holiday-shopping-stores.html               Habits                                       By Sapna Maheshwari           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/climate Interior Dept Report on Drilling Mostly Silent By Coral Davenport and Lisa
2021-11-26   2021-11-27 /climate-change-drilling-public-lands.html   on Climate Change                            Friedman                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/health/ Omicron Mutations May Allow A Quick
2021-11-26   2021-11-27 omicron-variant-vaccines.html                Spread WHO Says                              By Carl Zimmer                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/movies/
2021-11-26   2021-11-27 child-stars-belfast-king-richard.html        On Small Shoulders Rest Some Big Films       By Sarah Bahr                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/nyregio TruckDriving Republican Riding High in
2021-11-26   2021-11-27 n/edward-durr-new-jersey-republican.html     New Jersey                                   By Tracey Tully               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/opinion
                        /culture/mark-bittman-whole-wheat-           Your Sourdough Starter Can Be a Time
2021-11-26   2021-11-27 bread.html                                   Machine                                      By Mark Bittman               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/opinion
                        /touch-starvation-metaverse-virtual-         Were Longing for the One Thing the
2021-11-26   2021-11-27 worlds.html                                  Metaverse Cant Give Us                       By JoAnna Novak               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/opinion The Militarys Broken Culture Around Sexual
2021-11-26   2021-11-27 /us-military-sexual-violence-suicide.html    Violence and Suicide                         By Cyble C Greenberg          TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/26/science
2021-11-26   2021-11-27 /merck-molnupiravir-antiviral-covid-pill.html Merck Reports Lower Efficacy For Covid Pill By Rebecca Robbins            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/sports/n Quebec Has Fewer NHL Players Than
2021-11-26   2021-11-27 hl-quebec-players.html                        Sweden                                      By David M Shribman           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/sports/o
                        lympics/rio-olympics-nuzman-diack-            Official Who Brought 16 Games to Rio Gets
2021-11-26   2021-11-27 cabral.html                                   30 Years for Bribery                        By Tariq Panja                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/sports/s
                        occer/italy-portugal-world-cup-               European Champion Italy or Ronaldos
2021-11-26   2021-11-27 qualifying.html                               Portugal Will Miss World Cup                By Andrew Das                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/theater/
2021-11-26   2021-11-27 approval-junkie-faith-salie.html              Built Not Broken in Search for Affirmation By Naveen Kumar                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/theater/ Stephen Sondheim Broadway Genius Is Dead
2021-11-26   2021-11-27 stephen-sondheim-dead.html                    at 91                                       By Bruce Weber                TX 9-117-906   2022-01-03




                                                                                 Page 3053 of 5793
                        https://www.nytimes.com/2021/11/26/us/miss After Mediation Charge Against ExOfficer Is
2021-11-26   2021-11-27 ouri-officer-criminal-charge-dismissed.html Dropped                                       By Christine Chung                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/us/nj- Slain Woman Had Begged Apartment
2021-11-26   2021-11-27 lawsuit-apartment-locks.html                 Complex to Change Locks Lawsuit Claims       By Eduardo Medina                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/us/polit Sly Deceptions by FundRaisers As They
2021-11-26   2021-11-27 ics/email-political-fundraising-pitches.html Chase Clicks and Cash                        By Shane Goldmacher               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/us/polit                                               By Kate Kelly David D Kirkpatrick
2021-11-26   2021-11-27 ics/kushner-investment-middle-east.html      Kushner Chases Mideast Money                 and Alan Rappeport                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/world/a Deadly Clashes Erupt in Darfur as Sudans
2021-11-26   2021-11-27 frica/sudan-darfur-violence-protests.html    Crises Grow                                  By Abdi Latif Dahir               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/world/a
                        mericas/mexico-tiktok-journalist-            Surviving Heartache And Illness to Emerge
2021-11-26   2021-11-27 izquierdo.html                               As a TikTok Influencer                       By Oscar Lopez                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/world/a At Two Kolkata Shops Refills Of Caffeine
2021-11-26   2021-11-27 sia/india-kolkata-cafe-culture.html          and Camaraderie                              By Mujib Mashal                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/world/e New Variant Stirs Fears Of Setback Travel      By Richard PrezPea and Jason
2021-11-26   2021-11-27 urope/coronavirus-omicron-variant.html       Bans Rise                                    Horowitz                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/world/e
                        urope/france-uk-migrants-english-            Acrimony Between Britain and France Slows
2021-11-26   2021-11-27 channel.html                                 Progress on Channel Crossings                By Mark Landler                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/world/e Mine Disaster in Russia Highlights Safety
2021-11-26   2021-11-27 urope/mine-disaster-russia-safety.html       Defects                                      By Valerie Hopkins                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/world/
                        middleeast/iraq-migrants-belarus-border-     Iraqis Home From Belarus But EU Dream        By Yasmine Mosimann and Valerie
2021-11-26   2021-11-27 european-union.html                          Remains                                      Hopkins                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/your-
2021-11-26   2021-11-27 money/inflation-holiday-gifts.html           Dont Let Inflation Dim Giving                By Ron Lieber                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/sports/g
                        olf/brooks-koepka-bryson-dechambeau-the- No Blood Is Shed as Koepka Wins Grudge
2021-11-27   2021-11-27 match.html                                   Match With DeChambeau                        By Brendan Porath                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/theater/ A Natural Instinct for Words and for Puzzling
2021-11-27   2021-11-27 remembering-stephen-sondheim.html            Out Their Deeper Meanings                    By Jesse Green                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/theater/ In His Final Days Giving a Peek of a Last
2021-11-27   2021-11-27 stephen-sondheim-final-interview.html        Show                                         By Michael Paulson                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/nyregio Racism Isnt New Here Incidents in Schools
2021-11-27   2021-11-27 n/pittsford-racism.html                      Bring Pain to a Suburb                       By Jesse McKinley                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/world/a
                        sia/afghanistan-economy-collapse-            No Money No Food No Medicine Afghan
2021-11-27   2021-11-27 sanctions.html                               Economy Nears Collapse                       By Christina Goldbaum             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/09/14/books/r
2021-09-14   2021-11-28 eview/hurts-so-good-leigh-cowart.html        Happy Tears                                  By Benoit DenizetLewis            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/03/books/r
2021-10-03   2021-11-28 eview/miriam-toews-fight-night.html          Tragicomic Relief                            By Nadja Spiegelman               TX 9-117-906   2022-01-03




                                                                                Page 3054 of 5793
                        https://www.nytimes.com/2021/10/05/books/r
                        eview/kyla-schuller-the-trouble-with-white-
2021-10-05   2021-11-28 women-a-counterhistory-of-feminism.html        Some Womens Rights                       By Joan Morgan            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/05/books/r
                        eview/we-are-not-like-them-christine-pride-jo-
2021-10-05   2021-11-28 piazza.html                                    Best Friends Forever                     By Naima Coster           TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/12/books/r
2021-10-12   2021-11-28 eview/douglas-wolk-all-of-the-marvels.html Panel Discussions                            By Junot Daz              TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/12/books/r
2021-10-12   2021-11-28 eview/small-pleasures-clare-chambers.html Likely Story                                  By Virginia Feito         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/12/books/r
                        eview/those-we-throw-away-are-diamonds-
2021-10-12   2021-11-28 mondiant-dogon.html                        Horror and Hope                              By Michela Wrong          TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/10/14/books/r
2021-10-14   2021-11-28 eview/born-in-blackness-howard-french.html Quite Continental                             By Nigel Cliff           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/14/books/r
                        eview/now-comes-good-sailing-andrew-
2021-10-14   2021-11-28 blauner.html                                 Transcendence                               By John Kaag             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/19/books/r
                        eview/mark-mcgurl-everything-and-less-the-
2021-10-19   2021-11-28 novel-in-the-age-of-amazon.html              Prime Account                               By Leah Price            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/26/books/r
2021-10-26   2021-11-28 eview/the-deep-places-ross-douthat.html      Darkness Invisible                          By Sara Austin           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/28/books/r
                        eview/the-chancellor-angela-merkel-kati-
2021-10-28   2021-11-28 marton.html                                  Merkels Ascent                              By Jacob Heilbrunn       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/10/29/books/r
                        eview/dark-room-glitter-ball-city-david-
2021-10-29   2021-11-28 domine.html                                  Haunted House                               By Louis Lucero II       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/interactive/2021/11/ Dr Becky Doesnt Think the Goal of Parenting
2021-11-15   2021-11-28 15/magazine/dr-becky-interview.html          Is to Make Your Kid Happy                   By David Marchese        TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/16/books/r
2021-11-16   2021-11-28 eview/american-comics-jeremy-dauber.html Panel Discussions                              By Michael Tisserand      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/17/style/ch Far From Galilee a JosephandMary Sort of
2021-11-17   2021-11-28 aste-marriage-church.html                   Marriage                                    By Geoffrey Leavenworth   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/18/books/r
                        eview/the-pioneer-woman-cooks-super-easy- These Best Sellers Will Make Your Stomach
2021-11-18   2021-11-28 ree-drummond.html                           Growl                                       By Elisabeth Egan         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/magazi
2021-11-22   2021-11-28 ne/cdc-pandemic-prediction.html             Inside the CDCs Pandemic Weather Service    By Jeneen Interlandi      TX 9-117-906   2022-01-03




                                                                                  Page 3055 of 5793
                        https://www.nytimes.com/2021/11/22/magazi
2021-11-22   2021-11-28 ne/covid-progress.html                       Could Covid Lead to Progress                By Steven Johnson            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/opinion
2021-11-22   2021-11-28 /israel-arkansas-bds-pledge.html             Boycott Is an American Tradition            By Alan Leveritt             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/opinion                                               By Anne Helen Petersen and
2021-11-22   2021-11-28 /remote-work-gen-z.html                      Remote Invisible and Failing at Work        Charlie Warzel               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/22/realesta
                        te/long-island-city-afghanistan-zahra-       Hope and Empowerment on the Queens
2021-11-22   2021-11-28 sahebzada.html                               Waterfront                                  By DW Gibson                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/arts/tele
2021-11-23   2021-11-28 vision/jeff-goldblum.html                    Jeff Goldblum Explores Miller and Monk      By Kathryn Shattuck          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/arts/uns
2021-11-23   2021-11-28 olved-mystery-podcasts.html                  So Many Mysteries                           By Emma Dibdin               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/books/r
2021-11-23   2021-11-28 eview/follett-mccloskey-rosenstiel.html      Political Thrillers                         By Tobias Carroll            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/books/r
2021-11-23   2021-11-28 eview/mario-vargas-llosa-harsh-times.html    Despot Measures                             By Hari Kunzru               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/23/busines
2021-11-23   2021-11-28 s/dealbook/companies-politics-partisan.html Red Brands and Blue Brands                   By David Gelles              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/busines
                        s/dealbook/cryptocurrency-code-law-
2021-11-23   2021-11-28 technology.html                             The Challenge of Balancing Code and Law      By Ephrat Livni              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/busines
2021-11-23   2021-11-28 s/dealbook/farm-carbon-credits.html         Down on the Farm Carbon Credits              By Elizabeth G Dunn          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/busines
2021-11-23   2021-11-28 s/dealbook/four-day-workweek.html           Four Workdays Really                         By Kevin J Delaney           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/busines
2021-11-23   2021-11-28 s/dealbook/futurology-predictions.html      Revisiting Past Predictions                  By John Herrman              TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/23/busines
2021-11-23   2021-11-28 s/dealbook/insurance-companies-coal.html   Hatching a Plan to Take Down Coal             By Lauren Hirsch             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/busines
2021-11-23   2021-11-28 s/dealbook/living-longer-lives.html        As We Age What Should Change                  By Corinne Purtill           TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/23/busines
2021-11-23   2021-11-28 s/dealbook/sustainable-industry-climate.html A New Industrial Revolution                 By Patrick Sisson            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/busines
2021-11-23   2021-11-28 s/dealbook/women-college-economy.html        The New Couples Economy                     By Justin Wolfers            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/magazi The Design Legacy of Covid Its All Around
2021-11-23   2021-11-28 ne/covid-design-legacy.html                  You                                         By Rob Walker                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/magazi
2021-11-23   2021-11-28 ne/covid-lab-leak.html                       You Should Be Afraid of the Next Lab Leak   By Jon Gertner               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/magazi
2021-11-23   2021-11-28 ne/estranged-father.html                     Estrangement                                By Elisa Gonzalez            TX 9-117-906   2022-01-03



                                                                                Page 3056 of 5793
                        https://www.nytimes.com/2021/11/23/magazi What Should I Do With My Big Fat
2021-11-23   2021-11-28 ne/inheritance-ethics.html                   Inheritance                              By Kwame Anthony Appiah            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/magazi
2021-11-23   2021-11-28 ne/standing-yoga.html                        How to Stand                             By Jaime Lowe                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/magazi Vaping Is Risky Why Is the FDA Authorizing
2021-11-23   2021-11-28 ne/vaping-fda.html                           ECigarettes                              By Kim Tingley                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/opinion
2021-11-23   2021-11-28 /biden-reagan-approval.html                  Bidens Uncertain Future                  By Jamelle Bouie                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/opinion                                            By Farhad Manjoo Gus Wezerek
2021-11-23   2021-11-28 /move-to-texas.html                          Is Texas the New California              and Yaryna Serkez                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/realesta
                        te/why-an-npr-quiz-show-panelist-loves-her- Shell Tell You She Adores Our Messy
2021-11-23   2021-11-28 messy-apartment.html                         Apartment                                By Joanne Kaufman                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/interactive/2021/11/
                        22/nyregion/nyc-high-school-senior-          How One NYC Teen Navigated the Pandemic By Eliza Shapiro and Gabriela
2021-11-23   2021-11-28 covid.html                                   and Made It to Her Senior Year           Bhaskar                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/arts/mu
                        sic/accordion-repair-francisco-luis-
2021-11-24   2021-11-28 ramirez.html                                 He Will Heal Your Ailing Accordion       By Jordan Salama                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/arts/mu Margo Guryan Singer Whose Album Drew
2021-11-24   2021-11-28 sic/margo-guryan-dead.html                   Belated Acclaim Dies at 84               By Neil Genzlinger                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/books/r
2021-11-24   2021-11-28 eview/new-paperbacks.html                    Paperback Row                            By Miguel Salazar                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/books/r
                        eview/red-and-green-and-blue-and-white-lee-
2021-11-24   2021-11-28 wind-paul-zelinsky.html                      Not All Sweetness and Light              By Laurel Snyder                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/books/r
                        eview/shakespeare-cohere-natural-language-
2021-11-24   2021-11-28 processing.html                              The Shakespeare Algorithm                By Stephen Marche                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/books/r
                        eview/veera-hiranandani-how-to-find-what-
2021-11-24   2021-11-28 youre-not-looking-for.html                   Jewish Pride and Prejudice               By Marjorie Ingall                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/busines
                        s/jake-wood-team-rubicon-groundswell-
2021-11-24   2021-11-28 corner-office.html                           Long Journey to Being an Entrepreneur    By David Gelles                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/magazi
2021-11-24   2021-11-28 ne/blinkist-optimization-app.html            Short Cuts                               By Rosa Lyster                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/magazi
2021-11-24   2021-11-28 ne/covid-love-story-sockgate.html            Bonus Advice From Judge John Hodgman     By John Hodgman                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/magazi
2021-11-24   2021-11-28 ne/gene-synthesis.html                       The GeneSynthesis Revolution             By Yiren Lu                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/magazi How the 4 Trillion Flood of Covid Relief Is By Charley Locke and Christopher
2021-11-24   2021-11-28 ne/pandemic-aid.html                         Funding the Future                       Payne                              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/magazi Making Fresh Cheese at Home Is Worth It
2021-11-24   2021-11-28 ne/paneer-fresh-cheese-recipe.html           This Recipe Proves It                    By Tejal Rao                       TX 9-117-906   2022-01-03



                                                                               Page 3057 of 5793
                        https://www.nytimes.com/2021/11/24/magazi
                        ne/poem-buried-abecedary-for-intensive-                                                 By Laura Kolbe and Reginald
2021-11-24   2021-11-28 care.html                                   Poem Buried Abecedary for Intensive Care    Dwayne Betts                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/opinion
2021-11-24   2021-11-28 /organ-transplant.html                      Who Deserves a Lifesaving Organ             By Daniela J Lamas            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/opinion
2021-11-24   2021-11-28 /poor-dad-rich-kids.html                    Rich Kids Poor Dad                          By Esau McCaulley             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/opinion
2021-11-24   2021-11-28 /thanksgiving-family-forgiveness.html       Please Pass the Forgiveness                 By Kelly Corrigan             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/realesta
                        te/home-prices-illinois-pennsylvania-       900000 Homes in Illinois Pennsylvania and
2021-11-24   2021-11-28 colorado.html                               Colorado                                    By Angela Serratore           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/realesta
                        te/house-hunting-in-brazil-a-19th-century-  Balconies With Views In an Old Coastal
2021-11-24   2021-11-28 house-on-the-coast.html                     Town                                        By Alison Gregor              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/style/ya
2021-11-24   2021-11-28 ssify-bot-meme.html                         Some Clarity on Meaning of Yassify          By Shane ONeill               TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/24/theater/
2021-11-24   2021-11-28 mrs-doubtfire-wayne-karey-kirkpatrick.html Mrs Doubtfire Gets a Makeover                By Rebecca J Ritzel           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/theater/
                        natalie-mendoza-moulin-rouge-                Moulin Rouge Has a New Satine With
2021-11-24   2021-11-28 broadway.html                                History                                    By Michael Paulson            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/arts/dan
2021-11-25   2021-11-28 ce/ballroom-culture-in-colombia.html         Ballroom Takes Root in Colombia            By Genevieve Glatsky          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/arts/dan Kariamu Welsh 72 Who Used Dance To Tell
2021-11-25   2021-11-28 ce/kariamu-welsh-dead.html                   Stories About Black Experience             By Penelope Green             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/arts/des
2021-11-25   2021-11-28 ign/turner-prize.html                        Nothing Provokes Like a Turner Prize       By Elizabeth Fullerton        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/fashion
2021-11-25   2021-11-28 /holiday-windows-new-york-shopping.html Holiday Windows Return Shoppers Do Too          By Katie Van Syckle           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/needies
                        t-cases/scrambling-to-keep-up-with-the-      Scrambling to Keep Up With the Rent Amid
2021-11-25   2021-11-28 rent.html                                    Crises                                     By Kristen Bayrakdarian       TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/realesta
                        te/brooklyn-is-the-capital-of-new-yorks-
2021-11-25   2021-11-28 sellers-market.html                          Little Wiggle Room for Buyers              By Michael Kolomatsky         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/realesta
                        te/readington-nj-a-farm-community-intent-on-
2021-11-25   2021-11-28 preserving-its-charm.html                    Bucolic and Determined to Stay That Way    By Jill P Capuzzo             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/sports/f Divisions Tighten When Any Given Sunday
2021-11-25   2021-11-28 ootball/nfl-week-12-picks.html               Is Every Sunday                            By Emmanuel Morgan            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/25/style/bl
2021-11-25   2021-11-28 ack-identity-social-qs.html                  Racism With a Shrug                        By Philip Galanes             TX 9-117-906   2022-01-03




                                                                                Page 3058 of 5793
                        https://www.nytimes.com/2021/11/25/style/ve
2021-11-25   2021-11-28 rsace-13-going-on-30-dress.html              How This Versace Dress Got New Life           By Jessica Testa               TX 9-117-906   2022-01-03
                                                                     Tired of the East Coast They Followed Their
                        https://www.nytimes.com/interactive/2021/11/ Hearts to Los Angeles But Where Would
2021-11-25   2021-11-28 25/realestate/25hunt-patel.html              They End Up Living                            By Candace Jackson             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/arts/mu The Exalted Rollicking Music of a Bumpy
2021-11-26   2021-11-28 sic/classical-music-malcolm-arnold.html      Life                                          By Hugh Morris                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/arts/tele
                        vision/its-always-sunny-in-philadelphia-rob-
2021-11-26   2021-11-28 mcelhenney.html                              Its Always Sunny With Rob McElhenney          By Ashley Spencer              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/arts/tele
                        vision/its-always-sunny-in-philadelphia-top-
2021-11-26   2021-11-28 episodes.html                                Episodes to Check Out                         By Austin Considine            TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/26/busines
2021-11-26   2021-11-28 s/hanukkah-fails-holiday-gifts-christmas.html Its Beginning to Look a Lot Like Hanukkah By Emma Goldberg                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/busines Their Holiday Parties Are Just Getting         By Julia Rothman and Shaina
2021-11-26   2021-11-28 s/holiday-parties.html                        Restarted                                   Feinberg                        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/movies/
2021-11-26   2021-11-28 flee-movie-jonas-poher-rasmussen.html         A Refugees Story Through Animation          By Lisa Abend                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/nyregio Manhattans OldSchool Places See New
2021-11-26   2021-11-28 n/bemelmans-rainbow-room-revival.html         Crowds                                      By Alyson Krueger               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/nyregio
2021-11-26   2021-11-28 n/secondhand-stores-nyc.html                  In Pursuit of Old Friends and Tchotchkes    By Paige Darrah                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/realesta
2021-11-26   2021-11-28 te/how-to-build-a-terrarium.html              Its Time To Work Inside                     By Margaret Roach               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/realesta The Penthouse That Keeps Breaking Records
2021-11-26   2021-11-28 te/top-nyc-real-estate-sales.html             in SoHo                                     By Vivian Marino                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/sports/f In a Sport Built on Machismo Players Start to
2021-11-26   2021-11-28 ootball/nfl-mental-health.html                Open Up                                     By Anna Katherine Clemmons      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/sports/o In IOCs Quiet Diplomacy Many See              By Tariq Panja and Steven Lee
2021-11-26   2021-11-28 lympics/olympics-china-peng-shuai.html        Whitewash of Chinas Actions                 Myers                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/sports/s
2021-11-26   2021-11-28 occer/manchester-united-manager.html          How Much Does a Manager Matter              By Rory Smith                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/style/aa
2021-11-26   2021-11-28 stha-wadhwa-neil-chitrao-wedding.html         Getting It Right the Second Time Around     By Emma Grillo                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/style/ad
2021-11-26   2021-11-28 am-dalva-alana-salguero-wedding.html          Their First Date Was 14 Years in the Making By Kristen Bayrakdarian         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/style/be
2021-11-26   2021-11-28 cky-headen-tony-hernandez-wedding.html        She Fell for the Art Then for the Artist    By Vincent M Mallozzi           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/style/br
2021-11-26   2021-11-28 andon-kyle-goodman-big-mouth.html             Big Mouth Voice Pinches Himself             By Brianna Holt                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/style/ca
                        rissa-schumacher-flamingo-estate-los-         She Found the Voice She Had Been Waiting
2021-11-26   2021-11-28 angeles.html                                  For                                         By Irina Aleksander             TX 9-117-906   2022-01-03



                                                                                 Page 3059 of 5793
                        https://www.nytimes.com/2021/11/26/style/ga
                        la-american-natural-history-museum-wnyc-
2021-11-26   2021-11-28 radiolab.html                               Whale Watching                               By Denny Lee                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/style/ho
2021-11-26   2021-11-28 lly-lorka-melissa-shields-wedding.html      Everything Clicked With or Without Furniture By Jenny Block                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/style/m
                        odern-love-salmon-miscarriage-heels-skinny- Swimming Upstream in Heels and Skinny
2021-11-26   2021-11-28 pants.html                                  Pants                                        By Rachel Stevens               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/style/ne A Proposal Conducted Without Exclamation
2021-11-26   2021-11-28 al-kassell-meredith-woo-wedding.html        Points                                       By Vincent M Mallozzi           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/style/w
                        alter-smith-randolph-leanne-armstead-       For Investigative Editor a Foregone
2021-11-26   2021-11-28 wedding.html                                Conclusion                                   By Nina Reyes                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/us/brad Popular Suburban Tree Has Become an
2021-11-26   2021-11-28 ford-pear-tree-south-carolina.html          Unstoppable Menace                           By Rick Rojas                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/world/a Jakucho Setouchi 99 Buddhist Priest Who
2021-11-26   2021-11-28 sia/jakucho-setouchi-dead.html              Wrote About Sex and Love Dies                By Motoko Rich and Makiko Inoue TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/26/world/ Police in Iran Clamp Down On Protests Over
2021-11-27   2021-11-28 middleeast/iran-protests-water-shortages.html Scarcity                                   By Farnaz Fassihi             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/27/arts/des
2021-11-27   2021-11-28 ign/alice-waters-hammer-museum.html           Restauratrice Brings Her Art To the Museum By Adam Nagourney             TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/27/busines
2021-11-27   2021-11-28 s/dealbook/future-society-demographics.html Waking Up in 2041                            By Andrew Ross Sorkin         TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/27/busines
                        s/economy/inflation-nc-furniture-
2021-11-27   2021-11-28 shortage.html                               Shipping Snarl Energizes a US Furniture Hub By Jeanna Smialek              TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/27/health/c Nursing Homes Lagging In the Rollout of
2021-11-27   2021-11-28 ovid-nursing-home-booster.html              Boosters                                     By Reed Abelson               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/27/health/ A Cure for Severe Diabetes For an Ohio
2021-11-27   2021-11-28 diabetes-cure-stem-cells.html               Patient It Worked                            By Gina Kolata                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/27/opinion
2021-11-27   2021-11-28 /republicans-trump.html                     Republicans Have a Golden Opportunity        By Ross Douthat               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/27/opinion
2021-11-27   2021-11-28 /roe-abortion-dobbs-scotus.html             To Protect Abortion Rights Turn to Elections By The Editorial Board        TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/27/realesta
                        te/residential-building-commercial-units-   A Business Operating in My Building Makes
2021-11-27   2021-11-28 unsafe.html                                 Me Feel Unsafe What Can I Do                 By Ronda Kaysen               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/27/sports/b Mets Bolster Their Offense By Signing Three
2021-11-27   2021-11-28 aseball/starling-marte-mets.html            Free Agents                                  By Tyler Kepner               TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/27/sports/n Michigan Knocks Ohio State From
2021-11-27   2021-11-28 caafootball/michigan-ohio-state-score.html  Contention                                  By Alan Blinder                TX 9-117-906     2022-01-03




                                                                                Page 3060 of 5793
                        https://www.nytimes.com/2021/11/27/style/an
2021-11-27   2021-11-28 ti-vaccine-deaths-social-media.html         Draping the Dead With Their Scorn           By Dan Levin                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/style/fa
2021-11-27   2021-11-28 ke-food-is-trendy-again.html                An Appetite for Inedible Delights           By Emma Grillo                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/style/gr
2021-11-27   2021-11-28 owing-old-in-high-style.html                Wellness Resort No Luxury Senior Living     By Steven Kurutz                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/theater/ Impromptu Sondheim Wakes Fill Piano Bars
2021-11-27   2021-11-28 stephen-sondheim-piano-bars-wakes.html      With Tears and Tunes                        By Elisabeth Vincentelli         TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/us/austi
2021-11-27   2021-11-28 n-texas-unaffordable-city.html              Coveted City Of Austin Is Getting Expensive By Edgar Sandoval                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/us/kevi 13 Million Raised to Help Exonerated Man in By Christine Chung and Claire
2021-11-27   2021-11-28 n-strickland-exonerated-fundraiser.html     Missouri                                    Fahy                             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/us/min
2021-11-27   2021-11-28 neapolis-school-integration.html            Minneapolis Integration Is a TwoWay Street By Sarah Mervosh                  TX 9-117-906   2022-01-03
                                                                                                                By Lisa Lerer Astead W Herndon
                        https://www.nytimes.com/2021/11/27/us/polit Democrats Struggle to Energize Their Base Nick Corasaniti and Jennifer
2021-11-27   2021-11-28 ics/biden-base-weakening-support.html       for Midterms as Frustrations Mount          Medina                           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/us/polit The Disconnect Between Bidens Popular
2021-11-27   2021-11-28 ics/biden-policies-approval-ratings.html    Policies and His Ratings                    By Nate Cohn                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/world/a African Nations Bitterly Rebuke New Travel By Benjamin Mueller and Declan
2021-11-27   2021-11-28 frica/coronavirus-omicron-africa.html       Bans                                        Walsh                            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/world/a ExPresident Tries a Comeback Can He Bring
2021-11-27   2021-11-28 mericas/brazil-president-lula.html          Brazil Along                                By Ernesto Londoo                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/world/a 3 Burned Bodies Found In Solomon Islands
2021-11-27   2021-11-28 sia/solomon-islands-protests-bodies.html    Riots                                       By Yan Zhuang                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/world/e A Tale of Culinary Reconciliation Beside the
2021-11-27   2021-11-28 urope/admo-ducasse-adria-paris.html         Eiffel Tower                                By Roger Cohen                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/world/                                               By Farnaz Fassihi and Ronen
2021-11-27   2021-11-28 middleeast/iran-israel-cyber-hack.html      Israel and Iran Widen Targets In a Cyberwar Bergman                          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/world/ Twice They Gave Up All to Flee Iraq Only to
2021-11-27   2021-11-28 middleeast/iraqi-kurd-migration.html        Be Deported                                 By Jane Arraf                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/busines
                        s/the-week-in-business-federal-reserve-     The Week in Business Choosing the Same
2021-11-28   2021-11-28 chair.html                                  Path                                        By Gray Beltran                  TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/busines
2021-11-28   2021-11-28 s/uk-trucking-shortage-poland.html          PostBrexit LatePandemic Britain No Thanks By David Segal                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/12/06/technol
2021-11-28   2021-11-28 ogy/uber-spying-allegations.html            What Ubers Spies Really Did                 By Kate Conger                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/03/travel/j
2021-11-03   2021-11-29 ura-wine-climate-change.html                Climate Change Embitters a French Region By Ceylan Yeginsu                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/arts/bo Bonnie Sherk 76 Artist and Landscape
2021-11-19   2021-11-29 nnie-sherk-dead.html                        Architect Who Was Full of Surprises         By Neil Genzlinger               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/books/a
2021-11-23   2021-11-29 nomaly-herve-le-tellier.html                The Novel That Riveted France               By Roger Cohen                   TX 9-117-906   2022-01-03




                                                                               Page 3061 of 5793
                        https://www.nytimes.com/2021/11/24/arts/des
2021-11-24   2021-11-29 ign/technoshamanism-hmkv-germany.html       Where the Shamans Use Smartphones         By Josie ThaddeusJohns     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/busines Wall Street Warms Up Grudgingly to Remote
2021-11-24   2021-11-29 s/wall-street-remote-work-banks.html        Work                                      By Lananh Nguyen           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/technol Mission to Fix the Governments
2021-11-24   2021-11-29 ogy/government-tech.html                    Dysfunctional Technology                  By Shira Ovide             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/technol
                        ogy/pinterest-whistle-blower-ifeoma-        Tech Activist Helps Others Sound Alarm On
2021-11-24   2021-11-29 ozoma.html                                  Employers                                 By Erin Woo                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/theater/
2021-11-24   2021-11-29 domhnall-gleeson-medicine.html              An Entertainer Even Off Stage             By Laura CollinsHughes     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/travel/n In Buffalo Waiting and Waiting for the
2021-11-24   2021-11-29 ew-york-canada-tourism.html                 Canadians                                 By Jeff Z Klein            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/opinion
2021-11-26   2021-11-29 /democrats-aoc-build-back-better.html       Another Democrat to Be Mad At             By Greg Weiner             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/26/us/polit                                           By Erin Schaff and Carol
2021-11-26   2021-11-29 ics/guantanamo-bay.html                     Guantnamo Bay Beyond the Prison           Rosenberg                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/27/opinion 3 Questions We Must Answer About the
2021-11-27   2021-11-29 /omicron-variant-questions-coronavirus.html Omicron Variant                             By Ashish Jha            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/opinion
2021-11-27   2021-11-29 /space-tourism-awe.html                      Space Tourists Wont Find the Awe They Seek By Henry Wismayer        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/theater/
                        where-to-stream-stephen-sondheim-
2021-11-27   2021-11-29 works.html                                   Encounter the World Sondheim Occupied      By Alexis Soloski        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/world/ Desperate Journey Ends Couples Dream in
2021-11-27   2021-11-29 middleeast/migrants-kurdish-channel.html     Tragedy                                    By Jane Arraf            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/world/e Laszlo Z Bito 87 Scientist Novelist and
2021-11-28   2021-11-29 urope/laszlo-z-bito-dead.html                Philanthropist                             By Sheryl Gay Stolberg   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/arts/art-
                        basel-african-marcellina-akpojotor-sungi-
2021-11-28   2021-11-29 mlengeya.html                                Two different styles but the same spirit   By Ginanne Brownell      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/arts/art-
2021-11-28   2021-11-29 basel-miami-beach-textiles-craft.html        Weaving different threads of art           By Ginanne Brownell      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/arts/art-
2021-11-28   2021-11-29 basel-miami-beach.html                       A fair meets a pentup demand               By Ted Loos              TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/28/arts/art-
2021-11-28   2021-11-29 fairs-preselling-art-basel-miami-beach.html Ready to buy at the fair Not so fast        By Ted Loos              TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/28/arts/arti
2021-11-28   2021-11-29 st-maryan-retrospective-art-basel-miami.html Once reborn now rediscovered                 By Hilarie M Sheets    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/arts/bo
2021-11-28   2021-11-29 gota-galleries-art-basel.html                For Bogot galleries Art Basel means business By Ray Mark Rinaldi    TX 9-117-906   2022-01-03




                                                                                  Page 3062 of 5793
                        https://www.nytimes.com/2021/11/28/arts/dav
2021-11-28   2021-11-29 id-shrigley-worms.html                       Can art be silly Yes indeed                 By Farah Nayeri                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/arts/des
2021-11-28   2021-11-29 ign/ireland-museum-closing.html              A Focus on Ireland Is Found Untenable       By Colin Moynihan               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/arts/frid
                        a-kahlo-diego-rivera-machu-picchu-
2021-11-28   2021-11-29 exhibition.html                              Frida Kahlo Diego Rivera and ancient Peru   By Joseph B Treaster            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/arts/ma
2021-11-28   2021-11-29 gali-arriola-mexico-art-basel.html           Making room for big ideas and big art       By Ray Mark Rinaldi             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/arts/mu
2021-11-28   2021-11-29 barak-al-malik-qatar-miami.html              On a wall in Miami a face of Qatar          By David Belcher                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/arts/mu
2021-11-28   2021-11-29 sic/stephen-sondheim-music.html              A Master at Solving The Puzzle of Music     By Anthony Tommasini            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/arts/wa
2021-11-28   2021-11-29 va-carpenter-design-miami.html               The storyteller of Design Miami             By Rachel Felder                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/arts/we If you linger around Palm Beach and Boca
2021-11-28   2021-11-29 st-palm-beach-boca-raton-activities.html     Raton                                       By Joseph B Treaster            TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/28/busines
2021-11-28   2021-11-29 s/media/build-back-better-local-news.html   Local News Could Reap Federal Aid         By Marc Tracy                      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/health/c Racing to Assess How Shots Work Vs New
2021-11-28   2021-11-29 ovid-omicron-vaccines-immunity.html         Variant                                   By Apoorva Mandavilli              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/movies/ Despite an Array of New Films Moviegoers
2021-11-28   2021-11-29 encanto-box-office.html                     Are Tough to Find                         By Brooks Barnes                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/movies/ When Is a Horror Movie Not Really a Horror
2021-11-28   2021-11-29 the-humans-horror-movies.html               Movie                                     By Erik Piepenburg                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/obituari Sylvia Weinstock 91 Whose Wedding Cakes
2021-11-28   2021-11-29 es/sylvia-weinstock-dead.html               Hit New Heights Dies                      By Katharine Q Seelye              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/opinion You Can Make Any Day The Best Day Of
2021-11-28   2021-11-29 /happiness-memory-best-days.html            the Year                                  By Lindsay Crouse                  TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/28/sports/f
2021-11-28   2021-11-29 ootball/giants-eagles-jets-texans-score.html Winning Margins if Not on Style Points     By Devin Gordon and Diante Lee   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/sports/k A Writers Journey With a Runner Who
2021-11-28   2021-11-29 u-stevens-nevada.html                        Honors Others Hard Miles                   By Talya Minsberg                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/sports/n
                        caafootball/alabama-auburn-iron-bowl-        Offense Loses Its Way But Tide Stay on
2021-11-28   2021-11-29 overtime.html                                Track                                      By Alanis Thames                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/sports/s
2021-11-28   2021-11-29 kiing/mikaela-shiffrin-slalom-vlhova.html    Matching A Record Spurred By a Rival       By Bill Pennington               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/style/vi Virgil Abloh 41 Designer Who Broke Barriers
2021-11-28   2021-11-29 rgil-abloh-dead.html                         Dies                                       By Vanessa Friedman              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/theater/
2021-11-28   2021-11-29 kiki-and-herb-christmas-show.html            No RunoftheMill Cabaret Duo                By Alexis Soloski                TX 9-117-906   2022-01-03




                                                                                 Page 3063 of 5793
                        https://www.nytimes.com/2021/11/28/us/dom A TearStreaked Face and a Scramble to Help
2021-11-28   2021-11-29 estic-violence-law-enforcement.html         in Maine                                  By Ellen Barry                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/28/us/infra When US Builds Big Costs and Timelines
2021-11-28   2021-11-29 structure-megaprojects.html                 Swell                                     By Ralph Vartabedian              TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/28/us/phil- Phil Saviano Survivor Who Exposed Clergy
2021-11-28   2021-11-29 saviano-dead.html                           Sex Abuse in Boston Dies at 69            By Katharine Q Seelye             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/28/us/polit Biden Explores Talks as China Builds      By David E Sanger and William J
2021-11-28   2021-11-29 ics/china-nuclear-arms-race.html            Arsenal                                   Broad                             TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/28/us/polit Esper Sues Defense Dept Over Memoir
2021-11-28   2021-11-29 ics/mark-esper-memoir-lawsuit.html          Redactions                                By Maggie Haberman                TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/28/us/polit
                        ics/supreme-court-mississippi-abortion-     Abortion Dividing Line Of Fetal Viability
2021-11-28   2021-11-29 law.html                                    Faces A Supreme Court Test                By Adam Liptak                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/28/us/stow Man Survives MiamiGuatemala City Flight in
2021-11-28   2021-11-29 away-miami-guatemala.html                   Planes Wheel Well Defying Odds            By Azi Paybarah                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/28/us/wrig Ohio City Prepares to Raze Building That
2021-11-28   2021-11-29 ht-brothers-bike-shop-demolish.html         Housed a Wright Brothers Bicycle Shop     By Eduardo Medina                 TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/28/world/a As US Hunts For China Spies Scientists
2021-11-28   2021-11-29 sia/china-university-spies.html             Recoil                                    By Amy Qin                        TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/28/world/e As Supply Shortages Plague Britain Wine
2021-11-28   2021-11-29 urope/uk-supply-shortages.html              Merchants Take to the Rails               By Stephen Castle and Jenny Gross TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/28/world/e At Gyms London Women Fuel SelfDefense
2021-11-28   2021-11-29 urope/uk-women-self-defense.html            Revival                                   By Isabella Kwai                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/28/world/
                        middleeast/israel-morocco-travel-bans-      In Response to Omicron Variant Morocco
2021-11-28   2021-11-29 omicron.html                                Joins Israel in Banning Travelers         By Isabel Kershner                TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/28/busines
2021-11-29   2021-11-29 s/media-misinformation-disinformation.html New Words To Label The Truth                  By Ben Smith                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/sports/f
2021-11-29   2021-11-29 ootball/nfl-week-12.html                     What We Learned This Week                   By Tyler Dunne                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/sports/f New England Returns to Business As Usual
2021-11-29   2021-11-29 ootball/patriots-titans-score.html           Leading the AFC East                        By Ben Shpigel                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/sports/p Rodgers and the Packers Use Familiar Hands
2021-11-29   2021-11-29 ackers-rams-score-nfl-week-12.html           to Best the NewLook Rams                    By Ken Belson                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/29/arts/tele
                        vision/whats-on-tv-this-week-willy-wonka-
2021-11-29   2021-11-29 and-a-west-side-story-special.html           This Week on TV                             By Geordon Wollner               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/29/busines
2021-11-29   2021-11-29 s/radwood-cars.html                          A Car Shows Time Warp to the 80s and 90s    By Mercedes Lilienthal           TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/29/insider/
2021-11-29   2021-11-29 tracing-the-trail-of-amazon-deforestation.html Tracing the Leather Supply Chain          By Sarah Bahr                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/29/nyregio As Maxwells Sex Trafficking Trial Begins      By Benjamin Weiser and Rebecca
2021-11-29   2021-11-29 n/ghislaine-maxwell-trial.html                 Epsteins Shadow Looms Large               Davis OBrien                     TX 9-117-906   2022-01-03



                                                                                Page 3064 of 5793
                        https://www.nytimes.com/2021/11/29/nyregio New Yorks Ambitious Clean Energy Plans          By Anne Barnard and Grace
2021-11-29   2021-11-29 n/hochul-electrical-grid-climate-change.html Face Headwinds                                Ashford                     TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/08/busines
2021-11-08   2021-11-30 s/e-bikes-urban-transit.html                 An Electric Revolution Its All About the Bike By John Surico              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/12/arts/des
2021-11-12   2021-11-30 ign/badiucao-brescia-china.html              A Show Goes On Despite Chinas Efforts         By Elisabetta Povoledo      TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/science Testosterone Gives Frogs Legs a Kick Its a
2021-11-19   2021-11-30 /frog-kick-testosterone.html                 Sign                                          By Sabrina Imbler           TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/19/well/fa
2021-11-19   2021-11-30 mily/cannabis-pregnancy-behavior.html        Cannabis Pregnancy And Anxious Children By Melinda Wenner Moyer           TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/20/science LongRunning Legume The Chickpeas in Your
2021-11-20   2021-11-30 /chickpea-breeding-climate-change.html      Hummus Got Their Start 10000 Years Ago     By Veronique Greenwood          TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/science
                        /hubble-telescope-jupiter-saturn-uranus-
2021-11-23   2021-11-30 neptune.html                                Checking In With the Suns Gas Giants       By Dennis Overbye               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/science Scientists See Microbes and Envision
2021-11-23   2021-11-30 /microbes-construction-bacteria.html        Building Blocks                            By Sabrina Imbler               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/23/well/fa
                        mily/death-of-a-child-parents-heart-attack-
2021-11-23   2021-11-30 risk.html                                   Tragedy Takes a Toll on the Heart          By Nicholas Bakalar             TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/science
2021-11-24   2021-11-30 /nasa-dart-mission-asteroid.html            To Deflect and Preserve                    By Joey Roulette                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/24/well/m
2021-11-24   2021-11-30 ove/exercise-appetite-weight.html           Does Exercise Affect Your Appetite         By Gretchen Reynolds            TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/health/c
2021-11-27   2021-11-30 oronavirus-nursing-homes.html               Restrictions Are Lifted But Worries Remain By Paula Span                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/27/science Shifting Waters This Ocean Invaded Its
2021-11-27   2021-11-30 /arctic-ocean-atlantification.html          Neighbor Earlier Than Anyone Thought       By Sabrina Imbler               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/opinion
2021-11-28   2021-11-30 /covid-omicron-travel-ban-testing.html      The US Cant Be Timid on Omicron            By Zeynep Tufekci               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/science Burning Appetite A FireLoving Fungus Eats
2021-11-28   2021-11-30 /fungus-wildfire-charcoal.html              Charcoal if It Must                        By Ellie Shechet                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/theater/
2021-11-28   2021-11-30 jennifer-nettles-waitress-broadway.html     Sing It Act It Cry It Scream It            By Elisabeth Vincentelli        TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/theater/
2021-11-28   2021-11-30 stephen-sondheim-songs.html                 Send in the Tunes 20 of Sondheims Best     By Eric Grode                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/world/e A French Dictionary Added a Nonbinary       By Roger Cohen and Lontine
2021-11-28   2021-11-30 urope/france-nonbinary-pronoun.html         Pronoun Havoc Ensued                       Gallois                         TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/29/world/a Omicron Variant Threatens Air Travel
2021-11-28   2021-11-30 mericas/airlines-covid-omicron-variant.html Rebound                                      By Niraj Chokshi              TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/28/obituari Carrie P Meek 95 Florida Congresswoman
2021-11-29   2021-11-30 es/carrie-p-meek-dead.html                  Who Broke Racial Barrier                     By David Stout                TX 9-117-906   2022-01-03



                                                                                 Page 3065 of 5793
                        https://www.nytimes.com/2021/11/29/arts/dan
                        ce/nutcracker-asian-stereotypes-
2021-11-29   2021-11-30 rethinking.html                              In Nutcracker a Battle Against Stereotypes   By Javier C Hernndez            TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/29/arts/mu Adele Sets Sales on Fire With Her Latest
2021-11-29   2021-11-30 sic/adele-30-billboard-chart.html            Release                                      By Ben Sisario                  TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/29/arts/mu
2021-11-29   2021-11-30 sic/adele-summer-walker.html                 Romantic Discontent On the Album Chart       By Jon Caramanica               TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/29/arts/tele Justices Asked to Toss Ruling That Freed
2021-11-29   2021-11-30 vision/bill-cosby-supreme-court.html         Cosby                                        By Graham Bowley                TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/29/arts/tele Actor Faked Attack After Real Threat
2021-11-29   2021-11-30 vision/jussie-smollett-trial.html            Prosecutor Says                              By Julia Jacobs and Mark Guarino TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/29/arts/zes
2021-11-29   2021-11-30 tword-comic-books-alexis-ohanian.html        A New Platform For Comic Books               By George Gene Gustines         TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/29/books/r
                        eview-looking-for-good-war-elizabeth-
2021-11-29   2021-11-30 samet.html                                   The War We Revere A Little Too Much          By Jennifer Szalai              TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/29/busines Labor Office Voids Amazon Union Vote Over
2021-11-29   2021-11-30 s/amazon-bessemer-alabama-election.html     Unfair Setup                               By Noam Scheiber                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/29/busines White House Says Stores Will Be Stocked for By Jim Tankersley and Ana
2021-11-29   2021-11-30 s/biden-supply-chain-shortages.html         Holidays                                   Swanson                           TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/29/busines
2021-11-29   2021-11-30 s/economy/supply-chain-inflation.html       Made in the USA With a SupplyChain Reboot By Nelson D Schwartz               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/29/busines Moviegoers Are Still Missing Some Might
2021-11-29   2021-11-30 s/movie-theater-attendance.html             Never Go Back Study Says                   By Brooks Barnes                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/29/busines
2021-11-29   2021-11-30 s/nuclear-power-europe-climate.html         In Europe A New Push For Nuclear           By Liz Alderman and Stanley Reed TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/29/busines
2021-11-29   2021-11-30 s/omicron-stock-market.html                 Markets Will Again Hang on Virus News      By Matt Phillips                  TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/29/fashion Adolfo 98 Who Designed Dresses for a First
2021-11-29   2021-11-30 /adolfo-dead.html                           Lady and New Yorks Elite Dies              By Enid Nemy                      TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/29/health/c
2021-11-29   2021-11-30 ells-bar-coding-cancer.html                 Solving a Mystery With Cell Bar Codes      By Gina Kolata                    TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/29/health/c As Antiviral Pills Arrive Can Testing Keep
2021-11-29   2021-11-30 ovid-pill.html                              Up                                         By Emily Anthes                   TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/29/nyregio                                             By Nicholas Fandos Michael Gold
                        n/chris-cuomo-andrew-cuomo-sexual-                                                     Grace Ashford and Dana
2021-11-29   2021-11-30 harassment.html                             Brother Played Big Role in Defending Cuomo Rubinstein                        TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/29/nyregio Maxwells Trial Gets Underway With Epstein By Benjamin Weiser and Rebecca
2021-11-29   2021-11-30 n/ghislaine-maxwell-trial-epstein.html      at Its Center                              Davis OBrien                      TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/29/nyregio Suozzi Set to Risk It All In NY Governors   By Katie Glueck and Nicholas
2021-11-29   2021-11-30 n/tom-suozzi-governor-ny.html               Race                                       Fandos                            TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/29/opinion
2021-11-29   2021-11-30 /omicron-variant-covid.html                 Just When We Thought It Was Safe           By Gail Collins and Bret Stephens TX 9-117-906     2022-01-03




                                                                                  Page 3066 of 5793
                        https://www.nytimes.com/2021/11/29/sports/b Mets to Add Scherzer In a ThreeYear Deal
2021-11-29   2021-11-30 aseball/max-scherzer-mets.html              With a Record Salary                           By James Wagner               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/29/sports/b With All of This Early OffSeason Spending
2021-11-29   2021-11-30 aseball/wander-franco-lockout.html          Youd Think All Is Well                         By Tyler Kepner               TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/29/sports/g Lee Elder 87 First Black Golfer To Play in the
2021-11-29   2021-11-30 olf/lee-elder-dead.html                     Masters Is Dead                                By Richard Goldstein          TX 9-117-906     2022-01-03
                        https://www.nytimes.com/2021/11/29/sports/g Woods Rules Out Making FullTime Return to
2021-11-29   2021-11-30 olf/tiger-woods-pga-tour.html               the PGA Tour                                   By Bill Pennington            TX 9-117-906     2022-01-03

                        https://www.nytimes.com/2021/11/29/sports/n In Hiring Riley USC Reflects the Quest for
2021-11-29   2021-11-30 caafootball/usc-lincoln-riley-oklahoma.html Saviors                                    By Alan Blinder                  TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/29/sports/p Is an Award for Climbers An Invitation to
2021-11-29   2021-11-30 iolet-dor-climbing.html                     Danger                                     By Michael Levy                  TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/29/sports/s Messi Wins Ballon dOr for the Seventh Time
2021-11-29   2021-11-30 occer/messi-ballon-dor-lewandowski.html     Putellas Is Named the Top Woman            By Rory Smith                    TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/29/technol
2021-11-29   2021-11-30 ogy/elizabeth-holmes-sunny-balwani.html     Holmes Says ExBoyfriend Abused Her         By Erin Woo and Erin Griffith    TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/29/technol 15 Years After CoFounding Twitter Dorsey Is
2021-11-29   2021-11-30 ogy/jack-dorsey-twitter.html                Moving On                                  By Kate Conger and Lauren Hirsch TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/29/technol A Top Engineer and Adviser Is Named the     By Mike Isaac Kate Conger and
2021-11-29   2021-11-30 ogy/parag-agrawal-twitter.html              Next CEO                                   Cade Metz                        TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/29/us/bost
2021-11-29   2021-11-30 on-flag-free-speech.html                    The 1st Amendment And a Christian Flag     By Adam Liptak                   TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/29/us/evan Fist Pumps and Rock Baptisms Shed Stuffy
2021-11-29   2021-11-30 gelical-churches-baptism.html               Past                                       By Ruth Graham                   TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/29/us/polit After Review US Troops Will Stay in Place
2021-11-29   2021-11-30 ics/biden-us-troops-review.html             for Now                                    By Helene Cooper                 TX 9-117-906      2022-01-03

                        https://www.nytimes.com/2021/11/29/us/polit Boeberts Call to Ilhan Over Suicide Bomber
2021-11-29   2021-11-30 ics/boebert-omar-apology.html                Remark Shows Chasm Between Parties          By Jonathan Weisman               TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/29/us/polit Panel Will Seek Contempt Charges for Trump
2021-11-29   2021-11-30 ics/jeffrey-clark-capitol-riot.html          Ally                                        By Luke Broadwater                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/29/us/polit Pentagon Calls For Fresh Look At Syria
2021-11-29   2021-11-30 ics/pentagon-airstrike-syria.html            Strike                                      By Eric Schmitt and Dave Philipps TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/29/us/polit
                        ics/taliban-afghanistan-911-families-frozen- Sept 11 Families Seeking Billions In Afghan
2021-11-29   2021-11-30 funds.html                                   Cash                                        By Charlie Savage                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/29/well/eat
2021-11-29   2021-11-30 /heart-healthy-diet-foods.html               Advice for a Healthier Way to Eat           By Jane E Brody                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/29/world/a
                        frica/coronavirus-omicron-variant-           Divergent Plans Hobble Response in Variant
2021-11-29   2021-11-30 response.html                                Fight                                       By Jason Horowitz                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/29/world/a
                        mericas/honduras-election-xiomara-           Honduras FrontRunner Vows New Era but       By Anatoly Kurmanaev and Joan
2021-11-29   2021-11-30 castro.html                                  Has Strong Ties to the Past                 Suazo                             TX 9-117-906   2022-01-03



                                                                                 Page 3067 of 5793
                        https://www.nytimes.com/2021/11/29/world/a Womans Case Offers a Rare Look At the
2021-11-29   2021-11-30 sia/north-korea-defectors-south-korea.html Battle Between Rival Koreas                  By Choe SangHun                   TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/29/world/a Japans Shutdown Keeps Virus at Bay but
2021-11-29   2021-11-30 sia/omicron-japan-border.html              Leaves Lives in Limbo                        By Motoko Rich and Hikari Hida TX 9-117-906      2022-01-03
                        https://www.nytimes.com/2021/11/29/world/a Simpsons Trip to Beijing Is Missing in Hong
2021-11-29   2021-11-30 sia/simpsons-hk.html                       Kong                                         By Vivian Wang                    TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/29/world/c                                              By Dionne Searcey Eric Lipton and
2021-11-29   2021-11-30 ongo-cobalt-albert-yuma-mulimbi.html       Battling Over the Blood Diamond of Batteries Ashley Gilbertson                 TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/29/world/e Iran Draws Hard Line on Nuclear
2021-11-29   2021-11-30 urope/iran-sanctions-nuclear-talks.html    Negotiations                                 By Steven Erlanger                TX 9-117-906   2022-01-03
                        https://www.nytimes.com/2021/11/29/world/e                                              By Cora Engelbrecht and Christina
2021-11-29   2021-11-30 urope/sweden-magdalena-andersson.html      Sweden Reelects First Female Leader          Anderson                          TX 9-117-906   2022-01-03

                        https://www.nytimes.com/2021/11/29/your- No Credit Score No Problem Just Hand Over
2021-11-29   2021-11-30 money/credit-score-alternatives-options.html More of Your Data                           By Tara Siegel Bernard          TX 9-117-906    2022-01-03
                        https://www.nytimes.com/live/2021/11/29/wo
                        rld/omicron-variant-covid/jerome-powell-                                                 By Jeanna Smialek and Alan
2021-11-29   2021-11-30 inflation-omicron                            Omicron Increases Uncertainty Powell to Say Rappeport                       TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/29/opinion
2021-11-30   2021-11-30 /abortion-vaccine-mandate.html               My Body My Choice For the Right             By Michelle Goldberg            TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/29/opinion
2021-11-30   2021-11-30 /united-states-europe-jobs.html              Europe Can Teach Us About Jobs              By Paul Krugman                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/29/us/polit                                              By Michael D Shear and Sheryl
2021-11-30   2021-11-30 ics/biden-omicron-variant-travel-ban.html    Biden Adopts A Travel Ban To Buy Time       Stolberg                        TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/29/world/ Crackdown on Dissent Continues as an
2021-11-30   2021-11-30 middleeast/egypt-hossam-bahgat-verdict.html Activist Is Convicted in Egypt              By Mona ElNaggar                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/2021/11/30/health/c Counterfeit Masks Still Swamp the US
2021-11-30   2021-11-30 ovid-masks-counterfeit-fake.html            Market                                      By Andrew Jacobs                 TX 9-117-906    2022-01-03

                        https://www.nytimes.com/2021/11/30/world/a Under Taliban Rule Scores of ExSecurity
2021-11-30   2021-11-30 sia/taliban-revenge-killings-afghanistan.html Forces Are Dead or Missing                By Sharif Hassan                 TX 9-117-906    2022-01-03
                        https://www.nytimes.com/article/myanmar- Months After Myanmars Coup Worries of
2021-02-01   2021-12-01 news-protests-coup.html                       Civil War                                 By Richard C Paddock             TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/11/24/dining/
2021-11-24   2021-12-01 crispiest-shrimp-cakes-recipe.html            Shrimp Cakes With a Crispy Accent         By Melissa Clark                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/11/24/dining/
2021-11-24   2021-12-01 drinks/mezcal-scotch-smoky-cocktails.html Smoky Cocktails Without a Single Ember        By Rebekah Peppler               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/11/24/dining/
2021-11-24   2021-12-01 holiday-brunch-ideas-recipes.html             A Special Brunch Requires a Plan          By Yotam Ottolenghi              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/11/24/well/mi Here to Help How to Deal with Social
2021-11-24   2021-12-01 nd/holiday-social-anxiety.html                Anxiety During the Holidays               By Jancee Dunn                   TX 9-131-897    2022-02-01




                                                                                Page 3068 of 5793
                        https://www.nytimes.com/2021/11/25/arts/des
                        ign/homeless-architecture-whos-next-
2021-11-25   2021-12-01 munich.html                                 Beautiful Solutions To Homelessness        By Thomas Rogers        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/27/movies/ Wakefield Poole 85 a Pioneer in Gay
2021-11-27   2021-12-01 wakefield-poole-dead.html                   Pornography                                By Alex Vadukul         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/dining/
                        a-shop-where-kids-are-encouraged-to-make-a- To Delight Children Are Encouraged To
2021-11-29   2021-12-01 mess.html                                   Make Quite a Mess                          By Florence Fabricant   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/dining/
                        chris-cheung-east-wind-snack-shop-          To Prepare Manhattans Chinatown Inspires a
2021-11-29   2021-12-01 cookbook.html                               Cookbook                                   By Florence Fabricant   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/dining/ To Munch Cornish Pasties and More At
2021-11-29   2021-12-01 cornish-pasties-dekalb-market.html          DeKalb Market                              By Florence Fabricant   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/dining/
2021-11-29   2021-12-01 drinks/great-wines.html                     The Moment Makes a Wine Great              By Eric Asimov          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/dining/ To Celebrate Time to Go Gaga Over the
2021-11-29   2021-12-01 gucci-panettone-new-york.html               Panettone                                  By Florence Fabricant   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/dining/ To Share This Brunch Has Caviar And Plenty
2021-11-29   2021-12-01 hancock-st-caviar.html                      of It                                      By Florence Fabricant   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/dining/
2021-11-29   2021-12-01 made-in-pie-dish.html                       To Use A Pie Dish Made of Porcelain        By Florence Fabricant   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/dining/r
2021-11-29   2021-12-01 ecipe-theft-cookbook-plagiarism.html        Who Owns a Recipe Maybe No One Does        By Priya Krishna        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/dining/
2021-11-29   2021-12-01 scotland-climate-change-halibut.html        Serving Halibut To Achieve A Better Planet By Kim Severson         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/movies/ Arlene Dahl Actress With Beauty And a
2021-11-29   2021-12-01 arlene-dahl-dead.html                       Business Empire Dies at 96                 By Wendell Jamieson     TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/29/needies Motivated by Depth of Communitys Need
2021-11-29   2021-12-01 t-cases/finding-purpose-by-giving-back.html Volunteers Tutor and Deliver Aid           By Emma Grillo          TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/29/opinion
2021-11-29   2021-12-01 /heartbeat-abortion-bans-savita-izabela.html Her Heart Was Beating Too                   By Sarah Wildman      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/opinion
2021-11-29   2021-12-01 /south-africa-covid-omicron-variant.html     South Africa Deserves a Big Fat Prize       By Peter Coy          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/theater/ Under the Radar Festival Returns Smaller but
2021-11-29   2021-12-01 under-the-radar-festival.html                Still Funky                                 By Sarah Bahr         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/us/doyl Doyle Hamm 64 Who Survived a Botched
2021-11-29   2021-12-01 e-hamm-dead.html                             Lethal Injection                            By Sam Roberts        TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/30/arts/dan
2021-11-30   2021-12-01 ce/raja-feather-kelly-dog-day-afternoon.html Another Dog Day Has Its Afternoon         By Gia Kourlas          TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/30/arts/dan
2021-11-30   2021-12-01 ce/robert-battle-anniversary-alvin-ailey.html This Is My Choreography Now              By Brian Seibert        TX 9-131-897   2022-02-01



                                                                                Page 3069 of 5793
                        https://www.nytimes.com/2021/11/30/arts/des Met Museum Gets Big Gift For New Modern
2021-11-30   2021-12-01 ign/met-museum-modern-wing-gift.html        Art Wing                                   By Robin Pogrebin              TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/11/30/arts/mu
2021-11-30   2021-12-01 sic/robert-wilson-at-80.html                At 80 Slowed Only Slightly by the Pandemic By Laura Cappelle              TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/11/30/books/r
2021-11-30   2021-12-01 eview-lydia-davis-essays-two.html           This Writer Found Herself in Translation   By Molly Young                 TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/11/30/busines
2021-11-30   2021-12-01 s/india-economy-gdp.html                    Indias Economy Limps Back to Life          By Karan Deep Singh            TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/11/30/busines Yellen Sees Need for Banks To Share Data
2021-11-30   2021-12-01 s/irs-tax-gap-yellen.html                   With IRS                                   By Alan Rappeport              TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/11/30/busines                                             By Michael M Grynbaum and John
2021-11-30   2021-12-01 s/media/chris-cuomo-suspended-cnn.html      Chris Cuomo Suspended By CNN               Koblin                         TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/11/30/busines                                             By Rebecca Robbins and Carl
2021-11-30   2021-12-01 s/merck-covid-antiviral-pill-fda.html       FDA Panel Endorses Mercks Covid Pill       Zimmer                         TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/11/30/busines
2021-11-30   2021-12-01 s/metaverse-real-estate.html                In the Metaverse a Virtual Land Boom       By Debra Kamin                 TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/11/30/busines
2021-11-30   2021-12-01 s/new-york-commercial-real-estate.html      Transactions                               By Kristen Bayrakdarian        TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/11/30/busines Spurred by Fears Over Inflation Fed Signals By Jeanna Smialek and Alan
2021-11-30   2021-12-01 s/powell-bond-buying-taper.html             End to Fiscal Support                      Rappeport                      TX 9-131-897      2022-02-01

                        https://www.nytimes.com/2021/11/30/busines                                            By Sapna Maheshwari and Coral
2021-11-30   2021-12-01 s/small-retailers-hoarding-supply-chain.html Stocking Up Early to Stay Afloat Later   Murphy Marcos                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/busines
2021-11-30   2021-12-01 s/stock-markets-omicron.html                 Fed Chairs Remarks Rattle Wall Street    By Matt Phillips and Eshe Nelson   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/dining/
2021-11-30   2021-12-01 alligator-florida-louisiana-lsu-uf.html      Gators at the Tailgate                   By Christina Morales               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/dining/ Empelln Taqueria Opens an Outpost on the
2021-11-30   2021-12-01 new-york-restaurant-openings.html            Upper West Side                          By Florence Fabricant              TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/30/dining/
2021-11-30   2021-12-01 shion-69-leonard-street-review-sushi-nyc.html Sushi and Its Price Rise to the Occasion By Pete Wells                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/movies/ The Gotham Awards Tap Another Big
2021-11-30   2021-12-01 gotham-awards-winners.html                    Winner                                   By Kyle Buchanan                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/movies/
2021-11-30   2021-12-01 the-power-of-the-dog-review.html              Wild Hearts on a Closed Frontier         By Manohla Dargis                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/nyregio Author Apologizes for Unwittingly Playing By Alexandra Alter and Karen
2021-11-30   2021-12-01 n/alice-sebold-rape-case.html                 Role in Rape Conviction of Innocent Man  Zraick                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/nyregio Short on Transit Workers Cities Pay Bonuses
2021-11-30   2021-12-01 n/retired-mta-workers-nyc.html                to Lure Back Retired Staff               By Winnie Hu                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/nyregio 2 Supervised Drug Injection Sites Open in   By Jeffery C Mays and Andy
2021-11-30   2021-12-01 n/supervised-injection-sites-nyc.html         New York                                 Newman                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/opinion
2021-11-30   2021-12-01 /supreme-court-roe-v-wade-dobbs.html          I Argued Against Roe Ive Changed My Mind By Charles Fried                  TX 9-131-897   2022-02-01




                                                                               Page 3070 of 5793
                        https://www.nytimes.com/2021/11/30/sports/b MLBs Next Star Import Waits Patiently for
2021-11-30   2021-12-01 aseball/seiya-suzuki-japan.html             His Turn to Shine                         By Brad Lefton                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/sports/f How an NFL Insider Helped St Louis Battle By Jonathan Abrams and Ken
2021-11-30   2021-12-01 ootball/nfl-rams-relocation-bob-blitz.html  the League                                Belson                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/sports/g
2021-11-30   2021-12-01 olf/tiger-woods-pga-tour.html               Woods Steps Back At Peace With His Legacy By Bill Pennington                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/30/sports/n The Echoes Are Snoozing Notre Dame Loses
2021-11-30   2021-12-01 caafootball/brian-kelly-lsu-notre-dame.html a Coach                                  By Victor Mather                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/technol Dorsey Joins an Exodus Of Restless Tech
2021-11-30   2021-12-01 ogy/dorsey-twitter-big-tech-ceos.html       Moguls                                   By Kevin Roose                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/technol
                        ogy/elizabeth-holmes-theranos-trial-        Under CrossExamination Holmes Admits to
2021-11-30   2021-12-01 prosecution.html                            Making Mistakes                          By Erin Griffith                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/us/calif Law Limiting Gun Rounds Is Upheld in
2021-11-30   2021-12-01 ornia-ban-guns-magazines.html               California                               By Glenn Thrush                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/us/miss Its Day in Court Nearing Abortion Clinic
2021-11-30   2021-12-01 issippi-abortion-clinic-supreme-court.html  Carries On                               By Rick Rojas                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/us/phili Philip Heymann Who Prosecuted Watergate
2021-11-30   2021-12-01 p-heymann-dead.html                         and Abscam Dies at 89                    By Katharine Q Seelye              TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/30/us/polit
2021-11-30   2021-12-01 ics/capitol-riot-investigation-meadows.html Meadows to Cooperate With Jan 6 Committee By Luke Broadwater                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/us/polit US Removes Colombias FARC From List of
2021-11-30   2021-12-01 ics/colombia-farc-us-terrorist-list.html    Terrorist Groups                              By Michael Crowley            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/us/polit Dr Oz Launches Campaign For Senate in
2021-11-30   2021-12-01 ics/dr-oz-senate-run-pennsylvania.html      Pennsylvania                                  By Trip Gabriel               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/us/polit
                        ics/el-chapo-wife-emma-coronel-aispuro-     Chapos Wife Gets 3 Years For Role in Drug
2021-11-30   2021-12-01 sentenced.html                              Cartel                                        By Alan Feuer                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/us/polit Bidens Security Adviser Looks To Regroup
2021-11-30   2021-12-01 ics/jake-sullivan-biden.html                After Stormy Year                             By Mark Leibovich             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/us/pros                                                By Steve Eder and David D
2021-11-30   2021-12-01 ecutors-investigating-police-killings.html  DAs Reopen Police Killings Of Years Past      Kirkpatrick                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/world/a
                        mericas/barbados-queen-republic-            Barbados Is a Republic Ending Its Colonial
2021-11-30   2021-12-01 rihanna.html                                Past                                          By Livia AlbeckRipka          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/world/a Treatment of Chinese Tennis Star Tests
2021-11-30   2021-12-01 sia/china-peng-shuai-propaganda.html        Beijings Propaganda Machine                   By Amy Qin and Paul Mozur     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/world/a Report Cites Harassment In Australian
2021-11-30   2021-12-01 ustralia/parliament-harassment-report.html  Parliament                                    By Yan Zhuang                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/world/e FarRight Pundit Makes French Presidential By Aurelien Breeden and Constant
2021-11-30   2021-12-01 urope/eric-zemmour-france-president.html    Run Official                                  Mheut                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/world/e ISIS Fighter Is Convicted In Killing Of Yazidi
2021-11-30   2021-12-01 urope/isis-trial-yazidi-germany.html        Girl                                          By Christopher F Schuetze     TX 9-131-897   2022-02-01



                                                                              Page 3071 of 5793
                        https://www.nytimes.com/2021/11/30/world/e Black Hero Is Welcomed Into Annals Of
2021-11-30   2021-12-01 urope/josephine-baker-buried-pantheon.html Panthon                                      By Roger Cohen                    TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/11/30/world/e
2021-11-30   2021-12-01 urope/omicron-variant-plane-travel.html    As Passengers Flew Fear Ran Around World     By Jason Horowitz                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/11/30/world/e Omicron Variant Spurs Swift Action on        By Mark Landler and Megan
2021-11-30   2021-12-01 urope/uk-omicron-variant.html              Mitigation Efforts in Britain                Specia                            TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/11/30/world/v Judge Blocks Bidens Vaccine Mandate for
2021-11-30   2021-12-01 accine-mandate-health-workers-blocked.html Health Workers                                  By Azi Paybarah and Reed Abelson TX 9-131-897   2022-02-01
                        https://www.nytimes.com/article/omicron-     What Scientists Know and Dont Know About By Carl Zimmer Emily Anthes and
2021-11-30   2021-12-01 coronavirus-variant.html                     Newest Coronavirus Variant                    Andrew Jacobs                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/11/
                        30/world/europe/europe-covid-surge-
2021-11-30   2021-12-01 omicron.html                                 See Where Covid Is Surging Across Europe By Josh Holder                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/live/2021/11/29/wo
                        rld/myanmar-coup-verdict-aung-san-suu-       In Myanmar Jailed Leader Awaits Ruling In
2021-11-30   2021-12-01 kyi/myanmar-aung-san-suu-kyi-trial-verdict Secret Trial                                    By SuiLee Wee                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/live/2021/11/30/bus
                        iness/news-business-stock-market/giphy-
2021-11-30   2021-12-01 facebook-meta                                Britain Orders Facebooks Parent to Sell Giphy By Adam Satariano                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/live/2021/11/30/us/
                        school-shooting-michigan/school-shooting- 3 Are Killed at Michigan School Suspect Is a By Scott Atkinson Mitch Smith and
2021-11-30   2021-12-01 oxford-michigan                              15YearOld Student                             Neal E Boudette                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/nyregio
                        n/ghislaine-maxwell-accuser-jane-            Ensnared by Maxwell and Epstein a Witness By Benjamin Weiser Rebecca
2021-12-01   2021-12-01 testimony.html                               Says                                          Davis OBrien and Colin Moynihan TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/11/30/opinion
2021-12-01   2021-12-01 /coronavirus-polarization.html               Lets End the Covid Blame Games                By Bret Stephens                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/opinion
2021-12-01   2021-12-01 /trump-iran-nuclear-deal-us-israel.html      The Lasting Disaster of Trumps Iran Policy By Thomas L Friedman                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/sports/b With So Many Differences to Resolve A
2021-12-01   2021-12-01 aseball/mlb-lockout-cba-deadline.html        Work Stoppage Seems Unavoidable               By James Wagner                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/us/andr In Upset Dickens Is Elected Atlanta Mayor in
2021-12-01   2021-12-01 e-dickens-atlanta-mayor-election.html        Runoff                                        By Richard Fausset               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/us/polit Republican Infighting as Power Struggle
2021-12-01   2021-12-01 ics/boebert-greene-mace.html                 Brews                                         By Jonathan Weisman              TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/30/us/polit Judges Appear Skeptical Of Trumps Privilege
2021-12-01   2021-12-01 ics/trump-executive-privilege-capitol-riot.html Claim                                   By Charlie Savage                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/11/30/world/o Variant Arrived in Europe Sooner Than Was
2021-12-01   2021-12-01 micron-coronavirus-spread.html                  Known                                   By Richard PrezPea                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/01/insider/
2021-12-01   2021-12-01 police-traffic-stops-killings.html              A Fight for Police BodyCam Video        By Kim Barker                     TX 9-131-897     2022-02-01




                                                                                Page 3072 of 5793
                        https://www.nytimes.com/2021/12/01/sports/f
                        ootball/tom-brady-bill-belichick-super-      Just When You Thought It Couldnt Possibly
2021-12-01   2021-12-01 bowl.html                                    Get Worse                                   By Mike Tanier                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/us/oxfo 3 Are Killed at Michigan School Suspect Is a By Scott Atkinson Mitch Smith and
2021-12-01   2021-12-01 rd-oakland-county-shooting.html              15YearOld Student                           Neal E Boudette                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/article/mass-                                                    By Daniel Victor and Derrick
2021-04-16   2021-12-02 shootings-2021.html                          A Partial List of Mass Shootings in 2021    Bryson Taylor                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/movies/ David Gulpilil 68 AwardWinning Aboriginal
2021-11-29   2021-12-02 david-gulpilil-dead.html                     Actor                                       By Neil Genzlinger               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/style/vi
2021-11-29   2021-12-02 rgil-abloh-fashion-design.html               A Prismatic Shock to the System             By Guy Trebay                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/style/vi
2021-11-29   2021-12-02 rgil-abloh-influence.html                    A Fitting Ambassador and Infiltrator        By Jon Caramanica                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/arts/mu Joanne Shenandoah Indigenous Matriarch Of
2021-11-30   2021-12-02 sic/joanne-shenandoah-dead.html              Music Dies at 64                            By Katharine Q Seelye            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/busines
2021-11-30   2021-12-02 s/china-tesla-electric-cars.html             How Tesla Helps China To Compete            By Li Yuan                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/opinion
2021-11-30   2021-12-02 /abortion-dobbs-supreme-court.html           The Case Against Abortion                   By Ross Douthat                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/sports/ Mark Roth 70 Top Bowler Who Threw
2021-11-30   2021-12-02 mark-roth-dead.html                          Rockets That Silenced Early Doubters        By Richard Sandomir              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/style/vi
2021-11-30   2021-12-02 rgil-abloh-off-white-store.html              Honoring the Ultimate Designer at His Store By Gina Cherelus                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/us/daun Taser Taser Taser ExOfficer Faces
2021-11-30   2021-12-02 te-wright-shooting-kimberly-potter.html      Manslaughter Trial                          By Nicholas BogelBurroughs       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/world/e Frustration Rises As Turkeys Lira Continues
2021-11-30   2021-12-02 urope/turkey-erdogan-inflation-lira.html     Plunge                                      By Carlotta Gall                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/arts/dan
                        ce/the-mood-room-review-1980s-anomie-
2021-12-01   2021-12-02 california-style.html                        Its California In the 1980s Pause Pose      By Brian Seibert                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/arts/des
2021-12-01   2021-12-02 ign/banksy-nft-loic-gouzer-particle.html     Cutting a Banksy Into 10000 Digital Pieces By Robin Pogrebin                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/arts/des
2021-12-01   2021-12-02 ign/carrie-mae-weems-armory.html             The World Catches Up To Carrie Mae Weems By Robin Pogrebin                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/arts/des Merry Band of Provocateurs Wins Turner
2021-12-01   2021-12-02 ign/turner-prize-winner.html                 Prize                                       By Alex Marshall                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/arts/mu Alvin Lucier 90 Composer of Soundscapes
2021-12-01   2021-12-02 sic/alvin-lucier-dead.html                   Born Out of Curiosity Dies                  By Allan Kozinn                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/arts/mu
2021-12-01   2021-12-02 sic/gen-z-millennial-pop-stars.html          Gen Z Pop Stars Set Tone In 2021            By Lindsay Zoladz                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/arts/tele
2021-12-01   2021-12-02 vision/annie-live-tv-musical.html            NYC a Cast of 42 and Sandy the Dog          By Laura Zornosa                 TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/01/arts/tele Man Said to Attack Actor Testifies It Was
2021-12-01   2021-12-02 vision/jussie-smollett-attacker-testimony.html All Staged                                By Julia Jacobs and Mark Guarino TX 9-131-897   2022-02-01



                                                                                 Page 3073 of 5793
                        https://www.nytimes.com/2021/12/01/books/r
2021-12-01   2021-12-02 eview-all-about-me-mel-brooks.html               A Legend of Comedy Looks Back in Laughter By Alexandra Jacobs              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/busines
                        s/capital-one-is-the-latest-bank-to-say-it-will- Consumer Agency to Focus on Bank
2021-12-01   2021-12-02 eliminate-overdraft-fees.html                    Overdraft Fees                            By Tara Siegel Bernard           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/busines Venture Capital Makes Big Bet On Crypto
2021-12-01   2021-12-02 s/dealbook/crypto-venture-capital.html           Zeal                                      By Ephrat Livni                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/busines Facing Two Crises Biden Projects Normalcy
2021-12-01   2021-12-02 s/economy/biden-omicron-variant.html             and Optimism                              By Jim Tankersley                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/busines Fed Official Fears Variant Could Prolong        By Ben Casselman and Jeanna
2021-12-01   2021-12-02 s/fed-inflation-omicron-covid.html               Shortages                                 Smialek                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/busines CNN Mulls Next Move After Idling Top            By Michael M Grynbaum and John
2021-12-01   2021-12-02 s/media/chris-cuomo-cnn.html                     Anchor                                    Koblin                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/busines OPEC Faces Virus Doubts And Rebellious
2021-12-01   2021-12-02 s/oil-opec-omicron-prices.html                   Customers                                 By Stanley Reed                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/busines
2021-12-01   2021-12-02 s/stock-market-today-omicron-fed.html            Omicron Variant Rattles Markets Again     By Eshe Nelson and Matt Phillips TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/climate Madagascar Drought A Natural Fluctuation
2021-12-01   2021-12-02 /climate-change-madagascar-drought.html          Scientists Determine                      By Raymond Zhong                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/dining/ Substack Lures Top Talent To Write Food
2021-12-01   2021-12-02 substack-food-ruth-reichl.html                   Newsletters                               By Kim Severson                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/health/c Omicron Erases Experts Doubts on Third
2021-12-01   2021-12-02 ovid-omicron-booster-shots.html                  Shot                                      By Apoorva Mandavilli            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/movies/
2021-12-01   2021-12-02 best-picture-oscar-contenders.html               Of 10 Gems We Take a Shine to Six         By Kyle Buchanan                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/nyregio Prosecution Faces Obstacles in Proving Case
2021-12-01   2021-12-02 n/andrew-cuomo-charges-case.html                 Against Cuomo                             By Grace Ashford                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/nyregio                                                 By Precious Fondren and Ashley
2021-12-01   2021-12-02 n/brooklyn-house-explosion.html                  Six Are Hurt By Explosion In Brooklyn     Wong                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/nyregio New York City Is Expecting Omicron Any
2021-12-01   2021-12-02 n/new-york-covid-omicron.html                    Day Now How Ready Is It                   By Joseph Goldstein              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/nyregio ExAssemblyman Faces Campaign Fraud
2021-12-01   2021-12-02 n/steve-mclaughlin-campaign-fraud.html           Charges                                   By Luis FerrSadurn               TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/01/opinion Omicron Is Here Will We Use Our New
2021-12-01   2021-12-02 /omicron-covid-drugs-pfizer-antiviral.html  Covid Drugs Wisely                          By Rachel Cohen                   TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/01/opinion
2021-12-01   2021-12-02 /twitter-agrawal-dorsey.html                How Twitter Can Fix Itself                  By Greg Bensinger                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/01/sports/b Scherzer Got the Big Money And Now He
2021-12-01   2021-12-02 aseball/max-scherzer-mets.html              Wants the Ball                              By Tyler Kepner                   TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/01/sports/b Knicks Coach Makes a Move But the
2021-12-01   2021-12-02 asketball/knicks-kemba-walker.html          Struggles Go Deeper                         By Sopan Deb                      TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/01/sports/b
                        asketball/lebron-james-lakers-                                                          By Scott Cacciola and Tania
2021-12-01   2021-12-02 coronavirus.html                            Rebuild in Los Angeles Hits Another Setback Ganguli                           TX 9-131-897     2022-02-01



                                                                                Page 3074 of 5793
                        https://www.nytimes.com/2021/12/01/sports/g
2021-12-01   2021-12-02 olf/lee-elder-masters-tiger-woods.html         What a Journey What a Life                 By Kurt Streeter                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/sports/t Womens Tennis Suspends Play in China After
2021-12-01   2021-12-02 ennis/wta-china-peng-shuai.html                a Star Is Silenced                         By Matthew Futterman             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/sports/
                        world-chess-championship-carlsen-              Five Draws Bring Little Drama and a Lot of
2021-12-01   2021-12-02 nepomniachtchi.html                            Frustration                                By Victor Mather                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/technol Lawmakers Target Big Tech Amplification
2021-12-01   2021-12-02 ogy/big-tech-amplification.html                What Does That Mean                        By David McCabe                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/upshot/ Case Makes a Novel Argument but the Reality
2021-12-01   2021-12-02 mississippi-abortion-case-roe.html             Is More Complex                            By Claire Cain Miller            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/us/centr
                        al-bucks-school-board-politics-                Schools in Bind As Bitter Feuds Cripple
2021-12-01   2021-12-02 pennsylvania.html                              Board                                      By Campbell Robertson            TX 9-131-897   2022-02-01
                                                                                                                  By Reed Abelson Sarah Kliff
                        https://www.nytimes.com/2021/12/01/us/polit How Biden Bill Extends Reach Of Health        Margot SangerKatz and Sheryl Gay
2021-12-01   2021-12-02 ics/build-back-better-act-health-coverage.html Care                                       Stolberg                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/us/polit
                        ics/charlie-baker-massachusetts-               Governor Who Defied Trump Says He Wont
2021-12-01   2021-12-02 governor.html                                  Run                                        By Reid J Epstein                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/us/polit
                        ics/government-shutdown-vaccine-               GOP Threat Of Shutdown In a Dispute On
2021-12-01   2021-12-02 mandate.html                                   Mandates                                   By Emily Cochrane                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/us/polit Abrams Announces Shes Running For
2021-12-01   2021-12-02 ics/stacey-abrams-georgia-governor.html        Governor of Georgia Again                  By Astead W Herndon              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/us/polit Trump Tested Covid Positive Before Debate
2021-12-01   2021-12-02 ics/trump-virus-positive.html                  Officials Say                              By Maggie Haberman               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/us/polit In Israel New Home of the American            By Lara Jakes and Michael
2021-12-01   2021-12-02 ics/us-ambassador-israel.html                  Ambassador Lacks a Certain View            Crowley                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/us/trum Why Discredited Dossier Does Not Undercut
2021-12-01   2021-12-02 p-russia-investigation-dossier.html            Russia Inquiry                             By Charlie Savage                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/world/a
                        frica/coranavirus-vaccine-hesitancy-           As Omicron Spreads Vaccine Supply in
2021-12-01   2021-12-02 africa.html                                    Africa Is Better but Wariness Persists     By Lynsey Chutel and Max Fisher TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/01/world/c WHO Reopens Debate Over Fairness of
2021-12-01   2021-12-02 ovid-travel-boosters-omicron.html              Reaction by Wealthy Nations                By Mark Landler                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/world/e EU Set to Limit Rights Along the Belarus       By Elian Peltier and Monika
2021-12-01   2021-12-02 urope/asylum-rights-poland-eu.html             Border                                     Pronczuk                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/world/e
                        urope/greece-migrants-interpreter-             EU Interpreter Says Greece Expelled Him to
2021-12-01   2021-12-02 expelled.html                                  Turkey in Migrant Roundup                  By Matina StevisGridneff         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/world/e Putin Demands That NATO Pledge Not to
2021-12-01   2021-12-02 urope/putin-nato-russia-ukraine.html           Allow Ukraine to Join                      By Anton Troianovski             TX 9-131-897   2022-02-01




                                                                                Page 3075 of 5793
                        https://www.nytimes.com/2021/12/01/world/e
                        urope/vesuvius-victim-herculaneum-         Newly Found Victim Of Vesuvius Eruption
2021-12-01   2021-12-02 ruins.html                                 May Yield Fresh Insights                   By Elisabetta Povoledo               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/01/busines Canada Goose Workers Unionize at Three
2021-12-02   2021-12-02 s/economy/canada-goose-union.html          Plant                                      By Noam Scheiber                     TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/01/opinion
2021-12-02   2021-12-02 /chris-cuomo-cnn-scandal.html              Chris Cuomos Strange Idea of Doing His Job By Gail Collins                      TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/01/us/abor Supreme Court Ruling Could Make Abortion
2021-12-02   2021-12-02 tion-midterm-elections-supreme-court.html the Leading Issue in Midterm Elections    By Carl Hulse                          TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/01/us/etha
                        n-crumbley-michigan-high-school-           School Met With Teenager and His Parents By Jennifer Conlin Mitch Smith
2021-12-02   2021-12-02 shooting.html                              Hours Before the Rampage                 Giulia Heyward and Jack Healy          TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/01/us/polit Line of Questions Shows A Chief Justice
2021-12-02   2021-12-02 ics/abortion-supreme-court-mississippi.html Feeling For the Middle Ground                   By Charlie Savage              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/01/us/polit
2021-12-02   2021-12-02 ics/jeffrey-clark-contempt-congress.html    Jan 6 Panel Seeks a Second Contempt Case        By Luke Broadwater              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/us/polit                                                 By Michael D Shear Shawn Hubler
2021-12-02   2021-12-02 ics/omicron-variant-us-california.html      First US Case Of the Variant Is in California   and Roni Caryn Rabin            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/us/polit
                        ics/supreme-court-mississippi-abortion-     Justices Indicate They Will Uphold Curb on
2021-12-02   2021-12-02 law.html                                    Abortion                                        By Adam Liptak                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/02/busines Omicron Looms Large as Threat to a Fragile
2021-12-02   2021-12-02 s/economy/omicron-economy.html              Global Recovery                                 By Patricia Cohen              TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/02/style/vi                                            By Anna P Kambhampaty Andr
2021-12-02   2021-12-02 rgil-abloh-text-messages-instagram-dms.html Texts From Virgil                          Wheeler and Jessica Testa           TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/02/world/a People Call Me Dog Tag Man Finding Relics By Dera Menra Sijabat Richard C
2021-12-02   2021-12-02 sia/indonesia-battle-of-biak.html           at a 1944 Battle Site                      Paddock and Ulet Ifansasti          TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/11/30/arts/dav Dave Hickey 82 Iconoclastic Art Critic and
2021-11-30   2021-12-03 e-hickey-dead.html                          Retrograde Renegade Dies                   By Clay Risen                       TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/11/30/arts/des
                        ign/andrea-bowers-museum-chicago-activist-
2021-11-30   2021-12-03 art.html                                    Activism Animates Her Art                  By Siddhartha Mitter                TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/11/30/movies/
2021-11-30   2021-12-03 the-summit-of-the-gods-review.html          The Summit Of the Gods                     By Ben Kenigsberg                   TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/11/30/opinion
2021-11-30   2021-12-03 /abortion-texas-mississippi-rape.html       My Father Raped Me An Abortion Saved Me By Michele Goodwin                     TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/11/30/technol Jim Warren 85 Technology Promoter Helped
2021-11-30   2021-12-03 ogy/jim-warren-dead.html                    to Shape Future of Computing               By Steve Lohr                       TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/01/arts/des
2021-12-01   2021-12-03 ign/amy-winehouse-design-museum.html        Seeing Amy Winehouse in a Renewed Light By Desiree Ibekwe                      TX 9-131-897    2022-02-01




                                                                                  Page 3076 of 5793
                        https://www.nytimes.com/2021/12/01/movies/
2021-12-01   2021-12-03 14-peaks-nothing-is-impossible-review.html 14 Peaks Nothing Is Impossible               By Lisa Kennedy                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/technol How CuteCat Posts Help Spread Falsehoods
2021-12-01   2021-12-03 ogy/misinformation-cute-cats-online.html     Online                                     By Davey Alba                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/technol
                        ogy/personaltech/covid-vaccination-card-
2021-12-01   2021-12-03 phone.html                                   Your Covid Data at Your Fingertips         By Brian X Chen                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/theater/
2021-12-01   2021-12-03 a-sherlock-carol-review.html                 The Game Is Afoot Elementary and Merry     By Laura CollinsHughes             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/us/marc Marcus Lamb 64 Christian Broadcaster Who
2021-12-01   2021-12-03 us-lamb-dead.html                            Promoted Prayer Over Inoculation           By Alyssa Lukpat                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/world/a                                              By Chris Buckley and Raymond
2021-12-01   2021-12-03 sia/china-alibaba-toy-guns.html              When Toys Run Afoul of Chinas Gun Laws Zhong                                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/arts/des
2021-12-02   2021-12-03 ign/etel-adnan-guggenheim-painter.html       Setting the Controls for Escape Velocity   By Max Lakin                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/arts/des
                        ign/hirshhorn-garden-redesign-approved-
2021-12-02   2021-12-03 sugimoto.html                                Hirshhorn Garden Redesign Is Approved      By Zachary Small                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/arts/des
                        ign/warhol-religion-museum-review-
2021-12-02   2021-12-03 catholic.html                                More Than Brillo Pads and Soup Cans        By Karen Rosenberg                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/arts/hol                                             By Laura Zornosa and Elisabeth
2021-12-02   2021-12-03 iday-events-nyc.html                         Lights Trains Action                       Vincentelli                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/arts/mu
                        sic/grammy-nominations-marilyn-manson-       Marilyn Manson Loses a Grammy
2021-12-02   2021-12-03 linda-chorney.html                           Nomination                                 By Ben Sisario                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/arts/tele
                        vision/drew-michael-hbo-stath-lets-flats-
2021-12-02   2021-12-03 season-3.html                                This Weekend I Have                        By Margaret Lyons                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/busines SEC Chiefs From Left and Right Agree
2021-12-02   2021-12-03 s/dealbook/crypto-trump-biden.html           Regulate Crypto                            By Ephrat Livni                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/busines Reformers Prevail In UAW Proposal On
2021-12-02   2021-12-03 s/economy/united-auto-workers-vote.html      Direct Votes                               By Noam Scheiber                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/busines
                        s/media/bannon-legal-fight-first-            Major News Outlets Back Bannon Over
2021-12-02   2021-12-03 amendment.html                               Documents                                  By Katie Robertson                 TX 9-131-897   2022-02-01
                                                                     BuzzFeed Shareholders Vote to Go Public as
                        https://www.nytimes.com/2021/12/02/busines Union Workers in News Division Stage
2021-12-02   2021-12-03 s/media/buzzfeed-spac.html                   Walkout                                    By Katie Robertson and Peter Eavis TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/busines OPEC Stays on Course for a Modest Increase
2021-12-02   2021-12-03 s/opec-plus-meeting-oil.html                 in Oil Production                          By Stanley Reed                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/busines Guessing Game for Dispatchers At
2021-12-02   2021-12-03 s/supply-chain-car-shipping.html             OnceBustling Shipping Ports                By Peter S Goodman                 TX 9-131-897   2022-02-01




                                                                                Page 3077 of 5793
                        https://www.nytimes.com/2021/12/02/busines Tescos Vaccinated Santa Ad Draws 5000
2021-12-02   2021-12-03 s/tesco-vaccine-passport-ad.html           Complaints but Regulators in Britain Clear It   By Tiffany Hsu                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/busines                                                 By Alan Rappeport and Madeleine
2021-12-02   2021-12-03 s/yellen-inflation-omicron.html            Inflation No Longer Transitory Yellen Says      Ngo                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/climate What Does It Mean to Sell ForestFriendly
2021-12-02   2021-12-03 /companies-net-zero-deforestation.html     Candy                                           By Lucy Tompkins                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/02/climate What Does It Mean to Fulfill a Climate
2021-12-02   2021-12-03 /europe-climate-pledge-carbon-emissions.html Pledge                                        By Lois Parshley                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/dining/ Last Winter Diners Froze This Year They
2021-12-02   2021-12-03 new-york-winter-outdoor-dining.html          Choose                                        By Victoria Petersen            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/02/health/c Study Says Most Vaccines Work as Boosters
2021-12-02   2021-12-03 ovid-booster-shots-mix-and-match.html       Even in Mix and Match Combinations             By Carl Zimmer                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/health/ What Does It Mean to Turn the Corner on a
2021-12-02   2021-12-03 hiv-aids-infection-epidemic-un.html         Viral Epidemic                                 By Sarika Bansal                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/health/
2021-12-02   2021-12-03 omicron-variant-genetic-surveillance.html   Why Omicron Wasnt Found Earlier in US          By Emily Anthes                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/movies/
2021-12-02   2021-12-03 benedetta-review.html                       Holy Visions and Lustful Cravings              By Jeannette Catsoulis          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/movies/
2021-12-02   2021-12-03 citizen-ashe-review.html                    Serving Up Arthur Ashes Winning Ways           By Manohla Dargis               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/movies/
2021-12-02   2021-12-03 flee-review.html                            An Intimate Portrait of Luck and Loss          By AO Scott                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/movies/
2021-12-02   2021-12-03 listening-to-kenny-g-review.html            This Sax Man Delights and Divides              By Glenn Kenny                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/movies/
2021-12-02   2021-12-03 red-pill-review-tonya-pinkins.html          Red Pill                                       By Beatrice Loayza              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/movies/
2021-12-02   2021-12-03 silent-night-review.html                    Silent Night                                   By Concepcin de Len             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/movies/
2021-12-02   2021-12-03 single-all-the-way-review.html              Single All the Way                             By Teo Bugbee                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/movies/
2021-12-02   2021-12-03 the-advent-calendar-review.html             The Advent Calendar                            By Lena Wilson                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/movies/
2021-12-02   2021-12-03 torn-review.html                            Torn                                           By Claire Shaffer               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/movies/
2021-12-02   2021-12-03 try-harder-review.html                      Try Harder                                     By Beandrea July                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/movies/
2021-12-02   2021-12-03 wolf-review-animal-behavior.html            Wolf                                           By Natalia Winkelman            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/nyregio Mystery at Brooklyn Bus Stop As
2021-12-02   2021-12-03 n/anti-vaccine-poster-brooklyn.html         AntiVaccine Ad Appears                         By Winnie Hu and Michael Gold   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/nyregio Downside of Success Citi Bike Is Struggling
2021-12-02   2021-12-03 n/citi-bike-parking-docking-station.html    To Meet Cyclists Needs                         By Ana Ley                      TX 9-131-897   2022-02-01



                                                                                 Page 3078 of 5793
                        https://www.nytimes.com/2021/12/02/nyregio New York City Sets Shot Mandate for Private
2021-12-02   2021-12-03 n/nyc-vaccine-mandate-private-schools.html and Religious Schools                          By Emma G Fitzsimmons           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/nyregio
2021-12-02   2021-12-03 n/omicron-variant-new-york.html               Five Cases Are Confirmed in New York        By Emma G Fitzsimmons           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/opinion                                                By Mitchell Abidor and Miguel
2021-12-02   2021-12-03 /eric-zemmour-france-jews.html                The New Face of French Bigotry              Lago                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/special-
                        series/headway-earth-progress-climate-
2021-12-02   2021-12-03 hindsight.html                                Dear People of 2021                         By Matthew Thompson             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/sports/f
                        ootball/antonio-brown-covid-vaccine-          NFL Suspends Bucs Star Receiver and 2
2021-12-02   2021-12-03 suspended.html                                Other Players Over Fake Vaccine Cards       By Ben Shpigel                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/sports/f Curley Culp 75 Dies Bruising Hall of Famer
2021-12-02   2021-12-03 ootball/curley-culp-dead.html                 Who Anchored Defense                        By Richard Sandomir             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/sports/n
                        caabasketball/san-diego-state-michigan-brian- Flashback to the Days Of Michigans Fab Five
2021-12-02   2021-12-03 dutcher-juwan-howard.html                     In Coaches Reunion                          By Scott Miller                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/sports/t IOC Speaks To Peng Again And Defends Its
2021-12-02   2021-12-03 ennis/peng-shuai-ioc-china.html               Approach                                    By Tariq Panja and Andrew Das   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/technol
2021-12-02   2021-12-03 ogy/ftc-nvidia-arm-deal.html                  FTC Sues To Derail Chip Deal                By Cecilia Kang and Don Clark   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/theater/
2021-12-02   2021-12-03 ron-cephas-jones-broadway-clydes.html         He Still Has Something To Prove             By Reggie Ugwu                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/us/fede FedEx Says Driver Is Out Over Dumped
2021-12-02   2021-12-03 x-packages-dumped.html                        Parcels                                     By Derrick Bryson Taylor        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/us/hurri
2021-12-02   2021-12-03 cane-sandy-lower-manhattan-nyc.html           The Parable of East River Park              By Michael Kimmelman            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/02/us/polit Groups of 911 Families Engage in Legal
2021-12-02   2021-12-03 ics/9-11-families-taliban-funds.html        Tussle Over Frozen Afghan Funds Held in US By Charlie Savage                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/02/us/polit
2021-12-02   2021-12-03 ics/abortion-arguments-post-roe.html        Seismic Shift Looms in Fight Over Abortion By Lisa Lerer and Jeremy W Peters TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/02/us/polit Afghan Envoy to US Tries to Keep the Lights
2021-12-02   2021-12-03 ics/afghan-ambassador-adela-raz.html        On                                          By Jennifer Steinhauer           TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/02/us/polit
                        ics/asylum-seekers-immigration-mexico-                                                  By Eileen Sullivan and Oscar
2021-12-02   2021-12-03 usa.html                                    Remain in Mexico Policy to Resume           Lopez                            TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/02/us/polit Hint of BidenPutin Meeting As Countries
2021-12-02   2021-12-03 ics/blinken-lavrov-russia-ukraine.html      Trade Warnings Over Ukraine and NATO        By Michael Crowley               TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/02/us/polit Election Workers Targeted by ProTrump
2021-12-02   2021-12-03 ics/gateway-pundit-defamation-lawsuit.html Media Sue for Defamation                     By Reid J Epstein                 TX 9-131-897   2022-02-01




                                                                                Page 3079 of 5793
                        https://www.nytimes.com/2021/12/02/us/polit
                        ics/government-shutdown-congress-spending- Spending Bill Passes After Senate
2021-12-02   2021-12-03 deal.html                                   Republicans Drop Threat of Shutdown          By Emily Cochrane                TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/02/us/polit Review Finds No Answers About Havana         By Julian E Barnes and Adam
2021-12-02   2021-12-03 ics/havana-syndrome.html                    Syndrome                                     Goldman                          TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/02/us/polit Democratic Pollsters Warning About the
2021-12-02   2021-12-03 ics/midterm-election-polls.html             Midterms We Have a Problem                   By Jonathan Martin               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/02/us/san-
                        francisco-omicron-mask-mandate-             A City That Followed the Covid Rules Braces By Erin Woo Shawn Hubler and Jill
2021-12-02   2021-12-03 lockdown.html                               for More                                     Cowan                            TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/02/us/scho
2021-12-02   2021-12-03 ol-shooting-drills-oxford-high.html         Are Shooter Drills at Schools Really Helping By Dana Goldstein                TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/02/world/a Former Argentine Leader Is Charged With
2021-12-02   2021-12-03 mericas/marci-submarine-espionage.html      Spying On Dead Sailors Families              By Daniel Politi                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/02/world/a To Elude Chinas Censors Online Chatter Gets By Amy Chang Chien and
2021-12-02   2021-12-03 sia/peng-shuai-china-tennis.html            Creative About the Spat                      Alexandra Stevenson              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/02/world/c
2021-12-02   2021-12-03 lean-water-to-drink.html                    What Does It Mean to Supply Clean Water      By Lucy Tompkins                 TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/02/world/e Merkels Message to Germany as She Bade It
2021-12-02   2021-12-03 urope/angela-merkel-farewell-germany.html Farewell Trust One Another                 By Katrin Bennhold                    TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/02/world/e Austrian Politics Shaken as Both
2021-12-02   2021-12-03 urope/austria-kurz-successor-resignation.html ExChancellor and His Successor Depart      By Steven Erlanger                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/world/e Migration Debate Is Surging in France Even if
2021-12-02   2021-12-03 urope/french-election-immigration.html        Migration Is Not                           By Norimitsu Onishi               TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/02/world/e New Policies In Germany Further Limit
2021-12-02   2021-12-03 urope/germany-unvaccinated-restrictions.html Unvaccinated                                By Christopher F Schuetze         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/world/e Ruling Against a British Tabloid Spares
2021-12-02   2021-12-03 urope/meghan-markle-tabloid-lawsuit.html     Meghan the Spectacle of a Trial             By Mark Landler                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/world/e
                        urope/omicron-travel-restrictions-united-    Travelers to US Fret Over Tightened Covid
2021-12-02   2021-12-03 states.html                                  Test Result Rule                            By Mark Landler                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/world/e Pope Travels to Cyprus In Quest to Aid
2021-12-02   2021-12-03 urope/pope-francis-cyprus-migrants.html      Migrants                                    By Jason Horowitz                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/world/e Spains Vaccine Rate May Be Solid Shield
2021-12-02   2021-12-03 urope/spain-omicron.html                     Against New Variant                         By Nicholas Casey                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/world/e UN Appeals To Donors For Big Jump In
2021-12-02   2021-12-03 urope/united-nations-funding.html            Funding                                     By Nick CummingBruce              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/world/g What Does It Mean to Reduce Extreme
2021-12-02   2021-12-03 lobal-poverty-united-nations.html            Poverty                                     By Lucy Tompkins                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/busines Chinese Tech Giant Moves To Leave US          By Alexandra Stevenson and Paul
2021-12-03   2021-12-03 s/china-didi-delisting.html                  Stock Market                                Mozur                             TX 9-131-897   2022-02-01




                                                                                 Page 3080 of 5793
                        https://www.nytimes.com/2021/12/02/movies/ Baldwin Says of Death on Set I Would Never By Simon Romero Graham Bowley
2021-12-03   2021-12-03 alec-baldwin-interview-rust-shooting.html   Point a Gun at Anyone and Pull a Trigger  and Julia Jacobs              TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/02/nyregio
                        n/juan-alessi-testimony-ghislaine-          Former Employee Says Maxwell Set Strict
2021-12-03   2021-12-03 maxwell.html                                Rules In Epstein Florida House            By Lola Fadulu                TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/02/opinion Abortion The Voice of the Ambivalent
2021-12-03   2021-12-03 /abortion-ambivalent-majority.html          Majority                                  By David Brooks               TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/02/opinion Congress Gets the Working Christmas It
2021-12-03   2021-12-03 /congress-budget-shutdown-debt.html         Deserves                                  By Michelle Cottle            TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/02/opinion
2021-12-03   2021-12-03 /republicans-government-shutdown.html       How Saboteurs Took Over The GOP           By Paul Krugman               TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/02/sports/b The Lockout Begins With Dueling News
2021-12-03   2021-12-03 aseball/mlb-lockout-manfred-clark.html      Conferences                               By James Wagner               TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/02/sports/t
2021-12-03   2021-12-03 ennis/steve-simon-peng-shuai-wta.html       Meet the Man Who Stood Up To China        By Matthew Futterman          TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/02/us/mon Prairies Burn in Montana Amid Record Heat
2021-12-03   2021-12-03 tana-wildfire-drought.html                  Wave                                      By Jim Robbins                TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/02/us/polit Bidens New Plan to Tame Covid19 Pivots to
2021-12-03   2021-12-03 ics/biden-omicron-covid-testing.html        Testing                                   By Sheryl Gay Stolberg        TX 9-131-897       2022-02-01

                        https://www.nytimes.com/2021/12/02/world/a Past Infection Is Little Defense Against      By Lynsey Chutel and Richard
2021-12-03   2021-12-03 frica/virus-omicron-variant-reinfection.html Omicron South Africa Finds                  PrezPea                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/insider/
                        pandemic-disruption-through-one-students-
2021-12-03   2021-12-03 story.html                                   Six Months With One Student                 By Terence McGinley            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/movies/
2021-12-03   2021-12-03 diary-of-a-wimpy-kid-review.html             Diary of a Wimpy Kid                        By Nicolas Rapold              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/world/a
                        mericas/brazil-climate-change-barren-        Transforming Brazils Fertile Northeast to   By Jack Nicas and Victor
2021-12-03   2021-12-03 land.html                                    Desert in Slow Motion                       Moriyama                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/22/busines Flight Instead of a Ride Electric Craft May
2021-11-22   2021-12-04 s/air-taxi-aviation-electric.html            Alter Urban Area Commuting                  By Gautham Nagesh              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/23/arts/mu His Ears Are Wide Open To All the Great
2021-11-23   2021-12-04 sic/prince-paul-spotify-podcast.html         Albums                                      By Iman Stevenson              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/opinion
2021-12-01   2021-12-04 /smart-car-technology.html                   The Look of Cars Is Boring Me to Tears      By Farhad Manjoo               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/sports/b Don Demeter 86 a Dodger Who Fell Short of
2021-12-01   2021-12-04 aseball/don-demeter-dead.html                Hype                                        By Richard Goldstein           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/arts/des
                        ign/stuart-weitzman-jewish-history-          A Shoe Designer Puts A Museum on Solid
2021-12-02   2021-12-04 museum.html                                  Footing                                     By James Barron                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/opinion She Was Handcuffed Naked in Her Home
2021-12-02   2021-12-04 /anjanette-young-police-justice.html         Will She Ever See Justice                   By Esau McCaulley              TX 9-131-897   2022-02-01




                                                                                Page 3081 of 5793
                        https://www.nytimes.com/2021/12/02/opinion
2021-12-02   2021-12-04 /coney-barrett-abortion-supreme-court.html The Only Mother on the Court                  By Melissa Murray                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/arts/des
                        ign/jerrell-gibbs-elijah-cummings-           From a Baltimore Garage To the Halls of
2021-12-03   2021-12-04 portrait.html                                Congress                                    By Hilarie M Sheets               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/arts/mu Franz Streitwieser 82 Trumpeter With Brass
2021-12-03   2021-12-04 sic/franz-streitwieser-dead.html             Trove                                       By Annabelle Williams             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/arts/mu
2021-12-03   2021-12-04 sic/met-opera-tosca.html                     A Fiery Energy Ignites the Mets Tosca       By Anthony Tommasini              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/arts/tele
2021-12-03   2021-12-04 vision/annie-live-review.html                The Sun as Always Came Out                  By Noel Murray                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/books/r
2021-12-03   2021-12-04 eview-anomaly-herve-le-tellier.html          Man They Had a Dreadful Flight              By Sarah Lyall                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/busines Window to Tackle Debt Limit and Avoid         By Alan Rappeport and Emily
2021-12-03   2021-12-04 s/economy/debt-ceiling-xdate.html            Default Shrinks Think Tank Says             Cochrane                          TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/03/busines Conflicting Data On Jobs Muddle Outlook in    By Nelson D Schwartz and Talmon
2021-12-03   2021-12-04 s/economy/november-2021-jobs-report.html US                                              Joseph Smith                    TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/03/busines                                               By Michael Corkery and Sapna
2021-12-03   2021-12-04 s/retailers-robberies-theft.html            Thefts Become More Brazen And Violent        Maheshwari                      TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/03/busines
                        s/softbank-marcelo-claure-masayoshi-        Top Officer At SoftBank Raises Ante In Pay
2021-12-03   2021-12-04 son.html                                    Fight                                        By Maureen Farrell                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/busines
2021-12-03   2021-12-04 s/us-stock-market-today.html                Wall Street Wavers After Mixed Jobs Report   By Coral Murphy Marcos            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/climate Next to Tidy Lawns One Yard Brims With        By Cara Buckley and Karsten
2021-12-03   2021-12-04 /climate-change-biodiversity.html           Wonders of Creation                          Moran                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/climate 50 Billion Conundrum Who Gets Climate
2021-12-03   2021-12-04 /climate-change-infrastructure-bill.html    Protection                                   By Christopher Flavelle           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/health/l An Excruciating Journey Back From Long       By Pam Belluck and Alex
2021-12-03   2021-12-04 ong-covid-treatment.html                    Covid                                        Wroblewski                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/movies/
2021-12-03   2021-12-04 netflix-holiday-christmas.html              Ranking Netflixs Holiday Catalog             By Elisabeth Vincentelli          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/movies/ His New Film Is About a Nun Jesus May Be
2021-12-03   2021-12-04 paul-verhoeven-benedetta.html               Next                                         By Elisabeth Vincentelli          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/nyregio Columbia Student Dies In Stabbing Near
2021-12-03   2021-12-04 n/columbia-student-stabbed.html             Campus                                       By Troy Closson and Lola Fadulu   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/nyregio Upstate New York Hospital Workers
2021-12-03   2021-12-04 n/covid-cases-surge-upstate-ny.html         Overwhelmed as Covid Cases Surge             By Sharon Otterman                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/nyregio Sexual Harassment Claims Against Cuomo
2021-12-03   2021-12-04 n/cuomo-justice-department-inquiry.html     Are Focus Of US Civil Rights Inquiry         By Luis FerrSadurn                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/nyregio
                        n/mount-vernon-police-abuse-misconduct-     US Civil Rights Inquiry Targets New York
2021-12-03   2021-12-04 investigation.html                          Suburb                                       By Troy Closson                   TX 9-131-897   2022-02-01



                                                                                Page 3082 of 5793
                        https://www.nytimes.com/2021/12/03/opinion The Supreme Court Gaslights Its Way to the
2021-12-03   2021-12-04 /abortion-supreme-court.html               End of Roe                                    By Linda Greenhouse             TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/03/sports/b RecordBreaking 73Point Loss Not
2021-12-03   2021-12-04 asketball/grizzlies-thunder-record-loss.html Necessarily Who Thunder Are                 By Victor Mather                TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/03/sports/b
                        asketball/portland-trail-blazers-neil-       Trail Blazers Fire Their General Manager
2021-12-03   2021-12-04 olshey.html                                  After Inquiry Into Workplace Conduct        By Sopan Deb                    TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/03/sports/n
                        caafootball/deion-sanders-jackson-state-     At Jackson State the Prime Effect
2021-12-03   2021-12-04 football.html                                Reverberates                                By Alanis Thames                TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/03/sports/p Where Major Sports Now Stand on Holding
2021-12-03   2021-12-04 eng-shuai-china-sports.html                  Competitions in China                       By Victor Mather                TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/03/technol In ShakeUp at Twitter 2 Top Executives Will
2021-12-03   2021-12-04 ogy/twitter-engineering-design-shakeup.html Exit                                        By Kate Conger                   TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/03/upshot/ Once You Get Past the Big Number
2021-12-03   2021-12-04 jobs-report-unemployment-falls.html         Novembers Jobs Report Isnt Bad              By Neil Irwin                    TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/03/us/coro Nebraska Lab Tracks Variant Finding
2021-12-03   2021-12-04 navirus-omicron-sequencing.html             Cluster                                     By Mitch Smith                   TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/03/us/cru
                        mbley-parents-charged-michigan-             Suspects Parents Charged In Michigan School
2021-12-03   2021-12-04 shooting.html                               Attack                                      By Jack Healy                    TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/03/us/kim Jury Seated in Trial Over Fatal Police
2021-12-03   2021-12-04 berly-potter-trial-jury.html                Shooting                                    By Nicholas BogelBurroughs       TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/03/us/polit Biden Releases Doctors Note Its a Cold From
2021-12-03   2021-12-04 ics/biden-sick-cold.html                    His Grandson                                By Jim Tankersley                TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/03/us/polit Stu Rasmussen 73 Dies First Openly
2021-12-03   2021-12-04 ics/stu-rasmussen-dead.html                 Transgender Mayor in United States          By Clay Risen                    TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/03/us/susa Susan Rosenblatt Lawyer Who Took On Big
2021-12-03   2021-12-04 n-rosenblatt-dead.html                      Tobacco Dies at 70                          By Neil Genzlinger               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/03/world/a Lamine Diack 88 Official Convicted of
2021-12-03   2021-12-04 frica/lamine-diack-dead.html                Taking Bribes                               By Aina J Khan                   TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/03/world/a The Taliban Settle In By Evicting Afghans     By Thomas GibbonsNeff Yaqoob
2021-12-03   2021-12-04 sia/afghanistan-land-ownership-taliban.html From Their Homes                             Akbary and Jim Huylebroek       TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/03/world/e Boy 6 Whose Parents Died in Crash Returns     By Elisabetta Povoledo and Ronen
2021-12-03   2021-12-04 urope/eitan-biran-israel-italy.html        to Italy From Israel After a Custody Battle   Bergman                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/world/e In Cyprus Pope Laments Culture of
2021-12-03   2021-12-04 urope/pope-francis-cyprus-migrants.html    Indifference Over Migrant Struggle            By Jason Horowitz               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/03/world/
                        middleeast/iran-nuclear-negotiations-
2021-12-03   2021-12-04 europeans.html                             Iran Nuclear Talks Head for Collapse          By Steven Erlanger              TX 9-131-897    2022-02-01




                                                                                Page 3083 of 5793
                        https://www.nytimes.com/2021/12/03/world/
                        middleeast/israel-shira-isakov-domestic-     Battery Survivor Challenges Israels Views on
2021-12-03   2021-12-04 violence.html                                Violence Against Women                       By Isabel Kershner              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/your-
2021-12-03   2021-12-04 money/christmas-trees-cost.html              Christmas Trees Pricier but Not Scarce       By Ann Carrns                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/article/mlb-         How the Lockout Works Whats at Stake and
2021-12-03   2021-12-04 lockout.html                                 Whats Next                                   By James Wagner                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/live/2021/12/03/bus
                        iness/jobs-report-stock-market/the-treasury-
                        department-declined-to-label-any-country-a-
                        currency-manipulator-but-criticized-chinas- Treasury Calls No Country Manipulator Of
2021-12-03   2021-12-04 lack-of-transparency                         Currency                                     By Alan Rappeport               TX 9-131-897   2022-02-01

                        https://www.nytimes.com/live/2021/12/03/nyr
                        egion/ghislaine-maxwell-trial/takeaways-from-Massage Table Opened in Trial Of Confidante By Rebecca Davis OBrien and
2021-12-03   2021-12-04 the-fifth-day-of-ghislaine-maxwells-trial    To Epstein                                  Colin Moynihan                   TX 9-131-897   2022-02-01

                        https://www.nytimes.com/live/2021/12/03/wo
                        rld/omicron-variant-covid/omicron-is-
                        spreading-more-than-twice-as-quickly-as-the-
2021-12-03   2021-12-04 delta-variant-in-south-africa-scientists-report Omicron May Spread Fast Data Says        By Apoorva Mandavilli            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/03/us/polit Spyware Used To Hack Phones At US            By Katie Benner David E Sanger
2021-12-04   2021-12-04 ics/phone-hack-nso-group-israel-uganda.html Embassy                                      and Julian E Barnes              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/nyregio On a US Military Base 11000 Afghans Are
2021-12-04   2021-12-04 n/afghan-refugees-nj-military-base.html     Starting Over                                By Tracey Tully                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/09/14/books/r
                        eview/nathaniel-philbrick-travels-with-
2021-09-14   2021-12-05 george.html                                 On the Road                                  By Richard Brookhiser            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/05/books/r
                        eview/a-carnival-of-snackery-david-
2021-10-05   2021-12-05 sedaris.html                                BiteSize                                     By Liana Finck                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/05/books/r
2021-10-05   2021-12-05 eview/taste-stanley-tucci.html              Chefs Kiss                                   By Frank Bruni                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/05/books/r
                        eview/the-mirror-and-the-palette-jennifer-
2021-10-05   2021-12-05 higgie.html                                 Pain and Glory                               By Celia Paul                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/05/books/r
                        eview/the-taking-of-jemima-boone-matthew-
2021-10-05   2021-12-05 pearl.html                                  Captive State                                By Julie Flavell                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/12/books/r
2021-10-12   2021-12-05 eview/on-animals-susan-orlean.html          The Cats Meow                                By Margaret Renkl                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/13/books/r
2021-10-13   2021-12-05 eview/oscar-wilde-matthew-sturgis.html      The Importance of Being Oscar                By David Hare                    TX 9-131-897   2022-02-01




                                                                                  Page 3084 of 5793
                        https://www.nytimes.com/2021/10/19/books/r
2021-10-19   2021-12-05 eview/orwells-roses-rebecca-solnit.html      Blooms                               By Suzannah Lessard    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/19/books/r
                        eview/the-writing-of-the-gods-rosetta-stone-
2021-10-19   2021-12-05 edward-dolnick.html                          Symbols on a Slab                    By Joshua Hammer       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/19/books/r
2021-10-19   2021-12-05 eview/unprotected-billy-porter.html          Testify                              By R Eric Thomas       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/21/books/r
2021-10-21   2021-12-05 eview/music-is-history-questlove.html        Living in America                    By Lauretta Charlton   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/22/books/r
                        eview/tiphanie-yanique-monster-in-the-
2021-10-22   2021-12-05 middle.html                                  It Takes a Village                   By Afia Atakora        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/23/books/r
                        eview/alan-cumming-baggage-tales-from-a-
2021-10-23   2021-12-05 fully-packed-life.html                       Master of Ceremonies                 By Dana Stevens        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/26/books/r
                        eview/lean-fall-stand-jon-mcgregor-storm-
2021-10-26   2021-12-05 george-stewart.html                          Heavy Weather                        By Blair Braverman     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/29/books/r
                        eview/in-the-shadow-of-the-empress-nancy-
2021-10-29   2021-12-05 goldstone.html                               The Queens Gambit                    By Caroline Weber      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/30/books/r
                        eview/1000-years-of-joys-and-sorrows-ai-
2021-10-30   2021-12-05 weiwei.html                                  Remembering as Resistance            By Jiayang Fan         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/02/books/r
                        eview/madam-polly-adler-debby-
2021-11-02   2021-12-05 applegate.html                               Sex and the City                     By Paulina Bren        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/02/books/r
                        eview/the-correspondents-judith-
2021-11-02   2021-12-05 mackrell.html                                Women Warriors                       By Christina Lamb      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/02/books/r
                        eview/the-hidden-case-of-ewan-forbes-zoe-
2021-11-02   2021-12-05 playdon.html                                 Man in Full                          By Sarah Schulman      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/06/books/r
2021-11-06   2021-12-05 eview/the-lyrics-paul-mccartney.html         With a Little Help From His Friend   By David Hajdu         TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/09/books/r
2021-11-09   2021-12-05 eview/lily-king-five-tuesdays-in-winter.html Full of Grace                        By Megan OGrady        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/16/books/r
2021-11-16   2021-12-05 eview/a-little-hope-ethan-joella.html        Townies                              By Claire Martin       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/16/books/r
2021-11-16   2021-12-05 eview/taste-makers-mayukh-sen.html           Fresh Fare                           By Hetty McKinnon      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/16/books/r
                        eview/the-sinner-and-the-saint-kevin-
2021-11-16   2021-12-05 birmingham.html                              Model Crime                          By Boris Fishman       TX 9-131-897   2022-02-01



                                                                                 Page 3085 of 5793
                        https://www.nytimes.com/2021/11/19/books/r
2021-11-19   2021-12-05 eview/capotes-women-laurence-leamer.html Cold Blood                                  By Craig Brown                     TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/19/books/r
2021-11-19   2021-12-05 eview/these-precious-days-ann-patchett.html Love Is All Around                       By Alex Witchel                    TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/20/books/r
2021-11-20   2021-12-05 eview/a-life-of-picasso-john-richardson.html Pictures From an Institution            By Siri Hustvedt                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/22/t-
2021-11-22   2021-12-05 magazine/colorful-knit-sweaters.html         Colorful Knits                          By Mari Maeda and Yuji Oboshi      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/22/t-
                        magazine/contemporary-wreaths-female-
2021-11-22   2021-12-05 florists.html                                Ring Cycle                              By Noor Brara                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/23/books/r
                        eview/luckhurst-hundley-grossman-dore-
2021-11-23   2021-12-05 gothic-books.html                            Enchantments                            By Molly Fitzpatrick               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/23/books/r
2021-11-23   2021-12-05 eview/myke-cole-the-bronze-lie.html          Warriors of Legend                      By Thomas E Ricks                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/23/books/r
                        eview/private-life-of-william-shakespeare-
2021-11-23   2021-12-05 lena-cowen-orlin.html                        The Man From Stratford                  By James Shapiro                   TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/23/t-
2021-11-23   2021-12-05 magazine/bethan-laura-wood-chandelier.html The Thing                                 By Nancy Hass                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/23/t-
2021-11-23   2021-12-05 magazine/hayao-miyazaki-studio-ghibli.html The Magicians Flight                      By Ligaya Mishan                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/24/books/r
2021-11-24   2021-12-05 eview/the-sentence-louise-erdrich.html     Starring Louise Erdrich as Herself        By Elisabeth Egan                  TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/24/style/fo
2021-11-24   2021-12-05 rever-bracelet-permanent-welded-catbird.html Permanently Joined at the Wrists        By Hilary Sheinbaum                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/24/t-
                        magazine/carpets-rugs-home-design-                                                   By Gisela Williams and Frederik
2021-11-24   2021-12-05 brussels.html                                All in Color                            Buyckx                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/24/t-
2021-11-24   2021-12-05 magazine/diamond-jewelry-hair.html           Light Up the Night                      By Anthony Cotsifas                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/25/movies/
                        haruki-murakami-drive-my-car-ryusuke-
2021-11-25   2021-12-05 hamaguchi.html                               How to Adapt an Authors Ambling Story   By Nicolas Rapold                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/25/t-
2021-11-25   2021-12-05 magazine/dior-bar-jacket.html                Diors Iconic Bar Jacket Inspires Anew   By Lindsay Talbot                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/25/t-
                        magazine/jonathan-pessin-collection-los-
2021-11-25   2021-12-05 angeles.html                                 Too Much Is Never Enough                By Kurt Soller and Philip Cheung   TX 9-131-897   2022-02-01



                                                                                  Page 3086 of 5793
                        https://www.nytimes.com/2021/11/26/t-                                                     By Ligaya Mishan Patricia Heal
2021-11-26   2021-12-05 magazine/humble-foods-poverty.html           A Poor Diet                                  and Martin Bourne                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/26/theater/
2021-11-27   2021-12-05 reactions-stephen-sondheim-death.html        Plenty of Praise for a Master of the Stage   By Scott Heller and Julia Jacobs   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/arts/tele
2021-11-29   2021-12-05 vision/colton-underwood-netflix.html         Coming Out and Coming Clean                  By Erik Piepenburg                 TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/29/opinion
2021-11-29   2021-12-05 /self-defense-guns-arbery-rittenhouse.html   A Bulletproof Defense                        By Tali Farhadian Weinstein        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/realesta
2021-11-29   2021-12-05 te/shopping-for-decorative-ceramics.html     Crafted by Hand Surging in Popularity        By Tim McKeough                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/style/w
2021-11-29   2021-12-05 hat-is-a-comfort-creator.html                New Balm Comfort Creators                    By Ezra Marcus                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/t-
                        magazine/joaquina-kalukango-amanda-
2021-11-29   2021-12-05 williams.html                                Joaquina Kalukango and Amanda Williams       By Nneka McGuire                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/t-
2021-11-29   2021-12-05 magazine/surrealism-art-met-exhibit.html     In Dreams Begin Responsibilities             By Kate Guadagnino                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/11/
                        29/magazine/matthew-mcconaughey-             Matthew McConaughey Is Not Afraid to Go
2021-11-29   2021-12-05 interview.html                               Down the Rabbit Hole                         By David Marchese                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/arts/des
                        ign/helen-pashgian-light-and-space-
2021-11-30   2021-12-05 movement.html                                Let There Be Light Lots of Light             By Lawrence Weschler               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/magazi
2021-11-30   2021-12-05 ne/dallas-architecture.html                  Postmodern Architecture                      By Rob Madole                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/magazi
2021-11-30   2021-12-05 ne/make-a-logo.html                          How to Make a Logo                           By Jaime Lowe                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/magazi
2021-11-30   2021-12-05 ne/overtime-elite-basketball-nba.html        Stream Team                                  By Bruce Schoenfeld                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/magazi
                        ne/religious-exemption-covid-vaccine-        It Is OK to Claim a Religious Exemption to
2021-11-30   2021-12-05 ethics.html                                  The Covid Vaccine                            By Kwame Anthony Appiah            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/30/movies/
2021-11-30   2021-12-05 uzo-aduba-national-champions-clydes.html In a Robe Uzo Aduba Relaxes to Soft Rock By Kathryn Shattuck                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/realesta
2021-11-30   2021-12-05 te/charleston-nc-house-restoration.html      They Didnt Want Another Project             By Tim McKeough                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/style/gu
2021-11-30   2021-12-05 ccis-criticize-house-of-gucci.html           The Guccis Fight to Protect the Family Name By Vanessa Friedman                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/style/jil
2021-11-30   2021-12-05 l-biden-white-house-christmas.html           Decking the Halls With Normalcy             By Vanessa Friedman                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/t-
                        magazine/bethan-laura-wood-home-
2021-11-30   2021-12-05 design.html                                  Fantastic Voyage                            By Meara Sharma                     TX 9-131-897   2022-02-01



                                                                                   Page 3087 of 5793
                        https://www.nytimes.com/2021/11/30/t-
                        magazine/hayao-miyazaki-tony-kushner-
2021-11-30   2021-12-05 visionary.html                              The Wizards                                  By Hanya Yanagihara           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/t-
                        magazine/tony-kushner-caroline-west-
2021-11-30   2021-12-05 side.html                                   The Oracle Of The Upper West Side            By AO Scott                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/books/r
2021-12-01   2021-12-05 eview/magritte-alex-danchev.html            The WellMannered Surrealist                  By Deborah Solomon            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/magazi
2021-12-01   2021-12-05 ne/mark-zuckerberg-meta-art.html            Starry Eyes                                  By Dean Kissick               TX 9-131-897   2022-02-01
                                                                    A Cookie as Big as the Ritz Cross an
                                                                    American chocolatechip cookie with an
                        https://www.nytimes.com/2021/12/01/magazi elegant Parisian confection for this festive
2021-12-01   2021-12-05 ne/new-years-cookie-recipe.html             playful treat                                By Dorie Greenspan            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/magazi
2021-12-01   2021-12-05 ne/shadow-foster-care.html                  They Took Us Away From Each Other            By Lizzie Presser             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/opinion
                        /abortion-planned-parenthood-naral-roe-v-
2021-12-01   2021-12-05 wade.html                                   Losing the Fight Over Abortion               By Amy Littlefield            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/opinion
2021-12-01   2021-12-05 /christmas-hanukkah-holiday-gifts.html      Giving Up Holiday Gifts                      By Jessica Grose              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/opinion
2021-12-01   2021-12-05 /haiti-commission-government.html           The US Is Hindering Our Plan to Save Haiti   By Monique Clesca             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/realesta
                        te/home-prices-georgia-the-district-of-     500000 Homes in Georgia the District of
2021-12-01   2021-12-05 columbia-and-florida.html                   Columbia and Florida                         By Angela Serratore           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/realesta
                        te/kingston-ny-a-historic-hudson-city-
2021-12-01   2021-12-05 preparing-for-better-opportunities.html     Rip Van Winkle Slept Here Woke Up Too        By Dave Caldwell              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/style/ba Turning Online Hate Into a Source of Body
2021-12-01   2021-12-05 by-tate.html                                Positivity                                   By Sandra E Garcia            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/t-
                        magazine/hanukkah-challah-recipe-batsheva-
2021-12-01   2021-12-05 hay.html                                    A Sweet Hanukkah Challah                     By Nancy Coleman              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/t-
2021-12-01   2021-12-05 magazine/meriem-bennani-2-lizards.html      An Artist of the Virtual World               By Sasha Weiss                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/t-
                        magazine/savannah-georgia-home-                                                          By Monica Nelson and Peyton
2021-12-01   2021-12-05 design.html                                 Back to the Future                           Fulford                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/theater/
                        company-stephen-sondheim-marianne-
2021-12-01   2021-12-05 elliott.html                                Sondheim Reveled In New Company              By Michael Paulson            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/theater/ Cherished Words From the Encourager in
2021-12-01   2021-12-05 stephen-sondheim-mentor-notes.html          Chief                                        By Laura CollinsHughes        TX 9-131-897   2022-02-01




                                                                                Page 3088 of 5793
                        https://www.nytimes.com/2021/12/02/arts/aki
2021-12-02   2021-12-05 ho-sandbox-percussion-seven-pillars.html     One Composer Four Players Seven Pillars      By Zachary Woolfe                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/arts/dan
2021-12-02   2021-12-05 ce/the-lab-studio-los-angeles.html           Mothers of Reinvention The Lab Pivots        By Margaret Fuhrer               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/magazi
2021-12-02   2021-12-05 ne/abortion-parent-mother-child.html         The Abortion I Didnt Have                    By Merritt Tierce                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/magazi
                        ne/judge-john-hodgman-on-whether-his-
2021-12-02   2021-12-05 letters-are-real-or-not.html                 Bonus Advice From Judge John Hodgman         By John Hodgman                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/magazi
                        ne/poem-thought-at-first-that-grief-had-     Poem Thought at first that grief had brought By Ellen Bryant Voigt and
2021-12-02   2021-12-05 brought-him-down.html                        him down                                     Reginald Dwayne Betts            TX 9-131-897   2022-02-01
                                                                     The toddler was bowlegged her gait awkward
                        https://www.nytimes.com/2021/12/02/magazi What the orthopedist saw on her Xrays
2021-12-02   2021-12-05 ne/x-linked-hypophosphatemia-diagnosis.html surprised him                                 By Lisa Sanders MD               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/needies
                        t-cases/for-parents-a-lifeline-in-           A Lifeline in Unemployment and a Path to
2021-12-02   2021-12-05 unemployment.html                            Their Childrens Dreams                       By Emma Grillo                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/nyregio
2021-12-02   2021-12-05 n/joseph-gordon-parole-murder.html           At 78 He Still Says Hes No Murderer          By Tom Robbins                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/opinion
2021-12-02   2021-12-05 /politics/child-poverty-us.html              The Solution to Poverty Invest in Kids       By David L Kirp                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/realesta
                        te/house-hunting-in-chile-a-sinuous-
2021-12-02   2021-12-05 oceanfront-wonder-for-2-million.html         A Home as Sinuous as the Pacific Shoreline By Michael Kaminer                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/realesta
                        te/your-future-landlord-just-outbid-you-for-
2021-12-02   2021-12-05 that-house.html                              Sold to the Investor Not to You              By Michael Kolomatsky            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/sports/f Fantasy Could Come True if Mixon Is on
2021-12-02   2021-12-05 ootball/nfl-week-13-picks.html               Your Team                                    By Emmanuel Morgan               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/sports/f
                        ootball/patrick-mahomes-interceptions-       Trying to Explain All Those Picks by
2021-12-02   2021-12-05 chiefs.html                                  Mahomes                                      By Ben Shpigel                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/style/art Leonardo DiCaprio and Sean Penn Party at
2021-12-02   2021-12-05 basel-parties.html                           Art Basel                                    By Diana Tsui and Denny Lee      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/style/da
2021-12-02   2021-12-05 d-secret-relationship-social-qs.html         Dont Push Dad                                By Philip Galanes                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/style/e
2021-12-02   2021-12-05 mojis-most-used.html                         No 1 Emoji Gets Eye Roll From Gen Z          By Anna P Kambhampaty            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/t-                                                     By Christopher Garis and Simon
2021-12-02   2021-12-05 magazine/dar-zero-tangier-home.html          The Tribute                                  Watson                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/t-
2021-12-02   2021-12-05 magazine/polka-dots-fashion.html             Bright Spots                                 By Nick Haramis                  TX 9-131-897   2022-02-01




                                                                                 Page 3089 of 5793
                                                                     Historic Jackson Heights or Astoria
                        https://www.nytimes.com/interactive/2021/12/ Waterfront A Chicago Transplant Considers
2021-12-02   2021-12-05 02/realestate/02hunt-holt.html               Queens                                       By Joyce Cohen                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/arts/mu
2021-12-03   2021-12-05 sic/arca-kick.html                           Pressing Boundaries to Build Worlds          By Isabelia Herrera           TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/03/arts/tele
2021-12-03   2021-12-05 vision/and-just-like-that-sex-and-the-city.html Carrie and the Gang Hit Their 50s         By Alexis Soloski             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/books/a Almudena Grandes 61 Novelist of Spains
2021-12-03   2021-12-05 lmudena-grandes-dead.html                       Marginalized                              By Raphael Minder             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/books/r
2021-12-03   2021-12-05 eview/childrens-holiday-gift-books.html         Childrens Holiday Gift Books              By Catherine Hong             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/books/r
                        eview/murder-maps-usa-adam-selzer-atlas-of-
                        imagined-places-matt-brown-rhys-b-davies-
2021-12-03   2021-12-05 .html                                           Cartographic Adventures                   By Tina Jordan                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/books/r
2021-12-03   2021-12-05 eview/new-paperbacks.html                       Paperback Row                             By Miguel Salazar             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/books/r
2021-12-03   2021-12-05 eview/new-science-fiction-fantasy.html          Otherworldly                              By Amal ElMohtar              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/busines Wall Street Makes Forecasts Despite Winds
2021-12-03   2021-12-05 s/omicron-stock-market-forecasts.html           of Change                                 By Jeff Sommer                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/03/busines Sharing Money Lessons To Build Wealth
2021-12-03   2021-12-05 s/personal-finance-influencers-retirement.html That Lasts                             By Coral Murphy Marcos            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/busines Ralph E Ablon 105 Pioneer of Conglomerates
2021-12-03   2021-12-05 s/ralph-e-ablon-dead.html                      Dies                                   By Sam Roberts                    TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/03/nyregio
2021-12-03   2021-12-05 n/brooklyn-botanic-garden-holiday-lights.html A Therapy Lamp to Fight the Darkness        By Ginia Bellafante           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/nyregio
2021-12-03   2021-12-05 n/jacqui-lewis-middle-collegiate.html         After the Sermon a Time to Break Bread      By Tammy La Gorce             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/nyregio
2021-12-03   2021-12-05 n/park-east-synagogue-rabbi.html              Synagogues Feud Spills Into Public View     By Liam Stack                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/nyregio
2021-12-03   2021-12-05 n/supply-chain-crisis-nyc.html                Steering Clear of the Supply Chain Crisis   By Alyson Krueger             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/opinion The Trump Conspiracy Is Hiding in Plain
2021-12-03   2021-12-05 /trump-bannon-2024.html                       Sight                                       By Jamelle Bouie              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/opinion                                                By Anita Sreedhar and Anand
2021-12-03   2021-12-05 /vaccine-hesitancy-covid.html                 What Causes Vaccine Hesitancy               Gopal                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/realesta
                        te/affordable-housing-nyc-hotel-
2021-12-03   2021-12-05 conversions.html                              Empty Hotels Not Enough Housing             By Stefanos Chen              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/realesta How We Can Get Our Holiday Party Groove
2021-12-03   2021-12-05 te/hosting-holiday-party-covid.html           Back                                        By Ronda Kaysen               TX 9-131-897   2022-02-01



                                                                                Page 3090 of 5793
                        https://www.nytimes.com/2021/12/03/sports/b
2021-12-03   2021-12-05 aseball/lamarr-hoyt-dead.html               LaMarr Hoyt 66 AwardWinning Pitcher          By Richard Goldstein             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/sports/s
2021-12-03   2021-12-05 occer/juventus-demise.html                  Juventus Chasing Style Forgets the Substance By Rory Smith                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/sports/s How Fast Can a Person Fall to Earth These
2021-12-03   2021-12-05 peed-skydiving-athletes.html                Skydivers Are Racing to Find Out             By David Gardner                 TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/03/style/an Their Second Date Could Have Been Their
2021-12-03   2021-12-05 drew-shoulders-charles-reese-ii-wedding.html Last                                       By Nina Reyes                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/style/an
                        sel-elgort-and-offset-party-during-art-
2021-12-03   2021-12-05 basel.html                                   The Heat Was Back On in Miami              By Diana Tsui                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/style/av
2021-12-03   2021-12-05 ital-epstein-gal-cassif-wedding.html         He Was the Buli to Her Schmuli             By Jenny Block                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/style/da
                        nnie-lynn-fountain-kaitlyn-murphy-
2021-12-03   2021-12-05 wedding.html                                 The NonNegotiables Were a NonIssue         By Rosalie R Radomsky             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/style/da For a Master of the Halfpipe a Full
2021-12-03   2021-12-05 nny-davis-hayley-simpson-wedding.html        Commitment                                 By Vincent M Mallozzi             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/style/he
                        trick-martin-institute-unicef-citymeals-on-
2021-12-03   2021-12-05 wheels.html                                  A DanceOff On the Pier                     By Denny Lee                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/style/m
                        odern-love-nicely-packaged-pain-delivery-    Not Another Nicely Packaged PainDelivery
2021-12-03   2021-12-05 system.html                                  System                                     By Judith Fetterley               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/style/m
2021-12-03   2021-12-05 olly-abrams-marcus-moss-wedding.html         It Was One Sign After Another              By Jenny Block                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/style/sa
                        mantha-fleischman-allison-saltstein-
2021-12-03   2021-12-05 wedding.html                                 In the Nick of Time a Connection           By Vincent M Mallozzi             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/style/za
2021-12-03   2021-12-05 ck-clark-zack-lewis-wedding.html             When Lewis Met Clark and Zack Met Zack     By Tammy La Gorce                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/t-
2021-12-03   2021-12-05 magazine/john-coltrane-church.html           The Savior                                 By MH Miller                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/t-                                                   By Hannah Kirshner and Ben
2021-12-03   2021-12-05 magazine/kazunori-hamana-studio.html         The Shape of Life                          Richards                          TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/03/t-
2021-12-03   2021-12-05 magazine/lesbian-representation-tv-film.html The Whole Story                            By Maya Salam                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/technol
2021-12-03   2021-12-05 ogy/amazon-bookstore.html                    What Happened to Amazons Bookstore         By David Streitfeld               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/world/a A Noisy Filthy City Hangout Is Back Cheers
2021-12-03   2021-12-05 mericas/rio-de-janeiro-bars.html             to That                                    By Jack Nicas and Dado Galdieri   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/world/a Philippine Nobel Laureate May Visit Oslo
2021-12-03   2021-12-05 sia/maria-ressa-nobel-peace-prize.html       Court Says                                 By SuiLee Wee                     TX 9-131-897   2022-02-01



                                                                                Page 3091 of 5793
                        https://www.nytimes.com/2021/12/03/world/c Congo Ousts Top Leader Of State Mining
2021-12-04   2021-12-05 ongo-cobalt-albert-yuma-mulimbi.html        Company                                     By Eric Lipton and Dionne Searcey TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/busines Anchor Is Fired As CNN Reviews Cuomo         By Michael M Grynbaum John
2021-12-04   2021-12-05 s/media/chris-cuomo-fired-cnn.html          Scandal                                     Koblin and Jodi Kantor            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/busines
2021-12-04   2021-12-05 s/media/conde-nast-anna-wintour.html        Cond Nast Knows Faded Glory Is Not in Style By Katie Robertson                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/busines Public Displays of Resignation Flood Social
2021-12-04   2021-12-05 s/public-resignation-quitting.html          Media Feeds                                 By Emma Goldberg                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/health/c
2021-12-04   2021-12-05 ovid-variant-south-africa-hiv.html          A Variant Hunt From the Labs To Dirt Roads By Stephanie Nolen                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/nyregio Supply Chain Issues Threaten New York
2021-12-04   2021-12-05 n/cream-cheese-shortage-nyc-bagels.html     Ritual Bagel and a Schmear                  By Ashley Wong                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/nyregio Any Tree Questions Ask the Mayor of
2021-12-04   2021-12-05 n/rockefeller-center-greeter-mayor.html     Rockefeller Center                          By Corey Kilgannon                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/opinion
2021-12-04   2021-12-05 /biden-covid-vaccine-omicron.html           Biden Can Do Better On Covid                By Ross Douthat                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/opinion
2021-12-04   2021-12-05 /josh-hawley-republican-manliness.html      The GOPs Mission to Save Men                By Liza Featherstone              TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/04/opinion
2021-12-04   2021-12-05 /prosecutor-misconduct-new-york-doj.html   The ProsecutorProtection Racket            By The Editorial Board            TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/04/realesta Getting Deliveries in My Building Is Chaotic
2021-12-04   2021-12-05 te/package-delivery-apartment-buildings.html How Can I Fix This                          By Ronda Kaysen                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/04/science Dr Sherif R Zaki Acclaimed Detective of
2021-12-04   2021-12-05 /sherif-r-zaki-dead.html                     Infectious Disease Is Dead at 65            By Sam Roberts                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/04/sports/n
                        caafootball/college-football-coaching-       On Colleges Coaching Carousel Rewards
2021-12-04   2021-12-05 changes.html                                 Soar                                        By Alan Blinder                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/04/style/al
                        ok-vaid-menon-artist-nonbinary-poet-
2021-12-04   2021-12-05 activist.html                                Redefining Beauty Beyond Gender             By Julia Carmel                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/04/style/de
2021-12-04   2021-12-05 nzel-washington-man-on-fire.html             Sharp Focused and Always Ready to Inspire By Maureen Dowd                  TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/04/style/sy
2021-12-04   2021-12-05 lvia-weinstock-queen-of-cake.html            Remembering the Queen of Wedding Cakes By Alix Strauss                     TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/04/us/mich Shooting Suspects Parents Are Arrested and By Gerry Mullany Eduardo Medina
2021-12-04   2021-12-05 igan-shooting-parents-arrested.html          Charged                                     and Sophie Kasakove            TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/04/us/oxfo When a Student Raises Red Flags What Is the By Dana Goldstein Stephanie Saul
2021-12-04   2021-12-05 rd-high-school-responsibility-legal.html     Schools Responsibility                      and Sophie Kasakove            TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/04/us/polit GOP Voting Bills Raise the Stakes For Races
2021-12-04   2021-12-05 ics/gop-voting-rights-democrats.html         in 2022                                     By Nick Corasaniti             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/04/us/polit Jan 6 Panel Targets Obscure Law Trump        By Luke Broadwater and Nick
2021-12-04   2021-12-05 ics/jan-6-electoral-count-act.html           Tried to Use to Cling to Power              Corasaniti                     TX 9-131-897     2022-02-01




                                                                               Page 3092 of 5793
                        https://www.nytimes.com/2021/12/04/us/polit
                        ics/mississippi-supreme-court-abortion-roe-v- As Roe v Wade Teeters Trust in Supreme
2021-12-04   2021-12-05 wade.html                                     Court By Public May Tilt Too                By Adam Liptak                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/us/polit
2021-12-04   2021-12-05 ics/russia-ukraine-biden.html                 US Sees Russias Plan to Invade Ukraine      By Michael Crowley               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/world/a Spyware Hacks in Uganda Expand to
2021-12-04   2021-12-05 frica/uganda-hack-pegasus-spyware.html        Journalists and Opposition Figure           By Abdi Latif Dahir              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/world/a
2021-12-04   2021-12-05 sia/afghanistan-starvation-crisis.html        Hunger Catastrophe Looms in Afghanistan     By Christina Goldbaum            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/world/e Cocaine Tsunami Spreads Gangs Violence
2021-12-04   2021-12-05 urope/belgium-antwerp-cocaine.html            and Corruption Across Europe                By Elian Peltier                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/world/e
2021-12-04   2021-12-05 urope/eric-zemmour-france.html                An Agitator Tries to Win Votes la de Gaulle By Roger Cohen                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/sports/n
                        caafootball/alabama-georgia-sec-              Regaining Championship Form Tide Give the
2021-12-05   2021-12-05 championship.html                             Bulldogs Their First Loss                   By Alan Blinder                  TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/05/busines The Week in Business Uncertainty Over the
2021-12-05   2021-12-05 s/week-ahead-uncertainty-virus-economy.html New Virus Variant                           By Sarah Kessler                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/insider/
                        why-we-want-readers-to-choose-the-best-
2021-12-05   2021-12-05 book-of-the-past-125-years.html             Readers Choice at the Book Review           By Sarah Bahr                      TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/05/realesta
2021-12-05   2021-12-05 te/homes-that-sold-for-around-600000.html Homes That Sold for Around 600000           By C J Hughes                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/us/hurri Three Months After Hurricane Ida Still    By Sophie Kasakove and Katy
2021-12-05   2021-12-05 cane-ida-fema-housing.html                  Waiting for FEMA Housing                  Reckdahl                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/us/nath He Ran Without Firing a Shot And Ended Up
2021-12-05   2021-12-05 aniel-woods-alabama-sentenced.html          on Death Row                              By Dan Barry and Abby Ellin          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/us/polit Biden Facing Resistance on His Picks for
2021-12-05   2021-12-05 ics/biden-judges-senate-confirmation.html   Federal Judges After Early Winning Streak By Carl Hulse                        TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/05/us/polit How One Holdout on Bidens Agenda
2021-12-05   2021-12-05 ics/stephanie-murphy-democrats-biden.html Ultimately Helped to Salvage It               By Emily Cochrane                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2019/08/28/t-
2019-08-28   2021-12-05 magazine/fall-mens-sweaters.html            Colorful Knits                              By Clara Balzary and Sasha Kelly   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/26/travel/c Can California Tourism Survive Climate
2021-10-26   2021-12-06 alifornia-tourism-climate-change.html       Change                                      By Rachel Levin                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/busines UK Enlists Banks in Fight To Meet Its
2021-12-02   2021-12-06 s/natwest-britain-climate-bankers.html      Climate Goals                               By Eshe Nelson                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/busines                                              By Kellen Browning and Julie
2021-12-02   2021-12-06 s/video-game-consoles-scalpers.html         Santas Online Helpers                       Creswell                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/movies/
2021-12-02   2021-12-06 streaming-documentaries.html                Three Documentaries Hold the Drama          By Ben Kenigsberg                  TX 9-131-897   2022-02-01




                                                                                Page 3093 of 5793
                        https://www.nytimes.com/2021/12/02/opinion Why Peng Shuai Has Chinas Leaders
2021-12-02   2021-12-06 /peng-shuai-china-leaders.html              Spooked                                      By Leta Hong Fincher         TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/03/obituari Overlooked No More Julia Tuttle the Mother
2021-12-03   2021-12-06 es/julia-tuttle-overlooked.html             of Miami                                     By Elena Sheppard            TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/03/opinion
                        /adoption-supreme-court-amy-coney-          I Was Adopted I Know the Trauma It Can
2021-12-03   2021-12-06 barrett.html                                Inflict                                      By Elizabeth Spiers          TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/03/sports/h
                        ockey/turner-sports-nhl-tnt-gretzky-        Stars and Scrappers Banter as They Build A
2021-12-03   2021-12-06 bissonnette.html                            Show With Attitude                           By Jonathan Abrams           TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/03/world/e Teenager With a Metal Detector Finds a
2021-12-03   2021-12-06 urope/metal-detector-axe.html               3000YearOld Ax in England                    By Jenny Gross               TX 9-131-897     2022-02-01

                        https://www.nytimes.com/interactive/2021/12/
2021-12-03   2021-12-06 03/nyregion/holocaust-tree-planted-nyc.html Planting Hope in Lower Manhattan         By Sarah Maslin Nir              TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/04/arts/des
2021-12-04   2021-12-06 ign/art-basel-miami-diversity.html           A Sea Change at Art Basel Miami         By Robin Pogrebin                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/04/busines Private Equity Remains White Hot Could It
2021-12-04   2021-12-06 s/is-private-equity-overrated.html           Be Overvalued                           By Michelle Celarier             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/04/opinion
2021-12-04   2021-12-06 /rudeness-stress-culture.html                Rudeness Is On the Rise                 By Jennifer Finney Boylan        TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/04/us/tenn Rebel Symbols In Jury Room Win New Trial
2021-12-04   2021-12-06 essee-trial-jury-confederate-symbols.html    For Black Man                           By Vimal Patel                   TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/05/arts/dan
2021-12-05   2021-12-06 ce/alvin-ailey-city-center-black-power.html Exploring The Dimensions Of a New Era         By Gia Kourlas              TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/05/arts/des
                        ign/cambodian-effort-to-find-artifacts-wont- Source Dies as Cambodia Presses Artifacts
2021-12-05   2021-12-06 end-with-informants-death.html               Claims                                       By Tom Mashberg             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/05/arts/mu The Sounds of Progress From Suffrage to
2021-12-05   2021-12-06 sic/new-york-philharmonic.html               MeToo                                        By Anthony Tommasini        TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/05/arts/tele Eddie Mekka 69 a Star of Laverne amp
2021-12-05   2021-12-06 vision/eddie-mekka-dead.html                 Shirley Sitcom                               By Anita Gates              TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/05/arts/tele On the Nature of Evil And Autograph
2021-12-05   2021-12-06 vision/landscapers-review.html               Collecting                                   By Mike Hale                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/05/books/r
2021-12-05   2021-12-06 eview-fortune-men-nadifa-mohamed.html        An Account of a Man Black and Expendable By Dwight Garner                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/05/busines
2021-12-05   2021-12-06 s/maas-mobility-app.html                     Is One App the Future For All Public Transit By John Surico              TX 9-131-897     2022-02-01

                                                                                                               By Joseph Goldstein Julie Bosman
                        https://www.nytimes.com/2021/12/05/nyregio How Omicron Undetected Stayed a Step        Kimiko de FreytasTamura and Roni
2021-12-05   2021-12-06 n/nyc-anime-convention-omicron-cases.html Ahead                                        Caryn Rabin                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/obituari Stonewall Jackson 89 A Grand Ole Opry Star
2021-12-05   2021-12-06 es/stonewall-jackson-dead.html              For Over 60 Years Dies                     By Bill FriskicsWarren           TX 9-131-897   2022-02-01



                                                                                Page 3094 of 5793
                        https://www.nytimes.com/2021/12/05/opinion
                        /abortion-mississippi-constitutional-
2021-12-05   2021-12-06 rights.html                                 The Ghosts of Mississippi                 By Charles M Blow                      TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/05/sports/a Having Lead in Her Marathon Debut but Not
2021-12-05   2021-12-06 nnie-frisbie-nyc-marathon.html              Losing Perspective                        By Talya Minsberg                      TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/05/sports/f
2021-12-05   2021-12-06 ootball/eagles-jets-giants-dolphins-score.html Differing Excitement but Similar Failure      By Devin Gordon and Diante Lee TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/05/sports/n
                        caafootball/alabama-michigan-georgia-
2021-12-05   2021-12-06 cincinnati-college-football-playoff.html       Blue Bloods New Blood                         By Alan Blinder                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/sports/n
                        caafootball/michigan-iowa-big-ten-
2021-12-05   2021-12-06 championship.html                              This Year Wolverines Win in the Big Games By Alanis Thames                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/sports/o Alpine Skiing Prepares for Spotlight Touched
2021-12-05   2021-12-06 lympics/alpine-skiing-usa.html                 by Climate Change and Politics                By Matthew Futterman              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/theater/ Antony Sher 72 Shakespearean Actor Known
2021-12-05   2021-12-06 antony-sher-dead.html                          for His Versatility Dies                      By Roslyn Sulcas                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/upshot/ Without Roe Path to Abortion Would Be             By Claire Cain Miller and Margot
2021-12-05   2021-12-06 abortion-without-roe-wade.html                 Intricate and Costly                          SangerKatz                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/us/davi Perdue Is Said to Challenge Kemp in Georgia By Richard Fausset and Jonathan
2021-12-05   2021-12-06 d-perdue-georgia-governor.html                 Primary                                       Martin                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/us/dom
2021-12-05   2021-12-06 estic-violence-cases-police.html               A Case Through the Eyes of the Police         By Ellen Barry                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/us/mich Details Emerge About Parents of School            By Sophie Kasakove and Susan
2021-12-05   2021-12-06 igan-shooting-parents.html                     Shooting Suspect                              Cooper Eastman                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/us/polit Bob Dole 98 Senate Leader and Tenacious
2021-12-05   2021-12-06 ics/bob-dole-dead.html                         Son of the Prairie Dies                       By Katharine Q Seelye             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/us/polit Gracious and Savvy Dole Led in a Bipartisan
2021-12-05   2021-12-06 ics/bob-dole-senate.html                       Era                                           By Sheryl Gay Stolberg            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/us/polit
                        ics/us-military-ransomware-cyber-              US Military Has Acted Against Ransomware
2021-12-05   2021-12-06 command.html                                   Groups General Acknowledges                   By Julian E Barnes                TX 9-131-897   2022-02-01
                                                                                                                     By SuiLee Wee Elisabetta Povoledo
                        https://www.nytimes.com/2021/12/05/world/a Asia and Europe Feel the Pinch as Chinese         Muktita Suhartono and Lontine
2021-12-05   2021-12-06 sia/china-tourism-omicron-covid.html           Tourists Stay Home                            Gallois                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/world/a
2021-12-05   2021-12-06 sia/india-northeast-nagaland-civilians.html    14 Civilians Are Killed As Unrest Grips India By Sameer Yasir and Hari Kumar TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/05/world/a Military Truck Rams FlashMob Protest in
2021-12-05   2021-12-06 sia/myanmar-car-protesters-killed.html         Myanmar and Fatalities Are Reported           By SuiLee Wee                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/world/e Pope on Lesbos Denounces An Indifference
2021-12-05   2021-12-06 urope/pope-greece-migrants-lesbos.html         That Kills                                    By Jason Horowitz                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/world/e
2021-12-05   2021-12-06 urope/putin-russia-ukraine-troops.html         Putin Stays Fixed On Ukraine Claim            By Anton Troianovski              TX 9-131-897   2022-02-01




                                                                                 Page 3095 of 5793
                        https://www.nytimes.com/2021/12/05/world/e
                        urope/virus-europe-omicron-variant-        As Omicron Cases Spike Europe Fears        By Megan Specia and Isabella
2021-12-05   2021-12-06 restrictions.html                          Tougher Restrictions                       Kwai                             TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/05/world/ Built Upon Syrias Ruins A Drug Empire
2021-12-05   2021-12-06 middleeast/syria-drugs-captagon-assad.html Flourishes                                     By Ben Hubbard and Hwaida Saad TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/busines
2021-12-06   2021-12-06 s/media/tiktok-algorithm.html                 How TikTok Keeps Users Glued to It          By Ben Smith                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/sports/b
                        aseball/buck-oneil-gil-hodges-hall-of-        Passed Over Greats Of the Game Elected To
2021-12-06   2021-12-06 fame.html                                     the Hall of Fame                            By Tyler Kepner                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/sports/f
2021-12-06   2021-12-06 ootball/nfl-week-13-scores.html               What We Learned This Week                   By Tyler Dunne                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/theater/
2021-12-06   2021-12-06 mrs-doubtfire-review-broadway.html            A Scottish Nanny Caught in a Time Warp      By Maya Phillips               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/arts/tele
                        vision/whats-on-tv-this-week-landscapers-live-
2021-12-06   2021-12-06 in-front-of-a-studio-audience.html            This Week on TV                             By Gabe Cohn                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/busines                                                By Alexandra Stevenson and Cao
2021-12-06   2021-12-06 s/china-covid-vaccine-children.html           China Goads Littlest Ones To Take Shot      Li                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/nyregio
                        n/jeffrey-esptein-ghislaine-maxwell-trial-    Maxwell Trial May Turn on Central Question By Rebecca Davis OBrien and
2021-12-06   2021-12-06 strategy.html                                 How Close Was Epstein                       Benjamin Weiser                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/19/busines Gyms in Europe Aim To Lure Back People
2021-10-19   2021-12-07 s/fitness-industry-remote.html                After Lockdowns                             By Mark A Stein                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/25/well/eat
2021-11-25   2021-12-07 /eating-variety-effect-thanksgiving.html      Room for Dessert Its Scientific             By Tara ParkerPope             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/27/world/a
2021-11-27   2021-12-07 frica/omicron-covid-greek-alphabet.html       Heres How Omicron Was Given Its Name        By Vimal Patel                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/well/eat
2021-11-30   2021-12-07 /why-does-coffee-make-you-poop.html           Why Does Coffee Make Me Poop                By Alice Callahan              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/science
2021-12-01   2021-12-07 /haasts-eagle-vulture-new-zealand.html        Extinct Eagle May Have Eaten Like a Vulture By Sabrina Imbler              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/science Battling Pack When That Tail Started
2021-12-01   2021-12-07 /dinosaur-tail-weapon-ankylosaurs.html        Wagging Youd Have Started Running           By Asher Elbein                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/science
2021-12-01   2021-12-07 /hominin-footprints-tanzania.html             Tracking a Human Ancestor                   By Isabella Grulln Paz         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/science
2021-12-01   2021-12-07 /scientist-trust-poll.html                    Trust in Science Has Increased Globally     By Sabrina Imbler              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/well/m
2021-12-01   2021-12-07 ove/exercise-brain-health-alzheimers.html     Physical Activity and Aging Brains          By Gretchen Reynolds           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/science A Time Crunch On Tiny GJ 367 b Calendars
2021-12-02   2021-12-07 /iron-exoplanet-super-mercury.html            Have a Very Short Shelf Life                By Adam Mann                   TX 9-131-897   2022-02-01




                                                                               Page 3096 of 5793
                        https://www.nytimes.com/2021/12/02/science Feeding Time The Melting Arctic Is a
2021-12-02   2021-12-07 /killer-whales-arctic-ocean.html            Bonanza For the Oceans Natural Born Killers By Corinne Purtill                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/well/mi Our Favorite Books in 2021 for Healthy
2021-12-03   2021-12-07 nd/healthly-living-wellness-books.html      Living                                      By Tara ParkerPope                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/movies/
2021-12-03   2021-12-07 kodi-smit-mcphee-power-of-the-dog.html      The Thoughts of a SceneStealer              By Sarah Bahr                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/science Holy Abandonment To the Bat Cave Robin
2021-12-04   2021-12-07 /bats-moms-direction.html                   Sure but Leave the Bat Brats Behind         By Elizabeth Preston                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/arts/law Lawrence Weiner Artist Whose Medium Was
2021-12-05   2021-12-07 rence-weiner-dead.html                      Language Dies at 79                         By Randy Kennedy                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/nyregio
2021-12-05   2021-12-07 n/bitcoin-mining-upstate-new-york.html      The Climate Cost of a Bitcoin Boom          By Corey Kilgannon                   TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/05/opinion Is My Little Library Contributing to
2021-12-05   2021-12-07 /gentrification-los-angeles-little-library.html Gentrification                            By Erin Aubry Kaplan               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/05/world/a Norodom Ranariddh 77 Prime Minister Who
2021-12-06   2021-12-07 sia/prince-norodom-ranariddh-dead.html          Was Ousted in Coup in Cambodia            By Seth Mydans                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/arts/des
                        ign/weems-park-avenue-armory-shape-
2021-12-06   2021-12-07 review.html                                     Images That Shout Take Action             By Aruna DSouza                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/arts/mu Adele Remains at No 1 Holding Off Holiday
2021-12-06   2021-12-07 sic/adele-30-second-week-billboard.html         Favorites                                 By Ben Sisario                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/arts/mu
                        sic/grawemeyer-prize-orlando-olga-              GenreBlurring Politically Charged Opera
2021-12-06   2021-12-07 neuwirth.html                                   Wins Prize                                By Joshua Barone                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/arts/mu
2021-12-06   2021-12-07 sic/kennedy-center-honors.html                  A Tradition Resumes at the Kennedy Center By Emily Cochrane                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/arts/tele On the Stand Smollett Denies He Helped Plan
2021-12-06   2021-12-07 vision/jussie-smollett-trial-testimony.html     His Own Attack                            By Julia Jacobs and Mark Guarino   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/arts/tele
2021-12-06   2021-12-07 vision/landscapers-hbo.html                     True Crime Meets Hollywood Fantasy        By Tobias Grey                     TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/06/books/r A Tale of Torment in Jeffrey Epsteins
2021-12-06   2021-12-07 eview-silenced-no-more-sarah-ransome.html Underworld                                   By Alexandra Jacobs                TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/06/busines Bitcoin Plunges as Fed Turns Hawkish and
2021-12-06   2021-12-07 s/bitcoin-stock-market-volatility.html     Investors Seek Safety                       By Matt Phillips                   TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/06/busines BuzzFeeds Stock Surges Then Falls in Public By Peter Eavis Katie Robertson and
2021-12-06   2021-12-07 s/buzzfeed-stock.html                      Debut                                       Lauren Hirsch                      TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/06/busines
2021-12-06   2021-12-07 s/exxon-permian-basin-emissions.html       Exxon Targets Zero Emissions In Southwest By Clifford Krauss                   TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/06/busines Groups Sites Are Seized By Microsoft For
2021-12-06   2021-12-07 s/microsoft-china-hackers.html             Hacking                                     By Kellen Browning                 TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/06/busines
2021-12-06   2021-12-07 s/toyota-greensboro-nc-battery-plant.html  Toyota Plans Battery Plant In N Carolina    By Neal E Boudette                 TX 9-131-897      2022-02-01



                                                                                 Page 3097 of 5793
                        https://www.nytimes.com/2021/12/06/busines Regulators Investigating Trumps Media      By Matthew Goldstein David
2021-12-06   2021-12-07 s/trump-spac-sec-arc.html                  Company                                    Enrich and Michael Schwirtz   TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/06/fashion
2021-12-06   2021-12-07 /art-jewelry-sienna-patti-louisa-guinness.html Is it art or is it jewelry Yes            By Victoria Gomelsky       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/fashion
                        /jewelry-accessories-johannesburg-south-
2021-12-06   2021-12-07 africa.html                                    Five ways to accessorize                  By Lynsey Chutel           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/fashion
2021-12-06   2021-12-07 /jewelry-brands-newsletters.html               Keeping buyers in the loop                By Ming Liu                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/fashion
                        /jewelry-designer-relocations-bibi-van-der-
2021-12-06   2021-12-07 velden.html                                    Location location location                By Tanya Dukes             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/fashion
2021-12-06   2021-12-07 /jewelry-diamonds-hemmerle-le-vian.html        Ugly no more                              By Milena Lazazzera        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/fashion
2021-12-06   2021-12-07 /jewelry-goldsmiths-guild-london.html          Preparing for 700 years of goldsmithing   By Rachel Garrahan         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/fashion
2021-12-06   2021-12-07 /jewelry-jasper-agate-jet-britain.html         Creations from British stones             By Rachel Garrahan         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/fashion
2021-12-06   2021-12-07 /jewelry-kinetic-alan-ardiff-ireland.html      It moves when you do                      By Sandra Jordan           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/fashion
                        /jewelry-maori-fishhook-pendant-hei-matau-
2021-12-06   2021-12-07 new-zealand.html                               In New Zealand a famed pendant            By Charlotte GrahamMcLay   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/fashion
                        /jewelry-okavango-blue-diamond-                The Okavango Blue Diamond and a lesson in
2021-12-06   2021-12-07 botswana.html                                  geology                                   By David Belcher           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/fashion
                        /jewelry-painting-diamonds-diva-museum-
2021-12-06   2021-12-07 antwerp.html                                   Want a diamond Paint it                   By Kathleen Beckett        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/fashion
                        /jewelry-pomellato-traceability-app-
2021-12-06   2021-12-07 milan.html                                     Jewelry information at your fingertips    By Jessica Bumpus          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/health/c Does the Pandemic Have Your Blood
2021-12-06   2021-12-07 ovid-blood-pressure.html                       Pressure Rising Youre Not Alone           By Roni Caryn Rabin        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/health/
2021-12-06   2021-12-07 women-doctors-salary-pay-gap.html              Study Finds Pay Gap of 25 for Doctors     By Azeen Ghorayshi         TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/06/nyregio Adams Declines to Confirm Whether He Will
2021-12-06   2021-12-07 n/eric-adams-employee-vaccine-mandate.html Maintain New Vaccine Requirements         By Dana Rubinstein             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/nyregio Rose Plans Run to Regain House Seat From
2021-12-06   2021-12-07 n/max-rose-congress-malliotakis.html       GOP                                       By Katie Glueck                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/nyregio
                        n/private-employer-vaccine-mandate-        NYC to Require Companies to Get Staff
2021-12-06   2021-12-07 deblasio.html                              Vaccinated                                By Emma G Fitzsimmons          TX 9-131-897   2022-02-01



                                                                               Page 3098 of 5793
                        https://www.nytimes.com/2021/12/06/nyregio New York Plans to Unearth A Brook It
2021-12-06   2021-12-07 n/tibbets-brook-bronx-daylighting.html      Buried in 1912                               By Winnie Hu and James Thomas TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/06/nyregio Vaccine Mandate for NYC Religious Schools By Emma G Fitzsimmons Liam
2021-12-06   2021-12-07 n/vaccine-mandate-religious-yeshiva.html    Sets Up a Possible Fight                     Stack and Jeffery C Mays          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/opinion
2021-12-06   2021-12-07 /michigan-roe-dole.html                     We Are Not Running Out of Hypocrisy          By Gail Collins and Bret Stephens TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/science NASA Inducts A New Class Of Candidates
2021-12-06   2021-12-07 /nasa-astronaut-class.html                  For Exploration                              By Joey Roulette                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/sports/b
2021-12-06   2021-12-07 aseball/bud-fowler-hall-of-fame.html        Before Robinson There Was Fowler             By Benjamin Hoffman               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/sports/f Claude Humphrey 77 Falcons Fierce
2021-12-06   2021-12-07 ootball/claude-humphrey-dead.html           Defensive End                                By Richard Goldstein              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/sports/g Davis Confirms His Star Power Even Without
2021-12-06   2021-12-07 ervonta-davis-boxing.html                   His Full Punching Power                      By Morgan Campbell                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/sports/h Kentucky Derby Winner Who Failed Test
2021-12-06   2021-12-07 orse-racing/medina-spirit-dies.html         Dies in Workout                              By Joe Drape                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/sports/ For Challenger a 2Point Deficit May as Well
2021-12-06   2021-12-07 magnus-carlsen-world-chess.html             Be a Mile                                    By Dylan Loeb McClain             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/technol Pushing for SelfDriving Tesla Musk
2021-12-06   2021-12-07 ogy/tesla-autopilot-elon-musk.html          Downplayed Tech Limits                       By Cade Metz and Neal E Boudette TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/06/theater/
2021-12-06   2021-12-07 antony-sher-stage.html                      He Tried to Break The Bonds of Gravity       By Ben Brantley                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/us/emm Justice Dept Closes Emmett Till Case           By Audra D S Burch and Tariro
2021-12-06   2021-12-07 ett-till-investigation-closed.html          Without Charges                              Mzezewa                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/us/polit Biden Targets Drug Prices In Push for        By Zolan KannoYoungs and
2021-12-06   2021-12-07 ics/biden-drug-prices.html                  Spending Bill                                Margot SangerKatz                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/us/polit                                              By David E Sanger and Eric
2021-12-06   2021-12-07 ics/biden-putin-call-ukraine.html           In Call Biden Is Expected to Warn Putin      Schmitt                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/us/polit Nunes to Quit House to Run Media Outlet For
2021-12-06   2021-12-07 ics/devin-nunes-trump.html                  Trump                                        By Jonathan Weisman               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/us/polit
                        ics/family-separations-immigrants-          Political Quandary Over What US Owes         By Jeremy W Peters and Miriam
2021-12-06   2021-12-07 payments.html                               Separated Families                           Jordan                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/us/polit US Uses a Diplomatic Boycott of the
2021-12-06   2021-12-07 ics/olympics-boycott-us.html                Olympics to Rebuke China                     By Zolan KannoYoungs              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/us/polit US Sues Texas For Its Redraw Of Voting       By Katie Benner Nick Corasaniti
2021-12-06   2021-12-07 ics/texas-voting-rights-redistricting.html  Map                                          and Reid J Epstein                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/us/was
2021-12-06   2021-12-07 hington-floods-dairy-farmers.html           Distress Then Despair as Dairy Farms Flood By Kirk Johnson                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/well/mi
2021-12-06   2021-12-07 nd/sleep-health.html                        Why 6 to 8 Hours of Sleep a Night Is Crucial By Jane E Brody                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/world/a
                        frica/omicron-coronavirus-research-                                                      By Lynsey Chutel Richard PrezPea
2021-12-06   2021-12-07 spread.html                                 Early Reports Signal Variant Is Less Severe and Emily Anthes                   TX 9-131-897   2022-02-01




                                                                                Page 3099 of 5793
                        https://www.nytimes.com/2021/12/06/world/a                                              By Oscar Lopez and Maria
2021-12-06   2021-12-07 mericas/hostages-haiti.html                3 in Missionary Group Are Freed in Haiti     AbiHabib                       TX 9-131-897         2022-02-01
                        https://www.nytimes.com/2021/12/06/world/a India Expands Russian Arms Deal Despite      By Mujib Mashal and Karan Deep
2021-12-06   2021-12-07 sia/india-russia-missile-defense-deal.html Prospect of US Sanctions                     Singh                          TX 9-131-897         2022-02-01
                        https://www.nytimes.com/2021/12/06/world/a As One Leader Is Silenced Myanmar            By SuiLee Wee and Richard C
2021-12-06   2021-12-07 sia/myanmar-aung-san-suu-kyi.html          Amplifies New Voices                         Paddock                        TX 9-131-897         2022-02-01

                        https://www.nytimes.com/2021/12/06/world/e                                                By Isabella Kwai and Christopher F
2021-12-06   2021-12-07 urope/austria-chancellor-nehammer-kurz.html Scandal Prompts New Leadership in Austria Schuetze                               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/world/e Pope Seeks Second Meeting With the
2021-12-06   2021-12-07 urope/pope-russian-orthodox-church.html     Patriarch of Russia                           By Jason Horowitz                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/world/e Ransomware Operators Are Linked to
2021-12-06   2021-12-07 urope/ransomware-russia-bitcoin.html        Moscows Tallest Skyscraper                    By Andrew E Kramer                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/world/e On Ukrainian Front Wearily Awaiting the
2021-12-06   2021-12-07 urope/ukraine-russia-war-front.html         Worst                                         By Michael Schwirtz                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/busines Fred Hiatt Editorial Page Editor For
2021-12-07   2021-12-07 s/media/fred-hiatt-dead.html                Washington Post Dies at 66                    By Katharine Q Seelye              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/nyregio Tea With Maxwell Led to Years of Sex With By Rebecca Davis OBrien and
2021-12-07   2021-12-07 n/ghislaine-maxwell-trial-accuser.html      Epstein Accuser Says                          Benjamin Weiser                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/opinion Bidens Summit for Democracy Is About More
2021-12-07   2021-12-07 /biden-democracy-conference.html            Than Democracy                                By Farah Stockman                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/sports/b
2021-12-07   2021-12-07 aseball/gil-hodges-hall-of-fame.html        Baseball Finally Gets Total Picture on Hodges By Tyler Kepner                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/theater/
2021-12-07   2021-12-07 selling-kabul-review.html                   A Forever War Arrives in an Apartment         By Alexis Soloski                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/us/polit Trumps Choice to Challenge Kemp in            By Richard Fausset and Jonathan
2021-12-07   2021-12-07 ics/georgia-abrams-perdue-kemp.html         Georgia                                       Martin                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/us/polit New Evidence Contradicts Durhams Case
2021-12-07   2021-12-07 ics/michael-sussmann-john-durham.html       Defense Says                                  By Charlie Savage                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/us/polit Trump Had Severe Drop In Blood Oxygen         By Maggie Haberman and Noah
2021-12-07   2021-12-07 ics/trump-covid-blood-oxygen.html           Level Meadows Says in Book                    Weiland                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/health/
2021-12-07   2021-12-07 prostate-gay-sex-cancer.html                Prostate Cancer and New Care for Gay Men By Steve Kenny                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/science
2021-12-07   2021-12-07 /merck-pfizer-covid-pill-treatment.html     Help Arrives In Covid19 Fight                 By Carl Zimmer                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/dining/
2021-12-02   2021-12-08 drinks/best-wine-books-2021.html            The People Behind the Bottles                 By Eric Asimov                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/dining/f
2021-12-03   2021-12-08 all-orzo-recipe.html                        A Cozy Dinner With Savory Orzo                By Melissa Clark                   TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/03/opinion A Defense for the Wrongly Convicted Is at
2021-12-03   2021-12-08 /supreme-court-death-row-shinn-ramirez.html Risk                                        By Christina Swarns                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/05/busines Ken Moffett 90 Arbiter In Major Labor
2021-12-05   2021-12-08 s/ken-moffett-dead.html                     Disputes                                    By Richard Sandomir                TX 9-131-897     2022-02-01




                                                                                 Page 3100 of 5793
                        https://www.nytimes.com/2021/12/05/us/cons Constance Ahrons an Advocate Of Good
2021-12-05   2021-12-08 tance-ahrons-dead.html                      Divorce Is Dead at 84                       By Katharine Q Seelye               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/arts/mu
2021-12-06   2021-12-08 sic/drake-grammy-nominations.html           Drake Withdraws From Grammy Race            By Ben Sisario and Joe Coscarelli   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/dining/
2021-12-06   2021-12-08 baking-with-dorie-greenspan-book.html       To Prepare The Savory And the Sweet         By Florence Fabricant               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/dining/
2021-12-06   2021-12-08 damien-hirst-spot-tea-towel.html            To Use Just the Thing For a Spot of Tea     By Florence Fabricant               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/dining/ To Present Chocolate Truffles With Winter
2021-12-06   2021-12-08 delysia-chocolates.html                     Whimsy                                      By Florence Fabricant               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/dining/f
2021-12-06   2021-12-08 ish-stew-recipe.html                        Recipes That Give Food for Thought          By David Tanis                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/dining/f
                        ulton-fish-market-feast-of-the-seven-       To Celebrate Fulton Fish Market Can Handle
2021-12-06   2021-12-08 fishes.html                                 the Feasts                                  By Florence Fabricant               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/dining/j To Admire Julie Greens First Meal Makes Its
2021-12-06   2021-12-08 ulie-green-first-meals.html                 New York Debut                              By Florence Fabricant               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/dining/ To Bid Rare Teas and Treasures That Come
2021-12-06   2021-12-08 sothebys-tea-auction.html                   From China                                  By Florence Fabricant               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/dining/
2021-12-06   2021-12-08 swig-soda-shop-chains.html                  Soda Shops Want to Be Like Starbucks        By Victoria Petersen                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/dining/
2021-12-06   2021-12-08 yalda-winter-solstice-pomegranate.html      Welcoming a Solstice With Pomegranates      By Naz Deravian                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/fashion
2021-12-06   2021-12-08 /chanel-19m-metiers-d-art-paris.html        Devoted to detail                           By Tina IsaacGoiz                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/movies/
2021-12-06   2021-12-08 alana-haim-licorice-pizza.html              An Improbable Star Hits the Right Notes     By Lindsay Zoladz                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/opinion Opioids Feel Like Love Thats Why Theyre
2021-12-06   2021-12-08 /us-opioid-crisis.html                      Deadly in Tough Times                       By Maia Szalavitz                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/us/hyun Hyun Sook Han 83 a Pioneer of Korean
2021-12-06   2021-12-08 sook-han-dead.html                          Adoption                                    By Alex Vadukul                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/arts/des
                        ign/steinhardt-billionaire-stolen-          A Billionaire Gives Up Looted Relics Worth
2021-12-07   2021-12-08 antiquities.html                            70 Million                                  By Tom Mashberg                     TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/07/arts/des
2021-12-07   2021-12-08 ign/sag-harbor-black-artists-long-island.html Sustaining Black History in Sag Harbor      By Aruna DSouza                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/arts/des
                        ign/van-der-zee-harlem-photography-
2021-12-07   2021-12-08 metropolitan-museum-archive.html              Safe Keeping for a Black Archive            By Arthur Lubow                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/arts/mu
                        sic/met-opera-terence-blanchard-              More Terence Blanchard Is Coming to the
2021-12-07   2021-12-08 champion.html                                 Metropolitan Opera                          By Joshua Barone                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/arts/tele With Deliberations Set to Begin Lawyers in
2021-12-07   2021-12-08 vision/jussie-smollett-trial.html             Smollett Case Clash Over Motive             By Julia Jacobs and Mark Guarino TX 9-131-897    2022-02-01



                                                                                 Page 3101 of 5793
                        https://www.nytimes.com/2021/12/07/books/ MarieClaire Blais 82 Writer Who Captivated
2021-12-07   2021-12-08 marie-claire-blais-dead.html                Canadian Readers Dies                       By Clay Risen                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/books/r
                        eview-call-us-what-we-carry-amanda-
2021-12-07   2021-12-08 gorman.html                                 Celebrity Poet And Inaugural Star           By Molly Young                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/busines
2021-12-07   2021-12-08 s/airports-solar-farms.html                 Airports Find Room for Solar Farms          By Amy Zipkin                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/busines With China Evergrande On Brink of Collapse By Alexandra Stevenson and Cao
2021-12-07   2021-12-08 s/china-evergrande-kaisa-property.html      Beijing Offers Stability                    Li                               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/busines
                        s/economy/federal-reserve-inflation-        Inflation Snarls Feds Bid To Stabilize the
2021-12-07   2021-12-08 omicron.html                                Economy                                     By Jeanna Smialek                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/busines
2021-12-07   2021-12-08 s/kellogg-workers-strike.html               Striking Kellogg Workers Reject Deal        By Noam Scheiber                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/busines                                              By Michael M Grynbaum and John
2021-12-07   2021-12-08 s/media/chris-cuomo-book.html               HarperCollins Wont Publish Cuomo Book       Koblin                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/busines Drop in Natural Gas Prices Bodes Well for
2021-12-07   2021-12-08 s/natural-gas-prices.html                   Home Heating Bills                          By Talmon Joseph Smith           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/busines                                              By Jordan Allen and Kristen
2021-12-07   2021-12-08 s/new-york-commercial-real-estate.html      Transactions                                Bayrakdarian                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/busines
2021-12-07   2021-12-08 s/pandemic-savings.html                     Cash Cushions For Americans Start to Shrink By Talmon Joseph Smith           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/busines Smeared as Communist Bidens Pick for Bank
2021-12-07   2021-12-08 s/saule-omarova-occ-nomination.html         Regulator Post Withdraws Name               By Emily Flitter                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/busines Stellantis Joins Race to Add Lucrative
2021-12-07   2021-12-08 s/stellantis-auto-software.html             Software to Cars                            By Neal E Boudette               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/dining/
                        aunts-et-uncles-review-vegan-restaurant-
2021-12-07   2021-12-08 brooklyn.html                               Fresh Discoveries for Vegan Dining          By Pete Wells                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/dining/ Bonnies From a Win Son Chef Opens in
2021-12-07   2021-12-08 nyc-restaurant-openings.html                Williamsburg Brooklyn                       By Florence Fabricant            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/fashion
                        /craftsmanship-bells-marinelli-pontifical-
2021-12-07   2021-12-08 foundry-italy.html                          Their bells have tolled for centuries       By Roberto Salomone              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/fashion
                        /craftsmanship-fashion-carine-roitfeld-k11-
2021-12-07   2021-12-08 musea-hong-kong.html                        A showcase of savoirfaire                   By Joyce Lau                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/health/ Omicron May Dull Pfizer Vaccines             By Carl Zimmer and Benjamin
2021-12-07   2021-12-08 omicron-variant-pfizer-vaccine.html         Effectiveness Study Says                    Mueller                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/needies
                        t-cases/safety-nets-that-sustain-           From Needing Help in English to Translating By Emma Grillo and Kristen
2021-12-07   2021-12-08 community.html                              for Others                                  Bayrakdarian                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/nyregio After Filing Complaint Against Cuomo         By Dana Rubinstein Grace Ashford
2021-12-07   2021-12-08 n/sheriff-apple-cuomo-albany.html           Sheriff in Albany Feels Pressure Rising     and Jane Gottlieb                TX 9-131-897   2022-02-01




                                                                               Page 3102 of 5793
                        https://www.nytimes.com/2021/12/07/nyregio In Shops and Salons Mixed Feelings Over       By Emma G Fitzsimmons and Lola
2021-12-07   2021-12-08 n/vaccine-mandate-nyc-business.html         New York City Vaccine Mandate                Fadulu                         TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/07/opinion
2021-12-07   2021-12-08 /oxford-shooting-teachers.html              Teachers Cant Stop the Shootings             By Sarah Lerner                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/opinion States Must Not Bar Religious School          By Michael Bindas and Walter
2021-12-07   2021-12-08 /public-schools-religion.html               Options                                      Womack                          TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/science
                        /pandemic-adolescents-depression-
2021-12-07   2021-12-08 anxiety.html                                Alarm Sounded on Youth Mental Health         By Matt Richtel                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/sports/b Filings in Suit Show How Photos of Bryant
2021-12-07   2021-12-08 asketball/kobe-bryant-crash-photos.html     Crash Spread                                 By Jonathan Abrams              TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/07/sports/o Chinas Mens Hockey Team Can Compete in
2021-12-07   2021-12-08 lympics/beijing-olympics-hockey-china.html Beijing Games After All                 By Alan Blinder                       TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/sports/s Truth Is Elusive in Attack On a French
2021-12-07   2021-12-08 occer/psg-attack-diallo-hamraoui.html       Soccer Star                            By Tariq Panja                        TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/technol Holmes Caps Her Defense With Round Of
2021-12-07   2021-12-08 ogy/elizabeth-holmes-theranos-trial.html    Denials                                By Erin Griffith                      TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/07/theater/
2021-12-07   2021-12-08 michael-jackson-mj-musical-broadway.html The Musical and the Elephant in the Room       By Michael Paulson               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/us/bob- The Prairie Town Where a Giant of the Senate
2021-12-07   2021-12-08 dole-hometown-russell-kansas.html           Kept His Feet Planted                       By Mitch Smith                   TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/us/polit US Warns Putin Of Costs for Any Ukraine     By David E Sanger and Michael
2021-12-07   2021-12-08 ics/biden-putin-ukraine-summit.html         Invasion                                    Crowley                          TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/us/polit Redrawn Maps Turn California Into
2021-12-07   2021-12-08 ics/california-redistricting-midterms.html  Battlefield                                 By Jonathan Weisman              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/us/polit In Drive to Vaccinate Children Doctors
2021-12-07   2021-12-08 ics/children-vaccine-pediatricians.html     Uncover Pandemics Toll                      By Noah Weiland                  TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/us/polit House Vote Paves Way To Increasing Debt By Emily Cochrane and Margot
2021-12-07   2021-12-08 ics/debt-ceiling-deal-congress.html         Ceiling                                     SangerKatz                       TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/07/us/polit Houses Passes Defense Bill In Rare Display
2021-12-07   2021-12-08 ics/defense-budget-democrats-biden.html     of Unity To Salvage Shared Priority          By Catie Edmondson              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/us/polit In Reversal Meadows Wont Speak to Jan 6      By Luke Broadwater and Maggie
2021-12-07   2021-12-08 ics/meadows-cooperate-jan-6.html            Panel                                        Haberman                        TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/world/a Ethiopian Government Says It Recaptured
2021-12-07   2021-12-08 frica/ethiopia-tigray-civil-war.html        Two Towns From Rebel Forces                  By Abdi Latif Dahir              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/world/a Chile Legalizes SameSex Marriage Amid         By Pascale Bonnefoy and Ernesto
2021-12-07   2021-12-08 mericas/chile-gay-marriage.html             Broad Demands for Social Change              Londoo                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/world/a Beijing Claims China Uses Its Own Variety     By Keith Bradsher and Steven Lee
2021-12-07   2021-12-08 sia/china-biden-democracy-summit.html       Of Democracy to Govern                       Myers                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/world/a Death Toll Rises to 34 After Eruption in
2021-12-07   2021-12-08 sia/indonesia-volcano-eruption.html         Indonesia                                    By Muktita Suhartono            TX 9-131-897    2022-02-01




                                                                                Page 3103 of 5793
                        https://www.nytimes.com/2021/12/07/world/a A Plunge Into Organic Farming Brings       By Aanya Wipulasena and Mujib
2021-12-07   2021-12-08 sia/sri-lanka-organic-farming-fertilizer.html Disaster to Sri Lanka                   Mashal                           TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/07/world/a Nations Weigh Whether to Join Diplomatic   By Steven Lee Myers and Steven
2021-12-07   2021-12-08 sia/us-boycott-beijing-olympics-reaction.html Boycott of Olympics                     Erlanger                         TX 9-131-897   2022-02-01
                                                                                                              By Dionne Searcey Eric Lipton
                        https://www.nytimes.com/2021/12/07/world/c On the Banks of the Congo River a 5Star    Michael Forsythe and Ashley
2021-12-07   2021-12-08 ongo-cobalt-investor-fleuve-hotel.html     Emporium of Ambition                       Gilbertson                       TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/07/world/e New Chancellor Offers Blueprint to Revive
2021-12-07   2021-12-08 urope/germany-olaf-scholz-chancellor.html Left                                         By Katrin Bennhold              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/world/
                        middleeast/khashoggi-arrest-france-         French Arrest Man Linked To 18 Killing Of By Ben Hubbard and Aurelien
2021-12-07   2021-12-08 alotaiba.html                               Khashoggi                                  Breeden                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/world/ In Nod to Global Markets UAE Shifts Its
2021-12-07   2021-12-08 middleeast/uae-weekend-shift.html           Workweek                                   By Mona ElNaggar                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/live/2021/12/07/wo
                        rld/covid-omicron-vaccine/uk-covid-testing-
2021-12-07   2021-12-08 travel-omicron                              UK Tightens Vaccine Rules For Travelers    By Aina J Khan                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/live/2021/12/07/wo
                        rld/covid-omicron-vaccine/us-400-million-
2021-12-07   2021-12-08 global-distribution                         US Invests in Global Immunization Effort   By Alyssa Lukpat                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/nyregio Different Kind of Witness Echoes 2 Maxwell By Rebecca Davis OBrien and
2021-12-08   2021-12-08 n/ghislaine-maxwell-trial-carolyn.html      Accusers                                   Colin Moynihan                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/opinion
2021-12-08   2021-12-08 /pearl-harbor-american-adversaries.html     Pearl Harbor And a Capacity For Surprise   By Bret Stephens                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/theater/
                        harry-potter-cursed-child-broadway-
2021-12-08   2021-12-08 review.html                                 Its Still Magical Though Smaller           By Alexis Soloski               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/us/polit Bidens Pick To Oversee US Borders Clears
2021-12-08   2021-12-08 ics/chris-magnus-cbp-biden.html             Senate                                     By Eileen Sullivan              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/us/polit Deal to Change How Military Handles Sexual
2021-12-08   2021-12-08 ics/military-sexual-assault-congress.html   Assault Cases                              By Jennifer Steinhauer          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/us/polit Panel Considered Packing Court Then
2021-12-08   2021-12-08 ics/supreme-court-packing-expansion.html    Agreed to Disagree                         By Charlie Savage               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/insider/
2021-12-08   2021-12-08 holiday-gift-guide.html                     How the Gift Guide Came Together           By Sarah Bahr                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/sports/f 4thDown Punts By Timid Coach Cost the
2021-12-08   2021-12-08 ootball/giants-joe-judge-punts.html         Giants                                     By Mike Tanier                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/movies/ HighIntensity Movies That Live Up to Their
2021-12-03   2021-12-09 action-movies-streaming.html                Genre                                      By Robert Daniels               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/04/style/sp
2021-12-04   2021-12-09 otify-wrapped-memes.html                    Fertile Data Sprinkled Widely              By Gina Cherelus                TX 9-131-897   2022-02-01




                                                                                Page 3104 of 5793
                        https://www.nytimes.com/2021/12/06/busines This Chemical Is Ubiquitous But Its Now In
2021-12-06   2021-12-09 s/urea-fertilizer-food-prices.html         Short Supply And the Shocks Are Global     By Raymond Zhong                    TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/06/style/ch
2021-12-06   2021-12-09 anel-tiktok-advent-calendar-controversy.html The Loud Voice of Disappointment              By Vanessa Friedman            TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/06/style/fe
2021-12-06   2021-12-09 minine-urge-meme-twitter.html                Parsing the Infinite Adaptability of a Meme   By Anna P Kambhampaty          TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/06/travel/s Bearing Witness to Svalbards Fragile
2021-12-06   2021-12-09 valbard-climate-change-tourism.html          Splendor                                      By Marcus Westberg             TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/08/world/e
                        urope/germany-olaf-scholz-cabinet-           Under Scholz Germany Gets Its 1st
2021-12-06   2021-12-09 women.html                                   GenderEqual Cabinet                           By Katrin Bennhold             TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/busines Video Games In Tesla Cars Are Raising
2021-12-07   2021-12-09 s/tesla-video-game-driving.html              Safety Fears                                  By Neal E Boudette             TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/opinion What Kind of Power Should the Names of
2021-12-07   2021-12-09 /new-york-street-names.html                  New York Have                                 By Joshua JellySchapiro        TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/opinion
                        /trump-supreme-court-abortion-dobbs-         I Refused to Vote for Trump but Im Grateful
2021-12-07   2021-12-09 roe.html                                     for His Court Picks                           By Erika Bachiochi             TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/07/sports/f
2021-12-07   2021-12-09 ootball/austin-ekeler-nfl-football-fantasy.html Dominating the NFL And the Fantasy World   By Emmanuel Morgan             TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/style/re
2021-12-07   2021-12-09 ba-mcentire.html                                Its a Good Time to Be Reba McEntire        By Brennan Carley              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/07/climate Manatees Facing Crisis Will Get Food From
2021-12-08   2021-12-09 /manatees-florida-feeding.html                  Humans                                     By Catrin Einhorn              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/08/arts/des
2021-12-08   2021-12-09 ign/brooklyn-museum-new-president.html          Brooklyn Museum Names New President        By Robin Pogrebin              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/08/arts/mu Greg Tate 64 an Influential Critic Who
2021-12-08   2021-12-09 sic/greg-tate-dead.html                         Explored Black Culture Dies                By Clay Risen                  TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/08/arts/mu
2021-12-08   2021-12-09 sic/snowy-day-ezra-jack-keats-opera.html        The Snowy Day Now With Arias               By Javier C Hernndez           TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/08/arts/tele Jurors Begin Deliberating in Smollett Attack
2021-12-08   2021-12-09 vision/jussie-smollett-jury-deliberations.html Case                                       By Julia Jacobs and Mark Guarino TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/08/books/r
2021-12-08   2021-12-09 eview-accidental-gods-anna-della-subin.html The Complexity of Life on a Pedestal           By Jennifer Szalai             TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/08/busines                                                 By Derrick Bryson Taylor and
2021-12-08   2021-12-09 s/better-zoom-layoffs-vishal-garg.html      CEO Apologizes for ZoomCall Layoffs            Jenny Gross                    TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/08/busines
2021-12-08   2021-12-09 s/economy/us-russia-sanctions-ukraine.html Sanctions On Russia A Tough Sell                By Patricia Cohen              TX 9-131-897    2022-02-01




                                                                                 Page 3105 of 5793
                                                                    As Lawmakers Get Crash Course on
                        https://www.nytimes.com/2021/12/08/busines Cryptocurrency Companies Urge Clarity on
2021-12-08   2021-12-09 s/house-financial-services-crypto.html      Regulation                                 By Ephrat Livni                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/busines Americans Continue To Leave Their Jobs As
2021-12-08   2021-12-09 s/job-labor-quit-october.html               Vacancies Surge                            By Nelson D Schwartz            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/climate With Orders President Lays Out a Timetable
2021-12-08   2021-12-09 /biden-government-carbon-neutral.html       To Go Carbon Neutral                       By Lisa Friedman                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/health/c
2021-12-08   2021-12-09 ovid-fat-obesity.html                       Coronavirus Is Found to Attack Fat Cells   By Roni Caryn Rabin             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/movies/
2021-12-08   2021-12-09 how-to-fix-the-oscars.html                  The Oscars Could Use a Makeover            By Kyle Buchanan                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/nyregio
                        n/babylon-high-school-teachers-             Sexual Misconduct Claim at a High School
2021-12-08   2021-12-09 allegations.html                            Starts an Avalanche                        By Sarah Maslin Nir             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/nyregio De Blasio Got Warning on Ethics Then
2021-12-08   2021-12-09 n/bill-de-blasio-donors-nyc.html            Fought to Keep It a Secret                 By William Neuman               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/nyregio Adams Selects Longtime Ally To Run
2021-12-08   2021-12-09 n/david-banks-nyc-school-chancellor.html    Schools                                    By Eliza Shapiro                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/opinion
2021-12-08   2021-12-09 /covid-russia-putin.html                    The Pandemic Is Beating Putin              By Alexey Kovalev               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/science Japanese Mogul Reaches Space Station as
2021-12-08   2021-12-09 /yusaku-maezawa-space-station.html          Tourist                                    By Joey Roulette                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/sports/g
                        olf/tiger-woods-charlie-pnc-                Woods Set to Test His Leg Over 36 Holes of
2021-12-08   2021-12-09 championship.html                           Family Event With His Son                  By Bill Pennington              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/sports/o
                        lympics/diplomatic-boycott-2022-winter-     A Diplomatic Boycott Is a Start But Where
2021-12-08   2021-12-09 olympics.html                               Are the Sponsors                           By Kurt Streeter                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/sports/t Williams Will Skip Australian Open Osaka
2021-12-08   2021-12-09 ennis/serena-williams-australian-open.html  Among Entries                              By Christopher Clarey           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/style/ce                                            By Anna P Kambhampaty and Julie
2021-12-08   2021-12-09 lebrity-fast-food-partnerships.html         Welcome to the Era of the Celebrity Meal   Creswell                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/technol Lawmakers Push Instagrams Chief to Better
2021-12-08   2021-12-09 ogy/adam-mosseri-instagram-senate.html      Protect Children                           By Cecilia Kang                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/technol Court Lets Apple Hold Off Making App Store
2021-12-08   2021-12-09 ogy/apple-app-store-epic.html               Changes                                    By Kellen Browning              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/technol Group of Top Companies Moves to Combat
2021-12-08   2021-12-09 ogy/data-trust-alliance-ai-hiring-bias.html AI Bias in Hiring                          By Steve Lohr                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/technol
                        ogy/elizabeth-holmes-theranos-trial-        Holmes Rests Her Case in Theranos Fraud
2021-12-08   2021-12-09 defense.html                                Trial                                      By Erin Griffith                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/technol
                        ogy/personaltech/phone-privacy-protection-
2021-12-08   2021-12-09 tools.html                                  BeefedUp Protections on Your Smartphone By J D Biersdorfer                 TX 9-131-897   2022-02-01




                                                                              Page 3106 of 5793
                        https://www.nytimes.com/2021/12/08/theater/
2021-12-08   2021-12-09 is-there-still-sex-in-the-city-review.html  Her City Is Still Big and the Lights Bright   By Naveen Kumar                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/theater/
2021-12-08   2021-12-09 stephen-sondheim-music-shows.html           A Moment of Grace to Celebrate a Master       By Michael Paulson               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/us/calif California Lawmakers Position the State To
2021-12-08   2021-12-09 ornia-abortion-sanctuary-state.html         Become a Refuge of Abortion Rights            By Thomas Fuller                 TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/08/us/polit                                             By Alan Feuer and Luke
2021-12-08   2021-12-09 ics/ali-alexander-jan-6-house-testimony.html Rally Planner to Deny Role in Violence     Broadwater                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/us/polit Rioters May Argue SelfDefense Against
2021-12-08   2021-12-09 ics/jan-6-riot-police-brutality-defense.html Police                                     By Alan Feuer                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/us/polit
                        ics/mark-meadows-contempt-jan-6-             After Contempt Citation Meadows Sues Jan 6
2021-12-08   2021-12-09 committee.html                               Panel                                      By Luke Broadwater                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/us/polit Apps Aid Millions in Unlocking Government
2021-12-08   2021-12-09 ics/safety-net-apps-tech.html                Aid                                        By Jason DeParle                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/us/polit
                        ics/supreme-court-religious-schools-
2021-12-08   2021-12-09 maine.html                                   Justices Wary of Religious School Aid Ban By Adam Liptak                      TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/08/world/a More Cases of Covid19 Among Child Patients
2021-12-08   2021-12-09 frica/coronavirus-south-africa-children.html In South Africa Hospitals                 By Lynsey Chutel                 TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/08/world/a Indias Top Military Official Dies in Copter
2021-12-08   2021-12-09 sia/helicopter-crash-india-top-general.html  Crash                                     By Suhasini Raj and Mujib Mashal TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/08/world/e
                        urope/belarus-poland-ryanair-plane-          Defector Aids Case Against Belarus Over   By Andrew Higgins and Tomas
2021-12-08   2021-12-09 dissident.html                               Plane It Forced Down                      Dapkus                           TX 9-131-897      2022-02-01

                        https://www.nytimes.com/2021/12/08/world/e Proposal Would Allow EU to Retaliate
2021-12-08   2021-12-09 urope/eu-sanctions-economic-retaliation.html Against Boycotts and Other Tactics           By Monika Pronczuk               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/world/e
                        urope/france-khashoggi-arrest-mistaken-      France Releases Saudi Held in Khashoggi
2021-12-08   2021-12-09 identity.html                                Case                                         By Aurelien Breeden              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/world/e
                        urope/germany-merkel-scholz-chancellor-                                                   By Katrin Bennhold and Melissa
2021-12-08   2021-12-09 government.html                              New Chapter Officially Begins in Germany     Eddy                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/world/e                                                By Katrin Bennhold and Melissa
2021-12-08   2021-12-09 urope/merkel-career-pictures.html            The End of the Merkel Era                    Eddy                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/world/e NATO Haunted By Ukraine Vow As Putin
2021-12-08   2021-12-09 urope/nato-ukraine-russia-dilemma.html       Looms                                        By Steven Erlanger               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/world/e
                        urope/uk-china-olympics-diplomatic-          Top UK Officials to Skip Winter Games in
2021-12-08   2021-12-09 boycott.html                                 Beijing                                      By Megan Specia                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/world/e With Johnson Under Fire Britain Unveils        By Mark Landler Stephen Castle
2021-12-08   2021-12-09 urope/uk-covid-johnson.html                  Tougher Virus Measures                       and Megan Specia                 TX 9-131-897   2022-02-01



                                                                                 Page 3107 of 5793
                        https://www.nytimes.com/interactive/2021/12/
                        08/world/asia/peng-shuai-china-                Beijing Silenced Peng Shuai in 20 Minutes By Paul Mozur Muyi Xiao Jeff Kao
2021-12-08   2021-12-09 censorship.html                                Then Spent Weeks on Damage Control        and Gray Beltran                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/live/2021/12/08/us/
                        daunte-wright-kim-potter-trial/kimberly-potter At ExOfficers Trial Emotional Testimony
2021-12-08   2021-12-09 trial-daunte-wright                            From Victims Mother                       By Nicholas BogelBurroughs       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/health/ Pfizer Suggests Booster Shields Against
2021-12-09   2021-12-09 pfizer-booster-omicron.html                    Variant                                   By Sharon LaFraniere             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/nyregio Allergan Settles Opioids Suit In New York for
2021-12-09   2021-12-09 n/allergan-settlement-opioid.html              200 Million                               By Sarah Maslin Nir              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/nyregio
2021-12-09   2021-12-09 n/columbia-grad-student-strike.html            Strikers Fear Retaliation From Columbia   By Ashley Wong                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/opinion
2021-12-09   2021-12-09 /trump-biden-email-fundraising.html            Everybody Wants to Be Your Email Buddy By Gail Collins                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/theater/
2021-12-09   2021-12-09 kimberly-akimbo-review.html                    Adults by Default As Time Goes Awry       By Jesse Green                   TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/08/us/durh More Evidence Disclosures Complicate Case
2021-12-09   2021-12-09 am-sussmann-fbi-trump-russia.html            Brought by TrumpEra Special Counsel         By Charlie Savage              TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/08/us/polit Senate Votes to Reject Vaccine Mandate as
2021-12-09   2021-12-09 ics/biden-vaccine-mandate-senate.html        Republicans Eye Midterms                    By Emily Cochrane              TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/08/us/polit Vote Would Ban Goods Made by Forced
2021-12-09   2021-12-09 ics/china-xinjiang-labor-ban-uyghurs.html    Labor                                       By Catie Edmondson             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/09/nyregio Defenses Key Question Should Maxwell
2021-12-09   2021-12-09 n/ghislaine-maxwell-trial-testify.html       Testify                                     By Benjamin Weiser             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/09/style/bl Black Women Are Making Waves in Hair
2021-12-09   2021-12-09 ack-women-hair-care.html                     Care                                        By Tiffany Martinbrough        TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/09/style/gu
2021-12-09   2021-12-09 ido-palau-hair-tests-book.html               Guido Palau Has a Lot of Good Hair Days     By Guy Trebay                  TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/09/style/ne Must I Go Home For the Holidays Not These
2021-12-09   2021-12-09 w-holiday-traditions-covid.html              Days                                        By Alyson Krueger              TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/09/style/po
2021-12-09   2021-12-09 st-lockdown-makeup-looks.html                The New Makeup Is Meant to Be Seen          By Rachel Strugatz             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/09/world/a Jailed Journalists Reach Record High for 6th
2021-12-09   2021-12-09 mericas/jailed-journalists-worldwide.html    Year                                        By Rick Gladstone              TX 9-131-897     2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ Where the Despairing Log On and Learn       By Megan Twohey and Gabriel JX
2021-12-09   2021-12-09 09/us/where-the-despairing-log-on.html       Ways to Die                                 Dance                          TX 9-131-897     2022-02-01
                        https://www.nytimes.com/article/evergrande-                                              By Alexandra Stevenson and Cao
2021-09-10   2021-12-10 debt-crisis.html                             A Property Giant Imperils China             Li                             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/interactive/2021/11/
                        28/business/economy/high-inflation-          Millennials Confront High Inflation for the By Jeanna Smialek Sara Chodosh
2021-11-29   2021-12-10 millennials.html                             First Time                                  and Ben Casselman              TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/08/arts/dan Arlene Shuler to Step Down as President of
2021-12-08   2021-12-10 ce/arlene-shuler-steps-down-city-center.html City Center                                 By Roslyn Sulcas               TX 9-131-897     2022-02-01



                                                                                 Page 3108 of 5793
                        https://www.nytimes.com/2021/12/08/arts/mu
2021-12-08   2021-12-10 sic/michael-hurley-time-of-the-foxgloves.html A Folk Original Marks 80 With New Music By Grayson Haver Currin           TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/08/books/
2021-12-08   2021-12-10 mr-men-little-miss-books.html                 Mr Men and Little Miss Turn 50          By Liza Weisstuch                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/08/movies/
2021-12-08   2021-12-10 being-the-ricardos-review.html                Dont Let the Sitcom Fool You            By Manohla Dargis                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/08/movies/
2021-12-08   2021-12-10 fatal-distraction-review.html                 Fatal Distraction                       By Teo Bugbee                     TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/08/movies/
2021-12-08   2021-12-10 west-side-story-review.html                   Meeting a Girl Named Maria Again        By AO Scott                       TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/08/opinion The Get Back Documentary Is a Master Class
2021-12-08   2021-12-10 /beatles-get-back-creativity-lessons.html     in Creativity                           By Jere Hester                    TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/08/us/scho Parents Scrambling Again as School Doors
2021-12-08   2021-12-10 ols-closed-fridays-remote-learning.html       Shut                                    By Giulia Heyward                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/08/world/e Justo Gallego 96 Former Spanish Monk Who
2021-12-08   2021-12-10 urope/justo-gallego-dead.html                 Built a Cathedral Brick by Brick        By Raphael Minder                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/08/sports/t USTA Chief Unexpectedly Stepping Down
2021-12-09   2021-12-10 ennis/michael-dowse-us-open-usta.html         After Less Than Two Years               By Christopher Clarey             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/08/us/cald Father and Son Are Accused Of Starting
2021-12-09   2021-12-10 or-fire-arson-arrest-california.html          California Blaze                        By Jill Cowan                     TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/09/arts/des                                            By Holland Cotter Roberta Smith
2021-12-09   2021-12-10 ign/best-art-books.html                     The Best Art Books of 2021                 Jason Farago and Siddhartha Mitter TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/09/arts/des Metropolitan Museum of Art Will Pull
2021-12-09   2021-12-10 ign/met-museum-sackler-wing.html             Sackler Name From Wing Over Opioid Ties By Robin Pogrebin                   TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/09/arts/des
                        ign/pollution-abeles-art-fullerton-
2021-12-09   2021-12-10 environment.html                             Climate Crisis Is Both Medium and Message By Jori Finkel                    TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/09/arts/mu Barry Harris Pianist And Devoted Scholar Of
2021-12-09   2021-12-10 sic/barry-harris-dead.html                   Bebop Dies at 91                          By Giovanni Russonello            TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/09/arts/mu                                             By Jon Caramanica Jon Pareles and
2021-12-09   2021-12-10 sic/new-christmas-holiday-albums.html        And So This Is Christmas                  Giovanni Russonello               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/09/arts/mu
2021-12-09   2021-12-10 sic/rolando-villazon-met-opera-flute.html    His Met Career Seemed Over Not So Fast    By Zachary Woolfe                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/09/arts/tele
2021-12-09   2021-12-10 vision/doom-patrol-hbo-max.html              This weekend I have                       By Margaret Lyons                 TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/09/arts/tele 2 Familiar Faces Chosen To Keep Sharing
2021-12-09   2021-12-10 vision/jeopardy-hosts-mayim-jennings.html Podium As Jeopardy Quizmaster                By Johnny Diaz                   TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/09/arts/tele
2021-12-09   2021-12-10 vision/review-and-just-like-that.html        Still Lunching After All These Years      By James Poniewozik              TX 9-131-897     2022-02-01




                                                                                Page 3109 of 5793
                        https://www.nytimes.com/2021/12/09/briefing
                        /federal-scientific-research-democrats-     Effects of a Shrinking Investment in
2021-12-09   2021-12-10 stalled.html                                Innovation                                  By David Leonhardt               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/busines Italy Fines Amazon 13 Billion Over Antitrust
2021-12-09   2021-12-10 s/amazon-italy-fine.html                    Violations                                  By Adam Satariano                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/09/busines Boeings Delays Lead American to Trim
2021-12-09   2021-12-10 s/american-airlines-boeing-dreamliner.html Flights                                      By Niraj Chokshi                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/busines                                              By Alexandra Stevenson and Cao
2021-12-09   2021-12-10 s/china-evergrande-default.html            Evergrande Defaults Now What                 Li                               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/busines Workers Vote to Unionize At BuffaloArea
2021-12-09   2021-12-10 s/economy/buffalo-starbucks-union.html     Starbucks                                    By Noam Scheiber                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/busines Pizza that weeks ago was 99 cents a slice is
2021-12-09   2021-12-10 s/economy/inflation-price-gains.html       now 150 That has Washington worried          By Jeanna Smialek                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/busines Ernesta Procope 98 Who Broke Ground As a
2021-12-09   2021-12-10 s/ernesta-procope-dead.html                Black Female Insurance Broker                By Sam Roberts                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/busines In Playful Exit Disney Chief Is Weatherman
2021-12-09   2021-12-10 s/media/bob-iger-weatherman.html           For a Day Again                              By Brooks Barnes                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/busines Newspaper Chain Rejects Takeover by Hedge
2021-12-09   2021-12-10 s/media/buffalo-news-alden-capital.html    Fund                                         By Marc Tracy                    TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/09/busines How Nursing Homes Hide Their Most Serious By Robert Gebeloff Katie Thomas
2021-12-09   2021-12-10 s/nursing-home-abuse-inspection.html       Lapses                                       and Jessica SilverGreenberg      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/busines Trading Surge Now Scrutinized Preceded
2021-12-09   2021-12-10 s/trump-spac-stock.html                    Trumps SPAC Deal                             By Matthew Goldstein             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/busines
2021-12-09   2021-12-10 s/used-car-buying-tips.html                Tips for Finding the Best Deal on a Used Car By Paul Stenquist                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/busines Volkswagen Keeps Its CEO but Trims His
2021-12-09   2021-12-10 s/volkswagen-diess-ceo.html                Responsibilities                             By Melissa Eddy                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
2021-12-09   2021-12-10 a-son-un-fils-review.html                  After a Peaceful Day Is Shattered            By Manohla Dargis                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
2021-12-09   2021-12-10 agnes-review.html                          Agnes                                        By Lena Wilson                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
2021-12-09   2021-12-10 back-to-the-outback-review.html            Back to the Outback                          By Natalia Winkelman             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
2021-12-09   2021-12-10 beijing-spring-review.html                 Beijing Spring                               By Devika Girish                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
2021-12-09   2021-12-10 encounter-review.html                      Encounter                                    By Jeannette Catsoulis           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
2021-12-09   2021-12-10 france-review-lea-seydoux.html             An Anchorwoman Becomes the Story             By AO Scott                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
2021-12-09   2021-12-10 joy-womack-the-white-swan-review.html      Joy Womack The White Swan                    By Ben Kenigsberg                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
2021-12-09   2021-12-10 last-and-first-men-review.html             Last and First Men                           By Ben Kenigsberg                TX 9-131-897   2022-02-01



                                                                               Page 3110 of 5793
                        https://www.nytimes.com/2021/12/09/movies/ Lina Wertmller Italian Director of Provocative
2021-12-09   2021-12-10 lina-wertmuller-dead.html                   Films Is Dead at 93                           By William Grimes                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
                        mr-saturday-night-review-a-producer-who-
2021-12-09   2021-12-10 found-his-groove.html                       Mr Saturday Night                             By Elisabeth Vincentelli           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
2021-12-09   2021-12-10 national-champions-review.html              National Champions                            By Glenn Kenny                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
2021-12-09   2021-12-10 red-rocket-review.html                      Part Dreamer Part Demented                    By AO Scott                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
2021-12-09   2021-12-10 the-lady-of-heaven-review.html              The Lady of Heaven                            By Beatrice Loayza                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
                        the-real-charlie-chaplin-review-not-enough-
2021-12-09   2021-12-10 funny-business.html                         The Real Charlie Chaplin                      By Nicolas Rapold                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
2021-12-09   2021-12-10 the-unforgivable-review.html                The Unforgivable                              By Amy Nicholson                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/nyregio Backing Bold Action New Schools
2021-12-09   2021-12-10 n/david-banks-schools-chancellor.html       Chancellor Challenges the System              By Eliza Shapiro                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/nyregio James Exits Race for Governor Of New York By Katie Glueck and Nicholas
2021-12-09   2021-12-10 n/letitia-james-drops-out-governor.html     in Lift for Hochul                            Fandos                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/nyregio City Councils Vote Gives Noncitizens Legal By Jeffery C Mays and Annie
2021-12-09   2021-12-10 n/noncitizens-voting-rights-nyc.html        Right to Vote in Local Elections              Correal                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/nyregio New York City Targets Illegal Airbnb Owners
2021-12-09   2021-12-10 n/nyc-illegal-airbnb-regulation.html        Tightening Restrictions                       By Mihir Zaveri                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/nyregio SUNY Chancellor Resigns After Disparaging
2021-12-09   2021-12-10 n/suny-chancellor-malatras-resigns.html     Former Governors Accuser                      By Luis FerrSadurn                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/nyregio
                        n/trump-subpoena-testimony-letitia-                                                       By Jonah E Bromwich Ben Protess
2021-12-09   2021-12-10 james.html                                  Trump Deposition Is Said to Be Sought         and William K Rashbaum             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/opinion For Nursing Homes Complacency Could Be a
2021-12-09   2021-12-10 /omicron-nursing-homes.html                 Killer                                        By Zeynep Tufekci                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/opinion
2021-12-09   2021-12-10 /social-media-first-amendment.html          A New Fight Over Online Speech                By Jameel Jaffer and Scott Wilkens TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/sports/a
                        utoracing/f1-hamilton-verstappen-abu-dhabi-
2021-12-09   2021-12-10 grand-prix.html                             Formula 1 holds its breath                    By Ian Parkes                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/sports/a
2021-12-09   2021-12-10 utoracing/kimi-raikkonen-formula-1.html     Time for one last drive                       By Ian Parkes                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/sports/n For Many Regular College Athletes New
2021-12-09   2021-12-10 caafootball/college-athletes-nil-deals.html Rules Provide a Little Pocket Money           By Alan Blinder                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/technol
                        ogy/birds-arent-real-gen-z-
2021-12-09   2021-12-10 misinformation.html                         A Gen Z Conspiracy With Wings and a Wink By Taylor Lorenz                        TX 9-131-897   2022-02-01




                                                                                 Page 3111 of 5793
                        https://www.nytimes.com/2021/12/09/technol
                        ogy/european-commission-gig-workers-                                                     By Adam Satariano and Elian
2021-12-09   2021-12-10 uber.html                                   Europe Seeks GigWorker Protections           Peltier                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/theater/
2021-12-09   2021-12-10 emmet-otter-jug-band.html                   Jim Hensons Musical Menagerie Returns        By Elisabeth Vincentelli         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/upshot/ Medical Groups Sue to Change SurpriseBill
2021-12-09   2021-12-10 surprise-billing-act.html                   Ban                                          By Margot SangerKatz             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/us/bob- To Pass Disabilities Act Washington Found
2021-12-09   2021-12-10 dole-americans-with-disabilities-act.html   Linchpin in Dole                             By Amanda Morris                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/us/mich First Lawsuit Is Filed in Michigan School
2021-12-09   2021-12-10 igan-school-shooting-lawsuits-oxford.html   Shooting                                     By Dana Goldstein                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/us/polit At Summit on Democracies Questions About By Michael Crowley and Zolan
2021-12-09   2021-12-10 ics/biden-democracy-summit.html             Participants and Host                        KannoYoungs                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/us/polit Under the Dome a Rare Moment of Unity for
2021-12-09   2021-12-10 ics/biden-dole-capitol.html                 a Champion of Country Over Party             By Jonathan Weisman              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/us/polit
                        ics/children-lost-parents-caregivers-covid- Group Urges Support To Children Who Lost
2021-12-09   2021-12-10 grief.html                                  Caregiver to the Virus                       By Sheryl Gay Stolberg           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/us/polit
2021-12-09   2021-12-10 ics/debt-ceiling-congress.html              Senate Clears Hurdle to Raising Debt Ceiling By Emily Cochrane                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/us/polit FDA Makes Older Teens Eligible for Pfizers By Sharon LaFraniere and Noah
2021-12-09   2021-12-10 ics/pfizer-boosters-16-17-year-olds.html    Booster                                      Weiland                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/us/polit Appeals Court Blocks Trump Bid To Keep
2021-12-09   2021-12-10 ics/trump-jan-6-documents.html              Jan 6 Documents Secret                       By Charlie Savage                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/world/a Indias Farmers Call Off Protest Over Hated
2021-12-09   2021-12-10 sia/india-farmer-protests-end.html          Laws After Modi Capitulates                  By Karan Deep Singh              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/world/a
                        sia/indonesian-militant-bombing-            Militant Gets Life in Prison For Bombings In
2021-12-09   2021-12-10 sentence.html                               Indonesia                                    By Mike Ives                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/world/a New Zealand Plans to Ban All Cigarettes
2021-12-09   2021-12-10 sia/new-zealand-smoking-ban.html            Incrementally                                By Natasha Frost                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/world/e British Prime Minister Announces Birth of
2021-12-09   2021-12-10 urope/boris-carrie-johnson-baby.html        2nd Child                                    By Daniel Victor                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/world/e Denmarks Leader Faces Inquiry Over            By Thomas Erdbrink and Jasmina
2021-12-09   2021-12-10 urope/denmark-mink.html                     Minkgate                                     Nielsen                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/world/e
2021-12-09   2021-12-10 urope/macron-france-eu.html                 European Unions New Ambition Power           By Roger Cohen                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/world/e Nobel Legacies Recede As Russia Clamps
2021-12-09   2021-12-10 urope/russian-dimitri-muratov-nobel.html    Down                                         By Valerie Hopkins               TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/09/world/e Spike in New Variant Has Some in Britain
2021-12-09   2021-12-10 urope/uk-omicron-spreading-restrictions.html Fearing Horrible Winter                   By Megan Specia                    TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/09/world/e As Russia Flexes at the Border Ukraine Fears
2021-12-09   2021-12-10 urope/ukraine-military-russia-invasion.html a Quick Knockout                            By Michael Schwirtz               TX 9-131-897   2022-02-01



                                                                                Page 3112 of 5793
                        https://www.nytimes.com/2021/12/09/world/ Strictures Relax for Saudi Women by Fits and
2021-12-09   2021-12-10 middleeast/saudi-arabia-women-mbs.html       Starts                                       By Kate Kelly                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/world/ US Announces End to Combat in Iraq but
2021-12-09   2021-12-10 middleeast/us-iraq-combat-mission.html       Troops Will Not Leave                        By Jane Arraf                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/busines Some Watchers Feeling Nervous As Stock
2021-12-09   2021-12-10 s/corporate-profits-inflation.html           Prices Outpace Profits                       By Stephen Gandel                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/article/diplomatic- Explaining the Diplomatic Boycott of the
2021-12-09   2021-12-10 boycott-olympics.html                        Beijing Games                                By Victor Mather                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/arts/tele
2021-12-10   2021-12-10 vision/jussie-smollett-guilty.html           Smollett Guilty In Fake Report Of Hate Crime By Julia Jacobs and Mark Guarino   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/opinion
2021-12-10   2021-12-10 /economy-inflation-spending-jobs.html        How Is the Economy Doing                     By Paul Krugman                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/opinion
2021-12-10   2021-12-10 /sufferer-stranger-pain.html                 What Do You Say to the Sufferer              By David Brooks                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/theater/
2021-12-10   2021-12-10 company-review-sondheim.html                 A Company That Just Loves Misery             By Jesse Green                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/us/polit Pragmatic Agreement On Federal Spending
2021-12-10   2021-12-10 ics/debt-limit-mcconnell-gop-senate.html     Widens GOP Divide                            By Carl Hulse                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/us/polit House Passes Bill Curbing Many Presidential
2021-12-10   2021-12-10 ics/presidential-power-trump.html            Powers                                       By Charlie Savage                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/us/texa
2021-12-10   2021-12-10 s-abortion-law-unconstitutional.html         Judge Rules Against Abortion Law             By J David Goodman                 TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/09/world/a 49 Die in Mexico Crash Of Truck With
2021-12-10   2021-12-10 mericas/mexico-migrants-killed-accident.html Migrants                                     By Oscar Lopez                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/opinion
                        /independent-journalism-at-risk-nobel-                                                    By Maria Ressa and Mark
2021-12-10   2021-12-10 prize.html                                   The Free Press Needs Our Help                Thompson                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/opinion 36 Years Later the Transformation of This
2021-12-07   2021-12-11 /climate-change-alaska.html                  Park Stunned Me                              By Jon Waterman                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/arts/mu
2021-12-08   2021-12-11 sic/greg-tate-critic.html                    We Needed Greg Tates Peerless Imagination    By Jon Caramanica                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/arts/mu
2021-12-08   2021-12-11 sic/yoko-ono-beatles-get-back.html           Something in the Way She Artfully Intrudes   By Amanda Hess                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/opinion
2021-12-08   2021-12-11 /trump-press-restoration.html                Can the Press Stop a Trump Restoration       By Ross Douthat                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/science Study of Mice Reveals A Boost for
2021-12-08   2021-12-11 /mice-blood-alzheimers.html                  Brainpower In the Blood of Athletes          By Pam Belluck                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/arts/wri Writers Tackle the Challenge of
2021-12-09   2021-12-11 ter-censorship-pen-america.html              SelfCensorship                               By Jennifer Schuessler             TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/09/busines How Supply Chain Upheaval Became a
2021-12-09   2021-12-11 s/supply-chain-medical-device-shortages.html LifeorDeath Threat                           By Peter S Goodman                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/opinion Dont Let Treeson Drive You Out of New
2021-12-09   2021-12-11 /new-york-city-christmas.html                York City                                    By Mara Gay                        TX 9-131-897   2022-02-01



                                                                                 Page 3113 of 5793
                        https://www.nytimes.com/2021/12/09/us/polit William Hartmann 63 Official Who Disputed
2021-12-09   2021-12-11 ics/william-hartmann-dead.html              Election                                  By Katharine Q Seelye        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/arts/mu Robbie Shakespeare 68 Who Transformed
2021-12-10   2021-12-11 sic/robbie-shakespeare-dead.html            Reggae                                    By Clay Risen                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/09/world/a A Black Box for an Earth At Risk of a
2021-12-10   2021-12-11 ustralia/earth-black-box-climate-change.html Climate Crash                            By Livia AlbeckRipka         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/arts/des                                           By Roberta Smith and David
2021-12-10   2021-12-11 ign/metro-pictures-closing.html              The Last Picture Show                    Colman                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/arts/des NotreDame Renovation Plans Outrage Some
2021-12-10   2021-12-11 ign/notre-dame-contemporary-art.html         Preservationists                         By Constant Mheut            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/arts/mu
2021-12-10   2021-12-11 sic/alicia-keys-keys-review.html             Heres Alicia Keys On and Off the Grid    By Jon Pareles               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/arts/mu
2021-12-10   2021-12-11 sic/classical-music-kati-agocs.html          New Cantata Presented With Clarity       By Zachary Woolfe            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/arts/mu Michael Nesmith the Quiet Monkee and a
2021-12-10   2021-12-11 sic/michael-nesmith-dead.html                Music Video Pioneer Dies at 78           By Neil Genzlinger           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/arts/mu
2021-12-10   2021-12-11 sic/salzburg-festival-music-opera.html       Music Next Summer in Salzburg            By Zachary Woolfe            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/briefing The Economy Looks Healthy but Americans
2021-12-10   2021-12-11 /us-economy-covid-malaise.html               Know Its Rough Out There                 By David Leonhardt           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/busines
2021-12-10   2021-12-11 s/biden-economy-growth-jobs.html             Biden Sees a Boom but Many Do Not        By Jim Tankersley            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/busines In Omicron New Setback For Business In
2021-12-10   2021-12-11 s/britain-covid-business.html                Britain                                  By Eshe Nelson               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/busines Consumer Prices Jump Testing US Officials
2021-12-10   2021-12-11 s/cpi-inflation-november-2021.html           On Inflation Controls                    By Jeanna Smialek            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/busines After Mass Firing Via Zoom Bettercoms CEO
2021-12-10   2021-12-11 s/economy/better-ceo-zoom-firing.html        Is on Leave                              By Emma Goldberg             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/busines Main Owner Of Oil Field Off Scotland Halts
2021-12-10   2021-12-11 s/economy/cambo-oilfield-project.html        Project                                  By Stanley Reed              TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/busines Daimler Truck a MercedesBenz Spinoff Starts
2021-12-10   2021-12-11 s/economy/daimler-truck-shares-trading.html Trading                                    By Jack Ewing               TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/busines
2021-12-10   2021-12-11 s/economy/human-rights-export-controls.html Export Controls Will Fight Rights Abuses   By Ana Swanson              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/busines Biden Opposes Kellogg Plan To Replace
2021-12-10   2021-12-11 s/economy/kellogg-strike-biden.html         Striking Workers                           By Noam Scheiber            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/busines GM Includes Michigan in Its Plans to Go
2021-12-10   2021-12-11 s/gm-electric-vehicles-michigan.html        Electric                                   By Neal E Boudette          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/busines
                        s/jelena-mcwilliams-fdic-bank-regulation-   FDIC Power Struggle Focuses on Ousting a
2021-12-10   2021-12-11 trump.html                                  Trump Holdover                             By Emily Flitter            TX 9-131-897   2022-02-01




                                                                               Page 3114 of 5793
                        https://www.nytimes.com/2021/12/10/fashion
                        /watches-bulgari-mbandf-maximilian-
2021-12-10   2021-12-11 busser.html                                Time and space                                    By Ming Liu                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/fashion
2021-12-10   2021-12-11 /watches-china-sales.html                  Watch brands face the China challenge             By Victoria Gomelsky        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/fashion
                        /watches-film-nightmare-alley-bradley-
2021-12-10   2021-12-11 cooper.html                                The watches of Nightmare Alley                    By David Belcher            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/fashion
                        /watches-greubel-forsey-antonio-calce-
2021-12-10   2021-12-11 switzerland.html                           Sharpening the vision                             By Robin Swithinbank        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/fashion
2021-12-10   2021-12-11 /watches-initium-classes-switzerland.html  DIY watchmaking                                   By Kathleen Beckett         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/fashion
                        /watches-magon-stephen-mcgonigle-
2021-12-10   2021-12-11 ireland.html                               Rugby for the wrist                               By Sandra Jordan            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/fashion
                        /watches-recycled-steel-panatere-
2021-12-10   2021-12-11 switzerland.html                           Recycled steel offers sustainable possibilities   By Nazanin Lankarani        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/health/ How Philadelphia Achieved a High
2021-12-10   2021-12-11 philadelphia-vaccine-mandate.html          Vaccination Rate for Its Health Workers           By Reed Abelson             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/nyregio After Ghana Trip Adams Faces Long ToDo
2021-12-10   2021-12-11 n/eric-adams-ghana.html                    List                                        By Katie Glueck                   TX 9-131-897   2022-02-01
                                                                                                               By Benjamin Weiser Colin
                        https://www.nytimes.com/2021/12/10/nyregio Prosecution Rests in Maxwell Trial After    Moynihan and Rebecca Davis
2021-12-10   2021-12-11 n/ghislaine-maxwell-trial-annie-farmer.html Fourth Accuser Testifies                   OBrien                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/nyregio                                             By Luis FerrSadurn and Jesse
2021-12-10   2021-12-11 n/ny-mask-mandate-covid.html                New York Brings Back A Mask Requirement McKinley                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/nyregio 11 Million New Oysters Want to Eat One
2021-12-10   2021-12-11 n/oysters-new-york-hudson-river.html        Maybe in 100 Years                         By Karen Zraick                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/science Space Tourist or Astronaut The Criteria Are
2021-12-10   2021-12-11 /astronaut-wings-faa-bezos-musk.html        Changing                                   By Joey Roulette                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/sports/2
2021-12-10   2021-12-11 021-year-in-sports.html                     Sports in 2021 tried to return to normal   By Joe Drape                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/sports/a Al Unser 82 Auto Racing Legend Who Won
2021-12-10   2021-12-11 utoracing/al-unser-dead.html                the Indy 500 Four Times Dies               By Daniel Victor and Clay Risen   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/sports/f Thomas 33 ExReceiver In Denver Dies at
2021-12-10   2021-12-11 ootball/demaryius-thomas-dead.html          Home Medical Issue Is Cited                By Livia AlbeckRipka              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/sports/
                        magnus-carlsen-chess-world-                 Carlsen Retains His Title As Rivals Errors
2021-12-10   2021-12-11 championship.html                           Change Tight Match Into a Rout             By Dylan Loeb McClain             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/sports/n
                        caabasketball/ncaa-auburn-infractions-      Auburns Coach Suspended for Two Games in
2021-12-10   2021-12-11 penalties.html                              Fallout From Corruption Scandal            By Billy Witz                     TX 9-131-897   2022-02-01




                                                                                  Page 3115 of 5793
                        https://www.nytimes.com/2021/12/10/sports/u Title Fights Highlight UFCs Last PayPerView
2021-12-10   2021-12-11 fc-269-poirier-oliveira-nunes-pena.html     of the Year                                  By Emmanuel Morgan             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/style/w
2021-12-10   2021-12-11 atches-ryuichi-kawamura-tokyo.html          A rock stars solo project                    By Vivian Morelli              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/us/dea- Former Agent Gets 12 Years For Funneling
2021-12-10   2021-12-11 agent-guilty-undercover-cash.html           Drug Money                                   By Michael Levenson            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/us/mich A Prosecutor Asks What About a Suspects
2021-12-10   2021-12-11 igan-school-shooting-prosecutor.html        Parents                                      By Stephanie Saul              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/us/polit Eulogizing Dole President Pays Tribute to a By Mark Leibovich and Zolan
2021-12-10   2021-12-11 ics/bob-dole-funeral-biden.html             Man Who Always Did His Duty                  KannoYoungs                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/us/polit Baseless Election Claims Resurface in Perdue By Astead W Herndon and Nick
2021-12-10   2021-12-11 ics/david-perdue-georgia-election.html      Suit                                         Corasaniti                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/us/polit 6 New Subpoenas Focus on Gatherings
2021-12-10   2021-12-11 ics/jan-6-capitol-riot-subpoenas.html       Before Riot                                  By Luke Broadwater             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/us/polit Supreme Court Lets Texas Law Be
2021-12-10   2021-12-11 ics/texas-abortion-supreme-court.html       Challenged                                   By Adam Liptak                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/us/texa New Reality Persists for Texas Women          By J David Goodman and Ruth
2021-12-10   2021-12-11 s-abortion-law-providers.html               Despite Rulings on Abortion Law              Graham                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/us/texa A Law an Email and a Furor Over
2021-12-10   2021-12-11 s-critical-race-theory-ban-books.html       Curriculums                                  By Michael Powell              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/world/a Tigrayan Rebels Have Executed Dozens of
2021-12-10   2021-12-11 frica/ethiopia-executions-rebels.html       Ethiopian Civilians Report Says              By Abdi Latif Dahir            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/world/a Dangerous Route for Migrants Turned Deadly
2021-12-10   2021-12-11 mericas/mexico-truck-crash.html             in an Instant                                By Oscar Lopez                 TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/world/a In a Colombian Artists Work and Life Classes
2021-12-10   2021-12-11 mericas/oscar-murillo-colombian-artist.html Collide                                     By Silvana Paternostro          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/world/a Beijing Nods As an Ally Severs Ties With
2021-12-10   2021-12-11 sia/taiwan-nicaragua-china.html             Taiwan                                      By Steven Lee Myers             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/world/e
                        urope/macron-scholz-france-germany-         Leaders of France and Germany Bond Over a By Roger Cohen and Katrin
2021-12-10   2021-12-11 meeting.html                                Goal of European Sovereignty                Bennhold                        TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/world/e Accepting Nobel Prize Two Journalists Warn
2021-12-10   2021-12-11 urope/nobel-prize-journalism-ceremony.html Of Perils to Democracy                     By Valerie Hopkins                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/world/e French Court Convicts and Fines Spectator
2021-12-10   2021-12-11 urope/tour-de-france-crash.html            For Causing Huge Crash at Tour in June     By Aurelien Breeden               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/world/e UK Court Rules Assange WikiLeaks Founder By Megan Specia and Charlie
2021-12-10   2021-12-11 urope/uk-julian-assange-extradition.html   Can Be Extradited                          Savage                            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/world/e Restrictions in Europe Rekindle Fierce Debate
2021-12-10   2021-12-11 urope/vaccine-mandates-civil-liberties.html Over Civil Liberties                         By Mark Landler                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/world/ Keeping His Own Counsel on Turkeys
2021-12-10   2021-12-11 middleeast/erdogan-economy-lira-turkey.html Economy                                    By Carlotta Gall                 TX 9-131-897   2022-02-01



                                                                                Page 3116 of 5793
                        https://www.nytimes.com/2021/12/10/your-      Cutoff Nears for Special Charitable Tax
2021-12-10   2021-12-11 money/tax-break-donations.html                Break                                        By Ann Carrns                    TX 9-131-897   2022-02-01

                        https://www.nytimes.com/live/2021/12/10/bus
                        iness/inflation-cpi-stock-market-news/stocks-
                        rise-extending-the-weeks-rally-as-wall-street-
2021-12-10   2021-12-11 takes-surging-inflation-in-stride              Despite Inflation SampP 500 Hits a Record   By Coral Murphy Marcos           TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/arts/tele Community Service Not Prison Likely for
2021-12-11   2021-12-11 vision/jussie-smollett-convicted-guilty.html Smollett                                      By Julia Jacobs and Mark Guarino TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/busines
2021-12-11   2021-12-11 s/the-game-awards.html                       Game World Celebrates At Its Oscars           By Kellen Browning               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/nyregio Rikers Death Is Years 15th As Citys Jails
2021-12-11   2021-12-11 n/rikers-jail-death-15th-person.html         Battle a Crisis                               By Jan Ransom and Karen Zraick   TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/us/polit Document Advised That Trump Use                By Luke Broadwater and Alan
2021-12-11   2021-12-11 ics/capitol-attack-meadows-powerpoint.html Emergency to Delay Election Results             Feuer                            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/us/polit Feud Over Iran Nuclear Deal Strains            By Julian E Barnes Ronen Bergman
2021-12-11   2021-12-11 ics/iran-nuclear-us-israel-biden-bennett.html USIsraeli Relations                          and David E Sanger               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/your-
2021-12-11   2021-12-11 money/work-time-out-career-longevity.html How to Plan To Hit Pause On a Career             By Ron Lieber                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/09/14/books/r
2021-09-14   2021-12-12 eview/laurent-binet-civilizations.html        Go East Young Man                            By Randy Boyagoda                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/05/books/r
                        eview/amitava-kumar-time-outside-this-
2021-10-05   2021-12-12 time.html                                     Bad News                                     By Abhrajyoti Chakraborty        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/12/books/r
                        eview/a-survivor-of-suicide-writes-of-his-
2021-10-12   2021-12-12 state-of-eternal-dying.html                   Darkness                                     By Heather Clark                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/12/books/r
2021-10-12   2021-12-12 eview/dear-memory-victoria-chang.html         A Moment of Silence                          By Maya Phillips                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/12/books/r
2021-10-12   2021-12-12 eview/jk-rowling-the-christmas-pig.html       When Pigs Fly                                By Miranda Seymour               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/12/books/r
2021-10-12   2021-12-12 eview/tamara-shopsin-laserwriter.html         Think Different                              By J D Biersdorfer               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/15/books/r
2021-10-15   2021-12-12 eview/look-at-us-tl-toma.html                 The Odd Thruple                              By Lydia Kiesling                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/26/books/r
                        eview/geoffrey-wheatcroft-churchills-
2021-10-26   2021-12-12 shadow.html                                   Against Winston                              By Peter Baker                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/06/books/r
2021-11-06   2021-12-12 eview/padgett-powell-indigo-essays.html       Rugged Terrain                               By Christian Lorentzen           TX 9-131-897   2022-02-01




                                                                                  Page 3117 of 5793
                        https://www.nytimes.com/2021/11/10/books/r
2021-11-10   2021-12-12 eview/scientist-eo-wilson-richard-rhodes.html The Observer                             By Andrea Wulf                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/16/books/r
                        eview/blue-skinned-gods-sj-sindu-the-teller-of
                        secrets-bisi-adjapon-the-island-of-missing-
2021-11-16   2021-12-12 trees-elif-shafak.html                         Bildungsromans                          By Spencer Quong                   TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/16/books/r
2021-11-16   2021-12-12 eview/john-edgar-wideman-look-for-me.html In the Telling                               By Ismail Muhammad                 TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/19/books/r
2021-11-19   2021-12-12 eview/the-young-hg-wells-claire-tomalin.html Futurama                                  By Charles Johnson                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/21/books/r
                        eview/the-age-of-ai-henry-kissinger-eric-
2021-11-21   2021-12-12 schmidt-daniel-huttenlocher.html             A Robot Wrote This Review                 By Kevin Roose                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/arts/bes
2021-12-01   2021-12-12 t-podcasts.html                              A Bounty of Podcasts                      By Reggie Ugwu                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/arts/dan                                            By Gia Kourlas Brian Seibert and
2021-12-01   2021-12-12 ce/best-dance-2021.html                      Best Dance of 2021                        Siobhan Burke                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/arts/mu
2021-12-02   2021-12-12 sic/best-jazz-albums.html                    And Some Jazz Too                         By Giovanni Russonello             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/books/r
                        eview/richard-paul-evans-the-christmas-
2021-12-02   2021-12-12 promise.html                                 Inside the List                           By Elisabeth Egan                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/arts/tele                                           By James Poniewozik Mike Hale
2021-12-03   2021-12-12 vision/best-tv-shows.html                    Best TV Shows of 2021                     and Margaret Lyons                 TX 9-131-897   2022-02-01
                                                                                                               By Jesse Green Maya Phillips
                                                                                                               Laura CollinsHughes Scott Heller
                        https://www.nytimes.com/2021/12/03/theater/                                            Alexis Soloski and Elisabeth
2021-12-03   2021-12-12 best-theater.html                           Best Theater of 2021                       Vincentelli                        TX 9-131-897   2022-02-01
                                                                                                               By Anthony Tommasini Zachary
                        https://www.nytimes.com/2021/12/06/arts/mu                                             Woolfe Joshua Barone Seth Colter
2021-12-06   2021-12-12 sic/best-classical-music.html               Best Classical Music of 2021               Walls and David Allen              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/opinion
2021-12-06   2021-12-12 /california-homelessness-crisis.html        Tiny Homes Hold Big Promise                 By Jay Caspian Kang               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/realesta An Apartment Near the Big City at Wisconsin
2021-12-06   2021-12-12 te/renters-hoboken-new-jersey.html          Prices                                      By Marian Bull                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/arts/des                                             By Holland Cotter and Roberta
2021-12-07   2021-12-12 ign/best-art-2021.html                      Best Art Exhibitions of 2021                Smith                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/magazi
2021-12-07   2021-12-12 ne/break-in-boots.html                      How to Break In Boots                       By Jaime Lowe                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/magazi
2021-12-07   2021-12-12 ne/how-to-john-wilson.html                  Hoarder of The Obvious                      By Nitsuh Abebe                   TX 9-131-897   2022-02-01




                                                                                 Page 3118 of 5793
                        https://www.nytimes.com/2021/12/07/magazi
2021-12-07   2021-12-12 ne/jury-duty-covid-fear.html                 Can I Skip Jury Duty Because of Covid Fears By Kwame Anthony Appiah   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/magazi
2021-12-07   2021-12-12 ne/mother-movie-depictions.html              The Lost mothers                            By Lydia Kiesling         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/magazi
2021-12-07   2021-12-12 ne/tv-for-cats.html                          TV for Cats                                 By Megan Reynolds         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/realesta
                        te/how-to-create-a-guest-room-thats-
2021-12-07   2021-12-12 comfortable-even-in-a-pandemic.html          Be Our Guest Designing a Cozy Room          By Tim McKeough           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/style/bl
2021-12-07   2021-12-12 ack-girlhood-altar-chicago-monument.html Mourning Black Women and Girls                  By Gina Cherelus          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/opinion
2021-12-07   2021-12-12 /hispanic-voters-messaging.html              Lets Stop Warring Over Words                By Jamelle Bouie          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/
2021-12-07   2021-12-12 07/magazine/best-actors.html                 The Best Actors of 2021                     By AO Scott               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/magazi
2021-12-08   2021-12-12 ne/great-performers.html                     Long Live hollywood                         By AO Scott               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/arts/art-
2021-12-08   2021-12-12 algorithm-2021.html                          Contemplation Not Clicks                    By Jason Farago           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/arts/tele Meg Stalter Endured 2021 With Her Dog and
2021-12-08   2021-12-12 vision/meg-stalter-yearly-departed.html      Dolly                                       By Kathryn Shattuck       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/fashion With Metaverse Weddings Some Unreal
2021-12-08   2021-12-12 /metaverse-virtual-wedding.html              Possibilities                               By Steven Kurutz          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/magazi
                        ne/on-the-citizen-app-even-the-happy-videos-
2021-12-08   2021-12-12 can-be-unsettling.html                       Scare Away                                  By Peter C Baker          TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/08/magazi Ham and Pop Christmas means the Beatles on
2021-12-08   2021-12-12 ne/root-beer-ham-recipe.html                the record player and a rootbeerglazed ham      By Eric Kim            TX 9-131-897   2022-02-01
                                                                    Scientists are racing to develop a new class of
                                                                    universal vaccines that protect against flu
                        https://www.nytimes.com/2021/12/08/magazi viruses and then hopefully someday
2021-12-08   2021-12-12 ne/universal-vaccines.html                  coronaviruses                                   By Kim Tingley         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/opinion
2021-12-08   2021-12-12 /free-covid-test-biden.html                 Make Tests Free for All Americans               By Aaron E Carroll     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/opinion
2021-12-08   2021-12-12 /trump-democrats-republicans.html           Trump Wont Let America Go                       By Thomas B Edsall     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/realesta
2021-12-08   2021-12-12 te/fieldston-bronx.html                     Where Leafy Spacious and Rocky Meet             By C J Hughes          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/realesta
                        te/home-prices-connecticut-south-carolina-  29 Million Homes in Connecticut South
2021-12-08   2021-12-12 illinois.html                               Carolina and Illinois                           By Angela Serratore    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/realesta An Idyllic Home Made of Stone on the Island
2021-12-08   2021-12-12 te/house-hunting-greece.html                of Tinos                                        By Lisa Prevost        TX 9-131-897   2022-02-01




                                                                                  Page 3119 of 5793
                        https://www.nytimes.com/2021/12/08/sports/a Frank Williams 79 Manager Of Formula 1
2021-12-08   2021-12-12 utoracing/frank-williams-dead.html           Racing Teams                               By Clay Risen                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/sports/t Darlene Hard 85 Tennis Star Who Won 21
2021-12-08   2021-12-12 ennis/darlene-hard-dead.html                 Grand Slams Before Pro Era Dies            By Frank Litsky                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/style/ch
2021-12-08   2021-12-12 anel-metiers-dart.html                       Celebrating Craft and Cardigans            By Ellie Pithers                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/style/fa
                        shion-institute-technology-social-justice-
2021-12-08   2021-12-12 center.html                                  Social Justice Center For Fashion to Open  By Jessica Testa                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/style/th
2021-12-08   2021-12-12 e-year-on-the-red-carpet.html                Full Throttle Again On the Red Carpet      By Vanessa Friedman                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/theater/
2021-12-08   2021-12-12 theater-tv-movies-fandoms-2021.html          On Feeding Her Inner Nerd                  By Maya Phillips                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/magazi
                        ne/judge-john-hodgman-on-the-secret-flip-
2021-12-09   2021-12-12 off.html                                     Judge John Hodgman on the Secret Flip Off By Judge John Hodgman               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/magazi                                               By Etheridge Knight and Reginald
2021-12-09   2021-12-12 ne/poem-for-freckle-faced-gerald.html        Poem For FreckleFaced Gerald               Dwayne Betts                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/magazi
2021-12-09   2021-12-12 ne/will-smith-interview.html                 Father figuring                            By David Marchese                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/ Denis OBrien 80 Dies Partnered With
2021-12-09   2021-12-12 denis-obrien-dead.html                       ExBeatle And Made Quirky Movies            By Neil Genzlinger                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/needies
                        t-cases/standing-ready-in-the-aftermath-of-  Ready KitchenFree Box in Hand to Feed the
2021-12-09   2021-12-12 disaster.html                                Hungry After Disasters                     By Kristen Bayrakdarian            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/nyregio Wrestling Team Grapples With Covid
2021-12-09   2021-12-12 n/wrestling-athletes-covid-restrictions.html Regulations                                By Stuart Miller                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/opinion
2021-12-09   2021-12-12 /joe-biden-political-time.html               Why Does Biden Seem So Stuck               By Corey Robin                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/opinion
2021-12-09   2021-12-12 /stephen-sondheim-al-hirschfeld.html         Al Hirschfeld Saw Sondheim Best            By Ben Brantley                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/realesta
                        te/mobile-home-values-have-been-migrating-
2021-12-09   2021-12-12 upward-at-breakneck-speed.html               Prices and Homes on the Move               By Michael Kolomatsky              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/sports/f The Haves Start to Distance Themselves From
2021-12-09   2021-12-12 ootball/nfl-week-14-picks.html               the HaveNots                               By Emmanuel Morgan                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/style/va
2021-12-09   2021-12-12 ccine-requirement-social-qs.html             Strings Attached                           By Philip Galanes                  TX 9-131-897   2022-02-01
                                                                     A Young Buyer Seeks OldFashioned Charm
                        https://www.nytimes.com/interactive/2021/12/ in Brooklyn Which Apartment Would You
2021-12-09   2021-12-12 09/realestate/09hunt-sullivan.html           Choose                                     By Joyce Cohen                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/books/r
                        eview/ibi-zoboi-loveis-wise-the-people-
2021-12-10   2021-12-12 remember-kwanzaa.html                        Speak Memory                               By Vanessa Willoughby              TX 9-131-897   2022-02-01




                                                                                Page 3120 of 5793
                        https://www.nytimes.com/2021/12/10/books/r
2021-12-10   2021-12-12 eview/new-paperbacks.html                  Paperback Row                                    By Miguel Salazar             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/busines All Decked Out in Fir The Intricacies of the     By Julia Rothman and Shaina
2021-12-10   2021-12-12 s/christmas-tree.html                      Sidewalk Christmas Tree                          Feinberg                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/busines
2021-12-10   2021-12-12 s/elon-musk-philanthropy.html              Elon Musk Trolling Away                          By Nicholas Kulish            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/busines
2021-12-10   2021-12-12 s/ryan-gellert-patagonia-corner-office.html The Mission Save Our Home Planet                By David Gelles               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/nyregio
                        n/how-a-professional-mover-spends-his-
2021-12-10   2021-12-12 sundays.html                                Transporting Lives to Their Next Chapters       By Laura Entis                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/nyregio                                                  By Danny Hakim and Jesse
2021-12-10   2021-12-12 n/richard-matt-murder-buffalo.html          An Old Crime Turns Murkier                      McKinley                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/nyregio
2021-12-10   2021-12-12 n/singing-pandemic-new-york.html            Crooning Communally in the City Again           By Bob Morris                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/nyregio
2021-12-10   2021-12-12 n/urban-universities-neighborhoods.html     Do Urban Universities Give Back Enough          By Ginia Bellafante           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/opinion
2021-12-10   2021-12-12 /cash-crypto-trust-money.html               Whats Happening to Money                        By Peter Coy                  TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/opinion
2021-12-10   2021-12-12 /international-world/putin-ukraine-biden.html Protecting Ukraine From Invasion              By Alexander Vindman          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/realesta
2021-12-10   2021-12-12 te/the-adu-experiment.html                    One Lot Two Homeowners                        By Lisa Prevost               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/realesta
2021-12-10   2021-12-12 te/top-nyc-real-estate-sales.html             Her Art Was Abstract Her Loft Full of Light   By Vivian Marino              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/sports/n Where the StudentAthletes Are Service
2021-12-10   2021-12-12 caafootball/army-navy-football.html           Members First                                 By Joe Drape                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/sports/s Good Soccer Isnt Perfect Soccer And
2021-12-10   2021-12-12 occer/manchester-united-rangnick.html         ViceVersa                                     By Rory Smith                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/style/an Hes Had Twice the Time to Learn the
2021-12-10   2021-12-12 gela-newman-anthony-falco-wedding.html        Answers                                       By Vincent M Mallozzi         TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/style/ka
2021-12-10   2021-12-12 thleen-kunkler-brooke-todare-wedding.html It Was a Heck of a Way to Meet                 By Vincent M Mallozzi            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/style/m
                        oderrn-love-haiti-earthquake-hold-their-hands- I Would Give Anything to Hold Their Hands
2021-12-10   2021-12-12 again.html                                     Again                                     By Jessica Alexander             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/style/m
                        urray-bartlett-of-the-white-lotus-shucks-his-
2021-12-10   2021-12-12 oyster.html                                    Shucks the World Has Become His Oyster    By Alexis Soloski                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/style/ro Getting a Perfect Grade at the Burlesque
2021-12-10   2021-12-12 seanne-blair-houston-hardaway-wedding.html Show                                             By Jenny Block                TX 9-131-897   2022-02-01



                                                                                  Page 3121 of 5793
                        https://www.nytimes.com/2021/12/10/style/sp
2021-12-10   2021-12-12 ace-billionaires.html                       Earth Is So Surly Lets Slip Its Bonds     By Alex Williams           TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/style/tal A Porgy and Bess That Was So Necessarily
2021-12-10   2021-12-12 ibah-safiya-bertram-williams-wedding.html So                                            By Gabe Cohn             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/style/th
2021-12-10   2021-12-12 e-met-celebrates-new-works.html              Black Ties Greet Suits of Armor            By Denny Lee             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/style/vi
                        vek-viswanathan-jasmine-huynh-               Deciding to Take Him On as Her Running
2021-12-10   2021-12-12 wedding.html                                 Mate                                       By Rosalie R Radomsky    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/style/wi
2021-12-10   2021-12-12 ll-jardell-james-wallington-wedding.html     They Set the Pace on Reality TV and Beyond By Louise Rafkin         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/us/polit Rift Between Senator and Son Shows
2021-12-10   2021-12-12 ics/taxing-the-rich.html                     Challenge of Taxing the Ultrarich          By Jonathan Weisman      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/us/prou Proud Boy Gets 10 Years For Violent Acts in
2021-12-10   2021-12-12 d-boys-alan-swinney-sentenced.html           Portland                                   By Michael Levenson      TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/world/e A Floating Powder Keg For a Few Hours at
2021-12-10   2021-12-12 urope/ukraine-russia-war-naval-vessel.html Least                                        By Michael Schwirtz      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/sports/s
2021-12-11   2021-12-12 occer/mls-cup-nycfc-portland.html           Playing a Long Game to Reach the MLS Cup By Joel Petterson           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/busines The Politics of Big Tech Shifts From Theater
2021-12-11   2021-12-12 s/congress-tech-regulation.html             to Gridlock                                 By Cecilia Kang          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/busines
2021-12-11   2021-12-12 s/new-corporate-jargon.html                 From al Desko Dining to Zoombies            By Emma Goldberg         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/health/c Many Obstacles Even as Doses Flow to
2021-12-11   2021-12-12 ovid-vaccine-africa.html                    Africa                                      By Stephanie Nolen       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/opinion Covid Isnt Going Anywhere Its Time We
2021-12-11   2021-12-12 /covid-vaccine-omicron-booster.html         Started Acting Like It                      By The Editorial Board   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/opinion
2021-12-11   2021-12-12 /remembering-fred-hiatt.html                Remembering Fred Hiatt                      By Kathleen Kingsbury    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/opinion
2021-12-11   2021-12-12 /what-the-new-right-sees.html               What the New Right Understands              By Ross Douthat          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/realesta I Just Relocated to the Suburbs How Do I
2021-12-11   2021-12-12 te/holiday-tipping-homeowners.html          Handle Holiday Tips                         By Ronda Kaysen          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/style/gl
2021-12-11   2021-12-12 yn-johns-get-back-beatles-outfit.html       The Epitome of British Rocker Cool          By Alex Williams         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/style/m
2021-12-11   2021-12-12 artinellis-sparkling-cider.html             Theres an Apple for That                    By Natalie Shutler       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/style/ny
2021-12-11   2021-12-12 la-hasan-kurtas-other.html                  Bright Reimagining Of East and West         By John Ortved           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/style/pa
2021-12-11   2021-12-12 rty-rave-healing.html                       Rave Rave Against Covid Winters Bite        By Anna P Kambhampaty    TX 9-131-897   2022-02-01




                                                                                  Page 3122 of 5793
                        https://www.nytimes.com/2021/12/11/style/pa
2021-12-11   2021-12-12 tti-lupone-company-stephen-sondheim.html Bravado Softened by Vulnerability                   By Maureen Dowd                  TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/11/us/abor On Abortion Public Is Not as Polarized as
2021-12-11   2021-12-12 tion-politics-polls.html                    Parties                                          By Nate Cohn                     TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/11/us/calif Cheap Homes Fuel Boom in Bakersfield the
2021-12-11   2021-12-12 ornia-housing-bakersfield.html              Texas of California                              By Jill Cowan                    TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/11/us/mayf Grief and Gratitude in a Small Kentucky
2021-12-11   2021-12-12 ield-kentucky-hit-by-tornado.html           Town                                             By Rick Rojas and Jamie McGee    TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/11/us/polit Trump Loyalists Speed Into Jobs Overseeing
2021-12-11   2021-12-12 ics/trust-in-elections-trump-democracy.html Vote                                       By Charles Homans                      TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/11/us/texa Inside Texas Unusual Effort to Arrest       By J David Goodman and Kirsten
2021-12-11   2021-12-12 s-migrant-arrests-police.html               Migrants                                   Luce                                   TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/11/world/a Fires Then Floods Australia Faces Climate         By Damien Cave and Matthew
2021-12-11   2021-12-12 ustralia/flooding-fire-climate-australia.html Whiplash                                       Abbott                           TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/11/world/c
                        anada/missing-indigenous-children-            Putting Their Distrust Aside to Seek Justice
2021-12-11   2021-12-12 police.html                                   for Indigenous Students                        By Ian Austen                    TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/11/world/e A Seething Campaign Rally Not Unlike
2021-12-11   2021-12-12 urope/eric-zemmour-rally-france.html          Trumps but This Time in France                 By Constant Mheut                TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/11/world/e With the Flip of a Switch Rome Gets in the
2021-12-11   2021-12-12 urope/rome-christmas-tree.html                Spirit Of Brooding Over a Tree                 By Elisabetta Povoledo           TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/12/health/ UK Study Says Boosters Provide
2021-12-11   2021-12-12 britain-omicron.html                          Considerable Defense Against Omicron           By Benjamin Mueller              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/11/sports/n This Was Predictable Alabamas Quarterback
2021-12-12   2021-12-12 caafootball/heisman-trophy.html               Gets the Heisman                               By Billy Witz                   TX 9-131-897     2022-02-01
                                                                                                                     By Rick Rojas Jamie McGee Laura
                        https://www.nytimes.com/2021/12/11/us/kent                                                   Faith Kebede and Campbell
2021-12-12   2021-12-12 ucky-deadly-tornadoes.html                  Tornado Outbreak Pummels Six States              Robertson                       TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/12/busines
2021-12-12   2021-12-12 s/the-week-in-business-jobs-quitting.html   The Week in Business Heading Out the Door By Sarah Kessler                        TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/12/insider/
2021-12-12   2021-12-12 photographing-a-great-performance.html      Photographing a Great Performance         By Kate Dwyer                           TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/12/realesta
2021-12-12   2021-12-12 te/homes-that-sold-for-around-450000.html Homes That Sold for Around 450000                  By C J Hughes                    TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/12/style/lo
2021-12-12   2021-12-12 ro-piana-baby-cashmere-traceability.html    Your Sweater From Goat to Glory                  By Vanessa Friedman               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/us/civil Civilian Deaths Mounted As Secret Unit           By Dave Philipps Eric Schmitt and
2021-12-12   2021-12-12 ian-deaths-war-isis.html                    Struck ISIS                                      Mark Mazzetti                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/travel/o
                        ysters-maryland-virginia-african-american-
2021-12-03   2021-12-13 history.html                                Delving Deep Into Oyster Country                 By Myles Poydras                 TX 9-131-897    2022-02-01



                                                                                   Page 3123 of 5793
                        https://www.nytimes.com/2021/12/07/books/s
2021-12-07   2021-12-13 ocial-media-following-book-publishing.html Social Media Is Unreliable In Publishing    By Elizabeth A Harris             TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/08/busines
2021-12-08   2021-12-13 s/economy/coal-miners-unions-climate.html A Sticking Point in Climate Plan             By Noam Scheiber                  TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/09/movies/
2021-12-09   2021-12-13 holiday-movies-streaming.html               Tinsel Good Cheer and a Dash of Gore       By Elisabeth Vincentelli          TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/09/sports/a
2021-12-09   2021-12-13 utoracing/f1-schedule.html                  The joy and pain of a long season          By Luke Smith                     TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/09/technol
2021-12-09   2021-12-13 ogy/apps-child-protection.html              Tech Now Wants to Protect Children         By Shira Ovide                    TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/10/arts/dan
2021-12-10   2021-12-13 ce/james-gilmer-alvin-ailey-company.html    Bringing His Own Drama Onstage             By Gia Kourlas                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/arts/mu                                             By Jon Pareles Isabelia Herrera and
2021-12-10   2021-12-13 sic/tame-impala-mitski-playlist.html        A DiscoProg Shrug And 4 More New Songs     Giovanni Russonello                 TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/10/arts/tele
2021-12-10   2021-12-13 vision/dr-brain-apple-tv-kim-jee-woon.html The Mind Behind A Brainy Thriller           By Simon Abrams                   TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/10/arts/tele
2021-12-10   2021-12-13 vision/emily-dickinson-archive-harvard.html Dickinson Contributes To Posterity            By Jennifer Schuessler           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/busines
                        s/media/a-p-r-giant-is-caught-between-climate P R Giant Is Caught Between Climate Pledges
2021-12-10   2021-12-13 pledges-and-fossil-fuel-clients.html          and Its Fossil Fuel Clients                 By Tiffany Hsu                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/opinion
2021-12-10   2021-12-13 /covid-omicron-psychology-fear.html           Were Living Through The Boring Apocalypse By Adam Grant                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/busines On Opioids Why Are Lawyers Doing the
2021-12-11   2021-12-13 s/dealbook/opioid-epidemic-lawsuits.html      Work of Lawmakers                           By Joe Nocera                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/busines Rosy Plans Fail And Companies Put Off
2021-12-11   2021-12-13 s/return-to-office-2022.html                  Returns                                     By Emma Goldberg                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/health/ Margaret Giannini 100 a Trailblazer Who
2021-12-11   2021-12-13 margaret-giannini-dead.html                   Treated People With Disabilities            By Katharine Q Seelye            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/nyregio
2021-12-11   2021-12-13 n/eric-adams-fund-raisers-canceled.html       Adams Nixes FundRaisers One Divisive        By Ben Smith and Dana Rubinstein TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/opinion
                        /why-hospitalizations-are-now-a-better-       To Measure Covids Impact Focus on           By Monica Gandhi and Leslie
2021-12-11   2021-12-13 indicator-of-covids-impact.html               Hospitalizations                            Bienen                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/arts/mu
2021-12-12   2021-12-13 sic/magic-flute-met-opera.html                A Mozart Classic Tailored for the Family    By Anthony Tommasini             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/arts/mu Vicente Fernndez 81 El Rey of Mexican
2021-12-12   2021-12-13 sic/vicente-fernandez-dead.html               Ranchera Music                              By Christine Chung               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/arts/rob Robert Farris Thompson Who Transformed
2021-12-12   2021-12-13 ert-farris-thompson-dead.html                 Study Of Cultures Dies at 88                By Holland Cotter                TX 9-131-897   2022-02-01



                                                                                Page 3124 of 5793
                        https://www.nytimes.com/2021/12/12/arts/tele
2021-12-12   2021-12-13 vision/sesame-street.html                     On Sesame Street Politics Has a History   By James Poniewozik           TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/12/books/a Anne Rice the Novelist Who Spun Gothic
2021-12-12   2021-12-13 nne-rice-dead.html                           Tales of Vampires Is Dead at 80            By Neil Genzlinger            TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/12/busines
2021-12-12   2021-12-13 s/china-alibaba-rape-metoo.html              Alibaba Fires Employee In Rape Case        By Steven Lee Myers           TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/12/busines Fox Anchor Wallace Decamps as RightWing
2021-12-12   2021-12-13 s/media/chris-wallace-fox-news.html          Hosts Set Agenda                           By Michael M Grynbaum         TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/12/busines
2021-12-12   2021-12-13 s/media/dont-look-up-news-media.html         That Comet Meh Lets Talk Aliens            By Ben Smith                  TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/12/busines
2021-12-12   2021-12-13 s/race-of-remembrance-wales.html             In Wales Vets Race to Remember             By John Hogan                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/12/opinion
2021-12-12   2021-12-13 /abortion-rights-america.html                Were Edging Closer to Civil War            By Charles M Blow             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/12/sports/b
                        asketball/blazers-cj-mccollum-trade-         As New Union Head McCollum Piles More
2021-12-12   2021-12-13 rumors.html                                  On Already Full Plate                      By Tania Ganguli              TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/12/sports/f Things Are Looking Up for the Opposing
2021-12-12   2021-12-13 ootball/jets-saints-giants-chargers-score.html Team                                     By Devin Gordon and Diante Lee TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/12/sports/j Upset of Nunes Adds Intrigue to UFCs
2021-12-12   2021-12-13 ulianna-pena-amanda-nunes-ufc.html             Outlook                                  By Emmanuel Morgan              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/sports/s Year of Acting Dangerously French Fans
2021-12-12   2021-12-13 occer/ligue-1-france-violence.html             Create Crisis                            By Rory Smith                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/technol Amazon Depot At Winter Peak As Storms
2021-12-12   2021-12-13 ogy/amazon-tornado-edwardsville.html           Hit                                      By Karen Weise and Eric Berger  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/us/greg- After Careful Rise Abbot Makes Hard Right
2021-12-12   2021-12-13 abbott-texas-governor.html                     Turn As Governor of Texas                By J David Goodman              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/us/los- Litany of Crises For Next Mayor Of Los
2021-12-12   2021-12-13 angeles-mayor-race.html                        Angeles                                  By Shawn Hubler and Jill Cowan TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/12/us/polit Democrats Are Fully Behind Biden Theres No By Jonathan Martin and Alexander
2021-12-12   2021-12-13 ics/biden-democrats-2024.html                  Consensus on a Plan B                    Burns                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/us/polit Group of 7 Warns Russia Against Ukraine
2021-12-12   2021-12-13 ics/g7-russia-ukraine.html                     Invasion                                 By Lara Jakes                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/us/polit New Chief Spurs Teachers Union to Take On
2021-12-12   2021-12-13 ics/teachers-union-becky-pringle.html          Social Justice Role                      By Erica L Green                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/world/a
                        mericas/jovenel-moise-haiti-president-drug- Haitis Leader Had a List His Assassins
2021-12-12   2021-12-13 traffickers.html                               Wanted                                   By Maria AbiHabib               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/world/a New Caledonia Chooses France but Dreams
2021-12-12   2021-12-13 sia/new-caledonia-independence-vote.html       of Sovereignty Remain                    By Hannah Beech and Adam Dean TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/12/world/ Israeli Leader Is to Meet Emirati Prince
2021-12-12   2021-12-13 middleeast/israel-uae-naftali-bennett.html     Signaling Growing Ties to the Arab World By Patrick Kingsley             TX 9-131-897   2022-02-01




                                                                               Page 3125 of 5793
                        https://www.nytimes.com/2021/12/12/world/
                        middleeast/migrants-channel-france-uk-       Stalled and Circled by Dead Bodies          By Jane Arraf Sangar Khaleel and
2021-12-12   2021-12-13 sinking.html                                 Witnessing a Migrant Tragedy                Megan Specia                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/opinion
2021-12-13   2021-12-13 /elections-republicans-2022.html             Ugly Primary Races Are Looming              By Michelle Cottle               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/sports/f
2021-12-13   2021-12-13 ootball/nfl-week-14-scores.html              What We Learned This Week                   By Tyler Dunne                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/us/polit Meadows Played Key Role In Bid to Overturn
2021-12-13   2021-12-13 ics/mark-meadows-capitol-attack.html         Vote Jan 6 Panels Report Says               By Luke Broadwater               TX 9-131-897   2022-02-01
                                                                                                                 By Rick Rojas Edgar Sandoval
                        https://www.nytimes.com/2021/12/12/us/torn In Kentucky Tallying the Grim Scale of        Jamie McGee and Campbell
2021-12-13   2021-12-13 adoes-damage-deaths.html                     Destruction                                 Robertson                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/arts/tele
                        vision/whats-on-tv-this-week-american-auto-
2021-12-13   2021-12-13 and-mtv-unplugged.html                       This Week on TV                             By Gabe Cohn                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/insider/
2021-12-13   2021-12-13 travel-far-flung-destinations-print.html     FarFlung Destinations Back in Print         By Sarah Bahr                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/nyregio A Ferry Is Headed to Coney Island but
2021-12-13   2021-12-13 n/coney-island-ferry-service.html            Environmental Concerns Linger               By Kimiko de FreytasTamura       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/sports/f
                        ootball/seattle-seahawks-pete-carroll-       As Seahawks Sink to Mediocrity a Requiem
2021-12-13   2021-12-13 playoffs.html                                for Greatness Lost                          By Kurt Streeter                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/us/covi Covid Has Killed One of Every 100 Older       By Julie Bosman Amy Harmon and
2021-12-13   2021-12-13 d-deaths-elderly-americans.html              Americans                                   Albert Sun                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/science Robot Looks Like a Pancake and Jumps Like
2021-12-07   2021-12-14 /robots-pancake-jump.html                    a Maggot                                    By Sabrina Imbler                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/well/eat Is GlutenFree Bread Healthier Than Regular
2021-12-07   2021-12-14 /is-gluten-free-bread-healthier.html         Bread                                       By Alice Callahan                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/well/m
2021-12-08   2021-12-14 ove/exercise-motivation-study.html           A Penny for Your Squats                     By Gretchen Reynolds             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ Moon Cube and Mysteries of the Solar
2021-12-08   2021-12-14 08/science/moon-cube-pictures.html           System                                      By Shannon Stirone               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/science How Do You Announce That Doomsday Has
2021-12-09   2021-12-14 /dont-look-up-movie.html                     Arrived                                     By Dennis Overbye                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/theater/
2021-12-09   2021-12-14 the-little-prince-broadway.html              The Little Prince Will Land on Broadway     By Michael Paulson               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/well/mi
2021-12-10   2021-12-14 nd/healthy-habits.html                       Our Favorite Healthy Habits of 2021         By Tara ParkerPope               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/health/t Older Americans Flock to Telemedicine
2021-12-11   2021-12-14 elehealth-medicare-covid.html                Options                                     By Paula Span                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/us/rev- Rev C Herbert Oliver 96 Civil Rights Activist
2021-12-11   2021-12-14 c-herbert-oliver-dead.html                   Who Documented Abuse Dies                   By Sam Roberts                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/dining/ Mikio Shinagawa 66 Restaurateur Who Drew
2021-12-12   2021-12-14 mikio-shinagawa-dead.html                    Fashionable Customers                       By Alex Vadukul                  TX 9-131-897   2022-02-01




                                                                               Page 3126 of 5793
                        https://www.nytimes.com/2021/12/13/arts/dan NaiNi Chen 62 Dancer Who Merged
2021-12-13   2021-12-14 ce/nai-ni-chen-dead.html                     Traditional And Contemporary Moves        By Neil Genzlinger                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/arts/des
                        ign/mondrian-painting-philadelphia-museum- Mondrian Heirs Sue to Claim Painting
2021-12-13   2021-12-14 of-art-lawsuit.html                          Looted by the Nazis                       By Catherine Hickley              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/arts/mu
2021-12-13   2021-12-14 sic/claire-chase-density-review.html         The North Star Of Flute Players           By Joshua Barone                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/arts/mu
2021-12-13   2021-12-14 sic/james-brown-estate-primary-wave.html     A Deal Aims to Honor James Browns Legacy By Ben Sisario and Steve Knopper   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/arts/mu Its Still a Holiday Hit More Than 400 Years
2021-12-13   2021-12-14 sic/tenet-praetorius.html                    Later                                     By Anthony Tommasini              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/arts/mu
2021-12-13   2021-12-14 sic/vicente-fernandez-influence.html         Recalling the King Of the Ranchera        By Maira Garcia                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/books/o
                        xford-cocktails-spirits-david-wondrich-noah- The Ins and Outs of Cocktails in Just 834
2021-12-13   2021-12-14 rothbaum.html                                Pages                                     By Dwight Garner                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/books/p Penguin Random House Defends Merger         By Elizabeth A Harris and
2021-12-13   2021-12-14 enguin-random-house-simon-schuster.html      Opposed by US                             Alexandra Alter                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/busines Trading Edges Closer To Beijings Thumb      By Lananh Nguyen and Matt
2021-12-13   2021-12-14 s/didi-wall-street-china.html                After Didis US Exit                       Phillips                          TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/13/busines                                             By Matt Phillips Carlotta Gall Flvia
2021-12-13   2021-12-14 s/inflation-turkey-brazil-hungary.html     Inflation Has Strongmen Scrambling          Milhorance and Benjamin Novak TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/busines Vox Media Makes Deal To Acquire Group
2021-12-13   2021-12-14 s/media/vox-media-groupnine.html           Nine                                        By Katie Robertson                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/busines UBS Is Fined After Helping French Clients
2021-12-13   2021-12-14 s/ubs-tax-evasion-france.html              Evade Taxes                                 By Liz Alderman                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/busines
2021-12-13   2021-12-14 s/workers-pay-europe-inflation.html        Their Demand Wages to Keep Pace             By Liz Alderman                   TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/13/health/ As Mercks Covid Pill Awaits Approval Some
2021-12-13   2021-12-14 merck-covid-pill-pregnancy-risk.html       Scientists Worry It Might Alter Human DNA By Benjamin Mueller             TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/health/ Denmark and Norway Say Omicron Is Poised
2021-12-13   2021-12-14 omicron-cases-denmark-norway.html          To Eclipse Delta Strain                   By Carl Zimmer and Emily Anthes TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/health/
2021-12-13   2021-12-14 omicron-travel-setbacks.html               Caught in the Whirlwind of a Panic        By Stephanie Nolen              TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/movies/
2021-12-13   2021-12-14 golden-globes-nominees-list.html           Golden Globes Still Have Their Say        By Kyle Buchanan                TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/movies/
2021-12-13   2021-12-14 stephen-sondheim-jonathan-larson.html      Sondheims Real View On the Value of Rent By Evelyn McDonnell              TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/nyregio Champion of Liberal Causes to Leave New
2021-12-13   2021-12-14 n/dick-gottfried-retire.html               York Assembly After 52 Years              By Luis FerrSadurn              TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/nyregio Maxwells Lawyers Seek Anonymity for Own
2021-12-13   2021-12-14 n/ghislaine-maxwell-witness.html           Witnesses                                 By Benjamin Weiser              TX 9-131-897       2022-02-01




                                                                               Page 3127 of 5793
                        https://www.nytimes.com/2021/12/13/nyregio Looking to Lure Back Riders MTA Proposes
2021-12-13   2021-12-14 n/omny-nyc-subway-fare-capping.html        Fare Cap for TapandGo Users              By Ana Ley                        TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/opinion
2021-12-13   2021-12-14 /charities-giving-politics.html            There Is a World of Good We Can Do       By Gail Collins and Bret Stephens TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/opinion
                        /inflation-biden-powell-economy-federal-   We Need to Do Hard Things to Tackle
2021-12-13   2021-12-14 reserve.html                               Inflation                                By Glenn Hubbard                  TX 9-131-897       2022-02-01

                        https://www.nytimes.com/2021/12/13/sports/c
2021-12-13   2021-12-14 hicago-bulls-postpone-games-quarantine.html Two Bulls Games Postponed Over Virus        By Sopan Deb                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/sports/n With Its Superstar Now a Spectator UConn
2021-12-13   2021-12-14 caabasketball/uconn-paige-bueckers.html     Embarks On a Rocky Path                     By Adam Zagoria                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/sports/o
                        lympics/nassar-abuse-gymnasts-              500 Survivors of Nassars Abuse Reach 380
2021-12-13   2021-12-14 settlement.html                             Million Settlement                          By Juliet Macur                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/sports/o Seeking Openness Paris Aims to Begin With a
2021-12-13   2021-12-14 lympics/paris-2024-beijing-2022.html        Boat Parade                                 By Matthew Futterman              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/sports/r New Jersey Is the Capital Of a Sport for a
2021-12-13   2021-12-14 utgers-seton-hall-mens-basketball.html      Little Bit                                  By Billy Witz                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/sports/s Messi vs Ronaldo Sorry Fans The Champions
2021-12-13   2021-12-14 occer/champions-league-redraw.html          League Redid Its Draw                       By Victor Mather                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/technol
2021-12-13   2021-12-14 ogy/instagram-handle-metaverse.html         Why Did an Insta With a Meta Name Vanish By Maddison Connaughton              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/technol Masayuki Uemura 78 Engineer and Pioneer
2021-12-13   2021-12-14 ogy/masayuki-uemura-dead.html               Of Home Gaming Dies                         By Ben Dooley and Hisako Ueno TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/theater/ Cultured Men Who Possessed Wicked
2021-12-13   2021-12-14 best-of-enemies-review-young-vic.html       Tongues                                     By Matt Wolf                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/us/dere Hearing Set to Allow Chauvin To Plead
2021-12-13   2021-12-14 k-chauvin-guilty-plea-federal.html          Guilty in Federal Case                      By Nicholas BogelBurroughs        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/us/how- How You Can Help Those Who Survived the
2021-12-13   2021-12-14 to-help-victims-of-the-tornadoes.html       Devastating Onslaught                       By Alyssa Lukpat                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/us/kent Kentucky Storms Followed Flood Ice and
2021-12-13   2021-12-14 ucky-tornado-disaster-governor.html         Covid Spike                                 By Rick Rojas and Richard Fausset TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/us/polit No Penalty Over US Strike That Killed
2021-12-13   2021-12-14 ics/afghanistan-drone-strike.html           Civilians                                   By Eric Schmitt                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/us/polit Politicians Love Email Where Lies Go
2021-12-13   2021-12-14 ics/email-political-misinformation.html     Unpoliced                                   By Maggie Astor                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/us/polit Manchin Casts Doubt On Quick Passage Of
2021-12-13   2021-12-14 ics/manchin-social-policy-bill.html         Social Policy Bill                          By Emily Cochrane                 TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/13/us/polit With Roe at Risk Justices Look to Sidestep
2021-12-13   2021-12-14 ics/supreme-court-roe-v-wade-precedent.html Precedent                                  By Adam Liptak                   TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/13/us/polit
                        ics/supreme-court-vaccine-mandate-new-york- Supreme Court Allows Vaccine Mandate for
2021-12-13   2021-12-14 healthcare.html                             New York Health Care Workers               By Adam Liptak                   TX 9-131-897     2022-02-01



                                                                               Page 3128 of 5793
                        https://www.nytimes.com/2021/12/13/well/liv
2021-12-13   2021-12-14 e/hpv-vaccine-children.html                 A Different Vaccine Is Facing Resistance    By Jane E Brody                 TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/world/a Russia Blocks UN Resolution to Treat
2021-12-13   2021-12-14 mericas/un-climate-change-russia.html       Climate Change as a Security Threat         By Rick Gladstone               TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/world/a
2021-12-13   2021-12-14 sia/hongkong-jimmy-lai-tiananmen.html       Activists Sentenced for Hong Kong Protest   By Vivian Wang and Austin Ramzy TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/world/a Indias Conservative Hindus Meet Backlash in
2021-12-13   2021-12-14 sia/india-eggs-hindu-nationalism.html       Fight Over Eggs                             By Suhasini Raj                 TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/world/a
2021-12-13   2021-12-14 sia/india-kashmir-policemen-killed.html     Kashmir Militants Kill 2 Officers in Attack By Sameer Yasir                 TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/world/a Atomic Research in South Korea May Usher
2021-12-13   2021-12-14 sia/south-korea-nuclear-submarines.html     in Nuclear Submarine Program                By Choe SangHun                 TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/13/world/e Persistent Scandals Darken Storm Clouds      By Mark Landler and Stephen
2021-12-13   2021-12-14 urope/boris-johnson-uk-coronavirus.html     Around Britains Leader                      Castle                          TX 9-131-897       2022-02-01

                        https://www.nytimes.com/2021/12/13/world/e Exhausted World Wonders Will the Covid
2021-12-13   2021-12-14 urope/covid-anxiety-depression-omicron.html Era Ever End                                   By Roger Cohen                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/world/e
                        urope/denmark-immigration-minister-                                                        By Thomas Erdbrink and Jasmina
2021-12-13   2021-12-14 migrants-prison.html                        Migrant Policy Lands Danish Official in Jail   Nielsen                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/world/
2021-12-13   2021-12-14 middleeast/israel-uae-naftali-bennett.html  Israeli Leader Meets With Emirati Royal        By Patrick Kingsley              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/nyregio Buoyed by Infrastructure Bill New York
2021-12-14   2021-12-14 n/jfk-metro-north-infrastructure-nyc.html   Transit Projects Get Back on Track             By Patrick McGeehan              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/opinion
2021-12-14   2021-12-14 /build-back-better.html                     Bogus Bashing Of Build Back Better             By Paul Krugman                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/theater/ A Magical Mystery Tour Taken by Bright
2021-12-14   2021-12-14 flying-over-sunset-review.html              Stars                                          By Jesse Green                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/us/kent                                                 By Edgar Sandoval Tariro
2021-12-14   2021-12-14 ucky-tornado-victims.html                   Heroic Stories From Rubble Of the Storms       Mzezewa and Christine Hauser     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/us/polit Meadows Faces Contempt of Congress             By Luke Broadwater and Alan
2021-12-14   2021-12-14 ics/mark-meadows-contempt.html              Charge                                         Feuer                            TX 9-131-897   2022-02-01
                                                                    At Appeals Court Lawyers Clash Over a
                        https://www.nytimes.com/2021/12/13/us/polit House Subpoena for Trumps Accounting
2021-12-14   2021-12-14 ics/trump-subpoena-financial-records.html   Records                                        By Charlie Savage                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/health/c
2021-12-14   2021-12-14 oronavirus-omicron-next-pandemic.html       Dress Rehearsals                               By Emily Anthes                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/insider/
2021-12-14   2021-12-14 dive-bars.html                              The Stories You Find at a Dive Bar             By Jack Nicas                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/nyregio In New York City Job Growth Lags Rest of        By Matthew Haag and Patrick
2021-12-14   2021-12-14 n/nyc-economy-jobless.html                  Country                                        McGeehan                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/opinion
2021-12-14   2021-12-14 /boris-johnson-britain-omicron.html         Boris Johnsons Charm Is Wearing Very Thin      By Tanya Gold                    TX 9-131-897   2022-02-01




                                                                                 Page 3129 of 5793
                        https://www.nytimes.com/interactive/2021/12/                                              By Paul Mozur Raymond Zhong
                        13/technology/china-propaganda-youtube-                                                   Aaron Krolik Aliza Aufrichtig and
2021-12-14   2021-12-14 influencers.html                             How Beijing Influences the Influencers       Nailah Morgan                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/arts/tele Will Forte Is Still Waiting for MacGruber To
2021-12-08   2021-12-15 vision/will-forte-macgruber.html             Blow Up                                      By Dave Itzkoff                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/dining/
2021-12-09   2021-12-15 drinks/best-wines.html                       The Year Seen Through 12 Indelible Bottles By Eric Asimov                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ What Data Shows About Vaccine Supply and
2021-12-09   2021-12-15 09/world/vaccine-inequity-supply.html        Demand in the Most Vulnerable Places         By Keith Collins and Josh Holder    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/dining/
2021-12-10   2021-12-15 ottolenghi-chocolate-devils-food-cake.html A Dark Rich Cake As Solstice Beckons           By Yotam Ottolenghi                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/dining/r
2021-12-10   2021-12-15 oast-duck-recipe.html                        Luscious Duck Roasts Like Chicken            By Melissa Clark                    TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/12/arts/dan Marjorie Tallchief 95 Star Of a Wide Range
2021-12-12   2021-12-15 ce/marjorie-tallchief-ballerina-dead-95.html of Ballets                                   By Anna Kisselgoff                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/opinion
2021-12-12   2021-12-15 /covid-omicron-data.html                     A Scientists Guide to Omicron                By Jesse Bloom and Sarah Cobey      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/12/opinion
2021-12-12   2021-12-15 /pandemic-dogs-pets.html                     Pandemic Puppy No Thank You                  By Jon Methven                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/dining/ To Sample Seasoned Cheddars That Turn
2021-12-13   2021-12-15 beehive-cheese-cheddars.html                 Heads                                        By Florence Fabricant               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/dining/
2021-12-13   2021-12-15 chocobar-cortes-chocolate-nyc.html           A Sweet Expansion in the Bronx               By Richard Morgan                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/dining/
2021-12-13   2021-12-15 christmas-ice-cream-ecreamery.html           To Dish The 12 Pints Of Christmas            By Florence Fabricant               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/dining/
2021-12-13   2021-12-15 christmas-morning-breakfast-brunch.html      Sweetening Christmas Morning                 By Jerrelle Guy                     TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/13/dining/f To Appreciate Francis Mallmann Shares
2021-12-13   2021-12-15 rancis-mallmann-cooking-class-yeschef.html Secrets of Fire Online                       By Florence Fabricant                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/dining/ To Shop Uncommon Gifts From a Familiar
2021-12-13   2021-12-15 hot-bread-kitchen.html                      Kitchen                                     By Florence Fabricant                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/dining/ To Prepare A Kit to Build Spicy Treats for
2021-12-13   2021-12-15 mala-market-chili-crisp-kit.html            All                                         By Florence Fabricant                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/dining/
                        yummy-a-history-of-desserts-victoria-grace- To Learn Novel Gets to Heart Of Tasty
2021-12-13   2021-12-15 elliott.html                                Desserts                                    By Florence Fabricant                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/movies/ Suzette Winter 90 Creator Of Documentaries
2021-12-13   2021-12-15 suzette-winter-feldman-dead.html            on Stars                                    By Annabelle Williams                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/opinion
                        /environmental-nonprofits-tennesse-         The Climate Crisis Is Raging but We Are Not
2021-12-13   2021-12-15 south.html                                  Powerless                                   By Margaret Renkl                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/busines Charles R Morris Author Who Disputed
2021-12-14   2021-12-15 s/economy/charles-r-morris-dead.html        Economic Dogma Dies at 82                   By Sam Roberts                        TX 9-131-897   2022-02-01



                                                                                 Page 3130 of 5793
                        https://www.nytimes.com/2021/12/13/dining/
2021-12-14   2021-12-15 bunuelos-christmas-dessert.html             Fried Dough Leavened With Tradition          By Christina Morales            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/us/polit US Tells Israel Key Refueling Tankers Not    By David E Sanger Ronen Bergman
2021-12-14   2021-12-15 ics/israel-tankers-iran.html                Available Until 2024                         and Helene Cooper               TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/14/arts/dan
2021-12-14   2021-12-15 ce/les-ballets-trockadero-peter-anastos.html A Witty Mastermind Returns Home            By Gia Kourlas                  TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/arts/mu
2021-12-14   2021-12-15 sic/jazz-musicians-duos.html                 Two Was the Magic Number This Time         By Giovanni Russonello          TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/arts/tele Michael Gargiulo 95 Showed Kitchen Debate
2021-12-14   2021-12-15 vision/michael-gargiulo-dead.html            Of Nixon vs Khrushchev                     By Sam Roberts                  TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/books/r
2021-12-14   2021-12-15 eview-sea-state-tabitha-lasley.html          Theres No End to the Occupational Hazards By Molly Young                   TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/busines A Push for Freer Access To Oral
2021-12-14   2021-12-15 s/birth-control-pill-over-counter.html       Contraceptives                             By Kate Kelly                   TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/busines The Fed Meets Amid Faster Inflation and
2021-12-14   2021-12-15 s/economy/fed-meeting-inflation.html         Prepares to React                          By Jeanna Smialek               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/busines
                        s/economy/inflation-age-region-education-    Your Inflation Worries Say a Lot About You
2021-12-14   2021-12-15 income.html                                  and May Affect Inflation                   By Eduardo Porter               TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/14/busines Turkey Tries To Ward Off Meltdown Of
2021-12-14   2021-12-15 s/economy/turkey-inflation-economy-lira.html Economy                                     By Patricia Cohen              TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/14/busines
2021-12-14   2021-12-15 s/fdic-board-meeting-chopra-mcwilliams.html Partisan Spat at FDIC Intensifies Over Policy By Lananh Nguyen              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/busines
                        s/media/ankler-janice-min-richard-          A Hit Hollywood Newsletter Plans an
2021-12-14   2021-12-15 rushfield.html                              Expansion                                     By Katie Robertson            TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/14/busines Judge Clarifies Order On Timess Coverage       By Michael M Grynbaum and Marc
2021-12-14   2021-12-15 s/media/new-york-times-project-veritas.html About Project Veritas                         Tracy                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/busines Wirecutter Union and The Times Co Reach a
2021-12-14   2021-12-15 s/media/wirecutter-union-contract.html      Deal                                          By Katie Robertson             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/busines                                                By Jordan Allen and Miles
2021-12-14   2021-12-15 s/new-york-commercial-real-estate.html      Transactions                                  McKinley                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/busines Increase in Oil Output May Spell Relief at the
2021-12-14   2021-12-15 s/oil-supply-prices.html                    Pump                                          By Stanley Reed                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/busines
2021-12-14   2021-12-15 s/sears-real-estate.html                    Shopping for a Building Try Sears             By C J Hughes                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/busines 2 Starbucks in Boston Area Seek to Unionize
2021-12-14   2021-12-15 s/starbucks-boston-union.html               Workers                                       By Noam Scheiber               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/busines Toyota Lagging Rivals To Push Electric
2021-12-14   2021-12-15 s/toyota-electric-vehicles.html             Vehicles                                      By Jack Ewing                  TX 9-131-897   2022-02-01




                                                                                 Page 3131 of 5793
                        https://www.nytimes.com/2021/12/14/climate Climate Report on the Arctic Has a Warning
2021-12-14   2021-12-15 /arctic-report-card-climate-change.html     for Warmer Places                           By Raymond Zhong                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/dining/
2021-12-14   2021-12-15 best-cookbooks.html                         Cookbooks That Inspire                      By The New York Times            TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/dining/
                        new-yorks-top-10-new-restaurants-of-
2021-12-14   2021-12-15 2021.html                                   These 10 Restaurants Rose to the Occasion   By Pete Wells                    TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/dining/ Casa Dani From a Celebrated Spanish Chef
2021-12-14   2021-12-15 nyc-restaurant-openings.html                Opens in Manhattan West                     By Florence Fabricant            TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/dining/
2021-12-14   2021-12-15 plant-based-west-african-cuisine.html       A PlantBased Diet That Embraces the Past    By Yewande Komolafe              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/dining/t
2021-12-14   2021-12-15 op-dishes-restaurants-nyc-pete-wells.html   Ten Dishes Worth Savoring All Year Long     By Pete Wells                    TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/health/f FDA Nominee Is Asked About Opioids and
2021-12-14   2021-12-15 da-commissioner-califf-senate.html          Ethics                                      By Christina Jewett              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/health/ Pfizer Says Trial Reveals Benefits Of Its    By Carl Zimmer and Rebecca
2021-12-14   2021-12-15 pfizer-covid-19-pill-paxlovid.html          Covid Pill                                  Robbins                          TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/movies/
                        love-and-fury-sterlin-harjo-reservation-
2021-12-14   2021-12-15 dogs.html                                   Intersecting Orbits Link Native Artists     By Laura Zornosa                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/movies/
                        return-of-the-jedi-fellowship-of-the-ring-
2021-12-14   2021-12-15 national-film-registry.html                 Cinematic Posterity for Jedi and Gollum     By Sarah Bahr                    TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/14/movies/
2021-12-14   2021-12-15 the-royal-tenenbaums-20th-anniversary.html The Tenenbaums And a Mythic New York         By Jason Bailey                  TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/14/needies Help Comes Around for Holocaust Survivor
2021-12-14   2021-12-15 t-cases/new-york-health-care-assistance.html With a Mission                             By Emma Grillo                   TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/nyregio Cuomo Is Told He Must Forfeit Book           By Grace Ashford and Luis
2021-12-14   2021-12-15 n/andrew-cuomo-book.html                     Earnings                                   FerrSadurn                       TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/nyregio Man Exonerated in Murder Of Malcolm X        By Troy Closson and Jonah E
2021-12-14   2021-12-15 n/aziz-malcolm-x-murder.html                 Files Suit Against New York State          Bromwich                         TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/nyregio Police Officer Accused of Protecting
2021-12-14   2021-12-15 n/brewster-police-sex-trafficking.html       Prostitution Ring in Exchange for Sex      By Rebecca Davis OBrien           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/nyregio Adams Wades Into Council Speakers Race       By Jeffery C Mays Dana Rubinstein
2021-12-14   2021-12-15 n/eric-adams-francisco-moya.html             Risking Political Capital                  and Katie Glueck                  TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/14/nyregio Where Handing Out Hot Soup and Cocoa Is
2021-12-14   2021-12-15 n/newark-prohibiting-feeding-homeless.html About to Get Harder                          By Andy Newman                   TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/nyregio
                        n/sandra-lindsay-covid-vaccine-            Nurse Whose Shot Made History One Year
2021-12-14   2021-12-15 anniversary.html                           Ago Says Shed Gladly Go First Again          By Precious Fondren              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/14/nyregio                                              By William K Rashbaum Ben
2021-12-14   2021-12-15 n/trump-fraud-inquiry.html                 Trump Filings Used in Loans Face Scrutiny    Protess and Jonah E Bromwich     TX 9-131-897    2022-02-01



                                                                               Page 3132 of 5793
                        https://www.nytimes.com/2021/12/14/science Omicrons Fast Spread Could Lead to Surge In By Todd Gregory and Roni Caryn
2021-12-14   2021-12-15 /omicron-cdc.html                          Winter CDC Says                             Rabin                              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/science Former Interns Say SpaceX Ignored Sexual
2021-12-14   2021-12-15 /spacex-sexual-harassment.html             Harassment Incidents                        By Joey Roulette                   TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/14/sports/f                                             By Emmanuel Morgan and Robin
2021-12-14   2021-12-15 ootball/nfl-covid-vaccine-booster-shots.html Covid Spike Prompts Rift on Protocols      Stein                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/sports/f CTE Found In ExPlayer Who Killed Six
2021-12-14   2021-12-15 ootball/phillip-adams-cte-shootings.html     People                                     By Jonathan Abrams                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/theater/
2021-12-14   2021-12-15 wild-a-musical-becoming-review.html          A Show That Really Is Ahead of Its Time    By Laura CollinsHughes            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/us/linda Linda McAlister 82 Philosopher With a
2021-12-14   2021-12-15 mcalister-dead.html                          Feminist Perspective Dies                  By Penelope Green                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/us/polit Divided Senate Votes to Raise the Federal
2021-12-14   2021-12-15 ics/debt-limit.html                          Debt Ceiling by 25 Trillion                By Emily Cochrane                 TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/14/us/polit
2021-12-14   2021-12-15 ics/mark-meadows-contempt-capitol-riot.html House Pushes Criminal Case for Meadows      By Luke Broadwater                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/us/prou After Capitol Proud Boys Quietly Shift Focus
2021-12-14   2021-12-15 d-boys-local-issues.html                    to Schools and Town Halls                   By Sheera Frenkel                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/us/torn Despite Forecasts and Warnings Lives Still   By Thomas Fuller and Tariro
2021-12-14   2021-12-15 ado-warnings.html                           Were Lost                                   Mzezewa                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/us/trum Judge Tosses Trumps Bid To Keep Taxes
2021-12-14   2021-12-15 p-tax-returns.html                          From Panel                                  By Charlie Savage                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/world/a Catastrophe Over 60 Are Killed as a Fuel
2021-12-14   2021-12-15 mericas/haiti-fuel-tanker-explosion.html    Truck Explodes in Haiti                     By Harold Isaac and Oscar Lopez   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/world/a Blinken Offers IndoPacific Investment and
2021-12-14   2021-12-15 sia/blinken-indonesia-china.html            Aid to Counter Chinas Pull                  By Lara Jakes and SuiLee Wee      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/world/a In Philippines Duterte Says He Wont Run For
2021-12-14   2021-12-15 sia/duterte-philippines-senate.html         the Senate                                  By Jason Gutierrez                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/world/e
                        urope/belarus-opposition-sergei-            Belarus Court Gives Leader Of Opposition
2021-12-14   2021-12-15 tikhanovsky.html                            Prison Term                                 By Ivan Nechepurenko              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/world/e British Conservatives Abandon Johnson Over By Mark Landler and Stephen
2021-12-14   2021-12-15 urope/britain-covid-restrictions.html       Covid Rules                                 Castle                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/world/e
                        urope/european-union-schengen-migrants-     Rule Proposal Moves EU Back Toward Rigid By Elian Peltier and Monika
2021-12-14   2021-12-15 borders.html                                Borders                                     Pronczuk                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/world/e Is Santa Real Bishop Delivers Hard Truths
2021-12-14   2021-12-15 urope/italy-bishop-santa-claus.html         To Young Flock                              By Jason Horowitz                 TX 9-131-897   2022-02-01

                        https://www.nytimes.com/interactive/2021/12/                                            By Margot SangerKatz Claire Cain
2021-12-14   2021-12-15 14/upshot/who-gets-abortions-in-america.html Who Gets Abortions in America              Miller and Quoctrung Bui         TX 9-131-897    2022-02-01




                                                                                 Page 3133 of 5793
                        https://www.nytimes.com/2021/12/14/nyregio NYPD at an Urgent Moment Will Get Its First By Emma G Fitzsimmons Ali
2021-12-15   2021-12-15 n/keechant-sewell-nypd-commissioner.html Female Leader                                 Watkins and Ashley Southall        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/opinion Biden Should Not Run Again and He Should
2021-12-15   2021-12-15 /biden-age-election-2024.html               Say He Wont                                By Bret Stephens                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/us/polit
                        ics/guantanamo-bay-abd-al-rahim-al-         Waterboarded Prisoner On Trial for Cole
2021-12-15   2021-12-15 nashiri.html                                Attack Cites Lingering Terror              By Carol Rosenberg                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/us/polit Pushed Aside by GOP Cheney Finds Spotlight By Catie Edmondson and Luke
2021-12-15   2021-12-15 ics/liz-cheney-capitol-attack.html          in Inquiry                                 Broadwater                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/nyregio Innocent Man and Accuser Who Had No         By Corina Knoll Karen Zraick and
2021-12-15   2021-12-15 n/alice-sebold-anthony-broadwater.html      Doubt                                      Alexandra Alter                    TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/15/sports/f
2021-12-15   2021-12-15 ootball/nfl-salary-cap-new-orleans-saints.html NFL Cap Is Rising But Not All Are Happy   By Mike Tanier                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/crossw
2021-12-09   2021-12-16 ords/spellingbee-tips.html                     Tips From Spelling Bees Hivemind          By Deb Amlen and Jackie Frere    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/well/fa
2021-12-09   2021-12-16 mily/black-santa.html                          Expanding the Tones of Christmas          By Nancy Redd                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/10/travel/i Here to Help The Documents You Need for
2021-12-10   2021-12-16 nternational-travel-documents-covid.html       International Travel                      By Lauren Sloss                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/opinion Could the Great Resignation Help Workers
2021-12-11   2021-12-16 /great-resignation-labor-shortage.html         Look at History                           By Abigail Susik                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/style/ce
2021-12-13   2021-12-16 lebrity-creative-directors.html                Celebrity Status And a Job Title          By Valeriya Safronova            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/opinion The AntiAbortion Movement Could Reduce
2021-12-14   2021-12-16 /abortion-contraception-pregnancy.html         Abortions If It Wanted To                 By Jill Filipovic                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/science Shirley McBay 86 Mathematician Who
2021-12-14   2021-12-16 /shirley-mcbay-dead.html                       Pushed for Diversity in STEM              By Clay Risen                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/style/ha
2021-12-14   2021-12-16 rry-styles-cardigan-nft.html                   Follow the Threads of Change              By Vanessa Friedman              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/style/w
2021-12-14   2021-12-16 acky-whimsical-cakes.html                      Let Them Eat Whimsical Cakes              By Hilary Reid                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/technol
2021-12-14   2021-12-16 ogy/computer-chips-united-states.html          The Dream of USMade Computer Chips        By Shira Ovide                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/sports/b
                        asketball/steph-curry-three-pointer-ray-       When Curry Gets Going Great Things Come
2021-12-15   2021-12-16 allen.html                                     in 3s                                     By Scott Cacciola                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/arts/dan
                        ce/fanny-soriano-compagnie-libertivore-        Life Lessons From the Circus Roll With
2021-12-15   2021-12-16 circus.html                                    Changes                                   By Brian Seibert                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/arts/des
                        ign/antiquities-repatriated-district-          More Than 200 Ancient Artifacts Are
2021-12-15   2021-12-16 attroney.html                                  Repatriated to Italy                      By Tom Mashberg                  TX 9-131-897   2022-02-01




                                                                                Page 3134 of 5793
                        https://www.nytimes.com/2021/12/15/arts/mu Messiah Unfurls Its Glory Into the Vaults of a
2021-12-15   2021-12-16 sic/messiah-new-york-philharmonic.html       Church                                       By Anthony Tommasini          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/arts/mu
                        sic/met-opera-coronavirus-booster-shots-     As Cases Rise Met Opera Mandates Covid
2021-12-15   2021-12-16 mandate.html                                 Boosters                                     By Matt Stevens               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/arts/tele
2021-12-15   2021-12-16 vision/station-eleven-review.html            The World Ends Beautifully                   By James Poniewozik           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/books/b bell hooks 69 Feminist Who Stood Up for the
2021-12-15   2021-12-16 ell-hooks-dead.html                          Marginalized Dies                            By Clay Risen                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/books/r
                        eview-vivian-maier-developed-ann-
2021-12-15   2021-12-16 marks.html                                   Imagine a Stern Mary Poppins With a Camera By Alexandra Jacobs             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/busines California Is Sued Over Law That May
2021-12-15   2021-12-16 s/california-bacon-law.html                  Disrupt Pork Sales                           By Christine Chung            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/15/busines
2021-12-15   2021-12-16 s/economy/china-trump-trade-deal-biden.html Bidens China Dilemma                          By Ana Swanson                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/busines
                        s/economy/inflation-fed-fomc-meeting-       Fed Projects Rise in Interest Rates to Tame
2021-12-15   2021-12-16 december-2021.html                          Inflation                                     By Jeanna Smialek             TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/15/busines Retail Sales Buoyed By November Start To
2021-12-15   2021-12-16 s/economy/november-2021-retail-sales.html Holiday Buying                               By Coral Murphy Marcos           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/busines European Natural Gas Prices Reach New
2021-12-15   2021-12-16 s/europe-natural-gas-prices.html            Record Highs                               By Stanley Reed                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/busines Grocery Giant Kroger Eliminates Paid Leave
2021-12-15   2021-12-16 s/kroger-unvaccinated-employees.html        For the Unvaccinated                       By Derrick Bryson Taylor         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/busines Elfrida von Nardroff 96 Dies Won Big Money
2021-12-15   2021-12-16 s/media/elfrida-von-nardroff-dead.html      on a Fixed Quiz Show                       By Richard Sandomir              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/busines 2 Anchors On Fox News Defend Texts To
2021-12-15   2021-12-16 s/media/fox-news-trump-january-6.html       Meadows                                    By Jim Windolf and John Koblin   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/busines Britains Inflation Hits 51 on Rises in Fuel
2021-12-15   2021-12-16 s/uk-inflation.html                         Highest in a Decade                        By Kevin Granville               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/health/c CDC Finds Design Error In Testing Kits It
2021-12-15   2021-12-16 dc-covid-tests-contaminated.html            Distributed                                By Emily Anthes                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/health/ Hopes Rise That Vaccines Shield Against     By Carl Zimmer and Sheryl
2021-12-15   2021-12-16 omicron-vaccine-severe-disease.html         Omicrons Worst                             Stolberg                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/movies/
                        oscars-lady-gaga-ben-affleck-cate-          Would You Like That Performance
2021-12-15   2021-12-16 blanchett.html                              Supersized                                 By Kyle Buchanan                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/movies/
                        rita-moreno-ariana-debose-west-side-
2021-12-15   2021-12-16 story.html                                  From One Anita To Another                  By Melena Ryzik                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/nyregio Landlord Said to Demand Sex From Tenants
2021-12-15   2021-12-16 n/joseph-centanni-new-jersey.html           Will Pay 45 Million to Settle Suit         By Karen Zraick                  TX 9-131-897   2022-02-01



                                                                                  Page 3135 of 5793
                        https://www.nytimes.com/2021/12/15/nyregio Banning Gas Hookups City Takes Climate
2021-12-15   2021-12-16 n/nyc-gas-stove-heat-ban.html               Fight Into New Yorkers Homes                By Anne Barnard               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/nyregio How Bad Is New York Traffic Packages May
2021-12-15   2021-12-16 n/nyc-packages-ferry.html                   Take the Ferry                              By Jack Ewing and Winnie Hu   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/nyregio New York University Is Latest to Cancel
2021-12-15   2021-12-16 n/nyu-events-canceled-covid.html            Events Over Covid Surge                     By Sharon Otterman            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/nyregio Deadliest Year Since 2013 At Jails in City
2021-12-15   2021-12-16 n/rikers-island-deaths.html                 As Toll Hits 16                             By Jan Ransom                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/nyregio Plan for More Housing in SoHo Wins
2021-12-15   2021-12-16 n/soho-rezoning-vote.html                   Approval                                    By Mihir Zaveri               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/opinion
2021-12-15   2021-12-16 /hispanics-republicans-democrats.html       How Hispanics Became Swing Voters           By Ross Douthat               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/opinion
2021-12-15   2021-12-16 /holiday-giving-givewell.html               Get the Biggest Bang for Your Generosity    By Farhad Manjoo              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/sports/a
2021-12-15   2021-12-16 utoracing/ferrari-f1-new-season.html        Ferrari expects better than third next year By Luke Smith                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/sports/a
2021-12-15   2021-12-16 utoracing/formula-1-next-season.html        New year new rules and new cars             By Ian Parkes                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/sports/a Controversy Lingers Over Finish but F1
2021-12-15   2021-12-16 utoracing/max-verstappen-f1.html            Champ Is Keeping the Trophy                 By Tariq Panja                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/15/sports/f Browns Put Mayfield and 13 Others on Covid
2021-12-15   2021-12-16 ootball/cleveland-browns-covid-outbreak.html List                                      By Emmanuel Morgan             TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/15/sports/f NFL Embraces Gambling and a Las Vegas
2021-12-15   2021-12-16 ootball/nfl-2024-super-bowl-las-vegas.html Super Bowl                                     By Ken Belson               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/sports/n
                        caabasketball/paige-bueckers-uconn-          Knee Injury Will Sideline UConn Star For 8
2021-12-15   2021-12-16 surgery.html                                 Weeks                                        By Adam Zagoria             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/sports/n
                        caafootball/travis-hunter-deion-sanders-     A Top Recruit Spurns Florida State for a
2021-12-15   2021-12-16 jackson-state.html                           Historically Black University                By Alanis Thames            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/sports/o NHL Players in Beijing Thats Anybodys
2021-12-15   2021-12-16 lympics/nhl-covid-winter-olympics.html       Guess                                        By Victor Mather            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/sports/v
2021-12-15   2021-12-16 altteri-bottas-new-team-alfa-romeo.html      A new racing challenge                       By Ian Parkes               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/style/co
2021-12-15   2021-12-16 rset-comeback.html                           The Corset Keeps Coming Back                 By Ilana Kaplan             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/style/de
2021-12-15   2021-12-16 lta-omicron-variant-greek-names.html         Some Innocent Names Get a Sudden Charge      By Shane ONeill             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/style/lil
2021-12-15   2021-12-16 a-moss-hack-diabetes-runway.html             Diabetes Enters The Conversation             By Emily Zak                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/15/style/st
2021-12-15   2021-12-16 atement-dressing-in-a-red-carpet-kurta.html The Politics of a Red Carpet Kurta            By Guy Trebay               TX 9-131-897   2022-02-01



                                                                                 Page 3136 of 5793
                        https://www.nytimes.com/2021/12/15/style/us
2021-12-15   2021-12-16 ed-pelotons-sale-satc.html                  Is That a Peloton or a Clothes Rack        By Steven Kurutz                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/technol
                        ogy/personaltech/relationship-with-         Four Resolutions to Live a Healthier Tech
2021-12-15   2021-12-16 technology.html                             Life in 2022                               By Brian X Chen                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/theater/
2021-12-15   2021-12-16 broadway-coronavirus-cancellations.html     Surge in Virus Rattles Return For Broadway By Michael Paulson                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/15/theater/ In Early Scripts The Music Man Included a
2021-12-15   2021-12-16 music-man-disability-meredith-willson.html Disabled Character                          By Amanda Morris                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/upshot/
2021-12-15   2021-12-16 jerome-powell-inflation-pivot.html          What Drove Powells Pivot On Inflation      By Neil Irwin                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/us/afgh Refugee Crisis Rapidly Turns Into a Housing
2021-12-15   2021-12-16 an-refugees-housing.html                    Crisis                                     By Miriam Jordan                  TX 9-131-897   2022-02-01
                                                                                                               By Julie Bosman Amy Harmon
                        https://www.nytimes.com/2021/12/15/us/covi In a Tragic US Milestone Covid Deaths Top Albert Sun Chloe Reynolds and
2021-12-15   2021-12-16 d-deaths-united-states.html                 800000                                     Sarah Cahalan                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/us/dere ExOfficer Who Killed Floyd Admits
2021-12-15   2021-12-16 k-chauvin-civil-rights-guilty-plea.html     Violating His Rights                       By Nicholas BogelBurroughs        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/us/los-
2021-12-15   2021-12-16 angeles-school-vaccine-mandate.html         Los Angeles Schools Delay Vaccine Mandate By Mike Ives                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/us/polit President Visits Kentucky To View
2021-12-15   2021-12-16 ics/biden-kentucky-tornado.html             Tornadoes Wrath                            By Jim Tankersley                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/us/polit
2021-12-15   2021-12-16 ics/biden-stimulus-bill-republicans.html    GOP Leaders Grab Stimulus They Derided     By Alan Rappeport                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/us/polit Senate Passes 768 Billion Defense Bill in
2021-12-15   2021-12-16 ics/defense-spending-bill.html              Lopsided Vote Sending It to Biden          By Catie Edmondson                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/us/polit Officials Waited to Book Inmates at
2021-12-15   2021-12-16 ics/guantanamo-bay-cia-prisoners.html       Guantnamo                                  By Carol Rosenberg                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/us/polit King Family Joins in New Campaign for
2021-12-15   2021-12-16 ics/voting-rights-king-family.html          Voting Rights                              By Carl Hulse                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/us/the- 3 Voters at Retirement Village Are Accused
2021-12-15   2021-12-16 villages-voter-fraud-florida.html           of Fraud in 2020 Election                  By Johnny Diaz                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/world/a Plotting War in Africa With Nobel Peace
2021-12-15   2021-12-16 frica/ethiopia-abiy-ahmed-nobel-war.html    Prize as Camouflage                        By Declan Walsh                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/world/a Return Zuma to Prison South Africa Judge
2021-12-15   2021-12-16 frica/jacob-zuma-prison-south-africa.html   Rules                                      By Lynsey Chutel                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/world/a Blinken Cuts Asia Trip Off As Journalist
2021-12-15   2021-12-16 sia/antony-blinken-journalist-covid.html    Tests Positive                             By Lara Jakes                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/world/a Putin and Xi in Video Summit Boast of Their By Anton Troianovski and Steven
2021-12-15   2021-12-16 sia/china-russia-summit-xi-putin.html       Cooperation                                Lee Myers                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/world/a Indian Court Is Entitling Sex Workers To
2021-12-15   2021-12-16 sia/india-sex-workers-benefits.html         Benefits                                   By Sameer Yasir                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/world/a
2021-12-15   2021-12-16 sia/malaysia-boat-migrants.html             Boat of Indonesian Migrants Sinks          By Hadi Azmi and Mike Ives        TX 9-131-897   2022-02-01



                                                                               Page 3137 of 5793
                        https://www.nytimes.com/2021/12/15/world/a Kim Is Accused of Executing People for
2021-12-15   2021-12-16 sia/north-korea-kpop-executions.html        Watching KPop Videos                       By Choe SangHun                     TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/15/world/e
                        urope/frenchwoman-dead-syria-detention-     Denied Repatriation Frenchwoman Who
2021-12-15   2021-12-16 camp.html                                   Joined ISIS Dies                           By Constant Mheut                   TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/15/world/e
                        urope/germany-michael-kretschmer-plot-      Vaccine Foes Said to Plot Assassination In
2021-12-15   2021-12-16 saxony-vaccines.html                        Germany                                    By Christopher F Schuetze           TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/15/world/e Russian Convicted in Murder of ExChechen
2021-12-15   2021-12-16 urope/germany-russia-berlin-murder.html     Separatist Fighter in Berlin Park          By Christopher F Schuetze           TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/15/world/e Iran Budges On Cameras That Watch Nuclear
2021-12-15   2021-12-16 urope/iran-nuclear-cameras-iaea.html        Sites                                      By Steven Erlanger                  TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/15/world/e Malta Becomes the First EU Country to
2021-12-15   2021-12-16 urope/malta-eu-marijuana-legalize.html      Legalize Marijuana                         By Emma Bubola                      TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/15/world/e Dutch Agree On Coalition Teflon Mark
2021-12-15   2021-12-16 urope/netherlands-dutch-coalition.html      Stays in Post                              By Thomas Erdbrink                  TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/15/world/e Turks Cant Afford Bread and Bakers Feel the
2021-12-15   2021-12-16 urope/turkey-bread-prices.html              Pinch                                      By Carlotta Gall                    TX 9-131-897     2022-02-01
                        https://www.nytimes.com/live/2021/12/15/us/                                            By Jesus Jimnez Christine Hauser
                        midwest-storms-tornado-news/midwest-        Off the Charts Storm With Several Reported Mike Ives Isabella Grulln Paz
2021-12-15   2021-12-16 tornado-warning                             Tornadoes Rolls Across Central US          Alyssa Lukpat and Azi Paybarah      TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/15/nyregio How NYPDs Next Leader Rose to Face Her By Ashley Southall Ali Watkins
2021-12-16   2021-12-16 n/keechant-sewell-nypd-commissioner.html Biggest Test                                       and Troy Closson                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/opinion
2021-12-16   2021-12-16 /michigan-school-shooting.html                 Oh God Guns Still Guns                       By Gail Collins                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/us/polit Democrats Appear Resigned to Shelve Social By Emily Cochrane and Jim
2021-12-16   2021-12-16 ics/democrats-social-policy-bill-2022.html     Spending Bill Until 2022                     Tankersley                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/us/polit
                        ics/michelle-kwan-caroline-kennedy-            Olympian and a Kennedy Picked as Envoys
2021-12-16   2021-12-16 ambassador.html                                by Biden                                     By Jim Tankersley                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/us/polit
                        ics/trump-meadows-republicans-congress-jan- Trump Loyalists Turned Election Lies Into       By Katie Benner Catie Edmondson
2021-12-16   2021-12-16 6.html                                         Action                                       Luke Broadwater and Alan Feuer TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/15/world/a
2021-12-16   2021-12-16 mericas/santo-domingo-plane-crash.html         Dominican Crash Kills All 9 Aboard           By Richard PrezPea and Mike Ives TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/busines
                        s/energy-environment/bolivia-lithium-electric-                                              By Clifford Krauss and Meridith
2021-12-16   2021-12-16 cars.html                                      Energy Riches In Bolivia Lure Global Suitors Kohut                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/fashion
2021-12-16   2021-12-16 /air-eau-de-parfum-perfume.html                As Catastrophes Loom A Whiff of Innovation By Sable Yong                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/style/ce
2021-12-16   2021-12-16 lebrity-beauty-brands.html                     Were Drowning in Celebrity Beauty Brands By Rachel Strugatz                   TX 9-131-897   2022-02-01




                                                                                 Page 3138 of 5793
                        https://www.nytimes.com/2021/12/16/style/ke
                        rby-jean-raymond-your-friends-in-new-
2021-12-16   2021-12-16 york.html                                    Giving Designers Of Color Their Due         By Vanessa Friedman                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/16/style/sn
2021-12-16   2021-12-16 eakers-price-spikes-virgil-abloh.html        After a Death a Surge in Demand             By Jessica Testa                   TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/13/books/h Humphrey Davies 74 Noted Translator of
2021-12-13   2021-12-17 umphrey-davies-dead.html                     Works By Middle Eastern Writers             By Nana Asfour                     TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/13/movies/
2021-12-13   2021-12-17 the-rise-and-fall-of-lularoe-review.html     The Rise and Fall Of LuLaRoe                By Beatrice Loayza                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/14/movies/
2021-12-14   2021-12-17 the-hand-of-god-review.html                  Turning Reality Into Sublimity              By AO Scott                        TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/14/sports/o
2021-12-14   2021-12-17 lympics/chloe-kim-snowboarding.html          A Teen Sensation Grows Up                   By John Branch                     TX 9-131-897     2022-02-01
                        https://www.nytimes.com/interactive/2021/12/                                             By Amy Schoenfeld Walker and
2021-12-14   2021-12-17 14/science/omicron-variant-science.html      What It Takes to Understand a Variant       Lazaro Gamio                       TX 9-131-897     2022-02-01
                                                                                                                 By Dwight Garner Alexandra
                        https://www.nytimes.com/2021/12/15/books/c The Year in Books From Breakout Stars to      Jacobs Jennifer Szalai and Molly
2021-12-15   2021-12-17 ritics-discuss-2021-in-books.html           Blobs                                        Young                              TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/15/busines Jobless for a Year That May Be Less of a
2021-12-15   2021-12-17 s/economy/employment-resume-gaps.html       Problem Now                                  By Sydney Ember                    TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/15/movies/
2021-12-15   2021-12-17 my-girlfriends-wedding-jim-mcbride.html     His Girlfriends Life Played as a Movie       By J Hoberman                      TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/15/movies/
2021-12-15   2021-12-17 rumble-review.html                          Rumble                                       By Natalia Winkelman               TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/15/movies/ Properly Aged Wisdom Flowing From a
2021-12-15   2021-12-17 the-tender-bar-review.html                  Bottle                                       By AO Scott                        TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/15/sports/t Manuel Santana 83 First In Spain to Win
2021-12-15   2021-12-17 ennis/manuel-santana-dead.html              Slam Event                                   By Raphael Minder                  TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/15/theater/ New Circumstances Give a Play New
2021-12-15   2021-12-17 selling-kabul-afghanistan-sylvia-khoury.html Resonance                                     By Amelia Nierenberg               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/
                        15/us/mayfield-kentucky-tornado-             Before and After the Tornado Devastation in a By Keith Collins Josh Williams and
2021-12-15   2021-12-17 damage.html                                  Historic Neighborhood                         Denise Lu                          TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/15/arts/mu Runaway American Dream Springsteen Sells
2021-12-16   2021-12-17 sic/bruce-springsteen-sells-music-catalog.html Catalog                              By Ben Sisario                          TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/15/movies/
2021-12-16   2021-12-17 nightmare-alley-review.html                    Something Wicked This Way Comes      By Manohla Dargis                       TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/15/world/a 5 Schoolchildren in Australia Are Killed After
2021-12-16   2021-12-17 ustralia/jumping-castle-tasmania.html       Wind Gust Sends Bouncy Castle Flying          By Yan Zhuang                     TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/16/arts/des
                        ign/9-11-memorial-museum-leader-
2021-12-16   2021-12-17 departure.html                              Leadership Change At 911 Memorial             By Zachary Small                  TX 9-131-897     2022-02-01



                                                                                 Page 3139 of 5793
                        https://www.nytimes.com/2021/12/16/arts/des
                        ign/atheneum-art-sexism-women-
2021-12-16   2021-12-17 museum.html                                  Renaissance Women Painted in Defiance         By Jason Farago                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/arts/des
2021-12-16   2021-12-17 ign/latino-art-exhibitions-new-york.html     Exhibitions Teeming With Latin Creativity     By Holland Cotter                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/arts/des
                        ign/sharks-american-museum-of-natural-
2021-12-16   2021-12-17 history.html                                 Take Away the Fear Keep the Fascination       By Laurel Graeber                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/arts/mu Ken Kragen 85 a Pivotal Force Behind We
2021-12-16   2021-12-17 sic/ken-kragen-dead.html                     Are the World Dies                            By Neil Genzlinger                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/arts/tele
2021-12-16   2021-12-17 vision/1883-yellowstone-prequel.html         Yellowstone Gets a Prequel in 1883            By Noel Murray                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/arts/tele
2021-12-16   2021-12-17 vision/finding-magic-mike.html               This Weekend I Have                           By Margaret Lyons                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/arts/tele A Heavy Hitter Gets Back Into the Swing of
2021-12-16   2021-12-17 vision/review-the-witcher-netflix.html       Things                                        By Mike Hale                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/busines Victims Kin Criticize US Over Settlement
2021-12-16   2021-12-17 s/boeing-crash-victim-families.html          With Boeing                                   By Niraj Chokshi                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/busines
2021-12-16   2021-12-17 s/classic-cars-hagerty.html                  A Classic Car Insurers Vision to Save Driving By Brett Berk                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/busines Central Banks Prioritize Inflation Over
2021-12-16   2021-12-17 s/economy/omicron-inflation.html             Omicron                                       By Eshe Nelson                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/busines Chief Repays McDonalds 105 Million After
2021-12-16   2021-12-17 s/mcdonalds-steve-easterbrook.html           Ouster                                        By David Gelles and Julie Creswell TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/busines Rivian Will Spend 5 Billion to Construct a
2021-12-16   2021-12-17 s/rivian-earnings-georgia-plant.html         Factory for Electric Vehicles in Georgia      By Neal E Boudette                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/busines SPAC in Trump Media Deal Is Sued Over
2021-12-16   2021-12-17 s/trump-spac-lawsuit.html                    Brazen Fraud                                  By Matthew Goldstein               TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/16/climate EPA Will Toughen Rules on Lead in Water
2021-12-16   2021-12-17 /biden-lead-drinking-water.html             And Begin Replacing Millions of Older Pipes By Lisa Friedman                    TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/16/climate Gas vs Electric Stoves On a Partisan         By Brad Plumer and Hiroko
2021-12-16   2021-12-17 /gas-stoves-climate-change.html             Battlefield                                 Tabuchi                             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/16/climate Manchin Scuttles Plan To Ban Coastal         By Lisa Friedman and Emily
2021-12-16   2021-12-17 /manchin-offshore-drilling-climate.html     Drilling In Atlantic and Pacific            Cochrane                            TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/16/dining/ Temporarily Shut Down by Covid During        By Priya Krishna and Christina
2021-12-16   2021-12-17 nyc-restaurants-covid-omicron.html          New Yorks Big Holiday Rush                  Morales                             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/16/health/a
2021-12-16   2021-12-17 bortion-pills-fda.html                      FDA Allows Abortion Pills Through Mail      By Pam Belluck                      TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/16/health/c Omicrons Spread Certain But Its Full Threat
2021-12-16   2021-12-17 oronavirus-omicron-variant.html             Is Not                                      By Emily Anthes                     TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/16/health/c Affordable Coronavirus Tests Are Out There
2021-12-16   2021-12-17 oronavirus-testing-holidays.html            if You Look                                 By Emily Anthes                     TX 9-131-897     2022-02-01




                                                                                 Page 3140 of 5793
                        https://www.nytimes.com/2021/12/16/health/j CDC Shifts Guidance Away From JampJ Shot By Rebecca Robbins and Christina
2021-12-16   2021-12-17 ohnson-and-johnson-vaccine-blood-clots.html Citing Rare Blood Clots                    Jewett                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/movies/
2021-12-16   2021-12-17 a-naija-christmas-review.html               A Naija Christmas                          By Lisa Kennedy                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/movies/
2021-12-16   2021-12-17 fortress-review.html                        Fortress                                   By Amy Nicholson                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/movies/
                        juice-wrld-into-the-abyss-review-free-
2021-12-16   2021-12-17 fall.html                                   Juice WRLD Into the Abyss                  By Ben Kenigsberg                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/movies/
2021-12-16   2021-12-17 last-words-review.html                      Last Words                                 By Glenn Kenny                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/movies/
2021-12-16   2021-12-17 mother-android-review.html                  MotherAndroid                              By Lena Wilson                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/movies/
2021-12-16   2021-12-17 president-review.html                       President                                  By Concepcin de Len                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/movies/
2021-12-16   2021-12-17 spider-man-no-way-home-review.html          Still Outwitting Supervillains and Critics By Manohla Dargis                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/movies/
2021-12-16   2021-12-17 swan-song-review.html                       Time Is Short I Think Ill Clone Myself     By Nicolas Rapold                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/movies/
2021-12-16   2021-12-17 the-novice-review.html                      The Novice                                 By Teo Bugbee                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/movies/
2021-12-16   2021-12-17 the-scary-of-sixty-first-review.html        The Scary of SixtyFirst                    By Jeannette Catsoulis             TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/16/nyregio Adamss Reform Plan for Rikers Reinstates     By Nicholas Fandos and Jonah E
2021-12-16   2021-12-17 n/louis-molina-nyc-jails-commissioner.html Solitary Confinement                         Bromwich                          TX 9-131-897   2022-02-01
                                                                                                                By Michael Wilson Sharon
                        https://www.nytimes.com/2021/12/16/nyregio                                              Otterman Lola Fadulu and Ashley
2021-12-16   2021-12-17 n/new-york-covid-cases.html                 For New York City a Familiar Anxiety        Wong                              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/nyregio
                        n/tessa-majors-murder-rashaun-weaver-
2021-12-16   2021-12-17 plea.html                                   3rd Teen Pleads Guilty in Students Murder   By Troy Closson                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/opinion The Line From Fox News to Trumps Big Lie
2021-12-16   2021-12-17 /fox-news-trump-january-6.html              Is Short and Direct                         By Frank Bruni                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/opinion
2021-12-16   2021-12-17 /neediest-cases-charity.html                We Were Like One Person                     By The Editorial Board            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/opinion
2021-12-16   2021-12-17 /psoriasis-skin-disease.html                This Makes Me A Monster                     By Sergio del Molino              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/opinion Populism Has Found a Home at the Supreme     By Anya Bernstein and Glen
2021-12-16   2021-12-17 /supreme-court-populism.html                Court Too                                   Staszewski                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/sports/f
                        ootball/nfl-nba-sports-leagues-covid-
2021-12-16   2021-12-17 outbreaks.html                              Sports Should Take The Holidays Off         By Kurt Streeter                  TX 9-131-897   2022-02-01




                                                                               Page 3141 of 5793
                        https://www.nytimes.com/2021/12/16/sports/f Jaguars Decide Enough Is Enough With        By Ben Shpigel Emmanuel Morgan
2021-12-16   2021-12-17 ootball/urban-meyer-fired-jacksonville.html Meyer                                       and Ken Belson                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/16/technol
                        ogy/closing-arguments-trial-elizabeth-      In Arguments Lawyers Ask Jurors to Focus on
2021-12-16   2021-12-17 holmes.html                                 Holmess Intent                              By Erin Woo                    TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/16/us/bide
2021-12-16   2021-12-17 n-migrant-family-separation-settlement.html US Halts Talks Over Migrant Claims          By Miriam Jordan                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/us/dona Donald Cozzens 82 Priest Who Pressed the
2021-12-16   2021-12-17 ld-cozzens-dead.html                        Church From Within Dies                     By Katharine Q Seelye           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/us/kent In a Kentucky Town a Lifeline Ripped to      By Edgar Sandoval and Richard
2021-12-16   2021-12-17 ucky-candle-factory-workers-tornado.html    Pieces                                      Fausset                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/us/polit Tracking How Project Veritas Obtained Diary By Adam Goldman and Michael S
2021-12-16   2021-12-17 ics/ashley-biden-project-veritas-diary.html of Bidens Daughter                          Schmidt                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/us/polit Congress Passes Ban on Imports From
2021-12-16   2021-12-17 ics/congress-uyghur-forced-labor.html       Xinjiang                                    By Catie Edmondson              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/us/polit
2021-12-16   2021-12-17 ics/medals-of-honor-biden.html              A Ceremony to Honor Bravery Under Fire      By Jim Tankersley               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/us/polit Unvaccinated in Army and Navy Will Be
2021-12-16   2021-12-17 ics/military-vaccine-mandate.html           Dismissed                                   By Jennifer Steinhauer          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/us/polit                                             By Luke Broadwater and Alan
2021-12-16   2021-12-17 ics/phil-waldron-jan-6.html                 Jan 6 Committee Subpoenas Retired Colonel Feuer                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/us/polit Subpoenaed Trump Allies Slow the Wheels of By Jonathan Weisman and Luke
2021-12-16   2021-12-17 ics/trump-subpoenas.html                    Justice                                     Broadwater                      TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/16/us/polit
2021-12-16   2021-12-17 ics/us-china-biotech-muslim-minorities.html US Limits Firms It Ties to China Abuses   By Julian E Barnes                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/world/a 12 Christian Aid Hostages in Haiti Are     By Harold Isaac Anatoly
2021-12-16   2021-12-17 mericas/haiti-hostages-released.html        Released                                  Kurmanaev and Ruth Graham         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/world/a Chinas Loudest Nationalist Steps Back From
2021-12-16   2021-12-17 sia/china-hu-xijin-retires.html             Megaphone                                 By Paul Mozur and John Liu        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/world/a Japanese Island Paradise Shudders Amid     By Ben Dooley Hisako Ueno and
2021-12-16   2021-12-17 sia/ishigaki-japan-missiles-taiwan.html     Rising Tensions Over Taiwan               The New York Times                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/16/world/a Winds of Up to 168 MPH Start Philippines
2021-12-16   2021-12-17 sia/super-typhoon-rai-odette-philippines.html Flooding                                    By Jason Gutierrez            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/world/e
                        urope/france-uk-travel-restrictions-
2021-12-16   2021-12-17 omicron.html                                  French Ban Most Travel With Britain         By Aurelien Breeden           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/world/e
                        urope/italy-alps-bolzano-covid-
2021-12-16   2021-12-17 vaccination.html                              In Alps Natural Remedies and Covid Thrive   By Emma Bubola                TX 9-131-897   2022-02-01




                                                                                 Page 3142 of 5793
                        https://www.nytimes.com/2021/12/16/world/e
                        urope/omar-raddad-cote-dazur-dna-          Judges Grant Gardener New Inquiry In 1991
2021-12-16   2021-12-17 france.html                                Murder of a French Socialite                   By Norimitsu Onishi             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/world/e NATO Signals Support For Ukraine but
2021-12-16   2021-12-17 urope/ukraine-nato-russia.html             Offers No Further Military Aid                 By Michael Schwirtz             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/world/
                        middleeast/turkish-lira-currency-erdogan-  After a Rate Cut Turkish Currency Falls to a
2021-12-16   2021-12-17 turkey.html                                New Low                                        By Carlotta Gall                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/article/cte-       What Weve Learned About the Effects of
2021-12-16   2021-12-17 definition-nfl.html                        CTE                                            By Ben Shpigel                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/health/ Judge Rejects Opioids Settlement That
2021-12-17   2021-12-17 purdue-pharma-opioid-settlement.html       Shields Sacklers From Suits                    By Jan Hoffman                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/us/harv SATs or ACTs Not Required Through 26
2021-12-17   2021-12-17 ard-admissions-act-sat.html                Harvard Says                                   By Anemona Hartocollis          TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/16/us/polit Biden Concedes the 22 Trillion Social Policy By Emily Cochrane and Luke
2021-12-17   2021-12-17 ics/biden-immigration-build-back-better.html Bill Is Stalled                              Broadwater                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/us/polit Bidens Position on Ukraine Is a Wider Test of
2021-12-17   2021-12-17 ics/biden-russia-ukraine.html                US Credibility Abroad                        By Michael Crowley              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/us/polit RNC Is Said to Agree to Pay Up to 16 Million By Shane Goldmacher Jonah E
2021-12-17   2021-12-17 ics/rnc-trump-investigations.html            of Trumps Legal Expenses                     Bromwich and Michael Levenson   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/us/polit Scientists Urge President To Slash Nuclear
2021-12-17   2021-12-17 ics/scientists-letter-nuclear-arsenal.html   Arsenal                                      By David E Sanger               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/busines Never Mind Those Plans To Return To the        By Emma Goldberg and Lananh
2021-12-17   2021-12-17 s/omicron-return-to-office.html              Office                                       Nguyen                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/insider/
2021-12-17   2021-12-17 kentucky-tornado-reporting.html              One Reporters Work in Kentucky               By John Otis                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/sports/h Coyotes Long Journey to Nowhere Takes
2021-12-17   2021-12-17 ockey/arizona-coyotes-glendale-nhl.html      Another Turn                                 By David Shoalts                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/arts/mu
2021-12-15   2021-12-18 sic/raven-o-retiring.html                    Nightlife Fixture Takes Last Bow             By Elysa Gardner                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/arts/tele
                        vision/with-love-gloria-calderon-kellett-
2021-12-15   2021-12-18 amazon.html                                  With Love Comes Home for the Holidays        By Alexis Soloski               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/arts/dan
                        ce/american-ballet-theater-summer-
2021-12-16   2021-12-18 season.html                                  American Ballet Plans Return to Mets Stage By Javier C Hernndez              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/arts/mu Juilliard Gets 50 Million Gift for a Diversity
2021-12-16   2021-12-18 sic/juilliard-racial-disparities-gift.html   Program                                      By Javier C Hernndez            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/sports/f
2021-12-16   2021-12-18 ootball/vincent-jackson-death-cte.html       His Nickname Was Invincible He Died at 38 By Ken Belson                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/world/e Oriol Bohigas Architect Who Helped
2021-12-16   2021-12-18 urope/oriol-bohigas-dead.html                Transformed Barcelona Dies at 95             By Raphael Minder               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/books/b
2021-12-17   2021-12-18 ell-hooks-black-women-feminism.html          She Mixed Emotions With Intellect            By Jennifer Schuessler          TX 9-131-897   2022-02-01



                                                                                 Page 3143 of 5793
                        https://www.nytimes.com/2021/12/16/world/a Third Suspected Arson Attack in Japan       By Makiko Inoue Motoko Rich and
2021-12-17   2021-12-18 sia/japan-fire-osaka.html                   Leaves 24 in an Office Building Dead       Hikari Hida                     TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/17/arts/dan
                        ce/michelle-dorrance-dormeshia-tap-92nd-
2021-12-17   2021-12-18 street-y.html                               Their Tap Family Spirit Is Open to All     By Brian Seibert                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/arts/des
                        ign/afghanistan-national-museum-            An Art Showcase Begins Life Under the
2021-12-17   2021-12-18 reopens.html                                Taliban                                    By Anna P Kambhampaty             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/arts/mu
2021-12-17   2021-12-18 sic/verdi-shakespeare-opera.html            Hail Shakespeare Resonates Across Italy    By Larry Wolff                    TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/17/arts/tele
2021-12-17   2021-12-18 vision/taylor-sheridan-yellowstone-1883.html His Western Empire                        By Noel Murray                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/busines Boeing Drops Shot Mandate For Employees     By Niraj Chokshi and Emma
2021-12-17   2021-12-18 s/boeing-vaccine-mandate.html                After Ruling                              Goldberg                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/busines Fox Newss Request to Dismiss Suit Is        By Katie Robertson and Jonah E
2021-12-17   2021-12-18 s/fox-news-dominion-lawsuit.html             Rejected                                  Bromwich                          TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/17/climate As World Warms Bracing for More Extreme     By Brad Plumer Winston
2021-12-17   2021-12-18 /wind-storms-tornadoes-climate-change.html Weather                                     ChoiSchagrin and Hiroko Tabuchi TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/17/movies/
                        kevin-feige-amy-pascal-spider-man-no-way-
2021-12-17   2021-12-18 home.html                                  An Alliance Propels A Universe              By Brooks Barnes                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/nyregio He Prosecuted a Pirate Now Hell Advise      By Benjamin Weiser and William
2021-12-17   2021-12-18 n/adams-brendan-mcguire-lawyer.html        Adams                                       K Rashbaum                        TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/17/nyregio Council Member in Queens Will Be First       By Jeffery C Mays and Katie
2021-12-17   2021-12-18 n/adrienne-adams-nyc-council-speaker.html Black Woman to Become Speaker                 Glueck                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/nyregio                                              By Nicholas Fandos and Jonah E
2021-12-17   2021-12-18 n/eric-adams-rikers-island.html              Adamss Proposals on Rikers and Crime Clash Bromwich                         TX 9-131-897   2022-02-01
                                                                     Defense Rests Its Case as Maxwell Decides By Rebecca Davis OBrien
                        https://www.nytimes.com/2021/12/17/nyregio Not to Testify During Her SexTrafficking     Benjamin Weiser and Colin
2021-12-17   2021-12-18 n/ghislaine-maxwell-trial-defense-rests.html Trial                                      Moynihan                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/opinion
                        /alaa-abdel-fattah-egypt-political-          My Son Is in Prison Because He Dared to
2021-12-17   2021-12-18 prisoners.html                               Dream                                      By Laila Soueif                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/opinion
2021-12-17   2021-12-18 /election-vote-fraud-data.html               Surprise Theres No Voter Fraud Again       By Jesse Wegman                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/opinion
2021-12-17   2021-12-18 /freedom-liberty-racial-hierarchies.html     What Does White Freedom Really Mean        By Jamelle Bouie                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/sports/f
                        ootball/chargers-chiefs-thursday-night-
2021-12-17   2021-12-18 overtime.html                                Saturday Nights Game                       By Emmanuel Morgan               TX 9-131-897   2022-02-01




                                                                                Page 3144 of 5793
                        https://www.nytimes.com/2021/12/17/sports/f Outbreaks Rattle NFL and College Sports        By Billy Witz Kevin Draper and
2021-12-17   2021-12-18 ootball/nfl-games-postponed-covid-surge.html With Big Games Approaching                    Adam Zagoria                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/sports/j YouTube Star Can Sell a Fight What Hes
2021-12-17   2021-12-18 ake-paul-tyron-woodley.html                  Seeking Is Respect                            By Alanis Thames               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/sports/o US Olympic Chair Urges Inquiry of Tennis By Matthew Futterman and Andrew
2021-12-17   2021-12-18 lympics/usoc-peng-shuai-china.html           Stars Claims                                  Keh                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/style/eli
2021-12-17   2021-12-18 zabeth-holmes-trial-makeover.html            A Fade From Black Meant to Sway Jurors        By Vanessa Friedman            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/technol
                        ogy/elizabeth-holmes-trial-closing-          Holmes Trial A Reckoning For StartUps
2021-12-17   2021-12-18 arguments.html                               Nears Its End                                 By Erin Griffith               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/travel/l With the Onset of Omicron Londons Holiday By Ceylan Yeginsu and Lindsey
2021-12-17   2021-12-18 ondon-holiday-travel-omicron.html            Lights Have Dimmed Considerably               Tramuta                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/us/covi
2021-12-17   2021-12-18 d-hospitals-omicron.html                     Despair Sets In As Cases Bury Hospital Staffs By Mitch Smith                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/us/kim- Officer Who Killed Black Man Apologizes on
2021-12-17   2021-12-18 potter-testifies-daunte-wright.html          the Stand I Didnt Want to Hurt Anybody        By Nicholas BogelBurroughs     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/us/polit In Campus Speech Biden Vows to Fight for
2021-12-17   2021-12-18 ics/biden-south-carolina-state.html          Voting Rights Until We Get It Done            By Jim Tankersley              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/us/polit Climate Change Is Called Threat to US
2021-12-17   2021-12-18 ics/climate-change-us-financial-threat.html  Economy                                       By Alan Rappeport              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/us/polit Jan 6 Panel Considers Expanding Its Staff as By Katie Benner and Luke
2021-12-17   2021-12-18 ics/january-6-committee-capitol-riot.html    Inquiry Grows                                 Broadwater                     TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/17/us/polit Florida Man Gets 5 Years For Attack At the
2021-12-17   2021-12-18 ics/robert-palmer-capitol-riot-sentence.html Capitol                                     By Alan Feuer                   TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/17/us/polit
                        ics/unvaccinated-children-covid-testing-     Ruling Lets Unvaccinated Stay in Class With By Noah Weiland and Emily
2021-12-17   2021-12-18 cdc.html                                     Testing                                     Anthes                          TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/17/us/san-                                               By Thomas Fuller Shaila Dewan
2021-12-17   2021-12-18 francisco-state-of-emergency-crime.html      Liberal Mayor Cracks Down Against Crime and Kellen Browning                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/17/world/a Stolen at Birth Hundreds of Chilean Adoptees
2021-12-17   2021-12-18 mericas/chile-adoption-pinochet.html         Uncover Their Past                          By Ernesto Londoo               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/17/world/a Myanmar Reporter Flees After Jailing and
2021-12-17   2021-12-18 sia/myanmar-journalist-kyaw-torture.html     Torture                                     By Richard C Paddock            TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/17/world/e                                               By Mark Landler and Stephen
2021-12-17   2021-12-18 urope/britain-johnson-omicron-politics.html In UK Conservatives Lose Stalwart District   Castle                          TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/17/world/e Putin Moves to Push NATO Out of Former        By Andrew E Kramer and Steven
2021-12-17   2021-12-18 urope/russia-nato-security-deal.html        Soviet Republics                             Erlanger                        TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/17/world/ 3 Iranians Are Detained for Plan to Sue Top
2021-12-17   2021-12-18 middleeast/iran-covid-trial-khamenei.html   Leader Over Covid Response                   By Farnaz Fassihi               TX 9-131-897    2022-02-01




                                                                                Page 3145 of 5793
                        https://www.nytimes.com/2021/12/17/world/p
                        ope-renews-calls-for-universal-access-to-  Pope Renews Push for Access To Virus
2021-12-17   2021-12-18 vaccines.html                              Vaccines Worldwide                            By Elisabetta Povoledo             TX 9-131-897     2022-02-01
                                                                                                                 By Adam Satariano Nick
                        https://www.nytimes.com/2021/12/17/world/r Killer Robots Arent Science Fiction Calls to  CummingBruce and Rick
2021-12-17   2021-12-18 obot-drone-ban.html                           Ban Such Arms Are on the Rise              Gladstone                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/world/s In South Africa Hospitalizations Are Lower
2021-12-17   2021-12-18 outh-africa-omicron-hospitalizations.html     From Omicron                                  By Lynsey Chutel                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/your-
2021-12-17   2021-12-18 money/holiday-tipping-guide.html              A Gift for Those Who Serve You                By Ann Carrns                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/live/2021/12/17/wo
                        rld/covid-omicron-vaccines/in-a-trial-pfizer-
                        biontechs-low-dose-shot-did-not-provoke-an-
                        adequate-immune-response-in-2-to-5-year-      Pfizer Shot for Young Children Falls Short in By Apoorva Mandavilli and
2021-12-17   2021-12-18 olds                                          a Clinical Study                              Rebecca Robbins                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/busines Appeals Court Reinstates OSHAs Vaccine           By Lauren Hirsch Emma Goldberg
2021-12-18   2021-12-18 s/osha-vaccine-mandate.html                   Mandate                                       and Charlie Savage                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/nyregio Data Show Record Rise Of Infections In New By Lola Fadulu and Joseph
2021-12-18   2021-12-18 n/covid-new-york-omicron.html                 York                                          Goldstein                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/us/polit Biden Issues Grim Warning as Omicron
2021-12-18   2021-12-18 ics/biden-coronavirus-omicron-winter.html     Cases Spike                                   By Michael D Shear                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/us/polit Surging Demand for Virus Tests Swamps           By Sheryl Gay Stolberg and Sharon
2021-12-18   2021-12-18 ics/us-covid-tests-omicron.html               System                                        LaFraniere                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/us/puer Former Secretary of Education in Puerto Rico
2021-12-18   2021-12-18 to-rico-education-corruption-keleher.html     Is Given Six Months in Prison                 By Patricia Mazzei                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/your-
                        money/paying-for-college/early-decision-
2021-12-18   2021-12-18 binding-nyu.html                              There Is Wiggle Room on Early Decision        By Ron Lieber                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/14/books/r
2021-10-14   2021-12-19 eview/joy-sorman-life-sciences.html           Bodily Dysfunctions                           By Lena Dunham                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/19/books/r
                        eview/the-book-of-mother-violaine-
2021-10-19   2021-12-19 huisman.html                                  Drama Queen                                   By Michelle Orange                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/10/25/books/r
                        eview/on-tyranny-timothy-snyder-nora-krug-
                        discipline-dash-shaw-this-is-how-i-disappear- History and Its Harsh Lessons Give These
2021-10-25   2021-12-19 mirion-malle.html                             Graphic Novels Their Material                 By Hillary Chute                  TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/10/26/books/r
2021-10-26   2021-12-19 eview/master-of-the-game-martin-indyk.html Personal Diplomacy                            By Jeremi Suri                     TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/10/26/books/r
                        eview/nathaniel-ian-miller-memoirs-
2021-10-26   2021-12-19 stockholm-sven.html                        Terra Nullius                                 By Ian McGuire                     TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/11/12/books/r
2021-11-12   2021-12-19 eview/allison-moorer-memoir-autism.html    Speaking Up                                   By Alysia Abbott                   TX 9-131-897     2022-02-01



                                                                                 Page 3146 of 5793
                        https://www.nytimes.com/2021/11/16/books/r
                        eview/love-in-the-big-city-sang-young-
2021-11-16   2021-12-19 park.html                                  Heart and Seoul                            By Bobby Finger           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/16/books/r
                        eview/neal-stephenson-termination-
2021-11-16   2021-12-19 shock.html                                 Helter Swelter                             By Omar El Akkad          TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/18/books/r
2021-11-18   2021-12-19 eview/the-99-percent-matthew-stewart.html The Affluent Few                            By Eyal Press             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/23/books/r
                        eview/far-from-the-tree-matt-krause-texas-
2021-11-23   2021-12-19 book-blacklist-ban.html                    Americas BookBanning Spree                 By Andrew Solomon         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/23/books/r
                        eview/san-fransicko-michael-
2021-11-23   2021-12-19 shellenberger.html                         On the Street                              By Wes Enzinna            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/30/books/r
2021-11-30   2021-12-19 eview/james-hannaham-pilot-impostor.html Book of Disquiet                             By Dustin Illingworth     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/30/books/r
                        eview/people-from-my-neighborhood-hiromi-
                        kawakami-blake-sanz-boundaries-of-their-
                        dwelling-what-if-we-were-somewhere-else-
2021-11-30   2021-12-19 wendy-j-fox.html                            Story Collections                         By Brenda Peynado         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/books/r
2021-12-07   2021-12-19 eview/aysegul-savas-white-on-white.html     Ways of Seeing                            By Larissa Pham           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/opinion
2021-12-11   2021-12-19 /schools-students-staff.html                Can We Identify Violent Kids              By Jessica Grose          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/style/ho
2021-12-11   2021-12-19 w-to-avoid-wedding-scams.html               How to Steer Clear Of Wedding Scams       By Daniel Bortz           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/magazi
2021-12-13   2021-12-19 ne/parellel-mothers-pedro-almodovar.html    The Excavations of Pedro Almodvar         By Marcela Valdes         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/opinion
2021-12-13   2021-12-19 /debate-important-lessons.html              Debate Teaches Kids How to Think          By Jay Caspian Kang       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/realesta
2021-12-13   2021-12-19 te/shopping-for-champagne-glasses.html      Its Time to Toast So Raise a Nice One     By Tim McKeough           TX 9-131-897   2022-02-01

                        https://www.nytimes.com/interactive/2021/12/ Can We Have a Meaningful Life in a Virtual
2021-12-13   2021-12-19 13/magazine/david-j-chalmers-interview.html World                                       By David Marchese       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/arts/tele
2021-12-14   2021-12-19 vision/john-cameron-mitchell-hedwig.html     John Cameron Mitchell Is Drawn to Fantasy By Kathryn Shattuck      TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/14/arts/tele
2021-12-14   2021-12-19 vision/mackenzie-davis-station-eleven.html Her Role Isnt Too Much of a Stretch        By Coralie Kraft          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/magazi Must Our Plan to Help Our Granddaughter
2021-12-14   2021-12-19 ne/akita-dog-ethics.html                     Include Her Scary Dog                    By Kwame Anthony Appiah   TX 9-131-897   2022-02-01



                                                                                Page 3147 of 5793
                        https://www.nytimes.com/2021/12/14/magazi
2021-12-14   2021-12-19 ne/celebrity-empathy.html                   Soft Sell                                    By Mireille Silcoff      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/magazi
2021-12-14   2021-12-19 ne/hang-gallery-wall.html                   How to Hang a Gallery Wall                   By Jaime Lowe            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/magazi
2021-12-14   2021-12-19 ne/joke-gift-christmas-rewrap.html          Rewrapping Gifts                             By Casey Quackenbush     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/opinion
2021-12-14   2021-12-19 /opera-porgy-and-bess.html                  Porgy and Bess Isnt a Black Opera            By John McWhorter        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/opinion
2021-12-14   2021-12-19 /tornadoes-mayfield-amazon.html             Weather Shouldnt Be a Workplace Hazard       By Jamelle Bouie         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/realesta Santa Claus Isnt Just Coming to Town Hes
2021-12-14   2021-12-19 te/santa-claus-real-estate.html             Moving In                                    By Joanne Kaufman        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/style/ru
2021-12-14   2021-12-19 n-in-acquaintances.html                     The Welcome Return of the RunIn              By Reyhan Harmanci       TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/15/arts/mu
2021-12-15   2021-12-19 sic/britney-spears-woodstock-recent-past.html More Than Ever the Past Is Present          By Lindsay Zoladz       TX 9-131-897   2022-02-01
                                                                      The pain was like an octopuss squeezing its
                        https://www.nytimes.com/2021/12/15/magazi tentacles around his head The diagnosis came
2021-12-15   2021-12-19 ne/giant-cell-arteritis-diagnosis.html        from anunlikely source                      By Lisa Sanders MD      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/magazi
2021-12-15   2021-12-19 ne/grieving-loss-closure.html                 The Ghosts We Live With                     By Meg Bernhard         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/magazi Hot Rocks For a chef the stone soup story is a
2021-12-15   2021-12-19 ne/stone-soup.html                            rich text and more than just an allegory    By Gabrielle Hamilton   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/movies/
2021-12-15   2021-12-19 nightmare-alley-childhood-carnival.html       Growing Up on Nightmare Alley               By Brooks Barnes        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/opinion
2021-12-15   2021-12-19 /tornado-climate-change.html                  Is Climate Change Causing More Tornadoes By James B Elsner          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/opinion
2021-12-15   2021-12-19 /west-side-story-remake.html                  The West Side Story Remake We Didnt Need By Yarimar Bonilla         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/realesta
                        te/600000-homes-in-virginia-kentucky-and- 600000 Homes in Virginia Kentucky and
2021-12-15   2021-12-19 missouri.html                                 Missouri                                    By Angela Serratore     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/realesta
2021-12-15   2021-12-19 te/gifts-for-gardeners.html                   For Those Who Like to Snip Dig and Prune By Margaret Roach          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/realesta IndoorOutdoor Flow on an Indian Ocean
2021-12-15   2021-12-19 te/mauritius-house-hunting.html               Island                                      By Roxana Popescu       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/realesta Yes There Are Bars But Theres So Much
2021-12-15   2021-12-19 te/murray-hill-nyc.html                       More                                        By Karin Lipson         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/sports/b The 3Point Shot Changed Basketball But
2021-12-15   2021-12-19 asketball/nba-three-pointer-chris-ford.html   Who Was First                               By Tania Ganguli        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/style/m True Love Lasts Forever The Wedding Could
2021-12-15   2021-12-19 ultiday-wedding-celebrations.html             Too                                         By Danielle Braff       TX 9-131-897   2022-02-01




                                                                                 Page 3148 of 5793
                        https://www.nytimes.com/2021/12/15/theater/
2021-12-15   2021-12-19 westcoast-theater-sarasota-nate-jacobs.html Hes Planting Seeds All the Time           By Bob Morris                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/arts/dan
                        ce/nutcracker-costumes-new-york-city-
2021-12-16   2021-12-19 ballet.html                                  Assembling 130 Costumes From Scratch     By Julia Jacobs                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/magazi                                             By W H Auden and Reginald
2021-12-16   2021-12-19 ne/poem-musee-des-beaux-arts.html            Poem Muse des Beaux Arts                 Dwayne Betts                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/movies/
2021-12-16   2021-12-19 red-rocket-sean-baker.html                   Never Acted No Big Deal                  By Ben Kenigsberg                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/needies Bouncing Back and Thriving After Pandemic
2021-12-16   2021-12-19 t-cases/pandemic-setback-comeback.html       Setbacks                                 By Jennifer Camille Martin         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/nyregio
                        n/ghislaine-maxwell-trial-epstein-           Chummy Photos May Hurt Maxwell With
2021-12-16   2021-12-19 pictures.html                                Jury                                     By Colin Moynihan                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/obituari Julius S Scott 66 Historian Known For
2021-12-16   2021-12-19 es/julius-scott-dead-common-wind.html        Dissertation on Haitian Revolt           By Sam Roberts                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/opinion
2021-12-16   2021-12-19 /factory-farming-animals.html                The Gross Cruelty of Factory Farming     By Ezra Klein                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/opinion
2021-12-16   2021-12-19 /inflation-economy-2021.html                 The Year of Inflation Infamy             By Paul Krugman                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/opinion
2021-12-16   2021-12-19 /supreme-court-trump.html                    The Supreme Court Weaponized             By Linda Greenhouse                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/realesta
2021-12-16   2021-12-19 te/americas-new-boom-towns.html              Northwest Reigns in City Growth List     By Michael Kolomatsky              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/sports/f With Playoffs Approaching Covid Makes a
2021-12-16   2021-12-19 ootball/nfl-week-15-picks.html               LateSeason Push                          By Emmanuel Morgan                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/style/de
2021-12-16   2021-12-19 ad-dad-lie-social-qs.html                    A Gentle Inquiry                         By Philip Galanes                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/style/re
2021-12-16   2021-12-19 gifting-christmas-gifts.html                 Regifting This Year You Arent Alone      By Christine Muhlke                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/technol                                            By Jeffrey Gettleman Kate Conger
2021-12-16   2021-12-19 ogy/harvard-job-scam-india.html              The Harvard Job Offer That Wasnt         and Suhasini Raj                   TX 9-131-897   2022-02-01
                                                                     Two New York Newbies Dive Into Midtown
                        https://www.nytimes.com/interactive/2021/12/ Manhattan Which Apartment Would You
2021-12-16   2021-12-19 16/realestate/16hunt-sullivan.html           Choose                                   By Joyce Cohen                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/arts/des
                        ign/native-american-enslavement-colorado-
2021-12-17   2021-12-19 exhibition.html                              Telling a LongHidden and Painful Truth   By Patricia Leigh Brown            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/arts/mu
2021-12-17   2021-12-19 sic/classical-music-tommasini.html           How to Protect and Renew a Beloved Field By Anthony Tommasini               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/arts/tele
                        vision/comedy-eric-andre-john-wilson-
2021-12-17   2021-12-19 borat.html                                   Slices of Life Contain Wry Humor         By Jason Zinoman                   TX 9-131-897   2022-02-01




                                                                               Page 3149 of 5793
                        https://www.nytimes.com/2021/12/17/books/r
                        eview/alex-haley-hamilton-college-
2021-12-17   2021-12-19 autobiography-of-malcolm-x-roots.html         A Writers Roots                          By Michael Patrick Hearn   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/books/r
2021-12-17   2021-12-19 eview/julie-morstad-time-is-a-flower.html     To Infinity and Beyond                   By Mac Barnett             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/books/r
2021-12-17   2021-12-19 eview/new-paperbacks.html                     Paperback Row                            By Miguel Salazar          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/busines
2021-12-17   2021-12-19 s/emerging-markets-stocks-risks.html          The Risk of Avoiding Emerging Markets    By Jeff Sommer             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/busines
                        s/roxane-gay-work-friend-leadership-
2021-12-17   2021-12-19 books.html                                    Just Dont Treat Anyone Like a Mascot     By Roxane Gay              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/nyregio
2021-12-17   2021-12-19 n/bomber-pilot-christmas-trees.html           A Jewish New Yorkers War Against Hitler  By Laurie Gwen Shapiro     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/nyregio From Oregon to the Statue of Liberty in His
2021-12-17   2021-12-19 n/cross-country-canoe-paddle.html             Canoe                                    By Corey Kilgannon         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/nyregio
2021-12-17   2021-12-19 n/daniel-ranieri-tender-bar.html              Family Meals Video Games and Sports      By Alix Strauss            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/nyregio
2021-12-17   2021-12-19 n/rat-traps-nyc.html                          Could Oreos End the Citys Rat Woes       By Jane Margolies          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/nyregio
2021-12-17   2021-12-19 n/rikers-island-vincent-schiraldi.html        Can a Ray of Hope at Rikers Island Last  By Ginia Bellafante        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/opinion
2021-12-17   2021-12-19 /randi-weingarten-schools.html                The Hardest School Year                  By Michelle Goldberg       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/realesta How Much Was That New Kitchen You Dont
2021-12-17   2021-12-19 te/right-at-home-kitchen-reno.html            Say                                      By Ronda Kaysen            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/realesta
                        te/you-love-that-house-but-should-you-write-a
2021-12-17   2021-12-19 love-letter.html                              The Perils Of Stating Your Love          By Candace Jackson         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/science Allan Rechtschaffen Professor Who Was
2021-12-17   2021-12-19 /allan-rechtschaffen-dead.html                Fascinated by Sleep Is Dead at 93        By Richard Sandomir        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/style/aa
                        ron-ledesma-timothy-keith-earley-
2021-12-17   2021-12-19 wedding.html                                  Seeing the Pope and a New Way Forward    By Alix Wall               TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/17/style/br
2021-12-17   2021-12-19 idgette-summers-andrew-wicks-wedding.html Mom Made This Romance Take Flight           By Emma Grillo              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/style/da Taking Up The Cause Of Respect For
2021-12-17   2021-12-19 vid-arquette-scream-reboot.html              Clowns                                   By Alex Williams            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/style/gh
2021-12-17   2021-12-19 islaine-maxwell-fashion-trial.html           The Power of Being Well Groomed          By Rhonda Garelick          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/style/lia
2021-12-17   2021-12-19 bartha-instagram-fitness-pandemic.html       Bringing Fitness To the Masses           By Alyson Krueger           TX 9-131-897   2022-02-01




                                                                               Page 3150 of 5793
                        https://www.nytimes.com/2021/12/17/style/lo
2021-12-17   2021-12-19 uis-p-di-cerbo-robin-g-stafford-wedding.html After Due Diligence a Lifelong Agreement   By Vincent M Mallozzi           TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/17/style/m
2021-12-17   2021-12-19 odern-love-deaf-sign-language.html           A Love Language Spoken With Hands          By Ross Showalter               TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/17/style/ne
                        ah-alexandra-morton-geoffrey-bain-
2021-12-17   2021-12-19 hutchinson-wedding.html                      A Great Smile Was Just the Start of It     By Vincent M Mallozzi           TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/17/style/pe
2021-12-17   2021-12-19 nelope-cruz-moma-film-benefit.html           MoMA Hails Penlope Cruz                    By Denny Lee                    TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/17/style/r-
2021-12-17   2021-12-19 everett-frerichs-tony-harrelson-wedding.html Their Cellphones Knew When to Shush        By Rosalie R Radomsky           TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/17/style/sa
2021-12-17   2021-12-19 ndra-sidi-ron-welch-wedding.html             At a Table for One Room for One More       By Louise Rafkin                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/17/style/se
                        same-street-social-media-parasocial-
2021-12-17   2021-12-19 relationships.html                           In Character on Social Media               By Brian Ng                     TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/17/us/tikto Some US Schools Close After Shooting         By Derrick Bryson Taylor Amanda
2021-12-17   2021-12-19 k-school-shooting-threat.html               Rumors                                       Holpuch and Maria Cramer         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/arts/mu Rosalie Trombley 82 Who Picked Hit Records
2021-12-18   2021-12-19 sic/rosalie-trombley-dead.html              and Made Superstars Dies                     By Neil Genzlinger               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/sports/b Off Court Nets Cant Win as Irving and Durant
2021-12-18   2021-12-19 asketball/kyrie-irving-nets-covid.html      Enter Virus Protocols                        By Sopan Deb                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/busines
2021-12-18   2021-12-19 s/economy/california-housing.html           Its Been a Home for Years but Now Its Legal By Conor Dougherty                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/opinion
2021-12-18   2021-12-19 /christianity-politics.html                 Can Politics Save Christianity               By Ross Douthat                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/opinion
2021-12-18   2021-12-19 /free-press-journalists-jailed.html         A Record Number of Journalists Jailed        By The Editorial Board           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/realesta
                        te/my-landlord-didnt-follow-through-on-a-   My Landlord Wont Replace the Fridge Is
2021-12-18   2021-12-19 new-fridge-what-can-i-do.html               There Anything I Can I Do                    By Ronda Kaysen                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/sports/b With Solid Past and Eye on Future Showalter
2021-12-18   2021-12-19 aseball/mets-buck-showalter.html            Fits Mets Plan to Win Now                    By Tyler Kepner                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/style/ye
2021-12-18   2021-12-19 ar-in-celebrities-2021.html                 The Sparkling Glitterati                     By Danya Issawi and Shane ONeill TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/style/ye
2021-12-18   2021-12-19 ar-in-review-2021.html                      We Endured Thats for Sure                    By Dodai Stewart                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/us/kent Seven Family Members Die in Kentucky
2021-12-18   2021-12-19 ucky-tornado-family-deaths.html             Tornado                                      By Sophie Kasakove               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/us/los- Why Los Angeles Delayed Enforcing Its         By Jacey Fortin and Giulia
2021-12-18   2021-12-19 angeles-vaccine-mandate-delayed.html        Student Vaccine Mandate                      Heyward                          TX 9-131-897   2022-02-01




                                                                                Page 3151 of 5793
                        https://www.nytimes.com/2021/12/18/us/omic Booster Efforts Falter as Covid Explodes       By Shawn Hubler and Amy
2021-12-18   2021-12-19 ron-booster-shots-americans.html            Anew                                          Harmon                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/us/polit Bidens 40th Judge Is Seated Tying a
2021-12-18   2021-12-19 ics/biden-judges-reagan-record.html         ReaganEra Record                              By Catie Edmondson            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/us/polit Congress Slinks Home as Bitterly Divided as
2021-12-18   2021-12-19 ics/congress-gridlock-democracy.html        Ever After a Horrible Year                    By Jonathan Weisman           TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/18/us/polit                                             By Nick Corasaniti and Reid J
2021-12-18   2021-12-19 ics/gop-gerrymandering-black-democrats.html Map by Map GOP Erasing Black Districts      Epstein                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/world/a Charting a Path For Hong Kong And for
2021-12-18   2021-12-19 sia/carrie-lam-hong-kong.html                Herself                                    By Vivian Wang                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/world/a After Beijings Overhaul Hong Kong Election
2021-12-18   2021-12-19 sia/hong-kong-patriots-elections.html        to Showcase Patriots                       By Austin Ramzy                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/world/e
                        urope/france-valerie-pecresse-               In a France Fearful of Immigrants Another
2021-12-18   2021-12-19 republicans.html                             Candidate Tacks Hard Right                 By Norimitsu Onishi             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/world/l Omicron Surging London Declares an
2021-12-18   2021-12-19 ondon-major-incident.html                    Emergency and Urges Shots                  By Vimal Patel                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/world/ At a Packed Fair Reveling in Literary
2021-12-18   2021-12-19 middleeast/baghdad-book-fair-iraq.html       Traditions                                 By Jane Arraf                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/world/ Israeli Defense Officials Cast Doubt on       By Ronen Bergman and Patrick
2021-12-18   2021-12-19 middleeast/israel-iran-nuclear-attack.html   Threat to Hit Irans Nuclear Program        Kingsley                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/world/n Novavax Covid19 Vaccine Wins Emergency
2021-12-18   2021-12-19 ovavax-vaccine-approval-who.html             Approval From WHO                          By Alexandra E Petri            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/
                        18/us/airstrikes-pentagon-records-civilian-  Hidden Pentagon Records Reveal Patterns of
2021-12-18   2021-12-19 deaths.html                                  Failure in Deadly Airstrikes               By Azmat Khan                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/live/2021/12/18/wo
                        rld/covid-omicron-vaccines-delta/the-
                        netherlands-locks-down-in-europes-strongest- Netherlands Locks Down As Infections Soar
2021-12-18   2021-12-19 reaction-to-omicron-so-far                   in EU                                      By Thomas Erdbrink              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/world/e Brexit Minister Resigns From UK Cabinet
2021-12-19   2021-12-19 urope/brexit-david-frost-resigns.html        Adding to Johnsons Woes                    By Stephen Castle               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/busines
                        s/the-week-in-business-central-banks-
2021-12-19   2021-12-19 inflation.html                               The Week in Business Taking On Inflation   By Sarah Kessler                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/insider/
2021-12-19   2021-12-19 guantanamo-times-photography.html            Guantnamo Seen Through a Lens              By Terence McGinley             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/sports/e Generation Goes From Play Ball to
2021-12-19   2021-12-19 sports-fans-leagues-games.html               PlayStation                                By Joe Drape                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/us/india Connecting on a Personal Level to Disrupt
2021-12-19   2021-12-19 napolis-murders.html                         Cycles of Violence                         By Neil MacFarquhar             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/us/polit At Every Step Afghans Coming to America
2021-12-19   2021-12-19 ics/afghan-war-refugees.html                 Encounter Stumbling Blocks                 By Lara Jakes                   TX 9-131-897   2022-02-01




                                                                                Page 3152 of 5793
                        https://www.nytimes.com/2021/12/19/us/polit A Bloody History Of US Influence Hangs
2021-12-19   2021-12-19 ics/us-haiti-intervention.html              Over Haiti                                   By Chris Cameron                  TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2022/01/03/magazi
                        ne/men-maiden-names-judge-john-
2022-01-03   2021-12-19 hodgman.html                                Bonus Advice From Judge John Hodgman         By John Hodgman                   TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/11/18/well/mi
2021-11-18   2021-12-20 nd/mental-health-day-ideas.html             How to Spend Mental Health Days              By Christina Caron                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/09/travel/n Heavenly Sounds Still Abound in Paris This
2021-12-09   2021-12-20 otre-dame-music-paris-churches.html         Season                                       By Elaine Sciolino                TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/14/busines
2021-12-14   2021-12-20 s/china-olympics-peng-shuai-samaranch.html What China Gets From the Games                  By Li Yuan                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/movies/
2021-12-15   2021-12-20 encanto-disney.html                            Bringing My Dad Back Home to Colombia       By Laura Zornosa                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/obituari
                        es/frances-benjamin-johnston-                  Overlooked No More Frances B Johnston
2021-12-15   2021-12-20 overlooked.html                                Photographer Who Defied Genteel Norms       By Richard B Woodward             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/opinion Overturning Roe Will Make Miscarriage Care
2021-12-15   2021-12-20 /roe-miscarriage-health.html                   Worse                                       By Jessica Grose                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/technol
2021-12-15   2021-12-20 ogy/theranos-start-up-investing.html           Fantasy and Fraud in StartUp Investing      By Shira Ovide                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/us/gunf
2021-12-15   2021-12-20 ight-ryan-busse.html                           Taking On a Culture That Had Been His       By Kristin Hussey and Rick Rojas TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/16/arts/dan
                        ce/school-of-american-ballet-appoints-new- School of American Ballet Appoints New
2021-12-16   2021-12-20 leaders.html                                   Leaders                                     By Gia Kourlas                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/arts/mu
                        sic/playlist-cecile-mclorin-salvant-fka-twigs-                                             By Jon Pareles Jon Caramanica and
2021-12-17   2021-12-20 weeknd.html                                    Ccile McLorin Salvant Branches Out          Giovanni Russonello               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/fashion Here to Help Vanessa Friedman Answers
2021-12-17   2021-12-20 /ugly-christmas-sweaters.html                  Your Style Questions                        By Vanessa Friedman               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/sports/n                                                By David W Chen Billy Witz
2021-12-17   2021-12-20 caafootball/bishop-sycamore-football.html      A Football Factory of Broken Dreams         Alanis Thames and Kevin Draper TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/18/arts/des Richard Rogers 88 Who Changed the Skylines
2021-12-18   2021-12-20 ign/richard-rogers-dead.html                   of London and Paris Dies                    By Penelope Green                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/arts/mu Kangol Kid 55 Early Rapper Who Sought
2021-12-18   2021-12-20 sic/kangol-kid-dead.html                       Roxanne                                     By Jon Caramanica                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/nyregio In Filling Ranks Adams Prizes One Special
2021-12-18   2021-12-20 n/eric-adams-emotional-intelligence.html       Skill And Its Not on a Rsum                 By Dana Rubinstein                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/opinion
2021-12-18   2021-12-20 /trump-republicans-2022-midterms.html          Will Trump Ruin a Red Wave in 2022          By Matthew Continetti             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/us/prof
2021-12-18   2021-12-20 essor-syllabus-money.html                      Buried in Syllabus Prize Remains Unfound    By Isabella Grulln Paz            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/world/a
2021-12-19   2021-12-20 sia/japan-fire-osaka-arson.html                Police Identify Suspect in Japan Arson Fire By Motoko Rich and Makiko Inoue TX 9-131-897     2022-02-01



                                                                                 Page 3153 of 5793
                        https://www.nytimes.com/2021/12/19/arts/mu
2021-12-19   2021-12-20 sic/met-opera-cinderella.html              Adding Stardust to the Holiday           By Anthony Tommasini                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/busines Face of Brandon Meme Wants People to Let
2021-12-19   2021-12-20 s/brandon-brown-lets-go-brandon.html       It Go                                    By Ben Smith                          TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/19/busines A Pop Star Who Felt Trapped And a Manager By Liz Day Emily Steel Rachel
2021-12-19   2021-12-20 s/britney-spears-conservatorship-tri-star.html Who Benefited                         Abrams and Samantha Stark            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/19/climate Climate Goals at Risk After Manchin Says No By Lisa Friedman and Coral
2021-12-19   2021-12-20 /manchin-climate-build-back-better-bill.html to Build Back Better Bill                   Davenport                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/health/ Most Shots Used Abroad May Not Halt
2021-12-19   2021-12-20 omicron-vaccines-efficacy.html               Omicron                                     By Stephanie Nolen               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/movies/
                        dasha-nekrasova-interview-scary-of-sixty-    Actress Provocateur and Now a Film Director
2021-12-19   2021-12-20 first.html                                   Too                                         By Erik Piepenburg               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/movies/ For Millennial Women Frodo Is Still Very
2021-12-19   2021-12-20 lord-of-the-rings-millennial-women.html      Alive                                       By Nikita Richardson             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/movies/
2021-12-19   2021-12-20 spider-man-box-office-record.html            SpiderMan Breaks Through                    By Brooks Barnes                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/obituari Eve Babitz 78 Who Wrote of Sensuous
2021-12-19   2021-12-20 es/eve-babitz-dead.html                      Pleasures of Los Angeles Dies               By Penelope Green                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/opinion
2021-12-19   2021-12-20 /afghan-refugees-resettlement-us.html        Afghan Allies Deserve Our Help              By Farah Stockman                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/opinion Most Covid Infections May Soon Be
2021-12-19   2021-12-20 /omicron-breakthroughs.html                  Breakthroughs                               By Eleanor Cummins               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/sports/f
                        ootball/jets-dolphins-cowboys-giants-
2021-12-19   2021-12-20 score.html                                   Losing on Way Up and Way Down               By Devin Gordon and Diante Lee   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/sports/f
                        ootball/sports-covid-testing-postponed-      NBA and NHL Delay More Games as Cases By Emmanuel Morgan and Ken
2021-12-19   2021-12-20 games.html                                   Surge                                       Belson                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/sports/j Sudden Star Taunts UFC Fighters Im Going
2021-12-19   2021-12-20 ake-paul-tyronn-woodley-fight.html           to Embarrass Them Too                       By Alanis Thames                 TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/19/us/blac Asian and Black Leaders Unite to End Hate By Kellen Browning and Brian X
2021-12-19   2021-12-20 k-asian-activists-policing-disagreement.html but Split on Policing                     Chen                               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/us/covi Americans Reconsider Their Holiday Plans
2021-12-19   2021-12-20 d-cases-holiday-plans-omicron.html           As Omicron Spreads                        By Giulia Heyward                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/us/polit
2021-12-19   2021-12-20 ics/biden-agenda-ambitions.html              Senator Is Adamant On Inflation Fear      By Jim Tankersley                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/us/polit Johnny Isakson Longtime Republican Senator
2021-12-19   2021-12-20 ics/johnny-isakson-dead.html                 From Georgia Is Dead at 76                By Robert D McFadden               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/us/polit Manchin Says No Deserting Biden Over       By Emily Cochrane and Catie
2021-12-19   2021-12-20 ics/manchin-build-back-better.html           Prized Bill                               Edmondson                          TX 9-131-897   2022-02-01




                                                                                Page 3154 of 5793
                        https://www.nytimes.com/2021/12/19/world/a Chilean Voters Elect a Leftist Lawmaker 35 By Pascale Bonnefoy and Ernesto
2021-12-19   2021-12-20 mericas/chile-president-election.html        as the Countrys Next President             Londoo                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/world/a She Breaks Japans Comedic Barrier Playing
2021-12-19   2021-12-20 sia/japan-rakugo.html                        Fools Yep Men                              By Motoko Rich and Hikari Hida TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/world/a Two Fatal Beatings Are Reported At Sikh
2021-12-19   2021-12-20 sia/sikh-temples-lynching.html               Temples in Northern India                  By Sameer Yasir                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/world/e
                        urope/uk-lockdown-omicron-covid-boris-       Political Turmoil Rattles UKs Omicron      By Megan Specia and Stephen
2021-12-19   2021-12-20 johnson.html                                 Response                                   Castle                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/world/ Endless Cycles of War and Posturing Leave
2021-12-19   2021-12-20 middleeast/hamas-israel-gaza-war.html        Hamas Deadlocked With Israel               By Patrick Kingsley            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/world/a Chinese Tennis Player Reverses Sexual Abuse
2021-12-19   2021-12-20 sia/china-tennis-peng-shuai.html             Accounts                                   By Chris Buckley               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/article/kimberly-
2021-12-19   2021-12-20 potter-trial-daunte-wright-takeaways.html    Key Moments in the Potter Trial            By Nicholas BogelBurroughs     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/sports/f
2021-12-20   2021-12-20 ootball/nfl-week-15-scores.html              What We Learned This Week                  By Tyler Dunne                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/sports/f Whats Left of the Ravens Again Seeks Win
2021-12-20   2021-12-20 ootball/packers-ravens-score-covid.html      Not Tie                                    By Ben Shpigel                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/sports/g
                        olf/tiger-charlie-woods-pnc-                 Joy and Worry In Watching A New Prodigy
2021-12-20   2021-12-20 championship.html                            Named Woods                                By Kurt Streeter               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/arts/tele
                        vision/whats-on-tv-this-week-kennedy-center- Whats on TV This Week Kennedy Center
2021-12-20   2021-12-20 honors-insecure.html                         Honors and Insecure                        By Gabe Cohn                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/busines                                              By Lauren Hirsch Emma Goldberg
2021-12-20   2021-12-20 s/company-vaccine-mandates-biden.html        Murky Rules On Vaccines For Workers        and Charlie Savage             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/nyregio Seasonal Sniffles Prompt Worry Cold or
2021-12-20   2021-12-20 n/common-cold-coronavirus-anxiety.html       Covid                                      By Sarah Maslin Nir            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/nyregio
2021-12-20   2021-12-20 n/nyc-homeless-levitan-de-blasio.html        Shelters Rely On Landlord Called Worst     By Amy Julia Harris            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/us/polit
                        ics/amtrak-expansion-funding-infrastructure-
2021-12-20   2021-12-20 bill.html                                    Billions in Bill Earmarked for Amtrak      By Madeleine Ngo               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/travel/c Where Beauty Queens Have Curves Long
2021-11-29   2021-12-21 amel-beauty-pageant.html                     Eyelashes and 4 Legs                       By Kiki Streitberger           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/03/well/eat Some Stomach Problems Defy a Simple
2021-12-03   2021-12-21 /irritable-bowel-syndrome-advice.html        Diagnosis                                  By Constance Sommer            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/science Geological Oddities When the Earth Shakes
2021-12-08   2021-12-21 /sand-spikes-earthquakes.html                Sand Spikes Get Moving                     By Katherine Kornei            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/well/mi
2021-12-08   2021-12-21 nd/prolonged-grief-disorder-covid.html       Lingering Grief Gets A Timely New Name     By Dawn MacKeen                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/science
2021-12-09   2021-12-21 /nasa-spacex-ixpe-launch.html                Preparing the Universe For Its XRay Images By Jonathan OCallaghan         TX 9-131-897   2022-02-01




                                                                              Page 3155 of 5793
                        https://www.nytimes.com/2021/12/10/movies/
2021-12-10   2021-12-21 streaming-horror.html                      Welcome to the Dark Side of Life             By Erik Piepenburg                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/11/science Losing Their Minds Theres More Than One
2021-12-11   2021-12-21 /hydra-regrow-head.html                    Way To Grow Another Head                     By Sam Jones                      TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/13/science Celestial Display There Was One Meteor
2021-12-13   2021-12-21 /meteor-shower-geminid.html                  Shower in the Forecast Then Came Five More By Adam Mann                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/science
2021-12-14   2021-12-21 /james-webb-telescope-launch.html            With the Launch Comes the Nerves             By Dennis Overbye               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/well/liv Why Do Women Sprout Chin Hairs as They
2021-12-14   2021-12-21 e/chin-hairs-women.html                      Age                                          By Melinda Wenner Moyer         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/well/m
2021-12-15   2021-12-21 ove/exercise-weight-loss-metabolism.html     Keeping the Weight Off                       By Gretchen Reynolds            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/science Frighteningly Effective Want to Scare Off
2021-12-16   2021-12-21 /mosquitofish-robot.html                     Invasive Fish A Robot Might Do the Trick     By Livia AlbeckRipka            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/movies/
2021-12-17   2021-12-21 naples-hand-of-god.html                      A New Cinematic Star Turn for Naples         By Elisabetta Povoledo          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/health/i
2021-12-18   2021-12-21 vf-era-test-igenomix.html                    The Science Is Unclear on a Popular IVF Test By Amy Klein                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/18/us/shirl Shirley Zussman 107 Indefatigable Sex
2021-12-18   2021-12-21 ey-zussman-dead.html                         Therapist Trained by Masters and Johnson     By Penelope Green               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/movies/ Original Nightmare Alley Casts a Long Noir
2021-12-19   2021-12-21 nightmare-alley-1947.html                    Shadow                                       By Ben Kenigsberg               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/19/world/a Luca Hiriart 98 Powerful Wife of Chiles
2021-12-19   2021-12-21 mericas/lucia-hiriart-dead.html              Dictator                                     By John Bartlett                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/arts/mu For Music Stars Time Is Right To Cash In on
2021-12-20   2021-12-21 sic/bruce-springsteen-catalog.html           a Lifetime of Hits                           By Ben Sisario                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/arts/mu Carlos Marn 53 Dies Spanish Baritone Star
2021-12-20   2021-12-21 sic/carlos-marin-dead.html                   With Il Divo Quartet                         By Neil Genzlinger              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/arts/mu
2021-12-20   2021-12-21 sic/piano-recital-buechner-tao.html          Two Pianists Fulfill The Lisztian Ideal      By Anthony Tommasini            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/arts/per
2021-12-20   2021-12-21 formances-children-coronavirus.html          Will the Children Come                       By Matt Stevens                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/arts/tele                                              By James Poniewozik Mike Hale
2021-12-20   2021-12-21 vision/best-tv-episodes-2021.html            The Best Television Episodes of 2021         and Margaret Lyons              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/books/r
                        eview-lets-get-physical-danielle-            Have You Seen My ThighMaster I Left It at
2021-12-20   2021-12-21 friedman.html                                Yoga                                         By Alexandra Jacobs             TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/20/busines Brazilians Take Stake In Rothys Footwear
2021-12-20   2021-12-21 s/dealbook/havaianas-rothys-alpargatas.html Setting 1 Billion Value                     By Lauren Hirsch                  TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/20/busines Germany Names Policy Conservative to Lead
2021-12-20   2021-12-21 s/germany-joachim-nagel-bundesbank.html Central Bank                                 By Melissa Eddy                      TX 9-131-897   2022-02-01




                                                                                Page 3156 of 5793
                        https://www.nytimes.com/2021/12/20/busines Markets Fall At Omicron And Setback Of
2021-12-20   2021-12-21 s/markets-omicron.html                      Biden Bill                                  By Coral Murphy Marcos         TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/20/busines Starbucks Declares Intention to Bargain With
2021-12-20   2021-12-21 s/starbucks-buffalo-union.html              Buffalo Store                               By Noam Scheiber               TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/20/climate EPA Announces Tighter Regulations On
2021-12-20   2021-12-21 /tailpipe-rules-climate-biden.html          Auto Emissions                              By Coral Davenport             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/20/health/a Drugmaker Slashes Price Of Alzheimers
2021-12-20   2021-12-21 lzheimers-aduhelm-price.html                Medication As Criticism Intensifies         By Pam Belluck                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/20/health/c European Union Authorizes Covid Vaccine
2021-12-20   2021-12-21 ovid-novavax-europe.html                    From Novavax a US Company                   By Carl Zimmer                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/20/health/ Parents Grapple With How to Space Their
2021-12-20   2021-12-21 kids-covid-vaccine-second-dose.html         Childrens Covid Shots                       By Cassandra Willyard          TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/20/health/ Moderna Says Booster Shot Is Effective
2021-12-20   2021-12-21 moderna-covid-booster-omicron.html          Against Omicron                             By Apoorva Mandavilli          TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/20/health/s Stigma of Schizophrenia Is at Root of Name
2021-12-20   2021-12-21 chizophrenia-name-change.html               Debate                                      By Karen Brown                 TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/20/nyregio Maxwell Case Goes to Jury After a           By Benjamin Weiser Rebecca
2021-12-20   2021-12-21 n/ghislaine-maxwell-trial-closing.html      Contentious Finish                         Davis OBrien and Colin Moynihan TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/20/nyregio Trump Sues New York AG in Bid to Stop       By Jonah E Bromwich Ben Protess
2021-12-20   2021-12-21 n/trump-lawsuit-letitia-james.html          Inquiry Into His Business Practices        and William K Rashbaum            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/opinion New York Shows the Countrys Omicron
2021-12-20   2021-12-21 /covid-omicron-future.html                  Future                                     By Jay K Varma                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/opinion
2021-12-20   2021-12-21 /manchin-omicron-jan-6.html                 Manchins Missing Christmas Card            By Gail Collins and Bret Stephens TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/opinion
2021-12-20   2021-12-21 /winter-solstice-2021.html                  Theres Light at the End Of This Dark Year  By Margaret Renkl                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/science The Best Chance to Peer Into Our Cosmic
2021-12-20   2021-12-21 /webb-telescope-astronomy.html              Origins                                    By Dennis Overbye                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/sports/f
                        ootball/nfl-postponements-browns-                                                      By Ken Belson and Emmanuel
2021-12-20   2021-12-21 raiders.html                                Surge Disrupts Rhythms of an NFL Week      Morgan                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/sports/o
                        lympics/snowboarding-ski-shaun-white-                                                  By John Branch and James
2021-12-20   2021-12-21 beijing-olympics.html                       The Stars Are Soaring Toward Beijing       Stukenberg                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/sports/r Nadal Tests Positive Status for Australian
2021-12-20   2021-12-21 afael-nadal-covid.html                      Open Is in Doubt                           By Christopher Clarey             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/technol Oracle Moves Into Health Care With Deal for
2021-12-20   2021-12-21 ogy/oracle-cerner-health-records.html       Cerner                                     By Steve Lohr                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/technol
2021-12-20   2021-12-21 ogy/qanon-conspiracy-movement.html          Q Has Been Silent but QAnon Is Flourishing By Davey Alba                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/technol
                        ogy/silicon-valley-cryptocurrency-start-                                               By Daisuke Wakabayashi and Mike
2021-12-20   2021-12-21 ups.html                                    Crypto Rises as a Talent Magnet            Isaac                             TX 9-131-897   2022-02-01




                                                                               Page 3157 of 5793
                        https://www.nytimes.com/2021/12/20/theater/ A Strange Loop Prepares For Its Broadway
2021-12-20   2021-12-21 a-strange-loop-broadway.html                 Debut                                      By Michael Paulson                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/theater/ Hamilton Aladdin and Other Shows Are
2021-12-20   2021-12-21 hamilton-canceled-coronavirus.html           Canceled on Broadway and Beyond            By Michael Paulson                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/us/haiti- Haiti Missionaries Describe Dramatic
2021-12-20   2021-12-21 missionaries-escape.html                     Arduous Escape From Kidnappers             By Elizabeth Dias                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/us/holo ThirdGraders Were Instructed to Reenact
2021-12-20   2021-12-21 caust-librarian-elementary-school.html       Scenes From the Holocaust Principal Says   By Vimal Patel                      TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/20/us/polit President Seeks To Salvage Plan From        By Emily Cochrane and Michael D
2021-12-20   2021-12-21 ics/build-back-better-schumer-manchin.html Defection                                    Shear                           TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/20/us/polit For Voting Bill Schumer Is Expected to Seek
2021-12-20   2021-12-21 ics/filibuster-senate-voting-rights.html    Change in Senate Rules                      By Carl Hulse                   TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/20/us/polit
                        ics/haitian-migrants-biden-border-          Haitian Migrants File Lawsuit Protesting
2021-12-20   2021-12-21 lawsuit.html                                Actions by Border Patrol                    By Eileen Sullivan              TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/20/us/polit                                             By Jonathan Weisman and Lisa
2021-12-20   2021-12-21 ics/manchin-climate-change-coal.html        Behind a No Manchins Role Backing Coal Friedman                             TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/20/us/polit Pentagon Updates Its Rules On Extremism in
2021-12-20   2021-12-21 ics/pentagon-military-extremism-rules.html the Ranks                                    By Helene Cooper                TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/20/us/polit US and Britain Are Helping Ukraine Brace    By David E Sanger and Julian E
2021-12-20   2021-12-21 ics/russia-ukraine-cyberattacks.html        for Potential Russian Cyberstrike           Barnes                          TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/20/us/us- Officials Try to Keep Pace As Variant Raises By Campbell Robertson Mitch
2021-12-20   2021-12-21 holidays-omicron-cases.html                 Alarms                                      Smith and Giulia Heyward        TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/20/well/mi
2021-12-20   2021-12-21 nd/how-to-declutter.html                    Why We Clutter and What to Do About It      By Jane E Brody                 TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/20/world/a
                        frica/drones-ethiopia-war-turkey-           Foreign Drones Tip the Balance in Ethiopias
2021-12-20   2021-12-21 emirates.html                               Civil War                                   By Declan Walsh                 TX 9-131-897       2022-02-01

                        https://www.nytimes.com/2021/12/20/world/a In Mexico Activists Plan to Help Women In
2021-12-20   2021-12-21 mericas/mexico-abortion-pill-activists.html US Get Abortions                            By Natalie Kitroeff                 TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/20/world/e                                               By Norimitsu Onishi and Nicholas
2021-12-20   2021-12-21 urope/europe-divided-omicron-response.html Close Down or Not Europe Is Split             Casey                              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/world/e
2021-12-20   2021-12-21 urope/ireland-cure-folk-medicine.html      Seventh Sons Secret Charms and a Little Faith By Megan Specia                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/world/e On Broadcast Pope Says High Number of
                        urope/pope-domestic-violence-almost-       Cases of Domestic Violence Is Almost
2021-12-20   2021-12-21 satanic.html                               Satanic                                       By Elisabetta Povoledo             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/world/e UK Foreign Secretary Will Confront Thorny
2021-12-20   2021-12-21 urope/uk-brexit-david-frost-liz-truss.html Issue Northern Ireland Talks                  By Stephen Castle                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/world/
                        middleeast/egypt-human-rights-activitists- Egypt Sentences 3 Human Rights Activists to
2021-12-20   2021-12-21 sentenced.html                             Prison on Charges of Spreading False News By Nada Rashwan                        TX 9-131-897   2022-02-01



                                                                                Page 3158 of 5793
                        https://www.nytimes.com/2021/12/20/nyregio Adams Picks 5 Women as Deputy Mayors
2021-12-21   2021-12-21 n/adams-deputy-mayors-dot.html              and Names Transport Chief                 By Jeffery C Mays                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/opinion
2021-12-21   2021-12-21 /manchin-build-back-better.html             What We Lose Without Build Back Better    By Paul Krugman                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/us/kim- Jurors Begin Deliberating Manslaughter
2021-12-21   2021-12-21 potter-trial-jury-deliberates.html          Charges for ExOfficer Who Killed Driver   By Nicholas BogelBurroughs        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/us/polit Biden Had Close Contact With Official Who
2021-12-21   2021-12-21 ics/biden-covid-exposure.html               Later Tested Positive for Covid           By Katie Rogers                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/us/polit A New Resident at the White House         By Michael D Shear and Katie
2021-12-21   2021-12-21 ics/biden-puppy-commander.html              Commander a German Shepherd Puppy         Rogers                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/us/polit
                        ics/jan-6-committee-trump-criminal-         Panel May Push for Criminal Charges Over By Michael S Schmidt and Luke
2021-12-21   2021-12-21 referral.html                               Riot                                      Broadwater                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/us/polit Panel Seeks a Meeting With a GOP
2021-12-21   2021-12-21 ics/scott-perry-january-6-committee.html    Lawmaker                                  By Luke Broadwater                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/us/polit Cruz Scores Victory In Duel Over Pipeline
2021-12-21   2021-12-21 ics/ted-cruz-biden-ukraine.html             And Biden Nominees                        By Michael Crowley                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/health/s                                           By John Eligon Ismail Alfa and KC
2021-12-21   2021-12-21 ickle-cell-nigeria.html                     Sickle Cells Toll                         Nwakalor                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/insider/
2021-12-21   2021-12-21 sickle-cell-nigeria.html                    A Childs Fight to Survive Sickle Cell     By John Eligon                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/nyregio A Box of Cash a Mystery Donor and a Big
2021-12-21   2021-12-21 n/city-college-mystery-donor.html           Boost for Some City College Students      By Corey Kilgannon                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/upshot/
                        how-the-2020s-economy-could-resemble-the- How the 2020s Economy Could Resemble the
2021-12-21   2021-12-21 1980s.html                                  1980s                                     By Neil Irwin                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/dining/
                        drinks/new-years-champagne-sparkling-
2021-12-16   2021-12-22 wine.html                                   A Dozen Corks Waiting to Be Popped        By Eric Asimov                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/dining/
2021-12-17   2021-12-22 drinks/after-dinner-drink-nightcap.html     Top Off Dinner With a Splash              By Rebekah Peppler                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/dining/
                        mary-paul-mccartney-vegan-yorkshire-
2021-12-17   2021-12-22 pudding.html                                Vegan Yorkshire Pudding McCartney Style By Julia Moskin                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/dining/
2021-12-17   2021-12-22 poached-eggs.html                           Poached Eggs Flawed but Beautiful         By Genevieve Ko                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/dining/r
2021-12-17   2021-12-22 aw-oysters-experience.html                  The Distinct Charms of Atlantic Oysters   By Melissa Clark                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/dining/t
2021-12-17   2021-12-22 orico-ice-cream-coquito.html                A Puerto Rican Holiday Drink as Ice Cream By Korsha Wilson                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/movies/
2021-12-17   2021-12-22 elijah-wood-lord-of-the-rings.html          Frodo Still Lives In One Actors Heart     By Carlos Aguilar                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/arts/des
2021-12-20   2021-12-22 ign/parthenon-marbles-restitution.html      Britain Declines to Return Sculptures     By Alex Marshall                  TX 9-131-897   2022-02-01




                                                                              Page 3159 of 5793
                        https://www.nytimes.com/2021/12/20/dining/
2021-12-20   2021-12-22 drinks/nonalcoholic-sparkling-roses.html     Bubbles but No Buzz Nonalcoholic Ross        By Florence Fabricant   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/dining/l To Spread Roasted Almond Butters With a
2021-12-20   2021-12-22 a-tourangelle-almond-butter.html             French Pedigree                              By Florence Fabricant   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/dining/l To Sip Nonalcoholic Spritz Perfect for a
2021-12-20   2021-12-22 yres-amalfi-spritz.html                      Party                                        By Florence Fabricant   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/dining/
2021-12-20   2021-12-22 masienda-pozole-kit.html                     To Simmer A Pozole Kit For the Holidays      By Florence Fabricant   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/dining/
2021-12-20   2021-12-22 pietisserie-pies.html                        To Serve Leave the Desserts To the Pie Maker By Florence Fabricant   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/dining/
2021-12-20   2021-12-22 prison-employment-italy-panettone.html       Baking Great Panettone in Prison             By Matteo de Mayda      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/dining/t
                        his-hybrid-striped-bass-is-raised-in-        To Sear Hybrid Striped Bass Is Raised in
2021-12-20   2021-12-22 brooklyn.html                                Brooklyn                                     By Florence Fabricant   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/dining/t Cooking Up A Holiday Feast Inside the Cab
2021-12-20   2021-12-22 ruck-drivers-cooking-covid.html              Of a Truck                                   By Priya Krishna        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/dining/
                        whetstone-media-podcast-broken-palate-
2021-12-20   2021-12-22 newsletter.html                              To Inform Two New Sources For Food News By Florence Fabricant        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/nyregio Alexander Garvin 80 Is Dead He Reimagined
2021-12-20   2021-12-22 n/alexander-garvin-dead.html                 Ground Zero After 911                        By Paul Goldberger      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/opinion This Bill Could Save the Lives of Formerly
2021-12-20   2021-12-22 /medicaid-reentry-act.html                   Incarcerated People                          By Michelle Cottle      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/opinion
2021-12-20   2021-12-22 /omicron-schools-do-not-close.html           Do Not Close the Schools Again               By Joseph G Allen       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/theater/
2021-12-21   2021-12-22 jagged-little-pill-shutdown-omicron.html     Covid Cases Close Jagged Little Pill         By Michael Paulson      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/us/chris-Actor Is Dropped From The Equalizer Amid
2021-12-21   2021-12-22 noth-the-equalizer-fired.html                Assault Allegations                          By Jesus Jimnez         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/arts/des
                        ign/met-museum-omicron-attendance-
2021-12-21   2021-12-22 limits.html                                  Met Museum Limits Visitors                   By Zachary Small        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/arts/mu
2021-12-21   2021-12-22 sic/christmas-caroling-covid.html            Carolers Determined to Carry On              By Alex Marshall        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/arts/mu Making HipHop and the Holidays Go
2021-12-21   2021-12-22 sic/christmas-on-death-row.html              Together                                     By Alex Rawls           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/arts/mu
2021-12-21   2021-12-22 sic/orchestra-labor-coronavirus.html         Orchestras Put at Risk By Virus Setbacks     By Javier C Hernndez    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/arts/tele Late at Night the Hosts Hunted Familiar
2021-12-21   2021-12-22 vision/best-late-night-2021.html             Targets                                      By Trish Bendix         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/busines
2021-12-21   2021-12-22 s/architects-white-collar-union.html         Union Effort By Architects Is Underway       By Noam Scheiber        TX 9-131-897   2022-02-01




                                                                                 Page 3160 of 5793
                        https://www.nytimes.com/2021/12/21/busines Workers at Kellogg Ratify New Contract
2021-12-21   2021-12-22 s/economy/kellogg-union-strike-contract.html Ending Their Strike                          By Noam Scheiber               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/busines
                        s/economy/mary-daly-federal-reserve-
2021-12-21   2021-12-22 inflation.html                                A Rate Pivot At the Fed Explained           By Jeanna Smialek              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/busines
2021-12-21   2021-12-22 s/mills-renovation-redevelopment.html         Turning Old Mills Into Vibrant Destinations By Julekha Dash                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/busines
2021-12-21   2021-12-22 s/new-york-commercial-real-estate.html        Transactions                                By Kristen Bayrakdarian        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/busines Electric Truck Maker to Settle SEC Case for
2021-12-21   2021-12-22 s/nikola-sec-fraud-investigation.html         125 Million                                 By Matthew Goldstein           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/busines Virus Pushes Shopkeepers In Europe To the By Patricia Cohen and Melissa
2021-12-21   2021-12-22 s/omicron-europe-business.html                Brink                                       Eddy                           TX 9-131-897   2022-02-01
                                                                      That Fun TikTok Video Watched Over and
                        https://www.nytimes.com/2021/12/21/busines Over and Over Again Its Actually an
2021-12-21   2021-12-22 s/tiktok-ads.html                             Advertisement                               By Sapna Maheshwari            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/climate Biden Approves Two Big Solar Projects in
2021-12-21   2021-12-22 /solar-power-federal-land-california.html     Southern California                         By Lisa Friedman               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/dining/
2021-12-21   2021-12-22 hawksmoor-steakhouse-review.html              British Steakhouse Grills in Manhattan      By Pete Wells                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/dining/ Jody Williams and Rita Sodi Open Commerce
2021-12-21   2021-12-22 nyc-restaurant-openings.html                  Inn in the West Village                     By Florence Fabricant          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/health/c Only One Antibody Treatment Works Against By Christina Jewett Carl Zimmer
2021-12-21   2021-12-22 ovid-monoclonal-antibodies-omicron.html       Omicron and It Is in Short Supply           and Rebecca Robbins            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/needies
                        t-cases/pivoting-to-new-horizons-with-career- As Covid Rages Nonprofits Are Empowering
2021-12-21   2021-12-22 help.html                                     Workers to Start New Careers                By Kristen Bayrakdarian        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/nyregio As Cases Surge in New York Adams Cancels
2021-12-21   2021-12-22 n/covid-omicron-nyc.html                      His Inauguration Gala                       By Emma G Fitzsimmons          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/nyregio With First Federal Site New York Testing
2021-12-21   2021-12-22 n/nyc-covid-testing.html                      Options Expand                              By Lola Fadulu                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/nyregio Inflation Robs New York of a Cherished Treat
2021-12-21   2021-12-22 n/pizza-inflation.html                        The 1 Pizza Slice                           By Nicole Hong                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/science Top US Chemist Guilty of Not Disclosing
2021-12-21   2021-12-22 /charles-lieber.html                          Chinese Ties                                By Ellen Barry                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/sports/b A Veteran Manger Confronts New Problems
2021-12-21   2021-12-22 aseball/buck-showalter-mets.html              With the Mets                               By James Wagner                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/sports/b
                        asketball/nba-schedule-christmas-             NBAs Omicron Strategy Is Like Most
2021-12-21   2021-12-22 omicron.html                                  Leagues Patch Rosters and Play On           By Tania Ganguli               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/sports/o
2021-12-21   2021-12-22 lympics/nhl-olympics-beijing-hockey.html      NHL Players Skip Olympics As Virus Mounts By Alan Blinder and Andrew Das   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/technol Lawmakers Urge Big Tech and Justice Dept By Gabriel JX Dance and Megan
2021-12-21   2021-12-22 ogy/suicide-website-google.html               to Act on Suicide Site                      Twohey                         TX 9-131-897   2022-02-01



                                                                               Page 3161 of 5793
                        https://www.nytimes.com/2021/12/21/theater/
2021-12-21   2021-12-22 winnie-the-pooh-and-emmett-otter.html       From Pooh Corner To Frogtown Hollow        By Alexis Soloski                TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/21/us/covi Wave Is Challenging Effort by Schools to
2021-12-21   2021-12-22 d-schools.html                              Stay Open                                  By Dana Goldstein                TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/21/us/polit Cyberspace Commission Shuts Down After
2021-12-21   2021-12-22 ics/cyber-attack-commission.html            Some Successes                             By Julian E Barnes               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/21/us/polit Thune a Likely Heir To McConnell Shifts To
2021-12-21   2021-12-22 ics/john-thune-senate-retirement.html       Talk of Retirement                         By Jonathan Martin               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/21/us/polit He Is Clearly Not Welcome on That Side of
2021-12-21   2021-12-22 ics/mcconnell-manchin-republican.html       the Aisle GOP Lures Manchin to Join        By Carl Hulse                    TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/21/us/polit Bidens Plan for Omicron Testing but No     By Sheryl Gay Stolberg and
2021-12-21   2021-12-22 ics/omicron-covid-biden.html                Lockdowns                                  Michael D Shear                  TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/21/us/polit Retired Colonel Pushed Stories Of Voting
2021-12-21   2021-12-22 ics/phil-waldron-jan-6.html                 Plots                                      By Alan Feuer                    TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/21/us/polit Officials Say House Arrest For Inmates Can By Katie Benner Zolan
2021-12-21   2021-12-22 ics/prison-covid-home-confinement.html      Continue                                   KannoYoungs and Charlie Savage   TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/21/us/polit
2021-12-21   2021-12-22 ics/scott-perry-january-6-committee.html    2 Trump Allies Move to Stall Jan 6 Panel   By Luke Broadwater               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/21/well/fa Karate Christmas a Car A Tax Credits Big    By Alisha Haridasani Gupta and
2021-12-21   2021-12-22 mily/child-tax-credit-families.html         Impact                                     Cornell Watson                   TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/21/world/a 2 Officers Plead Guilty In 20 Mauritius Oil
2021-12-21   2021-12-22 frica/mauritius-oil-spill.html              Spill                                      By Abdi Latif Dahir              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/21/world/a From ShaggyHaired Activist to Chiles        By Julie Turkewitz Pascale
2021-12-21   2021-12-22 mericas/chile-boric.html                    President                                  Bonnefoy and John Bartlett       TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/21/world/a The Debris of War Inside an Abandoned US By David Guttenfelder and David
2021-12-21   2021-12-22 sia/afghanistan-taliban-bagram-prison.html  Base in Afghanistan                        Zucchino                         TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/21/world/a New Zealand Pushes Back Its Border           By Natasha Frost and Livia
2021-12-21   2021-12-22 ustralia/new-zealand-omicron-response.html Reopening to End of February                 AlbeckRipka                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/world/e
                        urope/france-italy-covid-vaccination-      Europe Sees An Increase In Falsifying Covid By Constant Mheut and Elisabetta
2021-12-21   2021-12-22 fakes.html                                 Papers                                       Povoledo                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/world/e
                        urope/princess-haya-sheikh-mohammed-       Divorce Costs Dubai Ruler 734 Million in
2021-12-21   2021-12-22 bin.html                                   UK Court                                     By Derrick Bryson Taylor         TX 9-131-897   2022-02-01
                                                                                                                By Anton Troianovski Ivan
                        https://www.nytimes.com/2021/12/21/world/e A Prickly Russia Cultivates a Military       Nechepurenko Valerie Hopkins and
2021-12-21   2021-12-22 urope/russia-military-putin-kremlin.html   MindSet                                      Sergey Ponomarev                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/world/e As Prices Skyrocket One Turkish Family
2021-12-21   2021-12-22 urope/turkey-inflation-rising-prices.html  Struggles to Get By                          By Carlotta Gall                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/world/ Libyas LongAwaited Election Will Most
2021-12-21   2021-12-22 middleeast/libya-election-delay.html       Likely Be Delayed                            By Vivian Yee                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/health/ Scientists Say Strategy Will Not Slow a Grim By Roni Caryn Rabin and Emily
2021-12-22   2021-12-22 omicron-covid-biden-scientists.html        Spread                                       Anthes                           TX 9-131-897   2022-02-01




                                                                               Page 3162 of 5793
                        https://www.nytimes.com/2021/12/21/us/polit As Child Tax Credit Expires Manchins
2021-12-22   2021-12-22 ics/manchin-child-tax-credit-biden.html     Opposition Draws Heat at Home             By Emily Cochrane                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/busines To Control Electric Car Market China       By Keith Bradsher and Michael
2021-12-22   2021-12-22 s/china-catl-electric-car-batteries.html    Nurtures a Battery Maker                  Forsythe                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/insider/
2021-12-22   2021-12-22 times-store-products-design.html            The Story Behind the Times Store          By Sarah Diamond                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/nyregio
                        n/robert-menendez-jr-congress-albio-        Menendezs Son Prepares to Run for His
2021-12-22   2021-12-22 sires.html                                  Fathers Former House Seat                 By Tracey Tully                   TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/22/sports/b With Unofficial Start Looming Story Lines By Tania Ganguli Scott Cacciola
2021-12-22   2021-12-22 asketball/nba-year-end-storylines-2021.html Take Shape in the NBA                        and Sopan Deb                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/sports/f The Most Valuable Player NFL Voters Are
2021-12-22   2021-12-22 ootball/jonathan-taylor-mvp.html            About to Ignore                              By Mike Tanier                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/us/omic Virus Has Americans Angry and Confused
2021-12-22   2021-12-22 ron-virus-worry-dread.html                  And Theyre Tired of It                       By Patricia Mazzei             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/style/ka Collectors Cherish Pieces Of Karl Lagerfelds
2021-12-16   2021-12-23 rl-lagerfeld-estate-auction.html            Universe                                     By Tina IsaacGoiz              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/technol
                        ogy/printer-router-modem-consumer-          30 Years On Gadgets Are Still Too Hard to
2021-12-16   2021-12-23 electronics.html                            Use                                          By Shira Ovide                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/17/arts/dan
                        ce/the-joyce-theater-spring-summer-
2021-12-17   2021-12-23 season.html                                 Welcoming Back the World                     By Marina Harss                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/nyregio Roman Kaplan 83 Whose Restaurant Was a
2021-12-20   2021-12-23 n/roman-kaplan-dead.html                    Refuge for Famous Soviet Exiles              By David Margolick             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/style/e
2021-12-20   2021-12-23 mily-in-paris-season-2-fashion.html         More Emily in Paris and Fantastical Fashion By Eliza Brooke                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/books/c
2021-12-21   2021-12-23 ruelty-is-point-adam-serwer.html            Writers on Cruelty From Trump to Covid       By Jennifer Szalai             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/nyregio Darby Penney a Prominent Crusader For
2021-12-21   2021-12-23 n/darby-penney-dead.html                    Better Psychiatric Care Dies at 68           By Alex Vadukul                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/style/ba
2021-12-21   2021-12-23 lenciaga-demna-gvasalia.html                A Designer Finds His Voice                   By Vanessa Friedman            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/style/ch                                              By Gina Cherelus and Anna P
2021-12-21   2021-12-23 ristmas-covid-home-tests.html               A Covid Test Just What I Wanted              Kambhampaty                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/style/ha
2021-12-21   2021-12-23 ir-loss.html                                Hair Changes as You Age Heres How to Cope By Tatiana Boncompagni            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/theater/ Broadway Grosses Tumble Amid Show
2021-12-21   2021-12-23 broadway-covid-omicron.html                 Cancellations                                By Michael Paulson             TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/21/opinion Manchin Just Did Democrats a Favor on
2021-12-22   2021-12-23 /manchin-build-back-better-democrats.html Build Back Better                           By Ben Ritz                       TX 9-131-897   2022-02-01




                                                                               Page 3163 of 5793
                        https://www.nytimes.com/2021/12/22/arts/dan
                        ce/chyrstyn-fentroy-principal-dancer-boston-
2021-12-22   2021-12-23 ballet.html                                  A Ballerina Blossoming                     By Brian Seibert                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/arts/hill
2021-12-22   2021-12-23 ary-clinton-masterclass.html                 Hostages To Their Past Lives               By Amanda Hess                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/arts/tele Suranne Jones Sounds the Murky Depths as
2021-12-22   2021-12-23 vision/vigil-suranne-jones-peacock.html      Always                                     By Elisabeth Vincentelli        TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/22/busines Why the Dreaded Parcel Backlog Didnt
2021-12-22   2021-12-23 s/christmas-gifts-delivery-supply-chain.html Happen                                     By Niraj Chokshi                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/busines
2021-12-22   2021-12-23 s/paris-france-inflation-prices.html         The Humble Baguette at a Cost              By Liz Alderman                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/busines Safety Agency Investigates Teslas Video
2021-12-22   2021-12-23 s/tesla-investigation-passenger-play.html    Game Feature                               By Neal E Boudette              TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/22/busines
2021-12-22   2021-12-23 s/walgreens-cvs-coronavirus-test-limits.html Walgreens and CVS Cap Sale of Virus Tests By Coral Murphy Marcos           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/climate Builders Block Push to Bolster Tornado
2021-12-22   2021-12-23 /tornadoes-building-codes-safety.html        Safety                                      By Christopher Flavelle        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/health/c National Guard Welcome in an Unfamiliar
2021-12-22   2021-12-23 ovid-national-guard-nursing-homes.html       Role                                        By Andrew Jacobs               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/health/ FDA Clears Pfizer Drug For Patients 12 and By Rebecca Robbins and Carl
2021-12-22   2021-12-23 pfizer-covid-pill-fda-paxlovid.html          Older                                       Zimmer                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/movies/
2021-12-22   2021-12-23 peter-dinklage-cyrano.html                   Thrones Is Over And Love Is Calling         By Kyle Buchanan               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/movies/ Sally Ann Howes Captivating Star of Chitty
2021-12-22   2021-12-23 sally-ann-howes-dead.html                    Chitty Bang Bang Is Dead at 91              By Robert D McFadden           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/movies/
2021-12-22   2021-12-23 the-matrix-resurrections-review.html         Green Code Falls Like Rain Again            By Manohla Dargis              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/nyregio Mental Health Expert to Lead Citys Pandemic
2021-12-22   2021-12-23 n/new-york-health-commissioner.html          Response                                    By Emma G Fitzsimmons          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/nyregio Leaders Balance Health and Political Risks as By Nicholas Fandos and Katie
2021-12-22   2021-12-23 n/nyc-covid-surge-politics.html              Virus Surges in New York                    Glueck                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/opinion
2021-12-22   2021-12-23 /omicron-children.html                       How to Navigate Omicron With Children       By New York Times Opinion      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/opinion
                        /the-matrix-resurrections-internet-
2021-12-22   2021-12-23 dystopia.html                                The Matrix Was Too Cheerful                 By Samuel Earle                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/sports/a SafeSport Citing Sexual Misconduct Upholds
2021-12-22   2021-12-23 lberto-salazar-misconduct.html               Salazars Lifetime Ban                       By Kevin Draper                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/sports/h
                        ockey/alex-ovechkin-gretzky-goals-           The Monster Chasing One of Gretzkys
2021-12-22   2021-12-23 record.html                                  Unbreakable Records                         By David Waldstein             TX 9-131-897   2022-02-01




                                                                                Page 3164 of 5793
                        https://www.nytimes.com/2021/12/22/sports/n
                        caafootball/college-football-playoff-covid- College Football Playoff Warns Teams Could
2021-12-22   2021-12-23 gator-bowl.html                             Forfeit Because of Virus                    By Alan Blinder                  TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/22/style/se
2021-12-22   2021-12-23 xy-grinch-rihanna-kylie-jenner.html         The Grinch Spices It Up                     By Valeriya Safronova            TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/22/upshot/
                        on-more-generous-terms-obamacare-proves- With More Generous Terms Obamacare Is
2021-12-22   2021-12-23 newly-popular.html                          Newly Popular But Will It Last              By Margot SangerKatz             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/22/us/covi FastSpreading Variant Has Campuses Fearing
2021-12-22   2021-12-23 d-college-mental-health-suicide.html        A Mental Health Crisis                      By Anemona Hartocollis           TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/22/us/polit US Eases Some Restrictions for Aid to Reach By Michael Crowley and Alan
2021-12-22   2021-12-23 ics/afghanistan-sanctions-aid-taliban.html  Afghanistan                                 Rappeport                        TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/22/us/polit Jan 6 Panel Seeks to Question Jordan on
2021-12-22   2021-12-23 ics/jim-jordan-jan-6.html                   Trump Chats                                 By Luke Broadwater               TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/22/us/polit
2021-12-22   2021-12-23 ics/yellen-signature-us-currency.html       The Long Wait for Yellens Signature         By Alan Rappeport                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/22/us/portl FBI Sent Surveillance Teams To Infiltrate   By Mike Baker Sergio Olmos and
2021-12-22   2021-12-23 and-protests-fbi-surveillance.html          Portland Protesters                         Adam Goldman                     TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/22/world/a With Tension Rising Libya Delays Vote For
2021-12-22   2021-12-23 frica/libya-delays-presidential-election.html President                                    By Mona ElNaggar and Vivian Yee TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/world/e British System Strained As Health Care
2021-12-22   2021-12-23 urope/britain-health-care-covid-nhs.html      Workers Get Covid Themselves                 By Megan Specia                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/world/ For the 2nd Christmas in a Row a Glum
2021-12-22   2021-12-23 middleeast/israel-christmas-covid.html        Season in the Holy Land                      By Isabel Kershner              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/your- Pause on Loan Payments By Students Is             By Katie Rogers and Tara Siegel
2021-12-22   2021-12-23 money/student-loan-pause.html                 Extended                                     Bernard                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/health/c Omicron Is Largely Found To Cause Milder
2021-12-23   2021-12-23 ovid-omicron-delta-hospitalizations.html      Sickness                                     By Carl Zimmer and Emily Anthes TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/sports/s
                        occer/premier-league-coronavirus-             Fear and Falsehoods Fill the Premier Leagues
2021-12-23   2021-12-23 vaccine.html                                  Vaccination Gap                              By Tariq Panja and Rory Smith   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/us/polit                                                By Michael D Shear and Sheryl
2021-12-23   2021-12-23 ics/covid-tests-biden-omicron.html            Despite Bidens Vow Tests Weeks Away          Gay Stolberg                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/us/polit Aide Working With Harris Tests Positive for
2021-12-23   2021-12-23 ics/kamala-harris-covid.html                  the Virus                                    By Michael D Shear              TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/22/us/polit
2021-12-23   2021-12-23 ics/osha-vaccine-mandate-supreme-court.html Court Rushes To a Hearing On Mandates      By Adam Liptak                    TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/23/busines
2021-12-23   2021-12-23 s/economy/nonprofit-jobs-wages.html         Nonprofits In a Bind For Workers           By Ben Casselman                  TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/23/insider/
2021-12-23   2021-12-23 uncovering-truths-with-missing-data.html    Finding the Truth With Missing Data        By Robert Gebeloff                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/23/style/ge Gen Z Channels the Carefree Turn of a
2021-12-23   2021-12-23 n-z-fashion-1990s.html                      Century                                    By Lou Stoppard                   TX 9-131-897     2022-02-01



                                                                                Page 3165 of 5793
                        https://www.nytimes.com/2021/12/23/style/je
2021-12-23   2021-12-23 wels-made-to-be-worn-all-day-every-day.html Jewels Made to Be Worn Every Day          By Marisa Meltzer                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/style/m A New Generation of Fans Discovers the
2021-12-23   2021-12-23 etropolitan-opera-new-generation.html       Opera                                     By Annie Armstrong                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/us/us- Long Lines and 4Hour Waits Covid Tests      By Giulia Heyward and Sophie
2021-12-23   2021-12-23 covid-test-availability.html                Remain Hard to Come By Nationwide         Kasakove                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/world/e A Chef Finds Fame and Scorn After His
2021-12-23   2021-12-23 urope/bros-restaurant-review.html           Response to a Bad Review                  By Jason Horowitz                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/busines To Save Lives Crash Test Dummies Embrace
2021-12-27   2021-12-23 s/car-safety-women.html                     a Feminine Side                           By Alisha Haridasani Gupta           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/13/busines All the Old Cars Can Be Made New Again
2021-12-13   2021-12-24 s/car-electric-engine-retrofitting.html     With Electric Motors                      By Christine Negroni                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/arts/cha An Interactive Experience For the Fans of
2021-12-14   2021-12-24 rlie-brown-interactive.html                 Peanuts                                   By George Gene Gustines              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/theater/
2021-12-15   2021-12-24 gilliam-sondheim-into-the-woods.html        A Disputed Show Finds a New Home          By Alex Marshall                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/books/d
2021-12-20   2021-12-24 esperate-kris-maher-interview.html          Water Flowing Underground                 By John Williams                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/movies/
2021-12-20   2021-12-24 reopening-night-review.html                 Reopening Night                           By Beatrice Loayza                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/arts/des
                        ign/cooper-hewitt-design-and-healing-
2021-12-21   2021-12-24 review.html                                 How Epidemics Can Lead to Innovation      By James S Russell                   TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/21/opinion Please Dont Tell Me Its Not Covid While
2021-12-21   2021-12-24 /culture/covid-etiquette-holiday-parties.html Coughing in My Face                         By Jenni Avins                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/arts/des
2021-12-22   2021-12-24 ign/joseph-yoakum-moma.html                   SelfTaught Artist Who Isnt Who You Think By Will Heinrich                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/arts/mu
2021-12-22   2021-12-24 sic/reggaeton-electronic-fusions.html         Distinct Genres Shockingly Perfect Together By Isabelia Herrera              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/busines Extreme Decorators Feeling the Supply Chain
2021-12-22   2021-12-24 s/christmas-decorations-supply-chain.html     Pinch                                       By Eduardo Medina                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/movies/
2021-12-22   2021-12-24 sing-2-review.html                            Sing 2                                      By Amy Nicholson                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/movies/
2021-12-22   2021-12-24 the-kings-man-review.html                     The Kings Man                               By Jeannette Catsoulis           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/movies/
                        the-tragedy-of-macbeth-review-denzel-
2021-12-22   2021-12-24 washington.html                               Something Wicked Arrives                    By AO Scott                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/movies/
2021-12-22   2021-12-24 the-velvet-queen-review.html                  The Velvet Queen                            By Ben Kenigsberg                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/nyregio Can City Hall Do More To Slow Down             By Joseph Goldstein and Sharon
2021-12-22   2021-12-24 n/omicron-nyc-spread.html                     Omicron                                     Otterman                         TX 9-131-897   2022-02-01




                                                                                 Page 3166 of 5793
                        https://www.nytimes.com/2021/12/22/sports/n
                        caabasketball/memphis-penny-hardaway-          At Memphis High Hopes Sink After Virus
2021-12-22   2021-12-24 vaccination.html                               Setbacks and Mixed Play                     By Adam Zagoria                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/live/2020/2020-
                        election-misinformation-distortions/pro-china-
                        misinformation-group-continues-spreading- Misinformation By China Group Keeps
2021-12-22   2021-12-24 messages-researchers-say                       Gushing                                     By Davey Alba                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/opinion
2021-12-23   2021-12-24 /wheres-joe-biden.html                         Biden Is Being The Leader He Promised to Be By Charles M Blow               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/arts/tele
2021-12-23   2021-12-24 vision/insecure-finale.html                    This Weekend I Have                         By Margaret Lyons               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/books/b
2021-12-23   2021-12-24 ooks-by-joan-didion.html                       Overview of Some of Didions Best            By Tina Jordan                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/books/d A Chronicler of American Disorder With Her
2021-12-23   2021-12-24 eath-of-joan-didion.html                       Own Unmistakable Style                      By Parul Sehgal                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/books/d
2021-12-23   2021-12-24 idion-writing.html                             Joan Didions Work for The Times             By Tina Jordan                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/books/j Joan Didion Writer Who Explored the Nations
2021-12-23   2021-12-24 oan-didion-dead.html                           Soul Dies at 87                             By William Grimes               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/busines Omicron Sowing Doubt And Fear About
2021-12-23   2021-12-24 s/economy/inflation-pce-index-fed.html         Economy                                     By Jeanna Smialek               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/busines Employers Balk at Japans Incentive to Raise
2021-12-23   2021-12-24 s/japan-taxes.html                             Wages                                       By Ben Dooley and Hisako Ueno   TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/23/busines
2021-12-23   2021-12-24 s/media/fox-anthony-fauci-jesse-watters.html Fox News Steps Up Its AntiFauci Drumbeat By Michael M Grynbaum                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/busines
2021-12-23   2021-12-24 s/tesla-self-driving-regulations.html        Public Roads Are SelfDriving Labs         By Roy Furchgott                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/busines
2021-12-23   2021-12-24 s/tesla-video-games.html                     Tesla to Limit Video Games Over Danger    By Neal E Boudette                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/busines
2021-12-23   2021-12-24 s/toys-r-us-american-dream-mall.html         Toys R Us Seeks Revival In Nostalgia      By Kevin Armstrong                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/fashion Grace Mirabella 92 Vogue Editor With an
2021-12-23   2021-12-24 /grace-mirabella-dead.html                   Accessible Approach Dies                  By Phyllis Messinger                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/health/c
                        dc-covid-isolation-period-health-care-       Isolation Time Is Reduced For Health Care By Azeen Ghorayshi and Reed
2021-12-23   2021-12-24 workers.html                                 Workers                                   Abelson                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/health/c Covid Pill From Merck Is Authorized by FDA By Rebecca Robbins and Carl
2021-12-23   2021-12-24 ovid-pill-merck.html                         For HighRisk Adults                       Zimmer                              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/movies/
2021-12-23   2021-12-24 a-journal-for-jordan-review.html             Reflections on Love Thats Built and Lost  By Lisa Kennedy                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/movies/
2021-12-23   2021-12-24 american-underdog-review.html                American Underdog                         By Teo Bugbee                       TX 9-131-897   2022-02-01




                                                                                Page 3167 of 5793
                        https://www.nytimes.com/2021/12/23/movies/
                        dead-mans-switch-a-crypto-mystery-
2021-12-23   2021-12-24 review.html                                 Dead Mans Switch A Crypto Mystery           By Glenn Kenny                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/movies/
2021-12-23   2021-12-24 dont-look-up-review.html                    Oblivion Is Here Someone Should Care        By Manohla Dargis               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/movies/
2021-12-23   2021-12-24 memoria-review.html                         A Puzzle of an Enchanting Experience        By AO Scott                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/movies/
2021-12-23   2021-12-24 parallel-mothers-review.html                Fascisms Shadow Enters Almodvars World      By AO Scott                   TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/23/nyregio Trump Fraud Inquiry Wont Be Resolved by      By Ben Protess William K
2021-12-23   2021-12-24 n/cyrus-vance-donald-trump.html             End of Vances Term                          Rashbaum and Jonah E Bromwich TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/23/nyregio Incoming New York Mayors First Big Task
2021-12-23   2021-12-24 n/nyc-schools-covid.html                    Handling the Return to School               By Eliza Shapiro                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/nyregio
                        n/prosecutor-cuomo-trooper-sexual-          No Charges For Cuomo Over Claim By
2021-12-23   2021-12-24 harassment-claim.html                       Trooper                                     By Ed Shanahan                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/nyregio New Years Eve Party in Times Square Will
                        n/times-square-new-years-eve-party-         Go On but With Far Fewer People Mayor
2021-12-23   2021-12-24 covid.html                                  Says                                        By Karen Zraick                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/opinion
2021-12-23   2021-12-24 /culture/holiday-feasting-rich-poor.html    Feast Its Only Human                        By Abhijit Banerjee             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/science Decades of Hurdles for NASAs Biggest
2021-12-23   2021-12-24 /webb-nasa-launch-delay.html                Telescope Now Ready to Launch               By Joey Roulette                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/sports/b What Is a Foul in the NBA Its Always        By Sopan Deb and Anthony
2021-12-23   2021-12-24 asketball/nba-fouls.html                    Evolving                                    Gentles                         TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/23/sports/o As Virus Surges China Says Fans May Clap    By Andrew Keh and Keith
2021-12-23   2021-12-24 lympics/beijing-olympics-coronavirus.html but Not Shout                                 Bradsher                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/technol Amazon Workers Gain More Power to
2021-12-23   2021-12-24 ogy/amazon-labor-deal.html                  Organize                                    By Karen Weise                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/theater/
                        once-upon-a-one-more-time-a-strange-
2021-12-23   2021-12-24 loop.html                                   Broadway Bound Thats The Plan               By Maya Phillips                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/us/covi Vaccine Mistakes and a Warning for the       By Chris Hamby and Sheryl Gay
2021-12-23   2021-12-24 d-vaccine-biden-trump.html                  Future                                      Stolberg                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/us/fran Franklin A Thomas Pathbreaking Leader Of
2021-12-23   2021-12-24 klin-a-thomas-dead.html                     Charity Dies at 87                          By Clay Risen                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/us/man
2021-12-23   2021-12-24 slaughter-kim-potter-verdict.html           Guilty Verdict For ExOfficer Who Shot Man   By Nicholas BogelBurroughs      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/us/olde For Seniors the Season Brings Worry and      By J David Goodman and Julie
2021-12-23   2021-12-24 r-people-omicron.html                       Resolve                                     Bosman                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/us/polit Riot Defendants Indulge In Holiday
2021-12-23   2021-12-24 ics/capitol-riot-january-6.html             MythMaking                                  By Dan Barry and Alan Feuer    TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/23/us/polit US Effort to Combat Forced Labor Could      By Ana Swanson Catie Edmondson
2021-12-23   2021-12-24 ics/china-uyghurs-forced-labor.html         Disrupt Many Supply Chains From China       and Edward Wong                TX 9-131-897    2022-02-01



                                                                               Page 3168 of 5793
                        https://www.nytimes.com/2021/12/23/us/polit Judge in Guantnamo Case Fourth in Seven
2021-12-23   2021-12-24 ics/guantanamo-judge-quits.html             Years Quits for Fellowship at FBI             By Carol Rosenberg                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/23/us/polit Harris Struggles to Define Role Even as She   By Katie Rogers and Zolan
2021-12-23   2021-12-24 ics/kamala-harris-biden-administration.html Is Making History                             KannoYoungs                       TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/23/us/polit US Is Considering Giving Ukraine RealTime By Helene Cooper and Julian E
2021-12-23   2021-12-24 ics/russia-ukraine-military-biden.html      Details Should Russia Start Attack              Barnes                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/us/texa Since Its Deadly Winter Storm Texas Hasnt By J David Goodman and David
2021-12-23   2021-12-24 s-electricity-grid-winter.html              Changed Much                                    Montgomery                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/us/trum
2021-12-23   2021-12-24 p-supreme-court-jan-6.html                  Trump Seeks to Shield Jan 6 Records             By Adam Liptak                  TX 9-131-897   2022-02-01
                                                                    Hong Kong Removes Statue That
                        https://www.nytimes.com/2021/12/23/world/a Memorialized Victims Killed in Tiananmen
2021-12-23   2021-12-24 sia/hong-kong-tiananmen-statue.html         Square                                          By Mike Ives                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/world/a Fury in China After an Outspoken Teacher
2021-12-23   2021-12-24 sia/li-tiantian-disappearance.html          Vanishes and the Authorities Keep Silent        By Chris Buckley                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/world/a
                        ustralia/koala-massacre-cape-
2021-12-23   2021-12-24 bridgewater.html                            Hundreds Of Charges In Massacre Of Koalas By Yan Zhuang                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/world/c Canada to Pay Billions Over Contaminated
2021-12-23   2021-12-24 anada/indigenous-water-lawsuit.html         Indigenous Drinking Water                       By Vjosa Isai                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/world/e Another Boat Sinks Off Greece Adding to
2021-12-23   2021-12-24 urope/migrant-boat-crash-greece.html        Migrant Death Toll                              By Niki Kitsantonis             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/world/e An Upbeat and Threatening Putin Keeps the By Anton Troianovski Andrew E
2021-12-23   2021-12-24 urope/russia-putin-ukraine.html             West on Edge                                    Kramer and David E Sanger       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/world/ Israelis at Risk Might Receive A Fourth
2021-12-23   2021-12-24 middleeast/israel-vaccine-4th-dose.html     Dose                                            By Isabel Kershner              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/world/
                        middleeast/lapid-israel-nuclear-iran-       Israel Could Support Iran Nuclear Pact if Its a By David E Sanger and Patrick
2021-12-23   2021-12-24 palestinians.html                           Good Deal                                       Kingsley                        TX 9-131-897   2022-02-01

                        https://www.nytimes.com/interactive/2021/12/ Omicron Drives US Virus Cases Past Deltas    By Lauren Leatherby Charlie Smart
2021-12-23   2021-12-24 23/us/omicron-case-count.html                Peak                                         and Amy Schoenfeld Walker         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/
                        23/world/asia/kabul-evacuation-                                                           By Mujib Mashal and Thomas
2021-12-23   2021-12-24 afghanistan.html                             5 Desperate Days Escaping Kabul              GibbonsNeff                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/us/polit
                        ics/medicaid-work-requirements-georgia-      Biden Administration Repudiates Work
2021-12-24   2021-12-24 biden.html                                   Requirements for Medicaid Set by Georgia     By Chris Cameron                  TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/23/world/a South Korea Is to Release ExPresident From
2021-12-24   2021-12-24 sia/south-korea-park-geun-hye-pardon.html Prison                                      By Choe SangHun                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/29/technol
2021-11-29   2021-12-25 ogy/electric-cars-magnetic-roads.html      Roads That Charge Cars Could Be Near       By Kerry Hannon                       TX 9-131-897   2022-02-01



                                                                                 Page 3169 of 5793
                        https://www.nytimes.com/interactive/2021/12/                                            By Lazaro Gamio and Peter S
2021-12-06   2021-12-25 05/business/economy/supply-chain.html        How the Supply Chain Crisis Unfolded       Goodman                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/08/busines The Key to Marketing to Older People Dont
2021-12-08   2021-12-25 s/dealbook/marketing-older-people.html       Say Old Theyll Cringe                      By Corinne Purtill                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/article/inflation-
2021-12-15   2021-12-25 definition.html                              Inflation 101 Stark Facts And Nuance       By Jeanna Smialek                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/arts/bre
2021-12-16   2021-12-25 akout-stars-2021.html                        Breakout Artists Who Enriched the Year     By Maya Salam                       TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/19/busines Zegnas IPO Path May Herald a Big Fashion By Lauren Hirsch and Vanessa
2021-12-19   2021-12-25 s/dealbook/zegna-spac-ipo-stock-market.html Trend                                        Friedman                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/arts/mu Steve Bronski 61 Is Dead Part of Bronski Beat
2021-12-22   2021-12-25 sic/steve-bronski-dead.html                 Band That Addressed Gay Issues               By Neil Genzlinger                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/busines Carlos Tejada 49 Editor in Asia for The
2021-12-22   2021-12-25 s/media/carlos-tejada-dead.html             Times                                        By Richard Sandomir                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/22/movies/
2021-12-22   2021-12-25 carrie-anne-moss-matrix-resurrections.html Being Trinity Again Felt New                By Gina McIntyre                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/technol
2021-12-22   2021-12-25 ogy/big-tech.html                          An Empire Grows So Do Challenges            By Shira Ovide                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/arts/mu
                        sic/carols-christmas-kings-choir-
2021-12-23   2021-12-25 mcdowall.html                              Composers Replenish A Holiday Repertoire By Alex Marshall                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/arts/mu
                        sic/phish-new-years-eve-postponed-
2021-12-23   2021-12-25 covid.html                                 Phish Postpones New Years Concerts          By Laura Zornosa                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/books/t Thomas Kinsella 93 Evocative Irish Poet And
2021-12-23   2021-12-25 homas-kinsella-dead.html                   Scholar Is Dead                             By Alan Cowell                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/health/ Feeling a Christmas Chill Join the Grump
2021-12-23   2021-12-25 omicron-family-stress-holidays.html        Tree Club                                   By Deborah Schoch                    TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/23/nyregio Brooklyn Man Who Was Shot by the Police
2021-12-23   2021-12-25 n/eudes-pierre-police-shooting-brooklyn.html Was Mentally Ill Family Says                 By Ali Watkins                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/opinion
2021-12-23   2021-12-25 /christmas-jesus-questions.html              Jesus Never Stopped Asking Questions         By Peter Wehner                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/sports/f
2021-12-23   2021-12-25 ootball/kyler-murray.html                    Inside the Mind of Kyler Murray              By Ben Shpigel                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/style/elf In a Tiny Jolly Spy for Santa Watchdogs Spot
2021-12-23   2021-12-25 shelf-privacy.html                           Big Brother                                  By Daniel Victor                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/us/geor Clemency Recommendation for Floyd Is           By Michael Levenson and J David
2021-12-23   2021-12-25 ge-floyd-posthumous-pardon.html              Withdrawn                                    Goodman                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/busines Citing Tensions With Beijing Japan Increases
2021-12-24   2021-12-25 s/japan-defense-spending.html                Military Budget                              By Makiko Inoue and Ben Dooley    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/opinion
2021-12-24   2021-12-25 /christmas-is-weird.html                     The Weird Miracles of Christmas              By Esau McCaulley                 TX 9-131-897   2022-02-01



                                                                                Page 3170 of 5793
                        https://www.nytimes.com/2021/12/23/theater/
                        broadway-shows-close-omicron-waitress-
2021-12-24   2021-12-25 thoughts.html                               Covid19 Continues to Batter Broadway           By Michael Paulson         TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/24/arts/dan
2021-12-24   2021-12-25 ce/west-side-story-dance-justin-peck.html   A West Side Story With Lots to Say             By Gia Kourlas             TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/24/arts/des
2021-12-24   2021-12-25 ign/rodin-grave-memorial-auction.html       Rodin Marker Heads to Auction                  By Eve M Kahn              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/24/arts/ho
2021-12-24   2021-12-25 nresfield-library-bronte.html               20 Million Raised to Preserve a Lost Library   By Jennifer Schuessler     TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/24/arts/mu KPop Singer Tests Positive After a Trip To
2021-12-24   2021-12-25 sic/suga-bts-covid.html                     the US                                         By Yonette Joseph          TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/24/busines Judge Upholds Block on The Timess
2021-12-24   2021-12-25 s/media/new-york-times-project-veritas.html Coverage of Project Veritas and Adds Order By Michael M Grynbaum           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/busines Variant Disrupts Air Travel Plans On Global
2021-12-24   2021-12-25 s/omicron-christmas-travel.html             Scale                                      By Karen Weise and Glenn Thrush TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/busines                                             By Lauren Hirsch and Emma
2021-12-24   2021-12-25 s/workers-covid-isolate.html                Bosses Mull Quarantines For Workers        Goldberg                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/nyregio
2021-12-24   2021-12-25 n/christmas-virus-nyc.html                  Surging Virus Dims Holiday For New York By Sarah Maslin Nir                TX 9-131-897   2022-02-01
                                                                                                               By Michael Rothfeld Emma G
                        https://www.nytimes.com/2021/12/24/nyregio Role as Deputy To Adams Stalls On 2014      Fitzsimmons and William K
2021-12-24   2021-12-25 n/philip-banks-deputy-mayor.html            Inquiry                                    Rashbaum                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/opinion The Unbearable Sadness Of Bad Holiday
2021-12-24   2021-12-25 /bad-holiday-gifts.html                     Gifts                                      By Tim Kreider                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/opinion
2021-12-24   2021-12-25 /covid-christmas.html                       When Do We Know Our Lifes Work Is Done By Jennifer Finney Boylan           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/sports/b Visiting a Hospital for the Holidays An
2021-12-24   2021-12-25 aseball/gil-hodges-christmas.html           AllStar Changed One Mans Life              By Alex Coffey                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/sports/b With Stars Missing Day of Big Matchups     By Scott Cacciola Sopan Deb and
2021-12-24   2021-12-25 asketball/nba-christmas-day-games.html      Loses Some Luster                          Tania Ganguli                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/sports/d Dave Draper 79 Champ Of Bodybuilding in
2021-12-24   2021-12-25 ave-draper-dead.html                        1960s                                      By Richard Sandomir             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/us/edw Edward D Shames 99 Army Paratrooper
2021-12-24   2021-12-25 ard-d-shames-dead.html                      Whose Soldiers Inspired Band of Brothers   By Richard Goldstein            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/us/elect
2021-12-24   2021-12-25 ions/democrats-state-elections.html         At State Level An Awakening For Democrats By Blake Hounshell               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/us/polic Despite Protests Number of Fatal Police    By Tim Arango and Giulia
2021-12-24   2021-12-25 e-killings-accountability.html              Encounters Is Unchanged                    Heyward                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/us/polit
                        ics/covid-school-reopening-teen-mental-     Back in School Teens Struggle With Mental
2021-12-24   2021-12-25 health.html                                 Toll of a Lost Year                        By Erica L Green                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/world/a South Africa Terminates Quarantining and
2021-12-24   2021-12-25 frica/south-africa-covid-quarantine.html    Contact Tracing                            By Lynsey Chutel                TX 9-131-897   2022-02-01




                                                                                 Page 3171 of 5793
                        https://www.nytimes.com/2021/12/24/world/a
                        sia/afghanistan-nadery-peace-              An Afghan Official in Exile Laments What
2021-12-24   2021-12-25 negotiations.html                          Was Lost in the Taliban Takeover             By Carlotta Gall              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/24/world/a
2021-12-24   2021-12-25 sia/bangladesh-ferry-fire.html             Fire Erupts on Bangladesh Ferry Killing 35   By Saif Hasnat                TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/24/world/a After AntiMuslim Rally India Leaders Stay
2021-12-24   2021-12-25 sia/hindu-extremists-india-muslims.html    Quiet                                        By Sameer Yasir               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/24/world/a
                        sia/myanmar-coup-military-tatmadaw-kyaw- Charitable Charming and Aiding Brutal
2021-12-24   2021-12-25 thaung.html                                Regime                                       By Hannah Beech               TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/24/world/e Ignoring Omicron Britons Double Down on
2021-12-24   2021-12-25 urope/covid-britain-omicron-christmas.html Holiday Cheer                                By Megan Specia               TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/24/world/e Europeans Exhausted By an Unyielding Virus By Nicholas Casey Constant Mheut
2021-12-24   2021-12-25 urope/europe-covid-pandemic-omicron.html Consider Living With It                      and Jos Bautista                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/world/ Ssshhh Be Very Quiet Were Celebrating
2021-12-24   2021-12-25 middleeast/saudi-arabia-christmas.html      Christmas                                 By Vivian Yee                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/world/s White House Set to Lift Travel Ban Between By Glenn Thrush and Lynsey
2021-12-24   2021-12-25 outh-africa-united-states-travel.html       US and Southern Africa                    Chutel                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/25/sports/f What to Watch For in the NFLs Christmas
2021-12-25   2021-12-25 ootball/nfl-christmas-games-schedule.html   Day Games                                 By Emmanuel Morgan               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/09/29/books/r
                        eview/the-heroine-with-1001-faces-maria-
2021-09-29   2021-12-26 tatar.html                                  Good Goddess                              By Laura Miller                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/02/books/r
2021-11-02   2021-12-26 eview/still-life-sarah-winman.html          For Arts Sake                             By Lauren Fox                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/03/books/r
2021-11-03   2021-12-26 eview/the-shattering-kevin-boyle.html       Changing America Forever                  By James A Morone                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/15/books/r
2021-11-15   2021-12-26 eview/chouette-claire-oshetsky.html         What to Expect                            By MarieHelene Bertino           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/16/books/r
                        eview/the-greek-revolution-mark-
2021-11-16   2021-12-26 mazower.html                                The First NationState                     By Alan Mikhail                  TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/11/24/books/r
2021-11-24   2021-12-26 eview/profusely-illustrated-edward-sorel.html Wavy Lines                                By Sadie Stein                TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/11/30/books/r
                        eview/small-things-like-these-claire-
2021-11-30   2021-12-26 keegan.html                                   Holy Night                                By Lydia Millet               TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/11/30/books/r
2021-11-30   2021-12-26 eview/the-sisters-sweet-elizabeth-weiss.html Double Trouble                             By Ariel Lawhon               TX 9-131-897    2022-02-01




                                                                                   Page 3172 of 5793
                        https://www.nytimes.com/2021/12/01/books/r
                        eview/looking-for-the-good-war-elizabeth-
2021-12-01   2021-12-26 samet.html                                   Deadly Virtue                             By Ben Rhodes              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/01/books/r
                        eview/peter-robison-flying-blind-boeing-
2021-12-01   2021-12-26 737.html                                     Safety Last                               By David Gelles            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/02/books/r
                        eview/claude-a-clegg-iii-the-black-
2021-12-02   2021-12-26 president.html                               Signifier in Chief                        By Orlando Patterson       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/06/books/r
2021-12-06   2021-12-26 eview/best-thrillers-2021.html               The 10 Best Thrillers of 2021             By Sarah Lyall             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/books/r
2021-12-07   2021-12-26 eview/learwife-jr-thorp.html                 A Forgotten Crown                         By Angela Lashbrook        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/books/r
                        eview/a-natural-history-of-the-future-rob-
2021-12-09   2021-12-26 dunn.html                                    Laws of Nature                            By Peter Brannen           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/books/r
2021-12-14   2021-12-26 eview/creative-types-tom-bissell.html        Into the Dark                             By Zachary Lazar           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/books/r The Author Behind Maid Has a Room and a
2021-12-16   2021-12-26 eview/maid-stephanie-land.html               Voice of Her Own                          By Elisabeth Egan          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/books/r
                        eview/noble-ambitions-adrian-
2021-12-16   2021-12-26 tinniswood.html                              The Shortlist Anglophilia                 By Michelle Ruiz           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/movies/
2021-12-16   2021-12-26 paolo-sorrentino-the-hand-of-god.html        Gazing Through the Camera at Himself      By Roslyn Sulcas           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/realesta One Queens Building and Their Third Place
2021-12-20   2021-12-26 te/renters-astoria-queens.html               There                                     By DW Gibson               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/t-
                        magazine/christmas-dinner-entertaining-
2021-12-20   2021-12-26 holidays.html                                A Countryside Feast                       By Sophie Bew              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/arts/po
2021-12-21   2021-12-26 dcasts-for-self-reflection.html              Listen for Reflection and Restoration     By Emma Dibdin             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/arts/tele
2021-12-21   2021-12-26 vision/arcane-netflix-moodboard.html         This Show Is Made of Bebop Beats and More By Elisabeth Vincentelli   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/realesta
                        te/lachanze-at-home-in-the-color-purple-
2021-12-21   2021-12-26 house.html                                   A House Ideal for Reunions and Time Alone By Joanne Kaufman          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/style/sa
2021-12-21   2021-12-26 nta-claus-knots-ties.html                    It All Began With a Ho Ho Ho at a Party   By Alix Strauss            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/arts/fre Frederick C Baldwin Photographer Who
2021-12-22   2021-12-26 derick-baldwin-dead.html                     Reveled in Storytelling Dies at 92        By James Estrin            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/busines Steps for Coping With Medicares Rising
2021-12-22   2021-12-26 s/medicare-retirement-costs.html             Costs                                     By Mark Miller             TX 9-131-897   2022-02-01




                                                                                Page 3173 of 5793
                        https://www.nytimes.com/2021/12/22/movies/
                        journal-for-jordan-denzel-washington-michael
2021-12-22   2021-12-26 b-jordan.html                                 A RealLife Story of Love Loss and Joy      By Dana Canedy                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/nyregio Anne Emerman Champion of Disability
2021-12-22   2021-12-26 n/anne-emerman-dead.html                      Rights in New York City Dies at 84         By Katharine Q Seelye          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/nyregio                                               By Emma G Fitzsimmons and
2021-12-22   2021-12-26 n/de-blasio-legacy-inequality.html            Is New York Still a Tale of Two Cities     Jeffery C Mays                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/nyregio
2021-12-22   2021-12-26 n/de-blasio-report-card-inequity.html         Mayors Record in 6 Numbers                 By Emma G Fitzsimmons          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/realesta
2021-12-22   2021-12-26 te/downtown-brooklyn.html                     A Neighborhood in the Middle of Everything By Amy Plitt                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/realesta
                        te/home-prices-texas-massachusetts-and-north-15 Million Homes in Texas Massachusetts
2021-12-22   2021-12-26 carolina.html                                 and North Carolina                         By Angela Serratore            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/realesta
                        te/house-hunting-in-barbados-alfresco-living-
2021-12-22   2021-12-26 in-the-eastern-caribbean.html                 Plenty of Pools and the Sea Is Close By    By Marcelle Sussman Fischler   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/t-
2021-12-22   2021-12-26 magazine/beef-noodle-soup-recipe.html         Soup That Tastes Like Home                 By Jamie Feldmar               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/theater/
                        search-for-signs-of-intelligent-life-in-the-
2021-12-22   2021-12-26 universe.html                                 New Duo Explore A Galaxy Of Lives          By Dave Itzkoff                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ Beverly Cleary Was a Troublemaker Who
2021-12-22   2021-12-26 22/magazine/beverly-cleary-death.html         Wrote Books for Kids Like Herself          By Sam Anderson                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ Brigitte Gerney Was Crushed by a 35Ton
2021-12-22   2021-12-26 22/magazine/brigitte-gerney-death.html        Crane and Lived                            By Irina Aleksander            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/interactive/2021/12/
2021-12-22   2021-12-26 22/magazine/christopher-plummer-death.html Christopher Plummers Strange Loyalties      By Anthony Giardina              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/
2021-12-22   2021-12-26 22/magazine/chucky-thompson-death.html       Chucky Thompson Found Music Everywhere By Niela Orr                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ Cloris Leachmans Golden Age Was Middle
2021-12-22   2021-12-26 22/magazine/cloris-leachman-death.html       Age                                       By Rob Hoerburger                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/
2021-12-22   2021-12-26 22/magazine/colin-powell-death.html          Colin Powells Life as a Tinkerer          By Robert Draper                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/
2021-12-22   2021-12-26 22/magazine/dmx-death.html                   DMX Took a Trust Fall With His Music      By Ismail Muhammad               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ Hiro Made Fashion Photography
2021-12-22   2021-12-26 22/magazine/hiro-death.html                  Otherworldly                              By Stella Bugbee                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ James Hormel Used His Spam Fortune to
2021-12-22   2021-12-26 22/magazine/james-hormel-death.html          Cement a Place in Gay History             By Jason Zengerle                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ The Devastating Observations of Janet
2021-12-22   2021-12-26 22/magazine/janet-malcolm-death.html         Malcolm                                   By Sasha Weiss                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ 2021 Was the Deadliest Year on Record for
2021-12-22   2021-12-26 22/magazine/kier-lapri-kartier-death.html    Trans Folks Kir Was Only 21               By Jenna Wortham                 TX 9-131-897   2022-02-01



                                                                                Page 3174 of 5793
                        https://www.nytimes.com/interactive/2021/12/ Did Larry Kings Obsession With Death Fuel
2021-12-22   2021-12-26 22/magazine/larry-king-death.html            His Indomitable Will to Live              By Jazmine Hughes             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ Lauren Berlant Helped Us Understand the
2021-12-22   2021-12-26 22/magazine/lauren-berlant-death.html        Intimacy of Pop Culture                   By Jane Hu                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ Mary Wilson Refused to Let the Supremes
2021-12-22   2021-12-26 22/magazine/mary-wilson-death.html           Fall Apart                                By Hanif Abdurraqib           TX 9-131-897   2022-02-01

                        https://www.nytimes.com/interactive/2021/12/ Melvin Van Peebles Had a Hunger for
2021-12-22   2021-12-26 22/magazine/melvin-van-peebles-death.html Intensity                                     By Amy X Wang                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ Michael K Williams Brought Humanity to
2021-12-22   2021-12-26 22/magazine/michael-k-williams.html          Men on the Brink of Disaster               By Reginald Dwayne Betts     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ Mudcat Grant Sang Out Against Racism on
2021-12-22   2021-12-26 22/magazine/mudcat-grant-death.html          the Baseball Field                         By Rowan Ricardo Phillips    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ The Orphaned Gorilla That Touched the
2021-12-22   2021-12-26 22/magazine/ndakasi-death.html               World                                      By Michael Paterniti         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ Norm Macdonald Had His Own Kind of
2021-12-22   2021-12-26 22/magazine/norm-macdonald-death.html        Honesty                                    By David Marchese            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ Rennie Davis One of the Chicago Seven
2021-12-22   2021-12-26 22/magazine/rennie-davis-death.html          Traded Activism for Inner Peace            By Benoit DenizetLewis       TX 9-131-897   2022-02-01

                        https://www.nytimes.com/interactive/2021/12/ Rosalind Cartwright Wanted to Understand
2021-12-22   2021-12-26 22/magazine/rosalind-cartwright-death.html Divorcing Womens Dreams                      By Kim Tingley               TX 9-131-897   2022-02-01

                        https://www.nytimes.com/interactive/2021/12/ Sally Miller Gearhart Strove for a
2021-12-22   2021-12-26 22/magazine/sally-miller-gearhart-death.html SelfSufficient WomenCentered World         By Maggie Jones              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/arts/dan
2021-12-23   2021-12-26 ce/brigitte-lefevre-ballet.html              Ballets Disciplined Rebel Moves On         By Roslyn Sulcas             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/arts/mu
2021-12-23   2021-12-26 sic/tiktok-stars-tv-film-music.html          A Murky Path From TikTok Stardom           By Jon Caramanica            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/books/h H Jackson Brown Jr 81 Whose Best Seller
2021-12-23   2021-12-26 jackson-brown-jr-dead.html                   Offered Fatherly Advice                    By Alex Traub                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/books/r
2021-12-23   2021-12-26 eview/new-paperbacks.html                    Paperback Row                              By Miguel Salazar            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/23/busines
2021-12-23   2021-12-26 s/dickens-condos-oliver-twist-workhouse.html The Charles Dickens Luxury Apartments      By David Segal               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/magazi                                               By Amy X Wang and Abelardo
2021-12-23   2021-12-26 ne/shoes-photos.html                           The Shoes They Filled                    Morell                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/needies
                        t-cases/celebrations-and-gifts-that-embody-the A Holiday Season Filled With Reading
2021-12-23   2021-12-26 holiday-spirit.html                            Dancing Laughter and Food                By Christopher Mele          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/nyregio
2021-12-23   2021-12-26 n/bill-de-blasio-mayor-nyc.html                The Mayor New Yorkers Loved to Hate      By Ginia Bellafante          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/realesta
2021-12-23   2021-12-26 te/the-cost-of-a-white-christmas.html          Find the Most Snow for Your Dollar       By Michael Kolomatsky        TX 9-131-897   2022-02-01



                                                                                Page 3175 of 5793
                        https://www.nytimes.com/2021/12/23/sports/f
                        ootball/nfl-betting-picks-odds-              At Years End Playoff Implications Are
2021-12-23   2021-12-26 predictions.html                             Everywhere Almost                            By Emmanuel Morgan        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/style/co
2021-12-23   2021-12-26 vid-outdoor-gatherings.html                  Winter Dirge The Return of Chilly Encounters By Alex Williams          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/style/sc
2021-12-23   2021-12-26 hool-sleep-prank.html                        Latest Student Prank Is a Snooze             By Katherine Rosman       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/style/se
2021-12-23   2021-12-26 cret-santa-social-qs.html                    The Gift Equation                            By Philip Galanes         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/style/str
2021-12-23   2021-12-26 eaming-premium-content-plus-sign.html        A Minor Addition Signals a Lot More          By Neil Vigdor            TX 9-131-897   2022-02-01
                                                                     A OneBedroom in Brooklyn or a
                        https://www.nytimes.com/interactive/2021/12/ TwoBedroom in New Jersey These FirstTime
2021-12-23   2021-12-26 23/realestate/23hunt-tarbert.html            Buyers Weighed the Options                   By Joyce Cohen            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/arts/alb When a 30 Estate Sale Buy Is From a
2021-12-24   2021-12-26 recht-durer-drawing-discovered.html          Renaissance Master                           By Alyssa Lukpat          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/arts/des
2021-12-24   2021-12-26 ign/gillian-laub-family-matters-icp.html     The Family Ties That Can Choke               By Yinka Elujoba          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/arts/mu
2021-12-24   2021-12-26 sic/rigoletto-met-opera.html                 A Rigoletto Set in Weimar Berlin             By Joshua Barone          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/arts/tele
2021-12-24   2021-12-26 vision/star-wars-boba-fett-disney.html       Boba Fett Intergalactic Mystery Man          By Dave Itzkoff           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/books/r
2021-12-24   2021-12-26 eview/jk-rowling-christmas-pig.html          The Magic of Things                          By JK Rowling             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/busines
                        s/boss-mandatory-vacation-employee-
2021-12-24   2021-12-26 burnout.html                                 When the Boss Says to Chillax Take a Break By Emma Goldberg            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/24/busines
2021-12-24   2021-12-26 s/shar-dubey-match-texas-abortion-law.html Building and Enabling Relationships        By David Gelles               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/busines Small Businesses Look Ahead to Uncertainty By Julia Rothman and Shaina
2021-12-24   2021-12-26 s/small-business-resolutions.html           Again                                     Feinberg                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/fashion
                        /weddings/melanie-bowen-joe-pinzone-
2021-12-24   2021-12-26 wedding.html                                This Love Story Called Out for a Marquee  By Tammy La Gorce             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/nyregio
2021-12-24   2021-12-26 n/vietnamese-coffee-sahra-nguyen.html       Pool Yoga and of Course Coffee            By Kaya Laterman              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/realesta
2021-12-24   2021-12-26 te/streetscapes-catholic-relics.html        Where Church Artifacts Are Reborn         By John Freeman Gill          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/realesta
2021-12-24   2021-12-26 te/why-do-people-keep-books.html            The Shelf Life of Home Libraries          By Julie Lasky                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/sports/s In the Premier League Theres No Looking
2021-12-24   2021-12-26 occer/premier-league-coronavirus.html       Back                                      By Rory Smith                 TX 9-131-897   2022-02-01




                                                                                Page 3176 of 5793
                        https://www.nytimes.com/2021/12/24/style/ad
2021-12-24   2021-12-26 rian-ballinger-emily-harrington-wedding.html Finding Romance in the Ups and Downs         By Lois Smith Brady             TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/24/style/da
                        niel-khaytman-angela-ratmansky-
2021-12-24   2021-12-26 wedding.html                                 A Connection Was Made in the Fifth Grade     By Shivani Gonzalez             TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/24/style/e How to Express His Love Try 331 Words for
2021-12-24   2021-12-26 milia-gonzalez-joseph-mccloud-wedding.html Starters                                  By Vincent M Mallozzi                TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/24/style/m
2021-12-24   2021-12-26 arriage-heather-havrilesky-foreverland.html A Spouse Is a Blessing and a Curse           By Heather Havrilesky            TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/24/style/m
                        odern-love-nutcracker-sex-tape-ugly-
2021-12-24   2021-12-26 christmas-sweater.html                       The Nutcracker and the Sex Tape Mess        By Melody Federer                TX 9-131-897    2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ Willie Garson Found a Home Playing the
2021-12-24   2021-12-26 24/magazine/willie-garson-death.html         Canonical Gay Best Friend                   By Jamie Lauren Keiles           TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/25/busines                                               By Jim Tankersley and Alan
2021-12-25   2021-12-26 s/biden-inflation.html                       As Prices Rise Biden Deploys Antitrust Team Rappeport                        TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/25/insider/
2021-12-25   2021-12-26 melissa-clark-recipes.html                   Putting a New Spin on Old Recipes           By Katie Van Syckle              TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/25/realesta Will It Be Safe to Go Ahead With a New
2021-12-25   2021-12-26 te/new-years-eve-party-covid-omicron.html Years Eve Party                                 By Ronda Kaysen                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/25/science Telescope Launches on Journey To Study         By Dennis Overbye and Joey
2021-12-25   2021-12-26 /james-webb-telescope-launch.html           Infancy of the Universe                       Roulette                        TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/25/style/ne
2021-12-25   2021-12-26 w-years-resolutions-millennials-gen-z.html  Resolving to Make a Change Now                By Alyson Krueger               TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/25/style/pi                                               By Elizabeth Bristow Eve Lyons
2021-12-25   2021-12-26 ctures-2021.html                            Everyday Miracles All of Us                   Amanda Webster and Stella Bugbee TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/25/style/w
                        allice-indie-pop-punching-bag-los-          Indie Pop Sensation With a Little Help From
2021-12-25   2021-12-26 angeles.html                                Her Friends                                   By Madeleine Connors            TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/25/style/w Everyone Wants to Join This Dystopian
2021-12-25   2021-12-26 arhammer-game.html                          Universe                                      By Shane ONeill                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/25/theater/ Broadway Hangout Reopens Even as Some
2021-12-25   2021-12-26 sardis-broadway-reopening.html              Shows Shut Again                              By Michael Paulson              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/25/us/back Disaster and Displacement but a Legacy         By Katy Reckdahl and Sophie
2021-12-25   2021-12-26 street-cultural-museum-new-orleans.html     Survives                                      Kasakove                        TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/25/us/cloti Slave Ship In Alabama Might Hold DNA in
2021-12-25   2021-12-26 lda-slaveship-africa-alabama.html           Hull                                          By Michael Levenson             TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/25/us/covi Another Christmas of Distress And Death in
2021-12-25   2021-12-26 d-hospitals.html                            Americas ICUs                                 By Sarah Bahr and Mike Baker    TX 9-131-897    2022-02-01



                                                                                 Page 3177 of 5793
                        https://www.nytimes.com/2021/12/25/us/dead
2021-12-25   2021-12-26 ly-shark-attack-california.html            Apparent Shark Attack Kills Boogie Boarder By Vimal Patel                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/25/us/omic Wily Virus Adds Fuel to Defiance Of          By Jack Healy Noah Weiland and
2021-12-25   2021-12-26 ron-unvaccinated.html                      Unvaccinated                                 Richard Fausset                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/25/world/a African Nations Toughen Limits as Infections By Abdi Latif Dahir and Jeffrey
2021-12-25   2021-12-26 frica/africa-coronavirus-omicron.html      Surge Across Continent                       Moyo                              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/25/world/a In Sudan AntiCoup Protesters Fight for the
2021-12-25   2021-12-26 frica/sudan-coup-protests.html             Return to Civilian Rule                      By Abdi Latif Dahir               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/25/world/a Where a Life of Bling Is Best Kept to
2021-12-25   2021-12-26 sia/china-money.html                       Yourself                                     By Vivian Wang and Joy Dong       TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/25/world/e Boat Transporting Migrants Capsizes Off
2021-12-25   2021-12-26 urope/migrant-boat-greece.html             Greeces Coast Killing at Least 16 Passengers By Niki Kitsantonis               TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/25/world/e As Covid Disrupts 2nd Christmas Pope Prays By Gaia Pianigiani and Elisabetta
2021-12-25   2021-12-26 urope/pope-francis-christmas-message.html for Healing and Peace                       Povoledo                            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/25/world/e Christmas Can Be Hard After Loss Queen
2021-12-25   2021-12-26 urope/queen-elizabeth-christmas-address.html Elizabeth Says in Annual Address          By Megan Specia and Aina J Khan TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/25/world/e In a Serious Moment for Ukraine Comedians
2021-12-25   2021-12-26 urope/ukraine-russia.html                    Have the Presidents Ear                   By Andrew E Kramer              TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/25/world/ An Israeli Wonderland Where You Can
2021-12-25   2021-12-26 middleeast/park-israel-dcity.html            Almost Forget Where You Are               By Isabel Kershner              TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/26/nyregio
2021-12-26   2021-12-26 n/metropolitan-diary-agnes-lee.html          Drawing New York City and Drawn to It     By Agnes Lee                    TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/26/nyregio
                        n/metropolitan-diary-forty-fifth-
2021-12-26   2021-12-26 anniversary.html                             Little Gems in a Rough Year               By Ed Shanahan                  TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/26/sports/b A Rapid Ascent for 3 of the NBAs Young     By Sopan Deb Tania Ganguli and
2021-12-26   2021-12-26 asketball/nba-stars.html                     Stars                                     Scott Cacciola                  TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/26/sports/j In Victory or Usually Defeat It Pays to Be
2021-12-26   2021-12-26 ackson-state-university-basketball.html      Road Warriors                             By Jer Longman and Chad Rhym TX 9-131-897         2022-02-01
                        https://www.nytimes.com/2021/12/26/us/okla A Fight About Masks Reveals a Deep Schism
2021-12-26   2021-12-26 homa-masks.html                              in the Soul of a City                     By Sabrina Tavernise            TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/14/travel/g Facing Climate Change the Ski Industry
2021-12-14   2021-12-27 lobal-warming-ski-resort.html                Fights Back                               By Tim Neville                  TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/21/arts/tele
                        vision/black-boyhood-wonder-years-colin-in-
2021-12-21   2021-12-27 black-and-white.html                         Nuance and Black Boyhood                  By Salamishah Tillet            TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/21/technol
2021-12-21   2021-12-27 ogy/clubhouse-twitter-spaces.html            How the Copycats Came for Clubhouse       By Kate Conger                  TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/21/technol
2021-12-21   2021-12-27 ogy/tech-innovations-2022.html               A Wish for 2022 Innovations That Unite Us By Shira Ovide                  TX 9-131-897      2022-02-01
                        https://www.nytimes.com/2021/12/21/well/mi Here to Help How Volunteering Can Help
2021-12-21   2021-12-27 nd/loneliness-volunteering.html              Ease Loneliness                           By Christina Caron              TX 9-131-897      2022-02-01



                                                                                Page 3178 of 5793
                        https://www.nytimes.com/2021/12/22/busines To Find a Deal on Cars Buyers Take Road
2021-12-22   2021-12-27 s/economy/car-chip-shortage-pandemic.html Trips                                         By Neal E Boudette        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/upshot/ Costly Hearing Screening For Babies Angers
2021-12-22   2021-12-27 infant-hearing-test-pediatrix.html           Parents                                    By Jay Hancock            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/opinion The Rise of Eric Adams And Black New
2021-12-23   2021-12-27 /eric-adams-black-new-york.html              York                                       By Mara Gay               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/arts/arti
2021-12-23   2021-12-27 sts-who-died-2021.html                       The Artists We Lost in 2021                By Gabe Cohn              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/busines Longer Life Spans Create Need for New Type
2021-12-23   2021-12-27 s/dealbook/plan-for-long-retirement.html     of Financial Planner                       By Corinne Purtill        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/nyregio It Felt So New York to Share the Subway
2021-12-23   2021-12-27 n/nyc-subway-photos.html                     Again                                      By Ali Kate Cherkis       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/sports/b
2021-12-23   2021-12-27 est-sports-photos-2021.html                  Photographers In Own Words Pick Best Shots By The New York Times     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/travel/ Travel as Healing The Rise of Wellness
2021-12-23   2021-12-27 wellness-travel-healing.html                 Offerings on Vacation                      By Concepcin de Len       TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/24/health/j James F Fries 83 Pioneer of Data Mining Who
2021-12-24   2021-12-27 ames-f-fries-dead.html                      Studied the Good Life and How to Live It    By Clay Risen             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/movies/
2021-12-24   2021-12-27 joan-didion-movies.html                      A GetRich Project For Joan Didion          By Amy Nicholson          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/opinion Were Locked Down Again in the Netherlands
2021-12-24   2021-12-27 /omicron-lockdown.html                      Heres a Warning                             By Senay Boztas           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/opinion
2021-12-24   2021-12-27 /project-veritas-new-york-times.html        A Dangerous Court Ruling                    By The Editorial Board    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/science Robert H Grubbs 79 Whose Work In Green
2021-12-24   2021-12-27 /robert-h-grubbs-dead.html                  Chemistry Won Nobel Dies                    By Dylan Loeb McClain     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/sports/s
2021-12-24   2021-12-27 ailing/michael-spies-sydney-hobart.html     The guru of speed                           By John Clarke            TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/24/sports/s
2021-12-24   2021-12-27 ailing/sydney-hobart-yacht-race-sailors.html You too could compete on a racing yacht      By Kimball Livingston   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/sports/s
                        ailing/sydney-hobart-yacht-race-two-man-
2021-12-24   2021-12-27 teams-autopilot.html                         On some boats threes a crowd                 By David Schmidt        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/theater/
2021-12-24   2021-12-27 understudies-broadway-cancellations.html     Covid Can Put an Understudy in the Spotlight By Alexis Soloski       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/25/arts/mu Wanda Young 78 Singer With Motowns
2021-12-25   2021-12-27 sic/wanda-young-dead.html                    Marvelettes                                  By Richard Sandomir     TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/25/world/e A Janitor Was Struggling So His Colleagues
2021-12-25   2021-12-27 urope/alfredo-lupi-janitor-italy.html      Donated Toward an Early Retirement            By Gaia Pianigiani       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/busines Airlines Cancel Flights As Variant Sickens
2021-12-26   2021-12-27 s/flights-canceled-us.html                 Crews                                         By Marc Tracy            TX 9-131-897   2022-02-01



                                                                                 Page 3179 of 5793
                        https://www.nytimes.com/2021/12/26/busines
2021-12-26   2021-12-27 s/holiday-sales-data.html                   Sales Soar In Retail At Holiday              By E Justin Swanson                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/busines
2021-12-26   2021-12-27 s/movies-stars-hollywood.html               AList Assemble Stars Fill Film Casts         By Brooks Barnes                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/insider/
                        in-congo-bolivia-and-beyond-where-the-green
2021-12-26   2021-12-27 future-begins.html                          Where the Green Future Is Mined              By Emmett Lindner                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/nyregio                                               By Sharon Otterman and Joseph
2021-12-26   2021-12-27 n/omicron-nursing-homes-new-york.html       New Variant Risk in Nursing Homes            Goldstein                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/obituari Wayne Thiebaud 101 A DowntoEarth Painter
2021-12-26   2021-12-27 es/wayne-thiebaud-dead.html                 Of the Everyday Is Dead                      By Michael Kimmelman               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/opinion It Was bell hooks Who Taught Me How to
2021-12-26   2021-12-27 /bell-hooks-death-black.html                Talk Back                                    By Kovie Biakolo                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/sports/f
2021-12-26   2021-12-27 ootball/jets-jags-giants-eagles-score.html  Horrid and Hopeful Under Center              By Diante Lee                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/sports/s
                        occer/premier-league-money-union-           In Europe Building Teams The Premier
2021-12-26   2021-12-27 brighton.html                               League Way                                   By Rory Smith                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/sports/ Studying Each Other Warriors and Suns Peek
2021-12-26   2021-12-27 warriors-suns-nba-standings-christmas.html at the Standings                              By Tania Ganguli                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/us/14-
                        year-old-girl-shot-valentina-orellana-      Police Assess Chaotic Scene That Resulted In By Christine Chung and Giulia
2021-12-26   2021-12-27 peralta.html                                Girls Death                                  Heyward                            TX 9-131-897   2022-02-01
                                                                                                                 By Jennifer ValentinoDeVries Mike
                        https://www.nytimes.com/2021/12/26/us/polic Cadre of Expert Witnesses Helps Clear Police McIntire Rebecca R Ruiz Julie Tate
2021-12-26   2021-12-27 e-deaths-in-custody-blame.html              in Court                                     and Michael H Keller               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/us/polit Dubious Advice From TV Doctor In Senate
2021-12-26   2021-12-27 ics/dr-oz-medical-advice.html               Hunt                                         By Trip Gabriel                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/us/texa
2021-12-26   2021-12-27 s-newborns-birthrate.html                   A Baby Boom in Texas                         By Edgar Sandoval                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/world/a Desmond M Tutu 90 Whose Voice Helped
2021-12-26   2021-12-27 frica/desmond-tutu-dead.html                End Apartheid Dies                           By Marilyn Berger                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/world/a
2021-12-26   2021-12-27 frica/desmond-tutu-south-africa.html        A Moral Compass Even in Retirement           By Lynsey Chutel                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/world/a Honored as a South African Giant Tutu Is      By Isabella Kwai and Lynsey
2021-12-26   2021-12-27 frica/tutu-death.html                       Revered for Peaceful Ideals                  Chutel                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/world/a Army Accused In Massacre Of Civilians In
2021-12-26   2021-12-27 sia/myanmar-army-killings.html              Myanmar                                      By Richard C Paddock               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/world/e Evacuated to the Netherlands and Struggling
2021-12-26   2021-12-27 urope/afghans-netherlands-migrants.html     to Find Stability                            By Monika Pronczuk                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/world/e Ukraines Civilians Staff a Resistance in
2021-12-26   2021-12-27 urope/ukraine-russia-civilian-training.html Waiting                                      By Andrew E Kramer                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/world/
                        middleeast/archbishop-tutu-cowell-          Everyday Moments When Tutu Shone as a
2021-12-26   2021-12-27 recollection.html                           Spiritual Center of Gravity                  By Alan Cowell                     TX 9-131-897   2022-02-01



                                                                                Page 3180 of 5793
                        https://www.nytimes.com/2021/12/26/sports/f Worth Every Penny Allen Has Bills Back in
2021-12-27   2021-12-27 ootball/bills-josh-allen.html                Control                                      By Ben Shpigel                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/26/sports/f
2021-12-27   2021-12-27 ootball/nfl-week-16-scores.html              What We Learned This Week                    By Emmanuel Morgan               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/arts/tele
                        vision/whats-on-tv-this-week-around-the-
2021-12-27   2021-12-27 world-in-80-days-and-new-years-eve.html      This Week on TV                              By Gabe Cohn                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/busines                                                By Peter S Goodman and Erin
2021-12-27   2021-12-27 s/beef-prices-cattle-ranchers.html           Boom in Beef But Ranchers Cant Cash In       Schaff                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/technol
2021-12-27   2021-12-27 ogy/gdpr-internet-privacy-onetrust.html      Niche Field Parses Rules On Privacy          By David McCabe                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/article/flights-     What You Can Do When Your Flight Has         By Concepcin de Len and Ceylan
2021-07-23   2021-12-28 cancelled-delayed.html                       Been Canceled                                Yeginsu                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/09/science
2021-12-09   2021-12-28 /dog-video-call-separation-anxiety.html      Want a DogPhone Expect a Long Wait           By Christine Chung               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/14/well/liv
2021-12-14   2021-12-28 e/eye-drops-reading-glasses-fda.html         Drops Offer Alternative to Glasses           By Melinda Wenner Moyer          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/15/science
2021-12-15   2021-12-28 /apophis-asteroid-osiris-rex.html            Continuing a Mission To Harass Asteroids     By Jonathan OCallaghan           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/16/science
2021-12-16   2021-12-28 /millipede-1000-legs.html                    Finally a Millipede True to Its Name         By Elizabeth Preston             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/well/liv
2021-12-20   2021-12-28 e/flu-parkinsons.html                        Can the Flu Contribute To Parkinsons Disease By Nicholas Bakalar              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/20/sports/b 18 Highlights From 2021 That Are Worth
2021-12-21   2021-12-28 est-sports-highlights-2021.html              Another Look                                 By The New York Times            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/movies/
2021-12-21   2021-12-28 beyonce-oscars-shortlists.html               Beyonc May Have Her First Oscar Win          By Stephanie Goodman             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/opinion Uber Talks About Safety but Leaves Victims
2021-12-22   2021-12-28 /uber-safety-ride-sharing.html               on Their Own                                 By Greg Bensinger                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/22/science British DNA Reveals a Great Bronze Age
2021-12-22   2021-12-28 /archaeology-britain-migration-dna-reich.html Migration                                 By Franz Lidz                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/well/fit
2021-12-22   2021-12-28 ness-alcohol-drinking-exercise.html           An ExerciseAlcohol Paradox                By Gretchen Reynolds               TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/23/science
2021-12-23   2021-12-28 /ichthyosaurs-whale-dinosaur-evolution.html Sea Lizard Evolved At Breakneck Speed       By Sabrina Imbler                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/science                                              By Anna Filipova and Emily
2021-12-23   2021-12-28 /polar-bear.html                            Keeping Tabs on Svalbards Polar Bears       Anthes                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/technol
2021-12-23   2021-12-28 ogy/tech-won-now-what.html                  Technology Won So Whats Next                By Shira Ovide                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/arts/des
                        ign/george-floyd-painting-catholic-         Controversy Over Artwork Stirs Debate at
2021-12-24   2021-12-28 university.html                             Catholic University                         By Sarah Bahr                      TX 9-131-897   2022-02-01




                                                                                Page 3181 of 5793
                        https://www.nytimes.com/2021/12/24/arts/kur A musical knits together the worlds of Kurt
2021-12-24   2021-12-28 t-weill-lady-in-the-dark-vienna.html        Weill                                         By David Belcher            TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/24/arts/mu
                        sic/bruckner-symphonies-vienna-
2021-12-24   2021-12-28 philharmonic.html                           A break but still working                     By Rebecca Schmid           TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/24/arts/mu
                        sic/vienna-philharmonic-new-years-
2021-12-24   2021-12-28 concert.html                                Everything old is new again                   By Rebecca Schmid           TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/24/arts/po
2021-12-24   2021-12-28 dcast-movies-fiction.html                   Creating a New Form for Podcasts              By Reggie Ugwu              TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/24/busines Review Finds Awarding Of Restaurant Aid
2021-12-24   2021-12-28 s/restaurant-revitalization-fund-problems.html Erratic                                    By Stacy Cowley             TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/24/opinion Fighting Inflation Means Taking On
2021-12-24   2021-12-28 /inflation-truman-biden-corporate-power.html Corporations                                 By Meg Jacobs               TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/24/opinion From the Silent Majority to the Unvaxxed
2021-12-24   2021-12-28 /vaccination-europe-covid-far-right.html     Minority                                     By Ivan Krastev             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/26/health/
                        older-women-financial-hardship-
2021-12-26   2021-12-28 retirement.html                              Its Harder Financially for Older Women       By Paula Span               TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/26/movies/
                        nicole-kidman-being-the-ricardos-lucille-    Nicole Kidman Learned a Lesson Funnys
2021-12-26   2021-12-28 ball.html                                    Hard                                         By Dave Itzkoff             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/26/opinion I Took Ketamine for My Depression Things
2021-12-26   2021-12-28 /depression-ketamine.html                    Got Pretty Weird                             By Vanessa Barbara          TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/26/us/davy A 6th Graders Excellent Day Two Lifesaving
2021-12-26   2021-12-28 on-johnson-student-saves-classmate-fire.html Actions                                  By Eduardo Medina                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/busines Disruptions Continue as Thousands More     By Marc Tracy Daniel Victor Adeel
2021-12-26   2021-12-28 s/weekend-flights-canceled-omicron.html      Flights Are Waylaid                      Hassan and Ana Ley                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/arts/fra
2021-12-27   2021-12-28 nk-gehry-yola-dudamel.html                   From a Burger King to a Concert Hall     By Adam Nagourney                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/books/j Jonathan Spence 85 Who Brought History
2021-12-27   2021-12-28 onathan-spence-dead.html                     Of China to Life Dies                    By Neil Genzlinger                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/books/r
                        eview-brown-girls-daphne-palasi-
2021-12-27   2021-12-28 andreades.html                               Lives Rushing Past Like Express Trains   By Dwight Garner                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/movies/ JeanMarc Valle 58 Who Directed Dallas
2021-12-27   2021-12-28 jean-marc-vallee-dead.html                   Buyers Club and Big Little Lies          By Livia AlbeckRipka              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/movies/
2021-12-27   2021-12-28 mike-faist-west-side-story-riff.html         Keeping His Cool as the New Riff         By Dave Itzkoff                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/nyregio Judge Orders New York City to Install
2021-12-27   2021-12-28 n/nyc-crosswalk-blind-people.html            Thousands of Audible Crosswalk Signals   By Ali Watkins                    TX 9-131-897   2022-02-01




                                                                                  Page 3182 of 5793
                        https://www.nytimes.com/2021/12/27/nyregio New York City Issues Vaccination Mandate
2021-12-27   2021-12-28 n/nyc-vaccine-mandate.html                  For Private Employers                       By Dana Rubinstein                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/science Edward O Wilson Top Evolutionary Biologist
2021-12-27   2021-12-28 /eo-wilson-dead.html                        Dies at 92                                  By Carl Zimmer                    TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/science USRussian Tensions Risk Long Space
2021-12-27   2021-12-28 /russia-nasa-spacex-asat.html               Alliance                                    By Joey Roulette                  TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/technol Jurors Deliberate for a Fourth Day in Holmes
2021-12-27   2021-12-28 ogy/elizabeth-holmes-trial-theranos.html    Fraud Trial                                 By Erin Woo                       TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/technol
2021-12-27   2021-12-28 ogy/the-2021-good-tech-awards.html          The Good Tech Awards                        By Kevin Roose                    TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/theater/
                        trouble-in-mind-caroline-or-change-
2021-12-27   2021-12-28 clydes.html                                 Sisters Among The Many                      By Salamishah Tillet              TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/us/craig Sheriff Pointed Gun At Woman Delivering A
2021-12-27   2021-12-28 rowland-idaho-sheriff-gun.html              Card Officials Say                          By Alyssa Lukpat                  TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/us/mini
2021-12-27   2021-12-28 ng-clean-energy-antimony-tribes.html        CleanEnergy Gold Rush Alarms Tribes in US By Jack Healy and Mike Baker        TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/us/polit Biden Ratifies Defense Bill In Blow to
2021-12-27   2021-12-28 ics/biden-defense-bill.html                 Antiwar Liberals                            By Glenn Thrush                   TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/us/polit Sarah Weddington Who Persuaded Court in
2021-12-27   2021-12-28 ics/sarah-weddington-dead.html              Roe v Wade Dies at 76                       By Katharine Q Seelye             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/us/wins In Virginia a Leader Wants Black Voters to
2021-12-27   2021-12-28 ome-sears-black-voters-republican.html      Rethink the GOP                             By Campbell Robertson             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/well/liv
2021-12-27   2021-12-28 e/blood-pressure-medications.html           Many Medications Can Raise Blood Pressure By Jane E Brody                     TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/world/a Week of Mourning for Tutu Begins in S
2021-12-27   2021-12-28 frica/desmond-tutu-mourning.html            Africa                                      By Zanele Mji and Lynsey Chutel   TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/27/world/a Somalias President Suspends the Prime
2021-12-27   2021-12-28 frica/somalia-prime-minister-suspended.html Minister in an Escalating Political Dispute   By Abdi Latif Dahir             TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/world/a Super Typhoon Rai Brings Devastation to        By Jason Gutierrez and Ezra
2021-12-27   2021-12-28 sia/philippines-super-typhoon-rai.html      Philippines                                   Acayan                          TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/world/e Polands President Says He Will Veto Media
2021-12-27   2021-12-28 urope/poland-media-law.html                 Restrictions Bill Opposed by US               By Andrew Higgins               TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/27/world/e Spain Debates Whether to Give Disgraced
2021-12-27   2021-12-28 urope/spain-king-juan-carlos.html           King a Royal Welcome                          By Nicholas Casey               TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/27/world/
2021-12-27   2021-12-28 middleeast/iraq-election-muqtada-al-sadr.html Iraq Upholds Clerics Win In Parliament      By Vivian Yee and Falih Hassan    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/world/ With Regional Rivals in Decline Saudis
2021-12-27   2021-12-28 middleeast/saudi-arabia-films-movies.html     Angle for Cultural Cachet                   By Vivian Yee and Ben Hubbard TX 9-131-897       2022-02-01
                        https://www.nytimes.com/2021/12/27/health/ Isolation Period Cut to Five Days for the Less By Benjamin Mueller and Isabella
2021-12-28   2021-12-28 omicron-cdc.html                              Ill                                         Grulln Paz                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/us/14-
2021-12-28   2021-12-28 year-old-girl-shooting-los-angeles.html       Videos Show Tumult as Attacker Raged        By Jill Cowan and Christine Chung TX 9-131-897   2022-02-01



                                                                                 Page 3183 of 5793
                        https://www.nytimes.com/2021/12/28/busines Video Game Maker To Pay 100 Million Over
2021-12-28   2021-12-28 s/riot-games-gender-discrimination-case.html Discrimination                               By Kellen Browning                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/health/s
2021-12-28   2021-12-28 ickle-cell-genetic-testing.html              A Sickle Cell HeadsUp Is Often Overlooked By Gina Kolata                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/nyregio Brake Lights Big City Traffic Is Worse Than By Winnie Hu Patrick McGeehan
2021-12-28   2021-12-28 n/nyc-traffic-today.html                     Ever                                         and Nate Schweber                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/reader-
2021-12-28   2021-12-28 center/holmes-trial-coverage.html            Getting a Seat at the Holmes Trial           By Erin Griffith                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/science
2021-12-28   2021-12-28 /moon-mars-titan-simulations.html            Simulated Planets                            By Sarah Scoles                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/sports/t They Could Play Forever Youth Are Taking
2021-12-28   2021-12-28 etris-game.html                              Over Tetris                                  By Zach Schonbrun                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/world/e
                        urope/nord-stream-pipeline-germany-          RussiatoGermany Gas Pipeline Is Not a Sure
2021-12-28   2021-12-28 russia.html                                  Bet                                          By Melissa Eddy                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/07/arts/mu                                                By Jon Pareles Jon Caramanica and
2021-12-07   2021-12-29 sic/best-songs.html                          The Best Pop Songs of 2021                   Lindsay Zoladz                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/world/a WaterStressed India Seeks a Tap for Every      By Mujib Mashal Hari Kumar and
2021-12-21   2021-12-29 sia/india-water-modi.html                    Home                                         Saumya Khandelwal                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/dining/
2021-12-22   2021-12-29 drinks/new-years-cocktails.html              Effervescent Cocktails to Ring In 2022       By Rebekah Peppler                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/dining/
2021-12-22   2021-12-29 wine-braised-chicken.html                    An Everyday Bird Goes Deluxe                 By Melissa Clark                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/dining/
2021-12-23   2021-12-29 shrimp-cocktail-recipe.html                  Shrimp Cocktail The More the Better          By Eric Kim                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/23/opinion Will Trump Get Away With Inciting an           By Laurence H Tribe Donald Ayer
2021-12-23   2021-12-29 /trump-capitol-riot-january-6th.html         Insurrection                                 and Dennis Aftergut               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/24/dining/
2021-12-24   2021-12-29 black-eyed-peas-greens-new-years.html        The Messy Origins of a New Years Custom By Kayla Stewart                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/arts/tele
2021-12-27   2021-12-29 vision/yellowjackets-juliette-lewis.html     Energy Sustains Her Life and Work            By Melena Ryzik                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/dining/ To Celebrate One Cookbook Offers A Year of
2021-12-27   2021-12-29 52-shabbats-cookbook.html                    Shabbats                                     By Florence Fabricant             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/dining/
                        bona-furtuna-andarino-ciccioneddo-
2021-12-27   2021-12-29 lorighitta.html                              To Sauce Sardinian Pasta Has Plenty of Flair By Florence Fabricant             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/dining/
                        drinks/the-what-and-why-of-orange-
2021-12-27   2021-12-29 wines.html                                   Exploring the Fine Details                   By Eric Asimov                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/dining/
                        drinks/wine-school-cabernet-sauvignon-
2021-12-27   2021-12-29 california.html                              California Cabernet Beyond the Stereotypes By Eric Asimov                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/dining/ To Crown Galette des Rois Available for
2021-12-27   2021-12-29 galette-des-rois.html                        Delivery                                     By Florence Fabricant             TX 9-131-897   2022-02-01



                                                                                Page 3184 of 5793
                        https://www.nytimes.com/2021/12/27/dining/ To Fuel Elusive Smoky Heat Now Within
2021-12-27   2021-12-29 gran-luchito-chipotle-paste.html            Reach                                       By Florence Fabricant              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/dining/i
2021-12-27   2021-12-29 talian-beef-restaurants.html                Italian Beef Beyond Its Hometown Base       By Robert Simonson                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/dining/i
2021-12-27   2021-12-29 talian-beef-sandwich-chicago.html           Chicago on a Roll                           By Priya Krishna                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/dining/ To Cook Colorful Baking Dishes That Are
2021-12-27   2021-12-29 sowaca-ceramic-dish.html                    Versatile Too                               By Florence Fabricant              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/dining/
                        zoe-adjonyoh-museum-of-food-and-            To Learn A Call to Decolonize The Food
2021-12-27   2021-12-29 drink.html                                  Industry                                    By Florence Fabricant              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/opinion
2021-12-27   2021-12-29 /colombia-peace-agreement.html              Colombia Cant Afford to Abandon Peace       By Carolina Jimnez Sandoval        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/arts/des
2021-12-28   2021-12-29 ign/ny-public-library-treasures.html        A Cabinet of Wonders Opens Wide             By Jennifer Schuessler             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/arts/mu
2021-12-28   2021-12-29 sic/duane-pitre-just-intonation.html        A Former Skating Star Now Explores Sound By Grayson Haver Currin               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/books/s
2021-12-28   2021-12-29 toicism-books.html                          Catastrophe What Would A Stoic Do           By Molly Young                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/busines New Covid Rules Perplex SmallBusiness
2021-12-28   2021-12-29 s/cdc-isolation-guidelines-businesses.html  Owners                                      By Emma Goldberg                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/busines
                        s/elizabeth-holmes-trial-jury-              Jurors Deliberate for Fifth Day in Trial of
2021-12-28   2021-12-29 deliberations.html                          Theranoss Holmes                            By Erin Woo                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/busines Appeals Court Allows New York Times to
2021-12-28   2021-12-29 s/media/nyt-project-veritas.html            Keep Project Veritas Memos for Now          By Michael M Grynbaum              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/busines                                              By Kristen Bayrakdarian and Maia
2021-12-28   2021-12-29 s/new-york-commercial-real-estate.html      Transactions                                Coleman                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/busines The Rising Cost Of Getting Offices Up and
2021-12-28   2021-12-29 s/offices-coronavirus.html                  Running                                     By Julie Weed                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/busines
                        s/tax-break-qualified-small-business-       Tech Giants Exploit a Tax Dodge for         By Jesse Drucker and Maureen
2021-12-28   2021-12-29 stock.html                                  StartUps                                    Farrell                            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/climate Chile Is Rewriting Constitution To Battle    By Somini Sengupta and Marcos
2021-12-28   2021-12-29 /chile-constitution-climate-change.html     Ecological Emergency                        Zegers                             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/dining/f
2021-12-28   2021-12-29 ood-trends-predictions-2022.html            Eating With an Eye on the Future            By Kim Severson                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/dining/ A New Years Bash for Noda and a Closing
2021-12-28   2021-12-29 nyc-restaurant-openings.html                for Benno                                   By Florence Fabricant              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/health/c Omicron Variant Might Help Defend Against
2021-12-28   2021-12-29 ovid-omicron-antibodies-delta.html          Delta a Lab Study Suggests                  By Carl Zimmer                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/health/
2021-12-28   2021-12-29 omicron-kids-hospitalizations.html          Children Crowd US Hospitals Few Dire Cases By Andrew Jacobs                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/movies/
2021-12-28   2021-12-29 pariah-black-lesbian-characters.html        How the Bold Pariah Became an Inspiration By Beandrea July                     TX 9-131-897   2022-02-01



                                                                                Page 3185 of 5793
                        https://www.nytimes.com/2021/12/28/needies
                        t-cases/in-another-pandemic-year-rising-to- Rising to the Challenge Of Maintaining
2021-12-28   2021-12-29 meet-challenges.html                        Services In Another Trying Year             By Emma Grillo                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/nyregio To Keep Schools Open City Turns To More
2021-12-28   2021-12-29 n/nyc-schools-covid-testing-students.html   Testing                                     By Eliza Shapiro                 TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/nyregio Man Went to Jail Ready to Plead Guilty He
2021-12-28   2021-12-29 n/prison-fight-beating-jayshawn-boyd.html   Left in a Coma After a Beating              By Tracey Tully                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/opinion
2021-12-28   2021-12-29 /2021-political-stories-politicians.html    The 2021 Yearbook of US Politics            By Michelle Cottle               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/opinion The CDC Got Some of Its New Covid
2021-12-28   2021-12-29 /covid-isolation-guidelines.html            Guidelines Wrong                            By Aaron E Carroll               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/sports/c The Virus Is Derailing Bowl Games Will
2021-12-28   2021-12-29 ollege-football-holiday-bowl.html           There Be a Playoff                          By Kevin Draper and Alan Blinder TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/theater/ Aint Too Proud to Close as Covid Continues
2021-12-28   2021-12-29 broadway-aint-too-proud-closing.html        to Take a Toll                              By Michael Paulson               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/us/denv Five Are Killed by Gunman In Spree Across
2021-12-28   2021-12-29 er-shooting-lakewood.html                   Denver Area                                 By Azi Paybarah and Mike Ives    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/us/la-
                        police-shooting-valentina-orellana-         Recounting Dreams and Death of Girl Hit by
2021-12-28   2021-12-29 peralta.html                                a Stray Police Bullet                       By Jill Cowan and Giulia Heyward TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/us/polit Ethics Inquiries Are Increasingly Met by
2021-12-28   2021-12-29 ics/congress-ethics-investigations.html     Uncooperative Lawmakers                     By Luke Broadwater               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/us/polit US and Russia Agree to Talks Amid Growing
2021-12-28   2021-12-29 ics/nato-russia-ukrain-us.html              Tensions Over Ukraine                       By David E Sanger                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/us/polit Jan 6 Panel to Shelve Its Requests for
2021-12-28   2021-12-29 ics/trump-jan-6.html                        Hundreds of Trump Records                   By Glenn Thrush                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/world/a Record Floods Stun Northern Brazil Killing
2021-12-28   2021-12-29 mericas/brazil-floods-climate-change.html   20 and Displacing Thousands                 By Flvia Milhorance              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/world/a
                        sia/india-mother-teresa-charity-            India Cuts Off Foreign Donations to Charity
2021-12-28   2021-12-29 crackdown.html                              Started by Mother Teresa                    By Karan Deep Singh              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/world/a Theyve Spent a Lifetime In Pakistan but      By Zia urRehman and Saiyna
2021-12-28   2021-12-29 sia/refugees-afghanistan-pakistan.html      Remain In Danger of Deportation             Bashir                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/world/e Fears of Omicron Are Tempered by Signs of
2021-12-28   2021-12-29 urope/omicron.html                          Milder Illness                              By Marc Santora and Megan Specia TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/world/e
                        urope/porretta-terme-italy-don-             Protect My Team An Italian Towns Patron of
2021-12-28   2021-12-29 maestrello.html                             the Paint                                   By Jason Horowitz                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/world/e As Putin Airbrushes History Gulag Chronicler By Ivan Nechepurenko and Andrew
2021-12-28   2021-12-29 urope/russia-memorial-human-rights.html     Is Shut Down                                E Kramer                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/world/e Castle Breach Stirs Debate Over Britains
2021-12-28   2021-12-29 urope/windsor-castle-intruder.html          Crossbow Law                                By Isabella Kwai                 TX 9-131-897   2022-02-01




                                                                               Page 3186 of 5793
                        https://www.nytimes.com/live/2021/12/28/wo
                        rld/omicron-covid-vaccine-tests/the-cdc-
                        significantly-lowers-its-estimate-of-omicrons- Agency Cuts Its Estimate Of Prevalence Of    By Sabrina Imbler and Emily
2021-12-28   2021-12-29 prevalence-nationwide                          Omicron                                      Anthes                          TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/28/health/c CDC Faulted for Halving Quarantines
2021-12-29   2021-12-29 ovid-isolation-period-omicron.html             Without Requiring Negative Test              By Benjamin Mueller             TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/28/nyregio New Jersey Justices Vacate Conviction in
2021-12-29   2021-12-29 n/murder-mother-son-conviction.html            Childs Death                                 By Ed Shanahan                  TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/28/sports/f John Madden Exuberant Face and Voice of
2021-12-29   2021-12-29 ootball/john-madden-dead.html                  the NFL Dies at 85                           By Ben Shpigel                  TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/28/us/polit Harry M Reid a Power in the Senate During
2021-12-29   2021-12-29 ics/harry-reid-dead.html                       the Obama Era Dies at 82                     By Jonathan Martin              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/busines
2021-12-29   2021-12-29 s/discord-server-social-media.html             Game Maker Makes Shift To Chat Host          By Kellen Browning              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/busines
2021-12-29   2021-12-29 s/discord-users-gen-z.html                     5 Ways Young People Are Using Discord        By Kellen Browning              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/busines
2021-12-29   2021-12-29 s/uk-companies-brexit-trade.html               UK Trade With EU Is Stifled By Red Tape      By Eshe Nelson                  TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/insider/
                        how-times-reporters-handle-celebrity-
2021-12-29   2021-12-29 interviews.html                                How Reporters Interview Celebrities          By Sarah Bahr                   TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/sports/f After a Dismal 2020 the Eagles Are
2021-12-29   2021-12-29 ootball/philadelphia-eagles-playoffs.html      Surprisingly Back                            By Mike Tanier                  TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/sports/h On Some Nationally Ranked Teams The
2021-12-29   2021-12-29 ockey/myhockey-youth-rankings.html             Veterans Will Soon Turn 11                   By David Andreatta              TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/world/a ProDemocracy News Site in Hong Kong Is
2021-12-29   2021-12-29 sia/hong-kong-stand-news-arrest.html           Raided by Police With 6 Arrests Made         By Vivian Wang                  TX 9-131-897    2022-02-01
                        https://www.nytimes.com/article/what-is-
2021-11-29   2021-12-30 ghislaine-maxwell-charged-with.html            About the Charges                            By Rebecca Davis OBrien         TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/22/arts/tele
2021-12-22   2021-12-30 vision/emily-in-paris-season-two.html          In Paris Like Emily                          By Jason Farago                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/22/movies/                                                  By Erik Piepenburg Devika Girish
                        best-sci-fi-horror-action-international-                                                    Elisabeth Vincentelli and Robert
2021-12-22   2021-12-30 movies.html                                    The Years Standout Genre Movies to Stream    Daniels                          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/live/2021/12/22/bus
                        iness/news-business-stock-market/the-ceos-to-                                               By Stephen Gandel Lauren Hirsch
2021-12-22   2021-12-30 keep-an-eye-on-in-2022                         These CEOs Are Facing Big Tests in 2022      and Sarah Kessler               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/23/style/co
2021-12-23   2021-12-30 vid-quarantine-anxiety.html                    A First Quarantines Lessons Ease Round 2     By Alyson Krueger               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/23/well/dr
2021-12-23   2021-12-30 y-january-mindful-drinking.html                Scaling Back a Habit With Mindful Drinking   By Dani Blum                    TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/24/opinion
2021-12-24   2021-12-30 /joan-didion-books.html                        The Prophetic Eye Of Joan Didion             By Michiko Kakutani             TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/24/us/gord Gordon Carey 89 Unsung Catalyst In the
2021-12-24   2021-12-30 on-carey-dead.html                             Civil Rights Movement Dies                   By Katharine Q Seelye           TX 9-131-897    2022-02-01



                                                                                  Page 3187 of 5793
                        https://www.nytimes.com/2021/12/27/opinion
2021-12-27   2021-12-30 /omicron-hope.html                           An ICU Doctors Hope Amid Covid            By Daniela J Lamas                TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/28/arts/mu
2021-12-28   2021-12-30 sic/adele-christmas-30-billboard.html        Its Pretty Much All Adele All the Time    By Joe Coscarelli                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/28/arts/nei Neil Marcus 67 a Playwright and Actor
2021-12-28   2021-12-30 l-marcus-dead.html                           Whose Works Shed a Light on Disability    By Annabelle Williams             TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/28/climate Thomas Lovejoy Who Pushed to Preserve the
2021-12-28   2021-12-30 /thomas-lovejoy-dead.html                    Amazon Dies at 80                         By Richard Sandomir               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/28/style/br
2021-12-28   2021-12-30 unette-hair-trend.html                       Rich Brunette Shades Are Turning Heads    By Kristen Bateman                TX 9-131-897    2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ Why Covid Death Rates Are Rising for Some
2021-12-28   2021-12-30 28/us/covid-deaths.html                      Groups                                    By Denise Lu and Albert Sun       TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/28/opinion We Need to Listen to Archbishop Tutu About
2021-12-29   2021-12-30 /desmond-tutu-america-justice.html           Forgiveness                               By Michael Eric Dyson             TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/arts/des
                        ign/de-blasio-monuments-memorials-
2021-12-29   2021-12-30 restoration.html                             Monuments to Disrepair                    By Zachary Small                  TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/arts/mu
2021-12-29   2021-12-30 sic/mother-concerts.html                     Watching My Mother Watch Music            By Jon Caramanica                 TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/books/s
                        carlett-thomas-41-love-tennis-memoir-
2021-12-29   2021-12-30 interview.html                               A Love Rekindled Turns Into a Raging Fire By John Williams                  TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/29/busines Jury Ends Day 6 of Deliberations in Holmes
2021-12-29   2021-12-30 s/elizabeth-holmes-trial-theranos-jury.html Fraud Trial                               By Erin Woo                        TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/busines                                            By Peter S Goodman and Erin
2021-12-29   2021-12-30 s/meat-factories-covid.html                 Dread Persists on Slaughterhouse Floor    Schaff                             TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/nyregio Doubling Down on New York and Bringing a
2021-12-29   2021-12-30 n/chelsea-nyc-coronavirus.html              Neighborhood Back                         By Mihir Zaveri                    TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/29/nyregio                                                By Emma G Fitzsimmons and
2021-12-29   2021-12-30 n/eric-adams-frank-carone-chief-of-staff.html Trusted Ally to Head Adamss Staff           Michael Rothfeld               TX 9-131-897    2022-02-01

                        https://www.nytimes.com/2021/12/29/nyregio                                                By Benjamin Weiser Rebecca
2021-12-29   2021-12-30 n/ghislaine-maxwell-guilty-verdict.html     Maxwell Guilty Of Trafficking                 Davis OBrien and Colin Moynihan TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/opinion Holiday Travelers Are Stranded but Dont
2021-12-29   2021-12-30 /omicron-airlines-flights.html              Blame Only the Airlines                       By Peter Coy                   TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/sports/b FillIn Contracts Give Hopefuls a Chance and
2021-12-29   2021-12-30 asketball/nba-g-league-contracts.html       a Nice Payday                                 By Tania Ganguli               TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/sports/f
2021-12-29   2021-12-30 ootball/john-madden-nfl-photos.html         From Sideline to Booth to American Lore       By The New York Times          TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/sports/f How an OldSchool Coach Inspired               By Kellen Browning and Kevin
2021-12-29   2021-12-30 ootball/john-madden-nfl-video-game.html     CuttingEdge Gaming                            Draper                         TX 9-131-897    2022-02-01
                        https://www.nytimes.com/2021/12/29/sports/f With a Boom and a Pow An Outsize
2021-12-29   2021-12-30 ootball/john-madden-tv-broadcasting.html    Personality Who Lived for the Game            By Richard Sandomir            TX 9-131-897    2022-02-01



                                                                                 Page 3188 of 5793
                        https://www.nytimes.com/2021/12/29/style/a- Yours for 85 Million the Home of Their
2021-12-29   2021-12-30 story-of-love-and-obsession.html            Dreams                                     By Penelope Green                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/style/m
2021-12-29   2021-12-30 urano-glass-jewelry.html                    Glassware Inspired by Murano               By Hilary Reid                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/us/polit
2021-12-29   2021-12-30 ics/mask-mandate-fines-greene-clyde.html    Republicans Rack Up Fines Over Mask Rule   By Luke Broadwater               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/us/polit
2021-12-29   2021-12-30 ics/omicron-tests-hospitals.html            Early Omicron Data Suggests Fewer Deaths   By Noah Weiland                  TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/29/world/a Face to Face 11 Years After We Tried to Kill
2021-12-29   2021-12-30 sia/afghanistan-taliban-helmand-marja.html Each Other                                    By Thomas GibbonsNeff          TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/world/a Fleeing Myanmars Terror for an Insecure
2021-12-29   2021-12-30 sia/myanmar-coup-refugees.html                Future                                     By SuiLee Wee                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/world/e
                        urope/europe-omicron-infection-record-        Spurred by Omicron Europe Is Setting Virus
2021-12-29   2021-12-30 covid.html                                    Case Records Daily                         By Marc Santora                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/world/e
                        urope/france-left-presidential-election-      French Left Shrunken and Splintered Faces By Constant Mheut and Lontine
2021-12-29   2021-12-30 primary.html                                  Pressure to Unite After a Primary          Gallois                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/world/e
                        urope/russia-memorial-human-rights-           Loss of Rights Group Saddens the Russians By Valerie Hopkins and Ivan
2021-12-29   2021-12-30 center.html                                   Touched by Its Work                        Nechepurenko                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/world/ Israel Faces Severe Blow to Wildlife Amid
2021-12-29   2021-12-30 middleeast/israel-avian-flu.html              Outbreak of Avian Flu                      By Isabel Kershner             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/article/voting-rights-The Battle Over Voting Rights Where Things
2021-12-29   2021-12-30 tracker.html                                  Stand                                      By Nick Corasaniti             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/health/c Officials Debate Critical Phrase Fully       By Emily Anthes and Noah
2021-12-30   2021-12-30 ovid-vaccinations-boosters.html               Vaccinated                                 Weiland                        TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/nyregio City Struggling To Keep Going As Virus        By Andy Newman and Dana
2021-12-30   2021-12-30 n/covid-new-york-omicron-shutdown.html        Spikes                                     Rubinstein                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/us/polit Biden to Hold Another Call On Ukraine With By David E Sanger and Andrew E
2021-12-30   2021-12-30 ics/biden-putin-call-ukraine.html             Putin                                      Kramer                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/us/polit For Elections Michigan Maps Are a Step
2021-12-30   2021-12-30 ics/michigan-congressional-maps.html          Toward a Fair Fight                        By Nick Corasaniti             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/us/polit
                        ics/pentagon-guantanamo-secret-               New Secret Courtroom Planned for
2021-12-30   2021-12-30 courtroom.html                                Guantnamo                                  By Carol Rosenberg             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/30/insider/
                        is-there-such-a-thing-as-a-slow-news-
2021-12-30   2021-12-30 week.html                                     Does a Slow News Week Exist                By Megan DiTrolio              TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/30/nyregio Move to Collect Cuomo Book Profits Is
2021-12-30   2021-12-30 n/cuomo-book-jcope.html                       Stalled                                    By Grace Ashford               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/30/style/ne
2021-12-30   2021-12-30 tflix-cheer-monica-aldama.html                Cheer and the Coach Are Back               By Ilana Kaplan                TX 9-131-897   2022-02-01




                                                                              Page 3189 of 5793
                        https://www.nytimes.com/2021/12/30/technol The Metaverses Dark Side Here Come               By Sheera Frenkel and Kellen
2021-12-30   2021-12-30 ogy/metaverse-harassment-assaults.html     Harassment and Assaults                          Browning                       TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/30/technol
2021-12-30   2021-12-30 ogy/metaverse-virtual-reality-big-tech.html A Virtual World Enter Here                      By Cade Metz                   TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/30/us/penn After 4 Killings State Trooper Is Still on the   By Kim Barker Steve Eder and
2021-12-30   2021-12-30 sylvania-trooper-jay-splain-investigation.html Job                                          David D Kirkpatrick            TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/21/movies/
2021-12-21   2021-12-31 pig-val-adrienne-streaming-movies.html         Catching Up on Cinematic Gems                By Jason Bailey                TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/26/arts/des
2021-12-26   2021-12-31 ign/disney-metropolitan-museum-of-art.html The Met Wishes Upon a Star               By Max Lakin                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/27/arts/mu
                        sic/documentaries-beatles-summer-of-soul-
2021-12-27   2021-12-31 billie-eilish.html                          It Was Time To Look Deep Into Pop Music By Jon Pareles                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/28/arts/mu JD Crowe 84 Virtuoso With Vision On the
2021-12-28   2021-12-31 sic/jd-crowe-dead.html                      Banjo                                   By Bill FriskicsWarren                 TX 9-131-897   2022-02-01

                        https://www.nytimes.com/2021/12/29/arts/des How a Small Hare Figurine Sparked a Story
2021-12-29   2021-12-31 ign/jewish-museum-hare-amber-dewaal.html of Survival                                  By Karen Rosenberg                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/arts/tele
2021-12-29   2021-12-31 vision/book-of-boba-fett-review.html         A Star Wars Figure Gets His Own Chapter  By Mike Hale                         TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/arts/tele
                        vision/new-years-eve-movies-shows-
2021-12-29   2021-12-31 livestreams.html                             Stream In The Year Safely At Home        By Erik Piepenburg                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/busines                                            By Sydney Ember and Sapna
2021-12-29   2021-12-31 s/baby-parents-supply-chain.html             Baby Grows As Do Delays For Furniture    Maheshwari                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/busines
2021-12-29   2021-12-31 s/economy/us-economic-trends-2021.html       The Social Trends of 2021                By Jeanna Smialek                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/busines Lee Kaufman Whose Cleaning Ads Whisked
2021-12-29   2021-12-31 s/media/lee-kaufman-dead.html                Her to Stardom Dies at 99                By Neil Genzlinger                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/movies/
2021-12-29   2021-12-31 jockey-review.html                           It Was One Helluva Ride Though           By Manohla Dargis                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/29/us/okla Low Costs of Entry Spur a Marijuana Boom
2021-12-29   2021-12-31 homa-marijuana-boom.html                     in Oklahoma                              By Simon Romero                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/30/arts/des
                        ign/richard-benson-photography-review-       To Understand Printing He Mastered
2021-12-30   2021-12-31 philadelphia.html                            Photography                              By Arthur Lubow                      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/30/arts/sea
2021-12-30   2021-12-31 l-team-review.html                           Seal Team                                By Amy Nicholson                     TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/30/arts/tele
2021-12-30   2021-12-31 vision/amy-schneider-jeopardy.html           Jeopardy Contestant Racks Up 21st Win    By Maria Cramer and Jenny Gross      TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/30/arts/tele
2021-12-30   2021-12-31 vision/cobra-kai-queer-eye-netflix.html      This Weekend I Have                      By Margaret Lyons                    TX 9-131-897   2022-02-01



                                                                                  Page 3190 of 5793
                        https://www.nytimes.com/2021/12/30/books/j Waiting for These Volumes to Drop in the
2021-12-30   2021-12-31 anuary-2022-books.html                        New Year                                  By Joumana Khatib                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/busines
2021-12-30   2021-12-31 s/cars-brand-experience-centers.html          Its Not a Showroom Its a Brand Experience By Brett Berk                     TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/busines Tesla Recalls More Than 475000 Model S
2021-12-30   2021-12-31 s/tesla-recall.html                           and Model 3 Sedans Over Defects           By Neal E Boudette                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/movies/
2021-12-30   2021-12-31 poupelle-of-chimney-town-review.html          Poupelle of Chimney Town                  By Ben Kenigsberg                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/movies/
2021-12-30   2021-12-31 the-lost-daughter-review.html                 A Mysterious Mothers Work Is Never Done By Jeannette Catsoulis              TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/nyregio Manhattan DA Passes Trump Case to
2021-12-30   2021-12-31 n/cy-vance-trump-investigation.html           Successor As He Leaves Office             By Jonah E Bromwich               TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/nyregio Drug Company Found Liable in a Landmark By Sarah Maslin Nir Jan Hoffman
2021-12-30   2021-12-31 n/teva-opioid-trial-verdict.html              Opioids Trial in New York                 and Lola Fadulu                   TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/obituari
                        es/deaths-in-2021-headline-names-against-the- Deaths in 2021 Boldface Names Against the
2021-12-30   2021-12-31 backdrop-of-pandemic.html                     Backdrop of Covid                         By William McDonald               TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/opinion
2021-12-30   2021-12-31 /hall-of-fame.html                            Bonds and Clemens Belong in Cooperstown By Jeff Novitzky                    TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/opinion
2021-12-30   2021-12-31 /supreme-court-republican.html                Do We Have the Supreme Court We Deserve By Linda Greenhouse                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/opinion
2021-12-30   2021-12-31 /watch-night-new-years-eve.html               Tonight We Honor Slaverys End             By Esau McCaulley                 TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/30/science Shots Cause Few Ill Effects For Children        By Benjamin Mueller and Andrew
2021-12-30   2021-12-31 /covid-vaccine-5-11-years-old-cdc-report.html Studies Show                                 Jacobs                           TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/30/sports/n
                        caafootball/covid-college-football-
2021-12-30   2021-12-31 playoff.html                                  A Season of Disruption Hobbles to the Finish By Billy Witz                    TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/30/theater/
                        broadway-design-company-diana-
2021-12-30   2021-12-31 musical.html                                  When the Set Upstages the Show               By Jesse Green                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/30/theater/ Theater 80 an Institution Fights for Its
2021-12-30   2021-12-31 theater-80-st-marks-nyc.html                  Existence                                    By Bill Hughes                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/30/us/at- Questions Over Actual Counts As More
2021-12-30   2021-12-31 home-rapid-covid-tests-cases.html             People Test at Home                          By Sophie Kasakove               TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/30/us/los-
                        angeles-police-burlington-shooting-william- Officer in Fatal Shooting Was Mentor and       By Jill Cowan Giulia Heyward and
2021-12-30   2021-12-31 dorsey-jones.html                             Coach                                        Christine Chung                  TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/30/us/polit Vaccine Boosters to be Authorized for Ages By Noah Weiland and Sharon
2021-12-30   2021-12-31 ics/boosters-12-15-year-olds-omicron.html     12 to 15                                     LaFraniere                       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/30/world/a
                        mericas/bbc-alan-dershowitz-ghislaine-        BBC Plans to Examine Dershowitz
2021-12-30   2021-12-31 maxwell-epstein.html                          Appearance On Maxwell Segment                By Aina J Khan                   TX 9-131-897   2022-02-01




                                                                                Page 3191 of 5793
                        https://www.nytimes.com/2021/12/30/world/a ExAfghan President Says Sudden Flight Was
2021-12-30   2021-12-31 sia/ashraf-ghani-bbc-interview.html          Necessary to Save Kabul                     By Sharif Hassan                  TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/world/a Indonesia Relents Permitting Help For 120 By Mike Ives and Muktita
2021-12-30   2021-12-31 sia/indonesia-rohingya-boat.html             Rohingya In Stranded Boat                   Suhartono                         TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/world/e
                        urope/kyiv-ukraine-war-russia-bomb-          Ukrainians Carrying On Focusing on the New By Maria Varenikova and Andrew
2021-12-30   2021-12-31 shelters.html                                Year Despite Bomb Shelter Talk              E Kramer                          TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/world/e To Explore Other Worlds It Took a Global
2021-12-30   2021-12-31 urope/webb-telescope-launch-space.html       Effort                                      By Nicholas Casey                 TX 9-131-897     2022-02-01
                        https://www.nytimes.com/interactive/2021/12/ See Where Virus Cases Are Rising Fastest as By Lazaro Gamio Albert Sun and
2021-12-30   2021-12-31 30/world/covid-cases-omicron.html            Global Count Tops One Million Per Day       Alexandria Symonds                TX 9-131-897     2022-02-01
                                                                                                                 By Michael Levenson Christine
                        https://www.nytimes.com/live/2021/12/30/us/                                              Chung Alyssa Lukpat and Mike
2021-12-30   2021-12-31 colorado-fires/colorado-wildfire-evacuations Tens of Thousands Flee Blazes in Colorado Ives                                TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/busines Travel Turmoil As Covid Cases Hinder          By Niraj Chokshi and Heather
2021-12-31   2021-12-31 s/flights-cancelled.html                     Airlines                                    Murphy                            TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/nyregio
                        n/eric-adams-vaccine-mandate-private-        Adams Says Hell Extend Many Pandemic        By Dana Rubinstein and Joseph
2021-12-31   2021-12-31 employers.html                               Policies Put in Place by de Blasio          Goldstein                         TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/nyregio
                        n/prosecutors-ghislaine-maxwell-             Avoiding Sideshow Maxwell Prosecutors       By Rebecca Davis OBrien and
2021-12-31   2021-12-31 conviction.html                              Shed Little Light on Epstein                Benjamin Weiser                   TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/opinion
2021-12-31   2021-12-31 /brooks-sidney-awards-2021.html              The Sidney Awards                           By David Brooks                   TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/us/polit                                              By David E Sanger and Andrew E
2021-12-31   2021-12-31 ics/biden-putin-ukraine-call.html            Putin Warns Of a Rupture Over Ukraine       Kramer                            TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/30/us/polit Navy Fires Top Officers Of Warship A Rare
2021-12-31   2021-12-31 ics/uss-montgomery-captain-fired.html        Turn                                        By Eric Schmitt                   TX 9-131-897     2022-02-01

                        https://www.nytimes.com/2021/12/30/us/whit Man Headed to Washington Had Hit List
2021-12-31   2021-12-31 e-house-hit-list-kuachua-brillion-xiong.html Officials Say                                By Isabella Grulln Paz           TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/31/busines Leaders Rewrite Playbook As Virus Sows         By David Gelles and Emma
2021-12-31   2021-12-31 s/ceos-pandemic-leadership.html              Uncertainty                                  Goldberg                         TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/31/busines
2021-12-31   2021-12-31 s/slow-elizabeth-holmes-trial.html           Holmes Trial Meanders To a Finish            By Erin Griffith                   TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/31/insider/                                               By Times Insider Staff and Suerynn
2021-12-31   2021-12-31 72-of-our-favorite-facts-of-2021.html        72 of Our Favorite Facts of 2021             Lee                                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/31/insider/
2021-12-31   2021-12-31 commenters-tell-the-story-of-the-year.html   A Year in Reader Comments                    By Kari Haskell                  TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/31/nyregio Schools Chancellors Path To Reopening
2021-12-31   2021-12-31 n/meisha-porter-nyc-schools-covid.html       Classrooms                                   By Lola Fadulu                   TX 9-131-897     2022-02-01
                        https://www.nytimes.com/2021/12/31/sports/c Toss the Polls Time for the Teams to Decide
2021-12-31   2021-12-31 ollege-football-playoff-matchups.html        Whos the Best                                By Alanis Thames                 TX 9-131-897     2022-02-01




                                                                                 Page 3192 of 5793
                        https://www.nytimes.com/2021/12/31/sports/
2021-12-31   2021-12-31 most-memorable-sports-moments-2021.html Reflections on 2021 Humanity Wins Again             By The New York Times             TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/31/technol With Digital Dragnet Chinese Police Hunt
2021-12-31   2021-12-31 ogy/china-internet-police-twitter.html         Critics Near and Far                         By Muyi Xiao and Paul Mozur       TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/12/31/world/
                        middleeast/israel-mount-sinai-burning-         Is It a Burning Bush Mt Sinai Solstice
2021-12-31   2021-12-31 bush.html                                      Bolsters a Claim                             By Isabel Kershner                TX 9-131-897   2022-02-01
                        https://www.nytimes.com/2021/11/15/travel/b Trying to Save a Bulgarian Railroad And
2021-11-15   2022-01-01 ulgaria-narrow-gauge-railway.html              Sabie Djikovas Milk Route                    By Jodi Hilton                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/17/arts/bes
2021-12-17   2022-01-01 t-comedy.html                                  The Comedy Highlights of 2021                By Jason Zinoman                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/24/arts/tele
                        vision/sex-and-the-city-girls-girlfriends-run-
2021-12-24   2022-01-01 the-world.html                                 Competition in a Sex and the City World      By Maya Phillips                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/27/us/richa Richard Marcinko 81 Founding Commander
2021-12-27   2022-01-01 rd-marcinko-dead.html                          of SEAL Team 6                               By Vimal Patel and Azi Paybarah   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/28/arts/des
                        ign/marabar-national-geographic-american- For 500Ton Artwork Salvation Is Just Four
2021-12-28   2022-01-01 university.html                                Miles Away                                   By Rebecca J Ritzel               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/opinion At Guantnamo the Ends Dont Justify the
2021-12-29   2022-01-01 /guantanamo-lawyer.html                        Means                                        By Aaron Shepard                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/sports/s For 30 Years Its Been All Uphill He Might
2021-12-29   2022-01-01 ki-uphill-breckenridge-doc-pj.html             Not Enjoy It Otherwise                       By Shauna Farnell                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/arts/bes                                                 By Laura ONeill Jolie Ruben and
2021-12-30   2022-01-01 t-arts-photos-2021.html                        Our Favorite Arts Photos                     Jessie Wender                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/arts/mu
2021-12-30   2022-01-01 sic/sam-fender.html                            A SingerSongwriter Caught in Two Worlds      By Alex Marshall                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/books/b Ben McFall Bookseller Who Became The
2021-12-30   2022-01-01 en-mcfall-dead.html                            Heart Of the Strand Dies at 73               By Alex Traub                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/opinion Biden Should Think Creatively to Protect         By David S Cohen Greer Donley
2021-12-30   2022-01-01 /abortion-pills-biden.html                     Abortion Rights                              and Rachel Rebouch                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/opinion
2021-12-30   2022-01-01 /inflation-economy-biden-inequality.html       Inflation Isnt Just One Number               By Austan Goolsbee                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/opinion Ill Never Forget the Message John Madden
2021-12-30   2022-01-01 /john-madden-nfl.html                          Left on My Phone                             By Tom Coughlin                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/technol Apple Tracking Tag Fuels Fears Over Being
2021-12-30   2022-01-01 ogy/apple-airtags-tracking-stalking.html       Stalked                                      By Ryan Mac and Kashmir Hill      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/upshot/ Most Surprise Medical Bills Are Now Illegal
2021-12-30   2022-01-01 medical-bill-ban-biden.html                    but You Still Must Be Careful                By Margot SangerKatz              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/busines Karen Ferguson 80 Lawyer Who Changed
2021-12-31   2022-01-01 s/retirement/karen-ferguson-dead.html          Pension Laws                                 By Katharine Q Seelye             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/world/a
2021-12-31   2022-01-01 sia/japan-arson.html                           Man Suspected Of Fatal Arson In Japan Dies   By Ben Dooley                     TX 9-137-858   2022-03-01




                                                                                  Page 3193 of 5793
                        https://www.nytimes.com/2021/12/31/arts/tele Betty White a TV Golden Girl From the Start By Richard Severo and Peter
2021-12-31   2022-01-01 vision/betty-white-dead.html                 Is Dead at 99                               Keepnews                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/busines After Default Evergrande Says Its Ready to By Alexandra Stevenson and Joy
2021-12-31   2022-01-01 s/china-evergrande-default-publicity.html    Build                                       Dong                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/busines
                        s/jelena-mcwilliams-fdic-bank-regulator-     Chair of FDIC Resigns After Fight With
2021-12-31   2022-01-01 resigns.html                                 Regulators                                  By Lananh Nguyen                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/busines                                               By Coral Murphy Marcos and
2021-12-31   2022-01-01 s/stock-market-2022.html                     The Big Uneasy                              Emily Flitter                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/health/a
2021-12-31   2022-01-01 duhelm-alzheimers-medicare.html              A Drugs Hurdle Nod by Medicare              By Pam Belluck                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/health/c Data on Omicron Suggests Illness Spares the By Carl Zimmer and Azeen
2021-12-31   2022-01-01 ovid-omicron-lung-cells.html                 Lungs                                       Ghorayshi                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/nyregio De Blasio Leaves Legacy Of Biggest Work
2021-12-31   2022-01-01 n/de-blasio-budget-unions-nyc.html           Force And Soaring Spending                  By Emma G Fitzsimmons            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/nyregio
                        n/hochul-cuny-suny-boosters-ny-
2021-12-31   2022-01-01 coronavirus.html                             New York Expands Measures To Curb Virus By Sharon Otterman                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/nyregio Surge in Virus Cases Strains New Yorks
2021-12-31   2022-01-01 n/omicron-quarantine-hotel-nyc.html          Quarantine Hotel System                     By Andy Newman                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/nyregio Behind Violence at Rikers a Broken
2021-12-31   2022-01-01 n/rikers-island-correction-officers.html     Institution                                 By Jan Ransom and Bianca Pallaro TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/sports/b Sam Jones Celtics Star of the 1960s And Hall
2021-12-31   2022-01-01 asketball/sam-jones-dead.html                of Fame Guard Dies at 88                    By Richard Goldstein             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/sports/f Vikings Playoff Hopes Dim After Cousins
2021-12-31   2022-01-01 ootball/kirk-cousins-covid.html              Tests Positive                              By Elena Bergeron                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/sports/h Coach of Americas Worst Team Offers
2021-12-31   2022-01-01 ockey/john-bacon-let-them-lead.html          Leadership Advice                           By Shawna Richer                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/upshot/ Learning From the Cycle Of the Economy of
2021-12-31   2022-01-01 economy-inflation-2021-review.html           2021                                        By Neil Irwin                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/us/colo From Sunny Colorado Suburb to Ashes           By Charlie Brennan Shay Castle
2021-12-31   2022-01-01 rado-marshall-fire.html                      Overnight                                   Mitch Smith and Jack Healy       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/us/new- Making Sense of Time When a Year Feels        By Elizabeth Dias and Houston
2021-12-31   2022-01-01 years-time-sense.html                        Lost                                        Cofield                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/us/polit Chief Justice Notes Scandals but Pleads for
2021-12-31   2022-01-01 ics/john-roberts-supreme-court.html          Judicial Independence                       By Adam Liptak                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/world/a As South Africa Remembers Tutu It Reckons
2021-12-31   2022-01-01 frica/desmond-tutu-legacy.html               With Lasting Challenges                     By Lynsey Chutel                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/world/a Ugandan Troops Presence Raises Concerns
2021-12-31   2022-01-01 frica/uganda-congo-rebels-adf.html           Among Congolese                             By Abdi Latif Dahir              TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2021/12/31/world/e New Warning From Kremlin On Tensions
2021-12-31   2022-01-01 urope/biden-putin-russia-ukraine-lavrov.html Over Ukraine                             By Andrew E Kramer                TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2021/12/31/world/e New Infections Souring French On Virus     By Norimitsu Onishi Constant
2021-12-31   2022-01-01 urope/covid-france-omicron-vaccines.html     Fight                                    Mheut and Lontine Gallois         TX 9-137-858     2022-03-01



                                                                               Page 3194 of 5793
                        https://www.nytimes.com/2021/12/31/world/e
                        urope/germany-new-year-speech-olaf-scholz- In New Years Message Germanys New
2021-12-31   2022-01-01 covid.html                                 Leader Urges Unity and Vaccines              By Christopher F Schuetze       TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2021/12/31/world/e People With Omicron Less Likely to Need
2021-12-31   2022-01-01 urope/omicron-hospitalization-uk-report.html Hospital Care Report Finds                 By Marc Santora and Adeel Hassan TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/your-
2021-12-31   2022-01-01 money/buy-now-pay-later-loans-credit.html Online Layaway Loans and Your Credit          By Ann Carrns                   TX 9-137-858    2022-03-01
                        https://www.nytimes.com/live/2021/12/31/wo
                        rld/omicron-covid-vaccine-tests/omicron-peak Omicron Could Peak In January Scientists
2021-12-31   2022-01-01 us                                           Say                                        By Azeen Ghorayshi              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/12/31/sports/n
                        caafootball/alabama-cincinnati-cotton-bowl-
2022-01-01   2022-01-01 score.html                                   The Tide Rolls On                          By Billy Witz                   TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2021/10/26/books/r
2021-10-26   2022-01-02 eview/time-for-socialism-thomas-piketty.html A Step to the Left                         By Robert Kuttner               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/10/29/books/r
                        eview/burning-boy-the-life-and-work-of-
2021-10-29   2022-01-02 stephen-crane-paul-auster.html               Danger Was His Dissipation                 By Charles McGrath              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/11/02/books/r
                        eview/antonio-damasio-feeling-and-
2021-11-02   2022-01-02 knowing.html                                 All in Your Head                           By Jim Holt                     TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/11/02/books/r
                        eview/entertaining-race-michael-eric-
2021-11-02   2022-01-02 dyson.html                                   First Act                                  By Holly Bass                   TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2021/11/02/books/r
2021-11-02   2022-01-02 eview/tom-mccarthy-making-incarnation.html Motion Capture                               By Giles Harvey                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/11/02/books/r
2021-11-02   2022-01-02 eview/wolfgang-hilbig-interim.html           Strange Land                               By Caleb Crain                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/11/08/books/r
                        eview/linda-greenhouse-justice-on-the-brink-
2021-11-08   2022-01-02 supreme-court.html                           A Conservative Bastion                     By Noah Feldman                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/11/30/books/r
                        eview/mahsa-mohebali-case-of-
2021-11-30   2022-01-02 emergency.html                               Breaking Ground                            By Negar Azimi                  TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2021/12/07/books/r
2021-12-07   2022-01-02 eview/francesco-pacifico-women-i-love.html Male Confessional                            By Miranda Popkey               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/12/07/books/r
                        eview/sasa-stanisic-where-you-come-
2021-12-07   2022-01-02 from.html                                  Places of Origin                             By Irina Dumitrescu             TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/12/14/books/r
2021-12-14   2022-01-02 eview/hooked-sutton-foster.html            Homespun                                     By Judith Newman                TX 9-137-858    2022-03-01



                                                                                 Page 3195 of 5793
                        https://www.nytimes.com/2021/12/16/magazi
2021-12-16   2022-01-02 ne/judge-john-hodgman-on-robe-life.html    Bonus Advice From Judge John Hodgman         By John Hodgman                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/16/well/w Here to Help How to Spot the Signs of Worry
2021-12-16   2022-01-02 orry-burnout-covid.html                    Burnout and How to Beat It                   By Dani Blum                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/17/magazi
2021-12-17   2022-01-02 ne/succession-peep-show.html               Money Pit                                    By Alex Norcia                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/19/magazi
                        ne/victims-airstrikes-middle-east-
2021-12-20   2022-01-02 civilians.html                             The Human Toll of Americas Air Wars          By Azmat Khan and Ivor Prickett   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/21/books/r
                        eview/poems-tracy-k-smith-raymond-antrobus
2021-12-21   2022-01-02 tishani-doshi-jane-wong.html               Poetry                                       By Emilia Phillips                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/23/books/r BestSelling Debut Novels Are the Bald Eagles
2021-12-23   2022-01-02 eview/the-prophets-robert-jones-jr.html    of the Book World                            By Elisabeth Egan                 TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2021/12/26/arts/tele Catherine Was Great But Was She a Girl
2021-12-26   2022-01-02 vision/dickinson-the-great-six-feminism.html Boss                                         By Alexis Soloski               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/27/magazi
2021-12-27   2022-01-02 ne/disgust-science.html                      Grossed Out                                  By Molly Young                  TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2021/12/27/magazi
2021-12-27   2022-01-02 ne/dna-test-crime-identification-genome.html Criminal Ties                                By Rafil KrollZaidi             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/27/opinion
2021-12-27   2022-01-02 /chuck-close-artist.html                     The Chuck Close I Knew and Loved             By Ali Silverstein              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/27/style/br
2021-12-27   2022-01-02 east-milk-jewelry.html                       Jewelry That Is Literally Holding a Memory   By Emma Grillo                  TX 9-137-858   2022-03-01

                        https://www.nytimes.com/interactive/2021/12/ Nikki Giovanni Has Made Peace With Her
2021-12-27   2022-01-02 27/magazine/nikki-giovanni-interview.html Hate                                         By David Marchese                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/28/arts/mu
2021-12-28   2022-01-02 sic/shane-macgowan.html                      Shane MacGowan Hungers for More           By Mark Yarm                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/28/arts/tele
2021-12-28   2022-01-02 vision/sharon-gless-memoir.html              Sharon Gless Loves LA and a Good Scare    By Kathryn Shattuck                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/28/magazi
2021-12-28   2022-01-02 ne/how-to-dig-for-clams.html                 How to Dig for Clams                      By Jaime Lowe                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/28/magazi Ive Been Invited to A Destination Wedding At
2021-12-28   2022-01-02 ne/plantation-wedding.html                   a Plantation How Should I Respond         By Kwame Anthony Appiah            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/28/magazi
2021-12-28   2022-01-02 ne/play-doh.html                             PlayDoh                                   By Jenny Qi                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/28/opinion
2021-12-28   2022-01-02 /build-back-better-biden.html                Build Back Better Isnt Dead Yet           By David Axelrod                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/28/realesta Utensils Set a Tone But Also Need To Be
2021-12-28   2022-01-02 te/shopping-for-flatware.html                Easy to Use                               By Tim McKeough                    TX 9-137-858   2022-03-01




                                                                                 Page 3196 of 5793
                        https://www.nytimes.com/2021/12/28/style/m
                        aking-these-resolutions-can-improve-a-
2021-12-28   2022-01-02 relationship.html                           How to Make Romance a Priority in 2022        By Alix Strauss               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/arts/jea
2021-12-29   2022-01-02 nine-tesori-songs.html                      Peering Into Tesoris Songbook                 By Rob WeinertKendt           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/magazi                                                 By Natasha Rao and Victoria
2021-12-29   2022-01-02 ne/02mag-poem.html                          Poem In the New Year                          Chang                         TX 9-137-858   2022-03-01
                                                                    The dermatologist knew immediately what the
                        https://www.nytimes.com/2021/12/29/magazi strange grooves in the mans scalp were What
2021-12-29   2022-01-02 ne/acromegaly-diagnosis.html                was causing them was another matter           By Lisa Sanders MD            TX 9-137-858   2022-03-01
                                                                    Just Add Sun Tenderly dried persimmons
                        https://www.nytimes.com/2021/12/29/magazi yield a slow pleasure of rich almost floral
2021-12-29   2022-01-02 ne/sun-dried-persimmons-recipe.html         flesh                                         By Tejal Rao                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/movies/
2021-12-29   2022-01-02 maggie-gyllenhaal-lost-daughter.html        Maggie Gyllenhaals Daring Ideas               By Julie Bloom                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/opinion
2021-12-29   2022-01-02 /debt-homelessness.html                     Being Homeless Cost Me 54000                  By Lori Teresa Yearwood       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/realesta
2021-12-29   2022-01-02 te/briarcliff-manor-ny.html                 A Westchester Village Between Two Rivers By Anne Mancuso                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/realesta
                        te/house-hunting-in-indonesia-modern-glass-
2021-12-29   2022-01-02 and-steel-in-the-jungles-of-bali.html       Modern Glass and Steel in the Jungles of Bali By Alison Gregor              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/style/28
2021-12-29   2022-01-02 row-college-influencers.html                Want to Be an Influencer Start Here           By Gina Cherelus              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/theater/
                        jeanine-tesori-kimberly-akimbo-caroline-or-
2021-12-29   2022-01-02 change.html                                 Expanding the Range of the Musical            By Rob WeinertKendt           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/arts/dan
                        ce/geothermal-body-heat-glasgow-
2021-12-30   2022-01-02 nightclub.html                              The Literal Power of Dancing                  By Margaret Fuhrer            TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2021/12/30/arts/des
2021-12-30   2022-01-02 ign/doris-lee-overlooked-artist-exhibition.html Belated Tribute for a Forgotten Artist   By Meredith Mendelsohn         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/books/r
2021-12-30   2022-01-02 eview/new-paperbacks.html                       Paperback Row                            By Miguel Salazar              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/books/r
                        eview/the-art-of-alice-and-martin-
2021-12-30   2022-01-02 provensen.html                                  A Storybook Marriage                     By Sabrina Orah Mark           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/busines
2021-12-30   2022-01-02 s/salary-negotiation-pay.html                   What Do You Think You Should Be Paid     By Emily Peck                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/nyregio
2021-12-30   2022-01-02 n/omicron-covid-nyc.html                        Reclaiming New York as the Place to Be   By Ginia Bellafante            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/realesta
2021-12-30   2022-01-02 te/millennials-housing-market.html              Growing Older but Still Not Buying       By Michael Kolomatsky          TX 9-137-858   2022-03-01




                                                                                  Page 3197 of 5793
                        https://www.nytimes.com/2021/12/30/sports/f
                        ootball/nfl-week-17-picks-against-the-        A Sprint to the Postseason With a Pandemic
2021-12-30   2022-01-02 spread.html                                   Hurdle to Clear                              By Emmanuel Morgan              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/style/co
2021-12-30   2022-01-02 vid-risk-calculator.html                      Before Heading Out Calculate Your Risk       By Alyson Krueger               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/style/lyi
2021-12-30   2022-01-02 ng-parents-social-qs.html                     To Tell the Truth                            By Philip Galanes               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/style/m
2021-12-30   2022-01-02 oms-spaghetti-eminem-detroit.html             Lose Yourself in Moms Spaghetti              By Luke Winkie                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/travel/tr
2021-12-30   2022-01-02 avel-planning-apps.html                       Getting Away With Apps As Your Guide         By Stephanie Rosenbloom         TX 9-137-858   2022-03-01
                                                                      Two Children One Bathroom A Los Angeles
                        https://www.nytimes.com/interactive/2021/12/ Family Stretches the Budget for an Upgrade
2021-12-30   2022-01-02 30/realestate/30hunt-lane.html                Which Home Would You Choose                  By Candace Jackson              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/arts/mu
2021-12-31   2022-01-02 sic/classical-music-susanna-malkki.html       Leading With a Quiet Passion                 By Joshua Barone                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/arts/mu
                        sic/sandra-jaffe-who-helped-preserve-jazz-at- Sandra Jaffe Whose Preservation Hall Saved
2021-12-31   2022-01-02 preservation-hall-dies-at-83.html             New Orleans Jazz Dies at 83                  By Richard Sandomir             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/arts/tele
                        vision/around-the-world-in-80-days-pbs-
2021-12-31   2022-01-02 bbc.html                                      A Classic Race Takes a Modern Turn           By Roslyn Sulcas                TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2021/12/31/books/r
2021-12-31   2022-01-02 eview/sinclair-lewis-babbitt-main-street.html On Main Street                               By Robert Gottlieb              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/busines
2021-12-31   2022-01-02 s/elizabeth-holmes-trial-numbers.html         The Holmes Trial By the Numbers              By Erin Griffith and Erin Woo   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/fashion
                        /weddings/arlo-guthrie-marti-ladd-            Far From Alices Restaurant Being Anything
2021-12-31   2022-01-02 married.html                                  They Want                                    By Tammy La Gorce               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/nyregio A Winter Village Takes Over a Summer Hot
2021-12-31   2022-01-02 n/governors-island-nyc.html                   Spot                                         By Alyson Krueger               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/nyregio
2021-12-31   2022-01-02 n/subway-book-review-nyc.html                 Music for Plants Books for Humans            By Kaya Laterman                TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2021/12/31/opinion
2021-12-31   2022-01-02 /climate-change-glasgow-united-states.html A World on Fire                                 By The Editorial Board          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/realesta
                        te/a-frenetic-housing-market-in-the-suburbs-
2021-12-31   2022-01-02 and-then-a-cooling-off.html                  The Hot Suburban Market Starts to Cool        By Vivian Marino                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/realesta
                        te/another-covid-winter-but-our-quarantine- Quarantine Comforts May No Longer Work
2021-12-31   2022-01-02 comforts-no-longer-work.html                 for Some                                      By Ronda Kaysen                 TX 9-137-858   2022-03-01




                                                                                 Page 3198 of 5793
                        https://www.nytimes.com/2021/12/31/realesta
                        te/in-2021-new-yorks-housing-market-made-a-
2021-12-31   2022-01-02 stunning-comeback.html                          A Stunning Comeback                      By Stefanos Chen           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/realesta
                        te/the-pricey-california-market-in-2021-it-got- Californias Pricey Market Maintained the
2021-12-31   2022-01-02 pricier.html                                    Course                                   By Candace Jackson         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/realesta Manhattans Luxury Deals Finished 2021 on a
2021-12-31   2022-01-02 te/top-nyc-real-estate-sales.html               Strong Note of Health                    By Vivian Marino           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/sports/b Iconic Wyoming Peak Is Enticing if Elusive
2021-12-31   2022-01-02 ackcountry-ski-grand-teton-wyoming.html         Challenge                                By Natalie Schachar        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/sports/n The Firm Hand of the SEC Extends His Grip By Alan Blinder and Alanis
2021-12-31   2022-01-02 caafootball/greg-sankey-sec.html                on the NCAA                              Thames                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/style/ali For Middle School Sweethearts a Second
2021-12-31   2022-01-02 yya-terry-martin-childs-wedding.html            Chance                                   By Kristen Bayrakdarian    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/style/ell
2021-12-31   2022-01-02 iot-griffin-matthew-stitt-wedding.html          An Impromptu Date Night to Remember      By Rosalie R Radomsky      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/style/oli After a Slow Start and a Break Things Moved
2021-12-31   2022-01-02 via-rivera-harrison-shanklin-wedding.html       Fast                                     By Nina Reyes              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/us/caro
2021-12-31   2022-01-02 n-nazario-windsor-virginia-police.html          Virginia Sues Town Over Biased Policing  By Jenny Gross             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/us/goog
2021-12-31   2022-01-02 le-maps-waze-sierra-nevada-snow.html            Snowstorm Shows Limits of Relying on GPS By Neil Vigdor             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/world/ Asma Khader 69 Fighter for Womens Rights
2021-12-31   2022-01-02 middleeast/asma-khader-dead.html                in Jordan                                By Rana F Sweis            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/interactive/2021/12/ What Its Like to Leave Prison During a      By Hannah Yoon and David
2021-12-31   2022-01-02 31/nyregion/ny-nj-reentry-covid.html            Pandemic                                 Gonzalez                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/busines
2022-01-01   2022-01-02 s/customer-service-pandemic-rage.html           Wed Like to Speak to the Manager         By Sarah Lyall             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/busines
2022-01-01   2022-01-02 s/roman-covid-tests.html                        Now a Covid Test With Your Viagra        By Alyson Krueger          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/nyregio Daunting Tasks Ahead the New Mayor
2022-01-01   2022-01-02 n/eric-adams-inaguration-nyc-mayor.html         Punches In                               By Emma G Fitzsimmons      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/nyregio OffDuty Officer Sleeping In Car Near Station
2022-01-01   2022-01-02 n/nypd-officer-shooting-police-station.html Is Shot                                      By Troy Closson            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/opinion
2022-01-01   2022-01-02 /january-6-attack-committee.html                Every Day Is Jan 6 Now                   By The Editorial Board     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/opinion
                        /trigger-warning-its-my-brothers-turn-
2022-01-01   2022-01-02 again.html                                      A GrassRoots Republican Reflects on 2021 By Maureen Dowd            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/realesta Can Any Limits Be Set for Workers Who
2022-01-01   2022-01-02 te/building-work-withhold-rent.html             Need Access to Our Apartment             By Ronda Kaysen            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/sports/n
                        caafootball/alabama-georgia-college-football- Georgia and Alabama Surge to Sequel for
2022-01-01   2022-01-02 national-championship.html                      Title                                    By Alanis Thames           TX 9-137-858   2022-03-01




                                                                               Page 3199 of 5793
                        https://www.nytimes.com/2022/01/01/style/be Seeking a Good Nights Sleep Adults Turn to
2022-01-01   2022-01-02 dtime-stories-for-adults.html               Bedtime Stories                            By Hillary Richard                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/style/gu
2022-01-01   2022-01-02 mmies-edibles-marijuana-diet.html           Cannabis Claims Collide With Reality       By Valeriya Safronova             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/upshot/ Tests Predicting Rare Disorders In Fetuses
2022-01-01   2022-01-02 pregnancy-birth-genetic-testing.html        Are Usually Wrong                          By Sarah Kliff and Aatish Bhatia TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/01/us/colo
                        rado-fires-snow-boulder-superior-           After Catastrophic Fire Ice and Snow Belt  By Charlie Brennan Jack Healy and
2022-01-01   2022-01-02 louisville.html                             Colorado                                   Sophie Kasakove                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/us/mich Louisiana Judge Resigns After Using Slur on
2022-01-01   2022-01-02 elle-odinet-resigns-racial-slur.html        Video                                      By Vimal Patel                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/us/nash Transforming a Nashville Enclave Leveled by
2022-01-01   2022-01-02 ville-bombing-recovery.html                 Tragedy                                    By Rick Rojas and Jamie McGee TX 9-137-858       2022-03-01
                                                                                                               By Audra D S Burch Stephanie
                        https://www.nytimes.com/2022/01/01/us/omic Back to School and Work Even as Omicron Saul Edgar Sandoval and Mitch
2022-01-01   2022-01-02 ron-covid-pandemic-despair.html             Explodes                                   Smith                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/us/polit US Focuses on ISIS Cell That Hit Afghan
2022-01-01   2022-01-02 ics/afghan-war-isis-attack.html             Airport As Terror Threat to West           By Eric Schmitt                   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/01/world/a In a Simple Funeral as He Wished South
2022-01-01   2022-01-02 frica/desmond-tutu-funeral-south-africa.html Africa Bids Farewell to Tutu                 By Lynsey Chutel             TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/01/world/a At Least 12 Killed in Stampede at Shrine In
2022-01-01   2022-01-02 sia/hindu-shrine-stampede-kashmir.html       India During Observance of New Year          By Sameer Yasir              TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/01/world/a In North Korea Kim Again Promises An End
2022-01-01   2022-01-02 sia/north-korea-kim-jong-un.html             to the Chronic Food Shortages                By Choe SangHun              TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/01/world/a Harsh Backlash Meets Feminists In South
2022-01-01   2022-01-02 sia/south-korea-men-anti-feminists.html      Korea                                        By Choe SangHun              TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/01/world/e
                        urope/pontifical-oriental-institute-digital- A Global Effort to Bring Rare Books In
2022-01-01   2022-01-02 texts.html                                   Rome to an Online Audience                   By Elisabetta Povoledo       TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/01/world/e Artistic Recollection of Pain Provoked a Furor
2022-01-01   2022-01-02 urope/turkey-kurdish-art-exhibit.html        in Turkey                                    By Carlotta Gall             TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/01/us/sand 21 People Rescued From Stalled Tram Cars in By Eduardo Medina and Vimal
2022-01-02   2022-01-02 ia-peak-tramway-rescue.html                  New Mexico Mountains                         Patel                        TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/02/busines
2022-01-02   2022-01-02 s/office-dogs-etiquette.html                 When the Office Turns Into a Kennel          By Roxane Gay                TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/02/busines
2022-01-02   2022-01-02 s/the-week-in-business-travel-troubles.html The Week in Business Travel Troubles        By Gray Beltran                TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/02/climate
2022-01-02   2022-01-02 /coal-mines-solar-climate.html              Peak Pillaged For Coal Gets Solar Upgrade   By Cara Buckley                TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/02/insider/
                        tracking-climate-change-in-193-
2022-01-02   2022-01-02 countries.html                              Tracking Global Climate Change              By Sarah Bahr                  TX 9-137-858     2022-03-01




                                                                                Page 3200 of 5793
                        https://www.nytimes.com/interactive/2021/12/
                        16/well/mental-health-crisis-america-        Why 1320 Therapists Are Worried About      By Tara ParkerPope Christina
2021-12-16   2022-01-03 covid.html                                   Mental Health in America Right Now         Caron and Mnica Cordero Sancho   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/27/nyregio Donald H Elliott 89 Innovative Urban Planner
2021-12-27   2022-01-03 n/donald-h-elliott-dead.html                 Who Left His Mark on New York              By Sam Roberts                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/28/sports/r On Rodeo Trail Taking Her Little            By Alisha Haridasani Gupta and
2021-12-28   2022-01-03 odeo-women-cow-girl.html                     CoChampion                                 Ilana PanichLinsman              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/28/travel/l How to Spot Fees As Leisure Market Adapts
2021-12-28   2022-01-03 odging-fees.html                             to Shifts                                  By Elaine Glusac                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/28/books/k Keri Hulme 74 a Novelist Who Won the
2021-12-29   2022-01-03 eri-hulme-dead.html                          Booker Prize                               By Natasha Frost                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/movies/
2021-12-29   2022-01-03 mexico-women-directors.html                  Female Directors Are on the Rise in Mexico By Oscar Lopez                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/opinion
2021-12-29   2022-01-03 /christianity-paganism-woke.html             Is Paganism Replacing Christianity         By Christopher Caldwell          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/travel/s A Ghost Hotel Haunts the Southern Coast of
2021-12-29   2022-01-03 pain-abandoned-hotel.html                    Spain                                      By Raphael Minder                TX 9-137-858   2022-03-01
                                                                                                                By Jon Pareles Jon Caramanica
                        https://www.nytimes.com/2021/12/31/arts/mu Heard Above the Din Six CantMiss             Isabelia Herrera and Giovanni
2021-12-31   2022-01-03 sic/playlist-songs-almost-missed.html        Carryovers                                 Russonello                       TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2021/12/31/opinion
2021-12-31   2022-01-03 /exercise-new-year-oliver-sacks-grief.html  Love Lost in Life and in Exercise         By Bill Hayes                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/opinion
2021-12-31   2022-01-03 /supreme-court-term-limits.html             The Supreme Court Needs Short Term Limits By Rosalind Dixon                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/theater/ Omicron Forces Halt to Under the Radar
2021-12-31   2022-01-03 under-radar-festival-public-theater.html    Festival                                  By Laura Zornosa                   TX 9-137-858   2022-03-01
                                                                                                              By Azmat Khan Haley Willis
                        https://www.nytimes.com/2021/12/31/us/pent                                            Christoph Koettl Christiaan
2021-12-31   2022-01-03 agon-airstrikes-syria-iraq.html             Civilian Deaths Dismissed by US           Triebert and Lila Hassan           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/sports/f Dan Reeves 77 Coach Who Brought 2 Teams
2022-01-01   2022-01-03 ootball/dan-reeves-dead.html                To 4 Super Bowls Dies                     By Richard Sandomir                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/sports/r
2022-01-01   2022-01-03 unning-streak-rise.html                     No Day Goes By Without His Run            By Anna Katherine Clemmons         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/arts/des
                        ign/wilshire-boulevard-temple-broad-
2022-01-02   2022-01-03 annenberg.html                              A Los Angeles Site for Culture and a View By Adam Popescu                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/arts/gre
2022-01-02   2022-01-03 at-video-games-2021.html                    For Gamers a Year of Comfort Food         By Gilbert Cruz                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/arts/mu
2022-01-02   2022-01-03 sic/met-opera-rigoletto-review.html         Omicron Cant Stop A Spirited Rigoletto    By Anthony Tommasini               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/busines Extra Child Benefit Ends As Covid Explodes
2022-01-02   2022-01-03 s/economy/child-tax-credit.html             in US                                     By Ben Casselman                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/busines Goldman Sachs Follows Rivals In
2022-01-02   2022-01-03 s/goldman-sachs-return-to-office.html       WorkFromHome Directive                    By Lananh Nguyen                   TX 9-137-858   2022-03-01



                                                                               Page 3201 of 5793
                        https://www.nytimes.com/2022/01/02/busines James Cayne 87 Who Ran IllFated Bear
2022-01-02   2022-01-03 s/james-cayne-dead.html                     Stearns Dies                            By Lananh Nguyen and Kate Kelly TX 9-137-858         2022-03-01
                        https://www.nytimes.com/2022/01/02/busines
                        s/media/crowdtangle-facebook-brandon-
2022-01-02   2022-01-03 silverman.html                              Cracking Facebooks Black Box            By Ben Smith                    TX 9-137-858         2022-03-01
                        https://www.nytimes.com/2022/01/02/busines Tesla Delivered 87 More Cars in 2021 or
2022-01-02   2022-01-03 s/tesla-sales.html                          936000                                  By Neal E Boudette              TX 9-137-858         2022-03-01
                        https://www.nytimes.com/2022/01/02/busines Verizon and ATampT Decline Request by US
2022-01-02   2022-01-03 s/verizon-att-5g-planes.html                Regulators to Delay New 5G Services     By Stacy Cowley                 TX 9-137-858         2022-03-01
                        https://www.nytimes.com/2022/01/02/sports/f
                        ootball/antonio-brown-buccaneers-jets-      He Is No Longer a Buc Brown Storms Off
2022-01-02   2022-01-03 score.html                                  Field                                   By Emmanuel Morgan              TX 9-137-858         2022-03-01

                        https://www.nytimes.com/2022/01/02/sports/f With Crushing Revealing Loss Miami No
2022-01-02   2022-01-03 ootball/dolphins-titans-nfl-week17-score.html Longer Your Average Playoff Contender       By Ben Shpigel                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/sports/f
                        ootball/giants-bears-buccaneers-jets-
2022-01-02   2022-01-03 score.html                                    Losing the Game but Winning the Draft       By Devin Gordon                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/technol
2022-01-02   2022-01-03 ogy/marjorie-taylor-greene-twitter.html       Twitter Bans US Lawmaker For Virus Posts    By Davey Alba                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/us/colo Colorado Fire Victims Consider How to Rise     By Charlie Brennan and Giulia
2022-01-02   2022-01-03 rado-fire-damage.html                         From the Ashes and Snow                     Heyward                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/us/coro Puerto Rico Faces Covid Case Explosion
2022-01-02   2022-01-03 navirus-puerto-rico.html                      Despite Its Vaccine Success                 By Frances Robles               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/02/us/nook A Tribal Purge And a Rare Call For Federal
2022-01-02   2022-01-03 sack-306-evictions-tribal-sovereignty.html  Aid                                           By Mike Baker                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/us/polit
2022-01-02   2022-01-03 ics/stacey-abrams-georgia-democrats.html    Left and Middle Claim Abrams Whos Right       By Astead W Herndon             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/world/a After Being Ousted and Reinstated Sudans
2022-01-02   2022-01-03 frica/abdalla-hamdok-resigns-sudan.html     Civilian Leader Resigns                       By Abdi Latif Dahir             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/world/a South Africa Reels as Fire Hits Buildings In   By Lynsey Chutel and Austin
2022-01-02   2022-01-03 frica/south-africa-fire-parliament.html     Parliament                                    Ramzy                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/world/a In China Doubts Surround Plans To Amend
2022-01-02   2022-01-03 sia/china-womens-rights.html                Laws to Protect Women                         By Vivian Wang                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/world/a North Korea Gets Defector Who Eluded
2022-01-02   2022-01-03 sia/korea-dmz-border.html                   DMZ Soldiers                                  By Choe SangHun                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/world/e Serb Nationalist Puts Match Near Fuse in
2022-01-02   2022-01-03 urope/bosnia-war-putin.html                 Bosnia                                        By Andrew Higgins               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/02/world/e Ancient Sanctuaries Mystery Repairs Modern
2022-01-02   2022-01-03 urope/spain-church-restoration-mystery.html Headaches                                    By Nicholas Casey                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/world/e After Slips and Falls Venice Gets a Grip on a
2022-01-02   2022-01-03 urope/venice-calatrava-bridge.html          Star Architects Bridge                       By Emma Bubola                   TX 9-137-858   2022-03-01




                                                                                 Page 3202 of 5793
                        https://www.nytimes.com/2022/01/02/sports/f
2022-01-03   2022-01-03 ootball/nfl-week-17-scores.html              What We Learned This Week                   By Tyler Dunne                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/us/polit As Jan 6 Anniversary Nears Panel Faces       By Luke Broadwater and Emily
2022-01-03   2022-01-03 ics/jan-6-capitol-riot-anniversary.html      Tough Questions                             Cochrane                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/arts/tele
                        vision/whats-on-tv-this-week-rupauls-drag-
2022-01-03   2022-01-03 race.html                                    This Week on TV                             By Geordon Wollner              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/busines Board Diversity Increased in 2021 Some Ask
2022-01-03   2022-01-03 s/corporate-board-diversity.html             What Took So Long                           By Peter Eavis                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/busines Jurors in Theranos Fraud Trial Begin 7th Day
2022-01-03   2022-01-03 s/elizabeth-holmes-theranos-trial.html       of Deliberations                            By Erin Woo and Erin Griffith   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/busines Banks Slowly Embrace Their CloudBased
2022-01-03   2022-01-03 s/wall-street-cloud-computing.html           Future                                      By Lananh Nguyen                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/insider/
2022-01-03   2022-01-03 therapists-mental-health-usa-america.html    A BigPicture Mental Health Check            By Kate Dwyer                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/nyregio
2022-01-03   2022-01-03 n/coronavirus-pandemic-silver-linings.html In a Pandemic Bright Stories Of Resilience    By Sarah Maslin Nir             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/nyregio
2022-01-03   2022-01-03 n/kathy-hochul-eric-adams.html               New Rapport Between Albany and New York By Jeffery C Mays                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/sports/b
                        asketball/diamond-johnson-north-carolina-
2022-01-03   2022-01-03 state.html                                   Finding Fierce Motivation in Her Exclusion By Jonathan Abrams               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/10/science
2021-12-10   2022-01-04 /mollusk-shells-mathematics.html             An Extinct Mollusks Twisty Shell Fascinates By Sabrina Imbler               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/15/well/mi The Difficulty in Finding Hidden Hearing
2021-12-15   2022-01-04 nd/hearing-loss-signs.html                   Loss                                        By Emma Yasinski                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/16/science Rodents May Have Infrared Antennae Study
2021-12-16   2022-01-04 /mice-hair-infrared.html                     Says                                        By Cara Giaimo                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/17/movies/
2021-12-17   2022-01-04 international-streaming-movies.html          A Fine Month for GlobeTrotting              By Devika Girish                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/17/science In Orangutan Parenting Kids Get Their Own
2021-12-17   2022-01-04 /orangutan-foraging.html                     Meals                                       By Nicholas Bakalar             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2021/12/20/technol Navigational Apps for Blind and LowVision
2021-12-20   2022-01-04 ogy/navigational-apps-blind-low-vision.html People May Have Wider Appeal                By Amanda Morris                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/22/science
2021-12-22   2022-01-04 /fish-wave-mexico.html                      Why These Mexican Fish Do the Wave          By Veronique Greenwood           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/article/twitching-
2021-12-28   2022-01-04 eyelid.html                                 Why Is My Eyelid Twitching                  By Christina Caron               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/arts/des
2021-12-29   2022-01-04 ign/human-zoos-africa-museum.html           Confronting the Roots Of Modern Racism      By Farah Nayeri                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/well/m
2021-12-29   2022-01-04 ove/short-workouts-mind-body.html           Brevity but Clarity and Longevity           By Gretchen Reynolds             TX 9-137-858   2022-03-01




                                                                                Page 3203 of 5793
                        https://www.nytimes.com/2022/01/01/science On the Launchpad Heavenward in 2022 Big
2022-01-01   2022-01-04 /space-preview-2022.html                    Rockets Asteroids And Visitors to the Moon   By Michael Roston                TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/02/busines
                        s/europe-green-investments-nuclear-natural- Europe Prepares to Classify Nuclear and      By Liz Alderman and Monika
2022-01-02   2022-01-04 gas.html                                    Natural Gas as Green                         Pronczuk                         TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/02/opinion
2022-01-02   2022-01-04 /death-religion-interviews-lessons.html     Death Is for the Living                      By George Yancy                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/02/science
2022-01-02   2022-01-04 /jim-green-nasa-mars.html                   Inhabiting Mars He Calls It Doable           By Jonathan OCallaghan           TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/02/sports/h Discovering Cancerous Mole From Stands
2022-01-02   2022-01-04 ockey/canucks-cancer-manager-fan.html       She Saves a Life                             By Eduardo Medina                TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/02/theater/
2022-01-02   2022-01-04 mrs-doubtfire-broadway.html                 To Avoid Certain End Doubtfire Is Pausing    By Michael Paulson               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/02/us/iowa-LifeChanging Gesture Employees Receive
2022-01-02   2022-01-04 cubs-employee-bonus-checks.html             Share Of Money in Teams Sale                 By Michael Levenson              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/03/arts/mu
2022-01-03   2022-01-04 sic/david-bowie-catalog-sold.html           Bowie Estate Sells Catalog to Warner         By Ben Sisario                   TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/03/books/r
                        eview-how-civil-wars-start-barbara-
2022-01-03   2022-01-04 walter.html                                 State of the Union In the Danger Zone        By Jennifer Szalai               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/03/busines
2022-01-03   2022-01-04 s/airlines-flight-cancelations.html         Monday Misery 3000 Flights Canceled          By Niraj Chokshi                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/03/busines Bridgewater the Largest Hedge Fund
2022-01-03   2022-01-04 s/bridgewater-chief-executives.html         Promotes Pair to Be CoChief Executives       By Maureen Farrell and Kate Kelly TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/busines                                               By Lauren Hirsch and Emma
2022-01-03   2022-01-04 s/omicron-return-to-office.html             Office Return Again Halted Amid Surge        Goldberg                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/movies/
                        three-minutes-a-lengthening-
2022-01-03   2022-01-04 documentary.html                            A Joy That Is Chilling in Retrospect         By Nina Siegal                   TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/03/nyregio Hochul to Propose New York Governors Be
2022-01-03   2022-01-04 n/kathy-hochul-government-reform.html       Limited to Two Terms                         By Luis FerrSadurn               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/03/nyregio
                        n/letitia-james-ivanka-donald-trump-jr-     New York Attorney General Seeks Trump        By William K Rashbaum and Jonah
2022-01-03   2022-01-04 subpoena.html                               Children for Fraud Inquiry                   E Bromwich                      TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/03/nyregio Independent Redistricting Falters in New
2022-01-03   2022-01-04 n/new-york-redistricting-gerrymandering.html York Increasing Odds of a Partisan Map      By Nicholas Fandos               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/03/opinion
2022-01-03   2022-01-04 /new-years-resolutions.html                  Resolve to Think Bigger This Year           By AnneMarie Slaughter           TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/03/opinion
2022-01-03   2022-01-04 /voting-rights-democrats.html                Democrats Voting Rights Arent the Problem   By Yuval Levin                   TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/03/science                                               By Tristan Spinski and Emily
2022-01-03   2022-01-04 /red-wolves-dna-galveston.html               Mystery Coyotes Hold Key For Revival        Anthes                           TX 9-137-858    2022-03-01




                                                                                Page 3204 of 5793
                        https://www.nytimes.com/2022/01/03/sports/n
                        caabasketball/south-carolina-uconn-           South Carolina Should Beware UConn Proves
2022-01-03   2022-01-04 stanford.html                                 No Perch Is Safe                           By Natalie Weiner                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/sports/o French Athletes to Wear What May Be
2022-01-03   2022-01-04 lympics/le-coq-sportif-france.html            Comeback Story of the Games                By Tariq Panja and James Hill    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/technol Apples Valuation Soars To Unheard of 3
2022-01-03   2022-01-04 ogy/apple-3-trillion-market-value.html        Trillion                                   By Jack Nicas                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/technol Facebook Suspends Account Of
2022-01-03   2022-01-04 ogy/facebook-marjorie-taylor-greene.html      Congresswoman Greene                       By Davey Alba                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/technol
                        ogy/personaltech/blackberry-devices-stop-     BlackBerry Shuts Down Its Service On
2022-01-03   2022-01-04 working.html                                  Devices                                    By Neil Vigdor                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/theater/
2022-01-03   2022-01-04 streets-of-new-york-review.html               Scoundrels and Their Just Deserts          By Laura CollinsHughes           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/us/addit When 3 Shots Dont Do the Trick Some Try 4
2022-01-03   2022-01-04 ional-doses-covid-vaccine.html                or 5                                       By Amanda Morris                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/us/polit How the Jan 6 Committees Search for
2022-01-03   2022-01-04 ics/capitol-riot-january-6.html               Criminality Could Play Out                 By Luke Broadwater               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/us/polit
                        ics/first-amendment-praetorian-trump-jan-
2022-01-03   2022-01-04 6.html                                        Jan 6 Inquiry Turns Its Focus To New Group By Alan Feuer                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/us/polit Senate Returns to Deal With a Stalled Agenda
2022-01-03   2022-01-04 ics/senate-democrats-biden-agenda.html        And a Debate on Rules                      By Carl Hulse and Emily Cochrane TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/us/polit
                        ics/supreme-court-death-penalty-intellectual- Supreme Court Can Clarify Weight of Its
2022-01-03   2022-01-04 disability.html                               Music as Well as Its Words                 By Adam Liptak                   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/03/us/polit
2022-01-03   2022-01-04 ics/trump-endorses-viktor-orban-hungary.html By Endorsing Orban Trump Returns a Favor By Shane Goldmacher               TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/03/us/sleet- Storm Stalks East Causing Widespread Power By Derrick Bryson Taylor Eduardo
2022-01-03   2022-01-04 snow-forecast.html                           Interruptions                              Medina and Jesus Jimnez          TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/03/well/eat Instead of Relying on Diets Learn to Train
2022-01-03   2022-01-04 /healthy-eating-habits-new-year.html         Your Brain                                 By Tara ParkerPope               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/03/well/mi
2022-01-03   2022-01-04 nd/stress-heart.html                         Cardiovascular Ills From Mental Stress     By Jane E Brody                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/03/world/a Richard Leakey Kenyan Fossil Hunter and      By Alyssa Lukpat and Christine
2022-01-03   2022-01-04 frica/richard-leakey-dead.html               Conservationist Dies at 77                 Chung                            TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/03/world/a Man Is Held for Arson in Fire That Gutted
2022-01-03   2022-01-04 frica/south-africa-parliament-fire-suspect.html South Africas Parliament                 By Lynsey Chutel               TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/03/world/a Sudan Braces for the Worst After Its Civilian
2022-01-03   2022-01-04 frica/sudan-prime-minister-resigns.html         Prime Minister Resigns                   By Abdi Latif Dahir            TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/03/world/a Bolsonaro Hospitalized To Relieve             By Ernesto Londoo and Flvia
2022-01-03   2022-01-04 mericas/brazil-bolsonaro-hospitalized.html      Obstruction                              Milhorance                     TX 9-137-858     2022-03-01



                                                                                Page 3205 of 5793
                        https://www.nytimes.com/2022/01/03/world/a In India Auction Apps Are Latest Way To
2022-01-03   2022-01-04 sia/india-auction-muslim-women.html        Virtually Threaten Muslim Women               By Sameer Yasir                   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/03/world/e Woman Who Survived 2015 Balcony
2022-01-03   2022-01-04 urope/berkeley-balcony-collapse-death.html Collapse Dies of Her Injuries at 27           By Ed OLoughlin                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/world/e After Flouting EU Standards Hungary May       By Steven Erlanger and Benjamin
2022-01-03   2022-01-04 urope/hungary-european-union.html          Now Pay a Price                               Novak                             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/03/world/ Pressure Mounts on Tunisias Leader to
2022-01-03   2022-01-04 middleeast/tunisia-economy-kais-saied.html Salvage an Imploding Economy                 By Vivian Yee                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/article/hong-kong- Crackdowns by Beijing Silence Hong Kongs
2022-01-03   2022-01-04 media-muzzled.html                          Independent Media                           By Austin Ramzy                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/opinion
2022-01-04   2022-01-04 /covid-vaccines-misinformation.html         The Viral Lies That Keep Killing Us         By Paul Krugman                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/technol
2022-01-04   2022-01-04 ogy/elizabeth-holmes-guilty.html            Holmes Guilty On 4 Charges In Fraud Case By Erin Griffith and Erin Woo         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/us/polit A Top Official For Elections Since 1976 Set
2022-01-04   2022-01-04 ics/bill-gardner-retires.html               to Retire                                   By Trip Gabriel                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/us/polit                                             By Blake Hounshell and Leah
2022-01-04   2022-01-04 ics/midterm-elections-coronavirus.html      A Frazzled America Staggers Into 2022       Askarinam                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/us/scho Variant Forces Schools to Take a Step
2022-01-04   2022-01-04 ol-reopening-classrooms-omicron.html        Backward                                    By Dana Goldstein                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/us/twel Fundamentalist Sect In Colorado Is Focus Of By Simon Romero and Giulia
2022-01-04   2022-01-04 ve-tribes-12-colorado-fire.html             Wildfire Inquiry                            Heyward                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/world/p Woman Suing Prince Andrew Settled With
2022-01-04   2022-01-04 rince-andrew-jeffrey-epstein.html           Epstein in 2009                             By Karen Zraick                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/busines Undersea Cables Connecting Britain To
2022-01-04   2022-01-04 s/britain-electricity-norway-cables.html    Europe Are Key to a Renewable Future        By Stanley Reed                    TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/04/insider/
2022-01-04   2022-01-04 my-first-times-byline-anthony-tommasini.htmlSomeone to Stay and Tell the Story           By Anthony Tommasini              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/science
2022-01-04   2022-01-04 /night-parrot-ghost-bird-australia.html     Ghost Bird Haunts Those Searching for It     By Anthony Ham                    TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/04/world/e Writing a New Chapter for a Troubled
2022-01-04   2022-01-04 urope/molenbeek-attack-brussels-paris.html Brussels Neighborhood                         By Elian Peltier                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/live/2022/01/03/tec
                        hnology/elizabeth-holmes-trial-verdict/count-
                        by-count-heres-what-jurors-decided-on-
2022-01-04   2022-01-04 elizabeth-holmes                              Counts and Verdicts                        By Erin Griffith and Erin Woo     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/13/travel/ Cultivating Olives on the Slopes of Mount
2021-12-13   2022-01-05 mount-etna-olive-oil.html                     Etna                                       By Marta Giaccone                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/24/movies/
2021-12-24   2022-01-05 streaming-sci-fi-movies.html                  Apocalyptic KPop and Parallel Dimensions   By Elisabeth Vincentelli          TX 9-137-858   2022-03-01




                                                                                 Page 3206 of 5793
                                                                                                               By Jon Pareles Jon Caramanica
                        https://www.nytimes.com/2021/12/28/arts/mu Pop Rap and Jazz The Best Boxed Sets of     Giovanni Russonello and Lindsay
2021-12-28   2022-01-05 sic/boxed-sets-reissues.html                2021                                       Zoladz                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/books/d David Wagoner 95 Dies Prolific Poet and
2021-12-29   2022-01-05 avid-wagoner-dead.html                      Novelist Who Reveled in Nature             By Neil Genzlinger                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/dining/
2021-12-30   2022-01-05 chicken-recipes.html                        Boil a Chicken Unlock a Memory             By Eric Kim                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/dining/
2021-12-30   2022-01-05 crispy-tofu-dinner.html                     Get Crispy Tofu Minus the Mess             By Melissa Clark                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/dining/
2021-12-30   2022-01-05 drinks/wine-questions.html                  Wine Questions Glad You Asked              By Eric Asimov                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/01/style/ne
2022-01-01   2022-01-05 w-years-resolutions-quotes-tips.html        Its Never Too Late 10 Tips for 2022        By Lauren Reddy                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/arts/mu
2022-01-03   2022-01-05 sic/adele-30-billboard-sixth-week.html      Adeles 30 Is Still No 1                    By Ben Sisario                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/busines
                        s/economy/inflation-democrats-
2022-01-03   2022-01-05 corporations.html                           As Inflation Rises Democrats Pin Blame     By Jeanna Smialek                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/dining/ To Four Cold Brew That Asks How You
2022-01-03   2022-01-05 explorer-cold-brew.html                     Take Caffeine                              By Florence Fabricant             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/dining/f To Serve HalfMoon Dumplings Right to Your
2022-01-03   2022-01-05 ly-by-jing-frozen-dumplings.html            Freezer                                    By Florence Fabricant             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/dining/i To Blow A Bit of Winter Forest To Add to
2022-01-03   2022-01-05 lex-studio-candles.html                     the Table                                  By Florence Fabricant             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/dining/j
2022-01-03   2022-01-05 ua-review.html                              Verve and Polish in a Korean Tasting Menu By Pete Wells                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/dining/l To Give Mille Crpes Cake For the Lunar New
2022-01-03   2022-01-05 unar-new-year-cake.html                     Year                                       By Florence Fabricant             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/dining/ To Drip Savannah Bee Turns Up The Heat on
2022-01-03   2022-01-05 savannah-bees-hot-honey.html                Sweet                                      By Florence Fabricant             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/dining/ To Sample This Mixing Spoon Offers a
2022-01-03   2022-01-05 sur-la-table-tasting-spoon.html             Handy Taste                                By Florence Fabricant             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/theater/ AvantGarde Festivals Are Sidelined By
2022-01-03   2022-01-05 festivals-covid-coronavirus.html            Outbreak                                   By Alexis Soloski                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/world/e April Ashley Transgender Pioneer and
2022-01-03   2022-01-05 urope/april-ashley-dead.html                London Socialite Dies at 86                By Clay Risen                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/technol With Holmes an Era of Faking It Meets
2022-01-04   2022-01-05 ogy/elizabeth-holmes-theranos.html          Reality                                    By David Streitfeld               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/us/polit Longtime Illinois Democrat to Retire From
2022-01-04   2022-01-05 ics/bobby-rush-retire.html                  the House                                  By Emily Cochrane                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/arts/des Jewish Roots of Star Trek Are Explored by
2022-01-04   2022-01-05 ign/star-trek-exhibition-skirball.html      Exhibition                                 By Adam Nagourney                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/arts/mu
                        sic/nirvana-baby-nevermind-cover-           Judge Dismisses Lawsuit Over Photo on a
2022-01-04   2022-01-05 lawsuit.html                                Nirvana Album                              By Maria Cramer                   TX 9-137-858   2022-03-01



                                                                               Page 3207 of 5793
                        https://www.nytimes.com/2022/01/04/books/r
2022-01-04   2022-01-05 eview-lost-found-kathryn-schulz-memoir.html Profound Grief Love And a Little Schmaltz By Alexandra Jacobs                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/busines Media Columnist Is Leaving The Times for a
2022-01-04   2022-01-05 s/ben-smith-new-york-times.html             Global News StartUp                           By David Gelles                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/busines                                                By Alexandra Stevenson and Cao
2022-01-04   2022-01-05 s/china-evergrande-protests.html            Evergrande Faces More Protests as Sales Fall Li                                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/busines
2022-01-04   2022-01-05 s/economy/job-openings-coronavirus.html     Record Surge In Americans Leaving Jobs        By Ben Casselman                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/busines Macys Asks Employees For Status On
2022-01-04   2022-01-05 s/macys-vaccine-mandates.html               Vaccines                                      By Sapna Maheshwari                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/busines                                                By Kristen Bayrakdarian and Maia
2022-01-04   2022-01-05 s/new-york-commercial-real-estate.html      Transactions                                  Coleman                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/busines
2022-01-04   2022-01-05 s/omicron-retail-real-estate.html           Rethinking Retail Space as Foot Traffic Falls By Jane Margolies                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/busines OPEC and Allies Agree to Continue
2022-01-04   2022-01-05 s/opec-oil-output.html                      Increasing Oil Output but Production Lags     By Stanley Reed                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/busines In 500 Million Trading Card Deal Fanatics
2022-01-04   2022-01-05 s/topps-fanatics-sports-cards.html          Buys Topps                                    By Lauren Hirsch                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/busines
2022-01-04   2022-01-05 s/toyota-car-sales-2021.html                Toyota Surpasses GM in US Car Sales           By Neal E Boudette                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/climate As Challenges Mount Bidens Climate Legacy
2022-01-04   2022-01-05 /biden-climate-change.html                  Races Against Clock                           By Lisa Friedman                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/dining/
2022-01-04   2022-01-05 king-cake-recipe.html                       A King Cake Is Their Way to Make Joy          By Kayla Stewart                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/dining/l
2022-01-04   2022-01-05 a-sushi.html                                Where the Sushi Sprawls                       By Tejal Rao                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/dining/ Sands of Persia Brings Elegant Desserts and
2022-01-04   2022-01-05 nyc-restaurant-openings.html                Shisha to Astoria                             By Florence Fabricant              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/dining/
2022-01-04   2022-01-05 sushi-restaurants-los-angeles.html          Five of the Best In Los Angeles               By Tejal Rao                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/health/c Hospitals Fill Up But Fewer Cases Land in     By Emily Anthes and Azeen
2022-01-04   2022-01-05 ovid-omicron-hospitalizations.html          the ICU                                       Ghorayshi                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/nyregio DA Will Drop Criminal Charge Against           By Luis FerrSadurn and Grace
2022-01-04   2022-01-05 n/cuomo-charges.html                        Cuomo                                         Ashford                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/nyregio Hundreds of Inmates Faced Punishment
2022-01-04   2022-01-05 n/ny-prisons-faulty-drug-tests.html         Because of Defective Drug Tests               By Karen Zraick                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/opinion
2022-01-04   2022-01-05 /capitol-riot.html                          Trump Isnt the Only One to Blame              By Osita Nwanevu                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/opinion
2022-01-04   2022-01-05 /theranos-verdict.html                      Theranos Will Teach Silicon Valley Nothing By Bethany McLean                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/sports/f
2022-01-04   2022-01-05 ootball/nfl-playoff-picture-week-18.html    Trying to Clear Up Cloudy Playoff Picture     By Victor Mather                   TX 9-137-858   2022-03-01




                                                                                 Page 3208 of 5793
                        https://www.nytimes.com/2022/01/04/sports/o Two Wyoming Bobsledders Two Horrific
2022-01-04   2022-01-05 lympics/bobsled-travis-bell-joe-sisson.html Brain Injuries Only One Survivor              By Matthew Futterman                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/sports/r Kathy Flores 66 Womens Rugby Coach
2022-01-04   2022-01-05 ugby/kathy-flores-dead.html                 Forged Path in MaleDominated Sport            By Annabelle Williams                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/technol
2022-01-04   2022-01-05 ogy/5g-att-verizon-rollout.html             US Deal With Carriers Clears Path for 5G      By David McCabe                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/technol
                        ogy/apple-google-spotify-podcast-election- Misinformation Surged on Podcasts Before
2022-01-04   2022-01-05 misinformation.html                         Capitol Attack                                By Stuart A Thompson                 TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/04/technol
2022-01-04   2022-01-05 ogy/elizabeth-holmes-mistrial-hung-jury.html 3 Hung Counts In Holmes Case Yield Mistrial By Erin Woo                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/technol A Reflection Of a Culture Silicon Valley
2022-01-04   2022-01-05 ogy/elizabeth-holmes-verdict.html            Created                                     By Erin Griffith                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/us/i-95- Hundreds Spend Icy Night Stuck on East       By Amanda Holpuch Derrick
2022-01-04   2022-01-05 closed-snowstorm-winter.html                 Coast Artery                                Bryson Taylor and Neil Vigdor         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/us/polit                                              By Luke Broadwater and Alan
2022-01-04   2022-01-05 ics/capitol-riot-panel.html                  Investigation of Riot Picks Up Momentum Feuer                                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/us/polit Trump Political Operation Kicks Into Gear    By Kenneth P Vogel and Shane
2022-01-04   2022-01-05 ics/donald-trump-midterm-elections.html      Ahead of Midterms and Possible 24 Bid       Goldmacher                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/us/scho I Am Screaming Inside Parents Agonize as
2022-01-04   2022-01-05 ol-closing-omicron-covid.html                Schools Reopen or Dont                      By Maggie Astor                       TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/04/world/a Cape Town Police Arrest Man in Parliament
2022-01-04   2022-01-05 frica/southafrica-parliament-fire-suspect.html Fire But Skepticism Remains                By Zanele Mji and Lynsey Chutel      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/world/a
                        mericas/suspect-detained-haiti-                US Charges Colombian in Assassination of By Frances Robles and Anatoly
2022-01-04   2022-01-05 assassination.html                             Haitis Leader                              Kurmanaev                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/world/a Olympic Officials Deflect Calls To Press
2022-01-04   2022-01-05 sia/ioc-china.html                             China on Forced Labor                      By Vivian Wang                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/world/c
                        anada/canada-indigenous-children-              Canada Pledges 315 Billion to Settle Fight
2022-01-04   2022-01-05 settlement.html                                Over Indigenous Child Welfare System       By Catherine Porter and Vjosa Isai   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/world/e
                        urope/ireland-alcohol-minimum-unit-            Ireland Sets Base Price On Alcohol To Curb
2022-01-04   2022-01-05 price.html                                     Use                                        By Isabella Kwai                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/world/e
                        urope/prince-andrew-sexual-abuse-royal-        Andrews Legal Fate May Spoil Queens
2022-01-04   2022-01-05 family.html                                    Jubilee                                    By Mark Landler                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/world/e
                        urope/tony-blair-knighthood-petition-          600000 Signers in UK Aim To Rescind Blairs
2022-01-04   2022-01-05 rescind.html                                   Knighthood                                 By Stephen Castle                    TX 9-137-858   2022-03-01




                                                                                  Page 3209 of 5793
                        https://www.nytimes.com/2022/01/04/world/
                        middleeast/palestinian-hunger-strike-       Palestinian Prisoners Hunger Strike Leads to By Raja Abdulrahim and Ronen
2022-01-04   2022-01-05 israel.html                                 Deal for Release                             Bergman                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/busines Jan 6 Panel Asks Hannity To Cooperate In Its By Michael M Grynbaum and Luke
2022-01-05   2022-01-05 s/sean-hannity-jan-6-committee.html         Inquiry                                      Broadwater                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/nyregio
                        n/brooklyn-gang-deadly-shooting-            Officials Charge 17 People Who Made Gang
2022-01-05   2022-01-05 charged.html                                Alliance                                     By Precious Fondren              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/opinion
2022-01-05   2022-01-05 /inflation-federal-reserve.html             Will Recession Follow the Pandemic           By Bret Stephens                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/opinion To Save America Dont Dismantle the Police
2022-01-05   2022-01-05 /trump-jan-6-democracy.html                 or the Constitution                          By Thomas L Friedman             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/us/chic                                               By Mitch Smith and Dana
2022-01-05   2022-01-05 ago-teachers-union-remote-learning.html     Teachers In Chicago Push Back On Return Goldstein                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/us/polit US Doubles Order for Scarce Pfizer Covid     By Noah Weiland and Rebecca
2022-01-05   2022-01-05 ics/biden-pfizer-pill-order.html            Pills                                        Robbins                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/world/a Ballistic Missile Has Been Tested By North
2022-01-05   2022-01-05 sia/north-korea-ballistic-missile.html      Korea                                        By Choe SangHun                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/world/e
                        urope/kazakhstan-emergency-protests-
2022-01-05   2022-01-05 fuel.html                                   Rising Fuel Prices Spur Anger in Kazakhstan By Valerie Hopkins                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/nyregio Mermaids SwordSwallowers and a Pension
2022-01-05   2022-01-05 n/dick-zigun-coney-island-boardwalk.html    Squabble by the Sea                          By Kimiko de FreytasTamura       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/sports/f Say Goodbye to the Season That Overstayed
2022-01-05   2022-01-05 ootball/nfl-regular-season-17-games.html    Its Welcome                                  By Mike Tanier                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/us/polit
2022-01-05   2022-01-05 ics/jan-6-capitol-riot-investigation.html   A Year Later Capitol Cases Keep Growing      By Alan Feuer                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/article/winter-
2021-12-03   2022-01-06 olympics-sports.html                        A Brief Guide To Every Sport At the Games By Victor Mather                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/article/monobob-
2021-12-04   2022-01-06 winter-olympics.html                        Are You Ready For Some Monobob               By Victor Mather                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/obituari Beverly Russell 87 Who Managed Design
2021-12-29   2022-01-06 es/beverly-russell-dead.html                Magazines With Flair Dies                    By Alex Vadukul                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/opinion
2022-01-03   2022-01-06 /advance-directives-death.html              A Better Way to Face Death                   By Daniela J Lamas               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/opinion Were Not a Real Democracy Thats Why Jan 6
2022-01-03   2022-01-06 /us-democracy-constitution.html             Happened                                     By Jedediah BrittonPurdy         TX 9-137-858   2022-03-01
                                                                                                                 By Ginia Bellafante Iva Dixit
                                                                                                                 Sandra E Garcia Ruth La Ferla
                                                                                                                 Thessaly La Force Minju Pak Kurt
                        https://www.nytimes.com/2022/01/03/style/ne                                              Soller Guy Trebay and Andr
2022-01-03   2022-01-06 w-year-reflections-thoughts.html            Ushering In the New Year Eight Times Over Wheeler                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/technol Wordle Isnt Just a Game Its a Couples Love
2022-01-03   2022-01-06 ogy/wordle-word-game-creator.html           Story                                        By Daniel Victor                 TX 9-137-858   2022-03-01




                                                                               Page 3210 of 5793
                        https://www.nytimes.com/2022/01/03/well/m
2022-01-03   2022-01-06 ove/exercising-muscle-strength.html        Exercise to Get Thin Try Getting Bigger       By Danielle Friedman               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/busines
2022-01-04   2022-01-06 s/office-covid-preference-wristband.html   How Close Is Too Close Wristbands Help        By Emma Goldberg                   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/04/style/ne Bypass Resolutions and Just Try Something    By Gina Cherelus and Shane
2022-01-04   2022-01-06 w-years-resolutions-experiences-learning.html New                                        ONeill                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/technol
2022-01-04   2022-01-06 ogy/tech-predictions.html                     What We Got Wrong About Technology         By Shira Ovide                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/us/lisa- Lisa Brodyaga 81 Lawyer Who Fought for
2022-01-04   2022-01-06 brodyaga-dead.html                            Immigrants                                 By Alex Vadukul                    TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/04/world/a Leftists Replacing RightWing Leaders Across By Ernesto Londoo Julie Turkewitz
2022-01-04   2022-01-06 mericas/leftists-elections-latin-america.html Latin America                            and Flvia Milhorance              TX 9-137-858      2022-03-01

                        https://www.nytimes.com/2022/01/04/books/n Random House Declines to Bid on Norman        By Alexandra Alter and Elizabeth
2022-01-05   2022-01-06 orman-mailer-random-house-skyhorse.html Mailer Book                                      A Harris                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/busines
2022-01-05   2022-01-06 s/dixie-fire-california-pge.html            PGampE Equipment Blamed for Dixie Fire       By Ivan Penn                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/arts/des
                        ign/karla-knight-navigator-aldrich-
2022-01-05   2022-01-06 museum.html                                 In Her Studio the Paranormal Is Normal       By Karen Rosenberg                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/arts/mu Grammy Awards Are Postponed Again as
2022-01-05   2022-01-06 sic/grammy-awards-postponed-covid.html      Virus Variant Surges                         By Ben Sisario                     TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/05/arts/yiv
2022-01-05   2022-01-06 o-institute-archives-yiddish-life-online.html Yiddish Culture Trove Will Soon Go Online By Joseph Berger                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/books/p
                        ublishing-manuscripts-phishing-scam-filippo- Thefts Had Publishers Baffled Now Theres an
2022-01-05   2022-01-06 bernardini.html                               Arrest                                      By Elizabeth A Harris             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/books/r
                        eview-chasing-history-carl-bernstein-
2022-01-05   2022-01-06 memoir.html                                   Life in a Newsroom in a Time of Typewriters By Dwight Garner                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/busines
2022-01-05   2022-01-06 s/audie-cornish-npr.html                      All Things Considered Host to Leave NPR     By Katie Robertson                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/busines
                        s/economy/federal-reserve-minutes-interest-
2022-01-05   2022-01-06 rates.html                                    Fed Weighs Faster Rise For Rates            By Jeanna Smialek                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/busines Behind Streaming Plan HBO And HBO Max
2022-01-05   2022-01-06 s/hbo-max-2021-subscribers.html               Top Forecasts                               By Nicole Sperling                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/busines Slates Top Editor to Step Down After 3Year
2022-01-05   2022-01-06 s/media/slate-editor-jared-hohlt.html         Run                                         By Marc Tracy                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/busines Tarantino Defying Suit Will Sell NFTs Of
2022-01-05   2022-01-06 s/quentin-tarantino-pulp-fiction-nft.html     Pulp Fiction                                By Ephrat Livni                   TX 9-137-858   2022-03-01




                                                                                 Page 3211 of 5793
                        https://www.nytimes.com/2022/01/05/busines William M Ellinghaus Who Oversaw Breakup
2022-01-05   2022-01-06 s/william-m-ellinghaus-dead.html           Of ATampT Is Dead at 99                    By Robert D McFadden                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/climate Harmful Pollutants Converge in the West as
2022-01-05   2022-01-06 /wildfires-ozone-smoke-california.html     Fires Worsen                               By Henry Fountain                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/movies/
2022-01-05   2022-01-06 oscars-box-office-spider-man.html          Oscar Race Hopefuls Struggle for Audiences By Kyle Buchanan                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/movies/
2022-01-05   2022-01-06 spider-man-no-way-home-villains.html       The Devils You Know                        By Dave Itzkoff                     TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/05/nyregio First Black Woman to Lead Council Says Her
2022-01-05   2022-01-06 n/adrienne-adams-city-council-speaker.html Focus Is on Rebuilding a City                By Jeffery C Mays                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/nyregio In Restarting Crime Unit Can Adams Rein It
2022-01-05   2022-01-06 n/eric-adams-nypd-anti-crime-unit.html      In                                          By Troy Closson                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/nyregio
                        n/hochul-proposals-economy-housing-climate- Plans for the Economy Housing Transit and
2022-01-05   2022-01-06 change.html                                 Climate Change                              By Mihir Zaveri                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/nyregio                                              By Luis FerrSadurn and Grace
2022-01-05   2022-01-06 n/kathy-hochul-state-of-ny-speech.html      Hochul Pitches Recovery Plan For New York Ashford                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/nyregio Prosecutors Seek Inquiry Into Maxwell Jurors By Rebecca Davis OBrien and
2022-01-05   2022-01-06 n/maxwell-trial-jury-inquiry.html           Pick                                        Benjamin Weiser                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/opinion Americas Most Urgent Threat Now Comes
2022-01-05   2022-01-06 /jan-6-domestic-extremism.html              From Within                                 By Cynthia MillerIdriss           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/opinion Pregnant or Want to Be Theres Nothing
2022-01-05   2022-01-06 /prenatal-postpartum.html                   Magical About Age 35                        By Jessica Grose                  TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/05/sports/f Dickerson on His Lasting Legacy and
2022-01-05   2022-01-06 ootball/eric-dickerson-rushing-record-cte.html Lingering Grievances                      By Ben Shpigel                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/sports/h Billy Turner 81 Trainer Who Helped Seattle
2022-01-05   2022-01-06 orse-racing/billy-turner-dead.html             Slew Win Triple Crown in 77               By Richard Sandomir              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/sports/t
2022-01-05   2022-01-06 ennis/novak-djokovic-australia-visa.html       Australia Tells Djokovic to Go Home       By Matthew Futterman             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/style/ba Looking at Toys as the Next Big Fashion
2022-01-05   2022-01-06 rbie-balmain-collection.html                   Frontier                                  By Vanessa Friedman              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/style/mi
2022-01-05   2022-01-06 ddle-age-satc-just-like-that.html              Middle Age Isnt Just Like That            By Rhonda Garelick               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/technol Jan 6 Celebration Efforts Get Little Response
2022-01-05   2022-01-06 ogy/jan-6-anniversary-social-media.html        Online                                    By Sheera Frenkel and Ryan Mac   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/05/technol
2022-01-05   2022-01-06 ogy/personaltech/tech-2022-vr-metaverse.htmlNew Techs Familiar Look                    By Brian X Chen                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/us/amer In Shadow of the Pandemic Guns Take a
2022-01-05   2022-01-06 ican-children-gun-deaths.html               Grim Toll on Children                      By Jack Healy                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/us/boy- Settlement For Victims In Scouting Could
2022-01-05   2022-01-06 scouts-settlement.html                      Falter                                     By Mike Baker                      TX 9-137-858   2022-03-01




                                                                                Page 3212 of 5793
                        https://www.nytimes.com/2022/01/05/us/hom After 130 Years Pardon Clears Record but
2022-01-05   2022-01-06 er-plessy-pardon.html                       Cannot Erase Pain                          By Rick Rojas                   TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/05/us/polit
                        ics/biden-harris-voting-rights-speech-      Biden and Harris to Speak On Voting Rights
2022-01-05   2022-01-06 atlanta.html                                in Atlanta                                 By Katie Rogers                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/05/us/polit Capitol Police Chief Commits to Security
2022-01-05   2022-01-06 ics/capitol-police-january-6.html           Upgrades                                   By Luke Broadwater              TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/05/us/polit
                        ics/cdc-rochelle-walensky-covid-isolation-  Fumbled Communications Cloud CDC Covid By Sharon LaFraniere Sheryl Gay
2022-01-05   2022-01-06 testing.html                                Policy                                     Stolberg and Noah Weiland       TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/05/us/polit Lingering Resentments Amplify Struggle to
2022-01-05   2022-01-06 ics/jan-6-attack-capitol-lawmakers.html     Comprehend a Chaotic Day                   By Carl Hulse                   TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/05/us/polit Garland Vows to Pursue Investigation at Any
2022-01-05   2022-01-06 ics/merrick-garland-jan-6-investigation.html Level                                        By Katie Benner                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/us/polit
                        ics/republican-impeachment-votes-trump-jan-                                               By Jonathan Weisman and Luke
2022-01-05   2022-01-06 6.html                                       They Voted to Impeach Its Still Costing Them Broadwater                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/us/polit                                               By Shane Goldmacher and Maggie
2022-01-05   2022-01-06 ics/trump-gop-jan-6.html                     Year After Riot GOP Is Trumps to Command Haberman                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/world/a
                        mericas/rio-carnival-parties-parade-         Rio Cancels Carnival Street Parties but Not By Flvia Milhorance and Derrick
2022-01-05   2022-01-06 brazil.html                                  Parade                                       Bryson Taylor                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/world/a Hong Kong Tightens Rules Suspending
2022-01-05   2022-01-06 sia/hong-kong-flights.html                   Incoming Flights                             By Austin Ramzy and John Yoon TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/05/world/a Indias Rising Omicron Wave Brings a Grim By Mujib Mashal and Karan Deep
2022-01-05   2022-01-06 sia/india-omicron-coronavirus.html           Sense of Dj Vu and Frustration               Singh                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/world/e UK Expands Pardons Policy In a Victory
2022-01-05   2022-01-06 urope/britain-same-sex-pardon.html           For Gay People                               By Isabella Kwai               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/world/e
                        urope/italy-female-statue-padua-prato-della- Italian Plan to Put a Female Statue on a
2022-01-05   2022-01-06 valle.html                                   Pedestal Has Stirred a Debate                By Elisabetta Povoledo         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/world/e RussianLed Forces to Help Put Down Protests By Valerie Hopkins and Ivan
2022-01-05   2022-01-06 urope/kazakhstan-protests-gas-prices.html    Sweeping Kazakhstan                          Nechepurenko                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/world/e In Vulgar Language Macron Vows to Limit
2022-01-05   2022-01-06 urope/macron-france-unvaccinated.html        Access of Unvaccinated                       By Norimitsu Onishi            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/world/h For Autocrats Across the Globe History Is for
2022-01-05   2022-01-06 istory-revisionism-nationalism.html          Revising                                     By Max Fisher                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/article/snowstorm-                                                By Alyssa Lukpat and Christine
2022-01-05   2022-01-06 car-safety-tips.html                         Here to Help Surviving in Your Stranded Car Chung                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/live/2022/01/05/bus
                        iness/stock-market-economy-news/ford-sales-
                        fell-7-percent-in-2021-but-rebounded-in-the- GM Plans Electric Push But Expansion Lags
2022-01-05   2022-01-06 fourth-quarter                               Its Rivals                                   By Neal E Boudette             TX 9-137-858   2022-03-01




                                                                               Page 3213 of 5793
                        https://www.nytimes.com/2022/01/05/health/c Study Finds Rapid Tests Might Fail to Detect By Emily Anthes and Christina
2022-01-06   2022-01-06 ovid-rapid-test-omicron-detection.html       Variant                                     Jewett                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/sports/k
2022-01-06   2022-01-06 yrie-irving-nets-pacers-vaccine.html         With the Nets on the Road Irving Returns    By Sopan Deb                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/us/chic
                        ago-schools-close-teachers-union-child-      Chicago Closes School Abruptly In Labor     By Mitch Smith and Robert
2022-01-06   2022-01-06 care.html                                    Battle                                      Chiarito                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/us/phila 12 Die as Blaze Sweeps Duplex In             By Sophie Kasakove Joel Wolfram
2022-01-06   2022-01-06 delphia-rowhouse-fire.html                   Philadelphia                                and Campbell Robertson          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/us/polit
2022-01-06   2022-01-06 ics/michael-carvajal-resigns-prisons.html    Prisons Chief Quits Ending Rocky Tenure     By Katie Benner                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/style/cli
2022-01-06   2022-01-06 fton-mooney-polaroids.html                   The Covid Nurse Turned Polaroid Portraitist By Kurt Soller                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/style/vi
2022-01-06   2022-01-06 ntage-fashion-red-carpet-awards.html         Whats Old Is New Again Really               By Jessica Testa                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/us/polit
2022-01-06   2022-01-06 ics/jan-6-capitol-riot-aftermath.html        Shock Outrage and a Deeper Political Divide By Peter Baker                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/31/movies/ Sorting Through Fisticuffs and Things That
2021-12-31   2022-01-07 action-movies-streaming.html                 Go Boom                                     By Robert Daniels               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/02/books/n
2022-01-02   2022-01-07 oah-hawley-anthem.html                       Noah Hawley Keeps Changing Lanes            By Elizabeth A Harris           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/arts/sab Sabine Weiss Humanist Who Photographed
2022-01-04   2022-01-07 ine-weiss-dead.html                          Streets Of Paris Is Dead at 97              By Clay Risen                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/movies/
2022-01-04   2022-01-07 american-gadfly-review.html                  American Gadfly                             By Ben Kenigsberg               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/arts/des
2022-01-05   2022-01-07 ign/nyc-things-to-do-winter.html             Gowns Puppets Sharks and Other Diversions By Sarah Bahr                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/busines
                        s/economy/supply-chain-reshoring-us-
2022-01-05   2022-01-07 manufacturing.html                           Made in America Again                       By Nelson D Schwartz            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/us/rabb Rabbi Who Survived Attack Is Sent to Prison
2022-01-05   2022-01-07 i-yisroel-goldstein-fraud.html               Over Fraud                                  By Michael Levenson             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/world/e
                        urope/germany-legalize-recreational-
2022-01-05   2022-01-07 marijuana.html                               German StartUps Bank on Legal Marijuana By Christopher F Schuetze           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/movies/
2022-01-06   2022-01-07 a-hero-review.html                           Good or Ill Intent Thats Not the Point      By AO Scott                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/movies/
2022-01-06   2022-01-07 expedition-content-review.html               Anthropological Maneuvers in the Dark       By Manohla Dargis               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/arts/des
                        ign/alice-trumbull-mason-washburn-
2022-01-06   2022-01-07 whitney.html                                 One Artist Worthy Of Two Showings           By Roberta Smith                TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/06/arts/des
2022-01-06   2022-01-07 ign/met-museum-african-origin-exhibit.html New Points of Light Across Cultures        By Holland Cotter                TX 9-137-858     2022-03-01



                                                                               Page 3214 of 5793
                        https://www.nytimes.com/2022/01/06/arts/mu
                        sic/rigoletto-met-opera-quinn-kelsey-rosa-
2022-01-06   2022-01-07 feola.html                                   Reunited as Father and Daughter             By Joshua Barone                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/arts/tele
2022-01-06   2022-01-07 vision/20-shows-to-watch-this-winter.html    Winter TV 20 Shows You May Not Know         By Mike Hale                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/arts/tele
2022-01-06   2022-01-07 vision/righteous-gemstones-season-2.html     This Weekend I Have                         By Margaret Lyons               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/busines Forced to Ration Scarce Lifesaving Covid      By Rebecca Robbins Noah Weiland
2022-01-06   2022-01-07 s/covid-paxlovid-antibodies-omicron.html     Drugs as Virus Spikes                       and Christina Jewett            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/busines
                        s/economy/richard-clarida-fed-stock-         Fed Official Didnt Reveal Full Extent Of
2022-01-06   2022-01-07 fund.html                                    Trading                                     By Jeanna Smialek               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/busines
2022-01-06   2022-01-07 s/hirohata-merc-auction.html                 A Luxe Custom Mercury Heads to Auction      By Brett Berk                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/busines Times Co to Buy The Athletic A Sports         By Lauren Hirsch Kevin Draper
2022-01-06   2022-01-07 s/new-york-times-the-athletic.html           Outlet for DieHard Fans                     and Katherine Rosman            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/climate Democrats in Virginia Plan to Block Selection
2022-01-06   2022-01-07 /andrew-wheeler-virginia.html                Of Former Trump Aide                        By Lisa Friedman                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/climate Incoming Chile President Faces Thorny
2022-01-06   2022-01-07 /lithium-chile.html                          Decisions On Lithium Extraction             By John Bartlett                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/health/c Late or Erratic Periods May Follow for
2022-01-06   2022-01-07 ovid-vaccine-menstrual-cycles.html           Women Who Get Covid19 Shot                  By Roni Caryn Rabin             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/health/c Should We Expect Another Shot Every Few
2022-01-06   2022-01-07 ovid-vaccines-boosters.html                  Months No                                   By Apoorva Mandavilli           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/movies/ What We Know and Dont About the 2022
2022-01-06   2022-01-07 golden-globes-hfpa.html                      Golden Globes                               By Sarah Bahr                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/movies/ Peter Bogdanovich Director of The Last
2022-01-06   2022-01-07 peter-bogdanovich-dead.html                  Picture Show Dies at 82                     By Margalit Fox                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/movies/
2022-01-06   2022-01-07 see-for-me-review-steal-away.html            See for Me                                  By Jeannette Catsoulis          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/movies/
2022-01-06   2022-01-07 the-355-review.html                          FlatFooted Adventures in Bondville          By Amy Nicholson                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/movies/
2022-01-06   2022-01-07 the-commando-review.html                     The Commando                                By Glenn Kenny                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/nyregio
2022-01-06   2022-01-07 n/alvin-bragg-manhattan-da.html              A New DAs Plan to Curb Incarceration        By Jonah E Bromwich             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/nyregio Hochul Speech Offers Road Map to
2022-01-06   2022-01-07 n/hochul-policy-agenda-ny.html               Campaign That Lies Ahead                    By Katie Glueck                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/nyregio Subway Service in New York City Suffers as
2022-01-06   2022-01-07 n/nyc-subway-covid-omicron.html              Omicron Infects Transit Workers             By Michael Gold and Ashley Wong TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/nyregio                                               By Michael Gold Jeffery C Mays
2022-01-06   2022-01-07 n/nypd-subway-patrol.html                    Police to Ramp Up Train and Station Patrols and Andy Newman                 TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/06/nyregio Man Charged With Trafficking Untraceable
2022-01-06   2022-01-07 n/rhode-island-man-ghost-guns-arrested.html Ghost Guns                                By Benjamin Weiser               TX 9-137-858     2022-03-01



                                                                               Page 3215 of 5793
                        https://www.nytimes.com/2022/01/06/opinion
2022-01-06   2022-01-07 /america-civil-war.html                     Are We Facing a Second Civil War            By Michelle Goldberg            TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/06/opinion
2022-01-06   2022-01-07 /jan-6-trump-us.html                        Trumpism Wasnt Radical Enough               By Sohrab Ahmari                TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/06/opinion Bidens Vaccine Mandates Must Remain
2022-01-06   2022-01-07 /supreme-court-vaccine-mandates.html        Intact                                      By Wendy Parmet                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/06/sports/b Mets Raid the Yankees For a New Hitting
2022-01-06   2022-01-07 aseball/eric-chavez-mets.html               Coach                                       By James Wagner                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/06/sports/b In His Return Irving Shows Why the Nets
2022-01-06   2022-01-07 asketball/kyrie-irving-nets.html            Made an Exception                           By Sopan Deb                    TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/06/sports/c The North Star of Womens Equality Spent a
2022-01-06   2022-01-07 hristine-grant-title-ix.html                Lifetime Fighting for Fair Play             By Jer Longman                  TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/06/sports/f
                        ootball/antonio-brown-released-             Browns Tenure With Bucs Comes to a
2022-01-06   2022-01-07 buccaneers.html                             Familiar End Messy                          By Ben Shpigel                  TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/06/technol Google Barred From Importing Some
2022-01-06   2022-01-07 ogy/google-sonos-patents.html               Products After Losing Sonos Patent Case     By Daisuke Wakabayashi          TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/06/theater/
2022-01-06   2022-01-07 lachanze-alice-childress-trouble-in-mind.html Finding the Depths In a Writers Words       By LaChanze                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/travel/c Despite Mounting Criticism and Cases Cruise
2022-01-06   2022-01-07 oronavirus-cruise-ships-omicron.html          Ships Keep Sailing                          By Ceylan Yeginsu               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/us/dog- After Rescue Dog Is Hailed as a Real Life
2022-01-06   2022-01-07 tinsley-rescues-owner.html                    Lassie                                      By Vimal Patel                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/us/oreg Oregon Says ExColumnist Is Not Eligible For
2022-01-06   2022-01-07 on-governor-kristof.html                      Governor                                    By Mike Baker                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/us/polit Biden Condemns Trump as US Remembers
2022-01-06   2022-01-07 ics/biden-jan-6-capitol-attack.html           Capitol Riot                                By Peter Baker                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/us/polit
                        ics/congress-corporate-donations-2020-                                                    By Alan Rappeport Madeleine Ngo
2022-01-06   2022-01-07 election-overturn.html                        After Jan 6 Donor Pause Was Short           and Kate Kelly                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/us/polit Debate on Memorial Gains Little Ground In
2022-01-06   2022-01-07 ics/jan-6-capitol-memorial.html               Divided Congress                            By Emily Cochrane               TX 9-137-858   2022-03-01
                                                                                                                  By Matthew Rosenberg Jim
                        https://www.nytimes.com/2022/01/06/us/polit The Rights Revisionist History of an Uprising Rutenberg and Michael M
2022-01-06   2022-01-07 ics/jan-6-lies.html                           Fueled by a Lie                             Grynbaum                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/world/a Chinas Latest Lockdown Leaves Residents
2022-01-06   2022-01-07 sia/china-xian-lockdown-covid.html            Feeling Like Prisoners                      By Alexandra Stevenson          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/world/a Putin Exploits Kazakh Turmoil To Extend
2022-01-06   2022-01-07 sia/kazakhstan-putin-russia.html              Grip                                        By Andrew Higgins               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/world/a North Korean Defector Risked Life to Go
2022-01-06   2022-01-07 sia/north-korea-defector-dmz.html             Back                                        By Choe SangHun                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/world/a Woman Likely to Join Supreme Court In a
2022-01-06   2022-01-07 sia/pakistan-woman-supreme-court.html         Defining Moment for Pakistan                By Salman Masood                TX 9-137-858   2022-03-01




                                                                                Page 3216 of 5793
                        https://www.nytimes.com/2022/01/06/world/a Djokovic Furor Comes at a Difficult Moment
2022-01-06   2022-01-07 ustralia/novak-djokovic-covid.html           in Australias Covid Fight                By Yan Zhuang                      TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/06/world/a
                        ustralia/why-novak-djokovic-was-
2022-01-06   2022-01-07 blocked.html                                 At Border No One Is Above These Rules    By Austin Ramzy                    TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/06/world/e Ethics Adviser Rebukes Johnson Over Lavish By Mark Landler and Stephen
2022-01-06   2022-01-07 urope/boris-johnson-ethics-britain-uk.html   Downing Street Makeover                  Castle                             TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/06/world/e Pope Scolds Pet Owners Who Shun
2022-01-06   2022-01-07 urope/pope-pets-kids.html                    Parenthood                               By Elisabetta Povoledo             TX 9-137-858     2022-03-01
                        https://www.nytimes.com/live/2022/01/06/wo
                        rld/kazakhstan-protests/kazakhstan-protests-
2022-01-06   2022-01-07 oil-uranium                                  Upheaval Could Rattle Energy Markets     By Stanley Reed                    TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/06/opinion
2022-01-07   2022-01-07 /democrats-fail-defending-democracy.html    Democrats Are Bad at Defending Democracy By David Brooks                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/opinion
                        /inflation-unemployment-economy-
2022-01-07   2022-01-07 growth.html                                 The Economic Argument For Goldilocks          By Paul Krugman                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/sports/d Modern Grudge Match Pits the Individualist
2022-01-07   2022-01-07 jokovic-rodgers-irving-coronavirus.html     Vs the Greater Good                           By Matthew Futterman             TX 9-137-858   2022-03-01
                                                                                                                  By Sophie Kasakove Campbell
                        https://www.nytimes.com/2022/01/06/us/phila Inquiry Looks at Possibility of Child Playing Robertson Joel Wolfram and Emily
2022-01-07   2022-01-07 delphia-fire-cause-vigil.html               With Fire                                     Neil                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/us/polit A Direct Attack After a Year Of Ignoring the
2022-01-07   2022-01-07 ics/biden-trump-jan-6.html                  Former Guy                                    By Zolan KannoYoungs             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/us/polit As Charges Against Cuomo Fall Away Some
2022-01-07   2022-01-07 ics/cuomo-charges-future-resignation.html   See a Possible Comeback                       By Katie Glueck                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/us/polit
                        ics/former-biden-advisers-pandemic-
2022-01-07   2022-01-07 strategy.html                               ExAides Urge US to Remake Covid Strategy By Sheryl Gay Stolberg                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/us/polit In Capitol a Day of Solemn Remembrance        By Emily Cochrane and Luke
2022-01-07   2022-01-07 ics/january-6-anniversary-photos.html       and Attempts at Catharsis                     Broadwater                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/us/polit A Reflection of Where Our Party Is
2022-01-07   2022-01-07 ics/republicans-jan-6-observances.html      Republicans Avoid Jan 6 Observances           By Catie Edmondson               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/world/a North Korea Says It Will Skip Beijing
2022-01-07   2022-01-07 sia/north-korea-beijing-olympics.html       Olympics                                      By Choe SangHun                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/article/olympics-    Boycotts Virus Protocols Questions Loom as
2022-01-04   2022-01-08 beijing-faq.html                            Beijing Nears                                 By Andrew Keh                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/technol
                        ogy/china-tech-internet-crackdown-
2022-01-05   2022-01-08 layoffs.html                                Gloom Settles on Chinas Tech Industry         By Li Yuan                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/opinion Omicron Cases Are Likely to Peak in the US
2022-01-06   2022-01-08 /omicron-covid-us.html                      in January                                    By Jeffrey Shaman                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/technol
2022-01-06   2022-01-08 ogy/cable-tv.html                           Closing In on the Cords Final Cut             By Shira Ovide                   TX 9-137-858   2022-03-01



                                                                                Page 3217 of 5793
                        https://www.nytimes.com/2022/01/06/us/cant Ohio Man Is Killed by Officer After Shooting
2022-01-07   2022-01-08 on-police-nye-shooting.html                 Rifle Into Air                              By Michael Levenson           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/us/unite Man Charged With Stealing Dead 4YearOlds By Amanda Holpuch and Azi
2022-01-07   2022-01-08 d-flight-attendant-stolen-identity.html     Identity                                    Paybarah                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/arts/cit
2022-01-07   2022-01-08 y-ballet-delays-season.html                 City Ballet Delays Season Opening           By Matt Stevens               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/07/arts/des Theres a Mystery Amid These Sherlockian
2022-01-07   2022-01-08 ign/sherlock-holmes-exhibition-grolier.html Items                                        By James Barron              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/arts/mu
2022-01-07   2022-01-08 sic/coronavirus-omicron-met-opera.html       Met Opera Undaunted by Omicron              By Javier C Hernndez         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/arts/mu Harry Colomby 92 Longtime Manager for a
2022-01-07   2022-01-08 sic/harry-colomby-dead.html                  Jazz Great                                  By Richard Sandomir          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/arts/mu
                        sic/new-york-philharmonic-susanna-
2022-01-07   2022-01-08 malkki.html                                  A Very Fine Tryout For a European Visitor   By Zachary Woolfe            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/arts/tele
2022-01-07   2022-01-08 vision/euphoria-season-2.html                Euphoria Is Back Heres a Refresher Course   By Sadiba Hasan              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/arts/tele
2022-01-07   2022-01-08 vision/tv-shows-covid-pandemic.html          Covid Is Now Over At Least On TV            By James Poniewozik          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/busines Airlines Pushing EU To Ease Airport Rules
2022-01-07   2022-01-08 s/airlines-european-union-omicron.html       Amid Omicron Surge                          By Melissa Eddy              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/busines Citigroup Prepares to Fire Unvaccinated
2022-01-07   2022-01-08 s/citigroup-vaccine-mandate.html             Employees                                   By Lananh Nguyen             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/busines
                        s/economy/jobs-interest-rates-federal-
2022-01-07   2022-01-08 reserve.html                                 Jobless Data May Hasten A Rate Hike         By Jeanna Smialek            TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/07/busines                                               By Sydney Ember and Jeanna
2022-01-07   2022-01-08 s/economy/jobs-report-december-2021.html Hiring Falters As US Faces Labor Dearth         Smialek                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/busines Inflation in the Eurozone Increases to 5
2022-01-07   2022-01-08 s/european-union-eurozone-inflation.html    Percent Setting Another Record               By Eshe Nelson               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/health/c Hospitals Report Surge In Children 4 and
2022-01-07   2022-01-08 ovid-children-hospitals.html                Under Infected With Covid19                  By Apoorva Mandavilli        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/movies/ Sidney Poitier 94 Pioneering Black Oscar
2022-01-07   2022-01-08 sidney-poitier-dead.html                    Winner Dies                                  By William Grimes            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/movies/ An Artist Who Became the Star We
2022-01-07   2022-01-08 sidney-poitier-legacy.html                  Desperately Needed Him to Be                 By Wesley Morris             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/movies/
2022-01-07   2022-01-08 the-tender-bar-alcoholism.html              A Drinking Tale Ducks an Issue               By Chris Vognar              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/nyregio
                        n/andrew-cuomo-groping-charge-
2022-01-07   2022-01-08 dismissed.html                              Judge Dismisses Cuomos Groping Charge        By Luis FerrSadurn           TX 9-137-858   2022-03-01




                                                                                Page 3218 of 5793
                        https://www.nytimes.com/2022/01/07/nyregio Picking Deputy Adams Ignores Ethics         By Jeffery C Mays Michael
2022-01-07   2022-01-08 n/eric-adams-philip-banks-deputy-mayor.html Concern                                    Rothfeld and William K Rashbaum TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/07/nyregio Families of Veterans Who Died in Pandemic
2022-01-07   2022-01-08 n/nj-nursing-home-covid-settlement.html     to Be Paid 53 Million                      By Tracey Tully                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/07/nyregio                                             By Sharon Otterman and Joseph
2022-01-07   2022-01-08 n/ny-hospitals-omicron-covid.html           Omicron Wave Overwhelming NY Hospitals Goldstein                           TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/07/nyregio Seasons First Major Snow Snarls Commute in By Patrick McGeehan Christine
2022-01-07   2022-01-08 n/snow-northeast-power-outages.html         New York                                   Chung and Derrick Bryson Taylor TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/07/opinion
2022-01-07   2022-01-08 /democrats-focus-group.html                 We Barely Qualify as a Democracy Anymore By Patrick Healy and Lora Kelley TX 9-137-858      2022-03-01
                        https://www.nytimes.com/2022/01/07/opinion                                             By Patrick Healy and Adrian J
2022-01-07   2022-01-08 /republicans-focus-group.html               Things Happen in Life Quit Being a Wuss    Rivera                          TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/07/opinion
2022-01-07   2022-01-08 /russia-ukraine-putin-nato.html             Ukraine Is Only Part of Putins Plans       By Lilia Shevtsova              TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/07/opinion What Voters Really Think About the State of
2022-01-07   2022-01-08 /voter-focus-groups-jan-6.html              America                                    By Patrick Healy                TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/07/sports/o Top US Skater Is Out of Nationals After a
2022-01-07   2022-01-08 lympics/alysa-liu-coronavirus.html          Positive Coronavirus Test                  By Juliet Macur                 TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/07/sports/o
2022-01-07   2022-01-08 lympics/mikaela-shiffrin-beijing-skiing.html After 2 Tough Years Shiffrin Is Back on Top By Bill Pennington              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/theater/
2022-01-07   2022-01-08 caroline-or-change-multiple-views.html       Time to Savor a Musical Again and Again      By Laura CollinsHughes         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/us/chic For Chicago Families Fear and Frustration      By Giulia Heyward and Jamie
2022-01-07   2022-01-08 ago-schools-families.html                    Over School Turmoil                          Kelter Davis                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/us/fede                                                By Sophie Kasakove and Glenn
2022-01-07   2022-01-08 ral-rental-assistance-evictions.html         Rental Aid Program Is Running Out of Money Thrush                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/us/knox Arson Is Blamed for Fire At Clinic in
2022-01-07   2022-01-08 ville-planned-parenthood-arson.html          Tennessee                                    By Amanda Holpuch              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/us/mcm
                        ichael-bryan-sentencing-ahmaud-arbery-       Georgia Judge Sentences Three Men to Life in
2022-01-07   2022-01-08 killing.html                                 Prison in Arbery Killing                     By Richard Fausset             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/us/polit White House Picks Combat Leader to Oversee
2022-01-07   2022-01-08 ics/biden-military-kurilla.html              Military Operations in Middle East           By Helene Cooper               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/us/polit Biden Speech To Congress Is Scheduled For
2022-01-07   2022-01-08 ics/biden-state-of-the-union.html            March 1                                      By Zolan KannoYoungs           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/us/polit
                        ics/biden-vaccine-mandate-supreme-           Top Court Leans Toward Blocking Vaccine
2022-01-07   2022-01-08 court.html                                   Mandate                                      By Adam Liptak                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/us/polit
2022-01-07   2022-01-08 ics/jan-6-terrorism-explainer.html           Does Jan 6 Qualify as a Terror Attack        By Charlie Savage              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/us/polit Lani Guinier 71 Legal Scholar at Center of
2022-01-07   2022-01-08 ics/lani-guinier-dead.html                   ClintonEra Controversy Is Dead               By Clay Risen                  TX 9-137-858   2022-03-01




                                                                                Page 3219 of 5793
                        https://www.nytimes.com/2022/01/07/us/polit Agency Issues Warning to Public on Threat of
2022-01-07   2022-01-08 ics/spyware-warning-cybersecurity.html      Spyware                                      By Julian E Barnes              TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/07/world/a Ethiopia Pledges to Free Political Prisoners
2022-01-07   2022-01-08 frica/jawar-mohammed-release-ethiopia.html and Calls for National Dialogue on Conflict    By Declan Walsh                TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/world/a
                        mericas/luiza-trajano-brazil-magalu-       Billionaire Takes Stance On Racism Roiling
2022-01-07   2022-01-08 racism.html                                Brazil                                         By Ernesto Londoo              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/world/a For Autocrats the Perils of Finally Leaving
2022-01-07   2022-01-08 sia/kazakhstan-protests-strongmen.html     Office                                         By Max Fisher                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/world/a Power Struggle May Be Driving Kazakh           By Ivan Nechepurenko and Andrew
2022-01-07   2022-01-08 sia/kazakhstan-protests.html               Chaos                                          Higgins                         TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/07/world/e Italian Killer Wanted for 20 Years Is Caught
2022-01-07   2022-01-08 urope/italian-mafia-fugitive-google-maps.html With Help From Google                       By Elisabetta Povoledo         TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/world/e NATO Promises United Response To Putins
2022-01-07   2022-01-08 urope/nato-russia-ukraine.html                Moves Against Ukraine                       By Steven Erlanger             TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/your-
                        money/college-early-decision-northeastern- How Colleges Make a Tough Decision Even
2022-01-07   2022-01-08 merit-aid.html                                Harder                                      By Ron Lieber                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/your-
2022-01-07   2022-01-08 money/taxes-irs.html                          Filing for the Rest of Your Relief Money    By Ann Carrns                  TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/07/nyregio Columbias Student Workers End Strike After
2022-01-08   2022-01-08 n/columbia-student-workers-strike-ends.html Deal                                      By Ashley Wong                     TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/nyregio Video Shows Officers Ran Off After Firing
2022-01-08   2022-01-08 n/man-catskill-police-stun-gun-dies.html    Stun Gun That Set Man Ablaze              By Precious Fondren                TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/us/polit President Offers Comfort to Families in
2022-01-08   2022-01-08 ics/biden-colorado-fires.html               FireRavaged Colorado                      By Zolan KannoYoungs               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/us/polit                                           By Leah Askarinam and Blake
2022-01-08   2022-01-08 ics/politics-inflation-redistricting.html   The 5 Big Questions Shaping the Midterms Hounshell                           TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/08/sports/f What to Watch For in First Games of the
2022-01-08   2022-01-08 ootball/chiefs-broncos-score.html           Regular Seasons Last Weekend              By Alanis Thames                   TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/08/world/e
                        urope/biden-boris-johnson-coronavirus-      Biden and Johnson Find Shared Ground on
2022-01-08   2022-01-08 omicron.html                                Virus                                     By Mark Landler                    TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/10/26/books/r
                        eview/louise-gluck-winter-recipes-from-the-
2021-10-26   2022-01-09 collective.html                             The Rest Is Silence                       By Elisa Gabbert                   TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/11/02/books/r
2021-11-02   2022-01-09 eview/sam-quinones-least-of-us.html         Designer Drugs                            By Casey Schwartz                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/11/02/books/r
2021-11-02   2022-01-09 eview/sarah-hall-burntcoat.html             Damage Control                            By Lidija Haas                     TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/11/09/books/r
2021-11-09   2022-01-09 eview/dan-jones-powers-and-thrones.html     Reclaiming the Middle Ages                By Kevin Stroud                    TX 9-137-858    2022-03-01



                                                                                 Page 3220 of 5793
                        https://www.nytimes.com/2021/11/18/books/r
2021-11-18   2022-01-09 eview/rutu-modan-tunnels-exit-wounds.html Israel in Full Color                            By Gal Beckerman           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/11/19/books/r
                        eview/hitlers-american-gamble-brendan-
2021-11-19   2022-01-09 simms-charlie-laderman.html                The Fateful Choice                             By Benjamin Carter Hett    TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2021/12/08/books/r
2021-12-08   2022-01-09 eview/the-generation-myth-bobby-duffy.html For Every Season                               By Tom Standage            TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2021/12/13/books/r
2021-12-13   2022-01-09 eview/the-fortune-men-nadifa-mohamed.html Guilty Until Proven Innocent                    By Nicole R Fleetwood      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/15/books/r
                        eview/making-darkness-light-john-milton-joe-
2021-12-15   2022-01-09 moshenska.html                                 Seeing Things                              By Fiona Sampson           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/15/books/r
                        eview/you-never-get-it-back-cara-blue-
2021-12-15   2022-01-09 adams.html                                     Roaring Twenties                           By Sophie Ward             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/books/r
                        eview/charles-finch-what-just-happened-the-
                        first-shots-a-shot-to-save-the-world-bruno-
2021-12-29   2022-01-09 latour-after-lockdown.html                     Covid                                      By Eve Fairbanks           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/29/nyregio
2021-12-29   2022-01-09 n/sacred-spaces-home-nyc.html                  Living With Sacred Spaces                  By James Estrin            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/books/r
                        eview/the-best-seller-list-has-a-century-club-
2021-12-30   2022-01-09 with-limited-membership.html                   Inside the List                            By Elisabeth Egan          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/30/books/r
                        eview/the-story-paradox-jonathan-
2021-12-30   2022-01-09 gottschall.html                                Once Upon a Time                           By Timothy Snyder          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/magazi
2022-01-03   2022-01-09 ne/california-widfires.html                    Forever Fire                               By Elizabeth Weil          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/nyregio The Man Who Corrals New Yorks Derelict
2022-01-03   2022-01-09 n/abandoned-boats-nyc.html                     Boats                                      By Kaya Laterman           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/opinion
2022-01-03   2022-01-09 /diet-resolution.html                          Confessions of a Fat Philosopher           By Kate Manne              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/realesta
                        te/for-one-rockaways-couple-lockdown-was-a-
2022-01-03   2022-01-09 creative-windfall.html                         The Nearby Beach Is a Good Place to Bond   By Marian Bull             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/interactive/2022/01/ An Evangelical Climate Scientist Wonders
2022-01-03   2022-01-09 03/magazine/katharine-hayhoe-interview.html What Went Wrong                               By David Marchese          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/arts/tele
                        vision/witcher-netflix-lauren-schmidt-
2022-01-04   2022-01-09 hissrich.html                                Plenty of Inspirations but Few Boundaries    By Elisabeth Vincentelli   TX 9-137-858   2022-03-01



                                                                                 Page 3221 of 5793
                        https://www.nytimes.com/2022/01/04/books/g
                        roup-text-school-for-good-mothers-jessamine- The School for Good Mothers by Jessamine
2022-01-04   2022-01-09 chan.html                                    Chan                                     By Elisabeth Egan           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/busines
2022-01-04   2022-01-09 s/media/polo-lounge-hollywood.html           One Cure for Hollywoods Blues A 44 Salad By Brooks Barnes            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/magazi
2022-01-04   2022-01-09 ne/ambivalence-ambivalent-definition.html How to Be Ambivalent                        By Malia Wollan             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/magazi                                             By Susan Dominus and Luke
2022-01-04   2022-01-09 ne/jan-6-capitol-police-officers.html        The Scars of January 6                   Broadwater                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/magazi
2022-01-04   2022-01-09 ne/philadelphia-freedom-elton-john.html      Philadelphia Freedom                     By Allyson McCabe           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/magazi Should You Be Disciplined For Laughing at a
2022-01-04   2022-01-09 ne/workplace-sexist-joke-ethics.html         CoWorkers Sexist Joke                    By Kwame Anthony Appiah     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/opinion
2022-01-04   2022-01-09 /burnout-men-signs.html                      We Need to Talk About Male Burnout       By Jonathan Malesic         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/opinion
2022-01-04   2022-01-09 /marriage-divorce.html                       Divorce Doesnt Have to Be Lonely         By Kaitlyn Greenidge        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/realesta
2022-01-04   2022-01-09 te/build-a-home-gym.html                     Make a Home Gym Thats a Joy to Use       By Tim McKeough             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/fashion
2022-01-05   2022-01-09 /weddings/marriage-proposal-ideas.html       How to Propose First Get a Lion          By Vincent M Mallozzi       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/magazi
2022-01-05   2022-01-09 ne/daily-routine-video-tiktok.html           Crunch Time                              By Sophie Haigney           TX 9-137-858   2022-03-01
                                                                     Speckled and Sweet A poppyseed cake is a
                        https://www.nytimes.com/2022/01/05/magazi call back to childhood and a New York thats
2022-01-05   2022-01-09 ne/poppy-seed-cake-recipe.html               mostly gone                              By Dorie Greenspan          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/magazi
2022-01-05   2022-01-09 ne/ryan-kaji-youtube.html                    The Player                               By Jay Caspian Kang         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/movies/
                        scream-courteney-cox-david-arquette-neve-
2022-01-05   2022-01-09 campbell.html                                Taking Yet Another Stab at Scream        By Dave Itzkoff             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/opinion
2022-01-05   2022-01-09 /jan-6-global-democracy.html                 What the World Saw That Day              By Francis Fukuyama         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/opinion
2022-01-05   2022-01-09 /jan-6-jimmy-carter.html                     Americas Democracy Is in Danger          By Jimmy Carter             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/opinion
2022-01-05   2022-01-09 /omicron-covid-testing-cdc.html              The CDC Is Leaving You on Your Own       By Zeynep Tufekci           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/opinion
2022-01-05   2022-01-09 /relaxing-muscles-skills.html                Mastering the Art of Relaxation          By Farhad Manjoo            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/opinion
2022-01-05   2022-01-09 /republicans-trump-lies.html                 An Assault On the Truth                  By Rebecca Solnit           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/realesta A Walkable Suburb With Plenty of Green
2022-01-05   2022-01-09 te/bloomfield-nj-walkable-suburb.html        Space                                    By Kathleen Lynn            TX 9-137-858   2022-03-01




                                                                              Page 3222 of 5793
                        https://www.nytimes.com/2022/01/05/realesta
                        te/home-prices-maine-new-mexico-new-           13 Million Homes in Maine New Mexico and
2022-01-05   2022-01-09 york.html                                      New York                                  By Angela Serratore              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/realesta
                        te/house-hunting-in-israel-an-inventive-use-of-An Inventive Use of Concrete Outside Tel
2022-01-05   2022-01-09 concrete-outside-of-tel-aviv.html              Aviv                                      By Michael Kaminer               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/science Dr Ronald Weinstein 83 Who Envisioned the
2022-01-05   2022-01-09 /ronald-weinstein-dead.html                    Future of Telepathology Dies              By Neil Genzlinger               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/theater/
2022-01-05   2022-01-09 live-theater-critics-debate.html               Common Ground and Friendly HeadButts      By Jesse Green and Maya Phillips TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/arts/des
2022-01-06   2022-01-09 ign/kevin-beasley-new-orleans.html             An Artist Renews His Purpose              By Siddhartha Mitter             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/arts/mu Judith Davidoff 94 a Master of Instruments of
2022-01-06   2022-01-09 sic/judith-davidoff-dead.html                  Yore                                      By Neil Genzlinger               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/arts/tele
2022-01-06   2022-01-09 vision/alia-shawkat-search-party.html          The Life of Search Party for Now          By Dave Itzkoff                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/magazi
2022-01-06   2022-01-09 ne/poem-untitled.html                          Poem Untitled                             By Etel Adnan and Victoria Chang TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/magazi Judge John Hodgman on Bringing Home the
2022-01-06   2022-01-09 ne/rat-juice.html                              Rat Juice                                 By John Hodgman                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/nyregio
2022-01-06   2022-01-09 n/ruth-willig-oldest-new-yorkers.html          Some Final Lessons on Life and Loss       By John Leland                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/opinion                                               By Jon Grinspan and Peter
2022-01-06   2022-01-09 /jan-6-shaman-past-future.html                 How Will History Remember                 Manseau                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/realesta
2022-01-06   2022-01-09 te/best-worst-places-to-rent-studios.html      The Cost of a Room of Ones Own            By Michael Kolomatsky            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/sports/f As the NFL Regular Season Ends Its All Over
2022-01-06   2022-01-09 ootball/nfl-week-18-picks.html                 but the Playing                           By Emmanuel Morgan               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/style/bo
2022-01-06   2022-01-09 yfriend-twin-social-qs.html                    Double the Interest                       By Philip Galanes                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/style/pa Watching a Partner Change Is Hard So Is
2022-01-06   2022-01-09 rtner-change-relationship-acceptance.html      Accepting It                              By Allison Hope                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/us/colo For Colorado Wildfire Evacuees Little Is Left By Charlie Brennan Simon Romero
2022-01-06   2022-01-09 rado-marshall-fire-survivors.html              but Loved Ones                            and Erin Schaff                  TX 9-137-858   2022-03-01
                                                                       He Wanted More Space for Less Money in
                        https://www.nytimes.com/interactive/2022/01/ Brooklyn Which Apartment Would You
2022-01-06   2022-01-09 06/realestate/06hunt-wong.html                 Choose                                    By Joyce Cohen                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/arts/dan
2022-01-07   2022-01-09 ce/britney-spears-dance-instagram.html         Spears Never Stops Moving to the Beat     By Madison Mainwaring            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/arts/mu
2022-01-07   2022-01-09 sic/black-critics-pop-conference.html          The Vitality of Black Criticism           By Daphne A Brooks               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/books/r
2022-01-07   2022-01-09 eview/carl-bernstein-chasing-history.html      Reporting for Duty                        By Jill Abramson                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/books/r
2022-01-07   2022-01-09 eview/gary-paulsen-northwind.html              Sea Change                                By Neal Shusterman               TX 9-137-858   2022-03-01



                                                                               Page 3223 of 5793
                        https://www.nytimes.com/2022/01/07/books/r
2022-01-07   2022-01-09 eview/new-paperbacks.html                   Paperback Row                                 By Miguel Salazar           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/books/r
2022-01-07   2022-01-09 eview/to-paradise-hanya-yanagihara.html     Turn Turn Turn                                By Gish Jen                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/books/r
                        eview/when-winter-robeson-came-brenda-
2022-01-07   2022-01-09 woods.html                                  Pluck and Circumstance                        By Anna Holmes              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/busines
2022-01-07   2022-01-09 s/sara-menker-gro-intelligence.html         An Instinct for Survival Applied Globally     By David Gelles             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/busines How Many Bagels Does It Take to Keep a         By Julia Rothman and Shaina
2022-01-07   2022-01-09 s/st-viateur-ess-a-bagel-business.html      Place in Business                             Feinberg                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/busines Time to Look Forward to 2032 at the Very
2022-01-07   2022-01-09 s/stock-market-bonds-forecast.html          Least                                         By Jeff Sommer              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/nyregio
2022-01-07   2022-01-09 n/covid-testing-nyc.html                    Test Test Test Test and Test Some More        By Alyson Krueger           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/nyregio
2022-01-07   2022-01-09 n/eric-adams-mayor-nyc.html                 A New Mayor and the Politics of Swagger       By Ginia Bellafante         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/nyregio New Yorkers Reflect On Stressful Week At By Eliza Shapiro Ashley Wong and
2022-01-07   2022-01-09 n/nyc-schools-omicron.html                  School Amid Surge                             Karen Zraick                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/realesta
2022-01-07   2022-01-09 te/pandemic-move-friends.html               Farewells That Arent So Fond                  By Joanne Kaufman           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/sports/b
                        asketball/amir-johnson-nba-g-league-        An NBA Trivia Answer Looks Back and
2022-01-07   2022-01-09 ignite.html                                 Forward                                       By Jonathan Abrams          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/sports/ A Ball Thiefs Methods Are No Longer Secret
2022-01-07   2022-01-09 marcus-smart-celtics-defense.html           But They Still Work                           By Scott Cacciola           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/sports/s
2022-01-07   2022-01-09 occer/africa-cup-of-nations.html            Hoping for Surprise at Africas Cup of Nations By Rory Smith               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/style/da Attracted in Person but Brought Together
2022-01-07   2022-01-09 rrick-lo-adrienne-lei-wedding.html          Online                                        By Kristen Bayrakdarian     TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/07/style/eli Growing Attached Even When Staying Six
2022-01-07   2022-01-09 zabeth-wexler-eric-hollenberg-wedding.html Feet Apart                                    By Emma Grillo              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/style/mi At End of Artistic Ropes Giving Each Other a
2022-01-07   2022-01-09 chael-porten-trish-andersen-wedding.html     Lift                                        By Tammy La Gorce           TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/style/m Extolling the Benefits of Bickering in
2022-01-07   2022-01-09 odern-love-bickering-marriage.html           Marriage                                    By Nicole Walker            TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/style/ne With a Law New York Could Make Fashion
2022-01-07   2022-01-09 w-york-fashion-sustainability-act.html       History                                     By Vanessa Friedman         TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/style/ro
2022-01-07   2022-01-09 n-perelman.html                              Undone By What Made His Fortune             By Jacob Bernstein          TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/style/va A LongAwaited Call Leads to a True
2022-01-07   2022-01-09 ibhavi-kamat-jaideep-rao-wedding.html        Connection                                  By Vincent M Mallozzi       TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/world/a F Sionil Jose 97 Novelist Whose Heroes Were
2022-01-07   2022-01-09 sia/f-sionil-jose-dead.html                  Commoners and Soldiers Is Dead              By Seth Mydans              TX 9-137-858    2022-03-01



                                                                                Page 3224 of 5793
                        https://www.nytimes.com/interactive/2022/01/                                              By Michael Schwirtz and Scott
2022-01-07   2022-01-09 07/world/europe/ukraine-maps.html            How Russias Military Is Currently Positioned Reinhard                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/us/cybe Cyber Ninjas Derided for Arizona Vote
2022-01-08   2022-01-09 r-ninjas-arizona-vote-review.html            Review Says Its Shutting Down                By Michael Wines                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/busines
2022-01-08   2022-01-09 s/managers-boss-jerks-workplace.html         No More Working For Jerks                    By Emma Goldberg                TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/08/busines Teslas Edge in Pandemic Superior Command
2022-01-08   2022-01-09 s/teslas-computer-chips-supply-chain.html  of Supply Chain                           By Jack Ewing                   TX 9-137-858        2022-03-01
                        https://www.nytimes.com/2022/01/08/nyregio                                           By Jonah E Bromwich and William
2022-01-08   2022-01-09 n/alvin-bragg-police-chief-eric-adams.html NYPD Leader And DA Clash Over Jail Policy K Rashbaum                      TX 9-137-858        2022-03-01
                        https://www.nytimes.com/2022/01/08/opinion
2022-01-08   2022-01-09 /cheney-jan-6.html                         Trump Coup Part Deux                      By Maureen Dowd                 TX 9-137-858        2022-03-01
                        https://www.nytimes.com/2022/01/08/opinion
2022-01-08   2022-01-09 /dont-look-up-decadence.html               We Need a Second Cut of Dont Look Up      By Ross Douthat                 TX 9-137-858        2022-03-01

                        https://www.nytimes.com/2022/01/08/opinion
2022-01-08   2022-01-09 /seneca-village-central-park-new-york.html In Search Of The Black Utopia                 By Brent Staples                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/realesta
                        te/can-my-condo-make-me-use-the-service- Can My Condo Make Me Use A Service
2022-01-08   2022-01-09 elevator-when-im-with-my-dog.html           Elevator With My Dog                         By Ronda Kaysen                  TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/08/science                                           By Dennis Overbye and Joey
2022-01-08   2022-01-09 /james-webb-telescope-nasa-deployment.html 600000 Miles Away a Giant Eye Blinks Open Roulette                             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/08/sports/ Eluding Covid and Outdoing Teenagers a
2022-01-08   2022-01-09 mariah-bell-figure-skating-title-olympics.html National Champion at 25                   By Juliet Macur                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/style/an
2022-01-08   2022-01-09 nie-hamilton-actor.html                        Cinderella by Way of Cassavetes           By Peter Stevenson               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/us/alec-                                              By Julia Jacobs and Graham
2022-01-08   2022-01-09 baldwin-phone-rust-shooting.html               Baldwin Says He Plans to Obey Warrant     Bowley                           TX 9-137-858   2022-03-01
                                                                                                                 By Sophie Kasakove Nicholas
                        https://www.nytimes.com/2022/01/08/us/phila For LowIncome Families Crowding Under        BogelBurroughs Frances Robles
2022-01-08   2022-01-09 delphia-fire-housing.html                   One Roof Is Not a Choice                     and Campbell Robertson           TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/08/us/polit Scores of Biden Nominees Stuck in Senate
2022-01-08   2022-01-09 ics/biden-nominees-senate-confirmation.html Pipeline                                     By Elizabeth Williamson          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/us/polit                                              By David E Sanger and Eric
2022-01-08   2022-01-09 ics/us-sanctions-russia-ukraine.html        As Talks Loom US Draws a Line on Ukraine     Schmitt                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/us/teac Omicrons March Imperils Labor Peace in        By Dana Goldstein and Noam
2022-01-08   2022-01-09 hers-unions-covid-schools.html              Schools                                      Scheiber                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/world/a Djokovics Detention Highlights Plight of
2022-01-08   2022-01-09 sia/australia-djokovic-refugees-hotel.html  Asylum Seekers in Australia                  By Yan Zhuang and Damien Cave TX 9-137-858      2022-03-01
                        https://www.nytimes.com/2022/01/08/world/a Chinese Rights Activists Gathered in 2019
2022-01-08   2022-01-09 sia/china-rights-defense-activists.html     and Beijing Was Watching                     By Chris Buckley                 TX 9-137-858   2022-03-01



                                                                                 Page 3225 of 5793
                        https://www.nytimes.com/2022/01/08/world/a At More Indian Weddings Expect Some         By Mujib Mashal Suhasini Raj and
2022-01-08   2022-01-09 sia/india-weddings-south-kerala.html       Magic                                       Anindito Mukherjee               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/world/a
                        sia/kazakhstan-protests-karim-masimov-     Ousted Intelligence Chief Arrested in
2022-01-08   2022-01-09 arrest.html                                Kazakhstan                                  By Ivan Nechepurenko            TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/08/world/a
                        sia/pakistan-snow-kills-21-murree-hill-
2022-01-08   2022-01-09 station.html                               Snow Kills 21 at Tourist Site in Pakistan   By Salman Masood                TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/08/world/a Djokovic Tested Positive for Virus Last
2022-01-08   2022-01-09 ustralia/novak-djokovic-australia-visa.html  Month Lawyers Tell Australian Court       By Yan Zhuang                   TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/08/world/e Facing Turmoil Kazakh President Chose His
2022-01-08   2022-01-09 urope/kazakhstan-russia.html                 Path Embrace Russia                       By Valerie Hopkins              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/08/us/polit                                            By Zolan KannoYoungs and Carl
2022-01-09   2022-01-09 ics/harry-reid-memorial-service.html         ExSenate Leader Given Warm SendOff        Hulse                           TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/09/busines
                        s/the-week-in-business-vaccine-
2022-01-09   2022-01-09 mandates.html                                The Week in Business Vaccine Mandates     By Sarah Kessler                TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/09/insider/
                        a-reporters-question-why-are-you-talking-to-                                           By Susan Dominus and Luke
2022-01-09   2022-01-09 me.html                                      Where a Source Is Coming From             Broadwater                      TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/09/nyregio In Portrait of Mayors Mother Many See a
2022-01-09   2022-01-09 n/eric-adams-mother-photo.html               Familiar Heirloom                         By Sandra E Garcia              TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/09/realesta
2022-01-09   2022-01-09 te/homes-that-sold-for-around-600000.html Homes That Sold for Around 600000            By C J Hughes                   TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/12/31/travel/c International Trips Hinge on Testing
2021-12-31   2022-01-10 ovid-test-chaos.html                        Uncertainties                              By Lauren Sloss                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/05/technol
2022-01-05   2022-01-10 ogy/apple-profits.html                      Why Apples Valuation Is Bonkers            By Shira Ovide                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/05/travel/a
                        lps-skiing-mountaineering-valentine-        She Set a Speed Record on a Classic Alpine
2022-01-05   2022-01-10 fabre.html                                  Ski Route                                  By Paige McClanahan             TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/05/upshot/ Why Support Is Waning for Bidens Child Tax
2022-01-05   2022-01-10 biden-child-tax-credit.html                 Credit                                     By Ian Prasad Philbrick         TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/arts/mu                                             By Alex Marshall and Joe
2022-01-07   2022-01-10 sic/einar-sweden-rap.html                   Sweden Struggles With Gangster Rap         Coscarelli                      TX 9-137-858    2022-03-01
                                                                                                               By Jon Pareles Jon Caramanica
                        https://www.nytimes.com/2022/01/07/arts/mu                                             Isabelia Herrera and Giovanni
2022-01-07   2022-01-10 sic/playlist-thom-yorke-amber-mark.html     A Radiohead Spinoff Has a Raucous Single Russonello                        TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/climate Amid Climate Change and Covid US Skiers
2022-01-07   2022-01-10 /skiing-climate-change.html                 Find a Way to Adjust                       By Lauren Jackson               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/07/movies/
2022-01-07   2022-01-10 horror-movies-streaming.html                Warning Contains Scenes of Extreme Lurking By Erik Piepenburg              TX 9-137-858    2022-03-01




                                                                                 Page 3226 of 5793
                        https://www.nytimes.com/2022/01/07/obituari
2022-01-07   2022-01-10 es/theresa-hak-kyung-cha-overlooked.html     Theresa Hak Kyung Cha                       By Dan Saltzstein            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/opinion
2022-01-07   2022-01-10 /my-dinner-with-sidney-poitier.html          My Dinner With Sidney Poitier               By Charles M Blow            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/sports/b Dan Reilly 93 the First to Bring Mr Met to
2022-01-07   2022-01-10 aseball/dan-reilly-dead.html                 Giddy Life                                  By Richard Sandomir          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/sports/b
                        asketball/kyrie-irving-klay-thompson-return- Two NBA Stars Are Returning in Two Very
2022-01-07   2022-01-10 date.html                                    Different Situations                        By Kurt Streeter             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/07/opinion The Radical Normalcy of a Trans Jeopardy
2022-01-08   2022-01-10 /culture/jeopardy-trans-amy-schneider.html Winner                                         By Jennifer Finney Boylan   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/arts/mu Marilyn Bergman 93 Whose Songwriting
2022-01-08   2022-01-10 sic/marilyn-bergman-dead.html                Marriage Won 3 Oscars Dies                   By Anita Gates              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/busines What Could Slow Down Deals After Record
2022-01-08   2022-01-10 s/dealbook/deals-2022.html                   Year                                         By Michael J de la Merced   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/insider/
                        finding-a-story-by-asking-really-dumb-
2022-01-08   2022-01-10 questions.html                               Telling the Stories of the Overlooked        By Katie Van Syckle         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/nyregio Asian Man Dies Months After Attack In New
2022-01-08   2022-01-10 n/anti-asian-hate-crime-death-harlem.html    York                                         By Troy Closson             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/nyregio New York City Plans to Install Machines That
2022-01-08   2022-01-10 n/naloxone-vending-machines-nyc.html         Offer an AntiOverdose Medication             By Isabella Grulln Paz      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/opinion
2022-01-08   2022-01-10 /hazard-pay-covid-nurse-doctor.html          Give Health Workers Hazard Pay               By Sandeep Jauhar           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/arts/tele
                        vision/all-creatures-great-and-small-season- All in a Days Work Putting a Ring On a Bulls
2022-01-09   2022-01-10 2.html                                       Nose                                         By Roslyn Sulcas            TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/09/arts/tele
2022-01-09   2022-01-10 vision/jeopardy-streaks-amy-schneider.html Jeopardy Streaks Now The Norm                 By Julia Jacobs              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/books/r
                        eview-aftermath-life-in-fallout-third-reich- Sifting Through the Rubble of Postwar
2022-01-09   2022-01-10 harald-jahner.html                           Germany                                     By Jennifer Szalai           TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/09/busines The Head of HR Takes On A New Job
2022-01-09   2022-01-10 s/human-resources-pandemic-vaccines.html Company Nurse                                   By Emma Goldberg             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/09/busines As Awards Season Fizzles Hollywood Is
2022-01-09   2022-01-10 s/media/hollywood-golden-globes-oscars.html Uneasy                                       By Nicole Sperling           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/busines Freelance Writer Accuses The Atlantic of
2022-01-09   2022-01-10 s/ruth-shalit-barrett-atlantic-lawsuit.html Defamation After Article Retraction          By Katie Robertson           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/busines
2022-01-09   2022-01-10 s/us-flight-cancellations.html              Carriers Cancel 5000 Flights Over Weekend    By Niraj Chokshi             TX 9-137-858   2022-03-01



                                                                                 Page 3227 of 5793
                        https://www.nytimes.com/2022/01/09/obituari Dwayne Hickman 87 Early TV Idol As the
2022-01-09   2022-01-10 es/dwayne-hickman-dead.html                 Lovelorn Dobie Gillis Is Dead                 By Margalit Fox                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/opinion
2022-01-09   2022-01-10 /putin-russia-ukraine.html                  Russia Invites Calamity If It Invades Ukraine By The Editorial Board           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/sports/f For Cowboys Gaining Confidence Is Not
2022-01-09   2022-01-10 ootball/cowboys-eagles-score.html           Meaningless                                   By Ben Shpigel                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/sports/f
2022-01-09   2022-01-10 ootball/washington-giants-score.html        Not All 413 Records Are Created Equal         By Diante Lee and Devin Gordon   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/sports/n
                        caafootball/georgia-alabama-brock-
2022-01-09   2022-01-10 bowers.html                                 An Evolution And a Weapon At Tight End        By Alan Blinder                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/sports/o
                        lympics/nathan-chen-us-skating-             Chen Imperfect But Incomparable Wins 6th
2022-01-09   2022-01-10 championships.html                          US Crown                                      By Juliet Macur                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/sports/r Training Your Body And Mind to Meet Your
2022-01-09   2022-01-10 unning-resolution-tips.html                 Goals for 2022                                By Talya Minsberg                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/us/polit
2022-01-09   2022-01-10 ics/biden-republicans-agenda.html           Biden Gets Tough to JumpStart Agenda          By Michael D Shear               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/us/polit Questions Mount Over Deadly Chases on
2022-01-09   2022-01-10 ics/border-patrol-migrant-deaths.html       Border                                        By Eileen Sullivan               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/us/polit GOP Senator Johnson From Wisconsin to
2022-01-09   2022-01-10 ics/ron-johnson-senate-wisconsin.html       Run Again                                     By Reid J Epstein                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/us/polit In Threatening Ukraine Russia Pushes for a
2022-01-09   2022-01-10 ics/russia-ukraine-james-baker.html         Realm Free From NATO                          By Peter Baker                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/us/seatt RecordSetting Rain and Snow Shut Down
2022-01-09   2022-01-10 le-record-snow-flooding.html                Roads and Schools in Washington State         By Melina Delkic                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/us/unite In Struggle With Omicron the One Constant
2022-01-09   2022-01-10 d-states-covid-pandemic-omicron.html        Is Change                                     By Julie Bosman                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/world/a 10 Die in Brazil After Cliff Collapses On
2022-01-09   2022-01-10 mericas/brazil-cliff-collapses.html         Boaters at a Popular Tourism Spot             By Ernesto Londoo                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/world/a Virus Cluster of 20 Spurs China to Test 14
2022-01-09   2022-01-10 sia/china-covid-testing-omicron.html        Million                                       By Chris Buckley                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/world/a Tired of Covid Controls Hong Kong Is
2022-01-09   2022-01-10 sia/hong-kong-party-covid.html              Seething Over Officials Partying              By Austin Ramzy                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/world/e
                        urope/kazakhstan-protests-detained-         Kazakhs Say Nearly 5800 Are Detained After
2022-01-09   2022-01-10 injured.html                                Protests                                      By Ivan Nechepurenko             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/world/e As Teachers Get Sick London Schools Strain
2022-01-09   2022-01-10 urope/london-schools-covid-omicron.html     To Remain in Session                          By Megan Specia                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/world/e Ukraine Quietly Tries Its Own Talks With
2022-01-09   2022-01-10 urope/ukraine-russia-negotiations.html      Russia                                        By Andrew E Kramer               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/world/ Saudi Arabia Frees a Princess Who Criticized
2022-01-09   2022-01-10 middleeast/saudi-princess-released.html     the Kingdoms de Facto Leader                  By Ben Hubbard                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/nyregio                                                By Michael Wilson and Chelsia
2022-01-10   2022-01-10 n/bronx-fire-victims.html                   A Rush to Escape as Smoke Pours In            Rose Marcius                     TX 9-137-858   2022-03-01



                                                                                Page 3228 of 5793
                        https://www.nytimes.com/2022/01/09/nyregio Noncitizens Right to Vote Becomes Law in
2022-01-10   2022-01-10 n/noncitizens-nyc-voting-rights.html       New York City With Adamss Support           By Grace Ashford                  TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/09/nyregio Blaze Devastates Bronx HighRise Toll Is        By Ashley Southall Grace Ashford
2022-01-10   2022-01-10 n/nyc-bronx-fire.html                        Horrific                                     and Chelsia Rose Marcius         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/sports/f
2022-01-10   2022-01-10 ootball/nfl-week-18-scores.html              What We Learned This Week                    By Tyler Dunne                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/us/polit Jordan Defies Jan 6 Panel And Criticizes
2022-01-10   2022-01-10 ics/jim-jordan-jan-6-panel.html              Witch Hunts                                  By Luke Broadwater               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/arts/tele
                        vision/whats-on-tv-this-week-ailey-and-
2022-01-10   2022-01-10 somebody-somewhere.html                      This Week on TV                              By Gabe Cohn                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/climate US Greenhouse Gas Emissions Bounced Back
2022-01-10   2022-01-10 /emissions-pandemic-rebound.html             Sharply in 2021                              By Brad Plumer                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/nyregio Mayor Spends First Days Battling Omicron
2022-01-10   2022-01-10 n/eric-adams-mayor-covid.html                Surge Then Faces Horrific Fire               By Emma G Fitzsimmons            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/sports/b At 12 and Holding Lack of Expansion Hems
2022-01-10   2022-01-10 asketball/wnba-expansion.html                In WNBA                                      By Erica L Ayala                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/us/susa Nothing Will Be the Same Prison Closure
2022-01-10   2022-01-10 nville-california-prison-closing.html        Dismays a Town                               By Tim Arango and Max Whittaker TX 9-137-858    2022-03-01
                        https://www.nytimes.com/article/russia-      Can the West Stop an Invasion by Russia Into By Eric Nagourney Dan Bilefsky
2022-01-10   2022-01-10 ukraine-nato-europe.html                     Ukraine                                      and Richard PrezPea              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/well/bo Bone or Joint Surgery May Not Be the
2022-01-04   2022-01-11 ne-joint-surgery.html                        Answer                                       By Nicholas Bakalar              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/busines
2022-01-05   2022-01-11 s/organic-dairy-farms-new-england.html       Pressure on Small Dairies                    By Murray Carpenter              TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/05/climate
2022-01-05   2022-01-11 /fire-forest-management-bootleg-oregon.html Old Methods May Mitigate Future Wildfires By Henry Fountain                  TX 9-137-858     2022-03-01
                                                                    Hedgehog Insights From Danish Roadkill a
                        https://www.nytimes.com/2022/01/05/science New Theory on the Source of Deadly
2022-01-05   2022-01-11 /hedgehog-mrsa-drug-resistant-bacteria.html Infections                                By Andrew Jacobs                   TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/05/well/m
2022-01-05   2022-01-11 ove/muscle-memory-exercise.html             The Power of Muscle Memory                By Gretchen Reynolds               TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/06/science Pore Worlds These Bacteria Have Become
2022-01-06   2022-01-11 /skin-pores-bacteria.html                   Accustomed to Your Face                   By Veronique Greenwood             TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/07/arts/des
2022-01-07   2022-01-11 ign/athens-greece-contemporary-art.html     Greek Art Beyond the Ruins and Artifacts  By Roslyn Sulcas                   TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/07/science ETS Not Home That Little Cube on the Moon
2022-01-07   2022-01-11 /moon-cube-china-rover.html                 Its Not an Alien Condo After All          By Kenneth Chang                   TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/07/science Turning Tail Why Only a Comets Head Is
2022-01-07   2022-01-11 /why-comets-are-green.html                  Given the Green Light                     By Kenneth Chang                   TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/07/world/a In New Zealand a Native Culture Rises From
2022-01-07   2022-01-11 ustralia/moriori-new-zealand.html           the Brink                                 By Pete McKenzie                   TX 9-137-858     2022-03-01




                                                                                Page 3229 of 5793
                        https://www.nytimes.com/2022/01/07/world/e Grichka and Igor Bogdanoff Twins in an
2022-01-07   2022-01-11 urope/grichka-and-igor-bogdanoff-dead.html Uneasy Spotlight Die at 72                      By Clay Risen                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/movies/ A Quiet Night at Home For the Golden
2022-01-09   2022-01-11 golden-globes-winners-list.html              Globes                                        By Kyle Buchanan                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/interactive/2022/01/ Early Data Hints at Omicrons Potential Toll   By Lauren Leatherby and Eleanor
2022-01-09   2022-01-11 09/us/omicron-cities-cases-hospitals.html    Across America                                Lutz                              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/arts/tele Bob Saget 65 Father on Full House Who
2022-01-10   2022-01-11 vision/bob-saget-dead.html                   Could Be Wholesome or Bawdy                   By Jesus Jimnez and Alan Yuhas    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/sports/t
                        ennis/novak-djokovic-australian-open-        Unvaccinated Tennis Star Wins Right to        By Damien Cave and Matthew
2022-01-10   2022-01-11 vaccine.html                                 Remain in Australia for Now                   Futterman                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/arts/dan
                        ce/oona-doherty-hard-to-be-soft-irish-arts-
2022-01-10   2022-01-11 center.html                                  Where Dance Is Physical Prayer                By Siobhan Burke                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/arts/des
2022-01-10   2022-01-11 ign/hip-hop-homeware-sean-brown.html         Accessible By Design                          By Iman Stevenson                 TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/10/arts/mu
2022-01-10   2022-01-11 sic/encanto-soundtrack-billboard-chart.html Encanto Album Bumps Adeles 30                By Ben Sisario                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/arts/mu Savoring a Rich Marathon Of Standards at the
2022-01-10   2022-01-11 sic/met-opera-marathon.html                 Met                                          By Zachary Woolfe                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/arts/mu
2022-01-10   2022-01-11 sic/weeknd-dawn-fm-review.html              An Enigma Hides Behind Hits                  By Jon Caramanica                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/books/r
                        eview-zora-neale-hurston-you-dont-know-us-
2022-01-10   2022-01-11 negroes-essays.html                         A Writer Willing to Take Yes for an Answer By Dwight Garner                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/busines Former Longtime NPR Host Heads to CNN
2022-01-10   2022-01-11 s/audie-cornish-npr-cnn.html                for New Show                                 By John Koblin                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/busines Carl Bennett 101 Founder of Caldor Discount
2022-01-10   2022-01-11 s/carl-bennett-dead.html                    Powerhouse                                   By Sam Roberts                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/busines Fed Official Is Quitting Earlier Than Planned
2022-01-10   2022-01-11 s/economy/richard-clarida-fed-resign.html   Amid Scrutiny of Trading                     By Jeanna Smialek                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/busines
2022-01-10   2022-01-11 s/google-labor-union-ruling.html            Google Loses Court Fight On Papers           By Daisuke Wakabayashi              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/busines
2022-01-10   2022-01-11 s/income-tax-day-deadline.html              ShortStaffed IRS Warns of Messy Tax Season By Alan Rappeport                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/busines CoHost of Foxs The Five Is Given Evening
2022-01-10   2022-01-11 s/media/jesse-watters-fox-news.html         Slot                                         By Michael M Grynbaum               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/busines
2022-01-10   2022-01-11 s/media/symone-sanders-msnbc.html           ExHarris Spokeswoman Is Hired by MSNBC By Michael M Grynbaum                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/busines
                        s/politico-goli-sheikholeslami-new-york-    Chief of WNYC Owner Is Politicos Next
2022-01-10   2022-01-11 public-radio.html                           Leader                                       By Katie Robertson                  TX 9-137-858   2022-03-01




                                                                                  Page 3230 of 5793
                        https://www.nytimes.com/2022/01/10/busines 2nd Starbucks In Buffalo Area Votes in Favor
2022-01-10   2022-01-11 s/starbucks-union-election-buffalo.html     Of Unionization                             By Noam Scheiber                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/busines TakeTwo Is Buying Zynga Uniting Video        By Michael J de la Merced and
2022-01-10   2022-01-11 s/take-two-zynga.html                       Game Makers                                 Kellen Browning                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/climate
2022-01-10   2022-01-11 /2021-hottest-year.html                     Last Year Was One Of Hottest On Record By Raymond Zhong                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/health/c
2022-01-10   2022-01-11 ovid-tests-blind-people.html                Covid Tests Inaccessible to the Blind       By Amanda Morris                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/health/ Heart of a Genetically Altered Pig Is
2022-01-10   2022-01-11 heart-transplant-pig-bennett.html           Transplanted Into a Human                   By Roni Caryn Rabin                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/health/i
2022-01-10   2022-01-11 nfluenza-vaccines-elderly.html              Its Flu Season People Need to Be Reminded By Paula Span                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/nyregio Among the Dead West African Immigrants in By Karen Zraick and Chelsia Rose
2022-01-10   2022-01-11 n/bronx-apartment-fire-victims.html         a TightKnit Diaspora                        Marcius                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/nyregio
2022-01-10   2022-01-11 n/space-heater-safety.html                  Despite Gains Space Heaters Pose Fire Risk By Winnie Hu                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/obituari Robert Durst Scion and Killer Made for the
2022-01-10   2022-01-11 es/robert-durst-dead.html                   Tabloids Dies at 78                         By Robert D McFadden                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/opinion
2022-01-10   2022-01-11 /boris-johnson-britain-bills.html           Johnson Shows Who He Really Is              By Moya LothianMcLean               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/opinion
2022-01-10   2022-01-11 /covid-biden-trump.html                     Covid 30 Biden 20 and Trump Number          By Gail Collins and Bret Stephens   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/opinion
2022-01-10   2022-01-11 /snow-winter-2022.html                      The Woods Are Still Lovely Dark and Deep By Margaret Renkl                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/science Sea Dragon Was Lurking Beneath Mud Of a
2022-01-10   2022-01-11 /earth/ichthyosaur-sea-dragon-fossil.html   Reserve                                     By Neil Vigdor                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/sports/b In a First the Yankees Promote a Woman to
2022-01-10   2022-01-11 aseball/rachel-balkovec-yankees.html        Manage in the Minors                        By James Wagner                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/sports/b Thompson Is Back and Its Only Up From
2022-01-10   2022-01-11 asketball/klay-thompson-return.html         Here                                        By Scott Cacciola                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/sports/f Don Maynard 86 Dies Hall of Fame Receiver
2022-01-10   2022-01-11 ootball/don-maynard-dead.html               For the Champion Jets                       By Richard Goldstein                TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/10/sports/f
2022-01-10   2022-01-11 ootball/giants-dave-gettleman-joe-judge.html Giants Announce Retirement Of GM           By Ben Shpigel                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/sports/f
2022-01-10   2022-01-11 ootball/washington-giants-week-18.html       Was There Joy In East Rutherford           By Elisha Cooper                    TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/10/sports/h Churchill Downs Takes Hard Line on Bafferts
2022-01-10   2022-01-11 orse-racing/churchill-downs-bob-baffert.html Threat to File Lawsuit                     By Joe Drape                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/sports/n
                        caafootball/college-football-playoff-        Leagues Reach Impasse In Bid to Expand
2022-01-10   2022-01-11 expansion.html                               Playoff                                    By Billy Witz and Alan Blinder      TX 9-137-858   2022-03-01




                                                                                Page 3231 of 5793
                        https://www.nytimes.com/2022/01/10/sports/n
                        caafootball/college-football-playoff-         A Night to Crown a Winner And to Mull a
2022-01-10   2022-01-11 television.html                               Losing System                              By Billy Witz                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/sports/t
                        ennis/novak-djokovic-australian-open-
2022-01-10   2022-01-11 vaccine.html                                  Djokovics Fight May Only Be Beginning      By Christopher Clarey           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/technol Lies Spread On the Web About Tests For
2022-01-10   2022-01-11 ogy/covid-test-misinformation.html            Covid19                                    By Davey Alba                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/technol
2022-01-10   2022-01-11 ogy/elizabeth-holmes-trial-jurors.html        A Jurors Perspective On the Holmes Trial   By Erin Woo                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/us/clay- ExIdol Star Plans to Seek Congress Seat In N
2022-01-10   2022-01-11 aiken-congress.html                           Carolina                                   By Christine Hauser             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/us/ex- 25Year Term For ExOfficer In Killing Beau
2022-01-10   2022-01-11 officer-kills-boyfriend-oklahoma.html         Of Daughter                                By Eduardo Medina               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/us/fina Top Colleges Accused of Colluding to Limit By Stephanie Saul and Anemona
2022-01-10   2022-01-11 ncial-aid-lawsuit-colleges.html               Financial Aid to Students                  Hartocollis                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/us/kyle- Friend Who Bought Rifle for Rittenhouse Has
2022-01-10   2022-01-11 rittenhouse-dominick-black-gun.html           Charges Reduced                            By Julie Bosman                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/us/polit 20 Years Later an Image From Guantnamo
2022-01-10   2022-01-11 ics/guantanamo-photos-prisoners.html          Bay Endures                                By Carol Rosenberg              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/us/polit Manchins Vote To Back Miners Or Coal
2022-01-10   2022-01-11 ics/manchin-coal-miners.html                  Bosses                                     By Jonathan Weisman             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/us/polit                                              By Michael S Schmidt and Alan
2022-01-10   2022-01-11 ics/mike-pence-jan-6-testimony.html           Panel on Riot Presses Pence For Testimony Feuer                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/us/polit Russia Begins Moving Helicopters to Ukraine By Julian E Barnes Michael
2022-01-10   2022-01-11 ics/russia-ukraine-helicopters.html           Border                                     Crowley and Eric Schmitt        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/well/eat
2022-01-10   2022-01-11 /food-cravings-strategies.html                Cookies Chips Pizza Own Your Cravings      By Tara ParkerPope              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/well/ho
2022-01-10   2022-01-11 w-families-can-navigate-the-icu.html          How Families Can Navigate the ICU          By Jane E Brody                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/world/a After 22 Months Ugandas Schools Leave         By Musinguzi Blanshe and Abdi
2022-01-10   2022-01-11 frica/uganda-schools-reopen.html              Lockdown                                   Latif Dahir                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/world/a
                        mericas/haitian-prime-minister-assassination- Haitis New Leader Linked to Assassination
2022-01-10   2022-01-11 suspect.html                                  Suspect                                    By Anatoly Kurmanaev            TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/10/world/a In Myanmar ExLaureate Faces Extra 4 Years
2022-01-10   2022-01-11 sia/myanmar-aung-san-suu-kyi-verdict.html in Jail                                        By Richard C Paddock            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/world/e Britain Puts Onus on Developers to Pay to Fix
2022-01-10   2022-01-11 urope/cladding-grenfell-uk.html            Fire Safety Problems                          By Megan Specia                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/world/e
2022-01-10   2022-01-11 urope/putin-russia-kazakhstan.html         Putin Offers No Deadline On Kazakhstan        By Valerie Hopkins              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/world/e Cold WarLike Behavior Echoed in
2022-01-10   2022-01-11 urope/us-russia-cold-war-ukraine.html      Negotiations Between US and Russia            By David E Sanger               TX 9-137-858   2022-03-01




                                                                                Page 3232 of 5793
                        https://www.nytimes.com/2022/01/10/world/e As US Barters With Russia Europe Is
2022-01-10   2022-01-11 urope/us-russia-europe-ukraine-nato.html     Sidelined                               By Steven Erlanger               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/10/world/e A Sicilian Towns Famed White Cliffs Are
2022-01-10   2022-01-11 urope/white-cliffs-sicily-vandalism.html     Defaced in an Act of Vandalism          By Elisabetta Povoledo           TX 9-137-858    2022-03-01
                        https://www.nytimes.com/live/2022/01/10/bus
                        iness/stock-market-economy-news/cpj-jodie- Journalist Rights Group Names New
2022-01-10   2022-01-11 ginsberg                                     President                               By Katie Robertson               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/live/2022/01/10/bus
                        iness/stock-market-economy-news/stocks-fall-
                        again-extending-their-losses-as-bond-yields-
2022-01-10   2022-01-11 edge-higher                                  Tech Shares Show Signs of Vulnerability By Stephen Gandel                TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/10/nyregio Two Open Doors Created A Chute of Deadly
2022-01-11   2022-01-11 n/bronx-apartment-fire-smoke.html            Fumes                                   By Nicholas Fandos               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/10/opinion
                        /crypto-cryptocurrency-money-
2022-01-11   2022-01-11 conspiracy.html                              Crusading for God Family And Bitcoin    By Paul Krugman                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/10/opinion The Teachers Union Leader Still Wants
2022-01-11   2022-01-11 /omicron-school-closures.html                Schools Open                            By Michelle Goldberg             TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/10/us/chic Chicago Teachers Union Agrees On Deal to
2022-01-11   2022-01-11 ago-schools-reopen-covid.html                Return to Classroom                     By Mitch Smith                   TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/10/us/polit Somali Captured in 2004 Is Approved for
2022-01-11   2022-01-11 ics/guantanamo-transfer-somali-detainee.html Transfer                                  By Carol Rosenberg              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/us/polit Private Insurers Must Cover Eight AtHome
2022-01-11   2022-01-11 ics/insurance-covid-tests.html               Covid Tests Each Month the US Says        By Noah Weiland and Sarah Kliff TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/us/polit Civil Suits Against Trump Seek Damages for By Luke Broadwater and Alan
2022-01-11   2022-01-11 ics/trump-jan-6-lawsuits.html                Capitol Riot                              Feuer                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/world/e US and Russia Still at Odds on NATO After By Anton Troianovski and David E
2022-01-11   2022-01-11 urope/russia-us-ukraine-talks.html           Talks                                     Sanger                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/health/s
2022-01-11   2022-01-11 outhern-africa-hiv-aids.html                 Southern Africa Gains Hope Against HIV    By Stephanie Nolen              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/science
                        /inequality-intergenerational-wealth-
2022-01-11   2022-01-11 animals.html                                 Some Animals Get A Head Start Too         By Elizabeth Preston            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/sports/g
2022-01-11   2022-01-11 eorgia-alabama-score.html                    TOP DAWGS AT LAST                         By Billy Witz and AJ Mast       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/technol
2022-01-11   2022-01-11 ogy/income-inequality-technology.html        Economists Point to Tech On Pay Gap       By Steve Lohr                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/live/2022/01/11/us/
                        biden-harris-voting-rights/biden-stacey-                                               By Nick Corasaniti and Reid J
2022-01-11   2022-01-11 abrams-voting-rights                         Voting Rights Groups to Skip Biden Event  Epstein                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/06/dining/
2022-01-06   2022-01-12 drinks/fake-bourbon.html                     TopShelf Fakes in the Liquor Cabinet      By Clay Risen                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/dining/
2022-01-07   2022-01-12 gratin-family-traditions.html                Embracing Tradition and Innovating        By Yotam Ottolenghi             TX 9-137-858   2022-03-01



                                                                              Page 3233 of 5793
                        https://www.nytimes.com/2022/01/07/dining/
2022-01-07   2022-01-12 moist-chicken.html                          A Different Path To Tender Chicken           By Ali Slagle                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/dining/
2022-01-07   2022-01-12 skillet-turkey-chili.html                   Break Some Rules For Fast Hearty Chili       By Melissa Clark                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/08/busines Robert J Birnbaum 94 Eased 1987 Market
2022-01-08   2022-01-12 s/robert-birnbaum-dead.html                 Crisis And Developed Safeguards              By Emily Flitter                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/opinion
                        /culture/dr-oz-covid-wellness-
2022-01-09   2022-01-12 individualism.html                          Look What Dr Oz Is Selling Now               By Annaliese Griffin                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/dining/
2022-01-10   2022-01-12 alaska-students-moose-hunting.html          We Shot a Moose Therell Be a Quiz            By Victoria Petersen                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/dining/
                        alkebulan-african-food-hall-alexander-      To Anticipate Planned Harlem Food Hall To
2022-01-10   2022-01-12 smalls.html                                 Draw on Dubai Expo                           By Florence Fabricant               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/dining/ To Sip A Sunny New Aperitif From the
2022-01-10   2022-01-12 capri-by-way-of-keuka-lake.html             Finger Lakes                                 By Florence Fabricant               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/dining/f To Sweeten Hints of Brooklyn Bourbon
2022-01-10   2022-01-12 ort-hamilton-bourbon-maple-syrup.html       Within a Maple Syrup                         By Florence Fabricant               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/10/dining/f To Sear Fresh Ibrico Pork Delivered to Your
2022-01-10   2022-01-12 resh-iberico-pork-delivered-to-your-door.html Door                                         By Florence Fabricant             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/dining/
                        grey-barn-prufrock-cheese-marthas-
2022-01-10   2022-01-12 vineyard.html                                   To Savor The Big Cheeses From the Vineyard By Florence Fabricant             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/dining/ To Use French Laundry Chef Puts Mark on
2022-01-10   2022-01-12 hestan-thomas-keller-pans.html                  Cookware                                   By Florence Fabricant             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/dining/r
                        estaurant-review-semma-south-indian-
2022-01-10   2022-01-12 food.html                                       South Indian Food That Recalls Its Roots   By Pete Wells                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/opinion I Fear Health Care Collapse More Than
2022-01-10   2022-01-12 /omicron-covid-er.html                          Omicron                                    By Craig Spencer                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/sports/f The Giants Join the List of NFL Teams
2022-01-10   2022-01-12 ootball/nfl-coaches-fired.html                  Looking for a New Head Coach               By Ken Belson and Victor Mather   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/world/e David Sassoli Dies at 65 Fought to Expand       By Matina StevisGridneff and
2022-01-11   2022-01-12 urope/david-sassoli-dead.html                   Power Of European Parliament               Monika Pronczuk                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/arts/dan
                        ce/tamara-rojo-artistic-director-san-francisco-
2022-01-11   2022-01-12 ballet.html                                     New Ballet Leader In San Francisco         By Roslyn Sulcas                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/arts/des Met Raises Guards Pay Amid CovidRelated
2022-01-11   2022-01-12 ign/met-museum-guards-pay-covid.html            Shortages                                  By Colin Moynihan                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/arts/mu Michael Lang a Force Behind Woodstocks
2022-01-11   2022-01-12 sic/michael-lang-dead.html                      Peaceful Chaos Dies at 77                  By Ben Sisario                    TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/11/arts/mu
2022-01-11   2022-01-12 sic/seattle-symphony-thomas-dausgaard.html A Conductor Severs Ties With Seattle          By Javier C Hernndez                TX 9-137-858   2022-03-01



                                                                                 Page 3234 of 5793
                        https://www.nytimes.com/2022/01/11/arts/neh
2022-01-11   2022-01-12 grants.html                                  NEH Announces Its New Grants                   By Jennifer Schuessler          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/arts/tele
2022-01-11   2022-01-12 vision/cheer-season-2-jerry-harris.html      A Cheer WarmUp Is Anything but Routine By Sarah Bahr                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/books/r
                        eview-school-for-good-mothers-jessamine-
2022-01-11   2022-01-12 chan.html                                    Putting Parents Under Surveillance             By Molly Young                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/busines
                        s/delta-flight-attendants-union-isolation-   Deltas Isolation Policy Puts Flight Attendants By Niraj Chokshi and Lauren
2022-01-11   2022-01-12 covid.html                                   Union and Management at Odds                   Hirsch                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/busines
2022-01-11   2022-01-12 s/new-york-commercial-real-estate.html       Transactions                                   By Kristen Bayrakdarian         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/busines
                        s/omicron-united-airlines-flights-           3000 Workers Have Covid At United as
2022-01-11   2022-01-12 canceled.html                                Industry Reels                                 By Niraj Chokshi                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/busines Powell Says Fed Is Ready To Raise Rates if
2022-01-11   2022-01-12 s/powell-confirmation-hearing.html           Needed                                         By Jeanna Smialek               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/busines                                                  By Sapna Maheshwari and Michael
2022-01-11   2022-01-12 s/retail-workers-omicron-pandemic.html       An Unraveling for Retail Workers               Corkery                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/busines World Bank Predicts Growth Will Slow
2022-01-11   2022-01-12 s/world-bank-2022-growth.html                Down In Year Ahead                             By Alan Rappeport               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/dining/                                                  By Brett Anderson and Christina
2022-01-11   2022-01-12 miami-bakeries.html                          Miamis Eclectic Bakery Scene                   Morales                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/dining/ Ediths a PopUp Highlighting Jewish Fare Sets
2022-01-11   2022-01-12 nyc-restaurant-openings.html                 Up Shop in Williamsburg                        By Florence Fabricant           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/health/a
2022-01-11   2022-01-12 duhelm-medicare-alzheimers.html              US to Restrict Drug Coverage For Alzheimers By Pam Belluck                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/movies/ The Defiant Geniuses Bogdanovich And
2022-01-11   2022-01-12 sidney-poitier-peter-bogdanovich.html        Poitier                                        By AO Scott and Manohla Dargis TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/11/nyregio Closing a Door A Simple Safety Measure           By Nicholas Fandos Ali Watkins
2022-01-11   2022-01-12 n/fire-safety-explained.html                 That Can Slow a Fires Spread                   and Ashley Southall             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/nyregio Governor Sees Surge Cresting in New York
2022-01-11   2022-01-12 n/new-york-hochul-omicron.html               City                                           By Grace Ashford                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/nyregio Hundreds of Rikers Detainees Protest
2022-01-11   2022-01-12 n/rikers-island-hunger-strike.html           Conditions Citing Covid and the Cold           By Jonah E Bromwich             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/opinion
2022-01-11   2022-01-12 /afghanistan-taliban-us.html                 The US Must Work With the Taliban              By Laurel Miller                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/sports/t Bob Falkenburg 95 Wimbledon Winner
2022-01-11   2022-01-12 ennis/bob-falkenburg-dead.html               Tennis Hall of Famer and a Businessman         By Richard Goldstein            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/sports/t
                        ennis/novak-djokovic-covid-positive-
2022-01-11   2022-01-12 australia.html                               If Djokovic Had Covid He Didnt Act Like It By Andrew Das                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/technol BuyorBury Antitrust Suit Against Facebook
2022-01-11   2022-01-12 ogy/facebook-antitrust-ftc.html              Survives                                       By Cecilia Kang                 TX 9-137-858   2022-03-01




                                                                                Page 3235 of 5793
                        https://www.nytimes.com/2022/01/11/us/phila
2022-01-11   2022-01-12 delphia-fire-christmas-tree.html            Boy 5 Blamed in Philadelphia Blaze            By Campbell Robertson     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/us/polit Biden Endorses Changing Rules for Voting
2022-01-11   2022-01-12 ics/biden-filibuster-voting-rights.html     Bills                                         By Katie Rogers           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/us/polit
                        ics/democrats-are-looking-at-multiple-      Democrats Ponder Their Options for Reining
2022-01-11   2022-01-12 proposals-to-curb-the-filibuster.html       In Filibuster                                 By Carl Hulse             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/us/polit A Pugnacious Adversary Deft at Mending
2022-01-11   2022-01-12 ics/harry-reid.html                         Fences                                        By Carl Hulse             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/us/polit Justice Dept Forms Unit To Fight Domestic
2022-01-11   2022-01-12 ics/justice-dept-domestic-terrorism.html    Terror                                        By Katie Benner           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/us/polit
                        ics/supreme-court-immigrants-bail-
2022-01-11   2022-01-12 hearings.html                               Justices Weigh Bail Hearings for Immigrants   By Adam Liptak            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/us/scho Flawed Testing Slows Goal of InPerson
2022-01-11   2022-01-12 ols-covid-testing.html                      Classes                                       By Shawn Hubler           TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/11/world/a Ethiopia Answers Calls for Peace With More
2022-01-11   2022-01-12 frica/ethiopia-biden-abiy-ahmed-tigray.html Drone Strikes                             By Declan Walsh               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/world/a Freelancer For Times Faces Trial In
2022-01-11   2022-01-12 frica/jeffrey-moyo-zimbabwe-nyt.html        Zimbabwe                                  By The New York Times         TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/11/world/a Fire Suspect In S Africa Will Be Given
2022-01-11   2022-01-12 frica/south-africa-parliament-fire-suspect.html Mental Exam                                By Lynsey Chutel         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/world/a
                        sia/north-korea-ballistic-missile-south-        North Korea Tests New Hypersonic Missile
2022-01-11   2022-01-12 korea.html                                      South Korea Says                           By Choe SangHun          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/world/a
                        ustralia/novak-djokovic-australia-border-scott- An Accidental Symbol of Australias Fraught
2022-01-11   2022-01-12 morrison.html                                   Immigration Policies                       By Damien Cave           TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/11/world/c The Town Blew Up Leaking Gas Puts Ontario
2022-01-11   2022-01-12 anada/wheatley-ontario-gas-explosion.html Residents on Edge                           By Ian Austen                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/world/e Another Pandemic Party Scandal Infuriates By Mark Landler and Stephen
2022-01-11   2022-01-12 urope/boris-johnson-uk-parties.html        Britons Leaving Johnson at Risk            Castle                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/world/e Russian Troops to Leave in Days Kazakhstan By Valerie Hopkins and Ivan
2022-01-11   2022-01-12 urope/kazakhstan-russia-troops.html        Says                                       Nechepurenko                  TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/11/world/e
2022-01-11   2022-01-12 urope/magawa-landmine-hero-rat-dead.html MineSniffing Rat Mourned for His Valor        By Anna Schaverien           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/world/e
2022-01-11   2022-01-12 urope/putin-ukraine-russia.html            A Puzzle on Purpose Putins Ukraine Strategy By Anton Troianovski         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/world/e
2022-01-11   2022-01-12 urope/spain-student-housing-dorms.html     More Dorms Pop Up in Spain                  By Raphael Minder            TX 9-137-858   2022-03-01




                                                                                 Page 3236 of 5793
                        https://www.nytimes.com/2022/01/11/world/e Russia Professes No Intention to Invade
2022-01-11   2022-01-12 urope/ukraine-russia.html                      Ukraine Isnt Convinced                       By Andrew E Kramer                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/world/e
                        urope/who-europe-covid-omicron-                Over Half of Europe Could Be Infected Soon
2022-01-11   2022-01-12 infection.html                                 WHO Says                                     By Marc Santora                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/your- Bank of America to Slash or Halt Fees for
2022-01-11   2022-01-12 money/bank-of-america-overdraft-fees.html Overdrafts or Bounced Checks                      By Lananh Nguyen                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/live/2022/01/11/bus
                        iness/stock-market-economy-news/wall-
                        streets-unease-continues-despite-mondays-
2022-01-11   2022-01-12 rebound                                        Feds Resolve on Inflation Pleases Investors By Stephen Gandel                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/live/2022/01/11/wo
                        rld/omicron-covid-testing-vaccines/a-dissident
                        poet-jailed-by-iran-for-his-writing-dies-of-
2022-01-11   2022-01-12 covid                                          Dissident Poet Dies of Covid In Iranian Jail By Farnaz Fassihi                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/health/f Health Officials Grilled Over Omicron           By Noah Weiland and Sharon
2022-01-12   2022-01-12 auci-senate-hearing-omicron-response.html Response                                          LaFraniere                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/nyregio First an Inferno Then the Agony of               By Jazmine Hughes and Sean
2022-01-12   2022-01-12 n/bronx-fire-missing-persons.html              Uncertainty                                  Piccoli                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/nyregio Remembering the Victims I Didnt Think It         By Sarah Maslin Nir Lola Fadulu
2022-01-12   2022-01-12 n/bronx-fire-nyc-victims.html                  Would Be My Last Time Seeing Them            and Chelsia Rose Marcius          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/opinion
2022-01-12   2022-01-12 /democratic-ticket-liz-cheney-2024.html        BidenCheney 2024 Maybe HarrisRomney          By Thomas L Friedman              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/opinion
2022-01-12   2022-01-12 /ukraine-biden-putin.html                      What Putin Really Wants In Ukraine           By Bret Stephens                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/theater/
                        search-for-signs-of-intelligent-life-
2022-01-12   2022-01-12 review.html                                    One Mixed Platter Of Female Frustration      By Jesse Green                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/us/polit
2022-01-12   2022-01-12 ics/biden-filibuster-senate-history.html       The Glacial Evolution Of an Institutionalist By Michael D Shear                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/us/polit                                                 By Nick Corasaniti and Reid J
2022-01-12   2022-01-12 ics/biden-voting-rights-state-laws.html        As a President Waited States Curbed Voting Epstein                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/us/polit
2022-01-12   2022-01-12 ics/guantanamo-releases-approved.html          Panel to Allow 5 More Guantnamo Releases By Carol Rosenberg                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/us/polit Court Rejects Challenges To Voter Maps
2022-01-12   2022-01-12 ics/north-carolina-redistricting.html          GOP Drew                                     By Michael Wines                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/insider/
2022-01-12   2022-01-12 committed-meaning-wedding-section.html         A New Feel for the Weddings Section          By Katie Van Syckle               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/sports/f
2022-01-12   2022-01-12 ootball/nfl-playoff-teams.html                 Why Nobody Can Win the NFL Playoffs          By Mike Tanier                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/well/liv Here to Help Five Tips for Spotting
2022-01-04   2022-01-13 e/melanoma-skin-cancer.html                    Melanoma and Other Skin Cancers              By Amelia Nierenberg              TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/08/arts/mu Stephen Lawrence 82 Sesame Street
2022-01-08   2022-01-13 sic/stephen-lawrence-sesame-street-dead.html Songwriter                                   By Neil Genzlinger                  TX 9-137-858   2022-03-01



                                                                                  Page 3237 of 5793
                        https://www.nytimes.com/2022/01/08/movies/ Max Julien 88 Dies Consummate Mack Of
2022-01-08   2022-01-13 max-julien-dead.html                         Blaxploitation Era                             By Penelope Green             TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/10/style/ca
                        therine-duchess-of-cambridge-birthday-
2022-01-10   2022-01-13 portraits.html                               The Romance of the Royal Portrait              By Vanessa Friedman           TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/10/style/lo
2022-01-10   2022-01-13 ve-bombing.html                              Beware of Love Bombing                         By Gina Cherelus              TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/10/theater/
2022-01-10   2022-01-13 exit-john-cariani-caroline-or-change.html    Saying Bye to Caroline or Change               By Laura CollinsHughes        TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/10/arts/des
                        ign/rubin-museum-returning-nepalese-
2022-01-11   2022-01-13 relics.html                                  Rubin Museum to Return Nepalese Relics         By Zachary Small              TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/11/arts/tele
2022-01-11   2022-01-13 vision/naomi-cw-ava-duvernay.html            Teenage Girls Can Be Super Too                 By LeighAnn Jackson           TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/11/style/fa
                        cebook-womens-sexual-health-
2022-01-11   2022-01-13 advertising.html                             Are These Womens Health Ads Too Adult          By Valeriya Safronova         TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/11/style/m
2022-01-11   2022-01-13 elania-trump-white-hat-auction.html          Cashing In on Melania Trump                    By Vanessa Friedman           TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/11/style/tik
2022-01-11   2022-01-13 tok-axel-webber-juilliard-nyc.html           Juilliard Rejection Fuels Internet Sensation   By Taylor Lorenz              TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/11/technol
2022-01-11   2022-01-13 ogy/norway-electric-vehicles.html            In Norway a Quick Turn to Electric Cars        By Shira Ovide                TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/11/us/may Angelou Becomes First Black Woman
2022-01-11   2022-01-13 a-angelou-quarter.html                       Depicted on Quarter                            By Livia AlbeckRipka          TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/12/arts/dan
2022-01-12   2022-01-13 ce/reggie-wilson-power.html                  Dance as a Form of Worship                     By Gia Kourlas                TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/12/arts/des
2022-01-12   2022-01-13 ign/james-clark-cambodian-antiquities.html Collector Returns Antiquities                  By Tom Mashberg                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/arts/mu Ronnie Spector Who Brought Edge to
2022-01-12   2022-01-13 sic/ronnie-spector-dead.html                GirlGroup Sound Is Dead at 78                 By Ben Sisario and Joe Coscarelli TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/books/r
                        eview-american-urbanist-william-h-whyte-
2022-01-12   2022-01-13 biography-richard-rein.html                 A Thinker Bent On Reshaping City Life         By Alexandra Jacobs               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/busines
2022-01-12   2022-01-13 s/china-zero-covid-policy-xian.html         Zeal in China For Zero Covid Is Taking a Toll By Li Yuan                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/busines
                        s/covid-testing-google-blackrock-morgan-    Cant Find a Covid Test Why Some Workers By Emma Goldberg Lauren Hirsch
2022-01-12   2022-01-13 stanley.html                                Can                                           and David McCabe                  TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/12/busines Inflation Hits 7 Highest Since 1982 Supply       By Jeanna Smialek and Ana
2022-01-12   2022-01-13 s/economy/cpi-inflation-december-2021.html Chains Lag                                       Swanson                       TX 9-137-858     2022-03-01




                                                                                   Page 3238 of 5793
                        https://www.nytimes.com/2022/01/12/busines
                        s/economy/lael-brainard-fed-confirmation-   Nominee for Vice Chair Will Say Inflation Is
2022-01-12   2022-01-13 hearing.html                                Feds Top Target                                By Jeanna Smialek                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/busines Grid Makes Its Debut Vowing Fuller Picture
2022-01-12   2022-01-13 s/grid-news-site-live.html                  Of Days Major Stories                          By Katie Robertson               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/busines TransAtlantic Rift Is Gruyre Still Gruyre if It
2022-01-12   2022-01-13 s/gruyere-cheese-us-court-ruling.html       Doesnt Come From Gruyres                       By Jenny Gross                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/busines IRS Is Buried in Backlog Of 10 Million 2021
2022-01-12   2022-01-13 s/irs-backlog-tax-returns-2021.html         Returns                                        By Tara Siegel Bernard           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/busines                                                 By Lananh Nguyen and Jeanna
2022-01-12   2022-01-13 s/libor-finance.html                        Libor Hailed And Scorned Is Dead at 52         Smialek                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/busines Chief of Nonprofit Texas Tribune Says He
2022-01-12   2022-01-13 s/media/evan-smith-texas-tribune.html       Will Step Down                                 By Katie Robertson               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/movies/
2022-01-12   2022-01-13 moma-black-cinema.html                      It Starts With a Kiss In the 19th Century      By Ben Kenigsberg                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/movies/
2022-01-12   2022-01-13 oscars-six-overlooked-performances.html     Dont Ignore These Star Turns Oscar Voters By Kyle Buchanan                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/movies/ Nominees for the Screen Actors Guild
2022-01-12   2022-01-13 sag-nominations-2022.html                   Awards                                         By Kyle Buchanan                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/nyregio Adams Cuts Brothers NYPD Duties After           By Dana Rubinstein and William K
2022-01-12   2022-01-13 n/bernard-adams-brother-mayor.html          Nepotism Concerns                              Rashbaum                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/nyregio Gerald Stern 86 a Founding New York
2022-01-12   2022-01-13 n/gerald-stern-dead.html                    Judicial Watchdog                              By Sam Roberts                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/nyregio
                        n/prince-andrew-epstein-lawsuit-virginia-   Prince Andrew Can Face Suit Alleging Rape
2022-01-12   2022-01-13 giuffre.html                                Judge Rules                                    By Benjamin Weiser               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/opinion
2022-01-12   2022-01-13 /civil-war-america.html                     Lets Not Invent a Civil War                    By Ross Douthat                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/opinion
2022-01-12   2022-01-13 /parents-school-omicron.html                Parents of Children Under 5 Are Demoralized By Jessica Grose                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/sports/b A Typical Lefty Except Shes 17 And
2022-01-12   2022-01-13 aseball/genevieve-beacom-australia.html     Australian And a Woman                         By David Waldstein               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/12/sports/h Death of High School Player Revives National
2022-01-12   2022-01-13 ockey/teddy-balkind-skate-neck-guard.html Debate Over Neck Protection                    By David Andreatta               TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/12/sports/n Perfection Is Once Again Proved to Be
2022-01-12   2022-01-13 caabasketball/baylor-usc-undefeated.html    Unattainable                                 By Victor Mather                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/12/sports/o Texas Man Is Charged With Aiding
2022-01-12   2022-01-13 lympics/federal-antidoping-law.html         Olympians                                    By Kevin Draper                  TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/12/sports/s After 2 Career Bans Cameroon Goalkeeper
2022-01-12   2022-01-13 occer/andre-onana-cameroon.html             Just Wants to Play                           By Tariq Panja                   TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/12/style/be
2022-01-12   2022-01-13 st-taper-candles.html                       Burn These After Reading                     By Anthony Rotunno               TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/12/style/dr
2022-01-12   2022-01-13 y-january.html                              Dry January Suddenly Looks Wetter            By Danya Issawi                  TX 9-137-858     2022-03-01



                                                                                Page 3239 of 5793
                        https://www.nytimes.com/2022/01/12/style/s
2022-01-12   2022-01-13 moking-cigarettes-comeback.html                The Urge For a Smoke Swirls Back            By John Ortved                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/technol
2022-01-12   2022-01-13 ogy/personaltech/how-to-make-gifs.html         Turn Your Phone Into a Meme Machine         By J D Biersdorfer               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/theater/
                        to-kill-a-mockingbird-girl-from-north-country-
2022-01-12   2022-01-13 broadway.html                                  Mockingbird to Pause North Country to Close By Michael Paulson               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/us/elect
                        ions/david-mccormick-pennsylvania-             Top Financier In GOP Fray For Key Seat In
2022-01-12   2022-01-13 senate.html                                    the Senate                                  By Kate Kelly and Trip Gabriel   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/us/polit
                        ics/biden-voting-rights-speech-election-
2022-01-12   2022-01-13 subversion.html                                Rights Bills Leave Vote Counting Vulnerable By Nate Cohn                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/us/polit Democrats Plan Sets Up Showdown on
2022-01-12   2022-01-13 ics/democrats-voting-rights-bill.html          Voting Rights Bill                          By Carl Hulse                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/us/polit Trump Ends NPR Interview During Queries
2022-01-12   2022-01-13 ics/donald-trump-npr-interview.html            On False Claim                              By Amanda Holpuch                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/us/polit
                        ics/infrastructure-environmental-racism-
2022-01-12   2022-01-13 alabama-black-belt.html                        Worry on Aid For Sanitation To Rural Poor By Glenn Thrush                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/us/polit
2022-01-12   2022-01-13 ics/kevin-mccarthy-jan-6-committee.html        Jan 6 Panel Sets Its Sights On McCarthy     By Luke Broadwater               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/world/a Car Bomb in the Capital Of Somalia Kills
2022-01-12   2022-01-13 frica/somalia-car-bomb.html                    Eight                                       By Abdi Latif Dahir              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/world/a Virus Outbreaks Across China Raise Concern
2022-01-12   2022-01-13 sia/beijing-olympics-covid.html                as Beijing Games Near                       By Amy Qin and Keith Bradsher    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/world/a Djokovic Admits Australia Travel Document
2022-01-12   2022-01-13 sia/novak-djokovic-covid-statement.html        Contained False Statement                   By Yan Zhuang                    TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/12/world/e Johnson the Penitent Has Plenty of Company
2022-01-12   2022-01-13 urope/boris-johnson-famous-apologies.html in History                                  By Rick Gladstone                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/world/e Facing Outrage UK Leader Apologizes for    By Mark Landler and Stephen
2022-01-12   2022-01-13 urope/boris-johnson-uk-parties.html        Lockdown Party                             Castle                                TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/12/world/e NATO and Russia Talk for Hours but Agree      By Steven Erlanger and Anton
2022-01-12   2022-01-13 urope/nato-russia-talks-ukraine-brussels.html on Little for Now                          Troianovski                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/world/
2022-01-12   2022-01-13 middleeast/aras-amiri-released-iran.html      Arts Worker Jailed in Iran Is Back in UK   By Aina J Khan                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/nyregio
                        n/bronx-fire-twin-parks-north-west-           Company Managing Bronx Building Said It    By Amy Julia Harris and Matthew
2022-01-13   2022-01-13 landlord.html                                 Focused on Quality Projects                Haag                            TX 9-137-858      2022-03-01
                        https://www.nytimes.com/2022/01/12/nyregio
                        n/gambian-residents-bronx-apartment-          Haven in Bronx For Gambians Gone in
2022-01-13   2022-01-13 fire.html                                     Instant                                    By Kimiko de FreytasTamura         TX 9-137-858   2022-03-01




                                                                                 Page 3240 of 5793
                        https://www.nytimes.com/2022/01/12/nyregio A Culture of Violence at Rikers Caught on
2022-01-13   2022-01-13 n/rikers-jail-videos.html                   Video                                         By Jan Ransom                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/sports/b
2022-01-13   2022-01-13 aseball/keith-hernandez-mets.html           By Retiring No 17 Mets Finally Get It Right   By Tyler Kepner                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/sports/b
2022-01-13   2022-01-13 aseball/rachel-balkovec-yankees.html        First Female Manager Says Path Was Blazed     By James Wagner                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/us/polit As Omicron Spreads the Mood on Capitol
2022-01-13   2022-01-13 ics/congress-omicron.html                   Hill Turns Even Grumpier                      By Jonathan Weisman             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/12/world/a News Outlet Says Phones Of Journalists Were
2022-01-13   2022-01-13 mericas/el-salvador-journalists-spyware.html Hacked                                    By Maria AbiHabib                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/world/ Iran and US Trade Threats but Move Closer
2022-01-13   2022-01-13 middleeast/us-iran-nuclear-deal.html         to a Nuclear Pact                         By Farnaz Fassihi and Lara Jakes   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/insider/
                        finding-a-surprising-story-in-a-stack-of-
2022-01-13   2022-01-13 medical-bills.html                           Finding a Story in a Stack of Bills       By Sarah Kliff                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/style/al
2022-01-13   2022-01-13 ex-ebert-bad-guru.html                       This Pop Star Has a BSide Philosopher     By Alex Williams                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/style/ba                                            By Anna P Kambhampaty and
2022-01-13   2022-01-13 laclavas-muslim-women-hijab.html             Balaclavas Can Be a Complex Choice        Danya Issawi                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/style/co Contouring Is Back Its Not What You
2022-01-13   2022-01-13 ntouring.html                                Remember                                  By Kristen Bateman                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/arts/mu James Mtume 76 Whose 80s Hit Juicy Fruit
2022-01-11   2022-01-14 sic/james-mtume-dead.html                    Became a HipHop Beat                      By Jon Pareles                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/science Shirley McGreal Champion of Primates
2022-01-11   2022-01-14 /shirley-mcgreal-dead.html                   Under Threat Is Dead at 87                By Richard Sandomir                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/arts/ml Meaningful Activities for Martin Luther
2022-01-12   2022-01-14 k-day-events-nyc.html                        Kings Birthday                            By Sarah Bahr                      TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/12/arts/mu As Good at His Side Gig As He Is at His Day
2022-01-12   2022-01-14 sic/jonny-greenwood-power-dog-spencer.html Job                                          By Seth Colter Walls              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/movies/
2022-01-12   2022-01-14 dear-mother-review.html                     Dear Mother                                 By Beatrice Loayza                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/opinion
2022-01-12   2022-01-14 /climate-change-biden-trucks-buses.html     CarbonSpewing Vehicles Must Be Stopped By Margo Oge and Drew Kodjak           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/arts/del
2022-01-13   2022-01-14 icious-review.html                          Delicious                                   By Lisa Kennedy                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/arts/des
2022-01-13   2022-01-14 ign/artists-responses-january-6-chan.html   Facing Violence With Brushes and Ballots    By Travis Diehl                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/arts/des
                        ign/hugh-hayden-sculptor-madison-square-    Attention Class Your Desks Are Actually The
2022-01-13   2022-01-14 park.html                                   Lesson                                      By Hilarie M Sheets               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/arts/des A Transfixing and Secret World Comes Into
2022-01-13   2022-01-14 ign/james-castle-david-zwirner.html         View                                        By John Vincler                   TX 9-137-858   2022-03-01




                                                                                Page 3241 of 5793
                        https://www.nytimes.com/2022/01/13/arts/mu
                        sic/elvis-costello-the-boy-named-if-
2022-01-13   2022-01-14 review.html                                  Elvis Costellos Aim Is Still True          By Jon Pareles                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/arts/tele
2022-01-13   2022-01-14 vision/el-deafo-sweet-tooth.html             This weekend I have                        By Margaret Lyons                 TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/13/arts/tele
2022-01-13   2022-01-14 vision/somebody-somewhere-hbo-review.html Of Longing and Belonging in Kansas            By James Poniewozik               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/13/books/s
2022-01-13   2022-01-14 tation-eleven-hbo-emily-st-john-mandel.html Art Shakespeare And Worlds End              By Alexandra Alter                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/busines
2022-01-13   2022-01-14 s/adb-smart-headlights-us.html              Coming Soon The Perfect Glow on the Road    By Eric A Taub                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/busines Delta Stung by Omicron and Storms Posts a
2022-01-13   2022-01-14 s/delta-4q-2021-earnings-omicron.html       Loss                                        By Niraj Chokshi                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/busines
                        s/economy/lael-brainard-fed-confirmation-   In Senate Hearing Brainard Says Jobs Will
2022-01-13   2022-01-14 hearing.html                                Keep Growing                                By Jeanna Smialek                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/busines Dorsey Creates Fund to Back Bitcoin
2022-01-13   2022-01-14 s/jack-dorsey-bitcoin-legal-fund.html       Developers Who Face Legal Headaches         By Ephrat Livni                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/busines Student Debt Is Canceled For 66000 In        By Stacy Cowley and Tara Siegel
2022-01-13   2022-01-14 s/navient-student-loans.html                Settlement                                  Bernard                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/busines Businesses Whipsawed Again as Justices       By Emma Goldberg and Lauren
2022-01-13   2022-01-14 s/osha-vaccine-mandate-businesses.html      Block Presidents Vaccine Mandate            Hirsch                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/health/f FDA Chief Nominee Advances After Split
2022-01-13   2022-01-14 da-robert-califf.html                       Vote by Senate Committee                    By Christina Jewett               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/health/ Study Suggests EpsteinBarr Virus Is Linked
2022-01-13   2022-01-14 multiple-sclerosis-epstein-barr-virus.html  to Multiple Sclerosis Risk                  By Gina Kolata                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/health/ Recipient of Pigs Heart Stabbed a Man in
2022-01-13   2022-01-14 pig-heart-transplant-bennett.html           1988 Leaving Him Paralyzed                  By Roni Caryn Rabin               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/movies/
                        a-cops-and-robbers-story-review-keep-your-
2022-01-13   2022-01-14 enemies-closer.html                         A Cops and Robbers Story                    By Teo Bugbee                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/movies/
2022-01-13   2022-01-14 belle-review.html                           Boldly Soaring Over the Online Rainbow      By Manohla Dargis                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/movies/
2022-01-13   2022-01-14 brazen-review.html                          Brazen                                      By Natalia Winkelman              TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/13/movies/
2022-01-13   2022-01-14 hotel-transylvania-transformania-review.html Hotel Transylvania Transformania           By Nicolas Rapold                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/movies/
2022-01-13   2022-01-14 italian-studies-review.html                  Italian Studies                            By Glenn Kenny                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/movies/
2022-01-13   2022-01-14 review-why-is-we-americans.html              Why Is We Americans                        By Devika Girish                  TX 9-137-858   2022-03-01




                                                                                   Page 3242 of 5793
                        https://www.nytimes.com/2022/01/13/movies/
2022-01-13   2022-01-14 scream-review.html                            Less of a Scream More of a ShoutOut      By Jeannette Catsoulis          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/movies/
2022-01-13   2022-01-14 the-pink-cloud-review.html                    The Pink Cloud                           By Claire Shaffer               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/movies/
                        who-we-are-a-chronicle-of-racism-in-america- Who We Are A Chronicle of Racism In
2022-01-13   2022-01-14 review.html                                   America                                  By Ben Kenigsberg               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/nyregio Hochul Unveiled Vision for New York Now By Luis FerrSadurn and Grace
2022-01-13   2022-01-14 n/kathy-hochul-budget-agenda.html             Comes the Hard Part                      Ashford                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/opinion We Need to Think the Unthinkable About the By Jonathan Stevenson and Steven
2022-01-13   2022-01-14 /january-6-civil-war.html                     US                                       Simon                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/opinion                                             By Dorry Segev and William
2022-01-13   2022-01-14 /omicron-immunocompromised.html               Omicron Isnt Milder for Everyone         Werbel                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/sports/b Randle Is Coming Up Short Where Knicks
2022-01-13   2022-01-14 asketball/julius-randle-knicks.html           Need Him Most                            By Sopan Deb                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/us/clyd Clyde Bellecourt 85 Who CoFounded The
2022-01-13   2022-01-14 e-bellecourt-dead.html                        American Indian Movement Dies            By Sam Roberts                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/us/geor Georgia GOP Steps Up Effort To Limit        By Richard Fausset and Michael
2022-01-13   2022-01-14 gia-voting-laws-republicans.html              Voting                                   Wines                           TX 9-137-858   2022-03-01
                                                                      New Rule Makes Thousands of Federal
                        https://www.nytimes.com/2022/01/13/us/polit Inmates Eligible for Release Under 2018
2022-01-13   2022-01-14 ics/federal-prisoners-release.html            Overhaul                                 By Katie Benner                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/us/polit House Committee Weighs Ordering            By Luke Broadwater and Charlie
2022-01-13   2022-01-14 ics/jan-6-subpoenas.html                      Colleagues to Testify in Riot Inquiry    Savage                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/us/polit Why the Members of NATO Wont Let
2022-01-13   2022-01-14 ics/nato-ukraine.html                         Ukraine Join Anytime Soon                By Edward Wong and Lara Jakes TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/13/us/polit Sedition Charge For Militia Chief In Jan 6
2022-01-13   2022-01-14 ics/oath-keepers-stewart-rhodes.html          Attack                                   By Alan Feuer and Adam Goldman TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/13/us/polit RNC Signals Pullout From Presidential
2022-01-13   2022-01-14 ics/presidential-debates-rnc.html             Debates Over Bias Complaints             By Maggie Haberman              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/us/polit Bidens Voting Push Crumbles as Sinema
2022-01-13   2022-01-14 ics/sinema-voting-rights-bill.html            Rejects Filibuster Change                By Carl Hulse                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/us/polit
                        ics/supreme-court-biden-vaccine-              Justices Reverse Vaccine Mandate On Big
2022-01-13   2022-01-14 mandate.html                                  Employers                                By Adam Liptak                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/us/sirha Unswayed by Panel Newsom Denies Parole to
2022-01-13   2022-01-14 n-sirhan-denied-parole.html                   Robert F Kennedys Killer                 By Shawn Hubler                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/world/a Twitter Restored in Nigeria After 7Month
2022-01-13   2022-01-14 frica/nigeria-lifts-twitter-ban.html          Ban for Deleting Presidents Post         By Ruth Maclean                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/world/a
                        ustralia/scott-johnson-australia-gay-killing- Australian Man Convicted of Killing Gay
2022-01-13   2022-01-14 confession.html                               American Doctoral Student in the 1980s   By Yan Zhuang                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/world/e
                        urope/boris-johnson-prince-andrew-
2022-01-13   2022-01-14 royals.html                                   Twin Crises for Monarchy and Government By Mark Landler                  TX 9-137-858   2022-03-01



                                                                              Page 3243 of 5793
                        https://www.nytimes.com/2022/01/13/world/e
                        urope/britain-mi5-china-agent-              UK Lawmakers Alerted To Political            By Isabella Kwai and Stephen
2022-01-13   2022-01-14 parliament.html                             Interference By an Agent of Beijing          Castle                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/world/e
                        urope/france-teachers-walkout-covid-        Teachers in France Walk Out Over Covid
2022-01-13   2022-01-14 coronavirus.html                            Rules                                        By Constant Mheut                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/world/e
                        urope/kazakhstan-russia-troops-             RussianLed Alliance Starts Kazakhstan Troop
2022-01-13   2022-01-14 withdrawal.html                             Withdrawal Process                           By Ivan Nechepurenko             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/world/e
                        urope/prince-andrew-military-titles-abuse-
2022-01-13   2022-01-14 case.html                                   Palace Strips Andrew of Royal Highness Title By Mark Landler                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/world/e PostSoviet Union That Putin Forged Grows
2022-01-13   2022-01-14 urope/putin-ukraine-kazakhstan.html         Ever Shakier                                 By Max Fisher                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/world/e                                               By Anton Troianovski and David E
2022-01-13   2022-01-14 urope/russia-ukraine-talks.html             Russia Warns It May End Talks on Ukraine Sanger                               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/world/e A Divisive Figure Around the World
2022-01-13   2022-01-14 urope/serbia-djokovic.html                  Djokovic Is a Hero in Serbia                 By Marc Santora                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/world/
                        middleeast/baghdad-embassy-rockets-         IranBacked Militias Believed to Be Behind
2022-01-13   2022-01-14 iran.html                                   Rocket Attack on US Embassy in Iraq          By Jane Arraf                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/world/ A Landmark Conviction on Syrian War            By Ben Hubbard and Katrin
2022-01-13   2022-01-14 middleeast/verdict-syria-war-crimes.html    Crimes                                       Bennhold                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/world/t To Recruit Government Workers the Taliban By Zia urRehman and Emily
2022-01-13   2022-01-14 aliban-members.html                         Looks to Pakistan                            Schmall                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/busines
                        s/economy/biden-federal-reserve-            3 Picks by Biden Would Add Diversity to the
2022-01-14   2022-01-14 nominees.html                               Fed                                          By Jeanna Smialek                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/nyregio Lawyer for Cuomo Seeks To Discredit His       By Luis FerrSadurn and Grace
2022-01-14   2022-01-14 n/andrew-cuomo-rita-glavin.html             Accusers                                     Ashford                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/nyregio Some Bronx HighRise Tenants Say Return
2022-01-14   2022-01-14 n/bronx-fire-apartments-complaints.html     After Fire Is Too Fast                       By Kimiko de FreytasTamura       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/nyregio Avenatti Asks For Millions Over His Time In
2022-01-14   2022-01-14 n/michael-avenatti-trump-jail.html          Federal Jail                                 By Benjamin Weiser               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/opinion
2022-01-14   2022-01-14 /america-falling-apart.html                 Why Are So Many of Us Behaving So Badly By David Brooks                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/opinion
2022-01-14   2022-01-14 /pandemic-economic-recovery.html            The Secret Triumph of Economic Policy        By Paul Krugman                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/us/omic Where Omicron Hit Early Cases Start to Fall By Mitch Smith Campbell
2022-01-14   2022-01-14 ron-cases-us.html                           Off                                          Robertson and Sabrina Imbler     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/us/polit                                              By Luke Broadwater and Mike
2022-01-14   2022-01-14 ics/jan-6-tech-subpoenas.html               Jan 6 Panel Subpoenas 4 Social Media Giants Isaac                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/us/polit Senators Reject Effort To Impose Sanctions By Catie Edmondson and Kenneth
2022-01-14   2022-01-14 ics/senate-russia-gas-pipeline-ukraine.html On Russian Pipeline                          P Vogel                          TX 9-137-858   2022-03-01




                                                                               Page 3244 of 5793
                        https://www.nytimes.com/2022/01/14/busines
2022-01-14   2022-01-14 s/economy/imf-surcharges.html                IMF Fees Said to Harm Poor Nations        By Patricia Cohen                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines The Young Liberal Baristas Behind a
2022-01-14   2022-01-14 s/economy/starbucks-union.html               National Union Drive                      By Noam Scheiber                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/insider/
                        why-is-everyone-so-angry-we-
2022-01-14   2022-01-14 investigated.html                            Investigating Why Everyone Is Angry       By Sarah Lyall                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/sports/s Is This Stadium in England or Wales The
2022-01-14   2022-01-14 occer/chester-fc-england-wales-covid.html    Home Team Really Needs to Know            By Rory Smith                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/11/08/travel/y In a Hindu Ritual Offering Bounties To
2021-11-08   2022-01-15 adnya-kasada-volcano-ritual.html             Volcanic Gods                             By Putu Sayoga                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/busines
2022-01-10   2022-01-15 s/barcelona-superyachts.html                 Where the Superyachts Go to Be Spruced Up By Raphael Minder                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/arts/mu Bill Staines Folk Music Mainstay Is Dead at
2022-01-11   2022-01-15 sic/bill-staines-dead.html                   74                                        By Neil Genzlinger               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/arts/mu
2022-01-11   2022-01-15 sic/sadie-jean-wyd-now-lil-yachty.html       How Big Can a TikTok Duet Get             By Jon Caramanica                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/climate
2022-01-11   2022-01-15 /dont-look-up-climate.html                   A Satires Serious Intentions              By Cara Buckley                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/interactive/2022/01/
                        11/climate/record-temperatures-map-          A Vivid View of Extreme Weather
2022-01-11   2022-01-15 2021.html                                    Temperature Records in the US in 2021     By Krishna Karra and Tim Wallace TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/movies/
2022-01-12   2022-01-15 best-documentaries-streaming.html            Where Theres Smoke Theres a Story         By Ben Kenigsberg                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/sports/v Pro Leagues Woo Youth to Save Fandoms
2022-01-12   2022-01-15 ideo-games-nfl-gamers-gen-z.html             Future                                    By Joe Drape and Ken Belson      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/arts/mu
2022-01-13   2022-01-15 sic/coachella-lineup.html                    Coachella Plans Big Comeback              By Ben Sisario                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/opinion
2022-01-13   2022-01-15 /ron-johnson-wisconsin-trump.html            Ron Johnson Wasnt Always Like This        By Michelle Cottle               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/arts/chr
2022-01-13   2022-01-15 isties-rare-books-william-reese.html         Rare Book Trove Heads to Auction          By Jennifer Schuessler           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/opinion Toxic Masculinity Has Taken An Insidious
2022-01-13   2022-01-15 /toxic-masculinity.html                      New Form                                  By Alex McElroy                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/sports/f
                        ootball/nfl-playoff-picks-wild-card-         In WildCard Round Some Underdogs Will
2022-01-13   2022-01-15 round.html                                   Try to Run Wild                           By Emmanuel Morgan               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/13/us/clev Siblings Face Felony Grand Theft Charges
2022-01-13   2022-01-15 eland-metroparks-tree-siblings-charged.html For Chopping Down a CenturiesOld Tree       By Maria Cramer               TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/13/us/fren
2022-01-13   2022-01-15 ch-dressing-fda.html                        FDA on French Dressing LaissezFaire         By Neil Vigdor                TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/13/us/polit US Adjusts Protocol Used to Assess Havana   By Mark Walker and Julian E
2022-01-13   2022-01-15 ics/havana-syndrome-evaluation-tool.html    Syndrome                                    Barnes                        TX 9-137-858     2022-03-01




                                                                               Page 3245 of 5793
                        https://www.nytimes.com/2022/01/14/arts/dan
2022-01-14   2022-01-15 ce/oona-doherty-review.html                 Sometimes Prayers Are Performed Onstage By Gia Kourlas                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/arts/mu
2022-01-14   2022-01-15 sic/review-igor-levit-carnegie-hall.html    Feeling at Home In Carnegie Hall              By Zachary Woolfe                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines Chinas 2021 Trade Surplus Hits a Record
2022-01-14   2022-01-15 s/china-trade-surplus.html                  Yearly High                                   By Keith Bradsher                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines
2022-01-14   2022-01-15 s/energy-environment/oil-prices-opec.html   Oil Nations Lag Behind In Output              By Stanley Reed                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines Pay on Wall Street Will Surge After Year of
2022-01-14   2022-01-15 s/jpmorgan-chase-earnings-4q-2021.html      Record Profit                                 By Lananh Nguyen                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines Court Orders Pharma Bro To Pay Back 646 By Rebecca Robbins and Cecilia
2022-01-14   2022-01-15 s/martin-shkreli-barred.html                Million                                       Kang                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines
2022-01-14   2022-01-15 s/retail-sales-december.html                Retail Sales Suffer First Dip in 5 Months     By Sapna Maheshwari              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines
2022-01-14   2022-01-15 s/starbucks-union-election-buffalo.html     Staff at 3 Buffalo Starbucks to Vote on Union By Noam Scheiber                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/dining/ Ed Schoenfeld 72 an Ambassador For
2022-01-14   2022-01-15 ed-schoenfeld-dead.html                     Chinese Regional Cuisine Dies                 By William Grimes                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/health/c CDC Says Cloth Masks Are Not as Effective
2022-01-14   2022-01-15 loth-masks-covid-cdc.html                   as Others                                     By Apoorva Mandavilli            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/health/s For Virus Testing Saliva May Be a Better
2022-01-14   2022-01-15 aliva-testing-coronavirus-omicron.html      Option                                        By Emily Anthes                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/movies/ Baldwin Surrenders iPhone in Rust Shooting By Julia Jacobs and Graham
2022-01-14   2022-01-15 alec-baldwin-phone-rust-investigation.html Inquiry                                        Bowley                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/movies/
2022-01-14   2022-01-15 bad-moms-lost-daughter.html                 Sparing a Thought For Absent Mothers          By Amanda Hess and Liana Finck   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/movies/ Slasher Films Slide Into One Long Insider
2022-01-14   2022-01-15 scream-movie.html                           Joke                                          By Calum Marsh                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/nyregio Man Charged in Killing Of Burger King
2022-01-14   2022-01-15 n/burger-king-murder-nyc-arrest.html        Cashier As Neighborhood Weeps                 By Troy Closson                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/nyregio Edward S Kirkland 96 Preservationist and
2022-01-14   2022-01-15 n/edward-kirkland-dead.html                 Shaper Of New York City Treasures             By Sam Roberts                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/nyregio As New York States Ban On Evictions Runs
2022-01-14   2022-01-15 n/eviction-moratorium-new-york.html         Out Fears of Upheaval Rise                    By Mihir Zaveri                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/nyregio
2022-01-14   2022-01-15 n/rikers-jail-unions-eric-adams.html        Adams Shows His Allegiance To Jail Unions By Jan Ransom                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/opinion
2022-01-14   2022-01-15 /omicron-covid.html                         Waiting For Omicron                           By Michelle Goldberg             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/sports/b Eddie Basinski 99 Infielder And an Equally
2022-01-14   2022-01-15 aseball/eddie-basinski-dead.html            Elite Fiddler                                 By Richard Goldstein             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/sports/b Gulf Between MLB and Its Players Threatens
2022-01-14   2022-01-15 aseball/mlb-lockout.html                    Start of Spring Training                      By James Wagner                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/sports/b A Future Hall of Famer Still Active but
2022-01-14   2022-01-15 asketball/nba-dwight-howard-lakers.html     Nearly Forgotten                              By Tania Ganguli                 TX 9-137-858   2022-03-01




                                                                                Page 3246 of 5793
                        https://www.nytimes.com/2022/01/14/technol
                        ogy/sundar-pichai-google-facebook-
2022-01-14   2022-01-15 antitrust.html                              Scrutiny on Google Chief in Antitrust Case   By David McCabe                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/upshot/ Why Rapid Covid Tests May Not Be Free at
2022-01-14   2022-01-15 free-rapid-covid-tests.html                 First                                        By Sarah Kliff                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/us/covi No Vaccine No Day Care Plenty of              By J David Goodman and Giulia
2022-01-14   2022-01-15 d-vaccines-children.html                    Frustrations                                 Heyward                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/us/polit New Leader Appointed to Intelligence Unit
2022-01-14   2022-01-15 ics/foreign-election-interference.html      That Oversees Foreign Election Threats       By Julian E Barnes             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/us/polit
                        ics/john-katko-retire-trump-                Katko Republican Who Backed Impeachment By Catie Edmondson and Nicholas
2022-01-14   2022-01-15 impeachment.html                            Will Not Seek Reelection                     Fandos                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/us/polit
                        ics/ohio-supreme-court-congressional-maps- Ohio Supreme Court Rejects GOP
2022-01-14   2022-01-15 gerrymandering.html                         Gerrymander of Map                           By Trip Gabriel                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/us/polit US Considers Supporting an Insurgency if
2022-01-14   2022-01-15 ics/russia-ukraine-biden-military.html      Russia Invades                               By Helene Cooper               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/us/polit US Says Moscow Sent Saboteurs To Roil
2022-01-14   2022-01-15 ics/russia-ukraine-us-intelligence.html     Ukraine                                      By David E Sanger              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/us/supr Supreme Court to Hear Case of Coach Fired
2022-01-14   2022-01-15 eme-court-football-coach-prayer.html        Over Postgame Prayers                        By Adam Liptak                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/world/a Pause in Trial Testing Limits On Reporters In
2022-01-14   2022-01-15 frica/zimbabwe-moyo-trial.html              Zimbabwe                                     By The New York Times          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/world/a Dozens on Trial in Cuba After Harsh           By Anatoly Kurmanaev and Oscar
2022-01-14   2022-01-15 mericas/cuba-mass-trials-crackdown.html     Crackdown Over a Wave of Protests            Lopez                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/world/a Indian Bishop Is Acquitted Of Charges In
2022-01-14   2022-01-15 sia/india-bishop-rape-nun.html              Nuns Rape                                    By Suhasini Raj                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/world/a North Korea Fires 2 Ballistic Missiles After
2022-01-14   2022-01-15 sia/north-korea-missiles-us-sanctions.html  Denouncing Sanctions Threat                  By Choe SangHun                TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/14/world/a In the Djokovic Drama a Lesson in the Rules
2022-01-14   2022-01-15 ustralia/novak-djokovic-australian-open.html of the Covid Era                          By Damien Cave                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/14/world/e
                        urope/boris-johnson-apology-lockdown-
2022-01-14   2022-01-15 parties.html                                 Johnsons Office Apologizes to Queen       By Mark Landler                TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/14/world/e
                        urope/bosnia-jasmila-zbanic-quo-vadis-
2022-01-14   2022-01-15 aida.html                                    Filmmaker Shows Humanity of Warring Sides By Andrew Higgins              TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/14/world/e Hackers Shut Down Sites Of Ukrainian
2022-01-14   2022-01-15 urope/hackers-ukraine-government-sites.html Government As Talks With Russia End      By Andrew E Kramer               TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/14/world/e Putins Threats Inspire New Purpose And
2022-01-14   2022-01-15 urope/nato-russia-ukraine-europe.html       Unity in NATO                            By Steven Erlanger               TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/14/world/e Dutch Royals Retire Coach That Evokes
2022-01-14   2022-01-15 urope/netherlands-golden-coach.html         Colonial Era                             By Claire Moses                  TX 9-137-858     2022-03-01



                                                                               Page 3247 of 5793
                        https://www.nytimes.com/2022/01/14/world/e Shift in Europe as Some Leaders Take Learn
2022-01-14   2022-01-15 urope/uk-omicron-coronavirus-pandemic.html to Live With It Approach                       By Megan Specia                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/14/arts/mu Rosa Lee Hawkins 76 Singer With Dixie
2022-01-15   2022-01-15 sic/rosa-lee-hawkins-dead.html              Cups                                          By Jack Kramer                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/14/opinion
2022-01-15   2022-01-15 /afghanistan-bank-money.html                Let Innocent Afghans Have Their Money         By The Editorial Board          TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/14/sports/t
                        ennis/novak-djokovic-australia-visa-        Djokovic to Dispute Second Australian Visa
2022-01-15   2022-01-15 hearing.html                                Revocation                                    By David Waldstein              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/14/us/ohio- Ohio Will Put Body Cameras on Guards in
2022-01-15   2022-01-15 priso-body-cams.html                        Every Prison                                  By Nicholas BogelBurroughs      TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/14/us/polit Covid Tests To Be Made Free Soon Via
2022-01-15   2022-01-15 ics/covid-tests-free-biden.html             Website                                       By Sheryl Gay Stolberg          TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/14/us/polit Call for Course Correction From a
2022-01-15   2022-01-15 ics/democratic-midterms.html                Beleaguered Party                             By Lisa Lerer and Emily Cochrane TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/us/polit For Democrats Hard Decisions On Voting
2022-01-15   2022-01-15 ics/democrats-voting-rights.html            Push                                          By Jonathan Weisman             TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/14/us/polit Software Glitch Snarls New York City
2022-01-15   2022-01-15 ics/nyc-schools-security-threat-software.html Schools                                     By Lola Fadulu                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/14/us/portl In Portland Police Lesson Celebrated Use of
2022-01-15   2022-01-15 and-police-protests.html                      Force                                       By Mike Baker                   TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/14/world/e Russia Claims To Dismantle Hacker Group
2022-01-15   2022-01-15 urope/revil-ransomware-russia-arrests.html At US Request                                  By Ivan Nechepurenko            TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/15/busines Cambodia Unleashes Web Police In a
2022-01-15   2022-01-15 s/cambodia-arrests-internet.html           ChineseStyle Crackdown                         By Charles McDermid             TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/12/14/books/r
2021-12-14   2022-01-16 eview/jim-harrison-complete-poems.html     Forces of Nature                               By Troy Jollimore               TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2021/12/19/books/r
2021-12-19   2022-01-16 eview/randall-kenan-visitation-of-spirits.html The Bard of Tims Creek                     By Lauren Christensen           TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/12/21/movies/
2021-12-21   2022-01-16 lucille-ball-being-the-ricardos.html           RealLife Reasons to Love Lucy              By Tom Gilbert                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/12/22/books/r
                        eview/elizabeth-taylor-mrs-palfrey-at-the-
2021-12-23   2022-01-16 claremont.html                                 Dowagers at the End of Empire              By Geoff Dyer                   TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2021/12/31/movies/
2021-12-31   2022-01-16 clifton-collins-jr-jockey.html                 A Fresh Role for a Familiar Face           By Carlos Aguilar               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/03/books/r
2022-01-03   2022-01-16 eview/fiona-and-jane-jean-chen-ho.html         Friends Forever                            By Tammy Tarng                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/04/books/r
2022-01-04   2022-01-16 eview/anthem-noah-hawley.html                  Dissonant Note                             By S Kirk Walsh                 TX 9-137-858    2022-03-01




                                                                                   Page 3248 of 5793
                        https://www.nytimes.com/2022/01/04/books/r
2022-01-04   2022-01-16 eview/dante-a-life-alessandro-barbero.html 13thCentury Man of Mystery                    By Joseph Luzzi           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/05/books/r
2022-01-05   2022-01-16 eview/emotional-leonard-mlodinow.html      This Time With Feeling                        By Frans de Waal          TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/06/books/r
2022-01-06   2022-01-16 eview/the-lincoln-highway-amor-towles.html Inside the List                               By Elisabeth Egan         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/opinion
                        /culture/jeremy-strong-new-yorker-careerist-
2022-01-09   2022-01-16 striver.html                                 Theres Nothing Wrong With Striving          By Elizabeth Spiers       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/09/opinion
2022-01-09   2022-01-16 /trump-bannon-trumpism-democracy.html        Steve Bannon Is On to Something             By Ezra Klein             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/books/r
                        eview/olga-dies-dreaming-xochitl-
2022-01-10   2022-01-16 gonzalez.html                                Mother Knows Best                           By Maggie Shipstead       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/opinion
2022-01-10   2022-01-16 /covid-school-closures.html                  Kids Are Falling Behind Heres How to Help   By Jay Caspian Kang       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/realesta
2022-01-10   2022-01-16 te/fireplace-screens.html                    Stop the Sparks And Boost the Sparkle       By Tim McKeough           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/travel/a- The World Has Changed And So Has 52
2022-01-10   2022-01-16 different-kind-of-52.html                    Places                                      By Amy Virshup            TX 9-137-858   2022-03-01

                        https://www.nytimes.com/interactive/2022/01/ A SciFi Visionary Thinks Greed Might Be the
2022-01-10   2022-01-16 10/magazine/neal-stephenson-interview.html Thing That Saves Us                           By David Marchese         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/arts/des
2022-01-11   2022-01-16 ign/john-powers-sculptor-accident.html        Easing a Wound With Big Ideas              By Kriston Capps          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/arts/mu
2022-01-11   2022-01-16 sic/kane-brown-favorites.html                 Kane Brown Sees Himself in Ted Lasso       By Jeremy Gordon          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/books/r
2022-01-11   2022-01-16 eview/marcial-gala-call-me-cassandra.html     The Seer                                   By Marcela Valdes         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/magazi
2022-01-11   2022-01-16 ne/how-to-race-pigeons.html                   How to Race Pigeons                        By Malia Wollan           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/magazi Must I Donate a Kidney To My Awful
2022-01-11   2022-01-16 ne/kidney-donation-ethics.html                Brother                                    By Kwame Anthony Appiah   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/magazi
2022-01-11   2022-01-16 ne/military-burn-pits.html                    Smoke Screen                               By Megan K Stack          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/magazi
2022-01-11   2022-01-16 ne/subjunctive-past-present.html              The Subjunctive                            By Jean Chen Ho           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/movies/
                        designing-nightmare-alley-west-side-story-the-
2022-01-11   2022-01-16 humans.html                                   Production Design for the Mean Streets     By Mekado Murphy          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/nyregio Yonkers Lands a Leading Role as a Studio
2022-01-11   2022-01-16 n/lionsgate-great-point-studio-yonkers.html Hub                                          By Jane Margolies         TX 9-137-858   2022-03-01




                                                                                Page 3249 of 5793
                        https://www.nytimes.com/2022/01/11/realesta
                        te/a-flea-infested-former-convent-how-could-
2022-01-11   2022-01-16 they-resist.html                             A Former Convent Proves Irresistible       By Tim McKeough        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/style/m Six Mocktails Your Guests Will Actually
2022-01-11   2022-01-16 ocktail-recipes-for-your-wedding.html        Enjoy                                      By Daniel Bortz        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/arts/mu Maria Ewing Daring Opera Star With a Flair
2022-01-12   2022-01-16 sic/maria-ewing-dead.html                    for the Dramatic Is Dead at 71             By Neil Genzlinger     TX 9-137-858   2022-03-01
                                                                     Wings of Gold Zesty buttery lemonpepper
                        https://www.nytimes.com/2022/01/12/magazi wings arent just popular in Atlanta Theyre
2022-01-12   2022-01-16 ne/lemon-pepper-wings-recipe.html            embedded in the citys culture              By Eric Kim            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/magazi
2022-01-12   2022-01-16 ne/miss-america-beauty-pageant.html          Pretty Please                              By BD McClay           TX 9-137-858   2022-03-01
                                                                     A few weeks earlier he was running several
                        https://www.nytimes.com/2022/01/12/magazi times a week Now he could barely stand What
2022-01-12   2022-01-16 ne/nitrous-oxide-whippets-vitamin-b12.html could account for such a rapid decline       By Lisa Sanders MD     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/magazi
2022-01-12   2022-01-16 ne/sex-old-age.html                          Old Flames                                 By Maggie Jones        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/movies/
                        penelope-cruz-pedro-almodovar-parallel-
2022-01-12   2022-01-16 mothers.html                                 The Visions of Penlope Cruz                By Kyle Buchanan       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/realesta
                        te/home-prices-indiana-ohio-                 425000 Homes in Indiana Ohio and
2022-01-12   2022-01-16 pennsylvania.html                            Pennsylvania                               By Angela Serratore    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/realesta
                        te/house-hunting-in-britain-a-restored-farm-
2022-01-12   2022-01-16 compound-on-cornwalls-coast.html             A Restored Compound On Cornwalls Coast By Lisa Prevost            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/realesta MasterPlanned With Luxury Rentals and Lots
2022-01-12   2022-01-16 te/living-stamford-ct-south-end.html         of Pets                                    By Lisa Prevost        TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/12/style/fri Finding Married Friends and Starting a
2022-01-12   2022-01-16 ends-with-rings-couples-relationships.html   Business                                     By Alix Strauss      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/t-
2022-01-12   2022-01-16 magazine/workout-clothes-fashion.html        Multifunctional Elegance                     By Gage Daughdrill   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/technol Do People Love Amazon Prime No Matter Its
2022-01-12   2022-01-16 ogy/amazon-prime-price.html                  Cost                                         By Shira Ovide       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/theater/
2022-01-12   2022-01-16 hadestown-eurydice-broadway-opera.html       Love Trust and Heartbreak on Two Stages      By Maya Phillips     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/arts/mu
2022-01-13   2022-01-16 sic/hans-rosbaud-classical-music.html        An Aristocrat Among Conductors               By David Allen       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/arts/mu
2022-01-13   2022-01-16 sic/maren-morris-humble-quest.html           Sinking Roots and Bearing Fruit in Nashville By Joe Coscarelli    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/busines Majid Al Futtaim 87 Developer Who Brought
2022-01-13   2022-01-16 s/majid-al-futtaim-dead.html                 Dazzle to Dubai Is Dead                      By Clay Risen        TX 9-137-858   2022-03-01




                                                                                 Page 3250 of 5793
                        https://www.nytimes.com/2022/01/13/magazi
                        ne/judge-john-hodgman-on-how-to-make-
2022-01-13   2022-01-16 your-exit.html                             Bonus Advice From Judge John Hodgman      By John Hodgman                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/magazi
                        ne/poem-my-sister-who-died-young-takes-up- Poem My Sister Who Died Young Takes Up
2022-01-13   2022-01-16 the-task.html                              the Task                                  By Jon Pineda and Victoria Chang   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/magazi
2022-01-13   2022-01-16 ne/sjon-poet-novelist-lyricist.html        Songs of Sjon                             By Sam Anderson                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/movies/
2022-01-13   2022-01-16 adult-animated-movies.html                 Animated Features                         By Carlos Aguilar                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/opinion It Shouldnt Take 10 Minutes to Evict      By Anna BlackburneRigsby and
2022-01-13   2022-01-16 /housing-eviction.html                     Someone                                   Nathan Hecht                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/opinion
2022-01-13   2022-01-16 /military-budget-build-back-better.html    How Much Military Spending Is Too Much By Farhad Manjoo                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/opinion
2022-01-13   2022-01-16 /us-russia-putin-ukraine.html              Why the US Should Make a Deal With Russia By Peter Beinart                   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/13/realesta
2022-01-13   2022-01-16 te/americas-most-energy-efficient-cities.html These Cities Get the Green Light       By Michael Kolomatsky              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/realesta
                        te/where-adventurous-gardeners-buy-their-
2022-01-13   2022-01-16 seeds.html                                    Where Bold Growers Get Their Seeds     By Margaret Roach                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/sports/f Meet the Coach Who Helps Make Brady Even
2022-01-13   2022-01-16 ootball/byron-leftwich-buccaneers.html        Better                                 By Robert OConnell                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/style/as
2022-01-13   2022-01-16 ian-american-studies-dartmouth.html           A Push for Asian American Studies      By Anna P Kambhampaty              TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/13/style/da
2022-01-13   2022-01-16 ughter-boyfriend-polyamory-social-qs.html Travel Arrangements                        By Philip Galanes                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/theater/
2022-01-13   2022-01-16 clare-barron-shhhh.html                      Her Pain in Her Own Words               By Alexis Soloski                  TX 9-137-858   2022-03-01
                                                                     An Upper West Side Upgrade but No
                        https://www.nytimes.com/interactive/2022/01/ Doorman Please Which Home Would You
2022-01-13   2022-01-16 13/realestate/13hunt-brownstein.html         Choose                                  By Joyce Cohen                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/arts/tele
                        vision/bridget-everett-somebody-somewhere-
2022-01-14   2022-01-16 hbo.html                                     Like a Big Hug Wearing Flannel          By Alexis Soloski                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/books/r
                        eview/as-you-were-elaine-feeney-sara-
                        stridsberg-the-antarctica-of-love-toshikazu-
2022-01-14   2022-01-16 kawaguchi-tales-from-the-cafe.html           International Fiction                   By Antonia Hitchens                TX 9-137-858   2022-03-01




                                                                              Page 3251 of 5793
                        https://www.nytimes.com/2022/01/14/books/r
                        eview/audiobooks-how-high-we-go-in-the-
                        dark-sequoia-nagamatsu-the-power-of-fun-
                        catherine-price-the-lost-sounds-chris-
2022-01-14   2022-01-16 watson.html                                  Narratives for Travel or Hibernation      By Sebastian Modak    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/books/r
                        eview/just-pursuit-laura-coates-the-rage-of-
2022-01-14   2022-01-16 innocence-kristin-henning.html               Criminal Injustice                        By David Lat          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/books/r
2022-01-14   2022-01-16 eview/new-paperbacks.html                    Paperback Row                             By Miguel Salazar     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/books/r
                        eview/shahrzad-and-the-angry-king-nahid-
2022-01-14   2022-01-16 kazemi.html                                  A Scheherazade for Our Times              By Marina Warner      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/books/r
                        eview/you-dont-know-us-negroes-zora-neale-
2022-01-14   2022-01-16 hurston.html                                 In Her Own Words                          By Trudier Harris     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/briefing
2022-01-14   2022-01-16 /supreme-court-covid-mask-mandate.html       Maskless And Inaccurate On the Bench      By David Leonhardt    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines Financial Resources to Cope With Chronic
2022-01-14   2022-01-16 s/chronic-illness-financial-planning.html    Illness                                   By Susan B Garland    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines
                        s/energy-environment/energy-companies-oil- Energy Stocks Rose in 2021 Beware of
2022-01-14   2022-01-16 gas-prices.html                              Bumps Ahead                               By J Alex Tarquinio   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines
2022-01-14   2022-01-16 s/mutual-funds/inflation-tips-fund-etf.html  No Foolproof Defense for Inflation        By Tim Gray           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines
2022-01-14   2022-01-16 s/mutual-funds/stock-market-peril.html       What Will Follow That Fruitful Year       By Conrad de Aenlle   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines
2022-01-14   2022-01-16 s/stock-market-sectors.html                  When Your Stocks Start to Lose Altitude   By Brian J OConnor    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines
2022-01-14   2022-01-16 s/work-advice-roxane-gay.html                Working Hard Before You Get the Job       By Roxane Gay         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/fashion
                        /weddings/yasmin-quiles-navell-shorter-      After a FirstDate Pep Talk a Kiss to
2022-01-14   2022-01-16 wedding.html                                 Remember                                  By Tammy LaGorce      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/movies/
2022-01-14   2022-01-16 drive-my-car-uncle-vanya.html                How a Potent Scene Gathers Its Strength   By AO Scott           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/movies/
                        licorice-pizza-alana-haim-bradley-
2022-01-14   2022-01-16 cooper.html                                  Behind the Wheel She Takes Control        By Manohla Dargis     TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/14/nyregio
2022-01-14   2022-01-16 n/alina-bloomgarden-music-inside-jazz.html Work and a Walk for a Jazz Nonprofits Chief By Tammy La Gorce     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/nyregio
2022-01-14   2022-01-16 n/college-older-students-nyc.html          A Guiding Hand Across the Generations       By Ginia Bellafante   TX 9-137-858   2022-03-01




                                                                                Page 3252 of 5793
                        https://www.nytimes.com/2022/01/14/nyregio Need Company Get in Line A Covid Test
2022-01-14   2022-01-16 n/covid-test-lines-nyc.html                 Line                                        By Alyson Krueger                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/nyregio
                        n/family-foundation-school-abuse-
2022-01-14   2022-01-16 lawsuits.html                               Survivor993 Is Not Alone                    By Michael Wilson                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/opinion
2022-01-14   2022-01-16 /eric-adams-manhattan-expand.html           The Big Apple Could Get a Little Bigger     By Jason M Barr                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/opinion                                              By Vanessa Veselka and Clayton
2022-01-14   2022-01-16 /unions-oregon-assisted-living.html         These Workers Went On Strike to Save Lives Cotterell                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/realesta
2022-01-14   2022-01-16 te/pre-covid-remodel.html                   Remodeling Regrets                          By Ronda Kaysen                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/sports/
2022-01-14   2022-01-16 man-city-chelsea.html                       Yes Pep Guardiola Is Really Good at His Job By Rory Smith                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/style/da
2022-01-14   2022-01-16 gmara-dominczyk.html                        Finally Burning Bright                      By Alexis Soloski                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/style/gr He Turns Hit Songs Into TikTok Memes
2022-01-14   2022-01-16 iffin-haddrill-tiktok.html                  And Earworms                                By Alex Hawgood                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/style/he
2022-01-14   2022-01-16 rman-parish-anna-bendahan-wedding.html      Their Love Was All Over the Map             By Emma Grillo                     TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/14/style/m In Lockdown a LongDistance Romance Grew
2022-01-14   2022-01-16 aheisha-adams-meerim-ilyas-wedding.html Stronger                                   By Louise Rafkin                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/style/m Our Kinder Gentler NobodyMovesOut
2022-01-14   2022-01-16 odern-love-kinder-gentler-divorce.html     Divorce                                 By Jordana Jacobs                       TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/14/style/ni Skipping One Wedding and Moving Toward
2022-01-14   2022-01-16 cholas-cerbone-emily-sundel-wedding.html Another                                          By Jenny Block                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/style/ric Former Talk Show Host Credits an Assist
2022-01-14   2022-01-16 ki-lake-ross-burningham-wedding.html         From Beyond                                  By Tammy La Gorce                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/style/sc
                        ott-malamut-thomas-mcconville-               For Two Fraternity Brothers an Even Stronger
2022-01-14   2022-01-16 wedding.html                                 Bond                                         By Vincent M Mallozzi            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/world/e On a Tuscan Island Lives Entwined Forever
2022-01-14   2022-01-16 urope/giglio-costa-concordia-italy.html      by a Harbor Disaster                         By Gaia Pianigiani               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/interactive/2022/01/
2022-01-14   2022-01-16 14/movies/critics-oscar-nominees.html        And the 2022 Oscar Nominees Should Be        By Manohla Dargis and AO Scott   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines Michael Parks 78 Top Editor Of The Los
2022-01-15   2022-01-16 s/media/michael-parks-dead.html              Angeles Times                                By Katharine Q Seelye            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/health/ Decades of Discoveries Before Miraculous       By Gina Kolata and Benjamin
2022-01-15   2022-01-16 mrna-vaccine.html                            Sprint to a Vaccine                          Mueller                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/nyregio
2022-01-15   2022-01-16 n/brooklyn-omicron-cases.html                In Covid Ward 2 Nurses Race To 36 Patients By Joseph Goldstein                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/nyregio                                                By Troy Closson and Andy
2022-01-15   2022-01-16 n/woman-pushed-on-train-death.html           Woman Killed After a Shove In the Subway Newman                               TX 9-137-858   2022-03-01




                                                                                Page 3253 of 5793
                        https://www.nytimes.com/2022/01/15/opinion
2022-01-15   2022-01-16 /addiction-disease.html                    Calling Addiction a Disease Is Misleading   By Carl Erik Fisher           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/opinion
2022-01-15   2022-01-16 /biden-senate-mcconnell-sinema.html        More Mojo Joe                               By Maureen Dowd               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/opinion
2022-01-15   2022-01-16 /meat-meatpacking-industry.html            A Better Meatpacking Industry               By Binyamin Appelbaum         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/opinion
2022-01-15   2022-01-16 /sunday/joe-biden-presidency.html          Whats Biden Thinking                        By Ross Douthat               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/15/realesta If My Roommate Stops Paying Rent Am I on
2022-01-15   2022-01-16 te/roommates-security-deposit-renting.html the Hook for All of It                      By Ronda Kaysen               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/sports/t
2022-01-15   2022-01-16 ennis/novak-djokovic-australian-open.html    Errors Mount Off the Court For Djokovic   By Michael Steinberger        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/style/br
2022-01-15   2022-01-16 uce-bozzi.html                               Bruce Bozzi Comes Into His Own            By Brooks Barnes              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/style/in
                        fluencer-internships-social-media-content-
2022-01-15   2022-01-16 creation.html                                Interning for an Influencer               By Jennifer Miller            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/style/ric Lots of People Want to Check Out This
2022-01-15   2022-01-16 hard-macksey-library.html                    Library                                   By Kate Dwyer                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/technol Crypto Enthusiasts Meet Their Match Angry By Mike Isaac and Kellen
2022-01-15   2022-01-16 ogy/cryptocurrency-nft-gamers.html           Gamers                                    Browning                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/us/2020 Census Memo Cites Unprecedented Meddling
2022-01-15   2022-01-16 census-trump.html                            by Trump Officials                        By Michael Wines              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/us/healt Health Care Sector Confronts Vaccine       By Audra D S Burch and Reed
2022-01-15   2022-01-16 hcare-workers-vaccine-mandate.html           Mandate                                   Abelson                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/us/polit Democrats Face Costly New Slog On Voting By Reid J Epstein and Nick
2022-01-15   2022-01-16 ics/voting-rights-democrats.html             Curbs                                     Corasaniti                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/world/a
                        sia/myanmar-electricity-civil-               Pay Your Power Bill Myanmar Residents Are
2022-01-15   2022-01-16 disobedience.html                            Told or Pay With Your Life                By Richard C Paddock          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/world/a
2022-01-15   2022-01-16 sia/tonga-volcano-tsunami.html               Pacific Tsunami Feared After Eruption     By Aina J Khan                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/world/e
                        urope/bangladesh-london-brick-lane-          Towers Rise Over Londons Brick Lane
2022-01-15   2022-01-16 gentrification.html                          Clouding Its Future                       By Aina J Khan                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/world/e FarRight French Leader Tries to Project
2022-01-15   2022-01-16 urope/france-lepen.html                      Credibility                               By Constant Mheut             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/15/world/ Horror in Board Games Recalling a Wartime
2022-01-15   2022-01-16 middleeast/lebanon-civil-war-memories.html Childhood                                By Maria AbiHabib                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/live/2022/01/15/us/
                        synagogue-hostage-texas-colleyville/texas-  After 11 Hours Hostages Rescued From a  By Michael Levenson and
2022-01-15   2022-01-16 synagogue-attack                            Synagogue Near Dallas                   Margarita Birnbaum               TX 9-137-858   2022-03-01




                                                                                Page 3254 of 5793
                        https://www.nytimes.com/2022/01/16/busines
2022-01-16   2022-01-16 s/davos-world-economic-forum.html           Davos Without Davos                        By Clara Tuma and David Gelles   TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/16/busines
                        s/the-week-in-business-vaccine-             The Week in Business A Ruling on Vaccine
2022-01-16   2022-01-16 mandates.html                               Mandates                                   By Sarah Kessler                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/16/insider/
2022-01-16   2022-01-16 inviting-the-70-crowd-to-bare-it-all.html   Inviting the 70 Crowd to Bare It All       By Kate Dwyer                    TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/16/realesta
2022-01-16   2022-01-16 te/homes-that-sold-for-520000-or-less.html Homes That Sold for 520000 or Less           By C J Hughes                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/sports/f
2022-01-16   2022-01-16 ootball/nfl-wild-card-score.html            What to Watch for in Sundays NFL Games      By Emmanuel Morgan               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/style/m
2022-01-16   2022-01-16 arianne-williamson.html                     No Time for Detours                         By Casey Schwartz                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/us/polit Colleges Regroup as Another Semester Begins By Stephanie Saul and Anemona
2022-01-16   2022-01-16 ics/colleges-covid-coronavirus.html         in Covids Shadow                            Hartocollis                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/world/e Putin Could Cause Trouble Not Just in        By Anton Troianovski and David E
2022-01-16   2022-01-16 urope/russia-ukraine-invasion.html          Ukraine but in West Too                     Sanger                           TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2021/12/20/travel/c In Cambodian Rainforest It Takes a Poacher
2021-12-20   2022-01-17 ardamom-mountains-wildlife-cambodia.html to Catch a Poacher                            By Francesco Lastrucci           TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/04/travel/c
2022-01-04   2022-01-17 rete-greece-skiing.html                     The Best Spring Skiing Anywhere Try Crete By Biddle Duke                    TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/13/arts/dan
                        ce/baryshnikov-arts-center-live-            Baryshnikov Arts Center Plans Live Spring
2022-01-13   2022-01-17 performance.html                            Performances                               By Sadiba Hasan                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/13/busines A Throwback Idea Returns As Inflation Rears By Ben Casselman and Jeanna
2022-01-13   2022-01-17 s/economy/inflation-price-controls.html     Its Head                                   Smialek                          TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/13/movies/
2022-01-13   2022-01-17 disney-encanto-talk-about-bruno.html        Were Going to Talk About Bruno             By Ashley Spencer                TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/13/science Beatrice Mintz 100 Pioneering Cancer
2022-01-13   2022-01-17 /beatrice-mintz-dead.html                   Researcher                                 By Katharine Q Seelye            TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/13/technol
2022-01-13   2022-01-17 ogy/how-i-quit-prime-and-survived.html      How I Quit Prime and Survived              By Shira Ovide                   TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/14/busines Whats Next for Companies After the Supreme
2022-01-14   2022-01-17 s/business-vaccine-mandate.html             Courts Ruling                              By Lauren Hirsch                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/14/busines
2022-01-14   2022-01-17 s/middle-class-jobs-study.html              Requirement For Degrees Curbs Hiring       By Steve Lohr                    TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/14/crossw
2022-01-14   2022-01-17 ords/film-camera-crossword-clue.html        Certain Camera Three Letters SLR           By Alexis Benveniste             TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/14/fashion Here to Help Vanessa Friedman Answers
2022-01-14   2022-01-17 /winter-boots-sundance-coachella.html       Your Style Questions                       By Vanessa Friedman              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/14/sports/f Did an Illicit Championship Curse the
2022-01-14   2022-01-17 ootball/arizona-cardinals-curse-rams.html   Cardinals                                  By Gary Belsky                   TX 9-137-858    2022-03-01




                                                                               Page 3255 of 5793
                        https://www.nytimes.com/article/covid-      How to Find a Quality Covid Mask and Avoid
2022-01-14   2022-01-17 masks.html                                  Counterfeits                               By Tara ParkerPope            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/books/t Terry Teachout Cultural Critic Who Did Not
2022-01-15   2022-01-17 erry-teachout-dead.html                     Discriminate Dies at 65                    By Clay Risen                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/busines When It Comes to Living With Covid
2022-01-15   2022-01-17 s/dealbook/covid-policy-companies.html      Businesses Seem to Be on Their Own         By Lauren Hirsch              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/opinion
2022-01-15   2022-01-17 /bob-saget-comedy.html                      The Beauty of Filthy Comedy                By Penn Jillette              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/opinion
2022-01-15   2022-01-17 /boris-johnson-party-covid.html             Boris Johnson Has Survived Many Scandals By Sonia Purnell                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/sports/n Joe B Hall Who Coached Kentucky To Three
2022-01-15   2022-01-17 caabasketball/joe-b-hall-dead.html          Final Fours Is Dead at 93                  By Richard Goldstein          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/sports/t
2022-01-15   2022-01-17 ennis/capriati-hingis-australian-open.html  A comeback like no other                   By Cindy Shmerler             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/sports/t
2022-01-15   2022-01-17 ennis/mental-health-players.html            Placing a priority on mental fitness       By Cindy Shmerler             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/sports/t The strategy and importance of the service
2022-01-15   2022-01-17 ennis/service-toss-ball.html                toss                                       By Stuart Miller              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/us/polit Trump Rally Highlights GOP Split on How to
2022-01-15   2022-01-17 ics/trump-rally-republicans.html            Win in 2022                                By Jeremy W Peters            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/15/world/c Omicron Is Forcing CVS and Walgreens to
2022-01-15   2022-01-17 vs-walgreens-omicron.html                   Shut Some Stores Over the Weekend          By Amanda Holpuch             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/16/arts/dan
2022-01-16   2022-01-17 ce/japan-society-dance-festival-review.html Live Mostly and Not to Be Taken for Granted By Brian Seibert             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/arts/des
                        ign/arrivals-immigration-exhibition-
2022-01-16   2022-01-17 review.html                                 Newcomers From 1492 To 1619 and Beyond By Jillian Steinhauer             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/16/arts/des
2022-01-16   2022-01-17 ign/beverly-barkat-artist-israel-plastic.html Creating a More Durable World             By Isabel Kershner           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/arts/mu Dallas Frazier 82 Writer Of Hits for Country
2022-01-16   2022-01-17 sic/dallas-frazier-dead.html                  Stars                                     By Bill FriskicsWarren       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/arts/tele
2022-01-16   2022-01-17 vision/snl-ariana-debose-spider-man.html      A Spidey and Covid Link                   By Dave Itzkoff              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/books/r
                        eview-lords-of-easy-money-federal-reserve-
2022-01-16   2022-01-17 christopher-leonard.html                      Policy in the Guise Of a PageTurner       By Jennifer Szalai           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/busines
                        s/economy/china-supply-chain-covid-           China Lockdown Ramps Up Stress On Supply By Ana Swanson and Keith
2022-01-16   2022-01-17 lockdowns.html                                Chain                                     Bradsher                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/dining/ Restaurants Tested Anew As Workers Catch By Priya Krishna and Christina
2022-01-16   2022-01-17 nyc-restaurants-covid-guidance.html           Covid                                     Morales                      TX 9-137-858   2022-03-01




                                                                               Page 3256 of 5793
                                                                                                                By Kimiko de FreytasTamura
                        https://www.nytimes.com/2022/01/16/nyregio At Funeral in the Bronx Mourning for Those   Chelsia Rose Marcius and Tracey
2022-01-16   2022-01-17 n/bronx-fire-funeral.html                   Lost                                        Tully                            TX 9-137-858      2022-03-01
                        https://www.nytimes.com/2022/01/16/nyregio Inside Fatal Bronx Fire Scenes Of Chaos      By Corina Knoll and Chelsia Rose
2022-01-16   2022-01-17 n/bronx-fire-what-happened.html             Desperation and Love                        Marcius                          TX 9-137-858      2022-03-01
                        https://www.nytimes.com/2022/01/16/opinion
2022-01-16   2022-01-17 /biden-voting-rights.html                   How Did Democrats Let This Happen           By Reginald T Jackson               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/opinion While the US and Russia Talk Ukraine Has a
2022-01-16   2022-01-17 /ukraine-war.html                           Gun to Its Head                             By Alyona Getmanchuk                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/opinion
2022-01-16   2022-01-17 /voting-rights-failure.html                 Failure Looms On Defense of Voting Rights   By Charles M Blow                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/sports/f Bills Ease 20Year Sting With a 30Point
2022-01-16   2022-01-17 ootball/bills-patriots-score.html           Victory                                     By Ken Belson                       TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/16/sports/f Title Defense Begins With Effortless
2022-01-16   2022-01-17 ootball/eagles-buccaneers-score-playoffs.html Efficiency                                  By Alanis Thames                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/sports/f
2022-01-16   2022-01-17 ootball/nfl-playoffs-wild-card-scores.html    What We Learned This Week                   By Diante Lee                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/sports/ Out of Nowhere A Rising Scene For              By Madeleine Connors and Alicia
2022-01-16   2022-01-17 mexico-city-skateboarding.html                Skateboarders In Mexico City                Vera                              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/sports/s For Black Coaches Excellence Brings Limited
2022-01-16   2022-01-17 occer/fifa-best-pitso-mosimane.html           Rewards                                     By Rory Smith                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/sports/t
2022-01-16   2022-01-17 ennis/novak-djokovic-australian-open.html     Is Adversity Finally Set To Defeat Djokovic By Christopher Clarey             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/sports/t On Verge of History Nadal Is Modest About
2022-01-16   2022-01-17 ennis/rafael-nadal-australian-open.html       Chances but You Never Know                  By Ben Rothenberg                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/sports/t
                        ennis/who-is-playing-at-the-australian-       The Spotlight Is Now Shifting to Those Who
2022-01-16   2022-01-17 open.html                                     Are Not Named Djokovic                      By Ben Rothenberg                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/theater/ As Attendance Falls Now Is the Winter of
2022-01-16   2022-01-17 broadway-omicron-closings.html                Broadways Discontent                        By Michael Paulson                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/us/mar University Fires President Over Conduct With
2022-01-16   2022-01-17 k-schlissel-fired.html                        Employee                                    By Anemona Hartocollis            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/us/polit Microsoft Warns Ukraine Of Malware on
2022-01-16   2022-01-17 ics/microsoft-ukraine-cyberattack.html        Networks                                    By David E Sanger                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/us/sno Stay Put Urged as Storm Cripples South and
2022-01-16   2022-01-17 wstorm-updates-news.html                      Heads to Northeast                          By Eduardo Medina                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/world/a Ibrahim Boubacar Keita Ousted Malian
2022-01-16   2022-01-17 frica/ibrahim-boubacar-keita-dead.html        Leader 76                                   By Ruth Maclean                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/world/a Tsunami Claims 2 Lives in Peru World           By Natasha Frost Mitra Taj and
2022-01-16   2022-01-17 sia/tonga-tsunami-peru.html                   Awaits News From Tonga                      Eric Nagourney                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/world/a An Unstoppable Force in Tennis Meets an
2022-01-16   2022-01-17 ustralia/djokovic-deported.html               Immovable Object                            By Damien Cave                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/world/e Serbian Leader Takes Jab At Australia Over
2022-01-16   2022-01-17 urope/serbia-novak-djokovic.html              Djokovic Calling Expulsion Orwellian        By Marc Santora                   TX 9-137-858   2022-03-01



                                                                                 Page 3257 of 5793
                        https://www.nytimes.com/2022/01/16/world/ A Renegade Pop Music Genre Challenges the
2022-01-16   2022-01-17 middleeast/egypt-mahraganat-music.html     Old Guard                                 By Mona ElNaggar                    TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/16/world/ Lawyers Talk Of Plea Deal For Netanyahu To
2022-01-16   2022-01-17 middleeast/israel-netanyahu.html           Avoid Jail                                By Patrick Kingsley                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/16/nyregio
                        n/michelle-go-man-pushes-woman-            Woman Pushed Onto Tracks Never Saw Her By Tracey Tully and Ashley
2022-01-17   2022-01-17 subway.html                                Attacker                                  Southall                            TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/16/sports/f Dallas Going Big on Expectations Again Goes
2022-01-17   2022-01-17 ootball/cowboys-49ers-score-wild-card.html Home                                         By Ben Shpigel                   TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/16/us/mali Texas Synagogue Hostage Taker Flew From By Giulia Heyward Azi Paybarah
2022-01-17   2022-01-17 k-faisal-akram-texas-synagogue-hostage.html UK Authorities Say                            and Eileen Sullivan              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/us/polit DeSantis Lurks Trump Stews And GOP Faces By Jonathan Martin and Maggie
2022-01-17   2022-01-17 ics/trump-desantis.html                      Loyalty Test                                 Haberman                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/arts/tele
                        vision/shows-movies-michelle-obama-
2022-01-17   2022-01-17 billions.html                                This Week on TV                              By Jaevon Williams               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/health/c
2022-01-17   2022-01-17 dc-omicron-isolation-guidance.html           For CDC Fast Moves Scant Data                By Apoorva Mandavilli            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/us/bron Stories of Entwined Families In CloseKnit      By Karen Zraick Anne Barnard and
2022-01-17   2022-01-17 x-fire-victims.html                          Community                                    Lola Fadulu                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/world/e Eastern Europe Becomes Fertile Ground for
2022-01-17   2022-01-17 urope/serbia-media-censorship.html           New Forms of Censorship                      By Andrew Higgins                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/03/travel/n A Night in Nepal That Blends Spirituality and
2022-01-03   2022-01-18 epal-maha-shivaratri.html                    Spectacle                                    By Shelby Tauber                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/07/science
2022-01-07   2022-01-18 /fossils-australia-rainforest.html           In Australian Fossils a Rainforest Beckons   By Jack Tamisiea                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/science
2022-01-10   2022-01-18 /dolphins-clitoris-sex.html                  Maybe She Has Good Reason to Smile           By Sabrina Imbler                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/science
2022-01-10   2022-01-18 /european-royals-letterlocking.html          How the Royals Once Shared Their Secrets By William J Broad                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/well/mi
2022-01-11   2022-01-18 nd/melatonin-sleep-insomnia.html             Its Not a Sleeping Pill How to Use Melatonin By Amelia Nierenberg             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/well/m
2022-01-11   2022-01-18 ove/belly-fat-women.html                     Why Do Women Gain Belly Fat in Midlife       By Alice Callahan                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/at-
2022-01-12   2022-01-18 home/newsletter.html                         What Were Looking Forward to This Year       By Melissa Kirsch                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/health/a Alan Scott 89 Eye Doctor Behind Medical
2022-01-12   2022-01-18 lan-scott-dead.html                          Use of Botox                                 By Penelope Green                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/well/m
2022-01-12   2022-01-18 ove/exercise-anxiety.html                    Exercise Might Ward Off Anxiety              By Gretchen Reynolds             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/climate
2022-01-13   2022-01-18 /nasal-ranger-chuck-mcginley.html            Sometimes Life Stinks Enter the Nasal Ranger By Winston ChoiSchagrin          TX 9-137-858   2022-03-01




                                                                                Page 3258 of 5793
                        https://www.nytimes.com/2022/01/13/health/t
2022-01-13   2022-01-18 ransgender-teens-hormones.html              A Teen Trans Divide                           By Azeen Ghorayshi                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/science
2022-01-13   2022-01-18 /icefish-antarctica-eggs-colony.html        Deep in Frigid Waters Icefish Colonies Thrive By Sabrina Imbler                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/arts/mu                                                By Jon Pareles Isabelia Herrera and
2022-01-14   2022-01-18 sic/playlist-fka-twigs-maren-morris.html    Soothing Words Push Back Darkness             Lindsay Zoladz                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/movies/
2022-01-14   2022-01-18 erika-lust.html                             Erika Lusts Alternative Porn Vision           By Mary Katharine Tramontana        TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/14/movies/
2022-01-14   2022-01-18 five-international-movies-to-stream-now.html Out of Injustice A FeelGood Film             By Devika Girish                  TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/14/science
2022-01-14   2022-01-18 /ancient-horses-kungas-hybrid.html           A Status Symbol Before Thoroughbreds         By James Gorman                   TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/15/theater/ Paul Carter Harrison 85 Playwright Whose
2022-01-15   2022-01-18 paul-carter-harrison-dead.html               Ideas Shaped Black Theater                   By Clay Risen                     TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/16/obituari Charles McGee Tuskegee Airman Who
2022-01-16   2022-01-18 es/charles-e-mcgee-dead.html                 Shattered Myths Dies at 102                  By Robert D McFadden              TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/16/sports/r Advice From the Experts Dont Progress Too
2022-01-16   2022-01-18 unning-tips-advice.html                      Fast And Dont Eat Too Little                 By Talya Minsberg                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/16/arts/tele
                        vision/yellowjackets-finale-melanie-
2022-01-17   2022-01-18 lynskey.html                                 One Characters Cool During a Chilling Finale By Sarah Bahr                     TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/16/busines Chinas Slowing Economy Is an Ominous
2022-01-17   2022-01-18 s/economy/china-economy.html                 Bellwether                                   By Keith Bradsher                 TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/16/busines
                        s/the-chairman-of-credit-suisse-resigns-after- New Chairman Of Credit Suisse Stepping
2022-01-17   2022-01-18 an-inquiry-into-his-pandemic-conduct.html Down                                              By Lauren Hirsch                TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/17/arts/mu
2022-01-17   2022-01-18 sic/janis-ian-light-at-the-end-of-the-line.html Still a Voice for the Overlooked             By Jim Farber                  TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/17/arts/mu Ralph Emery 88 MC Hailed as Dick Clark Of
2022-01-17   2022-01-18 sic/ralph-emery-dead.html                       Country Music Dies                           By Bill FriskicsWarren         TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/17/books/r
                        eview-betrayal-anne-frank-investigation-
2022-01-17   2022-01-18 rosemary-sullivan.html                          Who Alerted The Gestapo                      By Alexandra Jacobs            TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/17/busines
2022-01-17   2022-01-18 s/airlines-5g-warning.html                      Airlines Say a 5G Push Could Disrupt Flights By Jack Ewing                  TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/17/busines
2022-01-17   2022-01-18 s/bbc-license-fee.html                          UK Minister Pulls Back on Threat to BBC      By Eshe Nelson                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/17/busines
2022-01-17   2022-01-18 s/brexit-food-imports.html                      Brexit Is Disrupting the Foodies of London   By Eshe Nelson                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/17/busines
2022-01-17   2022-01-18 s/classic-car-auctions-online.html              Point Click and Vroom                        By Robert C Yeager             TX 9-137-858     2022-03-01




                                                                                   Page 3259 of 5793
                        https://www.nytimes.com/2022/01/17/busines Rejected Thrice Unilever Again Attempts to
2022-01-17   2022-01-18 s/dealbook/unilever-glaxo-pfizer.html      Acquire Venture of Glaxo and Pfizer           By Michael J de la Merced           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/busines In a First Sales of Electric Vehicles Surpass
2022-01-17   2022-01-18 s/electric-vehicles-europe.html            Sales of Diesel Engines in Europe             By Jack Ewing                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/busines
2022-01-17   2022-01-18 s/scotland-north-sea-wind-farms.html       Oil Giants Vie To Lead Shift To Wind Energy By Stanley Reed                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/opinion
2022-01-17   2022-01-18 /biden-voting-rights-social-media.html      Its Been a Very Long Year for Biden          By Gail Collins and Bret Stephens   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/opinion
                        /confederate-monuments-tennessee-nathan- A Confederate Statue Is Gone Racism Is Still
2022-01-17   2022-01-18 forrest.html                               Here                                          By Margaret Renkl                   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/17/opinion Dont Let California Regulators Raise the Cost
2022-01-17   2022-01-18 /schwarzenegger-solar-power-california.html of Solar                                     By Arnold Schwarzenegger            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/sports/b
                        asketball/new-orleans-pelicans-josh-hart-   A FirstYear Coach Has the Pelicans Feeling
2022-01-17   2022-01-18 willie-green.html                           Positive                                     By Scott Cacciola                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/sports/d A Story of Covid Exile Told in NeverEnding
2022-01-17   2022-01-18 an-barry-basketball-covid.html              Arcs                                         By Dan Barry                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/sports/t A New Heir to the Tradition of Korda Success
2022-01-17   2022-01-18 ennis/sebastian-korda-australian-open.html  in Australia                                 By Ben Rothenberg                   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/17/theater/
2022-01-17   2022-01-18 art-of-theater-with-my-own-hands-ps21.html In the AvantGarde Barking Up the Right Tree By Jesse Green                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/theater/
2022-01-17   2022-01-18 lynn-nottage-clydes-mj-broadway.html        Time to Take A Breather Not a Chance       By Laura CollinsHughes                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/theater/
2022-01-17   2022-01-18 witness-review-arlekin-players.html         No Port in a Storm That Lingers Still      By Laura CollinsHughes                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/us/deau A Historic Miami Beach Hotel Falls Prey to
2022-01-17   2022-01-18 ville-hotel-miami-beach.html                Neglect and Time                           By Patricia Mazzei                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/us/polit Senate Democrats Press On With Debate in
2022-01-17   2022-01-18 ics/senate-voting-rights-bill.html          Face of United GOP Resistance              By Catie Edmondson                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/us/sunn Overrun by Crows a California Town Looks
2022-01-17   2022-01-18 yvale-california-crows-lasers.html          to Lasers                                  By Alyssa Lukpat                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/us/supr The Persistent Gender Gap in Who Argues
2022-01-17   2022-01-18 eme-court-gender-gap.html                   Before the Supreme Court                   By Adam Liptak                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/us/texa                                             By Ruth Graham Jacey Fortin and
2022-01-17   2022-01-18 s-synagogue-hostages-escape.html            Captives Made Daring Escape From Gunman Troy Closson                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/well/eat Break the Dieting Cycle With a Better
2022-01-17   2022-01-18 /intuitive-eating-diet-cycle.html           Approach                                   By Tara ParkerPope                    TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/17/well/mi
2022-01-17   2022-01-18 nd/dementia-alzheimers-younger-adults.html When Dementia Strikes at an Early Age     By Jane E Brody                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/world/a Worries in China That Population May Soon By Steven Lee Myers and
2022-01-17   2022-01-18 sia/china-births-demographic-crisis.html   Shrink                                    Alexandra Stevenson                     TX 9-137-858   2022-03-01



                                                                                 Page 3260 of 5793
                        https://www.nytimes.com/2022/01/17/world/a
                        sia/marcos-jr-philippines-presidential-    Petition Fails to Oust Marcos From Race in
2022-01-17   2022-01-18 election.html                              the Philippines                                By Jason Gutierrez              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/17/world/a North Korea Fires 2 Missiles In Its Fourth
2022-01-17   2022-01-18 sia/north-korea-ballistic-missiles.html    Test This Month                                By Choe SangHun                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/17/world/a Filipino Doctors Are Hopeful Despite a
2022-01-17   2022-01-18 sia/philippines-covid-surge-omicron.html   Record Virus Surge                             By SuiLee Wee and Camille Elemia TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/world/a We Feel So Helpless Volcanic Eruptions
2022-01-17   2022-01-18 sia/tonga-volcano.html                     Effect on Tonga Remains Unknown                By Natasha Frost                TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/17/world/e An Oligarchs Display of Power Underlined in
2022-01-17   2022-01-18 urope/bidzina-ivanishvili-georgia-trees.html Shades of Green                               By Ivan Nechepurenko           TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/17/world/e
                        urope/eric-zemmour-convicted-racial-         French FarRight Pundit Convicted for Inciting
2022-01-17   2022-01-18 hate.html                                    Hatred                                        By Aurelien Breeden            TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/17/world/e
                        urope/jodie-ginsberg-committee-to-protect- Fighter for Freedom of Expression Will Lead
2022-01-17   2022-01-18 journalists.html                             Press Protection Group                        By Catherine Porter            TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/17/world/e
                        urope/novak-djokovic-australian-open-        Djokovic Goes Back to Serbia Hailed as Hero
2022-01-17   2022-01-18 serbia.html                                  Treated Badly                                 By Marc Santora                TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/17/world/e Former President Returns to Ukraine
2022-01-17   2022-01-18 urope/petro-poroshenko-russia-ukraine.html Upending Internal Politics                     By Andrew E Kramer              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/17/world/e
                        urope/texas-synagogue-hostage-taker-        In Call During Standoff Brother in England
2022-01-17   2022-01-18 family.html                                 Tried To Pacify Hostage Taker                 By Megan Specia and Aina J Khan TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/17/world/e
                        urope/texas-synagogue-hostages-aafia-       Officials Study Attacks Link to an Islamist   By Zia urRehman and Michael
2022-01-17   2022-01-18 siddiqui.html                               Cause Clbre                                   Levenson                        TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/17/world/                                                 By Shuaib Almosawa Vivian Yee
2022-01-17   2022-01-18 middleeast/uae-attack-yemen-houthi.html     Houthi Militia Attacks UAE Hitting Tankers    and Isabella Kwai               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/17/nyregio Adamss Pledge of a Safe City Is Tested by a
2022-01-18   2022-01-18 n/eric-adams-crime-subway-shoving.html      Subway Killing                                By Katie Glueck                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/17/opinion
2022-01-18   2022-01-18 /new-york-city-wall-street-economy.html     Why a Blue City Is Feeling The Blues          By Paul Krugman                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/17/us/polit Marchers Pay Tribute to King With a Call to
2022-01-18   2022-01-18 ics/martin-luther-king-voting-rights.html   Protect Voting Rights                         By Chris Cameron                TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/17/us/polit Putin Thins Out Kyiv Embassy Alarming         By Michael Schwirtz and David E
2022-01-18   2022-01-18 ics/russia-ukraine-kyiv-embassy.html        Ukraine and the US                            Sanger                          TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/18/busines
2022-01-18   2022-01-18 s/economy/mexico-oil-refinery-texas.html    Mexicos SelfReliant Energy Plan               By Clifford Krauss              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/18/health/t
2022-01-18   2022-01-18 ransgender-adolescents-arkansas.html        State Laws Complicate Transitions             By Sabrina Imbler               TX 9-137-858    2022-03-01




                                                                                 Page 3261 of 5793
                        https://www.nytimes.com/2022/01/18/sports/f
2022-01-18   2022-01-18 ootball/nfl-playoff-ratings.html            Why Cant We Turn Away From the NFL        By Kurt Streeter               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/sports/t
2022-01-18   2022-01-18 ennis/naomi-osaka-australian-open.html      Osakas Back Is the Thrill Still Gone      By Matthew Futterman           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/10/sports/c Chris Dickerson 82 Top Bodybuilder Who
2022-01-10   2022-01-19 hris-dickerson-dead.html                    Also Overpowered Stereotypes              By Annabelle Williams          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/dining/
2022-01-13   2022-01-19 drinks/best-wines-under-20-dollars.html     Beckoning Bottles in the Dead of Winter   By Eric Asimov                 TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/13/dining/
2022-01-13   2022-01-19 drinks/lullaby-cocktail-bar-brother-cleve.html Boston Bar Legend Comes to New York    By Robert Simonson             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/briefing
                        /coronavirus-briefing-a-pandemic-burnout-
2022-01-14   2022-01-19 crisis.html                                    Inside the Health Care Worker Crisis   By Jonathan Wolfe              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/busines Howard Solomon 94 Whose Business Feats
2022-01-14   2022-01-19 s/howard-solomon-dead.html                     Were Personal Is Dead                  By Richard Sandomir            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/dining/f
2022-01-14   2022-01-19 arro-mushroom-gratin.html                      A Meal to Blunt The Winter Chill       By Melissa Clark               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/dining/
2022-01-14   2022-01-19 homemade-pizza-french-bread.html               A Shortcut to Easy Homemade Pizza      By Dawn Perry                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/obituari Andrew Vachss Childrens Advocate in Court
2022-01-16   2022-01-19 es/andrew-vachss-dead.html                     and Novels Dies at 79                  By Neil Genzlinger             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/nyregio Riders Flowing To the Subway Or Trickling By Michael Gold Ana Ley James
2022-01-17   2022-01-19 n/nyc-subway-ridership.html                    In                                     Thomas and Benjamin Norman     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/opinion
2022-01-17   2022-01-19 /wolves-endangered-yellowstone.html            A War on Wolves in the West            By Thomas McNamee              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/arts/des
                        ign/american-lgbtq-museum-garcia-
2022-01-18   2022-01-19 director.html                                  American LGBTQ Museum Names Director By Laura Zornosa                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/arts/des
                        ign/faith-ringgold-mural-rikers-brooklyn-
2022-01-18   2022-01-19 museum.html                                    Mural At Rikers Will Be Moved          By Zachary Small               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/arts/des
2022-01-18   2022-01-19 ign/nazis-antiquities-looted.html              The Hunt for Nazi Spoils               By Milton Esterow              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/arts/mu
2022-01-18   2022-01-19 sic/bach-piano-hamelin.html                    Keyboard Music by Bach No Not That One By David Allen                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/arts/mu
2022-01-18   2022-01-19 sic/gunna-the-weeknd-billboard-chart.html      Gunna Edges the Weeknd in a Close Race By Ben Sisario                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/arts/tele
2022-01-18   2022-01-19 vision/philippe-gaulier-clowns.html            A Big Reason For the Tears Of a Clown  By Jason Zinoman               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/18/books/a Theory on Anne Franks Betrayal Draws
2022-01-18   2022-01-19 nne-frank-betrayal-arnold-van-den-bergh.html Doubt                                    By Nina Siegal                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/books/r
2022-01-18   2022-01-19 eview-devil-house-john-darnielle.html        Who Commits the Truest Crimes Here       By Dwight Garner               TX 9-137-858   2022-03-01



                                                                               Page 3262 of 5793
                        https://www.nytimes.com/2022/01/18/busines                                             By Niraj Chokshi and David
2022-01-18   2022-01-19 s/att-verizon-5g-airlines.html             Airlines Obtain Limited Delay In 5G Upgrade McCabe                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/busines
2022-01-18   2022-01-19 s/building-apps-office-return.html         See a Meeting Room You Like Swipe Right By Julie Weed                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/busines
                        s/dealbook/web3-venture-capital-           Division on Crypto on View In Feud of Tech
2022-01-18   2022-01-19 andreessen.html                            Billionaires                                By Ephrat Livni               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/busines Exxon Sets Climate Goal Of Net Zero In 28
2022-01-18   2022-01-19 s/exxon-net-zero-emissions.html            Years                                       By Clifford Krauss            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/busines 7 at AV Club Lose Their Jobs After Refusing
2022-01-18   2022-01-19 s/media/av-club-job-cuts-los-angeles.html  To Relocate                                 By Katie Robertson            TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/18/busines
2022-01-18   2022-01-19 s/media/ny-post-discrimination-lawsuit.html Editor Fired By NY Post Files Lawsuit     By Katie Robertson             TX 9-137-858   2022-03-01
                                                                                                              By Karen Weise Andrew Ross
                        https://www.nytimes.com/2022/01/18/busines                                            Sorkin Kellen Browning and
2022-01-18   2022-01-19 s/microsoft-activision-blizzard.html        70 Billion Bet By Microsoft On Activision Michael J de la Merced         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/busines
2022-01-18   2022-01-19 s/new-york-commercial-real-estate.html      Transactions                               By Maia Coleman               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/dining/ Americas Next Great Restaurants Call the
2022-01-18   2022-01-19 best-restaurants-suburbs.html               Suburbs Home                               By Priya Krishna              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/dining/ To Serve Brad Leone Puts His Mark On the
2022-01-18   2022-01-19 brad-leone-olympia-provisions.html          Smoky Pork Roll                            By Florence Fabricant         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/dining/ To Donate A Coconut Cake That Grants
2022-01-18   2022-01-19 coconut-cake-make-a-wish.html               Wishes                                     By Florence Fabricant         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/dining/ To Brew Coffee Italian Style Found in East
2022-01-18   2022-01-19 coffee-east-harlem.html                     Harlem                                     By Florence Fabricant         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/dining/ To Visit SoHo Brewery Tour Includes the
2022-01-18   2022-01-19 drinks/torch-and-crown-brewery-tour.html    Neighborhood                               By Florence Fabricant         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/dining/f
2022-01-18   2022-01-19 olkways-wines-croton-falls.html             To Shop New Wine Shop Is a Destination     By Florence Fabricant         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/dining/i
2022-01-18   2022-01-19 ndoor-dining-covid.html                     Two Critics Two Views on Indoor Dining     By Pete Wells and Tejal Rao   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/dining/ To Learn Argentine Red Grape Is a Real Page
2022-01-18   2022-01-19 malbec-book.html                            Turner                                     By Florence Fabricant         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/dining/r
2022-01-18   2022-01-19 estaurant-review-lodi.html                  Is Lodi Too Good for Rockefeller Center    By Pete Wells                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/nyregio New Signal By de Blasio No on Bid For       By Emma G Fitzsimmons and
2022-01-18   2022-01-19 n/bill-de-blasio-governor.html              Governor                                   Ashley Wong                   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/18/nyregio How 1000 a Month Guaranteed Is Helping
2022-01-18   2022-01-19 n/guaranteed-income-nyc-bridge-project.html New York Mothers                          By Andy Newman                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/nyregio Hochul Raises Record 21 Million Making Her
2022-01-18   2022-01-19 n/kathy-hochul-fundraising.html             the Favorite                              By Nicholas Fandos             TX 9-137-858   2022-03-01




                                                                                Page 3263 of 5793
                        https://www.nytimes.com/2022/01/18/nyregio New York State Awash in Money Plans to        By Luis FerrSadurn and Grace
2022-01-18   2022-01-19 n/new-york-budget-hochul.html                Use It                                      Ashford                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/opinion Congress Can Either Trade Stocks or
2022-01-18   2022-01-19 /congress-trade-stocks.html                  Maintain Trust                              By Michelle Cottle              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/opinion Going to Services Should Not Require
2022-01-18   2022-01-19 /texas-colleyville-antisemitism.html         Courage                                     By Deborah E Lipstadt           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/sports/b
                        asketball/warriors-chamath-palihapitiya-     Warriors Disavow PartOwners Nobody Cares
2022-01-18   2022-01-19 uyghurs-nba.html                             Comment on Chinas Uyghurs                   By Daniel Victor                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/sports/b For Steelers Roethlisberger Time Is Harshest
2022-01-18   2022-01-19 en-roethlisberger-steelers-retire.html       Critic                                      By Jenny Vrentas                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/sports/f
                        ootball/cardinals-rams-score-monday-         Stafford and Beckham Get Playoff
2022-01-18   2022-01-19 night.html                                   Vindication                                 By Emmanuel Morgan              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/sports/l Nike Executive Seeks Forgiveness of Family
2022-01-18   2022-01-19 arry-miller-nike-book.html                   Of 65 Murder Victim                         By Jer Longman and Kevin Draper TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/sports/t
                        ennis/emma-raducanu-sloane-stephens-
2022-01-18   2022-01-19 australian-open.html                         After a Slump Raducanu Makes a Statement By Ben Rothenberg                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/sports/t How Norway Became the Moneyball of
2022-01-18   2022-01-19 riathlon-kristian-blummenfelt.html           Triathlon                                   By Adam Skolnick                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/technol Amazon Craves Electric Vans It May Be         By Karen Weise and Neal E
2022-01-18   2022-01-19 ogy/amazon-electric-vans.html                Hungry for a While                          Boudette                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/technol
2022-01-18   2022-01-19 ogy/china-olympics-app-security.html         Chinas App For Olympics Shows Flaws         By Paul Mozur and Cade Metz     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/technol
                        ogy/personaltech/metaverse-gaming-
2022-01-18   2022-01-19 definition.html                              Whats All the Hype About the Metaverse      By Brian X Chen                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/technol
                        ogy/regulators-aim-to-rewrite-rules-for-big-
2022-01-18   2022-01-19 mergers.html                                 Regulators to Rewrite Rules for Big Mergers By Cecilia Kang                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/theater/
2022-01-18   2022-01-19 kite-runner-broadway.html                    The Kite Runner Is Coming to Broadway       By Michael Paulson              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/us/polit Jan 6 Panel Subpoenas Giuliani And Team      By Luke Broadwater and Maggie
2022-01-18   2022-01-19 ics/jan-6-inquiry-subpoenas-giuliani.html    Over Election Claims                        Haberman                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/us/polit Blinken to Meet With Russia in Push for      By Michael Crowley and Anton
2022-01-18   2022-01-19 ics/russia-ukraine-blinken.html              Diplomatic Solution to Ukraine              Troianovski                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/us/polit Riot Inquiry Has Asked About Trump Filing
2022-01-18   2022-01-19 ics/trump-jan-6-riot.html                    Says                                        By Alan Feuer                   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/18/us/puer Judge Approves Deal to Resolve Puerto Ricos By Patricia Mazzei Frances Robles
2022-01-18   2022-01-19 to-rico-bankruptcy.html                    Bankruptcy by Restructuring Billions of Debt and Coral Murphy Marcos          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/us/supr Justices Seems Skeptical of Boston City Halls
2022-01-18   2022-01-19 eme-court-boston-flag-free-speech.html     Refusal to Fly Christian Flag                 By Adam Liptak                  TX 9-137-858   2022-03-01




                                                                               Page 3264 of 5793
                        https://www.nytimes.com/2022/01/18/world/a Sudans Security Forces Kill Seven Protesters
2022-01-18   2022-01-19 frica/sudan-violence-protesters-killed.html as US Diplomats Visit Nears                 By Abdi Latif Dahir           TX 9-137-858      2022-03-01
                        https://www.nytimes.com/2022/01/18/world/a
2022-01-18   2022-01-19 mericas/colombia-ingrid-betancourt.html     ExColombian Hostage Joins Presidential Race By Julie Turkewitz            TX 9-137-858      2022-03-01
                        https://www.nytimes.com/2022/01/18/world/a Afghanistan Likely to Find More Dead After By David Zucchino and Sharif
2022-01-18   2022-01-19 sia/afghanistan-earthquakes.html            Quakes                                      Hassan                        TX 9-137-858      2022-03-01
                        https://www.nytimes.com/2022/01/18/world/a Fears of Covid Exposure Complicate Aid to By Damien Cave Isabella Kwai and
2022-01-18   2022-01-19 ustralia/tonga-volcano-covid.html           Tonga                                       Eric Nagourney                TX 9-137-858      2022-03-01
                        https://www.nytimes.com/2022/01/18/world/e As Scandal Rocks Johnson Britons Speculate By Mark Landler and Stephen
2022-01-18   2022-01-19 urope/britain-boris-johnson-parties.html    on Who May Govern Next                      Castle                        TX 9-137-858      2022-03-01

                        https://www.nytimes.com/2022/01/18/world/e European Parliament Gaining Relevance
2022-01-18   2022-01-19 urope/eu-parliament-president-metsola.html Elects a New Leader From Malta           By Monika Pronczuk                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/18/world/e Roman Villa Has Gardens A Caravaggio And
2022-01-18   2022-01-19 urope/italy-villa-auction-caravaggio.html  No Bids                                  By Elisabetta Povoledo             TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/18/world/e
                        urope/kazakhstan-nursultan-nazarbayev-     ExPresident Addresses Crisis Jolting
2022-01-18   2022-01-19 video.html                                 Kazakhstan                               By Valerie Hopkins                 TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/18/world/e By Shifting Roles Can Draghi Continue to
2022-01-18   2022-01-19 urope/mario-draghi-prime-minister-italy.html Stabilize Italian Politics                  By Jason Horowitz             TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/18/world/e
                        urope/texas-synagogue-hostage-mi5-           Britain Had Investigated Man Who Took       By Megan Specia and Eileen
2022-01-18   2022-01-19 intelligence.html                            Hostages                                    Sullivan                      TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/18/busines Spears Alleging Financial Misconduct
2022-01-19   2022-01-19 s/britney-spears-father-fees.html            Disputes Fathers Fee Claim                  By Liz Day                    TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/18/opinion
2022-01-19   2022-01-19 /biden-failed-presidency.html                Biden Can Still Rescue His Presidency       By Bret Stephens              TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/18/opinion
2022-01-19   2022-01-19 /putin-ukraine.html                          Putin to Ukraine Marry Me or Ill Kill You   By Thomas L Friedman          TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/18/technol
2022-01-19   2022-01-19 ogy/video-games-activision-microsoft.html New Owner Is Welcomed By Gamers                By Erin Woo and Kellen Browning TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/us/fanta Three Officers Charged in Fatal Shooting of
2022-01-19   2022-01-19 bility-shooting-police-charged.html          Child Outside of High School Stadium        By Azi Paybarah                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/us/polit                                              By Sheryl Gay Stolberg and Lola
2022-01-19   2022-01-19 ics/government-website-covid-tests.html      US Launches Site to Get Free Covid Tests    Fadulu                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/us/polit Senate Opens Voting Rights Debate With
2022-01-19   2022-01-19 ics/senate-voting-rights-debate.html         Defeat Looming                              By Carl Hulse                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/world/a                                               By Amy Qin and Amy Chang
2022-01-19   2022-01-19 sia/taiwan-china-identity.html               We Are Taiwanese A Rising National Identity Chien                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/14/arts/tele
                        vision/john-bowman-comedy-writer-with-a- John Bowman 64 a Comedy Writer Who Had
2022-01-14   2022-01-20 knack-for-crossing-over-dies-at-64.html      a Knack for Crossing Over                   By Richard Sandomir             TX 9-137-858   2022-03-01




                                                                                 Page 3265 of 5793
                        https://www.nytimes.com/2022/01/18/arts/mu
2022-01-18   2022-01-20 sic/grammys-rescheduled-vegas.html             Grammys Move to April In Las Vegas          By Ben Sisario                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/arts/wei Daniel Radcliffe to Play Weird Al Yankovic
2022-01-18   2022-01-20 rd-al-movie-daniel-radcliffe.html              in New Biopic                               By Eduardo Medina               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/opinion
2022-01-18   2022-01-20 /democratic-party-latino-voters.html           To Win Democrats Need Latinos               By Geraldo L Cadava             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/sports/s A Quest for Sports Wagerings Holy Grail        By David W Chen and Gabriella
2022-01-18   2022-01-20 ports-betting-california.html                  California                                  AngottiJones                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/style/ky
2022-01-18   2022-01-20 le-maclachlan-prada.html                       Yet Another Peak For Kyle MacLachlan        By Anna P Kambhampaty           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/style/pr
                        ada-fall-show-jeff-goldblum-kyle-
2022-01-18   2022-01-20 maclachlan.html                                At Prada Its in With the Old                By Guy Trebay                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/style/thi
2022-01-18   2022-01-20 s-way-to-the-pandemic-exit.html                This Way to the Pandemic Exit               By Guy Trebay                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/arts/yve Yvette Mimieux Who Found Fame With The
2022-01-19   2022-01-20 tte-mimieux-dead.html                          Time Machine Dies at 80                     By Anita Gates                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/nyregio Despite Exit Cuomo Holds A 16 Million War
2022-01-19   2022-01-20 n/andrew-cuomo-money.html                      Chest                                       By Katie Glueck                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/theater/
2022-01-19   2022-01-20 this-beautiful-future-review.html              Love Glows in a Wars Shadow                 By Laura CollinsHughes          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/arts/dan
                        ce/raymonda-english-national-ballet-tamara-
2022-01-19   2022-01-20 rojo.html                                      A Vintage Ballet Dissolves Into Incoherence By Laura Cappelle               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/arts/des
                        ign/theodore-roosevelt-statue-natural-history- Removal of a Theodore Roosevelt Statue
2022-01-19   2022-01-20 museum.html                                    Begins                                      By Zachary Small                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/arts/mu As Touring Shut Down The Songs Poured
2022-01-19   2022-01-20 sic/aoife-odonovan-age-of-apathy.html          Out                                         By Jon Pareles                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/arts/tele
2022-01-19   2022-01-20 vision/jon-stewart-mark-twain-prize.html       Jon Stewart To Receive Twain Prize          By Sarah Bahr                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/books/r
2022-01-19   2022-01-20 eview-last-resort-andrew-lipstein.html         A Weasel of Fiction Steals Anothers Tale    By Molly Young                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/busines Flight Cancellations Decline After Cellular
2022-01-19   2022-01-20 s/5g-flight-cancellations.html                 Giants Relent                               By Niraj Chokshi                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/busines 5G vs an Aviation Device Invented in the
2022-01-19   2022-01-20 s/5g-radio-altimeters-airlines.html            1920s                                       By Stephen Gandel               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/busines Nonprofit Behind Public Radio Plans to Buy
2022-01-19   2022-01-20 s/chicago-public-media-sun-times.html          Chicago SunTimes                            By Katie Robertson              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/busines Rings Series Gets a Title For Its Debut On
2022-01-19   2022-01-20 s/media/amazon-lord-of-the-rings.html          Amazon                                      By John Koblin                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/busines Procter amp Gambles Sales Jump as
2022-01-19   2022-01-20 s/procter-gamble-2q-2021-earnings.html         Consumers Brush Off Rising Prices           By Coral Murphy Marcos          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/busines Starbucks Wont Require Vaccinations for
2022-01-19   2022-01-20 s/starbucks-vaccine-mandate.html               Workers                                     By Emma Goldberg                TX 9-137-858   2022-03-01



                                                                                 Page 3266 of 5793
                        https://www.nytimes.com/2022/01/19/climate Plan to Prevent Wildfires In West Will Cost
2022-01-19   2022-01-20 /biden-administration-wildfire-plan.html    Billions                                    By Alyssa Lukpat                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/climate Hotter Temperatures Lead To ER Visits for
2022-01-19   2022-01-20 /children-climate-change.html               Children                                    By Winston ChoiSchagrin          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/climate
                        /scientists-tonga-volcano-eruption-
2022-01-19   2022-01-20 effects.html                                What Scientists Know About the Eruption     By Henry Fountain                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/health/c Why Are Men More Likely to Die From
2022-01-19   2022-01-20 ovid-gender-deaths-men-women.html           Covid                                       By Azeen Ghorayshi               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/health/c Sifting Sewage for Clues About Future of    By Emily Anthes and Sabrina
2022-01-19   2022-01-20 ovid-omicron-wastewater-sewage.html         Covid                                       Imbler                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/health/s Americans Who Attempted Suicide Lacked
2022-01-19   2022-01-20 uicide-attempts-us.html                     Adequate Care Study Says                    By Ellen Barry                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/movies/ Gaspard Ulliel 37 French Actor Cast In
2022-01-19   2022-01-20 gaspard-ulliel-dead.html                    Marvels Moon Knight Miniseries              By Alex Marshall                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/movies/
2022-01-19   2022-01-20 jon-bernthal-king-richard.html              Even King Richard Needed Support            By Kyle Buchanan                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/nyregio Building Team of Allies Adams Says Has
2022-01-19   2022-01-20 n/eric-adams-appointments.html              Brought Scrutiny                            By Emma G Fitzsimmons            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/nyregio
2022-01-19   2022-01-20 n/ghislaine-maxwell-trial-juror.html        Maxwells Bid for a New Trial Faces a Hurdle By Benjamin Weiser               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/nyregio New York Prosecutors Say Theyre Confident
2022-01-19   2022-01-20 n/robert-durst-murders.html                 That Durst Killed Wife                      By Charles V Bagli               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/nyregio Teen Sentenced to 14 Years to Life in
2022-01-19   2022-01-20 n/tessa-majors-murder-teen-sentenced.html Students Murder                               By Precious Fondren              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/opinion Being Sick Changed My Views on Health
2022-01-19   2022-01-20 /lyme-disease-health-care.html              Care                                        By Ross Douthat                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/opinion After Omicron This Pandemic Will Be
2022-01-19   2022-01-20 /omicron-covid-surge.html                   Different                                   By William Hanage                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/opinion Prince Andrew Became a Liability for the
2022-01-19   2022-01-20 /prince-andrew-royal-family.html            Crown                                       By Tanya Gold                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/sports/g
2022-01-19   2022-01-20 olf/abu-dhabi-yas-links-course.html         An oasis in the desert                      By Michael Croley                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/sports/g
2022-01-19   2022-01-20 olf/collin-morikawa.html                    A young career full of firsts               By Paul Sullivan                 TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/19/sports/g
2022-01-19   2022-01-20 olf/hsbc-championship-players-to-watch.html Players to watch this week                    By Michael Arkush              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/sports/n
                        caafootball/michigan-abuse-settlement-robert- University of Michigan Will Pay 490 Million
2022-01-19   2022-01-20 anderson.html                                 to Settle Abuse Cases                       By Alan Blinder                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/sports/n Sizing Up the Second Half on the Local
2022-01-19   2022-01-20 ets-knicks-nba.html                           Courts                                      By Sopan Deb                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/style/an Andr Leon Talley Editor and Fashion Industry By Vanessa Friedman and Jacob
2022-01-19   2022-01-20 dre-leon-talley-dead.html                     Force Is Dead at 73                         Bernstein                      TX 9-137-858   2022-03-01



                                                                                Page 3267 of 5793
                        https://www.nytimes.com/2022/01/19/style/fl
2022-01-19   2022-01-20 orence-is-burning.html                      Drag Ball Culture Comes to Pitti Uomo       By Guy Trebay                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/style/fr
2022-01-19   2022-01-20 ancoise-gilot-it-girl.html                  The Art of Living Boldly                    By Ruth La Ferla                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/technol
2022-01-19   2022-01-20 ogy/facebook-moderation-mistakes.html       How Facebooks Little Mistakes Can Add Up    By Shira Ovide                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/technol Microsoft Eyes Activision In Quest to Rule
2022-01-19   2022-01-20 ogy/microsoft-activision-games.html         Gaming                                      By Kellen Browning                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/technol
2022-01-19   2022-01-20 ogy/tech-startup-funding.html               The Relentless Fever For Tech StartUps      By Erin Griffith                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/theater/ Broadway Theaters May Get More Financial
2022-01-19   2022-01-20 broadway-hochul-tax-credit.html             Relief                                    By Michael Paulson              TX 9-137-858         2022-03-01
                                                                                                              By Charlie Savage Eric Schmitt
                        https://www.nytimes.com/2022/01/19/us/polit                                           Azmat Khan Evan Hill and
2022-01-19   2022-01-20 ics/afghanistan-drone-strike-video.html     New Footage Shows the Risk Of Drone War Christoph Koettl                  TX 9-137-858         2022-03-01
                        https://www.nytimes.com/2022/01/19/us/polit Biden Scales Back Policy Plans And Blames
2022-01-19   2022-01-20 ics/biden-press-conference.html             GOP Obstruction                           By Michael D Shear              TX 9-137-858         2022-03-01
                        https://www.nytimes.com/2022/01/19/us/polit Ahead of Talks Blinken Pushes Back on     By Michael Crowley and Andrew E
2022-01-19   2022-01-20 ics/blinken-us-russia-ukraine.html          Kremlin Demand                            Kramer                          TX 9-137-858         2022-03-01

                        https://www.nytimes.com/2022/01/19/us/polit
2022-01-19   2022-01-20 ics/democrats-filibuster-sinema-manchin.html Democrats Rebuke Manchin and Sinema         By Jonathan Weisman                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/us/polit Justices Dispute Reports Of Conflicts Over
2022-01-19   2022-01-20 ics/supreme-court-masks.html                 Masks                                       By Adam Liptak                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/us/polit Justices Rebuff Trumps Request On Jan 6
2022-01-19   2022-01-20 ics/trump-supreme-court-jan-6.html           Records                                     By Adam Liptak                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/us/supr Justices Seem Set to Back Cruz in Campaign
2022-01-19   2022-01-20 eme-court-ted-cruz-campaign-finance.html     Finance Case                                By Adam Liptak                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/us/texa Basically Mall Cops Soldiers Describe
2022-01-19   2022-01-20 s-national-guard-greg-abbott.html            Mission at Texas Border                     By J David Goodman                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/world/a
                        mericas/peru-christopher-acosta-cesar-       Using Perus Courts Like Whips To Intimidate
2022-01-19   2022-01-20 acuna.html                                   and Punish the Press                        By Julie Turkewitz and Mitra Taj   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/world/a Severed Undersea Cable Leaves Tonga in
2022-01-19   2022-01-20 ustralia/tonga-volcano-internet-cable.html   Digital Darkness                            By Natasha Frost and James Glanz   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/world/e
                        urope/berlusconi-italy-president-mario-      His Rsum Checkered Berlusconi Eyes Italys
2022-01-19   2022-01-20 draghi.html                                  Presidency for Comeback                     By Jason Horowitz                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/world/e
                        urope/covid-netherlands-theaters-            Defying Dutch Lockdown With Scissors and
2022-01-19   2022-01-20 hairdressers.html                            a Baton                                     By Claire Moses                    TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/19/world/e Guilty Verdict Over Deaths Of Migrants
2022-01-19   2022-01-20 urope/essex-lorry-deaths-verdict-belgium.html Found in UK                               By Monika Pronczuk                  TX 9-137-858   2022-03-01




                                                                                Page 3268 of 5793
                        https://www.nytimes.com/2022/01/19/world/e Syrian Doctor Accused of Torturing Assads
2022-01-19   2022-01-20 urope/germany-syria-war-crimes-mousa.html Opponents Faces Trial in Germany               By Isabella Kwai                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/world/e Russia and Iran Put On Show of Unity Aimed By Anton Troianovski Farnaz
2022-01-19   2022-01-20 urope/russia-iran-unity-us.html              at One Rival The US                         Fassihi and Steven Erlanger        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/world/e Despite Surge Spain and Tourists Are Happy
2022-01-19   2022-01-20 urope/spain-covid-canary-islands.html        to See One Another                          By Nicholas Casey and Jos Bautista TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/world/e Court Rejects Bid to Arrest ExPresident Of
2022-01-19   2022-01-20 urope/ukraine-poroshenko-zelensky.html       Ukraine                                     By Andrew E Kramer                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/world/u Johnson Facing Mutiny Eases Virus             By Mark Landler and Stephen
2022-01-19   2022-01-20 k-johnson-covid-rules.html                   Restrictions                                Castle                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/interactive/2022/01/ Mapping a First Look at Tongas Devastation By Scott Reinhard and Jugal K
2022-01-19   2022-01-20 18/world/australia/tonga-map.html            After the Volcano Eruption                  Patel                              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/health/ Government to Provide 400 Million N95
2022-01-20   2022-01-20 biden-free-n95-masks.html                    Masks                                       By Sheryl Gay Stolberg             TX 9-137-858   2022-03-01
                                                                                                                 By Jonah E Bromwich Ben Protess
                        https://www.nytimes.com/2022/01/19/nyregio In Inquiry Into Trump Organization Key        William K Rashbaum and Matthew
2022-01-20   2022-01-20 n/trump-investigation-letitia-james.html     Question Is Hyperbole vs Fraud              Haag                               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/us/polit
2022-01-20   2022-01-20 ics/biden-putin-russia-ukraine.html          Biden Expects Putin to Order Ukraine Attack By David E Sanger                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/us/polit
                        ics/jan-6-committee-subpoena-white-          House Jan 6 Committee Subpoenas 2 in White By Luke Broadwater and Alan
2022-01-20   2022-01-20 nationalists.html                            Nationalist Movement                        Feuer                              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/us/polit After Fiery Debate Voting Bill Dies in the
2022-01-20   2022-01-20 ics/senate-voting-rights-filibuster.html     Senate                                      By Carl Hulse                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/insider/
2022-01-20   2022-01-20 the-times-bursts-visual-storytelling.html    To Continue Reading Swipe Left              By Callie Holtermann               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/sports/t Spains Next Big Hope Looks Ready to          By Christopher Clarey and Samuel
2022-01-20   2022-01-20 ennis/carlos-alcaraz-australian-open.html    Continue His Rise                           Aranda                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/style/be
                        verages-with-benefits-do-they-really-        Experts Pop Bubbles in Beverages With
2022-01-20   2022-01-20 work.html                                    Benefits                                    By Rachel Strugatz                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/style/m
2022-01-20   2022-01-20 etaverse-fashion.html                        A Time for Playing DressUp in the Metaverse By Vanessa Friedman                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/books/s Steve Jenkins 69 Dies His Childrens Books
2022-01-16   2022-01-21 teve-jenkins-dead.html                       Brought Science to Life                     By Penelope Green                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/movies/
2022-01-18   2022-01-21 nocturna-review.html                         A Dark Night of the Soul and Memory         By Jeannette Catsoulis             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/19/arts/des
2022-01-19   2022-01-21 ign/arne-glimcher-tribeca-gallery-pace.html Theres No Golf In His Future                By Ted Loos                       TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/19/movies/
2022-01-19   2022-01-21 definition-please-review.html               Definition Please                           By Lisa Kennedy                   TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/19/movies/
2022-01-19   2022-01-21 olive-trees-of-justice-metrograph.html      An Outcasts Story Told by an Outsider       By J Hoberman                     TX 9-137-858     2022-03-01



                                                                                Page 3269 of 5793
                        https://www.nytimes.com/2022/01/19/opinion
2022-01-19   2022-01-21 /5g-airports-cellular.html                   The 5G Mess Was Avoidable                   By Peter Coy                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/19/opinion
2022-01-19   2022-01-21 /filibuster-senate.html                      Imagine the Senate Without the Filibuster   By Molly E Reynolds          TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/19/sports/f Marshawn Lynch Mentor Teaching Players
2022-01-19   2022-01-21 ootball/marshawn-lynch-nfl.html              How to Brand Like a Beast                   By Julian Kimble             TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/19/your- Everyone Is QuittingHeres the Right Way to
2022-01-19   2022-01-21 money/quitting-your-job-guide.html           Do It                                       By Tara Siegel Bernard       TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/19/opinion
2022-01-20   2022-01-21 /black-voters.html                           For Black Voters a Flashback to the 1890s   By Charles M Blow            TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/arts/des
2022-01-20   2022-01-21 ign/drawing-center-art-galleries-shear.html  On Paper a Cure For the January Blahs       By Roberta Smith             TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/arts/des
                        ign/stettheimer-dollhouse-museum-city-new-
2022-01-20   2022-01-21 york.html                                    A Doll House You Could Call Home            By Will Heinrich             TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/arts/mu Fred Parris 85 Five Satins Frontman Who
2022-01-20   2022-01-21 sic/fred-parris-dead.html                    Created a Classic DooWop Song               By Neil Genzlinger           TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/arts/mu
2022-01-20   2022-01-21 sic/juilliard-american-music-focus.html      If a Truly American Sound Had a Playlist    By Zachary Woolfe            TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/arts/mu
                        sic/tanglewood-boston-symphony-
2022-01-20   2022-01-21 orchestra.html                               Tanglewoods Plans Include Vocalists Again   By Zachary Woolfe            TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/arts/tele
2022-01-20   2022-01-21 vision/fraggle-rock-apple-tv-plus.html       This Weekend I Have                         By Margaret Lyons            TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/arts/tele Living a Normal Kind of Life Can Take
2022-01-20   2022-01-21 vision/review-as-we-see-it.html              Extraordinary Effort                        By James Poniewozik          TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/busines American Airlines Lost 931 Million in Last
2022-01-20   2022-01-21 s/american-airlines-earnings-4q-2021.html    Quarter                                     By Niraj Chokshi             TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/busines Australia Gives Up On Supply Chain Fix
2022-01-20   2022-01-21 s/australia-juvenile-forklift-drivers.html   Child Forklift Drivers                      By Yan Zhuang                TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/busines
2022-01-20   2022-01-21 s/fed-digital-currency.html                  Fed Opens Debate on Digital Currency        By Jeanna Smialek            TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/20/busines                                             By Daisuke Wakabayashi and Cade
2022-01-20   2022-01-21 s/google-deepmind-mustafa-suleyman.html AI Pioneer at DeepMind Quitting Google         Metz                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/busines
2022-01-20   2022-01-21 s/mazda-miatas-driving.html                The Little Roadster That Leaves a Smile     By Jim Motavalli                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/busines Star Reporter Leaves Paper For TV Role At
2022-01-20   2022-01-21 s/media/robert-costa-cbs.html              CBS News                                    By Michael M Grynbaum           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/busines
                        s/media/sean-hannity-donald-trump-january- Hannity Urged Trump to Stop Talk of Voter
2022-01-20   2022-01-21 6.html                                     Fraud                                       By Michael M Grynbaum           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/busines Netflix Adds Subscribers but Expects Growth
2022-01-20   2022-01-21 s/netflix-quarterly-earnings.html          to Slow                                     By Nicole Sperling              TX 9-137-858   2022-03-01




                                                                                Page 3270 of 5793
                                                                                                             By Matthew Goldstein Kate Kelly
                        https://www.nytimes.com/2022/01/20/busines                                           Kenneth P Vogel and Maureen
2022-01-20   2022-01-21 s/trump-media-investors.html                Trump Deal Was Panned by Big Investors   Farrell                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/climate Some Democrats Work to Rescue Bidens      By Coral Davenport and Lisa
2022-01-20   2022-01-21 /build-back-better-climate-change.html      ClimateChange Policies                   Friedman                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/health/t In Huge Breakthrough Pig Kidneys Are
2022-01-20   2022-01-21 ransplants-pig-human-kidney.html            Placed In BrainDead Patient              By Roni Caryn Rabin             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/movies/
2022-01-20   2022-01-21 a-shot-through-the-wall-review.html         A Shot Through The Wall                  By Beatrice Loayza              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/movies/
2022-01-20   2022-01-21 donkeyhead-review.html                      Donkeyhead                               By Beatrice Loayza              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/movies/ Hardy Kruger 93 Who Found Ways to Portray
2022-01-20   2022-01-21 hardy-kruger-dead.html                      the Good German Dies                     By Stephen Kinzer               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/movies/
2022-01-20   2022-01-21 introduction-review-hong-sangsoo.html       One Man Touches Many Lives               By AO Scott                     TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/20/movies/
2022-01-20   2022-01-21 lunana-a-yak-in-the-classroom-review.html A More Literal Take On Remote Learning      By Nicolas Rapold              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/movies/
2022-01-20   2022-01-21 munich-the-edge-of-war-review.html         Peace for Our Time Well Maybe Not          By Manohla Dargis              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/movies/
2022-01-20   2022-01-21 simple-passion-review.html                 Simple Passion                             By Glenn Kenny                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/movies/
2022-01-20   2022-01-21 the-kings-daughter-review.html             The Kings Daughter                         By Natalia Winkelman           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/movies/
2022-01-20   2022-01-21 the-last-thing-mary-saw-review.html        The Last Thing Mary Saw                    By Lena Wilson                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/movies/
2022-01-20   2022-01-21 the-royal-treatment-review.html            The Royal Treatment                        By Amy Nicholson               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/movies/
2022-01-20   2022-01-21 the-tiger-rising-review.html               The Tiger Rising                           By Teo Bugbee                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/nyregio
                        n/alvin-bragg-prosecutions-resisting-       Manhattan DAs Shift In ResistingArrest    By Jonah E Bromwich and Troy
2022-01-20   2022-01-21 arrest.html                                Policy Would Affect Few Cases              Closson                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/nyregio Mayor a Booster of Cryptocurrency Has His By Dana Rubinstein Jonah E
2022-01-20   2022-01-21 n/eric-adams-bitcoin-cryptocurrency.html   First Paycheck Converted to Bitcoin        Bromwich and Jeffery C Mays    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/nyregio Adams Urges US Cities To Be Radically
2022-01-20   2022-01-21 n/eric-adams-washington-speech.html        Practical                                  By Emma G Fitzsimmons          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/nyregio Special Interests Helped Hochuls Campaign
2022-01-20   2022-01-21 n/hochul-fund-raising-donors.html          Coffers Swell Quickly                      By Nicholas Fandos             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/nyregio
                        n/hochul-interborough-express-brooklyn-    Hochul Promises Transit Connection Between
2022-01-20   2022-01-21 queens-transit.html                        Brooklyn and Queens                        By Michael Gold                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/nyregio
2022-01-20   2022-01-21 n/ryanair-belarus.html                     Belarus Officials Accused in US of Piracy  By Benjamin Weiser             TX 9-137-858   2022-03-01




                                                                              Page 3271 of 5793
                        https://www.nytimes.com/2022/01/20/opinion
2022-01-20   2022-01-21 /covid-variant-omicron.html                 There Will Be Another Variant              By John Nkengasong             TX 9-137-858       2022-03-01
                        https://www.nytimes.com/2022/01/20/science
2022-01-20   2022-01-21 /gang-chen-mit-china-initiative.html        MIT Professor Wont Be Tried In China Case By Ellen Barry and Katie Benner TX 9-137-858       2022-03-01
                        https://www.nytimes.com/2022/01/20/sports/b FreeWheeling Ball Has Hornets Rolling
2022-01-20   2022-01-21 asketball/lamelo-ball-hornets.html          Toward the Playoffs                        By Scott Cacciola              TX 9-137-858       2022-03-01
                        https://www.nytimes.com/2022/01/20/sports/t
                        ennis/australian-open-sabalenka-kontaveit-  No 2 Sabalenka Rallies to Survive A Day of
2022-01-20   2022-01-21 muguruza.html                               Upsets                                     By Christopher Clarey          TX 9-137-858       2022-03-01
                        https://www.nytimes.com/2022/01/20/technol                                             By Cecilia Kang and David
2022-01-20   2022-01-21 ogy/big-tech-senate-bill.html               A Narrowing Window to Rein In Big Tech     McCabe                         TX 9-137-858       2022-03-01
                        https://www.nytimes.com/2022/01/20/theater/
2022-01-20   2022-01-21 taylor-mac-the-hang.html                    A Wilder Socrates No Question              By Jennifer Schuessler         TX 9-137-858       2022-03-01
                        https://www.nytimes.com/2022/01/20/us/airst Syrian Dam on NoStrike List Was Bombed by By Dave Philipps Azmat Khan and
2022-01-20   2022-01-21 rike-us-isis-dam.html                       the US Anyway                              Eric Schmitt                   TX 9-137-858       2022-03-01
                        https://www.nytimes.com/2022/01/20/us/fbi- Temple Attack Was Antisemitic Terrorism
2022-01-20   2022-01-21 texas-synagogue-antisemitism.html           FBI Says                                   By Ruth Graham                 TX 9-137-858       2022-03-01

                        https://www.nytimes.com/2022/01/20/us/polit
2022-01-20   2022-01-21 ics/democrats-biden-civilian-casualties.html Democrats Fault Policies On Drone Use      By Catie Edmondson               TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/20/us/polit
2022-01-20   2022-01-21 ics/georgia-trump-election-investigation.html DA in Atlanta Raising Stakes Against Trump By Maggie Astor and Danny Hakim TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/us/polit Foreign Power Not Seen by CIA as Cause of
2022-01-20   2022-01-21 ics/havana-syndrome-cia-report.html           Havana Syndrome                             By Julian E Barnes             TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/us/polit Jan 6 Panel Contacts Ivanka Trump in Effort
2022-01-20   2022-01-21 ics/jan-6-committee-ivanka-trump.html         To Trace Fathers Actions                    By Luke Broadwater             TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/us/polit A Negotiator Confronts the Reality of Capitol By Michael D Shear Zolan
2022-01-20   2022-01-21 ics/president-biden-senate-house.html         Hill Gridlock                               KannoYoungs and Katie Rogers   TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/us/polit Court Refuses To Intervene In Challenge On
2022-01-20   2022-01-21 ics/texas-abortion-law-supreme-court.html     Abortion                                    By Adam Liptak                 TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/20/world/a                                              By Ruth Maclean Philip Nii Lartey
2022-01-20   2022-01-21 frica/ghana-explosion-mining-truck.html    Truck Blast Devastates Ghana Town            Elian Peltier and Joseph Quayson TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/world/a                                              By Ruth Maclean and Daniel
2022-01-20   2022-01-21 frica/stampede-liberia.html                Dozens Die in a Church Stampede in Liberia   Nyakonah                          TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/20/world/a
2022-01-20   2022-01-21 mericas/haiti-president-murder-suspect.html US Charges Man in Haitian Assassination   By Anatoly Kurmanaev               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/world/a
                        mericas/united-nations-holocaust-           UN Adopts a Resolution That Condemns
2022-01-20   2022-01-21 resolution.html                             Denial of the Holocaust                   By Rick Gladstone                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/20/world/a Rice Wine Rich in Tradition Finds New Life
2022-01-20   2022-01-21 sia/south-korea-makgeolli-rice-wine.html    in South Koreas Lockdown                  By Chang W Lee and Mike Ives       TX 9-137-858    2022-03-01




                                                                                Page 3272 of 5793
                        https://www.nytimes.com/2022/01/20/world/a Ash From Volcanic Eruption Covers Tonga
2022-01-20   2022-01-21 sia/tonga-eruption-ash.html                and Taints Its Water Supply                  By Mike Ives and Eric Nagourney TX 9-137-858      2022-03-01

                        https://www.nytimes.com/2022/01/20/world/e Benedicts Handling Of Claims of Abuse In       By Jason Horowitz Elisabetta
2022-01-20   2022-01-21 urope/benedict-germany-sexual-abuse.html Germany Is Faulted                               Povoledo and Gaia Pianigiani     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/world/e
2022-01-20   2022-01-21 urope/ireland-ashling-murphy-murder.html       Ireland Outraged by Teachers Murder        By Ed OLoughlin                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/world/e
                        urope/lake-wannsee-conference-final-solution- Chilling Reminders of Nazi Blueprint for
2022-01-20   2022-01-21 holocaust.html                                 Murder                                     By Katrin Bennhold               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/world/e Biden Toughens Stance on Russia in Ukraine By Michael Crowley and Steven
2022-01-20   2022-01-21 urope/ukraine-biden-eu.html                    Crisis                                     Erlanger                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/world/e
2022-01-20   2022-01-21 urope/zara-rutherford-plane-pilot.html         Around the World in 155 Days at Age 19     By Mike Ives                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/world/
                        middleeast/palestinian-american-detain-israel- Stir Over Palestinian Americans Death in
2022-01-20   2022-01-21 dead.html                                      Israeli Custody                            By Raja Abdulrahim               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/live/2022/01/20/bus
                        iness/stock-market-economy-news/wall-street-
                        rebounds-from-back-to-back-losses-after-
2022-01-20   2022-01-21 nasdaq-hits-correction-territory               Markets Extend Decline After Rally Fades   By Coral Murphy Marcos           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/opinion
2022-01-21   2022-01-21 /coronavirus-biden.html                        Biden Versus The Friends Of Covid          By Paul Krugman                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/sports/n
                        caafootball/ncaa-constitution-transgender-     NCAA Replaces Its Constitution but Not Its
2022-01-21   2022-01-21 athletes.html                                  Rule Book                                  By Billy Witz                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/us/polit
2022-01-21   2022-01-21 ics/democrats-voting-rights.html               Proud to Pick a Fight That Couldnt Be Won By Carl Hulse                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/us/polit Debate Over Which Parts To Salvage in
2022-01-21   2022-01-21 ics/manchin-democrats.html                     Bidens Bill                                By Emily Cochrane                TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/20/us/polit                                                By Jonathan Weisman and Annie
2022-01-21   2022-01-21 ics/voting-rights-cory-booker-tim-scott.html 3 Senators Held Stage In Voting Rights Battle Karni                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/us/voti Republicans Make Plans for StateLevel Police
2022-01-21   2022-01-21 ng-rights-election-police.html               Dedicated to Election Fraud                   By Michael Wines                TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/21/insider/
                        the-case-for-writing-longhand-its-about-trying
2022-01-21   2022-01-21 to-create-that-little-space-of-freedom.html    The Case for Writing Longhand            By Sarah Bahr                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/us/polit Unlike Roosevelt Biden Shifts Focus From
2022-01-21   2022-01-21 ics/biden-agenda-fdr-lbj.html                  Crisis To Goals of His Party             By Nate Cohn                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/books/a Ali Mitgutsch 86 Whose Illustrations
2022-01-18   2022-01-22 li-mitgutsch-dead.html                         Entertained Children for Generations     By Christopher F Schuetze          TX 9-137-858   2022-03-01




                                                                                Page 3273 of 5793
                        https://www.nytimes.com/2022/01/19/arts/des
2022-01-19   2022-01-22 ign/artifacts-trafficking-manhattan-iraq.html Prosecutors Return 2 Artifacts To Iraq       By Tom Mashberg                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/arts/des Ricardo Bofill Architect of Startling and
2022-01-19   2022-01-22 ign/ricardo-bofill-dead.html                  Otherworldly Buildings Dies at 82            By Fred A Bernstein               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/opinion
2022-01-19   2022-01-22 /children-covid-pandemic.html                 Kids Sense Of Dread Is Normal                By Jessica Grose                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/us/sara- Sara McLanahan 81 Who Studied Single
2022-01-19   2022-01-22 mclanahan-dead.html                           Motherhood and Its Outcomes                  By Annabelle Williams             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/arts/dan
                        ce/north-carolina-school-of-the-arts-
2022-01-20   2022-01-22 lawsuit.html                                  Tales of Abuse At Arts School Fill a Lawsuit By Matt Stevens                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/arts/mu
                        sic/rampd-disability-culture-music-           Theyre Amplifying Disability Culture in
2022-01-20   2022-01-22 industry.html                                 Music                                        By Laura Zornosa                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/busines German Union Voices Concerns About Tesla
2022-01-20   2022-01-22 s/tesla-germany-union.html                    Plant                                        By Melissa Eddy                   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/20/movies/
2022-01-20   2022-01-22 sundance-abortion-films-jane-collective.html Women Helping Women Get Abortions            By Nicole Sperling                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/opinion                                                By Jonathan Rauch and Peter
2022-01-20   2022-01-22 /illiberalism-left-right.html                Illiberalism Is a Danger to Us All           Wehner                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/science Pristine Coral Reef Resembling Bed of Roses
2022-01-20   2022-01-22 /tahiti-coral-reef.html                      Is Found Off the Coast of Tahiti             By Neil Vigdor                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/sports/f Games in the Divisional Round Look Almost
2022-01-20   2022-01-22 ootball/nfl-divisional-round-picks.html      Too Close to Call                            By Emmanuel Morgan                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/upshot/
2022-01-20   2022-01-22 home-prices-surging.html                     No Relief in Sight for Soaring House Prices By Emily Badger                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/world/a Lifting Senegal From Scourge Of Plastic        By Mady Camara and Ruth
2022-01-20   2022-01-22 frica/modou-fall-senegal.html                Bags                                         Maclean                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/interactive/2022/01/ How Oath Keepers Are Accused of Plotting to
2022-01-20   2022-01-22 19/us/oath-keepers-capitol-riot.html         Storm the Capitol                            By Denise Lu and Eleanor Lutz      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/nyregio
                        n/norwalk-official-landlord-tenant-          City Official in Connecticut Is Charged With
2022-01-21   2022-01-22 murder.html                                  Murder                                       By Ed Shanahan                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/theater/
2022-01-21   2022-01-22 review-whisper-house.html                    They May Be Dead but They Still Can Sing By Alexis Soloski                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/arts/des
                        ign/samara-golden-night-gallery-
2022-01-21   2022-01-22 sculpture.html                               Inner Turmoil On Full View In the Mirror     By Jori Finkel                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/arts/mu Meat Loaf Whose Operatic Hits Became           By Alex Marshall Ben Sisario and
2022-01-21   2022-01-22 sic/meat-loaf-dead-marvin-lee-aday.html      Singalongs Dies at 74                        Derrick Bryson Taylor              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/arts/mu
                        sic/renee-fleming-uma-thurman-
2022-01-21   2022-01-22 penelope.html                                It Takes Two To Tackle This Big Role         By Joshua Barone                   TX 9-137-858   2022-03-01



                                                                                 Page 3274 of 5793
                        https://www.nytimes.com/2022/01/21/arts/tele Another Show Turns Heart Attack And
2022-01-21   2022-01-22 vision/billions-peloton-premiere.html        Peloton Ride Into a Plot Point            By Julia Jacobs                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/arts/tele Louie Anderson Genial StandUp Comic Actor
2022-01-21   2022-01-22 vision/louie-anderson-dead.html              and TV Host Is Dead at 68                 By Neil Genzlinger              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/busines An Activision Studio Group Says It Will
2022-01-21   2022-01-22 s/activision-union.html                      Form a Union                              By Kellen Browning              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/busines US Suspends 44 Flights Operated by Chinese
2022-01-21   2022-01-22 s/biden-china-airlines-coronavirus.html      Carriers                                  By Niraj Chokshi                TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/21/busines Wall Street Faces Reality As Fed Acts To Pull
2022-01-21   2022-01-22 s/economy/stock-markets-down-inflation.html Back                                         By Jeff Sommer                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/busines Taking Lockdown Cue From China Hong
2022-01-21   2022-01-22 s/hong-kong-covid-supply-chain.html         Kong Becomes Equally Cut Off                 By Alexandra Stevenson        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/busines
2022-01-21   2022-01-22 s/total-chevron-myanmar.html                Oil Giants to Leave Myanmar Gas Field        By Stanley Reed               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/climate After Reset on Climate Envoy Will Step
2022-01-21   2022-01-22 /jonathan-pershing-climate-diplomat.html    Down                                         By Lisa Friedman              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/health/c CDC Data Show Boosters Curtail
2022-01-21   2022-01-22 ovid-boosters-cdc-omicron.html              Hospitalizations                             By Apoorva Mandavilli         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/nyregio ExGiuliani Associate Who Tried to Smear
2022-01-21   2022-01-22 n/igor-fruman-sentencing.html               Biden on Ukraine Is Sentenced to Prison      By Colin Moynihan             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/nyregio Ridership Falls Steeply In Another Virus      By Matthew Haag and Patrick
2022-01-21   2022-01-22 n/nyc-commuter-rail-pandemic.html           Wave                                         McGeehan                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/nyregio A 2100Ton Mystery Solved SNL Stars Now
2022-01-21   2022-01-22 n/pete-davidson-colin-jost-ferry.html       Own Ferry                                    By Patrick McGeehan           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/opinion What I Regret From My Time at Planned
2022-01-21   2022-01-22 /abortion-roe-anniversary.html              Parenthood                                   By Cecile Richards            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/opinion
2022-01-21   2022-01-22 /trump-politics-mental-health.html          The Mental Health Toll of TrumpEra Politics By Michelle Goldberg           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/sports/f They Tried Tackling a Teenage Derrick Henry
2022-01-21   2022-01-22 ootball/derrick-henry-high-school.html      emOofem                                      By Ben Shpigel                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/sports/f
                        ootball/giants-joe-schoen-general-          Giants Hire Bills Assistant As New General
2022-01-21   2022-01-22 manager.html                                Manager                                      By Emmanuel Morgan            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/sports/f The Chaotic Journey of a Fearsome Quiet
2022-01-21   2022-01-22 rancis-ngannou-ufc-fight.html               Champion                                     By Emmanuel Morgan            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/sports/n UConn Owes Fired Coach 11 Million Ruling
2022-01-21   2022-01-22 caabasketball/uconn-kevin-ollie.html        Says                                         By Adam Zagoria               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/sports/t
                        ennis/australian-open-nadal-monfils-        For Nadal and His Contemporaries Its About
2022-01-21   2022-01-22 murray.html                                 Winning and Quickly                          By Matthew Futterman          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/sports/t After Upset by Anisimova Osaka Was
2022-01-21   2022-01-22 ennis/naomi-osaka-australian-open.html      Disappointed but Not Upset                   By Christopher Clarey         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/technol Google Asks That Lawsuit Filed by Texas Be
2022-01-21   2022-01-22 ogy/google-texas-antitrust-case.html        Dismissed                                    By David McCabe               TX 9-137-858   2022-03-01



                                                                                Page 3275 of 5793
                        https://www.nytimes.com/2022/01/21/technol Intel Recruits Ohio in Bid To Churn Out
2022-01-21   2022-01-22 ogy/intel-chip-factories-ohio.html          More Chips                                     By Don Clark                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/theater/
2022-01-21   2022-01-22 addressless-review.html                     Life on the Streets Comes Inside Your Walls By Alexis Soloski              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/theater/
2022-01-21   2022-01-22 long-days-journey-into-night-audible.html   A Long Days Journey for Now                    By Juan A Ramrez            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/us/marc With Roe v Wade Teetering Marchers Strike a By Kate Zernike and Madeleine
2022-01-21   2022-01-22 h-for-life-rally.html                       Celebratory Tone                               Ngo                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/us/onli Online Learning Follows Students Back to
2022-01-21   2022-01-22 ne-tutoring-stimulus-funding.html           Class                                          By Dana Goldstein           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/us/polit
                        ics/georgia-election-worker-threats-        US Says Texan Called For Killings Over
2022-01-21   2022-01-22 charges.html                                Election                                       By Reid J Epstein           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/us/polit Jan 6 Panel and State Officials Seek Answers By Luke Broadwater and Alan
2022-01-21   2022-01-22 ics/jan-6-fake-trump-electors.html          on Fake Trump Electors                         Feuer                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/us/polit
                        ics/supreme-court-native-americans-         Justices To Consider New Limits In 2020
2022-01-21   2022-01-22 oklahoma.html                               Case                                           By Adam Liptak              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/us/polit
2022-01-21   2022-01-22 ics/us-mint-racial-turmoil.html             Racial Strife Mars Gains At US Mint            By Alan Rappeport           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/us/scott-Patient in Legal Fight Over Ventilator Is Sent
2022-01-21   2022-01-22 quiner-covid-ventilator.html                to Texas                                       By Maria Cramer             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/world/a Oil Spill Triggered by Tsunami Devastates the
2022-01-21   2022-01-22 mericas/peru-oil-spill-tonga-tsunami.html   Coast of Peru                                  By Mitra Taj                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/world/a Dogged Pursuit of Zero Covid Becomes            By Amy Qin and Amy Chang
2022-01-21   2022-01-22 sia/china-zero-covid-policy.html            Exhausting for China                           Chien                       TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/21/world/a Suspect in Fire That Killed 46 Was Angry
2022-01-21   2022-01-22 sia/taiwan-fire-ghost-building-suspect.html With Her Partner Over Texts Prosecutors Say By Amy Chang Chien             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/world/a Thich Nhat Hanh 95 Monk Zen Master and
2022-01-21   2022-01-22 sia/thich-nhat-hanh-dead.html               Peace Activist                              By Seth Mydans                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/world/a Tongan Man Swept Away By Tsunami
2022-01-21   2022-01-22 ustralia/tonga-man-tsunami-floating.html    Survives Seas                               By Amanda Holpuch              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/world/a Impact of Tonga Volcano Only Now Coming
2022-01-21   2022-01-22 ustralia/tonga-volcano.html                 Clear                                       By Damien Cave                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/world/e For Syrian Family a Photo Opens Doors to a
2022-01-21   2022-01-22 urope/syrian-refugee-family-italy.html      New Life                                    By Gaia Pianigiani             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/21/world/e                                             By Michael Crowley and Anton
2022-01-21   2022-01-22 urope/ukraine-russia-us-blinken-lavrov.html Diplomats Try To Lower Heat Over Ukraine Troianovski                      TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/21/world/ ISIS Attacks Syria Jail To Liberate Comrades By Ben Hubbard Hwaida Saad and
2022-01-21   2022-01-22 middleeast/isis-prison-syria-jail.html      Dozens Die in Clashes                      Asmaa alOmar                   TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/21/world/ War in Yemen Intensifies as SaudiLed
2022-01-21   2022-01-22 middleeast/yemen-saudi-arabia-airstrike.html Airstrikes Kill Scores at a Prison       By Vivian Yee                    TX 9-137-858   2022-03-01



                                                                               Page 3276 of 5793
                        https://www.nytimes.com/2022/01/21/your-
2022-01-21   2022-01-22 money/cable-streaming-bill.html             Fraying the Cord and Taming the Stream       By Ann Carrns                     TX 9-137-858   2022-03-01

                        https://www.nytimes.com/interactive/2022/01/ Covid Hospitalizations Plateau in Some Parts By Lauren Leatherby and Albert
2022-01-21   2022-01-22 21/us/covid-hospitalizations.html             of the US While a Crisis Remains in Others Sun                               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/live/2022/01/21/bus
                        iness/stock-market-economy-news/stocks-
                        drop-again-as-the-sp-500s-worst-week-in-      SampP 500 Has Worst Week Since March
2022-01-21   2022-01-22 more-than-a-year-drags-on                     2020                                        By Coral Murphy Marcos           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/us/flori Ruling on Free Speech a Victory for Florida
2022-01-22   2022-01-22 da-professors-free-speech.html                Professors                                  By Michael Wines                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/us/polit
2022-01-22   2022-01-22 ics/arizona-sues-covid-masks.html             Arizona Sues to Keep Relief Money           By Alan Rappeport                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/us/polit Push on Computer Chips Refocuses China        By David E Sanger and Ana
2022-01-22   2022-01-22 ics/biden-intel-semiconductors-china.html     Agenda                                      Swanson                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/us/texa Hostages Decided to Flee As Rescue Team        By Ruth Graham and Adam
2022-01-22   2022-01-22 s-synagogue-hostages-fbi.html                 Came In                                     Goldman                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/live/2022/01/21/nyr
                        egion/nypd-officers-shot-harlem/nypd-officers
2022-01-22   2022-01-22 shot-harlem                                   Officer Killed In Manhattan A 2nd Is Hurt   By Ed Shanahan                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/us/polit Denouncing Dark Money Then Deploying It By Kenneth P Vogel and Shane
2022-01-29   2022-01-22 ics/democrats-dark-money-donors.html          in 2020                                     Goldmacher                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2021/12/08/books/r
                        eview/women-in-the-picture-catherine-
2021-12-08   2022-01-23 mccormack.html                                Body Image                                  By Jasmine Sanders               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/books/r
2022-01-04   2022-01-23 eview/bibliolepsy-gina-apostol.html           Books Sex and Revolt                        By Idra Novey                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/books/r
2022-01-04   2022-01-23 eview/jenni-fagan-luckenbooth.html            Haunted History                             By Lauren Beukes                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/books/r
                        eview/the-steal-mark-bowden-matthew-
2022-01-04   2022-01-23 teague.html                                   Unsung Heroes                               By Luke Broadwater               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/books/r
                        eview/gunnhild-oyehaug-present-tense-
2022-01-11   2022-01-23 machine.html                                  Garden of Forking Paths                     By Caitlin Horrocks              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/books/r
                        eview/i-came-all-this-way-to-meet-you-jami-
2022-01-11   2022-01-23 attenberg.html                                One Writers Beginnings                      By Claire Dederer                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/books/r
2022-01-11   2022-01-23 eview/jonathan-evison-small-world.html        Final Run                                   By TaraShea Nesbit               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/books/r
2022-01-11   2022-01-23 eview/the-final-case-david-guterson.html      Like Father Like Son                        By Scott Turow                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/books/r
2022-01-11   2022-01-23 eview/zen-of-therapy-mark-epstein.html        Of Two Minds                                By Oliver Burkeman               TX 9-137-858   2022-03-01




                                                                                 Page 3277 of 5793
                        https://www.nytimes.com/2022/01/12/books/r
                        eview/authority-and-freedom-a-defense-of-the
2022-01-12   2022-01-23 arts-jed-perl.html                            Relevance Be Damned                         By John Adams                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/books/r
2022-01-12   2022-01-23 eview/malas-cat-mala-kacenberg.html           Hiding Amid Horrors                         By Julie Orringer               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/13/books/r New Best Sellers Run the Gamut From
2022-01-13   2022-01-23 eview/the-maid-nita-prose.html                Escapist to Galvanizing                     By Elisabeth Egan               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/books/r
2022-01-16   2022-01-23 eview/bernardine-evaristo-manifesto.html      The Outsider                                By Quiara Alegra Hudes          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/16/magazi                                                 By James Verini and Paolo
2022-01-16   2022-01-23 ne/ukraine-war.html                           Ukraines ForeverWar                         Pellegrin                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/realesta For Two Roommates the Fine Print Held a
2022-01-17   2022-01-23 te/renters-williamsburg-brooklyn.html         Big Surprise                                By DW Gibson                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/books/r
2022-01-18   2022-01-23 eview/admissions-kendra-james.html            A Lonely Education                          By Lacy Crawford                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/magazi
2022-01-18   2022-01-23 ne/ai-technology-poker.html                   No Limit                                    By Keith Romer                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/magazi
2022-01-18   2022-01-23 ne/ex-nude-pics.html                          Can I Ask My Ex to Delete Those Nude Pics   By Kwame Anthony Appiah         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/magazi
2022-01-18   2022-01-23 ne/grudge-recommendation.html                 Grudges                                     By Alex McElroy                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/magazi
2022-01-18   2022-01-23 ne/how-to-survive-an-avalanche.html           How to Survive an Avalanche                 By Malia Wollan                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/realesta
                        te/why-christine-ebersoles-home-is-furnished-
2022-01-18   2022-01-23 with-broadway-castoffs.html                   Furnishing a Home With Broadway Castoffs    By Joanne Kaufman               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/18/sports/b The End of a Twisting Road for Pat Riley and
2022-01-18   2022-01-23 asketball/chris-herring-knicks-pat-riley.html the Knicks                                 By Chris Herring                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/t-
2022-01-18   2022-01-23 magazine/tarot-decks-art.html                 Tarot Decks For Todays World               By Megan Bradley                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/arts/tele
2022-01-19   2022-01-23 vision/kathy-griffin.html                     Kathy Griffins Life on the Canceled List   By Katherine Rosman              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/busines
2022-01-19   2022-01-23 s/covid-pill-treatment-pfizer.html            A 7Hour Odyssey to Get My Mom Covid Pills By Rebecca Robbins                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/busines Laurel Cutler a Trailblazing Power in
2022-01-19   2022-01-23 s/laurel-cutler-dead.html                     Advertisings Golden Age Dies at 94         By Katharine Q Seelye            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/magazi Fish On A prized whole snapper is a beautiful
2022-01-19   2022-01-23 ne/red-snapper-hawaiian-recipe.html           centerpiece for a festive meal             By Ligaya Mishan                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/magazi
2022-01-19   2022-01-23 ne/spillback-animal-disease.html              The Breeding Ground                        By Sonia Shah and Tyler Comrie   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/magazi
                        ne/trumps-dream-of-a-border-wall-twisted-
2022-01-19   2022-01-23 into-a-sci-fi-nightmare.html                  Fenced In                                  By Marcela Valdes                TX 9-137-858   2022-03-01




                                                                                 Page 3278 of 5793
                        https://www.nytimes.com/2022/01/19/movies/ Jeremy Irons Adores Poetry and the Irish
2022-01-19   2022-01-23 jeremy-irons-favorite-things.html           Fiddle                                        By Kathryn Shattuck                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/realesta An Affordable Melting Pot With a Sense of
2022-01-19   2022-01-23 te/dunellen-nj.html                         Community                                     By Jill P Capuzzo                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/realesta
                        te/home-prices-connecticut-virginia-        620000 Homes in Connecticut Virginia and
2022-01-19   2022-01-23 alabama.html                                Alabama                                       By Angela Serratore                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/realesta From a Gated Complex You Can See
2022-01-19   2022-01-23 te/house-hunting-guatemala.html             Volcanoes                                     By Roxana Popescu                   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/19/theater/
2022-01-19   2022-01-23 conrad-ricamora-little-shop-of-horrors.html Battling Bias and a Ravenous Plant            By Elisabeth Vincentelli            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/arts/tele
2022-01-20   2022-01-23 vision/gilded-age-julian-fellowes.html       The Gilded Age Finally Moves In              By Dave Itzkoff                     TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/20/fashion
2022-01-20   2022-01-23 /weddings/sari-lehenga-and-just-like-that.html For a Sari That Wasnt a Script That Didnt Say By Praachi Raniwala              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/magazi
2022-01-20   2022-01-23 ne/dog-bathroom.html                           Bonus Advice From Judge John Hodgman          By John Hodgman                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/magazi
2022-01-20   2022-01-23 ne/poem-at-last-there-is-yesterday.html        Poem At Last There Is Yesterday               By Wang Yin and Victoria Chang   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/movies/
2022-01-20   2022-01-23 new-queer-cinema-anniversary.html              Flash Point for New Queer Cinema              By Erik Piepenburg               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/nyregio
2022-01-20   2022-01-23 n/bronx-fires.html                             How Fire Defined the Bronx and Us             By David Gonzalez                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/opinion
2022-01-20   2022-01-23 /amanda-gorman-poem-inauguration.html          If Youre Alive Youre Afraid                   By Amanda Gorman                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/opinion                                                   By Patrick Healy and Adrian J
2022-01-20   2022-01-23 /biden-independent-voters.html                 14 Independent Voters Share Their Fears       Rivera                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/opinion
2022-01-20   2022-01-23 /joe-biden-presidency.html                     Bidens Fight To Return Us To Normalcy         By Matthew Yglesias              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/opinion
2022-01-20   2022-01-23 /teach-children-to-be-lazy.html                Teaching My Child to Be Lazy                  By Elliot Kukla                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/realesta
2022-01-20   2022-01-23 te/the-best-place-to-raise-a-family.html       Measuring Places to Bring Up a Family         By Michael Kolomatsky            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/style/pr
2022-01-20   2022-01-23 ison-family-social-qs.html                     Better to Tell Them                           By Philip Galanes                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/arts/mu
2022-01-20   2022-01-23 sic/morgan-wallen.html                         The Morgan Wallen Conundrum                   By Jon Caramanica                TX 9-137-858   2022-03-01
                                                                       A SingleFamily House for Under 800000 One
                        https://www.nytimes.com/interactive/2022/01/ Family of Five Combs Queens for More
2022-01-20   2022-01-23 20/realestate/20hunt-trust.html                Space                                         By Joyce Cohen                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/arts/dan
2022-01-21   2022-01-23 ce/gender-gap-ballet.html                      Numbers Favor The Men in Ballet               By Margaret Fuhrer               TX 9-137-858   2022-03-01




                                                                                  Page 3279 of 5793
                        https://www.nytimes.com/2022/01/21/arts/des Balancing Art And the Business Of Making
2022-01-21   2022-01-23 ign/damien-hirst-nft.html                   Money                                          By Scott Reyburn              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/arts/mu
                        sic/ricky-ian-gordon-intimate-apparel-
2022-01-21   2022-01-23 opera.html                                  One Composers Opera Doubleheader               By Elisabeth Vincentelli      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/books/r
                        eview/avi-loyalty-brian-farrey-the-
2022-01-21   2022-01-23 counterclockwise-heart.html                 To Thine Own Self Be True                      By Alan Gratz                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/books/r
2022-01-21   2022-01-23 eview/james-r-gaines-the-fifties.html       The Heroic Opposition                          By Thomas Dyja                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/books/r
2022-01-21   2022-01-23 eview/new-paperbacks.html                   Paperback Row                                  By Miguel Salazar             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/21/books/r
                        eview/the-four-humors-mina-seckin-bright-
                        burning-things-lisa-harding-tell-me-how-to-be
2022-01-21   2022-01-23 neel-patel-defenestrate-renee-branum.html     Novels of Loss                               By Lauren LeBlanc             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/21/busines                                                 By Julia Rothman and Shaina
2022-01-21   2022-01-23 s/coin-collecting-bitcoin-numismatists.html They Love Coins Just Not Bitcoin               Feinberg                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/busines
2022-01-21   2022-01-23 s/karen-lynch-cvs-health-ceo.html           Envisioning OneStop Health Care Stores         By David Gelles               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/busines
2022-01-21   2022-01-23 s/quitting-contagious.html                  Were Out Of Here                               By Emma Goldberg              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/busines
2022-01-21   2022-01-23 s/retirement-stocks-vanguard.html           For Retirees How Much Stock Is Too Much        By Jeff Sommer                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/fashion
                        /weddings/christina-vance-greg-winick-      After Difficult Years Finding Heroes in Each
2022-01-21   2022-01-23 wedding.html                                Other                                          By Vincent M Mallozzi         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/nyregio
                        n/brooklyn-court-street-regal-cinema-       A Boisterous Movie Theater Suddenly Goes
2022-01-21   2022-01-23 closes.html                                 Silent                                         By Saki Knafo                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/nyregio Was a Writer and Activist Too LeftWing to
2022-01-21   2022-01-23 n/dorothy-day-sainthood.html                Be a Saint                                     By Liam Stack                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/nyregio
2022-01-21   2022-01-23 n/ron-simons-producer.html                  A Tony Winner After the Wee Hours              By Alix Strauss               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/21/nyregio Shes Clearing Her Closet for Yet Another
2022-01-21   2022-01-23 n/the-gilded-age-costumes-helen-uffner.html Redevelopment                              By Ginia Bellafante               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/opinion
2022-01-21   2022-01-23 /14th-amendment-madison-cawthorn.html       Disqualifying a Republican From Reelection By Harry Litman                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/opinion
                        /africa-cup-of-nations-soccer-tournament-
2022-01-21   2022-01-23 politcs.html                                Solidarity and Hope in African Soccer      By Sean Jacobs                    TX 9-137-858   2022-03-01




                                                                                 Page 3280 of 5793
                        https://www.nytimes.com/2022/01/21/opinion
2022-01-21   2022-01-23 /constitution-voting-rights.html           Republicans Have Some Reading to Do        By Jamelle Bouie             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/opinion
2022-01-21   2022-01-23 /new-orleans-slavery.html                  The Legacy of Slavery in New Orleans       By Imani Perry               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/21/opinion
2022-01-21   2022-01-23 /roe-v-wade-abortion-doctors-violence.html Why Doctors Shy Away From Abortion           By Eyal Press              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/opinion
2022-01-21   2022-01-23 /texas-synagogue-antisemitism.html          An Antisemites Dangerous Fantasy            By Bret Stephens           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/realesta
2022-01-21   2022-01-23 te/architect-designer-pandemic-diy.html     Pro Designers Put the Pandemic to Work      By Julie Lasky             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/sports/g Bob Goalby 92 a Masters Champion Thanks
2022-01-21   2022-01-23 olf/bob-goalby-dead.html                    to a Scorecard Mistake Dies                 By Richard Goldstein       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/sports/s Celebrated Managers Borne Back Ceaselessly
2022-01-21   2022-01-23 occer/jose-mourinho-rafael-benitez.html     Into the Past                               By Rory Smith              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/style/a
2022-01-21   2022-01-23 mateur-covid-scientist-expert.html          Covid Experts the SelfMade Kind             By Alyson Krueger          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/style/de
2022-01-21   2022-01-23 bbie-gibson-vinyl-records.html              Debbie Gibson Wants Vinyl                   By Alexis Soloski          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/style/ed
2022-01-21   2022-01-23 en-deering-started-her-art-career-at-8.html Her Art Career Began at 8 Led By Her Mother By Mia Adorante            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/style/fr
                        ankie-sandmel-elaina-marshalek-             Sharing a Talmud Camp and a Vision for the
2022-01-21   2022-01-23 wedding.html                                World                                       By Alix Wall               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/style/ju Her Eyes Beckoned Well Just the Left One at
2022-01-21   2022-01-23 stin-karlin-carson-stern-wedding.html       First                                       By Rosalie R Radomsky      TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/21/style/ki An Age Difference That Just Had to Be
2022-01-21   2022-01-23 mberly-chexnayder-jason-white-wedding.html Brushed Aside                               By Tammy La Gorce           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/style/m
                        odern-love-married-divorced-mother-please-
2022-01-21   2022-01-23 cry.html                                    My Wedding Is Coming Mom Please Cry        By Katy Gathright           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/style/on
2022-01-21   2022-01-23 e-tree-hill-drama-queens.html               Reclaiming the One Tree Hill Power         By Tariro Mzezewa           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/us/gabb
                        y-petito-brian-laundrie-notebook-
2022-01-21   2022-01-23 confession.html                             Confession In Killing Of Petito FBI Says   By Michael Levenson         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/world/a
2022-01-22   2022-01-23 sia/tonga-tsunami-volcano.html              3 Tiny Islands Bear Brunt of Tsunami       By Natasha Frost            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/busines Did the Stimulus Fuel Inflation Rates A     By Jeanna Smialek and Ana
2022-01-22   2022-01-23 s/economy/inflation-biden-pandemic.html     Policy Debate Heats Up                     Swanson                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/busines
2022-01-22   2022-01-23 s/pandemic-work-resumes.html                The Humble Rsum Still Holds Sway in Hiring By Gray Beltran             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/nyregio Fighting to Preserve Towering Testament To
2022-01-22   2022-01-23 n/buffalo-grain-elevator.html               Buffalos History                           By Jesse McKinley           TX 9-137-858   2022-03-01



                                                                               Page 3281 of 5793
                        https://www.nytimes.com/2022/01/22/nyregio A Calm 911 Call Then a Barrage Of Deadly
2022-01-22   2022-01-23 n/nypd-officers-shot-harlem.html            Shots                                          By Michael Wilson                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/opinion President Bidens Economy Is Failing The Big
2022-01-22   2022-01-23 /president-biden-inflation-economy.html     Mac Test                                       By The Editorial Board             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/opinion
2022-01-22   2022-01-23 /russia-ukraine-us-nato.html                How to Retreat From Ukraine                    By Ross Douthat                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/opinion
2022-01-22   2022-01-23 /sunday/andre-leon-talley-dead.html         Farewell Andr the Glorious                     By Maureen Dowd                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/realesta If the Downstairs Noise Is Intolerable Should
2022-01-22   2022-01-23 te/noise-complaints-landlords.html          I Sue the Buildings Landlord                   By Ronda Kaysen                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/sports/f
2022-01-22   2022-01-23 ootball/nfl-playoffs-aj-brown.html          Receivers Try a Tactic New and Old Blocking By Emmanuel Morgan                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/sports/p In Australia Tennis Star Pulls for Her Buffalo
2022-01-22   2022-01-23 egula-buffalo-bills-australian-open.html    Bills                                          By Christopher Clarey              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/style/se
2022-01-22   2022-01-23 cret-pregnancy.html                         Oh by the Way I Had a Baby                     By Alyson Krueger                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/upshot/                                                 By Claire Cain Miller and Margot
2022-01-22   2022-01-23 abortion-us-roe-global.html                 On Abortion Law US Is Different From Most SangerKatz                              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/us/ami-
2022-01-22   2022-01-23 cole-beauty-products.html                   Filling a Void in Black Beauty Care            By Sandra E Garcia                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/us/colo
2022-01-22   2022-01-23 rado-fire-big-sur-california.html           Wildfire in Big Sur Forces Evacuation          By Sophie Kasakove                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/us/omic New Covid Cases in the US Drop As               By Mitch Smith Julie Bosman and
2022-01-22   2022-01-23 ron-cases-us-deaths.html                    Omicron Eases                                  Tracey Tully                       TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/22/us/polit Arizona Democrats Rebuke Sinema For
2022-01-22   2022-01-23 ics/sinema-censure-arizona-democrats.html Refusing to Scrap the Filibuster                By Jack Healy                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/us/tenn Tennessee Couple Say Adoption Agency
2022-01-22   2022-01-23 essee-jewish-couple-adoption.html           Turned Them Away for Being Jewish             By Christine Hauser                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/world/a Poem of Protest by an Afghan Girl Inspires     By David Zucchino and Jim
2022-01-22   2022-01-23 sia/afghanistan-girls-school-taliban.html   US Students                                   Huylebroek                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/world/a
                        sia/winter-olympics-china-beijing-xi-       The Games That Xi Built Entirely on His       By Steven Lee Myers Keith
2022-01-22   2022-01-23 jinping.html                                Terms                                         Bradsher and Tariq Panja            TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/22/world/e In Russias Shadow Ukraine Is Defending a       By Andrew E Kramer and Tyler
2022-01-22   2022-01-23 urope/chernobyl-ukraine-invasion-russia.html Hot Zone Chernobyl                           Hicks                               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/world/e
                        urope/coronavirus-boris-johnson-novak-       Why Is Johnson in Political Danger He
2022-01-22   2022-01-23 djokovic-hypocrisy.html                      Undermined Shared Sacrifice                  By Max Fisher                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/world/e Russia Is Said To Plot for Ally To Rule in     By Michael Schwirtz David E
2022-01-22   2022-01-23 urope/ukraine-russia-coup-britain.html       Kyiv                                         Sanger and Mark Landler             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/22/world/e Giant Factory in Serbia Symbolizes
2022-01-23   2022-01-23 urope/china-serbia-vietnamese-workers.html Downsides Of Chinas Investments                By Andrew Higgins                   TX 9-137-858   2022-03-01



                                                                                 Page 3282 of 5793
                        https://www.nytimes.com/2022/01/23/busines
                        s/the-week-in-business-a-big-bet-on-
2022-01-23   2022-01-23 gaming.html                                 The Week in Business A Big Bet on Gaming By Sarah Kessler                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/insider/
2022-01-23   2022-01-23 times-printing-plant-brooklyn-legacy.html   A Legacy Lives On in Brooklyn            By Sarah Diamond                      TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/23/style/an
2022-01-23   2022-01-23 dre-leon-talley-bill-cunningham-photos.html Perfect Fit                                 By Jacob Bernstein                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/style/an His Words Meant the World To a Vast
2022-01-23   2022-01-23 dre-leon-talley-in-his-own-words.html       Audience                                    By Jessica Testa                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/style/an
2022-01-23   2022-01-23 dre-leon-talley-legacy.html                 An Arbiter Of Beauty Exits the Stage        By Vanessa Friedman                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/us/jan- Jan 6 Marchers Still Defiant See It as Day
2022-01-23   2022-01-23 6-attendees.html                            One of Movement                             By Elizabeth Dias and Jack Healy   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/us/omic Omicron Tilts Rhythms of SmallTown
2022-01-23   2022-01-23 ron-workers-small-towns.html                Governance                                  By Jill Cowan                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/17/travel/n Shipwrecks and a Treasure Solitude in
2022-01-17   2022-01-24 amibia-skeleton-coast-road-trip.html        Namibia                                     By Genna Martin                    TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/18/travel/v In These Times Even a Beached Barge Sparks
2022-01-18   2022-01-24 ancouver-barge-stranded-sighstseeing.html    Joy                                       By Gerald Narciso                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/travel/o Has the Pandemic Undermined Finding
2022-01-19   2022-01-24 ff-season-deals-pandemic.html                Bargains During the OffSeason             By Elaine Glusac                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/books/ His New Good Place Is Writing About
2022-01-20   2022-01-24 michael-schur-how-to-be-perfect.html         Morality                                  By Alexandra Alter                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/busines
                        s/economy/inflation-questions-               Experts Answer Readers Questions About
2022-01-20   2022-01-24 consumers.html                               Inflation                                 By Jeanna Smialek                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/sports/b
2022-01-20   2022-01-24 asketball/lusia-harris-dead.html             Lusia Harris 66 Queen of Basketball       By Richard Sandomir                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/technol Why the Website for Free Covid Tests Went
2022-01-20   2022-01-24 ogy/free-covid-tests.html                    Viral                                     By Shira Ovide                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/travel/k
2022-01-20   2022-01-24 amal-mouzawak-food-lebanon.html              Championing Lebanons Culinary Traditions By Lindsey Tramuta                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/arts/tele
2022-01-21   2022-01-24 vision/billions-corey-stoll-season-5.html    The New Face of Fortune on Billions       By Sean T Collins                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/arts/tele
2022-01-21   2022-01-24 vision/louie-anderson-bob-saget.html         Louie Anderson Americas Eternal Kid       By Jason Zinoman                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/books/r
                        eview-brian-cox-memoir-putting-rabbit-in-
2022-01-21   2022-01-24 hat.html                                     Workhorse Takes Stock Of His Life         By Alexandra Jacobs                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/busines How Much Are You Willing to Pay For a
2022-01-21   2022-01-24 s/fast-food-prices-inflation.html            Burrito                                   By Julie Creswell                   TX 9-137-858   2022-03-01




                                                                                 Page 3283 of 5793
                        https://www.nytimes.com/2022/01/21/crossw
                        ords/how-java-became-coffees-nickname-and-
2022-01-21   2022-01-24 a-programming-language.html                Four Letters Three Meanings                 By Alexis Benveniste              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/fashion Here to Help Vanessa Friedman Answers
2022-01-21   2022-01-24 /best-black-pants.html                     Your Style Questions                        By Vanessa Friedman               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/world/e Anatoly Kvashnin 75 Russian General in
2022-01-21   2022-01-24 urope/anatoly-kvashnin-dead.html           Pivotal Era                                 By Alex Traub                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/arts/mu
                        sic/meat-loaf-paradise-by-the-dashboard-
2022-01-22   2022-01-24 light.html                                 How Meat Loaf Made a Cult Favorite          By Jeremy Gordon                  TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/22/busines Kohls Is Given 9 Billion Offer Backed by an
2022-01-22   2022-01-24 s/dealbook/kohls-sale-starboard-value.html Activist Investor                           By Lauren Hirsch                  TX 9-137-858   2022-03-01
                                                                   Davos Was Canceled for a Second Year
                        https://www.nytimes.com/2022/01/22/busines Would Anyone Miss It if It Disappeared for
2022-01-22   2022-01-24 s/dealbook/no-davos.html                   Good                                        By David Gelles                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/opinion
2022-01-22   2022-01-24 /roe-legal-abortion.html                   Women Shouldnt Need Abortions for Equality By Tish Harrison Warren            TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/23/arts/des For an Expert In Nazi Loot A Surprising New
2022-01-23   2022-01-24 ign/stuart-eizenstat-pissarro-looted-art.html Role                                      By Graham Bowley                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/arts/tele Its Manhattan in 1882 and the Money Is Old
2022-01-23   2022-01-24 vision/the-gilded-age-review.html             and New                                   By Mike Hale                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/busines
                        s/dealbook/unilever-glaxo-nelson-peltz-       After Failed Glaxo Bid Unilever Faces New
2022-01-23   2022-01-24 trian.html                                    Test                                      By Michael J de la Merced        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/busines Employees at REI Store In Manhattan Begin
2022-01-23   2022-01-24 s/economy/rei-union-manhattan-store.html      Drive For Retailers Only Union            By Noam Scheiber                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/busines Sundance to Show Film on Pay Inequality at
2022-01-23   2022-01-24 s/media/abigail-disney-documentary.html       Disney                                    By Brooks Barnes                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/busines Palin Suit Highlights Push For Redrawing
2022-01-23   2022-01-24 s/media/sarah-palin-libel-suit-nyt.html       Libel Law                                 By Jeremy W Peters               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/health/f Cautious Fauci Says US Wave May Soon
2022-01-23   2022-01-24 auci-omicron-peak.html                        Wane                                      By Kenneth Chang                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/nyregio New Yorkers Reel From a Torrent of Sad       By Michael Wilson Chelsia Rose
2022-01-23   2022-01-24 n/nypd-shooting.html                          News and Struggles                        Marcius and Nate Schweber        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/obituari Clark Gillies Big Guy on the Wing for Four
2022-01-23   2022-01-24 es/clark-gillies-dead.html                    Islanders Titles Dies at 67               By Richard Goldstein             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/obituari Dennis Smith New York City Firefighter Who
2022-01-23   2022-01-24 es/dennis-smith-dead.html                     Wrote Best Sellers Dies at 81             By Sam Roberts                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/opinion Ann Coulter Is Rooting for a TrumpDeSantis
2022-01-23   2022-01-24 /ann-coulter-trump-ron-desantis.html          ThrowDown                                 By Michelle Cottle               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/opinion
2022-01-23   2022-01-24 /colleyville-synagogue-parenting.html         A Parents Vulnerability                   By Sarah Wildman                 TX 9-137-858   2022-03-01




                                                                               Page 3284 of 5793
                        https://www.nytimes.com/2022/01/23/opinion
2022-01-23   2022-01-24 /life-changes-death.html                    Death Changed My Life                     By Charles M Blow                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/23/sports/c To Avoid Virus Olympians Bend Over
2022-01-23   2022-01-24 ovid-olympics-athletes.html                 Backward                                  By Andrew Keh                     TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/23/sports/f What Will Rodgers Do Green Bays Abrupt
2022-01-23   2022-01-24 ootball/aaron-rodgers-green-bay-packers.html Exit Adds to the Uncertainty               By Ben Shpigel                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/sports/f Los Angeles Prevails on Last Play Denying
2022-01-23   2022-01-24 ootball/rams-buccaneers-score.html           Brady a Comeback Win                       By Alanis Thames                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/sports/t On a Grand Slam Streak Since 2007 and
2022-01-23   2022-01-24 ennis/alize-cornet-australian-open.html      Holding Out Hope for a Quarterfinal        By Ben Rothenberg                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/sports/t
                        ennis/australia-barty-pegula-keys-           No 1 Barty Remains In Control at Home With
2022-01-23   2022-01-24 krejcikova.html                              Heat Building                              By Christopher Clarey             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/sports/t An American Breaks Through in His 22nd
2022-01-23   2022-01-24 ennis/australian-open-taylor-fritz.html      Try                                        By Ben Rothenberg                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/sports/u UFC Champion Keeps His Crown And Faces
2022-01-23   2022-01-24 fc-francis-ngannou.html                      a Tussle Over His Contract                 By Morgan Campbell                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/style/ni Nino Cerruti Designer Who Revolutionized
2022-01-23   2022-01-24 no-cerruti-dead.html                         Mens Wear Is Dead at 91                    By Penelope Green                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/theater/
2022-01-23   2022-01-24 the-hang-review.html                         Lots to Live For Despite the Hemlock       By Laura CollinsHughes            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/us/fiu- College Chief Quit Over Causing Employee By Giulia Heyward and Patricia
2022-01-23   2022-01-24 president-resign-reason.html                 Discomfort                                 Mazzei                            TX 9-137-858   2022-03-01
                                                                                                                By Michael D Shear Sheryl Gay
                        https://www.nytimes.com/2022/01/23/us/polit Wins Marred by Missteps Bidens 1st          Stolberg Sharon LaFraniere and
2022-01-23   2022-01-24 ics/biden-covid-strategy.html                Pandemic Year                              Noah Weiland                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/us/polit US Weighs Troop Deployment Of Thousands
2022-01-23   2022-01-24 ics/biden-troops-nato-ukraine.html           to Eastern Europe                          By Helene Cooper and Eric Schmitt TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/world/a Soldiers Revolt in Burkina Faso Demanding
2022-01-23   2022-01-24 frica/burkina-faso-mutiny-gunfire.html       Changes to Countrys Leadership             By Declan Walsh                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/world/e Britain Pursues More Muscular Role in
2022-01-23   2022-01-24 urope/uk-russia-ukraine.html                 Standoff With Russia on Ukraine            By Mark Landler                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/world/g A String of Killings Is Pushing Domestic
2022-01-23   2022-01-24 reece-domestic-violence-abuse.html           Abuse Out of the Shadows in Greece         By Niki Kitsantonis               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/world/ Now Theres No One A Syrian Christians         By Hwaida Saad Asmaa alOmar
2022-01-23   2022-01-24 middleeast/syria-christians-idlib.html       Shrinking World                            and Ben Hubbard                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/world/ Young Detainees Caught In Crossfire at Syria
2022-01-23   2022-01-24 middleeast/syria-prison-isis.html            Prison                                     By Jane Arraf                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/climate Obsolete Bulbs Fill the Shelves At Dollar
2022-01-24   2022-01-24 /led-light-bulbs-dollar-store.html           Stores                                     By Hiroko Tabuchi                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/nyregio Adams Rushes to Issue Blueprint for Safety
2022-01-24   2022-01-24 n/eric-adams-crime-police.html               After Police Killing                       By Emma G Fitzsimmons             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/sports/f
2022-01-24   2022-01-24 ootball/bills-chiefs-score.html              Back Forth and Back                        By Emmanuel Morgan                TX 9-137-858   2022-03-01



                                                                               Page 3285 of 5793
                        https://www.nytimes.com/2022/01/23/us/polit
                        ics/jan-6-investigator-fired-university-of-  Top Investigator for Jan 6 Panel Is Fired From
2022-01-24   2022-01-24 virginia.html                                Post at University of Virginia                 By Michael S Schmidt            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/us/polit US Orders Family Members of Embassy             By Katie Benner Edward Wong and
2022-01-24   2022-01-24 ics/ukraine-us-embassy-russia.html           Personnel to Leave Ukraine                     Lara Jakes                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/arts/tele
                        vision/whats-on-tv-this-week-promised-land-
2022-01-24   2022-01-24 janet-jackson-special.html                   This Week on TV                                By Jaevon Williams              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/health/c Poor Nations Lose Their Best Nurses to the
2022-01-24   2022-01-24 ovid-health-worker-immigration.html          Rich                                           By Stephanie Nolen              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/sports/f
2022-01-24   2022-01-24 ootball/divisional-round-nfl-playoffs.html   What We Learned This Week                      By Diante Lee                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/sports/t
                        ennis/australian-open-federer-nadal-         After 2 Decades A Sport Can See Room at the
2022-01-24   2022-01-24 williams.html                                Top                                            By Kurt Streeter                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/us/polic Police Culture Is on Trial in Floyd Killing
2022-01-24   2022-01-24 e-officers-culture-george-floyd.html         Case                                           By Tim Arango                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/us/whit Roles of FBI and Informants Muddle
2022-01-24   2022-01-24 mer-kidnapping-trial.html                    Governor Kidnap Case                           By Neil MacFarquhar             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/12/arts/mu Dale Clevenger 81 Fearless Horn Master Of
2022-01-12   2022-01-25 sic/dale-clevenger-dead.html                 Famed Chicago Ensemble for Decades             By David Allen                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/climate 1930s Pictures Could Reveal These Glaciers
2022-01-19   2022-01-25 /svalbard-glacier-melting.html               Future                                         By Raymond Zhong                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/health/
2022-01-19   2022-01-25 omicron-long-covid-symptoms.html             Can the Omicron Variant Cause Long Covid By Pam Belluck                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/well/ex
2022-01-19   2022-01-25 ercise-timing.html                           Best Time to Exercise Ask the Mice             By Gretchen Reynolds            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/well/m
2022-01-19   2022-01-25 ove/habits-motivation-exercise.html          Motivation Fuels Workout Habits                By Christie Aschwanden          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/science Where Our Bubble Ends Our Understanding
2022-01-20   2022-01-25 /milky-way-local-bubble-stars.html           Begins                                         By Dennis Overbye               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/science NoChoke Anatomy Why Whales Have No
2022-01-20   2022-01-25 /whales-swallow-choke.html                   Need for the Heimlich Maneuver                 By Sam Jones                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/arts/mu Elza Soares Who Rose From a Favela to Fame
2022-01-21   2022-01-25 sic/elza-soares-dead.html                    As a Singer Dies at 91                         By Michael Astor                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/health/ Their DNA Holds a Warning But They Dont
2022-01-21   2022-01-25 dna-biobanks-mutations.html                  Want to Know                                   By Gina Kolata                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/science
                        /japanese-macaque-monkey-alpha-              A Crucible of Sex and Power Tests a Monkey
2022-01-21   2022-01-25 female.html                                  Queen                                          By Annie Roth                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/science Saturns Secrets Looking for a Lively Ocean
2022-01-21   2022-01-25 /mimas-ocean-death-star.html                 Inside a Death Star Moon                       By Kenneth Chang                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/22/climate Lisa Goddard 55 Climate Scientist Armed
2022-01-22   2022-01-25 /lisa-goddard-dead.html                      With Data for People in Peril                  By Clay Risen                   TX 9-137-858   2022-03-01




                                                                                Page 3286 of 5793
                        https://www.nytimes.com/2022/01/22/science Martian Earthquakes On the Red Planet the
2022-01-22   2022-01-25 /mars-boulders-earthquakes.html            Rocks May Not Be Through Bouncing              By Katherine Kornei                 TX 9-137-858     2022-03-01

                        https://www.nytimes.com/interactive/2022/01/                                              By Emily Anthes and Jonathan
2022-01-22   2022-01-25 22/science/charting-omicron-infection.html Charting an Omicron Infection                  Corum                               TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/23/arts/tele
2022-01-23   2022-01-25 vision/dont-look-up-climate-change.html      The Comet Is Coming Yawn                     By Maya Salam                       TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/23/health/c
2022-01-23   2022-01-25 ovid-mississippi-nurses.html                 ShortStaffed in Acute Care                   By Andrew Jacobs and Rory Doyle TX 9-137-858         2022-03-01
                        https://www.nytimes.com/2022/01/23/health/s Social Security Expands for SameSex
2022-01-23   2022-01-25 ocial-security-same-sex.html                 Survivors                                    By Paula Span                       TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/23/science Visionary Shellfish In an Ancient Crab Eyes
2022-01-23   2022-01-25 /crab-eyes-fossil.html                       Worth Taking a Look At                       By Asher Elbein                     TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/23/arts/tele
2022-01-24   2022-01-25 vision/louie-anderson-baskets.html           A Loving TV Portrait of a Woman in Full      By Shane ONeill                     TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/23/style/thi Thierry Mugler Designer Who Loved Latex
2022-01-24   2022-01-25 erry-mugler-dead.html                        and Curves Dies at 73                        By Jacob Bernstein                  TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/24/arts/dan For Seven Dancers Joyous News in Dark
2022-01-24   2022-01-25 ce/city-ballet-promotions.html               Days                                         By Gia Kourlas                      TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/24/arts/mu
2022-01-24   2022-01-25 sic/bob-dylan-sony-recordings.html           Sony Music Buys Dylans Recordings            By Ben Sisario                      TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/24/arts/mu
2022-01-24   2022-01-25 sic/opera-renee-fleming-sonya-yoncheva.html A Celestial Alignment of Two Divas                By Zachary Woolfe                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/arts/mu
2022-01-24   2022-01-25 sic/silvana-estrada-marchita.html              Hello Let Me Tell You All About Heartbreak By Isabelia Herrera                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/books/n
                        ewbery-last-cuentista-caldecott-               Newbery Medal Awarded To The Last
2022-01-24   2022-01-25 watercress.html                                Cuentista                                      By Elizabeth A Harris             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/books/r
2022-01-24   2022-01-25 eview-books-of-jacob-olga-tokarczuk.html       A LargerThanLife Messiah Complex               By Dwight Garner                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/busines Omicron Inflicts Pain On Economy Will It By Ben Casselman and Sydney
2022-01-24   2022-01-25 s/economy/omicron-economy.html                 Last                                           Ember                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/busines
                        s/economy/us-stock-market-correction-          Alarming Drop On Wall Street Then a            By Coral Murphy Marcos and
2022-01-24   2022-01-25 territory.html                                 Bounce                                         Mohammed Hadi                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/busines
                        s/energy-environment/california-rooftop-solar- A Fight to Rein In Growth Of Rooftop Solar
2022-01-24   2022-01-25 utilities.html                                 in California                                  By Ivan Penn                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/busines
2022-01-24   2022-01-25 s/sarah-palin-covid.html                       Palin Has Coronavirus Libel Trial Is Delayed By Jeremy W Peters                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/busines
                        s/unilever-peloton-kohls-activist-             Activist Investors Tug at Unilever Peloton and By Lauren Hirsch and Michael J de
2022-01-24   2022-01-25 investors.html                                 Kohls                                          la Merced                         TX 9-137-858   2022-03-01




                                                                                  Page 3287 of 5793
                        https://www.nytimes.com/2022/01/24/dining/ Despite Vaccination Requirement Palin Dined
2022-01-24   2022-01-25 sarah-palin-dines-indoors-nyc.html         in New York                                 By Priya Krishna                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/fashion
2022-01-24   2022-01-25 /jewelry-acrostic-chaumet-paris.html       Say it with stones                          By Kathleen Beckett                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/fashion
2022-01-24   2022-01-25 /jewelry-choker-chanel-dior.html           A versatile favorite                        By Susanne Fowler                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/fashion
                        /jewelry-couture-boucheron-cartier-dior-
2022-01-24   2022-01-25 paris.html                                 Challenges birth innovation                 By Tina IsaacGoiz                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/fashion
                        /jewelry-exhibition-museum-of-arts-and-
2022-01-24   2022-01-25 design-new-york-city.html                  An exhibition of stories                    By Sophie Haigney                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/fashion
2022-01-24   2022-01-25 /jewelry-ivory-sculptor-paris.html         The end of an art form                      By Kathleen Beckett                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/fashion
2022-01-24   2022-01-25 /jewelry-vintage-buying-tips.html          Older pieces younger buyers                 By Rachel Felder                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/fashion
2022-01-24   2022-01-25 /jewelry-vintage-gold-shelly-branch.html   Putting a signature style to work           By Rachel Felder                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/nyregio                                             By Emma G Fitzsimmons and
2022-01-24   2022-01-25 n/adams-crime-nypd-shooting.html           Adams Unveils Plan to Quell Gun Violence Ashley Southall                          TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/24/nyregio Man Who Hurled Smoothie and Insults Faces By Neil Vigdor and Lananh
2022-01-24   2022-01-25 n/james-iannazzo-smoothie-merrill-lynch.html Hate Crime Charge                       Nguyen                                  TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/24/nyregio Man Accused In Shooting Of 2 Officers Has
2022-01-24   2022-01-25 n/lashawn-mcneil-dead-harlem-officers.html Died                                          By Ali Watkins                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/nyregio Former Allies Face Off As Avenatti Trial
2022-01-24   2022-01-25 n/michael-avenatti-stormy-daniels.html      Starts                                       By Colin Moynihan                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/nyregio Sheldon Silver Albany Titan Undone by His By Jesse McKinley and Luis
2022-01-24   2022-01-25 n/sheldon-silver-dead.html                  Graft Dies at 77                             FerrSadurn                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/opinion
2022-01-24   2022-01-25 /joe-biden-2024.html                        The President Needs a Turnaround             By Gail Collins and Bret Stephens   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/opinion Playing a Long Game Putin Has America
2022-01-24   2022-01-25 /russia-ukraine-putin-biden.html            Where He Wants It                            By Fiona Hill                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/science MIT Scientist Says He Was Treated Like a
2022-01-24   2022-01-25 /gang-chen-mit-china.html                   Spy                                          By Ellen Barry                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/science After MillionMile Journey Webb Telescope
2022-01-24   2022-01-25 /james-webb-telescope-arrival.html          Reaches Destination Beyond the Moon          By Joey Roulette                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/sports/b
2022-01-24   2022-01-25 aseball/hall-of-fame.html                   Knowing Score If Hall Voters Pitch a Shutout By Tyler Kepner                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/sports/f How Mahomes and Allen Set a Record for
2022-01-24   2022-01-25 ootball/bills-chiefs-nfl-playoffs.html      Playoff Thrills                              By Alanis Thames                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/sports/l Swimmer at Penn Sparks a Debate About
2022-01-24   2022-01-25 ia-thomas-transgender-swimmer.html          Inclusion                                    By Billy Witz                       TX 9-137-858   2022-03-01




                                                                                 Page 3288 of 5793
                        https://www.nytimes.com/2022/01/24/sports/s
2022-01-24   2022-01-25 occer/fabrizio-romano-transfer-rumors.html Here We Go There They Go                     By Rory Smith                      TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/24/style/je
2022-01-24   2022-01-25 welry-hair-boucheron-van-cleef-arpels.html Your hair loves gems too                    By Ming Liu                         TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/24/technol 4 Attorneys General Accuse Google of Secret
2022-01-24   2022-01-25 ogy/google-location-services-lawsuit.html   Tracking                                   By Cecilia Kang                     TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/24/theater/
                        aladdin-broadway-jonathan-freeman-
2022-01-24   2022-01-25 jafar.html                                  A Good Time to Hang Up His Cobra Staff     By Matt Stevens                     TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/24/theater/
2022-01-24   2022-01-25 harry-potter-cursed-child-james-snyder.html Actor Playing Harry Potter Is Fired         By Michael Paulson                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/24/us/geor 3 ExOfficers at Scene of Floyd Death Go on
2022-01-24   2022-01-25 ge-floyd-civil-rights.html                  Trial                                       By Tim Arango                      TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/24/us/polit Democrats Ask for Inquiry Into Use of
2022-01-24   2022-01-25 ics/border-patrol-critical-incident-teams.html Internal Investigators by the Border Patrol By Eileen Sullivan                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/us/polit Cash for Poor Mothers Boosts Brain Activity
2022-01-24   2022-01-25 ics/child-tax-credit-brain-function.html       In Babies Study Finds                       By Jason DeParle                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/us/polit US Troops on High Alert for Possible
2022-01-24   2022-01-25 ics/russia-ukraine-us-troops.html              Deployment                                  By Helene Cooper and Eric Schmitt TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/us/polit
                        ics/supreme-court-affirmative-action-harvard- Justices Take RaceConscious Admission        By Adam Liptak and Anemona
2022-01-24   2022-01-25 unc.html                                       Cases                                       Hartocollis                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/us/thed Judge Lifts Order Stopping Wisconsin
2022-01-24   2022-01-25 acare-lawsuit-wisconsin.html                   Hospital Workers From Starting New Jobs     By Eduardo Medina                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/us/virgi Schools Sue Over an Order That Made Masks
2022-01-24   2022-01-25 nia-mask-mandate-youngkin.html                 Optional                                    By Christine Hauser               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/well/eat Take Comfort These Foods Can Improve
2022-01-24   2022-01-25 /brain-food.html                               Your Mood                                   By Tara ParkerPope                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/well/mi Reduced Dementia Risk Tied to Cataract
2022-01-24   2022-01-25 nd/cataract-surgery-dementia.html              Surgery                                     By Nicholas Bakalar               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/world/a After Day of Violence Military Takes Over in
2022-01-24   2022-01-25 frica/burkina-faso-military-coup.html          Burkina Faso                                By Declan Walsh                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/world/a Defying Taliban Afghan Women Take to            By David Zucchino and Yaqoob
2022-01-24   2022-01-25 sia/afghan-women-taliban-protests.html         Streets                                     Akbary                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/world/e
                        urope/germany-vaccine-mandate-antivax-         Germany Vaccine Mandate Brings Together
2022-01-24   2022-01-25 movement.html                                  Unlikely Coalition of Protesters            By Katrin Bennhold                TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/24/world/e Assange Can Appeal Ruling to Extradite Him By Megan Specia and Charlie
2022-01-24   2022-01-25 urope/julian-assange-extradition-appeal.html To America Court Says                    Savage                               TX 9-137-858     2022-03-01




                                                                                 Page 3289 of 5793
                        https://www.nytimes.com/2022/01/24/world/e Former Pope Admits Role In Meeting About       By Elisabetta Povoledo and Gaia
2022-01-24   2022-01-25 urope/pope-benedict-child-abuse.html           Priest                                     Pianigiani                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/world/e NATO Readies Forces in Eastern Europe          By Michael Schwirtz and Steven
2022-01-24   2022-01-25 urope/ukraine-nato-russia-embassies.html       Amid Growing Threat From Russia            Erlanger                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/world/ Lebanons Former Prime Minister Announces
2022-01-24   2022-01-25 middleeast/saad-hariri-lebanon-quits.html      Retirement                                 By Ben Hubbard                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/world/ US Helps UAE Thwart Attack by Yemen             By Mona ElNaggar and Eric
2022-01-24   2022-01-25 middleeast/us-air-force-uae-attack.html        Rebels                                     Schmitt                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/live/2022/01/24/bus
                        iness/stock-market-economy-news/as-tax-
                        season-kicks-off-a-beleaguered-irs-braces-for- IRS Opens Filing Season On Sour Note For
2022-01-24   2022-01-25 frustration                                    Taxpayers                                  By Alan Rappeport                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/live/2022/01/24/bus
                        iness/stock-market-economy-news/boeing-        Boeing Adds 450 Million To Investment In
2022-01-24   2022-01-25 wisk-investment                                Wisk Aero                                  By Niraj Chokshi                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/live/2022/01/24/bus
                        iness/stock-market-economy-news/tech-stocks
2022-01-24   2022-01-25 bear-market                                    Dozens of Tech Stocks Are in Bear Market   By Stephen Gandel                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/busines Biden Caught on Hot Mic Has Harsh Words
2022-01-25   2022-01-25 s/media/biden-peter-doocy-fox.html             for Fox News Reporter                      By Michael M Grynbaum             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/opinion
2022-01-25   2022-01-25 /done-with-covid.html                          We Cant Be Done With Covid Yet             By Michelle Goldberg              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/opinion
2022-01-25   2022-01-25 /florida-critical-race-theory-de-santis.html   Attack of the RightWing Thought Police     By Paul Krugman                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/sports/b
2022-01-25   2022-01-25 aseball/mlb-lockout.html                       MLB and Players Union Remain Far Apart     By James Wagner                   TX 9-137-858   2022-03-01
                                                                                                                  By Luke Broadwater Alan Feuer
                        https://www.nytimes.com/2022/01/24/us/polit                                               Nick Corasaniti and Michael S
2022-01-25   2022-01-25 ics/trump-documents-jan-6-committee.html What Trump Papers May Tell Jan 6 Panel           Schmidt                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/us/polit As Fears of an Invasion Grow Diplomatic
2022-01-25   2022-01-25 ics/us-russia-ukraine-war.html              Options Remain                                By David E Sanger                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/world/e Omicrons Spread May Lead to Stabilization      By Benjamin Mueller and Marc
2022-01-25   2022-01-25 urope/omicron-pandemic-who.html             and Normalization WHO Official Says           Santora                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/busines
2022-01-25   2022-01-25 s/crypto-mayors.html                        More Mayors Getting Paid With Bitcoin         By David YaffeBellany             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/25/sports/o US Medal Hopeful in Downhill to Miss
2022-01-25   2022-01-25 lympics/breezy-johnson-injury-downhill.html Games With a Knee Injury                  By Bill Pennington                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/us/torn In Tornados Wake a Lingering Trail of
2022-01-25   2022-01-25 adoes-kentucky.html                         Emotional Trauma                          By Rick Rojas                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/world/e With Report Civil Servant May Hold Fate Of
2022-01-25   2022-01-25 urope/sue-gray-report-boris-johnson.html    UK Leader                                 By Stephen Castle                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/world/e Ukrainian Troops Are Left To Play a
2022-01-25   2022-01-25 urope/ukraine-russia-frontline.html         Guessing Game                             By Andrew E Kramer                    TX 9-137-858   2022-03-01




                                                                                Page 3290 of 5793
                        https://www.nytimes.com/2022/01/26/fashion
                        /jewelry-crystals-jacquie-aiche-beverly-hills-
2022-01-26   2022-01-25 california.html                                A Covidera revival crystals                By Alexandra Cheney     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/crossw
2022-01-19   2022-01-26 ords/letter-boxed-tips-and-tricks.html         Level Up Your Letter Boxed Game            By Deb Amlen            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/arts/mu Everett Lee Who Punctured Racial Barriers
2022-01-20   2022-01-26 sic/everett-lee-dead.html                      With His Baton Dies at 105                 By David Allen          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/dining/
2022-01-20   2022-01-26 drinks/new-spanish-red-wine.html               A New Wave of Quality                      By Eric Asimov          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/dining/
2022-01-20   2022-01-26 drinks/orange-wines.html                       Intriguing Genre With a Large Gray Area    By Eric Asimov          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/books/a Ann Arensberg 84 Wrote Dark Mysteries and
2022-01-21   2022-01-26 nn-arensberg-dead.html                         Light Satires                              By Clay Risen           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/dining/
2022-01-21   2022-01-26 drinks/french-75-cocktails.html                One Base Three Drinks for a Range of Kick By Rebekah Peppler       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/dining/
2022-01-21   2022-01-26 singapore-lunar-new-year.html                  Singapore Relishes Its Multiethnic Feasts  By Clarissa Wei         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/dining/t
                        hree-restorative-recipes-to-warm-from-
2022-01-21   2022-01-26 within.html                                    Restorative Recipes to Warm From Within    By Yewande Komolafe     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/dining/
2022-01-24   2022-01-26 best-veggie-burgers-los-angeles.html           A Veggie Burger Sampler                    By Tejal Rao            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/dining/
2022-01-24   2022-01-26 copenhagen-sparkling-tea.html                  To Pour Sparkling Teas Add Spirit to Meals By Florence Fabricant   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/dining/ To Scoop Incorporating Citrus Into This Ice
2022-01-24   2022-01-26 morgensterns-citrus-ice-cream.html             Cream                                      By Florence Fabricant   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/dining/ To Nourish GlutenFree Croissants Find a
2022-01-24   2022-01-26 noglu-gluten-free-pastries.html                Larger Location                            By Florence Fabricant   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/24/dining/r To Prepare Red Boats Founder Offers Recipes
2022-01-24   2022-01-26 ed-boat-cookbook-vietnamese-recipes.html for Tet                                        By Florence Fabricant     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/dining/r
2022-01-24   2022-01-26 estaurant-review-taqueria-ramirez.html      Tender Tacos Emerge From a Hot Tub          By Pete Wells             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/dining/ To Bake New Decorating Kit For Valentine
2022-01-24   2022-01-26 valentine-baking-kit.html                   Treats                                      By Florence Fabricant     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/dining/
2022-01-24   2022-01-26 veggie-burgers-los-angeles.html             Love for the Classic Plant Patty            By Tejal Rao              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/dining/
2022-01-24   2022-01-26 vermont-dairy-sour-cream.html               To Dip The Plush Side Of Sour Cream         By Florence Fabricant     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/opinion
2022-01-24   2022-01-26 /trees-environment.html                     How Do You Mourn A 250YearOld Giant         By Margaret Renkl         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/theater/ Sondheim Beneficiaries Include Arts Groups
2022-01-24   2022-01-26 stephen-sondheim-will-estate-trust.html     and a Gardener                              By Michael Paulson        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/opinion
2022-01-25   2022-01-26 /new-york-rising-crime.html                 The Right Ways to Reduce Crime              By The Editorial Board    TX 9-137-858   2022-03-01



                                                                                Page 3291 of 5793
                        https://www.nytimes.com/2022/01/24/theater/
2022-01-25   2022-01-26 just-for-us-review.html                      Laughter Emerges From Its Slumber           By Laura CollinsHughes        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/arts/dan
                        ce/justin-peck-caroline-shaw-at-city-ballet-
2022-01-25   2022-01-26 partita.html                                 Combining Gravitational Universes           By Roslyn Sulcas              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/arts/des
2022-01-25   2022-01-26 ign/whitney-biennial.html                    Artists Picked to Take the Pulse of Now     By Siddhartha Mitter          TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/25/arts/tele
2022-01-25   2022-01-26 vision/hilary-duff-how-i-met-your-father.html Carrying Her Sparkle From Role To Role       By Alexis Soloski           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/books/r
                        eview-eating-to-extinction-rare-foods-dan-    Celebrating Crop Diversity and Lamenting Its
2022-01-25   2022-01-26 saladino.html                                 Loss                                         By Molly Young              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/busines Berkshire Hathaway Plans To Hold Meeting
2022-01-25   2022-01-26 s/berkshire-hathaway-annual-meeting.html      in Person                                    By Michael J de la Merced   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/busines
                        s/economy/chips-semiconductors-               Alarming Chip Shortage Is Helping Drive      By Ana Swanson and Catie
2022-01-25   2022-01-26 shortage.html                                 Inflation                                    Edmondson                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/busines
2022-01-25   2022-01-26 s/economy/fed-economy.html                    Timing of Fed Policy Pivot Nettles Critics   By Jeanna Smialek           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/busines
                        s/energy-environment/russia-europe-natural- Standoff Hits Europe Already Struggling
2022-01-25   2022-01-26 gas-ukraine.html                              With an Energy Crisis                        By Stanley Reed             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/busines Fashion Nova Is Fined For Hiding Bad
2022-01-25   2022-01-26 s/fashion-nova-reviews.html                   Reviews                                      By Sapna Maheshwari         TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/25/busines GM to Build Battery Plant In Michigan For
2022-01-25   2022-01-26 s/general-motors-electric-vehicle-plant.html Electric Car                                By Neal E Boudette            TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/25/busines Google Unveils Topics a Tracking System for By Daisuke Wakabayashi Kate
2022-01-25   2022-01-26 s/google-topics-chrome-tracking.html       Chrome That Eases Some Privacy Concerns Conger and Brian X Chen             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/busines
2022-01-25   2022-01-26 s/imf-world-economic-report.html           Forecast Dims for US China and World        By Patricia Cohen               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/busines
2022-01-25   2022-01-26 s/new-york-commercial-real-estate.html     Transactions                                By Kristen Bayrakdarian         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/busines
2022-01-25   2022-01-26 s/stock-dips-plunge.html                   Volatility Is High Ahead of Fed Meeting     By Coral Murphy Marcos          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/busines
2022-01-25   2022-01-26 s/stocks-hold-or-sell.html                 Into the Wild                               By Jeff Sommer                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/busines
2022-01-25   2022-01-26 s/suburban-corporate-campuses.html         Urbanizing the Corporate Campus             By Keith Schneider              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/dining/
2022-01-25   2022-01-26 air-fryer.html                             How the Air Fryer Took Off                  By Christina Morales            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/dining/ Mena From Victoria Blamey Opens in
2022-01-25   2022-01-26 nyc-restaurant-openings.html               TriBeCa                                     By Florence Fabricant           TX 9-137-858   2022-03-01



                                                                                  Page 3292 of 5793
                        https://www.nytimes.com/2022/01/25/dining/ No Probe for NY Restaurant That Let Palin
2022-01-25   2022-01-26 sarah-palin-covid-restaurant.html          Dine Indoors                                 By Priya Krishna                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/movies/
2022-01-25   2022-01-26 compartment-no-6-review.html               Strangers on a Train From Moscow             By Manohla Dargis                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/movies/
                        sundance-film-festival-2022-lena-
2022-01-25   2022-01-26 dunham.html                                At a Virtual Sundance Some Real Quality      By AO Scott                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/nyregio Do Debtors Really Need A Lawyer When
2022-01-25   2022-01-26 n/consumer-debt-legal-advice.html          Sued                                         By Andy Newman                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/nyregio Parents and Teachers Vexed After Reversals
2022-01-25   2022-01-26 n/mask-mandate-ny.html                     Of Mask Mandate Ruling                       By Luis FerrSadurn               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/25/nyregio Avenatti Will Represent Himself for Rest of
2022-01-25   2022-01-26 n/michael-avenatti-trial-stormy-daniels.html Trial                                      By Colin Moynihan                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/nyregio Second Officer Dies of Injuries After        By Ali Watkins and Ashley
2022-01-25   2022-01-26 n/wilbert-mora-dead-nypd-shooting.html       Shooting                                   Southall                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/opinion                                              By Ezekiel J Emanuel and Michael
2022-01-25   2022-01-26 /china-covid-19.html                         Chinas ZeroCovid Policy Is Unsustainable   T Osterholm                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/science
2022-01-25   2022-01-26 /japan-moon-ispace.html                       Japanese Company Plans Lunar Landing      By Joey Roulette                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/sports/b
2022-01-25   2022-01-26 aseball/david-ortiz-hall-of-fame.html        Ortiz Hits One More Beyond The Wall        By Tyler Kepner                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/sports/f After a Season Without Brees Payton Decides
2022-01-25   2022-01-26 ootball/sean-payton-saints-coach.html        to Step Down From the Saints               By Ken Belson                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/sports/n
                        caabasketball/seton-hall-st-johns-walsh-
2022-01-25   2022-01-26 gym.html                                     For One Night the Big East Goes Old School By Billy Witz                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/sports/t Former Rising Star Finds That This Is Her
2022-01-25   2022-01-26 ennis/madison-keys-australian-open.html      Moment                                     By Christopher Clarey            TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/25/sports/t Nadal Takes His Time to Beat Shapovalov
2022-01-25   2022-01-26 ennis/nadal-shapovalov-australian-open.html Who Charges Favoritism                      By Christopher Clarey            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/technol Microsoft Profits Rise 21 Beating Wall St
2022-01-25   2022-01-26 ogy/microsoft-earnings-q2-2022.html         Projections                                 By Karen Weise                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/theater/
2022-01-25   2022-01-26 broadway-tours-omicron.html                 Omicron Upends Broadway Touring             By Michael Paulson               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/us/linco In a Georgia County Deep Distrust of a Plan
2022-01-25   2022-01-26 ln-georgia-voting-rights.html               to Close Polling Places                     By Richard Fausset               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/us/polit Federal Court Orders Alabama To Rework Its By Nick Corasaniti and Reid J
2022-01-25   2022-01-26 ics/alabama-redistricting-map-court.html    New Voting Maps                             Epstein                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/us/polit Afghan Commandos Trained by the CIA Still By Julian E Barnes Thomas
2022-01-25   2022-01-26 ics/cia-afghan-fighters-commandos.html      Await US Visas                              GibbonsNeff and Charlie Savage   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/us/polit
                        ics/coronavirus-democrats-midterm-          Democrats Shy From a Return To Strict       By Trip Gabriel Lisa Lerer and
2022-01-25   2022-01-26 elections.html                              Limits                                      Jennifer Medina                  TX 9-137-858   2022-03-01



                                                                               Page 3293 of 5793
                        https://www.nytimes.com/2022/01/25/us/polit
                        ics/russia-ukraine-propaganda-              A Second Front Of the Ukraine Crisis Russian
2022-01-25   2022-01-26 disinformation.html                         Propaganda                                   By Julian E Barnes             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/25/us/polit US Seeks Other Sources of Gas and Oil in
2022-01-25   2022-01-26 ics/us-europe-fuel-supply-russian-cutoff.html Case Russia Cuts Supply                  By David E Sanger                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/us/sat- Put Down Your No 2 Pencil SAT Will Go
2022-01-25   2022-01-26 test-digital.html                             Digital by 2024                          By Stephanie Saul                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/us/selec At Top Public School Asian Students
2022-01-25   2022-01-26 tive-high-schools-brooklyn-tech.html          Question Segregation Label               By Michael Powell                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/world/a After Coup in Burkina Faso Supporters Seek
2022-01-25   2022-01-26 frica/burkina-faso-coup-russians.html         Russias Help                             By Declan Walsh                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/world/a Frank Dutton 72 Dies Police Leader Who Dug
2022-01-25   2022-01-26 frica/frank-dutton-dead.html                  Into Apartheids Crimes                   By Clay Risen                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/world/a
                        mericas/guatemala-crimes-against-             Guatemala Sentences ExFighters For
2022-01-25   2022-01-26 humanity.html                                 Atrocities                               By Oscar Lopez and Jody Garca    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/world/a Leprosy Hospital Offers Healing and a Haven
2022-01-25   2022-01-26 sia/india-leprosy-treatment-sivananda.html    to the Shunned                           By Jeffrey Gettleman             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/25/world/a Why Has North Korea Suddenly Launched So
2022-01-25   2022-01-26 sia/north-korea-launches-missiles-kim.html Many Missiles                            By Choe SangHun                     TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/25/world/a Chinese Firm Took Over Australian Leaders
2022-01-25   2022-01-26 ustralia/scott-morrison-wechat-account.html WeChat Account                           By Yan Zhuang and John Liu         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/world/e Germany Wavers on Ukraine and Allies
2022-01-25   2022-01-26 urope/germany-russia-nato-ukraine.html      Worry                                    By Katrin Bennhold                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/world/e Heavy Snow Strands Drivers in Greece and
2022-01-25   2022-01-26 urope/greece-turkey-snow.html               Turkey                                   By Niki Kitsantonis                TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/25/world/e UK Police Investigating Parties at Downing By Mark Landler and Stephen
2022-01-25   2022-01-26 urope/uk-boris-johnson-parties-police.html  Street                                      Castle                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/world/e Ukraine Leaders React to Threat With Air of
2022-01-25   2022-01-26 urope/ukraine-russia-invasion.html          Calm                                        By Michael Schwirtz             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/world/ In Its Biggest Confrontation With ISIS in
2022-01-25   2022-01-26 middleeast/isis-syria.html                  Years the US Fights a Resurgence            By Jane Arraf and Ben Hubbard   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/opinion Did We Miss Bidens Most Important Remark
2022-01-26   2022-01-26 /president-biden-russia-ukraine.html        About Russia                                By Thomas L Friedman            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/opinion
2022-01-26   2022-01-26 /ukraine-russia-putin.html                  Bring Back The Free World                   By Bret Stephens                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/theater/
2022-01-26   2022-01-26 long-days-journey-into-night-review.html    A Classic Set in 1912 Makes Its Way to 2022 By Jesse Green                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/us/polit Justice Dept Is Reviewing Fake Electors For
2022-01-26   2022-01-26 ics/justice-department-trump.html           Trump                                       By Katie Benner                 TX 9-137-858   2022-03-01




                                                                                 Page 3294 of 5793
                        https://www.nytimes.com/2022/01/25/us/polit Legal Challenge Hangs on Word
2022-01-26   2022-01-26 ics/madison-cawthorn-jan-6.html              Insurrectionist                          By Jonathan Weisman                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/19/well/liv Your New Hybrid Immunity Isnt a
2022-01-19   2022-01-27 e/breakthrough-covid-immunity.html           Superpower                               By Dani Blum                         TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/19/well/mi
2022-01-19   2022-01-27 nd/anxiety-benefits.html                     Here to Help How Anxiety Can Benefit Us  By Christina Caron                   TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/21/style/an
2022-01-21   2022-01-27 dre-leon-talley-mentor-in-chief.html         Under His Wing a Select Few Flourished   By Andr Wheeler                      TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/22/busines Harvey G Stack 93 Innovative Patriarch Of
2022-01-22   2022-01-27 s/harvey-g-stack-dead.html                   CoinDealing Family                       By Sam Roberts                       TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/22/style/ni
2022-01-22   2022-01-27 go-kenzo.html                                Another Kind of Cool at Kenzo            By Jessica Testa                     TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/23/arts/mu Dan Einstein 61 Independent Producer And a
2022-01-23   2022-01-27 sic/dan-einstein-dead.html                   Champion of SingerSongwriters            By Bill FriskicsWarren               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/24/opinion
2022-01-24   2022-01-27 /crypto-blockchain-nfts.html                 The Blockchains Strange Allure           By Tressie McMillan Cottom           TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/25/arts/des
                        ign/jehovahs-witnesses-nazis-lawsuit-        Jehovahs Witnesses Sue German Museum
2022-01-25   2022-01-27 museum.html                                  Over Archive                             By Catherine Hickley                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/25/arts/tele John Stamos on How Bob Saget Grew Into a
2022-01-25   2022-01-27 vision/john-stamos-bob-saget.html            Friend                                   By Kathryn Shattuck                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/25/nyregio He Was in Witness Protection in Maine But
2022-01-25   2022-01-27 n/alpo-martinez-death.html                   Harlem Kept Calling                      By Ali Watkins                       TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/25/opinion
2022-01-25   2022-01-27 /electoral-count-act-democracy.html          Politics Is The Art of The Possible      By Larry Diamond                     TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/25/theater/ New Playwrights Given An Avenue to the
2022-01-25   2022-01-27 black-list-theater.html                      Stage                                    By Michael Paulson                   TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/25/world/e After Autocrat Falls Kazakhs Hunger for
2022-01-25   2022-01-27 urope/kazakhstan-nursultan-nazarbayev.html Change                                           By Valerie Hopkins             TX 9-137-858    2022-03-01
                        https://www.nytimes.com/live/2022/01/25/art
                        s/arts-pop-culture-entertainment-news/books-
                        from-justice-ruth-bader-ginsburgs-personal- Imagine Browsing in Ruth Bader Ginsburgs
2022-01-25   2022-01-27 library-are-on-sale                          Library                                        By Matt Stevens                TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/25/nyregio
2022-01-26   2022-01-27 n/sean-caddle-hitman-hitmen.html             Consultant Admits Hiring 2 to Kill Associate   By Ed Shanahan and Tracey Tully TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/arts/dat
2022-01-26   2022-01-27 ing-podcasts-love.html                       On Podcasts the Sound Of Falling in Love       By Reggie Ugwu                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/26/arts/mu
2022-01-26   2022-01-27 sic/anthony-roth-costanzo-ny-phil.html       A Singer Brings His Authentic Self             By Joshua Barone               TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/26/arts/tele
2022-01-26   2022-01-27 vision/gomorrah-final-season-review.html     A Final Showdown For a Gangster Saga           By Mike Hale                   TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/26/arts/tele
2022-01-26   2022-01-27 vision/michael-k-williams-black-market.html With a Little Help From His Friends             By Julia Jacobs                TX 9-137-858    2022-03-01



                                                                                  Page 3295 of 5793
                        https://www.nytimes.com/2022/01/26/books/r
                        eview-civil-rights-queen-constance-baker-
2022-01-26   2022-01-27 motley-tomiko-brown-nagin.html             A Brave and Brilliant Trailblazers Tale         By Jennifer Szalai              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/busines El Salvadors Crypto Embrace Prompts
2022-01-26   2022-01-27 s/bitcoin-el-salvador.html                 Warning From IMF                                By Ephrat Livni                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/busines Boeing Posts 42 Billion Loss in Fourth
2022-01-26   2022-01-27 s/boeing-earnings.html                     Quarter                                         By Niraj Chokshi                TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/26/busines
2022-01-26   2022-01-27 s/economy/fed-interest-rates-inflation.html Fed Indicates It Will Increase Rates in March By Jeanna Smialek                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/busines 3 New Faces None Named Gates Join
2022-01-26   2022-01-27 s/gates-foundation-new-trustees.html        Foundation                                    By Nicholas Kulish               TX 9-137-858   2022-03-01
                                                                    Jeff Zucker Hired Chris Wallace And Audie
                        https://www.nytimes.com/2022/01/26/busines Cornish And Alison Roman And Eva               By John Koblin and Michael M
2022-01-26   2022-01-27 s/media/cnn-plus-streaming-news.html        Longoria Will You Subscribe to CNN            Grynbaum                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/busines Jana Bennett 66 Who Reimagined Science
2022-01-26   2022-01-27 s/media/jana-bennett-dead.html              Programming on BBC Dies                       By Katharine Q Seelye            TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/26/busines Mattel Wins Back the Frozen And Disney
2022-01-26   2022-01-27 s/media/mattel-disney-princess-frozen.html Princess Toy Lines                         By Julie Creswell                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/busines Tesla Reports Record Yearly Profit Amid
2022-01-26   2022-01-27 s/tesla-earnings.html                       Supply Chain Woes                         By Neal E Boudette                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/busines Danish Wind Giant Warns of Supply Chain
2022-01-26   2022-01-27 s/vestas-annual-earnings-2021.html          Issues                                    By Stanley Reed                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/climate Even Low Amounts of Soot Pose Threat
2022-01-26   2022-01-27 /air-pollution-study-epa.html               Study Shows                               By Lisa Friedman                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/climate EPA Vows to Do Better For Poorer
2022-01-26   2022-01-27 /epa-environmental-justice-regan.html       Communities                               By Lisa Friedman                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/movies/
                        anders-danielsen-lie-worst-person-in-the-
2022-01-26   2022-01-27 world.html                                  This Doctors Side Gig Acting              By Kyle Buchanan                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/sports/j An NBA Icon Reflects on Losing Two of His
2022-01-26   2022-01-27 erry-west-kobe-bryant-death.html            Closest Friends in the Game               By Tania Ganguli                     TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/26/sports/t They Have the Talent But He Teaches Them By Matthew Futterman and Alana
2022-01-26   2022-01-27 ennis/australian-open-crowe-barty-alcott.html It Takes Positivity Too                Holmberg                              TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/26/sports/t Wobbly but Standing After a Grueling Road
2022-01-26   2022-01-27 ennis/medvedev-nadal-tsitsipas-berrettini.html To the Mens Semifinals                      By Christopher Clarey           TX 9-137-858   2022-03-01
                                                                       The Spotlight Shifted Away From a Chinese
                        https://www.nytimes.com/2022/01/26/sports/t Tennis Star Some Players and Fans Want It      By Christopher Clarey and Ben
2022-01-26   2022-01-27 ennis/peng-shuai-china-australian-open.html Back                                           Rothenberg                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/style/hu
2022-01-26   2022-01-27 go-boss-rebrand.html                           Can Hugo Boss Actually Be Cool              By Andr Wheeler                 TX 9-137-858   2022-03-01




                                                                                  Page 3296 of 5793
                        https://www.nytimes.com/2022/01/26/style/m
2022-01-26   2022-01-27 en-fashion-shows-paris.html                 Hybrids the Metaverse and the Dandy Effect By Guy Trebay                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/technol John Arrillaga Sr 84 Developer Shaped
2022-01-26   2022-01-27 ogy/john-arrillaga-sr-dead.html             Silicon Valley                             By Erin Woo                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/technol
2022-01-26   2022-01-27 ogy/personaltech/oura-ring-3-review.html    Smart Ring Is Wearable Not Reliable        By Brian X Chen                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/technol YouTube Bars a RightWing Host for Making
2022-01-26   2022-01-27 ogy/youtube-bans-dan-bongino.html           False Covid Claims                         By Daisuke Wakabayashi         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/us/calif
                        ornia-redwoods-native-american-             Ownership of Tract of Redwood Trees in
2022-01-26   2022-01-27 conservation.html                           California Is Returned to Native Tribes    By Isabella Grulln Paz         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/us/caps Rise in Migrants at Sea Poses a Worry for   By Frances Robles and Miriam
2022-01-26   2022-01-27 ized-boat-florida.html                      Biden                                      Jordan                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/us/polit Filibuster Isnt Option on Nomination of
2022-01-26   2022-01-27 ics/biden-scotus-nominee-filibuster.html    Justice                                    By Carl Hulse                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/us/polit Taiwan Microchips and the Potential for a
2022-01-26   2022-01-27 ics/computer-chip-shortage-taiwan.html      USChina Conflict                           By Julian E Barnes             TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/26/us/polit
2022-01-26   2022-01-27 ics/democrats-china-competitiveness-bill.html Revived Push To Shore Up US Industry       By Catie Edmondson           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/us/polit A Staunch Protector of the Court Who
2022-01-26   2022-01-27 ics/justice-stephen-breyer.html               Rejected Labels Like Liberal               By Adam Liptak               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/us/polit Critic of NYPD Grapples With Deaths of 2
2022-01-26   2022-01-27 ics/kristin-richardson-jordan-nypd.html       Officers                                   By Katie Glueck              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/us/polit GOP Divided Between Traditional Hawks
2022-01-26   2022-01-27 ics/republicans-ukraine.html                  and Isolationist Trump Loyalists           By Jonathan Weisman          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/us/step
2022-01-26   2022-01-27 hen-breyer-retire-supreme-court.html          Breyer to Retire Giving Biden a Court Pick By Adam Liptak               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/world/a Outrage and Fear Among Journalists in
2022-01-26   2022-01-27 mericas/mexico-journalists-killings.html      Mexico After a Rash of Killings            By Oscar Lopez               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/world/a Olavo de Carvalho Leader of Brazils FarRight
2022-01-26   2022-01-27 mericas/olavo-de-carvalho-dead.html           Movement Dies at 74                        By Jack Nicas                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/world/a
2022-01-26   2022-01-27 ustralia/aboriginal-flag.html                 Australia Buys Rights To a Flag            By Yan Zhuang                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/world/e Johnson Is Dealt New Blow Over His Role in
2022-01-26   2022-01-27 urope/boris-johnson-lockdown-party.html       Afghan Rescue of Dogs and Cats             By Stephen Castle            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/world/e In Britain an EverGrowing Backlog of
2022-01-26   2022-01-27 urope/coronavirus-uk-nhs-backlog.html         NonCovid Care                              By Megan Specia              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/world/e Macron Recognizes Tragic Page of Frances
2022-01-26   2022-01-27 urope/macron-algeria-pieds-noirs.html         Past in Algeria as Elections Loom          By Constant Mheut            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/world/e On Every Topic but One Putins Often Heard By Anton Troianovski and Jason
2022-01-26   2022-01-27 urope/putin-ukraine.html                      From                                       Horowitz                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/world/
                        middleeast/palestinian-american-dies-israel- Man Held by Israel Said To Die of Heart
2022-01-26   2022-01-27 autopsy.html                                  Attack                                     By Raja Abdulrahim           TX 9-137-858   2022-03-01



                                                                               Page 3297 of 5793
                        https://www.nytimes.com/2022/01/26/world/ Kurdishled Forces Retake Prison in Syria
2022-01-26   2022-01-27 middleeast/syria-isis.html                     Ending SixDay Siege by ISIS               By Ben Hubbard                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/world/
                        middleeast/syria-prison-hostage-boys-          Battle Puts Global Focus On 700 Boys In
2022-01-26   2022-01-27 isis.html                                      Detention                                 By Ben Hubbard                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/live/2022/01/26/bus
                        iness/fed-rate-decision-stocks-
                        inflation/general-motors-plans-8000-hires-this-General Motors Plans to Hire 8000 Workers
2022-01-26   2022-01-27 year-in-high-tech-jobs                         in High Tech                              By Neal E Boudette               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/nyregio
2022-01-27   2022-01-27 n/alvin-bragg-gun-violence.html                After Backlash DA Vows to Fight Gun Crime By Jonah E Bromwich              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/opinion
2022-01-27   2022-01-27 /breyer-supreme-court-retirement.html          The Right Justice for the Wrong Age       By Linda Greenhouse              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/opinion Biden Promised a Black Woman on the
2022-01-27   2022-01-27 /supreme-court-black-woman.html                Supreme Court                             By Charles M Blow                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/sports/b Immortals on a Pedestal Many With Feet of
2022-01-27   2022-01-27 aseball/carlos-beltran-hall-of-fame.html       Clay                                      By Tyler Kepner                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/style/a
2022-01-27   2022-01-27 my-schneider-jeopardy.html                     The Streak Is Over The Wins Continue      By Shane ONeill                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/theater/
2022-01-27   2022-01-27 skeleton-crew-review.html                      Making Quick Work of Hard Labor           By Jesse Green                   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/26/us/polit With the Announcement Democrats Receive a
2022-01-27   2022-01-27 ics/democrats-stephen-breyer-retirement.html Dose Of Cautious Optimism                  By Katie Rogers and Annie Karni   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/us/polit In Response to Russia US and Allies Open    By Michael Crowley and David E
2022-01-27   2022-01-27 ics/russia-demands-us-ukraine.html           Areas for Negotiations                     Sanger                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/us/polit With Midterms on Horizon Senate Democrats
2022-01-27   2022-01-27 ics/senate-democrats-breyer-vacancy.html     Vow a Speedy Hearing                       By Carl Hulse                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/us/polit
                        ics/supreme-court-nominee-black-                                                        By Michael D Shear and Charlie
2022-01-27   2022-01-27 woman.html                                   Chance to Name Black Woman as Pledged      Savage                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/world/a
2022-01-27   2022-01-27 sia/north-korea-missile-test.html            North Korea Launches 2 Missiles Seoul Says By Choe SangHun                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/health/
2022-01-27   2022-01-27 omicron-covid-pandemic.html                  Omicron Ebbs but Ending Is Not Written Yet By Apoorva Mandavilli             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/style/he
2022-01-27   2022-01-27 len-with-the-gold-teeth-grills.html          A Stylist for Teeth Finds Her Niche        By Sandra E Garcia                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/style/th
2022-01-27   2022-01-27 ursday-dating-app-mixers.html                Beyond the Swipe The Return of Mixers      By Becky Hughes                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/world/e Putin Overhauled HollowedOut Russian         By Anton Troianovski Michael
2022-01-27   2022-01-27 urope/russia-military-putin-ukraine.html     Forces                                     Schwirtz and Andrew E Kramer      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/23/arts/mu Badal Roy 82 Who Fused Indian Rhythms
2022-01-23   2022-01-28 sic/badal-roy-dead.html                      With Jazz                                  By Jon Pareles                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/arts/ste Steve Schapiro Photojournalist of Social
2022-01-24   2022-01-28 ve-schapiro-dead.html                        Justice and Celebrity Dies at 87           By Katharine Q Seelye             TX 9-137-858   2022-03-01



                                                                                Page 3298 of 5793
                        https://www.nytimes.com/2022/01/24/opinion We Cant Work It Out Why I Finally Broke
2022-01-24   2022-01-28 /the-beatles-music.html                    Up With the Beatles                         By Josh Max                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/technol Wheres the Next Big Idea Is Innovation
2022-01-24   2022-01-28 ogy/silicon-valley-next-big-thing.html     Slowing Down                                By Cade Metz                 TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/25/movies/
2022-01-25   2022-01-28 beyond-the-infinite-two-minutes-review.html Beyond the Infinite Two Minutes            By Jeannette Catsoulis       TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/26/arts/des
2022-01-26   2022-01-28 ign/liz-larner-sculptures-scuplturecenter.html Oh the Places Sculpture Will Go       By Karen Rosenberg             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/arts/mu Spotify Removes Neil Young Songs in Covid
2022-01-26   2022-01-28 sic/spotify-neil-young-joe-rogan.html          Dispute                               By Ben Sisario                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/arts/mu
2022-01-26   2022-01-28 sic/sweden-kpop-bts-red-velvet.html            A New Swedish Export KPop             By Alex Marshall               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/26/opinion
2022-01-26   2022-01-28 /biden-covid-american-disappointment.html The Year of American Disappointment           By Ross Douthat             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/opinion
2022-01-26   2022-01-28 /jobs-great-resignation.html                 Is the Great Resignation Overblown         By Peter Coy                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/us/wild California Acts to Keep New Homes From
2022-01-26   2022-01-28 fire-development-california-legal.html       Sprouting in Fires Path                    By Sophie Kasakove          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/movies/
2022-01-27   2022-01-28 sundown-review.html                          Sundown                                    By Beandrea July            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/arts/des Botticelli Sells at Sothebys In 454 Million
2022-01-27   2022-01-28 ign/botticelli-sothebys-auction.html         Auction                                    By Scott Reyburn            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/arts/des
2022-01-27   2022-01-28 ign/david-byrne-pace-talking-heads.html      David Byrne Uses Art To Draw Connections By Frank Rose                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/arts/des
2022-01-27   2022-01-28 ign/tauba-auerbach-sfmoma.html               Unspooling the Mysteries of the Universe   By Tausif Noor              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/arts/mu Don Wilson 88 Ventures Guitarist Who Gave
2022-01-27   2022-01-28 sic/don-wilson-dead.html                     Group Its Rhythm Dies                      By Neil Genzlinger          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/arts/mu Lucy Rowan Mann 100 Mentor and Doyenne
2022-01-27   2022-01-28 sic/lucy-rowan-mann-dead.html                of a Prime Classical Music Prize           By Annabelle Williams       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/arts/mu
                        sic/peter-grimes-jonas-kaufmann-lise-
2022-01-27   2022-01-28 davidsen.html                                A Starry Cast In Vienna                    By Joshua Barone            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/arts/tele
                        vision/afterparty-w-kamau-bell-bill-
2022-01-27   2022-01-28 cosby.html                                   This Weekend I Have                        By Alexis Soloski           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/books/f History and Tangled Tales Are Coming in
2022-01-27   2022-01-28 ebruary-new-books.html                       February                                   By Joumana Khatib           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/busines                                              By Jeanna Smialek and Ben
2022-01-27   2022-01-28 s/economy/biden-economy-politics.html        If GDP Is Up Why Do Voters Feel So Down Casselman                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/busines
2022-01-27   2022-01-28 s/lamborghini-huracan-what3words.html        3 Little Words Point Way for a Lamborghini By Robert C Yeager          TX 9-137-858   2022-03-01



                                                                                Page 3299 of 5793
                        https://www.nytimes.com/2022/01/27/busines                                            By Maureen Farrell and Andrew
2022-01-27   2022-01-28 s/marcelo-claure-softbank.html             SoftBank Deputy Will Depart After Pay Spat Ross Sorkin                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/busines
2022-01-27   2022-01-28 s/mcdonalds-earnings.html                  Higher Prices Lift McDonalds Revenue       By Julie Creswell               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/27/busines Nissan and Renault Seek Stronger Ties With
2022-01-27   2022-01-28 s/nissan-renault-mitsubishi-electric-cars.html Commitment to Electric Cars              By Ben Dooley                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/busines
2022-01-27   2022-01-28 s/robinhood-meme-stocks.html                   MemeStock Fallout Lingers Over Robinhood By Ephrat Livni               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/27/busines
2022-01-27   2022-01-28 s/southwest-airlines-earnings-4q-2021.html Southwest Posts 68 Million Quarterly Profit By Niraj Chokshi               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/busines
2022-01-27   2022-01-28 s/stock-market-today.html                  After an Early Rally Stocks Fall Again      By Coral Murphy Marcos         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/busines Economy in 2021 Surged by 57 Best in
2022-01-27   2022-01-28 s/us-gdp-4q-2021.html                      Decades                                     By Talmon Joseph Smith         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/climate Kerry Tells Top Polluters We All Must Move
2022-01-27   2022-01-28 /john-kerry-climate-emissions.html         Faster To Fight Climate Change              By Lisa Friedman               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/fashion
2022-01-27   2022-01-28 /watches-ciga-design-china.html            A winning Chinese brand                     By Victoria Gomelsky           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/fashion
2022-01-27   2022-01-28 /watches-gender-zenith.html                Taking gender out of watches                By Nazanin Lankarani           TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/27/fashion
2022-01-27   2022-01-28 /watches-gerald-genta-auction-sothebys.html First paintings then a watch               By Ming Liu                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/fashion
2022-01-27   2022-01-28 /watches-lvmh-stephane-bianchi.html         LVMH is aiming higher                      By Robin Swithinbank           TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/27/fashion
2022-01-27   2022-01-28 /watches-preowned-sales-richard-mille.html Richard Mille bets on retail             By Ming Liu                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/fashion
                        /watches-urban-jurgensen-voutilainen-
2022-01-27   2022-01-28 switzerland.html                           A brand as family affair                 By Rachel Felder                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/health/ Dr Johan Hultin 97 Whose Work Helped Map
2022-01-27   2022-01-28 dr-johan-hultin-dead.html                  1918 Pandemic Dies                       By Gina Kolata                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/movies/
2022-01-27   2022-01-28 a-taste-of-hunger-review.html              A Taste of Hunger                        By Teo Bugbee                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/movies/
2022-01-27   2022-01-28 clean-review.html                          Clean                                    By Glenn Kenny                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/movies/
2022-01-27   2022-01-28 futura-review.html                         For Young Italians a Future Grows Tense  By AO Scott                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/movies/
2022-01-27   2022-01-28 la-soga-salvation-review.html              La Soga Salvation                        By Beatrice Loayza                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/movies/
2022-01-27   2022-01-28 the-conductor-review.html                  The Conductor                            By Ben Kenigsberg                 TX 9-137-858   2022-03-01



                                                                                  Page 3300 of 5793
                        https://www.nytimes.com/2022/01/27/movies/
2022-01-27   2022-01-28 the-fallout-review.html                    The Fallout                                 By Claire Shaffer                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/27/movies/
2022-01-27   2022-01-28 they-them-us-review.html                   TheyThemUs                                  By Calum Marsh                    TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/27/nyregio Mayor Gets Approval From Board to Hire      By Dana Rubinstein and Michael
2022-01-27   2022-01-28 n/eric-adams-brother-bernard.html          Brother but at Salary of 1 Not 210000       Rothfeld                          TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/27/nyregio With New Terminal La Guardia Airport Goes
2022-01-27   2022-01-28 n/la-guardia-airport-terminal-completion.html From Worst to Best                      By Patrick McGeehan                TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/27/nyregio
                        n/lauren-smith-fields-bumble-date-            She Died After a Date Her Family Had to
2022-01-27   2022-01-28 investigation.html                            Beg The Police for Answers              By Lola Fadulu                     TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/27/nyregio He Stole From Me Adult Film Star Confronts
2022-01-27   2022-01-28 n/michael-avenatti-stormy-daniels-trial.html Avenatti at His Fraud Trial              By Colin Moynihan                  TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/27/nyregio Graft Inquiry Shadows Adams AntiCrime           By Michael Rothfeld William K
2022-01-27   2022-01-28 n/philip-banks-corruption-investigation.html Aide                                          Rashbaum and Jan Ransom         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/opinion                                                 By Meghan L OSullivan and Jason
2022-01-27   2022-01-28 /ukraine-russia-europe-gas.html              Russia Is Not a Dying Petrostate Yet          Bordoff                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/podcast
2022-01-27   2022-01-28 s/brighton-4th-review.html                   Brighton 4th                                  By Nicolas Rapold               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/sports/s FIFAs Handling of Harassment Claim Raises
2022-01-27   2022-01-28 occer/fifa-legends-sexual-harassment.html    Questions                                     By Tariq Panja                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/sports/t New Technology Helps Blind Fans Follow the
2022-01-27   2022-01-28 ennis/australian-open-blind-fans.html        Action                                        By Amanda Morris                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/sports/t
2022-01-27   2022-01-28 ennis/barty-collins-australian-open.html     Its Set World No 1 vs Americas No 1           By Christopher Clarey           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/sports/t An Emotional Farewell For a Cultural
2022-01-27   2022-01-28 ennis/dylan-alcott-australian-open.html      Presence Who Inspired a Nation                By Ben Rothenberg               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/technol
2022-01-27   2022-01-28 ogy/apple-earnings.html                      Apples Profit Jumps to 346 Billion            By Kellen Browning              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/theater/
2022-01-27   2022-01-28 exponential-festival.html                    Exponential Festival Pivots for Pandemic      By Elisabeth Vincentelli        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/us/caps
2022-01-27   2022-01-28 ized-boat-search-suspended.html              Coast Guard To End Search For Survivors By Neil Vigdor                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/us/polit
2022-01-27   2022-01-28 ics/biden-breyer-retire.html                 Biden to Name Pick for Court Within Month By Michael D Shear                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/us/polit
                        ics/democrats-voting-rights-bill-
2022-01-27   2022-01-28 negotiation.html                             Serious Talks and Misgivings on a Voting Bill By Carl Hulse                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/us/polit US Outlines New Strategy For Reducing
2022-01-27   2022-01-28 ics/dot-traffic-deaths-plan.html             Traffic Deaths                                By Madeleine Ngo                TX 9-137-858   2022-03-01




                                                                                Page 3301 of 5793
                        https://www.nytimes.com/2022/01/27/us/polit Before Consent Comes Plenty of Advice
2022-01-27   2022-01-28 ics/mcconnell-supreme-court-nominee.html About Nomination to the Court                   By Jonathan Weisman                TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/27/us/polit Courts Rightward Lurch Is Unlikely to Be
2022-01-27   2022-01-28 ics/new-justice-supreme-court.html          Thwarted By Breyers Replacement              By Adam Liptak                     TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/27/us/polit
2022-01-27   2022-01-28 ics/north-korea-biden-missile-tests.html    North Korea Gives US A New Crisis to Avert By Edward Wong                       TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/27/us/polit Austin Orders Military Changes After Rash of By Eric Schmitt Charlie Savage and
2022-01-27   2022-01-28 ics/us-airstrikes-rand-report.html          Civilian Casualties                          Azmat Khan                         TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/27/us/texa Texas Struggles to Prosecute Migrants as
2022-01-27   2022-01-28 s-migrants-operation-lone-star.html         Cases Mount Amid a Shortage of Judges        By J David Goodman                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/27/world/a With Schools Closed Hope Fades for a Lost By Emily Schmall and Sameer
2022-01-27   2022-01-28 sia/india-schools.html                      Generation in India                          Yasir                              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/27/world/e
                        urope/boris-johnson-report-downing-street- In a Precarious Spot Johnson Vows to Release
2022-01-27   2022-01-28 parties.html                                the Full Report on Lockdown Parties          By Stephen Castle                  TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/27/world/e Gunman Kills Five People At a Factory In
2022-01-27   2022-01-28 urope/ukraine-rocket-factory-shooting.html Ukraine                                       By Andrew E Kramer                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/world/e
                        urope/ukraine-russia-nato-smith-           A NATO Nerd Trying to Unite Allies in the
2022-01-27   2022-01-28 ambassador.html                            Middle of a Standoff                          By Steven Erlanger                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/world/
                        middleeast/a-metoo-moment-shakes-israels- Echoes of MeToo Shake the Insular
2022-01-27   2022-01-28 ultra-orthodox.html                        UltraOrthodox of Israel                       By Isabel Kershner                  TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/27/world/ Jordans Army Kills 27 in a Drug Raid on the
2022-01-27   2022-01-28 middleeast/jordan-drug-smugglers-syria.html Syrian Border                                 By Cora Engelbrecht                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/world/ USBacked Kurdish Forces Are Still Battling
2022-01-27   2022-01-28 middleeast/syria-isis-prison.html           ISIS Fighters at Prison in Syria              By Jane Arraf and Sangar Khaleel   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/climate
2022-01-28   2022-01-28 /federal-court-drilling-gulf.html           Court Cancels Leases in Gulf For Oil Drilling By Lisa Friedman                   TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/27/opinion
2022-01-28   2022-01-28 /cryptocurrency-subprime-vulnerable.html    How Crypto Became the New Subprime           By Paul Krugman                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/sports/s
                        occer/usmnt-el-salvador-world-cup-
2022-01-28   2022-01-28 qualifier.html                              US Moves Step Closer To World Cup            By Andrew Das                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/world/a Harris in Central America Hoping to Deter     By Zolan KannoYoungs and
2022-01-28   2022-01-28 mericas/harris-honduras-migration.html      Migration                                    Natalie Kitroeff                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/busines Epstein Left an Estate Worth 600 Million
2022-01-28   2022-01-28 s/jeffrey-epstein-estate.html               Where Is It All Going                        By Matthew Goldstein                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/busines                                               By Alexandra Stevenson and
2022-01-28   2022-01-28 s/olympic-sponsors-china-beijing.html       Olympic Sponsors to Stick With Beijing       Steven Lee Myers                    TX 9-137-858   2022-03-01




                                                                                 Page 3302 of 5793
                        https://www.nytimes.com/2022/01/28/fashion
2022-01-28   2022-01-28 /watches-lvmh-watch-week.html               New wow for a new year                     By Robin Swithinbank              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/insider/
2022-01-28   2022-01-28 molly-young.html                            Turning Pages Taking Plunges               By Terence McGinley               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/world/e In Standoff With Putin Biden Is Making Sure By Mark Landler Steven Erlanger
2022-01-28   2022-01-28 urope/biden-putin-ukraine-europe.html       Allies Are Behind Him                      and David E Sanger                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/arts/mu
2022-01-21   2022-01-29 sic/anna-von-hausswolff-satanist.html       An Organist For Satan She Can Only Laugh By Alex Marshall                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/your-
2022-01-25   2022-01-29 money/pslf-relief.html                      Portraits of Relief                        By Ron Lieber                     TX 9-137-858   2022-03-01

                        https://www.nytimes.com/interactive/2022/01/ The US Labor Movement Is Popular
2022-01-25   2022-01-29 25/business/unions-amazon-starbucks.html     Prominent and Also Shrinking             By Taylor Johnston                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/arts/tele
                        vision/great-pottery-throw-down-keith-brymer
2022-01-26   2022-01-29 jones.html                                   Fetch Clay Add Tears and Make Television By Eleanor Stanford                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/sports/j Jim Drake Photographer Who Captured
2022-01-26   2022-01-29 im-drake-dead.html                           Namath On Broadway Dies at 89            By Richard Sandomir                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/theater/ Broadway Grosses Fall As Shows Are
2022-01-26   2022-01-29 broadway-grosses-omicron.html                Closing                                  By Michael Paulson                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/opinion
2022-01-27   2022-01-29 /breyer-supreme-court.html                   The Willful Navet of Justice Breyer      By Jeff Shesol                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/sports/f
                        ootball/patrick-mahomes-joe-burrow-          Mahomes Brings the Advantage of Big Game
2022-01-27   2022-01-29 playoffs.html                                Experience to the AFC Title Game         By Alanis Thames                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/us/edga Edgar S Cahn Legal Reformer in Defense of
2022-01-27   2022-01-29 r-s-cahn-dead.html                           the Poor Dies at 86                      By Clay Risen                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/us/mau Tennessee Board Bans Teaching of Holocaust
2022-01-27   2022-01-29 s-banned-holocaust-tennessee.html            Novel                                    By Jenny Gross                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/sports/b Marker Honoring Historic Figure Was
2022-01-28   2022-01-29 aseball/jackie-robinson-mlb-georgia.html     Defaced MLB Stepped Up                   By James Wagner                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/arts/dan
                        ce/review-justin-peck-partita-new-york-city-
2022-01-28   2022-01-29 ballet.html                                  Surfing Waves of Sound in Sneakers       By Gia Kourlas                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/arts/mu
                        sic/classical-music-new-york-                A Joyful Union Between Classical and
2022-01-28   2022-01-29 philharmonic.html                            Cabaret                                  By Zachary Woolfe                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/arts/mu The Met Opera Hasnt Missed A Curtain Its
2022-01-28   2022-01-29 sic/met-opera-audiences.html                 Time for a Break                         By Javier C Hernndez               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/arts/tele
                        vision/afterparty-apple-tv-phil-lord-
2022-01-28   2022-01-29 christopher-miller.html                      A Romp Wrapped in a Comic Mystery        By LeighAnn Jackson                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/arts/tele
2022-01-28   2022-01-29 vision/moses-storm-stand-up.html             A Case for the Pretentious Comic         By Jason Zinoman                   TX 9-137-858   2022-03-01




                                                                               Page 3303 of 5793
                        https://www.nytimes.com/2022/01/28/books/r Ron Goulart 89 Writer Of at Least 180 Novels
2022-01-28   2022-01-29 on-goulart-dead.html                        That Spanned Genres                          By Richard Sandomir             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/busines
                        s/energy-environment/chevron-earnings-4q- Chevron Reflecting Industry Rebound Has
2022-01-28   2022-01-29 2021.html                                   Best Quarter Since 2014                      By Clifford Krauss              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/busines Frances Economy Bounces Back While
2022-01-28   2022-01-29 s/france-germany-economy.html               Germanys Remains Strained                    By Melissa Eddy                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/busines                                               By Jeanna Smialek and Ben
2022-01-28   2022-01-29 s/pce-inflation-federal-reserve.html        Clashing Data For Economy In Viruss Grip Casselman                           TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/busines Best Finish In 18 Months Ends a Skid For
2022-01-28   2022-01-29 s/stock-market-today.html                   Wall St                                      By Coral Murphy Marcos          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/climate High Levels of Mercury Are Detected in
2022-01-28   2022-01-29 /amazon-forest-mercury-peru.html            OldGrowth Amazon Forest                      By Catrin Einhorn               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/climate Judges Increasingly Rule to Take Climate Into
2022-01-28   2022-01-29 /climate-oil-drilling-gulf-mexico.html      Account                                      By Lisa Friedman                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/movies/ Carol Speed 76 Who Starred in Blaxploitation
2022-01-28   2022-01-29 carol-speed-dead.html                       Films                                        By Alex Traub                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/movies/
2022-01-28   2022-01-29 sundance-film-festival-nanny-horror.html    Sundance as Seen From Your Sofa              By Manohla Dargis               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/movies/
                        the-ice-age-adventures-of-buck-wild-        Exposure to Latest Ice Age Outing May
2022-01-28   2022-01-29 review.html                                 Induce Torpor                                By Natalia Winkelman            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/nyregio Adams Decries Law on Bail In Wounding Of By Jonah E Bromwich and Emma
2022-01-28   2022-01-29 n/adams-bail-police.html                    an Officer                                   G Fitzsimmons                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/nyregio CrossExamination at Avenatti Trial
2022-01-28   2022-01-29 n/michael-avenatti-stormy-daniels.html      Courtroom Time Capsule From 18               By Benjamin Weiser              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/nyregio Omicron Takes Bounce Away From New            By Nicole Hong Matthew Haag and
2022-01-28   2022-01-29 n/nyc-omicron-covid.html                    Yorks Economic Recovery                      Patrick McGeehan                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/nyregio Thousands Gather for Tearful Farewell to
2022-01-28   2022-01-29 n/nypd-jason-rivera-funeral.html            Slain Officer                                By Ashley Southall              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/opinion Let Kids Take Their Masks Off After This
2022-01-28   2022-01-29 /masks-covid-children.html                  Surge                                        By Michelle Goldberg            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/opinion Putin Is Caught in A Trap of His Own
2022-01-28   2022-01-29 /putin-russia-ukraine.html                  Making                                       By Yulia Latynina               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/opinion I Ditched My Smart Watch and I Dont Regret
2022-01-28   2022-01-29 /smartwatch-health-body.html                It                                           By Lindsay Crouse               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/sports/f Among NFL Quarterbacks a Generational
2022-01-28   2022-01-29 ootball/nfl-quarterbacks.html               Shift                                        By Ben Shpigel                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/sports/s
                        occer/newcastle-saudi-arabia-premier-       Premier League Teams Ties to Saudis Raise
2022-01-28   2022-01-29 league.html                                 Concern                                      By Tariq Panja                  TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/28/sports/t
2022-01-28   2022-01-29 ennis/nadal-medvedev-australian-open.html Formidable Party Crasher in a Great Rivalry   By Christopher Clarey          TX 9-137-858     2022-03-01




                                                                               Page 3304 of 5793
                        https://www.nytimes.com/2022/01/28/sports/t
                        ennis/nick-kyrgios-thanasi-kokkinakis-                                                   By Alana Holmberg and Matthew
2022-01-28   2022-01-29 australian-open.html                        A Wild Card Who Thrives On Spectacle         Futterman                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/technol
2022-01-28   2022-01-29 ogy/faa-5g-verizon-att.html                 FAA Reaches An Agreement On 5G Growth By Niraj Chokshi                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/theater/
2022-01-28   2022-01-29 center-theater-group-los-angeles.html       Amid Shifts A Flagship Struggles             By Adam Nagourney                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/us/flori Florida Man Mistaken For a Fugitive Lands in
2022-01-28   2022-01-29 da-man-mistaken-identity.html               Jail                                         By Johnny Diaz                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/us/lori- Chicago Mayors Promises of Change Run Into
2022-01-28   2022-01-29 lightfoot-chicago.html                      a Harsh Reality                              By Julie Bosman and Mitch Smith TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/28/us/pitts In Pittsburgh Timely Warning to Rusted       By Campbell Robertson and Sophie
2022-01-28   2022-01-29 burgh-bridge-collapse-biden.html            Nation                                       Kasakove                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/us/polit As Breyer Pondered Retirement Biden          By Katie Rogers and Charlie
2022-01-28   2022-01-29 ics/biden-breyer-retirement.html            Resisted Urge to Weigh In                    Savage                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/us/polit US Refuses to Send 130 Million in Aid to
2022-01-28   2022-01-29 ics/egypt-us-human-rights.html              Egypt Citing Human Rights Concerns           By Lara Jakes and Mona ElNaggar TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/28/us/polit Jan 6 Panel Subpoenas 14 Fake Electors Who By Luke Broadwater and Alan
2022-01-28   2022-01-29 ics/jan-6-committee-trump-electors.html     Submitted Certificates for Trump             Feuer                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/us/polit
                        ics/pennsylvania-mail-voting-law-           Pennsylvania Voting Law Is Ruled
2022-01-28   2022-01-29 unconstitutional.html                       Unconstitutional                             By Nick Corasaniti                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/us/polit Pointing to Bidens Woes Republicans Feel
2022-01-28   2022-01-29 ics/republicans-midterms-congress.html      Upbeat About Midterm Chances                 By Annie Karni                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/us/polit Russia Has Enough Troops Near Ukraine For
2022-01-28   2022-01-29 ics/russia-ukraine-invasion-pentagon.html   a Full Invasion the Pentagon Says            By Helene Cooper and Eric Schmitt TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/28/world/a                                               By Victor J Blue Thomas
2022-01-28   2022-01-29 sia/afghanistan-taliban-kabul-shiites.html When Taliban Fighters Try to Keep the Peace GibbonsNeff and Safiullah Padshah TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/28/world/a 49 Victims of Assault in Homeless Shelter for
2022-01-28   2022-01-29 sia/india-shelter-sexual-abuse.html        Girls in India Awarded Record Payout          By Suhasini Raj and Emily Schmall TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/world/a
2022-01-28   2022-01-29 sia/korea-border-leaflets-speech-law.html  South Korea Indicts a Defector Over Leaflets By Choe SangHun                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/world/a 10 Pakistani Soldiers Die In Attack by
2022-01-28   2022-01-29 sia/separatists-pakistani-soldiers.html    Separatists                                   By Salman Masood                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/world/a Proud Diaspora of Tonga Faces Daunting
2022-01-28   2022-01-29 ustralia/tonga-diaspora-recovery.html      Recovery                                      By Natasha Frost                  TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/28/world/e Ukraine Rebukes US Over Claims Attack Is    By Michael Schwirtz and Andrew
2022-01-28   2022-01-29 urope/biden-ukraine-russia-diplomacy.html Close                                        E Kramer                          TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/28/world/e After 600 Years a Swiss City Entrusts Its
2022-01-28   2022-01-29 urope/lausanne-switzerland-night-watch.html Night Watch to a Woman                    By Raphael Minder                  TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/28/world/ ISIS Fighters Get SurrenderorDie Warning in
2022-01-28   2022-01-29 middleeast/isis-syria-prison-sinaa.html     Syria Prison Standoff                     By Jane Arraf and Sangar Khaleel   TX 9-137-858     2022-03-01



                                                                                Page 3305 of 5793
                        https://www.nytimes.com/2022/01/28/your-
                        money/student-loans-debt-employee-
2022-01-28   2022-01-29 benefit.html                                Help Wanted Help With Student Loans Given By Ann Carrns                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/sports/f
2022-01-29   2022-01-29 ootball/giants-coach-brian-daboll.html      Giants Tap Daboll as Coach                  By Jenny Vrentas                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/sports/h Patience Is Required In Return to Racing
2022-01-29   2022-01-29 eather-maclean-millrose.html                After the Olympics                          By Scott Cacciola                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/world/a An Ambush Fuels Outrage in India Over
2022-01-29   2022-01-29 sia/india-military-nagaland.html            Impunity for the Military                   By Hari Kumar and Mujib Mashal   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/world/e
                        urope/russia-troops-belarus-border-
2022-01-29   2022-01-29 ukraine.html                                From Belarus Kremlin Trains Its Eye on Kyiv By Michael Schwirtz              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/04/books/r
2022-01-04   2022-01-30 eview/velorio-xavier-navarro-aquino.html    Disaster Relief                             By Callan Wink                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/books/r
2022-01-11   2022-01-30 eview/lost-and-found-kathryn-schulz.html    A Vein of Silver                            By Robin Romm                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/11/books/r
2022-01-11   2022-01-30 eview/yonder-jabari-asim.html               Somewhere Beyond                            By Vanessa Riley                 TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/18/books/r
                        eview/how-civil-wars-start-barbara-f-walter-
2022-01-18   2022-01-30 the-next-civil-war-stephen-marche.html       Is Civil War Coming                      By Ian Bassin                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/books/r
2022-01-18   2022-01-30 eview/lea-ypi-free.html                      When Everything Changes                  By Max Strasser                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/books/r
                        eview/roberto-calasso-the-book-of-all-
2022-01-18   2022-01-30 books.html                                   Bible Stories                            By Stephen Greenblatt              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/18/books/r
2022-01-18   2022-01-30 eview/sjon-red-milk.html                     Path to Darkness                         By Peter C Baker                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/books/r
2022-01-19   2022-01-30 eview/hard-sell-evan-hughes.html             Bad Medicine                             By David Enrich                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/19/style/di How to Help a Divorcing Friend Start by
2022-01-19   2022-01-30 vorce-support.html                           Listening                                By Louise Rafkin                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/20/books/r
                        eview/the-year-we-learned-to-fly-jacqueline- These Old Hands Have Written New Best
2022-01-20   2022-01-30 woodson.html                                 Sellers                                  By Elisabeth Egan                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/arts/tele
2022-01-21   2022-01-30 vision/as-we-see-it-amazon-autism.html       Not a Typical Portrayal of Autism        By Robert Ito                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/magazi
2022-01-24   2022-01-30 ne/wee-man-jackass.html                      The Tao of Wee Man                       By Caity Weaver                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/opinion
2022-01-24   2022-01-30 /football-players-concussions.html           False Concern Over NFL Injuries          By Jay Caspian Kang                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/24/realesta
2022-01-24   2022-01-30 te/side-tables-shopping.html                 These Little Guys Shape a Rooms Style    By Tim McKeough                    TX 9-137-858   2022-03-01




                                                                                Page 3306 of 5793
                        https://www.nytimes.com/2022/01/24/t-
2022-01-24   2022-01-30 magazine/loewe-fall-mens-flags.html          Making It Grand New Flags                    By Ellie Pithers                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/arts/tele
2022-01-25   2022-01-30 vision/jenna-ortega-fallout.html             Jenna Ortega Likes to Dance in Public        By Kathryn Shattuck             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/books/r
                        eview/notes-on-an-execution-danya-
2022-01-25   2022-01-30 kukafka.html                                 Killer Instincts                             By Katie Kitamura               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/books/r
2022-01-25   2022-01-30 eview/the-last-slave-ship-ben-raines.html    What Lies Beneath                            By W Caleb McDaniel             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/magazi
2022-01-25   2022-01-30 ne/colleague-covid-diagnosis-ethics.html     Can I Reveal a Colleagues Covid Diagnosis    By Kwame Anthony Appiah         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/magazi
2022-01-25   2022-01-30 ne/germany-trial-syria.html                  Judgement At Koblenz                         By Alia Malek                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/magazi
2022-01-25   2022-01-30 ne/inshallah.html                            Inshallah                                    By Abdullah Shihipar            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/magazi
2022-01-25   2022-01-30 ne/power-outage-tips.html                    How to Get Through A Power Outage            By Malia Wollan                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/movies/
2022-01-25   2022-01-30 mahershala-ali-swan-song.html                After 2 Oscars Finally a Leading Man         By Robert Ito                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/nyregio
2022-01-25   2022-01-30 n/essex-card-shop-fire.html                  Rallying To Rebuild GoTo Store               By Julie Besonen                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/nyregio What Dog Owners Should Know About              By Precious Fondren and Karen
2022-01-25   2022-01-30 n/leptospirosis-nyc-dog.html                 Leptospirosis                                Zraick                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/opinion
2022-01-25   2022-01-30 /gallup-poll-democrats.html                  New Poll Spells Trouble for Democrats        By Christopher Caldwell         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/opinion
2022-01-25   2022-01-30 /pandemic-grief-loss.html                    Making Sense of Losses Big and Small         By Kathryn Schulz               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/realesta
                        te/they-broke-up-with-two-architects-before-
2022-01-25   2022-01-30 finding-the-right-one.html                   With the Third Architect a Charming Result   By Tim McKeough                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/25/health/l New Research Hints at 4 Factors That May
2022-01-26   2022-01-30 ong-covid-risk-factors.html                  Increase Chances of Long Covid               By Pam Belluck                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/arts/des
                        ign/charles-ray-figure-ground-met-
2022-01-26   2022-01-30 museum.html                                  Hes Pushing Sculpture to Its Limit           By Jason Farago                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/arts/mu
2022-01-26   2022-01-30 sic/anais-mitchell.html                      Out of Hadestown With a New LP               By Lindsay Zoladz               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/magazi Counting Covid19 Cases Doesnt Capture the
2022-01-26   2022-01-30 ne/covid-19-data-public-health.html          Pandemics Impact                             By Kim Tingley                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/magazi
2022-01-26   2022-01-30 ne/michael-fanone-cnn.html                   Living Proof                                 By Jason Zengerle               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/movies/
                        sujata-day-definition-please-agam-darshi-
2022-01-26   2022-01-30 donkeyhead.html                              Two New Movies Echo Each Other               By Laura Zornosa                TX 9-137-858   2022-03-01




                                                                                 Page 3307 of 5793
                        https://www.nytimes.com/2022/01/26/opinion
                        /oregon-drug-decriminalization-
2022-01-26   2022-01-30 addiction.html                              A Novel Drug Decriminalization Plan       By Maia Szalavitz              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/opinion We Might Be in a Simulation Should That
2022-01-26   2022-01-30 /virtual-reality-simulation.html            Worry Us                                  By Farhad Manjoo               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/realesta
2022-01-26   2022-01-30 te/france-biarritz-house-hunting.html       A NineBedroom Villa Near the Basque Coast By Marcelle Sussman Fischler   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/26/realesta A Township Keeps Growing Maybe Its the
2022-01-26   2022-01-30 te/robbinsville-nj.html                     Name                                      By Dave Caldwell               TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/26/theater/
2022-01-26   2022-01-30 black-no-more-trotter-ridley-new-group.html The Struggle to Escape Racisms Grip       By Marcus J Moore              TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/27/arts/dan
2022-01-27   2022-01-30 ce/jamar-roberts-new-york-city-ballet.html  A Choreographic Puzzle Fits Together      By Marina Harss                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/arts/po
2022-01-27   2022-01-30 dcasts-diets-healthy-living.html            Watch Your Weight By Listening Up         By Emma Dibdin                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/magazi
                        ne/judge-john-hodgman-on-the-inefficient-
2022-01-27   2022-01-30 goodbye-kiss.html                           Bonus Advice From Judge John Hodgman      By John Hodgman                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/magazi                                             By Donika Kelly and Victoria
2022-01-27   2022-01-30 ne/poem-self-portrait-with-father.html      Poem SelfPortrait With Father             Chang                          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/nyregio She Made Her Name by Drawing Out Its
2022-01-27   2022-01-30 n/yolanda-vega-ny-lottery.html              Syllables                                 By Corey Kilgannon             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/realesta
2022-01-27   2022-01-30 te/home-equity-loans.html                   Whats That Home Equity Cash Doing         By Michael Kolomatsky          TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/27/sports/f Is This the Weekend When the Upstarts Run
2022-01-27   2022-01-30 ootball/nfl-playoffs-championship-picks.html Out of Luck                              By Emmanuel Morgan             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/style/co
2022-01-27   2022-01-30 llege-degree-lie-social-qs.html              Trapped by a Lie                         By Philip Galanes              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/us/rabb Rabbi Israel Dresner 92 Civil Rights
2022-01-27   2022-01-30 i-israel-dresner-dead.html                   Champion Who Befriended King Dies        By Sam Roberts                 TX 9-137-858   2022-03-01

                        https://www.nytimes.com/interactive/2022/01/ They Bought a Bay Area House Sight Unseen
2022-01-27   2022-01-30 27/realestate/27hunt-zaich.html              Which of These Would You Have Chosen      By Candace Jackson            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/t-
2022-01-28   2022-01-30 magazine/rochelle-feinstein-you-again.html To Feel and Learn                           By Rose Courteau              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/arts/mu Beegie Adair 84 Renowned Jazz Pianist Who
2022-01-28   2022-01-30 sic/beegie-adair-dead.html                   Thrived in Country Musics Capital         By Clay Risen                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/arts/mu
2022-01-28   2022-01-30 sic/opera-antikrist-germany.html             Reawakening the Antichrist                By AJ Goldmann                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/books/r
                        eview/julia-child-alex-prudhomme-alice-
2022-01-28   2022-01-30 waters-georgia-gilmore.html                  Top Chefs                                 By Jenny Rosenstrach          TX 9-137-858   2022-03-01



                                                                                Page 3308 of 5793
                        https://www.nytimes.com/2022/01/28/books/r
2022-01-28   2022-01-30 eview/new-paperbacks.html                   Paperback Row                                By Miguel Salazar               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/books/r
2022-01-28   2022-01-30 eview/toni-morrison-recitatif.html          Shades of Black and White                    By Honore Fanonne Jeffers       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/books/r
                        eview/what-the-fireflies-knew-kai-harris-
                        wahala-nikki-may-destiny-o-birdsong-
2022-01-28   2022-01-30 nobodys-magic.html                          Debut Novels                                 By Shruti Swamy                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/busines Looking Ahead as the Fed Cuts Back on the
2022-01-28   2022-01-30 s/fed-inflation-stocks-bonds.html           Easy Money                                   By Jeff Sommer                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/busines
2022-01-28   2022-01-30 s/roxane-gay-work-pandemic.html             When CoWorkers Declare the Pandemic Over By Roxane Gay                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/busines Online Tools Help Maximize Social Security
2022-01-28   2022-01-30 s/social-security-retirement.html           Income                                       By Mark Miller                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/fashion
                        /weddings/stephanie-quintero-eric-wall-
2022-01-28   2022-01-30 wedding.html                                Talking Football in the Most Beautiful Way By Vincent M Mallozzi             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/magazi
2022-01-28   2022-01-30 ne/coconut-curry-fish-sauce-recipe.html     Fish Sauce Is Good for Just About Everything By Tejal Rao                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/nyregio
2022-01-28   2022-01-30 n/eric-adams-crime-gun-violence.html        Can Adams Achieve Unity on Gun Violence By Ginia Bellafante                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/nyregio                                               By Michael Wilson and Chelsia
2022-01-28   2022-01-30 n/rikers-island-prisoner-deaths.html        A Tragic Fraternity                          Rose Marcius                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/nyregio
2022-01-28   2022-01-30 n/steven-strogatz-sundays.html              Surrounded by Math but No Parabolas          By Tammy La Gorce               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/opinion
2022-01-28   2022-01-30 /equal-rights-amendment-ratification.html   The ERA Is Victorious or Is It               By Jesse Wegman                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/opinion
2022-01-28   2022-01-30 /slavery-voyages-data-sets.html             Quantifying the Pain of Slavery              By Jamelle Bouie                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/opinion
2022-01-28   2022-01-30 /syria-assad.html                           The World Has Forgiven alAssad               By Marwan Safar Jalani          TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/realesta
2022-01-28   2022-01-30 te/cass-gilbert-train-stations-bronx.html   Rail Stations in Ruin Prompt a Rescue Effort By John Freeman Gill            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/realesta Young Influencers Have Found DIY on a
2022-01-28   2022-01-30 te/diy-small-budget-influencers.html        Tiny Budget                                  By Ronda Kaysen                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/realesta Grand Prices and a Busy Time for Residential
2022-01-28   2022-01-30 te/top-nyc-real-estate-sales.html           Sales                                        By Vivian Marino                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/sports/n
2022-01-28   2022-01-30 fl-tshirts-bruce-thompson.html              Under Their Uniforms Its Far From Uniform By Emmanuel Morgan                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/sports/s
2022-01-28   2022-01-30 occer/canada-usmnt.html                     Tracing the Roots of Canadas Rise            By James Wagner                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/style/br
2022-01-28   2022-01-30 yan-clark-devario-simmons-wedding.html      He Cannot Tell a Lie Its a Perfect Union     By Tammy La Gorce               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/style/ja This Early Bird Catches Celebrities And Pro
2022-01-28   2022-01-30 zlyn-guerra-jay-z-tom-holland.html          Athletes                                     By Gina Cherelus                TX 9-137-858   2022-03-01



                                                                                Page 3309 of 5793
                        https://www.nytimes.com/2022/01/28/style/jo
2022-01-28   2022-01-30 nathan-cottrell-erik-braverman-wedding.html After a Dodger Picnic a Dodger Wedding           By Tammy La Gorce           TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/28/style/ka
2022-01-28   2022-01-30 ren-pittman-and-just-like-that.html          For Just Like That Actress Just a Lot to Juggle By Alexis Soloski           TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/28/style/m
                        odern-love-muslim-dating-what-he-hadnt-told-
2022-01-28   2022-01-30 me.html                                      Looking in Gaps for What He Hadnt Told Me By Sadaf Qureshi                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/28/style/pr
2022-01-28   2022-01-30 abal-gurung-marina-rust-bevy-smith.html      Maybe Its Time to Fall in Love                  By Ruth La Ferla            TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/28/style/ra
2022-01-28   2022-01-30 chel-seals-elliott-averett-wedding.html      Still Holding Each Other Tight After Tragedy By Jenny Block                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/28/technol
2022-01-28   2022-01-30 ogy/trump-coins.html                         The Mystery of the Trump Coin                   By Stuart A Thompson        TX 9-137-858    2022-03-01
                        https://www.nytimes.com/interactive/2022/01/
2022-01-28   2022-01-30 28/magazine/miami-condo-collapse.html        The Ticking Clock for Miamis Condo Empire By Matthew Shaer                  TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/29/busines
2022-01-29   2022-01-30 s/biden-peter-doocy-fox-news.html            The HotMic Vulgarity Where Everyone Wins By Michael M Grynbaum              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/29/busines
2022-01-29   2022-01-30 s/england-covid-rules.html                   In England Covid Casual                         By David Segal              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/29/busines How GameStop Turned into a Fight for Good By Tara Siegel Bernard Emily
2022-01-29   2022-01-30 s/gamestop-stock.html                        vs Evil                                         Flitter and Anupreeta Das   TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/29/health/c With Shots for Children Stalled Effort to
2022-01-29   2022-01-30 ovid-vaccine-children.html                   Sway Parents Intensifies                        By Jan Hoffman              TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/29/nyregio Bitter Divisions Surround Fight to Defy
2022-01-29   2022-01-30 n/native-american-mascot-cambridge.html      Indian Mascot Ban                               By Corey Kilgannon          TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/29/nyregio Storm Spreads Misery From the Carolinas to
2022-01-29   2022-01-30 n/winter-storm-northeast.html                Maine                                           By Jesse McKinley           TX 9-137-858    2022-03-01

                        https://www.nytimes.com/2022/01/29/opinion
2022-01-29   2022-01-30 /culture/book-banning-viet-thanh-nguyen.html A Disturbing Book Changed My Life           By Viet Thanh Nguyen            TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/29/opinion
2022-01-29   2022-01-30 /facebook-2022-election.html                 Facebook Isnt Ready for Election Season     By Katie Harbath                TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/29/opinion
2022-01-29   2022-01-30 /holocaust-poland-europe.html                The New Wave of Holocaust Revisionism       By Jan Grabowski                TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/29/opinion
2022-01-29   2022-01-30 /jason-rivera-police-dead.html               Rhapsody For a Boy In Blue                  By Maureen Dowd                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/29/opinion
2022-01-29   2022-01-30 /mask-school-covid-rules.html                Will a Mask Debate Split Blue States        By Ross Douthat                 TX 9-137-858    2022-03-01
                        https://www.nytimes.com/2022/01/29/realesta If a Neighbors Rain Runoff Damages My
2022-01-29   2022-01-30 te/neighbor-drainage-water-basement.html     Property What Can I Do About It             By Ronda Kaysen                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/sports/f                                              By Ben Shpigel Jenny Vrentas and
2022-01-29   2022-01-30 ootball/tom-brady-retirement.html            Brady Has Retired Then Again Maybe Not      Kevin Draper                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/sports/t
2022-01-29   2022-01-30 ennis/barty-collins-australian-open.html     So Much Joy for a Homegrown Champion        By Christopher Clarey           TX 9-137-858    2022-03-01



                                                                                 Page 3310 of 5793
                        https://www.nytimes.com/2022/01/29/style/gr
2022-01-29   2022-01-30 oup-chat-text-pandemic.html                 Weary Threads in Search of an Exit             By Lauren Mechling              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/style/jo
2022-01-29   2022-01-30 n-neidich-the-nines.html                    Hospitality for the Next Generation            By Alex Vadukul                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/style/su Cancellation Doesnt Stop Sundance
2022-01-29   2022-01-30 ndance-canceled-park-city.html              Partygoers                                     By Alyson Krueger               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/us/carg Cookbooks Overboard Mishap Delays 2
2022-01-29   2022-01-30 o-ship-cookbooks-overboard.html             Releases                                       By Maria Cramer                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/us/nort Partisan Political Slugfest in North Carolina
2022-01-29   2022-01-30 h-carolina-voting-gerrymandering.html       Extends to Its State Supreme Court             By Michael Wines                TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/us/polit
                        ics/american-woman-islamic-state-fluke-
2022-01-29   2022-01-30 ekren.html                                  American Woman Arrested as ISIS Leader         By Adam Goldman                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/us/polit                                                By Michael Crowley and Edward
2022-01-29   2022-01-30 ics/russia-sanctions-economy.html           Sanctions Toll Could Hobble Life in Russia     Wong                            TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/29/us/polit Bitterness From Supreme Court Fights Hangs
2022-01-29   2022-01-30 ics/supreme-court-confirmation-battles.html Over Coming Nomination                     By Carl Hulse                   TX 9-137-858       2022-03-01
                        https://www.nytimes.com/2022/01/29/us/supr Black Women in Law Envision a Supreme       By Tariro Mzezewa and Audra D S
2022-01-29   2022-01-30 eme-court-black-women-biden.html            Court That Looks More Like America         Burch                           TX 9-137-858       2022-03-01
                        https://www.nytimes.com/2022/01/29/world/a
2022-01-29   2022-01-30 mericas/canada-trucker-protest.html         Truckers Take Covid Fight to Ottawa        By Ian Austen and Vjosa Isai    TX 9-137-858       2022-03-01
                        https://www.nytimes.com/2022/01/29/world/e Bloody Sundays Wounds Are Slow to Heal 50
2022-01-29   2022-01-30 urope/bloody-sunday-ireland.html            Years On                                   By Alan Cowell                  TX 9-137-858       2022-03-01
                        https://www.nytimes.com/2022/01/29/world/e
                        urope/macron-ukraine-russia-putin-nato-     Macron With Election Approaching Walks a
2022-01-29   2022-01-30 eu.html                                     Fine Line on Ukraine                       By Roger Cohen                  TX 9-137-858       2022-03-01
                        https://www.nytimes.com/2022/01/29/world/e No Longer Content To Manage Europe Putin
2022-01-29   2022-01-30 urope/putin-ukraine-europe-russia.html      Tries to Reset It                          By Max Fisher                   TX 9-137-858       2022-03-01

                        https://www.nytimes.com/2022/01/29/world/e Italian Lawmakers Reelect President After 6
2022-01-29   2022-01-30 urope/sergio-mattarella-italy-president.html Days of Fractious Talks                    By Jason Horowitz                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/world/ ISIS Landless and Thriving in Unstable
2022-01-29   2022-01-30 middleeast/isis-syria-iraq.html              Places Proves Its Still a Threat           By Ben Hubbard                     TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/30/busines
                        s/the-week-in-business-interest-rates-stock- The Week in Business Higher Interest Rates
2022-01-30   2022-01-30 market.html                                  Are Coming                                 By Gray Beltran                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/30/fashion
2022-01-30   2022-01-30 /mugler-remembered-by-his-crowd.html         Remembered by His Crowd                    By Jacob Bernstein                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/30/insider/
2022-01-30   2022-01-30 rolling-with-wee-man-and-his-fans.html       Rolling With Wee Man and His Fans          By Caity Weaver                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/30/sports/4 Los Angeles a Team Thats Built to Win Now
2022-01-30   2022-01-30 9ers-rams-nfc-championship-score.html        Does So Eventually                         By Emmanuel Morgan                 TX 9-137-858   2022-03-01




                                                                                  Page 3311 of 5793
                        https://www.nytimes.com/2022/01/30/world/a Chinas Strict Covid Controls May Outlast      By Chris Buckley Vivian Wang and
2022-01-30   2022-01-30 sia/covid-restrictions-china-lockdown.html    Covid                                      Keith Bradsher                   TX 9-137-858      2022-03-01
                        https://www.nytimes.com/2022/01/21/obituari Overlooked No More Lee Godie Eccentric
2022-01-21   2022-01-31 es/lee-godie-overlooked.html                  Chicago Street Artist                      By Jeremy Lybarger                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/arts/des A Marcel Breuer House Is Demolished on
2022-01-27   2022-01-31 ign/marcel-breuer-house-demolished.html       Long Island                                By Zachary Small                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/busines
2022-01-27   2022-01-31 s/crypto-price-bubble.html                    Is There A Bubble In Crypto                By Emily Flitter and Karl Russell   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/opinion Affirmative Action Was Never a Perfect
2022-01-27   2022-01-31 /affirmative-action-harvard.html              Solution                                   By Jay Caspian Kang                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/technol
2022-01-27   2022-01-31 ogy/making-money-online.html                  Making Money Online the Hard Way           By Shira Ovide                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/27/travel/d Tourism Boom Puts Focus on Dominican
2022-01-27   2022-01-31 ominican-republic-tourism-pandemic.html       Republic                                   By Heather Murphy                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/arts/dan
                        ce/super-bowl-halftime-show-volunteer-        Playing an Unsung Role At Super Bowl
2022-01-28   2022-01-31 dancers-pay.html                              Halftime                                   By Gia Kourlas                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/arts/des
                        ign/abolitionist-place-design-brooklyn-moves-
2022-01-28   2022-01-31 forward.html                                  Debating How to Honor Abolitionists        By Zachary Small                    TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/arts/tele
2022-01-28   2022-01-31 vision/bill-cosby-kamau-bell.html             He Wants To Talk About Bill Cosby          By Graham Bowley                    TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/28/crossw
2022-01-28   2022-01-31 ords/bill-nye-climate-change-crossword.html The Science Guy Three Letters                By Alexis Benveniste                TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/28/opinion Democrats Take a Page From McConnells
2022-01-28   2022-01-31 /politics/supreme-court-justice-democrat.html Book                                       By Stephanie Cutter                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/28/sports/b On StarFilled Nets Rookies Not Serving As
2022-01-28   2022-01-31 asketball/rookies-nets-championship.html      Just Understudies                          By Sopan Deb                        TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/books/g
2022-01-29   2022-01-31 ish-jen-thank-you-mr-nixon.html               Still Staying The Course With Change       By Joumana Khatib                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/busines
                        s/dealbook/how-cookie-banners-                How Cookie Banners Backfired and Became
2022-01-29   2022-01-31 backfired.html                                an Almost Useless Exercise                 By Joe Nocera                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/busines
                        s/meteorologists-storm-weather-climate-
2022-01-29   2022-01-31 change.html                                   TV Weather Covers Crisis In Real Time      By Marc Tracy                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/health/ Omicron Not So Mild For Some Americans        By Reed Abelson and Christina
2022-01-29   2022-01-31 omicron-chronic-illness.html                  With Chronic Illness                       Jewett                              TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/us/polit Phyllis Oakley a Pioneer At the State
2022-01-29   2022-01-31 ics/phyllis-oakley-dead.html                  Department After a Hiatus Dies at 87       By Katharine Q Seelye               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/29/world/a North Korea Missile Test Is Seventh of This
2022-01-30   2022-01-31 sia/north-korea-missile-test.html             Month                                      By Choe SangHun                     TX 9-137-858   2022-03-01



                                                                                Page 3312 of 5793
                        https://www.nytimes.com/2022/01/30/arts/mu
2022-01-30   2022-01-31 sic/piano-brahms-paul-lewis.html            Hearing Clearly What Brahms Is Whispering By David Allen                        TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/30/books/b                                              By Elizabeth A Harris and
2022-01-30   2022-01-31 ook-ban-us-schools.html                     Politics Fuels Surge in Calls For Book Bans Alexandra Alter                     TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/30/books/r Humanizing HotButton Topics in Her
2022-01-30   2022-01-31 eview-mercy-street-jennifer-haigh.html      Unflashy Way                                By Janet Maslin                     TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/30/busines
                        s/economy/inflation-bonds-treasury-
2022-01-30   2022-01-31 yields.html                                 US Bonds Hold Appeal Despite Yields         By Talmon Joseph Smith              TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/30/health/j Jeremiah Stamler Who Pinpointed Risk
2022-01-30   2022-01-31 eremiah-stamler-dead.html                   Factors of Heart Disease Dies at 102        By Richard Sandomir                 TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/30/opinion
2022-01-30   2022-01-31 /church-online-services-covid.html          Churches Should Drop Their Online Services By Tish Harrison Warren              TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/30/opinion
                        /supreme-court-nomination-identity-
2022-01-30   2022-01-31 politics.html                               When AllWhite Was All Right                 By Charles M Blow                   TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/30/sports/f
                        ootball/chiefs-bengals-afc-championship-    Who Expected This Burrows Bengals Did
2022-01-30   2022-01-31 score.html                                  And They Rule AFC                           By Ben Shpigel                      TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/30/sports/n
                        ick-willis-wanamaker-mile-millrose-         38YearOld Miler Breaks 4 Minutes Achieving
2022-01-30   2022-01-31 games.html                                  Feat for 20th Year in a Row                 By Scott Cacciola                   TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/30/sports/s In Defeat of US Men Canada Issues Notice Of
2022-01-30   2022-01-31 occer/canada-usmnt-world-cup.html           Regional Power Shift                        By James Wagner                     TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/30/sports/s
                        occer/manchester-united-mason-greenwood- Manchester United Player Suspended After
2022-01-30   2022-01-31 assault.html                                Abuse Claim                                 By Tariq Panja                      TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/30/sports/t Nadals Mark Caps Tournament That Dashed
2022-01-30   2022-01-31 ennis/nadal-medvedev-australian-open.html Djokovics Shadow                          By Christopher Clarey                   TX 9-137-858     2022-03-01

                        https://www.nytimes.com/2022/01/30/theater/
2022-01-30   2022-01-31 the-collision-and-the-martyrdom-review.html Quirky Lessons in Faith but Not in Brevity     By Maya Phillips                   TX 9-137-858   2022-03-01
                                                                                                                   By Matt Berg Melina Delkic
                        https://www.nytimes.com/2022/01/30/us/nort On Snowstorm Cleanup Day Some Friendly          Patrick Cassidy Catherine McGloin
2022-01-30   2022-01-31 heast-snow-storm-wind-chills.html            Community Rivalry                             and Chantee Lans                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/30/us/polit Election Deniers Seek State Posts to Certify   By Jennifer Medina Nick Corasaniti
2022-01-30   2022-01-31 ics/election-deniers-secretary-of-state.html Votes                                         and Reid J Epstein                 TX 9-137-858   2022-03-01

                        https://www.nytimes.com/2022/01/30/us/polit A Judge With a View of Justice Shaped by   By Patricia Mazzei and Charlie
2022-01-30   2022-01-31 ics/supreme-court-ketanji-brown-jackson.html Family                                    Savage                               TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/30/us/polit Trump Suggests He May Pardon Jan 6 Rioters By J David Goodman and Emily
2022-01-30   2022-01-31 ics/trump-speech-texas.html                  if He Has Another Term                    Cochrane                             TX 9-137-858     2022-03-01
                        https://www.nytimes.com/2022/01/30/us/stud Students Burdened by Seemingly              By Jacey Fortin and Giulia
2022-01-30   2022-01-31 ents-pandemic-virtual-learning.html          NeverEnding Upheaval                      Heyward                              TX 9-137-858     2022-03-01



                                                                                  Page 3313 of 5793
                        https://www.nytimes.com/2022/01/30/world/e
                        urope/britain-russia-ukraine-sanctions-      Britain Weighs Expanding Penalties if Russia
2022-01-30   2022-01-31 nato.html                                    Invades Ukraine                              By Anna Schaverien                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/30/world/e Fueling a Geopolitical Tussle in Eastern
2022-01-30   2022-01-31 urope/lithuania-belarus-potash.html          Europe Fertilizer                            By Andrew Higgins                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/30/world/e
2022-01-30   2022-01-31 urope/putin-top-advisers-ukraine.html        An Inner Circle Of HardLiners Has Putins Ear By Anton Troianovski               TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/30/world/ US Allies Take Control Of a Prison in Syria
2022-01-30   2022-01-31 middleeast/isis-prison-syria.html            Subduing ISIS Fighters                       By Jane Arraf and Sangar Khaleel   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/30/arts/tele Howard Hesseman 81 a Star of WKRP in
2022-01-31   2022-01-31 vision/howard-hesseman-dead.html             Cincinnati                                   By Eduardo Medina                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/30/nyregio
                        n/new-york-redistricting-congressional-      In New York Redraw Plan Democrats in         By Grace Ashford and Nicholas
2022-01-31   2022-01-31 map.html                                     Position to Gain 3 More Seats                Fandos                             TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/30/sports/f
                        ootball/nfl-takeaways-kansas-city-
2022-01-31   2022-01-31 bengals.html                                 What We Learned This Week                    By Diante Lee                      TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/30/world/e Snap Election In Portugal Fails to Deliver
2022-01-31   2022-01-31 urope/portugal-election.html                 Vital Majority                               By Nicholas Casey                  TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/31/arts/tele
                        vision/whats-on-tv-this-week-missing-in-
                        brooks-county-and-sisters-with-
2022-01-31   2022-01-31 transistors.html                             This Week on TV                              By Gabe Cohn                       TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/31/busines A Tale of Grinding Poverty Exposed and
2022-01-31   2022-01-31 s/migrant-worker-poverty-in-china.html       Then Erased                                  By Li Yuan                         TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/31/nyregio ToGo Cocktails Were the Toast Of New York
2022-01-31   2022-01-31 n/to-go-drinks-new-york.html                 But Now a Clash                              By Luis FerrSadurn                 TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/31/sports/f Cost of Addiction Predictably Rises With
2022-01-31   2022-01-31 ootball/super-bowl-sports-betting.html       NFL Wagers                                   By Kurt Streeter                   TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/31/sports/o Where the Games Are Ever a Miracle Worth By Gabriela Bhaskar and Alan
2022-01-31   2022-01-31 lympics/beijing-olympics-lake-placid.html    Believing In                                 Blinder                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/31/world/a Making a Living Sifting Through Senegals       By Ruth Maclean and Finbarr
2022-01-31   2022-01-31 frica/senegal-plastic-waste-recycling.html   Plastic                                      OReilly                            TX 9-137-858   2022-03-01
                        https://www.nytimes.com/2022/01/21/movies/
2022-01-21   2022-02-01 streaming-science-fiction-movies.html        Exploring Realitys Porous Borders            By Elisabeth Vincentelli           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/24/arts/mu James Maraniss 76 Librettist for an Opera
2022-01-24   2022-02-01 sic/james-maraniss-dead.html                 That Was Worth the Wait                      By Richard Sandomir                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/24/science Heavy Hitter If You Hear a Hippo Honking
2022-01-24   2022-02-01 /hippos.html                                 Best Give It the Right of Way                By Nicholas Bakalar                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/24/science
2022-01-24   2022-02-01 /omicron-mutations-evolution.html            How Omicrons Mutations Allow It to Thrive By Carl Zimmer                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/25/well/mi
2022-01-25   2022-02-01 nd/alcohol-drinking-sleep.html               Why Does Alcohol Mess With My Sleep          By Amelia Nierenberg               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/26/climate
2022-01-26   2022-02-01 /iceberg-a68a-antarctica.html                A Massive Iceberg Is Gone but Not Forgotten By Henry Fountain                   TX 9-154-386   2022-04-04



                                                                                 Page 3314 of 5793
                        https://www.nytimes.com/2022/01/26/science Back on Their Feet How Frogs Without Legs
2022-01-26   2022-02-01 /frogs-grow-limbs-back.html                   Find Their Lost Limbs                     By Sabrina Imbler                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/26/science
2022-01-26   2022-02-01 /spacex-rocket-crash-moon.html                Accidental Tourist SpaceX to Hit the Moon By Kenneth Chang                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/26/science Bottoms Up Letting the Brain Know When
2022-01-26   2022-02-01 /thirst-brain-neurons.html                    Your Thirst Is Quenched                   By Veronique Greenwood            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/26/well/10-
2022-01-26   2022-02-01 minutes-walking-exercise.html                 A 10Minute Walk to a Longer Life          By Gretchen Reynolds              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/26/well/liv
2022-01-26   2022-02-01 e/neti-pot.html                               What to Know About Nasal Irrigation       By Alice Callahan                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/27/science With the Webb Space Telescope Everyone
2022-01-27   2022-02-01 /james-webb-space-telescope.html              Wins                                      By Dennis Overbye                 TX 9-154-386   2022-04-04
                                                                                                                By Jon Pareles Isabelia Herrera
                        https://www.nytimes.com/2022/01/28/arts/mu Plenty of New Pop Some From a Few Old        Giovanni Russonello and Lindsay
2022-01-28   2022-02-01 sic/playlist-glaive-the-smile.html            Friends                                   Zoladz                            TX 9-154-386   2022-04-04
                                                                      Hootingville To Make Owls Feel at Home
                        https://www.nytimes.com/2022/01/28/science Building a Potemkin Village Out of Color and
2022-01-28   2022-02-01 /burrowing-owls-transplants.html              Sound                                     By Matt Kaplan                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/28/theater/
2022-01-28   2022-02-01 2022-obie-awards-theater.html                 Obies Will Include Streaming Theater      By Michael Paulson                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/28/well/fa What Parents Can Do When Supply Issues
2022-01-28   2022-02-01 mily/baby-formula-shortage.html               Snag Baby Formulas                        By Melinda Wenner Moyer           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/article/burkina-faso- Explaining the 6 Coups Over the Past 18
2022-01-28   2022-02-01 africa-coup.html                              Months In 5 African Countries             By Ruth Maclean                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/29/arts/mu Tito Matos 53 Who Helped Revive
2022-01-29   2022-02-01 sic/hector-tito-matos-dead.html               StreetCorner Sound of Puerto Rico         By Isabelia Herrera               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/29/us/polit Esteban Torres 91 Lawmaker and Latino
2022-01-29   2022-02-01 ics/esteban-torres-dead.html                  Advocate                                  By Katharine Q Seelye             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/30/opinion How Do You React When an AntiVaxxer
2022-01-30   2022-02-01 /culture/covid-death-mental-health.html       Dies of Covid                             By James Martin                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/30/arts/har Hargus Robbins Smooth Pianist On Heap of
2022-01-31   2022-02-01 gus-robbins-dead.html                         Country Hits Dies at 84                   By Bill FriskicsWarren            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/arts/mu
2022-01-31   2022-02-01 sic/euphoria-soundtrack.html                  Some Modern Teens Who Listen to Tupac     By Joe Coscarelli                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/arts/mu
2022-01-31   2022-02-01 sic/garden-finzi-continis-opera-review.html A Family Blocks Out a Coming Cataclysm      By Zachary Woolfe                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/arts/mu
2022-01-31   2022-02-01 sic/janet-jackson-documentary.html            Deflections And Elisions Shield a Star    By Jon Caramanica                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/books/r
                        eview-power-law-venture-capital-sebastian-
2022-01-31   2022-02-01 mallaby.html                                  A FunderFriendly Look at Venture Capital  By Jennifer Szalai                TX 9-154-386   2022-04-04
                                                                      After TrumpEra Turbulence 2 Top New York
                        https://www.nytimes.com/2022/01/31/busines Public Prosecutors Go Back to Private        By Benjamin Weiser and Ephrat
2022-01-31   2022-02-01 s/audrey-strass-cyrus-vance.html              Practice                                  Livni                             TX 9-154-386   2022-04-04




                                                                                Page 3315 of 5793
                        https://www.nytimes.com/2022/01/31/busines                                                By Stephen Gandel and Coral
2022-01-31   2022-02-01 s/dealbook/stock-market-wall-street.html   Bright View On Wall St Survives Dip            Murphy Marcos                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/busines
2022-01-31   2022-02-01 s/economy/fed-inflation-economy.html       Fed Officials To Pull Back Their Help          By Jeanna Smialek                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/busines Europes Economy Withstood Pandemic and
2022-01-31   2022-02-01 s/europe-economy-omicron.html              Grew in 2021                                   By Melissa Eddy                     TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/01/31/busines Maker of Hubble Contact Lenses Agrees to
2022-01-31   2022-02-01 s/hubble-contact-lenses-ftc.html           Pay 35 Million to Settle Allegations by FTC    By Sapna Maheshwari                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/busines The New York Times Buys the Game
2022-01-31   2022-02-01 s/media/new-york-times-wordle.html         Sensation Wordle                               By Marc Tracy                       TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/01/31/busines Top Anchor On MSNBC Is Set to Take Time
2022-01-31   2022-02-01 s/media/rachel-maddow-msnbc-hiatus.html Off Show                                          By Michael M Grynbaum               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/busines Texas and Florida Disrupt Companies            By Emma Goldberg and Lauren
2022-01-31   2022-02-01 s/texas-florida-vaccine-mandate.html        Vaccine Rules                                 Hirsch                              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/climate Biden to Reinstate Air Pollution Rules
2022-01-31   2022-02-01 /epa-mercury-pollution-coal.html            Weakened Under Trump                          By Coral Davenport                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/movies/
2022-01-31   2022-02-01 home-team-review.html                       The Super Bowl Well Not Quite                 By Amy Nicholson                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/nyregio A Fifth and Final Prosecutor Declines to
2022-01-31   2022-02-01 n/andrew-cuomo-charges.html                 Pursue Charges Against Cuomo                  By Grace Ashford                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/nyregio
                        n/lauren-smith-fields-brenda-lee-rawls-     Two Officers Suspended Over Their Handling
2022-01-31   2022-02-01 bridgeport-police.html                      of Black Womens Deaths                        By Lola Fadulu                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/nyregio
                        n/sean-caddle-mark-sheridan-parents-        MurderforHire Plea Revives Questions About
2022-01-31   2022-02-01 deaths.html                                 Unsolved Deaths                               By Tracey Tully and Ed Shanahan     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/nyregio Trump Ally Asks for Lobbying Charges to Be
2022-01-31   2022-02-01 n/thomas-barrack-trump.html                 Dismissed                                     By Rebecca Davis OBrien             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/opinion
2022-01-31   2022-02-01 /gray-report-boris-johnson.html             Johnson Is Hanging by a Thread                By Eleni Courea                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/opinion Nothings More Fun Than Picking the Next
2022-01-31   2022-02-01 /supreme-court-justice.html                 Supreme Court Justice                         By Gail Collins and Bret Stephens   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/science
2022-01-31   2022-02-01 /james-vaughn-fermat-theorem.html           A Patrons Vital Spark Revived a Math Quest By William J Broad                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/sports/a                                               By Kevin Draper and Matthew
2022-01-31   2022-02-01 lberto-salazar-sexual-assault.html          Allegations Of Assault Led to Ban On Salazar Futterman                            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/sports/f Bengals and Rams Bring Offensive Power to
2022-01-31   2022-02-01 ootball/bengals-rams-super-bowl.html        the Big Game                                  By Alanis Thames                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/sports/o Its Test After Test After Test And Thats Just
2022-01-31   2022-02-01 lympics/beijing-covid-tests-travel.html     to Reach Beijing                              By Andrew Keh                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/sports/t
2022-01-31   2022-02-01 ennis/nadal-djokovic-federer.html           Poised to Win No 22 Foil or No Foil           By Christopher Clarey               TX 9-154-386   2022-04-04




                                                                                 Page 3316 of 5793
                        https://www.nytimes.com/2022/01/31/technol
2022-01-31   2022-02-01 ogy/joe-rogan-spotify-controversy.html      Staying Power Of an Uproar                  By Kevin Roose                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/theater/ Assessing Broadways Health Through
2022-01-31   2022-02-01 broadway-hamilton-wicked-lion-king.html     Industry Data                               By Michael Paulson               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/ahm
2022-01-31   2022-02-01 aud-arbery-hate-crime-plea-deal.html        Judge Rejects Two Plea Deals In Arbery Case By Richard Fausset               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/ches
2022-01-31   2022-02-01 lie-kryst-dead.html                         ExMiss USA Dies in Fall In Manhattan        By Derrick Bryson Taylor         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/john- John K Singlaub General Who Clashed With
2022-01-31   2022-02-01 k-singlaub-dead.html                        Carter Is Dead at 100                       By Richard Goldstein             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/polit Biden to Name Qatar as Major NonNATO
2022-01-31   2022-02-01 ics/biden-qatar-nato.html                   Ally Deepening Ties to US                   By Michael D Shear               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/polit US Allies Sanctions Could Cut Russia Off
2022-01-31   2022-02-01 ics/russia-swift.html                       From Message System                         By Alan Rappeport                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/polit
2022-01-31   2022-02-01 ics/stephen-breyer-supreme-court.html       A Goodbye to Breyer And Aspirin Fingers     By Adam Liptak                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/polit As Trump Reemerges His Base Shows
2022-01-31   2022-02-01 ics/trump-grip-republicans-polls.html       Fractures                                   By Shane Goldmacher              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/puer Racing to Own a Piece of Paradise in Puerto By Coral Murphy Marcos Patricia
2022-01-31   2022-02-01 to-rico-gentrification.html                 Rico                                        Mazzei and Erika P Rodriguez     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/trum Georgia Prosecutor in Inquiry Of Trump
2022-01-31   2022-02-01 p-fbi-georgia.html                          Seeks Security Help                         By Richard Fausset               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/well/eat
2022-01-31   2022-02-01 /mindful-intuitive-eating.html              MindfulEating Tips That Readers Shared      By Tara ParkerPope               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/well/mi
2022-01-31   2022-02-01 nd/building-resilience-loss.html            To Move Forward Roll With the Punches       By Jane E Brody                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/world/a Anger Erupts in China Over Video of
2022-01-31   2022-02-01 sia/china-chained-woman-video.html          Mentally Ill Woman Chained in Shack         By Vivian Wang and Joy Dong      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/world/a As Winter Olympics Near China Acts to        By Paul Mozur Steven Lee Myers
2022-01-31   2022-02-01 sia/winter-olympics-crackdown.html          Quash Dissent                               and John Liu                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/world/a Top Pastor In Australia Steps Down After
2022-01-31   2022-02-01 ustralia/brian-houston-hillsong.html        Charge                                      By Yan Zhuang                    TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/01/31/world/c Trudeau Denounces Pandemic Protests
2022-01-31   2022-02-01 anada/trudeau-truckers-anti-vax-protests.html Spurred by Canadian Trucker Convoy        By Dan Bilefsky and Vjosa Isai   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/world/e Report on Downing Street Parties Deepens the By Mark Landler and Stephen
2022-01-31   2022-02-01 urope/boris-johnson-gray-report.html          Crisis for Johnson                        Castle                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/world/e Cyprus Overturns Conviction of Briton Who By Jenny Gross and Isabel
2022-01-31   2022-02-01 urope/cyprus-rape.html                        Accused Israelis of Rape at Hotel         Kershner                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/world/e Vaccinated Italians Differ On How to Now
2022-01-31   2022-02-01 urope/italy-covid-risk.html                   Live Life                                 By Jason Horowitz                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/01/31/world/e Reign of Terror Comes to Light In
2022-01-31   2022-02-01 urope/kazakhstan-uprising-abuse-torture.html Kazakhstan                                 By Valerie Hopkins               TX 9-154-386   2022-04-04




                                                                                Page 3317 of 5793
                        https://www.nytimes.com/2022/01/31/world/e Sexual Abuse Reports on Rise in Netherlands
2022-01-31   2022-02-01 urope/metoo-voice-holland-netherlands.html After Scandal at TV Show                    By Claire Moses                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/world/e Some Populists Worry More About EU Than
2022-01-31   2022-02-01 urope/ukraine-poland-hungary-nato.html        Russia                                   By Andrew Higgins                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/world/ It Was Horrifying Death and Terror From
2022-01-31   2022-02-01 middleeast/syria-prison-isis-boys.html        Syrian Prison Siege                      By Jane Arraf and Sangar Khaleel   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/01/30/wo
                        rld/omicron-covid-vaccine-tests/more-west-
                        coast-dockworkers-tested-positive-in-january- Coronavirus Sidelines Dockworkers Adding
2022-01-31   2022-02-01 than-in-all-of-2021                           To the Supply Backlog                    By Adeel Hassan                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/nyregio Nadlers Colleagues to Gain From His New
2022-02-01   2022-02-01 n/nyc-congressional-district-nadler.html      District                                 By Nicholas Fandos                 TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/01/31/opinion
2022-02-01   2022-02-01 /republican-misinformation-coronavirus.html Guns Germs Bitcoin and the Antisocial Right By Paul Krugman                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/sports/f
                        ootball/tom-brady-interview-retirement-        Not So Fast Brady Isnt Ready to Say If Hes
2022-02-01   2022-02-01 decision.html                                  Retiring                                   By Jenny Vrentas                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/theater/
2022-02-01   2022-02-01 intimate-apparel-review-lynn-nottage.html      Letting the Seamstress Sing                By Jesse Green                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/polit                                               By Sharon LaFraniere and Noah
2022-02-01   2022-02-01 ics/children-covid-vaccine.html                Vaccine for Young Children Close to Review Weiland                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/polit                                               By Blake Hounshell and Leah
2022-02-01   2022-02-01 ics/desantis-media.html                        How DeSantis Gamed The Media as He Rose Askarinam                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/polit                                               By Alan Feuer Maggie Haberman
                        ics/donald-trump-election-results-fraud-voting                                            Michael S Schmidt and Luke
2022-02-01   2022-02-01 machines.html                                  Trump Sought Ways to Seize Vote Machines Broadwater                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/polit US and Allies May Revive 2015 Nuclear Deal By David E Sanger Lara Jakes and
2022-02-01   2022-02-01 ics/iran-nuclear-deal-biden.html               With Iran                                  Farnaz Fassihi                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/polit Top Pence Aide Spoke to Jan 6 Panel in
2022-02-01   2022-02-01 ics/marc-short-mike-pence.html                 Closed Session                             By Luke Broadwater              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/us/polit Fatal Prison Fight Triggers A Lockdown
2022-02-01   2022-02-01 ics/ms13-texas-prison-fight.html               Nationwide                                 By Katie Benner                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/world/e In Ukraine Crisis USRussia Fight Plays Out at By Rick Gladstone and Maria
2022-02-01   2022-02-01 urope/ukraine-russia-united-nations.html       UN                                         Varenikova                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/insider/
2022-02-01   2022-02-01 ready-set-gerrymander.html                     Gerrymandering for Fictional Power         By Sarah Bahr                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/science
2022-02-01   2022-02-01 /groundhogs-animal-behavior.html               Out From The Shadows                       By Brandon Keim and Greta Rybus TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/sports/j Taking On Everest At Its Very Coldest And at
2022-02-01   2022-02-01 ost-kobusch-solo-everest-climb.html            Its Toughest                               By Michael Levy                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/27/dining/
2022-01-27   2022-02-02 drinks/best-wine-glasses.html                  One Single Glass To Enjoy All Wine         By Eric Asimov                  TX 9-154-386   2022-04-04




                                                                               Page 3318 of 5793
                        https://www.nytimes.com/2022/01/28/dining/l
2022-01-28   2022-02-02 emon-ricotta-pancakes.html                  Pancakes That Croon Eat Me Tender           By Genevieve Ko                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/28/dining/r
2022-01-28   2022-02-02 estaurant-phone-line-call.html              Dont Call Us We Wont Call You               By Victoria Petersen                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/28/dining/
2022-01-28   2022-02-02 scottish-cock-a-leekie-soup.html            Medicinal Relief With a Scottish Lilt       By Melissa Clark                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/arts/des
2022-01-31   2022-02-02 ign/uffizi-contemporary-art.html            The Uffizi Gallery Shakes Off the Dust      By Robin Pogrebin                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/dining/
2022-01-31   2022-02-02 barbuto-review.html                         Chicken Thrives After Address Transplant    By Pete Wells                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/dining/ To Watch Breaking Bread Showcases Food
2022-01-31   2022-02-02 breaking-bread-documentary.html             Festival                                    By Florence Fabricant               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/dining/
2022-01-31   2022-02-02 crunchy-chicken-salad.html                  A Crowd Pleaser Spreads Comfort             By Naz Deravian                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/dining/
2022-01-31   2022-02-02 dinner-party-menu.html                      For This Menu Start With Dessert            By David Tanis                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/dining/ To Serve Fine Tinned Seafood From
2022-01-31   2022-02-02 minnow-tinned-seafood-cervos.html           Restaurant Team                             By Florence Fabricant               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/dining/ To View 50 Queens Chefs Share Their
2022-01-31   2022-02-02 queens-chef-project.html                    Favorite Things                             By Florence Fabricant               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/01/31/dining/ To Enjoy Stage Production Explores The
2022-01-31   2022-02-02 spam-specially-processed-american-me.html Meaning of Spam                                By Florence Fabricant              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/dining/t To Sip KojiFermented Whiskey Comes to the
2022-01-31   2022-02-02 akamine-whiskey.html                         US                                          By Florence Fabricant              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/dining/ To Cook Artists and the Food That Inspired
2022-01-31   2022-02-02 ucross-wyoming-cookbook.html                 Them                                        By Florence Fabricant              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/sports/b Its All About Team and Coffee for Miamis
2022-01-31   2022-02-02 asketball/jimmy-butler-miami-heat.html       AllEverything                               By Jonathan Abrams                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/technol                                               By Sheera Frenkel Mike Isaac and
2022-01-31   2022-02-02 ogy/facebook-meta-change.html                The Metamorphosis Of Facebook               Ryan Mac                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/theater/ A Memoir of the Body Both Intimate and
2022-02-01   2022-02-02 shhhh-review.html                            Explicit                                    By Maya Phillips                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/arts/dan Donald Mahler 88 a Choreographer Of Dark
2022-02-01   2022-02-02 ce/donald-mahler-dead.html                   Ballets With Indelible Power                By Anna Kisselgoff                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/arts/dan
2022-02-01   2022-02-02 ce/tap-dance-kid-encores-revival.html        You Can Sing and Act but You Cant Tap       By Brian Seibert                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/arts/mu International Orchestras Make Their Return to
2022-02-01   2022-02-02 sic/classical-music-carnegie-hall.html       Carnegie                                    By Zachary Woolfe                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/arts/mu
2022-02-01   2022-02-02 sic/j-dilla-time-book.html                   Book Aims to Deepen The Legacy of J Dilla By Eric Ducker                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/arts/mu
2022-02-01   2022-02-02 sic/spotify-rogan-neil-young.html            Hell Be A Hard Act To Follow                By Ben Sisario                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/arts/tele
2022-02-01   2022-02-02 vision/pam-and-tommy-review.html             A PornWorld Caper With RealPeople Pain      By James Poniewozik                TX 9-154-386   2022-04-04



                                                                                Page 3319 of 5793
                        https://www.nytimes.com/2022/02/01/books/r
2022-02-01   2022-02-02 eview-nineties-chuck-klosterman.html        Come as You Are or Were to a 90s Flashback By Alexandra Jacobs                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/briefing Whats Making Americans Mad Not Just
2022-02-01   2022-02-02 /inflation-anger-us-covid.html              Inflation                                     By David Leonhardt                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/busines
2022-02-01   2022-02-02 s/als-synapticure-startup.html              Rethinking Care After ALS Diagnosis           By Maureen Farrell                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/busines Omicron Surge Did Little To Cool the Hot
2022-02-01   2022-02-02 s/economy/job-openings-omicron.html         Job Market                                    By Ben Casselman                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/busines Exxon Mobil Reports 89 Billion Quarterly
2022-02-01   2022-02-02 s/exxon-earnings-4q-2021.html               Profit                                        By Clifford Krauss                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/busines GMs Profit Jumped Despite Global Chip
2022-02-01   2022-02-02 s/gm-earnings.html                          Shortage                                      By Neal E Boudette                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/busines India Spends Big on Construction But Critics
2022-02-01   2022-02-02 s/india-budget.html                         Want More Rural Jobs                          By Karan Deep Singh               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/busines
2022-02-01   2022-02-02 s/new-york-commercial-real-estate.html      Transactions                                  By Kristen Bayrakdarian           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/busines
2022-02-01   2022-02-02 s/paycheck-protection-program-costs.html    Paycheck Aid Went Into Deep Pockets           By Stacy Cowley                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/busines Starbucks Reports Big Profit Jump and Will
2022-02-01   2022-02-02 s/starbucks-prices.html                     Raise Prices Again                            By Coral Murphy Marcos            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/busines Tesla Recalls 54000 Cars That Feature
2022-02-01   2022-02-02 s/tesla-recall.html                         Rolling Stops                                 By Neal E Boudette                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/busines
2022-02-01   2022-02-02 s/warehouses-supply-chain.html              Empty Warehouse Space Is Hard to Find         By Miranda S Spivack              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/dining/l
                        ouisiana-seafood-climate-change-melissa-
2022-02-01   2022-02-02 martin.html                                 Under Siege A Seafood Tradition Struggles By Brett Anderson                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/dining/ City Harvest Moves Into an Expansive Space
2022-02-01   2022-02-02 nyc-restaurant-news.html                    in Sunset Park Brooklyn                       By Florence Fabricant             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/health/ Tribes Reach 590 Million Settlement on
2022-02-01   2022-02-02 opioids-native-american-tribes.html         Opioids                                       By Jan Hoffman                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/movies/ Six Movies We Like and One We Disagree
2022-02-01   2022-02-02 sundance-film-festival.html                 On                                            By Manohla Dargis and AO Scott    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/nyregio Records Show Staff Shortages Delayed Care
2022-02-01   2022-02-02 n/rikers-island-medical-care.html           for Thousands at Rikers                       By Jonah E Bromwich               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/opinion
2022-02-01   2022-02-02 /all-women-newspaper-india.html             Reporting for Justice in India                By Farah Stockman                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/opinion
2022-02-01   2022-02-02 /prenatal-testing.html                      Our Prenatal Testing System Is Broken         By Amy Julia Becker               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/sports/b Pitino Enjoys a Smaller Stage and Its Lack of
2022-02-01   2022-02-02 asketball/rick-pitino-iona-800-wins.html    Drama                                         By Billy Witz                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/sports/f
                        ootball/brian-flores-giants-discrimination- Fired and Passed Over a Coach Sues the NFL
2022-02-01   2022-02-02 lawsuit.html                                Charging Racial Bias                          By Ken Belson and Jenny Vrentas   TX 9-154-386   2022-04-04




                                                                                Page 3320 of 5793
                        https://www.nytimes.com/2022/02/01/sports/f Bradys Legacy Goose Bumps Vitriol and
2022-02-01   2022-02-02 ootball/tom-brady.html                      Respect                                        By Bill Pennington               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/01/sports/o
                        lympics/netherlands-speedskating-beijing-   To Skate for the Netherlands You Must First
2022-02-01   2022-02-02 2022.html                                   Survive the Selection Matrix                   By Kevin Draper                  TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/01/technol Alphabet Exceeds Earnings Estimates and
2022-02-01   2022-02-02 ogy/google-alphabet-earnings.html           Plans a Stock Split                            By Daisuke Wakabayashi           TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/01/us/alan- Alan A Stone 92 Who Influenced Evolution
2022-02-01   2022-02-02 stone-dead.html                             of Psychiatric Ethics Dies                     By Clay Risen                    TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/01/us/brid 2 Officers Fatally Shot At a College in
2022-02-01   2022-02-02 gewater-college-shooting-virginia.html      Virginia                                       By Alyssa Lukpat and Jesus Jimnez TX 9-154-386   2022-04-04
                                                                    Questions Remain After Crash in
                        https://www.nytimes.com/2022/02/01/us/cdc- Pennsylvania Involving a Truckload of
2022-02-01   2022-02-02 monkeys-pennsylvania-truck-crash.html       Monkeys                                        By Michael Levenson              TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/01/us/pigs-
2022-02-01   2022-02-02 san-francisco-california.html               Swine Bomb Hits Bay Area Tusks Flailing        By Thomas Fuller                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/01/us/polit Alabama Democrat Is Chosen to Guide
2022-02-01   2022-02-02 ics/doug-jones-supreme-court.html           Bidens Pick for Supreme Court                  By Katie Rogers                  TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/01/us/polit
                        ics/midterm-elections-campaign-             Billionaires and Big Checks Shape Battle for   By Shane Goldmacher and Rachel
2022-02-01   2022-02-02 financing.html                              Congress                                       Shorey                         TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/01/us/polit
2022-02-01   2022-02-02 ics/national-debt-30-trillion.html          National Debt Breaks Record At 30 Trillion     By Alan Rappeport                TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/01/us/sno 2000Mile Stretch of Storms May Be Felt
2022-02-01   2022-02-02 w-winter-storm.html                         From New Mexico to Vermont                     By Azi Paybarah                  TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/01/world/a For Congos River Commuters a Floating           By Ruth Maclean Caleb Kabanda
2022-02-01   2022-02-02 frica/congo-river-pastors.html              Gospel                                         and Nanna Heitmann               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/01/world/a President of GuineaBissau Says a Coup Was
2022-02-01   2022-02-02 frica/guinea-bissau-coup-attempt.html       Thwarted                                       By Declan Walsh                  TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/01/world/a Year After a Coup Conflict and Chaos Rule By Richard C Paddock and The
2022-02-01   2022-02-02 sia/myanmar-coup-anniversary-sanctions.html Myanmar                                   New York Times                        TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/01/world/e
                        urope/anders-behring-breivik-norway-        In Norway Parole Denied To Man Jailed For By Cora Engelbrecht and Henrik
2022-02-01   2022-02-02 parole.html                                 Killing 77                                Pryser Libell                         TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/01/world/e Report on London Police Details Troubling
2022-02-01   2022-02-02 urope/london-police-misogyny-racism.html Culture                                     By Megan Specia                 TX 9-154-386           2022-04-04
                        https://www.nytimes.com/2022/02/01/world/e In Talks With Putin Hungarys Leader
2022-02-01   2022-02-02 urope/orban-putin-moscow-ukraine.html      Diverges From NATO and EU Allies          By Valerie Hopkins              TX 9-154-386           2022-04-04
                        https://www.nytimes.com/2022/02/01/world/e Putin Claims US Is Trying to Goad Moscow By Anton Troianovski and Michael
2022-02-01   2022-02-02 urope/putin-russia-ukraine.html            Into War                                  Schwirtz                        TX 9-154-386           2022-04-04
                        https://www.nytimes.com/2022/02/01/world/e As Superpowers Bicker a Trench War Grinds
2022-02-01   2022-02-02 urope/ukraine-army-nato-russia.html        On and On                                 By Andrew E Kramer              TX 9-154-386           2022-04-04




                                                                                 Page 3321 of 5793
                        https://www.nytimes.com/2022/02/01/world/ Chinas Mideast Interests Grow as US Pulls
2022-02-01   2022-02-02 middleeast/china-middle-east.html         Back                                            By Ben Hubbard and Amy Qin          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/world/
                        middleeast/israel-commanders-palestinian- Israeli Commanders Punished in West Bank
2022-02-01   2022-02-02 man.html                                  Death                                           By Raja Abdulrahim                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/02/us/min Student Killed in a Shooting Outside a          By Neil Vigdor and Isabella Grulln
2022-02-01   2022-02-02 neapolis-school-shooting-richfield.html   Minnesota School                                Paz                                TX 9-154-386    2022-04-04

                        https://www.nytimes.com/interactive/2022/02/ US Has Far Higher Covid Death Rate Than      By Benjamin Mueller and Eleanor
2022-02-01   2022-02-02 01/science/covid-deaths-united-states.html   Other Wealthy Countries                      Lutz                            TX 9-154-386       2022-04-04

                        https://www.nytimes.com/live/2022/02/01/spo Brady Retires After 22 Years of Setting
2022-02-01   2022-02-02 rts/tom-brady-retires/tom-brady-retirement-nfl Records and Defying Time                   By Ben Shpigel                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/opinion What the Strivers at Brooklyn Tech Can
2022-02-02   2022-02-02 /diversity-public-schools.html                 Teach Us                                   By Bret Stephens                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/opinion
                        /neil-young-liz-cheney-climate-                Neil Young and Liz Cheney Thanks for
2022-02-02   2022-02-02 misinformation.html                            Sticking Your Necks Out                    By Thomas L Friedman                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/theater/
2022-02-02   2022-02-02 mj-musical-review.html                         The Man In the Mirror                    By Jesse Green                  TX 9-154-386         2022-04-04
                                                                                                                By Luke Broadwater Maggie
                        https://www.nytimes.com/2022/02/01/us/jan- Jan 6 Inquiry Looks at Trumps Role in Effort Haberman Alan Feuer and Michael
2022-02-02   2022-02-02 6-panel-trump-voting-machines.html          to Seize Voting Machines                    S Schmidt                       TX 9-154-386         2022-04-04
                        https://www.nytimes.com/2022/02/01/us/polit Senator From New Mexico Is Recovering       By Chris Cameron and Emily
2022-02-02   2022-02-02 ics/ben-ray-lujan-stroke.html               After Stroke                                Cochrane                        TX 9-154-386         2022-04-04
                        https://www.nytimes.com/2022/02/01/us/polit                                             By Blake Hounshell and Leah
2022-02-02   2022-02-02 ics/democrats-gop-red-wave.html             Why Democrats Cant Be Counted Out           Askarinam                       TX 9-154-386         2022-04-04
                        https://www.nytimes.com/2022/02/01/us/polit Pfizer Asks FDA to Clear 2 Doses for Young By Sharon LaFraniere and Noah
2022-02-02   2022-02-02 ics/pfizer-vaccine-kids.html                Children as a Start                         Weiland                         TX 9-154-386         2022-04-04
                        https://www.nytimes.com/2022/02/01/us/polit US Sends Top Cybersecurity Official to
2022-02-02   2022-02-02 ics/russia-ukraine-cybersecurity-nato.html  Prepare NATO for Russian Attacks            By David E Sanger               TX 9-154-386         2022-04-04

                        https://www.nytimes.com/2022/02/01/us/polit Administration Will Not Use Evidence
2022-02-02   2022-02-02 ics/torture-guantanamo-terrorism-biden.html Gained by Torture                               By Carol Rosenberg                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/us/polit
                        ics/trump-election-jan-6-voting-
2022-02-02   2022-02-02 machines.html                                   Trumps Aim Keep Power At All Costs          By Shane Goldmacher               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/insider/
2022-02-02   2022-02-02 audio-storytelling.html                         The Power of Narrated Stories               By Katie Van Syckle               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/us/polit                                                 By Noah Weiland Katie Thomas
2022-02-02   2022-02-02 ics/biden-covid-tests.html                      Covid Tests Head to Homes After a Late Dash and Jessica SilverGreenberg       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/02/wo
                        rld/covid-test-vaccine-cases/covid-is-killing-
                        people-in-the-us-at-far-higher-rates-than-those US Has Far Higher Virus Death Rate Than     By Benjamin Mueller and Eleanor
2022-02-02   2022-02-02 in-other-wealthy-nations                        Other Wealthy Countries                     Lutz                              TX 9-154-386   2022-04-04



                                                                                 Page 3322 of 5793
                        https://www.nytimes.com/2022/01/07/well/m Here to Help How to Add a Jump Rope to
2022-01-07   2022-02-03 ove/jump-rope-exercise.html                 Your Workout Routine                       By Rachel Fairbank                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/19/at-
2022-01-19   2022-02-03 home/newsletter.html                        Your Dreams Two Years On                   By Melissa Kirsch                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/20/well/su
2022-01-20   2022-02-03 stainable-period-products.html              Menstruation Gets a Gen Z Makeover         By Pooja Makhijani                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/28/style/yv
                        es-saint-laurent-exhibition-five-museums-
2022-01-28   2022-02-03 paris.html                                  Fashion as Art The French Say Oui          By Tina IsaacGoiz                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/fashion
2022-01-31   2022-02-03 /covid-form-fibs.html                       On Covid Forms an Outbreak of Fibbing      By Steven Kurutz                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/style/ri
2022-01-31   2022-02-03 hanna-pregnancy-photo.html                  Celebrity Pregnancy Photo Ops              By Vanessa Friedman               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/01/arts/mu
2022-02-01   2022-02-03 sic/immanuel-wilkins-7th-hand-review.html Working to Become A Vessel for the Divine By Giovanni Russonello               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/movies/
                        these-talkies-star-complicated-women-you-
2022-02-01   2022-02-03 might-recognize.html                         These Women Broke Free on the Big Screen By Beatrice Loayza                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/sports/b A Manager and His Wine Each Getting Better
2022-02-01   2022-02-03 aseball/dusty-baker-wine.html                With Age                                   By Scott Miller                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/sports/b A Network of Staffers Makes NBA Families
2022-02-01   2022-02-03 asketball/nba-player-families.html           Feel Welcome                               By Tania Ganguli                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/us/fertil Thousands Urged to Stay Away as North
2022-02-01   2022-02-03 izer-plant-fire-winston-salem-nc.html        Carolina Fertilizer Plant Keeps Burning    By Christine Hauser              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/us/who ABC Suspends Goldberg for Comments
2022-02-01   2022-02-03 opi-goldberg-holocaust.html                  About the Holocaust                        By Jenny Gross and Neil Vigdor   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/theater/
2022-02-02   2022-02-03 prayer-for-the-french-republic-review.html   Face Antisemitism Assimilate or Leave      By Elisabeth Vincentelli         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/arts/dan Birju Maharaj 83 Master Of Indian Classical
2022-02-02   2022-02-03 ce/birju-maharaj-dead.html                   Dance                                      By Alastair Macaulay             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/arts/des
                        ign/andrew-wyeth-colby-college-              Securing Wyeths Legacy Five Miles Out to
2022-02-02   2022-02-03 acquisition.html                             Sea                                        By Meredith Mendelsohn           TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/02/arts/des
2022-02-02   2022-02-03 ign/venice-biennale-alemani-women-art.html A Diverse Venice Biennale                   By Robin Pogrebin                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/arts/mu
                        sic/dolly-parton-eminem-rock-hall-of-
2022-02-02   2022-02-03 fame.html                                    Rock Hall Nominees Announced              By Joe Coscarelli                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/arts/tele
2022-02-02   2022-02-03 vision/che-diaz-and-just-like-that.html      Telling the Actor From the Role           By Julia Jacobs                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/books/r
2022-02-02   2022-02-03 eview-vladimir-julia-may-jonas.html          Celebrating Transgression Up to a Point   By Molly Young                    TX 9-154-386   2022-04-04




                                                                                  Page 3323 of 5793
                        https://www.nytimes.com/2022/02/02/busines
2022-02-02   2022-02-03 s/economy/oil-price.html                    Growing Turmoil for Energy                 By Clifford Krauss             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/busines
                        s/energy-environment/europe-green-          Europe Labels Nuclear and Natural Gas as
2022-02-02   2022-02-03 taxonomy.html                               Sustainable Investments                    By Monika Pronczuk             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/busines Grindr Is Pulled From Apples App Store in
2022-02-02   2022-02-03 s/grindr-apple-app-store-china.html         China                                      By Paul Mozur                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/busines John Koss 91 Stereo Headphones Creator
2022-02-02   2022-02-03 s/john-koss-dead.html                       Dies                                       By Richard Sandomir            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/busines CNN Chief Out For Concealing A              By Michael M Grynbaum and John
2022-02-02   2022-02-03 s/media/jeff-zucker-cnn.html                Relationship                               Koblin                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/busines
2022-02-02   2022-02-03 s/media/nyt-earnings-q4-2021.html           10 Million Subscribers At The Times        By Marc Tracy                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/busines OPEC and Allies Stick With Modest
2022-02-02   2022-02-03 s/opec-meeting-oil.html                     Production Rise                            By Stanley Reed                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/climate Tumult in Fossil Fuels Disrupts Climate
2022-02-02   2022-02-03 /oil-gas-prices-climate-change.html         Policies                                   By Brad Plumer                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/health/l Potential Leukemia Cure Leads to New
2022-02-02   2022-02-03 eukemia-car-t-immunotherapy.html            Mysteries                                  By Gina Kolata                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/movies/ Monica Vitti the Queen of Italian Cinema in
2022-02-02   2022-02-03 monica-vitti-dead.html                      the 1960s Is Dead at 90                    By Rick Lyman                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/movies/
2022-02-02   2022-02-03 oscars-nominations-predictions.html         Some Predictions On Oscar Picks            By Kyle Buchanan               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/nyregio A Small Army Is Set on Clearing Cuomos      By Nicholas Fandos and Dana
2022-02-02   2022-02-03 n/cuomo-supporters.html                     Name                                       Rubinstein                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/nyregio It Has to Stop Four Are Charged in          By Benjamin Weiser and Troy
2022-02-02   2022-02-03 n/michael-k-williams-death-arrest.html      Connection With Wire Actors Opioid Death Closson                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/nyregio Gerrymandering by New York Democrats        By Nicholas Fandos Luis
2022-02-02   2022-02-03 n/redistricting-gerrymandering-ny.html      May Flip 3 House Seats                     FerrSadurn and Grace Ashford   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/nyregio Thousands Mourn NYPD Officer Who Was
2022-02-02   2022-02-03 n/wilbert-mora-nypd-funeral.html            Proud to Wear Blue                         By Michael Wilson              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/opinion
2022-02-02   2022-02-03 /covid-variant-air-sewage.html              Clues to the Next Variant Abound           By Rick Bright                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/opinion So You Think the Republican Party No
2022-02-02   2022-02-03 /liberals-conservatives-democracy.html      Longer Represents the People               By Ross Douthat                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/opinion
2022-02-02   2022-02-03 /trump-campaign-fundraising.html            Nobody Ever Said Democracy Came Cheap By Gail Collins                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/opinion The Child Care Fixes We Need Before the
2022-02-02   2022-02-03 /vaccines-child-care.html                   Next Virus Wave                            By Jessica Grose               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/sports/c Games Commence Before Opening Ceremony
2022-02-02   2022-02-03 urling-olympics.html                        US Starts With a Curling Victory           By Victor Mather               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/sports/o Inside Beijings Bubble Among Service
2022-02-02   2022-02-03 lympics/bubble-covid-testing.html           Robots And Anxious Humans                  By Alan Blinder                TX 9-154-386   2022-04-04




                                                                             Page 3324 of 5793
                        https://www.nytimes.com/2022/02/02/sports/u
                        sa-swimming-transgender-athletes-ncaa-lia- NCAA Unsure About USA Swimmings
2022-02-02   2022-02-03 thomas.html                                 Stringent Transgender Policy               By Billy Witz and Azeen Ghorayshi TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/02/sports/ Ready for a Fresh Start Washington Rebrands
2022-02-02   2022-02-03 washington-football-team-commanders.html Itself as the Commanders                      By Ken Belson                     TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/02/style/fl
2022-02-02   2022-02-03 ower-supply-shortage.html                   Flower Industry Faces Multiple Challenges  By Stephanie Cain                 TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/02/technol Investment In Metaverse Drags Down Metas
2022-02-02   2022-02-03 ogy/meta-facebook-earnings-metaverse.html Profit                                         By Mike Isaac                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/technol
                        ogy/personaltech/laser-vacuum-robot-
2022-02-02   2022-02-03 mop.html                                      Laser Vacuum Reveals the Horror Underfoot By Brian X Chen                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/theater/
                        shakespeare-in-the-park-danai-gurira-richard- No Holding Back on Shakespeare in the Park
2022-02-02   2022-02-03 iii.html                                      This Summer                                By Michael Paulson                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/us/ahm Arbery Case Finds Prosecutors And Victims By Richard Fausset and Shaila
2022-02-02   2022-02-03 aud-arbery-murder-plea-deal.html              in Unusual Clash                           Dewan                             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/us/polit Former Officer Who Testified Against Trump
2022-02-02   2022-02-03 ics/alexander-vindman-trump-lawsuit.html      Files a Lawsuit                            By Michael S Schmidt              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/us/polit President Aims to Cut The Cancer Death       By Sheryl Gay Stolberg and Gina
2022-02-02   2022-02-03 ics/biden-cancer-moonshot.html                Rate In Half Over 25 Years                 Kolata                            TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/02/us/polit Democrats Flout Leaders To Back Stock
2022-02-02   2022-02-03 ics/democrats-congress-stocks-trading.html Trading Ban                                  By Jonathan Weisman                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/us/polit Panel Says Radio Waves May Have Role in
2022-02-02   2022-02-03 ics/havana-syndrome-radio-energy.html       Some Havana Syndrome Cases                  By Julian E Barnes                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/us/polit
                        ics/republicans-impeach-trump-primary-fund- Republicans Who Voted to Impeach Are
2022-02-02   2022-02-03 raising.html                                Outraising Their Rivals                     By Catie Edmondson                 TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/02/us/polit GOP Weighs How Much to Fight a Black
2022-02-02   2022-02-03 ics/republicans-supreme-court-nominee.html Female Supreme Court Pick                  By Carl Hulse                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/us/wint Enormous Storm Sweeps Snow And Ice
2022-02-02   2022-02-03 er-storm-warning-snow.html                  Across 3 Time Zones                       By Mitch Smith                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/world/a Attack Kills 60 in Camp For Displaced in   By Steve Wembi and Abdi Latif
2022-02-02   2022-02-03 frica/congo-camp-attack-60-dead.html        Congo                                     Dahir                                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/world/a Canadas Conservative Leader Is Ousted in
2022-02-02   2022-02-03 mericas/erin-otoole-ousted-canada.html      Lift for Trudeau                          By Dan Bilefsky and Ian Austen       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/world/a At a GM Plant in Mexico a Labor Challenge
2022-02-02   2022-02-03 mericas/mexico-labor-general-motors.html    Arises                                    By Natalie Kitroeff                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/world/a Starving and Scared Afghans Pour Over      By Christina Goldbaum Yaqoob
2022-02-02   2022-02-03 sia/afghanistan-migration-refugees.html     Border                                    Akbary and Kiana Hayeri              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/world/a As West Presses Putin Over Ukraine Buildup By Steven Lee Myers and Edward
2022-02-02   2022-02-03 sia/russia-ukraine-china-putin-xi.html      China Has His Back                        Wong                                 TX 9-154-386   2022-04-04



                                                                                Page 3325 of 5793
                        https://www.nytimes.com/2022/02/02/world/a
2022-02-02   2022-02-03 sia/shintaro-ishihara-dead.html            Shintaro Ishihara 89 Outspoken Nationalist By Isabella Kwai and Makiko Inoue TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/02/world/e More Tory Lawmakers Defect as Johnson        By Mark Landler and Stephen
2022-02-02   2022-02-03 urope/boris-johnson-parties.html           Seeks to Push Past British Uproar            Castle                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/world/e One Day in the Parallel Universe of a London
2022-02-02   2022-02-03 urope/covid-london-icus.html               ICU                                          By Megan Specia                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/world/e Turkey Says Greece Left 12 Migrants to Die
2022-02-02   2022-02-03 urope/greece-turkey-migrant-deaths.html    in Cold                                      By Carlotta Gall and Safak Timur TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/world/e Despite a Shift Toward Diplomacy a Chasm By Marc Santora and Shashank
2022-02-02   2022-02-03 urope/putin-russia-ukraine-us.html         With Russia Remains                          Bengali                          TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/02/world/e US Wont Bow to Russia Over Who Can Join By Steven Erlanger and Andrew E
2022-02-02   2022-02-03 urope/us-nato-response-russia-demands.html NATO                                         Kramer                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/02/bus
                        iness/stock-market-economy-news/behind-the-
                        deal-to-acquire-facebooks-cryptocurrency-   Regulators Led Bank to Buy Facebooks
2022-02-02   2022-02-03 diem                                        Crypto                                      By Ephrat Livni                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/sports/s
                        occer/usmnt-honduras-world-cup-             For One Night the US Silences Its Doubters
2022-02-03   2022-02-03 qualifying.html                             by Taking Command                           By James Wagner                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/us/mail- Race Seen to Coincide With Higher Rejection
2022-02-03   2022-02-03 voting-black-latino.html                    Of 2020 Mail Ballots                        By Mike Baker                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/us/polit
2022-02-03   2022-02-03 ics/biden-putin-strategy.html               Engaging in a Risky War of Words            By David E Sanger                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/us/polit
                        ics/policing-white-house-law-               White House Moves to Mend Fences With       By Katie Benner Zolan
2022-02-03   2022-02-03 enforcement.html                            Police                                      KannoYoungs and Charlie Savage   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/us/polit Trump Campaigns Memos Show Beginnings By Alan Feuer Maggie Haberman
2022-02-03   2022-02-03 ics/trump-jan-6-memos.html                  of a Plan To Install Alternate Electors     and Luke Broadwater              TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/03/busines
2022-02-03   2022-02-03 s/economy/jobs-report-covid-omicron.html     Jobs Data For January May Perplex            By Ben Casselman               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/busines In Europe US Exports Ease Natural Gas
2022-02-03   2022-02-03 s/natural-gas-europe-us.html                 Crunch                                       By Stanley Reed                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/style/art
2022-02-03   2022-02-03 school-instagram.html                        Oh Art School Days                           By Alex Williams               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/style/de
2022-02-03   2022-02-03 troit-fashion-deviate.html                   Picturing Detroit as the Next Fashion City   By Jessica Iredale             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/style/m
                        alaysia-secondhand-clothing-grailed-etsy-
2022-02-03   2022-02-03 ebay.html                                    The Secondhand Clothing Boom                 By Ezra Marcus                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/busines
2022-02-01   2022-02-04 s/economy/part-time-work.html                Few Gains for PartTime Workers               By Noam Scheiber               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/movies/
2022-02-01   2022-02-04 my-best-friend-anne-frank-review.html        My Best Friend Anne Frank                    By Nicolas Rapold              TX 9-154-386   2022-04-04



                                                                                  Page 3326 of 5793
                        https://www.nytimes.com/2022/02/01/us/mel- Mel Mermelstein 95 Who Survived Holocaust
2022-02-02   2022-02-04 mermelstein-dead.html                       and Beat Deniers in Court                By Sam Roberts                    TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/02/arts/des
2022-02-02   2022-02-04 ign/gold-cube-niclas-castello.html          It Sure Is Gold but Not All That New     By Will Heinrich and Sam Youkilis TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/02/arts/yal Yale to Evaluate Policies On Gifts and
2022-02-02   2022-02-04 e-donor-grand-strategy.html                 Donors                                   By Jennifer Schuessler            TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/02/movies/
2022-02-02   2022-02-04 last-looks-review.html                      Last Looks                               By Glenn Kenny                    TX 9-154-386       2022-04-04
                        https://www.nytimes.com/live/2022/02/02/wo
                        rld/covid-test-vaccine-cases/the-surgeon-
                        general-assures-parents-vaccines-for-young- US Says Shot for Toddlers Will Get a
2022-02-02   2022-02-04 children-will-get-a-rigorous-fda-review     Thorough Review                          By Sheryl Gay Stolberg            TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/02/sports/h Robin Herman 70 Reporter Who Pried Open
2022-02-03   2022-02-04 ockey/robin-herman-dead.html                Doors in NHL Dies                        By Richard Sandomir               TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/03/arts/des
2022-02-03   2022-02-04 ign/leon-kossoff-artist-exhibition.html     The Greatness In a Loaded Brush          By Roberta Smith                  TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/03/arts/des
                        ign/religion-art-politics-met-devotion-
2022-02-03   2022-02-04 columbia.html                               Putting Art and Faith on Display         By Holland Cotter                 TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/03/arts/mu
2022-02-03   2022-02-04 sic/janet-mead-dead.html                    Janet Mead 80s Nun Who Rocked Pop Chart By Katharine Q Seelye              TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/03/arts/mu
2022-02-03   2022-02-04 sic/mitski-laurel-hell-review.html          Moving Inward Back Into the Darkness     By Jon Pareles                    TX 9-154-386       2022-04-04

                        https://www.nytimes.com/2022/02/03/arts/tele
2022-02-03   2022-02-04 vision/and-just-like-that-season-finale.html There Was Less Sex But Lots of Emotion       By Alexis Soloski                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/arts/tele
2022-02-03   2022-02-04 vision/ethos-phat-tuesdays.html              This Weekend I Have                          By Margaret Lyons                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/arts/tele
2022-02-03   2022-02-04 vision/jack-reacher-amazon.html              This Jack Reacher Fills Out His Character    By Elisabeth Vincentelli         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/books/s
2022-02-03   2022-02-04 heila-heti-pure-colour.html                  A Writer Continues To Mine Her Life          By Joumana Khatib                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/busines
2022-02-03   2022-02-04 s/economy/bank-of-england-rates.html         Bank of England Raises Rates Again           By Eshe Nelson                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/busines
                        s/economy/federal-reserve-sarah-bloom-       Skeptical Senators Challenge Bidens Pick for By Jeanna Smialek Emily Cochrane
2022-02-03   2022-02-04 raskin.html                                  Bank Overseer at the Fed                     and Lananh Nguyen                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/03/busines Ballooning Food Prices Threaten the Worlds
2022-02-03   2022-02-04 s/economy/food-prices-inflation-world.html Poorest                                    By Ana Swanson                     TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/03/busines Ford Takes In 179 Billion A Rebound From
2022-02-03   2022-02-04 s/ford-earnings.html                       2020s Loss                                 By Neal E Boudette                 TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/03/busines Zucker and His Key Aide Were Joined at the By John Koblin and Michael M
2022-02-03   2022-02-04 s/media/jeff-zucker-allison-gollust-cnn.html Hip                                      Grynbaum                           TX 9-154-386     2022-04-04



                                                                                Page 3327 of 5793
                        https://www.nytimes.com/2022/02/03/busines
2022-02-03   2022-02-04 s/media/olympics-nbc.html                   Making the Best of the Worst Hand          By John Koblin                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/busines
2022-02-03   2022-02-04 s/motocross-women-girls.html                A Bond Built on Dirt Tracks and Moxie      By Mercedes Lilienthal           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/busines Netflix Announces Its 2022 Film Lineup
2022-02-03   2022-02-04 s/netflix-2022-lineup.html                  Hoping to Keep Viewers Glued to Home       By Nicole Sperling               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/busines
2022-02-03   2022-02-04 s/sarah-palin-new-york-times.html           Palin Resumes Libel Trial After Delay      By Jeremy W Peters               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/busines Oil and Natural Gas Prices Lift Shells
2022-02-03   2022-02-04 s/shell-4q-earnings.html                    4thQuarter Profit                          By Stanley Reed                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/busines
2022-02-03   2022-02-04 s/stock-market-today.html                   Metas Plunge Precipitates a Wider Skid     By Coral Murphy Marcos           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/busines British Home Energy Bills To Vault 54 as
2022-02-03   2022-02-04 s/uk-energy-prices-bills-rise.html          Gas Spikes                                 By Stanley Reed                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/health/c The Strange Coronavirus in New Yorks
2022-02-03   2022-02-04 oronavirus-wastewater-new-york.html         Sewage                                     By Emily Anthes                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/health/f FDA Nominee Faces Bipartisan Objections to By Christina Jewett and Emily
2022-02-03   2022-02-04 da-califf-senate.html                       Senate Confirmation                        Cochrane                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/health/
2022-02-03   2022-02-04 medicare-coronavirus-tests.html             Medicare To Cover Home Tests For Covid By Noah Weiland                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/movies/
2022-02-03   2022-02-04 alone-with-you-review.html                  Alone With You                             By Lena Wilson                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/movies/
2022-02-03   2022-02-04 breaking-bread-review.html                  Breaking Bread                             By Ben Kenigsberg                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/movies/
2022-02-03   2022-02-04 jackass-forever-review.html                 Jackass Forever                            By Amy Nicholson                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/movies/
2022-02-03   2022-02-04 lingui-the-sacred-bonds-review.html         Love Ferocious and Limitless               By Manohla Dargis                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/movies/
2022-02-03   2022-02-04 moonfall-review-out-of-orbit.html           Moonfall                                   By Ben Kenigsberg                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/movies/
2022-02-03   2022-02-04 poly-styrene-i-am-a-cliche-review.html      Poly Styrene I Am a Clich                  By Lisa Kennedy                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/movies/
2022-02-03   2022-02-04 the-worst-person-in-the-world-review.html   Where Tears Always Lurk on the Horizon     By AO Scott                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/nyregio Biden and Adams Convene a Meeting of Like By Katie Glueck and Zolan
2022-02-03   2022-02-04 n/adams-biden-crime.html                    Minds on Gun Violence                      KannoYoungs                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/nyregio A Network Stung by Shrapnel From a          By Luis FerrSadurn and Michael
2022-02-03   2022-02-04 n/andrew-chris-cuomo-jeff-zucker.html       Governors Fight                            Gold                             TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/03/nyregio The President Tells New York Officials The   By Katie Glueck Zolan
2022-02-03   2022-02-04 n/biden-new-york-gun-violence.html         Answer Is Not to Abandon Our Streets         KannoYoungs and Michael Wilson TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/03/opinion A Black Woman Belongs on the Supreme
2022-02-03   2022-02-04 /biden-supreme-court-black-woman.html      Court                                        By Walter Dellinger             TX 9-154-386   2022-04-04




                                                                                Page 3328 of 5793
                        https://www.nytimes.com/2022/02/03/opinion
2022-02-03   2022-02-04 /culture/joe-rogan-spotify-roxane-gay.html  Why Ive Taken My Podcast Off Spotify          By Roxane Gay                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/opinion Europe Thinks Putin Is Planning Something
2022-02-03   2022-02-04 /putin-russia-ukraine-europe.html           Even Worse Than War                           By Ivan Krastev                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/sports/b Two New York Skippers Miss OffSeason
2022-02-03   2022-02-04 aseball/mlb-lockout-boone-showalter.html    Chats With LockedOut Crews                    By Gary Phillips                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/sports/b Bill Fitch 89 Who Coached Celtics to 81 Title
2022-02-03   2022-02-04 asketball/bill-fitch-dead.html              Dies                                          By Richard Goldstein            TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/03/sports/b WNBA Raises 75 Million in Hope of         By Lauren Hirsch and Shauntel
2022-02-03   2022-02-04 asketball/wnba-capital-raise-investors.html Revamping Model                           Lowe                                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/sports/o
2022-02-03   2022-02-04 lympics/china-winter-olympics-covid.html    The Games Go On but the Misgivings Remain By Kurt Streeter                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/technol
                        ogy/amazon-stock-earnings-prime-            Amazons Revenue Increases To 1374 Billion
2022-02-03   2022-02-04 membership.html                             a Record                                  By David Streitfeld                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/technol Apples Privacy Changes Could Cost Meta
2022-02-03   2022-02-04 ogy/apple-privacy-changes-meta.html         Big Time                                  By Kate Conger and Brian X Chen     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/technol
2022-02-03   2022-02-04 ogy/big-tech-facebook-earnings.html         Too Big and Rich to Fail                  By Shira Ovide                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/technol
2022-02-03   2022-02-04 ogy/facebook-meta-challenges.html           Founders Meta Dream Hits Major Turbulence By Mike Isaac                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/theater/
2022-02-03   2022-02-04 the-tap-dance-kid-review.html               Shuffling Then Stumbling                  By Jesse Green                      TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/03/us/chic Chicago Officer Who Killed Teen Leaves
2022-02-03   2022-02-04 ago-police-van-dyke-laquan-mcdonald.html Prison Early                                   By Julie Bosman and Mitch Smith   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/us/polit An Illness Reminds Senate Democrats They
2022-02-03   2022-02-04 ics/democrats-supreme-court.html            Have No Votes to Spare                      By Carl Hulse                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/us/polit ISIS Leader Dead After US Forces Raid Syria
2022-02-03   2022-02-04 ics/isis-leader-killed-syria.html           House                                       By Eric Schmitt and Ben Hubbard   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/us/polit
                        ics/michelle-childs-clyburn-supreme-        Clyburn Makes FullScale Push For a Court
2022-02-03   2022-02-04 court.html                                  Pick                                        By Annie Karni                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/us/polit Russia Planned a Fake Video to Ignite War
2022-02-03   2022-02-04 ics/russia-ukraine-invasion-pretext.html    US Says                                     By Julian E Barnes                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/world/a Peru and Refinery Trade Blame for Miles of
2022-02-03   2022-02-04 mericas/peru-oil-spill.html                 Fouled Beaches                              By Mitra Taj                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/world/a Politics Is on Everyones Mind But on No      By Steven Lee Myers and Alan
2022-02-03   2022-02-04 sia/olympics-china-protests.html            Ones Lips in Beijing                        Blinder                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/world/a Covid Policy Shift Creates Whiplash for
2022-02-03   2022-02-04 ustralia/australia-covid-policy.html        Australians                                 By Yan Zhuang                     TX 9-154-386   2022-04-04




                                                                                 Page 3329 of 5793
                        https://www.nytimes.com/2022/02/03/world/e Plan to Dismantle Bridge in Rotterdam for a
2022-02-03   2022-02-04 urope/jeff-bezos-yacht-rotterdam-bridge.html Superyacht Is on Hold                       By Jenny Gross                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/world/e To Guard Against Sanctions Putin Built a
2022-02-03   2022-02-04 urope/putin-sanctions-proofing.html          Huge RainyDay Fund                          By Max Fisher                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/world/e
                        urope/sweden-announces-end-covid-            As New Cases Soar Sweden Lifts Cautions     By Christina Anderson and Nick
2022-02-03   2022-02-04 restrictions.html                            Against Covid                               CummingBruce                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/world/e Top Aides Of Johnson Leave Office In          By Mark Landler and Stephen
2022-02-03   2022-02-04 urope/top-aides-boris-johnson-quit.html      Turmoil                                     Castle                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/world/e Turkey Rebukes Moscow by Supplying More
2022-02-03   2022-02-04 urope/ukraine-turkey-russia-drones.html      Armed Drones to Ukraine                     By Andrew E Kramer             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/world/                                                By Muhammad Haj Kadour and
2022-02-03   2022-02-04 middleeast/isis-raid-idlib-qurayshi.html     Shock and Fright as Helicopters Swarm       Ben Hubbard                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/02/wo
                        rld/covid-test-vaccine-cases/new-zealand-    New Zealand Unveils Plan To Ease Its Border
2022-02-03   2022-02-04 reopening-border                             Controls                                    By Natasha Frost               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/03/us/
                        winter-storm-snow-ice/a-widespread-winter-
                        storm-is-set-to-cause-a-second-day-of-                                                   By Edgar Sandoval Sophie
2022-02-03   2022-02-04 disruptions                                  Storm Disrupts Travel And Power Across US Kasakove and Maggie Astor        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/03/wo
                        rld/ukraine-russia-news/erdogan-turkey-      Turkey Rebukes Moscow by Supplying More
2022-02-03   2022-02-04 ukraine                                      Armed Drones to Ukraine                     By Andrew E Kramer             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/opinion
2022-02-04   2022-02-04 /inflation-consumer-confidence.html          More Thoughts On Americas FeelBad Boom By Paul Krugman                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/us/greg Hate Crimes Trial to Proceed After Failed
2022-02-04   2022-02-04 ory-mcmichael-trial-ahmaud-arbery.html       Plea Deal With Arberys Killers              By Richard Fausset             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/arts/des
                        ign/chris-daze-ellis-graffiti-ppow-
2022-02-04   2022-02-04 basquiat.html                                Chris Daze Ellis Laying New Tracks          By Max Lakin                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/busines Zuckers Exit Pushes CNN Even Further To By Michael M Grynbaum and John
2022-02-04   2022-02-04 s/media/jeff-zucker-cnn.html                 the Edge                                    Koblin                         TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/04/climate
2022-02-04   2022-02-04 /shackleton-endurance-shipwreck-search.html A Quest to Find the Most Unreachable Wreck By Henry Fountain               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/04/insider/
2022-02-04   2022-02-04 stepping-back-to-look-ahead.html            Stepping Back to Look Ahead                By Sarah Bahr                   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/04/movies/
2022-02-04   2022-02-04 book-of-love-review.html                    Book of Love                               By Natalia Winkelman            TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/04/opinion
2022-02-04   2022-02-04 /beijing-olympics.html                      An Olympic Win for China Already           By Maura Elizabeth Cunningham   TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/04/technol Lawmakers Press Amazon on Its Sales of a   By Megan Twohey and Gabriel JX
2022-02-04   2022-02-04 ogy/amazon-suicide-poison-preservative.html Chemical Used in Suicides                 Dance                          TX 9-154-386      2022-04-04



                                                                               Page 3330 of 5793
                        https://www.nytimes.com/2022/02/02/arts/dan
2022-02-02   2022-02-05 ce/jacobs-pillow-2022-season.html           Jacobs Pillow Steps Back Inside            By Julia Jacobs                   TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/02/arts/des
                        ign/chaz-guest-paintings-michael-k-         In Michael K Williams An Artist Found a
2022-02-02   2022-02-05 williams.html                               Warrior                                    By Ted Loos                       TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/02/health/c Nasal Covid Vaccines in the Works May
2022-02-02   2022-02-05 ovid-vaccine-nasal.html                     Prove Stronger Boosters Than Shots         By Apoorva Mandavilli             TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/02/movies/
2022-02-02   2022-02-05 sxsw-film-lineup.html                       Sandra Bullock Film To Premiere at SXSW    By Mekado Murphy                  TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/02/sports/o
                        lympics/bing-dwen-dwen-winter-olympics-
2022-02-03   2022-02-05 mascot.html                                 A Pudgy Panda Known as Bing                By Andrs R Martnez                TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/03/arts/tele
2022-02-03   2022-02-05 vision/abbott-elementary-quinta-brunson.html This Show Has Teachers Taking Notes         By Julia Jacobs                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/busines BNY Mellon Calls Workers Back but Adds By Emma Goldberg and Lananh
2022-02-03   2022-02-05 s/bny-mellon-office-return.html              Flexibility                                 Nguyen                            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/movies/
2022-02-03   2022-02-05 baftas-nominations-2022.html                 Two Films Lead BAFTA Nods                   By Alex Marshall                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/opinion Trumps Brutish Code of Honor Explains His
2022-02-03   2022-02-05 /trump-liz-cheney-feud.html                  Feud With Liz Cheney                        By Jon A Shields                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/sports/o
2022-02-03   2022-02-05 lympics/eileen-gu-china-freeski.html         Flying Above the Politics                   By John Branch                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/us/arnie Arnie Kantrowitz 81 Early Champion of Gay
2022-02-03   2022-02-05 kantrowitz-dead.html                         Rights                                      By Sam Roberts                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/article/winter-      Its What OClock in Beijing Heres a Schedule
2022-02-03   2022-02-05 olympics-schedule.html                       Decoder                                     By Victor Mather                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/opinion Jeff Zucker and the Reckoning Over Office By Joanne Lipman and Jeffrey A
2022-02-04   2022-02-05 /jeff-zucker-cnn.html                        Romances                                    Sonnenfeld                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/sports/o
                        lympics/nathan-chen-figure-skating-team-     Landing Two Giant Quads Chen Spins His
2022-02-04   2022-02-05 event.html                                   Team Into the Hunt for Gold                 By Juliet Macur and Victor Mather TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/technol Clearview AI Gets Air Force Research
2022-02-04   2022-02-05 ogy/air-force-clearview-ai-glasses.html      Contract                                    By Kashmir Hill                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/us/amir-                                              By Jesus Jimnez and Amanda
2022-02-04   2022-02-05 locke-minneapolis-police-shooting.html       Minneapolis Releases Video of Shooting      Holpuch                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/arts/dan
2022-02-04   2022-02-05 ce/review-city-ballet-jamar-roberts.html     Modern Moves Are in the Mix At City Ballet By Gia Kourlas                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/arts/des
2022-02-04   2022-02-05 ign/affordable-housing-lambert-bronx.html    Glimpsing a Way Forward on Housing          By Michael Kimmelman              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/arts/des Tougher Rules for Art Market Will Have to By Graham Bowley and Zachary
2022-02-04   2022-02-05 ign/art-market-regulation.html               Wait                                        Small                             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/arts/des
                        ign/smithsonian-national-museum-of-the-      Smithsonian Names First Director of Latino
2022-02-04   2022-02-05 american-latino-director.html                Museum                                      By Sarah Bahr                     TX 9-154-386   2022-04-04



                                                                                Page 3331 of 5793
                        https://www.nytimes.com/2022/02/04/arts/mu
                        sic/classical-music-new-york-              Triumphs and Tragedies Exploring the Hearts
2022-02-04   2022-02-05 philharmonic.html                          Realm                                       By Zachary Woolfe                TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/04/arts/mu
2022-02-04   2022-02-05 sic/eliane-radigue-music.html              liane Radigues Sounds of Silence            By Hugh Morris                   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/04/books/j Jason Epstein Author Editor and Publishing
2022-02-04   2022-02-05 ason-epstein-dead.html                     Innovator Is Dead at 93                     By Christopher LehmannHaupt      TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/04/busines Amazon Warehouse Begins a Second Union By Noam Scheiber and Karen
2022-02-04   2022-02-05 s/amazon-alabama-union-election.html       Election                                    Weise                            TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/04/busines                                            By Jeanna Smialek and Michael D
2022-02-04   2022-02-05 s/economy/economy-jobs-fed-politics.html   Chance for Biden to Shift the Narrative    Shear                             TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/04/busines Amid Covid Wave Buoyant Economy Adds By Ben Casselman and Talmon
2022-02-04   2022-02-05 s/economy/january-2022-jobs-report.html    467000 Jobs                                Joseph Smith                      TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/04/busines
2022-02-04   2022-02-05 s/economy/shop-architects-union.html       Architects at New York Firm Drop Union Bid By Noam Scheiber                  TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/04/busines Tariffs on Imported Solar Products Are
2022-02-04   2022-02-05 s/economy/solar-tariffs-caveats.html       Extended With Some Limits                  By Ana Swanson and Ivan Penn      TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/04/busines Media Chiefs Set the Tone For Moving On
2022-02-04   2022-02-05 s/media/att-discovery-cnn-jeff-zucker.html After Zucker                                  By Lauren Hirsch                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/busines News Corp Emails Hacked In Attack Linked
2022-02-04   2022-02-05 s/media/news-corp-email-hack.html          to China                                      By Katie Robertson              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/busines
                        s/michael-taylor-carlos-ghosn-escape-      American Behind Ghosn Escape Is Ailing in By David YaffeBellany and Ben
2022-02-04   2022-02-05 japan.html                                 Prison Lawyers Say                            Dooley                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/busines                                               By Coral Murphy Marcos and Eshe
2022-02-04   2022-02-05 s/stock-market-today.html                  Mixed Finish After Release of Jobs Report     Nelson                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/busines
2022-02-04   2022-02-05 s/uk-inflation-cost-of-living.html         Tightening the Belt in Britain                By Eshe Nelson                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/climate European Satellite Detects Huge Methane
2022-02-04   2022-02-05 /methane-leaks-satellites.html             Leaks in the US Russia and Elsewhere          By Henry Fountain               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/nyregio
                        n/manhattan-da-alvin-bragg-memo-           After Fierce Pushback Manhattan DA Pivots
2022-02-04   2022-02-05 prosecution.html                           On Prosecution Policies                       By Jonah E Bromwich             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/nyregio
                        n/michael-avenatti-stormy-daniels-         Avenatti Is Found Guilty of Stealing From His
2022-02-04   2022-02-05 verdict.html                               Client                                        By Colin Moynihan               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/nyregio Healing Circle for AtRisk Youths Aims to
2022-02-04   2022-02-05 n/nypd-gun-violence-prevention.html        Stop Gun Violence                             By Ashley Southall              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/nyregio
                        n/redistricting-lawsuit-gerrymandering-    GOP Lawsuit in New York Claims
2022-02-04   2022-02-05 ny.html                                    Gerrymandering of Congressional Maps          By Luis FerrSadurn              TX 9-154-386   2022-04-04




                                                                               Page 3332 of 5793
                        https://www.nytimes.com/2022/02/04/opinion
2022-02-04   2022-02-05 /caleb-love-bombing-gaslighting-trauma.html If Everything Is Trauma Is Anything              By Jessica Bennett               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/sports/c After an Undefeated Decade in the Ring
2022-02-04   2022-02-05 laressa-shields-ema-kozin-fight.html            About to Be Rewarded Proportionately         By Morgan Campbell               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/sports/f
                        ootball/brian-flores-discrimination-lawsuit-nfl-Friends Say Flores In Suing the NFL Is
2022-02-04   2022-02-05 dolphins-giants.html                            Walking the Walk                             By Jer Longman and Jenny Vrentas TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/sports/j American Woman Who Blazed Trail to Medal
2022-02-04   2022-02-05 essie-diggins-cross-country-skiathlon.html      Is Still Leading the Way                     By Matthew Futterman             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/sports/o
                        lympics/opening-ceremony-athletes-              A Flicker of Unity for an Olympics in Search
2022-02-04   2022-02-05 performers.html                                 of It                                        By Andrew Keh                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/us/hate- 2 Men Withdraw Guilty Pleas in Arbery
2022-02-04   2022-02-05 crimes-trial-ahmaud-arbery.html                 Killing                                      By Richard Fausset               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/us/nort
                        h-carolina-redistricting-gerrymander-           North Carolina Justices Strike Republican
2022-02-04   2022-02-05 unconstitutional.html                           Maps                                         By Michael Wines                 TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/04/us/polit Plan for Commission to Investigate Pandemic
2022-02-04   2022-02-05 ics/covid-commission.html                   Has Bipartisan Support in the Senate        By Sheryl Gay Stolberg            TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/04/us/polit Panel Says It Supports Sending A 911        By Carol Rosenberg and Charlie
2022-02-04   2022-02-05 ics/guantanamo-detainee-transfer.html       Detainee to Saudi Arabia                    Savage                            TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/04/us/polit House Passes Bill Adding Billions for       By Catie Edmondson and Ana
2022-02-04   2022-02-05 ics/house-china-competitive-bill.html       Scientific Research                         Swanson                           TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/04/us/polit
2022-02-04   2022-02-05 ics/jan-6-defendant-trump-subpoena.html     Subpoena Request for a Special Witness      By Alan Feuer                     TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/04/us/polit Lone ISIS Bomber Carried Out August Attack
2022-02-04   2022-02-05 ics/kabul-airport-attack-report.html        at Kabul Airport Report Says                By Eric Schmitt and Helene Cooper TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/04/us/polit Trump Is Wrong Pence Says of His Jan 6
2022-02-04   2022-02-05 ics/pence-trump-election.html               Powers                                      By Lisa Lerer                     TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/04/us/polit GOP Calls Riot Legitimate Political         By Jonathan Weisman and Reid J
2022-02-04   2022-02-05 ics/republicans-jan-6-cheney-censure.html   Discourse                                   Epstein                           TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/04/us/us-
2022-02-04   2022-02-05 covid-deaths.html                           900000 Dead but Many Americans Move On By Julie Bosman and Mitch Smith TX 9-154-386              2022-04-04
                        https://www.nytimes.com/2022/02/04/us/wint Unabating Winter Storm Leaves Mess in        By Jesus Jimnez and Sophie
2022-02-04   2022-02-05 er-storm-snow-ice-northeast.html            Northeast                                   Kasakove                          TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/04/us/yale- Yale Kamisar 92 Who Was Known as the
2022-02-04   2022-02-05 kamisar-dead.html                           Father of the Miranda Rule Dies             By Clay Risen                     TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/04/world/a Surviving a Harrowing Night of Gunfire and
2022-02-04   2022-02-05 frica/congo-attack-survivors.html           Machetes                                    By Finbarr OReilly                TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/04/world/a Rescuers in Morocco Race to Save Child 5     By Vivian Yee Dan Bilefsky and
2022-02-04   2022-02-05 frica/morocco-child-rescue.html             Stuck in Well for Days                      Aida Alami                        TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/04/world/a                                              By Chris Buckley and Steven Lee
2022-02-04   2022-02-05 sia/olympics-beijing-xi-putin.html          Power Games On First Day Of Olympics        Myers                             TX 9-154-386       2022-04-04



                                                                                 Page 3333 of 5793
                        https://www.nytimes.com/2022/02/04/world/a
2022-02-04   2022-02-05 ustralia/new-zealand-catholic-abuse.html     Panel Finds Hundreds Of Charges Of Abuse By Isabella Kwai                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/world/e Apathy Overtakes A Bellwether Town In
2022-02-04   2022-02-05 urope/france-election-auxerre.html           Frances Election                            By Lontine Gallois               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/world/e
                        urope/russia-public-opinion-ukraine-us-      Propaganda and Fatalism Lead Russians to    By Ivan Nechepurenko and Valerie
2022-02-04   2022-02-05 nato.html                                    Blame US for War Threat                     Hopkins                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/world/e
                        urope/russian-troops-ukraine-crimean-        Russian Troops Stage of Readiness Adds to
2022-02-04   2022-02-05 peninsula.html                               Worries for Ukraines Military               By Michael Schwirtz              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/world/ A Fresh Face Breaks Barriers on Iraqs State
2022-02-04   2022-02-05 middleeast/iraq-tv-black-news-anchor.html    News Channel                                By Jane Arraf                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/world/
                        middleeast/islamic-state-syria-raid-         US Raid on Islamic State Offers Reminder of By Shashank Bengali and Marc
2022-02-04   2022-02-05 takeaways.html                               Enduring Chaos in Syria                     Santora                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/your-
2022-02-04   2022-02-05 money/students-college-grants-fafsa.html     Missing Out on Financial Aid for College    By Ann Carrns                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/sports/o
2022-02-05   2022-02-05 lympics/beijing-olympics-matchups.html       Our Picks for the Games Top Matchups        By The New York Times            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/us/polit
                        ics/arizona-republicans-rusty-bowers-voting- Standing Up in Arizona To Stop GOP Voting By Blake Hounshell and Leah
2022-02-05   2022-02-05 rights.html                                  Bill                                        Askarinam                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/us/polit
                        ics/government-national-security-            Why Trust Us Is Often Reason Enough Not to
2022-02-05   2022-02-05 announcements.html                           Trust the Government                        By Charlie Savage                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/sports/o Behind Every Speedster on Skis Theres a
2022-02-05   2022-02-05 lympics/skiing-crashes-injuries.html         Genius With a Scalpel                       By Matthew Futterman             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/your-
                        money/stock-portfolio-investment-            As Stocks Reel Investors Should Weigh a
2022-02-05   2022-02-05 management.html                              Step Back                                   By Ron Lieber                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/12/books/r
2022-01-12   2022-02-06 eview/aftermath-harald-jahner.html           Leaving Nazism Behind                       By Peter Fritzsche               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/14/books/r
                        eview/high-risk-homosexual-edgar-
2022-01-14   2022-02-06 gomez.html                                   Toxic Machismo                              By John Paul Brammer             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/14/well/fa Here to Help How to Protect Children From
2022-01-14   2022-02-06 mily/marijuana-edibles-children.html         Ingestion of Cannabis Edibles               By Christina Caron               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/17/books/r
2022-01-17   2022-02-06 eview/mac-miller-paul-cantor.html            Brief and Wondrous                          By Dave Kim                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/18/books/r
2022-01-18   2022-02-06 eview/kingdom-of-characters-jing-tsu.html    Flipping the Script                         By Deirdre Mask                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/23/books/r
2022-01-23   2022-02-06 eview/weike-wang-joan-is-okay.html           WorkLife Imbalance                          By Deesha Philyaw                TX 9-154-386   2022-04-04




                                                                               Page 3334 of 5793
                        https://www.nytimes.com/2022/01/25/books/r
2022-01-25   2022-02-06 eview/elisa-gabbert-lyric-decision-poetry.html The Lyric Decision                     By Elisa Gabbert               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/25/books/r
2022-01-25   2022-02-06 eview/god-francesca-stavrakopoulou.html        The Divine Face                        By Karen Armstrong             TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/01/25/books/r
2022-01-25   2022-02-06 eview/prince-of-the-skies-antonio-iturbe.html Air Mail                                   By Alida Becker             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/25/books/r
2022-01-25   2022-02-06 eview/seven-games-oliver-roeder.html          Players Wanted                             By Peter Sagal              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/25/books/r
2022-01-25   2022-02-06 eview/tochi-onyebuchi-goliath.html            America the Frontier                       By Benjamin Markovits       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/27/books/r
                        eview/olga-dies-dreaming-xochitl-             Want to Be a Writer Get Your Training as a
2022-01-27   2022-02-06 gonzalez.html                                 Wedding Planner                            By Elisabeth Egan           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/27/books/r
                        eview/the-original-bambi-the-story-of-a-life-
                        in-the-forest-felix-salten-jack-zipes-alenka-
2022-01-27   2022-02-06 sottler.html                                  A Deer in the Headlights                   By Bill McKibben            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/27/realesta
2022-01-27   2022-02-06 te/nyc-apartments-toilet.html                 Whys the Rent So Low Theres a Seat Missing By Stephen Ruddy            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/28/arts/jon Jonathan Brown 82 Dies Noted Spanish Art
2022-01-28   2022-02-06 athan-brown-dead.html                         Historian                                  By Holland Cotter           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/28/magazi                                                By Ronen Bergman and Mark
2022-01-28   2022-02-06 ne/nso-group-israel-spyware.html              The Spyware Wars                           Mazzetti                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/28/movies/
2022-01-28   2022-02-06 joel-coen-tragedy-of-macbeth.html             One Mans Journey to Macbeth                By Dave Itzkoff             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/nyregio 100 Years Later Theyre Still Waiting for the
2022-01-31   2022-02-06 n/second-avenue-subway-harlem.html            Train                                      By Ana Ley                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/opinion
2022-01-31   2022-02-06 /covid-pandemic-end.html                      How Does a Pandemic End                    By John M Barry             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/realesta
2022-01-31   2022-02-06 te/renters-astoria-queens.html                In a Pandemic New Habits Can Help          By Marian Bull              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/style/je
2022-01-31   2022-02-06 uje-zhoosh-zhuzh.html                         Fabulous No Matter the Spelling            By Hayley Phelan            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/t-
                        magazine/troy-lamarr-chew-hip-hop-            Multilayered Paintings That Have HipHop
2022-01-31   2022-02-06 paintings.html                                Moves                                      By Shirley Ngozi Nwangwa    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/interactive/2022/01/ Eddie Vedder Is Still Learning to Live With
2022-01-31   2022-02-06 31/magazine/eddie-vedder-interview.html       Loss                                       By David Marchese           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/arts/mu
2022-02-01   2022-02-06 sic/mirga-grazinyte-tyla-conductor.html       Keeping Her Career on a Short Leash        By Joshua Barone            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/arts/mu
                        sic/poly-styrene-i-am-a-cliche-
2022-02-01   2022-02-06 documentary.html                              Poly Styrene Did Punk Her Own Way          By Jenn Pelly               TX 9-154-386   2022-04-04



                                                                                  Page 3335 of 5793
                        https://www.nytimes.com/2022/02/01/books/g
                        roup-text-black-cake-charmaine-
2022-02-01   2022-02-06 wilkerson.html                              Black Cake by Charmaine Wilkerson             By Elisabeth Egan          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/books/r
                        eview/my-fathers-diet-dont-cry-for-me-the-
                        death-of-my-father-the-pope-adrian-nathan-
2022-02-01   2022-02-06 west-daniel-black-obed-silva.html           Family Complications                          By Patrick Nathan          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/books/r
2022-02-01   2022-02-06 eview/red-carpet-erich-schwartzel.html      Lights Camera Nationalism                     By James Parker            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/magazi Is It OK That Im OK With Our Moms
2022-02-01   2022-02-06 ne/adultery-ethics.html                     Adultery                                      By Kwame Anthony Appiah    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/magazi
2022-02-01   2022-02-06 ne/garamond.html                            Garamond                                      By RE Hawley               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/magazi
2022-02-01   2022-02-06 ne/how-to-ski-blind.html                    How to Ski Blind                              By Malia Wollan            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/opinion
2022-02-01   2022-02-06 /corporations-democracy.html                Big Business Wont Save Us From Itself         By Kim PhillipsFein        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/opinion
2022-02-01   2022-02-06 /spotify-joe-rogan-disinformation.html      Spotify Chooses Profits Over Truth            By Greg Bensinger          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/realesta
2022-02-01   2022-02-06 te/staircase-repair-fix-improve.html        Your Staircase Deserves Some Personality      By Tim McKeough            TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/02/arts/tele
2022-02-02   2022-02-06 vision/pamela-anderson-tommy-lee-hulu.html Private Moments Cultural Tremors               By Elisabeth Vincentelli   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/magazi
2022-02-02   2022-02-06 ne/matt-damon-crypto.html                    Brave Face                                   By Jody Rosen              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/magazi
2022-02-02   2022-02-06 ne/meateater-netflix-steve-rinella.html      Game Changer                                 By Malia Wollan            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/magazi
2022-02-02   2022-02-06 ne/steven-banks-homelessness.html            Steven Banks vs Homelessness                 By Alex Carp               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/magazi Stripes Suit This play on a French tigr cake is
2022-02-02   2022-02-06 ne/tiger-cake-recipe-financiers.html         bigger and adorned with far more ganache     By Dorie Greenspan         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/opinion
2022-02-02   2022-02-06 /crime-new-york-district-attorney.html       Fighting Crime and Angering the Police       By Emily Bazelon           TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/02/opinion
2022-02-02   2022-02-06 /tara-westover-educated-student-debt.html   I Am Not Proof of the American Dream        By Tara Westover             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/realesta A Villa for Wallowing After You Finish
2022-02-02   2022-02-06 te/aruba-house-hunting.html                 Golfing                                     By Alison Gregor             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/realesta Exploring a Desirable Village Tucked Within
2022-02-02   2022-02-06 te/boerum-hill-brooklyn.html                the City                                    By Karin Lipson              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/realesta
2022-02-02   2022-02-06 te/gardening-peat.html                      Alternatives for PeatFree Growing           By Margaret Roach            TX 9-154-386   2022-04-04




                                                                                  Page 3336 of 5793
                        https://www.nytimes.com/2022/02/02/realesta
                        te/home-prices-texas-oregon-north-          700000 Homes in Texas Oregon and North
2022-02-02   2022-02-06 carolina.html                               Carolina                                         By Angela Serratore             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/theater/
2022-02-02   2022-02-06 music-man-broadway-hugh-jackman.html        How The Music Man Survived Covid                 By Sarah Bahr                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/arts/cli
2022-02-03   2022-02-06 mate-change-doomsday-culture.html           The End Is Near Whats Your Hurry                 By Amanda Hess                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/arts/dan
                        ce/alexei-ratmanksy-swan-lake-miami-city-
2022-02-03   2022-02-06 ballet.html                                 In Miami a LongAwaited Swan Takes Off            By Marina Harss                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/arts/mu
2022-02-03   2022-02-06 sic/2-chainz-favorites.html                 2 Chainz Likes His Dog and the Hawks             By Joe Coscarelli               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/03/busines Cremation Borrows the DirecttoConsumer
2022-02-03   2022-02-06 s/cremation-startups-direct-to-consumer.html Playbook                                        By Michael Waters               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/magazi                                                    By Gabrielle Calvocoressi and
2022-02-03   2022-02-06 ne/poem-she-ties-my-bow-tie.html             Poem She Ties My Bow Tie                        Victoria Chang                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/magazi
2022-02-03   2022-02-06 ne/slurping-noodles.html                     Bonus Advice From Judge John Hodgman            By John Hodgman                 TX 9-154-386   2022-04-04
                                                                     The doctors insisted he had a heart attack He
                        https://www.nytimes.com/2022/02/03/magazi was certain that couldnt be true Who was
2022-02-03   2022-02-06 ne/takotsubo-syndrome-diagnosis.html         right                                           By Lisa Sanders MD              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/nyregio A Jewish Teacher Criticized Israel She Was
2022-02-03   2022-02-06 n/synagogues-israel-opinion.html             Fired                                           By Liam Stack                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/opinion
2022-02-03   2022-02-06 /eric-adams-biden.html                       The Testing of Eric Adams                       By Christina Greer              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/opinion
2022-02-03   2022-02-06 /us-supreme-court-nomination.html            The Supreme Court Is on the Wrong Path          By Adrian Vermeule              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/realesta
2022-02-03   2022-02-06 te/where-are-rents-rising-the-most.html      Where Rent Bounced Back the Highest             By Michael Kolomatsky           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/style/fa
2022-02-03   2022-02-06 mily-money-social-qs.html                    Caught in a Fix                                 By Philip Galanes               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/technol Teen Tracking Musks Jet Gets Attention of
2022-02-03   2022-02-06 ogy/elon-musk-jet-tracking.html              Billionaire                                     By Neil Vigdor                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/theater/
                        john-douglas-thompson-arin-arbus-merchant-
2022-02-03   2022-02-06 of-venice.html                               Shakespeare Stories Satisfy His Soul            By Laura CollinsHughes          TX 9-154-386   2022-04-04
                                                                     They Wanted a West Side OneBedroom for
                        https://www.nytimes.com/interactive/2022/02/ Under 800000 Which Option Would You
2022-02-03   2022-02-06 03/realestate/03hunt-oppliger.html           Choose                                          By Joyce Cohen                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/opinion
2022-02-04   2022-02-06 /facebook-meta-stock-crash.html              Meta Is Off to a Very Very Rough Start          By Kara Swisher                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/arts/dan David Gordon AwardWinning Wizard of
2022-02-04   2022-02-06 ce/david-gordon-dead.html                    Movement and Words Dies at 85                   By Gia Kourlas                  TX 9-154-386   2022-04-04




                                                                                   Page 3337 of 5793
                        https://www.nytimes.com/2022/02/04/books/r
2022-02-04   2022-02-06 eview/new-paperbacks.html                  Paperback Row                              By Miguel Salazar             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/busines                                            By Julia Rothman and Shaina
2022-02-04   2022-02-06 s/inflation-sandwiches.html                More Cheddar for Your Bread                Feinberg                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/busines
                        s/retirement-climate-change-homeowners-    Extreme Weather and Insurance Rates Put On
2022-02-04   2022-02-06 insurance.html                             a Squeeze                                  By Martha C White             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/fashion
2022-02-04   2022-02-06 /weddings/wedding-boom-year.html           Plan to Walk Down the Aisle Take a Number By Tammy La Gorce              TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/04/fashion Ready to Say I Do and Tired of Hearing Not
2022-02-04   2022-02-06 /weddings/wedding-postponed-pandemic.html Yet                                            By Anna P Kambhampaty      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/fashion In the Reagan Era the Last Big Rush to the
2022-02-04   2022-02-06 /weddings/weddings-surge-1984.html          Altar                                        By Vincent M Mallozzi      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/health/c Younger People Benefit Less From Boosters
2022-02-04   2022-02-06 ovid-boosters-older-younger.html            Than Older                                   By Apoorva Mandavilli      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/movies/
2022-02-04   2022-02-06 jackass-forever-favorite-stunts.html        Sweet Memories Of Terrifying Acts            By Gabe Cohn               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/04/nyregio A Messenger Reinvents Himself as a Street
2022-02-04   2022-02-06 n/sammy-buttons-sidewalk-musician-nyc.html Musician                                      By Sal Cataldi             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/nyregio ZipTied and Left for Dead An Episcopal
2022-02-04   2022-02-06 n/shelter-island-murder-priest.html         Priests Mysterious End                       By Amanda M Fairbanks      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/nyregio
2022-02-04   2022-02-06 n/sports-bar-nyc.html                       Packing the Pews of a Manhattan Sports Bar   By Alyson Krueger          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/nyregio
2022-02-04   2022-02-06 n/wall-street-toxic-work-place-culture.html On Wall Street Money Is Not the Answer       By Ginia Bellafante        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/opinion
2022-02-04   2022-02-06 /crt-backlash-du-bois.html                  Republicans Are Losing Ground                By Jamelle Bouie           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/opinion The Dissenters Trying To Save
2022-02-04   2022-02-06 /evangelicalism-division-renewal.html       Evangelicalism                               By David Brooks            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/opinion
2022-02-04   2022-02-06 /self-driving-car-escalade.html             Help Ive Fallen for the Cadillac Escalade    By Farhad Manjoo           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/opinion
                        /ugly-freedom-discrimination-racism-
2022-02-04   2022-02-06 sexism.html                                 The Exploitation of Freedom                  By Elisabeth Anker         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/realesta
2022-02-04   2022-02-06 te/home-buying-regret.html                  Buyers Remorse                               By Ronda Kaysen            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/sports/n Top Scorer in US Plays for a School and a
2022-02-04   2022-02-06 caabasketball/ryan-turell-yeshiva.html      People                                       By David Waldstein         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/sports/s
2022-02-04   2022-02-06 occer/transfer-window-fee.html              With Clubs Strapped Free Agency Beckons      By Rory Smith              TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/04/style/a-
2022-02-04   2022-02-06 fashionable-start-to-the-lunar-new-year.html Fashionable Start to the Lunar New Year     By Diana Tsui              TX 9-154-386   2022-04-04



                                                                                 Page 3338 of 5793
                        https://www.nytimes.com/2022/02/04/style/be
2022-02-04   2022-02-06 atriz-rivera-edgar-alonzo-wedding.html      Wanting Her Near Whatever the Footwear        By Tammy La Gorce          TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/04/style/cl With Their First Kiss Life Turned to
2022-02-04   2022-02-06 aire-wasserman-ashley-louise-wedding.html Technicolor                                     By Rosalie R Radomsky      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/style/ke A Houston Wedding via Los Angeles and
2022-02-04   2022-02-06 lly-frye-nick-campbell-wedding.html         London                                        By Alix Strauss            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/style/m
2022-02-04   2022-02-06 ario-graniel-guy-rejwan-wedding.html        Mom Managed to See What They Did Not          By Vincent M Mallozzi      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/style/m Loving Him More When He Walks Out the
2022-02-04   2022-02-06 odern-love-aneurysm-death.html              Door                                          By Carol Dunbar            TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/04/style/re
2022-02-04   2022-02-06 nate-reinsve-worst-person-in-the-world.html A Career Uncomfortably Comes Into Focus       By Valeriya Safronova      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/style/va
2022-02-04   2022-02-06 lentines-day-gifts.html                     The Heart Knows No Limits                     By Anthony Rotunno         TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/04/sports/o White Says He Is Likely to Retire After the
2022-02-05   2022-02-06 lympics/shaun-white-retire-last-games.html Games                                          By John Branch             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/busines The Fox News That Donald Trump Helped
2022-02-05   2022-02-06 s/media/trump-fox-news.html                 Build                                         By Jeremy W Peters         TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/05/busines
2022-02-05   2022-02-06 s/nick-green-thrive-market-food-delivery.html Delivering Health Food to the Masses      By David Gelles              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/busines
2022-02-05   2022-02-06 s/stock-market-earnings.html                  Earnings Are Driving the Market But Where By Jeff Sommer               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/insider/
2022-02-05   2022-02-06 insider-olympics-fear.html                    Athletes Unafraid of Showing Fear         By Emmett Lindner            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/nyregio A Fatal Shove on the Subway and a Broken By Andy Newman Nate Schweber
2022-02-05   2022-02-06 n/martial-simon-michelle-go.html              Mental Health System                      and Chelsia Rose Marcius     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/nyregio New Yorks Hospitals Emerge Resilient From By Sharon Otterman and Joseph
2022-02-05   2022-02-06 n/omicron-nyc-hospitals.html                  Omicron Wave                              Goldstein                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/opinion
2022-02-05   2022-02-06 /electoral-count-act-congress.html            Protecting the 2024 Election              By The Editorial Board       TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/05/opinion
2022-02-05   2022-02-06 /jeff-zucker-susan-collins-trump-cheney.html Jeff Zucker Didnt Save Democracy             By Ross Douthat            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/realesta How Can I Be Sure That My Building Is
2022-02-05   2022-02-06 te/apartment-building-fire-safety.html       Prepared in Case There Is a Fire             By Ronda Kaysen            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/science Years Ago Kyiv Gave Up A Huge Nuclear
2022-02-05   2022-02-06 /ukraine-nuclear-weapons.html                Arsenal Today There Is Regret                By William J Broad         TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/05/sports/o Skiings Power Couple A Millennial Love
2022-02-05   2022-02-06 lympics/mikaela-shiffrin-aleks-kilde-ski.html Story                                       By Bill Pennington         TX 9-154-386   2022-04-04




                                                                                  Page 3339 of 5793
                        https://www.nytimes.com/2022/02/05/style/ad
2022-02-05   2022-02-06 rien-brody-painting-brooklyn.html           Hes Not Acting Like an Artist              By Alexis Soloski                    TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/05/style/lv
2022-02-05   2022-02-06 mh-nike-prada-amazon-deforestation.html     One Cause of Rainforest Loss May Be on You By Whitney Bauck                     TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/05/style/va
2022-02-05   2022-02-06 il-ski-resorts-crowds.html                  Resorts Face Skiers Frustrations           By Alyson Krueger                    TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/05/us/bloo Charges in Kidnapping of Bloombergs
2022-02-05   2022-02-06 mberg-housekeeper-kidnapped-colorado.html Housekeeper                                       By Troy Closson                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/us/imm Immigration Drives Growth With US Deaths By Miriam Jordan and Robert
2022-02-05   2022-02-06 igration-census-population.html              Up and Births Down                             Gebeloff                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/us/polit All Options Are Not on the Table as Biden
2022-02-05   2022-02-06 ics/biden-ukraine-russia-war.html            Moves Troops Close to Ukraine                  By Michael Crowley                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/us/polit Jan 6 Committee Borrows Tactics Of a            By Michael S Schmidt and Luke
2022-02-05   2022-02-06 ics/january-6-committee.html                 Prosecution                                    Broadwater                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/world/a Effort to Rescue a 5YearOld From a Well          By Vivian Yee Aida Alami and
2022-02-05   2022-02-06 frica/morocco-boy-well.html                  Transfixes Morocco Only to End Sadly           Mona ElNaggar                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/world/a Torn by Strife Africa Finds Solidarity in        By Ruth Maclean Brenda Kiven
2022-02-05   2022-02-06 frica/senegal-egypt-afcon.html               Soccer                                         and Tom Saater                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/world/a News Editor in Kashmir Arrested in
2022-02-05   2022-02-06 sia/kashmir-editor-arrested.html             Crackdown                                      By Mujib Mashal                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/world/a Feels Like Gambling Fruit Farmers Suffer         By Vo Kieu Bao Uyen SuiLee Wee
2022-02-05   2022-02-06 sia/virus-vietnam-china-fruit.html           Chinas Covid Restrictions                      and Muktita Suhartono             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/world/e
                        urope/afghan-refugees-two-tier-system-in-    EU Embraces Afghan Elites Even as Poorer
2022-02-05   2022-02-06 europe.html                                  Compatriots Are Shunned                        By Matina StevisGridneff          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/world/ A Leaders Death Deals Another Blow but a
2022-02-05   2022-02-06 middleeast/isis-qurayshi-death.html          Weakened ISIS Is Still Adapting                By Ben Hubbard                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/05/wo
                        rld/covid-test-vaccine-cases/turkey-erdogan-
2022-02-05   2022-02-06 covid                                        Erdogan Tests Positive After Trip to Kyiv      By Safak Timur                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/us/amir- Police Killing Sets Off Protests in             By Jay Senter Sophie Kasakove and
2022-02-06   2022-02-06 locke-minneapolis-police-shooting.html       Minneapolis                                    Sergio Olmos                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/us/polit Huge Casualties Feared if Russia Seizes         By Helene Cooper and David E
2022-02-06   2022-02-06 ics/russia-ukraine-invasion.html             Ukraine                                        Sanger                            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/busines
                        s/economy/modern-monetary-theory-stephanie Time For a Victory Lap Terms and
2022-02-06   2022-02-06 kelton.html                                  Conditions Apply                               By Jeanna Smialek                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/busines
2022-02-06   2022-02-06 s/the-week-in-business-jobs-report.html      The Week in Business A Strong Jobs Report By Sarah Kessler                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/us/butte Exotic Butterflies and a Wild Conspiracy
2022-02-06   2022-02-06 rfly-center-texas.html                       Theory                                         By J David Goodman                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/world/a In Japan a Sense of Crisis for a Fiery Staple of By Motoko Rich Makiko Inoue and
2022-02-07   2022-02-06 sia/japan-wasabi.html                        Local Cuisine                                  Shiho Fukada                      TX 9-154-386   2022-04-04




                                                                                 Page 3340 of 5793
                        https://www.nytimes.com/2022/01/28/movies/ Aliens a Hostage Taker and More on the Little
2022-01-28   2022-02-07 five-action-movies-to-stream-now.html       Big Screen                                    By Robert Daniels           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/busines Supply Chain Mayhem Will Likely Muck Up
2022-02-01   2022-02-07 s/supply-chain-disruption.html              2022                                          By Peter S Goodman          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/travel/a
2022-02-01   2022-02-07 scutney-cross-country.html                  A Vermont Town Saves a Mountain and Itself By David Goodman               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/arts/mu
2022-02-02   2022-02-07 sic/house-of-music-budapest-hungary.html    Museum Opens Amid Controversy                 By Benjamin Novak           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/technol
                        ogy/google-seznam-antitrust-czech-
2022-02-02   2022-02-07 republic.html                               Law to Give Underdog Last Laugh At Google By Adam Satariano               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/technol
2022-02-02   2022-02-07 ogy/sms-whatsapp.html                       Americans Still Chat in a DecadesOld Bubble By Shira Ovide                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/sports/o Which Figure Skaters Have a Decent Shot At
2022-02-04   2022-02-07 lympics/figure-skaters-mens-womens.html     Winning the Gold                              By Jer Longman              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/crossw
2022-02-04   2022-02-07 ords/high-top-crossword-clue.html           Style of Sneaker Seven Letters                By Alexis Benveniste        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/obituari Overlooked No More Ora Washington Star of
2022-02-04   2022-02-07 es/ora-washington-overlooked.html           Tennis and Basketball                         By Juliet Macur             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/travel/t Navigating the Travel Points Game With The
2022-02-04   2022-02-07 he-points-guy-brian-kelly.html              Points Guy                                    By Elaine Glusac            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/busines
                        s/dealbook/michael-lewis-revisits-liars-    Looking at the Legacy of Liars Poker With Its
2022-02-05   2022-02-07 poker.html                                  Author Michael Lewis                          By Andrew Ross Sorkin       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/opinion
2022-02-05   2022-02-07 /boris-johnson-office-party.html            Bosses Office Parties Arent for You           By Amelia Tait              TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/05/sports/o Snickers Slights and Stamina Rise of a
2022-02-05   2022-02-07 lympics/ireen-wust-speedskating-dutch.html Speedskating Legend                          By Andrew Keh                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/sports/o                                             By Matthew Futterman and
2022-02-05   2022-02-07 lympics/snow-winter-olympics.html           Turning Chinas Peaks White Comes at a Price Raymond Zhong                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/us/todd- Todd Gitlin 79 Activist Who Was Both Voice
2022-02-05   2022-02-07 gitlin-dead.html                            and Critic of the New Left Dies             By Katharine Q Seelye         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/sports/o A Graceful 15YearOld Lifts Her Whole
2022-02-06   2022-02-07 lympics/russia-figure-skating.html          Squad                                       By Juliet Macur               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/world/a Lata Mangeshkar Revered Superstar And the
2022-02-06   2022-02-07 sia/lata-mangeshkar-dead.html               Voice of Bollywood Dies 92                  By Shalini Venugopal Bhagat   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/arts/des
                        ign/marcel-breuer-geller-house-
2022-02-06   2022-02-07 demolition.html                             Requiem For Postwar Suburbia                By James S Russell            TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/06/books/r
2022-02-06   2022-02-07 eview-sarah-manguso-very-cold-people.html Finding Beauty in a Painful Childhood         By Alexandra Jacobs           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/books/y
2022-02-06   2022-02-07 iddish-women-novels-fiction.html           Yiddish Scholars To the Rescue               By Joseph Berger              TX 9-154-386   2022-04-04



                                                                                Page 3341 of 5793
                        https://www.nytimes.com/2022/02/06/health/c Anxiety Over Climate Change Lands on the
2022-02-06   2022-02-07 limate-anxiety-therapy.html                 Therapists Couch                           By Ellen Barry                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/obituari John Vinocur 81 Foreign Correspondent and
2022-02-06   2022-02-07 es/john-vinocur-dead.html                   Editor                                     By Sam Roberts                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/opinion
2022-02-06   2022-02-07 /biden-mcconnell-friendship.html            Bidens Friend Is Actually the Enemy        By Charles M Blow                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/opinion The Covid Policy That Really Mattered Wasnt
2022-02-06   2022-02-07 /covid-pandemic-policy-trust.html           a Policy                                   By Ezra Klein                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/opinion
2022-02-06   2022-02-07 /intensive-care-patient-hospital.html       Who Are We Caring for in the ICU           By Daniela J Lamas                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/sports/b Shields Gets Decision Win Paving Way for
2022-02-06   2022-02-07 oxing-claressa-shields.html                 Rematch                                    By Morgan Campbell                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/sports/o The Wind Keeps Blowing in Yanqing and
2022-02-06   2022-02-07 lympics/downhill-wind-skiing.html           Skiers Wait and Fret and Wait              By Matthew Futterman               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/sports/o
2022-02-06   2022-02-07 lympics/skiing-medals.html                  Olympians Confront Vagaries of Fortune     By Matthew Futterman               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/06/sports/o A Queen Emerges From Slopestyles New
2022-02-06   2022-02-07 lympics/snowboarding-gold-new-zealand.html Generation                                    By John Branch                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/sports/o As Athletes Get Injured China Faces Big Test By Keith Bradsher and Alan
2022-02-06   2022-02-07 lympics/sports-injuries-beijing.html        Of Its Sports Medicine                       Blinder                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/sports/r
2022-02-06   2022-02-07 unning-psychology.html                      Building a Complex Muscle Your Mind          By Talya Minsberg                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/technol
2022-02-06   2022-02-07 ogy/helium-cryptocurrency-uses.html         Is There a Use for Crypto After All          By Kevin Roose                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/us/leon A Mediating Force on a Divided California
2022-02-06   2022-02-07 dra-kruger-supreme-court.html               Court                                        By Shawn Hubler and Katie Benner TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/us/navy-Navy SEAL Candidate Dies After Completing
2022-02-06   2022-02-07 seal-death.html                             Hell Week Training                           By Azi Paybarah                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/us/polit Afghan Exit Leaves Its Mark as Blinken Is    By Lara Jakes and Michael
2022-02-06   2022-02-07 ics/antony-blinken.html                     Tested by China and Russia                   Crowley                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/us/polit Overhaul of Electoral Count Act Will Pass
2022-02-06   2022-02-07 ics/electoral-count-act-overhaul.html       Senate Manchin Vows                          By Luke Broadwater               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/06/us/polit New Voting Maps Erase Competitive House       By Reid J Epstein and Nick
2022-02-06   2022-02-07 ics/redistricting-competition-midterms.html Seats                                         Corasaniti                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/world/a
                        mericas/haiti-opposition-group-montana-                                                   By Maria AbiHabib and Natalie
2022-02-06   2022-02-07 accord.html                                 Dissidents to US Stop Backing Haitis Leader   Kitroeff                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/world/a Afghanistans Health Care System Is             By David Zucchino Safiullah
2022-02-06   2022-02-07 sia/afghanistans-health-care-system.html    Collapsing Under Stress                       Padshah and Jim Huylebroek      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/world/a
2022-02-06   2022-02-07 sia/india-under-19-cricket-win.html         India Youth Cricket Team Beats England        By Mujib Mashal                 TX 9-154-386   2022-04-04




                                                                                Page 3342 of 5793
                        https://www.nytimes.com/2022/02/06/world/e Invisible German Leader Sets Out for
2022-02-06   2022-02-07 urope/olaf-scholz-biden-ukraine-russia.html Washington Amid Fierce Criticism             By Katrin Bennhold                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/06/world/e Celebrating 7 Decades As Beacon Of a
2022-02-06   2022-02-07 urope/queen-elizabeth-platinum-jubilee.html Nation                                           By Mark Landler               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/world/e Macron Takes Diplomatic Lead In Bid to            By Roger Cohen and Andrew E
2022-02-06   2022-02-07 urope/ukraine-russia-macron.html              Defuse Russia Conflict                         Kramer                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/world/
                        middleeast/syria-prison-teenage-              Teen Inmates at Syria Jail Need Food
2022-02-06   2022-02-07 detainees.html                                UNICEF Says                                    By Jane Arraf                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/04/spo
                        rts/olympics-winter/for-snowboarders-and-     Athletes Pick Songs and Playlists for the Ride
2022-02-06   2022-02-07 freeskiers-the-playlist-is-the-key-to-success of a Lifetime                                  By John Branch                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/05/spo
                        rts/olympics-winter-medals/nils-van-der-poel- Speedskaters Regimen Running
2022-02-06   2022-02-07 speedskating-motivation                       Ultramarathons                                 By Kevin Draper               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/06/wo
                        rld/covid-test-vaccine-cases/elana-meyers-    With Covid Isolation Over Meyers Taylor
2022-02-06   2022-02-07 taylor-covid-bobsled                          Eyes Medals                                    By Jonathan Abrams            TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/06/world/a
2022-02-07   2022-02-07 mericas/canada-trucker-protest-ottawa.html Truckers Protests Grow in Canada            By Ian Austen and Dan Bilefsky      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/arts/des
2022-02-07   2022-02-07 ign/henry-darger-estate.html                 The Genealogy of a Recluses Legacy        By Robin Pogrebin                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/arts/tele
                        vision/whats-on-tv-this-week-the-super-bowl- Whats on TV This Week The Super Bowl and
2022-02-07   2022-02-07 oscar-micheaux-documentary.html              an Oscar Micheaux Documentary             By Gabe Cohn                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/busines
2022-02-07   2022-02-07 s/lucid-air-review.html                      The Advantage of Starting From Scratch    By Lawrence Ulrich                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/nyregio
2022-02-07   2022-02-07 n/nj-school-mask-mandate-murphy.html         School Masks Will Come Off In New Jersey By Tracey Tully                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/sports/c Humbled on the Ice in 2018 Canadas Curling
2022-02-07   2022-02-07 urling-canada.html                           Team Adapted                              By Scott Cacciola                   TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/07/technol Coin Boom Is Drawing New Traders And
2022-02-07   2022-02-07 ogy/cryptocurrency-luna-solana-polygon.html Tokens                                       By David YaffeBellany             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/us/tsun A Tsunami Could Kill Thousands Is Escape
2022-02-07   2022-02-07 ami-northwest-evacuation-towers.html        Possible                                     By Mike Baker                     TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/01/24/movies/
2022-01-24   2022-02-08 buried-night-comes-on-streaming-picks.html Small Films That Deserve Center Stage         By Jason Bailey                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/27/science Small Size Has Ancient Pedigree in Dog
2022-01-27   2022-02-08 /small-dogs-dna-wolves.html                DNA                                           By James Gorman                   TX 9-154-386   2022-04-04




                                                                                 Page 3343 of 5793
                        https://www.nytimes.com/2022/01/27/well/liv
2022-01-28   2022-02-08 e/reusing-respirator-masks-covid.html       Get the Most Out of a HighPerformance Mask By Tara ParkerPope              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/28/briefing
                        /coronavirus-briefing-traveling-after-
2022-01-28   2022-02-08 omicron.html                                How Travel Will Look After Omicron         By Jonathan Wolfe               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/29/science
2022-01-29   2022-02-08 /orcas-blue-whales.html                     Killer Whales Live Up to Their Name        By Annie Roth                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/science Witnessing Sparks at the Heart of the Milky
2022-01-31   2022-02-08 /milky-way.html                             Way                                        By Dennis Overbye               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/theater/
2022-02-01   2022-02-08 hangmen-broadway.html                       Hangmen Set to Open On Broadway in Spring By Michael Paulson               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/well/eat Im Lactose Intolerant Whats the Best
2022-02-01   2022-02-08 /lactose-intolerant-non-dairy-milk.html     Nondairy Milk Alternative                  By Sophie Egan                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/busines Japan Looks to Surveillance To Keep an Eye
2022-02-02   2022-02-08 s/japan-elderly-surveillance.html           on Its Elderly                             By Ben Dooley and Hisako Ueno   TX 9-154-386   2022-04-04
                                                                    In Our Orbit Asteroid 2020 XL5 Is
                        https://www.nytimes.com/2022/02/02/science Shadowing Us But Only for Another 4000
2022-02-02   2022-02-08 /astronomy-asteroid-trojan.html             Years                                      By Kenneth Chang                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/02/well/m
2022-02-02   2022-02-08 ove/aging-exercise-grandparents.html        Nana Stay Fit We Depend on You             By Gretchen Reynolds            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/arts/des
2022-02-03   2022-02-08 ign/san-francisco-art-institute-merger.html Troubled Art School Finds a Way Out        By Matt Stevens                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/science Coastal Clues Dissolving in Toxic Oceans
2022-02-03   2022-02-08 /extinction-triassic-volcano.html           How an Extinction Occurred                 By Lucas Joel                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/science Extremely Old Spice Why Our Ancestors
2022-02-03   2022-02-08 /nose-odors-evolution.html                  Were OK Going Without Deodorant            By Sam Jones                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/arts/ja James Bidgood Master of Campy Gay
2022-02-04   2022-02-08 mes-bidgood-dead.html                       Photography Is Dead at 88                  By Neil Genzlinger              TX 9-154-386   2022-04-04
                                                                                                               By Jon Pareles Jon Caramanica
                        https://www.nytimes.com/2022/02/04/arts/mu Blasting Into a Fresh Era And 13 More New Isabelia Herrera Giovanni
2022-02-04   2022-02-08 sic/playlist-kamasi-washington-koffee.html Songs                                       Russonello and Lindsay Zoladz   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/health/ CovidEra Tests Poised to Tackle Another
2022-02-04   2022-02-08 hepatitis-c-test.html                       Scourge                                    By Ted Alcorn                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/science A Bald Eagle in the City Is a Marker of
2022-02-04   2022-02-08 /bald-eagle-central-park-rover.html         Success                                    By Ryan Mandelbaum              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/science No Numbskull Here The Insights Gleaned
2022-02-04   2022-02-08 /fish-brain-feces-fossils.html              From Missing Brains                        By Jeanne Timmons               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/health/c Pandemics Cascade of Effects Hobbles Older
2022-02-05   2022-02-08 ovid-elderly-mobility.html                  Adults                                     By Paula Span                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/us/mart Martine Colette 79 Sanctuary Founder Who
2022-02-05   2022-02-08 ine-colette-dead.html                       Rescued Exotic Animals in Need             By Katharine Q Seelye           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/obituari George Crumb 92 Dies Composer Whose
2022-02-06   2022-02-08 es/george-crumb-dead.html                   Works Held an Array of Sounds              By Vivien Schweitzer            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/sports/o Russians Get Team Gold as Skaters Aim for
2022-02-06   2022-02-08 lympics/roc-kamila-valieva.html             More                                       By Juliet Macur                 TX 9-154-386   2022-04-04



                                                                              Page 3344 of 5793
                        https://www.nytimes.com/2022/02/06/sports/o Peng Meets With IOC But Answers Remain
2022-02-07   2022-02-08 lympics/peng-shuai-olympics-ioc.html        Few                                         By Andrew Keh                     TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/06/sports/o Canadians Long Path Back to the Olympics
2022-02-07   2022-02-08 lympics/snowboarding-mens-slopestyle.html Ends in a Gold Medal                             By John Branch                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/sports/o
2022-02-07   2022-02-08 lympics/zhu-yi-china-figure-skating.html     Tumble on the Ice Brings Online Scorn         By Amy Qin and Chris Buckley   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/us/hom Home Depot Cash Handler Accused of
2022-02-07   2022-02-08 e-depot-counterfeit-money.html               Swapping 387500 in Counterfeit Bills          By Eduardo Medina              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/arts/mu
                        sic/black-country-new-road-ants-from-up-     A Cryptic and OffKilter Groups Perilous
2022-02-07   2022-02-08 there-review.html                            Triumph                                       By Jon Pareles                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/arts/mu
2022-02-07   2022-02-08 sic/joe-rogan-spotify.html                   Spotify States That Its Standing by Joe Rogan By Ben Sisario                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/arts/tele
                        vision/bill-cosby-documentary-w-kamau-       Why We Need to Talk About Bill Cosby
2022-02-07   2022-02-08 bell.html                                    Among Others                                  By James Poniewozik            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/arts/tele
2022-02-07   2022-02-08 vision/david-olusoga-black-history.html      Wanting Britain to Face Its Past All of It    By Desiree Ibekwe              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/books/r
2022-02-07   2022-02-08 eview-pure-colour-sheila-heti.html           Metaphysics Laced With Magic                  By Dwight Garner               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/busines Biden Moves To Promote Membership In
2022-02-07   2022-02-08 s/economy/biden-union-membership.html        Unions                                        By Noam Scheiber               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/busines
2022-02-07   2022-02-08 s/economy/us-japan-steel-tariffs.html        US and Japan Agree To Undo Steel Tariffs      By Ana Swanson                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/busines
2022-02-07   2022-02-08 s/frontier-spirit-airlines-merger.html       Air Merger Could Create Budget Giant          By Niraj Chokshi               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/busines Tesla Faces More Scrutiny Over Bias and
2022-02-07   2022-02-08 s/tesla-racial-bias-elon-musk-tweets.html    Musks Tweets                                  By Neal E Boudette             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/climate Glaciers Water Supply May Peak Sooner
2022-02-07   2022-02-08 /glaciers-water-global-warming.html          Than Expected                                 By Raymond Zhong               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/health/c Coronavirus Roams Freely Alongside             By Emily Anthes and Sabrina
2022-02-07   2022-02-08 oronavirus-deer-animals.html                 Humans                                        Imbler                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/nyregio
                        n/connecticut-school-mask-mandate-
2022-02-07   2022-02-08 lamont.html                                  More States End Masks In Schools              By Lola Fadulu                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/nyregio Adams Admits to Being a Perfectly Imperfect
2022-02-07   2022-02-08 n/eric-adams-fish-vegan.html                 Vegan                                         By Emma G Fitzsimmons          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/nyregio How Police Deaths Have Shaped New Yorks
2022-02-07   2022-02-08 n/eric-adams-liu-police.html                 Mayor and His Policy                          By Emma G Fitzsimmons          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/nyregio Holocaust Survivor 99 Is Hit by a Car and
2022-02-07   2022-02-08 n/holocaust-survivor-killed-car-crash.html   Dies                                          By Ashley Wong                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/opinion
                        /international-world/boris-johnson-          With Johnson the Conservatives Are Facing a
2022-02-07   2022-02-08 conservatives.html                           Brutal Truth                                  By Andrew Marr                 TX 9-154-386   2022-04-04



                                                                                Page 3345 of 5793
                        https://www.nytimes.com/2022/02/07/opinion
2022-02-07   2022-02-08 /legitimate-political-discourse-jan-6.html  Can Anyone Save the GOP                     By Gail Collins and Bret Stephens TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/sports/b Fighting Over the Short Term With
2022-02-07   2022-02-08 aseball/mlb-lockout.html                    LongTerm Problems Looming                   By Tyler Kepner                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/sports/f
2022-02-07   2022-02-08 ootball/alvin-kamara-arrest.html            Kamara Charged With Felony Battery          By Emmanuel Morgan                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/sports/o Covid Results Unclear A Compromise Is Met
2022-02-07   2022-02-08 lympics/canada-masks-olympics.html          Face Coverings for All                      By Alan Blinder                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/sports/o
                        lympics/ireen-wust-wins-speedskating-       In 2006 2010 2014 2018 and 2022 She Won
2022-02-07   2022-02-08 medals.html                                 Gold Gold Gold Gold and Gold                By Andrew Keh                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/sports/o
                        lympics/shiffrin-kilde-downhill-slalom-     A Day of Dizzying Highs and Devastating
2022-02-07   2022-02-08 skiing.html                                 Lows                                        By Matthew Futterman              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/sports/s
2022-02-07   2022-02-08 afety-luge-skeleton-olympics.html           For Sliding Missiles How Fast Is Too Fast   By Jonathan Abrams                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/technol Thiel to Exit Metas Board To Support
2022-02-07   2022-02-08 ogy/peter-thiel-facebook.html               Republicans                                 By Ryan Mac and Mike Isaac        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/us/austi Treatment Errors Force Austin Residents to By Edgar Sandoval and J David
2022-02-07   2022-02-08 n-boil-water.html                           Boil Water                                  Goodman                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/us/polit GOP Turns War on Fauci Into Strategy For
2022-02-07   2022-02-08 ics/fauci-republicans-trump.html            Elections                                   By Sheryl Gay Stolberg            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/us/polit                                             By Alan Rappeport and Kashmir
2022-02-07   2022-02-08 ics/irs-idme-facial-recognition.html        IRS to End Use of Facial Recognition        Hill                              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/us/polit Free Community College Excluded From
2022-02-07   2022-02-08 ics/jill-biden-free-community-college.html  Spending Bill First Lady Says               By Katie Rogers                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/us/polit
                        ics/supreme-court-alabama-redistricting-    Justices Restore Vote Map Said To Dilute
2022-02-07   2022-02-08 congressional-map.html                      Rights                                      By Adam Liptak                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/well/liv
2022-02-07   2022-02-08 e/pancreatic-cancer-warning-signs.html      Seeking Early Signs Of Pancreatic Cancer    By Jane E Brody                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/world/a Sudans Civilians Are Taking On the Generals By Abdi Latif Dahir and Faiz
2022-02-07   2022-02-08 frica/sudan-protest-movement.html           From the Ground Up                          Abubakar Muhamed                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/world/a Both Sides of the Taiwan Strait Have
2022-02-07   2022-02-08 sia/taiwan-china-ukraine-russia.html        Particular Interest in the Ukraine Conflict By Steven Lee Myers and Amy Qin TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/07/world/c Convoy Provides Moment for Canadas Far
2022-02-07   2022-02-08 anada/canada-protests-right-populists.html  Right                                       By Max Fisher                     TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/07/world/e Camillas Future Queen Consort Title Caps     By Megan Specia and Saskia
2022-02-07   2022-02-08 urope/camilla-queen.html                   Years of Speculation and Image Management Solomon                            TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/07/world/                                               By Patrick Kingsley and Ronen
2022-02-07   2022-02-08 middleeast/israel-pegasus-spyware.html     Israel Will Investigate Domestic Spyware Use Bergman                         TX 9-154-386     2022-04-04




                                                                                Page 3346 of 5793
                        https://www.nytimes.com/live/2022/02/07/bus
                        iness/stock-market-economy-news/senators-
                        ask-jpmorgan-chase-for-details-on-predatory- Senators Query JPMorgan About Predatory
2022-02-07   2022-02-08 robo-signing-practices                       Practice                                   By Lananh Nguyen                 TX 9-154-386     2022-04-04
                        https://www.nytimes.com/live/2022/02/07/spo
                        rts/figure-skating-mens/covid-olympics-      CovidPositive American Sits Out Individual
2022-02-07   2022-02-08 numbers                                      Event                                      By Juliet Macur and Andrew Das   TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/07/health/ Omicron Variant Found In Some New York By Emily Anthes and Sabrina
2022-02-08   2022-02-08 omicron-deer-staten-island-covid.html        Deer                                       Imbler                           TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/07/nyregio Disgraced Head Of NY Shelters Admits
2022-02-08   2022-02-08 n/victor-rivera-pleads-guilty.html           Bribery                                    By Amy Julia Harris              TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/07/opinion
2022-02-08   2022-02-08 /covid-unvaccinated-anger.html               The Quiet Rage of the Responsible          By Paul Krugman                  TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/07/opinion
2022-02-08   2022-02-08 /todd-gitlin-liberal.html                    Requiem for A Liberal Giant                By Michelle Goldberg             TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/07/theater/
2022-02-08   2022-02-08 tambo-bones-review-dave-harris.html          A HipHop Triptych Promising but Lacking    By Maya Phillips                 TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/07/us/polit                                             By Blake Hounshell and Leah
2022-02-08   2022-02-08 ics/electoral-count-act-reform.html          The 135YearOld Act Jeopardizing Democracy Askarinam                         TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/07/us/polit Biden Aide Steps Down For Demeaning
2022-02-08   2022-02-08 ics/eric-lander-resigns-white-house.html     Behavior                                   By Katie Rogers                  TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/07/us/polit House Nullifies Arbitration In Workplace
2022-02-08   2022-02-08 ics/house-bill-forced-arbitration.html       Abuse Cases                                By Annie Karni                   TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/07/us/polit Trump Turns Documents Over to US            By Michael S Schmidt and Maggie
2022-02-08   2022-02-08 ics/trump-national-archives-documents.html Archives                                     Haberman                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/world/c                                              By Catherine Porter Ian Austen and
2022-02-08   2022-02-08 anada/canada-protesters-ottawa.html         Ottawa Protest Stirs Far Right Around World Sheera Frenkel                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/world/e
                        urope/putin-macron-russia-france-           Putin Has West Guessing Even After Macrons By Anton Troianovski Roger Cohen
2022-02-08   2022-02-08 ukraine.html                                Visit                                       and Katie Rogers                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/busines
                        s/energy-environment/electric-cars-         Electric Cars Set for Breakthrough as Sales By Jack Ewing and Neal E
2022-02-08   2022-02-08 vehicles.html                               Soar                                        Boudette                           TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/08/sports/f His Grisly Leg Injury Healed His Brain Has
2022-02-08   2022-02-08 ootball/tim-krumrie-bengals-super-bowl.html Not                                          By Ben Shpigel                  TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/08/sports/o
2022-02-08   2022-02-08 lympics/mikaela-shiffrin-olympics-fall.html Channeling Her Idol Shiffrin Looks Ahead     By Bill Pennington               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/08/world/a India Officials Are Silent as Hate Speech     By Mujib Mashal Suhasini Raj and
2022-02-08   2022-02-08 sia/india-hate-speech-muslims.html          Against Muslims Grows                        Hari Kumar                       TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/04/dining/
2022-02-04   2022-02-09 history-of-hotteok.html                     Resurgence of Hotteok Is Nostalgic and Novel By Priya Krishna                 TX 9-154-386    2022-04-04




                                                                                Page 3347 of 5793
                        https://www.nytimes.com/2022/02/04/dining/
2022-02-04   2022-02-09 portobello-corn-nuts-ottolenghi.html        Mushrooms Arise Your Time Is Now             By Yotam Ottolenghi              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/dining/
2022-02-04   2022-02-09 valentines-day-dinner-menu.html             For Valentines Day a Meal for Two by Two By Eric Kim                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/arts/mu Sam Lay 86 Consummate Drummer Who
2022-02-05   2022-02-09 sic/sam-lay-dead.html                       Backed Blues Greats and Dylan                By Richard Sandomir              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/06/us/charl Charles Vert Willie 94 Who Studied and
2022-02-06   2022-02-09 es-vert-willie-dead.html                    Solved Social Problems Dies                  By Clay Risen                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/dining/ To Celebrate Ladure Presents A HeartShaped
2022-02-07   2022-02-09 croissant-lauduree-valentine.html           Croissant                                    By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/dining/
2022-02-07   2022-02-09 curate-bar-de-tapas.html                    To Serve Spanish Sausages For the Big Game By Florence Fabricant              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/dining/
2022-02-07   2022-02-09 drinks/wine-millennials.html                Drink Up Millennials Please                  By Eric Asimov                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/dining/
2022-02-07   2022-02-09 gusto-bread-bakery-long-beach.html          A Bakery Breaks Free of European Traditions By Tejal Rao                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/dining/ To Learn Explore the History Of The
2022-02-07   2022-02-09 hercules-posey.html                         Generals Cook                                By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/dining/
2022-02-07   2022-02-09 how-to-make-meringues.html                  Some Points To Consider                      By Melissa Clark                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/dining/l To Share Ditch the Dessert Wine For a Levain
2022-02-07   2022-02-09 evain-cookie-beer.html                      Cookie Beer                                  By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/dining/
2022-02-07   2022-02-09 meringues-baking.html                       The Magic Of Meringues                       By Melissa Clark                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/dining/ To Sip This Phony Negroni Is Bitter but Not
2022-02-07   2022-02-09 phony-negroni-st-agrestis.html              Boozy                                        By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/dining/
2022-02-07   2022-02-09 sims-custom-food.html                       A Video Game Spreads Out a Buffet            By Nikita Richardson             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/dining/ To Brew This Coffee Is Grown In Volcanoes
2022-02-07   2022-02-09 volcanica-coffee.html                       Shadows                                      By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/opinion Bolsonaros Latest Sabotage Efforts Have
2022-02-07   2022-02-09 /bolsonaro-brazil-vaccines-kids.html        Failed                                       By Vanessa Barbara               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/opinion
2022-02-07   2022-02-09 /culture/maus-tennessee-book-bans.html      Book Bans Arent Just About Books             By Margaret Renkl                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/technol
2022-02-07   2022-02-09 ogy/computer-chips-errors.html              Tiny Chips Big Headaches                     By John Markoff                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/us/woo Rich Enclave Drops Effort To Call Itself Lion
2022-02-07   2022-02-09 dside-mountain-lion-housing.html            Habitat                                      By Maria Cramer and Alan Yuhas   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/world/ Kurds in Syria Wanted Autonomy What They
2022-02-07   2022-02-09 middleeast/syria-kurds.html                 Got Was a War                                By Jane Arraf                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/sports/o Shrugging Off Her Mothers Advice Gu Vaults
2022-02-08   2022-02-09 lympics/eileen-gu-gold-skiing.html          to the Gold                                  By John Branch                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/sports/o
                        lympics/jessie-diggins-bronze-sprint-cross-
2022-02-08   2022-02-09 country.html                                US Star Reaches The Podium In a Sprint       By Matthew Futterman             TX 9-154-386   2022-04-04



                                                                               Page 3348 of 5793
                        https://www.nytimes.com/2022/02/07/sports/o
2022-02-08   2022-02-09 lympics/womens-hockey-us-canada.html        Canada Flashes Power In Clash With the US By Alan Blinder                      TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/08/arts/ba Former Executive Returning Home As BAM
2022-02-08   2022-02-09 m-president-gina-duncan.html                President                                 By Matt Stevens                      TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/08/arts/dan Kirov Academy to Close Its Elite Ballet
2022-02-08   2022-02-09 ce/kirov-academy-ballet-school-closing.html School in Washington                        By Rebecca J Ritzel                TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/08/arts/mu Norma Waterson 82 Key Figure in Revival
2022-02-08   2022-02-09 sic/norma-waterson-dead.html                Of Folk Music Is Dead                       By Jim Farber                      TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/08/arts/tele Alices Wonderland Bakery Offers Recipes for
2022-02-08   2022-02-09 vision/alices-wonderland-bakery-disney.html Life                                          By Laurel Graeber                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/books/r
                        eview-laura-kipnis-love-in-time-of-
2022-02-08   2022-02-09 contagion.html                               Observing All the Mutations in Domestic Life By Molly Young                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/briefing Mask Mandates Are Worth Debating One
2022-02-08   2022-02-09 /mask-mandates-covid-new-jersey.html         More Time                                    By David Leonhardt                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/busines
                        s/economy/starbucks-memphis-union-workers-Starbucks Fires Memphis Workers Involved
2022-02-08   2022-02-09 fired.html                                   in Union Organizing                          By Noam Scheiber                   TX 9-154-386   2022-04-04
                                                                                                                  By Rebecca Robbins Stephanie
                        https://www.nytimes.com/2022/02/08/busines J amp J Halts Production Of Vaccine For        Nolen Sharon LaFraniere and Noah
2022-02-08   2022-02-09 s/johnson-johnson-covid-vaccine.html         Covid                                        Weiland                            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/busines Palin Libel Trial Focuses on Emails of Timess
2022-02-08   2022-02-09 s/media/sarah-palin-new-york-times.html      Opinion Staff                                By Jeremy W Peters                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/busines
2022-02-08   2022-02-09 s/new-york-commercial-real-estate.html       Transactions                                 By Daniel E Slotnik                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/busines Peloton Replaces Chief Executive and Will
2022-02-08   2022-02-09 s/peloton-ceo-layoffs-earnings.html          Lay Off 2800                                 By Erin Griffith and Lauren Hirsch TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/busines Fraud Trial of Banker Who Liked Strip Clubs
2022-02-08   2022-02-09 s/raiffeisen-pierin-vincenz-fraud-trial.html Rivets Swiss                                 By Noele Illien                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/busines SoftBank Earns Quarterly Profit But
2022-02-08   2022-02-09 s/softbank-earnings.html                     Challenges Remain Ahead                      By Ben Dooley                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/busines
2022-02-08   2022-02-09 s/us-trade-deficit.html                      Imports Push Trade Deficit To a Record       By Ana Swanson                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/dining/
2022-02-08   2022-02-09 nyc-restaurant-news.html                     El Quijote in the Hotel Chelsea Reopens      By Florence Fabricant              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/dining/r
2022-02-08   2022-02-09 estaurant-review-leticias.html               Ecuadorean Flavors With a Nod to Mexico      By Pete Wells                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/health/c Experts Agree That Masks Should Come Off
2022-02-08   2022-02-09 ovid-mask-restrictions.html                  in Schools But When                          By Emily Anthes                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/movies/
2022-02-08   2022-02-09 2022-oscars-nominees-list.html               Nominees for the 2022 Academy Awards         By Gabe Cohn                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/movies/
2022-02-08   2022-02-09 ariana-debose-west-side-story-oscars.html    This Role Embodies Every Facet of Me         By Sarah Bahr                      TX 9-154-386   2022-04-04



                                                                                 Page 3349 of 5793
                        https://www.nytimes.com/2022/02/08/movies/
2022-02-08   2022-02-09 beyonce-oscar-nomination.html                 Beyonc Song Is Nominated                   By Sarah Bahr                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/movies/
2022-02-08   2022-02-09 oscars-nominations-snubs-surprises.html       Somebody Has to Be Left Out                By Kyle Buchanan               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/nyregio If Adams Wants to Be Tough on Crime Hell By Luis FerrSadurn Grace Ashford
2022-02-08   2022-02-09 n/crime-plan-eric-adams.html                  Need to Cultivate Allies in Albany         and Jonah E Bromwich           TX 9-154-386   2022-04-04
                                                                      Thousands of New York Public Housing
                        https://www.nytimes.com/2022/02/08/nyregio Tenants Fret After Eviction Protections
2022-02-08   2022-02-09 n/nycha-evictions-tenants.html                Expire                                     By Mihir Zaveri                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/opinion Inflation Is Not a Simple Story About Greedy
2022-02-08   2022-02-09 /dont-blame-greed-for-inflation.html          Corporations                               By Robert J Shiller            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/opinion
2022-02-08   2022-02-09 /germany-ukraine-scholz-biden.html            On Ukraine Germany Looks Stuck             By Anna Sauerbrey              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/sports/f NFL Accused of Failing to Fix How It Treats By Katherine Rosman and Ken
2022-02-08   2022-02-09 ootball/nfl-women-culture.html                Female Workers                             Belson                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/sports/o
2022-02-08   2022-02-09 lympics/china-speed-skating-qitaihe.html      In Coal Country a Gold Mine                By Chris Buckley               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/sports/o In China Bearing a Torch for Unity Only
2022-02-08   2022-02-09 lympics/china-uyghur-olympics.html            Spotlights Its Absence                     By Amy Qin                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/sports/o
                        lympics/figure-skating-chen-asian-
2022-02-08   2022-02-09 americans.html                                A Bond Etched in Ice                       By Andrew Keh                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/sports/o Shiffrin Falters in Slalom Falling Out of    By Bill Pennington and Matthew
2022-02-08   2022-02-09 lympics/mikaela-shiffrin-out-dnf.html         Second Straight Race                       Futterman                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/sports/o
                        lympics/olympics-mental-health-simone-        Gymnasts Struggles Inspired Those Who Feel
2022-02-08   2022-02-09 biles.html                                    the Pressure                               By John Branch                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/theater/ Hmm This Whodunit Looks Like a Board
2022-02-08   2022-02-09 clue-review-paper-mill-playhouse.html         Game                                       By Juan A Ramrez               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/us/harv Faculty Split as Suit Says Harvard Ignored
2022-02-08   2022-02-09 ard-sexual-harassment-lawsuit.html            Harassment Claims                          By Anemona Hartocollis         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/us/polit Americans Are Increasingly Frustrated With
2022-02-08   2022-02-09 ics/covid-restrictions-americans.html         the Pandemic Polls Show                    By Nate Cohn                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/us/polit Emhoff Evacuated From School After Bomb
2022-02-08   2022-02-09 ics/doug-emhoff-dc-bomb-threat.html           Threat                                     By Katie Rogers                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/us/polit
                        ics/erik-prince-spy-operation-trump-          Trump Allies Unleashed Spycraft on US      By Mark Mazzetti and Adam
2022-02-08   2022-02-09 democrats.html                                Politics                                   Goldman                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/us/polit House Passes ShortTerm Funding Punting
2022-02-08   2022-02-09 ics/house-short-term-spending-bill.html       Again on Federal Budget                    By Emily Cochrane              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/us/polit
                        ics/ilya-lichtenstein-heather-morgan-bitcoin- US Seizes Over 36 Billion In Bitcoin From
2022-02-08   2022-02-09 laundering.html                               2016 Breach                                By Katie Benner                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/us/polit
2022-02-08   2022-02-09 ics/postal-service-overhaul-house.html        Lawmakers Vote to Avert Postal Insolvency By Emily Cochrane               TX 9-154-386   2022-04-04



                                                                              Page 3350 of 5793
                        https://www.nytimes.com/2022/02/08/us/polit                                            By Jonathan Weisman and Annie
2022-02-08   2022-02-09 ics/republicans-censure-mcconnell.html       Party Censures Earn a Rebuke By McConnell Karni                                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/us/polit Antiwar Veterans in US Splinter Over
2022-02-08   2022-02-09 ics/russia-ukraine-veterans.html             Ukraine Crisis                            By Jennifer Steinhauer               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/us/trial- Jan 6 Prosecutors Detail A Vast Trove of
2022-02-08   2022-02-09 jan-6-guy-wesley-reffitt.html                Evidence Ahead of the First Trial         By Alan Feuer                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/world/a North Korea Builds a Base Near China to
2022-02-08   2022-02-09 sia/north-korea-icbm-china.html              Store ICBMs                               By Choe SangHun                      TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/08/world/a When You Hear Beethoven Its Time to Take     By Amy Qin and Amy Chang
2022-02-08   2022-02-09 sia/taiwan-waste-management-beethoven.html Out the Trash                                Chien                               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/world/a
                        ustralia/australia-apology-brittany-       Australian Leaders Regret Culture of Sex
2022-02-08   2022-02-09 higgins.html                               Harassment                                   By Isabella Kwai                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/world/c Ottawa Truck Convoy Drags On Fueling         By Dan Bilefsky Ian Austen and
2022-02-08   2022-02-09 anada/canada-protests-bridge.html          Protests in New Zealand and Australia        Natasha Frost                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/world/e EU Cuts Payments to Poland Over Unpaid
2022-02-08   2022-02-09 urope/eu-poland-fine.html                  Fines Deepening a Divide                     By Monika Pronczuk                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/world/e Benedict Seeks Forgiveness for Abuse         By Gaia Pianigiani and Elisabetta
2022-02-08   2022-02-09 urope/pope-benedict-abuse-germany.html     Response                                     Povoledo                            TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/08/world/e Johnson Tries to Remain in Control as
2022-02-08   2022-02-09 urope/uk-boris-johnson.html                Conservative Lawmakers Call for His Ouster   By Stephen Castle                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/world/e
2022-02-08   2022-02-09 urope/ukraine-putin-russia.html            Putin Digs In As West Steels For Long Slog   By Anton Troianovski                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/world/e
                        urope/ukraine-russia-macron-scholz-duda-   European Leaders Say Theyre Committed to
2022-02-08   2022-02-09 putin-biden.html                           Peace but Not at Any Price                   By Roger Cohen                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/world/r How Minsk Accords May Avert War in
2022-02-08   2022-02-09 ussia-ukraine-minsk-accords.html           Ukraine                                      By Andrew E Kramer                  TX 9-154-386   2022-04-04

                        https://www.nytimes.com/live/2022/02/08/mo
                        vies/oscar-nominations-academy-awards/the-
                        future-of-cinema-is-on-the-line-with-                                                    By Brooks Barnes and Nicole
2022-02-08   2022-02-09 theatrical-films-vying-against-streaming-ones Streaming Their Way To the Oscars          Sperling                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/nyregio Working Families Party Endorses Williams
2022-02-09   2022-02-09 n/jumaane-williams-governor-wfp.html          for Governor                               By Nicholas Fandos                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/opinion
2022-02-09   2022-02-09 /spotify-joe-rogan-covid-free-speech.html     Rights for All Responsibilities For No One By Thomas L Friedman               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/sports/b
2022-02-09   2022-02-09 aseball/trevor-bauer-charges.html             Dodgers Bauer Wont Face Assault Charges By James Wagner                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/sports/b Trial Over Pitchers Death By Drug Overdose By Marina Trahan Martinez and
2022-02-09   2022-02-09 aseball/tyler-skaggs-eric-kay-trial.html      Begins                                     Benjamin Hoffman                   TX 9-154-386   2022-04-04




                                                                               Page 3351 of 5793
                        https://www.nytimes.com/2022/02/08/us/polit
                        ics/cheney-kinzinger-censure-republican-    Censure Resolution Sets Off Another        By Blake Hounshell and Leah
2022-02-09   2022-02-09 party.html                                  Republican Food Fight                      Askarinam                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/us/polit                                            By Lisa Lerer Luis FerrSadurn and
2022-02-09   2022-02-09 ics/new-york-mask-mandate.html              Hochul to Join Move to Relax Mask Decrees Astead W Herndon                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/sports/f
2022-02-09   2022-02-09 ootball/nfl-analytics-super-bowl.html       Around the NFL Its FourthandItDoesntMatter By Robert OConnell                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/sports/o
                        lympics/ryan-cochran-siegle-silver-         HandMeDowns And Helping Hands Are
2022-02-09   2022-02-09 medal.html                                  Repaid in Silver                           By Bill Pennington                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/28/well/m
2022-01-28   2022-02-10 ove/exercise-mindfulness.html               Here to Help How to Exercise Mindfully     By Jenny Marder                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/arts/jea JeanJacques Beineix 75 Director Who Gave
2022-02-03   2022-02-10 n-jacques-beineix-dead.html                 Rise to Cinma du Look                      By Neil Genzlinger                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/arts/mu
2022-02-04   2022-02-10 sic/jon-zazula-dead.html                    Jon Zazula 69 Heavy Metals Early Ally      By Neil Genzlinger                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/sports/o
                        lympics/snowboarding-freeskiing-olympics-
2022-02-07   2022-02-10 airbags.html                                Cushy Training Tools Make Purists Chafe    By John Branch                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/style/bl
2022-02-07   2022-02-10 ack-fashion-fair-publication.html           Black Fashion Fair Decides to Try Print    By Gina Cherelus                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/world/a Turkish Doctors Flee Heavy Workloads and
2022-02-07   2022-02-10 sia/turkey-inflation-doctors.html           Shrinking Returns                          By Carlotta Gall                  TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/08/arts/des Cooper Hewitt Director Aims to Bring
2022-02-08   2022-02-10 ign/cooper-hewitt-director-maria-nicanor.html Context                                      By Robin Pogrebin           TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/08/arts/mu
2022-02-08   2022-02-10 sic/ronnies-jazz-club-documentary.html        Ella Played There Miles Did Too              By Marcus J Moore           TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/08/busines As Wall St Churns Sometimes Money Isnt
2022-02-08   2022-02-10 s/employees-wall-street-talent.html           Enough                                       By Lananh Nguyen            TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/08/opinion
2022-02-08   2022-02-10 /oxford-comma.html                            English Is a Living Language Period          By John McWhorter           TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/08/sports/o
                        lympics/shaun-white-olympics-
2022-02-08   2022-02-10 snowboard.html                                How a Star Faces Crises 20 Feet In the Air   By John Branch              TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/08/world/e Despite Omicron Surge Denmark Lifts All
2022-02-08   2022-02-10 urope/denmark-covid-infections.html           Covid19 Restrictions                         By Elian Peltier            TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/08/movies/
2022-02-09   2022-02-10 will-smith-king-richard-oscars.html           His Secret Career Fear Vanquished            By Gina Cherelus            TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/08/opinion
2022-02-09   2022-02-10 /deborah-lipstadt-ron-johnson.html            A Broken Confirmation Process                By Michelle Cottle          TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/08/sports/o
                        lympics/lindsey-jacobellis-us-first-gold-     Snowboarder Puts Famous Fall And the
2022-02-09   2022-02-10 snowboard.html                                Competition Behind Her                       By John Branch              TX 9-154-386     2022-04-04




                                                                                  Page 3352 of 5793
                        https://www.nytimes.com/2022/02/08/us/feral- Plan to Reduce Feral Cattle In New Mexico
2022-02-09   2022-02-10 cattle-gila-national-forest.html             Incites Protest                           By Christine Chung              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/arts/cel
2022-02-09   2022-02-10 ebrity-book-club-podcast.html                Celebrities Dissected But Onstage         By Sophie Haigney               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/arts/des
                        ign/san-francisco-museum-christopher-
2022-02-09   2022-02-10 bedford-baltimore.html                       New Leadership For Art Museum             By Robin Pogrebin               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/arts/mu
                        sic/review-philadelphia-orchestra-carnegie- Beethoven Is Given a Night Off but Thats
2022-02-09   2022-02-10 hall.html                                    Certainly OK                              By Zachary Woolfe               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/books/a Ashley Bryan 98 Who Brought Diversity to
2022-02-09   2022-02-10 shley-bryan-dead.html                        Childrens Books Dies                      By Clay Risen                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/books/r
2022-02-09   2022-02-10 eview-index-history-of-dennis-duncan.html The Medieval Precursor to Search Engines     By Jennifer Szalai              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/busines Jerome Chazen 94 Dies Original Partner in
2022-02-09   2022-02-10 s/jerome-chazen-dead.html                    Liz Claiborne Empire                      By Lauren Hirsch                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/busines Disney Hits 130 Million Subscribers Easing
2022-02-09   2022-02-10 s/media/disney-earnings-bob-chapek.html      Investors Worries About a Slowdown        By Brooks Barnes                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/busines Palin Opens Testimony As ExEditor at Times By Jeremy W Peters and Colin
2022-02-09   2022-02-10 s/media/palin-nyt-libel.html                 Ends 2 Days on Stand                      Moynihan                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/busines Rivian Loses Some Shine Amid Worries Over
2022-02-09   2022-02-10 s/rivian-stock-electric-cars.html            Delays                                    By Peter Eavis                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/busines Why America Doesnt Have Enough Truck        By Peter S Goodman and George
2022-02-09   2022-02-10 s/truck-driver-shortage.html                 Drivers                                   Etheredge                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/health/c The Next Vaccine Debate Immunize Young
2022-02-09   2022-02-10 ovid-kids-vaccines.html                      Children Now or Wait                      By Apoorva Mandavilli           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/movies/
2022-02-09   2022-02-10 best-picture-nominee-oscar.html              Sizing Up the Oscar Nominees              By Kyle Buchanan                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/09/nyregio Bail Laws Prompt Clash Between New York By Dana Rubinstein Grace Ashford
2022-02-09   2022-02-10 n/eric-adams-albany.html                    Mayor and Some on the Left in Albany      and Jeffery C Mays            TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/09/nyregio As Indoor Mask Rules Are Eased in New
2022-02-09   2022-02-10 n/hochul-mask-mandate-ny.html               York Focus Shifts to Schools              By Luis FerrSadurn            TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/09/nyregio A Guide to New Rules In the New York       By Sharon Otterman and Joseph
2022-02-09   2022-02-10 n/ny-mask-mandate-rules.html                Region                                    Goldstein                     TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/09/nyregio Couple Accused of Using New York Foster By Jonah E Bromwich and Andy
2022-02-09   2022-02-10 n/sex-trafficking-foster-care.html          Care System in Sex Trafficking Scheme     Newman                        TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/09/opinion
2022-02-09   2022-02-10 /supreme-court-voting-rights.html           The Supreme Court Has Crossed the Rubicon By Linda Greenhouse           TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/09/science Solar Storm Destroys 40 SpaceX Satellites
2022-02-09   2022-02-10 /spacex-satellites-storm.html               Sun Has Worse Eruptions to Come           By Robin George Andrews       TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/09/sports/o Recipe for an Instant Team Find the Right
2022-02-09   2022-02-10 lympics/hockey-nhl-olympics.html            Mix and Enjoy Over Ice                    By Alan Blinder               TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/09/sports/o After Rough 2018 Games Chen Finds
2022-02-09   2022-02-10 lympics/nathan-chen-skating.html            Perspective Helps Him Win                 By Juliet Macur               TX 9-154-386      2022-04-04



                                                                              Page 3353 of 5793
                        https://www.nytimes.com/2022/02/09/sports/o
                        lympics/snowboarding-halfpipe-              Hurtling Down a Chute as Long as the Space
2022-02-09   2022-02-10 dimensions.html                             Needle                                     By Remy Tumin                      TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/09/sports/r Comforts of Home Allow Rams to Stick to
2022-02-09   2022-02-10 ams-bengals-super-bowl-home-stadium.html Their Routine                                     By Alanis Thames               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/sports/r Diversity Dilemma To Revise or Scrap The
2022-02-09   2022-02-10 ooney-rule-nfl-coaches.html                 Rooney Rule                                    By Ken Belson                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/style/fi
2022-02-09   2022-02-10 ne-china-porcelain-dishware.html            Fine China Creates A Sense of Occasion         By Hilary Reid                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/style/gr Remembering Grace Mirabella and Her
2022-02-09   2022-02-10 ace-mirabella.html                          Magazine                                       By Marisa Meltzer              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/style/m
2022-02-09   2022-02-10 akeup-smoky-eye-smudgy.html                 The Look Is WideEyed and Smudged               By Kristen Bateman             TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/09/style/ni
2022-02-09   2022-02-10 no-cerruti-gave-elegance-a-good-name.html How Nino Cerruti Pulled Off Effortless Style By Guy Trebay                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/technol
                        ogy/personaltech/contacts-apps-apple-
2022-02-09   2022-02-10 google.html                                 How to FineTune Your Phones Contacts List By J D Biersdorfer                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/technol Uber Sees Revenue Bump Despite Omicron
2022-02-09   2022-02-10 ogy/uber-business-pandemic.html             Slowdown                                     By Kate Conger                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/us/polit Defiance of Trump Makes Cheney an Outcast
2022-02-09   2022-02-10 ics/liz-cheney-wyoming-republicans.html     in Her Own State                             By Reid J Epstein                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/us/polit
2022-02-09   2022-02-10 ics/michelle-childs-supreme-court.html      A Court Candidate With No Ivy on Her Rsum By Erica L Green and Rick Rojas     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/us/polit A US Jet Is at the Bottom of the South China
2022-02-09   2022-02-10 ics/navy-fighter-jet-china.html             Sea What Now                                 By John Ismay                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/us/polit Ban on Trading Stocks For Members of
2022-02-09   2022-02-10 ics/pelosi-stock-trading-congress.html      Congress Is Gathering Momentum               By Jonathan Weisman              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/us/polit Jan 6 Inquiry Subpoenas a Trump Adviser
2022-02-09   2022-02-10 ics/peter-navarro-jan6-inquiry.html         Who Worked to Overturn the Election          By Luke Broadwater               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/us/polit Threats Batter Lawmakers in One Ugly Call By Catie Edmondson and Mark
2022-02-09   2022-02-10 ics/politician-death-threats.html           After Another                                Walker                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/world/a South Koreas Garlic Girls Return to the
2022-02-09   2022-02-10 sia/olympics-garlic-girls-curling.html      Spotlight After Overcoming Abuse             By SuiLee Wee and Jin Yu Young   TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/09/world/e Ukraine Crisis Reminds Finns Of Uneasy
2022-02-09   2022-02-10 urope/finlandization-ukraine-russia-nato.html Era                                          By Jason Horowitz              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/world/e
                        urope/germany-jennifer-morgan-                US Activist Picked to Fill Climate Post In
2022-02-09   2022-02-10 greenpeace.html                               Germany                                      By Christopher F Schuetze      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/world/e Death in Paris Casts Light on the Cold
2022-02-09   2022-02-10 urope/rene-robert-death-paris-street.html     Indifference of Bystanders                   By Aurelien Breeden            TX 9-154-386   2022-04-04




                                                                                   Page 3354 of 5793
                        https://www.nytimes.com/2022/02/09/world/e Putin Can Seize Control of Ukraine or Keep
2022-02-09   2022-02-10 urope/russia-ukraine-putin.html              Economic Ties to Europe                     By Steven Erlanger              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/world/e Johnson Fighting for His Job Lays Out Plan to
2022-02-09   2022-02-10 urope/uk-covid-restrictions-johnson.html     End Covid Rules in Britain                  By Stephen Castle               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/world/e The Front Near Home Snapshots From Life In By Brendan Hoffman Tyler Hicks
2022-02-09   2022-02-10 urope/ukraine-photos.html                    Ukraine                                     and Marc Santora                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/world/ ISIS Families And Guards Clash Killing
2022-02-09   2022-02-10 middleeast/syria-camp-violence.html          Child in Syria                              By Jane Arraf                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/08/spo
                        rts/olympics-medals-winter/figure-skating-
2022-02-09   2022-02-10 medal-ceremony-delay                         Skating Medal Presentation Is Delayed       By Juliet Macur                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/08/wo
                        rld/covid-test-vaccine-cases/400-million-    Driven by Omicron Global Coronavirus Cases
2022-02-09   2022-02-10 covid-cases                                  Quickly Surpass 400 Million                 By Maggie Astor                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/health/
2022-02-10   2022-02-10 mask-rules-cdc.html                          Wary White House Caught in Middle           By Sheryl Gay Stolberg          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/opinion
2022-02-10   2022-02-10 /biden-student-loan-debt.html                Lets All Sweat Over Student Loan Debt       By Gail Collins                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/opinion When Did Me We and Us Become the Medias
2022-02-10   2022-02-10 /jeff-zucker-media-vinocur.html              Preferred Pronouns                          By Bret Stephens                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/us/bob- Sagets Death Caused After He Hit His Head
2022-02-10   2022-02-10 saget-cause-of-death-head-trauma.html        Accidentally Family Says                    By Jesus Jimnez                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/us/mas Cheers and Fears Compete as States Relax
2022-02-10   2022-02-10 k-mandates-by-state.html                     Mask Rules                                  By Mitch Smith and Shawn Hubler TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/us/polit
                        ics/national-archives-trump-classified-      Trump Is Said to Have Taken Possible        By Reid J Epstein and Michael S
2022-02-10   2022-02-10 material.html                                Classified Material With Him                Schmidt                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/sports/f The NFL Goes West To Expand Its Empire In
2022-02-10   2022-02-10 ootball/nfl-los-angeles-headquarters.html    the City of Dreams                          By Emmanuel Morgan              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/sports/f City Mixes Optimism and Anxiety In the       By Kurt Streeter and Carlos
2022-02-10   2022-02-10 ootball/where-is-the-super-bowl-2022.html    Shadow of the Super Bowl                    Gonzalez                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/sports/o
                        lympics/mikaela-shiffrin-olympics-           Unshakable for Years a Champion Suddenly
2022-02-10   2022-02-10 disqualification.html                        Struggles to Stay Upright                   By Matthew Futterman            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/style/di Runway Shows Urged to Adopt Inclusion
2022-02-10   2022-02-10 versity-fashion.html                         Riders                                      By Jessica Testa                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/style/hu
2022-02-10   2022-02-10 mberto-leon-chifa-merch.html                 A Place for Hungry Fashion Fans             By Jessica Testa                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/style/se
2022-02-10   2022-02-10 lf-care/covid-pandemic-aging.html            In the Age of Covid Aging Way Too Fast      By Steven Kurutz                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/style/str
2022-02-10   2022-02-10 eetwear-virgil-abloh-balenciaga.html         Streetwear Outlives Its Outsider Status     By Vanessa Friedman             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/style/th
2022-02-10   2022-02-10 e-fine-art-of-staging-a-blockbuster.html     His Art Its Staging a Blockbuster           By Ruth La Ferla                TX 9-154-386   2022-04-04




                                                                               Page 3355 of 5793
                        https://www.nytimes.com/2022/02/10/world/c This Is Not My City Protesters Turn a Quiet
2022-02-10   2022-02-10 anada/ottawa-truckers-protest.html          Capital Upside Down                         By Catherine Porter              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/busines
2022-02-08   2022-02-11 s/car-software-lawsuits.html                Auto Tech Draws Bugs And Suits              By Jack Ewing                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/movies/
                        benedict-cumberbatch-power-of-the-dog-
2022-02-08   2022-02-11 oscar.html                                  Sometimes a Little Confusion Works Well     By Kathryn Shattuck              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/opinion
                        /joe-rogan-health-misinformation-
2022-02-08   2022-02-11 solutions.html                              Online Quackery Goes Far Beyond Rogan       By Julia Belluz and John Lavis   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/busines
2022-02-09   2022-02-11 s/china-corruption-documentary.html         Chinas Accidental Expos                     By Li Yuan                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/movies/ Hollywood Filmmakers Are Becoming More
2022-02-09   2022-02-11 female-directors-of-color.html              Diverse                                     By Nicole Sperling               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/movies/
2022-02-09   2022-02-11 kimi-review.html                            Occasionally Paranoia Is Justified          By Manohla Dargis                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/opinion Book Bans Are About the Illusion of Parental
2022-02-09   2022-02-11 /book-banning-parents.html                  Control                                     By Jessica Grose                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/theater/ Barrow Group Plans 4 Million Performing
2022-02-09   2022-02-11 barrow-group-performing-arts-center.html    Arts Center                                 By Sarah Bahr                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/movies/
2022-02-10   2022-02-11 the-fabulous-filipino-brothers-review.html  The Fabulous Filipino Brothers              By Teo Bugbee                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/sports/o
                        lympics/germany-medal-luge-team-relay-      Seeking Camaraderie at 90 MPH Lie Flat
2022-02-10   2022-02-11 event.html                                  Then Sit Up                                 By Victor Mather                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/sports/o
                        lympics/nathan-chen-wins-gold-figure-       Five Breathtaking Leaps and the Smile
2022-02-10   2022-02-11 skating.html                                Clinches It                                 By Juliet Macur                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/sports/o
                        lympics/russia-team-figure-skating-legal-   Legal Issue Holding Up Award Event For
2022-02-10   2022-02-11 issue.html                                  Skaters                                     By Andrew Keh and Juliet Macur   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/sports/o
2022-02-10   2022-02-11 lympics/us-hockey-win-china.html            Young US Team Beats China in 80 Blowout By Alan Blinder                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/arts/dan
2022-02-10   2022-02-11 ce/dance-on-camera-festival-at-50.html      Dancing That Transports Us                  By Brian Seibert                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/arts/des
                        ign/charles-ray-figure-ground-met-
2022-02-10   2022-02-11 museum.html                                 Amid the Open Space Sculptures That Amaze By Roberta Smith                   TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/10/arts/des
2022-02-10   2022-02-11 ign/holbein-morgan-portraits-renaissance.html Londoners in the Age of Henry VIII           By Jason Farago               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/arts/des
2022-02-10   2022-02-11 ign/jennie-c-jones-guggenheim.html            An Artist Asserts Her Right to Abstraction   By Siddhartha Mitter          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/arts/mu
2022-02-10   2022-02-11 sic/super-bowl-halftime-hip-hop.html          Inching Their Way Into the Super Bowl        By Rob Tannenbaum             TX 9-154-386   2022-04-04



                                                                                   Page 3356 of 5793
                        https://www.nytimes.com/2022/02/10/arts/tele
                        vision/bel-air-whitney-houston-national-
2022-02-10   2022-02-11 anthem.html                                  This Weekend I Have                         By Margaret Lyons               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/arts/tele
2022-02-10   2022-02-11 vision/inventing-anna-review-netflix.html    A Thrill Ride Turns Into a Chrysler         By Mike Hale                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/arts/tele Star of Cheer Pleads Guilty In Sex Crimes
2022-02-10   2022-02-11 vision/jerry-harris-pleads-guilty.html       With Minors                                 By Julia Jacobs                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/arts/tele
2022-02-10   2022-02-11 vision/the-girl-before.html                  Seeking Sanctuary They Found Danger         By Roslyn Sulcas                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/books/u
2022-02-10   2022-02-11 lysses-james-joyce-illustrated.html          An Illustrated Love For Joyces Ulysses      By Raphael Minder               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/briefing
2022-02-10   2022-02-11 /mitch-mcconnell-republican-party.html       Dissecting McConnells Rebuke Of RNC         By David Leonhardt              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/busines Apple Will Update AirTags After Stalking
2022-02-10   2022-02-11 s/apple-airtags-safety.html                  Complaints                                  By Kellen Browning              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/busines
                        s/economy/canada-protests-cars-              Truckers Rage in Canada Shakes Auto
2022-02-10   2022-02-11 automobiles.html                             Industry                                    By Jack Ewing and Ana Swanson   TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/10/busines Rapid Inflation Widens Its Grip As Fears      By Jeanna Smialek and Madeleine
2022-02-10   2022-02-11 s/economy/inflation-cpi-january-2022.html  Simmer                                        Ngo                             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/busines US Outlines Plan to Build EV Chargers By
2022-02-10   2022-02-11 s/electric-vehicle-chargers-biden.html     Highways                                      By Jack Ewing                   TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/10/busines Times Can Publish Project Veritas Memos
2022-02-10   2022-02-11 s/media/project-veritas-new-york-times.html Court Says                                    By Michael M Grynbaum          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/busines
2022-02-10   2022-02-11 s/media/sarah-palin-nyt-libel-case.html     At Trial Palin Derides Times as Goliath       By Jeremy W Peters             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/busines
                        s/softbank-masayoshi-son-marcelo-           SoftBanks Troubles Mount As Big Bets Fail
2022-02-10   2022-02-11 claure.html                                 to Pay Off                                    By Maureen Farrell             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/busines Starbucks Workers in New York City Area
2022-02-10   2022-02-11 s/starbucks-union-new-york-city.html        Join Push for a Union                         By Christine Chung             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/busines
2022-02-10   2022-02-11 s/street-racing-drag-racing.html            Handing Down a Street Racing Obsession        By Paul Stenquist              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/climate RoadHappy Colorado Turns a Skeptical Eye
2022-02-10   2022-02-11 /highways-climate-change-traffic.html       on More Asphalt                               By Brad Plumer                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/climate
2022-02-10   2022-02-11 /wolves-endangered-species-list.html        Gray Wolves Will Regain Federal Protection By Catrin Einhorn                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/health/ Sagets Death Calls Attention to Risks of Brain
2022-02-10   2022-02-11 bob-saget-brain-injury.html                 Injuries                                      By Benjamin Mueller            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/health/c Proposed Opioid Guidelines By CDC Walk a
2022-02-10   2022-02-11 dc-opioid-pain-guidelines.html              Fine Line                                     By Jan Hoffman                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/health/f
2022-02-10   2022-02-11 da-cancer-drug-china.html                   Lilly Drug For Cancer Rejected By FDA         By Gina Kolata                 TX 9-154-386   2022-04-04



                                                                                 Page 3357 of 5793
                        https://www.nytimes.com/2022/02/10/health/
2022-02-10   2022-02-11 patricia-moreno-dead.html                      Patricia Moreno 57 Popular Workout Guru       By Annabelle Williams       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/movies/
2022-02-10   2022-02-11 blacklight-review.html                         Blacklight                                    By Amy Nicholson            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/movies/
2022-02-10   2022-02-11 catch-the-fair-one-review.html                 On a Rescue and Revenge Mission               By AO Scott                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/movies/
2022-02-10   2022-02-11 death-on-the-nile-review.html                  Death on the Nile                             By Nicolas Rapold           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/movies/
2022-02-10   2022-02-11 i-want-you-back-review.html                    I Want You Back                               By Beatrice Loayza          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/movies/
2022-02-10   2022-02-11 marry-me-review.html                           Saying I Do Was on Her ToDo List              By Wesley Morris            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/movies/
2022-02-10   2022-02-11 minamata-review.html                           Minamata                                      By Concepcin de Len         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/movies/
2022-02-10   2022-02-11 playground-review.html                         Reading Writing Some Fighting                 By Manohla Dargis           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/movies/
2022-02-10   2022-02-11 romance-catherine-breillat-ifc.html            What You Really Really Want                   By J Hoberman               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/movies/
2022-02-10   2022-02-11 the-pact-review.html                           The Pact                                      By Lisa Kennedy             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/movies/
2022-02-10   2022-02-11 the-sky-is-everywhere-review.html              The Sky Is Everywhere                         By Natalia Winkelman        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/movies/
2022-02-10   2022-02-11 the-unmaking-of-a-college-review.html          The Unmaking Of a College                     By Ben Kenigsberg           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/movies/
                        worst-to-first-the-true-story-of-z100-new-york Worst to First The True Story Of Z100 New
2022-02-10   2022-02-11 review.html                                    York                                          By Glenn Kenny              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/nyregio
2022-02-10   2022-02-11 n/bruce-blakeman-republican-masks.html         Politician Rides a Mask Rebellion Into Office By Jesse McKinley           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/nyregio In a First Fordham University Will be Led by
2022-02-10   2022-02-11 n/fordham-tania-tetlow.html                    a Woman Not a Catholic Priest                 By Liam Stack               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/nyregio Two Men Are Sentenced for Helping Lure
2022-02-10   2022-02-11 n/sex-trafficking-queens-mexico.html           Teenage Girls Into a SexTrafficking Ring      By Rebecca Davis OBrien     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/nyregio For 3000 Public Workers In New York One
2022-02-10   2022-02-11 n/vaccine-mandate-nyc-workers.html             Day Left To Get Vaccine or Be Fired           By Emma G Fitzsimmons       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/obituari John Wesley an Artist Who Couldnt Be
2022-02-10   2022-02-11 es/john-wesley-dead.html                       Pinned Down Dies at 93                        By Randy Kennedy            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/opinion                                                   By Trita Parsi and Adam N
2022-02-10   2022-02-11 /biden-iraq-military.html                      US Forces Should Exit Iraq                    Weinstein                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/science Four NASA Satellites Launched by StartUp
2022-02-10   2022-02-11 /astra-nasa-launch.html                        Go Missing in Space                           By Joey Roulette            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/science Luc Montagnier 89 Nobel Winner Who
2022-02-10   2022-02-11 /luc-montagnier-dead.html                      CoDiscovered HIV Is Dead                      By Randi Hutter Epstein     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/sports/b Jeremy Giambi ExMajor Leaguer Found Dead
2022-02-10   2022-02-11 aseball/jeremy-giambi-dead.html                in California at Age 47                       By Derrick Bryson Taylor    TX 9-154-386   2022-04-04



                                                                                  Page 3358 of 5793
                        https://www.nytimes.com/2022/02/10/sports/b Commissioner Says Losing Games To a
2022-02-10   2022-02-11 aseball/mlb-lockout-spring-training.html    Lockout Would Be Disastrous              By James Wagner                  TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/10/sports/b
                        asketball/james-harden-trade-ben-simmons- The FreeFalling Nets Trade Harden a Former
2022-02-10   2022-02-11 sixers.html                                 MVP to the 76ers                         By Sopan Deb and Tania Ganguli   TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/10/sports/f Bengals CantMiss Kid Says Its All in the
2022-02-10   2022-02-11 ootball/bengals-kicker-evan-mcpherson.html Mind                                        By Alanis Thames                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/sports/n Why the NFL Finally Huddled Up With
2022-02-10   2022-02-11 fl-bets-gambling.html                       Sports Gambling                            By David W Chen                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/sports/o Britains Skeleton Team Resets With
2022-02-10   2022-02-11 lympics/britain-skeleton.html               Confidence                                 By Jonathan Abrams              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/sports/o
                        lympics/jordan-stolz-united-states-         Faith and Long Femurs A Recipe for Blazing
2022-02-10   2022-02-11 speedskating.html                           Speed on the Ice                           By Kevin Draper                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/technol
                        ogy/tesla-racial-discrimination-california- Lawsuit Says Tesla Allowed Racial Bias in
2022-02-10   2022-02-11 suit.html                                   Factory                                    By Niraj Chokshi                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/technol Twitter Reports Tepid Growth A Warning Of
2022-02-10   2022-02-11 ogy/twitter-earnings-4q-2021.html           Challenges                                 By Kate Conger                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/theater/
                        on-sugarland-whitney-white-aleshea-
2022-02-10   2022-02-11 harris.html                                 At a Frequency of Their Own                By Soyica Diggs Colbert         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/us/polit
                        ics/abu-ibrahim-al-hashimi-al-qurayshi-     Drone Saw 1Legged Man Vital Clue for Raid
2022-02-10   2022-02-11 isis.html                                   in Syria                                   By Eric Schmitt and Ben Hubbard TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/us/polit Vacancies in Top Health and Science Jobs
2022-02-10   2022-02-11 ics/biden-health-science-agenda.html        Could Hamstring Bidens Agenda              By Sheryl Gay Stolberg          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/us/polit Biden Predicts GOP Support for Supreme
2022-02-10   2022-02-11 ics/biden-supreme-court.html                Court Nominee                              By Katie Rogers                 TX 9-154-386   2022-04-04
                                                                                                               By Luke Broadwater Jonathan
                        https://www.nytimes.com/2022/02/10/us/polit Trump Call Logs From Jan 6 Have Gaps       Martin Maggie Haberman and
2022-02-10   2022-02-11 ics/jan-6-trump-calls.html                  Panel Finds                                Michael S Schmidt               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/us/polit
                        ics/senate-bill-forced-arbitration-sexual-
2022-02-10   2022-02-11 harassment-assault.html                     Bill Bans Forced Arbitration in Sex Abuse  By Annie Karni                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/us/polit                                            By Reid J Epstein and Shane
2022-02-10   2022-02-11 ics/trump-election-lies-republicans.html    Rift in GOP Foreshadows Primary Fight      Goldmacher                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/us/scho Facing Another Round of School Mask
2022-02-10   2022-02-11 ol-mask-mandates.html                       Battles in the Liberal Suburbs             By Dana Goldstein               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/world/a Modis Focus on Religion Is Tested as States
2022-02-10   2022-02-11 sia/india-election-modi-uttar-pradesh.html  Vote                                       By Hari Kumar and Emily Schmall TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/world/a Contactless Relief Has Its Advantages But
2022-02-10   2022-02-11 sia/tonga-aid-tsunami-volcano.html          Results Have Been Mixed in Tonga           By Mike Ives                    TX 9-154-386   2022-04-04




                                                                              Page 3359 of 5793
                        https://www.nytimes.com/2022/02/10/world/e UK Urges Its Farmers To Get Along With
2022-02-10   2022-02-11 urope/farmers-countryside-code-england.html Hikers                                        By Aina J Khan               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/world/e France Announces a Vast Expansion of
2022-02-10   2022-02-11 urope/france-macron-nuclear-power.html        Nuclear Power                               By Liz Alderman              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/world/e
                        urope/italy-finnegan-elder-gabriel-natale-    Two Americans Convicted Of Killing in Italy
2022-02-10   2022-02-11 hjorth-appeal.html                            Appeal                                      By Elisabetta Povoledo       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/world/e
                        urope/latvia-remibursement-jewish-            Latvia to Reimburse Jewish Community Over
2022-02-10   2022-02-11 holocaust.html                                Holocaust                                   By Emma Bubola               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/world/e
                        urope/london-police-cressida-dick-resigns-
2022-02-10   2022-02-11 racism.html                                   London Police Commissioner Resigns          By Michael Levenson          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/world/e Trade Barriers Nudge Northern Ireland Away
2022-02-10   2022-02-11 urope/northern-ireland-brexit.html            From the UK                                 By Mark Landler              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/world/e Positive Test For Charles Near Queen This
2022-02-10   2022-02-11 urope/prince-charles-positive-covid.html      Week                                        By Mark Landler              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/world/e
                        urope/russia-ukraine-military-                With Buildup on Land and Sea Russia Closes
2022-02-10   2022-02-11 deployment.html                               Noose on Ukraine                            By Anton Troianovski         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/world/e
                        urope/ukraine-nationalism-russia-             Militia Units Pose Threat But Not Just for
2022-02-10   2022-02-11 invasion.html                                 Russians                                    By Andrew E Kramer           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/world/
                        middleeast/libya-tripoli-parliament-          Libya Suffers Fresh Setback After Premier   By Vivian Yee and Mohammed
2022-02-10   2022-02-11 election.html                                 Rejects a New Government                    Abdusamee                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/article/canada-       Focus of Discontent Widens To a Long List
2022-02-10   2022-02-11 trucker-protests.html                         of Grievances                               By Jason Horowitz            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/10/bus
                        iness/inflation-stocks-economy-news/the-10-
                        year-treasury-note-hits-2-for-the-first-time-
2022-02-10   2022-02-11 since-july-2019                               On Price Data TenYear Note Tops 2 Yield     By Talmon Joseph Smith       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/movies/
2022-02-11   2022-02-11 tall-girl-2-review.html                       Tall Girl 2                                 By Amy Nicholson             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/opinion
2022-02-11   2022-02-11 /beatles-destined-fame.html                   What the Beatles Tell Us About Fame         By David Brooks              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/opinion
2022-02-11   2022-02-11 /biden-health-care-triumph.html               Bidens Hidden Health Care Triumph           By Paul Krugman              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/us/bide Biden Warns US Wont Send Troops to
2022-02-11   2022-02-11 n-ukraine.html                                Rescue Americans if a Conflict Breaks Out   By Aishvarya Kavi            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/us/polit Letter Reveals CIA Collects Data That
2022-02-11   2022-02-11 ics/cia-data-privacy.html                     Invades Americans Privacy                   By Charlie Savage            TX 9-154-386   2022-04-04




                                                                               Page 3360 of 5793
                        https://www.nytimes.com/2022/02/10/us/polit
                        ics/hassan-abdullah-al-sharbi-guantanamo-
2022-02-11   2022-02-11 bay.html                                    Guantnamo To Transfer Saudi Inmate         By Carol Rosenberg               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/us/polit
                        ics/trump-national-archives-documents-      Outraged Over Clintons Records Republicans
2022-02-11   2022-02-11 republicans.html                            Say Little About Trumps                    By Lisa Lerer and Katie Rogers   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/insider/
                        tracing-the-troubled-path-of-a-man-accused-
2022-02-11   2022-02-11 of-murder.html                              A Troubled Path a Broken System            By Andy Newman                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/movies/
2022-02-11   2022-02-11 big-bug-review.html                         Bigbug                                     By Jeannette Catsoulis           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/movies/
2022-02-11   2022-02-11 the-in-between-review.html                  The In Between                             By Lena Wilson                   TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/11/sports/o
2022-02-11   2022-02-11 lympics/biathlon-army-national-guard.html Serving the Country as Athlete and Soldier     By Bill Pennington             TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/11/sports/o Sleek Speedy Sleds With Black Women And
2022-02-11   2022-02-11 lympics/us-bobsled-team-black-athletes.html a Lot of Medals                                By Jonathan Abrams           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/us/polit
                        ics/taliban-afghanistan-911-families-frozen- Biden Will Split Afghan Funds Between 911
2022-02-11   2022-02-11 funds.html                                   Families and Relief Effort                    By Charlie Savage            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/24/travel/ Wild Welsh Mountain Ponies Are Dwindling
2022-01-24   2022-02-12 welsh-mountain-ponies.html                   Can Hiking Save Them                          By Claire Thomas             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/arts/des
2022-02-04   2022-02-12 ign/the-winter-show-sets-april-dates.html    April Dates for the Winter Show               By Zachary Small             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/technol
2022-02-08   2022-02-12 ogy/china-us-tech-policy.html                Picking and Choosing the China Threat         By Shira Ovide               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/arts/des
2022-02-09   2022-02-12 ign/met-galleries-renovations.html           Met Museum Plans Renovation                   By Zachary Small             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/movies/ Irwin Young 94 Who Believed In And
2022-02-09   2022-02-12 irwin-young-dead.html                        Supported Young Filmmakers                    By Richard Sandomir          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/opinion
                        /when-do-masks-come-off-the-hard-truth-      The Hard Truth About Lifting Covid
2022-02-09   2022-02-12 about-lifting-covid-restrictions.html        Restrictions                                  By Jay K Varma               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/arts/mu Betty Davis Singer Songwriter and Raw Funk
2022-02-10   2022-02-12 sic/betty-davis-dead.html                    Innovator Is Dead at 77                       By Jon Pareles               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/arts/mu
                        sic/priscilla-block-welcome-to-the-block-
2022-02-10   2022-02-12 party.html                                   Priscilla Block Is Balancing Sassy and Sultry By Jon Caramanica            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/arts/mu
2022-02-10   2022-02-12 sic/sting-sells-catalog-universal.html       Sting Sets Songs Free In 300 Million Deal     By Ben Sisario               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/busines Gene Sequencing Pioneer Battles Over What
2022-02-10   2022-02-12 s/illumina-gene-sequencing-ftc.html          It Can Buy                                    By Steve Lohr                TX 9-154-386   2022-04-04




                                                                                 Page 3361 of 5793
                        https://www.nytimes.com/2022/02/10/busines
2022-02-10   2022-02-12 s/kohls-sale-board-bidders.html             Kohls Facing New Pressure To Sell Itself        By Lauren Hirsch              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/busines Gloria Rojas 82 Trailblazing Latina TV
2022-02-10   2022-02-12 s/media/gloria-rojas-dead.html              Journalist                                      By Sam Roberts                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/sports/f Burrow Still Laments Losing the Big One
2022-02-10   2022-02-12 ootball/bengals-joe-burrow-ohio.html        Back in High School                             By Billy Witz                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/sports/o 9th in SuperG Shiffrin Is Just Glad to Finish
2022-02-10   2022-02-12 lympics/mikaela-shiffrin-super-g.html       on Her Feet                                     By Matthew Futterman          TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/10/sports/o Swede Has Plenty of Gripes About
2022-02-10   2022-02-12 lympics/nils-van-der-poel-speedskating.html Speedskating Also Two Gold Medals            By Kevin Draper                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/us/puer Teachers in Puerto Rico Walk Off Job to       By Edmy Ayala and Patricia
2022-02-10   2022-02-12 to-rico-teachers-protests.html              Protest Low Pay                              Mazzei                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/world/e MarieClaire Chevalier 66 Whose Case Paved By Katharine Q Seelye and
2022-02-10   2022-02-12 urope/marie-claire-chevalier-dead.html      Way for Abortion Law Dies                    Constant Mheut                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/opinion
2022-02-11   2022-02-12 /harvard-john-comaroff.html                 Why Scholars Leaped to Back A Colleague By Michelle Goldberg                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/sports/f
                        ootball/aaron-rodgers-mvp-nfl-hall-of-      Rodgers Wins 4th MVP Trailing Only
2022-02-11   2022-02-12 fame.html                                   Manning                                      By Ben Shpigel                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/sports/o Downfall of a Star Skater Puts Gold Medal in
2022-02-11   2022-02-12 lympics/kamila-valieva-trimetazidine.html   Doubt                                        By Juliet Macur and Andrew Keh   TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/10/sports/o
2022-02-11   2022-02-12 lympics/shaun-white-olympics-halfpipe.html Daring Iconic Done                               By John Branch                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/theater/ Harper Lee Estate Told to Pay 25 Million in
2022-02-11   2022-02-12 harper-lee-to-kill-a-mockingbird.html       Dispute                                         By Alexandra Alter            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/theater/
2022-02-11   2022-02-12 the-music-man-review.html                   Neat and Perky With Little Peril                By Jesse Green                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/arts/am
2022-02-11   2022-02-12 azon-tiktok-box-delivery.html               Its a Package Performance                       By Amanda Hess                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/11/arts/dan
2022-02-11   2022-02-12 ce/four-quartets-pam-tanowitz-review.html   Take a Poem Then Mix It With Movement           By Brian Seibert              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/arts/des
2022-02-11   2022-02-12 ign/stolen-buddha-statue-india.html         A Stolen Relic Heads Home                       By Zachary Small              TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/11/arts/mu
2022-02-11   2022-02-12 sic/kanye-west-documentary-jeen-yuhs.html Behind the Lens Of Jeenyuhs                By Joe Coscarelli                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/arts/mu ShapeShifting Opera Talent With a New
2022-02-11   2022-02-12 sic/marlis-petersen-soprano.html            Debut to Match                           By Joshua Barone                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/briefing In Covid Dilemmas No Simple Answers From
2022-02-11   2022-02-12 /covid-cdc-follow-the-science.html          Science                                  By David Leonhardt                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/busines Digital Industry Gets Ready For Sundays
2022-02-11   2022-02-12 s/media/super-bowl-commercials.html         Crypto Bowl                              By Tiffany Hsu                       TX 9-154-386   2022-04-04



                                                                                  Page 3362 of 5793
                        https://www.nytimes.com/2022/02/11/canada- Ontario Premier Tells Protesters To Leave or
2022-02-11   2022-02-12 protests-police-response.html               Face Jail and Fines                         By Ian Austen                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/health/
2022-02-11   2022-02-12 bob-saget-autopsy-skull-fractures.html      Saget Autopsy Finds Fractures In His Skull By Benjamin Mueller                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/movies/
2022-02-11   2022-02-12 jean-pierre-jeunet-bigbug-amelie.html       Directors Cuts From Amlie to Bigbug         By Carlos Aguilar                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/opinion
2022-02-11   2022-02-12 /russia-ukraine-biden-military-nato.html    On Russia Biden Is the Problem              By Kori Schake                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/opinion
                        /words-jews-antisemitism-whoopi-goldberg-
2022-02-11   2022-02-12 apology.html                                In Judaism Our Words Matter                 By Lauren Holtzblatt               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/science Musk Boosts His Plans for Mars but Many
2022-02-11   2022-02-12 /elon-musk-starship-rocket.html             Hurdles Remain                              By Kenneth Chang                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/sports/b Trade Deadline Comes and Goes and the
2022-02-11   2022-02-12 asketball/lakers-trade-deadline.html        Lakers Just Stay Put                        By Scott Cacciola                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/sports/b A 16Game Superteam The Nets Golden Era Is
2022-02-11   2022-02-12 asketball/nets-harden-trade-sixers.html     Over Before It Begins                       By Sopan Deb                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/sports/f The Secret to Kupps Success In Four
2022-02-11   2022-02-12 ootball/cooper-kupp-rams-receiver.html      HardtoDefend Steps                          By Emmanuel Morgan                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/sports/h
                        orse-racing/medina-spirit-kentucky-derby-   Necropsy Is Inconclusive In Death of Medina
2022-02-11   2022-02-12 necropsy.html                               Spirit                                      By Joe Drape                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/sports/o Team Sport Transformed With a Push From
2022-02-11   2022-02-12 lympics-speedskating-team-pursuit.html      Behind                                      By Kevin Draper                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/sports/o
2022-02-11   2022-02-12 lympics/ayumu-hirano-channel-japan.html     Japan Holds Its Breath TVs Go Blank         By Makiko Inoue                    TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/11/sports/o Doping Scandal Casts a Shadow Over the
2022-02-11   2022-02-12 lympics/skating-russia-doping-valieva.html Games                                          By Tariq Panja                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/sports/o
                        lympics/trimetazidine-doping-kamila-        Treatment for the Heart But Benefits Arent    By Jer Longman Gina Kolata and
2022-02-11   2022-02-12 valieva.html                                Clear                                         Remy Tumin                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/sports/o
                        lympics/womens-hockey-us-czech-
2022-02-11   2022-02-12 republic.html                               US Breaks Through To Defeat Czechs 41         By Alan Blinder                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/us/covi This Arizona County Said No To 19 Million
2022-02-11   2022-02-12 d-relief-funds.html                         in Covid Relief                               By Jack Healy                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/us/mia Steakhouse Skirmish Dominates Chatter in
2022-02-11   2022-02-12 mi-restaurant-gimenez-arrested.html         Miami Political Circles                       By Patricia Mazzei               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/us/polit On Capitol Hill an Effort to Unionize House   By Emily Cochrane Aishvarya Kavi
2022-02-11   2022-02-12 ics/congress-aides-unionize-house.html      Aides Is Gaining Support                      and Zach Montague                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/us/polit FDA Clears a Covid Drug Found to              By Sheryl Gay Stolberg and
2022-02-11   2022-02-12 ics/eli-lilly-antibody-treatment-covid.html Neutralize Omicron                            Rebecca Robbins                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/us/polit US Has Eyes on Crisis But Not an
2022-02-11   2022-02-12 ics/ukraine-ambassador-biden.html           Ambassador                                    By Michael Crowley               TX 9-154-386   2022-04-04



                                                                                 Page 3363 of 5793
                        https://www.nytimes.com/2022/02/11/world/a
2022-02-11   2022-02-12 mericas/canada-trudeau-trucker-protests.html Trudeaus Strategy To Wait Protests Out       By Max Fisher                      TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/11/world/a Talibans Release of UN Workers in
2022-02-11   2022-02-12 sia/afghanistan-taliban-united-nations.html Afghanistan Renews Focus on Rights Record By Carlotta Gall                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/world/a US Signals Asia Holds Top Priority Amid
2022-02-11   2022-02-12 sia/blinken-quad-australia.html             Crisis                                    By Edward Wong                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/world/a Citing Drought and Habitat Loss Australia
2022-02-11   2022-02-12 ustralia/koala-endangered-species.html      Declares Koalas Endangered                By Manan Luthra                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/world/c Blockades at Border Leave Auto Industry
2022-02-11   2022-02-12 anada/canada-protests-autos.html            Scrambling                                By Ana Swanson and Jack Ewing          TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/11/world/e Brazen Abduction Exposes Putins Problems
2022-02-11   2022-02-12 urope/chechnya-abduction-putin-russia.html at Home                                          By Valerie Hopkins               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/world/e Switzerland Set for Vote On a Ban of
2022-02-11   2022-02-12 urope/switzerland-tobacco-ads-vote.html     Tobacco Ads                                     By Noele Illien                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/world/e Russia May Start Ukraine Invasion In Days By Katie Rogers and Andrew E
2022-02-11   2022-02-12 urope/ukraine-russia-diplomacy.html         US Says                                         Kramer                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/world/
                        middleeast/damiana-nassar-feathers-         Worker Mother Star Egyptian Actress Pulls
2022-02-11   2022-02-12 egypt.html                                  From Everyday Life                              By Vivian Yee                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/your-
2022-02-11   2022-02-12 money/savings-rates-interest.html           Dont Expect an Instant Lift for Savings         By Ann Carrns                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/article/russian-    Team Barred From Sports Athletes Still at the
2022-02-11   2022-02-12 doping-olympics-ban.html                    Games                                           By Andrew Keh                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/10/spo
                        rts/olympics-medals-winter/mens-skeleton- Newcomer to the Sled China Takes First
2022-02-11   2022-02-12 yan-wengang                                 Medal                                           By Jonathan Abrams               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/11/bus
                        iness/stock-market-economy-news/sarah-palin
2022-02-11   2022-02-12 new-york-times                               Palin Libel Suit Against Times Is Sent to Jury By Jeremy W Peters               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/us/bide The President a Veteran Of Supreme Court
2022-02-12   2022-02-12 n-supreme-court-pick.html                   Fights Ponders His Historic Pick                By Carl Hulse and Katie Rogers   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/us/polit                                                 By Sharon LaFraniere and Noah
2022-02-12   2022-02-12 ics/fda-children-pfizer-vaccine.html        FDA Delays Shots for Those Under Age of 5 Weiland                                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/us/polit In Visit to Newark Harris Highlights Progress
2022-02-12   2022-02-12 ics/kamala-harris-lead-pipes-newark.html    in Removing Lead Pipes                          By Zolan KannoYoungs             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/us/rick- Billionaire Joins Crowded Field In Race for
2022-02-12   2022-02-12 caruso-los-angeles-mayor.html               Mayor Of Los Angeles                            By Jill Cowan                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/us/trum Torn Papers Personal Cellphones and the
2022-02-12   2022-02-12 p-documents-criminal-law.html               Presidential Records Act                        By Luke Broadwater               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/12/busines                                                By Eduardo Porter and Stacy
2022-02-12   2022-02-12 s/economy/small-town-living-standard.html Far From Big City New Economic Life             Kranitz                            TX 9-154-386   2022-04-04



                                                                                  Page 3364 of 5793
                        https://www.nytimes.com/2022/02/12/busines Kroger Boomed in Pandemic But Its Workers By Sapna Maheshwari and Michael
2022-02-12   2022-02-12 s/kroger-grocery-stores-workers-pay.html    Are Struggling                            Corkery                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/nyregio Will More Bus Lanes Solve Traffic Problems By Winnie Hu and Anna
2022-02-12   2022-02-12 n/nyc-bus-lanes.html                        For New York City                         Schaverien                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/sports/o Struggles of a Hockey Squad Highlight A   By Alan Blinder and Steven Lee
2022-02-12   2022-02-12 lympics/china-hockey-team-sports.html       Powerhouses Weak Spot Team Sports         Myers                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/04/books/r
2022-01-04   2022-02-13 eview/phenotypes-paulo-scott.html           Color Theory                              By Omari Weekes                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/18/books/r
                        eview/the-rise-of-english-rosemary-
2022-01-18   2022-02-13 salomone.html                               Divided by a Common Language              By Amy Chua                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/19/books/r
                        eview/transcendentalists-and-their-world-
2022-01-19   2022-02-13 robert-gross-emerson-thoreau.html           Townies                                   By John Williams               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/21/books/r
                        eview/lost-in-the-valley-of-death-harley-
2022-01-21   2022-02-13 rustad.html                                 At Their Own Peril                        By Michael Paterniti           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/24/books/r
2022-01-24   2022-02-13 eview/a-previous-life-edmund-white.html     Dirty Laundry                             By Marshall Heyman             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/25/books/r
                        eview/blank-pages-bernard-maclaverty-shit-
                        cassandra-saw-gwen-e-kirby-thank-you-mr-
                        nixon-gish-jen-manywhere-morgan-
2022-01-25   2022-02-13 thomas.html                                 Story Collections                         By Claire Oshetsky             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/25/books/r
2022-01-25   2022-02-13 eview/sean-thor-conroe-fuccboi.html         Everyday Im Hustling                      By Jonah E Bromwich            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/28/books/r
2022-01-28   2022-02-13 eview/shackelton-ranulph-fiennes.html       At Their Own Peril                        By Lloyd Spencer Davis         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/29/books/r
                        eview/fuminori-nakamura-my-
2022-01-29   2022-02-13 annihilation.html                           Thrill Ride                               By Jennifer Reese              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/31/books/r
2022-01-31   2022-02-13 eview/violeta-isabel-allende.html           100 Years of Attitude                     By Gabriela Garcia             TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/01/books/r
2022-02-01   2022-02-13 eview/jessica-au-cold-enough-for-snow.html Lost in Translation                         By Tobias Grey               TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/01/books/r
2022-02-01   2022-02-13 eview/other-peoples-clothes-calla-henkel.html Fine Art                                 By Ivy Pochoda               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/01/books/r
2022-02-01   2022-02-13 eview/vladimir-julia-may-jonas.html           Endangered Liaisons                      By Jean Hanff Korelitz       TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/01/movies/ Taking on a Sparkly Role That Seems a Lot
2022-02-01   2022-02-13 jennifer-lopez-marry-me.html                  Like Life                                By Nicole Sperling           TX 9-154-386    2022-04-04




                                                                                Page 3365 of 5793
                        https://www.nytimes.com/2022/02/03/books/r Valerie Bertinellis BestSelling Memoir Pairs
2022-02-03   2022-02-13 eview/enough-already-valerie-bertinelli.html Well With Crab Dip                         By Elisabeth Egan            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/04/magazi
2022-02-04   2022-02-13 ne/michael-flynn-2020-election.html          The Mystery of Michael Flynn               By Robert Draper             TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/04/movies/
2022-02-04   2022-02-13 chad-filmmaker-mahamat-saleh-haroun.html A Wrenching Story for the World to See         By Carlos Aguilar            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/05/style/lo The Mile High Club Complete With
2022-02-05   2022-02-13 ve-cloud-las-vegas-mile-high-club.html       Membership Cards                           By Shane ONeill              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/opinion
2022-02-07   2022-02-13 /legalized-gambling-addiction.html           The Legalized Gambling FreeforAll          By Jay Caspian Kang          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/opinion                                              By Bill McKibben and Akaya
2022-02-07   2022-02-13 /older-americans-power.html                  Boomers Should Fight for Change            Windwood                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/realesta
2022-02-07   2022-02-13 te/cake-stands-shopping.html                 Putting Your Sweets On a Pretty Pedestal   By Tim McKeough              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/style/co Be Confident Women Are Told Two
2022-02-07   2022-02-13 nfidence-culture-book.html                   Challenge That                             By Valeriya Safronova        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/interactive/2022/02/
                        07/magazine/christopher-walken-              Christopher Walken Shares the Secrets of
2022-02-07   2022-02-13 interview.html                               Acting Like Christopher Walken             By David Marchese            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/arts/des
                        ign/cameron-shaw-california-african-
2022-02-08   2022-02-13 american-museum.html                         A Black Institutions Bold Visionary        By Jori Finkel               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/arts/mu
2022-02-08   2022-02-13 sic/john-williams-hollywood-film.html        A Maestro Looks Beyond the Movies          By Javier C Hernndez         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/arts/mu
2022-02-08   2022-02-13 sic/john-williams-playlist.html              John Williams Can Do More Than Score       By Joshua Barone             TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/08/arts/tele
2022-02-08   2022-02-13 vision/nick-offerman-donkey-thoughts.html Nick Offerman Is Drawn to Nature              By Alexis Soloski            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/books/r
2022-02-08   2022-02-13 eview/white-lies-aj-baime.html               Taking Sides                               By Walter Johnson            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/magazi
2022-02-08   2022-02-13 ne/cheetos-crunchy-flamin-hots.html          Cheetos Crunchy Flamin Hots                By Summer Kim Lee            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/magazi The Majesty Legacy and Complicated Power
2022-02-08   2022-02-13 ne/crying.html                               of a Good Sob For Crying Out Loud          By Wesley Morris             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/magazi My Housecleaner Is Sick a Lot Do I Have to
2022-02-08   2022-02-13 ne/house-cleaning-cleaner.html               Stick With Her                             By Kwame Anthony Appiah      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/magazi
2022-02-08   2022-02-13 ne/smiling.html                              How to Smile Dominantly                    By Malia Wollan              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/opinion Should Parents of School Shooters Be
2022-02-08   2022-02-13 /michigan-school-shooting-parents.html       Charged                                    By Joyce Vance               TX 9-154-386   2022-04-04




                                                                                 Page 3366 of 5793
                        https://www.nytimes.com/2022/02/08/realesta
                        te/for-a-modern-brady-bunch-a-modernist-
2022-02-08   2022-02-13 family-home-in-seattle.html                  A Modernist Home for a Modern Bunch      By Tim McKeough                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/realesta
                        te/ny-wisconsin-pennsylvania-home-          270000 Homes in Pennsylvania New York
2022-02-08   2022-02-13 prices.html                                 and Wisconsin                             By Angela Serratore              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/arts/mu Hans Neuenfels Opera Director and Writer
2022-02-09   2022-02-13 sic/hans-neuenfels-dead.html                With a Pointed View Dies at 80            By David Allen                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/magazi
2022-02-09   2022-02-13 ne/bob-odenkirk-better-call-saul.html       A Serious Man                             By Jonah Weiner                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/magazi
2022-02-09   2022-02-13 ne/carla-rockmore-fashion.html              Top Drawer                                By Carina Chocano                TX 9-154-386   2022-04-04
                                                                    Couch Potatoes Every day after school a
                        https://www.nytimes.com/2022/02/09/magazi generation learned to cook from Food
2022-02-09   2022-02-13 ne/scallops-brussles-sprouts-recipe.html    Network stars                             By Eric Kim                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/nyregio
2022-02-09   2022-02-13 n/mask-off-new-york.html                    Sorry No Unleashing the Cheese Here       By James Barron                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/realesta Theres Room to Grow in a TightKnit
2022-02-09   2022-02-13 te/ellenville-ny.html                       Community                                 By Amy Plitt                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/realesta Wood and Marble Mingle Inside a Stylish
2022-02-09   2022-02-13 te/mexico-city-real-estate.html             Penthouse                                 By Michael Kaminer               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/style/w
2022-02-09   2022-02-13 edding-guest-tips.html                      How to Take Some Pressure Off Your Guests By Alix Strauss                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/t-
2022-02-09   2022-02-13 magazine/honey-beauty-moisturizer-oil.html High Demand for Honey                      By Megan Bradley                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/theater/
2022-02-09   2022-02-13 bam-karen-brooks-hopkins.html               The Woman Who Found a Way                 By Roslyn Sulcas                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/theater/
2022-02-09   2022-02-13 sleep-no-more-reopens.html                  A Show Awakens From Hibernation           By Alexis Soloski                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/arts/mu
2022-02-10   2022-02-13 sic/will-jada-willow-jaden-smith.html       Making a Pivot to Transparency            By Jon Caramanica                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/books/r
2022-02-10   2022-02-13 eview/new-crime-and-mystery-novels.html     You Kill Me                               By Sarah Weinman                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/magazi
2022-02-10   2022-02-13 ne/dad-joke-ghost.html                      Bonus Advice From Judge John Hodgman      By John Hodgman                  TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/10/magazi                                            By Polina Barskova and Victoria
2022-02-10   2022-02-13 ne/poem-a-sunny-morning-in-the-square.html A Sunny Morning in the Square             Chang                             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/nyregio An Aviation Mystery Is Solved Not That
2022-02-10   2022-02-13 n/amelia-earhart-aviator-helmet.html       Mystery                                   By Laurie Gwen Shapiro            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/opinion Canadas Trucker Protests Are a Test of
2022-02-10   2022-02-13 /ottawa-trucker-protests.html              Democracy                                 By The Editorial Board            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/opinion
2022-02-10   2022-02-13 /radical-ideas-need-quiet-spaces.html      Radical Ideas Need Quiet Spaces           By Gal Beckerman                  TX 9-154-386   2022-04-04




                                                                               Page 3367 of 5793
                        https://www.nytimes.com/2022/02/10/realesta
2022-02-10   2022-02-13 te/remote-work-housing.html                  Seeking Even Remoter Quarters              By Michael Kolomatsky       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/style/dr
2022-02-10   2022-02-13 inking-sober-social-qs.html                  An Unhappy Hour                            By Philip Galanes           TX 9-154-386   2022-04-04
                                                                     He Wanted Classic Charm and a Nice Kitchen
                        https://www.nytimes.com/interactive/2022/02/ in Upper Manhattan Which Option Would
2022-02-10   2022-02-13 10/realestate/10hunt-baudendistel.html       You Choose                                 By Joyce Cohen              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/world/a
                        sia/beijing-olympics-shirtless-torch-        Shirtless Slider Goes Viral Before Even
2022-02-11   2022-02-13 samoa.html                                   Competing                                  By SuiLee Wee               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/arts/dan
2022-02-11   2022-02-13 ce/ski-ballet-internet.html                  We Brought Music to the Mountains          By Margaret Fuhrer          TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/11/arts/mu
2022-02-11   2022-02-13 sic/keith-lamar-death-row-freedom-first.html Seeking Freedom Through the Music            By Laura Zornosa          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/arts/tele
2022-02-11   2022-02-13 vision/severance-adam-scott.html             A Normal Guy Whatever That Is                By Alexis Soloski         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/books/r
                        eview/anybody-here-seen-frenchie-leslie-
2022-02-11   2022-02-13 connor-a-song-called-home-sara-zarr.html     InBetweens                                   By Jennifer Hubert Swan   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/books/r
2022-02-11   2022-02-13 eview/dead-collections-isaac-fellman.html    Transfiguration                              By Casey McQuiston        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/books/r
2022-02-11   2022-02-13 eview/julie-otsuka-the-swimmers.html         Adult Swim                                   By Rachel Khong           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/books/r
2022-02-11   2022-02-13 eview/new-paperbacks.html                    Paperback Row                                By Miguel Salazar         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/busines Inflation Remains Stable Well Below Its
2022-02-11   2022-02-13 s/inflation-federal-reserve-economy.html     October Peak                                 By Jeff Sommer            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/busines
2022-02-11   2022-02-13 s/roxane-gay-work-advice-revenge.html        Desperately Seeking Ice Breakers             By Roxane Gay             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/nyregio As Rapid Delivery Services Expand Berlin
2022-02-11   2022-02-13 n/gorillas-rapid-delivery-berlin-nyc.html    Offers a Cautionary Tale                     By Margot BoyerDry        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/nyregio
2022-02-11   2022-02-13 n/lauren-chan-new-york-fashion-week.html Her Model Behavior Includes SelfCare             By Tammy La Gorce         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/nyregio Fired After Criticizing the Police on Social
2022-02-11   2022-02-13 n/nypd-social-media-teachers-fired.html      Media                                        By Ginia Bellafante       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/nyregio Deadline Day for Unvaccinated Municipal
2022-02-11   2022-02-13 n/vaccine-deadline-nyc-workers.html          Employees in NYC                             By James Barron           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/opinion
2022-02-11   2022-02-13 /economy-voters.html                         12 Americans Discuss Economic Insecurity     By Laura Reston           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/opinion
                        /my-husband-and-i-dont-speak-the-same-love-
2022-02-11   2022-02-13 language.html                                My Real Love Language Is Fear                By Lisa Taddeo            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/opinion
2022-02-11   2022-02-13 /supreme-court-alabama-maps.html             The Supreme Court Is Just Doing Its Thing    By Jamelle Bouie          TX 9-154-386   2022-04-04



                                                                                 Page 3368 of 5793
                        https://www.nytimes.com/2022/02/11/realesta
2022-02-11   2022-02-13 te/connecticut-cohousing-foreclosure.html   A Dream That Died In Debt                  By Lisa Prevost                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/realesta
2022-02-11   2022-02-13 te/median-prices-nyc-real-estate.html       Keeping an Eye on the Middle               By C J Hughes                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/realesta A Pandemic Puppy Changed the Way I See
2022-02-11   2022-02-13 te/pandemic-puppy.html                      My World                                   By Ronda Kaysen                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/sports/f Omicron Once a Threat To the Season Is
2022-02-11   2022-02-13 ootball/nfl-super-bowl-covid.html           Benched                                    By Jenny Vrentas                  TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/11/sports/s
2022-02-11   2022-02-13 occer/remembering-what-draws-you-in.html Remembering What It Is That Draws You In      By Astead W Herndon               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/style/ca Winning Over Each Other at the Community
2022-02-11   2022-02-13 roline-combs-john-dansby-wedding.html       Center                                     By Jenny Block                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/style/de Finding Each Other Where Theyd Been
2022-02-11   2022-02-13 nise-parnell-whitney-hardy-wedding.html     Before                                     By Monica Corcoran Harel          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/style/ja A Muslim Dating App Powered Their
2022-02-11   2022-02-13 freen-uddin-shakil-rabbi-wedding.html       Connection                                 By Vincent M Mallozzi             TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/11/style/m Accepting Applications For a Black
2022-02-11   2022-02-13 odern-love-black-boyfriend-applications.html Boyfriend                                 By Alyssa Mack                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/style/m
2022-02-11   2022-02-13 odern-love-bond-father.html                  Our Bond Was Thicker Than Blood           By Brandon Kyle Goodman           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/style/m
2022-02-11   2022-02-13 odern-love-confidence-self-love.html         Her Confidence Gave Me Wings              By Mahogany L Browne              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/style/re
2022-02-11   2022-02-13 cess-therapy-julian-shapiro-barnum.html      Deep Thoughts on the Playground           By Brett Berk                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/style/sh On Eve of Lockdown a Date With Amazing
2022-02-11   2022-02-13 aron-mussalli-shaun-jenkins-wedding.html     Chemistry                                 By Vincent M Mallozzi             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/style/sn
                        eha-medappa-maruvanda-mark-edelstein-        Finding Common Ground in Different
2022-02-11   2022-02-13 wedding.html                                 Cultures                                  By Kristen Bayrakdarian           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/style/so
2022-02-11   2022-02-13 fia-elias-jewelry-90s-nostalgia.html         90s Confections Are Her Inspiration       By Dalya Benor                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/style/su
                        zanne-joskow-henderson-blumer-
2022-02-11   2022-02-13 wedding.html                                 RollerSkating Straight for His Heart      By Rosalie R Radomsky             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/style/w An Exploration Of Black Love In Its Many
2022-02-11   2022-02-13 hat-is-black-love-today.html                 Forms                                     By Veronica Chambers              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/technol                                             By Kashmir Hill and Photographs
2022-02-11   2022-02-13 ogy/airtags-gps-surveillance.html            Tracking My Husbands Moves                By Todd Heisler                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/us/bibb- U of Alabama Removes Name Of Klan
2022-02-11   2022-02-13 graves-hall-lucy-foster-alabama.html         Leader From Building                      By Johnny Diaz                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/books/l Lars Eighner 73 Who Wrote Eloquently Of
2022-02-12   2022-02-13 ars-eighner-dead.html                        His Experiences With Being Homeless       By Neil Genzlinger                TX 9-154-386   2022-04-04




                                                                              Page 3369 of 5793
                        https://www.nytimes.com/2022/02/11/sports/o
                        lympics/lindsey-jacobellis-nick-baumgartner- We Came in Hot Old Friends Share Gold in a
2022-02-12   2022-02-13 snowboard-cross.html                         New Event                                  By John Branch and Remy Tumin   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/sports/o
                        lympics/peter-foley-snowboarding-coach-      Snowboarding Coach Denies Allegations of
2022-02-12   2022-02-13 accusations.html                             Misconduct                                 By John Branch                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/sports/o Coach Defends Russian Skating Star as
2022-02-12   2022-02-13 lympics/valieva-doping-coach-clean.html      Innocent and Clean                         By Juliet Macur                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/busines
                        s/black-history-month-diversity-             When Work for Justice Takes Black History
2022-02-12   2022-02-13 inclusion.html                               Month Off                                  By Emma Goldberg                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/busines Running a Business Under the Shadow of
2022-02-12   2022-02-13 s/ukraine-business-economy.html              War                                        By Sasha Maslov                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/nyregio Borough Leaders Urge a Greener New York
2022-02-12   2022-02-13 n/trees-parks-nyc.html                       by Planting a Million More Trees           By Dana Rubinstein              TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/12/opinion
2022-02-12   2022-02-13 /culture/jeff-zucker-workplace-romance.html Finding Romance At the Office                By Elizabeth Spiers            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/opinion
2022-02-12   2022-02-13 /marriage-career-goals.html                 Marriage Changed My Dreams                   By Esau McCaulley              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/opinion
2022-02-12   2022-02-13 /super-bowl-gambling-sports.html            We Arent In Vegas Anymore                    By Ross Douthat                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/opinion
2022-02-12   2022-02-13 /ulysses-joyce-trump.html                   DC and Joyce Both Incomprehensible           By Maureen Dowd                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/opinion
2022-02-12   2022-02-13 /yellen-supply-side-liberalism.html         How Liberalism Could Dream Bigger            By Ezra Klein                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/realesta My Coop Offers Free Covid19 Tests Can It
2022-02-12   2022-02-13 te/covid-tests-children-discrimination.html Impose Age Limits for Toddlers               By Ronda Kaysen                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/sports/f For the Dolphins Perfect Season a Very Steep
2022-02-12   2022-02-13 ootball/dolphins-nfl-cte.html               Price                                        By Ken Belson                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/sports/j The Key to Burrows Vast Appeal Who He Is
2022-02-12   2022-02-13 oe-burrow-style-super-bowl.html             Attracts the Masses                          By Ben Shpigel                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/sports/o
2022-02-12   2022-02-13 lympics/curling-bagpipes-china.html         Drums Kilts and the Perfect Squeal           By Rick Rojas and James Hill   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/sports/o How Daily News Conferences at the
2022-02-12   2022-02-13 lympics/ioc-press-freedom-china.html        Olympics Produce Whiplash                    By Andrew Keh                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/sports/o Instant US Team Shows It Has Kick With 42
2022-02-12   2022-02-13 lympics/mens-hockey-us-canada.html          Win Over Canada                              By Alan Blinder                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/style/se
2022-02-12   2022-02-13 gmented-sleep.html                          Tale of a Good Nights Rest in Two Parts      By Danielle Braff              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/style/sl
2022-02-12   2022-02-13 ow-fashion-meets-melrose-place.html         Slow Fashion in the Fast Lane                By Max Berlinger               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/us/blac Teaching Black History Month Under New By Jacey Fortin and Giulia
2022-02-12   2022-02-13 k-history-month-schools-teachers.html       Limits                                       Heyward                        TX 9-154-386   2022-04-04




                                                                                Page 3370 of 5793
                        https://www.nytimes.com/2022/02/12/us/polit In Fiji Blinken Says US Has LongTerm         By Edward Wong and Damien
2022-02-12   2022-02-13 ics/blinken-fiji-pacific-islands.html       Future in the Pacific Islands                Cave                            TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/12/us/polit Selling of Trump Blurs Lines of Politics and By Shane Goldmacher and Eric
2022-02-12   2022-02-13 ics/donald-trump-business-interests.html    Profit                                       Lipton                          TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/12/us/polit                                              By Julian E Barnes and Helene
2022-02-12   2022-02-13 ics/russia-information-putin-biden.html     Aiming to Avert War With Information         Cooper                          TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/12/us/robe
                        rt-thomas-cheron-shelton-wilkinsburg-
2022-02-12   2022-02-13 lawsuit.html                                Suit Accuses 2 Officers of Misconduct        By Maria Cramer                 TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/12/world/a Black Authors Break Onto Brazils Literary
2022-02-12   2022-02-13 mericas/brazil-black-authors.html           Scene                                        By Ernesto Londoo               TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/12/world/a Ottawas Police Reacted Slowly As Protest
2022-02-12   2022-02-13 mericas/canada-truck-protests-police.html   Built                                        By Catherine Porter             TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/12/world/e Macron Facing Off With Putin Makes a Risky
2022-02-12   2022-02-13 urope/macron-putin-ukraine.html             Bet on Diplomacy                             By Roger Cohen                  TX 9-154-386       2022-04-04
                                                                                                                 By Andrew E Kramer Anton
                        https://www.nytimes.com/2022/02/12/world/e Biden Tries to Sway Putin Warning of Severe Troianovski Katie Rogers and Lara
2022-02-12   2022-02-13 urope/russia-ukraine-war-biden-putin.html   Costs                                        Jakes                           TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/12/world/ Attacks by Settlers Raise Alarm in a More
2022-02-12   2022-02-13 middleeast/settler-violence-west-bank.html  Violent West Bank                            By Patrick Kingsley             TX 9-154-386       2022-04-04
                        https://www.nytimes.com/2022/02/12/sports/b
2022-02-13   2022-02-13 aseball/mlb-lockout-spring-training.html    A Spring Delay Seems Certain Despite Talks By James Wagner                   TX 9-154-386       2022-04-04

                        https://www.nytimes.com/2022/02/12/sports/o                                                By Daniel Victor Rebecca Thomas
2022-02-13   2022-02-13 lympics/beijing-games-snow.html              The Snow Gets Real Shaking Up the Games John Branch and Keith Bradsher          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/us/polit                                                By Alan Feuer Maggie Haberman
                        ics/rudolph-giuliani-january-6-              Giuliani in Discussions To Take Witness       Michael S Schmidt and Luke
2022-02-13   2022-02-13 committee.html                               Stand In Jan 6 Investigation                  Broadwater                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/busines
                        s/how-did-squarespace-know-podcasts-would- Squarespaces Bet on the Power of Podcast
2022-02-13   2022-02-13 get-this-big.html                            Ads Pays Off                                  By Joel Stein                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/busines
                        s/the-week-in-business-pelotons-tough-
2022-02-13   2022-02-13 times.html                                   The Week in Business Pelotons Tough Times By Sarah Kessler                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/insider/                                                By Charlie BrinkhurstCuff and
2022-02-13   2022-02-13 black-love-history-valentines.html           We Asked What Is Black Love                   Miya Lee                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/nyregio
                        n/bitcoin-bitfinex-hack-heather-morgan-ilya- Modern Crime a Tech Couple And a Trail of By Ali Watkins and Benjamin
2022-02-13   2022-02-13 lichtenstein.html                            Siphoned Crypto                               Weiser                            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/sports/o
                        lympics/snowboard-chris-corning-usa-big-     An Olympian Eager to Change His Sports
2022-02-13   2022-02-13 air.html                                     Roguish Image                                 By Bill Pennington                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/us/supe
2022-02-13   2022-02-13 r-bowl-inglewood-los-angeles.html            For Host City Super Bowl Is Proof of Progress By Tim Arango                     TX 9-154-386   2022-04-04




                                                                                 Page 3371 of 5793
                        https://www.nytimes.com/2022/02/02/travel/r Underwater Wonders Off the Coast of
2022-02-02   2022-02-14 oatan-honduras-coral-reef.html              Honduras                                    By Elisabeth Goodridge          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/sports/o
2022-02-07   2022-02-14 lympics/olympics-falls.html                 Reaching Higher Crashing Harder             By Andrew Das                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/busines
2022-02-09   2022-02-14 s/media/local-news-subscriptions.html       Digital Focus Helps Lift Local Papers       By Marc Tracy                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/us/polit Pharmacists Burned Out By Workload and
2022-02-10   2022-02-14 ics/pharmacists-strain-covid.html           Demands                                     By Madeleine Ngo                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/arts/mu                                              By Jon Pareles Jon Caramanica
                        sic/playlist-taylor-swift-ed-sheeran-doja-  Taylor Swift and Ed Sheeran Up the Ante and Isabelia Herrera and Giovanni
2022-02-11   2022-02-14 cat.html                                    Other Endeavors                             Russonello                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/books/l
                        iterary-translation-translators-jennifer-
2022-02-11   2022-02-14 croft.html                                  Translator Makes a Plea For Credit          By Alexandra Alter              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/busines Slate Struggles to Find Identity and Turn a
2022-02-11   2022-02-14 s/media/slate-departures.html               Profit                                      By Katie Robertson              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/crossw
2022-02-11   2022-02-14 ords/lox-story-crossword-clue.html          Schmear topper Three Letters                By Alexis Benveniste            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/movies/ Superb Regardless of Who Sat in the
2022-02-11   2022-02-14 toshiro-mifune-film-forum.html              Directors Chair                             By Mike Hale                    TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/11/opinion
2022-02-11   2022-02-14 /culture/queen-of-basketball-lusia-harris.html The Legacy of Lusia Harris                By Lindsay Crouse              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/arts/dan Stephanie Selby 56 Ballerina Elevated and
2022-02-12   2022-02-14 ce/stephanie-selby-dead.html                   Haunted by Early Renown Dies              By Katharine Q Seelye          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/arts/des
2022-02-12   2022-02-14 ign/nft-collectors-artwork.html                For NFT Collectors Its Time to Get Real   By Zachary Small               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/busines
                        s/dealbook/are-activist-short-sellers-         Abuse by Activist Short Sellers Not So
2022-02-12   2022-02-14 misunderstood.html                             Common Supporters Say                     By Michelle Celarier           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/busines
2022-02-12   2022-02-14 s/economy/ibm-age-discrimination.html          Inside IBM Plan to Oust Old Workers       By Noam Scheiber               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/sports/o For a New Generation of Athletes Echoes of a
2022-02-12   2022-02-14 lympics/olympics-valieva-doping.html           Dark Era of Doping                        By Jer Longman                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/sports/o
                        lympics/winter-games-events-remaining-
2022-02-12   2022-02-14 schedule.html                                  Oohs Aahs And Howls With More To Come By Victor Mather                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/us/penn After Nearly 58 Years Pennsylvania Police
2022-02-12   2022-02-14 sylvania-marise-chiverella-dna.html            Solve Killing of Girl 9                   By Amanda Holpuch              TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/12/sports/o                                             By Kevin Draper and Gabriela
2022-02-13   2022-02-14 lympics/erin-jackson-gold-speedskating.html US Skater Makes Rapid Rise to a Gold        Bhaskar                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/sports/o
                        lympics/kamila-valievas-cas-hearing-
2022-02-13   2022-02-14 doping.html                                 Valieva Awaiting Decision On Return         By Tariq Panja                  TX 9-154-386   2022-04-04



                                                                                Page 3372 of 5793
                        https://www.nytimes.com/2022/02/12/sports/o In a Blizzard One Thing Is Clear Hes the Best
2022-02-13   2022-02-14 lympics/mens-giant-slalom-snow.html         in the World                                  By Matthew Futterman          TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/13/arts/dan
2022-02-13   2022-02-14 ce/swan-lake-miami-city-ballet-review.html Subtle Changes Revitalize a Dusty Jewel     By Gia Kourlas                   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/13/arts/des Carmen Herrera Artist of Bold Shapes Who
2022-02-13   2022-02-14 ign/carmen-herrera-dead.html                Came Late to Fame Dies at 106              By Robert D McFadden             TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/13/arts/mu Rapper Injured With 3 Others In Shooting
2022-02-13   2022-02-14 sic/kodak-black-shooting-los-angeles.html   Outside Party                              By Azi Paybarah                  TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/13/arts/mu
                        sic/new-york-philharmonic-yuja-wang-
2022-02-13   2022-02-14 review.html                                 Unofficial Tryouts for a Plum Position     By Joshua Barone                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/13/busines ExGoldman Banker Linked to 1MDB Scandal
2022-02-13   2022-02-14 s/1mdb-trial-roger-ng.html                  Heads to Trial                             By Matthew Goldstein             TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/13/busines Sigal Barsade 56 Who Proved Emotion Has a
2022-02-13   2022-02-14 s/sigal-barsade-dead.html                   Place at Work                              By Clay Risen                    TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/13/nyregio Woman Stabbed to Death In Chinatown         By Precious Fondren and Ashley
2022-02-13   2022-02-14 n/murder-chinatown-nyc.html                 Apartment                                  Southall                         TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/13/opinion In a World of Dread Black History Can Bring
2022-02-13   2022-02-14 /apocalyptic-thinking-black-history.html    Hope                                       By Tiya Miles                    TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/13/opinion Covid Drugs Might Work Well but Our
2022-02-13   2022-02-14 /covid-drugs.html                           Health System Doesnt                       By Aaron E Carroll               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/13/opinion
2022-02-13   2022-02-14 /no-post-covid.html                         There Will Be No PostCovid                 By Charles M Blow                TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/13/sports/o Germany in the Sliding Sports 6 Events 6
2022-02-13   2022-02-14 lympics/germany-gold-sliding-sports.html    Golds                                      By Jonathan Abrams               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/13/sports/o A Champion Bobsledders Turbulent Path to a
2022-02-13   2022-02-14 lympics/kaillie-humphries-bobsled.html      New Home                                   By Jonathan Abrams               TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/13/sports/o Pure Perfection and Very Fragile Little Girl
2022-02-13   2022-02-14 lympics/russia-valieva-doping-skating.html Only 15 and in the Eye of a Doping Storm      By Juliet Macur                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/technol One More Divorce Argument How to Split Up
2022-02-13   2022-02-14 ogy/divorce-bitcoin-crypto.html             the Bitcoin                                  By David YaffeBellany           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/us/ahm In the Arbery Hate Crimes Trial The Evidence By Richard Fausset and Audra D S
2022-02-13   2022-02-14 aud-arbery-hate-crime-racism.html           Is Likely to Be Ugly                         Burch                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/us/podc Podcast Host Faces Charges Of Possessing
2022-02-13   2022-02-14 aster-joseph-paul-berger-arrested.html      Machine Guns                                 By Vimal Patel                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/us/polit Afghan Diplomats Seek Permission to Stay in
2022-02-13   2022-02-14 ics/afghan-embassy-diplomats-taliban.html   US                                           By Lara Jakes and Carlotta Gall TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/us/polit In Hawaii Blinken Aims for a United Front
2022-02-13   2022-02-14 ics/blinken-north-korea-hawaii.html         With Allies on North Korea                   By Edward Wong                  TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/13/us/polit
2022-02-13   2022-02-14 ics/mcconnell-trump-primaries-midterms.html For McConnell A Stealth Fight For GOP Grip By Jonathan Martin               TX 9-154-386    2022-04-04




                                                                                Page 3373 of 5793
                        https://www.nytimes.com/2022/02/13/world/a Brazils Version of Joe Rogan Faces His Own
2022-02-13   2022-02-14 mericas/brazil-aiub-monark-free-speech.html Firestorm                                    By Jack Nicas and Ana Ionova       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/world/a Nepal Suspends Chief Justice Adding to
2022-02-13   2022-02-14 sia/nepal-chief-justice-suspended.html        Government Turmoil                         By Bhadra Sharma                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/world/e
                        urope/france-election-muslims-islam-macron- The Quiet Rising Flight Of Muslims From      By Norimitsu Onishi and Aida
2022-02-13   2022-02-14 zemmour-le-pen-pecresse.html                  France                                     Alami                              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/world/e Switzerland Enacts Ban on Tobacco Ads In
2022-02-13   2022-02-14 urope/switzerland-tobacco-ad-ban.html         an Effort to Protect the Nations Youth     By Noele Illien                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/world/e
                        urope/ukraine-russia-finland-sauli-niinisto-  Finlands President Knows Putin Well And
2022-02-13   2022-02-14 putin-nato.html                               He Fears A Disaster for Ukraine            By Jason Horowitz                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/12/spo
                        rts/olympics-medals-winter/erin-jackson-wins-
                        gold-in-the-500-meters-becoming-the-first-
                        african-american-woman-to-win-a-                                                         By Kevin Draper and Gabriela
2022-02-13   2022-02-14 speedskating-medal                            US Skater Makes Rapid Rise to a Gold       Bhaskar                            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/12/spo
                        rts/olympics-medals-winter/monobob-first-
2022-02-13   2022-02-14 heats                                         Monobob Leader on Verge of a US First      By Jonathan Abrams                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/12/spo
                        rts/olympics-medals-winter/us-germany-        US Ends Perfect Round With a Rollicking
2022-02-13   2022-02-14 hockey                                        Victory                                    By Alan Blinder                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/arts/mu
2022-02-14   2022-02-14 sic/super-bowl-halftime-show-review.html      It Was About Time for This Halftime Show By Jon Caramanica                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/busines
                        s/media/larry-david-super-bowl-ftx-           Why Larry David a Crypto Skeptic Featured
2022-02-14   2022-02-14 crypto.html                                   in a StartUps Super Bowl Ad                By Tiffany Hsu                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/sports/f
2022-02-14   2022-02-14 ootball/rams-bengals-score.html               Stars Help Rams Script a Triumphant Ending By Ben Shpigel                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/world/a Border Bridge Will Soon Open Canada
2022-02-14   2022-02-14 mericas/canada-trucker-protest.html           Asserts                                    By Sarah Maslin Nir                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/world/a Behind Indias Organic Cotton Boom Fraud       By Alden Wicker Emily Schmall
2022-02-14   2022-02-14 sia/organic-cotton-fraud-india.html           and False Labels                           Suhasini Raj and Elizabeth Paton   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/world/e
2022-02-14   2022-02-14 urope/ukraine-russia-zelensky.html            Amid Threats Ukraine Is Led By an Optimist By Andrew E Kramer                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/arts/tele
                        vision/whats-on-tv-this-week-the-eyes-of-
                        tammy-faye-we-need-to-talk-about-
2022-02-14   2022-02-14 cosby.html                                    This Week on TV                            By Gabe Cohn                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/health/a Heartbeat Moves to Center of Abortion
2022-02-14   2022-02-14 bortion-heartbeat-debate.html                 Debate                                     By Roni Caryn Rabin                TX 9-154-386   2022-04-04




                                                                                 Page 3374 of 5793
                        https://www.nytimes.com/2022/02/14/nyregio
                        n/redistricting-gerrymandering-albany-      New Yorks New Voting Maps Fuse Power         By Luis FerrSadurn and Grace
2022-02-14   2022-02-14 ny.html                                     and Dash Hopes                               Ashford                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/sports/f Troubles What Troubles The NFL Keeps On
2022-02-14   2022-02-14 ootball/nfl-super-bowl-hollywood.html       Rolling                                      By Ken Belson                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/13/spo
                        rts/super-bowl-rams-bengals/super-bowl-
2022-02-14   2022-02-14 bengals                                     Late Missteps Put End to a Cinderella Season By Emmanuel Morgan              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/sports/o
2022-02-15   2022-02-14 lympics/china-olympics-nicknames.html       Where Nicknames Are Household Names          By Andrew Keh and John Liu      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/well/liv Timing Your Booster After a Covid19
2022-02-03   2022-02-15 e/booster-after-covid.html                  Infection                                    By Knvul Sheikh                 TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/07/science Bonzos Bedside Manner Feeling Beastly Try
2022-02-07   2022-02-15 /chimpanzees-insects-medicine-wounds.html 2 Bugs And Call Me in the Morning              By Nicholas Bakalar             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/science Triple Heart On 130 Elektra the Moons Just
2022-02-08   2022-02-15 /quadruple-asteroid-moons-elektra.html       Keep Materializing                          By Jonathan OCallaghan          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/well/liv Im Addicted to My Phone How Can I Cut
2022-02-08   2022-02-15 e/smartphone-addiction-tips.html             Back                                        By Annie Sneed                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/science Familial Fossils One of Evolutions Oddballs
2022-02-09   2022-02-15 /opabinia-fossil.html                        Finds a LongLost Cousin                     By Jack Tamisiea                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/arts/mu Syl Johnson 85 Guitarist And Versatile Soul
2022-02-09   2022-02-15 sic/syl-johnson-dead.html                    Singer                                      By Ben Sisario                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/science Hard Evidence In French Cave All Signs
2022-02-09   2022-02-15 /neanderthals-cave-france.html               Point to Prehistoric Timeshare Arrangement By Sabrina Imbler                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/science
2022-02-09   2022-02-15 /volcano-lava-eruption-pictures.html         A Mesmerizing River of Fire In the Galpagos By Mike Ives                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/well/m
2022-02-09   2022-02-15 ove/exercise-covid-flu-vaccine.html          Get a Shot Then Get Moving                  By Gretchen Reynolds            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/science
2022-02-10   2022-02-15 /black-death.html                            Questioning the Toll Of a 1300s Pandemic By Carl Zimmer                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/well/liv                                              By Tara ParkerPope and Jin Yu
2022-02-11   2022-02-15 e/kf94-mask.html                             A Hard Look at the KF94 Mask                Young                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/arts/mu
2022-02-11   2022-02-15 sic/new-york-classical-music-pop.html        Edgy Releases With Hooks You Can Hum        By Seth Colter Walls            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/movies/ Douglas Trumbull 79 Who Put Thrilling
2022-02-11   2022-02-15 douglas-trumbull-dead.html                   Effects Into Hit Films Is Dead              By Richard Sandomir             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/arts/juli Julie Saul 67 Irrepressible Gallerist Of
2022-02-12   2022-02-15 e-saul-dead.html                             Photography and Multimedia Art              By Penelope Green               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/arts/tele
2022-02-12   2022-02-15 vision/inventing-anna-true-story.html        Maybe More Like Reinventing Anna            By Emily Palmer                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/opinion
                        /culture/beijing-olympics-inspiring-
2022-02-13   2022-02-15 moments.html                                 The Beijing Olympics Are Hard to Watch      By Lindsay Crouse               TX 9-154-386   2022-04-04




                                                                                Page 3375 of 5793
                        https://www.nytimes.com/2022/02/13/sports/k After Emotional Struggle to Break Free
2022-02-14   2022-02-15 aillie-humphries-monobob.html               Bobsledder Streaks to Another Gold            By Jonathan Abrams               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/sports/o
2022-02-14   2022-02-15 lympics/adam-rippon-valieva.html            So Unfair The Coach Of a Rival Is Furious     By Juliet Macur                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/sports/o
                        lympics/jamie-anderson-snowboard-big-       Failing to Make Final 2018 Big Air Medalist   By John Branch and Alexandra E
2022-02-14   2022-02-15 air.html                                    Feels the Worst Low                           Petri                            TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/13/sports/o Downhill A First for Shiffrin After a Wobbly
2022-02-14   2022-02-15 lympics/mikaela-shiffrin-ski-downhill.html Week                                          By Matthew Futterman              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/sports/o Winner and the No 4 Finisher Celebrate a
2022-02-14   2022-02-15 lympics/womens-aerial-skiing.html           Triumph in Aerials                           By John Branch                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/arts/gua
2022-02-14   2022-02-15 ranteed-income-artists.html                 Money To Help Needy Artists                  By Laura Zornosa                  TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/14/arts/mu
2022-02-14   2022-02-15 sic/encanto-soundtrack-billboard-chart.html Fans Still Charmed By Encanto Album           By Ben Sisario                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/arts/mu
2022-02-14   2022-02-15 sic/heartbeat-opera-fidelio-review.html     Struggles for Justice Span the Ages           By Joshua Barone                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/books/r
                        eview-black-cloud-rising-david-wright-
2022-02-14   2022-02-15 falade.html                                 After Freedom A Chance to Fight               By Dwight Garner                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/busines Crypto Firm Reaches 100 Million Settlement
2022-02-14   2022-02-15 s/blockfi-sec-crypto-loans.html             With SEC                                      By Emily Flitter                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/busines Automakers Restart Work After Protesters
2022-02-14   2022-02-15 s/canada-protest-auto-supply-chain.html     Blockade                                      By Ana Swanson and Jack Ewing    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/busines When Chinas Censors Do a Recut of Friends
2022-02-14   2022-02-15 s/china-friends-censored.html               Rosss ExWife Isnt Gay                         By Alexandra Stevenson           TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/14/busines China Bets the Giant Tab to Host The Winter
2022-02-14   2022-02-15 s/economy/olympics-china-economics.html Games Will Be Worth It                         By Keith Bradsher                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/busines Federal Reserve To Temper Response As
2022-02-14   2022-02-15 s/federal-reserve-rates-inflation.html      Inflation Rises                            By Jeanna Smialek                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/busines Rumblings On Ukraine Raise Prices For
2022-02-14   2022-02-15 s/oil-markets-prices.html                   Energy                                     By Clifford Krauss                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/busines Judge Will Toss Palin Libel Suit Against
2022-02-14   2022-02-15 s/sarah-palin-new-york-times.html           Times                                      By Jeremy W Peters                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/climate
2022-02-14   2022-02-15 /western-drought-megadrought.html           Western Drought Is the Worst in 1200 Years By Henry Fountain                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/health/r History May Hold Clues To the Path of
2022-02-14   2022-02-15 ussian-flu-coronavirus.html                 Covid19                                    By Gina Kolata                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/movies/ Ivan Reitman Maker of Beloved Comedy        By Neil Genzlinger and Christine
2022-02-14   2022-02-15 ivan-reitman-dead.html                      Blockbusters Dies at 75                    Chung                               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/movies/
2022-02-14   2022-02-15 somewhere-with-no-bridges-review.html       Contemplating Mortality on the Water       By Manohla Dargis                   TX 9-154-386   2022-04-04



                                                                                 Page 3376 of 5793
                        https://www.nytimes.com/2022/02/14/movies/
                        wanda-sykes-amy-schumer-regina-hall-oscars- The Oscars Had No Host For the Past Three    By Kyle Buchanan and Nicole
2022-02-14   2022-02-15 hosts.html                                  Years Now It May Have Three                  Sperling                         TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/nyregio
                        n/hadley-palmer-connecticut-access-court-   Secret Videos of Minors Lead to SexCrime
2022-02-14   2022-02-15 records.html                                Plea                                         By Neil Vigdor                   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/nyregio
                        n/mazars-trump-organization-financial-      Accounting Firm Cuts Off Trump and His       By Ben Protess and William K
2022-02-14   2022-02-15 statements.html                             Business                                     Rashbaum                         TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/nyregio New York City Fires 1430 Workers Who
2022-02-14   2022-02-15 n/nyc-vaccine-mandate.html                  Refused to Comply With Vaccine Mandate       By Emma G Fitzsimmons            TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/opinion
2022-02-14   2022-02-15 /electoral-count-act.html                   The Conservative Case for Electoral Reform   By J Michael Luttig              TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/opinion
2022-02-14   2022-02-15 /mcconnell-greene-valentines.html           The Cowardly Lion Wing of the GOP            By Gail Collins and Bret Stephens TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/science Rocket Part Crashing Into Moon May Be
2022-02-14   2022-02-15 /china-rocket-moon-spacex.html              From China                                   By Kenneth Chang                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/sports/o The US Struggles and Canada Surges to a
2022-02-14   2022-02-15 lympics/canada-us-womens-hockey.html        Showdown                                     By Alan Blinder                  TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/sports/o Curling Back To Low Tech As Electronics
2022-02-14   2022-02-15 lympics/curling-stones-electronic.html      Are Removed                                  By Rick Rojas                    TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/sports/o Eileen Gu Gets Silver in Slopestyle as
2022-02-14   2022-02-15 lympics/eileen-gu-skiing-slopestyle.html    Gremaud Takes Gold                           By John Branch                   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/sports/o Skating Star Can Compete but Medals Will     By Juliet Macur Andrew Keh
2022-02-14   2022-02-15 lympics/kamila-valieva-ruling.html          Be on Hold                                   Daniel Victor and Tariq Panja    TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/sports/o Chasing a First Gold Medal While He Still
2022-02-14   2022-02-15 lympics/niklas-edin-curling-injuries.html   Can                                          By Scott Cacciola                TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/technol
2022-02-14   2022-02-15 ogy/republican-trump-peter-thiel.html       Tech Financier Is Kingmaker For the Right    By Ryan Mac and Lisa Lerer       TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/technol
                        ogy/texas-facebook-facial-recognition-      Texas Sues Facebooks Parent Over Facial
2022-02-14   2022-02-15 lawsuit.html                                Data                                         By Cecilia Kang                  TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/us/pede Pedestrian Deaths Hit Highs as Reckless
2022-02-14   2022-02-15 strian-deaths-pandemic.html                 Driving Surges                               By Simon Romero                  TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/us/polit New Yorks Zen Mayor A Mix of Tough
2022-02-14   2022-02-15 ics/eric-adams-wellness-vegan.html          Talking And Spinach Smoothies                By Katie Glueck                  TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/14/us/polit
2022-02-14   2022-02-15 ics/navy-nuclear-engineer-pleads-guilty.html Guilty Plea in a Submarine Espionage Case By Julian E Barnes                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/us/rabb Rabbi Simcha Krauss Advocate for Orthodox
2022-02-14   2022-02-15 i-simcha-krauss-dead.html                    Women Dies at 84                          By Joseph Berger                   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/us/supr
2022-02-14   2022-02-15 eme-court-solitary-confinement.html          27 Years in Solitary and a Plea for Help  By Adam Liptak                     TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/14/well/de
2022-02-14   2022-02-15 ath-certificate-cause.html                   True Cause of Death May Often Be Hidden By Jane E Brody                      TX 9-154-386    2022-04-04



                                                                                Page 3377 of 5793
                        https://www.nytimes.com/2022/02/14/world/a
                        frica/zimbabwe-new-york-times-reporter-
2022-02-14   2022-02-15 trial.html                                 Zimbabwe Ends Prosecution of Reporter       By Declan Walsh                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/world/a
2022-02-14   2022-02-15 mericas/canada-trucker-protests.html       Law Invoked As Canadians Mull Identity      By Catherine Porter              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/world/a
                        mericas/nicaragua-universities-ortega-     To Quash Dissent in Nicaragua Ortega Seizes By Yubelka Mendoza and Maria
2022-02-14   2022-02-15 dictatorship.html                          5 Private Universities                      AbiHabib                         TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/14/world/c Leaked Data Shows Donors to Truckers        By Mike McIntire and Michael H
2022-02-14   2022-02-15 anada/canada-trucker-protests-donations.html Cause With Canadians in the Lead          Keller                           TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/14/world/e UK Royals Test Positive For Covid Raising
2022-02-14   2022-02-15 urope/camilla-duchess-of-cornwall-covid.html Fears Over the Queens Health              By Mark Landler                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/world/e
                        urope/germany-energy-russia-gas-             Germany Reconsiders Gas Reliance On
2022-02-14   2022-02-15 pipeline.html                                Russia                                    By Melissa Eddy                  TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/14/world/e Spanish Resort Loses Long Environmental
2022-02-14   2022-02-15 urope/spain-luxury-hotel-environment.html Fight                                        By Raphael Minder                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/14/world/e Facing Putin a Fractious Ukraine Embraces a By Michael Schwirtz and Brendan
2022-02-14   2022-02-15 urope/ukraine-russia-invasion-identity.html Common Purpose                              Hoffman                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/world/e
                        urope/ukraine-russia-putin-zelensky-scholz- In Shift Moscow Adopts New Tone In          By Anton Troianovski and Andrew
2022-02-14   2022-02-15 nato.html                                     Ukraine Crisis                            E Kramer                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/world/
                        middleeast/israel-bahrain-bennett-            In a First a Prime Minister Of Israel Is
2022-02-14   2022-02-15 meeting.html                                  Visiting Bahrain                          By Patrick Kingsley             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/arts/tele
2022-02-15   2022-02-15 vision/the-gilded-age-black-history.html      Filling A Gap In Black History            By Dave Itzkoff                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/nyregio Suspect Arrested in Killing Of Woman in      By Ashley Southall Ali Watkins
2022-02-15   2022-02-15 n/suspect-christina-yuna-lee-murder.html      Chinatown                                 and Jeffrey E Singer            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/opinion When Freedom Means the Right To
2022-02-15   2022-02-15 /canada-protests-black-lives-matter.html      Vandalize                                 By Paul Krugman                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/us/louis
                        ville-mayoral-candidate-craig-greenberg-      Louisville Mayoral Hopeful Says Gunman
2022-02-15   2022-02-15 shooting.html                                 Shot at Him                               By Jason M Bailey               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/us/polit AtRisk Democrat in Congress Tries to Hang By Blake Hounshell and Leah
2022-02-15   2022-02-15 ics/cindy-axne-iowa-democrat.html             On                                        Askarinam                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/us/polit Court Filing Starts a Furor on the Right
2022-02-15   2022-02-15 ics/durham-sussmann-trump-russia.html         Though Its Not Easy to Understand Why     By Charlie Savage               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/us/polit
                        ics/ilya-lichtenstein-heather-morgan-bitcoin- Husband in Bitcoin Scheme Held While Wife
2022-02-15   2022-02-15 bail.html                                     Gets Bail                                 By Zach Montague                TX 9-154-386   2022-04-04



                                                                               Page 3378 of 5793
                        https://www.nytimes.com/2022/02/14/us/pros Prosecutor Outlines Arbery Killers Use of   By Tariro Mzezewa Audra D S
2022-02-15   2022-02-15 ecutor-arbery-killers-racial-slurs.html      Racial Slurs                              Burch and Richard Fausset        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/world/a
                        mericas/justin-trudeau-emergencies-act-      Trudeau Declares an Emergency Invoking
2022-02-15   2022-02-15 canada.html                                  Powers to Quell Unrest                    By Ian Austen and Dan Bilefsky   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/insider/
2022-02-15   2022-02-15 reporting-on-the-ground-in-ukraine.html      Reporting on the Ground in Ukraine        By Emmett Lindner                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/science Archaeological Riddle Of Scales and Old
2022-02-15   2022-02-15 /archaeology-germany-tollense-trade.html     Gods                                      By Franz Lidz                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/science
2022-02-15   2022-02-15 /mars-nasa-perseverance.html                 A Year of Surprises on Mars               By Kenneth Chang                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/sports/o Parity Meets Reality as US Faces Canada in
2022-02-15   2022-02-15 lympics/hockey-us-canada.html                Womens Hockey Final                       By Alan Blinder                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/theater/ Kenneth H Brown 85 Playwright Who Was
2022-02-07   2022-02-16 kenneth-brown-dead.html                      Best Known for The Brig                   By Alex Vadukul                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/dining/
2022-02-10   2022-02-16 cafe-habana-miami-castro-guevara.html        Restaurants Move Is Risky in Miami        By Christina Morales             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/dining/
2022-02-11   2022-02-16 braised-short-rib-stew.html                  Just One Pot but Plenty of Meals          By Yewande Komolafe              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/dining/
2022-02-11   2022-02-16 chocolate-chips-baking.html                  When Little Things Yield a Lot            By Genevieve Ko                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/dining/
2022-02-11   2022-02-16 drinks/low-alcohol-beer.html                 LowBuzz Beer the Next Round for Brewers By Joshua M Bernstein              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/dining/r
2022-02-11   2022-02-16 oasted-sweet-potatoes.html                   Sweet Potatoes And Eggs Meet              By Melissa Clark                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/us/bob- Bob Wall Martial Arts Master Who Sparred
2022-02-11   2022-02-16 wall-dead.html                               With Lee Dies at 82                       By Clay Risen                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/11/your- Chasing a Covid Benefit Nobody Really
2022-02-11   2022-02-16 money/covid-funeral-aid-fema.html            Wants to Use                              By Tara Siegel Bernard           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/arts/mu An Exhilarating Jazz Set Arrives 49 Years
2022-02-14   2022-02-16 sic/cecil-taylor-return-concert.html         Later                                     By Alan Scherstuhl               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/arts/tele
2022-02-14   2022-02-16 vision/super-bowl-nostalgia.html             A Super Bowl Drenched In Nostalgia        By James Poniewozik              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/dining/ To Discover A Place to Start For Balkan
2022-02-14   2022-02-16 balkan-wines.html                            Wines                                     By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/dining/ To Savor Pineapples Go Pink For Fresh Del
2022-02-14   2022-02-16 del-monte-pinkglow-pineapples.html           Monte                                     By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/dining/j To Spoon Prizewinning Preserves From
2022-02-14   2022-02-16 ams-ladera-patisserie.html                   Ladera Patisserie                         By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/dining/ The Perfect Sheet Pan For a Batch of
2022-02-14   2022-02-16 nordic-ware-sheet-pan.html                   Brownies                                  By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/dining/ To Indulge Flaky Custard Tartlets With Holy
2022-02-14   2022-02-16 pasteis-de-nata-veranda.html                 Origins                                   By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/dining/ To Learn Africa Eats Cookbook Leads to
2022-02-14   2022-02-16 pauline-awino-pinnock-africa-eats.html       Virtual Program                           By Florence Fabricant            TX 9-154-386   2022-04-04



                                                                               Page 3379 of 5793
                        https://www.nytimes.com/2022/02/14/dining/r
2022-02-14   2022-02-16 estaurant-review-ci-siamo.html              Danny Meyers Group Rekindles the Flame     By Pete Wells                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/opinion
2022-02-14   2022-02-16 /biden-state-of-the-union.html              The State of the Union Is Stressed         By David Axelrod                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/opinion
2022-02-14   2022-02-16 /cosby-show-documentary.html                We Werent Wrong to Love The Cosby Show By Tressie McMillan Cottom          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/sports/s
                        nowboarding-big-air-anna-gasser-su-
2022-02-14   2022-02-16 yiming.html                                 Defying Age Austrian Retains Big Air Crown By Alexandra E Petri            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/theater/
2022-02-14   2022-02-16 space-dogs-review.html                      To Go Where No Mutt Has Gone Before        By Maya Phillips                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/14/us/polit Rushed Across the Border and Now Lost in a
2022-02-14   2022-02-16 ics/border-immigrants-expedited-asylum.html Bureaucratic Maze                            By Eileen Sullivan            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/world/a China Knows Xi Is in Control But Who
2022-02-14   2022-02-16 sia/china-xi-jinping.html                    Comes Next                                  By Chris Buckley              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/busines Japans Economy Grew For First Time in 3
2022-02-15   2022-02-16 s/japan-economy-gdp-covid.html               Years                                       By Ben Dooley                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/science Private Astronauts on Billionaires Mission
2022-02-15   2022-02-16 /spacex-spacewalk-tourists.html              Planning First Civilian Spacewalk           By Joey Roulette              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/sports/o
                        lympics/mikaela-shiffrin-corinne-suter-      US Ski Team Hopes Star Rallies To Help      By Bill Pennington and Matt
2022-02-15   2022-02-16 downhill-skiing.html                         Salvage Difficult Games                     Futterman                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/sports/o Failure and Success American Men Take
2022-02-15   2022-02-16 lympics/speedskating-team-pursuit.html       Bronze in Team Pursuit                      By Kevin Draper               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/sports/o
                        lympics/valieva-drug-test-heart-             A Skaters Test Reveals Three Heart
2022-02-15   2022-02-16 medications.html                             Medications but Not All Are Banned          By Tariq Panja                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/arts/scu
2022-02-15   2022-02-16 lpturecenter-names-new-director.html         SculptureCenter Taps One of Its Own to Lead By Sarah Bahr                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/arts/tele Kathryn Kates 73 Actress Remembered As
2022-02-15   2022-02-16 vision/kathryn-kates-dead.html               Bakery Counterwoman on Seinfeld             By Annabelle Williams         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/books/p PJ ORourke 74 Conservative Satirist and
2022-02-15   2022-02-16 j-orourke-dead.html                          Political Commentator Dies                  By Neil Genzlinger            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/books/r The Melancholy and Danger of Inherited
2022-02-15   2022-02-16 eview-heiresses-laura-thompson.html          Wealth                                      By Alexandra Jacobs           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/busines
                        s/china-eileen-gu-peng-shuai-chained-
2022-02-15   2022-02-16 woman.html                                   Two Women Two Sides of China                By Li Yuan                    TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/15/busines
2022-02-15   2022-02-16 s/contactless-office-lobby-return-to-work.html Lobbies Make Subtle Changes for Covid Age By Joe Gose                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/busines
                        s/economy/senate-republicans-vote-fed-         Vote on Bidens Fed Picks Stalls as GOP    By Jeanna Smialek and Emily
2022-02-15   2022-02-16 nominees.html                                  Boycotts                                  Cochrane                      TX 9-154-386   2022-04-04



                                                                                 Page 3380 of 5793
                        https://www.nytimes.com/2022/02/15/busines Tesla CEO Made Quiet Gift to Charity of
2022-02-15   2022-02-16 s/elon-musk-tesla-charity-donation.html          Almost 6 Billion                             By Michael J de la Merced        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/busines Jury Rejects Palins Libel Claim Day After
2022-02-15   2022-02-16 s/media/new-york-times.html                      Judge Did the Same                           By Jeremy W Peters               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/busines Super Bowl Drew 112 Million Viewers the
2022-02-15   2022-02-16 s/media/super-bowl-2022-ratings.html             Most in 5 Years                              By Tiffany Hsu                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/busines
2022-02-15   2022-02-16 s/new-york-commercial-real-estate.html           Transactions                                 By Maia Coleman                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/busines Tyson Is Easing Mask Rules At Some
2022-02-15   2022-02-16 s/tyson-foods-mask-mandate.html                  Processing Plants                            By Lauren Hirsch                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/busines US Puts Ban on Mexican Avocados Citing
2022-02-15   2022-02-16 s/us-mexico-avocado-ban.html                     Threat                                       By Julie Creswell                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/climate
2022-02-15   2022-02-16 /california-waiver-emissions.html                California Returns as Nations Climate Leader By Coral Davenport               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/climate Study Warns Of Foot Rise In Sea Level By
2022-02-15   2022-02-16 /us-rising-sea-levels.html                       2050                                         By Henry Fountain                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/dining/
2022-02-15   2022-02-16 cell-cultured-meat.html                          Brave New Bird                               By Kim Severson                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/dining/
2022-02-15   2022-02-16 drinks/natural-wines.html                        Natural Wines to Drink Now                   By Eric Asimov                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/dining/ Bar Tulix to Serve Mexican in the Former
2022-02-15   2022-02-16 nyc-restaurant-news.html                         Burger Barrel Space in Soho                  By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/health/f Senate Confirms New FDA Commissioner in By Christina Jewett and Emily
2022-02-15   2022-02-16 da-califf-senate-vote.html                       Tight but Bipartisan Vote                    Cochrane                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/health/ Woman Cured of HIV Using Novel Treatment
2022-02-15   2022-02-16 hiv-cure-cord-blood.html                         Umbilical Cord Blood                         By Apoorva Mandavilli            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/movies/
2022-02-15   2022-02-16 isabelle-huppert-career.html                     Brilliant Career A Guided Tour               By Thomas Rogers                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/movies/                                                    By Julia Jacobs and Graham
2022-02-15   2022-02-16 rust-lawsuit-halyna-hutchins.html                Slain Cinematographers Family Sues Baldwin Bowley                             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/nyregio
                        n/prince-andrew-virginia-giuffre-                Prince Andrew Settles Abuse Suit With
2022-02-15   2022-02-16 settlement.html                                  Prominent Accuser of Epstein                 By Benjamin Weiser               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/nyregio                                                    By Rick Rojas Karen Zraick and
2022-02-15   2022-02-16 n/sandy-hook-families-settlement.html            Families Settle Gunmaker Suit For 73 Million Troy Closson                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/opinion How Should We Reform Elections Look to
2022-02-15   2022-02-16 /alaska-elections-ranked-choice.html             Alaska                                       By Richard H Pildes              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/sports/b ExMet Harvey Said He Got Opioids From             By Marina Trahan Martinez and
2022-02-15   2022-02-16 aseball/matt-harvey-tyler-skaggs.html            Angels Employee                              Benjamin Hoffman                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/sports/b
                        asketball/nba-cleveland-cavaliers-jarrett-allen- The Cavs Finally Seem To Be Moving
2022-02-15   2022-02-16 darius-garland.html                              Beyond A Guy Named LeBron                    By Sopan Deb                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/sports/o
                        lympics/alex-hall-nick-goepper-gold-silver- Americans Take Gold and Silver in Mens
2022-02-15   2022-02-16 slopestyle-skiing.html                           Slopestyle Skiing                            By John Branch                   TX 9-154-386   2022-04-04



                                                                                   Page 3381 of 5793
                        https://www.nytimes.com/2022/02/15/sports/o
                        lympics/kamila-valieva-short-program-
2022-02-15   2022-02-16 routine.html                                Whirling at the Center of a Storm          By Juliet Macur                  TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/15/sports/o
2022-02-15   2022-02-16 lympics/us-alpine-skiing-medals.html        A Medal Machine in Disrepair               By Matthew Futterman             TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/15/sports/t
                        ennis/djokovic-vaccine-wimbledon-french-    Djokovic Makes It Clear He Wont Get
2022-02-15   2022-02-16 open.html                                   Vaccinated No Matter What                  By Christopher Clarey            TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/15/technol
2022-02-15   2022-02-16 ogy/linus-sebastian-youtube-company.html A YouTube Star Builds His Empire               By Shira Ovide                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/technol Metamorphosis In Workplace ExFacebookers
2022-02-15   2022-02-16 ogy/metamates-meta-facebook.html            Are Metamates                               By Mike Isaac and Sheera Frenkel TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/15/us/josh- Stark Transformation From Ohio Moderate to
2022-02-15   2022-02-16 mandel-ohio-trump.html                      Trumps No 1 Ally                            By Jennifer Medina and Lisa Lerer TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/us/polit Jan 6 Panel Digs Into Plan To Deploy Bogus
2022-02-15   2022-02-16 ics/jan-6-subpoenas-trump.html              Electors                                    By Luke Broadwater                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/us/polit Rice Announces Retirement 30th House
2022-02-15   2022-02-16 ics/kathleen-rice-retirement.html           Democrat to Do So                           By Annie Karni                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/us/polit For US Spy Agencies Decoding Putins Moves By David E Sanger Julian E Barnes
2022-02-15   2022-02-16 ics/us-russia-putin-intelligence.html       Is a Special Challenge                      and Eric Schmitt                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/us/polit US Arms Could Help Ukraine Blunt but Not
2022-02-15   2022-02-16 ics/us-ukraine-weapons.html                 Stop a Russian Invasion                     By Eric Schmitt and John Ismay    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/world/a
                        mericas/honduras-president-juan-orlando-    ExPresident Of Honduras Is Detained In      By Joan Suazo and Anatoly
2022-02-15   2022-02-16 hernandez-detained.html                     Drug Case                                   Kurmanaev                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/world/a
                        mericas/russia-putin-latin-america-         Far From Ukraine Putin Steps Up Russias     By Jack Nicas and Anton
2022-02-15   2022-02-16 bolsonaro.html                              Wooing of Latin America                     Troianovski                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/world/a Rape Scandal Ends in Prison For Teacher In By Richard C Paddock and Dera
2022-02-15   2022-02-16 sia/indonesia-teacher-child-sex-abuse.html  Indonesia                                   Menra Sijabat                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/world/a
2022-02-15   2022-02-16 sia/olympics-china-snowsports.html          China Projects Power on Rink And Ski Slope By Amy Qin                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/world/e At Penal Court Navalny Faces Fresh Charges
2022-02-15   2022-02-16 urope/alexsei-navalny-russia-court.html     Of Corruption                               By Ivan Nechepurenko              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/world/e
                        urope/france-elections-pecresse-great-      Racist Conspiracy Theory Seeps Into Frances
2022-02-15   2022-02-16 replacement.html                            Mainstream                                  By Norimitsu Onishi               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/15/world/e Inquiry Sought in Italy Into Clerical Sex
2022-02-15   2022-02-16 urope/italy-catholic-church-sexual-abuse.html Abuse                                    By Elisabetta Povoledo           TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/15/world/e
2022-02-15   2022-02-16 urope/prince-andrew-settlement-epstein.html No Admission of Guilt and Many Questions   By Mark Landler                  TX 9-154-386     2022-04-04




                                                                                 Page 3382 of 5793
                        https://www.nytimes.com/2022/02/15/world/e Putin Offering Troop Pullback And         By Anton Troianovski and Michael
2022-02-15   2022-02-16 urope/russia-ukraine-troops.html           Diplomacy                                 D Shear                          TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/15/world/e Two Rivals Playing an EverRiskier Game of
2022-02-15   2022-02-16 urope/us-russia-ukraine-war.html           Signaling to Achieve Their Ends           By Max Fisher                    TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/15/world/ Israel Leader Hopes for Progress With
2022-02-15   2022-02-16 middleeast/israel-bahrain-naftali-bennett.html Bahrain on Substance                        By Patrick Kingsley        TX 9-154-386     2022-04-04
                        https://www.nytimes.com/live/2022/02/14/spo
                        rts/olympics-medals-winter/eileen-gu-gets-
                        silver-in-freeski-slopestyle-adding-to-her-gold
2022-02-15   2022-02-16 from-big-air                                    Gu Adds a Silver To Her Collection         By John Branch             TX 9-154-386     2022-04-04
                        https://www.nytimes.com/live/2022/02/15/wo
                        rld/covid-19-tests-cases-vaccine/mask-
                        mandates-are-lifting-in-many-states-but-not-
2022-02-15   2022-02-16 everywhere                                      Mask Mandates Soon Ending in Many States   By Alyssa Lukpat           TX 9-154-386     2022-04-04
                        https://www.nytimes.com/live/2022/02/15/wo
                        rld/russia-ukraine-news/us-arms-shipped-to-
                        ukraine-are-unlikely-to-stop-a-russian-         US Arms Could Help Ukraine Blunt but Not By Eric Schmitt John Ismay and
2022-02-15   2022-02-16 invasion                                        Stop a Russian Invasion                  Catie Edmondson                TX 9-154-386   2022-04-04
                                                                                                                 By Emily Steel Jodi Kantor
                        https://www.nytimes.com/2022/02/15/busines For CNNs Chief Walls Were Slowly Closing Michael M Grynbaum James B
2022-02-16   2022-02-16 s/jeff-zucker-cnn.html                       In                                          Stewart and John Koblin        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/opinion
2022-02-16   2022-02-16 /biden-putin-ukraine.html                    Is Sleepy Joe Making Vladimir Putin Blink   By Thomas L Friedman           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/opinion
2022-02-16   2022-02-16 /ukraine-war-biden.html                      Dont Wish For a PostPax Americana           By Bret Stephens               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/theater/
2022-02-16   2022-02-16 black-no-more-review.html                    Erasing Race but Not the Roots of Hate      By Jesse Green                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/theater/
                        merchant-of-venice-theater-for-a-new-
2022-02-16   2022-02-16 audience-review.html                         An Expert Practitioner Administers the Pain By Alexis Soloski              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/us/ahm Prosecutors Center Argument on Arbery          By Tariro Mzezewa and Richard
2022-02-16   2022-02-16 aud-arbery-trial-hate-crimes.html            Killers Failure to Help as He Lay Dying     Fausset                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/us/harv Critics Attack Harvards Release of Therapy
2022-02-16   2022-02-16 ard-kilburn-therapy-records.html             Records in Suit                             By Anemona Hartocollis         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/us/polit Democrats With Eye on Midterms Search for By Emily Cochrane and Michael D
2022-02-16   2022-02-16 ics/democrats-inflation-gas-tax-deficit.html Ways to Bring Down Rising Prices            Shear                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/us/sonn Pick to Run Universities Draws Outcry In
2022-02-16   2022-02-16 y-perdue-georgia-chancellor.html             Georgia                                     By Giulia Heyward              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/world/c The Group Trying to Steer Ottawas Restive By Sarah Maslin Nir and Natalie
2022-02-16   2022-02-16 anada/canada-protests-ottawa.html            Protesters                                  Kitroeff                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/arts/des
                        ign/basquiat-painting-orlando-mumford-       In Orlando 25 Basquiats Or Something Very
2022-02-16   2022-02-16 museum.html                                  Similar                                     By Brett Sokol                 TX 9-154-386   2022-04-04




                                                                                 Page 3383 of 5793
                        https://www.nytimes.com/2022/02/16/sports/o
2022-02-16   2022-02-16 lympics/kamila-valieva-olympics-doping.html Moment Passes And a Medal Loses Its Luster By Kurt Streeter                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/movies/
2022-02-08   2022-02-17 bad-luck-banging-or-loony-porn.html          A Perfect Setting for a Romanian Sex Satire By Carmen Gray                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/style/an From Pretend Heiress to Endless Days in
2022-02-14   2022-02-17 na-delvey-sorokin-interview.html             Detention                                    By Emily Palmer                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/style/m
2022-02-14   2022-02-17 ens-wear-designers.html                      Passion Comes Stitched In                    By Guy Trebay                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/arts/coa Coachella to Return With No Masks or
2022-02-15   2022-02-17 chella-masks-vaccines-covid.html             Vaccines Required                            By Alyssa Lukpat                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/arts/mu Ian McDonald 75 MultiInstrumentalist With
2022-02-15   2022-02-17 sic/ian-mcdonald-dead.html                   Rocks King Crimson and Foreigner             By Jim Farber                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/nyregio The Police Failed to Act So Her Friends
2022-02-15   2022-02-17 n/lauren-smith-fields-tiktok.html            Sought Justice on TikTok                     By Lola Fadulu                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/nyregio Mayor Is Urged to Expand Program That
2022-02-15   2022-02-17 n/nyc-mta-discount-fare.html                 Helps New Yorks Poorest Ride the Subway By Ana Ley                             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/opinion Why We Are Not Facing the Prospect of a
2022-02-15   2022-02-17 /second-civil-war.html                       Second Civil War                             By Jamelle Bouie                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/opinion
2022-02-15   2022-02-17 /texas-electricity-grid.html                 Texas Must Update Its Power Grid             By Michael E Webber               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/style/ka
                        nye-west-kim-kardashian-divorce-
2022-02-15   2022-02-17 timeline.html                                Kanye West Day by Day                        By Gina Cherelus                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/style/w
                        here-did-the-cool-kids-party-during-fashion-
2022-02-15   2022-02-17 week.html                                    This Is What New York Is All About           By John Ortved and Denny Lee      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/upshot/                                                By Emily Badger and Andri
2022-02-15   2022-02-17 homes-garage-door-shortage.html              Oh You Want a Garage Door                    Tambunan                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/interactive/2022/02/
                        15/business/energy-environment/russia-gas- How a Ukraine Conflict Could Reshape           By Josh Holder Karl Russell and
2022-02-15   2022-02-17 europe-ukraine.html                          Europes Reliance on Russia                   Stanley Reed                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/busines
                        s/media/viacomcbs-paramount-plus-            ViacomCBS Is Renamed To Encompass
2022-02-16   2022-02-17 subscribers.html                             Streaming Aims                               By Brooks Barnes                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/sports/o American Men Enter Without a Loss and Exit
2022-02-16   2022-02-17 lympics/mens-hockey-us-slovakia.html         Without a Medal                              By Alan Blinder                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/us/san- Victims Rape Kit Was Used To Link Her to
2022-02-16   2022-02-17 francisco-police-rape-kit-dna.html           Another Crime                                By Azi Paybarah                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/arts/dan
                        ce/review-sankofa-danzafro-accommodating-
2022-02-16   2022-02-17 lie.html                                     AfroColombian Pride With Intent              By Brian Seibert                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/books/b
                        ook-bans-markus-dohle-donation-pen-          Publishing Executive Pledges 500000 to Fight
2022-02-16   2022-02-17 america.html                                 Book Bans                                    By Elizabeth A Harris             TX 9-154-386   2022-04-04



                                                                                 Page 3384 of 5793
                        https://www.nytimes.com/2022/02/16/books/r
                        eview-born-of-lakes-plains-mixed-descent-
2022-02-16   2022-02-17 peoples-american-west-anne-f-hyde.html     Turning Strangers Into Kin in the West        By Jennifer Szalai       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/busines
2022-02-16   2022-02-17 s/blackstone-real-estate-acquisition.html  Blackstone Buys Housing In Southeast          By Maureen Farrell       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/busines New Report Criticizes China for Not
2022-02-16   2022-02-17 s/economy/biden-china-trade-report.html    Upholding Trade Commitments                   By Ana Swanson           TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/16/busines Fed Debated Speeding Up Removal of
2022-02-16   2022-02-17 s/economy/fed-january-meeting-minutes.html Economic Support                              By Ana Swanson           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/busines
2022-02-16   2022-02-17 s/economy/retail-sales-january.html         Retail Sales In January Were Robust          By Coral Murphy Marcos   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/busines
                        s/media/sarah-palin-libel-new-york-         Jurors in Times Case Say They Knew of
2022-02-16   2022-02-17 times.html                                  Judges Decision to Dismiss It                By Katie Robertson       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/busines
                        s/media/televisa-univision-vix-streaming-   New Giant Takes Shape For Streaming in
2022-02-16   2022-02-17 platform.html                               Spanish                                      By Nicole Sperling       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/busines Are FreeMarket Ideas Stale Some Scholars
2022-02-16   2022-02-17 s/neoliberalism-free-market-research.html   Think So                                     By Steve Lohr            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/busines US to Forgive Loan Debt For 1800 DeVry
2022-02-16   2022-02-17 s/student-loans-devry-university.html       Students                                     By Stacy Cowley          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/busines Inflation in Britain Reaches 55 the Highest
2022-02-16   2022-02-17 s/uk-inflation-rate.html                    Rate in Three Decades                        By Eshe Nelson           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/health/ Doctors More Likely to Label Black Patients
2022-02-16   2022-02-17 black-patients-doctor-notes-diabetes.html   Uncooperative Studies Find                   By Roni Caryn Rabin      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/health/c Covid Patients More Likely to Develop
2022-02-16   2022-02-17 ovid-depression-anxiety.html                Mental Health Issues Study Finds             By Pam Belluck           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/movies/
2022-02-16   2022-02-17 berlin-film-festival-alcarras.html          Alcarrs Wins Top Prize in Berlin             By Thomas Rogers         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/movies/
2022-02-16   2022-02-17 black-film-archive-highlights.html          Highlights of the Black Film Archive         By Laura Zornosa         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/movies/
2022-02-16   2022-02-17 troy-kotsur-coda-deaf-actor.html            His Patience Is Paying Off                   By Kyle Buchanan         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/nyregio Adamss Budget Spares Police But Shaves 4
2022-02-16   2022-02-17 n/budget-adams-police-nyc.html              Billion Elsewhere                            By Emma G Fitzsimmons    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/nyregio What a Retiring Commissioner Has Seen in
2022-02-16   2022-02-17 n/daniel-nigro-fdny-retirement.html         53 Years of Firefighting                     By Ali Watkins           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/nyregio Governor by Chance Hochul Is Now the
2022-02-16   2022-02-17 n/kathy-hochul-governor.html                Democrats Favorite                           By Nicholas Fandos       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/nyregio Kushner Ally With Pardon Pleads Guilty In
2022-02-16   2022-02-17 n/ken-kurson-trump-kushner-plea.html        New Case                                     By Jonah E Bromwich      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/nyregio New Yorks Chief Judge Aims To
2022-02-16   2022-02-17 n/new-york-court-system.html                Consolidate Court System                     By Luis FerrSadurn       TX 9-154-386   2022-04-04




                                                                                Page 3385 of 5793
                        https://www.nytimes.com/2022/02/16/opinion
2022-02-16   2022-02-17 /big-tech-stock-market.html                Big Techs Rise May Just Be Starting      By Farhad Manjoo                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/opinion Im Russian My Cousins Are Ukrainian What
2022-02-16   2022-02-17 /russia-ukraine-war.html                   if There Is a War                        By Anastasia Edel                       TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/16/science Transgender Swimmers Success Revives Old
2022-02-16   2022-02-17 /lia-thomas-testosterone-womens-sports.html Debate                                  By Azeen Ghorayshi                      TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/16/sports/b Injuries and Illness Pile Up for the Bulls As
2022-02-16   2022-02-17 asketball/chicago-bulls-demar-derozan.html Do the Victories                                 By Tania Ganguli                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/sports/n Against Villanova Providence Gets Taste of
2022-02-16   2022-02-17 caabasketball/providence-villanova.html     the Tests Ahead                                 By Billy Witz                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/sports/o
2022-02-16   2022-02-17 lympics/chinese-food-bubble-hotels.html     Searching for Local Flavor in the Bubble        By Andrew Keh                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/sports/o The Water Is Purer Than Pure Dont Dare          By Rick Rojas and Gabriela
2022-02-16   2022-02-17 lympics/curling-ice.html                    Drink It                                        Bhaskar                         TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/16/sports/o American Cant Repeat Triumph in Team          By Talya Minsberg and Andrew
2022-02-16   2022-02-17 lympics/jessie-diggins-rosie-brennan-ski.html Sprint                                      Das                               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/sports/o
                        lympics/karen-chen-figure-skating-            Sheathed in Her Mothers Love Plus Fabric
2022-02-16   2022-02-17 dresses.html                                  Crystals and Glue                           By Juliet Macur                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/sports/o Shiffrins Setbacks Actually Follow A
2022-02-16   2022-02-17 lympics/mikaela-shiffrin-alpine-ski.html      Familiar Arc                                By Bill Pennington                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/style/bu
2022-02-16   2022-02-17 tterfly-mask-new-york-fashion-week.html       Butterflies With Lots of Bling              By Jessica Testa                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/style/co
                        llina-strada-sustainable-fashion-reality-
2022-02-16   2022-02-17 show.html                                     A Labels Pure Fashion Comedy                By Jessica Testa                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/style/ny
2022-02-16   2022-02-17 fashion-week-2022-parties.html                Yes There Were Fashion Week Parties         By John Ortved                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/technol
2022-02-16   2022-02-17 ogy/google-android-privacy.html               Google Says Its Working On Privacy          By Daisuke Wakabayashi            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/technol
2022-02-16   2022-02-17 ogy/personaltech/energy-savings-nest.html     Tech Alone Isnt Answer to High Energy Bills By Brian X Chen                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/theater/ Struggling to Keep the Pieces of a Family
2022-02-16   2022-02-17 wolf-play-review-soho-rep.html                Mosaic in Place                             By Naveen Kumar                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/us/geor Woman Sues Over Death of Child Born in
2022-02-16   2022-02-17 gia-birth-clayton-county.html                 Jail                                        By Eduardo Medina                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/us/harri Harriet S Shapiro 93 Broke Barrier as Lawyer
2022-02-16   2022-02-17 et-shapiro-dead.html                          For the Solicitor General                   By Katharine Q Seelye             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/us/jasm
                        ine-martinez-hitman-paycheck-protection-
2022-02-16   2022-02-17 program.html                                  PPP Loan Used to Pay Hit Man Police Say     By Vimal Patel and Jesus Jimnez   TX 9-154-386   2022-04-04




                                                                                   Page 3386 of 5793
                        https://www.nytimes.com/2022/02/16/us/polit In Texas Governors Race Gun Comments
2022-02-16   2022-02-17 ics/beto-orourke-texas-governor-race.html   From 2020 Haunt ORourke                     By J David Goodman                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/us/polit Letter Seeks Review of Black Migrants
2022-02-16   2022-02-17 ics/biden-immigration-haiti.html            Treatment                                   By Eileen Sullivan                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/16/us/polit
2022-02-16   2022-02-17 ics/biden-trump-white-house-visitor-logs.html Biden Rebuffs Trumps Effort To Shield Logs By Michael S Schmidt            TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/16/us/polit ExInterior Secretary Broke Ethics Rules
2022-02-16   2022-02-17 ics/ryan-zinke-ethics.html                    Inquiry Finds                              By Linda Qiu                    TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/16/us/polit After Afghan Airlift US Warns Americans
2022-02-16   2022-02-17 ics/us-evacuation-ukraine-kabul.html          Abroad Not to Count on a Rescue            By Michael Crowley              TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/16/us/san- In San Francisco Overwhelming Vote to Oust
2022-02-16   2022-02-17 francisco-school-board-recall.html            3 on Education Board                       By Thomas Fuller                TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/16/us/scho Conservative Group Sues Over Admissions
2022-02-16   2022-02-17 ol-admissions-affirmative-action.html         Policies At Top Public High Schools        By Stephanie Saul               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/16/us/walt Walter Dellinger Constitutional Scholar Dies
2022-02-16   2022-02-17 er-dellinger-dead.html                        at 80                                      By Clay Risen                   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/16/world/a 94 Killed as Mudslides Ravage Region in
2022-02-16   2022-02-17 mericas/brazil-mudslides-death.html           Brazil                                     By Ana Ionova                   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/16/world/a Hugo Torres Former Rebel Turned Political By Oscar Lopez and Yubelka
2022-02-16   2022-02-17 mericas/hugo-torres-dead.html                 Prisoner Is Dead at 73                     Mendoza                         TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/16/world/a Hong Kong Cant Live With the Virus or Stop
2022-02-16   2022-02-17 sia/hong-kong-covid-omicron-wave.html         It                                         By Vivian Wang and Austin Ramzy TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/16/world/a No More Straddling Sides for Those With
2022-02-16   2022-02-17 sia/olympics-china-american-athletes.html     Dual Ties                                  By Amy Qin                      TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/16/world/c Defiant Protesters in Ottawa Brace for a
2022-02-16   2022-02-17 anada/ottawa-protesters-police.html           Clampdown Amid Warnings                    By Dan Bilefsky                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/16/world/e Britains Royal Family Has a New Problem
2022-02-16   2022-02-17 urope/andrew-prince-charles-charity.html      This Time It Involves Charles              By Mark Landler                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/16/world/e Ruling Lets EU Cut Aid To Hungary and         By Matina StevisGridneff Monika
2022-02-16   2022-02-17 urope/eu-court-funds-hungary-poland.html      Poland                                     Pronczuk and Benjamin Novak     TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/16/world/e Ukraine Putins Bigger Fear May Lie in
2022-02-16   2022-02-17 urope/poland-missile-base-russia-ukraine.html Poland                                    By Andrew Higgins                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/world/e London Police Facing Crisis and Stuck in a
2022-02-16   2022-02-17 urope/uk-police-london-scandals.html          Political Fight Seek a New Leader         By Megan Specia                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/world/e West Sees Buildup of Russian Force Not a     By Andrew E Kramer Anton
2022-02-16   2022-02-17 urope/ukraine-russia-putin-nato.html          Drawdown                                  Troianovski and Michael D Shear   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/interactive/2022/02/
                        16/sports/olympics/quad-jumps-figure-         How the Quad Jump Is Changing Womens      By Juliet Macur Weiyi Cai Yuliya
2022-02-16   2022-02-17 skating.html                                  Figure Skating                            ParshinaKottas and Joe Ward      TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/16/busines Palins Loss Wont End Challenges To Libel
2022-02-17   2022-02-17 s/sarah-palin-sullivan-libel-law.html         Law                                       By Jeremy W Peters                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/busines Facing Doubts About His Wealth Trump
2022-02-17   2022-02-17 s/trump-wealth-mazars.html                    Produces New Figures                      By Mike McIntire                  TX 9-154-386   2022-04-04



                                                                                Page 3387 of 5793
                        https://www.nytimes.com/2022/02/16/opinion
2022-02-17   2022-02-17 /redistricting-gerrymandering-voting.html      Blame Mitch Or Maybe Brad                 By Gail Collins               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/us/ahm Prosecutors Offer Vast Evidence of Arberys By Tariro Mzezewa and Richard
2022-02-17   2022-02-17 aud-arbery-mcmichael-racism.html               Killers Racism                            Fausset                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/us/polit Afghanistan Hurt Bidens Foreign Policy       By Blake Hounshell and Leah
2022-02-17   2022-02-17 ics/biden-ukraine-crisis.html                  Credibility Can Ukraine Restore It        Askarinam                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/us/polit A Gun Law In Missouri Draws a Suit By the
2022-02-17   2022-02-17 ics/missouri-gun-rights-law.html               US                                        By Glenn Thrush               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/insider/
2022-02-17   2022-02-17 covering-the-us-during-the-pandemic.html       Covering the US the Past Two Years        By Steven Moity               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/style/ne The Return Of the Suit As Well As Moving
2022-02-17   2022-02-17 w-york-fashion-week-julia-fox.html             On                                        By Vanessa Friedman           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/world/e Greta Ferusic 97 Holocaust Survivor Who
2022-02-08   2022-02-18 urope/greta-ferusic-dead.html                  Also Endured Siege of Sarajevo            By Penelope Green             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/climate Tackling Environmental Racism Without
2022-02-15   2022-02-18 /biden-environment-race-pollution.html         Mentioning Race                           By Lisa Friedman              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/movies/
2022-02-15   2022-02-18 icahn-the-restless-billionaire-review.html     Icahn The Restless Billionaire            By Nicolas Rapold             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/movies/
2022-02-15   2022-02-18 oscar-peterson-black-white-review.html         Oscar Peterson Black White                By Calum Marsh                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/opinion New Yorks Efforts to Achieve Equity Are       By Jim Quinn and Hannah E
2022-02-15   2022-02-18 /nyc-black-victims-crime.html                  Hurting Black People                      Meyers                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/movies/ The Voice and Passion Of Italy for Four
2022-02-16   2022-02-18 for-lucio-review.html                          Decades                                   By AO Scott                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/arts/mu
2022-02-16   2022-02-18 sic/beverly-ross-dead.html                     Beverly Ross 87 Rock n Roll Songwriter    By Alex Traub                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/movies/
2022-02-16   2022-02-18 taste-review.html                              Images From a Dream That Floats Away      By Wesley Morris              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/sports/o
2022-02-16   2022-02-18 lympics/us-canada-womens-hockey.html           Northern Thunder                          By Alan Blinder               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/technol
2022-02-16   2022-02-18 ogy/metamates-googlers.html                    Nope to Metamates Googlers and Puritans   By Shira Ovide                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/world/a Afghans Seeking Answers Find Room for
2022-02-16   2022-02-18 sia/afghanistan-twitter-spaces-taliban.html    Debate on Twitter Spaces                  By Sharif Hassan              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/sports/o Alpine Skiing A Rare Skier Dominates An
2022-02-17   2022-02-18 lympics/womens-ski-cross.html                  Unpredictable Sport                       By Victor Mather              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/dan
                        ce/review-cage-shuffle-marathon-paul-
2022-02-17   2022-02-18 lazar.html                                     Accidental Alignments of Words and Motion By Siobhan Burke              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/dan
                        ce/teresa-reichlen-retiring-from-new-york-city
2022-02-17   2022-02-18 ballet.html                                    A Hitchcock Blonde Is Bidding Farewell    By Gia Kourlas                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/des
2022-02-17   2022-02-18 ign/faith-ringgold-new-museum.html             Up the Path of Most Resistance            By Holland Cotter             TX 9-154-386   2022-04-04




                                                                               Page 3388 of 5793
                        https://www.nytimes.com/2022/02/17/arts/des
                        ign/met-museum-drawings-french-
2022-02-17   2022-02-18 revolution.html                              Dangerous Beauty in the French Revolution By Jason Farago                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/des
                        ign/yes-men-collective-carriage-trade-
2022-02-17   2022-02-18 gallery.html                                 Mix Art and Activism Then Add Laughs       By Blake Gopnik                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/fist
2022-02-17   2022-02-18 ful-of-vengeance-review.html                 Fistful of Vengeance                       By Teo Bugbee                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/mu
                        sic/rokia-kone-jacknife-lee-bamanan-
2022-02-17   2022-02-18 review.html                                  Rokia Kon Sings for the World              By Jon Pareles                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/mu Spotifys Huge Bet on Rogan Brought           By Katherine Rosman Ben Sisario
2022-02-17   2022-02-18 sic/spotify-joe-rogan-misinformation.html    Headaches to Match                         Mike Isaac and Adam Satariano     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/pur
2022-02-17   2022-02-18 suit-review.html                             Pursuit                                    By Lisa Kennedy                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/tele
2022-02-17   2022-02-18 vision/severance-review.html                 That Makes Two of You                      By James Poniewozik               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/tele
                        vision/state-of-the-union-painting-with-
2022-02-17   2022-02-18 john.html                                    This Weekend I Have                        By Margaret Lyons                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/automo Tesla Phantom Braking Comes Under
2022-02-17   2022-02-18 biles/tesla-phantom-braking.html             Scrutiny                                   By Neal E Boudette                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/books/s
2022-02-17   2022-02-18 arah-polley-run-towards-the-danger.html      Secrecy Not for Sarah Polley               By Dave Itzkoff                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/busines AutoNation Says Half of the Cars Arriving at
2022-02-17   2022-02-18 s/autonation-cars-dealers.html               Dealerships Are Already Sold               By Neal E Boudette                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/busines Fed Is Watching for Signs of a WagePrices
2022-02-17   2022-02-18 s/economy/wages-rise-labor-shortage.html     Spiral                                     By Jeanna Smialek                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/busines Google Creates 100 Million Fund for Skills
2022-02-17   2022-02-18 s/google-training-program.html               Training Program                           By Steve Lohr                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/busines
2022-02-17   2022-02-18 s/jeff-koons-bmw.html                        A Jeff Koons Paint Job on a BMW Canvas     By Brett Berk                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/busines What if the Person You Hired Isnt the One
2022-02-17   2022-02-18 s/jobs-hiring-fraud.html                     You Interviewed                            By Emma Goldberg                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/busines Martin Tolchin 93 Times Reporter And a
2022-02-17   2022-02-18 s/media/martin-tolchin-dead.html             Founder of The Hill Is Dead                By Joseph P Fried                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/busines Student Loan Settlement Was Too Good to
2022-02-17   2022-02-18 s/navient-student-loan-settlement.html       Be True                                    By Stacy Cowley                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/busines                                              By Coral Murphy Marcos and
2022-02-17   2022-02-18 s/stock-market-today.html                    SellOff Deepens as Ukraine Adds to Fears   William P Davis                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/busines
2022-02-17   2022-02-18 s/us-trade-counterfeit-china.html            WeChat and AliExpress Added to Piracy List By Ana Swanson                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/climate Expecting Western Drought to End Soon Not
2022-02-17   2022-02-18 /noaa-weather-western-drought.html           Likely Forecasters Say                     By Henry Fountain                 TX 9-154-386   2022-04-04




                                                                               Page 3389 of 5793
                        https://www.nytimes.com/2022/02/17/fashion
2022-02-17   2022-02-18 /watches-adam-benedict-switzerland.html    Inspired by family history                 By Kathleen Beckett               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/17/fashion
2022-02-17   2022-02-18 /watches-auction-prices-philippe-dufour.html A sales force                            By Robin Swithinbank              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/fashion
                        /watches-clock-leonardo-da-vinci-dolce-and-
2022-02-17   2022-02-18 gabbana-milan.html                           Da Vinci the designer                    By Milena Lazazzera               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/fashion
                        /watches-clocks-german-films-
2022-02-17   2022-02-18 metropolis.html                              Tick tick tick                           By David Belcher                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/fashion
                        /watches-facets-bezels-girard-perregaux-
2022-02-17   2022-02-18 laureato.html                                A bit of an edge                         By Ming Liu                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/fashion
2022-02-17   2022-02-18 /watches-obscure-brands-switzerland.html     The brands you didnt know you wanted     By Victoria Gomelsky              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/fashion
2022-02-17   2022-02-18 /watches-retail-cartier-milan.html           A makeover for Cartier                   By Nazanin Lankarani              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/movies/
2022-02-17   2022-02-18 a-banquet-review.html                        A Banquet                                By Lena Wilson                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/movies/
2022-02-17   2022-02-18 dog-review.html                              Man Beast and the Road                   By AO Scott                       TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/17/movies/
2022-02-17   2022-02-18 downfall-the-case-against-boeing-review.html Downfall The Case Against Boeing         By Ben Kenigsberg                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/movies/
2022-02-17   2022-02-18 inspector-ike-review.html                    Inspector Ike                            By Glenn Kenny                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/movies/
2022-02-17   2022-02-18 strawberry-mansion-review.html               Strawberry Mansion                       By Amy Nicholson                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/movies/
2022-02-17   2022-02-18 ted-k-review.html                            Ted K                                    By Beatrice Loayza                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/movies/
2022-02-17   2022-02-18 the-automat-review.html                      Cultural Harmony For a Mere Nickel       By Wesley Morris                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/movies/
2022-02-17   2022-02-18 top-of-the-heap-christopher-st-john.html     A Black 70s Cop Not Named Shaft          By J Hoberman                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/movies/
2022-02-17   2022-02-18 uncharted-review.html                        Stop Me If Youve Heard This All Before   By Manohla Dargis                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/nyregio Poison Killed Brooklyn Boy And
2022-02-17   2022-02-18 n/grandmother-boy-poisoned-thallium.html Grandmother Police Say                       By Ali Watkins and Troy Closson   TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/17/nyregio Hochul Democrats Sudden Star Gains Partys
2022-02-17   2022-02-18 n/kathy-hochul-democratic-nomination.html Blessing                                     By Katie Glueck                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/nyregio State Attorney General Thorn in Trumps Side
2022-02-17   2022-02-18 n/letitia-james-ny-attorney-general.html   Cements Reelection Bid                      By Luis FerrSadurn               TX 9-154-386   2022-04-04




                                                                                Page 3390 of 5793
                        https://www.nytimes.com/2022/02/17/nyregio Judge Rules Attorney General May Question By Jonah E Bromwich Ben Protess
2022-02-17   2022-02-18 n/trump-investigation-letitia-james.html    Trump and Family                           and William K Rashbaum        TX 9-154-386        2022-04-04
                        https://www.nytimes.com/2022/02/17/opinion
2022-02-17   2022-02-18 /walter-dellinger-law-supreme-court.html    When He Spoke Justices Listened            By Jesse Wegman               TX 9-154-386        2022-04-04
                        https://www.nytimes.com/2022/02/17/sports/b Angels ExEmployee Found Guilty for Role in By Marina Trahan Martinez and
2022-02-17   2022-02-18 aseball/eric-kay-tyler-skaggs.html          Players Death                              Benjamin Hoffman              TX 9-154-386        2022-04-04

                        https://www.nytimes.com/2022/02/17/sports/b Celtics New Motto To Shoot Is Human To
2022-02-17   2022-02-18 asketball/basketball-celtics-ime-udoka.html Dish Divine                                By Scott Cacciola                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/17/sports/o                                            By Doug Mills and Jonathan
2022-02-17   2022-02-18 lympics/bobsled-olympics.html               Down in a Flash Then Lugged Back Up        Abrams                            TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/17/sports/o Curling No Repeat for US Men But a Chance
2022-02-17   2022-02-18 lympics/curling-us-men-semifinals.html      to Medal                                   By Rick Rojas                     TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/17/sports/o
                        lympics/kamila-valieva-falls-fourth-figure- Gasps Then Tears as One Russian Star Falls
2022-02-17   2022-02-18 skating.html                                and Another Rises                          By Juliet Macur                   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/17/sports/o
                        lympics/shiffrin-medals-combined-           A Third Fall and 2 Weeks A Star Would
2022-02-17   2022-02-18 slalom.html                                 Rather Forget                              By Matthew Futterman              TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/17/theater/ Expressing Herself Through Characters Who
2022-02-17   2022-02-18 sanaz-toossi-english-wish-you-were-here.html Cant                                        By Alexis Soloski               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/17/us/fourt Will Adults Need a 4th Vaccine Shot US
2022-02-17   2022-02-18 h-dose-covid-vaccine.html                    Health Officials Say Its Too Soon to Tell   By Sharon LaFraniere            TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/17/us/gail- Gail Halvorsen 101 Original Candy Bomber
2022-02-17   2022-02-18 halvorsen-obituary.html                      in Berlin Airlift Dies                      By Richard Goldstein            TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/17/us/high- Push to Move On From Covid Sharpens Pain     By Amanda Morris and Maggie
2022-02-17   2022-02-18 risk-covid-immunocompromised.html            of Those at Risk                            Astor                           TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/17/us/polit Revival of Nuclear Deal With Iran Inches
2022-02-17   2022-02-18 ics/iran-nuclear-deal-biden.html             Closer                                      By Lara Jakes                   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/17/us/polit Senate Passes ShortTerm Spending Bill to
2022-02-17   2022-02-18 ics/senate-spending-bill-shutdown.html       Avoid Federal Shutdown                      By Emily Cochrane               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/17/us/polit Senate Agrees on One Thing It Needs to
2022-02-17   2022-02-18 ics/senate-vote-speed.html                   Speed Up                                    By Carl Hulse                   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/17/us/polit US Army Troops Arrive in Poland to Give
2022-02-17   2022-02-18 ics/us-troops-ukraine-russia.html            Reassurance to Allies                       By Eric Schmitt                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/17/us/san- Recall of San Francisco School Board
2022-02-17   2022-02-18 francisco-school-board-parents.html          Members Was Fueled by Asian Ire             By Thomas Fuller                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/world/a After 9 Years France and Allies Will Begin    By Norimitsu Onishi Ruth Maclean
2022-02-17   2022-02-18 frica/mali-france-withdrawal.html            Withdrawal From Mali                        and Aurelien Breeden             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/world/a South Korea a Virus Success Story Is Forced
2022-02-17   2022-02-18 sia/south-korea-covid-spread.html            to Alter Its Approach                       By Choe SangHun                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/17/world/e EU Hopes to Transform Ties With African
2022-02-17   2022-02-18 urope/europe-africa-summit-eu.html           Union But Obstacles Are Dire                By Matina StevisGridneff        TX 9-154-386    2022-04-04




                                                                                Page 3391 of 5793
                        https://www.nytimes.com/2022/02/17/world/e A Whistling Sound Then an Explosion           By Andrew E Kramer and Valerie
2022-02-17   2022-02-18 urope/stanytsia-lushankya-shelling.html     Huddling and Hugging at a Kindergarten       Hopkins                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/world/e Fear of War Rises as Shelling Pelts Eastern   By Andrew E Kramer and Anton
2022-02-17   2022-02-18 urope/ukraine-conflict-russia-military.html Ukraine                                      Troianovski                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/world/e
                        urope/ukraine-russia-europe-nato-           After 30 Years of Peace A Continent
2022-02-17   2022-02-18 security.html                               Shudders Over the Ukraine Crisis             By Steven Erlanger               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/17/world/ Netflixs First Arabic Film Ignites Morality
2022-02-17   2022-02-18 middleeast/netflix-movies-arabic-debate.html Debate                                    By Mona ElNaggar                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/live/2022/02/16/spo
                        rts/olympics-medals-winter/brittany-bowe-    Bowe a WorldRecord Holder Takes Bronze in
2022-02-17   2022-02-18 1000-meter-speedskating                      Speedskating                              By Kevin Draper                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/fashion
2022-02-18   2022-02-18 /watches-ming-thein-malaysia.html            A young brand grows                       By Vivian Morelli                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/nyregio
                        n/cuomo-melissa-derosa-sexual-
2022-02-18   2022-02-18 harassment.html                              State Trooper Sues Cuomo and His Top Aide By Ed Shanahan                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/nyregio Budget Proposal From Adams May Limit
2022-02-18   2022-02-18 n/nyc-budget-composting-adams.html           Composting in New York City               By Anne Barnard                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/opinion
2022-02-18   2022-02-18 /biden-economy-inflation-growth.html         Bidens Good Economy Wont Sell Itself      By Paul Krugman                    TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/17/opinion
2022-02-18   2022-02-18 /liberalism-democracy-russia-ukraine.html  The Century of the Strongman Begins           By David Brooks                  TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/17/sports/o Gu Collects Her Second Gold Medal by
2022-02-18   2022-02-18 lympics/eileen-gu-halfpipe-skiing-gold.html Winning the Halfpipe                       By John Branch                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/us/polit
                        ics/biden-immigration-public-charge-
2022-02-18   2022-02-18 trump.html                                  New GreenCard Rules For People on Benefits By Eileen Sullivan                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/us/polit
2022-02-18   2022-02-18 ics/blinken-russia-ukraine-predictions.html Message to Moscow Prove Us Wrong           By David E Sanger                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/us/polit Durham Distances Himself From RightWing
2022-02-18   2022-02-18 ics/durham-right-wing-media-trump.html      Falsehoods                                 By Charlie Savage                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/us/polit
                        ics/kevin-mccarthy-harriet-hageman-liz-     McCarthy Is Endorsing Rival Seeking
2022-02-18   2022-02-18 cheney.html                                 Cheneys Seat                               By Annie Karni                     TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/17/world/c Police in Ottawa Area Plan an Imminent        By Sarah Maslin Nir Ian Austen
2022-02-18   2022-02-18 anada/canada-protest-police-crackdown.html Crackdown on Protesters                       Richard PrezPea and Vjosa Isai   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/insider/
2022-02-18   2022-02-18 a-day-at-the-olympics.html                  A Reporters Day at the Olympics              By Daniel Victor                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/movies/
2022-02-18   2022-02-18 texas-chainsaw-massacre-review.html         Texas Chainsaw Massacre                      By Jeannette Catsoulis           TX 9-154-386   2022-04-04



                                                                                 Page 3392 of 5793
                        https://www.nytimes.com/2022/02/14/opinion
2022-02-14   2022-02-19 /travel-covid.html                         Travel Is My Antidote for Fear             By Andrew McCarthy                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/15/world/a Push for Diversity Brings Slalom Racers      By SuiLee Wee and Matthew
2022-02-16   2022-02-19 sia/winter-olympics-no-snow-countries.html From the Tropics and Scrutiny                Futterman                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/books/p With ORourke Readers Were in the Right
2022-02-16   2022-02-19 j-orourke-books-essays.html                 Hands                                       By Dwight Garner                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/des
2022-02-17   2022-02-19 ign/stonehenge-british-museum.html          Still Chipping Away at a Prehistoric Riddle By Farah Nayeri                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/des
2022-02-17   2022-02-19 ign/zwirner-los-angeles-gallery.html        Zwirner Plans to Open A Los Angeles Gallery By Robin Pogrebin               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/17/arts/mu
2022-02-17   2022-02-19 sic/kanye-west-jeen-yuhs-documentary.html Kanye West Percolates Then Blooms           By Jon Caramanica                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/movies/
2022-02-17   2022-02-19 berlin-film-festival-2022.html             Films That Distract From Our Discomfort    By Jessica Kiang                  TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/17/sports/o Nominally Absent 2nd in Medals Yet
2022-02-17   2022-02-19 lympics/russia-doping-scandals-medals.html Inescapable                                By Kevin Draper                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/us/polit She Was a Big Hit on TikTok Then a Fan
2022-02-17   2022-02-19 ics/tiktok-ava-majury.html                  Showed Up With a Gun                      By Elizabeth Williamson           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/gre The Makers of the 1962 Mockingbird Will
2022-02-18   2022-02-19 gory-peck-mockingbird-sequel.html           Keep Their Rights to a Sequel             By Alexandra Alter                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/opinion
2022-02-18   2022-02-19 /ottawa-protest-convoy.html                 The Giddy Terrifying Siege of Ottawa      By Michelle Goldberg              TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/17/sports/o A Performance Few Could Top but It Wasnt
2022-02-18   2022-02-19 lympics/figure-skating-scoring-explained.html Good Enough                              By Jer Longman                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/sports/o
                        lympics/russian-skating-coaches-valieva-
2022-02-18   2022-02-19 ioc.html                                      IOC Head Criticizes Chilling Treatment   By Kevin Draper                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/us/austi Officers May Be Indicted Over Treatment of
2022-02-18   2022-02-19 n-police-indictments-protests.html            Protesters                               By David Montgomery              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/world/a As Asian Teams Find Success Curlings Power
2022-02-18   2022-02-19 sia/olympics-curling-japan-beijing.html       Center Is Shifting to the East           By SuiLee Wee and Makiko Inoue   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/arts/mu
                        sic/new-york-philharmonic-santtu-matias-
2022-02-18   2022-02-19 rouvali.html                                  Another Candidate To Lead the Orchestra  By Zachary Woolfe                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/arts/mu
2022-02-18   2022-02-19 sic/tyshawn-sorey-rothko-chapel.html          Rothko Chapels New Musical Match         By Joshua Barone                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/arts/sid Sidney Miller 89 Who Championed Black
2022-02-18   2022-02-19 ney-miller-dead.html                          Music Dies                               By Neil Genzlinger               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/books/v Valerie Boyd 58 Acclaimed Biographer Who
2022-02-18   2022-02-19 alerie-boyd-dead.html                         Opened Doors for Others Dies             By Clay Risen                    TX 9-154-386   2022-04-04




                                                                                Page 3393 of 5793
                        https://www.nytimes.com/2022/02/18/busines DraftKings Recruits Fewer Bettors Than
2022-02-18   2022-02-19 s/draftkings-earnings-4q-2021.html           Expected                                   By Stephen Gandel                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/busines
                        s/economy/china-us-olympics-                 For Companies Winning in China Means
2022-02-18   2022-02-19 sponsorships.html                            Losing Somewhere Else                      By Ana Swanson                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/busines
                        s/economy/federal-reserve-trading-           New Ethics Rules Are Set For Fed Officials By Jeanna Smialek and Madeleine
2022-02-18   2022-02-19 restrictions.html                            Trading                                    Ngo                              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/busines
                        s/energy-environment/oil-ukraine-russia-     Amid Ukraine Tension Traders Hope Iran
2022-02-18   2022-02-19 iran.html                                    Deal Could Boost Oil Supply                By Stanley Reed                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/busines
                        s/fanatics-mitchell-ness-sports-             Fanatics Expands by Buying Fellow Sports
2022-02-18   2022-02-19 merchandise.html                             Merchandiser                               By Lauren Hirsch                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/busines CNN Executive Let ExGovernor Steer           By Michael M Grynbaum John
2022-02-18   2022-02-19 s/media/allison-gollust-cnn-cuomo.html       Interviews Inquiry Finds                   Koblin and Emily Steel           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/busines 10 Will Give You a Share Of a Historic
2022-02-18   2022-02-19 s/media/batman-comic-for-sale.html           Comic Book                                 By George Gene Gustines          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/busines
                        s/multinationals-in-ukraine-are-ready-for-a- Multinational Companies in Ukraine Are
2022-02-18   2022-02-19 conflict-but-staying-put.html                Ready for Conflict but Stay Put            By Liz Alderman and Melissa Eddy TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/busines                                              By Coral Murphy Marcos and Eshe
2022-02-18   2022-02-19 s/stocks-bonds-ukraine.html                  Another Down Day Closes a Jittery Week     Nelson                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/busines
2022-02-18   2022-02-19 s/us-approves-smart-headlights.html          US Approval of New Headlights Has a Caveat By Eric A Taub                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/movies/ Once Upon a Time When Dining Out Was
2022-02-18   2022-02-19 automat-movie-interview.html                 DIY                                        By Nicolas Rapold                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/nyregio Gus Decision Resonates With Chinese
2022-02-18   2022-02-19 n/eileen-gu-chinese-american.html            Americans                                  By Ashley Wong                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/nyregio Was a Greenwich Socialite Given Judicial     By Neil Vigdor and Eduardo
2022-02-18   2022-02-19 n/hadley-palmer-greenwich.html               Favoritism                                 Medina                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/nyregio A Move to Keep the Homeless From Living By Andy Newman Dana Rubinstein
2022-02-18   2022-02-19 n/homeless-people-subway-trains-mta.html on the Subways                                 and Michael Gold                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/opinion Remembering PJ ORourke the Last Funny
2022-02-18   2022-02-19 /christopher-buckley-pj-orourke.html         Conservative                               By Christopher Buckley           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/sports/b Opening Day MLB Seems Focused on
2022-02-18   2022-02-19 aseball/mlb-lockout-manfred.html             October                                    By Tyler Kepner                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/sports/g Enriched by Tour Mickelson Moves To
2022-02-18   2022-02-19 olf/mickelson-saudi-arabia-pga.html          Challenge It                               By Bill Pennington               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/18/sports/o A Spectacle That Shook The World Of
2022-02-18   2022-02-19 lympics/olympics-skating-valieva-age.html Skating                                      By Juliet Macur                 TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/18/sports/o
                        lympics/tamara-moskvina-coach-pairs-figure-
2022-02-18   2022-02-19 skating.html                                Snorkels for Skaters Four Golds Dont Lie   By Jer Longman                  TX 9-154-386     2022-04-04



                                                                                 Page 3394 of 5793
                        https://www.nytimes.com/2022/02/18/technol                                           By Steven Lee Myers Paul Mozur
2022-02-18   2022-02-19 ogy/china-olympics-propaganda.html         The Best Olympics Ever According to China and Jeff Kao                      TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/18/technol Shutdowns Of Internet Offer Lesson On        By Adam Satariano Paul Mozur
2022-02-18   2022-02-19 ogy/kazakhstan-internet-russia-ukraine.html Conflicts                                   and Valerie Hopkins              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/us/kim- ExOfficer in Minnesota Is Sentenced to 2
2022-02-18   2022-02-19 potter-sentence-manslaughter.html           Years Over Fatal Traffic Stop               By Nicholas BogelBurroughs       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/us/mari Marine Reservist Charged in Jan 6 Riot Is
2022-02-18   2022-02-19 ne-corps-nurse-fake-vaccine-cards.html      Accused in Forged Vaccination Card Plot     By Michael Levenson              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/us/nash
                        ville-gerrymandering-republican-            GOP Takes Scalpel to Nashville House
2022-02-18   2022-02-19 democrat.html                               District                                    By Michael Wines                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/us/polit Judge Rules Lawsuits Against Trump Over     By Alan Feuer and Luke
2022-02-18   2022-02-19 ics/civil-suits-trump-jan-6.html            Attack on the Capitol Can Proceed           Broadwater                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/us/polit Senate Opts for Resolution on Ukraine After
2022-02-18   2022-02-19 ics/congress-russia-sanctions.html          Sanctions Effort Fails                      By Catie Edmondson               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/us/polit Jim Hagedorn 59 Staunch Ally of Trump in
2022-02-18   2022-02-19 ics/jim-hagedorn-dead.html                  the House                                   By Katharine Q Seelye            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/us/polit Former First Lady Assails Rejection of
2022-02-18   2022-02-19 ics/melania-trump-charity-donation.html     Charitable Offer as Attempt to Cancel Me    By Eric Lipton                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/us/polit Progressive Prosecutors Feel Pressure On
2022-02-18   2022-02-19 ics/prosecutors-midterms-crime.html         Crime                                       By Astead W Herndon              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/us/polit                                             By Aishvarya Kavi and Julian E
2022-02-18   2022-02-19 ics/submarine-spy-guilty-plea.html          Navy Wife Pleads Guilty In Spy Case         Barnes                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/us/polit
                        ics/supreme-court-remain-in-mexico-         Supreme Court to Review Remain in Mexico
2022-02-18   2022-02-19 asylum.html                                 Asylum Policy                               By Adam Liptak                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/us/polit
2022-02-18   2022-02-19 ics/texas-primary-voting-law.html           Rejected Ballot Applications Surge in Texas By Nick Corasaniti               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/us/polit                                             By Luke Broadwater and Michael S
2022-02-18   2022-02-19 ics/trump-archives-white-house.html         Trump Shipped Classified Files To MaraLago Schmidt                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/world/e Blustery PlaybyPlay of Windy Landings at
2022-02-18   2022-02-19 urope/heathrow-wind-eunice.html             Heathrow Goes Viral                         By Mark Landler                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/world/e
2022-02-18   2022-02-19 urope/putin-russia-ukraine.html             Enigmatic Figure at Heart of Crisis         By Anton Troianovski             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/world/e As Russia Mulls Options Ukraines Economy
2022-02-18   2022-02-19 urope/ukraine-economy-putin.html            Reels                                       By Valerie Hopkins               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/18/world/e Terror in Ukraines East As Mortar Fire Picks
2022-02-18   2022-02-19 urope/ukraine-russia-separatists-shelling.html Up                                       By Andrew E Kramer             TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/18/your-
2022-02-18   2022-02-19 money/inflation-mortgage-rates.html            Rising Rates May Push Up Mortgages       By Ron Lieber                  TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/18/us/ahm Defense Team Rests Case in Arbery Hate
2022-02-19   2022-02-19 aud-arbery-mcmichael-trial.html                Crimes Trial                             By Tariro Mzezewa              TX 9-154-386     2022-04-04




                                                                               Page 3395 of 5793
                                                                                                                By Michael D Shear Valerie
                        https://www.nytimes.com/2022/02/18/us/polit Biden Says Hes Convinced Putin Has Decided Hopkins Marc Santora and Ivan
2022-02-19   2022-02-19 ics/biden-ukraine-russia.html                 to Invade                                 Nechepurenko                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/us/seatt Unequal Enforcement Led Officials to Repeal
2022-02-19   2022-02-19 le-bicycle-helmet.html                        A Seattle Helmet Law                      By Sophie Kasakove             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/18/books/r
                        eview/all-day-is-a-long-time-david-
2022-01-18   2022-02-20 sanchez.html                                  Chemical Reaction                         By Tommy Orange                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/18/books/r
                        eview/sequoia-nagamatsu-how-high-we-go-in-
2022-01-18   2022-02-20 the-dark.html                                 Mourning the Future                       By Lincoln Michel              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/25/books/r
2022-01-25   2022-02-20 eview/perpetual-west-mesha-maren.html         Borderland                                By Jennifer Clement            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/25/books/r
2022-01-25   2022-02-20 eview/south-to-america-imani-perry.html       Southern States of Mind                   By Tayari Jones                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/books/r
2022-02-01   2022-02-20 eview/mercy-street-jennifer-haigh.html        A Matter of Choice                        By Richard Russo               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/books/r
                        eview/stolen-focus-johann-hari-the-loop-jacob
2022-02-03   2022-02-20 ward.html                                     Scatterbrained                            By Cathy ONeil                 TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/06/books/r
2022-02-06   2022-02-20 eview/eating-to-extinction-dan-saladino.html Whats for Dinner                          By Pete Wells                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/books/r
                        eview/scotto-moore-rachel-hartman-delilah-
2022-02-07   2022-02-20 dawson.html                                  Rave Roam and Rage                        By Amal ElMohtar                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/t-
                        magazine/spring-womens-fashion-                                                        By Johnny Dufort and Suzanne
2022-02-07   2022-02-20 surreal.html                                 DreamSequence                             Koller                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/t-
2022-02-07   2022-02-20 magazine/tomas-saraceno-spiders-shed.html Life Beyond Humans                           By Arthur Lubow                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/t-
                        magazine/berlin-vietnamese-food-flower-
2022-02-08   2022-02-20 shop.html                                    The Hidden Table                          By Gisela Williams              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/t-
                        magazine/dan-mccarthy-schoolhouse-
2022-02-08   2022-02-20 upstate.html                                 Life After Life                           By Nick Haramis                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/t-                                                  By Luis Alberto Rodriguez and
2022-02-09   2022-02-20 magazine/spring-womens-fashion.html          Twin Peaks                                Jacob K                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/t-
                        magazine/wilkinson-rivera-furniture-
2022-02-09   2022-02-20 london.html                                  T Introduces                              By Aimee Farrell                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/us/trud Trude Feldman 97 Writer Covered the White
2022-02-09   2022-02-20 e-feldman-dead.html                          House With Easygoing Approach             By Sam Roberts                  TX 9-154-386   2022-04-04




                                                                               Page 3396 of 5793
                        https://www.nytimes.com/2022/02/10/books/r The BestSeller List Has Some Regrets and
2022-02-10   2022-02-20 eview/the-power-of-regret-daniel-pink.html Thats OK                                     By Elisabeth Egan                 TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/10/t-
2022-02-10   2022-02-20 magazine/black-psychedelia.html            Everybody Is a star                          By Emily Lordi                    TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/10/t-
2022-02-10   2022-02-20 magazine/george-clinton-art.html           George Clinton And His Legacy                By MH Miller                      TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/10/t-
2022-02-10   2022-02-20 magazine/hokkaido-japan-travel-hotels.html Holiday in Hokkaido                          By Mimi Vu                        TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/11/nyregio In 70s Brooklyn a Proud Vision Drove Black
2022-02-11   2022-02-20 n/the-east-brooklyn-documentary.html       Culture                                      By Precious Fondren               TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/11/t-
                        magazine/painted-churches-michoacan-
2022-02-11   2022-02-20 mexico.html                                Faded Glory                                  By Michael Snyder                 TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/11/t-
2022-02-11   2022-02-20 magazine/pandemic-tragedy-civilization.html The Long Walk                                By Hanya Yanagihara                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/12/books/r
2022-02-12   2022-02-20 eview/true-story-danielle-j-lindemann.html  Mirror Mirror                                By James Wolcott                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/dining/
2022-02-14   2022-02-20 baking-tricks-tips.html                     Brilliant Baking                             By Krysten Chambrot                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/opinion
2022-02-14   2022-02-20 /refugees-migrants-afghanistan.html         Weve Never Been Smuggled Before              By Matthieu Aikins                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/realesta Covid Forces a Pivot From Australia to Hells
2022-02-14   2022-02-20 te/renters-australia-hells-kitchen.html     Kitchen                                      By DW Gibson                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/t-
2022-02-14   2022-02-20 magazine/miniskirts-spring-fashion.html     The Big Short                                By Alessio Bolzoni and Ian Bradley TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/t-
2022-02-14   2022-02-20 magazine/y2k-2000s-fashion.html             Oops We Did It Again                         By Nick Haramis                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/arts/mu
2022-02-15   2022-02-20 sic/judy-collins-favorites.html             Judy Collins Loves to Fly Amid the Clouds By Phoebe Reilly                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/books/r
2022-02-15   2022-02-20 eview/chilean-poet-alejandro-zambra.html    A Writers Inheritance                        By Jennifer Wilson                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/books/r
2022-02-15   2022-02-20 eview/watergate-garrett-m-graff.html        The Scandal That Refuses to Go Away          By Douglas Brinkley                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/magazi
2022-02-15   2022-02-20 ne/anti-ambition-age.html                   Seeking No Opportunities                     By Noreen Malone                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/magazi
2022-02-15   2022-02-20 ne/antiwork-reddit.html                     Disgruntled Workers Wanted                   By Oliver Whang                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/magazi
2022-02-15   2022-02-20 ne/how-to-count-polar-bears.html            How to Count Polar Bears                     By Malia Wollan                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/magazi
2022-02-15   2022-02-20 ne/opening-night-gena-rowlands.html         Gena Rowlands                                By Andrew Key                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/magazi
2022-02-15   2022-02-20 ne/traveling-nurses.html                    Coming to Town Nurses                        By Lauren Hilgers                  TX 9-154-386   2022-04-04



                                                                                Page 3397 of 5793
                        https://www.nytimes.com/2022/02/15/magazi What Should We Do About Our
2022-02-15   2022-02-20 ne/unvaccinated-babysitter-ethics.html      Unvaccinated Babysitter                  By Kwame Anthony Appiah           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/movies/
                        hercule-poirot-agatha-christie-kenneth-
2022-02-15   2022-02-20 branagh.html                                A Poirot Lineup Whodunit Best            By Calum Marsh                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/opinion Losing My Eyesight Helped Me See More
2022-02-15   2022-02-20 /blindness-friendship.html                  Clearly                                  By Frank Bruni                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/realesta
                        te/how-alex-edelman-grew-to-love-his-       A Condo With One Comedian and Many
2022-02-15   2022-02-20 familys-condo-shvach-sofa-and-all.html      Books                                    By Joanne Kaufman                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/t-                                                By Alice Cavanagh and Matthew
2022-02-15   2022-02-20 magazine/paris-apartment-home-design.html Nothing Sacred                             Avignone                          TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/15/t-
2022-02-15   2022-02-20 magazine/spring-fashion-bottega-hermes.html Rainbow Bags                               By Mari Maeda and Yuji Oboshi   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/t-                                                  By Anthony Seklaoui and Nell
2022-02-15   2022-02-20 magazine/stripes-spring-fashion.html        Blurring the Lines                         Kalonji                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/arts/mu
2022-02-16   2022-02-20 sic/irma-thomas-pbs.html                    Still Soul Queen Of New Orleans            By Giovanni Russonello          TX 9-154-386   2022-04-04
                                                                    Commanding Flavors With an earthy tang and
                        https://www.nytimes.com/2022/02/16/magazi gentle heat this Country Captain delivers
2022-02-16   2022-02-20 ne/country-captain-recipe.html              rustic pleasures                           By Ligaya Mishan                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/magazi
2022-02-16   2022-02-20 ne/flight-attendants-covid.html             See the Worst People in the World          By Maggie Jones                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/magazi
2022-02-16   2022-02-20 ne/law-order-svu-organized-crime.html       Cop Out                                    By Pete Tosiello                TX 9-154-386   2022-04-04
                                                                    His legs were suddenly behaving as if they
                        https://www.nytimes.com/2022/02/16/magazi had forgotten what to do and his eyes were
2022-02-16   2022-02-20 ne/merkel-cell-carcinoma.html               seeing double Could he be having a stroke  By Lisa Sanders MD              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/magazi
2022-02-16   2022-02-20 ne/tech-company-recruiters.html             For Immediate HirePretty Please            By Susan Dominus                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/realesta
2022-02-16   2022-02-20 te/canaan-north-canaan-ct.html              Too Far Away From It All Not Remotely      By C J Hughes                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/realesta
                        te/discovery-islands-canada-house-
2022-02-16   2022-02-20 hunting.html                                Seclusion Amid Splendor in the Forest      By Lisa Prevost                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/realesta
                        te/home-prices-maine-california-new-        18 Million Homes in Maine California and
2022-02-16   2022-02-20 mexico.html                                 New Mexico                                 By Angela Serratore             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/realesta
2022-02-16   2022-02-20 te/tomato-growing-tips.html                 Pulpy Nonfiction Growing Epic Tomatoes     By Margaret Roach               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/style/co
2022-02-16   2022-02-20 ncrete-home-decor.html                      A Mediums Specific Appeal Solidifies       By Katherine McLaughlin         TX 9-154-386   2022-04-04




                                                                               Page 3398 of 5793
                        https://www.nytimes.com/2022/02/16/t-
2022-02-16   2022-02-20 magazine/oddity-ceramics-surrealism-art.html The Uncanny Object                          By Amanda Fortini              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/t-                                                    By Andrew Ferren and Pauline
2022-02-16   2022-02-20 magazine/saint-lazare-paris-design.html      The Secret Workshop                         Caranton                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/theater/
2022-02-16   2022-02-20 out-of-time-asian-american-actors.html       Shared Stories in Asian American Voices     By Matt Stevens                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/theater/ How Jonathan Larson Helped Make Me a
2022-02-16   2022-02-20 tick-tick-boom-jonathan-larson.html          Better Critic                               By Maya Phillips               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/us/afgh Afghans Wait in Hiding Mostly in Vain for a
2022-02-16   2022-02-20 an-refugees-humanitarian-parole.html         Speedy Path to the US                       By Miriam Jordan               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/opinion
2022-02-17   2022-02-20 /sunday/covid-plague-work-labor.html         After a Plague a Reckoning                  By MT Anderson                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/mu
2022-02-17   2022-02-20 sic/classical-music-michael-gielen.html      Music Stripped To Its Essence               By David Allen                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/tele When Insecurity And Angst Arent Laughing
2022-02-17   2022-02-20 vision/comedy-jewish-identity.html           Matters                                     By Jason Zinoman               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/tele
2022-02-17   2022-02-20 vision/sam-waterston-law-and-order.html      Law amp Order Trusts a Familiar Face        By Alexis Soloski              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/health/ Herbert Benson Cardiologist Who
2022-02-17   2022-02-20 dr-herbert-benson-dead.html                  Championed Meditation Is Dead at 86         By Clay Risen                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/magazi                                                By Amy X Wang and Hannah
2022-02-17   2022-02-20 ne/babies-work-meeting.html                  Training Needed Unruly Junior Colleagues    Whitaker                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/magazi
2022-02-17   2022-02-20 ne/joint-birthday-30.html                    Bonus Advice From Judge John Hodgman        By John Hodgman                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/magazi                                                By Joyelle McSweeney and
2022-02-17   2022-02-20 ne/poem-kingdom.html                         Poem Kingdom                                Victoria Chang                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/magazi
2022-02-17   2022-02-20 ne/unions-amazon.html                        Get Rid of the Bad Bosses                   By E Tammy Kim                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/opinion
2022-02-17   2022-02-20 /abortion-florida-15-week-ban.html           A Glimpse of PostRoe America                By Mary Ziegler                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/opinion
2022-02-17   2022-02-20 /aids-pandemic-covid.html                    The Danger of Declaring the Pandemic Over   By Gregg Gonsalves             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/realesta
2022-02-17   2022-02-20 te/short-term-rentals.html                   Where Airbnbs Earn Their Keep               By Michael Kolomatsky          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/style/fa
2022-02-17   2022-02-20 mily-birthday-reminders-social-qs.html       The Burden of Gifts                         By Philip Galanes              TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/17/style/tel
2022-02-17   2022-02-20 far-tv-circle-bag-new-york-fashion-week.html This Is Telfar Clemenss World Now           By Vanessa Friedman            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/t-
2022-02-17   2022-02-20 magazine/chanel-no-five-ring.html            The Thing                                   By Nancy Hass                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/t-
                        magazine/queer-indigenous-artists-           Before There Was Man Before
2022-02-17   2022-02-20 gender.html                                  ThereWasWoman                               By Ligaya Mishan               TX 9-154-386   2022-04-04



                                                                                Page 3399 of 5793
                        https://www.nytimes.com/2022/02/17/technol
2022-02-17   2022-02-20 ogy/intel-ceo-patrick-gelsinger.html          Intels True Believer Gets Put to the Test   By Don Clark                  TX 9-154-386    2022-04-04
                        https://www.nytimes.com/article/nyc-mask-
2022-02-17   2022-02-20 mandate-rules.html                            Where Masks Must Stay On In New York        By Lola Fadulu and Ashley Wong TX 9-154-386   2022-04-04
                                                                      Their Windowless Living Room Wasnt
                        https://www.nytimes.com/interactive/2022/02/ Cutting It in the Pandemic but Could They
2022-02-17   2022-02-20 17/realestate/17hunt-wilsdon.html             Afford More in Manhattan                    By Joyce Cohen                TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/18/arts/dan
2022-02-18   2022-02-20 ce/angela-trimbur-online-dance.html           Permission To Loosen Inhibitions            By Melena Ryzik               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/18/arts/des
2022-02-18   2022-02-20 ign/black-art-museum-inhotim-brazil.html      Fulfilling a Legacy in Brazil Finally       By Jill Langlois              TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/18/books/r
                        eview/jacqueline-woodson-rafael-lopez-the-
2022-02-18   2022-02-20 year-we-learned-to-fly.html                   Stories That Soar                           By Liniers                    TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/18/books/r
                        eview/monica-ojeda-yuko-tsushima-siphiwe-
2022-02-18   2022-02-20 ndlovu-lidia-jorge.html                       International Fiction                       By Anderson Tepper            TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/18/books/r
2022-02-18   2022-02-20 eview/new-paperbacks.html                     Paperback Row                               By Miguel Salazar             TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/18/busines
                        s/devendra-banhart-thao-nguyen-tenille-janae-                                             By Julia Rothman and Shaina
2022-02-18   2022-02-20 covid.html                                    Hard to Keep a Rhythm                       Feinberg                      TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/18/busines
                        s/retirement-planning-money-social-security-
2022-02-18   2022-02-20 medicare.html                                 Wade In if Youre Not Ready to Jump          By John F Wasik               TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/18/busines
2022-02-18   2022-02-20 s/sierra-club-ramon-cruz-corner-office.html Tackling Social and Environmental Issues      By David Gelles               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/18/nyregio
                        n/connie-hawkins-brooklyn-basketball-
2022-02-18   2022-02-20 playground.html                             A Hard Path to Honoring Basketball Heroes     By Saki Knafo                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/18/nyregio Smores and the City The Rise of the Illegal
2022-02-18   2022-02-20 n/illegal-fire-pits.html                    Fire Pit                                      By Alyson Krueger             TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/18/nyregio
2022-02-18   2022-02-20 n/marlon-james.html                         A Fantasy Writer With Dreams of Solitude      By Tammy La Gorce             TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/18/nyregio Ending Some Dark Days for SUNY Students
2022-02-18   2022-02-20 n/suny-student-debt.html                    in Debt                                       By Meredith Kolodner          TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/18/opinion
2022-02-18   2022-02-20 /congress-stock-trading-ban.html            Congress Must Pass A StockTrading Ban         By The Editorial Board        TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/18/opinion
2022-02-18   2022-02-20 /politics/susan-collins-eca-reform.html     Our Democracy Rests on a Rickety Law          By Susan Collins              TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/18/opinion
2022-02-18   2022-02-20 /space-china-billionaires.html              Send Astronauts to the Moon Again             By Jeff Shesol                TX 9-154-386    2022-04-04




                                                                                  Page 3400 of 5793
                        https://www.nytimes.com/2022/02/18/opinion
2022-02-18   2022-02-20 /sunday/child-tax-credit-poverty-benefits.html Need Help First Check These Boxes          By Bryce Covert           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/opinion
2022-02-18   2022-02-20 /us-history-censorship.html                    You Just Cant Tell the Truth About America By Jamelle Bouie          TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/18/realesta
2022-02-18   2022-02-20 te/home-buyer-risks-bad-credit-savings.html Model Partnerships                           By Stefanos Chen           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/sports/b What Happens When Pitchers and Catchers      By James Wagner and Zack
2022-02-18   2022-02-20 aseball/mlb-spring-training-lockout.html    Dont Report                                  Wittman                    TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/18/sports/o How Norway Went From Fishing and
2022-02-18   2022-02-20 lympics/norway-medals-winter-olympics.html Farming to Winning and Winning               By Matthew Futterman        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/sports/o
                        lympics/speedskating-mass-start-joey-       US Speedskater Claims a Grab May Have
2022-02-18   2022-02-20 mantia.html                                 Cost Him a Medal                            By Victor Mather            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/style/a
                        merican-girl-cafe-harry-hill-serena-
2022-02-18   2022-02-20 kerrigan.html                               Youre Never Too Old to Meme With Dolls      By Shane ONeill             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/style/as Not Long Before Graduation Finally Crossing
2022-02-18   2022-02-20 hley-lalonde-noah-reimers-wedding.html      Paths                                       By Vincent M Mallozzi       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/style/be Shes Just a Great Guesser as Far as Hes
2022-02-18   2022-02-20 linda-smith-william-huffer-wedding.html     Concerned                                   By Jenny Block              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/style/br
2022-02-18   2022-02-20 ide-groom-nonbinary.html                    And Now Here Comes the Broom                By Julianne McShane         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/style/de
                        nee-benton-of-the-gilded-age-shops-in-her-
2022-02-18   2022-02-20 backyard.html                               A Gilded Star Plainly at Ease               By Alexis Soloski           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/style/ja
2022-02-18   2022-02-20 ck-corbett-planet-money-npr.html            Where TikTok NPR And Money Meet             By Callie Holtermann        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/style/m How Much of My Story Am I Supposed to
2022-02-18   2022-02-20 odern-love-i-tried-so-hard-to-be-good.html  Share                                       By Amy Mevorach             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/style/pi No Longer Just Retirees Getting In on the
2022-02-18   2022-02-20 ckleball-sports.html                        Game                                        By Todd Plummer             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/style/ra Time Apart Prepared Them for a Life
2022-02-18   2022-02-20 dha-jain-jackson-blaisdell-wedding.html     Together                                    By Emma Grillo              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/style/w
                        alter-wachter-james-pearse-connelly-
2022-02-18   2022-02-20 wedding.html                                At the Emmys an AwardWorthy Beginning By Alix Wall                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/t-
2022-02-18   2022-02-20 magazine/david-webb-leopard-earrings.html First of Its Kind Last of Its Kind            By Lindsay Talbot           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/t-
                        magazine/food-writing-journalism-           What We Write About When We Write About
2022-02-18   2022-02-20 criticism.html                              Food                                        By Ligaya Mishan            TX 9-154-386   2022-04-04




                                                                                 Page 3401 of 5793
                        https://www.nytimes.com/2022/02/18/us/calif Chancellor In California Will Resign After
2022-02-18   2022-02-20 ornia-state-chancellor-resigns.html             Report                                    By Christine Hauser               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/world/a
2022-02-18   2022-02-20 sia/china-fast-train-olympics.html              Aboard Chinas Fastest Olympics Entrant    By Chris Buckley and James Hill   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/world/e
                        urope/france-election-macron-zemmour-le-
2022-02-18   2022-02-20 pen.html                                        Election Near Macron Avoids FarRight Fray By Roger Cohen                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/busines As Virus Eases Economic Blow Keeps
2022-02-19   2022-02-20 s/covid-economy.html                            Rippling                                  By Ben Casselman                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/opinion
2022-02-19   2022-02-20 /class-war-canada-truckers-protest.html         A New Class War Comes to Canada           By Ross Douthat                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/opinion
                        /culture/hbo-somebody-somewhere-women-                                                    By Sarah Hagelin and Gillian
2022-02-19   2022-02-20 tv.html                                         The Lazy Drunk Broke Women on TV          Silverman                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/opinion
2022-02-19   2022-02-20 /democrats-biden-voters.html                    Can Dems Dodge Doomsday                   By Maureen Dowd                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/realesta
                        te/if-my-lease-expired-but-im-still-paying-rent My Lease Expired but Im Paying Rent Can
2022-02-19   2022-02-20 can-i-be-kicked-out.html                        the Landlord Still Kick Me Out            By Ronda Kaysen                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/sports/f The Steelers Hire Flores Whose Lawsuit Will
2022-02-19   2022-02-20 ootball/brian-flores-steelers-lawsuit.html      Continue                                  By Jenny Vrentas                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/sports/o
                        lympics/pairs-figure-skating-free-skate-        Final Triumph for China By a Very Narrow By Juliet Macur Chang W Lee and
2022-02-19   2022-02-20 finals.html                                     Margin                                    Doug Mills                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/style/ca The Currents of Labor Economics and
2022-02-19   2022-02-20 plans-army-store-closure.html                   Fashion Roll Over a Small Town            By Jasper Craven                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/technol Q Is Anonymous No Longer Study Finds Two
2022-02-19   2022-02-20 ogy/qanon-messages-authors.html                 Likely Scribes                            By David D Kirkpatrick            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/us/bald- After a Comeback Eagles Face a New Threat
2022-02-19   2022-02-20 eagles-lead-poisoning-study.html                From What Hunters Leave Behind            By Maria Cramer                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/us/polit Lobbying for Infrastructure Cash Asphalt
2022-02-19   2022-02-20 ics/infrastructure-plan-asphalt.html            Industry Drove It Home                    By Kate Kelly and Erin Schaff     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/us/polit Scheme to Reinstall Trump Opens Schism in
2022-02-19   2022-02-20 ics/wisconsin-election-decertification.html     Wisconsins GOP                            By Reid J Epstein                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/us/texa Abortion Debate Might Break Democrats
2022-02-19   2022-02-20 s-laredo-abortion.html                          Longtime Hold in South Texas              By Edgar Sandoval                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/world/c Ottawa Police Continue Removing                By Natalie Kitroeff and Sarah
2022-02-19   2022-02-20 anada/canada-truckers-arrested.html             Demonstrators From Parliament Site        Maslin Nir                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/world/e
                        urope/brunel-epstein-prince-andrew-             Model Scout With Links To Epstein Found
2022-02-19   2022-02-20 giuffre.html                                    Dead                                      By Constant Mheut                 TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/19/world/e Belaruss Leader Once Kept Putin at Arms
2022-02-19   2022-02-20 urope/lukashenko-belarus-russia-ukraine.html Length Those Days Are Over                 By Andrew Higgins                   TX 9-154-386   2022-04-04




                                                                                Page 3402 of 5793
                        https://www.nytimes.com/2022/02/19/world/e Putins Baseless Claims of Genocide in
2022-02-19   2022-02-20 urope/putin-ukraine-genocide.html          Ukraine Hint at More Than War                By Max Fisher                     TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/19/world/e Soaring Energy Bills Deepen a Crisis in
2022-02-19   2022-02-20 urope/turkey-inflation-economy-erdogan.html Turkey                                         By Carlotta Gall               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/world/e
                        urope/ukraine-russia-crisis-new-cold-
2022-02-19   2022-02-20 war.html                                      Reigniting Cold War Despite Its Risks        By Anton Troianovski           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/world/e Ukraine Tensions Mount as Russia Flexes its
2022-02-19   2022-02-20 urope/ukraine-russia-missiles-putin.html      Power                                        By Steven Erlanger             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/world/e As Reporters Tour Damage Mortar Shells Fall By Valerie Hopkins Andrew E
2022-02-19   2022-02-20 urope/ukraine-russia-shelling.html            Nearby                                       Kramer and Ivan Nechepurenko   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/world/ War and Climate Change Ravage Syrias
2022-02-19   2022-02-20 middleeast/syria-drought-climate-food.html Farms                                           By Jane Arraf                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/article/ukraine-
2022-02-19   2022-02-20 russia-putin.html                             Why Ukraine Matters Explaining the Crisis By Patrick Kingsley               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/20/busines
                        s/economy/spokane-housing-expensive-          The Next Affordable City Is Already Too
2022-02-20   2022-02-20 cities.html                                   Expensive                                    By Conor Dougherty             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/20/busines
                        s/the-week-in-business-a-step-toward-data-    The Week in Business A Step Toward Data
2022-02-20   2022-02-20 privacy.html                                  Privacy                                      By Sarah Kessler               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/20/insider/
                        capturing-the-raw-emotion-of-parents-and-the-
2022-02-20   2022-02-20 pandemics-zoom-babies.html                    Capturing Parenting in the Pandemic          By Amanda Svachula             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/20/us/polit
                        ics/substitute-teachers-national-guard-new-   Why Some Teachers in New Mexico Wear         By Erica L Green and Adria
2022-02-20   2022-02-20 mexico.html                                   Camo                                         Malcolm                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/03/travel/d
2022-02-03   2022-02-21 isabled-hikers-outdoor-access.html            I Wanted That SelfReliance Back on the Trail By Amanda Morris               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/busines
2022-02-16   2022-02-21 s/executives-quitting.html                    Great Resignation Spills Into the CSuite     By David Gelles                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/16/nyregio New Jersey Family Works To Establish
2022-02-16   2022-02-21 n/legal-marijuana-business-new-jersey.html Toehold In Business of Marijuana           By Tracey Tully                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/technol
2022-02-17   2022-02-21 ogy/podcasts-profits.html                    Why the Podcast FreeforAll Is Fading     By Shira Ovide                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/world/a Rosalie KunothMonks 85 Aboriginal Rights
2022-02-17   2022-02-21 ustralia/rosalie-kunoth-monks-dead.html      Activist                                 By Richard Sandomir                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/arts/tele
2022-02-18   2022-02-21 vision/from-epix-harold-perrineau.html       Harold Perrineau Comes Full Circle       By Erik Piepenburg                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/busines China Lacks Effective Shot But Rejects
2022-02-18   2022-02-21 s/china-coronavirus-vaccines.html            Foreign Options                          By Alexandra Stevenson              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/busines Trumps Social Platform Will Join a Crowded By Matthew Goldstein and Ryan
2022-02-18   2022-02-21 s/trumps-truth-social.html                   Field                                    Mac                                 TX 9-154-386   2022-04-04



                                                                                Page 3403 of 5793
                        https://www.nytimes.com/2022/02/18/crossw
2022-02-18   2022-02-21 ords/cosmo-crossword-answer.html             A Favored Cocktail Five Letters               By Alexis Benveniste            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/travel/a Fortress Australia Has a New Message Come By Tacey Rychter and Isabella
2022-02-18   2022-02-21 ustralia-tourism-covid.html                  Back                                          Kwai                            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/us/art- Art Cooley 87 a Force Behind DDTs Banning
2022-02-18   2022-02-21 cooley-dead.html                             Dies                                          By Richard Sandomir             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/your- Mortgage Rates Rise Ahead of House Hunting
2022-02-18   2022-02-21 money/home-buying-mortgages.html             Season                                        By Ann Carrns                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/theater/ Mrs Doubtfire Postpones Broadway
2022-02-18   2022-02-21 mrs-doubtfire-broadway-reopening.html        Reopening Until April                         By Michael Paulson              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/sports/o Progress Is Made on Gender Parity if Not
2022-02-19   2022-02-21 lympics/gender-gap-winter-olympics.html      Opportunities                                 By Alexandra E Petri            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/sports/o Coming in 2026 A Race To the Bottom and
2022-02-19   2022-02-21 lympics/skimo-ski-mountaineering.html        the Top                                       By Victor Mather                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/busines
                        s/dealbook/barry-mccarthy-interview-         Pelotons New CEO on Navigating the Tough By Andrew Ross Sorkin and
2022-02-19   2022-02-21 peloton.html                                 Road Ahead                                    Lauren Hirsch                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/busines US Lifts Temporary Ban On Avocados From
2022-02-19   2022-02-21 s/mexico-avocado-ban-lifted.html             Mexico                                        By Eduardo Medina               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/climate Underwater Drones Dive to Start Search for By Esther Horvath and Henry
2022-02-19   2022-02-21 /antarctic-shackleton-search.html            Shackletons Famed Ship                        Fountain                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/obituari Overlooked No More Mary Eliza Mahoney
2022-02-19   2022-02-21 es/mary-eliza-mahoney-overlooked.html        Who Opened Doors in Nursing                   By Sarah Fielding               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/opinion
                        /culture/mikaela-shiffrin-olympics-combined- Mikaela Shiffrins Stumbles Can Teach Us
2022-02-19   2022-02-21 fall.html                                    About Our Own                                 By Sian Beilock                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/opinion When We Were Socially Distant Money
2022-02-19   2022-02-21 /pandemic-charity-remittance.html            Brought Us Closer                             By Viviana A Zelizer            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/us/fda-
2022-02-19   2022-02-21 family-dollar-recall.html                     Rodent Infestation at Family Dollar Facility By Vimal Patel                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/sports/o Germany Caps Its Dominance In Sliding
2022-02-20   2022-02-21 lympics/bobsled-germany-four-man.html        Sports                                        By Traci Carl                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/sports/o Curling Becomes Bright Spot for Britain and
2022-02-20   2022-02-21 lympics/britain-womens-curling-gold.html     Obsession in Asia                             By Rick Rojas                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/sports/o Ending 70Year Wait Finland Wins Hockey
2022-02-20   2022-02-21 lympics/finland-russia-mens-hockey.html      Gold With Vigorous Attack                     By Alan Blinder                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/sports/o
                        lympics/jessie-diggins-cross-country-skiing- Diggins Overcomes Hard Schedule and
2022-02-20   2022-02-21 silver-medal.html                            Something She Ate                             By Talya Minsberg               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/sports/o
                        lympics/mikaela-shiffrin-mixed-team-         Shiffrin Falls Short in Finale but Savors Her By Talya Minsberg and Matthew
2022-02-20   2022-02-21 skiing.html                                  Favorite Memory                               Futterman                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/20/arts/des
2022-02-20   2022-02-21 ign/tomas-saraceno-shed-spiders-art.html     Oh What a Web He Weaves                       By Roberta Smith                TX 9-154-386   2022-04-04




                                                                                Page 3404 of 5793
                        https://www.nytimes.com/2022/02/20/arts/mu
                        sic/billie-eilish-happier-than-ever-tour-
2022-02-20   2022-02-21 review.html                                  The Only Spectacle Is Herself                By Lindsay Zoladz               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/arts/tele
2022-02-20   2022-02-21 vision/marc-brown-arthur-ending.html         An Aardvark Takes a Bow So to Speak          By Sarah Bahr                   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/books/p Writers Wonder if People Want To Curl Up
2022-02-20   2022-02-21 andemic-fiction.html                         With a Covid Novel                           By Alexandra Alter              TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/books/r Its About the Money And the Ambition and
2022-02-20   2022-02-21 eview-founders-paypal-jimmy-soni.html        the Emotions                                 By Alexandra Jacobs             TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/busines Leak Shows How a Bank Bowed to Rulers
2022-02-20   2022-02-21 s/credit-suisse-leak-swiss-bank.html         and Spies                                    By Jesse Drucker and Ben Hubbard TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/20/busines Icahn Pushes McDonalds to Change Sourcing
2022-02-20   2022-02-21 s/dealbook/mcdonalds-pork-carl-icahn.html of Pork                                       By Lauren Hirsch                  TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/climate Climate Costs Are at Issue As Biden Halts
2022-02-20   2022-02-21 /carbon-biden-drilling-climate.html         New Drilling                                By Lisa Friedman                  TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/health/c CDC Is Not Publishing Large Portions of the
2022-02-20   2022-02-21 ovid-cdc-data.html                          Data That It Collects on Virus              By Apoorva Mandavilli             TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/opinion Black History Month Is About Seeing
2022-02-20   2022-02-21 /black-history-month.html                   America Clearly                             By Esau McCaulley                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/opinion The RussianChina Friendship That Nixon
2022-02-20   2022-02-21 /nixon-china.html                           Feared Has Arrived                          By Farah Stockman                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/sports/f Charley Taylor 80 Receiver Who Set Record
2022-02-20   2022-02-21 ootball/charley-taylor-dead.html            for Catches                                 By Alex Traub                     TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/sports/h Emile Francis 95 Dies Goalie Found His
2022-02-20   2022-02-21 ockey/emile-francis-dead.html               Stride As Rangers Head Coach                By Richard Goldstein              TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/sports/n
                        caabasketball/michigan-wisconsin-fight-     Michigan Coach Slaps A Wisconsin Assistant
2022-02-20   2022-02-21 juwan-howard.html                           In the Handshake Line                       By Adam Zagoria                   TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/20/sports/o
2022-02-20   2022-02-21 lympics/winter-olympics-athletes-2026.html A Look Into the Crystal Snow Globe             By The New York Times           TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/us/polit Justice Dept Will Revise TrumpEra Program
2022-02-20   2022-02-21 ics/justice-department-china-trump.html     to Thwart Chinese Spying                      By Katie Benner                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/us/polit Russias Invasion Options Test How West
2022-02-20   2022-02-21 ics/putin-ukraine-strategy.html             Will React                                    By David E Sanger               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/us/polit China and Russia Strengthen Their Bonds
2022-02-20   2022-02-21 ics/russia-china-ukraine-biden.html         Raising Alarms in US and Europe               By Edward Wong                  TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/us/polit How the Sandy Hook Families Emerged
2022-02-20   2022-02-21 ics/sandy-hook-legal-victories.html         Triumphant in Court                           By Elizabeth Williamson         TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/20/us/portl 1 Dead and 5 Wounded in Portland at Protest   By Sergio Olmos Austin Ramzy
2022-02-20   2022-02-21 and-shooting-protest.html                   Against Police Killings                       and Melina Delkic               TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/20/world/a In India Venerable Congress Party Tries a
2022-02-20   2022-02-21 sia/india-election-punjab-congress-party.html Comeback as Punjab Holds Elections          By Mujib Mashal and Hari Kumar TX 9-154-386     2022-04-04



                                                                                Page 3405 of 5793
                        https://www.nytimes.com/2022/02/20/world/a Covering the Stains With Glitter Beijing      By Steven Lee Myers and Kevin
2022-02-20   2022-02-21 sia/olympics-closing-ceremony-beijing.html Closes the Winter Games                       Draper                            TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/20/world/e Dead Body Pulled From Burning Ferry Off
2022-02-20   2022-02-21 urope/greece-ferry-fire-corfu.html           Greece With 10 Passengers Still Missing     By Niki Kitsantonis               TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/20/world/e
                        urope/queen-elizabeth-covid-royal-           Britain Reels as Queen Elizabeth II Tests
2022-02-20   2022-02-21 family.html                                  Positive                                    By Mark Landler                   TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/20/world/e Ukrainians Demonstrate in London To Show
2022-02-20   2022-02-21 urope/ukraine-expats-rally.html              Solidarity We Are Terrified                 By Cora Engelbrecht               TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/20/world/e
2022-02-20   2022-02-21 urope/ukraine-russia-belarus-putin.html      No Easing of Pressure On Ukraines Borders   By Valerie Hopkins                TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/20/world/e
                        urope/ukraine-zelensky-munich-               At Munich Conference A Troubling Word
2022-02-20   2022-02-21 conference.html                              Appeasement                                 By Roger Cohen                    TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/20/world/e
2022-02-21   2022-02-21 urope/ukraine-russia-separatists.html        Rebel Enclaves Sit at Strifes Center        By Andrew E Kramer                TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/21/arts/tele
                        vision/whats-on-tv-this-week-frederick-
2022-02-21   2022-02-21 douglass-in-five-speeches.html               This Week on TV                             By Gabe Cohn                      TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/21/nyregio In Redrawn District Staten Island and Park
2022-02-21   2022-02-21 n/staten-island-park-slope-redistricting.html Slope Make Odd Pair                         By Katie Glueck                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/world/a Fitting Ottawas Convoy Into Political
2022-02-21   2022-02-21 mericas/canada-protest.html                   Landscape                                   By Natalie Kitroeff and Ian Austen TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/world/a For 143 a Month Risking Life and Limb to       By Shalini Venugopal Bhagat and
2022-02-21   2022-02-21 sia/india-forest-rangers.html                 Safeguard Indias Forests                    Atul Loke                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/07/science Check Please How Two Pterosaurs Last
2022-02-07   2022-02-22 /pterosaurs-pellets-food.html                 Meals Ended Up in the Fossil Record         By Asher Elbein                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/well/mi
2022-02-08   2022-02-22 nd/marriage-molly-mdma.html                   Adding a Trip to Couples Therapy            By Christina Caron                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/09/us/john- John Rice Irwin 91 Celebrated the Ingenuity
2022-02-09   2022-02-22 rice-irwin-dead.html                          In Appalachians History                     By Alex Traub                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/10/science
2022-02-10   2022-02-22 /lions-teeth-bones-injuries.html              Injury and Death Recorded in Tooth and Bone By Rachel Nuwer                    TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/11/science Cosmic Photography From the Webb
2022-02-11   2022-02-22 /webb-telescope-selfie-pictures.html        Telescope 18 Star Snapshots and One Selfie   By Dennis Overbye                 TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/11/theater/ Richard Christiansen 90 Drama Critic In
2022-02-11   2022-02-22 richard-christiansen-dead.html              Chicago Who Garnered Raves Too               By Neil Genzlinger                TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/12/well/m
2022-02-12   2022-02-22 ove/long-covid-exercise.html                Long Covid Sufferers Have Exercise Issues    By Melinda Wenner Moyer           TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/14/science It Has IDd Serial Killers Can It Save
2022-02-14   2022-02-22 /elephants-ivory-dna.html                   Elephants                                    By Catherine M Allchin            TX 9-154-386     2022-04-04




                                                                                 Page 3406 of 5793
                        https://www.nytimes.com/2022/02/15/well/m Why Does My Body Feel Tight When I Wake
2022-02-15   2022-02-22 ove/joint-stiffness-morning.html            Up                                        By Katie Okamoto                TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/16/busines
2022-02-16   2022-02-22 s/japan-unions-rengo-women.html             A New Voice For Women Across Japan        By Ben Dooley and Hisako Ueno   TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/17/science The Tails End Why Lizards Under Attack
2022-02-17   2022-02-22 /lizard-tails-break.html                    Appear Strangely Detached                 By Jack Tamisiea                TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/17/science Peripatetic Parasite These Wasps Had A Lot
2022-02-17   2022-02-22 /wasp-species-parasite.html                 of Galls Too Many In Fact                 By Sabrina Imbler               TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/19/arts/des
                        ign/project-of-independence-moma-
2022-02-19   2022-02-22 review.html                                 Building the Dreams Of New Nations        By Michael Kimmelman            TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/20/arts/mu
                        sic/boston-modern-orchestra-project-        Scrappy and Invaluable A Music Ensemble
2022-02-20   2022-02-22 bmop.html                                   Returns                                   By David Allen                  TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/20/busines They Are Entering a Work World in Flux and
2022-02-20   2022-02-22 s/dealbook/class-of-2022-work.html          That Suits Them Just Fine                 By Corinne Purtill              TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/20/sports/o
2022-02-20   2022-02-22 lympics/polaroids-olympics-shaun-white.html At the Games With My Old Polaroid           By Gabriela Bhaskar           TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/20/us/lake- This Marauding Black Bear Has an Appetite
2022-02-21   2022-02-22 tahoe-bear.html                             for Home                                    By Alyssa Lukpat              TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/20/your- Madoffs Sister and BrotherinLaw Found
2022-02-21   2022-02-22 money/bernie-madoff-sister-dead.html        Dead in Apparent MurderSuicide in Florida   By Tara Siegel Bernard        TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/21/arts/des
2022-02-21   2022-02-22 ign/museums-unions-labor.html               Museum Employees Embrace Union Pitch        By Zachary Small              TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/21/arts/mu
2022-02-21   2022-02-22 sic/review-rothko-chapel-tyshawn-sorey.html A Composer Responds to His Heros Echo      By Zachary Woolfe                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/books/r
                        eview-margaret-atwood-burning-questions-
2022-02-21   2022-02-22 essays.html                                 The Hazards Of the Trade Are Clear         By Dwight Garner                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/busines
2022-02-21   2022-02-22 s/economy/ukraine-russia-economy.html       Economies Dependent On Russia Face Risks By Patricia Cohen and Jack Ewing TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/21/busines Europeans Stagger Under Soaring Energy
2022-02-21   2022-02-22 s/europe-power-gas-bill.html                Bills                                      By Melissa Eddy and Liz Alderman TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/busines Times Wins 2 Polk Awards For Investigative
2022-02-21   2022-02-22 s/media/polk-awards-2021.html               Reporting                                  By Katie Robertson               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/busines Housing Operator Fights Students Investors
2022-02-21   2022-02-22 s/nelson-partners-student-housing.html      and Now a Wall St Giant                    By Matthew Goldstein             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/health/c
2022-02-21   2022-02-22 ovid-vaccine-antibodies-t-cells.html        After Booster Bodys Defense Is LongLived By Apoorva Mandavilli              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/health/
2022-02-21   2022-02-22 gorillas-respiratory-illness-colds.html     Protecting Apes From Covid and More        By Emily Anthes                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/nyregio City Councils New Leader Navigates a
2022-02-21   2022-02-22 n/adrienne-adams-profile-council.html       Centrist Path In Tackling a Spike in Crime By Jeffery C Mays                TX 9-154-386   2022-04-04



                                                                               Page 3407 of 5793
                        https://www.nytimes.com/2022/02/21/nyregio 8 Subway Attacks Over Weekend Challenge
2022-02-21   2022-02-22 n/nyc-subway-attacks-stabbing.html          Adams                                       By Jonah E Bromwich                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/obituari Dr Paul Farmer Who Traveled the Globe to
2022-02-21   2022-02-22 es/paul-farmer-dead.html                    Aid the Poor Dies at 62                     By Ellen Barry and Alex Traub       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/obituari Paul Willen Who Reshaped the Manhattan
2022-02-21   2022-02-22 es/paul-willen-dead.html                    Waterfront Dies at 93                       By Penelope Green                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/opinion
2022-02-21   2022-02-22 /biden-trump-mcconnell.html                 Trump Is a Tough Act to Follow              By Gail Collins and Bret Stephens   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/opinion Finnegan Dog Known for His Exemplary
2022-02-21   2022-02-22 /dogs-animals-obituaries.html               Nose Dies at 14                             By Alexandra Horowitz               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/sports/h The SmallTown Guy Who Took Manhattan
2022-02-21   2022-02-22 ockey/emile-francis-rangers-nhl.html        Always on His Terms                         By Gerald Eskenazi                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/sports/h
                        orse-racing/medina-spirit-kentucky-         Medina Spirit Is Stripped of Victory in the
2022-02-21   2022-02-22 derby.html                                  Kentucky Derby                              By Joe Drape                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/sports/i
                        n-an-arctic-outpost-friday-nights-are-for-
2022-02-21   2022-02-22 curling.html                                A Ray of Light in the Unrelenting Darkness By Hilary Swift and Ellen Barry      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/sports/v A Made 92Foot Putt in Saudi Arabia May
2022-02-21   2022-02-22 arner-putt-saudi-arabia.html                Carry All the Way to Augusta                By Michael Arkush                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/technol
                        ogy/crypto-scammers-new-target-dating-
2022-02-21   2022-02-22 apps.html                                   Dating Apps See Scams Using Crypto          By Kevin Roose                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/theater/ This Folly of Foppishness Is Dandy but Just
2022-02-21   2022-02-22 barococo-review-happenstance.html           Dandy                                       By Maya Phillips                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/theater/
                        broadway-amber-gray-hadestown-
2022-02-21   2022-02-22 macbeth.html                                Goodbye Hades And Hello Scotland            By Michael Paulson                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/us/polit Crack Pipe Uproar Jeopardizes Biden Drug
2022-02-21   2022-02-22 ics/biden-harm-reduction-crack-pipes.html   Strategy                                    By Sheryl Gay Stolberg              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/us/polit
2022-02-21   2022-02-22 ics/black-farmers-debt-relief.html          Debt Relief Blocked Black Farmers Fear Ruin By Alan Rappeport                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/us/polit
2022-02-21   2022-02-22 ics/irs-facial-recognition.html             IRS Scraps Identity Plan Amid Uproar        By Alan Rappeport                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/us/polit American Troops in Poland Prepare for
2022-02-21   2022-02-22 ics/ukraine-military-poland-refugees.html   Possible Influx of Refugees                 By Eric Schmitt                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/us/polit Pessimism Is Biggest Hurdle for 4 Democrats
2022-02-21   2022-02-22 ics/vulnerable-senate-democrats.html        in Tight Senate Races                       By Trip Gabriel                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/well/he
2022-02-21   2022-02-22 alth-advice-diet-smoking.html               Farewell Readers Its Been a Notable Ride    By Jane E Brody                     TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/21/world/a Japan Wants to Showcase Gold Mines History
2022-02-21   2022-02-22 sia/japan-sado-island-unesco-heritage.html South Korea Is Insisting That All of It Is Told By Motoko Rich and Hikari Hida   TX 9-154-386   2022-04-04




                                                                                 Page 3408 of 5793
                        https://www.nytimes.com/2022/02/21/world/e
                        urope/boris-johnson-coronavirus-           Johnson Lifts Restrictions For Pandemic in
2022-02-21   2022-02-22 england.html                               England                                      By Stephen Castle                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/world/e In Dispute Over Taiwan Beijing Locks
2022-02-21   2022-02-22 urope/china-lithuania-taiwan-trade.html    Lithuania Into Informal Trade War            By Andrew Higgins                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/world/e In Frances Cities Tackling Street Noise From
2022-02-21   2022-02-22 urope/france-street-noise.html             Hell With Sensors and Penalties              By Emma Bubola                   TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/21/world/e Looming Russian Threat Reminds Ukraines
2022-02-21   2022-02-22 urope/ukraine-jews-russia-evacuations.html Jews of Past Atrocities                        By Michael Schwirtz            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/world/ Arab Rulers and Spy Chiefs Stashed Millions
2022-02-21   2022-02-22 middleeast/arab-rulers-credit-suisse.html    in Swiss Bank                                By Ben Hubbard                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/world/
                        middleeast/israel-nso-spyware-               Israel Says Inquiry Shows the Police Did Not By Ronen Bergman and Patrick
2022-02-21   2022-02-22 investigation.html                           Use Spyware Without Court Approval           Kingsley                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/arts/tele
2022-02-22   2022-02-22 vision/the-gilded-age-history.html           Fact and Fiction Hobnob in The Gilded Age By Sarah Lyall                    TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/21/busines Beijing Olympic Ratings Were the Worst of
2022-02-22   2022-02-22 s/media/olympics-ratings.html              Any Winter Games a Steep Drop From 2018 By Tiffany Hsu                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/opinion This Is Putins War But America and NATO
2022-02-22   2022-02-22 /putin-ukraine-nato.html                   Arent Innocent Bystanders                 By Thomas L Friedman                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/21/sports/n
2022-02-22   2022-02-22 caabasketball/juwan-howard-suspension.html Howard Gets A Suspension Of 5 Games         By Adam Zagoria                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/us/geor Former Officers Say They Trusted Chauvin
2022-02-22   2022-02-22 ge-floyd-murder-trial-defense.html          With Floyd                                 By Tim Arango                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/us/hate-
                        crimes-case-in-arbery-murder-goes-to-       Jury to Decide Whether Racism Motivated 3 By Tariro Mzezewa and Richard
2022-02-22   2022-02-22 jury.html                                   Men to Kill Arbery                         Fausset                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/us/polit Inside the White Houses Race to Prevent an By Michael D Shear Julian E
2022-02-22   2022-02-22 ics/biden-putin.html                        Invasion by Russia                         Barnes and Eric Schmitt           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/us/polit US and Its Allies Considering Timing and   By Michael D Shear and David E
2022-02-22   2022-02-22 ics/russia-ukraine-biden-response.html      Scope of Response                          Sanger                            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/world/e                                             By Anton Troianovski Valerie
2022-02-22   2022-02-22 urope/putin-ukraine-russia.html             Putin Orders Forces Into Eastern Ukraine   Hopkins and Steven Erlanger       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/world/e                                             By Michael Schwirtz Maria
2022-02-22   2022-02-22 urope/putin-ukraine.html                    Delving Into Ukraines Complicated History Varenikova and Rick Gladstone      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/health/c                                            By Sabrina Imbler and Emily
2022-02-22   2022-02-22 oronavirus-animals.html                     The Next Targets                           Anthes                            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/technol Big Tech Makes a Big Bet Offices Are Still
2022-02-22   2022-02-22 ogy/big-tech-offices.html                   the Future                                 By Kellen Browning                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/us/tho
2022-02-22   2022-02-22 mas-insel-book.html                         Sounding An Alarm For Healing              By Ellen Barry                    TX 9-154-386   2022-04-04




                                                                                Page 3409 of 5793
                        https://www.nytimes.com/2022/02/22/world/a In Major Shift Colombia Decriminalizes
2022-02-22   2022-02-22 mericas/colombia-abortion.html              Abortion                                    By Julie Turkewitz       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/arts/mu Leslie Parnas Celebrated Cellist And Musical
2022-02-17   2022-02-23 sic/leslie-parnas-dead.html                 Diplomat Dies at 90                         By Javier C Hernndez     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/dining/
2022-02-17   2022-02-23 drinks/wine-school-languedoc-reds.html      Region Reaches for Identity                 By Eric Asimov           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/dining/
2022-02-17   2022-02-23 drinks/wine-school-red-spain.html           From Old Vines New Wines                    By Eric Asimov           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/dining/l
2022-02-18   2022-02-23 amb-shank-stew.html                         Lamb Stew With a French Onion Twist         By J Kenji LpezAlt       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/dining/
2022-02-18   2022-02-23 orange-roasted-chicken.html                 A Bird Welcomes The Entire Orange           By Genevieve Ko          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/dining/
2022-02-18   2022-02-23 sour-cream-crumb-cake.html                  Never Again a Crummy Crumb Cake             By Melissa Clark         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/opinion
2022-02-18   2022-02-23 /taxes-remote-work.html                     These Tax Laws Make Scofflaws of Us All By Peter Coy                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/dining/
2022-02-19   2022-02-23 ebony-test-kitchen.html                     Ebonys Funky Food Lab Returns               By Kayla Stewart         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/travel/f A Guide Looks to Broaden Fly Fishing One
2022-02-19   2022-02-23 emale-indigenous-fly-fishing-guide.html     Cast at a Time                              By Mark Aiken            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/19/us/peter Peter Earnest Spy Who Gave Public a Peek at
2022-02-19   2022-02-23 earnest-dead.html                           His World Dies at 88                        By Clay Risen            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/arts/mu
2022-02-21   2022-02-23 sic/sasami-squeeze.html                     An Outlet for Her Chaotic Clowny Energy     By Eric Ducker           TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/21/opinion Feel Free to Ignore Some Texts and Emails
2022-02-21   2022-02-23 /culture/ghosting-work-digital-overload.html We All Understand                         By Erica Dhawan           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/us/polit House Hopeful Apologizes For Conduct At
2022-02-21   2022-02-23 ics/abby-broyles-party.html                  Sleepover                                 By Neil Vigdor            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/arts/dan
                        ce/kyle-abraham-dangelo-an-untitled-
2022-02-22   2022-02-23 love.html                                    Celebrating Love and Joy in Black Culture By Siobhan Burke          TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/22/arts/des Artworks Define La Guardias New Delta
2022-02-22   2022-02-23 ign/la-guardia-new-delta-terminal-artists.html Terminal                                   By Hilarie M Sheets    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/arts/mu
2022-02-22   2022-02-23 sic/classical-music-orchestra-tour.html        Orchestras Reevaluate Global Tours         By Javier C Hernndez   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/arts/tele
                        vision/killing-eve-final-season-sandra-oh-
2022-02-22   2022-02-23 jodie-comer.html                               Together to the End Which Is Soon          By Ashley Spencer      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/arts/tele To Live Love and Die In 1980s South Los
2022-02-22   2022-02-23 vision/snowfall-show-review.html               Angeles                                    By Mike Hale           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/automo
2022-02-22   2022-02-23 biles/volkswagen-porsche-ipo.html              Volkswagen Proposes Spinning Off Porsche   By Jack Ewing          TX 9-154-386   2022-04-04




                                                                                 Page 3410 of 5793
                        https://www.nytimes.com/2022/02/22/books/r
                        eview-quan-barry-when-im-gone-look-for-me-
2022-02-22   2022-02-23 in-east.html                                Twins Search for the Next Dalai Lama          By Molly Young                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/busines World banks are girding for fallout from harsh By Lananh Nguyen and Alan
2022-02-22   2022-02-23 s/banks-russia-sanctions.html               penalties                                     Rappeport                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/busines
2022-02-22   2022-02-23 s/economy/fed-interest-rates.html           Fed Officials Signal Swift Change of Course By Jeanna Smialek                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/busines
                        s/energy-environment/russia-ukraine-oil-    Prices may climb even higher Western          By Clifford Krauss and Stanley
2022-02-22   2022-02-23 gas.html                                    investments face risks                        Reed                             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/busines
2022-02-22   2022-02-23 s/nord-stream-russia-putin-germany.html     Crisis Felt in Energy Markets                 By Melissa Eddy                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/busines
2022-02-22   2022-02-23 s/real-estate-retail-space.html             Bringing Health Care to a Retail Space        By Jane Margolies                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/busines Stocks hit correction territory as Putins move
2022-02-22   2022-02-23 s/stocks-bonds-russia-ukraine.html          draws sanctions                               By Eshe Nelson                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/dining/
2022-02-22   2022-02-23 atoboy-dominique-ansel.html                 To Enjoy Packed Sandwich Takes Teamwork By Florence Fabricant                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/dining/ To Pour Irish OldFashioned With Rum and
2022-02-22   2022-02-23 bottled-old-fashioned-cocktail.html         Rye                                           By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/dining/ To Recycle DeliverZero Targets Takeout
2022-02-22   2022-02-23 deliver-zero-takeout-containers.html        Containers                                    By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/dining/f To Revel These Doughnuts Give A Nod to
2022-02-22   2022-02-23 an-fan-doughnuts-mardi-gras.html            King Cakes                                    By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/dining/
2022-02-22   2022-02-23 miami-croquetas.html                        Miami Repacks Its Croquetas                   By Christina Morales             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/dining/ Fasano Opens in the Former Four Seasons
2022-02-22   2022-02-23 nyc-restaurant-openings.html                Space                                         By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/dining/
2022-02-22   2022-02-23 pets-diet.html                              Feeding Pets Like Theyre People               By Priya Krishna                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/dining/ To Bake Hot Cinnamon Rolls Fresh From
2022-02-22   2022-02-23 portale-restaurant-cinnamon-buns.html       Your Oven                                     By Florence Fabricant            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/dining/
2022-02-22   2022-02-23 yoleles-kitchen-towels-pierre-thiam.html    To Wipe Towels Celebrate African Countries By Florence Fabricant               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/22/nyregio LGBT Groups Protest Adams for Appointing
2022-02-22   2022-02-23 n/cabrera-eric-adams-lgbtq-protests.html    Officials Known for Homophobia          By Dana Rubinstein                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/nyregio As Subway Sweeps Begin Few Signs of
2022-02-22   2022-02-23 n/homeless-people-subway-mta-nyc.html       Change and Lots of Frustration          By Andy Newman and Ana Ley             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/nyregio New Yorkers Bet Big on Their Phones
2022-02-22   2022-02-23 n/sports-betting-ny.html                    Alarming Addiction Experts              By Jesse McKinley                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/nyregio                                          By Ben Protess William K
2022-02-22   2022-02-23 n/trump-organization-fraud-case.html        Trump Group Asks Judge to Drop Charges  Rashbaum and Jonah E Bromwich          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/sports/b Athletes Allege They Were Cheated by
2022-02-22   2022-02-23 asketball/morgan-stanley-nba.html           Morgan Stanley Financial Broker         By David W Chen                        TX 9-154-386   2022-04-04



                                                                                 Page 3411 of 5793
                        https://www.nytimes.com/2022/02/22/sports/f Fearing Boycott Combine Relaxes Covid       By Emmanuel Morgan and Jenny
2022-02-22   2022-02-23 ootball/nfl-draft-covid-rules.html          Restrictions                                Vrentas                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/sports/g Mickelson Says Hes Sorry For Supporting a
2022-02-22   2022-02-23 olf/mickelson-saudi-league-pga.html         Saudi Tour                                  By Bill Pennington                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/sports/s US Womens Soccer Players Win a Promise
2022-02-22   2022-02-23 occer/us-womens-soccer-equal-pay.html       of Equal Pay                                By Andrew Das                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/us/arth Arthur Feuerstein 86 Chess Master Who
2022-02-22   2022-02-23 ur-feuerstein-dead.html                     Came Back From a Head Injury                By Dylan Loeb McClain             TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/22/us/colo Justices Will Revisit Free Speech Questions
2022-02-22   2022-02-23 rado-supreme-court-same-sex-marriage.html In Gay Marriage Case                           By Adam Liptak                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/us/geor Jurors Will Begin Deliberating in Floyd Civil
2022-02-22   2022-02-23 ge-floyd-jury-verdict.html                  Rights Case                                  By Nicholas BogelBurroughs       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/us/greg
                        ory-mcmichael-travis-mcmichael-william-     Federal Jury Finds That Arbery Killing Was By Tariro Mzezewa Audra D S
2022-02-22   2022-02-23 bryan.html                                  Motivated by Racism                          Burch and Richard Fausset        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/us/jeffe 2 Deputies Are Fired and Arrested Over a
2022-02-22   2022-02-23 rson-parish-shooting-daniel-vallee.html     Fatal Shooting in a Parked Vehicle           By Azi Paybarah and Steve Eder   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/us/polit Foreign Policy Is No Longer a Uniter in
2022-02-22   2022-02-23 ics/congress-ukraine-russia.html            Congress                                     By Jonathan Weisman              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/us/polit
                        ics/treasury-elizabeth-warren-accounting-   Leaders Want Treasury To Examine Hiring
2022-02-22   2022-02-23 firms.html                                  Issue                                        By Jesse Drucker                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/us/trans
                        gender-woman-atlanta-officers-false-        Transgender Woman Given 15 Million After
2022-02-22   2022-02-23 arrest.html                                 Arrest                                       By Eduardo Medina                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/world/a Canada Ends Its Freeze On Protesters
2022-02-22   2022-02-23 mericas/canada-protest-finances.html        Finances                                     By Ian Austen                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/world/a Taliban Takeover in Afghanistan Fuels Terror By Salman Masood and Zia
2022-02-22   2022-02-23 sia/pakistan-afghanistan-taliban.html       in Pakistan                                  urRehman                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/world/a Money in Australian Politics If You Can Get
2022-02-22   2022-02-23 ustralia/federal-election-dark-money.html   Away With Things You Do It                   By Damien Cave                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/world/e Europe Adopts Initial Sanctions Coordinating By Steven Erlanger and Matina
2022-02-22   2022-02-23 urope/eu-sanctions-russia-ukraine.html      a Squeeze With Washington                    StevisGridneff                   TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/22/world/e In Kyiv Vows of Defiance As Soldier Is Laid By Valerie Hopkins and Brendan
2022-02-22   2022-02-23 urope/kyiv-ukraine-military-casualties.html to Rest                                     Hoffman                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/world/e Gradually Theatrically Kremlin Puts in Place
2022-02-22   2022-02-23 urope/putin-invading-ukraine.html           Its Rationale for Invasion                  By Anton Troianovski              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/world/e
                        urope/russia-putin-ukraine-europe-cold-war- Putin Aims to Blot Out History Who Will
2022-02-22   2022-02-23 nato.html                                   Write Europes Future                        By Roger Cohen                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/world/e
                        urope/ukraine-breakaway-regions-conflict-   Residents Facing Hard Choice As Fighting
2022-02-22   2022-02-23 russia.html                                 Nears Stay or Flee                          By Andrew E Kramer                TX 9-154-386   2022-04-04



                                                                                Page 3412 of 5793
                        https://www.nytimes.com/2022/02/22/opinion
2022-02-23   2022-02-23 /ukraine-russia-us-war.html                 Ukraine and Americas SelfBelief              By Bret Stephens                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/theater/
2022-02-23   2022-02-23 english-review-sanaz-toossi.html            An Accent on Identity                        By Jesse Green                     TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/22/us/polit Biden Interviews Supreme Court Candidates
2022-02-23   2022-02-23 ics/biden-supreme-court-candidates.html       With an Eye on Deciding by Next Week          By Katie Rogers                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/us/polit
                        ics/republican-candidates-split-over-ukraine-                                               By Blake Hounshell and Leah
2022-02-23   2022-02-23 russia-crisis.html                            Isolationists vs Hawks Republicans Are Split Askarinam                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/us/polit Putin Armored Russias Economy Can Bidens By Edward Wong and Michael
2022-02-23   2022-02-23 ics/russia-biden-sanctions-ukraine.html       Sanctions Pierce It                           Crowley                         TX 9-154-386   2022-04-04
                                                                                                                    By Michael D Shear Richard
                        https://www.nytimes.com/2022/02/22/us/polit                                                 PrezPea Zolan KannoYoungs and
2022-02-23   2022-02-23 ics/us-russia-ukraine-sanctions.html          Condemning Russia Bidend Issues Sanctions Anton Troianovski                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/climate Climate Change Raises Risk of Major
2022-02-23   2022-02-23 /climate-change-un-wildfire-report.html       Wildfires                                     By Raymond Zhong                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/opinion Putins Pursuit Wont Achieve His Own or
2022-02-23   2022-02-23 /putin-ukraine.html                           Russias Greatness                             By Madeleine Albright           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/sports/b
2022-02-23   2022-02-23 asketball/nba-wizards-wes-unseld.html         NBA Royalty Came Up the Hard Way              By Scott Cacciola               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/sports/b Womens Basketball Players Find a Fresh          By Tamryn Spruill and Bridget
2022-02-23   2022-02-23 asketball/wnba-athletes-unlimited.html        Opportunity                                   Bennett                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/style/m Fashions Favorite London Canteen Is a
2022-02-18   2022-02-24 ax-rocha-cafe-cecilia.html                    Family Affair                                 By Mark C OFlaherty             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/opinion
2022-02-21   2022-02-24 /bomb-threats-black-colleges.html             Racial Justice Isnt Inevitable or Irrevocable By Margaret Renkl               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/style/eu
2022-02-21   2022-02-24 phoria-series-doom-watching.html              A Sense of Doom Follows Euphoria              By Danya Issawi                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/arts/mu Encanto Soundtrack Still Dominates Billboard
2022-02-22   2022-02-24 sic/encanto-billboard-soundtrack.html         Charts                                        By Ben Sisario                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/arts/mu Mark Lanegan 57 WorldWeary Singer Who
2022-02-22   2022-02-24 sic/mark-lanegan-dead.html                    Helped Put Grunge Music on Map                By Alyssa Lukpat                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/nyregio Dennison Young Inseparable Aide To
2022-02-22   2022-02-24 n/dennison-young-dead.html                    Giuliani for Decades Dies at 78               By Katharine Q Seelye           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/opinion He Wanted to Make the Whole World His
2022-02-22   2022-02-24 /paul-farmer-tracy-kidder.html                Patient                                       By Tracy Kidder                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/style/lo
2022-02-22   2022-02-24 ndon-fashion-week-fall-2022.html              Rewriting Expectations                        By Vanessa Friedman             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/style/m
2022-02-22   2022-02-24 arilyn-stafford-exhibition-england.html       The Inadvertent Portraitist                   By Saskia Solomon               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/technol
2022-02-22   2022-02-24 ogy/apple-netherlands-app-store.html          In Netherlands Apple Fights to Control Apps By Shira Ovide                    TX 9-154-386   2022-04-04




                                                                                 Page 3413 of 5793
                        https://www.nytimes.com/2022/02/22/world/e Macron Aims to Soften Image of a
2022-02-22   2022-02-24 urope/france-election-emmanuel-macron.html Republican Monarch                         By Norimitsu Onishi              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/us/benj Man Charged With Murder in Portland
2022-02-23   2022-02-24 amin-smith-portland-shooting.html            Protest Shootings That Killed One        By Sergio Olmos and Maria Cramer TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/arts/dan
2022-02-23   2022-02-24 ce/l-e-v-review-at-the-joyce-theater.html    The Heart and the Anguish That Is Love   By Gia Kourlas                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/arts/des
                        ign/met-italian-renaissance-bronze-          Met Museum Buys Italian Renaissance
2022-02-23   2022-02-24 cavalli.html                                 Bronze                                   By Colin Moynihan                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/arts/mu Gary Brooker 76 Dies British Frontman Held
2022-02-23   2022-02-24 sic/gary-brooker-dead.html                   Procol Harum Together                    By Jon Pareles                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/arts/mu
2022-02-23   2022-02-24 sic/met-opera-new-season.html                The Met Opera Is Already Looking Ahead   By Javier C Hernndez             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/arts/tele
2022-02-23   2022-02-24 vision/law-and-order-review.html             Old Faces Some Clichs Shake Well         By Mike Hale                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/arts/tele
2022-02-23   2022-02-24 vision/proud-family-returns.html             A TV Family Returns Louder and Prouder   By LeighAnn Jackson              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/arts/wo Their Paths to Wordle Glory Smart First
2022-02-23   2022-02-24 rdle-strategies.html                         Moves                                    By Emma Dibdin                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/books/r
                        eview-man-from-future-john-von-neumann-
2022-02-23   2022-02-24 ananyo-bhattacharya.html                     Teasing Out the Threads of Genius        By Jennifer Szalai               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/23/busines Companies Could Be Liable For Violations
2022-02-23   2022-02-24 s/economy/eu-supply-chain-violations.html in Supply Line                               By Monika Pronczuk             TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/23/busines                                             By Ana Swanson and Alan
2022-02-23   2022-02-24 s/economy/export-controls-russia-us.html   US Warns Russia Faces Export Block          Rappeport                      TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/23/busines
                        s/economy/russia-ukraine-energy-security-
2022-02-23   2022-02-24 climate-change.html                        Fuel Worries Limit Action On Climate        By Patricia Cohen              TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/23/busines
                        s/economy/russia-ukraine-global-us-        Ripple Effect What Conflict In Ukraine      By Jeanna Smialek and Ana
2022-02-23   2022-02-24 economy.html                               Means for US                                Swanson                        TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/23/busines Starbucks Strategy to Curb Union Voting Is
2022-02-23   2022-02-24 s/economy/starbucks-union-vote-mesa.html Rejected                                       By Noam Scheiber              TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/23/busines IMAX Is Reinventing Itself to Boldly Go
2022-02-23   2022-02-24 s/media/imax-movies-live-events.html       Beyond Movies                                By Brooks Barnes              TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/23/busines
                        s/media/sarah-palin-lawyers-new-york-      Palin Will Seek New Trial After Losing Libel
2022-02-23   2022-02-24 times.html                                 Suit Against Times                           By Jeremy W Peters            TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/23/busines Judge Delays 1MDB Trial Over Discovery Of
2022-02-23   2022-02-24 s/roger-ng-trial-1mdb.html                 Documents                                    By Matthew Goldstein          TX 9-154-386    2022-04-04




                                                                               Page 3414 of 5793
                        https://www.nytimes.com/2022/02/23/busines Escalating Crisis Roils an Already Shaky
2022-02-23   2022-02-24 s/stock-market-correction.html              Stock Market                                By Jeff Sommer                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/busines Glitches Hamper Rollout Of Trumps New
2022-02-23   2022-02-24 s/trump-truth-social-app-problems.html      Platform                                    By Matthew Goldstein             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/health/f For the First Time The FDA Approves A
2022-02-23   2022-02-24 da-condoms-anal-sex.html                    Condom for Anal Sex                         By Pam Belluck                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/health/
2022-02-23   2022-02-24 maternal-deaths-pandemic.html               Maternal Deaths in the US Climbed in 2020   By Roni Caryn Rabin              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/movies/
2022-02-23   2022-02-24 godfather-francis-ford-coppola.html         Restoration Crime Story                     By Dave Itzkoff                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/movies/
2022-02-23   2022-02-24 oscars-telecast-problems.html               At Oscars Changes Arent All For Better      By Kyle Buchanan                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/nyregio ExNYPD Union President Is Charged in         By Benjamin Weiser and William
2022-02-23   2022-02-24 n/ed-mullins-nypd-charges.html              Fraud Case                                  K Rashbaum                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/nyregio
2022-02-23   2022-02-24 n/nyc-subway-barriers.html                  MTA to Test Safety Barriers In the Subway By Michael Gold and Ana Ley        TX 9-154-386   2022-04-04
                                                                                                              By William K Rashbaum Ben
                        https://www.nytimes.com/2022/02/23/nyregio 2 Manhattan Prosecutors Quit Putting Trump Protess Jonah E Bromwich Kate
2022-02-23   2022-02-24 n/trump-ny-fraud-investigation.html        Inquiry in Doubt                           Christobek and Nate Schweber       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/opinion
                        /colleyville-texas-synagogue-
2022-02-23   2022-02-24 antisemitism.html                          I Will Never Stop Welcoming the Stranger   By Charlie CytronWalker            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/opinion
2022-02-23   2022-02-24 /ukraine-biden-putin-invasion.html         No Justification for a Brazen Invasion     By The Editorial Board             TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/23/science Abbott Wants Medical Care for Trans Youth
2022-02-23   2022-02-24 /texas-abbott-transgender-child-abuse.html    Called Abuse                               By Azeen Ghorayshi              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/sports/b
                        asketball/mens-college-basketball-tournament- Just Catching Up on Hoops Gonzaga Is Still
2022-02-23   2022-02-24 preview.html                                  Very Good                                  By Adam Zagoria                 TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/23/sports/b AllStar Weekend Gives NBA Prospects a
2022-02-23   2022-02-24 asketball/nba-draft-prospects-basketball.html Taste of the Big Time                      By Tania Ganguli                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/sports/c Shes 65 Legally Blind And Fearless on a Bike
2022-02-23   2022-02-24 olorado-ski-bike-kris-nordberg.html           Maybe Its the Habit                        By Shauna Farnell               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/sports/r UEFA Hears Calls to Move Champions
2022-02-23   2022-02-24 ussia-ukraine-football.html                   League Final From Russia                   By Tariq Panja                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/theater/
2022-02-23   2022-02-24 long-wharf-theater-new-haven.html             Long Wharf Theater to Explore Other Spaces By Michael Paulson              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/us/breo Officer Accused of Recklessly Firing During By Giulia Heyward and Nicholas
2022-02-23   2022-02-24 nna-taylor-brett-hankison-trial.html          Taylor Raid Goes on Trial                  BogelBurroughs                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/us/flori New Florida Surgeon General Bolsters
2022-02-23   2022-02-24 da-surgeon-general-ladapo.html                DeSantiss Policies                         By Patricia Mazzei              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/us/helic Hawaii Copter Crash Kills Four While
2022-02-23   2022-02-24 opter-crash-navy-hawaii.html                  Training With the Navy                     By Christine Chung              TX 9-154-386   2022-04-04



                                                                                Page 3415 of 5793
                        https://www.nytimes.com/2022/02/23/us/polit Justice Dept to End Trump Policy on Chinese
2022-02-23   2022-02-24 ics/china-trump-justice-department.html     Threats                                     By Katie Benner                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/us/polit Ivanka Trump in Talks On Possible Interview By Annie Karni and Luke
2022-02-23   2022-02-24 ics/ivanka-trump-jan-6-committee.html       With the Jan 6 Panel                        Broadwater                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/us/polit North Carolina Court Picks Nonpartisan
2022-02-23   2022-02-24 ics/north-carolina-maps-democrats.html      District Map                                By Michael Wines                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/us/polit
2022-02-23   2022-02-24 ics/supreme-court-public-charge-rule.html   Justices Consider Immigration Imbroglio     By Adam Liptak                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/us/truc Following Canadian Lead US Convoy Hits
2022-02-23   2022-02-24 k-convoy-dc.html                            the Road                                    By Shawn Hubler and Alan Feuer   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/world/a With Aid From Neighbors Colombian
2022-02-23   2022-02-24 mericas/colombia-abortion.html              Feminists Decriminalize Abortion            By Julie Turkewitz               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/world/a Xis ChinaFirst Policy Is Shutting Out the
2022-02-23   2022-02-24 sia/china-xi-jinping-world.html             World                                       By Vivian Wang                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/world/a Protests in New Zealand Begin to Echo
2022-02-23   2022-02-24 ustralia/new-zealand-protest-vaccine.html   Canadas                                     By Pete McKenzie                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/world/e
                        urope/bakari-henderson-killing-greece-      Rare Retrial Begins for 6 Men in Deadly
2022-02-23   2022-02-24 retrial.html                                Beating of an American in Greece            By Niki Kitsantonis              TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/23/world/e Europe Hopes to Pressure Putin By Crimping
2022-02-23   2022-02-24 urope/eu-sanctions-putin-russia-ukraine.html Cronies Lifestyles                       By Matina StevisGridneff        TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/23/world/e Reading Between Putins Lines Justifying an
2022-02-23   2022-02-24 urope/putin-speech-russia-ukraine.html       Invasion                                 By Max Fisher                   TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/23/world/e In This Border Town Sentiments Are Split
2022-02-23   2022-02-24 urope/russia-ukraine-target.html             and Nerves Are Shot                      By Andrew E Kramer              TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/23/world/e Sleepless Nights in Moscow as a Nation
2022-02-23   2022-02-24 urope/russia-ukraine-war-putin.html          Lurches Into a Conflict                  By Anton Troianovski            TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/23/world/e Russian Mercenaries Are Said to Be in      By Michael Schwirtz and Eric
2022-02-23   2022-02-24 urope/russian-ukraine-mercenaries.html       Eastern Ukraine Preparing for War        Schmitt                         TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/23/world/e Anxiety and Disbelief as a Train Takes
2022-02-23   2022-02-24 urope/ukraine-russian-troops.html            Passengers West                          By Marc Santora and Emile Ducke TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/23/opinion
2022-02-24   2022-02-24 /trump-election-finance.html                 Guess Whos On the Line                   By Gail Collins                 TX 9-154-386      2022-04-04

                        https://www.nytimes.com/2022/02/23/us/polit Biden Announces Penalties for Russian       By Zolan KannoYoungs and
2022-02-24   2022-02-24 ics/biden-russia-sanctions-nord-stream-2.html Builder of Pipeline to Germany            Edward Wong                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/us/polit Building His Case Putin Embraces Theory
2022-02-24   2022-02-24 ics/putin-ukraine-nuclear-weapons.html        That Kyiv Is on Nuclear Path              By David E Sanger                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/us/willi William Kuenzel 60 Prisoner on Death Row
2022-02-24   2022-02-24 am-kuenzel-dead.html                          Since 88                                  By Richard Sandomir              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/world/e Russia Attacks as Putin Warns World Biden    By Anton Troianovski and Neil
2022-02-24   2022-02-24 urope/ukraine-russia-invasion.html            Vows to Hold Him Accountable              MacFarquhar                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/sports/s
2022-02-24   2022-02-24 occer/data-analysis.html                      Atop Every Clubs Wish List Data Analyst   By Rory Smith                    TX 9-154-386   2022-04-04



                                                                                Page 3416 of 5793
                        https://www.nytimes.com/2022/02/24/style/fe
2022-02-24   2022-02-24 rragni-sisters-reality-tv-fashion-brand.html   How Do You Say Kardashian in Italian        By Jessica Testa             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/style/pe
2022-02-24   2022-02-24 bble-bar-rockefeller-center-hurleys.html       Luring the Cool Crowd to Rockefeller Center By Steven Kurutz             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/world/e Timeline Shows Buildup of Tensions
2022-02-18   2022-02-25 urope/russia-ukraine-timeline.html             Between 2 Nations                           By Matthew Mpoke Bigg        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/20/movies/
2022-02-20   2022-02-25 mr-bachmann-and-his-class-review.html          Charming His Students and the Viewer        By AO Scott                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/arts/mu
                        sic/philadelphia-orchestra-beethoven-carnegie-
2022-02-22   2022-02-25 hall-review.html                               Finally a Cycle Reaches Its Finale          By Joshua Barone             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/arts/des
2022-02-23   2022-02-25 ign/henry-darger-hearing.html                  Hearing Postponed On Artists Estate         By Robin Pogrebin            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/arts/mu
2022-02-23   2022-02-25 sic/dweller-festival-black-djs.html            Disrupting a Landscape Ruled by White DJs By Isabelia Herrera            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/arts/roy-
2022-02-23   2022-02-25 lichtenstein-studio-whitney-museum.html        A Studio for the Next Generation            By Laura Zornosa             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/arts/the- John Szeles 63 Comedian and Magician Who
2022-02-23   2022-02-25 amazing-johnathan-szeles-dead.html             Combined Jokes With Bloody Tricks           By Maria Cramer              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/busines Cryptocurrencies Could Help Russia Ease         By Emily Flitter and David
2022-02-23   2022-02-25 s/russia-sanctions-cryptocurrency.html         Consequences                                YaffeBellany                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/world/e
                        urope/uk-coronavirus-restrictions-             As England Moves to Return to Normal the
2022-02-23   2022-02-25 vulnerable.html                                Most Vulnerable May Pay a Price             By Emma Bubola               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/movies/
2022-02-24   2022-02-25 cyrano-review.html                             Who Gets to Write the Book of Love          By AO Scott                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/sports/b
                        aseball/mlb-tells-union-games-will-be-lost- MLB Reiterates Threat to Start Canceling
2022-02-24   2022-02-25 without-a-deal-soon.html                       Games Soon                                  By James Wagner              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/us/bob- Bob Beckel 73 Liberal Operative Who
2022-02-24   2022-02-25 beckel-dead.html                               Became a Fixture on Fox Dies                By Clay Risen                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/24/arts/dan
2022-02-24   2022-02-25 ce/review-kyle-abraham-an-untitled-love.html Kick Off Your Shoes And Join This Party      By Brian Seibert              TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/24/arts/des
2022-02-24   2022-02-25 ign/james-turrell-pace-gallery-reinhardt.html Putting His Heros Creations On Display      By Deborah Solomon            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/arts/des
2022-02-24   2022-02-25 ign/met-broadway-tickets-nyc.html             Using Deals to Attract Visitors             By Matt Stevens               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/arts/mu
                        sic/gergiev-putin-vienna-philharmonic-        Conductor A Putin Ally Wont Appear In
2022-02-24   2022-02-25 carnegie-hall.html                            New York                                    By Javier C Hernndez          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/arts/mu
2022-02-24   2022-02-25 sic/lara-downes-scott-joplin-piano.html       A Musician Praised and Reappraised          By Seth Colter Walls          TX 9-154-386   2022-04-04




                                                                                  Page 3417 of 5793
                        https://www.nytimes.com/2022/02/24/arts/mu
2022-02-24   2022-02-25 sic/marta-sanchez-saam-review.html           Finding Some Beauty Amid Grief and Loss     By Giovanni Russonello       TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/24/arts/ras
2022-02-24   2022-02-25 haad-newsome-assembly-exhibit.html           Gathering the Origins of Everything         By Martha Schwendener        TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/24/arts/tele
2022-02-24   2022-02-25 vision/killing-eve-super-pumped.html         This Weekend I Have                         By Alexis Soloski            TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/24/books/
2022-02-24   2022-02-25 march-new-books.html                         14 New Titles to Anticipate in March        By Joumana Khatib            TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/24/busines Justice Dept Sues to Block Deal By
2022-02-24   2022-02-25 s/doj-antitrust-lawsuit-unitedhealth.html    UnitedHealth Worth 13 Billion               By David McCabe              TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/24/busines Invasion Has the Fed on Alert but Not
2022-02-24   2022-02-25 s/economy/interest-rates-russia-ukraine.html Inclined to Change Course                   By Jeanna Smialek            TX 9-154-386     2022-04-04
                        https://www.nytimes.com/2022/02/24/busines Stock Volatility Soars as Prices For Energy   By Jeff Sommer and Kevin
2022-02-24   2022-02-25 s/economy/stock-market-today.html            Swing                                       Granville                    TX 9-154-386     2022-04-04

                        https://www.nytimes.com/2022/02/24/busines
2022-02-24   2022-02-25 s/economy/tefere-gebre-labor-greenpeace.htmlTop Labor Leader Joins Greenpeace          By Noam Scheiber                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/busines As Tanks Roll Past Cable News Covers        By Michael M Grynbaum and Katie
2022-02-24   2022-02-25 s/media/cnn-fox-news-ukraine-russia.html     HighStakes Fight                          Robertson                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/busines
                        s/multinationals-halt-operations-in-ukraine- Foreign Companies Suspend Operations as
2022-02-24   2022-02-25 and-move-employees-to-safety.html            Russia Attacks                            By Liz Alderman and Melissa Eddy TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/busines With Nervous Glance at Russia Buyers Worry
2022-02-24   2022-02-25 s/oil-gas-energy-supplies-russia.html        Over Oil and Natural Gas Costs            By Stanley Reed                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/busines Some Former World Leaders Quit Russian
2022-02-24   2022-02-25 s/russia-ukraine-corporate-boards.html       Boards                                    By Melissa Eddy                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/busines Nearly a Quarter of the Global Wheat Supply
2022-02-24   2022-02-25 s/ukraine-russia-wheat-prices.html           Is at Risk                                By Ana Swanson                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/health/a
2022-02-24   2022-02-25 bortion-pills-us.html                        More Than Half of US Abortions Use Pills  By Pam Belluck                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/movies/
2022-02-24   2022-02-25 big-gold-brick-review.html                   Big Gold Brick                            By Nicolas Rapold                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/movies/
2022-02-24   2022-02-25 butter-review.html                           Butter                                    By Lisa Kennedy                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/movies/
2022-02-24   2022-02-25 careless-crime-review.html                   Careless Crime                            By Devika Girish                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/movies/
2022-02-24   2022-02-25 creation-stories-review.html                 Creation Stories                          By Glenn Kenny                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/movies/
2022-02-24   2022-02-25 family-squares-review.html                   Family Squares                            By Concepcin de Len              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/movies/
2022-02-24   2022-02-25 friends-and-strangers-review.html            Friends and Strangers                     By Ben Kenigsberg                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/movies/
2022-02-24   2022-02-25 hellbender-review.html                       Hellbender                                By Lena Wilson                   TX 9-154-386   2022-04-04



                                                                                 Page 3418 of 5793
                        https://www.nytimes.com/2022/02/24/movies/                                              By Jeannette Catsoulis Amy
2022-02-24   2022-02-25 oscar-nominated-short-films-review.html      So Do They Get a Smaller Statuette         Nicholson and Ben Kenigsberg    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/movies/
2022-02-24   2022-02-25 servants-review.html                         Servants                                   By Natalia Winkelman            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/movies/
2022-02-24   2022-02-25 studio-666-review-foo-fighters.html          Foo Fighters on a Sonic Highway to Hell    By Wesley Morris                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/movies/
2022-02-24   2022-02-25 the-burning-sea-review.html                  The Burning Sea                            By Jeannette Catsoulis          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/movies/ Wait Is That My Phone or Yours Im in a
2022-02-24   2022-02-25 the-desperate-hour-review.html               Panic Here                                 By Wesley Morris                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/movies/
2022-02-24   2022-02-25 three-months-movie-review.html               Three Months                               By Teo Bugbee                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/nyregio Juror to Be Questioned as Epsteins Close
2022-02-24   2022-02-25 n/ghislaine-maxwell-trial-juror.html         Associate Seeks a New Trial                By Benjamin Weiser              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/opinion A Bacchanal of RightWing Pageantry and
2022-02-24   2022-02-25 /cpac-trump-desantis-biden.html              Grievance                                  By Michelle Cottle              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/opinion
                        /russia-ukraine-sanctions-offshore-
2022-02-24   2022-02-25 accounts.html                                Hidden Money May Be Putins Achilles Heel   By Paul Krugman                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/science Avian Flu Spreading Through Eastern US
2022-02-24   2022-02-25 /avian-flu-us-poultry.html                   Worries Poultry Farms                      By Andrew Jacobs                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/sports/b Is the Number Retired No Can You Wear It
2022-02-24   2022-02-25 aseball/paul-oneill-jersey-retired.html      Absolutely Not                             By Tyler Kepner                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/sports/n
                        caabasketball/providence-xavier-score-arena- Rain Delay 3 Overtimes And Victory For
2022-02-24   2022-02-25 delay.html                                   Friars                                     By Evan Easterling              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/sports/n
                        caafootball/art-briles-grambling-state-      Coach Fired in 2016 Baylor Scandal Lands
2022-02-24   2022-02-25 baylor.html                                  Assistant Job at Grambling                 By Alanis Thames                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/sports/n
                        caafootball/marshall-conference-usa-         Marshall Sues Conference USA to Hasten
2022-02-24   2022-02-25 realignment.html                             Move to Sun Belt                           By Alanis Thames                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/sports/s
                        occer/uefa-will-strip-st-petersburg-of-      UEFA Strips Russia of Hosting the
2022-02-24   2022-02-25 champions-league-final.html                  Champions League Final                     By Tariq Panja                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/theater/
2022-02-24   2022-02-25 daniel-isaac-the-chinese-lady.html           Gigs Hes Got a Few                         By Alexis Soloski               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/us/guilt 3 ExOfficers Found Guilty of Violating      By Tim Arango Nicholas
2022-02-24   2022-02-25 y-verdict-george-floyds-rights.html          Floyds Civil Rights                        BogelBurroughs and Jay Senter   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/us/polit Vulnerable Democrats Tilt Agenda Away
2022-02-24   2022-02-25 ics/democrats-midterm-agenda.html            From Left                                  By Jonathan Weisman             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/us/polit Republican Of Oklahoma Plans to Exit
2022-02-24   2022-02-25 ics/jim-inhofe-senate-retirement.html        Senate Early                               By Jonathan Martin              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/us/polit Courting GOPs Mainstream and Fringe         By Annie Karni and Jonathan
2022-02-24   2022-02-25 ics/kevin-mcarthy-speaker.html               McCarthy Plots Rise to Speaker             Weisman                         TX 9-154-386   2022-04-04



                                                                               Page 3419 of 5793
                        https://www.nytimes.com/2022/02/24/us/polit US Sending 7000Troop Combat Team to
2022-02-24   2022-02-25 ics/us-troops-deploy-europe.html            Germany to Reassure NATO Allies            By Helene Cooper                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/us/texa Why Officials on the Texas Border Are
2022-02-24   2022-02-25 s-border-security-immigration.html          Joining the GOP                            By J David Goodman                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/world/e Some Flee Some Have Nowhere to Run as       By Michael Schwirtz and Sabrina
2022-02-24   2022-02-25 urope/eastern-ukraine-scenes-russia.html    Panic Sets In                              Tavernise                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/world/e Survivors of Grim Night at Greek Border Say
2022-02-24   2022-02-25 urope/greece-turkey-migrants-deaths.html    They Were Left to Die                      By Carlotta Gall                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/world/e
                        urope/intelligence-putin-biden-ukraine-     US Intelligence Strengthens Bidens Hand in By Julian E Barnes and David E
2022-02-24   2022-02-25 leverage.html                               Uniting Allies                             Sanger                            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/world/e Russians Wake Up to Discover They Didnt
2022-02-24   2022-02-25 urope/putin-russia-ukraine.html             Really Know Putin                          By Anton Troianovski              TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/24/world/e Disbelief Hopelessness and Frantic Calls
2022-02-24   2022-02-25 urope/ukraine-expats-invasion-protest.html  From Home for Ukrainians Abroad            By Megan Specia                TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/24/world/e With Invasion of Ukraine Risks to NATO
2022-02-24   2022-02-25 urope/ukraine-russia-nato-europe.html       Have Increased Enormously                  By Steven Erlanger             TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/24/world/e An Untested President Steps Up To Rally His
2022-02-24   2022-02-25 urope/ukraine-zelensky-speech.html          People in Wartime                          By Valerie Hopkins             TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/24/world/e
2022-02-24   2022-02-25 urope/us-putin-nuclear-war-nato.html        US Empire of Lies Is Putins Real Target    By Roger Cohen                 TX 9-154-386      2022-04-04
                        https://www.nytimes.com/article/trump-      Investigations Into Trump Proceed Despite  By Ben Protess Alan Feuer and
2022-02-24   2022-02-25 investigations-civil-criminal.html          Pause in Manhattan Case                    Danny Hakim                    TX 9-154-386      2022-04-04
                        https://www.nytimes.com/live/2020/2020-
                        election-misinformation-distortions/qanon-  41 Million Americans Believe QAnon
2022-02-24   2022-02-25 believers-us-survey                         Conspiracy Survey Finds                    By Tiffany Hsu                 TX 9-154-386      2022-04-04
                        https://www.nytimes.com/live/2022/02/24/wo
                        rld/russia-attacks-ukraine/ukraine-museums- Ukraines Museums Scramble to Protect Their By Valerie Hopkins and Alex
2022-02-24   2022-02-25 russia-attacks                              Vast Collections                           Marshall                       TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/24/opinion
2022-02-25   2022-02-25 /defeat-trump-democrat-myths.html           Defeat Trump Now More Than Ever            By David Brooks                TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/24/opinion
2022-02-25   2022-02-25 /putin-biden-ukraine-russia.html            Mr Putin Launches a Second Cold War        By The Editorial Board         TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/24/opinion
2022-02-25   2022-02-25 /ukraine-russia-biden.html                  The US Is Facing a New Reality in Europe   By Emma Ashford                TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/24/us/polit Biden Vows Putin Will Pay For His Naked    By Michael D Shear and Zolan
2022-02-25   2022-02-25 ics/biden-putin-sanctions-ukraine.html      Aggression                                 KannoYoungs                    TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/24/us/polit Sanctions Aim to Isolate Banks And Cut Off By Edward Wong Michael Crowley
2022-02-25   2022-02-25 ics/biden-sanctions-russia-ukraine.html     Russia Tech Imports                        and Ana Swanson                TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/24/us/polit                                            By Luke Broadwater and Alan
2022-02-25   2022-02-25 ics/roger-stone-jan-6-panel.html            Stone Sues Jan 6 Panel to Block Records    Feuer                          TX 9-154-386      2022-04-04
                        https://www.nytimes.com/2022/02/24/world/e Trumps Praise of Putin Shocks Some          By David D Kirkpatrick Maggie
2022-02-25   2022-02-25 urope/trump-putin-russia-ukraine.html       Historians GOP Leaders Are Mute            Astor and Catie Edmondson      TX 9-154-386      2022-04-04




                                                                               Page 3420 of 5793
                        https://www.nytimes.com/2022/02/24/world/r                                              By Michael Schwirtz Eric Schmitt
2022-02-25   2022-02-25 ussia-ukraine-invasion-putin-biden.html      War in Ukraine                             and Neil MacFarquhar               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/busines
                        s/economy/russia-europe-sanctions-gas-       Toughest Sanctions Are the Hardest For     By Patricia Cohen and Stanley
2022-02-25   2022-02-25 oil.html                                     Europe to Wield                            Reed                               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/movies/
2022-02-25   2022-02-25 no-exit-review.html                          No Exit                                    By Beatrice Loayza                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/sports/s Training Mecca Limits Access and No One Is
2022-02-25   2022-02-25 edona-high-school-track-runners.html         Quite Sure Why                             By Kevin Draper                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/opinion The West Is Deluded About Its Energy         By Dennis C Blair and Joseph F
2022-02-22   2022-02-26 /russia-ukraine-energy-conflict.html         Independence                               Dunford Jr                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/technol
2022-02-23   2022-02-26 ogy/duckduckgo-conspiracy-theories.html      The Engine Thats Fueling Conspiracy Talk   By Stuart A Thompson               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/theater/
2022-02-23   2022-02-26 the-same-review.html                         What if Your Younger And Older Selves Met By Maya Phillips                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/arts/dan 11000 Free Pairs of Shoes Are Ready to
2022-02-24   2022-02-26 ce/dance-shoe-giveaway.html                  Dance                                      By Laura Zornosa                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/arts/des
                        ign/black-childhood-deborah-roberts-art-
2022-02-24   2022-02-26 dolls.html                                   SelfRepresentation Play and Power          By Aruna DSouza                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/arts/sot Sothebys NFT Sale Is Suddenly Canceled As
2022-02-24   2022-02-26 hebys-nft-sale-canceled.html                 Cosignor Bows Out                          By Zachary Small                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/arts/tele
2022-02-24   2022-02-26 vision/killing-eve-review.html               The End of the Road Is in Sight            By Mike Hale                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/busines You Can Take It With You if the Grave Is
2022-02-24   2022-02-26 s/car-burials-funerals.html                  Deep                                       By Jim Motavalli                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/opinion
2022-02-24   2022-02-26 /long-island-housing.html                    Long Island We Need to Talk About Housing By Binyamin Appelbaum               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/world/e
2022-02-24   2022-02-26 urope/putin-ukraine-speech.html              Scrutinizing Putins Case for War           By Max Fisher                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/movies/ Sally Kellerman 84 MASH Actress Who Was By Christine Chung and Neil
2022-02-25   2022-02-26 sally-kellerman-dead.html                    Nominated for an Oscar Dies                Genzlinger                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/arts/mu
2022-02-25   2022-02-26 sic/don-carlos-verdi-met-opera.html          This Operas Been a Long Time Coming        By Will Crutchfield                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/arts/mu Settling Back Into the Standards and Putting
2022-02-25   2022-02-26 sic/new-york-philharmonic-review.html        Novelty Aside                              By Joshua Barone                   TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/25/arts/tele
2022-02-25   2022-02-26 vision/ukraine-invasion-tv-cnn-fox-news.html Ukraine on TV A Grim Kind of Rerun         By James Poniewozik                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/arts/ukr
2022-02-25   2022-02-26 aine-cultural-sites-art.html                 New Monuments Men Getting a Slow Start     By Graham Bowley                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/books/a
2022-02-25   2022-02-26 ndrey-kurkov-ukraine-war.html                A Ukrainian Writer Speaks to the World     By Alex Marshall                   TX 9-154-386   2022-04-04




                                                                                Page 3421 of 5793
                        https://www.nytimes.com/2022/02/25/busines Disney Hotel Takes Luxury to a Place It      By Brooks Barnes and Todd
2022-02-25   2022-02-26 s/disney-star-wars-galactic-starcruiser.html Hasnt Been Before                          Anderson                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/busines Key Gauge Of Inflation Is Highest In 40
2022-02-25   2022-02-26 s/economy/inflation-pce-index.html           Years                                      By Jeanna Smialek            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/busines
                        s/economy/starbucks-union-vote-mesa-         Workers Vote to Make Arizona Starbucks 3rd
2022-02-25   2022-02-26 arizona.html                                 Unionized Store                            By Noam Scheiber             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/busines Covid Outbreak Takes Hong Kong by            By Alexandra Stevenson and
2022-02-25   2022-02-26 s/hong-kong-unvaccinated-elderly.html        Surprise Ravaging Citys Elders             Austin Ramzy                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/busines NPR White House Reporter Will Host
2022-02-25   2022-02-26 s/media/npr-ayesha-rascoe.html               Weekend Edition Sunday                     By Katie Robertson           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/busines
2022-02-25   2022-02-26 s/russia-ukraine-energy.html                 The IEA Considers Releasing More Oil       By Stanley Reed              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/busines SEC Targets Short Sellers In Proposals On
2022-02-25   2022-02-26 s/sec-short-selling.html                     Reporting                                  By Emily Flitter             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/busines
2022-02-25   2022-02-26 s/stock-market-today.html                    Stocks Climb Erasing the Weeks Losses      By Lananh Nguyen             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/climate Ban From China Made Bitcoin Less Friendly
2022-02-25   2022-02-26 /bitcoin-china-energy-pollution.html         To Climate Study Says                      By Hiroko Tabuchi            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/climate Sale of Offshore Wind Farm Leases Raises
2022-02-25   2022-02-26 /new-york-offshore-wind-auction.html         437 Billion                                By Lisa Friedman             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/health/c New CDC Guidelines Give Communities
2022-02-25   2022-02-26 dc-mask-guidance.html                        More Room to Loosen Restrictions           By Apoorva Mandavilli        TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/25/health/ 26 Billion Deal to End Opioid Lawsuits Is
2022-02-25   2022-02-26 opioids-settlement-distributors-johnson.html Complete                                  By Jan Hoffman                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/25/nyregio Difficult First Weeks for Police
2022-02-25   2022-02-26 n/keechant-sewell-nypd-commissioner.html Commissioner With More Challenges Ahead By Troy Closson                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/opinion
2022-02-25   2022-02-26 /black-classical-music.html                 The Problem With the Grammys                By John McWhorter            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/opinion
2022-02-25   2022-02-26 /ukraine-russia-kyiv.html                   Im in Kyiv and It Is Terrifying             By Veronika Melkozerova      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/science Chernobyl Plant Is Unharmed Despite
2022-02-25   2022-02-26 /chernobyl-ukraine.html                     Invasion Scientists Say                     By William J Broad           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/sports/b
                        asketball/womens-college-basketball-        Ahead of Tournament South Carolina Is No 1
2022-02-25   2022-02-26 tournament-preview.html                     In a Competitive Field                      By Natalie Weiner            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/sports/s
                        occer/champions-league-final-paris-         France Replaces Russia as Host of Champions
2022-02-25   2022-02-26 russia.html                                 League Final in May                         By Tariq Panja               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/sports/s Opening Day Is Here With a New Team and
2022-02-25   2022-02-26 occer/mls-preview.html                      New Faces                                   By Victor Mather             TX 9-154-386   2022-04-04




                                                                                Page 3422 of 5793
                        https://www.nytimes.com/2022/02/25/technol                                               By Davey Alba and Stuart A
2022-02-25   2022-02-26 ogy/russia-supporters.html                  Putins Fans On Far Right Cheer Online        Thompson                           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/theater/
2022-02-25   2022-02-26 kimberly-akimbo-broadway.html               Kimberly Akimbo To Open This Fall            By Michael Paulson                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/us/asbe Huge Verdict Buoys Workers Poisoned by
2022-02-25   2022-02-26 stos-libby-montana.html                     Dust                                         By Jim Robbins                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/us/polit Strategy of Containment Is Updated for a New
2022-02-25   2022-02-26 ics/biden-russia-containment.html           Era                                          By David E Sanger                  TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/25/us/polit Biden Picks Jackson to Be First Black
2022-02-25   2022-02-26 ics/ketanji-brown-jackson-supreme-court.html Woman on Supreme Court                      By Katie Rogers                   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/25/us/polit As South Texas Slides Trumps Way a Liberal
2022-02-25   2022-02-26 ics/latino-politics-jessica-cisneros.html    Sharpens Her Strategy                       By Jonathan Weisman               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/25/us/polit After an Aggressive Start Russias Advance
2022-02-25   2022-02-26 ics/russia-attacks-ukraine.html              Across Ukraine Slows                        By Helene Cooper and Eric Schmitt TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/25/us/polit US Joins With European Allies to Expand      By Alan Rappeport Matina
2022-02-25   2022-02-26 ics/sanctions-on-russia-putin.html           Sanctions Including to Putin Himself        StevisGridneff and Katie Rogers   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/25/us/polit Texas Officials Reject Thousands of Absentee
2022-02-25   2022-02-26 ics/texas-primary-ballot-rejections.html     Ballots Surpassing Level in 2020            By Nick Corasaniti                TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/25/us/polit Panel Asks for Details on Documents Trump
2022-02-25   2022-02-26 ics/trump-classified-information.html        May Have Taken or Destroyed                 By Luke Broadwater                TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/25/us/polit US Officials Urged China to Avert a War in
2022-02-25   2022-02-26 ics/us-china-russia-ukraine.html             Ukraine China Declined                      By Edward Wong                    TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/25/us/supr
2022-02-25   2022-02-26 eme-court-ketanji-brown-jackson-rulings.html Detailed Methodical and LeftLeaning Rulings By Adam Liptak                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/world/a Bappi Lahiri 69 Composer and Indias Disco
2022-02-25   2022-02-26 sia/bappi-lahiri-dead.html                   King                                        By Alex Traub                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/world/a Beijing Finds Itself in a Bind Over How Best
2022-02-25   2022-02-26 sia/china-russia-ukraine-sovereignty.html    to Respond                                  By Chris Buckley                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/world/a Giving Away a Medal to Protest Chinas         By Chris Buckley Tariq Panja and
2022-02-25   2022-02-26 sia/nils-van-der-poel-olympic-protest.html   Abuses                                      Andrew Das                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/world/e Troops in Muddy Trenches Pose Only Shield
2022-02-25   2022-02-26 urope/kharkiv-ukraine-military.html          for a Terrified City                        By Michael Schwirtz                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/world/e Refugees Surge Into Countries Once Under
2022-02-25   2022-02-26 urope/ukrainian-refugees-poland.html         Moscows Thumb                               By Andrew Higgins                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/world/e In Video Defiant Ukraine Leader Says We
2022-02-25   2022-02-26 urope/zelensky-speech-video.html             Are Here                                    By Valerie Hopkins                 TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/25/world/
                        middleeast/in-north-africa-ukraine-war-strains-North Africa Feels Pain Of Ukraine War as
2022-02-25   2022-02-26 economies-weakened-by-pandemic.html            Prices Soar for Wheat Imports               By Vivian Yee and Aida Alami     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/world/ An Iranian Director Highlights Mundane
2022-02-25   2022-02-26 middleeast/iran-film-asghar-farhadi.html       Struggles to Convey the Profound            By Farnaz Fassihi                TX 9-154-386   2022-04-04




                                                                                  Page 3423 of 5793
                        https://www.nytimes.com/2022/02/25/your-
2022-02-25   2022-02-26 money/taxes/filing-taxes-online-free.html    Getting Money Back Without Giving Back      By Ann Carrns                 TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/25/us/polit Biden Picks Jackson as First Black Woman
2022-02-26   2022-02-26 ics/ketanji-brown-jackson-republicans.html on Court                                      By Carl Hulse                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/us/polit
                        ics/kimberly-guilfoyle-january-6-           Guilfoyle Abruptly Ends Interview With Jan   By Luke Broadwater and Alan
2022-02-26   2022-02-26 committee.html                              6 Panel                                      Feuer                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/us/polit US Relaxes Sanctions to Permit Routine
2022-02-26   2022-02-26 ics/us-sanctions-afghanistan.html           Transactions With Afghan Government          By Charlie Savage             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/world/e Ukrainians Fortify Kyiv for Full Attack       By Valerie Hopkins Andrew E
2022-02-26   2022-02-26 urope/kyiv-attack-invasion.html             President Urges Citizens to Take Up Arms     Kramer and Michael Levenson   TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/26/your- Your Gains and Good Will Can Be Directly
2022-02-26   2022-02-26 money/russia-ukraine-investments-stocks.html Connected                                   By Ron Lieber                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/01/18/books/r
                        eview/campaign-of-the-century-kennedy-
2022-01-18   2022-02-27 nixon-1960-irwin-f-gellman.html              The Big Steal                               By Jeff Shesol                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/01/books/r
                        eview/the-violin-conspiracy-brendan-
2022-02-01   2022-02-27 slocumb.html                                 String Theory                               By Joshua Barone              TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/02/books/r
2022-02-02   2022-02-27 eview/the-books-of-jacob-olga-tokarczuk.html Tender Mercies                              By Judith Shulevitz           TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/05/books/r
2022-02-05   2022-02-27 eview/phantom-plague-vidya-krishnan.html An Ancient Scourge                              By Apoorva Mandavilli         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/08/books/r
                        eview/ca-davids-how-to-be-a-
2022-02-08   2022-02-27 revolutionary.html                            United by Protest                          By Sarah Moss                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/13/books/r
                        eview/walking-the-bowl-chris-lockhart-daniel-
2022-02-13   2022-02-27 mulilo-chama.html                             Lord of the Flies                          By Ellen Barry                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/books/r
                        eview/marlon-james-moon-witch-spider-
2022-02-14   2022-02-27 king.html                                     Life of Darkness                           By Eowyn Ivey                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/14/books/r
2022-02-14   2022-02-27 eview/pure-colour-sheila-heti.html            Book of Genesis                            By Alexandra Kleeman          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/books/r
                        eview/index-a-history-of-the-dennis-
2022-02-15   2022-02-27 duncan.html                                   The Fine Print                             By Margalit Fox               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/books/r
                        eview/lincoln-and-the-fight-for-peace-john-
2022-02-15   2022-02-27 avlon.html                                    Reconciler in Chief                        By Allen C Guelzo             TX 9-154-386   2022-04-04




                                                                                 Page 3424 of 5793
                        https://www.nytimes.com/2022/02/15/books/r
2022-02-15   2022-02-27 eview/our-american-friend-anna-pitoniak.html Authorized                                  By Justine Harman              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/16/arts/tele
2022-02-16   2022-02-27 vision/mamoudou-athie-archive-81.html        Mamoudou Athie Loves the Library            By Kathryn Shattuck            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/17/books/r
2022-02-17   2022-02-27 eview/origin-jennifer-raff.html              The BestSeller List Is a Smorgasbord        By Elisabeth Egan              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/18/movies/
2022-02-18   2022-02-27 horror-women-directors.html                  Horrors Freedom Lets Women Shine            By Alex Marshall               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/realesta
2022-02-21   2022-02-27 te/shopping-for-small-cabinets.html          Storage Scaled For Tight Spots              By Tim McKeough                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/interactive/2022/02/ Yales Happiness Professor Says Anxiety Is
2022-02-21   2022-02-27 21/magazine/laurie-santos-interview.html     Destroying Her Students                     By David Marchese              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/21/special-
2022-02-22   2022-02-27 series/peatlands-community-letter.html       What We Find In Hidden Assets               By Matthew Thompson            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/arts/tele
2022-02-22   2022-02-27 vision/super-pumped-uber-showtime.html       Ruthless Conquering Catnip                  By Sarah Bahr                  TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/22/books/r
                        eview/nathan-law-freedom-gulbahar-haitiwaji-
                        rozenn-morgat-megan-walsh-the-subplot-i-
2022-02-22   2022-02-27 survived-a-chinese-reeducation-camp.html     China                                       By Jamie Fisher                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/busines The Outlook ShortTerm Rattle LongTerm
2022-02-22   2022-02-27 s/russia-ukraine-stock-markets.html          Rebound                                     By Jeff Sommer                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/busines
                        s/sephora-bloomingdales-sexual-
2022-02-22   2022-02-27 wellness.html                                Sexual Wellness Products Made Palatable     By Sapna Maheshwari            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/magazi The Long Crusade of Clarence and Ginni
2022-02-22   2022-02-27 ne/clarence-thomas-ginni-thomas.html         Thomas                                      By Danny Hakim and Jo Becker   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/magazi
2022-02-22   2022-02-27 ne/exotic-fruit.html                         Exotic Fruit                                By Tracy Wan                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/magazi
2022-02-22   2022-02-27 ne/how-to-appreciate-spiders.html            How to Appreciate Spiders                   By Malia Wollan                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/magazi How Much Help Do I Owe My DebtRidden
2022-02-22   2022-02-27 ne/parents-financial-assistance-ethics.html  Dad                                         By Kwame Anthony Appiah        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/opinion
2022-02-22   2022-02-27 /gender-focus-group.html                     12 Women on Gender Roles Today              By Sarah Wildman               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/realesta
                        te/it-was-supposed-to-a-spec-house-then-the-
2022-02-22   2022-02-27 builder-got-emotionally-involved.html        It Was Supposed to Be a Spec House          By Tim McKeough                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/t-
                        magazine/takesada-matsutani-hauser-
2022-02-22   2022-02-27 wirth.html                                   Every Day I Am Here Drawing                 By Ellie Pithers               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/22/theater/
2022-02-22   2022-02-27 broadway-plays-revivals.html                 Exploring The Theater In 5 Revivals         By Jesse Green                 TX 9-154-386   2022-04-04



                                                                                 Page 3425 of 5793
                        https://www.nytimes.com/2022/02/22/theater/
2022-02-22   2022-02-27 shakespeare-theater-broadway-spring.html      For Fans of the Bard a Spring Full of Options By Maya Phillips        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/interactive/2022/02/
                        21/headway/peatlands-congo-climate-           What Do the Protectors of Congos Peatlands
2022-02-22   2022-02-27 change.html                                   Get in Return                                 By Ruth Maclean         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/arts/po
2022-02-23   2022-02-27 dcasts-romance-dark-side.html                 Romance Is Never Without Risk                 By Emma Dibdin          TX 9-154-386   2022-04-04
                                                                      Inner Warmth The beef patty is
                        https://www.nytimes.com/2022/02/23/magazi quintessentially Jamaican and now a food of
2022-02-23   2022-02-27 ne/beef-patty-recipe.html                     the world                                     By Bryan Washington     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/magazi
2022-02-23   2022-02-27 ne/bike-hunters-vanmoof-ebike.html            Roll Back                                     By Peter C Baker        TX 9-154-386   2022-04-04
                                                                      What good will come from new research that
                        https://www.nytimes.com/2022/02/23/magazi proves a virus one that almost all of us have
2022-02-23   2022-02-27 ne/epstein-barr-virus-multiple-sclerosis.html causes multiple sclerosis                     By Kim Tingley          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/magazi
2022-02-23   2022-02-27 ne/waco-biker-shootout.html                   How the Bikers Walked                         By Mark Binelli         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/nyregio New York Citys Ukrainians Are Anxious and
2022-02-23   2022-02-27 n/nyc-ukrainians.html                         Afraid                                        By John Leland          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/opinion
2022-02-23   2022-02-27 /death-grief-covid.html                       We Must Learn to Look at Grief                By Sunita Puri          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/realesta
2022-02-23   2022-02-27 te/allendale-nj.html                          Under the Radar and Happy That Way            By Jay Levin            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/realesta
                        te/home-prices-texas-georgia-                 550000 Homes in Texas Georgia and
2022-02-23   2022-02-27 massachusetts.html                            Massachusetts                                 By Angela Serratore     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/realesta
2022-02-23   2022-02-27 te/house-hunting-barcelona-spain.html         A Barcelona Home To Love Inside and Out By Roxana Popescu             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/style/w As Bookings Swell Couples Vie to Lock In
2022-02-23   2022-02-27 edding-boom-vendor-shortage.html              Vendors                                       By Danielle Braff       TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/23/t-
2022-02-23   2022-02-27 magazine/brunello-cucinelli-italian-villa.html Listening to a Villa                      By Laura May Todd          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/technol Browsing in Person Still Holds a Special
2022-02-23   2022-02-27 ogy/physical-stores-ecommerce.html             Allure                                    By Shira Ovide             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/theater/
2022-02-23   2022-02-27 funny-girl-beanie-feldstein.html               Finding a New Funny Girl                  By Scott Heller            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/23/world/ Iraj Pezeshkzad 94 Author of a Classic
2022-02-23   2022-02-27 middleeast/iraj-pezeshkzad-dead.html           Iranian Novel                             By Farnaz Fassihi          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/arts/mu
                        sic/met-opera-don-carlos-matthew-
2022-02-24   2022-02-27 polenzani.html                                 A Don Carlos Without the Swagger          By Anthony Tommasini       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/magazi
2022-02-24   2022-02-27 ne/black-thought-black-no-more.html            The Blackness of Blackness                By Reginald Dwayne Betts   TX 9-154-386   2022-04-04




                                                                                 Page 3426 of 5793
                        https://www.nytimes.com/2022/02/24/magazi
2022-02-24   2022-02-27 ne/judge-john-hodgman-burned-popcorn.html Bonus Advice From Judge John Hodgman         By John Hodgman                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/magazi                                              By Carolina Ebeid and Victoria
2022-02-24   2022-02-27 ne/poem-albeit.html                       Albeit                                       Chang                            TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/24/movies/
2022-02-24   2022-02-27 worst-person-in-the-world-generation-x.html Our Collections and the Passage of Time    By AO Scott and Daniel Arnold    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/nyregio
2022-02-24   2022-02-27 n/joel-fram-broadway-covid.html              Fighting Long Covid to Conduct Again      By Sharon Otterman               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/nyregio Staten Island Parade Continues Ban on Gay
2022-02-24   2022-02-27 n/staten-island-st-patrick-parade-lgbtq.html Marchers                                  By Liam Stack                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/opinion
2022-02-24   2022-02-27 /battle-library-neutrality.html              The Battle for the Soul of the Library    By Stanley Kurtz                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/realesta
2022-02-24   2022-02-27 te/buying-vs-renting-home.html               Where a Mortgage Outweighs Rent           By Michael Kolomatsky            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/24/style/so
2022-02-24   2022-02-27 cial-qs.html                                 Whats With the Ex                         By Philip Galanes                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/24/theater/
2022-02-24   2022-02-27 james-mcavoy-cyrano-de-bergerac-bam.html Savoring a Purer Storytelling Form            By Laura CollinsHughes           TX 9-154-386   2022-04-04

                        https://www.nytimes.com/interactive/2022/02/ A Wedding or a House One Couple Made
2022-02-24   2022-02-27 24/realestate/san-fernando-valley-house.html Their Choice in the San Fernando Valley    By Candace Jackson              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/arts/des
2022-02-25   2022-02-27 ign/michael-stipe-rem-outsider-art.html      From Album Cover to Art Fair               By Karen Rosenberg              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/arts/spr
2022-02-25   2022-02-27 ing-performances-new-york.html               Spring Preview Live Performances           By The New York Times           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/books/r
                        eview/adam-rubin-the-ice-cream-machine-
2022-02-25   2022-02-27 stuart-gibbs-once-upon-a-tim.html            Playing With Genre                         By Michael Ian Black            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/books/r
2022-02-25   2022-02-27 eview/new-paperbacks.html                    Paperback Row                              By Miguel Salazar               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/busines
2022-02-25   2022-02-27 s/offsite-corporate-retreats.html            OffSites Are Still On Maybe More Than Ever By Lora Kelley                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/busines Our Great Challenge of Energy Independence
2022-02-25   2022-02-27 s/ukraine-russia-us-oil-gas.html             Still Exists                               By Clifford Krauss              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/busines Committed to the Crime Despite All the
2022-02-25   2022-02-27 s/vitaly-borker-glasses-retail.html          Troubles                                   By David Segal                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/busines
2022-02-25   2022-02-27 s/work-self-worth-email.html                 Is Some Respect Too Much to Ask For        By Roxane Gay                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/nyregio
2022-02-25   2022-02-27 n/bridget-everett.html                       No Fool She Goes Where Angels Tread        By Sara Ivry                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/nyregio
2022-02-25   2022-02-27 n/ryans-hope-soap-opera.html                 A Writer Brought Ryans Hope to Life        By Ginia Bellafante             TX 9-154-386   2022-04-04



                                                                               Page 3427 of 5793
                        https://www.nytimes.com/2022/02/25/opinion
2022-02-25   2022-02-27 /covid-pandemic-depressing-math.html       How to Get Back the Time Covid Stole      By Tim Urban                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/opinion
2022-02-25   2022-02-27 /democrats-biden-reform.html               What the Democrats Need to Do             By Michael Kazin              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/opinion
                        /democrats-squad-moderates-
2022-02-25   2022-02-27 progressives.html                          The Squad Is Not the Problem              By Jamelle Bouie              TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/25/opinion Ketanji Brown Jackson Wont Be Able To
2022-02-25   2022-02-27 /ketanji-brown-jackson-supreme-court.html Change a Radical Court Yet                 By The Editorial Board        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/opinion
2022-02-25   2022-02-27 /putin-russia-ukraine.html                 We Have Never Been Here Before            By Thomas L Friedman          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/opinion
2022-02-25   2022-02-27 /putin-war-russia-military.html            Why Is Putin At War Again                 By Chris Miller               TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/25/opinion
2022-02-25   2022-02-27 /sunday/roe-dobbs-miscarriage-abortion.html Overturning Roe Isnt Just About Abortion      By Katherine Stewart     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/realesta
                        te/how-to-discover-the-life-affirming-       The LifeAffirming Comforts of Death
2022-02-25   2022-02-27 comforts-of-death-cleaning.html              Cleaning                                     By Ronda Kaysen          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/realesta
2022-02-25   2022-02-27 te/new-yorkers-return-nyc-pandemic.html      Green Pastures Rural Problems                By Julie Lasky           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/realesta
2022-02-25   2022-02-27 te/top-nyc-real-estate-sales.html            MarkedDown Mansion for 56 Million            By Vivian Marino         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/sports/b For the Edman Family Its All Baseball All the
2022-02-25   2022-02-27 aseball/tommy-edman-cardinals.html           Time                                         By Scott Miller          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/sports/f
2022-02-25   2022-02-27 lamingo-park-handball.html                   Keeping the Handball Flame Alive             By Alexander Aguiar      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/sports/o John Landy Second Man to Run the Mile in By Frank Litsky and William
2022-02-25   2022-02-27 lympics/john-landy-dead.html                 Under 4 Minutes Is Dead at 91                McDonald                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/sports/s
2022-02-25   2022-02-27 occer/fifa-russia-uefa-putin.html            Soccer Russia and a Line Drawn Too Late      By Rory Smith            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/style/da Why an Elvis Wedding Johnny Cash Wasnt
2022-02-25   2022-02-27 na-cohen-henry-caplan-wedding.html           Available                                    By Eric V Copage         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/style/ea
2022-02-25   2022-02-27 st-meets-west-at-lincoln-center.html         A Gala Concert For a New Year                By Denny Lee             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/style/jef
2022-02-25   2022-02-27 f-hiller-walks-toward-the-light.html         Walking Toward The Light                     By Shane ONeill          TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/25/style/je Two Lives Parallel for Years Finally
2022-02-25   2022-02-27 nnifer-wilder-brandon-perlman-wedding.html Converge                                  By Judy Mandell               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/style/ka
2022-02-25   2022-02-27 te-adams-brook-nelson-wedding.html          Warming Up With a Needed Cup of Ice      By Julia Carmel               TX 9-154-386   2022-04-04




                                                                               Page 3428 of 5793
                        https://www.nytimes.com/2022/02/25/style/m
                        odern-love-seeking-a-father-for-my-child-    In Seeking a Donor I Found the Father of My
2022-02-25   2022-02-27 relationship-optional.html                   Child                                       By Katharine Dion              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/style/ti Even for a Downtown Boy 92nd Street Wasnt
2022-02-25   2022-02-27 m-wildin-chris-vo-wedding.html               Too Far                                     By Rosalie R Radomsky          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/theater/
2022-02-25   2022-02-27 comedies-theater-off-broadway.html           They Figured We Could Use a Laugh           By Alexis Soloski              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/theater/
2022-02-25   2022-02-27 joaquina-kalukango-paradise-square.html      An Actress Unafraid to Chime In             By Julia Jacobs                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/books/r
2022-02-26   2022-02-27 eview/cost-of-living-emily-maloney.html      Do No Harm                                  By Sarah Manguso               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/25/us/tho                                                By Campbell Robertson and
2022-02-26   2022-02-27 mas-jefferson-school-admissions.html         Judge Voids an Elite Schools Entry Rules    Stephanie Saul                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/busines Threatened by Sanctions Russia Cements        By Keith Bradsher and Ana
2022-02-26   2022-02-27 s/china-russia-ukraine.html                  Economic Ties With China                    Swanson                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/busines
                        s/dealbook/warren-buffett-berkshire-hathaway Buffett Stresses Berkshire Hathaways
2022-02-26   2022-02-27 letter-shareholders.html                     Citizenship and Its Role in the US Economy By Michael J de la Merced       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/busines Morning Joe CoCreator Will Be CNNs            By Michael M Grynbaum and John
2022-02-26   2022-02-27 s/media/cnn-chris-licht.html                 President                                   Koblin                         TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/nyregio Brooklyns Progressive Prosecutor Balances
2022-02-26   2022-02-27 n/eric-gonzalez-brooklyn-politics.html       Politics and Public Safety                  By Rebecca Davis OBrien        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/opinion
2022-02-26   2022-02-27 /climate-change-supreme-court.html           Climate Change Goes to Court                By Jody Freeman                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/opinion
2022-02-26   2022-02-27 /rash-putin-razes-ukraine.html               Rash Putin Razes Ukraine                    By Maureen Dowd                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/opinion
2022-02-26   2022-02-27 /ukraine-russia-invasion-family.html         My Family Didnt Ask To Be Liberated         By Sasha Vasilyuk              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/opinion
2022-02-26   2022-02-27 /vladimir-putin-clash-of-civilizations.html  Vladimir Putins Clash of Civilizations      By Ross Douthat                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/realesta
                        te/dogs-will-be-dogs-but-how-much-barking- What Can I Do About Barking Dogs If Their
2022-02-26   2022-02-27 is-too-much-for-neighbors.html               Owner Rejects My Entreaties                 By Ronda Kaysen                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/sports/s Frantic Time for Foreign Players Stranded in
2022-02-26   2022-02-27 occer/ukraine-brazil-soccer-russia.html      Kyiv                                        By Tariq Panja                 TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/26/style/ch
2022-02-26   2022-02-27 icken-shop-date-amelia-dimoldenberg.html She Can Make You Cringe                          By Nick Haramis               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/style/eu
2022-02-26   2022-02-27 phoria-angus-cloud-finale.html              Opportunity Strikes                           By Chisom Peter Job           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/style/le
2022-02-26   2022-02-27 sbian-bars-popup-events.html                Creating More Spaces To Be Out and Safe       By Melissa Kravitz Hoeffner   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/style/th A Bold Literary Journal Rises On the Left Led
2022-02-26   2022-02-27 e-drift-magazine.html                       by Women                                      By Alex Vadukul               TX 9-154-386   2022-04-04




                                                                                 Page 3429 of 5793
                        https://www.nytimes.com/2022/02/26/technol
2022-02-26   2022-02-27 ogy/amazon-price-swings-shopping.html       The Case of the Missing Price Tags          By Daisuke Wakabayashi              TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/us/amer For Some Americans Ukraines Fight Feels      By Ruth Graham Elizabeth Dias
2022-02-26   2022-02-27 icans-russia-ukraine.html                   Close to Home                               Miriam Jordan and Karen Zraick      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/us/keta Before a Career in Law An AllStar Debate
2022-02-26   2022-02-27 nji-brown-jackson-high-school-debate.html Team                                          By Patricia Mazzei                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/us/polit Two Leaders Raised in Cold War Square Off
2022-02-26   2022-02-27 ics/biden-putin-russia-us-ukraine.html      in New Confrontation                        By Peter Baker                      TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/26/us/polit US and Allies Bar Some Russian Banks        By David E Sanger Alan Rappeport
2022-02-26   2022-02-27 ics/eu-us-swift-russia.html                 From Key Financial Messaging System         and Matina StevisGridneff        TX 9-154-386      2022-04-04

                        https://www.nytimes.com/2022/02/26/us/polit As Public Defender Supreme Court Pick
2022-02-26   2022-02-27 ics/ketanji-brown-jackson-supreme-court.html Aided Clients Others Avoided                 By Charlie Savage                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/us/polit
                        ics/leonard-peltier-clemency-native-
2022-02-26   2022-02-27 american.html                                Clemency Sought for Activist Who Is Ill      By Mark Walker                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/us/polit In Europe Doors Shut to Mideast Migrants
2022-02-26   2022-02-27 ics/ukraine-europe-refugees.html             Are Flung Open for Ukrainians                By Lara Jakes                     TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/us/robe A Family Divided as a Kennedy Campaigns
2022-02-26   2022-02-27 rt-kennedy-covid-vaccine.html                Against the Vaccine                          By Adam Nagourney                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/world/a Amazon Builds on Indigenous South African
2022-02-26   2022-02-27 frica/south-africa-amazon.html               Land Sparking Fierce Feud                    By John Eligon                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/world/e Plan to Hit Putins Assets Runs Into a Murky By Mike McIntire and Michael
2022-02-26   2022-02-27 urope/putin-sanctions-money-assets.html      Maze                                         Forsythe                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/world/e
                        urope/russia-putin-matteo-salvini-marine-le- After Long Praising Putin RightWing Populist
2022-02-26   2022-02-27 pen.html                                     Leaders Are Squirming                        By Jason Horowitz                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/world/e                                                By Valerie Hopkins Eric Schmitt
                        urope/russia-ukraine-invasion-kyiv-kharkiv- Fierce Street Fighting in Defense of Kyiv US Michael Levenson and The New
2022-02-26   2022-02-27 kherson.html                                 and Other Nations Pour in More Aid           York Times                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/world/e Kremlin Finds It Hard to Hide The Costs to By Anton Troianovski and Ivan
2022-02-26   2022-02-27 urope/russian-economy-ukraine-war.html       People at Home                               Nechepurenko                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/world/e Politicians Call for a Ban On RussianMade
2022-02-26   2022-02-27 urope/russian-vodka-brands-boycott.html      Vodka                                        By Azi Paybarah                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/world/e                                                By Andrew E Kramer and Lynsey
2022-02-26   2022-02-27 urope/ukraine-russia-civilian-military.html  In Sweatpants And Sneakers Civilians Fight Addario                             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/busines The Week in Business With Ukraine Invasion
2022-02-27   2022-02-27 s/the-week-in-business.html                  Volatile Markets                             By Sarah Kessler                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/insider/
2022-02-27   2022-02-27 disability-reporting.html                    Reporting With Care on Disability            By Amanda Morris                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/us/hurri For Storm Victims Insurance Battles           By Sophie Kasakove and Edmund
2022-02-27   2022-02-27 cane-damage-insurance.html                   Compound the Disaster                        D Fountain                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/us/texa Trump Looms in Texas Attorney General
2022-02-27   2022-02-27 s-primary-ken-paxton-republican-ag.html      Primary                                      By J David Goodman                TX 9-154-386   2022-04-04



                                                                                Page 3430 of 5793
                        https://www.nytimes.com/2022/02/27/world/a A BodyConscious Brazil Embraces Its
2022-02-27   2022-02-27 mericas/brazil-obesity.html                Heavier Self                                 By Jack Nicas and Dado Galdieri TX 9-154-386     2022-04-04
                                                                                                                By Madeleine Ngo Robert Chiarito
                        https://www.nytimes.com/2022/02/27/us/ukra Ukrainian People Dont Give Up Hope Rallies Joel Wolfram Matt Berg and Eric
2022-02-28   2022-02-27 ine-rallies.html                             Around US Express Solidarity               Adelson                          TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/08/travel/d
2022-02-08   2022-02-28 og-sledding-maine.html                       Hitching a Ride With the Gods of Frolic    By Nina Burleigh                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/23/arts/mu In Less Than 90 Minutes Exploring a Decade
2022-02-23   2022-02-28 sic/vikingur-olafsson-carnegie-hall.html     of Genius                                  By Zachary Woolfe                TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/24/arts/mu Sandy Nelson Drummer Who Turned His
2022-02-24   2022-02-28 sic/sandy-nelson-dead.html                   Rhythms Into Hits Is Dead at 83            By Neil Genzlinger               TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/24/books/l Leonard Kessler 101 Creator of Colorful
2022-02-24   2022-02-28 eonard-kessler-dead.html                     Childrens Books Dies                       By Penelope Green                TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/24/busines
2022-02-24   2022-02-28 s/return-to-work-office.html                 Back to the Office Fingers Crossed         By Emma Goldberg                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/24/technol Facebook Doesnt Care if Youve Seen This
2022-02-24   2022-02-28 ogy/facebook-reels.html                      One Before                                 By Shira Ovide                   TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/25/arts/tele Growing Up Onscreen With My Brilliant
2022-02-25   2022-02-28 vision/my-brilliant-friend-hbo.html          Friend                                     By Elisabetta Povoledo           TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/25/crossw
                        ords/the-evolution-of-friendship-and-
2022-02-25   2022-02-28 fomo.html                                    Feeling Left Out Four Letters              By Alexis Benveniste             TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/25/movies/
2022-02-25   2022-02-28 cyrano-peter-dinklage.html                   Why Is the Tale of Cyrano Still So Potent  By Jason Bailey                  TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/25/movies/
2022-02-25   2022-02-28 foo-fighters-studio-666.html                 Foo Fighters Made a Horror Film for Fun    By Sara Aridi                    TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/25/movies/
2022-02-26   2022-02-28 a-madea-homecoming-review.html               This Matriarch Wants To Bust Your Chops    By Amy Nicholson                 TX 9-154-386    2022-04-04
                        https://www.nytimes.com/2022/02/26/busines
                        s/dealbook/russia-ukraine-energy-policy-     Russias Attack on Ukraine Raises Questions
2022-02-26   2022-02-28 yergin.html                                  About Energy Security                      By Andrew Ross Sorkin            TX 9-154-386    2022-04-04

                        https://www.nytimes.com/2022/02/26/busines After Sanctions the Cost of Doing Business in
2022-02-26   2022-02-28 s/sanctions-russia-ukraine-companies.html  Russia Is Going Up                            By Liz Alderman and Melissa Eddy TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/climate US Oil Industry Pushes To Drill More at
2022-02-26   2022-02-28 /ukraine-oil-lobby-biden-drilling.html     Home                                          By Hiroko Tabuchi                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/opinion Trayvon Martin Is Still Making America
2022-02-26   2022-02-28 /trayvon-martin-obama.html                 Confront Its Original Sin                     By Charles M Blow                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/technol
2022-02-26   2022-02-28 ogy/russia-censorship-tech.html            Kremlin Steps Up Online Censorship            By Adam Satariano                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/us/dem Demetrios Papademetriou 75 Top
2022-02-26   2022-02-28 etrios-papademetriou-dead.html             Immigration Scholar                           By Katharine Q Seelye            TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/us/hous 100 Years Later a Military Injustice Still    By Edgar Sandoval and Michael A
2022-02-26   2022-02-28 ton-riot-black-soldiers.html               Haunts                                        McCoy                            TX 9-154-386   2022-04-04




                                                                               Page 3431 of 5793
                        https://www.nytimes.com/2022/02/26/us/polit At CPAC Ukraine and Policy Take Back Seat By Reid J Epstein and Astead W
2022-02-26   2022-02-28 ics/cpac-trump-republicans.html             to Cultural Grievances                    Herndon                             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/world/e Putin Takes a Risk by Distancing Himself
2022-02-26   2022-02-28 urope/putin-ukraine-advisers.html           From His Political Advisers               By Amanda Taub                      TX 9-154-386   2022-04-04

                        https://www.nytimes.com/interactive/2022/02/ New Research Points to Wuhan Market as      By Carl Zimmer and Benjamin
2022-02-26   2022-02-28 26/science/covid-virus-wuhan-origins.html    Pandemic Origin                             Mueller                          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/26/world/a North Korea Launches Ballistic Missile South
2022-02-27   2022-02-28 sia/north-korea-missile-launch.html          Korea Says Its First This Month             By Choe SangHun                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/arts/dan
                        ce/alexei-ratmansky-leaves-bolshoi-
2022-02-27   2022-02-28 ballet.html                                  Leaving Moscow And a Ballet Behind          By Marina Harss                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/arts/mu
                        sic/vienna-philharmonic-carnegie-hall-       Despite Global Conflict Vienna Philharmonic
2022-02-27   2022-02-28 review.html                                  Plays On                                    By Joshua Barone                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/books/l Leo Bersani 90 Scholar of French Literature
2022-02-27   2022-02-28 eo-bersani-dead.html                         Author and Theorist on Gay Life             By Clay Risen                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/busines BP Announces It Will Exit Its Stake in
2022-02-27   2022-02-28 s/bp-rosneft-oil-stake.html                  Russias Rosneft                             By Stanley Reed                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/busines
2022-02-27   2022-02-28 s/china-russia-ukraine-invasion.html         In China Many Take Putins Side              By Li Yuan                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/busines Companies Raise Prices as Consumers Spend
2022-02-27   2022-02-28 s/economy/price-increases-inflation.html     With a Vengeance                            By Jeanna Smialek                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/climate
                        /supreme-court-will-hear-biggest-climate-    Justices Will Hear Case Against EPA That
2022-02-27   2022-02-28 change-case-in-a-decade.html                 Could Shred Bidens Climate Agenda           By Coral Davenport               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/nyregio New York City to Drop Mask and Vaccine        By Grace Ashford Eliza Shapiro
2022-02-27   2022-02-28 n/new-york-mask-mandate-schools.html         Rules State to Lift School Mask Mandate     and Emma G Fitzsimmons           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/opinion Ash Wednesday Asks Us to Face Death It
2022-02-27   2022-02-28 /ash-wednesday-death-grief.html              Also Offers Hope                            By Tish Harrison Warren          TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/opinion How the American Right Learned to Love
2022-02-27   2022-02-28 /ukraine-putin-steve-bannon.html             Russia                                      By Emily Tamkin                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/sports/b Baseballs Threat to Cancel Games Looms
2022-02-27   2022-02-28 aseball/mlb-lockout-deadline.html            Over Talks Yielding Little Progress         By James Wagner                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/sports/h
2022-02-27   2022-02-28 ockey/chris-kreider-rangers.html             Making Rangers Best Shots Even Better       By David Waldstein               TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/sports/n For an Iowa Star The Busier It Is The Slower
2022-02-27   2022-02-28 caabasketball/caitlin-clark-iowa.html        It Gets                                     By Adam Zagoria                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/sports/n
                        caabasketball/ncaa-top-10-mens-college-      Top Six Teams in the Rankings Lose Pointing
2022-02-27   2022-02-28 basketball.html                              to a WideOpen Postseason                    By Adam Zagoria                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/sports/s FIFA Proposes Penalties for Russia but No
2022-02-27   2022-02-28 occer/fifa-russia-poland-ukraine.html        Ban Yet                                     By Tariq Panja                   TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/theater/
2022-02-27   2022-02-28 sandblasted-review.html                      Losing Their Grip and a Few Other Things    By Jesse Green                   TX 9-154-386   2022-04-04



                                                                                Page 3432 of 5793
                        https://www.nytimes.com/2022/02/27/us/polic Police Train to Step In When Police Step Too
2022-02-27   2022-02-28 e-intervention-minneapolis-george-floyd.html Far                                         By Shaila Dewan                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/us/polit Barr Rebukes Trump as Off the Rails in New
2022-02-27   2022-02-28 ics/bill-barr-trump-january-6.html           Memoir                                      By Charlie Savage                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/us/polit First Jan 6 Trial to Open Allowing the
2022-02-27   2022-02-28 ics/jan-6-trial-guy-wesley-reffitt.html      Prosecutors To Set Out a Broad Case         By Alan Feuer                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/us/polit After Partisan Districting Primaries Matter
2022-02-27   2022-02-28 ics/redistricting-partisan-divide.html       Most                                        By Shane Goldmacher                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/us/polit
2022-02-27   2022-02-28 ics/trump-speech-cpac-fact-check.html        Trump Misleads on Biden and Russia          By Linda Qiu                       TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/world/a Xi Weighs His Alliance With an Isolated
2022-02-27   2022-02-28 sia/putin-xi-jinping-russia-china.html       Putin                                       By Steven Lee Myers                TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/27/world/a In South Korea Promise of Prosperity From
2022-02-27   2022-02-28 sia/south-korea-pyeongchang-olympics.html 18 Games Goes Unfulfilled                    By Kelly Kasulis Cho                 TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/world/a Rain Bomb Hits Northeastern Australia And
2022-02-27   2022-02-28 ustralia/australia-flood-queensland.html   Flooding Leaves at Least 7 Dead             By Yan Zhuang                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/world/e
2022-02-27   2022-02-28 urope/germany-ukraine-russia.html          In Turnaround Germany Vows Military Boost By Melissa Eddy                        TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/world/e
                        urope/ukraine-citizens-russian-army-       In Ukraines Villages Citizens Are Preparing
2022-02-27   2022-02-28 fight.html                                 To Defend Their Land                        By Michael Schwirtz                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/world/e Crisis Forces Hungarys Leader to Dial Back
2022-02-27   2022-02-28 urope/ukraine-russia-hungary-orban.html    the Warmth Toward Russia                    By Benjamin Novak                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/world/e
2022-02-27   2022-02-28 urope/ukraine-uk-expat-fighters.html       Leaving UK To Join Fight On Front Lines     By Cora Engelbrecht                  TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/world/e
2022-02-27   2022-02-28 urope/ukraine-villages-russia-war.html     Armed or Not Villagers Rush To Join Fight By Maria Varenikova                    TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/world/e As War Rages Ukraine Agrees to Talks With By Valerie Hopkins Anton
2022-02-27   2022-02-28 urope/ukraine-war-russia.html              Russians Without Preconditions              Troianovski and Steven Erlanger      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/world/                                              By Patrick Kingsley Isabel
2022-02-27   2022-02-28 middleeast/israel-ukraine-russia.html      Conflict Forces Israel Into a Balancing Act Kershner and Ronen Bergman           TX 9-154-386   2022-04-04

                        https://www.nytimes.com/2022/02/27/us/polit How Biden Navigated War Covid and the         By Michael D Shear Zolan
2022-02-28   2022-02-28 ics/biden-ukraine-covid-supreme-court.html Supreme Court Over 10 Days                     KannoYoungs and Katie Rogers      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/27/us/polit
                        ics/putin-nuclear-alert-biden-               Putins Nuclear Arsenal Rhetoric Pushes       By David E Sanger and William J
2022-02-28   2022-02-28 deescalation.html                            Bounds of Brinkmanship                       Broad                             TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/28/arts/tele
                        vision/whats-on-tv-this-week-after-yang-and-
2022-02-28   2022-02-28 the-state-of-the-union.html                  This Week on TV                              By Gabe Cohn                      TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/28/nyregio
                        n/african-american-planning-commission-
2022-02-28   2022-02-28 nepotism.html                                Cited Shelter Operator Still Gets Millions   By Amy Julia Harris               TX 9-154-386   2022-04-04



                                                                                   Page 3433 of 5793
                        https://www.nytimes.com/2022/02/28/sports/b
                        aseball/minor-league-baseball-jack-            You Have to Be Delusional A Minor Leaguers
2022-02-28   2022-02-28 kruger.html                                    Hard Road                                    By Kurt Streeter                TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/28/sports/t Meet the New No 1 Hes Not the Same as the
2022-02-28   2022-02-28 ennis/daniil-medvedev-atp-ranking.html         Old Ones                                     By Christopher Clarey           TX 9-154-386   2022-04-04
                        https://www.nytimes.com/2022/02/15/well/liv
2022-02-15   2022-03-01 e/burnout-work-stress.html                     Theres More to Burnout Than Being Tired      By Melinda Wenner Moyer         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/17/well/fa
2022-02-18   2022-03-01 mily/help-friend-support.html                  Help a Friend in Need By Stopping to Think By Tara ParkerPope                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/18/science
2022-02-18   2022-03-01 /horseshoe-crabs-arachnids.html                Horseshoe Crabs Trapped in a Family Debate By Veronique Greenwood            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/article/mask-          When and Where Should We Still Wear          By Amelia Nierenberg and
2022-02-19   2022-03-01 mandates-guidelines.html                       Masks                                        Illustrations by Tim Peacock    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/23/science Dinosaur Age May Have Ended in a Silent
2022-02-23   2022-03-01 /dinosaur-extinction-spring.html               Spring                                       By Kenneth Chang                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/23/well/m
2022-02-23   2022-03-01 ove/exercise-air-pollution-dementia.html       Pollution May Nullify Exercise Gain          By Gretchen Reynolds            TX 9-152-782   2022-05-02
                                                                                                                    By Jon Pareles Jon Caramanica
                        https://www.nytimes.com/2022/02/25/arts/mu Florence the Machines Regal Ambition and Isabelia Herrera and Giovanni
2022-02-25   2022-03-01 sic/playlist-florence-the-machine-kehlani.html More New Songs                               Russonello                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/25/science
2022-02-25   2022-03-01 /pacific-spiny-lumpsucker-fish.html            Its Big Strength Its Hard to Put a Finger On By Joshua Rapp Learn            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/25/science
2022-02-25   2022-03-01 /venus-photos-nasa.html                        Showing a New Way Of Looking at Venus        By Kenneth Chang                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/25/theater/
                        the-daughter-in-law-review-sons-and-
2022-02-25   2022-03-01 wives.html                                     Their Men Are Simply Trouble                 By Laura CollinsHughes          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/26/health/
2022-02-26   2022-03-01 vision-eyesight-neuro-ophthalmology.html       A Blurry Journey Leads To Improved Vision By David A Kaplan                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/27/movies/ SAG Awards Could Spell Good News for
2022-02-27   2022-03-01 sag-awards-winners-list.html                   Stars                                        By Kyle Buchanan                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/02/27/arts/mu Metropolitan Opera Cuts Ties With ProPutin
2022-02-28   2022-03-01 sic/met-opera-putin-ukraine-peter-gelb.html Artists                                       By Javier C Hernndez              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/27/busines
2022-02-28   2022-03-01 s/oil-prices-russia-ukraine.html            Price of Oil Is On Rise Despite Talks         By Clifford Krauss                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/arts/des
2022-02-28   2022-03-01 ign/flora-yukhnovich-art-market.html        Flipping Artists Instead of Houses            By Scott Reyburn                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/arts/des
                        ign/russian-artists-ukraine-venice-
2022-02-28   2022-03-01 biennale.html                               Artists Withdraw Museums Pause                By Alex Marshall                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/arts/mu
2022-02-28   2022-03-01 sic/stromae-multitude.html                  Its Very Dark And You Can Dance to It         By Elisabeth Vincentelli          TX 9-152-782   2022-05-02




                                                                                  Page 3434 of 5793
                        https://www.nytimes.com/2022/02/28/arts/tele
2022-02-28   2022-03-01 vision/better-things-final-season-review.html Love Means Seeing Honestly                  By James Poniewozik              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/arts/tele
                        vision/euphoria-season-finale-sam-              Theyre High on Euphoria But Down on Its
2022-02-28   2022-03-01 levinson.html                                   Creator                                   By Marc Tracy                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/books/r
                        eview-harvey-fierstein-i-was-better-last-night-
2022-02-28   2022-03-01 memoir.html                                     Proudly Singing A Song of Himself         By Alexandra Jacobs              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/02/28/busines EU Looks to Reduce Its Reliance on Russian
2022-02-28   2022-03-01 s/energy-environment/russia-eu-energy.html Energy Supplies                            By Monika Pronczuk                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/busines ESPN Plans to Rebrand and Expand Its
2022-02-28   2022-03-01 s/espn-undefeated-andscape.html            BlackFocused Media Platform                By Brooks Barnes                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/busines Este Lauder Executive Out After Posting
2022-02-28   2022-03-01 s/estee-lauder-john-demsey-ousted.html     Racial Slur                                By Sapna Maheshwari                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/02/28/busines Hundreds of Planes On Lease in Russia Could
2022-02-28   2022-03-01 s/europe-sanctions-russia-leased-planes.html Be Stranded                               By Melissa Eddy                 TX 9-152-782       2022-05-02
                        https://www.nytimes.com/2022/02/28/busines
2022-02-28   2022-03-01 s/russia-oil-companies.html                  Shell Following BP To Exit From Russia    By Stanley Reed                 TX 9-152-782       2022-05-02
                        https://www.nytimes.com/2022/02/28/busines The Wests Wager As the Ruble Tanks So       By Patricia Cohen and Jeanna
2022-02-28   2022-03-01 s/russia-sanctions-central-bank-ruble.html   Will Putins Favor                         Smialek                         TX 9-152-782       2022-05-02
                        https://www.nytimes.com/2022/02/28/busines                                             By Jeff Sommer and Coral Murphy
2022-02-28   2022-03-01 s/russia-ukraine-stock-market.html           Shares Stumble as Sanctions Pinch Russia  Marcos                          TX 9-152-782       2022-05-02
                        https://www.nytimes.com/2022/02/28/busines Suspected Cyberattack on Supplier Halts
2022-02-28   2022-03-01 s/toyota-stoppage-cyberattack.html           Toyotas Production                        By Ben Dooley and Hisako Ueno TX 9-152-782         2022-05-02
                        https://www.nytimes.com/2022/02/28/busines ChineseOwned Volvo Halts Vehicle Sales to
2022-02-28   2022-03-01 s/volvo-russia-ukraine.html                  Russia Citing Ukraine Invasion            By Jack Ewing                   TX 9-152-782       2022-05-02

                        https://www.nytimes.com/2022/02/28/climate
2022-02-28   2022-03-01 /climate-change-ipcc-report-takeaways.html 5 of the Main Findings From the UNs Report     By Raymond Zhong                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/climate Time Is Running Out to Fix Climate Report      By Brad Plumer Raymond Zhong
2022-02-28   2022-03-01 /climate-change-ipcc-un-report.html         Says                                          and Lisa Friedman                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/health/ Justices to Hear Cases on Doctors Discretion
2022-02-28   2022-03-01 doctors-painkillers-supreme-court.html      to Prescribe Opioids                          By Jan Hoffman                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/health/e
2022-02-28   2022-03-01 lderly-medicare-medicaid.html               Positive Health News Comes in Small Doses     By Paula Span                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/health/f
2022-02-28   2022-03-01 ertility-doctors-fraud-rochester.html       Discovering Fertility Fraud                   By Jacqueline Mroz               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/health/
2022-02-28   2022-03-01 ketamine-bronner-bros.html                  Suds With a Mission                           By Andrew Jacobs                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/health/ Pfizer Vaccine Is Far Less Effective At        By Apoorva Mandavilli and Noah
2022-02-28   2022-03-01 pfizer-vaccine-kids.html                    Protecting Children Aged 5 to 11              Weiland                          TX 9-152-782   2022-05-02




                                                                                  Page 3435 of 5793
                        https://www.nytimes.com/2022/02/28/nyregio New TV Ad Campaign Recasts Cuomo as          By Nicholas Fandos and Katie
2022-02-28   2022-03-01 n/andrew-cuomo-tv-ad.html                   Victim                                      Glueck                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/nyregio Retail Theft Rises and Small Businesses in
2022-02-28   2022-03-01 n/new-york-stores-robberies-theft.html      New York Pay the Price                      By Nicole Hong                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/nyregio New York City Is Rolling Back Its Pandemic By Emma G Fitzsimmons Sharon
2022-02-28   2022-03-01 n/nyc-vaccine-mask-mandates.html            Restrictions But Is It Too Soon             Otterman and Nicole Hong          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/opinion
2022-02-28   2022-03-01 /mask-mandates-new-york.html                New York Turns a Page on Covid Rules        By The Editorial Board            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/sports/b The Marlins Just Werent What Jeter Signed
2022-02-28   2022-03-01 aseball/derek-jeter-marlins.html            Up For                                      By Tyler Kepner                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/sports/b With Games at Stake MLB and Union
2022-02-28   2022-03-01 aseball/mlb-lockout-deadline.html           Continue Talks                              By James Wagner                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/sports/o
                        lympics/international-olympic-committee-    IOC and FIFA Widen Effort to Isolate Russia
2022-02-28   2022-03-01 russia-belarus.html                         and Belarus Athletically                    By Alan Blinder and Tariq Panja   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/technol David Boggs a Creator of Ethernet Which
2022-02-28   2022-03-01 ogy/david-boggs-dead.html                   Revamped Offices Dies at 71                 By Cade Metz                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/technol                                              By Adam Satariano and Sheera
2022-02-28   2022-03-01 ogy/ukraine-russia-social-media.html        For Tech Giants War Is a Catch22            Frenkel                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/us/polit
2022-02-28   2022-03-01 ics/border-grievance-politics.html          TrumpStyle Grievance Lures Hispanic Voters By Jennifer Medina                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/us/polit Democratic Governors Look to Bidens
2022-02-28   2022-03-01 ics/democratic-governors-election.html      Address As a Political Pivot Point          By Shane Goldmacher               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/us/polit Justices Dispute EPA Power to Curb
2022-02-28   2022-03-01 ics/supreme-court-climate-change.html       Emissions                                   By Adam Liptak                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/us/polit US Treasury Department Freezes Russian
2022-02-28   2022-03-01 ics/us-sanctions-russia-central-bank.html   Central Bank Assets                         By Alan Rappeport                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/us/supr Supreme Court To Hear Case On Adoption
2022-02-28   2022-03-01 eme-court-native-american-children.html     Of Indigenous                               By Adam Liptak                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/world/a                                              By Alissa J Rubin and Meridith
2022-02-28   2022-03-01 sia/afghan-evacuation-kabul.html            What They Couldnt Leave Behind              Kohut                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/world/a Pakistan Cuts Energy Prices Amid Russian
2022-02-28   2022-03-01 sia/pakistan-energy-inflation.html          Invasion of Ukraine                         By Salman Masood                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/02/28/world/e Line Blurs in Germany Between Pandemic
2022-02-28   2022-03-01 urope/germany-covid-far-right-protests.html Protesters and Far Right                    By Katrin Bennhold                TX 9-152-782   2022-05-02
                                                                                                                By Anton Troianovski Ivan
                        https://www.nytimes.com/2022/02/28/world/e                                              Nechepurenko and Sergey
2022-02-28   2022-03-01 urope/russia-economy-sanctions-ukraine.html Anxious Russians Feel Sting of Penalties    Ponomarev                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/world/e Using Commerce and Culture World Turns Its
2022-02-28   2022-03-01 urope/russia-ukraine-global-reaction.html   Back on Russia                              By Mark Landler                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/world/e As War Grinds Into 5th Day Kremlin Starts
2022-02-28   2022-03-01 urope/russia-ukraine-military.html          Hitting Harder                              By Steven Erlanger                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/world/e Rocket Assaults Kill Civilians in Ukraine as By Valerie Hopkins Steven
2022-02-28   2022-03-01 urope/russia-ukraine-war-kharkiv.html       Tightening Sanctions Isolate Moscow         Erlanger and Michael Schwirtz     TX 9-152-782   2022-05-02



                                                                                Page 3436 of 5793
                        https://www.nytimes.com/2022/02/28/busines Investors Send 22 Million In Crypto To
2022-03-01   2022-03-01 s/ukraine-crypto-donations.html             Ukraine                                      By David YaffeBellany            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/opinion
2022-03-01   2022-03-01 /putin-military-sanctions-weakness.html     Russia Is a Potemkin Superpower              By Paul Krugman                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/opinion
2022-03-01   2022-03-01 /ukraine-victory.html                       Why Ukrainians Believe They Can Win          By Michelle Goldberg             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/science
2022-03-01   2022-03-01 /tyrannosaurus-rex-species.html             T Rex Might Have Had Close Cousins           By Asher Elbein                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/sports/f Briles Leaves Grambling 4 Days After Being
2022-03-01   2022-03-01 ootball/art-briles-grambling-state.html     Hired                                        By Alanis Thames                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/us/polit Senate Republicans Block Abortion Rights
2022-03-01   2022-03-01 ics/abortion-rights-measure-senate.html     Measure                                      By Carl Hulse                    TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/us/polit State of the Union to Focus on Economic
2022-03-01   2022-03-01 ics/biden-state-of-the-union.html           Recovery and Unity in Ukraine                By Michael D Shear               TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/02/28/us/polit Bracing for Biden and Protests Capitol       By Luke Broadwater Emily
2022-03-01   2022-03-01 ics/capitol-security-sotu-truck-convoy.html Officials Ramp Up Security                   Cochrane and Zolan KannoYoungs TX 9-152-782      2022-05-02
                        https://www.nytimes.com/2022/02/28/us/polit House Passes Bill to Make Lynching a
2022-03-01   2022-03-01 ics/house-lynching-hate-crime.html          Federal Hate Crime                           By Emily Cochrane                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/us/polit
                        ics/republicans-extremism-marjorie-taylor-  Top Republicans Condemn Legislators          By Jonathan Weisman and Annie
2022-03-01   2022-03-01 greene.html                                 Extremist Ties                               Karni                            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/us/polit Richard Blum 86 Investor And a Senators
2022-03-01   2022-03-01 ics/richard-blum-dead.html                  Husband                                      By Alex Traub                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/us/polit                                              By David E Sanger Julian E Barnes
2022-03-01   2022-03-01 ics/ukraine-russia-microsoft.html           Tech Giants on Alert To Foil Cyberattacks    and Kate Conger                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/busines
                        s/economy/russia-ukraine-sanctions-
2022-03-01   2022-03-01 economy.html                                Global Outlook Darkens Quickl                By Patricia Cohen                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/opinion My Fellow Americans Four Times                By David Brooks Gail Collins Ross
2022-03-01   2022-03-01 /state-union-biden.html                     Columnists Channel Joe Biden                 Douthat and Bret Stephens         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/sports/f NFL Combine Grows in Spectacle if Not
2022-03-01   2022-03-01 ootball/nfl-combine.html                    Relevance                                    By Ken Belson and Jenny Vrentas TX 9-152-782     2022-05-02

                        https://www.nytimes.com/interactive/2022/02/ Meet Peat the Unsung Hero of Carbon         By Sabrina Imbler and Eden
2022-02-22   2022-03-02 21/headway/peat-carbon-climate-change.html Capture                                       Weingart                         TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/24/dining/
2022-02-24   2022-03-02 drinks/terroir-wine-culture.html             Tracing the Internets Mark on Terroir       By Eric Asimov                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/24/dining/
2022-02-24   2022-03-02 grasshopper-cocktail-resurgence.html         The Return of the Grasshopper               By Robert Simonson               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/25/dining/
                        chicken-meatball-lemon-soup-
2022-02-25   2022-03-02 avgolemono.html                              A Lemony Velvety Meatball Soup              By Melissa Clark                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/25/dining/
2022-02-25   2022-03-02 spring-dinner-menu.html                      A Menu That Bridges the Seasons             By David Tanis                   TX 9-152-782    2022-05-02



                                                                                 Page 3437 of 5793
                        https://www.nytimes.com/2022/02/26/arts/dan
                        ce/new-york-city-ballet-promotes-three-men-
2022-02-27   2022-03-02 to-principal-dancers.html                    New York City Ballet Promotes 3 Dancers    By Julia Jacobs                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/27/arts/tele
                        vision/edi-patterson-the-righteous-
2022-02-28   2022-03-02 gemstones.html                               She Remains True To Her Character          By Julia Carmel                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/arts/des Amsterdam Museum Returns a Kandinsky to
2022-02-28   2022-03-02 ign/kandinsky-painting-returned.html         Jewish Heirs                               By Colin Moynihan                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/arts/des
2022-02-28   2022-03-02 ign/miami-ukrainian-art-show.html            This Ukrainian Art Just Got More Timely    By Brett Sokol                   TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/02/28/dining/ To Sizzle Cooking Shrimp Burgers No
2022-02-28   2022-03-02 del-pacifico-wild-caught-shrimp-burgers.html Chopping Required                          By Florence Fabricant            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/dining/ To Season Ingredients From Jordan To
2022-02-28   2022-03-02 kama-local-gourmet-spices.html               Enliven Your Dishes                        By Florence Fabricant            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/dining/ To Enhance Nomas Fish Sauce Has Vegan
2022-02-28   2022-03-02 noma-projects-garum.html                     Influence                                  By Florence Fabricant            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/dining/
2022-02-28   2022-03-02 plant-based-milk.html                        Theres No Shortage of Plants to Milk       By Victoria Petersen             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/dining/r
2022-02-28   2022-03-02 are-fruit-garden-arizona.html                Rare Fruits in an Arizona Backyard         By David Blakeman                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/dining/r
2022-02-28   2022-03-02 estaurant-review-bonnies.html                A Cantonese Menu Reflects a Chefs World    By Pete Wells                    TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/dining/ To Wield An AmericanForged Knife With
2022-02-28   2022-03-02 steelport-knife.html                         Japanese Touches                           By Florence Fabricant            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/dining/t To Consult An Irish Whiskey Primer From a
2022-02-28   2022-03-02 he-dead-rabbit-book.html                     Dead Rabbit                                By Florence Fabricant            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/dining/t To Taste The Marshal Restarts Its Dinner
2022-02-28   2022-03-02 he-marshal-dinner-series.html                Series                                     By Florence Fabricant            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/opinion
2022-02-28   2022-03-02 /ukraine-russia-refugees.html                A Moral Not Just Military Crisis           By David Miliband                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/technol Amazon Puts a Set of Eyes on Your Whole
2022-02-28   2022-03-02 ogy/whole-foods-amazon-automation.html       Foods Basket                               By Cecilia Kang                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/world/c
2022-03-01   2022-03-02 ongo-cobalt-mining-china.html                Congo Suspends Mining by Chinese Firm      By Eric Lipton and Dionne Searcey TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/01/arts/mu
2022-03-01   2022-03-02 sic/met-opera-verdi-don-carlos-review.html An Original Voice for a Verdi Work           By Zachary Woolfe                TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/01/arts/mu Refusing to Denounce Putin Conductor in
2022-03-01   2022-03-02 sic/valery-gergiev-fired-munich-ukraine.html Munich Is Fired                            By Javier C Hernndez             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/books/r
2022-03-01   2022-03-02 eview-in-love-memoir-amy-bloom.html          Hand in Hand Toward a Final Exit           By Dwight Garner                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/books/s Sharon Wohlmuth Dies at 75 Her Photos of
2022-03-01   2022-03-02 haron-wohlmuth-dead.html                     Sisters Became a Sensation                 By Neil Genzlinger               TX 9-152-782    2022-05-02



                                                                               Page 3438 of 5793
                        https://www.nytimes.com/2022/03/01/busines
2022-03-01   2022-03-02 s/china-chained-woman-social-media.html    Chinas Shock at a Life in Chains           By Li Yuan                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/busines
2022-03-01   2022-03-02 s/creek-development-urban-renewal.html     Creeks Seen as Assets for Urban Renewal    By Kevin Williams            TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/01/busines Supply Issues Made Worse By Warfare In
2022-03-01   2022-03-02 s/economy/ukraine-russia-supply-chains.html Ukraine                                   By Ana Swanson               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/01/busines
2022-03-01   2022-03-02 s/energy-environment/russia-oil-price.html Buyers Avoid Russian Oil Despite Cost      By Clifford Krauss           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/busines A World in Flux Investors Puzzle Over Wars
2022-03-01   2022-03-02 s/investors-ukraine-russia-markets.html    Effect on Markets                          By Lananh Nguyen             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/busines Michele McNally 66 Who Led Times To Six
2022-03-01   2022-03-02 s/media/michele-mcnally-dead.html          Pulitzer Prizes for Photography            By Sam Roberts               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/01/busines Judge Says Palin Failed to Prove Case vs
2022-03-01   2022-03-02 s/media/sarah-palin-new-york-times-trial.html Times                                  By Jeremy W Peters            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/busines Tennis Stars Venture Firm Has Raised 111  By Andrew Ross Sorkin and
2022-03-01   2022-03-02 s/serena-williams-venture-fund.html           Million                                Lauren Hirsch                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/busines Countries Free Up Oil Reserves As War
2022-03-01   2022-03-02 s/ukraine-russia-oil.html                     Drives Surge in Prices                 By Stanley Reed               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/climate The Climate Is Worsening No One Is
2022-03-01   2022-03-02 /ipcc-climate-scientists-strike.html          Listening Scientists May Strike        By Raymond Zhong              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/dining/
2022-03-01   2022-03-02 detroit-restaurants.html                      Thriving Restaurants Feed a City       By Brett Anderson             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/dining/ Nonna Doras Pasta Bar From the Family
2022-03-01   2022-03-02 nyc-restaurant-openings.html                  Behind I Trulli Opens for Dinner       By Florence Fabricant         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/health/c Highly Mutated Coronavirus Lineage Found
2022-03-01   2022-03-02 oronavirus-variant-deer-ontario.html          in Ontario Deer                        By Emily Anthes               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/health/ Study Shows Effectiveness Of Boosters in
2022-03-01   2022-03-02 vaccine-kids-effectiveness-omicron.html       Adolescents                            By Apoorva Mandavilli         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/movies/ Actor Calls On His Friend Putin to Stop
2022-03-01   2022-03-02 gerard-depardieu-ukraine-war.html             Fratricidal War                        By Alex Marshall              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/movies/
                        summer-of-soul-concert-documentary-           Reclaiming a Tradition of Concert
2022-03-01   2022-03-02 tradition.html                                Documentaries                          By Alan Light                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/nyregio Tapping Zeldin New York GOP Aims to Ride By Katie Glueck and Nicholas
2022-03-01   2022-03-02 n/republicans-midterm-election-ny.html        Wave of Discontent to a Comeback       Fandos                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/opinion
2022-03-01   2022-03-02 /lent-sacrifice-english.html                  I Gave Up English for Lent             By Jimin Kang                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/opinion A Smarter Way to Think About Covid Shots
2022-03-01   2022-03-02 /under-5-vaccine.html                         for Kids                               By Aubrey Clayton             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/sports/b After Talks Fail to Produce Accord MLB
2022-03-01   2022-03-02 aseball/mlb-baseball-season.html              Cancels Early Games of 2022            By James Wagner               TX 9-152-782   2022-05-02




                                                                               Page 3439 of 5793
                        https://www.nytimes.com/2022/03/01/sports/r Figure Skating Federation Bars Russians
2022-03-01   2022-03-02 ussia-ban-figure-skating.html               From Competition                             By Jer Longman                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/sports/t Two Nations Suspended From Tennis Team
2022-03-01   2022-03-02 ennis/russia-belarus-tennis.html            Events                                       By Matthew Futterman             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/theater/
2022-03-01   2022-03-02 potus-broadway-selina-fillinger.html        The Women Propping Up the Powerful Jerk      By Michael Paulson               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/us/arbe                                               By Richard Fausset and Tariro
2022-03-01   2022-03-02 ry-trial-juror-marcus-ransom.html           So Much Hatred                               Mzezewa                          TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/us/car- Carjackings Are on Rise Among American
2022-03-01   2022-03-02 theft-teens-pandemic.html                   Teens                                        By Campbell Robertson            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/us/dotti Dottie Frazier Who Blazed a Trail Wearing
2022-03-01   2022-03-02 e-frazier-dead.html                         Scuba Fins Is Dead at 99                     By Neil Genzlinger               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/us/mar Mardi Gras Returns With a Touch of             By Katy Reckdahl and Sophie
2022-03-01   2022-03-02 di-gras-returns-new-orleans.html            Trepidation                                  Kasakove                         TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/us/polit
2022-03-01   2022-03-02 ics/biden-putin-state-of-the-union.html     Pitches Plans for Economy and the Virus      By Peter Baker                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/us/polit
                        ics/biden-will-cite-tremendous-progress-    Biden to Cite New Strategy To Combat
2022-03-01   2022-03-02 against-an-unpredictable-virus.html         Coronavirus                                  By Sheryl Gay Stolberg           TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/us/polit Inflation and High Prices Loom Over a
2022-03-01   2022-03-02 ics/inflation-biden-state-of-the-union.html Presidents Speech                            By Jeanna Smialek                TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/01/us/polit
2022-03-01   2022-03-02 ics/mitch-landrieu-infrastructure-biden.html Guiding the Way for Infrastructure Funds    By Madeleine Ngo                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/us/polit Deaths on Ukraine Battlefields Could Haunt
2022-03-01   2022-03-02 ics/russia-ukraine-war-deaths.html           Putin Back Home                             By Helene Cooper and Eric Schmitt TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/01/us/polit Ambassador From Ukraine To Be Guest Of
2022-03-01   2022-03-02 ics/state-of-union-ukraine-ambassador.html President                                     By Michael D Shear               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/us/polit Top Court Weighs Intent Of Doctors in
2022-03-01   2022-03-02 ics/supreme-court-pill-mills.html           Opioid Case                                  By Adam Liptak                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/us/polit
                        ics/texas-primary-midterms-democrats-       Abbott and ORourke Win Their Texas           By Shane Goldmacher and J David
2022-03-01   2022-03-02 gop.html                                    Primaries Avoiding Runoffs                   Goodman                         TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/01/us/polit Wisconsin Voting Report Endorses Sham
2022-03-01   2022-03-02 ics/wisconsin-republicans-election-report.html Theories                                 By Reid J Epstein             TX 9-152-782        2022-05-02
                        https://www.nytimes.com/2022/03/01/us/texa Texas Investigates Parents Over Medical Care By J David Goodman and Amanda
2022-03-01   2022-03-02 s-child-abuse-trans-youth.html                 for Transgender Youth Lawsuit Says       Morris                        TX 9-152-782        2022-05-02
                        https://www.nytimes.com/2022/03/01/world/a India Dependent on Both US and Russia Tries
2022-03-01   2022-03-02 sia/india-russia-united-states-ukraine.html    to Stay Above the Fray                   By Mujib Mashal               TX 9-152-782        2022-05-02
                        https://www.nytimes.com/2022/03/01/world/a Mosque Dispute Highlights Intolerance in
2022-03-01   2022-03-02 sia/south-korea-diversity-muslims.html         South Korea                              By Choe SangHun               TX 9-152-782        2022-05-02
                        https://www.nytimes.com/2022/03/01/world/a Taiwan Draws a Lesson On Raising             By Amy Qin and Amy Chang
2022-03-01   2022-03-02 sia/ukraine-taiwan-china-russia.html           SelfReliance                             Chien                         TX 9-152-782        2022-05-02



                                                                                Page 3440 of 5793
                        https://www.nytimes.com/2022/03/01/world/e
2022-03-01   2022-03-02 urope/queen-elizabeth-covid-free.html          After Covid Bout Queen Resumes Work          By Isabella Kwai                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/world/e Africans Fleeing Ukraine Say Racist              By Monika Pronczuk and Ruth
2022-03-01   2022-03-02 urope/ukraine-refugee-discrimination.html      Authorities Hindered Their Escape            Maclean                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/world/e Despite Relying on Russian Energy Italy
2022-03-01   2022-03-02 urope/ukraine-russia-italy-sanctions.html      Stands With West on Sanctions                By Jason Horowitz               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/world/e UK Moves to Tighten Rules for Oligarchs          By Mark Landler and Stephen
2022-03-01   2022-03-02 urope/ukraine-russia-oligarchs-uk.html         Some Say Its Too Late                        Castle                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/world/e
                        urope/ukraine-russia-turkey-putin-             Missteps by Erdogan Leave Turks Stranded
2022-03-01   2022-03-02 erdogan.html                                   As Ties to Russia Fray                       By Carlotta Gall                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/world/e An Invasion Divides Families On Both Sides
2022-03-01   2022-03-02 urope/ukraine-russia-war-families.html         of the Border                                By Emma Bubola                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/world/e An Exodus of 660000 Echoes A 20thCentury
2022-03-01   2022-03-02 urope/ukraine-war-migration.html               Europe at War                                By Patrick Kingsley             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/world/e Europe Abandons Indifference To Lift Up
2022-03-01   2022-03-02 urope/zelensky-ukraine-war-outrage.html        Ukraines Cause                               By Roger Cohen                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/live/2022/03/01/us/
                        biden-state-of-the-union/trade-representative- Biden Trade Agenda Focuses on Environment
2022-03-01   2022-03-02 annual-report                                  and Supply Chain                             By Ana Swanson                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/health/c
2022-03-02   2022-03-02 ovid-erectile-dysfunction.html                 Research Ties Erectile Issues To Coronavirus By Roni Caryn Rabin             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/opinion
2022-03-02   2022-03-02 /ukraine-russia-putin.html                     I See Three Scenarios for How This War Ends By Thomas L Friedman             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/opinion
2022-03-02   2022-03-02 /ukraine-zelensky-biden.html                   Biden Cannot Allow Ukraine To Fall           By Bret Stephens                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/sports/b An Offer That Was Engineered to Be
2022-03-02   2022-03-02 aseball/mlb-lockout-manfred.html               Rejected by the Union                        By Tyler Kepner                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/theater/
2022-03-02   2022-03-02 out-of-time-review-public-theater.html         Taking Center Stage in Five Stories          By Laura CollinsHughes          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/us/polit An Evening Painted Blue And Yellow In
2022-03-02   2022-03-02 ics/capitol-state-of-the-union.html            Solidarity                                   By Emily Cochrane               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/us/polit Jan 6 Panel Subpoenas Lawyers Who Tried to
2022-03-02   2022-03-02 ics/jan-6-subpoenas-trump.html                 Reverse Trump Loss                           By Luke Broadwater              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/us/polit
2022-03-02   2022-03-02 ics/kim-reynolds-state-of-the-union.html       In Riposte GOP Says Ills of 1970s Are Back By Glenn Thrush                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/us/polit Achieving Unity in a Crisis Is Hailed but
2022-03-02   2022-03-02 ics/sotu-biden-putin-ukraine.html              Questions Remain                             By David E Sanger               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/world/e Russia Batters Key Cities in Wider Attack        By Andrew E Kramer Valerie
2022-03-02   2022-03-02 urope/ukraine-russia-war.html                  Biden Seeks to Rally World Against Putin     Hopkins and Nick CummingBruce   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/insider/
2022-03-02   2022-03-02 the-making-of-the-trojan-horse-affair.html     Making The Trojan Horse Affair               By Sarah Diamond                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/sports/b
                        asketball/wilt-chamberlain-100-point-
2022-03-02   2022-03-02 game.html                                      The Night That Changed the NBA               By Scott Cacciola               TX 9-152-782   2022-05-02



                                                                                Page 3441 of 5793
                                                                                                               By Danielle Ivory Keith Collins
                                                                                                               Matt Craig Yves De Jesus Brandon
                                                                                                               Dupr Mika Grndahl Lauryn
                                                                                                               Higgins Derek M Norman Jugal K
                                                                                                               Patel Laney Pope Cierra S Queen
                                                                                                               Chloe Reynolds Jess Ruderman
                        https://www.nytimes.com/interactive/2022/02/                                           Rachel Sherman Kristine White and
2022-02-23   2022-03-03 23/business/office-vaccine-mandate.html      Whos Requiring Workers to Be Vaccinated   Bonnie G Wong                     TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/02/24/style/di
2022-02-24   2022-03-03 esel-glenn-martens-milan-fashion-week.html Models Are Larger Than Life                 By Jessica Testa                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/25/style/pr
2022-02-25   2022-03-03 ada-moschino-milan-fashion-week.html        Everything Suddenly Looks Different Now    By Vanessa Friedman              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/27/style/bo
                        ttega-veneta-matthieu-blazy-milan-fashion-
2022-02-27   2022-03-03 week.html                                   Bottega Veneta Renewed                     By Vanessa Friedman              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/27/style/su
                        its-gucci-versace-marni-milan-fashion-
2022-02-27   2022-03-03 week.html                                   Suits Address a Wary Time                  By Vanessa Friedman              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/arts/mu
                        sic/brooklyn-academy-plans-global-spring- Brooklyn Academy of Music Plans a Global
2022-02-28   2022-03-03 season.html                                 Season                                     By Javier C Hernndez             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/briefing
2022-02-28   2022-03-03 /nyc-virus-mandates.html                    New York Citys Next Chapter                By Jonathan Wolfe                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/28/style/in When the Bar Tab Arrives Be Prepared For a
2022-02-28   2022-03-03 flation-bars-drink-prices.html              Yikes Moment                               By Anna P Kambhampaty            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/style/gl Now Presenting the First Great Designer of
2022-03-01   2022-03-03 enn-martens-diesel-y-project-gaultier.html  2022                                       By Vanessa Friedman              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/theater/
2022-03-02   2022-03-03 merchant-of-venice-black-no-more.html       The Past Knows How to Push Back            By Maya Phillips                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/02/arts/bar Barry Bauman Noted Conservator 73 Sussed
2022-03-02   2022-03-03 ry-bauman-dead.html                         Out Fake Portrait of a First Lady          By Katharine Q Seelye            TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/02/arts/dan
2022-03-02   2022-03-03 ce/new-york-city-ballet-winter-season.html New Dancers in the Spotlight                By Gia Kourlas                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/02/arts/dan
2022-03-02   2022-03-03 ce/review-bodytraffic-joyce-theater.html    A Troupe in Search of Choreographic Vision By Brian Seibert                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/02/arts/des
                        ign/vladimir-potanin-russian-oligarch-      Russian Oligarch Steps Down as Guggenheim By Graham Bowley and Matt
2022-03-02   2022-03-03 guggenheim.html                             Trustee                                    Stevens                          TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/02/arts/mu
2022-03-02   2022-03-03 sic/dua-lipa-future-nostalgia-tour-review.html Exuding Control and Resisting Abandon   By Jon Caramanica                TX 9-152-782    2022-05-02




                                                                                 Page 3442 of 5793
                        https://www.nytimes.com/2022/03/02/arts/mu
2022-03-02   2022-03-03 sic/epic-games-bandcamp.html               Epic Buys a Platform Favored by Musicians By Ben Sisario                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/arts/mu
2022-03-02   2022-03-03 sic/ny-philharmonic-herbert-blomstedt.html Making the Fifths First Four Notes Add Up By David Allen                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/arts/mu
                        sic/ukraine-putin-valery-gergiev-anna-
2022-03-02   2022-03-03 netrebko.html                              The Limits Of Cultural Exchange In Wartime By Zachary Woolfe                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/books/r
                        eview-aurelia-aurelia-memoir-kathryn-      Stitching Moments Together to Make Sense
2022-03-02   2022-03-03 davis.html                                 of Grief                                   By Molly Young                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/books/s Shirley Hughes Whose Books Depicted
2022-03-02   2022-03-03 hirley-hughes-dead.html                    Childrens MiniDramas Dies at 94            By Jan Benzel                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/busines To Help Speed a Transition to EVs Ford
2022-03-02   2022-03-03 s/economy/ford-model-e.html                Splits Its Electric and Gas Divisions      By Neal E Boudette                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/02/busines Bidens Fed Nominees Frozen as One Faces
2022-03-02   2022-03-03 s/economy/sarah-bloom-raskin-biden-fed.html Questions                                   By Jeanna Smialek               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/busines Starbucks Is Targeting Workers in Buffalo
2022-03-02   2022-03-03 s/economy/starbucks-union-buffalo.html      Union Backers Say                           By Noam Scheiber                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/busines
2022-03-02   2022-03-03 s/jerome-powell-interest-rates.html         Powell Says Rise in Rates Is on the Way     By Jeanna Smialek               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/busines As Oil Soars OPEC Plus Is Declining To
2022-03-02   2022-03-03 s/oil-prices-opec.html                      Offer Help                                  By Stanley Reed                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/busines Trump Hotels Sees CEO Exit as Brand Gets
2022-03-02   2022-03-03 s/trump-hotel-eric-danziger.html            Smaller                                     By Steve Eder and Ben Protess   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/climate In a World Awash in Plastic 175 Nations Plan
2022-03-02   2022-03-03 /global-plastics-recycling-treaty.html      a Treaty to Make Changes                    By Hiroko Tabuchi               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/climate
                        /state-of-the-union-biden-ukraine-          War and Politics Jeopardize Efforts by US   By Somini Sengupta and Lisa
2022-03-02   2022-03-03 climate.html                                and Europe to Fend Off Climate Catastrophe Friedman                         TX 9-152-782   2022-05-02
                                                                    New Research Shows How Coronavirus
                        https://www.nytimes.com/2022/03/02/health/c Infection Can Rob People of Their Sense of
2022-03-02   2022-03-03 ovid-smell.html                             Smell                                       By Roni Caryn Rabin             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/movies/
                        bong-joon-ho-ryusuke-hamaguchi-drive-my-
2022-03-02   2022-03-03 car.html                                    On the Same Journey But at Different Spots By Kyle Buchanan                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/nyregio Prosecutors Seek Testimony Of Juror in
2022-03-02   2022-03-03 n/ghislaine-maxwell-trial-juror.html        Maxwells Trial                              By Benjamin Weiser              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/nyregio At Rikers Savage Beatings Hidden From        By Jan Ransom and William K
2022-03-02   2022-03-03 n/nyc-jail-beating-rikers.html              View                                        Rashbaum                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/nyregio As Masks Come Off at School a Combination
2022-03-02   2022-03-03 n/nyc-school-masks-mandate.html             of Relief and Trepidation                   By Sarah Maslin Nir             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/nyregio Schools Chancellor Vows to End Betrayal of
2022-03-02   2022-03-03 n/nyc-schools-david-banks-chancellor.html Students                                      By Lola Fadulu                  TX 9-152-782   2022-05-02




                                                                                Page 3443 of 5793
                        https://www.nytimes.com/2022/03/02/nyregio New Law Overhauling New Yorks Parole
2022-03-02   2022-03-03 n/parole-lawsuit-legal-aid.html             System Is Being Ignored Lawyers Say      By Troy Closson                      TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/02/opinion The President Has the Right Idea but the
2022-03-02   2022-03-03 /biden-state-of-the-union.html              Wrong Words                              By Ezra Klein                        TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/02/opinion Remote Work Doesnt Have to Be the Mommy
2022-03-02   2022-03-03 /remote-work.html                           Track                                    By Jessica Grose                     TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/02/opinion Help Us in Ukraine Show Putin The Mistake
2022-03-02   2022-03-03 /ukraine-russia-war-zelensky.html           He Is Making                             By Andriy Yermak                     TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/02/sports/b MLB Games are Canceled What Happens
2022-03-02   2022-03-03 aseball/mlb-lockout.html                    Now                                      By James Wagner                      TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/02/sports/b Is Time Running Out For the Lakers And
2022-03-02   2022-03-03 asketball/nba-playoffs-lakers-los-angeles.html Their Star                                 By Tania Ganguli                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/sports/f Saleh Sticks to His Plan Patience and Lots of
2022-03-02   2022-03-03 ootball/jets-nfl-draft-combine.html            Picks                                      By Emmanuel Morgan                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/sports/f Wonderlic Is Gone but Draft Still Has Its
2022-03-02   2022-03-03 ootball/nfl-wonderlic-test.html                Head Games                                 By Robert OConnell                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/sports/g Mickelson Finishes Second Again Losing
2022-03-02   2022-03-03 olf/pga-tiger-woods-phil-mickelson.html        Popularity Contest to Woods                By Bill Pennington                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/sports/o
                        lympics/russia-ukraine-belarus-
2022-03-02   2022-03-03 paralympics.html                               Paralympics Will Allow Russians to Compete By David Waldstein                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/sports/s Oligarch Owner of Chelsea Says He Will Put
2022-03-02   2022-03-03 occer/chelsea-roman-abramovich.html            the Club Up for Sale                       By Rory Smith and Tariq Panja     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/style/st Clothes Make the Point How Legislators
2022-03-02   2022-03-03 ate-of-the-union-fashion-ukraine.html          Speak Without Speaking                     By Vanessa Friedman               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/technol
2022-03-02   2022-03-03 ogy/cryptocurrency-anonymity-alarm.html        No Real Names in Crypto Please             By David YaffeBellany             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/technol
                        ogy/personaltech/apple-ios-google-
2022-03-02   2022-03-03 calendar.html                                  Plan Your Day on Your Phones Free Calendar By J D Biersdorfer                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/theater/ Broadway Theater to Be Named After James
2022-03-02   2022-03-03 cort-theater-james-earl-jones.html             Earl Jones                                 By Michael Paulson                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/us/auth Autherine Lucy Foster First Black Student at
2022-03-02   2022-03-03 erine-lucy-foster-dead.html                    Alabama Is Dead at 92                      By Richard Goldstein              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/us/breo Officer in Fatal 2020 Raid Says He Mistook
2022-03-02   2022-03-03 nna-taylor-hankison-trial.html                 Police Gunfire for Suspects                By Nicholas BogelBurroughs        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/us/mich ExIllinois House Speaker Is Indicted on US
2022-03-02   2022-03-03 ael-madigan-illinois-indictment.html           Charges                                    By Mitch Smith                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/us/polit
                        ics/ellen-knight-national-security-council-    Biden Rehires Staff Member Pushed Out      By Michael S Schmidt and Julian E
2022-03-02   2022-03-03 biden.html                                     Under Trump                                Barnes                            TX 9-152-782   2022-05-02
                                                                       Prosecutors Open First Criminal Trial of a
                        https://www.nytimes.com/2022/03/02/us/polit Defendant Charged in the Attack on the
2022-03-02   2022-03-03 ics/jan-6-trial-opening-arguments.html         Capitol                                    By Alan Feuer                     TX 9-152-782   2022-05-02



                                                                                Page 3444 of 5793
                        https://www.nytimes.com/2022/03/02/us/polit Report Suggests Chinese Knew of Plan to      By Edward Wong and Julian E
2022-03-02   2022-03-03 ics/russia-ukraine-china.html               Invade                                       Barnes                              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/02/us/polit Justice Dept Will Establish A Team to Pursue
2022-03-02   2022-03-03 ics/russian-oligarchs-justice-department.html Oligarchs                                  By Katie Benner                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/us/polit In Texas GOP Shows Power at Polls So Does
2022-03-02   2022-03-03 ics/texas-primary-takeaways.html              ORourke                                    By Reid J Epstein                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/us/polit In Symbolic Vote Senate Rejects a Vaccine
2022-03-02   2022-03-03 ics/vaccine-mandate-health-workers.html       Mandate                                    By Emily Cochrane                   TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/02/world/a Taliban AntiInsurgency Sweep Opens Old        By Thomas GibbonsNeff Christina
2022-03-02   2022-03-03 sia/afghanistan-taliban-resistance.html    Wounds for Afghans                            Goldbaum and Najim Rahim        TX 9-152-782       2022-05-02
                        https://www.nytimes.com/2022/03/02/world/a Violence Erupts as Police Move To End
2022-03-02   2022-03-03 ustralia/new-zealand-protest-vaccine.html  Protests in New Zealand                       By Natasha Frost                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/world/e Russians Capture Crucial Black Sea Port as    By Michael Schwirtz and Richard
2022-03-02   2022-03-03 urope/kherson-ukraine-russia.html          Bombing of Civilian Targets Escalates         PrezPea                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/world/e NATO States Arm Ukraine At Risk of
2022-03-02   2022-03-03 urope/nato-weapons-ukraine-russia.html     Provoking Putin                               By Steven Erlanger                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/02/world/e Anxiety Grows in Port City of Odessa as
2022-03-02   2022-03-03 urope/odessa-black-sea-ukraine-russia.html Russian Forces Close In                       By Michael Schwirtz                 TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/02/world/e 2 Orthodox Churches Find Their Fates Tied
2022-03-02   2022-03-03 urope/russia-ukraine-orthodox-church.html      To a Wars Outcome                            By Andrew E Kramer               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/world/e Hard Reality of Conflict Sinks In Across         By Ivan Nechepurenko and Anton
2022-03-02   2022-03-03 urope/russia-ukraine-war-casualties.html       Russia                                       Troianovski                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/world/e Huddled in the Kyiv Subway Three to a            By Andrew E Kramer and Lynsey
2022-03-02   2022-03-03 urope/russia-ukraine-war-shelters.html         Mattress                                     Addario                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/world/e
2022-03-02   2022-03-03 urope/ukraine-russia-eastern-europe.html       Eastern Europe Unites in Fear Of Putins Aims By Andrew Higgins                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/live/2022/03/01/us/
                        biden-state-of-the-union/biden-state-of-union- Five Takeaways From Bidens State of the
2022-03-02   2022-03-03 takeaways                                      Union Address                                By Michael D Shear               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/busines
2022-03-03   2022-03-03 s/rei-union-new-york.html                      Workers at REI Store Vote to Unionize        By Noam Scheiber                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/us/polit Avoiding Shutdowns Is Part of New US
2022-03-03   2022-03-03 ics/biden-covid-strategy.html                  Strategy Against Coronavirus                 By Sheryl Gay Stolberg           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/us/polit As Biden Starts to Pivot Democrats Seek to By Zolan KannoYoungs Jonathan
2022-03-03   2022-03-03 ics/biden-pivot-moderate-agenda.html           Salvage Domestic Agenda                      Weisman and Emily Cochrane       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/us/polit South Texas Democrat Meets His Political
2022-03-03   2022-03-03 ics/cisneros-cuellar-runoff.html               Match in a Former Intern                     By Jennifer Medina               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/us/polit
                        ics/ketanji-brown-jackson-supreme-court-       Democrats Hope to Get Republicans on Board
2022-03-03   2022-03-03 confirmation.html                              For Nominee to Court                         By Carl Hulse                    TX 9-152-782   2022-05-02




                                                                                 Page 3445 of 5793
                        https://www.nytimes.com/2022/03/02/us/polit                                              By Luke Broadwater and Alan
2022-03-03   2022-03-03 ics/trump-criminal-charges-jan-6.html       Jan 6 Panel Lays Out Potential Case vs Trump Feuer                          TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/02/us/texa Texas Court Halts Abuse Case for One Set of
2022-03-03   2022-03-03 s-transgender-child-abuse.html              Parents Over Care for Transgender Youth     By J David Goodman              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/opinion
2022-03-03   2022-03-03 /russia-ukraine-war.html                    Russia Has Suffered a Crushing Moral Defeat By Alexey Kovalev               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/style/ju
2022-03-03   2022-03-03 lia-fox-kanye-modeling-movies.html          Julia Fox Hasnt Yet Had Her Fill of Fame    By Jessica Testa                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/style/m
2022-03-03   2022-03-03 ortimers-glenn-bernbaum-nyc.html            Capturing a Vanished Landscape              By Guy Trebay                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/24/arts/des
2022-02-24   2022-03-04 ign/antiquities-greek-20-million.html       Valuable Antiquities Are Returned to Greece By Tom Mashberg                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/health/j John Trojanowski 75 Neuropathologist At
2022-03-01   2022-03-04 ohn-q-trojanowski-dead.html                 Forefront of Alzheimers Research            By Gina Kolata                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/movies/
2022-03-01   2022-03-04 the-batman-review.html                      A Very Dark Knight Returns                  By AO Scott                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/movies/
2022-03-01   2022-03-04 the-jump-review.html                        The Jump                                    By Ben Kenigsberg               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/01/movies/
2022-03-01   2022-03-04 the-unknown-man-of-shandigor-review.html The Unknown Man Of Shandigor                  By Glenn Kenny                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/nyregio Connie Hogarth 95 Tireless Activist Who Led
2022-03-01   2022-03-04 n/connie-hogarth-dead.html                  a Social Justice Organization              By Richard Sandomir              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/article/election-                                              By Alicia Parlapiano and Nate
2022-03-01   2022-03-04 results-process-explained.html              The Process Behind Calling Elections       Cohn                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/arts/des
2022-03-02   2022-03-04 ign/magritte-auction-sothebys.html          Its Kind of Totally Surreal                By Scott Reyburn                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/books/n
2022-03-02   2022-03-04 oviolet-bulawayo-glory.html                 People on the Margins Put Center Stage     By Abdi Latif Dahir              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/busines Hong Kong Buckling Under Covid Leaves
2022-03-02   2022-03-04 s/hong-kong-covid.html                      Vulnerable in the Cold                     By Vivian Wang                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/movies/
2022-03-02   2022-03-04 against-the-ice-review.html                 Against the Ice                            By Beatrice Loayza               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/movies/
2022-03-02   2022-03-04 hell-is-empty-review.html                   Hell Is Empty                              By Lena Wilson                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/movies/
2022-03-02   2022-03-04 the-long-walk-review.html                   The Long Walk                              By Teo Bugbee                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/nyregio New York Man Charged With Hate Crimes In
2022-03-02   2022-03-04 n/asian-women-attacked-nypd.html            Attacks on 7 Asian Women in 2 Hours        By Karen Zraick                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/nyregio City Sergeant Pleads Guilty To Attacking
2022-03-02   2022-03-04 n/nyc-police-assault-phillip-wong.html      Arrested Men                               By Ed Shanahan and Ali Watkins   TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/02/nyregio Raising Crosswalks to Make Deadly
2022-03-02   2022-03-04 n/nyc-raised-crosswalks-traffic-deaths.html Intersections Safer                        By Winnie Hu                     TX 9-152-782   2022-05-02



                                                                                Page 3446 of 5793
                        https://www.nytimes.com/2022/03/02/opinion
2022-03-02   2022-03-04 /whos-afraid-of-ketanji-brown-jackson.html Whos Afraid Of Ketanji Brown Jackson         By Sherrilyn A Ifill               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/technol Twitter Wants to Reinvent Itself by Shifting
2022-03-02   2022-03-04 ogy/twitter-platform-rethink.html           Online Power to Its Users                   By Kate Conger                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/us/robe Robert Hicks 71 Author of Blockbuster and
2022-03-02   2022-03-04 rt-hicks-dead.html                          Savior of a Battlefield Dies                By Clay Risen                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/world/a Welcoming a Change in Leadership and in
2022-03-02   2022-03-04 mericas/venezuela-maduro-chavez.html        Style in Venezuela                          By Anatoly Kurmanaev               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/technol A Second Amazon Site on Staten Island Is
2022-03-03   2022-03-04 ogy/amazon-union-staten-island-ldj5.html    Cleared to Hold a Union Election            By Daisuke Wakabayashi             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/arts/des
2022-03-03   2022-03-04 ign/josh-kline-laxart-adaptation.html       Going With the Flow in the Ruined World     By Travis Diehl                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/arts/des Portraits of Love and Loss A Young Life
2022-03-03   2022-03-04 ign/kia-labeija-fotografiska.html           With HIV                                    By Josie ThaddeusJohns             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/arts/des
2022-03-03   2022-03-04 ign/outsider-art-fair.html                  Outsider Fair Returns in Top Form           By Roberta Smith                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/arts/mu Met Opera to Russian Diva No Disavowal No
2022-03-03   2022-03-04 sic/anna-netrebko-met-opera-ukraine.html    Bookings                                    By Javier C Hernndez               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/arts/mu
2022-03-03   2022-03-04 sic/cecile-mclorin-salvant-ghost-song.html  Tackling A Newer Archive Her Own            By Giovanni Russonello             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/arts/mu
                        sic/lise-davidsen-ariadne-met-opera-
2022-03-03   2022-03-04 review.html                                 Sopranos Sound Floods The Met in Ariadne By Zachary Woolfe                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/arts/mu An Artists Music Becomes More of a Family
2022-03-03   2022-03-04 sic/nilufer-yanya-painless.html             Affair                                      By Lindsay Zoladz                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/03/arts/tele A Reading Rainbow Reboot With New
2022-03-03   2022-03-04 vision/reading-rainbow-live-streaming.html Friends to Know                                  By Laurel Graeber              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/arts/tele
2022-03-03   2022-03-04 vision/winning-time-bug-out.html             This Weekend I Have                            By Margaret Lyons              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/busines
                        s/economy/federal-reserve-powell-            Powell Tells Senators That the Fed Will Get
2022-03-03   2022-03-04 inflation.html                               Inflation Under Control                        By Jeanna Smialek              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/busines
                        s/economy/russia-sanctions-global-                                                          By Patricia Cohen and Jeanna
2022-03-03   2022-03-04 economy.html                                 Russia Reels As Sanctions Exact a Cost         Smialek                        TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/03/busines
2022-03-03   2022-03-04 s/electric-vehicle-chargers-infrastructure.html A Path to Powering Up on the Road           By Jamie Lincoln Kitman        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/busines
                        s/energy-environment/lukoil-russia-oil-
2022-03-03   2022-03-04 ukraine.html                                    Oil Giant In Russia Urges End To Fighting   By Clifford Krauss             TX 9-152-782   2022-05-02




                                                                                   Page 3447 of 5793
                        https://www.nytimes.com/2022/03/03/busines To Broadcast in Kyiv BBC Revives
2022-03-03   2022-03-04 s/media/bbc-shortwave-radio-ukraine.html    Shortwave Radio                            By Tiffany Hsu           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/busines Large Majority of Tech Workers at The Times
2022-03-03   2022-03-04 s/media/new-york-times-tech-union.html      Vote to Certify Their Union                By Katie Robertson       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/busines
2022-03-03   2022-03-04 s/nissan-greg-kelly-verdict.html            Ghosn Ally Sentenced In Japan              By Ben Dooley            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/busines Ikea Joins List of Retailers Halting Russia
2022-03-03   2022-03-04 s/retailers-sales-russia-ikea.html          Operations                                 By Sapna Maheshwari      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/busines Twitch Will Bar Chronic Spreaders of
2022-03-03   2022-03-04 s/twitch-misinformation-policy.html         Falsehoods                                 By Kellen Browning       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/health/s Sacklers Strike New Deal to Settle Opioid
2022-03-03   2022-03-04 acklers-purdue-oxycontin-settlement.html    Suits                                      By Jan Hoffman           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/movies/
2022-03-03   2022-03-04 after-yang-review.html                      Do Androids Dream Of Watching Your Kids By Manohla Dargis           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/movies/
2022-03-03   2022-03-04 asking-for-it-review.html                   Asking for It                              By Jeannette Catsoulis   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/movies/
2022-03-03   2022-03-04 dear-mr-brody-review.html                   Dear Mr Brody                              By Lisa Kennedy          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/movies/
2022-03-03   2022-03-04 fresh-review.html                           Cannibal Romance With a Big Appetite       By Amy Nicholson         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/movies/
2022-03-03   2022-03-04 great-freedom-review.html                   True to Himself Despite All the Challenges By Manohla Dargis        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/movies/
2022-03-03   2022-03-04 hudas-salon-review.html                     Hudas Salon                                By Devika Girish         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/movies/
2022-03-03   2022-03-04 lucy-and-desi-review.html                   Lucy and Desi                              By Natalia Winkelman     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/movies/
2022-03-03   2022-03-04 mother-schmuckers-review.html               Mother Schmuckers                          By Jeannette Catsoulis   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/movies/
2022-03-03   2022-03-04 new-york-childrens-film-festival.html       Toons That Go Far Beyond Loony             By Laurel Graeber        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/movies/
2022-03-03   2022-03-04 nightride-review.html                       Nightride                                  By Calum Marsh           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/movies/
2022-03-03   2022-03-04 rock-bottom-riser-review.html               Rock Bottom Riser                          By Concepcin de Len      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/nyregio New York Judge Inclined to Allow Democrats
2022-03-03   2022-03-04 n/ny-judge-redistricting-maps.html          Map For Redistricting                      By Nicholas Fandos       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/nyregio
                        n/omicron-hospitalizations-new-york-        Black New Yorkers Were Hit Harder by the
2022-03-03   2022-03-04 city.html                                   Omicron Surge                              By Joseph Goldstein      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/nyregio New York Seeks Weather Alerts in More
2022-03-03   2022-03-04 n/severe-weather-alerts-languages-ida.html  Languages After Ida Tragedy                By Ashley Wong           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/opinion Trying to Make Sense of the Livestreamed
2022-03-03   2022-03-04 /ukraine-livestream-videos.html             War                                        By Jay Caspian Kang      TX 9-152-782   2022-05-02




                                                                                Page 3448 of 5793
                        https://www.nytimes.com/2022/03/03/sports/f
2022-03-03   2022-03-04 ootball/nfl-covid-protocol.html             NFL Suspends Covid19 Protocols                By Jenny Vrentas              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/03/sports/o                                               By David Waldstein and Amy
2022-03-03   2022-03-04 lympics/paralympics-russia.html             Paralympics Bar Russia and Belarus            Chang Chien                   TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/03/sports/t Covid Change May Clear Path to French
2022-03-03   2022-03-04 ennis/djokovic-french-open-vaccine.html     Open for Djokovic                             By Matthew Futterman          TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/03/sports/t WTA Gets Title Sponsor Tied to Womens
2022-03-03   2022-03-04 ennis/wta-hologic-china.html                Health                                        By Christopher Clarey         TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/03/technol
                        ogy/surgeon-general-covid-                  Big Tech Is Told to Provide Data on Covid
2022-03-03   2022-03-04 misinformation.html                         Misinformation                                By Davey Alba                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/03/technol Heroic Tales Spread Fast And the Facts Trail   By Stuart A Thompson and Davey
2022-03-03   2022-03-04 ogy/ukraine-war-misinfo.html                Behind                                        Alba                           TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/03/us/breo Louisville Officer Is Acquitted of
2022-03-03   2022-03-04 nna-taylor-brett-hankison-acquitted.html    Endangering Neighbors in Botched Raid         By Nicholas BogelBurroughs    TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/03/us/polit
2022-03-03   2022-03-04 ics/doug-ducey-arizona-senate.html          Ducey Confirms He Wont Run for Senate         By Jonathan Martin            TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/03/us/polit Charity Event Featuring ExFirst Lady Is
2022-03-03   2022-03-04 ics/melania-trump-fund-raiser-postponed.html Called Off                                 By Eric Lipton                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/us/polit Lawmakers Push to Ban Russian Oil From By Catie Edmondson and Clifford
2022-03-03   2022-03-04 ics/russia-oil-ban-congress-ukraine.html     US                                         Krauss                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/us/polit                                             By Eric Schmitt Helene Cooper and
2022-03-03   2022-03-04 ics/russia-ukraine-military.html             Preparedness Aided Ukraine In Stalling Foe Julian E Barnes                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/us/polit
                        ics/supreme-court-cia-black-sites-           Supreme Court Shields CIA Black Site From
2022-03-03   2022-03-04 guantanamo.html                              a Detainees Inquiry                        By Adam Liptak                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/us/polit Ruling Lets Official Defend Abortion Law in
2022-03-03   2022-03-04 ics/supreme-court-kentucky-abortion.html     Kentucky                                   By Adam Liptak                    TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/03/us/polit Biden Requests 325 Billion in Emergency Aid By Emily Cochrane and Catie
2022-03-03   2022-03-04 ics/white-house-ukraine-pandemic-aid.html for Pandemic and Ukraine                      Edmondson                        TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/03/us/silve Many Injured In Explosion At a Building In
2022-03-03   2022-03-04 r-spring-maryland-apartment-fire.html       Maryland                                    By Maria Cramer and Jesus Jimnez TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/03/world/a Shunned by West Russia Finds Many Ties to
2022-03-03   2022-03-04 frica/russia-ukraine-eritrea-africa.html    Africa Still Hold                           By Declan Walsh and John Eligon TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/03/world/a Cancel Carnival Group of Artists Has Other
2022-03-03   2022-03-04 mericas/brazil-carnival.html                Ideas                                       By Jack Nicas                    TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/03/world/a
2022-03-03   2022-03-04 sia/new-zealand-child-sexual-abuse.html     Hundreds of Arrests in Child Abuse Inquiry By Natasha Frost                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/03/world/a The Pandemic Finds New Zealand at Last as
2022-03-03   2022-03-04 ustralia/new-zealand-covid-omicron.html     Omicron Spreads Like Wildfire               By Pete McKenzie                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/03/world/e
2022-03-03   2022-03-04 urope/chess-russia-ukraine-war.html         Chess Distances Itself From Russia          By Michael Levenson              TX 9-152-782    2022-05-02




                                                                                Page 3449 of 5793
                        https://www.nytimes.com/2022/03/03/world/e                                             By Michael Schwirtz and Richard
2022-03-03   2022-03-04 urope/russia-ukraine-invasion-kremlin.html Russians Push to Tighten Grip in South      PrezPea                           TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/03/world/e
                        urope/russia-ukraine-propaganda-                                                       By Anton Troianovski and Valeriya
2022-03-03   2022-03-04 censorship.html                            Russia Hushes Last Remnants Of a Free Press Safronova                         TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/03/world/e After a Week Ukraine Holds On as Russia
2022-03-03   2022-03-04 urope/russia-ukraine-war.html              Closes In                                   By Marc Santora and Mike Ives     TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/03/world/e On the Slow Exodus West Ukrainians Find
2022-03-03   2022-03-04 urope/ukraine-refugees-exodus.html         Hardship and Dread                          By Valerie Hopkins                TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/03/world/e Ukraines Leader Praises Extraordinary
2022-03-03   2022-03-04 urope/zelensky-ukraine-russia-invasion.html Citizens                                    By Andrew E Kramer                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/movies/ Alan Ladd Jr 84 Studio Executive Behind
2022-03-04   2022-03-04 alan-ladd-dead.html                         Hits Like Star Wars Dies                    By Neil Genzlinger                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/nyregio
                        n/fox-producer-sanctions-russian-           ExFox News Producers TV Work for            By Ed Shanahan and Benjamin
2022-03-04   2022-03-04 oligarch.html                               Oligarch Flouted Sanctions US Says          Weiser                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/opinion
2022-03-04   2022-03-04 /biden-economy-inflation-jobs.html          Americas Very Peculiar Economic Funk        By Paul Krugman                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/opinion
2022-03-04   2022-03-04 /ukraine-russia-awoke-world.html            The Week That Awoke the World               By David Brooks                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/sports/b Scherzer Got His Now Hes Fighting for Other
2022-03-04   2022-03-04 aseball/max-scherzer-lockout.html           Players to Get Theirs                       By James Wagner                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/sports/g Walking Among the Stars a Humble Rookie
2022-03-04   2022-03-04 olf/theegala-arnold-palmer-pga.html         Wins the Crowd                              By Bill Pennington                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/us/flori Florida Lawmakers Vote To Ban More          By Patricia Mazzei and Alexandra
2022-03-04   2022-03-04 da-abortion-ban.html                        Abortions                                   Glorioso                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/us/polit Fearing What Happens If Putin Feels         By David E Sanger Eric Schmitt
2022-03-04   2022-03-04 ics/biden-putin-sanctions.html              Cornered                                    and Julian E Barnes                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/us/polit Democrats Find Useful Political Target in
2022-03-04   2022-03-04 ics/boebert-greene-republicans.html         Actions of GOP Freshmen                     By Jonathan Weisman                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/us/polit Jan 6 Trial Takes an Emotional Turn as Son
2022-03-04   2022-03-04 ics/guy-reffitt-january-6-trial.html        Testifies Against His Father                By Alan Feuer                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/us/polit Trump Ignored Pleas on Election Lies Panel By Luke Broadwater and Alan
2022-03-04   2022-03-04 ics/trump-jan-6-criminal-case.html          Says                                        Feuer                              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/03/us/polit Pressure on Justice Dept As Jan 6 Inquiry   By Katie Benner and Charlie
2022-03-04   2022-03-04 ics/trump-justice-department-january-6.html Unfolds                                     Savage                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/us/polit
                        ics/ukraine-temporary-protected-status-     Biden Administration Gives Temporary
2022-03-04   2022-03-04 immigration.html                            Protected Status to Some Ukrainians in US   By Eileen Sullivan              TX 9-152-782      2022-05-02
                        https://www.nytimes.com/2022/03/03/world/e                                              By Mike Ives William J Broad
                        urope/nuclear-plant-fire-zaporizhzhia-      Nuclear Site Catches Fire After Attack      Malachy Browne Brenna Smith and
2022-03-04   2022-03-04 video.html                                  Outside Plant                               Ang Li                          TX 9-152-782      2022-05-02



                                                                                Page 3450 of 5793
                        https://www.nytimes.com/2022/03/04/busines
2022-03-04   2022-03-04 s/asian-food-business-online-trolls.html    Trolled and Trolling Back                    By Nina Roberts               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/opinion
                        /whoopi-goldberg-joe-rogan-public-          Hes Sorry Shes Sorry Everybody Is Sorry
2022-02-28   2022-03-05 apologies.html                              Does It Matter                               By Jessica Bennett            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/us/fasn Bliss Bratwurst And the Burning Of Old
2022-02-28   2022-03-05 acht-2022.html                              Man Winter                                   By Luke Sharrett              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/technol
2022-03-01   2022-03-05 ogy/tech-startups.html                      Spotlighting Tech StartUps Middle Class      By Shira Ovide                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/opinion
2022-03-02   2022-03-05 /putin-disinformation-social-media.html     No Longer a Master of Disinformation         By Farhad Manjoo              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/technol A Social Club That Runs On Crypto and
2022-03-02   2022-03-05 ogy/friends-with-benefits-crypto-dao.html   Vibes                                        By Erin Woo and Kevin Roose   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/books/b
2022-03-03   2022-03-05 randon-sanderson-kickstarter.html           Pure Fantasy 19 Million to SelfPublish       By Elizabeth A Harris         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/busines Duvall Hecht Who Gave Readers Something
2022-03-03   2022-03-05 s/duvall-hecht-dead.html                    New To Listen to Is Dead at 91               By Richard Sandomir           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/busines Sony Teams Up With Honda To Manufacture
2022-03-04   2022-03-05 s/sony-honda-electric-cars.html             Electric Vehicles                            By Ben Dooley                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/theater/
2022-03-04   2022-03-05 on-sugarland-review.html                    Fighting on Many Battlefields                By Maya Phillips              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/us/polit Ken Duberstein Adviser Who Helped Reagan
2022-03-04   2022-03-05 ics/ken-duberstein-dead.html                Get Second Wind Dies at 77                   By Sheryl Gay Stolberg        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/arts/des A Digital Artist Now Covers Walls Instead of
2022-03-04   2022-03-05 ign/beeple-jack-hanley-gallery.html         Screens                                      By Zachary Small              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/arts/ind
2022-03-04   2022-03-05 ie-podcasts-fiasco-campside.html            Podcasters Must Swim With Sharks             By Reggie Ugwu                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/arts/mu
                        sic/blomstedt-new-york-philharmonic-
2022-03-04   2022-03-05 review.html                                 When the Conductor Is the Star               By Joshua Barone              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/arts/mu Joni James 91 TopSelling Queen of Hearts of
2022-03-04   2022-03-05 sic/joni-james-dead.html                    the 1950s                                    By Katharine Q Seelye         TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/04/arts/tele
2022-03-04   2022-03-05 vision/akaash-singh-apu-the-simpsons.html Making a Case for Bringing Back Apu          By Jason Zinoman                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/arts/tele
2022-03-04   2022-03-05 vision/winning-time-lakers-hbo.html          When Style and Celebrity Came to Play     By Sopan Deb                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/busines
2022-03-04   2022-03-05 s/china-russia-ukraine-disinformation.html   Speaking as One Propaganda Voice          By Li Yuan                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/busines
2022-03-04   2022-03-05 s/credit-report-medical-debt-ban.html        A Health Issue for Your Credit Report     By Ann Carrns                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/busines
                        s/dealbook/how-stacey-abrams-thinks-about-
2022-03-04   2022-03-05 business.html                                An Entrepreneurial Approach to Politics   By Andrew Ross Sorkin           TX 9-152-782   2022-05-02




                                                                                 Page 3451 of 5793
                        https://www.nytimes.com/2022/03/04/busines
2022-03-04   2022-03-05 s/disney-plus-ads.html                        AdSupported Version Of Disney Is Coming By Brooks Barnes                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/busines Unemployment Falls to a Pandemic Low of
2022-03-04   2022-03-05 s/economy/jobs-report-february.html           38                                           By Ben Casselman                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/busines                                                 By Coral Murphy Marcos and
2022-03-04   2022-03-05 s/economy/stock-market-today.html             Strong Jobs Report Cant Stop Market Slide Kevin Granville                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/busines
                        s/economy/ukraine-russia-global-
2022-03-04   2022-03-05 economy.html                                  Why Trade Didnt Keep The Peace               By Patricia Cohen                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/busines
                        s/media/fresh-horror-lauryn-kahn-mimi-
2022-03-04   2022-03-05 cave.html                                     Ever Had a Horrible Date                     By Nicole Sperling                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/movies/
2022-03-04   2022-03-05 film-boycott-russia-ukraine.html              Time to Boycott Or Not to Boycott            By Alex Marshall                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/nyregio Adams Lifts Some Mandates But Some Say
2022-03-04   2022-03-05 n/nyc-mask-vaccine-mandate.html               Its Too Soon                                 By Emma G Fitzsimmons              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/opinion Our Covid Future Is Uncertain but There Are
2022-03-04   2022-03-05 /endemic-covid-future.html                    Signs to Look Out For                        By Jeffrey Shaman                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/opinion
                        /ive-dealt-with-foreign-cyberattacks-america- America Isnt Ready for the Cyberattacks That
2022-03-04   2022-03-05 isnt-ready-for-whats-coming.html              Are Coming                                   By Glenn S Gerstell                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/science Combat at Nuclear Power Plant Adds              By Valerie Hopkins and William J
2022-03-04   2022-03-05 /ukraine-nuclear-power-plant.html             Radioactive Dangers to Invasion              Broad                              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/sports/b A 20 Million Debate About Health Luxury
2022-03-04   2022-03-05 asketball/wnba-charter-flights.html           Equity and Leg Room                          By Shauntel Lowe                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/sports/c Shane Warne Australias Great Master of
2022-03-04   2022-03-05 ricket/shane-warne-dead.html                  Bamboozling Batsmen Dies at 52               By Victor Mather                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/sports/f
                        ootball/nfl-race-norming-concussions-         Order in Concussion Suit Is Likely to Aid
2022-03-04   2022-03-05 settlement.html                               Many Black ExPlayers                         By Ken Belson                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/sports/o Paralympics Leader Was Horrified by            By David Waldstein Amy Chang
2022-03-04   2022-03-05 lympics/paralympics-russia-ukraine.html       Invasion of Ukraine                          Chien and Chang W Lee              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/technol Volunteer Hackers Join Conflict Scrambling a By Kate Conger and Adam
2022-03-04   2022-03-05 ogy/ukraine-russia-hackers.html               Digital Battlefield                          Satariano                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/us/imm Soviet Diaspora in US Speaks A Common
2022-03-04   2022-03-05 igrant-identity-russia-ukraine.html           Language of Fear                             By Miriam Jordan                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/us/mau In Tennessee Maus Fight Is Part of Bigger
2022-03-04   2022-03-05 s-banned-books-tennessee.html                 Battle                                       By Sophie Kasakove                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/us/polit Dueling Messages Muddle Bidens Agenda on
2022-03-04   2022-03-05 ics/atf-biden-gun-reform.html                 Guns                                         By Glenn Thrush                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/us/polit
2022-03-04   2022-03-05 ics/irs-chaos-tax-season-2022.html            Tax Seasons Collide in Chaos of IRS Backlog By Alan Rappeport                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/us/polit Pistol on Body Rifles in Vehicle Witness
2022-03-04   2022-03-05 ics/january-6-trial-guy-reffitt.html          Details Prep for Jan 6                       By Alan Feuer                      TX 9-152-782   2022-05-02




                                                                                 Page 3452 of 5793
                        https://www.nytimes.com/2022/03/04/us/polit
                        ics/madison-cawthorn-north-carolina-        Judge Halts Effort to Bar Candidate as
2022-03-04   2022-03-05 insurrectionist.html                        Insurrectionist                                By Jonathan Weisman              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/us/polit With Sanctions Europe And US Push              By Edward Wong and Michael
2022-03-04   2022-03-05 ics/russia-sanctions-ukraine.html           Russians Into an Economic Corner               Crowley                          TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/us/polit RoundtheClock Airlift Of Weapons From
2022-03-04   2022-03-05 ics/russia-ukraine-weapons.html             NATO                                           By Helene Cooper and Eric Schmitt TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/us/polit
                        ics/supreme-court-death-sentence-boston-    Marathon Bombers Death Sentence Is
2022-03-04   2022-03-05 marathon-bomber.html                        Reinstated                                     By Adam Liptak                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/us/polit US Cant Use Health Rule to Expel Migrants
2022-03-04   2022-03-05 ics/title-42-migrant-families-ruling.html   Who Face Persecution                           By Eileen Sullivan               TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/04/us/supr Court Sides With the FBI In a Case on
2022-03-04   2022-03-05 eme-court-spying-muslims-state-secrets.html Surveillance                                   By Adam Liptak                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/world/e
                        urope/italy-princess-rita-boncompagni-      A Princess From Texas Stakes Her Claim to
2022-03-04   2022-03-05 ludovisi-jenrette.html                      Italian Nobility                               By Jason Horowitz                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/world/e Monique Hanotte 101 Savior of Airmen in
2022-03-04   2022-03-05 urope/monique-hanotte-dead.html             World War II                                   By Alex Traub                    TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/04/world/e NATO Accuses Russia of Using Cluster
2022-03-04   2022-03-05 urope/nato-ukraine-russia-cluster-bombs.html Bombs in Invasion                             By Lara Jakes and Steven Erlanger TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/world/e
                        urope/russia-censorship-media-               Russia Takes Censorship to New Extremes       By Anton Troianovski and Valeriya
2022-03-04   2022-03-05 crackdown.html                               Suppressing War Coverage                      Safronova                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/world/e Tesla Wins Approval to Open Its European
2022-03-04   2022-03-05 urope/tesla-germany-assembly-plant.html      Plant                                         By Melissa Eddy                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/world/e How Russias Invasion Is Helping Ease the
2022-03-04   2022-03-05 urope/ukraine-britain-eu.html                Brexit Rift Between Britain and the EU        By Stephen Castle                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/world/e Looking to Join EU Ukraine and Neighbors
2022-03-04   2022-03-05 urope/ukraine-eu-moldova-georgia.html        Still Face Long Process                       By Matina StevisGridneff         TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/world/e
2022-03-04   2022-03-05 urope/ukraine-kyiv-train-station.html        Panic and Terror as Crowds Try to Flee Kyiv   By Andrew E Kramer               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/world/
                        middleeast/pakistan-peshawar-mosque-         ISIS Bombing Kills Dozens At Pakistani        By Ismail Khan and Salman
2022-03-04   2022-03-05 explosion.html                               Shiite Mosque                                 Masood                           TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/world/u War Serves as Warning That Liberal
2022-03-04   2022-03-05 kraine-russia-war-authoritarianism.html      Democracy Is Facing a Dire Threat             By Damien Cave                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/busines Western Media Outlets Withdraw From             By Michael M Grynbaum John
2022-03-05   2022-03-05 s/western-media-operations-russia.html       Russia                                        Koblin and Tiffany Hsu           TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/us/polit Republicans Sharpen Their Message on           By Blake Hounshell and Leah
2022-03-05   2022-03-05 ics/republicans-ukraine-putin.html           Ukraine                                       Askarinam                        TX 9-152-782    2022-05-02




                                                                                 Page 3453 of 5793
                        https://www.nytimes.com/2022/03/04/world/e
                        urope/russia-military-advance-ukraine-                                                By Andrew E Kramer Michael
2022-03-05   2022-03-05 war.html                                    Taking Nuclear Site Russia Marches On     Schwirtz and Michael Levenson    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/your-
2022-03-05   2022-03-05 money/cybersecurity-tips.html               How to Prepare for Digital Danger         By Ron Lieber                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/01/books/r
                        eview/in-the-shadow-of-the-mountain-silvia-
2022-02-01   2022-03-06 vasquez-lavado.html                         Scaling the Heights                       By Qian Julie Wang               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/04/books/r
2022-02-04   2022-03-06 eview/foreverland-heather-havrilesky.html   I Take Thee                               By Walter Kirn                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/08/books/r
2022-02-08   2022-03-06 eview/home-land-rebecca-mead.html           Dislocated                                By Becca Rothfeld                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/02/08/books/r
2022-02-08   2022-03-06 eview/secrets-of-the-sprakkar-eliza-reid.html Nordic Thriller                         By Cindi Leive                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/15/books/r
                        eview/the-naked-dont-fear-the-water-matthieu-
2022-02-15   2022-03-06 aikins.html                                   First Person                            By Jessica Goudeau               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/21/t-                                                 By DAngelo Lovell Williams and
2022-02-21   2022-03-06 magazine/spring-fashion-mens-wear.html        Beautiful Dreamers                      Ian Bradley                      TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/02/23/t-
2022-02-23   2022-03-06 magazine/dirtbag-glamour-mens-fashion.html One Mans Trash                             By Nick Haramis                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/24/books/r
2022-02-24   2022-03-06 eview/genre-series.html                    Inside the List                            By Lauren Christensen            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/24/t-
                        magazine/mens-sandals-spring-fashion-
2022-02-24   2022-03-06 shoes.html                                 Mens Sandals                               By Mari Maeda and Yuji Oboshi    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/24/t-                                                 By Gisela Williams and Allegra
2022-02-24   2022-03-06 magazine/villa-lucia-naples.html           A Long Romance                             Martin                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/25/arts/mu
                        sic/tears-for-fears-heritage-acts-new-
2022-02-25   2022-03-06 albums.html                                Theyre Oldies Bearing Fresh Goodies        By David Peisner                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/25/t-
                        magazine/queer-comedians-bowen-yang-
2022-02-25   2022-03-06 jaboukie.html                              Funny People                               By Mark Harris and Uli Knrzer    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/25/t-
2022-02-25   2022-03-06 magazine/young-queer-comedians.html        The Last Laugh                             By Hanya Yanagihara              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/02/28/movies/
2022-02-28   2022-03-06 the-batman-matt-reeves-robert-pattinson.html The Director Giving Batman a New Edge    By Dave Itzkoff                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/02/28/realesta Sharing a Vision for a Patch of Dirt in
2022-02-28   2022-03-06 te/renters-bedford-stuyvesant-brooklyn.html Brooklyn                                  By Marian Bull                   TX 9-152-782   2022-05-02




                                                                                  Page 3454 of 5793
                        https://www.nytimes.com/2022/02/28/t-                                                 By Joshua Woods and Delphine
2022-02-28   2022-03-06 magazine/knits-sweaters-mens-fashion.html Weaving Rainbow                             Danhier                                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/02/ How a National Movement Toppled Hundreds
2022-02-28   2022-03-06 28/us/confederate-statue-removal.html        of Confederate Symbols                   By Audra D S Burch                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/arts/tele
2022-03-01   2022-03-06 vision/mira-sorvino-shining-vale.html        Mira Sorvino Loves Running and Recipes   By Alexis Soloski                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/books/n
2022-03-01   2022-03-06 ever-simple-liz-scheier-group-text.html      Never Simple by Liz Scheier              By Elisabeth Egan                      TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/01/books/r
                        eview/here-lies-olivia-clare-friedman-dont-say
                        we-didnt-warn-you-ariel-delgado-dixon-when-
2022-03-01   2022-03-06 we-were-birds-ayanna-lloyd-banwo.html          Debut Novels                                By Kai Harris                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/books/r
2022-03-01   2022-03-06 eview/in-love-amy-bloom.html                   Death Do Us Part                            By Alex Witchel                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/books/r
                        eview/invisible-kingdom-chronic-illness-
2022-03-01   2022-03-06 meghan-orourke.html                            Affliction                                  By Andrew Solomon                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/books/r
                        eview/sarah-polley-run-towards-the-
2022-03-01   2022-03-06 danger.html                                    Behind the Camera                           By Meghan Daum                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/magazi
2022-03-01   2022-03-06 ne/brain-trauma-domestic-violence.html         Why Cant I See Straight                     By Christa Hillstrom              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/01/magazi
2022-03-01   2022-03-06 ne/disinherit-right-wing-daughters-ethics.html May I Disinherit My RightWing Daughters     By Kwame Anthony Appiah           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/magazi
2022-03-01   2022-03-06 ne/online-auction-art.html                     Online Art Auctions                         By Jeremy Lybarger                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/opinion
2022-03-01   2022-03-06 /russia-ukraine-cold-war.html                  This Cold War Will Be Worse Than the Last   By Mary Elise Sarotte             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/realesta
                        te/how-to-create-a-home-bar-that-will-dazzle- How to Create a Home Bar Thatll Dazzle
2022-03-01   2022-03-06 your-guests.html                               Your Guests                                 By Tim McKeough                   TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/01/style/eli
2022-03-01   2022-03-06 zabeth-holmes-dropout-amanda-seyfried.html Playing Elizabeth Holmes                        By Lauren Mechling                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/01/style/vi
2022-03-01   2022-03-06 rgil-abloh-off-white-paris-fashion-week.html A Brand Salutes Its Guiding Light             By Vanessa Friedman               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/t-                                                      By Diana AbuJaber Anthony
2022-03-01   2022-03-06 magazine/flowers-cocktails-drinks.html       A Glass Full of Flowers                       Cotsifas and Leilin LopezToledo   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/theater/
2022-03-01   2022-03-06 harvey-fierstein-memoir.html                 Telling Some From His TellAll                 By Bob Morris                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ San Franciscos DA Says Angry Elites Want
2022-03-01   2022-03-06 01/magazine/chesa-boudin-interview.html      Him Out of Office                             By David Marchese                 TX 9-152-782   2022-05-02



                                                                                  Page 3455 of 5793
                        https://www.nytimes.com/2022/03/02/arts/tele
2022-03-02   2022-03-06 vision/the-dropout-elizabeth-holmes.html     Deciphering a Deception                    By Alexis Soloski                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/02/books/r
2022-03-02   2022-03-06 eview/new-thriller-novels.html               Ice Picked                                 By Sarah Lyall                     TX 9-152-782     2022-05-02
                                                                     Happy Accidents A recipe misstep led to
                        https://www.nytimes.com/2022/03/02/magazi perfectly imperfect chocolate thumbprint
2022-03-02   2022-03-06 ne/chocolate-thumbprint-cookies-recipe.html cookies                                     By Dorie Greenspan                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/02/magazi
2022-03-02   2022-03-06 ne/design-bike-lane.html                     How to Design a Bike Lane                  By Malia Wollan                    TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/02/magazi
2022-03-02   2022-03-06 ne/greece-migration-ngos.html                The Turning Tide                           By Alex W Palmer                   TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/02/magazi
2022-03-02   2022-03-06 ne/weather-casting-tv.html                   Winters Tale                               By Sophie Haigney                  TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/02/opinion
2022-03-02   2022-03-06 /asian-american-voters-democratic-party.html Will Asian Americans Desert Democrats         By Thomas B Edsall                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/opinion
2022-03-02   2022-03-06 /russia-putin-nemtsov.html                     In Russia the Threats Are Real              By Megan K Stack                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/opinion
2022-03-02   2022-03-06 /ukraine-putin-stalin-history.html             Ukraines History Is Being Erased            By Lev Golinkin                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/realesta
2022-03-02   2022-03-06 te/gravel-gardens.html                         An Appealing Option Comes With Less Work By Margaret Roach                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/realesta
                        te/home-prices-nc-pennsylvania-connecticut- 3 Million Homes in Connecticut North
2022-03-02   2022-03-06 .html                                          Carolina and Pennsylvania                   By Angela Serratore               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/realesta
2022-03-02   2022-03-06 te/nova-scotia-canada-house-hunting.html       Weathered Steel on Nova Scotias South Shore By Marcelle Sussman Fischler      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/realesta
                        te/plainfield-nj-a-diverse-city-with-historic-
2022-03-02   2022-03-06 housing.html                                   A Multicultural City With Vintage Homes     By Kathleen Lynn                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/style/di
2022-03-02   2022-03-06 or-saint-laurent-paris-fall-2022.html          New Ways For Viewing The Future             By Vanessa Friedman               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/style/w
2022-03-02   2022-03-06 eekday-wedding-dates.html                      Weekday I Dos Are Gaining in Popularity     By Stephanie Cain                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/t-
2022-03-02   2022-03-06 magazine/spring-mens-fashion-tailoring.html A Man in full                                  By James Brodribb and Jason Rider TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/technol Should Technology Companies Stay in Russia
2022-03-02   2022-03-06 ogy/russia-tech-companies.html                 or Leave                                    By Shira Ovide                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/theater/
2022-03-02   2022-03-06 london-theater-pandemic-safety.html            London Calling And the Virus Too            By Laura CollinsHughes            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/arts/dan A Choreographer Retrains His Body To Move
2022-03-03   2022-03-06 ce/ronald-k-brown-recovery.html                Again                                       By Gia Kourlas                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/arts/des
2022-03-03   2022-03-06 ign/nft-art-beeple.html                        Has the NFT Changed Art Hardly              By Blake Gopnik                   TX 9-152-782   2022-05-02




                                                                                 Page 3456 of 5793
                        https://www.nytimes.com/2022/03/03/busines
                        s/arka-ukrainian-store-east-village-russia- A Ukrainian Shop Owner Responds to          By Julia Rothman and Shaina
2022-03-03   2022-03-06 invasion.html                               Patriotic Demand                            Feinberg                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/busines
2022-03-03   2022-03-06 s/ukraine-putin-markets.html                The Markets Arent Crazy but People Can Be   By Jeff Sommer                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/fashion
2022-03-03   2022-03-06 /hamish-bowles-world-of-interiors.html      A New Leader for a Luxurious Title          By Steven Kurutz                    TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/03/magazi Her IBS Was Misery But What If She
2022-03-03   2022-03-06 ne/irritable-bowel-syndrome-brucellosis.html Actually Had Something Else                 By Lisa Sanders MD                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/magazi
2022-03-03   2022-03-06 ne/john-hodgman-egg-meat.html                Bonus Advice From Judge John Hodgman        By John Hodgman                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/magazi
                        ne/poem-we-lived-happily-during-the-                                                     By Ilya Kaminsky and Selected by
2022-03-03   2022-03-06 war.html                                     Poem We Lived Happily During the War        Victoria Chang                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/magazi
2022-03-03   2022-03-06 ne/rashida-tlaib.html                        What Rashida Tlaib Represents               By Rozina Ali                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/nyregio Demand Keeps Deaths From Being Etched in
2022-03-03   2022-03-06 n/engraved-tombstone.html                    Stone                                       By Liza Weisstuch                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/nyregio                                               By Glynnis MacNicol and Jade
2022-03-03   2022-03-06 n/red-hook-brooklyn.html                     Brooklyns Small Town by the Sea             Doskow                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/opinion                                               By Michelle Cottle and Damon
2022-03-03   2022-03-06 /florida-the-villages.html                   The Nihilism of The Golden Years            Winter                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/realesta
2022-03-03   2022-03-06 te/walk-your-dog-best-cities.html            Letting Fido Stretch His Legs               By Michael Kolomatsky              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/sports/b
                        asketball/tony-bland-st-bernard-usc-         Swept Up in Scandal A College Coach Goes
2022-03-03   2022-03-06 basketball.html                              Back to High School                         By Billy Witz                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/style/air
2022-03-03   2022-03-06 plane-seat-etiquette-social-qs.html          May I Keep My Seat                          By Philip Galanes                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/t-
                        magazine/meat-beef-vegetarianism-                                                        By Ligaya Mishan Kyoko Hamada
2022-03-03   2022-03-06 veganism.html                                The End of Beef                             and Martin Bourne                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/t-
2022-03-03   2022-03-06 magazine/round-bags-spring-fashion.html      Round Bags                                  By Mari Maeda and Yuji Oboshi      TX 9-152-782   2022-05-02
                                                                     Enough With the Street Parking She Needed a
                        https://www.nytimes.com/interactive/2022/03/ House With a Driveway Which Option Would
2022-03-03   2022-03-06 03/realestate/03hunt-gutierrez.html          You Choose                                  By Joyce Cohen                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/opinion DNA Provides New Language to Talk About By Henry Louis Gates Jr and
2022-03-04   2022-03-06 /sunday/talking-about-race.html              Race                                        Andrew S Curran                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/arts/dan Dan Graham 79 Who Played With Ideas
2022-03-04   2022-03-06 graham-dead.html                             About Perception in His Art Dies            By Will Heinrich                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/arts/mu
                        sic/jakub-joseph-orlinski-countertenor-
2022-03-04   2022-03-06 poland.html                                  High Notes and Getting Down                 By Andrew Dickson                  TX 9-152-782   2022-05-02



                                                                                Page 3457 of 5793
                        https://www.nytimes.com/2022/03/04/books/r
                        eview/erin-entrada-kelly-those-kids-from-
2022-03-04   2022-03-06 fawn-creek.html                            The Perfect Stranger                          By Holly Goldberg Sloan    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/books/r
2022-03-04   2022-03-06 eview/kelly-yang-new-from-here.html        A World Apart                                 By Hannah Beech            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/books/r
2022-03-04   2022-03-06 eview/new-paperbacks.html                  Paperback Row                                 By Miguel Salazar          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/busines
2022-03-04   2022-03-06 s/employee-satisfaction-remote-work.html   How Love Languages Made it to the Mine        By Emma Goldberg           TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/04/busines
2022-03-04   2022-03-06 s/tim-cadogan-gofundme-corner-office.html He Wants You to Ask How Can I Help             By David Gelles            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/nyregio
2022-03-04   2022-03-06 n/kimberly-walters-muse-fragrance.html      The Sweet Smell of a Successful Weekend      By Alix Strauss            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/nyregio
2022-03-04   2022-03-06 n/native-american-culture-brooklyn.html     A Native American Bohemia in Boerum Hill     By Saki Knafo              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/nyregio New Yorks Latest Reawakening Feels Like
2022-03-04   2022-03-06 n/nyc-coronavirus-pandemic.html             the Real Thing                               By Ginia Bellafante        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/opinion
2022-03-04   2022-03-06 /supreme-court-biden-jackson.html           Judge Jackson Could Change the Court         By Linda Greenhouse        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/opinion
                        /the-police-arent-exactly-running-out-of-
2022-03-04   2022-03-06 cash.html                                   The Police Arent Exactly Hurting for Cash    By Jamelle Bouie           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/opinion
2022-03-04   2022-03-06 /trans-laws-doctors-healthcare.html         Who Should Be Allowed to Transition          By Alex MarzanoLesnevich   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/opinion Mr Zelenskys Heroic Resistance Is An
2022-03-04   2022-03-06 /ukraine-russia-war-biden.html              Example for the World                        By The Editorial Board     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/realesta
2022-03-04   2022-03-06 te/real-estate-agents-pandemic.html         More Agents Fewer Homes                      By Candace Jackson         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/sports/s
2022-03-04   2022-03-06 occer/marcelo-bielsa-leeds-united.html      Gone but Far From Forgotten at Leeds         By Rory Smith              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/04/style/ca
2022-03-04   2022-03-06 ressa-gonzalez-mordechai-miltz-wedding.html Turning a Corner During the Holidays         By Linda Marx              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/04/style/da
2022-03-04   2022-03-06 niela-grafman-jonathan-juarbe-wedding.html Love Was Just Across the Brooklyn Bridge By Alix Strauss                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/style/ha Harry Belafonte Honored With a Call for
2022-03-04   2022-03-06 rry-belafonte-birthday.html                 Social Justice                                 By Alex Williams         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/style/m
                        alcolm-kenyatta-matthew-miller-
2022-03-04   2022-03-06 wedding.html                                For a State Representative the Ideal Candidate By Tammy La Gorce        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/style/m
                        argaret-eginton-gregory-carmichael-         A Dancer and a Scientist Keep Walking Into a
2022-03-04   2022-03-06 wedding.html                                Bar                                            By Vincent M Mallozzi    TX 9-152-782   2022-05-02



                                                                                 Page 3458 of 5793
                        https://www.nytimes.com/2022/03/04/style/m
                        odern-love-becoming-a-woman-without-
2022-03-04   2022-03-06 her.html                                     Becoming a Woman With Her on My Mind         By Becky Miller                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/style/ric
2022-03-04   2022-03-06 k-owens-balmain-chloe-fall-2022.html         The Brilliant Alchemy of Rick Owens          By Vanessa Friedman            TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/04/style/sk
2022-03-04   2022-03-06 ater-beatrice-domond-makes-a-splash.html    Shoes of the Skater                           By Brianna Holt                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/t-       A SnakeInspired Bracelet Watch Evolves
2022-03-04   2022-03-06 magazine/bulgari-serpenti-watch.html        Once More                                     By Megan Conway                TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/04/t-       How Thom Browne Made the Gray Flannel By Kurt Soller Danielle Neu and
2022-03-04   2022-03-06 magazine/thom-browne-gray-flannel-suit.html Suit                                        Matt Holmes                      TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/us/dogs-Put Away the Extra Kibble Fluffy Became
2022-03-04   2022-03-06 cats-pandemic-weight.html                   Pudgy in the Pandemic Too                   By Aishvarya Kavi                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/us/gary- Gary North Economist of the Religious Right
2022-03-04   2022-03-06 north-dead.html                             Dies at 80                                  By Sam Roberts                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/obituari Tim Considine 81 the Eldest of TVs My
2022-03-05   2022-03-06 es/tim-considine-dead.html                  Three Sons                                  By Anita Gates                   TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/04/us/bran ExEngineer For Amtrak Is Acquitted In 2015
2022-03-05   2022-03-06 don-bostian-acquitted-amtrak-derailment.html Crash                                        By Vimal Patel                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/world/a China Outlines Plan to Stabilize Its Economy By Keith Bradsher and Chris
2022-03-05   2022-03-06 sia/china-economy-congress.html              in a Crucial Year for Xi                     Buckley                        TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/05/arts/mu
2022-03-05   2022-03-06 sic/russian-artists-putin.html               For Art World Politics of War Cause Distress By Javier C Hernndez           TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/05/busines
2022-03-05   2022-03-06 s/pregnancy-remote-work.html                 No Prying No Belly Pats Just Work            By Sarah Kessler               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/05/busines
2022-03-05   2022-03-06 s/quitting-your-job-retirement-ira.html      Quit Your Job but Dont Stop Saving for Later By Lisa Rabasca Roepe          TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/05/nyregio Two Political Operatives Two Hired Hitmen
2022-03-05   2022-03-06 n/nj-chainsaw-productions-sean-caddle.html and a New Jersey Murder Mystery                By Tracey Tully                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/05/nyregio
                        n/trump-investigation-manhattan-da-alvin-   The Unraveling of a DAs Case Against          By Ben Protess William K
2022-03-05   2022-03-06 bragg.html                                  Trump                                         Rashbaum and Jonah E Bromwich TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/05/opinion
2022-03-05   2022-03-06 /russia-nuclear-war.html                    How to Stop Nuclear War From Starting         By Ross Douthat                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/05/opinion
2022-03-05   2022-03-06 /zelensky-ukraine-trump.html                Two Performers One Hero                       By Maureen Dowd                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/05/realesta If a Landlord Plans to Raise the Rent Can a
2022-03-05   2022-03-06 te/rent-negotiation-tips.html               Tenant Request a Negotiation                  By Ronda Kaysen                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/sports/b US Basketball Star Accused of Having          By Michael Crowley and Jonathan
2022-03-05   2022-03-06 asketball/russia-brittney-griner.html       Hashish Oil Is Detained in Russia             Abrams                          TX 9-152-782   2022-05-02




                                                                                 Page 3459 of 5793
                        https://www.nytimes.com/2022/03/05/style/m
2022-03-05   2022-03-06 orena-baccarin.html                         She Stirs the Pot in This Scene              By Alexis Soloski               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/style/te
2022-03-05   2022-03-06 en-bodybuilding-bigorexia-tiktok.html       Videos Of Brawn Tap Fears                    By Alex Hawgood                 TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/05/us/amer I Just Cant Stand By American Veterans Try
2022-03-05   2022-03-06 ican-veterans-volunteer-ukraine-russia.html to Join the Fight                         By Dave Philipps                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/us/polit Blinken Pledges Lasting Support in Border
2022-03-05   2022-03-06 ics/blinken-ukraine.html                    Meeting                                   By Lara Jakes                      TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/05/us/polit Allies Focus on Securing Kyivs Line of
2022-03-05   2022-03-06 ics/russia-ukraine-succession-zelensky.html Succession                                    By Julian E Barnes             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/world/a A UnityMinded Utopia Is Divided Over Its
2022-03-05   2022-03-06 sia/auroville-india.html                    Future                                        By Emily Schmall               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/world/e Israeli Prime Minister in Mediating Role       By Isabel Kershner and Ronen
2022-03-05   2022-03-06 urope/israel-russia-ukraine.html            Meets With Putin in Moscow                    Bergman                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/world/e Lviv the Soul of the Country Turns Itself Into
2022-03-05   2022-03-06 urope/lviv-ukraine-war-russia.html          a Strategic Hub                               By Carlotta Gall               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/05/world/e After Zelenskys Plea the West Raced to Form By Mark Landler Katrin Bennhold
2022-03-05   2022-03-06 urope/russia-ukraine-invasion-sanctions.html a United Front                              and Matina StevisGridneff       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/world/e Germany Opens Doors to Ukrainians a
2022-03-05   2022-03-06 urope/ukraine-refugees-germany.html          Welcome Steeped in History                  By Katrin Bennhold              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/world/e                                               By Michael Schwirtz Andrew E
2022-03-05   2022-03-06 urope/ukraine-russia-putin.html              Attacks Halt Evacuation Putin Issues Threat Kramer and Michael Levenson     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/world/e Soldiers and Prisoners Describe Two Sides of
2022-03-06   2022-03-06 urope/ukraine-russia-soldiers-war.html       the Battle Near Kyiv                        By Andrew E Kramer              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/busines
                        s/the-week-in-business-russia-economic-      The Week in Business Guns vs Economic
2022-03-06   2022-03-06 sanctions.html                               Sanctions                                   By Sarah Kessler                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/insider/
2022-03-06   2022-03-06 my-wife-tracked-me-for-journalism.html       My Wife Tracked Me for Journalism           By Trevor Timm                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/upshot/ Denied Abortions by Texas Law Most Found By Margot SangerKatz Claire Cain
2022-03-06   2022-03-06 texas-abortion-women-data.html               Another Way                                 Miller and Quoctrung Bui        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/us/polit Covid Drug Is in Demand but Doses Go         By Amanda Morris and Sheryl Gay
2022-03-06   2022-03-06 ics/evusheld-covid-treatment.html            Unused                                      Stolberg                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/22/travel/a
2022-02-22   2022-03-07 rches-national-park-utah-star-gazing.html    Lying Beneath a Blanket of Stars            By Colleen Creamer              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/27/books/r
                        eview-william-barr-memoir-one-damn-thing-
2022-02-27   2022-03-07 after-another.html                           Unloading On Trump To a Point               By Jennifer Szalai              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/arts/des Gold Ingots From an 18thCentury Shipwreck
2022-03-02   2022-03-07 ign/china-france-gold-ingots.html            Are Returned to France                      By Tom Mashberg                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/technol
2022-03-03   2022-03-07 ogy/internet-options.html                    On the Way to More Internet Options         By Shira Ovide                  TX 9-152-782   2022-05-02



                                                                                  Page 3460 of 5793
                        https://www.nytimes.com/2022/03/04/arts/dan
                        ce/raphael-xavier-musician-mover-
2022-03-04   2022-03-07 review.html                                   Breaking Out of Boxes Barely               By Brian Seibert              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/arts/tele
2022-03-04   2022-03-07 vision/shining-vale-archive-81-from.html      HairRaising Tales For a StirCrazy Age      By Mike Hale                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/busines War Prompts a Pitch for Socially Responsible
2022-03-04   2022-03-07 s/military-stocks-russia-ukraine.html         Military Stocks                            By Jeff Sommer                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/crossw
2022-03-04   2022-03-07 ords/scarves-soccer-fans.html                 A Fan Accessory Five Letters               By Alexis Benveniste          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/obituari Overlooked No More Barbara Shermund
2022-03-04   2022-03-07 es/barbara-shermund-overlooked.html           FlapperEra Cartoonist                      By Janaki Challa              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/arts/the-
                        dropout-super-pumped-wecrashed-
2022-03-05   2022-03-07 moguls.html                                   Betting Big on Troubled Titans             By Amanda Hess                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/arts/ton Tony Walton 87 Whose Distinct Stage and
2022-03-05   2022-03-07 y-walton-dead.html                            Screen Designs Won Awards Dies             By Richard Sandomir           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/busines Why Are Mask Makers Going Out of
2022-03-05   2022-03-07 s/dealbook/american-mask-makers.html          Business                                   By Joe Nocera                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/busines Advertising Acts as Vehicle of Protest to
2022-03-05   2022-03-07 s/media/ukraine-advertising.html              Invasion                                   By Tiffany Hsu                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/technol
2022-03-05   2022-03-07 ogy/tiktok-ukraine-misinformation.html        Unverified War Videos Fill TikTok          By Sheera Frenkel             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/world/e US Food Companies Stay Open in Russia and
2022-03-05   2022-03-07 urope/russia-food-ukraine.html                Quiet About Ukraine                        By Julie Creswell             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/us/iowa-At Least 7 Killed as Tornadoes Rampage        By Eduardo Medina and Vimal
2022-03-06   2022-03-07 tornado-deaths.html                           Across Iowa Officials Say                  Patel                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/world/a 26 Injured in Soccer Riot In Mexico Officials
2022-03-06   2022-03-07 mericas/mexico-soccer-riot.html               Say                                        By Oscar Lopez                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/arts/dan
                        ce/review-a-ballerina-with-jazz-in-her-bones-
2022-03-06   2022-03-07 takes-over.html                               Premieres That Showcase Body and Mind      By Gia Kourlas                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/06/arts/mu Russian Conductor Quits Bolshoi and French
2022-03-06   2022-03-07 sic/tugan-sokhiev-russia-ukraine-putin.html Post                                       By Javier C Hernndez            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/arts/mu
2022-03-06   2022-03-07 sic/yannick-nezet-seguin-met-opera.html     His Baton Could Really Use Some Time Off By Joshua Barone                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/busines
2022-03-06   2022-03-07 s/gas-prices-4-dollars-per-gallon.html      Gas Prices In US Pass 4 a Gallon           By David YaffeBellany           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/busines Germans In Business With Russia Face
2022-03-06   2022-03-07 s/germany-russia-companies.html             Choice                                     By Melissa Eddy                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/busines Fraud Is Flourishing on Zelle Banks Say Its By Stacy Cowley and Lananh
2022-03-06   2022-03-07 s/payments-fraud-zelle-banks.html           Not Their Issue                            Nguyen                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/busines
2022-03-06   2022-03-07 s/the-batman-box-office.html                Batman Scores Big at the Box Office        By Brooks Barnes                TX 9-152-782   2022-05-02




                                                                               Page 3461 of 5793
                        https://www.nytimes.com/2022/03/06/nyregio                                              By Jeffery C Mays Dana Rubinstein
2022-03-06   2022-03-07 n/asian-woman-attacks.html                  A Plea for Protection But Wary of the Law   and Grace Ashford                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/nyregio
2022-03-06   2022-03-07 n/cuomo-cancel-culture-speech.html          Cuomo Blames Cancel Culture for His Fall    By Luis FerrSadurn               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/nyregio Man Charged as Leader Of Abusive College
2022-03-06   2022-03-07 n/larry-ray-trial-sarah-lawrence-cult.html  Cult Is About to Stand Trial                By Colin Moynihan                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/obituari Walter Mears 87 Writer Immortalized as
2022-03-06   2022-03-07 es/walter-r-mears-dead.html                 Reporter In Boys on the Bus Book            By Alex Traub                    TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/opinion Bidens ProLabor Vision Doesnt End at
2022-03-06   2022-03-07 /biden-jobs-trade.html                      Americas Borders                            By Farah Stockman                TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/06/opinion
2022-03-06   2022-03-07 /boris-johnson-russia-putin-ukraine-war.html Putins Act of Aggression Must Fail         By Boris Johnson                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/opinion Demanding That Ketanji Brown Jackson
2022-03-06   2022-03-07 /ketanji-jackson-tucker-carlson.html         Show Her Papers                            By Charles M Blow                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/opinion The Cancellation of Mother Russia Is
2022-03-06   2022-03-07 /putin-ukraine-china.html                    Underway                                   By Thomas L Friedman             TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/06/sports/c A Blood Feud Is Settled and the UFC Cashes
2022-03-06   2022-03-07 olby-covington-jorge-masvidal-ufc-272.html In Big                                       By Morgan Campbell               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/sports/n
                        caabasketball/mike-krzyzewski-duke-north- For Krzyzewski A Cameron Finale Best
2022-03-06   2022-03-07 carolina-last-home-game.html                Measured In Decibel Level                   By Alan Blinder and Al Drago     TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/sports/o
                        lympics/beijing-paralympics-snowboard-      Their First Opponent at the Paralympics Was
2022-03-06   2022-03-07 dispute.html                                the Paralympics                             By David Waldstein               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/sports/r Adjusting Training to Avoid Injuries From
2022-03-06   2022-03-07 unning-injuries-questions.html              Overuse or Bad Form                         By Talya Minsberg                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/sports/s
2022-03-06   2022-03-07 occer/manchester-united-city-derby.html     Its City Over United for Whats Its Worth    By Rory Smith                    TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/theater/ Revisiting Mockingbird But in a Less
2022-03-06   2022-03-07 mary-badham-to-kill-a-mockingbird.html      Innocent Role                               By Michael Paulson               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/us/denn Dennis Cunningham 86 Civil Rights Lawyer
2022-03-06   2022-03-07 is-cunningham-dead.html                     Dies                                        By Sam Roberts                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/us/polit Indicted Under FBI Investigation and Still  By Edgar Sandoval and Reid J
2022-03-06   2022-03-07 ics/paxton-bush-primary-runoff.html         Popular With Texans                         Epstein                          TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/us/truc Truckers Protest Mandates Even as Covid      By Madeleine Ngo Adam Bednar
2022-03-06   2022-03-07 ker-convoy-dc-beltway.html                  Rules Are Eased                             and Esha Ray                     TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/world/a Drums Resound in Burundis Culture but Only
2022-03-06   2022-03-07 frica/burundi-drumming.html                 Men Can Play                                By Abdi Latif Dahir              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/world/a Womens Marches in Pakistan Alarm
2022-03-06   2022-03-07 sia/pakistan-aurat-march-women.html         Conservatives                               By Zia urRehman                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/06/world/e
                        urope/ukraine-poland-families-              Painful Goodbyes at the Border As Men Stay By Jeffrey Gettleman and Monika
2022-03-06   2022-03-07 separation.html                             to Fight Russians                           Pronczuk                         TX 9-152-782    2022-05-02



                                                                               Page 3462 of 5793
                        https://www.nytimes.com/2022/03/06/world/e Talking to Relatives in Russia Ukrainians
2022-03-06   2022-03-07 urope/ukraine-russia-families.html          Hear What War                              By Valerie Hopkins                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/world/e
                        urope/ukraine-russia-moldova-               As Ukraine Fights Moldova Worries It May
2022-03-06   2022-03-07 transnistria.html                           Be Next on Putins List                     By Patrick Kingsley               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/world/e                                             By Lynsey Addario and Andrew E
2022-03-06   2022-03-07 urope/ukrainian-family-killed-war.html      As Shell Falls Familys Dash To Safety Ends Kramer                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/nyregio Restaurateurs Cheer the End Of Mandates On
2022-03-06   2022-03-07 n/nyc-indoor-dining-vaccine-mandate.html    Vaccines                                   By Grace Ashford                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/article/brittney-   Mysteries Remaining In Detention of Griner By Tania Ganguli Jonathan Abrams
2022-03-06   2022-03-07 griner-russia.html                          At a Russian Airport                       and Emma Bubola                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/sports/g Rising Star Keeps Nerve As Veterans
2022-03-07   2022-03-07 olf/arnold-palmer-pga.html                  Struggle In a Comedy of Errors             By Bill Pennington                TX 9-152-782   2022-05-02
                                                                                                               By David E Sanger Eric Schmitt
                        https://www.nytimes.com/2022/03/06/us/polit Weapons Flow From the West In a Vast       Helene Cooper Julian E Barnes and
2022-03-07   2022-03-07 ics/us-ukraine-weapons.html                 Airlift                                    Kenneth P Vogel                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/world/e Russian Attacks Thwart Evacuations for      By Andrew E Kramer Steven
2022-03-07   2022-03-07 urope/russia-ukraine-invasion.html          Second Day                                 Erlanger and Anton Troianovski    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/world/e
2022-03-07   2022-03-07 urope/ukraine-beats-russia-mykolaiv.html    Outgunned Ukraine Fends Off Attacks        By Michael Schwirtz               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/07/arts/tele
                        vision/whats-on-tv-this-week-the-thing-about-
2022-03-07   2022-03-07 pam-and-the-critics-choice-awards.html        This Week on TV                         By Gabe Cohn                     TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/07/sports/b As Others Go Viral Suns Quietly Play Great
2022-03-07   2022-03-07 asketball/phoenix-suns-nba-best-record.html Basketball                                 By Kurt Streeter                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/07/sports/f At Combine the NFL Revels in a Party That
2022-03-07   2022-03-07 ootball/nfl-combine-workouts.html           Some Say Has Lost Its Sizzle               By Emmanuel Morgan              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/02/23/well/liv
2022-02-23   2022-03-08 e/morning-headaches.html                    Why Do I Wake Up With a Headache           By Melinda Wenner Moyer         TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/02/24/climate
2022-02-24   2022-03-08 /celtic-wisdom-trees-climate.html           Her Calling To Restore The Forests         By Cara Buckley                 TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/02/24/well/liv
2022-02-24   2022-03-08 e/solitude-benefit-mental-health-advice.html Being Alone Doesnt Have to Be Lonely     By Holly Burns and Madeline Cass TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/02/25/well/m
2022-02-25   2022-03-08 ove/back-pain-exercises.html                 Exercise Can Offset An Achy Lower Back   By Rachel Fairbank               TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/02/28/science
2022-02-28   2022-03-08 /abalone-ultrasound-reproduction.html        A New Technique To Bring Abalone Back    By Wudan Yan                     TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/02/28/well/mi Little Certainty About Microdoses of
2022-02-28   2022-03-08 nd/microdosing-psychedelics.html             Psychedelics                             By Dana G Smith                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/02/climate Before War Race Was On for Ukraines
2022-03-02   2022-03-08 /ukraine-lithium.html                        Lithium                                  By Hiroko Tabuchi                TX 9-152-782     2022-05-02




                                                                                Page 3463 of 5793
                        https://www.nytimes.com/2022/03/02/science Sustainable Agriculture Turning Insects
2022-03-02   2022-03-08 /insect-poop-soil.html                       Waste Into Farmers Treasure                  By Sabrina Imbler        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/well/m
2022-03-02   2022-03-08 ove/stronger-muscles-health.html             Stronger Arms in 3 Seconds a Day             By Gretchen Reynolds     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/arts/mu
2022-03-03   2022-03-08 sic/dakhabrakha-ukraine.html                 A Band Embodies A Nation Besieged            By Laura van Straaten    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/arts/tele Farrah Forke Actress 54 Helicopter Pilot on
2022-03-03   2022-03-08 vision/farrah-forke-dead.html                Wings                                        By Johnny Diaz           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/science Invasion by Russia Strains Ties With Its
2022-03-03   2022-03-08 /russia-oneweb-launch.html                   Space Partners                               By Joey Roulette         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/science Introducing Spongy Moth For This Common
2022-03-03   2022-03-08 /spongy-moth-romani.html                     Insect A New Common Name                     By Sabrina Imbler        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/arts/mu
2022-03-04   2022-03-08 sic/eric-wubbels.html                        Lifes Truly Grand For This Composer          By Seth Colter Walls     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/movies/
2022-03-04   2022-03-08 great-freedom-gays-germany.html              The Long Shadow of Germanys AntiGay Law By Christopher F Schuetze     TX 9-152-782   2022-05-02
                                                                     Upwardly Mobile Why Dont Lions Climb
                        https://www.nytimes.com/2022/03/04/science Trees With Some Notable Exceptions of
2022-03-04   2022-03-08 /lions-trees.html                            Course                                       By Anthony Ham           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/theater/ Andrei Belgrader 75 Director of Future Stars
2022-03-04   2022-03-08 andrei-belgrader-dead.html                   Dies                                         By Neil Genzlinger       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/sports/f Lionel James 59 a Small Speedy Back Who
2022-03-05   2022-03-08 ootball/lionel-james-dead.html               Left NFL Linemen Grasping at Air             By Richard Sandomir      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/science
2022-03-05   2022-03-08 /animal-personalities.html                   Wildlife Personalities Play a Role in Nature By Jim Robbins           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/us/alice-Alice von Hildebrand Conservative Catholic
2022-03-05   2022-03-08 von-hildebrand-dead.html                     Philosopher Dies at 98                       By Clay Risen            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/sports/b Playing in the WNBA And Overseas Can
2022-03-06   2022-03-08 asketball/wnba-russia-brittney-griner.html   Help Career and Bank Account                 By Shauntel Lowe         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/science Steady Specimen Fossil Helps Release Secrets
2022-03-06   2022-03-08 /tuatara-fossil-reptile.html                 Of a Most Mysterious Reptile                 By Jack Tamisiea         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/arts/kn
2022-03-07   2022-03-08 ow-your-enemy-podcast.html                   Two Leftist Bros Study the Right             By Jennifer Schuessler   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/arts/mu
2022-03-07   2022-03-08 sic/encanto-soundtrack.html                  How the Encanto Soundtrack Became a Hit By Ben Sisario                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/arts/mu
2022-03-07   2022-03-08 sic/ukraine-met-opera-concert.html           Met Opera Benefit for Ukraine                By Javier C Hernndez     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/arts/tele
                        vision/bill-cosby-conviction-supreme-        Supreme Court Wont Restore Cosby
2022-03-07   2022-03-08 court.html                                   Conviction                                   By Graham Bowley         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/books/r
2022-03-07   2022-03-08 efugee-literature.html                       Humanity Once Again Uprooted                 By Dwight Garner         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/busines WarInduced Chaos In Car Supply Chain May
2022-03-07   2022-03-08 s/cars-russia-china-trade.html               Reshape Trade                                By Jack Ewing            TX 9-152-782   2022-05-02




                                                                               Page 3464 of 5793
                        https://www.nytimes.com/2022/03/07/busines Lack of Competition Limits Workers Pay and
2022-03-07   2022-03-08 s/economy/treasury-competition-report.html Options Federal Report Finds                By Eduardo Porter                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/busines
                        s/energy-environment/next-generation-auto- The Race Is On To Control Battery
2022-03-07   2022-03-08 battery.html                                Technology                                 By Jack Ewing and Eric Lipton        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/busines Deloitte and EY Join Wave Of Big Firms
2022-03-07   2022-03-08 s/ey-accounting-russia.html                 Exiting Russia                             By Gregory Schmidt                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/busines
2022-03-07   2022-03-08 s/russia-switzerland-sanctions.html         Russian Oil Slips Through Swiss Loophole   By Noele Illien                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/busines                                             By William P Davis and Stanley
2022-03-07   2022-03-08 s/stock-market-today.html                   Uncertainty And Fear Send Stocks Spiraling Reed                                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/climate
                        /amazon-rainforest-climate-change-          Study Finds Amazon Is Less Resilient to
2022-03-07   2022-03-08 deforestation.html                          Threats of Drought and Logging             By Henry Fountain                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/climate EPA Seeks to Tighten Tailpipe Rules for
2022-03-07   2022-03-08 /trucks-pollution-rules-epa.html            Trucks                                     By Coral Davenport                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/health/a
2022-03-07   2022-03-08 yoade-alakija-covid-vaccines.html           Fighting for equitable access to vaccines  By Ginanne Brownell                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/07/health/c Covid Infection May Lead to Decline in Some
2022-03-07   2022-03-08 ovid-brain-changes.html                     Regions of the Brain a Study Suggests       By Pam Belluck                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/nyregio New York City Rents Surge at Double the
2022-03-07   2022-03-08 n/nyc-rent-surge.html                       National Rate                               By Mihir Zaveri                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/nyregio Mask Mandate Is Lifted But Not All Flash a
2022-03-07   2022-03-08 n/nyc-school-mask-mandate.html              Smile                                       By Lola Fadulu                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/opinion
2022-03-07   2022-03-08 /china-russia-sanctions-economy.html        China Cant Bail Out Putins Economy          By Paul Krugman                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/opinion Another Working Mother for the Supreme
2022-03-07   2022-03-08 /supreme-court-jackson-mother.html          Court                                       By Melissa Murray                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/opinion
2022-03-07   2022-03-08 /ukraine-russia-biden.html                  Ukraine Is a Test We Must Not Fail          By Gail Collins and Bret Stephens   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/science
                        /space/marcia-rieke-james-webb-
2022-03-07   2022-03-08 telescope.html                              To outer space and beyond                   By Mark A Stein                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/sports/f NFL Suspends Ridley for 2022 Season for
2022-03-07   2022-03-08 ootball/calvin-ridley-nfl-betting.html      Bets on Games                               By Ken Belson                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/sports/g
                        eorgetown-patrick-ewing-big-east-           Ewing Returns to the Garden Staring Down
2022-03-07   2022-03-08 tournament.html                             Loss After Loss                             By Adam Zagoria                     TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/07/sports/o
2022-03-07   2022-03-08 lympics/ukraine-paralympics-invasion.html Having Heavy Hearts And Indomitable Will      By David Waldstein                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/sports/s FIFA Will Let Foreign Players in Russia
2022-03-07   2022-03-08 occer/fifa-russia-player-contracts.html     Temporarily Join Teams Elsewhere            By Tariq Panja                      TX 9-152-782   2022-05-02



                                                                                Page 3465 of 5793
                        https://www.nytimes.com/2022/03/07/technol Dreaming of Suitcases That Fly Through
2022-03-07   2022-03-08 ogy/inversion-suitcases-space.html           Space                                        By Daisuke Wakabayashi            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/technol                                                By Adam Satariano and Valerie
2022-03-07   2022-03-08 ogy/russia-ukraine-internet-isolation.html   Web Limits Push Russia Into Isolation        Hopkins                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/theater/
2022-03-07   2022-03-08 daniel-radcliffe-merrily-sondheim.html       Radcliffe to Star in Merrily Revival         By Michael Paulson                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/theater/
2022-03-07   2022-03-08 flea-theater-fled-collective.html            For Flea Theater a New JumpingOff Point      By Julia Jacobs                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/us/abor Expecting Roes Fall States Race to Curb
2022-03-07   2022-03-08 tion-supreme-court-roe-v-wade.html           Abortion                                     By Kate Zernike                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/us/billi
2022-03-07   2022-03-08 e-farrell-constitution-navy.html             Old Ironsides makes more history             By Shivani Vora                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/us/cynt
2022-03-07   2022-03-08 hia-choi-stop-aapi-hate.html                 Combating a wave of antiAsian hate           By Alix Strauss                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/us/flori Florida to Say That Young Should Not Be
2022-03-07   2022-03-08 da-covid-vaccine-kids.html                   Vaccinated                                   By Patricia Mazzei                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/us/joint- Armed Intruders Force a Lockdown of Joint    By Alyssa Lukpat and Zach
2022-03-07   2022-03-08 base-andrews-lockdown.html                   Base Andrews                                 Montague                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/us/polit Role of Infowars Host In Capitol Riot Draws
2022-03-07   2022-03-08 ics/alex-jones-jan-6-trump.html              Scrutiny From Congress                       By Elizabeth Williamson       TX 9-152-782       2022-05-02
                        https://www.nytimes.com/2022/03/07/us/polit                                               By Alan Rappeport Edward Wong
2022-03-07   2022-03-08 ics/biden-russia-oil-ban.html                Pressure to Ban Russian Oil Stocks Sink      and Michael D Shear           TX 9-152-782       2022-05-02
                        https://www.nytimes.com/2022/03/07/us/polit 911 Suspect Is Sent to Saudi Arabia for
2022-03-07   2022-03-08 ics/saudi-arabia-911-hijacker.html           Mental Health Care                           By Carol Rosenberg                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/07/us/polit Bipartisan Support Grows in Congress for
2022-03-07   2022-03-08 ics/ukraine-congress-military-spending.html Increased Defense Spending                    By Catie Edmondson                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/us/supr Justices Say 10 Burglaries Can Count as One
2022-03-07   2022-03-08 eme-court-sentencing.html                   Offense                                       By Adam Liptak                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/us/supr New York Continues To Jail Sex Offenders
2022-03-07   2022-03-08 eme-court-sex-offenders.html                After Sentences End                           By Adam Liptak                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/us/supr Justices Give Democrats a Win In Two
2022-03-07   2022-03-08 eme-court-voting-maps.html                  Gerrymandering Cases                          By Adam Liptak                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/world/a After Turning to Putin Xi Faces Tough          By Chris Buckley and Steven Lee
2022-03-07   2022-03-08 sia/putin-ukraine-china-xi.html             Choices For China During War                  Myers                             TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/07/world/e Baltics Fearing Russian Assault Demand
2022-03-07   2022-03-08 urope/baltics-russia-ukraine-war-blinken.html Tougher Stance From West                By Lara Jakes                     TX 9-152-782       2022-05-02
                        https://www.nytimes.com/2022/03/07/world/e In Italys South a Flock Bound by Religion  By Jason Horowitz and Nadia Shira
2022-03-07   2022-03-08 urope/bari-italy-russia-ukraine.html          Splits Over Russias Invasion            Cohen                             TX 9-152-782       2022-05-02
                        https://www.nytimes.com/2022/03/07/world/e                                            By Elian Peltier and Jasmina
2022-03-07   2022-03-08 urope/denmark-syrian-refugees.html            Being Here Is Like Dying Slowly         Nielsen                           TX 9-152-782       2022-05-02
                        https://www.nytimes.com/2022/03/07/world/e Letter Z Symbol of Support For War Spreads
2022-03-07   2022-03-08 urope/russia-letter-z-ivan-kuliak.html        in Russia                               By Neil MacFarquhar               TX 9-152-782       2022-05-02




                                                                                Page 3466 of 5793
                        https://www.nytimes.com/2022/03/07/world/e Walling Off News From West Putin Claims a
2022-03-07   2022-03-08 urope/russia-ukraine-putin-media.html      Monopoly on Truth                         By Steven Lee Myers                   TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/07/world/e                                                 By Michael Schwirtz Andrew E
2022-03-07   2022-03-08 urope/ukraine-humanitarian-crisis-russia.html Desperation Grows for Trapped Civilians      Kramer and Rick Gladstone         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/world/e Once Victims in Southeast Europe Jews Come By Patrick Kingsley and Laetitia
2022-03-07   2022-03-08 urope/ukraine-israel-moldova-jews.html        to the Aid of Fleeing Ukrainians             Vancon                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/world/e Hate for Russia Dark and Deep Boils in
2022-03-07   2022-03-08 urope/ukraine-putin-hate.html                 Ukraine                                      By Maria Varenikova               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/world/k
                        otchakorn-voraakhom-architect-climate-
2022-03-07   2022-03-08 change.html                                   Mixing water and nature to build resilience  By Sam Lubell                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/world/n
2022-03-07   2022-03-08 adia-calvino-spain.html                       She refused to remain the only woman         By Claudia Dreifus                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/world/n Rediscovering laitys role in unifying
2022-03-07   2022-03-08 athalie-becquart-synod-of-bishops.html        Catholicism                                  By Celestine Bohlen               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/world/r
2022-03-07   2022-03-08 umiko-seya-reals-afghanistan.html             Finding safe havens for those left behind    By Vivian Morelli                 TX 9-152-782   2022-05-02
                                                                      Number of Known Coronavirus Deaths
                        https://www.nytimes.com/2022/03/07/world/s Surpasses 6 Million Globally as Omicron
2022-03-07   2022-03-08 ix-million-covid-deaths.html                  Recedes                                      By Adeel Hassan                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/world/z For a Russian journalist dissent is a family
2022-03-07   2022-03-08 oya-svetova-russian-journalist.html           trait                                        By Alison Smale                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/live/2022/03/07/bus
                        iness/stocks-inflation-business-news/germany- Chancellor Of Germany Wont Cut Off
2022-03-07   2022-03-08 russia-gas-oil                                Russian Fuels                                By Melissa Eddy                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/live/2022/03/07/wo
                        rld/ukraine-russia-war/meet-the-people-       Volunteer Fighters Line Up At Border to      By Jeffrey Gettleman and Monika
2022-03-07   2022-03-08 waiting-for-a-train-to-take-them-to-war       Enter Ukraine                                Pronczuk                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/us/polit Bill to Make Lynching a Hate Crime Is
2022-03-08   2022-03-08 ics/lynching-bill-senate.html                 Unanimously Approved by the Senate           By Emily Cochrane                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/us/polit                                                By Blake Hounshell and Leah
2022-03-08   2022-03-08 ics/russia-ukraine-climate-oil-gas.html       Climate Hawks Join The Debate on Ukraine Askarinam                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/us/polit                                                By Helene Cooper Eric Schmitt and
2022-03-08   2022-03-08 ics/russia-ukraine-military.html              Military Giant Proves Clumsy Rivals Notice Julian E Barnes                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/busines                                                 By Michael Corkery Emma
2022-03-08   2022-03-08 s/high-gas-prices.html                        At Pump Drivers Ask Is This for Real         Goldberg and Erin Woo             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/opinion
2022-03-08   2022-03-08 /ukraine-poland-refugees.html                 I Left Ukraine 20 Years Ago It Never Left Me By Zanna Sloniowska               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/science
2022-03-08   2022-03-08 /frozen-flatworm-retriement.html              Research Orphans Get a Second Chance         By Sabrina Imbler                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/world/a                                                 By Christina Goldbaum Yaqoob
2022-03-08   2022-03-08 sia/smugglers-afghanistan.html                Escaping Through a City of Liars and Thieves Akbary and Kiana Hayeri           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/28/arts/mu Sweet Caroline Indeed Neil Diamond Sells
2022-02-28   2022-03-09 sic/neil-diamond-catalog-sale.html            Catalog                                      By Ben Sisario                    TX 9-152-782   2022-05-02



                                                                                 Page 3467 of 5793
                        https://www.nytimes.com/2022/03/03/travel/h
2022-03-03   2022-03-09 otels-commuters.html                        Hotels Welcome Super Commuters            By Debra Kamin              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/briefing
2022-03-04   2022-03-09 /the-great-school-unmasking.html            The Great School Unmasking                By Jonathan Wolfe           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/dining/
2022-03-04   2022-03-09 garlic-noodles.html                         Tweaking a San Francisco Delight          By J Kenji LpezAlt          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/dining/
2022-03-04   2022-03-09 stissing-house-pine-plains.html             City Chef Heads to the Hudson Valley      By Priya Krishna            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/movies/
2022-03-04   2022-03-09 amy-poehler-lucy-and-desi.html              A Story Of Love Stardom And Life          By Dina Gachman             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/us/mag Maggy Hurchalla Formidable Florida
2022-03-05   2022-03-09 gy-hurchalla-dead.html                      Environmentalist Dies at 81               By Patricia Mazzei          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/fashion
2022-03-06   2022-03-09 /watches-mbf-maximilian-busser.html         MBampF goes on the record                 By Kathleen Beckett         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/arts/des
                        ign/miami-beach-jupiter-gallery-central-    In Miami Beach Two Galleries Without the
2022-03-07   2022-03-09 fine.html                                   Frills                                    By Rachel Felder            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/dining/ To Warm Murrays Cheese Shop Fills Void of
2022-03-07   2022-03-09 carnegie-deli-murrays-cheese.html           Deli Treats                               By Florence Fabricant       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/dining/
2022-03-07   2022-03-09 de-gustibus-cooking-classes.html            To Learn InPerson Classes Return to Macys By Florence Fabricant       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/dining/
2022-03-07   2022-03-09 drinks/manhatta-reopens-bar.html            Soaring Skyward One More Time             By Robert Simonson          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/dining/ To Sip Greek Olive Vodka Calls for a
2022-03-07   2022-03-09 greek-olive-vodka.html                      Martini                                   By Florence Fabricant       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/dining/ To Celebrate A Hamantaschen Perfect for
2022-03-07   2022-03-09 hamantaschen-purim.html                     Purim                                     By Florence Fabricant       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/dining/                                            By Kayla Stewart and Clay
2022-03-07   2022-03-09 hogs-southern-food-tradition.html           Fellowship of the Hog                     Williams                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/dining/j To Watch Julia Child Disciples Ready for
2022-03-07   2022-03-09 ulia-child-challenge.html                   Competition                               By Florence Fabricant       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/dining/
2022-03-07   2022-03-09 kesar-pista-indian-desserts.html            Flavor Duo Begets Aromatic Sweets         By Priya Krishna            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/dining/ To Carry Wine and Cheese Tote For Your
2022-03-07   2022-03-09 wine-cheese-tote.html                       Outdoor Events                            By Florence Fabricant       TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/07/movies/
2022-03-07   2022-03-09 turning-red-movie-interview-domee-shi.html Animated to Achieve More                   By Brooks Barnes            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/opinion
2022-03-07   2022-03-09 /campus-speech-cancel-culture.html         SelfCensorship Is Stifling Campuses        By Emma Camp                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/opinion Combating Disinformation Can Feel Like a
2022-03-07   2022-03-09 /fighting-disinformation-education.html    Lost Cause It Isnt                         By Jay Caspian Kang         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/busines Few Companies Plan to Move China
2022-03-08   2022-03-09 s/china-companies-travel-limits.html       Operations                                 By Keith Bradsher           TX 9-152-782   2022-05-02




                                                                               Page 3468 of 5793
                        https://www.nytimes.com/2022/03/07/movies/
2022-03-08   2022-03-09 oscars-luncheon.html                        Its an Honor Just to Attend Oscar Lunch     By Kyle Buchanan                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/us/min Minneapolis Teachers Go on Strike Closing
2022-03-08   2022-03-09 neapolis-st-paul-teachers-strike.html       Schools for 30000 Students                  By Jacey Fortin                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/arts/des Smithsonian to Return Benin Bronzes to
2022-03-08   2022-03-09 ign/smithsonian-benin-bronze-nigeria.html   Nigeria                                     By Matt Stevens                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/books/e Edmund Keeley 94 Writer and Scholar Who
2022-03-08   2022-03-09 dmund-keeley-dead.html                      Championed Modern Greek Culture             By Clay Risen                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/books/r
2022-03-08   2022-03-09 eview-booth-karen-joy-fowler.html           The Assassin Wont Be Happy About This       By Molly Young                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/busines Mortgage Lender Bettercom To Lay Off
2022-03-08   2022-03-09 s/better-mortgage-lender-layoffs.html       Third of Work Force                         By Emma Goldberg                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/busines How a Ban on Russian Oil May Hit the US      By Jeanna Smialek and Alan
2022-03-08   2022-03-09 s/economy/russian-oil-ban-economy.html      Economy                                     Rappeport                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/busines EU Seeks Independence From Russian Oil
2022-03-08   2022-03-09 s/european-union-russia-oil-gas.html        and Gas                                     By Stanley Reed                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/busines
                        s/media/new-york-times-russia-press-        The New York Times Removes Its Journalists
2022-03-08   2022-03-09 freedom.html                                From Russia                                 By Michael M Grynbaum           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/busines Oil Giants Vow to Shun Toxic Russian
2022-03-08   2022-03-09 s/russian-oil-industry.html                 Industry                                    By Stanley Reed                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/busines Shell Will Join A Growing List Of Companies By Kevin Granville Eshe Nelson
2022-03-08   2022-03-09 s/shell-oil-russia-ukraine.html             To Drop Russia                              and Stanley Reed                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/dining/l
2022-03-08   2022-03-09 ao-food-cuisine.html                        Lao Cooks Celebrate And Share Their Ways By Tejal Rao                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/dining/ Mels WoodFired Pizza From a Former Del
2022-03-08   2022-03-09 nyc-restaurant-openings.html                Posto Chef Opens                            By Florence Fabricant           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/dining/r
2022-03-08   2022-03-09 estaurant-review-musket-room.html           Goodbye New Zealand Hello World             By Pete Wells                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/fashion
2022-03-08   2022-03-09 /tissot-nba-team-watch-straps.html          Strap on team colors                        By Sophie Haigney               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/fashion
2022-03-08   2022-03-09 /watches-a-lange-and-sohne-germany.html     Better late than never                      By David Belcher                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/fashion
2022-03-08   2022-03-09 /watches-brooch-christies.html              Bidding on history                          By Kathleen Beckett             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/fashion
                        /watches-clocks-irish-museum-of-history-    The Irish Museum of Time tells the countrys
2022-03-08   2022-03-09 waterford.html                              history                                     By Sandra Jordan                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/fashion
                        /watches-customization-george-bamford-
2022-03-08   2022-03-09 london.html                                 Embracing a watch rebel                     By Robin Swithinbank            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/fashion
2022-03-08   2022-03-09 /watches-fiona-kruger-tasaki-japan.html     Skulls and motherofpearl                    By Milena Lazazzera             TX 9-152-782   2022-05-02




                                                                               Page 3469 of 5793
                        https://www.nytimes.com/2022/03/08/fashion
                        /watches-fondation-de-la-haute-horology-
2022-03-08   2022-03-09 geneva.html                                Lesson time                                   By Kathleen Beckett              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/fashion
                        /watches-francesca-amfitheatrof-louis-
2022-03-08   2022-03-09 vuitton.html                               A design for Louis Vuitton                    By Tina IsaacGoiz                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/fashion
2022-03-08   2022-03-09 /watches-guinness-world-records.html       Want to know what was the first watch         By Kathleen Beckett              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/08/fashion
2022-03-08   2022-03-09 /watches-hyt-davide-cerrato-switzerland.html A brand is quickly reborn                   By Robin Swithinbank             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/fashion
                        /watches-ulysse-nardin-patrick-pruniaux-
2022-03-08   2022-03-09 switzerland.html                             Why Kering shed two brands                  By Victoria Gomelsky             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/fashion
2022-03-08   2022-03-09 /watches-vintage-zoe-abelson.html            Going her own way                           By Daisann McLane                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/fashion
2022-03-08   2022-03-09 /watches-william-wood-london.html            Inspired by a grandfathers job              By Rachel Felder                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/fashion
2022-03-08   2022-03-09 /watches-women-clubs-dubai.html              This time the clubs are for women           By Alexandra Cheney              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/fashion
2022-03-08   2022-03-09 /watches-zenith-upcycled-straps.html         Upcycling for your wrist                    By Rachel Garrahan               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/health/ A Loophole Has Fueled a Resurgence in
2022-03-08   2022-03-09 vaping-fda-nicotine.html                     Teenage Vaping                              By Christina Jewett              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/nyregio Socialists Response to War in Ukraine         By Dana Rubinstein and Katie
2022-03-08   2022-03-09 n/dsa-nato-ukraine-russia.html               Alienates Some Democrats                    Glueck                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/nyregio Maxwell Juror Tells Judge He Made Honest      By Benjamin Weiser and Rebecca
2022-03-08   2022-03-09 n/ghislaine-maxwell-trial-juror.html         Mistake                                     Davis OBrien                     TX 9-152-782   2022-05-02
                                                                                                                 By Lola Fadulu Nate Schweber
                        https://www.nytimes.com/2022/03/08/nyregio New York City Students Are Making Own         Julianne McShane and Sadef Ali
2022-03-08   2022-03-09 n/nyc-school-mask-mandate-reactions.html Decisions About Masks                           Kully                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/nyregio Jail Watchdog Grills Official Over Beatings
2022-03-08   2022-03-09 n/rikers-beatings-louis-molina.html         At Rikers in 21                              By Jan Ransom                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/opinion
2022-03-08   2022-03-09 /ukraine-putin-russia-refugees.html         Lets Welcome Ukrainian Refugees              By Ilya Somin                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/sports/b Another Week Brings Another Deadline To
2022-03-08   2022-03-09 aseball/mlb-lockout.html                    Try to Salvage Two Weeks of Season           By James Wagner                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/sports/b A 6Foot9 Pioneer and Now Potentially a       By Alanis Thames and Jonathan
2022-03-08   2022-03-09 asketball/brittney-griner-wnba-russia.html  Bargaining Chip                              Abrams                           TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/08/sports/f After All That Rodgers Agrees To Remain
2022-03-08   2022-03-09 ootball/aaron-rodgers-packers-contract.html With the Packers                           By Emmanuel Morgan                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/08/sports/f
                        ootball/deshaun-watson-grand-jury-          Grand Jury in Houston to Hear Testimony in
2022-03-08   2022-03-09 houston.html                                Watson Case                                By Jenny Vrentas and Juliet Macur TX 9-152-782    2022-05-02



                                                                                Page 3470 of 5793
                        https://www.nytimes.com/2022/03/08/sports/f Quarterback Carousel One Is Leaving but One
2022-03-08   2022-03-09 ootball/russell-wilson-broncos.html         Stays                                        By Ken Belson                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/sports/g Unhappy PGA Head Discusses Mickelsons
2022-03-08   2022-03-09 olf/pga-tour-phil-mickelson-saudi.html      Support of an Upstart Tour                   By Bill Pennington                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/sports/l On a Dirt Court a Ravaged School Planted the
2022-03-08   2022-03-09 ouisiana-basketball-climate-change.html     Seeds of a Championship                      By Jer Longman                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/sports/ A Marathoner Returns Home Answering His
2022-03-08   2022-03-09 mykola-nyzhnyk-ukraine-war-kenya.html       Countrys Call                                By Sarah Gearhart                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/style/w
2022-03-08   2022-03-09 atches-british-museum-london.html           A lot of time on display                     By Susanne Fowler                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/technol Apple Can No Longer Rely on Making a Few
2022-03-08   2022-03-09 ogy/apple-products.html                     Cool Gadgets                                 By Shira Ovide                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/technol
                        ogy/chinese-companies-russia-               Chinese Companies Told Not to Defy Russian
2022-03-08   2022-03-09 semiconductors.html                         Bans                                         By Ana Swanson                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/us/okla Court Fight Over Whether Inmates Feel
2022-03-08   2022-03-09 homa-execution-lethal-injection-trial.html  Severe Pain With Lethal Drug                 By Nicholas BogelBurroughs        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/us/pand Pandemic Has Pulled Reading Skills Down
2022-03-08   2022-03-09 emic-schools-reading-crisis.html            Into New Territory                           By Dana Goldstein                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/us/polit Bill to Revive Postal Service Heads to Desk
2022-03-08   2022-03-09 ics/congress-postal-service.html            Of President                                 By Emily Cochrane                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/us/polit
2022-03-08   2022-03-09 ics/cryptocurrency-dao.html                 Cracks in the Pillars Of a Crypto Utopia     By Eric Lipton and Ephrat Livni   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/us/polit
                        ics/food-aid-nonprofits-fraud-
2022-03-08   2022-03-09 investigation.html                          FBI Finds Massive Fraud in Food Assistance By David A Fahrenthold              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/us/polit More Covid Tests Offered as White House
2022-03-08   2022-03-09 ics/free-covid-tests-biden.html             Grapples With Low Demand                     By Noah Weiland                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/us/polit First Jan 6 Trial Ends in Texas Mans
2022-03-08   2022-03-09 ics/guy-reffitt-jan-6-trial.html            Conviction                                   By Alan Feuer                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/world/a
                        mericas/venezuela-american-prisoner-        Venezuela Frees 2 American Prisoners After By Anatoly Kurmanaev Natalie
2022-03-08   2022-03-09 release.html                                US Holds Talks With Maduro                   Kitroeff and Kenneth P Vogel      TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/08/world/a South Koreas Swing Voters Young Broke
2022-03-08   2022-03-09 sia/south-korea-young-voters-election.html and Angry                                     By Choe SangHun                   TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/08/world/e Iran Nuclear Deal in Reach but Russia Poses
2022-03-08   2022-03-09 urope/iran-nuclear-deal-russia-ukraine.html Complication                               By Steven Erlanger                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/world/e Putins Crackdown on Russian News Agencies
2022-03-08   2022-03-09 urope/russia-ukraine-media.html             Creates an Alternate Reality               By Neil MacFarquhar                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/world/e
2022-03-08   2022-03-09 urope/ukraine-kyiv-hospitals.html           On the Front Kyiv Hospitals Face Horrors   By Andrew E Kramer                  TX 9-152-782   2022-05-02




                                                                                 Page 3471 of 5793
                        https://www.nytimes.com/2022/03/08/world/e As Refugees Pour In Moldovans Fear They By Patrick Kingsley and Laetitia
2022-03-08   2022-03-09 urope/ukraine-moldova-russia-invasion.html Also May Need to Flee                          Vancon                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/world/e
                        urope/ukraine-uk-family-scheme-              Ukrainians Trying to Reach Britain Encounter
2022-03-08   2022-03-09 refugees.html                                Another Obstacle Red Tape                    By Megan Specia                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/world/e
2022-03-08   2022-03-09 urope/un-china-human-rights.html             UN Chief For Rights Is Allowed China Visit By Nick CummingBruce               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/busines
                        s/mcdonalds-russia-starbucks-pepsi-coca-     Russia Loses Fast Foods Long Symbols of the
2022-03-09   2022-03-09 cola.html                                    West                                         By Julie Creswell                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/opinion Putin Has No Good Way Out and That Really
2022-03-09   2022-03-09 /putin-ukraine-russia-war.html               Scares Me                                    By Thomas L Friedman             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/opinion
2022-03-09   2022-03-09 /ukraine-freedom.html                        New Rules for A New World                    By Bret Stephens                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/sports/t
                        ennis/alexander-zverev-suspension-           Violent Outburst Is Answered With Meek
2022-03-09   2022-03-09 umpire.html                                  Penalty                                      By Christopher Clarey            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/theater/
2022-03-09   2022-03-09 the-chinese-lady-review.html                 The Bitter Timelessness of American Racism By Laura CollinsHughes             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/us/polit
2022-03-09   2022-03-09 ics/biden-oil-ban-russia-ukraine-putin.html  Biden Bans Russian Oil Over Vicious War      By Michael D Shear               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/us/polit Focusing on Burn Pits Biden Pushes for
2022-03-09   2022-03-09 ics/biden-veterans-burn-pits.html            Veterans Benefits                            By Katie Rogers                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/us/polit Pursuing Evidence Jan 6 Panel Argues Trump
2022-03-09   2022-03-09 ics/jan-6-panel-trump-fraud.html             Was in Fraud Conspiracy                      By Luke Broadwater               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/us/polit
                        ics/mark-meadows-trump-vote-north-           Trumps Former Chief of Staff Faces
2022-03-09   2022-03-09 carolina.html                                Questions About Voting Address               By Reid J Epstein                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/us/polit Spy Agencies Cite Setbacks But Say Putin
2022-03-09   2022-03-09 ics/us-intelligence-russia-ukraine.html      Will Drive On                                By Julian E Barnes               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/world/e Invoking Churchill Zelensky Vows No
2022-03-09   2022-03-09 urope/ukraine-russia-zelensky.html           Surrender                                    By Mark Landler and Marc Santora TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/busines
                        s/energy-environment/russia-oil-global-      No Quick Way for Oil Nations To Offset Lost
2022-03-09   2022-03-09 economy.html                                 Russian Output                               By Clifford Krauss               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/climate 106 Years Later Wreckage of Lost Ship Is
2022-03-09   2022-03-09 /endurance-wreck-found-shackleton.html       Found in Antarctic Waters                    By Henry Fountain                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/us/polit Once Harsh Ukraine Critics Republicans
2022-03-09   2022-03-09 ics/republicans-ukraine.html                 Pivot to Loud Support                        By Jonathan Weisman              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/style/ric
2022-03-04   2022-03-10 k-owens-fashion-week-paris.html              Through The Fog Its Anarchy                  By Jessica Testa                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/style/lo
2022-03-06   2022-03-10 ewe-marine-serre-paris-fashion-week.html     A Riot of Expressions Everywhere at Once     By Vanessa Friedman              TX 9-152-782   2022-05-02




                                                                                Page 3472 of 5793
                        https://www.nytimes.com/2022/03/07/opinion
2022-03-07   2022-03-10 /spring-happiness-climate-change.html        Spring Brings Joy Even in a World on Fire By Margaret Renkl                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/style/ba
2022-03-07   2022-03-10 lenciaga-ukraine-valentino.html              Where Designers Hadnt Dared Go            By Vanessa Friedman              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/arts/dan                                            By Aurelien Breeden and Marina
2022-03-08   2022-03-10 ce/kyiv-city-ballet-russia-war.html          Ukrainian Dancers Find Refuge in Europe   Harss                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/arts/des
                        ign/awol-erizku-beyonce-photographer-
2022-03-08   2022-03-10 gagosian.html                                Awol Erizku Expands His Artistic Realm    By Robin Pogrebin                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/arts/tele Conrad Janis 94 Mork amp Mindy Actor Who
2022-03-08   2022-03-10 vision/conrad-janis-dead.html                Also Shone in Art and Jazz Worlds         By Neil Genzlinger               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/books/c
2022-03-08   2022-03-10 ormac-mccarthy-new-novels.html               Two Novels Coming By Cormac McCarthy By Alexandra Alter                    TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/08/crossw
2022-03-08   2022-03-10 ords/women-nobel-winners-crossword.html Celebrating Women in the Crossword            By Alexis Benveniste              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/08/health/t Casualty of Fight Over Transgender Youth A
2022-03-08   2022-03-10 exas-transgender-clinic-genecis-abbott.html Crucial Clinic                             By Azeen Ghorayshi               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/opinion
2022-03-08   2022-03-10 /covid-schools-disruption.html              Weve Failed to Put Schools First           By Maia Bloomfield Cucchiara     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/style/gi
                        venchy-matthew-williams-pearls-paris-       Holly Golightly Wouldnt Recognize These
2022-03-08   2022-03-10 fashion-week.html                           Pearls                                     By Jessica Testa                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/style/lo
                        uis-vuitton-stella-mccartney-paris-fashion-
2022-03-08   2022-03-10 week.html                                   Louis Vuittons Teenage Dream               By Vanessa Friedman              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/theater/ A Plague on Their House Then Hilarity
2022-03-08   2022-03-10 jane-anger-review.html                      Ensues                                     By Juan A Ramrez                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/us/haw Pentagon Will Shut Depot That Fouled
2022-03-08   2022-03-10 aii-navy-water.html                         Hawaii Water                               By Mike Ives                     TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/08/world/e A 459Foot Mystery Haunts a Tuscan Port Is By Michael Forsythe Gaia
2022-03-08   2022-03-10 urope/russia-superyacht-putin-oligarch.html It a Russians Yacht                      Pianigiani and David D Kirkpatrick TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/busines
                        s/media/smartmatic-fox-news-defamation-     Suit Accusing Fox News Of Defaming
2022-03-09   2022-03-10 suit.html                                   Company Can Stand Judge Rules            By Brooks Barnes                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/nyregio
2022-03-09   2022-03-10 n/russian-agent-putin-propaganda.html       US Charges Woman as a Foreign Agent      By Ed Shanahan                     TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/09/arts/dan A Studious Virtuoso Considers Other
2022-03-09   2022-03-10 ce/sara-mearns-piece-of-work-review.html    Virtuosities                              By Brian Seibert                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/09/arts/for-
2022-03-09   2022-03-10 this-art-collector-owning-isnt-everything.html For her owning isnt everything         By Hilarie M Sheets               TX 9-152-782   2022-05-02



                                                                                   Page 3473 of 5793
                        https://www.nytimes.com/2022/03/09/arts/for
2022-03-09   2022-03-10 ge-project-indigenous-art.html               A new source of support for Indigenous art  By Ted Loos                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/arts/ind
2022-03-09   2022-03-10 ia-art-history-encyclopedia.html             Indias art history online for all           By Ginanne Brownell          TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/arts/mu
                        sic/geffen-hall-new-york-philharmonic-
2022-03-09   2022-03-10 lincoln-center.html                          Geffen Halls Makeover Is Fully Funded       By Javier C Hernndez         TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/arts/pie
2022-03-09   2022-03-10 rre-le-tan-collecting-book.html              Making acquisition an art form              By Sophie Haigney            TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/arts/tele Before Sentencing Smolletts Backers Ask for
2022-03-09   2022-03-10 vision/jussie-smollett-sentencing.html       Mercy                                       By Julia Jacobs              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/arts/tele
                        vision/volodymyr-zelensky-servant-of-the-    Zelensky Once Played President for Laughs
2022-03-09   2022-03-10 people.html                                  But Now Its for Keeps                       By James Poniewozik          TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/arts/ven
2022-03-09   2022-03-10 ice-grimani-collection-sculpture.html        A family shares its treasures again         By Elisabetta Povoledo       TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/arts/wo
2022-03-09   2022-03-10 men-war-photographers-exhibition.html        We wanted to be in combat zones             By Nazanin Lankarani         TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/books/r
2022-03-09   2022-03-10 eview-woman-lillian-faderman.html            Capturing Four Centuries of Being Female    By Alexandra Jacobs          TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/busines Saying Amazon Lied House Panel Requests By Cecilia Kang and David
2022-03-09   2022-03-10 s/amazon-antitrust-investigation.html        Criminal Investigation                      McCabe                       TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/busines
2022-03-09   2022-03-10 s/disney-ceo-florida-lgbtq-bill.html         Disney Chief Addresses AntiGay Bill         By Brooks Barnes             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/busines
                        s/economy/job-openings-us-january-           US Employers Continue To Scramble to Fill
2022-03-09   2022-03-10 2022.html                                    Jobs                                        By Talmon Joseph Smith       TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/09/busines
2022-03-09   2022-03-10 s/economy/starbucks-union-vote-buffalo.html 3 Starbucks in Buffalo Area Vote for Union   By Noam Scheiber             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/busines Ruble Continues to Plunge On Foreign
2022-03-09   2022-03-10 s/russia-ruble-central-bank.html            Currency Curbs                              By Eshe Nelson                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/busines                                              By Sapna Maheshwari and Vanessa
2022-03-09   2022-03-10 s/russia-ukraine-retail.html                Big Brands Exit Russia In a Hurry           Friedman                        TX 9-152-782   2022-05-02
                                                                                                                By Matthew Goldstein Kenneth P
                        https://www.nytimes.com/2022/03/09/busines                                              Vogel Jesse Drucker Maureen
2022-03-09   2022-03-10 s/russian-oligarchs-money-concord.html     Companies In the West Quietly Aid Oligarchs Farrell and Mike McIntire        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/climate President Restores Californias Power to Set
2022-03-09   2022-03-10 /biden-california-tailpipe-waiver.html     Stringent Tailpipe Standards                 By Coral Davenport              TX 9-152-782   2022-05-02
                                                                   Some City Restaurants Still Require Proof of
                        https://www.nytimes.com/2022/03/09/dining/ Vaccination A Protest Followed at One of
2022-03-09   2022-03-10 nyc-restaurants-vaccine-mandate.html       Them                                         By Christina Morales            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/health/ Man in Groundbreaking Heart Transplant
2022-03-09   2022-03-10 heart-transplant-pig-bennett.html          Dies                                         By Roni Caryn Rabin             TX 9-152-782   2022-05-02




                                                                                 Page 3474 of 5793
                        https://www.nytimes.com/2022/03/09/movies/
2022-03-09   2022-03-10 oscars-best-actress.html                    Best Actress Winner Try Chaos                By Kyle Buchanan                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/nyregio New Yorkers With Marijuana Convictions        By Jesse McKinley and Grace
2022-03-09   2022-03-10 n/marijuana-sellers-licenses-hochul.html    Will Get First Retail Licenses               Ashford                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/nyregio
2022-03-09   2022-03-10 n/sex-trafficking-couple-foster-care.html   Couple Exploited FosterCare Loophole         By Ashley Southall                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/obituari
2022-03-09   2022-03-10 es/charles-e-entenmann-dead.html            Charles E Entenmann 92 Just a Baker          By James Barron                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/opinion
2022-03-09   2022-03-10 /andrew-cuomo-cancel-culture.html           Andrew Cuomo as Comeback Kid Oh No           By Gail Collins                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/opinion They Predicted the Ukraine War But Did
2022-03-09   2022-03-10 /ukraine-russia-invasion-west.html          They Still Get It Wrong                      By Ross Douthat                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/sports/b MLB Cancels a Second Week of Games as
2022-03-09   2022-03-10 aseball/mlb-lockout.html                    Labor Talks Continue                         By James Wagner                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/sports/h
                        ockey/alex-ovechkin-putin-russia-ukraine-
2022-03-09   2022-03-10 nhl.html                                    Ties to Putin Make Ovechkin A Scorned Star By David Shoalts                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/sports/n
                        caabasketball/bellarmine-jacksonville-ncaa- They Won Atlantic Sun Not a Bid To the
2022-03-09   2022-03-10 tournament.html                             Dance                                        By Evan Easterling                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/sports/s
2022-03-09   2022-03-10 occer/real-madrid-psg-benzema.html          Money Still Cant Buy PSG Love or Victories By Rory Smith                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/style/ch
                        anel-miu-miu-comme-des-garcons-fall-
2022-03-09   2022-03-10 2022.html                                   Addressing the Needs of Women                By Vanessa Friedman                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/style/de A Haven for Stylists Arrives by Way of
2022-03-09   2022-03-10 sert-vintage-fashion-stylists.html          Tucson                                       By Marisa Meltzer                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/style/m The Camera Likes Her And the Feeling Is
2022-03-09   2022-03-10 oving-through-the-lens.html                 Mutual                                       By Thessaly La Force               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/technol
2022-03-09   2022-03-10 ogy/metas-pavni-diwanji-departs.html        Head of Youth Workstream Departs Meta        By Ryan Mac                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/technol
                        ogy/sunny-balwani-elizabeth-holmes-theranos-Holmess ExBoyfriend Is Set to Go on Trial in
2022-03-09   2022-03-10 trial.html                                  Theranos Case                                By David Streitfeld and Erin Woo   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/theater/ Tony Awards Ceremony Returns to Radio
2022-03-09   2022-03-10 tony-awards-radio-city.html                 City in June                                 By Michael Paulson                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/travel/u Ukraine Conflict Further Scrambles Travel
2022-03-09   2022-03-10 kraine-russia-travel-plans.html             Industry                                     By Elaine Glusac                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/us/andr A Lion of the Civil Rights Movement
2022-03-09   2022-03-10 ew-young-atlanta-civil-rights.html          Preaches There Is No Giving Up               By Richard Fausset                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/us/kent- Kent Waldrep 67 Athlete Whose Injury Led to
2022-03-09   2022-03-10 waldrep-dead.html                           Advocacy Dies                                By Richard Sandomir                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/us/polit Biden Takes Step Toward Setting National
2022-03-09   2022-03-10 ics/crypto-regulation-biden.html            Policy for Digital Assets                    By Katie Rogers and Ephrat Livni   TX 9-152-782   2022-05-02




                                                                                 Page 3475 of 5793
                        https://www.nytimes.com/2022/03/09/us/polit Invasion and Pandemic Not Policies Are
2022-03-09   2022-03-10 ics/fact-check-republicans-biden-gas.html   Driving Up Gas Prices                      By Linda Qiu                    TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/09/us/polit Polands Surprise Offer Fighter Jets for    By David E Sanger and Eric
2022-03-09   2022-03-10 ics/poland-fighter-jets-ukraine-russia.html Ukraine but Only via US Hands              Schmitt                         TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/09/us/polit Biden Selects Member of Navajo Nation to
2022-03-09   2022-03-10 ics/roselyn-tso-indian-health-service.html  Lead Indian Health Service                 By Mark Walker                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/09/us/polit Colorado County Clerk Accused of
2022-03-09   2022-03-10 ics/tina-peters-colorado-election.html      Tampering With Voting Machines             By Maggie Astor                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/us/russi                                            By David D Kirkpatrick Mona
2022-03-09   2022-03-10 an-oligarchs-sanctions-dubai.html           For Oligarchs UAE Softens Sanctions Bite   ElNaggar and Michael Forsythe    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/us/truc Ottawa in Rear View Truck Convoy Merges     By Campbell Robertson Alan Feuer
2022-03-09   2022-03-10 ker-convoy-washington-dc.html               Into Capitals Traffic                      and Adam Bednar                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/world/a Hong Kongs Covid Crackdown Stirs
2022-03-09   2022-03-10 sia/hong-kong-covid-lockdown.html           Desperation                                By Alexandra Stevenson          TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/09/world/a ExProsecutor Wins Presidency in a Deeply
2022-03-09   2022-03-10 sia/south-korea-election-yoon-suk-yeol.html Divided South Korea                        By Choe SangHun                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/09/world/a FloodRavaged Australia Declares an
2022-03-09   2022-03-10 ustralia/nsw-floods.html                    Emergency                                  By Natasha Frost                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/09/world/e Austria Halts Plans for Vaccine Mandate
2022-03-09   2022-03-10 urope/austria-covid-vaccine-mandate.html    Citing Milder Omicron Infections           By Christopher F Schuetze       TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/09/world/e Zelensky and Johnson Forge Bond With         By Mark Landler and Stephen
2022-03-09   2022-03-10 urope/britain-johnson-ukraine-zelensky.html Humor and a Sense of History                Castle                         TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/09/world/e Evgeny Maslin Who Secured Russias Nuclear
2022-03-09   2022-03-10 urope/evgeny-maslin-dead.html               Arsenal Dies at 84                          By Clay Risen                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/09/world/e
2022-03-09   2022-03-10 urope/russia-ukraine-economy.html           The Other Conflicts Economic and Political By Max Fisher                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/09/world/e Damaged Chernobyl Nuclear Plant Occupied By David E Sanger and Henry
2022-03-09   2022-03-10 urope/ukraine-chernobyl-power.html          by Russia Loses Outside Power               Fountain                       TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/09/world/e Love Duty Flight and Death A Ukraine
2022-03-09   2022-03-10 urope/ukraine-family-perebyinis-kyiv.html   Familys War Story                           By Andrew E Kramer             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/09/world/e They Boil Snow for Water With Death in the
2022-03-09   2022-03-10 urope/ukraine-mariupol-siege.html           Air                                         By Valerie Hopkins             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/09/world/e Subtle Shift Raises Hopes For a Diplomatic By Anton Troianovski Patrick
2022-03-09   2022-03-10 urope/ukraine-russia-cease-fire-talks.html  Solution                                    Kingsley and Michael Crowley   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/09/world/e
                        urope/ukraine-russia-kremlin-economic-
2022-03-09   2022-03-10 war.html                                    Hospital Hit as a Attacks on Civilians Grow By Richard PrezPea             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/09/us/polit There Is Zero Money Left To Continue Covid By Sheryl Gay Stolberg and
2022-03-10   2022-03-10 ics/biden-pandemic-response-funding.html    Battle White House Chart Shows              Madeleine Ngo                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/09/us/polit US House Set to Pass 136 Billion For
2022-03-10   2022-03-10 ics/house-emergency-aid-ukraine.html        Ukraine                                     By Catie Edmondson             TX 9-152-782    2022-05-02




                                                                               Page 3476 of 5793
                        https://www.nytimes.com/2022/03/09/us/polit
                        ics/house-passes-violence-against-women-     House Passes New Measure To Aid Women
2022-03-10   2022-03-10 act.html                                     in Harms Way                               By Annie Karni               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/us/polit Spending Bill Clears House Minus Covid
2022-03-10   2022-03-10 ics/house-spending-bill.html                 Funds                                      By Emily Cochrane            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/us/polit Judge to Review Emails Trump Ally Seeks to
2022-03-10   2022-03-10 ics/judge-review-emails-jan-6.html           Block                                      By Luke Broadwater           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/world/a Women Face 10Year Term For Abortion In By Natalie Kitroeff Oscar Lopez
2022-03-10   2022-03-10 mericas/guatemala-abortion-prison.html       Guatemala                                  and Jody Garca               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/busines Wars Economic Fallout Skyrocketing Gas
2022-03-10   2022-03-10 s/russia-ukraine-war-gas-prices.html         Prices And Volatile Markets                By Jeff Sommer               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/sports/n A Homophobic Taunt Forces a Coach to
2022-03-10   2022-03-10 caabasketball/irvine-russell-turner.html     Weigh His Words                            By Billy Witz                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/style/ta
2022-03-10   2022-03-10 bboo-stephen-tashjian.html                   Decades Into Career Artist Finds Success   By Guy Trebay                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/27/books/i Her Husband Wanted to Die And She Heard
2022-02-27   2022-03-11 n-love-amy-bloom.html                        His Wishes                                 By Elisabeth Egan            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/busines For Employees Not in the Office The Ladder
2022-03-03   2022-03-11 s/dealbook/remote-work-careers.html          Gets Trickier to Climb                     By Corinne Purtill           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/05/arts/tele
2022-03-05   2022-03-11 vision/mitchell-ryan-dead.html               Mitchell Ryan 88 Dark Shadows Actor        By Eduardo Medina            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/busines To Make a Long Story Short Axios Is
2022-03-07   2022-03-11 s/media/axios-local.html                     Charting Its Future in Bullet Points       By Katie Robertson           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/nyregio Black History Live In a 3Story House On
2022-03-07   2022-03-11 n/black-history-artifacts-staten-island.html Staten Island                              By Corey Kilgannon           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/movies/
2022-03-08   2022-03-11 calendar-girl-review.html                    Calendar Girl                              By Glenn Kenny               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/opinion
2022-03-08   2022-03-11 /russia-ukraine-america.html                 War Puts Our Woes in Perspective           By John McWhorter            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/climate How Dangerous Air Reflects Racist Policy     By Raymond Zhong and Nadja
2022-03-09   2022-03-11 /redlining-racism-air-pollution.html         From 8 Decades Ago                         Popovich                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/dining/ Alain Graillot 77 Chemical Engineer Turned
2022-03-09   2022-03-11 alain-grillot-dead.html                      Influential French Winemaker               By Eric Asimov               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/opinion CEOs Are Going Out of Their Way to Punish
2022-03-09   2022-03-11 /russia-sanctions-corporations.html          Russia                                     By Peter Coy                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/opinion Theres More Than One Right Way to Raise
2022-03-09   2022-03-11 /tiktok-parenting-philosophy.html            Kids                                       By Jessica Grose             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/technol
2022-03-09   2022-03-11 ogy/russia-isolation.html                    How Long Will the Isolation of Russia Last By Shira Ovide               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/09/world/a Slain African Leader Haunts Trial and His
2022-03-09   2022-03-11 frica/thomas-sankara-assassination-trial.html Country                                  By Declan Walsh               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/10/arts/des
2022-03-10   2022-03-11 ign/carpeaux-recast-met-museum-review.html A Lesson In Slavery Enshrined In Marble     By Holland Cotter             TX 9-152-782   2022-05-02



                                                                                Page 3477 of 5793
                        https://www.nytimes.com/2022/03/10/arts/des
                        ign/suzanne-lacy-queens-museum-
2022-03-10   2022-03-11 activist.html                               Bringing Her Activism Inside the Museum       By Jonathan Griffin   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/arts/des
2022-03-10   2022-03-11 ign/tabboo-cityscapes-review.html           A Love Letter To New York City                By Roberta Smith      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/arts/mu Salvaging a Troubled Leonard Bernstein
2022-03-10   2022-03-11 sic/a-quiet-place-paris-opera-review.html   Work                                          By Joshua Barone      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/arts/mu Carlos BarbosaLima 77 Who Expanded
2022-03-10   2022-03-11 sic/carlos-barbosa-lima-dead.html           Classical Guitars Reach Dies                  By Neil Genzlinger    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/arts/mu
                        sic/gustavo-dudamel-new-york-philharmonic-
2022-03-10   2022-03-11 review.html                                 Dudamel Shows Why Hes the Future              By Zachary Woolfe     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/arts/mu
2022-03-10   2022-03-11 sic/jenny-hval-classic-objects-review.html  Norwegian Tunesmith Makes Stories Soar        By Jon Pareles        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/arts/mu
2022-03-10   2022-03-11 sic/russia-music-canceled-concerts.html     Record Labels Lift the Needle On Russia       By Ben Sisario        TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/10/arts/tele
2022-03-10   2022-03-11 vision/last-days-of-ptolemy-grey-review.html The Graying of Samuel L Jackson              By Mike Hale          TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/10/arts/tele
2022-03-10   2022-03-11 vision/upload-season-2-formula-1-netflix.html This weekend I have                         By Margaret Lyons     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/books/n Nelson W Aldrich Jr 86 A Dissector of Old
2022-03-10   2022-03-11 elson-w-aldrich-jr-dead.html                  Money                                       By Sam Roberts        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/busines War Upends EU Models For Recovery Of
2022-03-10   2022-03-11 s/ecb-europe-inflation.html                   Economy                                     By Eshe Nelson        TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/10/busines
2022-03-10   2022-03-11 s/economy/cpi-inflation-february-2022.html Inflation Rises At Fastest Clip In 4 Decades   By Jeanna Smialek     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/busines
                        s/economy/imf-global-outlook-ukraine-      Pandemic Then Warfare Dampen IMF
2022-03-10   2022-03-11 war.html                                   Forecasts                                      By Alan Rappeport     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/busines Goldman and JPMorgan Say Theyll Leave
2022-03-10   2022-03-11 s/goldman-sachs-russia.html                Russia                                         By Lananh Nguyen      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/busines IRS to Hire 10000 Workers to Help Clear a
2022-03-10   2022-03-11 s/irs-workers-tax-return-backlog.html      Backlog                                        By Alan Rappeport     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/busines Justice Dept Names Chief to Fight Covid
2022-03-10   2022-03-11 s/justice-director-covid-fraud.html        Fraud                                          By Madeleine Ngo      TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/10/busines As Emissions Rise Microsoft Keeps Its
2022-03-10   2022-03-11 s/microsoft-climate-carbon-emissions.html  Climate Goals                                  By Peter Eavis        TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/10/busines
2022-03-10   2022-03-11 s/porsche-taycan-audi-e-tron-gt-review.html Brawny Branches of an Electric Family Tree By Lawrence Ulrich       TX 9-152-782   2022-05-02




                                                                                 Page 3478 of 5793
                                                                    Rivian Expects to Produce Fewer Electric
                        https://www.nytimes.com/2022/03/10/busines Vehicles This Year Citing Supply Chain
2022-03-10   2022-03-11 s/rivian-earnings.html                      Problems                                      By Peter Eavis                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/busines Progressive Lawmakers Question
2022-03-10   2022-03-11 s/spirit-frontier-airline-merger.html       SpiritFrontier Merger                         By Niraj Chokshi                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/busines United Says Workers With Vaccine
2022-03-10   2022-03-11 s/united-covid-vaccine.html                 Exemptions Can Return to Regular Jobs         By Niraj Chokshi                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/climate Energy Crunch Spurs Push for Fossil Fuels      By Brad Plumer Lisa Friedman and
2022-03-10   2022-03-11 /climate-oil-crisis-global.html             but Climate Clock Is Ticking                  David Gelles                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/dining/ Sally Schmitt 90 Pioneer Of a Culinary
2022-03-10   2022-03-11 sally-schmitt-dead.html                     Movement In Napa Valley Is Dead               By Neil Genzlinger               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/health/c New Vaccine Findings Pose Tough
2022-03-10   2022-03-11 ovid-vaccines-children.html                 Questions For Parents of the Young            By Apoorva Mandavilli            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/health/s Relatives of Opioid Victims Confront
2022-03-10   2022-03-11 acklers-opioids-victims.html                Sacklers in Emotional Testimony               By Jan Hoffman                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/movies/
2022-03-10   2022-03-11 all-my-friends-hate-me-review.html          Oh That Old Ax Its Just a Prank               By Jeannette Catsoulis           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/movies/
2022-03-10   2022-03-11 fear-review.html                            Casual Racism and the Stranger                By AO Scott                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/movies/
2022-03-10   2022-03-11 gold-review.html                            Gold                                          By Amy Nicholson                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/movies/
2022-03-10   2022-03-11 i-am-here-review.html                       I Am Here                                     By Lisa Kennedy                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/movies/
2022-03-10   2022-03-11 last-exit-space-review.html                 Last Exit Space                               By Ben Kenigsberg                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/movies/
2022-03-10   2022-03-11 offseason-review.html                       Offseason                                     By Jeannette Catsoulis           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/movies/
2022-03-10   2022-03-11 playing-in-the-fm-band-review.html          Playing in the FM Band The Steve Post Story By Glenn Kenny                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/movies/
2022-03-10   2022-03-11 the-adam-project-review.html                Time Travel Powered by Wisecracks             By Natalia Winkelman             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/movies/ All Ideology and Flying Fists Signifying a Hot
2022-03-10   2022-03-11 the-cherry-bushido-review.html              Mess                                          By Wesley Morris                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/movies/
2022-03-10   2022-03-11 the-exorcism-of-god-review.html             The Exorcism of God                           By Lena Wilson                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/movies/
2022-03-10   2022-03-11 turning-red-review.html                     A ComingofAge Story Furry Monster and All By Maya Phillips                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/movies/
2022-03-10   2022-03-11 ultrasound-review.html                      The Nails in the Road Are the Least of It     By Manohla Dargis                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/nyregio In Democratic Bastion Affordability Replaces
2022-03-10   2022-03-11 n/nj-governor-murphy-budget-address.html Sweeping Liberal Vows                            By Tracey Tully                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/nyregio At Trial Over College Cult An Accusation of
2022-03-10   2022-03-11 n/sarah-lawrence-ray-cult-trial.html        Violence Fear Sex and Manipulation            By Colin Moynihan                TX 9-152-782   2022-05-02




                                                                                Page 3479 of 5793
                        https://www.nytimes.com/2022/03/10/nyregio A Cabdriver a Waiter Americans Heading To
2022-03-10   2022-03-11 n/ukrainian-american-volunteer-soldiers.html Battle in Ukraine                       By Kimiko de FreytasTamura         TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/10/sports/b Baseball and Union Reach Deal Reviving a
2022-03-10   2022-03-11 aseball/mlb-lockout-ends.html                Happy Cry Play Ball                     By James Wagner                    TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/10/sports/c
                        ollege-sports-gambling-endorsements-         Americans Strongly Favor Moneymaking
2022-03-10   2022-03-11 deals.html                                   Deals for Athletes Poll Says            By David W Chen                    TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/10/sports/o Coached by an Enigmatic Russian China
2022-03-10   2022-03-11 lympics/paralympics-china-sled-hockey.html Emerges as a Sled Hockey Power                By David Waldstein             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/10/sports/s Sanctions for Oligarch and a Crisis for
2022-03-10   2022-03-11 occer/abramovich-chelsea-sanctions.html     Chelsea                                      By Tariq Panja                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/10/technol
2022-03-10   2022-03-11 ogy/disinformation-russia-ukraine.html      In Russia Attacks Spur False Reports         By Stuart A Thompson           TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/10/theater/
                        dominique-morisseau-confederates-
2022-03-10   2022-03-11 interview.html                              What Does Freedom Look Like Now              By Alexis Soloski              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/10/us/cens Census Undercounted Latino Black and          By Michael Wines and Maria
2022-03-10   2022-03-11 us-undercounted-population.html             Tribal Residents                             Cramer                         TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/10/us/polic
2022-03-10   2022-03-11 e-suicide-capitol-riot.html                 Officers Suicide Is Ruled LineofDuty Death   By Shaila Dewan                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/10/us/polit
                        ics/businesses-texas-trans-teens-child-
2022-03-10   2022-03-11 abuse.html                                  Companies Issue Ad to Protest Texas Policy   By Maggie Haberman             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/10/us/polit Defender In 911 Case Asks to Quit Amid
2022-03-10   2022-03-11 ics/guantanamo-lawyer-resigns.html          Inquiry                                      By Carol Rosenberg             TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/10/us/polit North Korea Has Twice Tested New            By David E Sanger and William J
2022-03-10   2022-03-11 ics/north-korea-intercontinental-missile.html Intercontinental Missile US Says          Broad                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/us/polit
                        ics/redistricting-congressional-maps-         Despite All That Gerrymandering Potential
2022-03-10   2022-03-11 elections.html                                for a Balanced Map                        By Nate Cohn                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/us/polit Security Lapses Cited in 2020 Attack That
2022-03-10   2022-03-11 ics/shabab-manda-bay-kenya-attack.html        Killed Americans at Kenya Base            By Eric Schmitt and Helene Cooper TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/us/uc- Bursting UC Berkeley Clashes With Its Home By Shawn Hubler Conor Dougherty
2022-03-10   2022-03-11 berkeley-student-housing.html                 Over California Dreams                    and Sophie Kasakove               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/world/a                                              By Karan Deep Singh and Mujib
2022-03-10   2022-03-11 sia/india-elections-modi.html                 Modis Party Keeps Power in Key State      Mashal                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/world/a Australia Asks How Far Is Too Far in Making
2022-03-10   2022-03-11 ustralia/election-china.html                  China a Campaign Cudgel                   By Yan Zhuang and Damien Cave TX 9-152-782       2022-05-02
                        https://www.nytimes.com/2022/03/10/world/e
                        urope/andrezj-duda-poland-ukraine-fighter- Harris Visiting Poland Seeks to Present A
2022-03-10   2022-03-11 jets.html                                     United Front for NATO Against Russia      By Zolan KannoYoungs              TX 9-152-782   2022-05-02




                                                                                Page 3480 of 5793
                        https://www.nytimes.com/2022/03/10/world/e
                        urope/france-presidential-election-media-    Billionaire Media Tycoons Shape the French By Norimitsu Onishi and Constant
2022-03-10   2022-03-11 cnews-.html                                  Presidential Race                           Mheut                               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/world/e Putin Threatens Takeover of Western
2022-03-10   2022-03-11 urope/russia-economy-ukraine.html            Companies                                   By Anton Troianovski                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/world/e
                        urope/ukraine-russia-war-embassies-street-   Free Ukraine Street Russian Embassies Get By Isabella Kwai Henrik Pryser
2022-03-10   2022-03-11 names.html                                   Pointed New Addresses                       Libell and Christina Anderson       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/world/ ISIS Names New Leader but Gives No
2022-03-10   2022-03-11 middleeast/isis-new-leader.html              Information on Background or True Identity By Ben Hubbard                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/arts/tele Actor Is Given 5 Months For Faking a Hate
2022-03-11   2022-03-11 vision/jussie-smollett-sentencing.html       Crime                                       By Julia Jacobs and Robert Chiarito TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/opinion
2022-03-11   2022-03-11 /putin-ukraine-russia-identity.html          This Is Why Putin Cant Back Down            By David Brooks                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/opinion
2022-03-11   2022-03-11 /putin-ukraine-russia-usa.html               The American Right Has a Putin Problem      By Paul Krugman                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/sports/b Each Side Claims Its Victories And Games
2022-03-11   2022-03-11 aseball/rob-manfred-mlb-lockout.html         Can Finally Begin                           By Tyler Kepner                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/sports/g
                        olf/tommy-fleetwood-players-                 Fleetwood Looks Like His Old Self Minus the
2022-03-11   2022-03-11 championship.html                            Beard                                       By Bill Pennington                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/us/polit President Blames Putin for High Gas Prices By Katie Rogers and Michael D
2022-03-11   2022-03-11 ics/biden-putin-inflation.html               and Hopes Voters Do Too                     Shear                               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/us/polit Flynn Avoids Questions From Panel Citing
2022-03-11   2022-03-11 ics/michael-flynn-jan-6-committee.html       Rights                                      By Luke Broadwater                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/us/polit
2022-03-11   2022-03-11 ics/russia-ukraine-china-bioweapons.html     Chinas Role Reamplifying Kremlin Lies       By Edward Wong                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/us/polit Congress Clears 15 Trillion Spending Bill
2022-03-11   2022-03-11 ics/senate-spending-bill-approved.html       Including Aid for Ukraine                   By Emily Cochrane                   TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/10/world/e
2022-03-11   2022-03-11 urope/russia-bombards-ukrainian-cities.html Carnage Widens as CeaseFire Talks Falter    By Richard PrezPea                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/11/insider/
2022-03-11   2022-03-11 snow-forecast-upshot.html                   Demystifying Uncertainty of Snow            By Terence McGinley                TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/11/us/texa How Medical Care for Transgender Youth
2022-03-11   2022-03-11 s-transgender-youth-medical-care-abuse.html Became Child Abuse in Texas                 By J David Goodman                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/02/15/travel/tr
2022-02-15   2022-03-12 ends-spring-2022.html                        Ready to Say Bon Voyage in a Big Way       By The New York Times              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/08/movies/ Weighty Topics Handled With a Breezy
2022-03-08   2022-03-12 taylor-tomlinson-look-at-you-netflix.html    Nimbleness                                 By Jason Zinoman                   TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/arts/arti
2022-03-09   2022-03-12 st-met-museum-guard-buttons.html             Whos Got the Button Met Museum Guards      By Colin Moynihan                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/arts/cor
2022-03-09   2022-03-12 onavirus-theaters-masks-rules.html           Where Easing Back To Normal Isnt So Easy   By Matt Stevens                    TX 9-152-782     2022-05-02



                                                                                 Page 3481 of 5793
                        https://www.nytimes.com/2022/03/10/books/u
2022-03-10   2022-03-12 kraine-translate-books.html                  Recruiting an Army of Translators          By Alexandra Alter              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/10/fashion Elsa Klensch Journalist And Fashion Show
2022-03-10   2022-03-12 /elsa-klensch-dead.html                      Host For CNN Is Dead at 89                 By Marisa Meltzer               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/10/theater/
2022-03-10   2022-03-12 this-space-between-us-review.html            The High Cost of Trying to Do Good         By Naveen Kumar                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/10/arts/tele
2022-03-11   2022-03-12 vision/emilio-delgado-dead.html              Emilio Delgado 81 Luis on Sesame Street    By Vimal Patel                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/arts/des
2022-03-11   2022-03-12 ign/asia-week-new-york-preview.html          Woodblock Prints and Hindu Gods            By Will Heinrich                TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/11/arts/mu
2022-03-11   2022-03-12 sic/vivaldi-jupiter-carnegie-hall-review.html Beyond RapidFire Vivaldi                  By Zachary Woolfe               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/books/l Leo Marx 102 Historian Who Studied Clash
2022-03-11   2022-03-12 eo-marx-dead.html                             of Nature and Culture in America          By John Motyka                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/busines
                        s/china-russia-ukraine-sanctions-             China Can Aid Economy Of Russia but Not   By Alexandra Stevenson and Keith
2022-03-11   2022-03-12 economy.html                                  Save It                                   Bradsher                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/busines Biden Moves to Further Isolate Russia From
2022-03-11   2022-03-12 s/economy/russia-trade-status-us.html         the World Economy                         By Ana Swanson                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/busines A Secret GoogleMeta Ad Deal Is Under
2022-03-11   2022-03-12 s/google-meta-eu-britain-inquiry.html         Investigation in Europe                   By Adam Satariano               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/busines As Pandemic Pressure Eases Sanctions Snarl
2022-03-11   2022-03-12 s/russia-ukraine-shipping-cargo.html          Shipping                                  By Liz Alderman and Jenny Gross TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/movies/                                              By Graham Bowley and Julia
2022-03-11   2022-03-12 alec-baldwin-rust-arbitration.html            Baldwin Seeks To Avoid Liability          Jacobs                          TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/11/movies/
2022-03-11   2022-03-12 my-cousin-vinny-joe-pesci-marisa-tomei.html An Unlikely Oscar Winner 30 Years Later    By Jason Bailey                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/nyregio
2022-03-11   2022-03-12 n/meest-america-ukraine-war.html            Shipper Is Galvanized By an Urgent Purpose By Dan Barry                     TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/nyregio Rusty Mae Moore Transgender Activist Who
2022-03-11   2022-03-12 n/rusty-mae-moore-dead.html                 Housed Hundreds Is Dead at 80              By Julia Carmel                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/opinion The Covid19 Pandemic Didnt Have to Be
2022-03-11   2022-03-12 /covid-health-pandemic.html                 This Way                                   By Zeynep Tufekci                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/opinion In Germany a Stunned Country Rearms Itself
2022-03-11   2022-03-12 /germany-ukraine-invasion.html              Amid Grief and Fear                        By Michelle Goldberg             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/opinion
2022-03-11   2022-03-12 /russia-sanctions.html                      The Price of Putins Belligerence           By The Editorial Board           TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/sports/b Deal in Place MLB Commissioner Makes
2022-03-11   2022-03-12 aseball/mlb-lockout-players-union.html      Nice With Union Leader                     By James Wagner                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/sports/b
                        asketball/nets-76ers-james-harden-ben-      Nets Send Harden and the 76ers Crashing
2022-03-11   2022-03-12 simmons.html                                Down to Reality                            By Scott Cacciola                TX 9-152-782    2022-05-02




                                                                                Page 3482 of 5793
                        https://www.nytimes.com/2022/03/11/sports/f
2022-03-11   2022-03-12 ootball/johnny-grier-dead.html              Johnny Grier 74 First Black NFL Referee      By Richard Sandomir               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/sports/f Houston Grand Jury Rejects Charges Against
2022-03-11   2022-03-12 ootball/nfl-deshaun-watson.html             Watson in 9 Sex Abuse Cases                  By Jenny Vrentas and Kevin Draper TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/sports/n
2022-03-11   2022-03-12 ewbury-park-high-milers.html                Today in Manhattan Magic Could Happen        By Scott Cacciola                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/sports/s An Israeli Skier Shines Wearing a Skirt Over
2022-03-11   2022-03-12 heina-vaspi-paralympics.html                Her Ski Suit                                 By David Waldstein                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/technol Trying to Trademark a Fruit Logo You Might
2022-03-11   2022-03-12 ogy/apple-trademarks.html                   Hear From Apples Lawyers                     By Ryan Mac and Kellen Browning TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/11/technol
2022-03-11   2022-03-12 ogy/duckduckgo-russia-disinformation.html DuckDuckGo Draws Anger From Far Right By Stuart A Thompson                      TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/technol                                             By Mike Isaac Ryan Mac and
2022-03-11   2022-03-12 ogy/facebook-meta-perks.html                Fewer Perks For Workers At Facebook        Sheera Frenkel                     TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/us/berk
2022-03-11   2022-03-12 eley-enrollment-ceqa.html                   Bill May Ease Berkeleys Cap On Enrollment By Shawn Hubler                     TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/us/covi                                             By Deborah B Solomon and Amir
2022-03-11   2022-03-12 d-stimulus-money-fight.html                 Sewers or Stadiums A Clash Over Covid Aid Hamja                               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/us/isaia Court Paves Way for Man Wrongfully
2022-03-11   2022-03-12 h-andrews-released-ohio.html                Imprisoned for 45 Years to Sue             By Amanda Holpuch                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/us/polit Democrats Look to President For Reset as
2022-03-11   2022-03-12 ics/democrats-biden-midterms.html           Midterms Near                              By Annie Karni                     TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/us/polit
                        ics/iowa-new-hampshire-presidential-        Democrats to Debate Changes to Primary
2022-03-11   2022-03-12 elections.html                              Calendar                                   By Astead W Herndon                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/us/polit Haley Threads a Needle Between Trumps
2022-03-11   2022-03-12 ics/nikki-haley-trump.html                  Coattails and His Wrath                    By Jonathan Weisman                TX 9-152-782    2022-05-02
                                                                                                               By Julian E Barnes Michael
                        https://www.nytimes.com/2022/03/11/us/polit American Officials Say a Superyacht in Dry Forsythe David D Kirkpatrick and
2022-03-11   2022-03-12 ics/putin-yacht-russia-ukraine.html         Dock in Italy Could Be Putins              Jason Horowitz                     TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/11/us/polit Guantnamo Detainee Tortured in CIA Black
2022-03-11   2022-03-12 ics/terrorist-gitmo-sentence-majid-khan.html Sites Has Sentence Cut Short               By Carol Rosenberg                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/us/polit Ukrainians Are Cheering TurkishMade
2022-03-11   2022-03-12 ics/ukraine-military-drones-russia.html      Drones Targeting Russian Forces            By Dave Philipps and Eric Schmitt TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/us/polit
                        ics/us-bioweapons-ukraine-                   Theory on USFunded Bioweapons Labs Is
2022-03-11   2022-03-12 misinformation.html                          Baseless                                   By Linda Qiu                      TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/us/russi Russians Were Seeking Asylum in US In       By Miriam Jordan and Eileen
2022-03-11   2022-03-12 ans-ukrainians-us-border.html                Greater Numbers Even Before War            Sullivan                          TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/us/san- San Francisco Mayor Fills Ousted School
2022-03-11   2022-03-12 francisco-school-board-vote.html             Board Seats                                By Thomas Fuller                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/us/texa Texas Court Halts Inquiries Over Transgender
2022-03-11   2022-03-12 s-transgender-child-abuse.html               Children                                   By J David Goodman                TX 9-152-782    2022-05-02



                                                                                Page 3483 of 5793
                        https://www.nytimes.com/2022/03/11/us/toby-                                              By Maria Cramer and Isabella
2022-03-11   2022-03-12 price-mississippi.html                      Educator Fired Over Reading A Butt Book      Grulln Paz                      TX 9-152-782      2022-05-02
                        https://www.nytimes.com/2022/03/11/world/a Following Modis Policy Hindu Monk Is on
2022-03-11   2022-03-12 sia/india-elections-yogi-adityanath.html    Rise                                         By Emily Schmall and Hari Kumar TX 9-152-782      2022-05-02
                        https://www.nytimes.com/2022/03/11/world/c
                        anada/hazel-mccallion-mississauga-          Unafraid to Land a Check Politically or On
2022-03-11   2022-03-12 mayor.html                                  the Ice                                      By Vjosa Isai                   TX 9-152-782      2022-05-02
                        https://www.nytimes.com/2022/03/11/world/e Russias Calls to Ease Sanctions Bring Nuclear
2022-03-11   2022-03-12 urope/iran-nuclear-talks-russia.html        Talks With Iran to a Halt                    By Steven Erlanger              TX 9-152-782      2022-05-02

                        https://www.nytimes.com/2022/03/11/world/e As the Churchs Power Wanes St Brigid
2022-03-11   2022-03-12 urope/ireland-church-female-saint-brigid.html Captivates Ireland                           By Ed OLoughlin                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/world/e
                        urope/kamala-harris-gas-prices-               Harris Tells Americans They Will Have to
2022-03-11   2022-03-12 democracy.html                                Pay More for Gas to Punish Russia            By Zolan KannoYoungs             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/world/e                                                 By David D Kirkpatrick Isabel
                        urope/roman-abramovich-russian-oligarch-      Putin Oligarch Finds Himself Pariah in Wests Kershner Rory Smith and Tariq
2022-03-11   2022-03-12 sanctions.html                                Playgrounds                                  Panja                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/world/e
                        urope/russia-ukraine-bombardment-                                                          By Michael Levenson Eric Schmitt
2022-03-11   2022-03-12 chechnya.html                                 Russia Widens Attacks on Ukrainian Cities and Neil MacFarquhar                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/world/e London Police Violated Rights of Leaders of
2022-03-11   2022-03-12 urope/uk-sarah-everard-protest-court.html     Vigil for Slain Woman Court Rules            By Megan Specia                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/11/world/e Taking Europes Trains to Escape or to Reach
2022-03-11   2022-03-12 urope/ukraine-fighters-refugees-trains.html    a Conflicts Front Lines                      By Matina StevisGridneff        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/world/e Tanks Rumble Toward Kyiv But Fight Shows
2022-03-11   2022-03-12 urope/ukraine-kyiv-russia-fighting.html        Their Limits                                 By Andrew E Kramer              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/your- Buying Savings Bonds Can Be Obstacle
2022-03-11   2022-03-12 money/savings-bonds-inflation.html             Course                                       By Ann Carrns                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/article/omicron-       A Subvariant Spreads but Its Not New or
2022-03-11   2022-03-12 variant-ba2.html                               Likely to Drive a Surge                      By Carl Zimmer                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/                                                By Alicia Parlapiano Deborah B
                        11/us/how-covid-stimulus-money-was-            Where 5 Trillion in Pandemic Stimulus        Solomon Madeleine Ngo and Stacy
2022-03-11   2022-03-12 spent.html                                     Money Went                                   Cowley                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/live/2022/03/11/bus
                        iness/stocks-economy-inflation-ukraine/british British American Tobacco To Exit Its Russian
2022-03-11   2022-03-12 american-tobacco-russia                        Business                                     By Eshe Nelson                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/11/sports/b Diplomatic Balancing Act in Trying to Free By Jonathan Abrams and Tania
2022-03-12   2022-03-12 asketball/brittney-griner-russia-congress.html Griner From Russian Custody             Ganguli                            TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/11/sports/ Sports MLB Eyes Another Deal For Exclusive
2022-03-12   2022-03-12 mlb-peacock-streaming-games.html               Streaming                               By Nicole Sperling                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/11/us/mak Ohio Officer Who Killed Teen Wont Face
2022-03-12   2022-03-12 hia-bryant-police-charges.html                 Charges                                 By Nicholas BogelBurroughs         TX 9-152-782     2022-05-02



                                                                                Page 3484 of 5793
                        https://www.nytimes.com/2022/03/11/us/polit Out of Cash Afghan Staff Must Shutter DC
2022-03-12   2022-03-12 ics/afghan-embassy-closing.html             Embassy                                    By Lara Jakes                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/11/us/texa Texas Court Ends Challenge to Ban on
2022-03-12   2022-03-12 s-abortion-law.html                         Abortion                                   By Kate Zernike and Adam Liptak TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/opinion
2022-03-12   2022-03-12 /putin-ukraine-russia.html                  The Ukraine War and the RetroFuture        By Ross Douthat                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/12/technol
2022-03-12   2022-03-12 ogy/ukraine-minister-war-digital.html       Ukraine Minister Tries Novel Tactics       By Adam Satariano              TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/02/03/books/r
2022-02-03   2022-03-13 eview/buster-keaton-a-filmmakers-life.html FallingDown Funny                           By David Kamp                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/08/books/r
                        eview/A-Genetic-History-of-the-Americas-By-
2022-02-08   2022-03-13 Jennifer-Raff.html                         Newcomers Club                              By Jeremy DeSilva              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/08/books/r
                        eview/the-color-of-abolition-linda-
2022-02-08   2022-03-13 hirshman.html                              Blurred Lines                               By William G Thomas III        TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/08/books/r
2022-02-08   2022-03-13 eview/wildcat-amelia-morris.html           Platonic Break                              By Jessica Knoll               TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/02/12/books/r
2022-02-12   2022-03-13 eview/the-quiet-before-gal-beckerman.html The Revolution Will Not Be Tweeted           By Simon Schama                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/22/books/r
2022-02-22   2022-03-13 eview/jon-fosse-septology.html               He Is Us                                  By Randy Boyagoda              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/02/22/books/r
                        eview/the-lords-of-easy-money-federal-
2022-02-22   2022-03-13 reserve-christopher-leonard.html             Unreserved                                By Adam Tooze                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/01/books/r
                        eview/yoko-tawada-scattered-all-over-the-
2022-03-01   2022-03-13 earth.html                                   Small World                               By Ryan Ruby                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/03/books/r
                        eview/audiobooks-the-nineties-chuck-
                        klosterman-heartbreak-florence-williams-how-
2022-03-03   2022-03-13 to-be-perfect-michael-schur.html             Explains a Lot                            By Sebastian Modak             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/03/books/r Speak Up You Might Become a Best Seller
2022-03-03   2022-03-13 eview/this-here-flesh-cole-arthur-riley.html Like These Authors                        By Elisabeth Egan              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ This Map Shows Where Biodiversity Is Most By Catrin Einhorn and Nadja
2022-03-03   2022-03-13 03/climate/biodiversity-map.html             at Risk in America                        Popovich                       TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/movies/ So in the End What Does It Mean To Be
2022-03-04   2022-03-13 kogonada-after-yang-film.html                Fully Alive                               By Brandon Yu                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/04/realesta
2022-03-04   2022-03-13 te/starrett-lehigh-manhattan.html            Where Trucks Could Soar                   By John Freeman Gill           TX 9-152-782    2022-05-02




                                                                               Page 3485 of 5793
                        https://www.nytimes.com/2022/03/05/books/r
                        eview/marjorie-liu-wingbearer-ben-okri-every-
                        leaf-a-hallelujah-pam-munoz-ryan-
2022-03-05   2022-03-13 solimar.html                                 Seeing the Forest for the Trees             By Maggie Stiefvater   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/books/r
2022-03-06   2022-03-13 eview/noviolet-bulawayo-glory.html           Animal Kingdom                              By Violet Kupersmith   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/opinion
2022-03-07   2022-03-13 /cheap-speech-fake-news-democracy.html       The Price of Cheap Speech                   By Richard L Hasen     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/opinion
2022-03-07   2022-03-13 /opioid-crisis-pain-victims.html             The Other Victims of the Opioid Crisis      By Maia Szalavitz      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/realesta
2022-03-07   2022-03-13 te/shopping-for-teapots.html                 Short Stout And All That                    By Tim McKeough        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/books/r
2022-03-08   2022-03-13 eview/ocean-state-stewart-onan.html          Rip Tide                                    By Mary Pols           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/books/r
                        eview/the-old-woman-with-the-knife-gu-
                        byeong-mo-strangers-i-know-claudia-          Speaking in Tongues Novels in Translation
2022-03-08   2022-03-13 durastanti-pyre-perumal-murugan.html         From Around the World                       By Carlos Rojas        TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/08/nyregio Protesting the War via Dumplings and
2022-03-08   2022-03-13 n/russian-ukraine-restaurants-new-york.html Borscht                                      By Alyson Krueger      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/opinion
2022-03-08   2022-03-13 /people-never-get-covid.html                Do Genes Protect Some From Covid             By Daniela J Lamas     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/realesta
                        te/san-francisco-american-gigolo-
2022-03-08   2022-03-13 rennovation.html                            Renovation Inspired by American Gigolo       By Tim McKeough        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/t-
                        magazine/opening-ceremony-dinner-los-
2022-03-08   2022-03-13 angeles.html                                A Celebration of Renewal                     By Esther Tseng        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/arts/mu
2022-03-09   2022-03-13 sic/the-linda-lindas-growing-up.html        The Linda Lindas Step Forward                By Melena Ryzik        TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/09/arts/tele Leslie Jones LiveTweets and Chases Old
2022-03-09   2022-03-13 vision/leslie-jones-our-flag-means-death.html Vinyl                                     By Kathryn Shattuck     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/dining/f Fred Ferretti Reporter Turned Food Writer
2022-03-09   2022-03-13 red-ferretti-dead.html                        Dies at 90                                By Sam Roberts          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/movies/ He Came Out of Nowhere And Was Quickly
2022-03-09   2022-03-13 al-pacino-the-godfather.html                  Someone                                   By Dave Itzkoff         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/movies/
2022-03-09   2022-03-13 godfather-mafia.html                          Art Copied The Mafia The Mafia Copied Art By Michael Wilson       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/movies/
2022-03-09   2022-03-13 godfather-quotes.html                         The Godfather Immortalized In Seven Lines By The New York Times   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/opinion
2022-03-09   2022-03-13 /pandemic-memory.html                         Let Pandemic Memories Fade                By Scott A Small        TX 9-152-782   2022-05-02




                                                                                 Page 3486 of 5793
                        https://www.nytimes.com/2022/03/09/realesta Rarefied Living A Supertall Tower Rises in
2022-03-09   2022-03-13 te/brooklyn-tower-supertall-condo-nyc.html Brooklyn                                         By Stefanos Chen             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/realesta
                        te/englewood-nj-a-cosmopolitan-suburb-close- Another Bergen County Borough of New
2022-03-09   2022-03-13 to-the-city.html                                 York                                       By Jill P Capuzzo            TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/realesta
                        te/house-hunting-in-the-virgin-islands-hillside-
2022-03-09   2022-03-13 splendor-for-under-2-million.html                Caribbean Splendor That Offers Ocean Views By Alison Gregor             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/style/as
2022-03-09   2022-03-13 tier-de-villatte-ceramics.html                   Dishware for a Certain Taste               By Chantel Tattoli           TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/style/co After Tying the Knot Tying It a Time or Two
2022-03-09   2022-03-13 vid-sequel-weddings.html                         More                                       By Jenny Block               TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/09/theater/
2022-03-09   2022-03-13 amazon-audible-theater.html                      Audibles Pivot From the Page To the Stage By Michael Paulson            TX 9-152-782     2022-05-02

                        https://www.nytimes.com/interactive/2022/03/ How Well Do You Know The Godfather The
2022-03-09   2022-03-13 09/movies/godfather-anniversary-quiz.html Quiz Nobody Asked For                          By Tala Safie                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
                        09/upshot/where-americans-have-noticed-      Bacon Gas and Essentials Where 2200         By Emily Badger Aatish Bhatia and
2022-03-09   2022-03-13 inflation.html                               Americans Have Noticed Inflation            Quoctrung Bui                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/opinion
2022-03-10   2022-03-13 /william-barber-selma.html                   Walking With A ModernDay Moses              By Charles M Blow                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/arts/dan
2022-03-10   2022-03-13 ce/choreographers-guild.html                 A Labor Movement For Choreographers         By Margaret Fuhrer                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/arts/tele
                        vision/samuel-l-jackson-walter-mosley-
2022-03-10   2022-03-13 ptolemy-grey.html                            Unlocking a Lifetime of Memories            By Chris Vognar                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/books/r
2022-03-10   2022-03-13 eview/o-n-pruitt-possum-town.html            Visuals In Black and White                  By Lauren Christensen             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/busines
2022-03-10   2022-03-13 s/remote-work-office-life.html               Who Is the Office For                       By Emma Goldberg                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/opinion
2022-03-10   2022-03-13 /asian-american-hate-crimes.html             Im Done Being Your Model Minority           By Patricia Park                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/opinion                                               By Gladys Carrin and Vincent
2022-03-10   2022-03-13 /crime-teeangers-jail.html                   Trying Minors as Adults Wont Reduce Crime Schiraldi                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/opinion
2022-03-10   2022-03-13 /putin-russia-ukraine.html                   No Man Is an Island Except Putin            By Mikhail Zygar                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/realesta
2022-03-10   2022-03-13 te/vacancy-rate-by-state.html                Focusing on All Those Empty Homes           By Michael Kolomatsky             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/style/fa
2022-03-10   2022-03-13 mily-fight-social-qs.html                    Caught in the Middle                        By Philip Galanes                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/technol
2022-03-10   2022-03-13 ogy/walkman-nostalgia.html                   Theyre Past Their Prime but Still in Demand By Shira Ovide                    TX 9-152-782   2022-05-02




                                                                                  Page 3487 of 5793
                        https://www.nytimes.com/2022/03/10/theater/
2022-03-10   2022-03-13 king-james-play-chicago-steppenwolf.html    His Passion Produces a Friendship           By Sarah Bahr                     TX 9-152-782     2022-05-02

                        https://www.nytimes.com/interactive/2022/03/ A FirstTime Buyer Invested Her Savings in
2022-03-10   2022-03-13 10/realestate/10hunt-jason.html              Brooklyn Which Option Would You Choose By Joyce Cohen                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/opinion
2022-03-11   2022-03-13 /covid-new-york.html                         Why New York Needs A Covid Memorial        By The Editorial Board              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/arts/des Stuck in AD 79 But Keeping Up With the
2022-03-11   2022-03-13 ign/pompeii-italy-gabriel-zuchtreigel.html   Times                                      By Elisabetta Povoledo              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/arts/mu Maybe the 20th Centurys Most Influential
2022-03-11   2022-03-13 sic/wozzeck-opera-berg.html                  Opera                                      By David Allen                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/arts/tele Actor Convicted of Faking Hate Crime Is in
2022-03-11   2022-03-13 vision/jussie-smollett-jail.html             Protective Custody at Cook County Jail     By Julia Jacobs and Robert Chiarito TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/books/b Bruce Duffy 70 Hailed for His Ambitious
2022-03-11   2022-03-13 ruce-duffy-dead.html                         First Novel                                By Richard Sandomir                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/books/r
2022-03-11   2022-03-13 eview/new-paperbacks.html                    Paperback Row                              By Miguel Salazar                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/nyregio New Yorks Electric Car Future Faces Several
2022-03-11   2022-03-13 n/electric-cars-nyc.html                     Challenges                                 By Ginia Bellafante                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/nyregio
2022-03-11   2022-03-13 n/katja-hirche-bernd-goeckler.html           A Gallerist Likes to Take In the Sights    By Nancy Ruhling                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/opinion
2022-03-11   2022-03-13 /nato-russia-the-west-ukraine.html           The Return of the West                     By Thomas Meaney                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/opinion
                        /north-carolina-pennsylvania-
2022-03-11   2022-03-13 gerrymandering.html                          A Theory of Election Sabotage Lives On     By Jamelle Bouie                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/realesta
2022-03-11   2022-03-13 te/buying-land.html                          Finding The Ideal Vacant Lot               By Daniel Bortz                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/realesta An Induction Stove Is the First Step to a
2022-03-11   2022-03-13 te/induction-stoves.html                     PlugIn House                               By Ronda Kaysen                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/sports/o
                        lympics/china-paralympics-disabled-          In China Paralympic Glory Cant Hide Fight
2022-03-11   2022-03-13 access.html                                  for Rights                                 By Amy Chang Chien                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/sports/s
2022-03-11   2022-03-13 occer/roman-abramovich-chelsea.html          What Happens After the Oligarch Era        By Rory Smith                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/sports/t Ukrainian Tennis Stars Take Their Battle to
2022-03-11   2022-03-13 ennis/tennis-ukraine-russia-kostyuk.html     the Court                                  By Christopher Clarey               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/style/a AmfAR Heads to Billionaires Row in Palm
2022-03-11   2022-03-13 mfar-billionaires-row-palm-beach.html        Beach                                      By Bob Morris                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/style/de
2022-03-11   2022-03-13 borah-hsieh-stephen-dang-wedding.html        The Pandemic Made Them a Family            By Kristen Bayrakdarian             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/style/gi Bonding in History Class but Taking Eons to
2022-03-11   2022-03-13 anna-wyatt-kyle-orangio-weddinig.html        Marry                                      By Linda Marx                       TX 9-152-782   2022-05-02




                                                                                Page 3488 of 5793
                        https://www.nytimes.com/2022/03/11/style/ke
2022-03-11   2022-03-13 lly-macdonald-ashleigh-dopp-wedding.html She Had a Halo He Had the Loonies               By Jenny Block                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/style/m My Father Used Google to Ease My Ailing
2022-03-11   2022-03-13 odern-love-heart-attack-gay-nigeria.html     Heart                                       By Chisom Peter Job            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/style/ru
2022-03-11   2022-03-13 pert-grint-glasses.html                      Like Choosing a Wand                        By Alexis Soloski              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/style/st Cast as Sidekicks but Soon Playing the
2022-03-11   2022-03-13 ephanie-osimiri-jason-capps-wedding.html     Romantic Leads                              By Judy Mandell                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/world/e For Syrians the Sight Of Cities Under Siege
2022-03-11   2022-03-13 urope/syria-ukraine-war.html                 Stirs Painful Memories                      By Raja Abdulrahim             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
2022-03-11   2022-03-13 11/magazine/adele-abba.html                  Adele and Abbas Songs of Experience         By Jeremy Gordon               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
2022-03-11   2022-03-13 11/magazine/bartees-strange.html             Bartees Strange Belongs to a Genre of One   By Wesley Morris               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ My Favorite Rap Songs Are All Fight and No
2022-03-11   2022-03-13 11/magazine/battle-ready-music.html          Flight                                      By Danyel Smith                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ Beach House on Making Music People Love
2022-03-11   2022-03-13 11/magazine/beach-house.html                 to Cry To                                   By Adlan Jackson               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
2022-03-11   2022-03-13 11/magazine/best-songs.html                  The Songs That Get Us Through It            By The New York Times Magazine TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
2022-03-11   2022-03-13 11/magazine/doja-cat.html                    Is Doja Cat Uncancelable                    By Charlotte Shane             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
2022-03-11   2022-03-13 11/magazine/earl-sweatshirt.html             Earl Sweatshirt Doesnt Want to Be a God     By Ismail Muhammad             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ How Labrinth Figured Out the Sound of
2022-03-11   2022-03-13 11/magazine/euphoria-music.html              Euphoria                                    By Jamie Lauren Keiles         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
2022-03-11   2022-03-13 11/magazine/jorja-smith-burnout.html         A Musical Cure for Burnout                  By Jackson Howard              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ Kanye and Andr 3000 Are Lonely and in
2022-03-11   2022-03-13 11/magazine/kanye-andre.html                 Limbo                                       By Niela Orr                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ The Women of Pop Are Imagining Life
2022-03-11   2022-03-13 11/magazine/lorde-fame.html                  Without Fame                                By Larry Fitzmaurice           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
2022-03-11   2022-03-13 11/magazine/mary-j-blige.html                Mary J Blige on the Beauty of Vulnerability By Angela Flournoy             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
2022-03-11   2022-03-13 11/magazine/mitski.html                      Mitski Is More Than TikTok                  By Lindsay Zoladz              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
2022-03-11   2022-03-13 11/magazine/noname-dean-blunt.html           Dean Blunt and NoName Give Us Some Hope By Alexandra Kleeman               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ Why Was Olivia Rodrigo Singing About Billy
2022-03-11   2022-03-13 11/magazine/olivia-rodrigo.html              Joel                                        By Steven Hyden                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
2022-03-11   2022-03-13 11/magazine/pink-siifu.html                  Pink Siifus Sonic Gumbo                     By Stephen Kearse              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
2022-03-11   2022-03-13 11/magazine/plants-protest.html              A New Stealthy Kind of Protest Music        By Carina del Valle Schorske   TX 9-152-782   2022-05-02



                                                                              Page 3489 of 5793
                        https://www.nytimes.com/interactive/2022/03/
2022-03-11   2022-03-13 11/magazine/sad-bangers.html                 The Delicious Misery of the Sad Banger        By Hanif Abdurraqib          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
2022-03-11   2022-03-13 11/magazine/scam-rap.html                    The Digital Antiheroes of Scam Rap            By Jody Rosen                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
                        11/magazine/taylor-swift-tyler-the-          Taylor Swift and Tyler the Creator Excavate
2022-03-11   2022-03-13 creator.html                                 Old Love                                      By Laura Snapes              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ Turnstile on the Comfort of Hardcore Punk
2022-03-11   2022-03-13 11/magazine/turnstile.html                   Shows                                         By Jenn Pelly                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/interactive/2022/03/
2022-03-11   2022-03-13 11/magazine/we-dont-talk-about-bruno.html Eventually We All Talk About Bruno             By Sam Anderson                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ Manhattans Chinese Street Signs Are
2022-03-11   2022-03-13 11/nyregion/nyc-chinatown-signs.html         Disappearing                                By Aaron Reiss and Denise Lu   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/us/west- Several West Point Cadets Overdose at Spring
2022-03-12   2022-03-13 point-cadets-fentanyl-overdose.html          Break                                       By Vimal Patel                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/busines
2022-03-12   2022-03-13 s/mcdonald-kytch-ice-cream-lawsuit.html      McBroken Soft Serve Is at Center Of Lawsuit By Maria Cramer                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/busines Life at Russian State TV Blocks From the
2022-03-12   2022-03-13 s/rt-america-russian-tv.html                 White House                                 By Cecilia Kang                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/busines
2022-03-12   2022-03-13 s/russian-business-boycotts.html             Boycotts Over the War May Miss the Mark By Jeremy W Peters                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/health/ Donald Pinkel Who Developed a Cure for
2022-03-12   2022-03-13 donald-pinkel-dead.html                      Childhood Leukemia Dies at 94               By Clay Risen                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/insider/
2022-03-12   2022-03-13 bilingual-signs-chinatown.html               Walking 12 Miles Through Chinatown          By Aaron Reiss and Denise Lu   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/opinion
                        /california-democrats-liberals-              Californias Blue Wave May Be About to
2022-03-12   2022-03-13 progressives.html                            Crash                                       By Miriam Pawel                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/opinion
2022-03-12   2022-03-13 /zelensky-ukraine-russia-biden.html          Zelensky Answers Hamlet                     By Maureen Dowd                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/12/realesta What Are the Pitfalls of Buying A
2022-03-12   2022-03-13 te/tenant-occupied-apartment-pros-cons.html TenantOccupied Apartment                    By Ronda Kaysen                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/sports/b Labor Talks Over Scherzer Ready to Focus on
2022-03-12   2022-03-13 aseball/max-scherzer-mets.html              Baseball                                    By James Wagner                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/sports/i With Stirring Win Italian Sled Hockey Hopes
2022-03-12   2022-03-13 taly-sled-hockey.html                       for a Future                                By David Waldstein              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/sports/n LSU Fires Coach After NCAA Accuses Him
2022-03-12   2022-03-13 caabasketball/lsu-will-wade-fired.html      of Violations                               By Billy Witz                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/style/m
2022-03-12   2022-03-13 aluma-clothing-line-fashion.html            Playing Among Genres and Genders            By Sandra E Garcia              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/style/nf
2022-03-12   2022-03-13 t-art-profit.html                           More Art Than Science                       By Alyson Krueger               TX 9-152-782   2022-05-02




                                                                                  Page 3490 of 5793
                        https://www.nytimes.com/2022/03/12/style/pa
                        ris-fashion-week-standing-out-in-the-        The Sidewalks Sparkle Outside the Paris    By Simbarashe Cha and Elizabeth
2022-03-12   2022-03-13 crowds.html                                  Shows                                      Bristow                         TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/12/us/buff Microscopic Killer Decimates Buffalo Herds
2022-03-12   2022-03-13 alo-bison-mycoplasma-south-dakota.html       and Baffles Scientists                     By Mitch Smith                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/12/us/cens For Accuracy the Days of the DoortoDoor
2022-03-12   2022-03-13 us-data-counting-changes.html                CensusTaker May Be Numbered                By Michael Wines                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/12/us/covi Two Years Into the Pandemic Relief
2022-03-12   2022-03-13 d-pandemic-vaccines-mandates.html            Frustration and Fear as Mandates Ease      By Jack Healy and Ashley Wong TX 9-152-782       2022-05-02
                        https://www.nytimes.com/2022/03/12/us/polit
                        ics/biden-pelosi-democrats-midterm-          Party Presses Biden to Hone Midterm
2022-03-12   2022-03-13 elections.html                               Message                                    By Jonathan Martin              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/12/us/polit                                             By Michael Crowley and Edward
2022-03-12   2022-03-13 ics/biden-ukraine-diplomacy.html             New Era as US Rethinks Allies and Rivals   Wong                            TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/12/world/a                                              By Mujib Mashal and Salman
2022-03-12   2022-03-13 sia/india-pakistan-missile.html              A Cruise Missile Is Fired Yet Peace Ensues Masood                          TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/12/world/a In New Caledonia a Stark Gap Is Laid Bare
2022-03-12   2022-03-13 ustralia/new-caledonia-coronavirus.html      by Covid                                   By Hannah Beech and Adam Dean TX 9-152-782       2022-05-02
                        https://www.nytimes.com/2022/03/12/world/e Experts Fear the Chaos In Ukraine Could Fuel
2022-03-12   2022-03-13 urope/covid-ukraine-russia-war.html          A Resurgence of Covid                      By Carlotta Gall                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/12/world/e
                        urope/france-elections-greens-               Green Party Loses Steam in France Even as
2022-03-12   2022-03-13 environment.html                             Its Cause Gains Momentum                   By Constant Mheut               TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/12/world/e
                        urope/ukraine-europe-nuclear-war-            In Europe New Fears Of Nuclear War Incite
2022-03-12   2022-03-13 anxiety.html                                 Run on Bomb Shelters                       By Jason Horowitz               TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/12/world/e
                        urope/ukraine-lutsk-ivano-frankivsk-russian- Once a Refuge Ukraines West Tastes
2022-03-12   2022-03-13 attacks.html                                 Violence                                   By Valerie Hopkins              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/12/world/e
                        urope/ukraine-mayor-kidnapped-ivan-          Mayor of Melitopol Called Russians         By Marc Santora and Neil
2022-03-12   2022-03-13 fyodorov.html                                Occupiers and Now He Is Gone               MacFarquhar                     TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/12/world/e Street Battles Reach Suburb Within Earshot
2022-03-12   2022-03-13 urope/ukraine-russia-forces-battle-kyiv.html Of Capital                                  By Andrew E Kramer               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/world/e                                               By Marc Santora Michael Schwirtz
2022-03-12   2022-03-13 urope/ukraine-russia-kyiv.html               US Will Send More Arms Defying Moscow       and Michael Levenson             TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/12/world/e Limbo for 19 Surrogate Babies in Kyiv         By Andrew E Kramer Maria
2022-03-12   2022-03-13 urope/ukraine-surrogate-mothers-babies.html Basement                                     Varenikova and Lynsey Addario   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/13/busines Building a Generational Partnership for the
2022-03-13   2022-03-13 s/generation-x-retirement.html              Aged                                         By Tammy La Gorce               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/13/busines
2022-03-13   2022-03-13 s/parental-leave-email.html                 Coping With the High Jinks Next Door         By Roxane Gay                   TX 9-152-782    2022-05-02




                                                                                 Page 3491 of 5793
                        https://www.nytimes.com/2022/03/13/busines
2022-03-13   2022-03-13 s/richard-thaler-investments-advice.html   When You Invest Ignore the News              By Jeff Sommer                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/busines
                        s/the-week-in-business-economic-sanctions- The Week in Business Economic Sanctions
2022-03-13   2022-03-13 russia-ukraine.html                        Take a Toll                                  By Sarah Kessler                   TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/13/realesta
2022-03-13   2022-03-13 te/homes-that-sold-for-around-775000.html Homes That Sold for Around 775000              By C J Hughes                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/us/suici Who Will Answer at the New 988 Crisis
2022-03-13   2022-03-13 de-hotline-mental-health-988.html            Hotline                                     By Steve Eder                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/travel/h Recreating Her Familys Lost Holocaust
2022-03-01   2022-03-14 olocaust-pyrenees-jewish-refugees.html       History                                     By Jessica Shaw                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/theater/
2022-03-10   2022-03-14 belarus-free-theatre-exile.html              An Exiled Theater Has a Warning for Europe By Alex Marshall                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/crossw
2022-03-11   2022-03-14 ords/bra-crossword-puzzle-history.html       Undergarment Three Letters                  By Alexis Benveniste              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/movies/
2022-03-11   2022-03-14 rita-moreno-oscar-west-side-story.html       When Rita Moreno Made Oscar History         By Sarah Bahr                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/technol
2022-03-11   2022-03-14 ogy/bitcoin-ukraine-russia-roose.html        Amid War Crypto Value Falls Steadily        By Kevin Roose                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/travel/tr As Omicron Subsides Travel Insurance
2022-03-11   2022-03-14 avel-insurance-covid-omicron.html            Claims Crawl                                By Elaine Glusac                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/arts/dan Yuriko 102 Dancer Choreographer and the
2022-03-12   2022-03-14 ce/yuriko-dead.html                          Keeper of Grahams Flame                     By Anna Kisselgoff                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/books/c Sisters Book Prompts a Thaw in a Mexican
2022-03-12   2022-03-14 ristina-rivera-garza-book-murder.html        Cold Case                                   By Benjamin P Russell             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/busines
                        s/dealbook/the-bond-king-bill-gross-
2022-03-12   2022-03-14 book.html                                    Bond King Tells of Investors Rise and Fall  By Michael J de la Merced         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/busines Commercial Planes Stranded in Russia Likely
2022-03-12   2022-03-14 s/russia-airlines-planes.html                a Lost Cause                                By Niraj Chokshi                  TX 9-152-782   2022-05-02
                                                                                                                 By Karen Zraick Ashley Southall
                        https://www.nytimes.com/2022/03/12/nyregio                                               Nadav Gavrielov and Zachary
2022-03-12   2022-03-14 n/moma-stabbing.html                         Police Identify Suspect in Stabbing at MoMA Small                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/world/
2022-03-13   2022-03-14 middleeast/saudi-arabia-executions.html      81 People Are Executed in Saudi Arabia      By Vivian Yee                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/arts/des
2022-03-13   2022-03-14 ign/frida-escobedo-met-museum.html           Met Picks Architect Of New Wing             By Robin Pogrebin                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/arts/mu Amid Inquiry Trinity Churchs Conductor Is
2022-03-13   2022-03-14 sic/julian-wachner-trinity-church.html       Put on Leave                                By Javier C Hernndez              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/arts/mu
2022-03-13   2022-03-14 sic/met-opera-ukraine-russia.html            Lifting His Voice For His People            By Javier C Hernndez              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/arts/mu
2022-03-13   2022-03-14 sic/unsuk-chin-violin-concerto.html          Writing a Concerto and Making an Exception By David Allen                     TX 9-152-782   2022-05-02




                                                                                Page 3492 of 5793
                        https://www.nytimes.com/2022/03/13/arts/wil William Hurt OscarWinning Leading Man in By Lew Serviss and Neil
2022-03-13   2022-03-14 liam-hurt-dead.html                         Popular 1980s Films Is Dead at 71        Genzlinger                        TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/13/busines In California More Leave Grid As Solar
2022-03-13   2022-03-14 s/energy-environment/california-off-grid.html Power Gets Cheaper                          By Ivan Penn                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/busines
                        s/media/fox-news-first-amendment-             Scholars Side With Media Just Not In This
2022-03-13   2022-03-14 sullivan.html                                 Case                                        By Jeremy W Peters           TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/13/busines
2022-03-13   2022-03-14 s/tim-leissner-roger-ng-goldman-sachs.html Case Hinges On a Banker Whos Lied              By Matthew Goldstein         TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/13/nyregio
2022-03-13   2022-03-14 n/russian-ukrainian-orthodox-churches.html At Orthodox Churches Pain or Silence Is Felt By Liam Stack                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/obituari Brent Renaud AwardWinning Crusading
2022-03-13   2022-03-14 es/brent-renaud-dead.html                   Filmmaker Is Dead at 50                     By Alex Traub                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/opinion
2022-03-13   2022-03-14 /berkeley-enrollment-climate-crisis.html    The Past and the Future at Odds             By Ezra Klein                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/opinion                                              By Farah Stockman and Davide
2022-03-13   2022-03-14 /poland-russia-ukraine.html                 The War Next Door                           Monteleone                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/opinion
2022-03-13   2022-03-14 /republicans-democracy.html                 Seven Steps To Destroy A Democracy          By Charles M Blow              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/13/sports/f
2022-03-13   2022-03-14 ootball/tom-brady-returning-buccaneers.html Weeks After Retiring Brady Says Hes Back By Kevin Draper                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/sports/n
                        caabasketball/selection-sunday-march-       A Sense of Spectacle Could Be the Biggest
2022-03-13   2022-03-14 madness.html                                March Comeback Story                          By Billy Witz                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/sports/n
                        caabasketball/selection-sunday-womens-      UConn Seeking 14th Straight Final Four
2022-03-13   2022-03-14 march-madness.html                          Knows It Wont Be Easy                         By Alan Blinder              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/sports/o The Skiing Aigners Are a Paralympic Nation
2022-03-13   2022-03-14 lympics/aigner-family-paralympics.html      Unto Themselves                               By David Waldstein           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/sports/s
                        occer/chelsea-newcastle-roman-abramovich- Chelsea Takes Jittery First Steps Into the
2022-03-13   2022-03-14 saudi.html                                  Unknown                                       By Tariq Panja               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/sports/t Osaka Is Brought to Tears by a Heckler on the
2022-03-13   2022-03-14 ennis/naomi-osaka-indian-wells.html         Way to an Early Loss at Indian Wells          By Christopher Clarey        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/sports/u Another Gold in Sled Hockey for US Draws
2022-03-13   2022-03-14 nited-states-canada-sled-hockey.html        Tears From Rock Wall Goalie                   By David Waldstein           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/theater/
2022-03-13   2022-03-14 misdemeanor-dream-review.html               A Patchwork Missing a Few Threads             By Maya Phillips             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/us/calif Perilous Moment for Californias 105 Billion
2022-03-13   2022-03-14 ornia-high-speed-rail-newsom.html           HighSpeed Rail Plan                           By Jill Cowan                TX 9-152-782   2022-05-02




                                                                                 Page 3493 of 5793
                        https://www.nytimes.com/2022/03/13/us/gretc In Kidnapping Trial Was It Conspiracy Plot or
2022-03-13   2022-03-14 hen-whitmer-kidnapping-trial.html           Just Talk                                     By Frances Robles                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/us/polit Biden Team Defends Trumps Immigration
2022-03-13   2022-03-14 ics/biden-trump-immigration.html            Policies                                      By Zolan KannoYoungs               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/us/polit Russia Asked China for Combat Aid US          By Edward Wong and Julian E
2022-03-13   2022-03-14 ics/russia-china-ukraine.html               Officials Say                                 Barnes                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/us/polit                                               By David E Sanger and Eric
2022-03-13   2022-03-14 ics/russia-ukraine-us-endgame.html          How Far Will Putin Go West Is Left Guessing Schmitt                              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/world/a The Taliban Want Them to Fly Again but         By David Zucchino and Yaqoob
2022-03-13   2022-03-14 sia/afghan-air-force-taliban.html           Aviators Go Into Hiding                       Akbary                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/world/a Iran Fires on Complex Near a US Consulate
2022-03-13   2022-03-14 sia/iran-missiles-us-consulate-iraq.html    In KurdishHeld Iraq                           By Farnaz Fassihi and Jane Arraf   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/world/e Russians Who Want to Be Anywhere but           By Anton Troianovski and Patrick
2022-03-13   2022-03-14 urope/russia-exiles-putin-ukraine-war.html  Russia                                        Kingsley                           TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/13/world/e The Entire Sky Was in Flames Attack Spreads By Valerie Hopkins and Yousur
2022-03-13   2022-03-14 urope/russia-ukraine-military-base-attack.html Pain and Fear                            AlHlou                               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/world/e
                        urope/russian-airstrike-poland-ukraine-                                                 By Marc Santora Jack Nicas and
2022-03-13   2022-03-14 nato.html                                      Moscow Hits Military Base Near Poland    Eric Schmitt                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/world/e Britain Cracks Down on Oligarchs But         By Mark Landler and Stephen
2022-03-13   2022-03-14 urope/uk-oligarchs-russia-ukraine.html         DirtyMoney Problem Persists              Castle                               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/arts/tele
                        vision/whats-on-tv-this-week-phoenix-rising-
2022-03-14   2022-03-14 welcome-to-flatch.html                         This Week on TV                          By Gabe Cohn                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/busines Plastic Factory on Edge As Energy Shock
2022-03-14   2022-03-14 s/russia-ukraine-supply-chain-plastic.html     Looms                                    By Peter S Goodman                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/sports/r Should They Pay a Price Just Because Theyre
2022-03-14   2022-03-14 ussian-athletes-banned.html                    Russian                                  By Kurt Streeter                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/us/india A Familys Fatal Crossing on Americas
2022-03-14   2022-03-14 migrants-canada-border.html                    Desolate Northern Border                 By Miriam Jordan                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/us/polit
                        ics/coronavirus-vaccine-children-moderna-      Quest for a Goldilocks Dose To Safeguard By Sharon LaFraniere and Noah
2022-03-14   2022-03-14 pfizer.html                                    Young Children                           Weiland                              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/01/31/travel/u Enticed by a Fishing Oasis in a Land of
2022-01-31   2022-03-15 rban-fishing-los-angeles.html                  Concrete                                 By Madeline Tolle                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/well/liv
2022-03-04   2022-03-15 e/jealousy-friendships.html                    To Save Friendships Understand Jealousy  By Juli Fraga and Connie Chang       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/06/science Dazzling Display In Rock Art From South
2022-03-07   2022-03-15 /ice-age-rock-art.html                         America Odd Creatures Real or Imagined   By Becky Ferreira                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/well/eat
2022-03-07   2022-03-15 /berry-mold-spoil-box.html                     Will One Moldy Berry Ruin the Rest       By Alice Callahan                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/science Walk Like Me Theyre Sort of Like Cheetahs
2022-03-08   2022-03-15 /gallop-evolution-cheetahs.html                But in a Slithery Kind of Way            By Sam Jones                         TX 9-152-782   2022-05-02




                                                                                 Page 3494 of 5793
                        https://www.nytimes.com/2022/03/08/science Presidential Fossil Biden Gets His Own
2022-03-08   2022-03-15 /vampire-squid-biden.html                   Species Hes Still Eight Behind Obama      By Sabrina Imbler        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/08/well/m
2022-03-08   2022-03-15 ove/pull-ups-technique.html                 The PullUp Paradox                        By Christie Aschwanden   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/science
2022-03-09   2022-03-15 /pigs-oinks-grunts.html                     Decoding Pig Squeals And What They Reveal By Corinne Purtill       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/09/science Restless Nights When Sleeping With Sharks
2022-03-09   2022-03-15 /sharks-sleep.html                          Keep Both Eyes Wide Open                  By Veronique Greenwood   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/busines
2022-03-10   2022-03-15 s/private-equity.html                       The New Financial Supermarkets            By Maureen Farrell       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/science
2022-03-11   2022-03-15 /california-wolves-misinformation.html      Wolves Make A Comeback In California      By Hillary Richard       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/science
2022-03-11   2022-03-15 /deltacron-coronavirus-variant.html         Deltacron Variant Is Said to Be Rare      By Carl Zimmer           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/world/e
2022-03-11   2022-03-15 urope/ukraine-war-journalism.html           How We Verify Ukraine Reporting           By The New York Times    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/arts/mu Ron Miles Jazz Master Whose Cornet
2022-03-12   2022-03-15 sic/ron-miles-dead.html                     Radiated Soulful Elegance Dies at 58      By Giovanni Russonello   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/health/e
2022-03-12   2022-03-15 lderly-health-care-pace.html                Meet the Underdog of Senior Care          By Paula Span            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/opinion This Dont Say Gay Bill Will Hurt Teenagers
2022-03-12   2022-03-15 /florida-dont-say-gay-bill.html             Like Me                                   By Will Larkins          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/12/science Condemnation of Russia Grows in Scientific
2022-03-12   2022-03-15 /physics-cern-russia.html                   Circles                                   By Dennis Overbye        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/style/to Tova Borgnine 80 QVC Star Who Built A
2022-03-13   2022-03-15 va-borgnine-dead.html                       Beauty Venture on a Cactus Face Mask      By Penelope Green        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/theater/ In Rough Grief Making a Sacrament of
2022-03-13   2022-03-15 review-a-song-of-songs.html                 Remembrance                               By Laura CollinsHughes   TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/13/busines IPhone Assembler Halts Work During
2022-03-14   2022-03-15 s/foxconn-apple-china-covid-lockdown.html Lockdown                                     By Tiffany May          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/arts/mu Parton Bows Out of Rock amp Roll Hall of
2022-03-14   2022-03-15 sic/dolly-parton-hall-of-fame.html         Fame Consideration                          By Joe Coscarelli       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/arts/mu
                        sic/juilliard-damian-woetzel-bruce-
2022-03-14   2022-03-15 kovner.html                                Board Supports Juilliard President          By Robin Pogrebin       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/arts/mu
                        sic/mitsuko-uchida-mark-padmore-carnegie-
2022-03-14   2022-03-15 review.html                                For This Master Class You Use Masterworks   By Joshua Barone        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/arts/mu
2022-03-14   2022-03-15 sic/paavo-jarvi-putin-ukraine-russia.html  Conductor Explains His Stay in Russia       By Javier C Hernndez    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/arts/mu
2022-03-14   2022-03-15 sic/trinity-church-julian-wachner.html     Trinity Church Fires Conductor              By Javier C Hernndez    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/books/r
2022-03-14   2022-03-15 eview-whats-so-funny-david-sipress.html    Of a LessThanHappy Childhood                By Alexandra Jacobs     TX 9-152-782   2022-05-02



                                                                              Page 3495 of 5793
                        https://www.nytimes.com/2022/03/14/busines Citigroup to Expand Scope of Its Russia
2022-03-14   2022-03-15 s/citigroup-russia-exit.html               Pullout                                       By Lananh Nguyen                    TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/14/busines Will Powell Be Forced To Duplicate A Fed
2022-03-14   2022-03-15 s/economy/powell-fed-inflation-volcker.html Giant                                        By Jeanna Smialek                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/busines
                        s/large-auto-supplier-warns-of-a-financial-hit- Auto Supplier Leoni Warns of Partial
2022-03-14   2022-03-15 from-the-ukraine-war.html                       Production Losses at Ukraine Plants      By Jack Ewing                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/busines Manchin Says He Will Not Support Nominee By Emily Cochrane and Jeanna
2022-03-14   2022-03-15 s/manchin-raskin-fed.html                       for a Top Fed Job                        Smialek                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/busines US Boss Keeps 190 Pizza Shops Open in
2022-03-14   2022-03-15 s/papa-johns-russia.html                        Russia                                   By Julie Creswell                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/busines Companies Partly Exiting Russia Face
2022-03-14   2022-03-15 s/russia-companies-exit.html                    Pressure to Fully Leave                  By Lauren Hirsch                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/climate A Project for Green Jobs Meets Local
2022-03-14   2022-03-15 /rivian-georgia-kemp-perdue.html                Opposition                               By David Gelles                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/climate Global Boom in Tree Planting Has Potential
2022-03-14   2022-03-15 /tree-planting-reforestation-climate.html       to Help and to Harm                      By Catrin Einhorn                   TX 9-152-782   2022-05-02
                                                                        Democrats Want Investigation Into Postal
                        https://www.nytimes.com/2022/03/14/climate Services Contract for GasolinePowered
2022-03-14   2022-03-15 /usps-trucks-electric-vehicles.html             Trucks                                   By Lisa Friedman                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/health/ Malaria Cure For Children Is Approved In
2022-03-14   2022-03-15 malaria-children-tafenoquine.html               Australia                                By Apoorva Mandavilli               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/movies/
2022-03-14   2022-03-15 power-of-the-dog-cinematographer.html           She Knows The Actors And Cattle          By Nicole Sperling                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/nyregio Health Chief Of New York Praises Effect Of
2022-03-14   2022-03-15 n/chokshi-leaving-health-nyc.html               Vaccines                                 By Emma G Fitzsimmons               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/nyregio As Police Hunt for Killer Fear Rattles        By Andy Newman and Ashley
2022-03-14   2022-03-15 n/gunman-search-homeless-shooting.html          Homeless in 2 Cities                     Southall                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/nyregio
                        n/new-yorks-grand-capitol-slowly-awakens- Emptied by Covid a Once Bustling Capital       By Luis FerrSadurn and Tristan
2022-03-14   2022-03-15 from-pandemic-slumber.html                      Clears the Cobwebs                       Spinski                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/nyregio NYPD Revamps AntiGun Unit That Has
2022-03-14   2022-03-15 n/nypd-anti-gun-unit.html                       Drawn Criticism                          By Troy Closson                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/opinion
2022-03-14   2022-03-15 /biden-putin-gas-prices-inflation.html          How Not to Have a Putin Recession        By Paul Krugman                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/opinion
2022-03-14   2022-03-15 /north-korea.html                               Kim Jongun Is Just Getting Started       By Jean H Lee                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/opinion
2022-03-14   2022-03-15 /putin-biden-cuomo-texas.html                   Too Many Things to Worry About           By Gail Collins and Bret Stephens   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/science Cases of Dengue Fell in 2020 as Pandemic
2022-03-14   2022-03-15 /covid-dengue-virus.html                        Restrictions Kept People Home            By Stephanie Nolen                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/sports/b
2022-03-14   2022-03-15 aseball/aaron-pointer-mlb-pension.html          An MLB Pension Check That He Laughs At By David Gardner                      TX 9-152-782   2022-05-02




                                                                                 Page 3496 of 5793
                        https://www.nytimes.com/2022/03/14/sports/b A Quiet OffSeason Pushes Into a Spring
2022-03-14   2022-03-15 aseball/josh-donaldson-yankees.html         Packed With Deals                           By Tyler Kepner                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/14/sports/f
                        ootball/tom-brady-aaron-rodgers-russell-    With Return of Brady The Old Guard Is
2022-03-14   2022-03-15 wilson.html                                 Ready To Shake Up the League                By Emmanuel Morgan              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/14/sports/g Five Days of Just Hit and Pray Amid Chill
2022-03-14   2022-03-15 olf/players-championship-pga.html           and Rain                                    By Bill Pennington              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/14/sports/n
                        caabasketball/hbcu-basketball-tournament-
2022-03-14   2022-03-15 seeds.html                                  An Endless Cycle of Proving Themselves      By Jer Longman                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/14/sports/n
                        caabasketball/march-madness-bracket-        March Is Mad Again Heres Who to Watch
2022-03-14   2022-03-15 picks.html                                  And What to Look For                        By Billy Witz                   TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/14/sports/n
                        caabasketball/ncaa-womens-bracket-          Make Room for Upsets but Not for All No 1
2022-03-14   2022-03-15 picks.html                                  Seeds Making the Final Four                 By Natalie Weiner               TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/14/technol Latest SE Is the iPhone Thats Built and Priced
2022-03-14   2022-03-15 ogy/personaltech/apple-iphone-se-review.html for the AntiConsumer                         By Brian X Chen                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/technol Fox News Correspondent Is Injured Outside
2022-03-14   2022-03-15 ogy/ukraine-fox-news-benjamin-hall.html      Kyiv                                         By Michael M Grynbaum           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/theater/
2022-03-14   2022-03-15 billy-porter-the-life-encores.html           The Life the Revival                         By Naveen Kumar                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/us/idah Idaho Becomes First State to Pass an Abortion
2022-03-14   2022-03-15 o-abortion-bill-texas.html                   Ban Based on Texas Law                       By Kate Zernike                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/us/polit Bernard W Nussbaum Bill Clintons Counsel
2022-03-14   2022-03-15 ics/bernard-nussbaum-dead.html               With Tough Tactics Dies at 84                By Joseph P Fried               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/us/polit Document Reveals Jan 6 Plan To Storm Other
2022-03-14   2022-03-15 ics/enrique-tarrio-jan-6-document.html       DC Buildings                                 By Alan Feuer                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/us/polit
2022-03-14   2022-03-15 ics/ginni-thomas-jan-6-rally.html            Justices Wife Attended Rally On Day of Riot By Danny Hakim and Jo Becker     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/us/polit Super PAC Alleges Trump Violates Law
2022-03-14   2022-03-15 ics/trump-campaign-fec-violation.html        With Spending                                By Shane Goldmacher             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/well/eat
2022-03-14   2022-03-15 /ai-diet-personalized.html                   AI Wants to Be Your Diet Buddy               By Sandeep Ravindran            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/world/a Cambodias Ancient Temples Glorious and         By Richard C Paddock and Thomas
2022-03-14   2022-03-15 sia/angkor-wat-covid-uncrowded.html          Unusually Quiet                              Cristofoletti                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/world/a Surge of Covid19 Cases Prompts Lockdowns
2022-03-14   2022-03-15 sia/china-covid-omicron-lockdowns.html       in China                                     By Keith Bradsher               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/world/a                                                By Steven Lee Myers and Chris
2022-03-14   2022-03-15 sia/china-russia-ukraine.html                Beijing Sees One Victor in War Its China     Buckley                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/world/e As Russia Blasts Civilian Targets Kyivs
2022-03-14   2022-03-15 urope/kyiv-ukraine-russia-war.html           Residents Vow to Fight                       By Carlotta Gall                TX 9-152-782   2022-05-02




                                                                               Page 3497 of 5793
                        https://www.nytimes.com/2022/03/14/world/e
                        urope/lithuania-russia-attack-ukraine-     Will We Be Next Lithuania a Vulnerable
2022-03-14   2022-03-15 nato.html                                  NATO Link Feels Tension                     By Katrin Bennhold                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/world/e
                        urope/pregnant-woman-airstrike-ukraine-
2022-03-14   2022-03-15 mariupol.html                              Woman Captured in Iconic Image Dies         By Austin Ramzy                   TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/14/world/e Two Refugees Cross Polands Border and       By Jeffrey Gettleman and Monika
2022-03-14   2022-03-15 urope/ukraine-refugees-poland-belarus.html Enter Different Worlds                      Pronczuk                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/world/e Despite Talks Attacks Broaden and           By Mark Landler and David E
2022-03-14   2022-03-15 urope/ukraine-russia-diplomacy.html         Devastation Mounts                         Sanger                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/health/c
2022-03-15   2022-03-15 ovid-testing-variants-emory.html            Just How Accurate Is That Covid Test       By Emily Anthes                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/health/c                                            By Stephanie Nolen and Rebecca
2022-03-15   2022-03-15 ovid-vaccines-africa.html                   A Grab Bag of Vaccines                     Robbins                           TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/15/technol
2022-03-15   2022-03-15 ogy/california-privacy-agency-ccpa-gdpr.html In California Bid to Police Privacy Law   By David McCabe                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/dining/
2022-03-10   2022-03-16 drinks/south-american-wines.html             The Clear Allure of Argentina and Chile   By Eric Asimov                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/dining/
2022-03-11   2022-03-16 cooking-salmon-stovetop.html                 Stovetop Salmon Without the Smell         By Genevieve Ko                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/dining/
2022-03-11   2022-03-16 drinks/creme-de-cassis-cocktails.html        Crme de Cassis For the 21st Century       By Rebekah Peppler                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/dining/i
2022-03-11   2022-03-16 nduction-cooking.html                        Turning Off the Flame                     By Melissa Clark                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/movies/ Encanto Struggles With a Nations
2022-03-11   2022-03-16 encanto-colombia.html                        Expectations                              By Laura Zornosa                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/13/opinion                                             By David S Cohen Greer Donley
2022-03-13   2022-03-16 /missouri-abortion-roe-v-wade.html           A New Front in the Abortion Wars          and Rachel Rebouch                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/13/sports/g Another Member Of a Boxing Family Hits the By David W Chen and Gabriella
2022-03-13   2022-03-16 iovanni-raul-marquez-boxing-showtime.html Limelight                                    AngottiJones                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/arts/des Artist Taps Egyptian Imagery for Met Roof
2022-03-14   2022-03-16 ign/met-lauren-halsey.html                  Project                                    By Robin Pogrebin                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/dining/
2022-03-14   2022-03-16 67gourmet-cheese.html                       New Nook in City For Cheese and Salumi     By Florence Fabricant             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/dining/
2022-03-14   2022-03-16 afghan-nowroz-celebration-food.html         For Afghans Theres Comfort in Nowruz       By Naz Deravian                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/dining/ Bad Vegan Documentary Is Available on
2022-03-14   2022-03-16 bad-vegan-sarma-melngailis.html             Netflix                                    By Florence Fabricant             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/dining/
2022-03-14   2022-03-16 bin-bin-sake-greenpoint-brooklyn.html       Bin Bin Sake Opens Store in Brooklyn       By Florence Fabricant             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/dining/
2022-03-14   2022-03-16 bouquet-box-flower-arrangements.html        A DIY Arrangement For Holiday Decorating By Florence Fabricant               TX 9-152-782   2022-05-02



                                                                                 Page 3498 of 5793
                        https://www.nytimes.com/2022/03/14/dining/
2022-03-14   2022-03-16 bowery-strawberries.html                   Peak Strawberry Season Is Early Around Here By Florence Fabricant         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/dining/ The Mayor Adds Food To a Full Plate of
2022-03-14   2022-03-16 eric-adams-vegan-nyc.html                  Tasks                                       By Priya Krishna              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/dining/ Livestreaming Platform For Classes and
2022-03-14   2022-03-16 kittch-livestreaming.html                  Goods                                       By Florence Fabricant         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/movies/
2022-03-14   2022-03-16 best-william-hurt-movies.html              Memories Are Made of These Roles            By Jason Bailey               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/14/nyregio Man Charged With Hate Crime Over Brutal
2022-03-14   2022-03-16 n/yonkers-hate-crime-anti-asian-attack.html Beating in Yonkers                          By Ed Shanahan               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/theater/
2022-03-14   2022-03-16 man-cave-review.html                        When Whats Scary Outside Starts to Creep In By Laura CollinsHughes       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/nyregio Justices Hold Fate of Agency Created to Keep
2022-03-15   2022-03-16 n/mob-docks-agency-supreme-court.html       the Mafia Off the Docks                     By Patrick McGeehan          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/arts/des
2022-03-15   2022-03-16 ign/pritzker-prize-francis-kere.html        An African Architect Wins Big               By Robin Pogrebin            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/arts/mu 50 Years Ago James Brown Took His Show
2022-03-15   2022-03-16 sic/james-brown-rikers-island.html          to Rikers                                   By Billy Heller              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/arts/mu
2022-03-15   2022-03-16 sic/met-opera-ukraine.html                  At the Opera Saluting the Ukrainian Flag    By Zachary Woolfe            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/arts/mu
                        sic/olivia-rodrigo-bts-billie-eilish-
2022-03-15   2022-03-16 grammys.html                                Performers Announced For Grammys            By Ben Sisario               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/books/ Maureen Howard 91 Whose Novels Traced
2022-03-15   2022-03-16 maureen-howard-dead.html                    Womens Challenges Is Dead                   By Neil Genzlinger           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/books/r
2022-03-15   2022-03-16 eview-in-margins-elena-ferrante.html        Wrestling Prose Onto the Page               By Molly Young               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/busines Airline Ticket Sales In February Exceed
2022-03-15   2022-03-16 s/airlines-travel.html                      Those Prepandemic                           By Niraj Chokshi             TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/15/busines SEC Official Major Voice On Climate Is
2022-03-15   2022-03-16 s/allison-herren-lee-sec-commissioner.html Departing                                   By Ephrat Livni               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/busines California Cannabis Sellers Face a Bleak    By Michael Corkery and Jim
2022-03-15   2022-03-16 s/cannabis-dispensaries-oakland.html       Reality                                     Wilson                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/busines Lockdowns Across China Further Hurt
2022-03-15   2022-03-16 s/covid-china-economy.html                 Supply Chain                                By Keith Bradsher             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/busines
2022-03-15   2022-03-16 s/developers-nature-restoration.html       Restoring Nature While Building             By Patrick Sisson             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/busines
                        s/economy/inflation-rates-global-                                                      By Ana Swanson and Jeanna
2022-03-15   2022-03-16 economy.html                               The Fed Stirs As Inflation Races Ahead      Smialek                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/busines
                        s/economy/raskin-fed-nominee-              Biden Pulls Pick for Feds Top Bank          By Jeanna Smialek and Emily
2022-03-15   2022-03-16 withdraws.html                             Regulator                                   Cochrane                      TX 9-152-782   2022-05-02



                                                                                Page 3499 of 5793
                        https://www.nytimes.com/2022/03/15/busines German Business Leaders Fear War Could
2022-03-15   2022-03-16 s/german-recession-russia-ukraine.html       Lead to Recession                           By Melissa Eddy                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/busines BuzzFeed Employees Charge That IPO
2022-03-15   2022-03-16 s/media/buzzfeed-ipo-arbitration.html        Cheated Them of Millions                    By Katie Robertson              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/busines
                        s/media/gina-chua-executive-editor-ben-smith-News StartUp Taps Editor From Reuters As
2022-03-15   2022-03-16 startup.html                                 Its Leader                                  By Katie Robertson              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/busines
                        s/media/ukraine-fox-news-cameraman-          Fox News Cameraman and Ukrainian
2022-03-15   2022-03-16 killed.html                                  Journalist Are Killed                       By Michael M Grynbaum           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/busines
2022-03-15   2022-03-16 s/oil-prices-china.html                      Covid Fears in China Push Oil Prices Down By Coral Murphy Marcos            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/busines As Foreign Debt Comes Due Russia Warns It By Eshe Nelson Alan Rappeport
2022-03-15   2022-03-16 s/russia-debt-bonds-default.html             May Pay in Rubles                           and Lauren Hirsch               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/climate On the Trail of the Most Unreachable Wreck
2022-03-15   2022-03-16 /endurance-shipwreck-shackleton.html         Ever                                        By Henry Fountain               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/dining/
2022-03-15   2022-03-16 entenmanns-bakery-long-island.html           Recalling a Sweet Slice of Long Island Life By Dan Barry                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/dining/
2022-03-15   2022-03-16 nyc-restaurant-news.html                     Isla Co Opens in Williamsburg Brooklyn      By Florence Fabricant           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/dining/r
2022-03-15   2022-03-16 estaurant-review-commerce-inn.html           Give Me That OldTime Religion And Beans By Pete Wells                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/health/c Mostly Out of Favor JampJ Vaccine Holds Its
2022-03-15   2022-03-16 ovid-johnson-vaccine.html                    Own Against 2Dose Peers                     By Apoorva Mandavilli           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/nyregio Woman Charged in Stabbing of Lawyer and
2022-03-15   2022-03-16 n/jim-li-stabbing-death.html                 ProDemocracy Activist                       By Jonah E Bromwich             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/nyregio An Arrest in Philadelphia After the Attack at By Mike Ives Troy Closson and
2022-03-15   2022-03-16 n/moma-stabbing-suspect-arrested.html        MoMA                                        Ashley Wong                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/nyregio Officials Misled the Public on Nursing Home
2022-03-15   2022-03-16 n/nursing-home-deaths-cuomo-covid.html       Deaths                                      By Luis FerrSadurn              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/opinion For WorkingClass Boys Religion May Be
2022-03-15   2022-03-16 /religion-school-success.html                the Key To College Success                  By Ilana M Horwitz              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/opinion A War of Surprises in Ukraine Both Tragic
2022-03-15   2022-03-16 /russia-ukraine-putin-war.html               and Inspiring                               By Thomas L Friedman            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/opinion
2022-03-15   2022-03-16 /russia-ukraine-world-war-iii.html           This Is How World War III Begins            By Bret Stephens                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/sports/b New York Vaccine Mandate Could Leave
2022-03-15   2022-03-16 aseball/yankees-mets.html                    Some Mets and Yankees Off the Field         By James Wagner                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/sports/n
                        caabasketball/womens-march-madness-          How a 38Second Video Became a Catalyst for
2022-03-15   2022-03-16 sedona-prince.html                           Change                                      By Billy Witz                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/sports/t Medvedevs Reign Was Short And Thats Not
2022-03-15   2022-03-16 ennis/medvedev-russia-indian-wells.html      His Biggest Problem                         By Christopher Clarey           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/technol Intel to Allot 19 Billion to Make Chips in
2022-03-15   2022-03-16 ogy/intel-factory-germany.html               Germany                                     By Don Clark and Adam Satariano TX 9-152-782   2022-05-02



                                                                               Page 3500 of 5793
                        https://www.nytimes.com/2022/03/15/us/flori Lifted Out of Cuba 6 Decades Ago Now
2022-03-15   2022-03-16 da-immigration-cuba-pedro-pan.html          Caught in a Modern Fight                     By Patricia Mazzei             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/15/us/hom After TwoCity Search Suspect Is Detained in    By Andy Newman Ashley Southall
2022-03-15   2022-03-16 eless-shootings-arrest.html                 Deaths of Homeless Men                       and Campbell Robertson         TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/15/us/polit GOP Unlikely to Vote for New Covid Relief
2022-03-15   2022-03-16 ics/biden-congress-covid-relief-aid.html    Without a Source for Funds                   By Sheryl Gay Stolberg           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/us/polit Senate Unanimously Votes to Keep Nations     By Luke Broadwater and Amelia
2022-03-15   2022-03-16 ics/daylight-saving-time-senate.html        Clocks Sprung Forward Permanently            Nierenberg                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/us/polit Several Democrats in House Report New        By Emily Cochrane and Anushka
2022-03-15   2022-03-16 ics/democrats-covid-positive.html           Covid Infections                             Patil                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/us/polit Positive Test by Husband Forces Vice
2022-03-15   2022-03-16 ics/doug-emhoff-covid.html                  President to Limit Schedule                  By Zolan KannoYoungs             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/us/polit Sept 11 Prosecutors in Plea Talks That May   By Carol Rosenberg and Charlie
2022-03-15   2022-03-16 ics/gitmo-terrorism-trial.html              Avert a DeathPenalty Trial                   Savage                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/us/polit
                        ics/pfizer-second-booster-shot-older-       Pfizer Is Seeking a 2nd Booster for Older
2022-03-15   2022-03-16 americans.html                              Adults                                       By Sharon LaFraniere             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/us/polit Confirmation Vote Puts Black Woman In
2022-03-15   2022-03-16 ics/shalanda-young-omb.html                 Charge of Budget Office for First Time       By Emily Cochrane                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/15/us/polit Submarine Spy Couple Tried to Sell Nuclear By Julian E Barnes Andr Spigariol
2022-03-15   2022-03-16 ics/submarine-spy-brazil.html               Secrets to Brazil                            Jack Nicas and Adam Goldman     TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/15/us/polit As Conflict Shifts Agenda Congress Reveals a
2022-03-15   2022-03-16 ics/ukraine-politics-congress.html          Newfound Centrism                            By Jonathan Weisman             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/15/us/scott-Scott Hall 63 a Wrestling Bad Guy Who
2022-03-15   2022-03-16 hall-razor-ramon-dead.html                  Made Good                                    By Derrick Bryson Taylor        TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/15/us/shar Remains of Little Miss Nobody Identified 62
2022-03-15   2022-03-16 on-lee-gallegos-arizona-cold-case.html     Years After Being Found in Arizona Desert By Christine Hauser                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/world/a Indian Court Upholds Ban On Hijabs At
2022-03-15   2022-03-16 sia/india-hijab-ban-schools.html           Schools                                     By Sameer Yasir                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/world/e
                        urope/poland-czech-republic-slovenia-      Three Defiant European Leaders Visit a Kyiv By Mark Landler and Matina
2022-03-15   2022-03-16 kyiv.html                                  in Flames                                   StevisGridneff                     TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/15/world/ Syrians See Same Terrors In Invasion Of
2022-03-15   2022-03-16 middleeast/syria-ukraine-invasion-russia.html Ukraine                                     By Ben Hubbard                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/us/polit
                        ics/white-house-public-tours-are-set-to-return-
2022-03-15   2022-03-16 in-april.html                                   White House Set to Reopen To Public Tours By Alyssa Lukpat                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/interactive/2022/03/ Afghanistans Deadliest Highway Comes Back By Thomas GibbonsNeff and
2022-03-15   2022-03-16 15/world/asia/afghanistan-road-kandahar.html to Life                                   Yaqoob Akbary                      TX 9-152-782   2022-05-02




                                                                                 Page 3501 of 5793
                        https://www.nytimes.com/live/2022/03/15/wo
                        rld/ukraine-russia-war/streams-of-people-exit-
                        mariupol-as-city-officials-struggle-to-account- Residents Flee Mariupol as Officials Struggle By Valerie Hopkins and Marc
2022-03-15   2022-03-16 for-the-dead                                    to Count the Dead                             Santora                       TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/15/busines Labor NLRB Says Starbucks Penalized 2
2022-03-16   2022-03-16 s/economy/starbucks-union-nlrb-arizona.html Organizers                                     By Noam Scheiber                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/15/us/polit Democrats Ask For Plans to Cut Civilian
2022-03-16   2022-03-16 ics/pentagon-civilian-casualties.html       Deaths                                         By Aishvarya Kavi                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/15/world/a Guatemala Withdraws Abortion Bill After
2022-03-16   2022-03-16 mericas/guatemala-abortion-law.html         Protests                                       By Jody Garca and Natalie Kitroeff TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/16/busines
2022-03-16   2022-03-16 s/britain-tv-movie-studios-production.html   A Hollywood Production Made in Liverpool By Eshe Nelson                        TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/16/busines
                        s/economy/ukraine-refugee-crisis-europe-     Europe Braces For High Costs Of Refugee      By Patricia Cohen and Cristian
2022-03-16   2022-03-16 economy.html                                 Aid                                          Movila                            TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/16/insider/
2022-03-16   2022-03-16 what-makes-a-times-article-go-viral.html     What Makes an Article Go Viral               By Sarah Diamond                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/05/travel/a Here to Help Get the most out of Your Airline
2022-03-05   2022-03-17 irline-miles-credit-card.html                Miles Now                                    By Julie Weed                     TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/10/style/mi
2022-03-10   2022-03-17 u-miu-miniskirt.html                         Little to See Here Folks                     By Jessica Testa                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/10/style/m
2022-03-10   2022-03-17 schf-sneakers-satan-shoes.html               MSCHF Has Designs on Your Feet               By Vanessa Friedman               TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/10/style/rel
2022-03-10   2022-03-17 ationship-coaches.html                       Losing at Love A Coach May Help You Win By Alix Strauss                        TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/10/style/ty-                                              By Anna P Kambhampaty and
2022-03-10   2022-03-17 haney-outdoor-voices-try-your-best.html      Building a New Community                     Sapna Maheshwari                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/11/style/bu
2022-03-11   2022-03-17 rberry-fall-2022.html                        Alternate Reality                            By Charlie Porter                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/11/well/mi
2022-03-11   2022-03-17 nd/wellness-ketamine-mental-health.html      Selling a Psychedelic Path to Wellness       By Marisa Meltzer and Dani Blum   TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/13/obituari Renny Cushing 69 Foe of Death Penalty Even
2022-03-13   2022-03-17 es/renny-cushing-dead.html                   After Fathers Murder Dies                    By Katharine Q Seelye             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/14/nyregio Thomas Demakos 98 Made a Landmark
2022-03-14   2022-03-17 n/thomas-demakos-dead.html                   Ruling in a Marquee Murder Trial             By Sam Roberts                    TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/14/opinion The Argument on Abortion That Changed
2022-03-14   2022-03-17 /latin-america-colombia-abortion.html        Everything in Colombia                       By Catalina Martnez Coral         TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/15/arts/mu Timmy Thomas 77 Singer Whose Ire Over
2022-03-15   2022-03-17 sic/timmy-thomas-dead.html                   War Deaths Fueled His No 1 Hit               By Richard Sandomir               TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/15/busines
                        s/media/russia-ukraine-journalism-           Weighing News Against Safety in Whether to By Tiffany Hsu and Michael M
2022-03-15   2022-03-17 censorship.html                              Report From Russia                           Grynbaum                          TX 9-152-782     2022-05-02




                                                                                   Page 3502 of 5793
                        https://www.nytimes.com/2022/03/16/arts/ban
                        croft-prize-segregation-chinese-
2022-03-16   2022-03-17 migration.html                               Bancroft Prize Honors 2 Racial Histories   By Jennifer Schuessler        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/arts/dan Those Flashing Percussive Feet Have Come to
2022-03-16   2022-03-17 ce/trinity-irish-review.html                 Town                                       By Brian Seibert              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/arts/des
2022-03-16   2022-03-17 ign/moma-stabbings-safety.html               Museums Review Safety Protocols            By Zachary Small              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/arts/des
2022-03-16   2022-03-17 ign/nazis-dutch-jews-disappearance.html      Tracking Dutch Jews Taken by the Nazis     By Nina Siegal                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/arts/mu
2022-03-16   2022-03-17 sic/wozzeck-carnegie-hall-met-opera.html     A Study in Orchestral Sound                By Zachary Woolfe             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/arts/tele Smollett Released From Jail On Bond
2022-03-16   2022-03-17 vision/jussie-smollett-released.html         Pending an Appeal                          By Julia Jacobs               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/arts/tele
2022-03-16   2022-03-17 vision/minx-hbo-max-male-nudity.html         TV Strips Off One More Taboo               By Alexis Soloski             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/arts/tele
2022-03-16   2022-03-17 vision/paul-feig-welcome-to-flatch.html      A New Mockumentary Midwestern Style        By Eric Farwell               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/automo Volkswagen Puts Focus On US Market as
2022-03-16   2022-03-17 biles/volkswagen-electric-vehicles-us.html   War Disrupts Supply Chain                  By Melissa Eddy               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/books/r
                        eview-lessons-from-edge-marie-yovanovitch-
2022-03-16   2022-03-17 ukraine-ambassador.html                      From Ukraine to Impeachment Witness        By Jennifer Szalai            TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/16/busines                                               By Jeanna Smialek and Karl
2022-03-16   2022-03-17 s/economy/fed-interest-rates-inflation.html The Rate Hike Is Here What Happens Next Russell                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/busines US Casts a Global Net to Stop Shipments to
2022-03-16   2022-03-17 s/economy/us-exports-russia-ukraine.html    Russia                                       By Ana Swanson               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/busines
                        s/energy-environment/mercedes-battery-      Mercedes Will Make SUV Batteries in
2022-03-16   2022-03-17 factory-alabama.html                        Alabama                                      By Jack Ewing                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/busines Sales Up a Bit But Inflation Is Taking a Toll
2022-03-16   2022-03-17 s/february-retail-sales.html                On Consumers                                 By Coral Murphy Marcos       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/busines Annie Flanders 82 Whose Magazine Ran In a
2022-03-16   2022-03-17 s/media/annie-flanders-dead.html            Golden Era Dies                              By Penelope Green            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/busines Claiming Wrongful Firing Cuomo Is Seeking
2022-03-16   2022-03-17 s/media/chris-cuomo-cnn-filing.html         125 Million From CNN                         By John Koblin               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/16/busines Media StartUp Aims to Cover the World With
2022-03-16   2022-03-17 s/media/justin-smith-ben-smith-media.html Local Reporters                              By Michael M Grynbaum          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/busines Oil Sanctions Could Create Supply Crisis As
2022-03-16   2022-03-17 s/russia-sanctions-oil-energy-demand.html  Output Falls                                By Stanley Reed                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/busines
                        s/starbucks-kevin-johnson-howard-          Starbucks CEO Retires And Former Chief      By Julie Creswell and Noam
2022-03-16   2022-03-17 schultz.html                               Steps In                                    Scheiber                       TX 9-152-782   2022-05-02




                                                                                Page 3503 of 5793
                        https://www.nytimes.com/2022/03/16/climate Ukraine Calls For Shutdown Of Oil Trade
2022-03-16   2022-03-17 /chevron-tanker-russia-oil-ukraine.html     With Russia                                 By Hiroko Tabuchi                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/movies/
2022-03-16   2022-03-17 dune-denis-villeneuve-sound.html            Snap Crackle Pop and Dune                   By Kyle Buchanan and Peter Fisher TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/nyregio Chinese Agents Are Charged With Stalking
2022-03-16   2022-03-17 n/china-target-congress-campaign.html       Critics of Beijing Living in US             By Rebecca Davis OBrien           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/nyregio
2022-03-16   2022-03-17 n/ecommerce-warehouses-nyc.html             Race for Warehouse Space in a Crowded City By Matthew Haag                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/nyregio
                        n/homeless-men-shootings-gerald-            Chilling Details Emerge in Shootings of
2022-03-16   2022-03-17 brevard.html                                Homeless Men                                By Ashley Southall                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/nyregio A Multitiered Plan to Get More New Yorkers
2022-03-16   2022-03-17 n/nyc-boosters-ba2-variant.html             Boosted                                     By Ashley Wong                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/nyregio Report by Monitor Asserts Rikers Remains     By Jonah E Bromwich and Jan
2022-03-16   2022-03-17 n/rikers-jail-violence-report.html          Unstable Even Under New Leaders             Ransom                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/opinion
2022-03-16   2022-03-17 /ukraine-russia-populism.html               Will the War End the Age of Populism        By Ross Douthat                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/sports/b
2022-03-16   2022-03-17 aseball/aaron-judge-yankees.html            I Want To Be Wearing Pinstripes             By James Wagner                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/sports/b Yankees Dont Mind Being New Yorks
2022-03-16   2022-03-17 aseball/hal-steinbrenner-yankees.html       Thriftier Ball Club                         By James Wagner                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/sports/b
2022-03-16   2022-03-17 aseball/robinson-cano-mets.html             Cano Apologizes But Can He Change           By Tyler Kepner                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/sports/f
                        ootball/joe-buck-troy-aikman-monday-night- Buck and Aikman Leave Fox to Call Monday
2022-03-16   2022-03-17 football.html                               Night Football on ESPN                      By David W Chen                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/sports/g Six College Golfers And Coach Are Killed In
2022-03-16   2022-03-17 olf/golf-team-crash.html                    a Texas Van Wreck                           By Alan Blinder                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/sports/j
                        ustin-minaya-providence-south-dakota-
2022-03-16   2022-03-17 state.html                                  One Proud Father Cant Stop Being a Scout    By Adam Zagoria                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/sports/
                        march-madness-kofi-cockburn-oscar-          Two High Seeds Pin Their Hopes on
2022-03-16   2022-03-17 tshiebwe.html                               Throwback Big Men                           By Alanis Thames                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/sports/t At Indian Wells a Shot of Optimism for the
2022-03-16   2022-03-17 ennis/indian-wells-us-mens-tennis.html      American Men                                By Christopher Clarey             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/style/al
2022-03-16   2022-03-17 exander-mcqueen-mycelium-show.html          Back in Town With an Energy Burst           By Jessica Testa                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/theater/ Pandemic Nurses Seek Solace and Soothing
2022-03-16   2022-03-17 antigone-margaret-atwood.html               via Sophocles                               By Alisha Haridasani Gupta        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/theater/
2022-03-16   2022-03-17 book-of-mountains-seas-review.html          Puppets Embark On Mythic Quests             By Laura CollinsHughes            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/us/polit Biden Offers Protected Status to Afghans in By Eileen Sullivan and Miriam
2022-03-16   2022-03-17 ics/afghans-biden-protected-status.html     the US                                      Jordan                            TX 9-152-782   2022-05-02




                                                                               Page 3504 of 5793
                        https://www.nytimes.com/2022/03/16/us/polit Rival Attacks Republican Over Teachers
2022-03-16   2022-03-17 ics/david-mccormick-teacher-pensions.html Pensions                                          By Trip Gabriel                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/16/us/polit Bidens Son Paid Off Tax Bill but Still Faces    By Katie Benner Kenneth P Vogel
2022-03-16   2022-03-17 ics/hunter-biden-tax-bill-investigation.html Inquiry by Grand Jury                          and Michael S Schmidt           TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/16/us/polit
                        ics/ketanji-brown-jackson-criminal-          Jacksons Record as Defender Likely to Be
2022-03-16   2022-03-17 defense.html                                 Target of Senators                             By Carl Hulse                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/us/polit Unspent Rental Aid to Go to States Seeking
2022-03-16   2022-03-17 ics/pandemic-housing-aid.html                Help                                           By Glenn Thrush                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/us/polit Russia Toll Is Over 7000 Including 3 or 4       By Helene Cooper Julian E Barnes
2022-03-16   2022-03-17 ics/russia-troop-deaths.html                 Generals                                       and Eric Schmitt                 TX 9-152-782   2022-05-02
                                                                                                                    By Audra D S Burch Jennifer
                        https://www.nytimes.com/2022/03/16/us/polit A Divided America Is Uniting To Support a       Medina Jazmine Ulloa and Maya
2022-03-16   2022-03-17 ics/russia-ukraine-us.html                  Besieged Ukraine                                King                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/us/polit A Direct Plea for Help From a Democracy
2022-03-16   2022-03-17 ics/transcript-zelensky-speech.html         Under Attack                                   By Catie Edmondson                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/us/polit Zelensky Presses Congress to Help as Russia By Catie Edmondson and Michael
2022-03-16   2022-03-17 ics/zelensky-biden-ukraine-aid.html         Pounds Cities                                  D Shear                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/us/surfs Voters Oust Mayor of Town Where Condos
2022-03-16   2022-03-17 ide-mayor-charles-burkett-election.html     Fell in Florida                                By Maria Cramer                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/world/a Willfully Forgetting a Past That Still Shatters By Hannah Beech and Nadia Shira
2022-03-16   2022-03-17 sia/cambodia-khmer-rouge.html               Cambodias Present                              Cohen                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/world/a Powerful Quake Off Coast Shakes Japan 11 By Motoko Rich and Eric
2022-03-16   2022-03-17 sia/japan-earthquake-fukushima.html         Years After Fukushima Disaster                 Nagourney                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/world/e
                        urope/iran-nazanin-zaghari-ratcliffe-       Iran Frees Charity Worker Ending Her 6Year By Isabella Kwai Megan Specia
2022-03-16   2022-03-17 released.html                               Ordeal After UK Settles Debt                   and Emma Bubola                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/world/e Putin Likens West to Nazi Germany and Calls
2022-03-16   2022-03-17 urope/putin-russia-ukraine-protests.html    Dissenters Scum                                By Anton Troianovski              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/16/world/e A LatterDay Emperor Wages a War of
2022-03-16   2022-03-17 urope/putin-war-ukraine-recolonization.html Recolonization                                  By Steven Erlanger               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/16/world/e After ExJudo Partner of Putins Faced
2022-03-16   2022-03-17 urope/russia-oligarchs-sanctions-putin.html Sanctions He Got Richer                         By Matt Apuzzo and Jane Bradley TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/16/world/e Thoughts Turn to the Unthinkable A Spiral
2022-03-16   2022-03-17 urope/ukraine-russia-nuclear-war.html       Into a Nuclear War                              By Max Fisher                    TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/16/world/       Iranian Attack Came In Response to Strike   By Farnaz Fassihi Ronen Bergman
2022-03-16   2022-03-17 middleeast/iran-israel-attack-drone-site.html   By Israel on Drone Site                     and Eric Schmitt                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/16/world/
                        middleeast/mass-graves-syria-war-               2 Suspected Mass Graves Cast Light on       By Ben Hubbard and Marlise
2022-03-16   2022-03-17 crimes.html                                     Atrocities During Syrias Civil War          Simons                           TX 9-152-782   2022-05-02




                                                                                    Page 3505 of 5793
                        https://www.nytimes.com/article/federal-        Want to Borrow Some Money Be Prepared to
2022-03-16   2022-03-17 reserve-rate-increase.html                      Pay More                                     By Tara Siegel Bernard            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/live/2022/03/16/bus
                        iness/fed-meeting-interest-rates/central-banks-
2022-03-16   2022-03-17 inflation                                       US Joins Global Peers In Rate Hike           By Eshe Nelson                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/live/2022/03/16/bus
                        iness/fed-meeting-interest-rates/fed-raises-    Fed Raises Interest Rates in Initial Step
2022-03-16   2022-03-17 interest-rates                                  Toward Taming Inflation                      By Jeanna Smialek                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/live/2022/03/16/bus
                        iness/stocks-economy-inflation-ukraine/stock-
2022-03-16   2022-03-17 market-today                                    Stocks Rally as Powell Soothes Investors     By Coral Murphy Marcos            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/live/2022/03/16/wo
                        rld/ukraine-russia-war/ukraine-counter-                                                      By Michael Schwirtz Valerie
2022-03-16   2022-03-17 offensive-russia                                After a Battering Ukraine Seeks Momentum Hopkins and Carlotta Gall             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/us/polit Bolstering Ukraine With Arms That Are Easy
2022-03-17   2022-03-17 ics/us-ukraine-weapons-drones.html              to Carry and Simple to Use                   By Julian E Barnes and John Ismay TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/insider/
2022-03-17   2022-03-17 following-the-beat-of-the-court.html            Following the Beat of the Court              By Katie Van Syckle               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/style/ca Photos That Are Vibrant Moody and Deeply
2022-03-17   2022-03-17 mpbell-addy-feeling-seen.html                   Black                                        By Daniel Penny                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ Boycotts Not Bombs Sanctions Are a GoTo
2022-03-11   2022-03-18 11/world/economic-sanctions-history.html        Tactic With Uneven Results                   By Ella Koeze                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/opinion
2022-03-14   2022-03-18 /holbein-thomas-more-art-morality.html          Its Possible to Learn From Flawed People     By Margaret Renkl                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/movies/
2022-03-15   2022-03-18 josep-review.html                               Josep                                        By Nicolas Rapold                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/movies/
2022-03-15   2022-03-18 the-last-mountain-review.html                   The Last Mountain                            By Ben Kenigsberg                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/movies/
2022-03-16   2022-03-18 jane-campion-venus-serena-williams.html         The Power of Racial Slights and Errant Quips By Wesley Morris                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/opinion
2022-03-16   2022-03-18 /russia-ukraine-putin.html                      Russians Must Accept Our Failure             By Ilia Krasilshchik              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/sports/h Jean Potvin 72 a Part of the Islanders 1980s
2022-03-16   2022-03-18 ockey/jean-potvin-dead.html                     Dynasty Alongside His Brother                By Richard Sandomir               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/us/laur Lauro Cavazos 95 First Latino to Serve In
2022-03-17   2022-03-18 o-cavazos-dead.html                             Cabinet Post Dies                            By Robert D McFadden              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/arts/che
2022-03-17   2022-03-18 aper-by-the-dozen-review.html                   Cheaper by the Dozen                         By Calum Marsh                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/arts/dan Karole Armitages Farewell to New
2022-03-17   2022-03-18 ce/review-karole-armitage.html                  Choreography                                 By Gia Kourlas                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/arts/des
2022-03-17   2022-03-18 ign/bridget-riley-op-artist.html                In Deep Conversation With Her Younger Self By Karen Rosenberg                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/arts/des Exploring the Line Between Sound and
2022-03-17   2022-03-18 ign/camille-norment-dia-chelsea.html            Sculpture                                    By Jason Farago                   TX 9-152-782   2022-05-02




                                                                                 Page 3506 of 5793
                        https://www.nytimes.com/2022/03/17/arts/des
2022-03-17   2022-03-18 ign/jonas-mekas-films-jewish-museum.html Capturing Fragments of a World Passing By By Will Heinrich              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/arts/ma
2022-03-17   2022-03-18 ster-review-get-thee-to-an-hbcu.html         Master                                  By Lisa Kennedy             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/arts/mu
2022-03-17   2022-03-18 sic/rosalia-motomami.html                    Theres So Much That She Can Be          By Joe Coscarelli           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/arts/tele
2022-03-17   2022-03-18 vision/life-and-beth-review.html             Further Inside Amy Schumer              By Mike Hale                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/arts/tele
2022-03-17   2022-03-18 vision/sanditon-our-flag-means-death.html    This weekend I have                     By Margaret Lyons           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/books/l
                        ooking-back-on-50-years-of-making-beautiful-One Life Spent Reveling in Ink Paper and
2022-03-17   2022-03-18 books.html                                   Type                                    By Charles McGrath          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/busines Labor Board Sues Amazon Ahead of Vote to
2022-03-17   2022-03-18 s/amazon-staten-island-facility.html         Unionize                                By Karen Weise              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/busines UKs Central Bank Increases Interest Rates
2022-03-17   2022-03-18 s/economy/bank-of-england-rates.html         Again                                   By Eshe Nelson              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/busines
2022-03-17   2022-03-18 s/electric-vehicle-ev-design.html            For Designers EVs Offer a Blank Canvas  By Paul Stenquist           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/busines
2022-03-17   2022-03-18 s/federal-reserve-inflation-recession.html   Fed Walks A Tightrope Over Rates        By Jeff Sommer              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/busines Banking Regulators Fine USAA Over
2022-03-17   2022-03-18 s/usaa-fine-money-laundering.html            Laundering Laws                         By Emily Flitter            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/climate Drought Conditions Expected to Worsen And
2022-03-17   2022-03-18 /spring-drought-forecast-noaa.html           Spread Farther Through the Spring       By Maggie Astor             TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/17/climate Largest Federal Utility Chooses Gas
2022-03-17   2022-03-18 /tennessee-valley-authority-biden-climate.html Undermining Bidens Climate Goals         By Lisa Friedman         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/movies/
2022-03-17   2022-03-18 aheds-knee-review.html                         A Howl of Rage At a Flawed Israel        By AO Scott              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/movies/
2022-03-17   2022-03-18 alice-review.html                              Alice                                    By Beandrea July         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/movies/
2022-03-17   2022-03-18 deep-water-review.html                         A NonErotic NonThriller                  By Jeannette Catsoulis   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/movies/
2022-03-17   2022-03-18 intregalde-review.html                         DoGooders Flummoxed by a Script Change   By Manohla Dargis        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/movies/
2022-03-17   2022-03-18 jane-by-charlotte-review.html                  Jane by Charlotte                        By Beatrice Loayza       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/movies/
2022-03-17   2022-03-18 love-after-love-review.html                    Love After Love                          By Claire Shaffer        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/movies/
2022-03-17   2022-03-18 more-than-robots-review.html                   More Than Robots                         By Teo Bugbee            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/movies/
2022-03-17   2022-03-18 panama-review.html                             Panama                                   By Amy Nicholson         TX 9-152-782   2022-05-02



                                                                                Page 3507 of 5793
                        https://www.nytimes.com/2022/03/17/movies/ A Tailors Shop Becomes a Nest For
2022-03-17   2022-03-18 the-outfit-review.html                      Gangsters                                    By Manohla Dargis                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/movies/
2022-03-17   2022-03-18 the-torch-review.html                       The Torch                                    By Glenn Kenny                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/movies/
2022-03-17   2022-03-18 x-review.html                               As If a Porn Flick and a Slasher Movie Fused By AO Scott                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/nyregio Governor Urges Lawmakers to Make New          By Luis FerrSadurn Grace Ashford
2022-03-17   2022-03-18 n/bail-reform-hochul-ny.html                Yorks Bail Law More Restrictive              and Jonah E Bromwich             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/nyregio Robot Dogs Join New York Fire Department
2022-03-17   2022-03-18 n/fdny-boston-dynamics-spot-robot.html      Which Promises a Short Leash                 By Chelsia Rose Marcius          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/opinion
2022-03-17   2022-03-18 /china-russia-xi-jin-ping.html              Another Dictator Has A Bad Year              By Paul Krugman                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/opinion
2022-03-17   2022-03-18 /long-covid.html                            Long Covid Holds a Mirror Up to Medicine By Abigail A Dumes                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/opinion
2022-03-17   2022-03-18 /why-autocracies-fail.html                  This Is Why Autocracies Fall                 By David Brooks                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/sports/b
2022-03-17   2022-03-18 aseball/freddie-freeman-dodgers.html        Atlanta Makes the Tough Call on a Star       By Tyler Kepner                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/sports/b Ralph Terry Yankee on the Mound for Two
2022-03-17   2022-03-18 aseball/ralph-terry-dead.html               Classic Endings Dies at 86                   By David Margolick               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/sports/l Milestone Victory as Transgender Woman
2022-03-17   2022-03-18 ia-thomas-swimmer-wins.html                 Captures an NCAA Title                       By Alan Blinder                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/sports/n
                        caabasketball/march-madness-score-
2022-03-17   2022-03-18 results.html                                St Peters Topples Kentucky                   By Adam Zagoria                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/sports/n
                        caabasketball/ncaa-womens-tournament-       Back on the Big Stage and Hoping to Shake
2022-03-17   2022-03-18 unusual-teams.html                          Things Up                                    By Marisa Ingemi                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/sports/n
                        otre-dame-rutgers-alabama-ncaa-tournament-
2022-03-17   2022-03-18 paul-atkinson.html                          Was It Luck Karma The Irish Will Take It     By Scott Miller                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/sports/r A Gender Revolution Is Brewing Inside a
2022-03-17   2022-03-18 ugby/new-zealand-rugby-black-ferns.html     Bastion of Male Identity                     By Pete McKenzie                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/sports/s Another Very Good Year For Shiffrin
2022-03-17   2022-03-18 kiing/shiffrin-world-cup-olympics.html      PostBeijing                                  By Bill Pennington               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/sports/t
2022-03-17   2022-03-18 ennis/grand-slams-tiebreaker.html           Slams Decide To Wrap It Up                   By Christopher Clarey            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/technol
2022-03-17   2022-03-18 ogy/gas-prices-uber-lyft-drivers.html       Gig Drivers Are Hit Hard By Gas Costs        By Kellen Browning               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/theater/
2022-03-17   2022-03-18 the-life-review.html                        A Redo With a Heavy Hand                     By Elisabeth Vincentelli         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/theater/
2022-03-17   2022-03-18 the-medium-bam-review.html                  The Future Did Arrive Were Not Shocked       By Laura CollinsHughes           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/us/colu Columbia Ranked No 2 But Professor Is
2022-03-17   2022-03-18 mbia-university-rank.html                   Dubious                                      By Anemona Hartocollis           TX 9-152-782   2022-05-02



                                                                               Page 3508 of 5793
                        https://www.nytimes.com/2022/03/17/us/polit Biden Makes It Personal By Use of War
2022-03-17   2022-03-18 ics/biden-putin-war-criminal.html           Criminal                                   By David E Sanger                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/us/polit With Only 8 No Votes House Passes Bill to
2022-03-17   2022-03-18 ics/house-russia-trade-status.html          Strip Russia of Favored Trade Status       By Catie Edmondson                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/us/polit IRS Asks for More Agents to Enforce
2022-03-17   2022-03-18 ics/irs-russia-oligarchs-sanctions.html     Sanctions                                  By Alan Rappeport                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/us/polit Bidens Covid Czar Is Leaving After Guiding By Michael D Shear and Sheryl
2022-03-17   2022-03-18 ics/jeffrey-zients-ashish-jha.html          Rollout of Tests and Vaccines              Gay Stolberg                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/us/polit Lynn Yeakel 80 Who Ran for Office After
2022-03-17   2022-03-18 ics/lynn-yeakel-dead.html                   Aggressive Grilling of Anita Hill          By Katharine Q Seelye                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/us/polit Standoff on Ohio Maps Threatens Next
2022-03-17   2022-03-18 ics/ohio-court-congress-maps.html           Elections                                  By Michael Wines                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/us/polit GOP Targets Voter Crime No Matter if It    By Reid J Epstein and Nick
2022-03-17   2022-03-18 ics/republican-voter-fraud.html             Exists                                     Corasaniti                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/us/polit Republicans Line Up to Support Kyiv and to
2022-03-17   2022-03-18 ics/republicans-biden-ukraine.html          Heap the Blame on Biden                    By Jonathan Weisman                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/us/polit
2022-03-17   2022-03-18 ics/russia-china-weapons.html               US Warns China Against Aiding Russia       By Edward Wong                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/us/polit Now Vilified as a War Criminal What
2022-03-17   2022-03-18 ics/russia-ukraine-war-crimes.html          Happens Next                               By Michael Crowley                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/us/polit Why Abrams Isnt Embracing Her Stardom So
2022-03-17   2022-03-18 ics/stacey-abrams-georgia-governor.html     Far                                        By Maya King                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/us/polit Washington Is Again on Edge After Several
2022-03-17   2022-03-18 ics/washington-coronavirus-cases.html       HighProfile Covid Cases Crop Up            By Michael D Shear                    TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/17/world/a Finish Them Off Aid Workers Slain in
2022-03-17   2022-03-18 frica/ethiopia-tigray-aid-workers-killed.html Ethiopia                                   By Simon Marks and Declan Walsh TX 9-152-782       2022-05-02
                        https://www.nytimes.com/2022/03/17/world/a Perus Top Court Restores Pardon For
2022-03-17   2022-03-18 mericas/peru-alberto-fujimori.html            ExPresident                                By Mitra Taj                     TX 9-152-782      2022-05-02
                        https://www.nytimes.com/2022/03/17/world/a In South Korea a Spike in Covid Cases Is Met
2022-03-17   2022-03-18 sia/coronavirus-south-korea.html              With a Collective Shrug                    By Victoria Kim and John Yoon    TX 9-152-782      2022-05-02
                        https://www.nytimes.com/2022/03/17/world/e
                        urope/brittney-griner-basketball-russia-      Russian Court Extends Detention of WNBA
2022-03-17   2022-03-18 detention.html                                Star Over Drug Charges                     By Amanda Holpuch                TX 9-152-782      2022-05-02
                        https://www.nytimes.com/2022/03/17/world/e
                        urope/emmanuel-macron-france-election-        Buoyed by Polls an Aloof Macron Argues for By Norimitsu Onishi and Aurelien
2022-03-17   2022-03-18 debate.html                                   a 2nd Term                                 Breeden                          TX 9-152-782      2022-05-02

                        https://www.nytimes.com/2022/03/17/world/e Sentences Reduced for Two Americans
2022-03-17   2022-03-18 urope/italy-police-americans-murder.html   Convicted of Killing a Police Officer in Italy   By Elisabetta Povoledo           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/world/e Russia Makes 117 Million Bond Payment to         By Kevin Granville Eshe Nelson
2022-03-17   2022-03-18 urope/russia-bond-payment.html             Avoid Default                                    and Lananh Nguyen                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/world/e Survivors Found in Theater Rubble but            By Andrew E Kramer Michael
2022-03-17   2022-03-18 urope/russia-ukraine-war.html              Suffering Widens                                 Schwirtz and Eric Nagourney      TX 9-152-782   2022-05-02




                                                                                  Page 3509 of 5793
                        https://www.nytimes.com/2022/03/17/world/e In Conjuring Nazis in Ukraine Putin Stokes
2022-03-17   2022-03-18 urope/ukraine-putin-nazis.html             Russian Memories                             By Anton Troianovski            TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/17/world/
2022-03-17   2022-03-18 middleeast/ukraine-russia-egypt-tourists.html Marooned Together at 5Star Resorts         By Vivian Yee                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/world/ In Parts of the World With Ties to Russia
2022-03-17   2022-03-18 war-russia-china-putin-support.html           Some Are Siding With Putin                 By John Eligon                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/us/polit
                        ics/mark-meadows-trump-vote-north-            ExTrump Aides 2020 Vote In North Carolina
2022-03-18   2022-03-18 carolina.html                                 Is Flagged                                 By Reid J Epstein                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/us/seco Moderna Asks FDA for Authorization for
2022-03-18   2022-03-18 nd-booster-covid-moderna.html                 Second Booster                             By Sharon LaFraniere             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/busines
                        s/energy-environment/nickel-russia-battery- Nickels Surging Price Could Slow a Green
2022-03-18   2022-03-18 electric-cars.html                            Transition                                 By Jack Ewing and Stephen Gandel TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/movies/
2022-03-18   2022-03-18 windfall-review-money-talks.html              Windfall                                   By Jeannette Catsoulis           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/sports/n Ramblers Roll In Again Big Day for the Big By Billy Witz Alanis Thames Alan
2022-03-18   2022-03-18 caabasketball/march-madness-scores.html       Ten                                        Blinder and Scott Miller         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/sports/n
                        caabasketball/ncaa-womens-tournament-         As the Women Tip Off Madness Now           By Remy Tumin Alan Blinder and
2022-03-18   2022-03-18 scores.html                                   Applies                                    Natalie Weiner                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/arts/rus
2022-03-15   2022-03-19 sia-creative-artists-sanctions.html           Keeping Art Alive in a FrozenOut Russia    By Valeriya Safronova            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/opinion
2022-03-15   2022-03-19 /test-optional-admissions.html                The Soft Bigotry of Low Expectations       By John McWhorter                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/arts/mu
2022-03-16   2022-03-19 sic/michael-buble-higher.html                 His Voice Imparts Romance To Songs         By Jeremy Gordon                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/theater/
2022-03-16   2022-03-19 hart-island-play-gym-at-judson.html           Rescuing the Stories Buried on Hart Island By Rachel Sherman                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/opinion
2022-03-17   2022-03-19 /moral-obligation-ukraine.html                What Is Our Moral Duty in Ukraine          By Charles M Blow                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/arts/tele
2022-03-17   2022-03-19 vision/raised-by-wolves-hbo-max.html          TVs Wildest Hallucination                  By James Poniewozik              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/dining/ He Defined the New York Slice One
2022-03-17   2022-03-19 dom-demarco-dead-di-fara-pizza.html           Painstaking Pie at a Time                  By Pete Wells                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/world/e
2022-03-17   2022-03-19 urope/oxxxymiron-istanbul-concert.html        Rapper Offers an Antiwar Message           By Ivan Nechepurenko             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/books/n National Book Critics Circle Names 2021
2022-03-18   2022-03-19 ational-book-critics-circle-winners.html      Award Winners                              By Alexandra Alter               TX 9-152-782   2022-05-02
                                                                      College Professor Found Answers to His
                        https://www.nytimes.com/2022/03/17/us/chap Exams Online So He Took His Students to
2022-03-18   2022-03-19 man-law-cheating-professor.html               Court                                      By Michael Levenson              TX 9-152-782   2022-05-02




                                                                                Page 3510 of 5793
                        https://www.nytimes.com/2022/03/18/arts/mu
                        sic/gustavo-dudamel-philharmonic-
2022-03-18   2022-03-19 schumann.html                                Star Conductor Wraps Up an Audition         By Joshua Barone           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/arts/mu
                        sic/philharmonic-conductor-russia-           A Russian Pulls Out Of Concerts In New
2022-03-18   2022-03-19 ukraine.html                                 York                                        By Javier C Hernndez       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/arts/tele Jack Willis 87 TV Producer and Empathetic
2022-03-18   2022-03-19 vision/jack-willis-dead.html                 Filmmaker                                   By Sam Roberts             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/busines
2022-03-18   2022-03-19 s/adviser-students-personal-finance.html     Adding Money Smarts to the Curriculum       By Ann Carrns              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/busines
2022-03-18   2022-03-19 s/chinas-russia-information.html             A Great Firewall for Russia                 By Li Yuan                 TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/18/busines CreditReporting Companies Will Soon Wipe
2022-03-18   2022-03-19 s/credit-scores-medical-debt.html           Away Stains Left From Repaid Medical Debts By Tara Siegel Bernard       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/busines
                        s/economy/ukraine-energy-company-russia- Keeping the Lights On Amid Attacks With
2022-03-18   2022-03-19 war.html                                    Europes Aid and Lots of Scrambling         By Stanley Reed              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/busines UK Ferry Company Lays Off 800 Workers
2022-03-18   2022-03-19 s/ferry-firings-uk.html                     Abruptly                                   By Jenny Gross               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/busines State Farm Sees Fraud Clients See
2022-03-18   2022-03-19 s/state-farm-fraud-black-customers.html     Discrimination                             By Emily Flitter             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/climate                                             By Catrin Einhorn and Lisa
2022-03-18   2022-03-19 /global-energy-crisis-conserve.html         War Prompts Plea to Cut Use of Fuels       Friedman                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/health/ Prolonged Grief Is Declared a Mental
2022-03-18   2022-03-19 prolonged-grief-disorder.html               Disorder                                   By Ellen Barry               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/movies/
2022-03-18   2022-03-19 texas-chain-saw-massacre-x-ti-west.html     This Chain Saw Is Still Sharp              By Jason Zinoman             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/obituari Rabbi Chaim Kanievsky a Venerated
2022-03-18   2022-03-19 es/rabbi-chaim-kanievsky-dea.html           Talmudic Scholar Is Dead at 94             By Joseph Berger             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/opinion
2022-03-18   2022-03-19 /america-military-ukraine.html              The Case Against a NoFly Zone              By Tom Z Collina             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/opinion Dispatch From Hungary Can This Man Oust
2022-03-18   2022-03-19 /hungary-viktor-orban-opposition.html       Orban                                      By Michelle Goldberg         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/opinion
                        /omicron-created-a-perfect-storm-in-hong-   Hong Kong Dodged Mass Deaths From Covid
2022-03-18   2022-03-19 kong.html                                   Then Omicron Hit                           By Siddharth Sridhar         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/science
2022-03-18   2022-03-19 /space/pete-davidson-blue-origin.html       No Spaceflight For Comedian Company Says By Derrick Bryson Taylor       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/sports/a Will new design rules drive greater
2022-03-18   2022-03-19 utoracing/f1-new-cars-bahrain.html          competition                                By Luke Smith                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/18/sports/a
2022-03-18   2022-03-19 utoracing/lewis-hamilton-mercedes-f1.html Its official Lewis Hamilton is back            By Ian Parkes              TX 9-152-782   2022-05-02




                                                                                Page 3511 of 5793
                        https://www.nytimes.com/2022/03/18/sports/a
2022-03-18   2022-03-19 utoracing/zhou-guanyu-f1-alfa-romeo.html    A rookie who is ready to make history      By Phillip Horton               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/sports/b
2022-03-18   2022-03-19 aseball/justin-verlander-astros.html        For Verlander The Fires Still Burning      By Tyler Kepner                 TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/18/sports/f                                            By Jenny Vrentas and Emmanuel
2022-03-18   2022-03-19 ootball/deshaun-watson-traded-browns.html Watson Takes Rich Contract With Browns       Morgan                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/sports/i
                        upui-oklahoma-ncaa-womens-basketball-       After 2 Years a Second Chance to Make a
2022-03-18   2022-03-19 tournament.html                             First Impression                           By Marisa Ingemi                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/sports/n
                        caabasketball/st-peters-kentucky-ncaa-
2022-03-18   2022-03-19 basketball-tournament.html                  Improbably on the Map                      By Adam Zagoria                 TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/18/sports/n
2022-03-18   2022-03-19 caabasketball/texas-tech-march-madness.html Simple Complex Rule Force It to the Sideline By Scott Miller               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/sports/o
                        lympics/vincent-zhou-figure-skating-world- Heartbroken at Missing Two Olympic
2022-03-18   2022-03-19 championships.html                          Moments Zhou Returns to the Ice              By Juliet Macur               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/sports/t Spains Indomitable Past To Meet Its
2022-03-18   2022-03-19 ennis/nadal-alcaraz-indian-wells.html       Unstoppable Future                           By Christopher Clarey         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/technol Suit Alleging Price Controlling By Amazon Is
2022-03-18   2022-03-19 ogy/amazon-dc-antitrust-suit.html           Thrown Out                                   By David McCabe               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/technol
                        ogy/google-discrimination-suit-black-       Google Is Accused of Bias Against Black
2022-03-18   2022-03-19 employees.html                              Workers in Lawsuit                           By Daisuke Wakabayashi        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/theater/
2022-03-18   2022-03-19 what-you-are-now-review.html                Some Memories Arent Always So Welcome By Naveen Kumar                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/us/dont- Critics Call It the Dont Say Gay Bill What
2022-03-18   2022-03-19 say-gay-bill-florida.html                   Does the Text Actually Say                   By Dana Goldstein             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/us/polit
                        ics/dr-oz-trump-mccormick-senators-         Rival Targets Dr Ozs Heritage in Senate
2022-03-18   2022-03-19 race.html                                   Primary                                      By Shane Goldmacher           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/us/polit Justice Dept Expands Push To Help Train
2022-03-18   2022-03-19 ics/justice-dept-police-training.html       Local Police                                 By Katie Benner               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/us/polit
                        ics/pete-souza-ronny-jackson-biden-         Friends From Presidents Motorcade Become
2022-03-18   2022-03-19 trump.html                                  Enemies on Social Media                      By Annie Karni                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/us/polit Rejected Mail Ballots in Texas
2022-03-18   2022-03-19 ics/texas-primary-ballot-rejections.html    Disproportionately Affect Black People       By Nick Corasaniti            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/us/russi US Officials Move to Cut Sister City Ties
2022-03-18   2022-03-19 an-government-sister-cities-ukraine.html    With Russian Governments                     By Sophie Kasakove            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/us/texa Deputy Is Killed as Fires Spread Across
2022-03-18   2022-03-19 s-wildfires.html                            Central Texas                                By Giulia Heyward             TX 9-152-782   2022-05-02




                                                                                 Page 3512 of 5793
                        https://www.nytimes.com/2022/03/18/us/ukra A Gift From Britain Is Destroying Russias
2022-03-18   2022-03-19 ine-antitank-missiles-russia.html          Tanks                                        By John Ismay                   TX 9-152-782   2022-05-02
                                                                   Brazil Blocks Messaging App Over
                        https://www.nytimes.com/2022/03/18/world/a Disinformation Concerns Months Before
2022-03-18   2022-03-19 mericas/brazil-bans-telegram.html          Elections                                    By Jack Nicas                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/world/a Evading Beijings Censorship To Rally
2022-03-18   2022-03-19 sia/china-ukraine-russia-dissent.html      Chinese Against War                          By Chris Buckley                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/world/a A Killing Stone Broke in Japan Is There a
2022-03-18   2022-03-19 sia/killing-stone-japan.html               Demon on the Loose                           By Mike Ives and Makiko Inoue   TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/18/world/e On Call With Xi Biden Lays Out Punishments By David E Sanger and Edward
2022-03-18   2022-03-19 urope/biden-xi-russia-china.html           for Assisting Moscow War Effort            Wong                             TX 9-152-782    2022-05-02
                                                                                                              By Carlotta Gall Andrew E Kramer
                        https://www.nytimes.com/2022/03/18/world/e                                            Yousur AlHlou Masha Froliak
                        urope/kyiv-suburbs-irpin-ukraine-war-      In Suburbs Streets a Fight to Protect the  Brent McDonald Mark Boyer and
2022-03-18   2022-03-19 russia.html                                Capital                                    Benjamin Foley                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/world/e
                        urope/poland-jaroslaw-kaczynski-ukraine-   To Back Ukraine Polands Leader Abandons
2022-03-18   2022-03-19 eu.html                                    EU Skepticism                              By Andrew Higgins                TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/18/world/e
2022-03-18   2022-03-19 urope/pope-francis-ukraine-russia-war.html Pope Denounces War but Not Its Mastermind By Jason Horowitz                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/world/e
                        urope/russia-military-strategy-bombing-      In Its Latest Fight Moscow Returns to a
2022-03-18   2022-03-19 cities.html                                  Ruthless Pragmatism                        By Max Fisher                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/world/e Russia Hits Western Ukraine Biden Issues     By Michael Levenson Megan
2022-03-18   2022-03-19 urope/russia-ukraine-china-biden.html        Warning to Xi                              Specia and Edward Wong          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/world/e A Ukrainian Poet Endures the Nazis the
2022-03-18   2022-03-19 urope/ukraine-war-poet.html                  Soviets and Now Putins Army                By Carlotta Gall                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/your-
                        money/financial-aid-northeastern-muhlenberg-
2022-03-18   2022-03-19 whitman.html                                 Dragging College Aid Into Light            By Ron Lieber                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/busines Beijing Offers Virus Aid As Hong Kong
2022-03-18   2022-03-19 s/hong-kong-virus-beijing.html               Stumbles                                   By Alexandra Stevenson          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ Visualizing the 136 Billion in US Spending By Bianca Pallaro and Alicia
2022-03-18   2022-03-19 18/upshot/ukraine-aid-details.html           on Ukraine                                 Parlapiano                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/busines Finance Texas Legislator Warns Citigroup
2022-03-19   2022-03-19 s/citigroup-abortion-texas-warning.html      Over Abortion                              By Coral Murphy Marcos          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/nyregio
2022-03-19   2022-03-19 n/ny-utility-bill-moratorium.html            Many Fear ShutOffs Of Utilities Looming    By Patrick McGeehan             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/us/polit After Some Stumbles US Health Secretary Is
2022-03-19   2022-03-19 ics/becerra-health-pandemic-biden.html       Seeking a Reboot                           By Sheryl Gay Stolberg          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/01/31/books/r
                        eview/the-war-in-ukraines-donbas-david-
2022-01-31   2022-03-20 marples.html                                 Hybrid Wars                                By Thomas E Ricks               TX 9-152-782   2022-05-02



                                                                                Page 3513 of 5793
                        https://www.nytimes.com/2022/02/10/books/r
                        eview/a-molecule-away-from-madness-sara-
2022-02-10   2022-03-20 manning-peskin.html                        Mind Games                                    By Annie Murphy Paul   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/13/books/r
2022-02-13   2022-03-20 eview/a-very-nice-girl-imogen-crimp.html   The Male Gaze                                 By Jessica Bennett     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/22/books/r
                        eview/life-between-the-tides-adam-
2022-02-22   2022-03-20 nicolson.html                              Meeting of Land and Sea                       By Ben Goldfarb        TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/02/22/books/r
2022-02-22   2022-03-20 eview/roddy-doyle-life-without-chilidren.html Irish Times                                By Daphne Merkin       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/books/r
2022-03-01   2022-03-20 eview/groundskeeping-lee-cole.html            Opposites Attract                          By Hamilton Cain       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/01/books/r
2022-03-01   2022-03-20 eview/pankaj-mishra-run-hide.html             Strivers Row                               By Jonathan Dee        TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/04/books/r
2022-03-04   2022-03-20 eview/empire-of-the-scalpel-ira-rutkow.html This Might Hurt                              By Henry Marsh         TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/08/books/r
2022-03-08   2022-03-20 eview/ways-and-means-roger-lowenstein.html Money Changes Everything                      By Eric Foner          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/books/r
                        eview/the-christie-affair-nina-de-
2022-03-10   2022-03-20 gramont.html                                 Inside the List                             By Elisabeth Egan      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/books/r
2022-03-11   2022-03-20 eview/booth-karen-joy-fowler.html            Upstaged                                    By Brandon Taylor      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/magazi
                        ne/president-zelensky-russian-
2022-03-11   2022-03-20 propaganda.html                              Tongue Tied                                 By Keith Gessen        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/books/r
2022-03-14   2022-03-20 eview/new-true-crime-books.html              True Crime                                  By Tina Jordan         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/realesta Finding Stability and Love in a Gramercy
2022-03-14   2022-03-20 te/renters-gramercy-park.html                Studio                                      By DW Gibson           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ Climate Change Is Killing Her Country Who
2022-03-14   2022-03-20 14/magazine/tina-stege-interview.html        Will Decide if It Lives                     By David Marchese      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/arts/tele
                        vision/mandy-patinkin-benjamin-
2022-03-15   2022-03-20 franklin.html                                Mandy Patinkin Says His Prayers             By Kathryn Shattuck    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/books/r
                        eview/fintan-otoole-we-dont-know-ourselves-
2022-03-15   2022-03-20 ireland.html                                 We Dont Know Ourselves                      By Colum McCann        TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/15/books/r
                        eview/things-are-never-so-bad-that-they-cant-
2022-03-15   2022-03-20 get-worse-venezuela-william-neuman.html       National Basket Case                       By Tim Padgett         TX 9-152-782   2022-05-02



                                                                                  Page 3514 of 5793
                        https://www.nytimes.com/2022/03/15/magazi
2022-03-15   2022-03-20 ne/asteroids-vesta-nasa.html              How to Spot Asteroids                           By Malia Wollan                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/15/magazi
2022-03-15   2022-03-20 ne/can-i-sever-ties-with-my-selfish-sister.html Can I Sever Ties With My Selfish Sister      By Kwame Anthony Appiah     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/magazi
2022-03-15   2022-03-20 ne/charles-mingus-toilet-train-cat.html         ToiletTraining a Cat                         By Brent Katz               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/magazi
                        ne/michelle-yeoh-everything-everywhere-all-
2022-03-15   2022-03-20 at-once.html                                    Michelle Yeohs Quantum Leaps                 By Alexandra Kleeman        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/opinion
2022-03-15   2022-03-20 /madison-constitution-states-rights.html        The Reason Madison Was A Federalist          By Jamelle Bouie            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/opinion
2022-03-15   2022-03-20 /truckers-surveillance.html                     Why Truckers Are Rebelling                   By Robin KaiserSchatzlein   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/opinion
2022-03-15   2022-03-20 /when-inflation-meets-a-war.html                The Feds Hardest Problem in 40 Years         By Steven Rattner           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/style/ch
2022-03-15   2022-03-20 ristmas-holiday-redo-covid.html                 Way Late But Still Very Merry                By Alyson Krueger           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/theater/
2022-03-15   2022-03-20 jesse-williams-interview-broadway.html          So Long Scrubs Hello Cleats                  By Alexis Soloski           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/arts/dan
                        ce/lauren-lovette-ballet-paul-taylor-
2022-03-16   2022-03-20 company.html                                    New Home Feels Limitless                     By Gia Kourlas              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/magazi
2022-03-16   2022-03-20 ne/amazon-rainforest-ituna-itata.html           The War for the Rainforest                   By William Langewiesche     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/magazi
2022-03-16   2022-03-20 ne/maple-milk-bread-recipe.html                 The Pillowy Magic of Milk Bread              By Eric Kim                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/realesta
2022-03-16   2022-03-20 te/gardening-pyschology.html                    Cultivate Your WellBeing Seed by Seed        By Margaret Roach           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/realesta
                        te/home-prices-district-of-columbia-            475000 Homes in Massachusetts the District
2022-03-16   2022-03-20 arkansas.html                                   of Columbia and Arkansas                     By Angela Serratore         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/realesta
                        te/house-hunting-in-luxembourg-a-modern-
2022-03-16   2022-03-20 cottage-built-for-efficiency.html               Built to Save Energy and to View the Scenery By Michael Kaminer          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/realesta
                        te/riverhead-ny-a-long-island-community-        A Long Island Community Thats Suddenly
2022-03-16   2022-03-20 thats-suddenly-popular.html                     Popular                                      By Julie Lasky              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/style/pe
2022-03-16   2022-03-20 t-weddings.html                                 No I Dos Here but Maybe Some I Woofs         By Sean Malin               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/t-
2022-03-16   2022-03-20 magazine/roxane-gay-cake-recipe.html            The Joys of Baking                           By Andr Wheeler             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/theater/
                        heather-christian-oratorio-for-living-
2022-03-16   2022-03-20 things.html                                     Her Shows Back It Really Is About Time       By Jose Sols                TX 9-152-782   2022-05-02



                                                                                  Page 3515 of 5793
                        https://www.nytimes.com/2022/03/17/arts/mu Exploring The Many Places Where Jazz Lives By Giovanni Russonello and Sinna
2022-03-17   2022-03-20 sic/jazz-club.html                           Now                                      Nasseri                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/books/r
                        eview/gregory-maguire-cress-watercress-matt-
                        phelan-the-sheep-the-rooster-and-the-
2022-03-17   2022-03-20 duck.html                                    Wild Life                                By James Sturm                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/health/ Barrie R Cassileth 83 Who Transformed
2022-03-17   2022-03-20 barrie-cassileth-dead.html                   Cancer Care                              By Clay Risen                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/magazi Something Seemed to Be Blocking Signals to
2022-03-17   2022-03-20 ne/diagnosis-acoustic-neuroma.html           Her Brain What Was It                    By Lisa Sanders MD               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/magazi
                        ne/judge-john-hodgman-birthday-
2022-03-17   2022-03-20 surprises.html                               Bonus Advice From Judge John Hodgman     By John Hodgman                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/magazi
2022-03-17   2022-03-20 ne/poem-lessons-on-lessening.html            Poem Lessons on Lessening                By Jane Wong and Victoria Chang TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/17/movies/
                        the-lost-city-sandra-bullock-channing-tatum-
2022-03-17   2022-03-20 daniel-radcliffe.html                        The High Stakes for The Lost City        By Kyle Buchanan                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/nyregio                                            By Joseph Goldstein and Sharon
2022-03-17   2022-03-20 n/new-york-pandemic-lessons.html             The Agonizing Covid19 Learning Curve     Otterman                         TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/17/opinion
2022-03-17   2022-03-20 /ghislaine-maxwell-trial-juror-selection.html The Question No Juror Should Be Asked    By Tali Farhadian Weinstein    TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/17/opinion
2022-03-17   2022-03-20 /russian-migrants-putin-war-ukraine.html      Putins War Is Driving Russians Out       By Sophie Pinkham              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/17/opinion
2022-03-17   2022-03-20 /work-flexibility-hours.html                  Retire the 9to5 Workday                  By Emily LaberWarren           TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/17/realesta
2022-03-17   2022-03-20 te/home-buying-savings.html                   For a Faster Down Payment Look Here      By Michael Kolomatsky          TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/17/realesta Financial Tips to Consider Before You
2022-03-17   2022-03-20 te/second-home-personal-finance-tips.html     Decide to Buy                            By Gregory Schmidt             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/17/science Eugene N Parker 94 Who Predicted the
2022-03-17   2022-03-20 /space/eugene-n-parker-dead.html              Existence of Solar Wind Is Dead          By Kenneth Chang               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/17/style/co
2022-03-17   2022-03-20 ffee-shop-tipping-social-qs.html              Tipping Points                           By Philip Galanes              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/17/t-
2022-03-17   2022-03-20 magazine/woody-de-othello-art.html            Domestic Works                           By Anna Furman                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ Where Does American Democracy Go From
2022-03-17   2022-03-20 17/magazine/democracy.html                    Here                                     By Charles Homans              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ They Traded a OneBedroom Condo for a
                        17/realestate/condo-two-bedroom-              TwoFamily House in Brooklyn Which Option
2022-03-17   2022-03-20 brooklyn.html                                 Would You Choose                         By Joyce Cohen                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/arts/des
2022-03-18   2022-03-20 ign/kaari-upson-venice-biennale.html          Works That Consider Vanity and Loss      By Jori Finkel                 TX 9-152-782    2022-05-02




                                                                               Page 3516 of 5793
                        https://www.nytimes.com/2022/03/18/arts/mu
2022-03-18   2022-03-20 sic/cesar-franck-symphony.html               Falling Out of Love With Franck              By David Allen                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/arts/tele
2022-03-18   2022-03-20 vision/nicola-coughlan-bridgerton.html       A Dream That Wasnt About to Die              By Alexis Soloski               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/arts/tele Peter Bowles 85 Dapper Actor in To the
2022-03-18   2022-03-20 vision/peter-bowles-dead.html                Manor Born                                   By Katharine Q Seelye           TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/books/r
2022-03-18   2022-03-20 eview/new-paperbacks.html                    Paperback Row                                By Miguel Salazar               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/nyregio
2022-03-18   2022-03-20 n/covid-nyc-lessons-learned.html             The Ways the Pandemic Changed Us             By Ginia Bellafante             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/nyregio
2022-03-18   2022-03-20 n/oni-and-uche-blackstock.html               Personal and Family Time for 2 Doctors       By Tammy La Gorce               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/opinion Asian Americans Have Always Lived With
2022-03-18   2022-03-20 /asian-american-violence-fear.html           Fear                                         By Min Jin Lee                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/opinion
2022-03-18   2022-03-20 /cancel-culture-free-speech-poll.html        Free Speech Is Under Threat                  By The Editorial Board          TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/opinion The Secret Cyberwar Being Waged in
2022-03-18   2022-03-20 /cyberwar-ukraine-russia.html                Ukraine                                      By Thomas Rid                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/realesta
2022-03-18   2022-03-20 te/home-owners-first-time.html               They Settled for the Best of Both Worlds     By Candace Jackson              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/realesta
2022-03-18   2022-03-20 te/second-home-security-safety.html          Keep a Smart Eye on Your Second Home         By Jon Chase and Rachel Cericola TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/sports/b
2022-03-18   2022-03-20 aseball/ron-blomberg-universal-dh.html       The First DH Is Ready for the Universal DH   By Gary Phillips                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/sports/s Star Seeks to Escape PSG And Can You
2022-03-18   2022-03-20 occer/kylian-mbappe-psg.html                 Blame Him                                    By Rory Smith                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/style/art
2022-03-18   2022-03-20 olfaction-institute-smell.html               Exploring Our Sense Of Smell                 By Betty Hallock                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/style/de Raw Cookie Dough Eclipses a Raw Deal
2022-03-18   2022-03-20 ux-cookie-dough.html                         From Online Scolds                           By Hilary Sheinbaum             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/style/ho Back From the Peace Corps to Find Love
2022-03-18   2022-03-20 lly-van-groll-gregg-bennett-wedding.html     Close to Home                                By Alix Wall                    TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/style/ka Even in Clark Kent Mode Still
2022-03-18   2022-03-20 telyn-yeary-kevin-rustagi-wedding.html       SuperAppealing                               By Rosalie R Radomsky           TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/18/style/ky Improbable Union Overcomes Grief and an
2022-03-18   2022-03-20 ra-friedell-alexander-fernandez-wedding.html Accident                                     By Alix Wall                    TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/style/m
                        arin-hinkle-of-the-marvelous-mrs-maisel-
2022-03-18   2022-03-20 melts-chocolate.html                         A Sweet Role if You Can Get It               By Alexis Soloski               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/style/m
                        odern-love-not-wasting-my-time-with-a-       On Not Wasting My Time With a Younger
2022-03-18   2022-03-20 younger-man.html                             Man                                          By Rosemary Howe Camozzi        TX 9-152-782    2022-05-02




                                                                                 Page 3517 of 5793
                        https://www.nytimes.com/2022/03/18/style/na
                        tional-review-film-gala-winners-
2022-03-18   2022-03-20 highlights.html                              A Family Night for Film                    By Shane ONeill                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/18/style/sh Before a 10Day First Date a Whole Lot of
2022-03-18   2022-03-20 aron-poczter-michael-cohen-wedding.html      FaceTime                                   By Vincent M Mallozzi          TX 9-152-782     2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
                        18/technology/cryptocurrency-crypto-
2022-03-18   2022-03-20 guide.html                                   The Latecomers Guide to Crypto             By Kevin Roose                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
2022-03-18   2022-03-20 18/technology/nft-guide.html                 What are NFTs                              By Kevin Roose                 TX 9-152-782     2022-05-02

                        https://www.nytimes.com/interactive/2022/03/
2022-03-18   2022-03-20 18/technology/web3-definition-internet.html What is web3                               By Kevin Roose                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
2022-03-18   2022-03-20 18/technology/what-are-daos.html             What are DAOs                             By Kevin Roose                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/
                        18/technology/what-is-defi-
2022-03-18   2022-03-20 cryptocurrency.html                          What is DeFi                              By Kevin Roose                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/obituari Don Young Alaska Congressman and Dean of
2022-03-19   2022-03-20 es/don-young-obituary-alaska.html            the House Is Dead at 88                   By Robert D McFadden              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/climate
2022-03-19   2022-03-20 /energy-transition-climate-change.html       Mixed Messages for Americas Energy Future By David Gelles and Lisa Friedman TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/health/c US Isnt Ready If Covid Surges Scientists
2022-03-19   2022-03-20 ovid-ba2-surge-variant.html                  Warn                                      By Benjamin Mueller               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/nyregio                                             By Michael Wilson and Sarah
2022-03-19   2022-03-20 n/clean-air-idle-car.html                    Stalking Trucks For a Bounty In New York Blesener                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/opinion
2022-03-19   2022-03-20 /putin-zelensky-trump-heroism.html           Putin Chokes on a Midge Named Zelensky    By Maureen Dowd                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/realesta Is It the Right Time to Transform Your
2022-03-19   2022-03-20 te/vacation-rental-tips-for-landlords.html   Vacation Home Into a Rental               By Ronda Kaysen                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/sports/b Meet the New Met Who Gets a Second
2022-03-19   2022-03-20 aseball/billy-eppler-mets.html               Chance                                    By Tyler Kepner                   TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/19/sports/b
2022-03-19   2022-03-20 aseball/carlos-correa-minnesota-twins.html   In Surprise Correa Takes Twins Deal        By James Wagner                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/19/sports/n A Messy Season for LSU Down to the Bitter
2022-03-19   2022-03-20 caabasketball/lsu-will-wade.html             End                                        By Billy Witz                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/19/sports/n
                        caabasketball/ncaa-tournament-womens-        UConn Still Seeking Adversity Dispatches   By Alanis Thames Remy Tumin
2022-03-19   2022-03-20 scores.html                                  Mercer                                     and Natalie Weiner             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/19/style/co Covid Tests Are Plentiful People Are
2022-03-19   2022-03-20 vid-test-kits.html                           Stocking Up                                By Steven Kurutz               TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/19/style/tik
                        tok-political-campaigns-midterm-             Trying to Trend Politicians Take On The
2022-03-19   2022-03-20 elections.html                               TikTok Challenge                           By Anna P Kambhampaty          TX 9-152-782     2022-05-02



                                                                                Page 3518 of 5793
                        https://www.nytimes.com/2022/03/19/sunday-                                              By Kalyn Belsha Melanie Asmar
2022-03-19   2022-03-20 review/pandemic-school-education.html       Covids Lasting Toll on Our Schools          and Lori Higgins                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/us/eastl Crews Battle Deadly Fires As Texas Braces
2022-03-19   2022-03-20 and-fires-texas.html                        for More                                    By David Montgomery              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/us/keno School Video Shows Officer Putting Knee on
2022-03-19   2022-03-20 sha-officer-kneel-neck-girl.html            Girls Neck                                  By Sophie Kasakove               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/us/polit A Generals Mission To Help Destigmatize
2022-03-19   2022-03-20 ics/military-mental-health.html             Mental Health Issues                        By Jennifer Steinhauer           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/us/polit Trucker Protest Settles In For Long Haul to
2022-03-19   2022-03-20 ics/trucker-convoy-protest.html             Oppose Mandates and Far More                By Charles Homans                TX 9-152-782   2022-05-02
                                                                                                                By Mark Mazzetti Helene Cooper
                        https://www.nytimes.com/2022/03/19/us/polit                                             Julian E Barnes and David E
2022-03-19   2022-03-20 ics/us-ukraine-russia-escalation.html       US Goal Stave Off Dont Set Off Putin        Sanger                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/us/ukra Ukrainians Are Trickling Into the US to
2022-03-19   2022-03-20 inian-refugees-sponsors-us.html             Warm Welcomes                               By Miriam Jordan                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/world/a They Keep Killing Us Violence Only
2022-03-19   2022-03-20 frica/sudan-darfur.html                     Worsens in Darfur 2 Decades On              By Abdi Latif Dahir              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/world/c Tired of Skating in Circles Try Gliding      By Ian Austen and Aaron Vincent
2022-03-19   2022-03-20 anada/ottawa-ice-skating-trails.html        Through a Forest                            Elkaim                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/world/e
                        urope/france-algeria-macron-election-far-   Shadows of Algerian War Loom Over Frances
2022-03-19   2022-03-20 right.html                                  Presidential Campaigns                      By Constant Mheut                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/world/e Russians Breach Mariupol Barracks Strike     By Michael Levenson Marc Santora
2022-03-19   2022-03-20 urope/mariupol-russia-ukraine-war.html      Kills Dozens                                and Valerie Hopkins              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/world/e
2022-03-19   2022-03-20 urope/pope-constitution-vatican.html        With New Charter Pope Realigns Vatican      By Jason Horowitz                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/world/e Putin Isnt Yet Ready for Talks With Zelensky
2022-03-19   2022-03-20 urope/putin-zelensky-turkey.html            Aide to Turkish President Says              By Steven Erlanger               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/world/e
                        urope/ukraine-marines-russian-missile-      Strike on Marine Barracks Marks One of the
2022-03-19   2022-03-20 mykolaiv.html                               Wars Deadliest Single Attacks               By Michael Schwirtz              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/19/world/e
2022-03-19   2022-03-20 urope/us-marines-crash-norway-aircraft.html 4 US Marines Killed in Norway Crash       By Aina J Khan                   TX 9-152-782     2022-05-02

                        https://www.nytimes.com/live/2022/03/19/wo
                        rld/ukraine-russia-war/the-battle-for-kyiv-  Fight for Kyiv Looms as a Long Fierce By Andrew E Kramer and Lynsey
2022-03-19   2022-03-20 could-be-the-biggest-urban-battle-in-decades Conflict                              Addario                             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/20/insider/
                        on-cannabis-in-oakland-the-most-important-
2022-03-20   2022-03-20 kind-of-story-that-we-do.html                A Close Look at a New Industry        By Terence McGinley                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/20/nyregio Adams Is Determined To Move New Yorkers
2022-03-20   2022-03-20 n/pandemic-recovery-masks-nyc.html           Beyond the Pandemic                   By Emma G Fitzsimmons               TX 9-152-782     2022-05-02




                                                                               Page 3519 of 5793
                        https://www.nytimes.com/2022/03/20/sports/n
                        caabasketball/march-madness-sunday-                                                      By Alanis Thames Adam Zagoria
2022-03-20   2022-03-20 watch.html                                  Two Coaching Giants On a Collision Course    and Scott Miller                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/20/sports/n
                        caabasketball/ncaa-womens-tournament-       The Round of 32 Begins With Intriguing       By Natalie Weiner and Remy
2022-03-20   2022-03-20 second-round.html                           Matchups                                     Tumin                            TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/20/us/polit As Hearing Approaches Republicans Step Up
2022-03-20   2022-03-20 ics/ketanji-brown-jackson-republicans.html Objections to Jackson                        By Carl Hulse                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/us/toad- Psychedelic Toad Venom Is in Demand Thats
2022-03-20   2022-03-20 venom-psychedelic.html                       Bad for the Toad                           By Simon Romero                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/world/e Horror Anguish Disbelief Escaping Chaos 3
2022-03-20   2022-03-20 urope/ukraine-women-escape-stories.html      Weeks In                                   By Sabrina Tavernise                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/02/travel/s Billionaires Clash Over a Caribbean Edens
2022-03-02   2022-03-21 t-barts-hotel-development.html               Future                                     By Nina Burleigh                    TX 9-152-782   2022-05-02
                                                                                                                By Sarah Kerr Noah Throop Jack
                        https://www.nytimes.com/interactive/2022/03/                                            Healy Aidan Gardiner and Rebecca
2022-03-10   2022-03-21 09/us/mental-health-climate-change.html      The Unseen Toll of a Warming World         Lieberman                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/briefing
2022-03-11   2022-03-21 /covid-time.html                             Opportunities Missed and in Wait           By Jonathan Wolfe                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/arts/mu
2022-03-16   2022-03-21 sic/kneecap-irish-rap-celtic-revival.html    A Celtic Revival in HipHop and More        By Una Mullally                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/busines
2022-03-16   2022-03-21 s/genshin-impact-china-japan.html            Video Game From China Becomes Hit          By Ben Dooley and Paul Mozur        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/opinion The Pandemic Showed That Schools Arent
2022-03-16   2022-03-21 /pandemic-learning-differences.html          Made for All Kids                          By Jessica Grose                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/arts/tele Analysts Say Jussie Smolletts Case Could
2022-03-17   2022-03-21 vision/jussie-smollett-released.html         Last for Years                             By Julia Jacobs and Robert Chiarito TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/busines Some Transgender People Used Remote Work
2022-03-17   2022-03-21 s/transgender-transition-pandemic.html       to Make a Change                           By Jenny Gross and Alyssa Lukpat TX 9-152-782      2022-05-02
                        https://www.nytimes.com/2022/03/18/arts/des
2022-03-18   2022-03-21 ign/tomas-saraceno-tiktok-shed.html          Getting to Know Your Inner Arachnid        By Laura Zornosa                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/arts/tele
2022-03-18   2022-03-21 vision/american-song-contest.html            This New Song Contest Sure Sounds Familiar By Elisabeth Vincentelli            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/books/s
2022-03-18   2022-03-21 hame-machine-cathy-oneil.html                Mining The Rich Vein Of Shame              By Jennifer Szalai                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/busines Jeanette Wagner 92 Who Globalized the Este
2022-03-18   2022-03-21 s/jeanette-wagner-dead.html                  Lauder Brand                               By Alex Traub                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/busines Av Westin Newsman Who Helped 2020 Win
2022-03-18   2022-03-21 s/media/av-westin-dead.html                  Several Emmys Dies at 92                   By Richard Sandomir                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/busines Returning Workers Worry As Offices Ease      By Emma Goldberg and Lananh
2022-03-18   2022-03-21 s/office-mask-mandates.html                  Covid Rules                                Nguyen                              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/19/arts/des
2022-03-19   2022-03-21 ign/underground-museum-los-angeles.html     Center for Black Art Closes in Los Angeles   By Zachary Small                 TX 9-152-782     2022-05-02



                                                                                 Page 3520 of 5793
                        https://www.nytimes.com/2022/03/19/busines Using History as a Guidebook on How to
2022-03-19   2022-03-21 s/dealbook/inflation-war.html               Fight Inflation in Times of War            By Roger Lowenstein             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/obituari Janet MacPherson Surfer During an Era When
2022-03-19   2022-03-21 es/janet-macpherson-dead.html               Men Ruled the Sport Dies at 84             By Neil Genzlinger              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/obituari Overlooked No More Louise Little Activist
2022-03-19   2022-03-21 es/louise-little-overlooked.html            and Mother of Malcolm X                    By Jolie Solomon                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/opinion Women as Victims or Criminals A Shift in
2022-03-19   2022-03-21 /abortion-laws-bans-missouri.html           AntiAbortion Tactics                       By Mary Ziegler                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/opinion
2022-03-19   2022-03-21 /ukraine-russia-putin-history.html          Putin Got Ukraine Utterly Wrong            By Yaroslav Hrytsak             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/us/stud Man Hiring Impersonators Convicted In 14
2022-03-19   2022-03-21 ent-loan-fraud-baton-rouge.html             Million Student Loan Scheme                By Amanda Holpuch               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/world/a
2022-03-20   2022-03-21 ustralia/hillsong-brian-houston.html        Church Apologizes for Founders Conduct     By Damien Cave                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/arts/mu
2022-03-20   2022-03-21 sic/hours-opera-renee-fleming.html          Grand Voices United and Apart              By Zachary Woolfe               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/movies/
2022-03-20   2022-03-21 coda-producers-guild-awards.html            CODA Receives Producers Guild Award        By Kyle Buchanan                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/nyregio No New Taxes but a Lot of Items to Haggle
2022-03-20   2022-03-21 n/budget-hochul-ny.html                     Over in New Yorks Budget                   By Luis FerrSadurn              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/opinion Its Now Putins Plan B vs Bidens and
2022-03-20   2022-03-21 /putin-zelensky-ukraine.html                Zelenskys Plan A                           By Thomas L Friedman            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/sports/b A New Leading Man Lifts Torontos Hopes In
2022-03-20   2022-03-21 aseball/toronto-blue-jays.html              the Playoff Picture                        By James Wagner                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/sports/c Qatars Most Popular Sport Forced to Settle By John McManus and Iman
2022-03-20   2022-03-21 ricket/qatar-cricket.html                   for Scraps                                 AlDabbagh                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/sports/n
2022-03-20   2022-03-21 caabasketball/obannon-nil-athletes.html     Players Uncle Created New Sports Landscape By Scott Miller                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/sports/s
2022-03-20   2022-03-21 ki-amputee-paralympics.html                 Gaining Perspective Through Loss           By Shauna Farnell               TX 9-152-782   2022-05-02
                                                                                                               By Rob Moritz Eduardo Medina
                        https://www.nytimes.com/2022/03/20/us/arka As an Arkansas Town Revives an Annual       Tariro Mzezewa and Richard
2022-03-20   2022-03-21 nsas-car-show-shooting-dumas.html           Gathering Gunshots Ring Out                Fausset                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/us/polit Can a Comforting Voice Help Patch Up The
2022-03-20   2022-03-21 ics/ashish-jha-covid-biden.html             Political Divide Over the Pandemic         By Sheryl Gay Stolberg          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/us/polit At Harvard Jackson Weighed Race Justice
2022-03-20   2022-03-21 ics/ketanji-brown-jackson-harvard.html      and Academics                              By Erica L Green                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/us/polit Tracking Route Of Biden Diary To           By Michael S Schmidt and Adam
2022-03-20   2022-03-21 ics/project-veritas-ashley-biden-diary.html Provocateur                                Goldman                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/us/polit Prosecutors May Seek To Resolve Sept 11
2022-03-20   2022-03-21 ics/sept-11-trial-guantanamo.html           Case Without a Capital Trial               By Carol Rosenberg              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/us/wild Texas Struggles to Control Wildfire With    By Giulia Heyward and David
2022-03-20   2022-03-21 fires-texas-eastland-complex.html           Combustible Conditions Expected to Persist Montgomery                      TX 9-152-782   2022-05-02




                                                                              Page 3521 of 5793
                        https://www.nytimes.com/2022/03/20/world/a
2022-03-20   2022-03-21 mericas/ukraine-war-global-food-crisis.html War Threatens to Cause a Global Food Crisis By Jack Nicas                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/world/a As Economy Suffers Under Omicron Surge By Amy Qin and Amy Chang
2022-03-20   2022-03-21 sia/china-zero-covid.html                    China Tweaks Strategy                      Chien                              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/world/a
                        sia/pakistan-blasphemy-religious-                                                       By Zia urRehman and Salman
2022-03-20   2022-03-21 violence.html                                ReligionFueled Mobs Rise Again in Pakistan Masood                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/world/a                                              By Steven Lee Myers and Stuart A
2022-03-20   2022-03-21 sia/russia-putin-propaganda-media.html       For Putin Truth Is Just Another Front Line Thompson                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/world/e
                        urope/russian-soldiers-video-kyiv-           An Apartment Complex Seized by the         By Brenna Smith and Masha
2022-03-20   2022-03-21 invasion.html                                Russian Army                               Froliak                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/world/e Russia Bombards Strategic Port From Land By Valerie Hopkins Marc Santora
2022-03-20   2022-03-21 urope/ukraine-russia-war-mariupol.html       Air and Sea                                and Catherine Porter               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/world/
                        middleeast/rabbi-chaim-kanievsky-            Revered Rabbi Is Buried in One of Largest
2022-03-20   2022-03-21 funeral.html                                 Gatherings in Israeli History              By Patrick Kingsley                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/world/ OutwardLooking Russians Now on the
2022-03-20   2022-03-21 middleeast/ukraine-russia-armenia.html       Outside                                    By Jane Arraf                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/us/polit US to Declare 17 Killings Of Rohingya as
2022-03-21   2022-03-21 ics/us-rohingya-genocide.html                Genocide                                   By Lara Jakes                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/arts/tele
2022-03-21   2022-03-21 vision/atlanta-academy-awards-tv.html        This Week on TV                            By Gabe Cohn                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/busines
2022-03-21   2022-03-21 s/economy/inflation-biden-shipping.html      En Route to Ocean Carriers Oversight       By Ana Swanson                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/sports/f
                        ootball/deshaun-watson-cleveland-browns-     For 230 Million Browns Get Watson and
2022-03-21   2022-03-21 sexual-misconduct.html                       Their Image Pays a Price                   By Kurt Streeter                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/technol
2022-03-21   2022-03-21 ogy/toronto-tech-boom.html                   Toronto a Tech Hub Thats in Quiet Bloom    By Cade Metz                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/world/a An Endangered Bird Rebounds Can It           By Motoko Rich Hikari Hida and
2022-03-21   2022-03-21 sia/japan-red-crowned-cranes.html            Become Wild Again                          James Whitlow Delano               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/article/tornado-     Effect of Climate Change on Tornadoes      By Winston ChoiSchagrin and
2021-12-11   2022-03-22 climate-change.html                          Remains Unclear                            Raymond Zhong                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/02/10/crossw                                               By Alexis Benveniste and Jackie
2022-02-10   2022-03-22 ords/best-wordle-tips.html                   How to Win Wordle Tips and Tricks          Frere                              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/03/well/liv
2022-03-04   2022-03-22 e/hospital-patient-advocates.html            For Hospital Help Call a Patient Advocate  By Tara ParkerPope                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/11/science
2022-03-11   2022-03-22 /endurance-ship-ernest-shackleton.html       Now Aboard Shipwreck a Spineless Crew      By Sabrina Imbler                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/well/mi
2022-03-14   2022-03-22 nd/stress-anxiety-mind.html                  This Year Try Spring Cleaning Your Brain   By Christina Caron                 TX 9-152-782   2022-05-02




                                                                                Page 3522 of 5793
                        https://www.nytimes.com/2022/03/15/well/fa
                        mily/support-child-gender-identity-trans-non-
2022-03-15   2022-03-22 binary.html                                   When Kids Dispute Their Gender         By Melinda Wenner Moyer         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/arts/hir Hiram Maristany Who Captured East Harlem
2022-03-16   2022-03-22 am-maristany-dead.html                        With a Loving Lens Dies at 76          By Sam Roberts                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/science Research Finds Studies Of Brain Are Too
2022-03-16   2022-03-22 /brain-imaging-research.html                  Small                                  By Matt Richtel                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/world/a
2022-03-17   2022-03-22 sia/worlds-largest-potato-doug.html           In the End Doug Wasnt a Giant Potato   By Natasha Frost                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/health/f Shrugs Over Flu Signal Future Covid
2022-03-18   2022-03-22 lu-covid.html                                 Attitudes                              By Gina Kolata                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/science Giant Moon Rocket Finally Reaches The
2022-03-18   2022-03-22 /nasa-sls-rocket-launchpad.html               Launch Pad                             By Kenneth Chang                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/article/4th-covid- Considering Eligibility for a 2nd Covid
2022-03-18   2022-03-22 shot-2nd-booster.html                         Booster Shot                           By Knvul Sheikh                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/arts/tele
2022-03-20   2022-03-22 vision/sanditon-pbs.html                      Sanditon Unfinished No More            By Roslyn Sulcas                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/movies/
2022-03-20   2022-03-22 basic-instinct-sharon-stone.html              A Time Capsule That Can Still Offend   By Jason Bailey                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/opinion
2022-03-20   2022-03-22 /russia-ukraine-soviet-union.html             The Russia I Know Is Being Erased      By Varia Bortsova               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/20/movies/
2022-03-21   2022-03-22 writers-guild-awards-coda-dont-look-up.html CODA Win Shifts Outlook For Oscars        By Kyle Buchanan               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/arts/des
                        ign/christies-andy-warhol-marilyn-
2022-03-21   2022-03-22 monroe.html                                 Christies to Auction A Warhol Marilyn     By Robin Pogrebin              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/arts/ma
2022-03-21   2022-03-22 rvel-comics-auction.html                    First Marvel Comic Sells for 24 Million   By Alyssa Lukpat               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/arts/mu Lil Durks 7220 Dethrones The Encanto
2022-03-21   2022-03-22 sic/lil-durk-ghost-billboard-chart.html     Soundtrack                                By Ben Sisario                 TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/21/arts/mu
2022-03-21   2022-03-22 sic/ny-philharmonic-2022-2023-season.html Revamped Home Awaits Philharmonic           By Javier C Hernndez           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/arts/mu
                        sic/ukrainian-contemporary-music-                                                     By Joshua Barone and Zachary
2022-03-21   2022-03-22 festival.html                              Nature Folklore and Defiance in Ukraine    Woolfe                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/books/r
                        eview-emergency-chicago-er-thomas-
2022-03-21   2022-03-22 fisher.html                                A Doctor Determined To Make a Difference   By Dwight Garner               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/busines
2022-03-21   2022-03-22 s/boeing-china-737.html                    A New Crash Puts Boeing To the Test        By Niraj Chokshi               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/busines Fed May Raise Rates More Quickly to Tame
2022-03-21   2022-03-22 s/economy/powell-fed-inflation.html        Rising Inflation                           By Jeanna Smialek              TX 9-152-782   2022-05-02




                                                                                 Page 3523 of 5793
                        https://www.nytimes.com/2022/03/21/busines                                          By Liz Alderman and Patricia
2022-03-21   2022-03-22 s/refugees-ukraine-jobs.html               Europe Rushes to Fill Jobs With Refugees Cohen                                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/busines                                          By Matthew Goldstein and David
2022-03-21   2022-03-22 s/russia-roman-abramovich-concord.html     Many Hands Moved Cash For Oligarch       Enrich                                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/busines
2022-03-21   2022-03-22 s/saudi-aramco-oil-production.html         Saudi Arabia To Increase Oil Output      By Stanley Reed                         TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/busines SEC Rule Would Make Firms Reveal Climate By Matthew Goldstein and Peter
2022-03-21   2022-03-22 s/sec-climate-disclosure-rule.html         Toll                                     Eavis                                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/busines Array of Critics Oppose a Rule To Curb
2022-03-21   2022-03-22 s/sec-swaps-rules.html                     Swaps                                    By Maureen Farrell                      TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/busines
                        s/wells-fargo-mortgages-discrimination-    A Black Homeowner Is Suing Wells Fargo
2022-03-21   2022-03-22 suit.html                                  Claiming Discrimination                  By Emily Flitter                        TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/21/climate Warning of a Catastrophe With the Use of
2022-03-21   2022-03-22 /united-nations-fossil-fuels-climate-crisis.html Fossil Fuels                              By Lisa Friedman                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/health/c Skyrocketing Death Rate in Hong Kong
2022-03-21   2022-03-22 ovid-hong-kong-deaths.html                       Shows Importance of Vaccinating Seniors   By Benjamin Mueller              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/health/c
2022-03-21   2022-03-22 ovid-lab-leak-eddie-holmes.html                  He Thinks He Saw Covids Start             By Carl Zimmer                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/movies/
2022-03-21   2022-03-22 academy-museum-jewish-founders.html              Film Museum Fills History Gap             By Adam Nagourney                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/movies/
2022-03-21   2022-03-22 atlantide-review.html                            Restless on the Lagoon                    By Natalia Winkelman             TX 9-152-782    2022-05-02
                                                                                                                   By Andy Newman Campbell
                        https://www.nytimes.com/2022/03/21/nyregio In Killings of Homeless Men Portraits of 3      Robertson Samira AsmaSadeque
2022-03-21   2022-03-22 n/homeless-men-killed.html                  Lives Derailed                                 and Ashley Southall              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/nyregio New York Democrats Set Sights on Big
2022-03-21   2022-03-22 n/universal-childcare-ny.html               Increase in Child Care Funding                 By Grace Ashford                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/opinion
2022-03-21   2022-03-22 /manifesto-against-sex-positivity.html      A Manifesto Against Sex Positivity             By Michelle Goldberg             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/opinion
2022-03-21   2022-03-22 /ukraine-hunter-biden-time.html             The Hunter Biden Show Plays On                 By Gail Collins and Bret Stephens TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/opinion
2022-03-21   2022-03-22 /us-economy-inflation-europe.html           Europes Lessons for the US Economy             By Paul Krugman                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/science Smaller Bombs Raise a Specter Of Atomic
2022-03-21   2022-03-22 /russia-nuclear-ukraine.html                War                                            By William J Broad               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/science
2022-03-21   2022-03-22 /russia-spacex-oneweb.html                  Rocket Customer Drops Russia for SpaceX        By Joey Roulette                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/sports/b Seeking Repeat Braves Beef Up The Night
2022-03-21   2022-03-22 aseball/atlanta-braves-pitching.html        Shift                                          By Tyler Kepner                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/21/sports/f
                        ootball/paul-mccrory-plagiarism-            Key Shaper of League Concussion Protocols
2022-03-21   2022-03-22 concussions.html                            Is Under Fire                                  By Ken Belson                    TX 9-152-782    2022-05-02




                                                                                   Page 3524 of 5793
                        https://www.nytimes.com/2022/03/21/sports/g A Cohort of Young Champions Is
2022-03-21   2022-03-22 olf/valspar-chamionship.html                Challenging the PGA Tours Old Guard       By Bill Pennington                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/21/sports/n The Big Surprise Entering the Round of 16
2022-03-21   2022-03-22 caabasketball/march-madness-sweet-16.html The Elites Are Vulnerable                     By Billy Witz                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/sports/n
                        caabasketball/ncaa-womens-tournament-       Fighting Irish Pour It On Crushing The      By Alanis Thames Alan Blinder
2022-03-21   2022-03-22 monday.html                                 Sooners and Topping 100 Points              Natalie Weiner and Remy Tumin     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/sports/t Fritz Grows Up and Grows Into a Title That
2022-03-21   2022-03-22 ennis/indian-wells-finals.html              Was Destiny                                 By Christopher Clarey             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/us/polit
                        ics/judge-jackson-child-sexual-abuse-fact-  Attacks on Jacksons Record on Child Sexual
2022-03-21   2022-03-22 check.html                                  Abuse Cases Are Misleading                  By Linda Qiu                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/us/polit
                        ics/ketanji-brown-jackson-confirmation-     As Confirmation Hearing Opens Jackson
2022-03-21   2022-03-22 hearings.html                               Pledges Independence                        By Katie Rogers                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/us/polit
                        ics/ketanji-brown-jackson-confirmation-     After Three Rounds Jackson Knows the
2022-03-21   2022-03-22 strategy.html                               Confirmation Playbook                       By Adam Liptak                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/us/polit Former Wife of Senate Candidate In Missouri By Neil Vigdor and Jonathan
2022-03-21   2022-03-22 ics/missouri-eric-greitens-wife.html        Accuses Him of Abuse                        Weisman                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/us/polit US Calling 17 Purge Genocide Condemns
2022-03-21   2022-03-22 ics/myanmar-genocide-biden.html             Myanmars Military                           By Lara Jakes                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/world/a
2022-03-21   2022-03-22 frica/amazon-south-africa.html              A Project By Amazon Is Blocked In Africa By John Eligon                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/world/a After a Plane Plummets From the Skies a      By Chris Buckley Keith Bradsher
2022-03-21   2022-03-22 sia/china-plane-crash-boeing.html           Search for Survivors in China               and Vivek Shankar                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/world/a Australia Forms A Space Force As Tensions
2022-03-21   2022-03-22 ustralia/australia-space-command.html       Rise                                        By Damien Cave                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/world/e
                        urope/iran-uk-nazanin-zaghari-ratcliffe-    Freed Iranian Hostage Urges Release of
2022-03-21   2022-03-22 released.html                               Others                                      By Stephen Castle                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/world/e Russian Shells Blanket Ukrainian Capital and By Neil MacFarquhar and Andrew
2022-03-21   2022-03-22 urope/kyiv-mariupol-bombed.html             Port City                                   E Kramer                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/world/e
2022-03-21   2022-03-22 urope/ukraine-lviv-war.html                 A Venerable City Transformed by War         By Marc Santora                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/world/e Clinging to Survival in an Apocalyptic
2022-03-21   2022-03-22 urope/ukraine-mariupol-russia-war.html      Mariupol                                    By Valerie Hopkins                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/21/world/e With His Speeches Zelensky Gives Each
2022-03-21   2022-03-22 urope/zelensky-speeches-ukraine-russia.html World Power a Tailored Emotional Punch    By Isabella Kwai                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/world/
                        middleeast/tunisia-constitution-            Skeptical Tunisians Shrug at Presidents
2022-03-21   2022-03-22 consultation.html                           Outreach                                  By Vivian Yee                       TX 9-152-782   2022-05-02




                                                                                Page 3525 of 5793
                        https://www.nytimes.com/2022/03/21/theater/
2022-03-22   2022-03-22 at-the-wedding-review.html                  Vows Dancing and UhOh                     By Jesse Green                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/us/eric- Bucking GOP Trend Indiana Governor Vetoes By Mitch Smith and Eduardo
2022-03-22   2022-03-22 holcomb-transgender-sports.html             Transgender Sports Bill                   Medina                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/us/polit
2022-03-22   2022-03-22 ics/blackburn-jackson.html                  The Context Behind Blackburns Accusations By Charlie Savage                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/science
2022-03-22   2022-03-22 /geometry-math-brain-primates.html          Decoding Shapes                           By Siobhan Roberts                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/22/technol
2022-03-22   2022-03-22 ogy/bitcoin-miners-environment-crypto.html Greenwashing Bitcoin                          By David YaffeBellany          TX 9-152-782   2022-05-02
                                                                    Will Botox injections in my 20s or 30s mean
                        https://www.nytimes.com/2022/03/22/well/liv smoother skin and fewer wrinkles down the
2022-03-22   2022-03-22 e/preventative-botox-wrinkles.html          line                                         By Amelia Nierenberg           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/world/a                                               By Mujib Mashal and Bhadra
2022-03-22   2022-03-22 sia/nepal-gurkha-veteran-protests.html      Gurkha Veterans Fight ColonialEra Inequities Sharma                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/dining/
2022-03-17   2022-03-23 cauliflower-shawarma.html                   Winter Vegetables Dressed for Spring         By Melissa Clark               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/dining/ Perfecting Thai Noodles But Far From
2022-03-17   2022-03-23 pad-thai-cooking-tips.html                  Thailand                                     By Julia Moskin                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/18/arts/des Giving Donatello His Due By Showing His
2022-03-18   2022-03-23 ign/donatello-the-renaissance-florence.html Reach                                        By Elisabetta Povoledo         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/19/sports/f John Clayton 67 Reporter And NFL Sage at
2022-03-19   2022-03-23 ootball/john-clayton-dead.html              ESPN                                         By Eduardo Medina              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/movies/ A BestDirector Oscar Rematch After 28
2022-03-20   2022-03-23 oscars-director-campion-spielberg.html      Years                                        By Sarah Bahr                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/obituari Julian P Heicklen 90 Whose Prickly Protests
2022-03-20   2022-03-23 es/julian-heicklen-dead.html                Defended Rights Dies                         By Clay Risen                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/arts/des                                              By Alex Marshall and Vanessa
2022-03-21   2022-03-23 ign/europe-russian-art-museums.html         Will Russian Art Return Home                 Friedman                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/books/l
2022-03-21   2022-03-23 auren-hough-lambda-literary.html            Book Nomination Pulled After Twitter Feud By Marc Tracy                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/busines Sumy Sadurni 32 Whose Lens Lifted the
2022-03-21   2022-03-23 s/media/sumy-sadurni-dead.html              Oppressed in East Africa Dies                By Annabelle Williams          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/dining/ To Set Oilcloth Table Settings With a Stylish
2022-03-21   2022-03-23 atelier-saucer-oilcoth.html                 Twist                                        By Florence Fabricant          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/dining/ To Serve Aunt Ethels Potpies Avoid a Soggy
2022-03-21   2022-03-23 aunt-ethels-potpies.html                    Bottom                                       By Florence Fabricant          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/dining/ To Season Dressing a Salad With Ramp
2022-03-21   2022-03-23 brightland-zeal-ramp-vinegar.html           Vinegar                                      By Florence Fabricant          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/dining/
2022-03-21   2022-03-23 conchas-mexican-sweet-bread.html            How to Make a Truly Great Concha             By Pati Jinich                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/dining/
2022-03-21   2022-03-23 drinks/wine-grape-varieties.html            Get to Know These 10 Grape Varieties         By Eric Asimov                 TX 9-152-782   2022-05-02



                                                                                Page 3526 of 5793
                        https://www.nytimes.com/2022/03/21/dining/l To Savor A Restaurants Basement Becomes a
2022-03-21   2022-03-23 eland-eating-and-drinking-house-bakery.html Hot Bakery                                By Florence Fabricant            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/dining/ To Appreciate The Cooking Life Of Sally
2022-03-21   2022-03-23 sally-schmitt-six-california-kitchens.html  Schmitt                                   By Florence Fabricant            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/opinion She Did the Most Punk Rock Thing You
2022-03-21   2022-03-23 /dolly-parton-rock-hall-of-fame.html        Could Imagine                             By Margaret Renkl                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/22/arts/co
2022-03-22   2022-03-23 mpact-magazine-conservatives-marxists.html Taking On the Left And the Right Too       By Jennifer Schuessler           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/arts/mu
                        sic/charli-xcx-christine-queens-caroline-
2022-03-22   2022-03-23 polachek.html                              Musical Friends Unite                      By Melena Ryzik                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/arts/mu
2022-03-22   2022-03-23 sic/kanye-west-grammy-awards.html          A Stormy Relationship Blows Up Yet Again By Ben Sisario                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/books/r
                        eview-truly-madly-vivien-leigh-laurence-
2022-03-22   2022-03-23 olivier-stephen-galloway.html              Of Romance and Turbulence                  By Alexandra Jacobs              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/busines Evergrande Mired in Debt Delays Release Of
2022-03-22   2022-03-23 s/china-evergrande-report.html             Its Finances                               By Alexandra Stevenson           TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/22/busines                                             By Patricia Cohen and Stanley
2022-03-22   2022-03-23 s/economy/ukraine-russia-europe-energy.html War Spurs Europe to Clean Energy           Reed                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/busines
2022-03-22   2022-03-23 s/elon-musk-tesla-germany.html              Tesla Opens Its First European Plant       By Christopher F Schuetze       TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/22/busines MacKenzie Scott Gives To Habitat for
2022-03-22   2022-03-23 s/mackenzie-scott-habitat-for-humanity.html Humanity                                   By Maria Cramer                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/busines
                        s/media/buzzfeed-news-editors-newsroom-
2022-03-22   2022-03-23 cuts.html                                   Editors Leave Before Cuts at BuzzFeed News By Katie Robertson              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/22/busines
2022-03-22   2022-03-23 s/media/disney-florida-employee-protests.htmlAntiGay Bill Spurs Walkout Rattling Disney By Brooks Barnes               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/22/busines Media StartUp Reveals Name Pajama Soup
2022-03-22   2022-03-23 s/media/justin-smith-ben-smith-semafor.html Nope Semafor                               By Michael M Grynbaum           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/busines A Starbucks Votes Union In Starbuckss
2022-03-22   2022-03-23 s/starbucks-union-seattle.html              Hometown                                   By Peter Eavis                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/climate
2022-03-22   2022-03-23 /climate-change-ok-doomer.html              OK Doomer                                  By Cara Buckley                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/dining/
2022-03-22   2022-03-23 casa-dani-review-pete-wells.html            An Andalusian Chef Returns to Tradition    By Pete Wells                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/dining/ How Emily Nunn Turned Salad Into a
2022-03-22   2022-03-23 emily-nunn-salad-substack.html              Soapbox                                    By Kim Severson                 TX 9-152-782   2022-05-02



                                                                                 Page 3527 of 5793
                        https://www.nytimes.com/2022/03/22/dining/i An Instagram Pivot Trips Some Business
2022-03-22   2022-03-23 nstagram-algorithm-reels.html               Owners                                    By Becky Hughes                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/22/dining/ Terra e Mare With a Menu True to Its Name
2022-03-22   2022-03-23 nyc-restaurant-news.html                    Opens in Jersey City                      By Florence Fabricant           TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/22/dining/
2022-03-22   2022-03-23 where-to-eat-on-mondays-nyc.html            For People Who Like A Monday Menu         By Nikita Richardson            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/22/health/a
2022-03-22   2022-03-23 lcohol-deaths-covid.html                    AlcoholRelated Deaths Soared Amid Covid By Roni Caryn Rabin               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/22/nyregio Queens Woman Is Charged in Shoving Death By Ashley Wong and Ashley
2022-03-22   2022-03-23 n/barbara-maier-gustern-attack-arrest.html  of Broadway Singing Coach                 Southall                        TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/22/nyregio Preschoolers Can Shed Their Masks in April
2022-03-22   2022-03-23 n/mask-mandate-children-nyc.html            New York Mayor Says                       By Emma G Fitzsimmons           TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/22/nyregio Suit Accuses New York City of Keeping
2022-03-22   2022-03-23 n/nyc-dna-database-nypd.html                Rogue Database of DNA Collected by Police By Troy Closson                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/opinion A New Iran Deal Leaves Us Meeker and
2022-03-22   2022-03-23 /iran-nuclear-deal-biden.html               Weaker                                     By Bret Stephens                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/opinion
2022-03-22   2022-03-23 /politics/latinos-democratic-party.html     Democrats Are Driving Latinos to the GOP By Mike Madrid                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/opinion
2022-03-22   2022-03-23 /xi-putin-trump.html                        The Strongmen Follies                      By Thomas L Friedman            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/sports/n
                        caabasketball/ncaa-womens-tournament-sweet This Time Around the Final 16 Includes More
2022-03-22   2022-03-23 16.html                                     Than the Usual Suspects                    By Alan Blinder                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/sports/s
                        occer/ada-hegerberg-lyon-champions-          An Injured Superstar Finds Shes Back In a
2022-03-22   2022-03-23 league.html                                 Changing Game                              By Rory Smith                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/sports/s Europes Richest Clubs Sidestep Salary Caps
2022-03-22   2022-03-23 occer/uefa-salary-cap.html                  in New Cost Controls                       By Tariq Panja                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/sports/t Rib Injury May Abort Nadals Plan To Seek
2022-03-22   2022-03-23 ennis/nadal-injured-french-open.html        14th French Crown in May                   By Christopher Clarey           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/style/ch
2022-03-22   2022-03-23 ris-madden-dead.html                        Chris Madden 73 Lifestyle Personality      By Penelope Green               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/technol
2022-03-22   2022-03-23 ogy/theranos-trial-balwani.html             Another Trial For Theranos Sans Frenzy     By Erin Woo and Erin Griffith   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/theater/ A Queens Laundromat Bubbles in Gay
2022-03-22   2022-03-23 bruise-and-thorn-review.html                Fantasy                                    By Juan A Ramrez                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/us/keta
2022-03-22   2022-03-23 nji-brown-jackson-judicial-philosophy.html A Nominee by Turns Cautious and Confident By Adam Liptak                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/us/polit Sept 11 Groups Near Deal To Divide Afghan
2022-03-22   2022-03-23 ics/911-families-taliban-funds.html         Assets                                     By Charlie Savage               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/us/polit Biden Set to Announce Sanctions on
2022-03-22   2022-03-23 ics/biden-ukraine-europe-trip.html          Hundreds of Russian Lawmakers              By Michael D Shear              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/us/polit Attacking Jackson and Appealing to GOP     By Jonathan Weisman and Jazmine
2022-03-22   2022-03-23 ics/ketanji-brown-jackson-race.html         Base                                       Ulloa                           TX 9-152-782   2022-05-02



                                                                              Page 3528 of 5793
                        https://www.nytimes.com/2022/03/22/us/polit                                             By Edward Wong and Ana
2022-03-22   2022-03-23 ics/russia-china-global-economy.html        Strands Break In Global Web Of Commerce     Swanson                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/us/polit
2022-03-22   2022-03-23 ics/victor-fazio-dead.html                  Victor Fazio 79 a Top House Democrat        By Katharine Q Seelye              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/us/utah-
2022-03-22   2022-03-23 governor-transgender-athlete-ban.html       Another TransgenderAthlete Bill Is Vetoed   By Eduardo Medina                 TX 9-152-782    2022-05-02
                                                                                                                By Anatoly Kurmanaev Isayen
                        https://www.nytimes.com/2022/03/22/world/a                                              Herrera and Adriana Loureiro
2022-03-22   2022-03-23 mericas/russia-margarita-venezuela.html    Russians in Venezuela Find the Party Is Over Fernandez                         TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/22/world/a Hope of Finding Any Survivors of Crash       By Chris Buckley and Keith
2022-03-22   2022-03-23 sia/china-eastern-boeing-crash.html        Grows Dim in China                           Bradsher                          TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/22/world/a China Refuses to Criticize or Mediate as     By Steven Lee Myers and Chris
2022-03-22   2022-03-23 sia/china-ukraine-russia-diplomacy.html    Russia Steps Up Its Invasion                 Buckley                           TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/22/world/a As Support Dwindles Pakistans Leader Fights
2022-03-22   2022-03-23 sia/pakistan-imran-khan-parliament.html    for His Political Survival                   By Salman Masood                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/22/world/c In Negotiations Trudeau Secures Elusive
2022-03-22   2022-03-23 anada/trudeau-new-democratic-party.html    Majority                                     By Ian Austen                     TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/22/world/e                                              By Anton Troianovski and Michael
2022-03-22   2022-03-23 urope/putin-russia-military-planning.html  As Moscows Attack Stalls Blame Game Starts Schwirtz                            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/22/world/e Ruling Leaves Navalny In Prison 9 More       By Anton Troianovski and Valeriya
2022-03-22   2022-03-23 urope/russia-navalny-prison.html           Years                                        Safronova                         TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/22/world/e Ukraine Pilots Are Outgunned But Russia      By Maria Varenikova and Andrew
2022-03-22   2022-03-23 urope/ukraine-air-force-russia.html        Doesnt Rule Skies                            E Kramer                          TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/22/world/e Ukraine Mounts Counterattacks as Russia
2022-03-22   2022-03-23 urope/ukrainians-fight-russian-invasion.html Pounds Cities                                By Neil MacFarquhar              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/world/
                        middleeast/egypt-israel-united-arab-emirates- At Summit Israel UAE and Egypt Discuss US By Vivian Yee and Patrick
2022-03-22   2022-03-23 summit.html                                   Relations and Russian Oil                   Kingsley                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/world/
2022-03-22   2022-03-23 middleeast/israel-stabbing-beersheba.html     Four Are Killed in Rampage in Israel        By Patrick Kingsley              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/sports/b
2022-03-23   2022-03-23 aseball/shohei-ohtani-rule.html               Ohtani Rule Keeps His Bat In the Game       By Scott Miller                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/us/polit
                        ics/ketanji-brown-jackson-hearing-            Jackson Defends Her Record as Republicans
2022-03-23   2022-03-23 republicans.html                              Pile On                                     By Carl Hulse and Katie Rogers   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/us/polit Project Veritas Claims the Justice Department By Michael S Schmidt and Adam
2022-03-23   2022-03-23 ics/project-veritas-emails.html               Secretly Seized Its Emails                  Goldman                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/busines In China a Chill on Divorces but Also on
2022-03-23   2022-03-23 s/china-divorce-marriage.html                 Marriages                                   By Alexandra Stevenson           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/busines
2022-03-23   2022-03-23 s/direct-consumer-retail-stores.html          Online Brands Try Physical Stores           By Ellen Rosen                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/insider/
2022-03-23   2022-03-23 photographing-the-reality-of-war.html         Photographing the Reality of War            By Emmett Lindner                TX 9-152-782   2022-05-02




                                                                                Page 3529 of 5793
                        https://www.nytimes.com/2022/03/23/us/shoo Violent Weekend May Portend Bloody
2022-03-23   2022-03-23 ting-gun-violence.html                      Summer                                         By Tim Arango and Troy Closson   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/well/mi Here to Help The Best Way to Cope in an
2022-03-11   2022-03-24 nd/coping-with-anxiety.html                 Anxious World                                  By Tara ParkerPope               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/style/vo
2022-03-21   2022-03-24 lodymyr-zelensky-t-shirt.html               A Regular Guy In an Olive Tee                  By Vanessa Friedman              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/22/arts/tele
2022-03-22   2022-03-24 vision/amanda-bynes-conservatorship.html     ExChild Star Freed From Conservatorship       By Julia Jacobs                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/22/busines Netflix Opens Ballroom Doors to Bridgerton
2022-03-22   2022-03-24 s/media/bridgerton-netflix-live-events.html  Fans                                          By Nicole Sperling               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/opinion
2022-03-22   2022-03-24 /russia-ukraine-putin-eurasianism.html       The Grand Theory Driving Putin to War         By Jane Burbank                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/opinion
2022-03-22   2022-03-24 /when-reagan-said-gay.html                   Dont Say Gay Is Nothing New                   By James Kirchick                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/style/la
2022-03-22   2022-03-24 ndline-phone-fans.html                       Hello Dont Hang Up This Is Nostalgia Calling By Hilary Reid                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/style/m
                        ens-wear-fashion-willy-chavarria-
2022-03-22   2022-03-24 represents.html                              Hot Mens Wear and Men Reenvisioned            By Guy Trebay                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/theater/ Music Man Sets a Record for Reopened
2022-03-22   2022-03-24 music-man-broadway.html                      Broadway                                      By Michael Paulson               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/world/e Yvan Colonna 61 Corsican Activist Jailed for
2022-03-22   2022-03-24 urope/yvan-colonna-dead.html                 Murder of a French Official                   By Aurelien Breeden              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/busines
                        s/for-profit-colleges-education-
2022-03-23   2022-03-24 department.html                              Owners Owe if ForProfit Colleges Close        By Stacy Cowley                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/arts/dan
                        ce/review-ronald-k-browns-messages-of-
2022-03-23   2022-03-24 resilience.html                              Not New Moves but Newly Meaningful            By Brian Seibert                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/arts/des
2022-03-23   2022-03-24 ign/fairchain-artists-resale-royalties.html  StartUp Aims to Get Resale Dollars to Artists By Robin Pogrebin                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/arts/mu
                        sic/camp-cope-running-with-the-
2022-03-23   2022-03-24 hurricane.html                               Out of Australia Straight Into Peoples Hearts By Amos Barshad                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/arts/mu
2022-03-23   2022-03-24 sic/upload-armory-review.html                Dads Stuck in a TechInduced Purgatory         By Joshua Barone                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/arts/ted-
                        cruz-mlk-critical-race-theory-supreme-       Scholars See Familiar Twist as Kings Speech
2022-03-23   2022-03-24 court.html                                   Is Cited                                      By Jennifer Schuessler           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/arts/tele
2022-03-23   2022-03-24 vision/atlanta-season-3-review.html          After a Hiatus Some High Drama                By James Poniewozik              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/busines Former Boeing Pilot Is Cleared of Fraud
2022-03-23   2022-03-24 s/boeing-trial-737-max-mark-forkner.html     Charges in 737 Max Case                       By Niraj Chokshi                 TX 9-152-782   2022-05-02



                                                                                  Page 3530 of 5793
                        https://www.nytimes.com/2022/03/23/busines Britain Tries to Help With Rising Inflation As
2022-03-23   2022-03-24 s/british-economy-russian-sanctions.html   War Takes Its Toll                             By Eshe Nelson                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/busines                                                By Nicholas Kulish and Maria
2022-03-23   2022-03-24 s/mackenzie-scott-philanthropy.html        Scotts Tally 12 Billion to 1257 Groups         Cramer                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/busines Germany Warns of Fallout From Boycott of
2022-03-23   2022-03-24 s/olaf-scholz-russia-energy.html           Russian Sources                                By Christopher F Schuetze      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/busines
2022-03-23   2022-03-24 s/putin-russian-oil-gas-rubles.html        Putin Demands The West Pay Rubles for Oil By Patricia Cohen                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/busines
2022-03-23   2022-03-24 s/wall-street-bonuses-2021.html            Bankers Are Flush With Wall Street Bonuses By Lananh Nguyen                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/climate How Europe Got Hooked On Russian Natural
2022-03-23   2022-03-24 /europe-russia-gas-reagan.html             Gas                                            By Hiroko Tabuchi              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/23/health/s Study of Chinese Vaccine Finds Booster
2022-03-23   2022-03-24 inovac-coronavirus-booster-hong-kong.html Significantly Adds to Protection               By Benjamin Mueller             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/movies/
2022-03-23   2022-03-24 danny-glover-oscars.html                    Acting Activism and an Honorary Oscar        By Nicolas Rapold               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/nyregio Adams Appointee Is Ousted Over Her
2022-03-23   2022-03-24 n/eric-adams-lgbtq.html                     AntiGay Writings                             By Jeffery C Mays               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/nyregio Former Head of Bostons Transit System Is
2022-03-23   2022-03-24 n/nyc-subway-chief-richard-davey.html       Named to Lead New Yorks                      By Michael Gold                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/nyregio
                        n/trump-investigation-felony-resignation-                                                By William K Rashbaum Ben
2022-03-23   2022-03-24 pomerantz.html                              Trump Guilty ExProsecutor Says in Letter     Protess and Jonah E Bromwich    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/opinion
2022-03-23   2022-03-24 /senate-primary-ohio-pennsylvania.html      Spring Is Here Bring On the Primaries        By Gail Collins                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/opinion
2022-03-23   2022-03-24 /ukraine-war-russia-dissent.html            Why We Need Wartime Dissent                  By Ross Douthat                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/science New York Mathematician Is Recipient of the
2022-03-23   2022-03-24 /abel-prize-mathematics.html                Abel Prize                                   By Kenneth Chang                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/23/sports/b Correa and the Twins Are Just Like Family At
2022-03-23   2022-03-24 aseball/carlos-correa-minnesota-twins.html  Least for Now                                By Tyler Kepner                 TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/23/sports/n A Team From Everywhere Finds Common
2022-03-23   2022-03-24 caabasketball/arizona-march-madness.html    Ground                                      By Scott Miller                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/sports/n
                        caabasketball/womens-march-madness-
2022-03-23   2022-03-24 ncaa.html                                   Newly Branded Well Attended and Growing By Remy Tumin                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/sports/s World Cup Hangs in Balance for US Mexico
2022-03-23   2022-03-24 occer/world-cup-us-mexico-ronaldo.html      and Ronaldo                                 By Rory Smith                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/sports/t Barty Is 25 and the World No 1 And She Says
2022-03-23   2022-03-24 ennis/ashleigh-barty-retires.html           Shes Done                                   By Christopher Clarey            TX 9-152-782   2022-05-02




                                                                                 Page 3531 of 5793
                        https://www.nytimes.com/2022/03/23/style/co
                        smetics-the-morphe-beauty-saga-it-isnt-
2022-03-23   2022-03-24 pretty.html                                  The Story of Morphe Isnt So Pretty        By Rachel Strugatz              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/23/style/ral
2022-03-23   2022-03-24 ph-lauren-fashion-show-new-york.html         No More Little Town Blues                 By Vanessa Friedman             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/23/technol John Roach Who Enticed People to Use
2022-03-23   2022-03-24 ogy/personaltech/john-roach-dead.html        Computers at Home Dies at 83              By Sam Roberts                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/23/technol
2022-03-23   2022-03-24 ogy/personaltech/tech-obsolescence.html      Dated Maybe but Not Yet Obsolete          By Brian X Chen                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/23/technol Moscow and US Far Right Share Talking       By Sheera Frenkel and Stuart A
2022-03-23   2022-03-24 ogy/russia-american-far-right-ukraine.html   Points                                    Thompson                        TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/23/theater/
2022-03-23   2022-03-24 bhangin-it-la-jolla.html                     Big on Campus and Now a Musical           By Michael Paulson              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/23/theater/ An Impressionistic Portrait of a Stellar
2022-03-23   2022-03-24 little-girl-blue-review.html                 Performer                                 By Elisabeth Vincentelli        TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/23/us/idah Idaho Governor Signs TexasLike Abortion
2022-03-23   2022-03-24 o-abortion-brad-little.html                  Law                                       By Mike Baker                   TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/23/us/mad Madeleine Albright 84 First Female Secretary
2022-03-23   2022-03-24 eleine-albright-dead.html                    of State Dies                             By Robert D McFadden            TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/23/us/new- Devastation After Tornadoes Rake New        By Katy Reckdahl Emily Lane and
2022-03-23   2022-03-24 orleans-tornado.html                         Orleans Area                              Tariro Mzezewa                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/23/us/polit Private Companies Urged To Report
2022-03-23   2022-03-24 ics/biden-russia-cyberattacks.html           Cyberattacks                              By Kate Conger                  TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/23/us/polit US Makes Contingency Plans Lest Russia     By David E Sanger Eric Schmitt
2022-03-23   2022-03-24 ics/biden-russia-nuclear-weapons.html       Use Its Most Potent Weapons                Helene Cooper and Julian E Barnes TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/us/polit
                        ics/ketanji-brown-jackson-confirmation-
2022-03-23   2022-03-24 hearing.html                                A Judge Is Hardly Asked About Judging      By Adam Liptak                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/us/polit
                        ics/moderna-coronavirus-vaccine-young-      Moderna Seeks Emergency Approval for Its
2022-03-23   2022-03-24 children.html                               Vaccine for Young Children                 By Sharon LaFraniere              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/us/polit Israel Is Said to Block Sale of Powerful   By Ronen Bergman and Mark
2022-03-23   2022-03-24 ics/pegasus-israel-ukraine-russia.html      Spyware Tool to Ukraine and Estonia        Mazzetti                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/us/polit
                        ics/supreme-court-wisconsin-                Supreme Court Sides With GOP on
2022-03-23   2022-03-24 redistricting.html                          Wisconsin Map                              By Adam Liptak                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/us/polit Congressman Says Trump Sought to Rescind By Luke Broadwater and Shane
2022-03-23   2022-03-24 ics/trump-mo-brooks-senate.html             Vote                                       Goldmacher                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/world/a Taliban Renege on Pledge to Reopen Schools By Safiullah Padshah and Christina
2022-03-23   2022-03-24 sia/afghanistan-girls-schools-taliban.html  for Over a Million Girls                   Goldbaum                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/world/a China Finds Flight Recorder as Questions
2022-03-23   2022-03-24 sia/china-crash-black-box-found.html        About Crash Mount                          By Austin Ramzy                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/world/a Polish City Puts Bad Blood Behind It to Aid By Monika Pronczuk Jeffrey
2022-03-23   2022-03-24 sia/ukraine-poland-border-przemysl.html     Fleeing Ukrainians                         Gettleman and Erin Schaff         TX 9-152-782   2022-05-02



                                                                               Page 3532 of 5793
                        https://www.nytimes.com/2022/03/23/world/a Founder Quits As Scandals Shake Church In
2022-03-23   2022-03-24 ustralia/brian-houston-hillsong-resign.html   Australia                                   By Natasha Frost                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/world/e
                        urope/anne-frank-informant-ambo-
2022-03-23   2022-03-24 anthos.html                                   Publisher Halts Anne Frank Book             By Nina Siegal                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/world/e Griner Detention Poses Dilemma For US as By Jason Horowitz Jonathan
2022-03-23   2022-03-24 urope/brittney-griner-russia.html             Tensions Keep Rising                        Abrams and Ivan Nechepurenko      TX 9-152-782   2022-05-02
                                                                      California Man Accused of Assaulting
                        https://www.nytimes.com/2022/03/23/world/e Officers at Capitol Riot Gets Asylum in        By Isabella Kwai and Valeriya
2022-03-23   2022-03-24 urope/evan-neumann-capitol-riot-belarus.html Belarus                                      Safronova                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/world/e Aiming to Limit Russia Allies Boost Forces By Matina StevisGridneff David E
2022-03-23   2022-03-24 urope/russia-ukraine-war-biden-nato.html      Near Ukraine                                Sanger and Rick Gladstone         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/world/e
                        urope/ukraine-germany-military-russia-scholz- Germany Jolted by War Reverses Course to
2022-03-23   2022-03-24 lithuania.html                                Build An Operational Military               By Katrin Bennhold                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/world/
                        middleeast/israel-ukraine-refugees-           Israelis Debate How Many and What Kind of
2022-03-23   2022-03-24 jewish.html                                   Refugees to Accept                          By Isabel Kershner                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/live/2022/03/23/wo EU Weighs Its Options To Survive Energy
2022-03-23   2022-03-24 rld/ukraine-russia-war/eu-oil-gas-supply      Blows                                       By Matina StevisGridneff          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/sports/k Kyrie Carve Out Will Allow Irving to Play in By Emma G Fitzsimmons and
2022-03-24   2022-03-24 yrie-irving-nyc-vaccine-mandate.html          New York                                    Sopan Deb                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/us/polit On Hearings Last Day Jackson Faces            By Carl Hulse and Jonathan
2022-03-24   2022-03-24 ics/ketanji-brown-jackson.html                Growing GOP Hostility                       Weisman                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/insider/
                        a-reporter-explains-his-approach-to-writing-
2022-03-24   2022-03-24 news-and-features.html                        Writing Both News and Features              By Sarah Bahr                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/sports/n
                        caabasketball/march-madness-sweet-16-         Field Remains Wide Open Among the
2022-03-24   2022-03-24 score.html                                    Remaining 16                                By Alanis Thames and Billy Witz TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/24/style/ho
2022-03-24   2022-03-24 w-balloons-blew-up.html                       Balloons Expand Their Profiles              By Mattie Kahn                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/style/ho
2022-03-24   2022-03-24 w-to-live-to-100.html                         Living to 100 Intensely and With Resilience By Ruth La Ferla                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/style/ro How Much Is That Rolex in the Window
2022-03-24   2022-03-24 lex-watches-cost-boom.html                    More Than Ever                              By Alex Williams                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/us/cens Shrinking Cities Account For Record Slow       By Robert Gebeloff Dana Goldstein
2022-03-24   2022-03-24 us-2021-population-growth.html                Growth                                      and Winnie Hu                     TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/24/us/qano A Senators Tweet Fires Up Adherents to the    By David D Kirkpatrick and Stuart
2022-03-24   2022-03-24 n-supreme-court-ketanji-brown-jackson.html QAnon Conspiracy Theory                       A Thompson                        TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/world/e
                        urope/russian-journalists-quit-            More Russian Journalists Quit Citing Regret
2022-03-24   2022-03-24 propaganda.html                            for False Narrative of War                    By Anton Troianovski             TX 9-152-782     2022-05-02




                                                                                Page 3533 of 5793
                        https://www.nytimes.com/2022/03/24/your-
2022-03-24   2022-03-24 money/bitcoin-investing-cryptocurrency.html Time to Enter the Crypto Zone              By Tara Siegel Bernard             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/arts/des
2022-03-17   2022-03-25 ign/jasmina-cibic.html                       An Unexpected Contemporary Relevance      By Imogen WestKnights              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/18/arts/tele
2022-03-18   2022-03-25 vision/standing-up-netflix.html              Looking for Laughs in Paris               By Brian Ng                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/arts/dan
2022-03-22   2022-03-25 ce/nai-ni-chen-artistic-team.html            Looking Ahead After a Loss                By Gia Kourlas                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/movies/
                        bisping-the-michael-bisping-story-
2022-03-22   2022-03-25 review.html                                  Bisping The Michael Bisping Story         By Glenn Kenny                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/arts/des
                        ign/baltimore-museum-guards-curators-
2022-03-23   2022-03-25 union.html                                   They Guard It Now They Get to Choose It   By Hilarie M Sheets                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/arts/des
2022-03-23   2022-03-25 ign/kahlil-robert-irving-moma-review.html    Time to Rove Across Millenniums           By John Vincler                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/movies/
2022-03-23   2022-03-25 bronco-bullfrog-barney-platts-mills.html     Aimless Teens Find Love Amid the Grime    By J Hoberman                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/nyregio Vaccine Clinics Return to New York City     By Lola Fadulu and Precious
2022-03-23   2022-03-25 n/nyc-schools-vaccine-clinics.html           Public Schools Will They Work             Fondren                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/science NASA Plans New Bidding To Provide Lunar
2022-03-23   2022-03-25 /nasa-moon-landing.html                      Craft                                     By Kenneth Chang                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/us/polit
                        ics/ketanji-brown-jackson-child-abuse-       During Her Hearings A Judges Tough Call
2022-03-23   2022-03-25 case.html                                    Takes a Political Turn                    By Alan Feuer                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/world/a As Covid Rules Ease Across Asia One         By Jason Gutierrez Mike Ives and
2022-03-23   2022-03-25 sia/covid-restrictions-china.html            Country Is a Big Exception                Victoria Kim                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/movies/
2022-03-24   2022-03-25 king-otto-review.html                        King Otto                                 By Ben Kenigsberg                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/opinion Republicans Are Using Judge Jackson as a
2022-03-24   2022-03-25 /republicans-ketanji-brown-jackson.html      Prop                                      By Charles M Blow                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/us/mich Wrongfully Convicted Men Are Released
2022-03-24   2022-03-25 igan-brothers-exonerated-murder.html         After 25 Years                            By Michael Levenson                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/arts/mu
2022-03-24   2022-03-25 sic/musical-brunch-nyc.html                  Booze Biscuits and Bands Return           By Erik Piepenburg                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/arts/tele
2022-03-24   2022-03-25 vision/bridgerton-lizzo-servant.html         This weekend I have                       By Alexis Soloski                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/arts/tele The Series Is Just Like the Book Well
2022-03-24   2022-03-25 vision/pachinko-review.html                  Sometimes                                 By Mike Hale                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/busines Mandatory Meetings at Amazon Reveal Its
2022-03-24   2022-03-25 s/amazon-meetings-union-elections.html       Approach to Resisting Unions              By Noam Scheiber                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/busines
                        s/economy/america-russia-pandemic-           Pandemic Now War May Be Shaping New
2022-03-24   2022-03-25 inflation.html                               Normal for US Economy                     By Jeanna Smialek                  TX 9-152-782   2022-05-02



                                                                              Page 3534 of 5793
                        https://www.nytimes.com/2022/03/24/busines Edward C Johnson III Who Made Fidelity an
2022-03-24   2022-03-25 s/edward-c-johnson-iii-dead.html           Investment Giant Dies at 91               By Robert D Hershey Jr              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/24/busines
2022-03-24   2022-03-25 s/polestar-volvo-electric-vehicles-evs.html Polestars Speed Is a Blur and So Is Its Image By Roy Furchgott               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/busines
2022-03-24   2022-03-25 s/russian-stock-exchange-moex.html          Russia Opens Stock Market After a Month       By Eshe Nelson                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/busines Uber Strikes Alliance With OnceBitter Foe      By Winnie Hu Kellen Browning
2022-03-24   2022-03-25 s/uber-new-york-taxis.html                  New York Yellow Cabs                          and Karen Zraick               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/climate New Mexico Methane Leaks Far Higher Than
2022-03-24   2022-03-25 /methane-leaks-new-mexico.html              Expected                                      By Maggie Astor                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/fashion
2022-03-24   2022-03-25 /italy-crown-jewels-rome.html               Italys hidden crown jewels                    By Milena Lazazzera            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/fashion
2022-03-24   2022-03-25 /jewelry-ami-doshi-shah-kenya.html          A bold approach to adornment                  By Melanie Abrams              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/fashion
                        /jewelry-cleopatra-elizabeth-taylor-gal-
2022-03-24   2022-03-25 gadot.html                                  A look that lingered                          By David Belcher               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/fashion
2022-03-24   2022-03-25 /jewelry-edit-upcycling-rosena-sammi.html Jewelry gets a second act                       By Amy Elliott                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/fashion
2022-03-24   2022-03-25 /jewelry-egyptian-revival.html              The allure of Egyptian revival style          By David Belcher               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/fashion
2022-03-24   2022-03-25 /jewelry-fred-lvmh-paris.html               A family design aesthetic                     By Rachel Felder               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/fashion
                        /jewelry-gold-mining-betts-refinery-
2022-03-24   2022-03-25 england.html                                Tracing golds path to market                  By Victoria Gomelsky           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/fashion
2022-03-24   2022-03-25 /jewelry-kintsugi-pomellato-japan.html      When broken is beautiful                      By Tanya Dukes                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/fashion
                        /jewelry-mangalsutra-hindu-weddings-
2022-03-24   2022-03-25 india.html                                  This necklace means marriage                  By Praachi Raniwala            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/fashion
2022-03-24   2022-03-25 /jewelry-men-necklaces-boucheron.html       Making a statement                            By Milena Lazazzera            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/fashion
2022-03-24   2022-03-25 /jewelry-nft-jevels.html                    Jewelry in the metaverse                      By Jessica Bumpus              TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/24/fashion
2022-03-24   2022-03-25 /jewelry-oscar-massin-luximpact-paris.html From royalty to recycling                   By Tina IsaacGoiz                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/movies/
2022-03-24   2022-03-25 7-days-review.html                         7 Days                                      By Devika Girish                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/movies/
                        everything-everywhere-all-at-once-
2022-03-24   2022-03-25 review.html                                A Gleefully Anarchic SpaceTime Odyssey      By AO Scott                       TX 9-152-782   2022-05-02




                                                                                Page 3535 of 5793
                        https://www.nytimes.com/2022/03/24/movies/
2022-03-24   2022-03-25 infinite-storm-review.html                  The Mountainous Terrain Is Tough So Is She By Manohla Dargis               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/movies/ Sex Death and Literature in the Aftermath of
2022-03-24   2022-03-25 mothering-sunday-review.html                World War I                                 By AO Scott                    TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/movies/
                        olivia-rodrigo-driving-home-2-u-sour-film- Olivia Rodrigo Driving Home 2 U a Sour
2022-03-24   2022-03-25 review.html                                 Film                                        By Chris Azzopardi             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/movies/
2022-03-24   2022-03-25 oscars-predictions.html                     Best Picture                                By Kyle Buchanan               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/movies/
2022-03-24   2022-03-25 outside-noise-review.html                   Outside Noise                               By Natalia Winkelman           TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/movies/
2022-03-24   2022-03-25 superior-review.html                        Superior                                    By Amy Nicholson               TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/movies/
2022-03-24   2022-03-25 the-lost-city-review.html                   Raiders of the 1980s Blockbusters           By Manohla Dargis              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/movies/
2022-03-24   2022-03-25 wood-and-water-review.html                  Wood and Water                              By Beatrice Loayza             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/movies/
2022-03-24   2022-03-25 you-are-not-my-mother-review.html           Her Mom Went Missing But Who Came Back By Jeannette Catsoulis              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/nyregio ExParty Producer Is Charged in a
2022-03-24   2022-03-25 n/thomas-spieker-bitcoin-scheme.html        BitcoinLaundering Scheme                    By Jonah E Bromwich            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/nyregio Adams Relents On Vaccination Of Pro          By Jeffery C Mays and Dana
2022-03-24   2022-03-25 n/vaccine-mandate-kyrie-adams.html          Athletes                                    Rubinstein                     TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/opinion
2022-03-24   2022-03-25 /inflation-united-states-economy.html       How High Inflation Will Come Down           By Paul Krugman                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/opinion
2022-03-24   2022-03-25 /nato-russia-putin-estonia.html             Putin Cant Think Hes Won This War           By Kaja Kallas                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/opinion                                              By Samuel Dickman and Kari
2022-03-24   2022-03-25 /texas-abortion-funds-sb8.html              Texans Are Still Getting Abortions          White                          TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/sports/b
                        aseball/aaron-judge-yankees-vaccine-        Vaccine Exception Relieves Issue for Mets
2022-03-24   2022-03-25 mandate.html                                and Yankees                                 By Benjamin Hoffman            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/sports/b After Tough OffSeason the Game Offers the
2022-03-24   2022-03-25 aseball/angels-spring-training.html         Angels Refuge                               By Scott Miller                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/sports/b
                        asketball/timberwolves-karl-anthony-towns-
2022-03-24   2022-03-25 playoffs.html                               Timberwolves Learning From the Struggle     By Tania Ganguli               TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/24/sports/f Final Criminal Charge Against Watson Is
2022-03-24   2022-03-25 ootball/deshaun-watson-texas-grand-jury.html Declined by Texas Grand Jury             By Jenny Vrentas and Kevin Draper TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/sports/n
                        caabasketball/aliyah-boston-ncaa-
2022-03-24   2022-03-25 tournament.html                              Losing Her Accent but Not Her Drive      By Billy Witz                    TX 9-152-782    2022-05-02




                                                                                Page 3536 of 5793
                        https://www.nytimes.com/2022/03/24/sports/n For St Peters A Magic Moment May Be
2022-03-24   2022-03-25 caabasketball/st-peters-march-madness.html Fleeting                                      By Adam Zagoria                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/sports/s
2022-03-24   2022-03-25 occer/us-mexico-world-cup-score.html        For the US Men A Shot at Salvation           By Andrew Keh                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/style/je
2022-03-24   2022-03-25 welry-women-thelma-west.html                At the heart of the industry                 By Vivian Morelli              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/technol Europe Agrees On Law to Curb Big Techs
2022-03-24   2022-03-25 ogy/eu-regulation-apple-meta-google.html    Might                                        By Adam Satariano              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/us/mich Plotter Hoped For Abduction Of Governor
2022-03-24   2022-03-25 igan-whitmer-kidnap-trial.html              Then Civil War                               By Mitch Smith                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/us/peor When Covid Hit They Hit the Streets Every
2022-03-24   2022-03-25 ia-pedestrians-walking-pandemic.html        Street                                       By Mitch Smith                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/us/polit House Candidate Ends Run After Uproar
2022-03-24   2022-03-25 ics/abby-broyles-ends-campaign.html         Over Behavior                                By Johnny Diaz                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/us/polit Report Urges US to Act To Curb Taiwan
2022-03-24   2022-03-25 ics/china-taiwan-un.html                    Isolation                                    By Edward Wong and Amy Qin     TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/us/polit Elite School Excoriated at Confirmation
2022-03-24   2022-03-25 ics/georgetown-day-school-jackson.html      Hearings Embraces Its Mission                By Erica L Green               TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/24/us/polit                                              By Danny Hakim Luke Broadwater
2022-03-24   2022-03-25 ics/ginni-thomas-trump-mark-meadows.html Wife of Justice Urged Overturn                  and Jo Becker                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/us/polit
                        ics/hostile-supreme-court-hearing-          A Broken Confirmation Process on Full
2022-03-24   2022-03-25 jackson.html                                Display                                      By Carl Hulse                  TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/us/polit
                        ics/intelligence-agencies-ukraine-          Why the US Misjudged Ukrainians Will to
2022-03-24   2022-03-25 afghanistan.html                            Fight and Why It Matters                     By Julian E Barnes             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/us/polit
                        ics/ketanji-brown-jackson-child-abuse-      Jacksons Critics Backed Judges With Like
2022-03-24   2022-03-25 cases.html                                  Rulings                                      By Linda Qiu                   TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/us/polit
                        ics/peter-navarro-dan-scavino-contempt-     Contempt Charges Possible For Two More       By Luke Broadwater and Alan
2022-03-24   2022-03-25 charges.html                                Trump Allies                                 Feuer                          TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/24/us/polit Ruling Sides With Inmate Who Wants
2022-03-24   2022-03-25 ics/supreme-court-death-penalty-pastor.html Pastors Touch                                By Adam Liptak                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/us/polit Biden Administration Aims to Streamline the
2022-03-24   2022-03-25 ics/us-asylum-changes.html                  Asylum System                                By Eileen Sullivan             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/24/us/supr Justices Rule That Censure Didnt Violate Free
2022-03-24   2022-03-25 eme-court-first-amendment.html              Speech                                       By Adam Liptak                 TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/24/us/ukra US to Admit Up to 100000 Refugees as          By Miriam Jordan Zolan
2022-03-24   2022-03-25 inian-refugees-biden.html                  Ukraine Exodus Floods Europe                  KannoYoungs and Michael D Shear TX 9-152-782   2022-05-02




                                                                                 Page 3537 of 5793
                        https://www.nytimes.com/2022/03/24/world/a                                             By Abdi Latif Dahir and Simon
2022-03-24   2022-03-25 frica/ethiopia-tigray-conflict-truce.html  Ethiopia Calls Humanitarian Truce in Tigray Marks                                 TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/24/world/a An Oasis Emerges From a Scar of War On a      By Thomas GibbonsNeff and
2022-03-24   2022-03-25 sia/afghanistan-highway-kabul-kandahar.html Lonely Road                                  Yaqoob Akbary                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/world/a Mystery of China Eastern Plane Crash          By Austin Ramzy and Keith
2022-03-24   2022-03-25 sia/china-eastern-crash-pilot.html          Deepens                                      Bradsher                            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/world/a North Korea Launches A Powerful New
2022-03-24   2022-03-25 sia/north-korea-missile-icbm.html           ICBM                                         By Choe SangHun                     TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/24/world/e US and Allies Rally Against Russia in 3        By Michael D Shear and Matina
2022-03-24   2022-03-25 urope/biden-europe-russia-putin-ukraine.html Urgent Summits                               StevisGridneff                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/world/e Exiles of Belarus Join the Battle to Fight for
2022-03-24   2022-03-25 urope/ukraine-belarus-russia-exiles.html     Ukraines Cause and Their Own                 By Valerie Hopkins                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/world/e At NATO Tenacity Despite Fear I Dont Think
2022-03-24   2022-03-25 urope/ukraine-nato-putin-russia.html         We Have Any Choice                           By David E Sanger                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/world/u In Retaliating Ukraine Sends Signal to the
2022-03-24   2022-03-25 kraine-counteroffensive-russia-war.html      World                                        By Andrew E Kramer                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/world/u Ukrainian Survivors of World War II See a
2022-03-24   2022-03-25 kranian-ww2-survivors.html                   Frightening Repeat                           By Emma Bubola                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/world/ Omicron Subvariant Is Driving a Surge in
2022-03-24   2022-03-25 who-omicron-variant-ba2-cases.html           Europe                                       By Alyssa Lukpat                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/opinion
2022-03-25   2022-03-25 /lasting-friendships-secrets.html            The Secrets of Lasting Friendships           By David Brooks                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/theater/ Blindfolds and Kid Gloves Off Lets Talk
2022-03-25   2022-03-25 help-review-claudia-rankine.html             About Privilege                              By Naveen Kumar                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/us/polit
                        ics/russians-cyberattacks-infrastructure-    US Accuses Russians Of Hacking
2022-03-25   2022-03-25 nuclear-plant.html                           Infrastructure Including Nuclear Plant       By Katie Benner and Kate Conger    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/books/n                                                By Joumana Khatib and Elisabeth
2022-03-25   2022-03-25 ew-fiction-books-spring-2022.html            Everythings Coming Up Prose                  Egan                               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/books/n                                                By John Williams Tina Jordan and
2022-03-25   2022-03-25 ew-nonfiction-books-spring-2022.html         Nonfiction                                   Joumana Khatib                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/busines
                        s/energy-environment/biden-europe-lng-       Russian Gas Could Prove Hard to Quit For
2022-03-25   2022-03-25 natural-gas.html                             Europe                                       By Clifford Krauss                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/busines
2022-03-25   2022-03-25 s/leroy-merlin-ukraine-russia.html           Criticized For Selling In Russia             By Liz Alderman                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/insider/
2022-03-25   2022-03-25 the-year-of-the-many-weddings.html           Covering the Year of Many Weddings           By Kate Dwyer                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/sports/n
                        caabasketball/ncaa-womens-tournament-                                                     By Remy Tumin and Natalie
2022-03-25   2022-03-25 scores.html                                  Familiar and Unusual Mix in the Round of 16 Weiner                              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/07/travel/v
2022-03-07   2022-03-26 ermont-from-above-in-show.html               Vermont Dressed in Snow                      By Caleb Kenna                     TX 9-152-782   2022-05-02



                                                                                 Page 3538 of 5793
                        https://www.nytimes.com/2022/03/23/arts/mu
2022-03-23   2022-03-26 sic/william-kraft-dead.html                 William Kraft 98 a Force in Music             By Javier C Hernndez           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/busines                                                By Gillian Friedman and Emma
2022-03-23   2022-03-26 s/pandemic-workers-careers.html             Losing Their Job Finding Themselves           Goldberg                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/opinion The Challenge of Raising a Kid Whos Just
2022-03-23   2022-03-26 /parents-children.html                      Like You                                      By Jessica Grose               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/opinion Churchill Didnt Know the End of His Story
2022-03-23   2022-03-26 /zelensky-churchill.html                    Either                                        By Andrew Marr                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/sports/t A OncePromising Player Starts Over After a
2022-03-23   2022-03-26 ennis/usta-coach-sexual-assault.html        SexualAbuse Case                              By Matthew Futterman           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/theater/
2022-03-23   2022-03-26 coda-musical-deaf-west.html                 Deaf West Is Turning CODA Into a Musical By Michael Paulson                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/arts/dan
                        ce/vail-dance-festival-roman-mejia-caili-
2022-03-24   2022-03-26 quan.html                                   Vail Dance Festival to Feature Collaborations By Roslyn Sulcas               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/arts/des
2022-03-24   2022-03-26 ign/paris-plus-art-basel.html               Frances New Art Fair Or Paris for Short       By Scott Reyburn               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/arts/on- On Being Exits the Radio For Its Future as a
2022-03-24   2022-03-26 being-podcast-leaves-public-radio.html      Podcast                                       By Alexis Soloski              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/technol Stephen Wilhite Creator Of the GIF Is Dead at By Amanda Holpuch and Neil
2022-03-24   2022-03-26 ogy/stephen-wilhite-dead.html               74                                            Vigdor                         TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/24/us/polit Nebraska Congressman Faces Calls to Step
2022-03-25   2022-03-26 ics/jeff-fortenberry-convicted-donations.html Down                                        By Jill Cowan                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/24/world/a China Close to Signing Secret Security
2022-03-25   2022-03-26 sia/china-solomon-islands-security-pact.html Accord With Solomon Islands                  By Damien Cave                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/arts/dan
                        ce/review-mark-morris-lallegro-il-penseroso-
2022-03-25   2022-03-26 ed-il-moderato.html                          One Masterpieces Sophisticated Simplicity    By Gia Kourlas                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/arts/des
                        ign/laurie-cumbo-new-york-city-cultural-
2022-03-25   2022-03-26 affairs.html                                 Will Culture Czar Unite or Divide            By Robin Pogrebin              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/arts/des                                               By Graham Bowley and Scott
2022-03-25   2022-03-26 ign/phillips-auction-russians-war.html       When Sabers Rattle HighEnd Art Market        Reyburn                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/arts/mu A Musical World Drifting Toward
2022-03-25   2022-03-26 sic/aldous-harding-warm-chris-review.html Weightlessness                                  By Lindsay Zoladz              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/arts/mu
                        sic/classical-music-new-york-                The Philharmonics Conductor Returns to His
2022-03-25   2022-03-26 philharmonic.html                            Perch                                        By Zachary Woolfe              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/busines Rattled by Inflation Bond Market Faces
2022-03-25   2022-03-26 s/bond-market-inflation-recession.html       Biggest Decline in Decades                   By Jeff Sommer                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/busines
                        s/economy/federal-reserve-inflation-
2022-03-25   2022-03-26 recession.html                               Can Economy Be Cooled Not Chilled            By Jeanna Smialek              TX 9-152-782   2022-05-02



                                                                                Page 3539 of 5793
                        https://www.nytimes.com/2022/03/25/busines
                        s/energy-environment/biden-eu-liquefied-   US Makes a Pact With Europe To Reduce
2022-03-25   2022-03-26 natural-gas-deal-russia.html               Use of Russian Energy                       By Clifford Krauss                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/busines
2022-03-25   2022-03-26 s/instacart-valuation.html                 Instacart Cuts Valuation by 38              By Kellen Browning                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/busines How Tweets About Covid Helped End Career
2022-03-25   2022-03-26 s/levis-jen-sey.html                       at Levis                                    By Sapna Maheshwari                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/busines
                        s/media/discrimination-case-washington-    Washington Post Cleared In a Discrimination
2022-03-25   2022-03-26 post.html                                  Suit                                        By Katie Robertson                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/busines                                             By David McCabe and Matina
2022-03-25   2022-03-26 s/us-europe-data-privacy.html              US and EU Reach Deal on Data Privacy        StevisGridneff                      TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/25/movies/ Feared Lost Directors Cut of a Film
2022-03-25   2022-03-26 peter-bogdanovich-squirrels-to-the-nuts.html Resurfaces                                   By Ben Kenigsberg                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/movies/
2022-03-25   2022-03-26 regina-hall-wanda-sykes-oscar-hosts.html     A Team Effort For One Tough Job              By Matt Stevens                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/nyregio Testimony Details Abuse In Sarah Lawrence
2022-03-25   2022-03-26 n/sarah-lawrence-cult-jury.html              Dorm                                         By Colin Moynihan                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/opinion Ginni and Clarence Thomas Have Done
2022-03-25   2022-03-26 /ginni-clarence-thomas-trump.html            Enough Damage                                By Jesse Wegman                  TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/25/opinion Putin Cares About Only One Thing and Its
2022-03-25   2022-03-26 /russia-ukraine-putin-sanctions-oligarchs.html Not Oligarchs                              By Eileen OConnor                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/sports/b
2022-03-25   2022-03-26 aseball/mlb-drug-testing.html                  Lockout Created Opportunities for Doping   By James Wagner                  TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/25/sports/f
2022-03-25   2022-03-26 ootball/deshaun-watson-browns-lawsuits.html Watson Says Hell Fight To Clear His Name By Jenny Vrentas                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/sports/n
                        caabasketball/olivia-miles-notre-dame-march-
2022-03-25   2022-03-26 madness.html                                 Notre Dames Young Visionary in Goggles        By Natalie Weiner                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/sports/s
2022-03-25   2022-03-26 occer/usmnt-mexico-score.html                For US Missed Chances Mean More Waiting By Andrew Keh                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/us/keta For Black Women Watching the Hearings           By Patricia Mazzei Tariro Mzezewa
2022-03-25   2022-03-26 nji-brown-jackson-black-women.html           Pride Overlapped With Pain                    and Jill Cowan                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/us/min Tentative Deal With Teachers To End Strike
2022-03-25   2022-03-26 neapolis-teachers-strike.html                In Minneapolis                                By Jacey Fortin                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/us/polit Biden to Reduce Immigration Detention Bed
2022-03-25   2022-03-26 ics/biden-immigration-detention-beds.html    Capacity                                      By Eileen Sullivan                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/us/polit
                        ics/justice-clarence-thomas-hospital-
2022-03-25   2022-03-26 discharged.html                              Thomas Is Let Out of Hospital After Infection By Johnny Diaz                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/us/polit Manchin Determines He Will Vote For
2022-03-25   2022-03-26 ics/manchin-jackson-supreme-court.html       Jackson                                       By Carl Hulse                     TX 9-152-782   2022-05-02



                                                                                  Page 3540 of 5793
                        https://www.nytimes.com/2022/03/25/us/polit
                        ics/maryland-redistricting-map-judge-       Democrats Maryland Congressional Map
2022-03-25   2022-03-26 ruling.html                                 Thrown Out                                    By Nick Corasaniti               TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/us/polit
                        ics/russian-mercenaries-ukraine-wagner-     Refocusing Its Ambitions Russia Is Tripling
2022-03-25   2022-03-26 group.html                                  Its Mercenary Force in Eastern Ukraine        By Eric Schmitt                  TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/25/us/polit Justices Rule Against Navy SEALs in
2022-03-25   2022-03-26 ics/supreme-court-navy-covid-vaccines.html Vaccine Case                                    By Adam Liptak                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/us/polit GOP Primaries to Gauge Trumps Pull on          By Shane Goldmacher and
2022-03-25   2022-03-26 ics/trump-endorsement-primaries.html         Party                                         Jonathan Martin                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/us/supr Thomas Urged to Recuse Himself in Jan 6
2022-03-25   2022-03-26 eme-court-clarence-thomas-recusal.html       Cases                                         By Adam Liptak                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/us/ted- Cruzs Daughters Attend Antiracist Private
2022-03-25   2022-03-26 cruz-antiracist-school.html                  School                                        By Vimal Patel                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/us/utah- Utah Bars Transgender Athletes From
2022-03-25   2022-03-26 transgender-athlete-ban-override.html        Competing in Girls Sports                     By Eduardo Medina                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/world/a
2022-03-25   2022-03-26 mericas/mexico-international-airport.html    Flight Hub Isnt Ready for Takeoff             By Maria AbiHabib and Elda Cant TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/world/a Caribbean Nations Show New Attitude While
2022-03-25   2022-03-26 mericas/royal-couple-caribbean-visit.html    Hosting British Royals                        By Mark Landler                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/world/a
                        sia/korea-yoon-president-defense-            Plan to Relocate Office Of President in Seoul
2022-03-25   2022-03-26 ministry.html                                Comes at Uneasy Time                          By Choe SangHun                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/world/a Crushing Debt Fuels Sri Lankas Economic
2022-03-25   2022-03-26 sia/sri-lanka-economic-crisis.html           Collapse                                      By Emily Schmall                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/world/e
2022-03-25   2022-03-26 urope/dagny-carlsson-dead.html               Dagny Carlsson 109 Worlds Oldest Blogger By Annabelle Williams                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/world/e Long on Europes Fringe Poland Enters
2022-03-25   2022-03-26 urope/poland-ukraine-russia.html             Spotlight                                     By Andrew Higgins                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/world/e Retuning to Familiar Theme Putin Blasts         By Anton Troianovski and Javier C
2022-03-25   2022-03-26 urope/putin-cancel-culture-rowling.html      West for Canceling Russia                     Hernndez                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/world/e                                                 By Anton Troianovski Michael D
2022-03-25   2022-03-26 urope/russia-ukraine-war-goals.html          Moscow Signals a Change in Its War Goals Shear and Michael Levenson             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/world/e
                        urope/spanish-banks-protest-carlos-san-juan- Customer to Spains Banking Industry Im Old
2022-03-25   2022-03-26 de-laorden.html                              Not an Idiot                                  By Raphael Minder                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/world/e For Ukrainians Social Media Is a Powerful
2022-03-25   2022-03-26 urope/ukraine-war-social-media.html          Place to Fight Russians                       By Megan Specia                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/world/
                        middleeast/israel-uae-bahrain-morocco-arab- Alliances Shift As Israel Hosts 3 Arab
2022-03-25   2022-03-26 summit.html                                  Leaders                                       By Patrick Kingsley               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/world/ Houthi Strike On Saudi Port Ignites Tanks Of
2022-03-25   2022-03-26 middleeast/yemen-attack-saudi-arabia.html    Crude Oil                                     By Ben Hubbard                    TX 9-152-782   2022-05-02




                                                                                 Page 3541 of 5793
                        https://www.nytimes.com/live/2022/03/25/wo
                        rld/ukraine-russia-war/biden-poland-refugees- In Poland Biden Highlights Human Toll of
2022-03-25   2022-03-26 ukraine-russia                                Mass Exodus                                By Michael D Shear               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/nyregio Encampments Across the City To Be Cleared By Andy Newman Katie Glueck
2022-03-26   2022-03-26 n/eric-adams-homeless-encampments.html        Mayor Reveals                              and Dana Rubinstein              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/us/ginn                                               By Luke Broadwater Jo Becker
2022-03-26   2022-03-26 i-thomas-january-6-committee.html             Debate on Asking Justices Wife to Testify  Maggie Haberman and Alan Feuer TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/26/nyregio                                               By Katie Glueck and Ashley
2022-03-26   2022-03-26 n/broken-windows-eric-adams.html              Can Adams Fix Broken Windows               Southall                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/sports/
2022-03-26   2022-03-26 march-madness-elite-8.html                    No 2 Seeds Strive To Fill a Vacancy        By Adam Zagoria                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/sports/n
                        caabasketball/ncaa-tournament-womens-
2022-03-26   2022-03-26 scores.html                                   The Usual Suspects and a FirstTime Meeting By Alan Blinder and Kevin Draper TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/02/01/books/r
2022-02-01   2022-03-27 eview/daniel-levin-becker-whats-good.html Bring the Noise                             By Jayson Greene                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/02/14/books/r
2022-02-14   2022-03-27 eview/the-urge-carl-erik-fisher.html        New Habits Die Hard                       By Daphne Merkin                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/02/14/travel/k
2022-02-14   2022-03-27 harnak-nomads-ladakh-india.html             The Vanishing Nomads Of Northern India    By Ronald Patrick                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/01/books/r
2022-03-01   2022-03-27 eview/missouri-williams-doloriad.html       Wicked by Design                          By J Robert Lennon                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/01/books/r
2022-03-01   2022-03-27 eview/sabaa-tahir-all-my-rage.html          Not Quite Home                            By Anna P Kambhampaty             TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/02/books/r
2022-03-02   2022-03-27 eview/claire-louise-bennett-checkout-19.html There Was the Word                       By Naomi Huffman                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/03/books/r
2022-03-03   2022-03-27 eview/the-fell-sarah-moss.html                A Very English Lockdown                 By Lidija Haas                    TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/04/books/r
2022-03-04   2022-03-27 eview/bald-eagle-jack-davis.html              High Fliers                             By Vicki Constantine Croke        TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/05/books/r
                        eview/crescendos-of-crickets-and-choruses-of-
2022-03-05   2022-03-27 frogs.html                                    Crescendos of Crickets                  By Cynthia Barnett                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/05/books/r
                        eview/william-p-barr-one-damned-thing-after-
2022-03-05   2022-03-27 another.html                                  William Barr Testifies                  By Jeffrey Toobin                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/10/books/r
2022-03-10   2022-03-27 eview/son-of-svea-lena-andersson.html         Avoiding Greatness A Lifelong Project   By Maya Binyam                    TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/11/books/r
                        eview/what-it-took-to-win-michael-kazin-left-
2022-03-11   2022-03-27 behind-lily-geismer.html                      Donkey Years                            By Timothy Noah                   TX 9-152-782     2022-05-02




                                                                                  Page 3542 of 5793
                        https://www.nytimes.com/2022/03/13/books/r
                        eview/the-turning-point-robert-douglas-
2022-03-13   2022-03-27 fairhurst.html                             Not the Best of Times Not the Worst of Times By Brooke Allen                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/14/t-
2022-03-14   2022-03-27 magazine/artist-home-studio-design.html    A Sanctuary for One                          By Hanya Yanagihara               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/14/t-                                                  By Gisela Williams and Angela
2022-03-14   2022-03-27 magazine/danh-vo-art-farmhouse-design.html Where the Artists Go                        Simi                               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/arts/alp
2022-03-15   2022-03-27 s-map-glacier-rock.html                      The People Who Draw Rocks                 By Zoey Poll and Lucia Buricelli   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/nyregio No Ice Needed for Skating at Rockefeller
2022-03-15   2022-03-27 n/rockefeller-center-roller-skating.html     Center                                    By Jane Margolies                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/realesta
                        te/where-jerry-zaks-goes-to-escape-the-pure-
2022-03-15   2022-03-27 pleasure-of-the-theater.html                 Always on Broadway Even on His Days Off   By Joanne Kaufman                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/t-                                                  By Alice NewellHanson and
2022-03-15   2022-03-27 magazine/arje-apartment-home-design.html All by Themselves                             Nicholas Calcott                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/t-
                        magazine/bathrooms-home-design-                                                        By Aimee Farrell and David
2022-03-15   2022-03-27 london.html                                  Good Clean Fun                            Fernndez                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/t-
2022-03-16   2022-03-27 magazine/cross-body-bags-purses.html         CrossBody Bags                            By Mari Maeda and Yuji Oboshi      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/16/t-
2022-03-16   2022-03-27 magazine/nina-simone-childhood-home.html A Home Coming                                 By Adam Bradley and Nydia Blas     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/books/r When Will Publishing Stop Starving Its
2022-03-17   2022-03-27 eview/the-atlas-six-olivie-blake.html        Young                                     By Elisabeth Egan                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/style/w
2022-03-17   2022-03-27 edding-hate.html                             Confessions of a Reformed Wedding Hater   By John Searles                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/t-
2022-03-17   2022-03-27 magazine/mirrors-home-interior-design.html Taking Shape                                By Mari Maeda and Yuji Oboshi      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/t-
2022-03-17   2022-03-27 magazine/spring-fashion-bright.html          The Light Fantastic                       By Viviane Sassen and Imruh Asha TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/18/t-
                        magazine/indulgence-starvation-food-                                                   By Ligaya Mishan Anthony
2022-03-18   2022-03-27 inequality.html                              In a Starving World Is Eating Unethical   Cotsifas and Victoria PetroConroy TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/18/t-                                                  By Ronan Mckenzie and Eric
2022-03-18   2022-03-27 magazine/neutral-knits-spring-fashion.html Soft Skills                                 McNeal                            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/interactive/2022/03/                                           Photographs by Alexander
2022-03-18   2022-03-27 18/magazine/ukraine-war-kyiv.html            Citizens of Kyiv                          Chekmenev                         TX 9-152-782    2022-05-02
                        https://www.nytimes.com/article/childrens- Further Reading Historical BlackAuthored
2022-03-19   2022-03-27 books-black-authors.html                     Childrens Literature                      By Brigitte Fielder                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/20/books/r
2022-03-20   2022-03-27 eview/french-braid-anne-tyler.html           Tangled Lives                             By Jennifer Haigh                  TX 9-152-782   2022-05-02




                                                                               Page 3543 of 5793
                        https://www.nytimes.com/2022/03/21/opinion
                        /democrats-public-education-culture-                                                      By Jennifer C Berkshire and Jack
2022-03-21   2022-03-27 wars.html                                    Republicans Are Winning the School Wars      Schneider                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/realesta
2022-03-21   2022-03-27 te/shopping-for-floor-lamps.html             Putting the Room In Its Best Light           By Tim McKeough                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/t-
2022-03-21   2022-03-27 magazine/anais-nin-los-angeles-home.html     The Secret Place                             By Kurt Soller and Chris Mottalini TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/t-
                        magazine/men-necklaces-pendants-
2022-03-21   2022-03-27 jewelry.html                                 Peekaboo                                     By Nick Haramis                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ John Waters Is Ready to Defend the Worst
2022-03-21   2022-03-27 21/magazine/john-waters-interview.html       People in the World                          By David Marchese                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/arts/ina- Ina Garten Thrills to Hitchcock and Nordic
2022-03-22   2022-03-27 garten-favorite-things.html                  Dramas                                       By Alexis Soloski                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/books/r
2022-03-22   2022-03-27 eview/greg-bluestein-flipped-georgia.html    Color War                                    By Julian E Zelizer                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/22/magazi
2022-03-22   2022-03-27 ne/commonplace-books-recommendation.html Commonplace Books                                By Charley Locke                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/magazi My Daughter Is Having Sex With Her Best
2022-03-22   2022-03-27 ne/ethicist-teenage-sex-parenting.html     Friend Must I Tell Her Mom                     By Kwame Anthony Appiah            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/magazi
2022-03-22   2022-03-27 ne/kids-math-anxiety.html                  How to Help a Child With Math Anxiety          By Malia Wollan                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/magazi
2022-03-22   2022-03-27 ne/tucker-carlson-politician.html          Talk Shop                                      By Jason Zengerle                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/opinion
2022-03-22   2022-03-27 /covid-surge-prep.html                     The Next Covid Wave Is on Its Way              By Tom Frieden                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/t-
2022-03-22   2022-03-27 magazine/giorgio-pace-kengo-kuma.html      A Second Act                                   By Nancy Hass and Franois Halard TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/22/t-
                        magazine/jessie-buckley-lost-daughter-                                                    By Megan Conway Andrea Urbez
2022-03-22   2022-03-27 oscars.html                                Jessie Buckley                                 and Hisato Tasaka                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/23/arts/des
2022-03-23   2022-03-27 ign/denyse-thomasos-whitney-biennial.html In Search of a Ghost For the Whitney Biennial By Adrienne Edwards                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/arts/des
2022-03-23   2022-03-27 ign/whitney-museum-biennial-tijuana.html    Reflecting Today From the Border            By Siddhartha Mitter                 TX 9-152-782   2022-05-02
                                                                    Humble Beginnings In the Middle Eastern
                        https://www.nytimes.com/2022/03/23/magazi dish rqaq w adas the simple lentil becomes
2022-03-23   2022-03-27 ne/lentil-stew.html                         pageantry on the plate                      By Ligaya Mishan                     TX 9-152-782   2022-05-02
                                                                    The mentalhealth crisis among American
                        https://www.nytimes.com/2022/03/23/magazi children is real but the pandemic is not the
2022-03-23   2022-03-27 ne/mental-health-crisis-kids.html           only reason                                 By Kim Tingley                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/nyregio
2022-03-23   2022-03-27 n/george-bratsenis-nj-hitman.html           Adding Hit Man To a Criminal Rsum           By Ed Shanahan                       TX 9-152-782   2022-05-02



                                                                                  Page 3544 of 5793
                        https://www.nytimes.com/2022/03/23/nyregio
2022-03-23   2022-03-27 n/when-we-were-bullies-brooklyn.html           A Brooklyn Bully Looks Back With Regrets By Stuart Miller                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/realesta
                        te/house-hunting-in-finland-on-the-baltic-sea-
2022-03-23   2022-03-27 in-greater-helsinki.html                       Plenty of Windows To Watch Over the Water By Lisa Prevost                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/realesta A Peninsular Village Tucked Into a Corner of
2022-03-23   2022-03-27 te/living-in-rowayton-conn.html                Norwalk                                   By Susan Hodara                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/style/80 The Return of Epic Dresses and Maximalist
2022-03-23   2022-03-27 s-weddings-dresses-cakes.html                  Cakes                                     By Ivy Manners                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/style/pa
                        rapsychology-foundation-eileen-j-garrett-
2022-03-23   2022-03-27 library.html                                   Their Spiritual Family Business           By Suzanne Clores                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/t-
2022-03-23   2022-03-27 magazine/notting-hill-home-design.html         At Home Quiet Charm With Teapots          By Aimee Farrell                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/t-
2022-03-23   2022-03-27 magazine/paris-apartment-design-art.html       Solo Show                                 By Nancy Hass and Cline Clanet     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/technol
                        ogy/stewart-brand-tech-personal-               How a LongTerm Thinker Sees the Role of
2022-03-23   2022-03-27 computer.html                                  Technology                                By John Markoff                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/theater/
2022-03-23   2022-03-27 debra-messing-birthday-candles.html            Aging Instantly Its a Piece of Cake       By Alexis Soloski                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/arts/mu
2022-03-24   2022-03-27 sic/la-monte-young-music.html                  This Opus Rewards By Not Rushing          By Seth Colter Walls               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/24/busines                                                 By Julia Rothman and Shaina
2022-03-24   2022-03-27 s/tax-accountant-child-tax-credit-crypto.html Its a Good Thing I Dont Need a Lot of Sleep Feinberg                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/magazi
2022-03-24   2022-03-27 ne/bit-by-a-rat.html                          Bonus Advice From Judge John Hodgman         By John Hodgman                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/magazi                                                  By Jake Skeets and Selected by
2022-03-24   2022-03-27 ne/poem-love-letter-to-a-dead-body.html       Poem Love Letter to a Dead Body              Victoria Chang                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/movies/
2022-03-24   2022-03-27 halle-berry-best-actress-oscar.html           Halle Berry Still Awaits Her Oscar Successor By Sarah Bahr                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/nyregio
                        n/windsor-high-school-gangsta-night-          Students Held a Gangsta Night Some People
2022-03-24   2022-03-27 racism.html                                   Saw It as Racist                             By Kimiko de FreytasTamura       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/opinion                                                 By Patrick Healy and Lulu
2022-03-24   2022-03-27 /teenagers-america.html                       12 Teens on What Adults Dont Get             GarciaNavarro                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/opinion
                        /ukraine-democrats-fossil-fuel-climate-
2022-03-24   2022-03-27 change.html                                   This Is a Fossil Fuel War Lets Say So        By Farhad Manjoo                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/opinion
                        /why-is-europe-still-buying-oil-from-
2022-03-24   2022-03-27 putin.html                                    Europe Is Funding Putins War                 By Oleg Ustenko                  TX 9-152-782   2022-05-02




                                                                                  Page 3545 of 5793
                        https://www.nytimes.com/2022/03/24/realesta
                        te/where-do-homeowners-stay-in-their-homes-
2022-03-24   2022-03-27 the-longest.html                             The Places That Are Hard to Leave          By Michael Kolomatsky           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/sports/b
                        asketball/enes-kanter-freedom-nba-           Now Engaged in a FullCourt Press for
2022-03-24   2022-03-27 activism.html                                Activism                                   By Sopan Deb                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/style/ne
2022-03-24   2022-03-27 ighbor-lawn-social-qs.html                   Get Off My Lawn                            By Philip Galanes               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/t-                                                   By JS Marcus and Martina
2022-03-24   2022-03-27 magazine/piero-lissoni-milan-apartment.html The Apartment Is Never Done                 Giammaria                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/t-
2022-03-24   2022-03-27 magazine/writers-alcohol-drugs-art.html      A Brilliant Tortured Life                  By M H Miller and Duane Michals TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/theater/
2022-03-24   2022-03-27 shaina-taub-suffs-public-theater.html        Telling the Suffragist Tale in Song        By Jennifer Schuessler          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/world/e A Month of Bloodshed Sieges and Resistance
2022-03-24   2022-03-27 urope/ukraine-war-russia-stalemate.html      Leading to a Stalemate                     By Marc Santora                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/interactive/2022/03/ They Fell in Love in Italy Which Apartment
2022-03-24   2022-03-27 24/realestate/24hunt-sook.html               Did They Buy in New York City              By Joyce Cohen                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/arts/tele
2022-03-25   2022-03-27 vision/pete-holmes-how-we-roll.html          A FeelGood Sitcom Is Up His Alley          By Stuart Miller                TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/25/books/r
2022-03-25   2022-03-27 eview/karina-yan-glaser-a-duet-for-home.html Instruments of Change                            By Padma Venkatraman    TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/books/r
2022-03-25   2022-03-27 eview/new-paperbacks.html                       Paperback Row                                 By Miguel Salazar       TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/books/r
                        eview/the-secrets-of-cricket-karlsson-kristina-
2022-03-25   2022-03-27 sigunsdotter-ester-eriksson.html                Preteen Angst Swedish Style                   By Gayle Forman         TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/busines
2022-03-25   2022-03-27 s/early-meetings-return-office.html             Theres No Such Thing as a Free Treat          By Roxane Gay           TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/busines What You Owe Uncle Sam Will Change
2022-03-25   2022-03-27 s/retirement-taxes-social-security.html         When You Stop Working                         By Mark Miller          TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/busines Target Date Funds Are Soaking Some
2022-03-25   2022-03-27 s/taxes-vanguard-investment-funds.html          Investors With Big Bills                      By Jeff Sommer          TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/movies/
2022-03-25   2022-03-27 oscars-best-picture-remakes.html                You Know That Movie Seems Familiar            By Ben Zauzmer          TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/nyregio Covid Cases Are Rising in Schools Why Are
2022-03-25   2022-03-27 n/covid-school-mask.html                        Masks Off                                     By Ginia Bellafante     TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/nyregio
2022-03-25   2022-03-27 n/doris-ho-kane-ban-be.html                     Pastry Chefs Day Has a Lot of Ingredients     By Ilana Kaplan         TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/25/nyregio
2022-03-25   2022-03-27 n/st-peters-march-madness-sweet-16.html         This Year Cinderella Hails From Jersey City   By Tracey Tully         TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/25/opinion
2022-03-25   2022-03-27 /burn-pits-us-veterans-supreme-court.html  The Toxic Legacy of Burn Pits                      By Megan K Stack        TX 9-152-782     2022-05-02



                                                                                   Page 3546 of 5793
                        https://www.nytimes.com/2022/03/25/opinion Congress Needs to Stay In the Fight Against
2022-03-25   2022-03-27 /covid-funding-congress-biden.html         Covid                                         By The Editorial Board        TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/25/opinion
2022-03-25   2022-03-27 /madeleine-albright-secretary-of-state.html    Madeleine Albright Warned Us              By Hillary Clinton            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/opinion
2022-03-25   2022-03-27 /mike-braun-loving-virginia.html               Are We Debating Interracial Marriage      By Jamelle Bouie              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/opinion
2022-03-25   2022-03-27 /oscars-movies-end.html                        Is This the End Of the Movies             By Ross Douthat               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/opinion
2022-03-25   2022-03-27 /questlove-inspiration-collection.html         Collecting Things Is An Act of Devotion   By Ahmir Questlove Thompson   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/opinion
                        /sunday/ketanji-brown-jackson-kavanaugh-
2022-03-25   2022-03-27 sotomayor-kagan.html                           Ketanji Brown Jacksons Paradox            By Jamal Greene               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/realesta
2022-03-25   2022-03-27 te/harlem-toile-wallpaper.html                 Patterns Of Inclusion                     By Veronica Chambers          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/realesta A Designer Makes Herself Comfortable at
2022-03-25   2022-03-27 te/sheila-bridges-hay-house-interview.html     Home                                      By Julie Lasky                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/realesta
2022-03-25   2022-03-27 te/weather-spring-outdoor-spaces.html          Spruce Up Your Outdoor Space for Spring   By Ronda Kaysen               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/sports/s
2022-03-25   2022-03-27 occer/messi-ronaldo-world-cup.html             Its Time for Some New Household Names     By Rory Smith                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/style/an
2022-03-25   2022-03-27 na-sorokin-art.html                            Fake Heiress Talks About Real Art         By Emily Palmer               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/style/la His Way of Proposing You Could Stick a
2022-03-25   2022-03-27 ura-mcdonald-harsh-shah-wedding.html           Fork in It                                By Emma Grillo                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/style/lis A Relationship Expert Starting One of Her
2022-03-25   2022-03-27 a-nichols-marcellus-hall-wedding.html          Own                                       By Tammy La Gorce             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/style/m
                        odern-love-first-and-last-time-she-didnt-come-
2022-03-25   2022-03-27 home.html                                      The One Time She Didnt Come Home          By Mary Pembleton             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/style/ny
2022-03-25   2022-03-27 c-bars-covid-restrictions.html                 Welcome to the Club Its Packed            By Alyson Krueger             TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/25/style/os
2022-03-25   2022-03-27 cars-priyanka-chopra-jonas-south-asians.html An Early Oscars Party Honors a Community By Sheila Yasmin Marikar         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/t-
2022-03-25   2022-03-27 magazine/art-climate-change.html             World on FIRE                                 By Zo Lescaze               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/t-        A Teardrop Locket Inspired by a Parisian Flea
2022-03-25   2022-03-27 magazine/monica-rich-kosann-necklace.html Market Find                                      By Lindsay Talbot           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/world/e
                        urope/ukraine-valentyna-veretska-jerusalem-
2022-03-25   2022-03-27 marathon.html                                Fleeing Ukraine Then Winning a Marathon By Nadav Gavrielov                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/your- In This Sellers Market Those Profits May
2022-03-25   2022-03-27 money/home-sale-tax.html                     Turn Out To Be Costly                         By Ann Carrns               TX 9-152-782   2022-05-02



                                                                                 Page 3547 of 5793
                        https://www.nytimes.com/live/2022/03/25/wo
                        rld/covid-19-mandates-cases-
2022-03-25   2022-03-27 vaccine/shanghai-china-cases-surge          Surge Tests Chinas Zero Covid Strategy    By Chris Buckley                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/25/arts/mu Taylor Hawkins Charismatic Drummer for
2022-03-26   2022-03-27 sic/taylor-hawkins-foo-fighters-dead.html   Foo Fighters Is Dead at 50                By Caryn Ganz and Joe Coscarelli TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/busines Dirck Halstead 85 Photojournalist Who
2022-03-26   2022-03-27 s/media/dirck-halstead-dead.html            Captured WorldChanging Events Dies        By Neil Genzlinger              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/25/us/polit
                        ics/biden-second-booster-shot-older-        Giving Older Americans Option of Second
2022-03-26   2022-03-27 americans.html                              Booster                                   By Sharon LaFraniere            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/26/busines What You Need To Know Before Filing in
2022-03-26   2022-03-27 s/filing-taxes-guide-2022.html              2022                                      By Tara Siegel Bernard          TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/26/busines
                        s/media/academy-awards-streaming-           Streaming Studios Storm the Oscars With   By Brooks Barnes and Nicole
2022-03-26   2022-03-27 services.html                               Best Picture in Reach                     Sperling                        TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/26/nyregio Federal Covid Cash Kept New York State
2022-03-26   2022-03-27 n/covid-budget-new-york.html                Afloat but That Could End Soon            By Nicholas Fandos              TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/26/opinion
2022-03-26   2022-03-27 /ketanji-brown-jackson-clarence-thomas.html Real Justice Justice Jackson               By Maureen Dowd                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/26/realesta My Neighbors Pool Is a Big Mess Can I Make
2022-03-26   2022-03-27 te/neighbors-aboveground-pool.html          Them Clean It                              By Ronda Kaysen                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/26/style/do
2022-03-26   2022-03-27 g-sitting.html                              Its a Dogs Life If You Want It             By Glynnis MacNicol            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/26/style/ja Jay Penske Has Bought a Corner on
2022-03-26   2022-03-27 y-penske.html                               Hollywood                                  By Katherine Rosman            TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/26/style/ju Take a Young Chef Add Parisian Flair And
2022-03-26   2022-03-27 lien-sebbag.html                            Then Voil                                  By Sara Lieberman              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/26/style/re
2022-03-26   2022-03-27 becca-grice-stylist.html                    A Stylist Has Fun With Her Clientele       By Eliza Brooke                TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/26/us/arizo Arizona First to Offer Drivers Licenses on
2022-03-26   2022-03-27 na-digital-drivers-license.html             iPhones Other States Want to Be Next       By Neil Vigdor                 TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/26/us/denv Colorado Jury Awards 14M to Protesters Hurt
2022-03-26   2022-03-27 er-george-floyd-protests-ruling.html        in Floyd Protests                          By Sophie Kasakove             TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/26/us/midl Texas Mother Seeks Answers After Teen Son
2022-03-26   2022-03-27 and-texas-teen-police-shooting.html         Dies in an OfficerInvolved Shooting        By Edgar Sandoval              TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/26/us/polit 911 Plea Talks Are Paused for Ramadan
2022-03-26   2022-03-27 ics/9-11-case-negotiations-guantanamo.html Holiday After No Deal Is Reached           By Carol Rosenberg              TX 9-152-782    2022-05-02
                        https://www.nytimes.com/2022/03/26/us/polit Tax Proposal In Budget Will Target
2022-03-26   2022-03-27 ics/biden-billionaires-minimum-tax.html     Billionaires                              By Zolan KannoYoungs            TX 9-152-782    2022-05-02

                        https://www.nytimes.com/2022/03/26/us/polit Georgia Campaign Fueled By Trumps Fury
2022-03-26   2022-03-27 ics/georgia-governor-trump-perdue-kemp.html Sputters                                  By Maya King                    TX 9-152-782    2022-05-02




                                                                               Page 3548 of 5793
                        https://www.nytimes.com/2022/03/26/us/polit Election Texts Shine New Light On Clout     By Danny Hakim Jo Becker and
2022-03-26   2022-03-27 ics/ginni-thomas-donald-trump.html          Held by Justices Wife                       Alan Feuer                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/world/e Bidens Barbed Remark About Putin A Slip or By Michael D Shear and David E
2022-03-26   2022-03-27 urope/biden-ukraine-poland-speech.html      a Veiled Threat                             Sanger                               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/world/e
2022-03-26   2022-03-27 urope/kyiv-ukraine-counteroffensive.html    Signs of Persistent Counterattack Near Kyiv By Carlotta Gall and Ivor Prickett   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/world/e LeftWing Maverick Makes a Late Charge in By Constant Mheut and Aurelien
2022-03-26   2022-03-27 urope/melenchon-france-election-left.html   Frances Presidential Race                   Breeden                              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/world/e Rallying Allies Biden Says Putin Cannot      By Michael D Shear David E
2022-03-26   2022-03-27 urope/russia-ukraine-biden.html             Remain in Power                             Sanger and Michael Levenson          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/world/e Afghan Refugees in Limbo in UK as Ukraine
2022-03-26   2022-03-27 urope/uk-afghan-refugees-ukraine.html       Influx Looms                                By Megan Specia                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/world/e
2022-03-26   2022-03-27 urope/vladimir-putin-russia.html            The Evolution of an Enigma                  By Roger Cohen                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/world/ At Summit Israels Ties With Arabs Move
2022-03-26   2022-03-27 middleeast/israel-arab-summit.html          From Ceremony to Substance                  By Patrick Kingsley                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/26/world/ Rising Mideast Prices Threaten to Make for a
2022-03-26   2022-03-27 middleeast/mideast-food-prices-ramadan.html Paltry Ramadan Table                       By Vivian Yee                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/your-                                               By David YaffeBellany and Ron
2022-03-26   2022-03-27 money/taxes-crypto-nfts.html                Trade Crypto Buy NFTs And Pay Taxes        Lieber                                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/sports/n
2022-03-27   2022-03-27 caabasketball/duke-arkansas-score.html      Krzyzewskis Finale Keeps Growing Grander By Billy Witz                           TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/26/sports/n Wildcats Make Final Four in Little Street
2022-03-27   2022-03-27 caabasketball/villanova-houston-score.html Fight                                         By Alanis Thames                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/busines
                        s/week-in-business-russia-economy-          The Week in Business Attempts to Prop Up
2022-03-27   2022-03-27 unions.html                                 the Russian Economy                          By Marie Solis                      TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/27/insider/
                        one-story-filled-almost-the-entire-magazine-it-
2022-03-27   2022-03-27 came-together-in-two-weeks.html                 The Citizens of Kyiv in Photographs      By Sarah Bahr                       TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/27/realesta
2022-03-27   2022-03-27 te/homes-that-sold-for-550000-or-less.html Homes That Sold for 550000 or Less         By C J Hughes                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/sports/c
2022-03-27   2022-03-27 olin-kaepernick-nfl-workout.html            Kaepernick Stages His Own PopUp Auditions By Emmanuel Morgan                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/sports/u
2022-03-27   2022-03-27 ltra-marathons-aleksandr-sorokin.html       Ultrarunning Is Having a Moment           By David Gardner                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/technol
2022-03-27   2022-03-27 ogy/dna-tests-crime-solving.html            Donate Here to Solve a Murder             By Kashmir Hill                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/us/mob As Investors Buy Mobile Home Parks
2022-03-27   2022-03-27 ile-home-park-ownership-costs.html          Residents Pay the Price                   By Sophie Kasakove                     TX 9-152-782   2022-05-02




                                                                                   Page 3549 of 5793
                        https://www.nytimes.com/2022/03/27/us/polit A Former Moderate Embraces Trump and
2022-03-27   2022-03-27 ics/elise-stefanik.html                      Embodies a Changed GOP                      By Annie Karni                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/travel/b This Luxurious Pricey Resort May Be Skiings
2022-03-15   2022-03-28 ig-sky-montana-skiing.html                   Future                                      By Elisabeth Vincentelli          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/sports/b
2022-03-23   2022-03-28 aseball/mets-60th-anniversary.html           The Same Old Mets at 60                     By George Vecsey                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/technol Theres No Global Shopping Mall and It Might
2022-03-23   2022-03-28 ogy/global-shopping-big-tech.html            Never Exist                                 By Shira Ovide                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/travel/s You Can Still Find Ways to Save on Spring
2022-03-23   2022-03-28 pring-break-travel-deals.html                Break Travel                                By Victoria M Walker              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/busines                                               By Alex Kalman Antonio de Luca
2022-03-24   2022-03-28 s/companies-products-russia.html             No Longer in Russia                         and Maia Coleman                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/arts/dan
2022-03-25   2022-03-28 ce/review-paul-taylor-lauren-lovette.html    Coming Back With a Twist                    By Brian Seibert                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/arts/des British Museum to Remove Sackler Name
2022-03-25   2022-03-28 ign/british-museum-sackler-family.html       From Walls                                  By Alex Marshall                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/arts/mu One Thing for Sure Ellington Has Still Got
2022-03-25   2022-03-28 sic/duke-ellington-carnegie-hall.html        That Swing                                  By Seth Colter Walls              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/us/edm Kip Hawley 68 Recruited to Set Up and Later
2022-03-25   2022-03-28 und-hawley-dead.html                         Overhaul a Maligned TSA                     By Katharine Q Seelye             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/world/e Vera Gissing 93 Writer Rescued By Britains
2022-03-25   2022-03-28 urope/vera-gissing-dead.html                 Schindler Is Dead                           By Sam Roberts                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/article/books-putin-
2022-03-25   2022-03-28 russia.html                                  Authors Have Tried Repeatedly to Read Putin By Alexandra Alter                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/health/ A Public Health Catastrophe Looms in
2022-03-26   2022-03-28 ukraine-health-tb-hiv.html                   Ukraine                                     By Apoorva Mandavilli             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/nyregio Lee E Koppelman 94 Visionary Long Island
2022-03-26   2022-03-28 n/lee-e-koppelman-dead.html                  Planner                                     By Sam Roberts                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/opinion Tanyas Sister Was Trapped in Mariupol This
2022-03-26   2022-03-28 /ukraine-russia-war-family.html              Is Their Story                              By Farah Stockman                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/us/polit Congressman To Step Down After He Lied
2022-03-26   2022-03-28 ics/jeff-fortenberry-resigns.html            To the FBI                                  By Emily Cochrane                 TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/27/arts/mu Eugene Onegin Dispels Putins CancelCulture
2022-03-27   2022-03-28 sic/putin-tchaikovsky-onegin-met-opera.html Charge                                    By Zachary Woolfe                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/busines Star Anchor Says Shift At Fox News Led to
2022-03-27   2022-03-28 s/media/chris-wallace-cnn-fox-news.html     Exit                                      By Michael M Grynbaum                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/climate How Manchin Aided Coal Industry and        By Christopher Flavelle Julie Tate
2022-03-27   2022-03-28 /manchin-coal-climate-conflicts.html        Earned Himself Millions                   and Erin Schaff                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/fashion
                        /craftsmanship-homo-faber-biennial-
2022-03-27   2022-03-28 venice.html                                 East meets west                           By Tina IsaacGoiz                    TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/27/fashion
2022-03-27   2022-03-28 /craftsmanship-kendo-martial-arts-tokyo.html At 83 he practices a dying craft           By Vivian Morelli                  TX 9-152-782   2022-05-02



                                                                                   Page 3550 of 5793
                        https://www.nytimes.com/2022/03/27/fashion
2022-03-27   2022-03-28 /museum-of-the-future-dubai.html            A museum with a message                     By David Belcher                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/movies/
2022-03-27   2022-03-28 oscars-winner-list.html                     2022 Oscar Winners                          By Gabe Cohn                     TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/nyregio
                        n/brian-benjamin-campaign-fraud-                                                        By Nicholas Fandos and William K
2022-03-27   2022-03-28 inquiry.html                                Lt Gov Benjamin Is Focus of Federal Inquiry Rashbaum                         TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/nyregio Big Subsidy For Stadium Hochul Faces         By Luis FerrSadurn and Ken
2022-03-27   2022-03-28 n/buffalo-bills-stadium-hochul.html         Costly Choice                               Belson                           TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/obituari Martin Pope Physical Chemist Whose
2022-03-27   2022-03-28 es/martin-pope-dead.html                    Research Led to OLEDs Dies at 106           By Katie Hafner                  TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/27/opinion
2022-03-27   2022-03-28 /culture/anna-delvey-netflix-scammers.html Its Easy to Fall For a Scam                    By Liz Scheier                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/opinion
2022-03-27   2022-03-28 /desantis-trump-republican-party.html       DeSantis Is One Step Beyond Trump             By Charles M Blow              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/sports/b
2022-03-27   2022-03-28 aseball/yankees-blue-jays.html              NeedleThin Margins In the Packed AL East By Tyler Kepner                     TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/sports/h
                        ubert-davis-shaheen-holloway-ncaa-
2022-03-27   2022-03-28 tournament.html                             2 Coaches With Rosy Futures Win or Lose       By Adam Zagoria                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/sports/n
2022-03-27   2022-03-28 caabasketball/kansas-miami-score.html       Flat at Start Kansas Flattens Miami at Finish By Mitch Smith                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/sports/n An Upstart Fizzles Out as a Blue Blood
2022-03-27   2022-03-28 caabasketball/st-peters-unc-score.html      Asserts Itself                                By Alan Blinder                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/us/army Pentagon Seeks To Offset Rival As Arctic
2022-03-27   2022-03-28 alaska-arctic-russia.html                   Melts                                         By Mike Baker                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/us/boul Colorado Wildfire Scorches Nearly 190 Acres By Vimal Patel and Eduardo
2022-03-27   2022-03-28 der-fire-ncar.html                          and Prompts Evacuations                       Medina                         TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/us/gas- Some States Suspend Their Gas Tax Looking
2022-03-27   2022-03-28 tax-cuts.html                               To Ease Pain at the Pump                      By Giulia Heyward              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/us/polit                                               By Zolan KannoYoungs and Emily
2022-03-27   2022-03-28 ics/biden-ukraine.html                      Bidens Nine Unscripted Words Reverberate Cochrane                            TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/world/a Crews Find 2nd Recorder From Crash In
2022-03-27   2022-03-28 sia/china-eastern-boeing-crash.html         China                                         By Chris Buckley               TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/27/world/e Fading FarRight Candidate Vows Fight for
2022-03-27   2022-03-28 urope/eric-zemmour-france.html              French Identity                               By Constant Mheut              TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/27/world/e New Attacks Pierce Sense Of Security In Lviv
2022-03-27   2022-03-28 urope/lviv-ukraine-russia-missile-strikes.html Area                                        By Valerie Hopkins              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/world/e Churchill Worked Here Britains Old War
2022-03-27   2022-03-28 urope/old-war-office-hotel.html                Office Is a Luxury Hotel                    By Mark Landler                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/world/e                                                 By Anton Troianovski and Ivan
2022-03-27   2022-03-28 urope/russia-media-zelensky.html               Kremlin Purges Reporters Talk With Zelensky Nechepurenko                    TX 9-152-782   2022-05-02




                                                                                 Page 3551 of 5793
                        https://www.nytimes.com/2022/03/27/world/e Mariupol Teetering Amid Signs Russia Is
2022-03-27   2022-03-28 urope/russia-ukraine-war-combat.html        Shifting Focus                                By Carlotta Gall               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/world/e Zelensky and Supporters Seek Virtual
2022-03-27   2022-03-28 urope/zelensky-oscars.html                  Appearance At the Academy Awards              By Andrew E Kramer             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/world/ Blinken to Exhort Middle Eastern Allies to
2022-03-27   2022-03-28 middleeast/blinken-mideast-ukraine.html     Join Wests Rebuke of Russia                   By Lara Jakes                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/world/ Arab Gunmen Kill 2 on Eve Of
2022-03-27   2022-03-28 middleeast/hadera-israel-terror-attack.html Groundbreaking Summit                         By Patrick Kingsley            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/sports/n
                        caabasketball/south-carolina-creighton-     With a Strong Supporting Cast South
2022-03-28   2022-03-28 score.html                                  Carolina Puts On a Show                       By Remy Tumin                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/sports/s
                        occer/usmnt-panama-world-cup-               US Is One Game Away From a World Cup
2022-03-28   2022-03-28 qualifying.html                             Berth                                         By Andrew Das                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/theater/
2022-03-28   2022-03-28 review-confederates.html                    Talking Race in Both Past and Present         By Maya Phillips               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/27/us/polit Jan 6 Panel Argues For Contempt Charges       By Luke Broadwater and Alan
2022-03-28   2022-03-28 ics/peter-navarro-dan-scavino-contempt.html Against 2 Trump Allies                        Feuer                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/arts/tele
                        vision/oscars-review-chris-rock-will-
2022-03-28   2022-03-28 smith.html                                   Show Falls Flat Even With a Spat             By James Poniewozik            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/arts/tele
                        vision/whats-on-tv-how-to-survive-a-
2022-03-28   2022-03-28 pandemic-grammy-awards.html                  This Week on TV                              By Sadiba Hasan                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/busines
                        s/media/rumble-social-media-conservatives- GoTo Site For Far Right Envisions New
2022-03-28   2022-03-28 videos.html                                  Frontier                                     By Jeremy W Peters             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/movies/                                                By Brooks Barnes and Nicole
2022-03-28   2022-03-28 the-oscars-2022.html                         Lots of Awards One Nasty Slap                Sperling                       TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/28/nyregio From Tenement to Illegal Hotel to Housing
2022-03-28   2022-03-28 n/royal-park-hotel-manhattan-homeless.html for Homeless                                   By Mihir Zaveri                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/sports/n
                        caabasketball/ncaa-womens-tournament-elite-
2022-03-28   2022-03-28 8.html                                      The Final Battles To Get to the Final Four    By Natalie Weiner              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/sports/n
                        caabasketball/womens-march-madness-         Women Winning With Sponsors And Social
2022-03-28   2022-03-28 endorsements.html                           Media                                         By Kurt Streeter               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/technol
                        ogy/nokia-russia-surveillance-system-                                                     By Adam Satariano Paul Mozur
2022-03-28   2022-03-28 sorm.html                                   Nokia Departs But Cybertools Stay in Russia   and Aaron Krolik               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/04/busines In Time of Crisis These Women Went to
2022-03-04   2022-03-29 s/jobs-women-crisis.html                    Work                                          By Alisha Haridasani Gupta     TX 9-152-782   2022-05-02




                                                                                Page 3552 of 5793
                        https://www.nytimes.com/2022/03/04/busines
2022-03-04   2022-03-29 s/operator-emergency-response-911.html     Saving Lives One Call at a Time              By Concepcin de Len               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/10/busines Helping Women Survive Birth Amid a
2022-03-10   2022-03-29 s/pandemic-births-women-doula.html         Pandemic                                     By Alisha Haridasani Gupta        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/15/science Cannibalistic Toads Not Just Ugly but an
2022-03-15   2022-03-29 /cane-toads-cannibals.html                 Absolutely Terrible Dinner Companion         By Annie Roth                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/busines Rebuilding Her Life While She Builds
2022-03-17   2022-03-29 s/pandemic-construction-women.html         Homes                                        By Carol Pogash                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/17/well/fa For Some Teenagers That Mask Is a Security
2022-03-17   2022-03-29 mily/teenage-student-mask-anxiety.html     Blanket                                      By Emily Sohn                     TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/17/well/liv On Cancer and Healing the Second Time
2022-03-18   2022-03-29 e/suleika-jaouad-life-interrupted-cancer.html Around                                     By Tara ParkerPope               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/21/science
2022-03-21   2022-03-29 /nasa-asteroid-strike.html                    Tiny Asteroid Reveals Huge Promise         By Robin George Andrews          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/science
2022-03-22   2022-03-29 /maya-human-migration-maize-dna.html          Migration Brought Maize to the Maya Region By Sabrina Imbler                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/22/science
2022-03-23   2022-03-29 /brain-computer-als-communication.html        Words Take Shape Where There Was Silence By Jonathan Moens                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/health/c
2022-03-23   2022-03-29 ovid-africa-deaths.html                       Covids Uneven Toll                         By Stephanie Nolen               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/science
2022-03-23   2022-03-29 /industry-whaling-ship-found.html             Sunken Whaling Ship Holds Clues to Mystery By Maggie Astor                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/well/ho                                               By Gretchen Reynolds and Brown
2022-03-23   2022-03-29 w-to-do-squats.html                           A Basic Movement for a Healthy Life        Bird Design                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/arts/tele John Korty Acclaimed Director Of Miss Jane
2022-03-24   2022-03-29 vision/john-korty-dead.html                   Pittman Dies at 85                         By Neil Genzlinger               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/arts/tele
2022-03-24   2022-03-29 vision/madhuri-dixit-the-fame-game.html       For Its Star The Fame Game Seems Familiar By Priya Arora                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/science Flexible Killer Theyre Breathing So Easily
2022-03-24   2022-03-29 /boa-constrictors-breathing.html              While Taking Your Breath Away              By Sam Jones                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/science Symmetrical Synergy Why Nature Is Forever
2022-03-24   2022-03-29 /symmetry-biology-evolution.html              Looking in the Mirror                      By Kate Golembiewski             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/world/a Surging Floods and a Government               By Yan Zhuang and Matthew
2022-03-24   2022-03-29 ustralia/lismore-flood.html                   Overwhelmed                                Abbott                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/arts/tele
2022-03-25   2022-03-29 vision/the-andy-warhol-diaries-netflix.html Everywhere You Look Its Warhol Again         By Laura Zornosa                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/health/f
2022-03-25   2022-03-29 da-drug-approvals-makena.html                 Do FastTracked Drugs Need More Scrutiny By Christina Jewett                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/world/a Grim Milestone On Australias Great Barrier
2022-03-25   2022-03-29 ustralia/great-barrier-reef-bleaching.html    Reef Yet Another Mass Bleaching Event      By Damien Cave                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/health/
2022-03-26   2022-03-29 hospice-death-care.html                       A Case for Better Access to Hospice Care   By Paula Span                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/arts/dan
2022-03-27   2022-03-29 ce/ailey-ii-dichotomous-review.html           A Light in the Darkness                    By Siobhan Burke                 TX 9-152-782   2022-05-02



                                                                               Page 3553 of 5793
                        https://www.nytimes.com/2022/03/27/arts/mu
2022-03-27   2022-03-29 sic/32-sounds-review.html                    Power of Sound Amplified by Sight            By Lindsay Zoladz                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/opinion
2022-03-27   2022-03-29 /nuclear-weapons-ukraine.html                What Its Like to Witness a Nuclear Explosion By Rod Buntzen                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/health/c
                        oncerns-rise-as-a-us-reimbursement-fund-for-
                        testing-and-treating-the-uninsured-for-the-  Covid Fund for Uninsured Stops
2022-03-27   2022-03-29 virus-stops-taking-claims.html               Reimbursing Claims                           By Ellen Barry                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/live/2022/03/28/wo
                        rld/covid-19-mandates-cases-
2022-03-27   2022-03-29 vaccine/shanghai-staggered-lockdown          Shanghai to Lock Down District by District By John Liu                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/books/r
                        eview-uncommon-measure-natalie-              After the Notes Drift Away Letting Go of a
2022-03-28   2022-03-29 hodges.html                                  Dream                                        By Alexandra Jacobs              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/books/s Sara Suleri Goodyear 68 Whose Memoir
2022-03-28   2022-03-29 ara-suleri-goodyear-dead.html                Explored a Search for Identity in Pakistan   By Neil Genzlinger               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/28/briefing Outlining a Plan of Defense for the Next
2022-03-28   2022-03-29 /covid-omicron-caseload-antiviral-pills.html Wave                                        By David Leonhardt                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/busines Watchdog Proposes Taking Bank Licenses
2022-03-28   2022-03-29 s/cfpb-banks-regulation.html                 From Repeat Offenders                       By Emily Flitter                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/busines
2022-03-28   2022-03-29 s/dockworkers-strike-supply-chain.html       If the Supply Chain Isnt Strained Enough    By Peter S Goodman                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/busines FedEx Founder Will Hand Over Role of CEO
2022-03-28   2022-03-29 s/fedex-fred-smith.html                      To President                                By Sheera Frenkel                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/climate
                        /sponge-cities-philadelphia-wuhan-
2022-03-28   2022-03-29 malmo.html                                   Turning cities into sponges to manage water By Tatiana Schlossberg            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/health/c Studies Find Cancer Patients Are at Higher
2022-03-28   2022-03-29 ancer-patients-depression-suicide.html       Risk for Depression and Suicide             By Jessica Wapner                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/movies/
2022-03-28   2022-03-29 academy-awards-oscars-critics.html           All Slapping Aside a Few Complaints         By Manohla Dargis and AO Scott    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/movies/
2022-03-28   2022-03-29 oscars-best-worst.html                       A Starry Night With Highs and Lows          By The New York Times             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/movies/                                               By Nicole Sperling Matt Stevens
2022-03-28   2022-03-29 oscars-will-smith-slap-reactions.html        Hollywood Struggles To Square Smiths Slap and Julia Jacobs                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/nyregio
2022-03-28   2022-03-29 n/black-voters-kathy-hochul.html             Polls Show Weak Spot In Support for Hochul By Jeffery C Mays                  TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/28/nyregio NFLs Buffalo Bills Close Deal for
2022-03-28   2022-03-29 n/buffalo-bills-stadium-deal.html          TaxpayerFunded Stadium Costing 14 Billion By Luis FerrSadurn                    TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/28/nyregio Elevator Outages Turn Life Into HighRise
2022-03-28   2022-03-29 n/nyc-elevator-outage-20-exchange-place.html Hell                                        By Karen Zraick and Ashley Wong TX 9-152-782     2022-05-02




                                                                                 Page 3554 of 5793
                        https://www.nytimes.com/2022/03/28/opinion
2022-03-28   2022-03-29 /biden-ukraine-jackson-cruz.html            Cruz Knows Which Side Hes On                   By Gail Collins and Bret Stephens   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/opinion
2022-03-28   2022-03-29 /putin-culture-war.html                     Putin Is Tapping Into the Culture Wars         By Michelle Goldberg                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/opinion
2022-03-28   2022-03-29 /putin-western-decadence.html               The Myths Of Western Decadence                 By Paul Krugman                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/science Social Medias Affect on WellBeing Age May
2022-03-28   2022-03-29 /social-media-teens-mental-health.html      Be Factor                                      By Virginia Hughes                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/special-
                        series/befriending-trees-to-lower-a-citys-
2022-03-28   2022-03-29 temperature.html                            Befriending trees to lower a citys temperature By Peter Wilson                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/sports/b Pujols Returns to St Louis But He Never
2022-03-28   2022-03-29 aseball/albert-pujols-cardinals.html        Really Left                                    By Tyler Kepner                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/sports/b
                        asketball/kyrie-irving-brooklyn-nets-       We Can Move On Nets Fans Welcome Irving
2022-03-28   2022-03-29 return.html                                 Back Home                                      By Tania Ganguli                    TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/28/sports/f Several Owners at NFL Annual Meeting Talk
2022-03-28   2022-03-29 ootball/brian-flores-lawsuit-nfl-owners.html Tough on Flores Lawsuit                  By Jenny Vrentas and Ken Belson TX 9-152-782            2022-05-02

                        https://www.nytimes.com/2022/03/28/sports/n After All of the Shocks a Final Four Thats No
2022-03-28   2022-03-29 caabasketball/final-four-march-madness.html Surprise                                      By Billy Witz                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/sports/t
2022-03-28   2022-03-29 ennis/kylie-mckenzie-usta-lawsuit.html      Player Sues USTA On Worries About Coach By Matthew Futterman                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/sports/t
2022-03-28   2022-03-29 ennis/oscars-will-smith-williams.html       Another Williams Triumph Tempered             By Christopher Clarey                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/technol
                        ogy/eco-delta-smart-village-busan-south-
2022-03-28   2022-03-29 korea.html                                  A city built on data takes shape              By David Belcher                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/theater/
2022-03-28   2022-03-29 7-minutes-review-stefano-massini.html       Its Make or Break for These Factory Workers By Alexis Soloski                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/upshot/
2022-03-28   2022-03-29 budget-biden-policy-agenda.html             Some Items In the Plan Go Missing             By Margot SangerKatz                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/us/cras Snow Squall in Pennsylvania Leads to Fiery
2022-03-28   2022-03-29 h-pennsylvania-snow.html                    50Car Pileup                                  By Neil Vigdor and Johnny Diaz       TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/28/us/desa Florida Governor Signs Bill Fought by
2022-03-28   2022-03-29 ntis-florida-dont-say-gay-bill.html          LGBTQ Groups White House and Hollywood By Patricia Mazzei                         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/us/polit
                        ics/biden-proposes-increases-in-defense-and-                                              By Zolan KannoYoungs Alan
2022-03-28   2022-03-29 social-spending.html                         Bidens Budget Tilts Priorities Toward Center Rappeport and Emily Cochrane         TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/us/polit I Make No Apologies Biden Says of
2022-03-28   2022-03-29 ics/biden-putin.html                         Condemning Putin                             By Michael D Shear                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/us/polit With CenterLeaning Blueprint President
2022-03-28   2022-03-29 ics/budget-biden-politics.html               Bows to Political Reality                    By Jonathan Weisman                  TX 9-152-782   2022-05-02



                                                                                  Page 3555 of 5793
                        https://www.nytimes.com/2022/03/28/us/polit Officials in Georgia Speak Out Against a
2022-03-28   2022-03-29 ics/georgia-election-bill.html              New Proposal on Voting Rules                By Maya King and Nick Corasaniti TX 9-152-782      2022-05-02
                        https://www.nytimes.com/2022/03/28/us/polit
2022-03-28   2022-03-29 ics/ginni-thomas-jan-6.html                 Jan 6 Panel Seeks to Meet With Thomas       By Luke Broadwater               TX 9-152-782      2022-05-02
                        https://www.nytimes.com/2022/03/28/us/polit Risk of Putin Striking NATO Supply Lines to
2022-03-28   2022-03-29 ics/russia-ukraine-nato-weapons.html        Ukraine Is Low                              By Michael Crowley               TX 9-152-782      2022-05-02

                        https://www.nytimes.com/2022/03/28/us/polit Supreme Court to Decide On Warhol
2022-03-28   2022-03-29 ics/supreme-court-andy-warhol-prince.html Copyright Case                                  By Adam Liptak                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/28/us/polit Justices to Weigh California Measure on the
2022-03-28   2022-03-29 ics/supreme-court-california-pigs.html      Treatment of Pigs                             By Adam Liptak                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/28/us/polit Federal Judge Signals Trump Committed         By Luke Broadwater Alan Feuer
2022-03-28   2022-03-29 ics/trump-election-crimes.html              Crimes                                        and Maggie Haberman             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/28/world/a
                        mericas/el-salvador-gang-violence-          El Salvadors Mass Arrests Raise Civil         By Maria AbiHabib and Bryan
2022-03-28   2022-03-29 bukele.html                                 Liberties Fears                               Avelar                          TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/28/world/a US Officials Will Extradite Honduran          By Joan Suazo and Anatoly
2022-03-28   2022-03-29 mericas/honduras-president-extradition.html ExPresident in Collusion Case                Kurmanaev                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/world/a Oscar for Drive My Car Shows Power of
2022-03-28   2022-03-29 sia/drive-my-car-oscar-japan.html             Cinema To Reach Past Borders               By Motoko Rich                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/world/a Anger Over Economic Policies Sets Off
2022-03-28   2022-03-29 sia/india-modi-general-strike.html            General Strike in India                    By Sameer Yasir                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/world/e                                               By Andrew E Kramer and Steven
2022-03-28   2022-03-29 urope/irpin-donbas-poison.html                Ukraine Says Its Retaken Land Near Kyiv    Erlanger                           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/world/e Macrons Work to Defuse Conflict Is
2022-03-28   2022-03-29 urope/macron-france-russia-ukraine.html       Unflagging Even as an Election Looms       By Roger Cohen                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/world/e
                        urope/pope-indigenous-schools-canada-         Pope Hosts Canadians Who Request Apology By Elisabetta Povoledo and Ian
2022-03-28   2022-03-29 apology.html                                  For Indigenous Schools                     Austen                             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/world/ Summit in Israeli Desert Balances Symbolism
2022-03-28   2022-03-29 middleeast/arab-israeli-summit.html           With Keen Disputes                         By Patrick Kingsley and Lara Jakes TX 9-152-782   2022-05-02
                        https://www.nytimes.com/live/2022/03/28/wo
                        rld/ukraine-russia-war/a-video-shows-russian-
                        prisoners-of-war-in-ukraine-being-beaten-and- Video Shows The Beating Of Prisoners From
2022-03-28   2022-03-29 shot-in-their-legs                            Russia                                     By Haley Willis                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/live/2022/03/28/wo
                        rld/ukraine-russia-war/novaya-gazeta-the-hard
                        hitting-russian-newspaper-suspends-           Russias Last Major News Outlet Critical of By Anton Troianovski and Ivan
2022-03-28   2022-03-29 publication                                   the Invasion Ceases Publication            Nechepurenko                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/sports/n
2022-03-29   2022-03-29 c-state-uconn-score.html                      UConn in Final Four You Had a Doubt        By Alan Blinder                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/technol Uber Nears Partnership On Taxi Rides In Bay
2022-03-29   2022-03-29 ogy/uber-taxis-san-francisco-deal.html        Area                                       By Kellen Browning                 TX 9-152-782   2022-05-02




                                                                                 Page 3556 of 5793
                        https://www.nytimes.com/2022/03/28/theater/
2022-03-29   2022-03-29 plaza-suite-review.html                     Dowdy Trappings of a Dated Era                By Jesse Green        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/us/polit Biden Administration Will Vaccinate Some
2022-03-29   2022-03-29 ics/vaccines-migrants-border.html           Undocumented Migrants                         By Eileen Sullivan    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/world/c
                        oronavirus-deaths-in-the-us-fall-to-their-  US Virus Deaths Are at Lowest Level Since
2022-03-29   2022-03-29 lowest-point-since-the-summer.html          Summer                                        By Adeel Hassan       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/busines
2022-03-29   2022-03-29 s/oligarchs-london-putin-russia.html        Russians Found Shield In Britain Libel Laws   By David Segal        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/us/dum
2022-03-29   2022-03-29 as-arkansas-hood-nic-shooting.html          A Citys Homecoming Pierced by Violence        By Richard Fausset    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/us/polit
2022-03-29   2022-03-29 ics/biden-signs-anti-lynching-bill.html     Lynching Bill Finally Gets A Signature        By Michael D Shear    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/well/liv
2022-03-29   2022-03-29 e/bloating-causes-relief.html               Why Am I Bloated All the Time                 By Trisha Pasricha    TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/29/world/e Putins Brutal Playbook Honed On Chechnyas
2022-03-29   2022-03-29 urope/russia-chechnya-grozny-ukraine.html Ravaged Streets                            By Carlotta Gall           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/dining/
2022-03-24   2022-03-30 drinks/wine-school-corsican-reds.html      Unusual and Distinctive                   By Eric Asimov             TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/24/dining/
2022-03-24   2022-03-30 drinks/wine-school-red-wine-languedoc.html Expanding a Vocabulary for Languedoc           By Eric Asimov        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/25/dining/
2022-03-25   2022-03-30 stuffed-cabbage-recipes.html                 Stuffed Cabbage But Streamlined              By Melissa Clark      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/arts/silv
2022-03-26   2022-03-30 er-art-projects-executive-director.html      The World Trade Center as an Art Studio      By Laura Zornosa      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/26/us/slav Descendants Go Online to Trace Histories
2022-03-26   2022-03-30 ery-descendants-history.html                 Linked by Slavery                            By Amanda Holpuch     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/27/arts/mu
2022-03-27   2022-03-30 sic/wet-leg.html                             Theyve Got Each Others Backs Now             By Rob Tannenbaum     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/arts/des
                        ign/museum-natural-history-richard-gilder-
2022-03-28   2022-03-30 center.html                                  A New Science Center Takes Shape             By Robin Pogrebin     TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/28/dining/
2022-03-28   2022-03-30 caldo-de-costilla-beef-and-potato-soup.html A Colombian Soup Filled With Possibilities By J Kenji LpezAlt       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/dining/
2022-03-28   2022-03-30 community-college-culinary-school.html      The Frugal Track To a Cooks Career          By Priya Krishna        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/dining/f To Savor Fishwife and Fly by Jing Unite for
2022-03-28   2022-03-30 ishwife-fly-by-jing.html                    Salmon Fillets                              By Florence Fabricant   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/dining/ To Indulge Heritage Kulfi Brings Intense
2022-03-28   2022-03-30 heritage-kulfi-kalustyans.html              Flavors to Market                           By Florence Fabricant   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/dining/l To Shop Vin Sur Vingt Adds Store On Upper
2022-03-28   2022-03-30 e-french-wine-shop-vin-sur-vingt.html       West Side                                   By Florence Fabricant   TX 9-152-782   2022-05-02



                                                                                Page 3557 of 5793
                        https://www.nytimes.com/2022/03/28/dining/ To Replenish Maison Jar Follows Footsteps of
2022-03-28   2022-03-30 maison-jar-brooklyn.html                    the French                                  By Florence Fabricant   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/dining/ To Toss This Spring Salad Bowl Has a
2022-03-28   2022-03-30 moma-salad-bowl.html                        MoMA Pedigree                               By Florence Fabricant   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/dining/r
2022-03-28   2022-03-30 estaurant-service-gender.html               Restaurants Rethink Gender Etiquette        By Rax Will             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/dining/ To Prepare Growing From Snack Bars To
2022-03-28   2022-03-30 somos-mexican-food.html                     Vegan Mexican Food                          By Florence Fabricant   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/opinion
2022-03-28   2022-03-30 /new-york-affordable-housing.html           New York Can Fix Its High Rents             By Mara Gay             TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/28/opinion
2022-03-28   2022-03-30 /tulsi-gabbard-tucker-carloson-ukraine.html The Friend of Our Enemy Isnt a Traitor      By Peter Beinart        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/theater/
2022-03-28   2022-03-30 camelot-broadway-revival.html                A Camelot Revival by Sorkin                By Michael Paulson      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/arts/chr Christopher Alexander Architect With
2022-03-29   2022-03-30 istopher-alexander-dead.html                 Humanizing Touch Dies at 85                By Penelope Green       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/arts/des
2022-03-29   2022-03-30 ign/art-basel-ubs-report-2022.html           A Glowing Art Sales Report Has Doubters    By Scott Reyburn        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/arts/mu
2022-03-29   2022-03-30 sic/daddy-yankee-legendaddy-retire.html      Daddy Yankee Says Its Time to Sign Off     By Isabelia Herrera     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/arts/mu
2022-03-29   2022-03-30 sic/stray-kids-k-pop-billboard-chart.html    Stray Kids Head Straight to the Top        By Ben Sisario          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/arts/tele
2022-03-29   2022-03-30 vision/moon-knight-review.html               Whos His Very Worst Enemy Himself          By Mike Hale            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/books/r
2022-03-29   2022-03-30 eview-candy-house-jennifer-egan.html         When Memories Become Like Movies           By Dwight Garner        TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/29/busines Americans Especially Republicans Are
2022-03-29   2022-03-30 s/economy/americans-inflation-survey.html Worried About Inflation                      By Jeanna Smialek        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/busines
                        s/economy/european-union-military-
2022-03-29   2022-03-30 spending.html                              War Scrambles Priorities                    By Patricia Cohen        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/busines Job Openings Remain High While Many Are
2022-03-29   2022-03-30 s/economy/job-openings-quits-hiring.html   Quitting                                    By Talmon Joseph Smith   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/busines Cond Nast Workers Announce They Have
2022-03-29   2022-03-30 s/media/conde-nast-union.html              Formed a Companywide Union                  By Katie Robertson       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/busines
                        s/media/oscars-ratings-will-smith-chris-   Viewership For the Oscars Rose 555000 After
2022-03-29   2022-03-30 rock.html                                  the Slap                                    By Tiffany Hsu           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/busines
2022-03-29   2022-03-30 s/private-jet-parking-hangars.html         Private Jets Multiply in the Skies          By Debra Kamin           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/climate A Journey of Discovery From Climate
2022-03-29   2022-03-30 /farhana-yamin-climate.html                Summits To Protests in the Streets          By Mlissa Godin          TX 9-152-782   2022-05-02




                                                                                Page 3558 of 5793
                        https://www.nytimes.com/2022/03/29/dining/ LAbeille Serving French Fare With Casual
2022-03-29   2022-03-30 nyc-restaurant-openings.html                Elegance Opens in TriBeCa                   By Florence Fabricant          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/dining/
2022-03-29   2022-03-30 qatayef-ramadan-dessert.html                The Dessert That Sweetens a Holy Month      By Reem Kassis                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/dining/r
2022-03-29   2022-03-30 amadan-alaska.html                          A Ramadan Fast Broken With Caribou          By Victoria Petersen           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/dining/
2022-03-29   2022-03-30 uncle-lou-review-pete-wells.html            This Is Why We Love Chinatown               By Pete Wells                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/fashion
                        /clocks-atmos-jaeger-lecoultre-
2022-03-29   2022-03-30 switzerland.html                            The Atmos sphere of clocks                  By Ming Liu                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/fashion
                        /the-watch-library-digitalization-
2022-03-29   2022-03-30 switzerland.html                            Watch history online                        By Victoria Gomelsky           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/fashion
2022-03-29   2022-03-30 /watches-hand-wrist-models.html             Making watches look good                    By Alexandra Cheney            TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/29/fashion
2022-03-29   2022-03-30 /watches-jean-claude-biver-switzerland.html A veteran builds a startup                  By Victoria Gomelsky           TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/29/fashion
2022-03-29   2022-03-30 /watches-jewelry-salanitro-switzerland.html An exbanker turns to gems                   By Kathleen Beckett            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/fashion
                        /watches-luxury-sustainability-social-
2022-03-29   2022-03-30 responsibility.html                         What does luxury mean these days            By Victoria Gomelsky           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/fashion
2022-03-29   2022-03-30 /watches-nymans-ur-1851-stockholm.html      At a watch retailers helm                   By Penelope Colston            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/fashion
                        /watches-of-switzerland-brian-duffy-
2022-03-29   2022-03-30 london.html                                 Guiding a top watch retailer                By Rachel Garrahan             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/fashion
                        /watches-restaurants-tour-geneva-
2022-03-29   2022-03-30 switzerland.html                            What to see and where to eat                By Kathleen Beckett            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/fashion
                        /watches-rudis-sylva-jacky-epitaux-
2022-03-29   2022-03-30 switzerland.html                            A long wait ends for Rudis Sylva            By Melanie Abrams              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/health/a Drinking Moderately Does Not Confer
2022-03-29   2022-03-30 lcohol-drinking-heart.html                  Cardiac Benefits Genetic Study Finds        By Gina Kolata                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/health/l Experts Say Studies Fail To Include Black
2022-03-29   2022-03-30 ong-covid-black.html                        People                                      By Lola Fadulu                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/movies/
2022-03-29   2022-03-30 will-smith-chris-rock-oscars.html           The Sting A Slap Leaves Behind              By Wesley Morris               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/nyregio In New York Proposal To Modify Laws on       By Grace Ashford and Jonah E
2022-03-29   2022-03-30 n/bail-reform-hochul-ny.html                Bail Consumes Lawmakers                     Bromwich                       TX 9-152-782   2022-05-02




                                                                                 Page 3559 of 5793
                        https://www.nytimes.com/2022/03/29/nyregio In Testimony Siblings in Sarah Lawrence Cult
2022-03-29   2022-03-30 n/sarah-lawrence-cult-larry-ray.html       Trial Recount Threats                        By Colin Moynihan                TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/29/opinion In Defense of Thin Skin and Not Taking a
2022-03-29   2022-03-30 /culture/will-smith-oscars-roxane-gay.html Joke                                        By Roxane Gay                     TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/29/opinion
2022-03-29   2022-03-30 /how-to-defeat-putin-and-save-the-planet.html How to Defeat Russia and Save the Planet     By Thomas L Friedman            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/opinion
2022-03-29   2022-03-30 /ukraine-war-putin.html                       What if Putin Didnt Miscalculate             By Bret Stephens                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/sports/f Change Gives Both Teams A Possession in
2022-03-29   2022-03-30 ootball/nfl-overtime-rules-playoffs.html      Overtime                                     By Jenny Vrentas and Ken Belson TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/sports/j Joan Joyce Softball Ace Who Flabbergasted
2022-03-29   2022-03-30 oan-joyce-dead.html                           Ted Williams Is Dead at 81                   By William McDonald             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/sports/n The NBAs Point Guard Pipeline Goes All the
2022-03-29   2022-03-30 ba-australia-guards.html                      Way to Australia                             By Scott Cacciola               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/sports/n
                        caabasketball/final-four-womens-ncaa-
2022-03-29   2022-03-30 basketball-tournament.html                    Three No 1 Seeds Plus Connecticut            By Natalie Weiner               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/sports/s Shock and Relief As World Cup Field Comes
2022-03-29   2022-03-30 occer/world-cup-qatar-cameroon.html           Into View                                    By Rory Smith                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/sports/t For Two Former Champions Comebacks Start
2022-03-29   2022-03-30 ennis/thiem-wawrinka-atp-challenger.html      at Bottom                                    By Christopher Clarey           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/technol ProRussia Twitter Posts Draw Scrutiny to
2022-03-29   2022-03-30 ogy/twitter-russia-india.html                 India                                        By Kate Conger and Suhasini Raj TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/theater/ The Piano Lesson With Samuel L Jackson Is
2022-03-29   2022-03-30 piano-lesson-broadway.html                    Set for Broadway                             By Michael Paulson              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/us/hills Hillsong Megachurch Loses 9 US Branches
2022-03-29   2022-03-30 ong-church-scandals.html                      After a Series of Crises                     By Ruth Graham                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/us/lead- Two Industries Stymie Justice For Lead Paints
2022-03-29   2022-03-30 poisoning-insurance-landlords.html            Young Victims                                By Ellen Gabler                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/us/polit
                        ics/desantis-redistricting-midterm-           GOP Pushes for Greater Edge on Florida and By Nick Corasaniti Michael Wines
2022-03-29   2022-03-30 elections.html                                Ohio Congressional Maps                      and Patricia Mazzei             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/us/polit House Dean Is Remembered for Dedication to
2022-03-29   2022-03-30 ics/don-young-alaska.html                     Putting Alaska First                         By Emily Cochrane               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/us/polit
2022-03-29   2022-03-30 ics/second-coronavirus-booster-shot.html      Those Over 50 Eligible to Get Second Booster By Sharon LaFraniere            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/us/polit
                        ics/supreme-court-congress-states-
2022-03-29   2022-03-30 military.html                                 In Burn Pits Case Justices Debate War Powers By Adam Liptak                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/us/polit US Braces for Record Surge in Migrants if
2022-03-29   2022-03-30 ics/title-42-us-border-crossings.html         Pandemic Health Order Ends                   By Eileen Sullivan              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/us/polit A Ruling Does Not Make Trump Easier to
2022-03-29   2022-03-30 ics/trump-jan-6-eastman.html                  Prosecute                                    By Charlie Savage               TX 9-152-782   2022-05-02



                                                                                Page 3560 of 5793
                        https://www.nytimes.com/2022/03/29/us/polit Evidence Grows That Dec 19 Trump Tweet By Alan Feuer Michael S Schmidt
2022-03-29   2022-03-30 ics/trump-tweet-jan-6.html                  Paved Way for Jan 6                         and Luke Broadwater             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/world/a Desperate for Cash Afghans Toil in           By Christina Goldbaum Yaqoob
2022-03-29   2022-03-30 sia/afghanistan-mining-safety.html          Treacherous Mines                           Akbary and Jim Huylebroek       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/world/a Shanghais Lockdown Tests Limits of Policy
2022-03-29   2022-03-30 sia/china-shanghai-covid-lockdown.html      and People                                  By John Liu and Paul Mozur      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/world/e Haunting Tales of Relentless Airstrikes and
2022-03-29   2022-03-30 urope/chernihiv-kyiv-ukraine-russia.html    Artillery Fire                              By Carlotta Gall                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/world/e Germany Shifts Foreign Policy And the Power By Katrin Bennhold and Steven
2022-03-29   2022-03-30 urope/germany-women-ukraine-war.html        Shifts to Women                             Erlanger                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/world/e
                        urope/mariupol-ukraine-russia-war-food-     Once the Children Got Hungry the Fire Was By Valerie Hopkins Ben Hubbard
2022-03-29   2022-03-30 water.html                                  Gone From Their Eyes                        and Gina Kolata                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/world/e Talks Show Progress but Russia Fights for
2022-03-29   2022-03-30 urope/peace-talks-russia-ukraine.html       More Territory                              By Anton Troianovski            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/world/e Russia May Be Using Peace Talks to Buy
2022-03-29   2022-03-30 urope/russia-ukraine-peace-talks.html       Time Analysts Say                           By Steven Erlanger              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/world/e
                        urope/ukraine-russia-abramovich-            Presence of Penalized Russian Oligarch Adds
2022-03-29   2022-03-30 oligarchs.html                              Intrigue to Talks on CeaseFire              By Valerie Hopkins              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/world/ Palestinian Guns Down 5 in Latest Attack in By Patrick Kingsley and Gabby
2022-03-29   2022-03-30 middleeast/israel-shooting-deaths.html      Israel                                      Sobelman                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/world/u At the Edge of Kyiv Signs of a Russian       By Andrew E Kramer and Daniel
2022-03-29   2022-03-30 kraine-russia-kyiv-irpin.html               Retreat                                     Berehulak                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/29/us/polit                                             By Luke Broadwater and Maggie
2022-03-30   2022-03-30 ics/trump-jan-6-call-logs.html              Logs Show Trumps Jan 6 Calls to Lawmakers Haberman                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/fashion
2022-03-30   2022-03-30 /watches-and-wonders-geneva.html            The watch circus is back in town            By Robin Swithinbank            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/fashion
                        /watches-collectors-materials-
2022-03-30   2022-03-30 switzerland.html                            Do collectors want hightech materials       By Roberta Naas                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/fashion
                        /watches-materials-ceramic-sapphire-
2022-03-30   2022-03-30 switzerland.html                            A statement in time                         By Roberta Naas                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/insider/
                        how-a-restaurant-and-our-photographer-
2022-03-30   2022-03-30 overcame-omicron.html                       Embedding in a Restaurant for Months        By Gary He                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/us/polit
                        ics/house-democrats-midterms-               Democrats PAC Books Ads Across Map for
2022-03-30   2022-03-30 advertising.html                            Midterms                                    By Jonathan Weisman             TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/us/polit As Gas Prices Rise Biden May Tap Oil
2022-03-31   2022-03-30 ics/oil-release-biden.html                  Reserve for a Million Barrels a Day         By Michael D Shear              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/23/us/elect Here to Help Tips for Shopping for Electric
2022-03-23   2022-03-31 ric-car-buying-guide.html                   Vehicles                                    By William P Davis              TX 9-152-782   2022-05-02




                                                                              Page 3561 of 5793
                                                                                                                   By Keith Collins Danielle Ivory Jon
                                                                                                                   Huang Yuliya ParshinaKottas
                                                                                                                   Cierra S Queen Lauryn Higgins
                        https://www.nytimes.com/interactive/2022/03/ Russias Attacks on Civilian Targets Have      Jess Ruderman Kristine White and
2022-03-23   2022-03-31 23/world/europe/ukraine-civilian-attacks.html Obliterated Everyday Life in Ukraine         Bonnie G Wong                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/24/style/ki
2022-03-24   2022-03-31 bbe-body-types.html                           Body Typing Reemerges Into a New World       By Mariah Kreutter                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/28/arts/tele
2022-03-28   2022-03-31 vision/bridgerton-india.html                  Bridgerton Plot Line Is Not Purely Fiction   By Desiree Ibekwe                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/28/style/co                                                By Gina Cherelus and Gabriela
2022-03-28   2022-03-31 vid-teens-face-masks.html                     Mask Fishing in the Age of Covid             Bhaskar                           TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/28/style/da Now You See Him or Perhaps You Didnt at
2022-03-28   2022-03-31 ncing-will-smith-vanity-fair-oscars-party.html All                                        By Guy Trebay                      TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/28/style/in
2022-03-28   2022-03-31 side-the-2022-oscar-governors-ball.html        Inside the 2022 Oscar Governors Ball       By Nicole Sperling                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/28/style/os
2022-03-28   2022-03-31 cars-fashion-red-carpet.html                   Making Up the Rules as They Go Along       By Vanessa Friedman                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/29/movies/ Marina Goldovskaya 80 Dies Filmmaker
2022-03-29   2022-03-31 marina-goldovskaya-dead.html                   Documented Russian Life                    By Nancy Ramsey                    TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/29/nyregio Entrepreneurship Is Alive in New York Public
2022-03-29   2022-03-31 n/nyc-public-housing-business.html             Housing                                    By Nicole Hong                     TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/29/opinion
                        /democrats-republicans-american-               Why Do Our Politicians Keep Pursuing a
2022-03-29   2022-03-31 politics.html                                  Losing Strategy                            By Yuval Levin                     TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/29/opinion
2022-03-29   2022-03-31 /ginni-thomas-bill-barr.html                   Ginni Thomas Is No Outlier                 By Jamelle Bouie                   TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/29/style/iri
2022-03-29   2022-03-31 na-lazareanu-refugee-model.html                A Models Refugee Story                     By Susan Kirschbaum                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/29/style/ral
2022-03-29   2022-03-31 ph-lauren-hbcu-morehouse-spelman.html          A Tribute to Dressing for Class With Class By Tariro Mzezewa                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/arts/ash Ashton Hawkins 84 Manager of the Rich and
2022-03-30   2022-03-31 ton-hawkins-dead.html                          Powerful at the Met Dies                   By Clay Risen                      TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/arts/cha
2022-03-30   2022-03-31 rlotte-bronte-book-discovery.html              A Bront Fit for a Dolls House              By Jennifer Schuessler             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/arts/dan Stepping From the Spirit World Into Loves
2022-03-30   2022-03-31 ce/review-michela-marino-lerman.html           Light                                      By Brian Seibert                   TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/30/arts/mu For Rogt Chahayed Pop Isnt Far From
2022-03-30   2022-03-31 sic/roget-chahayed-producer-grammys.html Mozart                                            By Jon Pareles                    TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/arts/mu Ukraine Composer Is Now a Spokesman in
2022-03-30   2022-03-31 sic/valentin-silvestrov-ukraine-war.html     Music                                         By Peter Schmelz                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/arts/tele
2022-03-30   2022-03-31 vision/julia-review-hbo-max.html             Mastering the Art of Playing Julia Child      By Mike Hale                      TX 9-152-782     2022-05-02




                                                                                  Page 3562 of 5793
                        https://www.nytimes.com/2022/03/30/books/r
                        eview-rebellion-joseph-roth-pages-hugo-
2022-03-30   2022-03-31 hamilton.html                               A Classic Novel Narrates a Novel of Its Own By John Williams                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/books/r Richard Lipez Author 83 Made a Gay Sleuth
2022-03-30   2022-03-31 ichard-stevenson-lipez-dead.html            Relatable                                   By Katharine Q Seelye            TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/busines Putin May Allow Payment In Euros for
2022-03-30   2022-03-31 s/germany-gas-rationing.html                Natural Gas                                 By Melissa Eddy                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/busines Energy Prices Drive Up Inflation Across      By Melissa Eddy and Raphael
2022-03-30   2022-03-31 s/inflation-germany-spain.html              Europe                                      Minder                           TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/busines Calls Grow to Close Loophole Veiling
2022-03-30   2022-03-31 s/oligarchs-hedge-funds-russia.html         Oligarchs Investments                       By Matthew Goldstein             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/busines Oil Giants Unlikely to Cross Russia With Big
2022-03-30   2022-03-31 s/opec-russia-ukraine.html                  Boost in Output                             By Stanley Reed                  TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/busines Everyone Is Not OK But Back at Work
2022-03-30   2022-03-31 s/return-to-office-mental-health.html       Anyway                                      By Emma Goldberg                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/busines Spam Scheme Not Likely From Russia
2022-03-30   2022-03-31 s/spam-texts-verizon.html                   Verizon Says                                By Neil Vigdor                   TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/health/a New ALS Treatment Lacks Proof of Benefit
2022-03-30   2022-03-31 ls-treatment-amx0035.html                   FDA Panel Decides                           By Pam Belluck                   TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/30/health/ Biden Urges Congress to Pass Virus Funding By Sheryl Gay Stolberg Emily
2022-03-30   2022-03-31 biden-congress-emergency-covid-funds.html Immediately                                  Cochrane and Noah Weiland           TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/health/c Covid Study of Ivermectin Finds No Sign of
2022-03-30   2022-03-31 ovid-ivermectin-hospitalization.html        Benefit                                    By Carl Zimmer                      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/health/c Children Lost Vaccine Shield During
2022-03-30   2022-03-31 ovid-vaccines-children.html                 Omicron                                    By Apoorva Mandavilli               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/movies/ Health Issue Forces Bruce Willis to Step
2022-03-30   2022-03-31 bruce-willis-aphasia.html                   Away From Acting                           By Maya Salam                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/movies/
2022-03-30   2022-03-31 deaf-viewers-coda.html                      Deaf Viewers Are Torn Over CODA            By Amanda Morris                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/movies/ Academy Says Smith Refused to Leave After
2022-03-30   2022-03-31 will-smith-chris-rock-slap-oscars.html      Slap                                       By Nicole Sperling and Julia Jacobs TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/nyregio Lobbying Frenzy Over New York City          By Dana Rubinstein and Luis
2022-03-30   2022-03-31 n/casinos-manhattan-licenses.html           Casinos                                    FerrSadurn                          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/nyregio New York Weighs Gas Tax Holiday a Popular
2022-03-30   2022-03-31 n/gas-tax-rebate-new-york.html              Bad Idea                                   By Grace Ashford                    TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/nyregio New York Clears Homeless Camps Few Go to By Andy Newman and Michael
2022-03-30   2022-03-31 n/nyc-homeless-eric-adams.html              Shelters                                   Gold                                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/nyregio International Tourists Are Flocking Back
2022-03-30   2022-03-31 n/nyc-tourism-china.html                    With One Big Exception                     By Patrick McGeehan                 TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/opinion We Cant Get Even Regular Gun Control How
2022-03-30   2022-03-31 /ghost-guns-control.html                    Will We Deal With Ghost Guns               By Gail Collins                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/opinion
2022-03-30   2022-03-31 /jackson-supreme-court-pornography.html     The Exploitation of Judge Jackson          By Emily Bazelon                    TX 9-152-782   2022-05-02




                                                                                Page 3563 of 5793
                        https://www.nytimes.com/2022/03/30/science On Space Station Astronauts Avoided
2022-03-30   2022-03-31 /nasa-us-russia-mark-vande-hei.html        Discussing the War                           By Kenneth Chang                TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/30/science
2022-03-30   2022-03-31 /navigation-directions-brain-dementia.html   Grow Up in a City Youre Probably Lost       By Benjamin Mueller            TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/sports/b He Was a CantMiss Kid And It Was Written
2022-03-30   2022-03-31 aseball/wander-franco-rays.html              in Ink                                      By Tyler Kepner                TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/sports/b A Role Player Finds Himself Back Home
2022-03-30   2022-03-31 asketball/wesley-matthews-bucks.html         Where He Belongs                            By Scott Cacciola              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/sports/t Somebody Needs to Get a Grip Racket
2022-03-30   2022-03-31 ennis/racket-smash.html                      Smashing Is Out of Control                  By Matthew Futterman           TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/style/liz
2022-03-30   2022-03-31 zo-yitty-shapewear.html                      Lizzo Envisions a Revolution for Every Body By Vanessa Friedman            TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/30/technol
2022-03-30   2022-03-31 ogy/personaltech/scams-phishing-spring.html Tax Season Is Also Scam Season               By J D Biersdorfer             TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/technol Programmer Who Paved the Way for
2022-03-30   2022-03-31 ogy/turing-award-jack-dongarra.html         Supercomputers Wins the Turing Award         By Cade Metz                   TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/theater/ Luna to Make Broadway Debut in the Musical
2022-03-30   2022-03-31 kpop-luna-broadway.html                     KPOP                                         By Laura Zornosa               TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/theater/
2022-03-30   2022-03-31 oratorio-for-living-things-review.html      The Meaning And Music Flow Over Us           By Jesse Green                 TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/us/covi Caution Urged As States Slow The Virus        By Julie Bosman and Sophie
2022-03-30   2022-03-31 d-vaccine-testing-states.html               Fight                                        Kasakove                       TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/us/polit
                        ics/hillary-clinton-democrats-campaign-     Democrats Will Pay Fine to Settle Inquiry by
2022-03-30   2022-03-31 spending.html                               FEC                                          By Charlie Savage              TX 9-152-782     2022-05-02
                        https://www.nytimes.com/2022/03/30/us/polit US to Withdraw A Pandemic Rule From the
2022-03-30   2022-03-31 ics/immigration-cdc-biden.html              Border                                       By Eileen Sullivan             TX 9-152-782     2022-05-02

                        https://www.nytimes.com/2022/03/30/us/polit Collins to Back Jackson For the Supreme
2022-03-30   2022-03-31 ics/ketanji-brown-jackson-susan-collins.html Court Providing a GOP Vote                 By Carl Hulse                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/us/polit Orgies and Drugs The GOP Is Finally
2022-03-30   2022-03-31 ics/madison-cawthorn-congress.html           Drawing a Line at a Lawmakers Tales        By Trip Gabriel                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/us/polit US Nonprofits New Mission Helping People
2022-03-30   2022-03-31 ics/ukraine-spirit-of-america-aid.html       Stay Alive                                 By Julian E Barnes                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/world/a
                        frica/jerusalem-western-sahara-us-           US Diplomat Pressured on Promises to Add
2022-03-30   2022-03-31 consulates.html                              Consulates                                 By Lara Jakes and Aida Alami      TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/world/a Attack on Train Deepens Security Fears in
2022-03-30   2022-03-31 frica/nigeria-train-attack.html              Nigeria                                    By Elian Peltier and Ben Ezeamalu TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/world/a
2022-03-30   2022-03-31 sia/hong-kong-british-judges.html            2 Judges Quit Highest Court In Hong Kong By Austin Ramzy                     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/world/a Defection Gives Opposition the Votes to Oust By Salman Masood and Christina
2022-03-30   2022-03-31 sia/imran-khan-pakistan-vote.html            Pakistans Leader                           Goldbaum                          TX 9-152-782   2022-05-02



                                                                                Page 3564 of 5793
                        https://www.nytimes.com/2022/03/30/world/a
2022-03-30   2022-03-31 sia/india-ukraine-russia-china.html        Whats Indias Stance To Take No Stance       By Mujib Mashal                    TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/30/world/c Canadas ExMilitary Chief Pleads Guilty in
2022-03-30   2022-03-31 anada/jonathan-vance-guilty-obstruction.html Sex Scandal                               By Ian Austen                      TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/30/world/e
2022-03-30   2022-03-31 urope/russian-ruble-recovery-economy.html The Ruble Rebounds Following Peace Talks By Ivan Nechepurenko                   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/world/e Waiting in the Dark for the Next Shell to By Thomas GibbonsNeff Natalia
2022-03-30   2022-03-31 urope/ukraine-front-lines-russia-war.html  Drop                                      Yermak and Tyler Hicks               TX 9-152-782   2022-05-02

                        https://www.nytimes.com/2022/03/30/world/e
2022-03-30   2022-03-31 urope/ukraine-refugees-germany-berlin.html Refugees In Germany Are Warned Of Thieves By Christopher F Schuetze            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/world/e Russia Steps Up Attacks Despite Talk US         By Anton Troianovski Megan
2022-03-30   2022-03-31 urope/ukraine-russia-war.html                 Suggests Tensions Inside Kremlin             Specia and Julian E Barnes     TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/world/e In Serbia Putin Is a Brother and Russia the
2022-03-30   2022-03-31 urope/ukraine-serbia-russia.html              Wests Fellow Victim                          By Andrew Higgins              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/world/e Ukraine War Gives Fracking a Second
2022-03-30   2022-03-31 urope/ukraine-uk-fracking-energy.html         Chance in the UK                             By Stephen Castle              TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/world/ In Life Examples of Israels Complexity In        By Patrick Kingsley Gabby
2022-03-30   2022-03-31 middleeast/israel-terrorism-attack.html       Death All Victims                            Sobelman and Raja Abdulrahim   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/world/
                        middleeast/yemen-houthis-saudi-coalition-     Warring Parties Call CeaseFires in Yemen but By Shuaib Almosawa and Ben
2022-03-30   2022-03-31 cease-fire.html                               Path to Peace Is Still Uncertain             Hubbard                        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/sports/f
2022-03-31   2022-03-31 ootball/bruce-arians-buccaneers-nfl.html      Bucs Coach Steps Aside Replaced By Bowles By Jenny Vrentas and Ken Belson   TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/sports/n
                        caabasketball/shaheen-holloway-seton-hall-st-
2022-03-31   2022-03-31 peters.html                                   Holloway Takes the Job At Seton Hall         By Billy Witz                  TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/sports/u
2022-03-31   2022-03-31 smnt-costa-rica-world-cup-qualifying.html     US Men Near the End of a Long Road Back By Andrew Keh                       TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/us/polit Fabulist Facing Lawsuits Is Told to Testify or
2022-03-31   2022-03-31 ics/alex-jones-sandy-hook-lawsuit.html        Pay Up                                       By Elizabeth Williamson        TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/30/us/polit Justice Dept Broadens Inquiry To Array of By Alan Feuer Katie Benner and
2022-03-31   2022-03-31 ics/justice-dept-widens-jan-6-inquiry.html    ProTrump Figures                             Maggie Haberman                TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/31/insider/
2022-03-31   2022-03-31 tiptoeing-at-a-toad-ceremony.html             TipToeing at a Toad Ceremony                 By Terence McGinley            TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/31/sports/g Purses and Sponsorships Grow but Womens
2022-03-31   2022-03-31 olf/lgpa-chevron-pga.html                     Tour Still Lags Behind Mens                  By Paul Sullivan               TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/31/style/wi
                        kipedia-instagram-depths-annie-               Seeking the Weirdest of Wikipedia Look No
2022-03-31   2022-03-31 rauwerda.html                                 Further                                      By Anna P Kambhampaty          TX 9-152-782   2022-05-02
                        https://www.nytimes.com/2022/03/28/arts/mu
2022-03-28   2022-04-01 sic/molly-tuttle-crooked-tree.html            She Mastered Bluegrass Then She Changed It By Tony Scherman                 TX 9-169-611   2022-06-01




                                                                               Page 3565 of 5793
                        https://www.nytimes.com/2022/03/29/movies/
                        royalty-free-the-music-of-kevin-macleod-
2022-03-29   2022-04-01 review.html                                 Royalty Free The Music Of Kevin MacLeod By Glenn Kenny                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/01/movies/
2022-03-29   2022-04-01 how-to-survive-a-pandemic-review.html       How to Survive A Pandemic                 By Devika Girish              TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/30/arts/des
                        ign/richard-tuttle-bard-graduate-center-
2022-03-30   2022-04-01 sculpture.html                              Juxtaposing Objects To Bring Out Beauty   By Will Heinrich              TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/30/arts/des
                        ign/ruth-bader-ginsburg-dissent-collar-     Justice Ginsburg Artifacts Will Go to the
2022-03-30   2022-04-01 smithsonian.html                            Smithsonian                               By Laura Zornosa              TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/03/30/movies/ A Troubled Young Man and an Ease With
2022-03-30   2022-04-01 nitram-review-slouching-toward-infamy.html Guns                                        By Jeannette Catsoulis        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/movies/
                        trust-no-one-the-hunt-for-the-crypto-king-
2022-03-30   2022-04-01 review.html                                  Trust No One The Hunt For the Crypto King By Natalia Winkelman          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/opinion Doctors Face a Stigma Against Seeking
2022-03-30   2022-04-01 /doctors-mental-health-stigma.html           Mental Health Care                        By Seema Jilani               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/technol
2022-03-30   2022-04-01 ogy/higher-priced-gadgets-pandemic.html      Want a Bargain Device Good Luck           By Shira Ovide                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/us/phila
2022-03-30   2022-04-01 ndo-castile-charity-repayment.html           120000 Raised for Charity to Be Repaid    By Amanda Holpuch             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/world/a Soft Hands Toughened by Fighting in
2022-03-30   2022-04-01 sia/myanmar-jungle-insurgency.html           Myanmar                                   By Hannah Beech and Adam Dean TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/arts/dan
                        ce/review-dancing-the-night-away-with-
2022-03-31   2022-04-01 brazils-cia-suave.html                       A Favelas Frenetic Pounding Pulse         By Gia Kourlas                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/arts/des
2022-03-31   2022-04-01 ign/frederic-bruly-bouabre-moma.html         The African Who Mapped New Worlds         By Jason Farago               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/arts/des
2022-03-31   2022-04-01 ign/whitney-biennial-review.html             A Show of Shadows and Light               By Holland Cotter             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/arts/mu
2022-03-31   2022-04-01 sic/alexander-neef-paris-opera.html          Finetuning the Paris Opera repertory      By Alan Riding                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/arts/mu
2022-03-31   2022-04-01 sic/beckett-endgame-paris-opera.html         A Beckett play comes home as an opera     By David Belcher              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/arts/mu Grammys Aim for Fresh Look Amid
2022-03-31   2022-04-01 sic/grammy-awards.html                       Challenges                                By Ben Sisario                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/arts/mu
2022-03-31   2022-04-01 sic/paris-opera-new-season.html              New season new sets                       By Alan Riding                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/arts/tele
2022-03-31   2022-04-01 vision/jerrod-carmichael-the-outlaws.html    This weekend I have                       By Margaret Lyons             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/arts/tele
2022-03-31   2022-04-01 vision/slow-horses-review.html               The Spies Who Came In for a Cold Shoulder By Mike Hale                  TX 9-169-611   2022-06-01




                                                                              Page 3566 of 5793
                        https://www.nytimes.com/2022/03/31/arts/tele
2022-03-31   2022-04-01 vision/stephen-merchant-the-outlaws.html     Tall Awkward And Successful                 By Julia Carmel                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/books/1
2022-03-31   2022-04-01 2-new-books-coming-in-april.html             An April Shower of All Kinds of Volumes     By Joumana Khatib                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/books/n Nancy Milford 84 Biographer Whose Zelda
2022-03-31   2022-04-01 ancy-milford-dead.html                       Was a Best Seller Dies                      By Richard Sandomir               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/books/r Richard Howard AwardWinning Poet and
2022-03-31   2022-04-01 ichard-howard-dead.html                      Translator Dies at 92                       By William Grimes                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/busines
                        s/economy/biden-minerals-defense-production
2022-03-31   2022-04-01 act.html                                     Biden Invokes Cold War Act On Minerals      By Ana Swanson                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/busines
                        s/economy/diesel-economy-russia-             Soaring Diesel Costs Ripple Through Global
2022-03-31   2022-04-01 ukraine.html                                 Economies                                   By Jack Ewing and Clifford Krauss TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/busines Rising Wages Could Complicate Americas        By Jeanna Smialek and Ben
2022-03-31   2022-04-01 s/economy/inflation-rising-wages.html        Inflation CoolDown                          Casselman                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/busines
2022-03-31   2022-04-01 s/economy/pce-inflation-february.html        The Feds Favorite Inflation Gauge Climbs 64 By Jeanna Smialek                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/busines
                        s/energy-environment/biden-oil-strategic-    President to Tap Oil Reserve in Bid to Cut By Clifford Krauss and Michael D
2022-03-31   2022-04-01 petroleum-reserve.html                       Gas Prices                                  Shear                             TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/03/31/busines
2022-03-31   2022-04-01 s/ineos-grenadier-land-rover-defender.html  Exit Land Rover Enter Grenadier             By Mercedes Lilienthal           TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/busines Despite a Run of Bad News Stocks Gained in
2022-03-31   2022-04-01 s/march-stocks-rebound.html                 March                                       By Coral Murphy Marcos           TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/busines Adults or Sexually Abused Minors When in
2022-03-31   2022-04-01 s/meta-child-sexual-abuse.html              Doubt Meta Sees No Evil                     By Michael H Keller              TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/busines Oil Nations Stick to Plan For Modest Supply
2022-03-31   2022-04-01 s/opec-plus-oil-production.html             Boost                                       By Stanley Reed                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/busines                                              By Melissa Eddy and Patricia
2022-03-31   2022-04-01 s/putin-rubles-natural-gas.html             EU Leaders Reject Paying With Rubles        Cohen                            TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/climate Adriana Hoffmann 82 Who Fought To Protect
2022-03-31   2022-04-01 /adriana-hoffmann-dead.html                 the Vast Forests in Chile                   By Manuela Andreoni              TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/health/c Teenagers Report Abuse At Home in
2022-03-31   2022-04-01 ovid-mental-health-teens.html               Lockdown                                    By Ellen Barry                   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/health/i Bill to Decrease Insulin Cost To 35 a Month
2022-03-31   2022-04-01 nsulin-price-house-bill-democrats.html      Passes House                                By Margot SangerKatz             TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/movies/
                        apollo-10-1-2-a-space-age-childhood-
2022-03-31   2022-04-01 review.html                                 Having Fun With A Moon Landing              By AO Scott                      TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/movies/
2022-03-31   2022-04-01 babi-yar-context-review.html                Unearthing Footage of a Nazi Massacre       By AO Scott                      TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/movies/
2022-03-31   2022-04-01 barbarians-review.html                      Barbarians                                  By Lena Wilson                   TX 9-169-611     2022-06-01



                                                                                Page 3567 of 5793
                        https://www.nytimes.com/2022/03/31/movies/
2022-03-31   2022-04-01 better-nate-than-ever-review.html           Better Nate Than Ever                     By Amy Nicholson                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/movies/
2022-03-31   2022-04-01 bull-review.html                            Bull                                      By Nicolas Rapold                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/movies/
2022-03-31   2022-04-01 gagarine-review.html                        Gagarine                                  By Beatrice Loayza               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/movies/
2022-03-31   2022-04-01 moonshot-review.html                        Moonshot                                  By Calum Marsh                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/movies/
2022-03-31   2022-04-01 morbius-review.html                         Yet Another SoupedUp Bat Man              By Manohla Dargis                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/movies/
2022-03-31   2022-04-01 paul-herman-dead.html                       Paul Herman 76 a Perpetual Wiseguy        By Mike Ives and Alex Traub      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/movies/
2022-03-31   2022-04-01 the-contractor-review.html                  A Crisis of Faith Turns Into Mayhem       By Manohla Dargis                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/movies/
2022-03-31   2022-04-01 the-devil-you-know-review.html              The Devil You Know                        By Robert Daniels                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/movies/
                        the-rose-maker-review-purloined-blossoms-
2022-03-31   2022-04-01 for-a-blue-lady.html                        The Rose Maker                            By Teo Bugbee                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/movies/
2022-03-31   2022-04-01 you-wont-be-alone-review.html               You Wont Be Alone                         By Jeannette Catsoulis           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/nyregio
                        n/judge-new-york-redistricting-
2022-03-31   2022-04-01 gerrymandering.html                         Judge Rejects Election Maps For New York By Nicholas Fandos                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/nyregio New Jerseyans Dont Need To Learn to Pump
2022-03-31   2022-04-01 n/new-jersey-gas-pumping.html               Gas Yet                                   By Tracey Tully                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/nyregio New York Lawmakers Blow Budget Deadline By Luis FerrSadurn and Jesse
2022-03-31   2022-04-01 n/new-york-state-budget-bail.html           as They Wrestle on Bail Reform            McKinley                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/nyregio Developers Fight to Keep a Tax Break Amid
2022-03-31   2022-04-01 n/nyc-tax-credit-housing-crisis.html        New Yorks Housing Crisis                  By Matthew Haag and Mihir Zaveri TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/opinion
2022-03-31   2022-04-01 /apple-coda-oscar.html                      How Scary Is Apples Power                 By Farhad Manjoo                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/opinion
2022-03-31   2022-04-01 /putin-global-economy.html                  Putin May Kill the Global Economy         By Paul Krugman                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/opinion The Russia I Knew Did Not Have to Become
2022-03-31   2022-04-01 /putin-history-russians.html                a Pariah                                  By Serge Schmemann               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/sports/b
2022-03-31   2022-04-01 asketball/nba-china.html                    NBA Games Back on the Air in China        By Sopan Deb                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/sports/n Four Blue Bloods Converge to Decide Whose
2022-03-31   2022-04-01 caabasketball/final-four-blue.html          Shade Reigns Supreme                      By Victor Mather                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/sports/n
                        caabasketball/final-fours-march-madness-    Shared Site for Final Fours Is Not Likely
2022-03-31   2022-04-01 womens.html                                 Anytime Soon                              By Alan Blinder                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/sports/n The Brotherhood School Ties Often Bind
2022-03-31   2022-04-01 caabasketball/ncaa-coaches-alumni.html      Coaches and Programs                      By Billy Witz and Adam Zagoria TX 9-169-611     2022-06-01



                                                                              Page 3568 of 5793
                        https://www.nytimes.com/2022/03/31/technol Union Trails In Tight Vote At Alabama
2022-03-31   2022-04-01 ogy/amazon-union-election-alabama.html      Amazon Site                                   By Noam Scheiber                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/theater/
2022-03-31   2022-04-01 i-agree-to-the-terms-review.html            This Menial Tech Job Can Be Yours             By Jesse Green                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/travel/g Even With High Gas Prices the Open Road
2022-03-31   2022-04-01 as-prices-road-trip.html                    Beckons                                       By Marissa Hermanson              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/us/cens US Is Opening Vault of Census Treasures
2022-03-31   2022-04-01 us-data-1950.html                           From 1950                                     By Michael Wines                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/us/new- New Mexico Offers TuitionFree College to
2022-03-31   2022-04-01 mexico-free-college.html                    Residents                                     By Simon Romero                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/us/polit New Law in Arizona Requires Proof of
2022-03-31   2022-04-01 ics/arizona-voting-bill-citizenship.html    Citizenship to Vote for President             By Nick Corasaniti                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/us/polit Judge Rules Parts of Florida Vote Law         By Reid J Epstein Patricia Mazzei
2022-03-31   2022-04-01 ics/florida-voting-law.html                 Unconstitutional                              and Nick Corasaniti               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/us/polit
                        ics/ginni-thomas-john-roberts-supreme-      Furor Over Thomass Texts And a Chief
2022-03-31   2022-04-01 court.html                                  Justices Limits                               By Adam Liptak                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/us/polit
                        ics/lisa-murkowski-ketanji-brown-           Jackson Vote Presents a Political Dilemma for
2022-03-31   2022-04-01 jackson.html                                Murkowski                                     By Annie Karni                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/us/polit State Dept Will Let X Mark Gender On
2022-03-31   2022-04-01 ics/passports-gender-nonbinary.html         Passports                                     By Aishvarya Kavi                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/us/polit A Florida Senator Is Proposing Income Taxes
2022-03-31   2022-04-01 ics/rick-scott.html                         for All and Thats a Problem                   By Jonathan Weisman               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/us/polit Russias Battle Mistakes May Boil Down to
2022-03-31   2022-04-01 ics/russia-military-ukraine.html            Lack Of Central Commander                     By Helene Cooper and Eric Schmitt TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/us/polit
                        ics/trump-photographer-shealah-             She Took the White House Pictures Trump       By Eric Lipton and Maggie
2022-03-31   2022-04-01 craighead.html                              Wanted the Profits                            Haberman                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/us/polit US to Increase Number of Visas For Temp
2022-03-31   2022-04-01 ics/us-seasonal-worker-visas.html           Labor                                         By Aishvarya Kavi                 TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/03/31/world/a Kenya Court Rules Leader Cannot Push
2022-03-31   2022-04-01 frica/kenya-supreme-court-constitution.html Amendments                                By Abdi Latif Dahir                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/world/a Some in Hong Kong Give Covid Help From
2022-03-31   2022-04-01 sia/hong-kong-china-covid.html              Mainland China a Cold Shoulder            By Joy Dong and Austin Ramzy        TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/world/a Junta Holding 10000 Political Prisoners A
2022-03-31   2022-04-01 sia/myanmar-coup-prisoners.html             Myanmar Record a Rights Group Says        By Richard C Paddock                TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/world/a North Korean ICBM Launch May Have Been
2022-03-31   2022-04-01 sia/north-korea-icbm-fake.html              Fake South Korean Report Says             By Choe SangHun                     TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/world/e In Hungary Orban Runs the Election and the By Matt Apuzzo and Benjamin
2022-03-31   2022-04-01 urope/hungary-viktor-orban-election.html    Media His Way                             Novak                               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/world/e
                        urope/ireland-magdalene-laundry-women-      Last Magdalene Laundry In Ireland to Be
2022-03-31   2022-04-01 abuse.html                                  Memorial                                  By Ed OLoughlin                     TX 9-169-611     2022-06-01



                                                                                Page 3569 of 5793
                        https://www.nytimes.com/2022/03/31/world/e
                        urope/macron-france-consultants-mckinsey- Macrons McKinsey Problem President Seen By Norimitsu Onishi and Constant
2022-03-31   2022-04-01 campaign.html                              as Aloof Is Said to Rely on Consulting Firms Mheut                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/world/e NATO Braces for Even More Suffering as       By Megan Specia Anton
2022-03-31   2022-04-01 urope/ukraine-russia-war.html              Russia Sends Mixed Signals                   Troianovski and Steven Erlanger TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/world/e For Ukrainians Every Stranger Is Potential
2022-03-31   2022-04-01 urope/ukraine-spies-saboteurs.html         Spy                                          By Valerie Hopkins              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/world/e
2022-03-31   2022-04-01 urope/ukraine-war-schools.html             Hard Questions From Students Across Europe By Emma Bubola                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/world/e Military Firm Tied to Putin Is Expanding In
2022-03-31   2022-04-01 urope/wagner-group-russia-ukraine.html     Ukraine                                      By Victoria Kim                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/world/
                        middleeast/syrian-mercenaries-ukraine-     Mercenaries From Syria Set Out for Ukraine By Ben Hubbard Hwaida Saad and
2022-03-31   2022-04-01 russia.html                                War                                          Asmaa alOmar                    TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/03/31/movies/
2022-04-01   2022-04-01 the-bubble-review-swabs-camera-action.html The Bubble                                  By Ben Kenigsberg               TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/01/busines
                        s/economy/nebraska-economy-unemployment-
2022-04-01   2022-04-01 labor.html                                 All Hail the Scorching Labor Market         By Talmon Joseph Smith          TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/01/insider/
2022-04-01   2022-04-01 verifying-images-of-the-war-in-ukraine.html How The Times Verifies War Footage         By Emmett Lindner               TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/01/sports/n
2022-04-01   2022-04-01 caabasketball/paige-bueckers-uconn.html      Minneapolis Has Seen This Act Before      By Remy Tumin                   TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/28/opinion
2022-03-28   2022-04-02 /homeless-crisis-california.html             The Slums of California                   By Jay Caspian Kang             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/29/arts/tele
2022-03-29   2022-04-02 vision/joan-collins.html                     Joan Collins Just Gets on With It         By Alexis Soloski               TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/30/movies/
2022-03-30   2022-04-02 deep-water-adrian-lyne.html                  Erotic Feels More Like Meh                By Amanda Hess                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/30/opinion
2022-03-30   2022-04-02 /home-care-aides-industry.html               Home Care Workers Deserve a Living Wage   By Aijen Poo and Ilana Berger   TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/03/30/technol For Meta Workers Rules Of War Keep          By Ryan Mac Mike Isaac and
2022-03-30   2022-04-02 ogy/ukraine-russia-facebook-instagram.html Shifting                                    Sheera Frenkel                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/30/arts/des
2022-03-31   2022-04-02 ign/marvels-of-media-autism.html            Show of Recognition And Amplification      By Robin Pogrebin               TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/31/opinion
2022-03-31   2022-04-02 /covid-mandates-choices-anger.html          Goodbye Righteous Alienation               By Miranda Featherstone         TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/01/arts/des
                        ign/winter-show-barneys-antiques-
2022-04-01   2022-04-02 design.html                                 Treasure Hunting at the Former Barneys     By Will Heinrich                TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/01/arts/des Yale Museum Surrenders Items After
2022-04-01   2022-04-02 ign/yale-art-looting-investigation.html     Investigation                              By Tom Mashberg                 TX 9-169-611    2022-06-01



                                                                                Page 3570 of 5793
                        https://www.nytimes.com/2022/04/01/arts/mu
                        sic/anna-netrebko-putin-ukraine-             Canceled by the West Russian Diva Is Now
2022-04-01   2022-04-02 backlash.html                                Castigated at Home                          By Javier C Hernndez           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/arts/mu Joni Mitchell Will Make a Rare Televised
2022-04-01   2022-04-02 sic/joni-mitchell-grammy-awards.html         Appearance                                  By Ben Sisario                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/arts/mu
2022-04-01   2022-04-02 sic/new-york-philharmonic-review.html        A Loud Arrival Adds to the Excitement       By Joshua Barone               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/arts/nan Nancy Lane Trailblazer Behind Studio
2022-04-01   2022-04-02 cy-lane-dead.html                            Museum In Harlem Is Dead at 88              By Sam Roberts                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/arts/tele
                        vision/jerrod-carmichael-comes-out-
2022-04-01   2022-04-02 rothaniel.html                               Cost of Coming Out Is No Joke for a Comic By Jason Zinoman                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/books/t Ted Mooney 70 Author of Offbeat Inventive
2022-04-01   2022-04-02 ed-mooney-dead.html                          Novels                                      By Neil Genzlinger             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/busines Europe Energy Prices Rise As Inflation Hits
2022-04-01   2022-04-02 s/economy/eurozone-inflation.html            Record                                      By Liz Alderman                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/busines As Workers See Pay Gains Fed Could Feel
2022-04-01   2022-04-02 s/economy/jobs-fed-wages.html                the Pressure                                By Jeanna Smialek              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/busines
2022-04-01   2022-04-02 s/economy/jobs-report-march-2022.html        Big Job Gains Fan the Flame Of a Recovery By Talmon Joseph Smith           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/busines
2022-04-01   2022-04-02 s/iea-oil-reserves.html                      Over 30 Nations Set to Release Oil Reserves By Stanley Reed                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/busines Psaki Said To Discuss Taking Job At           By John Koblin and Michael M
2022-04-01   2022-04-02 s/media/jen-psaki-msnbc.html                 MSNBC                                       Grynbaum                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/busines No Word Yet as Student Loan Pause Is Set to By Stacy Cowley and Zolan
2022-04-01   2022-04-02 s/student-loan-payment-pause-biden.html      End                                         KannoYoungs                    TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/01/busines Sales for GM and Toyota Tumble in the First
2022-04-01   2022-04-02 s/toyota-general-motors-sales-reports.html Quarter                                       By Neal E Boudette             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/movies/ Oscar Producer Reveals The Parley After a     By Nicole Sperling and Matt
2022-04-01   2022-04-02 oscars-will-smith-slap.html                Slap                                          Stevens                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/nyregio 12YearOld Fatally Shot While Sitting In       By Adam Nossiter Ed Shanahan
2022-04-01   2022-04-02 n/boy-shooting-minivan-brooklyn.html       Parked Car                                    and Troy Closson               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/nyregio Cuomo Sues to Block Effort to Seize His
2022-04-01   2022-04-02 n/cuomo-lawsuit-jcope-book.html            Book Profits                                  By Grace Ashford               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/01/nyregio New York Mafia Hit Man Escapes Federal
2022-04-01   2022-04-02 n/dominic-taddeo-florida-prison-escape.html Custody Officials Say                      By Jesse McKinley                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/nyregio City Keeps Mask Rules For Children Under
2022-04-01   2022-04-02 n/eric-adams-mask-mandate-children.html     Age 5                                      By Emma G Fitzsimmons            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/nyregio Judge in Manhattan Rejects Maxwells Bid
2022-04-01   2022-04-02 n/ghislaine-maxwell-trial-juror-ruling.html for New Trial                              By Benjamin Weiser               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/nyregio Man Is Extradited to Queens to Face Charges
2022-04-01   2022-04-02 n/tinder-killing-danueal-drayton.html       in a 2018 Murder                           By Chelsia Rose Marcius          TX 9-169-611   2022-06-01




                                                                                Page 3571 of 5793
                        https://www.nytimes.com/2022/04/01/opinion How Did Disney Get Caught Up in a Moral
2022-04-01   2022-04-02 /disney-dont-say-gay.html                   Panic                                          By Michelle Goldberg           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/realesta
2022-04-01   2022-04-02 te/canada-golf-homes.html                   Canada attracts more buyers                    By Shivani Vora                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/realesta
2022-04-01   2022-04-02 te/golf-home-buying-tips.html               Tips for buying a golf home                    By Shivani Vora                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/realesta
2022-04-01   2022-04-02 te/golf-homes-inside-play.html              Want to play a round Step inside               By Mark Ellwood                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/realesta
2022-04-01   2022-04-02 te/golf-short-courses-families.html         Familyfriendly short courses are gaining favor By Debra Kamin                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/realesta
2022-04-01   2022-04-02 te/greg-norman-golf-homes.html              Greg Norman on golf and golf homes             By Shivani Vora                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/realesta
2022-04-01   2022-04-02 te/island-golf-developments.html            The growing appeal of island life              By Sam Lubell                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/realesta
2022-04-01   2022-04-02 te/israel-golf-caesarea.html                In Israel its the only golf game in town       By Debra Kamin                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/realesta
2022-04-01   2022-04-02 te/longer-golf-shots-risks.html             Making way for longer shots                    By Ellen Rosen                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/realesta
2022-04-01   2022-04-02 te/tom-doak-golf-course-design.html         Balancing a course and a community             By Michael Croley              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/science US Allows Hunters to Import Some Elephant
2022-04-01   2022-04-02 /elephant-trophies-hunting.html             Trophies From African Nations                  By Miranda Green               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/sports/b Mets Lose deGrom at Least Through April
2022-04-01   2022-04-02 aseball/jacob-degrom-mets-injured.html      With Shoulder Tightness                        By James Wagner                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/sports/f Back in New Orleans At Site That Promises
2022-04-01   2022-04-02 inal-four-new-orleans-history.html          Memorable Moments                              By Billy Witz                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/sports/n Again in Good Spirits Again in a Final and
2022-04-01   2022-04-02 aomi-osaka-miami-open.html                  Again a Force                                  By Matthew Futterman           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/sports/n Nirvana or Apocalypse In Brawl of
2022-04-01   2022-04-02 caabasketball/ncaa-unc-duke-rivalry.html    Neighbors On Tobacco Road                      By Jonathan Abrams             TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/01/sports/n
2022-04-01   2022-04-02 caabasketball/villanova-one-and-dones.html Villanova Keeps Coming Back for More          By Adam Zagoria                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/sports/s
                        occer/world-cup-draw-highlights-groups-
2022-04-01   2022-04-02 teams.html                                  Colorful Draw Shouldnt Fool Contenders       By Rory Smith                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/technol Amazon Workers on Staten Island Give          By Karen Weise and Noam
2022-04-01   2022-04-02 ogy/amazon-union-staten-island.html         Unions a Surprise Win                        Scheiber                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/theater/
                        garth-drabinsky-broadway-paradise-
2022-04-01   2022-04-02 square.html                                 Seeking Redemption on Broadway               By Richard Zoglin                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/us/polit
2022-04-01   2022-04-02 ics/cdc-immigration-title-42.html           CDC to Lift Health Restrictions at Borders   By Eileen Sullivan               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/us/polit Congress Back at Pork Barrel Spending 9      By Luke Broadwater Emily
2022-04-01   2022-04-02 ics/congress-earmarks.html                  Billion in a Year                            Cochrane and Alicia Parlapiano   TX 9-169-611   2022-06-01



                                                                                 Page 3572 of 5793
                        https://www.nytimes.com/2022/04/01/us/polit
2022-04-01   2022-04-02 ics/covid-relief-funds.html                 States Awash in Funds As Biden Seeks More By Sheryl Gay Stolberg                TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/01/us/polit Republicans Target Group That Supports
2022-04-01   2022-04-02 ics/gop-demand-justice-jackson-hearings.html Jackson                                     By Carl Hulse                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/us/polit House Votes to Decriminalize Pot but Senate
2022-04-01   2022-04-02 ics/marijuana-legalization.html              Block Waits                                 By Jonathan Weisman                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/us/polit Nevadas Economic Turmoil Threatens a         By Jennifer Medina and Reid J
2022-04-01   2022-04-02 ics/nevada-midterms-democrats.html           Democratic Stronghold                       Epstein                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/us/polit Russias Aggression Prompts Calls for the US
2022-04-01   2022-04-02 ics/russia-uranium-nuclear-power.html        to Wean Itself Off Uranium Imports          By Zach Montague                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/us/whit Jurors Begin Deliberating in Trial on Alleged
2022-04-01   2022-04-02 mer-plot-trial-closing.html                  Plot to Kidnap Governor                     By Mitch Smith                     TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/01/world/a War in Ukraine Worsens Hunger in East
2022-04-01   2022-04-02 frica/food-crisis-africa-drought-ukraine.html Africa                                       By Abdi Latif Dahir              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/world/a
                        mericas/costa-rica-election-sexual-           Costa Ricas Close Election Between 2         By David Bolaos and Anatoly
2022-04-01   2022-04-02 harassment.html                               ScandalTinged Rivals Tests Womens Rights     Kurmanaev                       TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/01/world/a Outbreak at Shanghai Hospital Exposes           By John Liu Amy Chang Chien and
2022-04-01   2022-04-02 sia/china-covid-shanghai.html                 Coronavirus Risk to Chinas Older Adults      Paul Mozur                      TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/01/world/e
                        urope/eu-europe-china-summit-ukraine-russia- At Summit EU Urges China Not to Support
2022-04-01   2022-04-02 trade.html                                    Russias War in Ukraine                       By Steven Erlanger               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/world/e
                        urope/pope-apology-indigenous-people-         I Feel Shame Pope Apologizes to Indigenous   By Elisabetta Povoledo and Ian
2022-04-01   2022-04-02 canada.html                                   People of Canada                             Austen                           TX 9-169-611   2022-06-01
                                                                                                                   By Anton Troianovski Ivan
                        https://www.nytimes.com/2022/04/01/world/e A Shift in Russia as Many Now Rally to          Nechepurenko and Valeriya
2022-04-01   2022-04-02 urope/russia-putin-support-ukraine.html     Putins Side                                    Safronova                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/world/e At 26 Researcher Endures Ravages Of
2022-04-01   2022-04-02 urope/scientist-patient-progeria.html       Advanced Age                                   By Jason Horowitz                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/world/
                        middleeast/israel-terrorism-bennett-        Spike in Violence Tests Israels Fragile
2022-04-01   2022-04-02 palestinians.html                           Coalition                                      By Patrick Kingsley              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/world/
                        middleeast/khashoggi-murder-trial-turkey-   Turkey Backs Saudi Request Likely to End
2022-04-01   2022-04-02 saudi.html                                  Khashoggi Trial                                By Ben Hubbard and Safak Timur TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/01/your-
                        money/college-financial-aid-unemployment-
2022-04-01   2022-04-02 benefits.html                               Pandemic Help College Aid Hurdle               By Ann Carrns                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/01/bus
                        iness/economy-news-inflation-russia/gas-
                        prices-are-soaring-not-so-the-stocks-of-
2022-04-01   2022-04-02 electric-vehicle-companies                  EV Shares Are Lagging The Market               By Stephen Gandel                TX 9-169-611   2022-06-01



                                                                                 Page 3573 of 5793
                        https://www.nytimes.com/live/2022/04/01/wo                                              By Megan Specia Anton
                        rld/ukraine-russia-war/mariupol-ukraine-   Mass Evacuation in Mariupol Fails Amid       Troianovski Matthew Mpoke Bigg
2022-04-01   2022-04-02 evacuation-red-cross                       Safety Fears                                 and Julian E Barnes            TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/01/us/polit Palin Says She Will Run For Congress In     By Jazmine Ulloa and Jeremy W
2022-04-02   2022-04-02 ics/sarah-palin-running-congress-alaska.html Alaska                                     Peters                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/us/polit Following Plea From Ukraine US Will Help
2022-04-02   2022-04-02 ics/us-tanks-ukraine.html                     Transfer Tanks                            By Helene Cooper                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/sports/n
                        caabasketball/final-four-former-teammates- 8 High School Teammates Have 3 Reunions
2022-04-02   2022-04-02 paul-vi-high.html                             at Final 4                                By Adam Zagoria                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/02/07/travel/j Taking a Desert Road Trip Along the Kings
2022-02-07   2022-04-03 ordan-petra-road-trip.html                    Highway To See Jordans Treasures          By Daniel Rodrigues             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/02/22/books/r
2022-02-22   2022-04-03 eview/insurgency-jeremy-w-peters.html         How Trump Did It                          By Romesh Ratnesar              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/02/22/books/r
2022-02-22   2022-04-03 eview/scoundrel-sarah-weinman.html            Presumed Innocent                         By Katherine Dykstra            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/02/28/books/r
2022-02-28   2022-04-03 eview/the-verifiers-jane-pek.html             Digital Fingerprints                      By David Gordon                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/01/books/r
                        eview/greatest-invention-nine-scripts-silvia-
2022-03-01   2022-04-03 ferrera.html                                  Text Messages                             By Martin Puchner               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/02/books/r
                        eview/ruth-brandon-spellbound-by-
2022-03-02   2022-04-03 marcel.html                                   Nude Meets Staircase                      By Lauren Elkin                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/07/books/r
                        eview/i-never-thought-of-it-that-way-monica-
2022-03-07   2022-04-03 guzman.html                                   Can You Hear Me Now                       By Lisa Selin Davis             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/08/books/r
                        eview/mona-chollet-in-defense-of-
2022-03-08   2022-04-03 witches.html                                  Salems Lot                                By Rachel Donadio               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/03/08/books/r
2022-03-08   2022-04-03 eview/sandy-hook-elizabeth-williamson.html When the Shooting Stopped                    By Robert Kolker                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/12/books/r
2022-03-12   2022-04-03 eview/the-land-of-the-ice-and-snow.html       Pole Position                             By Liesl Schillinger            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/15/books/r
2022-03-15   2022-04-03 eview/true-biz-sara-novic.html                Real Talk                                 By Maile Meloy                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/15/books/r
2022-03-15   2022-04-03 eview/vagabonds-eloghosa-osunde.html          Behind Closed Doors                       By Chelsea Leu                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/17/books/r
                        eview/castles-in-their-bones-laura-sebastian-
                        lakelore-anna-marie-mclemore-this-woven-
2022-03-17   2022-04-03 kingdom-tahereh-mafi.html                     YA Fantasy                                By Jennifer Hubert Swan         TX 9-169-611   2022-06-01




                                                                               Page 3574 of 5793
                        https://www.nytimes.com/2022/03/22/books/r
                        eview/black-cloud-rising-david-wright-
2022-03-22   2022-04-03 falade.html                                 Look Back                                   By Alida Becker                 TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/22/realesta
2022-03-22   2022-04-03 te/hudson-second-home.html                  They Found Their Retreat Close to Home      By Tim McKeough                 TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/24/books/r
                        eview/im-not-scared-youre-scared-seth-
2022-03-24   2022-04-03 meyers.html                                 Inside the List                             By Elisabeth Egan               TX 9-169-611    2022-06-01
                        https://www.nytimes.com/article/nyc-cherry- Where to Enjoy Cherry Blossoms Across the
2022-03-26   2022-04-03 blossoms.html                               City                                        By Julia Carmel and Hurubie Meko TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/28/realesta Its Easier to Love Brooklyn This Time
2022-03-28   2022-04-03 te/renters-brooklyn.html                    Around                                      By Marian Bull                  TX 9-169-611    2022-06-01

                        https://www.nytimes.com/interactive/2022/03/ Quinta Brunson Knows Why America Was
2022-03-28   2022-04-03 28/magazine/quinta-brunson-interview.html Ready for Abbott Elementary                   By David Marchese               TX 9-169-611    2022-06-01

                        https://www.nytimes.com/interactive/2022/03/ We Study Virus Evolution Heres Where We    By Sarah Cobey Jesse Bloom Tyler
2022-03-28   2022-04-03 28/opinion/coronavirus-mutation-future.html Think the Coronavirus Is Going              Starr and Nathaniel Lash         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/29/arts/po
2022-03-29   2022-04-03 dcasts-advice-etiquette.html                 Listen Up and Get Back to Normal           By Emma Dibdin                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/29/magazi My BrotherinLaw Is Awful to His Girlfriend
2022-03-29   2022-04-03 ne/abusive-relationship-ethics.html          Should I Break Them Up                     By Kwame Anthony Appiah         TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/29/magazi
2022-03-29   2022-04-03 ne/beauty-disabled-body.html                 A Form of Resistance                       By Chlo Cooper Jones            TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/29/magazi
2022-03-29   2022-04-03 ne/erotic-thrillers-recommendation.html      Erotic Thrillers                           By Abbey Bender                 TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/29/magazi
2022-03-29   2022-04-03 ne/how-to-see-faces-everywhere.html          How to See Faces Everywhere                By Malia Wollan                 TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/29/opinion
2022-03-29   2022-04-03 /ovaries-stem-cells-fertility.html           Are Ovaries a Biological Clock Maybe Not   By Rachel E Gross               TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/29/opinion
2022-03-29   2022-04-03 /scott-joplin-ragtime.html                   Why Scott Joplins Ragtime Matters          By John McWhorter               TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/30/arts/mu
2022-03-30   2022-04-03 sic/charo.html                               The Brilliance of                          By Amanda Hess                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/30/magazi
2022-03-30   2022-04-03 ne/belarus-mural.html                        The Mural and the Movement                 By Sarah A Topol                TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/30/magazi I Got Lost in Tokyo Station and Found the
2022-03-30   2022-04-03 ne/kakuni-recipe.html                        Perfect Comfort Food                       By Bryan Washington             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/30/magazi
2022-03-30   2022-04-03 ne/shackleton-ship-endurance.html            Thin Ice                                   By Jody Rosen                   TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/30/opinion
2022-03-30   2022-04-03 /nuclear-family.html                         Celebrate Different Kinds of Families      By Jessica Grose                TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/30/opinion
2022-03-30   2022-04-03 /rap-music-criminal-trials.html              The Lyrics And the Sentence                By Jaeah Lee                    TX 9-169-611    2022-06-01




                                                                               Page 3575 of 5793
                        https://www.nytimes.com/2022/03/30/realesta A House With a Heart Made of Glass Near
2022-03-30   2022-04-03 te/costa-rica-house-hunting.html             San Jos                                       By Roxana Popescu                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/realesta
                        te/highland-ny-a-small-community-with-a-     This Hamlet Is Now More Than a
2022-03-30   2022-04-03 feel-good-spirit.html                        PassThrough                                   By Karen Angel                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/realesta Connoisseurs Offer a Tour of the Wide World
2022-03-30   2022-04-03 te/kale-varieties-grow.html                  of Kale                                       By Margaret Roach                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/style/m How Married Bachelor Couples Make It
2022-03-30   2022-04-03 arried-bachelor-couples.html                 Work                                          By Perri Ormont Blumberg         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/style/w For Brides and Grooms Rising Prices Take a
2022-03-30   2022-04-03 edding-budget-inflation.html                 Toll                                          By Danielle Braff                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/t-
2022-03-30   2022-04-03 magazine/film-forum-new-york-city.html       The Best Little Movie House in New York       By Reggie Nadelson               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/theater/
2022-03-30   2022-04-03 for-colored-girls-ntozake-shange.html        Tales of Black Womanhood Revived              By Soyica Diggs Colbert          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/theater/
2022-03-30   2022-04-03 hollywood-broadway-music-man.html            Another Broadway Boost From Hollywood By Laurence Maslon                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/arts/dan
                        ce/storyboard-p-performance-space-new-
2022-03-31   2022-04-03 york.html                                    Too Singular to Be In the Background          By Brian Seibert                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/arts/tele
2022-03-31   2022-04-03 vision/starstruck-hbo-rose-matafeo.html      Seeking Inspiration From Classic Love Stories By Desiree Ibekwe                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/magazi For Decades He Had Strange Episodes of
2022-03-31   2022-04-03 ne/acephalgic-migraine-diagnosis.html        Utter Exhaustion                              By Lisa Sanders MD               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/magazi
                        ne/judge-john-hodgman-on-countertop-
2022-03-31   2022-04-03 privilege.html                               Bonus Advice From Judge John Hodgman          By John Hodgman                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/magazi
2022-03-31   2022-04-03 ne/new-french-right.html                     The New French Right                          By Elisabeth Zerofsky            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/magazi
2022-03-31   2022-04-03 ne/poem-instructions-for-stopping.html       Instructions for Stopping                     By Dana Levin and Victoria Chang TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/movies/
2022-03-31   2022-04-03 valerie-lemercier-aline-celine-dion.html     An Eccentric Love Letter to a Star            By Elisabeth Vincentelli         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/nyregio
2022-03-31   2022-04-03 n/jamie-krents-verve.html                    Slow Running and Some Bass Playing            By Tammy La Gorce                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/nyregio End to Library Late Fees Brings Many Happy
2022-03-31   2022-04-03 n/nyc-library-fines-books-returned.html      Returns                                       By Gina Cherelus                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/opinion
2022-03-31   2022-04-03 /brazil-bolsonaro-amazon.html                Bolsonaro Brings Destruction to the World     By Vanessa Barbara               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/opinion
2022-03-31   2022-04-03 /turning-red-asian.html                      Turning Red and Racial Representation         By Jay Caspian Kang              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/realesta A Childhood Home of Gloria Vanderbilt Has
2022-03-31   2022-04-03 te/top-nyc-real-estate-sales.html            Been Sold Again at Long Last                  By Vivian Marino                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/realesta
2022-03-31   2022-04-03 te/where-are-people-less-lonely.html         Where the Loneliest Are Living                By Michael Kolomatsky            TX 9-169-611   2022-06-01



                                                                                Page 3576 of 5793
                        https://www.nytimes.com/2022/03/31/style/be
2022-03-31   2022-04-03 n-mckenzie-crypto.html                        Teen Drama Star vs Crypto                   By David YaffeBellany     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/style/m
2022-03-31   2022-04-03 atthew-gasda-dimes-square.html                Holding a Mirror Up To Patrons of His Plays By Alex Vadukul           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/style/w
2022-03-31   2022-04-03 edding-thank-you-social-qs.html               Gifts and Gratitude                         By Philip Galanes         TX 9-169-611   2022-06-01
                                                                      Two Midwest Transplants Get a Price Shock
                        https://www.nytimes.com/interactive/2022/03/ in Southern California Which Home Would
2022-03-31   2022-04-03 31/realestate/california-house-hunt.html      You Choose                                  By Candace Jackson        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/style/pa Patrick Demarchelier 78 Photographer Who
2022-04-01   2022-04-03 trick-demarchelier-dead.html                  Helped Define Fashion Dies                  By Vanessa Friedman       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/arts/des
                        ign/hew-locke-the-procession-tate-            An Unsettling Pageant Of Historys Grim
2022-04-01   2022-04-03 britain.html                                  Legacy                                      By Elizabeth Fullerton    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/arts/tele
2022-04-01   2022-04-03 vision/tokyo-vice-hbo-max.html                Revisiting a Faded Underworld               By Erik Augustin Palm     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/books/ Margaret M McGowan 90 Who Elevated
2022-04-01   2022-04-03 margaret-mcgowan-dead.html                    Early Dance                                 By Alastair Macaulay      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/books/r
                        eview/childrens-picture-books-stop-and-smell-
2022-04-01   2022-04-03 the-roses.html                                Childrens Books Picture This                By Jennifer Krauss        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/books/r
2022-04-01   2022-04-03 eview/new-paperbacks.html                     Paperback Row                               By Miguel Salazar         TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/01/books/r                                               By Tina Jordan and Erica
2022-04-01   2022-04-03 eview/remembrance-of-bookstores-past.html New York Bookstores                            Ackerberg                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/busines
2022-04-01   2022-04-03 s/bond-market-decline.html                 A Way to Endure the Big Decline in Bonds By Jeff Sommer                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/busines
2022-04-01   2022-04-03 s/brooks-running-jim-weber.html            No Longer Running but Still in the Race       By David Gelles            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/busines
                        s/retirement-reverse-mortgages-home-       Reverse Mortgages Arent Always a Last
2022-04-01   2022-04-03 equity.html                                Resort                                        By Susan B Garland         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/climate Bidens Climate Agenda Sputters as High Oil
2022-04-01   2022-04-03 /biden-climate-change.html                 Prices Prompt Calls to Drill More             By Coral Davenport         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/nyregio
                        n/jamaica-bay-broad-channel-climate-
2022-04-01   2022-04-03 change.html                                Broad Channels Tough Choices                  By Richard Schiffman       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/nyregio
                        n/yale-administrator-guilty-jamie-
2022-04-01   2022-04-03 petrone.html                               ExYale Official Admits to 40 Million Fraud By Neil Vigdor                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/opinion
2022-04-01   2022-04-03 /anti-lynching-bill-biden.html             It Took a Century to Get an AntiLynching Bill By Jamelle Bouie           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/opinion
2022-04-01   2022-04-03 /jackson-supreme-court-republicans.html    How Low Will Senate Republicans Go            By Linda Greenhouse        TX 9-169-611   2022-06-01



                                                                                 Page 3577 of 5793
                        https://www.nytimes.com/2022/04/01/opinion Ukraines Refugees Need Help The World Can
2022-04-01   2022-04-03 /ukraine-russia-war-refugees.html            Do More                                      By The Editorial Board       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/realesta
2022-04-01   2022-04-03 te/divorce-kids-homes.html                   Easing Two Kinds of Separation Anxiety       By Hanna Ingber              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/realesta
2022-04-01   2022-04-03 te/separated-living-together.html            Separated but Under the Same Roof            By Joanne Kaufman            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/sports/f
                        ootball/nfl-bruce-arians-todd-bowles-tampa-
2022-04-01   2022-04-03 bay.html                                     NFL Should Adopt the Arians Rule             By Kurt Streeter             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/sports/u For Ukrainian Olympian Work Is Different
2022-04-01   2022-04-03 kraine-vladyslav-heraskevych-war.html        Now                                          By Matthew Futterman         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/style/eli Talking Baseball Turned Out to Be the Right
2022-04-01   2022-04-03 za-giles-george-luo-wedding.html             Pitch                                        By Vincent M Mallozzi        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/style/ia
2022-04-01   2022-04-03 n-slater-michael-mcvicker-wedding.html       Two Swimmers Take a Deep Breath Together By Rosalie R Radomsky            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/style/ja
2022-04-01   2022-04-03 clyn-tokarz-dieter-seelig-wedding.html       An Immediate Attraction and a Lofty Proposal By Judy Mandell              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/style/ja
2022-04-01   2022-04-03 yla-moody-jordan-marshall-wedding.html       Before Love a Whole Lot of Likes             By Jenny Block               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/01/style/mi
2022-04-01   2022-04-03 randa-robertson-nicolas-bayle-wedding.html They Found Each Other and a Home in Paris By Vincent M Mallozzi             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/style/m
                        odern-love-the-dentist-who-treated-my-
2022-04-01   2022-04-03 divorce.html                                The Dentist Who Treated My Divorce            By Hillery Stone             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/style/w Artists and Rock Stars Mingle at the Whitney
2022-04-01   2022-04-03 hitney-biennial.html                        Biennial                                      By John Ortved               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/style/ye
2022-04-01   2022-04-03 s-you-do-deserve-a-little-treat.html        Reimagining a Life Sprinkled With Treats      By Julia Carmel              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/us/charl Charles G Boyd 83 Air Force General Who
2022-04-01   2022-04-03 es-g-boyd-dead.html                         Was Vietnam POW Is Dead                       By Katharine Q Seelye        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/us/sout
2022-04-01   2022-04-03 h-carolina-school-shooting.html             12YearOld Shot Dead in S Carolina School By Johnny Diaz                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/sports/s In the Age of the Superclub Winning Can Still
2022-04-02   2022-04-03 occer/liverpool-man-city.html               Fall Short                                    By Rory Smith                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/busines What The Miners Saw In a Year Above
2022-04-02   2022-04-03 s/alabama-coal-mine-strike-amazon.html      Ground                                        By Michael Corkery           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/busines
2022-04-02   2022-04-03 s/amazon-union-christian-smalls.html        How 2 Friends Birthed Union Inside Amazon By Jodi Kantor and Karen Weise   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/busines
2022-04-02   2022-04-03 s/auto-dealers-sales-profits.html           An Unexpected Luxury Ride for Car Dealers By Jamie Lincoln Kitman          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/busines The Long Roots Of a Peoples Revolt Against
2022-04-02   2022-04-03 s/civil-war-bonds-stocks.html               Wall Street                                   By Emily Flitter             TX 9-169-611   2022-06-01




                                                                                Page 3578 of 5793
                        https://www.nytimes.com/2022/04/02/busines Putin Reminds West He Has Economic
2022-04-02   2022-04-03 s/economy/russia-ukraine-sanctions-gas.html Weapons as Well                               By Patricia Cohen                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/busines
2022-04-02   2022-04-03 s/tesla-sales-electric-vehicles.html        Tesla Reports Steep Increase In Global Sales By Jack Ewing                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/climate Tankers Giant UTurn Reveals Chaos in           By Hiroko Tabuchi and Blacki
2022-04-02   2022-04-03 /oil-tankers-russia.html                    Market for Russian Oil                        Migliozzi                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/health/c Britains Cuts May Cause A Drought of Covid
2022-04-02   2022-04-03 ovid-testing-uk-denmark.html                Data                                          By Carl Zimmer                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/movies/ The Slap Could Damage the Smith Familys By Melena Ryzik Nicole Sperling
2022-04-02   2022-04-03 will-smith-family-oscars-slap.html          Bankable Brand                                and Matt Stevens                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/nyregio The Homelessness Problem Is the Same as It
2022-04-02   2022-04-03 n/homeless-camps-shelters.html              Ever Was                                      By Ginia Bellafante                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/opinion
2022-04-02   2022-04-03 /india-nuns-nurses-hospital.html            How Six Nuns Transformed India                By Jyoti Thottam                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/opinion
2022-04-02   2022-04-03 /putin-ukraine-russia.html                  Putin Is Winning At Home                      By Ross Douthat                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/opinion
2022-04-02   2022-04-03 /will-smith-oscars-shakespeare.html         Going After a Pound of Flesh                  By Maureen Dowd                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/realesta I Want to Install an Electric Car Charger Can
2022-04-02   2022-04-03 te/building-electric-car-chargers.html      I Force My Board to Let Me                    By Ronda Kaysen                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/sports/n
                        caabasketball/super-seniors-college-        If You Think Those College Players Are
2022-04-02   2022-04-03 basketball.html                             Older Its Because They Are                    By Remy Tumin                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/sports/t Osaka Falls Swiftly to Swiatek New World
2022-04-02   2022-04-03 ennis/osaka-swiatek-miami-open.html         No 1                                          By Matthew Futterman               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/style/pa
2022-04-02   2022-04-03 lm-beach-young-snowbirds.html               A Social FaceLift for Palm Beach              By Bob Morris                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/style/su Another Pandemic Shortage Surrogates in the
2022-04-02   2022-04-03 rrogate-shortage-us-pandemic.html           US                                            By Danielle Braff                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/us/delta-Planes Cracked Windshield Forces
2022-04-02   2022-04-03 flight-landing-cracked-windshield.html      Emergency Landing                             By Isabella Grulln Paz             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/us/pled A Mystery Over Who Wrote The Pledge of
2022-04-02   2022-04-03 ge-of-allegiance-francis-bellamy.html       Allegiance                                    By Sam Roberts                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/us/polit
                        ics/congressional-maps-gerrymandering-      State Courts Emerge as Firewall Against       By Nick Corasaniti and Reid J
2022-04-02   2022-04-03 midterms.html                               Gerrymandering by Both Parties                Epstein                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/us/polit                                               By Katie Benner Katie Rogers and
2022-04-02   2022-04-03 ics/merrick-garland-biden-trump.html        Pressure on Garland as Jan 6 Inquiry Expands Michael S Schmidt                   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/02/us/polit
2022-04-02   2022-04-03 ics/sufyian-barhoumi-guantanamo-bay.html Guantnamo Inmate Sent Home to Algeria        By Carol Rosenberg                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/us/spic
2022-04-02   2022-04-03 e-dancehall-grammy-nomination.html          Grammy Consideration Confirms Her Beliefs By Sandra E Garcia                     TX 9-169-611   2022-06-01




                                                                                 Page 3579 of 5793
                        https://www.nytimes.com/2022/04/02/world/a LinkedIn Pulled an Ad Favoring Black Hires By Jack Nicas and Flvia
2022-04-02   2022-04-03 mericas/linkedin-brazil-jobs-diversity.html Then Brazil Protested                      Milhorance                     TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/02/world/a A Parenthetical Thai Capital Locals See Far
2022-04-02   2022-04-03 sia/bangkok-thailand-krung-thep.html        Bigger Issues                              By Hannah Beech                TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/02/world/a Claiming Conspiracy Pakistan Leader Vows By Christina Goldbaum and Salman
2022-04-02   2022-04-03 sia/imran-khan-pakistan-no-confidence.html to Dismiss NoConfidence Vote                 Masood                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/world/e In Hungary an Old Ally of Putin Faces Voters By Andrew Higgins and Benjamin
2022-04-02   2022-04-03 urope/hungary-orban-russia-ukraine.html    Unnerved by War                              Novak                          TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/02/world/e
2022-04-02   2022-04-03 urope/pope-francis-russia-putin-ukraine.html Pope Blames Potentate for Inciting War     By Jason Horowitz             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/02/world/e Putins Failures Pile Up Over the Subjugation
2022-04-02   2022-04-03 urope/putin-ukraine-failure.html             of His Neighbor                            By Neil MacFarquhar           TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/02/world/e Madrid Rivals Miami as a Haven for Latin
2022-04-02   2022-04-03 urope/spain-madrid-latin-america.html        Americans and Their Money                  By Raphael Minder             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/02/world/e Russias Retreat From Kyiv Is Seen as a Major By Andrew E Kramer and Neil
2022-04-02   2022-04-03 urope/ukraine-russia-kyiv.html               Turn                                       MacFarquhar                   TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/02/world/e The Outgunned Town That Fought Off Russia
2022-04-02   2022-04-03 urope/ukraine-russian-defeat-vasylkiv.html  and Protected Kyiv                       By Carlotta Gall                 TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/02/world/
2022-04-02   2022-04-03 middleeast/yemen-cease-fire.html            2Month Truce Offers Hope in Yemen        By Ben Hubbard                   TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/02/sports/n Amid a Sea of Blue North Carolina Ends
2022-04-03   2022-04-03 caabasketball/duke-unc-final-four.html      Krzyzewskis Career                       By Alanis Thames                 TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/02/sports/n
                        caabasketball/kansas-villanova-final-       This Time Theres No Denying Jayhawks a
2022-04-03   2022-04-03 four.html                                   Trip to the Final                        By Billy Witz                    TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/03/busines
2022-04-03   2022-04-03 s/this-week-in-business-jobs-recovery.html   This Week in Business A Jobs Recovery        By Marie Solis              TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/03/insider/
2022-04-03   2022-04-03 ukraine-war-journalists.html                 In Ukraine Compassion Endures                By Emmett Lindner           TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/03/sports/n
                        caabasketball/ncaa-women-college-basketball- Next Battleground in College Sports How to
2022-04-03   2022-04-03 money.html                                   Divide Millions                              By Alan Blinder             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/03/technol Customer Service Chatbots Are Starting to
2022-03-03   2022-04-04 ogy/ai-chatbot.html                          Speak Our Lingo                              By Steve Lohr               TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/08/technol Can AI Help Casinos Cut Down on Problem
2022-03-08   2022-04-04 ogy/ai-casinos-gambling-problems.html        Gambling                                     By Bradford Pearson         TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/15/technol
2022-03-15   2022-04-04 ogy/ai-no-code.html                          Bringing NoCode AI to the Masses             By Craig S Smith            TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/03/18/travel/t Hidden Tampa The Best of an
2022-03-18   2022-04-04 ampa-travel-guide.html                       OftenOverlooked City                         By Dave Seminara            TX 9-169-611    2022-06-01




                                                                                 Page 3580 of 5793
                        https://www.nytimes.com/2022/03/28/travel/n No Mow May Is Saving Bees Across
2022-03-28   2022-04-04 o-mow-may-wisconsin.html                      Wisconsin                                    By Anne Readel                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/busines Covid Russia and Economy Put China Model
2022-03-31   2022-04-04 s/china-covid-economy-russia.html             to the Test                                  By Li Yuan                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/busines
2022-03-31   2022-04-04 s/supply-chain-small-business.html            When Globalization Breaks Down               By Peter S Goodman                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/upshot/ Home Prices Are Soaring Despite the Rise in By Emily Badger and Quoctrung
2022-03-31   2022-04-04 home-prices-mortgage-rates.html               Rates                                        Bui                               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/movies/
2022-04-01   2022-04-04 sergei-loznitsa-russia-ukraine.html           Russia and Ukraine Views of an Insider       By Nicolas Rapold                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/obituari Overlooked No More Elizabeth Hayes Coal
2022-04-01   2022-04-04 es/elizabeth-hayes-overlooked.html            Town Doctor Who Fought for Miners            By Steven Greenhouse              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/books/t Thomas F Staley 86 Who Ardently Pursued
2022-04-02   2022-04-04 homas-f-staley-dead.html                      Literary Archives Dies                       By Richard Sandomir               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/sports/n
                        caabasketball/new-orleans-final-four-         The Madness Has Occasioned an Overdue        By Jonathan Martin and L Kasimu
2022-04-02   2022-04-04 tourism.html                                  Party                                        Harris                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/travel/j
2022-04-02   2022-04-04 apan-covid-tourism-border.html                Asia Opens to Tourists As Japan Stays Closed By Ben Dooley and Hisako Ueno     TX 9-169-611   2022-06-01
                                                                      15 Million Poultry Culled After Bird Flu
2022-04-02   2022-04-04 https://www.nytimes.com/article/bird-flu.html Outbreak What to Know About the Virus        By Neil Vigdor                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/world/d
2022-04-03   2022-04-04 aniel-craig-macbeth.html                      Macbeth Pauses Amid Covid Cases              By Michael Paulson                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/arts/dan
                        ce/review-the-balletic-rise-and-fall-of-eva-
2022-04-03   2022-04-04 peron.html                                    Ballet Hispnico Takes On a New Challenge By Siobhan Burke                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/arts/mu Bill Fries 93 Convoy Led To Boom in
2022-04-03   2022-04-04 sic/cw-mccall-dead.html                       Trucker Culture                              By Michael Levenson               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/arts/mu
                        sic/elektra-met-opera-nina-stemme-lise-
2022-04-03   2022-04-04 davidsen.html                                 Sopranos Brighten A Riveting Revival         By Joshua Barone                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/arts/mu
2022-04-03   2022-04-04 sic/grammys-winners.html                      Music Award Contenders                       By Shivani Gonzalez               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/books/r
2022-04-03   2022-04-04 eview-young-mungo-douglas-stuart.html         A Tough Life in Emotional Technicolor        By Molly Young                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/busines California Strikes Down Law Requiring
2022-04-03   2022-04-04 s/california-board-diversity-law.html         Board Diversity                              By Erin Griffith                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/fashion
2022-04-03   2022-04-04 /stainless-steel-sports-watches-.html         Steel sport watches still win                By Victoria Gomelsky              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/fashion
2022-04-03   2022-04-04 /the-watchmakers-book-scott-lenga.html        A tale of suffering and horology skills      By Roberta Naas                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/fashion
                        /watches-actively-black-teleport-barack-
2022-04-03   2022-04-04 obama.html                                    Presidential endorsement                     By Sophie Haigney                 TX 9-169-611   2022-06-01




                                                                                 Page 3581 of 5793
                        https://www.nytimes.com/2022/04/03/fashion
                        /watches-audemars-piguet-royal-oak-
2022-04-03   2022-04-04 anniversary.html                            A masterpiece at 50                          By Ming Liu                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/fashion
2022-04-03   2022-04-04 /watches-breitling-rugby-six-nations.html   Keeping rugby time                           By David Belcher               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/fashion
                        /watches-factory-tours-roger-dubuis-
2022-04-03   2022-04-04 switzerland.html                            Watching the watch magic                     By Kathleen Beckett            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/fashion
                        /watches-inflation-rising-prices-
2022-04-03   2022-04-04 switzerland.html                            Inflation affects watches too                By Victoria Gomelsky           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/fashion
                        /watches-minecraft-lydia-winters-
2022-04-03   2022-04-04 sweden.html                                 Mixing Minecraft and watches                 By Penelope Colston            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/fashion
2022-04-03   2022-04-04 /watches-retro-revivals-zenith-cartier.html Whats old is new                             By Jill Newman                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/fashion
2022-04-03   2022-04-04 /watches-stephen-mcdonnell-mb-and-f.html Why make watches For the beauty                 By Sandra Jordan               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/health/ When Diabetes and Covid Cross Result Is
2022-04-03   2022-04-04 diabetes-covid-deaths.html                  Often a Health Disaster                      By Andrew Jacobs               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/nyregio Prosecutors in New York Are Quitting in
2022-04-03   2022-04-04 n/nyc-prosecutors-jobs.html                 Droves Citing Burden and Low Pay             By Jonah E Bromwich            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/obituari Estelle Harris 93 Dies Was Seinfeld Mother
2022-04-03   2022-04-04 es/estelle-harris-dead.html                 To George Costanza                           By Alex Traub                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/opinion Too Many American Women Have a
2022-04-03   2022-04-04 /american-women-alcohol-abuse.html          Drinking Problem                             By Ericka Andersen             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/opinion
2022-04-03   2022-04-04 /herschel-walker-georgia.html               Herschel Walker the Worst Candidate          By Charles M Blow              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/opinion The Enemies of Liberalism Are Showing Us
2022-04-03   2022-04-04 /putin-ukraine-liberalism.html              What It Truly Means                          By Ezra Klein                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/opinion
2022-04-03   2022-04-04 /ukraine-russia-wired.html                  Ukraine Is the First Real World War          By Thomas L Friedman           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/science NASA Scrubs Countdown To Dry Run Of
2022-04-03   2022-04-04 /nasa-moon-sls-rehearsal.html               Launch                                       By Kenneth Chang               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/sports/g An Event at Augusta Gives Junior Women
2022-04-03   2022-04-04 olf/augusta-national-women-amateur.html     Visibility and Visions                       By Bill Pennington             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/sports/g Woods Practices but Playing Will Be a
2022-04-03   2022-04-04 olf/tiger-woods-masters.html                GameTime Decision                            By Bill Pennington             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/sports/n Injured Tar Heel Likely to Play Even if He
2022-04-03   2022-04-04 caabasketball/armando-bacot-unc.html        Just Stands There                            By Alanis Thames               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/sports/n
2022-04-03   2022-04-04 caabasketball/leaky-black-unc.html          Player Learns to Speak His Painful Truths    By Billy Witz                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/sports/n
                        caabasketball/minnesota-women-final-four-                                                By Natalie Weiner and Andrea
2022-04-03   2022-04-04 basketball.html                             In This City Basketball Is Queen             Ellen Reed                     TX 9-169-611   2022-06-01



                                                                                Page 3582 of 5793
                        https://www.nytimes.com/2022/04/03/sports/t The Future of a Sport Has Come Into Focus
2022-04-03   2022-04-04 ennis/carlos-alcaraz-miami-open.html        With Alcarazs Arrival                           By Matthew Futterman            TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/03/technol He Attacks the Vaccines He Claims He
2022-04-03   2022-04-04 ogy/robert-malone-covid.html                Invented                                        By Davey Alba                   TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/03/us/dayli On Daylight Saving There Are More Options
2022-04-03   2022-04-04 ght-savings-time-options-alternatives.html    Than You Might Think                         By Eduardo Medina                TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/03/us/sacr At Least 6 Dead in Mass Shooting in             By Andy Furillo Shawn Hubler and
2022-04-03   2022-04-04 amento-shooting-updates.html                  Sacramento                                   Eduardo Medina                   TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/03/us/state- New Laws Reveal Wide Chasm As States
2022-04-03   2022-04-04 laws-republican-democrat-division.html        Veer to Left or Right                        By Shawn Hubler and Jill Cowan TX 9-169-611      2022-06-01
                        https://www.nytimes.com/2022/04/03/world/a Fighting Was Easier for Taliban Than Upkeep By Thomas GibbonsNeff Yaqoob
2022-04-03   2022-04-04 sia/afghanistan-taliban-salang-pass.html      of Risky Pass                                Akbary and Kiana Hayeri          TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/03/world/a                                                 By Skandha Gunasekara and Emily
2022-04-03   2022-04-04 sia/sri-lanka-protests-curfew.html            Sri Lankas Cabinet Resigns as Unrest Grows Schmall                            TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/03/world/a With Harvest In Progress Taliban Banish         By Safiullah Padshah and Thomas
2022-04-03   2022-04-04 sia/taliban-opium-poppy-afghanistan.html      Poppy Trade                                  GibbonsNeff                      TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/03/world/e
                        urope/pro-putin-leaders-in-hungary-and-serbia In Hungary and Serbia Leaders Loyal to Putin By Andrew Higgins and Benjamin
2022-04-03   2022-04-04 election.html                                 Likely to Be Reelected                       Novak                            TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/03/world/e Scores of Bodies in Kyiv Suburb They Shot        By Carlotta Gall and Andrew E
2022-04-03   2022-04-04 urope/ukraine-russia-war-civilian-deaths.html Everyone They Saw                             Kramer                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/world/e Fleeing Northeast Occupiers Leave Bitter         By Thomas GibbonsNeff Natalia
2022-04-03   2022-04-04 urope/ukraine-war-russia-trostyanets.html     Memories in Wake                              Yermak and Tyler Hicks           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/world/i Pakistans Leader Dissolves Parliament            By Christina Goldbaum and Salman
2022-04-03   2022-04-04 mran-khan-pakistan.html                       Blocking a Vote to Remove Him                 Masood                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/03/wo Ukraine Accuses Russian Soldiers of War          By Carlotta Gall Andrew E Kramer
2022-04-03   2022-04-04 rld/ukraine-russia-war/ukraine-russia-war     Atrocities                                    and Natalie Kitroeff             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/arts/mu
                        sic/grammy-awards-jon-batiste-silk-
2022-04-04   2022-04-04 sonic.html                                    The Back to Nearly Normal Awards Show         By Ben Sisario                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/03/sports/n
                        caabasketball/south-carolina-uconn-           South Carolina Turns the Title Match Into a
2022-04-04   2022-04-04 championship.html                             Mismatch                                      By Alan Blinder                 TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/03/theater/
2022-04-04   2022-04-04 paradise-square-review.html                   History Hammered Home                         By Jesse Green                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/arts/tele
                        vision/whats-on-tv-this-week-a-pair-of-new-
2022-04-04   2022-04-04 docs-and-killing-eve.html                     This Week on TV                               By Gabe Cohn                    TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/busines
2022-04-04   2022-04-04 s/rally-jameel-women.html                     Licensed to Drive and Now Going OffRoad       By Lyn Woodward                 TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/fashion
2022-04-04   2022-04-04 /watches-audemars-piguet-switzerland.html The outside influence                             By Robin Swithinbank            TX 9-169-611    2022-06-01




                                                                                   Page 3583 of 5793
                        https://www.nytimes.com/2022/04/04/sports/b Beasts of East Are Set to Pack A Mightier
2022-04-04   2022-04-04 aseball/american-league-preview.html        Roar                                        By Benjamin Hoffman             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/sports/b
2022-04-04   2022-04-04 aseball/mike-montgomery-mets.html           A Golden Moment But the Glitter Fades       By Tyler Kepner                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/sports/b The Sounds of Baseball Crack Pop and
2022-04-04   2022-04-04 aseball/mlb-season-preview.html             ChaChing                                    By James Wagner                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/sports/b Breaking Bank Will It Help Mets Break
2022-04-04   2022-04-04 aseball/national-league-preview.html        Through                                     By Benjamin Hoffman             TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/04/sports/b
2022-04-04   2022-04-04 asketball/rex-chapman-cnn-basketball.html   Living a Dream Hes Not Certain He Deserves By Brandon Sneed                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/us/aunt- Georgia Town Confronts Legacy Of
2022-04-04   2022-04-04 fannys-cabin-georgia.html                   PlantationThemed Restaurant                  By Tariro Mzezewa              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/world/e Days Before the French Election Le Pen Sees
2022-04-04   2022-04-04 urope/french-election-le-pen-macron.html    a Surge in the Polls                         By Roger Cohen                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/28/science Guardian of the Swamp EggLoving Bobcat
2022-03-28   2022-04-05 /bobcat-python-eggs.html                    Gives Hope Against A Python Invasion         By Matt Kaplan                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/science Hubble Telescope Spots the Earliest Star Ever
2022-03-30   2022-04-05 /hubble-star-big-bang.html                  Seen                                         By Kenneth Chang               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/well/liv                                              By Tara ParkerPope and Knvul
2022-03-30   2022-04-05 e/ba2-omicron-covid.html                    Safety Measures For a Covid Wave             Sheikh                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/well/m
2022-03-30   2022-04-05 ove/exercise-mental-health.html             Moving the Body to Heal the Mind             By Gretchen Reynolds           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/movies/
2022-04-01   2022-04-05 caleb-landry-jones-interview-nitram.html    He Relishes Difficult Roles                  By Amy Nicholson               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/movies/
2022-04-01   2022-04-05 stephen-sondheim-films.html                 But Did It Translate To the Film Screen      By Kyle Turner                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/busines How One Man Helped Convert US From a
2022-04-02   2022-04-05 s/dealbook/ned-johnson-fidelity.html        Nation of Savers Into a Nation of Investors  By Joe Nocera                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/science Worlds We Can Only Wonder About           for
2022-04-02   2022-04-05 /nasa-exoplanets-5000.html                  Now                                          By Becky Ferreira              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/movies/ Michelle Materre 67 Backer of Black Women
2022-04-03   2022-04-05 michelle-materre-dead.html                  Making Independent Films                     By Annabelle Williams          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/science
2022-04-03   2022-04-05 /ocean-plastic-animals.html                 DeepSea Disruption                           By Sabrina Imbler              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/world/a ExWorld Bank Official Elected to Lead Costa By Anatoly Kurmanaev and David
2022-04-03   2022-04-05 mericas/costa-rica-election.html            Rica                                         Bolaos                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/theater/
2022-04-04   2022-04-05 balkan-bordello-review.html                 A Cycle of Violence Revisited Once Again By Laura CollinsHughes             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/world/a                                               By Alexandra Stevenson and
2022-04-04   2022-04-05 sia/hong-kong-carrie-lam-covid.html         Hong Kongs Leader Will Not Seek New Term Tiffany May                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/arts/mu Anne Parsons Who Rejuvenated Detroit
2022-04-04   2022-04-05 sic/anne-parsons-dead.html                  Symphony Is Dead at 64                       By Javier C Hernndez           TX 9-169-611   2022-06-01




                                                                                 Page 3584 of 5793
                                                                                                               By Joe Coscarelli Vanessa
                        https://www.nytimes.com/2022/04/04/arts/mu                                             Friedman Isabelia Herrera Jon
2022-04-04   2022-04-05 sic/grammys-best-worst.html                At the Grammys the Moments Were Many        Pareles and Lindsay Zoladz       TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/arts/mu
2022-04-04   2022-04-05 sic/grammys-silk-sonic-lady-gaga.html      Idolizing Youth Rewarding Maturity          By Jon Caramanica                TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/arts/mu
2022-04-04   2022-04-05 sic/jon-batiste-grammys.html               Tapping the Power of Feeling Good           By Giovanni Russonello           TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/books/b                                             By Elizabeth A Harris and
2022-04-04   2022-04-05 anned-books-libraries.html                 Book Banning Surged in 2021                 Alexandra Alter                  TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/04/books/r Its Just There Like the Queen Pubs and Big
2022-04-04   2022-04-05 eview-bbc-century-on-air-david-hendy.html Ben                                          By Dwight Garner                 TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/busines Government Steers Focus Off Witness In
2022-04-04   2022-04-05 s/1mdb-trial-roger-ng.html                 1MDB Trial                                  By Matthew Goldstein             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/busines In China Seeking Answers After a Planes
2022-04-04   2022-04-05 s/china-eastern-boeing-crash.html          Vertical Fall                               By Keith Bradsher                TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/busines
2022-04-04   2022-04-05 s/ford-stellantis-car-sales.html           Fords Sales Hampered by Shortages           By Neal E Boudette               TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/busines How Russia Has Avoided Defaulting On Its
2022-04-04   2022-04-05 s/russia-debt-bonds.html                   Debt                                        By Eshe Nelson                   TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/busines Turning Off Russian Gas Is Remaking The
2022-04-04   2022-04-05 s/russia-europe-natural-gas.html           Market                                      By Stanley Reed                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/busines Starbucks Halts Stock Buybacks Aiming to By Andrew Ross Sorkin and
2022-04-04   2022-04-05 s/starbucks-buybacks-schultz.html          Put More Profit Into Our People             Lauren Hirsch                    TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/busines Wall Streets Rigid Culture Bends to Demands
2022-04-04   2022-04-05 s/wall-street-remote-work.html             for Flexibility                             By Lananh Nguyen                 TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/climate                                             By Brad Plumer and Raymond
2022-04-04   2022-04-05 /climate-change-ipcc-un.html               Fossil Fuels Must Be Cut Faster Panel Warns Zhong                            TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/nyregio Mother of Boy Slain in Car Urges Witnesses
2022-04-04   2022-04-05 n/brooklyn-shooting-eric-adams.html        to Speak Up                                 By Troy Closson                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/nyregio
                        n/homeless-people-subway-transit-          Lessons From Other Cities on the
2022-04-04   2022-04-05 systems.html                               Homelessness Crisis                         By Michael Gold and Erin Woo     TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/nyregio Judge Pauses Lower Courts Decision To Toss
2022-04-04   2022-04-05 n/redistricting-stay-new-york.html         New York Redistricting Maps                 By Nicholas Fandos               TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/04/nyregio Dating Coach Charged in Capitol Riot Gets
2022-04-04   2022-04-05 n/samuel-fisher-brad-holiday-january-6.html Prison for Gun Crime                       By Sarah Maslin Nir              TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/opinion
2022-04-04   2022-04-05 /amazon-union-staten-island.html            A Small Earthquake on Staten Island        By Paul Krugman                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/04/opinion
2022-04-04   2022-04-05 /biden-trump-desantis-disney.html           Who Are We Betting On                      By Gail Collins and Bret Stephens TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/opinion
                        /environment/california-drought-            Californias Drought Is Worse Than We
2022-04-04   2022-04-05 wildfires.html                              Thought                                    By Andrew Schwartz               TX 9-169-611    2022-06-01



                                                                               Page 3585 of 5793
                        https://www.nytimes.com/2022/04/04/opinion
2022-04-04   2022-04-05 /furries-culture-war.html                   Why Are People Falling for the Furries Myth By Michelle Goldberg              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/science                                               By Elizabeth Preston and Matt
2022-04-04   2022-04-05 /octopus-model-mbl.html                     Preparing an Octopus For a Scientific Career Cosby                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/sports/b
                        aseball/terry-francona-cleveland-           After Rough Two Years Francona Savors
2022-04-04   2022-04-05 guardians.html                              Return and Both Shoes                        By Scott Miller                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/sports/b Tommy Davis Batting Champion for
2022-04-04   2022-04-05 aseball/tommy-davis-dead.html               Dominant Dodgers Dies at 83                  By Glenn Rifkin                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/sports/b Gene Shue 90 an AllStar And Coach Who
2022-04-04   2022-04-05 asketball/gene-shue-dead.html               Was Part Of the NBA for 7 Decades            By Richard Goldstein             TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/04/sports/n
2022-04-04   2022-04-05 caabasketball/dawn-staley-south-carolina.html Staley Is Building a New Gold Standard    By Remy Tumin                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/sports/n
                        caabasketball/march-madness-nil-deals-        First Come Endorsements Then Come the Tax
2022-04-04   2022-04-05 taxes.html                                    Bills                                     By Billy Witz                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/sports/n
2022-04-04   2022-04-05 caabasketball/uconn-loss.html                 UConn Goes From Dynasty To a Drought      By Natalie Weiner                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/sports/s FIFA President Doesnt Succeed but Hell Try
2022-04-04   2022-04-05 occer/biennial-world-cup-fifa.html            Try Again                                 By Tariq Panja                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/sports/t Whether Hitting Ramp or Standing on a Stage
2022-04-04   2022-04-05 ony-hawk-documentary.html                     Hawk Still Has a Story to Tell            By Bret Anthony Johnston          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/technol Musk Ties the Knot With His Favorite
2022-04-04   2022-04-05 ogy/elon-musk-twitter.html                    Platform                                  By Mike Isaac and Lauren Hirsch   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/theater/
2022-04-04   2022-04-05 playwrights-horizon-season.html               Playwrights Horizons New Season           By Rachel Sherman                 TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/04/us/park Jury Selection Begins in Sentencing Trial for
2022-04-04   2022-04-05 land-gunman-jury-selection-sentencing.html Parkland School Shooter                       By Patricia Mazzei               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/us/polit ICE Lawyers Directed to Clear LowPriority
2022-04-04   2022-04-05 ics/ice-immigration-cases.html              Cases                                        By Eileen Sullivan               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/us/polit
                        ics/ketanji-brown-jackson-judiciary-        Cracks Appear in GOPs Opposition to
2022-04-04   2022-04-05 committee.html                              Jackson                                      By Carl Hulse                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/us/polit
2022-04-04   2022-04-05 ics/maryland-redistricting-larry-hogan.html Maryland Adopts New Congressional Map        By Azi Paybarah                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/us/polit
                        ics/naomi-biden-white-house-wedding-        Bidens Will Host Granddaughters Wedding
2022-04-04   2022-04-05 reception.html                              Reception at the White House                 By Katie Rogers                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/us/polit Palin Knows How To Get Attention But Can By Blake Hounshell and Leah
2022-04-04   2022-04-05 ics/sarah-palin-trump-endorsement.html      She Win                                      Askarinam                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/us/polit Senate Agrees On Covid Aid Minus Shots For By Emily Cochrane Alexandra E
2022-04-04   2022-04-05 ics/senate-covid-vaccines.html              World                                        Petri and Aina J Khan            TX 9-169-611   2022-06-01




                                                                                 Page 3586 of 5793
                        https://www.nytimes.com/2022/04/04/us/polit Why Justices Must Reckon With Personal
2022-04-04   2022-04-05 ics/supreme-court-personal-precedents.html Precedents                                   By Adam Liptak                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/04/us/polit
                        ics/supreme-court-police-malicious-         Justices Rule Against Police In Malicious
2022-04-04   2022-04-05 prosecution.html                            Prosecution Suit                            By Adam Liptak                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/04/us/sacr 6 Killed in Sacramento Shooting Are          By Andy Furillo Emma Goldberg
2022-04-04   2022-04-05 amento-shooting-victims.html                Identified                                  and Thomas Fuller               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/04/well/co Custody Issues May Snarl Vaccination
2022-04-04   2022-04-05 vid-vaccine-divorced-parents.html           Process                                     By Debra Kamin                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/04/world/a Alarm Over Groups Report Of Massacre in
2022-04-04   2022-04-05 frica/killing-moura-mali.html               Central Mali                                By Elian Peltier                TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/04/world/a Court Upholds Term for Hotel Rwanda
2022-04-04   2022-04-05 frica/rwanda-paul-rusesabagina-sentence.html Dissident                                    By Abdi Latif Dahir             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/world/a Beijing Campaign Casts Russia As the Wests
2022-04-04   2022-04-05 sia/china-russia-ukraine.html                Longtime Victim                              By Chris Buckley                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/world/a Sri Lankans Increase Calls for President to    By Skandha Gunasekara and Emily
2022-04-04   2022-04-05 sia/sri-lanka-protests-rajapaksa.html        Quit                                         Schmall                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/world/e                                                By Anton Troianovski and Matina
2022-04-04   2022-04-05 urope/biden-putin-ukraine-war.html           Horror Grows Over Slaughter in Ukraine       StevisGridneff                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/world/e Residents Stagger Outside After Month of
2022-04-04   2022-04-05 urope/ukraine-nova-basan-russia.html         Agony                                        By Carlotta Gall                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/world/e Looking for an Elusive Victory Putins Forces By Thomas GibbonsNeff and Tyler
2022-04-04   2022-04-05 urope/ukraine-war-east-russia.html           Are Shifting East                            Hicks                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/sports/n
                        caabasketball/kansas-unc-ncaa-
2022-04-05   2022-04-05 championship.html                            Rock Shock                                   By Billy Witz                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/theater/
2022-04-05   2022-04-05 take-me-out-review.html                      Taking the Field Against Bigotry             By Jesse Green                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/science
2022-04-05   2022-04-05 /education-learning-challenge.html           Learning the Right Way to Struggle in School By Jenny Anderson               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/well/liv
2022-04-05   2022-04-05 e/covid-test-expiration-date.html            Do Home Covid Tests Expire                   By Tara ParkerPope              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/world/e
2022-04-05   2022-04-05 urope/russia-ukraine-war-atrocities.html     Dead for Days In the Streets Hands Bound     By Rick Gladstone               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/books/l
2022-03-30   2022-04-06 gbtq-romance-novels.html                     I Just Want Something Thats Gay And Happy By Elizabeth A Harris              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/dining/
2022-03-31   2022-04-06 drinks/bordeaux-wines-vignerons.html         A Farmers Dozen From Bordeaux                By Eric Asimov                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/dining/
                        drinks/drink-lightly-cocktail-book-natasha-
2022-03-31   2022-04-06 david-nitecap.html                           Memories of a Bar Poured Into a Book         By Robert Simonson              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/arts/bu Budi Tek Whose Fortune Built a Vast Trove
2022-04-01   2022-04-06 di-tek-dead.html                             of Asian Art Dies at 65                      By Clay Risen                   TX 9-169-611   2022-06-01



                                                                                Page 3587 of 5793
                        https://www.nytimes.com/2022/04/01/dining/
2022-04-01   2022-04-06 passover-dessert-matzo.html                MatzoBased Brittle for the Modern Age       By Joan Nathan                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/dining/
2022-04-01   2022-04-06 passover-onion-and-rice-casserole.html     Ordinary Flavors Can Turn Exquisite         By Melissa Clark                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/arts/mu Tabby Diamond 66 and Bunny Diamond 70
2022-04-03   2022-04-06 sic/mighty-diamonds-dead.html              Reggae Stars Are Dead                       By Clay Risen                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/03/opinion
2022-04-03   2022-04-06 /ukraine-war-cultural-heritage.html        We Will Fight for Every Brick               By Katerina Sergatskova             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/books/l Lygia Fagundes Telles 98 Novelist Exploring
2022-04-04   2022-04-06 ygia-fagundes-telles-dead.html             Womens Sexuality in Brazil                  By Michael Astor                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/dining/ To Indulge Barachou Expands Its Pastry
2022-04-04   2022-04-06 barachou-pastry-shop.html                  Offerings                                   By Florence Fabricant               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/dining/ To Give Filled Chocolate Eggs That Dazzle
2022-04-04   2022-04-06 chocolate-easter-eggs.html                 With Color                                  By Florence Fabricant               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/dining/
                        dead-rabbit-austin-new-orleans-hazel-and-
2022-04-04   2022-04-06 apple.html                                 The Dead Rabbit Is Expanding and Pivoting By Robert Simonson                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/dining/ To SipThese New Mezcals Come With a
2022-04-04   2022-04-06 drinks/fosforo-tobala-mezcal.html          Twist                                       By Robert Simonson                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/dining/ To Serve Easter Sunday Brunch With a
2022-04-04   2022-04-06 ham-easter-brunch.html                     Tennessee Touch                             By Florence Fabricant               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/dining/ To Prepare A Delivery Option For Kosher
2022-04-04   2022-04-06 kosher-meat-passover.html                  Meat                                        By Florence Fabricant               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/04/dining/
2022-04-04   2022-04-06 pizzeria-sei-los-angeles-neapolitan-pizza.html Neapolitan Pizza With Help From Tokyo       By Tejal Rao                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/dining/
                        sourdough-by-science-karyn-lynn-               To Bake Details for Understanding The
2022-04-04   2022-04-06 newman.html                                    Science of Sourdough                        By Florence Fabricant           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/movies/ Growing Up on TV and Then Growing to
2022-04-04   2022-04-06 cole-sprouse-moonshot.html                     Like It                                     By Ashley Spencer               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/opinion As Pandemic Eases Millions Could Lose
2022-04-04   2022-04-06 /covid-medicaid-loss.html                      Health Coverage                             By Elisabeth Rosenthal          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/sports/g
2022-04-04   2022-04-06 olf/tiger-woods-1997-masters.html              Four Days That Changed Golf                 By Bill Pennington              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/theater/ Bridgerton Musical Rides TikTok to Grammy
2022-04-04   2022-04-06 bridgerton-musical-grammy.html                 Gold                                        By Julia Jacobs                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/busines Aiming to Change Twitter Musk Joins Its         By Kate Conger Mike Isaac and
2022-04-05   2022-04-06 s/twitter-elon-musk-directors.html             Board                                       Lauren Hirsch                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/sports/n
                        caabasketball/david-mccormack-kansas-
2022-04-05   2022-04-06 unc.html                                       A Big Man For Kansas Delivers In the Clutch By Adam Zagoria                 TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/04/sports/n In the Title Game a Transfer Shows The
2022-04-05   2022-04-06 caabasketball/remy-martin-kansas-unc.html Jayhawks What He Can Do                        By Alanis Thames                  TX 9-169-611   2022-06-01



                                                                                 Page 3588 of 5793
                        https://www.nytimes.com/2022/04/05/arts/ala Alan Hruska 88 Lawyer Who CoFounded
2022-04-05   2022-04-06 n-j-hruska-dead.html                          Soho Press                                   By Sam Roberts                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/arts/des
                        ign/wojnarowicz-ppow-gallery-art-
2022-04-05   2022-04-06 delage.html                                   A Love Captured                              By Arthur Lubow                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/arts/tele
2022-04-05   2022-04-06 vision/louis-ck-grammy-backlash.html          Louis CKs Win Draws Backlash                 By Melena Ryzik                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/books/p A Gathering Will Explore Literary Rebukes to
2022-04-05   2022-04-06 en-world-voices.html                          Turmoil and Brutality                        By Alexandra Alter               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/books/r
                        eview-it-was-vulgar-beautiful-aids-gran-fury-
2022-04-05   2022-04-06 jack-lowery.html                              Battling Indifference With Paste and Posters By Alexandra Jacobs              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/busines
2022-04-05   2022-04-06 s/ann-sarnoff-warner-bros.html                Chief of Warner Bros Is Said to Be Leaving By Brooks Barnes                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/busines Freight Haulers Offer Training But Theres a By Sarah Butrymowicz and
2022-04-05   2022-04-06 s/economy/trucker-training.html               Catch for Drivers                            Meredith Kolodner                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/busines Russia Is Half Our Business Or at Least It
2022-04-05   2022-04-06 s/europe-exports-russia.html                  Used to Be                                   By Liz Alderman                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/busines Germany Finds It Hard To Drop Russian
2022-04-05   2022-04-06 s/germany-russia-oil-gas-coal.html            Energy                                       By Melissa Eddy                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/busines                                                 By Lauren Hirsch Anupreeta Das
2022-04-05   2022-04-06 s/jetblue-spirit-frontier.html                JetBlue Bids 36 Billion To Buy Spirit        and Niraj Chokshi                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/busines
                        s/media/jason-kilar-warnermedia-              Head of WarnerMedia Is Departing as
2022-04-05   2022-04-06 discovery.html                                Discovery Team Prepares to Step In           By John Koblin                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/busines Biden to Extend Pause on Student Loans to By Zolan KannoYoungs and Stacy
2022-04-05   2022-04-06 s/student-loan-pause-pandemic.html            September                                    Cowley                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/busines
2022-04-05   2022-04-06 s/twitter-policy-ukraine.html                 Twitter To Tighten War Rules On Posts        By Erin Woo                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/climate
2022-04-05   2022-04-06 /epa-asbestos-ban.html                        EPA to Propose Restrictions on Asbestos      By Lisa Friedman                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/climate Weather Balloon Flight Cuts Could Hurt
2022-04-05   2022-04-06 /weather-forecast-data.html                   Forecasting                                  By Henry Fountain                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/dining/
2022-04-05   2022-04-06 black-jews-passover-seder.html                A Seat at the Seder                          By Kayla Stewart                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/dining/
2022-04-05   2022-04-06 mena-review-victoria-blamey.html              Chef Gets a Place That Fits Her Talent       By Pete Wells                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/dining/ The Lambs Club Reopens With Michael
2022-04-05   2022-04-06 nyc-restaurant-openings.html                  White as Executive Chef                      By Florence Fabricant            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/movies/ In British Colonial India A Hero or Two Shall
2022-04-05   2022-04-06 rrr-review.html                               Rise                                         By Nicolas Rapold                TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/05/nyregio Mob Hit Man Who Escaped Is Recaptured A
2022-04-05   2022-04-06 n/dominic-taddeo-florida-prison-escape.html Week Later                             By Jesse McKinley                        TX 9-169-611   2022-06-01




                                                                                Page 3589 of 5793
                        https://www.nytimes.com/2022/04/05/nyregio New York City Enters the Electric Vehicle       By Winnie Hu Nadav Gavrielov
2022-04-05   2022-04-06 n/nyc-electric-vehicle-evs.html            Age but Slowly                                  and Jack Ewing                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/nyregio
2022-04-05   2022-04-06 n/woman-shot-bronx.html                    Woman Is Fatally Shot in Bronx Crossfire        By Mike Ives                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/opinion
2022-04-05   2022-04-06 /joe-biden-putin.html                      Biden Is Still Right Putin Has to Go            By Bret Stephens                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/opinion
2022-04-05   2022-04-06 /romney-manchin-senate-covid.html          Can Congress Agree on Spending                  By Michelle Cottle               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/05/science Orbital Fleet Warily Eyes Russias Atomic
2022-04-05   2022-04-06 /nuclear-weapon-russia-satellite-tracking.html Arsenal                                     By William J Broad               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/science Terry Wallis 57 Brain Injury Unicorn Who
2022-04-05   2022-04-06 /terry-wallis-dead.html                        Awoke 19 Years After an Accident            By Richard Sandomir              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/sports/b No Longer Stuck In Revolving Door To the
2022-04-05   2022-04-06 aseball/louis-head-miami-marlins.html          Minors                                      By Tyler Kepner                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/sports/b
2022-04-05   2022-04-06 aseball/pitchcom-sign-stealing.html            MLB Goes Wireless To Fight Sign Stealing    By David Waldstein               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/sports/b A Torch Is Passed One Electric Arm to
2022-04-05   2022-04-06 aseball/walker-buehler-dodgers.html            Another                                     By Scott Miller                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/sports/g
2022-04-05   2022-04-06 olf/masters-invitations.html                   The Masters Ritual Thats in the Mail        By Alan Blinder and Doug Mills   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/sports/g Woods Plans to Play 14 Months After            By Bill Pennington and Alan
2022-04-05   2022-04-06 olf/tiger-woods-masters.html                   Devastating Car Accident                    Blinder                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/sports/s
                        occer/manchester-city-atletico-madrid-         For Atltico Madrid the Best Defense Is a
2022-04-05   2022-04-06 champions-league.html                          Good Defense                                By Rory Smith                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/theater/ On a Road Trip Trouble Ahead and Trouble
2022-04-05   2022-04-06 garbageman-review.html                         Behind                                      By Laura CollinsHughes           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/us/polit
                        ics/coronavirus-pandemic-aid-                  Covid Bill Stalls in Senate Over Border
2022-04-05   2022-04-06 immigration.html                               Restrictions                                By Emily Cochrane                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/us/polit New Filing by Counsel Might Strengthen
2022-04-05   2022-04-06 ics/durham-sussmann-trump.html                 Case In TrumpEra Inquiry                    By Charlie Savage                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/us/polit                                                By Blake Hounshell and Leah
2022-04-05   2022-04-06 ics/eric-greitens-missouri-senate.html         Will Greitens Keep Hanging On in Missouri   Askarinam                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/us/polit Upton Is 4th GOP Trump Critic to Leave
2022-04-05   2022-04-06 ics/fred-upton-congress-retirement.html        Congress                                    By Shane Goldmacher              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/us/polit
2022-04-05   2022-04-06 ics/ivanka-trump-jan-6.html                    Daughter Of Trump Testifies For 8 Hours     By Luke Broadwater               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/us/polit
2022-04-05   2022-04-06 ics/obama-biden-obamacare.html                 The Days Schedule Obama and Obamacare       By Katie Rogers                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/us/polit Federal Jan 6 Inquiry Could Involve Scores     By Alan Feuer Luke Broadwater
2022-04-05   2022-04-06 ics/trump-allies-january-6.html                Of Potential Witnesses                      and Maggie Haberman              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/us/polit Experts Believe Hackers Are Targeting
2022-04-05   2022-04-06 ics/ukraine-russia-hackers.html                Ukraine With Misinformation Effort          By Kate Conger                   TX 9-169-611   2022-06-01



                                                                                  Page 3590 of 5793
                        https://www.nytimes.com/2022/04/05/world/a Trial Begins for Militia Leader Accused of    By Marlise Simons and Isabella
2022-04-05   2022-04-06 frica/darfur-janjaweed-trial-icc.html      War Crimes in Sudans West                     Kwai                                 TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/05/world/a Hundreds Missing and Tons of Rubble to
2022-04-05   2022-04-06 sia/ukraine-civilians-russia-borodyanka.html Clear                                       By Carlotta Gall and Ivor Prickett   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/05/world/c Canada Moves to Make Web Giants Pay
2022-04-05   2022-04-06 anada/revenue-sharing-facebook-google.html News Media                                    By Ian Austen and Vjosa Isai         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/world/e Death of Jewish Man Fleeing Attack Fuels
2022-04-05   2022-04-06 urope/jewish-death-france-election.html        Outrage Ahead of French Election          By Aurelien Breeden                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/world/e For Macron the Troubles of Frances Industrial
2022-04-05   2022-04-06 urope/macron-france-election-amiens.html       Sector Hit Home                           By Norimitsu Onishi                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/world/e Families Are Moving Back to Ukraine
2022-04-05   2022-04-06 urope/ukraine-refugee-war-return.html          Despite the Risks                         By Jane Arraf                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/world/e In Scathing Speech Zelensky Chastises UN
2022-04-05   2022-04-06 urope/zelensky-un-security-council.html        for Inaction                              By Richard PrezPea                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/okla
2022-04-05   2022-04-06 homa-abortion-ban.html                         NearTotal Ban on Abortion in Oklahoma     By Michael Levenson                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/05/wo
                        rld/ukraine-russia-war/after-russian-advances-
                        us-britain-and-australia-expand-partnership-to-US Australia and Britain Announce
2022-04-05   2022-04-06 develop-hypersonic-missiles                    Cooperation on Hypersonic Weapons         By Julian E Barnes                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/us/polit Fox News of a Furry Sort Draws Eyeballs on
2022-04-06   2022-04-06 ics/fox-capitol-hill.html                      the Hill                                  By Chris Cameron                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/busines
2022-04-06   2022-04-06 s/vertical-farms-food.html                     Inside the Rise of Indoor Vertical Farms  By Amy Zipkin                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/health/a Inside a Campaign for Medicare Coverage of
2022-04-06   2022-04-06 duhelm-alzheimers-medicare-patients.html       a New Alzheimers Drug                     By Pam Belluck                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/insider/
2022-04-06   2022-04-06 following-our-audience-to-telegram.html        Following Our Audience to Telegram        By Sarah Diamond                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/opinion
2022-04-06   2022-04-06 /viktor-orban-hungary-election.html            Orban Wants to Protect Hungary From What By Andrs BrNagy                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/abor Pills Are New Target in 50Year Abortion
2022-04-06   2022-04-06 tion-pills.html                                Battle                                    By Kate Zernike                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/world/e Germany Strains to Wean Itself Off Gas
2022-04-06   2022-04-06 urope/germany-gas-russia-ukraine.html          Imports Subsidizing War                   By Katrin Bennhold                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/world/p What Does Putin Actually Own Its Hard to
2022-04-06   2022-04-06 utin-russia-assets-wealth-sanctions.html       Tell                                      By Mike McIntire                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/style/fo
2022-04-01   2022-04-07 ur-day-workweek-friday.html                    An Extra Day Each Week All for Themselves By Alyson Krueger                    TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/04/style/je
2022-04-04   2022-04-07 nnifer-venditti-euphoria-casting-director.html Hmm Nice Head Shot Maybe Shell Cast You By Jon Caramanica                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/arts/tele
2022-04-05   2022-04-07 vision/june-brown-dead.html                    June Brown 95 a Star of EastEnders      By Neil Genzlinger                     TX 9-169-611   2022-06-01



                                                                                 Page 3591 of 5793
                        https://www.nytimes.com/2022/04/05/busines
2022-04-05   2022-04-07 s/economy/recession-economy.html             In Economy That Booms Fears of Bust         By Ben Casselman                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/movies/
2022-04-05   2022-04-07 oscars-black-hair-chris-rock.html            The Slap Hair and Black Women               By Farah Fleurima               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/movies/
2022-04-05   2022-04-07 richard-linklater-sandra-adair.html          Careers Steeped In Film Footage             By Sean Malin                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/opinion Amazon Tried One of the Oldest Tricks in the
2022-04-05   2022-04-07 /amazon-labor-union-staten-island.html       Book and It Backfired                       By Jamelle Bouie                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/opinion College Has Become the Default Lets Rethink
2022-04-05   2022-04-07 /college-high-school.html                    That                                        By John McWhorter               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/opinion
2022-04-05   2022-04-07 /pandemic-home-going-out.html                Im Ready for Life to Be Less Convenient     By Michal Leibowitz             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/style/ho
2022-04-05   2022-04-07 tel-life-without-the-hotel.html              Feeling Away From Home but at Home          By Marisa Meltzer               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/world/e Video Captures Russians Gunning Down a        By Malachy Browne and Dmitriy
2022-04-05   2022-04-07 urope/bucha-shooting-video.html              Cyclist                                     Khavin                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/arts/mu Bobby Rydell a Teenage Idol With Enduring
2022-04-06   2022-04-07 sic/bobby-rydell-dead.html                   Appeal Is Dead at 79                        By Michael Pollak               TX 9-169-611   2022-06-01
                                                                     New York Judge Dies by Suicide After
                        https://www.nytimes.com/2022/04/05/nyregio Facing Scrutiny Amid Federal Prosecution of By Ed Shanahan and Jesse
2022-04-06   2022-04-07 n/judge-john-michalski-dead-buffalo.html     Former Client                               McKinley                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/arts/des
                        ign/ammann-art-collection-christies-         Christies to Sell Entire Ammann Art
2022-04-06   2022-04-07 auction.html                                 Collection                                  By Robin Pogrebin               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/arts/des
                        ign/bronx-museum-jamel-shabazz-
2022-04-06   2022-04-07 photography.html                             The HipHop Streets Were His Studio          By Arthur Lubow                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/arts/mu
2022-04-06   2022-04-07 sic/olivia-rodrigo-sour-tour-review.html     A Pop Stars Punky Heartbreak Revue          By Jon Caramanica               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/arts/tele Nehemiah Persoff 102 Familiar Face And
2022-04-06   2022-04-07 vision/nehemiah-persoff-dead.html            Voice on TV and in Films Dies               By Joseph Berger                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/arts/tele
2022-04-06   2022-04-07 vision/tokyo-vice-review.html                Exoticism Finessed With Distinctive Style   By Mike Hale                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/books/r
                        eview-ludwig-wittgenstein-private-notebooks-
2022-04-06   2022-04-07 1914-1916.html                               Enduring Burdens As Insights Bloom          By Jennifer Szalai              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/busines
2022-04-06   2022-04-07 s/economy/fed-minutes-march-2022.html        Many at Fed Supported Big Increase In Rates By Jeanna Smialek               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/06/busines Student Loan Moratorium and Inflation Fight
2022-04-06   2022-04-07 s/economy/student-loan-pause-inflation.html Are at CrossPurposes                       By Jeanna Smialek                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/busines                                             By Alan Rappeport and Katie
2022-04-06   2022-04-07 s/economy/yellen-russia-sanctions.html      Yellen Seeking Maximum Pain for Russia     Rogers                            TX 9-169-611   2022-06-01




                                                                               Page 3592 of 5793
                        https://www.nytimes.com/2022/04/06/busines
                        s/energy-environment/gas-prices-executives-                                            By Annie Karni and Clifford
2022-04-06   2022-04-07 congress.html                               Big Oil Deflects Blame for Gas Prices      Krauss                              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/busines
2022-04-06   2022-04-07 s/russia-coal-europe.html                   Europe Weighs a Ban On Coal From Russia By Melissa Eddy                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/busines Report Shines Light on Violence Against Gig
2022-04-06   2022-04-07 s/uber-lyft-driver-deaths.html              Drivers                                    By Kellen Browning                  TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/06/nyregio Sarah Lawrence Cult Leader Is Convicted of
2022-04-06   2022-04-07 n/sarah-lawrence-cult-lawrence-ray-trial.html Trafficking and Extortion               By Colin Moynihan                    TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/06/nyregio Shootings Rise in Years First Quarter Despite
2022-04-06   2022-04-07 n/shootings-new-york-city-safety.html       Pledges to Stem Violence in the City         By Ali Watkins and Troy Closson   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/opinion
2022-04-06   2022-04-07 /covid-vaccine-republicans.html             The GOP Failed the Unvaccinated              By Ross Douthat                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/sports/b Giants Recipe for Success Just Add Coaches
2022-04-06   2022-04-07 aseball/gabe-kapler-giants-coaches.html     and Stir                                     By Scott Miller                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/sports/b Rain Forces The Yankees To Postpone The
2022-04-06   2022-04-07 aseball/yankees-red-sox-postponed.html      Opener                                       By Benjamin Hoffman               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/06/sports/b Hes Got Hops and He Can Dance Like a
2022-04-06   2022-04-07 asketball/knicks-quentin-grimes-tiktok.html Dolphin                                    By David Gardner                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/sports/b
2022-04-06   2022-04-07 asketball/lakers-eliminated-playoffs.html    No Playoffs For James And Lakers          By Tania Ganguli                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/sports/f Attorneys General From 6 States Threaten   By Ken Belson and Katherine
2022-04-06   2022-04-07 ootball/nfl-sexual-harassment-women.html     Investigations of NFL                     Rosman                              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/sports/g
2022-04-06   2022-04-07 olf/augusta-national-masters-distance.html   The Masters grapples with technology      By Paul Sullivan                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/sports/g
2022-04-06   2022-04-07 olf/ben-crenshaw-masters.html                A master of the Masters                   By Paul Sullivan                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/sports/g Appearing at This Years Tournament Azaleas
2022-04-06   2022-04-07 olf/masters-augusta-national-inflation.html  Green Jackets and Inflation               By Alan Blinder                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/sports/g
2022-04-06   2022-04-07 olf/masters-famous-shots.html                Decades of unforgettable shots            By Michael Arkush                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/sports/h At the Frozen Four Michigans Team Is NHL
2022-04-06   2022-04-07 ockey/michigan-frozen-four-ncaa.html         Ready                                     By David Waldstein                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/sports/n With a Top Recruiting Class on the Way
2022-04-06   2022-04-07 caabasketball/jon-scheyer-duke.html          Duke Changes Coaches but Not Goals        By Adam Zagoria                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/sports/s
                        occer/chelsea-real-madrid-champions-         Late Bloomer Real Madrids Benzema Is
2022-04-06   2022-04-07 league.html                                  Impossible to Not Notice                  By Rory Smith                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/style/an
2022-04-06   2022-04-07 ya-taylor-joy.html                           How Anya TaylorJoy Soothes Herself        By Bee Shapiro                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/style/fif Supporting Black Designers at a BlackTie
2022-04-06   2022-04-07 teen-percent-pledge.html                     Affair                                    By Gina Cherelus                    TX 9-169-611   2022-06-01



                                                                                Page 3593 of 5793
                        https://www.nytimes.com/2022/04/06/style/liz
2022-04-06   2022-04-07 zo-big-grrrls-amazon.html                    Lizzo Recasts the Mold for Dancers           By Shane ONeill and Julia Jacobs   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/technol                                                By Brian X Chen and Daisuke
2022-04-06   2022-04-07 ogy/online-tracking-privacy.html             Youre Still Being Monitored                  Wakabayashi                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/technol
2022-04-06   2022-04-07 ogy/personaltech/text-scam-spam.html         Texting Scams Are All the Rage Erase Them By Brian X Chen                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/technol Pinterest Bans Falsehoods In Climate Posts
2022-04-06   2022-04-07 ogy/pinterest-climate-misinformation.html    and Ads                                      By Tiffany Hsu                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/amir- No Charges In Killing Of Black Man In
2022-04-06   2022-04-07 locke-shooting-no-charges.html               Minnesota                                    By Tim Arango                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/chris Growing Religious Fervor Suffuses Politics of By Elizabeth Dias and Ruth
2022-04-06   2022-04-07 tian-right-wing-politics.html                the American Right                           Graham                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/greg- Texas Governor Promises Hell Bus Migrants
2022-04-06   2022-04-07 abbott-texas-border-migrants.html            North To the Steps of the Capitol            By J David Goodman                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/jaco Iowa Man Who Faked Death In 16 to Avoid
2022-04-06   2022-04-07 b-greer-fake-death.html                      Trial Is Arrested                            By Johnny Diaz                     TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/06/us/polit Biden Voices Support for Amazon Workers
2022-04-06   2022-04-07 ics/biden-amazon-workers-labor-unions.html Who Voted to Unionize                           By Katie Rogers and Karen Weise   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/polit House Republican From Ohio To Retire After
2022-04-06   2022-04-07 ics/bob-gibbs-ohio-retire.html              Redistricting                                  By Azi Paybarah                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/polit Capitol Hill Fox That Bit 9 Tests Positive for
2022-04-06   2022-04-07 ics/capitol-hill-fox.html                   Rabies                                         By Chris Cameron                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/polit House Votes to Hold Pair of Trump Aides in
2022-04-06   2022-04-07 ics/january-6-scavino-navarro-trump.html    Contempt in Jan 6 Inquiry                      By Luke Broadwater                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/polit
                        ics/justice-department-russian-oligarch-    US Indicts An Oligarch Close to Putin On By Zach Montague and Benjamin
2022-04-06   2022-04-07 charged.html                                Sanctions                                      Weiser                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/polit Man Who Said Police Let Him Enter Capitol
2022-04-06   2022-04-07 ics/matthew-martin-capitol-acquittal.html   Is Acquitted                                   By Alan Feuer                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/polit
                        ics/republican-donors-rockbridge-network-   Dissatisfied With Party Rich Republican        By Kenneth P Vogel Shane
2022-04-06   2022-04-07 trump.html                                  Donors Form Secret Coalitions                  Goldmacher and Ryan Mac           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/polit Kremlin Rushing to Reposition Its Forces for By Eric Schmitt Julian E Barnes
2022-04-06   2022-04-07 ics/russia-military-ukraine-war.html        a Narrower Fight                               and Helene Cooper                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/polit New Russian Mines Create a Threat That We
2022-04-06   2022-04-07 ics/russia-ukraine-land-mines.html          Dont Have a Response For                       By John Ismay                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/polit Supreme Court Revives TrumpEra
2022-04-06   2022-04-07 ics/supreme-court-clean-water-act.html      Environmental Rule                             By Adam Liptak                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/polit
2022-04-06   2022-04-07 ics/tim-ryan-ohio-voters.html               Reaching for Ohios Exhausted Majority          By Jazmine Ulloa                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/polit                                                By Kate Conger and David E
2022-04-06   2022-04-07 ics/us-russia-malware-cyberattacks.html     US Says It Averted Russian Cyberattacks        Sanger                            TX 9-169-611   2022-06-01




                                                                                 Page 3594 of 5793
                        https://www.nytimes.com/2022/04/06/us/polit
2022-04-06   2022-04-07 ics/washington-covid-garland-raimondo.html Unease Over an Invisible Party Crasher     By Katie Rogers                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/sacr Sacramento Shooting Is Said to Be Gang
2022-04-06   2022-04-07 amento-shooting-suspects.html               Fight                                     By Andy Furillo and Thomas Fuller TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/ukra Ukrainians Join Migrants at Mexicos Border By Miriam Jordan and Mark
2022-04-06   2022-04-07 ine-refugees-us-border.html                 With US                                   Abramson                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/world/a
                        frica/burkina-faso-blaise-compaore-thomas- Burkina Faso Sentences ExPresident To Life
2022-04-06   2022-04-07 sankara.html                                Term                                      By Declan Walsh                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/world/a HardLiner Who Crushed Protests in Hong
2022-04-06   2022-04-07 sia/john-lee-hong-kong.html                 Kong Is Favored to Run City               By Austin Ramzy                   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/06/world/a Ukraine Conflict Revives Nuclear Arms
2022-04-06   2022-04-07 sia/ukraine-south-korea-nuclear-weapons.html Question In a Wary South Korea               By Choe SangHun             TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/06/world/e
                        urope/france-presidential-election-far-      Even Before the Vote the French Right Is aBy Norimitsu Onishi and Constant
2022-04-06   2022-04-07 right.html                                   Big Winner                                Mheut                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/world/e NATO Nations Split Over Strategy as         By Steven Erlanger and Michael
2022-04-06   2022-04-07 urope/nato-ukraine-russia.html               Conflict Enters a Precarious Phase        Crowley                          TX 9-169-611   2022-06-01
                                                                                                               By Anton Troianovski Ivan
                        https://www.nytimes.com/2022/04/06/world/e Body Bags and Death Notices Bring News of Nechepurenko and Valeriya
2022-04-06   2022-04-07 urope/russia-ukraine-war-casualties.html     War to Russians                           Safronova                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/world/e
2022-04-06   2022-04-07 urope/russian-diplomats-expelled.html        Countries Oust Moscows Spies              By Julian E Barnes               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/world/e For a Makeup Artist in Ukraine A Familiar
2022-04-06   2022-04-07 urope/ukraine-bucha-makeup-artist.html       Heartbreaking Image                       By Emma Bubola                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/world/e Exodus From East as Russians Shift Focus of By Megan Specia Cora Engelbrecht
2022-04-06   2022-04-07 urope/ukraine-civilians-moscow-war.html      Attacks                                   and Eric Schmitt                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/world/e Bread Blood and a Park Bench Traces of      By Thomas GibbonsNeff and
2022-04-06   2022-04-07 urope/ukraine-kharkiv-death.html             Lives Ended in a Blink                    Natalia Yermak                   TX 9-169-611   2022-06-01
                                                                                                               By Neil MacFarquhar Anton
                        https://www.nytimes.com/2022/04/06/world/e Vladimir V Zhirinovsky 75 a Firebrand       Troianovski and Ivan
2022-04-06   2022-04-07 urope/vladimir-zhirinovsky-dead.html         Known for His Antics in Russian Politics  Nechepurenko                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/world/ Key Israeli Lawmaker Quits Coalition         By Patrick Kingsley and Isabel
2022-04-06   2022-04-07 middleeast/idit-silman-israel-coalition.html Throwing the Government Into Crisis       Kershner                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/theater/
2022-04-07   2022-04-07 suffs-review-public-theater.html             Ravenous To Cast A Vote                   By Maya Phillips                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/polit Agencies Running Out Of Time to
2022-04-07   2022-04-07 ics/fda-coronavirus-vaccines-variants.html   Reconfigure Covid Vaccine for Fall        By Sharon LaFraniere             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/busines Amazon Unions Success Opens Labor
2022-04-07   2022-04-07 s/economy/amazon-union-labor.html            Leaders Eyes                              By Noam Scheiber                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/nyregio As Cases Climb New Yorkers Ask if Its Time By Joseph Goldstein and Sharon
2022-04-07   2022-04-07 n/omicron-variant-ba2.html                   to Worry Again                            Otterman                         TX 9-169-611   2022-06-01




                                                                                  Page 3595 of 5793
                        https://www.nytimes.com/2022/04/07/style/ri
2022-04-07   2022-04-07 hanna-pregnancy-fashion.html                  Pregnancy Politics and Style              By Vanessa Friedman                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/insider/
                        i-reported-on-covid-for-two-years-then-i-got-
2022-04-07   2022-04-07 it.html                                       I Reported on Covid Then I Got It         By Apoorva Mandavilli               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/05/arts/ton
2022-04-05   2022-04-08 y-hawk-until-the-wheels-fall-off-review.html Tony Hawk Until the Wheels Fall Off        By Glenn Kenny                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/books/
2022-04-05   2022-04-08 molly-shannon-book.html                      The Unsinkable Molly Shannon               By Dave Itzkoff                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/movies/
2022-04-05   2022-04-08 meat-the-future-review.html                  Meat the Future                            By Lena Wilson                      TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/06/arts/des
2022-04-06   2022-04-08 ign/ulysses-jenkins-video-artist-hammer.html Black Culture Without Whitewash            By Travis Diehl                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/arts/dor Doris Derby Dies at 82 Captured the Quiet
2022-04-06   2022-04-08 is-derby-dead.html                           Side Of the Civil Rights Era               By Penelope Green                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/arts/mu
2022-04-06   2022-04-08 sic/afrofuturism-festival.html               At Carnegie Hall an Energy Shift           By Giovanni Russonello              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/arts/mu
                        sic/kanye-west-coachella-swedish-house-      Coachella Replaces Kanye West as a
2022-04-06   2022-04-08 mafia-weeknd.html                            Headliner                                  By Joe Coscarelli and Ben Sisario   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/arts/mu
                        sic/momem-frankfurt-museum-of-modern-
2022-04-06   2022-04-08 electronic-music.html                        In Germany Techno Gets an Official Lift    By Thomas Rogers                    TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/06/busines                                             By Sameer Yasir Shalini
2022-04-06   2022-04-08 s/india-spinal-muscular-atrophy.html        Racing Against Time to Raise Money         Venugopal Bhagat and Sara Hylton TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/06/movies/ Michael Bay Is Our Emergency Movie
2022-04-06   2022-04-08 ambulance-review.html                       Technician                                 By AO Scott                      TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/06/technol
2022-04-06   2022-04-08 ogy/netflix-commercials.html                Netflix Hears Footsteps of OldSchool Media By Shira Ovide                   TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/06/technol
2022-04-06   2022-04-08 ogy/openai-images-dall-e.html               An AI Artist Draws at Your Command         By Cade Metz                     TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/06/us/ucla- Help Wanted Adjunct Professor Must Have
2022-04-06   2022-04-08 adjunct-professor-salary.html               Doctorate Salary 0                         By Anemona Hartocollis           TX 9-169-611       2022-06-01
                        https://www.nytimes.com/live/2022/04/06/bus
                        iness/economy-news-oil-russia/bankers-      Federal Reserve Bars 6 Former Bank Workers
2022-04-06   2022-04-08 fraudulent-stimulus-eidl                    Over Fraud in Covid Relief Program         By Lananh Nguyen                 TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/07/arts/dan
2022-04-07   2022-04-08 ce/candoco-set-and-reset-reset.html         Dancing on Instinct                        By Lauren Wingenroth             TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/07/arts/dan
                        ce/review-martha-graham-city-center-dance-
2022-04-07   2022-04-08 festival.html                               Nature and Nightlife With Some Highlights By Gia Kourlas                    TX 9-169-611       2022-06-01




                                                                                  Page 3596 of 5793
                        https://www.nytimes.com/2022/04/07/arts/des
2022-04-07   2022-04-08 ign/turner-painter-mfa-museum-boston.html Masters of the Sea                             By Jason Farago                   TX 9-169-611      2022-06-01
                        https://www.nytimes.com/2022/04/07/arts/des
                        ign/winslow-homer-painter-metropolitan-
2022-04-07   2022-04-08 museum.html                                  Winslow Homer Radical Impressionist         By Roberta Smith                  TX 9-169-611      2022-06-01
                        https://www.nytimes.com/2022/04/07/arts/mu Joseph Kalichstein 76 Virtuoso With Unusual
2022-04-07   2022-04-08 sic/joseph-kalichstein-dead.html             Naturalness Dies                            By David Allen                    TX 9-169-611      2022-06-01
                        https://www.nytimes.com/2022/04/07/arts/tele
2022-04-07   2022-04-08 vision/black-lady-sketch-show.html           This weekend I have                         By Margaret Lyons                 TX 9-169-611      2022-06-01
                        https://www.nytimes.com/2022/04/07/books/i
                        nternational-booker-prize-shortlist-         Women Dominate Shortlist for International
2022-04-07   2022-04-08 tokarczuk.html                               Booker Prize                                By Alex Marshall                  TX 9-169-611      2022-06-01
                        https://www.nytimes.com/2022/04/07/busines
2022-04-07   2022-04-08 s/britain-nuclear-power.html                 For Britain War Spurs Energy Bet On Nuclear By Eshe Nelson                    TX 9-169-611      2022-06-01
                                                                                                                 By Andrew Ross Sorkin Jason
                                                                                                                 Karaian Vivian Giang Stephen
                        https://www.nytimes.com/2022/04/07/busines Petition Asks for FTC Inquiry Into Gun        Gandel Lauren Hirsch Ephrat Livni
2022-04-07   2022-04-08 s/dealbook/guns-marketing-ftc-petition.html Marketing                                    and Anna Schaverien               TX 9-169-611      2022-06-01

                        https://www.nytimes.com/2022/04/07/busines Mandatory AntiUnion Meetings Are Under
2022-04-07   2022-04-08 s/economy/nlrb-union-amazon-starbucks.html Scrutiny                                        By Noam Scheiber                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/busines
2022-04-07   2022-04-08 s/hyundai-ioniq-5-electric-review.html      Hyundais Electric Vision Nods to the Past      By Lawrence Ulrich                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/busines Shell Says 5 Billion Loss Is Cost of Russia
2022-04-07   2022-04-08 s/shell-russia.html                         Pullout                                        By Marie Solis and Jason Karaian   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/climate Methane Emissions Noxious to Climate
2022-04-07   2022-04-08 /methane-emissions-record.html              Soared to Record in 2021 Scientists Say        By Raymond Zhong                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/health/a Citing Safety Medicare Limits Coverage of
2022-04-07   2022-04-08 duhelm-medicare-alzheimers.html             Alzheimers Drug                                By Pam Belluck                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/movies/
2022-04-07   2022-04-08 a-ha-the-movie-review.html                  aha The Movie                                  By Nicolas Rapold                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/movies/
2022-04-07   2022-04-08 aline-review.html                           Aline                                          By Amy Nicholson                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/movies/
2022-04-07   2022-04-08 all-the-old-knives-review.html              All the Old Knives                             By Ben Kenigsberg                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/movies/
2022-04-07   2022-04-08 as-they-made-us-review.html                 As They Made Us                                By Lisa Kennedy                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/movies/
2022-04-07   2022-04-08 cow-review.html                             Cow                                            By Beatrice Loayza                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/movies/
2022-04-07   2022-04-08 donbass-review.html                         History Repeats Itself in Ukraine Horrifically By AO Scott                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/movies/
2022-04-07   2022-04-08 la-mami-review-tough-love.html              La Mami                                        By Beandrea July                   TX 9-169-611   2022-06-01




                                                                                  Page 3597 of 5793
                        https://www.nytimes.com/2022/04/07/movies/
2022-04-07   2022-04-08 lloyd-kaufman-shakespeare-spoof.html       Shakespeares Shitstorm                  By Jeannette Catsoulis          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/movies/
2022-04-07   2022-04-08 metal-lords-review.html                    Metal Lords                             By Natalia Winkelman            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/movies/
2022-04-07   2022-04-08 return-to-space-review.html                Return to Space                         By Jeannette Catsoulis          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/movies/
2022-04-07   2022-04-08 sonic-the-hedgehog-2-review.html           Sonic the Hedgehog 2                    By Amy Nicholson                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/movies/
2022-04-07   2022-04-08 the-girl-and-the-spider-review.html        The Girl and the Spider                 By Ben Kenigsberg               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/movies/
2022-04-07   2022-04-08 viva-maestro-review.html                   Viva Maestro                            By Teo Bugbee                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/nyregio Budget Agreement for New York Toughens By Luis FerrSadurn and Grace
2022-04-07   2022-04-08 n/new-york-budget-bail-reform.html         Bail and Eases Gas Tax                  Ashford                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/nyregio Manhattan DA Insists Investigation Into By Jonah E Bromwich William K
2022-04-07   2022-04-08 n/trump-investigation-alvin-bragg.html     Trump Has Not Been Shelved              Rashbaum and Ben Protess        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/opinion
2022-04-07   2022-04-08 /germany-russia-ukraine-energy.html        How Germany Became Putins Prime Enabler By Paul Krugman                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/opinion Oh Josh amp Marsha amp Ted amp Lindsey
2022-04-07   2022-04-08 /jackson-cruz-scotus.html                  Sorry Judge Jackson                     By Michelle Cottle              TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/07/opinion
2022-04-07   2022-04-08 /republican-homophobia-grooming-gay.html A Fresh Fixation on Vintage Bigotry           By Frank Bruni              TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/07/science Shards of Space Rock That Killed Dinosaurs
2022-04-07   2022-04-08 /asteroid-killed-dinosaurs-fossil-site.html May Have Been Found at Fossil Site        By Kenneth Chang             TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/07/sports/b A Top Prospect Wants to Do It All And Has
2022-04-07   2022-04-08 aseball/julio-rodriguez-seattle-mariners.html Big Plans for the Mariners Too             By James Wagner           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/sports/b
2022-04-07   2022-04-08 aseball/mets-nationals-opening-day.html       The NewLook Mets Start With High Hopes By James Wagner               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/sports/b Chapter and Verse on All the Game Still Gets
2022-04-07   2022-04-08 aseball/opening-day.html                      Right                                      By Tyler Kepner           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/sports/b Herb Turetzky 76 Nets Official Scorer for 54
2022-04-07   2022-04-08 asketball/herb-turetzky-dead.html             Years                                      By Richard Sandomir       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/sports/f
                        ootball/nfl-discrimination-ray-horton-steve- Two Black Coaches Join Lawsuit Against
2022-04-07   2022-04-08 wilks.html                                    NFL                                        By Ken Belson             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/sports/g
2022-04-07   2022-04-08 olf/tiger-woods-masters-first-round.html      As Usual All Eyes on Woods                 By Bill Pennington        TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/07/technol Using Facial Recognition To Gain an Edge in
2022-04-07   2022-04-08 ogy/facial-recognition-ukraine-clearview.html War                                      By Kashmir Hill             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/theater/
2022-04-07   2022-04-08 review-chasing-andy-warhol.html               Famous for Many Multiples of 15 Minutes  By Alexis Soloski           TX 9-169-611   2022-06-01



                                                                                Page 3598 of 5793
                        https://www.nytimes.com/2022/04/07/theater/
2022-04-07   2022-04-08 the-wanderer-dion-musical-review.html        His Ups And Downs Amid Lots Of DooWop By Juan A Ramrez                       TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/07/us/alab Lawmakers in Alabama Vote to Ban Medical
2022-04-07   2022-04-08 ama-transgender-youth-bill.html             Care For Transgender Youth                   By Rick Rojas and Tariro Mzezewa TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/07/us/polit In Epilogue to Tale of the Capitol Fox Three
2022-04-07   2022-04-08 ics/capitol-fox-rabies-kits-euthanized.html Kits Are Euthanized                          By Chris Cameron                 TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/07/us/polit Homeland Security Watchdog Omitted
2022-04-07   2022-04-08 ics/homeland-security-inspector-general.html Allegations                                By Chris Cameron                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/07/us/polit Effort Grows to Disqualify Republicans Over
2022-04-07   2022-04-08 ics/insurrectionists-congress.html           Jan 6                                      By Jonathan Weisman               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/07/us/polit Jacksons Successors Reflect On Her
2022-04-07   2022-04-08 ics/ketanji-brown-jackson-harvard.html       BarrierBreaking Path                       By Linda Qiu and Lelanie Foster   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/07/us/polit Bigger Impact at First on History Than
2022-04-07   2022-04-08 ics/ketanji-brown-jackson-impact.html        Rulings                                    By Adam Liptak                    TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/07/us/polit Harris Presided Over the Vote But No Black
2022-04-07   2022-04-08 ics/ketanji-brown-jackson-kamala-harris.html Women Had One                             By Emily Cochrane                  TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/07/us/polit Jackson Confirmed to Supreme Court as
2022-04-07   2022-04-08 ics/ketanji-brown-jackson-supreme-court.html Backers Hail a Landmark Moment                By Carl Hulse and Annie Karni    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/us/polit Pelosi Tests Positive for Virus But Says Shes
2022-04-07   2022-04-08 ics/nancy-pelosi-covid-positive.html         Asymptomatic                                  By Emily Cochrane                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/us/polit Congress Votes To Suspend Normal Trade
2022-04-07   2022-04-08 ics/senate-vote-russia-trade-ban.html        With Russia                                   By Catie Edmondson               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/us/robe The Census Bureaus New Director Is Taking
2022-04-07   2022-04-08 rt-santos-census-bureau-director.html        On the Challenge of the Decade                By Michael Wines                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/us/trum FBI to Investigate Handling of Classified       By Luke Broadwater and Adam
2022-04-07   2022-04-08 p-classified-information.html                Files                                         Goldman                          TX 9-169-611   2022-06-01
                                                                                                                   By Anatoly Kurmanaev Isayen
                        https://www.nytimes.com/2022/04/07/world/a Here Youll Find Picasso Dal and Hopes for a Herrera and Adriana Loureiro
2022-04-07   2022-04-08 mericas/venezuela-art-museum.html            Scarred Nation                                Fernandez                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/world/a Pakistans Supreme Court Blocks Khans Move
2022-04-07   2022-04-08 sia/pakistan-imran-khan.html                 to Keep Power                                 By Christina Goldbaum            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/world/a Shanghai Seethes in Covid Lockdown Posing
2022-04-07   2022-04-08 sia/shanghai-covid-china.html                Test to Chinas Leadership                     By Vivian Wang and Isabelle Qian TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/world/e
                        urope/marine-le-pen-french-elections-        A Reinvented Le Pen Could Upend Frances By Norimitsu Onishi and Constant
2022-04-07   2022-04-08 macron.html                                  Elections                                     Mheut                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/world/ Latest Attack In Israel Kills At Least Two
2022-04-07   2022-04-08 middleeast/israel-tel-aviv-shooting.html     In Tel Aviv                                   By Patrick Kingsley              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/world/
                        middleeast/khashoggi-murder-trial-turkey-    Turkey Sends Trial for Journalists Killing To
2022-04-07   2022-04-08 saudi-arabia.html                            Saudi Arabia Most Likely Dooming It           By Safak Timur and Ben Hubbard TX 9-169-611     2022-06-01




                                                                                Page 3599 of 5793
                        https://www.nytimes.com/2022/04/07/world/    Yemens President Resigns and Hands Power
2022-04-07   2022-04-08 middleeast/yemen-presidential-council.html   to Presidential Council                  By Ben Hubbard                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/world/
2022-04-07   2022-04-08 middleeast/yemen-war-saudi-arabia.html       A Ruinous War of Saudi and Iranian Proxies By Ben Hubbard                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/article/france-      French Voting For President In 2 Days The
2022-04-07   2022-04-08 presidential-election-2022.html              ABCs                                         By Aurelien Breeden                TX 9-169-611   2022-06-01
                                                                     Some of the Biggest Brands Are Leaving
                        https://www.nytimes.com/interactive/2022/04/ Russia Others Just Cant Quit Putin Heres a   By Jeffrey A Sonnenfeld and
2022-04-07   2022-04-08 07/opinion/companies-ukraine-boycott.html List                                            Steven Tian                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/07/bus
                        iness/economy-news-oil-russia/consumer-
                        groups-push-the-ftc-to-investigate-gun-      Petition Asks for FTC Inquiry Into Gun
2022-04-07   2022-04-08 marketing                                    Marketing                                    By Ephrat Livni                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/07/bus
                        iness/economy-news-oil-russia/russian-       US Denies 3 Russian Airlines Access to Parts
2022-04-07   2022-04-08 airlines-restrictions                        and Services                                 By Ana Swanson                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/07/wo
                        rld/ukraine-russia-war-news/ukraine-russia- West Steps Up Pressure On Putin Curbing       By Matina StevisGridneff Michael
2022-04-07   2022-04-08 sanctions-eu-un-nato                         Coal And Restricting Trade                   Levenson and Steven Erlanger       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/busines                                                By Niraj Chokshi and Lauren
2022-04-08   2022-04-08 s/spirit-airlines-jetblue-frontier.html      Spirit Merger Would Jostle Big 4 Airlines    Hirsch                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/insider/
2022-04-08   2022-04-08 a-reporter-running-at-the-masters.html       Reporting and Running at the Masters         By Terence McGinley                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/01/movies/
                        who-we-are-jeffery-robinson-emily-sarah-
2022-04-01   2022-04-09 kunstler.html                                Getting Personal With Black History          By Nicolas Rapold                  TX 9-169-611   2022-06-01

                        https://www.nytimes.com/interactive/2022/04/                                             By Anjali Singhvi Charlie Smart
2022-04-02   2022-04-09 02/world/europe/kyiv-invasion-disaster.html How Kyiv Has Withstood Russias Attacks       Mika Grndahl and James Glanz        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/busines He Quietly Revived Bank of America and Is
2022-04-05   2022-04-09 s/brian-moynihan-bank-of-america.html        Staying the Course                          By Lananh Nguyen                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/sports/p
2022-04-06   2022-04-09 ing-pong-wally-green.html                    A Diplomat at the Table                     By Hannah Beech                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/arts/dan Nan Melville 72 Whose Photographs
2022-04-07   2022-04-09 ce/nan-melville-dead.html                    Reflected a Love Affair With Dance          By Neil Genzlinger                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/arts/des
2022-04-07   2022-04-09 ign/hew-locke-met-museum-facade.html         Hew Locke to Create Facade Works            By Robin Pogrebin                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/us/impe Prosecutors Say Two Men Posing as Federal
2022-04-07   2022-04-09 rsonators-secret-service.html                Agents Duped Secret Service                 By Maria Cramer and Neil Vigdor TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/07/world/e Man Who Strangled Woman to Death in
2022-04-07   2022-04-09 urope/sabina-nessa-murder-london.html        London Park Sentenced to Life in Prison     By Isabella Kwai                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/interactive/2022/04/
                        07/science/endemic-meaning-pandemic-                                                     By Eleanor Lutz and Amy
2022-04-07   2022-04-09 covid.html                                   Is This What Endemic Disease Looks Like     Schoenfeld Walker                   TX 9-169-611   2022-06-01




                                                                                 Page 3600 of 5793
                        https://www.nytimes.com/2022/04/07/us/puer 400000 Still in the Dark After Puerto Ricos
2022-04-08   2022-04-09 to-rico-power-outage.html                   Grid Fails                                   By Christine Chung           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/arts/des
2022-04-08   2022-04-09 ign/finland-russia-art-seizure.html         Art From Russia Can Go Home Again            By Graham Bowley             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/arts/des
                        ign/jean-michel-basquiat-king-pleasure-
2022-04-08   2022-04-09 exhibit.html                                Family Stories Illuminate Basquiats Art      By Robin Pogrebin            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/arts/des
                        ign/lauren-halsey-met-roof-installation-
2022-04-08   2022-04-09 postponed.html                              Up on the Roof and Down in Front             By Robin Pogrebin            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/arts/des Breaking Down Barriers At MoMA PS1 in
2022-04-08   2022-04-09 ign/moma-ps1-director-fowle-lowry.html      Queens                                       By Robin Pogrebin            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/arts/mu
                        sic/orchestra-st-lukes-st-matthew-passion-
2022-04-08   2022-04-09 carnegie-review.html                        A Grand and Meditative St Matthew Passion    By Joshua Barone             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/arts/mu
2022-04-08   2022-04-09 sic/review-new-york-philharmonic.html       A Chinese Concerto and More                  By Zachary Woolfe            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/busines
2022-04-08   2022-04-09 s/1mdb-goldman-sachs-roger-ng.html          ExBanker Convicted In Looting                By Matthew Goldstein         TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/08/busines Amazon Asks Labor Board To Throw Out
2022-04-08   2022-04-09 s/amazon-alabama-union-vote-objections.html Union Vote                                 By Karen Weise                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/busines Chinese Covid Lockdowns Hampering Supply
2022-04-08   2022-04-09 s/china-lockdowns-supply-chain.html         Chains                                     By Keith Bradsher              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/busines
2022-04-08   2022-04-09 s/economy/china-forced-labor.html           Hearing Spotlights Forced Labor in China   By Ana Swanson                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/busines
2022-04-08   2022-04-09 s/media/discovery-warner-media.html         In Hollywood A New Giant Joins the Ranks By John Koblin                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/busines Musk Says Tesla Will Sell Its Cybertruck
2022-04-08   2022-04-09 s/tesla-cybertruck-elon-musk.html           Next Year                                  By Jack Ewing                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/climate Emissions From Tropical Megacities Could
2022-04-08   2022-04-09 /air-pollution-cities-tropics.html          Usher in New Era of Air Pollution          By Maggie Astor                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/climate As Gas Prices Increased So Did the Hunt for
2022-04-08   2022-04-09 /gas-prices-electric-vehicles.html          Electric Vehicles                          By Maggie Astor                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/dining/t Tony May Who Added Authenticity To
2022-04-08   2022-04-09 ony-may-dead.html                           Italian Restaurants Is Dead at 84          By Florence Fabricant          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/health/c Why a CoronavirusFlu Twindemic May
2022-04-08   2022-04-09 ovid-flu-twindemic.html                     Never Happen                               By Apoorva Mandavilli          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/movies/
2022-04-08   2022-04-09 idris-elba-sonic-the-hedgehog-2.html        Idris Elba Takes On Knuckles               By Dave Itzkoff                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/movies/ Smith Barred From Attending the Oscars for
2022-04-08   2022-04-09 will-smith-slap-academy.html                10 Years                                   By Nicole Sperling             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/nyregio Arrests in Bronx Shooting As a Teen Dies in By Troy Closson and Precious
2022-04-08   2022-04-09 n/bronx-school-shooting-nyc.html            Another                                    Fondren                        TX 9-169-611   2022-06-01




                                                                                Page 3601 of 5793
                        https://www.nytimes.com/2022/04/08/nyregio                                                 By Grace Ashford and Luis
2022-04-08   2022-04-09 n/budget-highlights-hochul.html             What 220 Billion Brings to New York            FerrSadurn                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/nyregio Political Honeymoon Over Hochul Emerges         By Luis FerrSadurn and Grace
2022-04-08   2022-04-09 n/kathy-hochul-budget.html                  From Budget Talks Mostly Victorious            Ashford                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/nyregio New York Judge Approves Backup Plan for
2022-04-08   2022-04-09 n/redistricting-maps-new-york.html          District Lines                                 By Nicholas Fandos             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/nyregio Trump Organization Wins Suit to Keep
2022-04-08   2022-04-09 n/trump-organization-golf-course.html       Bronx Contract                                 By Michael Gold                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/opinion
2022-04-08   2022-04-09 /cory-booker-ketanji-brown-jackson.html     Cory Booker You Had Our Back                   By Charles M Blow              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/opinion
2022-04-08   2022-04-09 /culture/naomi-osaka-miami-open.html        Go Ahead Count Osaka Out                       By Lindsay Crouse              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/science
2022-04-08   2022-04-09 /axiom-launch-nasa-spacex.html              Private Astronauts Head to Space Station       By Kenneth Chang               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/sports/b Yankees Day Has Dolorous Start and             By Tyler Kepner and Johnny
2022-04-08   2022-04-09 aseball/aaron-judge-yankees-red-sox.html    Delicious Ending                               Milano                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/sports/f Rayfield Wright 76 Cowboys Hall of Fame
2022-04-08   2022-04-09 ootball/rayfield-wright-dead.html           Lineman                                        By Richard Sandomir            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/sports/g For Woodss Group Each Hole Becomes A
2022-04-08   2022-04-09 olf/tiger-woods-masters-group.html          Crowded Stadium                                By Alan Blinder                TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/08/sports/g
2022-04-08   2022-04-09 olf/tiger-woods-masters-second-round.html Woods Battles Back to Make Cut                   By Bill Pennington             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/us/alab Alabama Bans Medical Care Helping Youth
2022-04-08   2022-04-09 ama-transgender-law-ivey.html               To Transition                                  By Rick Rojas                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/us/jova Former USC Water Polo Coach Is Found
2022-04-08   2022-04-09 n-vavic-varsity-blues-trial.html            Guilty in FakeRecruit Scandal                  By Anemona Hartocollis         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/us/polit
                        ics/donald-trump-jr-meadows-text-           Text From Trump Son Is Said To Plan
2022-04-08   2022-04-09 message.html                                Overturning Election                           By Maggie Haberman             TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/08/us/polit
2022-04-08   2022-04-09 ics/january-6-investigation-ali-alexander.html Rally Planner Will Cooperate In Riot Inquiry By Alan Feuer                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/us/polit Weve Made It Jackson Celebrates
2022-04-08   2022-04-09 ics/ketanji-brown-jackson-biden.html           Confirmation With Poetry and a Pledge        By Katie Rogers               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/08/us/polit After Grilling Judge GOP Sees Opening To By Jonathan Weisman and Maya
2022-04-08   2022-04-09 ics/ketanji-brown-jackson-black-voters.html Win Black Voters                          King                                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/us/polit
                        ics/russia-sanctions-effectiveness-
2022-04-08   2022-04-09 adeyemo.html                                Some Doubt If Sanctions Are Working       By Alan Rappeport                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/us/polit Canadians Donations to Super PAC Are
2022-04-08   2022-04-09 ics/trump-super-pac-illegal-donations.html  Found Illegal                             By Eric Lipton                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/us/verd No Convictions for Men Accused Of Plotting
2022-04-08   2022-04-09 ict-whitmer-kidnapping-case.html            to Kidnap a Governor                      By Mitch Smith                      TX 9-169-611   2022-06-01



                                                                                  Page 3602 of 5793
                        https://www.nytimes.com/2022/04/08/world/a Mexicos President Seeking Mandate Promotes
2022-04-08   2022-04-09 mericas/mexico-president-recall-election.html Voting in Recall Election                By Natalie Kitroeff             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/08/world/e UK Takes Hard Line On Russia Germany
2022-04-08   2022-04-09 urope/boris-johnson-scholz-russia.html        May Not Follow Suit                      By Mark Landler                 TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/08/world/e
                        urope/france-presidential-election-macron-    La French Tech Arrived Under Macron Will
2022-04-08   2022-04-09 economy-le-pen.html                           It Resonate With Voters                  By Liz Alderman and Roger Cohen TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/08/world/e Gerda Weissmann Klein Holocaust Survivor
2022-04-08   2022-04-09 urope/gerda-weissmann-klein-dead.html         and Educator Is Dead at 97               By Clay Risen                   TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/08/world/e For 2nd Time a Ukrainian Journalist Is at War
2022-04-08   2022-04-09 urope/stanislav-aseyev-ukraine-russia.html With Russia                                   By Valerie Hopkins             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/world/e Chernobyl as Staging Ground Russians          By Andrew E Kramer and Ivor
2022-04-08   2022-04-09 urope/ukraine-chernobyl.html               Ignored Warnings                              Prickett                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/world/e Danger From Above and Below As Land           By Thomas GibbonsNeff and John
2022-04-08   2022-04-09 urope/ukraine-russia-land-mines.html       Mines Blanket Towns                           Ismay                          TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/08/world/e                                                By Megan Specia and Michael
2022-04-08   2022-04-09 urope/ukraine-train-station-kramatorsk.html Attack On Train Station Leaves Scores Dead Levenson                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/your-
2022-04-08   2022-04-09 money/filing-taxes.html                        April 18 Looms but Dont Despair            By Ann Carrns                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/us/idah Idaho Supreme Court Temporarily Halts
2022-04-09   2022-04-09 o-supreme-court-abortion.html                  Abortion Ban                               By Vimal Patel                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/nyregio
2022-04-09   2022-04-09 n/trump-investigation-alvin-bragg.html         DA Mired in Politics He Had Hoped to Dodge By Jonah E Bromwich           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/05/books/r
                        eview/when-did-you-last-clean-bug-splatter-
2022-03-05   2022-04-10 off-your-windshield.html                       Bugout                                     By Thor Hanson                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/11/books/r
                        eview/the-trials-of-harry-s-truman-jeffrey-
2022-03-11   2022-04-10 frank.html                                     Everyman as President                      By James Traub                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/12/books/r
2022-03-12   2022-04-10 eview/new-romance-novels.html                  Hitched                                    By Olivia Waite               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/15/books/r
                        eview/life-of-che-hector-german-
2022-03-15   2022-04-10 oesterheld.html                                Revolutionary Life                         By Etelka Lehoczky            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/16/books/r
                        eview/last-call-at-the-hotel-imperial-deborah-
2022-03-16   2022-04-10 cohen.html                                     The Gathering Storm                        By Lesley M M Blume           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/22/books/r
                        eview/maria-gainza-portrait-of-an-unknown-
2022-03-22   2022-04-10 lady.html                                      Faking It                                  By Angus Trumble              TX 9-169-611   2022-06-01




                                                                                Page 3603 of 5793
                        https://www.nytimes.com/2022/03/24/books/r
                        eview/every-good-boy-does-fine-jeremy-
2022-03-24   2022-04-10 denk.html                                   The Pianist                               By Corinna da FonsecaWollheim   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/29/books/r
                        eview/belorusets-kurkov-lucky-breaks-grey-
2022-03-29   2022-04-10 bees.html                                   Home Front                                By Jennifer Wilson              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/29/books/v
2022-03-29   2022-04-10 agina-obscura-rachel-gross.html             Private Parts                             By Maya Salam                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/29/realesta Your Homes Best Spot Could Be the Laundry
2022-03-29   2022-04-10 te/laundry-room-space.html                  Room                                      By Tim McKeough                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/books/r
2022-03-30   2022-04-10 eview/faith-ringgold-politics-power.html    Poster Child                              By Lauren Christensen           TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/03/31/books/r
2022-03-31   2022-04-10 eview/one-italian-summer-rebecca-serle.html Inside the List                          By Elisabeth Egan                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/movies/
2022-03-31   2022-04-10 alamo-drafthouse-kims-video.html            In 2022 What Is a Video Store For        By Gabe Cohn and Adam Powell     TX 9-169-611   2022-06-01

                        https://www.nytimes.com/interactive/2022/04/ Thomas Piketty Thinks America Is Primed for
2022-04-03   2022-04-10 03/magazine/thomas-piketty-interview.html Wealth Redistribution                          By David Marchese            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/books/l
2022-04-04   2022-04-10 essons-in-chemistry-bonnie-garmus.html       Lessons in Chemistry by Bonnie Garmus       By Elisabeth Egan            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/realesta
2022-04-04   2022-04-10 te/shopping-for-pot-racks.html               A Kitchens Appeal Hangs in the Balance      By Tim McKeough              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/style/ju In the Land of Sneakers Unfurling His Own
2022-04-04   2022-04-10 lian-gaines-artist.html                      Artistry                                    By Sandra E Garcia           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/arts/mu Roland White Musician Who Helped
2022-04-05   2022-04-10 sic/roland-white-dead.html                   Transform Bluegrass Is Dead at 83           By Bill FriskicsWarren       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/arts/tele
2022-04-05   2022-04-10 vision/noah-reid-the-minutes.html            Noah Reid Preps for Parenthood              By Sarah Bahr                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/books/r
                        eview/miguel-syjuco-i-was-the-presidents-
2022-04-05   2022-04-10 mistress.html                                Paramour in Chief                           By James Lasdun              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/magazi
2022-04-05   2022-04-10 ne/billionaire-books.html                    Loaded Language                             By Lydia Kiesling            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/magazi The Psychic Contortions of the Black
2022-04-05   2022-04-10 ne/black-billionaire-entertainers.html       MogulEntertainer                            By Blair McClendon           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/magazi
2022-04-05   2022-04-10 ne/how-to-record-thunderstorms.html          How to Record Thunderstorms                 By Malia Wollan              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/magazi
2022-04-05   2022-04-10 ne/racial-slur-classroom-ethics.html         Can I Utter the NWord in My Classroom       By Kwame Anthony Appiah      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/magazi
2022-04-05   2022-04-10 ne/tiny-home-videos.html                     TinyHome Videos                             By Sheon Han                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/movies/
2022-04-05   2022-04-10 ke-huy-quan-everything-everywhere.html       A Long Journey Back to Acting               By Robert Ito                TX 9-169-611   2022-06-01



                                                                                Page 3604 of 5793
                        https://www.nytimes.com/2022/04/05/opinion
2022-04-05   2022-04-10 /great-resignation-employment.html         The Myth of the Great Resignation               By Paul Krugman                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/opinion
2022-04-05   2022-04-10 /shanghai-china-covid-lockdown.html        Inside Shanghais Extreme Covid Lockdown         By Juli Min                      TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/05/opinion
2022-04-05   2022-04-10 /vietnam-refugees-factories-us-military.html An American Dream Built on Warfare              By Thuy Linh Tu                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/realesta
                        te/in-houston-a-modernist-showplace-with-
2022-04-05   2022-04-10 some-brazilian-curves.html                   Sensual Curves in a Modernist Showplace         By Tim McKeough                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/arts/dan
2022-04-06   2022-04-10 ce/bill-t-jones-eiko-otake.html              Kindred Spirits of TooMuchNess                  By Wendy Perron                TX 9-169-611   2022-06-01
                                                                     Policy by Plutocrat Billionaires can be Private
                        https://www.nytimes.com/2022/04/06/magazi About Their Politcs but Their Spending Gets
2022-04-06   2022-04-10 ne/billionaire-politics.html                 Politicians to Listen                           By Jaime Lowe                  TX 9-169-611   2022-06-01
                                                                     Chefs Salads Dishes that are served cold can
                        https://www.nytimes.com/2022/04/06/magazi be just as complex and satisfying as a meal
2022-04-06   2022-04-10 ne/butter-bean-salad-recipe.html             that arrives piping hot                         By Yotam Ottolenghi            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/magazi How the Homeless Billionaire Became the
2022-04-06   2022-04-10 ne/nicolas-berggruen-philosophy.html         Philosopher King                                By Michael Steinberger         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/magazi
2022-04-06   2022-04-10 ne/primitive-technology-youtube.html         Tool Time                                       By Carina Chocano              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/nyregio Worrying About Relatives Who Wont Leave
2022-04-06   2022-04-10 n/ukraine-older-people.html                  Ukraine                                         By Kimiko de FreytasTamura     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/opinion
2022-04-06   2022-04-10 /baseball-nationalize.html                   Save Baseball by Nationalizing It               By Matthew Walther             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/opinion
2022-04-06   2022-04-10 /war-crimes-ukraine-putin.html               Witness the War Crimes in Ukraine               By The Editorial Board         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/realesta
2022-04-06   2022-04-10 te/birding-atlas-spring.html                 Its Time to Bird With a Purpose                 By Margaret Roach              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/realesta A Coastal Villa Nestled in a Garden Outside
2022-04-06   2022-04-10 te/portugal-house-hunting.html               Lisbon                                          By Marcelle Sussman Fischler   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/realesta
                        te/secaucus-nj-the-commuter-town-with-a-     Suburbia in the Shadow of the Really Big
2022-04-06   2022-04-10 suburban-vibe.html                           Town                                            By Kate Rounds                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/style/ch
2022-04-06   2022-04-10 ristian-smalls-style-amazon-union.html       A Labor Leader in Sweats and Sneakers           By Gina Cherelus               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/theater/
                        lileana-blain-cruz-broadway-skin-of-our-
2022-04-06   2022-04-10 teeth.html                                   Meet a Master of Curating Chaos                 By Rob WeinertKendt            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/us/june- June Shagaloff Alexander 93 a Leader In the
2022-04-06   2022-04-10 shagaloff-alexander-dead.html                Fight for School Desegregation                  By Clay Risen                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/arts/des
                        ign/guadalupe-maravilla-brooklyn-museum-
2022-04-07   2022-04-10 moma.html                                    The Sculptor as Healer and Artist               By Patricia Leigh Brown        TX 9-169-611   2022-06-01



                                                                                  Page 3605 of 5793
                        https://www.nytimes.com/2022/04/07/arts/mu Translating Fame in Brazil Into Worldwide
2022-04-07   2022-04-10 sic/anitta-versions-of-me.html               Stardom                                     By Carolina Abbott Galvo           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/arts/mu Mira Calix 52 Composer Producer and Visual
2022-04-07   2022-04-10 sic/mira-calix-dead.html                     Artist                                      By Jon Pareles                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/arts/tele
2022-04-07   2022-04-10 vision/abbott-elementary.html                A Hit Sitcom Set in a School Reads the Room By James Poniewozik                TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/07/busines                                                  By Julia Rothman and Shaina
2022-04-07   2022-04-10 s/bedbugs-new-york-city-exterminator.html The Bedbug Hunter                                 Feinberg                        TX 9-169-611   2022-06-01
                                                                     The Issue With Billionaires Their Numbers
                        https://www.nytimes.com/2022/04/07/magazi are out of Control and the Rest of Us are
2022-04-07   2022-04-10 ne/billionaires.html                         Subject to Their Whims                         By Willy Staley                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/magazi
2022-04-07   2022-04-10 ne/judge-john-hodgman-ferrets.html           Bonus Advice From Judge John Hodgman           By John Hodgman                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/magazi                                                   By Kamilah Aisha Moon and
2022-04-07   2022-04-10 ne/poem-cataracts.html                       Poem Cataracts                                 Selected by Victoria Chang      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/opinion
2022-04-07   2022-04-10 /conservative-safe-spaces-college.html       I Was Wrong to Oppose Safe Spaces              By Jon A Shields                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/opinion We May Be Able to Prevent Some Mass
2022-04-07   2022-04-10 /mass-shooting-prevention.html               Shootings                                      By Farhad Manjoo                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/opinion
2022-04-07   2022-04-10 /sex-consent-dating-boundaries.html          Straight People Need Better Rules for Sex      By Christine Emba               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/realesta
                        te/how-many-square-feet-does-a-1500-
2022-04-07   2022-04-10 monthly-rent-get-you.html                    Where Space Isnt at a Premium                  By Michael Kolomatsky           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/style/br
2022-04-07   2022-04-10 eakup-relationship-social-qs.html            Is It Quitting Time                            By Philip Galanes               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/technol Unpredictable Grocery Shoppers Defy
2022-04-07   2022-04-10 ogy/online-grocery-shopping.html             Analysts                                       By Shira Ovide                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/interactive/2022/04/
2022-04-07   2022-04-10 07/magazine/jeff-bezos-net-worth.html        9 Ways to Imagine Jeff Bezos Wealth            Illustrations by Mona Chalabi   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/interactive/2022/04/ Exploring White Plains for a Suitable Family
2022-04-07   2022-04-10 07/realestate/07hunt-mccants.html            Home How Far Would Their Budget Go             By Joyce Cohen                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/arts/mu
                        sic/annilese-miskimmon-eno-handmaids-
2022-04-08   2022-04-10 tale.html                                    Betting Big on The Handmaids Tale              By Alex Marshall                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/arts/mu
                        sic/jennifer-koh-davone-tines-everything-    Two Musicians Of Color Create Their Own
2022-04-08   2022-04-10 rises.html                                   Space                                          By Joshua Barone                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/arts/tele Rae Allen a Showstopping Tony Winner and
2022-04-08   2022-04-10 vision/rae-allen-dead.html                   a TV Mainstay Is Dead at 95                    By Richard Sandomir             TX 9-169-611   2022-06-01




                                                                                  Page 3606 of 5793
                        https://www.nytimes.com/2022/04/08/books/r
                        eview/kelly-barnhill-the-ogress-and-the-
                        orphans-christina-soontornvat-the-last-
2022-04-08   2022-04-10 mapmaker.html                              Dragon Tales                               By Soman Chainani      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/books/r
                        eview/michelle-de-kretser-scary-
2022-04-08   2022-04-10 monsters.html                              In a Strange Land                          By Alex Preston        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/books/r
2022-04-08   2022-04-10 eview/new-paperbacks.html                  Paperback Row                              By Miguel Salazar      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/busines
                        s/economy/pandemic-freightos-supply-       The Nerd Celebrities the Pandemic Made
2022-04-08   2022-04-10 chain.html                                 Famous                                     By Jeanna Smialek      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/busines
2022-04-08   2022-04-10 s/international-bonds-investing.html       Dont Be Afraid To Go Abroad                By Tim Gray            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/busines Balancing Business Demands With Covid
2022-04-08   2022-04-10 s/masks-meetings-covid-office.html         Risks                                      By Roxane Gay          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/busines
                        s/mutual-funds/stocks-bonds-mutual-
2022-04-08   2022-04-10 funds.html                                 Market Forecast More Gyrations             By Conrad de Aenlle    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/busines
                        s/staying-the-course-may-be-the-key-to-
2022-04-08   2022-04-10 wartime-investing.html                     Staying the Course in Investing            By Brian J OConnor     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/nyregio
2022-04-08   2022-04-10 n/marvelous-mrs-maisel-tours-nyc.html      As Marvelous as Mrs Maisel or More So      By Alix Strauss        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/nyregio
                        n/tony-yoshida-japan-village-angels-
2022-04-08   2022-04-10 share.html                                 The Mystery Man Behind Little Tokyo        By Robert Simonson     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/opinion
2022-04-08   2022-04-10 /globalization-global-culture-war.html     The Culture Wars Have Gone Global          By David Brooks        TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/08/opinion
2022-04-08   2022-04-10 /ketanji-brown-jackson-supreme-court.html The Trouble With Judicial Review             By Jamelle Bouie      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/realesta
2022-04-08   2022-04-10 te/free-furniture-nyc-stooping.html         If You See Something Grab Something        By Ronda Kaysen       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/realesta
2022-04-08   2022-04-10 te/nyc-rent-cost.html                       A Sweet Deal Then a Shock                  By Sarah Maslin Nir   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/sports/b
2022-04-08   2022-04-10 aseball/angels-astros.html                  As Season Begins Stars Reappear in AL West By Scott Miller       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/sports/b The Superteam That Failed to Make The
2022-04-08   2022-04-10 asketball/nba-lakers-lebron-james.html      NBA Playoffs                               By Tania Ganguli      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/sports/g Sneakers and Golf Finally Discover Each
2022-04-08   2022-04-10 olf/sneakers-streetwear.html                Other                                      By Gerald Flores      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/sports/s
                        occer/champions-league-liverpool-man-       The Powers Who Run Soccer Want Change
2022-04-08   2022-04-10 city.html                                   Just Not the Right Kind                    By Rory Smith         TX 9-169-611   2022-06-01



                                                                               Page 3607 of 5793
                        https://www.nytimes.com/2022/04/08/style/as
2022-04-08   2022-04-10 hley-hooper-sean-balaban-wedding.html       A Partner Each Could Relate To             By Jenny Block               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/style/ca
                        therine-rought-thomas-jacobson-             On Their First Date a Third Party Tagged
2022-04-08   2022-04-10 wedding.html                                Along                                      By Rosalie R Radomsky        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/style/ch
                        rystina-crown-nathan-thompson-              Soon After Meeting Attending Parenting
2022-04-08   2022-04-10 wedding.html                                Classes                                    By Lois Smith Brady          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/style/ho The Real Rock Stars Were the Brides and
2022-04-08   2022-04-10 neymoon-rock-fest-weddings.html             Grooms                                     By Tammy La Gorce            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/style/la
2022-04-08   2022-04-10 verne-cox-grammys-e-news.html               Laverne Cox Takes the RedCarpet Mic        By Gina Cherelus             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/style/m
                        odern-love-closing-up-shop-on-a-            Closing Up Shop on a Drugstore and a
2022-04-08   2022-04-10 marriage.html                               Marriage                                   By Julia Zichello            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/style/pi
                        nk-and-sequins-at-the-frick-young-fellows-
2022-04-08   2022-04-10 ball.html                                   Hello Young Fellows Wherever You Are       By John Ortved               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/08/style/ro
2022-04-08   2022-04-10 xanne-werner-kristina-nichols-wedding.html Chemistry That Went Beyond Just Friendship By Jenny Block                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/world/e Dutch Dairy Farmers on Alert After Thieves
2022-04-08   2022-04-10 urope/cheese-theft-netherlands.html         Pull Off a Major Cheese Heist                By Claire Moses            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/world/e Russian Troops Gone Kyiv Buzzes Back to By Maria Varenikova and Andrew
2022-04-08   2022-04-10 urope/kyiv-ukraine-war.html                 Life                                         E Kramer                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/your-
                        money/mutual-funds-and-etfs/energy-funds-
2022-04-08   2022-04-10 russia-oil.html                             Energy Sector Leads But War Raises Doubts By J Alex Tarquinio           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/08/wo
                        rld/covid-19-mandates-cases-vaccine/hong-
                        kong-without-ruling-out-mandatory-testing- Hong Kong Tries Voluntary Testing as Cases
2022-04-08   2022-04-10 tries-out-a-voluntary-at-home-option        Surge                                        By Alexandra Stevenson     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/us/polit Trump Officials Did Not Report Gifts in 2020
2022-04-09   2022-04-10 ics/trump-foreign-gifts.html                Flouting Ethical Norms                       By Michael S Schmidt       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/nyregio In Bastions of Faded Glamour Employees Opt
2022-04-09   2022-04-10 n/conde-nast-union.html                     for Unions                                   By Ginia Bellafante        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/nyregio They Left the City but Still Seek Out New
2022-04-09   2022-04-10 n/whatsapp-new-yorkers-networking.html      Yorkers                                      By Alyson Krueger          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/opinion
2022-04-09   2022-04-10 /covid-mask-risk-society.html               What We Owe the Vulnerable                   By Sarah Wildman           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/opinion
2022-04-09   2022-04-10 /ukraine-russia-liberalism-religion.html    Does Liberalism Need a Wolf at the Door      By Ross Douthat            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/opinion
2022-04-09   2022-04-10 /ukraine-russia-war-attention.html          Kim and Pete or Vladimir and Volodymyr       By Maureen Dowd            TX 9-169-611   2022-06-01




                                                                                 Page 3608 of 5793
                        https://www.nytimes.com/2022/04/09/realesta After a Discount How Much Can Rent Go
2022-04-09   2022-04-10 te/rent-stabilization-rent-concessions.html   Up on a Stabilized Apartment                By Ronda Kaysen                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/sports/f
2022-04-09   2022-04-10 ootball/dwayne-haskins-steelers-dead.html     NFLs Haskins Is Hit by Truck and Dies       By Emmanuel Morgan             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/sports/g In Round 3 Despite the Ice the Course Strikes
2022-04-09   2022-04-10 olf/masters-tiger-woods-injuries.html         Back                                        By Alan Blinder                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/sports/g As Woods Limps Down Leaderboard New
2022-04-09   2022-04-10 olf/masters-woods-scheffler-third.html        Story Lines Rise                            By Bill Pennington             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/style/ay
2022-04-09   2022-04-10 odele-casel-is-on-tap-for-funny-girl.html     The Tap Queen Spicing Up Funny Girl         By Michelle Ruiz               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/style/on
2022-04-09   2022-04-10 e-garments-journey-through-history.html       A Korean Garments Evolution                 By Aileen Kwun                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/style/ru
2022-04-09   2022-04-10 ssell-westbrook.html                          A Taunted NBA Star Thrives Off the Court By Adam Popescu                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/us/polit As Migrants Surged at Border Biden Aides      By Zolan KannoYoungs Michael D
2022-04-09   2022-04-10 ics/biden-border-immigration.html             Fought Each Other                           Shear and Eileen Sullivan      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/us/polit
2022-04-09   2022-04-10 ics/michigan-pandemic-stimulus.html           Stimulus Boosts Michigan Public Health      By Noah Weiland                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/us/puer Lights on in Puerto Rico But Frustrations
2022-04-09   2022-04-10 to-rico-power-outages.html                    Remain                                      By Coral Murphy Marcos         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/us/tilla
2022-04-09   2022-04-10 mook-rock-lighthouse.html                     House for Sale FixerUpper With Sea Views By Christine Hauser               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/us/tryin
                        g-everything-even-lettuce-to-save-floridas-   Can 101 Tons of Lettuce Save Florida        By Patricia Mazzei and Eve
2022-04-09   2022-04-10 beloved-manatees.html                         Manatees                                    Edelheit                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/world/a Pakistan Ousts Khan as Prime Minister After By Christina Goldbaum and Salman
2022-04-09   2022-04-10 sia/imran-khan-pakistan-ousted.html           a NoConfidence Vote                         Masood                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/world/e
                        urope/french-presidential-election-marcon-le- With Macron and Le Pen Leading Election
2022-04-09   2022-04-10 pen.html                                      Field a Split France Decides                By Roger Cohen                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/world/e In Mariupol Drama Theater a Cry for Mama
2022-04-09   2022-04-10 urope/mariupol-theater-ukraine.html           That Offered Brief Relief                   By Valerie Hopkins             TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/09/world/e
2022-04-09   2022-04-10 urope/poland-women-ukraine-refugees.html Polish Women Offer Refugees Safe Passage By Alexandra E Petri                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/09/world/e Putin Rooting Out War Critics Turns
2022-04-09   2022-04-10 urope/putin-russia-war-ukraine.html        Russians Against Russians                     By Anton Troianovski          TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/09/world/e An Illusion About Life in Russia Is Shattered
2022-04-09   2022-04-10 urope/putin-ukraine-russia.html            by Putins War                                 By Sabrina Tavernise          TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/09/world/e Russia Resets Military Command as Western By Eric Schmitt Jane Arraf and
2022-04-09   2022-04-10 urope/russia-ukraine-general-kramatorsk.html Arms Pour In                            Michael Levenson                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/09/world/ A Wave of Terrorism in Israel Is Defying a
2022-04-09   2022-04-10 middleeast/israel-palestinian-violence.html  Clear Narrative                         By Patrick Kingsley               TX 9-169-611     2022-06-01




                                                                                Page 3609 of 5793
                        https://www.nytimes.com/live/2022/04/09/wo
                        rld/covid-19-mandates-cases-vaccine/us-
                        authorizes-the-departure-of-some-diplomats-
2022-04-09   2022-04-10 from-shanghai                               US Allows Diplomats To Leave Shanghai     By Keith Bradsher                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/sports/g
2022-04-10   2022-04-10 olf/masters-augusta-national.html           The Roar and the Crowds Return to Augusta By Doug Mills and Alan Blinder      TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/09/us/polit
2022-04-10   2022-04-10 ics/trump-doctor-oz-senate-endorsement.html Trump Endorses Dr Oz in Senate Race          By Trip Gabriel                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/busines                                               By Nicholas Kulish and Rebecca R
2022-04-10   2022-04-10 s/mackenzie-scott-charity.html              The Fortunes of MacKenzie Scott              Ruiz                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/busines
                        s/the-week-in-business-elon-musks-newest- The Week in Business Elon Musks Newest
2022-04-10   2022-04-10 venture.html                                Venture                                      By Marie Solis                   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/10/insider/
2022-04-10   2022-04-10 his-alter-ego-comic-book-correspondent.html His Alter Ego Comics Correspondent           By John Otis                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/nyregio County With New Jerseys Highest Virus         By Tracey Tully and Shlomo
2022-04-10   2022-04-10 n/ocean-county-new-jersey-covid.html        Death Rate Lags in Vaccinations              Schorr                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/us/ropa- In Texas Clothes by the Pound to Make Ends
2022-04-10   2022-04-10 usada-border-shops.html                     Meet                                         By Edgar Sandoval                TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/10/world/a A PostLockout Reunion Of Yearning and         By Isabella Kwai and Isabella
2022-04-10   2022-04-10 ustralia/sydney-coronavirus-homecoming.html Dread                                        Moore                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/world/e
2022-04-10   2022-04-10 urope/russia-ukraine-war-crimes.html         War Crimes Often Avoid A Reckoning          By Max Fisher                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/technol
2022-04-05   2022-04-11 ogy/space-tourism.html                       Dreams of a Future Away From Earth          By Shira Ovide                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/arts/kin
2022-04-07   2022-04-11 ky-boots-stage-42.html                       Kinky Boots Is Back This Summer             By Sarah Bahr                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/travel/j
2022-04-07   2022-04-11 oshua-tree-california-airbnb.html            A ShortTerm Rental Rush Fuels Debate        By Heather Murphy                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/arts/mu
                        sic/george-lewis-international-contemporary- A New Leader for International Contemporary
2022-04-08   2022-04-11 ensemble.html                                Ensemble                                    By Javier C Hernndez             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/busines
                        s/economy/starbucks-union-new-york-          Starbucks Union Campaign Expands
2022-04-08   2022-04-11 vote.html                                    Organizing Efforts                          By Noam Scheiber                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/busines
2022-04-08   2022-04-11 s/hiring-without-college-degree.html         Hiring Eases Requirement For Degrees        By Steve Lohr                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/technol
2022-04-08   2022-04-11 ogy/intel-chip-shortage.html                 Lots of Labor for One Chip                  By Philip Cheung and Don Clark   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/theater/
                        penelope-or-how-the-odyssey-was-really-
2022-04-08   2022-04-11 written-review.html                          Ancient Greek Epic As Told by a Wife        By Laura CollinsHughes           TX 9-169-611   2022-06-01



                                                                                Page 3610 of 5793
                        https://www.nytimes.com/2022/04/08/upshot/ How Republicans and Democrats Agree and
2022-04-08   2022-04-11 child-care-republicans-democrats.html      Differ on Child Care                               By Claire Cain Miller            TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/08/us/mari Marion Joseph 95 a Citizen Warrior On
2022-04-08   2022-04-11 on-joseph-dead.html                        Phonics in Reading Instruction                     By Sam Roberts                   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/08/us/sha
2022-04-08   2022-04-11 m-marriages-green-cards-fraud.html         11 Charged in MarriageforGreenCard Plot            By Neil Vigdor                   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/09/books/e Eleanor Munro 94 Book Profiled Women
2022-04-09   2022-04-11 leanor-munro-dead.html                     Artists                                            By Neil Genzlinger               TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/09/busines                                                    By Andrew Ross Sorkin and Vivian
2022-04-09   2022-04-11 s/dealbook/09db-browder-russia-santions.html ExInvestor in Russia on How to End the War       Giang                            TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/09/opinion
2022-04-09   2022-04-11 /trans-queer-rights.html                       Bullies Dont Surprise Me but Allies Still Do   By Jennifer Finney Boylan        TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/09/science
                        /arthur-d-riggs-82-dies-led-team-that-invented-Arthur D Riggs 82 Dies Led Team That
2022-04-09   2022-04-11 artificial-insulin.html                        Invented Artificial Insulin                    By Clay Risen                    TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/09/us/fire-
2022-04-09   2022-04-11 chief-nebraska-wildfire.html                   Nebraska Chief Killed on Way To a Wildfire     By Amanda Holpuch                TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/10/arts/dan
2022-04-10   2022-04-11 ce/review-kyle-marshall-chelsea-factory.html Embracing Black Traditions in Dance              By Siobhan Burke                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/10/arts/joh Depp Takes Defamation Complaint To US
2022-04-10   2022-04-11 nny-depp-amber-heard-trial.html              Jury                                             By Julia Jacobs                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/10/books/r
2022-04-10   2022-04-11 eview-hello-molly-shannon-memoir.html        Nothing to Be Upset About Were Alive             By Alexandra Jacobs              TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/10/busines
2022-04-10   2022-04-11 s/economy/cars-inflation.html                Car Shortage Adds Risk To Inflation              By Jeanna Smialek                TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/10/busines
2022-04-10   2022-04-11 s/media/warner-bros-discovery.html           Warner Bros Seeks Return To Past Glory           By Brooks Barnes                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/10/busines SampP Global Places Russia Under a
2022-04-10   2022-04-11 s/russia-debt-default-rubles.html            Selective Default                                By Eshe Nelson                  TX 9-169-611      2022-06-01
                        https://www.nytimes.com/2022/04/10/nyregio In 100 Days as Mayor Adams Cites Progress          By Emma G Fitzsimmons Jeffery C
2022-04-10   2022-04-11 n/eric-adams-100-days.html                   In the Face of Criticism                         Mays and Dana Rubinstein        TX 9-169-611      2022-06-01
                        https://www.nytimes.com/2022/04/10/nyregio
2022-04-10   2022-04-11 n/eric-adams-covid-positive.html             Adams Tests Positive For the Coronavirus         By Emma G Fitzsimmons            TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/10/obituari Jack Higgins 92 Dies Prolific Author Wrote
2022-04-10   2022-04-11 es/jack-higgins-dead.html                    The Eagle Has Landed                             By David Stout                   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/10/opinion
2022-04-10   2022-04-11 /boston-marathon-russia-ukraine.html         Brainless Bigotry In Boston                      By Bret Stephens                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/10/opinion
                        /environment/ipcc-report-climate-change-                                                      By John Bistline Ins Azevedo Chris
2022-04-10   2022-04-11 debates.html                                 Climate Debates Are Stalling Progress            Bataille and Steven Davis          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/opinion
2022-04-10   2022-04-11 /putin-russia-ukraine.html                   A Superpower Led by a War Criminal               By Thomas L Friedman             TX 9-169-611     2022-06-01




                                                                                   Page 3611 of 5793
                        https://www.nytimes.com/2022/04/10/sports/b Mets Cant Win Em All but the Signs Point to
2022-04-10   2022-04-11 aseball/mets-nationals.html                   Their Winning a Lot                          By James Wagner                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/sports/b
2022-04-10   2022-04-11 asketball/nba-playoffs-injuries.html          The Injury List And the Intrigue             By Scott Cacciola                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/sports/g
2022-04-10   2022-04-11 olf/masters-scheffler-smith-mcilroy.html      An Everyman Beats All                        By Bill Pennington               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/sports/g In 47th Place at 13 Over Par Woods Basks in
2022-04-10   2022-04-11 olf/tiger-woods-masters-sunday.html           a Victory He Finished                        By Bill Pennington               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/sports/h After 5 Seasons and 168 Games a Player
2022-04-10   2022-04-11 ockey/denver-ncaa-frozen-four.html            Lifts Denver to Its RecordTying 9th Title    By David Waldstein               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/sports/s City vs Liverpool Settles Nothing but Delivers
2022-04-10   2022-04-11 occer/liverpool-man-city-guardiola.html       Immensely                                    By Rory Smith                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/theater/
2022-04-10   2022-04-11 broadway-reopening-omicron-covid.html         Broadways New Sortof Normal                  By Michael Paulson               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/theater/
                        olivier-awards-winners-cabaret-eddie-
2022-04-10   2022-04-11 redmayne.html                                 Cabaret Revival Sweeps Olivier Awards        By Alex Marshall                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/us/hills College Spreads Beliefs of Right In K12
2022-04-10   2022-04-11 dale-college-charter-schools.html             Charters                                     By Stephanie Saul                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/us/jared                                                By David D Kirkpatrick and Kate
2022-04-10   2022-04-11 kushner-saudi-investment-fund.html            Kushner Firm Got 2 Billion From Saudis       Kelly                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/us/mary Maryland Overrides Veto To Expand
2022-04-10   2022-04-11 land-abortion-rights-veto.html                Abortion Access                              By Giulia Heyward                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/us/polit Crypto Firms Have a Wish List States Are       By Eric Lipton and David
2022-04-10   2022-04-11 ics/crypto-industry-states-legislation.html   Turning It Into Law                          YaffeBellany                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/us/polit Jan 6 Panel Is Split on Sending Evidence for By Michael S Schmidt and Luke
2022-04-10   2022-04-11 ics/jan-6-trump-criminal-referral.html        Criminal Referral of Trump                   Broadwater                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/us/texa
                        s-self-induced-abortion-charge-               Texas to Drop Murder Charge in SelfInduced By Giulia Heyward and Sophie
2022-04-10   2022-04-11 dismissed.html                                Abortion                                     Kasakove                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/world/a Khans Removal Closes a Chapter But              By Christina Goldbaum and Salman
2022-04-10   2022-04-11 sia/pakistan-imran-khan-elections.html        Pakistan May Face More Tumult                Masood                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/world/a
                        sia/sundarbans-mangroves-india-               Facing Dire Floods India Turns to Mangrove By Suhasini Raj and Saumya
2022-04-10   2022-04-11 bangladesh.html                               Trees for Protection                         Khandelwal                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/world/e
                        urope/french-presidential-election-macron-le- Macron and Le Pen Will Battle to Lead
2022-04-10   2022-04-11 pen.html                                      France                                       By Roger Cohen                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/world/e                                                 By Mark Landler and Stephen
2022-04-10   2022-04-11 urope/rishi-sunak-taxes-uk.html               Tax Scandal Sullies Popular UK Official      Castle                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/world/e Ruin Sweeps Europes Breadbasket Destroying By Emma Bubola Valeriya
2022-04-10   2022-04-11 urope/ukraine-farmers-food.html               Granaries and Crops                          Safronova and Maria Varenikova TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/10/world/
                        middleeast/israel-ukraine-russia-             Israels Cautious Tone On Ukraine Puts Focus
2022-04-10   2022-04-11 oligarchs.html                                On Israeli Oligarchs                         By Patrick Kingsley              TX 9-169-611   2022-06-01



                                                                                Page 3612 of 5793
                        https://www.nytimes.com/live/2022/04/10/wo
                        rld/ukraine-russia-war-news/ukraine-russia- Perils Grow Dire on Escape Routes to       By Cora Engelbrecht David
2022-04-10   2022-04-11 war                                          Ukraines West                             Zucchino and Jane Arraf        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/theater/
2022-04-11   2022-04-11 birthday-candles-review.html                 Cake as a Metaphor For the Circle of Life By Maya Phillips               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/arts/tele
                        vision/whats-on-tv-this-week-the-first-lady-
2022-04-11   2022-04-11 abbott-elementary.html                       This Week on TV                           By Gabe Cohn                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/nyregio New York States Bail Laws Are Changing      By Chelsia Rose Marcius Troy
2022-04-11   2022-04-11 n/new-york-bail-laws.html                    Again Heres How                           Closson and Grace Ashford      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/sports/b
                        asketball/nba-playoffs-paul-george-          On OftenTough Road to Recovery Youve Got
2022-04-11   2022-04-11 injury.html                                  to Be Your Own Biggest Fan                By Tania Ganguli               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/11/sports/s
2022-04-11   2022-04-11 occer/ukraine-soccer-shakhtar-donetsk.html A Ukrainian Team Perpetually on the Move By Tariq Panja                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/world/e Cost of Fish and Chips Rises in War
2022-04-11   2022-04-11 urope/uk-fish-chips-inflation.html          Economy And UK Feels the Bite             By Stephen Castle               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/17/science
2022-03-17   2022-04-12 /australian-magpies-clever.html             Experiment Foiled Magpies Helping Magpies By Anthony Ham                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/30/us/flam A Flamingo Flourishes 17 Years After
2022-03-30   2022-04-12 ingo-escape-kansas-texas.html               Escaping                                  By Daniel Victor                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/well/mi
                        nd/psilocybin-mushrooms-addiction-
2022-03-31   2022-04-12 therapy.html                                Using Psychedelics To Treat Addiction     By Brendan Borrell              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/well/m
2022-04-06   2022-04-12 ove/30-minutes-exercise.html                The 150Minute Sweet Spot                  By Gretchen Reynolds            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/science
2022-04-07   2022-04-12 /vagrants-lost-birds.html                   Theyre Not Lost Theyre Adapting           By Marion Renault               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/07/well/mi
2022-04-08   2022-04-12 nd/melatonin-antihistamine-sleep-aids.html Sleep Aids May Help But There Are Risks     By Melinda Wenner Moyer        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/arts/mu
                        sic/wagner-exhibition-deutsches-historisches-
2022-04-08   2022-04-12 museum.html                                   Germany Wrestles With Wagners Legacy     By Ben Miller                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/busines Is There a Wheat Whale Disrupting the
2022-04-08   2022-04-12 s/wheat-market-russia-ukraine-reddit.html     Futures Market                           By Emily Flitter               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/us/polit ForProfit College Preyed on Black and
2022-04-08   2022-04-12 ics/walden-university-lawsuit.html            Female Students Suit Says                By Erica L Green               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/article/at-home-      Home Covid Tests Are Useful Though Not
2022-04-08   2022-04-12 covid-test-negative.html                      Perfect                                  By Tara ParkerPope             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/health/e A Comforting Phrase Masks a Dire Ailment
2022-04-09   2022-04-12 lderly-stroke-transient-ischemic.html         Neurologists Warn                        By Paula Span                  TX 9-169-611   2022-06-01




                                                                               Page 3613 of 5793
                        https://www.nytimes.com/2022/04/10/arts/dan
                        ce/review-dance-theater-of-harlem-higher-
2022-04-10   2022-04-12 ground.html                                 A Soulful and Funky Visit to the 1970s    By Brian Seibert                 TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/10/arts/tele
2022-04-10   2022-04-12 vision/dylan-mcdermott-fbi-most-wanted.html Dylan McDermott Is Ready to Be a Good Guy By Kathryn Shattuck              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/opinion
2022-04-10   2022-04-12 /us-veterans-ukraine.html                    Fellow Vets Think Before Heading to Ukraine By Matt Gallagher             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/style/jo Jordan Mooney the Glowering Face Of
2022-04-10   2022-04-12 rdan-mooney-dead.html                        London Punk Culture Dies at 66              By Penelope Green             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/us/bald- Wind Energy Company to Pay 8 Million After
2022-04-10   2022-04-12 eages-dead-wind-farms.html                   Eagles Are Killed by Turbine Blades         By Eduardo Medina             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/world/a Men Who Fled Rather Than Fight Face Scorn By Jeffrey Gettleman and Monika
2022-04-10   2022-04-12 sia/ukraine-draft-dodgers.html               and Shame                                   Pronczuk                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/world/ Palestinians Watch as Their Village Is Slowly
2022-04-10   2022-04-12 middleeast/palestinian-village-israel.html   Whittled Away                               By Raja Abdulrahim            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/arts/des
2022-04-11   2022-04-12 ign/fearless-girl-statue-new-york.html       Fearless Girl Holds Her Ground for Now      By Zachary Small              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/arts/des                                              By Adam Nagourney and Robin
2022-04-11   2022-04-12 ign/moca-los-angeles-johanna-burton.html     Its on Her To End Museums Turmoil           Pogrebin                      TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/11/arts/tele
2022-04-11   2022-04-12 vision/abbott-elementary-janelle-james.html Timing Is Everything                         By Julia Carmel               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/books/p Patricia MacLachlan 84 Revered Writer Of
2022-04-11   2022-04-12 atricia-maclachlan-dead.html                 the Poignant Sarah Plain and Tall           By Annabelle Williams         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/books/r
                        eview-tove-ditlevsen-trouble-with-happiness- Bleak Stories Propelled by a Deep
2022-04-11   2022-04-12 faces.html                                   Compulsion                                  By Dwight Garner              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/busines
2022-04-11   2022-04-12 s/costs-companies-leaving-russia.html        Companies Sacrifice To Get Out of Russia    By The New York Times         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/busines Truck Makers Face Choice Go Battery or
2022-04-11   2022-04-12 s/electric-hydrogen-trucks.html              Hydrogen                                    By Jack Ewing                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/busines
                        s/energy-environment/pge-wildfire-           Pacific Gas amp Electric Agrees to Pay 55
2022-04-11   2022-04-12 settlement.html                              Million in 2 California Wildfires           By Ivan Penn                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/health/c New Drug for Severe Covid Cuts Deaths
2022-04-11   2022-04-12 ovid-sabizabulin-veru.html                   Maker Says                                  By Roni Caryn Rabin           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/nyregio
2022-04-11   2022-04-12 n/marijuana-sales-nj.html                    New Jersey to Sell Legal Marijuana in Weeks By Tracey Tully               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/nyregio Two Officers Who Shoved A Protester Are
2022-04-11   2022-04-12 n/martin-gugino-buffalo-police-ruling.html   Cleared                                     By Eduardo Medina             TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/11/nyregio Woman Pleads Guilty To Tackling Black
2022-04-11   2022-04-12 n/miya-ponsetto-soho-hotel-guilty-plea.html Teen In Lobby of SoHo Hotel               By Ed Shanahan                   TX 9-169-611   2022-06-01




                                                                                 Page 3614 of 5793
                        https://www.nytimes.com/2022/04/11/nyregio
                        n/pete-davidson-colin-jost-staten-island-   An Old Ferry Boat Meets Its New Celebrity
2022-04-11   2022-04-12 ferry.html                                  Owners                                      By Patrick McGeehan               TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/nyregio Fewer Workers Plan to Return Hurting         By Dana Rubinstein and Nicole
2022-04-11   2022-04-12 n/remote-work-hybrid-manhattan.html         Manhattans Comeback                         Hong                              TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/opinion The Unbelievable Stupidity of Ending Global
2022-04-11   2022-04-12 /ending-global-covid-aid.html               Covid Aid                                   By Michelle Goldberg              TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/opinion
2022-04-11   2022-04-12 /germany-russia-ukraine-trade-gas.html      Trade and Peace The Great Illusion          By Paul Krugman                   TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/opinion
2022-04-11   2022-04-12 /trump-democrats-jackson-whitmer.html       The Democrats Secret Weapon                 By Gail Collins and Bret Stephens TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/science
2022-04-11   2022-04-12 /starlings-birds-shakespeare.html           The Starling And a Tall Tale                By Jason Bittel                   TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/sports/b Perfect Game in Japan by Pitcher Who Wasnt
2022-04-11   2022-04-12 aseball/roki-sasaki-perfect-game.html       Born When It Last Happened                  By Victor Mather                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/sports/b Howard Kentuckys Versatile Guard Goes to
2022-04-11   2022-04-12 asketball/wnba-draft.html                   the Dream at No 1                           By Remy Tumin                     TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/sports/c The Hardest Feat For a Mentalist Willing    By Adam Skolnick and Hilary
2022-04-11   2022-04-12 entral-park-fkt.html                        Himself Round and Round Central Park        Swift                             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/technol China Intensifies Its Echoes Of Russias      By Paul Mozur Steven Lee Myers
2022-04-11   2022-04-12 ogy/china-russia-propaganda.html            Disinformation                              and John Liu                      TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/technol Twitter on Edge As Musk Plans His Next
2022-04-11   2022-04-12 ogy/twitter-elon-musk-problem.html          Move                                        By Mike Isaac and Kate Conger     TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/us/phila As Virus Cases Soar Again Philadelphia Will
2022-04-11   2022-04-12 delphia-indoor-mask-mandate.html            Reinstate Its Indoor Mask Mandate           By Campbell Robertson             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/us/polit Test of FarRights Appeal In Arizona GOP
2022-04-11   2022-04-12 ics/arizona-republicans-paul-gosar.html     Primary                                     By Jack Healy                     TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/us/polit After Pulling First Pick Biden Names Former
2022-04-11   2022-04-12 ics/biden-atf-steven-dettelbach.html        Prosecutor to Lead ATF                      By Glenn Thrush and Katie Benner TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/11/us/polit Biden Implores India To Avoid Expanding     By Michael D Shear and Mujib
2022-04-11   2022-04-12 ics/biden-modi-india-russia-oil.html        Reliance on Russian Oil                     Mashal                            TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/us/polit An Angel for Homeless Students in Rural
2022-04-11   2022-04-12 ics/homeless-students-texas.html            Texas                                       By Jason DeParle and Tamir Kalifa TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/us/polit US Debates Using Hague Court To
2022-04-11   2022-04-12 ics/us-russia-ukraine-war-crimes.html       Investigate Russian Atrocities              By Charlie Savage                 TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/11/us/sikh- Four Sikhs Sue Marines Over Ban on
2022-04-11   2022-04-12 marine-lawsuit-beard-turban.html            Wearing Beards While Deployed               By Dave Philipps                  TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/11/world/a Despite Low Turnout Mexico Voters Back         By Oscar Lopez and Natalie
2022-04-11   2022-04-12 mericas/mexico-president-recall-election.html President to Stay in Office                 Kitroeff                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/world/a With Threats All Around Japan Moves to
2022-04-11   2022-04-12 sia/japan-military-russia-ukraine.html        Shed Its Pacifist Constraints               By Motoko Rich                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/world/a
                        sia/pakistan-shehbaz-sharif-prime-            Pakistan Picks Interim Prime Minister Whose By Salman Masood and Christina
2022-04-11   2022-04-12 minister.html                                 Family Is Dogged by Graft Accusations       Goldbaum                         TX 9-169-611   2022-06-01



                                                                                Page 3615 of 5793
                        https://www.nytimes.com/2022/04/11/world/e
                        urope/french-presidential-election-macron-le- Macron Sets Out to Build a Dam Against Le By Norimitsu Onishi and Constant
2022-04-11   2022-04-12 pen-far-fight.html                            Pen Can It Hold Up                            Mheut                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/world/e A Talk With Putin Deepens the Fear of Worse By Steven Erlanger and Anton
2022-04-11   2022-04-12 urope/ukraine-russia-war-putin.html           Attacks                                       Troianovski                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/world/ Ballets Bars and Bomb Scares Lviv Learns to
2022-04-11   2022-04-12 middleeast/ukraine-lviv-refugees.html         Live With War                                 By Jane Arraf and Mauricio Lima   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/11/wo
                        rld/ukraine-russia-war-news/societe-generale- Socit Gnrale Is Exiting Russia At 33 Billion By Kevin Granville and Jason
2022-04-11   2022-04-12 russia                                        Cost                                          Karaian                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/climate Donors Pledge 41 Million to Study Thawing
2022-04-12   2022-04-12 /permafrost-climate-change.html               Arctic Permafrost                             By Henry Fountain                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/theater/ A Literary Flight of Fancy Turns Earthbound
2022-04-12   2022-04-12 the-little-prince-review.html                 Onstage                                       By Elisabeth Vincentelli          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/climate Climate Change Unbalances Penguin                By Henry Fountain and Toms
2022-04-12   2022-04-12 /antarctica-penguins.html                     Populations                                   Munita                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/insider/
2022-04-12   2022-04-12 unraveling-a-high-rise-horror-story.html      Inside a HighRise Horror Story                By Sarah Bahr                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/science
2022-04-12   2022-04-12 /pigeons-facts.html                           Why City Pigeons Are Worth Watching           By Rosemary Mosco                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/sports/b
                        asketball/karl-anthony-towns-timberwolves- A Happy Towns Feels as if We Can Beat
2022-04-12   2022-04-12 playoffs.html                                 Anybody in the World                          By Tania Ganguli                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/well/liv Is Driving High as Dangerous as Driving
2022-04-12   2022-04-12 e/driving-while-high-marijuana.html           Drunk                                         By Dani Blum                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/dining/
2022-04-07   2022-04-13 drinks/wine-climate-change.html               Transforming Despair Into the Delicious       By Eric Asimov                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/arts/mu
2022-04-08   2022-04-13 sic/fivio-foreign-rap-bible.html              A Pragmatic Nudge For a Scrappy Style         By Joe Coscarelli                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/dining/
2022-04-08   2022-04-13 easter-ham-stove.html                         Rethinking Traditional Easter Dishes          By Genevieve Ko                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/dining/j
2022-04-08   2022-04-13 eremy-king-wolseley-corbin-king.html          A London Restaurateur Is Ousted               By Mark Landler                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/dining/
2022-04-08   2022-04-13 spring-recipes.html                           The First Three Dishes of Spring              By David Tanis                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/dining/t
2022-04-08   2022-04-13 orta-rustica-easter-pie.html                  Perfect Pie for Anytime Especially for Easter By Melissa Clark                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/us/oreg Built to Outlast the Big One and Pretty Much
2022-04-08   2022-04-13 on-state-treasury-building.html               Anything Else                                 By Thomas Fuller                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/arts/mu
2022-04-10   2022-04-13 sic/wagner-walkure-opera.html                 One Opera Three Acts Three Stagings           By JS Marcus                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/arts/mu
                        sic/boston-symphony-europe-tour-canceled-
2022-04-11   2022-04-13 covid.html                                    Boston Symphony Cuts Tour Of Europe           By Javier C Hernndez              TX 9-169-611   2022-06-01




                                                                                 Page 3616 of 5793
                        https://www.nytimes.com/2022/04/11/arts/mu
2022-04-11   2022-04-13 sic/britney-spears-pregnant.html           Britney Spears Says I Am Having a Baby          By Julia Jacobs                     TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/11/arts/mu Red Hot Chili Peppers Unlimited Love Tops
2022-04-11   2022-04-13 sic/red-hot-chili-peppers-billboard-chart.html Chart                                        By Ben Sisario                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/dining/ To Shop GlutenFree and Made Mostly on the
2022-04-11   2022-04-13 agata-valentina-gluten-free.html                Premises                                    By Florence Fabricant              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/dining/ To Season Calabrian Chile Flakes To Use
2022-04-11   2022-04-13 boonville-barn-collective-chile-flakes.html     With Abandon                                By Florence Fabricant              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/dining/ To Sip Organically Embracing The
2022-04-11   2022-04-13 centerbe-faccia-brutto.html                     Bittersweet                                 By Florence Fabricant              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/dining/ To Simmer Bubbles Beyond Seltzer For
2022-04-11   2022-04-13 matzo-balls-seltzer.html                        Lighter Matzo Balls                         By Florence Fabricant              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/dining/ To Serve Matzo Brei Updated With Spring
2022-04-11   2022-04-13 matzo-brei-breads-bakery.html                   Vegetables                                  By Florence Fabricant              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/dining/
2022-04-11   2022-04-13 plant-based-pastry-dufour-pastry.html           To Bake Puff Pastry Dough Thats Plant Based By Florence Fabricant              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/health/t
                        his-psychiatric-hospital-used-to-chain-patients From Chains to Treatment Evolving           By Stephanie Nolen and Finbarr
2022-04-11   2022-04-13 now-it-treats-them.html                         Psychiatric Care in Sierra Leone            OReilly                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/opinion Being ProChoice Doesnt Always Mean
2022-04-11   2022-04-13 /abortion-black-brown-women.html                Having Choices                              By Monica Simpson                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/interactive/2022/04/                                                By Daniel Berehulak and Carlotta
2022-04-11   2022-04-13 11/world/europe/bucha-terror.html               Buchas Month of Terror                      Gall                               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/arts/dan A Dance Showcase Deep in the Heart of
2022-04-12   2022-04-13 ce/dance-salad-festival-in-houston.html         Texas                                       By Brian Schaefer                  TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/12/arts/des France Seizes Painting Owned by Russian
2022-04-12   2022-04-13 ign/morozov-collection-russia-sanctions.html Oligarch                               By Alex Marshall                 TX 9-169-611             2022-06-01
                        https://www.nytimes.com/2022/04/12/arts/des
2022-04-12   2022-04-13 ign/turner-prize-phillipson-pollard.html     4 Artists on Turner Prize Shortlist    By Alex Marshall                 TX 9-169-611             2022-06-01
                        https://www.nytimes.com/2022/04/12/arts/gil Gilbert Gottfried Bawdy Comic With a
2022-04-12   2022-04-13 bert-gottfried-dead.html                     Parrots Screech Dies at 67             By Clay Risen and Peter Keepnews TX 9-169-611             2022-06-01
                        https://www.nytimes.com/2022/04/12/arts/tele
2022-04-12   2022-04-13 vision/true-story-docudramas.html            Too True Why TV Is Hooked On Reality   By James Poniewozik              TX 9-169-611             2022-06-01
                        https://www.nytimes.com/2022/04/12/books/r
                        eview-constructing-nervous-system-margo- If You Can Commit a Memoirist Wants Your
2022-04-12   2022-04-13 jefferson.html                               Attention                              By Molly Young                   TX 9-169-611             2022-06-01
                        https://www.nytimes.com/2022/04/12/busines
2022-04-12   2022-04-13 s/boeing-sales.html                          Boeings Sales Climb Led by 737 Max     By Niraj Chokshi                 TX 9-169-611             2022-06-01
                        https://www.nytimes.com/2022/04/12/busines Xis Plan to Spread Wealth Retreats as
2022-04-12   2022-04-13 s/china-economy-covid.html                   Economy Lags                           By Keith Bradsher                TX 9-169-611             2022-06-01
                        https://www.nytimes.com/2022/04/12/busines                                          By Lisa Friedman and Michael D
2022-04-12   2022-04-13 s/economy/biden-ethanol-gas.html             Biden Eases Rules on Ethanol in Gas    Shear                            TX 9-169-611             2022-06-01




                                                                                  Page 3617 of 5793
                        https://www.nytimes.com/2022/04/12/busines Inflation Rate Hit 85 in Fastest Rise Since
2022-04-12   2022-04-13 s/economy/inflation-report-march.html          1981                                      By Jeanna Smialek                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/busines War and Virus Send High Inflation Circling
2022-04-12   2022-04-13 s/global-inflation.html                        the Globe                                 By Eshe Nelson                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/busines
2022-04-12   2022-04-13 s/green-warehouses-solar-rooftop.html          Putting Warehouses on a Green Path        By Jane Margolies                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/busines
                        s/nokia-joins-ericsson-as-telecom-giants-leave                                           By Adam Satariano and Paul
2022-04-12   2022-04-13 russia.html                                    Nokia Joins Rival in Exit From Russia     Mozur                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/busines Yelp Will Pay Workers Travel for Abortion     By Alisha Haridasani Gupta and
2022-04-12   2022-04-13 s/yelp-abortion-employees.html                 Access                                    Lauren Hirsch                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/climate RecordSetting 2020 Hurricane Season Was
2022-04-12   2022-04-13 /climate-change-hurricane-rain.html            Wetter Because of Climate Change          By Maggie Astor                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/dining/ A Rising Black Star At a Bourbon Maker
2022-04-12   2022-04-13 eboni-major-diageo-discrimination.html         Sues the Company                          By Clay Risen                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/dining/
2022-04-12   2022-04-13 el-quijote-review-hotel-chelsea.html           Glamour Returns to the Hotel Chelsea      By Pete Wells                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/dining/
                        mexico-border-church-restaurant-la-
2022-04-12   2022-04-13 tilma.html                                     A Border Community United Through Food    By Christina Morales             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/dining/ Casa Carmen Mexican Thats a Family Affair
2022-04-12   2022-04-13 nyc-restaurant-news.html                       Opens in TriBeCa                          By Florence Fabricant            TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/12/nyregio Lieutenant Governor of New York Steps      By William K Rashbaum Nicholas
2022-04-12   2022-04-13 n/brian-benjamin-resigns-indicted.html     Down                                       Fandos and Jeffery C Mays       TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/12/nyregio HardFought Progress Fades in East Flatbush By Ashley Southall Troy Closson
2022-04-12   2022-04-13 n/east-flatbush-brooklyn-crime.html        As Gun Violence Rises                      and Sean Piccoli                TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/12/nyregio Hochuls Latest Headache Her Running Mates
2022-04-12   2022-04-13 n/hochul-brian-benjamin.html               Arrest and Resignation                     By Luis FerrSadurn              TX 9-169-611       2022-06-01

                        https://www.nytimes.com/2022/04/12/nyregio Gay Couple File Complaint Over New Yorks
2022-04-12   2022-04-13 n/nyc-ivf-same-sex-couple.html             Denial of In Vitro Fertilization Coverage By Precious Fondren                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/nyregio
2022-04-12   2022-04-13 n/shooting-subway-sunset-park.html         City on Edge After a Subway Shooting      By Michael Gold                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/nyregio Trapped by Smoke and Gunfire And          By Sarah Maslin Nir and Andy
2022-04-12   2022-04-13 n/video-brooklyn-shooting.html             Desperately Seeking Escape                Newman                               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/12/opinion
2022-04-12   2022-04-13 /democrats-republicans-child-tax-credit.html Helping Kids Has to Be Bipartisan           By Samuel Hammond                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/opinion What Do We Do if Putin Uses Chemical
2022-04-12   2022-04-13 /ukraine-russia-chemical-weapons.html        Weapons                                     By Bret Stephens                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/opinion
2022-04-12   2022-04-13 /whats-shame-got-to-do-with-it.html          We Should Not Fear Feeling Bad              By Tressie McMillan Cottom       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/sports/b A Division Of Power And Pitching And
2022-04-12   2022-04-13 aseball/yankees-blue-jays.html               Defense                                     By James Wagner                  TX 9-169-611   2022-06-01



                                                                                Page 3618 of 5793
                        https://www.nytimes.com/2022/04/12/sports/d US Crackdown Targets Irish Boxing Figure
2022-04-12   2022-04-13 aniel-kinahan-sanctions-boxing.html         Accused of Organized Crime                  By Kevin Draper                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/sports/f
                        ootball/washington-commanders-dan-snyder- Congress Refers Financial Allegations
2022-04-12   2022-04-13 congress.html                               Against Commanders to FTC                   By Ken Belson and Jenny Vrentas    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/sports/n After SevenWeek Layoff a Rusty Djokovic
2022-04-12   2022-04-13 ovak-djokovic-monte-carlo.html              Makes a Quick Exit                          By Christopher Clarey              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/sports/s
                        occer/chelsea-real-madrid-champions-        Even More Drama Than Usual For Real
2022-04-12   2022-04-13 league.html                                 Madrid                                      By Rory Smith                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/technol                                              By Daisuke Wakabayashi Erin
2022-04-12   2022-04-13 ogy/rto-return-office-technology.html       Have Fun Like Its Your Job                  Griffith and Kate Conger           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/us/polit After Vow to Fix Climate Biden Opens Fossil By Michael D Shear and Lisa
2022-04-12   2022-04-13 ics/biden-gas-prices-fossil-fuels.html      Fuel Spigot                                 Friedman                           TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/12/us/polit House Republicans Abruptly Kill Bipartisan
2022-04-12   2022-04-13 ics/gop-joseph-hatchett-florida.html        Bill to Honor a Pioneering Black Judge        By Annie Karni                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/us/polit Descend on the Capitol Supporters Were
2022-04-12   2022-04-13 ics/jan-6-capitol-riot-sullivan-trump.html  Urged In a Conference Call                    By Alan Feuer                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/us/polit
                        ics/mark-zuckerberg-midterms-elections-     GOP Protests And Zuckerberg Ceases Grants
2022-04-12   2022-04-13 grant.html                                  To Assist Voting                              By Neil Vigdor                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/us/polit Republicans See an Opening as Identity Issues By Katie Glueck and Patricia
2022-04-12   2022-04-13 ics/transgender-laws-us.html                Divide Americans                              Mazzei                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/us/polit Ukraine Thwarts a Russian Cyberattack on Its
2022-04-12   2022-04-13 ics/ukraine-russian-cyberattack.html        Power Grid Authorities Say                    By Kate Conger                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/us/polit US Report Describes Global Retreat on
2022-04-12   2022-04-13 ics/us-report-human-rights.html             Human Rights                                  By Michael Crowley               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/us/sout South Dakota Impeaches Top Official Over a
2022-04-12   2022-04-13 h-dakota-attorney-general-impeached.html    Crash                                         By Mitch Smith                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/us/texa Mexican Truck Drivers Block Border to          By Aaron Nelsen J David Goodman
2022-04-12   2022-04-13 s-mexico-border-inspections-abbott.html     Protest Texas New Inspections                 and Edgar Sandoval               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/world/a Floods and Mudslides Leave Scores Dead in
2022-04-12   2022-04-13 frica/floods-mudslides-south-africa.html    South Africa                                  By Lynsey Chutel                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/world/a
                        mericas/mexico-nude-beach-playa-del-        Locals Fear an LGBTQ Oasis May Be Too
2022-04-12   2022-04-13 amor.html                                   Popular for Its Own Good                      By Oscar Lopez and Lisette Poole TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/12/world/a Tens of Thousands Fill Sri Lankas Streets to
2022-04-12   2022-04-13 sia/sri-lanka-protests-gotabaya-rajapaksa.html Condemn Leaders                            By Emily Schmall and Atul Loke   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/world/e
                        urope/boris-johnson-partygate-fines-rishi-     Johnson Fined for Violating UK Lockdown
2022-04-12   2022-04-13 sunak.html                                     Restrictions                               By Stephen Castle                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/world/e Germany Vowed to Turn Away From Russia         By Katrin Bennhold and Steven
2022-04-12   2022-04-13 urope/germany-russia-ukraine-war.html          but It Might Be Wavering                   Erlanger                         TX 9-169-611   2022-06-01



                                                                                Page 3619 of 5793
                        https://www.nytimes.com/2022/04/12/world/e French Candidates Compete for Unclaimed
2022-04-12   2022-04-13 urope/macron-le-pen-france-election.html      Voters                                       By Aurelien Breeden            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/world/e Mimi Reinhard 107 TwoFinger Typist Who
2022-04-12   2022-04-13 urope/mimi-reinhard-dead.html                 Helped Schindler Save 1100 Lives             By Katharine Q Seelye          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/world/e Putin Calls Peace Talks Dead End and Claims
2022-04-12   2022-04-13 urope/putin-donbas-war-russia.html            Focus Is Ukraines East                       By Anton Troianovski           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/world/u Name Phone Birth Date Writing on a Childs
2022-04-12   2022-04-13 kraine-war-children-parents.html              Back                                         By Anushka Patil               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/article/abortion-     State Abortion Legislation Surges Across the
2022-04-12   2022-04-13 laws-us.html                                  Country                                      By Sophie Kasakove             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/12/bus
2022-04-12   2022-04-13 iness/cpi-inflation-report/inflation-airfares Demand and Fuel Costs Push Airfares Up       By Niraj Chokshi               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/theater/
2022-04-13   2022-04-13 to-my-girls-review.html                       Instagays At the Dusk Of Liberation          By Jesse Green                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/busines Substack Has Growing Pains or Existential
2022-04-13   2022-04-13 s/media/substack-growth-newsletters.html      Threats                                      By Tiffany Hsu                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/insider/
                        the-host-of-modern-love-opens-up-about-
2022-04-13   2022-04-13 helping-guests-open-up.html                   Talking About Modern Love                    By Megan DiTrolio              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/sports/f                                                By Emmanuel Morgan and Michael
2022-04-13   2022-04-13 ootball/nfl-broadcaster-boot-camp.html        A Training Camp With Microphones             Owens                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/02/busines Tackling Hollywood Bias A Single Script at
2022-04-02   2022-04-14 s/media/hollywood-bias-consultants.html       a Time                                       By John Koblin                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/style/fo
2022-04-08   2022-04-14 rlinis-closing.html                           Worlds Converged but the Road Ends           By Alex Vadukul                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/nyregio For Clergy Covid Brought Doubts and
2022-04-09   2022-04-14 n/covid-clergy-new-york.html                  Reaffirmations                               By James Estrin                TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/11/crossw
2022-04-11   2022-04-14 ords/crossword-puzzle-tournament-diary.html The Diary of a Wordplay Columnist          By Rachel Fabi                   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/11/opinion
2022-04-11   2022-04-14 /nashville-symphony-bird-migration.html      A 150000Bird Conundrum                    By Margaret Renkl                TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/11/style/art
2022-04-11   2022-04-14 busts.html                                   Ode to a Grecian Yearn                    By Alex Beggs                    TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/11/style/th
2022-04-11   2022-04-14 ebe-magugu-az-factory.html                   Hes the Answer Posing a Question          By Vanessa Friedman              TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/12/arts/mu
2022-04-12   2022-04-14 sic/chick-corea.html                         Now a Return To Chick Corea               By Ed Morales                    TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/12/busines
2022-04-12   2022-04-14 s/google-lawsuit-puppy-fraud-scheme.html     Google Goes After Puppy Fraud in Court    By Livia AlbeckRipka             TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/12/style/ne
2022-04-12   2022-04-14 bula-new-york-club.html                      A New Club Wants Manhattan on Its Feet    By Steven Kurutz                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/12/style/qr-
2022-04-12   2022-04-14 code-haggadah.html                           Why Is This Night Different See QR Code   By Alyson Krueger                TX 9-169-611     2022-06-01



                                                                                Page 3620 of 5793
                        https://www.nytimes.com/2022/04/12/style/rel
2022-04-12   2022-04-14 axed-fashion-clothing.html                   Theyll Return to the Office Wearing Uggs By Rhonda Garelick                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/theater/ Members of Waitress Tour Company Want to
2022-04-12   2022-04-14 waitress-actors-equity-union.html            Join a Union                             By Michael Paulson                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/world/a Trapped in Quarantine in China Month After
2022-04-12   2022-04-14 sia/china-covid-quarantine-shanghai.html     Month After Month                        By Vivian Wang                     TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/12/world/e How Germanys Smallest State Is Leading the
2022-04-12   2022-04-14 urope/germany-covid-vaccine-strategy.html Way on Vaccines                             By Christopher F Schuetze          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/interactive/2022/04/
                        12/well/family/covid-deaths-parents-
2022-04-12   2022-04-14 grandparents.html                            As Families Grieve Grandparents Step Up  By Paula Span                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/obituari Shirley Spork 94 Teacher And an LPGA
2022-04-13   2022-04-14 es/shirley-spork-dead.html                   Founder                                  By Richard Goldstein               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/arts/bee
2022-04-13   2022-04-14 thoven-fidelio-deaf-west.html                Singing and Signing in a Beethoven Opera By Adam Nagourney                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/arts/jerr Jerry Uelsmann a Master of Surrealist
2022-04-13   2022-04-14 y-uelsmann-dead.html                         Photography Is Dead at 87                By Richard Sandomir                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/arts/mu
2022-04-13   2022-04-14 sic/tokischa.html                            Rebel Rapper Doesnt Dare Hold Back       By Isabelia Herrera                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/books/r
                        eview-seek-hide-right-to-privacy-amy-
2022-04-13   2022-04-14 gajda.html                                   Thats Your Own Business Or Maybe It Isnt By Jennifer Szalai                 TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/13/busines Oligarch Is Squeezed Further With 7 Billion
2022-04-13   2022-04-14 s/abramovich-sanctions-ukraine-russia.html Asset Freeze                                  By Matthew Goldstein            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/busines Chinas Zero Covid Strategy Shows Perils of
2022-04-13   2022-04-14 s/china-covid-zero-shanghai.html           Autocracy                                     By Li Yuan                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/busines Delta Reports Quarterly Loss but Sees Better
2022-04-13   2022-04-14 s/delta-air-lines-earnings.html            Days Ahead                                    By Niraj Chokshi                TX 9-169-611   2022-06-01
                                                                                                                 By Chris Hamby Walt Bogdanich
                        https://www.nytimes.com/2022/04/13/busines How McKinsey Advised Purdue And the           Michael Forsythe and Jennifer
2022-04-13   2022-04-14 s/mckinsey-purdue-fda-records.html         FDA                                           ValentinoDeVries                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/busines Starbucks Chief Talks of Nonunion Staff
2022-04-13   2022-04-14 s/starbucks-union-benefits-schultz.html    Benefits                                      By Noam Scheiber                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/busines Britain Faces 7 Inflation Its Highest In 3
2022-04-13   2022-04-14 s/uk-inflation-economy-data.html           Decades                                       By Eshe Nelson                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/busines Yellen Tells China Its Time to Push Russia to
2022-04-13   2022-04-14 s/yellen-war-global-economy.html           Stop Its War in Ukraine                       By Alan Rappeport               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/climate
2022-04-13   2022-04-14 /california-electric-vehicles.html         California Plan Would Halt Gas Car Sales      By Lisa Friedman                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/fashion
2022-04-13   2022-04-14 /mens-style/mens-lingerie.html             Sexy Lingerie for Men Is Here                 By Shane ONeill                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/nyregio Actor Accused of Groping Accepts a Plea       By Benjamin Weiser and Colin
2022-04-13   2022-04-14 n/cuba-gooding-jr-guilty.html              Agreement                                     Moynihan                        TX 9-169-611   2022-06-01



                                                                               Page 3621 of 5793
                        https://www.nytimes.com/2022/04/13/nyregio On Crime Issue Mayor Finds Himself Battling By Emma G Fitzsimmons and
2022-04-13   2022-04-14 n/eric-adams-subway-shooting.html          Perception and Reality                      Jeffery C Mays                    TX 9-169-611   2022-06-01
                                                                                                               By Jonah E Bromwich Ashley
                        https://www.nytimes.com/2022/04/13/nyregio Suspect Drifted From City to City As His    Southall Ali Watkins and Kirsten
2022-04-13   2022-04-14 n/frank-james-subway-shooting.html         Videos Hinted at Violence                   Noyes                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/nyregio                                             By Nicholas Fandos Jeffery C Mays
2022-04-13   2022-04-14 n/gerald-migdol-brian-benjamin.html        The Developer In an Inquiry Jolting Albany and William K Rashbaum             TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/13/nyregio Subway Security Cameras in Brooklyn Station By Michael LaForgia Ana Ley and
2022-04-13   2022-04-14 n/subway-shooting-cameras.html             Were Flagged as Faulty 2 Days Earlier       Michael Rothfeld                TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/13/nyregio
                        n/when-you-live-in-new-york-city-youve-got-
                        to-recover-at-the-36th-street-station-more- At the 36th Street Station More Officers and By Nate Schweber and Ashley
2022-04-13   2022-04-14 officers-and-plenty-of-commuters.html       Plenty of Wary Commuters                     Wong                          TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/13/obituari Michel Bouquet 96 Veteran Actor Twice
2022-04-13   2022-04-14 es/michel-bouquet-dead.html                 Hailed as Frances Best Dies                  By William Grimes             TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/13/opinion
2022-04-13   2022-04-14 /covid-booster-shot.html                    Why Experts Dont Agree On Boosters           By Markham Heid               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/13/opinion
2022-04-13   2022-04-14 /putin-ukraine-war-strategy.html            Free Advice for Putin Make Peace You Fool By Thomas L Friedman             TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/13/sports/b
2022-04-13   2022-04-14 aseball/alyssa-nakken-giants.html           In a First a Woman Coaches on the Field      By Benjamin Hoffman           TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/13/sports/b
2022-04-13   2022-04-14 aseball/clayton-kershaw-dodgers.html        Perfection in Sight Kershaw Is Pulled        By Scott Miller               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/13/sports/b Nets Scramble in PlayIn but Offer Glimpse of
2022-04-13   2022-04-14 asketball/nets-cavaliers-nba-celtics.html   What They Can Be                             By Sopan Deb                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/13/sports/s
                        occer/manchester-city-atletico-madrid-      Manchester City Still Stands After Atlticos
2022-04-13   2022-04-14 champions-league.html                       Best Shots                                   By Rory Smith                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/13/technol Amazon Fights High Costs With Surcharge to
2022-04-13   2022-04-14 ogy/amazon-fuel-surcharge.html              Sellers                                      By Karen Weise                TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/13/technol
2022-04-13   2022-04-14 ogy/personaltech/elden-ring-pandemic.html Slaying the Dragon With Help From Friends By Brian X Chen                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/technol
2022-04-13   2022-04-14 ogy/russia-tech-workers.html                Brain Drain Threatens Russian Tech           By Cade Metz and Adam Satariano TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/theater/
2022-04-13   2022-04-14 david-mamet-broadway.html                   Mamet Is Pushing Even Hotter Buttons         By Marc Tracy                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/travel/f Mask Mandate Extended For Airliners and
2022-04-13   2022-04-14 ederal-mask-mandate-airplanes.html          Trains                                       By Heather Murphy               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/us/gran
                        d-rapids-police-shooting-michigan-patrick- Authorities Release Videos Of Officer Fatally
2022-04-13   2022-04-14 lyoya.html                                  Shooting A Black Man in Michigan             By Mitch Smith                  TX 9-169-611   2022-06-01




                                                                                Page 3622 of 5793
                        https://www.nytimes.com/2022/04/13/us/polit                                             By Julian E Barnes and Michael D
2022-04-13   2022-04-14 ics/biden-weapons-ukraine.html              US to Send 800 Million In Aid to Kyiv       Shear                            TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/13/us/polit Terror Case Ends on Tale Of Torture And
2022-04-13   2022-04-14 ics/el-shafee-elsheikh-terrorism-beatles.html Slavery                                   By Glenn Thrush                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/13/us/polit Facing Charges in Riot Ohio Man Tells the
2022-04-13   2022-04-14 ics/jan-6-suspect-trump.html                  Jury Trump Made Him Do It                 By Alan Feuer                    TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/13/us/polit Justice Dept Reaches Agreements With Police
2022-04-13   2022-04-14 ics/justice-dept-policing.html              in Massachusetts and Washington DC          By Katie Benner                  TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/13/us/polit Meadows Is Taken Off North Carolina Voter
2022-04-13   2022-04-14 ics/mark-meadows-vote-north-carolina.html Rolls During Inquiry                          By Azi Paybarah                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/13/us/polit                                             By Julian E Barnes and Edward
2022-04-13   2022-04-14 ics/russia-propaganda-ukraine-war.html      Storming Putins Wall Of Censors             Wong                             TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/13/us/polit Two Top Trump Lawyers Meet With Jan 6       By Maggie Haberman and Luke
2022-04-13   2022-04-14 ics/trump-lawyers-jan-6.html                Panel                                       Broadwater                       TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/13/us/texa Abbott Offers Deal to End a Snarl at the
2022-04-13   2022-04-14 s-border-abbott-trucks.html                 Border                                      By J David Goodman               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/13/world/a Anger at Government Rises as Flood Deaths
2022-04-13   2022-04-14 frica/south-africa-durban-floods.html       In South Africa Pass 250                    By John Eligon                   TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/13/world/a Younger Marcos Pursues Presidency by
2022-04-13   2022-04-14 sia/philippines-marcos-president-election.html Denying Family Infamy                      By SuiLee Wee and Camille Elemia TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/world/e Britain Will Announce Deal With Rwanda on
2022-04-13   2022-04-14 urope/britain-rwanda-immigrant-deal.html       Migrants                                   By Stephen Castle                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/world/e
                        urope/finland-sweden-nato-russia-              Putins War May Push Swedes And Finns to By Steven Erlanger and Johanna
2022-04-13   2022-04-14 ukraine.html                                   Apply to NATO                              Lemola                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/world/e
                        urope/johnson-partygate-rishi-sunak-           Despite Fine UK Leader Gets Support Of His
2022-04-13   2022-04-14 fines.html                                     Party                                      By Stephen Castle                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/world/e Le Pen Backs Reduced Role in Alliance
2022-04-13   2022-04-14 urope/le-pen-nato-russia-germany.html          Signaling Hard Turn for France if Elected  By Roger Cohen                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/world/e
2022-04-13   2022-04-14 urope/ukraine-refugees-women.html              A Crisis for Women First and Foremost      By Amanda Taub                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/world/e                                                By Marc Santora Erika Solomon
2022-04-13   2022-04-14 urope/ukraine-russia-war-abuses.html           Growing Hunt for Signs of War Crimes       and Carlotta Gall                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/world/e Pencil Cases and AirRaid Sirens As the War By Megan Specia and Maria
2022-04-13   2022-04-14 urope/ukraine-schools-war.html                 Goes On Classes Do Too                     Varenikova                       TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/13/world/e Ally of Putin With Links To Manafort Is
2022-04-13   2022-04-14 urope/viktor-medvedchuk-russia-ukraine.html Captured                                    By Andrew E Kramer               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/13/world/ Tel Aviv Museum Reopens Rethinking
2022-04-13   2022-04-14 middleeast/israel-art-museum-tel-aviv.html Approach                                     By Patrick Kingsley              TX 9-169-611     2022-06-01



                                                                                Page 3623 of 5793
                        https://www.nytimes.com/live/2022/04/13/wo
                        rld/covid-19-mandates-cases-vaccine/two-new
                        omicron-subvariants-are-spreading-quickly-in- 2 New Subvariants of Omicron Are Spreading
2022-04-13   2022-04-14 new-york-state                                Fast in New York                            By Apoorva Mandavilli           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/nyregio After Citywide Dragnet Subway Attack
2022-04-14   2022-04-14 n/brooklyn-subway-shooting-arrest.html        Suspect Is Charged as Terrorist             By Michael Gold                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/theater/
2022-04-14   2022-04-14 harmony-review.html                           History Always Gets to Sing the Final Note By Elisabeth Vincentelli         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/us/polit Stung by Iowas 2020 Gaffes Democrats
                        ics/democrats-presidential-primary-           Weigh Overhaul of Presidential Primary
2022-04-14   2022-04-14 calendar.html                                 Calendar                                    By Katie Glueck                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/sports/s A Mill Town In Georgia Churns Out Soccer
2022-04-14   2022-04-14 occer/dalton-ga-high-school-rivalry.html      Titles                                      By Joe Drape and Audra Melton   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/style/a-
2022-04-14   2022-04-14 gen-z-success-story.html                      A Jeweler Capitalizes On a Shift in Tastes  By Andr Wheeler                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/style/lo
2022-04-14   2022-04-14 veshackfancy.html                             The Defiant Rise of LoveShackFancy          By Jessica Testa                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/books/d Delia Ephron Writes Her Way Through
2022-04-09   2022-04-15 elia-ephron-memoir-left-tenth.html            Cancer                                      By Penelope Green               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/opinion
2022-04-10   2022-04-15 /timothy-keller-cancer-easter.html            A Dying Pastor and Jesus Return             By Tish Harrison Warren         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/theater/ Benedict Lombe Wins Blackburn Prize for
2022-04-11   2022-04-15 benedict-lombe-blackburn-prize-lava.html      Lava                                        By Sarah Bahr                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/us/road- Short Fuses and Plentiful Guns Bullets Fly on
2022-04-12   2022-04-15 rage-shootings-guns-texas.html                US Roads                                    By J David Goodman              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/arts/dan William G Hamilton 90 Doctor Who Paved
2022-04-13   2022-04-15 ce/william-g-hamilton-dead.html               Way For Dance Medicine Field                By Clay Risen                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/arts/des
2022-04-13   2022-04-15 ign/matisse-exhibition-philadelphia.html      A Show Will Focus On Matisse in the 30s     By Sarah Bahr                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/arts/des
2022-04-13   2022-04-15 ign/ukraine-artists-instagram-russia.html     Ukrainian Artists Demand Attention          By Will Heinrich                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/movies/
2022-04-13   2022-04-15 father-stu-review.html                        Father Stu                                  By Nicolas Rapold               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/13/movies/
2022-04-13   2022-04-15 mississippi-masala-denzel-washington.html Yes Even the Displaced Fall in Love             By J Hoberman                   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/13/movies/ The Terror and Distraction on a Teenagers
2022-04-13   2022-04-15 were-all-going-to-the-worlds-fair-review.html Laptop                                      By AO Scott                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/movies/
2022-04-13   2022-04-15 women-of-the-white-buffalo-review.html        Women of the White Buffalo                  By Concepcin de Len             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/13/wo
                        rld/ukraine-russia-war-news/russia-land-
2022-04-13   2022-04-15 mines-ukraine                                 Left Behind In Retreat Thousands Of Mines   By Cora Engelbrecht             TX 9-169-611   2022-06-01




                                                                                 Page 3624 of 5793
                        https://www.nytimes.com/2022/04/14/arts/dan
                        ce/calpulli-mexican-dance-company-cinco-de-
2022-04-14   2022-04-15 mayo.html                                   Telling the Story of Cinco de Mayo in Dance   By Brian Seibert            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/arts/dan
                        ce/review-let-the-crows-come-ashwini-
2022-04-14   2022-04-15 ramaswamy.html                              A Solo for Three Reflecting Two Worlds        By Gia Kourlas              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/arts/des
                        ign/aldrich-museum-duane-slick-meskwaki-
2022-04-14   2022-04-15 ho-chunk.html                               The Coyote Takes the Lead in an Exhibition    By Dawn Chan                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/arts/des
2022-04-14   2022-04-15 ign/joe-bradley-begins-again.html           Beginning Again Rivetingly                    By Roberta Smith            TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/14/arts/des
2022-04-14   2022-04-15 ign/paola-pivi-high-line-statue-liberty.html Paola Pivis American Moment                  By Joseph Giovannini        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/arts/mu
2022-04-14   2022-04-15 sic/coachella-summer-concerts-covid.html     Coachella Kicks Off An Uncertain Season      By Ben Sisario              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/arts/tele
2022-04-14   2022-04-15 vision/jonathan-bailey-bridgerton.html       Jonathan Bailey Is Keeping Busy              By Charlie BrinkhurstCuff   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/arts/tele
2022-04-14   2022-04-15 vision/old-enough-dirty-lines.html           This Weekend I Have                          By Margaret Lyons           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/busines Chinas Covid Policy Is Wreaking Havoc On
2022-04-14   2022-04-15 s/china-lockdowns-economy.html               Growth Forecasts                             By Alexandra Stevenson      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/busines Supply Chain Problems Will Outlast             By Ben Casselman and Ana
2022-04-14   2022-04-15 s/economy/biden-supply-chain.html            Pandemic White House Says                    Swanson                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/busines Twitter Has Extraordinary Potential I Will
2022-04-14   2022-04-15 s/elon-musk-twitter-financing.html           Unlock It                                    By Lauren Hirsch            TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/14/busines
2022-04-14   2022-04-15 s/great-american-mountain-rally-revival.html New England Rally Revived Minus the Mud By Christopher Jensen            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/busines
2022-04-14   2022-04-15 s/inflation-europe-economy.html                Economic Uncertainty Rises in Europe      By Eshe Nelson               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/busines Quartz the Business News Site Bucks a Media
2022-04-14   2022-04-15 s/media/quartz-paywall.html                    Trend by Scrapping Its Paywall            By Katie Robertson           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/busines                                               By Lananh Nguyen and Stacy
2022-04-14   2022-04-15 s/wall-street-bank-earnings.html               Wall Street Reports a Slump in Profits    Cowley                       TX 9-169-611   2022-06-01
                                                                       Plumes of Warm Air Caused Collapse of
                        https://www.nytimes.com/2022/04/14/climate Antarctic Ice Shelves in 95 and 02 Scientists
2022-04-14   2022-04-15 /antarctic-ice-shelves-atmospheric-rivers.html Say                                       By Henry Fountain            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/climate One Thing Those Spines Wont Protect Them
2022-04-14   2022-04-15 /cactus-climate-change.html                    Against Climate Change                    By Raymond Zhong             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/health/c Are There Better Ways to Track Virus Cases
2022-04-14   2022-04-15 ovid-cases-tracking.html                       as the Blind Spots Grow                   By Emily Anthes              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/movies/
2022-04-14   2022-04-15 cannes-film-festival-lineup.html               Cannes Announces Competing Films          By Alex Marshall             TX 9-169-611   2022-06-01




                                                                                Page 3625 of 5793
                        https://www.nytimes.com/2022/04/14/movies/
2022-04-14   2022-04-15 dual-review.html                            Dual                                        By Natalia Winkelman              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/movies/
                        fantastic-beasts-the-secrets-of-dumbledore- Cuddly Gives Way to Dark Both in Critters
2022-04-14   2022-04-15 review.html                                 and Humans                                  By Amy Nicholson                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/movies/
2022-04-14   2022-04-15 paris-13th-district-review.html             Amid the Romance Traces of French Ideals By Manohla Dargis                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/movies/
2022-04-14   2022-04-15 the-tale-of-king-crab-review.html           The Tale of King Crab                       By Glenn Kenny                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/movies/
2022-04-14   2022-04-15 to-olivia-review.html                       To Olivia                                   By Lisa Kennedy                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/movies/
2022-04-14   2022-04-15 wyrmwood-apocalypse-review.html             Wyrmwood Apocalypse                         By Lena Wilson                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/nyregio
                        n/brooklyn-subway-shooting-frank-           Prosecutors Say Suspect Caused Terror in    By Troy Closson and Rebecca
2022-04-14   2022-04-15 james.html                                  Subway Attack                               Davis OBrien                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/nyregio 33 Bullets a Crowded Subway And
2022-04-14   2022-04-15 n/brooklyn-subway-shooting-victims.html     Astonishingly No Deaths                     By Sarah Maslin Nir               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/nyregio Christopher Moore 70 Guardian Of Black
2022-04-14   2022-04-15 n/christopher-moore-dead.html               New York History Dies                       By Sam Roberts                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/nyregio ExOfficial In New York Gets 12 Years For
2022-04-14   2022-04-15 n/edward-mangano-bribery-sentencing.html Bribery                                        By Rebecca Davis OBrien           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/nyregio New York Will Expand GiftedStudent
2022-04-14   2022-04-15 n/nyc-gifted-talented.html                  Classes But Cut Entrance Test               By Lola Fadulu                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/nyregio Man Charged With Arson In Fire That Injured
2022-04-14   2022-04-15 n/rash-nightclub-fire-arson.html            Two At LGBTQ Nightclub                      By Ed Shanahan and Julia Carmel   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/nyregio Legal Marijuana Sales Set to Begin in New
2022-04-14   2022-04-15 n/weed-sales-nj.html                        Jersey                                      By Tracey Tully                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/opinion
2022-04-14   2022-04-15 /musk-twitter-agrawal.html                  Musks Ultimate Twitter Troll A Takeover Bid By Kara Swisher                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/opinion
2022-04-14   2022-04-15 /passover-exodus-story-redemption.html      Imagine a Bible With No Moses No Exodus By Sharon Brous                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/opinion
2022-04-14   2022-04-15 /republicans-populism-rich.html             The GOP Is Still the Party Of Plutocrats    By Paul Krugman                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/opinion A Judge Retires Just How Political Is That   By Eric Reinhart and Daniel L
2022-04-14   2022-04-15 /supreme-court-politics-jackson.html        Decision                                    Chen                              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/sports/b Hall of Fame To Reexamine Perspectives Of
2022-04-14   2022-04-15 aseball/jackie-robinson-hall-of-fame.html   Black Players                               By Tyler Kepner                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/sports/s A European Tournament Thats Actually a
2022-04-14   2022-04-15 occer/europa-conference-league.html         Competition                                 By Rory Smith                     TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/14/technol
2022-04-14   2022-04-15 ogy/elon-musk-is-a-digital-citizen-kane.html A Media Baron for the Digital Age      By Shira Ovide                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/technol After Toying With Twitter Musk Now Wants By Mike Isaac Kate Conger and
2022-04-14   2022-04-15 ogy/elon-musk-twitter-bid.html               It All                                 Lauren Hirsch                         TX 9-169-611   2022-06-01



                                                                               Page 3626 of 5793
                        https://www.nytimes.com/2022/04/14/technol Gopuffs Delivery Model Is Tested by
2022-04-14   2022-04-15 ogy/gopuff-delivery.html                   Uncertainty                                   By Erin Woo                      TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/14/us/colu Presidents of 3 Top Universities Say Theyre   By Anemona Hartocollis and Giulia
2022-04-14   2022-04-15 mbia-howard-nyu-presidents-retirements.html Stepping Down                                Heyward                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/us/new- Two Killed In Wildfire That Burns
2022-04-14   2022-04-15 mexico-wildfire-deaths.html                 Uncontrolled                                 By Johnny Diaz                   TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/14/us/polit
2022-04-14   2022-04-15 ics/biden-judicial-nominees.html            Democrats Race to Reshape Courts by 23       By Carl Hulse                    TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/14/us/polit Nebraska State Senator Says Candidate for
2022-04-14   2022-04-15 ics/charles-herbster-julie-slama-nebraska.html Governor Groped Her at GOP Dinner in 2019 By Azi Paybarah                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/14/us/polit Ohio Man Who Blamed Trump for Jan 6 Acts
2022-04-14   2022-04-15 ics/dustin-thompson-jan-6-trial.html           Is Guilty                                 By Alan Feuer                    TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/14/us/polit UK Militant Convicted For Abuse and
2022-04-14   2022-04-15 ics/isis-beatles-el-shafee-elsheikh.html       Killings Of 4 Americans in Syria          By Glenn Thrush                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/14/us/polit Pfizer Says Booster Strengthens Immune
2022-04-14   2022-04-15 ics/pfizer-boosters-children.html              Response for Ages 5 to 11                 By Sharon LaFraniere             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/14/us/polit Putin May Be Tempted to Use Small Nuclear By David E Sanger and Julian E
2022-04-14   2022-04-15 ics/putin-nuclear-weapons.html                 Weapon CIA Chief Says                     Barnes                           TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/14/us/teac In Several States Teachers Get Biggest Raise
2022-04-14   2022-04-15 her-salary-pay-raise.html                      in Decades                                By Giulia Heyward                TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/14/world/a Down With France Africa Wants Influence
2022-04-14   2022-04-15 frica/france-macron-africa-colonies.html       Of an Old Power Gone                      By Ruth Maclean                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/14/world/e
                        urope/barentsburg-norway-ukraine-war-          At Arctic Outpost Warm RussianUkrainian
2022-04-14   2022-04-15 russia.html                                    Relations Are No More                     By Jer Longman and Erin Schaff   TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/14/world/e
                        urope/european-union-oil-embargo-russia-       Europe Braces Itself For Russian Oil
2022-04-14   2022-04-15 ukraine.html                                   Embargo                                   By Matina StevisGridneff         TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/14/world/e A Struggle to Reconcile A Borders Horrific
2022-04-14   2022-04-15 urope/poland-ukraine-holocaust-dispatch.html Past With Its Haven Present                 By Jeffrey Gettleman             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/14/world/e Russian Flagship Sinks in Black Sea EU        By Matina StevisGridneff and
2022-04-14   2022-04-15 urope/russia-warship-eu-oil.html               Could Ban Oil                             Richard PrezPea                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/14/world/e UKs Plan to Send Asylum Seekers to Rwanda By Stephen Castle Megan Specia
2022-04-14   2022-04-15 urope/uk-rwanda-asylum-seekers.html            Sets Off Protest                          and Abdi Latif Dahir             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/14/world/e SovietEra Missiles Now Guard Ukraines
2022-04-14   2022-04-15 urope/ukraine-russia-nato-s300.html            Skies                                     By Andrew Higgins                TX 9-169-611    2022-06-01
                        https://www.nytimes.com/live/2022/04/14/bus
                        iness/elon-musk-twitter/elon-musk-twitter-ted- In a TED Talk Distorting Reality To Fit a
2022-04-14   2022-04-15 talk                                           Narrative                                 By Ryan Mac                      TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/14/sports/b Honoring the Past By Focusing On the         By Andrea Williams and Taylor
2022-04-15   2022-04-15 aseball/nashville-stars.html                   Future                                    Baucom                           TX 9-169-611    2022-06-01




                                                                                Page 3627 of 5793
                        https://www.nytimes.com/2022/04/14/theater/ Review In American Buffalo Grift Is the Coin
2022-04-15   2022-04-15 american-buffalo-review.html                of the Realm                                 By Jesse Green                   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/14/theater/
2022-04-15   2022-04-15 cyrano-de-bergerac-review.html              Big Lies Little Lies                         By Jesse Green                   TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/14/us/polit Panel Presses Former Aide On Trump Speech By Maggie Haberman and Luke
2022-04-15   2022-04-15 ics/stephen-miller-january-6-committee.html Before Riot                               Broadwater                          TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/15/arts/olg In Russia a New Iron Curtain Falls on Storied
2022-04-15   2022-04-15 a-smirnova-ballet-bolshoi-ukraine-war.html Ballet Stages                                  By Alex Marshall                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/busines
                        s/energy-environment/fuel-prices-travel-    Fuel Prices Raise Airfares And Travelers Are By Niraj Chokshi and Clifford
2022-04-15   2022-04-15 cost.html                                   Paying                                        Krauss                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/insider/
                        reporting-from-amazons-hometown-and-
2022-04-15   2022-04-15 seeing-the-company-everywhere.html          An Expansive Beat Amazon                      By Terence McGinley               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/movies/
2022-04-15   2022-04-15 choose-or-die-review.html                   Choose or Die                                 By Ben Kenigsberg                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/sports/f USFL Says Dont Call It a Comeback Only the
2022-04-15   2022-04-15 ootball/usfl-faq.html                       Names Recall the 1980s Relic                  By Victor Mather                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/polic                                               By David D Kirkpatrick Steve Eder
2022-04-15   2022-04-15 e-traffic-stops.html                        Cities Rethink Traffic Stops By the Police    and Kim Barker                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/22/technol
2022-03-22   2022-04-16 ogy/ai-data-indigenous-ivow.html            An Evolving Tools Place in Real Life          By Alex V Cipolle                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/29/technol For Children With Autism Robots Can Be
2022-03-29   2022-04-16 ogy/ai-robots-students-disabilities.html    Friendly Teachers                             By Alina Tugend                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/05/technol What if Mental Health Could Be Assessed by
2022-04-05   2022-04-16 ogy/ai-voice-analysis-mental-health.html    the Sound of Your Voice                       By Ingrid K Williams              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/arts/gil
2022-04-13   2022-04-16 bert-gottfried.html                         A Few Best Worst Moments                      By Jay Ruttenberg                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/arts/nat
                        ional-endowment-for-the-humanities-new-
2022-04-13   2022-04-16 grants.html                                 National Endowment Announces New Grants By Laura Zornosa                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/opinion Ukraine Needs Arms So Is Investing in the
2022-04-13   2022-04-16 /defense-contractors-invest.html            Defense Industry Wrong                        By Peter Coy                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/opinion
2022-04-14   2022-04-16 /covid-pandemic-ptsd.html                   Americas Pandemic PTSD                        By Charles M Blow                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/arts/des
2022-04-14   2022-04-16 ign/nft-art-market-sothebys.html            Reframing NFTs For the Art Market             By Zachary Small                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/busines
2022-04-14   2022-04-16 s/economy/wages-antitrust-law-us.html       A New Legal Tactic To Protect Workers Pay By Eduardo Porter                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/us/polit Border Policy Presents Questions for
2022-04-14   2022-04-16 ics/biden-democrats-title-42-border.html    Democrats                                     By Leah Askarinam                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/us/ukra Ukrainians Face New Hurdle at US Border
2022-04-14   2022-04-16 inian-refugees-dogs-us-border.html          Getting Their Dogs Across                     By Miriam Jordan                  TX 9-169-611   2022-06-01



                                                                                Page 3628 of 5793
                        https://www.nytimes.com/2022/04/14/world/a In Japan Toddlers Cross The Street Alone on
2022-04-14   2022-04-16 sia/japan-toddler-tv-show.html               TV                                          By Hisako Ueno and Mike Ives   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/arts/des
2022-04-15   2022-04-16 ign/julie-doucet-time-zone-j.html            Its Time to Revisit An Artists World        By Yevgeniya Traps             TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/arts/des
2022-04-15   2022-04-16 ign/shin-gallery-anniversary-show.html       Charms in a Motley Assemblage               By John Vincler                TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/arts/mu
2022-04-15   2022-04-16 sic/alarm-will-sound-armory-review.html      The Armory Has Its Moment As an Aviary      By Joshua Barone               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/arts/mu
                        sic/yefim-bronfman-ustvolskaya-carnegie-     In a Violent Piece a Sound Like Human
2022-04-15   2022-04-16 hall.html                                    Voices                                      By David Allen                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/arts/tele Liz Sheridan 93 Actress Who Played
2022-04-15   2022-04-16 vision/liz-sheridan-dead.html                Seinfelds Mom                               By Neil Genzlinger             TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/arts/tele
                        vision/sienna-miller-anatomy-of-a-
2022-04-15   2022-04-16 scandal.html                                 Finding Catharsis In a Role                 By Alexis Soloski              TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/15/busines Biden Promotes New Nominee To Key
2022-04-15   2022-04-16 s/economy/michael-barr-federal-reserve.html Position At the Fed                        By Jeanna Smialek                TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/busines
2022-04-15   2022-04-16 s/twitter-poison-pill-elon-musk.html        Twitter Deploys A Poison Pill Against Musk By Lauren Hirsch and Kate Conger TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/busines How the WellWorn Tactic Keeps the Raiders
2022-04-15   2022-04-16 s/twitter-poison-pill-explainer.html        at Bay                                     By Amanda Holpuch                TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/climate Biden to Open 145000 Acres to Drillers and
2022-04-15   2022-04-16 /biden-drilling-oil-leases.html             Charge Them Higher Fees                    By Coral Davenport               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/health/c Covid Breath Test Approved but Wide Use Is
2022-04-15   2022-04-16 ovid-breath-test-fda.html                   Far Off                                    By Emily Anthes                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/nyregio
                        n/brooklyn-subway-shooting-mta-             Calm Under Fire Transit Workers Say They
2022-04-15   2022-04-16 workers.html                                Relied on Training and Instinct            By Michael Gold                  TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/15/nyregio For Suspect in Subway Attack a Long Trail of By Jonah E Bromwich Amy Julia
2022-04-15   2022-04-16 n/frank-james-subway-attack-brooklyn.html Disputes and Petty Charges                    Harris Jan Ransom and Ali Watkins TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/nyregio
                        n/houari-benkada-subway-shooting-          He Cant Sleep at Night After a Morning of
2022-04-15   2022-04-16 victims.html                               Horror                                       By Karen Zraick                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/nyregio Three Sikhs Are Attacked on Same Queens By Liam Stack and Samira
2022-04-15   2022-04-16 n/sikh-attacks-nyc.html                    Street                                       AsmaSadeque                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/opinion
2022-04-15   2022-04-16 /climate-change-gas-leaf-blowers.html      Its Saturday About Your Leaf Blower          By Jessica Stolzberg              TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/15/opinion The Mayor Should Look In His Heart Before
2022-04-15   2022-04-16 /mayor-eric-adams-homelessness-nyc.html    Trying To Address Homelessness            By Mara Gay                        TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/science Sidney Altman Who Stumbled on a
2022-04-15   2022-04-16 /sidney-altman-dead.html                   Breakthrough in Genetics Is Dead at 82    By Dylan Loeb McClain              TX 9-169-611     2022-06-01



                                                                                Page 3629 of 5793
                        https://www.nytimes.com/2022/04/15/sports/b With a Big Nod to the Past the Mets Future Is
2022-04-15   2022-04-16 aseball/mets-home-opener.html               Now                                           By Tyler Kepner             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/15/sports/b Seavers Statue Stands 10 Feet Tall Just Like
2022-04-15   2022-04-16 aseball/tom-seaver-statue-mets.html         Seaver                                        By Jay Schreiber            TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/15/sports/c AllAround Olympic Gold But Second at
2022-04-15   2022-04-16 ollege-gymnastics-sunisa-lee.html           NCAAs                                         By Victor Mather            TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/15/sports/e For Spence and Ugas Three Titles Are Just
2022-04-15   2022-04-16 rrol-spence-yordenis-ugas-fight-preview.html Part of What Is at Stake                     By Morgan Campbell           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/sports/h Mike Bossy Dies at 65 GoalScoring Machine
2022-04-15   2022-04-16 ockey/mike-bossy-dead.html                   Of Islanders Dynasty                         By Richard Goldstein         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/sports/h A Stanley Cup Hero and the Resident Artist of
2022-04-15   2022-04-16 ockey/mike-bossy-islanders.html              the Boys of Winter                           By George Vecsey             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/sports/o
                        lympics/michael-barisone-aquitted-
2022-04-15   2022-04-16 insanity.html                                Coach Acquitted of Shooting His Student      By Remy Tumin                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/sports/s
2022-04-15   2022-04-16 ailing/pamala-baldwin-liquid.html            Pamala Baldwin would rather be sailing       By Kimball Livingston        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/sports/s
2022-04-15   2022-04-16 ailing/st-barth-geography-challenge.html     A race where geography plays a part          By David Schmidt             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/sports/s
2022-04-15   2022-04-16 ailing/st-barth-maxi-yachts.html             The really big boats have arrived            By John Clarke               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/sports/s
                        occer/charlie-stillitano-relevent-sports-
2022-04-15   2022-04-16 lawsuit.html                                 Super League Fallout in New York Court       By Tariq Panja               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/theater/
2022-04-15   2022-04-16 broadway-coronavirus-mask-vaccine.html       Broadway Holds Firm On Masks For Patrons By Michael Paulson               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/cam US Will Offer Temporary Protection to
2022-04-15   2022-04-16 eroon-temporary-protected-status.html        People Who Fled the War in Cameroon          By Miriam Jordan             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/mcc The Old Highway Brings Danger and a New By Christiaan Mader and Rick
2022-04-15   2022-04-16 omb-lafayette-louisiana-highway.html         One Distrust                                 Rojas                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/polit Bidens Made 2021 Income Of 610000 Filings
2022-04-15   2022-04-16 ics/biden-tax-returns.html                   Show                                         By Michael D Shear           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/polit A Crisis 5000 Miles Away Sidetracks Bidens
2022-04-15   2022-04-16 ics/biden-ukraine-domestic-agenda.html       Agenda at Home                               By Michael D Shear           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/polit Messages Trace Republicans Alarm Before
2022-04-15   2022-04-16 ics/mike-lee-chip-roy-jan-6-texts.html       Jan 6                                        By Luke Broadwater           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/polit Trump Endorses Hillbilly Elegy Author a Big By Maggie Haberman and Jazmine
2022-04-15   2022-04-16 ics/ohio-jd-vance-trump-endorsement.html     Bet in a Crowded Ohio Senate Race            Ulloa                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/polit As Republican Candidates Face Accusations
2022-04-15   2022-04-16 ics/republicans-accusations-women.html       Rivals Tread Carefully                       By Jonathan Weisman          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/polit Russia Lost Not Just a Destroyer But a        By Julian E Barnes and James
2022-04-15   2022-04-16 ics/russia-moskva-ship-sunk-ukraine.html     Symbol of Military Might                     Glanz                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/sout South Carolina Prisoner Chooses to Be
2022-04-15   2022-04-16 h-carolina-firing-squad-moore.html           Executed by Firing Squad                     By Nicholas BogelBurroughs   TX 9-169-611   2022-06-01



                                                                                 Page 3630 of 5793
                        https://www.nytimes.com/2022/04/15/world/a An Unexpected Leader Fights to Build Trust
2022-04-15   2022-04-16 frica/tanzania-female-president.html       in Tanzania                                By Abdi Latif Dahir                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/world/a Europes Tougher Stance With Russia Puts    By Chris Buckley and Keith
2022-04-15   2022-04-16 sia/china-europe-russia-ukraine.html       China In an Awkward Position               Bradsher                            TX 9-169-611   2022-06-01
                                                                                                              By Christina Goldbaum Salman
                        https://www.nytimes.com/2022/04/15/world/a Days After His Ouster Khan Is Wooing       Masood and Ihsanullah Tipu
2022-04-15   2022-04-16 sia/imran-khan-rally-pakistan.html         Voters in Pakistan                         Mehsud                              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/world/a
                        sia/kim-jong-un-ri-chun-hee-luxury-        Being North Koreas Voice for News Has Its
2022-04-15   2022-04-16 home.html                                  Rewards                                    By John Yoon                        TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/15/world/a Covid Patient In Shanghai Describes Life In
2022-04-15   2022-04-16 sia/shanghai-covid-isolation-quarantine.html Isolation                                   By Alexandra Stevenson           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/world/e Ordering the Captives to Smile And Thank      By Jeffrey Gettleman Oleksandr
2022-04-15   2022-04-16 urope/ukraine-russia-occupation.html         Putin at Gunpoint                           Chubko and David Guttenfelder    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/world/e
                        urope/ukraine-russia-us-weapons-             Russia Warns US Not to Send Kyiv            By David E Sanger Helene Cooper
2022-04-15   2022-04-16 warning.html                                 Advanced Arms                               and Anton Troianovski           TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/15/world/e The Path to War Crimes Trials Could Be        By Rick Gladstone and Farnaz
2022-04-15   2022-04-16 urope/ukraine-war-crimes-trials.html         Years Long and Complicated                  Fassihi                         TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/15/world/ For 700 Years One Family Has Adorned
2022-04-15   2022-04-16 middleeast/jerusalem-tattoo-artist.html      Pilgrims to the Holy Land With Ink          By Isabel Kershner               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/your-
2022-04-15   2022-04-16 money/mini-tender-stock.html                 Sell Those 20 Shares for 1440               By Ann Carrns                    TX 9-169-611   2022-06-01

                        https://www.nytimes.com/live/2022/04/15/bus
                        iness/economy-news-inflation-russia/china- China Counters Global Trend By Encouraging
2022-04-15   2022-04-16 central-bank-reserve-requirement-ratio       Banks to Lend                            By Keith Bradsher                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/15/wo
                        rld/jerusalem-al-aqsa-mosque/al-aqsa-mosque- Clashes With Officers At Jerusalem Holy  By Patrick Kingsley and Raja
2022-04-15   2022-04-16 clashes                                      Site Leave Scores Injured                Abdulrahim                          TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/15/technol Activision Tells Regulators It Will Cooperate
2022-04-16   2022-04-16 ogy/activision-sec-insider-trading.html     With Inquiry Into Potential Insider Trading  By Kellen Browning               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/busines
2022-04-16   2022-04-16 s/care-workers-unions-wages.html            Caregivers Try to Keep Gains Going           By Emma Goldberg                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/busines
                        s/economy/housing-market-interest-rates-    Hot Market For Housing Is Beginning To       By Conor Dougherty and Jeanna
2022-04-16   2022-04-16 prices.html                                 Cool Off                                     Smialek                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/nyregio After Shooting New Yorkers Say Weve
2022-04-16   2022-04-16 n/brooklyn-subway-shooting-resilient.html   Survived Worse                               By Sarah Maslin Nir              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/realesta
                        te/tenant-protections-nyc-upper-west-       A Lone Tenant Stalls a Manhattan
2022-04-16   2022-04-16 side.html                                   Development                                  By Stefanos Chen                 TX 9-169-611   2022-06-01




                                                                                Page 3631 of 5793
                        https://www.nytimes.com/2022/04/16/sports/n                                           By Scott Cacciola Sopan Deb and
2022-04-16   2022-04-16 ba-playoffs-preview.html                    Many Stars Many Contenders and No Locks   Tania Ganguli                     TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/16/your- A Growing Tribe of Finfluencers Demystifies
2022-04-16   2022-04-16 money/tori-dunlap-financial-influencers.html Investing for Women                     By Tara Siegel Bernard             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/17/books/r
                        eview/rhymes-rooms-architecture-of-poetry-
2022-03-17   2022-04-17 brad-leithauser.html                         In Defense of Poetry                    By David Orr                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/style/sa
2022-04-07   2022-04-17 mantha-hunt-the-unwritten-book.html          The Ghosts of a Childhood Home          By Kate Dwyer                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/magazi
2022-04-11   2022-04-17 ne/trump-putin-ukraine-fiona-hill.html       This Was Trump Pulling a Putin          By Robert Draper                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/realesta
                        te/renters-haitian-photojournalist-          A Haitian Journalist Finds Safety in
2022-04-11   2022-04-17 manhattan.html                               Manhattan                               By DW Gibson                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/magazi Should I Have Lied To Help My Kid Brother
2022-04-12   2022-04-17 ne/lying-brother-vaccine-ethics.html         Get Vaccinated                          By Kwame Anthony Appiah            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/magazi
2022-04-12   2022-04-17 ne/rabbits-pets.html                         Rabbits                                 By Missouri Williams               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/magazi
2022-04-12   2022-04-17 ne/viola-davis.html                          Viola Davis Inside Out                  By Jazmine Hughes                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/magazi
2022-04-12   2022-04-17 ne/work-school-deadline-extension.html       How to Ask for an Extension             By Malia Wollan                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/opinion                                           By Patrick Healy and Adrian J
2022-04-12   2022-04-17 /conservative-voters-america.html            Eight Conservative Men Zero Apologies   Rivera                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/realesta
                        te/joel-grey-on-making-a-space-for-art-and-
2022-04-12   2022-04-17 dreams.html                                  Welcome to a Space for Art and Dreams   By Joanne Kaufman                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/theater/ Laurence Fishburne Cools Down With
2022-04-12   2022-04-17 laurence-fishburne-american-buffalo.html     Classic Jazz                            By Alexis Soloski                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/arts/dan
2022-04-13   2022-04-17 ce/intimacy-directors-ballet.html            Keeping Trauma Out of the Drama         By Laura Cappelle                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/magazi This Treat Gives You a Moment of Warmth
2022-04-13   2022-04-17 ne/chamomile-cake-recipe.html                in the Middle of the Day                By Eric Kim                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/magazi
2022-04-13   2022-04-17 ne/chicago-gas-giveaway.html                 Free Rides                              By Peter C Baker                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/nyregio
2022-04-13   2022-04-17 n/cruxy-oconnor-ira-spy-wednesday.html       The Central Park Ambush of 1922         By Mark Bulik                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/opinion
2022-04-13   2022-04-17 /john-roberts-supreme-court.html             Roberts Has Lost Control of the Court   By Stephen I Vladeck               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/opinion How to Make Sense of the New LGBT
2022-04-13   2022-04-17 /transgender-culture-war.html                Culture War                             By Ross Douthat                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/realesta Much Better Than an Ordinary Caribbean
2022-04-13   2022-04-17 te/grenada-caribbean-house-hunting.html      Beach Shack                             By Alison Gregor                   TX 9-169-611   2022-06-01




                                                                               Page 3632 of 5793
                        https://www.nytimes.com/2022/04/13/realesta
                        te/why-you-should-plant-a-garden-thats-wasp-
2022-04-13   2022-04-17 friendly.html                                Like Bees Here Are More Good Guys           By Margaret Roach                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/realesta A Peaceful Rural Enclave Close to New
2022-04-13   2022-04-17 te/woodbridge-connecticut-homes.html         Haven                                       By Lisa Prevost                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/theater/
                        billy-crystal-broadway-mr-saturday-
2022-04-13   2022-04-17 night.html                                   Another Saturday Night This One Onstage     By Dave Itzkoff                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/arts/des
                        ign/simone-leigh-venice-biennale-us-         A Time to Share Her Inspirations With the
2022-04-14   2022-04-17 pavilion.html                                World                                       By Siddhartha Mitter                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/arts/mu                                               By Isabelia Herrera and Sofia
2022-04-14   2022-04-17 sic/ambient-music.html                       The Power of a Spurned Genre                Crespo                              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/arts/mu Franz Mohr 94 Who Tuned Strings for Star
2022-04-14   2022-04-17 sic/franz-mohr-dead.html                     Pianists                                    By James Barron                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/arts/tele Marvin Chomsky 92 Director Of Roots and
2022-04-14   2022-04-17 vision/marvin-chomsky-dead.html              Holocaust                                   By Richard Sandomir                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/magazi
                        ne/angiotensin-receptor-blockers-            He Was Remarkably Healthy Until Chronic
2022-04-14   2022-04-17 diarrhea.html                                Diarrhea Nearly Killed Him                  By Lisa Sanders MD                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/magazi
2022-04-14   2022-04-17 ne/judge-john-hodgman-dog-names.html         Bonus Advice From Judge John Hodgman        By John Hodgman                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/magazi
                        ne/poem-when-my-gender-is-first-named-       Poem When My Gender is First Named          By torrin a greathouse and Victoria
2022-04-14   2022-04-17 disorder.html                                Disorder                                    Chang                               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/movies/
2022-04-14   2022-04-17 alexander-skarsgard-the-northman.html        A BigBudget Viking Dream                    By Kaly Soto                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/nyregio Elaines the Musical From People Who Drank
2022-04-14   2022-04-17 n/everyone-comes-to-elaines-musical.html     There                                       By Corey Kilgannon                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/opinion
2022-04-14   2022-04-17 /severance-apple-tv-office.html              Office Perks Can Feel Like an Insult        By Elizabeth Spiers                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/realesta
2022-04-14   2022-04-17 te/condos-cost-increase-house-prices.html    Condominiums Grow More Expensive            By Michael Kolomatsky               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/style/an
                        na-sawai-goes-from-j-pop-star-to-hollywood-
2022-04-14   2022-04-17 starlet.html                                 A Former JPop Idol Gone Hollywood           By Alex Hawgood                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/style/bi
2022-04-14   2022-04-17 rthday-gifts-social-qs.html                  Cheapskate InLaws                           By Philip Galanes                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/style/ni
2022-04-14   2022-04-17 kolaj-coster-waldau.html                     Cold as Ice Playing for Fun a Star Misfires By Alexis Soloski                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/style/si
2022-04-14   2022-04-17 mone-ashley-bridgerton.html                  Awkward No Uncomfortable Maybe              By Anna P Kambhampaty               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/t-
2022-04-14   2022-04-17 magazine/new-york-jewelry-designers.html Jewelry NY                                      By Rachel Felder                    TX 9-169-611   2022-06-01




                                                                                 Page 3633 of 5793
                        https://www.nytimes.com/2022/04/14/world/e
                        urope/nhs-covid-cases-treatment-             UK Struggling to Reduce Backlog of
2022-04-14   2022-04-17 backlogs.html                                NonCovid Care                                 By Isabella Kwai                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/interactive/2022/04/ Bailing on Brooklyn for the Ridgewood
2022-04-14   2022-04-17 14/realestate/14hunt-winther.html            Revival But Could They Afford a House         By Joyce Cohen                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/us/dog- Think You Own That Dog It Might Just Be a
2022-04-15   2022-04-17 leasing-massachusetts.html                   Lease                                         By Vimal Patel                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/arts/bar Once Cast as a Villain Barnes amp Noble
2022-04-15   2022-04-17 nes-noble-bookstores.html                    Turns the Page                                By Elizabeth A Harris           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/arts/dan Ann Hutchinson Guest Who Preserved Dance
2022-04-15   2022-04-17 ce/ann-hutchinson-guest-dead.html            on Paper Is Dead at 103                       By Neil Genzlinger              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/arts/mu Untangling High Culture From Lifes Ugly         By Emily Richmond Pollock and
2022-04-15   2022-04-17 sic/classical-music-nazi-world-war-ii.html   Realities                                     Kira Thurman                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/arts/tele
                        vision/a-very-british-scandal-claire-foy-    From Her Pedestal an Aristocrat Fell to Earth
2022-04-15   2022-04-17 duchess-of-argyll.html                       and Became Fodder                             By Matthew Anderson             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/books/
2022-04-15   2022-04-17 madness-gabriel-ojeda-sague.html             In Retrospect                                 By Christopher Soto             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/books/n
2022-04-15   2022-04-17 elly-sachs-flight-and-metamorphosis.html     Prophecies That Squint                        By Daisy Fried                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/books/r
2022-04-15   2022-04-17 eview/canopy-linda-gregerson.html            Grief Counsel                                 By Stephanie Burt               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/books/r
2022-04-15   2022-04-17 eview/continuous-creation-les-murray.html Rough Magnificence                               By William Logan                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/books/r
2022-04-15   2022-04-17 eview/new-paperbacks.html                    Paperback Row                                 By Miguel Salazar               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/books/r
2022-04-15   2022-04-17 eview/new-poetry-collections.html            Poetry                                        By Jessica Gigot                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/books/r
                        eview/now-do-you-know-where-you-are-dana-
2022-04-15   2022-04-17 levin.html                                   Realignment                                   By Srikanth Reddy               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/books/r
                        eview/pablo-neruda-paloma-valdivia-book-of-
2022-04-15   2022-04-17 questions.html                               Just Wondering                                By Joyce Maynard                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/books/r
                        eview/rapture-and-melancholy-edna-st-
2022-04-15   2022-04-17 vincent-millay.html                          Burning at Both Ends                          By Heather Clark                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/books/r
2022-04-15   2022-04-17 eview/roger-reeves-best-barbarian.html       From Elegy to Ecstasy                         By Sandra Simonds               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/books/r
2022-04-15   2022-04-17 eview/venice-ange-mlinko.html                The Damage Done                               By Troy Jollimore               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/books/r
2022-04-15   2022-04-17 eview/what-is-poetry.html                    On Poetry                                     By Elisa Gabbert                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/busines Michael F Neidorff 79 Who Aided
2022-04-15   2022-04-17 s/michael-f-neidorff-dead.html               Obamacare Dies                                By Reed Abelson                 TX 9-169-611   2022-06-01



                                                                                Page 3634 of 5793
                        https://www.nytimes.com/2022/04/15/busines Your Cheating Heart My Ailing Retirement
2022-04-15   2022-04-17 s/money-secrets-cheating-retirement.html   Plan                                         By John F Wasik                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/busines Negotiating for Pay and Perks When the Job
2022-04-15   2022-04-17 s/new-job-negotiate-pay-benefits.html      Offer Lands                                  By Mandi WoodruffSantos          TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/15/busines
2022-04-15   2022-04-17 s/panera-niren-chaudhary-corner-office.html A Tighter Focus on a Healthier Future       By David Gelles                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/magazi
2022-04-15   2022-04-17 ne/ai-language.html                         The Writing on the Wall                     By Steven Johnson and Nikita Iziev TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/nyregio
2022-04-15   2022-04-17 n/electric-bicycle-new-york-pandemic.html Commuting to Preschool in the Bike Lane       By Kendra Hurley                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/nyregio
2022-04-15   2022-04-17 n/rocco-dispirito.html                      From a Tower of Seafood to Piles of Pasta   By Andrew Cotto                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/nyregio
2022-04-15   2022-04-17 n/work-from-home-nyc.html                   Return to Office Is Being Redefined         By Ginia Bellafante              TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/15/opinion
2022-04-15   2022-04-17 /bill-gates-therapeutics-covid-pandemic.html A Deadly Delay in Covid Drugs              By Bill Gates                    TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/opinion
2022-04-15   2022-04-17 /easter-resurrection-good-friday.html        What Easter Says About Black Suffering     By Esau McCaulley                TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/15/opinion
2022-04-15   2022-04-17 /kathy-hochul-cuomo-scandal-glass-cliff.html What Kathy Hochul Has to Prove             By Jessica Bennett               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/opinion When Does a Nurses Mistake Become a
2022-04-15   2022-04-17 /radonda-vaught-medical-errors.html          Crime                                      By Daniela J Lamas               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/opinion Dont Freeze Russias Reserves Liquidate       By Laurence H Tribe and Jeremy
2022-04-15   2022-04-17 /russia-war-currency-reserves.html           Them                                       Lewin                            TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/realesta
2022-04-15   2022-04-17 te/condo-defects-new-development.html        Expecting Luxury They Got Leaks            By Stefanos Chen                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/sports/s
                        occer/champions-league-liverpool-manchester-A Competitions Value Is in the Eye of the
2022-04-15   2022-04-17 city.html                                    Beholders                                  By Rory Smith                    TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/sports/u Chechnyas Strongman Has Strong Links To
2022-04-15   2022-04-17 fc-kadyrov-khamzat-chimaev.html              UFCs Rising Star                           By Karim Zidan and Kevin Draper TX 9-169-611      2022-06-01
                        https://www.nytimes.com/2022/04/15/style/be
2022-04-15   2022-04-17 nny-blanco-parties.html                      Wheres the Party Its at Benny Blancos      By Max Berlinger                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/style/ja
                        nice-matamoros-rayburn-ewers-                At 82 and 89 Prayer and FootballWatching
2022-04-15   2022-04-17 weddings.html                                Partners                                   By Tammy La Gorce                TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/style/je First Ms PacMan and BurgerTime Then the
2022-04-15   2022-04-17 nnifer-banegas-alyssa-bush-weddings.html     Rings                                      By Jenny Block                   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/15/style/ka
2022-04-15   2022-04-17 bir-melwani-leah-madeline-freedland.html     Slowing Down Sped Up Their Relationship    By Vincent M Mallozzi            TX 9-169-611     2022-06-01




                                                                                 Page 3635 of 5793
                        https://www.nytimes.com/2022/04/15/style/lin
2022-04-15   2022-04-17 dsey-ward-michael-richardson-weddings.html A MiddleSchool Romance That Lasted              By Emma Grillo                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/style/m
                        odern-love-loneliness-locked-down-single-    The Loneliness of the LockedDown Single
2022-04-15   2022-04-17 mother.html                                  Mom                                           By Emily Listfield             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/style/ri For This Wedding a Shift From Ukraine to
2022-04-15   2022-04-17 kel-deutch-meny-stambler-weddings.html       New York                                      By Valeriya Safronova          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/style/st Why Not Marry Earlier The Cat Was
2022-04-15   2022-04-17 uart-rembaum-jim-post-weddings.html          Noncommittal                                  By Louise Rafkin               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/bord Woman Dies Trying to Scale Border Fence
2022-04-15   2022-04-17 er-wall-mexico-death.html                    Into Arizona                                  By Livia AlbeckRipka           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/uss-
2022-04-15   2022-04-17 sullivans-buffalo-sinking.html               WWII Ship Is in Trouble On Lake Erie          By Johnny Diaz                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/wisc
                        onsin-districts-gerrymander-supreme-         Wisconsin Supreme Court Approves
2022-04-15   2022-04-17 court.html                                   RepublicanDrawn State Legislative Maps        By Michael Wines               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/greg- Texas Governor Repeals BorderClogging
2022-04-16   2022-04-17 abbott-immigration-repeal.html               Order                                         By Vimal Patel                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/busines                                                 By Ben Ryder Howe and Tristan
2022-04-16   2022-04-17 s/beta-electric-airplane.html                The Battery That Flies                        Spinski                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/busines The Markets Are Glum Time for Cautious
2022-04-16   2022-04-17 s/economy-inflation-war-covid.html           Optimism                                      By Jeff Sommer                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/health/                                                 By Stephanie Nolen and Karan
2022-04-16   2022-04-17 global-covid-deaths-who-india.html           Virus Death Toll 9 Million Higher             Deep Singh                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/nyregio
                        n/brooklyn-subway-shooter-nypd-              Inside the 31Hour Manhunt After the Horror By Michael Wilson Ashley Southall
2022-04-16   2022-04-17 manhunt.html                                 on the N Train                                and Andy Newman                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/nyregio Son of Novelist Is Charged in His Babys Fatal By Karen Zraick and Andy
2022-04-16   2022-04-17 n/daniel-auster-fentanyl-arrest.html         Overdose                                      Newman                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/nyregio Public Will Foot Most of 14 Billion Cost for
2022-04-16   2022-04-17 n/new-buffalo-bills-stadium.html             Stadium Buffalo Fans Cheer                    By Jesse McKinley              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/opinion
2022-04-16   2022-04-17 /bernie-sanders-democratic-policies.html     Still Feeling the Bern                        By Maureen Dowd                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/opinion
                        /international-world/ukraine-war-bucha-
2022-04-16   2022-04-17 photographs.html                             Photographing Hell                            By David Hume Kennerly         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/opinion
2022-04-16   2022-04-17 /patents-reform-drug-prices.html             Save Americas Patent System                   By The Editorial Board         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/realesta If I Install an Induction Range Will That Hurt
2022-04-16   2022-04-17 te/induction-range-home-value-sale.html      My Homes Value                                By Ronda Kaysen                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/sports/b Some of the Cleveland Teams Fans Are
2022-04-16   2022-04-17 aseball/cleveland-guardians.html             Guardians Only of the Past                    By David Waldstein             TX 9-169-611   2022-06-01




                                                                               Page 3636 of 5793
                        https://www.nytimes.com/2022/04/16/sports/b
2022-04-16   2022-04-17 aseball/rachel-balkovec-yankees-tarpons.html Lessons in Baseball and Even Better Life     By James Wagner                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/sports/b A Kenyan Runners Unlikely Journey to
2022-04-16   2022-04-17 enson-kiprutos-boston-marathon.html          Boston Marathon Champion                     By Sarah Gearhart                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/style/fi
2022-04-16   2022-04-17 ddle-leaf-fig-plants.html                    Some New Leaves to Flip Over                 By Katie Van Syckle              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/style/ve
2022-04-16   2022-04-17 nice-gondolier-transgender.html              Rebirth in Venice                            By Guy Trebay and Clara Vannucci TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/us/polit TrumpBacked Candidates Focus on 2020          By Jazmine Ulloa and Nick
2022-04-16   2022-04-17 ics/trump-michigan-republicans.html          Splits Michigan Republicans                  Corasaniti                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/us/texa Days After Setting an Execution Date a Texas
2022-04-16   2022-04-17 s-execution-john-henry-ramirez.html          Prosecutor Reverses Course                   By Ruth Graham                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/world/a Journalists in Kashmir Face Chilling Pattern
2022-04-16   2022-04-17 sia/india-kashmir-journalists-arrested.html  of Rearrests                                 By Suhasini Raj                  TX 9-169-611   2022-06-01
                                                                                                                  By Andrew E Kramer Eric Schmitt
                        https://www.nytimes.com/2022/04/16/world/e Pivoting East Putin Shifts Battle From Streets Thomas GibbonsNeff and Michael
2022-04-16   2022-04-17 urope/east-ukraine-russia-putin-war.html     to Plains                                    Schwirtz                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/world/e In Bid to Rally the Left in His Runoff With
2022-04-16   2022-04-17 urope/french-election-macron-le-pen.html     Le Pen Macron Pledges Climate Action         By Constant Mheut                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/world/e
2022-04-16   2022-04-17 urope/nazi-soldier-watch-netherlands.html    Watch Stolen by a Nazi Soldier Turns Up      By Claire Moses                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/world/e
                        urope/russia-missiles-ukraine-kyiv-lviv-     Across Ukraine Russia Turns Fire To Military By Andrew E Kramer Marc Santora
2022-04-16   2022-04-17 neptune.html                                 Sites                                        and Matina StevisGridneff        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/world/e
                        urope/russian-propaganda-telegram-           For Uncensored News on Ukraine Russians By Valeriya Safronova Neil
2022-04-16   2022-04-17 ukraine.html                                 Turn to Telegram                             MacFarquhar and Adam Satariano TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/16/world/e
                        urope/ukraine-war-eastern-europe-            Eastern Europe Is Left Anxious and Sleepless
2022-04-16   2022-04-17 insomnia.html                                Over War in Ukraine                          By Monika Pronczuk               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/16/world/ Were Exhausted Palestinians Decry Israeli
2022-04-16   2022-04-17 middleeast/palestinians-israel-violence.html Raids                                       By Raja Abdulrahim              TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/17/busines Politics Intrudes Upon the Fairy Tale World
2022-04-17   2022-04-17 s/disney-politics-florida.html               of the Disney Brand                         By Brooks Barnes                TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/17/busines The Week in Business Housing Market Gets
2022-04-17   2022-04-17 s/the-week-in-business-housing-market.html Squeezed                                      By Marie Solis                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/17/insider/
2022-04-17   2022-04-17 murdochs-empire-of-influence.html           An Investigation Jumps to the Screen         By Sarah Bahr                   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/17/realesta
2022-04-17   2022-04-17 te/home-sales-750000-dollars.html           Homes That Sold for Around 750000            By C J Hughes                   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/17/style/sa
2022-04-17   2022-04-17 ve-venice-ball.html                         Blue Mermaids And Poets                      By Denny Lee                    TX 9-169-611     2022-06-01



                                                                                Page 3637 of 5793
                        https://www.nytimes.com/2022/04/17/us/otis- Singers Widow Holds On to the Past and
2022-04-17   2022-04-17 redding-zelma-macon-georgia.html             Shapes Her Citys Future                        By Richard Fausset               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/world/u
                        kraine-children-cancer-treatment-                                                           By Isadora Kosofsky and Miriam
2022-04-17   2022-04-17 memphis.html                                 Fighting for Her Life Very Far From Home Jordan                                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/02/21/travel/e 6 Days Afloat and Adrift Deep in Floridas
2022-02-21   2022-04-18 verglades-kayak-trip.html                    Everglades                                     By Stephen Hiltner               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/08/well/co As Subvariant Spreads Heres How to Get
2022-04-08   2022-04-18 vid-timeline-ba2.html                        Through an Infection                           By Knvul Sheikh and Rose Wong    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/busines
2022-04-10   2022-04-18 s/meal-delivery-woodspoon-chefs.html         Illegally Delicious Probably                   By Julie Creswell                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/12/us/pfas- Forever Chemicals Are in Food Wraps and
2022-04-12   2022-04-18 chemicals-fast-food.html                     Just About Everyplace                          By Isabella Grulln Paz           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/technol
2022-04-13   2022-04-18 ogy/etsy-strike.html                         Etsy Sellers Take Up a Familiar Internet Fight By Shira Ovide                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/travel/fl
2022-04-13   2022-04-18 orence-italy-mary-mccarthy.html              Touring Florence With an Opinionated Guide By Perri Klass MD                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/arts/mu
2022-04-14   2022-04-18 sic/anna-netrebko-monte-carlo.html           Shunned Soprano to Perform in Monaco           By Javier C Hernndez             TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/15/arts/jen A White Authors Book About Black             By Alexandra Alter and Elizabeth
2022-04-15   2022-04-18 nifer-buck-bad-and-boujee-book-pulled.html Feminism Is Pulled                            A Harris                            TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/15/arts/tele
2022-04-15   2022-04-18 vision/better-call-saul-recap-season-5.html  There Will Be Way More Blood                By David Segal                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/briefing
2022-04-15   2022-04-18 /coronavirus-reader-questions.html           Reporters Answer Covid Questions            By Nancy Wartik                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/fashion Here to Help Vanessa Friedman Answers
2022-04-15   2022-04-18 /leggings-for-men.html                       Your Style Questions                        By Vanessa Friedman                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/sports/b They Well Know The Rarefied Air Morant
2022-04-15   2022-04-18 asketball/ja-morant-nba-playoffs.html        Occupies                                    By Jonathan Abrams                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/arts/mu Art Rupe Who Brought Rhythm and Blues to
2022-04-16   2022-04-18 sic/art-rupe-dead.html                       the Mainstream Dies at 104                  By William Grimes                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/arts/mu Paul Siebel 84 Singer With a Brief but
2022-04-16   2022-04-18 sic/paul-siebel-dead.html                    Notable Career                              By Richard Sandomir                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/books/v He Envisioned Dystopias Now He Fears
2022-04-16   2022-04-18 ladimir-sorokin-russia-ukraine.html          Living in One                               By Alexandra Alter                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/busines Gensler Reflects on His First Year as the SEC
2022-04-16   2022-04-18 s/dealbook/gary-gensler-sec.html             Chairman                                    By Ephrat Livni                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/busines
2022-04-16   2022-04-18 s/elon-musk-politics-twitter.html            Musks Views On Politics Defy Labels         By Jeremy W Peters                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/busines
2022-04-16   2022-04-18 s/russia-debt-default.html                   Who Decides When Russia Is in Default       By Alan Rappeport                   TX 9-169-611   2022-06-01




                                                                                 Page 3638 of 5793
                        https://www.nytimes.com/2022/04/16/obituari
                        es/jacqueline-shohet-kahanoff-
2022-04-16   2022-04-18 overlooked.html                             Jacqueline Shohet Kahanoff                By Eitan Nechin                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/opinion
2022-04-16   2022-04-18 /democrats-republicans-majority.html        Will Democrats Be Locked Out              By Ross Douthat                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/opinion American Children Can Handle a Little More
2022-04-16   2022-04-18 /old-enough-kids-parents.html               Freedom                                   By Jessica Grose                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/us/colu 9 Injured in South Carolina Mall Shooting  By Tyler Fedor Vimal Patel and
2022-04-16   2022-04-18 mbiana-mall-shooting-sc.html                Police Say                                Isabella Grulln Paz              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/world/a Peng Mingmin Who Fought for Democracy in
2022-04-16   2022-04-18 sia/peng-ming-min-dead.html                 Taiwan Is Dead at 98                      By Chris Horton                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/arts/con The Perilous Job of Toppling Confederate
2022-04-17   2022-04-18 federate-statue-removal-contractor.html     Statues                                   By Matt Stevens                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/arts/dan Performing With Friends Living and
2022-04-17   2022-04-18 ce/review-eiko-the-duets-project.html       Otherwise                                 By Gia Kourlas                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/arts/des Arctic Notion of Nation At the Venice
2022-04-17   2022-04-18 ign/venice-biennale-sami.html               Biennale                                  By Lisa Abend                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/busines
2022-04-17   2022-04-18 s/chesapeake-cargo-ship-stuck.html          Container Ship Is Dislodged In Chesapeake By Livia AlbeckRipka             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/opinion It Could Be a Biden Blood Bath in the
2022-04-17   2022-04-18 /biden-approval-miderms.html                Midterms                                  By Charles M Blow                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/opinion Optimization Culture Is Killing Our
2022-04-17   2022-04-18 /culture/making-friends-covid.html          Friendships                               By Brad Stulberg                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/science Weighing Risks As Virus Threat Becomes
2022-04-17   2022-04-18 /covid-risks.html                           Norm                                      By Benjamin Mueller              TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/17/sports/b In NLCS Rematch Fans May Forget Which
2022-04-17   2022-04-18 aseball/freddie-freeman-dodgers-braves.html Star Is on Which Side                      By Scott Miller                 TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/17/sports/b Booed Lustily in Boston Irving Puts On a
2022-04-17   2022-04-18 asketball/nets-boston-celtics-playoffs.html Show Then Tatum Steals It                  By Scott Cacciola               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/17/sports/b Only One Game but It Gives The 76ers Hope
2022-04-17   2022-04-18 asketball/sixers-raptors-harden-maxey.html Amid Concerns                               By Tania Ganguli                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/sports/b
                        asketball/stephen-curry-golden-state-       Warriors Big 3 Reunite On Postseason Stage
2022-04-17   2022-04-18 playoffs.html                               And Understudy Shines                      By Sopan Deb                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/sports/b
                        oston-marathon-natasha-wodak-malindi-       We Dont Have an Expiry Date 40Something
2022-04-17   2022-04-18 elmore.html                                 Olympians Hit Boston                       By Scott Cacciola               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/sports/e Spence Proving He Is Back in Top Form Has
2022-04-17   2022-04-18 rrol-spence-fight.html                      Just One More Belt to Claim                By Morgan Campbell              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/sports/t Unity Beats Rivalry When Ukrainians Face
2022-04-17   2022-04-18 ennis/ukraine-billie-jean-king.html         Off With US                                By Christopher Clarey           TX 9-169-611   2022-06-01




                                                                                 Page 3639 of 5793
                        https://www.nytimes.com/2022/04/17/us/nort Spring Snow Wet and Heavy Targets
2022-04-17   2022-04-18 heast-snow-storm-ny.html                     Northeast                                    By Jesus Jimnez                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/us/offic 450000 To Man Fired Over a Party He Didnt
2022-04-17   2022-04-18 e-birthday-party-lawsuit-kentucky.html       Want                                         By Amanda Holpuch                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/us/pitts Two Killed in Shooting at Party in Pittsburgh By Giulia Heyward and Emma
2022-04-17   2022-04-18 burgh-party-shooting.html                    and Police Search for Suspects               Bubola                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/us/polit The MaraLago Machine Trump as a
2022-04-17   2022-04-18 ics/trump-mar-a-lago.html                    ModernDay Party Boss                         By Shane Goldmacher              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/us/seco
2022-04-17   2022-04-18 nd-covid-booster-60.html                     Official Urges Over 60 to Get Second Booster By William Lamb                  TX 9-169-611   2022-06-01
                                                                                                                  By Safiullah Padshah Christina
                        https://www.nytimes.com/2022/04/17/world/a Pakistani Airstrikes in Eastern Afghanistan    Goldbaum and Ihsanullah Tipu
2022-04-17   2022-04-18 sia/afghanistan-airstrikes-pakistan.html     Kill at Least 45 Afghan Officials Say        Mehsud                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/world/e How Domestic Politics Unravel The Worlds
2022-04-17   2022-04-18 urope/asylum-system-britain-rwanda.html      Pledge to Refugees                           By Max Fisher                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/world/e Debate Over Islam Roils Frances Election
2022-04-17   2022-04-18 urope/france-islam-le-pen-head-scarf.html    Season                                       By Roger Cohen                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/world/e
                        urope/lviv-easter-sunday-ukraine-russia-     Worshipers Fill Pews in Lviv for Easter
2022-04-17   2022-04-18 war.html                                     Services That Commemorate the War            By Jane Arraf                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/world/e In His Blessing to Pilgrims Pope Speaks Of
2022-04-17   2022-04-18 urope/pope-francis-easter-ukraine.html       Ukraines Suffering on Easter of War          By Elisabetta Povoledo           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/world/e They Are Gone Vanished A Village Haunted By Thomas GibbonsNeff Natalia
2022-04-17   2022-04-18 urope/ukraine-russia-atrocities.html         by Disappearances                            Yermak and Tyler Hicks           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/world/e
2022-04-17   2022-04-18 urope/ukraine-war-russia-atrocities.html     Brutality of Invaders Has Deep Roots         By Anton Troianovski             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/world/ Israels Coalition Government Is in Danger       By Patrick Kingsley and Raja
2022-04-17   2022-04-18 middleeast/jerusalem-al-aqsa-mosque.html     After the Closing of a Major Mosque          Abdulrahim                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/world/
                        middleeast/passover-ramadan-easter-          Holy Days Converge in a City Where Interests
2022-04-17   2022-04-18 jerusalem.html                               Often Collide                                By Patrick Kingsley              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/world/ Houthis Rise to Menace Wealthier Gulf
2022-04-17   2022-04-18 middleeast/yemen-houthis-gulf.html           Powers In Yemen and Beyond                   By Ben Hubbard                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/17/wo
                        rld/ukraine-russia-war-news/mariupol-        Fate Of Mariupol Hinges On Battle At Steel By Michael Schwirtz Jack Nicas
2022-04-17   2022-04-18 ultimatum-steel-factory                      Factory                                      and Neil MacFarquhar             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/17/wo
                        rld/ukraine-russia-war-news/what-is-a-
2022-04-17   2022-04-18 neptune-missile                              The Missiles That Destroyed the Moskva       By John Ismay                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/theater/
2022-04-18   2022-04-18 the-minutes-review.html                      Seconding a Motion on Horror                 By Jesse Green                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/arts/tele
                        vision/whats-on-tv-this-week-better-call-
2022-04-18   2022-04-18 saul.html                                    This Week on TV                              By Shivani Gonzalez              TX 9-169-611   2022-06-01




                                                                                 Page 3640 of 5793
                        https://www.nytimes.com/2022/04/18/busines
2022-04-18   2022-04-18 s/economy/jim-farley-ford-lightning.html    Ford Rollout To Pit Pickup Against Tesla      By Neal E Boudette              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/sports/b
                        asketball/golden-state-nba-playoffs-        For Oakland Golden States Move Is Still a
2022-04-18   2022-04-18 oakland.html                                Gut Punch                                     By Kurt Streeter                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/sports/s                                               By Constant Mheut and Monique
2022-04-18   2022-04-18 occer/france-hijab-ban-soccer.html          Fighting for the Right to Wear Their Identity Jaques                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/25/science Prehistoric Snacks To Locate the First
2022-03-25   2022-04-19 /cannibal-trilobites.html                   Cannibals It Took More Than Just Guts         By Rebecca Dzombak              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/29/science Plentiful Pluto Dwarf Planet May Be Hiding
2022-03-29   2022-04-19 /pluto-ice-volcanoes.html                   A Gigantic Water Supply                       By Robin George Andrews         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/science MuscleHeaded Mammals After Dinosaurs
2022-03-31   2022-04-19 /brains-mammals-fossils.html                Disappeared Lunkheads Loomed Larger           By Jack Tamisiea                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/31/science Morning Creatures Owls in Late Miocene Era
2022-03-31   2022-04-19 /owl-daytime-fossil.html                    Found It Wise to Rise Early                   By Veronique Greenwood          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/well/mi A Private War PTSD Is Still Being
2022-04-04   2022-04-19 nd/ptsd-trauma-symptoms.html                Overlooked                                    By Dani Blum                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/06/science
2022-04-06   2022-04-19 /japan-monkey-queen.html                    The Monkey Queen Remains on the Scene By Annie Roth and Hisako Ueno           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/books/k
2022-04-07   2022-04-19 earns-goodwin-archive-ut-austin.html        Preserving A Couples 60s Insights             By Douglas Brinkley             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/07/science
2022-04-07   2022-04-19 /astronomers-distant-galaxy.html            Twinkles Originating Far LightYears Away By Dennis Overbye                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/health/
2022-04-11   2022-04-19 psilocybin-depression.html                  Studying Psilocybin As Aid for Depression By Andrew Jacobs                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/11/well/res
2022-04-11   2022-04-19 istance-band-workouts.html                  Strength Training Without Weights             By Jenny Marder                 TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/12/science Validation for a Tribe That Lost Its
2022-04-12   2022-04-19 /muwekma-ohlone-tribe-california-dna.html Recognition                                    By Sabrina Imbler                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/science
2022-04-13   2022-04-19 /war-environmental-impact-ukraine.html      Nature Is Often A Casualty of War            By Emily Anthes                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/well/liv
2022-04-15   2022-04-19 e/constructive-criticism.html               How to Give Constructive Criticism           By Melinda Wenner Moyer          TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/15/arts/mu
2022-04-15   2022-04-19 sic/new-york-city-ballet-2022-23-season.html City Ballet Plans Ambitious Season          By Javier C Hernndez             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/arts/tele
2022-04-15   2022-04-19 vision/outer-range-imogen-poots.html         Imogen Poots Is Figuring It Out             By Stuart Miller                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/technol How Russia Argues Case With Help Of Fox
2022-04-15   2022-04-19 ogy/russia-media-fox-news.html               News                                        By Stuart A Thompson             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/us/chris-Christopher Coover 72 Expert on Papers
2022-04-15   2022-04-19 coover-dead.html                             From the Likes of Leonardo and Lincoln      By Sam Roberts                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/science Praise for Creativity Doesnt Tell the Whole
2022-04-16   2022-04-19 /creativity-implicit-bias.html               Story                                       By Matt Richtel                  TX 9-169-611   2022-06-01



                                                                                 Page 3641 of 5793
                        https://www.nytimes.com/2022/04/15/busines Treasury Pleads on Tax Day To Increase IRS
2022-04-18   2022-04-19 s/tax-day-irs-funding.html                  Funding                                     By Alan Rappeport                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/busines China Data Hint at Cost Of Strategy To Curb
2022-04-18   2022-04-19 s/china-economy-gdp.html                    Virus                                       By Keith Bradsher                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/nyregio
2022-04-18   2022-04-19 n/covid-questions-families.html             If Covid Comes Home What Should You Do By Sharon Otterman                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/arts/des                                             By Elisabetta Povoledo and Robin
2022-04-18   2022-04-19 ign/ukraine-pavilion-venice-biennale.html   A Rush Against War and Time                 Pogrebin                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/arts/mu DJ Kay Slay Instigator Of Feuds and
2022-04-18   2022-04-19 sic/dj-kay-slay-dead.html                   Innovator Of Mixtapes Dies at 55            By Joe Coscarelli                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/arts/mu
2022-04-18   2022-04-19 sic/gavriel-heine-resigns-mariinsky.html    Conductor Quits Theater in Russia           By Javier C Hernndez               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/arts/mu Harrison Birtwistle Composer of Labyrinthine
2022-04-18   2022-04-19 sic/harrison-birtwistle-dead.html           Works Is Dead at 87                         By David Allen                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/arts/mu
                        sic/lil-durk-morgan-wallen-billboard-
2022-04-18   2022-04-19 chart.html                                  Morgan Wallen and Lil Durk Top the Chart By Ben Sisario                        TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/18/arts/tele
2022-04-18   2022-04-19 vision/frontline-review-power-of-big-oil.html Why the Climate Changed but We Did Not    By Mike Hale                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/arts/tele
2022-04-18   2022-04-19 vision/kathryn-hays-dead.html                 Kathryn Hays 87 Soap Star for Decades     By Annabelle Williams              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/books/r
                        eview-lets-not-do-that-again-grant-
2022-04-18   2022-04-19 ginder.html                                   Is She Running for or Away From Something By Alexandra Jacobs                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/busines
                        s/bank-of-america-is-confident-in-the-        Bank of America Confident In Economy as
2022-04-18   2022-04-19 economy-even-as-its-profits-declined.html     Profits Fell                              By Lananh Nguyen                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/busines After 2Year Ban Mickey Has Hugs for
2022-04-18   2022-04-19 s/disney-character-hugs.html                  Everyone at Disneyland                    By Brooks Barnes                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/busines                                              By Eshe Nelson and Adam
2022-04-18   2022-04-19 s/europe-green-energy-investors.html          Energy Fixes Exist But They Need Money    Satariano                          TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/18/busines FDA Investigates Reports of 3000 Illnesses
2022-04-18   2022-04-19 s/lucky-charms-fda-investigation-illness.html From Eating Lucky Charms                  By Jesus Jimnez                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/busines
                        s/the-world-bank-slashes-its-forecast-for-
2022-04-18   2022-04-19 global-economic-growth.html                   World Bank Cuts Estimates                 By Alan Rappeport                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/health/a Scientists Voice Doubt Over Data Behind
2022-04-18   2022-04-19 lzheimers-cassava-simufilam.html              Alzheimers Drug                           By Apoorva Mandavilli              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/movies/
2022-04-18   2022-04-19 see-you-then-review.html                      The Persistent Melancholy of Love         By Kyle Turner                  TX 9-169-611      2022-06-01
                        https://www.nytimes.com/2022/04/18/nyregio                                              By Benjamin Weiser and Nicholas
2022-04-18   2022-04-19 n/brian-benjamin-charges.html                 Investigation Of Benjamin Digs Deeply     Fandos                          TX 9-169-611      2022-06-01




                                                                                Page 3642 of 5793
                        https://www.nytimes.com/2022/04/18/opinion
                        /elizabeth-warren-democrats-biden-
2022-04-18   2022-04-19 midterms.html                               Democrats Can Avoid Disaster in November   By Elizabeth Warren               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/18/opinion
                        /republicans-senate-immigration-jd-
2022-04-18   2022-04-19 vance.html                                  Republicans Say Let Them Eat Hate          By Paul Krugman                   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/18/opinion
2022-04-18   2022-04-19 /twitter-musk-biden-midterms.html           This Is Not the Year of the Optimist       By Gail Collins and Bret Stephens TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/18/sports/b Pioneer in Her 60s Finds a Bond and
2022-04-18   2022-04-19 oston-marathon-mariko-yugeta.html           Inspiration in a Pioneer From the 80s      By Talya Minsberg                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/18/sports/f
                        ootball/washington-commanders-finances-     Commanders in 102 Pages of Documents
2022-04-18   2022-04-19 ftc.html                                    Deny Financial Allegations to FTC          By Ken Belson                     TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/18/us/alex- Infowars Files for Chapter 11 As Trials
2022-04-18   2022-04-19 jones-infowars-bankruptcy.html              Persist for Jones                          By Derrick Bryson Taylor          TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/18/us/flori Florida Rejects Scores of Math Textbooks
2022-04-18   2022-04-19 da-math-textbooks-critical-race-theory.html Citing Prohibited Topics                    By Dana Goldstein                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/us/hom As Homeless Age Cities See Surge in Lonely
2022-04-18   2022-04-19 eless-deaths-los-angeles.html               Deaths on the Street                        By Thomas Fuller                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/us/phila Philadelphia Reinstates Its Mask Mandate as By Campbell Robertson and Jon
2022-04-18   2022-04-19 delphia-mask-mandate.html                   Coronavirus Cases Increase                  Hurdle                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/us/polit Judge Rescinds Mask Mandate For             By Charlie Savage and Heather
2022-04-18   2022-04-19 ics/federal-mask-mandate-airplanes.html     Passengers                                  Murphy                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/us/polit Can the SEC Require Gag Orders When It
2022-04-18   2022-04-19 ics/supreme-court-gag-order-sec.html        Settles Cases                               By Adam Liptak                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/us/polit Supreme Court Rejects Case Claiming Racial
2022-04-18   2022-04-19 ics/supreme-court-racial-bias-juror.html    Bias in Juror                               By Adam Liptak                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/us/polit Justices Rule Against Air Force Officer Who
2022-04-18   2022-04-19 ics/supreme-court-vaccine-airman.html       Refused Shot                                By Adam Liptak                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/us/polit                                             By Maggie Haberman Alexandra
2022-04-18   2022-04-19 ics/trump-allies-election-decertify.html    Trumps Allies Keep Up Fight To Nullify Vote Berzon and Michael S Schmidt       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/us/polit Were Finally Getting Together Again White
2022-04-18   2022-04-19 ics/white-house-easter-egg-roll.html        House Hosts Egg Roll                        By Katie Rogers                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/well/m
2022-04-18   2022-04-19 ove/foot-health-pandemic.html               Those Aching Feet Blame the Pandemic        By Mara Altman                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/world/c A Tangle of Weed Shops Every Which Way
2022-04-18   2022-04-19 anada/toronto-cannabis-stores.html          You Look                                    By Catherine Porter and Ian Willms TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/world/e French Candidates Ideas for Easing Economic
2022-04-18   2022-04-19 urope/france-election-economy.html          Woes Hold Key to Election                   By Liz Alderman                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/world/e
                        urope/russian-economy-bleak-                Burden of Sanctions on Moscow Begins to     By Anton Troianovski and Patricia
2022-04-18   2022-04-19 assessments.html                            Show                                        Cohen                              TX 9-169-611   2022-06-01




                                                                                Page 3643 of 5793
                        https://www.nytimes.com/2022/04/18/world/e To Push Back Russians Ukrainians Hit a          By Thomas GibbonsNeff and John
2022-04-18   2022-04-19 urope/ukraine-forces-cluster-munitions.html Village With Cluster Munitions                 Ismay                          TX 9-169-611      2022-06-01
                        https://www.nytimes.com/2022/04/18/world/e
                        urope/ukraine-russia-missiles-lviv-             Raining Missiles Russia Launches Eastern   By Jane Arraf Ivan Nechepurenko
2022-04-18   2022-04-19 donbas.html                                     Assault                                    and Mark Landler                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/world/e
                        urope/ukraine-war-russian-orthodox-                                                        By Neil MacFarquhar and Sophia
2022-04-18   2022-04-19 church.html                                     At Holy Time A War Splits The Faithful     Kishkovsky                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/18/spo
                        rts/boston-marathon/on-a-day-full-of-history-
                        peres-jepchirchir-of-kenya-wins-in-a-thrilling-                                            By Scott Cacciola and Alexandra E
2022-04-18   2022-04-19 finish                                          A Stirring Showdown on a Milestone Day     Petri                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/busines Judge Rules Amazon Must Reinstate Worker
2022-04-19   2022-04-19 s/amazon-protest-firing-ruling.html             It Fired                                   By Karen Weise                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/opinion China and Russia Are Giving
2022-04-19   2022-04-19 /china-russia-putin.html                        Authoritarianism a Bad Name                By Thomas L Friedman              TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/19/health/                                                 By Stephanie Nolen and Finbarr
2022-04-19   2022-04-19 death-records-africa-electronic-autopsy.html Gift From the Grave                           OReilly                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/well/liv
2022-04-19   2022-04-19 e/menopause-symptoms-age-women.html          How Long Does Menopause Last                  By Alice Callahan                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/world/a Myanmars Junta Targets Doctors Wrecking
2022-04-19   2022-04-19 sia/myanmars-coup-doctors.html               the Health Care System                        By Richard C Paddock              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/article/covid-masks- Does My Mask Protect Me if Nobody Else Is     By Tara ParkerPope and Knvul
2021-09-21   2022-04-20 protection-stats.html                        Wearing One                                   Sheikh                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/dining/
2022-04-14   2022-04-20 drinks/brunch-cocktails.html                 Venture Beyond the Usual Drinks at Brunch     By Rebekah Peppler                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/dining/
2022-04-14   2022-04-20 drinks/stony-hill-napa-valley.html           A Napa Favorite Embraces the Future           By Eric Asimov                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/dining/l
2022-04-15   2022-04-20 eeks-fish-salsa-verde.html                   Silky Spring Leeks Merit a Promotion          By Melissa Clark                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/dining/
2022-04-15   2022-04-20 veggie-pasta-sauce.html                      When Vegetables Take a Saucy Turn             By Ali Slagle                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/movies/
                        everything-everywhere-all-at-once-
2022-04-15   2022-04-20 interviews.html                              A SciFi Film and Its Healing Properties       By Laura Zornosa                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/obituari
                        es/john-zaritsky-unflinching-oscar-winning- John Zaritsky Fearless Documentarian Who
2022-04-15   2022-04-20 documentarian-dies-at-78.html                Won an Oscar Dies at 78                       By Clay Risen                     TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/15/technol
2022-04-15   2022-04-20 ogy/jordan-belfort-wolf-cryptocurrency.html The Wolf of Crypto                             By David YaffeBellany             TX 9-169-611   2022-06-01




                                                                                 Page 3644 of 5793
                        https://www.nytimes.com/2022/04/17/books/k Kevin Lippert 63 Creator Of an Architectural
2022-04-17   2022-04-20 evin-lippert-dead.html                      World That Began in a Car Trunk             By Katharine Q Seelye      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/opinion America Has Turned Its Back on Its Poorest
2022-04-17   2022-04-20 /biden-child-tax-credit.html                Families                                    By Ezra Klein              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/17/opinion I Didnt Think My Mother Would Escape
2022-04-17   2022-04-20 /russia-ukraine-bucha-donetsk.html          Putin Twice                                 By Anna Myroniuk           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/dining/
2022-04-18   2022-04-20 afghan-restaurants-refugees-taliban.html    A Menu for Refugees                         By Brett Anderson          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/dining/
2022-04-18   2022-04-20 echo-scarf.html                             A Personal Wrap For a Food Lover            By Florence Fabricant      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/dining/
2022-04-18   2022-04-20 heritage-foods-linguica.html                Spicy Linguia Ready For Grilling Season     By Florence Fabricant      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/dining/i
2022-04-18   2022-04-20 dan-chabasov-challah-prince.html            The Challah Prince To Discuss His Magic     By Florence Fabricant      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/dining/i
2022-04-18   2022-04-20 nternational-antiquarian-book-fair.html     Rare Culinary Tomes At This Book Fair       By Florence Fabricant      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/dining/j
2022-04-18   2022-04-20 anet-mavec-chocolate.html                   Herbaceous Chocolate Is Taking a Dark Turn By Florence Fabricant       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/dining/
                        kowbird-horn-barbecue-oakland-
2022-04-18   2022-04-20 california.html                             Barbecue Is Back in West Oakland            By Tejal Rao               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/dining/
2022-04-18   2022-04-20 native-american-grape-dumplings.html        The Beauty of Grape Dumplings               By Kevin Noble Maillard    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/dining/
2022-04-18   2022-04-20 william-grant-sons-cocktails.html           Bottled Cocktails All Ready to Pour         By Florence Fabricant      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/arts/des
2022-04-19   2022-04-20 ign/alaska-heritage-center-gift.html        A Homecoming in Alaska                      By Zachary Small           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/arts/des
2022-04-19   2022-04-20 ign/venice-biennale-mexico.html             Attacking Mexico with Mexicos approval      By Ray Mark Rinaldi        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/arts/des
2022-04-19   2022-04-20 ign/venice-biennale-women-art.html          A Biennale filled with female artists       By Farah Nayeri            TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/19/arts/des
2022-04-19   2022-04-20 ign/venice-biennale-zineb-sedira-france.html Representing France on her terms             By Farah Nayeri          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/arts/des
2022-04-19   2022-04-20 ign/venice-what-to-do-biennale.html          Art beyond the Biennale                      By Elisabetta Povoledo   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/arts/joh Depp Testifying in Defamation Suit Denies
2022-04-19   2022-04-20 nny-depp-amber-heard-trial.html              He Ever Struck Any Woman                     By Julia Jacobs          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/arts/mu
2022-04-19   2022-04-20 seum-of-the-american-revolution-gift.html    Philadelphia Museum Gets a 50 Million Gift   By Laura Zornosa         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/arts/mu
                        sic/schwanda-the-bagpiper-komische-
2022-04-19   2022-04-20 oper.html                                    If Only This Opera Could Be Seen Here        By Seth Colter Walls     TX 9-169-611   2022-06-01




                                                                                 Page 3645 of 5793
                        https://www.nytimes.com/2022/04/19/arts/tele
2022-04-19   2022-04-20 vision/jerrod-carmichael-hbo-rothaniel.html He Knows How to Wear The Truth               By Wesley Morris                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/books/r
                        eview-indelible-city-hong-kong-louisa-
2022-04-19   2022-04-20 lim.html                                     Falling in Love With a Place All Over Again By Jennifer Szalai                 TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/19/busines
2022-04-19   2022-04-20 s/climate-change-flooding-developers.html  Paying Attention to Climate Change Risks      By Amanda Abrams                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/busines Companies DeSantis Seeks to End Disneys
2022-04-19   2022-04-20 s/desantis-disney-world-district.html      Special Status                                By Brooks Barnes                   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/19/busines Russian Invasion Stunts Global Economic       By Alan Rappeport and Ana
2022-04-19   2022-04-20 s/economy/imf-world-economy-inflation.html Growth                                        Swanson                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/busines                                               By Niraj Chokshi and Heather
2022-04-19   2022-04-20 s/mask-mandate-travel-transit.html          For Airlines Unmasking Brings Relief         Murphy                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/busines
                        s/media/joe-kahn-dean-baquet-new-york-      Kahn Named to Succeed Baquet As The          By Michael M Grynbaum and Jim
2022-04-19   2022-04-20 times.html                                  Timess Executive Editor                      Windolf                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/busines Prescient and Intense a Journalist Turned His
2022-04-19   2022-04-20 s/media/joseph-kahn-new-york-times.html     Focus to China Early                         By Michael M Grynbaum              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/busines
2022-04-19   2022-04-20 s/media/netflix-amazon-disney-ads.html      Now a Word From Your Streaming Sponsor By John Koblin and Tiffany Hsu           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/busines
2022-04-19   2022-04-20 s/netflix-earnings-q1.html                  Netflix Loses Subscribers Stock Dives        By Nicole Sperling                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/busines Retroactive Credits Will Ease Burden for
2022-04-19   2022-04-20 s/student-loans-forgiveness.html            Millions of Student Loan Borrowers           By Stacy Cowley                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/climate Biden Puts Climate Impact Back in
2022-04-19   2022-04-20 /biden-climate-nepa-trump.html              Environment Law                              By Lisa Friedman                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/dining/ KYU an Eclectic Miami Transplant Opens in
2022-04-19   2022-04-20 nyc-restaurant-news.html                    NoHo                                         By Florence Fabricant              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/dining/r
2022-04-19   2022-04-20 olos-review-pete-wells.html                 From Queens a Kitchen Roams Widely           By Pete Wells                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/dining/t
2022-04-19   2022-04-20 ipping-gratuity-restaurants.html            Quandary Over Tips How Much Is Enough        By Christina Morales               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/health/
2022-04-19   2022-04-20 omicron-unvaccinated-children.html          Shots Protected Children From Omicron        By Benjamin Mueller                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/movies/
2022-04-19   2022-04-20 new-directors-new-films.html                Where Father Doesnt Know Best                By Manohla Dargis                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/nyregio
2022-04-19   2022-04-20 n/anti-asian-attacks-nyc.html               A Family and a Dream Shattered in an Instant By Corina Knoll and Justin J Wee   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/nyregio New Yorks Mayor Amends Stance on His
2022-04-19   2022-04-20 n/eric-adams-taxes.html                     Tax Returns                                  By Emma G Fitzsimmons              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/nyregio Man in Fatal Subway Push Is Deemed Unfit
2022-04-19   2022-04-20 n/martial-simon-michelle-go-trial.html      for a Trial                                  By Andy Newman                     TX 9-169-611   2022-06-01



                                                                                 Page 3646 of 5793
                        https://www.nytimes.com/2022/04/19/nyregio Parking Shuffle Returns Drivers Honk in       By Dana Rubinstein and Emma G
2022-04-19   2022-04-20 n/nyc-alternate-side-parking.html          Dismay                                        Fitzsimmons                      TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/19/nyregio Mask Rules for Public Transit Stand in New
2022-04-19   2022-04-20 n/nyc-mta-mask-mandate.html                York City                                     By Ashley Wong and Ana Ley       TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/19/nyregio US Might Need to Take Control at Rikers       By Jonah E Bromwich and Jan
2022-04-19   2022-04-20 n/rikers-island-federal-control.html       Federal Prosecutor Says                       Ransom                           TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/19/opinion Enough About Climate Change Air Pollution
2022-04-19   2022-04-20 /air-pollution-fossil-fuels.html           Is Killing Us Now                             By Binyamin Appelbaum            TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/19/opinion
2022-04-19   2022-04-20 /why-we-admire-zelensky.html               Why We Admire Zelensky                        By Bret Stephens                 TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/19/sports/b A Surprising Draft Pick Pays Dividends for
2022-04-19   2022-04-20 asketball/scottie-barnes-toronto-raptors.html the Raptors                                By Sopan Deb                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/technol Musks Task Coming Up With Funds For
2022-04-19   2022-04-20 ogy/elon-musk-twitter.html                    Twitter                                    By Lauren Hirsch                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/us/chic Where Paint Meets Power Three Acres Of
2022-04-19   2022-04-20 ano-park-anniversary.html                     Their Own                                  By Soumya Karlamangla              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/us/polit Biden Administration Says It May Appeal      By Sheryl Gay Stolberg and Charlie
2022-04-19   2022-04-20 ics/biden-mask-mandate-appeal.html            Ruling on Travel Masks                     Savage                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/us/polit Democratic Dollars Flow to Candidates Who
2022-04-19   2022-04-20 ics/democratic-midterm-fundraising.html       Are Unlikely to Win                        By Jonathan Weisman                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/us/polit Moderna Says Tweaked Vaccine Is Better on
2022-04-19   2022-04-20 ics/moderna-vaccine-beta-variant.html         Variants                                   By Sharon LaFraniere               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/us/polit As Check on Presidents Jan 6 Panel Considers
2022-04-19   2022-04-20 ics/trump-jan-6-insurrection-act.html         Rewriting 1807 Act                         By Luke Broadwater                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/us/ukra Ukrainian Children and Caregivers Are Being
2022-04-19   2022-04-20 ine-family-separations.html                   Separated at US Border                     By Miriam Jordan                   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/19/world/a School Blasts Kill at Least 6 in Shiite Area of By Christina Goldbaum and
2022-04-19   2022-04-20 sia/afghanistan-kabul-schools-attacked.html Kabul                                          Yaqoob Akbary                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/19/world/a An Emblem Serving Victoria Harbor May
2022-04-19   2022-04-20 sia/hong-kong-star-ferry.html               Sail Into History                              By Alexandra Stevenson         TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/19/world/c Beyond Shanghai China Chafes Amid
2022-04-19   2022-04-20 hina-lockdowns.html                         Shutdowns                                      By Chris Buckley               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/19/world/e
                        urope/boris-johnson-parliament-             Apologizing Over Fine for Flouting Covid       By Mark Landler and Stephen
2022-04-19   2022-04-20 apologies.html                              Rules Johnson Remains Dug In                   Castle                         TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/19/world/e
                        urope/france-cartoons-presidential-         Offering Caricature With Context Political
2022-04-19   2022-04-20 election.html                               Cartoonists Hold Sway in France                By Saskia Solomon              TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/19/world/e                                               By Michael Schwirtz Cora
2022-04-19   2022-04-20 urope/mariupol-azovstal-steel-plant.html   In Mariupol Soldiers Issue Plea Help Us       Engelbrecht and Andrew E Kramer TX 9-169-611      2022-06-01
                        https://www.nytimes.com/2022/04/19/world/e West Rushes to Give Ukraine Heavier           By Steven Erlanger Eric Schmitt
2022-04-19   2022-04-20 urope/us-ukraine-weaponry.html             Weapons                                       and Julian E Barnes             TX 9-169-611      2022-06-01



                                                                                 Page 3647 of 5793
                        https://www.nytimes.com/2022/04/19/world/
                        middleeast/ukraine-memes-russia-            Memes Slogans and Merchandise Sales Tap
2022-04-19   2022-04-20 fundraising.html                            Global Cash Source to Aid Ukraine         By Jane Arraf                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/world/u Russia Strikes Hard as It Pushes to Seize  By Thomas GibbonsNeff Michael
2022-04-19   2022-04-20 kraine-russia-donbas-offensive.html         Donbas Region                             Schwirtz and Eric Schmitt        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/nyregio Diocese OKs 875 Million For Victims Of Sex
2022-04-20   2022-04-20 n/nj-diocese-sex-abuse-settlement.html      Abuse                                     By Ed Shanahan                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/theater/
2022-04-20   2022-04-20 how-i-learned-to-drive-review.html          Reckoning Is Miles Down The Road          By Maya Phillips                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/us/covi
2022-04-20   2022-04-20 d-masks-planes.html                         As Masks Drop Delight Dread And Confusion By Jack Healy and Mitch Smith    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/insider/
                        how-the-times-has-mapped-the-war-in-
2022-04-20   2022-04-20 ukraine.html                                Mapping the War in Ukraine                By Terence McGinley              TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/20/sports/b What Jokic Does for Denver He Shoots He
2022-04-20   2022-04-20 asketball/nikola-jokic-denver-nuggets.html  Scores but Most of All He Passes            By Sopan Deb                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/sports/f Football League Goes Digital Will the NFL
2022-04-20   2022-04-20 ootball/usfl-technology-ball-spotting.html  Take Notice                                 By Kevin Randall               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/movies/
                        were-all-going-to-the-worlds-fair-
2022-04-15   2022-04-21 interview.html                              Finding Solace In Creepy Things             By Erik Piepenburg             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/16/opinion Loathing Golf Taught Me to Confront My
2022-04-16   2022-04-21 /golf-prejudice-wealthy.html                Own Prejudice                               By Jane Coaston                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/busines
2022-04-18   2022-04-21 s/dollar-general-tiktok.html                Her Two Cents on Dollar General             By Michael Corkery             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/opinion
                        /environment/europe-natural-gas-prices-     In Europe the War Is Spurring Advances in By Philip Verleger and David G
2022-04-18   2022-04-21 climate-change.html                         Clean Energy                                Victor                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/opinion Lets Stop Arguing About the Bans And Start
2022-04-18   2022-04-21 /school-book-bans-students.html             Arguing About the Books                     By Sungjoo Yoon                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/style/le
2022-04-18   2022-04-21 de-company-publicists.html                  Many Solutions but Few Answers              By Jessica Iredale             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/style/th
2022-04-18   2022-04-21 e-lingerie-addict-closing.html              This Blogger Is Over What Goes Under        By Danya Issawi                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/arts/mu
2022-04-19   2022-04-21 sic/jorge-drexler-tinta-y-tiempo.html       Experimenting in the Laboratory of Rhythm By Jon Pareles                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/theater/
2022-04-19   2022-04-21 punchdrunk-burnt-city-troy.html             Getting The Greek Details Right             By Alex Marshall               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/arts/dan Artists Are Migrants A NigerianIrish Dancer
2022-04-20   2022-04-21 ce/mufutau-yusuf-irish-arts-center.html     Says                                        By Brian Seibert               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/arts/des
2022-04-20   2022-04-21 ign/mary-weatherford-venice.html            Immersed in Shadows and Light               By Robin Pogrebin              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/arts/joh Depp Testifies His ExWife Was Often the     By Julia Jacobs and Colin
2022-04-20   2022-04-21 nny-depp-amber-heard-trial.html             Aggressor                                   Moynihan                       TX 9-169-611   2022-06-01



                                                                               Page 3648 of 5793
                        https://www.nytimes.com/2022/04/20/arts/mu
                        sic/lincoln-center-summer-for-the-city-
2022-04-20   2022-04-21 festival.html                               A Summer Bash With a Disco Ball             By Javier C Hernndez          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/arts/mu Radu Lupu 76 Pianist Who Awed Listeners
2022-04-20   2022-04-21 sic/radu-lupu-dead.html                     Without Fanfare Dies                        By David Allen                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/arts/rus
2022-04-20   2022-04-21 t-movie-halyna-hutchins-death.html          Rust Producers Fined 136000 in Death        By Graham Bowley              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/books/r
2022-04-20   2022-04-21 eview-poguemahone-patrick-mccabe.html       Mischief Cements a Demented Bond            By John Williams              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/busines Early Report on China Airline Disaster Fails By Keith Bradsher and Chris
2022-04-20   2022-04-21 s/china-eastern-crash-report.html           to Explain Why the Jet Crashed              Buckley                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/busines                                              By Noam Scheiber and Kellen
2022-04-20   2022-04-21 s/economy/apple-store-union-atlanta.html    Workers Seek Union Election At Apple Store Browning                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/busines
                        s/media/netflix-streaming-subscription-     Netflix Woes Could Serve As a Warning To By John Koblin and Nicole
2022-04-20   2022-04-21 model.html                                  Streaming                                   Sperling                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/busines
                        s/media/new-york-times-managing-            Next Chief Editor Of Times Newsroom
2022-04-20   2022-04-21 editors.html                                Names Top Deputies                          By Michael M Grynbaum         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/busines
2022-04-20   2022-04-21 s/tesla-first-quarter-earnings.html         Teslas Profit Hits a High 33 Billion        By Jack Ewing                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/health/ Study of In Vitro Fertilization Test For
2022-04-20   2022-04-21 pgta-ivf-pregnancy-test.html                Embryos Raises Questions                    By Azeen Ghorayshi            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/health/t In a Yearlong Study Scientists Find No
2022-04-20   2022-04-21 ime-restricted-diets.html                   Benefit to TimeRestricted Eating            By Gina Kolata                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/nyregio City Honors Four Heroes For Spotting Gun
2022-04-20   2022-04-21 n/brooklyn-shooting-ny.html                 Suspect                                     By Ana Ley                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/nyregio
2022-04-20   2022-04-21 n/ct-state-trooper-manslaughter.html        Trooper Charged in Black Drivers Death      By Chelsia Rose Marcius       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/nyregio New Jersey Man Charged With Hate Crimes
2022-04-20   2022-04-21 n/hate-crimes-orthodox-jews.html            After Attacks on Jewish People              By Liam Stack                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/nyregio What Happens if New York City Raises Its
2022-04-20   2022-04-21 n/new-york-covid-alert-risk.html            Covid Risk Level to Medium                  By Sharon Otterman            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/opinion
2022-04-20   2022-04-21 /le-pen-france-election.html                Marine Le Pen Is as Dangerous as Ever       By RimSarah Alouane           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/sports/b At 130 Million Scherzer Shows Hes a Team
2022-04-20   2022-04-21 aseball/max-scherzer-mets-giants.html       Guy                                         By Tyler Kepner               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/sports/d Boxing World Distances Itself From Figure
2022-04-20   2022-04-21 aniel-kinahan-boxing-treasury.html          Sought by the US Government                 By Kevin Draper               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/sports/t
                        ennis/wimbledon-ban-russia-belarus-         Ban by Wimbledon Cracks United Front in
2022-04-20   2022-04-21 players.html                                Tennis                                      By Christopher Clarey         TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/20/style/th
2022-04-20   2022-04-21 e-first-lady-viola-davis-michelle-obama.html The Challenges of Fashioning The First Lady By Vanessa Friedman          TX 9-169-611   2022-06-01



                                                                                Page 3649 of 5793
                        https://www.nytimes.com/2022/04/20/technol                                                By Steven Lee Myers and Cecilia
2022-04-20   2022-04-21 ogy/barack-obama-disinformation.html         Obama Joins Fight to Curb Online Lies        Kang                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/technol
                        ogy/personaltech/phone-bills-online-
2022-04-20   2022-04-21 subscription-cuts.html                       Cut Your Tech Spending Even as Prices Rise By Brian X Chen                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/upshot/ FDA Issues Warning About Prenatal Genetic
2022-04-20   2022-04-21 prenatal-genetic-tests-warning.html          Tests                                        By Aatish Bhatia                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/us/polit Jones in Talks With US To Detail His Jan 6 By Alan Feuer Adam Goldman and
2022-04-20   2022-04-21 ics/alex-jones-jan-6-interview.html          Role                                         Katie Benner                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/us/polit
2022-04-20   2022-04-21 ics/biden-atf-interim-director.html          Prosecutor In Arizona Is Said to Be ATF Pick By Glenn Thrush                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/us/polit
2022-04-20   2022-04-21 ics/cdc-transportation-mask-mandate.html     US Appeals Judges Lifting Of Mask Rule       By Sheryl Gay Stolberg           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/us/polit Florida Senate Passes Voting Map Giving
2022-04-20   2022-04-21 ics/florida-redistricting-maps-desantis.html GOP a Big Edge                               By Reid J Epstein                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/us/polit Football Fandom Powers Walkers Senate
2022-04-20   2022-04-21 ics/herschel-walker-georgia-senate.html      Campaign in Georgia                          By Maya King                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/us/polit
                        ics/justice-dept-parchman-mississippi-       Justice Dept Finds Systemic Failures At
2022-04-20   2022-04-21 prisons.html                                 Mississippi Prison                           By Glenn Thrush and Katie Benner TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/us/polit TrumpBacked House Hopeful Is Pulled From
2022-04-20   2022-04-21 ics/morgan-ortagus-tennessee-primary.html Tennessee Ballot                                By Azi Paybarah                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/us/polit Russias Missile Test Fuels Fears of an
2022-04-20   2022-04-21 ics/russia-putin-missile-test.html           Isolated Putin Striking Out in New Ways      By David E Sanger                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/us/polit A Lobbying Hub Grifters Central The Legacy
2022-04-20   2022-04-21 ics/trump-hotel-sale-washington.html         of Trumps Capital Hotel                      By Eric Lipton                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/us/polit
                        ics/trump-omarosa-manigault-newman-nda- Trump Is Ordered to Pay 13 Million to
2022-04-20   2022-04-21 award.html                                   Former Aide                                  By Maggie Haberman               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/us/scho Schools Try to Reach A Pandemic Casualty
2022-04-20   2022-04-21 ol-absence-attendance-rate-covid.html        The Absentee Student                         By Jacey Fortin                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/us/supr Supreme Court Hears Case on Whether
2022-04-20   2022-04-21 eme-court-miranda-rights.html                Miranda Warning Is a Right                   By Adam Liptak                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/us/wild Arizona Wildfires Surge With Winds and
2022-04-20   2022-04-21 fire-arizona-flagstaff-tunnel.html           Parched Foliage                              By Jack Healy                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/us/willi Ohio Doctor Is Acquitted In Overdoses Of By Alyssa Lukpat and Michael
2022-04-20   2022-04-21 am-husel-ohio-doctor-murder-trial.html       Patients                                     Levenson                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/world/a
                        frica/south-africa-floods-climate-change-    South Africa Flood Toll Exacerbated by       By John Eligon Zanele Mji and
2022-04-20   2022-04-21 housing.html                                 Housing Neglect                              Lynsey Chutel                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/world/a
                        mericas/colombia-comandos-armed-             New Militias Rise to Brutalize Rural         By Julie Turkewitz and Federico
2022-04-20   2022-04-21 groups.html                                  Colombia                                     Rios                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/world/a Rosario Ibarra de Piedra 95 Fought for Son
2022-04-20   2022-04-21 mericas/rosario-ibarra-dead.html             and Others of Mexicos Disappeared            By Katharine Q Seelye            TX 9-169-611   2022-06-01



                                                                                Page 3650 of 5793
                        https://www.nytimes.com/2022/04/20/world/a Shanghais Narrow Criteria Puts Covid Death By Vivian Wang Joy Dong and
2022-04-20   2022-04-21 sia/covid-shanghai-china-deaths.html       Toll at 17                                   Amy Chang Chien                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/world/a
                        ustralia/china-solomon-islands-security-   Why Chinas Security Pact With the Solomon
2022-04-20   2022-04-21 pact.html                                  Islands Is a Threat                          By Damien Cave                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/world/d For Grandmother With Dementia War Starts
2022-04-20   2022-04-21 ementia-grandparent.html                   Anew Day After Day                           By Victoria Kim                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/world/e
2022-04-20   2022-04-21 urope/avdiivka-ukraine-russia.html         In Moscows Path Life Moves to Basements By Michael Schwirtz                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/world/e Hatred for Macron Turns French Election Into By Norimitsu Onishi and Constant
2022-04-20   2022-04-21 urope/france-macron-unpopular.html         an Unpopularity Contest                      Mheut                              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/world/e German Government Divided Over Calls to
2022-04-20   2022-04-21 urope/germany-ukraine-weapons.html         Supply Advanced Weapons                      By Erika Solomon                   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/20/world/e Russian Barrage Seeks To Weaken Defenses      By Anton Troianovski and Richard
2022-04-20   2022-04-21 urope/russia-icbm-ukraine-bombardment.html In East                                       PrezPea                          TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/20/world/e A Pauper Paid to Spy for Russia And to Sow
2022-04-20   2022-04-21 urope/russian-spies-europe-ukraine.html     Discord in Europe                            By Andrew Higgins                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/sports/n
                        caabasketball/jay-wright-villanova-         Wright Dapper Villanova Coach Retires in
2022-04-21   2022-04-21 retires.html                                His Prime                                    By Adam Zagoria                   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/20/theater/
2022-04-21   2022-04-21 for-colored-girls-review-ntozake-shange.html A Revival Bursting With Joy                 By Laura CollinsHughes            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/world/e
                        urope/macron-le-pen-france-election-         In Fierce Final Debate Macron Claims Le
2022-04-21   2022-04-21 debate.html                                  Pen Is Pawn of the Kremlin                  By Roger Cohen                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/insider/
2022-04-21   2022-04-21 how-we-choose-the-great-read.html            How We Choose The Great Read                By Sarah Bahr                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/sports/a Matthewss Season Is One for the Books Will
2022-04-21   2022-04-21 uston-matthews-toronto-maple-leafs.html      the Playoffs Be as Well                     By Victor Mather                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/style/ch A Russian Response to Sanctions
2022-04-21   2022-04-21 anel-russia.html                             Performative Outrage                        By Rhonda Garelick                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/style/di
2022-04-21   2022-04-21 strict-vision-sports-brand.html              Spirituality Meets Spandex                  By Jessica Iredale                TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/21/style/ja
2022-04-21   2022-04-21 da-pinkett-smith-shaved-heads-women.html Shes Bald Why Is That A Big Deal                By Vanessa Friedman               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/style/ke
                        rby-jean-raymond-pyer-moss-handbags-
2022-04-21   2022-04-21 shoes.html                                  Kerby JeanRaymond Has a BrandNew Bag         By Vanessa Friedman               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/style/sh
2022-04-21   2022-04-21 aved-heads.html                             The Power and Shock of the Buzz Cut          By Kristen Bateman                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/us/polit A New Deal Spent 19 Trillion on Aid Voters
2022-04-21   2022-04-21 ics/biden-pandemic-relief-democrats.html    Didnt Notice                                 By Alexander Burns                TX 9-169-611   2022-06-01



                                                                                Page 3651 of 5793
                        https://www.nytimes.com/2022/04/18/movies/
                        white-hot-the-rise-and-fall-of-abercrombie- White Hot The Rise amp Fall of Abercrombie
2022-04-18   2022-04-22 and-fitch-review.html                         amp Fitch                                   By Ben Kenigsberg             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/opinion Books About Death and Grief Can Bring
2022-04-18   2022-04-22 /books-death-grief-hope.html                  Hope                                        By Margaret Renkl             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/books/n One Mans Dream Of Fully Blending Two
2022-04-19   2022-04-22 yle-dimarco-deaf-memoir.html                  Ways of Being                               By Jake Nevins                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/world/e Letizia Battaglia 87 Who Used Images Of
2022-04-19   2022-04-22 urope/letizia-battaglia-dead.html             Victims to Fight the Mafia in Sicily        By Elisabetta Povoledo        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/arts/ant
2022-04-20   2022-04-22 iquarian-book-fair-new-york.html              Pages That Turn Back Time                   By Jennifer Schuessler        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/arts/dan
2022-04-20   2022-04-22 ce/flamenco-festival-returns.html             Festival Puts Its Own Stamp on Flamenco     By Marina Harss               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/arts/dan
2022-04-20   2022-04-22 ce/review-the-limon-dance-company.html        Recognizing the Past Navigating the Present By Brian Seibert              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/arts/des
                        ign/india-craft-contemporary-artist-activist- Riffs on Classical Indian Imagery Rooted in
2022-04-20   2022-04-22 abichandani.html                              the Diaspora                                By Jillian Steinhauer         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/arts/mu
2022-04-20   2022-04-22 sic/lets-eat-grandma-two-ribbons.html         Working Through Friendship And Grief        By Dani Blum                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/arts/mu Nicholas Angelich 51 OceanStraddling
2022-04-20   2022-04-22 sic/nicholas-angelich-dead.html               Pianist With Germanic Repertory             By Vivien Schweitzer          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/busines Bumper Crop of Frustration as Farmers Cant
2022-04-20   2022-04-22 s/supply-chain-california-farmers.html        Deliver Harvest                             By Peter S Goodman            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/health/a Braving a Deadly Gantlet Again and Again to
2022-04-20   2022-04-22 id-convoy-ukraine-deaths.html                 Help a Besieged City Live                   By Apoorva Mandavilli         TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/20/movies/
2022-04-20   2022-04-22 cypress-hill-insane-in-the-brain-review.html Cypress Hill Insane in the Brain            By Glenn Kenny                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/movies/
2022-04-20   2022-04-22 paris-13th-district.html                     Weaving a Tapestry of Parisian Love Today By Thomas Rogers                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/movies/
2022-04-20   2022-04-22 the-bad-guys-review.html                     The Bad Guys                                By Calum Marsh                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/article/federal-mask Where Are Masks Still a Must Travelers Face By Heather Murphy and Ceylan
2022-04-20   2022-04-22 mandate-airport.html                         a Patchwork of Rules                        Yeginsu                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/arts/arc
2022-04-21   2022-04-22 hie-comics-eliza-han-queer-character.html    A Queer Character Comes to Riverdale        By George Gene Gustines        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/arts/des
                        ign/genesis-p-orridge-artist-occult-
2022-04-21   2022-04-22 transgender.html                             Honoring an Artists Spirit of Eternal Flux  By Zachary Small               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/arts/des
                        ign/kiefer-venice-biennale-chong-hyun-                                                   By Andrew Russeth and Julie
2022-04-21   2022-04-22 covid.html                                   City Celebrates Art and Itself              Bloom                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/arts/des
2022-04-21   2022-04-22 ign/venice-biennale.html                     Venetian Dreams                             By Jason Farago                TX 9-169-611   2022-06-01



                                                                                 Page 3652 of 5793
                        https://www.nytimes.com/2022/04/21/arts/des
                        ign/women-coronavirus-pandemic-
2022-04-21   2022-04-22 journals.html                                How Women Experienced the Pandemic        By Alisha Haridasani Gupta           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/arts/joh Depp Faces Questions About Texts and Audio
2022-04-21   2022-04-22 nny-depp-amber-heard-texts.html              Related to Arguments With ExWife          By Julia Jacobs                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/arts/mu Bringing New Depth to Songs of Love and
2022-04-21   2022-04-22 sic/bonnie-raitt-just-like-that-review.html  Loss                                      By Jon Pareles                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/arts/tele
2022-04-21   2022-04-22 vision/a-very-british-scandal-review.html    Claire Foy Gives Up the Crown             By Mike Hale                         TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/21/arts/tele
2022-04-21   2022-04-22 vision/barry-gaslit-man-who-fell-to-earth.html This weekend I have                        By Margaret Lyons                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/busines As Travel Returns Airlines Face Challenges
2022-04-21   2022-04-22 s/airlines-earnings-american-united.html       to Meet Demands                            By Niraj Chokshi                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/busines                                                By Michael M Grynbaum John
2022-04-21   2022-04-22 s/cnn-plus-shutting-down.html                  CNNs Venture Into Streaming Ends Abruptly Koblin and Benjamin Mullin         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/busines
2022-04-21   2022-04-22 s/disney-florida-special-tax-status.html       Florida Cuts Tax District For Disney       By Brooks Barnes                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/busines Musk Details Plan to Raise 465 Billion In
2022-04-21   2022-04-22 s/elon-musk-twitter-funding.html               Twitter Bid                                By Lauren Hirsch                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/busines
2022-04-21   2022-04-22 s/janet-yellen-supply-chains.html              Yellen Calls for More Secure Supply Chains By Alan Rappeport                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/busines
                        s/jerome-powell-rate-increases-fed-                                                       By Jeanna Smialek and Madeleine
2022-04-21   2022-04-22 reserve.html                                   Fed Chair Speaks of Fast Rate Increase     Ngo                               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/busines With an Electric SUV Lotus Trades Lightness
2022-04-21   2022-04-22 s/lotus-eletre-suv-electric.html               for Heft                                   By Brett Berk                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/busines
2022-04-21   2022-04-22 s/muzmatch-tinder-match-group.html             Muslim Dating App Loses Trademark Fight By Aina J Khan                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/health/c US Officials Issue Alert On Hepatitis In
2022-04-21   2022-04-22 dc-hepatitis-children.html                     Children                                   By Emily Anthes                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/health/ Routine Inoculations for Kindergartners        By Benjamin Mueller and Jan
2022-04-21   2022-04-22 pandemic-childhood-vaccines.html               Lagging During Pandemic CDC Says           Hoffman                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/movies/
2022-04-21   2022-04-22 charlotte-review.html                          Charlotte                                  By Lisa Kennedy                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/movies/ Taking a Long Hard Drive Toward
2022-04-21   2022-04-22 hit-the-road-review.html                       Heartbreak                                 By AO Scott                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/movies/
2022-04-21   2022-04-22 marvelous-and-the-black-hole-review.html       Marvelous and the Black Hole               By Concepcin de Len               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/movies/
2022-04-21   2022-04-22 petite-maman-review.html                       Into a Wild Delightful and Weird Woods     By Manohla Dargis                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/movies/
2022-04-21   2022-04-22 saturday-fiction-review.html                   Saturday Fiction                           By Devika Girish                  TX 9-169-611   2022-06-01




                                                                                Page 3653 of 5793
                        https://www.nytimes.com/2022/04/21/movies/
                        sexual-drive-review-best-served-hot-and-
2022-04-21   2022-04-22 heavy.html                                  Sexual Drive                                 By Natalia Winkelman               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/movies/
2022-04-21   2022-04-22 stanleyville-review.html                    Stanleyville                                 By Teo Bugbee                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/movies/
2022-04-21   2022-04-22 the-duke-review.html                        An Unlikely Suspect Pulls Off an Art Heist By Amy Nicholson                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/movies/
2022-04-21   2022-04-22 the-northman-review.html                    A Viking Saga Dressed Up in Wolfs Clothing By AO Scott                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/movies/
                        the-unbearable-weight-of-massive-talent-
2022-04-21   2022-04-22 review-nicolas-cage.html                    Whos Nicolas Cage Now Nick Cage              By Manohla Dargis                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/movies/
2022-04-21   2022-04-22 y-como-es-el-review.html                    Y Cmo Es l                                   By Beatrice Loayza                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/nyregio Boy 6 Critically Hurt After Plunging Down By Ed Shanahan Mihir Zaveri and
2022-04-21   2022-04-22 n/bronx-elevator-shaft-boy-falls.html       Elevator Shaft in Bronx                      Ashley Wong                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/nyregio
                        n/honduras-juan-orlando-hernandez-          Former President of Honduras Is Extradited By Benjamin Weiser and Joan
2022-04-21   2022-04-22 extradition.html                            To Face DrugTrafficking Charges in the US Suazo                                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/nyregio Early Lines for New Jerseys First Legal Sales By Corey Kilgannon Justin Morris
2022-04-21   2022-04-22 n/nj-marijuana-sales.html                   of Marijuana                                 and Sean Piccoli                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/nyregio Appeals Court Finds New Yorks Political
2022-04-21   2022-04-22 n/redistricting-lawsuit-new-york.html       Map Illegal                                  By Nicholas Fandos                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/nyregio Bannon Was Pardoned but Two Admit to
2022-04-21   2022-04-22 n/trump-bannon-border-wall.html             Bilking Donors to Border Wall Campaign       By Benjamin Weiser                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/opinion
2022-04-21   2022-04-22 /fresh-air-fund-summer-camp-job.html        The Value of the Great Outdoors              By The Editorial Board             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/opinion
2022-04-21   2022-04-22 /housing-density-cities.html                How Green Is Your Metropolis                 By Paul Krugman                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/opinion
2022-04-21   2022-04-22 /suffering-trauma-wisdom.html               Some People Turn Suffering Into Wisdom       By David Brooks                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/opinion                                               By Donald K Milton Edward A
2022-04-21   2022-04-22 /superspreader-events-disinfect-air.html    Its Possible to Stop Superspreader Events    Nardell and David Michaels         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/science Avian Flu Takes Toll on Majestic Birds of
2022-04-21   2022-04-22 /eagles-bird-flu.html                       Prey Including Dozens of Bald Eagles         By Sabrina Imbler                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/sports/b
2022-04-21   2022-04-22 asketball/nets-celtics-kevin-durant.html    Durant Picks Bad Time To Go Missing          By Scott Cacciola                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/sports/f Daryle Lamonica 80 Quarterback Known as
2022-04-21   2022-04-22 ootball/daryle-lamonica-dead.html           the Mad Bomber Is Dead                       By Richard Goldstein               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/sports/l 13 Nassar Victims Seek 10 Million Each Over
2022-04-21   2022-04-22 arry-nassar-usa-gymnastics-fbi.html         FBIs Handling of Case                        By Christine Hauser                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/sports/s Manchester United Turns to a Dutchman To
2022-04-21   2022-04-22 occer/manchester-united-erik-ten-hag.html   Reverse Its Slide                            By Tariq Panja                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/technol Technology Obama Wants Oversight Of
2022-04-21   2022-04-22 ogy/obama-stanford-tech-regulation.html     Social Media Bolstered                       By Steven Lee Myers                TX 9-169-611   2022-06-01



                                                                                Page 3654 of 5793
                        https://www.nytimes.com/2022/04/21/theater/ Robert Morse Actor Whose Star Rose on
2022-04-21   2022-04-22 robert-morse-dead.html                      Broadway Is Dead at 90                      By Robert Berkvist                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/us/cens What Promises Of Privacy Look Like On a
2022-04-21   2022-04-22 us-data-privacy-concerns.html               Map                                         By Michael Wines                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/us/jim- Internal Memo Details GOP Tactics to         By Annie Karni and Luke
2022-04-21   2022-04-22 jordan-republicans-memo-immigration.html Attack Biden on Immigration                    Broadwater                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/us/polit Secretive Camp 7 Is New Front in Legal
2022-04-21   2022-04-22 ics/cia-prison-gitmo.html                   Battle for Guantnamo Prisoners              By Carol Rosenberg                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/us/polit CrimeFighting Nonprofit Group Takes Turn    By David A Fahrenthold and Keri
2022-04-21   2022-04-22 ics/crime-stoppers-houston.html             to the Right in Texas                       Blakinger                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/us/polit If Democracys in Trouble Why Dont           By Reid J Epstein and Jonathan
2022-04-21   2022-04-22 ics/democrats-democracy-election.html       Democrats Run on the Issue                  Weisman                           TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/21/us/polit                                             By Luke Broadwater and Maggie
2022-04-21   2022-04-22 ics/donald-trump-jr-january-6-committee.html Trump Jr Agrees to Meet Jan 6 Panel        Haberman                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/us/polit Washington Fears the Consequences If
2022-04-21   2022-04-22 ics/france-election-biden.html               France Elects a RightWing Leader           By Michael Crowley                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/us/polit US Sees Next Month of War As Pivotal and    By Helene Cooper Eric Schmitt and
2022-04-21   2022-04-22 ics/russia-ukraine-military-biden.html       Sends More Aid                             David E Sanger                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/us/polit
                        ics/trump-mitch-mcconnell-kevin-                                                        By Alexander Burns and Jonathan
2022-04-21   2022-04-22 mccarthy.html                                After Jan 6 GOP Leaders Anger Faded Fast   Martin                            TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/21/us/supr Supreme Court Tackles Puerto Ricos Status
2022-04-21   2022-04-22 eme-court-puerto-rico-stolen-art-signs.html On Federal Benefits                         By Adam Liptak                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/world/a Gay Sex Ban For Soldiers In South Korea Is
2022-04-21   2022-04-22 sia/south-korea-gay-sex-military.html       Overturned                                  By Choe SangHun                   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/21/world/e Putin Proclaims Fall of Mariupol Yet Fight    By Anton Troianovski Ivan
2022-04-21   2022-04-22 urope/putin-mariupol-steel-plant.html         Goes On                                    Nechepurenko and Richard PrezPea TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/world/e
                        urope/russia-moskva-warship-                  Sinking of Ship Presents Threat To Moscows By Neil MacFarquhar and Alina
2022-04-21   2022-04-22 disinformation.html                           Propaganda Blitz                           Lobzina                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/world/e Bookstores Are Keeping This Tiny Spanish
2022-04-21   2022-04-22 urope/uruena-spain-book-hub.html              Village Alive                              By Raphael Minder                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/world/e US to Send Howitzers and Custom Drones To
2022-04-21   2022-04-22 urope/us-weapons-ukraine.html                 Ukraine as Part of 800 Million in Aid      By John Ismay                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/world/ Tensions Flare in Gaza As Israel Exchanges
2022-04-21   2022-04-22 middleeast/israel-gaza-rocket-fire.html       Fire With Militants                        By Patrick Kingsley              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/interactive/2022/04/
                        21/climate/portland-emissions-infrastructure- Can Portland Be a Climate Leader Without   By Brad Plumer Nadja Popovich
2022-04-21   2022-04-22 environment.html                              Reducing Driving                           and Chona Kasinger               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/21/wo
                        rld/ukraine-russia-war-news/mariupol-         Troops Inside Besieged Factory Pray for
2022-04-21   2022-04-22 azovstal-steel-ukraine-war                    Rescue Were Hoping for Help                By Michael Schwirtz              TX 9-169-611   2022-06-01



                                                                                Page 3655 of 5793
                        https://www.nytimes.com/2022/04/21/theater/
2022-04-22   2022-04-22 hangmen-review.html                         Laugh in Horror Then Wonder Why               By Jesse Green                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/22/movies/
2022-04-22   2022-04-22 polar-bear-review-on-thin-ice.html          Polar Bear                                    By Claire Shaffer              TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/22/sports/a Formula 1 Is Growing Fast in the US but Still
2022-04-22   2022-04-22 utoracing/formula-1-united-states.html      Has No AmericanBorn Driver                    By Gregory Leporati            TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/22/world/e Le Pen Closer Than Ever to French
2022-04-22   2022-04-22 urope/le-pen-putin-france-election.html     Presidency and to Putin                       By Roger Cohen                 TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/18/books/j
2022-04-18   2022-04-23 ennifer-grey-memoir-out-of-the-corner.html Shes Nobodys Baby Anymore                      By Elisabeth Egan                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/opinion What It Means to Be a Constitutional
2022-04-19   2022-04-23 /jan-6-ted-cruz-mike-lee.html                 Conservative                                By Jamelle Bouie                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/opinion
                        /madison-cawthorn-marjorie-taylor-green-      Only the Federal Government Could Bar
2022-04-20   2022-04-23 section-3.html                                Cawthorn and Greene                         By Josh Blackman and S B Tillman TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/arts/des Pissarro Work Seized by the Nazis Will Be
2022-04-21   2022-04-23 ign/pissarro-nazis-auction.html               Sold                                        By Graham Bowley                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/arts/tele
2022-04-21   2022-04-23 vision/billy-the-kid-epix.html                Seeing the Wounds of Billy the Kid          By Chris Vognar                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/opinion Parents Arent the Only Ones Who Have
2022-04-21   2022-04-23 /dont-say-gay-parents-rights.html             Rights                                      By Frank Bruni                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/theater/ Court Is the Next Act For the Show Great
2022-04-21   2022-04-23 great-comet-dave-malloy.html                  Comet                                       By Michael Paulson               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/us/ruth- Mementos Of Ginsburg Will Be Sold For the
2022-04-21   2022-04-23 bader-ginsburg-auction.html                   Arts                                        By Johnny Diaz                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/world/a
                        sia/india-kangaroos-smuggling-west-           In the Kangaroos of India Evidence of an
2022-04-21   2022-04-23 bengal.html                                   Illicit Trade                               By Mike Ives and Sameer Yasir    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/world/e Mikhail Vasenkov 79 Soviet Spy Whose Ring
2022-04-21   2022-04-23 urope/mikhail-vasenkov-dead.html              Inspired The Americans Dies                 By Sam Roberts                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/interactive/2022/04/
                        21/climate/plastics-recycling-trash-          Trash or Recycling Why Plastic Keeps Us     By Hiroko Tabuchi and Winston
2022-04-21   2022-04-23 environment.html                              Guessing                                    ChoiSchagrin                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/arts/bill-
                        murray-being-mortal-inappropriate-                                                        By Colin Moynihan and Nicole
2022-04-22   2022-04-23 behavior.html                                 Murray Accused Film Shoot Is Halted         Sperling                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/arts/dan
2022-04-22   2022-04-23 ce/review-shamel-pitts-tribe.html             A Bronze Sculpture Undulates in Moonlight By Brian Seibert                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/arts/des
2022-04-22   2022-04-23 ign/venice-biennale-russia-ukraine.html       A Surreal Feel at a Wartime Venice Biennale By Scott Reyburn                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/arts/mu
2022-04-22   2022-04-23 sic/joyce-didonato-eden.html                  Planting Seeds of Music Hope and Activism By David Allen                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/arts/tele
2022-04-22   2022-04-23 vision/the-baby-review.html                   Motherhood Can Be A Real Horror Show        By Mike Hale                     TX 9-169-611   2022-06-01



                                                                                 Page 3656 of 5793
                        https://www.nytimes.com/2022/04/22/busines
2022-04-22   2022-04-23 s/france-arrest-warrant-carlos-ghosn.html   France Issues Arrest Warrant for Ghosn        By Liz Alderman               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/busines                                                By Emma Goldberg and Lauren
2022-04-22   2022-04-23 s/hybrid-work-attendance.html               Homeroom On the Job                           Hirsch                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/busines Stocks Slump Over Worries About Policy
2022-04-22   2022-04-23 s/stocks-tumble-interest-rate.html          From the Fed                                  By Coral Murphy Marcos        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/busines A Musk Takeover of Twitter Could Endanger By Matthew Goldstein Kenneth P
2022-04-22   2022-04-23 s/trump-truth-social-elon-musk.html         Trumps Truth Social                           Vogel and Ryan Mac            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/climate Frustrated by Inaction Climate Activists Plan
2022-04-22   2022-04-23 /climate-rally-biden.html                   Rallies Across Country                        By Lisa Friedman              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/health/t
2022-04-22   2022-04-23 ucker-carlson-testosterone.html             Virility Therapy That May Strain Credulity By Gina Kolata                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/movies/
2022-04-22   2022-04-23 robert-eggers-the-northman.html             A Director Embraces Challenges                By Kyle Buchanan              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/nyregio RaceBased Medical Formula Is Keeping
2022-04-22   2022-04-23 n/prison-kidney-federal-courts-race.html    Some Black Inmates in Prison                  By Joseph Goldstein           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/opinion Covid Drugs Save Lives but Many Americans
2022-04-22   2022-04-23 /covid-pandemic-drugs-treatment.html        Cant Get Them                                 By Zeynep Tufekci             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/science Ursula Bellugi 91 Pioneer in the Field of Sign
2022-04-22   2022-04-23 /ursula-bellugi-dead.html                   Language                                      By Katharine Q Seelye         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/sports/a
2022-04-22   2022-04-23 utoracing/formula-1-mercedes-car.html       Rare spot for Mercedes                        By Ian Parkes                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/sports/a
                        utoracing/formula-1-new-races-
2022-04-22   2022-04-23 popularity.html                             Take a look at Formula 1 now                  By Ian Parkes                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/sports/a
                        utoracing/max-verstappen-netflix-drive-to-
2022-04-22   2022-04-23 survive.html                                Verstappen is no fan of Netflix series        By Luke Smith                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/sports/b Phenom in Japan Has Retired 52 Consecutive
2022-04-22   2022-04-23 aseball/roki-sasaki-perfect-game.html       Batters                                       By Victor Mather              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/sports/b At Home in Game 3 the Timberwolves Had
2022-04-22   2022-04-23 asketball/grizzlies-timberwolves.html       the Grizzlies at the Door                     By Tania Ganguli              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/sports/h Guy Lafleur Magician of 1970s Canadiens
2022-04-22   2022-04-23 ockey/guy-lafleur-dead.html                 Dies at 70                                    By Richard Sandomir           TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/22/sports/h Rock Star on Right Wing For What May Have
2022-04-22   2022-04-23 ockey/guy-lafleur-montreal-canadiens.html Been The NHLs Greatest Team                 By David Shoalts                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/sports/t Homecoming to Britain For Heavyweight
2022-04-22   2022-04-23 yson-fury-dillian-whyte.html                Champ In FuryWhyte Title Fight            By Morgan Campbell                TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/22/technol EU Aims to Make Big Tech Police Its
2022-04-22   2022-04-23 ogy/european-union-social-media-law.html Platforms                                    By Adam Satariano                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/technol
2022-04-22   2022-04-23 ogy/tech-regulation-europe-us.html         US Lags As Europe Promotes Tech Laws       By Cecilia Kang                   TX 9-169-611   2022-06-01




                                                                               Page 3657 of 5793
                        https://www.nytimes.com/2022/04/22/technol Umang Gupta 73 Pioneer In Software Who
2022-04-22   2022-04-23 ogy/umang-gupta-dead.html                   Led Way For Indian Tech Executives         By Don Clark                      TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/22/us/bord Guardsman Feared Dead After Rescue In Rio By J David Goodman and Edgar
2022-04-22   2022-04-23 er-drown-texas-national-guard.html          Grande                                     Sandoval                          TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/22/us/dc- Suspect in Shooting That Wounded 4 Kills     By Vimal Patel Aishvarya Kavi and
2022-04-22   2022-04-23 shooting-van-ness.html                      Himself Police Say                         Alyssa Lukpat                     TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/22/us/flori Floridas Issue With Math Books Has Zero to By Dana Goldstein and Stephanie
2022-04-22   2022-04-23 da-rejected-textbooks.html                  Do With Numbers                            Saul                              TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/22/us/meli Outcry in Texas Over a Mother On Death
2022-04-22   2022-04-23 ssa-lucio-texas-execution.html              Row                                        By J David Goodman                TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/22/us/phila
2022-04-22   2022-04-23 delphia-mask-mandate.html                   Philadelphia Lifts Rule On Masks           By Campbell Robertson             TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/22/us/polit Biden Tries to Sell Embattled Domestic
2022-04-22   2022-04-23 ics/biden-domestic-agenda.html              Agenda During His West Coast Trip          By Katie Rogers                   TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/22/us/polit Is the US Appeal to Reinstate Masks a         By Charlie Savage and Sharon
2022-04-22   2022-04-23 ics/biden-legal-strategy-mask-mandate.html Stalling Tactic                                LaFraniere                      TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/22/us/polit Rebuke of Disney Is Sign Of a Shift by        By Katie Glueck and Frances
2022-04-22   2022-04-23 ics/desantis-disney-florida.html            Republicans Away From Big Business            Robles                          TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/22/us/polit A Hacking Operation Claims To Target          By Kate Conger and David E
2022-04-22   2022-04-23 ics/hackers-russia-cyberattacks.html        Russian Institutions                          Sanger                          TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/22/us/polit
                        ics/marjorie-taylor-greene-jan-6-           Greene Denies Insurrectionist Label in Case   By Jonathan Weisman and Neil
2022-04-22   2022-04-23 insurrectionist.html                        to Bar Her From Office                        Vigdor                          TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/22/us/polit McCarthy Said Trump Took On Blame for         By Jonathan Martin Alexander
2022-04-22   2022-04-23 ics/mccarthy-trump-jan-6-recording.html     Riot                                          Burns and Neil Vigdor           TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/22/us/polit The Greater Political Danger for McCarthy
2022-04-22   2022-04-23 ics/mccarthy-trump-republicans.html         Was the Truth                                 By Annie Karni                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/22/us/tenn Tennessee Could Soon Make Drunken
2022-04-22   2022-04-23 essee-drunk-driving-child-support.html      Drivers Support Victims Children              By Isabella Grulln Paz          TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/22/world/a Taking Senegalese Soccer to New Heights
2022-04-22   2022-04-23 frica/aliou-cisse-soccer-senegal.html       With Pride and Style                          By Elian Peltier and Mady Camara TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/world/a Mwai Kibaki President Who Helped
2022-04-22   2022-04-23 frica/mwai-kibaki-kenya-dead.html           Transform Kenyas Economy Dies at 90           By Abdi Latif Dahir             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/22/world/a 33 Are Dead as Blast Rocks Sufi Mosque in      By Christina Goldbaum and Najim
2022-04-22   2022-04-23 sia/afghanistan-mosque-attack.html          Afghanistan                                   Rahim                           TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/22/world/a Japan and New Zealand Discuss Sharing
2022-04-22   2022-04-23 sia/new-zealand-japan-intelligence.html     Intelligence                                  By Pete McKenzie                TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/22/world/a Departing South Korean Leader Exchanges
2022-04-22   2022-04-23 sia/north-korea-kim-moon-letters.html       Farewell Letters With Norths Kim              By Choe SangHun                 TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/22/world/e In Presidential Vote Neither Candidate         By Norimitsu Onishi and Aida
2022-04-22   2022-04-23 urope/france-muslims-presidential-vote.html Excites Frances Muslims                       Alami                           TX 9-169-611    2022-06-01




                                                                                 Page 3658 of 5793
                                                                                                              By Anton Troianovski Ivan
                        https://www.nytimes.com/2022/04/22/world/e Russia Captures Dozens Of Towns as Its     Nechepurenko and Michael
2022-04-22   2022-04-23 urope/russia-ukraine-fighting-east.html    Forces Push Into East Ukraine              Levenson                          TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/22/world/e Mourning a Casualty of War The Worlds
2022-04-22   2022-04-23 urope/ukraine-airplane-russia-war-mriya.html Biggest Airplane                            By Jeffrey Gettleman             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/world/
                        middleeast/israel-palestinians-aqsa-temple- A Site Holy to Jews and Muslims Returns as a
2022-04-22   2022-04-23 mount.html                                   Nexus of Conflict in Israel                 By Patrick Kingsley              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/your-
                        money/house-mortgage-alternative-
2022-04-22   2022-04-23 financing.html                               A Risky Way to Try to Own a Home            By Ann Carrns                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/22/wo
                        rld/ukraine-russia-war-news/pope-francis-    Pope Condemns War but Avoids Putin by
2022-04-22   2022-04-23 putin-ukraine-war                            Name                                        By Elisabetta Povoledo           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/health/c Race to Vaccinate the World Loses            By Rebecca Robbins and Stephanie
2022-04-23   2022-04-23 ovid-vaccines-world-africa.html              Momentum                                    Nolen                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/world/e In Fragile Moldova Fear of Becoming the       By Monika Pronczuk and Jeffrey
2022-04-23   2022-04-23 urope/moldova-ukraine-russia.html            Next Target                                 Gettleman                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2021/11/04/books/r
2021-11-04   2022-04-24 eading-around-new-york.html                  The City That Never Sleeps Always Reads     By Anika Burgess                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/02/25/books/r
                        eview/ramachandra-guha-rebels-against-the-
2022-02-25   2022-04-24 raj.html                                     Fighting the Empire                         By Samir Puri                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/15/books/r
2022-03-15   2022-04-24 eview/peter-handke-fruit-thief.html          Day Tripper                                 By Rob Doyle                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/03/22/books/r
                        eview/after-the-romanovs-helen-
2022-03-22   2022-04-24 rappaport.html                               Living on a Volcano                         By Rebecca Reich                 TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/03/29/books/r
2022-03-29   2022-04-24 eview/caroline-elkins-legacy-of-violence.html Cruel Britannia                         By Geoffrey Wheatcroft            TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/29/books/r
2022-03-29   2022-04-24 eview/maud-newton-ancestor-trouble.html       Tangled Roots                           By Kerri Arsenault                TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/30/books/r
                        eview/sea-of-tranquility-emily-st-john-
2022-03-30   2022-04-24 mandel.html                                   A Ripple in the Current                 By Laird Hunt                     TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/03/31/books/e
                        lizabeth-alexander-the-trayvon-
2022-03-31   2022-04-24 generation.html                               The Color Line                          By Mitchell S Jackson             TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/03/books/j
                        enny-tinghui-zhang-four-treasures-of-the-
2022-04-03   2022-04-24 sky.html                                      Western Journey                         By Jennifer Egan                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/04/books/r
2022-04-04   2022-04-24 eview/new-science-fiction-fantasy.html        Ordinary People Extraordinary Worlds    By Amal ElMohtar                  TX 9-169-611     2022-06-01



                                                                                 Page 3659 of 5793
                        https://www.nytimes.com/2022/04/05/books/r
2022-04-05   2022-04-24 eview/jonathan-galassi-school-days.html    Student Unions                                 By Jeremy Lybarger         TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/05/books/r
2022-04-05   2022-04-24 eview/mary-laura-philpott-bomb-shelter.html Turn Turn Turn                                By Judith Warner           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/10/books/r
                        eview/serenade-a-balanchine-story-toni-
2022-04-10   2022-04-24 bentley.html                                 Good Turnout                                 By Misty Copeland          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/13/books/r
                        eview/the-unwritten-book-samantha-hunt-
                        uncommon-measure-natalie-hodges-dear-
2022-04-13   2022-04-24 damage-ashley-marie-farmer.html              The Shortlist Memoirs in Essays              By Kat Chow                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/14/books/r
                        eview/ten-steps-to-nanette-hannah-
2022-04-14   2022-04-24 gadsby.html                                  Inside the List                              By Elisabeth Egan          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/realesta
2022-04-18   2022-04-24 te/shopping-for-loft-beds.html               Adventures in Space For Adults and Kids      By Tim McKeough            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/style/ka
2022-04-18   2022-04-24 te-quinn-baby-clothes.html                   Onesies That Inspire a Shopping Frenzy       By Steven Kurutz           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/style/m
2022-04-18   2022-04-24 orning-weddings.html                         Before Brunch Making a Stop at the Altar     By Alix Strauss            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/18/t-
                        magazine/book-stylists-instagram-
2022-04-18   2022-04-24 influencers.html                             You Could Call It Literary Fashion           By Nick Haramis            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/interactive/2022/04/ Julia Roberts Hasnt Changed But Hollywood
2022-04-18   2022-04-24 18/magazine/julia-roberts-interview.html     Has                                          By David Marchese          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/arts/alfi
2022-04-19   2022-04-24 e-allen-favorite-things.html                 Alfie Allen Supports Pineapple and Arsenal   By Elisabeth Vincentelli   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/19/arts/dan
2022-04-19   2022-04-24 ce/nonbinary-ballet-dancers-swan-lake.html A Rising Nonbinary Swan on Pointe            By Margaret Fuhrer           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/magazi How Much Should You Be Asked to Donate
2022-04-19   2022-04-24 ne/coworker-gift-money.html                 for a Colleagues Gift                       By Kwame Anthony Appiah      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/magazi
2022-04-19   2022-04-24 ne/greece-marble-moving.html                The Island                                  By Rachel Cusk               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/magazi
                        ne/judge-john-hodgman-deathbed-
2022-04-19   2022-04-24 request.html                                Bonus Advice From Judge John Hodgman        By John Hodgman              TX 9-169-611   2022-06-01
                                                                    MRIs are finding connections between our
                        https://www.nytimes.com/2022/04/19/magazi brain activity and psychology but some of the
2022-04-19   2022-04-24 ne/mri-brain-activity-psychology.html       results are more reliable than others       By Kim Tingley               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/opinion
                        /bmw-porsche-nazi-germany-quandt-
2022-04-19   2022-04-24 flick.html                                  The Heirs of Nazi Fortunes                  By David de Jong             TX 9-169-611   2022-06-01




                                                                                Page 3660 of 5793
                        https://www.nytimes.com/2022/04/19/opinion
                        /inflation-interest-rates-housing-mortgage-
2022-04-19   2022-04-24 loan.html                                    Inflation Interest and the Housing Paradox By Paul Krugman                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/style/fal Cant Stop Loving Her Maybe You Should Try
2022-04-19   2022-04-24 ling-out-of-love.html                        Harder                                     By Allison Hope                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/interactive/2022/04/                                            By Erin Griffith and Taylor
2022-04-19   2022-04-24 19/technology/tech-startup-bubble.html       The Tech Bubble That Never Burst           Johnston                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/magazi Share Plate A coveted recipe for escovitch
2022-04-20   2022-04-24 ne/escovitch-fish-recipe.html                fish is finally written down               By Ligaya Mishan                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/magazi
2022-04-20   2022-04-24 ne/hiking-kurdistan.html                     Mountain Time                              By Ben Mauk                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/magazi
                        ne/liza-minnelli-joni-mitchell-lady-gaga-
2022-04-20   2022-04-24 bonnie-raitt.html                            Little Help                                By Jeremy Gordon                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/magazi
2022-04-20   2022-04-24 ne/van-life-dwelling.html                    Road Rage                                  By Caity Weaver                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/movies/
2022-04-20   2022-04-24 nicolas-cage-massive-talent.html             FaceOff With His Former Self               By Sarah Lyall                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/nyregio
2022-04-20   2022-04-24 n/loneliness-epidemic.html                   The City Has a Loneliness Problem          By John Leland                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/opinion
2022-04-20   2022-04-24 /bitcoin-mining-climate-change.html          Bitcoin Is Unlikely to Go Green            By Peter Coy                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/opinion
2022-04-20   2022-04-24 /covid-mask-mandate-policies.html            We Politicized Masks Now What              By Aaron E Carroll               TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/20/opinion                                                By James Forman Jr and Kayla
2022-04-20   2022-04-24 /sunday/prison-sentencing-parole-justice.html The Legacy of the Superpredator Myth        Vinson                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/realesta
                        te/how-the-worst-site-can-become-the-best-
2022-04-20   2022-04-24 garden.html                                   Beauty Wrenched From an Inhospitable Site   By Margaret Roach              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/realesta A Modern Mountain Perch Situated Above
2022-04-20   2022-04-24 te/peru-house-hunting.html                    Lima                                        By Michael Kaminer             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/realesta
                        te/west-orange-nj-plentiful-green-space-and-
2022-04-20   2022-04-24 an-easy-commute.html                          Plentiful Green Space and an Easy Commute   By Kathleen Lynn               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/technol Elon Musk Is Only Twitters Most Recent
2022-04-20   2022-04-24 ogy/elon-musk-twitter-potential.html          Suitor                                      By Shira Ovide                 TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/20/theater/ At 23 I Deserve to Be Here Jaquel Spiveys
2022-04-20   2022-04-24 jaquel-spivey-a-strange-loop-broadway.html Broadway Debut                                 By Elisabeth Vincentelli       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/interactive/2022/04/ The Plastic Paradise of Tokyos Famous
2022-04-20   2022-04-24 20/magazine/tokyo-replica-food.html          Kitchen Town                                 Photographs by Kyoko Hamada    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/arts/des
2022-04-21   2022-04-24 ign/haegue-yang-art-dmz.html                 The Radical Art of Obscure Delights          By Andrew Russeth              TX 9-169-611   2022-06-01




                                                                                 Page 3661 of 5793
                        https://www.nytimes.com/2022/04/21/arts/mu                                             By James K Williamson and Penn
2022-04-21   2022-04-24 sic/george-jones-lost-tapes.html             What George Jones Left Behind             Bullock                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/arts/tele
                        vision/chiwetel-ejiofor-the-man-who-fell-to-
2022-04-21   2022-04-24 earth.html                                   Embodying a Role In a Strange Body        By Robert Ito                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/garden/
2022-04-21   2022-04-24 vermont-farmhouse-renovation.html            From Escape to Home                       By Tim McKeough                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/garden/
2022-04-21   2022-04-24 work-from-home-office-furniture.html         Home Offices for the Long Haul            By Arlene Hirst                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/magazi
2022-04-21   2022-04-24 ne/poem-going-going-gone.html                Poem Going Going Gone                     By Kim Hyesoon                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/movies/ Jimmy Wang Yu 79 Star Of Early Kung Fu
2022-04-21   2022-04-24 jimmy-wang-yu-dead.html                      Movies                                    By Richard Sandomir              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/nyregio Delayed Aid Troubles Families Displaced by By Kimiko de FreytasTamura
2022-04-21   2022-04-24 n/bronx-fire-aid-delays.html                 Bronx Fire                                Karen Zraick and Todd Heisler    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/opinion
2022-04-21   2022-04-24 /amazon-product-liability.html               In Amazon We Trust Should We              By Moira Weigel                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/opinion Riding a Bike in America Should Not Be This
2022-04-21   2022-04-24 /bike-road-safety-infrastructure.html        Dangerous                                 By Farhad Manjoo                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/opinion                                             By Yara Bayoumy and Adrian J
2022-04-21   2022-04-24 /ukraine-putin-biden.html                    10 Americans Debate Our Role in the World Rivera                           TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/21/realesta How to Trick Out a Space to Help Older
2022-04-21   2022-04-24 te/best-smart-home-devices-for-seniors.html Adults                                      By Rachel Cericola              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/realesta
2022-04-21   2022-04-24 te/housing-affordability-top-cities.html     For Seniors Next Move Is a Click Away      By Gregory Schmidt              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/realesta
2022-04-21   2022-04-24 te/nursing-home-robots.html                  SciFi Care Can Robots Save Nursing Homes   By John Leland                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/science Peter Swales Scholar Who Shook Up the
2022-04-21   2022-04-24 /peter-swales-dead.html                      Freud Establishment Dies at 73             By Neil Genzlinger              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/sports/r Referees in Youth Sports Are Quitting in
2022-04-21   2022-04-24 eferee-shortage-youth-sports.html            Droves                                     By Eduardo Medina               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/style/co
2022-04-21   2022-04-24 vid-misinformation-social-qs.html            Friends No More                            By Philip Galanes               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/style/de
2022-04-21   2022-04-24 sign-advice.html                             Make Some Noise                            By Stephen Treffinger           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/style/de
2022-04-21   2022-04-24 sign-careers-reshaped-by-pandemic.html       Seeing an Upside                           By Pilar Viladas                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/style/lib
2022-04-21   2022-04-24 raries-outdoor-public-space.html             Libraries Are Still People Places          By Karrie Jacobs                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/style/ne
2022-04-21   2022-04-24 w-design-books.html                          Reading Between the Design Lines           By Eve M Kahn                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/style/pa
2022-04-21   2022-04-24 ntone-color-of-the-year-veri-peri.html       Behind Pantones Color of the Year          By Stephen Treffinger           TX 9-169-611   2022-06-01




                                                                               Page 3662 of 5793
                        https://www.nytimes.com/2022/04/21/style/sh
2022-04-21   2022-04-24 e-taught-new-york-to-sing.html              She Taught New York to Sing                 By Alex Traub           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/style/st
                        ephanie-hsu-everything-everywhere-all-at-
2022-04-21   2022-04-24 once.html                                   Changing Clothes to Fit the Universe        By Gina Cherelus        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-       Playwright Aleshea Harris and Director
2022-04-21   2022-04-24 magazine/aleshea-harris-whitney-white.html Whitney White                                By Noor Brara           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/beanie-feldstein-funny-girl.html   Beanie Feldstein                            By Juan A Ramrez        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/caroline-polachek.html             SingerSongwriter Caroline Polachek          By Jason Chen           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/chika.html                         Chika Rapper                                By Marley Marius        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/christopher-john-rogers.html       Fashion Designer Christopher John Rogers    By Jameson Montgomery   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
                        magazine/culture-issue-behind-the-
2022-04-21   2022-04-24 scenes.html                                 Behind the Scenes                           By MH Miller            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/daniel-romualdez.html              Architect and Decorator Daniel Romualdez    By Michael Snyder       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/daniel-roseberry-schiaparelli.html Fashion Designer Daniel Roseberry           By John Wogan           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/ethan-hawke.html                   Actor Ethan Hawke                           By Minju Pak            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/faith-ringgold.html                Faith Ringgold Artist                       By Lovia Gyarkye        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/ivo-van-hove.html                  Director Ivo Van Hove                       By Joshua Barone        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/james-whiteside-uhu-betch.html     Ballet Dancer James Whiteside               By Coco Romack          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/jamie-nares.html                   Multidisciplinary Artist Jamie Nares        By MH Miller            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/jonathan-bailey-bridgerton.html    Jonathan Bailey                             By Juan A Ramrez        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/jordan-casteel.html                Jordan Casteel Artist                       By Sandra E Garcia      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
                        magazine/katerina-tannenbaum-sex-and-the-
2022-04-21   2022-04-24 city.html                                   Actor Katerina Tannenbaum                   By Juan A Ramrez        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/katie-stout.html                   Artist and Furniture Designer Katie Stout   By Noor Brara           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/kid-cudi.html                      Musician and Actor Kid Cudi                 By Jon Caramanica       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/louise-erdrich.html                Writer Louise Erdrich                       By Thessaly La Force    TX 9-169-611   2022-06-01



                                                                                Page 3663 of 5793
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/manuel-solano.html                  Artist Manuel Solano                       By Coco Romack            TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/mona-mansour-vagrant-trilogy.html Playwright Mona Mansour                      By Kate Guadagnino        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-      Architect and Industrial Designer Patricia
2022-04-21   2022-04-24 magazine/patricia-urquiola-cassina.html    Urquiola                                     By Noor Brara             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/pierre-hardy.html                 Accessories Designer Pierre Hardy            By Nick Haramis           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/piet-oudolf-garden-design.html    Piet Oudolf Garden Designer                  By Elizabeth Tyler        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/pim-techamuanvivit.html           Pim Techamuanvivit Chef                      By Nick Marino            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/radha-blank.html                  Writer and Filmmaker Radha Blank             By Sandra E Garcia        TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/raja-feather-kelly-strange-loop.html Choreographer Raja Feather Kelly            By Coco Romack          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/rirkrit-tiravanija.html              Rirkrit Tiravanija Artist                   By Alice NewellHanson   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/samuel-r-delany.html                 Samuel R Delany                             By Nicole Rudick        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/saweetie.html                        Rapper Saweetie                             By Sandra E Garcia      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/sheila-hicks.html                    Aritst Sheila Hicks                         By Kate Guadagnino      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/toshiko-mori.html                    Architect Toshiko Mori                      By Michael Snyder       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/tschabalala-self.html                Artist Tschabalala Self                     By MH Miller            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/virginie-viard-chanel.html           Virginie Viard Fashion Designer             By Zoey Poll            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/t-
2022-04-21   2022-04-24 magazine/work-life-balance-art.html           The Hours                                   By Ligaya Mishan        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/interactive/2022/04/ No Stairs No Yard Work Two Empty Nesters
2022-04-21   2022-04-24 21/realestate/21hunt-kaner.html               Search for Their Forever Home               By Joyce Cohen          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/arts/mu
2022-04-22   2022-04-24 sic/arcade-fire-we.html                       Arcade Fire Builds Its Bridge to the Future By Jeremy Gordon        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/arts/mu
2022-04-22   2022-04-24 sic/lucia-di-lammermoor-met-opera.html        Challenging Opera Traditionalists           By Joshua Barone        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/arts/tele
                        vision/george-pelecanos-we-own-this-
2022-04-22   2022-04-24 city.html                                     Back to Baltimore Warts and All             By Noel Murray          TX 9-169-611   2022-06-01




                                                                                 Page 3664 of 5793
                        https://www.nytimes.com/2022/04/22/books/r
                        eview/a-is-for-bee-an-alphabet-book-in-
                        translation-ellen-heck-gibberish-young-vo-luli
                        and-the-langage-of-tea-andrea-wang-hyewon-
2022-04-22   2022-04-24 yum.html                                       Lost and Found in Translation           By Kory Stamper                TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/22/books/r
2022-04-22   2022-04-24 eview/new-paperbacks.html                      Paperback Row                           By Miguel Salazar              TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/22/busines                                             By Julia Rothman and Shaina
2022-04-22   2022-04-24 s/gen-x-retirement.html                        For Gen X Retirement Bites              Feinberg                       TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/22/busines
2022-04-22   2022-04-24 s/jeffrey-epstein-william-derosa.html          A Rare Cello A Sex Predator A Mystery   By James B Stewart             TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/22/busines Ways to Help Fortify Yourself Against
2022-04-22   2022-04-24 s/retirement-investing-risk-management.html Whims                                      By Elizabeth Harris            TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/22/busines
2022-04-22   2022-04-24 s/roxane-gay-work-friend-office-bully.html Dont Let a Toxic Colleague Get to You        By Roxane Gay                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/busines Midterm Election Years Are Tough for the
2022-04-22   2022-04-24 s/stocks-elections-midterm-biden.html       Stock Market                                By Jeff Sommer                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/magazi                                               By Djeneba Aduayom and Charley
2022-04-22   2022-04-24 ne/kids-hair-discrimination.html            Do Not Touch Their Hair                     Locke                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/nyregio
2022-04-22   2022-04-24 n/lifehacker-jordan-calhoun.html            A LifeHacking Expert at Work and at Play    By Tammy La Gorce              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/nyregio
2022-04-22   2022-04-24 n/marcus-garvey-park-harlem.html            Rules for a Playground Interrupt a Mission  By Ginia Bellafante            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/nyregio Putting Down Roots in the City With Every
2022-04-22   2022-04-24 n/million-trees-nyc.html                    Tree                                        By Kaya Laterman               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/opinion
2022-04-22   2022-04-24 /emmanuel-macron-marine-le-pen.html         Marine Le Pen Has Already Won               By Rachel Donadio              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/opinion
2022-04-22   2022-04-24 /forgiveness-redemption.html                Dont Stop Believing That People Can Change By Rebecca Solnit               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/opinion
2022-04-22   2022-04-24 /red-scare-culture-wars.html                What the Red Scare Teaches Us About Today By Jamelle Bouie                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/opinion
2022-04-22   2022-04-24 /sanctions-russia-ukraine-war.html          Acknowledging the Limits of Sanctions       By The Editorial Board         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/realesta For Weary Workers Video Backdrops Are
2022-04-22   2022-04-24 te/video-backdrops-work-from-home.html      Too Personal                                By Ronda Kaysen                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/sports/b Japanese Outfielder Found Unlikely Model to
2022-04-22   2022-04-24 aseball/seiya-suzuki-cubs.html              Reach the Majors                            By Brad Lefton                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/sports/s Another Championship for Bayern Munich
2022-04-22   2022-04-24 occer/bayern-dortmund-bundesliga.html       Who Cares                                   By Rory Smith                  TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/22/style/an A 14Hour Layover That Ended Way Too
2022-04-22   2022-04-24 drea-mendoza-victor-aguilera-wedding.html Quickly                                      By Kristen Bayrakdarian        TX 9-169-611    2022-06-01




                                                                                 Page 3665 of 5793
                        https://www.nytimes.com/2022/04/22/style/eli On a Turtles Pace Reaching the Elephant in
2022-04-22   2022-04-24 zabeth-berman-richard-fiedotin-wedding.html the Room                                        By Vincent M Mallozzi    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/style/ha She Needed Answers He Had Hundreds of
2022-04-22   2022-04-24 nnah-cha-anthony-elfering-wedding.html       Them                                           By Julia Carmel          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/style/ja
2022-04-22   2022-04-24 nelle-clark-david-funchess-wedding.html      For a Prankster It Took Time to Get Real       By Judy Mandell          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/style/m
                        arissa-branch-shelby-blackstock-
2022-04-22   2022-04-24 wedding.html                                 Starting Their Journey in Cinderellas Carriage By Stephanie Cain        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/style/m
2022-04-22   2022-04-24 egan-oconor-thomas-cordell-wedding.html      A Kiss That Was More Than a Little Overdue By Vincent M Mallozzi        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/style/m
                        odern-love-when-a-rat-fell-onto-my-bed-i-    When a Rat Drops In Call Your Lovers
2022-04-22   2022-04-24 called-my-lovers-boyfriend.html              Boyfriend                                      By Erin Thompson         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/theater/
2022-04-22   2022-04-24 potus-selina-fillinger-broadway.html         Making a Farce Of Mens Power                   By Amanda Hess           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/world/e A Brigade Dug In and Determined to Repel
2022-04-22   2022-04-24 urope/ukraine-front-line-zaporizhzhya.html Russian Forces                                   By Michael Schwirtz      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/busines Diversifying Cockpits A Change Driven by
2022-04-23   2022-04-24 s/pilots-diversity.html                      Necessity                                      By Niraj Chokshi         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/climate Calls for Climate Action At Nationwide
2022-04-23   2022-04-24 /climate-change-rally-white-house.html       Gatherings                                     By Coral Davenport       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/health/ Decision Striking Mask Mandate on Transit By Roni Caryn Rabin and Emily
2022-04-23   2022-04-24 mask-mandate-transportation-response.html Underscores Deep Split in Attitudes               Erdos                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/opinion
2022-04-23   2022-04-24 /biden-putin-ukraine-genocide.html           Biden Saying Genocide A Bit Early              By Ross Douthat          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/opinion
2022-04-23   2022-04-24 /school-boards-books-tennessee.html          School Board Wars Are Getting Worse            By Michelle Cottle       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/realesta A Hoarders Habits Are Disturbing His Coop
2022-04-23   2022-04-24 te/neighbor-hoarding-dementia.html           Neighbors What to Do                           By Ronda Kaysen          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/sports/b
2022-04-23   2022-04-24 aseball/miguel-cabrera-3000-hits.html        A Superstar From the Beginning                 By Tyler Kepner          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/style/co Coachellas Vibe for 2022 Dont Worry Be
2022-04-23   2022-04-24 achella-vibe.html                            Happy                                          By Eve Peyser            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/style/sh
2022-04-23   2022-04-24 aker-religion-art-fashion.html               Tastemakers With a Shaker Touch                By Christopher Barnard   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/us/corp
                        orate-real-estate-investors-housing-         In Hot Market FirstTime Home Buyers Find
2022-04-23   2022-04-24 market.html                                  More Hurdles                                   By Sophie Kasakove       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/us/judy-
2022-04-23   2022-04-24 garland-dress-wizard-oz-auction.html         Dorothys Dress at Auction                      By Johnny Diaz           TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/23/us/pam Charges Dropped Against Tennessee Woman By Sophie Kasakove and Eduardo
2022-04-23   2022-04-24 ela-moses-voter-fraud-charges-dropped.html Who Was Jailed in Voter Fraud          Medina                             TX 9-169-611   2022-06-01



                                                                              Page 3666 of 5793
                        https://www.nytimes.com/2022/04/23/us/polit
2022-04-23   2022-04-24 ics/trump-mccarthy-gop.html                 Sacred Lines Not for Trumps GOP            By Jonathan Weisman             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/us/polit
                        ics/trump-meadows-freedom-caucus-jan-       Filing Discloses Details on Trump White    By Luke Broadwater and Alan
2022-04-23   2022-04-24 6.html                                      House Call About Jan 6 Plans               Feuer                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/us/supr Justices to Test Prayer in School In Coachs
2022-04-23   2022-04-24 eme-court-football-coach-prayer.html        Case                                       By Adam Liptak                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/world/a How a Consulting Company Went From
2022-04-23   2022-04-24 frica/bain-south-africa-jacob-zuma.html     Power Player to Pariah in South Africa     By Lynsey Chutel                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/world/a Young Japanese Circumspectly Chip Away at
2022-04-23   2022-04-24 sia/japan-tattoo.html                       a Taboo                                    By Hikari Hida                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/world/a In Japan 26 Went Missing After Distress On
2022-04-23   2022-04-24 sia/tour-boat-missing-japan-hokkaido.html   Tour Boat                                  By Motoko Rich and Makiko Inoue TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/world/e
                        urope/france-election-runoff-le-pen-        In Le Pen Territory Anger at a Distant
2022-04-23   2022-04-24 macron.html                                 President                                  By Roger Cohen                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/world/e
                        urope/schroder-germany-russia-gas-ukraine- The ExChancellor Who Became Putins Man
2022-04-23   2022-04-24 war-energy.html                             in Germany                                 By Katrin Bennhold              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/world/e Warsaw Absorbs Refugees but Mayor Warns
2022-04-23   2022-04-24 urope/ukraine-poland-refugees.html          of Strain in Second Wave                   By Andrew Higgins               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/world/e Christians Lean on Rites And Easter         By Jane Arraf Marc Santora and
2022-04-23   2022-04-24 urope/ukrainian-easter-traditions.html      Celebrations In Shadow of Violence         Emma Bubola                     TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/23/world/e As Heavy Arms Arrive Ukraine Gets a Boost By Marc Santora Michael Schwirtz
2022-04-23   2022-04-24 urope/zelensky-donbas-ukraine-russia.html   In Defending the East                       and Michael Levenson          TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/23/health/ Its Life or Death US Teenagers Face a Mental By Matt Richtel and Annie
2022-04-24   2022-04-24 mental-health-crisis-teens.html             Health Crisis                               Flanagan                      TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/23/insider/
2022-04-24   2022-04-24 teen-mental-health-sources.html             So That It May Help Someone Else            By Matt Richtel               TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/24/busines                                              By John Koblin Michael M
2022-04-24   2022-04-24 s/media/cnn-plus-discovery-warner.html      Before Merger Quiet Concern About CNN       Grynbaum and Benjamin Mullin  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/24/busines
                        s/the-week-in-business-streaming-cnn-       The Week in Business Streaming Hits a
2022-04-24   2022-04-24 netflix.html                                Rough Patch                                 By Marie Solis                TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/24/sports/b Dj Vu for Golden State With Some Youth
2022-04-24   2022-04-24 asketball/golden-state-jordan-poole.html    Added And at Last Good Health               By Scott Cacciola             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/24/style/vi
2022-04-24   2022-04-24 ntage-skates-and-graffiti-jackets.html      Vintage Skates Roll in the City             By Denny Lee                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/24/us/alab For Alabamas Only Gay Lawmaker a Political
2022-04-24   2022-04-24 ama-transgender-neil-rafferty.html          Defeat Was Deeply Personal                  By Tariro Mzezewa             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/24/us/polit He Fuels Cultural Fires For the Right in
2022-04-24   2022-04-24 ics/christopher-rufo-crt-lgbtq-florida.html Florida                                     By Trip Gabriel               TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/19/travel/
2022-04-19   2022-04-25 winslow-homer-in-homosassa-florida.html     Winslow Homers Florida Inspiration and Bass By Geraldine Fabrikant        TX 9-169-611    2022-06-01



                                                                              Page 3667 of 5793
                        https://www.nytimes.com/2022/04/20/busines Workers Face Sticker Shock As They Return
2022-04-20   2022-04-25 s/return-to-office-inflation-covid.html      to the Office                               By Emma Goldberg                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/travel/b
2022-04-20   2022-04-25 udget-travel-inflation.html                  Affordable Travel Even With Inflation       By Elaine Glusac                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/technol
2022-04-21   2022-04-25 ogy/youtube-rabbit-hole.html                 Rethinking the YouTube Rabbit Hole          By Shira Ovide                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/arts/mu                                               By Joshua Barone and Zachary
2022-04-22   2022-04-25 sic/jack-danish-string-quartet.html          One Night Several String Quartet Premieres Woolfe                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/arts/ran Randy Rainbow Rises in All His Sparkly
2022-04-22   2022-04-25 dy-rainbow-book.html                         Glory                                       By Judith Newman                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/arts/tele
                        vision/gaslit-julia-roberts-martha-
2022-04-22   2022-04-25 mitchell.html                                Empathy for a Watergate Casualty            By Julia Jacobs                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/fashion Here to Help Vanessa Friedman Answers
2022-04-22   2022-04-25 /spring-wardrobe-reboot-closet.html          Your Style Questions                        By Vanessa Friedman             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/opinion
2022-04-22   2022-04-25 /russian-artists-culture-boycotts.html       Russian Artists Arent the Problem           By Kevin MF Platt               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/busines
2022-04-23   2022-04-25 s/exxon-pride-flag.html                      Exxon Bans Outside Flags From Its Flagpoles By Ivan Penn                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/us/merr
2022-04-23   2022-04-25 iam-webster-threats-lgbtq.html               Gender Definitions Engender Threats         By Alyssa Lukpat                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/arts/des Sonia Boyce Wins Top Prize at Venice
2022-04-23   2022-04-25 ign/sonia-boyce-venice-biennale.html         Biennale                                    By Farah Nayeri                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/busines Remote Work Helps Tech Companies Outside
2022-04-23   2022-04-25 s/dealbook/remote-work-tech.html             the Valley                                  By Sarah Kessler                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/opinion Welcome to the Disorderly Dangerous World
2022-04-23   2022-04-25 /oil-gas-energy-prices-russia-ukraine.html   of Costly Oil and Gas                       By Helen Thompson               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/sports/b
2022-04-23   2022-04-25 oston-marathon-markelle-taylor.html          The FreeandEasy Strides of the Gazelle      By Patricia Leigh Brown         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/us/polit Orrin Hatch SevenTerm Senator and a
2022-04-24   2022-04-25 ics/orrin-hatch-dead.html                    Republican Force Dies at 88                 By Robert D McFadden            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/arts/mu
2022-04-24   2022-04-25 sic/lucia-di-lammermoor-met-opera.html       Moving the Madness to Today                 By Zachary Woolfe               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/arts/tele
2022-04-24   2022-04-25 vision/we-own-this-city-review.html          Baltimore Policing Rewired and Updated      By James Poniewozik             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/busines
                        s/akihiko-kondo-fictional-character-         In Dolls and Cartoons Devoted Fans in Japan
2022-04-24   2022-04-25 relationships.html                           See Marriage Material                       By Ben Dooley and Hisako Ueno   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/busines Jim Hartz NBC Newsman and Former Today
2022-04-24   2022-04-25 s/media/jim-hartz-dead.html                  Show CoHost Is Dead at 82                   By Anita Gates                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/movies/ Putin Critic Speaks Truth to Power and Pays
2022-04-24   2022-04-25 navalny-review.html                          the Price                                   By Ben Kenigsberg               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/nyregio Adams Plans 171 Million in Services to Get
2022-04-24   2022-04-25 n/eric-adams-homeless-services.html          Homeless People Off Streets                 By Grace Ashford                TX 9-169-611   2022-06-01




                                                                               Page 3668 of 5793
                        https://www.nytimes.com/2022/04/24/nyregio                                                 By Emma G Fitzsimmons and
2022-04-24   2022-04-25 n/firefighter-dead-brooklyn.html              2 Die Including Firefighter in Brooklyn Fire Ashley Southall                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/opinion At 63 Shes the Worlds Fastest and Fueled by
2022-04-24   2022-04-25 /culture/no-regrets-mariko-yugeta.html        Regret                                       By Lindsay Crouse                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/opinion
2022-04-24   2022-04-25 /lived-experience-empathy-culture.html        The Limits of Lived Experience               By Pamela Paul                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/sports/b The Giants Are Writing New Rules of Their
2022-04-24   2022-04-25 aseball/brandon-belt-giants.html              Own                                          By Tyler Kepner                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/sports/b
                        aseball/yankees-sweep-cleveland-guardians- A Rebound for Cole And an Offensive Surge
2022-04-24   2022-04-25 gerrit-cole.html                              Make for a 1st Sweep                         By Gary Phillips                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/sports/b Nets Need a Miracle But Theyre Stumbling
2022-04-24   2022-04-25 asketball/nets-celtics-kevin-durant.html      Over Their Own Feet                          By Scott Cacciola                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/sports/t
2022-04-24   2022-04-25 yson-fury-vs-white-knockout.html              Furys Win Is Decisive Talk About Future Isnt By Morgan Campbell               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/technol Twitter Board Gets Serious About Musks          By Lauren Hirsch Mike Isaac and
2022-04-24   2022-04-25 ogy/twitter-board-elon-musk.html              Takeover Bid                                 Kate Conger                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/us/miss Texas Soldier Who Is Missing Near Border Is
2022-04-24   2022-04-25 ing-texas-national-guard-soldier.html         Identified                                   By Giulia Heyward                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/us/polit
                        ics/climate-activist-self-immolation-supreme- Activist Dies After Lighting Himself on Fire
2022-04-24   2022-04-25 court.html                                    In the Capital                               By Chris Cameron                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/us/polit The Winding Road of WashingtonKyiv             By Lara Jakes Edward Wong and
2022-04-24   2022-04-25 ics/russia-ukraine-diplomacy.html             Relations                                    Michael Crowley                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/us/wild Wildfires Burn More Than 150000 Acres in By Jesus Jimnez and Farah
2022-04-24   2022-04-25 fires-arizona-new-mexico.html                 Three States                                 Eltohamy                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/world/a Militia Fighters Kill at Least 150 in Attack in
2022-04-24   2022-04-25 frica/sudan-darfur-janjaweed.html             Darfur Region of Sudan                       By Declan Walsh                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/world/a                                                 By Hannah Beech Abdi Latif Dahir
2022-04-24   2022-04-25 sia/cold-war-ukraine.html                     More Nations Straddle Sides This Cold War and Oscar Lopez                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/world/a Modi in Restive Region Trumpets Green
2022-04-24   2022-04-25 sia/modi-kashmir-india.html                   Energy                                       By Sameer Yasir                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/world/e Top US Officials Journey To Kyiv To Visit By Andrew E Kramer and Natalie
2022-04-24   2022-04-25 urope/blinken-austin-ukraine-visit.html       Zelensky                                     Kitroeff                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/world/e
                        urope/french-election-results-macron-le-      In France Macron Defeats Le Pen for
2022-04-24   2022-04-25 pen.html                                      Presidency                                   By Roger Cohen                   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/24/world/e Family of 6 Walks for Days To Escape
2022-04-24   2022-04-25 urope/mariupol-ukraine-family-escape.html Mariupol Siege                                By Jane Arraf                     TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/24/world/e
2022-04-24   2022-04-25 urope/mother-baby-odesa-missile-attack.html Russian Missile Kills Mother and Infant     By Cora Engelbrecht               TX 9-169-611     2022-06-01




                                                                                 Page 3669 of 5793
                        https://www.nytimes.com/2022/04/24/world/
2022-04-24   2022-04-25 middleeast/cairo-city-of-dead-cemetery.html Lives Upended In the City of the Dead      By Vivian Yee                     TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/24/world/s
2022-04-24   2022-04-25 lovenia-election-results-janez-jansa.html   Slovenia Vote Is New Setback For Far Right By Andrew Higgins                 TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/25/us/polit
2022-04-24   2022-04-25 ics/evangelical-churches-trump-election.html The StolenElection Falsehood Goes to Church By Charles Homans                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/article/disney-      Floridas Fight With Disney Has Been
2022-04-24   2022-04-25 florida-desantis.html                        Brewing for Years                           By Jesus Jimnez and Brooks Barnes TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/theater/
2022-04-25   2022-04-25 funny-girl-review.html                       A Hard Act To Follow                        By Jesse Green                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/arts/tele
2022-04-25   2022-04-25 vision/tv-we-own-this-city-nfl-draft.html    This Week on TV                             By Lauren Hard                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/busines
                        s/energy-environment/warren-buffett-climate- Climate Activists Renew Push for Buffett to
2022-04-25   2022-04-25 change.html                                  Do More                                     By Peter Eavis                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/insider/
2022-04-25   2022-04-25 crisis-actors-russia-ukraine.html            Where Have I Heard That Before              By Elizabeth Williamson           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/sports/b
2022-04-25   2022-04-25 asketball/lakers-nba-playoffs.html           Heaven Knows We Need The Lakers             By Kurt Streeter                  TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/25/sports/b Despite the Long Absence of a Star the
2022-04-25   2022-04-25 asketball/suns-pelicans-zion-williamson.html Pelicans Are Finding Their Way            By David Gardner                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/25/us/polit With Cautious Steps Garland Finds His
2022-04-25   2022-04-25 ics/merrick-garland-attorney-general.html    Footing                                   By Katie Benner                   TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/25/us/publ Transit Crime Threatens Covid Rebound in By Julie Bosman Sophie Kasakove
2022-04-25   2022-04-25 ic-transit-crime.html                       Cities                                      Jill Cowan and Richard Fausset TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/02/28/travel/p In Search of Panamas Elusive Spider
2022-02-28   2022-04-26 anama-azuero-spider-monkeys.html            Monkeys                                     By Matt Stirn                  TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/07/science Locking Horns On the Neck of Triceratops
2022-04-07   2022-04-26 /big-john-triceratops.html                  Clear Evidence of an InHouse Altercation    By Jack Tamisiea               TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/09/science Conventional Fliers These Birds Form a
2022-04-09   2022-04-26 /cranes-trio-throuple.html                  Threesome But Probably Not a Throuple       By Elizabeth Preston           TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/11/science
                        /bioluminescence-photographers-new-         Photographers Chase New Zealands Glowing
2022-04-11   2022-04-26 zealand.html                                Waves                                       By Mike Ives                   TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/13/science
2022-04-13   2022-04-26 /bats-bullies-slap.html                     This Bat Is Starring In His Own Action Film By Sabrina Imbler              TX 9-169-611       2022-06-01
                                                                    Introducing c2014 un271
                        https://www.nytimes.com/2022/04/14/science bernardinellibernstein Hubble Spots a Big
2022-04-14   2022-04-26 /biggest-comet-hubble.html                  Comet With an Even Bigger Name              By Robin George Andrews        TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/14/science Overcast Skies Why a Roof Over Your Head
2022-04-14   2022-04-26 /birds-nests-domes.html                     Isnt Always for the Birds                   By Rebecca Dzombak             TX 9-169-611       2022-06-01



                                                                                 Page 3670 of 5793
                        https://www.nytimes.com/2022/04/15/science Military Memo Adds Intrigue to Meteor
2022-04-15   2022-04-26 /interstellar-meteor-debate.html             Mystery                                       By Joey Roulette                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/15/well/mi
2022-04-15   2022-04-26 nd/love-brain.html                           Love Ignites Fireworks That Change the Brain By Hope Reese                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/19/busines
2022-04-19   2022-04-26 s/japan-covid-work.html                      Job for Life Loses Appeal For Japanese        By Malcolm Foster                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/arts/des
2022-04-20   2022-04-26 ign/laura-mattioli-cima-italian-art.html     Inside an Heiresss SoHo Art Salon             By Joseph Giovannini             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/20/well/eat
2022-04-20   2022-04-26 /tiktok-gut-health.html                      Gut Healing Captivates TikTok                 By Dani Blum                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/article/allergies-
2022-04-21   2022-04-26 symptoms-season.html                         Allergy Season Is About to Get Worse          By Knvul Sheikh                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/well/an
2022-04-22   2022-04-26 tidepressants-ssri-effectiveness.html        Studies of Depression Weigh Efficacy of Pills By Melinda Wenner Moyer          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/theater/ Tony Award Nominations Are Postponed
2022-04-22   2022-04-26 tony-awards-schedule-coronavirus.html        Until May 9                                   By Michael Paulson               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/us/laura Laura Hales 54 Examined Her Churchs Tough
2022-04-22   2022-04-26 hales-dead.html                              Issues                                        By Neil Genzlinger               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/arts/her Hermann Nitsch an Artist With Guts as Well
2022-04-23   2022-04-26 mann-nitsch-dead.html                        as Blood Dies at 83                           By Penelope Green                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/health/a How Ageism Can Take Years Off Seniors
2022-04-23   2022-04-26 geism-levy-elderly.html                      Lives                                         By Paula Span                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/nyregio Chinatown Civic Groups Hold On to Hold          By Elaine Chen Stefanos Chen and
2022-04-23   2022-04-26 n/chinatown-new-york-real-estate.html        Off Developers                                Jingyu Lin                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/interactive/2022/04/
                        22/us/frederick-law-olmsted-american-                                                      By Ruth Fremson and Audra D S
2022-04-23   2022-04-26 parks.html                                   Olmsteds Enduring Gift                        Burch                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/arts/dan
                        ce/review-pam-tanowitz-new-york-city-
2022-04-24   2022-04-26 ballet.html                                  Bending Rituals at City Ballet                By Siobhan Burke                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/arts/mu
2022-04-24   2022-04-26 sic/joyce-didonato-eden-review.html          A MezzoSoprano Sets a Lofty New Goal          By Oussama Zahr                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/movies/
2022-04-24   2022-04-26 aaron-blabey-the-bad-guys.html               Shady Characters Save a Late Bloomer          By Cat Woods                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/science The Workings of the Multiverse Latest
2022-04-24   2022-04-26 /scheinert-kwan-film-multiverse.html         Version                                       By Dennis Overbye                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/24/world/a Beijing Covid Outbreak Prompts a Testing        By Keith Bradsher and Chris
2022-04-25   2022-04-26 sia/covid-beijing-shanghai.html              Order For Nearly All Residents                Buckley                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/arts/des A Tiny Bront Book Sold for 125 Million to
2022-04-25   2022-04-26 ign/charlotte-bronte-book-of-rhymes.html     Return to Northern England                    By Jennifer Schuessler           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/arts/joh Depp Witness Describes Scene of Glass and By Julia Jacobs and Colin
2022-04-25   2022-04-26 nny-depp-amber-heard-trial.html              Blood After Couples 2015 Fight                Moynihan                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/arts/jon- Political Satirist Stewart Wins the Twain
2022-04-25   2022-04-26 stewart-mark-twain-prize.html                Prize for Humor                               By Aishvarya Kavi                TX 9-169-611   2022-06-01




                                                                                Page 3671 of 5793
                        https://www.nytimes.com/2022/04/25/arts/mu Chris Bailey 65 a Snarling Frontman Who
2022-04-25   2022-04-26 sic/chris-bailey-dead.html                 Introduced Australia to Punk Rock          By Clay Risen                     TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/25/books/r
2022-04-25   2022-04-26 eview-premonitions-bureau-sam-knight.html Trying to Crowdsource the Supernatural        By Dwight Garner                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/busines Union Vote Begins at Another Staten Island By Noam Scheiber and Coral
2022-04-25   2022-04-26 s/amazon-union-staten-island.html           Amazon Site                                 Murphy Marcos                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/busines
2022-04-25   2022-04-26 s/china-covid-zero-economy.html             Lockdowns Revive Fears Of Scarcity          By Li Yuan                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/busines Looming Restrictions In Beijing Are Fueling
2022-04-25   2022-04-26 s/china-supply-chain-covid.html             Supply Chain Worries                        By Ana Swanson                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/busines
2022-04-25   2022-04-26 s/elon-musk-twitter-trump-return.html       Four Ways Musk Might Alter Twitter          By Melina Delkic                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/busines Nunes Adds Members To Trump Media
2022-04-25   2022-04-26 s/trump-media-truth-social.html             Board                                       By Matthew Goldstein              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/nyregio
                        n/trump-investigation-letitia-james-        New York Judge Finds Trump to Be in         By Jonah E Bromwich Ben Protess
2022-04-25   2022-04-26 contempt.html                               Contempt                                    and William K Rashbaum            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/opinion Remember Back When McCarthy Had Had It
2022-04-25   2022-04-26 /biden-trump-mccarthy-desantis.html         With Trump                                  By Gail Collins and Bret Stephens TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/opinion Twitter Under Elon Musk Will Be a Scary
2022-04-25   2022-04-26 /editorials/twitter-elon-musk.html          Place                                       By Greg Bensinger                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/opinion
                        /republicans-florida-disney-conspiracy-
2022-04-25   2022-04-26 theories.html                               DeSantis Disney and Democracy               By Paul Krugman                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/science
2022-04-25   2022-04-26 /time-second-measurement.html               A New Improved Second                       By Alanna Mitchell                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/sports/s
                        occer/villarreal-liverpool-champions-
2022-04-25   2022-04-26 league.html                                 Smart Shopping Is Paying Off For Villarreal By Rory Smith                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/technol Musk Reaches Deal for Twitter Pledging
2022-04-25   2022-04-26 ogy/musk-twitter-sale.html                  Fewer Limits                                By Mike Isaac and Lauren Hirsch TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/25/technol As Takeover Starts to Sink In Twitter
2022-04-25   2022-04-26 ogy/twitter-employees-elon-musk.html        Workers Seek Answers                        By Kate Conger                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/travel/                                              By Heather Murphy and Charlie
2022-04-25   2022-04-26 mask-mandate-overturn.html                  Who Ended Mask Rule Four People             Savage                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/us/john- Men Appeal Convictions Over Bribes To
2022-04-25   2022-04-26 wilson-varsity-blues-scandal.html           Colleges                                    By Stephanie Saul                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/us/meli Reprieve for Mother Convicted of Killing
2022-04-25   2022-04-26 ssa-lucio-execution-texas.html              Child in Texas                              By J David Goodman                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/us/polit
                        ics/kansas-congressional-map-               Kansas Court Rejects Congressional Map As
2022-04-25   2022-04-26 unconstitutional.html                       a Partisan and Racial Gerrymander           By Michael Wines                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/us/polit L McCrae Dowless Jr Operative in a Scandal
2022-04-25   2022-04-26 ics/l-mccrae-dowless-dead.html              Over Ballots Dies at 66                     By Clay Risen                     TX 9-169-611   2022-06-01



                                                                               Page 3672 of 5793
                        https://www.nytimes.com/2022/04/25/us/polit Supreme Court Allows New Admissions
2022-04-25   2022-04-26 ics/supreme-court-admissions-race.html      Rules for Elite Virginia High School          By Adam Liptak                       TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/25/us/polit In School Prayer Case Justices Seem to Lean
2022-04-25   2022-04-26 ics/supreme-court-prayer-football-coach.html Toward Former Coach                        By Adam Liptak                         TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/25/us/polit New US Ambassador to Ukraine Would Take By Michael Crowley and Edward
2022-04-25   2022-04-26 ics/ukraine-ambassador-embassy-biden.html On a Dangerous Post                                Wong                              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/us/polit
2022-04-25   2022-04-26 ics/ukraine-russia-us-dynamic.html           Hint of a More Direct Confrontation             By David E Sanger                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/us/title- Judge Retains Health Rule That Turns Away By Miriam Jordan and Eileen
2022-04-25   2022-04-26 42-migrants-biden-border.html                Migrants                                        Sullivan                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/us/ukra Seeking Arms for Ukraine Pentagon Buyers
2022-04-25   2022-04-26 ine-pentagon-arms-buyers.html                Scour Eastern European Plants                   By John Ismay and Eric Schmitt    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/world/e
                        urope/emmanuel-macron-france-reelection- Bowing to Voters Message Leader Plans
2022-04-25   2022-04-26 reinvention.html                             Reinvention                                     By Roger Cohen                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/world/e With Win Macron Becomes Most Influential
2022-04-25   2022-04-26 urope/macron-le-pen-orban.html               Voice in EU                                     By Steven Erlanger                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/world/e Russia Congratulates Macron Though Many
2022-04-25   2022-04-26 urope/putin-macron-french-election.html      Favored Rival                                   By Ivan Nechepurenko              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/world/e Russian Oil Depots Burn In Region Near            By Ivan Nechepurenko and Austin
2022-04-25   2022-04-26 urope/russian-oil-facility-fire-ukraine.html Ukraine                                         Ramzy                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/world/e
                        urope/turkey-court-conviction-osman-kavala-
2022-04-25   2022-04-26 mucella-yapici.html                          Turkish Activist Is Sentenced to Life in Prison By Safak Timur and Elif Ince      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/world/e US Vows to Dull Russias Capacity to Act           By Marc Santora John Ismay and
2022-04-25   2022-04-26 urope/ukraine-russia-war-us.html             Militarily                                      Rick Gladstone                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/world/e We Stay in Kyiv and We Fight A Turn in
2022-04-25   2022-04-26 urope/ukraine-zelenksy-government.html       Ukraines Politics                               By Andrew E Kramer                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/26/wo
                        rld/ukraine-russia-war-news/working-on-the-
2022-04-25   2022-04-26 railroad-when-the-railroad-is-a-target       Trains Are Targets and Workers Feel Toll        By Jane Arraf                     TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/25/arts/tele
2022-04-26   2022-04-26 vision/pamela-adlon-better-things-finale.html Her Show Changed She Did Too                By Alexis Soloski                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/opinion
2022-04-26   2022-04-26 /reactionary-new-right.html                   The Awful Advent of Reactionary Chic        By Michelle Goldberg                 TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/25/sports/b The Nets Had a Superteam In the End Boston
2022-04-26   2022-04-26 asketball/nets-eliminated-celtics-sweep.html Has a Superior Team                       By Scott Cacciola                       TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/25/theater/
2022-04-26   2022-04-26 skin-of-our-teeth-review-lincoln-center.html A Lush Party For the End Of the World        By Alexis Soloski                    TX 9-169-611   2022-06-01




                                                                                  Page 3673 of 5793
                        https://www.nytimes.com/2022/04/26/insider/
2022-04-26   2022-04-26 frederick-law-olmsted-legacy.html           In Search of an Architects Vision          By Ruth Fremson           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/science
2022-04-26   2022-04-26 /morel-mushrooms-growing.html               The Indoor Prospects Of a Prized Mushroom By Alla Katsnelson         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/sports/b
                        asketball/tee-morant-karl-towns-grizzlies-  While Their Sons Play Hard on Court They
2022-04-26   2022-04-26 timberwolves.html                           Play It for Laughs in the Seats            By Tania Ganguli          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/technol New Gatekeeper Same Issue Balancing
2022-04-26   2022-04-26 ogy/twitter-elon-musk-free-speech.html      Freedom and Harm                           By Shira Ovide            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/well/eat
2022-04-26   2022-04-26 /carbs-sugar-headaches-migraines.html       Why Do Carbs Give Me Headaches             By Alice Callahan         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/world/a
                        mericas/kenneth-roth-human-rights-          Lawyer Resigns as Head Of Human Rights
2022-04-26   2022-04-26 watch.html                                  Group                                      By Aina J Khan            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/article/nfl-draft-  A Las Vegas Show That Will Shape Teams
2022-04-26   2022-04-26 2022.html                                   Futures                                    By Emmanuel Morgan        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/04/travel/s Transfixed by the Beauty of Starling
2022-04-04   2022-04-27 tarling-murmurations.html                   Murmurations                               By Sren Solkr             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/arts/mu
2022-04-21   2022-04-27 sic/kae-tempest-the-line-is-a-curve.html    A Journey Toward Connection                By Imogen WestKnights     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/dining/
2022-04-21   2022-04-27 drinks/wine-school-corsican-reds.html       Explore the Identity of Corsican Reds      By Eric Asimov            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/21/dining/
                        drinks/wine-school-lesson-maconnais-white-
2022-04-21   2022-04-27 burgundy.html                               Fine White Burgundies                      By Eric Asimov            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/books/r
                        eview-palace-papers-house-of-windsor-tina-
2022-04-22   2022-04-27 brown.html                                  Keeping Up With the Royal Intrigue         By Alexandra Jacobs       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/dining/
2022-04-22   2022-04-27 pavlova-recipe-meringue.html                The Pavlova Begs For Improvisation         By Eric Kim               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/dining/
2022-04-22   2022-04-27 spring-risotto.html                         Psst You Can Stop Stirring That Risotto    By Melissa Clark          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/movies/
2022-04-22   2022-04-27 jim-broadbent-the-duke.html                 Another Quirky Role for a Consummate Actor By Simran Hans            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/22/movies/
2022-04-22   2022-04-27 panah-panahi-hit-the-road.html              The Son Finds His Own Success              By Carlos Aguilar         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/arts/mu Denouncing War Ukrainian Musicians Unite
2022-04-25   2022-04-27 sic/ukrainian-musicians-world-tour.html     for a Tour                                 By Javier C Hernndez      TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/25/busines                                           By Jeanna Smialek and Ben
2022-04-25   2022-04-27 s/economy/us-global-inflation-response.html Same Relief Goal Different Costs         Casselman                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/dining/
2022-04-25   2022-04-27 allan-benton-bacon-ramps.html               Foraging With an Appalachian Legend      By Brett Anderson           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/dining/
2022-04-25   2022-04-27 haribo-gummy-bear.html                      The Gummy Bears Sweet Nostalgia          By Mahira Rivers            TX 9-169-611   2022-06-01



                                                                               Page 3674 of 5793
                        https://www.nytimes.com/2022/04/25/dining/j James Hemings Society Founder Discusses
2022-04-25   2022-04-27 ames-hemings-africa-center.html              Legacy                                      By Florence Fabricant      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/dining/j
2022-04-25   2022-04-27 ibneh-kasbos-market.html                     Kasbos Market Offers A Seasoned Jibneh      By Florence Fabricant      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/dining/ Shaver Attachment Adds Versatility to Your
2022-04-25   2022-04-27 kitchenaid-ice-shaver.html                   Mixer                                       By Florence Fabricant      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/dining/l Collaboration Produces This Kumquat
2022-04-25   2022-04-27 a-boite-kumquat-compote.html                 Compote                                     By Florence Fabricant      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/dining/
2022-04-25   2022-04-27 parcelle-wine-rose-wine.html                 The Season for Ros Is Around the Corner     By Florence Fabricant      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/dining/ Everyday Italian Recipes From Serafina
2022-04-25   2022-04-27 serafina-cookbook.html                       Restaurants                                 By Florence Fabricant      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/dining/t
2022-04-25   2022-04-27 una-salad-sandwich-chips.html                A Textural Concert With a Crunchy Chorus By J Kenji LpezAlt            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/opinion
                        /ivory-billed-woodpecker-environment-
2022-04-25   2022-04-27 hope.html                                    The Second Coming of the Lord God Bird      By Margaret Renkl          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/opinion Putin Is Feeding 5 Dangerous Fictions to
2022-04-25   2022-04-27 /putin-russia-conspiracy-theories.html       Russians                                    By Ilya Yablokov           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/theater/ Library of Congress Acquires Neil Simons
2022-04-25   2022-04-27 neil-simon-archives.html                     Papers                                      By Sarah Bahr              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/us/polit US Releases Details of Plan To Ease Entry By
2022-04-26   2022-04-27 ics/americans-sponsor-ukrainians.html        Ukrainians                                  By Chris Cameron           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/arts/dan
2022-04-26   2022-04-27 ce/sasha-waltz-in-c-bam.html                 Choreography and Improvisation Unite        By AJ Goldmann             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/arts/mu Carnegie Hall Will Return At Full Scale This
2022-04-26   2022-04-27 sic/carnegie-2022-2023-season.html           Fall                                        By Javier C Hernndez       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/arts/nft-
2022-04-26   2022-04-27 zigazoo-qai-qai.html                         Does Your Preschooler Need to Buy NFTs      By Amanda Hess             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/automo Ford Racing to Catch Tesla Has Made 2000
2022-04-26   2022-04-27 biles/ford-electric-f150-lightning.html      Electric Trucks                             By Neal E Boudette         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/automo GMs Profits Dip 3 Percent Amid Computer
2022-04-26   2022-04-27 biles/gm-profits-chip-shortage.html          Chip Issues                                 By Neal E Boudette         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/busines Fidelity to Offer Bitcoin As Part of 401k
2022-04-26   2022-04-27 s/crypto-401k-fidelity.html                  Plans                                       By Tara Siegel Bernard     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/busines
2022-04-26   2022-04-27 s/economy/jobs-wall-street.html              Hot Job Market Is a Problem for Wall Street By Talmon Joseph Smith     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/busines Brainard Is Confirmed As Vice Chair of the By Jeanna Smialek and Emily
2022-04-26   2022-04-27 s/economy/lael-brainard-fed.html             Fed                                         Cochrane                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/busines
                        s/energy-environment/oil-us-europe-          Oil Companies Awash in Profit Fear Opening
2022-04-26   2022-04-27 russia.html                                  Spigot for Europe                           By Clifford Krauss         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/busines Geraldine Weiss Who Blazed Trail For
2022-04-26   2022-04-27 s/geraldine-weiss-dead.html                  Women in Investing Dies at 96               By Robert D Hershey Jr     TX 9-169-611   2022-06-01




                                                                              Page 3675 of 5793
                        https://www.nytimes.com/2022/04/26/busines Sheriff Accused of CoverUp Investigates
2022-04-26   2022-04-27 s/media/sheriff-la-times-reporter.html      Reporter                                     By Katie Robertson               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/busines
                        s/pepsico-fritolay-quarter-revenues-
2022-04-26   2022-04-27 prices.html                                 PepsiCos Revenues Rise After Price Increases By Julie Creswell                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/busines
                        s/prefabrication-construction-supply-
2022-04-26   2022-04-27 chain.html                                  Your BrandNew Bathroom Built Off Site        By Julie Weed                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/busines
2022-04-26   2022-04-27 s/russia-nuclear-power-europe.html          A NuclearPowered Europe Not So Fast          By Liz Alderman and Stanley Reed TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/busines Shanghai Residents Bend Lockdown Rules to By Alexandra Stevenson Amy
2022-04-26   2022-04-27 s/shanghai-volunteers-covid.html            Help One Another                             Chang Chien and Isabelle Qian    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/busines
2022-04-26   2022-04-27 s/stock-market-today.html                   Stocks Face Worst Month In Two Years         By Coral Murphy Marcos           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/busines Only the Money Mattered In Selling Twitter
2022-04-26   2022-04-27 s/twitter-elon-musk-board.html              to Musk                                      By James B Stewart               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/climate
2022-04-26   2022-04-27 /biden-incandescent-led-light-bulb.html     Lights Out On Old Type Of Bulbs              By Hiroko Tabuchi                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/dining/ Kono Yakitori From an Expert Opens in
2022-04-26   2022-04-27 nyc-restaurant-openings.html                Manhattans Chinatown                         By Florence Fabricant            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/dining/
2022-04-26   2022-04-27 vietnamese-fast-food.html                   A Window to Success Swings Open              By Priya Krishna                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/health/c
2022-04-26   2022-04-27 oronavirus-antibodies-americans-cdc.html    60 of Nation Has Had Virus CDC Reports       By Apoorva Mandavilli            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/nyregio 43Year High In Assaults Against Jews In
2022-04-26   2022-04-27 n/antisemitic-attacks-new-york.html         New York                                     By Liam Stack                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/nyregio In State of City Speech Adams Offers a
2022-04-26   2022-04-27 n/eric-adams-crime-homeless.html            Vision for Recovery                          By Emma G Fitzsimmons            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/nyregio An Unvaccinated Police Sergeant Who Nearly
2022-04-26   2022-04-27 n/police-vaccine-nj.html                    Died of Covid Has a Message                  By Tracey Tully                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/nyregio Democrats Appeal Ruling That Voided
2022-04-26   2022-04-27 n/redistricting-court-appeals-ny.html       District Maps                                By Nicholas Fandos               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/opinion
2022-04-26   2022-04-27 /france-biden-immigration.html              French Lessons for the Biden Administration By Bret Stephens                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/opinion A Nameless Soldier a Soulless Leader And a
2022-04-26   2022-04-27 /kevin-mccarthy-putin-ukraine-war.html      Shameless Politician                         By Thomas L Friedman             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/sports/b                                              By Tania Ganguli and Scott
2022-04-26   2022-04-27 asketball/nets-lakers-nba-playoffs.html     Superteams More Like Super Flops             Cacciola                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/sports/n
2022-04-26   2022-04-27 caa-mark-emmert.html                        President Will Leave NCAA In 2023            By Alan Blinder                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/sports/s A Convincing Win Is Anything but
2022-04-26   2022-04-27 occer/manchester-city-real-madrid.html      Convincing                                   By Rory Smith                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/technol
2022-04-26   2022-04-27 ogy/google-alphabet-earnings-profit.html    Alphabets Profit Drops as Ad Growth Slows By Daisuke Wakabayashi              TX 9-169-611   2022-06-01




                                                                               Page 3676 of 5793
                        https://www.nytimes.com/2022/04/26/technol
2022-04-26   2022-04-27 ogy/kevin-hart-hartbeat.html                Big Stars Media Companies Draw Big Money By Benjamin Mullin                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/26/technol
2022-04-26   2022-04-27 ogy/microsoft-earnings-profit.html          Microsoft Records Rising Sales and Profits By Karen Weise                    TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/26/us/harv Harvard Creates Fund to Redress Its
2022-04-26   2022-04-27 ard-slavery-redress-fund.html               Complicity to Slavery                      By Anemona Hartocollis            TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/26/us/polit Busloads Sent to Squeeze Biden Arrive to   By Eileen Sullivan and Edgar
2022-04-26   2022-04-27 ics/abbott-immigration-texas-dc-biden.html Open Arms                                   Sandoval                          TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/26/us/polit Biden Pardons 3 and Commutes 75 Terms
2022-04-26   2022-04-27 ics/biden-pardons.html                      With First Clemency Push                   By Zolan KannoYoungs              TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/26/us/polit Youngest in Guantnamo Is Cleared to Be
2022-04-26   2022-04-27 ics/gitmo-youngest-detainee.html            Released                                   By Carol Rosenberg                TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/26/us/polit GOP Lawmakers Bolstered Plans to Keep      By Luke Broadwater and Alan
2022-04-26   2022-04-27 ics/jan-6-texts-mark-meadows.html           Trump in Office                            Feuer                             TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/26/us/polit
2022-04-26   2022-04-27 ics/jan-6-trial-thomas-webster.html         Trial Begins for Retired NYPD Officer      By Alan Feuer                     TX 9-169-611     2022-06-01

                        https://www.nytimes.com/2022/04/26/us/polit Vice President Tests Positive for the
2022-04-26   2022-04-27 ics/kamala-harris-positive-coronavirus.html Coronavirus                                  By Peter Baker and Aishvarya Kavi TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/us/polit Police Accuse Lawmaker Of Trying to Fly
2022-04-26   2022-04-27 ics/madison-cawthorn-gun-airport.html       With Gun                                     By Neil Vigdor                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/us/polit McCarthy Raised Alarm About GOP              By Alexander Burns and Jonathan
2022-04-26   2022-04-27 ics/mccarthy-republican-lawmakers.html      Colleagues                                   Martin                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/us/polit Senate Race in Ohio a Rancorous Test of
2022-04-26   2022-04-27 ics/ohio-senate-race-trump.html             Trumps Pull                                  By Maggie Haberman                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/us/polit
2022-04-26   2022-04-27 ics/paxlovid-test-to-treat.html             Plenty of Covid Pills Not Many Prescriptions By Noah Weiland                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/us/polit Supreme Court Struggles Over Bid to End
2022-04-26   2022-04-27 ics/supreme-court-remain-in-mexico.html     Remain in Mexico Program                     By Adam Liptak                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/world/a
                        sia/brownface-barrack-okarma-1968-hong-     Actress in Brownface Plays a Filipino
2022-04-26   2022-04-27 kong.html                                   Drawing Outrage and Shrugs in Hong Kong By Tiffany May                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/world/a Beijing Begins Testing Most Residents in
2022-04-26   2022-04-27 sia/china-covid-beijing-shanghai.html       Hopes of Avoiding a Lockdown                 By Keith Bradsher                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/world/a North Korean Leader Boasts of Nuclear
2022-04-26   2022-04-27 sia/north-korea-military-parade-kim.html    Arsenal and Threatens to Use It              By Choe SangHun                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/world/e
                        urope/angela-rayner-boris-johnson-the-mail- Riddled With Misogyny Claim From British By Stephen Castle and Megan
2022-04-26   2022-04-27 on-sunday.html                              Lawmaker Ignites Furor                       Specia                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/world/e
                        urope/french-presidential-election-le-pen-  Macron Won Convincingly but Le Pens          By Norimitsu Onishi and Constant
2022-04-26   2022-04-27 macron.html                                 Supporters Remain Restless                   Mheut                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/world/e Terror in Frontline Villages Under Constant By Michael Schwirtz and Lynsey
2022-04-26   2022-04-27 urope/front-line-town-orikhiv.html          Fire                                         Addario                           TX 9-169-611   2022-06-01




                                                                                Page 3677 of 5793
                        https://www.nytimes.com/2022/04/26/world/e
                        urope/russia-ukraine-war-germany-            US Pushes Allies for Ukraine Arms as War By John Ismay Christopher F
2022-04-26   2022-04-27 weapons.html                                 Escalates                                      Schuetze and Michael Levenson   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/world/ Baking Challah in Dubai Opening Doors for a By Mona ElNaggar and The New
2022-04-26   2022-04-27 middleeast/dubai-jewish-community.html       Jewish Community                               York Times                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/article/long-covid- Vaccines Might Blunt The Risk of Long
2022-04-26   2022-04-27 vaccines.html                                Covid                                          By Pam Belluck                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/sports/b
2022-04-27   2022-04-27 aseball/mlb-yankees-letter.html              Yankees Stole Signs According To MLB           By James Wagner                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/sports/b A Season That Felt Both Long And Short Is
2022-04-27   2022-04-27 asketball/nets-photos.html                   Over                                           By Jonathan Abrams              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/theater/
2022-04-27   2022-04-27 a-strange-loop-review-broadway.html          On a Mental MerryGoRound                       By Maya Phillips                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/sports/f Lineman Checklist Quick Nimble Can Still
2022-04-27   2022-04-27 ootball/nfl-draft-ikem-ekwonu.html           Flatten Defenders                              By Robert OConnell              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/09/well/he Here to Help Ways to Improve Heart Health
2022-04-09   2022-04-28 art-health-after-covid.html                  After Covid                                    By Knvul Sheikh                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/nyregio With Rise in Shootings a Wave of Grief for
2022-04-25   2022-04-28 n/nyc-gun-violence-children.html             New Yorks Children                             By Troy Closson                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/opinion Voters Havent Been Worried Like This in a
2022-04-25   2022-04-28 /biden-voters-midterms.html                  Long Time                                      By Mark Penn                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/style/br
2022-04-25   2022-04-28 igitte-macron-louis-vuitton-election.html    A Victory for Vuitton                          By Vanessa Friedman             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/style/fo Exclusivity Intensifies the Allure of a Pilates
2022-04-25   2022-04-28 rma-pilates-cost-exclusive.html              Class                                          By Rachel Strugatz              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/arts/do Donald Baechler a Painter of Vividly Layered
2022-04-26   2022-04-28 nald-baechler-dead.html                      Collages Dies at 65                            By Roberta Smith                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/arts/mu Group Rereleases a Song in Russian to
2022-04-26   2022-04-28 sic/dispatch-general-ukraine-russia.html     Support Ukraine                                By Laura Zornosa                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/arts/mu Sid Mark 88 Disc Jockey Long Devoted to
2022-04-26   2022-04-28 sic/sid-mark-dead.html                       Sinatra Who Loved Him Back                     By Richard Sandomir             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/arts/tele
                        vision/roar-liz-flahive-carly-mensch-
2022-04-26   2022-04-28 glow.html                                    Getting Personal and Weird About That Duck By Coralie Kraft                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/busines Millions of People Owe Student Debt Will         By Stacy Cowley and Zolan
2022-04-26   2022-04-28 s/biden-student-loans.html                   Biden Forgive Any of It                        KannoYoungs                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/style/di
2022-04-26   2022-04-28 sco-ball-comeback.html                       Disco Balls Help Add Some Sparkle to Life By Lia Picard                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/style/sp
2022-04-26   2022-04-28 eed-dating-new-york-city.html                Speedy Dates Offer A Break From Swiping By Becky Hughes                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/busines Baquet Will Lead a Local Investigative
2022-04-27   2022-04-28 s/media/dean-baquet-nyt-fellowship.html      Fellowship Program for The Times               By Eduardo Medina               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/arts/dea
2022-04-27   2022-04-28 r-mr-brody-letters-columbia.html             Their Hearts Were Opened Letters Not           By Jennifer Schuessler          TX 9-169-611   2022-06-01




                                                                                 Page 3678 of 5793
                        https://www.nytimes.com/2022/04/27/arts/mu Cynthia Albritton 74 the Michelangelo Of
2022-04-27   2022-04-28 sic/cynthia-albritton-dies.html              Immortalizing Male Rockers Genitals       By Neil Genzlinger           TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/27/arts/mu
2022-04-27   2022-04-28 sic/du-yun-nyu-skirball.html                 Fantasias Of Youth Returned To Life       By Joshua Barone             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/27/arts/mu
2022-04-27   2022-04-28 sic/flora-purim-if-you-will.html             Sharing Her Gift With a New Album         By Brad Farberman            TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/27/arts/mu
                        sic/ornette-coleman-shape-of-jazz-to-
2022-04-27   2022-04-28 come.html                                    Reshaping A Jazz Classic                  By Seth Colter Walls         TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/27/arts/tele
2022-04-27   2022-04-28 vision/a-black-lady-sketch-show.html         A Showcase For Delights In Absurdity      By Jason Zinoman             TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/27/books/r
2022-04-27   2022-04-28 eview-last-days-roger-federer-geoff-dyer.html Contemplating the Twilight of His Gods By Jennifer Szalai             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/27/books/r Rolando HinojosaSmith the Dean Of Chicano
2022-04-27   2022-04-28 olando-hinojosa-smith-dead.html               Authors Is Dead at 93                  By Richard Sandomir            TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/27/busines                                           By Matthew Goldstein and Lananh
2022-04-27   2022-04-28 s/archegos-bill-hwang-patrick-halligan.html Two Leaders At Archegos Are Arrested     Nguyen                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/busines
2022-04-27   2022-04-28 s/boeing-earnings-loss.html                 Boeing Posts 15 Billion Loss for Quarter By Niraj Chokshi                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/busines
                        s/economy/china-trade-intellectual-         China Falls Short of Pledge to Protect
2022-04-27   2022-04-28 property.html                               Intellectual Property Trade Office Says  By Ana Swanson                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/busines Lawmakers Dismiss McKinseys Apology on By Michael Forsythe Walt
2022-04-27   2022-04-28 s/mckinsey-congress-opioids.html            Opioid Crisis as Empty                   Bogdanich and Chris Hamby       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/busines Threat of More Gas Closures Is Threat to
2022-04-27   2022-04-28 s/russian-gas-european-economy.html         Europes Growth                           By Liz Alderman                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/climate From Tiny Geckos to King Cobras 20 of
2022-04-27   2022-04-28 /reptiles-extinction-biodiversity.html      Reptiles Face Extinction Risk            By Catrin Einhorn               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/nyregio
                        n/chinatown-nyc-shelter-anti-asian-         Reeling From Attacks New Yorks Chinatown By Andy Newman and Jeffrey E
2022-04-27   2022-04-28 attacks.html                                Fights City Shelter Plan                 Singer                          TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/27/nyregio Backlash Erupts as NYU Weighs Hiring
2022-04-27   2022-04-28 n/nyu-protest-sexual-harassment-sabatini.html Scientist Accused of Sexual Misconduct   By Ashley Wong               TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/27/nyregio New York Map By Democrats Rejected
2022-04-27   2022-04-28 n/redistricting-congress-gerrymander-ny.html Again                                     By Nicholas Fandos           TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/27/opinion Making Twitter Worse Makes No Business
2022-04-27   2022-04-28 /elon-musk-twitter-cesspool.html             Sense                                     By Elizabeth Spiers          TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/27/opinion Musk Understands That Twitter Is Built to
2022-04-27   2022-04-28 /elon-musk-twitter.html                      Gamify Conversation                       By Ezra Klein                TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/27/sports/b Mets Lead the Majors In a Dubious Category
2022-04-27   2022-04-28 aseball/mets-hit-by-pitch.html               Getting Plunked                           By Benjamin Hoffman          TX 9-169-611    2022-06-01



                                                                                 Page 3679 of 5793
                        https://www.nytimes.com/2022/04/27/sports/h 2Year Ban For Baffert In New York Is
2022-04-27   2022-04-28 orse-racing/bob-baffert-suspended.html      Suggested                                By Joe Drape                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/sports/n Seeking Another Reset the NCAA Hangs Out
2022-04-27   2022-04-28 caa-new-president-mark-emmert.html          the Help Wanted Sign                     By Alan Blinder                    TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/27/sports/s Process of Naming Chelsea FCs Preferred
2022-04-27   2022-04-28 occer/chelsea-sale-roman-abramovich.html    Bidder Is Nearing Its Endgame                By Tariq Panja                 TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/27/sports/s Liverpools Rise Can Be Explained By Fancy
2022-04-27   2022-04-28 occer/liverpool-villarreal-uefa-semifinal.html Passing                                     By Rory Smith                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/style/fa
2022-04-27   2022-04-28 mily-birth-control-pandemic.html               The Pandemic as Birth Control               By Emily Gould               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/style/nj-
2022-04-27   2022-04-28 ny-marijuana-sales.html                        Weed Next Door New York Shrugs              By Gina Cherelus             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/technol
2022-04-27   2022-04-28 ogy/facebook-meta-earnings.html                Facebooks Parent Reports 21 Drop in Profits By Sheera Frenkel            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/technol
2022-04-27   2022-04-28 ogy/musk-twitter-sec.html                      Musk Challenge to SEC Deal Is Denied        By Jack Ewing                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/technol
                        ogy/personaltech/truth-social-review-          Upgrade Frees Trump App But Glitches Hold
2022-04-27   2022-04-28 trump.html                                     It Back                                     By Brian X Chen              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/technol
2022-04-27   2022-04-28 ogy/tesla-stock-price-musk.html                How Tesla Stock Price Might Affect Markets By William P Davis            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/theater/
2022-04-27   2022-04-28 potus-review-broadway.html                     White House Enablers Gone Wild              By Jesse Green               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/us/cher
2022-04-27   2022-04-28 okee-plants-national-park.html                 Tribe Regains Connection To a River         By Alyssa Lukpat             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/us/min Human Rights Inquiry Finds Minneapolis
2022-04-27   2022-04-28 neapolis-police-racism-human-rights.html       Police Racially Discriminatory              By Shaila Dewan              TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/27/us/patri License Plate Mismatch Ends in a Fatal       By Kim Barker Steve Eder and
2022-04-27   2022-04-28 ck-lyoya-christopher-schurr-traffic-stop.html Shooting                                   Julie Tate                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/us/polit
                        ics/ambassador-richard-olson-qatar-           ExUS Ambassador to Plead Guilty to Illegal
2022-04-27   2022-04-28 lobbying.html                                 Lobbying and Hiding Gifts                  By Edward Wong                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/us/polit Vote in House Urges Biden To Liquidate
2022-04-27   2022-04-28 ics/biden-russia-sanctions.html               Russia Assets                              By Catie Edmondson             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/us/polit Memorial Service for Albright Resonates at a
2022-04-27   2022-04-28 ics/madeleine-albright-memorial.html          Time of War                                By Peter Baker                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/us/polit Russia Uses Cyberattacks to Support Military By Kate Conger and David E
2022-04-27   2022-04-28 ics/russia-cyberattacks-ukraine.html          Strikes Microsoft Report Finds             Sanger                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/us/polit Supreme Court Debates Limits of a Ruling for
2022-04-27   2022-04-28 ics/supreme-court-tribes-oklahoma.html        Tribes in Oklahoma                         By Adam Liptak                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/us/polit Trump Officials Awarded 700 Million Relief
2022-04-27   2022-04-28 ics/trump-pandemic-loan-yrc.html              Loan Despite Objections                    By Alan Rappeport              TX 9-169-611   2022-06-01



                                                                                 Page 3680 of 5793
                        https://www.nytimes.com/2022/04/27/us/polit                                               By David E Sanger and Steven
2022-04-27   2022-04-28 ics/ukraine-war-expansion.html              Fear That War Will Spill Over Borders         Erlanger                       TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/27/us/polit Bidens Weighing Risks Will Join Crowded
2022-04-27   2022-04-28 ics/white-house-correspondents-dinner.html Event                                        By Sheryl Gay Stolberg           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/world/a Officials Admit to Crimes In Colombias Civil By Julie Turkewitz and Sofa
2022-04-27   2022-04-28 mericas/colombia-war-crimes.html            War                                         Villamil                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/world/a A Woman Disappears in Mexico She Is One By Oscar Lopez and Alejandro
2022-04-27   2022-04-28 mericas/debanhi-escobar-mexico.html         of Many Thousands                           Cegarra                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/world/a Agonizing Lockdown Tests the Limits of       By Vivian Wang Paul Mozur and
2022-04-27   2022-04-28 sia/china-covid-propaganda.html             Chinas Propaganda                           Isabelle Qian                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/world/a
                        sia/myanmar-coup-trial-aung-san-suu-        Myanmars Ousted Civilian Leader Is
2022-04-27   2022-04-28 kyi.html                                    Sentenced to Prison in Corruption Case      By Richard C Paddock             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/world/a
2022-04-27   2022-04-28 sia/singapore-execution-disability.html     Singapore Hangs Smuggler Despite Outcry     By Richard C Paddock             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/world/e Frances Election Results Provide Hints of
2022-04-27   2022-04-28 urope/france-election-macron-le-pen.html    Trouble In a Mature Democracy               By Amanda Taub                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/world/e
                        urope/italy-children-surnames-mother-
2022-04-27   2022-04-28 father.html                                 Italy Rules Children Can Use Both Surnames By Gaia Pianigiani                TX 9-169-611   2022-06-01
                                                                                                                By Matina StevisGridneff Neil
                        https://www.nytimes.com/2022/04/27/world/e Russia Threatens More Retaliation Over       MacFarquhar Shashank Bengali
2022-04-27   2022-04-28 urope/russia-ukraine-gas-flow-europe.html   Ukraine Aid                                 and Megan Specia                 TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/27/world/e Moscow Frees American In Exchange of           By Michael D Shear and Ivan
2022-04-27   2022-04-28 urope/trevor-reed-russia-prisoner-swap.html Prisoners                                     Nechepurenko                   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/27/world/ Photos Add to Questions About Egyptian      By Vivian Yee and David D
2022-04-27   2022-04-28 middleeast/ayman-hadhoud-egypt-death.html Economists Death in Custody                 Kirkpatrick                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/27/bus
                        iness/stocks-earnings-meta-ford/russia-gas-
2022-04-27   2022-04-28 cutoff-poland-bulgaria                      Russias Gas Cuts Seem Tolerable So Far    By Stanley Reed                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/27/tec
                        hnology/twitter-elon-musk-news/musk-
2022-04-27   2022-04-28 misinformation-twitter                      Web Watchdogs Fear a Deluge Of Falsehoods By Steven Lee Myers                TX 9-169-611   2022-06-01

                        https://www.nytimes.com/live/2022/04/27/wo
                        rld/covid-19-mandates-vaccine-cases/though-
                        the-virus-persists-fauci-says-the-us-right-now- Fauci Says United States Is Out of Pandemic
2022-04-27   2022-04-28 is-out-of-the-pandemic-phase                    Phase                                       By Alyssa Lukpat             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/theater/
2022-04-28   2022-04-28 mr-saturday-night-review.html                   In a Musical Comedy a Caveman Evolves       By Laura CollinsHughes       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/us/polit Facing Damages Jones Seeks Relief From the
2022-04-28   2022-04-28 ics/alex-jones-bankrupt.html                    Deep State                                  By Elizabeth Williamson      TX 9-169-611   2022-06-01



                                                                                  Page 3681 of 5793
                        https://www.nytimes.com/2022/04/27/us/polit
2022-04-28   2022-04-28 ics/cawthorn-gun-charge-capitol.html        Democrats Split on a Capitol Gun Ban        By Luke Broadwater                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/insider/
2022-04-28   2022-04-28 an-art-that-has-always-been-here.html       An Art That Has Always Been Here            By Terence McGinley                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/sports/f Unpredictable As Quarterbacks Take a Back
2022-04-28   2022-04-28 ootball/2022-nfl-draft-predictions.html     Seat                                        By Remy Tumin                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/sports/f
2022-04-28   2022-04-28 ootball/las-vegas-nfl-draft.html            The Bright Lights Of Las Vegas Win Again By Ken Belson                         TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/style/m
2022-04-28   2022-04-28 artha-stewart-tiktok.html                   Martha Stewart Glowing for Gen Z            By Linda Dyett                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/us/polit Shunned by the Right Murkowski Pursues the
2022-04-28   2022-04-28 ics/lisa-murkowski-alaska.html              Center in Alaska                            By Emily Cochrane                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/23/world/c
                        anada/nhl-stanley-cup-leafs-penguins-       In Spring a Nations Fancy Turns To Thoughts
2022-04-23   2022-04-29 crosby.html                                 of the Stanley Cup                          By Shawna Richer                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/25/movies/
2022-04-25   2022-04-29 luzifer-review.html                         Luzifer                                     By Isabelia Herrera                TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/26/opinion Biden Has Helped Rural America More Than
2022-04-26   2022-04-29 /biden-trump-democrats-rural-america.html Trump                                            By Robert Leonard               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/26/opinion                                                 By Qian Julie Wang and Andrew
2022-04-26   2022-04-29 /subway-new-york-city.html                  The Subway Is the Best Place to Cry in Public Seng                             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/arts/des
                        ign/basquiat-nahmad-gallery-king-
2022-04-27   2022-04-29 pleasure.html                               How to Look at a Basquiat                      By Will Heinrich                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/busines Global Crises Leave Japan Straining to Keep
2022-04-27   2022-04-29 s/japan-energy-ukraine-war.html             Lights On                                      By Ben Dooley and Hisako Ueno   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/movies/
                        the-mystery-of-marilyn-monroe-the-unheard- The Mystery of Marilyn Monroe The Unheard
2022-04-27   2022-04-29 tapes-review.html                           Tapes                                          By Ben Kenigsberg               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/27/movies/
2022-04-27   2022-04-29 the-survivor-review.html                    The Survivor                                   By Ben Kenigsberg               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/arts/des
                        ign/philip-guston-museum-fine-arts-boston-
2022-04-28   2022-04-29 klan.html                                   True to His Ferocious Spirit                   By Holland Cotter               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/arts/des
                        ign/picasso-blue-period-phillips-
2022-04-28   2022-04-29 washington.html                             Following an Artist to the Brink of Revelation By Blake Gopnik                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/arts/mu
                        sic/liudmyla-monastyrska-met-opera-
2022-04-28   2022-04-29 turandot.html                               Now Shes a Diva And a Defender                 By Javier C Hernndez            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/arts/mu
                        sic/new-york-philharmonic-nico-muhly-
2022-04-28   2022-04-29 review.html                                 A Moody Concerto for Two Pianos                By Oussama Zahr                 TX 9-169-611   2022-06-01




                                                                                Page 3682 of 5793
                        https://www.nytimes.com/2022/04/28/arts/tele
2022-04-28   2022-04-29 vision/i-love-that-for-you-review.html       A Comedy of Illness And Home Shopping         By Mike Hale                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/arts/tele
2022-04-28   2022-04-29 vision/stanley-tucci-undone.html             This weekend I have                           By Margaret Lyons              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/books/n
2022-04-28   2022-04-29 ew-may-books.html                            Volumes Bloom As May Beckons                  By Joumana Khatib              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/busines
2022-04-28   2022-04-29 s/apple-earnings.html                        Apple Exceeds Expectations                    By Tripp Mickle                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/busines
                        s/college-workers-starbucks-amazon-          College Graduates In Working Class Fuel
2022-04-28   2022-04-29 unions.html                                  Union Gains                                   By Noam Scheiber               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/busines
2022-04-28   2022-04-29 s/czinger-21c-3d-car-printing.html           A Supercar Made With 3D Printers              By Tamara Warren               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/busines Economys FirstQuarter Drop Obscures
2022-04-28   2022-04-29 s/economy/us-gdp-q1-2022.html                Evidence of Revival                           By Ben Casselman               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/busines
2022-04-28   2022-04-29 s/germany-russian-gas.html                   Germany Takes Steps To Forgo Russian Gas By Melissa Eddy                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/busines Companies JampJ Shareholders Reject End to
2022-04-28   2022-04-29 s/johnson-johnson-baby-powder.html           Global Talc Sales                             By Tiffany Hsu                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/busines
2022-04-28   2022-04-29 s/media/james-corden-leaving-cbs.html        Corden Says He Will Exit CBS Show             By John Koblin                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/busines                                                 By Benjamin Mullin and Katie
2022-04-28   2022-04-29 s/media/quartz-sale.html                     GO Media Buys Business Site Quartz            Robertson                      TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/busines
                        s/media/ten-percent-call-my-agent-
2022-04-28   2022-04-29 streaming.html                               French Hit On Netflix Is Morphing             By Nicole Sperling             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/busines
                        s/southwest-airlines-first-quarter-
2022-04-28   2022-04-29 earnings.html                                Southwest Echoes Optimism                     By Niraj Chokshi               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/climate
2022-04-28   2022-04-29 /deforestation-tree-loss.html                93 Million Acres of Old Tropical Forests Lost By Henry Fountain              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/climate 16 States Sue Postal Service Over New
2022-04-28   2022-04-29 /usps-gas-electric-vehicles-lawsuit.html     GasPowered Trucks                             By Coral Davenport             TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/health/ Medicare Advantage Plans Denying Needed
2022-04-28   2022-04-29 medicare-advantage-plans-report.html         Care                                          By Reed Abelson                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/health/ FDA Proposes Ban on Sales Of
2022-04-28   2022-04-29 menthol-ban-fda.html                         MentholFlavored Cigarettes                    By Christina Jewett            TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/28/health/ Experimental Obesity Drug Produces 20
2022-04-28   2022-04-29 obesity-drug-eli-lilly-tirzepatide-wegovy.html Weight Loss                               By Gina Kolata                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-04-29 africa-review.html                             Africa                                    By Devika Girish                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-04-29 anais-in-love-review.html                      Portrait of a Restless Heart              By Manohla Dargis                TX 9-169-611   2022-06-01




                                                                                 Page 3683 of 5793
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-04-29 bad-roads-review.html                      Bad Roads                                   By Claire Shaffer                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-04-29 crush-review.html                          Crush                                       By Amy Nicholson                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-04-29 diva-film-forum.html                       Hooked Immediately Four Decades Later       By Wesley Morris                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/movies/
                        fiddlers-journey-to-the-big-screen-
2022-04-28   2022-04-29 review.html                                Fiddlers Journey To the Big Screen          By Natalia Winkelman              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-04-29 firebird-review.html                       Firebird                                    By Teo Bugbee                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-04-29 fortress-snipers-eye-review.html           Fortress Snipers Eye                        By Jeannette Catsoulis            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-04-29 hatching-review-the-best-laid-plans.html   Hatching                                    By Jeannette Catsoulis            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-04-29 hello-bookstore-review.html                Hello Bookstore                             By Lisa Kennedy                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-04-29 i-love-america-review.html                 I Love America                              By Nicolas Rapold                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-04-29 los-conductos-review.html                  Los Conductos                               By Glenn Kenny                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-04-29 memory-review.html                         Memory                                      By Lena Wilson                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-04-29 vortex-review.html                         A Split Screen and a Shared Fate            By AO Scott                       TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/nyregio City Scraps Proposed Shelter In Chinatown
2022-04-28   2022-04-29 n/chinatown-shelter-protests.html          After Protests                              By Andy Newman                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/nyregio Novelists Son Out on Bail After Death Of    By Karen Zraick Ashley Southall
2022-04-28   2022-04-29 n/daniel-auster-dead-arrest-overdose.html  Child Dies                                  and Ali Watkins                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/nyregio
2022-04-28   2022-04-29 n/new-york-school-funding.html             Panel Blocks School Funding Formula         By Lola Fadulu                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/nyregio How New York Democrats Lost a Critical
2022-04-28   2022-04-29 n/redistricting-maps-court-appeals.html    Battle Over Redistricting                   By Nicholas Fandos                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/nyregio
2022-04-28   2022-04-29 n/tommy-klein-brooklyn-firefighter.html    Firefighter Was Everyones GoTo Guy          By Ali Watkins                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/opinion
2022-04-28   2022-04-29 /russia-ukraine-biden-aid.html             The Arsenal Of Democracy Once Again         By Paul Krugman                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/opinion
                        /seven-lessons-democrats-need-to-learn-
2022-04-28   2022-04-29 fast.html                                  7 Lessons Democrats Need to Learn Fast      By David Brooks                   TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/28/opinion I Blew the Whistle on Facebook Europe
2022-04-28   2022-04-29 /social-media-facebook-transparency.html    Showed Us the Next Step                    By Frances Haugen                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/sports/b With Each Confounding Contortion the
2022-04-28   2022-04-29 aseball/nestor-cortes-yankees.html          Legend of Nestor Grows                     By Gary Phillips                  TX 9-169-611   2022-06-01



                                                                               Page 3684 of 5793
                        https://www.nytimes.com/2022/04/28/sports/b This Season the Revamped and Reinvented
2022-04-28   2022-04-29 asketball/wnba-liberty.html                 Liberty Ask Why Not Us                     By Shauntel Lowe                 TX 9-169-611        2022-06-01
                        https://www.nytimes.com/2022/04/28/sports/s
2022-04-28   2022-04-29 occer/nwsl-angel-city-fc.html               NWSL at 10 A League Seeks To Define Itself By Allison McCann                TX 9-169-611        2022-06-01
                        https://www.nytimes.com/2022/04/28/technol
2022-04-28   2022-04-29 ogy/amazon-earnings.html                    Amazons Growth Slows                       By Karen Weise                   TX 9-169-611        2022-06-01
                        https://www.nytimes.com/2022/04/28/technol Social Media Snaps Pixy Flying Camera Puts
2022-04-28   2022-04-29 ogy/snap-camera-drone-pixy.html             a New Slant to Selfies                     By Erin Woo                      TX 9-169-611        2022-06-01
                        https://www.nytimes.com/2022/04/28/technol
                        ogy/twitter-first-quarter-earnings-elon-
2022-04-28   2022-04-29 musk.html                                   Twitter Grows a Bit as Musk Awaits         By Mike Isaac and Adam Satariano TX 9-169-611        2022-06-01
                        https://www.nytimes.com/2022/04/28/technol
2022-04-28   2022-04-29 ogy/twitter-musk-content-moderators.html    Twitter Fears A Repeat Under Musk          By Kate Conger                   TX 9-169-611        2022-06-01
                        https://www.nytimes.com/2022/04/28/theater/
2022-04-28   2022-04-29 holland-taylor-ann-richards.html            Time to Tone Down That Texas Drawl         By Elisabeth Vincentelli         TX 9-169-611        2022-06-01

                        https://www.nytimes.com/2022/04/28/us/andr 75 Million Settlement Over Police Killing of
2022-04-28   2022-04-29 ea-thomas-churna-shooting-settlement.html 911 Caller                                      By Amanda Holpuch                TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/28/us/mod Moderna Seeks Green Light From the FDA
2022-04-28   2022-04-29 erna-fda-vaccine-children-under-6.html      for Its Under6 Vaccine                        By Sharon LaFraniere             TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/28/us/okla
2022-04-28   2022-04-29 homa-abortion-legislature.html              Abortion Ban Is Approved In Oklahoma          By Kate Zernike                TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/28/us/polit President Taking a Hard Look at Student       By Zolan KannoYoungs and Stacy
2022-04-28   2022-04-29 ics/biden-student-loan-relief.html          Loan Relief                                   Cowley                         TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/28/us/polit Earl E Devaney 74 Who Rooted Out
2022-04-28   2022-04-29 ics/earl-e-devaney-dead.html                Corruption Fraud and Waste Is Dead            By Clay Risen                    TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/28/us/polit Republicans Devise Fake Threat To Election
2022-04-28   2022-04-29 ics/gop-vote-fraud-immigrants.html          by Way of the Border                          By Jazmine Ulloa                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/28/us/polit 6 Gun Shops 11000 Crime Guns A Peek at
2022-04-28   2022-04-29 ics/gun-shops-weapons-resell.html           the Pipeline                                  By Glenn Thrush and Katie Benner TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/28/us/polit
                        ics/homeland-security-secretary-            Republicans Duel With Homeland Secretary
2022-04-28   2022-04-29 migration.html                              on Immigration Policy                         By Eileen Sullivan               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/28/us/polit Key Adviser On Top Cases Is Set to Leave
2022-04-28   2022-04-29 ics/john-carlin-justice-department.html     Justice Dept                                  By Katie Benner                  TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/28/us/polit
                        ics/john-distaso-star-reporter-of-new-      John DiStaso 68 Reporter Who Grilled
2022-04-28   2022-04-29 hampshire-primaries-dies-at-68.html         Candidates For President Since 1980           By Katharine Q Seelye            TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/28/us/polit Rapidly Flexing Power DeSantis Turns
2022-04-28   2022-04-29 ics/ron-desantis-florida-politics.html      Florida Into a Lab for the Right              By Patricia Mazzei               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/28/us/polit
                        ics/supreme-court-discrimination-emotional- Justices Prohibit Recovery of Damages For
2022-04-28   2022-04-29 harm.html                                   Emotional Harm in Suits Over Bias             By Adam Liptak                   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/28/us/polit Michigan GOP in Revolt Over Backing of
2022-04-28   2022-04-29 ics/trump-michigan-republican-party.html    Trump Picks                                   By Nick Corasaniti and Neil Vigdor TX 9-169-611   2022-06-01



                                                                                 Page 3685 of 5793
                        https://www.nytimes.com/2022/04/28/us/polit Biden Digging In Urges 33 Billion In New  By Peter Baker and Michael
2022-04-28   2022-04-29 ics/ukraine-biden-aid.html                  Aid To Kyiv                               Levenson                        TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/28/us/polit House Clears Bill to Allow Loan of Arms
2022-04-28   2022-04-29 ics/ukraine-lend-lease-arms.html            To Ukraine                                By Catie Edmondson              TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/28/us/unc- GOP Leaders Subverted University of North
2022-04-28   2022-04-29 report-gop.html                             Carolina Professors Group Says            By Stephanie Saul               TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/28/world/a For a Sudan on the Brink Ramadan Nights    By Declan Walsh and Abdulmonam
2022-04-28   2022-04-29 frica/sudan-ramadan-protests.html           Provide Cool Relief                       Eassa                           TX 9-169-611       2022-06-01
                        https://www.nytimes.com/2022/04/28/world/a In El Salvador Relief Over Gang Crackdowns By Natalie Kitroeff and Daniele
2022-04-28   2022-04-29 mericas/el-salvador-bukele-gangs.html       Even as Civil Liberties Suffer            Volpe                           TX 9-169-611       2022-06-01

                        https://www.nytimes.com/2022/04/28/world/a Afghan Immigrants Deadly Knife Attack on By Sharif Hassan and Farnaz
2022-04-28   2022-04-29 sia/afghanistan-iran-refugees-migrants.html Clerics in Iran Fuels a Crisis               Fassihi                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/28/world/e                                               By Aurelien Breeden and Constant
2022-04-28   2022-04-29 urope/france-socialists-republicains.html   Can Frances Traditional Parties Ever Regroup Mheut                            TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/28/world/ Erdogan Visits Saudi Arabia Concluding Bid
2022-04-28   2022-04-29 middleeast/turkey-erdogan-saudi-arabia.html To Ease Tensions                           By Ben Hubbard                   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/live/2022/04/28/wo
                        rld/covid-19-mandates-vaccine-cases/china- Beijing Tries to Stimulate National Economy
2022-04-28   2022-04-29 economy-covid-lockdowns                      Amid Lockdowns                            By Keith Bradsher                TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/28/busines Companies Airbnb Allows Employees To
2022-04-29   2022-04-29 s/airbnb-employees-remote-work.html          Continue Remote Work                      By Emma Goldberg                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/29/insider/
2022-04-29   2022-04-29 nyt-journalists-abroad.html                  Weighing Risk Against Mission             By Emmett Lindner                TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/29/world/e
                        urope/ukraine-holocaust-survivors-rescue-    They Survived the Holocaust Now Germany
2022-04-29   2022-04-29 germany.html                                 Offers Refuge                             By Erika Solomon                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/27/arts/dan
2022-04-27   2022-04-30 ce/danspace-platform-2022.html               Making Dance Out of Survival Skills       By Gia Kourlas                   TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/27/arts/des
2022-04-27   2022-04-30 ign/tefaf-new-york.html                      A busy art season begins                  By Ted Loos                      TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/27/arts/tele
                        vision/under-the-banner-of-heaven-jon-
2022-04-27   2022-04-30 krakauer-dustin-lance-black.html             Investigating A Murder In Heaven          By Austin Considine              TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/27/movies/
2022-04-27   2022-04-30 survivor-harry-haft.html                     A Boxer Haunted By His Conquests          By Joseph Berger                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/27/opinion These Laws Are Making Miscarriage Even
2022-04-27   2022-04-30 /abortion-laws-miscarriage.html              More Traumatic In the United States       By Jessica Grose                 TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/28/arts/mu Jos Luis Corts 70 Trailblazing Cuban
2022-04-28   2022-04-30 sic/jose-luis-cortes-dead.html               Bandleader                                By Neil Genzlinger               TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/28/arts/mu
2022-04-28   2022-04-30 sic/kehlani-blue-water-road-review.html      Notes From a Healing Journey              By Isabelia Herrera              TX 9-169-611     2022-06-01
                        https://www.nytimes.com/2022/04/28/climate Study Warns of a Mass Extinction at Sea if
2022-04-28   2022-04-30 /global-warming-ocean-extinctions.html       Emissions Arent Cut                       By Catrin Einhorn                TX 9-169-611     2022-06-01



                                                                               Page 3686 of 5793
                        https://www.nytimes.com/2022/04/28/opinion
                        /culture/children-parenting-good-
2022-04-28   2022-04-30 decisions.html                              Your Kids Can Handle Dangerous Ideas         By Matt Gross                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/28/theater/
2022-04-28   2022-04-30 cost-of-living-majok-broadway.html          Pulitzer Winner Is Coming to Broadway        By Michael Paulson             TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/28/us/colo Flu Likely Killed Nearly 100 Wild Horses in   By Derrick Bryson Taylor and
2022-04-28   2022-04-30 rado-horse-deaths-disease.html              Outbreak at Colorado Corral Complex          Dave Philipps                  TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/28/us/polit Shrinking and Seething Unions Imperil Ohio
2022-04-28   2022-04-30 ics/labor-unions-ohio-democrats.html        Democrats                                    By Jonathan Weisman            TX 9-169-611    2022-06-01
                        https://www.nytimes.com/2022/04/29/arts/dan
2022-04-29   2022-04-30 ce/review-sasha-waltz-in-c.html             Like an Action Painting in the Making        By Brian Seibert               TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/29/arts/des
2022-04-29   2022-04-30 ign/jurassic-park-velociraptor-auction.html From Jurassic Park to Your Living Room       By Julia Jacobs                TX 9-169-611    2022-06-01

                        https://www.nytimes.com/2022/04/29/arts/des
2022-04-29   2022-04-30 ign/red-studio-matisse-moma-shchukin.html A Masterpiece Gets a Life All Its Own         By Roberta Smith                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/arts/des
2022-04-29   2022-04-30 ign/south-korea-gallery-hyundai.html        Art in the Korean Wars aftermath            By David Belcher                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/arts/mu
2022-04-29   2022-04-30 sic/ades-dante-la-phil-review.html          A Journey Through Hell and Heaven           By Joshua Barone                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/busines
2022-04-29   2022-04-30 s/april-stocks-inflation.html               Market Plunge Reflects Alarm Of Pain Ahead By Coral Murphy Marcos            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/busines                                              By Jeanna Smialek and Ben
2022-04-29   2022-04-30 s/economy/pce-inflation-march-2022.html     Inflation Hits 40Year High In Key Index     Casselman                        TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/busines
2022-04-29   2022-04-30 s/elon-musk-tesla-stock.html                Musk Unloads 85 Billion In Tesla Stock      By Jason Karaian                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/busines
2022-04-29   2022-04-30 s/europe-economy-gdp.html                   Slow Growth Taking Hold Across World        By Patricia Cohen                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/busines High Petroleum Prices Fatten Profits for
2022-04-29   2022-04-30 s/exxon-mobil-chevron-earnings.html         Exxon Mobil and Chevron                     By Clifford Krauss               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/busines Companies Disney Executive Leaves Amid
2022-04-29   2022-04-30 s/geoff-morrell-disney-out.html             Battle With Florida                         By Brooks Barnes                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/climate Why US Consumers Are Vulnerable to           By Hiroko Tabuchi and Maggie
2022-04-29   2022-04-30 /gas-prices-america.html                    Spiking Oil Prices                          Astor                            TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/movies/ Jacques Perrin a French Movie Actor Director
2022-04-29   2022-04-30 jacques-perrin-dead.html                    and Producer Is Dead at 80                  By Penelope Green                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/nyregio Family Court Lawyers Flee Low Pay and
2022-04-29   2022-04-30 n/family-court-attorneys-fees.html          Heavy Loads                                 By Jonah E Bromwich              TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/nyregio Two People on the Tracks Are Killed by a
2022-04-29   2022-04-30 n/nyc-subway-train-tracks-death.html        Subway Train in Manhattan                   By Troy Closson and Michael Gold TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/nyregio                                              By Ben Protess Jonah E Bromwich
                        n/trump-investigation-alvin-bragg-grand-    Chances Fade for an Indictment of Trump in William K Rashbaum and Lananh
2022-04-29   2022-04-30 jury.html                                   Manhattan                                   Nguyen                           TX 9-169-611   2022-06-01




                                                                                Page 3687 of 5793
                        https://www.nytimes.com/2022/04/29/opinion Antisemitism Increased Under Trump Then It
2022-04-29   2022-04-30 /antisemitism-post-trump.html               Got Even Worse                               By Michelle Goldberg           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/opinion
2022-04-29   2022-04-30 /eric-adams-new-york-crime.html             On Crime Adams Is Stuck in 1994              By Mara Gay                    TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/science
2022-04-29   2022-04-30 /tiktaalik-fish-fossil-meme.html            Is FourFooted Fish to Blame for Worlds Woes By Sabrina Imbler               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/sports/a 2 Champions Guaranteed To Make at Least 1
2022-04-29   2022-04-30 manda-serrano-katie-taylor-boxing.html      Million                                      By Remy Tumin                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/sports/b Pitching Bauers Path to a Billion Dollars Is
2022-04-29   2022-04-30 aseball/trevor-bauer-suspension.html        Closed for Now                               By Tyler Kepner                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/sports/f Only Thing Missing From Their Round 1 The
2022-04-29   2022-04-30 ootball/giants-jets-nfl-draft.html          Boos                                         By Jenny Vrentas               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/sports/f Lesson of Round 1 Jaguars at Bottom Still
2022-04-29   2022-04-30 ootball/nfl-draft-results-analysis.html     Focus on Upside                              By Mike Tanier                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/sports/s Late Bid for Chelsea Would Be Record Price
2022-04-29   2022-04-30 occer/chelsea-ratcliffe-sale.html           in Any Sport                                 By Tariq Panja                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/technol Musks Investments in China Could Create       By Steven Lee Myers and Paul
2022-04-29   2022-04-30 ogy/elon-musk-china-tesla.html              Headaches for Twitter                        Mozur                          TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/theater/
2022-04-29   2022-04-30 macbeth-review-broadway.html                Something Wonky This Way Comes               By Jesse Green                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/us/2020 How Many Men In Albuquerque Tell You in
2022-04-29   2022-04-30 census-release.html                         2023 Census Pledges                          By Michael Wines               TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/us/polit Bipartisan Drug Sentencing Bill Languishes
2022-04-29   2022-04-30 ics/congress-drug-sentencing-bill.html      Amid Midterm Politics                        By Carl Hulse                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/us/polit Timeline Set For Approval Of Vaccines For
2022-04-29   2022-04-30 ics/fda-covid-vaccine-under-5.html          Children                                     By Sharon LaFraniere           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/us/polit 2 Largely Black Cities Land in Greenes
2022-04-29   2022-04-30 ics/georgia-redistricting-greene.html       District                                     By Maya King                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/us/polit British Terrorist Receives Life Sentence for
2022-04-29   2022-04-30 ics/isis-beatles-kotey-sentenced.html       Role in Americans Torture and Deaths         By Adam Goldman                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/us/polit Cawthorn Under Pressure To End Career in By Jonathan Weisman and Annie
2022-04-29   2022-04-30 ics/madison-cawthorn.html                   Congress As His Scandals Multiply            Karni                          TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/29/us/polit Report Shows NSA Use of CourtApproved
2022-04-29   2022-04-30 ics/national-security-surveillance-2021.html Domestic Surveillance Fell to a New Low   By Charlie Savage                TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/29/us/polit AntiEstablishment Republicans Struggle in
2022-04-29   2022-04-30 ics/republican-governor-election-trump.html Bids to Topple Incumbent Governors        By Reid J Epstein                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/us/polit Inquiries Begin as Ukrainian Women Accuse
2022-04-29   2022-04-30 ics/ukraine-rape-war-crimes.html            Russian Soldiers of Rape                  By Lara Jakes                     TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/world/a South Koreans Used to Counting Age 3 Ways
2022-04-29   2022-04-30 sia/south-korea-age-yoon.html               May Get Younger                           By Jin Yu Young                   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/world/e
                        urope/boris-becker-sentenced-
2022-04-29   2022-04-30 bankruptcy.html                             Becker Gets 2 Years In Prison             By Aina J Khan                    TX 9-169-611   2022-06-01



                                                                                Page 3688 of 5793
                        https://www.nytimes.com/2022/04/29/world/e
                        urope/europe-ratchets-up-preparation-for-  EU Near Oil Deal As Russia Appears To      By Matina StevisGridneff and
2022-04-29   2022-04-30 russian-oil-embargo-next-week.html         Falter In East                             Thomas GibbonsNeff                TX 9-169-611           2022-06-01
                        https://www.nytimes.com/2022/04/29/world/e
                        urope/frontex-eu-border-agency-fabrice-    Border Chief For EU Exits After Reports Of By Monika Pronczuk and Matina
2022-04-29   2022-04-30 leggeri.html                               Misdeeds                                   StevisGridneff                    TX 9-169-611           2022-06-01
                        https://www.nytimes.com/2022/04/29/world/e In Blank Boxes of Irish Census Time
2022-04-29   2022-04-30 urope/ireland-census-time-capsule.html     Capsules of Wit Grief and Grace            By Ed OLoughlin                   TX 9-169-611           2022-06-01
                        https://www.nytimes.com/2022/04/29/world/e Videos From Army Unit Relay Pleas for Help By Valerie Hopkins Sarah Kerr and
2022-04-29   2022-04-30 urope/mariupol-steel-plant-video.html      In Mariupol Steel Plant                    Ainara Tiefenthler                TX 9-169-611           2022-06-01

                        https://www.nytimes.com/2022/04/29/world/e On the Trail Of Horrors Perpetrated During
2022-04-29   2022-04-30 urope/on-the-trail-of-russian-war-crimes.html War                                           By Carlotta Gall                    TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/29/world/ Relying On Smugglers to Pray in a Sacred
2022-04-29   2022-04-30 middleeast/israel-palestine-aqsa-mosque.html Site for Ramadan                                 By Raja Abdulrahim                TX 9-169-611   2022-06-01
                        https://www.nytimes.com/live/2022/04/30/wo
                        rld/ukraine-russia-war-news/after-weeks-of-
                        poring-over-evidence-ukrainian-officials-
                        single-out-10-russian-soldiers-for-atrocities-in-Kyiv Investigators Single Out Russian Troops By Jeffrey Gettleman and
2022-04-29   2022-04-30 bucha                                            for Atrocities                               Oleksandr Chubko                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/29/world/e US Veteran Died Fighting In Ukraine Family
2022-04-30   2022-04-30 urope/american-killed-ukraine-cancel.html        Says                                         By John Ismay and Dave Philipps   TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/30/busines
2022-04-30   2022-04-30 s/cost-of-living-uk-prices.html                  Bills Skyrocket and Britons Despair          By Isabella Kwai                  TX 9-169-611   2022-06-01

                        https://www.nytimes.com/2022/04/30/busines As Food Exports Are Blocked Ripples Are
2022-04-30   2022-04-30 s/economy/global-food-prices-ukraine.html Felt Around Globe                            By Ana Swanson                           TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/30/us/polit                                            By Jonathan Weisman and Trip
2022-04-30   2022-04-30 ics/ohio-senate-primary-vance-trump.html     In Ohio GOP Bombast Prods Gentility Aside Gabriel                                  TX 9-169-611   2022-06-01
                        https://www.nytimes.com/2022/04/30/us/texa Abbott Could Declare Invasion As His Border By J David Goodman and Edgar
2022-04-30   2022-04-30 s-border-abbott.html                         Effort Is Stymied                         Sandoval                                 TX 9-169-611   2022-06-01
                        https://www.nytimes.com/interactive/2022/02/
2022-02-20   2022-05-01 19/books/how-a-book-is-made.html             How a Book Is Made                        By Elizabeth A Harris                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/03/21/travel/s Stone Carvers Make Art Bloom in Mexicos
2022-03-21   2022-05-01 tone-carvers-escolasticas-mexico.html        High Desert                               By Walter Hodges                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/03/29/books/r
                        eview/diamonds-and-deadlines-betsy-
2022-03-29   2022-05-01 prioleau.html                                Fit to Print                              By Joanna Scutts                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/02/books/r
2022-04-02   2022-05-01 eview/new-psychological-thrillers.html       Up All Night                              By Sarah Lyall                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/03/books/r
2022-04-03   2022-05-01 iverman-ben-mcgrath.html                     Adrift                                    By Gregory Cowles                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/04/books/b
2022-04-04   2022-05-01 lood-and-ruins-richard-overy.html            How Europe Destroyed Itself               By Josef Joffe                           TX 9-172-761   2022-07-01



                                                                                   Page 3689 of 5793
                        https://www.nytimes.com/2022/04/05/books/r
2022-04-05   2022-05-01 eview/atomic-anna-rachel-barenbaum.html        Nuclear Fissure                            By Jen Doll                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/05/books/r
2022-04-05   2022-05-01 eview/bittersweet-susan-cain.html              Our Lady of Sorrows                        By Katherine Rosman        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/05/books/r
2022-04-05   2022-05-01 eview/frans-de-waal-different.html             Fuzzy Boundaries                           By Carl Zimmer             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/05/books/r
2022-04-05   2022-05-01 eview/gina-sorell-the-wise-women.html          Heal Thy Family                            By Jennifer Close          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/06/books/r
2022-04-06   2022-05-01 eview/jennifer-egan-the-candy-house.html       Social Network                             By James Poniewozik        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/14/books/r
                        eview/man-who-invented-motion-pictures-
2022-04-14   2022-05-01 paul-fischer.html                              The First Picture Show                     By Leah Greenblatt         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/15/nyregio Nightclubs Theyd Rather Play Shuffleboard
2022-04-15   2022-05-01 n/ny-games.html                                and Jenga                                  By Julia Carmel            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/19/realesta
                        te/they-thought-remodeling-could-wait-then-a-
2022-04-19   2022-05-01 tree-fell-on-the-house.html                    They Kept What Others Said to Tear Out     By Tim McKeough            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/21/books/r
                        eview/easy-beauty-chloe-cooper-jones-
                        pathological-sarah-fay-the-perfect-other-
2022-04-21   2022-05-01 kyleigh-leddy.html                             Memoirs                                    By Kate Tuttle             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/21/books/r
2022-04-21   2022-05-01 eview/m.html                                   Timeless Tales With New Twists             By Sebastian Modak         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/22/magazi The War in Ukraine Has Unleashed a New
2022-04-22   2022-05-01 ne/ruscism-ukraine-russia-war.html             Word                                       By Timothy Snyder          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/24/books/r
                        eview/a-revolutionary-for-our-time-the-walter-
2022-04-24   2022-05-01 rodney-story-leo-zeilig.html                   Radical Hope                               By Nathan Gelgud           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/25/realesta After the Waters Receded She Went a Few
2022-04-25   2022-05-01 te/renters-jersey-city.html                    Steps Up                                   By Marian Bull             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/26/arts/des
                        ign/bosco-sodi-assembly-monticello-new-
2022-04-26   2022-05-01 york.html                                      Welcoming a New Art Space                  By Laura van Straaten      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/26/arts/sev
2022-04-26   2022-05-01 erance-apple-tv.html                           A New Series Has Some Eerie Inspirations   By Elisabeth Vincentelli   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/26/magazi
2022-04-26   2022-05-01 ne/put-out-grease-fire.html                    How to Put Out a Grease Fire               By Malia Wollan            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/26/magazi
2022-04-26   2022-05-01 ne/quebecois-foot-percussion.html              Qubcois Foot Percussion                    By Eric Boodman            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/26/magazi How Can I Teach When Im Not Allowed To
2022-04-26   2022-05-01 ne/racist-speech-class-ethics.html             Shut Down Trolls                           By Kwame Anthony Appiah    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/26/magazi
2022-04-26   2022-05-01 ne/virtual-reality-chronic-pain.html           Metaverse Medicine                         By Helen Ouyang            TX 9-172-761   2022-07-01




                                                                                 Page 3690 of 5793
                        https://www.nytimes.com/2022/04/26/opinion Musk Is a Problem Masquerading as a
2022-04-26   2022-05-01 /elon-musk-twitter.html                     Solution                             By Anand Giridharadas   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/26/opinion
2022-04-26   2022-05-01 /macron-france-le-pen.html                  France Is Still in Trouble           By Philippe Marlire     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/26/realesta
2022-04-26   2022-05-01 te/kitchen-island-design.html               You Know You Want Your Own Island    By Tim McKeough         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
2022-04-27   2022-05-01 ign/aldrich-feminist-52-artists.html        Revisiting a Groundbreaking Show     By Hilarie M Sheets     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
                        ign/bronx-museum-of-the-arts-expansion-
2022-04-27   2022-05-01 plans.html                                  50 Years of Art in the Bronx         By David Kaufman        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
2022-04-27   2022-05-01 ign/guggenheim-poetry.html                  The Guggenheim Sees Art in Verse     By Laurel Graeber       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
                        ign/international-center-of-photography-
2022-04-27   2022-05-01 william-klein.html                          The World Through His Lens           By Jane L Levere        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
                        ign/macro-photography-insects-levon-
2022-04-27   2022-05-01 biss.html                                   Seeing the Beauty in Bugs            By Alix Strauss         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
                        ign/museum-of-contemporary-art-san-diego-
2022-04-27   2022-05-01 expansion.html                              California Fresh                     By Ted Loos             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
2022-04-27   2022-05-01 ign/museum-podcasts.html                    Stretching the Limits                By Alex V Cipolle       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
2022-04-27   2022-05-01 ign/museums-spring-summer.html              A Mix of Old and New                 By Ted Loos             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
2022-04-27   2022-05-01 ign/museums-ukraine-united-states.html      Art of War                           By Tanya Mohn           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
2022-04-27   2022-05-01 ign/museums-white-male-artists.html         Rethinking the Past                  By Robin Pogrebin       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
                        ign/national-portrait-gallery-
2022-04-27   2022-05-01 performances.html                           Diverse Portraits                    By Laura van Straaten   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
                        ign/new-york-historical-society-title-ix-
2022-04-27   2022-05-01 50.html                                     Title IX at Age 50                   By Alina Tugend         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
2022-04-27   2022-05-01 ign/nick-cave-retrospective-chicago.html    Nick Cave Takes Chicago              By Jane L Levere        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
                        ign/odgen-museum-southern-art-new-
2022-04-27   2022-05-01 orleans.html                                Southern Focus                       By Claudia Dreifus      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
2022-04-27   2022-05-01 ign/outdoor-museum-experiences.html         Taking the Arts Outdoors             By Shivani Vora         TX 9-172-761   2022-07-01




                                                                             Page 3691 of 5793
                        https://www.nytimes.com/2022/04/27/arts/des
                        ign/raphael-montanez-ortiz-el-museo-del-
2022-04-27   2022-05-01 barrio.html                                 A Defiant Show by a Latin Artist              By Mark A Stein       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
                        ign/regional-museums-attract-new-
2022-04-27   2022-05-01 audiences.html                              Far From 5th Avenue                           By John Hanc          TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/04/27/arts/des
2022-04-27   2022-05-01 ign/takashi-murakami-broad-los-angeles.html Dragons Saints and Sexy Nurses                By Eilene Zimmerman   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
                        ign/victoria-reed-museum-of-fine-arts-stolen-
2022-04-27   2022-05-01 artwork.html                                  A Long Way Home for Looted Art              By Ted Loos           TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/04/27/arts/des
2022-04-27   2022-05-01 ign/warhol-marisol-take-new-york-perez.html Marisol Back in the Spotlight             By Joseph B Treaster      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
2022-04-27   2022-05-01 ign/west-florida-arts-donors.html           In Florida Arts Donors Go West            By Geraldine Fabrikant    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
2022-04-27   2022-05-01 ign/womens-work-lyndhurst-mansion.html      Not Just Womens Work                      By Laurel Graeber         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/des
2022-04-27   2022-05-01 ign/wyeth-foundation-museums.html           Unseen Wyeth                              By Hilarie M Sheets       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/magazi A Young Athlete Gets a Series of Infections
2022-04-27   2022-05-01 ne/actinomyces-infections-diagnosis.html    Why Wouldnt They Go Away                  By Lisa Sanders MD        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/magazi All Enchiladas Are Perfect But These Are My
2022-04-27   2022-05-01 ne/enchiladas-texas.html                    Favorite                                  By Bryan Washington       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/magazi
2022-04-27   2022-05-01 ne/henry-winkler-barry.html                 King of the Character Actors              By Matthew Klam           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/magazi
2022-04-27   2022-05-01 ne/sports-betting-ads.html                  Green Fields                              By Jake Nevins            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/opinion Stop Delaying a Vaccine For the Youngest
2022-04-27   2022-05-01 /covid-vaccine-kids.html                    Kids                                      By Zeynep Tufekci         TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/04/27/opinion
2022-04-27   2022-05-01 /culture/netflix-stocks-blumhouse-model.html Netflix Needs a Scrappier Model              By Jason Blum         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/realesta History Including a Vintage Diner Resonates
2022-04-27   2022-05-01 te/dumont-nj-homes.html                      Here                                         By Jay Levin          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/realesta A 13thCentury Church That Has Lots of
2022-04-27   2022-05-01 te/milan-italy-house-hunting.html            Room                                         By Lisa Prevost       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/realesta
2022-04-27   2022-05-01 te/nature-books.html                         Find Wisdom and Joy in a Wounded World       By Margaret Roach     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/style/ri
2022-04-27   2022-05-01 ngs-fit-for-all-fingers.html                 The Fellowship of Larger Rings               By Amelia Diamond     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/t-
2022-04-27   2022-05-01 magazine/kevin-beasley-hill-art.html         I Always Feel Like Im in the Middle          By Miguel Morales     TX 9-172-761   2022-07-01




                                                                                Page 3692 of 5793
                        https://www.nytimes.com/2022/04/27/theater/
2022-04-27   2022-05-01 macbeth-superstitions-theater.html          Stage Superstitions Maintain a Presence    By Alexis Soloski                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/theater/
2022-04-27   2022-05-01 sarah-silverman-the-bedwetter.html          Laughing at Sarah Silvermans Pain          By Melena Ryzik                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/world/a
                        sia/kane-tanaka-japan-worlds-oldest-        Kane Tanaka 119 Who Showed the World       By Mike Ives Hisako Ueno and
2022-04-27   2022-05-01 person.html                                 How to Age Gracefully                      Makiko Inoue                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/opinion
2022-04-28   2022-05-01 /pandemic-empathy-hardship.html             The Pandemic Exposed Our Empathy Deficit By Charles M Blow                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/arts/dan
                        ce/stravinsky-festival-new-york-city-
2022-04-28   2022-05-01 ballet.html                                 To Igor From George Masterpieces and Love By Roslyn Sulcas                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/arts/des
2022-04-28   2022-05-01 ign/venice-biennale-south-africa-art.html   Finding the Paths Amid the Dust            By Siddhartha Mitter               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/arts/mu
2022-04-28   2022-05-01 sic/sheryl-crow-documentary.html            The Sheryl Crow You Never Knew             By Caryn Ganz                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/magazi
2022-04-28   2022-05-01 ne/john-hodgman-pajama-catchphrase.html Bonus Advice From Judge John Hodgman           By John Hodgman                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/magazi
2022-04-28   2022-05-01 ne/poem-of-errands.html                     Poem Of Errands                            By Rick Barot and Victoria Chang   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/magazi
2022-04-28   2022-05-01 ne/riots-los-angeles-violence.html          Memories Of Fire                           By Hctor Tobar                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-05-01 natural-black-hairstyles-hollywood.html     Black Hair in Its Complexities             By Tiffany Martinbrough            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/nyregio Things to Consider While Seeking Covid
2022-04-28   2022-05-01 n/covid-treatments-nyc.html                 Medicine                                   By Lola Fadulu                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/nyregio A YouTube Polyglot Tries Out His Yiddish in
2022-04-28   2022-05-01 n/frankie-light-youtube-polyglot.html       Brooklyn                                   By Saki Knafo                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/opinion
2022-04-28   2022-05-01 /biden-putin-genocide.html                  Is Putins War in Ukraine a Genocide        By Philippe Sands                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/opinion
                        /fed-inflation-interest-rates-third-world-
2022-04-28   2022-05-01 debt.html                                   The Fed Could Start a Global Crisis        By Jamie Martin                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/opinion
2022-04-28   2022-05-01 /quitting-twitter.html                      Twitter Brings Out the Worst in All of Us  By Pamela Paul                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/opinion
2022-04-28   2022-05-01 /wynn-bruce-self-immolation.html            The Vexing Horror of SelfImmolation        By Jay Caspian Kang                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/realesta
2022-04-28   2022-05-01 te/beach-house-rentals-most-revenue.html    Adopting a Seashore Strategy               By Michael Kolomatsky              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/sports/b
2022-04-28   2022-05-01 asketball/trae-young-hawks-hair-nba.html    This Hair Deserves Its Own Retired Jersey  By Wesley Morris                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/style/bo Need a Wedding Favor Try the BestSeller
2022-04-28   2022-05-01 oks-wedding-favors-for-guests.html          List                                       By Rachel Kramer Bussel            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/style/bo
2022-04-28   2022-05-01 yfriend-ex-wife-social-qs.html              Uncut Ties That Bind                       By Philip Galanes                  TX 9-172-761   2022-07-01



                                                                               Page 3693 of 5793
                        https://www.nytimes.com/2022/04/28/style/el
2022-04-28   2022-05-01 on-musk-tweets.html                          He Always Tweeted as if He Owned the Place By John Herrman                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/technol
2022-04-28   2022-05-01 ogy/tech-uncertainty.html                    PartyCrashing Strangers at the Gate        By Shira Ovide                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/interactive/2022/04/
2022-04-28   2022-05-01 28/magazine/la-riot-timeline-photos.html     What Were the LA Riots                     By The New York Times Magazine TX 9-172-761   2022-07-01
                        https://www.nytimes.com/interactive/2022/04/ A Fire Island Upgrade for Around 1 Million
2022-04-28   2022-05-01 28/realestate/28hunt-erdheim.html            Their Options Were Limited                 By Joyce Cohen                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/us/briti
2022-04-29   2022-05-01 sh-virgin-islands-premier-arrested.html      US Arrests British Virgin Islands Leader   By Vimal Patel                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/us/hone Millions of Honeybees Were Shipped to
2022-04-29   2022-05-01 ybees-died-atlanta-airport-alaska.html       Alaska But They Never Made It              By Isabella Grulln Paz         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/arts/mu
2022-04-29   2022-05-01 sic/dimitri-mitropoulos-sony-box-set.html    Conductor Reconsidered                     By David Allen                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/arts/mu Klaus Schulze Pioneering Electronic
2022-04-29   2022-05-01 sic/klaus-schulze-dead.html                  Musician and Composer Is Dead at 74        By Jon Pareles                 TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/04/29/arts/tele
2022-04-29   2022-05-01 vision/vanessa-bayer-i-love-that-for-you.html Cancer in Her Past and in Her Script     By Alexis Soloski              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/04/29/books/r
                        eview/hilde-lysiak-hilde-on-the-record-
2022-04-29   2022-05-01 memoir-of-a-kid-crime-reporter.html           Inside Story                             By Megan Twohey                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/04/29/books/r
2022-04-29   2022-05-01 eview/john-cho-troublemaker.html              Good Trouble                             By Steph Cha                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/04/29/books/r
2022-04-29   2022-05-01 eview/new-paperbacks.html                     Paperback Row                            By Miguel Salazar              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/04/29/busines The Office Beckons So What Are We
2022-04-29   2022-05-01 s/casual-workwear-clothes-office.html         Wearing Now                              By Sapna Maheshwari            TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/04/29/busines Philip J Hilts 74 a Times Journalist Who
2022-04-29   2022-05-01 s/media/philip-j-hilts-dead.html              Exposed Tobacco CoverUp Dies             By Katharine Q Seelye          TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/04/29/busines Why Netflix Is the Worst Performer in the
2022-04-29   2022-05-01 s/netflix-stock-market-earnings.html          SampP 500                                By Jeff Sommer                 TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/04/29/busines Stretching the Typical Workday To Fit a
2022-04-29   2022-05-01 s/working-9-to-2-and-again-after-dinner.html Number of Time Demands                     By Emma Goldberg              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/04/29/movies/ Catherine Spaak 77 Darling of Italian Cinema
2022-04-29   2022-05-01 catherine-spaak-dead.html                    in 60s                                     By Annabelle Williams         TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/04/29/nyregio
2022-04-29   2022-05-01 n/fashion-workers-act-exploitation.html      Beyond Clothes Thinking of the Models      By Ginia Bellafante           TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/04/29/nyregio During Ramadan Charity And Good Works
2022-04-29   2022-05-01 n/ramadan-charitable-giving.html             Abound                                     By Liam Stack                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/04/29/nyregio
2022-04-29   2022-05-01 n/textile-building-new-york.html             Without Its Hub an Industry Regroups       By Jane Margolies             TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/04/29/opinion
2022-04-29   2022-05-01 /energy-crisis-oil-gas-climate-change.html   Opening the Door for Fossil Fuels          By Kate Aronoff               TX 9-172-761    2022-07-01



                                                                                Page 3694 of 5793
                        https://www.nytimes.com/2022/04/29/opinion
2022-04-29   2022-05-01 /inflation-interest-rates.html               The Courage Required To Confront Inflation By The Editorial Board              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/opinion                                                 By Christopher Caldwell and Mark
2022-04-29   2022-05-01 /jd-vance-senate.html                        The Decline of Ohio and the Rise of Vance Peterson                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/realesta
2022-04-29   2022-05-01 te/black-homeowners-gay-enclaves.html        Feeling Unwelcome at a Gay Haven              By Zach Stafford                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/realesta Long Shadow of a Storm Keeps Residents on
2022-04-29   2022-05-01 te/fire-island-hurricane-sustainability.html Guard                                         By Gregory Schmidt               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/realesta His Mission Is to Preserve The Heritage of the
2022-04-29   2022-05-01 te/fire-island-pines-preservation.html       Pines                                         By Julie Lasky                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/sports/s
                        occer/champions-league-real-madrid-          Thanks to Europes Superclubs a Superb
2022-04-29   2022-05-01 liverpool.html                               Competition                                   By Rory Smith                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/style/al
                        exandra-wagner-stephen-sullivan-             Winning With Bingo and Then Bringing Her
2022-04-29   2022-05-01 wedding.html                                 the Stars                                     By Rosalie R Radomsky            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/style/al Responding to Emergencies and Making a
2022-04-29   2022-05-01 exandra-walsh-ben-nguyen-wedding.html        Connection                                    By Vincent M Mallozzi            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/style/an In the Eternal City the Start of a Forever
2022-04-29   2022-05-01 drew-eversden-rachel-wertz-wedding.html      Romance                                       By Emma Grillo                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/style/ha
2022-04-29   2022-05-01 lo-olive-gray.html                           An Indie Musician Who Stars in Halo           By Alex Hawgood                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/style/ja
2022-04-29   2022-05-01 mie-hector-we-own-this-city.html             Jamie Hector Wants That Black Belt            By Alexis Soloski                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/style/jo
2022-04-29   2022-05-01 hnny-depp-amber-heard-fans.html              Defamation Trial Draws the Superfans          By Ezra Marcus                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/style/ka
2022-04-29   2022-05-01 vya-naini-eric-elofson-wedding.html          A Text a Day Kept More Suitors Away           By Sadiba Hasan                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/style/m
2022-04-29   2022-05-01 arissa-valdez-brian-shirley-wedding.html     The One She Could Always Turn To              By Vincent M Mallozzi            TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/04/29/style/mi With Only One to Choose From a Great
2022-04-29   2022-05-01 chael-taylor-timothy-vincent-wedding.html Choice                                          By Alix Wall                    TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/29/style/m With Mixed Feelings a Look Back at Life in
2022-04-29   2022-05-01 odern-love-rostov-on-don-russia.html         Russia                                       By Melani Robinson              TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/29/world/e Mutton Kings of Yore Probably Ate More
2022-04-29   2022-05-01 urope/anglo-saxon-kings-diet.html            Greens                                       By Maria Cramer                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/29/world/e                                                By Thomas GibbonsNeff Natalia
2022-04-29   2022-05-01 urope/ukraine-war-casualties-grief.html      A Body Bag and a Sister in Denial            Yermak and Tyler Hicks          TX 9-172-761     2022-07-01
                        https://www.nytimes.com/interactive/2022/04/
                        29/realestate/fire-island-pines-lost-        Hidden in a Fire Island House the Soundtrack
2022-04-29   2022-05-01 soundtrack.html                              of Love and Loss                             By TM Brown                     TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/29/sports/b The Mets Scribble an Imperfect Page for the
2022-04-30   2022-05-01 aseball/tylor-megill-mets-no-hitter.html     History Books                                By Tyler Kepner                 TX 9-172-761     2022-07-01




                                                                                Page 3695 of 5793
                        https://www.nytimes.com/2022/04/30/busines Berkshire Hathaway Reports a Major Drop in
2022-04-30   2022-05-01 s/dealbook/berkshire-hathaway-earnings.html Earnings                                    By Stephen Gandel                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/busines Outsize Mogul Outsize Debt The Math of the By Anupreeta Das and Lauren
2022-04-30   2022-05-01 s/elon-musk-twitter.html                    Twitter Deal                                Hirsch                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/busines
2022-04-30   2022-05-01 s/twitter-free-speech-musk.html             They Wish They Knew How to Quit Twitter By Jeremy W Peters                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/nyregio In Vetting of New Yorks No 2 Hochuls Team By Luis FerrSadurn Nicholas
2022-04-30   2022-05-01 n/brian-benjamin-kathy-hochul.html          Missed Red Flags                            Fandos and Jeffery C Mays         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/nyregio
                        n/evie-hantzopoulos-queens-botanical-
2022-04-30   2022-05-01 garden.html                                 Up With the Chickens and Off to a Busy Day By Nancy A Ruhling                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/opinion
2022-04-30   2022-05-01 /forced-addiction-treatment.html            Forced Addiction Treatment Fails            By Maia Szalavitz                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/opinion
2022-04-30   2022-05-01 /ohio-senate-trump.html                     The Return Of the GOP Civil War             By Ross Douthat                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/realesta My Neighbor Gated Our Shared Alley Do I
2022-04-30   2022-05-01 te/neighbor-property-line.html              Have a Right to Cut the Padlock             By Ronda Kaysen                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/sports/f What Happens in Vegas Requires No Further
2022-04-30   2022-05-01 ootball/nfl-las-vegas-arrests.html          Security the NFL Says                       By Emmanuel Morgan                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/sports/n
2022-04-30   2022-05-01 caabasketball/vivian-stringer-retires.html  Rutgers Coach Announces Her Retirement      By Alan Blinder                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/style/m
2022-04-30   2022-05-01 others-day-picture-frames-gift.html         Mothers Day Gifts Perfect for Pictures      By Anthony Rotunno                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/us/ando Tornado Damages Up to 1000 Structures in By Carey Gillam and Sophie
2022-04-30   2022-05-01 ver-kansas-tornado-wichita.html             Kansas                                      Kasakove                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/us/polit Candidate in Nebraska Again Accused of
2022-04-30   2022-05-01 ics/charles-herbster-groping.html           Groping                                     By Reid J Epstein                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/us/polit They Grew Up in the US but Cant Stay After
2022-04-30   2022-05-01 ics/documented-dreamers.html                They Turn 21                                By Aishvarya Kavi                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/world/a                                              By Christina Goldbaum Safiullah
                        sia/pakistan-airstrikes-afghanistan-        I Lost Everything Afghan Toll Rising in     Padshah and Nanna Muus
2022-04-30   2022-05-01 taliban.html                                Pakistan Conflict                           Steffensen                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/world/e
                        urope/northern-ireland-elections-sinn-      In Northern Ireland Divided Unionists Leave
2022-04-30   2022-05-01 fein.html                                   Opening for Nationalists                    By Mark Landler                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/world/e Putin Redeploys Troops In Attempt to         By Marc Santora Jane Arraf and
2022-04-30   2022-05-01 urope/russia-oil-ukraine-weapons.html       Recapture Momentum in Ukraine               Michael Levenson                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/world/e Ukraine Makes Clear Its Official Ambiguity
2022-04-30   2022-05-01 urope/ukraine-russia-attack-denials.html    on Strikes in Russia                        By Andrew E Kramer                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/world/e
                        urope/ukraine-scythia-gold-museum-          Brazen Heist At Museum Nets Russians        By Jeffrey Gettleman and
2022-04-30   2022-05-01 russia.html                                 Trove of Gold                               Oleksandr Chubko                  TX 9-172-761   2022-07-01




                                                                                Page 3696 of 5793
                        https://www.nytimes.com/2022/04/30/world/
                        middleeast/miilya-israel-archaeology-     Digging Into Their Towns Past Right Below
2022-04-30   2022-05-01 crusaders-byzantine.html                  Their Homes                                   By Patrick Kingsley                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/04/30/world/ Keeping a Digital Tally Of Their Praises to
2022-04-30   2022-05-01 middleeast/muslims-digital-prayer-rings.html God                                        By Raja Abdulrahim               TX 9-172-761     2022-07-01
                                                                                                                By Karen Yourish Weiyi Cai Larry
                                                                                                                Buchanan Aaron Byrd Barbara
                                                                                                                Harvey Blacki Migliozzi Rumsey
                        https://www.nytimes.com/interactive/2022/04/ Inside the Apocalyptic Worldview of Tucker Taylor Josh Williams and Michael
2022-04-30   2022-05-01 30/us/tucker-carlson-tonight.html            Carlson Tonight                            Zandlo                           TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/01/busines
2022-05-01   2022-05-01 s/twitter-deal-elon-musk.html                With Interest                              By Marie Solis                   TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/01/sports/f At the End of the Draft Mr Irrelevant Is
2022-05-01   2022-05-01 ootball/mr-irrelevant-nfl-draft.html         Center Stage                               By Ken Belson                    TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/01/sports/t 12 and Under Competing Like the Tennis
2022-05-01   2022-05-01 ennis/img-tournament-tennis-teens.html       Pros                                       By Matthew Futterman             TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/01/style/ch
2022-05-01   2022-05-01 aplin-awards-ziwe-fashion.html               Vibrant Sweaters And Shiny Capes           By Denny Lee                     TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/01/technol
2022-05-01   2022-05-01 ogy/jony-ive-apple-design.html               How Technocrats Triumphed at Apple         By Tripp Mickle                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/21/arts/mu                                              By Marcus J Moore and Giovanni
2022-04-21   2022-05-02 sic/charles-mingus-centennial.html           Recalling A Bassists Brilliance            Russonello                       TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/26/sports/c
                        hristy-henrich-gymnastics-eating-disorder-
2022-04-26   2022-05-02 death.html                                   Lessons Learned Slowly                     By Maggie Astor                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/27/books/v
2022-04-27   2022-05-02 auhini-vara-the-immortal-king-rao.html       The Due Diligence Of a Debut Novel         By Alisha Haridasani Gupta       TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/27/nyregio Adams the Patron Saint of Second Chances By Dana Rubinstein and Jeffery C
2022-04-27   2022-05-02 n/eric-adams-administration.html             Tests His Beliefs                          Mays                             TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/04/27/travel/s
2022-04-27   2022-05-02 hadow-lake-lodge-canada-backcountry.html Getting to This Resort Is the Only Hard Part   By Alex Hutchinson                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/books/e Biographer Digs Deep on One of the Most      By Alexandra Alter and Elizabeth
2022-04-28   2022-05-02 lon-musk-books-biography.html                Influential People on the Planet           A Harris                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/arts/tele
2022-04-29   2022-05-02 vision/ridley-road-review-pbs.html           Undercover With the NeoNazis               By Mike Hale                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/climate
2022-04-29   2022-05-02 /solar-industry-imports.html                 Solar Firms Across US Are Frozen           By David Gelles                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/fashion Here to Help Vanessa Friedman Answers
2022-04-29   2022-05-02 /travel-influencers-style.html               Your Style Questions                       By Vanessa Friedman                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/movies/ Russias Movie Theaters Turn to Pirate
2022-04-29   2022-05-02 russia-movie-theaters-piracy.html            Screenings                                 By Valeriya Safronova              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/obituari Overlooked No More Ady Fidelin Black
2022-04-29   2022-05-02 es/ady-fidelin-overlooked.html               Model Hidden in Plain Sight                By Rachel Felder                   TX 9-172-761   2022-07-01



                                                                                Page 3697 of 5793
                        https://www.nytimes.com/2022/04/29/technol As Pandemic Boom Fades Instacart Shifts Its By Kellen Browning and Erin
2022-04-29   2022-05-02 ogy/instacart-valuation-pandemic.html        Strategy                                     Griffith                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/arts/des
                        ign/venice-biennale-review-milk-of-dreams-
2022-04-30   2022-05-02 women.html                                   Looking Inward and Back                      By Jason Farago                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/arts/mu Naomi Judd 76 Half of a Country Powerhouse
2022-04-30   2022-05-02 sic/naomi-judd-dead.html                     That Sang of Heartache Dies                  By Clay Risen                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/busines
                        s/dealbook/elon-musks-sec-gag-order-         Musk Joins Executives Asking Supreme
2022-04-30   2022-05-02 supreme-court.html                           Court To Kill SEC Gag Rule                   By Ephrat Livni                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/opinion Another California Forest Is in Peril But This
2022-04-30   2022-05-02 /climate-change-california-kelp.html         One Is Underwater                            By David Helvarg                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/sports/n Its Just Been Freeing Races Add a Category By Lauren Rowello and Hilary
2022-04-30   2022-05-02 onbinary-runners-races.html                  For Nonbinary Athletes                       Swift                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/technol
2022-04-30   2022-05-02 ogy/twitter-board-elon-musk.html             How Twitter Did Its Deal With Musk           By Lauren Hirsch and Mike Isaac   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/us/three
                        meteorology-students-killed-in-car-crash-in-                                              By Sophie Kasakove and Eduardo
2022-04-30   2022-05-02 oklahoma.html                                3 Students Out Chasing Twister Die           Medina                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/us/tuck
2022-04-30   2022-05-02 er-carlson-fox-news.html                     American Nationalist                         By Nicholas Confessore            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/world/e Another Kink in Global Supply Chain Lack of
2022-04-30   2022-05-02 urope/cooking-oil-shortage-ukraine.html      Sunflower Oil from Ukraine                   By Christine Hauser               TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/01/arts/dan
2022-05-01   2022-05-02 ce/finding-a-home-at-la-mama-moves.html     United by a Taste for Experimentation         By Brian Seibert                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/arts/phi
2022-05-01   2022-05-02 lip-guston-show-debate.html                 Bold Art Displayed Ever So Cautiously         By Marc Tracy and Robin Pogrebin TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/arts/reg Rgine 92 Is Dead Creator of First Disco And a
2022-05-01   2022-05-02 ine-dead.html                               Dazzling Empire                               By Robert D McFadden             TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/crossw
2022-05-01   2022-05-02 ords/daily-puzzle-2022-05-02.html           Digging Into Todays Crossword                 By Deb Amlen                     TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/01/opinion Were in a Loneliness Crisis Another Reason
2022-05-01   2022-05-02 /loneliness-connectedness-technology.html   to Get Off Our Phones                       By Tish Harrison Warren             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/01/opinion JD Vance Isnt the Real Star of His Own
2022-05-01   2022-05-02 /trump-jd-vance-ohio.html                   Senate Campaign                             By Michelle Cottle                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/01/opinion My Twitter Pullback Is About More Than
2022-05-01   2022-05-02 /twitter-hate-speech.html                   Elon Musk                                   By Charles M Blow                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/01/sports/b A Rare New York April of Shared
2022-05-01   2022-05-02 aseball/mets-yankees-best-record.html       LeagueBest Success                          By Benjamin Hoffman                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/01/sports/b
                        asketball/milwaukee-bucks-boston-celtics-   Celtics Have What It Takes to Slow
2022-05-01   2022-05-02 giannis.html                                Antetokounmpo but Cant                      By Andrew Keh                       TX 9-172-761   2022-07-01




                                                                                Page 3698 of 5793
                        https://www.nytimes.com/2022/05/01/sports/f
2022-05-01   2022-05-02 ootball/nfl-draft-winners-losers.html       In This Draft Class It Was Better to Receive   By Mike Tanier                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/sports/k A First for the Garden Becomes a Candidate
2022-05-01   2022-05-02 atie-taylor-amanda-serrano-boxing.html      For the Years Top Bout                         By Remy Tumin                    TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/upshot/ Pandemic Home Market Creates Vast Riches        By Emily Badger and Quoctrung
2022-05-01   2022-05-02 pandemic-housing-market-wealth.html         and More Inequality                            Bui                              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/us/new- Strong Winds Keep Fueling Wildfire in New
2022-05-01   2022-05-02 mexico-wildfire.html                        Mexico                                         By Julia Goldberg                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/us/polit War Crimes Hearing Revisits Abuses Meted
2022-05-01   2022-05-02 ics/afghanistan-war-crimes-uss-cole.html    by US Troops                                   By Carol Rosenberg               TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/01/us/polit Biden Was Warned Immigration and Inflation By Zolan KannoYoungs Jonathan
2022-05-01   2022-05-02 ics/biden-approval-inflation-immigration.html Would Hurt Polls                         Martin and Alexander Burns           TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/us/polit Loss of Pandemic Aid Adds Stress for
2022-05-01   2022-05-02 ics/covid-aid-hospitals-uninsured.html        Hospitals Treating the Uninsured         By Noah Weiland                      TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/us/polit In Trumps Shadow Ohio Republicans
2022-05-01   2022-05-02 ics/josh-mandel-vance-ohio-senate.html        Campaign Ahead of Primary                By Trip Gabriel                      TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/us/polit Biden Extols Mondale as Great Giant of
2022-05-01   2022-05-02 ics/walter-mondale-memorial.html              American History                         By Peter Baker                       TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/01/us/polit Correspondents Dinner Returns With
2022-05-01   2022-05-02 ics/white-house-correspondents-dinner.html Tradition Of Jokes and Glamour                  By Peter Baker                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/world/a
                        mericas/honduras-xiomara-castro-womens- Honduran Leader Falters On Her Agenda for          By Anatoly Kurmanaev and Joan
2022-05-01   2022-05-02 rights.html                                 Women                                          Suazo                            TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/world/a ISIS Attacks in Afghanistan Signal Bloody
2022-05-01   2022-05-02 sia/afghanistan-isis-attacks.html           New Chapter                                    By Christina Goldbaum            TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/world/a Beijing Escalates Its Covid Restrictions but
2022-05-01   2022-05-02 sia/beijing-china-covid.html                Stops Short of a Full Lockdown                 By Vivian Wang                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/world/a Xi Remains Silent as Virus Lockdown Grips
2022-05-01   2022-05-02 sia/china-covid-zero-xi-jinping.html        Shanghai for Weeks                             By Chris Buckley                 TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/01/world/a We Want Change Young People Aim to
2022-05-01   2022-05-02 sia/philippines-election-marcos-robredo.html Upend Philippine Election                     By SuiLee Wee                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/01/world/e One Russian Tycoon Spoke Up Retribution         By Anton Troianovski and Ivan
2022-05-01   2022-05-02 urope/oligarch-putin-oleg-tinkov.html        Came a Day Later                              Nechepurenko                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/01/world/e Pelosi Visits Kyiv Echoing US Vow of Wide       By Steven Erlanger Jane Arraf and
2022-05-01   2022-05-02 urope/ukraine-russia-war-pelosi.html         Victory                                       Marc Santora                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/01/world/ Hit Ramadan Television Show Lionizes
2022-05-01   2022-05-02 middleeast/egypt-ramadan-tv-el-sisi.html     Egyptian Leaders Origin Story                 By Vivian Yee                    TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/01/your-
                        money/home-buyers-mortgage-rates-
2022-05-01   2022-05-02 inflation.html                               Can You Afford That New Home                  By Tara Siegel Bernard           TX 9-172-761    2022-07-01




                                                                                 Page 3699 of 5793
                        https://www.nytimes.com/2022/05/01/sports/b
                        asketball/golden-state-warriors-memphis-      Golden States Green Leaves Early But
2022-05-02   2022-05-02 grizzlies.html                                Teammates Show Tenacity Late                 By Tania Ganguli         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/arts/tv-
2022-05-02   2022-05-02 try-harder-sheryl-crow.html                   This Week on TV                              By Gabe Cohn             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/nyregio New York Hopes Fear Will Slow Down
2022-05-02   2022-05-02 n/nyc-speeding-traffic-deaths.html            Drivers                                      By Winnie Hu             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/sports/b
                        asketball/brittney-griner-phoenix-            A League of Action Becomes Muted as Griner
2022-05-02   2022-05-02 mercury.html                                  Languishes                                   By Kurt Streeter         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/sports/h A 2Time Champ and 15 Other Challengers
2022-05-02   2022-05-02 ockey/nhl-stanley-cup-playoffs.html           Vie for an Earl of Derbys Trophy             By Victor Mather         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/world/e Plan to Send Asylum Seekers to Rwanda
2022-05-02   2022-05-02 urope/uk-asylum-rwanda.html                   Makes Migrants in Britain Dread Future       By Megan Specia          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/21/well/mi
2022-04-21   2022-05-03 nd/dementia-prevention-food-diet.html         Can Certain Foods Stave Off Dementia         By Amelia Nierenberg     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/22/well/m
2022-04-22   2022-05-03 ove/fitness-bouldering-rock-climbing.html     Beginners Guide to Bouldering                By Erik Vance            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/25/travel/j A Long Walk in a Lush and Fascinating
2022-04-25   2022-05-03 apan-kii-peninsula-pilgrimage-routes.html     Corner of Japan                              By Craig Mod             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/26/well/fa
2022-04-26   2022-05-03 mily/covid-texting-grief.html                 When the Very Personal Becomes Impersonal By Jennifer Spitzer         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/26/well/fa
2022-04-26   2022-05-03 mily/hepatitis-children-symptoms.html         Spotting Signs of Hepatitis in Kids          By Catherine Pearson     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/arts/mu
2022-04-27   2022-05-03 sic/carla-morrison-el-renacimiento.html       Singing Bluntly About Her Struggles          By Jon Pareles           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/science
2022-04-27   2022-05-03 /pandemic-viruses-machine-learning.html       Using Computers To Help Spot Viruses         By Carl Zimmer           TX 9-172-761   2022-07-01
                                                                      Wrecked in Space NASA Spots Debris Left
                        https://www.nytimes.com/2022/04/27/science by an Advanced Civilization Well Relatively
2022-04-28   2022-05-03 /nasa-mars-wreckage-photo.html                Advanced                                     By Kenneth Chang         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/science Climate Change Will Quicken Viral Spillover
2022-04-28   2022-05-03 /climate-change-virus-spillover.html          Study Finds                                  By Carl Zimmer           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/science
2022-04-28   2022-05-03 /frogs-mating-songs.html                      What a Female Frog Considers Alluring        By Sabrina Imbler        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/well/liv
2022-04-29   2022-05-03 e/neck-joint-pain-phone.html                  Phones Do a Number On Our Physical Health By Melinda Wenner Moyer     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/science Ultimate Birds Once Prowling the Seas of
2022-04-29   2022-05-03 /swan-fossil-japan.html                       Japan A Family of Flightless Swans           By Asher Elbein          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/science Sullen Crawlers A Worm With Four Fangs
2022-04-30   2022-05-03 /bloodworms-copper-teeth.html                 And One Nasty Temperament                    By Veronique Greenwood   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/busines Fuad ElHibri 64 Whose Company Made and
2022-04-30   2022-05-03 s/fuad-el-hibri-dead.html                     Threw Out Tainted Vaccines                   By Clay Risen            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/01/arts/bill-
2022-05-01   2022-05-03 murray-misconduct-being-mortal.html           A Star Speaks About His Insensitive Behavior By Alex Traub            TX 9-172-761   2022-07-01



                                                                               Page 3700 of 5793
                        https://www.nytimes.com/2022/05/01/books/
2022-05-01   2022-05-03 maia-kobabe-gender-queer-book-ban.html     The Most Banned Book In the Nation          By Alexandra Alter                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/01/opinion Republicans Lash Out at an Old Friend Big
2022-05-01   2022-05-03 /desantis-republicans-disney.html          Business                                    By Stephanie Slade                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/01/opinion
                        /environment/climate-change-emergency-
2022-05-01   2022-05-03 despair-activism.html                      A Remedy for Climate Anxiety                By Margaret Klein Salamon          TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/01/science Multitudinous Melodies You Hear the
2022-05-01   2022-05-03 /musical-saw-mathematics.html                Musical Saw Mathematicians Hear Geometry By Nicholas Bakalar                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/01/nyregio Kathy Boudin Radical Imprisoned in Fatal
2022-05-02   2022-05-03 n/kathy-boudin-dead.html                     Brinks Robbery Dies at 78                   By Clyde Haberman                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/arts/dan
2022-05-02   2022-05-03 ce/janie-taylor-la-dance-project.html        Making Her Move to Choreography             By Roslyn Sulcas                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/arts/joh Depp Lost 225 Million Pirates Role After
2022-05-02   2022-05-03 nny-depp-amber-heard.html                    OpEd Manager Says                           By Julia Jacobs                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/arts/tele
2022-05-02   2022-05-03 vision/oscar-isaac-moon-knight.html          He Learned to Love Blockbusters Again       By Dave Itzkoff                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/books/r Like Shots of Fireball Cinnamon Whisky in
2022-05-02   2022-05-03 eview-tacky-rax-king.html                    Words                                       By Dwight Garner                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/busines
2022-05-02   2022-05-03 s/apple-pay-antitrust-eu.html                EU Says Apple Pay Is Unfair To Rivals       By Adam Satariano                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/busines Universal Will Send 3 Films Straight to
2022-05-02   2022-05-03 s/media/peacock-streaming-movies.html        Peacock in Bid to Boost App                 By Nicole Sperling               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/busines Ron Galella Celebrity Chaser Who Took
2022-05-02   2022-05-03 s/media/ron-galella-dead.html                Pictures and a Punch Dies at 91             By Paul Vitello                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/busines Spirit Rejects JetBlues Merge Offer Saying It
2022-05-02   2022-05-03 s/spirit-airlines-rejects-jetblue-offer.html Would Likely Be Blocked                     By Niraj Chokshi                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/climate Energy Dept Moves to Spur EV Batteries
2022-05-02   2022-05-03 /biden-electric-car-batteries.html           Made in US                                  By Lisa Friedman                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/health/j
2022-05-02   2022-05-03 ohn-fryer-psychiatry.html                    A Moment of Truth                           By Ellen Barry                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/nyregio New York Will Remove Benjamin From
2022-05-02   2022-05-03 n/brian-benjamin-ballot-removal.html         Ballot                                      By Grace Ashford                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/nyregio Theres Still Much That Has to Happen Before
2022-05-02   2022-05-03 n/casino-manhattan-nyc.html                  the Games Can Begin                         By Dana Rubinstein               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/nyregio
2022-05-02   2022-05-03 n/new-york-evictions-cases.html              New York City Evictions Accelerate          By Mihir Zaveri                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/nyregio New York City Enters Higher Covid Risk        By Sharon Otterman and Emma G
2022-05-02   2022-05-03 n/nyc-coronavirus-yellow-risk-level.html     Level as Cases Rise                         Fitzsimmons                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/nyregio Democrats in LastDitch Push to Save New
2022-05-02   2022-05-03 n/redistricting-democrats-appeal.html        York House Maps                             By Nicholas Fandos               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/nyregio
                        n/rochester-teacher-cotton-slavery-          Suspension For Teacher Over Lesson On
2022-05-02   2022-05-03 suspension.html                              Slavery                                     By Ashley Wong and Lola Fadulu   TX 9-172-761   2022-07-01



                                                                               Page 3701 of 5793
                        https://www.nytimes.com/2022/05/02/opinion Financial Help for Kids Doesnt Have to        By Robert E Rubin and Jacob J
2022-05-02   2022-05-03 /child-tax-credit.html                      Increase Inflation                           Lew                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/opinion
2022-05-02   2022-05-03 /european-union-macron-ukraine.html         Europe Is in Danger It Always Is             By Caroline de Gruyter          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/sports/b Mets Say Goodbye to Can at a Cost Of Tens
2022-05-02   2022-05-03 aseball/robinson-cano-mets.html             of Millions as Rosters Shrink                By James Wagner                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/sports/h After 4 Years Rangers Return To the Playoffs
2022-05-02   2022-05-03 ockey/nhl-playoffs-rangers.html             Is Letter Perfect                            By David Waldstein              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/sports/o Officials Propose Gradually Raising the
2022-05-02   2022-05-03 lympics/figure-skating-age.html             Minimum Age to 17 for Major Events           By Andrew Keh                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/sports/o
                        lympics/modern-pentathlon-horses-obstacle-
2022-05-02   2022-05-03 course.html                                 Federation Eliminates The Riding Of Horses By Victor Mather                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/sports/s Some World Cup Sponsors Keeping Distance
2022-05-02   2022-05-03 occer/world-cup-sponsors-qatar.html         From Qatar                                   By Tariq Panja                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/technol Amazon Labor Union Loses Its Vote at a        By Karen Weise Noam Scheiber
2022-05-02   2022-05-03 ogy/amazon-union-staten-island.html         Second Warehouse on Staten Island            and Coral Murphy Marcos         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/technol                                               By Daisuke Wakabayashi and Cade
2022-05-02   2022-05-03 ogy/google-fires-ai-researchers.html        Dismissal Fuels Split In AI Unit At Google Metz                              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/theater/
2022-05-02   2022-05-03 wendell-pierce-death-of-a-salesman.html     Death of a Salesman Is Broadway Bound        By Michael Paulson              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/us/ohio- In Ohio Senate Primary Republicans Feel      By Jazmine Ulloa and Jonathan
2022-05-02   2022-05-03 senate-republican-primary.html              Strain Of Partys Identity Crisis             Weisman                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/us/polit Democrats Midterm Hurdle A Dour National
2022-05-02   2022-05-03 ics/democrats-midterms-ohio.html            Mood                                         By Katie Glueck                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/us/polit Whispers Grow Louder Is Feinstein Fit to
2022-05-02   2022-05-03 ics/dianne-feinstein-memory-issues.html     Serve                                        By Annie Karni                  TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/02/us/polit
2022-05-02   2022-05-03 ics/former-nypd-officer-convicted-jan-6.html ExOfficer Is Convicted In Riot Case      By Alan Feuer                    TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/02/us/polit Gorsuch Calls for Overruling Shameful Cases
2022-05-02   2022-05-03 ics/gorsuch-supreme-court-insular-cases.html on Territories                             By Adam Liptak                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/02/us/polit Jan 6 Panel Seeks Interviews With 3 More
2022-05-02   2022-05-03 ics/house-jan-6-panel-gop-lawmakers.html     GOP Lawmakers                              By Luke Broadwater             TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/02/us/tenn Executions Are Halted In Tennessee For the
2022-05-02   2022-05-03 essee-executions-lethal-injection.html       Year                                       By Nicholas BogelBurroughs     TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/02/us/trum Grand Jury Will Review if Trump Interfered
2022-05-02   2022-05-03 p-election-georgia-grand-jury.html           in Election                                By Richard Fausset             TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/02/us/us-
2022-05-02   2022-05-03 uranium-supply-native-tribes.html            A Debate Over Uranium and Tribal Lands     By Simon Romero                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/02/world/a An Epicurean Citys Latest Food Fad Is
2022-05-02   2022-05-03 sia/hong-kong-inexpensive-dining.html        Unapologetically Basic                     By Vivian Wang and Joy Dong    TX 9-172-761     2022-07-01




                                                                                 Page 3702 of 5793
                        https://www.nytimes.com/2022/05/02/world/a Bangladesh Closes Dozens of Schools in
2022-05-02   2022-05-03 sia/rohingya-bangladesh-school-closings.html Rohingya Refugee Camps                   By Saif Hasnat and Sameer Yasir     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/world/a They Had a Happy Life Together One         By Jeffrey Gettleman and Daniel
2022-05-02   2022-05-03 sia/ukraine-bucha-russia-atrocities.html     Russian Bullet Ended It All              Berehulak                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/world/b Hoping to Avoid Shanghais Fate Beijing     By Amy Chang Chien and Amy
2022-05-02   2022-05-03 eijing-isolation-center-lockdown.html        Ramps Up Covid Measures                  Qin                                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/world/e
2022-05-02   2022-05-03 urope/kyiv-ukraine-russia-war.html           In Kyiv Embracing Normalcy And Spring    By Andrew E Kramer                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/world/e
                        urope/mariupol-evacuation-annex-             West Plans More Aid for Ukraine As       By Michael Schwirtz and Michael
2022-05-02   2022-05-03 donbas.html                                  Residents Escape Mariupol                Levenson                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/world/e
                        urope/spain-prime-minister-pegasus-          Spain Claims 2 Lawmakers Were Targets Of
2022-05-02   2022-05-03 spyware.html                                 Spyware                                  By Raphael Minder                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/world/e Sisters Perilous Journey From Mariupol to
2022-05-02   2022-05-03 urope/ukraine-war-mariupol-escape.html       Safety                                   By Cora Engelbrecht                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/sports/f No Proof That Browns Paid Coach to Lose
2022-05-03   2022-05-03 ootball/hue-jackson-browns-tanking.html      NFL Says                                 By Ken Belson and Jenny Vrentas     TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/02/technol Adviser on Threat Of Disinformation Draws By Steven Lee Myers and Zolan
2022-05-03   2022-05-03 ogy/partisan-dhs-disinformation-board.html Partisan Fire                                 KannoYoungs                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/theater/
                        review-a-case-for-the-existence-of-god-
2022-05-03   2022-05-03 samuel-hunter.html                          Tugging on a Thin Thread of Optimism         By Jesse Green                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/insider/
2022-05-03   2022-05-03 reporting-on-elon-musk-twitter.html         Reporting on an Unpredictable Deal           By Emmett Lindner                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/science
2022-05-03   2022-05-03 /hydroponics-fda-outbreak.html              Hydroponic Lettuce Was Safe Until It Wasnt By Deborah Schoch                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/science
2022-05-03   2022-05-03 /venom-medicines.html                       Venoms May Cure What Ails You                By Jim Robbins                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/sports/g Out of Pandemic a Junior College Power Built
2022-05-03   2022-05-03 aston-college-baseball.html                 From Scratch                                 By Billy Witz and Travis Dove    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/technol                                               By Ryan Mac Cade Metz and Kate
2022-05-03   2022-05-03 ogy/elon-musk-twitter-plan.html             Musk Wings It In Negotiating His Takeovers Conger                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/your- He Was a Crypto Executive With a Story to
2022-05-03   2022-05-03 money/zenledger-dan-hannum.html             Tell Until I Discovered It Didnt Add Up      By Ron Lieber                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/02/us/
                        roe-v-wade-abortion-supreme-court/roe-v-    Leaked Draft Shows Court Would Topple        By Michael D Shear and Adam
2022-05-03   2022-05-03 wade-abortion-supreme-court                 Roe v Wade                                   Liptak                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/03/us/
                        ohio-indiana-primary-election/ohio-indiana- Primaries in Indiana And Ohio Will Point To
2022-05-03   2022-05-03 primary-elections                           Direction of GOP                             By Jazmine Ulloa                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/26/dining/ To Unbox Eleven Madison Park Produces a
2022-04-26   2022-05-04 eleven-madison-park-meal-kit.html           Meal Kit                                     By Florence Fabricant            TX 9-172-761   2022-07-01



                                                                               Page 3703 of 5793
                        https://www.nytimes.com/2022/04/26/travel/h
2022-04-26   2022-05-04 otels-sustainability-net-zero.html           Hotels With NetZero Ambitions               By Elaine Glusac                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/28/arts/le
2022-04-28   2022-05-04 monada-podcast-being-studios.html            Theyre Taking the TV Out of Reality TV      By Alexis Soloski               TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/28/dining/
                        drinks/california-nebbiolo-carricante-wine-
2022-04-28   2022-05-04 aeris.html                                   A New Home for Italian Grapes               By Eric Asimov                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/28/dining/
2022-04-28   2022-05-04 drinks/holywater-tribeca.html                Booze Cruise Festivity on Terra Firma       By Robert Simonson              TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/28/movies/
2022-04-28   2022-05-04 kenneth-tsang-dead.html                      Kenneth Tsang 87 an Actor in 200 Films      By Austin Ramzy                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/29/dining/
2022-04-29   2022-05-04 popup-bagels-connecticut.html                New York Bagels From Connecticut            By Priya Krishna                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/29/dining/
2022-04-29   2022-05-04 scones-dried-strawberry.html                 Strawberry Scones Easily Stand Alone        By Melissa Clark                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/30/arts/just
                        in-green-who-put-himself-into-his-           Justin Green Dies at 76 His Cartoons Drew
2022-04-30   2022-05-04 underground-cartoons-dies-at-76.html         From His Catholic Guilt                     By Richard Sandomir             TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/02/arts/mu Pusha T Has No 1 Album With Its Almost
2022-05-02   2022-05-04 sic/pusha-t-billboard-chart.html             Dry                                         By Joe Coscarelli               TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/02/arts/tele
2022-05-02   2022-05-04 vision/new-netflix-game-show.html            Unfettered By Truth Or Erudition            By James Poniewozik             TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/02/dining/ To Provide Affordable Food Served In
2022-05-02   2022-05-04 beach-dunes-eats-arts-cafe-queens.html       Edgemere Queens                             By Florence Fabricant           TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/02/dining/
2022-05-02   2022-05-04 cioppino-anchor-oyster-bar.html              Rediscovering a Classic                     By Tejal Rao                    TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/02/dining/ To Slurp An International Art Fair With a
2022-05-02   2022-05-04 european-fine-art-foundation-new-york.html Side of Oysters                               By Florence Fabricant             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/dining/f
2022-05-02   2022-05-04 lorence-fabricant-mother-cooking.html        Cooking Lessons From My Mother              By Florence Fabricant             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/dining/j To Understand Discussing the History Of
2022-05-02   2022-05-04 apanese-green-tea-america.html               Japanese Green Tea                          By Florence Fabricant             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/dining/j To Consult New Book Explores Real Italian
2022-05-02   2022-05-04 oe-campanales-vino-book.html                 Wine                                        By Florence Fabricant             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/dining/t To Savor Reminders of the Sea Inside a
2022-05-02   2022-05-04 cho-monterey-bay-aquarium.html               Chocolate Bar                               By Florence Fabricant             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/opinion
2022-05-02   2022-05-04 /russia-brain-drain.html                     Russias Brain Drain Could Benefit the World By Peter Coy                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/science Successful Catch of Used Booster Followed
2022-05-02   2022-05-04 /rocket-lab-launch-helicopter.html           by a Cautious Release                       By Kenneth Chang                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/arts/tele David Birney 83 TV Star On Bridget Loves
2022-05-03   2022-05-04 vision/david-birney-dead.html                Bernie                                      By Richard Sandomir               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/arts/dan
2022-05-03   2022-05-04 ce/abi-jonathan-stafford-city-ballet.html    Pointe Counterpoint                         By Julia Jacobs and Zachary Small TX 9-172-761   2022-07-01



                                                                                 Page 3704 of 5793
                        https://www.nytimes.com/2022/05/03/arts/des                                              By Graham Bowley and Robin
2022-05-03   2022-05-04 ign/nyc-auction-rules-sothebys-christies.html City Ends Regulations On Auctions          Pogrebin                       TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/03/arts/mu
                        sic/carnegie-hall-will-host-concert-in-support-
2022-05-03   2022-05-04 of-ukraine.html                                 Carnegie Hall Sets Concert For Ukraine   By Javier C Hernndez           TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/03/arts/mu
2022-05-03   2022-05-04 sic/isata-sheku-kanneh-mason-carnegie.html Choosing Repertoire By Feel And by Ear         By David Allen                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/books/r
2022-05-03   2022-05-04 eview-liarmouth-john-waters.html            Manic Check Depraved Check Bloody Check By Molly Young                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/busines
2022-05-03   2022-05-04 s/biogen-aduhelm-michel-vounatsos.html      Biogen CEO Out After Sales Of Drug Sputter By Rebecca Robbins                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/busines BP Writes Off 255 Billion On Russia Exit
2022-05-03   2022-05-04 s/bp-profits-russia.html                    But Profits Rise                              By Stanley Reed                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/busines US Job Openings Reached a High of 115
2022-05-03   2022-05-04 s/economy/job-openings-quits.html           Million in March                              By Talmon Joseph Smith          TX 9-172-761   2022-07-01
                                                                    Europe is on the verge of banning Russian oil
                        https://www.nytimes.com/2022/05/03/busines But the punitive move may come with costly By Stanley Reed Melissa Eddy and
2022-05-03   2022-05-04 s/eu-oil-ban-russia-ukraine.html            disruptions                                   Benjamin Novak                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/busines
2022-05-03   2022-05-04 s/inflation-bonds-rates.html                Inflation Has These Bonds Earning More        By Ann Carrns                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/busines Rare Leak From Court Puts Politico In          By Benjamin Mullin and Katie
2022-05-03   2022-05-04 s/media/politico-supreme-court.html         Spotlight                                     Robertson                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/busines
2022-05-03   2022-05-04 s/russia-china-energy-ukraine.html          An Out for Russian Energy                     By Keith Bradsher               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/climate Upstream Reservoir on Colorado River Is So
2022-05-03   2022-05-04 /lake-powell-mead-water-drought.html        Low Government Will Cut Releases              By Henry Fountain               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/climate Where Waters Scarce Lawns Are Cut Out and By Henry Fountain and Joe
2022-05-03   2022-05-04 /las-vegas-lawn-grass-ban.html              Carted Away                                   Buglewicz                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/dining/ Wan Wan Focusing on Regional Thai Fare
2022-05-03   2022-05-04 nyc-restaurant-openings.html                Opens in NoLIta                               By Florence Fabricant           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/dining/r
2022-05-03   2022-05-04 eview-lucia-pizza-pete-wells.html           Originality Reigns Any Way You Slice It       By Pete Wells                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/health/ Tracking a Global Rise Of Hepatitis in
2022-05-03   2022-05-04 hepatitis-children-explainer.html           Children                                      By Emily Anthes                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/nyregio
                        n/antonio-delgado-new-york-lieutenant-      Hochul Picks Upstate Moderate to Be Her       By Luis FerrSadurn and Nicholas
2022-05-03   2022-05-04 governor-hochul.html                        New Lieutenant Governor                       Fandos                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/nyregio Sommelier Agrees to Pay 2 Restaurants In
2022-05-03   2022-05-04 n/caleb-ganzer-sommelier-arson.html         Arson Case                                    By Jonah E Bromwich             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/nyregio                                                By Karen Zraick and Grace
2022-05-03   2022-05-04 n/new-york-abortion-supreme-court.html      In New York Planning to Protect Access        Ashford                         TX 9-172-761   2022-07-01




                                                                                  Page 3705 of 5793
                        https://www.nytimes.com/2022/05/03/nyregio
                        n/nyc-lawyer-fired-over-handling-of-george- City Fires Lawyer Who Handled Suits Tied to
2022-05-03   2022-05-04 floyd-protesters-lawsuits.html              Protests                                    By Benjamin Weiser                  TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/03/opinion
2022-05-03   2022-05-04 /abortion-supreme-court-conservative.html   Overturning Roe Is Not Conservative           By Bret Stephens                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/03/opinion
2022-05-03   2022-05-04 /biden-ukraine.html                         Hey Biden Team on Ukraine Talk Less           By Thomas L Friedman              TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/03/opinion An America Without Reproductive Freedom
2022-05-03   2022-05-04 /roe-v-wade-america-future.html             Will Be a Dark Place                          By Michelle Goldberg              TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/03/opinion
2022-05-03   2022-05-04 /supreme-court-roe-wade.html                The Court Is Out of Step With the Country     By Jesse Wegman                   TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/03/sports/b I Think Hell Be a Superstar A Rookie Learns
2022-05-03   2022-05-04 aseball/jeremy-pena-astros.html             on the Job                                    By James Wagner                   TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/03/sports/b                                                By Jonathan Abrams and Michael
2022-05-03   2022-05-04 asketball/brittney-griner-detained-wnba.html US Labels Detention Of Griner Wrongful        Crowley                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/sports/h A Family Wages a SlowMotion Fight for          By John Branch and Amber
2022-05-03   2022-05-04 ockey/chris-snow-calgary-flames-als.html     Time                                          Bracken                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/sports/h Crosby 17 Seasons On Is Not Going
2022-05-03   2022-05-04 ockey/crosby-penguins-nhl-playoffs.html      Anywhere                                      By Shawna Richer                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/sports/s A Dream Dashed But Villarreal Relishes the
2022-05-03   2022-05-04 occer/liverpool-beat-villarreal.html         Run                                           By Rory Smith                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/us/cons Triumph and Turning Point for a Legal
2022-05-03   2022-05-04 ervative-legal-movement-roe-v-wade.html      Movement                                      By Charlie Savage                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/us/polit Midterm Races Get ShakeUp and a New
2022-05-03   2022-05-04 ics/abortion-midterms-supreme-court.html     Focus                                         By Katie Glueck and Reid J Epstein TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/us/polit DecadesOld Arguments From Right Finally
2022-05-03   2022-05-04 ics/alito-supreme-court-roe-wade.html        Find a Majority to Adopt Them                 By Adam Liptak                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/us/polit On Visit to Alabama Missile Plant Biden        By Zolan KannoYoungs and John
2022-05-03   2022-05-04 ics/biden-alabama-ukraine-aid.html           Calls for More Military Aid to Ukraine        Ismay                              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/us/polit Democrats in Congress Vow to Codify
2022-05-03   2022-05-04 ics/democrats-abortion.html                  Abortion Rights but Have Few Options          By Jonathan Weisman                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/us/polit
                        ics/norman-y-mineta-who-served-two-          Norman Y Mineta First Japanese American
2022-05-03   2022-05-04 presidents-in-cabinet-dies-at-90.html        Cabinet Officer Dies at 90                    By Robert D McFadden               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/us/polit
                        ics/supreme-court-leak-roe-v-wade-           Extraordinary Breach Delivers Blow to the
2022-05-03   2022-05-04 abortion.html                                Courts Legitimacy                             By Adam Liptak                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/us/polit Gathered at the Court to Protest or to
2022-05-03   2022-05-04 ics/supreme-court-protests-abortion.html     Celebrate                                     By Linda Qiu and Sarahbeth Maney TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/03/us/polit Trump Hotel Lawsuit Ends With 750000
2022-05-03   2022-05-04 ics/trump-hotel-lawsuit-settlement.html      Settlement                                    By Eric Lipton                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/us/polit Psychologist Describes Fearing for Prisoner at
2022-05-03   2022-05-04 ics/uss-cole-waterboarding-torture.html      CIA Black Site                                By Carol Rosenberg                 TX 9-172-761   2022-07-01



                                                                                 Page 3706 of 5793
                        https://www.nytimes.com/2022/05/03/us/supr
2022-05-03   2022-05-04 eme-court-abortion-opinion-draft.html      Key Passages From the Leaked Draft               By Maria Cramer                  TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/03/world/a Record Numbers of Cuban Migrants Now             By Maria AbiHabib and Eileen
2022-05-03   2022-05-04 mericas/cuban-migration-united-states.html Coming to US via Mexico                          Sullivan                         TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/03/world/a Australian Is Sentenced For 1988 AntiGay
2022-05-03   2022-05-04 ustralia/scott-johnson-antigay-killing.html  Killing                                        By Manan Luthra                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/03/world/e
                        urope/britain-parliament-sexual-             Misogyny and Harassment Continue to Stain
2022-05-03   2022-05-04 harassment.html                              Halls of British Parliament                    By Megan Specia                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/03/world/e
                        urope/mariupol-azovstal-survivors-           Tears Food and Sun After Weeks
2022-05-03   2022-05-04 evacuated.html                               Underground                                    By Michael Schwirtz               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/03/world/e                                                  By Anton Troianovski and Julian E
2022-05-03   2022-05-04 urope/russia-ukraine-war-nato.html           Why Isnt Putin Hitting Harder On Battlefield   Barnes                            TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/03/world/e Sensing a Stalled Russia the West Funnels        By Michael Schwirtz and Jason
2022-05-03   2022-05-04 urope/russia-ukraine-western-support.html    Support and Arms to Kyiv                       Horowitz                          TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/03/world/ Holy City or Theme Park Jerusalem Projects
2022-05-03   2022-05-04 middleeast/israel-jerusalem-zip-line.html    Stir Debate                                    By Isabel Kershner               TX 9-172-761     2022-07-01
                        https://www.nytimes.com/interactive/2022/us/ Where Abortion Could Be Banned Without         By Allison McCann and Taylor
2022-05-03   2022-05-04 abortion-bans-restrictons-roe-v-wade.html    Roe v Wade                                     Johnston                         TX 9-172-761     2022-07-01
                        https://www.nytimes.com/live/2022/05/03/us/
                        roe-wade-abortion-supreme-court/leaked-draft
                        of-supreme-court-ruling-signals-a-seismic-   Draft Abortion Ruling Signals Seismic
2022-05-03   2022-05-04 shift-in-american-politics-and-law           Political Shift                                By Peter Baker                   TX 9-172-761     2022-07-01
                        https://www.nytimes.com/live/2022/05/03/us/
                        roe-wade-abortion-supreme-court/scotus-
2022-05-03   2022-05-04 leaker                                       Who Did It Conservatives Are Searching         By Jeremy W Peters               TX 9-172-761     2022-07-01
                        https://www.nytimes.com/live/2022/05/03/wo
                        rld/ukraine-russia-war-news/for-an-organist-
                        from-kharkiv-performance-is-a-prayer-in-a- Performing a Cry a Call A Prayer to Protect
2022-05-03   2022-05-04 time-of-despair                              Us                                             By Finbarr OReilly               TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/03/busines Starbucks Announces Plans for Wage
                        s/economy/starbucks-howard-schultz-union- Increases That Wont Apply to Unionized
2022-05-04   2022-05-04 pay.html                                     Workers                                        By Noam Scheiber                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/03/theater/
2022-05-04   2022-05-04 wish-you-were-here-review.html               The Ups and Downs of Female Friendship         By Maya Phillips                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/03/us/abor For Many Providers Worries About Care and        By Rick Rojas Sophie Kasakove
2022-05-04   2022-05-04 tion-clinics-supreme-court.html              Safety Only Deepen                             and J David Goodman              TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/03/us/polit
                        ics/vance-wins-trump-senate-primary-         With Trumps Nod Vance Rallies To Win           By Shane Goldmacher and Jazmine
2022-05-04   2022-05-04 ohio.html                                    Senate Primary in Ohio                         Ulloa                              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/us/supr After 50 Years News Leaves Both Sides            By Kate Zernike Elizabeth Dias and
2022-05-04   2022-05-04 eme-court-roe-abortion-reaction.html         Stunned and Energized                          Ruth Graham                        TX 9-172-761   2022-07-01




                                                                                  Page 3707 of 5793
                        https://www.nytimes.com/2022/05/04/busines
                        s/economy/federal-reserve-inflation-
2022-05-04   2022-05-04 recession.html                              Fed Looks To Temper Hot Inflation           By Jeanna Smialek                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/insider/
2022-05-04   2022-05-04 vanlife-from-the-passenger-seat.html        VanLife From the Passenger Seat             By Michael Arnstein               TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/04/14/well/liv Here to Help When and Where to Get
2022-04-14   2022-05-05 e/sti-testing-prevention.html               Screened for Sexually Transmitted Infections By Dani Blum                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/23/books/a
2022-04-23   2022-05-05 lice-walker-book.html                       Living the Way That I Want                   By Elizabeth A Harris            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/style/gl
2022-04-29   2022-05-05 ory-samjolly-black-aristocracy.html         An Artist Creates Her Own Black Aristocracy By Ruth La Ferla                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/style/an
2022-04-30   2022-05-05 dre-leon-talley-memorial.html               Recalling Andr Leon Talley                   By Jacob Bernstein               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/01/style/ki
                        m-kardashian-pete-davidson-white-house-     They Hope to Be a Celebrity Couple of
2022-05-01   2022-05-05 correspondents-dinner.html                  Substance                                    By Vanessa Friedman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/style/pu
2022-05-02   2022-05-05 cci-camille-miceli-capri.html               For Pucci a Fresh Start in a Fabulous Place  By Kerry Olsen                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/style/th
2022-05-02   2022-05-05 om-browne-fall-2022.html                    Designs on a Theme That Suits New York       By Vanessa Friedman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/style/ch
2022-05-03   2022-05-05 ristine-baranski-met-gala.html              Modern Take Thats Tailored To the Age        By Jessica Testa                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/style/m
2022-05-03   2022-05-05 egan-thee-stallion-met-gala.html            She Has Skin in the Game                     By Jessica Testa                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/arts/dan
2022-05-03   2022-05-05 ce/silas-farley-stravinsky-festival.html    Bridging Time With Each Step                 By Roslyn Sulcas                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/arts/des
2022-05-03   2022-05-05 ign/smithsonian-ethical-returns.html        Smithsonians New Returns Policy              By Matt Stevens                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/busines
                        s/economy/pandemic-supply-chains-           The Era of Cheap and Abundant May Be         By Jeanna Smialek and Ana
2022-05-03   2022-05-05 inflation.html                              Ending                                       Swanson                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/busines
                        s/energy-environment/high-electric-bills-   RedHot Summer Approaches Electric Bills
2022-05-03   2022-05-05 summer.html                                 Are Latest to Spike                          By Ivan Penn                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/opinion
2022-05-03   2022-05-05 /roxane-gay-roe-v-wade.html                 It Appears Roe Will Fall Its Time to Rage    By Roxane Gay                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/opinion
2022-05-03   2022-05-05 /the-real-twitter-is-not-for-sale.html      Black Twitter Is Not a Place Its a Practice  By Tressie McMillan Cottom       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/style/an
2022-05-03   2022-05-05 d-now-the-200000-face-lift.html             Paying an Arm and a Leg for a Nip and Tuck By Tatiana Boncompagni             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/style/m                                               By Jacob Bernstein Ben Detrick
2022-05-03   2022-05-05 et-gala-after-parties.html                  The Glitter Floats On to the Next Thing      and Andr Wheeler                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/style/m
2022-05-03   2022-05-05 et-gala-fashion-best-and-worst.html         Much Gilt and Little Guilt                   By Vanessa Friedman              TX 9-172-761   2022-07-01



                                                                                Page 3708 of 5793
                        https://www.nytimes.com/2022/05/03/style/m
2022-05-03   2022-05-05 et-gala-party-eric-adams.html                Working the Room With a FirstTimer          By Sandra E Garcia          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/technol David Walden 79 Programmer Who Built
2022-05-03   2022-05-05 ogy/david-walden-dead.html                   Internets Backbone                          By Katie Hafner             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/technol
2022-05-03   2022-05-05 ogy/tech-companies-business-plans.html       Good Products and Bad Businesses            By Shira Ovide              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/theater/
2022-05-03   2022-05-05 for-colored-girls-broadway-closing.html      For Colored Girls To Close on Broadway      By Michael Paulson          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/us/polit Rob Stein 78 Strategist Who Helped to
2022-05-03   2022-05-05 ics/rob-stein-dead.html                      Change How Politics Is Funded               By Kenneth P Vogel          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/arts/am Heard Describes a Pattern of Violence by
2022-05-04   2022-05-05 ber-heard-johnny-depp-violence.html          Depp                                        By Julia Jacobs             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/arts/dan Playful Imagination Propels Works By Three
2022-05-04   2022-05-05 ce/review-la-dance-project.html              Women                                       By Gia Kourlas              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/arts/dav Chappelle Knocked Down By Man With Fake By Derrick Bryson Taylor Maria
2022-05-04   2022-05-05 e-chappelle-hollywood-bowl-tackle.html       Gun During Los Angeles Show                 Cramer and Mike Ives        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/arts/des
                        ign/met-contemporary-art-sheena-             Sheena Wagstaff Modern Art Curator to
2022-05-04   2022-05-05 wagstaff.html                                Leave Met Museum                            By Zachary Small            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/arts/mu Judy Henske 85 Folk Singer With Wide
2022-05-04   2022-05-05 sic/judy-henske-dead.html                    Range and Witty Banter Dies                 By Neil Genzlinger          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/arts/mu
                        sic/rock-and-roll-hall-of-fame-dolly-parton- Dolly Parton Eminem and Lionel Richie Enter
2022-05-04   2022-05-05 eminem.html                                  Rock Hall                                   By Joe Coscarelli           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/arts/roe- A Version of History That Challenges
2022-05-04   2022-05-05 v-wade-abortion-history.html                 Decades of Scholarship on Criminality       By Jennifer Schuessler      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/arts/tele
                        vision/golden-girls-goldencon-
2022-05-04   2022-05-05 convention.html                              These Girls Are Still Golden                By Erik Piepenburg          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/arts/ven
2022-05-04   2022-05-05 ice-jewish-ghetto-synagogues.html            For Venices Jewish Ghetto a New Gloss       By Robin Pogrebin           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/books/r
                        eview-nasty-brutish-short-philosophy-kids-
2022-05-04   2022-05-05 scott-scott-hershovitz.html                  Kids Say the Most Epistemological Things    By Alexandra Jacobs         TX 9-172-761   2022-07-01
                                                                                                                 By Emma Goldberg Alisha
                        https://www.nytimes.com/2022/05/04/busines Firms Might Lose Option Of Silence About Haridasani Gupta and Lauren
2022-05-04   2022-05-05 s/abortion-corporate-america-silence.html    Abortion                                    Hirsch                      TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/04/busines
2022-05-04   2022-05-05 s/economy/fed-rate-decision-inflation.html Rate Increase Is the Largest In 2 Decades   By Jeanna Smialek             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/busines Musk Weighs Charging Some For Keeping
2022-05-04   2022-05-05 s/elon-musk-twitter-charge.html            Twitter Accounts                            By Melina Delkic              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/busines German Exports to Russia Fall 62 Amid
2022-05-04   2022-05-05 s/germany-russia-exports-sanctions.html    Sanctions                                   By Melissa Eddy               TX 9-172-761   2022-07-01




                                                                               Page 3709 of 5793
                        https://www.nytimes.com/2022/05/04/busines
2022-05-04   2022-05-05 s/media/new-york-times-q1-earnings.html       New York Times Hits 91 Million Subscribers By Katie Robertson               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/busines TurboTax to Refund 141 Million in
2022-05-04   2022-05-05 s/turbotax-intuit-settlement.html             Settlement Over Ads                         By Christine Chung              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/busines Uber Continues Recovery From Pandemic
2022-05-04   2022-05-05 s/uber-earnings-revenue-pandemic.html         DropOff                                     By Kellen Browning              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/climate Stanford Gets 11 Billion Donation To
2022-05-04   2022-05-05 /john-doerr-stanford-climate.html             Establish a New Climate School              By David Gelles                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/health/t Few Transgender Children Change Minds in 5
2022-05-04   2022-05-05 ransgender-children-identity.html             Years Study Says                            By Azeen Ghorayshi              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/nyregio Looming Rent Increase of Up to 9 Tests
2022-05-04   2022-05-05 n/eric-adams-rent-increase-nyc.html           Adamss Housing Priorities                   By Emma G Fitzsimmons           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/nyregio
                        n/kidd-creole-sentenced-homeless-man-         Kidd Creole Gets 16 Years for Killing
2022-05-04   2022-05-05 stabbing.html                                 Homeless Man                                By Jonah E Bromwich             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/nyregio FaceOffs At Tent City Test Policy On
2022-05-04   2022-05-05 n/nyc-homeless-tompkins-square-park.html Homeless                                         By Andy Newman and Sean Piccoli TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/nyregio
                        n/toothtaker-isaiah-camacho-sexual-           Monster in Our Midst How One Star Tattooist
2022-05-04   2022-05-05 assault.html                                  Has Eluded Prosecution                      By Ali Watkins                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/opinion
                        /bolsonaro-brazil-telegram-
2022-05-04   2022-05-05 misinformation.html                           Madness on Telegram in Brazil               By Vanessa Barbara              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/opinion What Was the Strategy Behind the Supreme
2022-05-04   2022-05-05 /supreme-court-roe-abortion.html              Court Leak                                  By Ross Douthat                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/science Battlefields Haunted by Putins Infatuation
2022-05-04   2022-05-05 /russia-chemical-weapons.html                 With Chemical Weapons                       By William J Broad              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/sports/b
                        asketball/brittney-griner-basketball-                                                     By Jonathan Abrams and Tania
2022-05-04   2022-05-05 russia.html                                   The WNBAs Russia Crisis                     Ganguli                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/sports/b A Superstar Has Worked His Way Into the
2022-05-04   2022-05-05 asketball/joel-embiid-sixers.html             Heart of Philadelphia                       By Sopan Deb                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/sports/b
                        asketball/steph-curry-warriors-grizzlies-     Happy Sad Angry Golden State Is Feeling It
2022-05-04   2022-05-05 playoffs.html                                 All Against Memphis                         By Tania Ganguli                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/sports/f
                        ootball/erich-barnes-star-defensive-back-for- Erich Barnes 86 Dies Menacing Cornerback
2022-05-04   2022-05-05 the-1960s-giants-dies-at-86.html              Of Giants 1960s Run                         By Richard Goldstein            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/sports/h Rangers Return to Playoffs With 3 Overtimes
2022-05-04   2022-05-05 ockey/rangers-penguins-nhl-playoffs.html      151 Shots and 1 Crushing Loss               By Ken Belson                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/sports/s
                        occer/real-madrid-man-city-champions-         Real Madrid Conjures More Magic And
2022-05-04   2022-05-05 league.html                                   Miracles                                    By Rory Smith                   TX 9-172-761   2022-07-01




                                                                               Page 3710 of 5793
                        https://www.nytimes.com/2022/05/04/technol
                        ogy/personaltech/photography-digital-film-
2022-05-04   2022-05-05 conversion.html                             Free Your Memories From the Shoe Box        By J D Biersdorfer                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/theater/ Ariana DeBose to Host This Years Tony
2022-05-04   2022-05-05 ariana-debose-tony-awards-host.html         Awards                                      By Michael Paulson                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/upshot/ How Opinions On Abortion Vary And Why
2022-05-04   2022-05-05 polling-abortion-states.html                That Matters                                By Nate Cohn                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/us/calif California Sees Pandemic Toll As Population
2022-05-04   2022-05-05 ornia-population-decline.html               Shrinks Again                               By Tim Arango                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/us/elect Ohio Nominee Has Asserted Fringe Views In By Azi Paybarah and Kellen
2022-05-04   2022-05-05 ions/jr-majewski-ohio.html                  Interviews                                  Browning                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/us/elect
                        ions/ohio-indiana-primary-elections-        Trump Holds Enduring Grip in Ohios GOP      By Jonathan Weisman and Maggie
2022-05-04   2022-05-05 takeaways.html                              Primaries                                   Haberman                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/us/miss Demand Increases at Mississippi Clinic at
2022-05-04   2022-05-05 issippi-abortion-clinic-roe-v-wade.html     Center of the Supreme Court Case            By Rick Rojas                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/us/nj- New Jersey Man Receives 14 Years in Dating
2022-05-04   2022-05-05 man-sentenced-online-dating-scheme.html     Scheme                                      By Arya Sundaram                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/us/polit Militia Chief Tried to Get Word to Trump on
2022-05-04   2022-05-05 ics/oath-keepers-jan-6-riot.html            Jan 6                                       By Alan Feuer                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/us/polit Once Allies Roberts and Alito Embody
2022-05-04   2022-05-05 ics/roberts-alito-abortion-roe-v-wade.html  Growing Divide                              By Adam Liptak                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/us/polit US Helped Kyiv in Targeting Russian         By Julian E Barnes Helene Cooper
2022-05-04   2022-05-05 ics/russia-generals-killed-ukraine.html     Generals                                    and Eric Schmitt                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/us/polit
                        ics/supreme-court-marshal-leak-             Top Courts Marshal Takes Up the Hunt For By Michael D Shear and Zolan
2022-05-04   2022-05-05 investigation.html                          Clues to a Leak                             KannoYoungs                        TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/04/us/supr Leak Intensifies View That Court is Too     By Shawn Hubler and Michael
2022-05-04   2022-05-05 eme-court-approval-rating-roe-v-wade.html Political                                    Wines                               TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/04/world/a Roe v Wade Inspired Activists Abroad Is That
2022-05-04   2022-05-05 mericas/abortion-activists-movements.html a Riskier Strategy Now                         By Amanda Taub                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/world/a In Mexico Farmers Are Caught in Middle of By Maria AbiHabib and Daniel
2022-05-04   2022-05-05 mericas/mexico-cartels-michoacan.html      the Drug Cartels Turf War                     Berehulak                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/world/a In Japan a Nuclear Reboot Faces Political and
2022-05-04   2022-05-05 sia/japan-nuclear-power.html               Emotional Hurdles                             By Motoko Rich and Hikari Hida    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/world/a Separatist Violence With AntiChina Bent
2022-05-04   2022-05-05 sia/pakistan-baluchistan-violence.html     Has Pakistan on Edge                          By Zia urRehman                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/world/e Europe Is Set to Approve Embargo on
2022-05-04   2022-05-05 urope/eu-russia-oil-embargo.html           Russian Oil                                   By Matina StevisGridneff          TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/04/world/e Superyacht Tied to Putin May Sail From      By Gaia Pianigiani and Michael
2022-05-04   2022-05-05 urope/russia-putin-superyacht-sanctions.html Sanctions                                 Forsythe                            TX 9-172-761   2022-07-01




                                                                                Page 3711 of 5793
                        https://www.nytimes.com/2022/05/04/world/e Poland Reclaims a Crumbling Russian
2022-05-04   2022-05-05 urope/russia-spy-housing-warsaw.html       Spyville                                       By Andrew Higgins               TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/04/world/e As a Holiday Nears Fears of Escalation by      By Anton Troianovski and Michael
2022-05-04   2022-05-05 urope/ukraine-russia-putin-victory-day.html Putin                                         Levenson                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/world/ Erdogan Pledges Homes for One Million in
2022-05-04   2022-05-05 middleeast/turkey-syria-million-homes.html Syria to Entice Refugees to Leave Turkey       By Ben Hubbard and Elif Ince    TX 9-172-761    2022-07-01
                        https://www.nytimes.com/article/triple-crown- As Triple Crown Season Kicks Off a Primer
2022-05-04   2022-05-05 horse-races.html                              on Racings Elusive Prize                    By Melissa Hoppert              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/04/us/bord At Lone Clinic on the Border It Took Me a
2022-05-05   2022-05-05 er-clinic-abortion-texas.html                 Lot to Be Here                              By Edgar Sandoval               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/04/us/polit
                        ics/covid-white-house-correspondents-         Infections Among Attendees After White
2022-05-05   2022-05-05 dinner.html                                   House Correspondents Dinner                 By Chris Cameron               TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/04/us/polit Behind Vances Win in Ohio Money and           By Shane Goldmacher and Maggie
2022-05-05   2022-05-05 ics/jd-vance-trump-ohio-fox-news.html         Media Attention                             Haberman                       TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/05/style/m
2022-05-05   2022-05-05 et-gala-nyc-madame-paulette.html              Where to Make Sure Your Outfit Is Just So   By Christopher Barnard          TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/05/us/polit Backers of Abortion Rights Ask Why Biden
2022-05-05   2022-05-05 ics/biden-abortion.html                       Wont Do More to Help                        By Peter Baker                  TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/05/world/e UK Local Elections Pose Test for Johnsons
2022-05-05   2022-05-05 urope/uk-elections-boris-johnson.html         Party                                       By Stephen Castle               TX 9-172-761    2022-07-01

                        https://www.nytimes.com/interactive/2022/04/                                              By Agnes Chang Amy Qin Isabelle
2022-04-29   2022-05-06 29/world/asia/shanghai-lockdown.html         Under Lockdown in China                      Qian and Amy Chang Chien        TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/03/arts/des Come See the Show Then Youll Watch It On
2022-05-03   2022-05-06 ign/e-jane-the-kitchen-wiz-phone.html        Your Cellphone                               By Travis Diehl                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/03/movies/
2022-05-03   2022-05-06 all-my-puny-sorrows-review.html              All My Puny Sorrows                          By Teo Bugbee                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/03/movies/
2022-05-03   2022-05-06 black-site-review.html                       Black Site                                   By Jeannette Catsoulis          TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/03/movies/
2022-05-03   2022-05-06 in-a-new-york-minute-review.html             In a New York Minute                         By Lisa Kennedy                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/03/movies/
2022-05-03   2022-05-06 inbetween-girl-review.html                   Inbetween Girl                               By Beatrice Loayza              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/03/movies/
                        spring-awakening-those-youve-known-
2022-05-03   2022-05-06 review.html                                  Spring Awakening Those Youve Known           By Nicolas Rapold               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/04/travel/c Im Overseas and Ive Tested Positive What
2022-05-03   2022-05-06 ovid-test-positive-traveling-overseas.html   Now                                          By Ceylan Yeginsu               TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/04/arts/des
2022-05-04   2022-05-06 ign/louvre-kimbell-art-museum-chardin.html A Fight Over Chardins Wild Strawberries        By Laura Zornosa                TX 9-172-761    2022-07-01




                                                                                 Page 3712 of 5793
                        https://www.nytimes.com/2022/05/04/movies/
                        doctor-strange-in-the-multiverse-of-madness-
2022-05-04   2022-05-06 review.html                                  Lots of Everything Little That Matters     By AO Scott                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/opinion Georgia Candidates Try to Outdo One
2022-05-05   2022-05-06 /republicans-parental-rights.html            Another on the Woke Mob in Schools         By Charles M Blow              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/world/a Defying Diplomatic Pressure India Guzzles    By Emily Schmall and Stanley
2022-05-05   2022-05-06 sia/india-russia-oil.html                    Cheap Russian Oil                          Reed                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/arts/abo
2022-05-05   2022-05-06 rtion-theater-films.html                     Performing a Comedy About Abortion         By Julia Jacobs                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/05/arts/am On Stand Heard Accuses Depp of a Sexual
2022-05-05   2022-05-06 ber-heard-johnny-depp-sexual-assault.html    Assault                                       By Julia Jacobs             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/arts/des
                        ign/independent-art-fair-new-york-
2022-05-05   2022-05-06 review.html                                  An Elegant Return to Form and Its Home        By Will Heinrich            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/arts/des
                        ign/museum-natural-history-indigenous-
2022-05-05   2022-05-06 art.html                                     Reopening a Native Treasure Chest             By Arthur Lubow             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/arts/des
2022-05-05   2022-05-06 ign/nada-new-york-art-fair.html              Paintings and Ceramics in Glorious Collision By Martha Schwendener        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/arts/des
2022-05-05   2022-05-06 ign/tefaf-fair-park-avenue-armory.html       Plenty of Artists to See Right on Park Avenue By Martha Schwendener       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/arts/mu
2022-05-05   2022-05-06 sic/sheku-isata-kanneh-mason-music.html      Siblings Playing as Equals                    By Zachary Woolfe           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/arts/ne
2022-05-05   2022-05-06 w-york-city-comic-book-destination.html      A Citywide Tour of Comic Book Destinations By George Gene Gustines        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/arts/tele
2022-05-05   2022-05-06 vision/good-with-wood-clark-netflix.html     This Weekend I Have                           By Margaret Lyons           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/arts/tele
2022-05-05   2022-05-06 vision/review-bosch-legacy.html              Old Beat But With A New Focus                 By Mike Hale                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/books/c From Black Holes To Buddhism To Climate
2022-05-05   2022-05-06 arlo-rovelli-physicist-book.html             Change                                        By Nicholas Cannariato      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/busines Chinas Covid Policies Spook European
2022-05-05   2022-05-06 s/china-covid-lockdown-europe.html           Companies                                     By Keith Bradsher           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/busines
                        s/china-shanghai-covid-lockdown-
2022-05-05   2022-05-06 economy.html                                 Millions Lose Jobs as China Locks Down        By Vivian Wang              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/busines
                        s/economy/bank-of-england-rates-             Bank of England Raises Rates To Highest
2022-05-05   2022-05-06 inflation.html                               Level Since 2009                              By Eshe Nelson              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/busines
                        s/economy/biden-harris-amazon-starbucks-     Organizers For Unions Get Meeting With
2022-05-05   2022-05-06 union.html                                   Biden                                         By Noam Scheiber            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/busines
2022-05-05   2022-05-06 s/electric-vehicle-safety.html               A Perception Problem for EVs                  By Paul Stenquist           TX 9-172-761   2022-07-01



                                                                                Page 3713 of 5793
                        https://www.nytimes.com/2022/05/05/busines                                             By Lauren Hirsch Anupreeta Das
2022-05-05   2022-05-06 s/elon-musk-twitter-investors.html          Musk Adds Investors To Fund Twitter Deal Erin Griffith and Mike Isaac       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/busines
2022-05-05   2022-05-06 s/germany-military-ukraine-russia.html      Germany Spends Big To Restock Its Military By Melissa Eddy and Jack Ewing   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/busines CNN Chairman Expects New Evening Show
2022-05-05   2022-05-06 s/media/cnn-chris-licht-town-hall.html      by Fall                                    By Benjamin Mullin               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/busines
2022-05-05   2022-05-06 s/opec-plus-russia-oil.html                 OPEC Plus Says It Will Pump a Bit More Oil By Stanley Reed                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/busines
2022-05-05   2022-05-06 s/stock-market-fed-rate-hike.html           Volatile Day For Stocks Erases Gains       By Coral Murphy Marcos           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/climate Why Its Getting Harder To Fight Fire With
2022-05-05   2022-05-06 /wildfires-prescribed-burn.html             Fire                                       By Raymond Zhong                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/health/a In Abortion Fight Pills Could Be the Next  By Pam Belluck and Sheryl Gay
2022-05-05   2022-05-06 bortion-pills-roe-v-wade.html               Focus                                      Stolberg                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/health/c                                            By Benjamin Mueller and
2022-05-05   2022-05-06 ovid-global-deaths.html                     WHO Finds Vastly Higher Covid Deaths       Stephanie Nolen                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/health/c Global Studies Tie Covid To Erectile
2022-05-05   2022-05-06 ovid-impotence-erectile-dysfunction.html    Dysfunction                                By Roni Caryn Rabin              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/health/ DNA From Animal Virus Detected in Man
2022-05-05   2022-05-06 pig-heart-transplant-virus.html             Who Received Transplant of Pigs Heart      By Roni Caryn Rabin              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/movies/
2022-05-05   2022-05-06 along-for-the-ride-review.html              Along for the Ride                         By Lena Wilson                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/movies/
2022-05-05   2022-05-06 happening-review-abortion.html              Young Pregnant and Desperate in 1963       By Manohla Dargis                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/movies/
2022-05-05   2022-05-06 human-factors-review.html                   Human Factors                              By Amy Nicholson                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/movies/
2022-05-05   2022-05-06 in-front-of-your-face-review.html           In Front of Your Face                      By Ben Kenigsberg                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/movies/
                        randy-rhoads-reflections-of-a-guitar-icon-
2022-05-05   2022-05-06 review.html                                 Randy Rhoads Reflections of a Guitar Icon  By Glenn Kenny                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/movies/
2022-05-05   2022-05-06 reflection-review.html                      Reflection                                 By Ben Kenigsberg                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/movies/
2022-05-05   2022-05-06 shepherd-review.html                        Shepherd                                   By Jeannette Catsoulis           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/movies/
2022-05-05   2022-05-06 sheryl-review.html                          Sheryl                                     By Glenn Kenny                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/movies/
2022-05-05   2022-05-06 the-sanctity-of-space-review.html           The Sanctity of Space                      By Calum Marsh                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/nyregio New York Rent Panel Supports Highest
2022-05-05   2022-05-06 n/new-york-rent-increases.html              Increases Since 2013                       By Mihir Zaveri                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/nyregio
                        n/otoniel-colombia-extradition-united-      Colombian Cartel Suspect Faces Charges in
2022-05-05   2022-05-06 states.html                                 New York After Yearslong Pursuit           By Troy Closson                  TX 9-172-761   2022-07-01




                                                                               Page 3714 of 5793
                        https://www.nytimes.com/2022/05/05/nyregio
                        n/shawn-williams-falsely-accused-           After 24 Years in Prison Innocent Man Will
2022-05-05   2022-05-06 brooklyn.html                               Get 105 Million From New York City         By Troy Closson                     TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/05/opinion Can Business Schools Really Reimagine
2022-05-05   2022-05-06 /business-schools-capitalism-mba.html       Capitalism                                 By Molly Worthen                    TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/05/opinion Yes We Should Cancel Student Debt but Only
2022-05-05   2022-05-06 /cancel-some-student-debt.html              for Some                                   By David Brooks                     TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/05/opinion The Information War in Ukraine Is Far From
2022-05-05   2022-05-06 /russia-ukraine-propaganda.html             Over                                       By Serge Schmemann                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/05/science Sheldon Krimsky 80 Who Warned That
2022-05-05   2022-05-06 /sheldon-krimsky-dead.html                  Money Was Corrupting Research              By Katharine Q Seelye               TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/05/sports/b Despite Quiet OffSeason The Yankees Got
2022-05-05   2022-05-06 aseball/yankees-best-record.html            Better                                     By James Wagner                     TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/05/sports/b
2022-05-05   2022-05-06 asketball/liz-cambage-los-angeles-sparks.html A Star Whos Finally Where She Wants to Be By Alanis Thames                  TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/05/sports/h
2022-05-05   2022-05-06 orse-racing/kentucky-derby-picks.html         Who Will Win the Derby                     By Joe Drape and Melissa Hoppert TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/05/sports/s Citing an Ineligible Player Chile Seeks
2022-05-05   2022-05-06 occer/chile-ecuador-byron-castillo.html       Ecuadors Spot In the 2022 World Cup        By Tariq Panja                   TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/05/sports/s Global Affirmation for MLS in a City of True
2022-05-05   2022-05-06 occer/seattle-sounders-pumas-unam.html        Believers                                  By Kurt Streeter                 TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/05/us/14th- Would Toppling an Abortion Precedent
2022-05-05   2022-05-06 amendment-roe-wade.html                       Portend a Disregard for Others             By Charlie Savage                TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/05/us/jan- New Evidence Undercuts Conspiracy Theory
2022-05-05   2022-05-06 6-ray-epps-evidence.html                      About Jan 6 Instigator                     By Alan Feuer                    TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/05/us/new- New Mexico Fires Burning Down a Way of
2022-05-05   2022-05-06 mexico-wildfires.html                         Life                                       By Simon Romero                  TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/05/us/polit With a Primary Nearing a Swing State Swings
2022-05-05   2022-05-06 ics/arizona-midterms-swing.html               to the Far Right                           By Jennifer Medina               TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/05/us/polit Democrats Aim to Use Abortion Rights to
2022-05-05   2022-05-06 ics/democrats-abortion-midterms.html          Jolt The Midterm Elections                 By Blake Hounshell               TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/05/us/polit Democrats Plan Bid to Codify Abortion
2022-05-05   2022-05-06 ics/democrats-codify-roe.html                 Rights but Lack the Votes to Win           By Annie Karni                   TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/05/us/polit Citing Safety Concerns FDA Further Limits
2022-05-05   2022-05-06 ics/johnson-vaccine-fda-covid.html            Use of Johnson amp Johnson Vaccine         By Sharon LaFraniere             TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/05/us/polit
                        ics/karine-jean-pierre-white-house-press-     White House Hits 2 Firsts in Selecting     By Zolan KannoYoungs and
2022-05-05   2022-05-06 secretary.html                                Spokeswoman                                Michael D Shear                  TX 9-172-761      2022-07-01

                        https://www.nytimes.com/2022/05/05/us/polit Trump Wanted to Shoot Missiles Into Mexico
2022-05-05   2022-05-06 ics/mark-esper-book-trump.html              to Destroy the Drug Labs Esper Says            By Maggie Haberman                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/us/polit US Intelligence Aided Ukraine In Its Strike on By Helene Cooper Eric Schmitt and
2022-05-05   2022-05-06 ics/moskva-russia-ship-ukraine-us.html      Russian Flagship                               Julian E Barnes                   TX 9-172-761   2022-07-01




                                                                                 Page 3715 of 5793
                        https://www.nytimes.com/2022/05/05/us/polit In Ohio Democrats Pin Senate Hopes on     By Jazmine Ulloa and Jonathan
2022-05-05   2022-05-06 ics/ohio-senate-race-tim-ryan-democrats.html Suburbs                                  Weisman                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/us/texa
                        s-schools-undocumented-immigrants-supreme-Abbott Plans to Contest Requirement to
2022-05-05   2022-05-06 court.html                                   Educate Unauthorized Migrants            By J David Goodman                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/world/a Senegal Reconsiders a Colonialist Founding By Elian Peltier and Carmen Abd
2022-05-05   2022-05-06 frica/senegal-faidherbe-statue.html          Father                                   Ali                                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/world/a 150 Human Skulls in a Cave And Clues to an
2022-05-05   2022-05-06 mericas/mexico-skulls-cave.html              Ancient Altar                            By Eduardo Medina                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/world/a Nicaraguas Secretive Ruling Family Makes a
2022-05-05   2022-05-06 mericas/nicaragua-ruling-family-us.html      Quiet Overture to the US                 By Maria AbiHabib                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/world/e Ireland Delays Decision To Put Maternity
2022-05-05   2022-05-06 urope/ireland-abortion-hospital.html         Hospital Under a Charitys Control        By Ed OLoughlin                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/world/e A Masters Mural Hidden By Soviets Comes
2022-05-05   2022-05-06 urope/lviv-jan-henryk-de-rosen-mural.html    to Light                                 By Jane Arraf                      TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/05/world/e Kremlin Is Employing Foreign Agent Label
2022-05-05   2022-05-06 urope/russian-exiles-foreign-agents-putin.html To Ostracize Its Critics                   By Neil MacFarquhar            TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/05/world/e What to Look For as British Voters Go to the By Mark Landler Stephen Castle
2022-05-05   2022-05-06 urope/uk-local-elections-northern-ireland.html Polls for Local Council Seats              and Megan Specia               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/world/e
                        urope/ukraine-russia-east-donetsk-             As Ukrainians Retake Ground in East Russia
2022-05-05   2022-05-06 mariupol.html                                  Breaches Steel Factory                     By Michael Schwirtz            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/world/
2022-05-05   2022-05-06 middleeast/iraq-sandstorms-climate.html        Suffocating Sandstorms Oppress Iraq        By Isabella Kwai               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/world/e Stanislav Shushkevich First Leader of
2022-05-05   2022-05-06 urope/stanislav-shushkevich-dead.html          PostSoviet Belarus Dies at 87              By Neil Genzlinger             TX 9-172-761   2022-07-01

                        https://www.nytimes.com/live/2022/05/05/bus
                        iness/economy-news-inflation-russia/banks- Watchdogs Plan Revamp Of AntiRedlining
2022-05-05   2022-05-06 redlining-community-reinvestment-act           Rules                                      By Emily Flitter               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/05/wo
                        rld/ukraine-russia-war-news/israel-says-putin-
                        apologized-to-bennett-over-remarks-by-         Israel Says Putin Apologized for Foreign   By Isabel Kershner and Ivan
2022-05-05   2022-05-06 russias-top-diplomat                           Ministers Antisemitism Remark              Nechepurenko                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/us/louis Bill Classifying Abortion as Homicide Is
2022-05-06   2022-05-06 iana-abortion-bill-homicide.html               Advanced by Louisiana Lawmakers            By Rick Rojas                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/arts/mu
2022-05-06   2022-05-06 sic/bad-bunny-un-verano-sin-ti.html            Its a Good Time to Be Bad Bunny            By Isabelia Herrera            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/movies/
2022-05-06   2022-05-06 the-takedown-review.html                       The Takedown                               By Elisabeth Vincentelli       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/sports/b
2022-05-06   2022-05-06 asketball/wnba-season-preview.html             A Bright Outlook Under a Cloud             By Natalie Weiner              TX 9-172-761   2022-07-01



                                                                                  Page 3716 of 5793
                        https://www.nytimes.com/2022/05/04/arts/nea Neal Adams Artist Who Gave Batman a
2022-05-04   2022-05-07 l-adams-dead.html                           Darker Look Dies at 80                    By George Gene Gustines          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/busines US Importers Accuse Shippers of Price
2022-05-04   2022-05-07 s/shipping-container-shortage.html          Gouging                                   By Peter S Goodman               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/arts/des
2022-05-05   2022-05-07 ign/covid-memorials-grief.html              Artists Create Spaces For Our Covid Grief By Jillian Steinhauer            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/arts/mu Arcade Fire Still Raging Against the
2022-05-05   2022-05-07 sic/arcade-fire-we-album-review.html        Machines                                  By Lindsay Zoladz                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/arts/mu
2022-05-05   2022-05-07 sic/bob-dylan-center-tulsa.html             Dylans Secrets For You to See             By Ben Sisario                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/busines
                        s/energy-environment/natural-gas-europe-    Many Hurdles in Europes Effort to Replace
2022-05-05   2022-05-07 russia-ukraine.html                         Russian Gas                               By Clifford Krauss               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/busines Twitter Has Ad Problem And Musk May Not
2022-05-05   2022-05-07 s/media/elon-musk-twitter-ads.html          Help                                      By Tiffany Hsu and Kate Conger   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/sports/b
                        asketball/chris-paul-luka-doncic-suns-      Pauls Revenge Tour Is No Fun For Doncic
2022-05-05   2022-05-07 mavericks.html                              and the Mavericks                         By Scott Cacciola                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/world/a Ricardo Alarcn 84 Cuban Diplomat UN
2022-05-05   2022-05-07 mericas/ricardo-alarcon-dead.html           Official and Confidant of Castro          By Sam Roberts                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/sports/h Suddenly Rangers Look More Like
2022-05-06   2022-05-07 ockey/rangers-penguins-nhl-playoffs.html    Themselves Again                          By Ken Belson                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/arts/bro                                           By Matt Stevens and Rachel
2022-05-06   2022-05-07 adway-vaccine-mandate.html                  Vaccine Check Goes Dark On Broadway       Sherman                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/arts/dan
                        ce/review-silas-farley-city-ballet-spring-
2022-05-06   2022-05-07 gala.html                                   Ghosts Hover Over a New Collaboration     By Gia Kourlas                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/arts/des
                        ign/in-america-anthology-fashion-met-                                                 By Vanessa Friedman and
2022-05-06   2022-05-07 museum-review.html                          What We See in the Mirror                 Salamishah Tillet                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/briefing Behind Bidens Poll Doldrums a Persistent
2022-05-06   2022-05-07 /joe-biden-approval-rating-covid.html       Virus                                     By German Lopez                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/busines
2022-05-06   2022-05-07 s/economy/jobs-report-april-2022.html       428000 Workers Join US Payrolls           By Talmon Joseph Smith           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/busines Labor Board Finds Merit In Claims Against
2022-05-06   2022-05-07 s/economy/nlrb-amazon-starbucks.html        Amazon                                    By Noam Scheiber                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/busines The Purchase of Twitter Carries Great Risk
2022-05-06   2022-05-07 s/elon-musk-tesla-twitter.html              for Tesla                                 By Peter Eavis and Jack Ewing    TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/06/busines Market Pain Isnt Over But You Will Get
2022-05-06   2022-05-07 s/markets-federal-reserve-stocks-bonds.html Through This                                 By Jeff Sommer                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/busines Peter Moore 78 Who Was a Force in the
2022-05-06   2022-05-07 s/peter-moore-dead.html                     1980s Sneaker Revolution Is Dead             By Richard Sandomir           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/busines In Philippines Fertile Ground for Political
2022-05-06   2022-05-07 s/philippines-election-disinformation.html  Lies                                         By Camille Elemia             TX 9-172-761   2022-07-01



                                                                                  Page 3717 of 5793
                        https://www.nytimes.com/2022/05/06/climate                                                By David Gelles and Renaud
2022-05-06   2022-05-07 /hydro-quebec-maine-clean-energy.html       A Border Clash Over a Project for US Energy Philippe                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/climate Clean Energy Gets Support But Oil Profits
2022-05-06   2022-05-07 /shell-exxon-profits-climate.html           Are Booming                                   By Somini Sengupta                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/health/c CDC Investigates 109 Cases of Hepatitis in
2022-05-06   2022-05-07 dc-hepatitis-children.html                  Children                                      By Gina Kolata                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/nyregio Maria Marcus 88 Fordham Professor Civil
2022-05-06   2022-05-07 n/maria-marcus-dead.html                    Rights Lawyer and Patient Mentor              By Sam Roberts                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/opinion
                        /abortion-provider-second-trimester-roe-v-  My Duty to Patients Includes Offering
2022-05-06   2022-05-07 wade.html                                   SecondTrimester Abortions                     By Alison Block                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/opinion The War Is Getting More Dangerous for
2022-05-06   2022-05-07 /biden-ukraine-leaks.html                   America and Biden Knows It                    By Thomas L Friedman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/opinion I Cherish My Grief for the Mother I Never
2022-05-06   2022-05-07 /mothers-day-grief.html                     Expected to Have                              By Stephanie Foo                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/opinion
2022-05-06   2022-05-07 /philippines-election-marcos-duterte.html   Philippine Democracy Is at Risk               By Miguel Syjuco                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/sports/b
                        aseball/shohei-ohtani-angels-red-sox-       Monster Day For Ohtani Part Ruth Part
2022-05-06   2022-05-07 fenway.html                                 Hobbs                                         By Victor Mather                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/sports/c For the CaneloBivol Bout DAZN Shifts to
2022-05-06   2022-05-07 anelo-bivol-fight-dazn-ppv.html             Embrace The PayPerView Model                  By Morgan Campbell                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/sports/h
                        orse-racing/medina-spirit-kentucky-
2022-05-06   2022-05-07 derby.html                                  He Lifted a Sport That Let Him Down           By Joe Drape                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/technol
                        ogy/amazon-fires-managers-union-staten-     Amazon Managers Fired In Wake of Union By Karen Weise and Noam
2022-05-06   2022-05-07 island.html                                 Victory                                       Scheiber                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/technol                                                By Mike Isaac Lauren Hirsch and
2022-05-06   2022-05-07 ogy/elon-musk-twitter-pitch-deck.html       A Blueprint Of Big Goals From Musk            Anupreeta Das                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/theater/
2022-05-06   2022-05-07 into-the-woods-review.html                  Once Upon a Time Wasnt So Long Ago            By Alexis Soloski                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/us/austi ExOfficer Gets Five Years For Assault
2022-05-06   2022-05-07 n-hopp-colorado-sentenced.html              During Arrest                                 By Vimal Patel                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/us/covi Hospitalizations Rise Across US but Fall       By Adeel Hassan and Sharon
2022-05-06   2022-05-07 d-hospitalizations-cases-us.html            Below Omicrons Peak                           Otterman                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/us/polit
2022-05-06   2022-05-07 ics/abortion-midterm-campaigns.html         Key Races Are Shaped By Abortion              By Azi Paybarah                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/us/polit
                        ics/border-protection-critical-incident-    Border Patrol Will Disband Secretive Critical
2022-05-06   2022-05-07 teams.html                                  Incident Teams                                By Eileen Sullivan                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/us/polit US Appeals Court Lets Floridas Election
2022-05-06   2022-05-07 ics/florida-voting-law.html                 Curbs Stand                                   By Michael Wines                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/us/polit
2022-05-06   2022-05-07 ics/gitmo-prisoner-uss-cole.html            Detainee Wont Testify In Cole Case            By Carol Rosenberg                TX 9-172-761   2022-07-01



                                                                                 Page 3718 of 5793
                        https://www.nytimes.com/2022/05/06/us/polit Judge Rejects Bid to Drop Greene From
2022-05-06   2022-05-07 ics/marjorie-taylor-greene-insurrection.html Ballot for Remarks on Jan 6                 By Neil Vigdor                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/us/polit House Aides To Get Raise Pelosi Pushes
2022-05-06   2022-05-07 ics/pelosi-pay-increase-house-union.html     Union Rights                                By Emily Cochrane               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/us/polit
2022-05-06   2022-05-07 ics/republicans-abortion.html                Fearing Backlash GOP Is Quiet on Abortion   By Jonathan Weisman             TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/06/us/rom For 3499 the Deal of the Century Actually 20
2022-05-06   2022-05-07 an-bust-goodwill-san-antonio-museum.html Centuries                                     By Michael Levenson               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/us/stan
                        dardized-testing-american-bar-
2022-05-06   2022-05-07 association.html                           Law Schools May Rethink Entry Tests         By Maria Cramer                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/world/a At Least 22 Die in Havana as Gas Explosion
2022-05-06   2022-05-07 mericas/cuba-explosion-havana-hotel.html   Rattles Hotel Near Capitol                  By Oscar Lopez                    TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/06/world/a Poised to Shatter Ceilings in Colombian
2022-05-06   2022-05-07 mericas/francia-marquez-colombia-vp.html Politics                                        By Julie Turkewitz              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/world/a In a OneMan Race in Hong Kong China Is        By Alexandra Stevenson and
2022-05-06   2022-05-07 sia/john-lee-hong-kong-election.html       Guaranteed to Win                             Austin Ramzy                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/world/e
2022-05-06   2022-05-07 urope/belarus-sapega.html                  Belarus Gives Law Student 6 Years in Jail     By Ivan Nechepurenko            TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/06/world/e Setbacks for Conservatives In Local Voting
2022-05-06   2022-05-07 urope/johnson-starmer-elections-britain.html in Britain                                By Stephen Castle                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/world/e In Historic Shift Sinn Fein Is Set To Take
2022-05-06   2022-05-07 urope/sinn-fein-northern-ireland.html        Over in Northern Ireland                  By Mark Landler                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/world/e
                        urope/uk-queen-harry-andrew-platinum-
2022-05-06   2022-05-07 jubilee.html                                 Queens Jubilee To Pare Down Balcony Scene By Mark Landler                   TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/06/world/e War Shifts Into Duel of DroneGuided           By Thomas GibbonsNeff Natalia
2022-05-06   2022-05-07 urope/ukraine-russia-artillery-kharkiv.html Artillery Attacks                            Yermak and Tyler Hicks          TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/06/world/e Ukraine on Offensive Using Arms From West By Marc Santora Cora Engelbrecht
2022-05-06   2022-05-07 urope/ukraine-russia-offensive.html         In TownforTown Fight                     and Michael Levenson             TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/06/your-
2022-05-06   2022-05-07 money/funeral-cremation-fraud.html          Being Cautious Through Your Grief        By Ann Carrns                    TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/06/sports/s Group Led By American Is Set to Buy
2022-05-07   2022-05-07 occer/chelsea-sale-todd-boehly.html         Chelsea FC                               By Tariq Panja                   TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/06/us/polit
                        ics/abortion-rights-supreme-court-roe-v-    Battle Over Abortion Rights Threatens to
2022-05-07   2022-05-07 wade.html                                   Deepen Americas Divide                   By Peter Baker                   TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/07/us/polit Runoff in South Texas Becomes Test of    By James Dobbins Jennifer Medina
2022-05-07   2022-05-07 ics/cuellar-cisneros-abortion-politics.html Abortion Politics                        and Katie Glueck                 TX 9-172-761      2022-07-01



                                                                                Page 3719 of 5793
                        https://www.nytimes.com/2022/03/15/books/r
2022-03-15   2022-05-08 eview/drowning-practice-mike-meginnis.html End in Sight                             By Ben H Winters               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/03/15/books/r
2022-03-15   2022-05-08 eview/elena-medel-wonders.html             A Question of Power                      By Aaron Shulman               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/03/15/books/r
2022-03-15   2022-05-08 eview/kelsey-ronan-chevy-in-the-hole.html Is Love Enough                            By Dean Bakopoulos             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/03/15/books/r
2022-03-15   2022-05-08 eview/mecca-susan-straight.html            Home State                               By Carribean Fragoza           TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/03/16/books/r
2022-03-16   2022-05-08 eview/tell-me-everything-erika-krause.html Trust Me                                 By Patrick Hoffman             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/03/26/books/r
2022-03-26   2022-05-08 eview/cathy-oneil-the-shame-machine.html No Pain No Gain                            By Alissa Bennett              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/03/26/books/r
2022-03-26   2022-05-08 eview/jane-mcgonigal-imaginable.html       Forewarned Is Forearmed                  By Dawn Chan                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/08/books/r
2022-04-08   2022-05-08 eview/high-minds-simon-heffer.html         How Britain Became Civilized             By Benjamin Schwarz            TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/04/12/books/r
2022-04-12   2022-05-08 eview/david-shields-very-last-interview.html Just Ask                                 By Deborah Solomon           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/12/books/r
2022-04-12   2022-05-08 eview/left-on-tenth-delia-ephron.html        When Delia Met Peter                     By Joyce Maynard             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/12/books/r
2022-04-12   2022-05-08 eview/sadeq-hedayat-blind-owl.html           Lost in Between                          By AmirHussein Radjy         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/19/books/r
                        eview/janelle-monae-the-memory-librarian-
2022-04-19   2022-05-08 and-other-stories-of-dirty-computer.html     On the Fringe                            By Stephen Kearse            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/20/books/r
2022-04-20   2022-05-08 eview/maradona-guillem-balague.html          Ready for Some Ftbol                     By Miguel Salazar            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/26/books/r
2022-04-26   2022-05-08 eview/letters-to-gwen-john-celia-paul.html   The Artist Is Present                    By Drusilla Modjeska         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/books/r
2022-04-28   2022-05-08 eview/trust-hernan-diaz.html                 Capital Offenses                         By Michael Gorra             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/magazi With his bravura metamusical A Strange
                        ne/a-strange-loop-michael-r-jackson-         Loop the playwright is showing Broadway
2022-04-29   2022-05-08 broadway.html                                something it has never seen before       By Niela Orr                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/nyregio Saturday Nights All Right for Chowing Down
2022-04-30   2022-05-08 n/nyc-night-market-food-vendors.html         Too                                      By Julia Carmel              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/opinion                                            By Chloe Maxmin and Canyon
2022-05-02   2022-05-08 /democrats-rural-america.html                Democrats Dont Get Rural America         Woodward                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/opinion
2022-05-02   2022-05-08 /god-evil-problem.html                       Praying to a God You Dont Believe In     By Scott Hershovitz          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/realesta
2022-05-02   2022-05-08 te/shopping-for-outdoor-planters.html        Putting Greenery In Its Proper Place     By Tim McKeough              TX 9-172-761   2022-07-01



                                                                              Page 3720 of 5793
                        https://www.nytimes.com/2022/05/02/style/ne                                             By Anna P Kambhampaty and
2022-05-02   2022-05-08 potism-babies.html                           Celebrity Has Never Meant Meritocracy      Danya Issawi                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/interactive/2022/05/ Why Critics of Angry Woke College Kids Are
2022-05-02   2022-05-08 02/magazine/wendy-brown-interview.html       Missing the Point                          By David Marchese                 TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/03/arts/mu Florence Welch Doesnt Shy Away From
2022-05-03   2022-05-08 sic/florence-welch-machine-dance-fever.html Scares                                       By Phoebe Reilly                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/arts/ne
2022-05-03   2022-05-08 ws-podcasts.html                            Delving Deeper Than the Headline             By Emma Dibdin                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/books/i Irving Rosenthal 91 LowKey Figure Who
2022-05-03   2022-05-08 rving-rosenthal-dead.html                   Was Integral to Beat Scene Dies              By Neil Genzlinger               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/magazi
2022-05-03   2022-05-08 ne/dump-fashion.html                        Dump Couture                                 By Vronique Hyland               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/magazi
2022-05-03   2022-05-08 ne/how-to-swing-on-the-monkey-bars.html     How to Swing on the Monkey Bars              By Malia Wollan                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/magazi
2022-05-03   2022-05-08 ne/manolete-matador-face.html               Manolete and Me                              By Jon Mooallem                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/magazi I Promised My SpermDonor Anonymity What
2022-05-03   2022-05-08 ne/sperm-donor-anonymity-ethics.html        Do I Tell My Child                           By Kwame Anthony Appiah          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/magazi
2022-05-03   2022-05-08 ne/surrogates-ukraine.html                  Hard Labor                                   By Susan Dominus                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/opinion                                               By Adrian J Rivera and Patrick
2022-05-03   2022-05-08 /millennials-office-work.html               12 Millennials on Returning to the Office    Healy                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/realesta
                        te/how-many-midcentury-ranch-houses-can-
2022-05-03   2022-05-08 one-couple-renovate.html                    Their Specialty Is Remaking Ranch Houses By Tim McKeough                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/arts/dan
2022-05-04   2022-05-08 ce/gender-roles-ballet-russell-janzen.html  On Being a Gentleman in Ballet               By Russell Janzen                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/arts/des
2022-05-04   2022-05-08 ign/cate-blanchett-cindy-sherman.html       Secrets of the Camera Chameleons             By Melena Ryzik                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/arts/ma Marcus Leatherdale 69 Who Captured
2022-05-04   2022-05-08 rcus-leatherdale-dead.html                  Manhattans Demimonde in 80s Dies             By Penelope Green                TX 9-172-761   2022-07-01
                                                                    The Broccoli Stays Deepgrilled flavor and
                        https://www.nytimes.com/2022/05/04/magazi crisp bite have kept this dish on the menu for
2022-05-04   2022-05-08 ne/chargrilled-broccoli-recipe.html         years                                        By Yotam Ottolenghi              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/magazi
2022-05-04   2022-05-08 ne/cough-drop-advertising-pandemic.html     Hack Work                                    By Mireille Silcoff              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/magazi
2022-05-04   2022-05-08 ne/womens-squash-amanda-sobhy.html          The Great Squash Hope                        By Michael Steinberger           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/nyregio George D Gould 94 Pillar in New Yorks
2022-05-04   2022-05-08 n/george-d-gould-dead.html                  Fiscal Rescue                                By Sam Roberts                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/opinion
2022-05-04   2022-05-08 /trump-republicans-ohio-jd-vance.html       Vances Win Proves Trumps Strength            By Sarah Longwell                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/realesta An Updated Farm Villa With a Preserved
2022-05-04   2022-05-08 te/france-house-hunting.html                Soul                                         By Roxana Popescu                TX 9-172-761   2022-07-01



                                                                                 Page 3721 of 5793
                        https://www.nytimes.com/2022/05/04/realesta Dishing All the Dirt About Mulch and What
2022-05-04   2022-05-08 te/garden-mulch.html                         It Can Do                                  By Margaret Roach       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/realesta
                        te/montgomery-nj-an-under-the-radar-suburb-
2022-05-04   2022-05-08 near-princeton.html                          An UndertheRadar Suburb Near Princeton     By Jill P Capuzzo       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/style/da Hes Bringing Real Life Back to The Real
2022-05-04   2022-05-08 nny-roberts-real-world.html                  World                                      By Bennett Madison      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/arts/tele
                        vision/cocomelon-moonbug-
2022-05-05   2022-05-08 entertainment.html                           They emReallyem Want Your Kids to Watch    By David Segal          TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/05/magazi
2022-05-05   2022-05-08 ne/judge-john-hodgman-on-pickle-liquid.html Bonus Advice From Judge John Hodgman      By John Hodgman           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/magazi
2022-05-05   2022-05-08 ne/poem-joint-custody.html                  Poem Joint Custody                        By Ada Limn               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/movies/
2022-05-05   2022-05-08 wayne-wang.html                             Wayne Wang Still Isnt Satisfied           By Brandon Yu             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/opinion
2022-05-05   2022-05-08 /abortion-alito-discrimination.html         The Draft Opinions Missing Women          By Linda Greenhouse       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/opinion
2022-05-05   2022-05-08 /abortion-alito-supreme-court.html          Justice Alitos Warped Feminism            By Emily Bazelon          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/opinion
2022-05-05   2022-05-08 /roe-abortion-protest.html                  Bring the Fight to the Streets            By Jay Caspian Kang       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/realesta
2022-05-05   2022-05-08 te/housing-prices-affordability.html        Home Prices Out of Reach for Many         By Gregory Schmidt        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/style/le
2022-05-05   2022-05-08 sbian-couple-exclusion-social-qs.html       Respect Yourself                          By Philip Galanes         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/style/w On More Registries One Request Show Us the
2022-05-05   2022-05-08 edding-cash-gift-fund-etiquette.html        Money                                     By Danielle Braff         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/technol I Come to Praise Gatekeepers Not to Bury
2022-05-05   2022-05-08 ogy/online-gatekeepers.html                 Them                                      By Shira Ovide            TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/05/theater/
2022-05-05   2022-05-08 moonbug-shows-cheat-sheet-cocomelon.html How to Tell Little Baby Bum From Blippi        By David Segal          TX 9-172-761   2022-07-01
                                                                     They Wanted a House in Los Angeles
                        https://www.nytimes.com/interactive/2022/05/ Without the Bidding War Would Their
2022-05-05   2022-05-08 05/realestate/05hunt-martin.html             Budget Be Enough                           By Candace Jackson      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/arts/mu
2022-05-06   2022-05-08 sic/hamlet-metropolitan-opera.html           To Be an Opera A Play Transforms           By Stephen Greenblatt   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/arts/mu
                        sic/jack-harlow-come-home-the-kids-miss-
2022-05-06   2022-05-08 you.html                                     Charm Helps a Rapper Flip the Narrative    By Jon Caramanica       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/books/r
2022-05-06   2022-05-08 eview/new-paperbacks.html                    Paperback Row                              By Miguel Salazar       TX 9-172-761   2022-07-01




                                                                               Page 3722 of 5793
                        https://www.nytimes.com/2022/05/06/books/r
                        eview/skandar-and-the-unicorn-thief-a-f-
2022-05-06   2022-05-08 steadman.html                              Sweetness and Blight                        By Catherine Hong             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/books/r
                        eview/tae-keller-jennifer-chan-is-not-
2022-05-06   2022-05-08 alone.html                                 A Universe of One                           By Erin Entrada Kelly         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/busines
2022-05-06   2022-05-08 s/dollar-stock-bond-currency.html          The Dollar Gains Amid Unsettling Times      By Jeff Sommer                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/busines                                             By Julia Rothman and Shaina
2022-05-06   2022-05-08 s/her-job-is-a-walk-in-the-park.html       Her Job Is a Walk in the Park               Feinberg                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/busines
2022-05-06   2022-05-08 s/roxane-gay-work-friend-privilege.html    Celebrating a Milestone With Care           By Roxane Gay                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/nyregio
2022-05-06   2022-05-08 n/comic-books-vincent-zurzolo.html         His Super Power Perpetual Motion            By Alix Strauss               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/nyregio
2022-05-06   2022-05-08 n/roe-v-wade-merle-hoffman.html            On the Front Line of the Abortion Debate    By Ginia Bellafante           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/opinion America Is Not Ready for the End Of Roe v
2022-05-06   2022-05-08 /roe-v-wade-constitution.html              Wade                                        By The Editorial Board        TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/06/opinion
2022-05-06   2022-05-08 /supreme-court-roe-dobbs-legitimacy.html     Why Republicans Are So Angry              By Jamelle Bouie              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/realesta An Upper West Side Duplex Now Empty but
2022-05-06   2022-05-08 te/hester-diamond-eldorado-duplex.html       Packed With Memories                      By Vivian Marino              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/realesta Marie Kondo Wants to Help Tidy Up
2022-05-06   2022-05-08 te/marie-kondo-pandemic-clutter.html         Pandemic Clutter                          By Ronda Kaysen               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/realesta
2022-05-06   2022-05-08 te/tenants-eviction-port-morris-bronx.html   Underestimated                            By Ronda Kaysen               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/sports/s Emissary From a Suddenly Distant Age of
2022-05-06   2022-05-08 occer/andrea-pirlo-is-timeless.html          Unhurried Imagination                     By Rory Smith                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/style/al
                        exandra-goodman-christopher-masullo-         Working Best With a Minimum of
2022-05-06   2022-05-08 wedding.html                                 Information                               By Julia Carmel               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/style/eri
2022-05-06   2022-05-08 c-kugler-dean-hansell-wedding.html           Lots of Soul Searching but No Sour Grapes By Tammy La Gorce             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/style/gr
2022-05-06   2022-05-08 eta-lee-russian-doll.html                    Playing a Bestie But for Now Pool         By Alexis Soloski             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/style/ju One Ring in the Lake and Another on Her
2022-05-06   2022-05-08 lie-fogel-matt-singley-wedding.html          Finger                                    By Linda Marx                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/style/ka Writing Music For Kanye West Between
2022-05-06   2022-05-08 nye-west-kid-krono-producer-nyc.html         Classes                                   By Alex Hawgood               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/style/m
                        odern-love-college-essay-winner-syrian-war-
2022-05-06   2022-05-08 whatsapp-group-chat.html                     A Personal Plea for a Sixth Love Language By Layla Kinjawi Faraj        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/style/su A Circuitous Courtship Then a Crazy
2022-05-06   2022-05-08 san-alavi-evan-schaeffer-wedding.html        Ceremony                                  By Jenny Block                TX 9-172-761   2022-07-01



                                                                               Page 3723 of 5793
                        https://www.nytimes.com/2022/05/06/theater/
2022-05-06   2022-05-08 marjan-neshat-actor-off-broadway.html        A Woman Like Few Youve Seen                  By Laura CollinsHughes        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/us/polit White House Makes Plans For Vaccines If
2022-05-06   2022-05-08 ics/covid-aid-vaccines-white-house.html      Aid Is Cut                                   By Sheryl Gay Stolberg        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/world/a Far From Las Vegas a Hunk of Burning Love By Damien Cave and Abigail
2022-05-06   2022-05-08 ustralia/elvis-presley-festival-parkes.html  for an Icon                                  Varney                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/us/jonat                                               By JoAnna Daemmrich and
2022-05-07   2022-05-08 han-wall-marijuana-trial.html                Marijuana Trial Riles Pot Advocates          Campbell Robertson            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/arts/tele Reboot Drops ExChild Star After Inquiry Into
2022-05-07   2022-05-08 vision/fred-savage-wonder-years.html         Conduct                                      By Eduardo Medina             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/busines Saving for Your Future Self While
2022-05-07   2022-05-08 s/freelancing-retirement-ira-401k.html       Freelancing                                  By Margie Zable Fisher        TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/07/busines
2022-05-07   2022-05-08 s/roe-women-workforce-abortion-rights.html Their Careers Were Shaped By Roe v Wade By Emma Goldberg                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/nyregio                                              By Matt Flegenheimer and Rosa
2022-05-07   2022-05-08 n/ed-koch-gay-secrets.html                 The Secrets Ed Koch Carried                  Goldensohn                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/nyregio After Decades of Dysfunction on Rikers Jails
2022-05-07   2022-05-08 n/rikers-island-louis-molina.html          Chief Has Days to Make Plan to Fix It        By Chelsia Rose Marcius         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/nyregio
2022-05-07   2022-05-08 n/sing-sing-prison-exoneration.html        Building a Fraternity for Freedom            By Corey Kilgannon              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/opinion
2022-05-07   2022-05-08 /abortion-supreme-court-puritanism.html    Marilyn Monroe v Samuel Alito                By Maureen Dowd                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/opinion
2022-05-07   2022-05-08 /grief.html                                In Grief Is How We Live Now                  By Gary Greenberg               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/opinion
2022-05-07   2022-05-08 /how-roe-warped-the-republic.html          How Roe Warped the Republic                  By Ross Douthat                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/opinion
2022-05-07   2022-05-08 /mothers-day.html                          What Moms Really Need                        By Jessica Grose                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/07/opinion
2022-05-07   2022-05-08 /sunday/child-tax-credit-social-security.html There Is a Solution to Child Poverty       By Bryce Covert                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/realesta So You Want an Electric Car Where Are You
2022-05-07   2022-05-08 te/electric-car-charging.html                 Going to Charge It                         By Ronda Kaysen                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/sports/b From Loading Trucks for FedEx To Calling
2022-05-07   2022-05-08 asketball/boston-celtics-ime-udoka.html       Shots for the Celtics                      By Scott Cacciola              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/style/ra
2022-05-07   2022-05-08 re-used-book-collectors.html                  The New Collectors of Old Books            By Kate Dwyer                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/style/se
2022-05-07   2022-05-08 lf-care/soulcycle-peoplehood.html             SoulCycle Minus the Bike Heres Peoplehood By Katherine Rosman             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/us/form In Miami Where Flashy Cars Are King Every
2022-05-07   2022-05-08 ula-1-miami.html                              Day Is a Grand Prix                        By Patricia Mazzei             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/us/okla
                        homa-lpd-officers-shooting-                   ExOfficers Are Charged Over Shooting Death
2022-05-07   2022-05-08 manslaughter.html                             of a Black Man in Oklahoma                 By Sophie Kasakove             TX 9-172-761   2022-07-01



                                                                               Page 3724 of 5793
                        https://www.nytimes.com/2022/05/07/us/polit US Urging Taiwan to Buy Arms Better Suited
2022-05-07   2022-05-08 ics/china-taiwan-weapons.html               to Defend Against China                    By Edward Wong and Amy Qin        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/us/polit                                            By Dana Goldstein and Stephanie
2022-05-07   2022-05-08 ics/florida-rejected-math-textbooks.html    Florida Releases Reviews of Math Books     Saul                              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/us/polit
                        ics/trump-endorsement-herbster-nebraska-
2022-05-07   2022-05-08 midterms.html                               Trump Ally in Nebraska Opens Feuds in GOP By Reid J Epstein                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/world/a North Korea Fires Missile Amid Fears Of
2022-05-07   2022-05-08 sia/north-korea-missile-submarine.html      More Tests                                 By Choe SangHun                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/world/a Protests Send Sri Lanka Into State of
2022-05-07   2022-05-08 sia/sri-lanka-protests-emergency.html       Emergency                                  By Skandha Gunasekara             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/world/a Taliban Mandate That Women Be Covered       By David Zucchino and Safiullah
2022-05-07   2022-05-08 sia/taliban-afghanistan-burqa.html          Head to Toe                                Padshah                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/world/e
                        urope/france-president-emmanuel-macron-     Macron Inaugurated for 2nd Term as
2022-05-07   2022-05-08 inauguration.html                           President of France                        By Roger Cohen                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/world/e As Britain Shunned EU Northern Ireland
2022-05-07   2022-05-08 urope/northern-ireland-sinn-fein.html       Turned to Sinn Fein                        By Mark Landler                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/world/e Two Europes Confront Each Other Over the
2022-05-07   2022-05-08 urope/putin-victory-day-macron.html         Glory or Shame of War                      By Roger Cohen                    TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/07/world/e Moscow Made Error Counting on Local
2022-05-07   2022-05-08 urope/russia-putin-ukraine-politicians.html Collaboration                               By Andrew E Kramer               TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/07/world/e Russia Destroys Bridges After Ukrainians     By Michael Schwirtz Cora
2022-05-07   2022-05-08 urope/russia-ukraine-kharkiv-victory-day.html Force Retreat From Kharkiv                Engelbrecht and Megan Specia     TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/07/world/ Tunisias Economy Teeters as Democracy
2022-05-07   2022-05-08 middleeast/tunisia-democracy-economy.html Deteriorates                                    By Vivian Yee                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/anti- Abortion Foes Ponder a World After Roe        By Elizabeth Dias and Ruth
2022-05-07   2022-05-08 abortion-movement-roe-v-wade.html           Falls                                         Graham                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/sports/h
                        orse-racing/rich-strike-kentucky-derby-     Most Unbelievable Day Ever Possible An
2022-05-08   2022-05-08 winner.html                                 Upstart Upends Royalty                        By Joe Drape                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/world/a An Ocean of Questions Surrounds a UN           By David A Fahrenthold and
2022-05-08   2022-05-08 mericas/un-loan-project-services.html       Agencys Pot of Money                          Farnaz Fassihi                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/busines
2022-05-08   2022-05-08 s/job-gains-musk-stocks.html                The Week in Business More Strong Job Gains By Melina Delkic                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/insider/
2022-05-08   2022-05-08 supreme-court-reporting.html                A Leak That Slowed the Presses                By Emmett Lindner              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/sports/s
2022-05-08   2022-05-08 ylvia-fowles-minnesota-lynx.html            Celebrating a Reluctant Introverted Superstar By Erica L Ayala               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/style/ou
2022-05-08   2022-05-08 tfits-style-ny.html                         Heady Looks Around Town                       By Denny Lee                   TX 9-172-761   2022-07-01




                                                                                Page 3725 of 5793
                        https://www.nytimes.com/2022/04/18/travel/s A Miraculous Ecological Revival on a
2022-04-18   2022-05-09 outh-georgia-island-recovery.html             Remote SubAntarctic Island                 By Eric Guth and Jennifer Kingsley TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/technol
2022-05-04   2022-05-09 ogy/myth-of-the-genius-tech-inventor.html     The Myth of the Genius Tech Inventor       By Shira Ovide                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/opinion Corporate Profiteering Is the Culprit for
2022-05-05   2022-05-09 /us-companies-inflation.html                  Inflation                                  By Lindsay Owens                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/arts/dan Life and Death in Movement and Spoken
2022-05-06   2022-05-09 ce/last-ward-review.html                      Word                                       By Brian Seibert                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/arts/des
2022-05-06   2022-05-09 ign/lauren-halsey-kordansky.html              Honoring The Place That Keeps Her Inspired By Robin Pogrebin                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/books/a Poetry Allows Her to Be Herself Except
2022-05-06   2022-05-09 da-limon-poetry.html                          Onstage                                    By Elizabeth A Harris              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/busines
2022-05-06   2022-05-09 s/shanghai-xinjiang-china-covid-zero.html     Shanghai Gets a Taste of Xinjiang          By Li Yuan                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/opinion
                        /international-world/boris-johnson-partygate-
2022-05-06   2022-05-09 election.html                                 Voters Punish Johnson at Last              By Tanya Gold                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/travel/ A Tropical Retreat With a Psychedelic
2022-05-06   2022-05-09 mexico-timothy-leary-psychedelics.html        History                                    By Nina Burleigh                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/us/john Johnnie A Jones Sr 102 a Lawyer Who
2022-05-06   2022-05-09 nie-a-jones-sr-dead.html                      Challenged the Jim Crow South              By Katharine Q Seelye              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/us/red- Life in a Minnesota Fishbowl Water
2022-05-06   2022-05-09 river-minnesota-flooding.html                 Everywhere Except Inside Town              By Mitch Smith                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/arts/me
2022-05-07   2022-05-09 dieval-race-twitter.html                      Medieval Scholars Joust on Twitter         By Jennifer Schuessler             TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/06/us/dalla
2022-05-07   2022-05-09 s-police-officers-indicted-george-floyd.html 2 Dallas Officers Are Charged With Assault   By Jesus Jimnez                 TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/07/busines Stuck Between Seething Employees and
2022-05-07   2022-05-09 s/dealbook/companies-abortion-florida.html Potentially Vengeful Politicians               By Joe Nocera                   TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/07/opinion
2022-05-07   2022-05-09 /republican-policy-after-roe.html          A PostRoe Agenda for the GOP                   By Patrick T Brown              TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/07/arts/mu Mickey Gilley 86 Dies Country Singer Whose
2022-05-08   2022-05-09 sic/mickey-gilley-dead.html                Club Inspired Urban Cowboy                     By Bill FriskicsWarren          TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/08/arts/mu
2022-05-08   2022-05-09 sic/igor-levit-ny-phil-review.html         Igor Levit Arrives at the Philharmonic at Last By Joshua Barone                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/08/arts/mu Ric Parnell 70 Drummer With Professional
2022-05-08   2022-05-09 sic/ric-parnell-dead.html                  Prowess In the Fictional Spinal Tap            By Neil Genzlinger              TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/08/busines
                        s/media/supreme-court-leak-press-
2022-05-08   2022-05-09 protections.html                           Legal Riddle On Reporters And Leakers          By Jeremy W Peters              TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/08/busines Selling Russian Oligarchs Assets May Take
2022-05-08   2022-05-09 s/russia-oligarch-yacht-assets.html        Years                                          By Matthew Goldstein            TX 9-172-761     2022-07-01




                                                                                 Page 3726 of 5793
                        https://www.nytimes.com/2022/05/08/health/e A Swamped System Suicidal Teens Are Kept By Matt Richtel and Annie
2022-05-08   2022-05-09 mergency-rooms-teen-mental-health.html      for Days in ERs                           Flanagan                        TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/08/obituari George Prez Who Created Superhero Nirvana
2022-05-08   2022-05-09 es/george-perez-dead.html                   for 4 Decades Dies at 67                  By George Gene Gustines         TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/08/opinion
2022-05-08   2022-05-09 /mask-mandate-over.html                     What We Lose When We Lose Our Masks       By Pamela Paul                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/08/opinion
2022-05-08   2022-05-09 /supreme-court-oppression.html              The Court as An Instrument Of Oppression  By Charles M Blow               TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/08/sports/b
2022-05-08   2022-05-09 aseball/byron-buxton-twins.html             Nurturing Greatness By Giving It a Rest   By Tyler Kepner                 TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/08/sports/b A Suns Star to Watch Who Just Wont View
2022-05-08   2022-05-09 asketball/deandre-ayton-phoenix-suns.html   NBA Games on TV                            By Sopan Deb                   TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/08/sports/c An Upset Could Set Up Bivol to Realize a
2022-05-08   2022-05-09 anelo-alvarez-dmitry-bivol.html             Dream Undisputed Champion                  By Morgan Campbell             TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/08/sports/h Some Little Guys Who Can Help the Sport
2022-05-08   2022-05-09 orse-racing/rich-strike-kentucky-derby.html Reset Itself                               By Joe Drape                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/us/lgbt A Plea to Learn in Peace at an LGBTQ Haven
2022-05-08   2022-05-09 q-alabama-charter-school.html               in Alabama                                 By Jacey Fortin                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/us/madi Fire at an AntiAbortion Headquarters in     By Luke Vander Ploeg and Addison
2022-05-08   2022-05-09 son-anti-abortion-center-vandalized.html    Wisconsin Is Called Arson                  Lathers                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/us/polit Seeking Covid Pills Fearing Same Old
2022-05-08   2022-05-09 ics/covid-pills-global-aids-hiv.html        Outcome                                    By Sheryl Gay Stolberg           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/us/polit First Lady Visits Western Ukraine Offering
2022-05-08   2022-05-09 ics/jill-biden-ukraine-trip.html            Empathy and Support                        By Katie Rogers                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/us/polit Midterms Biggest Abortion Battleground
2022-05-08   2022-05-09 ics/midterms-abortion-pennsylvania.html     Pennsylvania                               By Trip Gabriel                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/us/polit Democrats Warn Ban On Abortion May
2022-05-08   2022-05-09 ics/senate-democrats-abortion.html          Expand                                     By Luke Broadwater               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/us/polit                                            By Farnaz Fassihi and David A
2022-05-08   2022-05-09 ics/un-agency-loans-resignation.html        UN Official in Lending Scandal Resigns     Fahrenthold                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/world/a
                        mericas/brazil-russian-fertilizer-          Brazil Big Food Exporter Finds Way To
2022-05-08   2022-05-09 sanctions.html                              Continue Buying Russian Fertilizer         By Jack Nicas and Andr Spigariol TX 9-172-761   2022-07-01
                                                                                                               By Christina Goldbaum Yaqoob
                        https://www.nytimes.com/2022/05/08/world/a Under Taliban Eid Shows a Chasm Between Akbary Safiullah Padshah and
2022-05-08   2022-05-09 sia/afghanistan-eid-taliban.html            Hope and Reality                           Kiana Hayeri                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/world/a In Hong Kong a Leader Inherits a Changed By Austin Ramzy and Alexandra
2022-05-08   2022-05-09 sia/hong-kong-john-lee.html                 City                                       Stevenson                        TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/08/world/e Coopting a Revered Day to Promote the
2022-05-08   2022-05-09 urope/russia-may-9-victory-day-ukraine.html Invasion                                   By Anton Troianovski           TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/08/world/e Rivals Remembering World War II Victory
2022-05-08   2022-05-09 urope/ukraine-russia-biden.html             Harden Over Ukraine                        By Roger Cohen                 TX 9-172-761     2022-07-01



                                                                               Page 3727 of 5793
                        https://www.nytimes.com/2022/05/08/world/
                        middleeast/israel-suspects-arrested-
2022-05-08   2022-05-09 attack.html                                  Israel Captures 2 Men Suspected in Ax Attack By Isabel Kershner         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/polit Is Court Poised To Sweep Away Gay
2022-05-08   2022-05-09 ics/roe-wade-supreme-court-abortion.html     Marriage                                     By Adam Liptak             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/theater/
2022-05-09   2022-05-09 review-wedding-band.html                     A Searing Look at Miscegenation Nation       By Jesse Green             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/arts/tele
2022-05-09   2022-05-09 vision/american-song-contest-final.html      More Than Just Another Pretty Voice          By Elisabeth Vincentelli   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/arts/tele
                        vision/tv-breeders-the-time-travelers-
2022-05-09   2022-05-09 wife.html                                    This Week on TV                              By Gabe Cohn               TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/09/busines
2022-05-09   2022-05-09 s/elvira-nabiullina-russia-central-bank.html She Guides Bank Policy In Russia            By Eshe Nelson              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/nyregio In New York a Frosty Silence For Adams and
2022-05-09   2022-05-09 n/aoc-eric-adams.html                        OcasioCortez                                By Jesse McKinley           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/nyregio Taxpayers May Foot Bill for Revitalization of By Matthew Haag and Dana
2022-05-09   2022-05-09 n/penn-station-revitalization-taxes.html     Penn Station Report Says                    Rubinstein                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/sports/b
2022-05-09   2022-05-09 asketball/nba-best-ballhandlers.html         Masters of the Fine Art of BallHandling     By Sopan Deb                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/sports/f When Your Friends Are Down Deep With
2022-05-09   2022-05-09 reediving-sharks.html                        Razor Teeth                                 By Adam Skolnick            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/sports/h
                        ockey/louis-domingue-penguins-nhl-           Backup of the Backup Suddenly a Playoff
2022-05-09   2022-05-09 playoffs.html                                Star As the Penguins Goalie                 By David Waldstein          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/science
2022-04-28   2022-05-10 /dogs-breed-behavior-genes.html              Breed Is No Predictor For Dog Behaviors     By James Gorman             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/science Odd Couples For Serpents Dolphins Can Be
2022-05-02   2022-05-10 /dolphins-anaconda-bolivia.html              Playful and Deadly Companions               By Carolyn Wilke            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/02/well/m
2022-05-02   2022-05-10 ove/exercise-ankle-injury.html               Steps to Deal With Ankle Troubles           By Rachel Fairbank          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/science Stork of the Sea This Fish Dad Carries A
2022-05-03   2022-05-10 /mouthbrooding-fish-eggs.html                Whole Mouthful of Babies                    By Elizabeth Preston        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/well/sic
2022-05-03   2022-05-10 k-before-period-symptoms.html                Why Do I Feel Sick Before My Period         By Dani Blum                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/04/movies/
2022-05-04   2022-05-10 happening-abortion-france.html               Spurring a French Conversation on Abortion By Laura Cappelle            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/well/fa
2022-05-05   2022-05-10 mily/parental-burnout-symptoms.html          How Working Parents Can Measure Burnout By Catherine Pearson            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/interactive/2022/05/
                        05/climate/engandered-vaquitas-extinction-
2022-05-05   2022-05-10 inbreeding.html                              For a Shy Porpoise Rare Good News           By Catrin Einhorn           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/well/cle
2022-05-06   2022-05-10 an-disinfect-home-germs.html                 You May Be Cleaning All Wrong               By Melinda Wenner Moyer     TX 9-172-761   2022-07-01



                                                                                  Page 3728 of 5793
                        https://www.nytimes.com/2022/05/06/science Marine Animals Float Amid Patch Of Pacific
2022-05-06   2022-05-10 /great-pacific-garbage-patch-pollution.html Garbage                                     By Annie Roth                       TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/06/science Paleozoic Passion Before There Were Birds or
2022-05-06   2022-05-10 /trilobites-sex-claspers.html               Bees How Trilobites Reproduced              By Jack Tamisiea                    TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/06/well/mi Virtual Reality Therapy May Benefit Older
2022-05-06   2022-05-10 nd/virtual-reality-therapy-seniors.html     Patients                                    By Matt Fuchs                       TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/07/us/cave- Deep in Alabama Cave 3D Tech Reveals
2022-05-07   2022-05-10 art-alabama.html                            Trove Of Ancient Native Art                 By Christine Hauser                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/09/arts/dan
                        ce/susan-jaffe-artistic-director-ballet-    Former Star Ballerina Leaps to Artistic
2022-05-09   2022-05-10 theater.html                                Director                                    By Roslyn Sulcas                    TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/09/arts/des
2022-05-09   2022-05-10 ign/madonna-beeple-nft-videos.html          Madonna Teams Up With a Digital Artist      By Zachary Small                    TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/09/arts/mu
2022-05-09   2022-05-10 sic/ron-carter.html                         Still Seeking A Better Order of Notes       By Marcus J Moore                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/09/arts/mu
                        sic/serse-review-english-concert-carnegie-  Handels Serse With Yuks and a Certain
2022-05-09   2022-05-10 hall.html                                   Magic                                       By Oussama Zahr                     TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/09/arts/tele
2022-05-09   2022-05-10 vision/netflix-is-a-joke-comedy-festival.html At Its Own Festival the Laugh Is on Netflix   By Jason Zinoman                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/09/books/ Midge Decter 94 Writer Who Helped Shape
2022-05-09   2022-05-10 midge-decter-dead.html                        Neoconservatism Dies                          By Douglas Martin               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/09/books/r A Witty Master of the MicroObservation
2022-05-09   2022-05-10 eview-either-or-elif-batuman.html             Returns                                       By Dwight Garner                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/09/busines
                        s/energy-environment/puerto-rico-solar-                                                     By Coral Murphy Marcos and Erika
2022-05-09   2022-05-10 power.html                                    Puerto Ricos Obvious Elusive Solution         P Rodriguez                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/busines
                        s/media/pulitzer-prizes-new-york-times-
2022-05-09   2022-05-10 washington-post.html                          For Pulitzers Riot and War Are the Focus      By Katie Robertson              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/09/busines
2022-05-09   2022-05-10 s/pulitzer-prize-winners.html                 2022 Pulitzer Winners                         By The New York Times           TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/09/busines Stocks Dive Is in Week 6 China Adds To
2022-05-09   2022-05-10 s/stock-market-volatility.html                Anxiety                                       By Coral Murphy Marcos          TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/09/dining/
                        mario-batali-trial-sexual-misconduct-         Accuser Details Groping and Kissing as
2022-05-09   2022-05-10 boston.html                                   Batali Assault Trial Starts                   By Kim Severson                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/09/health/i
2022-05-09   2022-05-10 da-elderly-help.html                          Does Mom Know What Shes Agreeing To           By Paula Span                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/09/nyregio New York Lawmakers Push for Abortion
2022-05-09   2022-05-10 n/letitia-james-abortion-roe-v-wade.html      Fund to Create a Safe Harbor for Women        By Grace Ashford                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/09/nyregio Rikers Officers Lagged in Helping 3 Men          By Jonah E Bromwich and Jan
2022-05-09   2022-05-10 n/rikers-deaths-officers.html                 Who Died Report Finds                         Ransom                          TX 9-172-761    2022-07-01



                                                                                  Page 3729 of 5793
                        https://www.nytimes.com/2022/05/09/nyregio Mayor Says Vendors Sales Threatened
2022-05-09   2022-05-10 n/subway-safety-food-vendor-brooklyn.html Subway Safety                                   By Chelsia Rose Marcius           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/opinion
2022-05-09   2022-05-10 /sometimes-history-goes-backward.html            Sometimes History Goes Backward          By Gail Collins and Bret Stephens TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/opinion
                        /taking-the-fight-for-safe-legal-abortion-to-the As Governor Ill Fight Michigans
2022-05-09   2022-05-10 states.html                                      AntiAbortion Law if Roe Falls            By Gretchen Whitmer               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/opinion Nebraska Once Centrist Has Become a
2022-05-09   2022-05-10 /trump-nebraska-politics.html                    Polarized Mess                           By Ted Genoways                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/sports/b MLB Wants to Make Ball More Consistent
2022-05-09   2022-05-10 aseball/rob-manfred-baseballs.html               Commissioner Says                        By Benjamin Hoffman               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/sports/b The Arms That House Built and Keeps
2022-05-09   2022-05-10 aseball/tom-house-mustard.html                   Building                                 By Jason Turbow                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/sports/b
                        asketball/philadelphia-76ers-tyrese-             A Youngster Whos Ready With a Giggle and
2022-05-09   2022-05-10 maxey.html                                       Serious Poise                            By Tania Ganguli                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/sports/h Islanders Fire Trotz as Coach One Year After
2022-05-09   2022-05-10 ockey/islanders-trotz-nhl.html                   Making Trip to Conference Finals         By David Waldstein                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/sports/s Manchester City Is Expected to Prevail In
2022-05-09   2022-05-10 occer/erling-haaland-manchester-city.html        Battle of Top Teams to Sign Haaland      By Andrew Das                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/technol In Settlement Clearview AI Agrees to Limit
2022-05-09   2022-05-10 ogy/clearview-ai-suit.html                       Sales of Database                        By Ryan Mac and Kashmir Hill      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/theater/
2022-05-09   2022-05-10 tony-awards-nominations-ensembles.html           It Was Truly An Honor Just to Open       By Jesse Green                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/theater/
2022-05-09   2022-05-10 tony-awards-nominees.html                        2022 Tony Award Nominees                 By Rachel Sherman                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/theater/
                        tony-nominations-a-strange-loop-
2022-05-09   2022-05-10 broadway.html                                    A Strange Loop Tops Tony Nominees        By Michael Paulson                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/us/arka A Pastor Struggles as Politics Divide a
2022-05-09   2022-05-10 nsas-pastor-evangelical-churches.html            Congregation in Arkansas                 By Ruth Graham                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/us/bord QAnon Intercepts Children at Border
2022-05-09   2022-05-10 er-qanon-arizona.html                            Collecting Family Data                   By Miriam Jordan                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/us/linco
2022-05-09   2022-05-10 ln-college-illinois-closure.html                 End of Era As College Shuts Doors        By Christine Chung                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/us/offic Escaped Inmate Is Caught With a Corrections By Eduardo Medina Alyssa Lukpat
2022-05-09   2022-05-10 er-inmate-escape-alabama.html                    Officer                                  and Christine Chung               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/us/polit ExWorld Leaders Press US for 5 Billion to
2022-05-09   2022-05-10 ics/biden-covd-aid.html                          Fight Virus                              By Sheryl Gay Stolberg            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/us/polit To Bolster Crucial Ukrainian Industry US
2022-05-09   2022-05-10 ics/ukraine-steel-tariffs.html                   Will Suspend Steel Tariffs               By Ana Swanson                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/us/polit Trumps Sway Is Felt in West Virginia
2022-05-09   2022-05-10 ics/west-virginia-trump.html                     Primary                                  By Jonathan Weisman               TX 9-172-761   2022-07-01




                                                                                Page 3730 of 5793
                        https://www.nytimes.com/2022/05/09/world/a Prison Riot In Ecuador Kills Dozens Of
2022-05-09   2022-05-10 mericas/ecuador-prison-riot.html           Inmates                                      By Oscar Lopez                    TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/09/world/a Sri Lankas Prime Minister Resigns Amid           By Skandha Gunasekara and Mujib
2022-05-09   2022-05-10 sia/mahinda-rajapaksa-resigns-sri-lanka.html Roiling Protests                               Mashal                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/world/a Eyes on Its Economy Taiwan Shifts to             By Amy Qin Amy Chang Chien
2022-05-09   2022-05-10 sia/taiwan-china-covid.html                   Coexisting With Covid                         and Isabelle Qian               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/world/e
                        mmanuel-macron-european-union-                Macron Calls for Stronger Europe but Quells
2022-05-09   2022-05-10 ukraine.html                                  Ukraines Hopes of Joining EU Soon             By Constant Mheut               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/world/e
                        urope/bullying-children-russia-war-           In Europes Schoolyards War Hurts              By Emma Bubola and Valeriya
2022-05-09   2022-05-10 europe.html                                   RussianSpeaking Children                      Safronova                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/world/e
                        urope/putin-speech-victory-day-ukraine-       On Victory Day Putin Walks a Careful Line
2022-05-09   2022-05-10 war.html                                      On the Ukraine War                            By Anton Troianovski            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/world/e
                        urope/queen-elizabeth-parliament-             Queen Will Miss Opening of Britains
2022-05-09   2022-05-10 opening.html                                  Parliament for Health Reasons                 By Mark Landler                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/world/e Labour Leader Vows to Quit If Police Find
2022-05-09   2022-05-10 urope/starmer-labour-covid-rules.html         Covid Breach                                  By Stephen Castle               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/world/e
                        urope/world-war-ii-victory-day-russia-
2022-05-09   2022-05-10 ukraine.html                                  A Kinship Rooted in History Shatters          By Michael Schwirtz             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/09/wo
                        rld/philippines-election/ferdinand-marcos-jr- 36 Years Later a Marcos Is Set to Lead
2022-05-09   2022-05-10 president                                     Filipinos                                     By SuiLee Wee                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/arts/des Warhols Marilyn Sells for 195 Million
2022-05-10   2022-05-10 ign/warhol-auction-marilyn-monroe.html        Breaking Auction Record                       By Robin Pogrebin               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/busines ExMcCain Aide Says He Lied to Discredit A
2022-05-10   2022-05-10 s/media/steve-schmidt-john-mccain.html        2008 Times Article                            By Jeremy W Peters              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/nyregio
                        n/aaron-nathaniel-sentencing-timi-
2022-05-10   2022-05-10 oyebola.html                                  Three Years After a Killing Teen Is Sentenced By Emily Palmer                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/us/polit
                        ics/biden-lend-lease-ukraine-weapons-         Biden Accelerates Military Aid to Ukraine     By Peter Baker and Emily
2022-05-10   2022-05-10 war.html                                      Drawing the US Deeper Into the War            Cochrane                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/climate Oil Companies Sell Dirty Wells But
2022-05-10   2022-05-10 /oilfield-sales-pollution.html                Emissions Only Get Worse                      By Hiroko Tabuchi               TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/10/health/ Pediatricians on Front Lines Of a Mental     By Matt Richtel and Annie
2022-05-10   2022-05-10 pediatricians-mental-health-crisis-teens.html Health Crisis                             Flanagan                          TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/insider/
2022-05-10   2022-05-10 reflecting-on-a-familys-flight.html           Reflecting on a Familys Flight            By Cora Engelbrecht               TX 9-172-761     2022-07-01




                                                                                Page 3731 of 5793
                        https://www.nytimes.com/2022/05/10/us/polit
2022-05-10   2022-05-10 ics/states-tax-cuts-inflation.html           Risk for States Stoking Prices With Tax Cuts By Alan Rappeport         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/us/polit Congress Plans First Hearing on Unidentified By Leslie Kean and Ralph
2022-05-10   2022-05-10 ics/ufo-sightings-house-hearing.html         Aerial Phenomena Since 1970                  Blumenthal                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/dining/
                        doordash-ubereats-remote-food-delivery-
2022-05-05   2022-05-11 service.html                                 FastFood Orders Take Flight in Alaska        By Victoria Petersen      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/dining/
2022-05-05   2022-05-11 drinks/review-white-wine-spain.html          Fine Whites From a Land of Bold Reds         By Eric Asimov            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/dining/
2022-05-05   2022-05-11 drinks/shirley-temple-vodka.html             The Dirty Shirley Isnt Kid Stuff             By Becky Hughes           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/dining/
2022-05-06   2022-05-11 spring-meal.html                             A Menu That Meets the Moment                 By David Tanis            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/dining/
2022-05-06   2022-05-11 spring-vegetable-polenta.html                Polenta Thats Like Spring in a Bowl          By Melissa Clark          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/science Morton Mower Dies at 89 His Heart Device
2022-05-07   2022-05-11 /morton-mower-dead.html                      Saved Lives With a Jolt                      By Richard Sandomir       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/us/kevi Kevin Samuels 57 Social Media Star With
2022-05-07   2022-05-11 n-samuels-dead.html                          Polarizing View of Gender Roles              By Daniel Victor          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/opinion Dementia Is Where My Mother Lives It Is Not
2022-05-08   2022-05-11 /dementia-elder-care.html                    Who She Is                                   By Suzanne Finnamore      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/arts/mu
2022-05-09   2022-05-11 sic/future-billboard-chart.html              Future Lands Atop Billboards Chart Again     By Ben Sisario            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/arts/tele A TV Teenage Romance With a Touch of
2022-05-09   2022-05-11 vision/heartstopper-netflix.html             Drawn Magic                                  By Laura Zornosa          TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/09/dining/
2022-05-09   2022-05-11 gullah-geechee-cookbook-emily-meggett.html Recipes From a Life of Sharing               By Kim Severson             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/dining/ To Prepare Your Creative Flair Is a Must for
2022-05-09   2022-05-11 mochi-active-cultures.html                  This Kit                                    By Florence Fabricant       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/dining/r
2022-05-09   2022-05-11 aw-wine-club.html                           To Sip Raw Wine Club Explores the World By Florence Fabricant           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/dining/
2022-05-09   2022-05-11 spring-morels.html                          To Candy A Spring Treat With Ties to Greece By Florence Fabricant       TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/09/dining/ To View The Hot Dog as Art And as New
2022-05-09   2022-05-11 steve-marcus-museum-at-eldridge-street.html York Style                                  By Florence Fabricant       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/dining/ To Appreciate The History of Zabars With
2022-05-09   2022-05-11 zabars-family-recipes.html                    Photos and More                           By Florence Fabricant       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/movies/
                        elizabeth-olsen-doctor-strange-multiverse-of-
2022-05-09   2022-05-11 madness.html                                  Elizabeth Olsens Many Superpowers         By Kyle Buchanan            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/opinion
2022-05-09   2022-05-11 /iran-deal-irgc-biden.html                    Biden Could Make the World Safer          By Peter Beinart            TX 9-172-761   2022-07-01




                                                                                Page 3732 of 5793
                        https://www.nytimes.com/2022/05/09/opinion
                        /pamela-anderson-amber-heard-redemption- The Limits of the Feminist Redemption
2022-05-09   2022-05-11 plot.html                                   Narrative                                 By Jessica Bennett                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/sports/y Yuri Averbakh First Grandmaster To Be a
2022-05-09   2022-05-11 uri-averbakh-dead.html                      Centenarian Is Dead at 100                By Dylan Loeb McClain              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/theater/
2022-05-09   2022-05-11 james-ijames-fat-ham-drama-pulitzer.html    A Pulitzer Served With a Side of Hamlet   By Michael Paulson                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/us/polit Evidence Grows of Shortcomings of the
2022-05-10   2022-05-11 ics/russia-air-force-ukraine.html           Russian Air Force US Officials Say        By John Ismay                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/us/youn Atlanta Rap Star Arrested On GangRelated
2022-05-10   2022-05-11 g-thug-arrested-gang.html                   Charges                                   By Richard Fausset                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/arts/des
2022-05-10   2022-05-11 ign/warhol-marilyn-christies.html           The Moment Pop Art Became Popular Art     By Blake Gopnik                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/arts/fra
2022-05-10   2022-05-11 ncis-fukuyama-history-liberalism.html       After Historys End Still Plugging Along   By Jennifer Schuessler             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/arts/mu
2022-05-10   2022-05-11 sic/susan-jacks-dead.html                   Susan Jacks 73 Sang a WarInspired Hit     By Neil Genzlinger                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/books/
                        magazine-industry-memoirs-anna-wintour-
2022-05-10   2022-05-11 dana-brown.html                             Where Have the Magazines Gone             By Alexandra Jacobs                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/10/busines Bolt StartUp Is Scrutinized On Promises And
2022-05-10   2022-05-11 s/bolt-start-up-ryan-breslow-investors.html Metrics                                    By Erin Woo and Maureen Farrell   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/busines                                             By Jane Margolies and Kelsey
2022-05-10   2022-05-11 s/conference-room-decor-offices-rto.html    Making Conference Rooms Less Boring        McClellan                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/busines For Millions It Has Been Boom Times Amid
2022-05-10   2022-05-11 s/economy-boom-times.html                   Bad News                                   By David Streitfeld               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/busines Biden Calls Inflation Top Domestic Priority By Peter Baker and Michael D
2022-05-10   2022-05-11 s/economy/biden-inflation.html              and Attacks GOP Plan                       Shear                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/busines As Prices Soar Fed Seeks To Make Up for
2022-05-10   2022-05-11 s/economy/federal-reserve-inflation.html    Lost Time                                  By Jeanna Smialek                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/busines Gas Price Hits Record Relief Is Expected
2022-05-10   2022-05-11 s/energy-environment/oil-prices-gas.html    Soon                                       By Clifford Krauss                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/busines Senate Confirmation Of a Fed Nominee        By Jeanna Smialek and Emily
2022-05-10   2022-05-11 s/lisa-cook-confirmed-fed-governor.html     Breaks New Ground                          Cochrane                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/busines
2022-05-10   2022-05-11 s/media/impremedia-el-diario-sold.html      StartUp Buys SpanishLanguage Publisher     By Benjamin Mullin                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/busines Netflix Signals Ads May Come by End of the By John Koblin and Nicole
2022-05-10   2022-05-11 s/media/netflix-commercials.html            Year                                       Sperling                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/busines As Mortgage Rates Rise Refinancing Boom
2022-05-10   2022-05-11 s/refinancing-mortgage-rates.html           Ebbs                                       By Stacy Cowley                   TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/10/busines Economy Yellen Says Abortion Ban Would
2022-05-10   2022-05-11 s/treasury-janet-yellen-abortion-rights.html Take Financial Toll                      By Alan Rappeport                  TX 9-172-761   2022-07-01




                                                                               Page 3733 of 5793
                        https://www.nytimes.com/2022/05/10/busines Ukraine to Stop Transporting Some Russian
2022-05-10   2022-05-11 s/ukraine-gas-russia-sokhranivka.html       Gas                                             By Stanley Reed               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/dining/
                        mario-batali-not-guilty-sexual-misconduct- Celebrity Chef Found Not Guilty of Sexually
2022-05-10   2022-05-11 trial.html                                  Assaulting Woman in Boston                      By Kim Severson               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/dining/ Ana Bar Eatery Offering Prepared Foods
2022-05-10   2022-05-11 nyc-restaurant-news.html                    Opens in Hudson Yards                           By Florence Fabricant         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/dining/r
2022-05-10   2022-05-11 owdy-rooster-review-pete-wells.html         Finding Joy and Sizzle in FastCasual            By Pete Wells                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/health/c Number of Gun Deaths Reached Record             By Roni Caryn Rabin and Tim
2022-05-10   2022-05-11 dc-gun-violence-pandemic.html               Levels In 2020 CDC Finds                        Arango                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/nyregio
                        n/lauren-pazienza-vocal-coach-barbara-      Prosecutors Say Tantrum Preceded a Deadly
2022-05-10   2022-05-11 gustern-bail.html                           Shove                                           By Jonah E Bromwich           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/nyregio Judge Delays New York Primary Dashing
2022-05-10   2022-05-11 n/primary-election-new-york.html            Democrats Hopes for District Maps               By Nicholas Fandos            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/nyregio
                        n/sundiata-acoli-black-liberation-army-     Parole for Black Nationalist Convicted in the
2022-05-10   2022-05-11 parole.html                                 1973 Killing of a New Jersey Trooper            By Tracey Tully               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/opinion
                        /can-we-still-be-optimistic-about-
2022-05-10   2022-05-11 america.html                                Can We Still Be Optimistic About America        By Bret Stephens              TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/10/sports/b A Celtics Veteran Turns Back The Clock and
2022-05-10   2022-05-11 asketball/celtics-horford-bucks-giannis.html the Bucks                                  By Sopan Deb                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/sports/b
                        asketball/memphis-grizzlies-dillon-          Golden State Is Teaching Young Grizzlies a
2022-05-10   2022-05-11 brooks.html                                  Lesson                                     By Scott Cacciola                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/sports/f When He Actually Retires Brady Will Join
2022-05-10   2022-05-11 ootball/tom-brady-fox-deal.html              Fox Broadcast Booth as Color Analyst       By Victor Mather and Kevin Draper TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/sports/h No Longer Formidable Soft Rangers Plunge
2022-05-10   2022-05-11 ockey/penguins-rangers-nhl-playoffs.html     Into a Deep Hole                           By David Waldstein                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/sports/s FIFA and EA Sports End Their DecadesLong
2022-05-10   2022-05-11 occer/fifa-ea-sports.html                    Video Game Partnership                     By Tariq Panja                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/technol
2022-05-10   2022-05-11 ogy/apple-ipod-phasing-out.html              Eject Device Apple Ends iPods Run          By Tripp Mickle                   TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/10/technol Musk Pledges to Reverse Twitters Ban on
2022-05-10   2022-05-11 ogy/elon-musk-donald-trump-twitter-ban.html Trump                                       By Mike Isaac                   TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/us/baby-A Shortage of Baby Formula Is Distressing    By Edgar Sandoval Amanda Morris
2022-05-10   2022-05-11 formula-shortage.html                       Families in San Antonio                     and Madeleine Ngo               TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/us/edw Edward J Bronson 91 Who Pushed for Fairer
2022-05-10   2022-05-11 ard-j-bronson-dead.html                     Trials                                      By Sam Roberts                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/us/polit Afghans Ask Court Not to Give Frozen Assets
2022-05-10   2022-05-11 ics/afghans-central-bank-sept-11.html       to Sept 11 Families                         By Charlie Savage               TX 9-172-761     2022-07-01



                                                                                  Page 3734 of 5793
                        https://www.nytimes.com/2022/05/10/us/polit US Sending Billions to Kyiv With Little      By Catie Edmondson and Emily
2022-05-10   2022-05-11 ics/congress-ukraine-aid-questions.html     Debate                                       Cochrane                         TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/us/polit
                        ics/emergent-fda-vaccine-covid-             Emergent Hid Evidence of Issues at Vaccine By Sheryl Gay Stolberg Chris
2022-05-10   2022-05-11 contaminated.html                           Plant Report Says                            Hamby and Sharon LaFraniere      TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/us/polit
                        ics/homeland-security-misconduct-           Homeland Security Inspector Said Incidents
2022-05-10   2022-05-11 reports.html                                Cut From Reports Were Already Known          By Chris Cameron                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/us/polit The Hollywood Lawyer in Hunter Bidens        By Kenneth P Vogel and Michael S
2022-05-10   2022-05-11 ics/hunter-biden-kevin-morris-lawyer.html   Corner                                       Schmidt                          TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/us/polit Why Democrats Are Advancing a Bill Thats
2022-05-10   2022-05-11 ics/roe-v-wade-abortion-senate-vote.html    All but Certain to Fail                      By Annie Karni                   TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/us/polit West Ties Russia to Cyberattack on Ukraines By David E Sanger and Kate
2022-05-10   2022-05-11 ics/russia-cyberattack-ukraine-war.html     Satellites in RunUp to Invasion              Conger                           TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/world/a Landslide Win In Philippines By a Marcos
2022-05-10   2022-05-11 sia/philippines-election-protests.html      Spurs Protests                               By SuiLee Wee                    TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/world/a New South Korean President Vows to Take
2022-05-10   2022-05-11 sia/south-korea-yoon-president.html         Harder Line With North                       By Choe SangHun                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/world/e
2022-05-10   2022-05-11 urope/french-military-ukraine.html          French Military Shifts Focus of Its Planning By Constant Mheut                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/world/e Pussy Riot Activist Makes a Daring Escape By Valerie Hopkins and Misha
2022-05-10   2022-05-11 urope/pussy-riot-russia-escape.html         Out of Russia                                Friedman                         TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/world/e
                        urope/queen-elizabeth-charles-speech-       For First Time in Decades Parliament Opens
2022-05-10   2022-05-11 parliament.html                             Without Queen Elizabeth                      By Mark Landler                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/world/e Head of Spains Intelligence Agency Is
2022-05-10   2022-05-11 urope/spain-intelligence-chief-ousted.html  Removed Amid Spyware Scandal                 By Raphael Minder                TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/10/world/e On the Last Breath Wives Seek Mercy For         By Maria Varenikova and Marc
2022-05-10   2022-05-11 urope/ukraine-mariupol-soldiers-wives.html Mariupol Troops                                 Santora                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/world/e                                                 By Michael Schwirtz Marc Santora
2022-05-10   2022-05-11 urope/ukraine-russia-donbas.html             Russians Hold Much of East Setbacks Aside and Michael Levenson                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/world/
                        middleeast/ukraine-crowdsourcing-online-     Crowdfunding an Army How an Internet
2022-05-10   2022-05-11 donations.html                               Effort Is Helping to Fortify Kyiv             By Jane Arraf                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/10/bus
                        iness/economy-news-stocks-inflation/ukraine- Ukraines Economy Is Predicted to Shrink 30
2022-05-10   2022-05-11 economy                                      Percent in 2022                               By Eshe Nelson                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/dining/ To Bloom Garden Is Planned For Obama
2022-05-11   2022-05-11 obama-presidential-center-garden.html        Center                                        By Christina Morales             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/theater/
2022-05-11   2022-05-11 which-way-to-the-stage-review.html           Listen to That Catty Couple at the Stage Door By Elisabeth Vincentelli         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/us/polit
                        ics/haitian-mawozo-gang-kidnapping-          Gang Leader Helped Seize Missionaries
2022-05-11   2022-05-11 charges.html                                 Charges Say                                   By Glenn Thrush                  TX 9-172-761   2022-07-01



                                                                                Page 3735 of 5793
                        https://www.nytimes.com/2022/05/10/us/polit House Votes to Let Aides Unionize Aiming to By Emily Cochrane and Luke
2022-05-11   2022-05-11 ics/house-staff-union.html                   Halt Career Staff Exodus                   Broadwater                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/us/polit Mooney Rides Trumps Endorsement To West
2022-05-11   2022-05-11 ics/mooney-trump-west-virginia.html          Virginia House Primary Win                 By Jonathan Weisman               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/sports/s An Inexorable Rise Finally Reaches A
2022-05-11   2022-05-11 occer/erling-haaland-manchester-city.html    Lucrative Summit                           By Rory Smith                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/technol
2022-05-11   2022-05-11 ogy/tech-start-ups.html                      When People Stop Believing in Unicorns     By Erin Griffith                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/world/i Film Rekindles Furor Over Claims of Israeli
2022-05-11   2022-05-11 sraeli-palestinian-mass-grave-tantura.html   Massacre in 1948                           By Patrick Kingsley               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/13/well/mi Here to Help What to Know About Mental
2022-04-13   2022-05-12 nd/mental-health-apps-therapy.html           Health Apps                                By Christina Caron                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/29/theater/
2022-04-29   2022-05-12 in-jerusalem-review.html                     A Hypnotic Performance Swaggers Back       By Matt Wolf                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/style/ch Chanel Leads the Return of Destination
2022-05-06   2022-05-12 anel-celine-cruise.html                      Shows                                      By Vanessa Friedman               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/interactive/2022/05/
                        06/technology/russian-propaganda-                                                       By Stuart A Thompson and Yuliya
2022-05-06   2022-05-12 television.html                              The War in Ukraine as Seen on Russian TV ParshinaKottas                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/arts/mu Composer Giving Voice To Oppressed Wins
2022-05-09   2022-05-12 sic/raven-chacon-pulitzer-prize-music.html   Pulitzer                                   By Javier C Hernndez              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/arts/mu
2022-05-09   2022-05-12 sic/seidel-stradivarius-violin-auction.html  These Strings Could Go Zing At Auction     By James B Stewart                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/10/arts/des
2022-05-10   2022-05-12 ign/guggenheim-sackler-name-opioids.html One More Museum To Erase Sacklers               By Zachary Small                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/arts/mu
2022-05-10   2022-05-12 sic/kevin-morby-this-is-a-photograph.html    Stalking Musical Ghosts in Memphis          By Grayson Haver Currin          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/arts/tele In a Matter of Timing 24 Meets The
2022-05-10   2022-05-12 vision/tehran-review-apple.html              Americans in Iran                           By Mike Hale                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/books/j
2022-05-10   2022-05-12 umi-bello-plagiarism.html                    Plagiarism Again Tarnishes a Debut Novelist By Daniel Victor                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/busines Prices Rise and Yen Falls Testing Japans
2022-05-10   2022-05-12 s/japan-yen-inflation.html                   Resilience                                  By Ben Dooley                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/opinion
2022-05-10   2022-05-12 /democrats-student-debt-relief.html          Forgiving Debt Wont Help the Left           By Jeff Maurer                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/opinion
                        /international-world/ukraine-russia-war-
2022-05-10   2022-05-12 donbas.html                                  Nothing in Ukraine Has Been Left Untouched By Tanya Kozyreva                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/opinion Undoing Roe Will Disrupt More Than
2022-05-10   2022-05-12 /roe-overturn-consequences.html              Abortion Im OK With That                    By Matthew Walther               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/us/alfre Alfred Baldwin the Lookout for the Watergate
2022-05-10   2022-05-12 d-baldwin-dead.html                          Burglars Dies at 83                         By Katharine Q Seelye            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/world/e Feud Pitting Wives of 2 Soccer Stars Moves
2022-05-10   2022-05-12 urope/wagatha-christie-trial-uk.html         to a London Courtroom                       By Isabella Kwai                 TX 9-172-761   2022-07-01



                                                                                Page 3736 of 5793
                        https://www.nytimes.com/2022/05/10/world/
                        middleeast/iran-execution-ahmadreza-           Iran Refuses To Spare Life Of Scientist Held
2022-05-10   2022-05-12 djalali.html                                   as Spy                                         By Farnaz Fassihi                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/arts/des Bidders Put New Ranks Of Artists In
2022-05-11   2022-05-12 ign/christies-contemporary-auction.html        Spotlight                                      By Robin Pogrebin                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/nyregio Man Killed and Police Officer Shot in the          By Chelsia Rose Marcius and Ta
2022-05-11   2022-05-12 n/nypd-officer-shot-bronx.html                 Bronx                                          Kvetenadze                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/theater/
2022-05-11   2022-05-12 the-vagrant-trilogy-review.html                Palestinians in Exile Yearning for Home        By Laura CollinsHughes           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/world/e Leonid Kravchuk 88 Who Freed Ukraine
2022-05-11   2022-05-12 urope/leonid-kravchuk-dead.html                From Soviet Shackles                           By Anushka Patil                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/arts/mu Gloria Parker 100 SelfTaught Maestra Who
2022-05-11   2022-05-12 sic/gloria-parker-dead.html                    Made Crystal Wine Glasses Sing                 By Richard Sandomir              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/books/l
2022-05-11   2022-05-12 iberalism-francis-fukuyama.html                In Defense Of Liberals Yet Again               By Jennifer Szalai               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/busines More Access To Child Care Could Relieve
2022-05-11   2022-05-12 s/child-care-work-force.html                   Talent Crunch                                  By Alisha Haridasani Gupta       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/busines
2022-05-11   2022-05-12 s/china-wheat-food-prices-inflation.html       A Looming Crisis For Chinese Wheat             By Keith Bradsher                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/busines Disney Added 79 Million Streaming
2022-05-11   2022-05-12 s/disney-subscribers.html                      Subscribers Last Quarter                       By Benjamin Mullin               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/busines Inflation Slows But Rising Prices Weigh on
2022-05-11   2022-05-12 s/economy/april-2022-cpi.html                  the US                                         By Jeanna Smialek                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/busines
                        s/energy-environment/rivian-earnings-electric- EV Maker Affirms Goals Amid Issues In
2022-05-11   2022-05-12 trucks.html                                    Production                                     By Peter Eavis                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/busines Central Bank Federal Reserve Veteran To
2022-05-11   2022-05-12 s/lorie-logan-dallas-fed.html                  Take Over Dallas Post                          By Jeanna Smialek                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/11/busines Slate After a Turbulent Spell Names a New
2022-05-11   2022-05-12 s/media/hillary-frey-slate-editor-in-chief.html Newsroom Chief                                By Katie Robertson               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/busines Central Bank By 917 Senate Confirms Biden          By Jeanna Smialek and Emily
2022-05-11   2022-05-12 s/philip-jefferson-fed-governor.html            Nominee to the Fed                            Cochrane                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/climate Research Ties Aerosol Levels To Frequency
2022-05-11   2022-05-12 /air-pollution-hurricanes.html                  Of Hurricanes                                 By Henry Fountain                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/health/c Moderna Trial Shows Its Coronavirus
2022-05-11   2022-05-12 ovid-moderna-vaccine-kids.html                  Vaccine Protects Children Aged 6 to 11        By Apoorva Mandavilli            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/nyregio Watchdog Recommends Punishments for
2022-05-11   2022-05-12 n/nypd-misconduct-george-floyd.html             Officers                                      By Troy Closson                  TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/11/nyregio In New York Changes Leave a Voting Cycle By Nicholas Fandos and Jesse
2022-05-11   2022-05-12 n/tom-reed-special-election-redistricting.html in Disarray                            McKinley                                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/nyregio Suozzi Ignores Calls From Top Democrats To
2022-05-11   2022-05-12 n/tom-suozzi-governor.html                     End Campaign for New York Governor     By Nicholas Fandos                       TX 9-172-761   2022-07-01




                                                                                   Page 3737 of 5793
                        https://www.nytimes.com/2022/05/11/nyregio Judge Lifts Contempt Order but Not Fine        By Jonah E Bromwich and Ben
2022-05-11   2022-05-12 n/trump-contempt-letitia-james.html         Against Trump in Civil Inquiry                Protess                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/opinion Hows a Woman Different From a Sea Turtle
2022-05-11   2022-05-12 /roe-v-wade-senate.html                     Senators Want to Know                         By Gail Collins               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/sports/a Revived Sex Abuse Case Against Tennis
2022-05-11   2022-05-12 buse-tennis-verdict-marin-county.html       Coach Brings Vindication                      By David W Chen               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/sports/b Nothing to It Angels Rookie Fires NoHitter In
2022-05-11   2022-05-12 aseball/reid-detmers-no-hitter.html         11th Start                                    By Scott Miller               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/sports/b Bob Lanier Rugged Hall of Fame Center With
2022-05-11   2022-05-12 asketball/bob-lanier-dead.html              a Soft Touch Dies at 73                       By Richard Sandomir           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/sports/b Irving Says He Wants to Stick With the Nets
2022-05-11   2022-05-12 asketball/kyrie-irving-nets-offseason.html  but Do the Nets Want Him                      By Tania Ganguli              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/sports/b
                        asketball/nikola-jokic-denver-nuggets-nba-  Denvers Jokic Wins a Second Consecutive
2022-05-11   2022-05-12 mvp.html                                    MVP Award                                     By Victor Mather              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/sports/g
2022-05-11   2022-05-12 olf/saudi-pga-liv.html                      PGA Tour Plays Hardball With an Upstart       By Bill Pennington            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/sports/t Osaka Is Evolving And She Has Her Own
2022-05-11   2022-05-12 ennis/naomi-osaka-img-evolve.html           Management Agency to Prove It                 By Matthew Futterman          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/style/ab
2022-05-11   2022-05-12 ortion-rights-merch-clothing.html           Abortion Debate Puts a Year in Focus          By Jessica Testa              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/style/fe
2022-05-11   2022-05-12 stival-devotees-migrate-east.html           Desert Merriment Knows No Bounds              By Andr Wheeler               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/technol Battered Bitcoin Is Proving All That Glitters
2022-05-11   2022-05-12 ogy/bitcoin-price-crashing-stocks.html      Isnt Gold                                     By David YaffeBellany         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/technol FTC Has the Numbers to Push an Aggressive By David McCabe and Cecilia
2022-05-11   2022-05-12 ogy/ftc-majority-lina-khan.html             Agenda                                        Kang                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/technol Technology Googles Vision for Future Is
2022-05-11   2022-05-12 ogy/google-conference-ai.html               More Subtle Than Bold                         By Daisuke Wakabayashi        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/theater/
                        abortion-shows-alison-leiby-phelim-
2022-05-11   2022-05-12 mcaleer.html                                Two Stages Focus on Abortion                  By Laura CollinsHughes        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/theater/
2022-05-11   2022-05-12 jesse-williams-leaked-nude-video.html       Theater Steps Up Security                     By Michael Paulson            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/upshot/ Working Mothers Stung by Pandemic Keep
2022-05-11   2022-05-12 pandemic-working-mothers-jobs.html          Working                                       By Claire Cain Miller         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/abor Bill to Preserve Abortion Right Fails in
2022-05-11   2022-05-12 tion-bill-blocked-senate.html               Senate                                        By Annie Karni                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/11/us/eric- Report Might Derail Garcettis Nomination as
2022-05-11   2022-05-12 garcetti-los-angeles-ambassador-india.html  Ambassador to India                         By Jill Cowan                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/new Plans to Lure Companies In Red States To
2022-05-11   2022-05-12 som-california-tax-breaks.html              California                                  By Shawn Hubler                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/pass Passenger With No Idea How to Fly Pulls Off
2022-05-11   2022-05-12 enger-lands-plane-palm-beach.html           a Safe Landing After the Pilot Falls Ill    By Christine Chung              TX 9-172-761   2022-07-01



                                                                                Page 3738 of 5793
                        https://www.nytimes.com/2022/05/11/us/polit In Alitos Draft Opinion Some Assertions
2022-05-11   2022-05-12 ics/alito-opinion-roe-fact-check.html       Lacked Context or Counterarguments          By Linda Qiu                     TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/11/us/polit Senate Democrats May Bend on Immigration
2022-05-11   2022-05-12 ics/covid-aid-immigration.html              Issue to Get Pandemic Aid Package Passed      By Emily Cochrane              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/polit
2022-05-11   2022-05-12 ics/democrats-electability.html             To Democrats Vision of Party Is on the Ballot By Katie Glueck                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/11/us/polit Florida Judge Is Set to Block Electoral Map
2022-05-11   2022-05-12 ics/florida-congressional-map-desantis.html By DeSantis                                  By Patricia Mazzei              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/polit
                        ics/native-american-children-schools-       US Report Details Abuse of Native American
2022-05-11   2022-05-12 abuse.html                                  Children at Federal Schools                  By Mark Walker                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/polit Overdose Deaths Hit Record Levels With       By Noah Weiland and Margot
2022-05-11   2022-05-12 ics/overdose-deaths-fentanyl-meth.html      Fentanyl a Key Culprit                       SangerKatz                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/polit Pennsylvania Voters Veer Hard Right Rattling By Nick Corasaniti Shane
2022-05-11   2022-05-12 ics/pennsylvania-gop-races.html             Both Parties                                 Goldmacher and Reid J Epstein   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/polit
2022-05-11   2022-05-12 ics/supreme-court-leak.html                 Justice Dept Inquiry On Leak Is Unlikely     By Charlie Savage               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/polit Novices Run in North Carolina May Be True
2022-05-11   2022-05-12 ics/trump-bo-hines.html                     Test of Trumps Clout                         By Blake Hounshell              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/polit Trump Finishes Sale of Washington Hotel a
2022-05-11   2022-05-12 ics/trump-hotel-sale-washington.html        Magnet for Supporters and Squabbles          By Eric Lipton                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/supr
2022-05-11   2022-05-12 eme-court-leak-roe-wade.html                A Sanctuary Devolving Into a Wrestling Ring By Adam Liptak                   TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/11/us/surfs Surfside Condo Collapse Victims Reach 997 By Patricia Mazzei and Livia
2022-05-11   2022-05-12 ide-condo-collapse-settlement-victims.html Million Settlement                         AlbeckRipka                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/well/ho A Shortage Of Formula Spurs Parents To Try
2022-05-11   2022-05-12 memade-baby-formula.html                    DIY                                       By Catherine Pearson               TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/11/world/a Retired Bishop Arrested in Hong Kong
2022-05-11   2022-05-12 sia/hong-kong-arrests-national-security.html Crackdown                                  By Austin Ramzy and Tiffany May TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/11/world/a Clashes in India Stoke Fears of Perpetual    By Hari Kumar Mujib Mashal and
2022-05-11   2022-05-12 sia/india-hindu-muslim-violence.html         Violence                                   Suhasini Raj                    TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/11/world/a Indias Highest Court Puts a ColonialEra
2022-05-11   2022-05-12 sia/india-sedition-law-suspended.html        Sedition Law on Hold                       By Hari Kumar and Sameer Yasir TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/11/world/c
                        anada/trucker-convoy-protest-
2022-05-11   2022-05-12 conservatives.html                           Canadas Truckers Have a Political Champion By Ian Austen                   TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/11/world/e Invasion Alienates Bulgaria From Russia a    By Andrew Higgins Boryana
2022-05-11   2022-05-12 urope/bulgaria-russia-ukraine.html         Former Ally                                  Dzhambazova and Nanna Heitmann TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/11/world/e
2022-05-11   2022-05-12 urope/eu-masks-air-travel.html             EU Relaxes Mask Policy For Air Travel        By Emma Bubola                   TX 9-172-761   2022-07-01



                                                                                Page 3739 of 5793
                        https://www.nytimes.com/2022/05/11/world/e
                        urope/jewish-passengers-flight-ban-        Lufthansa Apologizes After Flight Barred
2022-05-11   2022-05-12 lufthansa.html                             Jews                                          By Amanda Holpuch                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/world/e                                               By Michael Schwirtz and Lynsey
2022-05-11   2022-05-12 urope/russia-ukraine-fighting-east.html    At the Front Fighting Is Intense and Intimate Addario                                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/11/world/e Prolonged War Would Be Test Of Wests
2022-05-11   2022-05-12 urope/ukraine-russia-western-solidarity.html Unity                                            By Mark Landler                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/world/
                        middleeast/al-jazeera-journalist-killed-west- Journalist for Al Jazeera Is Shot and Killed in By Raja Abdulrahim and Patrick
2022-05-11   2022-05-12 bank.html                                     West Bank                                       Kingsley                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/world/ Coalition Gets Lift in Israel With Return Of
2022-05-11   2022-05-12 middleeast/israel-parliament-raam.html        Arab Party                                      By Isabel Kershner                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/world/
                        middleeast/shireen-abu-akleh-al-jazeera-                                                      By Raja Abdulrahim and Ben
2022-05-11   2022-05-12 dead.html                                     Trailblazer in Mideast Reported Human Side Hubbard                                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/11/bus
                        iness/inflation-cpi-report-april/germany-     Germany Warns of Rising Interest Rates as
2022-05-11   2022-05-12 inflation                                     Inflation Hits Second Consecutive High          By Melissa Eddy                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/11/bus
                        iness/inflation-cpi-report-april/inflation-   What Is Driving Up Prices Americans Have
2022-05-11   2022-05-12 consumer-prices-survey                        Different Opinions                              By Ben Casselman                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/11/wo
                        rld/russia-ukraine-war-news/the-kremlin-
                        signals-an-openness-to-annexing-the-          Russia Hints It May Annex A Key Region By Cora Engelbrecht and Michael
2022-05-11   2022-05-12 strategically-important-region-of-kherson     Its Occupied                                    Levenson                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/busines                                                    By Katie Robertson and Benjamin
2022-05-12   2022-05-12 s/media/bloomberg-uk.html                     Bloomberg Venture Targets UK Readers            Mullin                            TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/11/us/calif Court Overrules Californias Ban on Sales of
2022-05-12   2022-05-12 ornia-semiautomatic-guns-court-ruling.html Semiautomatic Guns to Adults Under 21           By Glenn Thrush                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/polit Lawyer Pressed Pennsylvania Legislator To      By Luke Broadwater and Alan
2022-05-12   2022-05-12 ics/john-eastman-trump-2020-election.html Throw Out Biden Votes Emails Show                Feuer                                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/world/a
2022-05-12   2022-05-12 sia/north-korea-covid.html                   North Korea Reports Case Of Coronavirus       By Choe SangHun                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/insider/
2022-05-12   2022-05-12 reporter-translator.html                     A Writer Lost Without Translation             By Susan Dominus                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/style/m
2022-05-12   2022-05-12 artha-wainwright-memoir.html                 From the Bottom of the Totem Pole             By Emily Gould                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/style/ric Richie Rich 90s Club Kid Goes Virtual for
2022-05-12   2022-05-12 hie-rich.html                                Beauty                                        By Ruth La Ferla                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/25/arts/dan
2022-04-25   2022-05-13 ce/ballet-black-london.html                  At Ballet Black Bucking Tradition             By Precious Adesina                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/opinion On an Endangered River a Toxic Disaster
2022-05-09   2022-05-13 /coal-ash-toxic-alabama-rivers.html          Looms                                         By Margaret Renkl                    TX 9-172-761   2022-07-01



                                                                                  Page 3740 of 5793
                        https://www.nytimes.com/2022/05/10/movies/
2022-05-11   2022-05-13 the-village-house-review.html              The Village House                             By Devika Girish             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/books/k
2022-05-11   2022-05-13 im-stanley-robinson-sci-fi.html            A SciFi Writer Focused on Earth               By Alexandra Alter           TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/11/busines
2022-05-11   2022-05-13 s/motorcycles-j-shia-madhouse-motors.html Art in a Den of Motorcycle Maintenance         By Brett Berk                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/movies/
2022-05-11   2022-05-13 operation-mincemeat-review.html               Operation Mincemeat                        By Lena Wilson               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/opinion Musk Has Bigger Plans Than Just Letting
2022-05-11   2022-05-13 /elon-musk-twitter.html                       Trump Back on Twitter                      By Ross Douthat              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/us/john- John Leo Columnist Who Took Aim at
2022-05-11   2022-05-13 leo-dead.html                                 Liberal Pieties Dies at 86                 By Clay Risen                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/world/e The Corruption That Keeps Putin in Power
2022-05-11   2022-05-13 urope/putin-russia-corruption.html            Blame It on Democracy                      By Amanda Taub               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/busines
                        s/instacart-takes-a-big-step-toward-a-public- Instacart Takes Big Step Toward a Public
2022-05-12   2022-05-13 offering.html                                 Offering                                   By Kellen Browning           TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/12/arts/des
2022-05-12   2022-05-13 ign/dna-yashua-klos-art-wellin-museum.html A DNA Test Revealed a Familys History        By Seph Rodney                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/arts/des
                        ign/lincoln-center-studio-museum-public-art-
2022-05-12   2022-05-13 fund.html                                    Pulling From the Past to Create a Future   By Hilarie M Sheets           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/arts/des A Hybrid Painter And the Story Of a
2022-05-12   2022-05-13 ign/milton-avery-wadsworth-museum.html       Partnership                                By Roberta Smith              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/arts/mu
2022-05-12   2022-05-13 sic/mahmood-blanco-eurovision-italy.html     A Eurovision Entry and LGBTQ Progress      By Elisabetta Povoledo        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/arts/on-
2022-05-12   2022-05-13 the-count-of-three-review.html               Friends Until the End Which May Be Soon    By AO Scott                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/arts/tele
2022-05-12   2022-05-13 vision/couples-therapy-essex-serpent.html    This Weekend I Have                        By Margaret Lyons             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/arts/tele
2022-05-12   2022-05-13 vision/the-time-travelers-wife-review.html   Wait a Minute Havent We Met Before         By Mike Hale                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/busines The Fed Is Still Lagging in Hiring Black
2022-05-12   2022-05-13 s/diversity-fed-black-economists.html        Economists a Study Shows                   By Jeanna Smialek             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/busines
                        s/general-motors-mary-barra-electric-        GM Chiefs Long Game In the ElectricVehicle
2022-05-12   2022-05-13 cars.html                                    Race                                       By Neal E Boudette            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/busines                                              By Jeanna Smialek and Emily
2022-05-12   2022-05-13 s/jerome-powell-confirmed.html               Powell Sees Pain in War On Inflation       Cochrane                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/busines
                        s/nelson-partners-skyloft-student-
2022-05-12   2022-05-13 housing.html                                 Student Dorm Firm to Repay Investors       By Matthew Goldstein          TX 9-172-761   2022-07-01




                                                                                 Page 3741 of 5793
                        https://www.nytimes.com/2022/05/12/busines
2022-05-12   2022-05-13 s/pentagon-civilian-deaths-pulitzer.html    Pentagon Lauds Times Expos on Airstrikes By Michael M Grynbaum           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/busines SoftBank Posts Loss Of 27 Billion In Tech
2022-05-12   2022-05-13 s/softbank-earnings-report-loss.html        Dive                                        By Paul Mozur                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/busines                                              By Mohammed Hadi and Coral
2022-05-12   2022-05-13 s/stocks-bear-market.html                   Markets Decline Takes On a Life of Its Own Murphy Marcos                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/busines Britains Economy Shrinks As Inflation Starts
2022-05-12   2022-05-13 s/uk-gdp-economy-inflation.html             to Bite                                     By Eshe Nelson               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/climate
2022-05-12   2022-05-13 /biden-oil-gas-lease-sales.html             Biden Cancels Offshore Oil Lease Sales      By Lisa Friedman             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/movies/
2022-05-12   2022-05-13 foxhole-review.html                         Foxhole                                     By Calum Marsh               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/movies/
2022-05-12   2022-05-13 il-buco-review.html                         Nature Plays Itself in This Movie           By AO Scott                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/movies/
2022-05-12   2022-05-13 jazz-fest-a-new-orleans-story-review.html   Jazz Fest A New Orleans Story               By Glenn Kenny               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/movies/ Joanna Barnes 87 Writer and Actress Who
2022-05-12   2022-05-13 joanna-barnes-dead.html                     Was in The Parent Trap Twice                By Richard Sandomir          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/movies/
2022-05-12   2022-05-13 jonathan-agassi-saved-my-life-review.html   Jonathan Agassi Saved My Life               By Kyle Turner               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/movies/
2022-05-12   2022-05-13 kamikaze-hearts-review.html                 Kamikaze Hearts                             By Beatrice Loayza           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/movies/ A Western With Cloudy Skies and
2022-05-12   2022-05-13 montana-story-review.html                   Discouraging Words                          By Manohla Dargis            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/movies/
2022-05-12   2022-05-13 our-father-review.html                      Our Father                                  By Lisa Kennedy              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/movies/
2022-05-12   2022-05-13 pleasure-review.html                        Shes Ready for Her CloseUp Are We           By Manohla Dargis            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/movies/
2022-05-12   2022-05-13 sneakerella-review.html                     Sneakerella                                 By Natalia Winkelman         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/movies/
2022-05-12   2022-05-13 the-innocents-review.html                   Playground Mind Games                       By Jeannette Catsoulis       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/nyregio Dyslexia Program Planned To Help School
2022-05-12   2022-05-13 n/adams-dyslexia-nyc-schools.html           Literacy                                    By Lola Fadulu               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/nyregio New ProIsrael Group Aims to Sway State and
2022-05-12   2022-05-13 n/israel-bds-aipac.html                     Local Races in New York                     By Dana Rubinstein           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/opinion
2022-05-12   2022-05-13 /western-goals-in-ukraine-russia.html       Russia Cannot Gain From This War            By Nigel GouldDavies         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/science First Visual Journey to the Center of Our
2022-05-12   2022-05-13 /black-hole-photo.html                      Galaxy                                      By Dennis Overbye            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/sports/f Gino Cappelletti 89 Boston Patriot Who
2022-05-12   2022-05-13 ootball/gino-cappalletti-dead.html          Stayed for Six Decades Dies                 By Richard Goldstein         TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/12/sports/h Rangers Knock Out Crosby Then Rally To
2022-05-12   2022-05-13 ockey/penguins-rangers-crosby-trouba.html Extend Season                              By David Waldstein              TX 9-172-761   2022-07-01



                                                                              Page 3742 of 5793
                        https://www.nytimes.com/2022/05/12/sports/h Surprise Winner of Kentucky Derby Wont
2022-05-12   2022-05-13 orse-racing/rich-strike-preaknesss.html     Run in the Preakness                         By Joe Drape                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/sports/j Hes the MillionDollar Man Of Womens
2022-05-12   2022-05-13 ake-paul-womens-boxing.html                 Boxing                                       By Remy Tumin                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/sports/r US Chosen as Host of Rugby World Cups for
2022-05-12   2022-05-13 ugby/rugby-world-cup-us.html                Men in 2031 and Women in 33                  By Victor Mather                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/technol As Cryptocurrencies Melt Down 300 Billion By David YaffeBellany Erin
2022-05-12   2022-05-13 ogy/cryptocurrencies-crash-bitcoin.html     Evaporates in Days                           Griffith and Ephrat Livni       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/technol
                        ogy/texas-social-media-law-political-       Appeals Court Revives Texas Law Targeting
2022-05-12   2022-05-13 speech.html                                 Social Media Giants                          By David McCabe                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/technol
2022-05-12   2022-05-13 ogy/twitter-elon-musk.html                  Deal Leads To Upheaval At Twitter            By Mike Isaac                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/theater/ Bruce MacVittie 65 Actor Who Aced Tough
2022-05-12   2022-05-13 bruce-macvittie-dead.html                   Guys With Tormented Souls                    By Barry Singer                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/theater/
2022-05-12   2022-05-13 one-night-target-margin-brooklyn.html       Nine Hours Of Stories                        By Alexis Soloski               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/theater/ Susan Nussbaum 68 Who Pushed for
2022-05-12   2022-05-13 susan-nussbaum-dead.html                    Disability Rights                            By Annabelle Williams           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/us/abor California Foresees Influx Of Patients if Roe
2022-05-12   2022-05-13 tion-california.html                        Is Barred                                    By Soumya Karlamangla           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/us/boat-
2022-05-12   2022-05-13 capsize-puerto-rico.html                    11 Die After Boat Capsizes Near Puerto Rico By Vimal Patel and Miriam Jordan TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/us/mid They Were Desperadoes and Middle
2022-05-12   2022-05-13 dle-school-shootout-police.html             Schoolers                                    By Frances Robles               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/us/polit
                        ics/abortion-protests-supreme-court-        Even the Demonstrations Over Roe v Wade
2022-05-12   2022-05-13 justices.html                               Are Dividing the Country                     By Zolan KannoYoungs            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/us/polit The Looming End to Abortion Rights
2022-05-12   2022-05-13 ics/abortion-rights-liberal-democrats.html  Provides Liberal Democrats a Spark           By Jonathan Weisman             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/us/polit Returning Focus to China Biden Hosts Asian
2022-05-12   2022-05-13 ics/biden-asian-nations-china.html          Leaders                                      By Michael D Shear              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/us/polit As Congress Blocks US Covid Aid Other
2022-05-12   2022-05-13 ics/biden-covid-summit.html                 Nations Pledge Billions                      By Sheryl Gay Stolberg          TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/12/us/polit Lamb Had All the Makings of a FrontRunner
2022-05-12   2022-05-13 ics/conor-lamb-pennsylvania-congress.html Why Is He Struggling                        By Trip Gabriel                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/12/us/polit                                           By Mark Mazzetti and Ronen
2022-05-12   2022-05-13 ics/fbi-pegasus-spyware-israel.html         Letter Shows FBI Weighed Using Spyware Bergman                             TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/12/us/polit Harris Emerges as the Voice of Abortion   By Michael D Shear and Alisha
2022-05-12   2022-05-13 ics/harris-abortion-rights-biden.html       Rights in the White House                 Haridasani Gupta                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/12/us/polit                                           By Luke Broadwater and Emily
2022-05-12   2022-05-13 ics/house-subpoenas-jan-6.html              Panel Subpoenas Five in Congress          Cochrane                         TX 9-172-761     2022-07-01




                                                                               Page 3743 of 5793
                        https://www.nytimes.com/2022/05/12/us/polit
                        ics/justice-department-environmental-       Justice Dept Opens Office to Elevate         By Glenn Thrush and Lisa
2022-05-12   2022-05-13 justice.html                                Environmental Justice Cases                  Friedman                         TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/12/us/polit                                          By Maggie Haberman and Michael
2022-05-12   2022-05-13 ics/justice-department-trump-classified.html Inquiry Into Classified Trove at Trumps S Schmidt                      TX 9-172-761         2022-07-01
                        https://www.nytimes.com/2022/05/12/us/polit Meatpackers Misled Public During Covid
2022-05-12   2022-05-13 ics/meatpackers-trump-covid.html             Report Says                             By Linda Qiu                   TX 9-172-761         2022-07-01
                        https://www.nytimes.com/2022/05/12/us/polit Finland and Sweden Embraced by NATO but
2022-05-12   2022-05-13 ics/nato-finland-sweden-ukraine.html         Ukraine Must Wait                       By David E Sanger              TX 9-172-761         2022-07-01

                        https://www.nytimes.com/2022/05/12/us/polit A New Calculus for Democratic Female
2022-05-12   2022-05-13 ics/roe-abortion-democratic-governors.html Governors                                     By Leah Askarinam                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/us/polit Pressed to Act White House Says It Will
2022-05-12   2022-05-13 ics/white-house-baby-formula.html           Address Formula Shortage                     By Annie Karni                   TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/12/world/a No Orders for African Plant Licensed to
2022-05-12   2022-05-13 frica/south-africa-covid-vaccine-factory.html Produce Vaccine                            By Lynsey Chutel                 TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/12/world/a As Gang Killings Spur Mass Arrests Mothers By Natalie Kitroeff and Daniele
2022-05-12   2022-05-13 mericas/el-salvador-prison-gangs-bukele.html Plead Sons Innocence                     Volpe                               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/world/a Threatened Boycotts of Americas Summit     By Anatoly Kurmanaev and Jack
2022-05-12   2022-05-13 mericas/summit-americas-boycotts.html        Could Humiliate Biden                    Nicas                               TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/12/world/a Hostility Rears Its Head After Indonesian     By Mike Ives and Muktita
2022-05-12   2022-05-13 sia/indonesia-podcast-deddy-corbuzier.html Podcast Interviews a Gay Couple               Suhartono                        TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/12/world/e Finland Pledges to Join NATO Moving           By Steven Erlanger and Norimitsu
2022-05-12   2022-05-13 urope/finland-sweden-nato-russia-war.html Alliance To the Russian Border                 Onishi                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/world/e Donation to UK Conservatives Is Traced to a
2022-05-12   2022-05-13 urope/russian-money-uk-tories.html             Russian Account                           By Jane Bradley                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/world/
                        middleeast/journalist-killed-palestine-israel- Bullet Becomes Focus of Dueling           By Patrick Kingsley Raja
2022-05-12   2022-05-13 bullet.html                                    Investigations in Journalists Killing     Abdulrahim and Isabel Kershner   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/world/u Under Daily Barrage Diving for Cover and
2022-05-12   2022-05-13 kraine-russia-weapons.html                     Waiting for Western Weapons               By Andrew E Kramer               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/world/e
2022-05-12   2022-05-13 urovision-ukraine-kalush-orchestra.html        For Ukraine Eurovision Must Go On         By Anushka Patil                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/13/wo
                        rld/russia-ukraine-war-news/children-are-
                        paying-a-heavy-price-in-ukraine-war-a-unicef- Over 100 Killed and Millions Uprooted
2022-05-12   2022-05-13 official-says                                  Children Pay a Heavy Price                By Farnaz Fassihi                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/us/louis With Tense Debate Louisiana Scraps Plan to
2022-05-13   2022-05-13 iana-abortion-bill.html                        Label Abortion Homicide                   By Rick Rojas and Tariro Mzezewa TX 9-172-761   2022-07-01




                                                                                 Page 3744 of 5793
                        https://www.nytimes.com/2022/05/12/world/a North Korea Says 6 Dead As Virus Spreads
2022-05-13   2022-05-13 sia/north-korea-covid-deaths.html          Rapidly                                    By Choe SangHun                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/busines With Sanctions Slow to Bite Russian
2022-05-13   2022-05-13 s/economy/russia-shipping-sanctions.html   Shipping Remains Strong                    By Ana Swanson                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/movies/
2022-05-13   2022-05-13 senior-year-review.html                    Senior Year                                By Amy Nicholson                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/reader-
2022-05-13   2022-05-13 center/an-article-reported-in-ink.html     An Article Reported With Ink               By Ali Watkins                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/arts/mu                                            By Alisha Haridasani Gupta and
2022-04-28   2022-05-14 sic/spice-girls-girl-power.html            Were They for Real Turns Out They Were     Jennifer Harlan                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/opinion
                        /if-you-think-republicans-will-stop-at-
                        overturning-roe-you-arent-paying-          The Movement That Put Alito on the Court
2022-05-10   2022-05-14 attention.html                             Isnt Finished                              By Jamelle Bouie                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/opinion What I Want My Kids to Learn About
2022-05-10   2022-05-14 /race-teaching-school.html                 American Racism                            By Eboo Patel                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/technol
2022-05-11   2022-05-14 ogy/food-delivery-apps-access.html         Where Food Apps Have an Upside             By Shira Ovide                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/arts/co
                        medians-safety-dave-chappelle-chris-
2022-05-12   2022-05-14 rock.html                                  Punch Line Sadly Redefined                 By Matt Stevens                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/arts/mo
2022-05-12   2022-05-14 therhood-horror-movies-tv.html             When Motherhood Is a Horror Show           By Amanda Hess                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/busines Unions Blitz Starbucks And Struggle At
2022-05-12   2022-05-14 s/economy/amazon-starbucks-union.html      Amazon                                     By Noam Scheiber                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/movies/
2022-05-12   2022-05-14 spider-man-doctor-strange-sam-raimi.html   Macabre Vision Is Missing Here             By Calum Marsh                   TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/12/opinion These Three Companies Control Too Much
2022-05-12   2022-05-14 /vanguard-power-blackrock-state-street.html of the Global Economy                     By Farhad Manjoo                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/article/nfl-regular- More Spectacle Than Suspense as NFL
2022-05-12   2022-05-14 season-schedule.html                         Releases Its 2022 Schedule               By Emmanuel Morgan               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/arts/des
                        ign/ernie-barnes-sugar-shack-monet-
2022-05-13   2022-05-14 leutze.html                                  The Sugar Shack Sells for 153 Million    By Robin Pogrebin                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/12/arts/des
2022-05-13   2022-05-14 ign/velociraptor-auction-jurassic-park.html Dinosaur Skeleton Is an Auction Hero      By Julia Jacobs                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/sports/t Many Days Nadal Says I Live With Too
2022-05-13   2022-05-14 ennis/nadal-italian-open-shapovalov.html    Much Pain                                 By Christopher Clarey            TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/13/arts/mu 1930s Rarities Unearthed But Will People
2022-05-13   2022-05-14 sic/orchestra-now-carnegie-hall-review.html Listen                                    By Joshua Barone                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/arts/tele
2022-05-13   2022-05-14 vision/the-essex-serpent-review.html         Gothic Terror Can Be Handsome            By Mike Hale                     TX 9-172-761   2022-07-01



                                                                                Page 3745 of 5793
                        https://www.nytimes.com/2022/05/13/books/h Henry Scott Stokes 83 Journalist Who
2022-05-13   2022-05-14 enry-scott-stokes-dead.html                    Demystified Japan                             By Sam Roberts                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/busines The World Tries to Move Beyond Covid
2022-05-13   2022-05-14 s/china-zero-covid-xi.html                     China May Stand in the Way                    By Alexandra Stevenson           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/busines
2022-05-13   2022-05-14 s/stock-market.html                            For Stocks Era Of Easy Money Jerks to a Halt By Michael Corkery                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/climate Teaching New Yorkers to Love Germs
2022-05-13   2022-05-14 /domingo-morales-composting-nyc.html           Worms and Vegetables                          By Cara Buckley                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/climate Climate Change Doubled Odds of Aprils
2022-05-13   2022-05-14 /south-africa-floods-climate-change.html       Deadly Floods in South Africa Study Says      By Henry Fountain                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/movies/
2022-05-13   2022-05-14 firestarter-review.html                        A Remake Thats Missing Sizzle and Spark       By Glenn Kenny                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/movies/
2022-05-13   2022-05-14 the-innocents-eskil-vogt-interview.html        For This Director Heres the Scary Part        By Erik Piepenburg               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/nyregio New York Is Gearing Up To Be a PostRoe
2022-05-13   2022-05-14 n/abortion-safe-haven-ny.html                  Refuge                                        By Ashley Wong and Lola Fadulu   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/nyregio
2022-05-13   2022-05-14 n/desantis-jewish-museum-tikvah.html           Invitation to DeSantis Spurs a Public Quarrel By Liam Stack                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/opinion Babies Need to Eat Dont Play Politics With
2022-05-13   2022-05-14 /baby-formula.html                             the Formula Shortage                          By Jessica Grose                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/sports/b This Mariner Can Fly Will His Hitting
2022-05-13   2022-05-14 aseball/julio-rodriguez-stolen-bases.html      Ground Him                                    By Benjamin Hoffman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/sports/b Reunion With Butler Reminds Philadelphia
2022-05-13   2022-05-14 asketball/butler-sixers-heat-embiid.html       Of What It Abandoned                          By Tania Ganguli                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/sports/b
                        asketball/phoenix-suns-dallas-mavericks-       The Suns Werent Supposed to Get Pushed
2022-05-13   2022-05-14 game-7.html                                    This Far This Soon                            By Sopan Deb                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/sports/d Trauma Brought By a Traffic Stop May Never
2022-05-13   2022-05-14 elaware-state-lacrosse-team-bus.html           Fade                                          By Kurt Streeter                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/sports/h
2022-05-13   2022-05-14 ockey/myhockey-youth-rankings.html             Website Rethinks Ranking Childrens Teams By David Andreatta                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/technol
                        ogy/elon-musk-says-his-takeover-of-twitter-is- Musk Injects Confusion Into His Bid For       By Adam Satariano and Lauren
2022-05-13   2022-05-14 on-hold.html                                   Twitter                                       Hirsch                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/us/calif
2022-05-13   2022-05-14 ornia-budget-surplus.html                      California Anticipates Big Surplus            By Shawn Hubler                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/us/dalla Dallas Salon Shooting May Be Connected to By Edgar Sandoval and J David
2022-05-13   2022-05-14 s-salon-shooting-hate-crime.html               Wider Attacks                                 Goodman                          TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/13/us/elect HardRight Star Rises In Republican Primary
2022-05-13   2022-05-14 ions/kathy-barnette-pennsylvania-senate.html For Pennsylvania Seat                     By Tracey Tully                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/us/polit
                        ics/baby-formula-shortage-biden-             GOP Falsely Ties Biden To Baby Formula
2022-05-13   2022-05-14 immigration.html                             Shortage                                  By Linda Qiu                           TX 9-172-761   2022-07-01




                                                                                 Page 3746 of 5793
                        https://www.nytimes.com/2022/05/13/us/polit Pelosi Promises Urgent Action in House To
2022-05-13   2022-05-14 ics/baby-formula-shortage-biden.html        Address a Shortage of Baby Formula           By Annie Karni                TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/13/us/polit Spend This Money Biden Tells States to Tap   By Zolan KannoYoungs and Mark
2022-05-13   2022-05-14 ics/biden-police-stimulus-funds.html        Billions in Stimulus Funds for Policing      Walker                        TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/13/us/polit
2022-05-13   2022-05-14 ics/charter-school-rules-biden.html         Charter Rules Pushed by US Spur Backlash     By Erica L Green               TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/13/us/polit What Panel Is Hoping To Find Out About       By Zach Montague and Luke
2022-05-13   2022-05-14 ics/jan-6-republicans-subpoenas.html        Jan 6                                        Broadwater                     TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/13/us/polit For Many GOP Voters in Pennsylvania
2022-05-13   2022-05-14 ics/pennsylvania-gop-primary-voters.html    Trumpism Is Bigger Than Trump                By Jennifer Medina             TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/13/us/polit US Treasury Dept Warns Foreign Banks         By Alan Rappeport and Emily
2022-05-13   2022-05-14 ics/russia-sanctions-evasion-treasury.html  Against Helping Russia Evade Sanctions       Flitter                        TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/13/us/rand Randy Weaver 74 Veteran Who Fought
2022-05-13   2022-05-14 y-weaver-dead.html                          Federal Agents At His Ruby Ridge Property    By Clay Risen                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/13/us/robe Robert C McFarlane Top Reagan Aide in
2022-05-13   2022-05-14 rt-c-mcfarlane-dead.html                    IranContra Affair Is Dead at 84              By Neil A Lewis                  TX 9-172-761   2022-07-01
                                                                                                                 By Maya King Alexander Burns
                        https://www.nytimes.com/2022/05/13/us/roe-                                               Dan Simmons and Ryan Patrick
2022-05-13   2022-05-14 overturned-women-republican-voters.html       Effects of Roe On Midterms Worry GOP       Hooper                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/us/subp Subpoenas for GOP Lawmakers Raise Thorny By Luke Broadwater and Emily
2022-05-13   2022-05-14 oenas-republicans-jan-6.html                  Issues in Congress                         Cochrane                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/us/texa
                        s-supreme-court-abuse-transgender-            Texas Court Allows Abuse Inquiries of
2022-05-13   2022-05-14 children.html                                 Parents of Transgender Children            By J David Goodman               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/us/title-                                             By Katy Reckdahl and Miriam
2022-05-13   2022-05-14 42-border-migrant-expulsions.html             States Push For Title 42 To Remain         Jordan                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/world/a Opponent Acknowledges Marcoss Victory in
2022-05-13   2022-05-14 sia/robredo-philippine-election.html          Philippines Election                       By SuiLee Wee and Camille Elemia TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/world/a Despite a Tattoo Ban South Korea Offers a     By Christine Chung and Chang W
2022-05-13   2022-05-14 sia/south-korea-tattoo-artists.html           Thriving World of Illicit ink              Lee                              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/world/e
                        urope/germany-right-extremists-security-      In Germany Extremists Within Ranks Are
2022-05-13   2022-05-14 services.html                                 Detected                                   By Christopher F Schuetze        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/world/e Wall of Secrecy Surrounding Putins Family
2022-05-13   2022-05-14 urope/putin-family-wealth-sanctions.html      Begins to Crack                            By Jason Horowitz                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/world/e
                        urope/putin-sanctions-girlfriend-us-          Russia Hit by Setbacks Pulls Away From     By Marc Santora Mark Landler and
2022-05-13   2022-05-14 russia.html                                   Kharkiv                                    Michael Levenson                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/world/e
                        urope/ukraine-russian-forces-pontoon-bridges- Russian Battalion Destroyed As It Tried to
2022-05-13   2022-05-14 river.html                                    Cross River In the East Analysts Say       By Marc Santora                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/world/
                        middleeast/israel-judaism-reform-             One Rabbis Contentious Quest for Religious
2022-05-13   2022-05-14 orthodox.html                                 Pluralism                                  By Patrick Kingsley              TX 9-172-761   2022-07-01




                                                                                Page 3747 of 5793
                        https://www.nytimes.com/2022/05/13/world/
                        middleeast/sheikh-khalifa-uae-ruler-is-dead-at-Sheikh Khalifa 73 Who Made the UAE an
2022-05-13   2022-05-14 73.html                                         Economic Powerhouse Is Dead             By Ben Hubbard                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/world/ Israeli Police Condemned for Assault on       By Patrick Kingsley and Raja
2022-05-13   2022-05-14 middleeast/shireen-abu-akleh-funeral.html       Funeral                                 Abdulrahim                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/your-
2022-05-13   2022-05-14 money/private-student-loan.html                 Buyer Beware on Private Student Loans   By Ann Carrns                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/your-
2022-05-13   2022-05-14 money/student-loan-forgiveness.html             Loan System For Students Unforgivable   By Ron Lieber                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/03/14/travel/c The Peculiar Charm of Coober Pedy
2022-03-14   2022-05-15 oober-pedy-australia.html                       Australias Opal Capital                 By Brett Leigh Dicks           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/05/books/r
                        eview/the-rise-and-fall-of-the-neoliberal-order
2022-04-05   2022-05-15 gary-gerstle.html                               Moving Right                            By Kevin Boyle                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/06/books/r
2022-04-06   2022-05-15 eview/young-mungo-douglas-stuart.html           Love in the Ruins                       By Yen Pham                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/12/books/r
2022-04-12   2022-05-15 eview/stefan-al-supertall.html                  Higher and Higher                       By Paul Goldberger             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/12/books/r
2022-04-12   2022-05-15 eview/things-they-lost-okwiri-oduor.html        Haunted                                 By Leone Ross                  TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/04/18/books/r
                        eview/disorientation-elaine-hsieh-chou-
2022-04-18   2022-05-15 activities-of-daily-living-lisa-hsiao-chen.html Down the Rabbit Hole                    By Steph Cha                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/19/books/r
2022-04-19   2022-05-15 eview/claire-stanford-happy-for-you.html        The MindBody Problem                    By Alexandra Chang             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/19/books/r
2022-04-19   2022-05-15 eview/shuang-xuetao-rouge-street.html           Chipping the Porcelain                  By Jing Tsu                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/19/books/r
                        eview/tove-ditlevsen-faces-trouble-with-
2022-04-19   2022-05-15 happiness.html                                  Anywhere but Home                       By Fernanda Eberstadt          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/22/books/r
2022-04-22   2022-05-15 eview/richmal-crompton-just-william.html        A Century of William Brown              By Saskia Solomon              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/books/r
                        eview/stories-that-survive-the-horrors-of-
2022-04-28   2022-05-15 war.html                                        Survivors                               By Alida Becker                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/30/books/r
                        eview/ann-hood-fly-girl-great-stewardess-
2022-04-30   2022-05-15 rebellion.html                                  Friendly Skies                          By Leslie Bennetts             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/03/books/r
                        eview/love-marriage-monica-ali-group-
2022-05-03   2022-05-15 text.html                                       Love Marriage by Monica Ali             By Elisabeth Egan              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/05/theater/
2022-05-05   2022-05-15 the-47th-play-trump-london.html                 Divisions as Wide as an Ocean           By Alex Marshall               TX 9-172-761   2022-07-01




                                                                                   Page 3748 of 5793
                        https://www.nytimes.com/2022/05/06/books/r
2022-05-06   2022-05-15 eview/newman-hubbard-macleod.html             Stories                                      By Mike Peed                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/opinion
2022-05-07   2022-05-15 /roe-abortion-crime.html                      Punishing Women Who Have Abortions           By Jane Coaston                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/opinion TikTok May Be More Dangerous Than It
2022-05-08   2022-05-15 /tiktok-twitter-china-bytedance.html          Looks                                        By Ezra Klein                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/dining/
2022-05-09   2022-05-15 egg-recipes.html                              The AnythingbutHumble Egg                    By Eric Kim                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/opinion                                                 By Gabriel Winant and Theresa
2022-05-09   2022-05-15 /labor-peace-health-care.html                 Doctors and Nurses Shouldnt Have to Strike   Brown                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/realesta
2022-05-09   2022-05-15 te/renters-shinnecock-southampton.html        Affordable Studio Expensive Neighborhood     By DW Gibson                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/t-                                                      By KristinLee Moolman and Jacob
2022-05-09   2022-05-15 magazine/summer-fashion-travel.html           Uncanny Valley                               K                               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/t-
2022-05-09   2022-05-15 magazine/woven-bags-shoes.html                Woven Accessories                            By Mari Maeda and Yuji Oboshi   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/arts/rac
2022-05-10   2022-05-15 hel-dratch-potus-broadway.html                Rachel Dratch Works Hard to Stay Positive    By Juan A Ramrez                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/magazi
2022-05-10   2022-05-15 ne/breast-reduction-feminism.html             The Kindest Cut                              By Melissa Febos                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/magazi
2022-05-10   2022-05-15 ne/phalloplasty.html                          Private Parts                                By Jamie Lauren Keiles          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/nyregio Vaccine Mandate for City Students Isnt
2022-05-10   2022-05-15 n/covid-vaccine-mandate-nyc-schools.html      Expected Soon                                By Sharon Otterman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/opinion
2022-05-10   2022-05-15 /i-feel-like.html                             I Feel Like Theres No Problem Here           By John McWhorter               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/realesta
                        te/melissa-gilbert-and-tim-busfield-on-their- A Catskills Escape Refreshed With a CanDo
2022-05-10   2022-05-15 upstate-escape.html                           Spirit                                       By Joanne Kaufman               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/style/be This New Social App Is on the Boring Side
2022-05-10   2022-05-15 real-app-social-media.html                    Thats a Good Thing                           By John Herrman                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/t-
                        magazine/gaetano-pesce-aspen-art-
2022-05-10   2022-05-15 museum.html                                   Magic Mountain                               By Nick Haramis                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/t-
                        magazine/summer-fashion-travel-                                                            By Miranda Barnes and Sasha
2022-05-10   2022-05-15 jamaica.html                                  On The Rocks                                 Kelly                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/technol InPerson Shopping Takes a Toll on
2022-05-10   2022-05-15 ogy/e-commerce-big-tech.html                  ECommerce                                    By Shira Ovide                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/arts/geo
2022-05-11   2022-05-15 rge-carlin-comedy.html                        A Playful Provocateurs Afterlife             By Dave Itzkoff                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/arts/mu
2022-05-11   2022-05-15 sic/ethel-cain-preachers-daughter.html        At Waffle House Just a Local Girl            By Joe Coscarelli               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/magazi
2022-05-11   2022-05-15 ne/weight-loss-pandemic.html                  More or Less                                 By Sam Anderson                 TX 9-172-761   2022-07-01



                                                                                 Page 3749 of 5793
                        https://www.nytimes.com/2022/05/11/nyregio Established Pot Dealers Tread a Tough Path
2022-05-11   2022-05-15 n/marijuana-legalization-nyc.html            to Legalization                             By Margot BoyerDry               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/opinion
2022-05-11   2022-05-15 /russia-ukraine-war-america.html             The West Is Trying to Bleed Russia          By Tom Stevenson                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/opinion
2022-05-11   2022-05-15 /vaccines-antivaxxers-pregnancy.html         I Lost My Baby Then My Pain Went Viral      By Amanda Makulec                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/realesta
                        te/cutchogue-ny-an-appealing-alternative-to- A Cute Place to Live if You Can Find a
2022-05-11   2022-05-15 the-hamptons.html                            House for Sale                              By Jan Benzel                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/realesta
                        te/gardening-shouldnt-be-painful-heres-how-
2022-05-11   2022-05-15 to-avoid-common-injuries.html                Good Habits Can Prevent Common Injuries By Margaret Roach                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/realesta
                        te/home-prices-florida-pennsylvania-
2022-05-11   2022-05-15 california.html                                                                   900000 By Angela Serratore              TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/11/realesta
                        te/house-hunting-in-the-united-arab-emirates- In a Persian Gulf Oasis Plenty of Room to
2022-05-11   2022-05-15 a-solar-powered-palace-in-dubai.html          Roam                                      By Marcelle Sussman Fischler      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/style/w Youre a Wedding Crasher Ill Get You Some
2022-05-11   2022-05-15 eddings-crashers-guests.html                  Cake                                      By Sara Clemence                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/t-
2022-05-11   2022-05-15 magazine/midriff-spring-fashion.html          Nothing to Hide                           By Nick Haramis                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/t-                                                   By Ligaya Mishan Anthony
2022-05-11   2022-05-15 magazine/sacred-food-offerings.html           The Sacrifice                             Cotsifas and Leilin LopezToledo   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/theater/
2022-05-11   2022-05-15 abies-irish-rose-broadway.html                Toasting Five Years Of Lousy Reviews      By Eric Grode                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/interactive/2022/05/
2022-05-11   2022-05-15 11/magazine/brazilian-butt-lift.html          Butt Lifts Are Booming Healing Is No Joke By Sandra E Garcia                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/arts/mu
2022-05-12   2022-05-15 sic/anthony-davis-x-detroit-opera.html        A Composer Gets His Due                   By Seth Colter Walls              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/arts/ukr
2022-05-12   2022-05-15 aine-ballet-war.html                          Open Arms Welcome A Diaspora of Dancers By Alex Marshall                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/magazi
2022-05-12   2022-05-15 ne/brain-computer-interface.html              Brain Wave                                By Ferris Jabr                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/nyregio
2022-05-12   2022-05-15 n/historic-preservation-committees-ny.html Rural Preservationists Losing Ground         By Julie Satow                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/opinion
2022-05-12   2022-05-15 /midterms-state-races.html                    Running for Office to Stop the Steal      By Barbara McQuade                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/opinion
2022-05-12   2022-05-15 /ron-desantis-conservatism.html               DeSantis Is the New Republican Party      By Rich Lowry                     TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/12/opinion
2022-05-12   2022-05-15 /terminal-illness-clinical-trials-drugs-fda.html How Far Should You Go to Save a Life   By Daniela J Lamas                TX 9-172-761   2022-07-01




                                                                                   Page 3750 of 5793
                        https://www.nytimes.com/2022/05/12/realesta
2022-05-12   2022-05-15 te/affordable-housing-market.html            Its Hard to Find a First Home             By Gregory Schmidt              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/style/sc
2022-05-12   2022-05-15 hool-bullying-social-qs.html                 Rescuing a Sibling                        By Philip Galanes               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/t-                                                  By Thomas Page McBee and
2022-05-12   2022-05-15 magazine/grand-canyon-travel-arizona.html What the Body Remembers                      Melody Melamed                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/t-                                                  By Aatish Taseer and Joakim
2022-05-12   2022-05-15 magazine/istanbul-travel-turkey.html         Another Country                           Eskildsen                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/t-
                        magazine/mount-pilatus-switzerland-                                                    By Maaza Mengiste and Maroesjka
2022-05-12   2022-05-15 travel.html                                   To Leave It on the Mountain              Lavigne                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/t-
                        magazine/travel-switzerland-istanbul-grand-
2022-05-12   2022-05-15 canyon.html                                  The Second First Encounter                By Hanya Yanagihara             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/world/a Thai Officials To Give Away Plants to Fuel By Mike Ives and Muktita
2022-05-12   2022-05-15 sia/thailand-legal-weed-plant.html           Pot Industry                              Suhartono                       TX 9-172-761   2022-07-01
                                                                     They Wanted a Hamptons Home With
                        https://www.nytimes.com/interactive/2022/05/ Investment Potential What Could They Find
2022-05-12   2022-05-15 12/realestate/hamptons-home.html             for About 2 Million                       By Joyce Cohen                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/arts/des
2022-05-13   2022-05-15 ign/sonia-boyce-venice-biennale.html         Shes No Longer an Invisible Woman         By Farah Nayeri                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/arts/mu
2022-05-13   2022-05-15 sic/ukraine-classical-music.html             When Music From Ukraine Once Thrived      By Gabrielle Cornish            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/arts/tele
                        vision/conversations-withfriends-hulu-
2022-05-13   2022-05-15 bbc.html                                     Conversations Embraces Complications      By Desiree Ibekwe               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/books/r
                        eview/david-levithan-answers-in-the-
2022-05-13   2022-05-15 pages.html                                   Clearing the Books                        By Kekla Magoon                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/books/r
2022-05-13   2022-05-15 eview/new-paperbacks.html                    Paperback Row                             By Miguel Salazar               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/books/r
                        eview/save-the-people-halting-human-
2022-05-13   2022-05-15 extinction-stacy-mcanulty.html               Thats All Folks                           By Elizabeth Kolbert            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/busines
2022-05-13   2022-05-15 s/arvind-krishna-ibm-corner-office.html      An Optimist and a Realist at the Helm     By David Gelles                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/busines Last Years Quitters Most of Them Are at
2022-05-13   2022-05-15 s/great-resignation-jobs.html                Work                                      By Emma Goldberg                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/busines Richard C Wald Who Led Print and Network
2022-05-13   2022-05-15 s/media/richard-c-wald-dead.html             Newsrooms Is Dead at 92                   By Richard Sandomir             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/movies/ Fred Ward Star of The Right Stuff and Henry
2022-05-13   2022-05-15 fred-ward-dead.html                          and June Dies at 79                       By Joseph Berger                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/nyregio
2022-05-13   2022-05-15 n/jane-lynch.html                            A Stroll Some Sushi and Then a Show       By Alix Strauss                 TX 9-172-761   2022-07-01




                                                                              Page 3751 of 5793
                        https://www.nytimes.com/2022/05/13/opinion
2022-05-13   2022-05-15 /college-university-remote-pandemic.html    College Students Are Not OK               By Jonathan Malesic         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/opinion
2022-05-13   2022-05-15 /overturning-roe-democracy-equality.html    The Weak ProDemocracy Case Against Roe By Jamelle Bouie               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/realesta
2022-05-13   2022-05-15 te/hamptons-helicopter-airport.html         Millionaires Vs Billionaires              By Sarah Maslin Nir         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/realesta
2022-05-13   2022-05-15 te/hamptons-modernist-houses.html           Establishing a Beachhead for Modernism    By Tim McKeough             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/realesta
2022-05-13   2022-05-15 te/hamptons-montauk-business.html           When People Stayed Put Business Picked Up By Arielle Dollinger        TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/13/realesta Mas House Fulfills a Grandmothers Dying
2022-05-13   2022-05-15 te/mas-house-bipoc-art-studio-hamptons.html Wish                                         By Julie Lasky           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/realesta A Local Broker Who Is Also a Television
2022-05-13   2022-05-15 te/selling-the-hamptons-jb-andreassi.html   Personality                                  By Arielle Dollinger     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/sports/b For Padres Star Slugger Baseball Really Is a
2022-05-13   2022-05-15 aseball/manny-machado-chess.html            Chess Match                                  By Scott Miller          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/sports/s Grudges Resurface As Perennial AlsoRan
2022-05-13   2022-05-15 occer/trabzonspor-turkey-super-lig.html     Claims Turkish Title                         By Tariq Panja           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/sports/t
2022-05-13   2022-05-15 ennis/bianca-andreescu-italian-open.html    Taking a Break Helps a Former Champion       By Christopher Clarey    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/style/di
2022-05-13   2022-05-15 plo-f1-miami-grand-prix.html                Fast Cars Hold No Thrill for Diplo           By Alyson Krueger        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/style/fr After the Star Wars Theme No Space
2022-05-13   2022-05-15 ankie-grande-hale-leon-wedding.html         Between Them                                 By Tammy La Gorce        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/style/je Telling Their Love Story With Ink and
2022-05-13   2022-05-15 ni-pandolfi-ginger-thompson-wedding.html Needles                                         By Rosalie R Radomsky    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/style/m
                        aya-shwayder-nicholas-quaranto-             As He Wished Finding His Own Princess
2022-05-13   2022-05-15 wedding.html                                Bride                                        By Vincent M Mallozzi    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/style/m
                        odern-love-spotify-playlist-bet-you-think-
2022-05-13   2022-05-15 songs-are-about-you.html                    I Bet You Think These Songs Are About You By Lily Goldberg            TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/13/style/po
2022-05-13   2022-05-15 oja-chatterjee-sandeep-kumar-wedding.html 90 Minutes Early and Staying for a Lifetime   By Tammy La Gorce         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/style/ry So Taken With Each Other They Closed
2022-05-13   2022-05-15 an-smith-scott-woods-wedding.html           Down the Bar                                By Kristen Bayrakdarian   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/style/sa
2022-05-13   2022-05-15 scha-feldman-jacob-esocoff-wedding.html     Years of WheelSpinning Then Zero to 100     By Jenny Block            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/style/ve Battling One Cancer Then Confronting
2022-05-13   2022-05-15 ra-golosker-mark-gilfix-wedding.html        Another                                     By Nina Reyes             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/style/vi
2022-05-13   2022-05-15 vian-yee-joshua-ma-wedding.html             At Coachella Connecting on a Deeper Level   By Steven Moity           TX 9-172-761   2022-07-01




                                                                                Page 3752 of 5793
                        https://www.nytimes.com/2022/05/13/t-                                                     By Adam Bradley and Carmen
2022-05-13   2022-05-15 magazine/campus-satire-the-chair.html       Enter Laughing                                Winant                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/t-
2022-05-13   2022-05-15 magazine/laila-nadia-gohar-world.html       Gohar World                                   By Tilly MacalisterSmith         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/t-
2022-05-13   2022-05-15 magazine/louis-vuitton-mahjong-trunk.html First of its Kind Last of its Kind              By Lindsay Talbot                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/us/lone- Tick Whose Bite Can Provoke a Meat Allergy
2022-05-13   2022-05-15 star-tick-bite-meat-allergy.html            Is Widening Its Territory in the US           By Livia AlbeckRipka             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/arts/mu Teresa Berganza 89 Spanish Opera Star Who
2022-05-14   2022-05-15 sic/teresa-berganza-dead.html               Exuded Charisma and Sensuality                By Jonathan Kandell              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/nyregio Officers Kill Man in Bronx As Shootings        By Chelsia Rose Marcius and Ed
2022-05-14   2022-05-15 n/police-shooting-bronx.html                Spike in City                                 Shanahan                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/sports/f Organized Football It Doesnt Seem That Way By Ken Belson Jenny Vrentas and
2022-05-14   2022-05-15 ootball/las-vegas-raiders.html              in Las Vegas                                  Kevin Draper                     TX 9-172-761   2022-07-01
                                                                                                                  By Elisabetta Povoledo Alex
                        https://www.nytimes.com/2022/05/14/arts/ukr Ukrainian Band Wins Emotional Victory in Marshall Dan Bilefsky and
2022-05-14   2022-05-15 aine-wins-eurovision.html                   Eurovision                                    Anushka Patil                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/busines
2022-05-14   2022-05-15 s/inflation-interest-rates.html             Explaining the Experiment to Tame Inflation By Jeff Sommer                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/busines A Crypto Emperors Vision No Pants His
2022-05-14   2022-05-15 s/sam-bankman-fried-ftx-crypto.html         Rules                                         By David YaffeBellany            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/nyregio Imagining an Alternative for Justice and
2022-05-14   2022-05-15 n/jail-women.html                           Healing                                       By Ginia Bellafante              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/nyregio
                        n/subway-shooting-immigration-              4 Who Helped Catch Subway Attack Suspect
2022-05-14   2022-05-15 protection.html                             Need Aid Themselves                           By Ashley Southall               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/opinion
2022-05-14   2022-05-15 /catholic-roe-abortion-supreme-court.html   Too Much Church In the State                  By Maureen Dowd                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/opinion Student Debt Is Crushing Canceling It Is Still
2022-05-14   2022-05-15 /student-debt-cancel.html                   Bad Policy                                    By The Editorial Board           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/opinion
2022-05-14   2022-05-15 /sunday/rich-happiness-big-data.html        The Rich Are Not Who We Think They Are By Seth StephensDavidowitz              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/opinion
2022-05-14   2022-05-15 /ukraine-russia-putin-biden.html            The Perils of 2 Ukraine War Endgames          By Ross Douthat                  TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/14/realesta A Couple With a Monthly Lease Are Between
2022-05-14   2022-05-15 te/monthly-lease-landlord-eviction-dog.html a Dog and a Hard Place                     By Ronda Kaysen                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/sports/b
                        asketball/milwaukee-bucks-boston-celtics-   It Was Do or Die for Tatum and the Celtics
2022-05-14   2022-05-15 game-7.html                                 They Did                                   By Scott Cacciola                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/sports/h Zibanejad Returns to Form As Rangers Rally
2022-05-14   2022-05-15 ockey/rangers-penguins-nhl-playoffs.html    and Push Penguins to Seventh Game          By David Waldstein                  TX 9-172-761   2022-07-01
                                                                                                               By Anna P Kambhampaty Alisha
                        https://www.nytimes.com/2022/05/14/style/ab Weighing Cryptocurrencys Role in Abortion Haridasani Gupta and Valeriya
2022-05-14   2022-05-15 ortion-crypto-donations.html                Access                                     Safronova                           TX 9-172-761   2022-07-01



                                                                                Page 3753 of 5793
                        https://www.nytimes.com/2022/05/14/style/ta
2022-05-14   2022-05-15 ylor-swift-nyu.html                         And Now Graduates A Taylor Swift Speech By Brett Berk                        TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/14/us/abor At Marches Across US Disbelief and
2022-05-14   2022-05-15 tion-rights-march.html                      Defiance Over Likely End of Roe             By Madeleine Ngo and Lola Fadulu TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/14/us/alab Alabamas Transgender Youth Can Use
2022-05-14   2022-05-15 ama-transgender-law.html                    Medicine to Transition Federal Judge Rules By Rick Rojas                     TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/14/us/covi Journey Is Lonely For Those Who Lost Loved
2022-05-14   2022-05-15 d-one-million-deaths.html                   Ones                                        By Julie Bosman                  TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/14/us/mil Shooting in Downtown Milwaukee Leaves at By Dan Simmons Amanda Holpuch
2022-05-14   2022-05-15 waukee-shooting-deer-district.html          Least 17 People Wounded Police Say          and Sophie Kasakove              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/14/us/polit
                        ics/fetterman-pennsylvania-democratic-      Just a Dude and a FrontRunner in a Senate
2022-05-14   2022-05-15 primary.html                                Primary                                     By Katie Glueck                  TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/14/us/polit Thomas Says Roe Leak Destroyed Trust at
2022-05-14   2022-05-15 ics/supreme-court-clarence-thomas.html      Court                                       By Adam Liptak                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/14/us/polit Trump Backs Vocal Loyalist For
2022-05-14   2022-05-15 ics/trump-endorses-doug-mastriano.html      Pennsylvania Governor                       By Reid J Epstein                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/14/us/polit                                             By Charlie Savage and Michael S
2022-05-14   2022-05-15 ics/white-house-lawyers-oversight.html      White House Braces for Barrage of Inquiries Schmidt                          TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/14/world/a Trying to Survive in Afghanistan on Old     By Thomas GibbonsNeff Safiullah
2022-05-14   2022-05-15 sia/afghan-scrap-metal-mines.html          Scraps of War                               Padshah and Kiana Hayeri          TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/14/world/a Building Fire Kills Dozens Of Workers In
2022-05-14   2022-05-15 sia/delhi-fire-india.html                  New Delhi                                   By Hari Kumar                     TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/14/world/a North Korea Facing Crisis With Covid On the
2022-05-14   2022-05-15 sia/north-korea-covid-outbreak.html        Rise                                        By Choe SangHun                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/14/world/a An Economy and a Political Dynasty Mired in By Mujib Mashal and Skandha
2022-05-14   2022-05-15 sia/sri-lanka-rajapaksa.html               Chaos                                       Gunasekara                        TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/14/world/e A German Hideaway for Oligarchs Confronts By Erika Solomon and Laetitia
2022-05-14   2022-05-15 urope/germany-russia-oligarchs-bavaria.html a Silent Contract                            Vancon                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/world/e Russia Lashes Out as Putins NATO Fears        By Marc Santora and Natalie
2022-05-14   2022-05-15 urope/ukraine-putin-nato.html                  Start to Be Realized                      Kitroeff                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/world/
                        middleeast/mohammed-bin-zayed-elected-uae-Ambitious US Partner Becomes the Leader of
2022-05-14   2022-05-15 leader.html                                    the UAE                                   By Ben Hubbard                   TX 9-172-761   2022-07-01
                                                                                                                 By Jeremy White Amy Harmon
                        https://www.nytimes.com/interactive/2022/05/                                             Danielle Ivory Lauren Leatherby
2022-05-14   2022-05-15 13/us/covid-deaths-us-one-million.html         How America Lost One Million People       Albert Sun and Sarah Almukhtar   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/14/nyr
                        egion/buffalo-shooting/at-least-10-people-are-
                        killed-in-a-mass-shooting-at-a-buffalo-        10 Shot Dead at Grocery in Buffalo Attack By Jesse McKinley Alex Traub and
2022-05-14   2022-05-15 grocery-store-a-local-official-says            Called a Hate Crime                       Troy Closson                     TX 9-172-761   2022-07-01




                                                                               Page 3754 of 5793
                        https://www.nytimes.com/2022/05/15/busines
                        s/the-week-in-business-cryptocurrency-
2022-05-15   2022-05-15 markets.html                                The Week in Business Cryptos Death Spiral   By Marie Solis                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/insider/
2022-05-15   2022-05-15 remembering-one-in-one-million.html         Remembering One in One Million              By Times Insider Staff              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/realesta
                        te/homes-that-sold-for-around-one-
2022-05-15   2022-05-15 million.html                                Around 1 Million                            By C J Hughes                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/science
                        /total-lunar-eclipse-blood-moon-how-to-     What to Watch Sunday Lunar Eclipse of
2022-05-15   2022-05-15 watch.html                                  Course                                      By Adam Mann                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/style/ev
2022-05-15   2022-05-15 erything-embellished-all-at-once.html       Everything All at Once                      By Denny Lee                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/us/idah GOP Factions in Idaho Feud Over States
2022-05-15   2022-05-15 o-republican-primary-little-mcgeachin.html Future                                       By Mike Baker                       TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/15/us/polit In Cawthorns District Strong Opinions of Him
2022-05-15   2022-05-15 ics/madison-cawthorn-hendersonville-nc.html For and Against                              By Jazmine Ulloa                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/21/travel/n
2022-04-21   2022-05-16 ashville-travel-tourism.html                Music and Food Fuel a Boisterous Mood        By Colleen Creamer                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/travel/l
2022-04-28   2022-05-16 ondon-things-to-do-tourism.html             A Brush With Royalty Real and Fictional      By Amy Tara Koch                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/08/books/f Keeping a Keen Eye On Mexicos Dark
2022-05-08   2022-05-16 ernanda-melchor-paradais.html               World of Violence                            By Benjamin P Russell              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/opinion The Last Unregulated Cigarette May Be
2022-05-11   2022-05-16 /cigarettes-tobacco-black-americans.html    Prohibited Finally                           By Keith Wailoo                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/technol
2022-05-12   2022-05-16 ogy/federal-data-privacy-law.html           Messy Progress Made on Data Privacy          By Shira Ovide                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/arts/mu                                               By Jon Pareles Isabelia Herrera
                        sic/playlist-my-chemical-romance-kendrick- For You Listener New Tracks That Rail         Giovanni Russonello and Lindsay
2022-05-13   2022-05-16 lamar.html                                  Question and Obsess                          Zoladz                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/obituari Overlooked No More Junichi Arai Innovative
2022-05-13   2022-05-16 es/junichi-arai-overlooked.html             Textile Designer                             By Elaine Louie                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/theater/                                              By Nicole Herrington and Michael
2022-05-13   2022-05-16 mrs-doubtfire-broadway-closing.html         Mrs Doubtfire to Close on Broadway           Paulson                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/us/val- Val Broeksmit 46 Blew the Whistle on
2022-05-13   2022-05-16 broeksmit-dead.html                         Deutsche Bank                                By Sam Roberts                     TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/13/world/a South Korea Tries Surveillance to Stop Ghost
2022-05-13   2022-05-16 sia/south-korea-cameras-ghost-surgery.html Surgeries                                    By John Yoon                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/arts/mu
2022-05-14   2022-05-16 sic/minority-languages-song-contest.html   A Song Competition for Endangered Tongues By Alex Marshall                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/busines The Difficulties of Returning to Work With
2022-05-14   2022-05-16 s/dealbook/working-with-long-covid.html    Long Covid Symptoms                          By Jenny Gross                      TX 9-172-761   2022-07-01




                                                                                Page 3755 of 5793
                        https://www.nytimes.com/2022/05/14/dining/j Jack Cakebread Pioneer Of Winemaking in
2022-05-14   2022-05-16 ack-cakebread-dead.html                     Napa In the 1970s Is Dead at 92                By Clay Risen                  TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/14/sports/j                                                By Andy Cochrane and Rachel
2022-05-14   2022-05-16 oseph-gray-mountain-running.html            Champion Faces Steeper Mountains               Woolf                          TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/14/style/ca Carrie White Hair Stylist to the Stars Whose
2022-05-14   2022-05-16 rrie-white-dead.html                        Salon Was in Vogue Dies at 78                  By Katharine Q Seelye          TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/14/us/oute Beach Houses on the Outer Banks Are Being
2022-05-14   2022-05-16 r-banks-beach-houses-collapse.html          Swallowed by the Sea                           By Richard Fausset              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/world/e                                                 By Mark Landler and Andrew
2022-05-14   2022-05-16 urope/london-train-crossrail.html           LongAwaited London Train Is Ready to Roll      Testa                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/nyregio                                                 By Mihir Zaveri Emma Bubola and
2022-05-15   2022-05-16 n/victims-buffalo-shooting.html             All These Innocent Lives The Victims           Ali Watkins                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/arts/jd-
2022-05-15   2022-05-16 vance-trump-hollywood.html                  JD Vances Unlikely Boosters                    By Marc Tracy                  TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/15/arts/mu
2022-05-15   2022-05-16 sic/hamlet-opera-met.html                   Perchance to Sing Dear Hamlet                  By Zachary Woolfe              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/15/arts/mu
2022-05-15   2022-05-16 sic/malcolm-x-opera-detroit.html            From the Past Songs for the Future             By Zachary Woolfe              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/15/busines Business Travel Resumes Though Not at
2022-05-15   2022-05-16 s/business-travel.html                      Former Pace                                    By Jane L Levere               TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/15/busines
2022-05-15   2022-05-16 s/electric-snowmobiles-boats-mowers.html    Snowmobiles And Boats Go Electric             By Jack Ewing                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/busines                                                By Maria Cramer Christine Hauser
2022-05-15   2022-05-16 s/inflation-grocery-prices.html             Sticking to Bargain Buys at the Grocery       and Livia AlbeckRipka            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/busines Saudi Aramco Sees Profits Rise By 80
2022-05-15   2022-05-16 s/saudi-aramco-earnings-profit.html         Percent As Oil Spikes                         By Stanley Reed                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/crossw
2022-05-15   2022-05-16 ords/daily-puzzle-2022-05-16.html           A Queen of the Crossword Reigns               By Rachel Fabi                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/nyregio Residents Describe A Pattern of Racism Pain
2022-05-15   2022-05-16 n/east-side-buffalo-neighborhood.html       Is in Our DNA                                 By Troy Closson                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/nyregio                                                By Ashley Southall Chelsia Rose
2022-05-15   2022-05-16 n/gunman-buffalo-shooting-suspect.html      Before Attack Solitary Teen Caused Alarm      Marcius and Andy Newman          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/opinion Actors Are Supposed to Act We Should Let
2022-05-15   2022-05-16 /acting-representation-identity.html        Them                                          By Pamela Paul                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/opinion
2022-05-15   2022-05-16 /dr-oz-trump-senate.html                    The Sycophant of Trumps Dreams                By Michelle Cottle               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/opinion
2022-05-15   2022-05-16 /polarization-disagreement.html             America Has a Scorn Problem                   By Tish Harrison Warren          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/sports/b
2022-05-15   2022-05-16 aseball/hunter-greene-reds-no-hitter.html   Reds Allow Zero Hits To Pirates But Lose      By Evan Easterling               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/sports/b Mariners Deliver Mets Their First Series Loss
2022-05-15   2022-05-16 aseball/mets-mariners-series.html           of the Year                                   By Gary Phillips                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/sports/b Running on Almost Empty As Are Losing
2022-05-15   2022-05-16 aseball/oakland-athletics-attendance.html   Fans and Time                                 By David Waldstein               TX 9-172-761   2022-07-01



                                                                                 Page 3756 of 5793
                        https://www.nytimes.com/2022/05/15/sports/b
                        asketball/boston-celtics-milwaukee-bucks-   Trading Question Marks For Exclamation
2022-05-15   2022-05-16 game-7.html                                 Point Williams Carries Celtics            By Scott Cacciola                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/15/sports/n They Treated Their Sports Like a Job They
2022-05-15   2022-05-16 caa-athletes-lawsuit.html                   Wish the NCAA Had Too                     By David W Chen                     TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/15/sports/t Legend and Prodigy Follow Wins in Rome To
2022-05-15   2022-05-16 ennis/italian-open.html                     the French Open                           By Christopher Clarey               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/15/us/polit Pennsylvania Candidate Recovering From
2022-05-15   2022-05-16 ics/john-fetterman-stroke.html              Stroke                                    By Katie Glueck                     TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/15/us/polit Lawyer Tied to Democrats Is First to Face
2022-05-15   2022-05-16 ics/michael-sussmann-trial-trump-russia.html Charges By TrumpEra Prosecutor              By Charlie Savage                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/15/us/tenn ExNurse Convicted in Fatal Error Gets
2022-05-15   2022-05-16 essee-nurse-sentencing.html                  Probation                                   By Eduardo Medina                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/15/world/a Somalia Selects New President as Terrorists   By Abdi Latif Dahir and Malin
2022-05-15   2022-05-16 frica/somalia-election-president.html        Grip Much of Country                        Fezehai                          TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/15/world/a Why Australias Covid Death Rate Is Only
2022-05-15   2022-05-16 ustralia/covid-deaths.html                   OneTenth of US Level                        By Damien Cave                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/15/world/e
                        urope/finland-sweden-nato-russia-            NATO Vows to Expedite Its Membership        By Edward Wong and Anatoly
2022-05-15   2022-05-16 ukraine.html                                 Process For Finland and Sweden              Kurmanaev                        TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/15/world/e Social Democrats Brace for Defeat In
2022-05-15   2022-05-16 urope/germany-elections-scholz.html          Germanys Most Populous State                By Christopher F Schuetze        TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/15/world/e
                        urope/transnistria-moldova-russia-           A MiniRussia Resists Moscows Call to        By Jeffrey Gettleman and Cristian
2022-05-15   2022-05-16 ukraine.html                                 Support Its Invasion                        Movila                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/world/ Voters Go to the Polls But With Little Hope    By Ben Hubbard Hwaida Saad and
2022-05-15   2022-05-16 middleeast/lebanon-election.html             Of Change in Lebanon                        Asmaa alOmar                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/15/nyr
                        egion/shooting-buffalo-ny/buffalo-attack-    Victims Include Security Guard Hailed as
2022-05-15   2022-05-16 shooting-victims                             Hero                                        By Jesse McKinley                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/15/busines Video Spreads Online And Social Platforms
2022-05-16   2022-05-16 s/buffalo-shooting-social-media.html         Again Face Scrutiny                         By Kellen Browning and Ryan Mac TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/15/sports/b
                        asketball/phoenix-suns-dallas-mavericks-
2022-05-16   2022-05-16 game-7.html                                  Mavericks Knock Out Suns in Game 7          By Tania Ganguli                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/15/sports/h
2022-05-16   2022-05-16 ockey/penguins-rangers-nhl-playoffs.html     Broadway Revival                            By David Waldstein               TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/15/us/repla Creeping Into the Mainstream A Theory        By Nicholas Confessore and Karen
2022-05-16   2022-05-16 cement-theory-shooting-tucker-carlson.html Turns Hate Into Terror                        Yourish                          TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/16/arts/tele
                        vision/whats-on-tv-this-week-merry-wives-
2022-05-16   2022-05-16 and-george-carlin.html                       This Week on TV                             By Gabe Cohn                     TX 9-172-761    2022-07-01




                                                                                Page 3757 of 5793
                        https://www.nytimes.com/2022/05/16/busines
                        s/media/upfronts-tv-warner-bros-
2022-05-16   2022-05-16 discovery.html                               Upfronts In a Changed Media World           By Tiffany Hsu and John Koblin TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/sports/t A Heart Attack A Recovery And the Road To By Matthew Futterman and Rachel
2022-05-16   2022-05-16 riathlon-odonnell-heart-attack.html          a Return                                    Woolf                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/us/polit
                        ics/red-boxes-campaign-finance-
2022-05-16   2022-05-16 democrats.html                               Flouting Rules Of Campaigns In Plain Sight By Shane Goldmacher             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/world/e
2022-05-16   2022-05-16 urope/nato-putin-sweden-finland.html         Two Countries Turn to NATO In Face of War By Roger Cohen                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/28/arts/tele
2022-04-28   2022-05-17 vision/ten-percent-show.html                 The Battle With Showbiz and British Anxiety By Roslyn Sulcas               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/07/science Drawing the Wrong Conclusion All These
2022-05-07   2022-05-17 /saber-tooth-cats-teeth.html                 Years                                       By Anthony Ham                 TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/09/science Buzz Beaters As if Bats Arent Scary Enough
2022-05-09   2022-05-17 /bats-buzz-hornets.html                     Some Are Taking Tips From Hornets          By Sam Jones                   TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/09/science Toxic Transfer These Mushrooms Were
2022-05-09   2022-05-17 /poisonous-mushrooms-genes.html             Involved In a Very Poisonous Relationship  By Veronique Greenwood         TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/09/well/liv
2022-05-09   2022-05-17 e/heart-disease-symptoms-women.html         Are Women Missing Signs of Heart Disease By Anahad OConnor                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/11/health/ Common Medications Might Prolong That
2022-05-11   2022-05-17 medications-back-pain-overuse.html          Aching Back                                By Gina Kolata                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/11/science
2022-05-11   2022-05-17 /mice-aging-memory-spinal-fluid.html        A Step Toward Refreshing Memory            By Benjamin Mueller            TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/11/well/mi Romanticize Your Life By Paying Attention
2022-05-11   2022-05-17 nd/romanticize-your-life-tiktok.html        to It                                      By Christina Caron             TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/12/science Turkish Real Estate Dont Go in the Basement
2022-05-12   2022-05-17 /turkey-chamber-assyrian.html               You Might Wake Up the Gods                 By Jennifer Pinkowski          TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/12/well/liv
2022-05-12   2022-05-17 e/snoring-causes-solutions.html             How Can I Stop Snoring                     By Erik Vance                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/12/well/do What Humans Get Wrong About Dog
2022-05-13   2022-05-17 g-behavior.html                             Behavior                                   By Melinda Wenner Moyer        TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/13/briefing
2022-05-13   2022-05-17 /advice-for-summer-travel.html              A Travel Writer Shares Advice              By Jonathan Wolfe              TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/13/well/m
2022-05-13   2022-05-17 ove/getting-back-into-running.html          Lacing Them Up Once Again                  By Knvul Sheikh                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/article/formula-
2022-05-13   2022-05-17 shortage-help.html                          What to Know About Handling The Shortage By Catherine Pearson             TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/14/arts/mu Lil Keed 24 Rising Rapper Shaped by Atlanta
2022-05-14   2022-05-17 sic/lil-keed-dead.html                      Turmoil                                    By Joe Coscarelli              TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/14/science ShortLived Motherhood The Trigger That
2022-05-14   2022-05-17 /female-octopus-death.html                  Makes An Octopus Mom SelfDestruct          By Nicholas Bakalar            TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/15/arts/pen
2022-05-15   2022-05-17 conference.html                             We the Writers A Global Literary Congress By Jennifer Schuessler          TX 9-172-761     2022-07-01



                                                                              Page 3758 of 5793
                        https://www.nytimes.com/2022/05/15/books/l Larry Woiwode Dies at 80 Wrote of Rural
2022-05-15   2022-05-17 arry-woiwode-dead.html                       Life                                        By Penelope Green                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/world/a Katsumoto Saotome Chronicler of Tokyo
2022-05-15   2022-05-17 sia/katsumoto-saotome-dead.html              Firebombing Dies at 90                      By Motoko Rich and Hisako Ueno   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/arts/tele
2022-05-16   2022-05-17 vision/barry-sally-sarah-goldberg.html       She Has Worked Hard to Not Be Likable       By Desiree Ibekwe                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/world/a Pandit Shiv Kumar Sharma 84 Artist Whose
2022-05-16   2022-05-17 sia/pandit-shiv-kumar-sharma-dead.html       Santoor Resonated Worldwide                 By Shalini Venugopal Bhagat      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/arts/dan
                        ce/review-bijayini-satpathy-metropolitan-
2022-05-16   2022-05-17 museum.html                                  Moving Breathing With Art At the Met        By Brian Seibert                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/arts/des
                        ign/nick-cave-mta-soundsuits-times-
2022-05-16   2022-05-17 square.html                                  Nick Cave Goes Underground                  By John Vincler                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/arts/mu
2022-05-16   2022-05-17 sic/bad-bunny-billboard-chart.html           Bad Bunny Tops This Weeks Billboard Chart By Ben Sisario                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/arts/mu
                        sic/kendrick-lamar-mr-morale-and-the-big-
2022-05-16   2022-05-17 steppers-review.html                         A Rapper Returns With a Deep Dive           By Jon Caramanica                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/books/r Roaring Through a Life of Controlled
2022-05-16   2022-05-17 eview-letters-thom-gunn.html                 Irresponsibility                            By Dwight Garner                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/busines Feds Leader During 2008 Crisis Says US May
2022-05-16   2022-05-17 s/ben-bernanke-predicts-stagflation.html     Face Stagflation                            By Andrew Ross Sorkin            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/busines
2022-05-16   2022-05-17 s/jetblue-spirit-airlines-tender-offer.html  JetBlues Bid to Acquire Spirit Gets Hostile By Niraj Chokshi                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/busines After 32Year Run McDonalds to Take
2022-05-16   2022-05-17 s/mcdonalds-russia.html                      Arches From Russia                          By Lauren Hirsch                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/busines
2022-05-16   2022-05-17 s/renault-russia-avtovaz.html                Renault Says It Will Sell Russia Stake      By Liz Alderman                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/busines Starbucks Says It Will Cover Travel Costs for
2022-05-16   2022-05-17 s/starbucks-abortion-travel-expenses.html    Abortions                                   By Emma Goldberg                 TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/16/busines Trumps Twitter Imitator May Pay Him to Post
2022-05-16   2022-05-17 s/trump-truth-social-filing.html            Merger With Shell Company Still in Question By Matthew Goldstein              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/busines
2022-05-16   2022-05-17 s/worker-happiness-management.html          Happiness at Work What Is That Exactly      By Emma Goldberg                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/health/ FDA and Maker Of Baby Formula Reach
2022-05-16   2022-05-17 baby-formula-shortage-fda.html              Deal on Plant                               By Christina Jewett               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/health/c
2022-05-16   2022-05-17 ovid-reinfection.html                       Evolving Virus Could Reinfect Over and Over By Apoorva Mandavilli             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/movies/
2022-05-16   2022-05-17 alex-garland-men.html                       It May Be Time To Stop Directing            By Kyle Buchanan                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/movies/
2022-05-16   2022-05-17 amber-heard-johnny-depp-trial.html          Heard Tells Of Marriage Unraveling          By Julia Jacobs                   TX 9-172-761   2022-07-01




                                                                               Page 3759 of 5793
                                                                                                               By Jesse McKinley Jonah E
                        https://www.nytimes.com/2022/05/16/nyregio Despite State Law Buffalo Suspect Purchased Bromwich Andy Newman and
2022-05-16   2022-05-17 n/buffalo-shooting-attack.html             Rifle                                       Chelsia Rose Marcius               TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/16/nyregio Trapped and Helpless as a Gunman Drew
2022-05-16   2022-05-17 n/buffalo-shooting-tops-employees.html     Closer                                      By Michael Wilson                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/16/nyregio
2022-05-16   2022-05-17 n/katherine-massey-buffalo-victim.html     Strong Voice Against Guns Is Silenced       By Ashley Wong                     TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/16/nyregio
2022-05-16   2022-05-17 n/ny-redistricting-congressional-map.html  New York Map Rescinds Edge For Democrats By Nicholas Fandos                    TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/16/nyregio Health Officials in New York City Urge
2022-05-16   2022-05-17 n/nyc-mask-mandate-covid.html                 Masks Be Worn Indoors as Virus Cases Rise By Sharon Otterman                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/nyregio Death Penalty Shift Could Spare Defendant in
2022-05-16   2022-05-17 n/nyc-truck-terror-attack.html                Terror Attack                              By Benjamin Weiser                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/opinion
                        /buffalo-shooting-conspiracy-theory-          The Bloody Crossroads Where Conspiracy
2022-05-16   2022-05-17 guns.html                                     Theories and Guns Meet                     By Gail Collins and Bret Stephens TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/16/opinion The Answer to Stopping the Coronavirus May
2022-05-16   2022-05-17 /covid-nasal-vaccine.html                     Be Up Your Nose                            By Akiko Iwasaki                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/opinion
2022-05-16   2022-05-17 /republicans-taxes-great-replacement.html     From Voodoo to MAGA to Buffalo             By Paul Krugman                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/science
2022-05-16   2022-05-17 /electronics-silicon-gallium.html             In Power Electronics Moving Beyond Silicon By Amos Zeeberg                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/sports/b Pujolss Pitching Debut One for the Books Not
2022-05-16   2022-05-17 aseball/albert-pujols-pitching.html           Quite                                      By Benjamin Hoffman                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/sports/h
2022-05-16   2022-05-17 orse-racing/rare-white-thoroughbred.html      The Snow White Of the Racetrack            By Victor Mather                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/sports/s Player Refuses to Wear an AntiHomophobia
2022-05-16   2022-05-17 occer/psg-idrissa-gana-gueye.html             Uniform                                    By Tariq Panja                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/us/buff
                        alo-shooting-replacement-theory-christchurch- How Shooting Suspects Racist Writings
2022-05-16   2022-05-17 el-paso.html                                  Reveal Links to Other Attacks              By Alan Feuer                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/us/calif Hate Motivated Attack On Church Sheriff      By Livia AlbeckRipka Shawn
2022-05-16   2022-05-17 ornia-church-shooting-hate-incident.html      Says                                       Hubler and Eduardo Medina          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/us/hate- Surge in Hate Crimes Against Black People Is By Audra D S Burch and Luke
2022-05-16   2022-05-17 crimes-black-african-americans.html           Seen in FBI Data                           Vander Ploeg                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/us/polit Reversing Trump Policy Biden Will Resend
2022-05-16   2022-05-17 ics/biden-military-somalia.html               Troops to Somalia                          By Charlie Savage and Eric Schmitt TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/us/polit
2022-05-16   2022-05-17 ics/senator-chris-van-hollen-stroke.html      US Senator Of Maryland Suffers Stroke      By Tiffany May                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/us/polit GOP Senate Candidate In North Carolina       By Jazmine Ulloa and Michael C
2022-05-16   2022-05-17 ics/ted-budd-nc-trump.html                    Profits As 2 Key Backers Scrap             Bender                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/us/polit
                        ics/ted-cruz-supreme-court-campaign-
2022-05-16   2022-05-17 finance.html                                  Court Decides for Cruz On Campaign Finance By Adam Liptak                     TX 9-172-761   2022-07-01



                                                                                Page 3760 of 5793
                        https://www.nytimes.com/2022/05/16/us/polit                                              By Alan Rappeport and Liz
2022-05-16   2022-05-17 ics/treasury-yellen-europe-global-tax.html  Yellen Faces Obstacles To Tax Deal           Alderman                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/well/fa
2022-05-16   2022-05-17 mily/breastfeeding-formula-shortage.html    For Many Breastfeeding Cant Be the Solution By Catherine Pearson                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/world/a Frustrated Fire Survivors May Tilt Australias By Kieran Pender and Matthew
2022-05-16   2022-05-17 ustralia/cobargo-bushfires-election.html    Election                                     Abbott                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/world/e Estonian Leader Warns Against Deal With
2022-05-16   2022-05-17 urope/estonia-kallas-ukraine-russia.html    Putin                                        By Steven Erlanger                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/world/e Johnsons Softer Tone on Northern Ireland      By Mark Landler and Stephen
2022-05-16   2022-05-17 urope/johnson-brexit-northern-ireland.html  Trade Belies HardLine Plans                  Castle                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/world/e Macron Names Woman To Be Prime                By Norimitsu Onishi and Aurelien
2022-05-16   2022-05-17 urope/macron-prime-minister.html            Minister With an Eye on the Left             Breeden                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/world/e SovietEra Tactics Hobble Russia on
2022-05-16   2022-05-17 urope/russia-military-ukraine.html          Battlefield                                  By Neil MacFarquhar                TX 9-172-761   2022-07-01
                                                                                                                 By Marc Santora Anton
                        https://www.nytimes.com/2022/05/16/world/e A Shaky Russian Army and a Growing            Troianovski Rick Gladstone and
2022-05-16   2022-05-17 urope/russia-ukraine-east.html              NATO                                         Matthew Mpoke Bigg                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/world/
2022-05-16   2022-05-17 middleeast/russia-gas-ukraine-qatar.html    Wests Vying For Gas to Be Qatars Boon        By Ben Hubbard                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/article/mass-
2022-05-16   2022-05-17 shootings-2022.html                         Random or Targeted Mass Shootings Spread By The New York Times                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/16/bus Uber Debuts New Features Like Chartering
2022-05-16   2022-05-17 iness/economy-news-stocks-inflation/uber    Buses and Vans                               By Kellen Browning                 TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/16/opinion
2022-05-17   2022-05-17 /buffalo-shooting-replacement-theory.html   Buffalo Was Not Random Violence             By The Editorial Board              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/us/polit
2022-05-17   2022-05-17 ics/biden-cuba-policy.html                  Some Limits On Cuba To Be Lifted            By David E Sanger                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/us/polit Racist Attack Puts Spotlight on Stefaniks
2022-05-17   2022-05-17 ics/elise-stefanik-replacement-theory.html  Echo of Replacement Theory                  By Annie Karni                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/us/polit Stark Common Element of Most Recent
2022-05-17   2022-05-17 ics/legal-gun-purchase-mass-shooting.html   Massacres Legally Purchased Guns            By Glenn Thrush                     TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/16/us/polit McConnell Tries to Sway Isolationists In His
2022-05-17   2022-05-17 ics/mcconnell-republicans-ukraine-aid.html Party                                         By Catie Edmondson                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/us/polit Republicans Deplore Killings but Few         By Shane Goldmacher and Luke
2022-05-17   2022-05-17 ics/republicans-great-replacement.html      Eschew Nativist Politics Behind Tragedy      Broadwater                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/us/sena Talks in Senate to Expand A US War Crimes
2022-05-17   2022-05-17 te-bill-war-crimes-ukraine.html             Law                                          By Charlie Savage                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/climate A Bloomberg Investment Will Fund Clean
2022-05-17   2022-05-17 /michael-bloomberg-climate-coal.html        Energy                                       By Maggie Astor                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/health/
2022-05-17   2022-05-17 kidney-disease-black-americans.html         Targeting Variants In Kidney Disease         By Gina Kolata                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/health/
2022-05-17   2022-05-17 kidney-transplants-black-americans.html     Risk Calculations and Black Donors           By Gina Kolata                     TX 9-172-761   2022-07-01



                                                                                  Page 3761 of 5793
                        https://www.nytimes.com/2022/05/17/science Your Bosses Could Have a File on You and
2022-05-17   2022-05-17 /insider-threat-private-companies.html      Misread It                                   By Sarah Scoles           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/sports/b
                        asketball/miami-heat-boston-celtics-
2022-05-17   2022-05-17 conference-finals.html                      CelticsHeat II Familiar Stars And New Twists By Sopan Deb              TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/17/sports/h
2022-05-17   2022-05-17 ockey/leafs-oilers-flames-nhl-playoffs.html Its O Canada and Woe Canada                By Shawna Richer            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/17/us/
                        pa-primary-elections-nc/primary-elections-  Big Questions Swirl at the Polls in
2022-05-17   2022-05-17 pennsylvania-north-carolina                 Pennsylvania and North Carolina            By Trip Gabriel             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/dining/
                        drinks/california-vineyards-ecosystems-
2022-05-12   2022-05-18 sheep.html                                  To Grow Better Grapes Add Some Animals By Eric Asimov                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/health/f FDA Authorizes Underwear to Protect
2022-05-12   2022-05-18 da-underwear-sti.html                       Against Infections                         By Pam Belluck              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/dining/
2022-05-13   2022-05-18 best-biscuit-breakfast-sandwich-jam.html    A Sandwich With a Sweet Spread             By Genevieve Ko             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/dining/r
2022-05-13   2022-05-18 oast-chicken-sheet-pan-rhubarb.html         Simple and Fast With a Tangy Twist         By Melissa Clark            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/dining/
2022-05-14   2022-05-18 how-to-grill-the-perfect-steak.html         Simple Steps to Perfectly Grilled Steak    By Steven Raichlen          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/dining/
2022-05-14   2022-05-18 how-to-reverse-sear-steak.html              Start With the Right Setup                 By Steven Raichlen          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/arts/mu
2022-05-16   2022-05-18 sic/hamlet-met-opera.html                   A Chord for a Tragic Hero to Strike or Not By David Allen              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/books/t                                             By Elizabeth A Harris and
2022-05-16   2022-05-18 he-believer-mcsweeneys.html                 Baffling Plot Twist for a Literary Journal Alexandra Alter             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/dining/
2022-05-16   2022-05-18 curry-leaves-recipes.html                   Many Dimensions Of Curry Leaves            By Zinara Rathnayake        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/dining/ To Delight New Ice Cream Sandwich At the
2022-05-16   2022-05-18 doughnut-plant-ice-cream-sandwiches.html Doughnut Plant                                By Florence Fabricant       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/dining/ To Salute Grace Young Wins The Julia Child
2022-05-16   2022-05-18 grace-young-julia-child-award.html          Award                                      By Florence Fabricant       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/dining/l To Savor Jambon Americano DryCured in
2022-05-16   2022-05-18 a-quercia-cured-meats.html                  Iowa                                       By Florence Fabricant       TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/16/dining/ To Nibble The Gift Shop at the Met
2022-05-16   2022-05-18 metropolitan-museum-heirloom-project.html Showcases Islamic Artisans                    By Florence Fabricant      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/dining/t To Explore Ancient Spice Routes Lead Into
2022-05-16   2022-05-18 he-nutmeg-trail-book.html                   the Kitchen                                 By Florence Fabricant      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/dining/
2022-05-16   2022-05-18 ukraine-food-recipes.html                   Rescuing the Cuisine Of a Besieged Land     By Julia Moskin            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/movies/
2022-05-16   2022-05-18 family-camp-review.html                     Outdoor Adventures On Familiar Terrain      By Nicolas Rapold          TX 9-172-761   2022-07-01



                                                                                Page 3762 of 5793
                        https://www.nytimes.com/2022/05/16/sports/j Jrgen Blin 79 Scrapper Felled by Ali In 7th
2022-05-16   2022-05-18 urgen-blin-dead.html                        Round                                       By Christopher F Schuetze        TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/17/arts/am Depp Lawyer Plays Tape of Argument In
2022-05-17   2022-05-18 ber-heard-johnny-depp-abuse.html            Effort to Discredit Claims of Abuse         By Julia Jacobs                  TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/17/arts/dan
2022-05-17   2022-05-18 ce/new-york-live-arts-abby-zbikowski.html It Takes A Lot Of Work To Be Wild            By Gia Kourlas                    TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/17/arts/des
2022-05-17   2022-05-18 ign/atlanta-high-museum-art-diversity.html Finding new voices and filling gaps            By Ted Loos                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/arts/des
                        ign/brooklyn-museum-monet-morisot-
2022-05-17   2022-05-18 european-art.html                            The Brooklyn Museum in a new light           By Farah Nayeri                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/arts/des
2022-05-17   2022-05-18 ign/frieze-new-york.html                     An intimate international fair               By Ted Loos                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/arts/des
2022-05-17   2022-05-18 ign/homa-delvaray-frieze-new-york.html       Lost gardens captured in verse               By David Belcher                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/arts/des
2022-05-17   2022-05-18 ign/lisa-schiff-art-consultant.html          Ask an art adviser Are NFTs art              By Farah Nayeri                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/arts/des
2022-05-17   2022-05-18 ign/los-angeles-gallery-latinos.html         Shared Studio Nurtures Emerging Artists      By Robin Pogrebin                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/arts/mu
2022-05-17   2022-05-18 sic/onstage-animals-met-opera.html           A Donkeys Debut                              By Sophie Haigney                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/arts/tele
                        vision/lincoln-lawyer-manuel-garcia-
2022-05-17   2022-05-18 rulfo.html                                   His Mexican Roots Make a Role Richer         By Elisabeth Vincentelli         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/arts/tele
2022-05-17   2022-05-18 vision/maggie-peterson-dead.html             Maggie Peterson 81 a Guest in Mayberry       By Peter Keepnews                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/books/r
2022-05-17   2022-05-18 eview-avalon-nell-zink.html                  Revenge Who Has The Time                     By Molly Young                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/busines Allianz Subsidiary Pleads Guilty to Fraud in 7 By Matthew Goldstein and Lananh
2022-05-17   2022-05-18 s/allianz-investment-collapse.html           Billion Investment Implosion                 Nguyen                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/busines Black Lives Matter Foundation Discloses
2022-05-17   2022-05-18 s/blm-black-lives-matter-finances.html       Assets of 42 Million                         By Nicholas Kulish               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/busines
2022-05-17   2022-05-18 s/doj-steve-wynn-trump-china.html            Justice Dept Says Wynn Aided China           By Niraj Chokshi                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/busines
2022-05-17   2022-05-18 s/economy/interest-rates-jobs-layoffs.html   The Future of Layoffs                        By Lydia DePillis                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/busines Musk Seeks More Details From Twitter           By Lauren Hirsch Kate Conger and
2022-05-17   2022-05-18 s/elon-musk-twitter.html                     Before Deal                                  Adam Satariano                   TX 9-172-761   2022-07-01
                                                                                                                  By Peter S Goodman Ruth Maclean
                                                                                                                  Salman Masood Elif Ince Flvia
                        https://www.nytimes.com/2022/05/17/busines Economic Forces Push Worlds Poorest to         Milhorance Muktita Suhartono and
2022-05-17   2022-05-18 s/inflation-developing-economies.html        Brink                                        Brenda Kiven                     TX 9-172-761   2022-07-01




                                                                                Page 3763 of 5793
                        https://www.nytimes.com/2022/05/17/busines
                        s/media/crypto-gwyneth-paltrow-matt-damon-
2022-05-17   2022-05-18 reese-witherspoon.html                      Stars Take Heat for Hyping Virtual Currency By Tiffany Hsu                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/busines Netflix Lays Off 150 Employees As Gains
2022-05-17   2022-05-18 s/netflix-layoffs.html                      Slow                                         By Nicole Sperling              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/busines Retail Sales Rise Again But Gas Spending
2022-05-17   2022-05-18 s/retail-sales-april-inflation.html         Falls                                        By Coral Murphy Marcos          TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/busines Walmart Earnings Plunge 25 and Shares
2022-05-17   2022-05-18 s/walmart-earnings-inflation.html           Follow                                       By Michael Corkery              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/climate European Panel Votes to Rethink Reliance on
2022-05-17   2022-05-18 /eu-burning-wood-electricity.html           Burning Wood for Electricity                 By Lois Parshley                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/dining/
                        how-to-find-a-reservation-in-new-york-      Look Beyond the Big Names for a Place at the
2022-05-17   2022-05-18 city.html                                   Table                                        By Nikita Richardson            TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/dining/
2022-05-17   2022-05-18 nonna-doras-pasta-bar-review.html           A Pasta Granny Gets a Perch in Manhattan     By Pete Wells                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/dining/ Everytable a California Chain With Sliding
2022-05-17   2022-05-18 nyc-restaurant-news.html                    Scale Prices Opens in New York               By Florence Fabricant           TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/dining/ To Shop A Food Store in SoHo With a Bar
2022-05-17   2022-05-18 pine-and-polk-bar-pacific-standard.html     Tucked Away                                  By Florence Fabricant           TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/dining/r
2022-05-17   2022-05-18 estaurant-dress-code.html                   No Jacket No Service                         By Priya Krishna                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/nyregio Others Joined Chat Room With Suspect
2022-05-17   2022-05-18 n/buffalo-shooting-discord-chat-plans.html  Before Attack                                By Jonah E Bromwich             TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/nyregio New York Democrats Battle for Districts in
2022-05-17   2022-05-18 n/democrats-redistrict-ny.html              ExtinctionLevel Event                        By Nicholas Fandos              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/nyregio 11YearOld Girl Is Killed By Stray Bullet in
2022-05-17   2022-05-18 n/girl-killed-bronx.html                    Bronx                                        By Mike Ives and Ashley Wong    TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/nyregio 100 Million Film Studio to Replace Newark
2022-05-17   2022-05-18 n/lionsgate-newark-movie-studio.html        Housing Project                              By Tracey Tully                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/nyregio
2022-05-17   2022-05-18 n/nyc-covid-high-alert.html                 New York City High Covid Alert               By Joseph Goldstein             TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/17/opinion
2022-05-17   2022-05-18 /buffalo-shooting-replacement-theory.html   The Violent Defense of Whiteness            By Kathleen Belew                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/opinion Taking These Two Steps Will Help Alleviate
2022-05-17   2022-05-18 /formula-shortage.html                      the Shortage of Baby Formula                By Suraj Patel                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/opinion
2022-05-17   2022-05-18 /replacement-theory-us.html                 Weaponizing America Against Itself          By Bret Stephens                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/opinion
2022-05-17   2022-05-18 /russian-oil-green-energy.html              We Keep Falling for the Same Big Talk       By Thomas L Friedman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/opinion                                              By Charlie Eaton Amber Villalobos
2022-05-17   2022-05-18 /student-debt-forgiveness.html              Students Deserve a Loan Bailout             and Frederick Wherry              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/sports/b
2022-05-17   2022-05-18 aseball/matt-harvey-suspended.html          Harvey Suspended for Providing Drugs        By Benjamin Hoffman              TX 9-172-761    2022-07-01



                                                                               Page 3764 of 5793
                        https://www.nytimes.com/2022/05/17/sports/c In a First a Black African Cyclist Wins a
2022-05-17   2022-05-18 ycling/biniam-girmay-giro-ditalia.html      Grand Tour Stage                            By Victor Mather                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/17/sports/g
2022-05-17   2022-05-18 olf/tiger-woods-pga-championship.html       Woods Has Some Words for Mickelson          By Bill Pennington                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/17/sports/h
                        ockey/igor-shesterkin-rangers-nhl-          Coachs Show of Faith In His Goalie Pays Off
2022-05-17   2022-05-18 playoffs.html                               And Rangers Move On                         By David Waldstein                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/17/technol
2022-05-17   2022-05-18 ogy/coworking-spaces-wework.html            Finding Flexibility in CoWorking Spaces     By Erin Woo                       TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/17/theater/
2022-05-17   2022-05-18 will-you-come-with-me-review.html           Love Resistance and the Sting of Tear Gas   By Naveen Kumar                   TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/17/us/baby-Formula Shortage Lands Two Children in
2022-05-17   2022-05-18 formula-shortage-tennessee-hospitalized.html Hospital                                   By Amanda Morris                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/17/us/dalla Arrest in Attack on 3 Asian American Women By Edgar Sandoval and Daniel
2022-05-17   2022-05-18 s-shooting-asian-attacks.html                in Dallas                                  Victor                            TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/17/us/mich
2022-05-17   2022-05-18 igan-abortion-ban.html                       Judge Blocks a 1931 Ban on Abortion        By Luke Vander Ploeg              TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/17/us/polit Democrats Bill Would Increase Staffing To
2022-05-17   2022-05-18 ics/baby-formula-shortage-house-bill.html    Speed Up Inspection of Baby Formula        By Emily Cochrane                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/17/us/polit Biden Condemns White Supremacy as Poison By Zolan KannoYoungs and Peter
2022-05-17   2022-05-18 ics/biden-buffalo-ny-visit.html              in US                                      Baker                             TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/17/us/polit Congress Publicly Digs Into UFO Reports for
2022-05-17   2022-05-18 ics/congress-ufo-hearing.html                First Time in Decades                      By Julian E Barnes                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/17/us/polit Children as Young as 5 Can Get Pfizer
2022-05-17   2022-05-18 ics/fda-pfizer-booster-children.html         Booster                                    By Sharon LaFraniere              TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/17/us/polit Justice Dept Is Said to Request Transcripts By Glenn Thrush and Luke
2022-05-17   2022-05-18 ics/jan-6-committee-transcripts.html         From Jan 6 Inquiry                         Broadwater                        TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/17/us/polit Clashing Views of Cybersecurity Lawyer as
2022-05-17   2022-05-18 ics/michael-sussmann-cybersecurity-trial.html Trial in Special Counsels Case Opens        By Charlie Savage                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/us/polit Russian Hacking Cartel Hobbles Costa Rican
2022-05-17   2022-05-18 ics/russia-hacking-costa-rica.html            Tax Collection and Export Sites             By Kate Conger and David Bolaos TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/17/us/polit Trump Ally Pitched Fund To Sheikh US          By David D Kirkpatrick and Mark
2022-05-17   2022-05-18 ics/thomas-barrack-trump-lobbying.html        Charges                                     Mazzetti                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/us/polit Pentagon Faults Review of Lethal 19 Airstrike
2022-05-17   2022-05-18 ics/us-airstrike-civilian-deaths.html         but Finds No Wrongdoing                     By Eric Schmitt and Dave Philipps TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/us/polit                                               By Lara Jakes and Anatoly
2022-05-17   2022-05-18 ics/us-venezuela-oil-sanctions.html           US Loosens Its Sanctions On Venezuela       Kurmanaev                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/us/polit Wisconsin Democrats Sue GOPs Fake
2022-05-17   2022-05-18 ics/wisconsin-fake-electors.html              Electors Over 2020 Scheme to Help Trump By Reid J Epstein                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/us/polit
2022-05-17   2022-05-18 ics/yellen-europe-ukraine-aid.html            Yellen Urges EU to Boost Ukraine Aid        By Alan Rappeport                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/us/publ Public Schools Have Lost Over a Million
2022-05-17   2022-05-18 ic-schools-falling-enrollment.html            Students in Two Years                       By Shawn Hubler                   TX 9-172-761   2022-07-01



                                                                                Page 3765 of 5793
                        https://www.nytimes.com/2022/05/17/us/urva Urvashi Vaid an LGBTQ Activist Hailed as a
2022-05-17   2022-05-18 shi-vaid-dead.html                         Revelation Dies at 63                      By Clay Risen                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/world/a Army of Women Works to Bridge Health
2022-05-17   2022-05-18 sia/india-asha-health.html                 Care Gap in India                          By Sameer Yasir                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/world/a Sri Lanka All but Out of Fuel as Crisis
2022-05-17   2022-05-18 sia/sri-lanka-fuel-economic-crisis.html    Deepens                                    By Mujib Mashal                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/world/c Polls Show Canadians Dont Want a New
2022-05-17   2022-05-18 anada/prince-charles-canada-visit.html     King                                       By Ian Austen                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/world/e A Semblance of Life Returns to a Killing
2022-05-17   2022-05-18 urope/bucha-ukraine-russia.html            Ground                                     By Jane Arraf                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/world/e Spain Could Grant Paid Time Off for Women
2022-05-17   2022-05-18 urope/spain-period-paid-leave.html         With Severe Period Symptoms                By Raphael Minder                     TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/17/world/e EU Balks as Britain Threatens to Upend        By Mark Landler and Stephen
2022-05-17   2022-05-18 urope/uk-eu-northern-ireland-protocol.html Northern Ireland Trade Rules                  Castle                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/world/e                                               By Valerie Hopkins Marc Santora
                        urope/ukraine-mariupol-fighters-                                                         Ivan Nechepurenko and Rick
2022-05-17   2022-05-18 surrender.html                               Ukraine Ends Its Last Stand At Steel Plant  Gladstone                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/world/e With Ukraine Taking Firmer Stance Peace       By Anton Troianovski and Valerie
2022-05-17   2022-05-18 urope/ukraine-russia-peace-talks.html        Talks With Russia Grind to a Halt           Hopkins                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/world/ Hezbollah Bloc Loses Majority in Lebanon
2022-05-17   2022-05-18 middleeast/lebanon-election-hezbollah.html Independents Gain                             By Ben Hubbard                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/nyregio Correction Dept Failed To Give Care Judge
2022-05-18   2022-05-18 n/nyc-correction-department-rikers.html      Says                                        By Jan Ransom                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/theater/ Miscues and Muddled Communication in a
2022-05-18   2022-05-18 golden-shield-review.html                    Legal Drama                                 By Elisabeth Vincentelli           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/us/polit Election Denier Wins Republican Primary for By Shane Goldmacher and Trip
2022-05-18   2022-05-18 ics/gop-senate-primary-pa.html               Pennsylvania Governor                       Gabriel                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/us/polit
2022-05-18   2022-05-18 ics/gun-manufacturing-atf.html               Firearms Production Tripled in 20 Years     By Glenn Thrush                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/busines
2022-05-18   2022-05-18 s/russia-energy-oil-gazprom-lng.html         Russia Faces Long Retreat For Energy        By Stanley Reed                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/sports/n
                        ba-western-conference-golden-state-warriors- Obstacle Named Doncic Could Stop Quest for
2022-05-18   2022-05-18 dallas-mavericks.html                        a Legacy                                    By Tania Ganguli                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/style/lo
2022-05-13   2022-05-19 uis-vuitton-cruise-2022-san-diego.html       Clad for a Desert Rave After the Apocalypse By Vanessa Friedman                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/style/tik
2022-05-16   2022-05-19 tok-nuns-sisters.html                        Living and Sharing the ConventLife          By Anna Furman                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/arts/des
                        ign/indianapolis-museum-colette-pierce-      Indianapolis Arts Center Announces New
2022-05-17   2022-05-19 burnette.html                                Leadership                                  By Zachary Small                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/arts/mu
2022-05-17   2022-05-19 sic/for-the-birds-birdsong.html              A Hopeful Chorus Inspired By Chirping       By Grayson Haver Currin            TX 9-172-761   2022-07-01




                                                                                Page 3766 of 5793
                        https://www.nytimes.com/2022/05/17/style/gu
2022-05-17   2022-05-19 cci-cruise.html                              Gucci Aligns Its Stars To Twinkle Brightly By Vanessa Friedman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/style/st The Sisterhood of the Traveling Stanley
2022-05-17   2022-05-19 anley-tumbler.html                           Tumbler                                    By Danya Issawi                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/arts/tele
                        vision/christian-cooper-central-park-        A Birder Is Back in the Public Eye on His
2022-05-18   2022-05-19 birder.html                                  Terms                                      By Colin Moynihan                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/busines Omicron Fueled Dip in Economy And Japan
2022-05-18   2022-05-19 s/japan-economy-covid.html                   Lost Its Momentum                          By Ben Dooley and Hisako Ueno TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/18/arts/dan
                        ce/review-stephen-petronio-company-joyce-
2022-05-18   2022-05-19 theater.html                                 Back at the Joyce Connecting Again         By Brian Seibert                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/arts/mu
                        sic/porridge-radio-waterslide-diving-board-
2022-05-18   2022-05-19 ladder-to-the-sky.html                       Amid All the Chaos Theres Catharsis        By Jon Pareles                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/arts/rin Ringling Returns Without The Roar Of
2022-05-18   2022-05-19 gling-circus-returning.html                  Animals                                    By Sarah Maslin Nir              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/arts/tele
2022-05-18   2022-05-19 vision/comedy-director-marty-callner.html    Directing His Way Straight Up              By Jason Zinoman                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/arts/tele Psychedelic Brainwashing and a Missing
2022-05-18   2022-05-19 vision/the-ipcress-file-review.html          Physicist                                  By Mike Hale                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/books/c
2022-05-18   2022-05-19 olin-kaepernick-memoir.html                  Football Player Activist And Now Memoirist By Elizabeth A Harris            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/books/r
                        eview-atoms-ashes-nuclear-disasters-serhii- Chilling Tales of Blasts Fallout and
2022-05-18   2022-05-19 plokhy.html                                  Meltdowns                                  By Jennifer Szalai               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/busines
2022-05-18   2022-05-19 s/china-internet-censors-ip-address.html     Locations of Critics Are Posted in China   By Joy Dong                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/busines Cement Giant To Face Charges It Had
2022-05-18   2022-05-19 s/lafarge-human-rights-violations.html       Terrorists Protect Plant                   By Liz Alderman                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/busines
2022-05-18   2022-05-19 s/stocks-market-retailers-inflation.html     Rout Resumes as Retailers Profits Shrink   By Coral Murphy Marcos           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/busines Targets Shares Plunge After Inflation Takes
2022-05-18   2022-05-19 s/target-inflation-earnings.html             Big Bite Out of Quarterly Profits          By Marie Solis                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/busines Sustainability Index Drops Tesla and Musk
2022-05-18   2022-05-19 s/tesla-esg-index-musk.html                  Issues Insult                              By Jack Ewing and Stephen Gandel TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/busines Britain Faces 9 Inflation Highest Rate In 40
2022-05-18   2022-05-19 s/uk-inflation-economy.html                  Years                                      By Eshe Nelson                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/climate Climate Offsets Make You Feel Good but Do
2022-05-18   2022-05-19 /offset-carbon-footprint-air-travel.html     They Do Good                               By Maggie Astor                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/health/c Officials Debate Pairing Flu and Covid
2022-05-18   2022-05-19 ovid-vaccine-flu-omicron.html                Vaccines                                   By Apoorva Mandavilli            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/health/l For Most Americans No Hospitalization
2022-05-18   2022-05-19 ong-covid-hospitalization.html               Before Long Covid                          By Pam Belluck                   TX 9-172-761   2022-07-01




                                                                               Page 3767 of 5793
                        https://www.nytimes.com/2022/05/18/health/ A Man in Massachusetts Is Infected With
2022-05-18   2022-05-19 massachusetts-monkeypox.html               Monkeypox                                  By Apoorva Mandavilli           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/nyregio Adams Resists Reinstating Mask Orders as
2022-05-18   2022-05-19 n/adams-mask-mandate-covid.html            Cases Rise                                 By Emma G Fitzsimmons           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/nyregio Hochul Vows Crackdown on Extremist Acts By Jesse McKinley Jonah E
2022-05-18   2022-05-19 n/buffalo-shooting-hochul.html             of Violence in New York                    Bromwich and Luis FerrSadurn    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/nyregio Adams Endorsed Police Tool as Ally Was     By Michael Rothfeld William K
2022-05-18   2022-05-19 n/eric-adams-frank-carone-bolawrap.html    Investing in Its Maker                     Rashbaum and Dana Rubinstein    TX 9-172-761   2022-07-01
                                                                   For Governor Shooting Is a Hometown
                        https://www.nytimes.com/2022/05/18/nyregio Tragedy But It Also Offers a Chance to     By Luis FerrSadurn and Grace
2022-05-18   2022-05-19 n/hochul-buffalo-shooting.html             Engage With Voters                         Ashford                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/nyregio 70 Judges Took Retreat Then Covid Infected
2022-05-18   2022-05-19 n/ny-judges-covid-montauk-retreat.html     20                                         By Jonah E Bromwich             TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/18/opinion
2022-05-18   2022-05-19 /doug-mastriano-republicans-constitution.html Americas Doug Mastriano Problem            By Ross Douthat              TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/18/opinion Baby Formula Saves Lives Why Are We
2022-05-18   2022-05-19 /formula-shortage-breastfeeding-mothers.html Shaming Mothers for Using It                  By Elizabeth Spiers        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/opinion
2022-05-18   2022-05-19 /madison-cawthorn-republicans.html           The Cawthorn Show Is Over                     By Michelle Cottle         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/sports/b
2022-05-18   2022-05-19 aseball/mark-canha-mets.html                 A New Mets Outfielder Enjoys the Perks        By Gary Phillips           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/sports/b
                        asketball/nba-boston-celtics-miami-heat-pj- Stat Sheets Dont Tell the Full Story of Miamis
2022-05-18   2022-05-19 tucker.html                                  Wrecking Ball                                 By Scott Cacciola          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/sports/g Muttering Less and Smiling More Spieth
2022-05-18   2022-05-19 olf/jordan-spieth-pga-championship.html      Aims for Career Grand Slam                    By Bill Pennington         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/sports/g
2022-05-18   2022-05-19 olf/rich-beem-pga-championship.html          A champion looks back                         By Michael Arkush          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/sports/g
                        olf/southern-hills-country-club-pga-
2022-05-18   2022-05-19 championship.html                            The scramble at Southern Hills                By Paul Sullivan           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/sports/g
2022-05-18   2022-05-19 olf/wanamaker-trophy-history.html            He lost the Wanamaker Trophy Oops             By John Clarke             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/sports/r Ray Scott Creator of the Super Bowl of Bass
2022-05-18   2022-05-19 ay-scott-dead.html                           Fishing Is Dead at 88                         By Richard Sandomir        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/sports/s How US Soccer and Its Players Solved the
2022-05-18   2022-05-19 occer/soccer-equal-pay-explained.html        Equal Pay Puzzle                              By Andrew Das              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/sports/s For US Soccer Landmark Deal For Pay
2022-05-18   2022-05-19 occer/us-soccer-equal-pay-deal.html          Equality                                      By Andrew Das              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/style/ze
2022-05-18   2022-05-19 ro-bond-scott-sartiano.html                  The Man Behind the Hottest Hot Spot           By Alex Williams           TX 9-172-761   2022-07-01




                                                                                 Page 3768 of 5793
                        https://www.nytimes.com/2022/05/18/technol                                           By David YaffeBellany and Erin
2022-05-18   2022-05-19 ogy/terra-luna-cryptocurrency-do-kwon.html Trash Talk Cant Save Crypto Fund          Griffith                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/theater/ Hey Sweet Caroline Youre Heading to
2022-05-18   2022-05-19 neil-diamond-musical-broadway.html          Broadway                                 By Michael Paulson                 TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/18/us/arch 1215 Million Settlement In Clergy Sex Abuse
2022-05-18   2022-05-19 diocese-santa-fe-bankruptcy-settlement.html Case                                       By Johnny Diaz                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/colo Flowers Flames Open Skies One Mans Ideal
2022-05-18   2022-05-19 rado-funeral-pyre.html                      Farewell                                   By Ruth Graham                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/husb She Wrote How to Murder Your Husband
2022-05-18   2022-05-19 and-murder-trial-nancy-brophy.html          Now Shes Accused of Doing It               By Mike Baker                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/john- John L Canley 84 Veteran Awarded A Medal
2022-05-18   2022-05-19 canley-dead.html                            of Honor for His Vietnam Valor             By Sam Roberts                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/kans Kansas Court Authorizes Partisan Map From
2022-05-18   2022-05-19 as-supreme-court-redistricting.html         GOP                                        By Michael Wines                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/polit Why a Senator From Connecticut Remains
2022-05-18   2022-05-19 ics/chris-murphy-gun-control.html           Hopeful on Gun Control                     By Annie Karni                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/polit Administration Urged to Grant Federal
2022-05-18   2022-05-19 ics/justice-department-abortion.html        Workers Leave for OutofState Abortions     By Katie Benner                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/polit Republican Establishment Gets Rare Primary
2022-05-18   2022-05-19 ics/madison-cawthorn-loss.html              Victory                                    By Jazmine Ulloa                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/polit
                        ics/midterms-trump-2020-election-
2022-05-18   2022-05-19 deniers.html                                In Primaries GOP Voters Reward a Lie       By Reid J Epstein                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/polit 5 Primary Takeaways Election Deniers Win
2022-05-18   2022-05-19 ics/pa-nc-primary-takeaways.html            Yet Trumpism Wavers                        By Reid J Epstein                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/polit G7 Leaders Ponder Economic Costs of        By Alan Rappeport and Patricia
2022-05-18   2022-05-19 ics/russia-finance-ministers-economy.html   Isolating Russia                           Cohen                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/polit Group Seeks to Have Cruz Disbarred Over
2022-05-18   2022-05-19 ics/ted-cruz-disbarment-2020-election.html Efforts to Overturn 2020 Election           By Maggie Haberman               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/polit Primaries Show Limits and Depths of Trumps By Michael C Bender and Maggie
2022-05-18   2022-05-19 ics/trump-gop-base-primaries.html           Power Over GOP Base                        Haberman                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/polit                                            By Sharon LaFraniere Michael D
2022-05-18   2022-05-19 ics/white-house-covid-briefing.html         Masks Advised For 32 in US As Covid Soars Shear and Sheryl Gay Stolberg     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/tho ExOfficer Pleads Guilty To Charge In Floyd
2022-05-18   2022-05-19 mas-lane-george-floyd.html                  Case                                       By Christine Hauser              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/world/a Rare Carnivorous Plant In Cambodia Is
2022-05-18   2022-05-19 sia/cambodian-plant-video.html              Facing A New Danger Selfies                By Richard C Paddock             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/world/a North Korea Hailing Chinas Success Risks
2022-05-18   2022-05-19 sia/north-korea-covid-china.html            Covid Disaster                             By Choe SangHun                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/world/e
2022-05-18   2022-05-19 urope/kharkiv-ukraine-russia-photos.html    In Kharkiv Lives Left in Ruin              By Finbarr OReilly               TX 9-172-761   2022-07-01




                                                                               Page 3769 of 5793
                                                                                                                 By Valerie Hopkins Neil
                        https://www.nytimes.com/2022/05/18/world/e Russia Exploits Capture Of Ukrainians to      MacFarquhar Ivan Nechepurenko
2022-05-18   2022-05-19 urope/russia-ukraine-captives.html          Push False Terrorism Claims                  and Michael Levenson             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/world/e Strongmen in Turkey and Hungary Stall Unity By Steven Erlanger and Matina
2022-05-18   2022-05-19 urope/sweden-finland-nato-turkey-oil.html   in NATO and EU                               StevisGridneff                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/world/e Lawmaker In UK Said To Be Held In Rape
2022-05-18   2022-05-19 urope/uk-mp-arrest-rape-allegations.html    Case                                         By Megan Specia                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/world/e Dire Injuries and Not Enough Doctors in       By Michael Schwirtz and Lynsey
2022-05-18   2022-05-19 urope/ukraine-russia-war-doctors.html       Ukraine                                      Addario                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/opinion
2022-05-19   2022-05-19 /buffalo-shooting-gun-control.html          No Gun No Massacre                           By Gail Collins                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/sports/s
                        eville-soccer-fans-travel-europa-league-
2022-05-19   2022-05-19 final.html                                  The Invasion of Seville                      By Rory Smith and Laura Len      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/polit Biden Invokes Defense Powers in an Effort to By Annie Karni and Emily
2022-05-19   2022-05-19 ics/biden-baby-formula-shortage.html        Ease the Formula Shortage                    Cochrane                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/us/polit Partisan House Vote Sets Sights on Domestic
2022-05-19   2022-05-19 ics/house-domestic-terrorism-vote.html      Terrorism                                    By Catie Edmondson               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/busines                                               By Patricia Cohen and Valeriya
2022-05-19   2022-05-19 s/economy/russia-economy.html               For Russia Dim Outlook On Economy            Safronova                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/insider/
2022-05-19   2022-05-19 journalist-interview-reporting.html         The Many Versions of Hello                   By Callie Holtermann             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/opinion
2022-05-19   2022-05-19 /russia-fascism-ukraine-putin.html          Why It Matters That Russia Is Fascist        By Timothy Snyder                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/style/a
2022-05-19   2022-05-19 mber-heard-johnny-depp-clothes.html         Parsing a Costume Drama                      By Vanessa Friedman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/style/e A Store Thats a Springboard for Whos Next
2022-05-19   2022-05-19 mma-rogue-fashion-vintage.html              Up                                           By Jon Caramanica                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/style/ga
2022-05-19   2022-05-19 nni-girls.html                              Ganni Girls Like to Have Fun                 By Jessica Iredale               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/world/a An Indian State Banned Alcohol The Party      By Mujib Mashal and Bhadra
2022-05-19   2022-05-19 sia/nepal-india-bihar-alcohol.html          Moved Next Door                              Sharma                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/14/books/s
2022-05-14   2022-05-20 imon-kuper-book-oxford.html                 An Outsiders Inside Look at Oxford Chums By David Segal                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/movies/ Diamond Hands The Legend Of
2022-05-16   2022-05-20 diamond-hands-wallstreetbets-review.html    WallStreetBets                               By Teo Bugbee                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/arts/des
                        ign/veronica-ryans-artist-paula-cooper-
2022-05-18   2022-05-20 whitney-turner.html                         Making Sense of the World With the Uncanny By Siddhartha Mitter               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/arts/mu Rosmarie Trapp 93 Singer Whose Familys
2022-05-18   2022-05-20 sic/rosmarie-trapp-dead.html                Back Story Fueled The Sound of Music         By Neil Genzlinger               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/busines
2022-05-18   2022-05-20 s/sec-jury-trial-judge.html                 Court Rules Against an SEC Policy            By Matthew Goldstein             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/movies/
2022-05-18   2022-05-20 a-perfect-pairing-review.html               A Perfect Pairing                            By Glenn Kenny                   TX 9-172-761   2022-07-01



                                                                                Page 3770 of 5793
                        https://www.nytimes.com/2022/05/18/movies/
2022-05-18   2022-05-20 nuri-bilge-ceylan-distant.html             A Bumpkin a Grouch And Plenty of Angst     By J Hoberman                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/opinion
2022-05-18   2022-05-20 /amber-heard-metoo.html                    Amber Heard and the Death of MeToo         By Michelle Goldberg         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/opinion
                        /john-fetterman-pennsylvania-democratic-
2022-05-18   2022-05-20 party.html                                 Is This Man the Democrats Future           By Michael Sokolove          TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/18/your- Amateur Investors Rode the Bull but Now the
2022-05-18   2022-05-20 money/stock-market-crash-trading-retail.html Bear Is Near                            By Tara Siegel Bernard        TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/18/arts/des
2022-05-19   2022-05-20 ign/basquiat-phillips-contemporary-sale.html Basquiat Work Takes Top Bid               By Scott Reyburn            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/nyregio Dispatcher in Buffalo Could Be Fired Over
2022-05-19   2022-05-20 n/buffalo-shooting-911-dispatcher.html       Claim She Hung Up on 911 Call             By Ed Shanahan              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/arts/dan
2022-05-19   2022-05-20 ce/donna-uchizono-review.html                Seeking a Hero and Connection             By Gia Kourlas              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/arts/des
2022-05-19   2022-05-20 ign/6-art-fairs-nyc.html                     Favorite Satellite Art Fairs This Weekend By Rachel Sherman           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/arts/des
2022-05-19   2022-05-20 ign/frieze-art-fair-the-shed.html            Where Smaller Is Still Beautiful          By Roberta Smith            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/arts/des
2022-05-19   2022-05-20 ign/movie-bruce-mau-design.html              For Bruce Mau Designs Spawn Solutions     By Joseph Giovannini        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/arts/mu Alexander Toradze Pianist Who Eluded KGB
2022-05-19   2022-05-20 sic/alexander-toradze-dead.html              and Critics Dies at 69                    By Vivien Schweitzer        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/arts/mu
2022-05-19   2022-05-20 sic/miguel-zenon-el-arte-del-bolero.html     He Takes Bolero For a Jazzy Spin          By Ed Morales               TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/19/arts/tele
2022-05-19   2022-05-20 vision/david-fincher-love-death-robots.html An AList Director Tries A Medium He Loves By Noel Murray               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/arts/tele
                        vision/george-carlin-documentary-the-
2022-05-19   2022-05-20 porter.html                                  This Weekend I Have                      By Margaret Lyons            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/books/e Elspeth Barker 81 Whose Single Novel In
2022-05-19   2022-05-20 lspeth-barker-dead.html                      1991 Left Admirers Pining for Another    By Clay Risen                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/busines
2022-05-19   2022-05-20 s/california-board-diversity-women.html      California Diversity Law Is Struck Down  By Alisha Haridasani Gupta   TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/19/busines
2022-05-19   2022-05-20 s/economy/older-workers-labor-force.html   Reaching the Age Of Unretirement           By Ben Casselman             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/busines
2022-05-19   2022-05-20 s/twitter-content-moderation.html          Twitter Expands Rules on Content           By Kate Conger               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/busines
2022-05-19   2022-05-20 s/wells-fargo-fake-interviews.html         Banks Effort On Diversity Just on Paper    By Emily Flitter             TX 9-172-761   2022-07-01




                                                                                Page 3771 of 5793
                        https://www.nytimes.com/2022/05/19/health/ CDC Advises Pfizer Boosters for Children 5
2022-05-19   2022-05-20 pfizer-vaccine-booster-kids.html           to 11                                        By Apoorva Mandavilli        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/health/ FentanylLaced Pills Bought Online Cause
2022-05-19   2022-05-20 pills-fentanyl-social-media.html           Youth Deaths to Soar                         By Jan Hoffman               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/
2022-05-19   2022-05-20 a-new-old-play-review.html                 A New Old Play                               By Austin Considine          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/
2022-05-19   2022-05-20 cane-fire-review.html                      Cane Fire                                    By Teo Bugbee                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/
                        cannes-film-festival-2022-top-gun-
2022-05-19   2022-05-20 maverick.html                              Cannes Roars Back With Politics In the Mix   By Manohla Dargis            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/
2022-05-19   2022-05-20 chip-n-dale-rescue-rangers-review.html     Chip n Dale Rescue Rangers                   By Calum Marsh               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/
2022-05-19   2022-05-20 cordelia-review-going-underground.html     Cordelia                                     By Jeannette Catsoulis       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/
2022-05-19   2022-05-20 deception-review.html                      Deception                                    By Beatrice Loayza           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/
2022-05-19   2022-05-20 digger-review.html                         Digger                                       By Beatrice Loayza           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/
2022-05-19   2022-05-20 downton-abbey-a-new-era-review.html        The Mortar Begins to Crack                   By Amy Nicholson             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/
2022-05-19   2022-05-20 emergency-review.html                      Emergency                                    By Lisa Kennedy              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/
2022-05-19   2022-05-20 fire-in-the-mountains-review.html          Where Exhaustion Does Battle With Rage       By AO Scott                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/
2022-05-19   2022-05-20 hold-your-fire-review.html                 Hold Your Fire                               By Concepcin de Len          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/ The Male in Malevolent Ordinary or
2022-05-19   2022-05-20 men-review.html                            Supernatural                                 By AO Scott                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/
2022-05-19   2022-05-20 mondocane-review.html                      Mondocane                                    By Jeannette Catsoulis       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/
2022-05-19   2022-05-20 the-valet-review.html                      The Valet                                    By Beandrea July             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/movies/
2022-05-19   2022-05-20 torn-hearts-review.html                    Torn Hearts                                  By Lena Wilson               TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/19/nyregio Adams Resists New Mandates As Covid
2022-05-19   2022-05-20 n/adams-mask-mandate-covid-new-york.html Rises                                          By Emma G Fitzsimmons        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/nyregio Suspect in Buffalo Massacre Being Held       By Jesse McKinley and Lola
2022-05-19   2022-05-20 n/buffalo-shooting-suspect.html            Without Bail Appears in Court                Fadulu                       TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/19/nyregio Democrat Likens New York Maps to Jim
2022-05-19   2022-05-20 n/hakeem-jeffries-jim-crow-redistricting.html Crow Tactics                              By Nicholas Fandos           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/nyregio Ban Restored on Police Use of Holds That
2022-05-19   2022-05-20 n/nyc-diaphragm-law-police.html               Restrict Breathing                        By Ali Watkins               TX 9-172-761   2022-07-01



                                                                               Page 3772 of 5793
                        https://www.nytimes.com/2022/05/19/opinion Theres a Way for Democrats to Win the
2022-05-19   2022-05-20 /democrats-morality-wars.html               Morality Wars                                By David Brooks                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/19/opinion
2022-05-19   2022-05-20 /putin-russia-sanctions-ukraine.html        How the West Is Strangling Putins Economy    By Paul Krugman                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/19/science Ben Roy Mottelson 95 a NobelWinning
2022-05-19   2022-05-20 /ben-roy-mottelson-dead.html                Physicist                                    By Dylan Loeb McClain           TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/19/sports/b With a Home Run Trot the Mets Take
2022-05-19   2022-05-20 aseball/mets-cardinals.html                 Scherzers Injury in Stride                   By Tyler Kepner                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/19/sports/b
                        asketball/golden-state-dallas-mavericks-    Former Bust Becomes a Boon for Golden
2022-05-19   2022-05-20 andrew-wiggins.html                         State                                        By Tania Ganguli                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/19/sports/b
2022-05-19   2022-05-20 ig-wave-bodysurfing.html                    Riding 40Foot Waves Without a Surfboard      By Kelley Manley                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/19/sports/g
                        olf/tiger-woods-first-round-pga-
2022-05-19   2022-05-20 championship.html                           A Limping Woods Manages to Smile             By Bill Pennington              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/19/sports/h
                        orse-racing/preakness-stakes-picks-odds-
2022-05-19   2022-05-20 predictions.html                            Who Will Win                                 By Joe Drape and Melissa Hoppert TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/19/sports/s First Female Officials Named to Mens World
2022-05-19   2022-05-20 occer/qatar-world-cup-women-referees.html Cup                                             By Tariq Panja                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/19/sports/s US Firm Puts 380 Million Into a Piece of Real
2022-05-19   2022-05-20 occer/real-madrid-sixth-street-capital.html Madrid                                        By Tariq Panja                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/19/technol Gunmans Video Surfaces With Ads on
2022-05-19   2022-05-20 ogy/buffalo-shooting-facebook-ads.html      Facebook                                      By Ryan Mac                    TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/19/technol                                               By Ryan Mac Kellen Browning and
2022-05-19   2022-05-20 ogy/mass-shootings-livestream-online.html Livestreams Of Shootings Dont Vanish           Sheera Frenkel                  TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/19/technol
2022-05-19   2022-05-20 ogy/whatsapp-meta-commercial-services.html Meta Takes WhatsApp Commercial                By Mike Isaac                   TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/19/theater/
2022-05-19   2022-05-20 little-shop-of-horrors-40th-anniversary.html Its Still Alive The Plant That Ate the World By Sarah Bahr                  TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/19/us/2020 Routine Review of Census Finds Miscount in
2022-05-19   2022-05-20 census-miscount-states.html                  14 States but Wont Alter Data                By Michael Wines               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/19/us/dona Donald K Ross Public Interest Lawyer and
2022-05-19   2022-05-20 ld-k-ross-dead.html                          Philanthropist Dies at 78                    By Sam Roberts                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/19/us/migr Long Wait at Border For Pandemic Rules To
2022-05-19   2022-05-20 ants-border-title-42.html                    Finally Be Lifted                            By Miriam Jordan               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/19/us/okla Oklahoma Passes a Measure To Ban Abortion By Kate Zernike Mitch Smith and
2022-05-19   2022-05-20 homa-ban-abortions.html                      at Fertilization                             Luke Vander Ploeg              TX 9-172-761    2022-07-01




                                                                                 Page 3773 of 5793
                        https://www.nytimes.com/2022/05/19/us/polit
                        ics/baby-formula-production-white-          Baby Formula Shortage Will Extend Into June By Michael D Shear Christina
2022-05-19   2022-05-20 house.html                                  US Says                                     Jewett and Ana Swanson           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/us/polit Biden Promises to FastTrack Process So That
2022-05-19   2022-05-20 ics/biden-finland-sweden-nato.html          Finland and Sweden Can Join NATO            By David E Sanger                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/us/polit Jan 6 Panel Wants to Ask Republican About
2022-05-19   2022-05-20 ics/jan-6-committee-loudermilk.html         Tour                                        By Luke Broadwater               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/us/polit Key Witness in Durham Case Gives Details
2022-05-19   2022-05-20 ics/michael-sussmann-trial-durham.html      of 2016 Meeting                             By Katie Benner                  TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/19/us/polit Bruising Recount Possible in GOP Senate
2022-05-19   2022-05-20 ics/pennsylvania-election-mccormick-oz.html Race in Pennsylvania                         By Blake Hounshell              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/us/polit Scarred by Racist Past a Georgia County
2022-05-19   2022-05-20 ics/replacement-theory-georgia.html         Booms                                        By Jonathan Weisman             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/us/polit US Exploring Ways To Stifle Oil Revenue In By Edward Wong and Michael
2022-05-19   2022-05-20 ics/russia-ukraine-oil-sanctions.html       Russia Officials Say                         Crowley                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/us/polit Senators Approve 40 Billion More in Aid for By Catie Edmondson and Emily
2022-05-19   2022-05-20 ics/senate-passes-ukraine-aid.html          Kyiv by Wide Margin                          Cochrane                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/us/polit G7 Finance Ministers Optimistic Nations Will
2022-05-19   2022-05-20 ics/ukraine-aid-g7.html                     Come Through With Aid to Ukraine             By Alan Rappeport               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/us/texa A Rising Black Stars Advice for the GOP
2022-05-19   2022-05-20 s-republican-wesley-hunt.html               Value Diversity                              By J David Goodman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/us/us-
2022-05-19   2022-05-20 covid-deaths.html                           Covid19 Deaths in US Exceed One Million By Adeel Hassan                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/world/a A 17thCentury Judge Still Exerts Influence
2022-05-19   2022-05-20 sia/abortion-lord-matthew-hale.html         On Womens Rights                             By Amanda Taub                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/world/a Chinese Hackers Tried to Steal Russian        By Ronen Bergman and Kate
2022-05-19   2022-05-20 sia/china-hackers-russia.html               Defense Data Report Says                     Conger                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/world/a A Towns Covid Money Was Sent to One Man
2022-05-19   2022-05-20 sia/japan-covid-relief-funds-gambler.html   in Error He Gambled It Away                  By Hisako Ueno and Mike Ives    TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/19/world/a Wave of Independents Most of Them Women
2022-05-19   2022-05-20 ustralia/federal-election-independents.html Rises Over Australia                   By Damien Cave                        TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/19/world/e Germany Removes Privileges for Schrder a By Katrin Bennhold and
2022-05-19   2022-05-20 urope/gerhard-schroder-russia.html         Former Chancellor With Close Ties to Russia Christopher F Schuetze            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/world/e In Hungary Cheap Russian Oil Fuels           By Andrew Higgins and Benjamin
2022-05-19   2022-05-20 urope/hungary-russia-oil.html              RightWing Culture Wars                       Novak                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/world/e                                              By Marc Santora Ivan
                        urope/moscow-russifying-captured-          Russia Preparing to Annex Parts of Southeast Nechepurenko and Norimitsu
2022-05-19   2022-05-20 territory.html                             Ukraine                                      Onishi                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/world/e Spains ExKing Making Brief Return to
2022-05-19   2022-05-20 urope/spain-king-juan-carlos.html          Country                                      By Raphael Minder                TX 9-172-761   2022-07-01




                                                                                Page 3774 of 5793
                        https://www.nytimes.com/2022/05/19/world/e
                        urope/uk-covid-lockdown-parties-boris-      British Prime Minister Avoids Further Fines By Mark Landler and Stephen
2022-05-19   2022-05-20 johnson.html                                as the Police End a Lockdown Inquiry            Castle                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/world/e
2022-05-19   2022-05-20 urope/wagatha-christie-rooney-vardy.html    A Legal Whodunit on Instagram Grips Britain By Isabella Kwai                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/world/
                        middleeast/israel-opposition-parliament-
2022-05-19   2022-05-20 majority.html                               Coalition in Israel Shifts Closer to Collapsing By Patrick Kingsley         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/19/bus
                        iness/economy-news-stocks-inflation/spirit- Spirit Urges Shareholders To Spurn Bid From
2022-05-19   2022-05-20 airlines-jetblue-tender                     JetBlue                                         By Niraj Chokshi            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/arts/des Art Auction Sales Top 25 Billion Over Two
2022-05-20   2022-05-20 ign/spring-auction-sales-sothebys.html      Weeks as Records Tumble                         By Scott Reyburn            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/nyregio Officials Report Possible Case Of Monkeypox
2022-05-20   2022-05-20 n/monkeypox-case-ny.html                    in New York                                     By Joseph Goldstein         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/insider/
2022-05-20   2022-05-20 elon-musk-documentary.html                  Assembling Elon Musks Messaging                 By Emma Schwartz            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/movies/
2022-05-18   2022-05-21 pleasure-ninja-thyberg-sofia-kappel.html    The Business Of Pleasure                        By Beatrice Loayza          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/theater/ Deal Reached To Restrict Nondisclosure
2022-05-18   2022-05-21 broadway-nondisclosure-scott-rudin.html     Agreements                                      By Michael Paulson          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/theater/ Students in Detention Have Something to
2022-05-19   2022-05-21 exception-to-the-rule-review.html           Share                                           By Naveen Kumar             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/arts/des
                        ign/artist-lawsuit-manhattan-detention-     Artists Lawsuit Over Jail Demolition Is
2022-05-19   2022-05-21 complex.html                                Denied                                          By Zachary Small            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/arts/des
2022-05-19   2022-05-21 ign/frank-miller-presents-sin-city.html     Frank Miller Returns With the Old and New By George Gene Gustines           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/opinion
                        /environment/build-back-better-joe-
2022-05-19   2022-05-21 manchin.html                                Climate Inaction Is Costing Us                  By David WallaceWells       TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/19/sports/b He Retired in 1930 With How Many Hits
2022-05-19   2022-05-21 aseball/eddie-collins-albert-pujols-hits.html The Answer Is Tricky                     By Benjamin Hoffman              TX 9-172-761   2022-07-01
                                                                                                               By Yousur AlHlou Masha Froliak
                        https://www.nytimes.com/2022/05/19/world/e Russian Troops Executed A Group of          Evan Hill Malachy Browne and
2022-05-19   2022-05-21 urope/russia-bucha-ukraine-executions.html Ukrainian Men                               David Botti                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/world/e Ukraines Richest Man May Sell Superyacht
2022-05-19   2022-05-21 urope/ukrainian-oligarch-superyacht.html   Before It Sails                             By Michael Forsythe              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/us/prin After a Campus Uproar Princeton Seeks to
2022-05-20   2022-05-21 ceton-professor-joshua-katz.html           Fire A Tenured Professor                    By Anemona Hartocollis           TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/20/arts/des
2022-05-20   2022-05-21 ign/andy-warhol-museum-pop-district.html A Pop District Rises in Pittsburgh            By Colin Moynihan                TX 9-172-761   2022-07-01




                                                                               Page 3775 of 5793
                        https://www.nytimes.com/2022/05/20/arts/ital Italy Wants Ancient Statue Back From a US
2022-05-20   2022-05-21 y-statue-stolen.html                         Museum                                       By Elisabetta Povoledo            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/arts/ma Marshall Arisman 83 an Illustrator Of
2022-05-20   2022-05-21 rshall-arisman-dead.html                     Spiritual and Often Violent Work             By Annabelle Williams             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/arts/mu
2022-05-20   2022-05-21 sic/akhnaten-met-opera-review.html           A Portrait Of Power Is Revived               By Joshua Barone                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/arts/mu
2022-05-20   2022-05-21 sic/harry-styles-harrys-house-review.html    A Charismatic Star but Still a Dreamy Cipher By Lindsay Zoladz                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/arts/suz Suzi Gablik Art Critic and Author Who Took
2022-05-20   2022-05-21 i-gablik-dead.html                           Modernism to Task Dies at 87                 By Penelope Green                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/arts/tele
2022-05-20   2022-05-21 vision/sex-pistols-pistol.html               Capturing the Anarchy                        By Roslyn Sulcas                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/books/r
2022-05-20   2022-05-21 oger-angell-books.html                       Some of Angells Most Beloved Books           By Tina Jordan                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/busines
                        s/economy/baby-formula-shortage-                                                          By Julie Creswell and Madeleine
2022-05-20   2022-05-21 market.html                                  Formula Crisis Reveals Flaws In the Industry Ngo                               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/busines Bidens Curious Talking Point Lower Deficits By Talmon Joseph Smith and
2022-05-20   2022-05-21 s/economy/biden-deficits-inflation.html      Will Offer Inflation Relief                  Jeanna Smialek                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/busines
2022-05-20   2022-05-21 s/economy/g7-20-billion-ukraine.html         G7 Ministers Offer Round Of Financing        By Alan Rappeport                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/busines
2022-05-20   2022-05-21 s/elon-musk-twitter-takeover.html            Musks Wild Path To Closing Deals             By Lauren Hirsch                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/busines
                        s/media/karine-jean-pierre-press-            Meet a Groundbreaking Voice for the
2022-05-20   2022-05-21 secretary.html                               President                                    By Michael M Grynbaum             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/busines
                        s/media/white-house-press-secretary-flak-    The Traditional Press Secretary Flak Jacket
2022-05-20   2022-05-21 jacket.html                                  Gets a FashionForward Update                 By Michael M Grynbaum             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/busines Plunging Stocks Narrowly Evade Bear
2022-05-20   2022-05-21 s/stock-market-inflation.html                Territory                                    By Michael Corkery                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/busines Teslas Star Dims as Stock Plunges
2022-05-20   2022-05-21 s/tesla-stock-elon-musk.html                 Highlighting Risk                            By Jack Ewing                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/movies/
2022-05-20   2022-05-21 cyber-hell-review.html                       From Chat Room to Exploitation               By Natalia Winkelman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/nyregio Deacons Acts of Service Hailed as Buffalo
2022-05-20   2022-05-21 n/buffalo-shooting-victim-funeral.html       Holds First of Victims Funerals              By Troy Closson                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/nyregio De Blasio Will Run for Congress in Newly       By Nicholas Fandos and Dana
2022-05-20   2022-05-21 n/de-blasio-congress-running.html            Drawn District                               Rubinstein                        TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/20/nyregio Girl 11 Dies In Shooting In New York
2022-05-20   2022-05-21 n/nyc-11-year-old-shooting-gun-violence.html Suspect Is 15                               By Ali Watkins                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/nyregio Street Named for Confederate Officer Now
2022-05-20   2022-05-21 n/nyc-street-army-base-rename.html           Honors Brooklyn Hero                        By Karen Zraick                    TX 9-172-761   2022-07-01




                                                                                 Page 3776 of 5793
                        https://www.nytimes.com/2022/05/20/nyregio
                        n/nyc-subway-escalator-outage-181-             Bleak Choice at 181st Hoof It to Elevator or By Ashley Wong and Ta
2022-05-20   2022-05-21 street.html                                    Up Six Flights                               Kvetenadze                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/opinion
2022-05-20   2022-05-21 /abortion-doctor-pro-life.html                 When an Abortion Is ProLife                  By Matthew Loftus              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/opinion
2022-05-20   2022-05-21 /musk-twitter-buyout.html                      Elon Musk Chaos Monkey                       By Kara Swisher                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/sports/b Calm the Offense Anchor the Defense Thats
2022-05-20   2022-05-21 asketball/celtics-heat-game-2.html             the Point                                    By Sopan Deb                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/sports/g
                        olf/justin-thomas-has-something-to-prove-and-Thomas Has Something to Prove and a
2022-05-20   2022-05-21 a-chance-to-prove-it.html                      Chance to Prove It                           By Bill Pennington             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/sports/h
                        orse-racing/this-time-d-wayne-lukas-is-riding- The Old Coach Fits Pimlico Like a WellWorn
2022-05-20   2022-05-21 into-the-preakness-on-a-filly.html             Saddle                                       By Joe Drape                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/sports/r Roger Angell Who Wrote About Baseball
2022-05-20   2022-05-21 oger-angell-dead.html                          With Deep Passion Is Dead at 101             By Dwight Garner               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/sports/s
                        occer/lyon-barcelona-champions-league-final- As Champions League Changes Lyons
2022-05-20   2022-05-21 women.html                                     Women Bridge Eras                            By Rory Smith                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/sports/t
2022-05-20   2022-05-21 ennis/carlos-alcaraz-interview.html            Next up Carlos Alcaraz                       By Cindy Shmerler              TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/20/sports/t
2022-05-20   2022-05-21 ennis/coco-gauff-emma-raducanu-advice.html The challenge for young players                By Stuart Miller                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/sports/t
2022-05-20   2022-05-21 ennis/tennis-tiebreakers-tournaments.html    How do you break a tied set                  By Cindy Shmerler                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/sports/t Wimbledon Is Penalized for Ban on Russian
2022-05-20   2022-05-21 ennis/wimbledon-russia-ukraine-atp.html      and Belarusian Players                       By Christopher Clarey            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/technol
2022-05-20   2022-05-21 ogy/facebook-amazon-apple-markets.html       Big Tech Greets Markets Slide With a Shrug   By Tripp Mickle                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/theater/
2022-05-20   2022-05-21 volt-festival-karen-hartman-59e59.html       A Triple Play in the Big Leagues             By Alexis Soloski                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/todaysp As Kharkiv Regroups Russian Forces             By Carlotta Gall and Finbarr
2022-05-20   2022-05-21 aper/ukraine-kharkiv-russia.html             Entrench for More Combat                     OReilly                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/nort 1 Killed and 23 Injured as Tornado Tears       By Vimal Patel and Christopher
2022-05-20   2022-05-21 hern-michigan-tornado-gaylord.html           Through Northern Michigan                    Mele                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/polit This Is a War Sanders Targets Spending by
2022-05-20   2022-05-21 ics/bernie-sanders-aipac-super-pac.html      PAC Linked to ProIsrael Group                By Shane Goldmacher              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/polit CDC Urges a 2nd Booster For Anyone Age
2022-05-20   2022-05-21 ics/cdc-second-booster.html                  50 or Older                                  By Sharon LaFraniere             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/polit
                        ics/georgia-republican-primary-secretary-of- Trump Vendetta Against Georgia Election
2022-05-20   2022-05-21 state.html                                   Official Is on the Ballot                    By Maya King                     TX 9-172-761   2022-07-01




                                                                                 Page 3777 of 5793
                        https://www.nytimes.com/2022/05/20/us/polit In Emails Justices Wife Urged That Election
2022-05-20   2022-05-21 ics/ginni-thomas-election-trump.html         Be Overturned                                By Jo Becker and Danny Hakim      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/polit
                        ics/herschel-walker-raphael-warnock-race-    On the Issue of Race Walkers Ambivalence
2022-05-20   2022-05-21 georgia.html                                 Has Divided Voters in Georgia                By Jonathan Weisman               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/polit Trump Sent Notes About PostElection
2022-05-20   2022-05-21 ics/john-eastman-trump-jan-6.html            Strategy                                     By Luke Broadwater                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/polit Pentagon Spokesman to Join White House as
2022-05-20   2022-05-21 ics/john-kirby-pentagon-white-house.html     National Security Voice                      By Helene Cooper                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/polit McConnell Cites Ukraine Aid as Evidence of
2022-05-20   2022-05-21 ics/mitch-mcconnell-ukraine.html             a Shifting GOP                               By Catie Edmondson                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/polit A Historic Endorsement for US Commander
2022-05-20   2022-05-21 ics/pentagon-africa-command-langley.html     in Africa                                    By Eric Schmitt and Helene Cooper TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/polit Group Chat Linked to Trump Ally Shows
2022-05-20   2022-05-21 ics/roger-stone-jan-6.html                   Ties Among Jan 6 Figures                     By Alan Feuer                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/polit Progressive Squeaks By in Fierce House
2022-05-20   2022-05-21 ics/summer-lee-house-pa.html                 Primary in Pennsylvania                      By Katie Glueck                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/state- Weighing Troopers 4th Fatal Shooting         By Steve Eder David D Kirkpatrick
2022-05-20   2022-05-21 trooper-prosecutor.html                      ExBosss Wife                                 and Kim Barker                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/title- Judge Bars Biden Administration From         By Miriam Jordan and J David
2022-05-20   2022-05-21 42-border-migrants-court.html                Reopening Border to Asylum Seekers           Goodman                           TX 9-172-761   2022-07-01
                                                                                                                  By Danielle Ivory Robert Gebeloff
                                                                                                                  Brandon Dupr Cierra S Queen
                                                                                                                  Chloe Reynolds Yves De Jesus
                                                                                                                  Laney Pope Lauryn Higgins Jess
                        https://www.nytimes.com/2022/05/20/us/us- Covid Deaths Left Big Holes In the Hearts of Ruderman Bonnie G Wong Kristine
2022-05-20   2022-05-21 covid-deaths-impact.html                     Loved Ones All That Grief Is Taking a Toll White and Matt Craig                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/world/a A Dentist Steps Up to Fund Urgent Health
2022-05-20   2022-05-21 frica/somalia-free-ambulance.html            Care in Somalia                              By Abdi Latif Dahir               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/world/a As China Remains in Lockdown Some              By Vivian Wang and Alexandra
2022-05-20   2022-05-21 sia/china-lockdown-migration.html            Chinese Look for a Way Out                   Stevenson                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/world/a With Trip to South Korea And Japan Biden By Zolan KannoYoungs and Peter
2022-05-20   2022-05-21 sia/samsung-biden-asia-economy.html          Seeks To Repair Economic Ties                Baker                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/world/e Hearing for Prisoners in Russia a Place With a
2022-05-20   2022-05-21 urope/russia-azov-mariupol-trials.html       Grim Tradition of Show Trials                By Neil MacFarquhar               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/world/e US Supplier to Russias Military Braces for a
2022-05-20   2022-05-21 urope/russia-ukraine-arconic-samara.html     Complicated Exit                             By Max Fisher                     TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/20/world/e Pressure Mounts on Russia as the War Drags By Katrin Bennhold Matthew
2022-05-20   2022-05-21 urope/russia-ukraine-recruitment-finland.html On                                          Mpoke Bigg and Andrew E Kramer TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/20/world/e
                        urope/washington-eu-britain-northern-         Citing a Need for Unity US Tells Britain to
2022-05-20   2022-05-21 ireland.html                                  End Its Dispute With Europe                 By Mark Landler                TX 9-172-761      2022-07-01




                                                                                Page 3778 of 5793
                        https://www.nytimes.com/2022/05/20/world/ Chaos in Israel Opens the Door for Elections
2022-05-20   2022-05-21 middleeast/israel-coalition-netanyahu.html  and a Return to Power for Netanyahu            By Patrick Kingsley              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/your-
2022-05-20   2022-05-21 money/federal-health-insurance-glitch.html Costly Loophole in the Health Law               By Ann Carrns                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/science Two Years in the Works Boeings Starliner
2022-05-21   2022-05-21 /starliner-boeing-nasa-dock.html            Docks With the Space Station                   By Kenneth Chang                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/polit Giuliani Sits With Panel Investigating Capitol
2022-05-21   2022-05-21 ics/giuliani-jan-6-committee.html           Riot                                           By Luke Broadwater               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/polit
2022-05-21   2022-05-21 ics/pelosi-communion-abortion.html          Archbishop Bars Pelosi From Rite               By Annie Karni and Ruth Graham   TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/21/busines This year at Davos a referendum on Davos
2022-05-21   2022-05-21 s/dealbook/world-economic-forum-davos.html itself                                       By David Gelles                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/busines
                        s/energy-environment/daniel-yergin-agenda-
2022-05-21   2022-05-21 davos.html                                    Energy security is now an urgent issue    By Stanley Reed                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/busines
2022-05-21   2022-05-21 s/south-korea-recycling.html                  Where sustainability comes first          By David Belcher                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/busines
                        s/world-economic-forum-davos-
2022-05-21   2022-05-21 accomplish.html                               For the elite Yes But not only            By David Kaufman                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/nyregio Judge Approves New York House Map
2022-05-21   2022-05-21 n/redistrict-map-nadler-maloney.html          Cementing Chaos for Democrats             By Nicholas Fandos                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/03/29/books/r
                        eview/rebecca-scherm-house-between-earth-
2022-03-29   2022-05-22 moon.html                                     Views From Space                          By Sandra Newman                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/05/books/r
                        eview/challenging-denial-with-enduring-
2022-04-05   2022-05-22 images.html                                   AgitPop                                   By Caleb Crain                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/05/books/r
2022-04-05   2022-05-22 eview/memphis-tara-m-stringfellow.html        Amazing Grace                             By Kia Corthron                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/05/books/r
2022-04-05   2022-05-22 eview/tasha-brian-morton.html                 Helicopter Son                            By Dani Shapiro                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/12/books/r
                        eview/the-forever-prisoner-cathy-scott-clark-
2022-04-12   2022-05-22 adrian-levy.html                              Throwing Away the Key                     By Robert F Worth                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/17/books/r
                        eview/professor-of-apocalypse-jerry-z-
2022-04-17   2022-05-22 muller.html                                   Making Ideas Erotic                       By Mark Lilla                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/19/books/r
2022-04-19   2022-05-22 eview/mutinous-women-joan-dejean.html         Exile on Bourbon Street                   By Leslie Camhi                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/19/books/r
                        eview/stepping-back-from-the-ledge-laura-
2022-04-19   2022-05-22 trujillo.html                                 Ways of Healing                           By Michael Greenberg                TX 9-172-761   2022-07-01



                                                                                Page 3779 of 5793
                        https://www.nytimes.com/2022/04/21/books/r
                        eview/deborah-birx-silent-invasion-trump-
2022-04-21   2022-05-22 covid.html                                    A Doc and a Hard Place                    By David Quammen                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/travel/o A Woman Alone in Oman Three Weeks
2022-05-09   2022-05-22 man-road-trip.html                            Along the Arabian Coast                   By Noa Avishag Schnall          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/10/books/r
2022-05-10   2022-05-22 eview/fernanda-melchor-paradais.html          A Hell of Heaven                          By Justin Torres                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/11/books/a-
                        tiny-upward-shove-melissa-chadburn-acts-of-
                        service-lillian-fishman-sedating-elaine-dawn-
2022-05-11   2022-05-22 winter.html                                   Debut Novels                              By Erin Somers                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/12/books/r
2022-05-12   2022-05-22 eview/perfectly-pegasus-jessie-sima.html      Inside the list                           By Elisabeth Egan               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/arts/tele
2022-05-13   2022-05-22 vision/michael-che-snl-hbo.html               Forever Trying to Crack the Code          By Dave Itzkoff                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/13/nyregio Were All in the Mood for a Melody Once
2022-05-13   2022-05-22 n/piano-bars-new-york.html                    Again                                     By Julia Carmel                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/books/r
                        eview/camille-kouchner-the-familia-
2022-05-15   2022-05-22 grande.html                                   Under the Covers                          By Claire Berlinski             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/15/opinion Thomas Should Take a Long Look in the
2022-05-15   2022-05-22 /clarence-thomas-supreme-court.html           Mirror                                    By Jesse Wegman                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/magazi
2022-05-16   2022-05-22 ne/e-pimps-onlyfans.html                       Reach Out and Touch Someone              By Ezra Marcus                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/realesta That Summertime Lean With Room for a
2022-05-16   2022-05-22 te/shopping-for-adirondack-chairs.html        Cocktail                                  By Tim McKeough                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/arts/tele
2022-05-17   2022-05-22 vision/cristin-milioti-favorite-things.html   Cristin Milioti Sometimes Goes Solo       By Kathryn Shattuck             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/magazi
                        ne/antipsychotic-medications-mental-
2022-05-17   2022-05-22 health.html                                   Open Minds                                By Daniel Bergner               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/magazi
2022-05-17   2022-05-22 ne/how-to-use-a-dog-whistle.html              How to Use a Dog Whistle                  By Malia Wollan                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/magazi
                        ne/sexually-transmitted-infections-           Why Are Sexually Transmitted Infections
2022-05-17   2022-05-22 surging.html                                  Surging                                   By Kim Tingley                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/opinion
2022-05-17   2022-05-22 /crypto-crash-bitcoin.html                    Is Crypto Facing the Music                By Paul Krugman                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/opinion                                              By Patrick Healy and Adrian J
2022-05-17   2022-05-22 /republican-voters-senate.html                10 Republican Voters on Trumps Sway       Rivera                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/realesta
                        te/early-adopters-of-remote-work-they-moved-
2022-05-17   2022-05-22 upstate-before-covid.html                     Uprooting for a Simpler Life Takes Work   By Tim McKeough                 TX 9-172-761   2022-07-01




                                                                                 Page 3780 of 5793
                        https://www.nytimes.com/2022/05/17/t-
                        magazine/doug-aitken-wilderness-303-
2022-05-17   2022-05-22 gallery.html                                   Immersed in His Work and the Ocean          By Tom Delavan                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/t-          Still Mulling the Mullet After All These
2022-05-17   2022-05-22 magazine/mullets-hair-trend.html               Years                                       By Megan Bradley                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/theater/ A Veteran Actress Is Casting Herself In
2022-05-17   2022-05-22 lachanze-broadway-tony-nomination.html         Different Roles                             By Dodai Stewart                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/theater/
2022-05-17   2022-05-22 tony-awards-2022.html                          Its Time to Honor Ensembles                 By Laura CollinsHughes             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/magazi
2022-05-18   2022-05-22 ne/kim-kardashian-marilyn-monroe.html          Old Fashion                                 By BD McClay                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/magazi
2022-05-18   2022-05-22 ne/mamahuhu-life.html                          Mamahuhu                                    By Vanessa Hua                     TX 9-172-761   2022-07-01
                                                                       Friend To The Fish Salmon And Rice Are
                        https://www.nytimes.com/2022/05/18/magazi Perfect Partners In This Deliciously Simple
2022-05-18   2022-05-22 ne/salmon-rice.html                            Dish                                        By Eric Kim                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/movies/
2022-05-18   2022-05-22 bros-billy-eichner.html                        Being True to Gay Life in a RomCom          By Alexis Soloski                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/opinion
2022-05-18   2022-05-22 /formula-shortage.html                         Moms Need Formula and Better Laws           By Jessica Grose                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/realesta
                        te/catskill-ny-a-place-where-people-are-jazzed
2022-05-18   2022-05-22 about-making-art.html                          A Small Town Thats Serious About Its Art    By Karen Angel                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/realesta
2022-05-18   2022-05-22 te/honduras-house-hunting.html                 In ScubaDiving Haven a Pastel Palace Awaits By Alison Gregor                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/style/eil
                        een-myles-watches-over-an-ever-changing-
2022-05-18   2022-05-22 new-york.html                                  Ode to the Last Cherry Tree                 By Alex Vadukul                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/theater/
2022-05-18   2022-05-22 broadway-season-critics.html                   Against Many Odds Broadway Excelled         By Jesse Green and Maya Phillips   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/theater/
2022-05-18   2022-05-22 broadway-tonys.html                            Can You Believe That Were Here              By Michael Paulson                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/theater/
2022-05-18   2022-05-22 tony-awards-2022.html                          The Critics Ballot                          By Jesse Green                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/arts/mu
2022-05-19   2022-05-22 sic/opera-omar-rhiannon-giddens.html           An Opera Grows From Old Roots               By Brian Seibert                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/arts/mu
                        sic/samora-pinderhughes-grief-healing-
2022-05-19   2022-05-22 project.html                                   He Explores Incarceration in Song           By Giovanni Russonello             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/busines Stocks Have Been Falling Im Still Buying
2022-05-19   2022-05-22 s/stock-market-investors.html                  Steadily                                    By Jeff Sommer                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/nyregio Return to Office Try Explaining That to the
2022-05-19   2022-05-22 n/dog-rto.html                                 Dog                                         By John Leland                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/nyregio Traffic Safety Policies Epitomize Local
2022-05-19   2022-05-22 n/home-rule-nyc-speed-cameras.html             Control Battle                              By Winnie Hu                       TX 9-172-761   2022-07-01



                                                                                  Page 3781 of 5793
                        https://www.nytimes.com/2022/05/19/opinion The War in Ukraine Is Getting Complicated
2022-05-19   2022-05-22 /america-ukraine-war-support.html            and America Isnt Ready                      By The Editorial Board       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/opinion
2022-05-19   2022-05-22 /privacy-technology-data.html                We Must Take Back Our Privacy               By Zeynep Tufekci            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/opinion
                        /puerto-rico-supreme-court-social-
2022-05-19   2022-05-22 security.html                                Puerto Ricans Remain SecondClass Citizens   By Yarimar Bonilla           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/opinion
                        /sunday/buffalo-oprah-winfrey-tucker-
2022-05-19   2022-05-22 carlson.html                                 Oprah Knows What Tucker Doesnt              By Nicole Hemmer             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/realesta
2022-05-19   2022-05-22 te/home-equity-prices.html                   Theres Gold in Them Thar Homes              By Gregory Schmidt           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/style/op
2022-05-19   2022-05-22 en-relationship-social-qs.html               Open Dialogue                               By Philip Galanes            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/theater/                                              By Laura CollinsHughes and
2022-05-19   2022-05-22 broadway-set-design-tonys.html               These Plays They Have Set Appeal            Vincent Tullo                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/theater/ From College Kid To King of Pop In Record
2022-05-19   2022-05-22 myles-frost-mj-broadway.html                 Time                                        By Michael Paulson           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/interactive/2022/05/
2022-05-19   2022-05-22 19/magazine/kharkiv-siege.html               Surviving the Siege of Kharkiv              By James Verini              TX 9-172-761   2022-07-01

                        https://www.nytimes.com/interactive/2022/05/ A Second Bedroom on the Upper West Side
2022-05-19   2022-05-22 19/realestate/19hunt-cocozzo.html            for Under 800000 These Were Their Options By Joyce Cohen                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/arts/mu Bob Neuwirth 82 Singer Who Played Pivotal
2022-05-20   2022-05-22 sic/bob-neuwirth-dead.html                   Roles With Dylan and Joplin               By Neil Genzlinger             TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/20/arts/des
2022-05-20   2022-05-22 ign/de-kooning-getty-restoration-theft-art.html A Most Sacred or Sexist Canvas           By Jori Finkel               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/arts/mu
                        sic/vangelis-composer-best-known-for-           Vangelis 79 Composer Who Won an Oscar
2022-05-20   2022-05-22 chariots-of-fire-dies-at-79.html                for Chariots of Fire Score Dies          By Richard Sandomir          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/arts/tele
                        vision/stranger-things-duffer-brothers-season-
2022-05-20   2022-05-22 4.html                                          Stranger Things Returns With Big Plans   By Austin Considine          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/books/r
2022-05-20   2022-05-22 eview/either-or-elif-batuman.html               Sophomore Schlump                        By Maggie Shipstead          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/books/r
                        eview/mae-makes-a-way-the-true-story-of-
                        mae-reeves-hat-and-history-maker-
                        olugbemisola-rhuday-perkovich-andrea-
2022-05-20   2022-05-22 pippins.html                                    Hat Tricks                               By Alexandra Jacobs          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/books/r
2022-05-20   2022-05-22 eview/new-paperbacks.html                       Paperback Row                            By Miguel Salazar            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/books/r Robert Goolrick Who Wrote a Best Seller
2022-05-20   2022-05-22 obert-goolrick-dead.html                        Dies at 73                               By Richard Sandomir          TX 9-172-761   2022-07-01



                                                                                 Page 3782 of 5793
                        https://www.nytimes.com/2022/05/20/busines                                          By Julia Rothman and Shaina
2022-05-20   2022-05-22 s/clean-makeup-jones-road-milk.html        Clean Makeup in a Messy World            Feinberg                       TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/20/busines
2022-05-20   2022-05-22 s/media/tom-cruise-top-gun-maverick.html    The Last Movie Star                       By Nicole Sperling           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/busines Help With Medicare Costs What You Need to
2022-05-20   2022-05-22 s/medicare-retirement-health-care.html      Know                                      By Mark Miller               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/busines
                        s/roxane-gay-work-friend-beliefs-
2022-05-20   2022-05-22 colleague.html                              Red Flags or Just Different Beliefs       By Roxane Gay                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/magazi Is It OK to Display Sambo Figurines if
2022-05-20   2022-05-22 ne/ethics-racist-figurines.html             Nobody Black Will See Them                By Kwame Anthony Appiah      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/magazi
                        ne/poem-buried-in-a-human-neck-a-                                                     By Lyudmyla Khersonsky and
2022-05-20   2022-05-22 bullet.html                                 Buried In A Human Neck A Bullet           Victoria Chang               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/nyregio
2022-05-20   2022-05-22 n/nopalera-sandra-velasquez.html            A Cemetery Stroll and Her Success Squad   By Kaya Laterman             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/nyregio To Be Gifted a Child Needs a Reference and
2022-05-20   2022-05-22 n/nyc-gifted-and-talented.html              Some Luck                                 By Ginia Bellafante          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/opinion
                        /johnny-depp-amber-heard-social-media-
2022-05-20   2022-05-22 sexism.html                                 Amber Heards Humiliation                  By Jessica Bennett           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/opinion
2022-05-20   2022-05-22 /republicans-trump-elections.html           Its Trumps Party Hell Lie if He Wants To  By Jamelle Bouie             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/realesta
2022-05-20   2022-05-22 te/open-houses-stealing-theft.html          Open Houses Can Attract Sticky Fingers    By Alix Strauss              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/realesta One of the Worlds Quietest Places Is in
2022-05-20   2022-05-22 te/pindrop-midtown-manhattan.html           Manhattan                                 By Ronda Kaysen              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/realesta
2022-05-20   2022-05-22 te/real-estate-listings-descriptions.html   A Stunning Home Well Thats a Stretch      By Joanne Kaufman            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/realesta
2022-05-20   2022-05-22 te/streetscapes-parkchester-bronx.html      An Art Legacy in Danger                   By John Freeman Gill         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/sports/b
2022-05-20   2022-05-22 asketball/steve-javie-nba.html              Who Referees The Referees On TV He Does By Sopan Deb                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/sports/s Fighting to Preserve Milans Iconic Soccer
2022-05-20   2022-05-22 occer/milan-inter-san-siro.html             Stadium                                   By Jack Williams             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/style/do
2022-05-20   2022-05-22 ug-lockwood-linda-murphy-wedding.html       Step by Step Embracing a Future Together  By Alix Wall                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/style/ha
                        nnah-margaret-allen-grant-schumacher-       Despite Appearances a Most Lively
2022-05-20   2022-05-22 wedding.html                                Celebration                               By Alix Strauss              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/style/lo
2022-05-20   2022-05-22 uis-vuitton-nike-virgil-abloh.html          Virgil Ablohs Dream Sneaker Times 47      By Jon Caramanica            TX 9-172-761   2022-07-01




                                                                              Page 3783 of 5793
                        https://www.nytimes.com/2022/05/20/style/mi
                        chael-grassi-matthew-mcconkey-              Bonding Over a Love of Cat Power and
2022-05-20   2022-05-22 wedding.html                                Senior Dogs                                 By Julia Carmel                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/style/m
                        odern-love-no-longer-my-mothers-
2022-05-20   2022-05-22 daughter.html                               No Longer My Mothers Daughter               By August Singer                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/style/m
                        osopefoluwa-ogundipe-iyanuoluwa-imoru-      Finally Crossing Paths Halfway Around the
2022-05-20   2022-05-22 wedding.html                                World                                       By Alix Wall                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/style/sh
2022-05-20   2022-05-22 aheen-butt-mina-im-wedding.html             Focusing on Their Careers and on Each Other By Elle Cashin                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/style/sh
2022-05-20   2022-05-22 ilpen-patel-yuming-chiu-wedding.html        A First Kiss With Something Extra           By Nina Reyes                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/us/lake- Parched Lake Mead Yields Bodies and Ghosts
2022-05-20   2022-05-22 mead-bodies-climate-change.html             of Old Las Vegas                            By Simon Romero                 TX 9-172-761   2022-07-01
                                                                                                                By Catherine Porter Constant
                        https://www.nytimes.com/2022/05/20/world/a                                              Mheut Matt Apuzzo and Selam
2022-05-20   2022-05-22 mericas/haiti-history-colonized-france.html A Land of Riches but Not for Its Own People Gebrekidan                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/world/a In Sri Lanka Scenes Of Chaos and Misery As
2022-05-20   2022-05-22 sia/sri-lanka-protests.html                 an Economy Sinks                            By Atul Loke and Mujib Mashal   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/busines Jack Welch and the Rise of CEOs Behaving
2022-05-21   2022-05-22 s/jack-welch-ge-ceo-behavior.html           Badly                                       By David Gelles                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/nyregio Hochuls Lt Governor Pick Identifies As       By Jeffery C Mays and Luis
2022-05-21   2022-05-22 n/antonio-delgado-afro-latino.html          AfroLatino Some Latinos Object              FerrSadurn                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/opinion
2022-05-21   2022-05-22 /johnny-depp-george-w-bush.html             Johnny Depp And Other Pirates               By Maureen Dowd                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/opinion
2022-05-21   2022-05-22 /long-covid-chronic-illness.html            How to Live With the Fear of Long Covid     By Ross Douthat                 TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/21/realesta How Would an Eviction Bill Affect Renters
2022-05-21   2022-05-22 te/good-cause-eviction-renters-new-york.html and Landlords                                By Ronda Kaysen               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/sports/b
                        asketball/kevon-looney-golden-state-dallas- A Warrior Picks A Very Good Time To Play
2022-05-21   2022-05-22 mavericks.html                               His Best Game                                By Tania Ganguli              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/sports/h Early Voting Wins the Preakness and
2022-05-21   2022-05-22 orse-racing/preakness-triple-crown.html      Epicenter Finishes Second Again              By Joe Drape                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/sports/s
2022-05-21   2022-05-22 occer/mbappe-psg-real-madrid.html            In an Upset Mbapp Stays With PSG             By Tariq Panja                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/sports/t At the French Open a Rising Star Threatens to
2022-05-21   2022-05-22 ennis/carlos-alcaraz-french-open.html        Crash the Party                              By Christopher Clarey         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/style/ba A LargerThanLife Look at a LargerThanLife
2022-05-21   2022-05-22 z-luhrmann-elvis.html                        Star                                         By Maureen Dowd               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/style/du
2022-05-21   2022-05-22 ngeons-and-dragons.html                      A Game Comes Up From Underground             By Amelia Diamond             TX 9-172-761   2022-07-01




                                                                                 Page 3784 of 5793
                        https://www.nytimes.com/2022/05/21/us/gayl 10 Seconds and Then It Was Gone Rare        By Luke Vander Ploeg and Mitch
2022-05-21   2022-05-22 ord-michigan-tornado.html                   Tornado Stuns Michigan Town                Smith                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/us/polit Bush Dynasty Pins Hope on Last Stand in
2022-05-21   2022-05-22 ics/george-bush-legacy-texas.html           Texas                                      By J David Goodman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/us/polit
                        ics/lucy-mcbath-carolyn-bourdeaux-          Two House Democrats Battle Over One
2022-05-21   2022-05-22 georgia.html                                District Redrawn Outside Atlanta           By Katie Glueck                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/us/polit Trumps Choice Runs Into Wall In Georgia    By Reid J Epstein and Shane
2022-05-21   2022-05-22 ics/perdue-kemp-georgia-trump.html          Race                                       Goldmacher                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/world/a
                        mericas/psychedelic-therapy-female-         Helping Female Veterans Heal With          By Ernesto Londoo and Meridith
2022-05-21   2022-05-22 veterans.html                               Psychedelics in Mexico                     Kohut                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/world/a Biden Restores Americas Strategy Toward the By Peter Baker and Zolan
2022-05-21   2022-05-22 sia/biden-south-korea-yoon.html             Korean Peninsula                           KannoYoungs                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/world/a Afghan Women Protest Taliban CoverUp        By David Zucchino Yaqoob Akbary
2022-05-21   2022-05-22 sia/taliban-afghanistan-women-hijab.html    Decree                                     and Kiana Hayeri                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/world/a
                        ustralia/anthony-albanese-australia-        Australian Voters Feeling Discontent Oust
2022-05-21   2022-05-22 election.html                               Prime Minister                             By Damien Cave                  TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/21/world/b Biden Signs 40 Billion Aid Bill as Calls Grow By Steven Erlanger Andrew E
2022-05-21   2022-05-22 iden-ukraine-zelensky-ceasefire-russia.html for a CeaseFire                              Kramer and Katrin Bennhold    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/world/e
                        urope/kirill-putin-russian-orthodox-        A Spiritual Ally Offering Cover For Putins
2022-05-21   2022-05-22 church.html                                 War                                          By Jason Horowitz             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/21/us/ Summer Isnt Here Yet But the Sweltering      By Sophie Kasakove and Rick
2022-05-21   2022-05-22 weather-east-coast-heat/heat-records        Heat Is Already Sweeping In                  Rojas                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/sports/g Woods Withdraws from PGA After Finishing
2022-05-22   2022-05-22 olf/tiger-woods-pga-championship.html       3rd Round Tied for Last                      By Bill Pennington            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/busines
2022-05-22   2022-05-22 s/hybrid-work-office.html                   The Fuzzy Math of Three Days in the Office By Emma Goldberg                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/busines
2022-05-22   2022-05-22 s/the-week-in-business-stocks.html          With Interest                                By Marie Solis                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/insider/
2022-05-22   2022-05-22 investigating-haitis-double-debt.html       Investigating Haitis Double Debt             By Emmett Lindner             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/style/pu
2022-05-22   2022-05-22 tting-on-the-fits.html                      Fashion Art And Aristocrats                  By Denny Lee                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/us/readi She Helped Transform Reading Lessons Now
2022-05-22   2022-05-22 ng-teaching-curriculum-phonics.html         Shes Backtracking                            By Dana Goldstein             TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/22/us/what-A Governor Is on Trumps Enemies List But
2022-05-22   2022-05-22 donald-trump-didnt-count-on-in-georgia.html Georgia GOP Says Hes One of Us             By Richard Fausset              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/06/arts/mu
2022-05-06   2022-05-23 sic/ibiza-clubs-opening.html                In Spain No Bars Holding Back              By Thomas Rogers                TX 9-172-761   2022-07-01




                                                                                Page 3785 of 5793
                        https://www.nytimes.com/2022/05/14/travel/l
2022-05-14   2022-05-23 oire-valley-france-things-to-do.html        New Escapes in Frances Loire Valley         By Lindsey Tramuta                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/arts/des
                        ign/lorraine-hansberry-statue-times-
2022-05-19   2022-05-23 square.html                                 Statue Honors a Pioneering Black Playwright By Sarah Bahr                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/health/ Kwaku OheneFrempong an Expert In Sickle
2022-05-19   2022-05-23 kwaku-ohene-frempong-dead.html              Cell Disease Is Dead at 76                  By Gina Kolata                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/sports/a Beautiful Extreme Vulnerable Where Climate
2022-05-19   2022-05-23 rctic-sports-climate-change.html            Is Defeating Sports                         By Jer Longman and Erin Schaff     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/busines Weak Euro Is Nearing Parity With The
2022-05-20   2022-05-23 s/economy/euro-dollar-usd.html              Dollar                                      By Eshe Nelson                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/busines After an InPerson Hiatus TVs Upfronts Were
2022-05-20   2022-05-23 s/media/tv-media-upfronts.html              Back and a Lot Has Changed                  By John Koblin and Tiffany Hsu     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/busines Former Power Rangers Actor Is Charged in
2022-05-20   2022-05-23 s/power-rangers-covid-relief.html           Covid Relief Fraud Scheme                   By Stacy Cowley                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/busines Labor Board Seeks Order On Union At
2022-05-20   2022-05-23 s/starbucks-union-buffalo.html              Starbucks                                   By Noam Scheiber                   TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/20/movies/
2022-05-20   2022-05-23 ukraine-filmmakers-war-sergei-loznitsa.html Suddenly a Flourish for Cinematic Ukraine      By Beatrice Loayza              TX 9-172-761   2022-07-01
                                                                                                                   By Matt Apuzzo Constant Mheut
                        https://www.nytimes.com/2022/05/20/world/f A Bank Created for Haiti Funneled Wealth to Selam Gebrekidan and Catherine
2022-05-20   2022-05-23 rench-banks-haiti-cic.html                      France                                     Porter                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/arts/tele Kenneth Welsh 80 Memorable Villain on the
2022-05-21   2022-05-23 vision/kenneth-welsh-dead.html                  Hit Twin Peaks Series                      By Jordan Allen                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/busines Robert J Vlasic Pickle Mogul Who Had Jokes
2022-05-21   2022-05-23 s/bob-vlasic-dead.html                          by the Jarful Dies at 96                   By Clay Risen                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/nyregio Frank Gilbert 91 Leader In Saving Grand
2022-05-21   2022-05-23 n/frank-gilbert-dead.html                       Central With Landmarks Law                 By Sam Roberts                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/opinion
2022-05-21   2022-05-23 /putin-nuclear-weapons.html                     We Must Prepare for Putins Worst Weapons By Mitt Romney                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/world/e
                        urope/tornado-germany-heat-wave-                Tornadoes Thrash Germany As Spain and
2022-05-21   2022-05-23 europe.html                                     France Bake                                By Isabella Kwai                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/21/us/
                        weather-east-coast-heat/the-largest-wildfire-in-
                        new-mexicos-history-is-among-several-           Largest Wildfire in New Mexicos History Is
2022-05-21   2022-05-23 scorching-the-southwestern-us                   One of Many Scorching the Southwest        By Simon Romero                 TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/22/arts/mu
2022-05-22   2022-05-23 sic/cleveland-orchestra-schubert-otello.html When Schubert Overshadows Otello       By Zachary Woolfe                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/arts/mu Basing One Composition On Two Multimedia
2022-05-22   2022-05-23 sic/henry-threadgill-review.html             Sets                                   By Seth Colter Walls                   TX 9-172-761   2022-07-01




                                                                                Page 3786 of 5793
                        https://www.nytimes.com/2022/05/22/arts/tele
                        vision/bill-cosby-civil-lawsuit-sexual-                                                    By Graham Bowley and Lauren
2022-05-22   2022-05-23 assault.html                                   Suit Against Cosby Is Heading to Trial      Herstik                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/arts/tele
                        vision/saturday-night-live-pete-davidson-kate- Season 47 of Saturday Night Live Ends On a
2022-05-22   2022-05-23 mckinnon.html                                  Valedictory Note                            By Dave Itzkoff                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/books/r
                        eview-secret-city-history-gay-washington-      An Epic Narrative of the Closeted in
2022-05-22   2022-05-23 james-kirchick.html                            Washington                                  By Alexandra Jacobs              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/busines
                        s/jared-kushner-steven-mnuchin-gulf-                                                       By Kate Kelly and David D
2022-05-22   2022-05-23 investments.html                               Quick Funding For Mnuchin And Kushner       Kirkpatrick                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/busines Former Star At CBS News Follows Path To
2022-05-22   2022-05-23 s/media/lara-logan-cbs-news.html               Far Right                                   By Jeremy W Peters               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/nyregio A New York County Contends With the             By Kimiko de FreytasTamura and
2022-05-22   2022-05-23 n/broome-county-buffalo-shooting.html          Roots of a Racist Massacre                  Chelsia Rose Marcius             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/nyregio Midday Subway Shooting Is Latest Shock to By Ashley Southall and Nate
2022-05-22   2022-05-23 n/nyc-subway-shooting.html                     City                                        Schweber                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/opinion I Left Lunch With Biden With a Full Stomach
2022-05-22   2022-05-23 /biden-trump-republicans-democrats.html        but a Heavy Heart                           By Thomas L Friedman             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/opinion
2022-05-22   2022-05-23 /langella-netflix-metoo.html                   When MeToo Cases Arent ClearCut             By Pamela Paul                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/opinion How My Father Ronald Reagan Grappled
2022-05-22   2022-05-23 /ronald-reagan-patti-davis-abortion.html       With Abortion                               By Patti Davis                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/sports/b A Baseball Superstition That Can Be Found
2022-05-22   2022-05-23 aseball/cologne-perfume.html                   in the Perfume Aisle                        By James Wagner                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/sports/b
2022-05-22   2022-05-23 aseball/paul-oneill-book.html                  The Voice of God on Hitting                 By Paul ONeill and Jack Curry    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/sports/b White Sox Call a Yankees Jackie Comments
2022-05-22   2022-05-23 aseball/tim-anderson-josh-donaldson.html       Racist                                      By Gary Phillips                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/sports/b
                        asketball/miami-heat-boston-celtics-game-      Celtics Stars Provide the Drama Heat Stars
2022-05-22   2022-05-23 3.html                                         Deliver the Win                             By Sopan Deb                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/sports/g
                        olf/justin-thomas-wins-pga-                    Trailing by 7 Thomas Roars Back to Win in a
2022-05-22   2022-05-23 championship.html                              Playoff                                     By Bill Pennington               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/sports/s
2022-05-22   2022-05-23 occer/premier-league-final-day.html            Man City Needs Victory and Barely Gets It By Rory Smith                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/sports/t Long Seen as a Future Star He Hopes His
2022-05-22   2022-05-23 ennis/felix-auger-aliassime.html               Time Is Now                                 By Matthew Futterman             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/sports/t As a 13Time Champion Now Injured and
2022-05-22   2022-05-23 ennis/rafael-nadal-french-open.html            Aging Nadal Is a Big Unknown                By Matthew Futterman             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/us/polit Candidate Spurned by Trump Has Resurgence
2022-05-22   2022-05-23 ics/alabama-senate-mo-brooks.html              in Alabama Senate Race                      By Trip Gabriel                  TX 9-172-761   2022-07-01




                                                                                 Page 3787 of 5793
                        https://www.nytimes.com/2022/05/22/us/polit
                        ics/democrats-georgia-warnock-abrams-       Democrats Fear Red Wave Will Be Hard to By Shane Goldmacher and Katie
2022-05-22   2022-05-23 biden.html                                  Escape                                        Glueck                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/us/sout Southern Baptist Leadership Accused of         By Ruth Graham and Elizabeth
2022-05-22   2022-05-23 hern-baptist-sex-abuse.html                 Ignoring Sex Abuse                            Dias                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/world/a Dozens Die as Floods Pound India and           By Karan Deep Singh and Saif
2022-05-22   2022-05-23 sia/flooding-india-bangladesh.html          Bangladesh                                    Hasnat                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/world/a                                                By Farnaz Fassihi and Adam
2022-05-22   2022-05-23 sia/iran-revolutionary-guard-killed.html    Revolutionary Guard Is Killed in Tehran       Nossiter                       TX 9-172-761   2022-07-01
                                                                    Biden Expresses Alarm as Cases of
                        https://www.nytimes.com/2022/05/22/world/a Monkeypox Continue to Rise Around the
2022-05-22   2022-05-23 sia/monkeypox-biden-concern.html            World                                         By Russell Goldman             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/world/a Australias Climate Election Is Finally Over Is
2022-05-22   2022-05-23 ustralia/election-albanese-climate.html     It a Chance for Growth                        By Damien Cave                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/world/e
                        urope/on-a-remote-mountain-the-sistine-     At Sistine Chapel of Socialism Reconciling
2022-05-22   2022-05-23 chapel-of-socialism-awaits-its-fate.html    Artistry With a Dark Past                     By Andrew Higgins              TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/22/world/e How Invaders Put Bucha Through 18 Days of By Carlotta Gall and Daniel
2022-05-22   2022-05-23 urope/ukraine-bucha-war-crimes-russia.html Horror                                       Berehulak                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/world/ Widening Repression Iran Brings Hammer
2022-05-22   2022-05-23 middleeast/iran-filmmakers.html              Down on Filmmakers                         By Emma Bubola                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/world/ Israeli Coalition Restores Its Majority In
2022-05-22   2022-05-23 middleeast/israel-government-crisis.html     Parliament but Fissures Remain             By Isabel Kershner               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/arts/tele
                        vision/tv-this-is-us-memorial-day-
2022-05-23   2022-05-23 concert.html                                 This Week on TV                            By Gabe Cohn                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/busines Small Group At Activision Could Set Off
2022-05-23   2022-05-23 s/activision-employees-union.html            Union Surge                                By Kellen Browning               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/sports/t Djokovic Leans Into the Storms Unbowed and
2022-05-23   2022-05-23 ennis/novak-djokovic-french-open-21.html     Revived                                    By Kurt Streeter                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/technol Bay Area Home Is a Hub for
2022-05-23   2022-05-23 ogy/russia-tech-engineers.html               RussianSpeaking Technologists              By Cade Metz                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/us/polit Pence Takes Early Steps Toward a Run in
2022-05-23   2022-05-23 ics/pence-trump-republicans-2024.html        2024 And Away From Trump                   By Jonathan Martin               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/world/a Biden to Begin New AsianPacific Economic By Peter Baker and Zolan
2022-05-23   2022-05-23 sia/biden-asian-pacific-bloc.html            Bloc With a Dozen Allies                   KannoYoungs                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/16/well/fa
                        mily/sudden-infant-death-syndrome-
2022-05-16   2022-05-24 study.html                                   Looking at an Enzyme For Answers to SIDS By Knvul Sheikh                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/science Gray Mourning All for One and One for All
2022-05-17   2022-05-24 /elephants-mourning-grief.html               Crowdsourcing Grieving Elephants           By Elizabeth Preston             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/science
2022-05-17   2022-05-24 /nasa-mars-insight-lander.html               After Recording Marsquakes a Mission Fades By Kenneth Chang                 TX 9-172-761   2022-07-01




                                                                                Page 3788 of 5793
                        https://www.nytimes.com/2022/05/17/science Tripod Tracks When Parrots Take a Walk
2022-05-17   2022-05-24 /parrots-three-limbs.html                   Theyre Not Copying Anyone                  By Veronique Greenwood          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/well/liv
2022-05-17   2022-05-24 e/how-to-wake-up-earlier.html               Can a Night Owl Become an Early Bird       By Anahad OConnor               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/science Rescue Party For a Mekong River Colossus A
2022-05-18   2022-05-24 /giant-freshwater-stingray.html             Little Help From Its Friends               By Jason Bittel                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/18/well/m
2022-05-18   2022-05-24 ove/how-to-master-the-push-up.html          Workouts Always at Your Fingertips         By Christie Aschwanden          TX 9-172-761   2022-07-01
                                                                    Exfoliants of the Sea Want to Have
                        https://www.nytimes.com/2022/05/19/science BabySmooth Skin DolphinSmooth May Be
2022-05-19   2022-05-24 /dolphin-skin-care.html                     Even Better                                By Carolyn Wilke                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/science
2022-05-19   2022-05-24 /early-puberty-medical-reason.html          An Earlier Start for Puberty               By Azeen Ghorayshi              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/science Scientists Uncover a Shady Web of Online
2022-05-19   2022-05-24 /spiders-tarantulas-arachnids-trade.html    Spider Sales                               By Emily Anthes                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/19/us/min
2022-05-19   2022-05-24 nesota-human-skull.html                     8000YearOld Skull Is Found in Minnesota    By Eduardo Medina               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/arts/dan
                        ce/chun-wai-chan-principal-dancer-new-york-
2022-05-20   2022-05-24 city-ballet.html                            An Elevated Chun Wai Chan Aims to Inspire By Rachel Sherman                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/theater/ Broadway Theaters Extend Mask Policy for
2022-05-20   2022-05-24 broadway-masks.html                         Audiences                                  By Michael Paulson              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/theater/
2022-05-20   2022-05-24 islander-review.html                        Two Teenagers Unite a Divided Island       By Alexis Soloski               TX 9-172-761   2022-07-01
                                                                                                               By Selam Gebrekidan Matt Apuzzo
                        https://www.nytimes.com/2022/05/20/world/h Invade Haiti Wall Street Urged And American Catherine Porter and Constant
2022-05-20   2022-05-24 aiti-wall-street-us-banks.html              Military Obliged                           Mheut                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/health/e
2022-05-21   2022-05-24 lderly-aspirin-heart-attack.html            An Aspirin a Day May Hurt More Than Help By Paula Span                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/well/lo
2022-05-21   2022-05-24 ng-covid-symptoms-treatment.html            Some Clues About Long Covid Emerge         By Knvul Sheikh and Pam Belluck TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/books/a Amanda Claridge 72 Archaeologist Who
2022-05-22   2022-05-24 manda-claridge-dead.html                    Pried Stories From Romes Ruins             By Neil Genzlinger              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/health/c
2022-05-22   2022-05-24 oronavirus-mink-michigan-spillover.html     The Mink Mystery in Michigan               By Emily Anthes                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/world/a Filipinos Are Leaving City Life for the
2022-05-22   2022-05-24 sia/philippines-rural-farming.html          Countryside                                By Sammy Westfall               TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/23/arts/des
2022-05-23   2022-05-24 ign/art-auction-value-christies-phillips.html Speculation and Hype Are Calling the Shots   By Jason Farago            TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/23/arts/mu
2022-05-23   2022-05-24 sic/kendrick-lamar-billboard-mr-morale.html Lamars Newest Hits No 1                        By Ben Sisario             TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/arts/mu
2022-05-23   2022-05-24 sic/steven-schick-percussion-music.html     Keeping the Beat A Good Bit Longer             By Zachary Woolfe          TX 9-172-761    2022-07-01



                                                                                  Page 3789 of 5793
                        https://www.nytimes.com/2022/05/23/arts/mu
2022-05-23   2022-05-24 sic/xx-oliver-sim-hideous-bastard.html       Oliver Sim Finds His Happy Place          By Shane ONeill                    TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/books/a
2022-05-23   2022-05-24 lan-shipnuck-phil-mickelson.html            The Darkness Behind a Golfers Grin         By Dwight Garner                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/busines                                             By Ana Swanson Edward Wong
2022-05-23   2022-05-24 s/economy/china-trade-tariffs-biden.html    Tariffs Cloud China Policy Under Biden     and Alan Rappeport                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/busines JPMorgan Is Predicting Big Returns Amid
2022-05-23   2022-05-24 s/jpmorgan-chase-outlook.html               Turmoil                                    By Lananh Nguyen                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/busines US Moves to Help Romania On New Nuclear
2022-05-23   2022-05-24 s/romania-nuclear-power.html                Plant Style                                By Stanley Reed                    TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/busines Starbucks Says Itll Exit Russia And Shutter
2022-05-23   2022-05-24 s/starbucks-russia-exit.html                130 Locations                              By Melina Delkic                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/busines HSBC Distances Itself From Executive Who
2022-05-23   2022-05-24 s/stuart-kirk-hsbc-climate-change.html      Scoffed at Climate Change Risks            By Jenny Gross                     TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/climate
                        /india-pakistan-heat-wave-global-
2022-05-23   2022-05-24 warming.html                                Warming Of Planet Is Fueling Heat Waves By Henry Fountain                     TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/health/f Cardiac Experts Parse Fetterman Campaigns
2022-05-23   2022-05-24 etterman-stroke-senate-campaign.html        Reports on His Stroke                      By Gina Kolata and Katie Glueck    TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/health/ Kristine Gebbie First Coordinator Of US
2022-05-23   2022-05-24 kristine-gebbie-dead.html                   Policy for AIDS Dies at 78                 By Sam Roberts                     TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/health/ US Has Millions of Doses To Meet
2022-05-23   2022-05-24 monkeypox-vaccines.html                     Monkeypox Threat                           By Apoorva Mandavilli              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/nyregio New York Passes Bill Allowing Adult
2022-05-23   2022-05-24 n/adult-survivors-act.html                  Victims to Sue in Old SexAbuse Cases       By Grace Ashford                   TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/23/nyregio Challenger Emerges for House Seat Held by
2022-05-23   2022-05-24 n/biaggi-sean-patrick-maloney.html         Democratic Congressional Campaign Leader      By Nicholas Fandos               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/nyregio Buffalos Black Children Are Afraid It Could
2022-05-23   2022-05-24 n/buffalo-shooting-children-schools.html   Just Happen to Me                             By Lola Fadulu                 TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/23/nyregio                                               By Luis FerrSadurn and Grace
2022-05-23   2022-05-24 n/governor-race-ny.html                    In Race for Governor 20 Million in TV Ads     Ashford                        TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/23/nyregio Police Release Pictures Of Subway Attack      By Chelsia Rose Marcius Nate
2022-05-23   2022-05-24 n/nyc-subway-shooting.html                 Suspect                                       Schweber and Ali Watkins       TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/23/nyregio                                               By Jan Ransom Jonah E Bromwich
2022-05-23   2022-05-24 n/rikers-island-death-crisis.html          Judge to Decide Rikers Fate as Crises Mount   and Anne Barnard               TX 9-172-761      2022-07-01

                        https://www.nytimes.com/2022/05/23/nyregio Homeless Shelter Operator Is Sentenced to
2022-05-23   2022-05-24 n/victor-rivera-sentenced-bronx-bribes.html Prison Over 12 Million in Kickbacks          By Amy Julia Harris              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/opinion
2022-05-23   2022-05-24 /elon-musk-jeff-bezos-social-media.html     The Perils Of Plutocratic Pettiness          By Paul Krugman                  TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/opinion
2022-05-23   2022-05-24 /heard-depp-trial.html                      The Most Divisive Issue of Our Time          By Gail Collins and Bret Stephens TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/opinion
2022-05-23   2022-05-24 /progressives-republican-censorship.html    Cultural Power Wont Save Progressives        By Michelle Goldberg             TX 9-172-761    2022-07-01



                                                                                Page 3790 of 5793
                        https://www.nytimes.com/2022/05/23/opinion Trump and Election Denialism Look Poised
2022-05-23   2022-05-24 /trump-brian-kemp-georgia.html              for Defeat in Georgia                         By Michelle Cottle               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/science
2022-05-23   2022-05-24 /mercury-meteorites-aubrites.html           Shards From Mercury Might Be on Earth         By Jonathan OCallaghan           TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/sports/b
2022-05-23   2022-05-24 aseball/josh-donaldson-suspended.html       Donaldson Suspended For a Game                By Benjamin Hoffman              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/sports/b
2022-05-23   2022-05-24 aseball/roger-angell.html                   You Feel Like Baseball Lost Its Hemingway     By Tyler Kepner                  TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/23/sports/b The Mavericks Are Ready to Learn From
2022-05-23   2022-05-24 asketball/golden-state-dallas-mavericks.html Being Schooled                             By Scott Cacciola                  TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/sports/t
                        ennis/french-open-ukraine-russia-            Wimbledon and Tours Leave War in Ukraine
2022-05-23   2022-05-24 wimbledon.html                               Hanging Over Players                       By Matthew Futterman               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/sports/t For Osaka a Loss Is Another Opening for
2022-05-23   2022-05-24 ennis/naomi-osaka-french-open.html           Rivals to Gain Ground                      By Christopher Clarey              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/technol Workers at Activision Vote to Form New
2022-05-23   2022-05-24 ogy/activision-raven-union.html              Union                                      By Kellen Browning                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/technol                                              By David McCabe and Adam
2022-05-23   2022-05-24 ogy/data-privacy-laws.html                   Countries Are Building Boundaries For Data Satariano                          TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/technol Google Maps Contract Workers Say They
2022-05-23   2022-05-24 ogy/google-maps-workers-office.html          Cant Afford to Return to the Office        By Nico Grant                      TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/technol Meta Project Showcases Political Ad
2022-05-23   2022-05-24 ogy/meta-political-ad-targeting.html         Targeting                                  By Mike Isaac                      TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/theater/
2022-05-23   2022-05-24 tony-awards-2022-angela-lansbury.html        Tony Award She Wrote                       By Michael Paulson                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/theater/
2022-05-23   2022-05-24 who-killed-my-father-review.html             Presenting an Inquest and an Indictment    By Jesse Green                     TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/23/us/abbo Baby Formula Shortage Reveals                  By Amanda Morris Christina Jewett
2022-05-23   2022-05-24 tt-baby-formula-sturgis-regulation.html     LongOverlooked Safety Lapses                  and Nicholas BogelBurroughs       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/us/polit Speaking His Mind And Letting His Aides
2022-05-23   2022-05-24 ics/biden-taiwan-comments.html              Clean Up Afterward                            By Peter Baker                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/us/polit
                        ics/david-perdue-stacey-abrams-racist-      Perdue Wraps Up Campaign With Attack
2022-05-23   2022-05-24 remarks.html                                Against Abrams                                By Reid J Epstein                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/us/polit Early Voting Surges Under New Law in
2022-05-23   2022-05-24 ics/georgia-voter-turnout.html              Georgia                                       By Maya King and Nick Corasaniti TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/us/polit
2022-05-23   2022-05-24 ics/pfizer-vaccine-kids.html                Childrens 3Dose Trial Promising Pfizer Says   By Sharon LaFraniere             TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/us/polit
                        ics/ronny-jackson-alex-mooney-ethics-       Panel Accuses Jackson Of Misusing
2022-05-23   2022-05-24 complaints.html                             Donations                                     By Luke Broadwater               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/us/polit Legal Mind Pins Target On Affirmative
2022-05-23   2022-05-24 ics/supreme-court-affirmative-action.html   Action                                        By Adam Liptak                   TX 9-172-761    2022-07-01



                                                                                Page 3791 of 5793
                        https://www.nytimes.com/2022/05/23/us/polit
2022-05-23   2022-05-24 ics/supreme-court-ineffective-counsel.html  Justices Cut Challenges On Counsel            By Adam Liptak                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/us/polit Texas House Race Is a Proxy Fight For         By Jazmine Ulloa and Jennifer
2022-05-23   2022-05-24 ics/texas-immigration.html                  Democrats on Immigration                      Medina                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/us/prin
2022-05-23   2022-05-24 ceton-fires-joshua-katz.html                A Professor Is Dismissed By Princeton         By Anemona Hartocollis             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/world/a French Bank Will Study Role in Haiti After
2022-05-23   2022-05-24 mericas/haiti-cic-french-bank.html          Report                                        By Matt Apuzzo                 TX 9-172-761       2022-07-01
                        https://www.nytimes.com/2022/05/23/world/a President Says Hed Use Force to Defend         By Zolan KannoYoungs and Peter
2022-05-23   2022-05-24 sia/biden-taiwan-china.html                 Taiwan From a Chinese Attack                  Baker                          TX 9-172-761       2022-07-01

                        https://www.nytimes.com/2022/05/23/world/e
2022-05-23   2022-05-24 urope/boris-bondarev-russia-ukraine-war.html Russia Official Calls Out War In a Fiery Exit By Anton Troianovski              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/world/e
                        urope/france-minister-rape-allegations-damien Two Women Have Accused a French
2022-05-23   2022-05-24 abad.html                                     Minister of Rape                             By Aurelien Breeden               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/world/e
                        urope/france-woman-prime-minister-elisabeth-Frances New Premier Overcame Tragedy in
2022-05-23   2022-05-24 borne.html                                    Her Youth                                    By Aurelien Breeden               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/world/e Germany the Oil Embargo And the Refinery
2022-05-23   2022-05-24 urope/germany-russia-oil-embargo.html         in Between                                   By Melissa Eddy                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/world/e Zelensky Urges Global Leaders to Maintain a By Matina StevisGridneff Anton
2022-05-23   2022-05-24 urope/russia-ukraine-war-zelensky.html        Tough United Front                           Troianovski and Richard PrezPea   TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/23/world/e Russian Tank Commander Is Convicted Of
2022-05-23   2022-05-24 urope/russian-soldier-war-crimes-guilty.html War Crimes for Shooting Ukrainian       By Valerie Hopkins                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/world/e Where Russia Held Court Ukraine Makes Its By Mark Landler and Matina
2022-05-23   2022-05-24 urope/ukraine-russia-davos.html               Pitch                                  StevisGridneff                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/world/e                                           By Andrew E Kramer Maria
2022-05-23   2022-05-24 urope/us-ukraine-howitzers.html               Ukraine Adds Powerful Tool US Howitzer Varenikova and Ivor Prickett            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/busines Candle Media Buying Studio That Produces
2022-05-24   2022-05-24 s/media/candle-media-exile.html               Spanish Shows                          By Benjamin Mullin                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/us/anah Anaheim Mayor Resigns as FBI Investigates
2022-05-24   2022-05-24 eim-mayor-resigns-harry-sidhu.html            Possible Graft in Angel Stadium Deal   By Shawn Hubler and Jill Cowan          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/us/sout For Southern Baptists Report on Sex Abuse By Ruth Graham and Elizabeth
2022-05-24   2022-05-24 hern-baptist-sex-abuse-report.html            Is a Divisive Shock                    Dias                                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/sports/h
2022-05-24   2022-05-24 ockey/oilers-flames-battle-alberta.html       A Battle of Alberta to an 80s Beat     By David Waldstein                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/us/polit
                        ics/georgia-elections-texas-arkansas-alabama- Primaries in Southern States Will Be
2022-05-24   2022-05-24 polls.html                                    Barometer for GOP                      By Maya King                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/article/memorial-                                            By Genevieve Ko and Krysten
2020-05-21   2022-05-25 day-recipes.html                              Holiday Dishes to Remember             Chambrot                                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/interactive/2022/us/                                         By Taylor Johnston and Christine
2022-03-01   2022-05-25 elections/midterm-elections-calendar.html     2022 Midterm Primary Election Calendar Zhang                                   TX 9-172-761   2022-07-01



                                                                                 Page 3792 of 5793
                        https://www.nytimes.com/article/how-to-pair-
2022-05-19   2022-05-25 food-and-wine.html                             Pairing Food and Wine Shouldnt Be a Chore By Eric Asimov                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/20/dining/
2022-05-20   2022-05-25 clam-dip-recipe-revamped.html                  Yes a Clam Dip But Hot and Spicy                By Melissa Clark                   TX 9-172-761   2022-07-01
                                                                                                                       By Constant Mheut Catherine
                        https://www.nytimes.com/2022/05/20/world/a A Haitian President Demands Reparations             Porter Selam Gebrekidan and Matt
2022-05-20   2022-05-25 mericas/haiti-aristide-reparations-france.html and Ends Up in Exile                            Apuzzo                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/theater/
2022-05-22   2022-05-25 belfast-girls-review.html                      Setting Sail Into History Not a Pleasure Cruise By Alexis Soloski                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/dining/
                        drinks/angels-share-cocktail-bar-nyc-pop-up-
2022-05-23   2022-05-25 summer.html                                    Angels Share Gets a Second Life                 By Robert Simonson                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/dining/f
2022-05-23   2022-05-25 ried-shallots-southeast-asian-pantry.html      Fried Shallots Could Be Your New Best Pal By J Kenji LpezAlt                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/dining/
2022-05-23   2022-05-25 guy-fieri-flavortown.html                      Guy Fieri Elder Statesman                       By Matt Flegenheimer               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/dining/l
2022-05-23   2022-05-25 ukes-lobster-spicy-mala-roll.html              To Ignite Some Mala Heat For Lukes Lobster By Florence Fabricant                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/dining/ To Smoke Mastering Cookouts With
2022-05-23   2022-05-25 pig-beach-bbq-cookbook.html                    Barbecue Expertise                              By Florence Fabricant              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/dining/ To Sip Summer With a Splash In a New
2022-05-23   2022-05-25 pomp-whimsy-gin.html                           80Proof Gin                                     By Florence Fabricant              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/dining/ To Maintain With Pint Cooler Scream For Ice
2022-05-23   2022-05-25 swell-ice-cream-pint-cooler.html               Cream Not at It                                 By Florence Fabricant              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/dining/t To Treat Master Chocolatier Opens A
2022-05-23   2022-05-25 hierry-atlan-chocolates.html                   Boutique in SoHo                                By Florence Fabricant              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/dining/ To View World Central Kitchen Stars in We
2022-05-23   2022-05-25 we-feed-the-people-jose-andres.html            Feed People                                     By Florence Fabricant              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/movies/
2022-05-23   2022-05-25 cane-fire-interview.html                       Recasting the Image of Hawaiian Paradise        By Nicolas Rapold                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/movies/
                        george-miller-furiosa-three-thousand-years-of-
2022-05-23   2022-05-25 longing.html                                   The Journey Continues For a Road Warrior By Manohla Dargis                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/opinion The Answer to Covid Fatigue Is Creativity
2022-05-23   2022-05-25 /covid-masks-tests-vaccines.html               Not Surrender                                   By Jay K Varma                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/opinion Putin Rules His Nation Like a Psychiatric
2022-05-23   2022-05-25 /russia-putin-war.html                         Ward                                            By Farida Rustamova                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/23/arts/ini Art Dealer Receives 7 Years in Prison for
2022-05-24   2022-05-25 go-philbrick-art-dealer-sentenced-prison.html Fraud                                         By Colin Moynihan                     TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/24/arts/des
2022-05-24   2022-05-25 ign/art-basel-hong-kong-cisco-jimenez.html Ready for discovery again                         By Ray Mark Rinaldi                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/arts/des
2022-05-24   2022-05-25 ign/art-basel-hong-kong-hsu-yunghsu.html    His sculptures are a fullbody effort            By David Belcher                      TX 9-172-761   2022-07-01



                                                                                   Page 3793 of 5793
                        https://www.nytimes.com/2022/05/24/arts/des
2022-05-24   2022-05-25 ign/art-basel-hong-kong.html                 An art fair served up several ways            By Ted Loos                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/arts/mu
                        sic/allan-clayton-hamlet-metropolitan-
2022-05-24   2022-05-25 opera.html                                   His Role Hits Close To Home                   By Roslyn Sulcas                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/arts/mu                                                 By Matt Stevens and Javier C
2022-05-24   2022-05-25 sic/carnegie-hall-benefit-ukraine.html       An Artistic Show of Force for Ukraine         Hernndez                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/arts/tele
2022-05-24   2022-05-25 vision/kids-in-the-hall-documentary.html     Still Laughing After All These Years          By James Poniewozik               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/books/
2022-05-24   2022-05-25 why-sharks-matter-david-shiffman.html        Dont Fear the Predator Honest                 By Molly Young                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/busines
2022-05-24   2022-05-25 s/china-covid-zero.html                      Young Chinese Feel Suffocated                 By Li Yuan                        TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/24/busines
2022-05-24   2022-05-25 s/ftc-investigation-baby-formula-industry.html FTC Starts Investigation Over Formula       By Madeleine Ngo                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/busines
2022-05-24   2022-05-25 s/golf-course-redevelopment-housing.html       Turning Golf Courses Into Housing Zones     By Keith Schneider                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/busines
2022-05-24   2022-05-25 s/investors-trump-truth-social.html            So Whos Investing in Trump Media            By Matthew Goldstein              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/busines Bidens Top Press Liaison Will Join MSNBC
2022-05-24   2022-05-25 s/media/jen-psaki-msnbc-biden.html             as Host                                     By Michael M Grynbaum             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/busines
2022-05-24   2022-05-25 s/technology-productivity-economy.html         Why Isnt AI Increasing Productivity         By Steve Lohr                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/dining/i
2022-05-24   2022-05-25 ngas-bar-review-pete-wells.html                Ill Have What Theyre Having Please          By Pete Wells                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/dining/ Fil Gumbo Bar Offering Cajun and Creole
2022-05-24   2022-05-25 nyc-restaurant-news.html                       Cooking Opens in TriBeCa                    By Florence Fabricant             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/movies/ Colin Cantwell 90 Who Designed Spacecraft
2022-05-24   2022-05-25 colin-cantwell-dead.html                       for Star Wars Is Dead                       By Richard Sandomir               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/nyregio Unimaginable Jump in Rents Adds to              By Mihir Zaveri and Dana
2022-05-24   2022-05-25 n/nyc-housing-adams.html                       Pressure on Adams                           Rubinstein                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/nyregio Judge Tells New York to Revise Plan for         By Jonah E Bromwich and Jan
2022-05-24   2022-05-25 n/rikers-federal-takeover-nyc.html             Rikers Averting Possible Federal Takeover   Ransom                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/nyregio
                        n/subway-shooting-gunman-andrew-               Suspect in Fatal Subway Shooting Over       By Chelsia Rose Marcius and Ali
2022-05-24   2022-05-25 abdullah.html                                  Weekend Is in Custody                       Watkins                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/nyregio Final WallFraud Trial Underway but Bannon
2022-05-24   2022-05-25 n/us-mexico-wall-project-trial.html            Isnt on the Witness List                    By Colin Moynihan                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/opinion On Taiwan Biden Should Find His Inner
2022-05-24   2022-05-25 /biden-china-taiwan.html                       Truman                                      By Bret Stephens                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/opinion A Minor Strongman Some Populists And
2022-05-24   2022-05-25 /orban-hungary-cpac-republicans.html           Carlson Went to a Conference                By Jamelle Bouie                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/sports/b Judge Is on Pace for 60 Homers If He Can
2022-05-24   2022-05-25 aseball/aaron-judge-home-runs.html             Stay Healthy That Is                        By Benjamin Hoffman               TX 9-172-761   2022-07-01



                                                                                 Page 3794 of 5793
                        https://www.nytimes.com/2022/05/24/sports/b After 4 Lopsided Games Heat and Celtics Are
2022-05-24   2022-05-25 asketball/nba-celtics-heat-game-4.html      Tied Up                                     By Sopan Deb                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/sports/i Finding Inner Balance Makes the Difference
2022-05-24   2022-05-25 ga-swiateks-plan-is-falling-into-place.html For Swiatek at No 1                         By Christopher Clarey               TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/24/sports/s
2022-05-24   2022-05-25 occer/chelsea-sale-abramovich-boehly.html Inside the Deal To Purchase A British Icon   By Tariq Panja and Rory Smith        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/sports/t Appropriately Tsonga Bids Adieu in a Match
2022-05-24   2022-05-25 ennis/french-open-tsonga.html               Filled With Drama and Injury               By Christopher Clarey                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/technol Whats Inflations True Bite Depends on How By Stuart A Thompson and Jeanna
2022-05-24   2022-05-25 ogy/inflation-measure-cpi-accuracy.html     Its Tallied                                Smialek                              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/us/birth-Birthrate in the US Increases by 1 Percent By Dana Goldstein and Daniel
2022-05-24   2022-05-25 rate-increase.html                          After Years of a Steady Decline            Victor                               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/us/india
2022-05-24   2022-05-25 na-legislature-transgender-sports-ban.html  Indiana Bars Transgender Athletes          By Mitch Smith                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/us/polit Base Names Proposed To Honor New Heroes
2022-05-24   2022-05-25 ics/army-bases-confederate-names.html       Not the Confederacy                        By Helene Cooper                     TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/24/us/polit President Biden Expected to Order New        By Zolan KannoYoungs and
2022-05-24   2022-05-25 ics/police-executive-order-george-floyd.html Limits on Police Tactics                    Charlie Savage                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/us/polit China and Russia Hold Exercise as Biden
2022-05-24   2022-05-25 ics/russia-china-bombers-biden.html          Visits                                      By Edward Wong                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/us/polit                                              By Alan Rappeport and Eshe
2022-05-24   2022-05-25 ics/russian-debt-treasury.html               No Payments From Russia On Its Bonds        Nelson                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/us/sout Southern Baptists Will Release a List Of
2022-05-24   2022-05-25 hern-baptist-sexual-abuse.html               Ministers Accused of Sexual Abuse           By Ruth Graham                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/world/a Bidens Remarks on Taiwan Leave IndoPacific
2022-05-24   2022-05-25 sia/biden-taiwan-china-australia.html        Allies in Awkward Spot                      By Zolan KannoYoungs               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/world/a In a Remote Village Digging for Clues to a
2022-05-24   2022-05-25 sia/thailand-wwii-american-remains.html      Lost Pilot                                  By Richard C Paddock               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/world/e Russia Aims Barrage at City in Heart of       By Carlotta Gall and Finbarr
2022-05-24   2022-05-25 urope/russia-ukraine-donbas.html             Donbas                                      OReilly                            TX 9-172-761   2022-07-01
                                                                                                                 By Mark Landler Matina
                        https://www.nytimes.com/2022/05/24/world/e As Food Remains Trapped in Ukraine            StevisGridneff Erika Solomon and
2022-05-24   2022-05-25 urope/russia-ukraine-food-supply.html        Leaders Warn of Global Unrest               Patricia Cohen                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/world/e Ukraine Charges 8 Russians In the Killings of
2022-05-24   2022-05-25 urope/russia-ukraine-mayor-killed.html       3 Civilians                                 By Valerie Hopkins                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/world/e In Britain Visa Red Tape Delays Refugee
2022-05-24   2022-05-25 urope/uk-homes-for-ukraine-refugees.html     Program                                     By Megan Specia                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/06/25/climate NOAA Is Predicting Another Busy Hurricane
2022-05-24   2022-05-25 /hurricane-2022-forecast-noaa.html           Season                                      By Maggie Astor                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/us/bide An Emotional Biden Why Do We Keep
2022-05-25   2022-05-25 n-texas-school-shooting.html                 Letting This Happen                         By Michael D Shear                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/us/dem Democrats Press Votes On Bills to Strengthen By Emily Cochrane and Catie
2022-05-25   2022-05-25 ocrats-gun-control-school-shooting.html      Checks on Gun Buyers                        Edmondson                          TX 9-172-761   2022-07-01



                                                                                Page 3795 of 5793
                        https://www.nytimes.com/2022/05/24/us/polit
                        ics/brian-kemp-david-perdue-georgia-        Governor Beats Trumps Choice In Georgia     By Shane Goldmacher and Maya
2022-05-25   2022-05-25 governor-trump.html                         Race                                        King                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/us/polit
2022-05-25   2022-05-25 ics/china-taiwan-military.html              US Hastening To Strengthen Taiwan Forces    By Edward Wong and Eric Schmitt TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/24/us/polit
2022-05-25   2022-05-25 ics/george-bush-plot-isis.html              Man Charged Over a Plot to Kill Bush        By Katie Benner                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/us/shoo                                              By Josh Peck and J David
2022-05-25   2022-05-25 ting-texas-elementary-school.html           At Least 18 Children Shot Dead at School    Goodman                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/reader-
2022-05-25   2022-05-25 center/haiti-france-debt-payments.html      Calculating Haitis Payments to France       By Constant Mheut                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/25/us/min In Minneapolis Turmoil Persists In Floyds
2022-05-25   2022-05-25 neapolis-police-george-floyd-anniversary.html Wake                                      By Shaila Dewan and Tim Arango TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/21/special-
                        series/hbcus-beyonce-a-different-world-ralph-
2022-05-21   2022-05-26 lauren-pop-culture.html                       Mainstream Embraces HBCUs                 By Audra D S Burch               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/style/re
2022-05-21   2022-05-26 ntrayage.html                                 She Is Building a Brand With Used Goods   By Jessica Testa                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/arts/mu Simon Preston 83 Force In World of Choral
2022-05-23   2022-05-26 sic/simon-preston-dead.html                   Music                                     By David Allen                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/style/as This New Dating App Asks Do Our Stars
2022-05-23   2022-05-26 trology-dating-app-ilios.html                 Align                                     By Madeleine Aggeler             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/style/ba
2022-05-23   2022-05-26 lenciaga-nyse-resort-2023.html                Balenciaga Occupies Wall Street           By Vanessa Friedman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/style/di
2022-05-23   2022-05-26 or-mens-wear.html                             Surfs Up at Dior Show                     By Guy Trebay                    TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/23/style/ko                                            By Vanessa Friedman and Jessica
2022-05-23   2022-05-26 urtney-kardashian-travis-barker-wedding.html A Branded Marriage And Its Implications   Testa                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/article/monkeypox- A Primer on Monkeypox and How This Virus
2022-05-23   2022-05-26 virus-covid.html                             Differs From Covid19                      By Knvul Sheikh                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/opinion When Your Job Fills In for Your Faith Thats
2022-05-24   2022-05-26 /work-religion-silicon-valley.html           a Problem                                 By Carolyn Chen                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/theater/ Hugh Jackman Feels Right at Home in River
2022-05-24   2022-05-26 hugh-jackman-the-music-man.html              City                                      By Juan A Ramrez                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/world/a North Korea TestFires 3 Missiles Including
2022-05-24   2022-05-26 sia/north-korea-ballistic-missiles.html      Possible ICBM                             By Choe SangHun                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/theater/
2022-05-25   2022-05-26 review-california-trish-harnetiaux.html      A Family Road Trip Detours Into Darkness By Elisabeth Vincentelli           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/arts/dan
2022-05-25   2022-05-26 ce/art-palermo-mafia.html                    Public Art as an Antidote to the Mafia    By James Imam                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/arts/dan
2022-05-25   2022-05-26 ce/trisha-brown-company-review.html          Theres Magic in This Mischief             By Siobhan Burke                  TX 9-172-761   2022-07-01




                                                                               Page 3796 of 5793
                        https://www.nytimes.com/2022/05/25/arts/kat Depp Defamation Trial Nears Finish With
2022-05-25   2022-05-26 e-moss-johnny-depp-trial.html               Sides Launching Fresh Attacks               By Julia Jacobs              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/25/arts/mu
2022-05-25   2022-05-26 sic/brian-jackson.html                      Spotlight Returns To a 70s Musician         By Giovanni Russonello       TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/25/arts/mu
2022-05-25   2022-05-26 sic/review-justin-austin-armory.html        A Big Baritone Sound In an Intimate Setting By Oussama Zahr              TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/25/books/r
2022-05-25   2022-05-26 eview-lynching-port-jervis-philip-dray.html Jim Crow Violence Close to Home             By Jennifer Szalai           TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/25/busines
2022-05-25   2022-05-26 s/bolt-layoffs.html                         Bolt Cuts Jobs With Investors Turning Wary By Erin Woo                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/25/busines
                        s/china-pushes-for-regular-mass-testing-in-
2022-05-25   2022-05-26 zero-covid-pursuit.html                     China Pushing For Mass Tests To Fight Virus By John Liu                  TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/25/busines
2022-05-25   2022-05-26 s/economy/fed-interest-rates-inflation.html Fed Foresees 3 Rate Jumps In Short Time     By Ana Swanson                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/busines After Texas Attack GunRelated Stocks Rise
2022-05-25   2022-05-26 s/gun-makers-stock.html                     Sharply                                     By Jason Karaian              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/busines Thomas S Murphy 96 the Brains Behind Two
2022-05-25   2022-05-26 s/media/thomas-s-murphy-dead.html           Blockbuster Media Deals Dies                By Douglas Martin             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/busines
2022-05-25   2022-05-26 s/student-loans-default-forgiveness.html    The NeverEnding Maze of Student Loans       By Stacy Cowley               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/busines Budget Deficit Projected To Shrink to 1
2022-05-25   2022-05-26 s/us-budget-deficit-2022.html               Trillion                                    By Alan Rappeport             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/climate Corporations Vow to Buy Green at Davos
2022-05-25   2022-05-26 /corporate-climate-pledges-davos.html       Forum                                       By Lisa Friedman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/climate EPA Moves to Block Mine in Alaska Salmon
2022-05-25   2022-05-26 /pebble-mine-alaska-epa.html                Fisheries                                   By Coral Davenport            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/health/f FDA Leader Details Shocking Conditions At
2022-05-25   2022-05-26 da-baby-formula-shortage.html               a Formula Factory                           By Christina Jewett           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/nyregio
2022-05-25   2022-05-26 n/legionnaires-outbreak-nyc.html            Legionnaires Turns Deadly In the Bronx      By Sharon Otterman            TX 9-172-761   2022-07-01
                                                                                                                By Emma G Fitzsimmons Ana Ley
                        https://www.nytimes.com/2022/05/25/nyregio Subway Killing Threatens New York Systems Ashley Wong and Patrick
2022-05-25   2022-05-26 n/nyc-subway-safety.html                    Fragile Recovery                            McGeehan                      TX 9-172-761   2022-07-01
                                                                                                                By Kimiko de FreytasTamura
                        https://www.nytimes.com/2022/05/25/nyregio                                              Chelsia Rose Marcius and Lola
2022-05-25   2022-05-26 n/parents-school-shooting-risk.html         Shooting Fuels Parents Fears All Over Again Fadulu                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/nyregio
                        n/subway-shooting-andrew-abdullah-
2022-05-25   2022-05-26 phones.html                                 No Bail For Suspect In Shooting             By Nate Schweber              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/opinion
2022-05-25   2022-05-26 /roxane-gay-uvalde-school-shooting.html     We Have Failed to Protect Our Kids          By Roxane Gay                 TX 9-172-761   2022-07-01




                                                                                Page 3797 of 5793
                        https://www.nytimes.com/2022/05/25/opinion Trump Didnt Get What He Wanted This
2022-05-25   2022-05-26 /trump-primary-georgia.html                Week                                          By Gail Collins                    TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/25/opinion Semiautomatic Weapons Threaten Our
2022-05-25   2022-05-26 /uvalde-buffalo-semiautomatic-weapons.html National Security                                By Mary B McCord                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/sports/b Joe Pignatano 92 Cultivated Vegetables as
2022-05-25   2022-05-26 aseball/joe-pignatano-dead.html               Well as Relief Pitchers in the Bullpen        By Richard Sandomir               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/sports/b
                        asketball/dallas-mavericks-golden-state-luka- On Somber Night Crucial Win Draws Muted
2022-05-25   2022-05-26 doncic.html                                   Celebration                                   By Scott Cacciola                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/sports/f Judge Rules Gruden Suit Against NFL Can
2022-05-25   2022-05-26 ootball/jon-gruden-lawsuit-nfl.html           Proceed in Public View                        By Jenny Vrentas                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/sports/t BestofFive Format Pushes Next Generation of
2022-05-25   2022-05-26 ennis/french-open-alcaraz.html                Stars to the Limit                            By Christopher Clarey             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/sports/t Her Tennis Coach Abused Her Could the
2022-05-25   2022-05-26 ennis/tennis-predatory-coaches.html           Sport Have Prevented It                       By Matthew Futterman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/style/tik
2022-05-25   2022-05-26 tok-old-gays-retirement.html                  A Twilight Filled With Followers and Fun      By Charley Locke                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/technol
                        ogy/personaltech/apple-repair-program-
2022-05-25   2022-05-26 iphone.html                                   IPhone SelfRepair Kit A Fix or a Fools Errand By Brian X Chen                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/technol Quantum Internet Gets Closer With Advance
2022-05-25   2022-05-26 ogy/quantum-internet-teleportation.html       in Data Teleportation                         By Cade Metz                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/technol                                                  By Tiffany Hsu Sheera Frenkel and
2022-05-25   2022-05-26 ogy/texas-shooting-misinformation.html        Debunking 3 Viral Shooting Rumors             Stuart A Thompson                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/technol
2022-05-25   2022-05-26 ogy/twitter-elon-musk-parag-agrawal.html      Twitter Chief Stays Course Despite Musk       By Mike Isaac and Kate Conger     TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/25/theater/ New York Theater Workshop Names Artistic
2022-05-25   2022-05-26 ny-theater-workshop-patricia-mcgregor.html Director                                     By Michael Paulson                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/us/amer
2022-05-25   2022-05-26 ican-gun-violence.html                       Staggering Toll of US Gun Violence         By Thomas Fuller                    TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/us/julie- Julie Beckett 72 Dies Pushed for Home Care
2022-05-25   2022-05-26 beckett-dead.html                            For Disabled Children                      By Clay Risen                       TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/us/nove Novelist Who Wrote Blog Post on How to
2022-05-25   2022-05-26 list-nancy-brophy-murder-husband.html        Murder Your Husband Is Convicted           By Mike Baker                       TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/us/polit Biden Has No Illusions on Congressional
2022-05-25   2022-05-26 ics/biden-texas-shooting.html                Action and Limits on His Own Power         By Michael D Shear                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/us/polit
                        ics/disqualified-michigan-governors-craig-   2 Top Michigan Candidates Could Be Kept
2022-05-25   2022-05-26 johnson.html                                 Off Ballot                                 By Neil Vigdor                      TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/us/polit A Battle in Georgia but Its Not Like Last
2022-05-25   2022-05-26 ics/georgia-stacey-abrams-kemp.html          Time                                       By Katie Glueck and Maya King       TX 9-172-761     2022-07-01




                                                                                 Page 3798 of 5793
                        https://www.nytimes.com/2022/05/25/us/polit                                            By Katie Benner and Charlie
2022-05-25   2022-05-26 ics/michael-sussmann-trial-eric-lichtblau.html No Subpoena For Reporter In 2016 Case   Savage                           TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/25/us/polit A Recount for Pennsylvanias GOP Senate
2022-05-25   2022-05-26 ics/oz-mccormick-pennsylvania-recount.html Primary                                       By Neil Vigdor                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/us/polit                                              By Alan Feuer Katie Benner and
2022-05-25   2022-05-26 ics/pro-trump-lawyers-elector-scheme.html US Is Said to Step Up Trump Electors Inquiry Luke Broadwater                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/us/polit In More Than 100 GOP Midterm Ads This        By Katie Glueck Azi Paybarah and
2022-05-25   2022-05-26 ics/republicans-campaign-guns.html          Year Guns Guns Guns                          Leah Askarinam                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/us/polit
                        ics/steven-dettelbach-biden-texas-          School Shooting Sets the Tone at the Hearing
2022-05-25   2022-05-26 shooting.html                               for Bidens Nominee                           By Glenn Thrush and Katie Benner TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/us/polit
                        ics/takeaways-tuesdays-elections-           Trumps Gravitational Pull on Republican
2022-05-25   2022-05-26 primaries.html                              Voters Influenced Every Primary              By Blake Hounshell               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/us/polit Cruz Reverts to GOP Script Against Gun
2022-05-25   2022-05-26 ics/ted-cruz-texas-shooting.html            Limits                                       By Catie Edmondson               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/us/polit                                              By Maggie Haberman and Luke
2022-05-25   2022-05-26 ics/trump-pence-jan-6.html                  Trumps Reaction to AntiPence Chants          Broadwater                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/us/polit Georgia Voters Reject Trumps Bid to Punish By Michael C Bender and Maggie
2022-05-25   2022-05-26 ics/trump-perdue-georgia.html               His Political Enemies                        Haberman                         TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/25/world/a Gambia Vows To Prosecute ExPresident For By Saikou Jammeh and Ruth
2022-05-25   2022-05-26 frica/gambia-prosecute-jammeh-murder.html Atrocities                                     Maclean                        TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/world/a 76 Migrants Feared Dead As Boat Sinks Off
2022-05-25   2022-05-26 frica/migrants-tunisian-coast.html         Tunisia                                       By Emma Bubola                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/world/a China Is Seeking Sweeping Regional Deal
2022-05-25   2022-05-26 sia/china-pacific-island-countries.html    With Pacific Island Countries                 By Damien Cave                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/world/a Indias Prized Mango Falls Victim to a Searing
2022-05-25   2022-05-26 sia/india-heat-wave-mango.html             Heat Wave                                     By Suhasini Raj                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/world/e
                        urope/boris-johnson-sue-gray-report-       Johnson Humbled by Report but Pressure on By Mark Landler Stephen Castle
2022-05-25   2022-05-26 partygate.html                             Him to Resign Has Eased                       and Megan Specia               TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/world/e After Mass Shootings Other Countries Acted
2022-05-25   2022-05-26 urope/gun-laws-australia-britain.html      To Change Direction                           By Max Fisher                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/world/e Not Again Monkeypox Tests Weary               By Isabella Kwai and Emma
2022-05-25   2022-05-26 urope/monkeypox-stigma.html                Europeans                                     Bubola                         TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/world/e In Donbas a War of Who Can Surround           By Andrew E Kramer and Ivor
2022-05-25   2022-05-26 urope/russia-ukraine-donbas.html           Whom                                          Prickett                       TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/25/world/ At Iranian Colonels Funeral Mourners Chant   By Farnaz Fassihi and Ronen
2022-05-25   2022-05-26 middleeast/iran-israel-killing-khodayee.html Death to Israel                           Bergman                          TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/us/polit Democrats Hit Pause On Gun Control Vote    By Jonathan Weisman and Emily
2022-05-25   2022-05-26 ics/senate-gun-control.html                  Hoping to Make a Deal                     Cochrane                         TX 9-172-761     2022-07-01



                                                                                 Page 3799 of 5793
                        https://www.nytimes.com/2022/05/25/us/okla Tightest Ban On Abortions Becomes Law In     By Luke Vander Ploeg and Kate
2022-05-26   2022-05-26 homa-abortion-ban-law-governor.html         Oklahoma                                    Zernike                         TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/25/us/texa A Shared Anguish Convulses CloseKnit
2022-05-26   2022-05-26 s-elementary-shooting-victims.html          Uvalde                                      By Jack Healy and Edgar Sandoval TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/insider/
2022-05-26   2022-05-26 putting-the-markets-in-perspective.html     Putting the Markets in Perspective          By Emmett Lindner               TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/26/sports/h Road to Finals Runs Through Raleigh and So
2022-05-26   2022-05-26 ockey/rangers-hurricanes-nhl-playoffs.html Far It Has Been a Dead End                    By David Waldstein             TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/26/style/jo John Fetterman and the Remaking of Political
2022-05-26   2022-05-26 hn-fetterman-hoodies-shorts.html            Image                                        By Vanessa Friedman            TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/26/style/th
2022-05-26   2022-05-26 e-colorful-mozart-of-gen-z.html             The Multicolored Mozart of Gen Z             By Whitney Bauck               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/06/08/us/polit                                              By Annie Karni and Luke
2022-05-26   2022-05-26 ics/gun-control-timeline.html               Bills Come and Then Quietly Go               Broadwater                     TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/18/arts/ind
                        igenous-native-photography-matika-
2022-05-18   2022-05-27 wilbur.html                                 Indigenous Culture One Image at a Time       By Shane Mitchell              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/21/books/s                                               By Elizabeth A Harris John
2022-05-21   2022-05-27 ummer-books-writers.html                    Writers to Watch                             Williams and Joumana Khatib    TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/21/books/v
2022-05-21   2022-05-27 acation-reading-summer.html                 Vacation Reading Packed and Unpacked         By Sarah Lyall                 TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/24/arts/des
2022-05-24   2022-05-27 ign/rauschenberg-mnuchin-gladstone-art.html A Rare Look at Rauschenbergs Second Act     By Deborah Solomon              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/24/movies/
2022-05-24   2022-05-27 paulie-go-review.html                       Paulie Go                                   By Natalia Winkelman            TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/24/movies/
2022-05-24   2022-05-27 since-i-been-down-review.html               Since I Been Down                           By Lisa Kennedy                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/24/health/l Study Says OneFifth Of Infected Americans
2022-05-25   2022-05-27 ong-covid-infections.html                   May Suffer Long Covid                       By Pam Belluck                  TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/25/books/ Morton L Janklow Powerful Agent for
2022-05-25   2022-05-27 morton-l-janklow-dead.html                  BestSelling Authors Dies at 91              By Robert D McFadden            TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/25/busines E Gerald Corrigan 80 Helped Ease Stock
2022-05-25   2022-05-27 s/e-gerald-corrigan-dead.html               Crash                                       By Sam Roberts                  TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/25/nyregio
2022-05-25   2022-05-27 n/ny-vouchers-homeless-discrimination.html Bias Undercuts Housing Aid Suit Says         By Mihir Zaveri                 TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/25/theater/
2022-05-25   2022-05-27 mother-courage-and-her-children-review.html Selling Her Wares Amid the Havoc of War  By Maya Phillips                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/25/us/uval
2022-05-25   2022-05-27 de-how-to-help.html                         How to Help the Uvalde Victims           By Derrick Bryson Taylor           TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/25/world/a Civil Rights Backlash Made Guns in the US
2022-05-25   2022-05-27 mericas/2nd-amendment-gun-laws.html         A Political Third Rail                   By Amanda Taub                     TX 9-172-761    2022-07-01



                                                                                Page 3800 of 5793
                        https://www.nytimes.com/article/talk-about- A Guide to Talking to Your Children About
2022-05-25   2022-05-27 school-shootings-kids.html                  Mass Shootings                                 By Catherine Pearson             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/world/a
2022-05-26   2022-05-27 frica/senegal-fire-hospital-infants.html    Babies Killed in Senegal Hospital Fire         By Yonette Joseph                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/arts/am
2022-05-26   2022-05-27 ber-heard-johnny-depp-harassment.html       Online Scorn Agonizing Heard Says              By Julia Jacobs                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/arts/dan
                        ce/brooklyn-academy-of-music-danceafrica-
2022-05-26   2022-05-27 festival.html                               They Keep the Beat Going Over Generations      By Brian Seibert                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/arts/des
                        ign/kazuko-miyamoto-artist-japan-
2022-05-26   2022-05-27 society.html                                Maverick Minimalist Global Citizen             By Holland Cotter                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/26/arts/des Louvres ExLeader Charged In Artifact
2022-05-26   2022-05-27 ign/louvre-jean-luc-martinez-trafficking.html Trafficking Case                             By Aurelien Breeden              TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/26/arts/int International Booker Prize Goes to Tomb of
2022-05-26   2022-05-27 ernational-booker-winner-tomb-of-sand.html Sand                                        By Alex Marshall                  TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/26/arts/tele
                        vision/kevin-spacey-sexual-assault-          Spacey Is Accused Of Sexual Assaults By
2022-05-26   2022-05-27 charges.html                                 British Prosecutors                       By Alex Marshall and Julia Jacobs TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/26/arts/tele
2022-05-26   2022-05-27 vision/love-death-robots-letterkenny.html    This Weekend I Have                       By Margaret Lyons                 TX 9-172-761      2022-07-01

                        https://www.nytimes.com/2022/05/26/arts/tele
2022-05-26   2022-05-27 vision/stranger-things-season-4-review.html Once More Into the Upside Down                 By Mike Hale                     TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/26/arts/wal
2022-05-26   2022-05-27 lace-foundation-arts-funding-initiative.html Initiative to Aid Minority Arts Groups        By Laura Zornosa                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/briefing What Is It About the US That Produces Such
2022-05-26   2022-05-27 /guns-america-shooting-deaths.html           Gun Violence                                  By German Lopez                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/busines US Plans Tougher Rules To Govern Poultry
2022-05-26   2022-05-27 s/biden-poultry-processors-growers.html      Industry                                      By Linda Qiu                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/busines Icahn Loses Welfare Fight With McDonalds
2022-05-26   2022-05-27 s/carl-icahn-mcdonalds-pigs.html             Over Pigs                                     By Lauren Hirsch                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/busines Maker of Gun Used In Massacre Took In 31
2022-05-26   2022-05-27 s/daniel-defense-ppp.html                    Million in Aid                                By Stacy Cowley and Ella Koeze   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/busines
                        s/macys-dollar-general-dollar-tree-
2022-05-26   2022-05-27 earnings.html                                Strong Profits by Retailers Lift Markets      By Melina Delkic                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/busines Substack Ends FundRaising As the Market
2022-05-26   2022-05-27 s/media/substack-venture-capital.html        Turns Lower                                   By Benjamin Mullin               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/busines
2022-05-26   2022-05-27 s/new-flyer-ca-fraud.html                    Bus Maker Settles Fraud Case Tied to Hiring   By Noam Scheiber                 TX 9-172-761   2022-07-01




                                                                                 Page 3801 of 5793
                        https://www.nytimes.com/2022/05/26/busines Russia Slashes Benchmark Rate to 11 as the
2022-05-26   2022-05-27 s/russia-rates-ruble.html                  Ruble Hits a Multiyear High                  By Eshe Nelson          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/busines
2022-05-26   2022-05-27 s/south-korea-bullying-gapjil.html         Workers Put Abusive Elite On Warning         By Choe SangHun         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/busines Earnings Beat Expectations For Southwest
2022-05-26   2022-05-27 s/southwest-jetblue-revenue.html           and JetBlue                                  By Niraj Chokshi        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/busines UK Announces a Windfall Tax on Oil and
2022-05-26   2022-05-27 s/uk-oil-company-profits-tax.html          Gas Profits                                  By Eshe Nelson          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/busines
2022-05-26   2022-05-27 s/vintage-cars-montero-defender.html       Solutions for Outpriced Vintage Car Seekers By Rob Sass              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/health/
2022-05-26   2022-05-27 dye-contrast-scan-shortage.html            Patients Face Long Waits for Disease Imaging By Reed Abelson         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/health/ In Pandemic World Just Who Is Protected
2022-05-26   2022-05-27 monkeypox-vaccine-immunity.html            Against Monkeypox                            By Apoorva Mandavilli   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-27 a-chiara-review.html                       Visited By Sins Of Her Father                By AO Scott             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-27 a-taste-of-whale-review.html               A Taste of Whale                             By Claire Shaffer       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-27 cannes-film-festival-elvis-eo.html         Films With Power Though No Jet Fuel          By Manohla Dargis       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-27 dinner-in-america-review.html              Dinner in America                            By Concepcin de Len     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-27 fanny-the-right-to-rock-review.html        Fanny The Right To Rock                      By Teo Bugbee           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-27 look-at-me-xxxtentacion-review.html        Look at Me XXXTentacion                      By Glenn Kenny          TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-27 playlist-review-a-broken-record-of-trials.html Playlist                                  By Beatrice Loayza     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/ Ray Liotta 67 Intense Actor of Goodfellas and
2022-05-26   2022-05-27 ray-liotta-dead.html                           Field of Dreams Dies                      By Neil Genzlinger     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-27 the-bobs-burgers-movie-review.html             A Breezy Engaging Summer Refreshment      By Glenn Kenny         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-27 the-tsugua-diaries-review.html                 The Tsugua Diaries                        By Beandrea July       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-27 there-are-no-saints-review.html                There Are No Saints                       By Calum Marsh         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-27 top-gun-maverick-review.html                   Welcome Back to Tom Cruises Flying Circus By AO Scott            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-27 vengeance-is-mine-review.html                  Catching an OffKilter Character in Flight By Wesley Morris       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-27 zero-contact-review.html                       Zero Contact                              By Amy Nicholson       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/nyregio A Developers Tax Break Ends June 15
2022-05-26   2022-05-27 n/tax-exemption-housing-development.html Perhaps for Good                                By Matthew Haag        TX 9-172-761   2022-07-01



                                                                                Page 3802 of 5793
                        https://www.nytimes.com/2022/05/26/nyregio New York Attorney General Can Question      By Jonah E Bromwich Ben Protess
2022-05-26   2022-05-27 n/trump-interview-ny-court.html             Trump Under Oath Court Rules               and William K Rashbaum           TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/opinion
2022-05-26   2022-05-27 /men-abortion.html                          Men Benefit From Abortion Too              By Andra Becker                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/opinion
2022-05-26   2022-05-27 /republicans-guns-uvalde.html               The GOP War on Civil Virtue                By Paul Krugman                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/opinion When It Comes to Gun Violence Caring Is All
2022-05-26   2022-05-27 /texas-shooting-hope.html                   We Seem Able to Do                         By Tressie McMillan Cottom       TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/opinion
2022-05-26   2022-05-27 /the-southern-baptist-sexual-abuse.html     The Southern Baptist Moral Meltdown        By David Brooks                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/opinion
2022-05-26   2022-05-27 /turkey-nato-kurds.html                     Turkey Shows NATOs True Nature             By Cihan Tugal                   TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/sports/b The Yanks Are Winning But Taking Their
2022-05-26   2022-05-27 aseball/yankees-injuries.html               Lumps                                      By James Wagner                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/sports/t
2022-05-26   2022-05-27 ennis/french-open-first-time.html           Wonderment and Wins for Two Outsiders      By Christopher Clarey            TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/technol
2022-05-26   2022-05-27 ogy/broadcom-vmware-deal.html               A Megadeal Could Shake The Cloud           By Nico Grant and Lauren Hirsch TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/26/us/colle
2022-05-26   2022-05-27 ge-enrollment.html                          Enrollment In Colleges Fell in Spring      By Stephanie Saul                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/us/inter Documents After 911 Attacks Offer Clues To
2022-05-26   2022-05-27 net-president-emergency-orders.html         Presidential Powers in an Apocalypse       By Charlie Savage                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/us/irma- Slain Teachers Husband Dies of a Heart
2022-05-26   2022-05-27 garcia-husband-death-uvalde.html            Attack                                     By Eduardo Medina                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/us/mass
2022-05-26   2022-05-27 shooting-school-security.html               School Safety Plans Fail What Now          By Mike Baker and Dana Goldstein TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/us/polit To Constrain China US Aims to Shape the    By Edward Wong and Ana
2022-05-26   2022-05-27 ics/china-policy-biden.html                 Strategic Environment Blinken Says         Swanson                          TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/us/polit US Wont Prosecute Two FBI Agents Who
2022-05-26   2022-05-27 ics/justice-dept-fbi-nassar.html            Bungled Nassar Investigation               By Katie Benner                  TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/26/us/polit White House to Ramp Up Distribution of
2022-05-26   2022-05-27 ics/paxlovid-white-house-covid-deaths.html Covid Pills                                  By Noah Weiland                  TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/26/us/polit Trump EPA Chief Routinely Told His Detail
2022-05-26   2022-05-27 ics/scott-pruitt-epa-report.html            to Drive at Dangerous Speeds                By Eric Lipton                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/26/us/polit After Years of Paralysis on Guns Senators   By Emily Cochrane and Catie
2022-05-26   2022-05-27 ics/senate-guns-bipartisan-deal.html        Grasp Again for a Deal                      Edmondson                        TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/26/us/polit
                        ics/supreme-court-greenhouse-gas-           Justices Allow US to Assess Costs of
2022-05-26   2022-05-27 emissions.html                              Greenhouse Gas Emissions                    By Adam Liptak                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/us/polit US and Its Allies Cant Agree On Defining    By David E Sanger Steven Erlanger
2022-05-26   2022-05-27 ics/zelensky-ukraine-war.html               Victory in Ukraine                          and Eric Schmitt                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/us/repu Republicans Fear The Political Price Of a
2022-05-26   2022-05-27 blicans-gun-control.html                    Compromise                                  By Carl Hulse                    TX 9-172-761    2022-07-01




                                                                               Page 3803 of 5793
                        https://www.nytimes.com/2022/05/26/us/repu Republicans Wont Obey Subpoenas From
2022-05-26   2022-05-27 blicans-jan-6-subpoenas.html               House                                        By Luke Broadwater                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/us/texa California To Advance More Laws On
2022-05-26   2022-05-27 s-shooting-california-laws.html            Firearms                                     By Soumya Karlamangla             TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/us/uval It Stays in Your Mind Coroner Recalls
2022-05-26   2022-05-27 de-coroner-justice-peace.html              Carnage                                       By Edgar Sandoval                  TX 9-172-761   2022-07-01
                                                                                                                 By Natalie Kitroeff Frances Robles
                        https://www.nytimes.com/2022/05/26/us/uval Families Criticize Police for Delays in Texas J David Goodman and Serge F
2022-05-26   2022-05-27 de-police-response-parents.html              Rampage                                     Kovaleski                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/world/e
                        urope/johnson-britain-inflation-energy-      Johnson Tackles Next Political Threat
2022-05-26   2022-05-27 tax.html                                     Inflation                                   By Stephen Castle                  TX 9-172-761   2022-07-01
                                                                                                                 By Patricia Cohen Eshe Nelson
                        https://www.nytimes.com/2022/05/26/world/e Kremlin Makes Push to Bolster Economy as Valeriya Safronova and Michael
2022-05-26   2022-05-27 urope/russia-economy-sanctions.html          Sanctions Take Toll                         Levenson                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/world/ Palestinians Accuse Israel Of Targeting A By Raja Abdulrahim and Hiba
2022-05-26   2022-05-27 middleeast/israel-shireen-abu-akleh.html     Journalist                                  Yazbek                             TX 9-172-761   2022-07-01
                                                                                                                 By Emily Cochrane Lauren
                                                                                                                 Leatherby Alicia Parlapiano Zach
                        https://www.nytimes.com/interactive/2022/05/ Where Senate Republicans Stand on Gun       Montague Aishvarya Kavi Chris
2022-05-26   2022-05-27 25/us/gun-control-republican-senators.html Legislation                                   Cameron and Catie Edmondson        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/theater/
2022-05-27   2022-05-27 fat-ham-review.html                          Hamlet Dismantled                           By Maya Phillips                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/arts/tele How Exactly Did We Get Here Perhaps These
2022-05-27   2022-05-27 vision/stranger-things-recap.html            Clues Will Help                             By Scott Tobias                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/climate GOP Weaponizes Statehouses Against Green By David Gelles and Hiroko
2022-05-27   2022-05-27 /republicans-blackrock-climate.html          Corporate Goals                             Tabuchi                            TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/27/insider/
2022-05-27   2022-05-27 in-the-times-archives-finding-a-mystery.html In the Archives Finding a Mystery          By Dan Saltzstein                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/27/sports/s
2022-05-27   2022-05-27 occer/real-madrid-florentino-perez.html      The Coronation Of Mr Real Madrid           By Rory Smith                     TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/27/technol
                        ogy/college-students-cheating-software-
2022-05-27   2022-05-27 honorlock.html                               The Algorithm Says You Cheated             By Kashmir Hill                   TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/24/us/polit
                        ics/migrant-services-shelters-                                                          By Eileen Sullivan and Kirsten
2022-05-24   2022-05-28 immigration.html                             Counting on Emergency Shelters at Border   Luce                              TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/nyregio Republican Has Game Plan For Tight Race
2022-05-25   2022-05-28 n/nj-tom-kean-congress.html                  Keep Quiet                                 By Tracey Tully                   TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/25/opinion An Angry Crowd Came to My House I Still
2022-05-25   2022-05-28 /jocelyn-benson-protests-judges-homes.html Support Protest                              By Jocelyn Benson                 TX 9-172-761     2022-07-01




                                                                                Page 3804 of 5793
                        https://www.nytimes.com/2022/05/25/theater/
2022-05-25   2022-05-28 i-know-why-the-caged-bird-sings-review.html The Flavors Boiled Out Of a Memoir            By Laura CollinsHughes            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/arts/mu
2022-05-26   2022-05-28 sic/wilco-cruel-country-review.html          A Nostalgic and Understated Magnum Opus By Jon Pareles                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/ The Challenges of Filming a Russian
2022-05-26   2022-05-28 aleksei-navalny-documentary.html             Dissident                                    By Nadav Gavrielov                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-28 ray-liotta-goodfellas.html                   Ray Liotta Right Man For the Job             By Glenn Kenny                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/opinion Any Peace Weve Reached With Covid Is
2022-05-26   2022-05-28 /covid-variants-summer.html                  Likely Only Temporary                        By Farhad Manjoo                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/theater/
2022-05-26   2022-05-28 into-the-woods-broadway-bareilles.html       Broadway Beckons For a Starry Woods          By Michael Paulson                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/sports/b
                        asketball/golden-state-dallas-mavericks-nba- Back From Years Wandering in the             By Tania Ganguli and Scott
2022-05-27   2022-05-28 finals.html                                  Wilderness                                   Cacciola                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/us/polit US to Allow Some to File Applications For
2022-05-27   2022-05-28 ics/asylum-system.html                       Asylum                                       By Eileen Sullivan                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/us/sout List of Alleged Abusers Is Released by
2022-05-27   2022-05-28 hern-baptist-sex-abusers.html                Leaders Of Southern Baptists                 By Ruth Graham                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/arts/dep Deliberations Begin in Actors Defamation
2022-05-27   2022-05-28 p-heard-closing-arguments-libel.html         Case                                         By Julia Jacobs and Adam Bednar   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/arts/mu
2022-05-27   2022-05-28 sic/abba-voyage-london.html                  Virtual Abba Its Sort of Like the Real Thing By Alex Marshall                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/arts/mu
2022-05-27   2022-05-28 sic/samuel-marino-sopranista.html             A Soprano Frees Himself From Limits         By JS Marcus                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/arts/tele
                        vision/katt-williams-world-war-iii-          For Katt Williams the Proof Is in His
2022-05-27   2022-05-28 netflix.html                                 Performance                                  By Jason Zinoman                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/busines US Spending Is Up Even With Buying Power By Ben Casselman and Lydia
2022-05-27   2022-05-28 s/economy/pce-inflation-april.html           Low                                          DePillis                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/busines
                        s/energy-environment/gas-prices-summer-      Gas Prices Keep Surging But Demand Isnt
2022-05-27   2022-05-28 driving.html                                 Falling                                      By Clifford Krauss                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/busines                                                By Emma Goldberg and Dana
2022-05-27   2022-05-28 s/eric-adams-rto-subway.html                 Adams Briefs Employers on Public Safety      Rubinstein                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/fashion
2022-05-27   2022-05-28 /ciner-jewelry-history.html                  Queen of costume jewelry                     By Abigail R Esman                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/fashion
2022-05-27   2022-05-28 /gold-rush-modern-day.html                   The irresistible glitter of gold             By Amy Elliott                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/fashion
2022-05-27   2022-05-28 /jewelry-begum-khan-istanbul.html            Inspired by nature                           By Kathleen Beckett               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/fashion
2022-05-27   2022-05-28 /jewelry-chikueido-kyoto-japan.html          Seven generations in Kyoto                   By Vivian Morelli                 TX 9-172-761   2022-07-01




                                                                                Page 3805 of 5793
                        https://www.nytimes.com/2022/05/27/fashion
2022-05-27   2022-05-28 /jewelry-jacqueline-rabun-los-angeles.html The goal To dream bigger                     By Victoria Gomelsky          TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/27/fashion
2022-05-27   2022-05-28 /jewelry-joel-arthur-rosenthal-christies.html An alluring auction                       By Tanya Dukes                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/fashion
2022-05-27   2022-05-28 /jewelry-larimar-dominican-republic.html      The bluest stone                          By Janelle Conaway            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/fashion
2022-05-27   2022-05-28 /jewelry-the-royal-mint-london.html           The Royal Mint dives into jewelry         By Annabel Davidson           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/fashion
2022-05-27   2022-05-28 /portrait-cut-diamonds.html                   Unconventional diamonds                   By Tanya Dukes                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/fashion
2022-05-27   2022-05-28 /tennis-bracelets.html                        New courts for the tennis bracelet        By Melanie Abrams             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/nyregio Democrat With a Clear Path but No            By Jeffery C Mays and Jesse
2022-05-27   2022-05-28 n/jumaane-williams-governor.html              Momentum                                  McKinley                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/nyregio                                              By Ben Protess William K
2022-05-27   2022-05-28 n/trump-letitia-james-ny.html                 Trumps Suit Over Inquiry Is Dismissed     Rashbaum and Jonah E Bromwich TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/opinion
2022-05-27   2022-05-28 /amanda-gorman-uvalde-poem.html               Hymn For the Hurting                      By Amanda Gorman              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/opinion
2022-05-27   2022-05-28 /uvalde-shooting.html                         America May Be Broken Beyond Repair       By Michelle Goldberg          TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/27/science Russian Academics Seek to Punish
2022-05-27   2022-05-28 /russia-ukraine-science-academy.html        Colleagues Who Backed the Ukraine Invasion By Dalmeet Singh Chawla        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/sports/a
2022-05-27   2022-05-28 utoracing/alfa-romeo-valtteri-bottas.html   Off to a strong start                      By Ian Parkes                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/sports/a
                        utoracing/charles-leclerc-monaco-grand-
2022-05-27   2022-05-28 prix.html                                   Seeking thrills on and off the track       By Ian Parkes                  TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/27/sports/a With Formula 1s Profile Surging in the US
2022-05-27   2022-05-28 utoracing/indianapolis-500-indycar-f1.html IndyCar Is Hoping It Can Keep Up             By Gregory Leporati           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/sports/a
2022-05-27   2022-05-28 utoracing/monaco-grand-prix-contract.html The future of a storied race                  By Luke Smith                 TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/27/sports/h Facing Elimination Rangers Brace for
2022-05-27   2022-05-28 ockey/rangers-hurricanes-nhl-playoffs.html Desperate Game vs Hurricanes                By David Waldstein             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/sports/s
                        occer/luis-diaz-liverpool-champions-        Indigenous Homeland To Champions League
2022-05-27   2022-05-28 league.html                                 Daz Is the Exception                       By Rory Smith                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/sports/s After Uvalde the Yankees Say We Cannot
2022-05-27   2022-05-28 teve-kerr-yankees-rays-guns.html            Look the Other Way                         By Kurt Streeter               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/sports/t Shes American and Yet She Loves Clay Thats
2022-05-27   2022-05-28 ennis/coco-gauff-french-open.html           the Riddle of Coco Gauff                   By Matthew Futterman           TX 9-172-761   2022-07-01




                                                                                Page 3806 of 5793
                        https://www.nytimes.com/2022/05/27/sports/t Chinese Star Emerges at a Tough Time for the
2022-05-27   2022-05-28 ennis/french-open-china-wta.html            Game in Her Homeland                         By Christopher Clarey           TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/27/sports/t
                        ennis/french-open-holger-rune-carlos-       Another Rising Teenage Contender Waits His
2022-05-27   2022-05-28 alcaraz.html                                Turn in Alcarazs Shadow                      By Matthew Futterman            TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/27/technol SEC Began Looking Into Musks Purchases Of
2022-05-27   2022-05-28 ogy/sec-elon-musk-twitter.html              Twitter Stock in April                       By Kate Conger                  TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/27/upshot/
2022-05-27   2022-05-28 housing-market-slow-moving.html             Americans Eye Housing Market and Stay Put By Emily Badger                    TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/27/us/activ In Mass Shootings Officers Told To Confront By Jesus Jimnez Shaila Dewan and
2022-05-27   2022-05-28 e-shooting-trainings.html                   the Attacker First                           Mike Baker                      TX 9-172-761      2022-07-01

                        https://www.nytimes.com/2022/05/27/us/child                                                 By J David Goodman Edgar
                        ren-called-for-help-from-inside-classrooms-in- Police Official Declares Waiting To Move In Sandoval Karen Zraick and Rick
2022-05-27   2022-05-28 uvalde-the-police-waited.html                  Was Wrong Decision                           Rojas                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/us/cruz- Two Republicans From Texas But With Very
2022-05-27   2022-05-28 cornyn-uvalde-texas-school-shooting.html       Different Views                              By Jonathan Weisman             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/us/polit OnceHawkish Think Tank Adopts a More
2022-05-27   2022-05-28 ics/ukraine-aid-heritage-foundation.html       Skeptical View                               By Catie Edmondson              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/us/potts
2022-05-27   2022-05-28 town-house-explosion.html                      House Explosion in Pennsylvania Kills Five By Mike Ives and Johnny Diaz      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/us/trum Up to 50 Subpoenas Expected in Georgia           By Richard Fausset and Danny
2022-05-27   2022-05-28 p-grand-jury-georgia.html                      Trump Investigation                          Hakim                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/us/trum After El Paso Trump Again Made Case for
2022-05-27   2022-05-28 p-gun-control.html                             Gun Control                                  By Michael C Bender             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/world/a India Court Orders Law Enforcement to            By Emily Schmall and Sameer
2022-05-27   2022-05-28 sia/india-prostitution-rights.html             Respect Rights of Prostitutes                Yasir                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/world/a UN Human Rights Chief Visits China Amid a
2022-05-27   2022-05-28 sia/un-china-xinjiang.html                     Clash of Narratives                          By Vivian Wang and Austin Ramzy TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/world/e Margot Heuman 94 Who Bore Witness to the
2022-05-27   2022-05-28 urope/margot-heuman-dead.html                  Holocaust as a Gay Woman Dies                By Penelope Green               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/world/e A Russian Political Refugee Fends Off Putins By Carlotta Gall and Finbarr
2022-05-27   2022-05-28 urope/russian-fighting-for-ukraine.html        Army in Eastern Ukraine                      OReilly                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/world/e
                        urope/vatican-history-secrets-david-           Uncovering Secrets Buried in Vatican
2022-05-27   2022-05-28 kertzer.html                                   Archives                                     By Jason Horowitz               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/world/ Drone Strike on Iranian Military Facility Is      By Farnaz Fassihi and Ronen
2022-05-27   2022-05-28 middleeast/iran-drone-attack.html              Deemed an Attack                             Bergman                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/world/ Iran Claims It Has Seized Greek Ships In the
2022-05-27   2022-05-28 middleeast/iran-seizes-greek-tankers.html      Gulf                                         By Farnaz Fassihi               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/world/
                        middleeast/iraqi-parliament-anti-
2022-05-27   2022-05-28 normalization-israel.html                      Iraq Expands Bill Outlawing Ties With Israel By Jane Arraf                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/your-
2022-05-27   2022-05-28 money/summer-jobs-students.html                A Hot Summer for Teens Seeking Jobs          By Ann Carrns                   TX 9-172-761   2022-07-01



                                                                                Page 3807 of 5793
                        https://www.nytimes.com/2022/05/28/us/polit Border Patrol Unit Has at Times Played a Big
2022-05-27   2022-05-28 ics/border-patrol-uvalde.html                Role                                        By Eileen Sullivan              TX 9-172-761   2022-07-01
                                                                                                                 By Larry Buchanan Keith Collins
                        https://www.nytimes.com/interactive/2022/05/ The Polices Timeline of the Texas School    Lazaro Gamio Taylor Johnston
2022-05-27   2022-05-28 27/us/timeline-texas-shooting-uvalde.html    Shooting                                    Eleanor Lutz and Albert Sun     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/live/2022/05/27/wo
                        rld/russia-ukraine-war/ferocious-russian-                                                By Victoria Kim Megan Specia
                        attacks-spur-accusations-of-genocide-in-     Russian Atrocities Spur Accusations of      Andrew E Kramer and Michael
2022-05-27   2022-05-28 ukraine                                      Genocide                                    Levenson                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/sports/b Giants Manager Boycotts Anthem in Protest
2022-05-28   2022-05-28 aseball/giants-gape-kapler-anthem.html       of the Direction of Our Country             By Scott Miller                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/us/polit FactChecking Comments by Trump and Cruz
2022-05-28   2022-05-28 ics/fact-check-trump-cruz-nra.html           on Gun and Crime Statistics                 By Linda Qiu                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/us/polit Trial Scrutinizing Inquiry Of Russia and
2022-05-28   2022-05-28 ics/michael-sussmann-trial-durham.html       Challenging Durham Heads to the Jury        By Charlie Savage               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/us/uval Uvalde Gunman Left Hints Before Massacre
2022-05-28   2022-05-28 de-gunman-social-media.html                  at School                                   By Nicholas BogelBurroughs      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/busines
                        s/economy/immigration-california-farm-       Farming Transformation In the Fields of     By Eduardo Porter and Ryan
2022-05-28   2022-05-28 labor.html                                   California                                  Christopher Jones               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/us/polit
2022-05-28   2022-05-28 ics/nra-convention-guns.html                 NRA Meets Blaming Evil But Not Guns         By Glenn Thrush                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/us/polit
                        ics/trump-endorsed-candidates-primary-       Primary Losses Cast Doubts on Trumps        By Shane Goldmacher and Maggie
2022-05-28   2022-05-28 elections.html                               Invincibility in GOP Politics               Haberman                        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/03/29/books/r
2022-03-29   2022-05-29 eview/out-there-kate-folk.html               Unhinged                                    By Haley Mlotek                 TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/04/05/books/r
2022-04-05   2022-05-29 eview/the-lifeguards-amanda-eyre-ward.html Our Guys                                   By Elizabeth Wetmore             TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/14/books/r
2022-04-14   2022-05-29 eview/the-avoidable-war-kevin-rudd.html    Possible Catastrophe                       By Kevin Peraino                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/04/18/books/r
                        eview/the-crocodile-bride-ashleigh-bell-
2022-04-18   2022-05-29 pedersen.html                              On the Bayou                               By Fiona Mozley                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/01/books/r
2022-05-01   2022-05-29 eview/after-steve-tripp-mickle.html        The Watchmen                               By Clay Shirky                   TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/09/books/r
                        eview/i-kissed-shara-wheeler-casey-
2022-05-09   2022-05-29 mcquiston.html                             Frenemy Mine                               By Olivia Waite                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/10/books/r
2022-05-10   2022-05-29 eview/don-lee-partition.html               Strivers and Slackers                      By Jane Hu                       TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/11/books/r
                        eview/how-the-world-really-works-vaclev-
2022-05-11   2022-05-29 smil.html                                  The Theory of Nothing                      By Nathaniel Rich                TX 9-172-761     2022-07-01



                                                                               Page 3808 of 5793
                        https://www.nytimes.com/2022/05/12/books/r
                        eview/maggie-shipstead-you-have-a-friend-in-
2022-05-12   2022-05-29 10a.html                                     Sundry Experiences                          By Lizzy Harding               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/books/r
2022-05-17   2022-05-29 eview/alexander-maksik-long-corner.html      Savage Garden                               By Will Stephenson             TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/books/r
2022-05-17   2022-05-29 eview/american-fiction-stories.html          Story Collections                           By Jean Chen Ho                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/17/books/r
2022-05-17   2022-05-29 eview/cheri-the-end-of-cheri-colette.html    Amour Fou                                   By Tash Aw                     TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/19/books/r Is Motherhood Having a Moment Ask Jessi
2022-05-19   2022-05-29 eview/ill-show-myself-out-jessi-klein.html   Klein                                       By Elisabeth Egan              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/20/style/a-
                        poet-activist-at-brown-with-a-powerful-      Poet Activist At Brown Starts A Student
2022-05-20   2022-05-29 voice.html                                   Journal                                     By Alex Hawgood                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/22/sports/n                                              By Talya Minsberg and Alexander
2022-05-22   2022-05-29 ational-senior-games-runners.html            Veteran Runners Have Advice for You         Aguiar                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/opinion
2022-05-23   2022-05-29 /birth-control-abortion-roe-v-wade.html      Birth Control Could Be Next                 By Melissa Murray              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/realesta
2022-05-23   2022-05-29 te/renters-affordable-lottery-brooklyn.html  Affordable Housing Keeps His Dream Alive    By Marian Bull                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/travel/c
2022-05-23   2022-05-29 ycling-bike-paths.html                       With Tracks Gone A New Purpose              By Lauren Sloss                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/travel/c The Gear You Need To Hit The Road Or
2022-05-23   2022-05-29 ycling-gear-guide.html                       Trail                                       By Stephanie Pearson           TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/travel/e-
2022-05-23   2022-05-29 bike-hawaii.html                             Electric Bliss On Hawaiian Isles            By Tim Neville                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/travel/f
2022-05-23   2022-05-29 amily-summer-cycling.html                    Theyre Pedaling Through Childhood           By Caroline Van Hemert         TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/travel/v
2022-05-23   2022-05-29 ancouver-biking.html                         The Soul of a City Via Two Wheels           By Timothy Taylor              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/23/travel/v
2022-05-23   2022-05-29 ermont-mountain-biking.html                  Smoothing Out Bumps in the Path             By Heather Hansman             TX 9-172-761    2022-07-01
                        https://www.nytimes.com/interactive/2022/05/
2022-05-23   2022-05-29 23/magazine/alex-cooper-interview.html       Alex Cooper Is Coming for Joe Rogans Spot   By David Marchese              TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/24/arts/dar
2022-05-24   2022-05-29 k-web-podcasts.html                          Ominous Side Of the Internet                By Emma Dibdin                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/24/magazi
2022-05-24   2022-05-29 ne/therapy-animal-training.html              How to Help Your Pet Soothe a Stranger      By Malia Wollan                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/24/magazi I Witnessed a Murder Is It Wrong to Write
2022-05-24   2022-05-29 ne/true-crime-ethics.html                    About Someone Elses Tragedy                 By Kwame Anthony Appiah        TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/24/magazi
2022-05-24   2022-05-29 ne/ukraine-andrey-kurkov.html                The Pen and the Sword                       By Giles Harvey                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/24/movies/
2022-05-24   2022-05-29 juancho-hernangomez-favorite-things.html     Juancho Hernangmez Wants to Talk Wine       By Kathryn Shattuck            TX 9-172-761    2022-07-01




                                                                                Page 3809 of 5793
                        https://www.nytimes.com/2022/05/24/nyregio
2022-05-24   2022-05-29 n/jewish-world-war-ii-soldiers-burials.html Rededicated With the Star of David            By Liam Stack           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/opinion
2022-05-24   2022-05-29 /abortion-oklahoma-supreme-court.html       Questions for the Court                       By Linda Greenhouse     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/opinion
                        /covid-19-pandemic-vaccine-climate-         What Vaccine Apartheid Portends For the
2022-05-24   2022-05-29 change.html                                 Climate Future                                By David WallaceWells   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/opinion
2022-05-24   2022-05-29 /india-heat-wave-climate-change.html        Spring Never Came to India This Year          By Chandni Singh        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/opinion Changing Language Wont Solve Our
2022-05-24   2022-05-29 /woke-words.html                            Problems                                      By John McWhorter       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/realesta
                        te/you-may-be-ready-for-summer-but-is-your-
2022-05-24   2022-05-29 home.html                                   Get Your Home Ready for the Summer            By Tim McKeough         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/t-
                        magazine/arpa-perfume-barnabe-fillion-
2022-05-24   2022-05-29 synesthesia.html                            Barnab Fillions Scents Senses and Sensibility By Ellie Pithers        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/arts/mu
2022-05-25   2022-05-29 sic/awakenings-opera-oliver-sacks.html      An Opera About Deep Awakenings                By Joshua Barone        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/arts/mu
2022-05-25   2022-05-29 sic/fanny-the-right-to-rock.html            A Reminder That They Rocked                   By Mark Yarm            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/arts/mu
2022-05-25   2022-05-29 sic/harvey-milk-opera.html                  Harvey Milk Reinvented                        By Zachary Woolfe       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/magazi
2022-05-25   2022-05-29 ne/anti-vaccine-movement.html               The AntiVaccine Movements New Frontier By Moises VelasquezManoff      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/magazi
2022-05-25   2022-05-29 ne/biscotti-recipe.html                     Biscotti So Good They Made Me Cry             By Ligaya Mishan        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/magazi
2022-05-25   2022-05-29 ne/jesa-ancestors-korea-ghosts.html         Jesa                                          By Joseph Han           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/magazi
2022-05-25   2022-05-29 ne/winning-time-jerry-west.html             Head Fake                                     By Elizabeth Nelson     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/movies/
2022-05-25   2022-05-29 austin-butler-elvis.html                    He Aint Nothin but Elvis Presley              By Brooks Barnes        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/opinion These Gun Reforms Could Save Lives We
2022-05-25   2022-05-29 /texas-shooting-gun-control.html            Can Achieve Them                              By Nicholas Kristof     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/realesta
                        te/monroe-conn-a-family-centric-community- A Lot More House and Space for a Lot Less
2022-05-25   2022-05-29 with-a-small-town-feel.html                 Money                                         By Susan Hodara         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/realesta
2022-05-25   2022-05-29 te/spain-house-hunting.html                 Not a Lot of Dough for a Restored Flour Mill By Roxana Popescu        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/realesta
2022-05-25   2022-05-29 te/trillium-endangered-plants.html          A Poster Child for Native Plant Survival      By Margaret Roach       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/style/pe
2022-05-25   2022-05-29 aches-singer-album.html                     Pulling Out the Hot Pants                     By Shane ONeill         TX 9-172-761   2022-07-01




                                                                              Page 3810 of 5793
                        https://www.nytimes.com/2022/05/26/arts/tele
2022-05-26   2022-05-29 vision/borgen-greenland.html                 The Geopolitics Are Dark and Cold           By Lisa Abend                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/magazi
                        ne/earth-liberation-front-joseph-mahmoud-
2022-05-26   2022-05-29 dibee.html                                   Backfire                                    By Matthew Wolfe              TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/26/magazi
2022-05-26   2022-05-29 ne/judge-john-hodgman-on-driving-stick.html Bonus Advice From Judge John Hodgman     By John Hodgman                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/magazi                                            By Mark Bibbins and Selected by
2022-05-26   2022-05-29 ne/poem-one-afternoon-you-fixed-me.html     Poem One afternoon you fixed me          Victoria Chang                    TX 9-172-761   2022-07-01
                                                                    Months After a Stroke the Man Began to
                        https://www.nytimes.com/2022/05/26/magazi Choke Whenever He Swallowed Food or
                        ne/statin-immune-mediated-necrotizing-      Liquid He seemed to Be Wasting Away What
2022-05-26   2022-05-29 myopathy-imnm-diagnsosis.html               was This                                 By Lisa Sanders MD                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/26/movies/
2022-05-26   2022-05-29 jurnee-smollett-spiderhead-black-canary.html A Time to Emerge From the Setbacks          By Robert Ito                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/nyregio Shoplifting Ring Targeted Stores for Luxury
2022-05-26   2022-05-29 n/nyc-shoplifting-ring.html                  Goods                                       By Chelsia Rose Marcius       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/opinion
2022-05-26   2022-05-29 /uvalde-texas-shooting.html                  The Unbearable Monotony of Grief            By Jay Caspian Kang           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/realesta Priced Out of Larger Metro Areas Younger
2022-05-26   2022-05-29 te/generation-z-home-buying.html             Buyers Choose Smaller Cities                By Gregory Schmidt            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/style/m
2022-05-26   2022-05-29 other-problems-social-qs.html                Moms Got Problems                           By Philip Galanes             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/style/re
2022-05-26   2022-05-29 al-housewives-leah-mcsweeney.html            Leah McSweeney Likes to Test the Limits     By Alexis Soloski             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/technol Canadas Policy Change Could Mess Up a
2022-05-26   2022-05-29 ogy/canada-internet-service.html             Good Thing                                  By Shira Ovide                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/26/technol The Alarming Accuracy of a Search Engine
2022-05-26   2022-05-29 ogy/pimeyes-facial-recognition-search.html for Your Face                                 By Kashmir Hill               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/world/a Unexpected Blockbuster Has India in an
2022-05-26   2022-05-29 sia/india-film-kashmir-files.html             Uproar                                     By Suhasini Raj               TX 9-172-761   2022-07-01
                                                                      They Had Three Months to Find a
                        https://www.nytimes.com/interactive/2022/05/ TwoBedroom in Brooklyn Would It Be a
2022-05-26   2022-05-29 26/realestate/26hunt-bachrach.html            Condo or Coop                              By Joyce Cohen                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/arts/des
2022-05-27   2022-05-29 ign/cornelia-parker-tate.html                 The Strange World of Cornelia Parker       By Lauren Elkin               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/arts/mu
2022-05-27   2022-05-29 sic/andy-fletcher-dead.html                   Andy Fletcher 60 a Founder of Depeche Mode By Neil Genzlinger            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/books/r
                        eview/hearts-torn-asunder-ernest-dollar-jr-
                        love-and-duty-angela-esco-elder-spectacle-of-
2022-05-27   2022-05-29 grief-sarah-j-purcell.html                    Remembering the Civil War                  By Thomas E Ricks             TX 9-172-761   2022-07-01



                                                                                Page 3811 of 5793
                        https://www.nytimes.com/2022/05/27/books/r
2022-05-27   2022-05-29 eview/new-paperbacks.html                    Paperback Row                                By Miguel Salazar         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/books/r
                        eview/you-know-sex-bodies-gender-puberty-
                        and-other-things-cory-silverberg-fiona-
2022-05-27   2022-05-29 smyth.html                                   Social Butterflies                           By Rachel Brian           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/busines
2022-05-27   2022-05-29 s/stock-market-bear-bull.html                Look at History to Prepare for the Future    By Jeff Sommer            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/climate Hazel Henderson Groundbreaking
2022-05-27   2022-05-29 /hazel-henderson-dead.html                   Environmentalist and Futurist Dies at 89     By Sam Roberts            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/movies/
2022-05-27   2022-05-29 summer-movies-2022.html                      Summer Movies Listings                       By Ben Kenigsberg         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/movies/
2022-05-27   2022-05-29 top-gun-maverick-flying-scenes.html          Need for Speed and Preparation               By Amy Nicholson          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/nyregio Bill de Blasio Knows You Might Not Like
2022-05-27   2022-05-29 n/bill-de-blasio-congress.html               Him                                          By Ginia Bellafante       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/nyregio
                        n/kim-kardashian-pete-davidson-staten-       With Certain People Twos a Crowd on Staten
2022-05-27   2022-05-29 island.html                                  Island                                       By Alyson Krueger         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/nyregio
2022-05-27   2022-05-29 n/laguardia-aiport-delta-new-terminal.html   He Goes to La Guardia but Not for a Flight   By Tammy La Gorce         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/opinion
2022-05-27   2022-05-29 /biden-taiwan-defense-china.html             Defending Taiwan Would Be a Mistake          By Oriana Skylar Mastro   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/opinion
2022-05-27   2022-05-29 /nra-trump-texas-guns.html                   For the NRA The Show Must Go On              By Michelle Cottle        TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/opinion
2022-05-27   2022-05-29 /us-military-targeted-killings.html          Americas Ongoing Secret Wars                 By Phil Klay              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/opinion
2022-05-27   2022-05-29 /uvalde-senate-gun-control.html              So Much for Government By the People         By Jamelle Bouie          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/realesta
2022-05-27   2022-05-29 te/anthony-roth-costanzo-home-sale.html      An Opera Star Is Selling His Starter Home    By Vivian Marino          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/style/da Negotiation Helps Bring Them Closer
2022-05-27   2022-05-29 vid-schulman-sarah-weiner-wedding.html       Together                                     By Julia Carmel           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/style/do After Loss Friends Find Life Partners in Each
2022-05-27   2022-05-29 ttie-zoller-steve-epstein-wedding.html       Other                                        By Louise Rafkin          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/style/ell
2022-05-27   2022-05-29 en-degeneres-show-finale.html                Ellen DeGeneress Bittersweet Farewell        By John Koblin            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/style/le Time to Enjoy Their Exclusive Ride of a
2022-05-27   2022-05-29 ah-koch-matthew-blumhardt-wedding.html       Lifetime                                     By Vincent M Mallozzi     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/style/lib A Mutual Love of Literature Led Them Down
2022-05-27   2022-05-29 by-flores-paul-morris-wedding.html           the Aisle                                    By Rachel Sherman         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/style/mi
                        na-shankar-aditya-radhakrishnan-             Even They Admit That Their Parents Knew
2022-05-27   2022-05-29 wedding.html                                 Best                                         By Nina Reyes             TX 9-172-761   2022-07-01




                                                                                 Page 3812 of 5793
                        https://www.nytimes.com/2022/05/27/style/m
                        odern-love-may-we-please-date-without-asian-
2022-05-27   2022-05-29 hate.html                                    May We Please Just Date Without Hate    By Joyce Juhee Chung                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/27/style/si Anonymous Posting Can Be Tantalizing and
2022-05-27   2022-05-29 dechat-app-college.html                      Toxic                                   By Anna P Kambhampaty               TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/27/style/w A Passion About Food and Culture Proves
2022-05-27   2022-05-29 arren-luckett-karinn-chavarria-wedding.html Attractive                                  By Judy Mandell                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/theater/
2022-05-27   2022-05-29 cats-musical-school.html                    Cats Some Call It Kittens                   By Emily McCullar                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/theater/
2022-05-27   2022-05-29 history-theater-suffs-paradise-square.html  History Has Its Eyes on the Stage           By Jennifer Schuessler             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/us/rose Rosemary Radford Ruether 85 Feminist
2022-05-27   2022-05-29 mary-radford-ruether-dead.html              Theologian                                  By Clay Risen                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/opinion
                        /technology/what-would-an-egalitarian-      What Would a More Egalitarian Internet
2022-05-28   2022-05-29 internet-actually-look-like.html            Actually Look Like                          By Ben Tarnoff                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/us/guns-
2022-05-28   2022-05-29 uvalde-texas.html                           A Town in Grief Searches Its Soul Over Guns By Jack Healy and Natalie Kitroeff TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/28/busines                                            By David YaffeBellany and Jessica
2022-05-28   2022-05-29 s/daniel-defense-rifle-texas-shooting-gun.html Rifle Maker Known for Pushing Limits   SilverGreenberg                   TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/28/busines Law Leads Banks to Vow Not to Discriminate
2022-05-28   2022-05-29 s/dealbook/texas-banks-gun-law.html            Against Firearm Trade                  By Stephen Gandel                 TX 9-172-761      2022-07-01

                        https://www.nytimes.com/2022/05/28/busines If Policy Isnt Changing Some Activists Buy
2022-05-28   2022-05-29 s/gun-companies-activist-shareholders.html Stocks                                       By Emily Flitter                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/28/busines
2022-05-28   2022-05-29 s/palace-theater-times-square-lift.html    Dramatic Lift for a Delicate Theater         By C J Hughes and Jeenah Moon    TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/28/busines
2022-05-28   2022-05-29 s/times-square-new-york-pandemic.html      If Its Too Crowded Will Nobody Go There      By Nicole Hong and Jeenah Moon TX 9-172-761       2022-07-01
                        https://www.nytimes.com/2022/05/28/nyregio
2022-05-28   2022-05-29 n/apartment-hunting-tips.html              Apartment Hunting Diaries                    By Eden Weingart                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/28/nyregio
                        n/buffalo-shooting-celestine-chaney-                                                 By Troy Closson and Gabriela
2022-05-28   2022-05-29 family.html                                One Life Stolen a Whole Family Shattered  Bhaskar                         TX 9-172-761         2022-07-01
                                                                                                             By Anne Barnard Corey Kilgannon
                        https://www.nytimes.com/2022/05/28/nyregio                                           Jazmine Hughes Emma Goldberg
2022-05-28   2022-05-29 n/heat-waves-climate-change-inequality.html Here Comes Summer Cooling Off Isnt Equal and Stephanie MeiLing           TX 9-172-761         2022-07-01

                        https://www.nytimes.com/2022/05/28/nyregio Man Behind the Maps New Yorks Most
2022-05-28   2022-05-29 n/jonathan-cervas-redistricting-maps-ny.html Unexpected Power Broker                     By Jesse McKinley               TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/28/nyregio For Bottle Service With a Smile in a Brooklyn
2022-05-28   2022-05-29 n/nutcrackers-cocktails-nyc.html             Park Hes the Man                            By Julia Carmel                 TX 9-172-761     2022-07-01




                                                                                Page 3813 of 5793
                        https://www.nytimes.com/2022/05/28/obituari Cardinal Angelo Sodano 94 Vaticans Ultimate
2022-05-28   2022-05-29 es/cardinal-angelo-sodano-dies.html         Power Broker Is Dead                        By Jason Horowitz             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/opinion
2022-05-28   2022-05-29 /americas-human-sacrifices.html             Americas Human Sacrifices                   By Maureen Dowd               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/opinion
2022-05-28   2022-05-29 /georgia-trump-kemp-raffensperger.html      The Good News in Georgia                    By Ross Douthat               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/opinion
2022-05-28   2022-05-29 /school-shooting-texas-buffalo-gun.html     A Heartbroken Nation                        By The Editorial Board        TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/28/realesta Our Roommate Wont Pay Rent Or Move Out
2022-05-28   2022-05-29 te/roommate-unpaid-rent-housing-court.html What Can We Do                          By Ronda Kaysen                    TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/28/sports/b An Outfielder Is Slapped Over a Move In
2022-05-28   2022-05-29 aseball/joc-pederson-tommy-pham-slap.html Football                                     By Benjamin Hoffman            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/sports/b
                        asketball/boston-celtics-miami-heat-nba-     As Butler Demolishes Proud Boston Defense
2022-05-28   2022-05-29 finals.html                                  Miami Refuses to Lose                     By Scott Cacciola              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/sports/b A New Strategy to Free Griner From Russia By Tania Ganguli and Jonathan
2022-05-28   2022-05-29 asketball/brittney-griner-russia.html        Make Noise                                Abrams                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/sports/s
2022-05-28   2022-05-29 occer/ucl-final-fake-tickets-delay.html      Fan Logjam And Chaos At Stadium           By Tariq Panja                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/sports/t Banned by Wimbledon Russians Shine at
2022-05-28   2022-05-29 ennis/french-open-medvedev-russians.html     French Open                               By Christopher Clarey          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/style/te
2022-05-28   2022-05-29 d-sarandos-netflix.html                      Whats Up Next at Netflix                  By Maureen Dowd                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/travel/u Some Who Test Positive for Covid Use
2022-05-28   2022-05-29 s-travel-covid-test.html                     Backdoor Routes to Enter US               By Ceylan Yeginsu              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/us/in- In Los Angeles Threatened Tree Has Roots in
2022-05-28   2022-05-29 los-angeles-a-tree-with-stories-to-tell.html 1936 Olympics                             By Tim Arango                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/us/new- Forest Services Own Burn Caused Record
2022-05-28   2022-05-29 mexico-fire-planned-burn.html                Wildfire                                  By Amanda Holpuch              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/us/nra- At NRA Gathering An American Divide Only
2022-05-28   2022-05-29 convention-houston-gun-control.html          Seems to Widen                            By Dan Barry                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/us/polit 1500 Dead Since 2009 Can US Do Something
2022-05-28   2022-05-29 ics/gun-laws-senate-uvalde-buffalo.html      About Mass Shootings                      By Michael D Shear             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/world/a UN Human Rights Chief Tempers Criticism
2022-05-28   2022-05-29 sia/un-human-rights-china.html               of Chinas Treatment of Muslims            By Austin Ramzy                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/world/a FineTuning a Technique To ID Australias
2022-05-28   2022-05-29 ustralia/dna-phenotyping.html                Missing                                   By Oscar Schwartz              TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/28/world/e Irelands Front Room Is Open for Last Look
2022-05-28   2022-05-29 urope/dublin-trinity-library-restoration.html As Renovations Begin                        By Ed OLoughlin             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/world/e
                        urope/france-metoo-patrick-poivre-            A MeToo Stand Against a Serial Seducer in
2022-05-28   2022-05-29 darvor.html                                   France                                      By Norimitsu Onishi         TX 9-172-761   2022-07-01



                                                                                 Page 3814 of 5793
                        https://www.nytimes.com/2022/05/28/world/e Across Russia Crowdsourcing To Send Basic
2022-05-28   2022-05-29 urope/russian-soldiers-military-supplies.html Aid to Soldiers                             By Anton Troianovski            TX 9-172-761    2022-07-01
                        https://www.nytimes.com/live/2022/05/28/wo                                                By Andrew E Kramer Matthew
                        rld/russia-ukraine-war/russia-edges-closer-to- Russia Closes In on Complete Control of an Mpoke Bigg Neil MacFarquhar and
2022-05-28   2022-05-29 seizing-key-city-in-eastern-ukraine            Eastern Province                           Patrick Kingsley                TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/28/us/uval As Texas Shooting Continued Officers         By J David Goodman Mike Baker
2022-05-29   2022-05-29 de-school-police.html                      Questioned Commanders Decision to Wait       Eileen Sullivan and Edgar Sandoval TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/29/busines The Week in Business Escalating US
2022-05-29   2022-05-29 s/the-week-in-business-sanctions-russia.html Sanctions on Russia                        By Marie Solis                   TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/29/crossw
2022-05-29   2022-05-29 ords/daily-puzzle-2022-05-30.html            A Textbook Monday Puzzle                   By Deb Amlen                     TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/29/insider/
2022-05-29   2022-05-29 real-estates-next-move.html                  The Real Estate Sections Next Move         By Megan DiTrolio                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/29/style/do CrashTesting the Limits of DYOR When
2022-05-29   2022-05-29 your-own-research.html                       Expertise Hits a Wall                      By John Herrman                  TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/29/style/fa
                        nciful-frocks-from-the-three-ps-of-parties-
                        performa-parsons-and-the-public-theater-
2022-05-29   2022-05-29 galas.html                                   Fanciful Frocks At Every Glance            By Denny Lee                     TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/29/us/lia- Much Debate but Little Dialogue on
2022-05-29   2022-05-29 thomas-women-sports.html                     Transgender Female Athletes                By Michael Powell                TX 9-172-761     2022-07-01
                        https://www.nytimes.com/article/manhattanhe A Star Aligns in Manhattan For Spectacular
2022-05-29   2022-05-29 nge-sunset-time.html                         Sunsets                                    By Shannon Stirone               TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/02/science
2022-05-02   2022-05-30 /farming-donald-wyse.html                    Scientist Grows a New Future for Farming   By Jonathan Kauffman             TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/18/travel/r
2022-05-18   2022-05-30 omania-transylvanian-alps-bison.html         Tracking Bison on a Transylvanian Safari   By Charly Wilder                 TX 9-172-761     2022-07-01
                        https://www.nytimes.com/interactive/2022/05/ Where Death Rates Rose the Most During the
2022-05-23   2022-05-30 23/health/covid-death-toll-world.html        Pandemic                                   By Denise Lu and Eleanor Lutz    TX 9-172-761     2022-07-01

                        https://www.nytimes.com/2022/05/24/busines
2022-05-24   2022-05-30 s/energy-environment/solar-panel-advice.html Going Solar Heres What You Need            By Vikas Bajaj                   TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/25/technol
2022-05-25   2022-05-30 ogy/us-china-internet.html                   Digital Threads Between the US and China   By Shira Ovide                   TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/26/arts/am
2022-05-26   2022-05-30 ber-heard-tiktok-johnny-depp.html            Feeds Fill With Hate For Actress           By Amanda Hess                   TX 9-172-761     2022-07-01
                                                                                                                By Jon Pareles Jon Caramanica
                        https://www.nytimes.com/2022/05/27/arts/mu Sky Ferreiras Defiant Return and Six More    Isabelia Herrera Giovanni
2022-05-27   2022-05-30 sic/playlist-sky-ferreira-rico-nasty.html    New Songs                                  Russonello and Lindsay Zoladz    TX 9-172-761     2022-07-01
                        https://www.nytimes.com/2022/05/27/arts/tele
2022-05-27   2022-05-30 vision/sex-pistol-steve-jones.html           A Punk Bands Music And More                By Hugh Morris                   TX 9-172-761     2022-07-01




                                                                                Page 3815 of 5793
                        https://www.nytimes.com/2022/05/27/busines Global Brands Rethink Using Cotton From       By Alexandra Stevenson and Sapna
2022-05-27   2022-05-30 s/cotton-xinjiang-forced-labor-retailers.html China                                      Maheshwari                       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/busines Ron Rice 81 Lotion Inventor Who Left Peaks
2022-05-27   2022-05-30 s/ron-rice-dead.html                          for Beaches                                By Sam Roberts                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/movies/
2022-05-27   2022-05-30 top-gun-maverick-cast.html                    A New Class at Cruise Speed                By Ashley Spencer                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/theater/
2022-05-27   2022-05-30 tony-nominees-luncheon-kara-young.html        At the Tonys Luncheon a Waiter Takes a Bow By Michael Paulson               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/movies/
                        cannes-palme-dor-winner-triangle-of-
2022-05-28   2022-05-30 sadness.html                                  Triangle of Sadness Honored at Cannes      By Manohla Dargis                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/opinion The Sense of Life Intensified in the Presence
2022-05-28   2022-05-30 /ukraine-front-line-avdiivka.html             of Death                                   By Yegor Firsov                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/sports/a Facing a NoWin Race With Time She Finds
2022-05-28   2022-05-30 ls-marathons-andrea-peet.html                 A Quest State by State                     By Anna Katherine Clemmons       TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/06/01/us/fligh Prison Time For Woman Who Attacked Air
2022-05-28   2022-05-30 t-attendant-punched-sentencing.html           Attendant                                  By Vimal Patel                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/arts/des
                        ign/fbi-basquiat-paintings-orlando-
2022-05-29   2022-05-30 museum.html                                   Basquiat or Not FBI Is Sizing Up 25 Works By Brett Sokol                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/arts/mu Alan White 72 Drummer Who Performed
2022-05-29   2022-05-30 sic/alan-white-dead.html                      With John Lennon and George Harrison       By Peter Keepnews                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/movies/
2022-05-29   2022-05-30 top-gun-maverick-box-office.html              Top Gun Sequel Soars                       By Brooks Barnes                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/nyregio Loud Noise Ignites Stampede At Brooklyns
2022-05-29   2022-05-30 n/barclays-shooting-panic.html                Barclays Center                            By Amy Julia Harris              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/nyregio Beachgoers Brushing Off Restrictions In New By Sean Piccoli and Amy Julia
2022-05-29   2022-05-30 n/rockaways-swimming-ny-beaches.html          York                                       Harris                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/obituari Ronnie Hawkins Rockabilly Mentor Dies at
2022-05-29   2022-05-30 es/ronnie-hawkins-dead.html                   87                                         By Peter Applebome               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/opinion Gun Safety Must Be Everything That
2022-05-29   2022-05-30 /gun-safety-republicans.html                  Republicans Fear                           By Charles M Blow                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/opinion
2022-05-29   2022-05-30 /translator-credit-cover.html                 Book Translators Deserve Their Due         By Pamela Paul                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/opinion
                        /uvalde-prayers-thoughts-robb-
2022-05-29   2022-05-30 elementary.html                               In Prayer We Find Answers and Strength     By Tish Harrison Warren          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/sports/a
                        utoracing/marcus-ericsson-wins-indianapolis- Swede Cruising Toward Win at Indy Ends Up
2022-05-29   2022-05-30 500.html                                      Needing a Frantic Sprint                   By Gregory Leporati              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/sports/b A Former Ace Eyes Progress And Is Ready
2022-05-29   2022-05-30 aseball/dave-stewart-nashville.html           To Own It                                  By Andrea Williams               TX 9-172-761   2022-07-01




                                                                               Page 3816 of 5793
                        https://www.nytimes.com/2022/05/29/sports/h
2022-05-29   2022-05-30 ockey/rangers-hurricanes-nhl-playoffs.html DeadEnd Trips                               By David Waldstein               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/sports/t Djokovic and Nadal Advance to a Rematch
2022-05-29   2022-05-30 ennis/djokovic-nadal-french-open.html       After a Year of Skirmishes                 By Matthew Futterman             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/sports/t
                        ennis/fernandez-gauff-stephens-french-      An Upbeat Fernandez Goes Deep Displaying
2022-05-29   2022-05-30 open.html                                   BigStage Composure                         By Christopher Clarey            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/sports/t
2022-05-29   2022-05-30 ennis/women-tennis-equal-pay.html           In tennis equal pay is a struggle          By Cindy Shmerler                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/technol
2022-05-29   2022-05-30 ogy/apple-store-union.html                  At Apple A Showdown Over Unions            By Tripp Mickle                  TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/theater/ Her NoGood Big Day Is Just One Bit Thats
2022-05-29   2022-05-30 zoeys-perfect-wedding-review.html           Awry                                       By Naveen Kumar                  TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/29/us/polit Now Showing Trumps Latest Election         By Danny Hakim and Alexandra
2022-05-29   2022-05-30 ics/2000-mules-trump-conspiracy-theory.html Conspiracy Theory                          Berzon                           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/us/polit E Robert Wallach Lawyer Linked to
2022-05-29   2022-05-30 ics/e-robert-wallach-dead.html              ReaganEra Scandal Is Dead at 88            By Clay Risen                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/world/a Solar Power Is New Adversary as Taliban Try By Bryan Denton David Zucchino
2022-05-29   2022-05-30 sia/afghanistan-opium-taliban.html          to Stamp Out Opium                         and Yaqoob Akbary                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/world/a At Cafe Staff Tells of Dutertes Drug War
2022-05-29   2022-05-30 sia/philippines-duterte-victims.html        Victims                                    By Jason Gutierrez               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/world/a In Sri Lanka Lavish Projects Decay As the   By Mujib Mashal Skandha
2022-05-29   2022-05-30 sia/sri-lanka-rajapaska-hambantota.html     Country Faces Crushing Debt                Gunasekara and Atul Loke         TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/29/world/e UKs Labour Struggles to Capitalize On Prime
2022-05-29   2022-05-30 urope/labour-struggles-rust-belt-britain.html Ministers Raft of Mistakes               By Stephen Castle                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/world/e Francis Plans To Introduce 21 Cardinals
2022-05-29   2022-05-30 urope/pope-francis-21-new-cardinals.html      This Summer                              By Elisabetta Povoledo           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/world/e Russian Speakers Decide To Use Ukrainian
2022-05-29   2022-05-30 urope/ukraine-russia-language.html            Instead                                  By Erika Solomon                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/world/e Hold On Kherson Ukraine Begins              By Andrew E Kramer and Jason
2022-05-29   2022-05-30 urope/ukraine-russia-war-kherson.html         Counteroffensive for Key Southern City   Horowitz                         TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/world/r Looking After Russias Dead as They Pile Up
2022-05-29   2022-05-30 ussian-casualties-ukraine.html                in Ukraine                               By Valerie Hopkins               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/06/02/us/state States May See a Window To Enact Gun       By Shawn Hubler and Luis
2022-05-29   2022-05-30 s-gun-restrictions.html                       Legislation                              FerrSadurn                       TX 9-172-761   2022-07-01
                                                                                                               By Edgar Sandoval Zolan
                        https://www.nytimes.com/live/2022/05/29/us/ In Familiar Ritual of Pain Biden Comforts  KannoYoungs Karen Zraick and
2022-05-29   2022-05-30 shooting-texas-school-uvalde/uvalde-biden     Bereaved                                 Jonathan Weisman                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/sports/b
                        asketball/boston-celtics-miami-heat-game-7- Celtics Keep Turnaround Going Topping Heat By Tania Ganguli and Scott
2022-05-30   2022-05-30 nba-finals.html                               to Reach NBA Finals                      Cacciola                         TX 9-172-761   2022-07-01




                                                                              Page 3817 of 5793
                        https://www.nytimes.com/2022/05/29/world/a In Colombia Left and Right Populists Head
2022-05-30   2022-05-30 mericas/colombia-election-results.html       for Runoff                                   By Julie Turkewitz                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/arts/tele
                        vision/whats-on-tv-julia-mtv-movie-tv-
2022-05-30   2022-05-30 awards.html                                  This Week on TV                              By Rachel Sherman                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/busines Tennessee Behemoth Helps US Retake Lead
2022-05-30   2022-05-30 s/us-supercomputer-frontier.html             In Supercomputer Race                        By Don Clark                      TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/nyregio Hochul Stockpiles Donations as Her
2022-05-30   2022-05-30 n/gov-hochul-leads-rivals-donations.html     Opponents Struggle to Keep Pace              By Jay Root and Dana Rubinstein   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/sports/t                                               By Matthew Futterman and James
2022-05-30   2022-05-30 ennis/french-open-red-clay.html              Of Red Clay and French Existentialism        Hill                              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/us/nyc- The Three Men Lost to 20 Bruckner
2022-05-30   2022-05-30 construction-deaths-immigrants.html          Boulevard                                    By Dan Barry and Karen Zraick     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/us/polit
2022-05-30   2022-05-30 ics/photos-uvalde.html                       Would Photos Of the Bodies Change Views      By Elizabeth Williamson           TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/us/polit As NATO Seeks a United Front Turkey           By Michael Crowley and Steven
2022-05-30   2022-05-30 ics/turkey-nato-russia.html                  Disrupts                                     Erlanger                          TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/us/polit
2022-05-30   2022-05-30 ics/veterans-small-business.html             Their Service Inspired Ideas For Business    By Jennifer Steinhauer            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/us/uval Church Venerated in Uvalde Becomes Hub
2022-05-30   2022-05-30 de-church-sacred-heart.html                  for Towns Grief                              By Rick Rojas                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/04/27/well/va
2022-04-27   2022-05-31 gina-probiotics-supplements.html             On Vaginal Health and Probiotics             By Rachel E Gross                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/09/busines
2022-05-09   2022-05-31 s/fast-fashion-hoda-katebi-blue-tin.html     Taking On Fast Fashion by Taking It Down     By Chris Colin                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/17/science Ancient Tooth Fills Gap in Human Family
2022-05-17   2022-05-31 /science-discovery-family-tree.html          Tree                                         By Carl Zimmer                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/21/travel/c In a Crazy Chaotic World The Staycation
2022-05-21   2022-05-31 ovid-cases-staycation-vacation.html          Lives On                                     By Danielle Braff                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/23/science
2022-05-23   2022-05-31 /moth-species-discovery-detroit.html         A Rare Moth Species Is Found at an Airport   By Alex Traub                     TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/science Dangerous Menus Some Elephants Are
2022-05-24   2022-05-31 /india-elephants-plastic.html                Getting Too Much Plastic in Their Diets      By Joshua Rapp Learn              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/technol
2022-05-24   2022-05-31 ogy/amazon-sellers-us-china.html             An American Comeback on Amazon               By Shira Ovide                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/well/eat
2022-05-24   2022-05-31 /protein-powder-muscle-loss.html             Can Protein Powders Help Aging Muscles       By Anahad OConnor                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/24/well/m
2022-05-24   2022-05-31 ove/covid-gym-air.html                       Gauging Covid Risk at the Gym                By Gretchen Reynolds              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/25/climate Jimmy Carter Enters Case Over a Small
2022-05-25   2022-05-31 /alaska-anilca-wilderness-area.html          Alaskan Road                                 By Henry Fountain                 TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/books/h Toggling Between the West Wing and the
2022-05-26   2022-05-31 eres-the-deal-kellyanne-conway.html          Home Front                                   By Alexandra Jacobs               TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/26/science From the Ashes of Pompeii Human DNA
2022-05-26   2022-05-31 /pompeii-vesuvius-dna-archaeology.html       Rises                                        By Franz Lidz                     TX 9-172-761   2022-07-01



                                                                                 Page 3818 of 5793
                        https://www.nytimes.com/2022/05/26/science Slippery Skydiver A Bird A Plane No Its a
2022-05-26   2022-05-31 /salamanders-gliding-redwoods.html         Salamander                                   By Nicholas Bakalar            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/books/d Dervla Murphy 90 Travel Writer on Two
2022-05-27   2022-05-31 ervla-murphy-dead.html                     Wheels Dies                                  By Richard Sandomir            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/movies/
2022-05-27   2022-05-31 james-wong-howe-cinematographer.html       Racism as a Crucible For a Career in Film    By Beatrice Loayza             TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/27/realesta Dream Home or Nightmare When Makeover
2022-05-27   2022-05-31 te/home-makeover-renovation-lawsuit.html Shows Fail                                  By Debra Kamin                    TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/27/science Insect Affections Cockroach Love Takes An
2022-05-27   2022-05-31 /cockroach-sugar-sex.html                   Even Stranger Turn                       By Jason Bittel                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/opinion The US Should Help Children Go to Summer
2022-05-28   2022-05-31 /summer-camp-for-all.html                   Camp                                     By Mara Gay                       TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/28/science Paleontological Metabolism After Dinosaurs
2022-05-28   2022-05-31 /dinosars-warm-cold-blood.html             Hot Start A Long and Chilly Evolution        By Asher Elbein                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/28/well/mi What Gun Violence Does to Our Mental
2022-05-28   2022-05-31 nd/gun-violence-mental-health.html         Health                                       By Christina Caron             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/busines As Others Join Forces Paramount Goes It
2022-05-29   2022-05-31 s/media/paramount-streaming.html           Alone                                        By Benjamin Mullin             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/29/health/
2022-05-29   2022-05-31 mdma-therapy-ptsd.html                     Balm for Scarred Psyches                     By Rachel Nuwer                TX 9-172-761   2022-07-01

                        https://www.nytimes.com/2022/05/29/opinion What America Needs Is a Liberalism That
2022-05-29   2022-05-31 /biden-liberalism-infrastructure-building.html Builds                                  By Ezra Klein                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/arts/des
                        ign/christopher-wool-interview-photo-
2022-05-30   2022-05-31 books.html                                     An Artists Vision Encompasses Layers    By Randy Kennedy                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/arts/mu
2022-05-30   2022-05-31 sic/abba-voyage-review.html                    Its Abba Reborn Or Very Close to It     By Juan A Ramrez                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/arts/mu
                        sic/spoleto-festival-usa-rhiannon-giddens-
2022-05-30   2022-05-31 omar.html                                      Where Opera Is an Act of Liberation     By Joshua Barone                TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/arts/tele
2022-05-30   2022-05-31 vision/pistol-angelyne.html                    Rock n Roll Swindles Revisited          By James Poniewozik             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/busines Stung by High Energy Costs Hawaii Looks to
2022-05-30   2022-05-31 s/hawaii-solar-energy.html                     the Sun                                 By Ivan Penn and Ruth Fremson   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/canada- Canadas Military Mired in Scandal Looks for
2022-05-30   2022-05-31 military-sexual-misconduct.html                a New Path                              By Ian Austen                   TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/nyregio In Maloney vs Nadler New York Must Pick a
2022-05-30   2022-05-31 n/jerry-nadler-carolyn-maloney.html            Side East or West                       By Nicholas Fandos              TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/nyregio
                        n/nyc-manhattan-brooklyn-commute-              They Live and Play in Brooklyn Now They
2022-05-30   2022-05-31 offices.html                                   Can Work There Too                      By Matthew Haag                 TX 9-172-761   2022-07-01




                                                                                Page 3819 of 5793
                        https://www.nytimes.com/2022/05/30/nyregio Gold Tabernacle Stolen From Church Police
2022-05-30   2022-05-31 n/stolen-tabernacle-brooklyn-church.html    Say                                           By Ali Watkins                   TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/30/opinion No One Can Hide From This Weapon in the
2022-05-30   2022-05-31 /drones-ukraine-war.html                    War in Ukraine                                By Alex Kingsbury                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/30/opinion How Illinois Is Winning in the Fight Against
2022-05-30   2022-05-31 /illinois-biometric-data-privacy.html       Big Tech                                      By Greg Bensinger              TX 9-172-761      2022-07-01
                        https://www.nytimes.com/2022/05/30/sports/b                                               By Ed Augustin Morgan Campbell
2022-05-30   2022-05-31 oxing-cuba.html                             Boxing for Cuba and Now the Lucre             and Todd Heisler               TX 9-172-761      2022-07-01

                        https://www.nytimes.com/2022/05/30/sports/ Cilic Shining in Moment and Recalling Past
2022-05-30   2022-05-31 marin-cilic-daniil-medvedev-french-open.html Glory Ousts Medvedev                        By Christopher Clarey             TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/30/sports/t An Epic That Could Be Down to Its Final
2022-05-30   2022-05-31 ennis/rafael-nadal-vs-novak-djokovic.html    Chapters                                    By Christopher Clarey             TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/30/us/polit
                        ics/republican-poll-monitors-election-       Election Denier Musters Army To Watch
2022-05-30   2022-05-31 activists.html                               Vote                                        By Alexandra Berzon               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/30/us/polit Senate Chasing an EverElusive Gun Law
2022-05-30   2022-05-31 ics/senate-guns-democracy.html               Deal                                        By Jonathan Weisman               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/30/us/victi They Sent 2 Siblings to School Only One
2022-05-30   2022-05-31 ms-texas-shooting-family.html                Came Home                                   By Edgar Sandoval                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/30/world/a
                        mericas/colombia-presidential-election-      A Populist Candidate in Colombia Is Shaking
2022-05-30   2022-05-31 hernandez-petro.html                         Up the Field                                By Julie Turkewitz                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/30/world/c
2022-05-30   2022-05-31 anada/canada-gun-buyback.html                Canada Plans Tighter Rules On Firearms      By Ian Austen and Vjosa Isai      TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/30/world/e
                        urope/eu-summit-ukraine-enlargement-         Thorny Debate Does EU Owe a Spot to
2022-05-30   2022-05-31 accession-talks-nato.html                    Ukraine                                     By Steven Erlanger                TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/30/world/e Staff Shortages At Airport Bring Chaos to
2022-05-30   2022-05-31 urope/ireland-dublin-airport-delay-covid.html Dublin                                      By Megan Specia                  TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/30/world/e A Shocking Pastry Attack but She Smiles
2022-05-30   2022-05-31 urope/mona-lisa-pastry-louvre.html            Through It All                              By Daniel Victor and Maria Cramer TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/world/e French Officials Accept Little Blame for       By Aurelien Breeden and Tariq
2022-05-30   2022-05-31 urope/ucl-game-delay-france.html              Chaos at Champions League Final             Panja                             TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/30/world/e A Plane Was Plummeting On the Ground           By Valerie Hopkins and Maria
2022-05-30   2022-05-31 urope/ukraine-russia-chernihiv.html           Survival Depended on Timing                 Varenikova                        TX 9-172-761   2022-07-01

                        https://www.nytimes.com/live/2022/05/30/wo EU Reaches Deal to Ban Most Russian Oil        By Matina StevisGridneff and
2022-05-30   2022-05-31 rld/russia-ukraine-war/russia-oil-ban-europe Imports                                      Richard PrezPea                  TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/30/sports/h
2022-05-31   2022-05-31 ockey/rangers-hurricanes-nhl-playoffs.html Comforts of Road                               By Shawna Richer                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/30/theater/ When La Revolucin Comes It Will Be
2022-05-31   2022-05-31 notes-on-killing-review.html                Wearing Glitter                               By Alexis Soloski                TX 9-172-761    2022-07-01



                                                                                 Page 3820 of 5793
                        https://www.nytimes.com/2022/05/30/us/polit                                                By Luke Broadwater and Alan
2022-05-31   2022-05-31 ics/peter-navarro-jan-6-subpoena.html       Top Trump Confidant Gets Jan 6 Subpoena        Feuer                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/31/busines                                                 By Peter Eavis and Talmon Joseph
2022-05-31   2022-05-31 s/stock-market-company-profits.html         Companies May Struggle To Up Profits           Smith                            TX 9-172-761   2022-07-01
                        https://www.nytimes.com/2022/05/31/busines
2022-05-31   2022-05-31 s/stocks-bear-market.html                   Uncertainty Will Linger For Wall St            By Coral Murphy Marcos          TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/31/climate Trumps Policies Held Back US in Climate
2022-05-31   2022-05-31 /united-states-climate-ranking-trump.html   Ranking                                        By Maggie Astor                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/31/nyregio Still a Lot Left on the Agenda as the Session   By Grace Ashford and Luis
2022-05-31   2022-05-31 n/gun-control-abortion-albany.html          Comes to an End in Albany                      FerrSadurn                      TX 9-172-761    2022-07-01

                        https://www.nytimes.com/2022/05/31/science
2022-05-31   2022-05-31 /asteroids-algorithm-planetary-defense.html Using Math to Spot Hidden Asteroids            By Kenneth Chang                TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/31/us/amer
2022-05-31   2022-05-31 ica-life-uvalde-covid.html                   Whats the Limit on How Much We Can Cry        By Elizabeth Dias               TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/05/31/world/a Uproar in China Over Illustrations In Math
2022-05-31   2022-05-31 sia/china-children-textbooks.html            Textbooks                                     By Austin Ramzy                 TX 9-172-761    2022-07-01
                        https://www.nytimes.com/2022/04/11/travel/fl Descending Into Floridas SlowMotion
2022-04-11   2022-06-01 orida-freshwater-springs.html                Environmental Tragedy                         By Jason Gulley                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/05/20/well/fa
                        mily/breast-milk-sharing-formula-            Here to Help What to Know About Sharing
2022-05-20   2022-06-01 shortage.html                                Breast Milk                                   By Catherine Pearson            TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/05/26/dining/
                        drinks/wine-school-assignment-alsace-
2022-05-26   2022-06-01 white.html                                   Neither German Nor French                     By Eric Asimov                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/05/26/dining/
                        drinks/wine-school-maconnais-white-
2022-05-26   2022-06-01 burgundy.html                                The Mconnais Loses Its Poor Reputation        By Eric Asimov                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/05/26/dining/j
2022-05-26   2022-06-01 oy-ice-cream-cones.html                      One Cone to Rule Them All                     By Priya Krishna                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/05/26/dining/
2022-05-26   2022-06-01 missoulas-kitchen-refugees.html              Refugees Share Their Recipes in Montana       By Kate Bernot                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/05/27/dining/
2022-05-27   2022-06-01 a-simple-ricotta-pasta-recipe.html           Warm Taste Of the Sublime                     By Melissa Clark                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/05/27/dining/
2022-05-27   2022-06-01 best-picnic-ideas.html                       Putting Some Effort Into the Picnic           By David Tanis                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/05/27/dining/t
2022-05-27   2022-06-01 aco-bell-drag-brunch.html                    At Brunch Fast Food With a Bit Of Glitter     By Erik Piepenburg              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/05/27/movies/
2022-05-27   2022-06-01 emergency-movie-behind-the-scenes.html       Building a Big Mess on Campus                 By Mekado Murphy                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/05/27/technol Beware the Crypto Hype From Celebrities
2022-05-27   2022-06-01 ogy/crypto-influencers.html                  Who Are Cashing In                            By David YaffeBellany           TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/05/28/us/polit Fear That Russia Plans To Leverage Syrian
2022-05-28   2022-06-01 ics/russia-syria-aid-refugees.html           Aid For an Edge in Ukraine                    By Lara Jakes                   TX 9-179-521    2022-08-01




                                                                                 Page 3821 of 5793
                        https://www.nytimes.com/2022/05/30/opinion
2022-05-30   2022-06-01 /omicron-sick-leave.html                    Calling In Sick Is More Fraught Than Ever   By Aaron E Carroll                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/arts/dan
                        ce/jordan-demetrius-lloyd-jerome-bed-
2022-05-31   2022-06-01 stuy.html                                   A Young Choreographers Home and Stage       By Charmaine Patricia Warren      TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/31/arts/dan
2022-05-31   2022-06-01 ce/new-york-city-ballet-spring-season.html  A Farewell but Signs of a Fine Future       By Gia Kourlas                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/arts/lvi
2022-05-31   2022-06-01 v-ukraine-refugee-housing.html              A Home to Refugees Girds for a Long War     By Jane Arraf                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/arts/mu
                        sic/harry-styles-harrys-house-billboard-
2022-05-31   2022-06-01 chart.html                                  Vinyl Sales Help Harry Styles Reach No 1    By Ben Sisario                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/arts/mu
2022-05-31   2022-06-01 sic/review-rakes-progress-met-opera.html    A Bit of Sophisticated Catnip               By Zachary Woolfe                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/31/arts/tele
2022-05-31   2022-06-01 vision/kevin-spacey-sexual-assault-uk.html Kevin Spacey to Face Charges in Britain      By Julia Jacobs                   TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/31/books/r
2022-05-31   2022-06-01 eview-tracy-flick-cant-win-tom-perrotta.html A Big Achiever Reconsiders Her Back Story By Molly Young                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/books/ Walter Abish a Daring Writer Who Pondered
2022-05-31   2022-06-01 walter-abish-dead.html                       Germany Is Dead at 90                     By Alan Cowell                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/briefing Masks Work So Why Havent Mandates Made
2022-05-31   2022-06-01 /masks-mandates-us-covid.html                Much Difference                           By David Leonhardt                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/31/busines
                        s/a-senate-democrat-wants-wells-fargos-ceo-
2022-05-31   2022-06-01 to-fix-its-problems-once-and-for-all.html   Senator Warns Wells Fargo To Shape Up       By Emily Flitter                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/busines Biden Meets With Fed Chair Presenting        By Jim Tankersley and Jeanna
2022-05-31   2022-06-01 s/biden-powell-meeting-inflation.html       Image of United Front                       Smialek                           TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/31/busines                                                By Jane Margolies and Lanna
2022-05-31   2022-06-01 s/cryptocurrency-office-space-new-york.html Crypto Firms Snap Up RealWorld Space          Apisukh                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/busines
                        s/energy-environment/florida-power-light-   How a Florida Power Project Avoided the
2022-05-31   2022-06-01 electric-line.html                          Regulators                                    By Ivan Penn                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/busines Inflation in Eurozone Hits Highest Level of
2022-05-31   2022-06-01 s/eurozone-inflation.html                   Euro Era                                      By Liz Alderman                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/busines Aviation SelfRegulation Privileges Are
2022-05-31   2022-06-01 s/faa-boeing-regulation.html                Limited for Boeing                            By Niraj Chokshi                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/busines
2022-05-31   2022-06-01 s/iss-spirit-frontier-jetblue.html          Advisory Firm Prefers JetBlue For Spirit Deal By Niraj Chokshi                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/busines                                                By Lauren Hirsch and Benjamin
2022-05-31   2022-06-01 s/media/forbes-public-spac-deal.html        Forbes Is Said To Scrap Plan For SPAC Deal Mullin                             TX 9-179-521   2022-08-01



                                                                                Page 3822 of 5793
                        https://www.nytimes.com/2022/05/31/dining/
2022-05-31   2022-06-01 dar-yemma-review-tagine-nyc.html            A Moroccan Adventure Awaits in Queens        By Pete Wells                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/dining/i To Cheer Taste the Rainbow This Pride
2022-05-31   2022-06-01 ndonesian-rainbow-cake-lady-wong.html       Month                                        By Florence Fabricant             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/dining/ To Explore Spotlight Is on Produce At NY
2022-05-31   2022-06-01 nybg-around-the-table-food-exhibit.html     Botanical Garden                             By Florence Fabricant             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/dining/ La Marchande With Modernized French Fare
2022-05-31   2022-06-01 nyc-restaurant-news.html                    Opens in the Financial District              By Florence Fabricant             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/dining/ To Enjoy Precious Strawberry Is Easier on the
2022-05-31   2022-06-01 oishii-strawberry-drops-its-price.html      Wallet                                       By Florence Fabricant             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/dining/r
2022-05-31   2022-06-01 epublic-of-tea-jasmine-pearls.html          A Big Anniversary Calls for a Unique Tea     By Florence Fabricant             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/dining/ To Learn Discussing Biltong And Other
2022-05-31   2022-06-01 south-african-food-talk.html                Delights                                     By Florence Fabricant             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/dining/ To Peruse Dana Cowin Returns With a
2022-05-31   2022-06-01 speaking-broadly-zine-dana-cowin.html       Colorful Zine                                By Florence Fabricant             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/health/ Many Insurers Wont Cover New Weight Loss
2022-05-31   2022-06-01 obesity-drugs-insurance.html                Drugs                                        By Gina Kolata                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/health/ Older Americans Died at High Rate In          By Benjamin Mueller and Eleanor
2022-05-31   2022-06-01 omicron-deaths-age-65-elderly.html          Omicron Wave                                 Lutz                              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/nyregio
                        n/john-joyce-sheridan-deaths-               New Jersey Prosecutors Open Inquiry Into
2022-05-31   2022-06-01 investigation.html                          2014 Deaths of Prominent Couple              By Tracey Tully                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/nyregio
                        n/subway-shooting-victim-sues-gun-maker- Victim in Subway Shooting Sues Gunmaker
2022-05-31   2022-06-01 glock.html                                  Over Attack That Changed My Life             By Troy Closson                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/opinion What America Will and Will Not Do in
2022-05-31   2022-06-01 /biden-ukraine-strategy.html                Ukraine                                      By Joseph R Biden Jr              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/opinion
2022-05-31   2022-06-01 /putin-europe-ukraine.html                  Putin Awakened a Sleeping Giant              By Thomas L Friedman              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/opinion This Supreme Court Decision About Guns Is
2022-05-31   2022-06-01 /supreme-court-heller-guns.html             Being Misused                                By Kate Shaw and John Bash        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/sports/b
2022-05-31   2022-06-01 aseball/david-peterson-mets.html            A FillIn for the Mets Hopes to Stick Around By Gary Phillips                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/sports/b Too Much Talent For Too Few Spots In the
2022-05-31   2022-06-01 asketball/wnba-roster-players.html          WNBA                                         By Kurt Streeter                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/sports/t Zverev Reaches Semifinals And Slows
2022-05-31   2022-06-01 ennis/alexander-zverev-carlos-alcaraz.html  Alcarazs Surge                               By Christopher Clarey             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/sports/t
                        ennis/coco-gauff-advances-to-french-open-   Gauff Graduates to a New Stage of Her
2022-05-31   2022-06-01 semifinals.html                             Career                                       By Christopher Clarey             TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/31/sports/t Nadal Playing Through Pain Ousts Djokovic
2022-05-31   2022-06-01 ennis/nadal-djokovic-score-french-open.html in a 4Hour Thriller                       By Christopher Clarey                TX 9-179-521   2022-08-01




                                                                                Page 3823 of 5793
                        https://www.nytimes.com/2022/05/31/technol
2022-05-31   2022-06-01 ogy/doom-times-in-tech.html                Days of Doom Rattle the Tech World          By Shira Ovide                      TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/05/31/technol
                        ogy/misinformation-sheriff-election-       How Some States Are Combating Election
2022-05-31   2022-06-01 midterms.html                              Misinformation Ahead of Midterms            By Cecilia Kang                     TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/05/31/us/hepa Strawberries Linked to Hepatitis A Outbreak
2022-05-31   2022-06-01 titis-a-us-canada-strawberries.html        FDA Says                                    By Michael Levenson                 TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/05/31/us/polit In a First a Woman Will Lead a Military
2022-05-31   2022-06-01 ics/coast-guard-commandant-linda-fagan.html Branch                                      By John Ismay                      TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/05/31/us/polit Acquittal Deals Blow to Inquiry Urged by
2022-05-31   2022-06-01 ics/michael-sussmann-durham-fbi.html        Trump                                       By Charlie Savage                  TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/05/31/us/polit They Claim Voter Fraud Unless Its a GOP     By Reid J Epstein and Nick
2022-05-31   2022-06-01 ics/republicans-voter-fraud-claims-2022.html Primary                                    Corasaniti                         TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/05/31/us/polit Russian Military Not Learning From Mistakes
2022-05-31   2022-06-01 ics/russia-military-eastern-ukraine.html     US Officials Say                           By Helene Cooper                   TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/05/31/us/polit As Some Nations Push to Seize Russian           By Alan Rappeport and David E
2022-05-31   2022-06-01 ics/russia-sanctions-central-bank-assets.html Assets US Debates Legality                    Sanger                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/us/polit Supreme Court Blocks a Texas Law
2022-05-31   2022-06-01 ics/supreme-court-social-media-texas.html     Regulating Social Media Platforms             By Adam Liptak                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/us/uval Days of Funerals Begin in Uvalde With a Plea
2022-05-31   2022-06-01 de-victims-funerals.html                      to Celebrate Life                             By Rick Rojas                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/world/a                                                  By Elian Peltier Mady Camara and
2022-05-31   2022-06-01 frica/mali-massacre-investigation.html        Russian Militia In Mali Linked To a Massacre Christiaan Triebert               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/world/a Allinllachu World Quechua Joins Google
2022-05-31   2022-06-01 mericas/google-translate-quechua.html         Translate                                     By Mitra Taj                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/world/a Some Stay Put In East Ukraine As Battle
2022-05-31   2022-06-01 sia/ukrainians-donbas-russia-war.html         Nears                                         By Carlotta Gall                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/world/a In the Race for Influence in the Pacific Islands
2022-05-31   2022-06-01 ustralia/china-united-states-pacific.html     China Is Miles Ahead                          By Damien Cave                   TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/31/world/e French Diplomats See Move by Macron as
2022-05-31   2022-06-01 urope/macron-diplomats-strike-france.html  Demotion and Call a Strike                   By Roger Cohen                     TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/05/31/world/e Russian Troops Enter Sievierodonetsk as EU By Matina StevisGridneff and
2022-05-31   2022-06-01 urope/sievierodonetsk-eu-oil-embargo.html Pledges 97 Billion to Kyiv                    Richard PrezPea                    TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/05/31/world/ Trade Accord With UAE Would Be Israels
2022-05-31   2022-06-01 middleeast/israel-emirates-uae-trade.html   Broadest Yet With an Arab Country           By Patrick Kingsley                TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/05/31/busines Citing Lack of Evidence Judge Rejects Palins
2022-06-01   2022-06-01 s/sarah-palin-new-york-times-libel.html     Bid for New Trial Against Times             By Sheera Frenkel                  TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/05/31/us/polit
2022-06-01   2022-06-01 ics/biden-ukraine-rockets.html              New Rockets In 700 Million Of Military Aid By Michael D Shear                  TX 9-179-521     2022-08-01




                                                                                 Page 3824 of 5793
                        https://www.nytimes.com/2022/06/01/arts/des
2022-06-01   2022-06-01 ign/la-guardia-delta-terminal-c-art.html    The Hot New Gallery Is an Airport Terminal By Hilarie M Sheets                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/01/insider/
2022-06-01   2022-06-01 a-cartoon-producer-turned-war-reporter.html A Cartoon Producer Turned Reporter          By Natalia Yermak                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/nyregio
                        n/tabernacle-st-augustine-church-            Theft of Holy Relic Stuns Faithful in
2022-06-01   2022-06-01 brooklyn.html                                Brooklyn                                   By Ali Watkins and Sean Piccoli    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/sports/g A Relaxed Wie West Looks Back on the
2022-06-01   2022-06-01 olf/michelle-wie-west-us-open.html           Amazing Journey of Her Career              By Bill Pennington                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/sports/h Young Rangers Turn to a Veteran as They Try
2022-06-01   2022-06-01 ockey/rangers-lightning-nhl-playoffs.html    to Catch the Lightning                     By David Waldstein                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/technol                                              By Steven Lee Myers and Stuart A
2022-06-01   2022-06-01 ogy/fringe-mainstream-social-media.html      Hate on Web Is Expanding From Fringes      Thompson                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/style/ca
2022-05-27   2022-06-02 nnes-film-festival-red-carpet-fashion.html   Highlights From the Red Carpet at Cannes   By Vanessa Friedman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/28/style/fle
2022-05-28   2022-06-02 et-week-women.html                           The Women of Fleet Week Hit the Town       By Alex Williams                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/29/movies/ Heddy Honigmann Whose Films Told of Loss
2022-05-29   2022-06-02 heddy-honigmann-dead.html                    and Love Is Dead at 70                     By Penelope Green                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/30/sports/k Kenny Moore 78 Athlete With Real Literary
2022-05-30   2022-06-02 enny-moore-dead.html                         Bent                                       By Richard Sandomir                TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/30/style/vi At Jet Rag in Los Angeles Vintage Dreams
2022-05-30   2022-06-02 ntage-lovers-with-a-dollar-and-a-dream.html Sell for 1                                  By Max Berlinger                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/arts/tele
2022-05-31   2022-06-02 vision/anson-boon-johnny-rotten.html         He Slammed Himself Into a PunkRock Role By Douglas Greenwood                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/arts/tele Marvin Josephson 95 Who Scored Huge
2022-05-31   2022-06-02 vision/marvin-josephson-dead.html            Deals for Actors and Authors               By Neil Genzlinger                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/nyregio
2022-05-31   2022-06-02 n/q23-slow-bus-queens.html                   A Long Slow Slog To Get to Work            By Ana Ley and Jose A Alvarado Jr TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/05/31/opinion
2022-05-31   2022-06-02 /prosecutor-abortion-virginia.html           I Wont Enforce Abortion Laws               By Steve Descano                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/style/dr Drew Afualo TikTok Star Goes on a
2022-05-31   2022-06-02 ew-afualo-tiktok.html                        Breakfast Crawl                            By Danya Issawi                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/theater/ Shakespearean Fantasy Retold as a Spoofy
2022-05-31   2022-06-02 romeo-bernadette-review.html                 Romp                                       By Laura CollinsHughes             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/world/c
                        anada/british-columbia-decriminalizes-       Canada Eases Drug Laws In Province Hit
2022-05-31   2022-06-02 drugs.html                                   Hardest                                    By Vjosa Isai and Catherine Porter TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/arts/bro Furtive Photos Of Nude Scenes Imperil Trust
2022-06-01   2022-06-02 adway-nudity-phone-cameras.html              On Broadway                                By Matt Stevens                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/arts/dep Heard Defamed Depp in Abuse Claim Jury
2022-06-01   2022-06-02 p-heard-trial.html                           Finds                                      By Julia Jacobs and Adam Bednar TX 9-179-521      2022-08-01




                                                                                Page 3825 of 5793
                        https://www.nytimes.com/2022/06/01/arts/mu
2022-06-01   2022-06-02 sic/kk-dead.html                             KK 53 Mesmerizing Bollywood Singer        By Suhasini Raj                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/arts/rus
2022-06-01   2022-06-02 sia-ukraine-muratov-nobel.html               Russian Journalist To Auction His Nobel   By Jennifer Schuessler          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/arts/spi
2022-06-01   2022-06-02 der-man-60.html                              Readers Embrace 60 Years of SpiderMan     By George Gene Gustines         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/arts/tele
                        vision/bo-burnham-norm-macdonald-
2022-06-01   2022-06-02 comedy.html                                  When the Laughter Went Missing            By Jason Zinoman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/arts/tele
                        vision/gil-birmingham-yellowstone-under-the-
2022-06-01   2022-06-02 banner-of-heaven.html                        A Native Actor Now In Charge              By Chris Vognar                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/arts/tele
                        vision/opening-statements-bill-cosby-judy-   First Civil Case Against Cosby Opens With By Graham Bowley Lauren Herstik
2022-06-01   2022-06-02 huth-civil-trial.html                        Account of Meeting at Playboy Mansion     and Douglas Morino              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/books/c A Kidnapping and the Situation Only
2022-06-01   2022-06-02 hris-pavone-two-nights-lisbon.html           Worsens                                   By Janet Maslin                 TX 9-179-521   2022-08-01
                                                                     US Will Forgive 58 Billion in Loans for
                        https://www.nytimes.com/2022/06/01/busines 560000 Students at College Chain That
2022-06-01   2022-06-02 s/corinthian-student-loan-forgiveness.html   Collapsed                                 By Stacy Cowley                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/busines
2022-06-01   2022-06-02 s/economy-bank-ceos.html                     Banking Chiefs See Headwinds For Economy By Lananh Nguyen                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/busines In Challenge to China US Seeks to Buttress
2022-06-01   2022-06-02 s/economy/biden-taiwan-trade.html            Trade Ties to Taiwan                      By Ana Swanson                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/busines
2022-06-01   2022-06-02 s/economy/job-openings-april-2022.html       Job Openings Dipped in April From Apex    By Lydia DePillis               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/busines Feud Over Rights of Gig Workers Shifts to
2022-06-01   2022-06-02 s/massachusetts-gig-workers-ballot.html      Massachusetts                             By Kellen Browning              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/01/busines
2022-06-01   2022-06-02 s/media/vox-media-union-contract-talks.html Union at Vox Vows to Strike If Talks Fail   By Katie Robertson            TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/busines Sturm Ruger Shareholders Vote to Study the
2022-06-01   2022-06-02 s/ruger-shareholders-vote.html              Effects Of Guns on Human Rights             By Emily Flitter              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/climate US to Cut Costs for Wind and Solar Energy
2022-06-01   2022-06-02 /biden-solar-wind-fees-cut.html             Projects on Public Land                     By Lisa Friedman              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/health/c A Family Grapples With Puzzling Hepatitis
2022-06-01   2022-06-02 hildren-hepatitis-adenovirus.html           and a Liver Transplant                      By Emily Anthes               TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/01/nyregio More Dancing Fewer Rules in New York City By Jeffery C Mays and Julia
2022-06-01   2022-06-02 n/01adams-dancing-cabaret.html             Mayor Suggests as He Focuses on Recovery Carmel                            TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/nyregio Buffalo Jury Indicts Man On 25 Counts In
2022-06-01   2022-06-02 n/buffalo-gunman-indictment.html           Massacre                                  By Jesse McKinley                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/nyregio How Adamss Struggle With Dyslexia Shapes
2022-06-01   2022-06-02 n/eric-adams-dyslexia.html                 His Policies as Mayor                     By Emma G Fitzsimmons            TX 9-179-521    2022-08-01




                                                                               Page 3826 of 5793
                        https://www.nytimes.com/2022/06/01/nyregio Port Authority to End Undercover Patrolling
2022-06-01   2022-06-02 n/port-authority-bathroom-patrols.html      In Terminals Bathrooms                     By Troy Closson and Ashley Wong TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/nyregio Adams to Name Gun Violence Czar as          By Dana Rubinstein and Jeffery C
2022-06-01   2022-06-02 n/shootings-guns-eric-adams.html            Shootings in New York Persist              Mays                             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/opinion Make Guns Less Cool It Worked With
2022-06-01   2022-06-02 /anti-gun-ad-campaign.html                  Smoking                                    By Pamela Paul                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/opinion When Choosing Judges Democrats Must Stop
2022-06-01   2022-06-02 /judges-democrats-antitrust.html            Ignoring Economics                         By Binyamin Appelbaum            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/opinion The Simplest Responses to School Shootings
2022-06-01   2022-06-02 /school-shootings-gun-reform.html           Will Be the Best                           By Ross Douthat                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/sports/b
                        aseball/college-world-series-tennessee-     Two Teams in Baseball and Softball Loom as
2022-06-01   2022-06-02 oklahoma.html                               Favorites in NCAA Series                   By Victor Mather                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/sports/b
                        aseball/mike-trout-angels-fantasy-          Fantasy Baseball Trout and Angels In the
2022-06-01   2022-06-02 football.html                               Playoffs                                   By Tyler Kepner                  TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/01/sports/g In Reversal Johnson Joins Debut Event Of
2022-06-01   2022-06-02 olf/dustin-johnson-league-saudi-arabia.html Rival Tour                                     By Bill Pennington          TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/sports/s 40000 Fake Tickets at the Champions League
2022-06-01   2022-06-02 occer/champions-league-final-tickets.html   Final It Was Really 2589                       By Tariq Panja              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/sports/s
                        occer/ukraine-scotland-world-cup-           Carrying the Hopes of a Nation Ukraine
2022-06-01   2022-06-02 playoff.html                                Moves One Step Closer                          By Rory Smith               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/sports/s
2022-06-01   2022-06-02 occer/usmnt-morocco-world-cup.html          The World Cup Run Starts With a Sprint         By Andrew Keh               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/sports/t Nighttime in Paris Is Great for Everything but
2022-06-01   2022-06-02 ennis/french-open-night-matches.html        Tennis                                         By Christopher Clarey       TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/style/jo
2022-06-01   2022-06-02 hnny-depp-dior-amber-heard.html             Dior Stands by Its Man and His Ads             By Vanessa Friedman         TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/style/ki
2022-06-01   2022-06-02 m-kardashian-skkn-skin-care-line.html       She Wants to Share Her Glow                    By Rachel Strugatz          TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/style/po
2022-06-01   2022-06-02 stpartum-boram-postnatal-retreat.html       A Pricey Postpartum Retreat                    By Alyson Krueger           TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/technol Musk Demands Employees Work in Office
2022-06-01   2022-06-02 ogy/elon-musk-tesla-spacex-office.html      for 40 Hours                                   By Ryan Mac                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/technol
                        ogy/personaltech/4-quick-tips-for-managing-
2022-06-01   2022-06-02 email-overload-on-the-go.html               How to Streamline Email Overload on the Go By J D Biersdorfer              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/technol Zuckerbergs No 2 At Facebook and Meta To By Mike Isaac Sheera Frenkel and
2022-06-01   2022-06-02 ogy/sheryl-sandberg-facebook.html           Step Down This Fall                            Cecilia Kang                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/technol
2022-06-01   2022-06-02 ogy/supreme-court-social-media.html         Social Medias Free Speech Problem              By Shira Ovide              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/01/us/john- Hinckley Who Tried to Assassinate Reagan
2022-06-01   2022-06-02 hinckley-reagan.html                        Will Gain Full Freedom                         By Aishvarya Kavi           TX 9-179-521    2022-08-01



                                                                              Page 3827 of 5793
                        https://www.nytimes.com/2022/06/01/us/jose In Wisconsin No Charges For ExOfficer In
2022-06-01   2022-06-02 ph-mensah-police-shooting.html              One Death                                  By Johnny Diaz                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/us/polit Biden Says Europe To Supply Formula In     By Michael D Shear and Julie
2022-06-01   2022-06-02 ics/baby-formula-europe-airlift.html        Coming Weeks                               Creswell                             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/us/polit David C MacMichael 95 Is Dead ExCIA
2022-06-01   2022-06-02 ics/david-c-macmichael-dead.html            Analyst Blew the Whistle                   By Clay Risen                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/us/polit TrumpEra Prosecutor Lost a Case This Week
2022-06-01   2022-06-02 ics/john-durham-michael-sussmann.html       but Not to His Fans                        By Charlie Savage                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/us/polit                                            By David E Sanger and William J
2022-06-01   2022-06-02 ics/nuclear-arms-treaties.html              Putin Revives Global Shivers Of Atomic Age Broad                                TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/01/us/polit Oz and McCormick Watch Supreme Court on
2022-06-01   2022-06-02 ics/supreme-court-ballots-pennsylvania.html Ballot Case                                By Neil Vigdor and Adam Liptak       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/us/polit
                        ics/the-us-is-sending-advanced-weapons-to- The US Is Sending Advanced Weapons to       By David E Sanger Eric Schmitt
2022-06-01   2022-06-02 ukraine-but-conditions-apply.html           Kyiv But Conditions Apply                  and Julian E Barnes                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/us/uval Narrative of the Uvalde Shooting Changes as
2022-06-01   2022-06-02 de-shooting.html                            New Details Emerge                         By J David Goodman                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/world/a Victories in Local Elections Bolster South
2022-06-01   2022-06-02 sia/korea-election-conservatives.html       Koreas Conservatives                       By Choe SangHun                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/world/a Shanghai Exhales and Ventures Out as
2022-06-01   2022-06-02 sia/shanghai-covid-lockdown-eases.html      Lockdown Is Lifted                         By Chris Buckley                     TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/01/world/a Repelling an EcoThreat With an Old Maori
2022-06-01   2022-06-02 ustralia/matauranga-maori-new-zealand.html Tool                                        By Pete McKenzie                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/world/e EU Gives Poland a Path To Billions in Covid
2022-06-01   2022-06-02 urope/poland-eu-ukraine-coronavirus.html   Aid                                         By Monika Pronczuk                   TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/01/world/e They Manage the Oligarchs Luxuries in           By Michael Forsythe Gaia
2022-06-01   2022-06-02 urope/russia-oligarchs-yachts-middlemen.html Europe                                        Pianigiani and Julian E Barnes   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/world/e As Food Shortages Loom a Race to Free           By Andrew Higgins and Erika
2022-06-01   2022-06-02 urope/ukraine-grain-shortages.html           Ukraines Stranded Grain                       Solomon                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/world/e Barrages in East Take Heavy Toll On
2022-06-01   2022-06-02 urope/ukraine-russia-losses-east.html        Ukraine Army                                  By Andrew E Kramer               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/world/ Israel Moves Blood Bank To Protect It From
2022-06-01   2022-06-02 middleeast/israel-blood-underground.html     Attacks                                       By Isabel Kershner               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/01/us/
                        tulsa-shooting-oklahoma-news/tulsa-shooting- Gunman Kills at Least 4 and Injures Others at
2022-06-01   2022-06-02 st-francis-hospital                          Tulsa Offices                                 By Jesus Jimnez and Alex Traub   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/sports/h Garden Rocks as Rangers Roll Past Lightning
2022-06-02   2022-06-02 ockey/lightning-rangers-nhl-playoffs.html    in Series Opener                              By David Waldstein               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/theater/
2022-06-02   2022-06-02 dreaming-zenzile-review.html                 A Virtuosic Tribute To a Beloved Singer       By Alexis Soloski                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/health/e
2022-06-02   2022-06-02 ar-transplant-3d-printer.html                Woman Gets Ear Implant Made by 3D Printer By Roni Caryn Rabin                  TX 9-179-521   2022-08-01



                                                                                 Page 3828 of 5793
                        https://www.nytimes.com/2022/06/02/insider/
                        when-the-words-drop-these-journalists-will-
2022-06-02   2022-06-02 be-ready.html                               Ready for the Words to Drop                  By Callie Holtermann              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/sports/b
                        asketball/nba-finals-game-1-celtics-golden- Reunited Band Faces Off Against New Kids     By Tania Ganguli Scott Cacciola
2022-06-02   2022-06-02 state.html                                  on the Block                                 and Sopan Deb                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/us/polit
2022-06-02   2022-06-02 ics/mass-shootings-young-men-guns.html      Seeking Clues Why Gunmen Are So Young        By Glenn Thrush and Matt Richtel TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/05/29/opinion                                               By James Krellenstein Joseph
2022-05-29   2022-06-03 /monkeypox-covid-and-hiv.html                 We Can Avert a Different Epidemic          Osmundson and Keletso Makofane TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/01/arts/des
2022-06-01   2022-06-03 ign/louise-bourgeois-paintings.html           Celebrated Sculptor Unsung Painter         By Roberta Smith                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/arts/mu
2022-06-01   2022-06-03 sic/sg-goodman-teeth-marks.html               Traces of True Love Entwined in Songs      By Stephen Deusner                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/arts/pri
2022-06-01   2022-06-03 de-month-events-nyc.html                      Ways to Celebrate Pride in New York        By Erik Piepenburg                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/busines
                        s/energy-environment/europe-russia-oil-global
2022-06-01   2022-06-03 energy.html                                   Global Jolt From Penalty On Russia         By Clifford Krauss                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/movies/
2022-06-01   2022-06-03 my-dead-dad-review.html                       My Dead Dad                                By Glenn Kenny                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/sports/b In The Royal Its Riches to Rags To
2022-06-01   2022-06-03 aseball/willie-aikens-royals-movie.html       Redemption                                 By Tyler Kepner                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/us/polit Four Dozen Alaskans Join Raucous Race for
2022-06-01   2022-06-03 ics/alaska-house-race.html                    Sole House Seat                            By Emily Cochrane              TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/01/world/a Cool and Colorful Dakars Art Scene Reflects   By Ruth Maclean and Carmen Abd
2022-06-01   2022-06-03 frica/dakar-biennale-senegal-art.html         New Life                                   Ali                            TX 9-179-521      2022-08-01
                        https://www.nytimes.com/interactive/2022/06/ A Perfect Recipe for Extreme Wildfire New   By Tim Wallace and Nadja
2022-06-01   2022-06-03 01/climate/new-mexico-wildfires.html          Mexicos RecordBreaking Early Fire Season   Popovich                       TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/01/opinion
2022-06-02   2022-06-03 /depp-heard-won-lost-verdict.html             Nobody Including Society Really Won        By Jessica Bennett                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/dan
                        ce/brooklyn-transition-center-musical-in-the-
2022-06-02   2022-06-03 stuy.html                                     High School Musical Teaches Teamwork       By Laura Zornosa                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/dep Depp Trial May Provide Playbook for Suing
2022-06-02   2022-06-03 p-metoo-defamation.html                       Accusers                                   By Julia Jacobs                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/des
2022-06-02   2022-06-03 ign/judith-baca-mural-art-getty.html          A Long Way to Get Her Due                  By Adam Nagourney                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/des
                        ign/william-klein-photography-icp-
2022-06-02   2022-06-03 review.html                                   A Career That Goes Beyond Say Cheese       By Arthur Lubow                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/tele
                        vision/borgen-american-masters-joe-papp-
2022-06-02   2022-06-03 prehistoric-planet.html                       This Weekend I Have                        By Margaret Lyons                 TX 9-179-521   2022-08-01



                                                                                Page 3829 of 5793
                        https://www.nytimes.com/2022/06/02/arts/tele
2022-06-02   2022-06-03 vision/summer-tv-shows-to-watch.html         Heres Looking at You Summer TV           By Mike Hale                      TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/books/c A Homeland of Shifting Maps and Shifting
2022-06-02   2022-06-03 ameroon-nganang.html                         Dreams                                   By Anderson Tepper                TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/busines Worker at NFT Site Faces Insider Trading
2022-06-02   2022-06-03 s/crypto-insider-trading-opensea-nft.html    Charges                                  By Ephrat Livni                   TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/02/busines Pause in Rate Increases Is Unlikely Vice
2022-06-02   2022-06-03 s/economy/brainard-fed-rate-increase.html  Chair of Federal Reserve Says              By Jeanna Smialek                 TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/busines
2022-06-02   2022-06-03 s/economy/ford-union-jobs.html             Ford Plans 6000 New Jobs in Midwest        By Noam Scheiber                  TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/02/busines
2022-06-02   2022-06-03 s/economy/jobs-wages-inflation-powell.html Making Sense Of an Economy Running Hot By Ben Casselman                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/busines
                        s/economy/russia-weapons-american-         Tech Sanctions Start to Hobble Russian       By Ana Swanson John Ismay and
2022-06-02   2022-06-03 technology.html                            Forces                                       Edward Wong                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/busines
2022-06-02   2022-06-03 s/japan-luxury-cars.html                   Japans Relentless Rise to Luxury Dominance By Stephen Williams                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/busines OPEC Plus Announces Bigger Rise In Oil
2022-06-02   2022-06-03 s/opec-oil-saudi.html                      Supply                                       By Stanley Reed                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/busines Sandbergs Advice Was Lean In It Hasnt
2022-06-02   2022-06-03 s/sheryl-sandberg-lean-in.html             Worked for All Women                         By Emma Goldberg                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/busines                                              By Tara Siegel Bernard and Margot
2022-06-02   2022-06-03 s/social-security-trust-fund.html          Pandemic Pads Social Safety Nets             SangerKatz                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/climate EPA Reversing Trump Will Allow States to
2022-06-02   2022-06-03 /states-tribes-pipelines.html              Block Pipelines and Other Energy Projects    By Lisa Friedman                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
2022-06-02   2022-06-03 18-and-a-half-review.html                                                            18 By Teo Bugbee                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
2022-06-02   2022-06-03 after-blue-dirty-paradise-review.html      After Blue Dirty Paradise                    By Elisabeth Vincentelli          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
2022-06-02   2022-06-03 benediction-review.html                    A Poets Life In Love and War                 By AO Scott                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
2022-06-02   2022-06-03 crimes-of-the-future-review.html           Elective Surgery as a Chilling Spectacle     By Manohla Dargis                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
2022-06-02   2022-06-03 eiffel-review.html                         Eiffel                                       By Beatrice Loayza                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
2022-06-02   2022-06-03 fire-island-review.html                    Fire Island                                  By Elisabeth Vincentelli          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
2022-06-02   2022-06-03 fortune-favors-lady-nikuko-review.html     Fortune Favors Lady Nikuko                   By Calum Marsh                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
                        freakscene-the-story-of-dinosaur-jr-
2022-06-02   2022-06-03 review.html                                Freakscene The Story Of Dinosaur Jr          By Glenn Kenny                    TX 9-179-521   2022-08-01




                                                                                 Page 3830 of 5793
                        https://www.nytimes.com/2022/06/02/movies/
2022-06-02   2022-06-03 hollywood-stargirl-review.html              Hollywood Stargirl                          By Natalia Winkelman           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
2022-06-02   2022-06-03 interceptor-review.html                     Interceptor                                 By Nicolas Rapold              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
                        maika-the-girl-from-another-galaxy-
2022-06-02   2022-06-03 review.html                                 Maika The Girl From Another Galaxy          By Beatrice Loayza             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
2022-06-02   2022-06-03 miracle-review.html                         Miracle                                     By Ben Kenigsberg              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
2022-06-02   2022-06-03 neptune-frost-review.html                   Exuberant Resistance To a World Gone Bad By AO Scott                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
                        the-phantom-of-the-open-review-the-worlds-
2022-06-02   2022-06-03 worst-golfer-wins-laughs.html               The Phantom Of the Open                     By Lisa Kennedy                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
2022-06-02   2022-06-03 the-score-review.html                       The Score                                   By Amy Nicholson               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
2022-06-02   2022-06-03 watcher-review.html                         The Suffocating Burden of Constant Scrutiny By Lena Wilson                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/nyregio
                        n/buffalo-shooting-suspect-murder-hate-     Terrorism Hate Charge May Be First in New By Jesse McKinley and Lauren
2022-06-02   2022-06-03 crime.html                                  York                                        DAvolio                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/nyregio Angry Customer Is Charged With Killing a
2022-06-02   2022-06-03 n/deliveryman-shooting-queens-arrest.html   Food Courier                                By Chelsia Rose Marcius        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/nyregio New York Democrats Pass Stricter Gun Bills By Luis FerrSadurn and Grace
2022-06-02   2022-06-03 n/guns-abortion-laws-ny.html                In a Show of Muscle                         Ashford                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/nyregio Weinsteins Conviction Milestone in MeToo By Jonah E Bromwich and Jodi
2022-06-02   2022-06-03 n/harvey-weinstein-conviction-appeal.html   Era Is Upheld                               Kantor                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/nyregio
                        n/michael-avenatti-sentenced-stormy-        Lawyer Receives 4Year Sentence for
2022-06-02   2022-06-03 daniels.html                                Defrauding Stormy Daniels of 300000         By Colin Moynihan              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/nyregio Legislators in Albany Embrace New Funding
2022-06-02   2022-06-03 n/nycha-housing-bill.html                   to Rescue Public Housing                    By Mihir Zaveri                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/opinion
2022-06-02   2022-06-03 /amber-heard-johnny-depp-verdict.html       The Heard Verdict Was a Travesty            By Michelle Goldberg           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/opinion
2022-06-02   2022-06-03 /david-brooks-life-hacks.html               The Worlds Greatest Life Hacks for Now      By David Brooks                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/opinion
2022-06-02   2022-06-03 /inflation-biden.html                       The Perverse Politics of Inflation          By Paul Krugman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/opinion
2022-06-02   2022-06-03 /inflation-vegetarian-vegan.html            Buy Meat In This Economy                    By Annaliese Griffin           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/sports/b The Dodgers Offer a Belated Embrace To a
2022-06-02   2022-06-03 aseball/glenn-burke-dodgers-pride.html      Player Shunned for Being Gay                By Scott Miller                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/sports/b
                        asketball/nike-phil-knight-dodgers-adam-                                                By Benjamin Mullin and Kevin
2022-06-02   2022-06-03 smolinisky-portland-trail-blazers.html      Nike Founder Knight In Bid to Buy Blazers Draper                           TX 9-179-521   2022-08-01



                                                                               Page 3831 of 5793
                        https://www.nytimes.com/2022/06/02/sports/c Despite Risk of Collisions and Injuries The
2022-06-02   2022-06-03 ollege-softball-safety-base.html            NCAA Resists the Double Base                  By Alan Blinder              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/sports/f Marion Barber III 38 a Running Back Who
2022-06-02   2022-06-03 ootball/marion-barber-iii-dead.html         Regularly Scored for the Cowboys              By Richard Sandomir          TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/sports/s Dashed Hopes and Unsold Shirts The Costs
2022-06-02   2022-06-03 occer/nigeria-ecuador-world-cup.html        of Missing the World Cup                      By Tariq Panja               TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/sports/t
                        ennis/french-open-coco-gauff-iga-           Eager for This Moment Gauff Has a Last
2022-06-02   2022-06-03 swiatek.html                                Daunting Test                                 By Christopher Clarey        TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/02/technol Who Will Be Zuckerbergs New No 2 at Meta
2022-06-02   2022-06-03 ogy/meta-zuckerberg-successor-facebook.html Its a Trick Question                        By Sheera Frenkel and Mike Isaac TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/technol
2022-06-02   2022-06-03 ogy/sheryl-sandberg-legacy.html             Sandbergs Legacy The Good and the Bad       By Shira Ovide                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/us/desa Florida Supreme Court Lets DeSantis Voting By Michael Wines Reid J Epstein
2022-06-02   2022-06-03 ntis-florida-voting-map.html                Map Stand                                   and Nick Corasaniti              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/us/gilbe Gilberto Rodrguez Orejuela Who Led the Cali
2022-06-02   2022-06-03 rto-rodriguez-orejuela-dead.html            Drug Cartel Dies at 83                      By Clay Risen                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/us/mia
2022-06-02   2022-06-03 mi-republicans-proud-boys.html              From the Proud Boys to Miamis GOP Insiders By Patricia Mazzei and Alan Feuer TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/us/polit Enough Biden Asserts Demanding Law to
2022-06-02   2022-06-03 ics/biden-guns-speech.html                  Ban AssaultStyle Weapons                    By Michael D Shear               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/us/polit
2022-06-02   2022-06-03 ics/biden-saudi-arabia.html                 Biden to Visit Saudis in Bid To Repair Ties By Peter Baker and Ben Hubbard TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/us/polit If Approved Shot for Children Under 5 Could
2022-06-02   2022-06-03 ics/children-covid-vaccine.html             Be Available This Month                     By Sheryl Gay Stolberg           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/us/polit Did Crossover Democrats Tilt Georgias
2022-06-02   2022-06-03 ics/georgia-primary-gop-democrats.html      Primaries                                   By Maya King and Nick Corasaniti TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/us/polit House Panel Examining Kushner Over Funds By Kate Kelly and David D
2022-06-02   2022-06-03 ics/jared-kushner-house-investigation.html  Firm Got From Saudis                        Kirkpatrick                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/us/polit US Imposes Sanctions On a Manager of        By Julian E Barnes and Michael
2022-06-02   2022-06-03 ics/russia-oligarchs-yachts-sanctions.html  Yachts Owned by Russian Elites              Forsythe                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/us/tulsa-Since the Massacre in Uvalde Over Two Mass
2022-06-02   2022-06-03 shooting-hospital.html                      Shootings a Day                             By Mitch Smith and Daniel Victor TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/02/world/a Why Canada Is Able to Race on Gun Policy
2022-06-02   2022-06-03 mericas/canada-gun-buyback-parliament.html When America Crawls                        By Max Fisher                    TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/world/a
                        ustralia/australia-refugees-manus-park-    After 9 Years of Detention by Australia
2022-06-02   2022-06-03 hotel.html                                 Refugees Feel Adrift                       By Yan Zhuang                    TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/world/e Group Gathers With Hopes That This Jubilee
2022-06-02   2022-06-03 urope/anti-monarchy-queen.html             Is the Last                                By Stephen Castle                TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/world/e Britons and Admirers Worldwide Hail 70
2022-06-02   2022-06-03 urope/queen-elizabeth-jubilee.html         Years of Queen Elizabeth II                By Mark Landler                  TX 9-179-521     2022-08-01




                                                                                 Page 3832 of 5793
                        https://www.nytimes.com/2022/06/02/world/e Turkey Wants To Be Known As Trkiye It
2022-06-02   2022-06-03 urope/turkiye-turkey-united-nations.html   Tells UN                                   By Vivek Shankar and Safak Timur TX 9-179-521      2022-08-01

                        https://www.nytimes.com/2022/06/02/world/e 100 Days In Russia Controls OneFifth of a      By Marc Santora Matthew Mpoke
2022-06-02   2022-06-03 urope/ukraine-russia-donbas-zelensky.html    Country Fighting Hard                        Bigg and Michael Levenson       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/world/e In Museum Show Ukraine Tells the Story of a
2022-06-02   2022-06-03 urope/ukraine-war-museum.html                War Still in Progress                        By Valerie Hopkins              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/interactive/2022/06/ For Uvalde Caskets Adorned in Childhood
2022-06-02   2022-06-03 02/us/uvalde-caskets.html                    Dreams                                       By Emily Rhyne                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/bill-Psychiatrist Says Memories of Sexual Assault By Graham Bowley Lauren Herstik
2022-06-03   2022-06-03 cosby-judy-huth-witness.html                 Dont Diminish Over Time                      and Douglas Morino              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/theater/
2022-06-03   2022-06-03 what-the-end-will-be-review.html             Learning to Let Go of What Holds Us Back By Naveen Kumar                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/insider/
2022-06-03   2022-06-03 keeping-up-with-crypto.html                  Keeping Up With Cryptocurrency               By Emmett Lindner               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/busines                                                By Lananh Nguyen and Emma
2022-05-27   2022-06-04 s/goldman-sachs-unlimited-vacation.html      At Goldman Its Time Off With a Catch         Goldberg                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/opinion
2022-05-31   2022-06-04 /us-ukraine-putin-war.html                   US Helps Prolong Ukraine War                 By Christopher Caldwell         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/world/a
2022-05-31   2022-06-04 frica/wagner-group-africa.html               Shadow Soldiers for Putin Across Africa      By Declan Walsh                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/01/opinion
2022-06-01   2022-06-04 /us-biden-asia-china-economy-influence.html America Is Losing in Asia To China        By Susannah Patton                TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/01/opinion
2022-06-01   2022-06-04 /woke-culture-backlash-movement.html        The Age of Too Far                        By Charles M Blow                 TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/dan An AvantGarde Outpost Grows in the Hudson
2022-06-02   2022-06-04 ce/qdance-ps21-hudson-valley.html           Valley                                    By Brian Seibert                  TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/dep
2022-06-02   2022-06-04 p-heard-trial-malice.html                   Ambiguity Resolved Misogyny Prevails      By AO Scott                       TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/briefing
2022-06-02   2022-06-04 /climate-change-heat-wave-india.html        Unequal Toll From Climate Changes Effects By German Lopez                   TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/busines
2022-06-02   2022-06-04 s/spacs-inflation-regulation.html           SPACs Day in the Sun Is Coming to an End By Matthew Goldstein               TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/nyregio Mothers Step In To Donate Milk They Can    By Sharon Otterman and Sarah
2022-06-02   2022-06-04 n/baby-formula-shortage-breast-milk.html    Spare                                     Blesener                          TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/opinion The President Can Do Way More to Cut
2022-06-02   2022-06-04 /inflation-biden-congress.html              Prices                                    By Ro Khanna                      TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/theater/
2022-06-02   2022-06-04 a-kid-like-rishi-review.html                Points of View Shroud a Teens Killing     By Laura CollinsHughes            TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/theater/ Now a Musical Almost Famous Is Coming to
2022-06-02   2022-06-04 almost-famous-broadway.html                 Broadway                                  By Michael Paulson                TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/02/us/hari Spelling Duel Decided in 90 Frenzied
2022-06-03   2022-06-04 ni-logan-scripps-spelling-bee.html          Seconds of Pure TENACITY                  By Maria Cramer                   TX 9-179-521     2022-08-01




                                                                               Page 3833 of 5793
                        https://www.nytimes.com/2022/06/02/us/texa Hunt for Escaped Murderer Ends In Shootout
2022-06-03   2022-06-04 s-escaped-inmate-gonzalo-lopez.html        With Police in Texas                       By Mike Ives and Alex Traub           TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/03/arts/dan
2022-06-03   2022-06-04 ce/review-ballet-like-water-for-chocolate.html Wheeldon Cooks Up a BigSpectacle Ballet By Roslyn Sulcas                TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/03/arts/mu
2022-06-03   2022-06-04 sic/angel-olsen-big-time-review.html           After Heartbreak Comfort in Country     By Lindsay Zoladz               TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/03/arts/mu Bill Walker 95 Nashville Musical Force Who
2022-06-03   2022-06-04 sic/bill-walker-dead.html                      Helped Make Country Stars Shine         By Bill FriskicsWarren          TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/03/arts/mu Still Down to Party In a Basement For
2022-06-03   2022-06-04 sic/feinsteins-54-below-anniversary.html       Broadway Fans                           By Elysa Gardner                TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/03/arts/mu A Sojourn Ends With Tchaikovsky and
2022-06-03   2022-06-04 sic/review-new-york-philharmonic.html          Shostakovich                            By Zachary Woolfe               TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/03/arts/tele At Civil Trial Woman Testifies That Cosby By Graham Bowley Lauren Herstik
2022-06-03   2022-06-04 vision/bill-cosby-judy-huth-trial.html         Kissed Her When She Was 14              and Douglas Morino              TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/03/busines Head of Consumer Business For Amazon Will
2022-06-03   2022-06-04 s/dave-clark-amazon.html                       Step Down                               By Karen Weise                  TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/03/busines
                        s/economy/forecasters-expect-job-gains-to- Hiring Is Strong Even as the Fed Hits the   By Talmon Joseph Smith Lydia
2022-06-03   2022-06-04 slow-yet-remain-solid.html                     Brakes                                  DePillis and Jeanna Smialek     TX 9-179-521        2022-08-01

                        https://www.nytimes.com/2022/06/03/busines Depp Trial Exposes Risks to Media in Airing
2022-06-03   2022-06-04 s/media/depp-heard-journalism-metoo.html MeToo Accusations                             By Jeremy W Peters                   TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/03/busines Fraud Financier Is Apprehended In Danish
2022-06-03   2022-06-04 s/sanjay-shah-arrested-denmark-taxes.html  Tax Scheme                                      By David Segal                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/busines Tesla to Cut 10 Percent Of Its Salaried Staff
2022-06-03   2022-06-04 s/tesla-elon-musk-job-cuts.html            Musk Tells Employees                            By Niraj Chokshi and Cade Metz   TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/03/climate Carbon Dioxide Levels in Atmosphere Reach
2022-06-03   2022-06-04 /carbon-dioxide-record.html                4MillionYear High and Continue to Climb    By Henry Fountain                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/health/ Monkeypox Has Infected 21 in US Agency
2022-06-03   2022-06-04 monkeypox-vaccine-treatments.html          Says                                       By Apoorva Mandavilli                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/movies/
                        mark-rylance-phantom-of-the-open-
2022-06-03   2022-06-04 jerusalem.html                             Making A Link With Every Role              By Dave Itzkoff                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/nyregio Bucking GOP On Gun Control Exacts a        By Nicholas Fandos and Jesse
2022-06-03   2022-06-04 n/chris-jacobs-congress-guns.html          Price                                      McKinley                              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/nyregio Adams Praised on the National Stage Runs
2022-06-03   2022-06-04 n/eric-adams-albany.html                   Into Obstacles Closer to Home              By Emma G Fitzsimmons                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/nyregio State Law Would Shrink Classes in City
2022-06-03   2022-06-04 n/nyc-schools-class-sizes.html             Schools but Local Officials Point to Costs By Lola Fadulu                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/science Sophie Freud a Critic of Her Grandfathers
2022-06-03   2022-06-04 /sophie-freud-dead.html                    Gospel Is Dead at 97                       By Sam Roberts                        TX 9-179-521   2022-08-01




                                                                                  Page 3834 of 5793
                        https://www.nytimes.com/2022/06/03/sports/b
                        aseball/philadelphia-phillies-fire-joe-      Struggling Phillies Fire Their Manager but
2022-06-03   2022-06-04 girardi.html                                 Their Flaws Run Deeper                        By Tyler Kepner                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/sports/b
2022-06-03   2022-06-04 asketball/celtics-warriors-game-1.html       Business as Usual and 7 Straight 3Pointers    By Tania Ganguli                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/sports/d
                        evin-haney-george-kambosos-lightweight-title In Title Bout Web Star Gets Chance to Prove
2022-06-03   2022-06-04 fight.html                                   His Belt Is the Real Deal                     By Morgan Campbell                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/sports/t
                        ennis/nadal-zverev-french-open-              Nadal Advances to Final as Zverevs Ankle
2022-06-03   2022-06-04 semifinals.html                              Injury Abruptly Ends Match                    By Christopher Clarey               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/technol Ascension Of Sandberg Is Exception For Big
2022-06-03   2022-06-04 ogy/sheryl-sandberg-women-in-tech.html       Tech                                          By Cecilia Kang and Erin Griffith   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/theater/ Adapting a Classic a Writer Rethought Her
2022-06-03   2022-06-04 mara-velez-melendez-soho-rep.html            Life                                          By Jose Sols                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/upshot/ Voters Say They Want Gun Control Their
2022-06-03   2022-06-04 gun-control-polling-votes.html               Referendum Votes Say Something Else           By Nate Cohn                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/us/dem Democrats Are Feeling The Pressure on
2022-06-03   2022-06-04 ocrats-crime-gun-violence.html               Crime From Their Own Base                     By Alexander Burns                  TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/03/us/elect Oz Gains GOP Senate Nomination in
2022-06-03   2022-06-04 ions/pennsylvania-senate-oz-mccormick.html Pennsylvania as Rival Concedes              By Trip Gabriel                   TX 9-179-521         2022-08-01
                        https://www.nytimes.com/2022/06/03/us/polit Witness Says Haspel Before Becoming CIA By Carol Rosenberg and Julian E
2022-06-03   2022-06-04 ics/cia-gina-haspel-black-site.html         Chief Observed Use of Waterboard           Barnes                            TX 9-179-521         2022-08-01
                        https://www.nytimes.com/2022/06/03/us/polit Nominee Says He Let Illness Go Untreated
2022-06-03   2022-06-04 ics/john-fetterman-heart-condition.html     For Too Long                               By Katie Glueck                   TX 9-179-521         2022-08-01
                        https://www.nytimes.com/2022/06/03/us/polit Running on Cleaner Streets and Lower Crime
2022-06-03   2022-06-04 ics/los-angeles-mayors-race-caruso.html     Just Like His Malls                        By Jennifer Medina and Jill Cowan TX 9-179-521         2022-08-01
                        https://www.nytimes.com/2022/06/03/us/polit Contempt Charge for Former Adviser To      By Alan Feuer and Luke
2022-06-03   2022-06-04 ics/peter-navarro-contempt-jan-6.html       Trump Who Defied Jan 6 Subpoena            Broadwater                        TX 9-179-521         2022-08-01
                        https://www.nytimes.com/2022/06/03/us/polit On Eve of Jan 6 Aide Warned of Risk to
2022-06-03   2022-06-04 ics/trump-pence-safety-jan-6.html           Pence                                      By Maggie Haberman                TX 9-179-521         2022-08-01

                        https://www.nytimes.com/2022/06/03/us/polit We Have Not Forgotten Syria US Envoy
2022-06-03   2022-06-04 ics/united-nations-turkey-syria-refugees.html Vows to Protect Refugees                     By Lara Jakes                       TX 9-179-521   2022-08-01
                                                                                                                   By J David Goodman Serge F
                        https://www.nytimes.com/2022/06/03/us/uval Coordination Broke Down In Uvalde Police        Kovaleski Eduardo Medina and
2022-06-03   2022-06-04 de-police-response.html                    Response                                        Mike Baker                          TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/03/world/a
2022-06-03   2022-06-04 sia/india-kashmir-hindu-pandits-attacks.html Desperate to Flee Kashmir as Attacks Spike    By Hari Kumar and Mujib Mashal TX 9-179-521        2022-08-01

                        https://www.nytimes.com/2022/06/03/world/a Calculating a Drug Wars True Toll Bone by
2022-06-03   2022-06-04 sia/philippines-drug-war-raquel-fortun.html Bone                                           By SuiLee Wee                       TX 9-179-521   2022-08-01




                                                                                 Page 3835 of 5793
                                                                                                             By Valerie Hopkins Neil
                        https://www.nytimes.com/2022/06/03/world/e War Grinds On in Ukraine With No End in   MacFarquhar Steven Erlanger and
2022-06-03   2022-06-04 urope/russia-ukraine-war-100-days.html     Sight                                     Michael Levenson                TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/03/world/e Kremlin Cracking Down On Criticism of the By Neil MacFarquhar and Alina
2022-06-03   2022-06-04 urope/russia-ukraine-war-critics-arrests.html War                                    Lobzina                         TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/03/world/e UK Visa for Graduates Omits Most of the
2022-06-03   2022-06-04 urope/uk-visa-high-potential-individual.html World                                   By Emma Bubola                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/world/ Israel Says It Has Built Powerful Laser
2022-06-03   2022-06-04 middleeast/israel-laser-rockets.html         Weapon                                  By Isabel Kershner              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/your-
2022-06-03   2022-06-04 money/adjustable-rate-mortgage.html          A Now Safer but Still Risky Loan        By Ann Carrns                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/busines At Trucker Havens Across the US Major
2022-06-04   2022-06-04 s/truck-driver-shortage-support.html         Change Is Approaching Fast              By Jamie Lee Taete              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/04/sports/b Easy to Overlook A Celtics Reserve Has Big
2022-06-04   2022-06-04 asketball/payton-pritchard-boston-celtics.html Moments                                 By Sopan Deb                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/us/polit Gun Control Talk Has Political Risks
2022-06-04   2022-06-04 ics/beto-orourke-gun-control.html              ORourke Is Speaking Out Anyway          By Jazmine Ulloa              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/04/05/books/r
                        eview/the-kings-shadow-edmund-
2022-04-05   2022-06-05 richardson.html                                Hide and Seek                           By Joshua Hammer              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/04/12/books/r
2022-04-12   2022-06-05 eview/healing-theresa-brown.html               Nurse Heal Thyself                      By Kate Pickert               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/04/26/books/r
2022-04-26   2022-06-05 eview/search-michelle-huneven.html             In Squad We Trust                       By Mary Beth Keane            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/04/26/books/r
2022-04-26   2022-06-05 eview/seven-steeples-sara-baume.html           Just the Two of Us                      By David Vann                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/04/26/books/r
2022-04-26   2022-06-05 eview/the-puzzler-aj-jacobs.html               Game Theory                             By Judith Newman              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/04/26/books/r
                        eview/zachary-lazar-apartment-calle-
2022-04-26   2022-06-05 uruguay.html                                   Interior States B                       By Dinaw Mengestu             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/04/29/books/r
                        eview/antonia-fraser-case-married-
2022-04-29   2022-06-05 woman.html                                     Notorious                               By Judith Flanders            TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/04/30/books/
2022-04-30   2022-06-05 mieko-kawakami-all-lovers-in-the-night.html The Feminine Ideal                       By Jo Hamya                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/04/30/books/r
2022-04-30   2022-06-05 eview/anna-the-biography-amy-odell.html     In Vogue                                 By Willy Staley                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/04/30/books/r
2022-04-30   2022-06-05 eview/immortal-king-rao-vauhini-vara.html Citizen King                               By Justin Taylor                TX 9-179-521   2022-08-01




                                                                               Page 3836 of 5793
                        https://www.nytimes.com/2022/04/30/books/r
2022-04-30   2022-06-05 eview/vigil-harbor-julia-glass.html        Keep Watch                        By Karen Thompson Walker   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/01/books/r
                        eview/we-do-what-we-do-in-the-dark-
2022-05-01   2022-06-05 michelle-hart.html                         Female Fixations                  By Scaachi Koul            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/02/books/r
2022-05-02   2022-06-05 eview/elizabeth-day-magpie.html            Perfect to a Fault                By Megan Abbott            TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/03/books/r
2022-05-03   2022-06-05 eview/premonitions-bureau-sam-knight.html Second Sight                       By W M Akers               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/03/books/r
                        eview/william-blake-vs-the-world-john-
2022-05-03   2022-06-05 higgs.html                                 Burning Bright                    By Rosie Schaap            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/05/books/r
2022-05-05   2022-06-05 eview/la-nijinska-lynn-garafola.html       Ballet Is Woman                   By Wendy Lesser            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/08/books/r
2022-05-08   2022-06-05 eview/the-lioness-chris-bohjalian.html     Into the Wild                     By Connie Schultz          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/09/books/r
                        eview/mind-and-the-moon-daniel-
2022-05-09   2022-06-05 bergner.html                               Mind and Body                     By Christine Kenneally     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/10/books/r
2022-05-10   2022-06-05 eview/ada-limon-hurting-kind-poems.html    Infinity in the Backyard          By Craig Morgan Teicher    TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/10/books/r
2022-05-10   2022-06-05 eview/bitter-orange-tree-jokha-alharthi.html Dreams Deferred                 By Joumana Khatib          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/14/books/r
2022-05-14   2022-06-05 eview/spare-parts-paul-craddock.html         Its Alive                       By Robert Sullivan         TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/15/books/r
2022-05-15   2022-06-05 eview/river-of-the-gods-candice-millard.html Danger Quest                    By Edward Dolnick          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/17/books/r
2022-05-17   2022-06-05 eview/audrey-magee-colony.html               Observer Effect                 By Kathryn Hughes          TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/17/books/r
2022-05-17   2022-06-05 eview/emma-straub-this-time-tomorrow.html The Fey Nineties                   By Susan Dominus           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/17/books/r
                        eview/who-killed-jane-stanford-richard-
2022-05-17   2022-06-05 white.html                                 Poisoned Pill                     By Meryl Gordon            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/20/books/y
                        ou-made-a-fool-of-death-with-your-beauty-
2022-05-20   2022-06-05 akwaeke-emezi.html                         Love Among the Ruins              By RO Kwon                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/21/books/c
2022-05-21   2022-06-05 leyvis-natera-neruda-on-the-park.html      Community Action                  By Mia Alvar               TX 9-179-521   2022-08-01




                                                                                 Page 3837 of 5793
                        https://www.nytimes.com/2022/05/22/books/
                        we-had-to-remove-this-post-hanna-
2022-05-22   2022-06-05 bervoets.html                             In Moderation                                By Laura van den Berg               TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/23/books/r
2022-05-23   2022-06-05 eview/evening-hero-marie-myung-ok-lee.html Kimchi on Potatoes                          By Rahul Raina                      TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/25/books/r
2022-05-25   2022-06-05 eview/the-latecomer-jean-hanff-korelitz.html Sibling Revelry                             By Allegra Goodman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/25/style/di
2022-05-25   2022-06-05 sinviting-wedding-guests.html                Actually We Wouldnt Love to See You There By Sarah Lyon                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/25/style/ell She Failed Handwriting Now Shes a
2022-05-25   2022-06-05 en-weldon-design-calligraphy.html            Calligrapher                                By Alix Strauss                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/26/books/r
                        eview/lilys-promise-dov-forman-lily-
2022-05-26   2022-06-05 ebert.html                                   Inside the List                             By Elisabeth Egan                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/arts/pay Looking Back at the Pay Phones New York By Ann Chen Aaron Reiss and
2022-05-27   2022-06-05 phones-nyc-photos.html                       Heyday                                      Jessie Wender                     TX 9-179-521   2022-08-01
                                                                                                                 By Ann Chen Aaron Reiss George
                        https://www.nytimes.com/2022/05/27/arts/pay                                              Etheredge Geoffrey Haggray Sara
2022-05-27   2022-06-05 phones-nyc.html                              Phantom Booths Now Toll for No One          Messinger and Sinna Nasseri       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/books/r
2022-05-27   2022-06-05 eview/new-gardening-books.html               Gardening                                   By Dominique Browning             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/books/r
2022-05-27   2022-06-05 eview/new-historical-fiction.html            Historical Fiction                          By Alida Becker                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/books/r
2022-05-27   2022-06-05 eview/new-horror-novels.html                 Horror                                      By Danielle Trussoni              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/books/r
2022-05-27   2022-06-05 eview/new-romance-novels.html                Romance                                     By Olivia Waite                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/books/r
2022-05-27   2022-06-05 eview/new-science-fiction-fantasy.html       Otherworldly                                By Amal ElMohtar                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/books/r
2022-05-27   2022-06-05 eview/new-thrillers.html                     Thrillers                                   By Sarah Lyall                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/books/r
2022-05-27   2022-06-05 eview/new-travel-books.html                  Travel                                      By Lori Soderlind                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/books/r
                        eview/probably-ruby-lisa-bird-wilson-aue-
                        becky-manawatu-lucky-turtle-bill-
2022-05-27   2022-06-05 roorbach.html                                Novels                                      By Gregory Brown                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/books/r
2022-05-27   2022-06-05 eview/summer-cookbooks.html                  Cooking                                     By Jennifer Reese                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/30/books/r
2022-05-30   2022-06-05 eview/david-sedaris-happy-go-lucky.html      American Gothic                             By Henry Alford                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/30/nyregio Turning to the Sanitation Dept for a Creative
2022-05-30   2022-06-05 n/sanitation-department-artist-sto-len.html  Outlet                                      By Corey Kilgannon                TX 9-179-521   2022-08-01



                                                                                Page 3838 of 5793
                        https://www.nytimes.com/2022/05/30/realesta
2022-05-30   2022-06-05 te/shopping-watering-cans.html              Theyre Attractive As Well as Accurate        By Tim McKeough                  TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/31/arts/dan
2022-05-31   2022-06-05 ce/savannah-bananas-tik-tok-baseball.html    In Savannah A Big League Production         By Margaret Fuhrer               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/arts/tele
                        vision/david-simon-ed-burns-the-wire-
2022-05-31   2022-06-05 anniversary.html                             Reflections On The Wire After 20 Years      By Jonathan Abrams               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/books/r
2022-05-31   2022-06-05 eview/planes-peter-c-baker.html              Connecting Flights                          By Laleh Khadivi                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/opinion
2022-05-31   2022-06-05 /uvalde-shooting-photos.html                 Show Us the Victims of Uvalde               By Susie Linfield                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/sports/h Lester Piggott Jockey Who Holds Records In
2022-05-31   2022-06-05 orse-racing/lester-piggott-dead.html         Britain Dies at 86                          By Richard Sandomir              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/arts/des
2022-06-01   2022-06-05 ign/shuvinai-ashoona-inuit-artist.html       A Hub for Inuit Artistry in Arctic Canada   By Patricia Leigh Brown          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/arts/tele Here to Help Four Films to Stream Before
2022-06-01   2022-06-05 vision/netflix-expiring-june.html            They Leave Netlfix in June                  By Jason Bailey                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/magazi
2022-06-01   2022-06-05 ne/new-york-cannabis-business.html           Visions of Cannabis                         By Jaime Lowe                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/magazi
2022-06-01   2022-06-05 ne/new-york-return.html                      Hell to All That                            By Ismail Muhammad               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/magazi                                                By Shaun Pierson Alexander
2022-06-01   2022-06-05 ne/new-york-roommates.html                   Perfect Strangers                           Samaha and Julia Carmel          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/nyregio
2022-06-01   2022-06-05 n/autism-child-violence.html                 An Autistic Teenagers Spiraling Meltdowns   By Joseph Goldstein              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/opinion
2022-06-01   2022-06-05 /pepfar-covid.html                           When the World Healed                       By Emily Bass                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/opinion
2022-06-01   2022-06-05 /technology/elon-musk-tesla-twitter.html     Elon Musk Masks Dysfunction With Hype       By Edward Niedermeyer            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/realesta
2022-06-01   2022-06-05 te/boxwood-garden.html                       A Perennial Favorite Needs a New Approach   By Margaret Roach                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/realesta
2022-06-01   2022-06-05 te/new-haven.html                            More Than Just Academics and a Slice        By C J Hughes                    TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/01/realesta Artistic Flourishes Define A Big House in
2022-06-01   2022-06-05 te/rotterdam-netherlands-house-hunting.html Rotterdam                                    By Michael Kaminer               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/theater/
2022-06-01   2022-06-05 karate-kid-musical.html                      A Karate Kid Musical Waxes Philosophical    By Sarah Bahr                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/interactive/2022/06/ Why I Moved to New York in a Global
2022-06-01   2022-06-05 01/magazine/moving-to-new-york.html          Pandemic                                    Interviews by Alexander Samaha   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/opinion
2022-06-02   2022-06-05 /republicans-religion-conservatism.html      The Doctrine of the Irreligious Right       By Nate Hochman                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/dan
2022-06-02   2022-06-05 ce/michael-jackson-mj-dancing.html           The Revelations of Bodies in Motion         By Gia Kourlas                   TX 9-179-521   2022-08-01



                                                                                Page 3839 of 5793
                        https://www.nytimes.com/2022/06/02/arts/des
2022-06-02   2022-06-05 ign/floral-pattern-houseware.html           Decor in Bloom                              By Julie Lasky                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/des
2022-06-02   2022-06-05 ign/keith-meacham-sewanee-home.html         Embodying Elegance                          By Julie Lasky                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/des
2022-06-02   2022-06-05 ign/kristen-alpaugh-flower-arranging.html   Go Ahead Dunk Those Orchids                 By Jane Margolies               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/des
                        ign/meijer-gardens-and-sculpture-park-
2022-06-02   2022-06-05 welcome-center.html                         Making Way for a Walk in the Park           By Matt Shaw                    TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/02/arts/des
2022-06-02   2022-06-05 ign/santa-cruz-beach-house-renovation.html Beach House Meet Ocean View                  By Tim McKeough                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/des
2022-06-02   2022-06-05 ign/tips-for-summer-living.html             Lets Step Outside                           By Stephen Treffinger           TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/02/arts/mu
2022-06-02   2022-06-05 sic/diamanda-galas-divine-punishment.html Into a Bright New Darkness                    By Zachary Woolfe               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/pau Paul Gunther 65 Keeper of New Yorks
2022-06-02   2022-06-05 l-gunther-dead.html                         Cultural Flame                              By Sam Roberts                  TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/02/arts/tele
2022-06-02   2022-06-05 vision/jana-schmieding-favorite-things.html Jana Schmieding Owes a Lot to Her Aunt        By Chris Kornelis             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/magazi
                        ne/ukraine-afghanistan-refugees-new-
2022-06-02   2022-06-05 york.html                                    A Safe Harbor                                By Lauren Hilgers             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/movies/
2022-06-02   2022-06-05 liberal-hollywood-dog.html                   The Myth of Liberal Hollywood                By AO Scott                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/nyregio
2022-06-02   2022-06-05 n/midtown-manhattan-nyc.html                 In the Heart of Manhattan a Quickening Pulse By Winnie Hu                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/obituari George Shapiro 91 Talent Manager Who
2022-06-02   2022-06-05 es/george-shapiro-dead.html                  Lobbied NBC for Seinfeld Sitcom              By Richard Sandomir           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/opinion                                                By Andrea KendallTaylor and
2022-06-02   2022-06-05 /russia-ukraine-war-nato.html                Russia Is Down but Not Out                   Michael Kofman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/realesta
2022-06-02   2022-06-05 te/brooklyn-townhouse-jun-aizaki.html        Its the Little Things                        By Tim McKeough               TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/02/realesta
2022-06-02   2022-06-05 te/homeownership-affordability-survey.html Owning a Home as a Sign of Success           By Gregory Schmidt              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/realesta
2022-06-02   2022-06-05 te/luxury/villa-cannizzaro-tuscany.html     Family Foundation                           By Elisabetta Povoledo          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/style/co
2022-06-02   2022-06-05 ndoms-teen-son-social-qs.html               Condoms Cause a Rift                        By Philip Galanes               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/style/io
2022-06-02   2022-06-05 n-pack-podcast.html                         Avid Podcasters Lift Their Masks            By Nathan Taylor Pemberton      TX 9-179-521   2022-08-01




                                                                                Page 3840 of 5793
                        https://www.nytimes.com/2022/06/02/t-
2022-06-02   2022-06-05 magazine/wangechi-mutu-storm-king.html        Art Scene Calling Her Back                  By Shirley Ngozi Nwangwa      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/world/a
2022-06-02   2022-06-05 frica/who-africa-covid-deaths.html            Plunge in Covid Deaths Expected in Africa   By Abdi Latif Dahir           TX 9-179-521   2022-08-01
                                                                      Exploring the Classic Coops of Brooklyn
                        https://www.nytimes.com/interactive/2022/06/ With Less Than 800000 to Spend Which
2022-06-02   2022-06-05 02/realestate/02hunt-rafalow.html             Home Did They Choose                        By Joyce Cohen                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/arts/mu
                        sic/american-modern-opera-company-ojai-
2022-06-03   2022-06-05 festival.html                                 This Island of Misfit Toys Is Fitting In    By Joshua Barone              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/books/r
2022-06-03   2022-06-05 eview/new-paperbacks.html                     Paperback Row                               By Miguel Salazar             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/books/r
                        eview/singing-with-elephants-margarita-engle-
                        the-puffin-keeper-michael-morpurgo-benji-
2022-06-03   2022-06-05 davies.html                                   Talk to the Animals                         By Eliot Schrefer             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/busines Greedflation or Do the Old Economic Rules
2022-06-03   2022-06-05 s/economy/price-gouging-inflation.html        Still Apply                                 By Lydia DePillis             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/busines                                                By Julia Rothman and Shaina
2022-06-03   2022-06-05 s/high-gas-price-reactions.html               PumpedUp Prices                             Feinberg                      TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/03/busines
2022-06-03   2022-06-05 s/roxane-gay-work-friend-mental-health.html Mental Health Gossip From the Boss            By Roxane Gay                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/03/busines FossilFuel Shares Lead the Stock Market
2022-06-03   2022-06-05 s/stock-market-energy-climate-change.html How Awkward                                   By Jeff Sommer                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/nyregio For Two Graffiti Artists New Yorks Subway
2022-06-03   2022-06-05 n/graffiti-artists-subway-track-deaths.html Was a Deadly Magnet                         By Corina Knoll                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/nyregio
2022-06-03   2022-06-05 n/jean-bell-jeuness-track-club.html         All in One Coach Social Worker Counselor By Sara Ivry                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/opinion
2022-06-03   2022-06-05 /baby-boomers-gen-x-us-politics.html        Why Are Boomers Still Governing             By Yuval Levin                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/opinion
2022-06-03   2022-06-05 /majority-rule-democracy.html               Expanding Democracy Is the Solution         By Jamelle Bouie                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/opinion
2022-06-03   2022-06-05 /sheryl-sandberg-meta-facebook.html         Sheryl Sandbergs Long Overdue Goodbye       By Kara Swisher                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/opinion
2022-06-03   2022-06-05 /shireen-abu-akleh-journalist-killed.html   Who Killed the Journalist Shireen Abu Akleh By the Editorial Board          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/realesta For 705 Million a BirdsEye View of Central
2022-06-03   2022-06-05 te/432-park-ave-nyc.html                    Park and Beyond                             By Vivian Marino                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/realesta
2022-06-03   2022-06-05 te/garden-small-spaces.html                 How to Set Up a Garden in a Small Space     By Ronda Kaysen                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/sports/t Tennis Tops Womens Sports but Still Has to
2022-06-03   2022-06-05 ennis/womens-sports.html                    Fight for Respect                           By Kurt Streeter                TX 9-179-521   2022-08-01




                                                                                 Page 3841 of 5793
                        https://www.nytimes.com/2022/06/03/style/a-
2022-06-03   2022-06-05 romance-deepened-by-the-golden-rule.html A Romance Deepened by the Golden Rule            By Vincent M Mallozzi    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/style/be
                        fore-walking-down-the-aisle-marching-with- On Their First Date on the March With Big
2022-06-03   2022-06-05 many-puppets.html                            Bird                                         By Jenny Block           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/style/ca
                        leb-mclaughlin-stranger-things-lebron-
2022-06-03   2022-06-05 james.html                                   Caleb McLaughlin Grows Up                    By Alexis Soloski        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/style/ch
2022-06-03   2022-06-05 elsea-cimilluca-lauren-levin-wedding.html    When Age Is Nothing but a Favorite Number By Sadiba Hasan             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/style/co
2022-06-03   2022-06-05 balt-blue.html                               Cobalt Blue Will Color Our Summer            By Lia Picard            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/style/eri A Commitment to Each Other and to
2022-06-03   2022-06-05 ka-graves-brad-cameron-wedding.html          Diversity                                    By Stephanie Cain        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/style/ly
2022-06-03   2022-06-05 dia-ourahmane-installations-lithium.html     For This Artist No Material Is Out of Bounds By Alex Hawgood          TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/03/style/mi
2022-06-03   2022-06-05 chael-quinn-lea-richard-nagle-wedding.html Making a Good Second Impression              By Tammy La Gorce          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/style/m
2022-06-03   2022-06-05 odern-love-breakup.html                     Not Every Breakup Is About Being Broken     By Abby Comey              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/t-
                        magazine/east-village-meat-market-
2022-06-03   2022-06-05 ukraine.html                                Tastes of Ukraine                           By Reggie Nadelson         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/theater/
2022-06-03   2022-06-05 arlekin-players-theater-the-orchard.html    True to Chekhov Even With the Robot         By Elisabeth Vincentelli   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/us/alam Indoor Mask Requirement Returns in
2022-06-03   2022-06-05 eda-county-mask-mandate.html                California County                           By Adeel Hassan            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/busines Ann Turner Cook 95 Whose Face Sold Baby
2022-06-04   2022-06-05 s/ann-turner-cook-gerber-baby-dead.html     Food by the Billions Dies                   By Margalit Fox            TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/04/nyregio Buffalo Shooting Dispatcher Fired Over
2022-06-04   2022-06-05 n/buffalo-shooting-911-dispatcher-fired.html Bungled 911 Call                            By Amanda Holpuch         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/nyregio
2022-06-04   2022-06-05 n/nyc-casinos-gambling.html                  Is Casino Plan A Bet to Regret For New York By Nicole Hong            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/opinion
2022-06-04   2022-06-05 /johnny-depp-amber-heard-trial.html          Trouble In Paradise                         By Maureen Dowd           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/opinion
2022-06-04   2022-06-05 /sunday/psychiatrists-abortion-roe.html      Psychiatrists May Decide Abortion Access    By Sally L Satel          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/opinion
2022-06-04   2022-06-05 /ukraine-russia-putin-war.html               We Cant Be Ukraine Hawks Forever            By Ross Douthat           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/realesta Can My Coop Charge Me to Get Rid Of the
2022-06-04   2022-06-05 te/bedbugs-co-ops-landlords.html             Bedbugs in My Apartment                     By Ronda Kaysen           TX 9-179-521   2022-08-01




                                                                                Page 3842 of 5793
                        https://www.nytimes.com/2022/06/04/sports/b The Iron Steel Cable Connecting the Mets and
2022-06-04   2022-06-05 aseball/gil-hodges-jersey-retired.html      the Dodgers                                  By Scott Miller                   TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/04/sports/t
2022-06-04   2022-06-05 ennis/iga-swiatek-french-open-champion.html On the Red Clay Cementing Her Dominance       By Christopher Clarey            TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/04/style/ba Why Is This City Suddenly a Hot Spot For
2022-06-04   2022-06-05 chelorette-party-scottsdale.html            Bachelorette Fun                              By Allie Jones and Cassidy Araiza TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/us/abbo Baby Formula Plant That Closed Restarts
2022-06-04   2022-06-05 tt-labs-baby-formula.html                   Production                                    By Vimal Patel                 TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/04/us/flori Storm Deluges South Florida Stranding Cars    By Eric Adelson Amanda Holpuch
2022-06-04   2022-06-05 da-tropical-storm-miami-flood.html          in Streets                                    and Nick Madigan               TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/04/us/mari Trumpets Guitars Violins and a Little Solace   By Rick Rojas Emily Rhyne and
2022-06-04   2022-06-05 achis-uvalde-victims.html                   Amid Uvaldes Tears                            Ivan Pierre Aguirre            TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/04/us/polit Republicans Draft Diverse Candidates in a
2022-06-04   2022-06-05 ics/gop-diversity-texas-arizona.html        Bid for Control of the House                  By Catie Edmondson               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/04/us/polit Fettermans Heart Issues Add Wild Card to
2022-06-04   2022-06-05 ics/pa-senate-fetterman-dr-oz.html          Pennsylvania Senate Race                      By Jonathan Weisman              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/04/us/polit US Warship in Sweden With a NATO
2022-06-04   2022-06-05 ics/uss-kearsarge-stockholm.html            Message                                       By Helene Cooper                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/04/us/serg ExAir Force Sergeant Sentenced to 41 Years
2022-06-04   2022-06-05 eant-blm-protest-shooting-sentencing.html   in Killing of Federal Officer                 By Alex Traub                    TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/04/us/uval For Families in Uvalde Laws Limit Ways to
2022-06-04   2022-06-05 de-police-liability.html                    Hold Police Accountable                       By Shaila Dewan and Mike Baker   TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/04/world/a In Taipei Mourning Tiananmens Victims and By John Liu Chris Buckley Austin
2022-06-04   2022-06-05 sia/tiananmen-square-hong-kong-june-4.html the Hong Kong That Was                          Ramzy and Isabella Kwai    TX 9-179-521         2022-08-01
                        https://www.nytimes.com/2022/06/04/world/e Migrants to UK Build Life Outside Hong
2022-06-04   2022-06-05 urope/hong-kong-migrants-uk.html              Kong                                         By Isabella Kwai           TX 9-179-521         2022-08-01
                        https://www.nytimes.com/2022/06/04/world/e
                        urope/platinum-jubilee-queen-elizabeth-prince Jubilee Honors the Queen but Also Highlights
2022-06-04   2022-06-05 charles.html                                  Her Increasing Absences                      By Mark Landler            TX 9-179-521         2022-08-01

                        https://www.nytimes.com/2022/06/04/world/e Ukraine Farmer Feeds a Village As Bombs By Carlotta Gall and Finbarr
2022-06-04   2022-06-05 urope/ukraine-farmer-sievierodonetsk.html  Fall                                         OReilly                            TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/04/world/e Battles Raging Kyiv Rejects a Plea by Macron By Andrew E Kramer and Jason
2022-06-04   2022-06-05 urope/ukraine-macron-russia-izium.html     to Not Humiliate Russia                      Horowitz                           TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/04/world/
                        middleeast/gaza-palestinians-              Bronzed Ripped and Ready to Pose but
2022-06-04   2022-06-05 bodybuilding.html                          Feeling the Weight of a Blockade             By Raja Abdulrahim                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/04/world/                                               By Farnaz Fassihi and Ronen
2022-06-04   2022-06-05 middleeast/iran-israel-guards-death.html   Questions Are Raised As Officer Dies in Iran Bergman                            TX 9-179-521    2022-08-01

                        https://www.nytimes.com/interactive/2022/06/ The Mass Shootings Where Stricter Gun        By Quoctrung Bui Alicia
2022-06-04   2022-06-05 04/upshot/mass-shooting-gun-laws.html        Laws Might Have Made a Difference            Parlapiano and Margot SangerKatz TX 9-179-521    2022-08-01




                                                                                 Page 3843 of 5793
                        https://www.nytimes.com/2022/06/05/busines
                        s/economy/california-housing-crisis-
2022-06-05   2022-06-05 nimby.html                                    Not in Her Backyard                          By Conor Dougherty      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/busines
                        s/the-week-in-business-meta-sheryl-
2022-06-05   2022-06-05 sandberg.html                                 The Week in Business Meta Changes            By Marie Solis          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/health/ In Rural Town Parents and Students Clash
2022-06-05   2022-06-05 killingly-ct-mental-health-clinic-school.html Over Mental Health                           By Ellen Barry          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/insider/
2022-06-05   2022-06-05 spending-time-with-a-family-in-crisis.html    Observing a Family in Crisis                 By Terence McGinley     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/sports/h
                        ockey/vasilevskiy-shesterkin-lightning-       Eastern Final Shows The Continuing Rise Of
2022-06-05   2022-06-05 rangers.html                                  the Russian Goalie                           By David Waldstein      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/style/ne
2022-06-05   2022-06-05 w-gerber-baby.html                            Raw Feelings After Gerber Picks a Baby       By Elisabeth Donnelly   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/style/pr
2022-06-05   2022-06-05 ide-party-monster-coach-guggenheim.html       Pride Is in the Air On the Party Trail       By Denny Lee            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/world/a
2022-06-05   2022-06-05 frica/wagner-russia-sudan-gold-putin.html     Shadow Group For Putin Gets Rich in Sudan    By Declan Walsh         TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/05/world/a Rid New Zealand of Predators Traps Are Not By Pete McKenzie and Jim
2022-06-05   2022-06-05 ustralia/new-zealands-predator-mammals.html Enough                                      Huylebroek                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/16/travel/c An Intimate Look at Mexicos Indigenous Seri
2022-05-16   2022-06-06 omcaac-seri-people-mexico.html               People                                     By Nria Lpez Torres        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/24/travel/a Help What Can I Do If an Airline Switched
2022-05-24   2022-06-06 irline-flight-itinerary.html                 My Booked Flight Plan                      By Seth Kugel              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/26/arts/des Colin Forbes 94 CoFounder of a Leading
2022-05-26   2022-06-06 ign/colin-forbes-dead.html                   Design Firm                                By Neil Genzlinger         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/29/opinion We Will All Mourn and We Will All Be
2022-05-29   2022-06-06 /why-we-judge-each-others-grief.html         Mourned                                    By Perri Klass MD          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/arts/tele
2022-06-02   2022-06-06 vision/the-wire-20th-anniversary.html        Why The Wire Still Stands Alone            By James Poniewozik        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/busines
2022-06-02   2022-06-06 s/media/tosca-musk-passionflix.html          The Other Musk Empire RomComs              By Brooks Barnes           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/opinion
2022-06-02   2022-06-06 /biden-the-blob-china-us.html                A Biden Teams Costly Harmony               By Peter Beinart           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/theater/ Second Stage Announces Its Coming
2022-06-02   2022-06-06 the-thanksgiving-play-broadway.html          Productions                                By Michael Paulson         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/arts/sa Samella Lewis Artist Who Gave Black Art A
2022-06-03   2022-06-06 mella-lewis-dead.html                        Spotlight Dies at 99                       By Neil Genzlinger         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/arts/tele
2022-06-03   2022-06-06 vision/p-valley-katori-hall.html             A Workplace Drama Set in a Strip Club      By Coralie Kraft           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/fashion Here to Help Vanessa Friedman Answers
2022-06-03   2022-06-06 /no-show-socks.html                          Your Style Questions                       By Vanessa Friedman        TX 9-179-521   2022-08-01




                                                                                 Page 3844 of 5793
                        https://www.nytimes.com/2022/06/03/movies/ Making a Gay RomCom With a Jane Austen
2022-06-03   2022-06-06 fire-island-joel-kim-booster-interview.html Flair                                        By Kyle Buchanan                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/03/obituari Overlooked No More Maureen Colquhoun
2022-06-03   2022-06-06 es/maureen-colquhoun-overlooked.html        Pathbreaking Politician Waylaid by Bias      By Alan Cowell                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/03/travel/i
2022-06-03   2022-06-06 celand-drive-diamond-circle.html            An Otherworldly Drive in North Iceland       By Elaine Glusac                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/03/us/dalla Ancient Relics Are Damaged By Intruder At
2022-06-03   2022-06-06 s-museum-of-art-break-in-vandalism.html     Museum                                       By Vimal Patel                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/04/busines
2022-06-04   2022-06-06 s/apple-virtual-reality-headset.html        Apple Lays Groundwork For VR Push            By Tripp Mickle and Brian X Chen TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/04/busines A Test for Workplace Devotion Has Emerged
2022-06-04   2022-06-06 s/dealbook/companies-return-to-office.html from the BacktoOffice Debate                 By Vivian Giang                TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/05/arts/dan Following Peter and the Wolf a Little
2022-06-05   2022-06-06 ce/review-third-bird-guggenheim.html        Squawking                                   By Brian Seibert               TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/05/books/a
2022-06-05   2022-06-06 ndrew-holleran-kingdom-of-sand.html         A Novelists Twilight Reflections On Old Age By Joshua Barone               TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/05/briefing
2022-06-05   2022-06-06 /jack-welch-david-gelles.html               Examining the Jack Welch Effect             By David Leonhardt             TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/05/busines Biden Boxed In As Price of Oil Refuses to
2022-06-05   2022-06-06 s/biden-oil-saudi-arabia.html               Cool                                        By Clifford Krauss             TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/05/busines                                              By Michael M Grynbaum and John
2022-06-05   2022-06-06 s/media/cnn-chris-licht.html                After Zucker CNN Rations The Banners        Koblin                         TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/05/nyregio Taking Guns From Those in Crisis A Countys By Andy Newman Benjamin
2022-06-05   2022-06-06 n/red-flag-law-shootings-new-york.html      Red Flag Lessons                            Weiser and Ashley Southall     TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/05/opinion
2022-06-05   2022-06-06 /advice-journalism-career.html              Career Advice From a Career in the Trenches By Charles M Blow              TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/05/opinion What Good Is Springtime When You Cant
2022-06-05   2022-06-06 /covid-smell-taste-loss.html                Smell the Flowers                           By Pamela Paul                 TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/05/sports/b A Sunday Brunch in the Bronx With a Game
2022-06-05   2022-06-06 aseball/yankees-tigers-peacock.html         on the Menu                                 By Gary Phillips               TX 9-179-521      2022-08-01

                        https://www.nytimes.com/2022/06/05/sports/b Shining on the Celtics A LateBlooming Star
2022-06-05   2022-06-06 asketball/derrick-white-boston-celtics.html Thrills Old Teammates                        By Scott Cacciola               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/05/sports/f                                              By Victor Mather and Mark
2022-06-05   2022-06-06 allon-sherrock-us-darts-masters.html        They Dont Want to Lose to a Girl             Kauzlarich                      TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/05/sports/h Back Home Lightning Regain Champion
2022-06-05   2022-06-06 ockey/rangers-lightning-game-3-score.html Form                                           By Ken Belson                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/05/sports/s Ukraine Falls Short At End of a Journey Of
2022-06-05   2022-06-06 occer/ukraine-wales-world-cup.html          Stress and Hope                              By Andrew Das                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/05/sports/s Facing Stars Of Uruguay US Scores A 00
2022-06-05   2022-06-06 occer/usmnt-uruguay-friendly-score.html     Draw                                         By Andrew Keh                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/05/sports/t
2022-06-05   2022-06-06 ennis/rafael-nadal-french-open.html         A Romp on One Good Foot                      By Christopher Clarey           TX 9-179-521    2022-08-01




                                                                                Page 3845 of 5793
                        https://www.nytimes.com/2022/06/05/us/ches Debate on Crime Splits San Francisco
2022-06-05   2022-06-06 a-boudin-recall-san-francisco.html           Democrats                                   By Tim Arango and Thomas Fuller TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/05/us/mon Biker Club Seeks New Trial Claiming Leader
2022-06-05   2022-06-06 gols-new-trial.html                          Informed                                    By Serge F Kovaleski              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/us/phila Mass Shootings Over Weekend Unnerve          By Luke Vander Ploeg Christine
2022-06-05   2022-06-06 delphia-shooting.html                        Cities                                      Chung and Livia AlbeckRipka       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/us/polit
                        ics/america-first-secretary-of-state-
2022-06-05   2022-06-06 candidates.html                              2020 Deniers Gain in Races To Run Voting By Alexandra Berzon                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/world/a In Nigeria An Attack On a Church Kills
2022-06-05   2022-06-06 frica/nigeria-church-attack.html             Scores                                      By Ben Ezeamalu and Elian Peltier TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/world/a Putin Peddles Stolen Grain To Needy World By Declan Walsh and Valerie
2022-06-05   2022-06-06 frica/ukraine-grain-russia-sales.html        US Says                                     Hopkins                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/world/a Dozens Killed in Fire and Explosions at a
2022-06-05   2022-06-06 sia/bangladesh-fire-explosion.html           Bangladesh Depot                            By Saif Hasnat                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/world/a North Korea Fires 8 ShortRange Missiles a
2022-06-05   2022-06-06 sia/north-korea-missile.html                 Day After USSouth Korean Exercises          By Choe SangHun                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/world/e
2022-06-05   2022-06-06 urope/queen-platinum-jubilee-britain.html    In Jubilee Britons Find Respite From Woes By Mark Landler                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/world/e Russian Forces Hit Kyiv Amid Struggles in By Valerie Hopkins and Steven
2022-06-05   2022-06-06 urope/ukraine-russia-war-kyiv.html           East                                        Erlanger                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/sports/b
                        asketball/boston-celtics-golden-state-nba-   With Huge 3rd Quarter Golden State Staggers
2022-06-06   2022-06-06 finals-game-2.html                           Boston and Pulls Even                       By Tania Ganguli                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/arts/tele
                        vision/whats-on-tv-this-week-the-tony-awards-
2022-06-06   2022-06-06 and-p-valley.html                            This Week on TV                             By Gabe Cohn                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/sports/s Keeping Surf Spots Secret in Age of
2022-06-06   2022-06-06 ecret-surf-spots.html                        Geotagging Gets Tougher                     By Adam Elder                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/technol Thefts Fraud and Lawsuits At Large NFT
2022-06-06   2022-06-06 ogy/nft-opensea-theft-fraud.html             Marketplace                                 By David YaffeBellany             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/world/a Assassinations Become Main Weapon of
2022-06-06   2022-06-06 sia/myanmar-assassinations-coup.html         Myanmars Resistance                         By Richard C Paddock              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/briefing
2022-05-27   2022-06-07 /pandemic-updates-from-readers.html          Pandemic Updates From Readers               By Jonathan Wolfe                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/well/m
2022-05-27   2022-06-07 ove/swimming-workout-exercise.html           Swimming as a Summer Workout                By Dana G Smith                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/science An Australian Goliath The Worlds Largest
2022-05-31   2022-06-07 /clone-seagrass-australia.html               Plant Is a Real Expert at Cloning           By Kate Golembiewski              TX 9-179-521   2022-08-01
                                                                     Evolutionary Battleground Megalodons vs
                        https://www.nytimes.com/2022/05/31/science Great White Sharks We Know Which
2022-05-31   2022-06-07 /megalodon-great-white-sharks.html           Predator Won                                By Veronique Greenwood            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/science Planetary Palettes Why Uranus Is Blue And
2022-05-31   2022-06-07 /neptune-uranus-blue.html                    Neptune Is Even Bluer                       By Jonathan OCallaghan            TX 9-179-521   2022-08-01




                                                                                Page 3846 of 5793
                        https://www.nytimes.com/2022/05/31/well/mi
2022-05-31   2022-06-07 nd/anticipation-happiness.html               To Enjoy Life More Embrace Anticipation     By Holly Burns                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/theater/ A Muted Revival Follows a Family in Free
2022-06-01   2022-06-07 amy-adams-glass-menagerie.html               Fall                                        By Matt Wolf                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/well/cel Are We Close to a Treatment for Celiac
2022-06-01   2022-06-07 iac-disease-treatment.html                   Disease                                     By Alice Callahan                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/well/eat Have a Cup of Coffee It Could Extend Your
2022-06-01   2022-06-07 /coffee-study-lower-dying-risk.html          Life                                        By Dani Blum                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/world/a Coronavirus Thwarts Antibodies in South
2022-06-01   2022-06-07 frica/omicron-south-africa-antibodies.html   Africa                                      By Livia AlbeckRipka             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/your-
2022-06-01   2022-06-07 money/student-loan-debt-degree.html          No Degree But Saddled With Debt             By Tara Siegel Bernard           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/science Lovestruck With Ancient Giraffes Hardheads
2022-06-02   2022-06-07 /giraffe-neck-evolution.html                 Had Edge                                    By Jack Tamisiea                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/theater/
2022-06-02   2022-06-07 bam-next-wave-festival.html                  New Faces in BAMs Next Wave Festival        By Sarah Bahr                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/well/mi
2022-06-02   2022-06-07 nd/vagus-nerve-mental-health.html            The Vast Potential Of the Vagus Nerve       By Christina Caron               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/movies/
2022-06-03   2022-06-07 neptune-frost-behind-the-scenes.html         A Story of EWaste In Music and Magic        By Carlos Aguilar                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/opinion Ignoring Most Texans Abbott Woos a Tiny
2022-06-03   2022-06-07 /texas-republicans-abbott.html               Base                                        By Mimi Swartz                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/health/e
2022-06-05   2022-06-07 lderly-medical-health-debt.html              Debts Adverse Effect On Older Americans     By Paula Span                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/health/r Rectal Cancer Drug Trial Results in Complete
2022-06-05   2022-06-07 ectal-cancer-checkpoint-inhibitor.html       Remission                                   By Gina Kolata                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/obituari Martha Myers Whose Dancers Made the
2022-06-05   2022-06-07 es/martha-myers-dead.html                    Impossible Possible Dies at 97              By Neil Genzlinger               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/opinion The Supreme Courts Next Target The
2022-06-05   2022-06-07 /climate-change-supreme-court.html           Environment                                 By Sambhav Sankar                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/arts/mu
2022-06-06   2022-06-07 sic/harry-styles-billboard-chart.html        Streaming Took Harry Styles to No 1 Again By Joe Coscarelli                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/arts/mu
                        sic/lou-reed-caught-between-the-twisted-
2022-06-06   2022-06-07 stars.html                                   You Dont Become Lou Reed Overnight          By Ben Sisario and Erik Tanner   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/arts/mu
                        sic/nathaniel-silberschlag-french-horn-
2022-06-06   2022-06-07 cleveland-orchestra.html                     Blowing His Horn In Cleveland               By Joshua Barone                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/arts/mu Paul Vance 92 Created Big Hit Out of Itsy
2022-06-06   2022-06-07 sic/paul-vance-dead.html                     Bitsy Bikini                                By Richard Sandomir              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/arts/tele
2022-06-06   2022-06-07 vision/irma-vep-hbo.html                     Irma Vep Returns To Flirt With Itself       By Elisabeth Vincentelli         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/books/r
2022-06-06   2022-06-07 eview-raising-raffi-keith-gessen.html        One Fathers Report From the Eye of a Storm By Dwight Garner                  TX 9-179-521   2022-08-01




                                                                                 Page 3847 of 5793
                        https://www.nytimes.com/2022/06/06/busines Apple Freshens Up iPhone With Software
2022-06-06   2022-06-07 s/apple-ios-16-software-updates.html          That Expands Uses                          By Tripp Mickle and Brian X Chen TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/06/busines As 9 Ethics Board Members Resign Axon
2022-06-06   2022-06-07 s/axon-taser-drone.html                       Pauses Plans for a Taser Drone             By Jesus Jimnez                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/busines Biden Plans a Tariff Pause to Encourage a     By Ana Swanson David Gelles and
2022-06-06   2022-06-07 s/economy/biden-solar-tariffs.html            Shift to Solar Power                       Jim Tankersley                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/busines
                        s/economy/the-potential-dark-side-of-a-white-
2022-06-06   2022-06-07 hot-labor-market.html                         The Dark Side of the WhiteHot Labor Market By Jeanna Smialek                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/busines Britain Tests Old Dream A Workweek Of
2022-06-06   2022-06-07 s/uk-four-day-work-week.html                  Four Days                                  By Christine Hauser               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/busines Wells Fargo to Pause Diversity Policy That
2022-06-06   2022-06-07 s/wells-fargo-fake-job-interviews.html        Gave Rise to Fake Job Interviews           By Emily Flitter                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/nyregio Officials Gird for Ruling That May End Gun
2022-06-06   2022-06-07 n/gun-control-supreme-court-nyc.html          Law                                        By Jonah E Bromwich               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/opinion
2022-06-06   2022-06-07 /cryptocurrency-bubble-fraud.html             From the Big Short to the Big Scam         By Paul Krugman                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/opinion
2022-06-06   2022-06-07 /guns-2024-nba-finals.html                    What Are the Odds                          By Gail Collins and Bret Stephens TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/science An Illusion Yields Lessons About the Brain
2022-06-06   2022-06-07 /optical-illusion-tunnel.html                 and Eyes                                   By Richard Sima                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/sports/b Facing Perils of Doors and Dogs Mets Hold
2022-06-06   2022-06-07 aseball/mets-dodgers.html                     Dodgers to a Standoff Out West             By Scott Miller                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/sports/b Sending a Message Of Inclusion With
2022-06-06   2022-06-07 aseball/rays-pride-night.html                 Exceptions                                 By Tyler Kepner                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/sports/b
                        asketball/warriors-celtics-game-2-draymond- A Ferocious Green Knew What He Needed to
2022-06-06   2022-06-07 green.html                                    Do                                         By Scott Cacciola                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/sports/g Mickelson Defying PGA Tour Will Play in
2022-06-06   2022-06-07 olf/mickelson-liv-golf-pga.html               SaudiBacked Circuits Debut                 By Bill Pennington                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/sports/t Halfway There But the Next Steps Could Be
2022-06-06   2022-06-07 ennis/rafael-nadal-injury.html                Daunting                                   By Christopher Clarey             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/technol Musk Warns End to Deal Over Refusal To
2022-06-06   2022-06-07 ogy/elon-musk-twitter.html                    Give Data                                  By Lauren Hirsch and Mike Isaac TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/06/us/geor Conservative Steps Down From Georgetown
2022-06-06   2022-06-07 getown-ilya-shapiro.html                      Law                                        By Anemona Hartocollis            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/us/may Mayors Say Hands Tied On Averting
2022-06-06   2022-06-07 ors-mass-shootings-gun-control.html           Shootings                                  By Mitch Smith                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/us/polit Democrats Weigh a Comeback Strategy in
2022-06-06   2022-06-07 ics/democrats-midwest-strategy.html           Factory Towns                              By Blake Hounshell                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/us/polit
                        ics/gas-prices-california-politics-           Californias Soaring Gas Prices Rattle
2022-06-06   2022-06-07 democrats.html                                Democrats Ahead of Midterms                By Katie Glueck                   TX 9-179-521   2022-08-01




                                                                                Page 3848 of 5793
                        https://www.nytimes.com/2022/06/06/us/polit
                        ics/gun-control-cornyn-senate-              Seeking Incremental Changes Cornyn
2022-06-06   2022-06-07 republicans.html                            Narrows Scope of Senate Gun Talks       By Carl Hulse                     TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/06/us/polit Georgia Democrats Cry Foul After Group
2022-06-06   2022-06-07 ics/herschel-walker-gas-vouchers.html        Backing ExFootball Star Holds Gas Giveaway By Maya King                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/us/polit
2022-06-06   2022-06-07 ics/pete-buttigieg-covid-positive.html       Buttigieg With Covid Will Work From Home By Johnny Diaz                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/us/polit
                        ics/supreme-court-state-legislatures-        Supreme Court May Hear 800Pound Gorilla
2022-06-06   2022-06-07 elections.html                               of Election Law Cases                      By Adam Liptak                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/us/scot Process of Redrawing Congressional Districts
2022-06-06   2022-06-07 us-redistricting-congress-maps.html          Is Coming to an End                        By Michael Wines               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/us/temp Three Officers On Paid Leave After Watching
2022-06-06   2022-06-07 e-police-suspect-drowning.html               A Man Drown                                By Christine Chung             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/world/a
                        mericas/mexico-obrador-americas-             Mexican Leader Skipping Americas Summit
2022-06-06   2022-06-07 summit.html                                  in US                                      By Oscar Lopez                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/world/e How Johnson Shattered His Invincibility
2022-06-06   2022-06-07 urope/boris-johnson-confidence-vote.html     Scandals Galore                            By Mark Landler                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/world/e Surviving Vote Johnson Faces Bleak           By Mark Landler and Stephen
2022-06-06   2022-06-07 urope/boris-johnson-vote.html                Outlook                                    Castle                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/world/e
                        urope/ukraine-advanced-weapons-              Arms Experience Presents Hurdle In Ukraine By Thomas GibbonsNeff and
2022-06-06   2022-06-07 training.html                                Fight                                      Natalia Yermak                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/world/
                        middleeast/israel-settlers-bennett-          Israeli Coalition Teeters Losing Vote on
2022-06-06   2022-06-07 netanyahu.html                               Settlements                                By Patrick Kingsley            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit
                        ics/proud-boys-charged-sedition-capitol-     5 Proud Boys Indicted on Charges Of        By Alan Feuer Adam Goldman and
2022-06-06   2022-06-07 attack.html                                  Sedition in Assault on Capitol             Luke Broadwater                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/arts/tele
                        vision/bill-cosby-trial-judy-huth-           On Stand Woman Accuses Cosby Of Sexually By Graham Bowley Lauren Herstik
2022-06-07   2022-06-07 testimony.html                               Assaulting Her at 16                       and Douglas Morino             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/science
2022-06-07   2022-06-07 /bitcoin-nakamoto-blackburn-crypto.html      The Theater Of Bitcoin                     By Siobhan Roberts             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/health/
2022-06-07   2022-06-07 kevin-cahill-sexual-assault.html             Noted Doctor Is Accused of Sexual Assault By Roni Caryn Rabin             TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/07/nyregio What to Watch For as Hochul Faces Primary
2022-06-07   2022-06-07 n/debate-governor-hochul-ny.html            Rivals in New York Governors Debate       By Grace Ashford                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/sports/c Gravel Therapy A Growing Sport Is Welcome By David Gardner and Christopher
2022-06-07   2022-06-07 ycling/gravel-biking-unbound.html           to All And Spares None                    Smith                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/technol
2022-06-07   2022-06-07 ogy/jordie-jordan-gamer-photo-fake.html     Stuck on a Carousel of Calumny            By Tiffany Hsu                   TX 9-179-521   2022-08-01



                                                                               Page 3849 of 5793
                        https://www.nytimes.com/2022/06/07/us/polit Embattled Democrats Hope Jan 6 Hearings     By Annie Karni and Luke
2022-06-07   2022-06-07 ics/jan-6-hearings-tv-democrats.html         Will Motivate Voters                       Broadwater                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/world/a
                        sia/philippines-martial-law-marcos-
2022-06-07   2022-06-07 museum.html                                  New Interest in a Museum to the Marcos Era By SuiLee Wee             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/dining/
                        drinks/burgundy-clos-de-la-perriere-domaine-
2022-06-02   2022-06-08 joliet.html                                  A Comeback 200 Years in the Making         By Eric Asimov            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/dining/
2022-06-02   2022-06-08 drinks/rye-whiskey-pennsylvania.html         Pennsylvanias Past Is Steeped in Whiskey   By Clay Risen             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/dining/
2022-06-03   2022-06-08 egg-in-a-hole-french-toast-asparagus.html    EgginaHole Gets A Savory Partner           By Melissa Clark          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/dining/
2022-06-03   2022-06-08 potchke-knoxville-deli-ukraine.html          A Love of Ukraine Transformed Into Food    By Brett Anderson         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/opinion 400 Years Ago Theyd Be Called Witches
2022-06-03   2022-06-08 /spiritual-coaches-religion.html             Today Theyre Spiritual Coaches             By Molly Worthen          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/us/polit Barry Sussman 87 Indispensable Editor In
2022-06-04   2022-06-08 ics/barry-sussman-dead.html                  Washington Posts Watergate Coverage        By Richard Sandomir       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/dining/f To Consult Vegetables Ready For Time on the
2022-06-06   2022-06-08 rancis-mallmann-green-fire.html              Grill                                      By Florence Fabricant     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/dining/ To Cover NoNonsense Apron For Serious
2022-06-06   2022-06-08 grilling-apron.html                          Grilling                                   By Florence Fabricant     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/dining/ To Shop Lavish Food Hall On the Upper
2022-06-06   2022-06-08 harrys-table-cipriani.html                   West Side                                  By Florence Fabricant     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/dining/ To Sample City Bakeries Salute Hot Bread
2022-06-06   2022-06-08 hot-bread-kitchen.html                       Kitchen                                    By Florence Fabricant     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/dining/i
                        ce-cream-sorbets-paletas-shaved-ice-los-
2022-06-06   2022-06-08 angeles.html                                 Treats to Beat the Los Angeles Heat        By Tejal Rao              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/dining/j To Learn English Expert Offers A Virtual
2022-06-06   2022-06-08 ancis-robinson-92-street-y.html              Wine Event                                 By Florence Fabricant     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/dining/j
2022-06-06   2022-06-08 uneteenth-food-menu-cookbook.html            A Menu as a Mosaic for Juneteenth          By Nicole Taylor          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/dining/ To Buzz Portable Device Puts Espresso in
2022-06-06   2022-06-08 nanopresso-portable-espresso-maker.html      Motion                                     By Florence Fabricant     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/world/
2022-06-06   2022-06-08 middleeast/james-fitton-iraq-geologist.html Tourist Gets Jail for Taking Artifacts      By Jane Arraf             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/arts/dan
2022-06-07   2022-06-08 ce/akram-khan-tamara-rojo-giselle.html       Remaking and Updating a Ballet Classic     By Roslyn Sulcas          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/arts/des
                        ign/hosoo-verdi-textiles-milan-design-
2022-06-07   2022-06-08 week.html                                    Tales told in fiber and metal              By Ray Mark Rinaldi       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/arts/des
2022-06-07   2022-06-08 ign/lee-broom-divine-inspiration.html        There was light and it was Brutal          By Stephen Treffinger     TX 9-179-521   2022-08-01




                                                                               Page 3850 of 5793
                        https://www.nytimes.com/2022/06/07/arts/des
2022-06-07   2022-06-08 ign/milan-design-week-maria-porro.html       Her job is an adventure                      By Ted Loos                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/arts/des
2022-06-07   2022-06-08 ign/murano-italy-glass-resurgence.html       In struggling Murano a design intervention   By Ray Mark Rinaldi                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/arts/des
                        ign/philadelphia-museum-of-art-sasha-        Philadelphia Museum Acts to Put Scandal in
2022-06-07   2022-06-08 suda.html                                    Past                                         By Robin Pogrebin                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/arts/des
                        ign/sam-baron-tai-ping-rugs-milan-design-
2022-06-07   2022-06-08 week.html                                    A designers rugs finally have their moment   By Julie Lasky                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/arts/mu
                        sic/cliburn-piano-competition-texas-ukraine-
2022-06-07   2022-06-08 war.html                                     At the Keyboards Echoes of War               By Javier C Hernndez                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/arts/mu Jim Seals Half of Harmonious Duo On
2022-06-07   2022-06-08 sic/jim-seals-dead.html                      Summer Breeze Is Dead at 79                  By Neil Genzlinger                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/arts/mu Wes Jackson to Become President of the
2022-06-07   2022-06-08 sic/wes-jackson-bric-president.html          BRIC Arts Organization                       By Sarah Bahr                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/books/r A Noble Steed and a Journey Through Time
2022-06-07   2022-06-08 eview-horse-geraldine-brooks.html            and Race                                     By Alexandra Jacobs                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/busines
                        s/energy-environment/shell-renewable-energy-
2022-06-07   2022-06-08 texas.html                                   Oil Giant Shell to Sell Renewables to Texans By Clifford Krauss and Ivan Penn    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/busines
2022-06-07   2022-06-08 s/goodyear-tire-recall.html                  Goodyear to Recall Tires Tied to Deaths      By Livia AlbeckRipka                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/busines
                        s/matthew-mcconaughey-white-house-gun- At White House Matthew McConaughey
2022-06-07   2022-06-08 control-uvalde.html                          Pleads for an End to Gun Violence            By Jim Tankersley                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/busines In Prime Time a Jan 6 Hearing On Fox News By Jeremy W Peters and John
2022-06-07   2022-06-08 s/media/fox-jan-6-hearings.html              the Usual Lineup                             Koblin                              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/busines                                                By Melina Delkic and Jason
2022-06-07   2022-06-08 s/target-profit-inflation.html               Target Will Cut Prices to Shed Inventory     Karaian                             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/busines World Bank Sees Economic Threat On Global
2022-06-07   2022-06-08 s/world-bank-forecast.html                   Scale                                        By Patricia Cohen                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/climate Environmental Nuclear Bomb as the Great        By Christopher Flavelle and Bryan
2022-06-07   2022-06-08 /salt-lake-city-climate-disaster.html        Salt Lake Dries Up                           Tarnowski                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/dining/ The Team Behind Lodi and Estela Opens
2022-06-07   2022-06-08 nyc-restaurant-news.html                     Restaurants in the Nine Orchard Hotel        By Florence Fabricant               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/dining/r
                        eader-questions-affordable-eats-and-gluten-
2022-06-07   2022-06-08 free-brunch.html                             Inexpensive Meals And NoGluten Options       By Nikita Richardson                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/educati Charlotte Frank 93 Who Modernized
2022-06-07   2022-06-08 on/charlotte-frank-dead.html                 Curriculums for Millions in New York City By Sam Roberts                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/health/e Trial of New Breast Cancer Drug Results in
2022-06-07   2022-06-08 nhertu-breast-cancer-chemotherapy.html       UnheardOf Survival Rates                     By Gina Kolata                      TX 9-179-521   2022-08-01




                                                                                 Page 3851 of 5793
                        https://www.nytimes.com/2022/06/07/health/ Changed CDC Guidance Highlights That
2022-06-07   2022-06-08 monkeypox-masks-cdc.html                   Monkeypox Can Be Airborne Too                By Apoorva Mandavilli            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/health/ Panel Recommends Shot by Novavax             By Carl Zimmer and Rebecca
2022-06-07   2022-06-08 novavax-covid-vaccine.html                 Latecomer in Race for Covid Vaccine          Robbins                          TX 9-179-521   2022-08-01
                                                                                                                By Luis FerrSadurn Grace Ashford
                        https://www.nytimes.com/2022/06/07/nyregio Eyeing Impact New York May Ban Crypto        Dana Rubinstein and David
2022-06-07   2022-06-08 n/cryptomining-ban-ny.html                  Mining                                      YaffeBellany                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/opinion
2022-06-07   2022-06-08 /boris-johnson-confidence-vote.html         Johnson Won the Day Not the Fight          By Katy Balls                    TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/opinion
2022-06-07   2022-06-08 /progressives-america.html                  Mugged by Reality Again                    By Bret Stephens                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/opinion The Ukraine War Still Holds Surprises The
2022-06-07   2022-06-08 /ukraine-putin.html                         Biggest May Be for Putin                   By Thomas L Friedman             TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/sports/b Managers Share Past and Present On Mets
2022-06-07   2022-06-08 aseball/buck-showalter-bob-melvin.html      and Padres                                 By Scott Miller                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/sports/b Mired in a 12Game Losing Streak the Angels
2022-06-07   2022-06-08 aseball/joe-maddon-fired-angels.html        Fire Maddon                                By Scott Miller                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/sports/b
                        asketball/klay-thompson-golden-state-nba-
2022-06-07   2022-06-08 finals.html                                 Slumping Thompson Watches Himself          By Scott Cacciola                TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/07/sports/f Massages NDAs And Help From a Team The
2022-06-07   2022-06-08 ootball/deshaun-watson.html                 Troubling Record Of a Franchise Quarterback By Jenny Vrentas                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/sports/g Johnson Quits PGA Tour and Commits to
2022-06-07   2022-06-08 olf/dustin-johnson-pga-liv-golf.html        LIV                                         By Bill Pennington              TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/07/sports/o Scandal At Olympics Spurs Shift In Age
2022-06-07   2022-06-08 lympics/figure-skating-age-limit-valieva.html Limit                                      By Andrew Keh                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/technol
                        ogy/personaltech/ios-android-software-
2022-06-07   2022-06-08 update.html                                   Phone Updates Incremental and Overdue      By Brian X Chen                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/technol
2022-06-07   2022-06-08 ogy/tech-predictions.html                     Waiting to Be Wowed by Virtual Reality     By Shira Ovide                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/theater/
2022-06-07   2022-06-08 buggy-baby-review.html                        A Hallucinatory Tale Chatty Infant in Tow  By Laura CollinsHughes         TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/theater/
2022-06-07   2022-06-08 dear-evan-hansen-closing-broadway.html        Dear Evan Hansen And Tina to Close         By Michael Paulson             TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/theater/
2022-06-07   2022-06-08 ruth-negga-macbeth-tonys.html                 Ruth Negga Fights The Status Quo           By Salamishah Tillet           TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/theater/
2022-06-07   2022-06-08 stoppard-leopoldstadt-broadway.html           Leopoldstadt to Open On Broadway This Fall By Michael Paulson             TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/us/polit Democratic Lawmakers Urge Biden to Ensure By Julian E Barnes and Edward
2022-06-07   2022-06-08 ics/biden-saudi-arabia-congress.html          Saudi Ties Serve the US                    Wong                           TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/us/polit Biden Faces Tall Task at Meeting of Leaders
2022-06-07   2022-06-08 ics/biden-summit-los-angeles.html             From Nations of Hemisphere                 By Michael D Shear             TX 9-179-521    2022-08-01



                                                                                Page 3852 of 5793
                        https://www.nytimes.com/2022/06/07/us/polit The Democrat Risking Her Seat to Dissect the
2022-06-07   2022-06-08 ics/elaine-luria-jan-6-hearings.html        Capitol Riot                                 By Jonathan Weisman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/us/polit Yellen Defends Stimulus Aid As Prices
2022-06-07   2022-06-08 ics/inflation-yellen.html                   Continue to Rise                             By Alan Rappeport                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/us/polit Kansas Woman Pleads Guilty Over Aiding
2022-06-07   2022-06-08 ics/islamic-state-fluke-ekren.html          ISIS                                         By Adam Goldman                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/us/polit New Jersey Centrists Seek to Disrupt 2Party
2022-06-07   2022-06-08 ics/new-jersey-moderate-party.html          System and Legalize Their Dream              By Blake Hounshell                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/us/polit US Fails to Assess Civilian Deaths in Yemen
2022-06-07   2022-06-08 ics/saudi-yemen-war-us-weapons.html         War GAO Report Finds                         By Edward Wong                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/world/a 2 Brothers Who Fled South Africa Are
2022-06-07   2022-06-08 frica/gupta-brothers-arrest-dubai.html      Arrested in Corruption Scandal               By John Eligon                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/world/a Ryanair Asks South Africans to Prove
2022-06-07   2022-06-08 frica/ryanair-south-africa-afrikaans.html   Nationality by Taking Test in Afrikaans      By Emma Bubola                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/world/a
2022-06-07   2022-06-08 mericas/mexico-violence-doctors.html        Violence in Rural Mexico Imperils Doctors By Steve Fisher                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/world/a Fire Official Says No Alert Was Provided On
2022-06-07   2022-06-08 sia/bangladesh-fire-depot.html              Chemicals                                    By Saif Hasnat and Emily Schmall   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/world/e Andre Geulen Who Saved Children by
2022-06-07   2022-06-08 urope/andree-geulen-dead.html               Outracing Nazis Dies at 100                  By Joseph Berger                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/world/e British Prime Minister Survives One Political By Mark Landler and Stephen
2022-06-07   2022-06-08 urope/boris-johnson-no-confidence.html      Crisis but Another Looms                     Castle                             TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/07/world/e NATO Kurds Ukraine Syria Swedish             By Christina Anderson and Isabella
2022-06-07   2022-06-08 urope/sweden-turkey-nato-russia-ukraine.html Politics Is Global Now                     Kwai                               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/world/e So Long Tolstoy Station Cities Decolonize by
2022-06-07   2022-06-08 urope/ukraine-russia-rename-streets.html     Erasing Russian Names                      By Erika Solomon                   TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/07/world/e
2022-06-07   2022-06-08 urope/ukraine-sievierodonetsk-donbas.html Ukraine Wages Seesaw Battle For Dead City     By Andrew E Kramer                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/07/bus
                        iness/economy-news-russia-inflation/the-pay-
                        gap-between-ceos-and-workers-grew-in-the-
2022-06-07   2022-06-08 second-year-of-the-pandemic                  CEO Earnings Soar Widening the Pay Gap     By Stephen Gandel                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/09/us/
                        jan-6-hearings/jan-6-hearings-watch-tv-
2022-06-07   2022-06-08 channel                                      PrimeTime Findings Guide to the Hearings   By Zach Montague                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/arts/jud Cosby Accuser in Emotional Testimony        By Graham Bowley and Lauren
2022-06-08   2022-06-08 y-huth-bill-cosby-sexual-assault.html        Describes Encounter I Felt Duped Fooled    Herstik                             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/nyregio Hochul Is Clear Target in Debate of
2022-06-08   2022-06-08 n/democratic-debate-governor-hochul.html     Democratic Candidates for Governor         By Nicholas Fandos                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/theater/
2022-06-08   2022-06-08 review-sarah-silvermans-bedwetter.html       A Misfits Middle School Travails           By Jesse Green                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/us/polit Retired General Under Scrutiny Over         By Mark Mazzetti and David D
2022-06-08   2022-06-08 ics/general-john-allen-lobbying-qatar.html   Lobbying                                   Kirkpatrick                         TX 9-179-521   2022-08-01



                                                                                Page 3853 of 5793
                        https://www.nytimes.com/2022/06/08/busines For Black Builders Giving Locals a Say Is
2022-06-08   2022-06-08 s/diversity-developers-real-estate.html     Key                                           By Patrick Sisson                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/busines
2022-06-08   2022-06-08 s/stagflation-uk-businesses.html            High Prices Take Bite Out of Britain          By Eshe Nelson                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/sports/b
2022-06-08   2022-06-08 asketball/boston-celtics-larry-bird.html    Theyre Not Birds Celtics and Thats Fine       By Harvey Araton                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/polit As Kushner Jumped for the Exit the Election
2022-06-08   2022-06-08 ics/jared-kushner-trump-jan-6.html          Deniers Crowded In                            By Peter Baker                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/teac A Year That Put Teachers at the Breaking
2022-06-08   2022-06-08 hers-uvalde-shooting-grief.html             Point                                         By Sarah Mervosh                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/02/travel/s
2022-05-02   2022-06-09 team-locomotive-union-pacific-4014.html     Chasing a Mighty Relic Union Pacific 4014     By Luke Sharrett                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/23/busines
2022-05-23   2022-06-09 s/global-food-trade-tridge.html             Keeping Fresh Food on the Worlds Tables       By Craig S Smith                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/24/style/ab
2022-05-24   2022-06-09 igail-glaum-lathbury-clothing-logos.html    What Is Luxury Without the Logos              By Lux Alptraum                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/style/fa
2022-06-03   2022-06-09 vetiktoks420-instagram.html                 Forsaking Meaning for Joy                     By Rachel Connolly                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/opinion We All Lose When Conversations Become
2022-06-04   2022-06-09 /academic-team-debate.html                  Games of Destruction                          By Jane Coaston                    TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/05/opinion
2022-06-05   2022-06-09 /climate-change-should-you-have-kids.html Your Kids Are Not Doomed to a Grim Life By Ezra Klein                              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/style/pu
2022-06-06   2022-06-09 nctuality-is-having-a-moment.html           Fashionably Late Fades Out                    By Katherine Rosman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/style/se
                        lf-care/nikki-walton-curlynikki-hair-
2022-06-06   2022-06-09 spirituality.html                           From Outer Beauty to Inner Peace              By Sandra E Garcia                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/arts/mu
                        sic/post-malone-twelve-carat-toothache-
2022-06-07   2022-06-09 review.html                                 The Veteran Star And the Neophyte             By Jon Caramanica                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/books/n                                                By Alexandra Alter and Elizabeth
2022-06-07   2022-06-09 ew-book-apps-tertulia.html                  Can Any App Capture This Experience           A Harris                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/sports/h
                        orse-racing/lisa-lazarus-horse-racing-      Challenged to Prove Her Sport Is Fair and All
2022-06-07   2022-06-09 safe.html                                   the Athletes Are Safe                         By Joe Drape                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/style/ca
2022-06-07   2022-06-09 viar-bump.html                              Fish Roe Is Nothing to Snort About            By Alyson Krueger                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/us/polit In New Jersey Kean Will Face Malinowski
2022-06-08   2022-06-09 ics/robert-menendez-jr-new-jersey.html      and Another Menendez Is on the Rise           By Tracey Tully                    TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/08/arts/des
2022-06-08   2022-06-09 ign/museum-natural-history-ellen-futter.html So Long to a Career of Exploration           By Robin Pogrebin                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/arts/mu Dave Smith Whose Synthesizers Shaped
2022-06-08   2022-06-09 sic/dave-smith-dead.html                     Electronic Music Dies at 72                  By Jon Pareles                     TX 9-179-521   2022-08-01



                                                                                 Page 3854 of 5793
                        https://www.nytimes.com/2022/06/08/arts/mu
2022-06-08   2022-06-09 sic/davide-livermore-la-gioconda.html        An opera that travels through time           By Rebecca Schmid              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/arts/mu
                        sic/la-scala-rigoletto-amartuvshin-
2022-06-08   2022-06-09 enkhbat.html                                 A busy baritone gets ready for Rigoletto     By David Belcher               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/arts/mu
2022-06-08   2022-06-09 sic/la-scala-younger-audience.html           Audience encores                             By Rebecca Schmid              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/arts/mu An Organist Pays Tribute to a 19thCentury
2022-06-08   2022-06-09 sic/review-paul-jacobs-franck-organ.html     Composer                                     By Zachary Woolfe              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/arts/tele Ken Bode 83 PBS Host Led Weekly Review
2022-06-08   2022-06-09 vision/ken-bode-dead.html                    Of Washington                                By Sam Roberts                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/books/j Jim Murphy 74 Writer Of Vivid Candid
2022-06-08   2022-06-09 im-murphy-dead.html                          Books Of History for the Young               By Neil Genzlinger             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/books/r
                        eview-facemaker-surgeon-world-war-i-lindsey Trying to Rebuild Shattered Lives One Face
2022-06-08   2022-06-09 fitzharris.html                              at a Time                                    By Jennifer Szalai             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/busines Lawrence D Ackman 83 Who Helped
2022-06-08   2022-06-09 s/dealbook/lawrence-d-ackman-dead.html       Developers Fulfill Skyscraping Ambitions     By Lauren Hirsch               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/busines Trader Joes Workers In Massachusetts File
2022-06-08   2022-06-09 s/economy/trader-joes-union.html             for Union Vote                               By Noam Scheiber               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/busines
                        s/media/npr-juana-summers-all-things-
2022-06-08   2022-06-09 considered.html                              NPR Names New CoHost For Flagship            By Benjamin Mullin             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/busines Global Forecast Sees More Pain As Growth
2022-06-08   2022-06-09 s/oecd-economic-outlook-inflation.html       Sags                                         By Patricia Cohen              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/fashion
2022-06-08   2022-06-09 /john-demsey-meme-estee-lauder.html          One Meme Derails an Executives Career        By Jacob Bernstein             TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/08/movies/
2022-06-08   2022-06-09 jurassic-world-laura-dern-jeff-goldblum.html Back to Jurassic Reunited at Last            By Kyle Buchanan               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/movies/
2022-06-08   2022-06-09 tribeca-film-festival.html                   The Tribeca Festival Returns in Full Bloom   By Natalia Winkelman           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/nyregio New York AG Set to Question Three
2022-06-08   2022-06-09 n/donald-trump-letitia-james-testify.html    Trumps Under Oath                            By Jonah E Bromwich            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/nyregio Crime Football and NRA in New York             By Luis FerrSadurn and Grace
2022-06-08   2022-06-09 n/ny-governor-debate-takeaways.html          Governor Debate                              Ashford                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/opinion
2022-06-08   2022-06-09 /january-6-hearings.html                     Dont Expect MustWatch TV                     By Jacob Bacharach             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/opinion
                        /the-jan-6-committee-has-already-blown-
2022-06-08   2022-06-09 it.html                                      The Jan 6 Committee Has Already Blown It     By David Brooks                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/sports/b
                        asketball/gary-payton-ii-golden-state-nba-   A Familiar Name Gives Golden State A Lift
2022-06-08   2022-06-09 finals.html                                  on Defense                                   By Tania Ganguli               TX 9-179-521   2022-08-01




                                                                                 Page 3855 of 5793
                        https://www.nytimes.com/2022/06/08/sports/f
                        ootball/denver-broncos-walton-penner-family- Broncos Reach an Agreement to Accept The
2022-06-08   2022-06-09 auction-sale.html                            Bid of the WaltonPenner Family              By Ken Belson                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/sports/g
                        olf/bryson-dechambeau-patrick-reed-liv-golf-
2022-06-08   2022-06-09 tour.html                                    Grand Slam Winners Plan to Join Upstart     By Bill Pennington               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/sports/h After the Lightning Strike Back The Rangers
2022-06-08   2022-06-09 ockey/rangers-lightning-nhl-playoffs.html    Hope Home Will Help                         By Ken Belson                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/style/ch
2022-06-08   2022-06-09 ristopher-john-rogers-collection-10.html     A Designer Returns With a Statement         By Vanessa Friedman              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/technol
2022-06-08   2022-06-09 ogy/capital-one-hacker-trial.html            Trial Is Test Of US Law On Hacking          By Kate Conger                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/technol
2022-06-08   2022-06-09 ogy/tesla-autopilot-safety-data.html         How Safe Is Autopilot No One Knows          By Cade Metz                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/technol What Texas Could Gain With Inquiry Of         By David McCabe and J David
2022-06-08   2022-06-09 ogy/texas-twitter-ken-paxton.html            Twitter                                     Goodman                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/technol
2022-06-08   2022-06-09 ogy/twitter-musk-firehose-tweets.html        Twitter Gives Musk Access To Firehose       By Lauren Hirsch and Mike Isaac TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/08/theater/
2022-06-08   2022-06-09 mr-parker-review.html                        Stepping Gingerly Out of Griefs Stasis      By Elisabeth Vincentelli         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/theater/
2022-06-08   2022-06-09 tony-awards-choreography.html                Nominees That Put The Past In Motion        By Brian Seibert                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/brett- Man With Pistol Crowbar And Zip Ties Is
2022-06-08   2022-06-09 kavanaugh-threat-arrest.html                 Arrested Near Kavanaughs Home               By Maria Cramer and Jesus Jimnez TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/eric-
2022-06-08   2022-06-09 adams-gun-violence.html                      It Is High Noon in America                  By Jeffery C Mays                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/harv
2022-06-08   2022-06-09 ard-lawrence-bacow.html                      President Of Harvard Is Leaving             By Stephanie Saul                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/miah
2022-06-08   2022-06-09 cerrillo-testimony-uvalde.html               He Shot My Friend That Was Next to Me       By Nicholas BogelBurroughs       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/oris- Oris Buckner Detective Who Blew Whistle
2022-06-08   2022-06-09 buckner-dead.html                            on Police Abuse Dies at 70                  By Clay Risen                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/polit For Democrats California Vote Sends
2022-06-08   2022-06-09 ics/california-voters-democrats-crime.html   Warning                                     By Shane Goldmacher              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/polit House Passes Bill To Impose Limits On Sales By Annie Karni and Catie
2022-06-08   2022-06-09 ics/gun-violence-bill-uvalde-buffalo.html    of Guns                                     Edmondson                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/polit Retired General Is Put on Leave at Brookings
2022-06-08   2022-06-09 ics/john-allen-brookings-institution.html    Amid Lobbying Inquiry                       By Mark Mazzetti                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/polit Colorado Republican Faces Inquiry Into
2022-06-08   2022-06-09 ics/lauren-boebert.html                      Campaign Filings for Expenses               By Jonathan Weisman              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/polit
                        ics/moderna-vaccine-booster-omicron-         A Revised Vaccine Shows Promise Against
2022-06-08   2022-06-09 variant.html                                 Omicron                                     By Sharon LaFraniere             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/polit Olympians and Other Nassar Victims Sue FBI
2022-06-08   2022-06-09 ics/nassar-fbi-lawsuits.html                 in Botched Case                             By Katie Benner and Juliet Macur TX 9-179-521   2022-08-01



                                                                               Page 3856 of 5793
                        https://www.nytimes.com/2022/06/08/us/polit
                        ics/supreme-court-border-agent-excessive-
2022-06-08   2022-06-09 force.html                                  Supreme Court Sides With Border Agent         By Adam Liptak                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/polit US Lacks a Clear Picture of Kyivs Strategy in
2022-06-08   2022-06-09 ics/ukraine-war-us-intelligence.html        War Officials Say                             By Julian E Barnes               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/polit
2022-06-08   2022-06-09 ics/vaccines-white-house-funding.html       Aid for Tests To Be Shifted To Buy Doses      By Noah Weiland                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/uval
2022-06-08   2022-06-09 de-pediatrician-shooting.html               I Know Ill Never Forget What I Saw That Day By Nicholas BogelBurroughs         TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/08/us/uval 2 Deadly Plots One Small Town Uvalde          By Nicholas BogelBurroughs Karen
2022-06-08   2022-06-09 de-shooting-plot-salvador-ramos.html       Seeks Answers                                 Zraick and Eduardo Medina        TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/08/us/wom Vanishing Word in the Abortion Debate
2022-06-08   2022-06-09 en-gender-aclu-abortion.html               Women                                         By Michael Powell                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/world/a Belgiums Visiting King Offers Congo
2022-06-08   2022-06-09 frica/belgian-king-congo-mask.html         Regrets                                       By Ruth Maclean and Elian Peltier TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/08/world/a A Journalist and an Expert Vanish in the        By Jack Nicas Ana Ionova and
2022-06-08   2022-06-09 mericas/men-missing-amazon-rainforest.html Amazon Rainforest                               Andr Spigariol                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/world/a South Korean Families Still Hobbled by Grief
2022-06-08   2022-06-09 sia/south-korea-sewol-ferry-grief.html         8 Years After Tragedy                       By Choe SangHun                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/world/a With New Post Australia Steps Away From
2022-06-08   2022-06-09 ustralia/australias-monarchy-queen.html        Queen and Toward Republic                   By Yan Zhuang                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/world/e Car Rams Into School Group on Berlin            By Christopher F Schuetze and
2022-06-08   2022-06-09 urope/berlin-car-crash.html                    Sidewalk Killing Teacher                    Melissa Eddy                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/world/e
                        urope/harvey-weinstein-indecent-assault-       Sex Charges Authorized For Weinstein In UK
2022-06-08   2022-06-09 charges-britain.html                           Case                                        By Julia Jacobs                 TX 9-179-521   2022-08-01
                                                                                                                   By Marc Santora Thomas
                        https://www.nytimes.com/2022/06/08/world/e                                                 GibbonsNeff Anton Troianovski
2022-06-08   2022-06-09 urope/russia-ukraine-crimea-canal.html         Russia Extends Grip on Areas It Has Overrun and Michael Levenson            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/world/e                                                 By Carlotta Gall and Finbarr
2022-06-08   2022-06-09 urope/ukraine-war-front-line-trenches.html     Soldiers Under Relentless Attack at Zero    OReilly                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/world/ Iran Turns Off UN Cameras Surveilling
2022-06-08   2022-06-09 middleeast/iran-nuclear-iaea-cameras.html      Nuclear Site                                By Isabella Kwai                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/08/bus
                        iness/economy-news-russia-inflation/the-sec-
                        is-expected-to-unveil-a-major-rewrite-of-wall-
2022-06-08   2022-06-09 streets-trading-rules                          SEC Previews New Trading Rules              By Ephrat Livni                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/08/us/
                        gun-violence-hearing-uvalde-buffalo/mother-
2022-06-08   2022-06-09 buffalo-son-gun-testimony                      This Is Exactly Who We Are                  By Michael Wilson               TX 9-179-521   2022-08-01




                                                                                 Page 3857 of 5793
                        https://www.nytimes.com/live/2022/06/08/us/
                        gun-violence-hearing-uvalde-buffalo/the-
                        justice-department-aims-to-finish-an-inquiry- Justice Dept Plans Report On Uvalde In 6
2022-06-08   2022-06-09 of-the-uvalde-response-in-6-months            Months                                        By Glenn Thrush              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/08/us/
                        gun-violence-hearing-uvalde-buffalo/uvalde-
2022-06-08   2022-06-09 parents-gun-laws                              We Promised to Get Her Ice Cream              By Edgar Sandoval            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/sports/b
                        asketball/boston-celtics-golden-state-nba-    Making an Impression in the Paint the Celtics
2022-06-09   2022-06-09 finals-game-3.html                            Lead the Series                               By Scott Cacciola            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/busines
2022-06-09   2022-06-09 s/return-to-work-office-plans.html            Back to the Office Does Never Work for You By Emma Goldberg                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/insider/
2022-06-09   2022-06-09 weird-photo-shoots.html                       Inside Playful Magazine Photo Shoots          By Sarah Bahr                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/style/a-
2022-06-09   2022-06-09 saloon-for-the-downtown-fashion-set.html      A Saloon for Downtowns Fashion Set            By John Ortved               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/style/fa
2022-06-09   2022-06-09 ce-sunscreen-spf.html                         Sun Protection Even on Cloudy Days            By Rachel Felder             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/technol
2022-06-09   2022-06-09 ogy/lina-khan-ftc.html                        Expect Big Lawsuits Leader of FTC Says        By Cecilia Kang              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/30/arts/des
                        ign/julie-bargmann-landscape-architecture-
2022-05-30   2022-06-10 industrial-urban.html                         An Architects Blueprint for Regeneration      By Tanya Mohn                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/opinion
                        /the-imperial-fictions-behind-the-queens-     The Imperial Fictions Behind the Queens
2022-06-04   2022-06-10 platinum-jubilee.html                         Platinum Jubilee                              By Caroline Elkins           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/05/us/polit                                                 By Kirsten Luce and Eileen
2022-06-05   2022-06-10 ics/border-migrants-asylum.html               How Asylum Seekers Cross the US Border Sullivan                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/movies/
2022-06-07   2022-06-10 a-sexplanation-review.html                    A Sexplanation                                By Claire Shaffer            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/movies/
2022-06-07   2022-06-10 being-bebe-review.html                        Being BeBe                                    By Natalia Winkelman         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/movies/
2022-06-07   2022-06-10 the-policemans-lineage-review.html            The Policemans Lineage                        By Nicolas Rapold            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/opinion Trumps Antipathy Toward Murkowski Could
2022-06-07   2022-06-10 /trump-murkowski-alaska.html                  Win Her Votes                                 By Brendan Jones             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/arts/des
2022-06-08   2022-06-10 ign/kimono-met-museum-review.html             Like a Painting You Can Wear                  By Will Heinrich             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/arts/des
                        ign/parrish-museum-director-monica-ramirez-
2022-06-08   2022-06-10 montagut.html                                 Parrish Art Museum Selects New Director       By Zachary Small             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/briefing
2022-06-08   2022-06-10 /monkeypox-guide.html                         What We Know About Monkeypox                  By Jonathan Wolfe            TX 9-179-521   2022-08-01




                                                                                  Page 3858 of 5793
                        https://www.nytimes.com/2022/06/08/busines
                        s/economy/inflation-biden-                                                               By Zolan KannoYoungs and Jeanna
2022-06-08   2022-06-10 administration.html                          A Hesitation To Discuss Inflation           Smialek                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/movies/
2022-06-08   2022-06-10 hustle-review.html                           Theyre Going Hard in the Paint              By Amy Nicholson                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/movies/
2022-06-08   2022-06-10 jurassic-world-dominion-review.html          Extinction Theory Grows Long in the Tooth By AO Scott                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/dan
                        ce/review-giselle-english-national-ballet-
2022-06-09   2022-06-10 bam.html                                     Witching Up a Classic The Horror the Horror By Gia Kourlas                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/des
                        ign/cecilia-vicuna-guggenheim-artist-poet-
2022-06-09   2022-06-10 review.html                                  Captivating and No Longer Under the Radar By Holland Cotter                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/des
2022-06-09   2022-06-10 ign/duro-olowu-artist-cooper-hewitt.html     Exploring the Points Within Patterns        By Roberta Smith                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/des
                        ign/picture-the-dream-new-york-historical-   Civil Rights Movement Through Childrens
2022-06-09   2022-06-10 society.html                                 Books                                       By Laurel Graeber               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/mu Grachan Moncur III 85 a Trombonist Who
2022-06-09   2022-06-10 sic/grachan-moncur-iii-dead.html             Blended PostBop and Free Jazz               By Richard Sandomir             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/mu
2022-06-09   2022-06-10 sic/grammy-awards-new-categories.html        Grammys To Recognize Songwriters            By Ben Sisario                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/mu Ingram Marshall Minimalist Composer of
2022-06-09   2022-06-10 sic/marshall-ingram-dead.html                Mystical Sounds Dies at 80                  By Javier C Hernndez            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/ran Ranan Lurie Political Cartoonist With a
2022-06-09   2022-06-10 an-lurie-dead.html                           Global Pen Is Dead at 90                    By Sam Roberts                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/tele
2022-06-09   2022-06-10 vision/peaky-blinders-dark-winds.html        This Weekend I Have                         By Margaret Lyons               TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/09/arts/tele
2022-06-09   2022-06-10 vision/review-for-all-mankind-season-3.html Talk About Days of Futures Past           By James Poniewozik              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/09/books/a
2022-06-09   2022-06-10 da-calhoun-book-frank-ohara.html             When Her Dad Became the Topic            By Casey Schwartz                TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/09/busines
2022-06-09   2022-06-10 s/dealbook/yellen-recession-us.html          Yellen Says A Recession Is Avoidable     By Alan Rappeport                TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/09/busines Disney Fires Its Head of TV Content Who
2022-06-09   2022-06-10 s/disney-peter-rice.html                     Was Seen as a Potential CEO              By Brooks Barnes and John Koblin TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/09/busines
2022-06-09   2022-06-10 s/ecb-interest-rate-increase.html            11 Years On Euro Bank To Lift Rates      By Eshe Nelson                   TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/09/busines Washington Post Fires Reporter Who
2022-06-09   2022-06-10 s/media/felicia-sonmez-washington-post.html Criticized Its Culture                    By Katie Robertson               TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/09/busines
                        s/media/warner-bros-discovery-luis-         Media Giant Picks Luminary From Univision By Benjamin Mullin and Kevin
2022-06-09   2022-06-10 silberwasser.html                           As Sports Chief                           Draper                           TX 9-179-521     2022-08-01



                                                                               Page 3859 of 5793
                        https://www.nytimes.com/2022/06/09/busines US Widens Tesla Inquiry Over Safety Of
2022-06-09   2022-06-10 s/tesla-autopilot-nhtsa-investigation.html  Autopilot                                    By Neal E Boudette            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/busines
                        s/wells-fargo-fake-interviews-              Federal Inquiry Focuses on Wells Fargos
2022-06-09   2022-06-10 investigation.html                          Hiring Practices                             By Emily Flitter              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/climate Buttigieg Seeks Charging Ports Every 50
2022-06-09   2022-06-10 /electric-vehicles-charging-stations.html   Miles                                        By Lisa Friedman              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/health/a The New Abortion Bans Few Exceptions for
2022-06-09   2022-06-10 bortion-bans-rape-incest.html               Rape Incest or Health                        By Jan Hoffman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/movies/
2022-06-09   2022-06-10 1982-review.html                                                                    1982 By Ben Kenigsberg             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/movies/
2022-06-09   2022-06-10 im-charlie-walker-review.html               Im Charlie Walker                            By Lisa Kennedy               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/movies/
2022-06-09   2022-06-10 lost-illusions-review.html                  How Wrong Can a Little Rakishness Go         By AO Scott                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/movies/
2022-06-09   2022-06-10 ninja-badass-review.html                    Ninja Badass                                 By Calum Marsh                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/movies/
2022-06-09   2022-06-10 small-town-wisconsin-review.html            Small Town Wisconsin                         By Glenn Kenny                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/movies/
2022-06-09   2022-06-10 tahara-review.html                          Delicious Viciousness Buzzing Around Grief By Teo Bugbee                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/movies/
2022-06-09   2022-06-10 the-janes-review.html                       The Janes                                    By Beatrice Loayza            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/nyregio Republican Called Hitler Kind of Ruler GOP
2022-06-09   2022-06-10 n/carl-paladino-hitler.html                 Needs                                        By Nicholas Fandos            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/nyregio Adams Says He Will Lift Mask Mandate for
2022-06-09   2022-06-10 n/nyc-masks-toddlers.html                   Toddlers on Monday                           By Sharon Otterman            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/nyregio Low Pay Is Thinning Staff At Public
2022-06-09   2022-06-10 n/nyc-public-defenders-pay.html             Defender Offices Straining Those Who Stay By Jonah E Bromwich              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/opinion                                               By Norman Eisen and E Danya
2022-06-09   2022-06-10 /january-6-hearings-success.html            The Insurrection Isnt Over                   Perry                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/science Scientists Say More Chinese Data Is Needed By Benjamin Mueller and Carl
2022-06-09   2022-06-10 /covid-origins-who-report-china.html        to Trace Covids Origins                      Zimmer                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/sports/a
                        tp-profit-sharing-bonus-pool-masters-       ATP and Mens Players Reach Agreement to
2022-06-09   2022-06-10 1000.html                                   Share the Wealth                             By Christopher Clarey         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/sports/a
2022-06-09   2022-06-10 utoracing/josh-pierson-le-mans.html         Setting a Le Mans record                     By Ian Parkes                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/09/sports/a
2022-06-09   2022-06-10 utoracing/michael-fassbender-le-mans.html A fast action role                            By Luke Smith                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/sports/a
2022-06-09   2022-06-10 utoracing/toyota-le-mans.html               Toyota looks over its shoulder              By Luke Smith                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/sports/b Bruised Battered and Thriving the Mets Keep
2022-06-09   2022-06-10 aseball/pete-alonso-mets-angels.html        Dodging Disaster                            By Scott Miller                TX 9-179-521   2022-08-01



                                                                                Page 3860 of 5793
                        https://www.nytimes.com/2022/06/09/sports/b
                        asketball/boston-celtics-golden-state-game- Physical Play Gives Boston Advantage As
2022-06-09   2022-06-10 3.html                                      Series Wears On                             By Tania Ganguli                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/sports/f                                             By Emmanuel Morgan and Remy
2022-06-09   2022-06-10 ootball/deshaun-watson-browns.html          What Now for Deshaun Watson                 Tumin                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/sports/f
2022-06-09   2022-06-10 ootball/deshaun-watson-nfl.html             The NFL Must Send A Message This Time By Kurt Streeter                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/sports/g PGA Tour Drops Players Enlisted by Rival
2022-06-09   2022-06-10 olf/liv-golf-pga-suspensions.html           Series                                      By Tariq Panja                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/sports/g Saudis Unsettle The Golf World With Big
2022-06-09   2022-06-10 olf/liv-golf-pga-tour.html                  Money                                       By Tariq Panja                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/sports/h
                        orse-racing/sonny-leon-rich-strike-belmont- After His Derby Win No Longer Unknown
2022-06-09   2022-06-10 stakes.html                                 But Still an Underdog                       By Joe Drape                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/theater/
2022-06-09   2022-06-10 snow-in-midsummer-review.html               More Than the Forecast Is Amiss             By Alexis Soloski               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/calif
2022-06-09   2022-06-10 ornia-mexican-church-abuse.html             Church Leader in Mexico Gets 16 Years       By Livia AlbeckRipka            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/patri
                        ck-lyoya-grand-rapids-shooting-charging-    Michigan Officer Charged With 2ndDegree By Luke Vander Ploeg and Mitch
2022-06-09   2022-06-10 decision.html                               Murder In Shooting of Black Driver          Smith                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/plast US Has a 10Year Plan to Keep Its National
2022-06-09   2022-06-10 ic-national-parks.html                      Parks a Little Neater                       By Christine Hauser             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit
2022-06-09   2022-06-10 ics/biden-dettelbach-atf.html               Bidens Pick To Run ATF Has Key Votes        By Glenn Thrush                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit White House Outlines Vaccine Plan for
2022-06-09   2022-06-10 ics/covid-vaccine-children.html             Children Under 5                            By Noah Weiland                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit His Sentence Done a Guantnamo Prisoner
2022-06-09   2022-06-10 ics/gitmo-prison-majid-khan.html            Sues the US for Release                     By Carol Rosenberg              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit Abuse Allegations in Louisiana Prompt
2022-06-09   2022-06-10 ics/justice-dept-louisiana-police.html      Scrutiny of Police                          By Glenn Thrush                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit At Heart of Investigation Is a Relentless   By Catie Edmondson and Jonathan
2022-06-09   2022-06-10 ics/liz-cheney-jan-6-vice-chair.html        Cheney                                      Martin                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit House Passes RedFlag Gun Bill an Idea Thats
2022-06-09   2022-06-10 ics/red-flag-bill-gun-control.html          Being Considered in the Senate              By Annie Karni                  TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/09/us/polit GOP Tries to Undercut Jan 6 Panel With
2022-06-09   2022-06-10 ics/republicans-jan-6-committee-claims.html Inaccurate Claims                           By Linda Qiu                  TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit
                        ics/ryan-kelley-michigan-governor-arrest-jan- A Candidate for Michigan Governor Is
2022-06-09   2022-06-10 6.html                                        Arrested Charged With Jan 6 Acts          By Azi Paybarah               TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit Political Sniping Accompanies Delay of Bill
2022-06-09   2022-06-10 ics/supreme-court-justices-security.html      to Bolster Security for Justices          By Jonathan Weisman           TX 9-179-521     2022-08-01




                                                                               Page 3861 of 5793
                        https://www.nytimes.com/2022/06/09/us/polit
                        ics/supreme-court-pennsylvania-undated-     Supreme Court Allows Pennsylvania to Count
2022-06-09   2022-06-10 ballots.html                                Undated Signed Ballots                         By Adam Liptak                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit
2022-06-09   2022-06-10 ics/trump-jan-6-hearings.html               Trump Led Attempted Coup Panel Says            By Luke Broadwater              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/the-
                        proud-boys-who-were-at-the-center-of-the-
                        capitol-riot-have-a-history-of-street-
2022-06-09   2022-06-10 fighting.html                               At Riots Center The Proud Boys                 By Alan Feuer                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/the-
                        white-house-is-eager-to-show-that-biden-is-
                        removed-from-the-jan-6-committees-decision-
2022-06-09   2022-06-10 making.html                                 Bidens Approach Let Panel Do Its Job           By Michael D Shear              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/uval
2022-06-09   2022-06-10 de-shooting-police-response.html            Told of Injuries Uvalde Police Still Hesitated By J David Goodman              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/world/a
                        sia/china-military-united-states-australia- Aggressive Chinese Jets Stir Worries of a
2022-06-09   2022-06-10 canada.html                                 Mishap                                         By Austin Ramzy                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/world/a                                                 By John Yoon Jin Yu Young and
2022-06-09   2022-06-10 sia/south-korea-fire-daegu.html             Explosion and Fire Kill 7 in South Korea       Tiffany May                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/world/e Dmitry Kovtun 56 ExRussian Agent Accused
2022-06-09   2022-06-10 urope/dmitry-kovtun-dead.html               in the Death of Another Spy                    By Sam Roberts                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/world/e German Crisis Too Few Bottles For All the
2022-06-09   2022-06-10 urope/germany-beer-bottle-shortage.html     Beer                                           By Melissa Eddy                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/09/world/e Racist Work Of Academic Found Place In       By Monika Pronczuk and Koba
2022-06-09   2022-06-10 urope/michael-woodley-buffalo-shooting.html Manifesto                                   Ryckewaert                         TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/09/world/e American Damages the Spanish Steps By        By Derrick Bryson Taylor and
2022-06-09   2022-06-10 urope/spanish-steps-damaged-scooter.html    Pushing Her Scooter Down Them               Emma Bubola                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/world/e
                        urope/ukraine-weapons-sievierodonetsk-      In Embattled East a Grenade in the Cup      By Andrew E Kramer and Ivor
2022-06-09   2022-06-10 lysychansk.html                             Holder                                      Prickett                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/world/
                        middleeast/iran-nuclear-program-            Iran Begins to Dismantle Nuclear Program
2022-06-09   2022-06-10 cameras.html                                Cameras After Western Criticism             By Isabella Kwai                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/world/ Israeli Leader Visits an Arab Ally That
2022-06-09   2022-06-10 middleeast/israel-bennett-uae-visit.html    Shares Animus Toward Iran                   By Isabel Kershner                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/opinion
2022-06-10   2022-06-10 /crime-and-political-punishment.html        Crime and Political Punishment              By Paul Krugman                  TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit                                             By Michael D Shear Miriam Jordan
2022-06-10   2022-06-10 ics/biden-americas-summit.html              Biden Faces Skepticism at Americas Summit   and Anatoly Kurmanaev            TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit Assault Weapons Ban Lapsed in 2004 With
2022-06-10   2022-06-10 ics/democrats-assault-weapons-ban.html      Little Fuss From Democrats                  By Glenn Thrush                    TX 9-179-521   2022-08-01




                                                                                Page 3862 of 5793
                        https://www.nytimes.com/2022/06/09/us/polit A Few Main Characters Form the Core of the
2022-06-10   2022-06-10 ics/jan-6-proud-boys-capitol-police.html     Committees Narrative                        By Alan Feuer                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit Power Couple Under Trump Loses Luster In
2022-06-10   2022-06-10 ics/jared-ivanka-jan-6.html                  Harsh Glare                                 By Maggie Haberman           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit Portrait of a Power Grab by a WouldBe
2022-06-10   2022-06-10 ics/trump-jan-6-hearing.html                 Autocrat                                    By Peter Baker               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/busines Lessons From Henry Ford About the Supply
2022-06-10   2022-06-10 s/henry-ford-supply-chain.html               Chain Mess                                  By Peter S Goodman           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/theater/
2022-06-10   2022-06-10 tony-awards-voters-broadway.html             Lehman And Loop Hold Edge For Tonys         By Michael Paulson           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/arts/dan                                              By Julia Jacobs and Rachel
2022-06-08   2022-06-11 ce/amar-ramasar-city-ballet.html             Moving On but Keeping Balanchine Close      Sherman                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/arts/mu
2022-06-08   2022-06-11 sic/kelly-clarkson-kellyoke.html             An Unlikely Stage for Such Songs            By Lindsay Zoladz            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/theater/
                        the-african-grove-theater-new-york-
2022-06-08   2022-06-11 university.html                              NYU Names Space After a Black Theater       By Rachel Sherman            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/us/heat- Heat Warnings For Southwest Give Summer
2022-06-08   2022-06-11 wave-california-arizona-nevada.html          An Early Start                              By Derrick Bryson Taylor     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/world/e As the Shells Fall Carrying the Vulnerable to By Ivor Prickett and Maria
2022-06-08   2022-06-11 urope/ukraine-volunteers-evacuation.html     Safety                                      Varenikova                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/mu
2022-06-09   2022-06-11 sic/ingram-marshall-timo-andres.html         This Composer Wove Elaborate Textures       By Timo Andres               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/busines The Billionaires Seeking a US ChipMaking
2022-06-09   2022-06-11 s/americas-frontier-fund-chip-making.html    Revival                                     By Ephrat Livni              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/opinion Getting Cars Off the Road Shouldnt Be This
2022-06-09   2022-06-11 /cars-pedestrian-zones-berkeley.html         Difficult                                   By Jay Caspian Kang          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/realesta Median Rent in Manhattan Hits New High
2022-06-09   2022-06-11 te/manhattan-rent-nyc.html                   4000 a Month                                By Anna P Kambhampaty        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/theater/
2022-06-09   2022-06-11 ariana-debose-tony-awards.html               Some Applause For the Unsung                By Michael Paulson           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/theater/
2022-06-09   2022-06-11 lena-horne-broadway.html                     An Honor for Lena Horne                     By Michael Paulson           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/lifeg With Lifeguards Scarce Beach Season Needs
2022-06-09   2022-06-11 uard-shortage-beaches-pools.html             Saving                                      By Julie Bosman              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/tele Song Hae 95 Beloved Television Host Who
2022-06-10   2022-06-11 vision/song-hae-dead.html                    Survived Korean War and Poverty             By Victoria Kim              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/arts/dan
2022-06-10   2022-06-11 ce/review-ballet-tech-kids.html              These Students Have Done Their Homework By Brian Seibert                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/arts/des
                        ign/morgan-library-museum-restoration-
2022-06-10   2022-06-11 garden.html                                  JP Morgans Yard Is a New Garden             By Jane L Levere             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/arts/mu Julee Cruise the Ethereal Vocalist of Twin
2022-06-10   2022-06-11 sic/julee-cruise-dead.html                   Peaks Fame Is Dead at 65                    By Neil Genzlinger           TX 9-179-521   2022-08-01




                                                                                 Page 3863 of 5793
                        https://www.nytimes.com/2022/06/10/arts/mu
                        sic/klaus-makela-royal-concertgebouw-        An Ascendant Conductor Adds a Prestigious
2022-06-10   2022-06-11 orchestra.html                               Post                                      By Joshua Barone              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/10/arts/tele
2022-06-10   2022-06-11 vision/dark-winds-review.html                Murder Most Foul in the Navajo Nation     By Mike Hale                  TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/10/arts/tele
2022-06-10   2022-06-11 vision/january-6-broadcast-prime-time.html Jan 6 Hearing A News Event Cast as Drama By James Poniewozik              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/10/busines
2022-06-10   2022-06-11 s/china-economy-covid-zero.html              A Solitary Critic on Zero Covid             By Li Yuan                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/10/busines
                        s/economy/inflation-report-price-gains-      Ugly Inflation Report Upends Hope of Prices
2022-06-10   2022-06-11 biden.html                                   Easing                                      By Jim Tankersley           TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/10/busines Prices Shoot Up Again Squeezing Fed and
2022-06-10   2022-06-11 s/economy/may-2022-cpi-inflation.html        Testing Bidens Economic Policy              By Jeanna Smialek           TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/10/busines US Raises Concerns About Swiss Actions To
2022-06-10   2022-06-11 s/economy/switzerland-currency-dollar.html Weaken the Franc                          By Alan Rappeport                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/busines Putting Your Teenager on the Road to
2022-06-10   2022-06-11 s/kids-roth-ira-retirement.html            Retirement                                By Ann Carrns                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/busines At Least 20 Million Watched Jan 6 Hearing
2022-06-10   2022-06-11 s/media/jan-6-hearing-ratings.html         on Thursday                               By John Koblin                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/busines
2022-06-10   2022-06-11 s/stock-markets-inflation.html             Price News Bursts Spirit Of Markets       By Jason Karaian and Jeff Sommer TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/movies/
2022-06-10   2022-06-11 john-waters-academy-museum.html            Gatekeepers Make Room For a Heretic       By Adam Nagourney                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/nyregio
                        n/carl-paladino-nick-langworthy-           Paladino Enters Congressional Primary And By Jesse McKinley and Nicholas
2022-06-10   2022-06-11 congress.html                              Splits New Yorks Republican Party         Fandos                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/nyregio City Budget Doesnt Include New Funds for By Jeffery C Mays and Dana
2022-06-10   2022-06-11 n/eric-adams-nyc-nypd-budget.html          Jails or Police                           Rubinstein                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/opinion Efforts to Protect the Old From Covid May
2022-06-10   2022-06-11 /covid-death-young-old.html                Have Harmed the Young                     By Peter Coy                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/opinion
2022-06-10   2022-06-11 /mass-shooting-evil.html                   Dont Blame Violence on Evil               By Esau McCaulley                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/opinion The Chaotic Lockdown in Shanghai
2022-06-10   2022-06-11 /shanghai-covid-public-confidence.html     Punctured the Chinese Dream               By Connie Mei Pickart            TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/10/science Number of Youths Who Identify As
2022-06-10   2022-06-11 /transgender-teenagers-national-survey.html Transgender Doubles in US                 By Azeen Ghorayshi             TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/10/sports/b
2022-06-10   2022-06-11 aseball/noah-syndergaard-angels.html        New Syndergaard On Side of Angels         By Scott Miller                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/10/sports/h Rangers Cede Control of the Conference
2022-06-10   2022-06-11 ockey/lightning-rangers-nhl-playoffs.html   Finals                                    By Victor Mather               TX 9-179-521    2022-08-01




                                                                                Page 3864 of 5793
                        https://www.nytimes.com/2022/06/10/sports/h
                        orse-racing/belmont-stakes-picks-winners-
2022-06-10   2022-06-11 predictions-odds.html                       Whos Likeliest to Win The Belmont Stakes    By Joe Drape and Melissa Hoppert TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/sports/o Unlikely Factor Could Influence Future of
2022-06-10   2022-06-11 klahoma-abortion-softball.html              College Softball The Politics of Abortion   By Billy Witz                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/10/us/polit Visiting Port of Los Angeles Biden Casts    By Michael D Shear and Ana
2022-06-10   2022-06-11 ics/biden-inflation.html                    Inflation as a Global Problem               Swanson                         TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/10/us/polit Biden and Latin American Leaders Reach
2022-06-10   2022-06-11 ics/biden-latin-america-migration-deal.html Agreement on Migration                     By Michael D Shear             TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/10/us/polit Iraqi Prisoner Strikes Deal With the US On
2022-06-10   2022-06-11 ics/gitmo-iraqi-prisoner.html               War Crimes                                 By Carol Rosenberg             TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/10/us/polit
                        ics/ocasio-cortez-maloney-new-york-         In New York Primary Democratic Visions
2022-06-10   2022-06-11 primary.html                                Collide                                    By Katie Glueck                TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/10/us/polit Trump Snubs His Daughter for Accepting His
2022-06-10   2022-06-11 ics/trump-ivanka-january-6-hearing.html     Defeat                                     By Maggie Haberman             TX 9-179-521      2022-08-01
                                                                                                               By Ceylan Yeginsu Maria Cramer
                        https://www.nytimes.com/2022/06/10/us/polit                                            Noah Weiland and Michael D
2022-06-10   2022-06-11 ics/us-testing-travel-mandate-covid.html    Air Travelers Into US Wont Need Covid Test Shear                          TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/10/us/ston
                        ewall-jackson-shenandoah-county-            The Rapid Purging Of Stonewall Jackson
2022-06-10   2022-06-11 virginia.html                               And the Ensuing Fury                       By Campbell Robertson          TX 9-179-521      2022-08-01

                        https://www.nytimes.com/2022/06/10/world/a For South Africas President Being a Burglary
2022-06-10   2022-06-11 frica/ramaphosa-farm-burglary-farmgate.html Victim Could Be His Downfall                By John Eligon                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/10/world/a US Defense Chief Spars With China Over
2022-06-10   2022-06-11 sia/china-us-defense.html                   Taiwan                                      By Chris Buckley and SuiLee Wee TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/10/world/e Pope Postpones Trip to Africa Citing Knee
2022-06-10   2022-06-11 urope/pope-postpone-trip-africa.html        Problems but Amid Resignation Rumor         By Elisabetta Povoledo          TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/10/world/e UK Political Gift Traced To Russia Avoids
2022-06-10   2022-06-11 urope/uk-boris-johnson-donors-russia.html   Query                                       By Jane Bradley                 TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/10/world/e Its Now a War of Artillery and Ukraine Is    By Thomas GibbonsNeff Andrew E
2022-06-10   2022-06-11 urope/ukraine-ammo-shortage-artillery.html Short of Ammunition                          Kramer and Natalia Yermak      TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/10/world/e Our Concentration Camp Human Shields       By Valerie Hopkins and Nicole
2022-06-10   2022-06-11 urope/ukraine-russia-war-crimes-prison.html Imprisoned in Airless Basement            Tung                            TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/10/world/e Behind Enemy Lines Scouts Help Ukrainian By Michael Schwirtz and Marc
2022-06-10   2022-06-11 urope/ukraine-russia-war.html                Attacks                                  Santora                         TX 9-179-521      2022-08-01
                        https://www.nytimes.com/article/liv-golf-                                             By Alan Blinder Tariq Panja and
2022-06-10   2022-06-11 saudi-arabia-pga.html                        Player Power or Money Grab An LIV Primer Andrew Das                      TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/10/arts/bill-Cosby Team Says Accusers Accounts of     By Graham Bowley Lauren Herstik
2022-06-11   2022-06-11 cosby-trial-judy-huth.html                   Assault Conflict                         and Douglas Morino              TX 9-179-521      2022-08-01




                                                                                Page 3865 of 5793
                        https://www.nytimes.com/2022/06/10/us/polit Cabinet Members Spoke of Ousting Trump        By Maggie Haberman and Michael
2022-06-11   2022-06-11 ics/25th-amendment-trump-cabinet.html          Over Riot                                  S Schmidt                      TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/11/sports/b
                        asketball/stephen-curry-nba-finals-golden-     Currys 43 Points Help Golden State Even
2022-06-11   2022-06-11 state-boston-celtics.html                      Series                                     By Tania Ganguli                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/us/polit Other Nations Fail to Join West Against
2022-06-11   2022-06-11 ics/russia-biden-sanctions.html                Russia                                     By Lara Jakes and Edward Wong   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/world/a Documenting the Scope of Indias Linguistic
2022-06-11   2022-06-11 sia/india-languages-ganesh-devy.html           Riches                                     By Sameer Yasir                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/your-
2022-06-11   2022-06-11 money/unpaid-internships.html                  ememInternships That Aid All But Interns   By Ron Lieber                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/03/books/r
                        eview/my-old-kentucky-home-emily-
2022-05-03   2022-06-12 bingham.html                                   Sentimentalizing Slavery                   By Rick Bragg                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/13/books/r
                        eview/francis-fukuyama-liberalism-and-its-
                        discontents-yascha-mounk-the-great-
2022-05-13   2022-06-12 experiment.html                                The End of Democracy                       By Joe Klein                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/13/books/r
2022-05-13   2022-06-12 eview/victory-at-sea-paul-kennedy.html         The Battle for the Seas                    By Ian W Toll                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/16/books/r
2022-05-16   2022-06-12 eview/an-island-karen-jennings.html            Why Darkness                               By Lydia Millet                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/17/books/r
                        eview/translating-myself-and-others-jhumpa-
2022-05-17   2022-06-12 lahiri.html                                    Found in Translation                       By Benjamin Moser               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/24/books/t
2022-05-24   2022-06-12 he-shore-katie-runde.html                      Down by the Water                          By Judy Blundell                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/26/books/r
                        eview/the-hotel-nantucket-elin-
2022-05-26   2022-06-12 hilderbrand.html                               Everything Under the Sun                   By Michelle Ruiz                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/books/r
2022-05-31   2022-06-12 eview/adriatic-robert-d-kaplan.html            Looking for Europes Future                 By Thomas F Madden              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/realesta
                        te/an-asbury-park-victorian-gets-a-really-fun- Giving an 1891 Victorian a Really Fun
2022-05-31   2022-06-12 face-lift.html                                 FaceLift                                   By Tim McKeough                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/books/r
                        eview/i-kissed-shara-wheeler-casey-
2022-06-02   2022-06-12 mcquiston.html                                 Inside the List                            By Elisabeth Egan               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/arts/tele
2022-06-03   2022-06-12 vision/antony-starr-the-boys.html              He Knows Hes No Superman                   By Dave Itzkoff                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/03/books/r
                        eview/hurricane-girl-marcy-dermansky-
                        mother-country-jacinda-townsend-the-cherry-
2022-06-03   2022-06-12 robbers-sarai-walker.html                      Novels                                     By Aamina Ahmad                 TX 9-179-521   2022-08-01




                                                                                 Page 3866 of 5793
                        https://www.nytimes.com/2022/06/04/books/r
2022-06-04   2022-06-12 eview/the-midcoast-adam-white.html           Vacationland Gone Wrong                     By Lee Cole                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/arts/tele
2022-06-06   2022-06-12 vision/ms-marvel-iman-vellani.html           Living the Marvel Dream                     By Dave Itzkoff                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/opinion
                        /kim-phuc-vietnam-napalm-girl-
2022-06-06   2022-06-12 photograph.html                              I Am Not Napalm Girl Anymore                By Kim Phuc Phan Thi            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/opinion
2022-06-06   2022-06-12 /violent-crime-police.html                   Is the Thin Blue Line Getting Thinner       By Jay Caspian Kang             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/theater/                                              By Jingyu Lin Michael Paulson
2022-06-06   2022-06-12 tony-nominees-portraits.html                 The Tony Awards Fingers Crossed             Jolie Ruben and Matt Stevens    TX 9-179-521   2022-08-01

                        https://www.nytimes.com/interactive/2022/06/ Crying in H Mart Made Michelle Zauner a
2022-06-06   2022-06-12 06/magazine/michelle-zauner-interview.html Literary Star Whats Next                      By David Marchese               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/magazi
2022-06-07   2022-06-12 ne/how-to-attend-camp-as-an-adult.html       How to Attend Camp As an Adult              By Malia Wollan                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/magazi
2022-06-07   2022-06-12 ne/motherhood-nonconformism.html             Mischief                                    By Vauhini Vara                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/magazi
2022-06-07   2022-06-12 ne/prison-consultants-fixers.html            Outside The Box                             By Jack Hitt                    TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/07/magazi
2022-06-07   2022-06-12 ne/withhold-medical-care-racist-ethics.html Can I Withhold Medical Care From a Bigot     By Kwame Anthony Appiah         TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/07/opinion
2022-06-07   2022-06-12 /global-food-crisis-russia-ukraine-war.html Millions Are on the Edge of Famine           By David WallaceWells           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/opinion
2022-06-07   2022-06-12 /musk-mars-twitter.html                     Elon Musk Mars and the Modern Economy        By Paul Krugman                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/opinion
2022-06-07   2022-06-12 /north-korea-covid.html                     North Koreas Covid Calculus                  By Jean H Lee                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/opinion
2022-06-07   2022-06-12 /san-francisco-chief.html                   San Francisco Schools Are Retiring a Title   By John McWhorter               TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/07/realesta
2022-06-07   2022-06-12 te/geraldine-brooks-on-marthas-vineyard.html Time to Seek Refuge on Marthas Vineyard     By Penelope Green               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/realesta
2022-06-07   2022-06-12 te/renters-upper-west-side.html              Her Heart Belongs to the Upper West Side    By DW Gibson                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/style/ee
2022-06-07   2022-06-12 aao-shirley-kurata-costumes.html             At the Center of the Universes              By Betty Hallock                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/theater/
2022-06-07   2022-06-12 lucy-moss-favorite-things.html               Lucy Moss Loves Nuance and TikTok           By Juan A Ramrez                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/magazi
2022-06-08   2022-06-12 ne/eugenics-movement-america.html            The Long Shadow of Eugenics in America      By Linda Villarosa              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/magazi
2022-06-08   2022-06-12 ne/george-w-bush-russia-war-iraq.html        Neo Con                                     By Jody Rosen                   TX 9-179-521   2022-08-01



                                                                                  Page 3867 of 5793
                                                                    A Movable Snack Japanese korokke are a
                        https://www.nytimes.com/2022/06/08/magazi fried delight with endless ways to make them
2022-06-08   2022-06-12 ne/korokke-recipe.html                      your own                                   By Bryan Washington             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/movies/
2022-06-08   2022-06-12 werner-herzog-twilight-world.html           New Medium For Old Hand                    By Alexandra Alter              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/opinion
2022-06-08   2022-06-12 /us-malls-architecture.html                 Get In Were Going to Go Save the Mall      By Alexandra Lange              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/realesta
                        te/easton-pa-a-gritty-river-town-being-
2022-06-08   2022-06-12 transformed.html                            A Gritty River Town Being Transformed      By Dave Caldwell                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/realesta
                        te/meet-stiltgrass-your-new-garden-
2022-06-08   2022-06-12 adversary.html                              Its the Invasion of the Backyard Snatcher  By Margaret Roach               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/realesta
2022-06-08   2022-06-12 te/toronto-canada-house-hunting.html        That Victorian Charmer Wont Come Cheap By Lisa Prevost                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/t-
2022-06-08   2022-06-12 magazine/lauren-halsey.html                 Seeing the Future                          By Adam Bradley                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/technol Reconsidering a Belittled Transportation
2022-06-08   2022-06-12 ogy/electric-scooters.html                  Option                                     By Shira Ovide                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/theater/ Is It Finally Twilight For Sacred Stage
2022-06-08   2022-06-12 men-american-theater.html                   Monsters                                   By Jesse Green                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/dan
2022-06-09   2022-06-12 ce/paul-taylor-joyce-theater.html           Raw and Untamed Ripen Into Lyrical         By Marina Harss                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/mu
2022-06-09   2022-06-12 sic/chris-blackwell-the-islander.html       Listening to Musics Quietest Record Man    By Ben Sisario                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/dining/ Sean Thackrey 79 Dies Accidental
2022-06-09   2022-06-12 sean-thackrey-dead.html                     Winemaker With Devoted Following           By Clay Risen                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/magazi
                        ne/john-hodgman-cleaning-the-car-for-the-
2022-06-09   2022-06-12 dealer.html                                 Bonus Advice From Judge John Hodgman       By John Hodgman                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/magazi
                        ne/poem-the-many-deaths-of-inocencio-       Poem The Many Deaths of Inocencio          By Iliana Rocha and Victoria
2022-06-09   2022-06-12 rodrigues.html                              Rodriguez                                  Chang                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/magazi
2022-06-09   2022-06-12 ne/ruangrupa-documenta.html                 The groupthinkers                          By Samanth Subramanian          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/nyregio                                             By Elizabeth G Dunn and Gabby
2022-06-09   2022-06-12 n/hudson-valley-farms.html                  The Toll of Agrarian Fairy Tales           Jones                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/opinion Slamming the Door Between Russia and the
2022-06-09   2022-06-12 /russia-america-culture-putin.html          US                                         By Anastasia Edel               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/opinion
2022-06-09   2022-06-12 /shootings-domestic-violence.html           The Most Dangerous Years                   By Rachel Louise Snyder         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/realesta
2022-06-09   2022-06-12 te/mortgage-rates-housing-costs.html        Rate Jump Adds Thousands Over Time         By Gregory Schmidt              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/style/pa
2022-06-09   2022-06-12 rents-estate-planning.html                  A Hurtful Estate Plan                      By Philip Galanes               TX 9-179-521   2022-08-01



                                                                              Page 3868 of 5793
                                                                     She Combed the Converted Industrial Spaces
                        https://www.nytimes.com/interactive/2022/06/ of SoHo and NoHo Which One Was the Right
2022-06-09   2022-06-12 09/realestate/09hunt-zamani.html             Fit                                        By Joyce Cohen                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/arts/des
2022-06-10   2022-06-12 ign/documenta-ruangrupa.html                 A Collective Style Jolts an Exhibition     By Catherine Hickley           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/arts/des
                        ign/kate-fowle-moma-ps1-director-            3Year Director Of MoMA PS1 Abruptly
2022-06-10   2022-06-12 resigns.html                                 Quits                                      By Robin Pogrebin              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/arts/mu
2022-06-10   2022-06-12 sic/osmo-vanska-minnesota-orchestra.html     After Raising the Bar Lowering His Baton   By David Allen                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/books/r
                        eview/cats-cradle-the-golden-twine-jo-
2022-06-10   2022-06-12 rioux.html                                   Beauty and the Beasts                      By Adam Gidwitz                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/books/r
2022-06-10   2022-06-12 eview/liam-francis-walsh-red-scare.html      Aliens Among Us                            By Eugene Yelchin              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/books/r
2022-06-10   2022-06-12 eview/new-paperbacks.html                    Paperback Row                              By Miguel Salazar              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/busines Inflation May Change Where You Put Your
2022-06-10   2022-06-12 s/inflation-money-market-funds-rates.html    Cash                                       By Jeff Sommer                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/nyregio
2022-06-10   2022-06-12 n/alvin-eng.html                             A Stroll to Recall the Role of Immigrants  By Tammy La Gorce              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/nyregio Swimming in Pricey Private Waters High
2022-06-10   2022-06-12 n/luxury-rooftop-pools.html                  Above the Masses                           By Ginia Bellafante            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/nyregio Fake Shooting Threats Rattle New York
2022-06-10   2022-06-12 n/shooting-threats-ny-schools.html           Schools                                    By Andy Newman and Ali Watkins TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/nyregio Kelp Guru Has a Vision For the Coast Of
2022-06-10   2022-06-12 n/sugar-kelp-farming.html                    New York                                   By Charity Robey               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/opinion
2022-06-10   2022-06-12 /jan-6-hearing.html                          Et Tu Ivanka                               By Michelle Cottle             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/opinion
2022-06-10   2022-06-12 /jan-6-hearings-trump.html                   A War Scene On Display                     By Jamelle Bouie               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/opinion
2022-06-10   2022-06-12 /watergate-january-6-hearings.html           Lessons From Watergate                     By Garrett M Graff             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/realesta
2022-06-10   2022-06-12 te/nyc-asian-fence-status.html               A Gleam In Their Eyes                      By Anna P Kambhampaty          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/science Valery Ryumin 82 Who Set Endurance
2022-06-10   2022-06-12 /space/valery-ryumin-dead.html               Record in Space                            By Sam Roberts                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/10/sports/b
2022-06-10   2022-06-12 aseball/charlie-montoyo-blue-jays-salsa.html A SalsaLoving Manager Enjoys His Side Gig By James Wagner                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/10/sports/s Why Bayern Munichs LowKey Superstar
2022-06-10   2022-06-12 occer/lewandowski-bayern-munich.html         Went Rogue                                By Rory Smith                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/10/style/all After a Raucous Start a Chance at
2022-06-10   2022-06-12 ison-strickman-paul-harris-wedding.html      Redemption                                By Judy Mandell                TX 9-179-521    2022-08-01




                                                                              Page 3869 of 5793
                        https://www.nytimes.com/2022/06/10/style/an In the Ranks of Handsome Priests Right Near
2022-06-10   2022-06-12 nalise-deal-kevin-neil-wedding.html         the Top                                     By Rosalie R Radomsky            TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/10/style/bi On the First Night Out a Bit Too Much
2022-06-10   2022-06-12 anca-chavez-stefan-norgaard-wedding.html Celebrating                                   By Nina Reyes                     TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/10/style/di After Political Storm Gay Days Return to
2022-06-10   2022-06-12 sney-gay-days.html                          Disney                                     By Brooks Barnes                  TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/10/style/ed Fitting Into His Schedule Then Into Her Royal
2022-06-10   2022-06-12 na-makonnen-jamal-robinson-wedding.html Family                                            By Tammy La Gorce              TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/10/style/gi Beyond the Microscope Incident No Big
2022-06-10   2022-06-12 nger-yu-fei-jiang-jose-orozco-wedding.html Problems                                    By Jenny Block                    TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/10/style/ha
                        was-hip-hop-journey-from-the-philharmonic-
2022-06-10   2022-06-12 to-fashion.html                             From Philharmonic To High Fashion          By Ilana Kaplan                   TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/10/style/hu
2022-06-10   2022-06-12 gh-dancy-law-and-order-downton-abbey.html Ready to Let the Good Times Roll              By Alexis Soloski                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/style/m
2022-06-10   2022-06-12 aya-kailas-amit-kohli-wedding.html          Linked by Dance and Undeterred by Distance By Vincent M Mallozzi               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/style/m
2022-06-10   2022-06-12 odern-love-singleness-is-not-a-stigma.html  Singleness Is Not Worthy of Being a Stigma By Ife Olatona                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/style/st Black Designers Are Getting An Assist From
2022-06-10   2022-06-12 ephen-curry-black-designers-fashion.html    Stephen Curry                               By Katie Kiefner                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/us/polit Nancy Clark Reynolds 94 a Player In Reagans
2022-06-10   2022-06-12 ics/nancy-clark-reynolds-dead.html          Washington Is Dead                          By Clay Risen                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/world/e Shipwreck That Royal Heir Survived 340       By Christine Hauser and Derrick
2022-06-10   2022-06-12 urope/gloucester-shipwreck.html             Years Ago Is Discovered Off England         Bryson Taylor                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/world/e                                              By Anton Troianovski and Ivan
2022-06-10   2022-06-12 urope/russia-economy-mcdonalds.html         Russia Adapts To an Economy Thats Cut Off Nechepurenko                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/opinion We All Have a Duty to Ensure That What
2022-06-11   2022-06-12 /january-6-hearing-trump.html               Happened on Jan 6 Never Happens Again       By the Editorial Board             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/busines
2022-06-11   2022-06-12 s/energy-environment/gasoline-price.html    Gas Prices Hit 5 a Gallon A New High        By Clifford Krauss and Marie Solis TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/busines
2022-06-11   2022-06-12 s/open-road-gas-prices.html                 From a Pricey Trip Priceless Memories       By John Taggart                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/busines It Works for Sneakers Now Its for
2022-06-11   2022-06-12 s/product-drops-shopping.html               Skateboards                                 By Alyson Krueger                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/busines Stuckeys Pins Hopes for Revival On a
2022-06-11   2022-06-12 s/stuckeys-road-trip-pandemic.html          Rebound of the Road Trip                    By Roy Furchgott                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/nyregio Exclusive New York Isle Now Accepts
2022-06-11   2022-06-12 n/governors-island.html                     Overnight Guests                            By Julia Carmel                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/opinion
2022-06-11   2022-06-12 /jan-6-trump.html                           Hes Not Going Away                          By Ross Douthat                    TX 9-179-521   2022-08-01



                                                                                 Page 3870 of 5793
                        https://www.nytimes.com/2022/06/11/opinion
2022-06-11   2022-06-12 /trump-january-6.html                       Trump American Monster                      By Maureen Dowd                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/realesta How Do I Force My Landlord To Make
2022-06-11   2022-06-12 te/landlord-apartment-repairs.html          Necessary Repairs                           By Ronda Kaysen                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/sports/h Kentucky Derby Winner Falters at Belmont as
2022-06-11   2022-06-12 orse-racing/belmont-stakes-winner.html      the Favorite Prevails                       By Joe Drape                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/style/mi
2022-06-11   2022-06-12 lan-design-week.html                        Design Reimagined at Milan Fair             By Aileen Kwun                    TX 9-179-521   2022-08-01
                                                                                                                By Michael Wines Anne Barnard
                        https://www.nytimes.com/2022/06/11/us/gun-                                              Sean Keenan Dave Montgomery
2022-06-11   2022-06-12 violence-protests.html                      Scared and Tired of Gun Violence in America and Meghann M Cuniff              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/us/hbcu-Turning Down Ivies to Find Family at
2022-06-11   2022-06-12 enrollment-black-students.html              HBCUs                                       By Erica L Green                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/us/polit                                             By Reid J Epstein and Jennifer
2022-06-11   2022-06-12 ics/biden-2024-election-democrats.html      Biden in 2024 Many in Party Whisper No      Medina                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/us/polit After Hearings A Tenuous Path To Indict
2022-06-11   2022-06-12 ics/jan-6-prosecute-trump.html              Trump                                       By Peter Baker and Katie Benner   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/us/polit Top Lawyer Advised Pence To Not Obstruct
2022-06-11   2022-06-12 ics/pence-jan-6-election-trump.html         Vote Count                                  By Maggie Haberman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/us/us- New Tools to Find Soldiers Also Reveal Old
2022-06-11   2022-06-12 military-soldiers-dna.html                  Mistakes                                    By Dave Philipps                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/us/uval Uvalde Bishop Makes Impassioned Plea for
2022-06-11   2022-06-12 de-archbishop-gun-reform.html               Gun Laws                                    By Rick Rojas and Josh Peck       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/world/a Children Die of Hunger and Thirst as Fierce By Abdi Latif Dahir and Malin
2022-06-11   2022-06-12 frica/somalia-drought-hunger.html           Drought Ravages Somalia                     Fezehai                           TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/11/world/a 2 Protesters Killed in India as Officials
2022-06-11   2022-06-12 sia/prophet-muhammad-protests-india.html Prophet Remarks Fuel Outrage                  By Emily Schmall and Suhasini Raj TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/11/world/e Long Sidelined LeftWing Parties in France
2022-06-11   2022-06-12 urope/france-parliamentary-elections.html  Join Forces to Counter Macron               By Constant Mheut                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/world/e With Ukraine Low on Weapons Momentum
2022-06-11   2022-06-12 urope/russia-momentum-ukraine.html         Shifts in Russias Favor                     By Marc Santora and Roger Cohen TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/11/world/e Englands TrafficClogged North Chafes at
2022-06-11   2022-06-12 urope/uk-high-speed-rail-hs2.html          Stalled HighSpeed Rail Plan                 By Aina J Khan                     TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/11/world/ Screeching Across the Desert a Relic of a   By Ben Hubbard Asmaa alOmar
2022-06-11   2022-06-12 middleeast/amman-jordan-hejaz-railway.html Railway Dream                              and Laura Boushnak                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/12/wo
                        rld/russia-ukraine-war-news/lysychansk-    As the Enemy Nears Civilians in Lysychansk By Natalia Yermak Thomas
2022-06-11   2022-06-12 ukraine-russia-war                         Are Feeling Abandoned                      GibbonsNeff and Tyler Hicks         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/busines When Your Hand Is Forced in a Bearlike
2022-06-12   2022-06-12 s/retiring-bear-market.html                Market                                     By Martha C White                   TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/12/busines
2022-06-12   2022-06-12 s/the-week-in-business-trouble-for-tesla.html The Week in Business Trouble for Tesla   By Marie Solis                     TX 9-179-521   2022-08-01



                                                                                 Page 3871 of 5793
                        https://www.nytimes.com/2022/06/12/climate
                        /vegan-leather-synthetics-fashion-           Vegan Leather How Big Brands Got Into
2022-06-12   2022-06-12 industry.html                                Plastic                                     By Hiroko Tabuchi        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/nyregio Father Has Spotlight in This Giulianis
2022-06-12   2022-06-12 n/andrew-giuliani-rudy-governor.html         Campaign for New York Governor              By Jesse McKinley        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/sports/b
                        asketball/al-horford-boston-celtics-nba-     On the Court and Off It a Veteran Center
2022-06-12   2022-06-12 finals.html                                  Never Stops Mentoring                       By Tania Ganguli         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/sports/b
                        asketball/boston-celtics-team-building-nba- The Trades the Celtics Decided Not to Make
2022-06-12   2022-06-12 finals.html                                  Have Worked Out Fine                        By Sopan Deb             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/us/polit
2022-06-12   2022-06-12 ics/guantanamo-bay-photos.html               A Trove of Guantnamo Photos                 By Carol Rosenberg       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/style/all
2022-06-13   2022-06-12 glammed-up.html                              Influential Faces In Notable Looks          By Denny Lee             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/travel/a
2022-05-31   2022-06-13 ffordable-vacation-alternatives.html         Vacation Alternatives for Those on a Budget By Elaine Glusac         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/travel/p Hiking Down to the Grand Canyons Only
2022-06-07   2022-06-13 hantom-ranch-grand-canyon.html               Hotel                                       By Neil King             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/dan
                        ce/stella-abrera-abt-jacqueline-kennedy-
2022-06-09   2022-06-13 onassis-school.html                          New ABT Role For Stella Abrera              By Brian Seibert         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/technol Like Clockwork More Gadgety Features You
2022-06-09   2022-06-13 ogy/phone-new-features.html                  Wont Use                                    By Shira Ovide           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/us/polit Haitian Migrants Easiest to Deport Are Sent
2022-06-09   2022-06-13 ics/haiti-migrants-biden.html                Home as Others Stay                         By Eileen Sullivan       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/well/liv A DataDriven Approach To Navigating
2022-06-09   2022-06-13 e/logan-ury-dating-advice.html               Romance                                     By Dani Blum             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/arts/pau Paula Rego 87 Is Dead Wove Powerful
2022-06-10   2022-06-13 la-rego-dead.html                            Images Into Her Paintings                   By Neil Genzlinger       TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/10/arts/tele
2022-06-10   2022-06-13 vision/in-the-baby-killing-with-cuteness.html Out of Nowhere Killing With Cuteness        By LeighAnn Jackson     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/busines
2022-06-10   2022-06-13 s/asia-export-ban-chicken-wheat-oil.html      Food Export Bans in Asia Raise Fears        By Mike Ives            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/theater/
2022-06-10   2022-06-13 soft-review-donja-love.html                   Hope Springs Eternal Even From Behind Bars By Juan A Ramrez         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/books/j John Merriman 75 Yale History Professor
2022-06-11   2022-06-13 ohn-merriman-dead.html                        Filled With Gusto Dies                      By Richard Sandomir     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/busines
2022-06-11   2022-06-13 s/dealbook/howard-schultz-starbucks.html      Starbucks Chief Trying to Win Workers Trust By Andrew Ross Sorkin   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/fashion Here to Help Vanessa Friedman Answers
2022-06-11   2022-06-13 /best-travel-clothes-jackets.html             Your Style Questions                        By Vanessa Friedman     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/nyregio DeSantis Event at Chelsea Piers Faces
2022-06-11   2022-06-13 n/desantis-gay-nyc.html                       Backlash Over LGBTQ Rights                  By Liam Stack           TX 9-179-521   2022-08-01



                                                                                Page 3872 of 5793
                        https://www.nytimes.com/2022/06/11/opinion
2022-06-11   2022-06-13 /civil-rights-veterans-benefits.html        Lets Honor Civil Rights Heroes as Veterans By David Dennis Jr                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/sports/n Spirit of Empowerment Courses Through One
2022-06-11   2022-06-13 ew-york-mini-10k.html                       Race and Three Generations                 By Remy Tumin                      TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/11/world/a Braving Jungles and Bandits Migrants Trudge By Oscar Lopez and Alejandro
2022-06-11   2022-06-13 mericas/mexico-migrant-caravan-photos.html Toward US                                       Cegarra                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/crossw
2022-06-11   2022-06-13 ords/daily-puzzle-2022-06-13.html             Youre Reading One Right Now                  By Rachel Fabi                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/article/inflation-us-
2022-06-11   2022-06-13 prices.html                                   Unraveling the Riddle Of American Inflation By Jeanna Smialek               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/sports/h
                        ockey/lightning-avalanche-rangers-stanley- Lightning Seeking Third Crown in Row
2022-06-12   2022-06-13 cup.html                                      Eliminate Rangers                            By Ken Belson                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/arts/mu
                        sic/premieres-sarah-kirkland-snider-adegoke-
2022-06-12   2022-06-13 steve-colson.html                             A Festival of Delights Awaits at City Venues By Seth Colter Walls           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/arts/tele
2022-06-12   2022-06-13 vision/zahn-mcclarnon-dark-winds.html         The Long Road to the Lead                    By Robert Ito                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/books/r
                        eview-dollars-for-life-abortion-mary-         How AntiAbortion Activists Changed the
2022-06-12   2022-06-13 ziegler.html                                  GOP                                          By Jennifer Szalai             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/busines Goldman Sachs Faces Inquiry Over Its            By Lananh Nguyen and Matthew
2022-06-12   2022-06-13 s/sec-goldman-sachs-esg-funds.html            Sustainable Investing                        Goldstein                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/nyregio Giuliani to Debate Virtually Because of
2022-06-12   2022-06-13 n/andrew-giuliani-debate-vaccination.html     Vaccine Policy                               By Jesse McKinley              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/opinion An Unreleased Book Is Attacked for Its
2022-06-12   2022-06-13 /sandra-newman-men.html                       Premise                                      By Pamela Paul                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/opinion
2022-06-12   2022-06-13 /trump-threat-jan-6.html                      Trump Is Still A Threat                      By Charles M Blow              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/sports/b Since Childhood Shes Stood Out In Pro          By Zach Schonbrun and Hilary
2022-06-12   2022-06-13 aseball/kelsie-whitmore-staten-island.html    Baseball Kelsie Whitmore Wants to Fit In Swift                              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/sports/b How the Yankees Stay Up While Other
2022-06-12   2022-06-13 aseball/yankees-cubs.html                     Teams YoYo                                   By Tyler Kepner                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/sports/b
2022-06-12   2022-06-13 asketball/basketball-art.html                 From the Court To the Art Gallery            By Andrew Keh                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/sports/b
2022-06-12   2022-06-13 asketball/nba-finals-golden-state-fans.html   Trash Talk 3500 Tickets Fans Pay the Price By Sopan Deb                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/technol At Heart of Googles Feud With Worker His
2022-06-12   2022-06-13 ogy/google-chatbot-ai-blake-lemoine.html      Claim That Its AI Has a Soul                 By Nico Grant and Cade Metz    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/theater/
2022-06-12   2022-06-13 tony-award-winners.html                       The 2022 Tony Winners                        By Rachel Sherman              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/us/idah Police in Idaho Say Dozens From RightWing
2022-06-12   2022-06-13 o-pride-white-supremacists-arrested.html      Group Arrested for Riot Plans                By Daniel Walters              TX 9-179-521   2022-08-01




                                                                                Page 3873 of 5793
                        https://www.nytimes.com/2022/06/12/us/navy-US Navy Plans Safety Pause After Aircraft
2022-06-12   2022-06-13 aircraft-crashes-california.html            Crashes                                      By Livia AlbeckRipka              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/us/polit ExGeneral Who Faces US Inquiry Resigns
2022-06-12   2022-06-13 ics/john-allen-brookings-resigns.html       Post                                         By David D Kirkpatrick            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/us/polit Palin Leads Special Election for Alaska
2022-06-12   2022-06-13 ics/palin-alaska-special-election.html      House Seat                                   By Azi Paybarah                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/us/polit Senators Agree On Framework For Gun          By Emily Cochrane and Annie
2022-06-12   2022-06-13 ics/senator-gun-safety-deal.html            Safety                                       Karni                             TX 9-179-521   2022-08-01
                                                                                                                 By Luke Vander Ploeg Edgar
                        https://www.nytimes.com/2022/06/12/us/sena A Start Gun Deal Creates Hope but Also        Sandoval Rick Rojas Ali Watkins
2022-06-12   2022-06-13 te-gun-safety-deal-reactions.html          Frustration                                   and Ashley Southall               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/world/a
                        mericas/brazil-election-bolsonaro-         Brazil Leader Enlists Military as Election
2022-06-12   2022-06-13 military.html                              Skeptic                                       By Jack Nicas                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/world/a
2022-06-12   2022-06-13 sia/china-taiwan-us.html                   China Warns It Will Fight for Taiwan          By Chris Buckley and SuiLee Wee TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/12/world/a
                        sia/taiwanese-church-shooting-pastor-                                                    By Amy Qin Jill Cowan Shawn
2022-06-12   2022-06-13 gunman.html                                Behind Attack In California Rift in Taiwan    Hubler and Amy Chang Chien        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/world/e Alexander Nikitin 87 Who Coached
2022-06-12   2022-06-13 urope/alexander-nikitin-dead.html          Kasparov to Peak of Chess Olympus             By Dylan Loeb McClain             TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/12/world/e A Restored Wall Painting Illuminates the
2022-06-12   2022-06-13 urope/colosseum-painting-christianity.html   Roman Colosseums Christian History            By Elisabetta Povoledo          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/world/e In French Parliamentary Race Left Wing          By Roger Cohen and Aurelien
2022-06-12   2022-06-13 urope/france-elections-macron.html           Poaches Votes From Macron                     Breeden                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/world/e                                                 By Katrin Bennhold and Monika
2022-06-12   2022-06-13 urope/poland-abortion-ban.html               Pregnant in Poland Where Abortion Is Banned Pronczuk                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/world/e Ukraine Allies Ponder Options As Cities         By Thomas GibbonsNeff and
2022-06-12   2022-06-13 urope/ukraine-russia-war-eu.html             Falter                                        Matina StevisGridneff           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/interactive/2022/06/
                        12/opinion/kathy-hochul-endorsed-            Kathy Hochul Is the Best Choice for
2022-06-12   2022-06-13 governor.html                                Democrats in the June 28 Primary              By The Editorial Board          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/busines
                        s/google-discrimination-settlement-          Google Agrees to Give 118 Million in Relief
2022-06-13   2022-06-13 women.html                                   to Settle ClassAction Pay Discrimination Case By Nico Grant                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/theater/
2022-06-13   2022-06-13 broadway-tony-awards-2022.html               Celebrating More Than Just the Winners        By Michael Paulson              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/arts/tele
                        vision/whats-on-tv-this-week-the-old-man-
2022-06-13   2022-06-13 and-juneteenth-specials.html                 This Week on TV                               By Gabe Cohn                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/busines Indias Robust Economy Isnt Churning Out         By Emily Schmall and Sameer
2022-06-13   2022-06-13 s/economy/india-economy-jobs.html            Jobs                                          Yasir                           TX 9-179-521   2022-08-01




                                                                                 Page 3874 of 5793
                        https://www.nytimes.com/2022/06/13/nyregio A Retired Architect and a Tower Using His
2022-06-13   2022-06-13 n/architect-license-high-rise-manhattan.html Seal                                        By Matthew Haag                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/13/nyregio 5 Months Into Term Adams Turns to             By Emma G Fitzsimmons and Dana
2022-06-13   2022-06-13 n/eric-adams-fundraising-mayor.html          FundRaising                                 Rubinstein                     TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/13/sports/b
                        asketball/stephen-curry-nba-finals-golden-
2022-06-13   2022-06-13 state.html                                   Effortless No More Warriors Find Way        By Scott Cacciola               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/sports/g A Tour Where Money Talks And Players
2022-06-13   2022-06-13 olf/golf-liv-pga-saudi.html                  Wont Speak Up                               By Kurt Streeter                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/us/polit 2 Targets of Trumps Ire Vary Strategies in
2022-06-13   2022-06-13 ics/mace-rice-south-carolina-trump.html      South Carolina                              By Maya King                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/01/health/
2022-06-01   2022-06-14 pancreatic-cancer-treatment.html             Reprogrammed Cells Tame a Deadly Cancer     By Gina Kolata                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/well/m
2022-06-02   2022-06-14 ove/slow-running.html                        Finding Joy in Finishing Last               By Danielle Friedman            TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/02/well/liv
2022-06-03   2022-06-14 e/covid-testing-household-transmission.html My Family Got Covid We Tested Negative       By Melinda Wenner Moyer         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/well/at- How to Report Results Of AtHome Virus
2022-06-04   2022-06-14 home-covid-test-results-report.html          Tests                                       By Knvul Sheikh                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/06/well/fa
                        mily/nicu-premature-babies-formula-          Formula Crisis Adds to Premature Babies
2022-06-06   2022-06-14 shortage.html                                Woes                                        By Catherine Pearson            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/science In Bits of Rocks Clues to Solar Systems
2022-06-09   2022-06-14 /asteroid-ryugu-hayabusa2.html               Origins                                     By Kenneth Chang                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/arts/tele
2022-06-10   2022-06-14 vision/steven-knight-peaky-blinders.html     The End to the Beginning of a World         By Desiree Ibekwe               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/health/c
2022-06-10   2022-06-14 ancer-blood-tests.html                       New Cancer Tests Promise and Risk           By Gina Kolata                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/science
2022-06-10   2022-06-14 /monarch-butterflies-mexico.html             A Butterfly Census Doesnt Yield a Consensus By Emily Anthes                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/theater/ Too Much Coddling Dims A Partys Fun and
2022-06-10   2022-06-14 quince-review-bushwick-starr.html            Drama                                       By Laura CollinsHughes          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/us/peter Peter Lamborn Wilson 76 Anarchist Who
2022-06-11   2022-06-14 lamborn-wilson-dead.html                     Influenced Occupy Wall Street               By Penelope Green               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/insider/
2022-06-12   2022-06-14 california-housing-crisis-nimby.html         From Her Backyard to His Inbox              By Sarah Bahr                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/opinion                                               By Peter Allgeier and Michael
2022-06-12   2022-06-14 /fishing-subsidies.html                      The World Cant Keep Fishing Like This       Punke                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/opinion
2022-06-12   2022-06-14 /students-school-shootings-uvalde.html       I Ache for Change Teens on School Shootings By Rebekah Boitey               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/theater/
2022-06-12   2022-06-14 spindle-shuttle-needle-review.html           Spinning Wool and Spinning Tales            By Alexis Soloski               TX 9-179-521   2022-08-01




                                                                                 Page 3875 of 5793
                        https://www.nytimes.com/2022/06/12/us/gun- Gun Deal Is Less Than Democrats Wanted
2022-06-13   2022-06-14 deal-democrats.html                          but More Than Expected                        By Carl Hulse                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/us/polit Pfizer Covid Shot Is Effective For Youngest
2022-06-13   2022-06-14 ics/pfizer-covid-vaccine-under-5.html        Agency Finds                                  By Sharon LaFraniere              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/arts/me
2022-06-13   2022-06-14 tropolitan-opera-covid-season.html           Met Opera Takes A Bow                         By Julia Jacobs                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/arts/mu
2022-06-13   2022-06-14 sic/barrie-kosky-komische-oper.html          Catskills Singing and Hoofing but in Berlin   By Joshua Barone                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/arts/mu
                        sic/new-york-philharmonic-restore-musicians- New York Philharmonic Agrees to Restore
2022-06-13   2022-06-14 pay.html                                     Musicians Pay                                 By Javier C Hernndez              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/books/o
2022-06-13   2022-06-14 ttessa-moshfegh-lapvona-review.html          A Fairy Tale Grows Grim and Grimmer           By Dwight Garner                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/busines                                                 By William P Davis Karl Russell
2022-06-13   2022-06-14 s/bear-market-timeline-stocks.html           A Shudder Runs Through Wall St                and Stephen Gandel                TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/13/busines Microsoft Vows Neutrality In Activision      By Noam Scheiber and Karen
2022-06-13   2022-06-14 s/economy/microsoft-activision-union.html Union Efforts                                 Weise                                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/busines
2022-06-13   2022-06-14 s/fed-interest-rate-increase.html           Fed May Eye Biggest Rate Jump Since 94      By Jeanna Smialek                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/busines Investing in Times Of Market Decline Can Be
2022-06-13   2022-06-14 s/investing-tips-bear-market.html           Opportune                                   By Jeff Sommer                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/busines
                        s/media/disney-viacom18-cricket-            Disney Fails To Get Rights To Stream Top
2022-06-13   2022-06-14 streaming.html                              League                                      By Benjamin Mullin                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/busines                                              By Jeremy W Peters and Jim
2022-06-13   2022-06-14 s/media/jan-6-hearings-fox-news.html        Hearings Put Focus On Fox News Decision Rutenberg                                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/busines Growing Economic Fears Drive Markets Into By Mohammed Hadi and Jeanna
2022-06-13   2022-06-14 s/stocks-bonds-crypto.html                  Bear Territory                              Smialek                              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/climate As Temperatures Rise Scientists Are Studying
2022-06-13   2022-06-14 /extreme-heat-wave-health.html              How Humans Will React                       By Raymond Zhong                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/climate
2022-06-13   2022-06-14 /russia-oil-gas-record-revenue.html         Russias Oil Profits Soar Despite Sanctions  By Hiroko Tabuchi                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/health/a FDA Approves Alopecia Drug Found to
2022-06-13   2022-06-14 lopecia-drug-approved-fda.html              Regrow Hair                                 By Gina Kolata                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/health/a New Experimental Therapy for ALS Is
2022-06-13   2022-06-14 ls-treatment-albrioza.html                  Approved in Canada                          By Pam Belluck                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/health/c They Smoked Cigarettes Then a Stroke
2022-06-13   2022-06-14 igarette-smokers-stroke-addiction.html      Stopped Their Nicotine Cravings             By Benjamin Mueller                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/movies/ Philip Baker Hall Raspy BaggyEyed Actor
2022-06-13   2022-06-14 philip-baker-hall-dead.html                 Full of Authority Dies at 90                By Anita Gates                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/nyregio US Attorney Turned Podcaster Joins Law       By Benjamin Weiser and Ben
2022-06-13   2022-06-14 n/preet-bharara-wilmerhale.html             Firm                                        Protess                              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/opinion
2022-06-13   2022-06-14 /biden-guns-inflation-jan-6.html            Its Not Easy Being President                By Gail Collins and Bret Stephens    TX 9-179-521   2022-08-01



                                                                                  Page 3876 of 5793
                        https://www.nytimes.com/2022/06/13/opinion
2022-06-13   2022-06-14 /great-salt-lake.html                      A Dying Lakes Message About The Future      By Paul Krugman                  TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/13/science
2022-06-13   2022-06-14 /cern-hadron-collider-muon-leptoquark.html Hopes Soar as Collider Revs Up              By Dennis Overbye                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/science FAA Gives SpaceX Environmental Assent
2022-06-13   2022-06-14 /spacex-starship-faa-review.html            For Rocket to Mars                         By Kenneth Chang                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/sports/b See Something Say Something
2022-06-13   2022-06-14 aseball/mets-record.html                    Communication Bolsters Mets                By Scott Miller                  TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/13/sports/b Tennessee Becomes the Latest Behemoth to
2022-06-13   2022-06-14 aseball/tennessee-college-world-series.html Fall Short of the Series                   By Victor Mather                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/sports/b
                        asketball/brittney-griner-detainment-phoenix- State Department Holds Meeting With
2022-06-13   2022-06-14 mercury.html                                  Mercury on Griner Detention              By Jonathan Abrams               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/sports/g Mickelson Stands Behind LIV Tour as
2022-06-13   2022-06-14 olf/mickelson-us-open-liv.html                Golfing Worlds Collide                   By Peter May                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/sports/s FIFA Makes the FiveSubstitute Limit
2022-06-13   2022-06-14 occer/world-cup-substitutes-rosters.html      Permanent and Expands Rosters            By Andrew Das                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/technol Crypto Swoons Again Bitcoin Drops to 2020
2022-06-13   2022-06-14 ogy/bitcoin-ether-price.html                  Level                                    By David YaffeBellany            TX 9-179-521   2022-08-01
                                                                                                               By Jesse Green Maya Phillips
                                                                                                               Alexis Soloski Laura
                        https://www.nytimes.com/2022/06/13/theater/                                            CollinsHughes Elisabeth
2022-06-13   2022-06-14 best-worst-tony-awards.html                  Best and Worst of the Tony Awards         Vincentelli and Jessica Testa    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/us/fires-
2022-06-13   2022-06-14 california-sheep-arizona.html                Wildfire Prompts Evacuations in California By Christine Chung              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/us/justi Liberal DAs Draw Lessons From San
2022-06-13   2022-06-14 ce-reform-boudin-recall-san-francisco.html Francisco Recall                             By Shaila Dewan                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/us/ohio- New Ohio Law Makes It Easier For Teachers
2022-06-13   2022-06-14 teachers-guns-training.html                  To Carry Guns                              By Campbell Robertson           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/us/polit Missouri Battle on Birth Control Gives Hint
2022-06-13   2022-06-14 ics/birth-control-roe-v-wade.html            of a PostRoe Nation                        By Sheryl Gay Stolberg          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/us/polit
                        ics/nevada-republicans-november-
2022-06-13   2022-06-14 elections.html                               Could Anger At Democrats Turn Nevada Red By Blake Hounshell                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/us/polit
                        ics/supreme-court-bail-hearings-
2022-06-13   2022-06-14 immigrants.html                              Court Issues Two Rulings On Migrants       By Adam Liptak                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/us/polit                                             By Michael D Shear and Maggie
2022-06-13   2022-06-14 ics/trump-election-night.html                Rantings by Giuliani Carried the Day       Haberman                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/us/trum Team Normal and Other Takeaways from
2022-06-13   2022-06-14 p-jan-6-hearing-monday.html                  Hearings Day 2                             By Michael D Shear              TX 9-179-521   2022-08-01




                                                                               Page 3877 of 5793
                        https://www.nytimes.com/2022/06/13/world/a
                        mericas/dom-phillips-bruno-pereira-          Officials Find Belongings Of 2 Missing In
2022-06-13   2022-06-14 missing.html                                 Amazon                                      By Jack Nicas and Andr Spigariol   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/world/a                                               By Amy Qin Amy Chang Chien
2022-06-13   2022-06-14 sia/china-taiwan-ukraine-military.html       Ukraine War Cues Taiwan To Get Ready        and Lam Yik Fei                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/world/e
                        urope/britain-northern-ireland-trade-brexit- Britain Resumes Plans to Scrap Its Trade
2022-06-13   2022-06-14 eu.html                                      Rules With Northern Ireland                 By Mark Landler                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/world/e Court Blocks Aid Groups Appeals For           By Cora Engelbrecht and Abdi
2022-06-13   2022-06-14 urope/britain-refugees-rwanda.html           Rwandan Refugees in Britain                 Latif Dahir                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/world/e 5 Years After Deadly Grenfell Fire Anguish
2022-06-13   2022-06-14 urope/grenfell-towers-fire-london.html       Lingers                                     By Megan Specia                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/world/e A Dead Soldier Draws Us In Examining the
2022-06-13   2022-06-14 urope/ukraine-war-casualties-looking.html    Human Urge to Look                          By Thomas GibbonsNeff              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/13/world/e Europe Weighs Harder Fight or a Push for
2022-06-13   2022-06-14 urope/ukraine-weapons-europe-peace.html      Peace                                        By Steven Erlanger                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/world/
                        middleeast/israel-netanyahu-olmert-libel-    A Sensational Libel Case Grips Israel
2022-06-13   2022-06-14 trial.html                                   Featuring 2 Former Prime Ministers           By Isabel Kershner                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/world/
                        middleeast/israel-poison-iranian-            After 2 Iranian Scientists Die Iran Suspects By Farnaz Fassihi and Ronen
2022-06-13   2022-06-14 scientists.html                              Israel of Poisoning Them                     Bergman                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/13/bus
                        iness/economy-news-inflation-russia/charles- Schwab Agrees to Pay 187 Million to Clients
2022-06-13   2022-06-14 schwab-sec-roboadviser                       It Was Accused of Misleading                 By Tara Siegel Bernard            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/nyregio Fealty to Trump Arises as Test in Republican
2022-06-14   2022-06-14 n/republican-governor-debate-ny.html         Debate for NY Governor                       By Jesse McKinley                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/13/sports/b With RollerCoaster Win Golden State Has the
2022-06-14   2022-06-14 asketball/golden-state-celtics-nba-finals.html Pinnacle in Its Sights                      By Scott Cacciola                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/us/polit
                        ics/military-clears-crew-afghan-               Military Clears Crew of Plane That Took Off
2022-06-14   2022-06-14 evacuation.html                                As Afghans Fell                             By Helene Cooper                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/us/polit Trump Rebuffed Aides Over Loss Denying By Luke Broadwater and Alan
2022-06-14   2022-06-14 ics/trump-january-6-hearings-day-2.html        Reality                                     Feuer                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/health/f Defying Genital Cutting at the Cost of
2022-06-14   2022-06-14 emale-genital-cutting-sierra-leone.html        Retribution                                 By Stephanie Nolen               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/science
2022-06-14   2022-06-14 /children-languages-randall-munroe.html        Language Acquisition and the Cool Factor    By Randall Munroe                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/14/us/
                        election-nevada-primary-south-                 2 Trump Picks Challenge GOP Incumbents in
2022-06-14   2022-06-14 carolina/primary-elections-sc-nevada-          South Carolina                              By Jonathan Weisman              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/theater/
2022-06-08   2022-06-15 come-from-away-broadway-closing.html           Well Folks Looks Like Its Time to Go        By Michael Paulson               TX 9-179-521   2022-08-01



                                                                                 Page 3878 of 5793
                        https://www.nytimes.com/2022/06/09/dining/
2022-06-09   2022-06-15 drinks/summer-mocktails-tea.html            Tea Can Transform Summer Mocktails          By Rebekah Peppler      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/theater/
2022-06-09   2022-06-15 jodie-comer-broadway-prima-facie.html       Jodie Comer Hitting Broadway in Prima Facie By Nicole Herrington    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/theater/
2022-06-09   2022-06-15 new-42-diversity-lawsuit.html               Suit Filed Against Theater Nonprofit        By Michael Paulson      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/dining/ A Most Luxurious Butter Lives to Churn
2022-06-10   2022-06-15 animal-farm-creamery-butter.html            Another Day                                 By Melissa Clark        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/dining/
2022-06-10   2022-06-15 drinks/rose-wine-review.html                Extend Ros Season to a Full Year            By Eric Asimov          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/well/liv What You Need to Know About Covid
2022-06-11   2022-06-15 e/covid-reinfection.html                    Reinfections                                By Knvul Sheikh         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/arts/mu
                        sic/kate-bush-stranger-things-billboard-    Running Up That Hill Rides a Wave to the
2022-06-13   2022-06-15 chart.html                                  Top 5                                       By Ben Sisario          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/busines
2022-06-13   2022-06-15 s/covid-sick-days.html                      Did Covid Do Away With the Sick Day         By Emma Goldberg        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/dining/ To Mix Airmail Cocktail Links Miami and
2022-06-13   2022-06-15 airmail-miami.html                          Cuba                                        By Florence Fabricant   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/dining/ To Sip Hollywood Pedigree For a Blackberry
2022-06-13   2022-06-15 blackberry-gin-mf-libations.html            Gin                                         By Florence Fabricant   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/dining/ To Bake A Story of Working Through
2022-06-13   2022-06-15 breadsong-book-baking.html                  Depression                                  By Florence Fabricant   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/dining/
2022-06-13   2022-06-15 eric-kim-korean-food-recipes.html           Korean Essentials                           By Eric Kim             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/dining/f To Eat The Fancy Food Show Returns With a
2022-06-13   2022-06-15 ancy-food-show-nyc.html                     Full Plate                                  By Florence Fabricant   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/dining/
2022-06-13   2022-06-15 horses-hollywood-los-angeles.html           This Hollywood Hangout Is Worth the Wait By Tejal Rao               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/dining/i To Serve Frozen Foods Brand Branches Out
2022-06-13   2022-06-15 psa-pizza.html                              to Pizza                                    By Florence Fabricant   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/us/polit Kenneth Dam 89 Deputy in Two Presidents
2022-06-13   2022-06-15 ics/kenneth-dam-dead.html                   Cabinets                                    By Sam Roberts          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/us/polit Capitol Tour Led by Lawmaker on Jan 5 Not
2022-06-14   2022-06-15 ics/barry-loudermilk-capitol-tour.html      Suspicious Police Say                       By Luke Broadwater      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/us/polit
                        ics/guantanamo-guilty-plea-abd-al-hadi-al-
2022-06-14   2022-06-15 iraqi.html                                  Iraqi Prisoner Held by US Pleads Guilty     By Carol Rosenberg      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/arts/dan Kyiv City Ballet of Ukraine Announces Its
2022-06-14   2022-06-15 ce/kyiv-city-ballet-united-states-tour.html First US Tour This Fall                     By Kalia Richardson     TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/14/arts/des
2022-06-14   2022-06-15 ign/cheech-marin-chicano-art-riverside.html New Home for Chicano Art                    By Patricia Escrcega    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/arts/mu
2022-06-14   2022-06-15 sic/ojai-music-festival-amoc.html           A Loving Musical Gathering                  By Zachary Woolfe       TX 9-179-521   2022-08-01



                                                                                Page 3879 of 5793
                        https://www.nytimes.com/2022/06/14/books/a AB Yehoshua Israeli Writer on Morality and
2022-06-14   2022-06-15 b-yehoshua-dead.html                        Suffering Dies at 85                        By Joseph Berger               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/books/r
                        eview-also-a-poet-ada-calhoun-frank-o-hara-
2022-06-14   2022-06-15 peter-schjeldahl.html                       A Memoir of Messy Relationships             By Alexandra Jacobs            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/busines Chinese Bristle at Disruptions Caused by
2022-06-14   2022-06-15 s/china-covid-testing.html                  Mass Covid Testing                          By Alexandra Stevenson         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/busines Crypto Firm Will Cut 18 Of Work Force In
2022-06-14   2022-06-15 s/coinbase-crypto-layoffs.html              Downturn                                    By Isabella Simonetti          TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/14/busines Biden Considers Rollback Of Tariffs to Ease By Jim Tankersley Ana Swanson
2022-06-14   2022-06-15 s/economy/biden-china-tariffs-inflation.html Inflation                                     and Alan Rappeport          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/busines
                        s/economy/federal-reserve-rates-              With Fed Set To Lift Rates Soft Landing Is a
2022-06-14   2022-06-15 economy.html                                 Hard Sell                                     By Jeanna Smialek           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/busines For TwoMonth Cricket Season Indian League
2022-06-14   2022-06-15 s/indian-cricket-broadcast-rights.html       Gets 62 Billion                               By Sameer Yasir             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/busines JPMorgan Free From Nigerias Looting
2022-06-14   2022-06-15 s/jpmorgan-nigeria-lawsuit.html              Claims Court Rules                            By Emily Flitter            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/busines
2022-06-14   2022-06-15 s/natural-gas-prices-texas.html              US Natural Gas Supply to Europe Takes Hit By Clifford Krauss              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/14/busines                                              By Seth Berkman and Jenn
2022-06-14   2022-06-15 s/pickleball-courts-private-development.html Building on a Passion for Pickleball       Ackerman                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/busines Russian Natural Gas Flows To Germany Get
2022-06-14   2022-06-15 s/russian-gas-germany-canada.html            Snarled In Canadas War Sanctions           By Stanley Reed                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/busines Sharon Oster 73 Leader Who Smashed
2022-06-14   2022-06-15 s/sharon-oster-dead.html                     Barriers At Yales Business School          By Sam Roberts                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/busines                                              By Eshe Nelson and Daisuke
2022-06-14   2022-06-15 s/stocks-bonds-bear-market.html              Awaiting the Fed Investors Are Tentative   Wakabayashi                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/climate Clearing an Urban Bayou of Islands of
2022-06-14   2022-06-15 /bayou-dave-trash-cleanup.html               Garbage                                    By Cara Buckley                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/dining/f
                        ive-new-restaurants-to-try-near-the-         Five New Restaurants To Try Near the
2022-06-14   2022-06-15 catskills.html                               Catskills                                  By Nikita Richardson           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/dining/
2022-06-14   2022-06-15 mels-review-pete-wells.html                  Pizza and Sundaes Neutralize Ghosts        By Pete Wells                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/dining/ Chambers the Evolution of Racines NY
2022-06-14   2022-06-15 nyc-restaurant-news.html                     Opens in TriBeCa                           By Florence Fabricant          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/fashion For Elvis his hips werent the only things
2022-06-14   2022-06-15 /elvis-watches.html                          keeping time                               By David Belcher               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/fashion
2022-06-14   2022-06-15 /pendant-watches-chanel-hermes.html          Cool danglings                             By Ming Liu                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/fashion
2022-06-14   2022-06-15 /watch-microbrands-ten-to-know.html          Energy and ingenuity                       By Victoria Gomelsky           TX 9-179-521   2022-08-01



                                                                               Page 3880 of 5793
                        https://www.nytimes.com/2022/06/14/fashion
2022-06-14   2022-06-15 /watches-and-wonders-geneva.html              The mood shifts on reviving watch fairs       By Robin Swithinbank            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/fashion
2022-06-14   2022-06-15 /watches-inventions-history.html              They were first Or were they                  By Kathleen Beckett             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/fashion
2022-06-14   2022-06-15 /watches-louvre-vacheron-constantin.html      A wearable Louvre                             By Nazanin Lankarani            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/fashion
2022-06-14   2022-06-15 /watches-microbrands-collectors.html          Microbrands verging on macro                  By Victoria Gomelsky            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/fashion
2022-06-14   2022-06-15 /watches-nfts-nimany.html                     NFT universe expands                          By Jessica Bumpus               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/movies/
2022-06-14   2022-06-15 amber-heard-today-show.html                   Amber Heard Says She Told the Truth           By Julia Jacobs                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/movies/
2022-06-14   2022-06-15 halftime-review.html                          Lets Get Loud About Politics but Only Briefly By Chris Azzopardi              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/nyregio Hochul Is Set to at Last Receive Endorsement
2022-06-14   2022-06-15 n/adams-hochul-endorsement.html               of Adams for Governor                         By Nicholas Fandos              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/nyregio Adams Announces Plan to Fix New York             By Matthew Haag Dana Rubinstein
2022-06-14   2022-06-15 n/eric-adams-housing-crisis-plan.html         Citys Stubborn Housing Woes                   and Andy Newman                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/nyregio Pachyderm at Bronx Zoo Is Elephant Not a
2022-06-14   2022-06-15 n/happy-elephant-animal-rights.html           Person                                        By Ed Shanahan                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/opinion Dont Add Limits on Firearms Hold Gun
2022-06-14   2022-06-15 /gun-liability-restrictions.html              Makers Liable                                 By Todd Tanner                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/opinion
2022-06-14   2022-06-15 /inflation-stagflation-economy.html           The Fed Can Control Inflation                 By Ben S Bernanke               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/opinion
2022-06-14   2022-06-15 /jan-6-hearing-day-2.html                     There Are No Winners on Team Chicken          By Michelle Cottle              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/opinion
2022-06-14   2022-06-15 /saudi-arabia-khashoggi-pga.html              Saudi Arabia Should Take a Mulligan on Golf By Thomas L Friedman              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/opinion
2022-06-14   2022-06-15 /ukraine-war-putin.html                       Five Blunt Truths About the War in Ukraine By Bret Stephens                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/sports/b
                        asketball/golden-state-boston-celtics-game-5- Celtics Stop Curry But Not Thompson
2022-06-14   2022-06-15 nba-finals.html                               Wiggins Payton                                By Tania Ganguli                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/sports/g
2022-06-14   2022-06-15 olf/us-open-francis-ouimet-house.html         Saving the House That Built Golf              By Bill Pennington              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/sports/g
2022-06-14   2022-06-15 olf/us-open-liv-saudi.html                    McIlroy Finds an Ally Against the New Tour By Bill Pennington                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/sports/t Serena Williams to Play at Wimbledon After
2022-06-14   2022-06-15 ennis/serena-williams-wimbledon.html          One Year Away From Competition                By Christopher Clarey           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/sports/t Belarusians And Russians Can Compete At
2022-06-14   2022-06-15 ennis/us-open-russian-ukraine.html            US Open                                       By Christopher Clarey           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/technol Cryptos Price Plunge Exposes Industrys           By David YaffeBellany and Erin
2022-06-14   2022-06-15 ogy/crypto-industry-prices-fall.html          Unstable Roots                                Griffith                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/technol
2022-06-14   2022-06-15 ogy/massachusetts-gig-workers.html            Court Halts States Vote On Gig Work           By Kellen Browning              TX 9-179-521   2022-08-01



                                                                                Page 3881 of 5793
                        https://www.nytimes.com/2022/06/14/technol Markets May Be Crazy but Tech Is Still
2022-06-14   2022-06-15 ogy/tech-jobs-hiring.html                   Hiring                                   By Shira Ovide                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/theater/
2022-06-14   2022-06-15 the-book-of-mormon-actors.html              The Book Of Mormon Everlasting           By Matt Stevens                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/us/charl Charles Kernaghan Vigorous Voice Against
2022-06-14   2022-06-15 es-kernaghan-dead.html                      Sweatshops Is Dead at 74                 By Clay Risen                           TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/14/us/kent- Police Officer Who Taped Nazi Insignia to
2022-06-14   2022-06-15 washington-police-chief-nazi-insignia.html  Door Will Receive 15 Million to Resign      By Livia AlbeckRipka                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/us/polit Downplaying Oil White House Firms Up
2022-06-14   2022-06-15 ics/biden-saudi-arabia-israel-trip.html     Bidens Saudi Trip                           By Peter Baker                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/us/polit Hints at Fresh Revelations to Come as Jan 6 By Luke Broadwater and Emily
2022-06-14   2022-06-15 ics/jan-6-hearing-delayed.html              Hearing Is Delayed                          Cochrane                             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/us/polit FDA Committee Recommends Modernas Shot By Noah Weiland and Sharon
2022-06-14   2022-06-15 ics/moderna-teens-vaccine-fda.html          for Ages 6 to 17                            LaFraniere                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/us/polit Trump Sought Donations for a Fund That      By Kenneth P Vogel and Rachel
2022-06-14   2022-06-15 ics/trump-fundraising-jan-6.html            Didnt Exist Jan 6 Panel Says                Shorey                               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/us/sout Southern Baptists Battling Divisions Gather By Ruth Graham and Elizabeth
2022-06-14   2022-06-15 hern-baptists-convention.html               for Historic Convention                     Dias                                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/us/supr House Approves Bill To Extend Protection To
2022-06-14   2022-06-15 eme-court-security-bill.html                Families of Justices                        By Carl Hulse                        TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/14/us/yello                                             By Alex Traub Livia AlbeckRipka
2022-06-14   2022-06-15 wstone-rain-flooding.html                   Yellowstone Closes Park After Floods        and Christine Hauser                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/world/a
                        frica/zimbabwe-trial-reporter-new-york-     Reporters Conviction in Zimbabwe Is Seen as
2022-06-14   2022-06-15 times.html                                  Wider Attack Against Free Press             By Declan Walsh                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/world/a
2022-06-14   2022-06-15 sia/bloomberg-reporter-china.html           China Releases Jailed Worker For Bloomberg By Alexandra Stevenson                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/world/a US Activist Among Critics Sent to Prison In
2022-06-14   2022-06-15 sia/cambodia-theary-seng-sentenced.html     Cambodia                                    By Seth Mydans                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/world/a Floods and Heat Waves Jolt Indias Food       By Mujib Mashal Hari Kumar and
2022-06-14   2022-06-15 sia/india-south-asia-climate-change.html    Supply                                      Atul Loke                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/world/c
                        anada/hans-island-ownership-canada-         Canada and Denmark Put End To Their
2022-06-14   2022-06-15 denmark.html                                Arctic Whisky War                           By Ian Austen                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/world/c
                        anada/minassian-toronto-van-murder-         Toronto Mass Killer Is Given Life Sentence
2022-06-14   2022-06-15 sentenced.html                              At Least 25 Years in Prison                 By Vjosa Isai and Catherine Porter   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/world/e Court Ruling Halts a British Plan to Deport By Stephen Castle Cora
2022-06-14   2022-06-15 urope/britain-asylum-seekers-rwanda.html    Asylum Seekers to Rwanda                    Engelbrecht and Abdi Latif Dahir     TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/14/world/e US Athlete to Be Jailed In Russia Through
2022-06-14   2022-06-15 urope/brittney-griner-russia-detainment.html June                                        By Neil MacFarquhar                 TX 9-179-521   2022-08-01




                                                                                 Page 3882 of 5793
                        https://www.nytimes.com/2022/06/14/world/e Its Still So Painful Tears and Activism at
2022-06-14   2022-06-15 urope/grenfell-fire-anniversary.html        Grenfell                                   By Emma Bubola                 TX 9-179-521       2022-08-01
                        https://www.nytimes.com/2022/06/14/world/e
                        urope/ukraine-russia-war-                                                              By Thomas GibbonsNeff and Eric
2022-06-14   2022-06-15 sievierodonetsk.html                        New Setbacks As Kyivs Allies Grow Restless Schmitt                        TX 9-179-521       2022-08-01
                        https://www.nytimes.com/2022/06/14/world/e Russia Left the North Long Ago Fear Never
2022-06-14   2022-06-15 urope/ukraine-war-northern-border.html      Did                                        By Valerie Hopkins             TX 9-179-521       2022-08-01
                        https://www.nytimes.com/2022/06/14/us/polit Inner Circle Strikes New Tone Over Trumps By Maggie Haberman and Michael
2022-06-15   2022-06-15 ics/trump-officials-jan-6-testimony.html    Claims of Fraud                            S Schmidt                      TX 9-179-521       2022-08-01
                        https://www.nytimes.com/2022/06/15/busines
2022-06-15   2022-06-15 s/dealbook-dc-climate-task-force.html       Nuclear Power May Be Back on the Table     By Vivian Giang                TX 9-179-521       2022-08-01

                        https://www.nytimes.com/2022/06/15/busines
2022-06-15   2022-06-15 s/dealbook-dc-cryptocurrency-task-force.html Tech Veterans Question Blockchains Promise By Ephrat Livni                 TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/15/busines
2022-06-15   2022-06-15 s/dealbook-dc-labor-task-force.html          Weaknesses in the Social Safety Net          By Lauren Hirsch              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/15/busines
                        s/dealbook/dealbook-dc-china-us-task-
2022-06-15   2022-06-15 force.html                                   Tensions in USChina Relations                By Stephen Gandel             TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/15/fashion
2022-06-15   2022-06-15 /watches-moser-undefeated.html               A strategic partnership                      By Roberta Naas               TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/15/sports/b
                        asketball/mike-gorman-tommy-heinsohn-
2022-06-15   2022-06-15 boston-celtics.html                          Voice of the Celtics Is Glad He Stuck Around By Sopan Deb                  TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/15/sports/h The Lightning Try For Three in a Row Thats
2022-06-15   2022-06-15 ockey/lightning-stanley-cup-three.html       Really Hard                                  By Victor Mather              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/24/us/abor
2022-06-08   2022-06-16 tion-legal-united-states.html                Is abortion illegal now Or might it be soon  By Sean Plambeck              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/09/arts/des
2022-06-09   2022-06-16 ign/national-museum-oslo-fjord-city.html     Oslo Hopes a Museum Can Be a Magnet          By Thomas Rogers              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/10/style/br Something Old Something New Versaces
2022-06-10   2022-06-16 itney-spears-wedding.html                    Married Muse                                 By Vanessa Friedman           TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/13/opinion Monarch Butterflies Are in Decline I Wanted
2022-06-13   2022-06-16 /monarch-butterfly-caterpillars-garden.html to Help                                    By Margaret Renkl                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/style/pr
2022-06-13   2022-06-16 ivate-residence-rental-studios.html         The Ideal Location to Film Your Place      By Katherine McLaughlin            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/arts/mu
2022-06-14   2022-06-16 sic/bts-break-solo.html                     BTS Promises Its Pause Is Not Permanent    By Julia Jacobs and Christine Chun TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/arts/mu Lizzo Changes Song Lyrics That Offended
2022-06-14   2022-06-16 sic/lizzo-lyrics-grrrls.html                Some Fans                                  By Daniel Victor                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/climate Huge Methane Releases Traced to Russian
2022-06-14   2022-06-16 /methane-emissions-russia-coal-mine.html    Mine                                       By Henry Fountain                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/opinion
2022-06-14   2022-06-16 /germany-scholz-russia-ukraine.html         Scholz Is Falling Short on Ukraine         By Jagoda Marinic                  TX 9-179-521   2022-08-01



                                                                                Page 3883 of 5793
                        https://www.nytimes.com/2022/06/14/style/hy Hypebeast Makes a SevenStory Bet on Its
2022-06-14   2022-06-16 pebeast-hq-chinatown.html                    Future                                       By Gina Cherelus                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/14/theater/
                        topdog-underdog-corey-hawkins-yahya-abdul-
2022-06-14   2022-06-16 mateen.html                                  Broadway Anniversary And Revival             By Michael Paulson              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/14/us/polit
                        ics/trump-candidates-south-carolina-         GOP Primary Wins in Nevada Set the Stage     By Jonathan Weisman and Jazmine
2022-06-14   2022-06-16 nevada.html                                  for TrumpCentered Battles This Fall          Ulloa                           TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/art-
2022-06-15   2022-06-16 tefaf-maastricht.html                        TEFAF is back in person                      By Ted Loos                     TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/15/arts/dan
2022-06-15   2022-06-16 ce/american-ballet-theater-don-quixote.html Tilting at Windmills And at Cobwebs Too       By Gia Kourlas                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/dan
2022-06-15   2022-06-16 ce/review-gibney-company.html                Works That Explore Plato and Online Dating   By Siobhan Burke                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/jan-
2022-06-15   2022-06-16 lievens-dutch-master.html                    Auction sleeper tells a very Dutch story     By Nina Siegal                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/ki
2022-06-15   2022-06-16 m-kulim-tefaf-maastricht.html                Another milestone for an art pioneer         By David Belcher                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/ma
2022-06-15   2022-06-16 uritshuis-museum-slavery.html                A Dutch museum celebrates and reflects       By Farah Nayeri                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/mu
                        sic/john-hinckley-brooklyn-concert-          SoldOut Brooklyn Concert By Reagan
2022-06-15   2022-06-16 canceled.html                                Shooter Canceled                             By Julia Jacobs and Mark Guarino TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/tef
2022-06-15   2022-06-16 af-maastricht-contemporary-art.html          Creating links between past and present      By Farah Nayeri                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/tef
2022-06-15   2022-06-16 af-restoration-fund.html                     For vulnerable art help with a fresh start   By Ginanne Brownell             TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/15/arts/tele
2022-06-15   2022-06-16 vision/the-old-man-review-jeff-bridges.html Hes on the Run Creaky Knees and All         By Mike Hale                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/books/r
                        eview-meet-me-by-fountain-mall-history-
2022-06-15   2022-06-16 alexandra-lange.html                         Just Shop Till You Drop                    By Molly Young                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/busines Biden Demands That Oil Giants Defend
2022-06-15   2022-06-16 s/biden-oil-companies-gas-prices.html        Moves to Limit Capacity                    By Peter Baker and Clifford Krauss TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/busines
2022-06-15   2022-06-16 s/ecb-bond-market.html                       Euro Bank Addresses Bond Market            By Eshe Nelson                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/busines With Biggest Rate Increase Since 94 Fed Gets
2022-06-15   2022-06-16 s/economy/fed-interest-rates.html            Tough on Soaring Inflation                 By Jeanna Smialek                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/busines EU Strikes a Deal to Tap Natural Gas From
2022-06-15   2022-06-16 s/eu-gas-egypt-israel.html                   Egypt and Israel                           By Stanley Reed                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/busines
                        s/romania-energy-nuclear-power-natural-      Romania Could Play a Big Part In Energy
2022-06-15   2022-06-16 gas.html                                     Security for Europe                        By Stanley Reed                    TX 9-179-521   2022-08-01



                                                                                Page 3884 of 5793
                        https://www.nytimes.com/2022/06/15/busines Russia Tightens Supplies to Italy And
2022-06-15   2022-06-16 s/russia-gas-germany-italy.html                Germany                                   By Stanley Reed                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/busines Russia Shows a Slight Increase in Oil Output
2022-06-15   2022-06-16 s/russia-oil-sanctions.html                    Despite Western Sanctions                 By Stanley Reed                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/busines DriverAssist Toll Tallied 392 Crashes In 10 By Neal E Boudette Cade Metz and
2022-06-15   2022-06-16 s/self-driving-car-nhtsa-crash-data.html       Months                                    Jack Ewing                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/climate
                        /lawsuit-oil-gas-drilling-endangered-          Endangered Animals Law Is Applied to Oil
2022-06-15   2022-06-16 species.html                                   Drilling                                  By Lisa Friedman               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/dining/ Josh Jensen 78 Whose Pinot Noirs Were
2022-06-15   2022-06-16 drinks/josh-jensen-dead.html                   Some of Americas Best Dies                By Eric Asimov                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/health/a US Abortions Rise After 30Year Drop Report
2022-06-15   2022-06-16 bortion-rate-increase.html                     Says All Regions See Increases            By Pam Belluck                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/movies/
                        emma-thompson-good-luck-to-you-leo-
2022-06-15   2022-06-16 grande.html                                    Baring It All at 63 Despite Her Fear      By Nicole Sperling             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/movies/ Disneys Lightyear Faces Backlash Over
2022-06-15   2022-06-16 lightyear-banned-kiss-lgbt.html                SameSex Kiss                              By Mike Ives                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/nyregio City Council Speaker Accused of Playing       By Jeffery C Mays and Emma G
2022-06-15   2022-06-16 n/aoc-city-council-budget.html                 Dirty Politics                            Fitzsimmons                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/nyregio Buffalo Shooting Suspect Hit With 26 Federal By Jesse McKinley and Glenn
2022-06-15   2022-06-16 n/buffalo-shooting-hate-crime-charges.html Hate Crime and Gun Charges                    Thrush                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/opinion These Companies Are Still Funding Trumps
2022-06-15   2022-06-16 /jan6-companies-donate.html                    Big Lie Caucus                            By Alex Kingsbury              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/sports/b Cuban Stars Look to Form Dream Team Of
2022-06-15   2022-06-16 aseball/cuba-world-baseball-classic.html       Their Own                                 By James Wagner                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/sports/b
                        asketball/boston-celtics-nba-finals-           Celtics Have Staved Off Elimination Three
2022-06-15   2022-06-16 elimination.html                               Times but This Feels Different            By Tania Ganguli               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/sports/b
                        asketball/ronnie-lott-49ers-nba-finals-golden- A Football Hall of Famer Feeds His NBA
2022-06-15   2022-06-16 state.html                                     Dream                                     By Scott Cacciola              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/sports/g
                        olf/country-club-massachusetts-17th-
2022-06-15   2022-06-16 hole.html                                      Watch out for the 17th hole               By Michael Croley              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/sports/g
2022-06-15   2022-06-16 olf/five-players-to-watch-us-open.html         5 players to watch                        By Michael Arkush              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/sports/g
2022-06-15   2022-06-16 olf/mike-whan-us-golf.html                     The changemaker of US golf                By Paul Sullivan               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/sports/g
2022-06-15   2022-06-16 olf/us-open-liv-usga.html                      Players May Get an Offer They Cant Refuse By Bill Pennington             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/sports/g Amateur and His Caddie Hope to Repeat
2022-06-15   2022-06-16 olf/us-open-thornbjornsen-amateur.html         History                                   By Peter May                   TX 9-179-521   2022-08-01




                                                                              Page 3885 of 5793
                        https://www.nytimes.com/2022/06/15/sports/h
                        ockey/stanley-cup-preview-lightning-        ThreePeat in Sight Tampa Bay Faces Tough
2022-06-15   2022-06-16 avalanche.html                              Test Against the Avalanche                   By David Waldstein               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/sports/s                                              By Andrew Das and Tasneem
2022-06-15   2022-06-16 occer/qatar-world-cup-preparations.html     Qatar Offers a Glimpse of the Future         Alsultan                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/style/ni
2022-06-15   2022-06-16 ke-culture.html                             The Road to Winning Hearts and Feet          By Vanessa Friedman              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/style/w
2022-06-15   2022-06-16 ho-will-repair-their-birkins-now.html       Fixing What Others Carry                     By Geraldine Fabrikant           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/technol                                               By Ryan Mac and David
2022-06-15   2022-06-16 ogy/kraken-crypto-culture.html              Leader Fuels Culture War In Crypto           YaffeBellany                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/technol
                        ogy/personaltech/europe-universal-
2022-06-15   2022-06-16 charger.html                                EUs Rule on Chargers Means Big Changes       By Brian X Chen                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/theater/
                        downtown-stories-new-york-city-walking-
2022-06-15   2022-06-16 tour.html                                   This Troupe Makes All the City a Stage       By Rachel Sherman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/theater/ Shauneille Perry Ryder 92 Who Blazed A
2022-06-15   2022-06-16 shauneille-perry-ryder-dead.html            Path as She Told Black Stories Onstage       By Richard Sandomir              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/upshot/ Even Before Court Rules on Roe Some           By Claire Cain Miller and Margot
2022-06-15   2022-06-16 abortion-clinics-roe-wade.html              Clinics Have Ban in Place                    SangerKatz                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/us/polit Biden Makes Changes In White House Staff By Peter Baker and Michael D
2022-06-15   2022-06-16 ics/biden-keisha-lance-bottoms.html         As Midterms Approach                         Shear                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/us/polit Biden Signs Measure Intended to Counter
2022-06-15   2022-06-16 ics/biden-lgbtq-rights-executive-order.html Hateful Attacks on LGBTQ Rights              By Michael D Shear               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/us/polit FarRight Election Deniers Pressing Closer to By Reid J Epstein and Nick
2022-06-15   2022-06-16 ics/election-deniers-midterms.html          Controlling Votes                            Corasaniti                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/us/polit Within Work on Bipartisan Gun Legislation a
2022-06-15   2022-06-16 ics/gun-bill-democrats-republicans.html     Political Divide                             By Annie Karni                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/us/polit For Some Parents Wait For Shot Is Full of    By Sharon LaFraniere and Emily
2022-06-15   2022-06-16 ics/parents-covid-vaccine.html              Worry                                        Erdos                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/us/polit Court Tosses Bid to Defend A Trump Policy
2022-06-15   2022-06-16 ics/trump-immigration-biden-scotus.html     On Immigrants                                By Adam Liptak                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/us/trum Lawyer Is Said to Claim Justices Had Heated By Luke Broadwater and Maggie
2022-06-15   2022-06-16 p-emails-eastman-chesebro-jan-6.html        Fight Over Election                          Haberman                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/us/yello Flood Disaster At Yellowstone Is Just the    By Jim Robbins Thomas Fuller and
2022-06-15   2022-06-16 wstone-national-park-floods.html            Start                                        Christine Chung                  TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/15/world/a Facing Protests Ryanair Drops Passport Test
2022-06-15   2022-06-16 frica/ryanair-afrikaans-tests-south-africa.html In Afrikaans                           By Emma Bubola and John Eligon TX 9-179-521       2022-08-01

                        https://www.nytimes.com/2022/06/15/world/a Man Confesses to Killing 2 Missing in      By Jack Nicas Andr Spigariol and
2022-06-15   2022-06-16 mericas/brazil-journalist-activist-killings.html Amazon Police Say                    Ana Ionova                         TX 9-179-521    2022-08-01




                                                                                Page 3886 of 5793
                        https://www.nytimes.com/2022/06/15/world/a
                        mericas/rodolfo-hernandez-colombia-        A TikTok Star Vowing to Drain the Swamp       By Julie Turkewitz and Federico
2022-06-15   2022-06-16 election.html                              in Colombia                                   Rios                              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/15/world/a
                        sia/china-women-beaten-restaurant-         Brutal Beating of Women in China Fuels
2022-06-15   2022-06-16 video.html                                 Outrage and Clash of Opinions                 By Vivian Wang                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/world/c Extravagant Money Laundering Schemes          By Catherine Porter Vjosa Isai and
2022-06-15   2022-06-16 anada/canada-money-laundering.html         Exposed in Canada                             Tracy Sherlock                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/world/e
2022-06-15   2022-06-16 urope/biden-ukraine-weapons.html           US to Send 1 Billion More in Aid to Ukraine   By Steven Erlanger                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/15/world/e On Key Issues Johnson Puts Politics Above
2022-06-15   2022-06-16 urope/boris-johnson-ireland-rwanda.html    Law Critics Say                               By Mark Landler                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/15/world/e Monkeypox Is Real Risk To Europe Official
2022-06-15   2022-06-16 urope/monkeypox-outbreak-europe.html       Says                                          By Nick CummingBruce              TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/15/world/e Ruling Came With Flight To Rwanda Ready By Cora Engelbrecht and Stephen
2022-06-15   2022-06-16 urope/uk-rwanda-asylum-deportations.html to Go                                          Castle                         TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/15/world/e French and German Leaders Face Tense Kyiv By Matina StevisGridneff and
2022-06-15   2022-06-16 urope/ukraine-france-germany-scholz.html     Welcome                                    Katrin Bennhold                TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/15/world/
                        middleeast/israel-convicts-palestinian-aid-  Israel Convicts Aid Worker Of Giving Funds
2022-06-15   2022-06-16 worker.html                                  to Hamas                                   By Raja Abdulrahim             TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/16/us/polit
2022-06-15   2022-06-16 ics/anthony-fauci-covid-positive.html        Fauci Gets Positive Test For the Virus     By Sheryl Gay Stolberg         TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/16/us/polit Covid Vaccines Endorsed For Youngest        By Sharon LaFraniere and Noah
2022-06-15   2022-06-16 ics/covid-vaccines-fda-children.html         Americans                                  Weiland                        TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/16/us/polit Jan 6 Participant Toured Capitol With
2022-06-15   2022-06-16 ics/jan-6-loudermilk-tour.html               Congressman Before Attack Panel Says       By Luke Broadwater             TX 9-179-521        2022-08-01
                        https://www.nytimes.com/interactive/2022/06/
2022-06-15   2022-06-16 14/climate/congo-rainforest-logging.html     Raft by Raft a Rainforest Loses Its Trees  By Dionne Searcey              TX 9-179-521        2022-08-01
                        https://www.nytimes.com/live/2022/06/16/us/
                        jan-6-hearings/jan-6-confederate-flag-       Delaware Man Who Flew Flag Is Found
2022-06-15   2022-06-16 conviction                                   Guilty In Capitol Riot                     By Alan Feuer                  TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/tele
                        vision/bill-cosby-trial-closing-arguments-   Cosby Case Over Assault Of Teenager Goes By Graham Bowley Lauren Herstik
2022-06-16   2022-06-16 huth.html                                    to Jury                                    and Douglas Morino             TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/15/opinion Lets Have a New Gun Law for Independence
2022-06-16   2022-06-16 /gun-control-bill-senate.html                Day                                        By Gail Collins                TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/15/world/e                                              By Alex Traub Maham Javaid and
2022-06-16   2022-06-16 urope/americans-missing-ukraine.html         2 Veterans From US Are Missing In Ukraine Anushka Patil                   TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/16/insider/
2022-06-16   2022-06-16 infiltrating-a-bachelorette-party.html       Infiltrating a Bachelorette Party          By Allie Jones                 TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/16/sports/b
                        asketball/boston-celtics-golden-state-game-
2022-06-16   2022-06-16 6.html                                       Whats at Stake in Game 6 Merely Everything By Sopan Deb                   TX 9-179-521        2022-08-01



                                                                                Page 3887 of 5793
                        https://www.nytimes.com/2022/06/16/style/jo
2022-06-16   2022-06-16 hnny-depp-male-beauty-perception.html       The Privilege of Male Beauty                   By Rhonda Garelick     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/us/polit
                        ics/catherine-cortez-masto-adam-laxalt-     Vulnerable Democrat No Stranger to a Fight
2022-06-16   2022-06-16 nevada.html                                 Faces Another Contest                          By Jazmine Ulloa       TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/08/arts/des
2022-06-08   2022-06-17 ign/theatster-gates-serpentine-pavilion.html A Tribute in London To a Chicago Roofer       By Farah Nayeri        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/movies/
2022-06-09   2022-06-17 the-lost-girls-review-peter-pan.html         The Lost Girls                                By Lena Wilson         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/opinion
2022-06-12   2022-06-17 /strangers-talking-benefits.html             Strangers Are Good for Us                     By David Sax           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/movies/
2022-06-14   2022-06-17 lightyear-review.html                        Before Buzz Was a BestSelling Toy             By AO Scott            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/movies/
                        official-competition-review-antonio-
2022-06-14   2022-06-17 banderas.html                                Alchemy Achieved With a Bit Of Farce          By AO Scott            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/opinion
                        /beware-the-ruinous-optimism-of-democratic- The Democratic Gerontocracy Doesnt
2022-06-14   2022-06-17 leaders.html                                 Understand That the Nations on the Brink      By Jamelle Bouie       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/opinion
2022-06-14   2022-06-17 /hospital-covid-new-doctors.html             At the Hospital a New Kind of Normal          By Daniela J Lamas     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/des
                        ign/caribbean-asia-immigration-ford-         From the Trauma of Migration Springs
2022-06-15   2022-06-17 foundation-art.html                          Beauty                                        By Aruna DSouza        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/des In Dakar Hearing Africa Through All Its
2022-06-15   2022-06-17 ign/dakar-biennale.html                      Voices                                        By Siddhartha Mitter   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/du Duncan Hannah Artist Who Chronicled the
2022-06-15   2022-06-17 ncan-hannah-dead.html                        Wild 70s Dies at 69                           By Neil Genzlinger     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/tele
2022-06-15   2022-06-17 vision/tommy-shelby-peaky-blinders.html      The Redemption of a Traumatized Antihero      By OliviaAnne Cleary   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/busines
2022-06-15   2022-06-17 s/internet-explorer-shutting-down.html       Final Flicker For Explorer A Web Icon         By Michael Levenson    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/movies/
2022-06-15   2022-06-17 good-luck-to-you-leo-grande-review.html      Pleasure Principles Case of Nerves and All    By Lisa Kennedy        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/nyregio Even With Remote Work Analysis Predicts
2022-06-15   2022-06-17 n/nj-ny-commuters-traffic.html               Full Trains                                   By Patrick McGeehan    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/nyregio
                        n/ghislaine-maxwell-sentence-jeffrey-        Maxwell Files With Court For More Lenient
2022-06-16   2022-06-17 epstein.html                                 Sentence                                      By Benjamin Weiser     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/arts/dan
2022-06-16   2022-06-17 ce/paris-opera-aurelie-dupont.html           Another Director Departs Paris Opera Ballet   By Alex Marshall       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/arts/dan
2022-06-16   2022-06-17 ce/review-alvin-ailey-jamar-roberts.html     A Walk on the Noir Side of Love               By Gia Kourlas         TX 9-179-521   2022-08-01




                                                                                 Page 3888 of 5793
                        https://www.nytimes.com/2022/06/16/arts/dan
2022-06-16   2022-06-17 ce/review-paul-taylor-joyce-theater.html     Roads Not Taken and Lessons Learned           By Brian Seibert               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/arts/des
                        ign/duke-riley-artist-brooklyn-museum-
2022-06-16   2022-06-17 trash.html                                   Hed Like Polluters To Walk The Plank          By Melena Ryzik                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/arts/mu
2022-06-16   2022-06-17 sic/beyonce-renaissance-new-album.html       Beyonc Announces Her Next Solo Album          By Ben Sisario                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/arts/tele
2022-06-16   2022-06-17 vision/what-to-watch-weekend.html            This Weekend I Have                           By Alexis Soloski              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/books/
2022-06-16   2022-06-17 women-africa-sex-book.html                   A Sexual Revolution in Africa for All to Read By Abdi Latif Dahir            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/briefing
2022-06-16   2022-06-17 /gun-violence-shootings-chicago.html         In Some Areas Violence Is Constant            By German Lopez                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/busines
2022-06-16   2022-06-17 s/bank-of-england-interest-rates.html        Bank of England Raises Rates Again            By Eshe Nelson                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/busines Chinas Covid App Finds New Use Stifling
2022-06-16   2022-06-17 s/china-code-protesters.html                 Protest                                       By Joy Dong                    TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/16/busines BuzzFeed News Names A New Editor in
2022-06-16   2022-06-17 s/media/buzzfeed-karolina-waclawiak.html   Chief                                          By Katie Robertson              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/16/busines USA Today Removes 23 Articles After            By Benjamin Mullin and Katie
2022-06-16   2022-06-17 s/media/usa-today-fabricated-sources.html   Inquiry                                       Robertson                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/busines                                                By Lauren Hirsch and Julie
2022-06-16   2022-06-17 s/revlon-bankruptcy.html                    Bankruptcy For Revlon Once a GoTo             Creswell                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/busines As Stocks Plummet Wall Street Turns Focus      By Ben Casselman and Isabella
2022-06-16   2022-06-17 s/stocks-bonds-markets.html                 to Risk of Recession                          Simonetti                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/health/a
2022-06-16   2022-06-17 lzheimers-drug-crenezumab.html              Disappointing Results in Alzheimers Study     By Pam Belluck                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/movies/
2022-06-16   2022-06-17 a-man-of-integrity-review.html              A Man of Integrity                            By Devika Girish                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/movies/
2022-06-16   2022-06-17 bitterbrush-review.html                     Bitterbrush                                   By Nicolas Rapold               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/movies/
2022-06-16   2022-06-17 brian-and-charles-review.html               Brian and Charles                             By Amy Nicholson                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/movies/
2022-06-16   2022-06-17 cha-cha-real-smooth-review.html             A Dim Star at the Center of a Bland World     By Manohla Dargis               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/movies/
                        cocoon-review-the-very-hungry-
2022-06-16   2022-06-17 caterpillar.html                            Cocoon                                        By Teo Bugbee                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/movies/
2022-06-16   2022-06-17 father-of-the-bride-review.html             Father of the Bride                           By Concepcin de Len             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/movies/
2022-06-16   2022-06-17 jerry-marge-go-large-review.html            Jerry amp Marge Go Large                      By Natalia Winkelman            TX 9-179-521   2022-08-01




                                                                                  Page 3889 of 5793
                        https://www.nytimes.com/2022/06/16/movies/
2022-06-16   2022-06-17 mad-god-review.html                        Mad God                                   By Jeannette Catsoulis        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/movies/
2022-06-16   2022-06-17 my-fake-boyfriend-review.html              My Fake Boyfriend                         By Lena Wilson                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/movies/
2022-06-16   2022-06-17 poser-review-fade-into-you.html            Poser                                     By Jeannette Catsoulis        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/movies/
                        sing-dance-act-kabuki-toma-ikuta-          Sing Dance Act Kabuki Featuring Toma
2022-06-16   2022-06-17 review.html                                Ikuta                                     By Claire Shaffer             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/movies/ Experimenting With Free Will and the
2022-06-16   2022-06-17 spiderhead-review.html                     Cerebral                                  By Ben Kenigsberg             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/movies/
2022-06-16   2022-06-17 stay-prayed-up-review.html                 Stay Prayed Up                            By Glenn Kenny                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/nyregio As Monkeypox Spreads Health Officials Say
2022-06-16   2022-06-17 n/monkeypox-new-york.html                  Be Aware but Dont Panic                   By Sharon Otterman            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/nyregio Subway Rider Dies in Fall Onto Tracks In
2022-06-16   2022-06-17 n/nyc-subway-death.html                    Brooklyn                                  By Karen Zraick and Ana Ley   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/nyregio ExRanger Is Convicted Of Steering Into    By Hurubie Meko and Jonah E
2022-06-16   2022-06-17 n/sean-avery-trial-criminal-mischief.html  Minivan                                   Bromwich                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/nyregio Yeshiva University Must Recognize LGBTQ
2022-06-16   2022-06-17 n/yeshiva-univ-lgbtq-club.html             Group a Judge Decides                     By Liam Stack                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/16/opinion
2022-06-16   2022-06-17 /democrats-san-francisco-chesa-boudin.html San Francisco Voters Have Sent a Signal      By Gil Duran               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/opinion
2022-06-16   2022-06-17 /golf-saudi-arabia.html                     Sellout Culture Is a Problem For Pro Golf   By Paul Krugman            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/sports/g Big Names and Bigger Purses But No
2022-06-16   2022-06-17 olf/liv-golf-tv-deal.html                   Television Deal for LIV                     By Kevin Draper            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/technol
                        ogy/elon-musk-twitter-employees-
2022-06-16   2022-06-17 meeting.html                                Next Boss Musk Faces Twitter Staff          By Mike Isaac              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/16/technol                                              By Cade Metz and Daisuke
2022-06-16   2022-06-17 ogy/google-fellowship-of-friends-sect.html  A Sect Lands Google in a Lawsuit            Wakabayashi                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/theater/
                        big-mix-festival-little-island-pride-
2022-06-16   2022-06-17 juneteenth.html                             An American Celebration Times Three         By Elisabeth Vincentelli   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/theater/
2022-06-16   2022-06-17 la-mamas-mia-yoo.html                       La MaMa Abides As Its Style Shifts          By Elisabeth Vincentelli   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/us/flori Synagogue Files Lawsuit Claiming Ban on
2022-06-16   2022-06-17 da-abortion-law-judaism.html                Abortion Violates Religious Freedom         By Eliza Fawcett           TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/16/us/geor Businessman Is Acquitted Of Bribing
2022-06-16   2022-06-17 getown-admissions-scandal-acquitted.html   University                                   By Anemona Hartocollis     TX 9-179-521   2022-08-01




                                                                                 Page 3890 of 5793
                        https://www.nytimes.com/2022/06/16/us/polit Expecting Decision on Roe the White House
2022-06-16   2022-06-17 ics/biden-abortion-roe-v-wade.html            Weighs Executive Actions                    By Charlie Savage                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/us/polit Democrats Aid GOP Extremists Hoping to
2022-06-16   2022-06-17 ics/democrats-midterms-trump-gop.html         Beat Them in Fall                           By Jonathan Weisman               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/us/polit
2022-06-16   2022-06-17 ics/herschel-walker-children.html             Walker Acknowledges 2 More Children         By Maya King                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/us/polit DHS Plans New Reform After Report In The
2022-06-16   2022-06-17 ics/homeland-security-department.html         Times                                       By Chris Cameron                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/us/polit                                               By David E Sanger Julian E Barnes
2022-06-16   2022-06-17 ics/iran-nuclear-program-tehran.html          Iran Digging Tunnels Fans Nuclear Fears     and Ronen Bergman                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/us/polit Plans for Rally Included Diagram and a
2022-06-16   2022-06-17 ics/jan-6-gallows.html                        Manual For Erecting a Gallows               By Catie Edmondson                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/us/polit In New Hampshire District Watching Jan 6
2022-06-16   2022-06-17 ics/jan6-hearings-voter-reactions.html        Hearing Depends on Party                    By Trip Gabriel                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/us/polit
2022-06-16   2022-06-17 ics/mitt-romney-covid-aid-whitehouse.html White House Is Accused of Deception             By Sheryl Gay Stolberg            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/us/polit                                               By Annie Karni and Maggie
2022-06-16   2022-06-17 ics/pence-trump-jan-6.html                    Rioters Were 40 Feet From Their Target      Haberman                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/us/soni Sotomayor Says the Court Can Regain the
2022-06-16   2022-06-17 a-sotomayor-supreme-court.html                Publics Confidence                          By Adam Liptak                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/us/trum Trump Pressured Pence and Incited a Mob        By Luke Broadwater and Michael S
2022-06-16   2022-06-17 p-pence-election-jan-6.html                   Against Him                                 Schmidt                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/us/vinc
2022-06-16   2022-06-17 ent-chin-anti-asian-attack-detroit.html       Its Absolutely Worse Now                    By Mitch Smith                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/us/yello With Yellowstone Closed Tourist Towns Are
2022-06-16   2022-06-17 wstone-floods-summer.html                     Worried                                     By Jim Robbins                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/world/e
                        urope/a-desperate-flight-to-a-better-life-at- At Lvivs Train Station Fleeing for a Better
2022-06-16   2022-06-17 lvivs-train-station.html                      Life                                        By Megan Specia                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/world/e In Ukraine a Minority Group Harbors            By Erika Solomon and Diego Ibarra
2022-06-16   2022-06-17 urope/ethnic-hungarians-ukraine-war.html      Ambivalence About the War                   Sanchez                           TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/16/world/e As European Leaders Visit Kyiv Putin           By Katrin Bennhold and Melissa
2022-06-16   2022-06-17 urope/russia-gas-cuts-ukraine-germany.html Strategically Cuts Gas Supply                  Eddy                           TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/16/world/e
                        urope/ukraine-eu-macron-scholz-             Europe Extends Kyiv an Invitation but Few By Andrew E Kramer and Michael
2022-06-16   2022-06-17 zelensky.html                               Arms                                          Levenson                       TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/16/world/e France and Germany Stand With Ukraine and
2022-06-16   2022-06-17 urope/zelensky-macron-sholz-ukraine.html    Diplomacy With Russia Can Wait                By Roger Cohen                 TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/16/world/
                        middleeast/tunisia-union-strike-kais-       Major Strike in Tunisia Challenges Presidents
2022-06-16   2022-06-17 saied.html                                  Push for OneMan Rule                          By Vivian Yee                  TX 9-179-521      2022-08-01
                        https://www.nytimes.com/live/2022/06/16/bus
                        iness/economy-news-fed-rates/mcdonalds-tax-
2022-06-16   2022-06-17 evasion-france                              McDonalds to Settle Tax Case for 13 Billion By Liz Alderman                  TX 9-179-521      2022-08-01



                                                                                Page 3891 of 5793
                        https://www.nytimes.com/live/2022/06/16/spo
                        rts/world-cup-2026-host-cities-fifa/fifa-lays-
                        out-its-blueprint-for-a-sprawling-2026-world- FIFA Reveals 16 Host Sites For 2026 Cup
2022-06-16   2022-06-17 cup                                            With 11 in US                              By Andrew Das and James Wagner TX 9-179-521      2022-08-01
                        https://www.nytimes.com/live/2022/06/16/us/
                        jan-6-hearings/ginni-thomas-emails-john-       Trump Lawyer Dismisses Emails With
2022-06-16   2022-06-17 eastman                                        Justices Wife as Innocuous                 By Danny Hakim                 TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/16/nyregio
                        n/governor-debate-suozzi-williams-             Hochul and Rivals Debate Crime Housing and
2022-06-17   2022-06-17 hochul.html                                    Bagels                                     By Nicholas Fandos             TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/16/sports/b
                        asketball/golden-state-wins-nba-
2022-06-17   2022-06-17 championship.html                              A Dynasty Reborn                           By Tania Ganguli               TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/16/sports/g Despite a Split on Tour Everyone Is Well
2022-06-17   2022-06-17 olf/us-open-liv-mickelson.html                 Behaved                                    By Bill Pennington             TX 9-179-521      2022-08-01

                        https://www.nytimes.com/2022/06/16/theater/
2022-06-17   2022-06-17 review-the-orchard-arlekin-baryshnikov.html Where Its Hard to See the Forest for the Trees By Laura CollinsHughes           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/insider/
2022-06-17   2022-06-17 reflecting-on-a-deep-investigation.html      Reflecting on a Deep Investigation            By Emmett Lindner                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/sports/h
2022-06-17   2022-06-17 ockey/makar-avalanche-stanley-cup.html       Skating Circles Around the NHLs Best          By David Waldstein               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/us/polit Definition of Romantic Partner Is a Stumbling By Emily Cochrane and Stephanie
2022-06-17   2022-06-17 ics/senate-guns-boyfriend-loophole.html      Block in GunLaw Talks                         Lai                              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/dan
2022-06-15   2022-06-18 ce/brontez-purnell-dance.html                Brontez Purnell Reignited                     By Juan A Ramrez                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/opinion
2022-06-15   2022-06-18 /roe-pregnancy.html                          Pregnancy Can Affect the Body for a Lifetime By Jessica Grose                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/theater/
2022-06-15   2022-06-18 review-queen.html                            Heady Drama That Aims to Sting                By Naveen Kumar                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/us/daca-
2022-06-15   2022-06-18 dreamers-immigration-reform.html             A Decade After Daca                           By Miriam Jordan                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/arts/tele
                        vision/the-old-man-jeff-bridges-john-
2022-06-16   2022-06-18 lithgow.html                                  The Old Man And an Existential Journey       By Austin Considine              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/climate Study Shows Polar Bears Can Survive in
2022-06-16   2022-06-18 /climate-change-polar-bears.html             Coastal Areas of Little Sea Ice               By Henry Fountain                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/opinion Crypto Houses Sneakers Rolexes How FOMO
2022-06-16   2022-06-18 /crypto-rolexes-fomo-economy.html            Drove the Economy                             By Farhad Manjoo                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/opinion Something Extraordinary Is Happening in
2022-06-16   2022-06-18 /france-elections-melenchon-macron.html      France                                        By Cole Stangler                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/opinion
2022-06-16   2022-06-18 /my-father-the-critic.html                   Are Middling Dads the Best Ones               By Ada Calhoun                   TX 9-179-521   2022-08-01




                                                                                Page 3892 of 5793
                        https://www.nytimes.com/2022/06/16/world/a Hong Kong Was Never a Colony Textbooks
2022-06-16   2022-06-18 sia/hong-kong-textbooks-british-colony.html Say                                         By Tiffany May                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/world/e A Legally Assisted Suicide Is the First to
2022-06-16   2022-06-18 urope/italy-assisted-suicide.html           Occur in Italy                              By Elisabetta Povoledo            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/world/e
                        urope/lysychansk-sievierodonetsk-ukraine-   On Outskirts Of Twin City Victim Count      By Thomas GibbonsNeff and
2022-06-16   2022-06-18 civilian-deaths.html                        Keeps Rising                                Natalia Yermak                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/arts/mu Drake Releases Studio LP Dedicated to Virgil
2022-06-17   2022-06-18 sic/drake-honestly-nevermind.html           Abloh                                       By Ben Sisario                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/arts/mu
                        sic/new-york-philharmonic-gary-ginstling-
2022-06-17   2022-06-18 new-director.html                           The Philharmonic Enters a New Era           By Javier C Hernndez              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/17/arts/mu
2022-06-17   2022-06-18 sic/review-metropolitan-opera-orchestra.html Met Opera Orchestra Shows Its Force       By Oussama Zahr                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/arts/tim-
2022-06-17   2022-06-18 sale-dead.html                               Tim Sale 66 an Artist and Storyteller     By George Gene Gustines            TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/17/busines Vaccine and Fisheries Deals Close WTO
2022-06-17   2022-06-18 s/economy/wto-covid-patents-fisheries.html Meeting                                     By Ana Swanson                     TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/17/busines Testy First Year for Washington Posts New By Katie Robertson and Benjamin
2022-06-17   2022-06-18 s/media/sally-buzbee-washington-post.html Leader                                         Mullin                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/busines                                               By Melina Delkic Jason Karaian
2022-06-17   2022-06-18 s/stock-market.html                         Markets Have Worst Week Since 2020           and Isabella Simonetti           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/health/c
2022-06-17   2022-06-18 ovid-immunity-children.html                 Scientists Say Tests Delayed Childrens Shots By Apoorva Mandavilli            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/movies/
2022-06-17   2022-06-18 horror-film-nyc-moma.html                   Film Series Prepare To Get Really Scary      By Erik Piepenburg               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/movies/ JeanLouis Trintignant Star of Celebrated
2022-06-17   2022-06-18 jean-louis-trintignant-dead.html            European Films Dies at 91                    By Jonathan Kandell              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/nyregio New Bill Inflames Debate Over Parks
2022-06-17   2022-06-18 n/liberty-state-park-nj.html                Development                                  By Tracey Tully                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/nyregio Estimate of Citys Homeless Requires a         By Chelsia Rose Marcius Andy
2022-06-17   2022-06-18 n/new-york-city-homeless-count.html         Massive Caveat                               Newman and Ana Ley               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/nyregio Inoculating the Young at Doctors Offices and
2022-06-17   2022-06-18 n/nyc-kids-vaccines.html                    Vaccine Hubs                                 By Emma G Fitzsimmons            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/science A Gull Flaps Its Wings and a Deadly Virus
2022-06-17   2022-06-18 /avian-flu-birds.html                       Explodes                                     By Jim Robbins                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/sports/b
                        asketball/jayson-tatum-boston-celtics-nba-  Its a Terrible Feeling Tatum Knows He
2022-06-17   2022-06-18 finals.html                                 Missed His Moment in the Finals              By Tania Ganguli                 TX 9-179-521   2022-08-01




                                                                                  Page 3893 of 5793
                        https://www.nytimes.com/2022/06/17/sports/b
                        asketball/stephen-curry-nba-finals-golden-
2022-06-17   2022-06-18 state.html                                  Need Proof Here It Is                     By Scott Cacciola                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/sports/g Steady Morikawa Surges During a Weird and
2022-06-17   2022-06-18 olf/us-open-daffue-morikawa.html            Wild Second Round                         By Bill Pennington                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/sports/g An Exclusive Reward The Country Clubs
2022-06-17   2022-06-18 olf/us-open-fernando-cocktail.html          Signature Cocktail                        By Paul Sullivan                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/sports/o
                        lympics/ariarne-titmus-katie-ledecky-
2022-06-17   2022-06-18 swimming-worlds.html                        A Reigning Champion Will Skip the Worlds By Kieran Pender                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/sports/t Grand Slam Nadal Hopes He Can Play
2022-06-17   2022-06-18 ennis/nadal-wimbledon-grand-slam.html       Wimbledon                                 By Christopher Clarey             TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/17/technol SpaceX Fires Some Involved in AntiMusk
2022-06-17   2022-06-18 ogy/spacex-employees-fired-musk-letter.html Letter                                     By Ryan Mac                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/technol Relied On to Stabilize Crypto Company Is
2022-06-17   2022-06-18 ogy/tether-stablecoin-cryptocurrency.html   Facing Own Risks                           By David YaffeBellany            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/theater/
2022-06-17   2022-06-18 deirdre-oconnell-tony-awards.html            Win a Tony Then Return To Work            By Alexis Soloski                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/us/benn Why a Committee Chief Wants Justice to      By Richard Fausset and Luke
2022-06-17   2022-06-18 ie-thompson-jan-6-committee.html            Prevail                                    Broadwater                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/us/polit
                        ics/colorado-secretary-of-state-election-   Nebraska Man Pleads Guilty To Threatening
2022-06-17   2022-06-18 threat.html                                 Public Official                            By Neil Vigdor                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/us/polit After Report of Imperiled Pence Trump
2022-06-17   2022-06-18 ics/donald-trump-pence-jan-6.html           Attacks Him Again                          By Maggie Haberman               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/us/polit In 1970s a Reckoning Today Its a Different
2022-06-17   2022-06-18 ics/election-trump-republicans-jan-6.html   Story                                      By Jonathan Weisman              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/us/polit FDA Authorizes Pfizer And Moderna          By Sharon LaFraniere Noah
2022-06-17   2022-06-18 ics/pfizer-moderna-vaccines-kids-fda.html   Vaccines For Youngest Children             Weiland and Apoorva Mandavilli   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/us/polit With Funds Stalled Chip Makers Warn The By Catie Edmondson and Ana
2022-06-17   2022-06-18 ics/semiconductors-congress-chips.html      US Is Lagging                              Swanson                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/us/trum Police Error Was Basis Of Subpoena For
2022-06-17   2022-06-18 p-subpoena-twitter-devin-nunes.html         Twitter                                    By Charlie Savage                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/us/uval Uvalde Officer Saw Gunman but Couldnt
2022-06-17   2022-06-18 de-shooting-gunman-police.html              Take a Shot                                By J David Goodman               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/us/wate During Watergate Truth Was Never Up for
2022-06-17   2022-06-18 rgate-jan-6.html                            Debate                                     By Robert Draper                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/world/a
                        mericas/colombia-election-castillo-         A Colombian Vote Certain To Have a
2022-06-17   2022-06-18 hernandez.html                              Historic Result                            By Genevieve Glatsky             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/world/a
2022-06-17   2022-06-18 sia/bts-hiatus-economy-kpop.html            BTSs Break May Roil South Korea Economy By Jin Yu Young                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/world/a China Raises Naval Aims With 3rd Aircraft
2022-06-17   2022-06-18 sia/china-aircraft-carrier.html             Carrier                                    By Alexandra Stevenson           TX 9-179-521   2022-08-01



                                                                               Page 3894 of 5793
                        https://www.nytimes.com/2022/06/17/world/a Outrage in India Over Plan That Narrows the By Karan Deep Singh and Hari
2022-06-17   2022-06-18 sia/india-military-recruiting-protest.html       Path to a Military Career                  Kumar                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/world/a Imagining a Japan Where Life Ends
2022-06-17   2022-06-18 sia/japan-plan75-hayakawa-chie.html              Voluntarily at 75                          By Motoko Rich                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/world/a
                        sia/nguy-thi-khanh-environmental-activist-       After Calling Her an Environmental Hero
2022-06-17   2022-06-18 arrested.html                                    Vietnam Imprisons a CleanEnergy Activist   By SuiLee Wee                    TX 9-179-521   2022-08-01
                                                                         Starved for Fuel and Mired in Economic
                        https://www.nytimes.com/2022/06/17/world/a Crisis Sri Lanka Orders Employees to Work By Skandha Gunasekara and Mujib
2022-06-17   2022-06-18 sia/sri-lanka-fuel-crisis.html                   From Home                                  Mashal                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/world/e
                        urope/bakari-henderson-death-greece-             Greece Refuses to Toughen Convictions in
2022-06-17   2022-06-18 retrial.html                                     Killing of an American                     By Niki Kitsantonis              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/world/e
                        urope/macchiarini-windpipe-surgeon-              Surgeon Whose Bioartificial Organ Made     By Euan Ward and Christina
2022-06-17   2022-06-18 deaths.html                                      Him a Star Loses a Court Ruling in Sweden Anderson                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/world/e Defiant Putin Says Russia Will Thrive            By Anton Troianovski Andrew E
2022-06-17   2022-06-18 urope/putin-russia-economy-ukraine.html          Without West                               Kramer and Michael Levenson      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/world/e                                                  By Thomas GibbonsNeff Natalia
2022-06-17   2022-06-18 urope/ukraine-russia-propaganda.html             Kremlin Propaganda Softens Up Targets      Yermak and Tyler Hicks           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/your-
2022-06-17   2022-06-18 money/tax-free-shopping-state-holiday.html An Expanded Summer Holiday From Taxes By Ann Carrns                               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/us/polit Committee Says It Could Start Sharing           By Glenn Thrush and Luke
2022-06-17   2022-06-18 ics/jan-6-committee-transcripts.html             Transcripts With Justice Dept Next Month   Broadwater                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/arts/bill-Jury in Cosby Assault Case Says It Is Close to By Graham Bowley Lauren Herstik
2022-06-18   2022-06-18 cosby-sex-assault-verdict.html                   a Verdict                                  and Catherine Garcia             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/health/ Uterine Cancer Rapidly Rising Especially
2022-06-18   2022-06-18 uterine-cancer-black-women.html                  Among Black Women                          By Roni Caryn Rabin              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/nyregio Officials Blame a Sickout For NJ Transit         By Hurubie Meko and Chelsia Rose
2022-06-18   2022-06-18 n/new-jersey-transit-strike.html                 Shutdown                                   Marcius                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/your-
2022-06-18   2022-06-18 money/esg-investing-stocks-elon-musk.html How to See ESG Funds As Stocks Fall               By Ron Lieber                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/04/04/books/r
                        eview/lauren-rankin-bodies-on-the-line-at-the-
                        front-lines-of-the-fight-to-protect-abortion-in-
2022-04-04   2022-06-19 america.html                                     Human Shield                               By Christina Cauterucci          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/04/19/books/r
                        eview/ambitious-like-a-mother-lara-
2022-04-19   2022-06-19 bazelon.html                                     Get to Work                                By Lisa Belkin                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/04/19/books/r
2022-04-19   2022-06-19 eview/matthew-continetti-the-right.html          Conservatisms Uncertain Future             By Jonathan Rauch                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/04/30/books/r
2022-04-30   2022-06-19 eview/colin-barrett-homesickness.html            The Village People                         By Stuart Dybek                  TX 9-179-521   2022-08-01




                                                                                 Page 3895 of 5793
                        https://www.nytimes.com/2022/05/03/books/r
2022-05-03   2022-06-19 eview/gerald-murnane-last-letter-reader.html Roving Eye Gerald Murnane Signs Off     By Dustin Illingworth   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/10/books/r
2022-05-10   2022-06-19 eview/ken-kalfus-2am-little-america.html       No Home to Roost                      By Hctor Tobar          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/16/books/r
                        eview/two-nostalgic-fiercely-feminist-graphic-
2022-05-16   2022-06-19 novels.html                                    Blasts From the Past                  By Etelka Lehoczky      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/17/books/r
                        eview/his-name-is-george-floyd-robert-
2022-05-17   2022-06-19 samuels-toluse-olorunnipa.html                 Who Was George Floyd                  By Peniel E Joseph      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/24/books/r
                        eview/-uncollected-essays-of-elizabeth-
2022-05-24   2022-06-19 hardwick.html                                  Essay Questions                       By Katie Roiphe         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/books/r
2022-06-04   2022-06-19 eview/sloane-crosley-cult-classic.html         The Ex Files                          By Scaachi Koul         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/04/books/r
                        eview/the-summer-friend-charles-
2022-06-04   2022-06-19 mcgrath.html                                   Long Days Short Life                  By Tom Perrotta         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/books/r
                        eview/i-cried-to-dream-again-sara-cruzan-cori-
                        thomas-what-my-bones-know-stephanie-foo-
2022-06-08   2022-06-19 youve-changed-pyae-moe-thet-war.html           Memoirs                               By Nadia Owusu          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/books/r
2022-06-08   2022-06-19 eview/under-the-skin-linda-villarosa.html      The Roots of Black Pain in America    By Kaitlyn Greenidge    TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/09/books/r
2022-06-09   2022-06-19 eview/two-nights-in-lisbon-chris-pavone.html Inside the List                           By Elisabeth Egan     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/books/r
                        eview/audiobooks-terry-pratchett-small-gods-
                        seamas-oreilly-did-ye-hear-mammy-died-pig-
2022-06-11   2022-06-19 years-ellyn-gaydos.html                      The Pleasure of Being Read To             By Sebastian Modak    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/arts/mu
2022-06-12   2022-06-19 sic/met-opera-season-pandemic.html           At the Met Opera Was a Bonus              By Zachary Woolfe     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/12/books/r
                        eview/the-men-sandra-newman-when-women-
2022-06-12   2022-06-19 were-dragons-kelly-barnhill.html             Whats a Woman to Do                       By Naomi Alderman     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/nyregio
                        n/brooklyn-queens-expressway-construction- As the BQE Crumbles Theres Still No Plan to
2022-06-13   2022-06-19 plan.html                                    Fix It                                    By Winnie Hu          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/interactive/2022/06/
2022-06-13   2022-06-19 13/magazine/tom-hanks-interview.html         Tom Hanks Explains It All                 By David Marchese     TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/14/arts/dan
2022-06-14   2022-06-19 ce/alexei-ratmansky-of-love-and-rage.html   Epic Ballet Amid a Changed World         By Marina Harss         TX 9-179-521   2022-08-01



                                                                                Page 3896 of 5793
                        https://www.nytimes.com/2022/06/14/books/r
2022-06-14   2022-06-19 eview/jackie-and-me-louis-bayard.html       Jackie amp Me by Louis Bayard               By Elisabeth Egan                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/magazi
2022-06-14   2022-06-19 ne/bosnia-genocide-pyramids.html            Bosnia on the Brink                         By Joshua Hammer                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/magazi
2022-06-14   2022-06-19 ne/deceased-son-gun-ethics.html             What Should I Do With My Late Sons Gun By Kwame Anthony Appiah                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/magazi
2022-06-14   2022-06-19 ne/horror-movie-friends.html                Horror Friends                              By Adrienne Celt                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/magazi How to Wash Your Hair in Space Illustration
2022-06-14   2022-06-19 ne/wash-your-hair-in-space.html             by Radio                                    By Malia Wollan                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/movies/ David Morse Doesnt Mind a Road Trip or
2022-06-14   2022-06-19 david-morse-favorite-things.html            Two                                         By Kathryn Shattuck               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/opinion
                        /conservatism-federalist-society-                                                       By Sohrab Ahmari Patrick Deneen
2022-06-14   2022-06-19 populists.html                              CorporateFriendly Courts Were the Real Plan and Chad Pecknold                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/opinion
2022-06-14   2022-06-19 /future-criminal-case-against-trump.html    The Criminal Case Coming for Trump          By Neal K Katyal                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/realesta
2022-06-14   2022-06-19 te/northern-california-redesign.html        Forging a New Look for an Ironworks Loft    By Tim McKeough                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/style/ba What Makes a Bathing Suit So Expensive to
2022-06-14   2022-06-19 thing-suits-construction-price.html         Produce                                     By Jessica Testa                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/t-
2022-06-14   2022-06-19 magazine/hermes-exhibit-detroit.html        Craftsmanship By Herms                      By Max Berlinger                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/mu
2022-06-15   2022-06-19 sic/luke-combs-growing-up.html              Hes Gone Platinum Hen House Included        By David Peisner                  TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/15/magazi
2022-06-15   2022-06-19 ne/acromegaly-pituitary-tumor-diagnosis.html What If This Wasnt Menopause After All       By Lisa Sanders MD              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/magazi
                        ne/cream-soda-raspberry-cupcakes-            Small Wonders These creamsodaandraspberry
2022-06-15   2022-06-19 recipe.html                                  cupcakes are pieces of childhood magic       By Yotam Ottolenghi             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/magazi
2022-06-15   2022-06-19 ne/gender-therapy.html                       The Battle Over Gender Therapy               By Emily Bazelon                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/magazi
2022-06-15   2022-06-19 ne/livestream-buffalo-massacre-guns.html     Fire Power                                   By Stephen Kearse               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/opinion
2022-06-15   2022-06-19 /bimbo-tiktok-feminism.html                  Meet the SelfDescribed Bimbos of TikTok      By Sophie Haigney               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/opinion
2022-06-15   2022-06-19 /sunday/raphael-warnock-father.html          My Dad Walked With God                       By Raphael Warnock              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/realesta
                        te/chappaqua-ny-a-westchester-hamlet-thats- Its Not CookieCutter Variety in a Westchester
2022-06-15   2022-06-19 not-cookie-cutter.html                       Hamlet                                       By Anne Mancuso                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/realesta Walk Out of the Starter Castle and Into
2022-06-15   2022-06-19 te/england-house-hunting.html                Heaven                                       By Marcelle Sussman Fischler    TX 9-179-521   2022-08-01




                                                                                 Page 3897 of 5793
                        https://www.nytimes.com/2022/06/15/realesta
                        te/yes-you-can-do-better-than-the-great-
2022-06-15   2022-06-19 american-lawn.html                          Outdoor Splendor Without the Grass      By Margaret Roach                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/15/theater/
2022-06-15   2022-06-19 corsicana-will-arbery-down-syndrome.html A Play About Down Syndrome Yes and No      By Jennifer Schuessler            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/arts/des
2022-06-16   2022-06-19 ign/rose-b-simpson-clay-sculpture.html      I Think in Clay a Native Artist Says    By Jori Finkel                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/educati Dorothy E Smith 95 Scholar Who Led
2022-06-16   2022-06-19 on/dorothy-e-smith-dead.html                Sociology Away From Male Dominance      By Clay Risen                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/magazi
2022-06-16   2022-06-19 ne/cannupa-hanska-luger-profile.html        Early In His Career                     By Joshua Hunt                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/magazi
                        ne/judge-john-hodgman-on-saving-baby-
2022-06-16   2022-06-19 teeth.html                                  Bonus Advice From Judge John Hodgman    By John Hodgman                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/magazi                                           By Kiki Petrosino and Victoria
2022-06-16   2022-06-19 ne/poem-monticello-house-tour.html          Poem Monticello House Tour              Chang                             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/nyregio                                          By Jonah E Bromwich and John
2022-06-16   2022-06-19 n/kidd-creole-nathaniel-glover.html         Over the Edge The Fall of Kidd Creole   Leland                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/opinion
2022-06-16   2022-06-19 /crypto-terra-luna-blockchain.html          Cryptos Crashes Wont Kill Blockchain    By Maria Bustillos                TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/16/opinion
2022-06-16   2022-06-19 /gloria-steinem-ms-magazine-feminism.html Looking Back at Ms Age 50                          By Jessica Bennett       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/realesta Homes for Sale in New Jersey and on Long By Claudia Gryvatz Copquin and
2022-06-16   2022-06-19 te/housing-market-near-nyc.html                 Island                                       Jill P Capuzzo           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/realesta
2022-06-16   2022-06-19 te/housing-market-nyc.html                      Homes for Sale in New York City              By C J Hughes            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/realesta
2022-06-16   2022-06-19 te/top-cities-dog-owners.html                   Many People Move to Please Their Pet         By Gregory Schmidt       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/style/ba
2022-06-16   2022-06-19 seball-gender-social-qs.html                    Of Sports and Gender                         By Philip Galanes        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/busines
2022-06-16   2022-06-19 s/bear-markets-recession-stocks.html            Bear Markets Visit as Often as Severe Storms By Jeff Sommer           TX 9-179-521   2022-08-01
                                                                        Heading North to Upper Manhattan or the
                        https://www.nytimes.com/interactive/2022/06/ Bronx With 400000 Guess Which Apartment
2022-06-16   2022-06-19 16/realestate/16hunt-plummer.html               They Chose                                   By Joyce Cohen           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/arts/joe
                        l-whitburn-tireless-researcher-of-music-charts- Joel Whitburn 82 A Tireless Researcher Of
2022-06-17   2022-06-19 dies-at-82.html                                 Music Charts Dies                            By Richard Sandomir      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/arts/tele
2022-06-17   2022-06-19 vision/erin-doherty-chloe.html                  From Royalty To Lying Grifter                By Simran Hans           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/books/r
                        eview/golden-ticket-kate-egan-in-the-key-of- Young Gifted and Searching for a Sense of
2022-06-17   2022-06-19 us-mariama-j-lockington.html                    Self                                         By Natalie Standiford    TX 9-179-521   2022-08-01



                                                                                Page 3898 of 5793
                        https://www.nytimes.com/2022/06/17/books/r
2022-06-17   2022-06-19 eview/new-paperbacks.html                  Paperback Row                               By Miguel Salazar               TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/17/busines                                               By Jeanna Smialek and Ben
2022-06-17   2022-06-19 s/economy/inflation-economy-recession.html Brace Yourself For the Drop                   Casselman                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/busines                                               By Julia Rothman and Shaina
2022-06-17   2022-06-19 s/ready-player-two-or-three.html             Ready Player Two or Three                   Feinberg                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/busines How Much Should Founders Carve Out for
2022-06-17   2022-06-19 s/startups-founders-pay.html                 Themselves                                  By Lora Kelley                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/climate
2022-06-17   2022-06-19 /peecycling-farming-urine-fertilizer.html    Meet the Peecyclers                         By Catrin Einhorn             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/movies/
2022-06-17   2022-06-19 cooper-raiff-cha-cha-real-smooth.html        The Reluctant Director                      By Carlos Aguilar             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/nyregio
2022-06-17   2022-06-19 n/high-school-admissions-nyc.html            The Power and Fury of Aggrieved Parents     By Ginia Bellafante           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/nyregio
2022-06-17   2022-06-19 n/nancy-chemtob-celebrity-divorce.html       On Off Days No Irreconcilable Differences By Tammy La Gorce               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/nyregio Its the Place to Be Unless You Really Need to
2022-06-17   2022-06-19 n/public-bathrooms-nyc-tiktok.html           Go                                          By Emma Grillo                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/opinion
2022-06-17   2022-06-19 /ginni-thomas-john-eastman.html              Ginni Thomas Has a Lot of Explaining to Do By Jamelle Bouie               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/opinion
2022-06-17   2022-06-19 /roe-dobbs-abortion-feminism.html            The Future Isnt Female Anymore              By Michelle Goldberg          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/realesta
2022-06-17   2022-06-19 te/backyard-living-room-pool-rental.html     Making Money in Your Own Backyard           By Ronda Kaysen               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/realesta
2022-06-17   2022-06-19 te/insurance-dog-breed-exclusions.html       A Costly Reputation                         By Jane Gottlieb              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/sports/b
2022-06-17   2022-06-19 aseball/alcantara-lopez-marlins.html         Teammates Bond in Grief and Baseball        By Tyler Kepner               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/sports/s Big Signings Raise a Question Where Have
2022-06-17   2022-06-19 occer/erling-haaland-darwin-nunez.html       All the Strikers Gone                       By Rory Smith                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/style/de
2022-06-17   2022-06-19 an-dafis-george-forbes-wedding.html          Actually There Was Plenty of Time for Lunch By Emma Grillo                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/style/dy                                              By Anna Furman and Michelle
2022-06-17   2022-06-19 ke-day-los-angeles-pride.html                Not Your Average Pride Event                Groskopf                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/style/eli
                        zabeth-moroney-jeremy-blaustein-
2022-06-17   2022-06-19 wedding.html                                 Finally Finding Their Way to Love           By Tammy La Gorce             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/style/e At the Union of Activists a Cause for
2022-06-17   2022-06-19 mily-mayer-waleed-shahid-wedding.html        Celebration                                 By Alix Wall                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/style/ju
2022-06-17   2022-06-19 lie-hagenbuch-eddy-noguera-wedding.html They Were Forever Running Into Each Other By Kristen Bayrakdarian              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/style/ju Pandering with Party Supplies The
2022-06-17   2022-06-19 neteenth-party-supplies.html                 Juneteenth Gold Rush                        By Sandra E Garcia            TX 9-179-521   2022-08-01




                                                                               Page 3899 of 5793
                        https://www.nytimes.com/2022/06/17/style/mi
2022-06-17   2022-06-19 nnie-driver-memoir.html                     A Spirit Buffeted but Not Dampened           By Alexis Soloski                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/style/m
2022-06-17   2022-06-19 odern-love-fathers-day-cancer-texting.html  A Texting Lifeline During a Difficult Time   By Tatiana JacksonSaitz           TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/17/style/pa
2022-06-17   2022-06-19 ige-rechtman-kung-gene-chu-wedding.html For Two Foodies It Was Love at First Bite        By Judy Mandell                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/style/ra When Their Eyes Met It Was No Time for
2022-06-17   2022-06-19 chael-cruthirds-sanjay-amin-wedding.html    Talking                                      By Jenny Block                    TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/17/style/ra
2022-06-17   2022-06-19 hanna-bisseret-martinez-top-chef-junior.html Beyond Reality TV                           By Mia Adorante                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/us/colo Father Accuses Officers of Using Excessive
2022-06-17   2022-06-19 rado-loveland-police-lawsuit.html            Force in Daughters Arrest in Colorado       By Eduardo Medina                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/17/technol ExEngineer For Amazon Is Convicted Of
2022-06-18   2022-06-19 ogy/paige-thompson-capital-one-hack.html    Hacking                                     By Kate Conger                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/health/c As Vaccines Arrive for the Youngest Parents
2022-06-18   2022-06-19 ovid-vaccines-children.html                 Are Put on the Spot                         By Apoorva Mandavilli              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/18/nyregio In Sweepstakes 15 Democrats Swarm a New       By Dana Rubinstein and Nicholas
2022-06-18   2022-06-19 n/de-blasio-mondaire-jones-house-race.html York House Race                               Fandos                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/opinion
2022-06-18   2022-06-19 /fathers-day.html                          Good Color to the End                         By Michael Bamberger and Lee Lai TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/opinion
2022-06-18   2022-06-19 /how-to-celebrate-juneteenth.html          How to Celebrate Juneteenth                   By Charles M Blow                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/18/opinion The World Has a Choice Work Together or
2022-06-18   2022-06-19 /inflation-global-food-shortage-ukraine.html Fall Apart                                  By The Editorial Board            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/opinion
2022-06-18   2022-06-19 /mike-pence-trump-jan-6.html                 Hence Mike Pence                            By Maureen Dowd                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/opinion
2022-06-18   2022-06-19 /top-gun-maverick-northman-movies.html       Could These Movies Save the Movies          By Ross Douthat                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/realesta
2022-06-18   2022-06-19 te/downton-shabby-english-castle.html        A Commoner Takes On a Castle                By Joanne Kaufman                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/18/realesta The Vacant Unit Upstairs Is Perfect For a
2022-06-18   2022-06-19 te/housing-home-aide-job-benefit-risk.html Home Health Aide Or Is It                  By Ronda Kaysen                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/sports/g Newly Married Koepka Tries to Bounce Back
2022-06-18   2022-06-19 olf/brooks-koepka-us-open-liv.html          at His Favorite Tournament                By Peter May                         TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/18/sports/t
2022-06-18   2022-06-19 ennis/naomi-osaka-wimbledon-withdraw.html Osaka Skips Wimbledon Citing Leg Injury        By Christopher Clarey             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/style/ba
2022-06-18   2022-06-19 thing-suit-shopping.html                    Swim Seasons Existential Crossroads          By Stella Bugbee and Indya Brown TX 9-179-521    2022-08-01



                                                                                 Page 3900 of 5793
                        https://www.nytimes.com/2022/06/18/style/le
2022-06-18   2022-06-19 monade-stands-pandemic.html                 Lemonade Stands Return With Zest              By Alyson Krueger             TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/technol Bitcoin Plummets Below 20000 Caught in the By Erin Griffith and David
2022-06-18   2022-06-19 ogy/bitcoin-20000.html                      Undertow of a Market Meltdown                 YaffeBellany                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/us/child States Step In to Mend Shortage of Child Care
2022-06-18   2022-06-19 care-state-regulations.html                 After US Effort Stalled                       By Dana Goldstein             TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/us/firea How Gun Makers Harness Fear to                By Mike McIntire Glenn Thrush
2022-06-18   2022-06-19 rm-gun-sales.html                           Supercharge Sales                             and Eric Lipton               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/us/junet Only 18 States Have Added Juneteenth as a
2022-06-18   2022-06-19 eenth-states-paid-holiday.html              Paid Holiday                                  By Maria Cramer               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/us/phila Philadelphia Firefighter Dies in Building
2022-06-18   2022-06-19 delphia-building-collapse.html              Collapse                                      By Jon Hurdle and Ava Sasani  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/us/polit Biden Takes a Tumble Off Bike During a
2022-06-18   2022-06-19 ics/biden-falls-bike-rehoboth-beach.html    Visit to Delaware                             By Zach Montague              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/us/polit Trumps Shadow Looms Over Fading Talks to By Michael Crowley and Lara
2022-06-18   2022-06-19 ics/iran-nuclear-deal-trump.html            Revive Iran Nuclear Deal                      Jakes                         TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/us/polit Mark Shields Political Analyst Known for His
2022-06-18   2022-06-19 ics/mark-shields-dead.html                  Sharp Wit Is Dead at 85                       By Clyde Haberman             TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/us/polit A Key Hurdle for Prosecutors Proving What By Michael S Schmidt and Maggie
2022-06-18   2022-06-19 ics/trump-jan-6-legal-defense.html          Trump Believed                                Haberman                      TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/world/a
                        mericas/dom-phillips-bruno-pereira-brazil-  Third Arrest In Slayings Of Two Men In
2022-06-18   2022-06-19 arrest.html                                 Amazon                                        By Ana Ionova                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/world/a
                        mericas/indigenous-artifacts-sweden-        Tribe Regains Prized Relics Member Saw In a
2022-06-18   2022-06-19 museum.html                                 Museum                                        By Isabella Grulln Paz        TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/world/a
                        mericas/jan-6-hearing-constitution-         During Constitutional Crises Democracies
2022-06-18   2022-06-19 democracy.html                              Arent Always Democratic                       By Max Fisher                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/world/a Declaring Curry Enemy No 1 To Get Indias
2022-06-18   2022-06-19 sia/india-andaman-police-weight-loss.html   Police in Shape                               By Suhasini Raj and Atul Loke TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/18/world/e Opera House in Odesa Reopens Defying           By Roger Cohen and Laetitia
2022-06-18   2022-06-19 urope/odesa-opera-ukraine-russia.html       Putins Barbarism                              Vancon                        TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/18/world/e Caring for the Dead Takes a Toll Nowadays I By Erika Solomon and Diego Ibarra
2022-06-18   2022-06-19 urope/ukraine-war-cemeteries-morgues.html Feel Numb                                    Sanchez                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/world/e Trying to Boost Morale Zelensky Visits a
2022-06-18   2022-06-19 urope/zelensky-mykolaiv-ukraine.html          Battered but Reclaimed Mykolaiv          By Megan Specia                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/world/
                        middleeast/afghanistan-attack-sikh-                                                    By Christina Goldbaum and Najim
2022-06-18   2022-06-19 temple.html                                   Attack on Sikh Temple in Afghanistan     Rahim                             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/18/wo
                        rld/ukraine-russia-news-deaths/the-metric-of-
2022-06-18   2022-06-19 the-war-deaths                                In Ukraine an Endless Caravan of Death   By Jason Horowitz                 TX 9-179-521   2022-08-01




                                                                               Page 3901 of 5793
                        https://www.nytimes.com/2022/06/18/sports/g Two Tied for US Open Lead After Absolute
2022-06-19   2022-06-19 olf/us-open-fitzpatrick-zalatoris.html      Beast of Third Round                       By Bill Pennington               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/technol Apple Workers at a Maryland Store Vote to By Tripp Mickle and Noam
2022-06-19   2022-06-19 ogy/apple-union-maryland.html               Unionize a First in the US                 Scheiber                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/busines Why a Rhodes Scholar Took a Job at
2022-06-19   2022-06-19 s/starbucks-union-rhodes-scholar.html       Starbucks                                  By Noam Scheiber                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/busines
                        s/the-week-in-business-federal-reserve-
2022-06-19   2022-06-19 interest-rates-markets.html                 The Week in Business The Fed Goes Big      By Marie Solis                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/busines
2022-06-19   2022-06-19 s/wfh-setups-rto.html                       Cameras On Please Settling Into Zoom Rooms By Emma Goldberg                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/insider/
2022-06-19   2022-06-19 discovering-black-family-heirlooms.html     Seeking Heirlooms and Their Stories        By Charlie BrinkhurstCuff        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/nyregio Hochuls SecondinCommand Faces Sharp
2022-06-19   2022-06-19 n/archila-delgado-lieutenant-governor.html  Challenge From the Left                    By Luis FerrSadurn               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/nyregio After the Music Stops For Covid One School
2022-06-19   2022-06-19 n/school-band-students-pandemic.html        Brings Back Its Band                       By Sarah Diamond                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/sports/b
                        asketball/stephen-curry-nba-dynasty-golden- The NBA Didnt Have A Dynasty for a While
2022-06-19   2022-06-19 state.html                                  But Then Curry Arrived                     By Sopan Deb                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/style/pi
2022-06-19   2022-06-19 nk-slip-dresses-and-purple-tuxedos.html     Stars Sparkle For Their Causes             By Denny Lee                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/world/e In Battle for Parliament Its Macron vs the  By Constant Mheut and Aurelien
2022-06-19   2022-06-19 urope/france-parliamentary-elections.html   Left                                       Breeden                          TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/05/13/special- For These Families Black Colleges Are a
2022-05-13   2022-06-20 series/families-hbcus-graduates-legacy.html Treasured Legacy                             By Lise Funderburg             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/29/upshot/ Tips for Helping Students Recover From
2022-05-29   2022-06-20 student-stress-counselors-pandemic.html      Pandemic Stress                             By Claire Cain Miller          TX 9-179-521   2022-08-01
                                                                     362 School Counselors on the Pandemics
                        https://www.nytimes.com/interactive/2022/05/ Effect on Children Anxiety Is Filling Our   By Claire Cain Miller Bianca
2022-05-29   2022-06-20 29/upshot/pandemic-school-counselors.html Kids                                           Pallaro and Alice Fang         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/travel/b
2022-06-14   2022-06-20 udget-travel-dollar-euro.html                When the Buck Has More Bang Overseas        By Elaine Glusac               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/technol
2022-06-15   2022-06-20 ogy/government-intervention-tech.html        The HandsOff Tech Era Is Over               By Shira Ovide                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/travel/v
2022-06-15   2022-06-20 anlife-travel-gas-prices.html                How Vanlifers Are Adjusting to Gas Prices   By Ariel Felton                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/busines Ukraines Tech Work Force Shifted to Safer
2022-06-16   2022-06-20 s/ukraine-tech-workers.html                  Settings                                    By David Segal                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/movies/
2022-06-16   2022-06-20 phil-tippett-interview-mad-god.html          The Mad God Of Stop Motion                  By Carlos Aguilar              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/arts/mu Donald Pippin Conductor on Broadway and
2022-06-17   2022-06-20 sic/donald-pippin-done.html                  Beyond Is Dead at 95                        By Neil Genzlinger             TX 9-179-521   2022-08-01




                                                                                 Page 3902 of 5793
                        https://www.nytimes.com/2022/06/17/arts/tele
2022-06-17   2022-06-20 vision/first-kill-netflix.html               Vampire Hunter and Prey Fall in Love         By Valeriya Safronova             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/books/g George Lamming 94 Who Chronicled the End
2022-06-17   2022-06-20 eorge-lamming-dead.html                      of Colonialism Dies                          By Clay Risen                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/busines                                                By Nicholas Kulish Katie Glueck
2022-06-17   2022-06-20 s/gun-control-nra-money.html                 Donors Aim To Beat Guns With Money           and Michael C Bender              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/movies/
2022-06-17   2022-06-20 andy-garcia-father-of-the-bride.html          Andy Garcia Had Practice As a Patriarch     By Carlos Aguilar                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/obituari Overlooked No More William B Gould
2022-06-17   2022-06-20 es/william-b-gould-overlooked.html           Escaped Slave and Civil War Diarist          By Clay Risen                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/opinion
2022-06-17   2022-06-20 /proper-speech.html                          Sometimes Proper Speech Isnt Correct Speech By John McWhorter                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/style/lo
2022-06-17   2022-06-20 uis-theroux-jiggle-jiggle-tiktok.html        The Witty Ditty With a Jiggle Its Viral Gold By Steven Kurutz                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/world/e Companys TeamBuilding Exercise Involved
2022-06-17   2022-06-20 urope/hot-coals-burns-team-building.html     Hot Coals It Ended Badly                     By Alex Traub                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/busines
                        s/dealbook/scott-galloway-economy-           The Dirty Secret of Covid On the
2022-06-18   2022-06-20 pandemic.html                                Postpandemic Economic Turmoil                By Vivian Giang                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/opinion
                        /environment/climate-change-spring-
2022-06-18   2022-06-20 migratory-birds.html                         Spring Comes With a Secret Dread             By Verlyn Klinkenborg             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/nyregio 3 Dead in WindDriven Fire in Queens
2022-06-19   2022-06-20 n/queens-fire.html                           Officials Say                                By Anne Barnard                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/arts/dan Although the Subject Is St Francis We Are
2022-06-19   2022-06-20 ce/gods-fool-review.html                     Not in Assisi                                By Brian Seibert                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/arts/des
                        ign/national-juneteenth-museum-fort-
2022-06-19   2022-06-20 worth.html                                   Big Plans For a Site To Honor Juneteenth     By Robin Pogrebin                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/arts/mu
2022-06-19   2022-06-20 sic/drake-honestly-nevermind-review.html     Honestly Drake Wants You to Dance            By Jon Caramanica                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/climate GOP Push to Tilt Courts May Rout Climate
2022-06-19   2022-06-20 /supreme-court-climate-epa.html              Efforts                                      By Coral Davenport                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/movies/
2022-06-19   2022-06-20 lightyear-pixar-box-office.html              Lightyear Cant Top Jurassic                  By Brooks Barnes                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/nyregio New York Firefighter Killed In North
2022-06-19   2022-06-20 n/fdny-long-beach-firefighter-killed.html    Carolina Accident                            By Ali Watkins                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/nyregio Honoring a Black Village Erased for Central
2022-06-19   2022-06-20 n/juneteenth-seneca-village.html             Park                                         By Lola Fadulu                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/opinion
2022-06-19   2022-06-20 /abortion-adoption-birth-risk.html           Theres No Such Thing as Just Having a Baby By Pamela Paul                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/opinion
2022-06-19   2022-06-20 /its-not-the-future-we-cant-see.html         This Is a Weirder Moment Than You Think By Ezra Klein                          TX 9-179-521   2022-08-01




                                                                                 Page 3903 of 5793
                        https://www.nytimes.com/2022/06/19/sports/f Swimming Body Bars Most Transgender
2022-06-19   2022-06-20 ina-transgender-women-elite-swimming.html Women                                          By Matthew Futterman             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/sports/g
2022-06-19   2022-06-20 olf/fitzpatrick-us-open-liv.html              Home Away from Home                        By Bill Pennington               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/sports/g
2022-06-19   2022-06-20 olf/us-open-final.html                        Morikawa Just Happy For Decent Last Round By Peter May                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/us/gun-                                               By Glenn Thrush and Serge F
2022-06-19   2022-06-20 background-checks.html                        Gun Proposals Rely on a Vast Flawed System Kovaleski                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/us/wild
2022-06-19   2022-06-20 fire-arizona-kitt-peak-observatory.html       Arizona Wildfire Damages Observatory Site By Neelam Bohra                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/world/a An Ethiopian Rebel Group Is Accused of
2022-06-19   2022-06-20 frica/ethiopia-attack-amhara-people.html      Killing Over 200 Ethnic Amharas            By Abdi Latif Dahir              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/world/a Compiling A Dictionary Is Hard Yakka
2022-06-19   2022-06-20 ustralia/national-dictionary-center.html      Er Work                                    By Damien Cave                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/world/e
                        urope/emmanuel-macron-france-                 Macron Loses Parliamentary Majority as     By Aurelien Breeden and Constant
2022-06-19   2022-06-20 parliamentary-election.html                   Political Extremes Surge                   Mheut                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/world/e
                        urope/morocco-jews-sephardic-music-           Saving the Ballads of a Dwindling Jewish
2022-06-19   2022-06-20 songs.html                                    Culture in Morocco                         By Aida Alami                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/world/e                                               By Thomas GibbonsNeff Vivian
                        urope/russian-forces-ukraine-                 Russia Tightens Its Grip Around Pivotal    Yee Andrew E Kramer and Natalia
2022-06-19   2022-06-20 sievierodonetsk.html                          Cities in Ukraines East                    Yermak                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/19/wo
                        rld/colombia-election-results/gustavo-petro-
2022-06-19   2022-06-20 colombia-election                             Colombia Elects a Leftist Leader           By Julie Turkewitz               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/us/polit
                        ics/texas-republicans-approve-far-right-
                        platform-declaring-bidens-election-                                                      By Azi Paybarah and David
2022-06-20   2022-06-20 illegitimate.html                             Texas GOP Adopts Stolen Election Claims    Montgomery                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/world/a
                        mericas/gustavo-petro-colombia-presidential- COLOMBIA ELECTS A LEFTIST
2022-06-20   2022-06-20 election.html                                 LEADER                                     By Julie Turkewitz               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/arts/tele
                        vision/whats-on-tv-this-week-the-stanley-cup-
2022-06-20   2022-06-20 finals-and-chernobyl-the-lost-tapes.html      This Week on TV                            By Shivani Gonzalez              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/busines Chinas OnceHot Housing Market Rapidly         By Daisuke Wakabayashi and Joy
2022-06-20   2022-06-20 s/china-housing-real-estate-economy.html      Cools                                      Dong                             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/busines                                               By Stacy Cowley and Lananh
2022-06-20   2022-06-20 s/zelle-money-stolen-banks.html               Banks Balk At Repaying Theft Victims       Nguyen                           TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/20/sports/b Putting In Long Hours for Moment on the
2022-06-20   2022-06-20 asketball/nba-draft-mark-williams-duke.html Podium                                    By Jonathan Abrams                TX 9-179-521     2022-08-01




                                                                                Page 3904 of 5793
                        https://www.nytimes.com/2022/06/20/sports/f ExPlayer Has New Mission Help Demystify
2022-06-20   2022-06-20 ootball/nfl-concussion-cte-research.html    Brain Trauma                                 By Ken Belson                  TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/20/sports/h Avalanche Go From Chasing Reigning
2022-06-20   2022-06-20 ockey/avalanche-lightning-stanley-cup.html Champions to Dominating Them                  By David Waldstein             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/us/abor As Roe Teeters Worries on Risk To Women
2022-06-20   2022-06-20 tion-high-risk-pregnancy.html                Rise                                        By Jack Healy                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/07/science Before Joining Menus Chickens Were
2022-06-07   2022-06-21 /chicken-domestication-origin.html           Revered                                     By James Gorman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/science Knock on Wood Making a Stradivarius Give
2022-06-08   2022-06-21 /stradavirius-violin-tree-rings.html         Up Its Secrets                              By Katherine Kornei            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/well/m
2022-06-08   2022-06-21 ove/walking-knee-pain-relief.html            Walk Away From Knee Pain                    By Dani Blum                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/08/well/eat
2022-06-09   2022-06-21 /diet-skin-cancer-risk-melanoma.html         Skin Cancer Finding Comes With a Caveat By Alice Callahan                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/09/well/liv
2022-06-10   2022-06-21 e/swimming-safety.html                       Avoiding Nasty Germs in Recreational Waters By Melinda Wenner Moyer        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/10/science Dont Try This at Home Styrofoam as a Snack
2022-06-10   2022-06-21 /worms-eating-styrofoam.html                 Food Superworms Just Pack It In             By Veronique Greenwood         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/science Dolphin Revival Turns New York Harbor Into
2022-06-11   2022-06-21 /dolphins-new-york-harbor.html               a Lab                                       By William J Broad             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/11/us/oak- A Secret City Has a Secret African American
2022-06-11   2022-06-21 ridge-tennessee-manhattan-project.html       History                                     By Casey Quackenbush           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/arts/tele
2022-06-13   2022-06-21 vision/the-wire-baltimore.html               Life in the Shadow of The Wire              By Gioncarlo Valentine         TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/13/climate
2022-06-13   2022-06-21 /capture-capture-storage-jennifer-wilcox.html Can Carbon Capture Be a Climate Solution      By Paul Tullis              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/13/science Hoosier Heavyweight Letting Tusks Tell the
2022-06-13   2022-06-21 /mastodon-tusk-migration.html                 Tale Of a Mastodon Named Fred                 By Jeanne Timmons           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/arts/dan
2022-06-14   2022-06-21 ce/city-center-2022-23-season.html            International Dancers Return to Fall Festival By Rachel Sherman           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/science Claws and Effect How Cats Make the Most
2022-06-14   2022-06-21 /cats-catnip-insects.html                     Of Their Catnip High                          By Oliver Whang             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/travel/tr
2022-06-14   2022-06-21 avel-europe-tips-summer.html                  Flying to Europe Brace for Crowds and Chaos By Ceylan Yeginsu             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/well/liv Why Is My Sleep So Messed Up in the
2022-06-14   2022-06-21 e/summer-insomnia-better-sleep.html           Summer                                        By Rachel Rabkin Peachman   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/health/ Clue to Black Death Origin Extracted From
2022-06-15   2022-06-21 black-death-plague.html                       Teeth                                         By Gina Kolata              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/technol
2022-06-16   2022-06-21 ogy/delivery-drones.html                      A Sky Devoid of Delivery Drones               By Shira Ovide              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/17/arts/mu
2022-06-17   2022-06-21 sic/bartees-strange-farm-to-table-review.html Feeling Torn About Success in Dire Times   By Jon Pareles                 TX 9-179-521   2022-08-01



                                                                                 Page 3905 of 5793
                        https://www.nytimes.com/2022/06/17/busines                                              By Jesus Jimnez and Gabriela
2022-06-17   2022-06-21 s/return-to-office-bars.html                Happy Hour Is Attempting A Comeback         Bhaskar                             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/busines
2022-06-18   2022-06-21 s/france-nuclear-power-russia.html          Crisis Curbs Push to Quit Russian Oil       By Liz Alderman                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/travel/c Outlook Appears Dim in Pursuit Of Refund
2022-06-18   2022-06-21 ovid-refunds-delays.html                    for Canceled Rail Trip                      By Seth Kugel                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/arts/des Reimagining the Y on 92nd Street and
2022-06-19   2022-06-21 ign/92nd-street-y-renovation.html           Beyond                                      By Matt Stevens                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/arts/mu
                        sic/cliburn-pianists-south-korea-russia-    Ukraine War Looms Over A Piano
2022-06-19   2022-06-21 ukraine.html                                Competition                                 By Javier C Hernndez                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/arts/mu
2022-06-19   2022-06-21 sic/review-the-ordering-of-moses.html       Celebratory in More Ways Than One           By Oussama Zahr                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/arts/pau Filmmaker Paul Haggis Is Arrested on Sexual
2022-06-19   2022-06-21 l-haggis-arrested-sexual-assault-italy.html Violence Charge in Italy                    By Emma Bubola and Sarah Bahr       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/19/health/t
2022-06-19   2022-06-21 attoo-ink-europe.html                       A Grayer Palette For Tattoo Artists         By Ted Alcorn                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/books/r
                        eview-jean-rhys-biography-miranda-seymour-
2022-06-20   2022-06-21 i-used-to-live-here-once.html               On Writing Well and Behaving Poorly         By Dwight Garner                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/busines
2022-06-20   2022-06-21 s/dutch-government-russian-gas.html         Dutch Officials Activate Warning for Gas    By Stanley Reed                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/busines
                        s/economy/forced-labor-china-supply-        US Rule Risks Disrupting Global Battery     By Ana Swanson and Chris
2022-06-20   2022-06-21 chain.html                                  Supply                                      Buckley                             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/health/c Covid Deaths at Low Rate Even as Infections
2022-06-20   2022-06-21 ovid-deaths-plateau.html                    Climb                                       By Benjamin Mueller                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/nyregio In Harlem and Across US Violent Weekend
2022-06-20   2022-06-21 n/harlem-shooting.html                      Adds to Drumbeat of Shootings               By Ali Watkins                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/nyregio Taxi Strikes Pedestrians on Sidewalk in      By Nicole Hong Ali Watkins and
2022-06-20   2022-06-21 n/taxi-jumps-curb-manhattan.html            Flatiron District                           Colin Moynihan                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/opinion How the Abortion and Gun Debates Look
2022-06-20   2022-06-21 /alabama-abortion-guns-politics.html        From Alabama                                By Anton DiSclafani                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/opinion
2022-06-20   2022-06-21 /how-animals-see-themselves.html            The Wondrous World That Only Animals See By Ed Yong                             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/opinion
2022-06-20   2022-06-21 /pence-biden-trump.html                     Mike Pence Was of Two Minds                 By Gail Collins and Bret Stephens   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/science
2022-06-20   2022-06-21 /african-wild-dogs-zambia.html              Wild Dogs On a Trek Of Survival             By Natalie Angier                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/science A RabbitKilling Virus Thats Immune to
2022-06-20   2022-06-21 /myxoma-virus-rabbits-covid.html            Time                                        By Carl Zimmer                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/sports/g For Zalatoris Its Another Thanks for the
2022-06-20   2022-06-21 olf/zalatoris-us-open.html                  Consolation Prize in a Major                By Peter May                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/sports/n Lennie Rosenbluth 89 Who Led Tar Heels
2022-06-20   2022-06-21 caabasketball/lennie-rosenbluth-dead.html   Past Chamberlains Jayhawks for a Title      By Richard Goldstein                TX 9-179-521   2022-08-01



                                                                                Page 3906 of 5793
                        https://www.nytimes.com/2022/06/20/technol
2022-06-20   2022-06-21 ogy/google-gsuite-small-business-fee.html   Google Tells Users to Pay For G Suite      By Nico Grant                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/theater/
                        hooded-or-being-black-for-dummies-
2022-06-20   2022-06-21 review.html                                 Playful Yet Serious on Thorny Terrain      By Naveen Kumar                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/us/dr- Dr Paul M Ellwood Jr 95 Architect of the
2022-06-20   2022-06-21 paul-m-ellwood-jr-dead.html                 HMO Dies                                   By Robert D McFadden                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/us/medi Flawed Autopsies Reflect Biases Even in
2022-06-20   2022-06-21 cal-examiners-autopsy-racism.html           Death                                      By Shaila Dewan                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/us/polit
2022-06-20   2022-06-21 ics/biden-gas-prices-tax.html               Biden Considers National Gas Tax Holiday By Zach Montague                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/us/polit GunToting Candidates Ad Suggests Hunt for
2022-06-20   2022-06-21 ics/eric-greitens-rino-ad.html              RINOs                                      By Alan Feuer                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/us/polit Jan 6 Panel Plans to Detail Campaign by
2022-06-20   2022-06-21 ics/jan-6-committee-hearing-trump.html      Trump to Pressure State Leaders            By Luke Broadwater                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/us/polit Pence Ponders Possible White House Run and By Maggie Haberman and Reid J
2022-06-20   2022-06-21 ics/pence-trump-jan6-hearings.html          Fraught Political Moment                   Epstein                                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/us/polit The Supreme Court Public Opinion And the
2022-06-20   2022-06-21 ics/supreme-court-public-opinion-roe.html   Fate of Roe                                By Adam Liptak                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/us/uval The Healing Embrace of Little League in
2022-06-20   2022-06-21 de-shooting-little-league.html              Uvalde                                     By Edgar Sandoval                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/world/a Taliban Free 5 British Men Who Violated     By David Zucchino and Carlotta
2022-06-20   2022-06-21 sia/afghan-detainees-britain.html           Travel Advice                              Gall                                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/world/a
                        sia/ukraine-war-climate-crisis-activists-   New Brand of Activist Links 2 Causes War
2022-06-20   2022-06-21 protests.html                               and Climate Change                         By Jeffrey Gettleman                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/world/e Vanished Article on Johnson Sets Londons
2022-06-20   2022-06-21 urope/boris-carrie-johnson-times.html       Media Abuzz                                By Mark Landler                         TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/20/world/e A Fragmented Parliament Brings Macron            By Norimitsu Onishi Constant
2022-06-20   2022-06-21 urope/france-elections-macron-majority.html Back Down to Earth                              Mheut and Aurelien Breeden     TX 9-179-521       2022-08-01
                        https://www.nytimes.com/2022/06/20/world/e                                                  By Matthew Mpoke Bigg Andrew
                        urope/russia-ukraine-blockade-war-          Russias Blockade of Ukraine Is War Crime        Higgins Thomas GibbonsNeff and
2022-06-20   2022-06-21 crime.html                                  Top EU Official Says                            Rick Gladstone                 TX 9-179-521       2022-08-01

                        https://www.nytimes.com/2022/06/20/world/       Israel Grows Military Role With Alliance    By Patrick Kingsley and Ronen
2022-06-20   2022-06-21 middleeast/israel-arab-military-alliance.html   Against Iran                                Bergman                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/world/
                        middleeast/israel-election-government-          Israels Government Collapses Prompting 5th By Patrick Kingsley and Isabel
2022-06-20   2022-06-21 collapse.html                                   Vote in 3 Years                            Kershner                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/world/                                                  By Raja Abdulrahim Patrick
                        middleeast/palestian-journalist-killing-                                                   Kingsley Christiaan Triebert Hiba
2022-06-20   2022-06-21 shireen.html                                    Tracing Deadly Shot to an Israeli Convoy   Yazbek and Phil Robibero            TX 9-179-521   2022-08-01




                                                                                    Page 3907 of 5793
                        https://www.nytimes.com/2022/06/20/world/a
                        mericas/colombia-gustavo-petro-             LeftWingers Victory Is a Sea Change in      By Julie Turkewitz and Genevieve
2022-06-21   2022-06-21 president.html                              Colombian Politics                          Glatsky                          TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/21/science
2022-06-21   2022-06-21 /locked-horns-antlers-deer-elk.html         When Antlers Tangle Both Sides Can Lose     By Asher Elbein                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/21/sports/b
2022-06-21   2022-06-21 asketball/nj-hoopers-nba.html               Look Out New York New Jersey Is Gaining     By David Gardner                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/21/sports/o One of the Original Winter Games Sports
2022-06-21   2022-06-21 lympics/nordic-combined-ski-ioc.html        May Be Out                                  By Matthew Futterman             TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/21/us/polit
                        ics/mo-brooks-alabama-virginia-georgia-     What to Watch in Tuesdays Primaries
2022-06-21   2022-06-21 elections.html                              Southern Showdowns and Proxy Wars           By Jonathan Weisman               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/us/polit Weeks of Battle Leave Moscow Near Square    By Helene Cooper Eric Schmitt and
2022-06-21   2022-06-21 ics/russia-ukraine-east-war.html            1                                           Julian E Barnes                   TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/21/world/ For Decades Fighters Were Cool Not
2022-06-21   2022-06-21 middleeast/misurata-libya-peace-theater.html Anymore                                    By Vivian Yee                    TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/13/travel/fi Capturing the Joyful Spirit of a Montana
2022-06-13   2022-06-22 shtail-montana-general-store.html            General Store                              By Janie Osborne                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/interactive/2022/06/
2022-06-14   2022-06-22 14/business/gas-prices.html                  Why Gas Prices Are So High                 By Ella Koeze and Clifford Krauss TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/dining/
                        drinks/savigny-les-beaune-wine-
2022-06-16   2022-06-22 burgundy.html                                From Obscurity to Excellence               By Eric Asimov                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/17/arts/cla Claude Rutault Iconoclastic Painter Who
2022-06-17   2022-06-22 ude-rutault-dead.html                        Used No Paint Dies at 80                   By Nina Siegal                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/17/dining/
2022-06-17   2022-06-22 cheesemonger-invitational-champion.html      For Cheese Experts A Place To Nerd Out     By Julia Moskin                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/17/dining/
2022-06-17   2022-06-22 easy-vegan-peanut-butter-ice-cream.html      The Secret to Silky Homemade Ice Cream     By Melissa Clark                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/17/dining/f
2022-06-17   2022-06-22 rozen-vegetables.html                        A Medley With Staying Power                By Eric Kim                      TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/20/opinion
                        /international-world/ukraine-war-
2022-06-20   2022-06-22 america.html                                 Are We Already at War in Ukraine           By Bonnie Kristian               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/20/opinion Washington Can Do Something Right for
2022-06-20   2022-06-22 /recovering-americas-wildlife-act.html       Americas Wildlife                          By Margaret Renkl                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/20/opinion
                        /trump-merrick-garland-january-6-            What Garland Needs to Decide Before
2022-06-20   2022-06-22 committee.html                               Charging Trump                             By Jack Goldsmith                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/20/us/bear
                        s-ears-native-american-tribes-               Tribal Groups Will Join US To Manage
2022-06-20   2022-06-22 management.html                              Ancestral Lands                            By Alex Traub                    TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/20/us/clela-Clela Rorex 78 Clerk Who Broke a Barrier
2022-06-20   2022-06-22 rorex-dead.html                              On Gay Marriage Dies                       By Neil Genzlinger               TX 9-179-521    2022-08-01



                                                                                Page 3908 of 5793
                        https://www.nytimes.com/2022/06/20/us/polit A Florida Abortion Clinic Struggles as Winds By Gabriela Bhaskar and Abby
2022-06-20   2022-06-22 ics/abortion-florida-supreme-court.html     Shift                                        Goodnough                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/arts/no Sale of Nobel Medal Raises Millions for
2022-06-21   2022-06-22 bel-auction-muratov-ukraine.html            Child Refugees                               By Kalia Richardson            TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/21/arts/dan
2022-06-21   2022-06-22 ce/review-ratmansky-of-love-and-rage.html Battling to Overcome Toxic Passions           By Gia Kourlas                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/arts/des
2022-06-21   2022-06-22 ign/documenta-antisemitism.html             Where Artistic Freedom Finds Its Limits     By Alex Marshall                TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/21/arts/mu
2022-06-21   2022-06-22 sic/discoasis-roller-skating-nile-rodgers.html Hey Everybody Skate to the Music           By Melena Ryzik               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/books/r
2022-06-21   2022-06-22 eview-last-resort-sarah-stodola.html           Digging Up the Cigarette Butts in the Sand By Alexandra Jacobs           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/busines Millions of Tax Returns Not Yet Handled as
2022-06-21   2022-06-22 s/irs-backlog.html                             IRS Tries to Clear Backlog                 By Deborah B Solomon          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/busines
                        s/media/naomi-osaka-hana-kuma-lebron-          Osaka Aims to Blaze Trail With Media Firm
2022-06-21   2022-06-22 james.html                                     In James Partnership                       By Brooks Barnes              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/busines Black Leaders Leave Amazon Amid ShakeUp
2022-06-21   2022-06-22 s/senior-black-executives-amazon.html          In Stores Unit                             By Karen Weise                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/busines Steven Gluckstern 71 Who Advocated
2022-06-21   2022-06-22 s/steven-gluckstern-dead.html                  Mortgage Relief After Great Recession      By Richard Sandomir           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/busines Suit Claims Uber and Lyft Break Antitrust      By Kellen Browning and Noam
2022-06-21   2022-06-22 s/uber-lyft-antitrust-lawsuit.html             Laws                                       Scheiber                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/busines
                        s/yellen-may-soon-get-her-name-on-the-
2022-06-21   2022-06-22 greenback.html                                 Coming Soon Yellens Name On the Dollar     By Deborah B Solomon          TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/21/dining/
2022-06-21   2022-06-22 brooklyn-oysters-real-mother-shuckers.html Serving Up History By Selling Oysters        By Korsha Wilson                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/dining/
2022-06-21   2022-06-22 easy-recipes-beginner-cooks.html            The First Steps to Kitchen Mastery          By Nikita Richardson            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/dining/ To Prepare Paella in a Can Only With the
2022-06-21   2022-06-22 el-paeller-rafa-margos.html                 Proper Pan                                  By Florence Fabricant           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/dining/l Flavor Explodes in Each Swing Of a Pork
2022-06-21   2022-06-22 a-pirana-lechonera-review-pete-wells.html   Maestros Machete                            By Pete Wells                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/dining/ To Enjoy Ice Cream Sandwiches That Have
2022-06-21   2022-06-22 musket-room-ice-cream-sandwiches.html       Personalities                               By Florence Fabricant           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/dining/ To Sip A Nonalcoholic Red From South
2022-06-21   2022-06-22 noughty-nonalcoholic-wine.html              Africa                                      By Florence Fabricant           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/dining/
2022-06-21   2022-06-22 nyc-restaurant-news.html                    Al Coro Opens in the Former Del Posto Space By Florence Fabricant           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/dining/ To Nibble Spiced Yogurt Balls Perfect for
2022-06-21   2022-06-22 pariva-marinated-yogurt-balls.html          Snacking                                    By Florence Fabricant           TX 9-179-521   2022-08-01



                                                                                 Page 3909 of 5793
                        https://www.nytimes.com/2022/06/21/dining/
2022-06-21   2022-06-22 schmidt-brothers-grilling-tools-food52.html To Grill Outdoor Utensils Made to Last      By Florence Fabricant              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/dining/ To Savor The Art of the Brew With TeaBased
2022-06-21   2022-06-22 stories-of-japanese-tea-zach-mangan.html    Recipes                                     By Florence Fabricant              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/health/f                                             By Christina Jewett and Andrew
2022-06-21   2022-06-22 da-nicotine-cigarettes.html                 FDA Rule Would Slash Nicotine in Cigarettes Jacobs                             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/movies/
2022-06-21   2022-06-22 lilo-and-stitch-20th-anniversary.html       Lilo amp Stitch at 20 Disney Mold Breaker By Sarah Bahr                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/nyregio Allies Fear Hochuls LowKey Primary           By Nicholas Fandos and Jeffery C
2022-06-21   2022-06-22 n/hochul-strategy-primary.html              Campaign Will Come at a Cost                Mays                               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/nyregio Rents Will Jump at Least 325 for 2 Million
2022-06-21   2022-06-22 n/new-york-rent-increase-stabilization.html New Yorkers                                 By Mihir Zaveri                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/nyregio
                        n/stonewall-national-monument-visitor-      In First for National Parks LGBTQ History
2022-06-21   2022-06-22 center.html                                 Site Planned Next to Stonewall              By Amanda Holpuch                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/opinion
2022-06-21   2022-06-22 /naftali-bennetts-exit-interview.html       Naftali Bennetts Exit Interview             By Bret Stephens                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/science US Return To the Moon Eases Ahead In a
2022-06-21   2022-06-22 /nasa-artemis-moon-rocket.html              Key Test                                    By Kenneth Chang                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/sports/b Its Early but This Could Be a Dream Season
2022-06-21   2022-06-22 aseball/yankees-mets.html                   for New York Fans                           By Victor Mather                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/sports/f Watson Settles 20 of 24 Cases Over Sexual
2022-06-21   2022-06-22 ootball/deshaun-watson-settlements.html     Misconduct                                  By Jenny Vrentas                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/sports/f Gronkowski Retires Again And Seems
2022-06-21   2022-06-22 ootball/rob-gronkowski-retire.html          Serious About It                            By Ben Shpigel                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/sports/g As Koepka Leaves for Saudi Circuit the PGA
2022-06-21   2022-06-22 olf/liv-koepka-saudi.html                   Tour Considers Changes                      By Bill Pennington                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/sports/ Retired at 4 Wasabi Continues To Carry
2022-06-21   2022-06-22 wasabi-westminster-best-in-show.html        Himself Like a Champion                     By Sarah Lyall                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/sports/                                              By Benjamin Hoffman Calla
2022-06-21   2022-06-22 westminster-dog-show-photos.html            Once Again A Real Garden For Westminster Kessler and Hiroko Masuike            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/technol
2022-06-21   2022-06-22 ogy/meta-ad-targeting-settlement.html       Meta to Alter Biased Tools Serving Ads      By Mike Isaac                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/technol Microsoft to Delete Facial Analysis Tools
2022-06-21   2022-06-22 ogy/microsoft-facial-recognition.html       From AI                                     By Kashmir Hill                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/technol
                        ogy/sunny-balwani-trial-closing-
2022-06-21   2022-06-22 statements.html                             Theranoss 2nd Trial Nears End               By Erin Griffith                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/theater/
2022-06-21   2022-06-22 aint-misbehavin-review.html                 Saving Its Love and Pain for You            By Jesse Green                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/theater/
2022-06-21   2022-06-22 broadway-mask-mandate.html                  Broadway Is Dropping Mask Rule              By Michael Paulson                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/theater/
2022-06-21   2022-06-22 common-ground-revisited-boston.html         Boston And a Book Reconsidered              By Michael Paulson                 TX 9-179-521   2022-08-01




                                                                                Page 3910 of 5793
                        https://www.nytimes.com/2022/06/21/us/jaso State Senate In S Dakota Votes to Oust Law
2022-06-21   2022-06-22 n-ravnsborg-impeachment-south-dakota.html Enforcer                                        By Julie Bosman                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/us/polit
                        ics/anti-personnel-land-mines-military-biden- Reversing Course US Bans The Use of Most By Michael Crowley and John
2022-06-21   2022-06-22 trump.html                                    Land Mines                                  Ismay                               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/us/polit
                        ics/cuellar-defeats-cisneros-texas-primary-   NineTerm Congressman Squeaks Past
2022-06-21   2022-06-22 runoff.html                                   Challenger in South Texas Runoff            By Jazmine Ulloa                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/us/polit Differing Stories By Ivanka Trump On
2022-06-21   2022-06-22 ics/ivanka-trump-election.html                Election Fight                              By Maggie Haberman                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/us/polit Election Officials Still Unnerved By Threats
2022-06-21   2022-06-22 ics/jan-6-trump-threats.html                  That Lies Unleashed                         By Catie Edmondson                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/us/polit Senators Release a Compromise Bill on Gun By Emily Cochrane and Annie
2022-06-21   2022-06-22 ics/senate-gun-safety-bill.html               Safety                                      Karni                               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/us/polit
                        ics/supreme-court-maine-religious-            Justices Deliver Win to Schools Based in
2022-06-21   2022-06-22 schools.html                                  Faith                                       By Adam Liptak                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/us/polit Trump Pressured States to Comply on Fake By Luke Broadwater and Alan
2022-06-21   2022-06-22 ics/trump-pressure-state-officials.html       Electors                                    Feuer                               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/us/uval Response to Uvalde Shooting Called Abject
2022-06-21   2022-06-22 de-texas-police-mccraw.html                   Failure                                     By J David Goodman                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/us/youn Rollout of Vaccine for Children Under 5 Is
2022-06-21   2022-06-22 g-children-covid-vaccines.html                Met Mostly With a Shrug                     By Dana Goldstein                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/world/a Dining Palace In Hong Kong Was Unable To By Mike Ives and Alexandra
2022-06-21   2022-06-22 sia/jumbo-sinks-hong-kong.html                Stay Afloat                                 Stevenson                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/world/a Launch of Small Satellite Is a First for South
2022-06-21   2022-06-22 sia/south-korea-rocket-launch-nuri.html       Korea                                       By Choe SangHun                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/world/a A Trip for Apples Over the Last Bridge         By Thomas GibbonsNeff Natalia
2022-06-21   2022-06-22 sia/ukraine-bridge-sievierodonetsk.html       Standing                                    Yermak and Tyler Hicks              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/21/world/a Australian Trial Paused Over Journalist
2022-06-21   2022-06-22 ustralia/brittany-higgins-rape-trial-delay.html Remark                                      By Yan Zhuang                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/world/e
                        urope/merrick-garland-ukraine-war-              US Taps a Hunter of ExNazis to Help Ukraine
2022-06-21   2022-06-22 crimes.html                                     Track Russian War Criminals                 By Glenn Thrush                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/world/e Labor Dispute Spurs UK Railway Strike
2022-06-21   2022-06-22 urope/uk-train-rail-strike.html                 Upending Travel for Millions                By Mark Landler and Eshe Nelson   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/world/e Wests Plan to Cut Russias Oil Sales Backfires By Victoria Kim Clifford Krauss
2022-06-21   2022-06-22 urope/ukraine-russian-oil-embargo.html          as East Steps In                            and Anton Troianovski             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/world/
                        middleeast/netanyahu-israel-government-         As Government Collapses Netanyahu Makes By Patrick Kingsley and Isabel
2022-06-21   2022-06-22 collapse.html                                   Case to Lead Israel Again                   Kershner                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/article/israel-
2022-06-21   2022-06-22 government-elections.html                       Why Does Israel Have So Many Elections      By Isabel Kershner                TX 9-179-521   2022-08-01



                                                                                 Page 3911 of 5793
                        https://www.nytimes.com/2022/06/21/arts/tele
                        vision/cosby-verdict-sexual-assault-         Cosby Loses Lawsuit Over Sexual Assault Of By Graham Bowley Lauren Herstik
2022-06-22   2022-06-22 damages.html                                 Teenager in 1975                           and Douglas Morino              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/21/nyregio Making Closing Pitches 4 New York
2022-06-22   2022-06-22 n/republican-debate-newsmax-governor.html Candidates Play to the GOP Base             By Jesse McKinley               TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/21/us/polit Britt Wins Primary in Alabama as Trump
2022-06-22   2022-06-22 ics/britt-alabama-georgia-trump.html        Suffers More Losses in Georgia            By Shane Goldmacher             TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/22/insider/
                        on-the-congo-river-following-a-loggers-
2022-06-22   2022-06-22 dangerous-journey.html                      Reporting From the Congo River            By Dionne Searcey               TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/22/sports/b Surprise Stars Lurk in a Year Deep With
2022-06-22   2022-06-22 asketball/nba-draft-preview.html            Talent                                    By David Gardner                TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/22/sports/h After a Dominant Start to the Series the
2022-06-22   2022-06-22 ockey/avalanche-lightning-stanley-cup.html Avalanche Now Look to Regroup              By Ben Shpigel                  TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/22/us/polit
2022-06-22   2022-06-22 ics/xinjiang-uyghur-forced-labor-law.html   Law Fighting Forced Labor To Hit Trade    By Ana Swanson                  TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/22/world/a Suspicions Swirl Anew Over Theft From      By Tileni Mongudhi and John
2022-06-22   2022-06-22 frica/south-africa-farmgate.html            South African Leader                      Eligon                          TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/13/well/mi Here to Help How to Help a Loved One
2022-06-13   2022-06-23 nd/suicidal-thoughts-help.html              Having Suicidal Thoughts                  By Abby Ellin                   TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/16/movies/
                        michael-blackwood-christian-blackwood-
2022-06-16   2022-06-23 movies.html                                 Excavating the Artists Behind the Art     By Nicolas Rapold               TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/17/arts/mu San Antonio Symphony Will File for
2022-06-17   2022-06-23 sic/san-antonio-symphony-bankruptcy.html Bankruptcy                                   By Javier C Hernndez            TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/18/opinion
2022-06-18   2022-06-23 /ivf-abortion-roe-v-wade.html               What Happens to IVF if Roe Falls          By Ruthie Ackerman              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/19/opinion
2022-06-19   2022-06-23 /asian-american-chin.html                   How I Became an Asian American            By David Shih                   TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/20/arts/mu
2022-06-20   2022-06-23 sic/joan-shelley-the-spur.html              She Found Healing in Rural Lifes Seasons  By Grayson Haver Currin         TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/20/style/an
2022-06-20   2022-06-23 dreas-anastasis-anna-wintour-bob.html       Behind Fashions Big Bob                   By Nick Haramis                 TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/20/style/le
2022-06-20   2022-06-23 gends-of-drag-book.html                     The Neglected Legacy of Drag Trailblazers By Christopher Barnard          TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/21/opinion
                        /environment/climate-change-greenhouses-    That Tomato on Your Burger Is Warming the
2022-06-21   2022-06-23 drought-indoor-farming.html                 Planet                                    By William Alexander            TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/21/theater/ Company Revival Will End Its Broadway Run
2022-06-21   2022-06-23 company-broadway-closing.html               on July 31                                By Michael Paulson              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/21/us/new- Thousands Lost Everything In Fire Set by
2022-06-21   2022-06-23 mexico-wildfire-forest-service.html         Forest Service                            By Simon Romero                 TX 9-179-521     2022-08-01




                                                                                Page 3912 of 5793
                        https://www.nytimes.com/2022/06/22/arts/dan
                        ce/flamenco-vivo-carlota-santana-fronteras-
2022-06-22   2022-06-23 review.html                                 Flamenco Within and Beyond a Boundary      By Brian Seibert                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/arts/des
                        ign/mass-shooting-memorials-san-bernardino-
2022-06-22   2022-06-23 pulse-newtown.html                          Memorials That Move Beyond Grief           By Patricia Leigh Brown             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/books/r
                        eview-immense-world-animal-senses-ed-
2022-06-22   2022-06-23 yong.html                                   An Enthralling Tour Of Nonhuman Reality By Jennifer Szalai                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/busines
2022-06-22   2022-06-23 s/china-metoo-alibaba-rape.html             China Gives Jail Sentence In Rape Case     By Daisuke Wakabayashi              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/busines First Pineapples Now Fish China Tries to
2022-06-22   2022-06-23 s/china-taiwan-grouper-ban.html             Squeeze Taiwan                             By Amy Chang Chien                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/busines Labor Board Asks Court To Constrain
2022-06-22   2022-06-23 s/economy/starbucks-labor-board.html        Starbucks                                  By Noam Scheiber                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/busines
2022-06-22   2022-06-23 s/irs-tax-return-backlog.html               Watchdog Faults IRS Over Delays in Refunds By Alan Rappeport                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/busines Fox Corp Is Not Spared From Defamation
2022-06-22   2022-06-23 s/media/fox-news-dominion-suit.html         Lawsuit                                    By Jeremy W Peters                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/busines
                        s/media/rupert-murdoch-divorce-jerry-       Murdoch and Fourth Wife Are Said to Be     By Jim Rutenberg and Benjamin
2022-06-22   2022-06-23 hall.html                                   Divorcing                                  Mullin                              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/22/busines Semafor Prepares to Enter Tricky Digital      By Katie Robertson and Benjamin
2022-06-22   2022-06-23 s/media/semafor-ben-smith-justin-smith.html Market                                       Mullin                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/busines
2022-06-22   2022-06-23 s/powell-fed-inflation-recession.html       Powell Calls Recession A Possibility         By Jeanna Smialek                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/busines Rising Food Prices Push Inflation Rate in
2022-06-22   2022-06-23 s/uk-inflation-rate.html                    Britain to 91 a 40Year High                  By Eshe Nelson                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/busines
2022-06-22   2022-06-23 s/wine-liquor-scam-elderly.html             Wine and Whiskey Scheme Called a Fraud       By Livia AlbeckRipka              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/health/ UK Urging Vaccinations Amid Signs Of          By Apoorva Mandavilli and Euan
2022-06-22   2022-06-23 uk-polio-london-poliovirus.html             Poliovirus                                   Ward                              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/movies/
                        penelope-cruz-antonio-banderas-
2022-06-22   2022-06-23 interview.html                              Spanish Stars Aligned at Last                By Carlos Aguilar                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/nyregio OcasioCortez Endorses Archila for Lt          By Jeffery C Mays and Grace
2022-06-22   2022-06-23 n/aoc-ana-maria-archila.html                Governor                                     Ashford                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/nyregio DNA Links Torso Killer To a Body Found in
2022-06-22   2022-06-23 n/dna-torso-killer-long-island.html         1968                                         By Ashley Southall                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/nyregio Jurors Find That Driver in Fatal Times Square
2022-06-22   2022-06-23 n/driver-times-square-attack-terrorism.html Attack Was Mentally Ill                      By Colin Moynihan                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/nyregio Adams Admits Owning Undisclosed               By Dana Rubinstein William K
2022-06-22   2022-06-23 n/eric-adams-brooklyn-apartment.html        Apartment                                    Rashbaum and Michael Rothfeld     TX 9-179-521   2022-08-01




                                                                                Page 3913 of 5793
                        https://www.nytimes.com/2022/06/22/nyregio Jewish Political Clout at Risk In a Changing
2022-06-22   2022-06-23 n/jewish-congress-nadler-nyc.html          New York City                                  By Nicholas Fandos           TX 9-179-521    2022-08-01
                                                                                                                  By Emma G Fitzsimmons Kimiko
                        https://www.nytimes.com/2022/06/22/nyregio Lines Form as Vaccinations Kick Off For        de FreytasTamura and Ta
2022-06-22   2022-06-23 n/nyc-kids-vaccines.html                      Children Under 5 in New York City           Kvetenadze                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/22/nyregio
                        n/nyc-subway-accessibility-disabilities-
2022-06-22   2022-06-23 elevators.html                                Subways Slow Ride To 95 Accessibility       By Michael Gold               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/nyregio 3 City Detainees Die Only Days Apart           By Jonah E Bromwich and Jan
2022-06-22   2022-06-23 n/rikers-inmate-deaths.html                   Bringing the Years Total to 9               Ransom                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/opinion
2022-06-22   2022-06-23 /republican-attack-gay-rights.html            Trying to Build A Gay Ghetto                By Charles M Blow             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/sports/f
                        ootball/dan-snyder-harassment-news-           Snyder Undercut Harassment Inquiry Panel
2022-06-22   2022-06-23 congress.html                                 Finds                                       By Jenny Vrentas              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/sports/f
                        ootball/roger-goodell-congress-dan-           Goodell Defends Actions of League Not of
2022-06-22   2022-06-23 snyder.html                                   Teams Owner                                 By Jenny Vrentas              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/sports/f Tony Siragusa Dead at 55 Won a Title In
2022-06-22   2022-06-23 ootball/tony-siragusa-dies.html               Baltimore                                   By Emmanuel Morgan            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/sports/g Under Pressure From a New Rival the PGA
2022-06-22   2022-06-23 olf/monahan-pga-liv.html                      Tour Defends Its Turf                       By Bill Pennington            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/sports/
                        moritz-seider-red-wings-calder-trophy-rookie-
2022-06-22   2022-06-23 of-the-year.html                              The Red Wings Sure Can Pick Em              By Neal E Boudette            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/style/m
2022-06-22   2022-06-23 eta-avatar-store-balenciaga-prada.html        The Avatars Wear Prada and Balenciaga and   By Vanessa Friedman           TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/22/style/mi
2022-06-22   2022-06-23 lan-fashion-week-mens-armani-cucinelli.html Dressing Simply Isnt So Simple                By Guy Trebay                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/technol A Seattle StartUp Claims a Big Step For
2022-06-22   2022-06-23 ogy/fusion-zap-energy.html                   Fusion Energy                                By John Markoff               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/technol
                        ogy/personaltech/buy-now-pay-later-afterpay-
2022-06-22   2022-06-23 klarna-affirm.html                           Buy Now Pay Later Think Twice                By Brian X Chen               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/theater/ James Rado CoCreator of a Snaggy Shaggy
2022-06-22   2022-06-23 james-rado-dead.html                         Sensation Dies at 90                         By Barry Singer               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/theater/ Celebrating 50 Years Of Experimental
2022-06-22   2022-06-23 mabou-mines-anniversary.html                 Theater                                      By Elisabeth Vincentelli      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/us/andr DeSantiss Rival in 2018 Race Is Charged
2022-06-22   2022-06-23 ew-gillum-conspiracy-wire-fraud.html         With Conspiracy and Fraud                    By Patricia Mazzei            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/us/daun Family to Receive 32 Million For Minnesota
2022-06-22   2022-06-23 te-wright-settlement-brooklyn-center.html    Police Shooting                              By Jesus Jimnez               TX 9-179-521   2022-08-01




                                                                                 Page 3914 of 5793
                        https://www.nytimes.com/2022/06/22/us/geor Murder Conviction Is Overturned for Georgia
2022-06-22   2022-06-23 gia-supreme-court-hot-car-death.html        Father Whose Toddler Died in Hot Car        By Michael Levenson           TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/22/us/polit Biden Pressures Congress to Put Gas Tax on By Zolan KannoYoungs and Lydia
2022-06-22   2022-06-23 ics/biden-gas-tax-holiday.html              Hold                                        DePillis                      TX 9-179-521        2022-08-01
                        https://www.nytimes.com/2022/06/22/us/polit High Inflation Complicates Deliberations on By Zolan KannoYoungs Jim
2022-06-22   2022-06-23 ics/biden-student-debt-inflation.html       Student Debt Relief                         Tankersley and Stacy Cowley   TX 9-179-521        2022-08-01

                        https://www.nytimes.com/2022/06/22/us/polit In Boeberts District Democrats Cross to Vote
2022-06-22   2022-06-23 ics/boebert-colorado-primary-democrats.html in Primary                                   By Jonathan Weisman               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/us/polit
2022-06-22   2022-06-23 ics/brittney-griner-letter-biden.html       Biden Urged To Get Griner Out of Russia      By Maggie Haberman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/us/polit 14 Republicans Act to Advance Gun Safety
2022-06-22   2022-06-23 ics/gun-bill-senate-republicans.html        Bill                                         By Emily Cochrane                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/us/polit Subpoenas For 4 People In Inquiry Of         By Alan Feuer and Maggie
2022-06-22   2022-06-23 ics/justice-dept-jan-6-subpoenas.html       Electors                                     Haberman                          TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/22/us/polit Proud Boys Trial Delayed To Avoid Panel
2022-06-22   2022-06-23 ics/proud-boys-sedition-conspiracy-trial.html Overlap                                     By Alan Feuer                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/us/polit Many of Moscows Cyberattacks to Fortify       By David E Sanger and Julian E
2022-06-22   2022-06-23 ics/russia-ukraine-cyberattacks.html          War Were Thwarted Study Says                Barnes                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/us/polit Defense Bill Calls for Assessment of Allies
2022-06-22   2022-06-23 ics/us-military-afghan-ukraine.html           Military Capabilities                       By Julian E Barnes               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/us/uval Uvalde School Superintendent Places Police
2022-06-22   2022-06-23 de-police-chief-administrative-leave.html     Chief on Leave                              By J David Goodman               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/world/a Deadly Quake Strikes Afghanistan Where         By Safiullah Padshah Alissa J
2022-06-22   2022-06-23 sia/earthquake-afghanistan-deaths.html        Sorrows Never Cease                         Rubin and Mike Ives              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/22/world/a Until We Get Justice Why Families Are Suing
2022-06-22   2022-06-23 sia/north-korea-lawsuits-compensation.html North Korea                                 By Mike Ives and John Yoon          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/world/b
                        oris-johnson-uk-by-elections-wakefield-    2 British Parliament Elections Will Measure
2022-06-22   2022-06-23 tiverton.html                              Damage to Johnson                           By Mark Landler                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/world/e What Turkey Wants to Agree to Let Finland
2022-06-22   2022-06-23 urope/finland-sweden-turkey-nato.html      and Sweden Into NATO                        By Steven Erlanger                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/world/e An Anchor of Resistance Holding On in       By Roger Cohen and Laetitia
2022-06-22   2022-06-23 urope/ukraine-mykolaiv-russia.html         Ukraine                                     Vancon                              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/22/world/e Gaining in the East Russia Threatens to Seize By Thomas GibbonsNeff Natalia
2022-06-22   2022-06-23 urope/ukraine-russia-lysychansk-luhansk.html 2 Major Cities                              Yermak and Alan Yuhas             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/world/
                        middleeast/saudi-prince-mbs-erdogan-         Saudi Leader Visits Turkey in Move to Mend By Cora Engelbrecht and Safak
2022-06-22   2022-06-23 turkey.html                                  Rift Over a Journalists Murder              Timur                             TX 9-179-521   2022-08-01




                                                                                 Page 3915 of 5793
                        https://www.nytimes.com/interactive/2022/06/
                        22/us/shootings-police-response-uvalde-                                                   By Larry Buchanan and Lauren
2022-06-22   2022-06-23 buffalo.html                                 Who Stops a Bad Guy With a Gun               Leatherby                       TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/22/theater/
2022-06-23   2022-06-23 corsicana-review.html                        Finding Beauty Wrapped in Sorrow             By Jesse Green                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/22/us/polit Allies of Trump Regret Decision To Spurn
2022-06-23   2022-06-23 ics/jan-6-committee-republicans.html         Panel                                        By Luke Broadwater              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/busines
2022-06-23   2022-06-23 s/europe-natural-gas-russia.html             Europe Feels Gas Crunch From Russia          By Stanley Reed and Melissa Eddy TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/insider/
2022-06-23   2022-06-23 cade-metz-technology-reporter.html           Reporting on the Future Right Now            By Emmett Lindner               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/sports/b
                        asketball/wnba-rhyne-howard-atlanta-         Atlanta Cleaned House Drafted Aggressively
2022-06-23   2022-06-23 dream.html                                   and Changed Its Fortunes                     By Erica L Ayala                TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/23/sports/s
2022-06-23   2022-06-23 occer/shakhtar-donetsk-ukraine-soccer.html The Stranded Sons Of Shakhtar Donetsk          By Tariq Panja                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/style/el
2022-06-23   2022-06-23 vis-fashion.html                            He Broke Fashion Boundaries Too               By Guy Trebay                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/style/pe
2022-06-23   2022-06-23 rfume-sex-gender.html                       When Did Perfume Stop Being About Sex         By Rachel Strugatz              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/us/polit A Case Against Trump Is Built Brick by
2022-06-23   2022-06-23 ics/republicans-jan-6-trump.html            Brick Mainly by Republicans                   By Shane Goldmacher             TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/15/arts/des Christies to Auction Rap Pioneers
2022-06-15   2022-06-24 ign/kool-herc-christies-auction.html        Memorabilia                                   By Robin Pogrebin               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/19/movies/
2022-06-19   2022-06-24 civil-ben-crump-review.html                 Civil Ben Crump                               By Lisa Kennedy                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/21/movies/
2022-06-21   2022-06-24 granada-nights-review.html                  Granada Nights                                By Nicolas Rapold               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/21/movies/
2022-06-21   2022-06-24 the-story-wont-die-review.html              The Story Wont Die                            By Devika Girish                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/21/opinion
2022-06-21   2022-06-24 /camping-parks-access.html                  We All Deserve a Chance to Camp               By Michael Levy                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/21/technol
2022-06-21   2022-06-24 ogy/mapquest-internet-zombies.html          MapQuest and Other Internet Zombies           By Shira Ovide                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/22/arts/des
                        ign/zen-freer-gallery-art-monks-japan-
2022-06-22   2022-06-24 washington-review.html                      Maverick Monks and Nothingness                By Jason Farago                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/22/arts/mu Meghan Stabile 39 Who Linked Jazz And
2022-06-22   2022-06-24 sic/meghan-stabile-dead.html                HipHop to Draw Young Audiences                By Neil Genzlinger              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/22/arts/mu
2022-06-22   2022-06-24 sic/muna-band-interview.html                After Some Bumps a Fresh Start for Muna       By Dani Blum                    TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/22/busines
                        s/economy/fed-recession-inflation-interest- Rates Recession Risks And the Feds Blunt
2022-06-22   2022-06-24 rate-explained.html                         Tool                                          By Jeanna Smialek               TX 9-179-521    2022-08-01



                                                                                Page 3916 of 5793
                        https://www.nytimes.com/2022/06/22/busines An Unprecedented Shortage of Sriracha Sauce
2022-06-22   2022-06-24 s/sriracha-shortage.html                     Is Taking Some Spice Out of Life           By Christine Chung              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/opinion Title IX Hasnt Done Enough for Womens
2022-06-22   2022-06-24 /title-ix.html                               Sports                                     By Lindsay Crouse               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/sports/o
2022-06-22   2022-06-24 lympics/transgender-athletes-fina.html       Ruling Again Roils Transgender Debate      By Jer Longman                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/sports/t Title IX Promised Gender Equity But Who
2022-06-22   2022-06-24 itle-ix-gender-parents.html                  Enforced It Parents                        By Bill Pennington              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/sports/
2022-06-22   2022-06-24 what-is-title-ix.html                        Understanding The Protections              By Remy Tumin                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/movies/
2022-06-23   2022-06-24 chernobyl-the-lost-tapes-review.html         Chernobyl The Lost Tapes                   By Ben Kenigsberg               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/movies/
2022-06-23   2022-06-24 love-gelato-review.html                      Love amp Gelato                            By Teo Bugbee                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/sports/t
                        rumpet-bloodhound-wins-westminster-dog-
2022-06-23   2022-06-24 show.html                                    Who Aint Nothin Now                        By Sarah Lyall and Kris Rhim    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/arts/art-
2022-06-23   2022-06-24 climate-change-environment.html              Creating a more sustainable art world      By David Kaufman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/arts/dan
                        ce/mariana-valencia-heera-abrons-arts-
2022-06-23   2022-06-24 center.html                                  Dancing Across a 25Year Age Gap            By Siobhan Burke                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/arts/des
                        ign/black-artists-melancholia-bard-
2022-06-23   2022-06-24 review.html                                  Encountering Gloom and Painting It Black   By Holland Cotter               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/arts/jeff-
2022-06-23   2022-06-24 koons-art-moon.html                          Loving art to the moon and back            By Ted Loos                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/arts/mu
                        sic/soccer-mommy-sometimes-forever-
2022-06-23   2022-06-24 review.html                                  Exploring Extremes Of Misery And Joy       By Jon Pareles                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/arts/tele
2022-06-23   2022-06-24 vision/loot-review-maya-rudolph.html         SelfDiscovery on an 87 Billion Budget      By Mike Hale                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/arts/tele
2022-06-23   2022-06-24 vision/the-bear-the-split-queen.html         This Weekend I Have                        By Margaret Lyons               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/books/l
2022-06-23   2022-06-24 idia-yuknavitch-thrust.html                  Writing to Defy the Tyranny of the Past    By Kate Dwyer                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/busines 7Eleven Franchisee Who Rebelled Loses
2022-06-23   2022-06-24 s/7-eleven-franchisee-court.html             Hours Case                                 By Ben Dooley and Hisako Ueno   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/busines
2022-06-23   2022-06-24 s/art-challenges-climate-nft.html            Art confronts daunting challenges          By Farah Nayeri                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/busines
2022-06-23   2022-06-24 s/citadel-offices-miami.html                 Hedge Fund Cites Crime for Leaving Chicago By Lauren Hirsch                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/busines Fed Says Stress Tests Reveal Banks Can Ride
2022-06-23   2022-06-24 s/fed-banks-recession.html                   Out Recession                              By Emily Flitter                TX 9-179-521   2022-08-01




                                                                               Page 3917 of 5793
                        https://www.nytimes.com/2022/06/23/busines Germany Confirms a Natural Gas Crisis and
2022-06-23   2022-06-24 s/germany-russia-gas-emergency.html         Warns of Possible Rationing                  By Melissa Eddy and Stanley Reed TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/busines Fed Officials Pledge Their Commitment To
2022-06-23   2022-06-24 s/powell-fed-lower-inflation.html           Fighting Inflation                           By Jeanna Smialek               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/busines
2022-06-23   2022-06-24 s/student-loan-debt-fraud-settlement.html   Student Debt Is Wiped Out For 200000         By Stacy Cowley                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/climate Biden Restoring Definition of Wildlife
2022-06-23   2022-06-24 /biden-endangered-species-habitat.html      Habitat That Was Narrowed Under Trump        By Catrin Einhorn               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/health/f FDA Tells Juul to End Sales of ECigarettes   By Matt Richtel and Andrew
2022-06-23   2022-06-24 da-juul-ecigarettes-ban.html                And Related Products                         Jacobs                          TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/health/ Researchers Zero In On Origin of Outbreak
2022-06-23   2022-06-24 monkeypox-origin-mutations.html             Of Monkeypox Virus                           By Apoorva Mandavilli           TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/movies/
2022-06-23   2022-06-24 apples-review-forget-me-not.html            Apples                                       By Beatrice Loayza              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/movies/
                        beavis-and-butt-head-do-the-universe-
2022-06-23   2022-06-24 review.html                                 Beavis and ButtHead Do the Universe          By Glenn Kenny                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/movies/
2022-06-23   2022-06-24 elvis-review.html                           Elvis Reanimated                             By AO Scott                     TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/movies/
2022-06-23   2022-06-24 flux-gourmet-review.html                    Sounds With a Taste Worth Acquiring          By AO Scott                     TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/movies/ A Bourgeois Sendup Can Still Flaunt Its
2022-06-23   2022-06-24 luis-bunuel-discreet-charm-bourgeois.html   Charms                                       By J Hoberman                   TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/23/movies/
2022-06-23   2022-06-24 marcel-the-shell-with-shoes-on-review.html What Happens When a Mollusk Goes Meta         By Manohla Dargis               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/movies/
2022-06-23   2022-06-24 olga-review.html                           Olga                                          By Austin Considine             TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/movies/
2022-06-23   2022-06-24 the-black-phone-review.html                Fewer Goose Bumps More Heart                  By Jeannette Catsoulis          TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/movies/
2022-06-23   2022-06-24 the-human-trial-review.html                The Human Trial                               By Glenn Kenny                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/movies/
2022-06-23   2022-06-24 trevor-the-musical-review.html             Trevor The Musical                            By Amy Nicholson                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/movies/
2022-06-23   2022-06-24 vedette-review-swiss-cow.html              Gaze and Graze Gaze and Graze                 By Manohla Dargis               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/movies/ Putting a Focus on Paris But Not the City
2022-06-23   2022-06-24 we-nous-review.html                        Center                                        By Devika Girish                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/movies/
2022-06-23   2022-06-24 wildhood-review.html                       Wildhood                                      By Natalia Winkelman            TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/nyregio Relatives of Buffalo Shooting Victims
2022-06-23   2022-06-24 n/buffalo-victims-ny-gun-control-law.html  Angered by Ruling                             By Troy Closson                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/23/nyregio US Seeks at Least 30 Years in Prison For
2022-06-23   2022-06-24 n/ghislaine-maxwell-prison-sentence.html   Maxwell in Aiding Abuse by Epstein            By Benjamin Weiser              TX 9-179-521    2022-08-01




                                                                                Page 3918 of 5793
                        https://www.nytimes.com/2022/06/23/nyregio
                        n/hochul-new-york-gun-law-supreme-          Hochul Pledges New Gun Legislation After By Jonah E Bromwich Ashley
2022-06-23   2022-06-24 court.html                                  Shocking Supreme Court Ruling             Southall and Grace Ashford      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/nyregio Amtrak Seeks to Add Tracks at Penn Station
2022-06-23   2022-06-24 n/penn-station-tracks-amtrak.html           Where Could They Fit                      By Patrick McGeehan             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/opinion
2022-06-23   2022-06-24 /inflation-recession-monetarism.html        Beware the Dangers of SadoMonetarism      By Paul Krugman                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/sports/b Why Starting Pitchers Look So Good in
2022-06-23   2022-06-24 aseball/dodgers-pitching.html               Dodger Blue                               By Tyler Kepner                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/sports/b From Tattoos to Malcolm X TShirts Three
2022-06-23   2022-06-24 asketball/nba-draft-style-red-carpet.html   Top Draft Picks Talk Style                By Kris Rhim                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/sports/f Hugh McElhenny a Thrilling Hall of Fame
2022-06-23   2022-06-24 ootball/hugh-mcelhenny-dead.html            Halfback Is Dead at 93                    By Richard Goldstein            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/sports/h
                        ockey/avalanche-lightning-stanley-cup-      A Disputed Goal Stands and Colorado Heads
2022-06-23   2022-06-24 finals.html                                 Home With the Title in Sight              By Ben Shpigel                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/sports/o
                        lympics/anita-alvarez-world-aquatics-       Swimmer Is Fine After Fainting And Being
2022-06-23   2022-06-24 championships.html                          Rescued by Her Coach                      By Andrew Das                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/technol
                        ogy/mark-zuckerberg-meta-midterm-           Zuckerberg Said to Turn From Focus On     By Sheera Frenkel and Cecilia
2022-06-23   2022-06-24 elections.html                              Elections                                 Kang                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/theater/
2022-06-23   2022-06-24 lessons-in-survival-review.html             The Past Clearly Echoes in the Present    By Laura CollinsHughes          TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/23/us/birx- Birx Trumps Covid Coordinator Said White
2022-06-23   2022-06-24 trump-covid-guidance.html                   House Consistently Watered Down Guidance By Noah Weiland                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/us/bost Hospital Sued After Losing a Newborns
2022-06-23   2022-06-24 on-hospital-baby-body-lost.html             Remains                                    By Maria Cramer                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/us/polit
                        ics/alex-holder-jan-6-trump-                Documentary Filmmaker Emerges As
2022-06-23   2022-06-24 documentary.html                            Potentially Key Jan 6 Witness              By Maggie Haberman             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/us/polit
                        ics/biden-transgender-students-             Biden Rules Aim to Bar Discrimination
2022-06-23   2022-06-24 discrimination.html                         Against Transgender Students               By Erica L Green               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/us/polit
                        ics/jan-6-hearing-trump-justice-            Trump StrongArmed Justice Dept to Subvert By Luke Broadwater and Katie
2022-06-23   2022-06-24 department.html                             Vote                                       Benner                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/us/polit A Spectacle for a Nation or Just Those Who
2022-06-23   2022-06-24 ics/jan-6-hearings-photos.html              Tuned In                                   By Sinna Nasseri               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/us/polit US Raids Trump Allys Home in Election      By Alan Feuer Adam Goldman and
2022-06-23   2022-06-24 ics/jeffrey-clark-trump-justice-dept.html   Inquiry                                    Maggie Haberman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/us/polit Senates Bill Represents A Breakthrough but By Stephanie Lai and Emily
2022-06-23   2022-06-24 ics/senate-gun-bill.html                    Rules Fell Short for Democrats             Cochrane                       TX 9-179-521   2022-08-01




                                                                               Page 3919 of 5793
                        https://www.nytimes.com/2022/06/23/us/polit
2022-06-23   2022-06-24 ics/senate-supreme-court-guns.html             A Split That Echoes Across the Capital   By Glenn Thrush                   TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/23/us/polit Supreme Court Blocks Lawsuits Against
2022-06-23   2022-06-24 ics/supreme-court-miranda-lawsuits.html        Police Officers Over Miranda Violations  By Adam Liptak                    TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/23/us/supr Justices Nullify New Yorks Limits on Guns in
2022-06-23   2022-06-24 eme-court-ny-open-carry-gun-law.html           Public                                   By Adam Liptak                    TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/23/us/surfs One Button Might Have Saved Lives in
2022-06-23   2022-06-24 ide-condo-collapse-alarm.html                  Florida Condo Disaster                   By Patricia Mazzei and Mike Baker TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/23/world/a
                        frica/south-africa-corruption-jacob-zuma-cyril-Inquiry in South Africa Finds Widespread
2022-06-23   2022-06-24 ramaphosa.html                                 Graft Leaving Few Unscathed              By Lynsey Chutel                  TX 9-179-521      2022-08-01

                        https://www.nytimes.com/2022/06/23/world/a In Ecuador Costs of Fuel And Food Ignite        By Jos Mara Len Cabrera and
2022-06-23   2022-06-24 mericas/quito-ecuador-protests-inflation.html Protests                                     Megan Janetsky                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/world/a                                                 By Christina Goldbaum Safiullah
                        sia/afghanistan-earthquake-survivors-         Grim Tales of Survival in Afghanistan as Aid Padshah Kyle Crichton and Kiana
2022-06-23   2022-06-24 relief.html                                   Workers Rush In                              Hayeri                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/world/a
2022-06-23   2022-06-24 sia/china-floods-heatwaves.html               In China Extreme Flooding and Heat           By Tiffany May                    TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/23/world/e How an Abortion Ban Trapped a Tourist in
2022-06-23   2022-06-24 urope/malta-abortion-andrea-prudente.html Crisis on Malta                                 By Amanda Taub                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/world/e When Exactly Did Mount Vesuvius Erupt
2022-06-23   2022-06-24 urope/pompeii-mount-vesuvius-erupt.html    New Research Shifts Date by 2 Months           By Elisabetta Povoledo             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/world/e Russian Elites Refrain From Challenging
2022-06-23   2022-06-24 urope/russia-war-oligarchs-putin.html      Putin                                          By Anton Troianovski               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/world/e Workers Flee Nuclear Plant Amid Threat Of
2022-06-23   2022-06-24 urope/ukraine-nuclear-plant-russian.html   Detention                                      By Marc Santora                 TX 9-179-521      2022-08-01
                                                                                                                  By Matina StevisGridneff Thomas
                        https://www.nytimes.com/2022/06/23/world/e Ukraine Becomes EU Candidate in Show of        GibbonsNeff and Michael
2022-06-23   2022-06-24 urope/ukraine-russia-eu-candidate.html       Solidarity                                   Levenson                        TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/23/world/
                        middleeast/iran-revolutionary-guards-                                                     By Cora Engelbrecht and Farnaz
2022-06-23   2022-06-24 intelligence-chief-hossein-taeb.html         Iran Dismisses Powerful Intelligence Chief   Fassihi                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/23/us/
                        gun-control-senate-supreme-court/senate-gun- Senate Passes Bipartisan Gun Bill After a    By Annie Karni and Emily
2022-06-23   2022-06-24 control-bill                                 DecadesLong Impasse                          Cochrane                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/movies/
2022-06-24   2022-06-24 beba-review.html                             Beba                                         By Concepcin de Len                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/sports/b
                        asketball/nba-draft-orlando-magic-paolo-
2022-06-24   2022-06-24 banchero.html                                Dukes Banchero Goes To the Magic at No 1     By Tania Ganguli and Kris Rhim     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/theater/
                        epiphany-review-brian-watkins-lincoln-
2022-06-24   2022-06-24 center.html                                  Alcohol Is Served and Insecurity Arrives     By Maya Phillips                   TX 9-179-521   2022-08-01



                                                                                 Page 3920 of 5793
                                                                    Panel Provides New Evidence That
                        https://www.nytimes.com/2022/06/23/us/polit Republicans in Congress Had Preemptively      By Maggie Haberman Michael S
2022-06-24   2022-06-24 ics/jan-6-pardons.html                      Sought Pardons                                Schmidt and Alan Feuer            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/busines
2022-06-24   2022-06-24 s/economy/fed-inflation.html                Fed Makes a New Playbook                      By Jeanna Smialek                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/movies/
2022-06-24   2022-06-24 rise-review-to-be-giannis.html              Rise                                          By Calum Marsh                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/arts/mu
                        sic/american-orchestras-women-
2022-06-21   2022-06-25 minorities.html                             Orchestras Move Past The Habitual Canon       By Javier C Hernndez              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/arts/cha George Chauncey a Scholar of Gay History
2022-06-22   2022-06-25 uncey-kluge-library-congress.html           Wins Kluge Prize                              By Kalia Richardson               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/travel/n Nonbinary Air Travelers Continue to Face a
2022-06-22   2022-06-25 onbinary-airline-passengers-tickets.html    MaleorFemale World                            By Brian Ng                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/arts/dan
2022-06-23   2022-06-25 ce/broadway-bares-strip-show.html           Shedding Layers for a Good Cause              By Brian Schaefer                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/arts/har Harry Gesner Architect Who Made Houses
2022-06-23   2022-06-25 ry-gesner-dead.html                         Soar In California Dies at 97                 By Penelope Green                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/arts/mu
2022-06-23   2022-06-25 sic/opera-diversity.html                    Opera Lacks Diversity Offstage Study Says     By Javier C Hernndez              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/climate Bidens Inner Circle Weighs Future of
2022-06-23   2022-06-25 /biden-offshore-drilling-climate.html       Offshore Drilling                             By Lisa Friedman                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/nyregio New York Progressives Are on Crusade to
2022-06-23   2022-06-25 n/assembly-primary-ny.html                  Push The Assembly to the Left                 By Grace Ashford                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/nyregio Monkeypox Shot Available For AtRisk New
2022-06-23   2022-06-25 n/monkeypox-vaccine-new-york.html           Yorkers                                       By Sharon Otterman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/sports/o The Florida Teenager Who Broke Bolts
2022-06-23   2022-06-25 lympics/track-sprinter-knighton-bolt.html   Record                                        By Jer Longman                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/arts/dan A Visiting Troupe Arrives With Its Own
2022-06-24   2022-06-25 ce/review-pacific-northwest-ballet.html     Orchestra                                     By Siobhan Burke                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/arts/des
2022-06-24   2022-06-25 ign/documenta-review.html                   Scandal Stills Documentas Buzz                By Siddhartha Mitter              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/arts/des FBI Seizes 25 Paintings In Florida Basquiat
2022-06-24   2022-06-25 ign/fbi-orlando-museum-basquiat.html        Show                                          By Brett Sokol and Matt Stevens   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/arts/des
2022-06-24   2022-06-25 ign/fine-mineral-collecting.html            Coveting chemical compounds                   By Shivani Vora                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/arts/des
2022-06-24   2022-06-25 ign/masterpiece-london-japan-art.html       Rediscovering the joy of simple forms         By David Belcher                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/arts/des
2022-06-24   2022-06-25 ign/raphael-national-gallery-london.html    A Raphael show at the right time              By Farah Nayeri                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/arts/ma
2022-06-24   2022-06-25 sterpiece-london-agha.html                  An artist uses patterns to break patterns     By Ted Loos                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/arts/ma
2022-06-24   2022-06-25 sterpiece-london-art-fair.html              A summer fair makes a comeback                By Farah Nayeri                   TX 9-179-521   2022-08-01




                                                                                 Page 3921 of 5793
                        https://www.nytimes.com/2022/06/24/arts/mu
2022-06-24   2022-06-25 sic/verdi-muti-chicago-symphony-ballo.html A Verdi Farewell to the Windy City            By Zachary Woolfe                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/arts/tele
2022-06-24   2022-06-25 vision/queer-as-folk-heartstopper.html       Diversity as Baseline Not a Finish Line     By Erik Piepenburg                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/busines Firms Are Largely Silent As Justices Overturn By Emma Goldberg and Lora
2022-06-24   2022-06-25 s/abortion-roe-wade-companies.html           Roe                                         Kelley                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/busines Buy Now Pay Later Model Is Changing Gun
2022-06-24   2022-06-25 s/buy-now-pay-later-guns.html                Purchases                                   By Matthew Goldstein              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/busines
                        s/economy/russia-ukraine-grain-exports-      The World Needs A New Breadbasket Can
2022-06-24   2022-06-25 romania.html                                 Romania Meet the Moment                     By Patricia Cohen                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/busines Fed Disclosures Omit Officials Who Ignited
2022-06-24   2022-06-25 s/fed-financial-disclosures-ethics.html      Ethics Scandal                              By Jeanna Smialek                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/busines China and India Emerge As Russias War         By Clifford Krauss Alexandra
2022-06-24   2022-06-25 s/russia-oil-china-india-ukraine-war.html    Financiers                                  Stevenson and Emily Schmall       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/busines
2022-06-24   2022-06-25 s/stocks-bonds-inflation.html                Markets Regain Ground in Positive Week      By Isabella Simonetti             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/health/j                                              By Matt Richtel Lauren Hirsch and
2022-06-24   2022-06-25 uul-ecigarettes-ban.html                     Uncertainty While Juul Wins a Stay          Andrew Jacobs                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/opinion I Prayed and Protested to Outlaw Abortion
2022-06-24   2022-06-25 /abortion-dobbs-roe-pro-life.html            What Now                                    By Karen Swallow Prior            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/opinion
2022-06-24   2022-06-25 /dobbs-ruling-roe-v-wade.html                Half of America Is Now Less Equal           By The Editorial Board            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/opinion The Battle to End Roe Has Changed
2022-06-24   2022-06-25 /roe-v-wade-dobbs-democracy.html             Democracy                                   By Mary Ziegler                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/sports/b It Takes a Lot More Than Bullpen Sessions
2022-06-24   2022-06-25 aseball/joe-musgrove-padres.html             and Batting Practice                        By David Waldstein                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/sports/b Mets Find Hitting Is Easier When They
2022-06-24   2022-06-25 aseball/pete-alonso-mets-breathing.html      Breathe Easily                              By James Wagner                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/sports/n
                        caabasketball/college-basketball-
2022-06-24   2022-06-25 recruiting.html                              Recruiting Trail Reflects a Shifting Game   By Billy Witz                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/sports/o
2022-06-24   2022-06-25 lympics/winter-sports-2026-ioc.html          Nordic Event For Women Is Excluded          By Matthew Futterman              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/sports/t
2022-06-24   2022-06-25 ennis/wimbledon-draw-russia-ban.html         Williamss Early Challenges at Wimbledon     By Christopher Clarey             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/sports/t After Its Entry Into Golf Saudi Arabia Is    By Matthew Futterman and
2022-06-24   2022-06-25 ennis/wta-liv-golf-saudi-arabia.html         Angling To Host Womens Tennis               Christopher Clarey                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/theater/
2022-06-24   2022-06-25 stranger-things-experience-cascando.html     These Stories Need A Hero Thats You         By Alexis Soloski                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/us/abor Turning Point as Chief Justice Loses Grip on
2022-06-24   2022-06-25 tion-supreme-court-roberts.html              the Court                                   By Adam Liptak                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/us/bide Thinking Ahead to Midterms Biden Tells
2022-06-24   2022-06-25 n-roe-abortion.html                          Voters This Is Not Over                     By Zolan KannoYoungs              TX 9-179-521   2022-08-01



                                                                                Page 3922 of 5793
                        https://www.nytimes.com/2022/06/24/us/clare
                        nce-thomas-roe-griswold-lawrence-           Legal Precedents Will Other Rights Come
2022-06-24   2022-06-25 obergefell.html                             Crumbling Down                             By Sheryl Gay Stolberg         TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/24/us/ghos Routine Immigration Flights Become a
2022-06-24   2022-06-25 t-flights-migrant-children.html             Misleading GOP Talking Point               By Miriam Jordan               TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/24/us/polit In an Instant Midterm Contests Are
2022-06-24   2022-06-25 ics/abortion-roe-wade-midterm-elections.html Scrambled                                 By Katie Glueck                TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/24/us/polit Though Trump Paved Way He Fears Effect     By Maggie Haberman and Michael
2022-06-24   2022-06-25 ics/abortion-ruling-trump.html               on GOP                                    C Bender                       TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/24/us/polit
2022-06-24   2022-06-25 ics/democratic-primaries-early-states.html   Scramble for Pole Position on Primaries   By Katie Glueck                TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/24/us/polit US Releases Afghan Held In Detention For 15
2022-06-24   2022-06-25 ics/guantanamo-afghan-prisoner-released.html Years                                       By Carol Rosenberg             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/us/polit House Approves Gun Legislation Sending It
2022-06-24   2022-06-25 ics/gun-control-bill-congress.html           to Biden for Signature                      By Emily Cochrane              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/us/polit
                        ics/havana-syndrome-compensation-            Rules Set Compensation For Victims of
2022-06-24   2022-06-25 payments.html                                Syndrome                                    By Julian E Barnes             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/us/polit USLed Alliance Faces Frustration and Pain of By Michael Crowley and Edward
2022-06-24   2022-06-25 ics/russia-ukraine-biden-sanctions.html      Its Own Over Russia Sanctions               Wong                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/us/polit Bill to Renew Aid for Children Clears
2022-06-24   2022-06-25 ics/school-meal-aid-bill-congress.html       Congress                                    By Stephanie Lai and Linda Qiu TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/us/roe- Ending One Fight and Starting Another in a
2022-06-24   2022-06-25 abortion-us-reaction.html                    Polarized America                           By Kate Zernike                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/us/roe-
2022-06-24   2022-06-25 wade-overturned-supreme-court.html           Roe Overturned                              By Adam Liptak                 TX 9-179-521   2022-08-01
                                                                                                                 By Eric Lipton Shawn Hubler
                        https://www.nytimes.com/2022/06/24/us/state- States Weigh How to Revamp Their Strict     Nicholas BogelBurroughs and
2022-06-24   2022-06-25 gun-laws-permits.html                        PublicCarry Laws                            Serge F Kovaleski              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/us/supr Other Significant Cases Chipping Away at
2022-06-24   2022-06-25 eme-court-cases-roe-wade.html                Roe                                         By Victoria Kim                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/world/a Catholic Church Joins Mexicos Critics After By Natalie Kitroeff and Oscar
2022-06-24   2022-06-25 mericas/mexico-priests-murder.html           the Murder of 2 Jesuit Priests              Lopez                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/world/a Earthquake Aid Flows Into Afghanistan as an By Najim Rahim Cora Engelbrecht
2022-06-24   2022-06-25 sia/afghanistan-earthquake-aid.html          Aftershock Claims More Lives                and Michael Crowley            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/world/a
                        sia/myanmar-aung-san-suu-kyi-coup-           In Myanmar Junta Sends Civilian Chief To
2022-06-24   2022-06-25 solitary.html                                Prison Cell                                 By Richard C Paddock           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/world/e
                        urope/boris-johnson-uk-by-elections-         In Britain Conservatives Losses Are Seen as By Mark Landler and Stephen
2022-06-24   2022-06-25 conservatives.html                           Rebuke of Johnson                           Castle                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/world/e Germany Ends Prohibition Of
2022-06-24   2022-06-25 urope/germany-abortion-law.html              AbortionServices Ads                        By Christopher F Schuetze      TX 9-179-521   2022-08-01



                                                                               Page 3923 of 5793
                        https://www.nytimes.com/2022/06/24/world/e
                        urope/germany-ambassador-amy-              Her Father Fled the Nazis Now Shes the USs
2022-06-24   2022-06-25 gutmann.html                               Top Envoy in Germany                       By Katrin Bennhold                     TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/24/world/e Rail Line to Kaliningrad May Become Flash
2022-06-24   2022-06-25 urope/kaliningrad-russia-rail-sanctions.html Point Between Russia and West           By Andrew Higgins                       TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/24/world/e Running From Strife Ukrainian Teens Hang
2022-06-24   2022-06-25 urope/ukraine-refugees-warsaw-poland.html Out and Hold On in Warsaw                       By Jeffrey Gettleman               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/world/e
                        urope/ukraine-russia-sievvierodonetsk-donbas-Ukraine Withdraws From Battered City of      By Thomas GibbonsNeff Marc
2022-06-24   2022-06-25 lysychansk.html                              Sievierodonetsk                              Santora and Michael Levenson       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/interactive/2022/06/
                        24/us/politics/supreme-court-dobbs-jackson-
2022-06-24   2022-06-25 analysis-roe-wade.html                       The Dobbs v Jackson Decision Annotated       By The New York Times              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/27/us/
                        abortion-roe-wade-supreme-court/what-did-
2022-06-24   2022-06-25 roe-v-wade-say                               What Did Roe Say No Ban Before Viability     By Adam Liptak                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/us/polit Four Weeks of Fraught Talks That at Last      By Annie Karni and Emily
2022-06-25   2022-06-25 ics/guns-bill-senate-negotiations.html       Broke Impasse On New Gun Legislation         Cochrane                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/us/roe- For Collins Decision Is a Betrayal by
2022-06-25   2022-06-25 kavanaugh-collins-notes.html                 Kavanaugh                                    By Carl Hulse                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/world/e                                                By Henrik Pryser Libell and Mike
2022-06-25   2022-06-25 urope/norway-nightclub-shooting.html         2 Killed in Norway In Rare Shooting          Ives                               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/sports/a An International Star Less Familiar at Home
2022-06-25   2022-06-25 utoracing/pikes-peak-hill-climb.html         In the Hills of Pikes Peak                   By Gregory Leporati                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/us/supr
                        eme-court-abortion-contraception-same-sex- A Conservative Supermajority May Be Just
2022-06-25   2022-06-25 marriage.html                                Getting Started                              By Charlie Savage                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/04/19/books/r
                        eview/a-brief-history-of-equality-thomas-
2022-04-19   2022-06-26 piketty.html                                 Pikettys Plan                                By Nicholas Lemann                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/17/books/r
2022-05-17   2022-06-26 eview/daniel-guebel-absolute.html            Family of Geniuses                           By Leo Robson                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/24/books/r
2022-05-24   2022-06-26 eview/frederic-tuten-bar-at-twilight.html    Odes to an Older World                       By Joshua Henkin                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/27/books/r
2022-05-27   2022-06-26 eview/two-wheels-good-jody-rosen.html        How We Roll                                  By Charles Finch                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/05/31/books/r
                        eview/david-hackett-fischer-african-
2022-05-31   2022-06-26 founders.html                                White and Black                              By Drew Gilpin Faust               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/02/books/r
                        eview/the-man-who-broke-capitalism-david-
2022-06-02   2022-06-26 gelles.html                                  The Terminator                               By Kurt Andersen                   TX 9-179-521   2022-08-01




                                                                                 Page 3924 of 5793
                        https://www.nytimes.com/2022/06/05/books/r
                        eview/metaphysical-animals-clare-mac-
2022-06-05   2022-06-26 cumhaill-rachael-wiseman.html                First Lets Kill All the Logical Positivists   By Laura Miller                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/07/books/r
2022-06-07   2022-06-26 eview/nightcrawling-leila-mottley.html       Cover Up                                      By Lauren Christensen           TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/08/books/r
2022-06-08   2022-06-26 eview/virology-joseph-osmundson.html         Reckoning With a Pandemic                     By John Okrent                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/10/books/r
                        eview/twilight-world-werner-herzog-hiroo-
2022-06-10   2022-06-26 onoda.html                                   Hearts of Darkness                            By Liesl Schillinger            TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/13/realesta
2022-06-13   2022-06-26 te/shopping-media-consoles.html              Multipurpose Units To Fit Your Designs        By Tim McKeough                 TX 9-179-521    2022-08-01
                                                                     The Homelessness Emergency What if we
                        https://www.nytimes.com/2022/06/14/headwa treated the loss of housing like a natural
2022-06-14   2022-06-26 y/homeless-housing-crisis-communities.html disaster                                        By Matthew Thompson             TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/14/headwa
2022-06-14   2022-06-26 y/homelessness-houston-shelters.html         The Long Road to a Home                       By Elliot Ross and Lucy Tompkins TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/headwa How Houston Guided 25000 People Into             By Michael Kimmelman Lucy
2022-06-14   2022-06-26 y/houston-homeless-people.html               Homes                                         Tompkins and Christopher Lee     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/headwa
2022-06-14   2022-06-26 y/medicaid-housing-rent-health.html          Is Housing a Health Care Issue                By Lucy Tompkins                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/15/style/bil
2022-06-15   2022-06-26 ly-cotton-interior-designer.html             He Turns Art Lovers Homes Into Galleries      By Ruth La Ferla                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/16/books/r
2022-06-16   2022-06-26 eview/happy-go-lucky-david-sedaris.html      David Sedaris Is Bullish on ThankYou Notes    By Elisabeth Egan               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/16/style/tik
2022-06-16   2022-06-26 tok-viral-music-marketing.html               Entering the Viral Spiral                     By John Herrman                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/17/arts/tele
2022-06-17   2022-06-26 vision/sex-pistols-punk-politics.html        Underselling the Danger of the Sex Pistols    By Simon Reynolds               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/20/movies/
2022-06-20   2022-06-26 black-phone-scott-derrickson.html            Personal Choices Propel a Frightening Film    By Elisabeth Vincentelli        TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/21/arts/mu
2022-06-21   2022-06-26 sic/george-michael-freedom-uncut.html        A Sweet Soul in Fames Harsh Light             By Rob Tannenbaum               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/21/opinion
2022-06-21   2022-06-26 /cancel-culture-friendship.html              If I Get Canceled Let Them Eat Me Alive       By Agnes Callard                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/21/realesta How About a Sweet Summer Breeze as an
2022-06-21   2022-06-26 te/outdoor-dinner-party-ideas.html           Appetizer                                     By Tim McKeough                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/interactive/2022/06/ John Grisham Is Still Battling His Southern
2022-06-21   2022-06-26 21/magazine/john-grisham-interview.html      Demons                                        By David Marchese               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/22/arts/mu
2022-06-22   2022-06-26 sic/anna-netrebko-opera-putin-russia.html    I Am Not Guilty I Am Guilty of Nothing        By Javier C Hernndez            TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/22/magazi
2022-06-22   2022-06-26 ne/frank-ohara-poet.html                     Frank OHara                                   By Ada Calhoun                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/22/magazi
2022-06-22   2022-06-26 ne/how-to-imprint-ducklings.html             How to Imprint Ducklings                      By Malia Wollan                 TX 9-179-521    2022-08-01



                                                                                 Page 3925 of 5793
                        https://www.nytimes.com/2022/06/22/magazi
                        ne/inside-the-push-to-diversify-the-book-
2022-06-22   2022-06-26 business.html                               Can Books Start A New Chapter                 By Marcela Valdes                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/magazi
2022-06-22   2022-06-26 ne/sabyasachi-profile.html                  The Traditionalist                            By Francesca Mari                  TX 9-179-521   2022-08-01
                                                                    Buffet Days The long lunches at the
                        https://www.nytimes.com/2022/06/22/magazi allyoucaneat restaurant are gone but the
2022-06-22   2022-06-26 ne/this-chicken-salad-has-it-all.html       crunchy chicken salad remains                 By Eric Kim                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/magazi
                        ne/what-should-you-do-when-your-partner- What Should You Do When Your Partner
2022-06-22   2022-06-26 lies-about-his-earnings.html                Lies About His Earnings                       By Kwame Anthony Appiah            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/opinion
2022-06-22   2022-06-26 /climate-everest-china.html                 On Everest a Test of Climate Cooperation      By Freddie Wilkinson               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/realesta Modern Island Elegance Steps From the
2022-06-22   2022-06-26 te/anguilla-house-hunting.html              Caribbean                                     By Alison Gregor                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/realesta
2022-06-22   2022-06-26 te/aroid-plants.html                        Peculiar Plants With Addictive Appeal         By Margaret Roach                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/realesta
                        te/east-williamsburg-brooklyn-a-gritty-
2022-06-22   2022-06-26 industrial-vibe-with-pliable-borders.html   A Gritty Industrial Vibe With Pliable Borders By Julie Lasky                     TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/22/realesta
2022-06-22   2022-06-26 te/home-prices-oregon-louisiana-georgia.html                                       625000 By Angela Serratore                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/realesta For Skyline Views Rates for Apartments Go
2022-06-22   2022-06-26 te/top-nyc-rents-brooklyn.html               SkyHigh                                      By Vivian Marino                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/style/na                                               By Jacob Bernstein and Holly
2022-06-22   2022-06-26 ncy-pelosi-husband-car-crash-napa.html       Car Wreck Roils the Pelosis                  Secon                              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/style/ta
2022-06-22   2022-06-26 mpon-shortage-alternatives.html              Trading Tampons for Menstrual Cups           By Anna Grace Lee                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/t-                                                     By Rose Courteau Kate
2022-06-22   2022-06-26 magazine/new-york-city-novels-books.html Novels of New York                               Guadagnino and Miguel Morales      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/theater/
2022-06-22   2022-06-26 black-playwrights-theater-deliverance.html   Deliverance Draped in Loss                   By Maya Phillips                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/arts/mu
2022-06-23   2022-06-26 sic/american-classical-music.html            Three Albums Try to Answer a Question        By Seth Colter Walls               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/magazi
2022-06-23   2022-06-26 ne/falcons-hawks-jersey-shore.html           Angry Birds                                  By Andrew S Lewis                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/magazi
2022-06-23   2022-06-26 ne/poem-love-the-memory-of-it.html           Poem love the memory of it                   By Jay Hopler and Victoria Chang   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/magazi
2022-06-23   2022-06-26 ne/uvalde-reaction-videos.html               Re Action                                    By Reyhan Harmanci                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/nyregio He Won Wimbledon in 51 Then He Left the
2022-06-23   2022-06-26 n/savitt-wimbledon-tennis.html               Spotlight                                    By Alyson Krueger                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/opinion Eric Greitenss Plug for Political Violence Is
2022-06-23   2022-06-26 /eric-greitens-political-violence.html       No Joke                                      By Frank Bruni                     TX 9-179-521   2022-08-01



                                                                                 Page 3926 of 5793
                        https://www.nytimes.com/2022/06/23/opinion
2022-06-23   2022-06-26 /supreme-court-guns-religion.html            Outmaneuvering the Supreme Court            By Aaron Tang            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/opinion
2022-06-23   2022-06-26 /uvalde-evangelicals-guns.html               How God and Guns Got Intertwined            By Peter Manseau         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/realesta
2022-06-23   2022-06-26 te/owning-renting-disparity.html             Costs of Owning Surge Over Renting          By Gregory Schmidt       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/sports/t Despite Critics Title IX Proves Durable and
2022-06-23   2022-06-26 itle-ix-anniversary.html                     FarReaching                                 By Remy Tumin            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/style/a We Need a Doll Who Can Write This
2022-06-23   2022-06-26 merican-girl-memes.html                      Headline                                    By Valeriya Safronova    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/style/ga
2022-06-23   2022-06-26 yflower-boat-party-ty-sunderland.html        A Floating Party Sets Sail Again            By Christopher Barnard   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/style/in
2022-06-23   2022-06-26 fidelity-cheating-forgiveness.html           Trouble Moving On                           By Philip Galanes        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/us/flori They Caught Largest Python Found in
2022-06-23   2022-06-26 da-largest-python.html                       Everglades Its No Reason to Rejoice         By April Rubin           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/us/fren These Popular and Pricey Dogs Might Need
2022-06-23   2022-06-26 ch-bulldog-armed-robbery.html                Their Own Armed Guards                      By Thomas Fuller         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/interactive/2022/06/ Seeking a West Village Rental for Less Than
2022-06-23   2022-06-26 23/realestate/23hunt-dauber.html             3000 Which Option Did She Choose            By Joyce Cohen           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/arts/bax Baxter Black 77 Dies Popular Cowboy Poet
2022-06-24   2022-06-26 ter-black-dead.html                          Who Elevated Genre                          By Clay Risen            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/arts/des
2022-06-24   2022-06-26 ign/buck-ellison-white-men.html              Buck Ellison Seeks Truth in White Lies      By Travis Diehl          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/books/r
                        eview/little-rabbit-alyssa-songsiridej-ones-
                        company-ashley-hutson-last-summer-on-state-
2022-06-24   2022-06-26 street-toya-wolfe.html                       The Shortlist                               By Claire Kohda          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/books/r
2022-06-24   2022-06-26 eview/new-paperbacks.html                    Paperback Row                               By Miguel Salazar        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/busines In Housing Court Bronx Tenants Fight to
2022-06-24   2022-06-26 s/bronx-housing-court-evictions.html         Stay Put                                    By Gregory Schmidt       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/busines
2022-06-24   2022-06-26 s/how-to-invest-stocks-bear-market.html      A Beginners Guide to the Bear Market        By Jeff Sommer           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/busines
                        s/work-friend-roxane-gay-negotating-with-
2022-06-24   2022-06-26 bosses.html                                  To Leave After Leave or Not to Leave        By Roxane Gay            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/climate Simultaneous Heat Waves Push Nations to the
2022-06-24   2022-06-26 /early-heat-waves.html                       Edge Just Days Into Summer                  By Raymond Zhong         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/movies/
2022-06-24   2022-06-26 anime-belle-your-name.html                   Complex Conflicted and Animated             By Charles Solomon       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/nyregio Questions for New Yorks Candidates for
2022-06-24   2022-06-26 n/hochul-zeldin-governor-issues.html         Governor                                    By Nicholas Fandos       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/nyregio You Dont Want to Wear a Mask Just Do It for
2022-06-24   2022-06-26 n/masks-broadway.html                        Hugh                                        By Ginia Bellafante      TX 9-179-521   2022-08-01



                                                                                Page 3927 of 5793
                        https://www.nytimes.com/2022/06/24/nyregio
2022-06-24   2022-06-26 n/the-moth-executive-director.html          Obsessed With Stories and Newsletters    By Alix Strauss            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/nyregio
2022-06-24   2022-06-26 n/truck-beach-access-hamptons.html          Whats Truck Beach With No Trucks         By Amanda M Fairbanks      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/opinion
2022-06-24   2022-06-26 /trump-jan-6-prosecution.html               Trump Is Not Above the Law               By Richard L Hasen         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/realesta When Rising Housing Costs Rush
2022-06-24   2022-06-26 te/high-rent-couples-living-together.html   Relationships                            By Anna P Kambhampaty      TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/24/realesta Some ExHomeowners Wait for the Market to
2022-06-24   2022-06-26 te/homeowners-renting-housing-market.html Cool                                          By Ronda Kaysen         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/realesta New York City Increases What You Need to
2022-06-24   2022-06-26 te/rent-hike-nyc.html                        Know                                       By Anna P Kambhampaty   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/realesta The Price of Living in a Place Where Many
2022-06-24   2022-06-26 te/renters-cost-of-living-nyc.html           Rent Forever                               By Sandra E Garcia      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/science
2022-06-24   2022-06-26 /nasa-psyche-delay.html                      NASA Mission To Asteroid Gets Delayed      By Kenneth Chang        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/sports/s
2022-06-24   2022-06-26 occer/paulo-dybala-juventus.html             Why No One Shops In Italy Anymore          By Rory Smith           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/style/ad As Shrugs Go Head and Shoulders Above the
2022-06-24   2022-06-26 am-topper-jordan-manekin-wedding.html        Rest                                       By Tammy La Gorce       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/style/al
2022-06-24   2022-06-26 ejandro-rojas-jaclyn-belson-wedding.html     A Caption So Clever It Made the Birds Sing By Jenny Block          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/style/alt
2022-06-24   2022-06-26 on-mason.html                                From Runway to Movie Set                   By Sadiba Hasan         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/style/as Seeing Love Clearly Especially With His
2022-06-24   2022-06-26 hley-burks-anthony-misiak-wedding.html       Glasses On                                 By Nina Reyes           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/style/br At the Next High School Reunion Theyll Go
2022-06-24   2022-06-26 enda-langstraat-ve-bui-wedding.html          Together                                   By Rosalie R Radomsky   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/style/gr
2022-06-24   2022-06-26 andparents-suicide-personal-essay.html       This Was What My Grandparents Wanted       By Ariel Kanter         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/style/m
2022-06-24   2022-06-26 odern-love-ending-things.html                This Is How We Talk About Ending Things By Kyleigh McPeek          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/technol Ken Knowlton 91 Computer Scientist Turned
2022-06-24   2022-06-26 ogy/ken-knowlton-dead.html                   Artist Dies                                By Cade Metz            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/us/glori Gloria Allen 76 Inspiring Transgender
2022-06-24   2022-06-26 a-allen-dead.html                            Activist                                   By Alex Williams        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/us/polit VA Is Bringing Back Experimental Therapy
2022-06-24   2022-06-26 ics/psychedelic-therapy-veterans.html        Using Psychedelics                         By Ernesto Londoo       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/world/a After Years of Acrimony China and Australia
2022-06-24   2022-06-26 sia/china-australia-ties.html                Cautiously Reach Out                       By Chris Buckley        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/world/e Haleh Afshar 77 Scholar and Muslim
2022-06-24   2022-06-26 urope/haleh-afshar-dead.html                 Feminist Who Fought for Womens Rights      By Nazila Fathi         TX 9-179-521   2022-08-01




                                                                                Page 3928 of 5793
                        https://www.nytimes.com/interactive/2022/06/
                        24/business/monowi-nebraska-one-person-                                                 Photographs and Text by Alyssa
2022-06-24   2022-06-26 town.html                                    The Last Resident of Monowi                Schukar                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/interactive/2022/06/
                        24/upshot/dobbs-roe-abortion-driving-        How Abortion Bans Will Ripple Across       By Quoctrung Bui Claire Cain
2022-06-24   2022-06-26 distances.html                               America                                    Miller and Margot SangerKatz     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/opinion
2022-06-25   2022-06-26 /roe-v-wade-dobbs-decision.html              Requiem for the Supreme Court              By Linda Greenhouse              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/busines To Beat High Gas Prices Drivers Are Doing
2022-06-25   2022-06-26 s/gas-prices-hacks.html                      the Math                                   By Lora Kelley                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/busines Elon Musk Shattered the Ceiling on Corporate
2022-06-25   2022-06-26 s/highest-paid-ceos-elon-musk.html           Pay                                        By Peter Eavis                   TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/25/nyregio AntiAbortion Centers Prepare for a PostRoe   By Kimiko de FreytasTamura and
2022-06-25   2022-06-26 n/crisis-pregnancy-centers-abortion-nyc.html World                                      Jeenah Moon                      TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/25/nyregio New York GOP Pickle How to Veer Right but By Jesse McKinley and Nicholas
2022-06-25   2022-06-26 n/zeldin-republicans-governor-new-york.html Win in November                          Fandos                              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/25/opinion
2022-06-25   2022-06-26 /clarence-thomas-abortion-supreme-court.html The Radical Reign of Clarence Thomas       By Maureen Dowd                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/opinion
                        /elizabeth-warren-tina-smith-abortion-                                                  By Elizabeth Warren and Tina
2022-06-25   2022-06-26 roe.html                                     The Fight Continues                        Smith                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/opinion
2022-06-25   2022-06-26 /roe-abortion-politics.html                  Roes End Just The Beginning                By Ross Douthat                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/opinion
2022-06-25   2022-06-26 /rudy-giuliani-donald-trump.html             The Ballad of Donald and Rudy              By Andrew Kirtzman               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/opinion
2022-06-25   2022-06-26 /supreme-court-gun-control-bill.html         Placing Gun Rights Above Human Life        By The Editorial Board           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/realesta
                        te/john-legend-chrissy-teigen-nolita-
2022-06-25   2022-06-26 penthouses.html                              A Power Couple Leaves Manhattan            By Vivian Marino                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/realesta When a Bidding War Breaks Out Whats the
2022-06-25   2022-06-26 te/renters-bidding-war.html                  Best Way to Win                            By Ronda Kaysen                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/sports/b 3 Astros Pitchers Combine to Deal Yankees
2022-06-25   2022-06-26 aseball/yankees-astros-no-hitter.html        First NoHitter Since 2003                  By Benjamin Hoffman              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/25/sports/h Tampa Bay Keeps Its Hopes of a ThreePeat
2022-06-25   2022-06-26 ockey/avalanche-lightning-stanley-cup.html Alive With a Late Goal                    By Ken Belson                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/sports/o An NFL Rookies Backup Plan A World Track
2022-06-25   2022-06-26 lympics/devon-allen-nfl.html                Title                                    By Kris Rhim                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/sports/s Welsh Star Will Prepare for World Cup in
2022-06-25   2022-06-26 occer/gareth-bale-lafc-mls.html             Los Angeles                              By Andrew Das                       TX 9-179-521   2022-08-01




                                                                                Page 3929 of 5793
                        https://www.nytimes.com/2022/06/25/sports/t Williams Says She Never Retired but Didnt
2022-06-25   2022-06-26 ennis/serena-williams-wimbledon.html        Know When Shed Return                         By Christopher Clarey              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/style/ch
2022-06-25   2022-06-26 ristina-riccis-search-for-authenticity.html Christina Ricci Embraces Her Authentic Self   By Thessaly La Force               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/technol QAnon Leader Resurfaces With 3 Posts That
2022-06-25   2022-06-26 ogy/qanon-leader-returns.html               Surprise                                      By Stuart A Thompson               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/us/abor
2022-06-25   2022-06-26 tion-decision-reaction.html                 Nation Faces Changed Abortion Landscape       By Julie Bosman                    TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/25/us/cons For AntiAbortion Christians Answered
2022-06-25   2022-06-26 ervative-christians-roe-wade-abortion.html  Prayers                                    By Elizabeth Dias               TX 9-179-521         2022-08-01
                        https://www.nytimes.com/2022/06/25/us/imm Millions Vulnerable to Deportation After
2022-06-25   2022-06-26 igration-enforcement-priorities-court.html  Policy Is Suspended                        By Miriam Jordan                TX 9-179-521         2022-08-01
                        https://www.nytimes.com/2022/06/25/us/polit Supreme Court Threw Abortion to an Uneven By Jonathan Weisman and Jazmine
2022-06-25   2022-06-26 ics/abortion-ruling-states.html             State Playing Field                        Ulloa                           TX 9-179-521         2022-08-01
                        https://www.nytimes.com/2022/06/25/us/polit Bidens New Task Bracing Europe for Another
2022-06-25   2022-06-26 ics/biden-allies-ukraine-conflict.html      Long Twilight Struggle                     By David E Sanger               TX 9-179-521         2022-08-01
                        https://www.nytimes.com/2022/06/25/us/polit Allied Commandos in Ukraine Secretly       By Eric Schmitt Julian E Barnes
2022-06-25   2022-06-26 ics/commandos-russia-ukraine.html           Funnel Aid to Troops                       and Helene Cooper               TX 9-179-521         2022-08-01
                        https://www.nytimes.com/2022/06/25/us/polit Biden Signs Bipartisan Gun Bill Ending     By Emily Cochrane and Zolan
2022-06-25   2022-06-26 ics/gun-control-bill-biden.html             Years of Stalemate in Congress             KannoYoungs                     TX 9-179-521         2022-08-01

                        https://www.nytimes.com/2022/06/25/us/polit Making Inquiry On Jan 6 Riot Into Potent      By Michael S Schmidt Luke
2022-06-25   2022-06-26 ics/jan-6-congressional-hearing.html        TV                                            Broadwater and Maggie Haberman TX 9-179-521       2022-08-01
                        https://www.nytimes.com/2022/06/25/us/polit For Decades Alito Had a Goal to Overturn
2022-06-25   2022-06-26 ics/samuel-alito-abortion.html              Roe                                           By Charlie Savage                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/world/a
                        frica/commonwealths-fissures-exposed-at-    Commonwealth Summit Bares Internal
2022-06-25   2022-06-26 week-of-meetings.html                       Conflicts in Family of Nations                By Abdi Latif Dahir                TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/25/world/a Deadly Earthquake Adds to Unrelenting          By Christina Goldbaum Safiullah
2022-06-25   2022-06-26 sia/afghanistan-earthquake-recovery-aid.html Hardship for Rural Afghans                   Padshah and Kiana Hayeri           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/world/a
2022-06-25   2022-06-26 sia/beijing-china-swimming-holes.html        Wild Swimming in Beijings Hidden Oases       By Vivian Wang                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/world/e
2022-06-25   2022-06-26 urope/melilla-spain-africa-migrants.html     Migrants Die in Crush at African Border      By Euan Ward and Aida Alami        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/world/e Norway Calls Shooting In Oslo Act of           By Henrik Pryser Libell and Mike
2022-06-25   2022-06-26 urope/norway-shooting-oslo.html              Terrorism                                    Ives                               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/world/e
                        urope/russia-missiles-ukraine-putin-         Russian Missile Barrage Pounds Ukrainian     By Marc Santora Megan Specia and
2022-06-25   2022-06-26 lukashenko.html                              Sites                                        Ivan Nechepurenko                TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/25/world/e Coal Dust and Gas Below Russias Bombs
2022-06-25   2022-06-26 urope/ukraine-coal-mining.html               Above                                        By Finbarr OReilly                 TX 9-179-521   2022-08-01




                                                                                Page 3930 of 5793
                        https://www.nytimes.com/2022/06/27/us/abor
                        tion-laws-wisconsin-arizona-roe-             Laws Considered Relics May Now Be
2022-06-25   2022-06-26 overturned.html                              Enforced                                    By Julie Bosman                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/interactive/2022/06/ How Did Roe Fall Before a Decisive Ruling a
2022-06-25   2022-06-26 25/us/how-roe-ended.html                     Powerful Red Wave                           By Kate Zernike                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/health/a
2022-06-26   2022-06-26 bortion-medication-pills.html                Patients and States Turn Focus to Pills     By Pam Belluck                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/insider/
2022-06-26   2022-06-26 one-woman-town-monowi-nebraska.html          A OneResident OneBar Town                   By Alyssa Schukar                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/science Return to Moon Starts With Launch of a
2022-06-26   2022-06-26 /nasa-capstone-moon-launch.html              55Pound Cube                                By Kenneth Chang                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/sports/g
2022-06-26   2022-06-26 olf/liv-travelers-saudi.html                 Can a Homespun Event Survive Saudi Golf By Bill Pennington                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/sports/t British Nerves Will Fray When Raducanu
2022-06-26   2022-06-26 ennis/raducanu-wimbledon-us-open.html        Steps On Wimbledons Court                   By Matthew Futterman                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/style/str
2022-06-26   2022-06-26 utting-their-looks.html                      In the Flow Of the Night                    By Denny Lee                        TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/26/us/polit Trump Voters Upend Illinois GOPs Plan To
2022-06-26   2022-06-26 ics/illinois-governor-bailey-irvin-pritzker.html Nominate Moderate                           By Reid J Epstein               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/theater/
2022-06-14   2022-06-27 public-theater-new-season.html                   Publics Season Will Reflect Cultural Shifts By Laura Zornosa                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/travel/q
2022-06-16   2022-06-27 ueer-travel-new-hope-lgbtq-friendly.html         Searching for a Gay Getaway Not Fire Island By Erik Piepenburg              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/21/arts/mu
2022-06-21   2022-06-27 sic/black-country-new-road-lead-singer.html A Bands Lead Singer Everybody                  By Alex Marshall                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/busines Teslas Online Success Is Forcing Auto
2022-06-21   2022-06-27 s/tesla-online-sales-dealerships.html       Industry to Rethink How It Sells Cars          By Paul Stenquist                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/arts/viv Vivian Hewitt 102 Dies Amassed a
2022-06-22   2022-06-27 ian-hewitt-dead.html                        Renowned Collection of Black Art               By Clay Risen                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/movies/
2022-06-22   2022-06-27 dario-argento.html                          His Quiet Thoughts On Horror                   By Elisabetta Povoledo            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/arts/mu This Kyiv Techno Collective Is Prioritizing
2022-06-23   2022-06-27 sic/cxema-ukraine.html                      Politics                                       By Tom Faber                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/technol
2022-06-23   2022-06-27 ogy/app-rules-google-apple.html             App Rules Have More Twists Than a Pretzel      By Shira Ovide                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/fashion Here to Help Vanessa Friedman Answers
2022-06-24   2022-06-27 /mens-fashion-update.html                   Your Style Questions                           By Vanessa Friedman               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/nyregio Hochul Has Raised 34 Million So Far Her
2022-06-24   2022-06-27 n/hochul-donors-money-campaign.html         Goal May Be Double That                        By Dana Rubinstein and Jay Root   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/opinion Bidens Gas Tax Holiday Wouldnt Make
2022-06-24   2022-06-27 /biden-gas-tax.html                         Much Difference                                By Peter Coy                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/us/surfs My Aching Heart Is Shattered Into Little       By Patricia Mazzei and Rose Marie
2022-06-24   2022-06-27 ide-condo-collapse.html                     Pieces                                         Cromwell                          TX 9-179-521   2022-08-01



                                                                                  Page 3931 of 5793
                        https://www.nytimes.com/2022/06/25/busines Businesses Scramble to Navigate the Choppy By Ephrat Livni Lauren Hirsch and
2022-06-25   2022-06-27 s/dealbook/businesses-brace-for-post-roe.html PostRoe Waters                              Jenny Gross                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/busines
2022-06-25   2022-06-27 s/dealbook/spirit-frontier-jetblue.html       Adviser Backs Spirits Merger With Frontier By Lauren Hirsch                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/busines Michel DavidWeill 89 Lazard Banker Who
2022-06-25   2022-06-27 s/michel-david-weill-dead.html                Built the Firms Influence Yet Kept It Small By Lora Kelley                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/nyregio Jeffrey Escoffier 79 Scholar of Gay Theory
2022-06-25   2022-06-27 n/jeffrey-escoffier-dead.html                 and Leading New York Health Official        By Neil Genzlinger              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/sports/b
2022-06-25   2022-06-27 asketball/nba-fathers-sons-players.html       Making the Pros the Next Generation         By Sopan Deb and Scott Cacciola TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/sports/t
2022-06-25   2022-06-27 ennis/andy-murray-wimbledon.html              An enduring voice                           By Cindy Shmerler               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/sports/t
2022-06-25   2022-06-27 ennis/wimbledon-grass-court.html              A court that changes underfoot              By Stuart Miller                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/sports/t
2022-06-25   2022-06-27 ennis/wimbledon-politics-history.html         Once again tennis is disrupted by politics  By Cindy Shmerler               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/sports/t For Athletes Roe Reversal Clouds Decades of
2022-06-25   2022-06-27 itle-ix-anniversary-roe-wade.html             Advances                                    By Kurt Streeter                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/us/nasa- NASA Protest Halts Auction Of Bugs That
2022-06-25   2022-06-27 moon-dust-cockroaches-auction.html            Ate Moon Dust                               By Vimal Patel                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/26/us/
                        abortion-roe-wade-supreme-court/abortions-
2022-06-25   2022-06-27 canceled-roe-wade                             Cancellations Of Procedures Alarm Patients By Nicholas BogelBurroughs       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/25/technol How China Polices the Future An Unseen         By Paul Mozur Muyi Xiao and
2022-06-26   2022-06-27 ogy/china-surveillance-police.html            Cage of Surveillance                        John Liu                        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/arts/mu Festival Offers A Closer Look At Early
2022-06-26   2022-06-27 sic/early-wagner-operas.html                  Wagner                                      By Joshua Barone                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/arts/mu Patrick Adams Master Of Underground
2022-06-26   2022-06-27 sic/patrick-adams-dead.html                   Disco In New York Dies at 72                By Clay Risen                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/books/r
                        eview-girls-they-write-songs-about-carlene-
2022-06-26   2022-06-27 bauer.html                                    So Alike Until They Were Not                By Molly Young                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/busines
2022-06-26   2022-06-27 s/school-safety-technology.html               Questioning Safety Tech In Schools          By Natasha Singer               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/crossw
2022-06-26   2022-06-27 ords/daily-puzzle-2022-06-27.html             An Intriguing Puzzle for New Solvers        By Deb Amlen                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/nyregio Court Rulings Give Candidates for Governor
2022-06-26   2022-06-27 n/governor-primary-campaign-ny.html           Fodder for Final Pitches                    By Nicholas Fandos              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/nyregio Along With Pride This Year Theres Renewed By Matthew Haag Chelsia Rose
2022-06-26   2022-06-27 n/ny-pride-parade-abortion.html               Urgency to Continue the Fight               Marcius and Lauren McCarthy     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/opinion
2022-06-26   2022-06-27 /america-the-merciless.html                   America the Merciless                       By Pamela Paul                  TX 9-179-521   2022-08-01




                                                                               Page 3932 of 5793
                        https://www.nytimes.com/2022/06/26/opinion
                        /justice-alito-reproductive-justice-constitution- The Demise of Roe Brings a Return of Sexual
2022-06-26   2022-06-27 abortion.html                                     Servitude                                   By Michele Goodwin            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/opinion Have You Forgotten How to Vacation Youre
2022-06-26   2022-06-27 /vacation-pandemic-travel.html                    Not Alone                                   By Jenni Avins                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/sports/b The Astros Let the Yankees Know Just Who
2022-06-26   2022-06-27 aseball/aaron-judge-yankees-astros.html           Theyre Up Against                           By Tyler Kepner               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/sports/b Making a Call to the Phillies Bullpen For a
2022-06-26   2022-06-27 aseball/phillies-relief-room.html                 Fans Ultimate Bathroom Dcor                 By Tyler Kepner               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/sports/g Schauffele Faces Down Part of the PGAs
2022-06-26   2022-06-27 olf/travelers-championship.html                   Future in Capturing a Victory               By Bill Pennington            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/sports/t
                        ennis/novak-djokovic-rafael-nadal-                No Tuneups on Grass Court For Djokovic or
2022-06-26   2022-06-27 wimbledon.html                                    for Nadal                                   By Christopher Clarey         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/theater/
2022-06-26   2022-06-27 bodies-they-ritual-review.html                    Plush Robes Cults And Tasty Specificity     By Elisabeth Vincentelli      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/us/abor Factions Gear Up For New Clashes in
2022-06-26   2022-06-27 tion-roe-v-wade.html                              Abortion Fight                              By Kate Zernike               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/us/calif California Looks to Enshrine Abortion Rights
2022-06-26   2022-06-27 ornia-abortions-state-law.html                    in State Constitution                       By Shawn Hubler               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/us/miss Fiery Final Days at Clinic at Heart of Roe
2022-06-26   2022-06-27 issippi-abortion-clinic.html                      Repeal                                      By Richard Fausset            TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/26/us/polit For Gun Violence Researchers Bipartisan Bill
2022-06-26   2022-06-27 ics/gun-control-research-bipartisan-bill.html Is a Glass Half Full                       By Sheryl Gay Stolberg             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/us/polit Proud Boys Ignored Orders Given at PreJan 6
2022-06-26   2022-06-27 ics/proud-boys-jan-6.html                     Meeting                                    By Alan Feuer                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/us/polit
                        ics/tina-peters-election-conspiracy-          Indicted in Bizarre Conspiracy And Seeking By Nick Corasaniti and Alexandra
2022-06-26   2022-06-27 theories.html                                 Colorado Office                            Berzon                             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/world/a 21 Teens Found Dead in South African
2022-06-26   2022-06-27 frica/south-africa-stampede.html              Tavern Officials Say                       By John Eligon                     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/world/a
                        sia/india-activist-arrested-modi-gujarat-     India Accuses Rights Leader Of Falsifying
2022-06-26   2022-06-27 riots.html                                    Data on Modi                               By Sameer Yasir                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/world/e With Huge Parliamentary Gains Frances Far By Aurelien Breeden and Constant
2022-06-26   2022-06-27 urope/france-far-right-parliament.html        Right Takes Turn in the Mainstream         Mheut                              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/world/e
                        urope/g7-summit-ukraine-war-climate-          Ukraine War Diverts Plan To Pursue Green By Katrin Bennhold and Jim
2022-06-26   2022-06-27 change.html                                   Energy                                     Tankersley                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/world/e You Cannot Feel Safe Anywhere Missiles
2022-06-26   2022-06-27 urope/kyiv-missile-strike-ukraine.html        Slam Kyiv Apartments                       By Valerie Hopkins                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/world/e
2022-06-26   2022-06-27 urope/ukraine-russia-war-g7.html              G7 Tightens Vise On Russian Trade          By Jim Tankersley                  TX 9-179-521   2022-08-01




                                                                                    Page 3933 of 5793
                        https://www.nytimes.com/2022/06/26/world/ A National Delicacy Served in a ToGo Cup      By Ben Hubbard Asmaa alOmar
2022-06-26   2022-06-27 middleeast/jordan-mansaf-takeout.html        Purists Recoil                             and Laura Boushnak              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/26/sports/c
                        olorado-avalanche-tampa-bay-lightning-game- Avalanche End Their Title Drought and the
2022-06-27   2022-06-27 6-stanley-cup.html                           Lightnings Title Run                       By David Waldstein              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/arts/tele
                        vision/whats-on-tv-this-week-endangered-
2022-06-27   2022-06-27 man-who-fell-to-earth.html                   This Week on TV                            By Shivani Gonzalez             TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/27/busines
2022-06-27   2022-06-27 s/boeing-max-families-whistle-blowers.html Victims Kin Doubt Safety Of Boeing Jet        By Niraj Chokshi                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/busines From Disneys DVD Intern To Its Top
2022-06-27   2022-06-27 s/media/kareem-daniel-disney.html            Content Traffic Cop                         By Brooks Barnes                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/sports/s
2022-06-27   2022-06-27 occer/title-ix-soccer.html                   With Title IX Women Made Soccer Theirs      By Alexandra E Petri             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/sports/t Player Bans at Wimbledon Signal an Eras
2022-06-27   2022-06-27 ennis/wimbledon-russia-liv-pga-saudi.html    End in Sports                               By Matthew Futterman             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/14/science Rodents Once the Size of Bison Findings Call
2022-06-14   2022-06-28 /giant-rodents-size.html                     That a Stretch                              By Jack Tamisiea                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/well/fa
2022-06-15   2022-06-28 mily/therapy-dogs-kids-stress.html           The Calming Power Of Therapy Dogs           By Catherine Pearson             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/15/well/m
2022-06-15   2022-06-28 ove/exercise-appetite.html                   Workouts Might Curb Appetites               By Gretchen Reynolds             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/16/theater/
2022-06-16   2022-06-28 little-amal-refugee-puppet-new-york.html     A Refugee Puppet Heads to New York          By Julia Jacobs                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/travel/c
2022-06-17   2022-06-28 ruise-deals.html                             Find Low Prices on the High Seas            By Elaine Glusac                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/well/mi
2022-06-17   2022-06-28 nd/stress-aging-immune-system.html           Stress May Age Immune Systems               By Hannah Seo                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/health/a New Type of Avian Flu Harms Wild
2022-06-18   2022-06-28 vian-flu-h5n1-foxes.html                     Mammals                                     By Emily Anthes                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/18/science Still Searching for Alien Life With the Usual
2022-06-18   2022-06-28 /china-alien-signal.html                     Results                                     By Dennis Overbye                TX 9-179-521   2022-08-01
                                                                                                                 By Danielle Ivory John Ismay
                                                                                                                 Denise Lu Marco Hernandez Cierra
                        https://www.nytimes.com/interactive/2022/06/                                             S Queen Jess Ruderman Kristine
                        19/world/europe/ukraine-munitions-war-       What Hundreds of Photos of Weapons Reveal White Lauryn Higgins and Bonnie
2022-06-19   2022-06-28 crimes.html                                  About Russias Brutal War Strategy           G Wong                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/20/science Tipping the Scales at 661 Pounds A Stingray
2022-06-20   2022-06-28 /giant-stingray-mekong.html                  Is One for the Records                      By Jason Bittel                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/21/well/liv How Bad Are the Germs in Public Restrooms
2022-06-21   2022-06-28 e/public-bathrooms-health-safety.html        Really                                      By Alice Callahan                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/22/science A Hungry Urban Nuisance Helps the Feijoa
2022-06-22   2022-06-28 /pollinator-rats-feijoa.html                 Produce Fruit                               By Richard Sima                  TX 9-179-521   2022-08-01




                                                                                Page 3934 of 5793
                        https://www.nytimes.com/2022/06/23/science Turtles and Their Brethren Play the Long
2022-06-23   2022-06-28 /tortoises-turtles-aging.html                Game                                        By Jack Tamisiea      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/well/mi As Weed Becomes More Potent So Do Its
2022-06-23   2022-06-28 nd/teens-thc-cannabis.html                   Risks                                       By Christina Caron    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/23/arts/des
                        ign/san-francisco-george-washington-
2022-06-24   2022-06-28 mural.html                                   San Francisco School Keeps Mural            By Zachary Small      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/theater/ One Broadway Show Keeps Masks Its Not
2022-06-24   2022-06-28 american-buffalo-broadway-masks.html         Phantom                                     By Michael Paulson    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/theater/ Three Theaters Three Plays One Cast All at
2022-06-24   2022-06-28 rock-paper-scissors-sheffield.html           Once                                        By Holly Williams     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/24/well/mi
2022-06-24   2022-06-28 nd/psychedelics-veterans-affairs.html        A Psychedelic Renaissance at the VA         By Ernesto Londoo     TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/busines
2022-06-27   2022-06-28 s/russia-default.html                        Russia Edges To the Brink Of a Default      By Eshe Nelson        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/arts/mu
                        sic/beyonce-break-my-soul-robin-s-show-me-
2022-06-27   2022-06-28 love.html                                    A 90s Hit Has a Renaissance                 By Rich Juzwiak       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/arts/mu
                        sic/drake-honestly-nevermind-billboard-
2022-06-27   2022-06-28 chart.html                                   Drake Hits the Top Once Again               By Ben Sisario        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/arts/mu
2022-06-27   2022-06-28 sic/william-herschel-astronomy-music.html Astronomers Music Was Stellar in Scope         By Hugh Morris        TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/arts/sa Sam Gilliam Whose Vibrant Hues Cascaded
2022-06-27   2022-06-28 m-gilliam-dead.html                          From Walls Dies at 88                       By Roberta Smith      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/arts/tef
2022-06-27   2022-06-28 af-maastricht-art-fair.html                  A Grand Art Fair Returns Amid a New Age     By Scott Reyburn      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/arts/tele
                        vision/only-murders-in-the-building-season-
2022-06-27   2022-06-28 2.html                                       Unable to Resist Coming Back for Seconds    By James Poniewozik   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/books/r
2022-06-27   2022-06-28 eview-life-ceremony-sayaka-murata.html       Serving the Dead Thats Not Metaphorical     By Dwight Garner      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/briefing What Law Could the Courts Conservative
2022-06-27   2022-06-28 /supreme-court-abortion.html                 Bloc Revisit Next                           By David Leonhardt    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/busines
2022-06-27   2022-06-28 s/abortion-employee-benefits.html            Companies Form Policies For Abortion        By Emma Goldberg      TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/27/busines Credit Suisse Fined for Helping A Drug Ring
2022-06-27   2022-06-28 s/credit-suisse-fine-bulgarian-drug-ring.html Launder Money                            By Jack Ewing           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/busines How a G7 Proposal to Set Price Caps for
2022-06-27   2022-06-28 s/g7-russia-oil-prices.html                   Russian Oil Would Work                   By Stanley Reed         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/busines
                        s/media/alex-wagner-rachel-maddow-
2022-06-27   2022-06-28 msnbc.html                                    MSNBC Names Replacement For Maddow By Benjamin Mullin            TX 9-179-521   2022-08-01




                                                                                Page 3935 of 5793
                        https://www.nytimes.com/2022/06/27/busines Retailers Cap Purchases Of Some                 By Emma Goldberg and Julie
2022-06-27   2022-06-28 s/plan-b-retailers.html                    Contraceptives                                  Creswell                         TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/27/busines
2022-06-27   2022-06-28 s/russia-food-crisis-sanctions.html        A World Short on Food                           By Alan Rappeport                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/27/busines Ban on Russian Gold Is Latest Bid to Isolate
2022-06-27   2022-06-28 s/russian-gold-imports-ban.html            an Economy                                      By Patricia Cohen                TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/27/busines Trumps Social Media Deal Draws a Grand
2022-06-27   2022-06-28 s/trump-truth-social-federal-investigation.html Jurys Scrutiny                             By Matthew Goldstein             TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/27/nyregio Court Rejects Law Giving Noncitizens Vote
2022-06-27   2022-06-28 n/noncitizen-voting-ruling-nyc.html             in NYC                                     By Jeffery C Mays                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/27/opinion
2022-06-27   2022-06-28 /dobbs-guns-supreme-court.html                  The Supreme Courts Fighting Words          By Gail Collins and Bret Stephens TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/opinion Another Virus Is Catching America Off
2022-06-27   2022-06-28 /health/monkeypox-sexual-health.html            Guard                                      By Jay K Varma                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/27/opinion Lessons From the Triumph of the
2022-06-27   2022-06-28 /lessons-anti-abortion-movement.html            AntiAbortion Movement                      By Michelle Goldberg             TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/27/science
2022-06-27   2022-06-28 /crispr-gene-editing-10-years.html              Learning to Rewrite The Code of Life       By Carl Zimmer                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/27/science
2022-06-27   2022-06-28 /crispr-science-medical-research.html           The Many Uses Of CRISPR                    By Oliver Whang                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/27/sports/h
                        ockey/avalanche-stanley-cup-nazem-              Unable to Lace Up His Skates but Able to
2022-06-27   2022-06-28 kadri.html                                      Help Capture a Title                       By David Waldstein               TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/27/sports/h Suit Says Texans Turned Blind Eye to
2022-06-27   2022-06-28 ouston-texans-lawsuit-deshaun-watson.html Watsons Actions                                 By Jenny Vrentas                TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/27/sports/s From a Tiny Place Comes an Arab Team On
2022-06-27   2022-06-28 occer/maccabi-bnei-reineh-israel.html       the Rise in Israel                            By Michael Yokhin               TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/27/sports/t Helping Guide The Williamses In the
2022-06-27   2022-06-28 ennis/serena-williams-hechtman.html         Twilight                                      By Christopher Clarey           TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/27/sports/t Centre Court at 100 Some New Twists and
2022-06-27   2022-06-28 ennis/wimbledon-centre-court.html           Fewer Turns                                   By Christopher Clarey           TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/27/theater/
2022-06-27   2022-06-28 chains-review-elizabeth-baker-mint.html     The Tension Between Regrets and Dreams        By Laura CollinsHughes          TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/27/us/abor A Legal Flurry From Coast to Coast on
2022-06-27   2022-06-28 tion-rights-states.html                     Abortion                                      By Shawn Hubler and Mitch Smith TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/27/us/amtr 3 Killed When Amtrak Train Strikes a Dump By Eduardo Medina and Michael
2022-06-27   2022-06-28 ak-truck-crash-missouri.html                Truck in Missouri                             Levenson                        TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/27/us/aoc- OcasioCortez Wants Inquiry On Impeaching
2022-06-27   2022-06-28 roe-abortion-scotus.html                    Two Justices                                  By Ed Shanahan                  TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/27/us/fda- Chasing FastEvolving Virus FDA May Move
2022-06-27   2022-06-28 booster-covid-vaccine.html                  to Update Covid Vaccine                       By Sharon LaFraniere            TX 9-179-521      2022-08-01
                        https://www.nytimes.com/2022/06/27/us/polit Biden Bristles at Partys Doubts Over His Plan By Jonathan Martin and Zolan
2022-06-27   2022-06-28 ics/biden-2024-democrats-trump.html         to Seek 2024 Bid                              KannoYoungs                     TX 9-179-521      2022-08-01



                                                                                  Page 3936 of 5793
                        https://www.nytimes.com/2022/06/27/us/polit Citing Fresh Evidence Jan 6 Panel Moves Fast By Luke Broadwater and Maggie
2022-06-27   2022-06-28 ics/cassidy-hutchinson-jan-6-hearing.html    To Call Tuesday Hearing                      Haberman                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/us/polit
2022-06-27   2022-06-28 ics/john-eastman-jan-6.html                  FBI Agents Seize a Phone From Eastman        By Alan Feuer and Adam Goldman TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/us/polit McConnell Is Not Troubled by the Courts
2022-06-27   2022-06-28 ics/mitch-mcconnell-supreme-court.html       Protection of Unpopular Views                By Carl Hulse                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/us/polit Justices Bolster Religious Rights in Prayer
2022-06-27   2022-06-28 ics/supreme-court-coach-prayers.html         Ruling                                       By Adam Liptak                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/us/polit
                        ics/supreme-court-controlled-substance-      High Court Rules for Doctors in Pill Mill
2022-06-27   2022-06-28 act.html                                     Cases                                        By Adam Liptak                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/us/roe- The Early Days After Roe Were Strikingly
2022-06-27   2022-06-28 wade-decision-1973.html                      Similar To the Struggles of Today            By Fahima Haque                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/world/a
                        sia/new-zealand-jacinda-ardern-              Arderns Star Is Rising Abroad but Is Stalled
2022-06-27   2022-06-28 popularity.html                              in New Zealand                               By Pete McKenzie               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/world/e Russian Trial Is Set To Begin For Griner
2022-06-27   2022-06-28 urope/brittney-griner-russia-trial-date.html WNBA Star                                    By Ivan Nechepurenko           TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/27/world/e In France YouTubers Become the New Faces
2022-06-27   2022-06-28 urope/france-politics-news-youtube.html    of Political News for Young Audiences       By Adle Cordonnier              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/world/e                                             By Valerie Hopkins Ivan
                        urope/kremenchuk-shopping-center-          Missile Slams Into a Crowded Mall as Russia Nechepurenko Megan Specia and
2022-06-27   2022-06-28 ukraine.html                               Escalates Its Strikes                       Dan Bilefsky                    TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/world/e Leonardo Del Vecchio Who Made Spectacles
2022-06-27   2022-06-28 urope/leonardo-del-vecchio-dead.html       Stylish Is Dead at 87                       By Jonathan Kandell             TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/world/e Spotting the Fault Lines In NATOs United
2022-06-27   2022-06-28 urope/nato-summit-madrid-ukraine.html      Front                                       By Steven Erlanger              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/world/e Rethinking NotreDame Area With Shade and
2022-06-27   2022-06-28 urope/notre-dame-cathedral-paris.html      Flow in Mind                                By Aurelien Breeden             TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/world/e
2022-06-27   2022-06-28 urope/russia-ukraine-oil-price-cap.html    To Foil Russia US Urges Cap On Price of Oil By Jim Tankersley               TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/27/world/e Longing for Home Displaced Children
2022-06-27   2022-06-28 urope/ukraine-displaced-children-lviv.html   Wrestle With Wars Trauma                 By Megan Specia                  TX 9-179-521     2022-08-01
                        https://www.nytimes.com/interactive/2022/06/
                        27/science/crispr-anniversary-classroom-
2022-06-27   2022-06-28 explainer.html                               CRISPR in the Classroom                  By Eleanor Lutz                  TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/opinion
2022-06-28   2022-06-28 /republicans-extreme-abortion.html           Why Did the GOP Become So Extreme        By Paul Krugman                  TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/sports/b
2022-06-28   2022-06-28 asketball/kyrie-irving-nets-opt-in.html      Irving Opts Into 4th Year With Nets      By Tania Ganguli                 TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/28/insider/
                        remembering-a-major-domo-of-the-
2022-06-28   2022-06-28 newsroom.html                                A MajorDomo of the Newsroom              By Lawrie Mifflin                TX 9-179-521     2022-08-01



                                                                               Page 3937 of 5793
                        https://www.nytimes.com/2022/06/28/nyregio An Exodus of New Yorks Wealthy Has Left
2022-06-28   2022-06-28 n/wealthy-pandemic-nyc.html                 Lasting Costs                                By Nicole Hong and Matthew Haag TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/us/migr Over 40 Found Dead in Truck Along a           By James Dobbins J David
2022-06-28   2022-06-28 ants-san-antonio-tractor-killed.html        Migrant Route in Texas                       Goodman and Edgar Sandoval      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/us/polit Republican Incumbents Square Off in Illinois
2022-06-28   2022-06-28 ics/mary-miller-rodney-davis-il.html        Congressional Race                           By Catie Edmondson              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/live/2022/06/28/us/
                        election-primary-ny-illinois-colorado/new-  Decision on Roe Raises the Stakes As States By Jonathan Weisman and Nicholas
2022-06-28   2022-06-28 york-illinois-colorado-primary-elections    Hold Primary Contests                        Fandos                          TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/23/theater/ Musical Based on Transparent to Open in Los
2022-06-23   2022-06-29 transparent-musical-center-theater-group.html Angeles                                   By Sarah Bahr                  TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/24/dining/
2022-06-24   2022-06-29 drinks/beer-wrestling.html                    An Unbeatable Tag Team Enters the Ring    By Joshua M Bernstein          TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/24/dining/
2022-06-24   2022-06-29 drinks/wine-school-alsace-white.html          To Understand Alsace Whites Look Back     By Eric Asimov                 TX 9-179-521     2022-08-01

                        https://www.nytimes.com/2022/06/24/dining/
2022-06-24   2022-06-29 drinks/wine-temperature-chill-red-wine.html A Temperature Test                           By Eric Asimov                TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/24/dining/
2022-06-24   2022-06-29 vegan-potato-salad-recipe.html              A Potato Salad Made for Summer               By Melissa Clark              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/24/theater/
2022-06-24   2022-06-29 richard-iii-disabled-arthur-hughes.html     The Most Real Richard III Theres Ever Been   By Alex Marshall              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/26/briefing
2022-06-26   2022-06-29 /jan-6-hearings.html                        At Jan 6 Hearings Reliving History           By Ian Prasad Philbrick       TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/arts/abo
2022-06-27   2022-06-29 rtion-janes-hbo-roe.html                    Setting Free The Stories Of Abortions        By Amanda Hess                TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/dining/ To Learn Russian History Viewed Through
2022-06-27   2022-06-29 a-brief-history-of-russian-food.html        Lens of Food                                 By Florence Fabricant         TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/dining/
2022-06-27   2022-06-29 burmese-food-tulsa.html                     A Burmese Tradition in the Spotlight         By Priya Krishna              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/dining/ To Prepare Raising Coho Salmon In Finger
2022-06-27   2022-06-29 coho-salmon-new-york.html                   Lakes Region                                 By Florence Fabricant         TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/dining/ To Splash FruitInfused Vinegars For Salads
2022-06-27   2022-06-29 kosterina-infused-vinegars.html             and Cocktails                                By Florence Fabricant         TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/dining/l To Delight Lyses Pastries Reflect A Chefs
2022-06-27   2022-06-29 ysee-pastries-eunji-lee.html                Dream Fulfilled                              By Florence Fabricant         TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/dining/ To Mix Apple Vodka Arrives From Upstate
2022-06-27   2022-06-29 upstate-vodka-sauvage-distillery.html       New York                                     By Florence Fabricant         TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/dining/ To Enjoy Waffle Cone Crusts Just Make the
2022-06-27   2022-06-29 waffle-cone-pie-christina-tosi.html         Pies                                         By Florence Fabricant         TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/27/theater/
2022-06-27   2022-06-29 straight-line-crazy-robert-moses.html       A Visionary Decried And Hailed               By Rachel Sherman             TX 9-179-521     2022-08-01




                                                                                Page 3938 of 5793
                        https://www.nytimes.com/2022/06/27/us/polit Bidens Pick to Lead ICE Withdraws Amid a
2022-06-28   2022-06-29 ics/ed-gonzalez-ice-nominee-withdraws.html LongEmbattled Nomination                   By Chris Cameron                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/arts/dan
                        ce/pam-tanowitz-david-lang-song-of-
2022-06-28   2022-06-29 songs.html                                  A Piece Inspired By Jewish Roots          By Brian Schaefer                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/arts/des
                        ign/metropolitan-museum-daniel-weiss-max-
2022-06-28   2022-06-29 hollein-president.html                      Metropolitan Museum President To Leave    By Robin Pogrebin                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/arts/des
                        ign/sam-gilliam-melvin-edwards-rashid-      The Art and Inspiration Sam Gilliam Left
2022-06-28   2022-06-29 johnson-appraisal.html                      Behind                                    By Ted Loos                        TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/arts/des
2022-06-28   2022-06-29 ign/tefaf-robbery.html                      TEFAF Art Fair Is Hit by a Daylight Heist By Alex Marshall                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/arts/ma Margaret Keane Painter of Sad Eyes That
2022-06-28   2022-06-29 rgaret-keane-dead.html                      Followed You Dies at 94                   By Robert D McFadden               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/books/r The Animals Talk They Arent Cute and
2022-06-28   2022-06-29 eview-thrust-lidia-yuknavitch.html          Funny                                     By Alexandra Jacobs                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/busines Disney Extends Chapeks Tenure Another 3
2022-06-28   2022-06-29 s/bob-chapek-disney-ceo.html                Years                                     By Brooks Barnes                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/busines Big Fine for Ernst amp Young Over Ethics
2022-06-28   2022-06-29 s/ernst-young-sec-cheating.html             Exam Cheating                             By Matthew Goldstein               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/busines Pinterests Chief Executive Steps Down From
2022-06-28   2022-06-29 s/pinterest-ben-silbermann.html             Post                                      By Erin Griffith                   TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/climate Gas Used in Homes Contains Chemicals That
2022-06-28   2022-06-29 /natural-gas-home-toxic-chemicals.html      Pose Dangers                              By Elena Shao                      TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/dining/
2022-06-28   2022-06-29 coney-island-brighton-beach-food-tour.html Like a DriveThrough Only You Have to Swim By Christina Morales                TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/dining/ La Pecora Bianca Opens an Upper West Side
2022-06-28   2022-06-29 nyc-restaurant-news.html                    Location                                  By Florence Fabricant              TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/dining/t Taiwanese Fried Chicken Learns Some New
2022-06-28   2022-06-29 aiwanese-fried-chicken.html                 Tricks                                    By Cathy Erway                     TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/dining/
2022-06-28   2022-06-29 zaab-zaab-review-isan-thai-food-nyc.html    Isan Thai Food Hits a High Point          By Pete Wells                      TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/28/nyregio Maxwell Is Sentenced to 20 Years In Sex       By Benjamin Weiser Rebecca
2022-06-28   2022-06-29 n/ghislaine-maxwell-trial-epstein.html     Trafficking of Young Girls                    Davis OBrien and Colin Moynihan TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/nyregio States Scramble on Gun Rules After Justices   By Jonah E Bromwich Tracey Tully
2022-06-28   2022-06-29 n/gun-law-ny-nj.html                       Strike Down New York Law                      and Grace Ashford                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/nyregio
                        n/ibrahim-alhussayen-bullying-instagram-   In Complaint Officials Say Saudi Troll Lied
2022-06-28   2022-06-29 fbi.html                                   to FBI                                        By Troy Closson                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/nyregio
                        n/rudy-giuliani-eric-adams-investigation-  Uproar Over Assault Claim Has Giuliani on
2022-06-28   2022-06-29 ny.html                                    Defensive                                     By Dana Rubinstein              TX 9-179-521    2022-08-01



                                                                                Page 3939 of 5793
                        https://www.nytimes.com/2022/06/28/opinion What the Reversal of Roe Means for Womens
2022-06-28   2022-06-29 /citizens-no-more.html                      Work                                         By Tressie McMillan Cottom       TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/opinion
2022-06-28   2022-06-29 /israel-us-elections-democracy.html         The Soul of Democracy Is on the Ballot       By Thomas L Friedman             TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/opinion Will the Jan 6 Committee Finally Bring Down
2022-06-28   2022-06-29 /trump-jan-6-hearing.html                   the Cult of Trump                            By Bret Stephens                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/science Spacecraft Lifts Off on Mission to Get NASA
2022-06-28   2022-06-29 /capstone-nasa-launch-moon.html             Back on the Moon                             By Kenneth Chang                 TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/sports/b For Atlanta a Slow Start Has Been a Sign of
2022-06-28   2022-06-29 aseball/dansby-swanson-atlanta.html         Better Things to Come                        By James Wagner                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/sports/b So Many Suspensions MLB Had to Stagger
2022-06-28   2022-06-29 aseball/mariners-angels-suspensions.html    Them                                         By Scott Miller                  TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/sports/s After a Diagnosis Concerns About CTE
2022-06-28   2022-06-29 occer/cte-soccer.html                       Mount in Soccer                              By Andrew Keh                    TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/sports/t Williamss Comeback Is Short as She Falls in
2022-06-28   2022-06-29 ennis/serena-williams-wimbledon.html        the First Round                              By Christopher Clarey            TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/sports/t A Sport Talks to Itself In a Podcast Devoted
2022-06-28   2022-06-29 ennis/tennis-podcast-wimbledon.html         To All Things Tennis                         By Matthew Futterman             TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/28/sports/t Covid Test Forces Withdrawal of Berrettini
2022-06-28   2022-06-29 ennis/wimbledon-covid-matteo-berrettini.html Further Thinning the Mens Draw              By Christopher Clarey            TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/theater/
2022-06-28   2022-06-29 titanique-review.html                        Going Overboard With a Big Splash           By Elisabeth Vincentelli         TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/us/cassi Timeline of Key Scenes In Tuesdays
2022-06-28   2022-06-29 dy-hutchinson-trump-jan-6.html               Testimony                                   By Catie Edmondson               TX 9-179-521    2022-08-01
                        https://www.nytimes.com/2022/06/28/us/flint- Indictments in Flint Water Crisis Invalid   By Luke Vander Ploeg and Mitch
2022-06-28   2022-06-29 water-crisis-charges.html                    Michigan Supreme Court Finds                Smith                            TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/28/us/giuli Giulianis Role at Center Of Georgia Vote      By Danny Hakim and Richard
2022-06-28   2022-06-29 ani-trump-georgia-election-investigation.html Inquiry                                     Fausset                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/us/migr Desperate Journeys for Better Lives End in a By James Dobbins Miriam Jordan
2022-06-28   2022-06-29 ants-dead-san-antonio-texas.html              Sweltering TractorTrailer                   and J David Goodman              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/us/polit Biden Administration Wrestles With Options By Sheryl Gay Stolberg and Charlie
2022-06-28   2022-06-29 ics/biden-abortion-roe.html                   To Safeguard Access                         Savage                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/us/polit Democrats Seek More Robust Response to
2022-06-28   2022-06-29 ics/biden-democrats-roe-response.html         Roe                                         By Shane Goldmacher              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/us/polit                                               By Sharon LaFraniere and Noah
2022-06-28   2022-06-29 ics/covid-vaccines-omicron-fda.html           An FDA Panel Votes For Updated Boosters Weiland                              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/us/polit Increasingly Unhinged as Power Slipped
2022-06-28   2022-06-29 ics/trump-jan-6-behavior.html                 Away                                        By Peter Baker                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/us/polit Vivid Testimony Could Undercut A Possible
2022-06-28   2022-06-29 ics/trump-legal-risk-jan-6.html               FreeSpeech Defense                          By Alan Feuer and Glenn Thrush TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/28/us/polit
                        ics/trump-meadows-jan-6-surprise-                                                         By Luke Broadwater and Michael S
2022-06-28   2022-06-29 hearing.html                                  Insiders Account of a Presidents Volatility Schmidt                          TX 9-179-521   2022-08-01



                                                                                 Page 3940 of 5793
                        https://www.nytimes.com/2022/06/28/us/supr
2022-06-28   2022-06-29 eme-court-louisiana-voting-map.html        Justices Revive GOPDrawn Map in Louisiana By Adam Liptak                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/us/texa Court Wins and Losses in States Are Defining By Neelam Bohra and Shawn
2022-06-28   2022-06-29 s-roe-abortion-ban-blocked.html            the Shifting Abortion Landscape              Hubler                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/world/a
                        mericas/a-truth-commission-publishes-the-
                        most-comprehensive-account-yet-of-         SoulSearching Report From Colombias Truth By Julie Turkewitz and Genevieve
2022-06-28   2022-06-29 colombias-war.html                         Commission                                   Glatsky                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/world/a Riot and Fire Kill Scores At a Prison in     By Emma Bubola and Iigo
2022-06-28   2022-06-29 mericas/colombia-prison-riot-fire.html     Colombia                                     Alexander                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/world/a
2022-06-28   2022-06-29 sia/china-covid-quarantine.html            China Halves Quarantine at Entry             By Chris Buckley                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/world/a Taking Middle Path India Juggles Geopolitics
2022-06-28   2022-06-29 sia/india-russia-war.html                  and Economics in Russia Crisis               By Emily Schmall and Suhasini Raj TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/world/a Arrest Adds to Concerns for Freedom of the
2022-06-28   2022-06-29 sia/indian-journalist-arrested-modi.html   Press in India                               By Sameer Yasir                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/world/a
2022-06-28   2022-06-29 sia/usb-japan-flash-drive-amagasaki.html   Lost and Found In Japan Data Of 460000       By Makiko Inoue and Tiffany May TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/28/world/e Bidens Risky Attempt To Cap Russian Oil
2022-06-28   2022-06-29 urope/biden-russia-oil-cap.html            Price Is an Inverse OPEC                     By Jim Tankersley                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/28/world/e Former Nazi Guard 101 Is Convicted in
2022-06-28   2022-06-29 urope/ex-nazi-guard-convicted-germany.html Murders At Concentration Camp              By Christopher F Schuetze         TX 9-179-521     2022-08-01
                                                                                                              By Steven Erlanger Valerie
                        https://www.nytimes.com/2022/06/28/world/e Turkey Drops Its Objections to Sweden and  Hopkins Anton Troianovski and
2022-06-28   2022-06-29 urope/nato-finland-sweden-ukraine.html      Finland Joining NATO                      Michael D Shear                   TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/28/world/e Generation of Lawyers Shaped by the Paris
2022-06-28   2022-06-29 urope/paris-attacks-trial.html              Attacks                                     By Constant Mheut               TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/28/world/e
                        urope/scotland-independence-vote-           Scottish Leader Seeks Independence Vote
2022-06-28   2022-06-29 britain.html                                Challenging Judges to Stop It               By Stephen Castle               TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/28/world/e                                              By Thomas GibbonsNeff and
2022-06-28   2022-06-29 urope/ukraine-army-russia.html              Outdated Radios Proving Costly for Ukraine Natalia Yermak                   TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/28/your- Cutting Back but Still Struggling as Inflation
2022-06-28   2022-06-29 money/inflation-consumer-behavior.html      Spikes                                      By Tara Siegel Bernard          TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/28/nyregio In New York Hochul Cruises in Primary And
2022-06-29   2022-06-29 n/hochul-governor-primary-new-york.html     Will Face Zeldin in Governors Race          By Nicholas Fandos              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/28/opinion Cassidy Hutchinson a Class Act Among
2022-06-29   2022-06-29 /cassidy-hutchinson-meadows-trump.html      Cowards                                     By Michelle Cottle              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/28/us/cassi
2022-06-29   2022-06-29 dy-hutchinson-trump.html                    Star Witness Is Panels Most Powerful        By Maggie Haberman              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/28/us/polit Illinois Governors Race Shows GOPs Lurch
2022-06-29   2022-06-29 ics/illinois-colorado-primaries.html        to Right Helped by Left                     By Shane Goldmacher             TX 9-179-521     2022-08-01




                                                                               Page 3941 of 5793
                        https://www.nytimes.com/2022/06/28/us/polit
                        ics/trump-truth-social-jan-6-hearing-        Ally Calls Testimony a Killer Others Say This By Michael C Bender and Maggie
2022-06-29   2022-06-29 twitter.html                                 Too Shall Pass                                Haberman                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/busines Where Are the Deals Shoppers Feel a Void As
2022-06-29   2022-06-29 s/economy/grocery-coupons-inflation.html     Coupons Vanish                                By Lydia DePillis                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/nyregio Goggles Floats Fins Ready for Swim Class If
2022-06-29   2022-06-29 n/nyc-pools-swim-lesson-shortage.html        They Can Find One                             By Hurubie Meko                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/us/wom
2022-06-29   2022-06-29 en-abortion-roe-wade.html                    Women Fear What More They Might Lose          By Julie Bosman                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/17/well/liv
2022-06-17   2022-06-30 e/feel-better-naked.html                     Here to Help How to Feel Better Naked         By Catherine Pearson             TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/26/nyregio Tick Hunters Race To Combat Rise Of a Tiny
2022-06-26   2022-06-30 n/tick-diseases-new-york.html                Pest                                          By Jesse McKinley                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/style/pl As Abortion Access Narrows Some Women By Katherine Rosman and Gina
2022-06-27   2022-06-30 an-b-stockpile-roe-abortion.html             Think Ahead                                   Cherelus                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/style/ro
2022-06-27   2022-06-30 se-wolffer-hamptons.html                     Ros Has Become a Lifestyle                    By Alex Williams                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/us/elect Violent Threats Continue Against Election      By Michael Wines and Eliza
2022-06-27   2022-06-30 ion-workers-safety.html                      Workers Despite Federal Efforts               Fawcett                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/27/sports/ Marlin Briscoe Pioneer As Black Quarterback By Ken Belson and Richard
2022-06-28   2022-06-30 marlin-briscoe-dead.html                     In the AFL Dies at 76                         Sandomir                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/arts/mu A Singer Connects To Fans By Baring His
2022-06-28   2022-06-30 sic/conan-gray-superache.html                Heart                                         By Jeremy Gordon                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/busines Facing a Surge in Violence Retail Workers
2022-06-28   2022-06-30 s/retail-workers-assaults.html               Want to Fight Back                            By Michael Corkery               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/health/ Brazilians Tap A Black Market In Abortion
2022-06-28   2022-06-30 brazil-abortion-pills.html                   Pills                                         By Stephanie Nolen               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/movies/
2022-06-28   2022-06-30 marcel-the-shell-behind-the-scenes.html      Marcel the Shell Inched to the Big Screen     By Jason Bailey                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/movies/
2022-06-28   2022-06-30 the-man-from-toronto-review.html             Many Types of Mistaken Identity               By Calum Marsh                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/opinion
2022-06-28   2022-06-30 /coping-climate-war-happiness.html           Its Possible to Balance Despair With Joy      By Mary Pipher                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/style/m
2022-06-28   2022-06-30 arc-jacobs-fall-2022-collection.html         Marc Jacobs Chooses His Time Wisely           By Jessica Iredale               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/world/e Deborah James 40 a British Podcaster Who
2022-06-28   2022-06-30 urope/deborah-james-dead.html                Chronicled Her Battle With Cancer             By Emma Bubola                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/arts/des
                        ign/orlando-museum-art-basquiat-director-
2022-06-29   2022-06-30 fired.html                                   Museum Director Ousted After Raid             By Brett Sokol                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/arts/tele
                        vision/cassidy-hutchinson-jan-6-
2022-06-29   2022-06-30 committee.html                               The Jan 6 Hearings Beastly Surprise           By James Poniewozik              TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/28/opinion
2022-06-29   2022-06-30 /cassidy-hutchinson-testimony.html           A Ruinous Portrait of Narcissism              By Frank Bruni                   TX 9-179-521   2022-08-01



                                                                                Page 3942 of 5793
                        https://www.nytimes.com/2022/06/29/arts/dan
                        ce/christopher-williams-les-sylphides-ballet-
2022-06-29   2022-06-30 review.html                                   Otherworldly Spirits Brought to Life         By Gia Kourlas                      TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/arts/des
2022-06-29   2022-06-30 ign/ruth-foundation-for-the-arts.html         Arts Groups Pocket Unexpected Grants         By Ted Loos                         TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/arts/mu
2022-06-29   2022-06-30 sic/devils-of-loudun-munich.html              Tragic Demons in a Sacred Atmosphere         By Joshua Barone                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/arts/tele Mary Mara 61 Actress On Array of TV
2022-06-29   2022-06-30 vision/mary-mara-dead.html                    Dramas                                       By Amisha Padnani                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/books/r
                        eview-why-we-did-it-tim-miller-republican- Offering a Road Map for Followers Not
2022-06-29   2022-06-30 road-to-hell.html                             Leaders                                      By Jennifer Szalai                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/busines Amazon Moves to Restrict LGBTQ Items in
2022-06-29   2022-06-30 s/amazon-lgbtq-uae-emirates.html              UAE                                          By Karen Weise                      TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/29/busines 5 Chinese Companies Accused of Aiding
2022-06-29   2022-06-30 s/chinese-companies-russia-sanctions.html  Russia Are Blocked From US Tech                 By Alan Rappeport                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/busines
                        s/economy/mortgage-rates-housing-          House Sales Have Cooled Significantly In
2022-06-29   2022-06-30 market.html                                Just Weeks                                      By Conor Dougherty                  TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/29/busines Inflation Forces Central Bankers to Ponder a By Eshe Nelson and Jeanna
2022-06-29   2022-06-30 s/jerome-powell-federal-reserve-inflation.html Global New Normal                            Smialek                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/busines McKinseys Sway Pervaded the Opioid               By Chris Hamby and Michael
2022-06-29   2022-06-30 s/mckinsey-opioid-crisis-opana.html            Industry                                     Forsythe                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/busines Pandemic Not Death Sentence For
2022-06-29   2022-06-30 s/media/local-newspapers-pandemic.html         Newspapers                                   By Isabella Simonetti              TX 9-179-521   2022-08-01
                                                                       Substack the Newsletter StartUp Forgoes
                        https://www.nytimes.com/2022/06/29/busines FundRaising and Lays Off 14 of Its Work
2022-06-29   2022-06-30 s/media/substack-layoffs.html                  Force                                        By Benjamin Mullin                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/busines                                                  By Ron Lieber and Tara Siegel
2022-06-29   2022-06-30 s/payment-data-abortion-evidence.html          Digital Data As Evidence Of Abortion         Bernard                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/busines
2022-06-29   2022-06-30 s/spirit-frontier-airlines-jetblue.html        With 2 Suitors Spirit Airlines Puts Off Vote By Peter Eavis and Lauren Hirsch   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/nyregio Abortion Stance a Divisive Issue in NY
2022-06-29   2022-06-30 n/abortion-lee-zeldin-governor.html            Governors Race                               By Nicholas Fandos                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/nyregio New York Files Lawsuits Against Gun              By Ashley Southall and Jonah E
2022-06-29   2022-06-30 n/ghost-gun-sellers-lawsuits.html              Companies                                    Bromwich                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/nyregio Former Giuliani Associate Is Sentenced to 20
2022-06-29   2022-06-30 n/lev-parnas-sentenced.html                    Months                                       By Colin Moynihan                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/nyregio
                        n/mother-son-charged-julissia-batties-         Bronx Mother And Her Son Are Charged         By Andy Newman and Chelsia
2022-06-29   2022-06-30 death.html                                     With Murder                                  Rose Marcius                       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/nyregio Kelly Is Sentenced to 30 Years as One Victim
2022-06-29   2022-06-30 n/r-kelly-racketeering-sex-abuse.html          Says We Reclaim Our Names                    By Troy Closson                    TX 9-179-521   2022-08-01



                                                                                  Page 3943 of 5793
                        https://www.nytimes.com/2022/06/29/nyregio New Haven Police Face Inquiry After Black
2022-06-29   2022-06-30 n/randy-cox-paralyzed-new-haven-police.html Man in Custody Is Paralyzed                  By Ali Watkins                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/opinion
                        /cassidy-hutchinson-january-6-
2022-06-29   2022-06-30 committee.html                              Hutchinson Changes Everything                By Norman Eisen                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/opinion
2022-06-29   2022-06-30 /nato-expansion-putin.html                  NATO Expansion Compliments of Putin          By Alex Kingsbury              TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/29/sports/b As the Season Drags On Innings Begin to Pile
2022-06-29   2022-06-30 aseball/yankees-pitching-cortes-severino.html Up for Two Yankees Starters                By Gary Phillips               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/sports/g
                        olf/big-names-big-money-and-a-big-pushback-Saudi Tour Reaches US Its Controversies And
2022-06-29   2022-06-30 at-liv-golfs-oregon-event.html                Conflicts in Tow                           By Jer Longman                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/sports/s Concerns Complaints and a Suicide Shake a
2022-06-29   2022-06-30 occer/chelsea-workplace-suicide.html          Premier League Power                       By Tariq Panja                 TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/29/sports/t Closer to the End Than the Middle Still
2022-06-29   2022-06-30 ennis/serena-william-future-wimbledon.html Believes                                       By Matthew Futterman          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/sports/t
2022-06-29   2022-06-30 ennis/wimbledon-cressy.html                   OneMan Revival Of ServeandVolley            By Matthew Futterman          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/sports/t
                        ennis/wimbledon-harmony-tan-serena-
2022-06-29   2022-06-30 williams.html                                 The Surprise Of Her Life Defeating Williams By Kris Rhim                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/style/pa
2022-06-29   2022-06-30 ris-fashion-week-mens-wear.html               The New Men Are All the Rage                By Guy Trebay                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/technol
2022-06-29   2022-06-30 ogy/abortion-data-privacy.html                Our Data Was at Risk Well Before Roes End By Shira Ovide                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/technol FCC Member Requests Removal of TikTok
2022-06-29   2022-06-30 ogy/apple-google-tiktok.html                  App                                         By David McCabe               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/technol
                        ogy/personaltech/use-that-everyday-ai-in-your
2022-06-29   2022-06-30 pocket.html                                   Managing the Everyday AI in Your Pocket     By J D Biersdorfer            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/us/abor                                                By J David Goodman and Jack
2022-06-29   2022-06-30 tion-enforcement-prosecutors.html             Rifts Abound Over Enforcing Abortion Bans Healy                           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/us/hers Hershel Williams a Hero in the Battle for Iwo
2022-06-29   2022-06-30 hel-williams-dead.html                        Jima Is Dead at 98                          By Richard Goldstein          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/us/polit A Chief of Staff Aloof If Not Overwhelmed
2022-06-29   2022-06-30 ics/mark-meadows-jan-6.html                   As Jan 6 Unfolded                           By Maggie Haberman            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/us/polit Michael Stenger 71 Ousted Senate
2022-06-29   2022-06-30 ics/michael-stenger-dead.html                 SergeantatArms                              By Richard Sandomir           TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/us/polit Panel Subpoenas Counsel Who Fought Trump By Luke Broadwater and Maggie
2022-06-29   2022-06-30 ics/pat-cipollone-subpoena-jan-6.html         Efforts To Undo Election Results            Haberman                      TX 9-179-521   2022-08-01




                                                                                 Page 3944 of 5793
                        https://www.nytimes.com/2022/06/29/us/polit
                        ics/supreme-court-ruling-oklahoma-          Supreme Court Narrows a Landmark Decision
2022-06-29   2022-06-30 tribes.html                                 for Tribes in Oklahoma                      By Adam Liptak                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/us/polit Testimony of Trump Allies And Extremists at
2022-06-29   2022-06-30 ics/trump-flynn-stone-jan-6-extremist.html  Hearing                                     By Alan Feuer                   TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/29/us/polit Heated Debate Erupts Over What Happened By Zolan KannoYoungs and
2022-06-29   2022-06-30 ics/what-happened-trumps-vehicle-jan-6.html in Trumps Vehicle on Jan 6                  Maggie Haberman                 TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/us/texa Truck With Doomed Migrants Slipped Past By James Dobbins J David
2022-06-29   2022-06-30 s-migrants-deaths-truck.html                US Checkpoint                               Goodman and Miriam Jordan       TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/us/the- All Medal of Honor Recipients From World
2022-06-29   2022-06-30 medal-and-the-war.html                      War II Are Gone                             By Richard Goldstein            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/us/wisc
                        onsin-supreme-court-natural-resources-
2022-06-29   2022-06-30 board.html                                  GOP Effort To Control Board Seats Is Upheld By Michael Wines                TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/29/world/a CO Poisoning Is Blamed For 3 Deaths Of
2022-06-29   2022-06-30 mericas/bahamas-resort-americans-killed.html Americans                                By Alyssa Lukpat and Johnny Diaz TX 9-179-521    2022-08-01

                        https://www.nytimes.com/2022/06/29/world/a Unrest Rises Across India After Killing Of
2022-06-29   2022-06-30 sia/india-muslim-hindu-killing-udaipur.html Hindu Man                                  By Suhasini Raj                  TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/world/a Government In Philippines Moves to Shut
2022-06-29   2022-06-30 sia/philippines-rappler-shutdown.html       News Website                               By SuiLee Wee                    TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/world/a Strict Lockdown Is Over But Raw Feelings
2022-06-29   2022-06-30 sia/shanghai-lockdown-china.html            Linger                                     By Vivian Wang                   TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/world/e 20 Are Convicted in Paris Rampage Including By Constant Mheut and Aurelien
2022-06-29   2022-06-30 urope/2015-paris-attacks-verdict.html       Only Surviving Attacker                    Breeden                          TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/world/e Deadly Deluge Rips Through Southern         By Christine Hauser and
2022-06-29   2022-06-30 urope/austria-floods.html                   Austria                                    Christopher F Schuetze           TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/29/world/e
2022-06-29   2022-06-30 urope/eu-heated-tobacco-products-vapes.html EU Targets Some Types Of Tobacco           By Isabella Kwai and Euan Ward TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/29/world/e NATO Retools Its Mission For Moscows        By Steven Erlanger and Michael D
2022-06-29   2022-06-30 urope/nato-expansion-ukraine-war.html       Aggression                                 Shear                            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/world/e Prince Charles to Stop Accepting Large Cash
2022-06-29   2022-06-30 urope/prince-charles-cash-donations.html    Donations                                  By Amanda Holpuch                TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/world/e
                        urope/ukraine-prisoner-exchange-            Prisoner Swap Includes Fighters From       By Michael Schwirtz Marc Santora
2022-06-29   2022-06-30 mariupol.html                               Mariupol                                   and Ivan Nechepurenko            TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/world/e After Rapes by Invaders Painful Quest for
2022-06-29   2022-06-30 urope/ukraine-russia-rape.html              Justice Begins in Kyivs Environs           By Valerie Hopkins               TX 9-179-521   2022-08-01
                        https://www.nytimes.com/2022/06/29/world/
                        middleeast/egypt-nile-houseboats-           As Cairo Destroys Houseboats Legends Are
2022-06-29   2022-06-30 demolition.html                             Lost                                       By Vivian Yee and Nada Rashwan TX 9-179-521     2022-08-01




                                                                               Page 3945 of 5793
                        https://www.nytimes.com/2022/06/29/world/ After Covert Gains by Israel Iran Demotes Its By Farnaz Fassihi and Ronen
2022-06-29   2022-06-30 middleeast/israel-iran-spy-chief.html     Intelligence Chief                            Bergman                           TX 9-179-521   2022-08-01

                        https://www.nytimes.com/2022/06/29/world/ Ben amp Jerrys Israeli Unit Is Sold Defusing
2022-06-29   2022-06-30 middleeast/unilver-ben-and-jerrys-israel.html Dispute                                      By Patrick Kingsley          TX 9-179-521     2022-08-01
                        https://www.nytimes.com/interactive/2022/06/ Illinois Abortion Clinics Prepare for Rush of
2022-06-29   2022-06-30 29/us/illnois-abortion-roe-wade.html          Patients After Roe                           By Allison McCann            TX 9-179-521     2022-08-01
                        https://www.nytimes.com/live/2022/06/29/bus
                        iness/economy-news-inflation-stocks/the-
                        chamber-of-commerce-seeks-to-rein-in-the-
2022-06-29   2022-06-30 consumer-bureau-chief                         Bureau Chief Is Clear Target Of Trade Group By Ephrat Livni               TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/29/opinion The Supreme Court Takes Us Back Way
2022-06-30   2022-06-30 /roe-dobbs-abortion-supreme-court.html        Back                                         By Gail Collins              TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/29/us/polit
                        ics/jan-6-committee-justice-department-       Aides Testimony Reveals Friction Between By Glenn Thrush Luke Broadwater
2022-06-30   2022-06-30 trump.html                                    Parallel Jan 6 Inquiries                     and Michael S Schmidt        TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/30/busines
                        s/economy/ports-workers-union-                As Dockworkers Near Contracts End The US
2022-06-30   2022-06-30 california.html                               Has a Stake                                  By Kurtis Lee                TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/30/insider/
2022-06-30   2022-06-30 editing-with-a-reporters-instinct.html        Editing With a Reporters Instinct            By Emmett Lindner            TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/30/sports/b Griners Trial in Russia Is Starting and Is     By Jonathan Abrams and Tania
2022-06-30   2022-06-30 asketball/brittney-griner-trial-russia.html   Likely to End in a Conviction                Ganguli                      TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/30/style/a-
                        new-york-homecoming-for-the-queen-of-
2022-06-30   2022-06-30 hoops.html                                    New York Homecoming For Queen of Hoops By Anna Grace Lee                  TX 9-179-521     2022-08-01
                        https://www.nytimes.com/2022/06/21/theater/ New Soho Rep Season Features Three World
2022-06-21   2022-07-01 soho-rep-new-season.html                      Premieres                                    By Sarah Bahr                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/27/opinion Californias Fight Against Homelessness Has
2022-06-27   2022-07-01 /california-homeless-mental-illness.html      Turned Desperate and Dangerous               By Jay Caspian Kang          TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/28/arts/mu Jazz at Lincoln Centers 35th Season Goes
2022-06-28   2022-07-01 sic/jazz-at-lincoln-center-season.html        Global                                       By Giovanni Russonello       TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/28/movies/
2022-06-28   2022-07-01 doula-review.html                             Doula                                        By Jeannette Catsoulis       TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/28/movies/
2022-06-28   2022-07-01 down-with-the-king-review.html                A Rapper Fleeing From a Career Malaise       By AO Scott                  TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/28/nyregio Hundreds of Teachers Cut At New York City
2022-06-28   2022-07-01 n/nyc-schools-budget-cuts-teachers.html       Schools                                      By Hurubie Meko              TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/06/28/us/polit The Uncompromising Prosecutor on Jan 6       By Glenn Thrush Alan Feuer and
2022-06-28   2022-07-01 ics/trump-investigation-thomas-windom.html Detail                                        Michael S Schmidt                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/arts/juli
2022-06-29   2022-07-01 a-stoschek-nazi-family-past.html             Artists Scrutinize a Familys Nazi Past      By Thomas Rogers                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/busines Bernard Stolar 75 Influential Executive Who
2022-06-29   2022-07-01 s/bernard-stolar-dead.html                   Helped Create Video Game Consoles           By Neil Genzlinger               TX 9-189-149   2022-09-01



                                                                                Page 3946 of 5793
                        https://www.nytimes.com/2022/06/29/climate Airliners Powered by Sustainable Fuel
2022-06-29   2022-07-01 /planes-sustainable-fuel-flight.html        Remain a Distant Goal                       By Peter Wilson                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/movies/ Three Stories From Alternative Points of
2022-06-29   2022-07-01 documentaries-streaming.html                View                                        By Ben Kenigsberg               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/movies/
2022-06-29   2022-07-01 the-art-of-making-it-review.html            The Art of Making It                        By Beatrice Loayza              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/technol Plunge of Crypto Spares No One But
2022-06-29   2022-07-01 ogy/crypto-crash-divide.html                Amateurs Are Hit Hardest                    By David YaffeBellany           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/arts/dan
2022-06-30   2022-07-01 ce/jacobs-pillow-americana-to-me.html       Seeing a Distressed America Through Dance   By Brian Seibert                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/arts/des
                        ign/foreland-art-complex-catskill-new-york-
2022-06-30   2022-07-01 halmos.html                                 A Place to Hang Their Work and Hang Out     By Hilarie M Sheets             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/arts/des
                        ign/magazzino-russel-wright-design-
2022-06-30   2022-07-01 center.html                                 Nature Havens Indoors and Out               By Joseph Giovannini            TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/06/30/arts/tele
2022-06-30   2022-07-01 vision/for-all-mankind-alone-streaming.html This Weekend I Have                           By Margaret Lyons             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/arts/tele
2022-06-30   2022-07-01 vision/stranger-things-eduardo-franco.html   In Stranger Things a Slice of Comic Relief   By Sadiba Hasan               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/automo
2022-06-30   2022-07-01 biles/collectibles/car-collectors.html       Shows for fans of all makes and models       By Norman Mayersohn           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/books/1
2022-06-30   2022-07-01 2-new-books-coming-in-july.html              An Impressive Stack for Reading in July      By Joumana Khatib             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/busines                                                By Ben Casselman and Jeanna
2022-06-30   2022-07-01 s/economy/income-spending-may.html           Rising Prices Outpace Pay And Buying         Smialek                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/busines
2022-06-30   2022-07-01 s/germany-russian-gas-uniper-bailout.html    Energy Firm In Germany Seeks Relief          By Melissa Eddy               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/busines
                        s/hedge-fund-sexual-misconduct-
2022-06-30   2022-07-01 settlement.html                              53 Million To ExStar Of Wall St              By Stephen Gandel             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/busines
                        s/media/abortion-travel-expenses-media-
2022-06-30   2022-07-01 companies.html                               Media Companies Expand Health Care           By Emma Goldberg              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/busines                                                By Nicole Sperling and John
2022-06-30   2022-07-01 s/media/netflix-streaming-business.html      Is Business as Usual Good Enough for Netflix Koblin                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/busines
2022-06-30   2022-07-01 s/opec-oil-russia-us.html                    Russias Status Unclear as OPEC Lifts Output By Stanley Reed                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/busines
2022-06-30   2022-07-01 s/puerto-rico-euro-pacific-bank.html         Boutique Bank Is Shut Down By Puerto Rico By Matthew Goldstein             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/busines For Wall Street Already Dismal Gloom
2022-06-30   2022-07-01 s/stock-market-worst-start-50-years.html     Deepens                                      By Isabella Simonetti         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/busines Uber Says Sexual Assaults Are Down but
2022-06-30   2022-07-01 s/uber-safety-report.html                    Traffic Death Rate Is Up                     By Kellen Browning            TX 9-189-149   2022-09-01



                                                                                Page 3947 of 5793
                        https://www.nytimes.com/2022/06/30/climate Biden Left With Few Tools To Combat
2022-06-30   2022-07-01 /biden-climate-action-epa.html                 Climate Change                             By Coral Davenport               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/movies/
                        accepted-review-reaching-for-the-stars-seeing-
2022-06-30   2022-07-01 them-dissolve.html                             Accepted                                   By Beandrea July                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/movies/
2022-06-30   2022-07-01 beauty-review.html                             Beauty                                     By Lisa Kennedy                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/movies/
2022-06-30   2022-07-01 clara-sola-review-breaking-free.html           Clara Sola                                 By Devika Girish                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/movies/
                        hallelujah-leonard-cohen-a-journey-a-song-
2022-06-30   2022-07-01 review.html                                    Many Versions of the Story About One Song By AO Scott                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/movies/
2022-06-30   2022-07-01 louis-ck-fourth-of-july-review.html            A Familys Fireworks Fizzle                 By Glenn Kenny                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/movies/ Some Yellow Yammerers And Their Younger
2022-06-30   2022-07-01 minions-the-rise-of-gru-review.html            Boss                                       By Glenn Kenny                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/movies/
2022-06-30   2022-07-01 mr-malcolms-list-review.html                   A Checklist for Affection Belies the Point By Amy Nicholson                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/movies/
2022-06-30   2022-07-01 rubikon-review.html                            Rubikon                                    By Jeannette Catsoulis           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/movies/
2022-06-30   2022-07-01 the-forgiven-review.html                       When the Haves Dispose of a HaveNot        By Manohla Dargis                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/nyregio NY Democrats to Pass New Gun Laws in           By Luis FerrSadurn and Grace
2022-06-30   2022-07-01 n/handgun-concealed-carry-ny.html              Response to Supreme Court Ruling           Ashford                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/nyregio As Monkeypox Rises New York Will Issue
2022-06-30   2022-07-01 n/monkeypox-vaccine-ny.html                    8000 Vaccine Doses                         By Sharon Otterman               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/nyregio Police Are Eyeing Domestic Violence in         By Chelsia Rose Marcius Ali
2022-06-30   2022-07-01 n/mother-upper-east-side-shooting.html         Upper East Side Killing of Mother          Watkins and Ashley Southall      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/nyregio New York City Mobile Sites To Offer
2022-06-30   2022-07-01 n/nyc-paxlovid-covid-treatment.html            Antiviral Medicine                         By Emma G Fitzsimmons            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/nyregio NYPDs Handling of Sex Crimes Will Face a By Ashley Southall and Troy
2022-06-30   2022-07-01 n/nypd-sex-crimes-justice-department.html      Justice Dept Investigation                 Closson                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/opinion
2022-06-30   2022-07-01 /dobbs-roe-republican-party-trump.html         The End of Roe May Be the End of Trump     By Bonnie Kristian               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/opinion
2022-06-30   2022-07-01 /republicans-trump-coup.html                   Crazies Cowards and the Trump Coup         By Paul Krugman                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/opinion
                        /why-on-earth-is-pelosi-supporting-the-
2022-06-30   2022-07-01 trumpists.html                                 Why Is Pelosi Supporting Trumpists         By David Brooks                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/sports/b
2022-06-30   2022-07-01 aseball/max-scherzer-mets.html                 The Cavalry Rides In on a Rumble Pony      By Tyler Kepner                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/sports/b
                        asketball/kevin-durant-trade-demand-           Durant Seeks Trade Leaving Brooklyn and
2022-06-30   2022-07-01 nets.html                                      Irving Behind                              By Tania Ganguli and Sopan Deb   TX 9-189-149   2022-09-01




                                                                                Page 3948 of 5793
                        https://www.nytimes.com/2022/06/30/sports/k A Champion Wants To Fight the Best Its
2022-06-30   2022-07-01 ayla-harrison-pfl-mma.html                  Not That Simple                             By Morgan Campbell               TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/30/sports/n In Monumental Shift UCLA and USC Seek to
2022-06-30   2022-07-01 caafootball/ucla-usc-big-ten.html           Join the Big Ten                            By Alan Blinder and Billy Witz   TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/30/sports/t For the First Time Since the 1990s American
2022-06-30   2022-07-01 ennis/wimbledon-usa-men.html                Men Thrive on British Soil                  By Matthew Futterman             TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/30/sports/t What to Watch From Denmark to the
2022-06-30   2022-07-01 our-de-france-tadej-pogacar.html            Champslyses and All Points Between          By Victor Mather                 TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/30/technol
2022-06-30   2022-07-01 ogy/period-tracker-privacy-abortion.html    How Data Can Reveal An Abortion             By Kashmir Hill                  TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/06/30/theater/
2022-06-30   2022-07-01 hamlet-robert-icke-alex-lawther-armory.html Hamlet Time to Get Up Off the Floor          By Maya Phillips                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/us/emm
2022-06-30   2022-07-01 ett-till-carolyn-bryant-arrest-warrant.html 1955 Warrant In Till Case Is Discovered      By Alex Traub                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/us/epa-
2022-06-30   2022-07-01 carbon-emissions-scotus.html                Justices Curb EPA Power Over Emissions       By Adam Liptak                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/us/flori
2022-06-30   2022-07-01 da-abortion-ban-blocked.html                Florida Judge to Block 15Week Abortion Ban By Patricia Mazzei                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/us/polit Justices Permit End to Trumps Policy Holding By Adam Liptak Miriam Jordan
2022-06-30   2022-07-01 ics/biden-remain-in-mexico-scotus.html      Asylum Seekers in Mexico                     and Eileen Sullivan               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/us/polit FDA Wants Covid Boosters Updated to
2022-06-30   2022-07-01 ics/fda-omicron-vaccine.html                Target Subvariants                           By Noah Weiland                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/us/polit
                        ics/ketanji-brown-jackson-sworn-in-supreme- Jackson Takes Oath Becoming First Black
2022-06-30   2022-07-01 court.html                                  Woman on Supreme Court                       By Annie Karni                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/us/polit
                        ics/state-legislatures-elections-supreme-                                                By Adam Liptak and Nick
2022-06-30   2022-07-01 court.html                                  Supreme Court Could Reshape Election Rules Corasaniti                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/us/sonn Sonny Barger Who Turned the Hells Angels
2022-06-30   2022-07-01 y-barger-dead-hells-angels.html             Into Rebels Dies at 83                       By Clay Risen                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/us/supr Major Victory in Long Game to Dismantle
2022-06-30   2022-07-01 eme-court-epa-administrative-state.html     Business Regulations                         By Charlie Savage                 TX 9-189-149   2022-09-01
                                                                                                                 By Luke Broadwater Maggie
                        https://www.nytimes.com/2022/06/30/us/trum Jan 6 Fees Paid By Trump PAC Raise Red        Haberman Annie Karni and Alan
2022-06-30   2022-07-01 p-jan-6-lawyers-witness-pressure.html       Flags                                        Feuer                             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/world/a
                        sia/hong-kong-china-anniversary-            Turning Point for an EverChanging Hong       By Hannah Beech and Sergey
2022-06-30   2022-07-01 handover.html                               Kong                                         Ponomarev                         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/world/a With Inauguration Marcos Comeback in
2022-06-30   2022-07-01 sia/philippines-marcos-inauguration.html    Philippines Is Complete                      By Jason Gutierrez and SuiLee Wee TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/world/a
2022-06-30   2022-07-01 sia/ping-shek-estate-hong-kong.html         Instagram Spot Becomes a Show of Loyalty By Tiffany May                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/world/a Chinas Xi in Hong Kong Hails Citys Vitality By Alexandra Stevenson Zixu
2022-06-30   2022-07-01 sia/xi-jinping-visits-hong-kong.html        Amid a Crackdown                             Wang and Austin Ramzy             TX 9-189-149   2022-09-01



                                                                                Page 3949 of 5793
                        https://www.nytimes.com/2022/06/30/world/a
2022-06-30   2022-07-01 ustralia/australia-bees-lockdown.html      Killing Bees to Save the Honey Industry       By Karan Deep Singh             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/world/b                                               By Jim Tankersley and Michael D
2022-06-30   2022-07-01 iden-nato-g7-ukraine.html                  Allies Feeling Strain Of War and Gas Prices   Shear                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/world/e Biden Endorses Shelving The Filibuster as a   By Michael D Shear and Jim
2022-06-30   2022-07-01 urope/biden-nato-jan-6.html                Way To Codify Roe v Wade                      Tankersley                      TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/06/30/world/e                                             By Steven Erlanger Jim Tankersley
2022-06-30   2022-07-01 urope/biden-nato-ukraine-russia.html        In Ukraines Corner for as Long as It Takes Michael D Shear and Alan Yuhas TX 9-189-149      2022-09-01
                        https://www.nytimes.com/2022/06/30/world/e 10 Convicted Of Abetting Paris Attacks In   By Aurelien Breeden and Constant
2022-06-30   2022-07-01 urope/paris-attacks-belgium-trial.html      Late 2015                                  Mheut                             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/world/e Looking More Like His Prewar Self a Relaxed
2022-06-30   2022-07-01 urope/putin-russia-nato-ukraine.html        Putin Shifts Out of Crisis Mode            By Anton Troianovski              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/world/e A Ukrainian Military Leader Wields a Potent
2022-06-30   2022-07-01 urope/ukraine-vitaliy-kim-mykolaiv.html     Weapon Confidence                          By Roger Cohen                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/world/
                        middleeast/israel-parliament-dissolve-      Israel Parliament Collapse Sets Up 5th
2022-06-30   2022-07-01 elections.html                              Election in 4 Years                        By Patrick Kingsley               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/world/ In New Golf Tour Saudis See Solution to an
2022-06-30   2022-07-01 middleeast/saudi-arabia-pga-tour.html       Image Problem                              By Vivian Yee and Ben Hubbard TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/06/30/us/colu Columbia Bows Out of the Next US News
2022-07-01   2022-07-01 mbia-us-news-rankings.html                  Rankings                                   By Anemona Hartocollis            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/insider/
2022-07-01   2022-07-01 travel-pandemic-tracker.html                The Travel Desk Enters a New Phase         By Kate Dwyer                     TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/06/23/theater/
2022-06-23   2022-07-02 moliere-400-comedie-francise-versailles.html Molire Turning 400 Can Still Surprise       By Laura Cappelle              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/06/26/books/b
2022-06-26   2022-07-02 litz-bazawule-book.html                      Many Visions Many Paths                     By Dave Itzkoff                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/06/29/books/s
                        tephen-breyer-supreme-court-authority-peril-
2022-06-29   2022-07-02 politics.html                                Revisiting Breyers Defense                  By Jennifer Szalai             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/06/29/busines
                        s/media/first-amendment-roe-abortion-        Confrontation Over First Amendment May
2022-06-29   2022-07-02 rights.html                                  Loom in PostRoe Fight                       By Jeremy W Peters             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/06/25/us/july- With No Staff No Supply and No Rain Some
2022-06-30   2022-07-02 4-fireworks-canceled.html                    Cities Call Off July Fourth Fireworks       By Livia AlbeckRipka           TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/06/30/arts/mu Arnold Skolnick Whose Poster Embodied
2022-06-30   2022-07-02 sic/arnold-skolnick-dead.html                Woodstock Dies at 85                        By Neil Genzlinger             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/06/30/busines John Visentin 59 Who Was Chief Executive
2022-06-30   2022-07-02 s/john-visentin-xerox-dead.html              of Xerox                                    By Eduardo Medina              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/01/arts/dan A Troupe in Search of Some Military
2022-07-01   2022-07-02 ce/review-milka-djordjevich-corps.html       Precision                                   By Siobhan Burke               TX 9-189-149    2022-09-01




                                                                                Page 3950 of 5793
                        https://www.nytimes.com/2022/07/01/arts/des
                        ign/chinati-foundation-marfa-director-steps- The Director of the Chinati Foundation Will
2022-07-01   2022-07-02 down.html                                    Step Down                                     By Hilarie M Sheets       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/arts/des
2022-07-01   2022-07-02 ign/germany-benin-bronzes-nigeria.html       Germany Returns Benin Bronzes to Nigeria      By Alex Marshall          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/arts/mu Richard Taruskin a Vigorously Polemical
2022-07-01   2022-07-02 sic/richard-taruskin-dead.html               Musicologist Is Dead at 77                    By William Robin          TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/01/arts/mu Straining for Harmony Through Clouds of
2022-07-01   2022-07-02 sic/the-mutes-lina-lapelyte-paris-review.html Regret                                       By Joshua Barone          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/busines Huge Revival in Air Travel Pushes Workers
2022-07-01   2022-07-02 s/airport-employees-travel-delays.html        to Limit                                     By Liz Alderman           TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/01/busines
2022-07-01   2022-07-02 s/economy/gas-prices-driving-inflation.html Summer Travel Woes Road and Sky                By Clifford Krauss        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/busines Energy Prices Drive Record European
2022-07-01   2022-07-02 s/eurozone-inflation-june.html              Inflation                                      By Melissa Eddy           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/busines
2022-07-01   2022-07-02 s/general-motors-car-sales.html             Lack of Chips Puts Big Dent In Auto Sales      By Neal E Boudette        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/busines Strong June Showing Indicates That
2022-07-01   2022-07-02 s/media/movie-theaters-june.html            Moviegoing Is Rebounding                       By Brooks Barnes          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/busines Putin Issues a Decree to Seize a Key Exporter
2022-07-01   2022-07-02 s/putin-sakhalin-natural-gas.html           of Natural Gas in Russias Far East             By Stanley Reed           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/busines Grand Jury Hands Down Trump Media
2022-07-01   2022-07-02 s/trump-media-subpoena.html                 Subpoenas                                      By Matthew Goldstein      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/climate US Offshore Drilling Plan Finds Critics on
2022-07-01   2022-07-02 /biden-oil-gas-drilling-alaska.html         Both Sides                                     By Lisa Friedman          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/climate California Shifts Cost of Recycling Plastics to
2022-07-01   2022-07-02 /california-plastics-recycling-law.html     Packaging Manufacturers                        By Winston ChoiSchagrin   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/climate SolarPowered Beer Coolers The Climate Fight
2022-07-01   2022-07-02 /climate-policies-cities-states-local.html  Goes Local                                     By Maggie Astor           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/health/ Supply of Monkeypox Vaccine Could Fall
2022-07-01   2022-07-02 monkeypox-vaccine-bavarian-nordic.html      Short With Factory Closed                      By Apoorva Mandavilli     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/movies/
2022-07-01   2022-07-02 the-princess-review.html                    Youve Got to Kill to Keep the Throne           By Amy Nicholson          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/nyregio New York Aims to Enshrine Right to Seek an
2022-07-01   2022-07-02 n/abortion-ny-state-law.html                Abortion                                       By Grace Ashford          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/nyregio Judges Recuse Themselves Over
2022-07-01   2022-07-02 n/judge-recuse-covid-vaccine-stock.html     VaccineMaker Stock                             By Benjamin Weiser        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/nyregio New York Acts To Curb Fallout From 2            By Jonah E Bromwich and
2022-07-01   2022-07-02 n/ny-guns-abortion-supreme-court.html       Rulings                                        Nicholas Fandos           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/nyregio New York City Quietly Drops ColorCoded
2022-07-01   2022-07-02 n/nyc-covid-alert-risks.html                Covid Alert System as Cases Rise               By Emma G Fitzsimmons     TX 9-189-149   2022-09-01




                                                                                  Page 3951 of 5793
                        https://www.nytimes.com/2022/07/01/opinion
                        /environment/supreme-court-climate-change- The Courts EPA Decision Is More Gloom
2022-07-01   2022-07-02 west-virginia-epa.html                       Than Doom                                By David WallaceWells            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/opinion The 14th Amendment Should Protect Fetal
2022-07-01   2022-07-02 /fetal-personhood-constitution.html          Life                                     By Erika Bachiochi               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/opinion                                            By Joseph Blocher and Darrell AH
2022-07-01   2022-07-02 /guns-supreme-court.html                     Is a Musket Similar to an AR15           Miller                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/opinion
2022-07-01   2022-07-02 /post-roe-chaos.html                         Americas PostRoe Chaos Has Arrived       By Michelle Goldberg             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/sports/a
2022-07-01   2022-07-02 utoracing/formula-1-bouncing-cars.html       The new cars are violently bouncing      By Ian Parkes                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/sports/a
2022-07-01   2022-07-02 utoracing/michael-andretti-formula-1.html    An old name for a new team               By Luke Smith                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/sports/a
2022-07-01   2022-07-02 utoracing/williams-formula-1.html            A tough road back                        By Phillip Horton                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/sports/g Applause and Outrage Meet SaudiBacked
2022-07-01   2022-07-02 olf/liv-golf-saudi-arabia-mickelson.html     Tour                                     By Jer Longman                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/sports/h Russian Olympic Goalie Detained in St
2022-07-01   2022-07-02 ockey/flyers-russia-fedotov-ukraine.html     Petersburg                               By David Waldstein               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/sports/p Moves by Schools Could Soon Shave Power 5
2022-07-01   2022-07-02 ower-5-college-sports.html                   Down to 2                                By Alan Blinder                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/sports/t Swiatek Uses Actions And Words to Arouse
2022-07-01   2022-07-02 ennis/wimbledon-swiatek-ukraine.html         Concern for Ukraine                      By Christopher Clarey            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/sports/t He Was Ranked 205th Then He Had a
2022-07-01   2022-07-02 ennis/wimbledon-van-rijtoven.html            Magical Month                            By Matthew Futterman             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/technol Google Says Itll Delete Location Data Of
2022-07-01   2022-07-02 ogy/google-abortion-location-data.html       Visits by Users to Abortion Clinics      By Nico Grant                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/technol
2022-07-01   2022-07-02 ogy/meta-facebook-mark-zuckerberg.html       Hard Times Are Ahead Meta Is Told        By Mike Isaac and Sheera Frenkel TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/technol
                        ogy/tiktok-tells-republican-senators-how-it-
                        plans-to-keep-american-data-away-from-       TikTok Says US Data To Be Kept From
2022-07-01   2022-07-02 china.html                                   China                                    By David McCabe                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/theater/
2022-07-01   2022-07-02 review-53-percent-of.html                    Various Settings Rich With Targets       By Alexis Soloski                TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/01/travel/s The facts behind the furor about many flights
2022-07-01   2022-07-02 ummer-travel-flight-delays-cancellations.html being canceled or late                      By Heather Murphy            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/us/abor
2022-07-01   2022-07-02 tion-abolitionists.html                       After Abortion Ruling a Push for Punishment By Elizabeth Dias            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/us/giant Twice Eradicated Giant Snail Slithers Back in
2022-07-01   2022-07-02 african-land-snail-florida.html               Florida                                     By Patricia Mazzei           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/us/okla After Moratorium Oklahoma Schedules 25
2022-07-01   2022-07-02 homa-executions-scheduled.html                Executions in 29 Months                     By Nicholas BogelBurroughs   TX 9-189-149   2022-09-01




                                                                                Page 3952 of 5793
                        https://www.nytimes.com/2022/07/01/us/polit Theyre at the Center of Power And Theyre
2022-07-01   2022-07-02 ics/20-somethings-washington.html           Just Out of School                             By Annie Karni                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/01/us/polit Veteran Secret Service Agent Lands In a        By Maggie Haberman and Zolan
2022-07-01   2022-07-02 ics/anthony-ornato-jan-6-trump.html         Dispute Over Trumps Behavior                   KannoYoungs                     TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/01/us/polit
                        ics/biden-medal-of-freedom-biles-           Biles and McCain Among Recipients Of the
2022-07-01   2022-07-02 mccain.html                                 Presidential Medal of Freedom                  By Peter Baker                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/01/us/polit Griners Case May Be Tied To the Merchant
2022-07-01   2022-07-02 ics/brittney-griner-trial-russia.html       of Death                                       By Michael Crowley              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/01/us/polit Formidable US Weapons Help Ukraine to
2022-07-01   2022-07-02 ics/himars-weapons-ukraine.html             Blunt Russian Forces                           By Eric Schmitt and John Ismay   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/us/polit Fears That Texas Isnt Prepared for a Rise of   By Elizabeth Williamson and Erin
2022-07-01   2022-07-02 ics/texas-abortion-roe-wade.html            Births PostRoe                                 Schaff                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/us/polit Trump Considers an Early Entry in the 24       By Michael C Bender Reid J
2022-07-01   2022-07-02 ics/trump-republicans-campaign-2024.html Race                                              Epstein and Maggie Haberman      TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/01/us/supr Courts Term Was Its Most Conservative Since By Adam Liptak and Alicia
2022-07-01   2022-07-02 eme-court-term-roe-guns-epa-decisions.html 1931                                         Parlapiano                      TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/01/us/vladi Vladimir Zelenko 48 Country Doctor Who
2022-07-01   2022-07-02 mir-zelenko-dead.html                       Pushed Unfounded Covid Remedy               By Clay Risen                   TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/01/world/a Many More Mexicans Are Pinning Their         By Oscar Lopez and Maria
2022-07-01   2022-07-02 mericas/migrants-mexico-texas.html          Hopes On Dangerous Journeys                 AbiHabib                        TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/01/world/a Creating 300 Variations of One of Indias
2022-07-01   2022-07-02 sia/india-mango-kaleem-ullah-khan.html      Favorite Fruits                             By Mujib Mashal and Hari Kumar TX 9-189-149        2022-09-01
                        https://www.nytimes.com/2022/07/01/world/a North Korea Has a Hunch Alien Things
2022-07-01   2022-07-02 sia/north-korea-covid-balloons.html         Caused Surge                                By Choe SangHun                 TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/01/world/a In Muted Hong Kong Xi Says Political Power
2022-07-01   2022-07-02 sia/xi-jinping-hong-kong-china.html         Is for Patriots                             By Austin Ramzy and Vivian Wang TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/01/world/a
2022-07-01   2022-07-02 ustralia/climate-protest-laws.html          Australian Officials Crack Down on Protests By Yan Zhuang                   TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/01/world/e After Four Months in Prison WNBA Stars       By Anton Troianovski and Ivan
2022-07-01   2022-07-02 urope/brittney-griner-trial-russia.html     Trial Begins in Russia                      Nechepurenko                    TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/01/world/e Denmark Offers Apology For Mass Killing of By Emma Bubola Isabella Kwai
2022-07-01   2022-07-02 urope/denmark-mink-report-covid.html        Mink                                        and Jasmina Nielsen             TX 9-189-149       2022-09-01

                        https://www.nytimes.com/2022/07/01/world/e
2022-07-01   2022-07-02 urope/mariupol-drama-theater-ukraine.html Long Live the Theater In Mariupol Now Gone By Megan Specia                       TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/01/world/e
                        urope/missile-strikes-ukraine-russia-      At Least 21 Are Dead After Russian Missiles
2022-07-01   2022-07-02 residential-area.html                      Hit Resort Near Odesa                       By Roger Cohen                      TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/01/world/e Things to Do in Venice Walk the Narrow
2022-07-01   2022-07-02 urope/venice-tourism-register-pay.html     Streets Take a Vaporetto Pay the Entrance Fee By Elisabetta Povoledo            TX 9-189-149    2022-09-01




                                                                                  Page 3953 of 5793
                        https://www.nytimes.com/2022/07/01/world/
                        middleeast/israel-prime-minister-yair-     New Premier in Israel Played the Long Game
2022-07-01   2022-07-02 lapid.html                                 On the Road to Power                       By Isabel Kershner               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/world/
                        middleeast/tunisia-president-draft-        Tunisias President Drafts a Constitution
2022-07-01   2022-07-02 constitution.html                          Giving Himself Broad Powers                By Vivian Yee                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/your-
2022-07-01   2022-07-02 money/credit-card-debt-economy.html        Fortifying Finances Against Recession      By Ann Carrns                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/nyregio
                        n/mother-shot-upper-east-side-father-                                                 By Ali Watkins Chelsia Rose
2022-07-02   2022-07-02 arrested.html                              Arrest Made In Shooting On East Side       Marcius and William K Rashbaum   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/your-
                        money/abortion-employer-federal-           Will Government Subsidies for Abortions    By Ron Lieber and Tara Siegel
2022-07-02   2022-07-02 coverage.html                              Last                                       Bernard                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/05/17/books/r
2022-05-17   2022-07-03 eview/uncertain-ground-phil-klay.html      Undemocratic Wars                          By James Fallows                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/05/24/books/r
2022-05-24   2022-07-03 eview/dan-chaon-sleepwalk.html             MotorHome Mercenary                        By Joshua Ferris                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/05/31/books/r
                        eview/bill-mckibben-flag-cross-station-
2022-05-31   2022-07-03 wagon.html                                 Tugging the Thread                         By Timothy Egan                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/06/07/books/r
2022-06-07   2022-07-03 eview/corrections-in-ink-keri-blakinger.html From Cornell to Addiction to Prison    By David Sheff                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/07/books/r
2022-06-07   2022-07-03 eview/jessi-jezewska-stevens-visitors.html   System Crash                           By Audrey Wollen                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/07/books/r
2022-06-07   2022-07-03 eview/nuclear-family-joseph-han.html         Meltdown                               By Mateo Askaripour                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/07/books/r
                        eview/paula-byrne-the-adventures-of-miss-
2022-06-07   2022-07-03 barbara-pym.html                             An Excellent Woman Most of the Time    By Matthew Schneier                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/14/books/r
                        eview/ilja-leonard-pfeijffer-grand-hotel-
2022-06-14   2022-07-03 europa.html                                  Adieu Europe                           By Rand Richards Cooper            TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/06/14/books/r
2022-06-14   2022-07-03 eview/o-say-can-you-hear-mark-clague.html High Notes                                By Peter Sagal                     TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/06/19/books/r
2022-06-19   2022-07-03 eview/the-desperate-hours-marie-brenner.html Plagued                                By Sandeep Jauhar                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/06/21/books/r
2022-06-21   2022-07-03 eview/a-year-to-the-day-robin-benway.html Lost Time                                 By Nina LaCour                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/21/books/r
2022-06-21   2022-07-03 eview/ottessa-moshfegh-lapvona.html        Medieval Times                           By Hari Kunzru                     TX 9-189-149   2022-09-01



                                                                               Page 3954 of 5793
                        https://www.nytimes.com/interactive/2022/06/
2022-06-21   2022-07-03 21/us/major-supreme-court-cases-2022.html The Major Supreme Court Decisions in 2022 By Adam Liptak and Jason Kao             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/23/books/r
2022-06-23   2022-07-03 eview/dragons-love-tacos-adam-rubin.html       Inside the List                             By Elisabeth Egan                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/24/books/r
                        eview/droll-tales-iris-smyles-a-blind-corner-
                        caitlin-macy-sleeping-alone-ru-freeman-
2022-06-24   2022-07-03 fruiting-bodies-kathryn-harlan.html            Story Collections                           By Yoon Choi                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/24/opinion
2022-06-24   2022-07-03 /addiction-overdose-mental-health.html         Why Havent We Solved The Addiction Crisis By Jeneen Interlandi                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/25/style/m
2022-06-25   2022-07-03 ontys-good-burger.html                         The Burger That Instagram Built             By Molly Creeden                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/27/busines                                                 By Jack Ewing and Federico
2022-06-27   2022-07-03 s/ferrari-lamborghini-electric.html            For Italian Supercars an Electric Challenge Borella                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/27/realesta
                        te/only-murders-in-the-building-belnord-
2022-06-27   2022-07-03 arconia.html                                   More Than Only Murders Here                 By Penelope Green                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/27/realesta
2022-06-27   2022-07-03 te/shopping-tablecloths.html                   Upgrade Your Meal With a Custom Touch       By Tim McKeough                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/arts/ma Mary Fuller McChesney 99 Artist And
2022-06-28   2022-07-03 ry-fuller-mcchesney-dead.html                  Historian from Bay Area Dies                By Clay Risen                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/arts/po
2022-06-28   2022-07-03 dcasts-feel-good.html                          Escapism Even if You Are Staying at Home By Emma Dibdin                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/magazi
2022-06-28   2022-07-03 ne/basketball-instagram-art.html               ballhaus                                    By Sarah Mesle                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/magazi
2022-06-28   2022-07-03 ne/choose-karaoke-song.html                    How to Choose a Karaoke Song                By Malia Wollan                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/magazi My Sister Did Me Wrong in Secret ShouldI
2022-06-28   2022-07-03 ne/secret-wronged-resentment-ethics.html       Tell Her I Know                             By Kwame Anthony Appiah           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/magazi
2022-06-28   2022-07-03 ne/sex-ed-books-teens-parents.html             Sex Is Not for Everyone                     By Elaine Blair                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/opinion
2022-06-28   2022-07-03 /nato-europe-united-states.html                Europe Has an America Problem               By Emma Ashford                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/realesta
                        te/an-east-hampton-renovation-fit-for-a-ships-
2022-06-28   2022-07-03 captain.html                                   A Cottage Grew Bigger and Better            By Tim McKeough                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/theater/ How Alex Lawther Became an Expert on
2022-06-28   2022-07-03 alex-lawther-favorite-things.html              Grief                                       By Juan A Ramrez                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/06/                                               Photographs by Lindsay Morris and
2022-06-28   2022-07-03 28/magazine/school-shooting-drills.html        How Do You Prepare for a School Shooting Text by Cj Chivers                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/arts/bet Betty Rowland 106 A Burlesque Queen For
2022-06-29   2022-07-03 ty-rowland-dead.html                           Decades Dies                                By Penelope Green                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/magazi
2022-06-29   2022-07-03 ne/mac-salad-hawaii-recipe.html                A Scoop in the Sun                          By Ligaya Mishan                  TX 9-189-149   2022-09-01



                                                                                 Page 3955 of 5793
                        https://www.nytimes.com/2022/06/29/magazi
2022-06-29   2022-07-03 ne/moderate-democrat.html                    The Vanishing Moderate Democrat              By Jason Zengerle and Justin Metz TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/magazi
2022-06-29   2022-07-03 ne/youtube-critics.html                      Watch Dog                                    By Adlan Jackson                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/movies/ The Superhuman Proficiencies Of Taika
2022-06-29   2022-07-03 taika-waititi-thor-love-and-thunder.html     Waititi                                      By Dave Itzkoff                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/opinion
2022-06-29   2022-07-03 /chamber-congress-small-business.html        AntiWoke Businesses Push Back                By Peter Coy                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/opinion
2022-06-29   2022-07-03 /death-penalty-executions.html               The Death Penalty Is in Sharp Decline        By Maurice Chammah                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/opinion
2022-06-29   2022-07-03 /iran-prisoners-detained-americans.html      I Have Spent 2500 Days as a Hostage in Iran By Siamak Namazi                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/realesta Near a Cloud Forest the Scenery Is Never the
2022-06-29   2022-07-03 te/house-hunting-ecuador.html                Same                                         By Michael Kaminer                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/realesta
2022-06-29   2022-07-03 te/lawn-care.html                            Go Ahead and Grow a Lusher Smaller Lawn By Margaret Roach                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/realesta Hey They Even Have a Town Troubadour
2022-06-29   2022-07-03 te/ridgewood-nj.html                         Here                                         By Jill P Capuzzo                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/style/art
2022-06-29   2022-07-03 darling.html                                 Helping Black Artists Fill Spaces for Keeps By Ruth La Ferla                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/theater/
2022-06-29   2022-07-03 into-the-woods-cow-milky-white.html          Out of the Barn and Into the Woods           By Laura CollinsHughes            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/arts/dan
2022-06-30   2022-07-03 ce/dancing-with-myself-nbc.html              Its OK to Dance Alone on TV                  By Margaret Fuhrer                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/arts/des
2022-06-30   2022-07-03 ign/desmond-lewis.html                       A Sculptor Lights Up the Sky                 By Brenna M Casey                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/arts/mu Martin C Dreiwitz 91 a Travel Agent Who
2022-06-30   2022-07-03 sic/martin-c-dreiwitz-dead.html              Created a GlobeTrotting Orchestra            By Clay Risen                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/magazi
                        ne/judge-john-hodgman-doughnut-
2022-06-30   2022-07-03 birthday.html                                Bonus Advice From Judge John Hodgman         By John Hodgman                   TX 9-189-149   2022-09-01
                                                                     Over six years many doctors told the patient
                        https://www.nytimes.com/2022/06/30/magazi what his problem was What they couldnt tell
                        ne/peripheral-neuropathy-amyloidosis-        him was what caused it and how it could be
2022-06-30   2022-07-03 diagnosis.html                               treated                                      By Lisa Sanders MD                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/magazi
                        ne/poem-beyond-theity-ity-idiom-dear-                                                     By Jane Gregory and Victoria
2022-06-30   2022-07-03 faith.html                                   Poem Beyond Theity Ity IdiomDear Faith       Chang                             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/nyregio
2022-06-30   2022-07-03 n/rudy-giuliani.html                         Can It Get Any Worse for Rudy Giuliani       By Ginia Bellafante               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/opinion
2022-06-30   2022-07-03 /antiques-roadshow.html                      The Magic of Antiques Roadshow               By Jay Caspian Kang               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/opinion
2022-06-30   2022-07-03 /same-sex-marriage-supreme-court.html        SameSex Marriage May Be Next                 By Kenji Yoshino                  TX 9-189-149   2022-09-01




                                                                                Page 3956 of 5793
                        https://www.nytimes.com/2022/06/30/opinion
2022-06-30   2022-07-03 /trump-january-6-cassidy-hutchinson.html      Was Jan 6 Really UnAmerican                 By Frank Bruni                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/realesta
2022-06-30   2022-07-03 te/house-flipping.html                        Flippers Are Feeling Pinched                By Gregory Schmidt               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/sports/t Despite 50 Years of Title IX Racial Gaps in
2022-06-30   2022-07-03 itle-ix-race.html                             Equity Persist                              By Alanis Thames                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/style/ca
2022-06-30   2022-07-03 ssidy-hutchinson-white-pearls-blazer.html     Muted Tones That Spoke Loud and Clear       By Rhonda Garelick               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/style/m
                        y-partner-wants-to-move-his-parents-into-our-
2022-06-30   2022-07-03 house-help.html                               Personal Space Crisis                       By Philip Galanes                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/style/na
                        dya-tolokonnikova-pussy-riot-
2022-06-30   2022-07-03 cryptocurrency.html                           CryptoParty Crawl for a Cause               By Valeriya Safronova            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/technol
2022-06-30   2022-07-03 ogy/facebook-groups-abortion.html             Her Rage Morphed Into a Viral Resource      By Shira Ovide                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/your-
                        money/fort-campbell-military-
2022-06-30   2022-07-03 installations.html                            How We Sell to Soldiers                     By Ron Lieber and Audra Melton   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/06/ He Wanted His Own Little Piece of Los
2022-06-30   2022-07-03 30/realestate/30hunt-mcquirter.html           Angeles Which Option Did He Choose          By Livia AlbeckRipka             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/arts/tele
2022-07-01   2022-07-03 vision/taron-egerton-black-bird.html          Not Just a SongandDance Man                 By Sarah Bahr                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/books/r
2022-07-01   2022-07-03 eview/new-paperbacks.html                     Paperback Row                               By Miguel Salazar                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/books/r
                        eview/they-said-no-anna-politkovskaya-
2022-07-01   2022-07-03 mordechai-anielewicz.html                     Profiles in Courage                         By Alan Gratz                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/busines This 20 Device Turns a Handgun Into an         By Julia Rothman and Shaina
2022-07-01   2022-07-03 s/auto-sear-handgun-automatic.html            Automatic Weapon                            Feinberg                         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/nyregio
2022-07-01   2022-07-03 n/anthony-almojera-paramedic-nyc.html         Building Bonds and Tending to Wounds        By Alix Strauss                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/opinion
2022-07-01   2022-07-03 /dobbs-roe-supreme-court.html                 The Court Is Not the Final Word             By Jamelle Bouie                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/opinion
2022-07-01   2022-07-03 /liberal-patriotism-july-fourth.html          The Left Must Reclaim Patriotism            By Jedediah BrittonPurdy         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/opinion The Supreme Court Has Made It Even Harder
2022-07-01   2022-07-03 /supreme-court-epa-ruling.html                to Fight Climate Change                     By The Editorial Board           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/sports/b Reading the Signs as Baseball Nears Its
2022-07-01   2022-07-03 aseball/mlb-midseason.html                    Midway Point                                By Benjamin Hoffman              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/sports/s Womens Euros Offer the Novelty Of
2022-07-01   2022-07-03 occer/womens-euro-2022-gareth-bale.html       Uncertainty                                 By Rory Smith                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/style/al
2022-07-01   2022-07-03 aina-collura-joseph-durkin-wedding.html       From Late Night Dinners to Everlasting Love By Steven Moity                  TX 9-189-149   2022-09-01




                                                                                Page 3957 of 5793
                        https://www.nytimes.com/2022/07/01/style/ca On the Lost Coast Grateful to Find Each
2022-07-01   2022-07-03 roline-cornell-daniel-logan-wedding.html     Other                                        By Nina Reyes                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/style/eri Overflowing With Chivalry and Pickled
2022-07-01   2022-07-03 n-bellsey-charles-leonard-wedding.html       Onions                                       By Rachel Sherman               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/style/lib Finding Love From Studio 1A in Rockefeller
2022-07-01   2022-07-03 by-leist-sayan-ray-wedding.html              Plaza                                        By Alix Strauss                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/style/lu
2022-07-01   2022-07-03 ke-kalat-justin-conner-wedding.html          After Falling Fast Fiancs for Seven Years    By Emma Grillo                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/style/m
2022-07-01   2022-07-03 odern-love-mother-leukemia-gay-son.html      Taking a Bet That She Just Couldnt Resist    By Mark Jason Williams          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/style/so
                        lveig-gold-joshua-katz-princeton-
2022-07-01   2022-07-03 professor.html                               The Aspirations of Solveig Gold              By Anemona Hartocollis          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/style/st Tipping a Canoe and Otherwise Taking the
2022-07-01   2022-07-03 ephanie-schulter-halle-bauer-wedding.html    Plunge                                       By Julia Carmel                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/theater/
2022-07-01   2022-07-03 the-kite-runner-amir-arison.html             A Chameleon Lands a Role On Broadway         By Laura Zornosa                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/world/a Beijings Fears Reinforced As NATO Calls
2022-07-01   2022-07-03 sia/china-nato.html                          Out China                                    By Amy Qin and Austin Ramzy     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/25/world/a Japan Worries About Heat Strokes And           By Hisako Ueno and Karan Deep
2022-07-02   2022-07-03 sia/japan-heat-wave.html                     Power Grid in Record Heat Wave               Singh                           TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/02/busines
2022-07-02   2022-07-03 s/economy/abortion-employer-support.html A BrandNew Factor in Choosing an Employer By Emma Goldberg                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/busines Fuel Costs Stir Unrest and Pain Around
2022-07-02   2022-07-03 s/economy/gas-prices-global.html            World                                       By Patricia Cohen                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/busines Teslas Car Deliveries Decline After
2022-07-02   2022-07-03 s/tesla-q2-sales.html                       Production Hits Snags                       By Jack Ewing                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/nyregio                                              By Dodai Stewart and Elias
2022-07-02   2022-07-03 n/nyc-mood.html                             Whats The Vibe Right Now                    Williams                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/nyregio By Air Land Sea and Web Long Island
2022-07-02   2022-07-03 n/sharks-ny-lifeguards.html                 Beaches Step Up Patrols for Sharks          By Corey Kilgannon                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/opinion
2022-07-02   2022-07-03 /asylum-refugees-immigration.html           The World Breaks Its Asylum Promise         By Megan K Stack                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/opinion
2022-07-02   2022-07-03 /recession-government-economy.html          We Are Not Powerless Against Calamity       By Bryce Covert                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/realesta How Do I Prove I Can Pay the Rent If I Dont
2022-07-02   2022-07-03 te/proof-of-income-renting.html             Have a Regular Salary                       By Ronda Kaysen                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/sports/k Lightweight Favorite Routs A LastMinute
2022-07-02   2022-07-03 ayla-harrison-pfl-mma-fighter.html          Opponent                                    By Morgan Campbell                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/sports/t
2022-07-02   2022-07-03 ennis/swiatek-cornet-wimbledon.html         Swiatek the No 1 Seed Loses at Wimbledon By Matthew Futterman                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/us/gord
                        on-ernst-georgetown-tennis-coach-
2022-07-02   2022-07-03 scandal.html                                ExCoach Sentenced in Admissions Case        By Ava Sasani                     TX 9-189-149   2022-09-01



                                                                                Page 3958 of 5793
                        https://www.nytimes.com/2022/07/02/us/min 3 Children And Mother Found Dead In             By McKenna Oxenden and Isabella
2022-07-02   2022-07-03 nesota-children-lake-vadnais-homicide.html Minnesota                                      Grulln Paz                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/us/polit Security Head Asks States to Prohibit Rallies
2022-07-02   2022-07-03 ics/supreme-court-protests-homes.html       at Justices Homes                             By Aishvarya Kavi               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/us/polit Supreme Court Drives Red and Blue
2022-07-02   2022-07-03 ics/us-divided-political-party.html         Americas In Opposite Directions               By Jonathan Weisman             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/us/supr
2022-07-02   2022-07-03 eme-court-congress.html                     Gridlock in Congress Empowers Justices        By Adam Liptak                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/us/texa Texas Supreme Court Overturns Block on a
2022-07-02   2022-07-03 s-supreme-court-abortion-ban.html           1925 Law That Bans Abortion                   By Isabella Kwai                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/us/uval
                        de-school-police-chief-resigns-city-
2022-07-02   2022-07-03 council.html                                Police Chief In Uvalde Has Quit City Council By Ava Sasani and Edgar Sandoval TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/world/a Fear of Public Shaming Keeps Masks On and
2022-07-02   2022-07-03 sia/japan-covid.html                        Infections Low in Japan                       By Motoko Rich and Ben Dooley TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/02/world/a Despite Law Risks Remain for Transgender
2022-07-02   2022-07-03 sia/pakistan-trans-rights.html              Pakistanis                                    By Zia urRehman                 TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/02/world/b The Trains Are Stopped Some Brits Are
2022-07-02   2022-07-03 ritain-rail-strikes-rmt-union-mick-lynch.html Moved                                      By Saskia Solomon              TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/02/world/e Griners Detention Shows Rise of Hostage
2022-07-02   2022-07-03 urope/brittney-griner-hostage-diplomacy.html Diplomacy                                    By Max Fisher                 TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/02/world/e Ethnic Russians in Estonia Start Questioning
2022-07-02   2022-07-03 urope/estonia-russia-war-putin.html          Putins War                                   By Andrew Higgins             TX 9-189-149     2022-09-01
                                                                                                                  By Valerie Hopkins Anatoly
                        https://www.nytimes.com/2022/07/02/world/e Its Weapons Dwindling Russia Steps Up          Kurmanaev and Thomas
2022-07-02   2022-07-03 urope/russia-missiles-civilians-ukraine.html Strikes on Civilian Targets                  GibbonsNeff                   TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/02/world/e IllPrepared Volunteers Die in Battles on the
2022-07-02   2022-07-03 urope/russia-ukraine-war-volunteers.html     Front                                        By Megan Specia               TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/02/world/
                        middleeast/palestinians-bullet-shireen-abu-  Palestinians Give US Experts Bullet That
2022-07-02   2022-07-03 akleh.html                                   Killed Reporter in the West Bank             By Isabel Kershner            TX 9-189-149     2022-09-01
                        https://www.nytimes.com/article/russian-     Russias Explanations For Attacking Civilians By Daniel Victor and Ivan
2022-07-02   2022-07-03 civilian-attacks-ukraine.html                Wither Under Scrutiny                        Nechepurenko                  TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/03/busines
                        s/the-week-in-business-inflation-stock-      The Week in Business Spending More Getting
2022-07-03   2022-07-03 market.html                                  Less                                         By Lora Kelley                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/03/style/su
2022-07-03   2022-07-03 mmers-soft-return.html                       A Soft Return To Summer                      By John Ortved                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/03/us/lgtb Gayborhoods Falling Victim To Rents and
2022-07-03   2022-07-03 q-neighborhoods-nyc-houston.html             Social Change                                By Adam Nagourney             TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/03/us/pro- The Young Women Who Fight Abortion
2022-07-03   2022-07-03 life-young-women-roe-abortion.html           Rights                                       By Ruth Graham                TX 9-189-149     2022-09-01



                                                                                 Page 3959 of 5793
                        https://www.nytimes.com/2022/07/03/us/ukra How an Illinois Military Base Keeps Aid
2022-07-03   2022-07-03 ine-military-aid-weapons-us.html            Flowing to Ukraine                          By John Ismay                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/21/travel/h
2022-06-21   2022-07-04 arriet-tubman-maryland.html                 Traces of Tubman on Land She Knew Well      By Martha S Jones                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/23/technol
2022-06-23   2022-07-04 ogy/0-5-selfie.html                         In a Snap a New Twist on the Selfie         By Kalley Huang                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/25/well/fa
2022-06-25   2022-07-04 mily/men-abortion-roe-v-wade.html           The Voices of Men Affected by Abortion      By Alisha Haridasani Gupta        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/technol
2022-06-28   2022-07-04 ogy/online-moderators-compensation.html     The Work of Online Volunteers               By Shira Ovide                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/climate Londons Mayor to UN Make Way for the
2022-06-29   2022-07-04 /sadiq-khan-mayor-climate-change.html       Doers on Climate Change                     By Peter Wilson                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/busines                                              By Choe SangHun and David
2022-06-30   2022-07-04 s/north-korea-crypto-hack.html              North Korea Has Lifeline Crypto Theft       YaffeBellany                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/obituari Klaus Nomi Singer With an Otherworldly
2022-06-30   2022-07-04 es/klaus-nomi-overlooked.html               Persona                                     By Rachel Felder                  TX 9-189-149   2022-09-01
                                                                                                                By Jon Pareles Jon Caramanica
                        https://www.nytimes.com/2022/07/01/arts/mu Cardi B the Collaborator and Others With     Giovanni Russonello and Lindsay
2022-07-01   2022-07-04 sic/playlist-cardi-b-raye-steve-lacy.html   New Songs                                   Zoladz                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/books/t Reader Raves on TikTok Make Books Best
2022-07-01   2022-07-04 iktok-books-booktok.html                    Sellers                                     By Elizabeth A Harris             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/busines
2022-07-01   2022-07-04 s/sun-valley-conference-private-jets.html   Shepherding CEO Jets Into Idaho             By Benjamin Mullin                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/climate With His Climate Agenda Stalled at Home
2022-07-01   2022-07-04 /biden-climate-agenda-global.html           Biden Still Hopes to Lead Abroad            By David Gelles                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/fashion Here to Help Vanessa Friedman Answers
2022-07-01   2022-07-04 /style-sneakers.html                        Your Style Questions                        By Vanessa Friedman               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/25/us/yello Yellowstone Wonders How to Withstand
2022-07-02   2022-07-04 wstone-flood-rebuild-climate-change.html    Climates Battering Ram                      By Jim Robbins                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/arts/mu
2022-07-02   2022-07-04 sic/country-estates-opera.html              Operas future may lie in the past           By David Belcher                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/arts/mu
2022-07-02   2022-07-04 sic/ermonela-jaho-soprano.html              A singular soprano                          By Rebecca Schmid                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/arts/mu
                        sic/madama-butterfly-opera-puccini-
2022-07-02   2022-07-04 stereotypes.html                            Puccini without his stereotypes             By Farah Nayeri                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/busines Bruce Katz 75 a Pioneer of the Casual
2022-07-02   2022-07-04 s/bruce-katz-dead.html                      Walking Shoe                                By Richard Sandomir               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/busines Inflation Is Presenting 19 Eurozone Problems
2022-07-02   2022-07-04 s/europe-inflation.html                     For One Central Bank                        By Eshe Nelson                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/busines Will an Old Court Decision On Labor Law
2022-07-02   2022-07-04 s/scotus-lochner-v-new-york.html            Come Back                                   By James B Stewart                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/opinion Can a Democrat Attract Rural Voters by
2022-07-02   2022-07-04 /maryland-democrats-republicans.html        Taking On Bureaucracy                       By Farah Stockman                 TX 9-189-149   2022-09-01




                                                                                Page 3960 of 5793
                        https://www.nytimes.com/2022/07/02/us/abor Strategic Shift In Bid to Regain Abortion
2022-07-02   2022-07-04 tion-rights-roe-v-wade.html                     Rights                                       By Kate Zernike           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/us/jet-
2022-07-03   2022-07-04 truck-explosion-michigan-air-show.html          Man Dies in Crash of Truck Powered by Jets By Vimal Patel              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/arts/dan
2022-07-03   2022-07-04 ce/review-song-of-songs.html                    In This Song Beauty Is Most Beloved          By Brian Seibert          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/arts/des
2022-07-03   2022-07-04 ign/native-american-art-norby-water.html        A Source of Life And Inspiration             By Holland Cotter         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/arts/fire
2022-07-03   2022-07-04 works-july-fourth-grucci.html                   The Firework Show Must Go On                 By Julia Jacobs           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/arts/mu War in Ukraine Muffles 1812 Overture for
2022-07-03   2022-07-04 sic/1812-overture-russia-ukraine.html           July 4                                       By Javier C Hernndez      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/arts/mu A Towering Contributor To the History of
2022-07-03   2022-07-04 sic/richard-taruskin-appraisal.html             Music                                        By James R Oestreich      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/busines
2022-07-03   2022-07-04 s/3d-printing-vulcanforms.html                  3D Printing Goes Industrial                  By Steve Lohr             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/busines
2022-07-03   2022-07-04 s/july-4-weekend-air-travel.html                Air Travelers Face Holiday Of Hassles        By Natasha Singer         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/nyregio
                        n/transgender-rights-homeless-new-york-         She Advances Transgender Rights With
2022-07-03   2022-07-04 lawsuit.html                                    Lawsuits 14 of Them So Far                   By Andy Newman            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/obituari Peter Brook an Innovative and Daring
2022-07-03   2022-07-04 es/peter-brook-dead.html                        Director of the Stage Dies at 97             By Benedict Nightingale   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/opinion Abortion Like Prohibition Has a Clear Racial
2022-07-03   2022-07-04 /abortion-prohibition-racism.html               Dimension                                    By Charles M Blow         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/opinion
                        /the-far-right-and-far-left-agree-on-one-thing-
2022-07-03   2022-07-04 women-dont-count.html                           The Other War Against Women                  By Pamela Paul            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/sports/b
2022-07-03   2022-07-04 aseball/chicago-white-sox.html                  For Hurting White Sox a Chance to Get Better By Scott Miller           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/sports/r To Resume Training After Covid19 Means
2022-07-03   2022-07-04 unning-after-covid.html                         Slow Steps to Start                          By Talya Minsberg         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/sports/t The Kyrgios Circus What a Sport Dreads And
2022-07-03   2022-07-04 ennis/kyrgios-wimbledon.html                    Might Truly Need                             By Matthew Futterman      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/sports/t
                        ennis/sinner-alcaraz-wimbledon-centre-          Youngest Talents Show How to Play a Match
2022-07-03   2022-07-04 court.html                                      Worthy of Centre Court                       By Christopher Clarey     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/theater/
2022-07-03   2022-07-04 review-dom-juan.html                            The Perks of Being a Professional Hypocrite By Alexis Soloski          TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/03/us/akro Police Say Unarmed Black Man in Ohio            By Daniel McGraw and Luke
2022-07-03   2022-07-04 n-police-shooting-jayland-walker-video.html Traffic Stop Was Shot 60 Times                 Vander Ploeg                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/us/capit Murky Path From Russian Propagandist to
2022-07-03   2022-07-04 ol-riot-russia-propagandist.html            Jan 6                                          By Mike McIntire            TX 9-189-149   2022-09-01




                                                                                   Page 3961 of 5793
                        https://www.nytimes.com/2022/07/03/us/polit US Veterans Are Giving Ukraine a Quiet
2022-07-03   2022-07-04 ics/american-combat-volunteers-ukraine.html Assist                                          By Dave Philipps              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/us/polit Justice Department Braces For a Summer of
2022-07-03   2022-07-04 ics/gun-violence-crime-summer.html            Violence                                      By Glenn Thrush               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/us/polit Blind to Red Flags IRS Certified Fake           By David A Fahrenthold Troy
2022-07-03   2022-07-04 ics/irs-fake-charities.html                   Charities                                     Closson and Julie Tate        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/us/polit
                        ics/new-insights-into-trumps-state-of-mind-on-
2022-07-03   2022-07-04 jan-6-chip-away-at-doubts.html                Trump Intent Out in Open                      By Peter Baker                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/world/e Big Bens Unique Heartbeat Will Again
2022-07-03   2022-07-04 urope/big-ben-london-restoration.html         Chime Across London                           By Stephen Castle             TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/03/world/e Gunman Kills at Least 3 And Wounds Others By Vimal Patel and Jasmina
2022-07-03   2022-07-04 urope/copenhagen-shooting-fields-mall.html At Mall in Copenhagen                     Nielsen                              TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/03/world/e At Least 6 Die In the Collapse Of a Glacier In
2022-07-03   2022-07-04 urope/italy-dolomites-glacier-collapse.html Italys Alps                                   By Emma Bubola                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/world/e
                        urope/northern-ireland-brexit-catholic-      In Northern Ireland Old Passions Are
2022-07-03   2022-07-04 protestant.html                              Reignited                                    By Mark Landler                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/world/e Ukraine Faces Steep Climb in Seeking Justice
2022-07-03   2022-07-04 urope/ukraine-war-crimes-russia.html         for War Crimes                               By Valerie Hopkins              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/world/e                                                By Thomas GibbonsNeff Kamila
2022-07-03   2022-07-04 urope/ukraine-war-lysychansk.html            Russia Seizes A Prized City From Ukraine     Hrabchuk and Vivian Yee         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/arts/tele
                        vision/whats-on-tv-this-week-macys-
                        fireworks-and-america-outdoors-with-
2022-07-04   2022-07-04 baratunde-thurston.html                      This Week on TV                              By Rachel Sherman               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/insider/
2022-07-04   2022-07-04 david-fahrenthold-nonprofit-charities.html   A Moral Role in Society Investigated         By Terence McGinley             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/opinion
2022-07-04   2022-07-04 /these-truths-we-holdand-share.html          America Is Worth Saving                      By Darren Walker                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/sports/t Without Federer Playing Its Like Strawberries
2022-07-04   2022-07-04 ennis/roger-federer-wimbledon-return.html    With No Cream                                By Kurt Streeter                TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/04/sports/t
2022-07-04   2022-07-04 ennis/serena-williams-federer-retirement.html Why Best Hesitate To Make It Their Last       By Christopher Clarey         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/sports/t Careening 2700 Miles In Floods Fires And
2022-07-04   2022-07-04 our-divide-race-bikepackers.html              Death Mud                                     By Sabra Boyd                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/06/travel/li Behold the Lionfish As Transfixing As It Is
2022-06-06   2022-07-05 onfish-hunting-bonaire.html                   Destructive                                   By Lorenzo Mittiga            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/14/busines
                        s/virtual-reality-autism-children-telehealth- Turning to Virtual Reality To Help Autistic
2022-06-14   2022-07-05 floreo.html                                   Children                                      By Gautham Nagesh             TX 9-189-149   2022-09-01



                                                                                   Page 3962 of 5793
                        https://www.nytimes.com/interactive/2022/06/                                            By Pablo Robles Anton
2022-06-17   2022-07-05 17/world/europe/russia-private-jets.html     The New Geography of the Russian Elite     Troianovski and Agnes Chang       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/22/well/m
2022-06-22   2022-07-05 ove/kayak-paddle-exercise.html               Kayak for a FullBody Workout               By Erik Vance                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/23/science The Biggest Bacteria Ever Found Needs No
2022-06-23   2022-07-05 /giant-bacterium.html                        Microscope                                 By Carl Zimmer                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/24/science An Enticing Scent Why We Keep Sniffing
2022-06-24   2022-07-05 /friendship-scent-odor.html                  Around For New Friends to Latch Onto       By Veronique Greenwood            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/27/movies/
2022-06-27   2022-07-05 elvis-austin-butler.html                     The Best and Worst Kings of Rock n Roll    By Sarah Bahr                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/27/well/fa
2022-06-27   2022-07-05 mily/breastfeeding-age-guidance.html         Extending Periods For Breastfeeding        By Catherine Pearson              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/busines
                        s/dual-use-solar-panels-agrivoltaics-blue-   When Solar Panels Share Land With Cows
2022-06-28   2022-07-05 wave-power.html                              Lettuce and Blueberries                    By Ellen Rosen                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/busines Experts See Rising Signs Of Recession In the By Isabella Simonetti and Jason
2022-06-28   2022-07-05 s/recession-probability-us.html              US                                         Karaian                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/well/hy The Foods and Drinks That Keep You
2022-06-28   2022-07-05 drating-foods.html                           Hydrated                                   By Hannah Seo                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/arts/des
2022-06-29   2022-07-05 ign/contemporary-art-us-open.html            US Open To Feature Sculptures By 5 Artists By Kalia Richardson               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/busines
2022-06-29   2022-07-05 s/liquefied-natural-gas-europe.html          Can Liquefied Natural Gas Power Europe     By Stanley Reed                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/science Focusing on Wildfires On the Wires Danger
2022-06-29   2022-07-05 /birds-power-lines-wildfires.html            for Themselves and the Forest Below        By Carolyn Wilke                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/science Howling Ancestors Locating the Pieces Of a
2022-06-29   2022-07-05 /dogs-wolves-genetics-evolution.html         Genetic Puzzle                             By Emily Anthes                   TX 9-189-149   2022-09-01
                                                                     I know that in general processed meats are
                        https://www.nytimes.com/2022/06/29/well/eat bad for you But are some types worse than
2022-06-29   2022-07-05 /processed-meats.html                        others                                     By Sophie Egan                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/well/liv
2022-06-29   2022-07-05 e/lgbtq-heart-health.html                    Heart Health an Issue For LGBTQ Adults     By Dani Blum                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/science A Digital Display Two More Pseudothumbs
2022-06-30   2022-07-05 /panda-thumb.html                            Than Your Average Bear                     By Jack Tamisiea                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/science Ancient Mythical Hero Pulled From the
2022-06-30   2022-07-05 /shipwreck-ancient-roman-hercules.html       Depths Off the Coast of Greece             By April Rubin                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/arts/des
                        ign/london-sothebys-christies-phillips-      London Auctions Still Generate Headline
2022-07-01   2022-07-05 auctions.html                                Prices                                     By Scott Reyburn                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/arts/tele
2022-07-01   2022-07-05 vision/ukraine-comedy.html                   Looking for a Laugh in a WarTorn Country By David Segal                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/busines
2022-07-01   2022-07-05 s/media/baltimore-banner-the-sun.html        News War Is Brewing In Baltimore           By Katie Robertson                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/movies/
2022-07-01   2022-07-05 international-streaming.html                 A Kaleidoscopic Portrait of Mexican Women By Devika Girish                   TX 9-189-149   2022-09-01



                                                                                 Page 3963 of 5793
                        https://www.nytimes.com/2022/07/02/opinion
2022-07-02   2022-07-05 /abortion-ban-sex.html                      The Republican Crusade Against Sex          By Mara Gay            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/02/world/c Frozen Treasure Looking for Gold in the
2022-07-02   2022-07-05 anada/baby-woolly-mammoth-canada.html       Klondike And Making a Mammoth Find          By Christine Chung     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/briefing
2022-07-03   2022-07-05 /supreme-court-behind-scenes.html           Behind the Scenes of the Court              By David Leonhardt     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/health/c
2022-07-03   2022-07-05 ovid-ppe-masks-health-care.html             For Masks A Good Idea Left to Wither        By Andrew Jacobs       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/health/
2022-07-03   2022-07-05 dementia-treatment-behavior-eye-care.html To Prevent Dementia Go for an Eye Exam        By Paula Span          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/arts/mu
2022-07-04   2022-07-05 sic/kool-and-the-gang.html                  Celebration Wasnt Their Only Hit            By Steve Knopper       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/books/r
                        eview-other-names-for-love-taymour-
2022-07-04   2022-07-05 soomro.html                                 Pulling on the Threads of Entangled Lives   By Dwight Garner       TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/04/busines
2022-07-04   2022-07-05 s/germany-trade-deficit-exports-imports.html Germany Posts Rare Monthly Trade Deficit   By Melissa Eddy        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/fashion
2022-07-04   2022-07-05 /high-jewelry-collections.html               The stars are aligning                     By Tina IsaacGoiz      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/fashion
2022-07-04   2022-07-05 /jewelry-chanel-patrice-leguereau.html       Inspired by Coco Chanel                    By Rachel Felder       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/fashion
2022-07-04   2022-07-05 /jewelry-claddagh-ring-ireland.html          Heart and hands The Claddagh ring          By Sandra Jordan       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/fashion
2022-07-04   2022-07-05 /jewelry-pearls-and-their-care.html          Making a career pearl by pearl             By Felicia Craddock    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/fashion
2022-07-04   2022-07-05 /jewelry-santa-fe-indian-market.html         100 years in Santa Fe                      By Janelle Conaway     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/fashion
2022-07-04   2022-07-05 /jewelry-tiaras-sothebys.html                Tempted by a tiara                         By Amy Elliott         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/fashion
2022-07-04   2022-07-05 /jewelry-unusual-materials.html              Breaking the mold                          By Vivian Morelli      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/fashion
2022-07-04   2022-07-05 /jewelry-vip-retail-chanel.html              Courting VIP buyers                        By Nazanin Lankarani   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/fashion
2022-07-04   2022-07-05 /pearl-care-tips-from-an-expert.html         Pearlcare tips from an expert              By Felicia Craddock    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/fashion
                        /trends/jewelry-rental-beekman-new-
2022-07-04   2022-07-05 york.html                                    Something borrowed                         By Roxanne Robinson    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/fashion
                        /trends/jewelry-retail-vacation-mykonos-
2022-07-04   2022-07-05 greece.html                                  Jewelry on holiday                         By Milena Lazazzera    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/fashion
2022-07-04   2022-07-05 /ukrainian-jewelers-war.html                 A fight for the craft                      By Victoria Gomelsky   TX 9-189-149   2022-09-01




                                                                                 Page 3964 of 5793
                        https://www.nytimes.com/2022/07/04/health/
2022-07-04   2022-07-05 updated-covid-vaccines-omicron.html        New Variants May Outpace Next Boosters          By Benjamin Mueller             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/04/movies/ Joe Turkel 94 Who Served Up Evil And a
2022-07-04   2022-07-05 joe-turkel-dead.html                       Shot of Jack in The Shining                     By Clay Risen                   TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/04/movies/
2022-07-04   2022-07-05 tom-cruise-top-gun-maverick.html           His Mission A Devotion To Movies                By Calum Marsh                  TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/04/nyregio Familiar Venue and Victors For Coney Island By McKenna Oxenden and Maria
2022-07-04   2022-07-05 n/nathans-hot-dog-contest-joey-chestnut.html Contest                                   Cramer                              TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/04/opinion
2022-07-04   2022-07-05 /another-step-toward-climate-apocalypse.html Closer Still To Climate Apocalypse         By Paul Krugman                   TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/04/opinion
2022-07-04   2022-07-05 /g7-food-fuel-crisis.html                    The Whole World Needs a Marshall Plan      By Mark MallochBrown              TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/04/opinion
2022-07-04   2022-07-05 /trump-biden-cassidy-hutchinson.html         How Are We Still Discussing Trump          By Gail Collins and Bret Stephens TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/04/sports/b
2022-07-04   2022-07-05 aseball/degrom-scherzer-mets.html            Mets Keep Receiving Good News About Aces By Benjamin Hoffman                 TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/04/sports/b
                        aseball/maybelle-blair-a-league-of-their-    Part of History Working to Bring Inclusive
2022-07-04   2022-07-05 own.html                                     Future                                     By Remy Tumin                     TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/04/sports/b Im Terrified I Might Be Here Forever Griner By Shauntel Lowe Michael D Shear
2022-07-04   2022-07-05 asketball/brittney-griner-biden-russia.html  Writes Letter to Biden                     and Euan Ward                     TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/04/sports/t For Kyrgios Winning Amid Chaos Is a Good
2022-07-04   2022-07-05 ennis/kyrgios-wimbledon.html                 Feeling                                    By Matthew Futterman              TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/04/style/tif
2022-07-04   2022-07-05 fany-archive-london.html                     A gem of an archive                        By Susanne Fowler                 TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/04/style/un
2022-07-04   2022-07-05 raveling-the-mystery-of-macle-jewelry.html The mystery of macle jewelry                    By Kathleen Beckett             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/04/us/cliff Clifford L Alexander Adviser to Democratic
2022-07-04   2022-07-05 ord-l-alexander-dead.html                   Presidents Dies at 88                          By Clay Risen                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/us/segr BlackRun Pool Club Closes a Racial Gap          By Campbell Robertson and Rachel
2022-07-04   2022-07-05 egation-nile-swim-club.html                 Near Philadelphia                              Wisniewski                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/world/a Trial Starts for Chinese Canadian Billionaire
2022-07-04   2022-07-05 sia/xiao-jianhua-china-trial.html           Last Seen in Public in 2017                    By Amy Qin                      TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/04/world/e
                        urope/copenhagen-denmark-mall-              Copenhagen Mall Attack Jolts Denmark           By Jasmina Nielsen Emma Bubola
2022-07-04   2022-07-05 shooting.html                               Rattling An Assumption of Safety               and Euan Ward                  TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/04/world/e Macrons Cabinet Changes Fall Short of
2022-07-04   2022-07-05 urope/france-macron-cabinet.html            Giving France A Fresh Start Critics Say        By Aurelien Breeden             TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/04/world/e Resignation Of Benedict Has Dogged Pope
2022-07-04   2022-07-05 urope/pope-francis-resignation-benedict.html Francis                                       By Jason Horowitz               TX 9-189-149    2022-09-01




                                                                                 Page 3965 of 5793
                        https://www.nytimes.com/2022/07/04/world/e Treason Accusations Fuel Arrests in Putins
2022-07-04   2022-07-05 urope/russia-putin-arrests.html                 Russia                                         By Anton Troianovski               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/world/e Russia Advances In East but Win Takes
2022-07-04   2022-07-05 urope/russia-ukraine-donbas-strategy.html       Harsh Toll                                     By Thomas GibbonsNeff              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/world/
                        middleeast/adolf-eichmann-documentary-          Eichmann Talks and Talks In Nazi Tapes
2022-07-04   2022-07-05 israel.html                                     Riveting Israel                                By Isabel Kershner                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/world/
                        middleeast/israel-journalist-bullet-shireen-abu-US Analysis of Bullet That Killed a Journalist
2022-07-04   2022-07-05 akleh.html                                      Is Inconclusive                                By Patrick Kingsley and Lara Jakes TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/us/high                                                     By Robert Chiarito Mitch Smith
2022-07-04   2022-07-05 land-park-parade-shooting.html                  Gunfire Tears Into a Parade Near Chicago       Dan Simmons and Claire Fahy        TX 9-189-149   2022-09-01

                        https://www.nytimes.com/live/2022/07/04/us/
                        highland-park-shooting-july-4-parade/a-local- Local Doctor At the Parade Rushed to Aid
2022-07-04   2022-07-05 obstetrician-rushed-to-help-the-wounded       The Wounded                               By Claire Fahy                          TX 9-189-149     2022-09-01
                        https://www.nytimes.com/live/2022/07/04/us/
                        july-4/why-drivers-are-paying-so-much-for-                                              By Clifford Krauss and Jason
2022-07-04   2022-07-05 gas-right-now                                 Pump Price Still Stings But Less So       Karaian                                 TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/05/busines
                        s/energy-environment/nuclear-energy-          Thanks to Increasing Energy Demands
2022-07-05   2022-07-05 politics.html                                 Nuclear Power Gets New Push               By Ivan Penn                            TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/05/busines
                        s/media/conservative-radio-democrats-         RightWing Radio Sows Doubt About a Vote
2022-07-05   2022-07-05 cheat.html                                    Yet to Take Place                         By Stuart A Thompson                    TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/05/nyregio
                        n/nypd-officers-disciplined-sex-crimes-       Top Supervisors Of Police Unit Are
2022-07-05   2022-07-05 unit.html                                     Disciplined For Misconduct                By Ashley Southall                      TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/05/sports/t Sleep in a Line for Nights On End They Cant By Christopher Clarey and Adam
2022-07-05   2022-07-05 ennis/wimbledon-queue.html                    Wait                                      Stoltman                                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/05/us/polit
                        ics/abortion-roe-midterm-elections-moderate- Seizing Upon Roe Backlash to Court
2022-07-05   2022-07-05 women.html                                    Moderates                                 By Katie Glueck                         TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/05/world/a Biden Envoys Cozy Ties to Mexican Leader         By Natalie Kitroeff and Maria
2022-07-05   2022-07-05 mericas/united-states-mexico-diplomacy.html Worry US Officials                              AbiHabib                            TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/05/world/e
                        urope/britain-workers-strike-inflation-     With Workers Strained Britain Braces for
2022-07-05   2022-07-05 taxes.html                                  Summer of Discontent                            By Stephen Castle                   TX 9-189-149     2022-09-01
                        https://www.nytimes.com/live/2022/07/05/sci
                        ence/fields-medal-math/an-olympic-like-
2022-07-05   2022-07-05 honor-for-younger-mathematicians            They Did the Math                               By Kenneth Chang                    TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/14/arts/des
2022-06-14   2022-07-06 ign/mondrian-hague-music.html               Its Not Exactly Square Dancing                  By Nina Siegal                      TX 9-189-149     2022-09-01




                                                                                   Page 3966 of 5793
                        https://www.nytimes.com/2022/06/29/climate Bike Built to Carry Goods and Passengers
2022-06-29   2022-07-06 /cargo-bike-transportation.html            Takes Off                                    By Tanya Mohn                   TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/06/30/dining/
                        drinks/west-sonoma-coast-wine-
2022-06-30   2022-07-06 appellation.html                           A Gamble Pays Off                            By Eric Asimov                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/06/30/dining/
2022-06-30   2022-07-06 gravestone-recipes.html                    Finding Sweet Recipes In the Strangest Place By Christina Morales            TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/01/dining/
2022-07-01   2022-07-06 angry-egret-dinette-restaurant-review.html Oxtails and Tostadas Are in His Third Act    By Tejal Rao                    TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/01/dining/
2022-07-01   2022-07-06 armenia-lentil-soup.html                   Armenian Lentil Soup Celebrates the Apricot By Joan Nathan                   TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/01/dining/
2022-07-01   2022-07-06 best-chocolate-mousse-recipe.html          A Bowl of Chilled Goodness                   By Genevieve Ko                 TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/01/dining/
2022-07-01   2022-07-06 grilled-corn-on-the-cob.html               This Honey Glaze Will Perk Up Corn           By J Kenji LpezAlt              TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/01/movies/ Understanding the Creative Process of
2022-07-01   2022-07-06 leonard-cohen-hallelujah-documentary.html Leonard Cohen                                By Nicolas Rapold                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/02/books/n
2022-07-02   2022-07-06 orma-mccorvey-roe-wade.html                Roe v Wade And Its Conflicted Plaintiff     By Joshua Prager                 TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/03/opinion The Culture War That More Christians
2022-07-03   2022-07-06 /economic-justice-culture-war.html         Should Be Fighting                          By Tish Harrison Warren          TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/03/science
                        /space/james-bardeen-an-expert-on-unraveling James Bardeen 83 Who Unraveled
2022-07-03   2022-07-06 einsteins-equations-dies-at-83.html          Einsteinian Wonders of the Universe        By Dennis Overbye               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/03/world/a
2022-07-03   2022-07-06 bortion-laws-international.html              As US Clamps Down Rules Ease Elsewhere By The New York Times               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/04/arts/kur Kurt Markus Photographer of Fashion and the
2022-07-04   2022-07-06 t-markus-dead.html                           Frontier Dies at 75                        By Alex Williams                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/04/opinion Keep Czars Far Away in Moscow or
2022-07-04   2022-07-06 /ukraine-russia-refugees.html                MaraLago                                   By Bret Stephens                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/04/us/polit
2022-07-04   2022-07-06 ics/army-bases-confederate-names.html        Heroes Who May Soon Be on the Map          By Chris Cameron                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/04/world/a Zhang Sizhi Unbreakable Lawyer for Chinese
2022-07-04   2022-07-06 sia/zhang-sizhi-dead.html                    Dissidents Dies at 94                      By Chris Buckley and Joy Dong   TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/05/arts/tele
                        vision/matthew-modine-stranger-things-
2022-07-05   2022-07-06 finale.html                                  Gone for Good Hard to Say                  By Brian Tallerico              TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/05/books/r
2022-07-05   2022-07-06 eview-growing-up-getty-james-reginato.html The Getty Name Gets a Good Scouring         By Alexandra Jacobs               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/busines Hacker Peddles Police Data on One Billion   By John Liu Paul Mozur and Kalley
2022-07-05   2022-07-06 s/china-police-data-breach.html            Chinese                                     Huang                             TX 9-189-149   2022-09-01




                                                                                Page 3967 of 5793
                        https://www.nytimes.com/2022/07/05/busines
2022-07-05   2022-07-06 s/economy/wall-st-cryptocurrency-prices.html Wall Sts Great Crypto Escape                By Emily Flitter               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/busines
2022-07-05   2022-07-06 s/euro-dollar-inflation-markets.html         Euro Plunges To Its Lowest In 2 Decades     By Isabella Simonetti          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/busines
2022-07-05   2022-07-06 s/ford-motor-q2-sales.html                   Ford Sales Rise Even as Chips Remain Scarce By Neal E Boudette             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/busines
2022-07-05   2022-07-06 s/sas-bankruptcy-protection.html             Airline Seeks Bankruptcy After Strike       By Kevin Granville             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/busines Twitter Suit Pushes Back Against Indias       By Karan Deep Singh and Kate
2022-07-05   2022-07-06 s/twitter-india-lawsuit.html                 Tech Rules                                  Conger                         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/climate EU Ponders Consequences Of Calling Gas
2022-07-05   2022-07-06 /natural-gas-european-union.html             Green Energy                                By Somini Sengupta             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/dining/ Video Turns Arab Kitchens Into a Source Of
2022-07-05   2022-07-06 arab-women-youtube-cooking-videos.html       Empowerment                                 By Reem Kassis                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/dining/ To Scrub The Soap Looks Fishy But It Does
2022-07-05   2022-07-06 kitchen-soap.html                            the Job                                     By Florence Fabricant          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/dining/
2022-07-05   2022-07-06 saigon-social-review-pete-wells.html         Therapeutic Noodles and Edible Tradition    By Pete Wells                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/05/dining/ To Serve Salumi and Jerky For Summer
2022-07-05   2022-07-06 salumi-jerky-dicksons-farmstand-meats.html Snacking                                  By Florence Fabricant              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/dining/ To Sear Prepared Skewers For a Quick
2022-07-05   2022-07-06 skewers-xiao-chi-jie-seattle.html           Supper                                   By Florence Fabricant              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/health/i
2022-07-05   2022-07-06 vf-embryos-roe-dobbs.html                   Ruling Raises Alarm on Fate Of IVF Care  By Jan Hoffman                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/health/ Drug Distributors Cleared of Blame For
2022-07-05   2022-07-06 opioids-west-virginia-trial.html            Opioid Crisis in HardHit County          By Jan Hoffman                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/nyregio Hudson River Tunnel Project Advances as
2022-07-05   2022-07-06 n/gateway-tunnel-hudson-river.html          States Agree to Share Costs              By Patrick McGeehan                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/nyregio New Jersey Enacts Laws Tightening Its Gun
2022-07-05   2022-07-06 n/new-jersey-gun-law-murphy.html            Rules                                    By Ali Watkins                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/nyregio TwiceWeekly Parking Ritual Returns to New By Hurubie Meko and Corey
2022-07-05   2022-07-06 n/nyc-alternate-side-parking.html           York Streets                             Kilgannon                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/opinion
2022-07-05   2022-07-06 /guns-highland-park-ronald-reagan.html      Living in Fear of a Concealed Gun        By Patti Davis                     TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/05/opinion
2022-07-05   2022-07-06 /israel-coalition-government-collapse.html  Israels Coalition Didnt Fail It Set A New Bar By Shmuel Rosner              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/sports/f Diagnosis Gives Little Clarity to Those Left to
2022-07-05   2022-07-06 ootball/demaryius-thomas-cte-nfl.html       Grieve NFL Star                                 By Ken Belson               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/sports/h San Jose Hires a Retired Player as the NHLs
2022-07-05   2022-07-06 ockey/mike-grier-sharks-nhl.html            First Black General Manager                     By Neal E Boudette          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/sports/s Euro 2022 May Repay Englands Investment
2022-07-05   2022-07-06 occer/euro-2022-england-women.html          In the Womens Game                              By Ella Braidwood           TX 9-189-149   2022-09-01



                                                                                  Page 3968 of 5793
                        https://www.nytimes.com/2022/07/05/sports/t
2022-07-05   2022-07-06 ennis/djokovic-sinner-wimbledon.html           Pushed to the Brink Djokovic Claws Back     By Matthew Futterman             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/sports/t Assault Charges Are Filed Against Kyrgios in
2022-07-05   2022-07-06 ennis/kyrgios-assault-wimbledon.html           Australia                                   By Matthew Futterman             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/sports/t
                        ennis/wimbledon-ons-jabeur-tatjana-
2022-07-05   2022-07-06 maria.html                                     Another Unlikely Run but Different          By Christopher Clarey            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/theater/
                        review-the-rise-and-fall-of-jean-claude-van- This Van Damme Farce Is a Roundhouse
2022-07-05   2022-07-06 damme.html                                     Kick                                        By Elisabeth Vincentelli         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/us/gavi
2022-07-05   2022-07-06 n-newsom-pardons-kruzan.html                   Pardon for Woman Who Shot Abuser as Teen By Johnny Diaz                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/us/giuli Georgia Inquiry Is Subpoenaing 7 Trump
2022-07-05   2022-07-06 ani-subpoena-trump-election-georgia.html       Allies                                      By Danny Hakim                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/us/man
                        y-details-about-the-attack-remained-unclear-a- Shooting Suspect Left Police a Trail of Red By Robert Chiarito and Mitch
2022-07-05   2022-07-06 day-after-the-shooting.html                    Flags                                       Smith                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/us/polit
                        ics/arizona-election-law-justice-                                                          By Nick Corasaniti and Glenn
2022-07-05   2022-07-06 department.html                                Justice Dept Sues Arizona Over Voting Law Thrush                             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/us/polit
2022-07-05   2022-07-06 ics/biden-medal-of-honor-vietnam.html          Medals Given To 4 Veterans Of Vietnam       By Michael D Shear               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/us/polit
2022-07-05   2022-07-06 ics/jan-6-hearings.html                        Jan 6 Panel Will Tie Trump To Extremists    By Luke Broadwater               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/us/polit Export Bans Are at Heart Of US Plan To Foil By Edward Wong and Ana
2022-07-05   2022-07-06 ics/us-china-export-controls.html              China                                       Swanson                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/world/a
                        mericas/el-salvador-bitcoin-national-          El Salvadors Big Bet on Bitcoin Isnt Paying By Anatoly Kurmanaev and Bryan
2022-07-05   2022-07-06 currency.html                                  Off                                         Avelar                           TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/05/world/a As China Ends Its Covid19 Lockdown
2022-07-05   2022-07-06 sia/covid-outbreak-china-anhui-province.html Another Increase in Cases Is Reported      By Zixu Wang                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/world/e French Wives Of Jihadists Repatriated In
2022-07-05   2022-07-06 urope/france-isis-wives-children.html        Policy Shift                            By Constant Mheut                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/world/e Dont Be Afraid My Friend Stabilizing the  By Thomas GibbonsNeff Natalia
2022-07-05   2022-07-06 urope/ukraine-donbas-medics.html             Wounded Amid the Din of War             Yermak and Tyler Hicks                 TX 9-189-149   2022-09-01
                                                                                                             By Andrew E Kramer Maria
                        https://www.nytimes.com/2022/07/05/world/e                                           Varenikova and The New York
2022-07-05   2022-07-06 urope/ukraine-war-donbas.html              Fleeing Home Maybe Forever In the Donbas Times                                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/world/e
                        urope/ukraines-prime-minister-says-        West Weighs Daunting Job In Rebuilding Of By Dan Bilefsky and Nick
2022-07-05   2022-07-06 rebuilding-will-cost-750-billion.html      Ukraine                                   CummingBruce                           TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/05/world/ Palestinians Outraged After US Finds
2022-07-05   2022-07-06 middleeast/shireen-abu-akleh-west-bank.html Journalist Was Killed by Accident           By Patrick Kingsley                 TX 9-189-149   2022-09-01



                                                                                Page 3969 of 5793
                        https://www.nytimes.com/2022/07/05/us/high Highland Park Was Meant To Be Chicagos        By Ellen Almer Durston Campbell
2022-07-06   2022-07-06 land-park-chicago-shooting.html            Mayberry                                      Robertson and Dan Simmons       TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/05/world/e Two Top Ministers Resign in Britain           By Mark Landler and Stephen
2022-07-06   2022-07-06 urope/boris-johnson-cabinet-resignations.html Threatening Johnsons Leadership            Castle                         TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/06/sports/b With Brunson Deal Knicks Fill One Void
2022-07-06   2022-07-06 asketball/knicks-free-agency.html             Other Issues Remain                        By Sopan Deb                   TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/06/sports/n Teenager Carves a Different Path In
2022-07-06   2022-07-06 caabasketball/college-recruiting.html         Showcasing Himself to Colleges             By Billy Witz                  TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/06/sports/t For Many Coaches Job Security Lasts Only
2022-07-06   2022-07-06 ennis/halep-mouratoglou-williams-coach.html Until the Insecurities Set In                   By Matthew Futterman        TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/06/us/abor Abortion Fights Will be in Hands of State
2022-07-06   2022-07-06 tion-state-supreme-courts.html                Justices                                      By Michael Wines            TX 9-189-149    2022-09-01
                        https://www.nytimes.com/live/2022/07/06/wo
                        rld/russia-ukraine-war-news/russian-war-
                        bloggers-see-a-complete-defeat-for-ukraine-in-Russian war bloggers see a complete defeat
2022-07-06   2022-07-06 luhansk-but-some-are-skeptical                for Ukraine in Luhansk but some are skeptical By Ivan Nechepurenko        TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/06/12/crossw
2022-06-12   2022-07-07 ords/chess-columnist-naroditsky.html          Meet Our New Chess Columnist                  By Deb Amlen                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/03/opinion Abortion Bans Will Affect Both Rich and
2022-07-03   2022-07-07 /abortion-rights-wealthy.html                 Poor Americans                                By Elizabeth Spiers         TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/03/opinion
2022-07-03   2022-07-07 /ocd-mental-health-labels.html                OCD Does Not Define Me                        By Brad Stulberg            TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/03/style/el
                        sa-schiaparelli-exhibition-surrealism-
2022-07-04   2022-07-07 paris.html                                    Shocking Little Jokes With Lasting Influence By Jessica Testa             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/04/style/ni
2022-07-04   2022-07-07 na-freeman-video-games.html                   She Says It With a Video Game                 By Steven Kurutz            TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/04/style/mi
2022-07-05   2022-07-07 ra-duma-elena-perminova-ukraine.html          From the Front Row the Czarinas Ruled         By Vanessa Friedman         TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/04/world/a Young Koreans Struggle To Enter Political
2022-07-05   2022-07-07 sia/south-korea-young-politicians.html        World                                         By John Yoon                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/05/arts/mu
2022-07-05   2022-07-07 sic/bad-bunny-billboard-chart.html            Its the Summer of Un Verano                   By Joe Coscarelli           TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/05/busines CarterEra Economy Veterans Warn Biden
2022-07-05   2022-07-07 s/economy/inflation-biden-jimmy-carter.html Has Few Tools to Tame Prices                By Alan Rappeport               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/05/opinion Christian Nationalists Are Excited About
2022-07-05   2022-07-07 /dobbs-christian-nationalism.html           Whats Next                                  By Katherine Stewart            TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/05/style/wi
2022-07-05   2022-07-07 nklevoss-twins-mars-junction.html           Friendly Faces for a Cover Band of Brothers By George Gurley                TX 9-189-149    2022-09-01




                                                                                 Page 3970 of 5793
                                                                                                               By Dan Simmons Shawn Hubler
                        https://www.nytimes.com/2022/07/05/us/victi Grandparents And Parents Are Mourned After Noam Scheiber and Ellen Almer
2022-07-05   2022-07-07 ms-highland-park-shooting.html              Attack                                     Durston                              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/arts/des
2022-07-06   2022-07-07 ign/chagall-sothebys-expert-panel.html      When a Chagall Is Challenged               By Colin Moynihan                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/arts/des
2022-07-06   2022-07-07 ign/museums-climate-protests.html           Sticky Protests Hit British Museums        By Alex Marshall                     TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/06/arts/des
2022-07-06   2022-07-07 ign/newport-artists-rosecliff-isaac-bell.html Turning the Tables on the Gilded Age       By Meredith Mendelsohn             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/arts/mu Man Who Shot the Rapper Nipsey Hussle Is
2022-07-06   2022-07-07 sic/nipsey-hussle-trial-verdict.html          Convicted of Murder                        By Jill Cowan and Joe Coscarelli   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/arts/mu
2022-07-06   2022-07-07 sic/tobias-kratzer-director.html              A New Generation Of Opera Directors        By Joshua Barone                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/arts/she
2022-07-06   2022-07-07 rlock-holmes-podcast-moriarty.html            Seeing the Flaws In Sherlock Holmes        By Alexis Soloski                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/books/b As Parents Call to Ban Books Librarians Are   By Elizabeth A Harris and
2022-07-06   2022-07-07 ook-ban-librarians.html                       Cast as Criminals                          Alexandra Alter                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/books/r
                        eview-son-of-elsewhere-elamin-                Moving Among Worlds on a Ribbon of
2022-07-06   2022-07-07 abdelmahmoud.html                             Highway                                    By Jennifer Szalai                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/busines
2022-07-06   2022-07-07 s/amazon-grubhub.html                         Amazon Eyes Opportunity In GrubHub         By Adam Satariano                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/busines
2022-07-06   2022-07-07 s/biden-student-loan-relief-programs.html     US to Seek Curb on Student Loan Interest   By Stacy Cowley                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/busines                                               By Steven Lee Myers and Eileen
2022-07-06   2022-07-07 s/disinformation-board-dc.html                Bid to Track Falsehoods Hits a Wall        Sullivan                           TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/06/busines Fed Is Preparing New Rate Jump As Fears
2022-07-06   2022-07-07 s/economy/fed-rate-increase-inflation.html Mount                                         By Jeanna Smialek                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/06/busines Job Openings Drop Slightly But Workers
2022-07-06   2022-07-07 s/economy/job-openings-labor-market.html Remain Scarce                                  By Lydia DePillis               TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/06/busines Leader Who Tried to Polish OPECs Image Is
2022-07-06   2022-07-07 s/opec-barkindo.html                        Dead                                        By Stanley Reed                 TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/06/health/c Cancer Drug Greatly Cuts Covid Deaths
2022-07-06   2022-07-07 ovid-drug-cancer-sabizabulin.html           Study Finds                                 By Carl Zimmer                  TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/06/health/j Ban of Juul Vaping Products Is Put on Hold
2022-07-06   2022-07-07 uul-fda-ecigarettes.html                    as the FDA Reviews Its Ruling               By Christina Jewett             TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/06/movies/
2022-07-06   2022-07-07 minions-movie-comedy.html                   The Pure Delight Found in the Minions       By Calum Marsh                  TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/06/nyregio New York City Ferries Failed to Report 224
2022-07-06   2022-07-07 n/nyc-ferry-system-audit.html               Million in Costs Audit Finds                By Ana Ley                      TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/06/nyregio Real Estate Firm Tied to Inquiry Of Trump Is
2022-07-06   2022-07-07 n/trump-contempt-cushman-wakefield.html Fined for Contempt                              By Matthew Haag and Ben Protess TX 9-189-149       2022-09-01



                                                                                Page 3971 of 5793
                        https://www.nytimes.com/2022/07/06/opinion The Federal Reserve Is Being Too Aggressive
2022-07-06   2022-07-07 /inflation-fed-recession-deflation.html          on Inflation                               By Peter Coy                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/sports/b Yankees Update on Judge Were Not Going to
2022-07-06   2022-07-07 aseball/hal-steinbrenner-yankees.html            Give Any Updates                           By James Wagner                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/sports/b
                        asketball/biden-cherelle-griner-brittney-griner- Biden Assures Griners Wife Hes Working On
2022-07-06   2022-07-07 russia.html                                      Release                                    By Tania Ganguli                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/sports/g
2022-07-06   2022-07-07 olf/pga-dp-world-tour-liv-golf.html              An upstart upsets a fresh alliance         By Paul Sullivan                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/sports/g
2022-07-06   2022-07-07 olf/scottish-open-players.html                   The players to watch                       By Michael Arkush               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/sports/g
                        olf/scottish-open-renaissance-club-
2022-07-06   2022-07-07 course.html                                      The Renaissance Club toughens up           By John Clarke                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/sports/j Paul Gets New Opponent After Furys Travel
2022-07-06   2022-07-07 ake-paul-fight-tommy-fury.html                   Troubles                                   By Kris Rhim                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/sports/t
2022-07-06   2022-07-07 ennis/kyrgrios-garin-wimbledon.html              Quiet on Allegations Kyrgios Gets to Semis By Matthew Futterman            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/sports/t
2022-07-06   2022-07-07 ennis/nadal-fritz-wimbledon.html                 Unmatched Guts Even When They Hurt         By Christopher Clarey           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/sports/u Former USA Softball Chief Is Accused of
2022-07-06   2022-07-07 sa-softball-abuse.html                           Abusing Minors                             By Kris Rhim                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/style/bo
2022-07-06   2022-07-07 ob-tape.html                                     Cant Find the Right Bra Try Tape Instead   By Madeleine Aggeler            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/style/th
2022-07-06   2022-07-07 rift-stores-fast-fashion.html                    The Zaraization of Thrift Store Racks      By Isabella Grulln Paz          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/style/vi
2022-07-06   2022-07-07 rgil-abloh-museum-merchandise.html               Scoring a Piece of History                 By Anna Grace Lee               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/style/wi Willie L Morrow 82 Barber Who Popularized
2022-07-06   2022-07-07 llie-lee-morrow-dead.html                        the Afro Pick Dies                         By Clay Risen                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/technol
                        ogy/personaltech/steam-deck-gaming-
2022-07-06   2022-07-07 review.html                                      A Console for Gamers Who Tinker            By Brian X Chen                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/us/brad Bradford Freeman 97 Last Survivor Of
2022-07-06   2022-07-07 ford-freeman-dead.html                           World War IIs Band of Brothers             By Richard Goldstein            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/us/econ The Shrinking of the MiddleClass                 By Sophie Kasakove and Robert
2022-07-06   2022-07-07 omic-segregation-income.html                     Neighborhood                               Gebeloff                        TX 9-189-149   2022-09-01
                                                                                                                    By Mitch Smith Campbell
                        https://www.nytimes.com/2022/07/06/us/high Troubling Signals Yet Still Cleared to Buy       Robertson Frances Robles and
2022-07-06   2022-07-07 land-park-shooting-guns.html                     Guns                                       Serge F Kovaleski               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/us/polit Biden Promised Calm but Base Wants a
2022-07-06   2022-07-07 ics/biden-democrats-action.html                  Fighter                                    By Michael D Shear              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/us/polit Belligerent Early Writings of an Arizona
2022-07-06   2022-07-07 ics/blake-masters.html                           Republican Dog His Senate Campaign         By Jonathan Weisman             TX 9-189-149   2022-09-01




                                                                                 Page 3972 of 5793
                        https://www.nytimes.com/2022/07/06/us/polit Two Adversaries of Trump Faced Major IRS
2022-07-06   2022-07-07 ics/comey-mccabe-irs-audits.html            Audits                                   By Michael S Schmidt                TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/06/us/polit Democrats Offer Plan to Cut Drug Costs A      By Emily Cochrane and Margot
2022-07-06   2022-07-07 ics/democrats-drug-price-climate-taxes.html Cornerstone of a SafetyNet Package            SangerKatz                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/us/polit
                        ics/kate-bedingfield-white-house-           Communications Director at White House Is
2022-07-06   2022-07-07 communications-director.html                the Latest Top Biden Aide to Step Down        By Zolan KannoYoungs             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/us/polit New Brand of Texas Republican as Latinas
2022-07-06   2022-07-07 ics/mayra-flores-latina-republicans.html    Emerge on the Far Right                       By Jennifer Medina               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/us/polit Jan 6 Panel Reaches a Deal to Interview       By Maggie Haberman and Luke
2022-07-06   2022-07-07 ics/pat-cipollone-jan-6-testimony.html      Former White House Counsel                    Broadwater                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/world/a
2022-07-06   2022-07-07 frica/ethiopia-ethnic-massacres.html        Ethnic Killings Escalate Troubles in Ethiopia By Abdi Latif Dahir              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/world/a Mystery Deepens in Deaths of 21 Teenagers By Lynsey Chutel and Zipozenkosi
2022-07-06   2022-07-07 frica/south-africa-tavern-teen-deaths.html  in a Tavern                                   Ncokazi                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/world/a
                        mericas/haiti-jovenel-moise-                Year After an Assassination Haiti Still Waits
2022-07-06   2022-07-07 assassination.html                          to Hit Bottom                                 By Maria AbiHabib                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/world/a China Seeks to Preempt Sanctions in Case of
2022-07-06   2022-07-07 sia/fbi-china-taiwan-sanctions.html         Taiwan Clash FBI Chief Says                   By Julian E Barnes               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/world/a 12 Accused Of Denying Care to Girl Who
2022-07-06   2022-07-07 ustralia/elizabeth-struhs-charges.html      Died                                          By Yan Zhuang                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/world/e
                        urope/boris-johnson-cabinet-ministers-      Johnson Scrabbles to Keep His Job as More By Mark Landler and Stephen
2022-07-06   2022-07-07 uk.html                                     Colleagues Quit Theirs                        Castle                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/world/e Europe Labels Gas and Nuclear Projects         By Matina StevisGridneff and
2022-07-06   2022-07-07 urope/eu-green-energy-gas-nuclear.html      Green Alarming Climate Activists              Somini Sengupta                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/world/e                                                By Constant Mheut and Aurelien
2022-07-06   2022-07-07 urope/france-edf-renationalization.html     France Will Nationalize Energy Giant EDF Breeden                               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/world/e Germany Is Set to Bail Out Its Largest
2022-07-06   2022-07-07 urope/germany-gas-uniper-bailout.html       Importer of Gas                               By Melissa Eddy and Stanley Reed TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/06/world/e Ukraine Strains To Help Millions Uprooted By Emma Bubola and Megan
2022-07-06   2022-07-07 urope/ukraine-war-refugees-displaced.html   by War                                     Specia                            TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/06/world/e Aftermath of Invasion Has Pulverized Value
2022-07-06   2022-07-07 urope/yandex-russia-ukraine.html            Of Russian Tech Giant                      By Neil MacFarquhar               TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/07/busines
2022-07-07   2022-07-07 s/perrigo-omeprazole-taxes-ey.html          Same Firm Arranged Tax Shelters And Audits By Jesse Drucker                  TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/07/sports/t Artistry in the Shadows The Joy of Playing
2022-07-07   2022-07-07 ennis/wimbledon-doubles-coco-gauff.html     and Watching Doubles                       By Kurt Streeter                  TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/07/style/ke
2022-07-07   2022-07-07 n-auletta-harvey-weinstein-biography.html   A Hollywood Monster Examined               By Maureen Dowd                   TX 9-189-149     2022-09-01




                                                                                Page 3973 of 5793
                        https://www.nytimes.com/2022/07/07/technol
2022-07-07   2022-07-07 ogy/tech-start-up-funding.html             Funding Fall Is a Caution To StartUps       By Erin Griffith                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/24/movies/
2022-06-24   2022-07-08 five-horror-movies-to-stream-now.html      Darkness Demons and the Usual Carnage       By Erik Piepenburg               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/busines                                             By C J Hughes and George
2022-07-03   2022-07-08 s/buffalo-economy-shooting.html            Buffalo Is Shaking Off the Rust             Etheredge                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/arts/mu
                        sic/lesley-gore-archive-new-york-public-   Lesley Gores Archive Shows Her Musical
2022-07-06   2022-07-08 library.html                               Evolution                                   By Kalia Richardson              TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/06/arts/tele Reality TV Star Given 12 Years For Sex
2022-07-06   2022-07-08 vision/jerry-harris-sex-crimes-sentenced.html Crimes Involving Minors                  By Sarah Bahr                    TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/06/busines
2022-07-06   2022-07-08 s/fda-paxlovid-prescriptions-pharmacies.html Pharmacists Cleared to Prescribe Paxlovid    By Rebecca Robbins            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/movies/
2022-07-06   2022-07-08 fire-of-love-review.html                     A Volcanic Romance Across Continents         By AO Scott                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/movies/
                        hello-goodbye-and-everything-in-between-
2022-07-06   2022-07-08 review.html                                  Hello Goodbye And Everything In Between By Lisa Kennedy                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/movies/
2022-07-06   2022-07-08 one-way-or-another-sara-gomez.html           Romance Is Swirled With Class Conflicts      By J Hoberman                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/opinion
                        /dobbs-griswold-abortion-rights-
2022-07-06   2022-07-08 conformity.html                              We Are Losing the Right to Not Conform       By Melissa Murray             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/us/youn
2022-07-06   2022-07-08 g-thug-case-witnesses.html                   Prosecutors Allege Threats In Rapper Case    By Richard Fausset            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/arts/des
2022-07-07   2022-07-08 ign/donna-ferrato-photographs-holy.html      The Camera as a Weapon for Women             By Arthur Lubow               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/arts/des
2022-07-07   2022-07-08 ign/laundromat-project-brooklyn.html         Ambassadors of Joy and Activism              By Hilarie M Sheets           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/arts/des
                        ign/robert-colescott-new-museum-painter-
2022-07-07   2022-07-08 race.html                                    Swirling in a Sea of Racism                  By Roberta Smith              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/arts/mu
2022-07-07   2022-07-08 sic/burna-boy-love-damini-review.html        No SelfSatisfaction For This Superstar       By Jon Pareles                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/arts/tele
2022-07-07   2022-07-08 vision/black-bird-review.html                Behind Bars on the Trail of a Murder Suspect By Mike Hale                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/arts/tele
                        vision/owl-house-home-anarchists-
2022-07-07   2022-07-08 streaming.html                               This Weekend I Have                          By Margaret Lyons             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/busines Ben amp Jerrys Sues Owner Over Sales in
2022-07-07   2022-07-08 s/ben-jerry-unilever-israel.html             IsraeliHeld Lands                            By Vivian Giang               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/busines Police Database in China Was Long Left         By Amy Qin John Liu and Amy
2022-07-07   2022-07-08 s/china-police-database-hack.html            Unsecured                                    Chang Chien                   TX 9-189-149   2022-09-01



                                                                                Page 3974 of 5793
                        https://www.nytimes.com/2022/07/07/busines
                        s/economy/amazon-newark-airport-new-           Amazon Scraps Plan For a Hub at Newark        By Noam Scheiber and Karen
2022-07-07   2022-07-08 jersey.html                                    After Fierce Criticism                        Weise                             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/busines With Employers Eager to Hire Many Women By Lydia DePillis Jeanna Smialek
2022-07-07   2022-07-08 s/economy/women-labor-caregiving.html          Are Missing Out                               and Ben Casselman                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/busines
                        s/federal-reserve-interest-rate-increase-      2 Fed Officials Back a Big Rate Increase This
2022-07-07   2022-07-08 recession.html                                 Month                                         By Jeanna Smialek                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/busines Political Groups Wont Get Gifts From
2022-07-07   2022-07-08 s/match-group-donations-dobbs-roe.html         Operator Of Dating Sites                      By Emma Goldberg                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/busines An Internet Dollar Store Comes Down to            By Tiffany Hsu and Sapna
2022-07-07   2022-07-08 s/media/wish-online-dollar-store.html          Earth                                         Maheshwari                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/busines
2022-07-07   2022-07-08 s/meta-facebook-instagram-data.html            EU Focuses On Data Use By Facebook            By Adam Satariano                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/busines Shell Predicts Profits From Refining Will
                        s/shell-sees-refining-profits-nearly-tripling- Nearly Triple Adding 1 Billion to Its Bottom
2022-07-07   2022-07-08 adding-1-billion-to-its-bottom-line.html       Line                                          By Stanley Reed                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/climate In Oil Country Fears of a Shift To Clean
2022-07-07   2022-07-08 /california-fossil-fuel-tax-revenue.html       Power                                         By Brad Plumer and Alisha Jucevic TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/climate Conservation Success 150 Fin Whales Gather
2022-07-07   2022-07-08 /fin-whales-antarctica.html                    For Feast in Antarctic                        By Winston ChoiSchagrin           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/movies/
2022-07-07   2022-07-08 both-sides-of-the-blade-review.html            A Bliss Doomed To Be Doused                   By AO Scott                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/movies/
2022-07-07   2022-07-08 cop-secret-review.html                         Cop Secret                                    By Jeannette Catsoulis            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/movies/
                        dreaming-walls-inside-the-chelsea-hotel-
2022-07-07   2022-07-08 review.html                                    Dreaming Walls Inside The Chelsea Hotel       By Ben Kenigsberg                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/movies/
2022-07-07   2022-07-08 fair-play-review.html                          Fair Play                                     By Natalia Winkelman              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/movies/ James Caan HotTempered Sonny of The
2022-07-07   2022-07-08 james-caan-dead.html                           Godfather Is Dead at 82                       By Clyde Haberman                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/movies/
2022-07-07   2022-07-08 moon-66-questions-review.html                  Moon 66 Questions                             By Beatrice Loayza                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/movies/ Existential Churn on an Island in the Adriatic
2022-07-07   2022-07-08 murina-review.html                             Sea                                           By Manohla Dargis                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/movies/
2022-07-07   2022-07-08 the-sea-beast-review.html                      An Orphan Stowaways Quest                     By Lena Wilson                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/movies/
2022-07-07   2022-07-08 this-much-i-know-to-be-true-review.html        This Much I Know To Be True                   By Glenn Kenny                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/movies/ Hes Still a Norse God But Also a Big Old
2022-07-07   2022-07-08 thor-love-and-thunder-review.html              Goof                                          By Manohla Dargis                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/nyregio Hochul Hasnt Acted on Bill to Enhance
2022-07-07   2022-07-08 n/construction-safety-bill.html                Construction Safety                           By Karen Zraick                   TX 9-189-149   2022-09-01




                                                                                 Page 3975 of 5793
                        https://www.nytimes.com/2022/07/07/nyregio Appointment Glitch Snarls Rollout of
2022-07-07   2022-07-08 n/monkeypox-vaccine-rollout.html            Monkeypox Vaccine in New York             By Sharon Otterman                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/07/opinion
2022-07-07   2022-07-08 /boris-johnson-britain-resignations.html    Johnsons Fatal Error An Apology           By Martha Gill                    TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/07/opinion
2022-07-07   2022-07-08 /inflation-recession-the-fed.html           That Was the Stagflation That Was         By Paul Krugman                   TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/07/opinion
2022-07-07   2022-07-08 /mass-shooters-motive.html                  Why Mass Shooters Do the Evil They Do     By David Brooks                   TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/07/opinion OutofPocket Costs Put Americans Into
2022-07-07   2022-07-08 /medical-debt-health-care-cost.html         Medical Debt                              By Aaron E Carroll                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/07/sports/b
                        asketball/brittney-griner-supporters-wife-  Griners Supporters Are Maintaining Hope
2022-07-07   2022-07-08 wnba.html                                   After Her Guilty Plea in Russia           By Tania Ganguli                  TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/07/sports/f Black Woman Named President of Raiders In
2022-07-07   2022-07-08 ootball/sandra-douglass-morgan-raiders.html a First for the NFL                         By Jenny Vrentas                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/sports/h An NHL Pioneer With the Tenacity of a
2022-07-07   2022-07-08 ockey/mike-grier-sharks-nhl-draft.html      Terrier                                     By Neal E Boudette                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/sports/t
2022-07-07   2022-07-08 ennis/nadal-wimbledon.html                  Nadal Withdraws Abandoning Slam Quest       By Matthew Futterman              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/sports/t Creative Tunisian Inspires in Pursuit Of
2022-07-07   2022-07-08 ennis/ons-jabeur-wimbledon-final.html       Historic Victory                            By Christopher Clarey             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/technol No 2 at Theranos Is Guilty on 12 Fraud
2022-07-07   2022-07-08 ogy/ramesh-balwani-theranos-fraud.html      Counts                                      By Erin Griffith                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/upshot/ Audits of Comey and McCabe Is a
2022-07-07   2022-07-08 comey-mccabe-tax-audits.html                Coincidence Possible                        By Francesca Paris and Josh Katz TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/07/us/abbo Abbott Orders Police to Take Migrants Back
2022-07-07   2022-07-08 tt-texas-migrants.html                      to Border                                   By J David Goodman                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/us/alas Alaska Kills Four Bears That Entered
2022-07-07   2022-07-08 ka-bears-homeless-camp.html                 Homeless Camp                               By Eduardo Medina                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/us/dere Chauvin Is Sentenced To 21 Years in a Case
2022-07-07   2022-07-08 k-chauvin-george-floyd-sentence.html        Of Civil Rights Violations                  By Jay Senter and Shaila Dewan    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/us/polit                                             By Michael S Schmidt and Glenn
2022-07-07   2022-07-08 ics/irs-comey-mccabe.html                   IRS Requests Inquiry In FBI Leaders Audits Thrush                             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/us/polit Democrats Seek to Tax Wealthy In a Bid to By Emily Cochrane Margot
2022-07-07   2022-07-08 ics/medicare-solvency-taxes.html            Shore Up Medicare                           SangerKatz and Jim Tankersley     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/us/polit
                        ics/presidential-medal-of-freedom-biles-    Biden Awards Presidential Medal of Freedom
2022-07-07   2022-07-08 mccain.html                                 to 17 and Says This Is America              By Michael D Shear                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/us/publ                                              By Christine Chung and Carly
2022-07-07   2022-07-08 ic-trust-pew-survey.html                    Pandemic Gutted Trust in Experts Poll Finds Olson                             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/us/sout South Carolina Weighs a Stricter Abortion
2022-07-07   2022-07-08 h-carolina-abortion.html                    Law                                         By Richard Fausset and Ava Sasani TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/world/a Beijing Unveils Vaccine Pass and Urges
2022-07-07   2022-07-08 sia/beijing-vaccine-pass.html               Shots for Older People                      By Vivian Wang                    TX 9-189-149   2022-09-01



                                                                                Page 3976 of 5793
                        https://www.nytimes.com/2022/07/07/world/e Rotterdam Wont Dismantle Bridge to Allow
2022-07-07   2022-07-08 urope/bezos-yacht-rotterdam-bridge.html    Amazon Founders Yacht to Pass               By Claire Moses                   TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/07/world/e Johnson To Exit Ending A Tenure Full Of      By Mark Landler and Stephen
2022-07-07   2022-07-08 urope/boris-johnson-resignation-britain.html Scandal                                    Castle                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/world/e Conservatives Are Thrust Into a Moment of By Stephen Castle and Megan
2022-07-07   2022-07-08 urope/boris-johnson-successor.html           Reinvention                                Specia                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/world/e Griner Pleads Guilty to Drug Charges in      By Anton Troianovski Ivan
2022-07-07   2022-07-08 urope/brittney-griner-russia.html            Russia                                     Nechepurenko and Tania Ganguli   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/world/e They Were in Afghanistan and Iraq They       By Thomas GibbonsNeff Valerie
2022-07-07   2022-07-08 urope/foreign-fighters-ukraine.html          Havent Seen a War Like This                Hopkins and Jane Arraf           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/world/e Deadly Glacier Collapse in Italy Shows Reach
2022-07-07   2022-07-08 urope/italy-glacier-collapse.html            of Europes Scorching Heat                  By Jason Horowitz                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/world/e The Contenders to Become the Next Prime
2022-07-07   2022-07-08 urope/next-prime-minister-uk.html            Minister                                   By Megan Specia                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/07/world/e A Tumultuous Term Ends With a
2022-07-07   2022-07-08 urope/uk-prime-minister-johnson-resign.html JawDropping Exit                             By Mark Landler                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/07/ What the BA5 Subvariant Could Mean for the
2022-07-07   2022-07-08 07/us/ba5-covid-omicron-subvariant.html      United States                               By Lauren Leatherby             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/us/polit Secret Service Director a Trump Appointee Is
2022-07-08   2022-07-08 ics/james-murray-secret-service.html         Leaving                                     By Eileen Sullivan              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/insider/
2022-07-08   2022-07-08 covering-a-pre-and-post-roe-world.html       Covering a Pre and PostRoe World            By Megan DiTrolio               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/movies/
2022-07-08   2022-07-08 dangerous-liaisons-review.html               Dangerous Liaisons                          By Amy Nicholson                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/world/e
                        urope/boris-johnson-lies-britain-            He Charms Lies and Blusters It Always Saved
2022-07-08   2022-07-08 parliament.html                              Him Till Now                                By Sarah Lyall                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/arts/dan HT Chen 74 Whose Dances Captured Asian
2022-07-01   2022-07-09 ce/ht-chen-dead.html                         Experience                                  By Neil Genzlinger              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/busines
                        s/economy/china-reproductive-rights-
2022-07-06   2022-07-09 women.html                                   Single Moms Cant Get Aid From Beijing       By Alexandra Stevenson          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/arts/cip Decoding the Defiance Of Henry VIIIs First
2022-07-07   2022-07-09 hers-henry-viii-catherine.html               Wife                                        By Jennifer Schuessler          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/arts/har Harvey Dinnerstein 94 Proudly Realistic
2022-07-07   2022-07-09 vey-dinnerstein-dead.html                    Painter                                     By Richard Sandomir             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/climate
                        /epa-greenhouse-gas-power-plant-             EPA Has Backup Plan For Emissions After
2022-07-07   2022-07-09 regulations.html                             Setback                                     By Lisa Friedman                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/theater/ Shakespeares Juliet Is Alive and Well and
2022-07-07   2022-07-09 and-juliet-broadway-max-martin.html          Singing                                     By Michael Paulson              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/us/anch
2022-07-07   2022-07-09 ovy-dead-falling-from-sky-california.html    A Pandemic Fires and Now Anchovies          By Livia AlbeckRipka            TX 9-189-149   2022-09-01



                                                                                Page 3977 of 5793
                        https://www.nytimes.com/2022/07/08/arts/dan
                        ce/american-ballet-theater-swan-lake-alonzo-
2022-07-08   2022-07-09 king.html                                    A New Work And Some Swans                   By Gia Kourlas                   TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/arts/des
                        ign/director-guggenheim-richard-armstrong-
2022-07-08   2022-07-09 steps-down.html                              Director of the Guggenheim to Step Down     By Julia Jacobs                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/arts/mu
2022-07-08   2022-07-09 sic/aix-festival-opera.html                  Atrocities To Witness Or Ignore             By Zachary Woolfe                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/arts/tele Larry Storch 99 Comic and Actor Who
2022-07-08   2022-07-09 vision/larry-storch-dead.html                Shined on F Troop Is Dead                   By Neil Genzlinger               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/busines Strong Jobs Data Blunts Concerns About
2022-07-08   2022-07-09 s/economy/jobs-report-june-2022.html         Recession                                   By Lydia DePillis                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/busines                                               By Jeanna Smialek and Jim
2022-07-08   2022-07-09 s/economy/wages-jobs-fed-rates.html          Fed Is Likely To Continue Raising Rate      Tankersley                       TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/busines Top Gas Importer In Germany Seeks
2022-07-08   2022-07-09 s/uniper-germany-gas.html                    Government Help                             By Stanley Reed and Melissa Eddy TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/health/ Lapses in Public Health Fuel Another
2022-07-08   2022-07-09 monkeypox-vaccine-treatment.html             Outbreak                                    By Apoorva Mandavilli            TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/movies/
2022-07-08   2022-07-09 zawe-ashton-mr-malcolms-list.html            Exploring New Roles Yet Anchored            By Alexis Soloski                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/nyregio
2022-07-08   2022-07-09 n/bodega-stabbing-jose-alba.html             Mayor Defends Store Clerk in Bodega Killing By Jeffery C Mays                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/nyregio Graft Case Could Imperil Efforts to Reform
2022-07-08   2022-07-09 n/joe-percoco-supreme-court-cuomo.html       Albany                                      By Benjamin Weiser               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/opinion
2022-07-08   2022-07-09 /democrats-abortion-midterms.html            Democrats Need to Scare Voters              By Ana Marie Cox                 TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/08/sports/b Locked Up And Terrified As the Days Tick
2022-07-08   2022-07-09 asketball/brittney-griner-russia-release.html Away                                        By Kurt Streeter                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/sports/h Star of the NHL Draft Next Years Top
2022-07-08   2022-07-09 ockey/connor-bedard-nhl-draft.html            Prospect                                    By Gare Joyce                   TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/sports/s
2022-07-08   2022-07-09 occer/sepp-blatter-michel-platini-trial.html  Acquittals in 2 Million FIFA Fraud Trial    By Tariq Panja                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/sports/t
                        ennis/djokovic-kyrgios-norrie-                Djokovic Reaches Final Knocking Off Local
2022-07-08   2022-07-09 wimbledon.html                                Lad And Quieting the Crowd                  By Matthew Futterman            TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/08/sports/t
2022-07-08   2022-07-09 ennis/kyrgios-nadal-djokovic-wimbledon.html Expecting Emotional Fireworks                 By Christopher Clarey           TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/sports/t Despite Ban on Russians a Russian Might
2022-07-08   2022-07-09 ennis/rybakina-russia-wimbledon.html        Win                                           By Matthew Futterman            TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/technol Musk Moves to End 44 Billion Deal for
2022-07-08   2022-07-09 ogy/elon-musk-twitter.html                  Twitter                                       By Kate Conger and Lauren Hirsch TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/theater/
2022-07-08   2022-07-09 peter-brook-directors-influence.html        Peter Brook Presented Another Path            By Laura CollinsHughes          TX 9-189-149    2022-09-01



                                                                                 Page 3978 of 5793
                        https://www.nytimes.com/2022/07/08/us/chris
2022-07-08   2022-07-09 tian-nationalism-politicians.html           On Far Right Devout Efforts To Get Elected By Elizabeth Dias                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/us/louis Judge Allows Trigger Ban On Abortion In
2022-07-08   2022-07-09 iana-abortion-ban.html                      Louisiana                                   By Ava Sasani and Kate Zernike    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/us/polit Biden Responding to Reversal Signs Order on By Michael D Shear and Sheryl
2022-07-08   2022-07-09 ics/biden-abortion-executive-order.html     Abortion                                    Gay Stolberg                      TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/08/us/polit 4 Border Patrol Agents Face Disciplinary    By Eileen Sullivan and Zolan
2022-07-08   2022-07-09 ics/border-patrol-investigation-migrants.html Action                                    KannoYoungs                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/us/polit One Way to Untangle Congress Dont Just
2022-07-08   2022-07-09 ics/congress-engaging-citizens-public.html    Listen to the Squeaky Wheels              By Carl Hulse                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/us/polit Russia Votes to Shut Down Last Aid Route in
2022-07-08   2022-07-09 ics/russia-syria-refugees-un.html             Syria                                     By Lara Jakes                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/us/polit A Pragmatic Realist Whose Influence Was
2022-07-08   2022-07-09 ics/shinzo-abe-influence.html                 Felt Long After He Left Office            By David E Sanger                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/us/polit
2022-07-08   2022-07-09 ics/wisconsin-drop-boxes.html                 Wisconsin Justices Curb Ballot Drop Boxes By Reid J Epstein                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/us/us- Columbia Loses College Ranking As US
2022-07-08   2022-07-09 news-rankings-columbia.html                   News Peeks Under the Ivy                  By Anemona Hartocollis            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/world/a Jos Eduardo dos Santos Longtime President of
2022-07-08   2022-07-09 frica/jose-eduardo-dos-santos-dead.html       Angola Is Dead at 79                      By Alan Cowell                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/world/a Where Shootings Are Not Part of Everyday By Daisuke Wakabayashi Ben
2022-07-08   2022-07-09 sia/japan-abe-murder-guns.html                Life                                      Dooley and Hikari Hida            TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/08/world/a                                                  By Motoko Rich Makiko Inoue
2022-07-08   2022-07-09 sia/shinzo-abe-assassin-handmade-gun.html ExLeaders Assassination Stuns Japan               Hikari Hida and Hisako Ueno   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/world/a Shinzo Abe Who Sought to Reshape Japan
2022-07-08   2022-07-09 sia/shinzo-abe-dead.html                       Dies at 67                                   By Motoko Rich                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/world/e
                        urope/families-of-civilian-soldiers-worry-and- As Civilian Soldiers Are Deployed to Front
2022-07-08   2022-07-09 wait-in-ukraine.html                           Lines Families Wait and Worry                By Megan Specia               TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/08/world/e Investigating Libel Claim Court Sides With
2022-07-08   2022-07-09 urope/prince-harry-defamation-the-mail.html Prince                                     By Christine Hauser                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/world/e Russia Sentences Official To Seven Years in By Ivan Nechepurenko and Alina
2022-07-08   2022-07-09 urope/russia-aleksei-gorinov-prison.html    Prison                                     Lobzina                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/world/e Europes Largest Port Shoulders Burden Of
2022-07-08   2022-07-09 urope/russia-eu-sanctions-rotterdam.html    Fulfilling United Front Against Russia     By Matina StevisGridneff           TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/08/world/e With Johnson Sidelined the Fight to Run
2022-07-08   2022-07-09 urope/uk-prime-minister-boris-johnson.html Britain Gets Underway                            By Stephen Castle             TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/08/world/e For Ukrainians UK Leaders Resignation
2022-07-08   2022-07-09 urope/ukraine-boris-johnson-resignation.html Means the Loss of a Personal Ally              By Megan Specia               TX 9-189-149   2022-09-01




                                                                                   Page 3979 of 5793
                        https://www.nytimes.com/2022/07/08/world/e A City in Russias Sights Sloviansk Is Angry   By Carlotta Gall and Mauricio
2022-07-08   2022-07-09 urope/ukraine-sloviansk-russia.html        Defiant and Divided                           Lima                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/world/l Russias Foreign Minister Is Shunned at G20
2022-07-08   2022-07-09 avrov-g20-russia-blinken.html              Talks With Some Notable Exceptions            By Michael Crowley              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/your-
                        money/retirement-account-mutual-funds-
2022-07-08   2022-07-09 savings.html                               Moving Money Can Mean Losing Money            By Ann Carrns                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/busines
2022-07-09   2022-07-09 s/farmers-climate-change.html              Reluctant Recruits to Climate Effort          By Julie Creswell               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/world/e Exposing the Limits of Language Whether
2022-07-09   2022-07-09 urope/christine-sun-kim-profile.html       Spoken or Signed                              By Andrew Russeth               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/05/10/books/r
2022-05-10   2022-07-10 eview/mark-haber-emily-hall.html           For Arts Sake                                 By Jackson Arn                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/02/books/r
2022-06-02   2022-07-10 eview/asylum-edafe-okporo.html             Beacon of Hope                                By Adaobi Tricia Nwaubani       TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/06/07/books/r
2022-06-07   2022-07-10 eview/andrew-holleran-kingdom-of-sand.html Gods Waiting Room                             By Colm Toibin                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/07/books/r
2022-06-07   2022-07-10 eview/lars-horn-voice-of-the-fish.html     Life Aquatic                                  By Corinne Manning              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/07/books/r
2022-06-07   2022-07-10 eview/wastelands-corban-addison.html       The Smell of Freedom                          By Eric Schlosser               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/14/books/r
2022-06-14   2022-07-10 eview/esmond-and-ilia-marina-warner.html Once Upon a Time Two Lives Collided             By Lucy Scholes                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/14/books/r
                        eview/moonlight-and-the-pearlers-daughter-
2022-06-14   2022-07-10 lizzie-pook.html                           Buried Treasure                               By Yen Pham                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/14/books/r
2022-06-14   2022-07-10 eview/rough-draft-katy-tur.html            The Newshounds Daughter                       By Joanna Coles                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/14/books/r
                        eview/we-carry-their-bones-erin-
2022-06-14   2022-07-10 kimmerle.html                              When the Dead Talk                            By W Caleb McDaniel             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/18/books/r
2022-06-18   2022-07-10 eview/the-catch-alison-fairbrother.html    Fair or Foul                                  By Julia May Jonas              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/21/books/r
                        eview/alhierd-bacharevic-alindarkas-
2022-06-21   2022-07-10 children.html                              The Politics of Translation                   By Sophie Pinkham               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/21/books/r
                        eview/the-fight-to-save-the-town-michelle-
2022-06-21   2022-07-10 wilde-anderson.html                        Blight Club                                   By Sherry Turkle                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/25/books/r
2022-06-25   2022-07-10 eview/jess-walter-the-angel-of-rome.html   EndoftheWorld Fun                             By Hilma Wolitzer               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/books/r
2022-06-28   2022-07-10 eview/alexis-schaitkin-elsewhere.html      Stranger Things                               By MarieHelene Bertino          TX 9-189-149   2022-09-01




                                                                                Page 3980 of 5793
                        https://www.nytimes.com/2022/06/30/books/r
2022-06-30   2022-07-10 eview/nightcrawling-leila-mottley.html     Inside the List                             By Elisabeth Egan                 TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/01/books/r
2022-07-01   2022-07-10 eview/rosewood-brewer-donaldson-swan.html Novels                                       By Dexter Palmer                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/01/realesta
2022-07-01   2022-07-10 te/seaport-titanic-memorial-lighthouse.html A Memorial Struggles to Survive                By John Freeman Gill          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/03/arts/hu Hunter Reynolds 62 Artist Whose Work
2022-07-03   2022-07-10 nter-reynolds-dead.html                      Evoked the Heartbreak Caused by AIDS          By Penelope Green             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/opinion
2022-07-04   2022-07-10 /guns-america-western-mythology.html         Guns Arent Sacred                             By Francisco Cant             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/04/realesta
2022-07-04   2022-07-10 te/renters-upper-east-side.html              A Family Returns to Manhattan More or Less By DW Gibson                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/arts/ba-
2022-07-05   2022-07-10 parker-code-switch-favorites.html            B A Parker Cant Get Enough of KDramas         By Juan A Ramrez              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/arts/mu
2022-07-05   2022-07-10 sic/guido-cantelli-conductor.html            Recordings Survive A Comet Cut Short          By David Allen                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/magazi
2022-07-05   2022-07-10 ne/how-to-ask-a-stranger-for-help.html       How to Ask a Stranger For Help                By Malia Wollan               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/magazi My Wife and I Lied About Our Sons Death
2022-07-05   2022-07-10 ne/lying-overdose-fentanyl-ethics.html       Can I Come Clean if She Wont                  By Kwame Anthony Appiah       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/magazi
2022-07-05   2022-07-10 ne/ptsd-trauma.html                          His PTSD and My Struggle to Live With It      By Virginia Eubanks           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/opinion
2022-07-05   2022-07-10 /ob-gyn-roe-v-wade-pregnancy.html            Im Terrified for My Patients                  By David N Hackney            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/realesta
                        te/kevin-mckenzie-martine-van-hamel-         After Rich City Lives the Pure Zen of a Rural
2022-07-05   2022-07-10 american-ballet-theatre.html                 Retreat                                       By Joanne Kaufman             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/upshot/
2022-07-05   2022-07-10 future-suburban-office-park.html             Lonely Last Days in a Suburban Office Park By Emily Badger and Lila Barth   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/07/ Krista Tippett Wants You to See All the
2022-07-05   2022-07-10 05/magazine/krista-tippett-interview.html    Hidden Signs of Hope                          By David Marchese             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/magazi
2022-07-06   2022-07-10 ne/circadian-medicine.html                   The Time of Your Life                         By Kim Tingley                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/magazi
2022-07-06   2022-07-10 ne/kimchi-and-cheddar-biscuit-recipe.html    A Great Biscuit Is a Miracle of Care          By Bryan Washington           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/magazi
2022-07-06   2022-07-10 ne/professional-athlete-podcast.html         Shop Talk                                     By Jeremy Gordon              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/magazi
2022-07-06   2022-07-10 ne/talking-to-the-dead.html                  Talking to the Dead                           By Maggie Jones               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/magazi
2022-07-06   2022-07-10 ne/us-export-liquid-natural-gas.html         Liquid Gold                                   By Jake Bittle                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/movies/
2022-07-06   2022-07-10 fire-of-love-maurice-katia-krafft.html       Lava and Love in a Volcanic Partnership       By Ben Kenigsberg             TX 9-189-149   2022-09-01



                                                                                Page 3981 of 5793
                        https://www.nytimes.com/2022/07/06/opinion
2022-07-06   2022-07-10 /breastfeeding-guidelines.html              American Moms Need a Break                 By Jessica Grose                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/opinion
2022-07-06   2022-07-10 /melilla-morocco-europe-migrants.html       Tell Me if Youve Heard This Story Before   By Laila Lalami                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/opinion
2022-07-06   2022-07-10 /moderate-party-new-jersey.html             A Viable Third Party Is Coming             By Tom Malinowski               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/realesta
                        te/gardiner-ny-open-space-and-mountain-     Open Space and Mountain Views in Ulster
2022-07-06   2022-07-10 views-in-ulster-county.html                 County                                     By Karen Angel                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/realesta On an Island a Spanish Manor With a French
2022-07-06   2022-07-10 te/house-hunting-majorca-spain.html         Accent                                     By Lisa Prevost                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/realesta
                        te/in-your-enthusiasm-for-planting-dont-
2022-07-06   2022-07-10 forget-about-the-trees.html                 Stop Punishing Your Trees When Planting    By Margaret Roach               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/t-
2022-07-06   2022-07-10 magazine/should-i-go-to-art-school.html     Ts Art Issue Art School Confidential       By Noor Brara                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/technol Modern Computing Still Relies on Ancient
2022-07-06   2022-07-10 ogy/cobol-jobs.html                         Languages                                  By Shira Ovide                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/theater/
2022-07-06   2022-07-10 pay-equity-salaries.html                    When Paying Your Dues Doesnt Pay the Rent By Jesse Green                   TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/07/arts/dan
2022-07-07   2022-07-10 ce/abdiel-jacobsen-hustle-central-park.html They Make Us Feel Like Dancing               By Margaret Fuhrer            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/arts/mu
2022-07-07   2022-07-10 sic/beach-bunny-emotional-creature.html     Beach Bunnys Newly Tangible Success          By Lindsay Zoladz             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/books/r
                        eview/shores-of-bohemia-john-taylor-
2022-07-07   2022-07-10 williams.html                               Atlantic Antic                               By Andrew Sullivan            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/busines
2022-07-07   2022-07-10 s/cash-assistance-incarcerated.html         A Fresh Start With Money In Hand             By Patricia Leigh Brown       TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/07/busines
2022-07-07   2022-07-10 s/roxane-gay-work-advice-office-politics.html Let Them Eat Cake but Leave Me Out of It   By Roxane Gay                 TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/07/magazi
2022-07-07   2022-07-10 ne/judge-john-hodgman-bumper-sticker.html Bonus Advice From Judge John Hodgman         By John Hodgman                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/magazi                                              By Casandra Lpez and Victoria
2022-07-07   2022-07-10 ne/poem-sister-song.html                   Sister Song                                 Chang                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/magazi Is the Future of American Opera Unfolding in
2022-07-07   2022-07-10 ne/yuval-sharon-detroit-opera.html         Detroit                                     By Mark Binelli                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/opinion
2022-07-07   2022-07-10 /joe-biden-better-watch-his-back.html      Biden Had Better Pay Attention              By Frank Bruni                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/opinion
2022-07-07   2022-07-10 /work-busy-trap-millennials.html           Its Time to Stop Living the American Scam By Tim Kreider                    TX 9-189-149   2022-09-01




                                                                                 Page 3982 of 5793
                        https://www.nytimes.com/2022/07/07/realesta
2022-07-07   2022-07-10 te/rental-markets-competition.html          Overheated Rental Market in Florida        By Gregory Schmidt            TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/07/style/gu
2022-07-07   2022-07-10 n-safe-teenagers-privacy.html               Gun Safe Issues                            By Philip Galanes             TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/07/us/tami Former Officer Who Shot Child Exits New
2022-07-07   2022-07-10 r-rice-timothy-loehmann-pennsylvania.html Job After 2 Days                               By Christine Chung          TX 9-189-149    2022-09-01
                        https://www.nytimes.com/interactive/2022/07/ A Studio on the East Side of Manhattan for
2022-07-07   2022-07-10 07/realestate/11hunt-gimbel.html             Less Than 500000 These Were His Options By Joyce Cohen                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/07/us/sque Man With Bat Shot Dead In Squeegee Worker
2022-07-08   2022-07-10 egee-worker-shooting-baltimore.html          Fight                                       By Vimal Patel              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/arts/des
                        ign/charles-smith-louisiana-white-
2022-07-08   2022-07-10 columns.html                                 His Roadside Realm Heads North              By Randy Kennedy            TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/arts/tele
2022-07-08   2022-07-10 vision/rhea-seehorn-better-call-saul.html    Not So Machiavellian Offscreen              By Austin Considine         TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/books/r
2022-07-08   2022-07-10 eview/marie-dorleans-our-fort.html           Their Wildest Dreams                        By Sophie Blackall          TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/books/r
2022-07-08   2022-07-10 eview/new-crime-fiction.html                 Was It Murder                               By Sarah Weinman            TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/busines
2022-07-08   2022-07-10 s/bear-market-retirement-investment.html     A Beginners Guide to the Bear Market Part 2 By Jeff Sommer              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/busines With Luck StartUp Equity Can Be a Great
2022-07-08   2022-07-10 s/start-up-equity-retirement.html            Plan                                        By Lisa Rabasca Roepe       TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/08/nyregio
2022-07-08   2022-07-10 n/abortion-access-texas-new-york.html        With Roes Reversal a Brain Drain Looms      By Ginia Bellafante         TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/08/nyregio
2022-07-08   2022-07-10 n/brooklyn-homeless-shelter-friendship.html A Dark Secret Changes a Friends Life        By Sam Dolnick and An Rong Xu TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/nyregio
2022-07-08   2022-07-10 n/dan-perlman-flatbush-misdemeanors.html Singing Edelweiss and Cracking Jokes           By Tammy La Gorce             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/opinion How the Biden Administration Could Protect
2022-07-08   2022-07-10 /abortion-pills-policy.html                 Abortion Rights                             By The Editorial Board        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/opinion
2022-07-08   2022-07-10 /codependency-addiction-recovery.html       No Love Doesnt Make You an Enabler          By Maia Szalavitz             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/opinion
2022-07-08   2022-07-10 /eric-adams-mayor-new-york.html             Eric Adams Patrolling a City on Edge        By Maureen Dowd               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/opinion
2022-07-08   2022-07-10 /trump-democracy-states.html                Next Time Trump Wont Need a Mob             By Jamelle Bouie              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/realesta
2022-07-08   2022-07-10 te/housing-market.html                      The Only Certainty Right Now Is Uncertainty By Ronda Kaysen               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/sports/b
                        asketball/wnba-all-star-jackie-young-       After Titles in High School and College
2022-07-08   2022-07-10 aces.html                                   Whats Next                                  By Erica L Ayala              TX 9-189-149   2022-09-01




                                                                                Page 3983 of 5793
                        https://www.nytimes.com/2022/07/08/sports/s
                        occer/cristiano-ronaldo-manchester-united-   The Romancing of Ronaldo A Tale of the
2022-07-08   2022-07-10 frenkie-de-jong.html                         Transfer Market                           By Rory Smith             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/style/a A Compatible Phone Charger Led to a Strong
2022-07-08   2022-07-10 mina-colter-jason-jones-wedding.html         Connection                                By Rosalie R Radomsky     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/style/ch
                        arlie-kelly-jean-paul-broc-gomez-            On a Blind Date a Clear Idea That This
2022-07-08   2022-07-10 wedding.html                                 Would Last Forever                        By Kristen Bayrakdarian   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/style/e Life Is Very Pink Right Now for Emmy
2022-07-08   2022-07-10 mmy-rossum-angelyne.html                     Rossum                                    By Alexis Soloski         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/style/ja Returning to the Mountain That Changed Her
2022-07-08   2022-07-10 mie-mocrazy-reggie-clark-wedding.html        Life                                      By Jenny Block            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/style/m
2022-07-08   2022-07-10 adelyn-krebs-tyler-fox-wedding.html          Love but Certainly Not at First Bite      By Nina Reyes             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/style/m
                        odern-love-losing-pregnancy-marriage-        The Pregnancy the Marriage the Pearls All
2022-07-08   2022-07-10 pearls.html                                  Lost                                      By Eliza Smith            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/style/oli
2022-07-08   2022-07-10 via-jean-jack-white.html                     Marry Me Yes Now Rock On                  By Madeleine Aggeler      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/style/tar
                        a-cannistraci-michael-mondrone-              At the Milton Berle Room He Really Wasnt
2022-07-08   2022-07-10 wedding.html                                 Joking                                    By Hilary Sheinbaum       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/style/w
2022-07-08   2022-07-10 here-bobbleheads-are-born.html               Where Bobbleheads Are Born                By Eve Peyser             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/arts/tele Tony Sirico 79 Dies Played Paulie Walnuts
2022-07-09   2022-07-10 vision/tony-sirico-dead.html                 On The Sopranos                           By Anita Gates            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/busines
2022-07-09   2022-07-10 s/arthur-aidala-lawyer.html                  When Tabloid Fiends Need a Friend         By Katherine Rosman       TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/09/busines Fearing Oil Jolt US Pitches Plan On Global
2022-07-09   2022-07-10 s/economy/biden-gas-price-cap-russia.html  Prices                                       By Jim Tankersley        TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/09/insider/
2022-07-09   2022-07-10 the-last-days-of-suburban-office-parks.html The Decline of Suburban Office Parks        By Megan DiTrolio        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/nyregio Police Estimate 13 Guns Used in Harlem
2022-07-09   2022-07-10 n/ny-guns-shootings.html                    Shooting                                    By Ali Watkins           TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/09/nyregio Thanks to a Folklorist We Know Where Pete
2022-07-09   2022-07-10 n/pete-panto-dockworkers-union-mafia.html Panto Is                                   By Helene Stapinski         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/realesta Selling a Home You Should Dress It for
2022-07-09   2022-07-10 te/home-staging-advice.html                 Success                                  By Daniel Bortz             TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/09/realesta My Newspaper Is Being Stolen What Are My
2022-07-09   2022-07-10 te/newspaper-delivery-theft-prevention.html Options to Stop That                     By Ronda Kaysen             TX 9-189-149   2022-09-01




                                                                                Page 3984 of 5793
                        https://www.nytimes.com/2022/07/09/sports/b Not Really a Problem I Just Cant Get a Ball
2022-07-09   2022-07-10 aseball/clay-holmes-yankees.html            To Stay on a Line                             By Tyler Kepner                   TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/09/sports/t Rybakina Powers Her Way to First Grand
2022-07-09   2022-07-10 ennis/rybakina-jabeur-wimbledon-russia.html Slam Title                                    By Matthew Futterman              TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/09/sports/t
2022-07-09   2022-07-10 ennis/wimbledon-elena-rybakina-russia.html Her Moment in Spite of Everything              By Christopher Clarey             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/style/m
2022-07-09   2022-07-10 edication-depression-anxiety-adhd.html      Feeling Unmoored and Reaching for Pills       By Casey Schwartz                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/technol
2022-07-09   2022-07-10 ogy/twitter-elon-musk-lawsuit.html          MuskTwitter Saga Is Headed for Courts         By Lauren Hirsch and Kate Conger TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/09/us/abor Protesters Call on Biden to Protect Abortion
2022-07-09   2022-07-10 tion-protests-biden-white-house.html        Rights                                        By Stephanie Lai and Ava Sasani   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/us/polit Biden at 79 Shows Signs of Age And Aides
2022-07-09   2022-07-10 ics/biden-age-democrats.html                Fret About His Image                          By Peter Baker                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/us/polit                                               By Kate Kelly and Maggie
2022-07-09   2022-07-10 ics/liz-cheney-jan-6.html                   Now in Cheneys Corner Democratic Donors       Haberman                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/us/polit
2022-07-09   2022-07-10 ics/ukraine-strategy-biden.html             Ukraine War Now a Battle Of Endurance         By Peter Baker and David E Sanger TX 9-189-149   2022-09-01
                                                                                                                  By Mike Baker Nicholas
                        https://www.nytimes.com/2022/07/09/us/sexu                                                BogelBurroughs Ilana Marcus and
2022-07-09   2022-07-10 al-abuse-jrotc.html                        I Felt Trapped Sexual Abuse in JROTC           Mary F Calvert                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/world/a Luis Echeverra Alvarez Former President of
2022-07-09   2022-07-10 mericas/luis-echeverra-alvarez-dead.html   Mexico Is Dead at 100                          By Jonathan Kandell               TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/09/world/a A Mexico Justices Path To Aid Abortion
2022-07-09   2022-07-10 mericas/mexico-abortion-chief-justice.html Rights                                      By Natalie Kitroeff             TX 9-189-149        2022-09-01
                        https://www.nytimes.com/2022/07/09/world/a Some Experts See Attack as Success Not
2022-07-09   2022-07-10 sia/abe-assassination-japan-gun-laws.html   Failure of Japans Gun Laws                 By Max Fisher                   TX 9-189-149        2022-09-01
                        https://www.nytimes.com/2022/07/09/world/a Blinken Presses Chinas Top Diplomat to      By Michael Crowley Steven
2022-07-09   2022-07-10 sia/blinken-china-ukraine.html              Stand Up Against Russia                    Erlanger and Catherine Porter   TX 9-189-149        2022-09-01
                        https://www.nytimes.com/2022/07/09/world/a In Hong Kong Pilots Restore a Warm Memory
2022-07-09   2022-07-10 sia/hot-dog-bus-hong-kong.html              on Wheels                                  By Tiffany May                  TX 9-189-149        2022-09-01
                                                                                                               By Motoko Rich Daisuke
                        https://www.nytimes.com/2022/07/09/world/a                                             Wakabayashi Hikari Hida and
2022-07-09   2022-07-10 sia/japan-abe-shooting.html                 Shooting Leads Japan To Reassess Security Hisako Ueno                      TX 9-189-149        2022-09-01
                        https://www.nytimes.com/2022/07/09/world/a Sri Lanka Said To Oust Leader In Mass       By Skandha Gunasekara and Mujib
2022-07-09   2022-07-10 sia/sri-lanka-gotabaya-rajapaksa.html       Revolt                                     Mashal                          TX 9-189-149        2022-09-01
                        https://www.nytimes.com/2022/07/09/world/e Johnson Resigns but His Legacy and the
2022-07-09   2022-07-10 urope/boris-johnson-brexit.html             Divisions He Stoked Remain                 By Mark Landler                 TX 9-189-149        2022-09-01
                        https://www.nytimes.com/2022/07/09/world/e At Any Given Moment Its Like Parallel
2022-07-09   2022-07-10 urope/lviv-ukraine-russia.html              Realities                                  By Megan Specia and Emile Ducke TX 9-189-149        2022-09-01
                        https://www.nytimes.com/2022/07/12/us/polit Jan 6 Panel and Cipollone Discuss Election By Luke Broadwater and Maggie
2022-07-09   2022-07-10 ics/pat-cipollone-jan-6-trump.html          Claims                                     Haberman                        TX 9-189-149        2022-09-01



                                                                                 Page 3985 of 5793
                        https://www.nytimes.com/2022/07/10/busines
                        s/the-week-in-business-start-ups-theranos-  The Week in Business A Rude Awakening for
2022-07-10   2022-07-10 fraud.html                                  StartUps                                      By Marie Solis                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/nyregio
                        n/in-nyc-apartments-the-ants-go-marching-   In New York Apartments the Ants Go
2022-07-10   2022-07-10 up.html                                     Marching Up                                   By Dodai Stewart               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/sports/t Tennis Is Done With the Coronavirus Even if
2022-07-10   2022-07-10 ennis/wimbledon-djokovic-covid-19.html      Covid19 Isnt Yet Done With Tennis             By Matthew Futterman           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/style/sh                                               By Jessica Testa and Matthew
2022-07-10   2022-07-10 ow-and-tell.html                            A Unique Scene Plays to a Script              Avignone                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/us/croy A New Hampshire Towns Lesson in
2022-07-10   2022-07-10 don-free-state-politics.html                Democracy                                     By Dan Barry                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/automo
2022-06-30   2022-07-11 biles/analog-cars.html                      Car Market Sees a Push For Analog             By Rob Sass                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/30/automo
                        biles/collectibles/vintage-sports-car-      Cheap Deals on Top Sports Models May Be
2022-06-30   2022-07-11 depreciation.html                           Scarce                                        By Rob Sass                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/travel/b
2022-07-05   2022-07-11 hutan-tourism.html                          Happiness in Bhutan Has Its Limits and Fees By Ceylan Yeginsu                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/arts/aca Film Preservationist Will Lead Motion Picture
2022-07-06   2022-07-11 demy-museum-jacqueline-stewart.html         Museum                                        By Julia Jacobs                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/arts/mu
2022-07-07   2022-07-11 sic/jazz-camp-for-girls.html                On Sax Bass and Every Other Instrument        By Lisa Abend                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/books/n Ni Kuang Screenwriter Of Martial Arts
2022-07-07   2022-07-11 i-kuang-dead.html                           Movies And Thriller Author 87                 By Tiffany May                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/technol
2022-07-07   2022-07-11 ogy/big-tech-abortion.html                  Tech Is Not Representative Government         By Shira Ovide                 TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/07/theater/ Warhol and Basquiat to Share the Stage on
2022-07-07   2022-07-11 collaboration-warhol-basquiat-broadway.html Broadway                                   By Michael Paulson                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/arts/dan
2022-07-08   2022-07-11 ce/review-momix-alice.html                   22 Rabbit Holes And 8 Dancers             By Siobhan Burke                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/arts/mu
2022-07-08   2022-07-11 sic/kenward-elmslie-dead.html                Kenward Elmslie Poet and Librettist 93    By Neil Genzlinger                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/arts/tele
2022-07-08   2022-07-11 vision/trigger-point-review.html             FreeRange Paranoia And Pure Pressure      By Mike Hale                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/busines South Korea Known for Innovation Still Cant By Daisuke Wakabayashi and Jin
2022-07-08   2022-07-11 s/korea-internet-explorer.html               Quit Internet Explorer                    Yu Young                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/health/j Joyce C Lashof Doctor and Dean Who Broke
2022-07-08   2022-07-11 oyce-lashof-dead.html                        Barriers Is Dead at 96                    By Alex Williams                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/movies/
2022-07-08   2022-07-11 james-caan-appreciation.html                 A Swaggering Yet Delicate James Caan      By Manohla Dargis                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/opinion I Dont Want to See a Football Coach Praying
2022-07-08   2022-07-11 /prayer-supreme-court-football.html          on the Field                              By Anne Lamott                    TX 9-189-149   2022-09-01




                                                                                 Page 3986 of 5793
                        https://www.nytimes.com/2022/07/08/theater/
2022-07-08   2022-07-11 broadwaycon-hillary-clinton.html             Hillary Clinton Toasts Women in the Theater By Sarah Bahr                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/us/arizo
2022-07-09   2022-07-11 na-recording-police-8-feet.html              Arizona Sets 8Foot Buffer to Video Police       By Amanda Holpuch               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/us/bill-j-Bill J Allen Big Player In Alaska Oil at Center
2022-07-09   2022-07-11 allen-dead.html                              Of Scandal Dies at 85                           By Clay Risen                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/nyregio
2022-07-10   2022-07-11 n/harlem-subway-stabbing.html                Boy 15 Held In Killing In Subway                By Ana Ley                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/books/b Diverse Bookstores See a Boom No One Was By Alexandra Alter and Elizabeth
2022-07-10   2022-07-11 ookstores-diversity-pandemic.html            Expecting                                       A Harris                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/books/r
                        eview-hollywood-ending-harvey-weinstein-
2022-07-10   2022-07-11 ken-auletta.html                             Finding No Joy In a Moguls Life                 By Alexandra Jacobs             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/busines
2022-07-10   2022-07-11 s/airline-pilots-pay.html                    Airline Pilots Seek Raises And Changes          By Niraj Chokshi                TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/10/busines The Battle Over Truth In Red States And in      By Steven Lee Myers and Cecilia
2022-07-10   2022-07-11 s/disinformation-democrats-republicans.html Blue                                           Kang                              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/crossw
2022-07-10   2022-07-11 ords/daily-puzzle-2022-07-11.html           A Colorful Crossword Debut                     By Rachel Fabi                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/opinion Trump Wrecked Lives on Jan 6 I Should
2022-07-10   2022-07-11 /capitol-police-jan-6.html                  Know                                           By Aquilino Gonell                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/opinion
                        /justice-john-roberts-supreme-court-
2022-07-10   2022-07-11 retire.html                                 Chief Justice Roberts Should Retire            By Pamela Paul                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/opinion
2022-07-10   2022-07-11 /we-are-political-hostages.html             We Are Political Hostages                      By Charles M Blow                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/science On Earth Stargazers Await Webbs First
2022-07-10   2022-07-11 /nasa-webb-telescope-images.html            Snapshots of the Universe                      By Dennis Overbye                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/sports/b Mets and Yankees Sending 10 to the AllStar
2022-07-10   2022-07-11 aseball/pete-alonso-all-star.html           Game                                           By Benjamin Hoffman               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/sports/b With Pitchers in a Hole Hitters Dig Out the
2022-07-10   2022-07-11 aseball/red-sox-yankees.html                Red Sox                                        By Tyler Kepner                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/sports/h
2022-07-10   2022-07-11 enry-rono-world-records.html                A Path of Success Then a Winding Journey       By Jonathan W Rosen               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/sports/t
2022-07-10   2022-07-11 ennis/novak-djokovic-wimbledon.html         His Lawn Once Again                            By Christopher Clarey             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/us/high For the Parents of Mass Killers a Question of   By Mitch Smith Jack Healy Frances
2022-07-10   2022-07-11 land-park-shooting-parents.html             Responsibility                                 Robles and Shaila Dewan           TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/10/us/polit Why the Jan 6 Panel Hurried A White House
2022-07-10   2022-07-11 ics/cassidy-hutchinson-jan-6-testimony.html Aides Hearing                                 By Robert Draper                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/us/polit
                        ics/defense-firm-said-us-spies-backed-its-bid-                                            By Mark Mazzetti and Ronen
2022-07-10   2022-07-11 for-pegasus-spyware-maker.html                 US Spies Said to Back Bid for Hacking Firm Bergman                            TX 9-189-149   2022-09-01



                                                                                 Page 3987 of 5793
                        https://www.nytimes.com/2022/07/10/us/polit Despite His Flubs GOP Backs Walker in
2022-07-10   2022-07-11 ics/herschel-walker-georgia-republicans.html Georgia                                   By Maya King                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/us/uval A Taunting Gunman and 78 Minutes of
2022-07-10   2022-07-11 de-injured-teacher-reyes.html                Terror                                    By Edgar Sandoval               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/world/a At Least 21 Are Killed in Three Weekend
2022-07-10   2022-07-11 frica/south-africa-shooting-soweto.html      Shootings at South Africa Taverns         By Lynsey Chutel                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/world/a
2022-07-10   2022-07-11 sia/japan-election-abe.html                  Abes Party Sweeps Parliamentary Vote      By Motoko Rich                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/world/a
                        sia/sri-lanka-crisis-rajapaksa-ranil-        At Sri Lankan Presidents House Protesters By Emily Schmall and Mujib
2022-07-10   2022-07-11 wickremesinghe.html                          Make Themselves at Home                   Mashal                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/world/a Russia Redoubles Attacks in Donetsk
2022-07-10   2022-07-11 sia/ukraine-russia-civilians-donetsk.html    Province After Securing Luhansk           By Carlotta Gall                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/world/e Russia Uses Stealth Mobilization to Avoid
2022-07-10   2022-07-11 urope/russia-recruits-ukraine-war.html       Draft                                     By Neil MacFarquhar             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/world/ In First Visit as President Biden Will Find
2022-07-10   2022-07-11 middleeast/biden-israel-saudi-arabia.html    Changed Middle East Political Scene       By Patrick Kingsley             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/polit Bannon Facing Jail and Fines Agrees to     By Luke Broadwater and Maggie
2022-07-10   2022-07-11 ics/bannon-jan-6-trump.html                  Testify to Jan 6 Panel                    Haberman                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/sports/b WNBAs Fan Base Grows And Grows Ever
2022-07-11   2022-07-11 asketball/wnba-all-star-game.html            Less Patient                              By Remy Tumin                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/theater/
2022-07-11   2022-07-11 into-the-woods-review.html                   The Better To Charm You With              By Alexis Soloski               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/arts/tele
                        vision/whats-on-tv-this-week-everythings-
2022-07-11   2022-07-11 trash-and-the-rehearsal.html                 This Week on TV                           By Gabe Cohn                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/nyregio Shooting Robs Bronx Block Of Neighborhood
2022-07-11   2022-07-11 n/nyc-random-shootings-bronx.html            Patriarch                                 By Ta Kvetenadze                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/sports/b How Economic Opportunity Seeded A
2022-07-11   2022-07-11 razil-surfing.html                           Brazilian Storm of Dominance              By Anna Dimond                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/sports/t
                        ennis/wimbledon-diversity-kyrgios-           Achilles Heel of Cherished Prestige
2022-07-11   2022-07-11 jabeur.html                                  AllTooRare Moments of Diversity           By Kurt Streeter                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/us/polit Democrats Sour on Biden Citing Age and
2022-07-11   2022-07-11 ics/biden-approval-polling-2024.html         Economy                                   By Shane Goldmacher             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/07/
                        11/world/americas/amazon-murder-dom-         Inside the Amazon Journey That Left a     By Jack Nicas and Victor
2022-07-11   2022-07-11 phillips-bruno-pereira.html                  Journalist and an Activist Dead           Moriyama                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/article/jan-6-
2022-06-12   2022-07-12 hearing-watch-schedule-tv-channel.html       A Guide to the Hearings                   By Zach Montague                TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/06/20/travel/h A Herd in Exile Riding Horses on
2022-06-20   2022-07-12 orses-mozambique-bazaruto-archipelago.html Mozambiques Bazaruto Archipelago          By Claire Thomas                  TX 9-189-149   2022-09-01




                                                                              Page 3988 of 5793
                        https://www.nytimes.com/2022/06/24/health/s The Sleep Debt Collector Is Here With Your
2022-06-24   2022-07-12 leep-debt-health.html                       Bill                                         By Oliver Whang                  TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/27/science Finding Two Craters and Discovering a
2022-06-27   2022-07-12 /moon-crash-rocket.html                     Mystery                                      By Kenneth Chang                 TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/28/well/fa
2022-06-28   2022-07-12 mily/child-anger-skills.html                Kids Can Get Better At Handling Anger        By Catherine Pearson             TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/29/well/liv Faced With TikTok Health Bunk They
2022-06-29   2022-07-12 e/tiktok-misinformation.html                Debunk                                       By Rina Raphael                  TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/29/well/m
2022-06-29   2022-07-12 ove/daily-walk-exercise-fun.html            How to Spice Up Your Daily Walk              By Emily Pennington              TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/30/well/liv
2022-07-01   2022-07-12 e/surprise-medical-bills.html               When the Cure Costs Too Much                 By Melinda Wenner Moyer          TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/01/science
2022-07-01   2022-07-12 /ants-fossils-species-nebraska.html         They Uncover Fossils But They Also Bite      By Annie Roth                    TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/02/science No Sign of Martians but Webb Will Keep
2022-07-02   2022-07-12 /webb-telescope-exoplanets-atmosphere.html Looking                                       By Carl Zimmer                   TX 9-189-149     2022-09-01
                        https://www.nytimes.com/article/sunscreen-
2022-07-05   2022-07-12 makeup-spf.html                            Is Makeup Messing Up My Sunscreen             By Caira Blackwell               TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/06/science Wild Roommates A Gecko Housing Options
2022-07-06   2022-07-12 /gecko-possums-roommates.html               Limited Moves Into Pygmy Possums Place        By Anthony Ham                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/arts/mu
2022-07-07   2022-07-12 sic/ivan-dorn-russia-ukraine-war.html       A Pop Music Reconciliation Paused by War By Ivan Nechepurenko                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/busines Identifying Street Views At a Glimpse Just for
2022-07-07   2022-07-12 s/geoguessr-google-maps.html                Fun                                           By Kellen Browning                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/science No Fire Breathing Required Evolution Gone
2022-07-07   2022-07-12 /seadragons-leafy-weedy.html                Crazy What Makes Sea Dragons So Strange By Kate Golembiewski                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/science All Bottled Up Shedding Light on How Your
2022-07-07   2022-07-12 /wine-bottles-light-color.html              Glass of Wine Smells                          By Oliver Whang                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/world/a Kazuki Takahashi 60 Creator of Manga Series
2022-07-07   2022-07-12 sia/kazuki-takahashi-yu-gi-oh-dead.html     YuGiOh                                        By Ben Dooley                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/arts/mu
2022-07-08   2022-07-12 sic/grime-london-exhibition.html            How Grime Transformed British Music           By Desiree Ibekwe                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/climate
2022-07-08   2022-07-12 /species-biodiversity-united-nations.html   A Biodiversity Crisis Is Affecting Billions   By Elena Shao                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/science
2022-07-08   2022-07-12 /elgin-marbles-3d-print.html                Is There Art in a Copy                        By Franz Lidz and Francesca Jones TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/opinion
                        /environment/climate-change-supreme-court-                                                By Frederica Perera and Kari
2022-07-09   2022-07-12 epa-children-health.html                    An Awful Court Ruling for Childrens Health Nadeau                               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/science Leafy Carnivore It Hides Under the Soil With
2022-07-09   2022-07-12 /pitcher-plants-underground.html            a Huge Appetite for Meat                      By Carolyn Wilke                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/sports/b Mike Brito Scout Who Found Stars for the
2022-07-09   2022-07-12 aseball/mike-brito-dead.html                Dodgers 87                                    By Richard Sandomir               TX 9-189-149   2022-09-01



                                                                                Page 3989 of 5793
                        https://www.nytimes.com/2022/07/10/briefing
2022-07-10   2022-07-12 /mayra-flores-texas-democrats.html          Covering the GOPs Wildest Dream                By Ian Prasad Philbrick          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/us/was Ancient Sequoias Are Imperiled by Yosemite
2022-07-10   2022-07-12 hburn-fire-yosemite.html                    Wildfire                                       By Christine Chung               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/arts/des
2022-07-11   2022-07-12 ign/public-art-afterlife.html               Securing an Afterlife for Public Art Isnt Easy By Zachary Small                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/arts/mu
2022-07-11   2022-07-12 sic/bad-bunny-billboard-chart.html          Bad Bunnys Album Shines as a Durable Hit By Ben Sisario                         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/books/r
                        eview-circus-dreams-literary-london-1980s-
2022-07-11   2022-07-12 john-walsh.html                             Inside the Den Of Literary Lions               By Dwight Garner                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/busines Largest SPAC to Return 4 Billion to
2022-07-11   2022-07-12 s/bill-ackman-spac-pershing.html            Investors                                      By Lauren Hirsch                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/busines Customers Demanding Refunds From Chinese
2022-07-11   2022-07-12 s/china-bank-protest.html                   Banks Are Beaten                               By Zixu Wang and Austin Ramzy    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/busines Chinas Economy Stumbles Amid Cycle of           By Chris Buckley and Alexandra
2022-07-11   2022-07-12 s/china-economy-covid.html                  Lockdowns                                      Stevenson                        TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/11/busines                                                By Jeanna Smialek and Conor
2022-07-11   2022-07-12 s/economy/rent-inflation-interest-rates.html As Prices Rise Rental Market Is Hard to Exit Dougherty                         TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/11/busines
2022-07-11   2022-07-12 s/germany-russia-nordstream-shutdown.html Key Pipeline To Germany Shuts Down              By Melissa Eddy                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/busines A Global Deal to Tax Large Corporations Is
2022-07-11   2022-07-12 s/global-corporate-tax-deal.html           Delayed a Year                                 By Alan Rappeport                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/busines Suspect in Abe Shooting Held Grudge and
2022-07-11   2022-07-12 s/japan-suspect-unification-church.html    Scrutiny Falls on a Church                     By Ben Dooley and Hisako Ueno     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/busines Francis X Clines Literary Stylist and Writer
2022-07-11   2022-07-12 s/media/francis-x-clines-dead.html         for The Times Dies at 84                       By Robert D McFadden              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/busines Twitters Stock Takes Plunge As Musk Tries
2022-07-11   2022-07-12 s/twitter-stock-elon-musk.html             to Scuttle Deal                                By Isabella Simonetti             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/busines
2022-07-11   2022-07-12 s/ukraine-small-businesses-military.html   Ukrainians Adapt Business to War               By Erika Solomon                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/nyregio New Yorks Top Judge Says She Will Step         By Jesse McKinley and Benjamin
2022-07-11   2022-07-12 n/janet-difiore-ny-judge.html              Down at the End of August                      Weiser                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/nyregio Hochuls Transparency Vow Hits a Snag
2022-07-11   2022-07-12 n/kathy-hochul-governor.html               Hochul                                         By Jay Root                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/nyregio                                                By Chelsia Rose Marcius and Jan
2022-07-11   2022-07-12 n/rikers-officer-fired-inmate-death.html   10th Death at Rikers Prompts Officers Firing   Ransom                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/opinion
2022-07-11   2022-07-12 /biden-musk-presidency.html                And the Next President Will Be                 By Gail Collins and Bret Stephens TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/opinion
2022-07-11   2022-07-12 /cryptocurrency-federal-reserve.html       Regulators Are MIA While Crypto Crashes        By Paul Krugman                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/opinion
2022-07-11   2022-07-12 /joe-biden-too-old.html                    Biden Is Too Old to Be President Again         By Michelle Goldberg              TX 9-189-149   2022-09-01



                                                                                 Page 3990 of 5793
                        https://www.nytimes.com/2022/07/11/science
2022-07-11   2022-07-12 /kate-chemist-tv.html                      Kate the Chemists Explosive Ambitions       By Kenneth Chang                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/11/science                                           By Dennis Overbye Kenneth Chang
2022-07-11   2022-07-12 /nasa-webb-telescope-images-livestream.html An Early Glimpse Into a LongAgo Universe and Jim Tankersley              TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/11/sports/b As AllStar Starters Brothers Join a Tiny
2022-07-11   2022-07-12 aseball/willson-william-contreras.html      Fraternity                               By Benjamin Hoffman             TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/11/sports/g Champions Dinner To Exclude Winner From
2022-07-11   2022-07-12 olf/british-open-greg-norman.html           1986 and 93                              By Alan Blinder                 TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/11/sports/g Part of Record Crowd Headed to the Open
2022-07-11   2022-07-12 olf/british-open-rail-strike.html           Maybe Avoid the Train                    By Alan Blinder                 TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/11/sports/g A Hall of Famer Fears For the Old Course
2022-07-11   2022-07-12 olf/gary-player-british-open.html           And Your Health                          By Alan Blinder                 TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/11/sports/g As Tour Fight Reaches Justice Dept RampA
2022-07-11   2022-07-12 olf/pga-tour-liv-golf-doj.html              Banishes Norman                          By Bill Pennington              TX 9-189-149       2022-09-01

                        https://www.nytimes.com/2022/07/11/sports/o
2022-07-11   2022-07-12 lympics/mo-farah-illegal-trafficking-uk.html Champion Trafficked To Britain As a Child By Talya Minsberg                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/sports/s England Sends a Message This Was Not a
2022-07-11   2022-07-12 occer/england-norway-euro-2022.html          Meeting of Equals                         By Andrew Das                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/technol Musk Leaves Twitter Weakened and
2022-07-11   2022-07-12 ogy/elon-musk-twitter-damaged.html           Vulnerable                                By Kate Conger and Mike Isaac     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/theater/
2022-07-11   2022-07-12 aint-no-mo-broadway.html                     Aint No Mo Comedy Heads to Broadway       By Michael Paulson                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/theater/
2022-07-11   2022-07-12 lea-michele-funny-girl.html                  Lea Michele to Star in Funny Girl         By Julia Jacobs                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/theater/
2022-07-11   2022-07-12 paradise-square-broadway-closing.html        Paradise Square Is Closing                By Michael Paulson                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/theater/
2022-07-11   2022-07-12 richard-iii-review.html                      A Shakespearean Supervillain              By Jesse Green                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/theater/
2022-07-11   2022-07-12 white-on-white-review.html                   Needed Mental 4Wheel Drive                By Elisabeth Vincentelli          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/us/geral Gerald W McEntee a Longtime Labor Union
2022-07-11   2022-07-12 d-w-mcentee-dead.html                        Leader Is Dead at 87                      By Noam Scheiber                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/us/jami Raskin Faces Major Moment in 5Year
2022-07-11   2022-07-12 e-raskin-jan-6-hearing.html                  Crusade Against Extremism                 By Luke Broadwater                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/us/polit States That Ban Abortion Risk Losing
2022-07-11   2022-07-12 ics/abortion-ban-states-businesses.html      Business                                  By Alexander Burns                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/us/polit At Event Biden Pushes For Further Gun
2022-07-11   2022-07-12 ics/biden-gun-laws.html                      Control                                   By Jim Tankersley                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/us/polit House Democrats Set Votes For Bills on
2022-07-11   2022-07-12 ics/democrats-abortion-vote.html             Abortion Access                           By Annie Karni                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/us/polit                                            By Sheryl Gay Stolberg and Kate
2022-07-11   2022-07-12 ics/fda-contraception-pill-hra-pharma.html   FDA to Weigh OvertheCounter Birth Control Kelly                             TX 9-189-149   2022-09-01




                                                                               Page 3991 of 5793
                        https://www.nytimes.com/2022/07/11/us/polit
                        ics/justice-department-federal-prisons-     Oregon Official Is Expected To Lead Bureau
2022-07-11   2022-07-12 peters.html                                 of Prisons                                  By Glenn Thrush                  TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/11/us/polit Votes on Hold As Absences Stall Business In
2022-07-11   2022-07-12 ics/senate-absences-democrats.html          the Senate                                  By Annie Karni                   TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/11/us/polit
                        ics/the-right-to-travel-in-a-post-roe-      Concurring Justice Opens A Door to Abortion
2022-07-11   2022-07-12 world.html                                  Travel But What Happens Next                By Adam Liptak                   TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/11/us/texa As Texas Broils Regulator Urges Cuts in
2022-07-11   2022-07-12 s-electricity-rolling-blackouts.html        Electricity Use                             By Andrs R Martnez and Ivan Penn TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/11/us/uval Families of Uvalde Shooting Victims Rally
2022-07-11   2022-07-12 de-shooting-parents-march.html              for More Accountability                     By Edgar Sandoval                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/11/world/a
2022-07-11   2022-07-12 mericas/cuba-economy-protests.html          Cuban Dissidents Face Exile or Imprisonment By Oscar Lopez                   TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/11/world/a Where Air Is Protected and Vaccines Are a    By Muktita Suhartono and Ulet
2022-07-11   2022-07-12 sia/indonesia-java-buduy-sunda-wiwitan.html Violation                                   Ifansasti                        TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/11/world/a Low on Food and Fuel Sri Lanka Nervously
2022-07-11   2022-07-12 sia/sri-lanka-crisis-gotabaya-rajapaksa.html Awaits Its Next Leader                     By Emily Schmall                 TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/11/world/e After String of Student Deaths Cambridge
2022-07-11   2022-07-12 urope/cambridge-student-deaths.html          Opens an Inquiry                           By Cora Engelbrecht              TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/11/world/e
                        urope/putin-russian-citizenship-
2022-07-11   2022-07-12 ukrainians.html                              Russia Speeds Citizenship For Ukrainians   By Ivan Nechepurenko             TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/11/world/e
                        urope/uk-conservative-prime-minister-sunak- UKs Prime Minister Race Offers Candidates   By Mark Landler and Stephen
2022-07-11   2022-07-12 johnson.html                                 Diverse In Background Not Policy           Castle                           TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/11/world/e As It Regroups Russia Pummels Ukrainian        By Carlotta Gall Kamila Hrabchuk
2022-07-11   2022-07-12 urope/ukraine-civilian-casualties.html       Cities                                       and Matthew Mpoke Bigg           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/world/e A Medics 3 Months in a Russian Cell Cold
2022-07-11   2022-07-12 urope/ukraine-medic-russia-captive.html      Dirty and Used as a Prop                     By Valerie Hopkins               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/polit
                        ics/jan-6-trump-cassidy-hutchinson-          Aides Testimony Jolts Justice Dept to Openly
2022-07-11   2022-07-12 justice.html                                 Discuss Trump                                By Katie Benner and Glenn Thrush TX 9-189-149   2022-09-01
                        https://www.nytimes.com/article/musk-twitter-How a Twitter Case Will Probably Land In a
2022-07-11   2022-07-12 delaware-court-chancery.html                 Chancery Court                               By Kalley Huang                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/us/polit White House Considers Boosters for People
2022-07-12   2022-07-12 ics/second-covid-booster.html                Under 50                                     By Sharon LaFraniere             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/polit
2022-07-12   2022-07-12 ics/trump-approval-polling-2024.html         GOP Voters Of Two Minds Toward Trump By Michael C Bender                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/sports/s Impossible No Longer Ironman Records Fall
2022-06-28   2022-07-13 ub-7-and-sub-8-hour-triathlons.html          In Tweaked Conditions                        By Steve Brenner                 TX 9-189-149   2022-09-01




                                                                                Page 3992 of 5793
                        https://www.nytimes.com/2022/07/07/arts/mu Michael Feinstein Moves His Cabaret to Caf
2022-07-07   2022-07-13 sic/michael-feinstein-cafe-carlyle.html    Carlyle                                    By Elysa Gardner                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/dining/
2022-07-07   2022-07-13 drinks/living-wine-documentary.html        A Film That Transcends the Clichs          By Eric Asimov                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/books/s Susie Steiner Crime Novelist With an
2022-07-08   2022-07-13 usie-steiner-dead.html                     Incredible Instinct for People Dies at 51  By Alex Williams                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/dining/
2022-07-08   2022-07-13 athletic-greens.html                       Broccoli Pretending To Be a Milkshake      By Becky Hughes                   TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/08/dining/
2022-07-08   2022-07-13 sheet-pan-chicken-recipe-sour-cherries.html Sweet and Savory And Set to Devour            By Melissa Clark              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/dining/t
2022-07-08   2022-07-13 he-bear-fx-hulu.html                         A Meaty Drama Set In a Chaotic Cave          By Julia Moskin               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/07/                                              By Shaila Dewan Mitch Smith
2022-07-08   2022-07-13 07/us/mass-shootings-us.html                 A Month of Shootings One on Top of Another Gray Beltran and Troy Closson   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/sports/f Hank Goldberg 82 an Expert on Sports and
2022-07-09   2022-07-13 ootball/hank-goldberg-dead.html              Their Spreads                                By Richard Sandomir           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/sports/j Eating Candy Collecting Seashells and
2022-07-09   2022-07-13 ake-paul-youtube-boxing.html                 Training to Fight His First Pro Boxer        By Kris Rhim                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/dining/
2022-07-11   2022-07-13 business-lunch-restaurants.html              Is This the End Of the Power Lunch           By Brett Anderson             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/dining/
                        children-storytime-the-museum-of-food-and- To Teach Museum of Food and Drink Plans
2022-07-11   2022-07-13 drink.html                                   Brooklyn Storytime                           By Florence Fabricant         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/dining/f
2022-07-11   2022-07-13 ried-okra.html                               Fried Okra Beyond the Batter                 By Kayla Stewart              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/dining/ To Protect Kwame Onwuachi Teams With
2022-07-11   2022-07-13 kwame-onwuachi-tilit-apron.html              Tilit on an Apron                            By Florence Fabricant         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/dining/ To Enrich Preserved Citrus Peels From a
2022-07-11   2022-07-13 preserved-citrus-caffe-sicilia.html          Sicilian Institution                         By Florence Fabricant         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/dining/t To Select Fancy Food Boutique Opens in the
2022-07-11   2022-07-13 he-hamptons-lepicuriste.html                 Hamptons                                     By Florence Fabricant         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/dining/ To Sample Taste Dozens of Wines To Aid
2022-07-11   2022-07-13 wine-event-sommelier-scholarships.html       Young Sommeliers                             By Florence Fabricant         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/dining/
2022-07-11   2022-07-13 yuki-matsuo-the-whitney.html                 The Whitney Is Soft On Hot Dogs              By Florence Fabricant         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/opinion If Abortion Is Outlawed Americans Will
2022-07-11   2022-07-13 /republicans-abortion-prohibition.html       Rebel                                        By Michael Kazin              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/opinion A Reckless Dynasty Brought Calamity to Sri
2022-07-11   2022-07-13 /sri-lanka-gotabaya-rajapaksa.html           Lanka                                        By Kapil Komireddi            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/arts/mu
                        sic/aix-festival-il-viaggio-dante-woman-at-
2022-07-12   2022-07-13 point-zero.html                              A Pair of Premieres With Bitterness to Spare By Zachary Woolfe             TX 9-189-149   2022-09-01




                                                                                Page 3993 of 5793
                        https://www.nytimes.com/2022/07/12/arts/mu Back for Fresh Battles After More Than a
2022-07-12   2022-07-13 sic/rage-against-the-machine-live-review.html Decade                                    By Jon Caramanica            TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/12/arts/tele
                        vision/emmy-nominations-snubs-                Tallying the Unexpected Additions and
2022-07-12   2022-07-13 surprises.html                                Subtractions                              By Mike Hale                 TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/12/arts/tele
2022-07-12   2022-07-13 vision/emmy-nominees-list-2022.html           Emmy Award Nominees                       By Rachel Sherman            TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/12/books/a Library of Congress Appoints Ada Limn as
2022-07-12   2022-07-13 da-limon-poet-laureate.html                   Poet Laureate                             By Elizabeth A Harris        TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/12/books/r
2022-07-12   2022-07-13 eview-carnality-lina-wolff.html               A Wild Ride Upending Lifes Tedium         By Molly Young               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/12/busines
2022-07-12   2022-07-13 s/electric-vehicle-batteries.html             Building a Better Battery                 By Jack Ewing                TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/12/busines Oil Prices Fall on Bleak Economic Outlook in
2022-07-12   2022-07-13 s/energy-environment/crude-oil-prices.html China                                        By Clifford Krauss           TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/12/busines Heathrow Requests End to Ticket Sales For
2022-07-12   2022-07-13 s/heathrow-airport-delays.html             Summer Flights                               By Jenny Gross               TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/12/busines Founder and CEO of Medium the Digital
2022-07-12   2022-07-13 s/media/evan-williams-leaving-medium.html Publishing Site Is Stepping Down              By Benjamin Mullin            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/busines
2022-07-12   2022-07-13 s/warehouse-technology-robotics.html        Rethinking the Warehouse as Robots Move In By Patrick Sisson              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/climate Manchin Opposes EV Incentives Much Like By Coral Davenport Lisa Friedman
2022-07-12   2022-07-13 /electric-vehicle-tax-credits-manchin.html  His Major Backers                           and Hiroko Tabuchi            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/dining/
2022-07-12   2022-07-13 eyval-restaurant-review-pete-wells.html     Persian Style by Way of Irans Streets       By Pete Wells                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/dining/i
2022-07-12   2022-07-13 ce-cream-nyc.html                           Summertime Scoops and More in the City      By Nikita Richardson          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/dining/ Bosco Serving Cocktails and Latin American
2022-07-12   2022-07-13 nyc-restaurant-news.html                    Fare Opens in Greenwich Village             By Florence Fabricant         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/nyregio New York City Files a Suit Against an Airbnb
2022-07-12   2022-07-13 n/airbnb-lawsuit-short-term-rental.html     Operator                                    By Mihir Zaveri               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/nyregio We Have to Keep Moving New Yorkers           By Sharon Otterman and Joseph
2022-07-12   2022-07-13 n/ba5-variant-omicron-covid-nyc.html        Shrug It Off As Sixth Wave Sweeps City      Goldstein                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/nyregio Shift by Saudis Leaves Some New Yorkers
2022-07-12   2022-07-13 n/hajj-muslim-travel-agencies.html          Unable to Fulfill a Holy Duty               By Liam Stack                 TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/12/nyregio Boy 7 and Woman Die After Chartered Boat By Kimiko de FreytasTamura and
2022-07-12   2022-07-13 n/hudson-river-boat-capsize-rescue.html    Capsizes in Hudson River Near Midtown    Matthew Sedacca                  TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/12/nyregio What Has 6 Legs 2 Eyes and Over 158000
2022-07-12   2022-07-13 n/new-york-i-voted-sticker-ulster-county.html Votes An I Voted Sticker                  By Hurubie Meko              TX 9-189-149    2022-09-01




                                                                                Page 3994 of 5793
                        https://www.nytimes.com/2022/07/12/nyregio Man Sought Over Attacks On Homeless In        By Andy Newman and Hurubie
2022-07-12   2022-07-13 n/nyc-homeless-stabbing.html               Manhattan                                     Meko                         TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/12/nyregio Rikers Detainee Is Said to Have Lain Dead for
2022-07-12   2022-07-13 n/rikers-jail-man-dead.html                Hours in Cell Before Being Found              By Jan Ransom                TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/12/opinion
2022-07-12   2022-07-13 /nasa-james-webb-space-telescope-awe.html Gawking in Awe at the Universe              By Shannon Stirone              TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/12/opinion
2022-07-12   2022-07-13 /uk-prime-minister-tom-tugendhat.html      The Prime Minister Britain Needs Now       By Bret Stephens                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/12/opinion
2022-07-12   2022-07-13 /ukraine-russia-putin.html                 A Dangerous New Phase for Ukraine          By Thomas L Friedman            TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/12/science
2022-07-12   2022-07-13 /carina-nebula-james-webb-telescope.html   Carina Nebula                              By Dennis Overbye               TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/12/science A Stunning New Peek Into the Ancient       By Dennis Overbye Kenneth Chang
2022-07-12   2022-07-13 /james-webb-telescope-images-nasa.html     Cosmos                                     and Joshua Sokol                TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/12/science
2022-07-12   2022-07-13 /wasp-96b-exoplanet-webb-telescope.html     Exoplanet WASP96b                          By Joshua Sokol                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/sports/c With Toughest Mountain Stages Ahead
2022-07-12   2022-07-13 ycling/tour-de-france-tadej-pogacar.html    Pogacar Looks to Put Lock on Race          By Victor Mather                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/sports/g
2022-07-12   2022-07-13 olf/tiger-woods-liv-british-open.html       Woods Voices Disgust For Saudi LIV League By Alan Blinder                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/sports/s
2022-07-12   2022-07-13 occer/euro-2022-germany-spain.html          Germany Turns Spains Mistakes Into a Win By Andrew Das                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/technol
2022-07-12   2022-07-13 ogy/apple-jony-ive-end-agreement.html       Apple Breaks With ExChief Of Design Unit By Tripp Mickle                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/technol Twitter Suit Would Force Musk to Stay With
2022-07-12   2022-07-13 ogy/twitter-lawsuit-musk-acquisition.html   Deal                                       By Kate Conger and Lauren Hirsch TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/theater/
2022-07-12   2022-07-13 notre-dame-de-paris-musical.html            Global Hit Finally Lands in New York       By Elisabeth Vincentelli         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/theater/
                        twelfth-night-review-classical-theater-of-
2022-07-12   2022-07-13 harlem.html                                 A Shimmering Delight Under a Summer Sky By Laura CollinsHughes              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/alex- Legal Scion Is Expected To Be Held for
2022-07-12   2022-07-13 murdaugh-murder-charges.html                Murders Of His Wife and a Son              By Nicholas BogelBurroughs       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/bees Caves Reveal Lost Galleon That Teased
2022-07-12   2022-07-13 wax-shipwreck-oregon.html                   Beachcombers                               By McKenna Oxenden               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/jan- Trump Intended To Send His Mob To Disrupt By Luke Broadwater and Alan
2022-07-12   2022-07-13 6-panel-trump.html                          Count                                      Feuer                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/louis Louisiana Judge Blocks Ban On Abortion for
2022-07-12   2022-07-13 iana-abortion-legal-trigger-ban.html        Second Time                                By Kate Zernike                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/polit As BA5 Subvariant Spreads White House
2022-07-12   2022-07-13 ics/ba5-omicron-variant-white-house.html    Stresses Covid Is Not Over                 By Sheryl Gay Stolberg           TX 9-189-149   2022-09-01




                                                                               Page 3995 of 5793
                        https://www.nytimes.com/2022/07/12/us/polit Biden Hosts Mexican President Aiming to
2022-07-12   2022-07-13 ics/biden-lopez-obrador.html                Shore Up a Crucial Relationship             By Zolan KannoYoungs               TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/12/us/polit                                             By Maggie Haberman Patricia
2022-07-12   2022-07-13 ics/desantis-florida-abortion.html          For DeSantis Rare Silence On Abortion       Mazzei and Michael C Bender        TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/12/us/polit Black Church Leaders Push Voting Rights in
2022-07-12   2022-07-13 ics/georgia-black-churches-voting-rights.html Georgia                                      By Nick Corasaniti                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/polit
2022-07-12   2022-07-13 ics/isis-drone-strike-syria.html              US Says Drone Strike Killed a Leader of ISIS By Eric Schmitt                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/polit By Close Vote Senate Confirms Presidents
2022-07-12   2022-07-13 ics/steven-dettelbach-atf-guns.html           Nominee to Lead ATF Bureau                   By Glenn Thrush                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/polit
2022-07-12   2022-07-13 ics/syria-refugees-russia-un.html             Russia Limits UN Aid Flow to Syria           By Lara Jakes                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/polit US Struggles to Balance Ukraine Arms           By Eric Schmitt and Julian E
2022-07-12   2022-07-13 ics/ukraine-us-weapons.html                   Requests                                     Barnes                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/preg To Use the Car Pool Lane Does a Fetus Also
2022-07-12   2022-07-13 nant-woman-hov-lane-roe-wade.html             Count                                        By Luke Vander Ploeg              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/world/a Ill but Defiant Hong Kong Activist Is
2022-07-12   2022-07-13 sia/hong-kong-activist-jailed.html            Sentenced                                    By Austin Ramzy                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/world/e Growing Drought Imperils Northern Italys
2022-07-12   2022-07-13 urope/italy-drought-farmers.html              Rice Harvest                                 By Elisabetta Povoledo            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/world/e
                        urope/mo-farah-documentary-uk-                British Olympians Story Of Childhood         By Mark Landler and Abdi Latif
2022-07-12   2022-07-13 immigration.html                              Servitude Isnt Likely to Alter Policy        Dahir                             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/world/e Putins Oil War Comes at the Expense of His By Anatoly Kurmanaev and Farnaz
2022-07-12   2022-07-13 urope/russia-oil-iran-venezuela-gas.html      Allies Venezuela and Iran                    Fassihi                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/world/e Putin Looking for Allies Plans to Meet With
2022-07-12   2022-07-13 urope/russia-putin-iran-erdogan.html          Leaders of Iran and Turkey                   By Anton Troianovski              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/world/i In Many Ways the World Is Getting Better It
2022-07-12   2022-07-13 nterpreter-world-falling-apart.html           Also Feels Broken                            By Max Fisher                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/your-
                        money/health-insurance/abortion-health-
2022-07-12   2022-07-13 insurance-coverage.html                       Health Plans Get Difficult On Abortion       By Tara Siegel Bernard            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/polit Participants in Trump Meeting Describe
2022-07-13   2022-07-13 ics/jan-6-trump-meeting-screaming.html        Screaming and Insults From Rival Factions By Maggie Haberman                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/insider/
2022-07-13   2022-07-13 pete-wells-critic.html                        Pete Wellss Search for the Perfect Bite      By Emmett Lindner                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/upshot/
2022-07-13   2022-07-13 poll-2022-midterms-congress.html              Midterm Race Appears Tight Polling Shows By Nate Cohn                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/us/polit Trip to Mideast Poses Political Risks for
2022-07-13   2022-07-13 ics/biden-mbs-saudi-arabia.html               Biden Abroad and at Home                     By David E Sanger and Peter Baker TX 9-189-149   2022-09-01
                        https://www.nytimes.com/live/2022/07/12/wo
                        rld/sri-lanka-president-news/sri-lanka-                                                    By Skandha Gunasekara and Mujib
2022-07-13   2022-07-13 president-resigns                             President Flees Sri Lanka Amid Tumult        Mashal                            TX 9-189-149   2022-09-01




                                                                                 Page 3996 of 5793
                        https://www.nytimes.com/2022/06/21/busines Natural Gas Power With Low Emissions A
2022-06-21   2022-07-14 s/net-power-natural-gas-emissions.html       Tech Firm Says Yes                          By John Schwartz                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/travel/tr
2022-07-08   2022-07-14 avel-tips-flight-attendant.html              Avoid Airline Chaos Using These Tips        By Kristie Koerbel                TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/11/dining/ Google Ratings Wielded In Restaurant
2022-07-11   2022-07-14 google-one-star-review-scam-restaurants.html Extortion                                  By Christina Morales             TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/11/opinion
2022-07-11   2022-07-14 /male-contraception.html                      The Case for Male Birth Control           By Stephanie Page and John Amory TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/11/opinion
                        /tennessee-schools-transgender-bathroom-      When a Bathroom Bill Puts Your Child at
2022-07-11   2022-07-14 laws.html                                     Risk                                      By Margaret Renkl                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/12/arts/spi Spider Webb Who Fought City Hall With Ink
2022-07-12   2022-07-14 der-webb-dead.html                            and a Needle Is Dead at 78                By Neil Genzlinger               TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/12/arts/tele Adam Wade 87 Singer Who Cracked the Top
2022-07-12   2022-07-14 vision/adam-wade-dead.html                    10 Then Broke a TV Barrier                By Sam Roberts                   TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/12/arts/tele
                        vision/martin-short-steve-martin-only-murders
2022-07-12   2022-07-14 in-the-building.html                          A Little Friendly Competition for an Emmy By Dave Itzkoff                  TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/12/movies/
2022-07-12   2022-07-14 persuasion-netflix-jane-austen.html           A Director Faces Austen Backlash          By Alexis Soloski                TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/12/nyregio 3 Charged in Plot to Sell Stolen Notes on
2022-07-12   2022-07-14 n/eagles-charges-hotel-california-lyrics.html Eagles Songs                               By Ali Watkins                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/opinion
2022-07-12   2022-07-14 /herschel-walker-republicans.html             The GOPs Double Standard                   By John McWhorter                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/theater/
2022-07-12   2022-07-14 mister-miss-america-review.html               Hes Hankerin to Be a Beauty Queen          By Naveen Kumar                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/envi
2022-07-12   2022-07-14 go-beagles-breeder-adoption.html              Wanted Loving Homes for 4000 Beagles       By Jesus Jimnez and April Rubin   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/world/a Manuscripts Smuggled Out of Timbuktu
2022-07-12   2022-07-14 frica/timbuktu-mali-manuscripts.html          Open Windows on the Past                   By Ruth Maclean                   TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/12/nyregio
2022-07-13   2022-07-14 n/hate-crime-charges-racism-hornell-ny.html 3 Are Charged Over HateFilled Leaflets         By Ed Shanahan                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/giant Firefighters Are Using Sprinklers to Protect A
2022-07-13   2022-07-14 sequoia-yosemite-washburn-fire.html         Treasured Giant Sequoia in Yosemite            By Livia AlbeckRipka            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/world/a Fake League Swindled Gamblers in an
2022-07-13   2022-07-14 sia/fake-indian-cricket-league-russia.html  Elaborate Hoax                                 By Sameer Yasir                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/arts/des Ancestral Strings That Link The Muppets and
2022-07-13   2022-07-14 ign/frank-oz-father-puppet.html             a Hitler Puppet                                By Adam Nagourney               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/arts/mu
2022-07-13   2022-07-14 sic/wadada-leo-smith-string-quartets.html   Sounding The Trumpet And More                  By Seth Colter Walls            TX 9-189-149   2022-09-01




                                                                                 Page 3997 of 5793
                        https://www.nytimes.com/2022/07/13/arts/tele
                        vision/phoebe-robinson-everythings-
2022-07-13   2022-07-14 trash.html                                   Talking Trash of All Persuasions            By Alexis Soloski               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/books/r
                        eview-divine-language-learning-math-alec-
2022-07-13   2022-07-14 wilkinson.html                               Taking a Second Stab at High School Math    By Jennifer Szalai              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/busines Airlines Challenge Now Is Their Costs Not
2022-07-13   2022-07-14 s/delta-air-lines-earnings.html              Demand                                      By Niraj Chokshi                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/busines Delta Flight From London to Detroit Carried
2022-07-13   2022-07-14 s/delta-luggage-heathrow.html                Just Luggage                                By Lora Kelley                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/13/busines Soaring Inflation Tightens Squeeze on US
2022-07-13   2022-07-14 s/economy/inflation-june-interest-rates.html Consumers                                 By Jeanna Smialek                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/busines
                        s/energy-environment/gas-prices-
2022-07-13   2022-07-14 inflation.html                               Ray of Hope as Price of Gas Tumbles       By Clifford Krauss                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/busines
2022-07-13   2022-07-14 s/euro-dollar-parity.html                    One Dollar One Euro                       By Eshe Nelson                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/busines Gates Foundation Adds 20 Billion to
2022-07-13   2022-07-14 s/gates-foundation-giving.html               Endowment                                 By Nicholas Kulish                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/climate
                        /congo-river-basin-deforestation-            Depleting Rainforest Branch by Branch for By Dionne Searcey and Ashley
2022-07-13   2022-07-14 charcoal.html                                Fuel                                      Gilbertson                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/health/a Administration Tells Pharmacists Not to
2022-07-13   2022-07-14 bortion-pills-pharmacies.html                Withhold Abortion Pills                   By Sheryl Gay Stolberg            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/health/c Deaths Linked To Superbugs Surge Fueled By
2022-07-13   2022-07-14 dc-drug-resistant-infections.html            Covid Chaos                               By Andrew Jacobs                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/health/ New Clues May Shed Light On Hepatitis in
2022-07-13   2022-07-14 hepatitis-adenovirus-children.html           Children                                  By Emily Anthes                   TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/13/health/ Covid Shots by Novavax Are Authorized by By Rebecca Robbins and Carl
2022-07-13   2022-07-14 novavax-covid-vaccine-fda-authorization.html FDA                                         Zimmer                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/movies/
2022-07-13   2022-07-14 thor-love-and-thunder-costumes.html          The Clothes Do Make The Gods                By Kyle Buchanan                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/nyregio
                        n/cia-engineer-joshua-schulte-theft-         ExCIA Engineer Is Guilty In Theft of Agency
2022-07-13   2022-07-14 convicted.html                               Secrets                                     By Ed Shanahan                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/nyregio Rescuer Heard Screams in Deadly Hudson        By Hurubie Meko Ta Kvetenadze
2022-07-13   2022-07-14 n/hudson-river-boat-drowning.html            Capsizing                                   and Karen Zraick                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/nyregio New Yorks City Workers Are Quitting in        By Dana Rubinstein and Emma G
2022-07-13   2022-07-14 n/labor-shortage-nyc-jobs.html               Droves                                      Fitzsimmons                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/nyregio                                               By Andy Newman and Chelsia
2022-07-13   2022-07-14 n/nyc-homeless-stabbings-arrest.html         NYPD Makes Arrest In Attacks on Homeless Rose Marcius                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/nyregio Funding for Penn Stations Overhaul Could
2022-07-13   2022-07-14 n/penn-station-renovation-funding.html       Fall 3 Billion Short Report Says            By Patrick McGeehan             TX 9-189-149   2022-09-01



                                                                                Page 3998 of 5793
                        https://www.nytimes.com/2022/07/13/opinion
2022-07-13   2022-07-14 /biden-mbs-saudi-visit.html                 Bidens Trip Can Reset USSaudi Relations      By Yasmine Farouk       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/opinion
2022-07-13   2022-07-14 /francis-clines.html                        Reflecting on a Times Luminary               By Kathleen Kingsbury   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/sports/c
                        ycling/vingegaard-tour-de-france-           TwistFilled Mountain Stage Shuffles Top of
2022-07-13   2022-07-14 pogacar.html                                the Standings                                By Victor Mather        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/sports/f
                        ootball/nfl-players-pay-a-small-price-when-
2022-07-13   2022-07-14 accused-of-violence-against-women.html      Crime and Lack of Punishment                 By Jenny Vrentas        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/sports/g
2022-07-13   2022-07-14 olf/british-open-courses.html               Classics that no longer make the cut         By Paul Sullivan        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/sports/g
2022-07-13   2022-07-14 olf/british-open-john-cook.html             A near miss at the Open                      By Michael Arkush       TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/13/sports/g In Time of Turmoil A Soothing Stroll On
2022-07-13   2022-07-14 olf/british-open-old-course-st-andrews.html Sacred Ground                                By Christopher Clarey   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/sports/g
2022-07-13   2022-07-14 olf/british-open-road-hole.html             Between a road and a hard place              By Michael Arkush       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/sports/g RampAs Contempt for the New LIV Tour
2022-07-13   2022-07-14 olf/liv-british-open-entry.html             May Lead to Tougher Entry Rules              By Alan Blinder         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/style/ba
                        lenciaga-couture-shopping-let-them-have-
2022-07-13   2022-07-14 couture.html                                Putting a Door on the World of Haute Couture By Jessica Testa        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/style/te
2022-07-13   2022-07-14 nnis-style-wimbledon.html                   Net Effect of Tennis Whites                  By Guy Trebay           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/style/th
2022-07-13   2022-07-14 rowing-fits-podcast.html                    The Fit Check Is Only the Beginning          By John Ortved          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/style/vi
2022-07-13   2022-07-14 ctorias-secret-rebrand.html                 Wingless but Free to Fly                     By Vanessa Friedman     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/us/beth Black Educator Is Honored With Statue at
2022-07-13   2022-07-14 une-statue-confederate-capitol.html         Capitol                                      By April Rubin          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/us/jayla Hurting Ohio City Mourns Black Man Killed
2022-07-13   2022-07-14 nd-walker-akron-police-shooting.html        by Police                                    By Daniel McGraw        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/us/lega Top Colleges Cling to Favoring Alumnis
2022-07-13   2022-07-14 cy-admissions-colleges-universities.html    Children                                     By Stephanie Saul       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/us/ohio- Ohio Man Held in Rape of Girl Who Was
2022-07-13   2022-07-14 arrest-rape-abortion.html                   Focus of Abortion Debate                     By Ava Sasani           TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/13/us/polit Losing Faith in Government Many Americans
2022-07-13   2022-07-14 ics/government-trust-voting-poll.html       Say Its Time to Change the System           By Reid J Epstein        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/us/polit
                        ics/jan-6-committee-evidence-justice-       Jan 6 Panel Will Turn Over Evidence on Fake
2022-07-13   2022-07-14 department.html                             Electors to the Justice Dept                By Luke Broadwater       TX 9-189-149   2022-09-01




                                                                                Page 3999 of 5793
                        https://www.nytimes.com/2022/07/13/us/polit A Trump Backers Downfall as the Target of a
2022-07-13   2022-07-14 ics/jan-6-conspiracy-theory-ray-epps.html    Jan 6 Conspiracy Theory                    By Alan Feuer                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/us/univ New Leader Announced At University Of
2022-07-13   2022-07-14 ersity-of-michigan-president.html            Michigan                                   By Stephanie Saul                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/us/uval Release of Video Rekindles Outrage Over      By Edgar Sandoval and J David
2022-07-13   2022-07-14 de-police-video.html                         Long Wait by Police in Uvalde              Goodman                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/world/a
                        frica/south-africa-tavern-teenagers-         South Africans Charge 3 In Teens Deaths at
2022-07-13   2022-07-14 deaths.html                                  Tavern                                     By Lynsey Chutel                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/world/a Ukraine Split Exposes a Widening Chasm in
2022-07-13   2022-07-14 sia/china-united-states-russia-ukraine.html  USChina Relations                          By Jane Perlez                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/world/a Chaos Engulfs Sri Lanka as President Flees By Emily Schmall Skandha
2022-07-13   2022-07-14 sia/sri-lanka-president-flees.html           but Does Not Resign                        Gunasekara and Mujib Mashal       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/world/e Chaos at UEFA Final Caused by Planning
2022-07-13   2022-07-14 urope/france-champions-league-final.html     Not Fans Report Says                       By Aurelien Breeden               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/world/e For the First Time the Pope Names Women to
2022-07-13   2022-07-14 urope/pope-vatican-women-bishops.html        the Office to Help Select Bishops          By Gaia Pianigiani                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/world/e
                        urope/rishi-sunak-boris-johnson-prime-
2022-07-13   2022-07-14 minister-uk.html                             ExUK Finance Chief Leads Early Party Vote By Mark Landler                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/world/e
                        urope/ukraine-germany-ambassador-            Envoys Remarks Renew Scrutiny of Dark
2022-07-13   2022-07-14 melnyk.html                                  History                                    By Erika Solomon                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/world/e Negotiating Furiously to Free the Flow of    By Matina StevisGridneff and
2022-07-13   2022-07-14 urope/ukraine-grain-negotiations.html        Ukraines Grain                             Michael Schwirtz                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/world/ Biden Battered Back Home Receives a Warm By Peter Baker Patrick Kingsley
2022-07-13   2022-07-14 middleeast/biden-israel-mideast-visit.html   Embrace in Israel                          and Isabel Kershner               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/world/
                        middleeast/israel-arab-allies-drones-        Israel Destroys Iranian Drones As Arabs    By Ronen Bergman and Patrick
2022-07-13   2022-07-14 biden.html                                   Assist                                     Kingsley                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/us/polit
2022-07-14   2022-07-14 ics/burn-pits-veterans-care.html             House Backs Veterans Burn Pit Coverage     By Stephanie Lai and John Ismay   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/insider/
2022-07-14   2022-07-14 covering-boris-johnson.html                  A Prime Minister and a Pinch of Salt       By Emmett Lindner                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/style/fr A New Brand Opens the Doors to a French
2022-07-14   2022-07-14 ench-girl-beauty-products.html               Pharmacy                                   By Marisa Meltzer                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/style/lo
2022-07-14   2022-07-14 ve-and-carriage.html                         All the Pretty Horses and Their Owners     By Daphne Merkin                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/movies/
2022-07-08   2022-07-15 science-fiction-movies-streaming.html        Balancing SciFi Horror and Comedy          By Elisabeth Vincentelli          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/travel/l In Summers Flying Meltdown Add Lost
2022-07-09   2022-07-15 ost-luggage-help-airlines.html               Luggage to Headaches                       By Julie Weed                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/arts/tele
                        vision/jennifer-coolidge-emmy-the-white-     A Very Cool Role That an Actress Nearly
2022-07-12   2022-07-15 lotus.html                                   Rejected                                   By Reggie Ugwu                    TX 9-189-149   2022-09-01



                                                                                Page 4000 of 5793
                        https://www.nytimes.com/2022/07/13/arts/dan
2022-07-13   2022-07-15 ce/dance-nyc-census.html                      A New Census Seeks Dance Worker Data         By Rachel Sherman              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/arts/des
                        ign/national-gallery-washington-robert-adams-
2022-07-13   2022-07-15 photography.html                              Finding a Kind of Poetry in the Bleakness    By Arthur Lubow                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/arts/des
                        ign/painting-nahmad-contemporary-computer-
2022-07-13   2022-07-15 digital.html                                  When Tradition Meets Technology              By Travis Diehl                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/movies/
2022-07-13   2022-07-15 my-name-is-sara-review.html                   My Name Is Sara                              By Ben Kenigsberg              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/movies/
2022-07-13   2022-07-15 the-killer-review.html                        The Killer                                   By Robert Daniels              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/movies/
2022-07-13   2022-07-15 where-the-crawdads-sing-review.html           A Feral Heroine Trapped in a Southern Idyll By AO Scott                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/opinion What It Means to Raise an American Girl
2022-07-13   2022-07-15 /american-girl.html                           Now                                          By Jessica Grose               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/technol
                        ogy/personaltech/abortion-privacy-roe-        After Roe Digital Privacy Looks Worse Than By Natasha Singer and Brian X
2022-07-13   2022-07-15 surveillance.html                             Ever                                         Chen                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/arts/des
                        ign/barbara-kruger-artist-moma-zwirner-
2022-07-14   2022-07-15 feminist.html                                 She Has A Way With Words                     By Roberta Smith               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/arts/mu
2022-07-14   2022-07-15 sic/black-midi-hellfire-review.html           Bristling at a Bleak World                   By Jon Pareles                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/arts/tele
                        vision/review-the-rehearsal-nathan-           Imagine That You Could ReverseEngineer
2022-07-14   2022-07-15 fielder.html                                  Your Life                                    By James Poniewozik            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/arts/tele
                        vision/shrink-edge-of-the-earth-
2022-07-14   2022-07-15 streaming.html                                This Weekend I Have                          By Margaret Lyons              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/busines
2022-07-14   2022-07-15 s/amazon-europe-antitrust.html                Amazon Bids to End EU Antitrust Case         By Adam Satariano              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/busines                                                 By Amy Qin John Liu and Amy
2022-07-14   2022-07-15 s/china-data-privacy.html                     Chinese Push Back Against Surveillance State Chang Chien                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/busines Fed Governor Signals Rates May Increase By
2022-07-14   2022-07-15 s/federal-reserve-rate-increase.html          a Full Point                                 By Jeanna Smialek              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/busines                                                 By Emily Flitter and Stephen
2022-07-14   2022-07-15 s/jpmorgan-earnings-economy.html              Two Big Banks Report Smaller Profits         Gandel                         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/busines
2022-07-14   2022-07-15 s/media/10-year-old-girl-ohio-rape.html       In Rape Case Politics Raced Ahead of News By Katie Robertson                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/busines
2022-07-14   2022-07-15 s/stocks-economy-earnings-banks.html          Bank Earnings Add to Economic Concerns       By Isabella Simonetti          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/busines
2022-07-14   2022-07-15 s/watchdog-absolves-fed-officials.html        Watchdog Clears Trades by Fed Officials      By Jeanna Smialek              TX 9-189-149   2022-09-01




                                                                                Page 4001 of 5793
                        https://www.nytimes.com/2022/07/14/busines
2022-07-14   2022-07-15 s/yellen-russia-oil-cap.html               Yellen Tempts Russia With Oil Price Cap    By Patricia Cohen        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/movies/
2022-07-14   2022-07-15 anonymous-club-review.html                 Anonymous Club                             By Glenn Kenny           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/movies/
2022-07-14   2022-07-15 costa-brava-lebanon-review.html            Costa Brava Lebanon                        By Austin Considine      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/movies/
2022-07-14   2022-07-15 dont-make-me-go-review.html                Dont Make Me Go                            By Amy Nicholson         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/movies/
2022-07-14   2022-07-15 earwig-review.html                         Earwig                                     By Beatrice Loayza       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/movies/
                        from-where-they-stood-review-
2022-07-14   2022-07-15 auschwitz.html                             From Where They Stood                      By Nicolas Rapold        TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/14/movies/
2022-07-14   2022-07-15 gabby-giffords-wont-back-down-review.html Gabby Giffords Wont Back Down                By Natalia Winkelman    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/movies/
2022-07-14   2022-07-15 marx-can-wait-review.html                  Drawn to the Black Hole of a Brothers Death By AO Scott             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/movies/
2022-07-14   2022-07-15 mrs-harris-goes-to-paris-review.html       Mrs Harris Goes to Paris                    By Beatrice Loayza      TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/14/movies/
2022-07-14   2022-07-15 paws-of-fury-the-legend-of-hank-review.html Paws of Fury The Legend of Hank           By Claire Shaffer        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/movies/
2022-07-14   2022-07-15 persuasion-jane-austen-netflix-review.html  Austen Not Quite Modernized               By Teo Bugbee            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/movies/
2022-07-14   2022-07-15 queen-of-glory-review.html                  Queen of Glory                            By Lisa Kennedy          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/movies/
2022-07-14   2022-07-15 she-will-review.html                        Veils of Memory And Suggestion            By Jeannette Catsoulis   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/movies/
2022-07-14   2022-07-15 the-deer-king-review.html                   The Deer King                             By Concepcin de Len      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/movies/
2022-07-14   2022-07-15 zombies-3-review.html                       Zombies 3                                 By Lena Wilson           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/nyregio Ivana Trump 73 Businesswoman and Former
2022-07-14   2022-07-15 n/ivana-trump-dead.html                     Presidents ExWife Dies                    By Clay Risen            TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/14/nyregio Man Exonerated in Malcolm X Murder Sues
2022-07-14   2022-07-15 n/malcolm-x-murder-lawsuit-40-million.html City                                       By Ashley Southall       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/nyregio A Lawyer in Sneakers Hopes to Push Aside
2022-07-14   2022-07-15 n/suraj-patel-nadler-maloney.html          Democratic Stalwarts                       By Nicholas Fandos       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/opinion Americans Are Hungry for Change So Get
2022-07-14   2022-07-15 /americans-dissatisfaction-polling.html    Ready for More Turmoil                     By David Brooks          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/opinion The Markets Have Reasons for Shrugging Off
2022-07-14   2022-07-15 /inflation-markets-recession-prices.html   the Bad Inflation News                     By Paul Krugman          TX 9-189-149   2022-09-01




                                                                               Page 4002 of 5793
                        https://www.nytimes.com/2022/07/14/sports/b
                        aseball/mlb-union-international-draft-      Despite Numbers Latinos Are Still
2022-07-14   2022-07-15 latinos.html                                Underrepresented as Union Leaders           By James Wagner                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/sports/c
                        ycling/tour-de-france-vingegaard-           Champ Makes a Charge But Makes Up No
2022-07-14   2022-07-15 pogacar.html                                Time                                        By Victor Mather                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/sports/g
2022-07-14   2022-07-15 olf/british-open-double-greens.html         Not a Lot of Gimmes From 100 Feet Out       By Alan Blinder                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/sports/g A Bad Day on the Links for a Former
2022-07-14   2022-07-15 olf/tiger-woods-british-open.html           Champion                                    By Christopher Clarey           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/sports/o
2022-07-14   2022-07-15 lympics/mo-farah-uk-immigration.html        Secretive Journey From Despair To Triumph By Jer Longman                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/sports/s
2022-07-14   2022-07-15 occer/soccer-age-data.html                  Where Age Is Just a Depreciating Number     By Rory Smith                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/technol
2022-07-14   2022-07-15 ogy/twitter-elon-musk-sec.html              SEC Studying Musks Twitter Disclosures      By Kate Conger                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/upshot/                                              By Emily Badger and Eve
2022-07-14   2022-07-15 housing-shortage-us.html                    Across US Its Getting Harder to Find a Home Washington                      TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/14/us/polit Democrats Try to Salvage Cherished
2022-07-14   2022-07-15 ics/democrats-budget-domestic-agenda.html Initiatives                                   By Emily Cochrane               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/us/polit
                        ics/democrats-republicans-inflation-        GOP Seizes on Inflation Putting Democrats
2022-07-14   2022-07-15 midterms.html                               in Peril                                    By Alan Rappeport               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/us/polit House Passes 840 Billion Military Bill to
2022-07-14   2022-07-15 ics/house-military-policy-bill.html         Counter Threats From Russia and China       By Catie Edmondson              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/us/polit Shes Only 19 and Drowning in Debt to
2022-07-14   2022-07-15 ics/juvenile-restitution-debts.html         Society                                     By Erica L Green                TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/14/us/polit Secret Service Erased Texts Jan 6 Panel
2022-07-14   2022-07-15 ics/secret-service-text-messages-jan-6.html Requested                                 By Luke Broadwater                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/us/polit
2022-07-14   2022-07-15 ics/tina-peters-colorado-arrest.html        County Clerks Arrest Sought in Colorado   By Nick Corasaniti                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/us/polit Top Gun Maverick Finds Some Fans in       By Blake Hounshell and Marc
2022-07-14   2022-07-15 ics/top-gun-maverick-republicans.html       Washington                                Tracy                             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/us/polit                                           By Maya King and Jonathan
2022-07-14   2022-07-15 ics/youth-voters-midterms-polling.html      Young Voters Say It Is Time For New Blood Weisman                           TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/14/us/texa Texas Sues Biden Administration Over         By J David Goodman and Sheryl
2022-07-14   2022-07-15 s-biden-administration-abortion-lawsuit.html Access to Emergency Medical Abortions      Gay Stolberg                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/world/a IMF Deal Could Help Pakistan Lift Its
2022-07-14   2022-07-15 sia/pakistan-imf-loan-deal.html              Economy                                    By Salman Masood                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/world/a
                        sia/sri-lanka-president-rajapaksa-resigns-   Sri Lankas President Steps Down as Civil   By Emily Schmall Skandha
2022-07-14   2022-07-15 protests.html                                Unrest Continues                           Gunasekara and Mujib Mashal     TX 9-189-149   2022-09-01



                                                                                 Page 4003 of 5793
                        https://www.nytimes.com/2022/07/14/world/e
                        urope/france-macron-bastille-day-          Macron Aims to Ease Fears Of a SecondTerm
2022-07-14   2022-07-15 interview.html                             Drift                                         By Aurelien Breeden                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/world/e Steak Frites Without Mustard France
2022-07-14   2022-07-15 urope/france-mustard-shortage-dijon.html   Shudders as Jars Vanish                       By Roger Cohen                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/world/e
                        urope/iranian-official-sweden-prison-      Sweden Convicts ExIranian Official in         By Christina Anderson and Farnaz
2022-07-14   2022-07-15 executions.html                            Prisoners Deaths                              Fassihi                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/world/e
                        urope/italy-mario-draghi-confidence-       Italys President Declines Draghis Resignation
2022-07-14   2022-07-15 vote.html                                  as Coalition Teeters                          By Jason Horowitz                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/world/e Priests Linked to Russia Come Under           By Valerie Hopkins Oleksandr
2022-07-14   2022-07-15 urope/ukraine-priests-russia.html          Suspicion                                     Chubko and Vera Mironova           TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/14/world/e Airstrikes on Civilians Far From Front Show By Maria Varenikova and Michael
2022-07-14   2022-07-15 urope/ukraine-vinnytsia-missile-attack.html Russias Deadly Reach                        Levenson                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/world/ Despite a Friendship How to Handle Iran Still
2022-07-14   2022-07-15 middleeast/biden-israel-iran-nuclear.html   Proves a Hurdle                             By David E Sanger                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/world/ Courting Saudis Biden Must Face A Vilified
2022-07-14   2022-07-15 middleeast/biden-saudi-arabia-mbs.html      Prince                                      By Ben Hubbard                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/world/ Israels Military Leans in Favor of Iran
2022-07-14   2022-07-15 middleeast/israel-iran-nuclear-lapid.html   Nuclear Deal Its Spy Agency Wont Budge      By Ronen Bergman                    TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/14/us/10- Proper Action Was Taken in Girls Abortion By Sheryl Gay Stolberg and Ava
2022-07-15   2022-07-15 year-old-abortion-caitlin-bernard-indiana.html Lawyer Says                                Sasani                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/us/polit Manchin Scuttles Talks On Climate and         By Emily Cochrane and Lisa
2022-07-15   2022-07-15 ics/manchin-climate-taxes.html                 Taxes Domestic Plan Shrinks                Friedman                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/opinion
2022-07-15   2022-07-15 /israel-saudi-arabia-biden-trip.html           Keys to a Jewish Democratic Israel         By Thomas L Friedman              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/article/track-field- The World Championships Come to America By Kris Rhim Matthew Futterman
2022-07-15   2022-07-15 world-championships-races.html                 What to Watch For                          and Scott Cacciola                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/us/polit                                               By Natalie Reneau Stella Cooper
2022-06-17   2022-07-16 ics/proud-boys-jan-6.html                      How The Proud Boys Breached the Capitol Alan Feuer and Aaron Byrd            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/arts/dan
                        ce/ballet-theater-promotions-daniel-camargo- Ballet Theater Promotes Two and Hires
2022-07-12   2022-07-16 catherine-hurlin.html                          Another                                    By Julia Jacobs                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/arts/des
2022-07-12   2022-07-16 ign/70s-beaches-tod-papageorge.html            DecadesOld Scenes Now See the Light of Day By Robin Pogrebin                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/opinion
                        /texas-redistricting-maps-                                                                By Jesse Wegman and Damon
2022-07-13   2022-07-16 gerrymandering.html                            Gerrymander USA                            Winter                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/arts/des
                        ign/barkley-hendricks-frick-portraiture-
2022-07-13   2022-07-16 black.html                                     A New Master Among the Old                 By Robin Pogrebin                 TX 9-189-149   2022-09-01




                                                                                Page 4004 of 5793
                        https://www.nytimes.com/2022/07/13/movies/
2022-07-13   2022-07-16 the-sea-beast-design.html                    How to Make a Sea Monster                  By Gabe Cohn                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/arts/des New Van Gogh SelfPortrait Is Revealed by
2022-07-14   2022-07-16 ign/van-gogh-self-portrait-x-ray.html        an XRay                                    By Nina Siegal                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/arts/mu Monty Norman 94 Wrote 007s Memorable
2022-07-14   2022-07-16 sic/monty-norman-dead.html                   Theme                                      By Neil Genzlinger               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/arts/mu
2022-07-14   2022-07-16 sic/pyramids-jazz.html                       Revisiting a Bold Moment Decades Later     By Marcus J Moore                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/busines EVs Selling at a Record Pace Despite
2022-07-14   2022-07-16 s/electric-car-sales.html                    Shortages                                  By Jack Ewing                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/opinion
2022-07-14   2022-07-16 /philippines-marcos.html                     Bracing for President Bongbong             By Sheila S Coronel              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/sports/b Charter Flights Allowed For the WNBA
2022-07-14   2022-07-16 asketball/wnba-charter-flights-finals.html   Finals                                     By Victoria M Walker             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/us/polit John R Froines 83 Chemist and Member Of
2022-07-14   2022-07-16 ics/john-r-froines-dead.html                 the Chicago 7 Dies                         By Clay Risen                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/busines
2022-07-15   2022-07-16 s/economy/china-economy-slows.html           Covid Policy Drags Down China GDP          By Daisuke Wakabayashi           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/health/c Sharp Drop in Global Childhood Vaccinations
2022-07-15   2022-07-16 hildhood-vaccination-rates-decline.html      Imperils Millions of Lives                 By Stephanie Nolen               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/arts/lizz
2022-07-15   2022-07-16 winstead-abortion-comedy.html                Zingers Unleashed In Abortion Battle       By Melena Ryzik                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/15/busines                                             By Patricia Cohen and Melissa
2022-07-15   2022-07-16 s/economy/germany-russia-natural-gas.html Gas Crisis Spells Pain for Germany           Eddy                              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/busines Voters View Economy as Grim Even if Their By Ben Casselman and Lydia
2022-07-15   2022-07-16 s/economy/inflation-economy-polling.html   Finances Are Not                            DePillis                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/busines New Data Set Gives the Fed Wiggle Room
2022-07-15   2022-07-16 s/inflation-retail-data-fed.html           On Rate Rises                               By Jeanna Smialek                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/busines Frontier Airlines Bid for Spirit Faces an
2022-07-15   2022-07-16 s/spirit-airlines-frontier-jetblue.html    Advisory Firms Opposition                   By Niraj Chokshi                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/climate President Yields on Climate Plans as Talks  By Jim Tankersley Lisa Friedman
2022-07-15   2022-07-16 /biden-inflation-climate-manchin.html      Collapse                                    and Coral Davenport               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/climate How the US Can Salvage a Portion of Bidens
2022-07-15   2022-07-16 /climate-change-action-united-states.html  Goals on Fighting Climate Change            By Coral Davenport                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/climate Trading Coal For Sunlight Power Plants Get
2022-07-15   2022-07-16 /coal-plants-renewable-energy.html         New Life                                    By Elena Shao                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/climate Months of Cajoling Fail To Swing Senator to By Coral Davenport and Lisa
2022-07-15   2022-07-16 /manchin-climate-change-democrats.html     Yes                                         Friedman                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/nyregio In City of Powerful Names She Knew How to
2022-07-15   2022-07-16 n/ivana-trump-new-york-city.html           Be Seen                                     By Dodai Stewart                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/nyregio
                        n/subway-murder-false-conviction-          3 Cleared in Fiery Death Of Subway Clerk in
2022-07-15   2022-07-16 exonerated.html                            1995                                        By Sean Piccoli and Ed Shanahan   TX 9-189-149   2022-09-01




                                                                               Page 4005 of 5793
                        https://www.nytimes.com/2022/07/15/opinion Dr Caitlin Bernard Didnt CoWrite This Essay
2022-07-15   2022-07-16 /doctors-roe-v-wade-ohio-10-year-old.html  Because of the Attacks on Her               By Tracey A Wilkinson             TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/15/sports/b
2022-07-15   2022-07-16 aseball/dj-suonandajie-china-mlb-draft.html Scouring China MLB Hunts for Its Own Yao By Brad Lefton                      TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/15/sports/f
                        ootball/deshaun-watson-settlement-          Texans Reach Settlements With Women
2022-07-15   2022-07-16 texans.html                                 Over Watson                              By Jenny Vrentas                    TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/15/sports/g Team Sport at a Major The PGA Tour vs the
2022-07-15   2022-07-16 olf/liv-pga-british-open-mcilroy-johnson.html LIV Series                              By Christopher Clarey              TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/15/sports/g Woodss Final Farewell Perhaps to St
2022-07-15   2022-07-16 olf/tiger-woods-british-open-missed-cut.html Andrews                                      By Alan Blinder                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/sports/o
                        lympics/jim-thorpe-olympics-medal-           Thorpe Restored as Sole Winner of 2 Gold
2022-07-15   2022-07-16 restored.html                                Medals in 1912 Games                         By Victor Mather and Tariq Panja TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/sports/o
                        lympics/ukraine-track-field-world-
2022-07-15   2022-07-16 championships.html                           In Exile a Ukrainian High Jumper Soldiers On By Jer Longman                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/technol                                                By Lauren Hirsch Kate Conger and
2022-07-15   2022-07-16 ogy/elon-musk-twitter.html                   Musk Files A Response To Twitter             Matthew Goldstein                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/theater/ Sure These Plays Are Short But Each Has a
2022-07-15   2022-07-16 sex-grift-and-death-review.html              Lot to Say                                   By Maya Phillips                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/us/988- Reimagined Crisis Hotline May Not Be Fit
2022-07-15   2022-07-16 mental-health-lifeline.html                  for Surge                                    By Aimee Ortiz and Steve Eder    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/us/geor Georgia Prosecutor Warns ProTrump              By Richard Fausset and Danny
2022-07-15   2022-07-16 gia-investigation-trump.html                 Officials They May Face Charges              Hakim                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/us/polit Democratic Primaries Are Embroiled in
2022-07-15   2022-07-16 ics/aipac-israel-democrats.html              Debate Over Support for Israel               By Jonathan Weisman              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/us/polit Biden Drops Plan to Tap McConnells Judge
2022-07-15   2022-07-16 ics/biden-mcconnell-judge-abortion.html      Pick                                         By Carl Hulse                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/us/polit
2022-07-15   2022-07-16 ics/governors-president.html                 At Governors Confab Speculation About 2024 By Katie Glueck                    TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/15/us/polit House Passes Bills to Protect Access to
2022-07-15   2022-07-16 ics/house-passes-abortion-access-bills.html Abortion                                   By Annie Karni                    TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/15/us/polit
2022-07-15   2022-07-16 ics/joe-manchin-senate-climate-tax.html     Manchin Again Has Democrats Fuming         By Emily Cochrane                 TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/15/us/uval After Attack Uvalde Officials Sought
2022-07-15   2022-07-16 de-police.html                              Favorable Account of Response              By J David Goodman                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/15/world/a
2022-07-15   2022-07-16 mericas/rafael-caro-quintero-mexico.html    In Mexico Drug Kingpin Is Captured         By Oscar Lopez                    TX 9-189-149     2022-09-01




                                                                                 Page 4006 of 5793
                        https://www.nytimes.com/2022/07/15/world/a Xi Makes First Visit to Xinjiang Since Start
2022-07-15   2022-07-16 sia/china-xi-xinjiang.html                 of Uyghur Suppression                         By Chris Buckley and Amy Qin    TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/15/world/a ExGoddess Uses MBA To Succeed In Secular
2022-07-15   2022-07-16 sia/nepal-kumari-living-goddess.html       Life                                          By Emily Schmall                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/15/world/e
                        urope/europe-ukraine-arms-weapons-         Gaps in Supplies Show Divergent Strategies
2022-07-15   2022-07-16 supplies.html                              to Aid Ukraine                                By Steven Erlanger              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/15/world/e
                        urope/german-military-officer-terrorism-   Assassination Plot Brings German Soldier 5
2022-07-15   2022-07-16 guilty.html                                Years in Prison                               By Katrin Bennhold              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/15/world/e
                        urope/italy-government-crisis-mario-       As Draghi Threatens to Leave Italians Express
2022-07-15   2022-07-16 draghi.html                                Worry Over What Comes Next                    By Jason Horowitz               TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/15/world/e Barely Started A Life Is Ended By an         By Maria Varenikova and Andrew
2022-07-15   2022-07-16 urope/russia-vinnytsia-liza-dmytriyeva.html Airstrike                                   E Kramer                       TX 9-189-149      2022-09-01
                        https://www.nytimes.com/2022/07/15/world/
                        middleeast/biden-israel-saudi-              Biden Gives Palestinians Funding and
2022-07-15   2022-07-16 palestinians.html                           Sympathy But No LongTerm Plans              By Patrick Kingsley              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/15/world/
2022-07-15   2022-07-16 middleeast/biden-mbs-saudi-visit.html       For Biden Uneasy Visit to Saudi Leader      By Peter Baker and David E Sanger TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/world/
                        middleeast/hussein-al-sheikh-palestinian-   Rising Star in West Bank But Not Exactly
2022-07-15   2022-07-16 authoritywest-bank.html                     Popular                                     By Patrick Kingsley              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/15/world/t
                        he-many-parties-involved-complicate-war-    Prosecuting Atrocities On Civilians Is      By Dan Bilefsky and Matthew
2022-07-15   2022-07-16 crimes-investigations.html                  Complex                                     Mpoke Bigg                       TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/15/your-
2022-07-15   2022-07-16 money/monthly-car-payments-interest.html Navigating RecordHigh Car Payments             By Ann Carrns                    TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/16/world/ How The Times Counted Egypts Invisible          By Vivian Yee Allison McCann
2022-07-16   2022-07-16 middleeast/egypt-detainees-methodology.html Detainees                                     and Josh Holder                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/interactive/2022/07/ Egypts Revolving Jailhouse Door One Pretrial By Vivian Yee Allison McCann
2022-07-16   2022-07-16 16/world/middleeast/egypt-prisoners.html     Detention After Another                      and Josh Holder                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/05/17/books/r
                        eview/ben-s-bernanke-21st-century-monetary-
2022-05-17   2022-07-17 policy.html                                  Confronting Economic Crises                  By David Leonhardt             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/05/18/books/r
                        eview/in-hong-kong-the-search-for-a-single-
2022-05-18   2022-07-17 identity.html                                Hong Kong in Myth and Reality                By Amy Qin                     TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/05/31/books/r
2022-05-31   2022-07-17 eview/yerba-buena-nina-lacour.html           Love Language                                By Jennifer Harlan             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/06/10/books/r
                        eview/how-you-get-famous-nicole-
2022-06-10   2022-07-17 pasulka.html                                 Glow Up                                      By Alexander Chee              TX 9-189-149    2022-09-01



                                                                                Page 4007 of 5793
                        https://www.nytimes.com/2022/06/14/books/r
2022-06-14   2022-07-17 eview/david-leavitt-diary-of-a-film.html     Screen Life                                  By David Leavitt               TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/14/books/r
2022-06-14   2022-07-17 eview/elusive-peter-higgs-frank-close.html   Master of the Universe                       By Deborah Blum                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/14/books/r
2022-06-14   2022-07-17 eview/pig-years-ellyn-gaydos.html            American Dirt                                By Kristin Kimball             TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/06/29/arts/tele
2022-06-29   2022-07-17 vision/naked-mole-rat-hbo-max.html           The Mole Rat Trying on Tolerance             By Laurel Graeber              TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/01/books/r
                        eview/night-of-the-living-rez-morgan-
2022-07-01   2022-07-17 talty.html                                   Interconnected                               By Amil Niazi                  TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/04/books/r
2022-07-04   2022-07-17 eview/joan-katherine-chen.html               The Girl Who Saved France                    By Jess Walter                 TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/05/books/r
2022-07-05   2022-07-17 eview/the-earthspinner-anuradha-roy.html     Banished                                     By Mira Jacob                  TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/05/style/mi
2022-07-06   2022-07-17 chael-lindsay-hogg-beatles.html              Ask Him About His Painting Not the Beatles   By Alex Williams               TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/07/books/r How a Failed Screenwriting Career Forged a
2022-07-07   2022-07-17 eview/the-silent-patient-alex-michaelides.html BestSelling Author                         By Elisabeth Egan                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/books/r
                        eview/mother-noise-my-seven-black-fathers-
                        this-body-i-wore-cindy-house-will-jawando-
2022-07-08   2022-07-17 diana-goetsch.html                             Memoirs                                    By Manuel Betancourt             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/08/travel/b
2022-07-08   2022-07-17 rooklyn-ferry.html                             Cross the Swift Current Brooklyn by Ferry  By Julie Besonen                 TX 9-189-149   2022-09-01
                                                                                                                  By Anjali Singhvi James Glanz
                        https://www.nytimes.com/interactive/2022/07/ The Chain of Failures That Left 17 Dead in a Weiyi Cai Evan Grothjan and Mika
2022-07-08   2022-07-17 08/nyregion/bronx-fire-nyc.html                Bronx Apartment Fire                       Grndahl                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/09/books/r
                        eview/why-didnt-you-tell-me-carmen-rita-
2022-07-09   2022-07-17 wong.html                                      Family Secrets                             By Gabrielle Glaser              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/10/opinion How Supreme Court Reform Could Take
2022-07-10   2022-07-17 /supreme-court-biden-reform.html               Shape                                      By Ezra Klein                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/books/r
                        eview/a-matter-of-trust-meenakshi-
2022-07-11   2022-07-17 ahamed.html                                    Adversarial Allies                         By Rajan Menon                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/realesta
2022-07-11   2022-07-17 te/shopping-peg-rails.html                     When Space Is Tight Just Let Things Hang   By Tim McKeough                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/07/
                        11/magazine/jerrod-carmichael-                 Jerrod Carmichael Was Scared of Coming Out
2022-07-11   2022-07-17 interview.html                                 He Still Is                                By David Marchese                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/arts/abu Abubakr Ali Gets a Boost From
2022-07-12   2022-07-17 bakr-ali-grendel.html                          WhaleWatching                              By Juan A Ramrez                 TX 9-189-149   2022-09-01




                                                                                Page 4008 of 5793
                        https://www.nytimes.com/2022/07/12/arts/mu
2022-07-12   2022-07-17 sic/earl-mcgrath-rolling-stones.html       How a Mover and Shaker Came to Be              By Bob Mehr                      TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/12/books/r Group Text Any Other Family by Eleanor
2022-07-12   2022-07-17 eview/any-other-family-eleanor-brown.html Brown                                           By Elisabeth Egan                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/magazi
2022-07-12   2022-07-17 ne/akhil-sharma-an-obedient-father.html    The NeverEnding Novel                          By Wyatt Mason                   TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/12/magazi What Should Be Done When Food Donations
2022-07-12   2022-07-17 ne/food-donations-ethics.html             Go to Those Who Dont Need Them          By Kwame Anthony Appiah                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/12/magazi
2022-07-12   2022-07-17 ne/how-to-recover-from-being-ghosted.html How to Be Ghosted                           By Malia Wollan                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/magazi
2022-07-12   2022-07-17 ne/talking-to-yourself.html                 External SelfTalk                         By Paul McAdory                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/realesta
                        te/southern-california-upstate-new-york-
2022-07-12   2022-07-17 hudson-valley-kingston.html                 A Big Change Yields a Hudson River View By Tim McKeough                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/arts/mu
                        sic/afghan-national-institute-of-music-
2022-07-13   2022-07-17 lisbon.html                                 With Music and Hope Lives Are Taking Root By Javier C Hernndez                 TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/13/magazi Charred as a Cucumber For summer grilling
2022-07-13   2022-07-17 ne/grilled-cucumber-recipe.html                an unexpected green guest goes over the fire By Yotam Ottolenghi            TX 9-189-149   2022-09-01
                                                                       A random pain in her side sent the woman to
                        https://www.nytimes.com/2022/07/13/magazi get an ultrasound What the scan found was
2022-07-13   2022-07-17 ne/myxoma-heart-diagnosis.html                 unexpected and scary                         By Lisa Sanders MD             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/magazi
2022-07-13   2022-07-17 ne/planting-trees-climate-change.html          The Trouble with Trees                       By Zach St George              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/magazi
2022-07-13   2022-07-17 ne/police-fentanyl-exposure-videos.html        Dust Devil                                   By Zachary Siegel              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/opinion
2022-07-13   2022-07-17 /class-poverty-lying.html                      How I Became a Pathological Liar             By Joshua Hunt                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/realesta
                        te/edison-nj-a-diverse-suburb-in-a-convenient- All Roads Seem to Lead to This New Jersey
2022-07-13   2022-07-17 location.html                                  Suburb                                       By Kathleen Lynn               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/realesta
                        te/house-hunting-in-panama-a-tuscan-style- In the Hills of Central America a TuscanStyle
2022-07-13   2022-07-17 villa-in-the-hills-of-boquete.html             Mansion                                      By Marcelle Sussman Fischler   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/realesta
                        te/why-some-of-your-annuals-should-be-
2022-07-13   2022-07-17 native-plants.html                             Include Native Plants Among Your Annuals By Margaret Roach                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/13/theater/
2022-07-13   2022-07-17 jim-nicola-new-york-theater-workshop.html A Shepherd Parts From His Flock                 By Scott Heller                  TX 9-189-149   2022-09-01



                                                                                  Page 4009 of 5793
                        https://www.nytimes.com/2022/07/13/world/a Cardinal Cludio Hummes 87 Close Ally of
2022-07-13   2022-07-17 mericas/cardinal-claudio-hummes-dead.html Pope Francis Dies                              By Clay Risen                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/world/e
                        urope/italy-sardinia-perdasdefogu-seulo-    Two Towns Each Claiming to Be No 1 in
2022-07-13   2022-07-17 longevity.html                              100YearOlds                                  By Jason Horowitz                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/arts/des
                        ign/ireland-paul-williams-architect-
2022-07-14   2022-07-17 photography-nevada.html                     Following Her Modern Muse to the West        By Celia McGee                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/arts/jer
2022-07-14   2022-07-17 ome-m-eisenberg-dead.html                   Jerome Eisenberg 92 Antiquities Dealer       By Sam Roberts                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/books/r
                        eview/the-sewing-girls-tale-john-wood-
2022-07-14   2022-07-17 sweet.html                                  Unconsenting                                 By Tali Farhadian Weinstein      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/busines
2022-07-14   2022-07-17 s/investing-inflation-recession.html        Walking the Fine and Rocky Line of Inflation By Jeff Sommer                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/busines
2022-07-14   2022-07-17 s/work-friends.html                         The Magic of Your First Work Friends         By Emma Goldberg                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/magazi
2022-07-14   2022-07-17 ne/formula-1-miami-drive-to-survive.html    The Need for Speed                           By Bruce Schoenfeld              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/magazi
                        ne/judge-john-hodgman-on-what-to-call-your-
2022-07-14   2022-07-17 wife.html                                   Bonus Advice From Judge John Hodgman         By John Hodgman                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/magazi
                        ne/poem-portrait-of-d17-female-37-years-                                                 By Paisley Rekdal and Victoria
2022-07-14   2022-07-17 old.html                                    Poem                                         Chang                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/movies/
2022-07-14   2022-07-17 janeane-garofalo.html                       Reality Bit but She Bit Back                 By Jason Zinoman                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/nyregio Despite Roes Fall These Activists Remain
2022-07-14   2022-07-17 n/ny-anti-abortion.html                     Underdogs                                    By John Leland                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/opinion The Big Ten Is Growing but All I See Is
2022-07-14   2022-07-17 /usc-ucla-big-ten.html                      Decline                                      By Matthew Walther               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/realesta
2022-07-14   2022-07-17 te/renters-safety-state-ranking.html        Safety and Security for Renters              By Anna P Kambhampaty            TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/14/style/ab
2022-07-14   2022-07-17 ortion-accessibility-planned-parenthood.html She Had to Face Another Challenge           By Katherine Rosman              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/style/ho
2022-07-14   2022-07-17 sting-houseguests-apologies.html             NoGratitude Guests                          By Philip Galanes                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/technol Technology That Opened Doors to New
2022-07-14   2022-07-17 ogy/tech-apps-creativity.html                Worlds                                      By Shira Ovide                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/us/us- With Few Able and Fewer Willing Forces
2022-07-14   2022-07-17 military-recruiting-enlistment.html          Lack Recruits                               By Dave Philipps                 TX 9-189-149   2022-09-01




                                                                                 Page 4010 of 5793
                                                                     He Wanted a New Condo With a Bathroom
                        https://www.nytimes.com/interactive/2022/07/ Sink for Less Than 1 Million These Were His
2022-07-14   2022-07-17 14/realestate/14hunt-srivastava.html         Options                                     By Joyce Cohen                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/books/r
2022-07-15   2022-07-17 eview/ai-generated-book-covers.html          Artificial Illustration                     By Bruce Handy                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/books/r
2022-07-15   2022-07-17 eview/lisettes-lie-catharina-valckx.html     When First We Practice to Deceive           By Jon Agee                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/books/r
                        eview/m-son-of-the-century-antonio-
2022-07-15   2022-07-17 scurati.html                                 Big Fat Books for Your Beach Bag            By Alida Becker                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/busines Energy Was a Bright Spot In a Gloomy Stock
2022-07-15   2022-07-17 s/energy-stock-market.html                   Market                                      By J Alex Tarquinio             TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/15/busines
2022-07-15   2022-07-17 s/investing-electric-vehicles-batteries.html Banking on Lithium                         By Norm Alster                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/busines
2022-07-15   2022-07-17 s/municipal-bonds-investing.html             A Light Finally Shines On Municipal Bonds By Tim Gray                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/busines
2022-07-15   2022-07-17 s/stock-market-recession-half-year.html      Recession Worries And Bear Markets         By Conrad de Aenlle              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/busines
2022-07-15   2022-07-17 s/virtual-coworking-space-zoom.html          For a Fee Strangers Will Watch You Work    By Lora Kelley                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/fashion                                              By Jacob Bernstein and Vanessa
2022-07-15   2022-07-17 /ivana-trump-style.html                      Dont Get Mad Get Furs                      Friedman                         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/movies/
                        daisy-edgar-jones-where-the-crawdads-sing-
2022-07-15   2022-07-17 normal-people.html                           After a Quick Ascent In for the Long Run   By Ashley Spencer                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/movies/ LQ Jones 94 Actor Who Played Antiheroes
2022-07-15   2022-07-17 lq-jones-dead.html                           With a Light Touch Dies                    By Sam Roberts                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/nyregio
2022-07-15   2022-07-17 n/eric-adams-crime-nyc.html                  Adamss Focus on Crime Muddies Efforts      By Emma G Fitzsimmons            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/nyregio
2022-07-15   2022-07-17 n/ivana-trump-cause-of-death.html            Ivana Trumps Death Is Ruled Accidental     By Ed Shanahan                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/nyregio
2022-07-15   2022-07-17 n/mark-fleischman-dead.html                  Mark Fleischman 82 Former Studio 54 Owner By Sam Roberts                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/nyregio
2022-07-15   2022-07-17 n/monkeypox-nyc.html                         Now Monkeypox Here We Go Again             By Ginia Bellafante              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/nyregio
2022-07-15   2022-07-17 n/princess-doe-new-jersey.html               Murdered in 1982 Now She Has a Name        By Tracey Tully                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/nyregio A Park Built for Children Is Now Used for
2022-07-15   2022-07-17 n/sara-roosevelt-park-nyc.html               Drug Deals                                 By Winnie Hu                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/nyregio
2022-07-15   2022-07-17 n/statue-of-liberty-ferry-captain.html       Docked Boats and Packed Lunches            By Alix Strauss                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/opinion
2022-07-15   2022-07-17 /abortion-rights-travel.html                 The GOP Is Threatening the Right to Travel By Jamelle Bouie                 TX 9-189-149   2022-09-01




                                                                                Page 4011 of 5793
                        https://www.nytimes.com/2022/07/15/opinion What Biden Got Right on His Trip to the
2022-07-15   2022-07-17 /biden-saudi-arabia.html                     Middle East                                   By The Editorial Board     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/opinion Brittney Griner Is Trapped and Alone Wheres
2022-07-15   2022-07-17 /brittney-griner-russia.html                 Your Outrage                                  By Roxane Gay              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/opinion
                        /environment/oil-exploration-climate-change- The Worst Place in the World to Drill for Oil
2022-07-15   2022-07-17 democratic-republic-congo.html               Is Up for Auction                             By Simon Lewis             TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/15/opinion Can Psychedelics Heal Depression Without
2022-07-15   2022-07-17 /hallucinations-psychedelics-depression.html Trips                                       By Dana G Smith              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/opinion
2022-07-15   2022-07-17 /liz-cheney-wyoming-voters.html              Liz Cheneys Search For Moderate Votes       By Susan Stubson             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/realesta
2022-07-15   2022-07-17 te/light-pollution-effects.html              Unhealthy Glow A Case Against Illumination By Andrea Stanley             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/realesta We Want an Open Floor Plan With a Stripper
2022-07-15   2022-07-17 te/sex-room-home-renovation.html             Pole                                        By Ronda Kaysen              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/science US and Russia Bolstering Ties Far From        By Kenneth Chang and Anton
2022-07-15   2022-07-17 /nasa-russia-astronauts-space.html           Earth                                       Troianovski                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/sports/b
                        aseball/los-angeles-angels-pitching-mlb-     Pitching Is 90 Percent of Baseball One Team
2022-07-15   2022-07-17 draft.html                                   Went for It 100 Percent                     By Scott Miller              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/sports/b Familiar Names Abound In This Years MLB
2022-07-15   2022-07-17 aseball/mlb-draft-2022-guide.html            Draft                                       By Benjamin Hoffman          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/sports/g Fretting Over Spelling On a Tight Deadline
2022-07-15   2022-07-17 olf/british-open-claret-jug.html             With the Claret Jug                         By Alan Blinder              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/sports/s
2022-07-15   2022-07-17 occer/england-womens-euros-2022.html         Womens Game Rises Except for Coaching       By Rory Smith                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/style/bi
2022-07-15   2022-07-17 mal-patel-truett-manning-wedding.html        Losing the Race but Winning Each Other      By Alix Wall                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/style/ch
2022-07-15   2022-07-17 ristine-quinn-selling-sunset.html            Villainous With a Taste for Luxury          By Alexis Soloski            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/style/jo All Fibbing Aside Shes Still a Younger
2022-07-15   2022-07-17 an-klein-jack-pinto-wedding.html             Woman                                       By John Otis                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/style/m
2022-07-15   2022-07-17 odern-love-kidney-donor.html                 Man With Incredible Beard Needs My Kidney By Julia BrownFarley           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/style/pa Combining Two Weddings but in Different By Tammy La Gorce and Vincent
2022-07-15   2022-07-17 rent-kuntz-mcnitt-heflin-wedding.html        States                                      M Mallozzi                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/style/sa After the Form of an Answer Popping the
2022-07-15   2022-07-17 rah-bauer-greer-mackebee-wedding.html        Question                                    By Julia Carmel              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/style/so To Reach the Top of Everest Take It Four
2022-07-15   2022-07-17 me-42934-steps-on-the-road-to-love.html      Steps at a Time                             By Louise Rafkin             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/style/su A Surprise Proposal She Kind of Knew Was
2022-07-15   2022-07-17 zanna-sone-james-xi-wedding.html             Coming                                      By Nina Reyes                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/upshot/ Biden Sees Plans Shrink To Become A
2022-07-15   2022-07-17 build-back-better-health-care-biden.html     Health Bill                                 By Margot SangerKatz         TX 9-189-149   2022-09-01



                                                                                  Page 4012 of 5793
                        https://www.nytimes.com/2022/07/15/us/park Parkland Gunman Faces Death Sentence at     By Patricia Mazzei and Nicholas
2022-07-15   2022-07-17 land-gunman-trial.html                     Trial                                       BogelBurroughs                    TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/15/us/polit Jan 6 Panel to Dissect Trumps 187 Minutes of
2022-07-15   2022-07-17 ics/jan-6-committee-trump-187-minutes.html Inaction                                      By Luke Broadwater              TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/15/world/a
2022-07-15   2022-07-17 sia/philippines-mayors-smile-discipline.html In Philippines Smiling Comes With the Job By John Yoon and Jason Gutierrez TX 9-189-149      2022-09-01
                        https://www.nytimes.com/2022/07/16/busines Risk of Recession Growing Driven By
2022-07-16   2022-07-17 s/global-recession-risk.html                 Tireless Virus                               By Peter S Goodman               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/busines A Warren Buffett Protge Sets Out on Her
2022-07-16   2022-07-17 s/warren-buffett-tracy-britt-cool.html       Own                                          By Anupreeta Das                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/opinion
2022-07-16   2022-07-17 /america-west-road-trip.html                 What It Means to See America in Person       By Ross Douthat                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/opinion
2022-07-16   2022-07-17 /ireland-abortion-roe.html                   Irish Eyes Arent Smiling At Us               By Maureen Dowd                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/realesta Is It Really a Doorman Building If the Guy
2022-07-16   2022-07-17 te/difficult-doormen.html                    Isnt Doing His Job                           By Ronda Kaysen                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/science Anthropause During Pandemic Healed Nature
2022-07-16   2022-07-17 /pandemic-nature-anthropause.html            but Hurt It Too                              By Emily Anthes                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/sports/e History and Nike Both Helped Lure the
2022-07-16   2022-07-17 ugene-world-athletic-championships.html      Worlds Biggest Track Meet to Oregon          By Matthew Futterman             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/sports/g Scottish Success In the British Open Is
2022-07-16   2022-07-17 olf/british-open-st-andrews-scotland.html    Ancient History                              By Christopher Clarey            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/sports/g McIlroy and Hovland Paired in Heated but
2022-07-16   2022-07-17 olf/mcilroy-hovland-british-open.html        Amiable Duel Tie for Lead                    By Christopher Clarey            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/sports/g
                        olf/st-andrews-climate-change-british-       As Planet Warms Golfs Birthplace Confronts
2022-07-16   2022-07-17 open.html                                    a Risky Future                               By Alan Blinder                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/style/se
                        lf-care/hot-girl-megan-thee-stallion-tik-
2022-07-16   2022-07-17 tok.html                                     Cant Talk Right Now Im Busy Being Hot        By Danya Issawi                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/style/sh
2022-07-16   2022-07-17 rek-memes-brooklyn-rave.html                 The Swamp Comes to Brooklyn                  By Gina Cherelus                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/us/abor Abortion Bans Leaving Young At Higher
2022-07-16   2022-07-17 tion-bans-children.html                      Risk                                         By Dana Goldstein and Ava Sasani TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/us/polit
                        ics/maryland-primary-tom-perez-wes-          In Maryland Volatile Governors Race Pits Old
2022-07-16   2022-07-17 moore.html                                   Guard Against Upstarts                       By Reid J Epstein                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/us/polit RightWing Lawyer Pitched Extreme Election By Maggie Haberman and Luke
2022-07-16   2022-07-17 ics/trump-olson-lindell-election.html        Plot in Trump Call                           Broadwater                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/world/a
                        frica/angola-president-jose-eduardo-dos-     Feud Erupts Over ExAngola Rulers Unburied By Gilberto Neto Jos Bautista and
2022-07-16   2022-07-17 santos-funeral.html                          Body                                         Lynsey Chutel                    TX 9-189-149   2022-09-01




                                                                                Page 4013 of 5793
                        https://www.nytimes.com/2022/07/16/world/e Italy in Crisis Uncertainty Only Deepens in
2022-07-16   2022-07-17 urope/europe-italy-economy-crisis.html       Europe                                      By Roger Cohen                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/world/e In Europe Summer Travel Returns With a
2022-07-16   2022-07-17 urope/heathrow-passenger-caps.html           Vengeance                                   By Isabella Kwai                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/world/e
                        urope/russia-putin-schools-propaganda-       Putins Mission To Indoctrinate
2022-07-16   2022-07-17 indoctrination.html                          Schoolchildren                              By Anton Troianovski              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/world/e
                        urope/russia-ukraine-donbas-shoigu-          Moscow Signals Transition To More           By Andrew E Kramer and Steven
2022-07-16   2022-07-17 pause.html                                   Aggressive Phase                            Erlanger                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/world/e                                               By Aurelien Breeden and Isabella
2022-07-16   2022-07-17 urope/uk-europe-heat-wave.html               High Heat and Wildfires Sweep Europe        Kwai                              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/world/ Dueling Versions of Confrontation Over
2022-07-16   2022-07-17 middleeast/biden-khashoggi-truth.html        Khashoggi                                   By Peter Baker                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/world/
                        middleeast/biden-saudi-arabia-china-         Bidens Goal in the Mideast Countering China
2022-07-16   2022-07-17 russia.html                                  and Russia                                  By David E Sanger and Peter Baker TX 9-189-149   2022-09-01
                        https://www.nytimes.com/live/2022/07/16/wo
                        rld/biden-saudi-arabia-news/the-saudi-
                        meeting-opens-the-door-for-biden-to-re-      Agenda for Meeting Saudis Includes Ending By Ben Hubbard and Asmaa
2022-07-16   2022-07-17 engage-on-halting-the-war-in-yemen           Yemen War                                   alOmar                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/busines
                        s/the-week-in-business-twitter-elon-
2022-07-17   2022-07-17 musk.html                                    The Week in Business Twitter Hits Back      By Marie Solis                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/insider/
2022-07-17   2022-07-17 introducing-sunday-opinion.html              Introducing Sunday Opinion                  By Sarah Bahr                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/style/all
2022-07-17   2022-07-17 dolled-up-for-the-heat.html                  Sizzling In the Heat                        By John Ortved                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/us/gran New Corn Mill Brings Jobs and Fears of
2022-07-17   2022-07-17 d-forks-north-dakota-fufeng-china.html       China                                       By Mitch Smith                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/us/polit Griner Case Draws Attention to Other
2022-07-17   2022-07-17 ics/griner-wrongful-detentions.html          Wrongful Detentions                         By Lara Jakes                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/travel/c
2022-07-06   2022-07-18 ape-cod-jamaican-food.html                   Pass the Chowder and the Curry on Cape Cod By Luke Pyenson                    TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/09/insider/
2022-07-09   2022-07-18 reconstructing-the-bronx-apartment-fire.html Reconstructing a Deadly Chimney            By Sarah Bahr                    TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/13/technol
2022-07-13   2022-07-18 ogy/ai-web-accessibility.html                Flaws Persist In Web Tools For the Blind   By Amanda Morris                 TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/14/sports/j Keeping Up With the Ingebrigtsens Good
2022-07-14   2022-07-18 akob-ingebrigtsen-world-championships.html Luck With That Runners                       By Scott Cacciola                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/15/arts/des
2022-07-15   2022-07-18 ign/ukraine-war-culture-art-history.html    Culture War With Bombs And Missiles         By Jason Farago                  TX 9-189-149     2022-09-01




                                                                                 Page 4014 of 5793
                        https://www.nytimes.com/2022/07/15/arts/me
2022-07-15   2022-07-18 dieval-times-union.html                    Knights Carry Lances And Soon Union Cards By Julia Jacobs                           TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/15/arts/mu Angel Blue Withdraws From Opera Citing
2022-07-15   2022-07-18 sic/angel-blue-anna-netrebko-blackface.html Blackface in Aida                              By Javier C Hernndez                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/arts/tele
                        vision/how-to-change-your-mind-netflix-
2022-07-15   2022-07-18 michael-pollan.html                          Changing Minds About LSD                      By Chris Vognar                     TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/15/busines Treasury Stows Its Threat To Recall
2022-07-15   2022-07-18 s/arizona-pandemic-aid-mask-mandates.html Arizonas Funds                                    By Alan Rappeport                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/climate
                        /cryptocurrency-bitcoin-mining-
2022-07-15   2022-07-18 electricity.html                             Bitcoin Miners in US Rival Citys Energy Use By Hiroko Tabuchi                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/fashion Here to Help Vanessa Friedman Answers
2022-07-15   2022-07-18 /summer-hat-baseball-cap.html                Your Style Questions                           By Vanessa Friedman                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/health/ Vaccine Supply For Monkeypox Is Falling
2022-07-15   2022-07-18 monkeypox-vaccine-supply.html                Short                                          By Emily Anthes                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/arts/des
2022-07-16   2022-07-18 ign/documenta-resignation.html               Head of Documenta Resigns Amid Scandal By Alex Marshall                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/arts/tele Jak Knight 28 Writer on the Netflix Series Big
2022-07-16   2022-07-18 vision/jak-knight-dead.html                  Mouth                                          By McKenna Oxenden                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/opinion
2022-07-16   2022-07-18 /blind-ableist-language.html                 Is That Ableist Good Question                  By M Leona Godin                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/travel/p Getting a Passport Will Cost Money and Time
2022-07-16   2022-07-18 assport-renewal-summer-travel.html           Sound Familiar                                 By Debra Kamin                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/world/e Eugenio Scalfari Italian Journalist and
2022-07-16   2022-07-18 urope/eugenio-scalfari-dead.html             Newspaper Founder Dies at 98                   By Alan Cowell                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/world/e Lily Safra 87 the StarCrossed Socialite Whose
2022-07-16   2022-07-18 urope/lily-safra-dead.html                   Glamour Was Tainted by Tragedy                 By Clay Risen                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/07/ The Dollar Is Extremely Strong Pushing         By Karl Russell Joe Rennison and
2022-07-16   2022-07-18 16/business/strong-dollar.html               Down the World                                 Jason Karaian                      TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/17/arts/des
2022-07-17   2022-07-18 ign/rome-museum-recovered-treasures.html In Rome a Pit Stop for Recovered Art              By Elisabetta Povoledo              TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/17/arts/mu
2022-07-17   2022-07-18 sic/tenor-overboard-glimmerglass-rossini.html Serious About Making Opera Fun               By Elisabeth Vincentelli            TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/17/busines                                             By Jeanna Smialek and Eshe
2022-07-17   2022-07-18 s/economy/global-central-banks-inflation.html Banks Move To Wrestle Inflation Globally Nelson                                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/health/a When Miscarriages Collide With Abortion
2022-07-17   2022-07-18 bortion-miscarriage-treatment.html            Law                                      By Pam Belluck                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/nyregio Rabbi David Weiss Halivni Scholar Devoted
2022-07-17   2022-07-18 n/david-weiss-halivni-dead.html               to the Talmud Dies at 94                 By Joseph Berger                        TX 9-189-149   2022-09-01



                                                                                  Page 4015 of 5793
                        https://www.nytimes.com/2022/07/17/opinion
2022-07-17   2022-07-18 /carolyn-bryant-donham-memoir.html          Shed No Tears for Carolyn Bryant Donham By Charles M Blow                     TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/opinion
2022-07-17   2022-07-18 /kennedy-bremerton-supreme-court.html       For This Court Justice Isnt Blind Faith Is    By Pamela Paul                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/sports/b A Shortstop The Yanks Are Willing To Wait
2022-07-17   2022-07-18 aseball/anthony-volpe-yankees.html          For                                           By James Wagner                 TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/sports/b Yankees Head to the AllStar Break Looking
2022-07-17   2022-07-18 aseball/yankees-red-sox.html                Poised for a Dominant Run                     By Gary Phillips                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/sports/g
                        olf/british-open-final-cameron-smith-rory-
2022-07-17   2022-07-18 mcilroy.html                                Rising as the Putts Fall                      By Christopher Clarey           TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/sports/g
2022-07-17   2022-07-18 olf/rory-mcilroy-british-open.html          For McIlroy the Cheers Fade                   By Alan Blinder                 TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/theater/ Getting Lost in Fantasy And Finding Love
2022-07-17   2022-07-18 review-between-the-lines.html               Elusive                                       By Laura CollinsHughes          TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/us/jewe
2022-07-17   2022-07-18 lry-stolen-armored-truck-los-angeles.html   3 Killed in Shooting Inside Indiana Mall      By Vimal Patel                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/us/polit                                               By Jonathan Weisman and Jazmine
2022-07-17   2022-07-18 ics/climate-change-manchin-biden.html       Climate Crisis Fades as Worry For US Voters Ulloa                             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/us/polit Iran Is Preparing to Provide Russia Up to 300 By Eric Schmitt Thomas
2022-07-17   2022-07-18 ics/drones-ukraine-russia-iran.html         Drones US Officials Say                       GibbonsNeff and John Ismay      TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/us/uval Blame is Spread to More Agencies in Uvalde By J David Goodman and Edgar
2022-07-17   2022-07-18 de-shooting-report.html                     Attack                                        Sandoval                        TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/world/a Paint Peels Away Exposing Artwork With a
2022-07-17   2022-07-18 sia/hong-kong-king-of-kowloon.html          Political Pulse                               By Austin Ramzy                 TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/world/c Ukrainian Plane Taking Serbian Weapons to By Niki Kitsantonis and Cora
2022-07-17   2022-07-18 argo-plane-crashes-greece.html              Bangladesh Crashes in Greece 8 Die            Engelbrecht                     TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/world/e UK Girds for Extreme Heat That May Smash
2022-07-17   2022-07-18 urope/britain-heat-wave-records.html        Records                                       By Euan Ward                    TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/world/e
2022-07-17   2022-07-18 urope/europe-uk-heat-wave.html              Heading North Heat Bakes and Burns Europe By Kaly Soto                        TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/world/e New Favorite Shakes Up Race for British        By Mark Landler and Stephen
2022-07-17   2022-07-18 urope/penny-mordaunt-rishi-sunak.html       Premier                                       Castle                          TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/17/world/e Ukraines Army Pays Heavy Toll For Small        By Carlotta Gall and Mauricio
2022-07-17   2022-07-18 urope/ukraine-russia-donetsk-front-line.html Wins                                         Lima                            TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/world/e
                        urope/zelensky-fires-top-officials-venediktova Zelensky Fires Top Two Law Enforcement     By Andrew E Kramer and
2022-07-17   2022-07-18 bakanov.html                                   Officials                                  Cassandra Vinograd              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/17/us/gree
2022-07-18   2022-07-18 nwood-mall-shooting-indiana.html               3 Killed in Shooting Inside Indiana Mall   By Vimal Patel and Melina Delkic TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/arts/tele
                        vision/whats-on-tv-this-week-grown-ish-and-
2022-07-18   2022-07-18 the-old-man.html                               This Week on TV                            By Shivani Gonzalez             TX 9-189-149    2022-09-01




                                                                                  Page 4016 of 5793
                        https://www.nytimes.com/2022/07/18/nyregio For Monkeypox Patients Pain Is Brutal and
2022-07-18   2022-07-18 n/new-york-monkeypox-vaccine.html           Care Is Lacking                             By Sharon Otterman               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/opinion The Kansas Abortion Amendment Is
2022-07-18   2022-07-18 /kansas-abortion-amendment.html             Designed to Confuse Voters                  By Michelle Cottle               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/sports/b Trout and Ohtani Surely Deserve Something
2022-07-18   2022-07-18 aseball/trout-ohtani-all-star-angels.html   Anything                                    By Kurt Streeter                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/sports/b Want to Switch to Coaching Get Ready for
2022-07-18   2022-07-18 asketball/nba-coaching-camp.html            the Egos                                    By Sopan Deb                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/us/polit Returning After 22 Years Jackson Enters a
2022-07-18   2022-07-18 ics/ketanji-brown-jackson-scotus.html       Maelstrom                                   By Adam Liptak                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/world/a Plight of Mexicos Poor Worsens Despite       By Maria AbiHabib and Oscar
2022-07-18   2022-07-18 mericas/mexico-economy-poverty.html         Presidents Promises                         Lopez                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/well/mi
2022-07-06   2022-07-19 nd/memory-loss-prevention.html              A Healthy Memory Requires Some Work         By Hope Reese                    TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/07/well/mi                                              By Alisha Haridasani Gupta and
2022-07-07   2022-07-19 nd/ecotherapy-mental-health-diversity.html The Benefits of an Inclusive Outdoor Escape Logan Lynette                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/well/m
2022-07-07   2022-07-19 ove/weight-lifting-ptsd-trauma.html          Lifting a Burden With Weights              By Danielle Friedman             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/well/liv
2022-07-08   2022-07-19 e/expired-medicine.html                      When Do Drugs Expire                       By Melinda Wenner Moyer          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/science Getting His Fill He Doesnt Look Like a
2022-07-11   2022-07-19 /gophers-farmers-roots.html                  Farmer But Maybe Just Maybe He Is          By Oliver Whang                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/science
2022-07-11   2022-07-19 /greg-robinson-webb-telescope-nasa.html      He Put NASAs Plan Back on Track            By Kenneth Chang                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/arts/tele
                        vision/sydney-sweeney-emmy-euphoria-the-
2022-07-12   2022-07-19 white-lotus.html                             Devotion to Character Delivers Two Rewards By Kalia Richardson              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/well/eat
2022-07-12   2022-07-19 /chocolate-health-benefits.html              Is chocolate good for you                  By Alice Callahan                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/science Picking the Best Astronomy Pictures Takes
2022-07-13   2022-07-19 /webb-telescope-pictures.html                Imagination and Secrecy                    By Joshua Sokol                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/arts/tele
                        vision/emmy-bob-odenkirk-better-call-
2022-07-13   2022-07-19 saul.html                                    Bob Odenkirk on His 5th Emmy Nod as a Star By Reggie Ugwu                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/health/y
2022-07-14   2022-07-19 chromosome-heart-failure.html                Taking a Closer Look At the Y Chromosome By Gina Kolata                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/science Numbskulls Why All That Knocking Never
2022-07-14   2022-07-19 /woodpeckers-brains-shock.html               Knocks Out Woodpeckers                     By Sam Jones                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/arts/mu David Dalton 80 Writer Who Profiled Rock
2022-07-15   2022-07-19 sic/david-dalton-dies.html                   Stars And Shared Their Lifestyle           By Neil Genzlinger               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/arts/tele
2022-07-15   2022-07-19 vision/comedy-specials-streaming.html        5 Specials From Veteran StandUps           By Jason Zinoman                 TX 9-189-149   2022-09-01




                                                                                Page 4017 of 5793
                        https://www.nytimes.com/2022/07/15/science Bat Virus Studies Raise Questions About
2022-07-15   2022-07-19 /bat-coronavirus-laboratory-experiments.html Tinkering                                     By Carl Zimmer            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/science
2022-07-15   2022-07-19 /webb-telescope-jupiter-images.html          Webb Is Not Just For Faraway Galaxies         By Kenneth Chang          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/nyregio
                        n/brooklyn-laylit-middle-east-north-         A Middle Eastern Party Scene Is Thriving in
2022-07-16   2022-07-19 africa.html                                  Brooklyn                                      By Sara Aridi             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/books/n
2022-07-17   2022-07-19 ew-novels-race-racism-satire.html            Race Seen Through a Satirical Lens            By Alexandra Alter        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/briefing
2022-07-17   2022-07-19 /union-drives-college-graduates.html         Why Union Drives Are Succeeding               By Ian Prasad Philbrick   TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/17/busines Beleaguered Netflix Bets Big On Action in
2022-07-17   2022-07-19 s/media/netflix-the-gray-man-subscribers.html The Gray Man                             By Nicole Sperling            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/obituari Gerald Shargel Wisecracking Defense Lawyer
2022-07-17   2022-07-19 es/gerald-shargel-dead.html                   for Wiseguys Dies at 77                  By Sam Roberts                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/sports/b
2022-07-17   2022-07-19 aseball/joe-davis-all-star.html               Replacing the Masters Voice              By Tyler Kepner               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/theater/
2022-07-17   2022-07-19 billy-crystal-broadway-closing.html           Billy Crystals Show Announces Closing    By Michael Paulson            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/world/e Her War Task Telling Ukrainians Its Time to
2022-07-17   2022-07-19 urope/ukraine-mykolaiv-evacuation.html        Leave                                    By Emma Bubola                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/busines Gas Importer In Germany Has Used Up Credit
2022-07-18   2022-07-19 s/uniper-germany-gas-russia.html              Line                                     By Melissa Eddy               TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/17/sports/b Legacies Provide Rare Shot of Name
2022-07-18   2022-07-19 aseball/holliday-jones-rocker-mlb-draft.html Recognition to the Major League Draft         By Tyler Kepner           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/arts/cla Claes Oldenburg Who Took Humble Objects
2022-07-18   2022-07-19 es-oldenburg-dead.html                       to New Heights Dies at 93                     By Martha Schwendener     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/arts/des
                        ign/alison-knowles-bampfa-berkeley-fluxus-
2022-07-18   2022-07-19 art.html                                     When Making A Salad Felt Radical              By Jori Finkel            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/books/r
                        eview-factotum-book-trade-memoir-marius- Love How Old Books Smell Keep It to
2022-07-18   2022-07-19 kociejowski.html                             Yourself                                      By Dwight Garner          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/busines
                        s/amazon-is-giving-prime-video-a-face-       Media Pultizers Reject Appeal By Trump to
2022-07-18   2022-07-19 lift.html                                    Rescind Prize                                 By Brooks Barnes          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/busines Delta to Buy 100 Max Jets From Boeing
2022-07-18   2022-07-19 s/delta-air-lines-boeing-max.html            Despite Issue                                 By Niraj Chokshi          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/busines Mattel Opens Its Toy Vault To Revive
2022-07-18   2022-07-19 s/mattel-major-matt-mason.html               Dormant Brands                                By Gregory Schmidt        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/busines Media Pultizers Reject Appeal By Trump to
2022-07-18   2022-07-19 s/media/pulitzer-prizes-trump.html           Rescind Prize                                 By Katie Robertson        TX 9-189-149   2022-09-01



                                                                                 Page 4018 of 5793
                        https://www.nytimes.com/2022/07/18/busines Reports From Nations Big Banks Send            By Stephen Gandel and Isabella
2022-07-18   2022-07-19 s/second-quarter-bank-earnings.html         Mixed Signals on Economy                      Simonetti                        TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/busines Merger Deal Involving Trump Firm Said to
2022-07-18   2022-07-19 s/trump-media-truth-social.html             Leak                                          By Matthew Goldstein             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/busines Uber Agrees to Pay Disabled Riders to Settle
2022-07-18   2022-07-19 s/uber-lawsuit-ada.html                     Federal Suit                                  By Kellen Browning               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/health/y Pregnancy Often Traumatic For Young Girls
2022-07-18   2022-07-19 oung-girls-pregnancy-childbirth.html        Experts Say                                   By Stephanie Nolen               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/movies/ New Admissions Add to Shadows Over a
2022-07-18   2022-07-19 yazidi-documentary-sabaya.html              Film                                          By Jane Arraf                    TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/18/nyregio US Pays 42 Million to Victims of Manhattan
2022-07-18   2022-07-19 n/mcc-officer-sex-abuse-victims-payout.html Jail Guards Sex Abuse                         By Benjamin Weiser               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/nyregio
                        n/nyc-monkeypox-health-department-          New York Doctors Split Over Health
2022-07-18   2022-07-19 information-inaccurate.html                 Departments Message on Monkeypox              By Joseph Goldstein              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/opinion
2022-07-18   2022-07-19 /climate-politics-manchin.html              Climate Politics Are Worse Than You Think     By Paul Krugman                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/opinion Why Is the Right Forcing Women Who
2022-07-18   2022-07-19 /miscarriages-abortion-ban.html             Miscarry to Suffer                            By Michelle Goldberg             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/opinion
2022-07-18   2022-07-19 /putin-russia-ukraine-winning.html          Putin Believes Hes Winning                    By Tatiana Stanovaya             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/opinion Sometimes the Earth Makes the Rest Of the
2022-07-18   2022-07-19 /trump-biden-webb-space.html                Universe Look Very Good                       By Gail Collins and Bret Stephens TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/science Big Advantage An Elephant Trunks Strength
2022-07-18   2022-07-19 /elephant-trunks-skin.html                  Its Really Just Skin Deep                     By Richard Sima                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/sports/b An Unlikely AllStar Do Not Be Fooled
2022-07-18   2022-07-19 aseball/jose-trevino-yankees-all-star.html  Unlike the Umpires                            By Gary Phillips                 TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/18/sports/b The Perils of Trying to Find the Right Deal
2022-07-18   2022-07-19 aseball/juan-soto-washington-nationals.html From the Top of the Food Chain                By James Wagner                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/sports/b
                        aseball/kershaw-mcclanahan-dodger-          Return to Dodger Stadium Will Leave The
2022-07-18   2022-07-19 stadium.html                                Hitters in the Light and Dark                 By Tyler Kepner                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/sports/k Viking Roar Announces Best Rivalry In
2022-07-18   2022-07-19 arsten-warholm-rai-benjamin.html            Running                                       By Matthew Futterman             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/sports/
                        world-championships-shacarri-richardson-
2022-07-18   2022-07-19 molly-seidel.html                           Whos Not in Eugene Plenty of Big Names        By Kevin Draper                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/technol                                                By David McCabe and Karen
2022-07-18   2022-07-19 ogy/amazon-ceo-andy-jassy.html              In New Era Jassy Breaks From Bezos            Weise                            TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/theater/
2022-07-18   2022-07-19 heart-review-jade-anouka.html               First a Starter Marriage Then Real Love       By Elisabeth Vincentelli         TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/18/us/covi Muted Warnings As Virus Surges Across          By Julie Bosman Thomas Fuller
2022-07-18   2022-07-19 d-us-outlook.html                           Country                                       and Edgar Sandoval               TX 9-189-149    2022-09-01



                                                                                  Page 4019 of 5793
                        https://www.nytimes.com/2022/07/18/us/gree Armed Bystander Thwarts Shooting at
2022-07-18   2022-07-19 nwood-indiana-mall-shooting.html            Indiana Mall Two Minutes Into Attack         By Eliza Fawcett                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/us/jody- Georgia Congressman Gets Subpoena in         By Richard Fausset and Danny
2022-07-18   2022-07-19 hice-subpoena-trump-georgia.html            Trump Inquiry                                Hakim                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/us/polit
                        ics/abortion-black-voters-democrats-        Democrats Take Abortion Battle To Black
2022-07-18   2022-07-19 biden.html                                  Voters                                       By Zolan KannoYoungs             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/us/polit Possible Noose Is Found Near a Secret CIA By Julian E Barnes and Adam
2022-07-18   2022-07-19 ics/cia-noose-racism.html                   Office                                       Goldman                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/us/polit Fauci Sheds Some Light On His Plan To Step
2022-07-18   2022-07-19 ics/fauci-retirement.html                   Down                                         By Sheryl Gay Stolberg           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/us/polit Manchins No Risks Derailing Global Tax       By Alan Rappeport and Jim
2022-07-18   2022-07-19 ics/joe-manchin-tax.html                    Deal                                         Tankersley                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/us/polit House Aides In Eight Offices Seek the Right
2022-07-18   2022-07-19 ics/us-house-unions-congress.html           To Form Unions                               By Stephanie Lai                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/world/a Japans Leader Eases Away From Long
2022-07-18   2022-07-19 sia/japan-kishida-abe-legacy.html           Shadow of Abe                                By Motoko Rich and Hikari Hida   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/world/a
                        sia/pakistan-imran-khan-punjab-             Ousted Leaders Party Prevails in Punjab      By Salman Masood and Christina
2022-07-18   2022-07-19 elections.html                              Deepening Pakistan Strife                    Goldbaum                         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/world/e Why No AirConditioning Usually Its Just Not
2022-07-18   2022-07-19 urope/britain-uk-air-conditioning-heat.html Needed                                       By Daniel Victor                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/world/e
                        urope/hammersmith-bridge-foil-wrap-         An Aging Bridge Gets a Foil Wrapper as a
2022-07-18   2022-07-19 heat.html                                   Shield                                       By Megan Specia                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/world/e In France Contending With Heat And
2022-07-18   2022-07-19 urope/heat-wildfires-france.html            Wildfires                                    By Aurelien Breeden              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/world/e Fight Global Warming Parisians Say But
2022-07-18   2022-07-19 urope/paris-trees-global-warming.html       Dont Hurt the Trees                          By Constant Mheut                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/world/e
2022-07-18   2022-07-19 urope/uk-london-extreme-heat.html           Blast of Heat Brings Britain To a Standstill By Mark Landler                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/world/e Zelensky Takes Aim at a Hidden Enemy          By Andrew E Kramer and Valerie
2022-07-18   2022-07-19 urope/zelensky-ukraine-russian-spies.html   Ukrainians Aiding Russia                     Hopkins                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/world/u At Site of Atrocities Near Kyiv Family Copes
2022-07-18   2022-07-19 kraine-survivors-bucha-displaced.html       With Wars Trauma                             By Michael Schwirtz              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/climate A Parched Continent Scientists Explain Why
2022-07-18   2022-07-19 /europe-heat-wave-science.html              Extreme Heat Is Thrashing Europe             By Henry Fountain                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/live/2022/07/18/us/
                        parkland-trial-school-shooting/four-years-                                               By Patricia Mazzei Nicholas
                        after-the-parkland-school-shooting-a-       Trial of Parkland Gunman Opens With          BogelBurroughs and Frances
2022-07-18   2022-07-19 sentencing-trial-is-set-to-begin            Chilling Recordings of Attack                Robles                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/us/polit
2022-07-19   2022-07-19 ics/matthew-pottinger-jan-6-hearing.html    Trump National Security Aide to Testify      By Maggie Haberman               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/climate Wind Farm May Rise on Spanish Seascape        By David Gelles and Samuel
2022-07-19   2022-07-19 /spain-floating-wind-farm.html              That Inspired Dal                            Aranda                           TX 9-189-149   2022-09-01



                                                                               Page 4020 of 5793
                        https://www.nytimes.com/2022/07/19/science The Glowing Lumpfish Not All That
2022-07-19   2022-07-19 /lumpfish-glow-ultraviolet.html             Beautiful Except Under UV Light              By Annie Roth           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/us/polit WideOpen Primary Races On Both Sides in
2022-07-19   2022-07-19 ics/maryland-primary-elections.html         Maryland                                     By Jonathan Weisman     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/arts/mu After Centuries a Boys Choir Now Admits
2022-07-15   2022-07-20 sic/girls-boys-choirs-johns-cambridge.html  Girls                                        By Alex Marshall        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/briefing
2022-07-15   2022-07-20 /chinas-economic-covid-slump.html           Chinas Economic Covid Slump                  By Jonathan Wolfe       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/dining/
                        zucchini-slice-recipe-australia-new-
2022-07-15   2022-07-20 zealand.html                                Zucchini Delight From Down Under             By Melissa Clark        TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/16/sports/j
2022-07-17   2022-07-20 amaica-world-track-field-championships.html In Sprints Jamaican Women Take a Star Turn By Kris Rhim              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/obituari Nikolai Krogius 91 Mental Adviser To
2022-07-17   2022-07-20 es/nikolai-krogius-dead.html                Spassky in Match of the Century            By Dylan Loeb McClain     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/opinion Why a MiddleClass Lifestyle Remains Out of
2022-07-17   2022-07-20 /inflation-prices-affordability.html        Reach for So Many                          By Ezra Klein             TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/18/arts/dan
2022-07-18   2022-07-20 ce/jawole-willa-jo-zollar-wins-gish-prize.html Gish Prize Honors A Trailblazer           By Kalia Richardson     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/dining/ To Learn Grilling Techniques Straight Out of
2022-07-18   2022-07-20 92nd-street-y-laser-wolf.html                  Israel                                    By Florence Fabricant   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/dining/ To Sip Hudson Valley Spritz Has a Cassis
2022-07-18   2022-07-20 c-cassis-cc-spritz.html                        Pedigree                                  By Florence Fabricant   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/dining/ To Savor Grab a Sweet Dessert Inside a
2022-07-18   2022-07-20 churros-chikalicious-dessert-bar.html          Churro Cone                               By Florence Fabricant   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/dining/f To Sample French Cheese Board Moves to a
2022-07-18   2022-07-20 rench-cheese-board-nyc.html                    New Place                                 By Florence Fabricant   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/dining/j
2022-07-18   2022-07-20 ewish-deli-exhibit.html                        A Tale Told in Pickles and Pastrami       By Adam Nagourney       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/dining/j To Serve Ceramist Produces SpecialEdition
2022-07-18   2022-07-20 ono-pandolfi-ceramics.html                     Sets                                      By Florence Fabricant   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/dining/
                        korean-barbecue-sanhowon-san-
2022-07-18   2022-07-20 francisco.html                                 Korean Barbecue In Any Language           By Tejal Rao            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/dining/
2022-07-18   2022-07-20 sockeye-salmon-pride-of-bristol-bay.html       To Order Banner Season For Sockeye Salmon By Florence Fabricant   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/dining/
2022-07-18   2022-07-20 wenwen-restaurant-review-pete-wells.html       A Home for Taiwanese Food Lard and All    By Pete Wells           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/opinion Dont Like the Souths Politics Move Here and
2022-07-18   2022-07-20 /american-south-democrats.html                 Vote                                      By Margaret Renkl       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/sports/h Hobie Billingsley 95 Who Coached A College
2022-07-18   2022-07-20 obie-billingsley-dead.html                     Diving Dynasty Is Dead                    By Frank Litsky         TX 9-189-149   2022-09-01




                                                                                 Page 4021 of 5793
                        https://www.nytimes.com/2022/07/18/sports/s A Cameraman Becomes A Steeplechase
2022-07-19   2022-07-20 teeplechase-cameraman.html                  Obstacle                                  By Scott Cacciola                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/18/theater/
2022-07-19   2022-07-20 marylouise-burke-ephiphany.html             An Impossible Dream Lived Over a Lifetime By Laura CollinsHughes           TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/19/arts/des
2022-07-19   2022-07-20 ign/claes-oldenburg-appraisal-sculptor.html Claes Oldenburg Was a Big Deal              By Deborah Solomon               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/arts/mu
2022-07-19   2022-07-20 sic/lizzo-special-review.html                Lizzos Spirit Of Uplift Carries On         By Lindsay Zoladz                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/arts/mu
2022-07-19   2022-07-20 sic/pierre-audi-aix-festival.html            A New Era For a Festival In France         By Zachary Woolfe                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/arts/ritz Ritzi Jacobi 80 Who Built Worlds Out of
2022-07-19   2022-07-20 i-jacobi-dead.html                           Graphite and Goat Hair Dies                By Nina Siegal                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/arts/tele Employees For Colbert Will Avoid
2022-07-19   2022-07-20 vision/stephen-colbert-arrests-capitol.html  Prosecution                                By Mike Ives                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/books/d Trailblazing Publisher of Simon amp Schuster By Elizabeth A Harris and
2022-07-19   2022-07-20 ana-canedy-simon-schuster.html               Flagship Steps Down                        Alexandra Alter                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/books/r
2022-07-19   2022-07-20 eview-pink-hotel-liska-jacobs.html           Delusional Newlyweds Never See It Coming By Molly Young                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/busines France Will Renationalize Energy Giant for
2022-07-19   2022-07-20 s/france-edf-buyout.html                     98 Billion                                 By Jason Karaian                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/busines
2022-07-19   2022-07-20 s/hasbro-2q-earnings.html                    Hasbro Profits Despite Facing Higher Costs By Gregory Schmidt               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/busines Million Subscribers Defect And Netflix Sighs
2022-07-19   2022-07-20 s/media/netflix-earnings.html                in Relief                                  By Nicole Sperling               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/busines
2022-07-19   2022-07-20 s/senior-housing.html                        Expanding Options for Senior Housing       By Linda Baker                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/busines
2022-07-19   2022-07-20 s/summer-interns.html                        Hey Is Anybody Watching the Interns        By Emma Goldberg                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/climate President Rules Out Emergency to Unlock      By Lisa Friedman Coral Davenport
2022-07-19   2022-07-20 /biden-climate-emergency.html                Climate Change Tools                       and Elena Shao                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/dining/
2022-07-19   2022-07-20 how-to-spend-a-day-in-brighton-beach.html How to Spend a Tasty Day in Brighton Beach By Nikita Richardson                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/dining/ Vacations Bar Rooftop With Tropical Drinks
2022-07-19   2022-07-20 nyc-restaurant-news.html                     Opens in Bushwick Brooklyn                 By Florence Fabricant            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/dining/
2022-07-19   2022-07-20 oklahoma-onion-burger-recipe.html            Tweak Sure Improve Not Really              By J Kenji LpezAlt               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/health/ BlackWhite Gap Widens In Rise in Fatal
2022-07-19   2022-07-20 overdose-pandemic-race.html                  Overdoses                                  By Jan Hoffman                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/movies/
                        aftershock-documentary-tonya-lewis-lee-paula
2022-07-19   2022-07-20 eiselt.html                                  Black Maternal Mortality Moves Into Focus By Maya Salam                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/nyregio
2022-07-19   2022-07-20 n/bill-de-blasio-congress.html               De Blasio Ends Congressional Campaign      By Nicholas Fandos               TX 9-189-149   2022-09-01




                                                                               Page 4022 of 5793
                        https://www.nytimes.com/2022/07/19/nyregio No Charges for Store Clerk Who Fatally        By Jeffery C Mays and Jonah E
2022-07-19   2022-07-20 n/jose-alba-bodega-charges-nyc.html        Stabbed Man                                   Bromwich                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/nyregio Law amp Order Crew Member Is Killed in
2022-07-19   2022-07-20 n/law-and-order-crew-member-shot.html      Brooklyn                                      By Ed Shanahan                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/nyregio Inexperienced Candidate Is a Sure Thing His
2022-07-19   2022-07-20 n/menendez-new-jersey-congress.html        Name Helps                                    By Tracey Tully                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/science Ann Shulgin 91 Explored Psychedelics and
2022-07-19   2022-07-20 /ann-shulgin-dead.html                     Took Readers Along for the Trips              By Clay Risen                   TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/19/science The Two Companies Vying to Beat Musk and
2022-07-19   2022-07-20 /mars-landing-relativity-space-spacex.html  SpaceX to Mars                          By Kenneth Chang                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/sports/b He Won The Derby Now Soto Is Hoping To
2022-07-19   2022-07-20 aseball/juan-soto-home-run-derby.html       Win A Jackpot                           By Tyler Kepner                      TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/19/sports/b Minor League Players Are Making Enough
2022-07-19   2022-07-20 aseball/mlb-manfred-minors-living-wage.html Commissioner Says                           By James Wagner                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/sports/g
2022-07-19   2022-07-20 olf/juli-inkster-evian.html                  21 under par She did it                    By Michael Arkush                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/sports/g
2022-07-19   2022-07-20 olf/national-golf-programs.html              Is it time for a US national team          By Paul Sullivan                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/sports/s
                        occer/uswnt-canada-concacaf-w-               With a Blend of Youth and Veterans US
2022-07-19   2022-07-20 championship.html                            Women Claim an Olympic Spot                By Andrew Das                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/technol Twitter and Musk Prepare To Go to Trial in
2022-07-19   2022-07-20 ogy/elon-musk-twitter-trial.html             October                                    By Kate Conger                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/us/arme Lifesaving Act in Indiana Mall Renews        By Richard Fausset Eliza Fawcett
2022-07-19   2022-07-20 d-bystander-indiana-mall-shooting.html       Debate on Gun Access                       and Serge F Kovaleski            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/us/caitli
                        n-bernard-indiana-abortion-doctor-           In Indiana Practitioner Moves to Sue State By Ava Sasani and Sheryl Gay
2022-07-19   2022-07-20 lawsuit.html                                 Official                                   Stolberg                         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/us/colle Some Colleges Resist Students Push for      By Anemona Hartocollis and
2022-07-19   2022-07-20 ges-abortion-pill.html                       Abortion Pills                             Stephanie Saul                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/us/geor Georgia Prosecutors May Charge All 16
2022-07-19   2022-07-20 gia-trump-electors.html                      WouldBe Trump Electors                     By Danny Hakim                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/us/mich Victim of Brutality by the Insular Boston
2022-07-19   2022-07-20 ael-cox-boston-police-commissioner.html      Police Dept Is Named Its Boss              By Ellen Barry                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/us/pand As Pace of Learning Rebounds Students Are
2022-07-19   2022-07-20 emic-learning-loss-recovery-time.html        Still Years Behind                         By Sarah Mervosh                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/us/polit
2022-07-19   2022-07-20 ics/bannon-trial-jan-6.html                  Bannon Violated the Law a Prosecutor Says By Aishvarya Kavi and Alan Feuer TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/19/us/polit Russian Meddling Threat Persists Amid War
2022-07-19   2022-07-20 ics/fbi-nsa-russia-midterm-elections.html    Officials Say                              By Adam Goldman                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/us/polit For Walker No Missteps In New Start On the
2022-07-19   2022-07-20 ics/herschel-walker-campaign.html            Stump                                      By Maya King                     TX 9-189-149   2022-09-01




                                                                                Page 4023 of 5793
                        https://www.nytimes.com/2022/07/19/us/polit House Wary of Court Approves A Shield for
2022-07-19   2022-07-20 ics/house-gay-marriage-bill.html            SameSex Marriage                            By Stephanie Lai                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/us/polit Secret Service Says Jan 6 Texts Might Be    By Zolan KannoYoungs and
2022-07-19   2022-07-20 ics/secret-service-texts-jan-6.html         Lost                                        Maggie Haberman                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/us/polit The Midterm Races That Give Democrats
2022-07-19   2022-07-20 ics/secretary-of-state-races-trump.html     Nightmares                                  By Blake Hounshell                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/us/polit Penned in Desert Camps the Children of ISIS
2022-07-19   2022-07-20 ics/syria-isis-women-children.html          Are Stuck in Limbo                          By Charlie Savage                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/world/a
                        mericas/brazil-bolsonaro-election-fraud-    Bolsonaro Gathers Foreign Diplomats to Sow
2022-07-19   2022-07-20 claim.html                                  Doubt on Brazils Election                   By Andr Spigariol and Jack Nicas   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/world/a Vanished Bank Savings Test Chinas
2022-07-19   2022-07-20 sia/china-bank-scandal-protest.html         Leadership                                  By Vivian Wang and Zixu Wang       TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/19/world/a Out of Fuel and Food Sri Lanka Instead Runs By Mujib Mashal Emily Schmall
2022-07-19   2022-07-20 sia/sri-lanka-economy.html                 On Heaps of Patience                          Skandha Gunasekara and Atul Loke TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/19/world/a Australian Wildlife Report Details Crisis and
2022-07-19   2022-07-20 ustralia/environment-report.html           Decline                                       By Yan Zhuang                    TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/19/world/e
2022-07-19   2022-07-20 urope/britain-homes-heat-wave.html         UK Adapting New Homes To Rising Heat          By Daniel Victor                 TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/19/world/e Europe Swelters As Records Fall And Fires
2022-07-19   2022-07-20 urope/europe-uk-heat-record-wildfires.html Roar                                           By Mark Landler                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/19/world/e Campgrounds in Ashes As Fires Ravage
2022-07-19   2022-07-20 urope/france-wildfires-europe-heat-wave.html France                                       By Constant Mheut                TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/19/world/e                                           By Anton Troianovski and Farnaz
2022-07-19   2022-07-20 urope/putin-ayatollah-erdogan-summit.html Irans Support Of War Offers Putin New Ally Fassihi                               TX 9-189-149   2022-09-01

                        https://www.nytimes.com/interactive/2022/07/ Which Elected Leaders Should Do More on      By Mira Rojanasakul and Catrin
2022-07-19   2022-07-20 19/climate/climate-us-government-poll.html Climate What Americans Say in Four Maps        Einhorn                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/live/2022/07/18/spo
                        rts/track-world-championships/mutaz-essa- No Sharing This Time In the Mens High
2022-07-19   2022-07-20 barshim                                      Jump                                         By Matthew Futterman             TX 9-189-149   2022-09-01

                        https://www.nytimes.com/live/2022/07/19/wo
                        rld/uk-europe-heat-fires-weather/englands-    Cracking Tarmac Buckling Rails Heat
2022-07-19   2022-07-20 transportation-network-strains-under-the-heat Upends Travel                               By Megan Specia                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/sports/b
                        asketball/miles-bridges-charlotte-hornets-    Hornets Bridges to Face Felony Domestic
2022-07-20   2022-07-20 domestic-violence.html                        Violence Charges                            By Sopan Deb                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/us/polit
2022-07-20   2022-07-20 ics/dan-cox-maryland-governors-race.html      Maryland Awaits Results of Spirited Races   By Reid J Epstein                TX 9-189-149   2022-09-01




                                                                                  Page 4024 of 5793
                        https://www.nytimes.com/2022/07/20/climate                                                By Somini Sengupta and Melissa
2022-07-20   2022-07-20 /global-energy-crisis-climate-war.html      Heat and War Hamper Quest To Fix Climate      Eddy                             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/opinion Britain Is Melting and the Government Isnt
2022-07-20   2022-07-20 /britain-heatwave-conservatives.html        Helping                                       By Moya LothianMcLean            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/sports/s What Its Like to Coach A Prodigy and
2022-07-20   2022-07-20 ydney-mclaughlin-coach.html                 ExRival                                       By Matthew Futterman             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/opinion
2022-07-16   2022-07-21 /covid-empty-nest.html                      Learning to Let Go of My Adult Kids Again     By Helen Schulman                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/arts/mu
                        sic/bad-bunny-brent-faiyaz-billboard-       Bad Bunny Retains His Top Spot on
2022-07-18   2022-07-21 chart.html                                  Billboard Charts                              By Ben Sisario                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/style/ng
2022-07-18   2022-07-21 l-app-anonymous.html                        Please Tell Me What I Dont Want to Hear       By Valeriya Safronova            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/world/a Flood Flee Fix Repeat Living on a Knifes
2022-07-18   2022-07-21 ustralia/sydney-floods.html                 Edge in Australia                             By Yan Zhuang                    TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/19/arts/tele The End of a BronxBred LateNight Talk
2022-07-19   2022-07-21 vision/desus-and-mero-split-showtime.html Show                                            By Amanda Holpuch                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/opinion Manchin Is Just a Symptom Its the Senate
2022-07-19   2022-07-21 /manchin-senate-climate.html                 Thats Sick                                   By Jamelle Bouie                 TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/19/sports/g
2022-07-19   2022-07-21 olf/players-to-watch-evian-championship.html Five Players to Watch At the Fourth Major    By Michael Arkush                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/us/pica Authorities Seize Sketch By Picasso At
2022-07-19   2022-07-21 sso-painting-ibiza-airport.html                Airport                                    By Johnny Diaz                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/arts/dan
                        ce/daniel-camargo-american-ballet-             The New Guy Whos Also a Blast From the
2022-07-20   2022-07-21 theater.html                                   Past                                       By Gia Kourlas                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/arts/jac
2022-07-20   2022-07-21 ob-burns-film-center-westchester.html          For a Revered Cinema A Season of Turmoil   By Matt Stevens                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/arts/mu
                        sic/lincoln-center-summer-for-the-city-mostly-
2022-07-20   2022-07-21 mozart.html                                    Summer Changes Streamline A Festival       By Zachary Woolfe                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/arts/mu William Hart 77 Lead Singer and Driving
2022-07-20   2022-07-21 sic/william-hart-dead.html                     Force of the Delfonics Dies                By Clay Risen                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/books/h HarperCollins Strikers Seek Diversity and      By Elizabeth A Harris and
2022-07-20   2022-07-21 arpercollins-strike.html                       Higher Wages                               Alexandra Alter                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/books/r
                        eview-kingdoms-of-savannah-george-dawes-
2022-07-20   2022-07-21 green.html                                     Oddballs Amble Around a Murder Mystery     By Alexandra Jacobs              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/busines Workers Claim Chipotle Closed To Block
2022-07-20   2022-07-21 s/economy/chipotle-union-maine.html            Union                                      By Noam Scheiber                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/busines
                        s/economy/trade-adjustment-assistance-
2022-07-20   2022-07-21 jobs.html                                      Retraining Program May Be in Jeopardy      By Ana Swanson                   TX 9-189-149   2022-09-01



                                                                                 Page 4025 of 5793
                        https://www.nytimes.com/2022/07/20/busines
                        s/energy-environment/nordstream-vladimir- Putin Has Germany on Edge With Curtailed     By Melissa Eddy and Patricia
2022-07-20   2022-07-21 putin-russian-gas.html                     Gas Pipeline                                Cohen                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/busines                                             By Eshe Nelson Emma Bubola and
2022-07-20   2022-07-21 s/italy-economy.html                       Pain of 80s Economic Crisis Haunts Italy    Camilla Ferrari                TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/20/busines Reporter Says Taliban Forced Her to Publicly
2022-07-20   2022-07-21 s/media/taliban-reporter-lynne-odonnell.html Retract Some Articles                      By Katie Robertson           TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/busines
2022-07-20   2022-07-21 s/mexico-energy-usmca.html                   US Will Challenge Mexico on Energy Policy By Ana Swanson                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/busines Tesla Profit Falls Sharply Hit by Supply
2022-07-20   2022-07-21 s/tesla-earnings-elon-musk.html              Chain Problems                             By Jack Ewing                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/busines Senate Bill Aims to Bolster Competitiveness
2022-07-20   2022-07-21 s/us-china-semiconductor-compete.html        With China                                 By Catie Edmondson           TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/health/f After Crises FDA Seeks Outside Audit Of Its
2022-07-20   2022-07-21 da-food-safety-tobacco.html                  Actions                                    By Christina Jewett          TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/movies/
2022-07-20   2022-07-21 persuasion-netflix-dakota-johnson.html       Pondering Sense Sensibility And More       By Sarah Lyall               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/nyregio Massacre Haunts Workers At Buffalo
2022-07-20   2022-07-21 n/buffalo-supermarket-tops-reopens.html      Supermarket                                By Troy Closson              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/nyregio Boy 14 Dies When Man Shoots Him In
2022-07-20   2022-07-21 n/teen-boys-shot-east-harlem.html            Harlem                                     By Ed Shanahan               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/opinion                                              By Eva Goldfarb and Lisa
2022-07-20   2022-07-21 /after-roe-sex-ed-is-even-more-vital.html    After Roe Sex Education Is Even More Vital Lieberman                    TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/opinion Stop Praising Shinzo Abe and His Divisive
2022-07-20   2022-07-21 /japan-abe-military.html                     Nationalism                                By Koichi Nakano             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/science Robert F Curl Jr 88 Nobel Prize Winner in
2022-07-20   2022-07-21 /robert-f-curl-jr-dead.html                  Chemistry                                  By Kenneth Chang             TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/20/sports/b Stanton Enjoys July Homecoming And Eyes
2022-07-20   2022-07-21 aseball/stanton-all-star-yankees-dodgers.html October                                    By Tyler Kepner             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/sports/c In the 5000 Semenya Finds a Race She Can
2022-07-20   2022-07-21 aster-semenya-5000.html                       Run                                        By Jer Longman              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/sports/g Stenson Joins the LIV Series and Is Dumped
2022-07-20   2022-07-21 olf/ryder-cup-henrik-stenson-liv-golf.html    as Europes Ryder Cup Captain               By Tariq Panja              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/sports/o
2022-07-20   2022-07-21 lympics/yuzuru-hanyu-retirement.html          Oh Pooh Hanyu Hangs It Up                  By Juliet Macur             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/sports/q Broomsticks Of Quidditch Are Retained Its
2022-07-20   2022-07-21 uidditch-quadball-name-jk-rowling.html        Name Isnt                                  By Alex Traub               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/style/ap
2022-07-20   2022-07-21 ple-jony-ive-headset.html                     Waiting for a New Reality to Drop at Apple By Vanessa Friedman         TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/style/do
2022-07-20   2022-07-21 ubleblind-magazine-psychedelics.html          Keeping the Hippie Dream Alive             By Sam Kestenbaum           TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/20/style/su
2022-07-20   2022-07-21 mmer-pandemic-weather.html                    High Hopes for Summer Dashed               By Alyson Krueger           TX 9-189-149    2022-09-01



                                                                                Page 4026 of 5793
                        https://www.nytimes.com/2022/07/20/style/w Gallery Blurs the Lines Between Art and
2022-07-20   2022-07-21 as-this-the-art-party-of-the-summer.html   Circus                                     By John Ortved                   TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/20/technol Twitter Worker Suspected of Spying Heads to
2022-07-20   2022-07-21 ogy/twitter-saudi-trial-ahmad-abouammo.html Trial                                      By Kate Conger                  TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/20/theater/
2022-07-20   2022-07-21 immersive-next-to-normal.html               Deconstructed and Yet Still Next to Normal By Jose Sols                    TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/20/theater/
                        williamstown-most-happy-concert-man-of- Bold Harmonies And a Potent Play Serve to
2022-07-20   2022-07-21 god.html                                    Provoke                                    By Laura CollinsHughes          TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/20/us/abor Risks to Patients as Doctors Deal With      By J David Goodman and Azeen
2022-07-20   2022-07-21 tion-save-mothers-life.html                 Abortion Exceptions                        Ghorayshi                       TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/20/us/cens Documents Suggest Trump Plan to Steer
2022-07-20   2022-07-21 us-citizenship-question-oversight.html      Census for Party Gain                      By Miriam Jordan                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/20/us/geor Georgias 6Week Abortion Ban Begins
2022-07-20   2022-07-21 gia-abortion-ban.html                       Immediately After Court Ruling             By Eliza Fawcett                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/20/us/giuli Giuliani Is Ordered to Testify in Georgia  By Danny Hakim and Richard
2022-07-20   2022-07-21 ani-testify-georgia-investigation.html      Investigation of 2020 Election             Fausset                         TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/20/us/heat-
                        advisories-warnings-oklahoma-texas-         RecordBreaking Sizzling Misery Will
2022-07-20   2022-07-21 arkansas.html                               Continue From Sea to Sweating Sea          By Isabella Grulln Paz          TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/20/us/polit
                        ics/american-bridge-trump-federal-election-
2022-07-20   2022-07-21 commission.html                             FEC Is Sued Over Trumps Hints About 2024 By Maggie Haberman                TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/20/us/polit His Legislative Agenda Thwarted Biden       By Coral Davenport Lisa Friedman
2022-07-20   2022-07-21 ics/biden-climate-emergency.html            Takes On Climate Emergency                  and Zolan KannoYoungs            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/us/polit GOP Strategy for Climate Action Is to Delay By Lisa Friedman and Jonathan
2022-07-20   2022-07-21 ics/climate-change-republicans-delay.html   It                                          Weisman                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/us/polit Democrats Help FarRight Candidate Win in
2022-07-20   2022-07-21 ics/maryland-governor-dan-cox.html          Maryland                                    By Reid J Epstein                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/us/polit Pence Supports House Republicans Even
2022-07-20   2022-07-21 ics/pence-trump-midterm-election.html       Allies of Trump                             By Annie Karni                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/us/polit SameSex Marriage Bill Could Move Ahead in
2022-07-20   2022-07-21 ics/same-sex-marriage-bill-senate.html      the Senate                                  By Annie Karni                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/us/polit
2022-07-20   2022-07-21 ics/steve-bannon-trial-lawyer-jan-6.html    Prosecution Rests Its Case Versus Bannon    By Zach Montague                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/us/uval Uvalde Schools Boss Favors Firing of Police
2022-07-20   2022-07-21 de-police-chief-pete-arredondo.html         Chief                                       By Edgar Sandoval                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/world/a
                        mericas/argentina-gender-neutral-           Adis Amigues A War Over Words in
2022-07-20   2022-07-21 spanish.html                                Argentina                                   By Ana Lankes                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/world/a Picking Locks to Enter Homes To Curb
2022-07-20   2022-07-21 sia/china-covid.html                        Covid in Chinese City                       By Amy Chang Chien               TX 9-189-149   2022-09-01




                                                                                Page 4027 of 5793
                        https://www.nytimes.com/2022/07/20/world/a Endangered Sea Turtles Found Stabbed in
2022-07-20   2022-07-21 sia/japan-sea-turtles-stabbed.html         Japan                                        By Hikari Hida and Tiffany May      TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/20/world/a Ally of Ousted Sri Lanka President Is Chosen By Emily Schmall and Mujib
2022-07-20   2022-07-21 sia/sri-lanka-presidential-election.html   to Replace Him                               Mashal                              TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/20/world/e Draghis Government Falls Apart as Unease
2022-07-20   2022-07-21 urope/draghi-italy-prime-minister.html     Shadows Italy and EU                         By Jason Horowitz                   TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/20/world/e Europeans Told To Curb Gas Use Over
2022-07-20   2022-07-21 urope/eu-gas-rationing-russia-war.html     Russia Risk                                  By Matina StevisGridneff            TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/20/world/e Londons Ordeal Shows Europe Is Ill Prepared
2022-07-20   2022-07-21 urope/london-heat-wave-cities.html         For a Warming World                          By Megan Specia                     TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/20/world/e Russia Hints That East Is Not the Only Chunk By Ivan Nechepurenko and Eric
2022-07-20   2022-07-21 urope/putin-ukraine-invasion-russia-war.html It Wants From Ukraine                          Nagourney                         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/world/e Seeking Axis of Good Against US Russia
2022-07-20   2022-07-21 urope/russia-turkey-iran-axis.html            Taps Allies of Convenience                    By Steven Erlanger                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/world/e Fallout From Withering Heat Wave Lingers By Daniel Victor Isabella Kwai
2022-07-20   2022-07-21 urope/uk-europe-heat-wave-fires.html          Even as Temperature Drops                     Euan Ward and Aurelien Breeden TX 9-189-149      2022-09-01
                        https://www.nytimes.com/2022/07/20/world/e And Then There Were 2 Conservatives Pick By Mark Landler and Stephen
2022-07-20   2022-07-21 urope/uk-prime-minister-sunak.html            Finalists for Prime Minister                  Castle                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/world/e Poignant Plea To Congress By First Lady          By Dan Bilefsky Stephanie Lai and
2022-07-20   2022-07-21 urope/ukraine-first-lady-congress.html        Of Ukraine                                    Jim Tankersley                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/world/ Turkish Jets Strike Resort In North Iraq 8 Are By Sangar Khaleel and Cora
2022-07-20   2022-07-21 middleeast/turkey-iraq-tourists-killed.html   Killed                                        Engelbrecht                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/us/polit
2022-07-20   2022-07-21 ics/electoral-count-act-senate.html           Bipartisan Bill Aims to Block Jan 6 Abuses By Carl Hulse                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/us/polit Trump Told Lawmaker In Wisconsin to             By Michael C Bender and Reid J
2022-07-20   2022-07-21 ics/trump-wisconsin-election-call.html        Reject States Electoral Votes                 Epstein                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/us/polit
                        ics/jan-6-hearing-today-trump-dereliction-of- Jan 6 Panel to Make a Case for Dereliction of
2022-07-21   2022-07-21 duty.html                                     Duty                                          By Luke Broadwater                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/style/iv Former President Looms Over ExWifes
2022-07-21   2022-07-21 ana-trump-funeral.html                        Funeral                                       By Jacob Bernstein                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/us/polit Newest Federal Division Will Shoulder           By Sheryl Gay Stolberg and Noah
2022-07-21   2022-07-21 ics/hhs-aspr-biden.html                       Logistics For Health Emergencies              Weiland                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/insider/
2022-07-21   2022-07-21 counting-the-detained-in-egypt.html           Counting the Detained in Egypt                By John Otis                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/sports/ World Champions Abdicated Title Leaves a
2022-07-21   2022-07-21 magnus-carlsen-chess-world-title.html         Void That Is Not Easily Filled                By Dylan Loeb McClain             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/sports/n
2022-07-21   2022-07-21 oah-lyles-track.html                          This Time Lyles Runs With Purpose And Joy By Matthew Futterman                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/todaysp Retaken by Ukraine Battered Prize Lifts          By Carlotta Gall and Mauricio
2022-07-21   2022-07-21 aper/ukraine-russia-war.html                  Morale                                        Lima                              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/us/polit
2022-07-21   2022-07-21 ics/liz-cheney-jan-6-hearing.html             Serving Panel Is Risk Cheney Freely Accepts By Peter Baker                      TX 9-189-149   2022-09-01




                                                                                 Page 4028 of 5793
                        https://www.nytimes.com/2022/07/19/books/
                        where-the-crawdads-sing-delia-owens-murder-For Delia Owens Success Clouded Anew by
2022-07-19   2022-07-22 investigation.html                         Questions                                    By Alexandra Alter             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/movies/
2022-07-19   2022-07-22 a-dark-dark-man-review.html                A Dark Dark Man                              By Ben Kenigsberg              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/movies/ After Maternal Deaths Action Among the
2022-07-19   2022-07-22 aftershock-review.html                     Bereaved                                     By Beandrea July               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/movies/ The Day the Music Died The Story Of Don
2022-07-19   2022-07-22 the-day-the-music-died-review.html         McLeans American Pie                         By Glenn Kenny                 TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/20/arts/des
2022-07-20   2022-07-22 ign/duverney-drawing-gallery-art-review.html Waves With Irresistible and Elemental Force By Seph Rodney                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/movies/
2022-07-20   2022-07-22 nope-review.html                             HiYo ET                                      By AO Scott                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/movies/
2022-07-20   2022-07-22 the-gray-man-review.html                     Amid Explosions The Quips Abound             By Amy Nicholson             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/nyregio Albert Vann 87 Longtime Legislator Who
2022-07-20   2022-07-22 n/albert-vann-dead.html                      Built a Black Base in Brooklyn               By Sam Roberts               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/nyregio
2022-07-20   2022-07-22 n/ny-mask-mandates-schools-transit.html      Hochul Retains a Transit Mask Mandate        By Sharon Otterman           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/opinion Moms Shouldnt Have to Manage the
2022-07-20   2022-07-22 /moms-scheduling.html                        Household Scheduling                         By Jessica Grose             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/technol StartUps Loans to Employees May Burn
2022-07-20   2022-07-22 ogy/loans-startup-employees.html             Them in a Downturn                           By Erin Griffith             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/arts/des
2022-07-21   2022-07-22 ign/jewish-museum-pop-art.html               In a Manic Era a Shift in Culture            By Holland Cotter            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/arts/des
                        ign/kapwani-kiwanga-new-museum-police-
2022-07-21   2022-07-22 surveillance.html                            Turning Out the Lights to Illuminate History By Aruna DSouza              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/arts/mu
                        sic/jonathon-heyward-baltimore-symphony-
2022-07-21   2022-07-22 orchestra.html                               Milestone for the Baltimore Symphony         By Javier C Hernndez         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/arts/mu
2022-07-21   2022-07-22 sic/smoke-jazz-club.html                     Another New Beginning for a Jazz Club        By Alan Scherstuhl           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/arts/tele
                        vision/genndy-tartakovsky-blown-away-
2022-07-21   2022-07-22 streaming.html                               This Weekend I Have                          By Margaret Lyons            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/books/a A New Lexicon That Is Proudly African
2022-07-21   2022-07-22 frican-american-dictionary.html              American                                     By Elizabeth A Harris        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/busines
2022-07-21   2022-07-22 s/amazon-one-medical-deal.html               Amazon Set To Purchase One Medical           By Karen Weise               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/busines American Reports Revenue Jump but Profits
2022-07-21   2022-07-22 s/american-airlines-earnings.html            Tumble                                       By Niraj Chokshi             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/busines China Fines Didi 12 Billion as Crackdown on
2022-07-21   2022-07-22 s/china-fines-didi.html                      Tech Sector Continues                        By Paul Mozur and John Liu   TX 9-189-149   2022-09-01



                                                                                Page 4029 of 5793
                        https://www.nytimes.com/2022/07/21/busines
2022-07-21   2022-07-22 s/ecb-interest-rates-inflation.html        Europe Raises Rates to Fight Soaring Prices   By Eshe Nelson                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/21/busines Truckers Shut Down Oaklands Port In Protest
2022-07-21   2022-07-22 s/economy/port-oakland-truckers-protest.html Over California Labor Law                   By Kurtis Lee                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/busines Ford Will Buy Battery Packs From China to
2022-07-21   2022-07-22 s/ford-electric-vehicle-battery-china.html   Reach EV Goal                               By Neal E Boudette              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/busines ExCoinbase Worker Among 3 Charged With By Matthew Goldstein and David
2022-07-21   2022-07-22 s/insider-trading-crypto-coinbase.html       Insider Trading of Crypto                   YaffeBellany                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/busines Mattels 20 Sales Increase Shows Resilience of
2022-07-21   2022-07-22 s/mattel-2q-earnings.html                    Toys                                        By Gregory Schmidt              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/busines Rivians Electric Vans Make Amazon Debut
2022-07-21   2022-07-22 s/rivian-amazon-delivery-vans.html           Now for the Hard Part                       By Jack Ewing and Karen Weise   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/busines In Face of Uncertainties Snap Forgoes
2022-07-21   2022-07-22 s/snap-earnings.html                         Forecasting                                 By Kalley Huang                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/busines Cunning Spy for Saudis or Dutiful Employee
2022-07-21   2022-07-22 s/twitter-saudi-spying-trial.html            Trial of ExTwitter Worker Opens             By Kate Conger                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/busines
                        s/youtube-will-take-down-unsafe-abortion-    YouTube Plans A Closer Look At Content
2022-07-21   2022-07-22 how-to-videos.html                           About Abortion                              By Nico Grant                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/climate Painful Deadline Nears in Colorado River
2022-07-21   2022-07-22 /colorado-river-water-cuts.html              Basin                                       By Henry Fountain               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/climate
2022-07-21   2022-07-22 /monarch-butterflies-endangered-iucn.html    Monarch Butterfly Joins Endangered List     By Catrin Einhorn               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/movies/
2022-07-21   2022-07-22 alone-together-review.html                   Alone Together                              By Teo Bugbee                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/movies/
2022-07-21   2022-07-22 anythings-possible-review.html               Anythings Possible                          By Kyle Turner                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/movies/
2022-07-21   2022-07-22 art-of-love-review.html                      Art of Love                                 By Concepcin de Len             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/movies/
2022-07-21   2022-07-22 my-donkey-my-lover-i-review.html             My Donkey My Lover amp I                    By Beatrice Loayza              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/movies/
2022-07-21   2022-07-22 my-old-school-review.html                    Giving an Impostor Benefit of the Doubt     By AO Scott                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/movies/
2022-07-21   2022-07-22 skies-of-lebanon-review.html                 Skies of Lebanon                            By Glenn Kenny                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/movies/
2022-07-21   2022-07-22 the-reverend-review.html                     The Reverend                                By Lisa Kennedy                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/movies/
2022-07-21   2022-07-22 the-wheel-review.html                        The Wheel                                   By Nicolas Rapold               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/nyregio Black Leaders Convey Far Lefts Frustration
2022-07-21   2022-07-22 n/eric-adams-black-progressive.html          With Adams Policies                         By Jeffery C Mays               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/nyregio FBI Search Based on Tip About Hoffa Finds
2022-07-21   2022-07-22 n/jimmy-hoffa-jersey-city-fbi.html           Nothing                                     By Michael Wilson               TX 9-189-149   2022-09-01




                                                                                Page 4030 of 5793
                        https://www.nytimes.com/2022/07/21/nyregio Icon on Lake To Shut Doors Next Autumn As
2022-07-21   2022-07-22 n/loeb-boathouse-central-park-nyc.html      Costs Rise                               By Lola Fadulu                      TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/21/nyregio Penn Stations 7 Billion Revamp Goes Ahead By Matthew Haag and Patrick
2022-07-21   2022-07-22 n/penn-station-redevelopment.html           but US Money Is Pivotal                  McGeehan                            TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/21/nyregio First Polio Case in Nearly 10 Years Is
2022-07-21   2022-07-22 n/polio-case-new-york.html                  Detected in New York State               By Hurubie Meko                     TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/21/nyregio Werner Reich Who Learned Magic in
2022-07-21   2022-07-22 n/werner-reich-dead.html                    Auschwitz Barracks Dies at 94            By Richard Sandomir                 TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/21/opinion
2022-07-21   2022-07-22 /biden-covid.html                           Biden Has Covid Now What                 By Nancy Gibbs                      TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/21/opinion
2022-07-21   2022-07-22 /life-story-or-game.html                    Is Life a Story or a Game                By David Brooks                     TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/21/opinion
2022-07-21   2022-07-22 /republicans-gas-price-inflation.html       Why Republicans Are Having Gas Pains     By Paul Krugman                     TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/21/sports/b
2022-07-21   2022-07-22 aseball/nolan-ryan-documentary.html         The SoftSpoken Purveyor of Sizzling Heat By Scott Miller                     TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/21/sports/c Victory in Pyrenees All but Clinches First
2022-07-21   2022-07-22 ycling/tour-de-france-jonas-vingegaard.html Title for Danish Rider                        By Victor Mather                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/sports/s                                               By David Waldstein and Yuvraj
2022-07-21   2022-07-22 taten-island-cricket-club.html               Through It All Staten Island Cricket Endures Khanna                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/technol Meta Alters Facebook App To Act More Like
2022-07-21   2022-07-22 ogy/facebook-app-changes-home.html           TikTok                                       By Mike Isaac                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/us/geor ExOfficer Gets 30 Months For Violating         By Jeffrey C Kummer and Nicholas
2022-07-21   2022-07-22 ge-floyd-thomas-lane-sentenced.html          Floyds Rights                                BogelBurroughs                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/us/geor Aid to Rival Of Trump Ally Earns Rebuke
2022-07-21   2022-07-22 gia-prosecutor-trump-fani-willis.html        For One DA                                   By Sean Keenan and Danny Hakim TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/21/us/kent
2022-07-21   2022-07-22 ucky-bunker-civil-war.html                   He Built His Home for the Worst It Happened By Campbell Robertson             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/us/lucy-
2022-07-21   2022-07-22 calkins-race-gender-curriculum.html          Furor Erupts Over a Reading Curriculum       By Dana Goldstein                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/us/migr 2 Are Indicted in Deaths of 53 Found Around
2022-07-21   2022-07-22 ant-death-indictment-san-antonio.html        Truck in Texas                               By Amanda Holpuch                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/us/polit
2022-07-21   2022-07-22 ics/american-politics-middle-ground.html     In America Can the Center Hold               By Blake Hounshell               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/us/polit
2022-07-21   2022-07-22 ics/biden-covid-positive.html                Biden Isolating With Covid19 Mild Case Seen By Michael D Shear                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/us/polit House Passes Bill to Ensure Contraception
2022-07-21   2022-07-22 ics/house-contraception.html                 Rights After Roes Reversal                   By Annie Karni                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/us/polit Still a Mystery The Delayed Arrival of the    By Mark Mazzetti and Maggie
2022-07-21   2022-07-22 ics/national-guard-january-6-riot.html       National Guard                               Haberman                         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/us/polit
                        ics/secret-service-criminal-inquiry-missing- Secret Service Is Facing Inquiry Into Erased By Zolan KannoYoungs and
2022-07-21   2022-07-22 texts.html                                   Texts                                        Maggie Haberman                  TX 9-189-149   2022-09-01




                                                                                Page 4031 of 5793
                        https://www.nytimes.com/2022/07/21/us/polit Abrams Aims to Put Abortion at the Center of
2022-07-21   2022-07-22 ics/stacey-abrams-georgia-abortion.html     the Race for Georgias Governorship           By Maya King                 TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/21/us/polit Supreme Court Refuses for Now to Restore a
2022-07-21   2022-07-22 ics/supreme-court-biden-immigration.html    Biden Plan on Immigration                    By Adam Liptak               TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/21/world/a An An Giant Male Panda Dies at Record Age
2022-07-21   2022-07-22 sia/an-an-giant-panda-dead.html             of 35                                        By Jin Yu Young              TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/21/world/a Indias Next President Will Make History
2022-07-21   2022-07-22 sia/india-president.html                    When Shes Sworn In                           By Suhasini Raj              TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/21/world/e
                        urope/belgium-iran-prisoner-exchange-       Prisoner Pact With Iranians Draws Critics In
2022-07-21   2022-07-22 treaty.html                                 Brussels                                     By Steven Erlanger           TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/21/world/e Europe Is Carrying On And So Is Coronavirus
2022-07-21   2022-07-22 urope/covid-ba5-wave.html                   Amid Faded Precautions                       By Jason Horowitz            TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/21/world/e Draghis Resignation Bolsters Bid for Power
2022-07-21   2022-07-22 urope/draghi-resigns-italy.html             by Italys Hard Right                         By Jason Horowitz            TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/21/world/e BBC Apologizes for Reporting Royal Nanny
2022-07-21   2022-07-22 urope/royal-nanny-bbc-princess-diana.html Had an Affair                               By Mark Landler                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/world/e
2022-07-21   2022-07-22 urope/russia-gas-germany-pipeline.html       Russia Keeps Germany Guessing On Energy By Melissa Eddy                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/world/e Russia Moves to Shut Down Agency           By Anton Troianovski and Isabel
2022-07-21   2022-07-22 urope/russia-jewish-agency-ban.html          Handling Emigration to Israel            Kershner                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/world/e To Rally Allies Ukraine Points To Fresh
2022-07-21   2022-07-22 urope/ukraine-russia-weapons-war.html        Gains                                    By Andrew E Kramer                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/world/e
                        urope/turkey-says-a-deal-between-ukraine-                                             By Valerie Hopkins Farnaz Fassihi
                        and-russia-to-unblock-grain-exports-will-be-                                          Matina StevisGridneff Safak Timur
2022-07-21   2022-07-22 signed-on-friday.html                        Deal May Get Grain Exports Moving Again and Anton Troianovski              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/article/climate-     What Would Declaring Climate Emergency
2022-07-21   2022-07-22 change-emergency-biden.html                  Mean                                     By Elena Shao                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/nyregio Zeldin GOP Nominee for New York Governor By Nicholas Fandos and Ed
2022-07-22   2022-07-22 n/lee-zeldin-attacked-campaign-event.html    Is Attacked at a Campaign Event          Shanahan                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/theater/
2022-07-22   2022-07-22 the-kite-runner-review.html                  In Moving From Page to Stage a Trip      By Maya Phillips                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/us/polit Witnesses Detail Trumps Refusal To Stop   By Luke Broadwater and Maggie
2022-07-22   2022-07-22 ics/trump-jan-6.html                         Jan6 Mob                                 Haberman                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/insider/
2022-07-22   2022-07-22 twitter-spaces-the-times-live-audio.html     On Twitter Exploring Live Audio          By Kate Dwyer                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/arts/des
                        ign/new-york-italy-looted-artifacts-         New York Returns 142 Looted Artifacts to
2022-07-20   2022-07-23 steinhardt.html                              Italy                                    By Tom Mashberg                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/arts/des
                        ign/oflahertys-gallery-east-village-art-
2022-07-20   2022-07-23 party.html                                   The Inmates Er Artists Take Over         By Max Lakin                      TX 9-189-149   2022-09-01




                                                                                Page 4032 of 5793
                        https://www.nytimes.com/2022/07/20/arts/mu
2022-07-20   2022-07-23 sic/brent-faiyaz-muni-long.html            RampB That Sweats With Ego and Lust          By Jon Caramanica                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/20/busines Sean Kelly 81 National Lampoon
2022-07-20   2022-07-23 s/media/sean-kelly-dead.html               Troublemaker Who Help Set Irreverent Tone By Richard Sandomir                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/busines
2022-07-20   2022-07-23 s/myanmar-coup-video-game.html             Game Fuels Resistance In Myanmar          By Richard C Paddock                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/interactive/2022/07/ This 500YearOld Tree in California Has a
2022-07-20   2022-07-23 20/opinion/ancient-trees-climate-change.html Story to Tell                               By Daniel Griffin                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/arts/ken
                        nedy-center-u2-gladys-knight-george-
2022-07-21   2022-07-23 clooney.html                                 Kennedy Center Nod For Gladys Knight        By Kalia Richardson               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/arts/tele
                        vision/review-paul-newman-and-joanne-
2022-07-21   2022-07-23 woodward.html                                Paul and Joanne Crazy in Love               By Mike Hale                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/busines Downturn on the Horizon A Key Indicator
2022-07-21   2022-07-23 s/yield-curve-inversion.html                 Says Yes                                    By Joe Rennison                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/sports/o
                        lympics/university-of-oregon-world-
2022-07-22   2022-07-23 championships.html                           Animal House Gets a Makeover                By Scott Cacciola                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/nyregio
                        n/nyc-officer-charged-fatal-bronx-           OffDuty Jail Officer Charged With Murder of By Ed Shanahan and Chelsia Rose
2022-07-22   2022-07-23 shooting.html                                Bronx Teenager                              Marcius                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/us/josh- Video Shows Senator Fleeing Mob He Had
2022-07-22   2022-07-23 hawley-video-jan-6.html                      Exhorted With a Raised Fist                 By Catie Edmondson                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/arts/mu
                        sic/castor-and-patience-cincinnati-opera-    A HeartRending Story Told With Poetry and
2022-07-22   2022-07-23 review.html                                  Passion                                     By Zachary Woolfe                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/arts/tele
2022-07-22   2022-07-23 vision/jan-6-hearings-tv.html                A Great Service And Great Television        By James Poniewozik               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/busines
2022-07-22   2022-07-23 s/air-conditioner-electricity-bill.html      Keep Money From Melting Away in Heat        By Ann Carrns                     TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/22/busines
2022-07-22   2022-07-23 s/german-government-gas-supply-uniper.html Germany Bails Out Natural Gas Supplier       By Melissa Eddy and Stanley Reed TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/22/busines CEO Who Helped Rebuild Volkswagen
2022-07-22   2022-07-23 s/herbert-diess-volkswagen-ceo.html        Resigns                                      By Melissa Eddy and Jack Ewing     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/busines Executors of Epstein Estate Face Scrutiny
2022-07-22   2022-07-23 s/jeffrey-epstein-estate-assets.html       Over Millions                                By Matthew Goldstein               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/busines Russia Bucking a Trend Drops Interest Rate
2022-07-22   2022-07-23 s/russia-interest-rate.html                Again                                        By Eshe Nelson                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/busines McMahon Longtime Head of WWE Retires
2022-07-22   2022-07-23 s/vince-mcmahon-retires-wwe.html           Amid Investigation                           By Lora Kelley                     TX 9-189-149   2022-09-01




                                                                                Page 4033 of 5793
                        https://www.nytimes.com/2022/07/22/climate Water Levels Have Fallen To Dire Low in
2022-07-22   2022-07-23 /lake-mead-level-pictures.html              Lake Mead                                  By Winston ChoiSchagrin           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/climate Patrick J Michaels 72 Scientist And Climate
2022-07-22   2022-07-23 /patrick-j-michaels-dead.html               Change Outlier Dies                        By Neil Genzlinger                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/fashion
                        /trends/watches-collaboration-horology-
2022-07-22   2022-07-23 silicon-valley.html                         Not your average watch club                By Kathleen Beckett               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/fashion
2022-07-22   2022-07-23 /watches-bulgari-miniature-movement.html Tiny is big at Bulgari                        By Nazanin Lankarani              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/fashion
2022-07-22   2022-07-23 /watches-jewelry-designers-wear.html        Which watch goes with this                 By Milena Lazazzera               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/fashion
2022-07-22   2022-07-23 /watches-jewelry-qannati-bahrain.html       Worlds under glass                         By Nazanin Lankarani              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/fashion
2022-07-22   2022-07-23 /watches-minhoon-yoo-seoul.html             Its all in the details                     By David Belcher                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/fashion
                        /watches-naked-watchmaker-frederique-
2022-07-22   2022-07-23 constant.html                               The Naked Watchmaker collaborates          By Susanne Fowler                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/fashion
2022-07-22   2022-07-23 /watches-online-auctions.html               Auctions go deeper into luxury             By Victoria Gomelsky              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/fashion
2022-07-22   2022-07-23 /watches-podcast-in-the-metal.html          Listening and learning                     By Sandra Jordan                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/fashion
2022-07-22   2022-07-23 /watches-purple-tag-heuer-hublot.html       A purple craze                             By Anders Modig                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/fashion
2022-07-22   2022-07-23 /watches-waiting-lists-zenith-rolex.html    Want a new watch Sign up here              By Robin Swithinbank              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/nyregio Man Is Charged With Making Racist Threats
2022-07-22   2022-07-23 n/buffalo-supermarket-tops-threat.html      to Store in Buffalo                        By Hurubie Meko                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/nyregio GOP Condemns Bail Laws After Suspect in By Nicholas Fandos Jonah E
2022-07-22   2022-07-23 n/lee-zeldin-suspect-bail.html              Zeldin Attack Is Released                  Bromwich and Lauren DAvolio       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/nyregio Law Professors Court Win Bolsters a Push to
2022-07-22   2022-07-23 n/ny-prosecutors-misconduct.html            Expose Misconduct by Prosecutors           By Jonah E Bromwich               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/nyregio Shooting Leaves One Rochester Police
2022-07-22   2022-07-23 n/rochester-ny-police-shooting.html         Officer Dead                               By Troy Closson and Lola Fadulu   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/nyregio Polio Is Detected Outside New York City     By Jesse McKinley and Nate
2022-07-22   2022-07-23 n/rockland-county-polio-unvaccinated.html Prompting an Urgent Inquiry                  Schweber                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/opinion
2022-07-22   2022-07-23 /italy-draghi-meloni-government.html        The Future Is Italy and Its Bleak          By David Broder                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/opinion
2022-07-22   2022-07-23 /jan-6-trump-official.html                  The Myth of the Good Trump Official        By Michelle Goldberg              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/sports/b You Might Be a Hall of Famer but Do You
2022-07-22   2022-07-23 aseball/hall-of-fame-statues.html           Have a Statue                              By Tyler Kepner                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/sports/b When It Comes to Trying to Free Griner The
2022-07-22   2022-07-23 asketball/nba-brittney-griner-russia.html   NBA Finds Itself Walking a Fine Line       By Tania Ganguli                  TX 9-189-149   2022-09-01




                                                                               Page 4034 of 5793
                        https://www.nytimes.com/2022/07/22/technol Policy Chief At Amazon Is Leaving For         By Karen Weise and David
2022-07-22   2022-07-23 ogy/jay-carney-amazon-airbnb.html             Airbnb                                     McCabe                           TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/22/technol Earnings Fall For Twitter Amid Battle With By Kate Conger and Adam
2022-07-22   2022-07-23 ogy/twitter-earnings.html                     Musk                                       Satariano                        TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/22/theater/ At an East Village Joint Songs Made For
2022-07-22   2022-07-23 cannabis-review-lamama.html                   Stoners                                    By Laura CollinsHughes           TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/22/us/new Newsom Raises National Profile With
2022-07-22   2022-07-23 som-gun-bill-california.html                  Hardball Tactics Starting With a Gun Bill  By Shawn Hubler                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/22/us/polit
                        ics/after-roe-republicans-sharpen-attacks-on-
2022-07-22   2022-07-23 gay-and-transgender-rights.html               Roes Reversal Stokes Attacks On Gay Rights By Trip Gabriel                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/22/us/polit Jury Convicts Bannon of Contempt of
2022-07-22   2022-07-23 ics/bannon-trial-contempt-charges.html        Congress                                   By Aishvarya Kavi and Alan Feuer TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/22/us/polit Presidents Symptoms Show Improvement A By Michael D Shear and Zolan
2022-07-22   2022-07-23 ics/biden-covid-health.html                   Day After Diagnosis                        KannoYoungs                      TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/22/us/polit
2022-07-22   2022-07-23 ics/biden-gas-prices.html                     As Gas Prices Fall President Chases a Win  By Jim Tankersley                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/22/us/polit Pennsylvania Standoff Reveals New Hidden By Blake Hounshell and Nick
2022-07-22   2022-07-23 ics/county-election-certify.html              Threat to US Elections                     Corasaniti                       TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/22/us/polit Justice Dept Begins an Environmental Racism
2022-07-22   2022-07-23 ics/houston-environmental-racism.html         Inquiry in Houston                         By Glenn Thrush                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/22/us/polit                                              By Alan Feuer and Michael S
2022-07-22   2022-07-23 ics/jan-6-committee.html                      Case Closed Whats Next for the Jan 6 Panel Schmidt                          TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/22/us/polit Ethics Board May Penalize Trump Ally For
2022-07-22   2022-07-23 ics/jeffrey-clark-dc-bar-justice.html         Plot Role                                  By Katie Benner                  TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/22/world/a Attack on Military Base Brings DecadeLong
2022-07-22   2022-07-23 frica/mali-attack.html                     Fight to Doorstep of Malis Capital          By Ruth Maclean and Elian Peltier   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/world/a New South Korean Leader Seeks
2022-07-22   2022-07-23 sia/north-korea-photos-moon.html           Investigation of Past Government            By Choe SangHun                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/world/a Sri Lankan Forces Raid Camp at Center of
2022-07-22   2022-07-23 sia/sri-lanka-protest-raid.html            Uprising That Brought Down President        By Mujib Mashal                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/world/e
                        urope/france-goncourt-mohamed-mbougar- An Irreverent Take on Frances Literary
2022-07-22   2022-07-23 sarr.html                                  Establishment                               By Norimitsu Onishi                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/world/e
                        urope/italy-draghi-collapse-populism-      Draghis Fall Threatens EUs AntiPutin Stance
2022-07-22   2022-07-23 election.html                              Worrying the Continent                      By Jason Horowitz                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/world/e Ukraine Reaches Deal With Russia To Export
2022-07-22   2022-07-23 urope/ukraine-russia-grain-deal.html       Grain                                       By Matina StevisGridneff            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/world/
                        middleeast/argentina-mossad-hezbollah-     Mossad Counters Claims In Argentina
2022-07-22   2022-07-23 bombings.html                              Bombings                                    By Ronen Bergman                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/busines Privacy 500 Million Settlement In TMobile
2022-07-23   2022-07-23 s/t-mobile-hacking-settlement.html         Data Breach                                 By Michael Corkery                  TX 9-189-149   2022-09-01



                                                                                Page 4035 of 5793
                        https://www.nytimes.com/2022/07/22/us/polit Tactic at Jan 6 Hearings Using Patriotism as a By Shane Goldmacher and Katie
2022-07-23   2022-07-23 ics/jan-6-hearings-trump-patriotism.html    Weapon Against Trump                           Glueck                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/climate                                                 By Christopher Flavelle and
2022-07-23   2022-07-23 /climate-disaster-relief-fema.html          Uprooted by a Hurricane and Again by FEMA Edmund D Fountain                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/climate Four Things Nations Can Do to Conserve
2022-07-23   2022-07-23 /energy-conservation.html                   Energy                                         By Elena Shao                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/07/books/r
2022-06-07   2022-07-24 eview/counterfeit-kirstin-chen.html         Real or Fake                                   By Camille Perri                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/08/books/r
                        eview/more-than-youll-ever-know-katie-
2022-06-08   2022-07-24 gutierrez.html                              Double Trouble                                 By Chandler Baker               TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/06/21/books/r
2022-06-21   2022-07-24 eview/javier-cercas-even-darkest-night.html Two Roads Equally Twisted                   By Garth Risk Hallberg             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/21/books/r
2022-06-21   2022-07-24 eview/tree-thieves-lyndsie-bourgon.html      No ClearCut Villains                       By David Enrich                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/26/books/r
                        eview/in-the-houses-of-their-dead-terry-
2022-06-26   2022-07-24 alford.html                                  Haunted                                    By Leah Greenblatt                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/books/r
2022-06-28   2022-07-24 eview/the-colony-sally-denton.html           Polygamists vs Drug Lords                  By Julia Scheeres                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/books/r
2022-06-28   2022-07-24 eview/x-davey-davis.html                     The Dystopia Has Arrived                   By Hugh Ryan                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/books/r
2022-07-01   2022-07-24 eview/take-no-names-daniel-nieh.html         Sizzling                                   By Adam Sternbergh                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/05/books/t
2022-07-05   2022-07-24 he-displacements-bruce-holsinger.html        Eye of the Storm                           By Hannah Gold                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/06/books/i
                        ngrid-rojas-contreras-the-man-who-could-
2022-07-06   2022-07-24 move-clouds.html                             A Lineage of Shamans                       By Miguel Salazar                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/style/ta Tanquerays Way of Life Is Still Working for
2022-07-11   2022-07-24 nqueray-stephanie-johnson-memoir.html        Her                                        By Steven Kurutz                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/12/books/r
2022-07-12   2022-07-24 eview/dan-fesperman-winter-work.html         Secrets of the Stasi                       By Ben Macintyre                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/books/r
                        eview/raphael-warnock-a-way-out-of-no-way-
                        dan-abrams-fred-d-gray-david-fisher-charles-
2022-07-15   2022-07-24 booker.html                                  Civil Rights Memoirs                       By Raymond Arsenault               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/15/style/m
                        aude-latour-a-columbia-student-makes-
2022-07-15   2022-07-24 existential-pop.html                         More Worldly Every Day                     By Callie Holtermann               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/style/ho
2022-07-18   2022-07-24 w-to-drop-out-of-college.html                Ceremoniously Dropping Out of College      By Rayne FisherQuann               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/magazi
2022-07-18   2022-07-24 ne/american-patriotism.html                  The Americas They Left Me                  By David Treuer                    TX 9-189-149   2022-09-01



                                                                                 Page 4036 of 5793
                        https://www.nytimes.com/2022/07/18/opinion The Best Measure of Economic Inequality
2022-07-18   2022-07-24 /economic-inequality-spending-power.html Spending Power                                    By Peter Coy              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/realesta
2022-07-18   2022-07-24 te/renters-brooklyn-fort-greene.html         Family Is a Priority in a Move to Fort Greene By Marian Bull            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/t-
2022-07-18   2022-07-24 magazine/candy-sweet-fruit.html              Fruit That Tastes Like Candy                  By Alex Beggs             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/07/ This Pioneering Economist Says Our
2022-07-18   2022-07-24 18/magazine/herman-daly-interview.html       Obsession With Growth Must End                By David Marchese         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/arts/mu
2022-07-19   2022-07-24 sic/hayley-kiyoko-favorites.html             Hayley Kiyoko Heats Up With Arcade Fire By PierreAntoine Louis          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/arts/mu
2022-07-19   2022-07-24 sic/rudy-van-gelder-studio.html              Planning the Future of a Storied Studio       By Ben Sisario            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/magazi
2022-07-19   2022-07-24 ne/how-to-say-goodbye.html                   How to Say Goodbye                            By Malia Wollan           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/magazi Long Ago I Bought a Human Skull What
2022-07-19   2022-07-24 ne/human-skull-ethics.html                   Should I Do With It                           By Kwame Anthony Appiah   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/magazi
2022-07-19   2022-07-24 ne/silence-deafness.html                     Silence                                       By Sara Novic             TX 9-189-149   2022-09-01
                                                                     Stop the steal forever how the movement to
                                                                     reinstate president trump has gone far beyond
                        https://www.nytimes.com/2022/07/19/magazi him and now threatens the future of american By Charles Homans and Mark
2022-07-19   2022-07-24 ne/stop-the-steal.html                       elections                                     Peterson                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/opinion
2022-07-19   2022-07-24 /democrats-far-right-midterms.html           Why Are Democrats Helping the Far Right       By Brian Beutler          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/opinion
2022-07-19   2022-07-24 /north-carolina-us-politics.html             North Carolina Is Both Seductive and Scary By Frank Bruni               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/realesta
2022-07-19   2022-07-24 te/coffee-table-decor.html                   How to Style a Coffee Table Effortlessly      By Tim McKeough           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/style/fa
2022-07-19   2022-07-24 shion-tiktok-sashay-away.html                Making a Viral Fashion Statement              By Guy Trebay             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/arts/tele
2022-07-20   2022-07-24 vision/antiheroes-the-boys-batman.html       An Archetype Of Ambiguity                     By Maya Phillips          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/books/r
2022-07-20   2022-07-24 eview/new-thrillers-ruth-ware-it-girl.html   The Oxford Murder                             By Sarah Lyall            TX 9-189-149   2022-09-01
                                                                     Chocolate Dreamtime A surprising online
                        https://www.nytimes.com/2022/07/20/magazi discovery leads to an unlikely friendship and a
2022-07-20   2022-07-24 ne/chocolate-cake-recipe.html                heartfelt cake recipe                         By Eric Kim               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/magazi
2022-07-20   2022-07-24 ne/dove-advertising-beauty.html              Soft Soap                                     By Mireille Silcoff       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/magazi
2022-07-20   2022-07-24 ne/michael-mann-ferrari-heat-2.html          Michael Manns Damaged Men                     By Jonah Weiner           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/opinion
2022-07-20   2022-07-24 /covid-19-deaths-vaccines-endemic.html       Endemic Covid19 Is Looking Brutal             By David WallaceWells     TX 9-189-149   2022-09-01




                                                                               Page 4037 of 5793
                        https://www.nytimes.com/2022/07/20/realesta
                        te/1-8-million-homes-in-new-york-florida-and-
2022-07-20   2022-07-24 virginia.html                                18 Million                                  By Angela Serratore               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/realesta Lattices and Terraces Poised Over Lake
2022-07-20   2022-07-24 te/house-hunting-italy.html                  Como                                        By Lana Bortolot                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/realesta
2022-07-20   2022-07-24 te/photos-garden-nature.html                 Appreciating Tiny Marvels                   By Margaret Roach                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/t-
2022-07-20   2022-07-24 magazine/amber-mayfield-picnic.html          A Central Park Picnic to Honor Juneteenth   By Korsha Wilson                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/technol After the Streaming Gold Rush Viewers May
2022-07-20   2022-07-24 ogy/streaming-netflix.html                   Lose                                        By Shira Ovide                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/theater/ This Heroine Now Knows How to Find Her
2022-07-20   2022-07-24 gaslight-shaw-festival-toronto.html          Way                                         By Eric Grode                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/arts/dan
                        ce/michelle-gibson-second-line-jacobs-
2022-07-21   2022-07-24 pillow.html                                  A Teacher With a New Orleans Strut          By Brian Seibert                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/books/r
                        eview/dirt-creek-hayley-scrivenor-wake-
2022-07-21   2022-07-24 shelley-burr.html                            Murder in the BrainBroiling Heat            By Beejay Silcox                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/books/r
                        eview/fish-swimming-dappled-sunlight-riku-
2022-07-21   2022-07-24 onda.html                                    In the Dark                                 By Steph Cha                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/books/r Ronni Solbert 96 Artist and Illustrator Whose
2022-07-21   2022-07-24 onni-solbert-dead.html                       Work Appears in Dozens of Books             By Clay Risen                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/busines Is Software Thwarting Competition and
2022-07-21   2022-07-24 s/software-james-bessen-book.html            Innovation                                  By Steve Lohr                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/educati Judith A Schiff 84 Dies An Archivist Who
2022-07-21   2022-07-24 on/judith-schiff-dead.html                   Shared Many of Yales Treasures              By Neil Genzlinger                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/magazi
2022-07-21   2022-07-24 ne/judge-john-hodgman-brunch.html            Bonus Advice From Judge John Hodgman        By John Hodgman                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/magazi
                        ne/poem-excerpts-from-the-poem-headlands-
2022-07-21   2022-07-24 quadrats.html                                Poem                                        By Brian Teare and Victoria Chang TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/nyregio                                               By Patrick McGeehan and Thomas
2022-07-21   2022-07-24 n/nyc-airports-renovation.html               At the Airports a 25 Billion Transformation Prior                             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/opinion
2022-07-21   2022-07-24 /bret-stephens-trump-voters.html             I Was Wrong About Trump Voters              By Bret Stephens                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/opinion
2022-07-21   2022-07-24 /david-brooks-capitalism.html                I Was Wrong About Capitalism                By David Brooks                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/opinion
2022-07-21   2022-07-24 /farhad-manjoo-facebook.html                 I Was Wrong About Facebook                  By Farhad Manjoo                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/opinion I Was Wrong About Mitt Romney And His
2022-07-21   2022-07-24 /gail-collins-mitt-romney.html               Dog                                         By Gail Collins                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/opinion
2022-07-21   2022-07-24 /how-to-make-decisions.html                  How to Make a LifeDefining Decision         By Russ Roberts                   TX 9-189-149   2022-09-01



                                                                                Page 4038 of 5793
                        https://www.nytimes.com/2022/07/21/opinion
2022-07-21   2022-07-24 /michelle-goldberg-al-franken.html           I Was Wrong About Al Franken                 By Michelle Goldberg    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/opinion
2022-07-21   2022-07-24 /paul-krugman-inflation.html                 I Was Wrong About Inflation                  By Paul Krugman         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/opinion
2022-07-21   2022-07-24 /thomas-friedman-china.html                  I Was Wrong About Chinese Censorship         By Thomas L Friedman    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/opinion
2022-07-21   2022-07-24 /zeynep-tufekci-protests.html                I Was Wrong About the Power of Protest       By Zeynep Tufekci       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/realesta
2022-07-21   2022-07-24 te/adult-children-living-at-home.html        Living With the Parents Permanently          By Anna P Kambhampaty   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/style/bo
2022-07-21   2022-07-24 yfriend-ex-wife.html                         When an Ex Appears                           By Philip Galanes       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/style/ne
2022-07-21   2022-07-24 w-york-film-noir-cinema.html                 Hes a Guide in the Shadows                   By Alex Traub           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/07/ Holding Out for the Right Fit in Brooklyn
2022-07-21   2022-07-24 21/realestate/21hunt-jensen.html             Which Apartment Did She Choose               By Joyce Cohen          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/arts/des
2022-07-22   2022-07-24 ign/tom-sachs-seoul.html                     Rocket Man to Renaissance Man                By Andrew Russeth       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/arts/per Perry Rubenstein Gallerist Convicted of
2022-07-22   2022-07-24 ry-rubenstein-dead.html                      Embezzlement Is Dead at 68                   By Clay Risen           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/arts/tele
2022-07-22   2022-07-24 vision/neil-patrick-harris-uncoupled.html    Neil Patrick Harris Plays the Game           By Alexis Soloski       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/arts/tele Taurean Blacque 82 Actor Known for Hill
2022-07-22   2022-07-24 vision/taurean-blacque-dead.html             Street Blues                                 By Peter Keepnews       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/books/r
                        eview/book-review-archives-ghost-
2022-07-22   2022-07-24 stories.html                                 Ghost Stories                                By Tina Jordan          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/books/r
2022-07-22   2022-07-24 eview/dwyer-murphy-honest-living.html        HardBoiled Wonderland                        By Christopher Bollen   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/books/r
                        eview/kekla-magoon-chester-keene-cracks-the
2022-07-22   2022-07-24 code.html                                    A Case of Identity                           By Kate Egan            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/busines
2022-07-22   2022-07-24 s/stock-market-wall-street-earnings.html     Be Wary of Wall Streets Rosy Stock Forecasts By Jeff Sommer          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/busines
2022-07-22   2022-07-24 s/ukraine-tech-companies-putin.html          A Battered Economys Bright Spot Flickers     By David Segal          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/busines In Times of Emergency Womens Savings
2022-07-22   2022-07-24 s/women-retirement-savings-family.html       Take the Hit                                 By Tammy La Gorce       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/movies/
2022-07-22   2022-07-24 shonka-dukereh-dead.html                     Shonka Dukureh 44 a Blues Singer in Elvis By Daniel Victor           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/nyregio
2022-07-22   2022-07-24 n/instant-delivery-services.html             Is the Era of Instant Groceries Already Over By Ginia Bellafante     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/nyregio
2022-07-22   2022-07-24 n/ocean-grove-tents.html                     Everything Under the Tent and Beyond         By Jane Margolies       TX 9-189-149   2022-09-01




                                                                               Page 4039 of 5793
                        https://www.nytimes.com/2022/07/22/nyregio On the Waterfront Inspiring Future Maritime
2022-07-22   2022-07-24 n/staten-island-maritime-careers-tiktok.html Workers                                    By Liza Weisstuch             TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/22/opinion Religious Doctrine Drove the Abortion
2022-07-22   2022-07-24 /abortion-religion-supreme-court.html        Decision                                   By Linda Greenhouse           TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/22/realesta
2022-07-22   2022-07-24 te/conversation-pit-mad-men.html             Sit Down Lets Talk About This              By Anna P Kambhampaty         TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/22/sports/c How Do You Navigate the Tour Its All in the
2022-07-22   2022-07-24 ycling/tour-de-france-cycling-photos.html    Signs                                      By Alexander Aguiar           TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/22/sports/s As a Sport Evolves It Increasingly Decides
2022-07-22   2022-07-24 occer/soccer-headers.html                    Against Using Its Head                     By Rory Smith                 TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/22/style/ch Before Their First Date Some Strategic
2022-07-22   2022-07-24 ristopher-kirchhoff-john-tsou-wedding.html Operations                                   By Tammy La Gorce             TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/22/style/da
2022-07-22   2022-07-24 niel-ogorzalek-blair-dawson-wedding.html    His Better Banter Won Her Over              By Judy Mandell               TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/22/style/de On a Night Out in Brooklyn Something Just
2022-07-22   2022-07-24 rek-fordjour-alexis-hoag-wedding.html       Clicked                                     By Nia Decaille               TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/22/style/de Talking Taxes and Potatoes and Trying to
2022-07-22   2022-07-24 vin-glaser-alizeh-bhojani-wedding.html      Save the World                              By Danielle Braff             TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/22/style/m Matching Rhythms Despite Opposite Sleep
2022-07-22   2022-07-24 axwell-wolkin-olivia-russin-wedding.html    Schedules                                   By Rachel Sherman             TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/22/style/m In Apocalyptic Times Marching Forward
2022-07-22   2022-07-24 elody-sage-rosco-kickingstone-wedding.html Together                                     By Alix Wall                  TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/22/style/m Establishing a Case for My Need to Be
2022-07-22   2022-07-24 odern-love-physical-touch-intimacy.html     Touched                                     By Sahar Jahani               TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/22/style/st An Artist Gets His Due Back Home in
2022-07-22   2022-07-24 ephen-sprouse-indianapolis-exhibit.html     Indiana                                     By Sarah Bahr                 TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/22/us/iowa-3 Fatally Shot at Iowa Park And Suspect Is  By John Peragine Jesus Jimnez
2022-07-22   2022-07-24 shooting-maquoketa-caves-state-park.html    Found Dead                                 Claire Fahy and Vimal Patel      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/us/polit Man Admits Backing Trump Using Missing
2022-07-22   2022-07-24 ics/suzanne-morphew-ballot-trump.html       Wifes Ballot                               By Neil Vigdor                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/nyregio Officer Charged in Killing Says He Felt
2022-07-23   2022-07-24 n/nyc-officer-shooting-toy-gun.html         Threatened                                 By Chelsia Rose Marcius          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/us/new- Flash Flooding in New Mexico Follows Fires
2022-07-23   2022-07-24 mexico-flash-floods.html                    Claiming 2 Lives                           By Mike Ives                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/arts/dig An Explosion of Digital Comics Finds a New By George Gene Gustines and Matt
2022-07-23   2022-07-24 ital-comics-new-readers.html                World of Readers                           Stevens                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/busines
2022-07-23   2022-07-24 s/china-evergrande-ceo-resigns.html         China Evergrande Chief Executive Quits     By Daisuke Wakabayashi           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/busines Build Houses Even if No One Is Buying Right By Conor Dougherty and Ben
2022-07-23   2022-07-24 s/housing-market-crisis-supply.html         Now                                        Casselman                        TX 9-189-149   2022-09-01



                                                                                 Page 4040 of 5793
                        https://www.nytimes.com/2022/07/23/health/ Health Officials Call Emergency For
2022-07-23   2022-07-24 monkeypox-pandemic-who.html                 Monkeypox                                    By Apoorva Mandavilli          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/health/ After Roe Urgent Questions About Cancer
2022-07-23   2022-07-24 pregnant-woman-cancer-abortion.html         Care                                         By Gina Kolata                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/nyregio
2022-07-23   2022-07-24 n/liz-holtzman-congress.html                50 Years Later Anger Fuels Holtzmans Run By Nicholas Fandos                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/nyregio Man Accused Of Attacking Congressman Is
2022-07-23   2022-07-24 n/zeldin-attack-suspect-charged.html        Arrested                                     By Ana Ley                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/opinion
2022-07-23   2022-07-24 /biden-climate-change.html                  Climate Change Is Not Negotiable             By The Editorial Board         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/realesta Buildings Take Working From Home to the
2022-07-23   2022-07-24 te/co-working-luxury-rental-buildings.html  Next Level                                   By Gregory Schmidt             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/realesta The New Morgan Garden Transports Visitors
2022-07-23   2022-07-24 te/morgan-library-museum-garden.html        to Rome                                      By Victoria M Walker           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/realesta Can I Force My Landlord to Install Window
2022-07-23   2022-07-24 te/nyc-air-conditioner-landlord.html        Boxes for AirConditioners                    By Ronda Kaysen                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/sports/b Ring or No Ring The Twins Had A
2022-07-23   2022-07-24 aseball/kaat-oliva-twins-hall-of-fame.html  Powerhouse Team                              By Tyler Kepner                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/sports/r With Teams Surging In Popularity Running
2022-07-23   2022-07-24 unning-teams.html                           Isnt Lonely Anymore                          By Kevin Draper                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/style/ca
2022-07-23   2022-07-24 nnibalism-tv-shows-movies-books.html        The Way of All Flesh but Devoured            By Alex Beggs                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/us/oak- Explosive Blaze Spreads Threatening 2000
2022-07-23   2022-07-24 fire-spread.html                            Buildings in California                      By Isabella Grulln Paz         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/us/park What Is Justice One Parkland Familys          By Audra D S Burch and Scott
2022-07-23   2022-07-24 land-family-justice.html                    Journey                                      McIntyre                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/us/polit Sniffing Out Threats a Mango or Sausage at a
2022-07-23   2022-07-24 ics/beagles-airport-security.html           Time                                         By Linda Qiu                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/us/polit
                        ics/jan-6-hearings-women-witnesses-                                                      By Annie Karni and Maggie
2022-07-23   2022-07-24 committee.html                              Women Face Public Vitriol For Testimony      Haberman                       TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/23/us/polit In Georgia Case Involving Trump Casts       By Richard Fausset and Danny
2022-07-23   2022-07-24 ics/trump-georgia-election-interference.html Broad Net                                  Hakim                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/us/polit Erdogan Remains Headache for Biden
2022-07-23   2022-07-24 ics/turkey-nato-ukraine-russia.html          Despite Ukraine Deal                       By Michael Crowley              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/world/a Suspect in Abes Killing Harbored Deep
2022-07-23   2022-07-24 sia/japan-unification-church-lawsuits.html   Hatred For Unification Church              By Ben Dooley and Hisako Ueno   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/world/a Amid Turmoil and Civil Unrest in Sri Lanka
2022-07-23   2022-07-24 sia/sri-lanka-cricket-t20.html               Cricket Carries On                         By Mike Ives                    TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/23/world/e Russian Strike on Odesa Port Imperils        By Michael Schwirtz and Erika
2022-07-23   2022-07-24 urope/ukraine-russia-odesa-grain-attack.html UNBrokered Grain Deal                      Solomon                         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/world/ At a 1233YearOld Site a Cultural Bridge
2022-07-23   2022-07-24 middleeast/israel-ramla-arab-music.html      Between Peoples                            By Patrick Kingsley             TX 9-189-149   2022-09-01



                                                                                Page 4041 of 5793
                        https://www.nytimes.com/live/2022/07/23/wo
                        rld/ukraine-war-russia/boats-and-a-bridge-
                        control-of-waterways-will-be-key-in-ukraines- US Aid Includes 18 Boats To Help Ukraine
2022-07-23   2022-07-24 looming-counteroffensive                       Recapture Control of Kherson Region        By Matthew Mpoke Bigg             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/us/miss Mississippi Fires Lawyer Trying to Recoup
2022-07-24   2022-07-24 issippi-lawyer-fired-welfare.html              Misused Welfare Funds                      By Richard Fausset and Rick Rojas TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/busines The Week in Business Amazons Latest
2022-07-24   2022-07-24 s/amazon-one-medical.html                      Acquisition                                By Marie Solis                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/insider/
2022-07-24   2022-07-24 magazine-covers.html                           Covers That Push the Conversation          By Libby Peterson                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/realesta
2022-07-24   2022-07-24 te/homes-sold-one-million.html                 Homes That Sold for Around 1 Million       By C J Hughes                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/style/m
                        ost-dresed-kenzo-kith-superman-shayne-
2022-07-24   2022-07-24 oliver.html                                    Its Getting Hot in Here                    By Denny Lee                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/world/c
                        anada/pope-francis-apology-canada-             Pope to Offer a LongSought Apology to      By Ian Austen and Elisabetta
2022-07-24   2022-07-24 indigenous.html                                Canadas Indigenous People                  Povoledo                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/world/e Last Stand at the Steelworks Inside an 80Day
2022-07-24   2022-07-24 urope/ukraine-war-mariupol-azovstal.html       Siege                                      By Michael Schwirtz               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/live/2022/07/24/wo
                        rld/ukraine-russia-war/despite-aiding-in-the-
                        ukraine-grain-deal-turkeys-leader-remains-a- Erdogan Remains Headache for Biden
2022-07-24   2022-07-24 headache-for-biden                             Despite Ukraine Deal                       By Michael Crowley                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/live/2022/07/25/wo
                        rld/pope-francis-canada-visit/the-place-where-
                        the-pope-will-apologize-is-notorious-among- Pope to Offer a LongSought Apology to
2022-07-25   2022-07-24 survivors                                      Canadas Indigenous People                  By Ian Austen                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/travel/s Shelter Island Still Feels Relaxed and
2022-06-29   2022-07-25 helter-island-nyc.html                         Timeless                                   By Steven Kurutz                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/29/travel/
2022-06-29   2022-07-25 wine-country-atlanta-ga.html                   Taste Wine With Donkeys in North Georgia By Tariro Mzezewa                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/07/
2022-07-14   2022-07-25 14/arts/meryl-streep-acting.html               Meryl Streeps One Weird Trick              By Amanda Hess                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/travel/a Aboard the California Zephyr It Really Is
2022-07-18   2022-07-25 mtrak-california-zephyr-train.html             About the Journey                          By Marta Giaccone                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/movies/ Boomerang Birthed a New Archetype for
2022-07-20   2022-07-25 boomerang-robin-givens.html                    Black Women                                By Salamishah Tillet              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/arts/tele A Disability Is an Asset on This Television
2022-07-21   2022-07-25 vision/best-foot-forward-apple.html            Series                                     By Ari Saperstein                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/books/ Uplift Will Be the Focus of a Former First
2022-07-21   2022-07-25 michelle-obama-new-book.html                   Ladys Book                                 By Elizabeth A Harris             TX 9-189-149   2022-09-01
                                                                       Called the Queen of Jugglers she is widely
                        https://www.nytimes.com/2022/07/21/obituari regarded as the fastest female juggler in
2022-07-21   2022-07-25 es/lottie-brunn-overlooked.html                history                                    By Callie Holtermann              TX 9-189-149   2022-09-01



                                                                                Page 4042 of 5793
                        https://www.nytimes.com/2022/07/21/opinion
2022-07-21   2022-07-25 /racism-paid-leave-child-care.html          Why Cant We Have Nice Things Racism       By Bryce Covert               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/technol
2022-07-21   2022-07-25 ogy/boring-innovation.html                  The Innovation in Thinking Smaller        By Shira Ovide                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/movies/
                        nope-horse-in-motion-eadweard-
2022-07-22   2022-07-25 muybridge.html                              Nope Puts a Galloping Horse in Focus      By Ben Kenigsberg             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/travel/c
2022-07-22   2022-07-25 arry-on-luggage-tsa-travel.html             The Buzz About What You Can Carry On      By Kasia Pilat                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/nyregio As Heat Wave Hits New York A Melting Pot By Anne Barnard Nate Schweber
2022-07-23   2022-07-25 n/new-york-heat-wave.html                   Keeps Its Cool                            and Ta Kvetenadze             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/technol
                        ogy/google-engineer-artificial-             Google Discharges Engineer Who Alleged AI
2022-07-23   2022-07-25 intelligence.html                           Sentience                                 By Nico Grant                 TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/23/us/sequ Forest Service Takes Emergency Steps To
2022-07-23   2022-07-25 oias-fire-forest-service-emergency-action.html Protect Sequoias From Wildfires           By McKenna Oxenden         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/us/utah- Utah University Admits Shortcomings in
2022-07-23   2022-07-25 university-zhifan-dong-death.html              Handling Of Domestic Abuse Case           By Amanda Holpuch          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/arts/mu
2022-07-24   2022-07-25 sic/review-the-silent-woman.html               Staging an Opera About Staging an Opera   By Oussama Zahr            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/arts/rev
2022-07-24   2022-07-25 iew-sacred-earth.html                          Gestures of an Emotional Nature           By Brian Seibert           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/busines
                        s/media/alex-jones-misinformation-             Alex Jones and a Radio Networks Economics
2022-07-24   2022-07-25 genesis.html                                   of Misinformation                         By Tiffany Hsu             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/busines
2022-07-24   2022-07-25 s/media/trump-conservative-media.html          Jan 6 Panel Didnt Sway Right Wing         By Jeremy W Peters         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/crossw
2022-07-24   2022-07-25 ords/daily-puzzle-2022-07-25.html              For a Puzzler 23rd Times the Charm        By Deb Amlen               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/nyregio As Records Break Trying to Stay Cool With
2022-07-24   2022-07-25 n/heat-wave-us.html                            Shade Water and AirConditioning           By Ali Watkins             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/nyregio New York May Ban Pet Store Puppy Sales a
2022-07-24   2022-07-25 n/puppy-mill-pet-stores.html                   Practice Critics Call Abusive             By Luis FerrSadurn         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/obituari Bob Rafelson Director at Fore of New
2022-07-24   2022-07-25 es/bob-rafelson-dead.html                      Hollywood Movement Dies at 89             By Dennis Lim              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/opinion
2022-07-24   2022-07-25 /book-banning-censorship.html                  Theres More Than One Way to Ban a Book By Pamela Paul                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/opinion
2022-07-24   2022-07-25 /prosecute-trump-jan-6.html                    We Cant Afford Not to Prosecute Trump     By Charles M Blow          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/science Do You Babble to Your Baby So Does the
2022-07-24   2022-07-25 /parentese-babies-global-language.html         Rest of the World                         By Oliver Whang            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/sports/b Bittersweet Lessons on Timing in Baseballs
2022-07-24   2022-07-25 aseball/hall-of-fame-david-ortiz.html          Land of the Timeless                      By Tyler Kepner            TX 9-189-149   2022-09-01




                                                                               Page 4043 of 5793
                        https://www.nytimes.com/2022/07/24/sports/b The Liberty Have Just About Everything All
2022-07-24   2022-07-25 asketball/liberty-wnba-ionescu.html         They Need Are Wins                         By Remy Tumin                       TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/24/sports/b                                               By Remy Tumin and Alanis
2022-07-24   2022-07-25 asketball/wnba-style-fashion-marketing.html Their Look Their Brand Their Way              Thames                           TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/24/sports/c Danish Rider Wins Completing a Sudden
2022-07-24   2022-07-25 ycling/tour-de-france-jonas-vingegaard.html Ascent to the Top of His Sport                By Juliet Macur                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/style/ca Carleton Varney Bold Interior Designer Dies
2022-07-24   2022-07-25 rleton-varney-dead.html                     at 85                                         By Penelope Green                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/technol For Big Tech Live Sports May Provide           By Tripp Mickle Kevin Draper and
2022-07-24   2022-07-25 ogy/sports-streaming-rights.html            Opportunity                                   Benjamin Mullin                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/24/theater/
2022-07-24   2022-07-25 seagull-review-elevator-repair-service.html Mild Execution of Promising Ideas            By Maya Phillips                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/us/deed-A Big New York Property Owner Is Accused By Stefanos Chen Ted Clifford
2022-07-24   2022-07-25 theft-ny.html                               of Stealing Homes                            Camellia Burris and Anna Watts    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/us/kans Kansas Election Poses First Test After Roes
2022-07-24   2022-07-25 as-abortion-vote.html                       Fall                                         By Mitch Smith                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/us/polit Bidens Symptoms Improve Doctor Says And
2022-07-24   2022-07-25 ics/biden-covid.html                        No Contacts Test Positive for Covid          By Zach Montague                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/us/polit Biden Is Charting a Similar Course to Trump
2022-07-24   2022-07-25 ics/biden-trump-foreign-policy.html         on US Foreign Policy                         By Edward Wong                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/us/texa
2022-07-24   2022-07-25 s-governor-campaign-abbott-orourke.html     Texas Turmoil Jolts the Race For Governor By J David Goodman                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/world/a Congo to Allow More Oil Wells In              By Ruth Maclean and Dionne
2022-07-24   2022-07-25 frica/congo-oil-gas-auction.html            Rainforests                                  Searcey                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/world/a At Least 17 Haitian Migrants Killed When      By Jasper WilliamsWard and
2022-07-24   2022-07-25 mericas/migrant-deaths-bahamas.html         Boat Capsizes Off the Bahamas                Anatoly Kurmanaev                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/world/a As Water Rises Pakistanis Blame Climate       By Zia urRehman Christina
2022-07-24   2022-07-25 sia/pakistan-monsoon-floods.html            Change and Government Failures               Goldbaum and Salman Masood        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/world/e
                        urope/french-university-nazi-medical-       A University in France Confronts the Medical
2022-07-24   2022-07-25 crimes.html                                 Sins From Its Nazi Past                      By Aurelien Breeden               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/world/e Grain Shortage in Africa Thats Caused by      By Vivian Yee Anton Troianovski
2022-07-24   2022-07-25 urope/russia-grain-africa-lavrov.html       Western Sanctions Russia Says                and Abdi Latif Dahir              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/world/e In a Ruined Suburb Theres Solace Among
2022-07-24   2022-07-25 urope/ukraine-war-kharkiv-sativka.html      Those Who Stayed                             By Jane Arraf and Emile Ducke     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/18/sports/a American Athletes Showed Up American
2022-07-25   2022-07-25 merican-track-field.html                    Fans Were Harder to Find                     By Scott Cacciola                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/sports/b
                        aseball/international-draft-dominican-      A Hub of Talent Debates a Draft That Would
2022-07-25   2022-07-25 republic.html                               Change the Game                              By James Wagner                   TX 9-189-149   2022-09-01




                                                                                Page 4044 of 5793
                        https://www.nytimes.com/2022/07/25/arts/tele
                        vision/whats-on-tv-this-week-irma-vep-and-
2022-07-25   2022-07-25 riverdale.html                               This Week on TV                             By Shivani Gonzalez            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/sports/b
                        aseball/seattle-mariners-win-streak-         Mariners Gave Fans Reason for Hope Was It
2022-07-25   2022-07-25 standings.html                               Asking Too Much                             By Kurt Streeter               TX 9-189-149   2022-09-01
                                                                     Gen Z Designers Built Up Brands On a
                        https://www.nytimes.com/2022/07/25/technol Fashion App Now They Want To Dream
2022-07-25   2022-07-25 ogy/depop-gen-z-designers.html               Bigger                                      By Kalley Huang                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/us/polit When Those Behind a Badge Question the       By Alexandra Berzon and Nick
2022-07-25   2022-07-25 ics/election-sheriffs-voting-trump.html      Vote                                        Corasaniti                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/01/well/mi
2022-07-01   2022-07-26 nd/delta-8-thc-marijuana.html                Questions Answered About Delta8THC          By Dana G Smith                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/11/well/fa
2022-07-11   2022-07-26 mily/check-in-text-friendship.html           Text Your Friends It Really Matters         By Catherine Pearson           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/well/fo
2022-07-13   2022-07-26 am-rolling-exercises.html                    Foam Rollers to Ease Muscle Pain            By Ashley Abramson             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/14/well/liv
2022-07-15   2022-07-26 e/migraine-symptoms-treatment.html           For Migraine Sufferers New Signs of Relief By Melinda Wenner Moyer         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/16/science
2022-07-16   2022-07-26 /glowing-sea-java.html                       Believe Your Eyes The Ocean Does Glow       By William J Broad             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/17/health/c
2022-07-17   2022-07-26 ancer-overtesting.html                       Cancer Centers Push Testing Even to a Fault By Paula Span                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/well/ey
2022-07-19   2022-07-26 e-cream-wrinkles.html                        Do Eye Creams Actually Work for Wrinkles By Annie Sneed                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/science
2022-07-20   2022-07-26 /ancient-fish-evolution-tiktaalik.html       Fins Made for Walking And Then Swimming By Carl Zimmer                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/science Biodiversity Crisis Very High On the List To
2022-07-21   2022-07-26 /birds-extinction-diversity.html             Go Extinct                                  By Marion Renault              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/arts/des A Biennale Wrestles With Big Issues and
2022-07-22   2022-07-26 ign/berlin-biennale-review.html              Itself                                      By Siddhartha Mitter           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/briefing
2022-07-22   2022-07-26 /covid-reinfection-ba5.html                  Covid Reinfection What to Know              By Jonathan Wolfe              TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/22/science Scoops of Lava Take Researchers Closer to
2022-07-22   2022-07-26 /volcano-fagradalsfjall-mantle-magma.html the Core                                   By Oliver Whang                    TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/23/arts/mu
2022-07-23   2022-07-26 sic/stefan-soltesz-conductor-dies-onstage.html Conductor Dies After Collapsing Midshow   By AJ Goldmann                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/arts/mu
2022-07-24   2022-07-26 sic/maggie-rogers-surrender.html               The Sacred and the Profane                By Melena Ryzik                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/opinion New York City Should Teach Children to
2022-07-24   2022-07-26 /new-york-city-swimming-pools.html             Swim                                      By Mara Gay                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/world/a In Hong Kong Pandemic Shuts Doors on
2022-07-25   2022-07-26 sia/covid-career-change-hong-kong.html         Careers But Opens New Windows             By Tiffany May                 TX 9-189-149   2022-09-01



                                                                                 Page 4045 of 5793
                        https://www.nytimes.com/2022/07/25/arts/5-4-
2022-07-25   2022-07-26 supreme-court-podcast.html                   Podcasters Hand Down Grim Verdict            By Reggie Ugwu                   TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/25/arts/dav David Warner 80 a Frequent Villain Of the
2022-07-25   2022-07-26 id-warner-dead.html                          Screen Who Basked in the Boos                By Neil Genzlinger               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/25/arts/mu
                        sic/lizzo-about-damn-time-billboard-         Lizzo Earns Her Second No 1 Song the
2022-07-25   2022-07-26 chart.html                                   DiscoTinged About Damn Time                  By Ben Sisario                   TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/25/books/r
2022-07-25   2022-07-26 eview-robert-lowell-memoirs.html             Of Mental Illness And Mocking Dad            By Dwight Garner                 TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/25/busines Wall Street Is Sitting Tight As Fed Prepares
2022-07-25   2022-07-26 s/economy/fed-interest-rate-increase.html    Rate Hike                                    By Jeanna Smialek                TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/25/busines Energy Department to Lend 25 Billion for
2022-07-25   2022-07-26 s/energy-department-gm-lg-battery-loan.html Battery Factories                           By Jack Ewing                      TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/25/busines Soaring Prices Pile More Suffering on
2022-07-25   2022-07-26 s/inflation-ukraine-war-prices.html         Ukraine                                     By Liz Alderman                    TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/25/busines
2022-07-25   2022-07-26 s/justice-department-poultry-suit.html      US Targets Poultry Processors in Labor Case By Linda Qiu                       TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/25/busines Nine Charged With Insider Trading Including
2022-07-25   2022-07-26 s/sec-insider-trading.html                  ExCongressman                               By Matthew Goldstein               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/25/busines
                        s/walmart-lowers-profit-forecast-           Walmart Cuts Its Forecast For Profits As
2022-07-25   2022-07-26 inflation.html                              Prices Rise                                 By Michael Corkery                 TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/25/nyregio New York City Mayor and Homeless
2022-07-25   2022-07-26 n/asylum-migrant-homeless-nyc.html         Advocates Joust Over Lack of Shelter Space     By Jeffery C Mays                TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/25/nyregio Brooklyn Bishop Robbed By 3 Armed
2022-07-25   2022-07-26 n/brooklyn-bishop-jewelry-robbery.html     Assailants While Delivering Sermon             By Christine Chung               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/25/nyregio
                        n/nyc-monkeypox-vaccine-doses-             As Monkeypox Spread in US Vaccine Sat in       By Joseph Goldstein and Sharon
2022-07-25   2022-07-26 denmark.html                               Limbo Abroad                                   Otterman                         TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/25/nyregio Four Rikers Guards Are Charged in
2022-07-25   2022-07-26 n/rikers-guards-charged-hanging.html       18YearOlds Suicide Attempt                     By Jan Ransom                    TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/25/nyregio CoDefendant of the Central Park Five Is
2022-07-25   2022-07-26 n/steven-lopez-central-park-jogger-case.html Exonerated                                   By Jonah E Bromwich              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/25/obituari Paul Sorvino 83 Actor With Knack for
2022-07-25   2022-07-26 es/paul-sorvino-dead.html                    Playing Mellow Mobsters Dies                 By Anita Gates                   TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/25/opinion
2022-07-25   2022-07-26 /heat-wave-elections-biden.html              Theres Hot Then Theres Hot as Politics       By Gail Collins and Bret Stephens TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/opinion
2022-07-25   2022-07-26 /red-america.html                            The Dystopian Myths of Red America           By Paul Krugman                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/25/sports/b Major Leagues and Players Fail to Agree on
2022-07-25   2022-07-26 aseball/international-draft.html             an International Amateur Draft               By James Wagner                  TX 9-189-149    2022-09-01




                                                                                 Page 4046 of 5793
                        https://www.nytimes.com/2022/07/25/sports/b The Greatness That Jackie Robinson Left  By David Waldstein and Elias
2022-07-25   2022-07-26 aseball/jackie-robinson-museum.html         Behind                                   Williams                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/sports/o
                        lympics/michael-johnson-world-record-tobi- Smashed Record and Other Big Efforts Make
2022-07-25   2022-07-26 amusan.html                                 for a 100Meter Hurdles Mystery           By Victor Mather                    TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/25/sports/s Euro 2022 Is Allowing Top Teams to Make
2022-07-25   2022-07-26 occer/england-sweden-uefa-euro-2022.html Up For a Lack of Scouting                      By Rory Smith                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/technol QAnon Candidates Wilt While Their Ideas
2022-07-25   2022-07-26 ogy/qanon-midterms.html                     Thrive                                      By Stuart A Thompson             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/theater/
2022-07-25   2022-07-26 hamlet-oresteia-robert-icke.html            At Armory A Rebound For a Pairing           By Juan A Ramrez                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/theater/
                        romeo-juliet-review-hudson-valley-
2022-07-25   2022-07-26 shakespeare-festival.html                   StarCrossed Lovers Convey Warmth Not Heat By Laura CollinsHughes             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/us/dalla                                             By Jesus Jimnez and Steve
2022-07-25   2022-07-26 s-love-field-airport-shooting.html          Woman Opens Fire Inside a Dallas Airport    Cavendish                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/us/geor Prosecutor Cannot Pursue Case Against        By Richard Fausset Danny Hakim
2022-07-25   2022-07-26 gia-prosecutor-fani-willis-trump.html       Trump Ally                                  and Sean Keenan                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/us/migr Drug Cartels Are Making Billions of Dollars
2022-07-25   2022-07-26 ant-smuggling-evolution.html                Smuggling Migrants                          By Miriam Jordan                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/us/oak- Crews Are Making Good Headway in
2022-07-25   2022-07-26 fire-yosemite-california.html               California Blaze                            By Thomas Fuller                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/us/polit Fabulist Will Face Testimony From Sandy
2022-07-25   2022-07-26 ics/alex-jones-sandy-hook.html              Hook Parents                                By Elizabeth Williamson          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/us/polit
2022-07-25   2022-07-26 ics/biden-covid.html                        President Recovering From Covid Feels Great By Peter Baker                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/us/polit Biden Rule Would Ensure Health Protections
2022-07-25   2022-07-26 ics/biden-gay-transgender-health.html       for Transgender Patients                    By Sheryl Gay Stolberg           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/us/polit Chinas Posture on Taiwan Puts the US on     By Edward Wong David E Sanger
2022-07-25   2022-07-26 ics/china-taiwan-biden-pelosi.html          Edge                                        and Amy Qin                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/us/polit Garland Faces Pressure as Trump Inquiries
2022-07-25   2022-07-26 ics/jan-6-justice-department-garland.html   Race Ahead                                  By Michael S Schmidt             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/us/polit In Memoir Kushner Reveals He Was Treated
2022-07-25   2022-07-26 ics/jared-kushner-thyroid-cancer.html       for Thyroid Cancer in 2019                  By Maggie Haberman               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/us/polit                                             By Alan Feuer and Maggie
2022-07-25   2022-07-26 ics/marc-short-pence-jan-6.html             2 Pence Aides Have Testified In Jan 6 Case Haberman                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/well/mi Im Always Worrying Emotional Toll of
2022-07-25   2022-07-26 nd/stress-money-relationships.html          Financial Stress                            By Christina Caron               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/world/a 11 Years After Revolt a Vote in Tunisia May
2022-07-25   2022-07-26 frica/tunisia-referendum-constitution.html  End Its Democratic Experiment               By Vivian Yee                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/world/a Beijing Integrates Its Financial and
2022-07-25   2022-07-26 sia/china-diplomacy-africa.html             Diplomatic Efforts in Africa                By Jane Perlez                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/world/a Myanmar Executes 4 Democracy Activists
2022-07-25   2022-07-26 sia/myanmar-executions.html                 Despite UN Outcry                           By Richard C Paddock             TX 9-189-149   2022-09-01



                                                                               Page 4047 of 5793
                        https://www.nytimes.com/2022/07/25/world/e Rivals for Prime Minister in Britain Strive to By Mark Landler and Stephen
2022-07-25   2022-07-26 urope/britain-sunak-truss-thatcher.html     See Who Can Be More Like Thatcher             Castle                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/world/e David Trimble Who Won Peace Prize for
2022-07-25   2022-07-26 urope/david-trimble-dead.html               Work in Northern Ireland Dies at 77           By Alan Cowell                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/world/e Britain to Host Eurovision Despite Ukraines
2022-07-25   2022-07-26 urope/eurovision-uk-ukraine.html            Victory                                       By Daniel Victor                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/world/e Russia to Slash Gas Flow To Germany            By Melissa Eddy and Matina
2022-07-25   2022-07-26 urope/russia-germany-gas-cut-eu.html        Intensifying Fears Throughout the EU          StevisGridneff                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/world/e
                        urope/ukraine-kherson-russia-               Ukraine Prepares for an Ambitious             By Michael Schwirtz and Daniel
2022-07-25   2022-07-26 counterattack.html                          Counterattack                                 Berehulak                         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/world/
                        middleeast/ukraine-soldiers-recruitment-    Hazy Standards Surround Military Recruiting By Jane Arraf and Oleksandr
2022-07-25   2022-07-26 draft.html                                  in Ukraine                                    Chubko                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/busines Politics President Pushes the Idea US Is Not
2022-07-26   2022-07-26 s/biden-remarks-recession.html              in a Recession                                By Jim Tankersley and Peter Baker TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/us/polit Biden Lashes Trump Over Capitol Riot
2022-07-26   2022-07-26 ics/biden-trump-jan-6.html                  Saying He Lacked the Courage to Act           By Peter Baker                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/world/a
                        mericas/pope-apology-canada-                Pope Expresses Grief in Alberta Over
2022-07-26   2022-07-26 indigenous.html                             Brutality                                     By Jason Horowitz and Ian Austen TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/26/busines Is It a Recession Yet Heres Why Its Hard to
2022-07-26   2022-07-26 s/economy/recession-economy.html            Say                                           By Ben Casselman                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/health/f
2022-07-26   2022-07-26 entanyl-vancouver-drugs.html                Dispensing Fentanyl                           By Stephanie Nolen                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/us/polit
2022-07-26   2022-07-26 ics/biden-drug-czar-rahul-gupta.html        Bidens Drug Czar Seeks to Lower Risk          By Noah Weiland                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/21/world/a                                                By Isabelle Qian Muyi Xiao Paul
2022-06-21   2022-07-27 sia/china-surveillance-investigation.html   Chinas Expanding Surveillance State           Mozur and Alexander Cardia        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/07/dining/
2022-07-07   2022-07-27 cilantro.html                               Cilantrophilia                                By Rachelle Meyer                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/dining/
2022-07-21   2022-07-27 chicago-hot-dog.html                        Its All Chicago And Zero Ketchup              By Eric Kim                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/dining/
2022-07-21   2022-07-27 drinks/best-wines-under-20-dollars.html     20 Wines Under 20 Summer Values               By Eric Asimov                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/dining/
2022-07-22   2022-07-27 how-to-pack-beach-cooler.html               How to Pack the Perfect Beach Cooler          By Naz Deravian                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/dining/
2022-07-22   2022-07-27 kung-pao-recipes.html                       Fireworks on a Plate Any Kind of Kung Pao By Genevieve Ko                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/obituari Michael Henderson Funk Bassist Turned
2022-07-23   2022-07-27 es/michael-henderson-dead.html              Soul Singer Is Dead at 71                     By Richard Sandomir               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/23/opinion
2022-07-23   2022-07-27 /climate-doomers-possibility.html           Try to Resist the Call of the Doomers         By Jane Coaston                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/arts/des Edward Feiner 75 Changed Look of Federal
2022-07-24   2022-07-27 ign/edward-a-feiner-dead.html               Buildings                                     By Clay Risen                     TX 9-189-149   2022-09-01



                                                                                Page 4048 of 5793
                        https://www.nytimes.com/2022/07/24/obituari Diana Kennedy 99 Who Explored Wonders
2022-07-24   2022-07-27 es/diana-kennedy-dead.html                   Of Mexican Food Dies                         By William Grimes       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/dining/
2022-07-25   2022-07-27 catchn-ice-cream-nyc.html                    This Ice Cream Is No Throwback               By Florence Fabricant   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/dining/ A Complicated Relationship With Mexican
2022-07-25   2022-07-27 diana-kennedy-mexican-cuisine.html           Cuisine                                      By Tejal Rao            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/dining/
2022-07-25   2022-07-27 kono-chinatown-review.html                   This Man Knows Chicken Cockscomb to Tail By Pete Wells               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/dining/l
2022-07-25   2022-07-27 a-boite-newsletter-recipes.html              La Bote Newsletter Comes With a Recipe       By Florence Fabricant   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/dining/
2022-07-25   2022-07-27 meal-kits-james-beard-foundation.html        Chefs in Training Produce Meal Kits          By Florence Fabricant   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/dining/
2022-07-25   2022-07-27 nonalcoholic-wine-south-africa.html          South African Wine Without the Buzz          By Florence Fabricant   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/dining/r
                        umrunning-in-suffolk-county-amy-kasuga-
2022-07-25   2022-07-27 folk.html                                    Detailing the History Of Liquor Island       By Florence Fabricant   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/dining/t A Nutritional Alternative To the Average
2022-07-25   2022-07-27 he-better-bagel.html                         Bagel                                        By Florence Fabricant   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/movies/
2022-07-25   2022-07-27 paul-sorvino-goodfellas.html                 Voluble but He Learned the Silent Nod        By Glenn Kenny          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/opinion
2022-07-25   2022-07-27 /kamala-harris-joe-biden.html                The Vice President Is Stuck                  By Jeffrey Frank        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/arts/des
2022-07-26   2022-07-27 ign/glyn-philpot-black-portraits.html        Deeper Humanity for a Painters Models        By Precious Adesina     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/arts/mu
2022-07-26   2022-07-27 sic/teodor-currentzis-musicaeterna.html      Backlash For Maestro Over Ties To Russia By Javier C Hernndez        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/arts/tele
                        vision/disability-representation-tv-movies-
2022-07-26   2022-07-27 study.html                                   Depiction of Disabilities Still Falls Short  By Sarah Bahr           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/books/b US Authors Lead List of Booker Prize
2022-07-26   2022-07-27 ooker-prize-longlist-fowler-strout.html      Nominees                                     By Alex Marshall        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/books/r
                        eview-inventing-it-girl-elinor-glyn-hilary-
2022-07-26   2022-07-27 hallett.html                                 She Just Had That Special Something          By Alexandra Jacobs     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/briefing Inflation Throttles the US and Europe but for
2022-07-26   2022-07-27 /inflation-prices-ukraine-economy.html       Different Reasons                            By German Lopez         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/busines
2022-07-26   2022-07-27 s/alibaba-hong-kong.html                     Alibaba Eyes Hong Kong For a Buffer          By Paul Mozur           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/busines
2022-07-26   2022-07-27 s/ecb-rate-increase-wunsch.html              Call to Raise Banks Rates In Europe          By Eshe Nelson          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/busines As Pressures Accumulate Small Shops Are
2022-07-26   2022-07-27 s/economy/small-business-recession.html      Worried                                      By Lydia DePillis       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/busines
2022-07-26   2022-07-27 s/imf-world-economy.html                     World at Risk of Recession IMF Says          By Alan Rappeport       TX 9-189-149   2022-09-01



                                                                                 Page 4049 of 5793
                        https://www.nytimes.com/2022/07/26/busines For 3 Giants Sales Show Altered Consumer By Jason Karaian Isabella
2022-07-26   2022-07-27 s/inflation-shopping-habits-unilever.html   Habits                                       Simonetti and Julie Creswell     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/busines Possible Death Blow as Conservative           By Jeremy W Peters and Benjamin
2022-07-26   2022-07-27 s/oan-troubles.html                         Network Loses TV Carriers                    Mullin                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/busines
                        s/speculative-development-building-
2022-07-26   2022-07-27 warehouses.html                             Need for Speed Spurs a Spec Building Boom By Kevin Williams                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/dining/i
2022-07-26   2022-07-27 ce-cream-truck-nyc.html                     Those Cheery Jingles Mask Financial Woes By Christina Morales                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/dining/
2022-07-26   2022-07-27 us-open-food.html                           A Meal and a Tennis Match and More           By Nikita Richardson             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/health/c Gene Variant and 2 Viruses Are Tied to Child
2022-07-26   2022-07-27 hildren-hepatitis-virus.html                Hepatitis                                    By Emily Anthes                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/health/c Few Parents Say They Plan to Vaccinate
2022-07-26   2022-07-27 ovid-vaccines-kids-youngest.html            Young Children Against Covid                 By Jan Hoffman                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/health/t Opioid Manufacturer Reaches Tentative
2022-07-26   2022-07-27 eva-opioids-settlement.html                 Settlement Deal                              By Jan Hoffman                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/movies/
2022-07-26   2022-07-27 australia-women-directors.html              At the Vanguard of an Australian Renaissance By Devika Girish                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/nyregio A Judge Blocks 200 Million in Cuts to New
2022-07-26   2022-07-27 n/nyc-schools-budget-cuts-adams.html        York Citys School Budget                     By Lola Fadulu                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/nyregio Release of Suspect in Attack on Candidate
2022-07-26   2022-07-27 n/zeldin-bail-assault.html                  Raises Questions on Bail Laws                By Jonah E Bromwich and Jay Root TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/opinion Bidens Bold Plan for a Green Transition I
2022-07-26   2022-07-27 /biden-oil.html                             Hope                                         By Thomas L Friedman             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/opinion
2022-07-26   2022-07-27 /us-ukraine-leadership.html                 Our Leaderless Free World                    By Bret Stephens                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/science Russia to Leave Space Station Clouding        By Kenneth Chang and Ivan
2022-07-26   2022-07-27 /russia-space-station.html                  Future of Exploration                        Nechepurenko                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/sports/b
                        aseball/milwaukee-brewers-trade-            The Brewers Lead the NL Central but They
2022-07-26   2022-07-27 deadline.html                               Probably Shouldnt                            By Benjamin Hoffman              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/sports/o                                              By Kevin Draper and Francesca
2022-07-26   2022-07-27 lympics/track-world-records.html            Records Fall Sometimes Its the Shoes         Paris                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/sports/s In an Upset England Wins in the Euros And
2022-07-26   2022-07-27 occer/england-sweden-alessia-russo.html     Has Fun Doing It                             By Rory Smith                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/technol Popular Instagram Celebrities Criticize Apps
2022-07-26   2022-07-27 ogy/instagram-kylie-jenner-criticism.html   New Direction                                By Kalley Huang                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/technol Crypto Firm Is Accused of Violating           By Ryan Mac and David
2022-07-26   2022-07-27 ogy/kraken-crypto-iran.html                 Sanctions                                    YaffeBellany                     TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/26/technol
2022-07-26   2022-07-27 ogy/zuckerberg-meta-facebook-earnings.html Intensity Overdrive at Meta                By Mike Isaac                     TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/26/us/flash-Flash Flooding in St Louis After          By Michael Levenson Christine
2022-07-26   2022-07-27 flooding-st-louis-missouri.html             RecordSetting Deluge                      Hauser and Eric Berger            TX 9-189-149     2022-09-01



                                                                                 Page 4050 of 5793
                        https://www.nytimes.com/2022/07/26/us/polit Sexual Abuse And Violence Run Rampant At
2022-07-26   2022-07-27 ics/atlanta-federal-prisons-corruption.html US Prison                                   By Glenn Thrush                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/us/polit Democrats Aid Trump Favorite In Effort to
2022-07-26   2022-07-27 ics/democrats-john-gibbs-peter-meijer.html Tip Michigan Race                            By Jonathan Weisman            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/us/polit US to Give Cities Money To Aid Access To
2022-07-26   2022-07-27 ics/dot-public-transit-program.html         Transit                                     By Stephanie Lai               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/us/polit
                        ics/mike-pence-trump-speech-
2022-07-26   2022-07-27 washington.html                             A TrumpPence Split And an Uneasy Party      By Michael C Bender            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/us/polit
                        ics/online-fundraising-republicans-
2022-07-26   2022-07-27 democrats.html                              Drop in SmallDollar Donations Alarms GOP By Shane Goldmacher               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/us/polit Senate Advances Expansive Industrial Policy
2022-07-26   2022-07-27 ics/senate-industrial-policy-bill.html      Bill to Counter China                       By Catie Edmondson             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/us/polit Advisers Knew Trump Electors Would Be By Maggie Haberman and Luke
2022-07-26   2022-07-27 ics/trump-fake-electors-emails.html         Fake                                        Broadwater                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/us/texa
2022-07-26   2022-07-27 s-heat-poverty-islands-san-antonio.html     Poor in Texas And Helpless Against Heat     By Edgar Sandoval              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/world/a Across China Heat Waves Grow Longer And
2022-07-26   2022-07-27 sia/china-heat-wave.html                    Warmer                                      By Vivian Wang                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/world/a
                        sia/democracies-authoritarian-              Are Democracies Better or Worse at Handling
2022-07-26   2022-07-27 governments.html                            Big Crises                                  By Max Fisher                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/world/a In Kyiv a Determination to Laugh Dance and By Jeffrey Gettleman and Laura
2022-07-26   2022-07-27 sia/kyiv-ukraine-war-nightlife.html         Cuddle Hard                                 Boushnak                       TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/26/world/e
2022-07-26   2022-07-27 urope/archie-battersbee-uk-life-support.html UK Boys Parents Lose LifeSupport Appeal By Emma Bubola                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/world/e Fearing a Shutoff by Putin Europe Agrees to
2022-07-26   2022-07-27 urope/russia-gas-cuts-putin-eu.html          Curb Its Use of Natural Gas                By Matina StevisGridneff       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/world/
                        middleeast/tunisia-constitution-             Tunisians Approve New Constitution Backing
2022-07-26   2022-07-27 democracy.html                               Leaders OneMan Rule                        By Vivian Yee                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/your-
2022-07-26   2022-07-27 money/bruce-springsteen-tickets.html         Springsteen Fans Aghast 5000 Seat          By Ron Lieber                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/article/flooding-    Floods Climate Change And the Future
2022-07-26   2022-07-27 climate-change.html                          Forecast                                   By Elena Shao                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/us/polit In First Alex Jones Trial Parents Request
2022-07-27   2022-07-27 ics/sandy-hook-alex-jones.html               Millions                                   By Elizabeth Williamson        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/us/polit US Prosecutors Pursuing Details On Trumps By Maggie Haberman and Glenn
2022-07-27   2022-07-27 ics/trump-jan-6-justice-department.html      Role                                       Thrush                         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/busines Biden Labors to Ease Voter Fears of a
2022-07-27   2022-07-27 s/biden-recession-us-economy.html            Recession                                  By Jim Tankersley              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/us/polit Yes Biden Is Facing A Long List of Crises
2022-07-27   2022-07-27 ics/biden-emergency-declarations.html        Are They Emergencies                       By Michael D Shear             TX 9-189-149   2022-09-01



                                                                               Page 4051 of 5793
                        https://www.nytimes.com/2022/07/20/style/he
2022-07-20   2022-07-28 llgate-nyc-launch.html                         Writing Their Dream Jobs Into Reality        By Ashley Wong                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/well/liv Here to Help How to Get Vaccinated Tested
2022-07-21   2022-07-28 e/monkeypox-vaccine-treatment.html             and Treated for Monkeypox                    By Knvul Sheikh                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/opinion How to Talk About Extreme Weather With
2022-07-25   2022-07-28 /climate-change-conservatives.html             Your Angry Uncle                             By Margaret Renkl                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/style/de Woofer Magic Meet a Shaman of Sound
2022-07-25   2022-07-28 von-turnbull-ojas-speakers.html                Systems                                      By Alex Hawgood                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/style/di Dimes Square Gets the Splashy Hotel It
2022-07-25   2022-07-28 mes-square-nine-orchard-hotel.html             Deserves                                     By Marisa Meltzer                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/style/ye                                                 By Vanessa Friedman Jessica Testa
2022-07-25   2022-07-28 ezy-gap-balenciaga.html                        Yeezy Gap From Chaos to Creation             and Sapna Maheshwari              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/arts/mu
2022-07-26   2022-07-28 sic/joni-mitchell-performance.html             Joni Mitchell Reclaims Her Voice at Newport By Lindsay Zoladz                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/arts/tele Tony Dow Who Played Wally Cleaver Loyal
2022-07-26   2022-07-28 vision/tony-dow-dead.html                      Brother of the Beav Dies at 77               By Anita Gates                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/fashion
2022-07-26   2022-07-28 /highbrow-fashion-in-gritty-spaces.html        Highbrow Fashion Adopts Gritty Spaces        By Steven Kurutz                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/movies/
2022-07-26   2022-07-28 bj-novak-vengeance.html                        A Leading Man Follows His Heart              By Dave Itzkoff                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/technol
2022-07-26   2022-07-28 ogy/streaming-sports.html                      Will Streaming Save Sports                   By Shira Ovide                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/world/a DNA Researchers Attach Name to a Man
2022-07-26   2022-07-28 ustralia/somerton-man-name.html                Who Died in Australia in 1948                By Alan Yuhas                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/world/a A 70 Magnitude Quake Kills at Least 4 in the
2022-07-27   2022-07-28 sia/philippines-earthquake.html                Philippines                                  By Jason Gutierrez and Mike Ives TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/27/arts/dan
2022-07-27   2022-07-28 ce/dormeshia-review-rhythm-is-life.html        A Complex Master Class Without Clutter       By Brian Seibert                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/arts/dan
2022-07-27   2022-07-28 ce/joyce-theater-season.html                   Debuts and Hope For a Dance Season           By Rachel Sherman                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/arts/for
                        d-mellon-foundations-2022-disability-futures-
2022-07-27   2022-07-28 fellows.html                                   Foundations Name Disability Futures Fellows By Sarah Bahr                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/arts/mu
2022-07-27   2022-07-28 sic/beyonce-renaissance-rollout.html           A Rare Rollout From Beyonc                   By Joe Coscarelli and Ben Sisario TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/arts/mu
2022-07-27   2022-07-28 sic/currentzis-castellucci-salzburg.html       Conjuring Cataclysms Personal and Cosmic By Joshua Barone                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/books/r
                        eview-inheritors-south-africa-racial-reckoning-
2022-07-27   2022-07-28 eve-fairbanks.html                             Apartheid Ended Life Was Still Complicated By Jennifer Szalai                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/busines
                        s/berkshire-hathaway-trident-mortgage-         Berkshire HathawayOwned Trident Mortgage
2022-07-27   2022-07-28 redlining-20-million.html                      Will Pay 20 Million to Settle Redlining Case By Emily Flitter                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/busines Boeing Predicts Turnaround Despite Decline
2022-07-27   2022-07-28 s/boeing-q2-earnings.html                      in Profit                                    By Niraj Chokshi                  TX 9-189-149   2022-09-01



                                                                                 Page 4052 of 5793
                        https://www.nytimes.com/2022/07/27/busines Fed Ratchets Up Rates Again Taking Aim at
2022-07-27   2022-07-28 s/economy/fed-interest-rate-inflation.html  Spiraling Prices                              By Jeanna Smialek               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/busines What Inflation Looks Like To American          By Jeanna Smialek Emily Erdos
2022-07-27   2022-07-28 s/economy/inflation-expectations.html       Consumers                                     and Kelsey McClellan            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/busines
2022-07-27   2022-07-28 s/lufthansa-flights-canceled.html           Lufthansa Halts Flights Over Protest          By Heather Murphy               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/busines Russia Cuts Natural Gas To Germany Once
2022-07-27   2022-07-28 s/russia-natural-gas-germany.html           Again                                         By Stanley Reed                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/busines Spirit and Frontier Airlines Cancel a Proposed
2022-07-27   2022-07-28 s/spirit-airlines-frontier-jetblue.html     Merger                                        By Niraj Chokshi                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/climate James Lovelock 103 Whose Gaia Theory Saw
2022-07-27   2022-07-28 /james-lovelock-dead.html                   the Earth as Alive Dies                       By Keith Schneider              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/health/f Top Regulator To Take a Job With a Maker
2022-07-27   2022-07-28 da-tobacco-philip-morris.html               Of Cigarettes                                 By Christina Jewett             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/health/ UN Reports Setbacks In Global HIV Fight As
2022-07-27   2022-07-28 hiv-infections-unaids.html                  Infections Stay High                          By Apoorva Mandavilli           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/health/ Doses to Fight Monkeypox Will Increase By
2022-07-27   2022-07-28 monkeypox-vaccine-doses.html                800000                                        By Apoorva Mandavilli           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/health/ Vitamin D Supplements Dont Help Protect
2022-07-27   2022-07-28 vitamin-d-bone-fractures.html               Bones From Fractures a Large Study Finds      By Gina Kolata                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/27/nyregio Mans Hobby Was Getting Many Ballots
2022-07-27   2022-07-28 n/absentee-ballots-louis-koch-elections.html Officials Say                               By Benjamin Weiser               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/opinion Mario Draghis Fall Is a Triumph of
2022-07-27   2022-07-28 /italy-draghi-populism.html                  Democracy Not a Threat to It                By Christopher Caldwell          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/opinion                                               By Samuel Charap and Jeremy
2022-07-27   2022-07-28 /ukraine-russia-us-diplomacy.html            The US and Russia Need to Start Talking     Shapiro                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/opinion
2022-07-27   2022-07-28 /yellowstone-mountain-west.html              Who Owns the American West                  By Ross Douthat                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/science NASAs Next Big Mission To Mars Will
2022-07-27   2022-07-28 /mars-sample-mission-nasa.html               Replace Rover With Helicopters              By Kenneth Chang                 TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/27/sports/b Sparks Agree to Contract Divorce With Star
2022-07-27   2022-07-28 asketball/liz-cambage-los-angeles-sparks.html Months Into FreeAgent Deal                 By Remy Tumin                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/sports/c Female Cyclists Face Steep Climb Toward      By Juliet Macur and Monique
2022-07-27   2022-07-28 ycling/tour-de-france-female-cyclists.html    Equality                                   Jaques                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/sports/g Its Not About the Money And Other Tall
2022-07-27   2022-07-28 olf/liv-golfers-pga.html                      Tales They Tell                            By Bill Pennington               TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/27/sports/g Embracing Saudi Tour Trump Tries Again to    By Alan Blinder and Maggie
2022-07-27   2022-07-28 olf/liv-trump-bedminster-saudi-arabia.html  Infiltrate the Sports World                  Haberman                         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/sports/s France Comes to Win Not to Make Friends
2022-07-27   2022-07-28 occer/germany-france-corinne-diacre.html    And Does Neither                             By Rory Smith                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/technol Meta Reports Revenue Dip And Sees
2022-07-27   2022-07-28 ogy/meta-earnings-revenue-decline.html      Challenges Ahead                             By Mike Isaac                    TX 9-189-149   2022-09-01



                                                                                 Page 4053 of 5793
                        https://www.nytimes.com/2022/07/27/technol FTC Sues to Stop Meta From a Virtual
2022-07-27   2022-07-28 ogy/meta-facebook-vr-ftc.html               Reality Deal                               By David McCabe and Mike Isaac TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/27/technol
                        ogy/personaltech/default-settings-turn-
2022-07-27   2022-07-28 off.html                                    Default Settings to Be Wary Of             By Brian X Chen                 TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/27/theater/
2022-07-27   2022-07-28 mr-burns-a-post-electric-play-review.html    Apocalypse Eventually With Songs          By Alexis Soloski               TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/27/us/arizo Arizona GOP Primary Underscores Class
2022-07-27   2022-07-28 na-republican-primary.html                  Divisions                                  By Jack Healy                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/us/geor Final Two Officers Sentenced in Floyds      By Jeffrey C Kummer and Nicholas
2022-07-27   2022-07-28 ge-floyd-j-alexander-kueng.html             Death                                      BogelBurroughs                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/us/india Indiana Clash Shows GOP Rift Over the
2022-07-27   2022-07-28 na-abortion.html                            Scope of Abortion Bans                     By Mitch Smith and Julie Bosman TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/27/us/polit Gun Makers Testify They Bear No
2022-07-27   2022-07-28 ics/assault-weapons-revenue.html            Responsibility for Violence                By Annie Karni                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/27/us/polit President Ends Covid Isolation After His   By Peter Baker and Michael D
2022-07-27   2022-07-28 ics/biden-negative-covid.html               Tests Are Negative                         Shear                           TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/27/us/polit Senate Hopefuls Rebuke Big Tech but Have
2022-07-27   2022-07-28 ics/big-tech-oz-jd-vance-masters-senate.html Deep Ties to It                           By Jonathan Weisman             TX 9-189-149    2022-09-01

                        https://www.nytimes.com/2022/07/27/us/polit A Broad Convoluted Plan To Create Bogus
2022-07-27   2022-07-28 ics/fake-electors-explained-trump-jan-6.html Electors A Brazen Plot Explained          By Alan Feuer and Katie Benner   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/us/polit Man Accused of Assaulting Officer on Jan 6
2022-07-27   2022-07-28 ics/george-tanios-brian-sicknick-jan-6.html Pleads Guilty to Lesser Charges            By Alan Feuer                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/us/polit Machin in Shift Supports Climate and Tax   By Emily Cochrane Jim Tankersley
2022-07-27   2022-07-28 ics/manchin-climate-tax-bill.html            Measures                                  and Lisa Friedman                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/us/polit In Bid to Counter China Senate Passes a
2022-07-27   2022-07-28 ics/senate-chips-china.html                  Sweeping Industrial Bill                  By Catie Edmondson               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/us/polit US Military Coordinates a Sort of Wedding
2022-07-27   2022-07-28 ics/ukraine-weapons-center.html              Registry for Arms to Ukraine              By Eric Schmitt                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/us/russi US Offers Prisoner Exchange Russian Arms By Michael Crowley Julian E
2022-07-27   2022-07-28 a-griner-whelan-prisoners.html               Dealer for Griner                         Barnes and Ivan Nechepurenko     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/us/yose Yosemites Paradox Cutting the Trees to Save By Thomas Fuller and Livia
2022-07-27   2022-07-28 mite-fires-cut-and-burn.html                 the Park                                  AlbeckRipka                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/world/a AntiUN Protests in Congo Leave              By Steve Wembi and Abdi Latif
2022-07-27   2022-07-28 frica/congo-un-peacekeepers.html             Peacekeepers Among Dead                   Dahir                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/world/a U Phyo Zeya Thaw 41 Burmese Rapper
2022-07-27   2022-07-28 sia/27phyo-zeya-thaw-dead.html               Hanged For Resistance to Junta            By Hannah Beech                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/world/a Bangladesh Asks IMF for Help As Inflation
2022-07-27   2022-07-28 sia/bangladesh-imf-inflation.html            Bleeds South Asia                         By Saif Hasnat and Emily Schmall TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/world/a City in Japan Kills Monkey After Attacks
2022-07-27   2022-07-28 sia/japan-monkey-attacks.html                On Children                               By Hisako Ueno and Mike Ives     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/world/a Hong Kong Leaders Make a Show of Their
2022-07-27   2022-07-28 sia/xi-jinping-hong-kong.html                Loyalty to Xi                             By Austin Ramzy and Tiffany May TX 9-189-149    2022-09-01



                                                                                 Page 4054 of 5793
                                                                          Technology Experts Say Member of EU
                        https://www.nytimes.com/2022/07/27/world/e Parliament Was the Target of a Hacking              By Matina StevisGridneff and
2022-07-27   2022-07-28 urope/eu-spyware-predator-pegasus.html            Attempt                                      Monika Pronczuk                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/world/e Choice for Vocal Critics of Putin Emigration
2022-07-27   2022-07-28 urope/russia-putin-ilya-yashin.html               or Prison                                    By Valerie Hopkins               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/world/u British Tourists Conviction Is Overturned by
2022-07-27   2022-07-28 k-tourist-iraq-artifacts.html                     Iraq Court                                   By Cora Engelbrecht              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/live/2022/07/27/bus
                        iness/fed-interest-rates/interest-rate-inflation-
2022-07-27   2022-07-28 impact                                            The Logic Of Raising Rates Again             By Jeanna Smialek                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/us/polit Xis Domestic Issues May Be One Reason For
2022-07-28   2022-07-28 ics/biden-jinping-china-taiwan.html               His Tone With US                             By Peter Baker                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/health/c In Rural America Covid Hits Nonwhites the
2022-07-28   2022-07-28 ovid-deaths-black-hispanic-rural.html             Hardest                                      By Benjamin Mueller              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/insider/
                        a-newsletter-that-puts-all-the-pieces-
2022-07-28   2022-07-28 together.html                                     A Newsletter Puts the Pieces Together        By Emmett Lindner                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/nyregio Public Defenders Push Against Firearm
2022-07-28   2022-07-28 n/guns-public-defenders-scotus.html               Charges After Court Ruling                   By Jonah E Bromwich              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/style/fe
                        stivals-fashion-where-rihanna-got-her-style-
2022-07-28   2022-07-28 groove.html                                       Where Rihanna Got Her Style Groove           By Jaha Nailah Avery             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/theater/ Who Can Play the King A Casting Debate
2022-07-28   2022-07-28 richard-iii-casting-debates.html                  Goes Beyond Color                            By Marc Tracy                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/insider/
2022-07-29   2022-07-28 getting-well-with-lori-leibovich.html             Getting Well With Lori Leibovich             By Sarah Diamond                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/nyregio Michael R Long 82 New York Conservative
2022-07-25   2022-07-29 n/michael-long-dead.html                          Stalwart                                     By Sam Roberts                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/opinion
2022-07-26   2022-07-29 /elise-stefanik-trump.html                        What in the World Happened to Elise Stefanik By Peter Wehner                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/arts/tele
                        vision/jeopardy-ken-jennings-mayim-               Jeopardy Finally Answers Question About Its
2022-07-27   2022-07-29 bialik.html                                       Hosts                                        By Julia Jacobs                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/movies/
2022-07-27   2022-07-29 we-met-in-virtual-reality-review.html             We Met in Virtual Reality                    By Nicolas Rapold                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/world/e                                                     By Melissa Eddy Stanley Reed and
2022-07-27   2022-07-29 urope/germany-lng-energy-gas.html                 Germany Warms to Chilled Gas                 Patrick Junker                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/arts/des
                        ign/becher-met-review-photography-
2022-07-28   2022-07-29 industry.html                                     Machine Age Monuments as Alluring Curios By Blake Gopnik                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/arts/des
                        ign/raphael-montanez-ortiz-el-museuo-del-
2022-07-28   2022-07-29 barrio.html                                       How to Decolonize a Museum Try an Ax         By John Vincler                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/arts/mu
2022-07-28   2022-07-29 sic/valentin-schwarz-bayreuth-ring.html           A Director Enters the House of Wagner        By Ben Miller                    TX 9-189-149   2022-09-01



                                                                                  Page 4055 of 5793
                        https://www.nytimes.com/2022/07/28/arts/tele
2022-07-28   2022-07-29 vision/the-resort-paper-girls-streaming.html This Weekend I Have                        By Margaret Lyons               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/busines After 2 Trillion Slide Tech Giants Swagger
2022-07-28   2022-07-29 s/big-tech-resilient-economy.html            Their Way Through a Storm                  By Tripp Mickle                 TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/28/busines                                                By Alan Rappeport and Emily
2022-07-28   2022-07-29 s/carried-interest-loophole-tax-proposal.html Loophole for Executives May Shrink Slightly Flitter                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/busines Democrats Plan to Fight Inflation May Lower By Jim Tankersley and Alan
2022-07-28   2022-07-29 s/climate-tax-bill-inflation-biden.html       Costs Over Time                             Rappeport                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/busines Economy Shrinks Again Amplifying Fear of
2022-07-28   2022-07-29 s/economy/gdp-q2-economy.html                 Recession                                   By Ben Casselman              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/busines Upending Predictions German Inflation Hits
2022-07-28   2022-07-29 s/germany-inflation.html                      85 Dogged by Energy Prices                  By Melissa Eddy               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/busines
2022-07-28   2022-07-29 s/jetblue-spirit-merger.html                  JetBlue And Spirit Announce A Merger        By Niraj Chokshi              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/busines
                        s/media/buffalo-news-editor-sheila-           Black Woman Named Editor Of Buffalos
2022-07-28   2022-07-29 rayman.html                                   Daily Newspaper                             By Livia AlbeckRipka          TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/28/busines
2022-07-28   2022-07-29 s/media/los-angeles-times-bad-city-usc.html Public Feud Of Reporter And Editors       By John Koblin                   TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/28/busines
2022-07-28   2022-07-29 s/newsmax-verizon-fios.html                 Newsmax Renews Deal With Verizon          By Lora Kelley                   TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/28/busines Workers at a Trader Joes In Massachusetts
2022-07-28   2022-07-29 s/trader-joes-union.html                    Unionize                                  By Noam Scheiber                 TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/28/busines West Virginia Moves to Sever Dealings With
2022-07-28   2022-07-29 s/west-virginia-fossil-fuel-banks.html      Banks It Says Dont Support Coal           By David Gelles                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/28/climate Seven Important Provisions in the Climate
2022-07-28   2022-07-29 /biden-climate-deal-key-provisions.html     Legislation                               By Elena Shao                    TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/28/climate Climate Change Intensified Britains Heat
2022-07-28   2022-07-29 /britain-heat-wave-climate-change.html      Wave Researchers Find                     By Raymond Zhong                 TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/28/climate In Climate Bill US Gets Reset On World
2022-07-28   2022-07-29 /climate-change-deal-manchin.html           Stage                                     By Lisa Friedman and Brad Plumer TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/28/health/ Health Secretary Says States Need to Work By Sheryl Gay Stolberg and Noah
2022-07-28   2022-07-29 monkeypox-becerra-states.html               With Us on Fighting Monkeypox             Weiland                          TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/28/health/t
2022-07-28   2022-07-29 ransgender-youth-uk-tavistock.html          UK Revamps TransgenderYouth Health Care By Azeen Ghorayshi                 TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 a-balance-review-critical-distance.html     A Balance                                 By Austin Considine              TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 a-love-song-review.html                     The Romantic Ache That Never Truly Dies By Jeannette Catsoulis             TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 adolfas-mekas-hallelujah-the-hills.html     An AvantGarde Film That Went for Laughs By J Hoberman                      TX 9-189-149    2022-09-01




                                                                                Page 4056 of 5793
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 ali-ava-review.html                        Ali amp Ava                                By Beandrea July              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 blue-island-review.html                    Blue Island                                By Ben Kenigsberg             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 dc-league-of-super-pets-review.html        DC League Of SuperPets                     By Calum Marsh                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 hansan-rising-dragon-review.html           Hansan Rising Dragon                       By Nicolas Rapold             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 honor-society-review.html                  Honor Society                              By Glenn Kenny                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 how-to-please-a-woman-review.html          How to Please A Woman                      By Natalia Winkelman          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 hypochondriac-review.html                  Hypochondriac                              By Teo Bugbee                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 medusa-review.html                         Medusa                                     By Beatrice Loayza            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 not-okay-review.html                       Not Okay                                   By Lena Wilson                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 paradise-highway-review.html               Paradise Highway                           By Concepcin de Len           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 resurrection-review.html                   The Mother of All Fears                    By Jeannette Catsoulis        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 sharp-stick-review.html                    Lena Dunhams Fable Of Oblivious Desire     By Amy Nicholson              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-29 vengeance-review.html                      True Crime With a Side of Frito Pie        By AO Scott                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/nyregio In Monkeypox Gay Men Confront a Health
2022-07-28   2022-07-29 n/gay-men-monkeypox-health-crisis.html     Crisis With Echoes of the Past             By Liam Stack                 TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/28/nyregio Why Rape Survivors Asked the US To
2022-07-28   2022-07-29 n/nypd-doj-special-victims-investigation.html Investigate the New York Police         By Ashley Southall            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/nyregio Election Law Changes Trim Choices in New
2022-07-28   2022-07-29 n/third-parties-governor-ny.html              York Race                               By Jay Root                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/opinion Pelosis Trip to Taiwan Is a Dangerous      By Bonnie S Glaser and Zack
2022-07-28   2022-07-29 /china-us-taiwan-pelosi.html                  Gamble                                  Cooper                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/opinion
2022-07-28   2022-07-29 /find-who-you-are.html                        How to Find Out Who You Are             By David Brooks               TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/28/sports/b In Need of TableSetter Yankees Acquire
2022-07-28   2022-07-29 aseball/andrew-benintendi-yankees-trade.html Benintendi and His 320 Average           By Gary Phillips              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/sports/b Round 1 to Mets But Yanks Remain Unfazed
2022-07-28   2022-07-29 aseball/yankees-mets.html                    by Sweep                                 By Tyler Kepner               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/sports/b
                        asketball/its-a-long-leap-from-sports-team-  A Sports Team Owner Learns Its Easier to
2022-07-28   2022-07-29 owner-to-us-senator.html                     Please Fans Than Win Voters              By David W Chen               TX 9-189-149   2022-09-01



                                                                              Page 4057 of 5793
                        https://www.nytimes.com/2022/07/28/sports/f Owner of Commanders Appears Before
2022-07-28   2022-07-29 ootball/dan-snyder-harassment-congress.html Congress                                    By Jenny Vrentas and Ken Belson TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/28/sports/g The Host Plays by His Own Rules or None at
2022-07-28   2022-07-29 olf/donald-trump-liv-bedminster.html        All                                         By Bill Pennington               TX 9-189-149      2022-09-01
                        https://www.nytimes.com/2022/07/28/sports/g Praise for the Saudis Criticism for the PGA
2022-07-28   2022-07-29 olf/donald-trump-liv-saudi-pga.html         Tour and Skepticism Over 911                By David Waldstein               TX 9-189-149      2022-09-01
                        https://www.nytimes.com/2022/07/28/sports/g
2022-07-28   2022-07-29 olf/liv-charles-barkley-saudi.html          Barkley Lobbies for a Piece of the Action   By David Waldstein               TX 9-189-149      2022-09-01
                        https://www.nytimes.com/2022/07/28/technol
2022-07-28   2022-07-29 ogy/ftc-lina-khan-meta.html                 Suit vs Meta Is a Change For the FTC        By Cecilia Kang                  TX 9-189-149      2022-09-01
                        https://www.nytimes.com/2022/07/28/technol After Users Grumble Instagram Rolls Back
2022-07-28   2022-07-29 ogy/instagram-reverses-changes.html         Product Changes                             By Kalley Huang and Mike Isaac TX 9-189-149        2022-09-01
                        https://www.nytimes.com/2022/07/28/technol
2022-07-28   2022-07-29 ogy/tech-uncertainty.html                   The Word of the Year Is Uncertainty         By Shira Ovide                   TX 9-189-149      2022-09-01
                        https://www.nytimes.com/2022/07/28/theater/
2022-07-28   2022-07-29 oresteia-review-park-avenue-armory.html     A Mothers Grief Underestimated              By Laura CollinsHughes           TX 9-189-149      2022-09-01
                        https://www.nytimes.com/2022/07/28/us/beag An Outpouring of Help for 4000 FloppyEared
2022-07-28   2022-07-29 les-rescue-envigo.html                      Survivors                                   By April Rubin and Jesus Jimnez TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/28/us/heat- Hopeless in the Heat A Nation Throws In     By Jack Healy Edgar Sandoval and
2022-07-28   2022-07-29 records-summer-climate.html                 The Sweaty Towel                            Elena Shao                       TX 9-189-149      2022-09-01
                        https://www.nytimes.com/2022/07/28/us/kent Kentucky Faces One of Its Worst Flooding
2022-07-28   2022-07-29 ucky-flash-flooding.html                    Events and Braces for Rising Casualties     By Jesus Jimnez and April Rubin TX 9-189-149       2022-09-01
                        https://www.nytimes.com/2022/07/28/us/los- A New Star Tire Marks and All Arrives in     By Shawn Hubler and Soumya
2022-07-28   2022-07-29 angeles-bridge-viaduct.html                 Los Angeles                                 Karlamangla                      TX 9-189-149      2022-09-01

                        https://www.nytimes.com/2022/07/28/us/polit Doctor in Indiana Faces Risks as Voice For By Sheryl Gay Stolberg and Ava
2022-07-28   2022-07-29 ics/abortion-doctor-caitlin-bernard-ohio.html Abortion Rights                              Sasani                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/us/polit In Marathon Call Biden and Xi Address the
2022-07-28   2022-07-29 ics/biden-xi-call-china.html                  Tension Over Taiwan                          By Peter Baker and Jane Perlez   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/us/polit A Political Comeback Bid Meets Fierce
2022-07-28   2022-07-29 ics/eric-greitens-missouri-senate.html        Opposition In a Missouri Senate Race         By Blake Hounshell               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/us/polit FBI Signals It Is Willing To Settle Suits Over
2022-07-28   2022-07-29 ics/fbi-larry-nassar-lawsuits.html            Nassar                                       By Katie Benner and Glenn Thrush TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/us/polit Two Democrats Buried Grudges To Salvage By Emily Cochrane and Annie
2022-07-28   2022-07-29 ics/manchin-schumer-climate-tax-deal.html Deal                                             Karni                            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/us/polit Eyeing 2024 a Cautious Pence Keeps Trying
2022-07-28   2022-07-29 ics/mike-pence-2024-trump.html                to Make a Case for Pence                     By Blake Hounshell               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/us/polit
2022-07-28   2022-07-29 ics/swing-voters-political-parties.html       Swing Voters Are Still Up for Grabs          By Katie Glueck                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/us/polit Justice Dept Wary of Backlash Treads Lightly By Glenn Thrush Adam Goldman
2022-07-28   2022-07-29 ics/trump-garland-investigation.html          in Jan 6 Inquiry                             and Katie Benner                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/us/tim- Tim Giago 88 Is Dead Journalist Who Fought
2022-07-28   2022-07-29 giago-dead.html                               For Native Americans                         By Alex Williams                 TX 9-189-149   2022-09-01




                                                                                Page 4058 of 5793
                        https://www.nytimes.com/2022/07/28/world/a Pope Makes His Frailty a Lesson in
2022-07-28   2022-07-29 mericas/pope-francis-canada-elderly.html   Compassion                                    By Jason Horowitz                 TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/28/world/a Australias Broad New Law Against Foreign
2022-07-28   2022-07-29 ustralia/di-sanh-duong-chinese-austrailia.html Interference Is Tested in Court           By Yan Zhuang                     TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/28/world/e                                               By Michael Schwirtz Marc Santora
                        urope/ukraine-russia-counteroffensive-     Russians Risk Isolation In Port City as       Matthew Mpoke Bigg Maria
2022-07-28   2022-07-29 kherson.html                               Ukraine Readies Attack in South               Varenikova and Michael Levenson TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/28/world/e
2022-07-28   2022-07-29 urope/ukraine-war-military-artifacts.html  Salvaging War Trophies From Battlefields      By Jeffrey Gettleman              TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/28/world/e One of the Worlds Most Prolific Arms          By Valerie Hopkins and Alan
2022-07-28   2022-07-29 urope/viktor-bout-russia-prisoner-swap.html Dealers                                      Yuhas                             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/world/ Iran Steps Up Drone Exports as It Seeks to
2022-07-28   2022-07-29 middleeast/iran-drone-exports.html          Build Global Clout                           By Euan Ward and Farnaz Fassihi   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/us/polit Biden Administration Plans to Offer New      By Noah Weiland and Sharon
2022-07-29   2022-07-29 ics/covid-booster-shots.html                Booster Shots in September                   LaFraniere                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/us/polit
2022-07-29   2022-07-29 ics/griner-bout-hostages-diplomacy.html     Tough Choices In a US Deal To Free Griner    By Peter Baker                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/us/polit As Congress Debated Bill Beijing Surged
2022-07-29   2022-07-29 ics/us-china-semiconductors.html            Ahead                                        By David E Sanger                 TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/28/us/supr Justices Sotomayor and Barrett Say Supreme
2022-07-29   2022-07-29 eme-court-sotomayor-barrett.html            Court Is Collegial Despite Divisions         By Adam Liptak                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/movies/
2022-07-29   2022-07-29 purple-hearts.html                          Purple Hearts                                By Claire Shaffer                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/sports/f
                        ootball/will-anyone-hold-daniel-snyder-
2022-07-29   2022-07-29 accountable.html                            Unaccountable and Untouchable                By Kurt Streeter                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/arts/lou Lourdes Grobet 81 Who Captured Masked
2022-07-27   2022-07-30 rdes-grobet-dead.html                       Wrestlers                                    By Richard Sandomir               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/movies/
2022-07-27   2022-07-30 brandon-perea-nope-angel.html               The RollerCoaster Ride to Yes                By Kyle Buchanan                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/travel/a
2022-07-27   2022-07-30 irport-lounges.html                         Airport Lounges Are Now for Everyone         By Elaine Glusac                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/arts/mu
                        sic/minnesota-orchestra-thomas-             Minnesota Orchestra Names Thomas
2022-07-28   2022-07-30 sondergard.html                             Sondergard as Its Leader                     By Julia Jacobs                  TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/28/busines In the Fields of Ukraine a Harvest Piles Up   By Liz Alderman and Diego Ibarra
2022-07-28   2022-07-30 s/ukraine-grain-harvest-piles.html          and Hopes Are Muted                          Sanchez                          TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/28/opinion Finally a Dr Oz Show That I Really Want to
2022-07-28   2022-07-30 /dr-oz-trump-fetterman-senate.html          Watch                                        By Frank Bruni                    TX 9-189-149   2022-09-01




                                                                                Page 4059 of 5793
                                                                                                                  By Emily Badger Margot
                        https://www.nytimes.com/2022/07/28/upshot/ Ragged Safety Net Is Weaker in States That SangerKatz Claire Cain Miller and
2022-07-28   2022-07-30 abortion-bans-states-social-services.html    Ban Abortion                                 Eve Washington                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/us/polit
2022-07-28   2022-07-30 ics/doug-mastriano-gab.html                  GOP Hopeful Distances Self From Gab Ally By Trip Gabriel                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/07/
2022-07-28   2022-07-30 27/climate/climate-change-fungi.html         Unearthing the Secret Superpowers of Fungus By Somini Sengupta               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/us/polit Memo Omitted Detainees Account of CIA
2022-07-29   2022-07-30 ics/gitmo-prisoner-torture-cia.html          Waterboarding                                By Carol Rosenberg              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/arts/des
2022-07-29   2022-07-30 ign/holocaust-photos-dutch-nazi.html         Propaganda Became Evidence                   By Nina Siegal                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/arts/mu
                        sic/beyonce-renaissance-dance-music-
2022-07-29   2022-07-30 guide.html                                   A Guide To Beyoncs Renaissance               By Michaelangelo Matos          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/arts/mu
                        sic/tristan-und-isolde-santa-fe-opera-
2022-07-29   2022-07-30 review.html                                  Wagner Under Southwestern Skies              By David Allen                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/arts/sa
2022-07-29   2022-07-30 m-sanders-npr-vulture.html                   He Left NPR Then Let Loose                   By Reggie Ugwu                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/books/s Stuart Woods BestSelling Author Of Many
2022-07-29   2022-07-30 tuart-woods-dead.html                        Mysteries Is Dead at 84                      By Sam Roberts                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/busines Wages and Prices Climb Foretelling Higher By Jeanna Smialek and Ben
2022-07-29   2022-07-30 s/economy/fed-inflation-wage-growth.html     Rates                                        Casselman                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/busines
                        s/energy-environment/climate-bill-electric-
2022-07-29   2022-07-30 cars-energy.html                             Big Industries Face New Path In Climate Bill By Jack Ewing and Ivan Penn     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/busines
                        s/eurozone-economy-grows-faster-than-
2022-07-29   2022-07-30 expected-but-so-does-inflation.html          Prices Surge As Eurozone Sees Growth         By Melissa Eddy                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/busines Exxon and Chevron Reap Benefits of Soaring
2022-07-29   2022-07-30 s/exxon-chevron-profit.html                  Prices                                       By Isabella Simonetti           TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/29/busines
                        s/large-landlords-aggressively-moved-against-
2022-07-29   2022-07-30 renters-in-the-pandemic-a-report-says.html    Report Finds 4 Firms Skirted Eviction Ban  By Matthew Goldstein             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/busines
                        s/media/fox-news-donald-trump-rupert-         Once His Ally Fox News Now Often Snubs
2022-07-29   2022-07-30 murdoch.html                                  Trump                                      By Jeremy W Peters               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/busines Greek Broadcaster Looks Into Acquiring Vice By Benjamin Mullin and Lauren
2022-07-29   2022-07-30 s/media/vice-media-antenna-group.html         Media                                      Hirsch                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/busines
2022-07-29   2022-07-30 s/stock-market-july.html                      Shares Have Best Month Since Nov 2020      By Joe Rennison                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/health/a Allergan in Tentative Deal To Settle Opioids
2022-07-29   2022-07-30 llergan-opioids-settlement.html               Lawsuits                                   By Jan Hoffman                   TX 9-189-149   2022-09-01




                                                                               Page 4060 of 5793
                        https://www.nytimes.com/2022/07/29/health/
2022-07-29   2022-07-30 monkeypox-spread-vaccine-treatment.html    Demystifying Monkeypox                       By Apoorva Mandavilli             TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/29/movies/
2022-07-29   2022-07-30 will-smith-video-chris-rock-slap.html      Smith Expresses Regret for Slap at Oscars    By Julia Jacobs                   TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/29/nyregio New York Plans Cell Service Throughout
2022-07-29   2022-07-30 n/mta-cellphone-service-subway-tunnels.html Subways                                     By Ana Ley                        TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/29/nyregio Pain Doctor Is Found Guilty Of Sexually
2022-07-29   2022-07-30 n/ricardo-cruciano-sexual-assault.html      Abusing Patients                            By Troy Closson                   TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/29/opinion
2022-07-29   2022-07-30 /brittney-griner-prisoner-swap.html         Dont Forget the Third Hostage in Russia     By Serge Schmemann                TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/29/science Nashville Reports 23 Infants Sickened by
2022-07-29   2022-07-30 /parechovirus-nashville-infants-children.html Common Virus                               By Alex Traub                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/sports/b
                        asketball/a-paean-to-the-gods-and-            Hoops Hagiography On Abundant Crop
2022-07-29   2022-07-30 shammgods-of-new-york-city-hoops.html         Grown in New York                          By Elena Bergeron                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/sports/g More Fun for Players Except Perhaps
2022-07-29   2022-07-30 olf/donald-trump-liv-bedminster.html          Mickelson                                  By Bill Pennington and Doug Mills TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/29/sports/g LIV Atrocity at Trumps Course Brings A
2022-07-29   2022-07-30 olf/liv-trump-september-11.html               Somber Protest by Kin of 911 Victims       By David Waldstein                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/sports/p                                              By Emmanuel Morgan and Melanie
2022-07-29   2022-07-30 ena-nunes-ufc-fighters.html                   Practicing Martial and Maternal Arts       Metz                               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/theater/
2022-07-29   2022-07-30 happy-life-review.html                        Spirits Linger Over Loss And Loneliness    By Naveen Kumar                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/us/kent                                               By Sarah Baird Tricia Fulks Kelley
2022-07-29   2022-07-30 ucky-flooding.html                            None of Them Remember Anything Like This and Campbell Robertson               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/us/park Reliving Pain of Parkland In Trials
2022-07-29   2022-07-30 land-school-shooting-trial.html               Sentencing Stage                           By Patricia Mazzei                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/us/polit Progressives Call on Biden To Quicken Partys
2022-07-29   2022-07-30 ics/biden-judges-democrats-senate.html        Pace On Judicial Appointments              By Carl Hulse                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/us/polit                                              By Annie Karni and Julian E
2022-07-29   2022-07-30 ics/house-assault-weapons-ban.html            Divided House Moves to Ban Assault Rifles Barnes                              TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/29/us/polit Arizona Candidate Pushes an Immigration
2022-07-29   2022-07-30 ics/immigration-latinos-hispanic-voters.html Conspiracy Theory                          By Jennifer Medina                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/29/us/polit Blinken Resists Broad Pressure To Call      By Michael Crowley and Edward
2022-07-29   2022-07-30 ics/russia-terrorism-blinken.html            Russia a Terrorist State                   Wong                              TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/29/us/russi Russian Charged With Spreading Propaganda
2022-07-29   2022-07-30 an-indictment-florida.html                   Through US Groups                          By Patricia Mazzei                TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/29/world/a
2022-07-29   2022-07-30 sia/china-taiwan-pelosi-explained.html       Taiwan China and Pelosis Fraught Itinerary By Jane Perlez                    TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/29/world/a Hong Kong to Investigate Boy Band Concert
2022-07-29   2022-07-30 sia/mirror-hong-kong.html                    Horror                                     By Mike Ives                      TX 9-189-149     2022-09-01




                                                                                Page 4061 of 5793
                        https://www.nytimes.com/2022/07/29/world/a On Korean TV Lovingly Airing Families
2022-07-29   2022-07-30 sia/south-korea-dr-oh-golden-clinic.html   Dirty Laundry                                 By John Yoon                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/world/a
2022-07-29   2022-07-30 ustralia/saudi-sisters-death.html          Australian Police Seek Help in Sisters Deaths By Yan Zhuang                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/world/c
2022-07-29   2022-07-30 anada/pope-francis-canada-catholics.html   In Canada Catholicism Maintains Its Stability By Ian Austen                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/29/world/e Germans Tiptoe a Path To Energy               By Erika Solomon and Melissa
2022-07-29   2022-07-30 urope/europe-germany-ukraine-energy.html Conservation                                    Eddy                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/world/e                                               By Michael Schwirtz Valerie
2022-07-29   2022-07-30 urope/ukraine-prison-russia-azov.html        50 Ukrainians Killed by Blast At POW Site   Hopkins and Cora Engelbrecht   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/world/e Top US and Russian Envoys Speak for First     By Michael Schwirtz Michael
2022-07-29   2022-07-30 urope/ukraine-russia-griner-blinken.html     Time Since Invasion                         Crowley and Richard PrezPea    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/nyregio Two Leaders of Dominican Gang Convicted
2022-07-30   2022-07-30 n/trinitarios-gang-lesandro-guzman.html      in 2018 Murder of Teen                      By Tracey Tully                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/sports/p Pac12 Commissioner Keeps It Professional
2022-07-30   2022-07-30 ac-12-media-day-football-ucla-usc.html       but Pointed After Schools Defections        By Billy Witz                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/busines EU Scrambling For Gas Options To Avert a
2022-07-30   2022-07-30 s/europe-natural-gas.html                    Crisis                                      By Stanley Reed                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/07/books/r
2022-06-07   2022-07-31 eview/taylor-brorby-boys-and-oil.html        Harsh Climate                               By Jung Yun                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/08/books/k
                        aitlyn-tiffany-everything-i-need-i-get-from-
2022-06-08   2022-07-31 you.html                                     Poptimism                                   By Amanda Hess                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/21/books/r
2022-06-21   2022-07-31 eview/learning-to-talk-hilary-mantel.html    Troubled Childhoods                         By Sarah Moss                  TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/06/28/books/r
2022-06-28   2022-07-31 eview/dele-weds-destiny-tomi-obaro.html      Trio                                        By Hermione Hoby               TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/03/books/r
2022-07-03   2022-07-31 eview/fellowship-point-alice-elliott-dark.html The Sands of Time                         By Kate Christensen            TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/03/books/r
2022-07-03   2022-07-31 eview/george-michael-a-life-james-gavin.html Father Figure                                By Alan Light                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/13/books/r
2022-07-13   2022-07-31 eview/bad-city-paul-pringle.html             The Power of the Press                       By Katie Benner               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/books/r
2022-07-19   2022-07-31 eview/porn-of-the-self-review.html           Novels                                       By Alex Beggs                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/20/books/r
                        eview/chance-design-and-inevitability-in-    Chance Design and Inevitability in Three New
2022-07-20   2022-07-31 three-new-poetry-books.html                  Poetry Books                                 By Elisa Gabbert              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/21/arts/mu
2022-07-21   2022-07-31 sic/amanda-shires-take-it-like-a-man.html    A Little Bit Parton a Little Bit Punk        By Lindsay Zoladz             TX 9-189-149   2022-09-01




                                                                                  Page 4062 of 5793
                        https://www.nytimes.com/2022/07/21/books/r
                        eview/tomorrow-and-tomorrow-and-tomorrow
2022-07-21   2022-07-31 gabrielle-zevin.html                         Inside the List                               By Elisabeth Egan           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/arts/juli
                        a-whelan-audiobook-thank-you-for-
2022-07-22   2022-07-31 listening.html                               She Finds Her Voice And a Career Path         By Katherine Rosman         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/magazi
2022-07-22   2022-07-31 ne/keke-palmer-nope.html                     Meme Queen                                    By Niela Orr                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/22/t-        The First and Only Grocery Store in Fire
2022-07-23   2022-07-31 magazine/fire-island-pines-pantry.html       Island Pines                                  By Juan A Ramrez            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/24/style/ye
                        s-im-pregnant-no-i-dont-need-your-           Yes Im Pregnant No I Dont Need Your
2022-07-25   2022-07-31 thoughts.html                                Thoughts                                      By Alix Ohlin               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/opinion
2022-07-25   2022-07-31 /end-of-homework.html                        The Movement to End Homework Is Wrong By Jay Caspian Kang                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/25/realesta
                        te/homeownership-san-diego-tijuana-
2022-07-25   2022-07-31 mexico.html                                  Finding a Path to Ownership Through Mexico By Debra Kamin                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/arts/tele A Prolific Actress Plays The Role of Producer
2022-07-26   2022-07-31 vision/gugu-mbatha-raw-surface.html          Too                                           By Roslyn Sulcas            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/magazi
                        ne/joshua-spriestersbach-wrongful-
2022-07-26   2022-07-31 incarceration.html                           My Name Is Joshua                             By Robert Kolker            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/magazi
2022-07-26   2022-07-31 ne/nonplayer-characters-video-games.html     Nonplayer Characters                          By Mac Schwerin             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/magazi How Much Should I Spend on Treating My
2022-07-26   2022-07-31 ne/pets-euthanasia-ethics.html               Elderly Dog                                   By Kwame Anthony Appiah     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/opinion The War on Drugs Has a Warning for
2022-07-26   2022-07-31 /medicine-criminal-law.html                  PostRoe America                               By Maia Szalavitz           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/opinion Putin Performs for Russia and Ukraine Is the
2022-07-26   2022-07-31 /russia-ukraine-putin.html                   Stage                                         By Peter Pomerantsev        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/realesta
2022-07-26   2022-07-31 te/nyc-apartments-covid-discount.html        Renters Uprooted as Covid Discount Ends       By Ronda Kaysen             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/sports/b Baseballs Mud Man and the Ebbing Tide of
2022-07-26   2022-07-31 aseball/baseball-mud-supplier.html           Tradition                                     By Dan Barry                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/26/style/lin A Celebration Carries the Weight of the
2022-07-26   2022-07-31 coln-center-wedding-pandemic.html            Moment                                        By Anna Grace Lee           TX 9-189-149   2022-09-01
                                                                     Write This Down An improvised sauce recipe
                        https://www.nytimes.com/2022/07/27/magazi bright floral and shot through with zest and
2022-07-27   2022-07-31 ne/citrus-chile-fish-recipe.html             pepper finally gets recorded                  By Ligaya Mishan            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/magazi
2022-07-27   2022-07-31 ne/prison-life-tiktok.html                   Cell Culture                                  By Robin KaiserSchatzlein   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/movies/ His Novels Adaptation Maintains a Global
2022-07-27   2022-07-31 bullet-train-author-kotaro-isaka.html        Soul                                          By Motoko Rich              TX 9-189-149   2022-09-01




                                                                                 Page 4063 of 5793
                        https://www.nytimes.com/2022/07/27/nyregio Looking to Community Gardens to Help Stem
2022-07-27   2022-07-31 n/community-gardens-nyc.html                the Tide                                     By Winnie Hu                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/opinion The Brutal System That Still Rules Alabamas
2022-07-27   2022-07-31 /alabama-fines-fees.html                    Black Belt                                   By Robin KaiserSchatzlein        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/realesta
                        te/home-prices-north-carolina-pennsylvania- 425000 Homes in North Carolina
2022-07-27   2022-07-31 vermont.html                                Pennsylvania and Vermont                     By Angela Serratore              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/realesta
2022-07-27   2022-07-31 te/house-hunting-in-bahrain.html            Modern Resort Living In a Persian Gulf Villa By Alison Gregor                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/realesta The Small Town Thats the Heart of the
2022-07-27   2022-07-31 te/stroudsburg-pa-poconos.html              Poconos                                      By Dave Caldwell                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/sports/i For Indigenous Athletes Lacrosse Is Much
2022-07-27   2022-07-31 ndigenous-athletes-lacrosse.html            More Than a Game                             By Andrew Keh and Pete Kiehart   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/27/style/da
2022-07-27   2022-07-31 niel-auster-life-death.html                 A Wild Child Who Lost His Way                By Alex Vadukul                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/27/theater/
2022-07-27   2022-07-31 melissa-errico-concerts-pandemic-travel.html A Singer Shares Notes From the Road        By Melissa Errico                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/07/
                        27/magazine/barbados-climate-debt-mia-       The Barbados Rebellion An Island Nations
2022-07-27   2022-07-31 mottley.html                                 Fight for Climate Justice                  By Abrahm Lustgarten              TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/28/arts/dan
2022-07-28   2022-07-31 ce/chun-wai-chan-new-york-city-ballet.html With a Pirouette A Barrier Breaks            By Javier C Hernndez              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/arts/des
                        ign/serpentine-gallery-back-to-earth-eno-
2022-07-28   2022-07-31 obrist.html                                 Aiming to Shock Viewers Awake               By Frank Rose                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/arts/des
2022-07-28   2022-07-31 ign/ukraine-war-art-culture.html            Wars Enormity Beyond Words                  By Jason Farago                   TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/28/arts/tele
2022-07-28   2022-07-31 vision/beavis-and-butt-head-mike-judge.html Beavis and ButtHead Watch TikTok Videos     By Dave Itzkoff                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/books/r
                        eview/george-dawes-green-kingdoms-of-
2022-07-28   2022-07-31 savannah.html                                Spanish Moss Tea Roses and Murder          By Sarah Weinman                  TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/28/magazi
2022-07-28   2022-07-31 ne/judge-john-hodgman-on-satin-sheets.html Bonus Advice From Judge John Hodgman         By John Hodgman                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/magazi
2022-07-28   2022-07-31 ne/poem-summer-terror.html                 Poem Summer Terror                           By Sandra Lim and Victoria Chang TX 9-189-149    2022-09-01
                        https://www.nytimes.com/2022/07/28/movies/
2022-07-28   2022-07-31 sona-movsesian-conan-obrien-friend.html    Sona Movsesian Still Adores Disneyland       By Chris Kornelis                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/opinion
2022-07-28   2022-07-31 /recession-inflation.html                  How Goes the War on Inflation                By Paul Krugman                   TX 9-189-149   2022-09-01




                                                                                Page 4064 of 5793
                        https://www.nytimes.com/2022/07/28/opinion Republican Governors Are Quietly Delivering
2022-07-28   2022-07-31 /republican-governors.html                   Results                                     By Liz Mair                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/realesta Transactions Boil in July as a Pair of Coops
2022-07-28   2022-07-31 te/top-nyc-real-estate-sales.html            Sell for a Total of 101 Million             By Vivian Marino              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/realesta
                        te/which-city-is-most-expensive-for-renters-
2022-07-28   2022-07-31 you-might-be-surprised.html                  Rents Soar in a Busy New Jersey City        By Stefanos Chen              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/28/style/mi
2022-07-28   2022-07-31 scarriage-privacy.html                       Overstepping Online                         By Philip Galanes             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/07/ Planning Her Golden Years in the Golden
2022-07-28   2022-07-31 28/realestate/28hunt-burgess.html            State What Could She Afford                 By Debra Kamin                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/arts/mu
2022-07-29   2022-07-31 sic/santtu-matias-rouvali.html               Happy on the Farm Or on the Podium          By Joshua Barone              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/books/c Charlotte Pomerantz 92 Author Of Fanciful
2022-07-29   2022-07-31 harlotte-pomerantz-dead.html                 Childrens Books Dies                        By Neil Genzlinger            TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/books/r
                        eview/hangman-his-wife-reinhard-heydrich-
2022-07-29   2022-07-31 nancy-dougherty.html                         Descent Into Evil                           By Daphne Merkin              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/books/r
2022-07-29   2022-07-31 eview/johnnie-christmas-swim-team.html       Swimming                                    By Bonnie Tsui                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/books/r
2022-07-29   2022-07-31 eview/the-only-woman-immy-humes.html         Holding Her Own                             By Lauren Christensen         TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/busines
                        s/for-every-season-weddings-weddings-        For Every Season Weddings Weddings          By Julia Rothman and Shaina
2022-07-29   2022-07-31 weddings.html                                Weddings                                    Feinberg                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/busines
2022-07-29   2022-07-31 s/investing-retirement-markets.html          Six Ways To Cope In This Market             By Elizabeth Harris           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/busines
2022-07-29   2022-07-31 s/rising-rates-inflation-recession.html      Prepare for Trouble But Keep Investing      By Jeff Sommer                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/busines
2022-07-29   2022-07-31 s/roxane-gay-work-friend-coming-out.html     Just Being You Will Get the Message Out     By Roxane Gay                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/busines Company Profits Tell One Side of a
2022-07-29   2022-07-31 s/strong-profits-shaky-economy.html          Complicated Story                           By Peter Eavis                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/nyregio The Fight to Save a Sliver of Miami Vice on
2022-07-29   2022-07-31 n/60-wall-street-historic-preservation.html  Wall Street                                 By Dodai Stewart              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/nyregio
2022-07-29   2022-07-31 n/dog-lawyer.html                            When a Dog Badly Needs a Good Lawyer        By Hope Corrigan              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/nyregio
2022-07-29   2022-07-31 n/nozumu-abe-sushi.html                      A Sushi Chef Likes to Take to the Water     By Kaya Laterman              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/nyregio
                        n/redistricting-caused-chaos-some-savvy-     Sorting Out Territorial Claims in a
2022-07-29   2022-07-31 politicians-are-making-the-most-of-it.html   Reconfigured House District                 By Ginia Bellafante           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/obituari Larry Josephson 83 SelfDescribed First Angry
2022-07-29   2022-07-31 es/larry-josephson-dead.html                 Man in Morning Radio at WBAI                By Richard Sandomir           TX 9-189-149   2022-09-01




                                                                                Page 4065 of 5793
                        https://www.nytimes.com/2022/07/29/opinion Russia Is Making Heaps of Money From Oil
2022-07-29   2022-07-31 /russia-oil-sanctions-biden.html            There Is a Way to Stop That             By The Editorial Board            TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/29/opinion
                        /why-andrew-yangs-new-third-party-is-bound-
2022-07-29   2022-07-31 to-fail.html                                Andrew Yangs New Third Party Will Fail  By Jamelle Bouie                  TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/29/realesta
2022-07-29   2022-07-31 te/investing-self-care-real-estate-women.html Healing Properties                      By Jennifer Miller              TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/29/sports/s
                        occer/manchester-city-liverpool-community- At City the More Things Change the More It
2022-07-29   2022-07-31 shield.html                                   Wins                                    By Rory Smith                   TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/29/style/an Wine Connoisseurs Discover Their Perfect
2022-07-29   2022-07-31 thony-zraly-keith-henderson-wedding.html      Blend                                   By Stephanie Cain               TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/29/style/b-
2022-07-29   2022-07-31 stuyvesant-champagne-marvina-robinson.html A Champagne Toast to Brooklyn and Beyond By Jenny Block                    TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/29/style/fil
                        mmaker-gabriel-gomez-tells-brooklyn-
2022-07-29   2022-07-31 stories.html                                 From the Art House To the Commercial     By John Ortved                  TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/29/style/hu Their Courtship in a Nutshell Cry and Cry
2022-07-29   2022-07-31 nter-davis-kara-naseef-wedding.html          Again                                    By Tammy La Gorce               TX 9-189-149     2022-09-01
                        https://www.nytimes.com/2022/07/29/style/m
2022-07-29   2022-07-31 odern-love-infidelity-polygraph-test.html    The Polygraph Test That Saved a Marriage By Khalid Abdulqaadir           TX 9-189-149     2022-09-01

                        https://www.nytimes.com/2022/07/29/style/m Finding a Match Despite Not Searching for
2022-07-29   2022-07-31 rinal-kalakrishnan-preeti-talwai-wedding.html Love                                     By Emma Grillo                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/style/ter Following the Notes to an Unscripted
2022-07-29   2022-07-31 ry-serpico-kadia-saraf-wedding.html           MeetCute                                 By Tammy La Gorce                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/technol                                             By Kellen Browning and Kashmir
2022-07-29   2022-07-31 ogy/twitch-stalking.html                      The Price of Online Fame                 Hill                             TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/world/c
                        anada/condom-consent-sexual-assault-          In Canada Clear Rules On Condoms And
2022-07-29   2022-07-31 canada.html                                   Consent                                  By Catherine Porter              TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/29/world/ After Khashoggis Lawyer Is Detained
2022-07-29   2022-07-31 middleeast/uae-asim-ghafoor-detained.html Pressure Grows for UAE to Free Him           By Vivian Yee                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/busines Amid Flurry of Lawsuits Jones Throws
2022-07-30   2022-07-31 s/alex-jones-infowars-bankruptcy.html         InfowarsInto Bankruptcy Court            By Elizabeth Williamson          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/busines After Quality Concerns FAA Clears Boeing to
2022-07-30   2022-07-31 s/boeing-787-dreamliner-faa.html              Resume Delivering 787 Dreamliner         By Niraj Chokshi                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/busines Pizza Ovens Firepits and Regret Liquidators By Michael Corkery and George
2022-07-30   2022-07-31 s/retail-returns-liquidation.html             Manage Fallout of the Retail Bubble      Etheredge                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/climate Turning Manchins No to Yes Helped Fossil
2022-07-30   2022-07-31 /manchin-climate-deal.html                    Fuel Industry and His State              By Brad Plumer and Lisa Friedman TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/opinion
2022-07-30   2022-07-31 /jobs-teenagers.html                          The Best Extracurricular Is a Job        By Pamela Paul                   TX 9-189-149   2022-09-01



                                                                               Page 4066 of 5793
                        https://www.nytimes.com/2022/07/30/realesta
                        te/how-soon-is-too-soon-to-ask-my-landlord- How Should We Approach Talking About a
2022-07-30   2022-07-31 about-a-rent-increase.html                  Probable Increase in Rent               By Ronda Kaysen                        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/science
2022-07-30   2022-07-31 /china-rocket-debris-fall.html              Debris From Chinese Rocket Lands        By Kenneth Chang                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/style/no
2022-07-30   2022-07-31 t-just-any-bag.html                         SingleUse Plastic Bags Get a Second Act By Jessica Iredale                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/us/kent We Keep Getting Hit Kentucky Grows Weary By Tricia Fulks Kelley Rick Rojas
2022-07-30   2022-07-31 ucky-flooding-natural-disasters.html        From String of Disasters                and Campbell Robertson                 TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/us/polit
2022-07-30   2022-07-31 ics/biden-covid-positive.html               Biden Tests Positive For Rebound Covid  By Peter Baker and Noah Weiland        TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/us/polit A Sudden Shift In Winds Tests Bidens
2022-07-30   2022-07-31 ics/biden-inflation-economy-approval.html   Appeal                                  By Michael D Shear                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/us/polit DeVos Family Bucking Trump Roils        By Nick Corasaniti and Reid J
2022-07-30   2022-07-31 ics/michigan-primary-governor-trump.html Michigan                                   Epstein                                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/world/a Gangs Expand Bloodshed Toward Seat of    By Maria AbiHabib and Andre
2022-07-30   2022-07-31 mericas/haiti-government-gangs.html         Haitian Government Power                Paultre                                TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/30/world/a Pope Calls Abuse of Native People in Canada
2022-07-30   2022-07-31 mericas/pope-francis-canada-genocide.html a Genocide                                   By Jason Horowitz                TX 9-189-149      2022-09-01
                        https://www.nytimes.com/2022/07/30/world/e
                        urope/poland-abortion-ban-single-            Polish Priests War on Abortion Means      By Katrin Bennhold and Monika
2022-07-30   2022-07-31 mothers.html                                 Fighting for the Mothers                  Pronczuk                         TX 9-189-149      2022-09-01
                                                                                                               By Anton Troianovski Valerie
                        https://www.nytimes.com/2022/07/30/world/e Kremlin Is Laying the Groundwork for        Hopkins Marc Santora and Michael
2022-07-30   2022-07-31 urope/russia-occupation-ukraine-kherson.html Annexation                                Schwirtz                         TX 9-189-149      2022-09-01

                        https://www.nytimes.com/2022/07/30/world/e As Outrage Grows Ukraine Calls for Inquiry     By Marc Santora Maria Varenikova
2022-07-30   2022-07-31 urope/ukraine-prison-explosion.html        Into Prison Explosion                          and Matthew Mpoke Bigg           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/world/ More Than 50 Dead as Flash Floods Sweep
2022-07-30   2022-07-31 middleeast/iran-deadly-flood.html          Across Iran                                    By Farnaz Fassihi                TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/30/world/ Sadr Followers Occupy Iraqi Parliament to
2022-07-30   2022-07-31 middleeast/iraq-parliament-protests.html   Block New Government                           By Alissa J Rubin                TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/30/world/ Palestinian Flags Arent Illegal in Israel but
2022-07-30   2022-07-31 middleeast/palestinian-flag-attack-israel.html They Still Get Torn Down                   By Raja Abdulrahim               TX 9-189-149   2022-09-01
                        https://www.nytimes.com/interactive/2022/07/                                              Photographs and Text by Tailyr
2022-07-30   2022-07-31 30/style/powwow-season.html                    Powwow Season in Full Bloom                Irvine                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/31/busines Piercings and Tattoos Great Dogs at Work
2022-07-31   2022-07-31 s/gen-z-jobs.html                              Sure                                       By Alyson Krueger                TX 9-189-149   2022-09-01

                        https://www.nytimes.com/2022/07/31/busines
2022-07-31   2022-07-31 s/this-week-in-business-recession-fears.html The Week in Business Recession Fears         By Marie Solis                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/31/insider/
2022-07-31   2022-07-31 whats-a-critic-doing-in-a-war-zone.html      Whats a Critic Doing in a War Zone           By Jason Farago                  TX 9-189-149   2022-09-01



                                                                                  Page 4067 of 5793
                        https://www.nytimes.com/2022/07/31/style/po
2022-07-31   2022-07-31 lo-season-in-the-hamptons.html              Its Polo Season In the Hamptons             By Denny Lee                       TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/31/us/oasis When Theres Arsenic in the Water but We     By Ana FacioKrajcer Jill Cowan
2022-07-31   2022-07-31 mobile-home-park-coachella.html             Have Nowhere to Go                          and Alex Welsh                     TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/31/us/polit
2022-07-31   2022-07-31 ics/kansas-abortion-vote.html               Abortion Vote Fires Up Both Sides in Kansas By Katie Glueck                    TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/31/us/teac
2022-07-31   2022-07-31 hers-guns-schools.html                      Armed And Ready to Teach Kindergarten       By Sarah Mervosh                   TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/31/world/a As Latin America Shifts Left Crises Test New By Julie Turkewitz Mitra Taj and
2022-07-31   2022-07-31 mericas/latin-america-leftist-leaders.html  Leaders                                     John Bartlett                      TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/08/05/magazi                                               By Josh Ocampo and Caroline
2022-08-05   2022-07-31 ne/coney-island-kids.html                   Snapshots Of Summer                         Tompkins                           TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/08/06/books/r                                              By Elisabeth Egan and Erica
2022-08-06   2022-07-31 eview/reading-outside-pastime.html          Reading Outdoors                            Ackerberg                          TX 9-189-149   2022-09-01
                        https://www.nytimes.com/2022/07/19/busines Biotech StartUp Invests in AntiAging
2022-07-19   2022-08-01 s/aging-protein-elevian.html                Therapy                                     By Eilene Zimmerman                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/20/travel/n In Congested National Parks Roads Less
2022-07-20   2022-08-01 ational-parks-hidden-gems.html              Traveled                                    By Colleen Creamer                 TX 9-207-887   2022-10-14

                        https://www.nytimes.com/interactive/2022/07/ How Sign Language Evolves as Our World
2022-07-26   2022-08-01 26/us/american-sign-language-changes.html Does                                          By Amanda Morris                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/27/technol
2022-07-27   2022-08-01 ogy/tech-winners.html                        Tech Winners There Arent That Many         By Shira Ovide                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/28/arts/tele
2022-07-28   2022-08-01 vision/neighbours-end.html                   Twilight Comes to a Sunny Soap Opera       By Isabella Kwai                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/29/busines
2022-07-29   2022-08-01 s/bezos-yacht-rotterdam.html                 Bezos Yacht Runs Into Dutch Values         By David Segal                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/29/movies/
2022-07-29   2022-08-01 international-movies-streaming.html          An Indian Mob Thriller With a Moral Test   By Devika Girish                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/29/opinion
2022-07-29   2022-08-01 /recession-not-for-big-tech.html             Recession Not for Big Tech                 By Farhad Manjoo                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/29/theater/
2022-07-29   2022-08-01 bottom-of-the-ocean-review.html              Stepping Into The Weirdest Show in Town    By Alexis Soloski                  TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/07/29/theater/ Broadway Run Ends for To Kill a
2022-07-29   2022-08-01 to-kill-a-mockingbird-closes-broadway.html Mockingbird                               By Michael Paulson                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/30/arts/ma Mary Alice 85 Tony Winner And a Familiar
2022-07-30   2022-08-01 ry-alice-dead.html                          Face in Film                             By Alex Williams                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/30/arts/mu
2022-07-30   2022-08-01 sic/beyonce-renaissance-review.html         Beyonc Is of Course In Control           By Wesley Morris                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/30/opinion Monkeypox Could Be Our Next Public Health
2022-07-30   2022-08-01 /monkeypox-public-health-failure.html       Failure                                  By Scott Gottlieb                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/30/sports/n
                        caabasketball/whats-next-for-lebron-james- Son of LeBron James Is No LeBron James
2022-07-30   2022-08-01 jr.html                                     But He Will Be Sought                    By Billy Witz and Adam Zagoria        TX 9-207-887   2022-10-14



                                                                                Page 4068 of 5793
                        https://www.nytimes.com/2022/07/31/arts/des
2022-07-31   2022-08-01 ign/jose-parla-detroit-artist-stroke-covid.html An Artist Returns From the Edge             By Max Lakin                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/books/p
                        enguin-random-house-simon-schuster-             Publishing Merger May Further Shrink        By Alexandra Alter Elizabeth A
2022-07-31   2022-08-01 antitrust-trial.html                            Literary Landscape                          Harris and David McCabe           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/busines A Cyberattack Illuminates The Shaky State of
2022-07-31   2022-08-01 s/student-privacy-illuminate-hack.html          Student Privacy                             By Natasha Singer                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/busines UAW Hurt by Scandals Weighs Leadership
2022-07-31   2022-08-01 s/uaw-autoworkers-union-corruption.html         Change                                      By Neal E Boudette                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/dining/ Where Identity Is Complicated Food Is
2022-07-31   2022-08-01 korean-adoptee-chefs-food.html                  Inspired                                    By Elyse Inamine                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/nyregio Man With Rifle Is Arrested Outside Iranian
2022-07-31   2022-08-01 n/iran-masih-alinejad-rifle-arrest.html         Writers New York Home                       By Benjamin Weiser                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/nyregio
2022-07-31   2022-08-01 n/nicole-malliotakis-abortion-guns.html         Abortion Issue Clouds Malliotakiss Campaign By Jesse McKinley                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/obituari Fidel Ramos Dies at 94 President of
2022-07-31   2022-08-01 es/fidel-v-ramos-dead.html                      Philippines Who Broke With Marcos           By Robert D McFadden              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/obituari Nichelle Nichols Early Trek Star Who Boldly
2022-07-31   2022-08-01 es/nichelle-nichols-dead.html                   Blazed Path Dies at 89                      By Bruce Weber                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/opinion
2022-07-31   2022-08-01 /disability-rights-anti-abortion.html           Leave My Disability Out of Your Propaganda By Kendall Ciesemier               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/opinion Maybe There Is a Limit to Political Grievance
2022-07-31   2022-08-01 /missouri-senate-eric-greitens.html             Peddling                                    By Michelle Cottle                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/sports/b At This Shrine to the Game the Lore Defies
2022-07-31   2022-08-01 aseball/baseball-reliquary.html                 Belief Just Go With It                      By Scott Miller                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/sports/b Everything Has Healed After More Than a
2022-07-31   2022-08-01 aseball/jacob-degrom-mets.html                  Year deGrom Is Coming Back                  By James Wagner                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/sports/b The Yankees Bullpen Is Always Evolving For
2022-07-31   2022-08-01 aseball/yankees-bullpen.html                    Better or Worse                             By Gary Phillips                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/sports/b On Front Lines for Justice Inspiring Todays
2022-07-31   2022-08-01 asketball/bill-russell-activism.html            Activism                                    By Sopan Deb                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/sports/b Bill Russell a Titan of Sports and Society
2022-07-31   2022-08-01 asketball/bill-russell-dead.html                Dies at 88                                  By Richard Goldstein              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/sports/g LIV Golfers Tee Off Unbothered With
2022-07-31   2022-08-01 olf/liv-trump-bedminster.html                   Upfront Payouts                             By Bill Pennington and Doug Mills TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/theater/
2022-07-31   2022-08-01 cat-on-a-hot-tin-roof-review.html               Glimpses Into a Fractious Inner Life        By Juan A Ramrez                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/us/calif
2022-07-31   2022-08-01 ornia-mckinney-fire.html                        California Fire Burns 51000 Acres in 2 Days By Eduardo Medina                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/us/polit Verdict in Jones Trial Could Send Message on
2022-07-31   2022-08-01 ics/sandy-hook-alex-jones.html                  Politically Driven Lies                     By Elizabeth Williamson           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/us/sun- Housing Costs Turn Into Crisis In Resort
2022-07-31   2022-08-01 valley-workforce-housing.html                   Town                                        By Mike Baker                     TX 9-207-887   2022-10-14




                                                                                 Page 4069 of 5793
                        https://www.nytimes.com/2022/07/31/world/a As India Bans Disposable Plastic One State
2022-07-31   2022-08-01 sia/india-plastic-ban.html                 Offers a Playbook                          By Sameer Yasir                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/world/a                                            By David E Sanger and Vivian
2022-07-31   2022-08-01 sia/pelosi-taiwan-china.html               Speakers Tour Of Asia Rattles US and China Wang                               TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/07/31/world/e Passersby Watch Italian Beat Nigerian
2022-07-31   2022-08-01 urope/italy-immigrant-beating-witnesses.html Vendor to Death                              By Elisabetta Povoledo         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/world/e Kosovo Jolted By Gunfire In Dispute With
2022-07-31   2022-08-01 urope/kosovo-serbia-border-gunfire.html      Serbs                                        By Valerie Hopkins             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/world/e Wrenching Choices for Civilians in East After By Carlotta Gall and Erika
2022-07-31   2022-08-01 urope/ukraine-eastern-evacuation.html        an Evacuation Order                          Solomon                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/world/ Libyan Town Is Searching For Justice Amid
2022-07-31   2022-08-01 middleeast/tarhuna-libya-graves.html         Graves                                       By Vivian Yee                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/live/2022/07/31/spo
                        rts/uefa-england-germany-euro/a-late-goal-a- A Moment of Triumph After Two
2022-07-31   2022-08-01 final-test-and-an-england-championship       Generations of Pain                          By Rory Smith                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/sports/b Black Coach Broke Barrier And Silenced
2022-08-01   2022-08-01 asketball/bill-russell-black-coaches.html    The Doubters                                 By Jonathan Abrams             TX 9-207-887   2022-10-14
                                                                                                                  By Shawn Hubler Neelam Bohra
                        https://www.nytimes.com/2022/07/31/us/kent What We Know of Victims Of the Kentucky McKenna Oxenden and Ginny
2022-08-01   2022-08-01 ucky-floods-victims.html                     Flooding                                     Whitehouse                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/arts/tele
                        vision/whats-on-tv-cma-fest-becoming-
2022-08-01   2022-08-01 elizabeth.html                               This Week on TV                              By Shivani Gonzalez            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/busines
2022-08-01   2022-08-01 s/wheat-ukraine-war-market.html              What Drives The Price Of Wheat               By Joe Rennison                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/sports/b
2022-08-01   2022-08-01 asketball/bill-russell-jokes.html            A Basketball Legacy as good as His Laugh     By Tania Ganguli               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/technol Pandemic Made Some Parents Fervent
2022-08-01   2022-08-01 ogy/anti-vax-parents-political-party.html    AntiMandate Voters                           By Sheera Frenkel              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/world/e
                        urope/ukraine-south-counteroffensive-        Russians Using A Nuclear Plant As Their
2022-08-01   2022-08-01 nuclear.html                                 Shield                                       By Andrew E Kramer             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/05/25/arts/des
                        ign/cancer-exhibition-science-museum-        Cancers Full Story Touches on Fears And
2022-05-25   2022-08-02 london.html                                  Advances                                     By Alex Marshall               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/01/well/fa Are We Still Monogamous Its Time to Ask
2022-07-01   2022-08-02 mily/relationship-questions.html             Your Partner                                 By Catherine Pearson           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/14/well/fa
2022-07-14   2022-08-02 mily/sister-ovarian-cancer-essay.html        My Sister Left a Script For Life Without Her By Steven Petrow               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/19/science Evolutionary Steps How to Beat the Heat
2022-07-19   2022-08-02 /penguins-evolution-fossils.html             Waddle South Far South                       By Jack Tamisiea               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/22/well/m
2022-07-22   2022-08-02 ove/pilates-exercise-flexibility.html        Pilates Offers an Array of Health Benefits   By Danielle Friedman           TX 9-207-887   2022-10-14




                                                                                Page 4070 of 5793
                        https://www.nytimes.com/2022/07/25/science
2022-07-25   2022-08-02 /tyrannosaurus-rex-dinosaurs.html            A Royal Rumble Over the Identity of T Rex      By Jack Tamisiea                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/25/well/liv
2022-07-25   2022-08-02 e/covid-ba5-precautions.html                 Steps to Stay Ahead Of Covid19 Threats         By Knvul Sheikh and Hannah Seo TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/07/27/science
2022-07-27   2022-08-02 /early-europeans-milk-tolerance.html         Humans and Milk Its a Very Long Story          By Carl Zimmer                   TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/27/science Nasty Nomenclature Taking the Sting Out of
2022-07-27   2022-08-02 /murder-hornet-renamed.html                  a Troublesome Hornets Name                     By Oliver Whang                  TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/28/arts/tele Bernard Cribbins 93 Actor On Britains
2022-07-28   2022-08-02 vision/bernard-cribbins-dead.html            Doctor Who                                     By Christine Hauser              TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/28/busines
                        s/economy/china-foreign-business-economy-                                                   By Daisuke Wakabayashi and
2022-07-28   2022-08-02 covid.html                                   Second Thoughts on China                       Patricia Cohen                   TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/28/science AI Predicts the Shape Of Nearly Every
2022-07-28   2022-08-02 /ai-deepmind-proteins.html                   Protein                                        By Cade Metz                     TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/28/science Deep Thoughts An Effort to Get to the
2022-07-28   2022-08-02 /holes-ocean-floor-mystery.html              Bottom Of Those Holes in the Ocean Floor       By Christine Chung               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/28/well/liv
2022-07-28   2022-08-02 e/night-sweats.html                          Why do I sweat in my sleep                     By Alice Callahan                TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/29/arts/mu New Tracks by Rosala Brian Eno and a Pop
2022-07-29   2022-08-02 sic/playlist-beyonce-rosalia.html            Queen                                          By Jon Pareles and Lindsay Zoladz TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/29/health/
2022-07-29   2022-08-02 mma-combat-sports-doctors.html               The Fight Doctors                              By Oliver Whang                  TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/31/arts/tele Pat Carroll Star of TV Stage and Sea Dies at
2022-07-31   2022-08-02 vision/pat-carroll-dead.html                 95                                             By Jo Craven McGinty             TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/arts/mu
2022-08-01   2022-08-02 sic/beyonce-lyrics-heated-changed.html       Beyonc To Change Offending Lyrics              By Julia Jacobs                  TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/arts/mu
2022-08-01   2022-08-02 sic/m-butterfly-santa-fe-opera-review.html   Scant Air Beneath Its Wings                    By David Allen                   TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/01/arts/mu
2022-08-01   2022-08-02 sic/salzburg-festival-ouverture-spirituelle.html Reaching A Classical High Point In Summer By Joshua Barone                  TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/01/arts/tele
2022-08-01   2022-08-02 vision/reservation-dogs-season-2-review.html Oklahoma Teens California Dreaming        By James Poniewozik                   TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/books/r
2022-08-01   2022-08-02 eview-cyclorama-adam-langer.html             A Memorable Teacher for the Wrong Reasons By Alexandra Jacobs                   TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/busines Apple TV To Air Latest By Visionary Pixar
2022-08-01   2022-08-02 s/media/john-lasseter-luck-apple.html        Ousted                                    By Brooks Barnes                      TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/01/busines Opendoor Labs To Settle Claims Of
2022-08-01   2022-08-02 s/opendoor-homes-deceptive-marketing.html Deception For 62 Million                          By Isabella Simonetti            TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/busines Merger of Publishers Could Test Biden on
2022-08-01   2022-08-02 s/penguin-random-house-antitrust.html      Antitrust Enforcement                            By David McCabe                  TX 9-207-887    2022-10-14




                                                                                  Page 4071 of 5793
                        https://www.nytimes.com/2022/08/01/busines Big Cities Talk Return to Office Rest of US Is
2022-08-01   2022-08-02 s/return-to-office-battles.html             Already There                                 By Emma Goldberg              TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/busines
                        s/wells-fargo-hiring-policy-fake-job-       Wells Fargo Tweaks Policy That Led to Fake
2022-08-01   2022-08-02 interviews.html                             Job Interviews                                By Emily Flitter              TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/climate
                        /manchin-climate-mountain-valley-           Manchin Secured Promise From Democrats to
2022-08-01   2022-08-02 pipeline.html                               Complete a Contested Gas Pipeline             By Lisa Friedman              TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/climate Why Wildfires in the Western US Have           By Winston ChoiSchagrin and
2022-08-01   2022-08-02 /wildfire-risk-california-west.html         Become So Fierce                              Elena Shao                    TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/health/r
2022-08-01   2022-08-02 itual-age-rite-passage.html                 Older Adults Want Rites of Passage Too        By Paula Span                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/nyregio Prisoners Can Read Book On Attica Minus 2
2022-08-01   2022-08-02 n/attica-book-ban-blood-in-the-water.html   Pages After Censorship Dispute                By Benjamin Weiser            TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/nyregio
2022-08-01   2022-08-02 n/monkeypox-vaccine-jynneos-us.html         US Let Vaccine Doses For Monkeypox Expire By Joseph Goldstein               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/nyregio
2022-08-01   2022-08-02 n/nyc-affordable-apartment-rent.html        Rising Rents And No Cure On Horizon           By Mihir Zaveri               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/nyregio Pelosi Backs Upstate Congressman in
2022-08-01   2022-08-02 n/pelosi-mondaire-jones-endorsement.html    OpenSeat Race                                 By Dana Rubinstein            TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/nyregio
2022-08-01   2022-08-02 n/redistricting-state-senate-ny.html        New Maps Upend Plans for NY Lawmakers By Luis FerrSadurn                    TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/01/opinion
2022-08-01   2022-08-02 /biden-manchin-inflation-climate-change.html Maybe Biden Understands Manchin After All By Gail Collins and Bret Stephens TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/01/opinion
2022-08-01   2022-08-02 /can-inflation-reduction-save-the-planet.html Can Inflation Reduction Save the Planet   By Paul Krugman                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/opinion
2022-08-01   2022-08-02 /nancy-pelosi-taiwan-china.html               Pelosis Visit to Taiwan Is Reckless       By Thomas L Friedman            TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/science Green Space Pushed to the Breaking Point
2022-08-01   2022-08-02 /plant-shoving-pushing.html                   This Plant Decided to Push Back           By Gabriel Popkin               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/sports/b Yanks Know Trade Deadline Is When the
2022-08-01   2022-08-02 aseball/frankie-montas-yankees-trade.html     Best Find the Final Pieces                By Tyler Kepner                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/sports/b
                        asketball/brittney-griner-athletes-cannabis-  Griner and Other Athletes Choose Cannabis By Jonathan Abrams and Tania
2022-08-01   2022-08-02 marijuana.html                                for Their Pain Does Science Support It    Ganguli                         TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/sports/b A Gravelly Voice Dispensing Wisdom Worth
2022-08-01   2022-08-02 asketball/nba-bill-russell-essay.html         the Wait                                  By Harvey Araton                TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/sports/f The NFL Wants to Get Tough Its Past
2022-08-01   2022-08-02 ootball/deshaun-watson-nfl-discipline.html    Leniency Gets in the Way                  By Kurt Streeter                TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/01/sports/f Watson Suspended 6 Games on Findings of
2022-08-01   2022-08-02 ootball/deshaun-watson-nfl-suspension.html Sexual Misconduct                            By Jenny Vrentas and Ken Belson TX 9-207-887    2022-10-14




                                                                                Page 4072 of 5793
                        https://www.nytimes.com/2022/08/01/theater/
2022-08-01   2022-08-02 victory-gardens-theater-chicago.html         More Drama for a Chicago Theater            By Mark Caro                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/us/abor Abortion Chaos Are They Going to Let Me
2022-08-01   2022-08-02 tion-journey-crossing-states.html            Die                                         By Neelam Bohra                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/us/alab
2022-08-01   2022-08-02 ama-prison-dress-code.html                   Journalist Humiliated At Execution          By Jesus Jimnez                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/us/kent More Rains Soak Kentucky as Death Toll        By Rick Rojas and Campbell
2022-08-01   2022-08-02 ucky-flood-death-toll.html                   Climbs to 37                                Robertson                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/us/polit The Abortion Decision Haunted by Brown v
2022-08-01   2022-08-02 ics/abortion-brown-board-education.html      Board of Education                          By Adam Liptak                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/us/polit US Drone Strike Kills Key Plotter Of 911     By Peter Baker Helene Cooper
2022-08-01   2022-08-02 ics/al-qaeda-strike-afghanistan.html         Biden Says                                  Julian E Barnes and Eric Schmitt TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/us/polit Done Deal Hurdles Could Still Trip Up
2022-08-01   2022-08-02 ics/democrats-climate-deal-senate.html       Democrats Climate Plan                      By Emily Cochrane                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/us/polit In Races for Governor Democrats See a Silver
2022-08-01   2022-08-02 ics/governor-races-democrats.html            Lining                                      By Jonathan Martin                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/us/polit First Rioter To Face Trial For Jan 6 Gets 7
2022-08-01   2022-08-02 ics/guy-reffitt-jan-6-sentence.html          Years                                       By Zach Montague                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/us/polit Trumps Man In Arizona Leads Race For Key
2022-08-01   2022-08-02 ics/mark-finchem-arizona-elections.html      Seat                                        By Danny Hakim                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/us/polit Spending Dispute Halts Health Bill for
2022-08-01   2022-08-02 ics/republican-reversal-burn-pits.html       Veterans                                    By Stephanie Lai                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/us/polit US Warns China Not to Cause A Crisis if
2022-08-01   2022-08-02 ics/taiwan-pelosi.html                       Pelosi Visits Taiwan                        By Peter Baker                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/world/a In Congo UN Peacekeepers Kill 2 and Wound By Steve Wembi and Abdi Latif
2022-08-01   2022-08-02 frica/congo-un-peacekeepers-kill-2.html      15                                          Dahir                             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/world/a Ukraines Grain Gets Moving But Food
2022-08-01   2022-08-02 frica/ukraine-grain-world-hunger.html        Disaster Still Looms                        By Declan Walsh                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/world/a Ayman alZawahri Qaeda Leader Steeped in By Douglas Martin and Alan
2022-08-01   2022-08-02 sia/ayman-al-zawahri-dead.html               Secrecy and Violence Dies at 71             Cowell                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/world/a A Pelosi Trip to Taiwan Would Test Xis
2022-08-01   2022-08-02 sia/china-taiwan-pelosi.html                 Limits                                      By Chris Buckley                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/world/e
                        urope/england-soccer-european-                                                           By Emma Bubola and Cora
2022-08-01   2022-08-02 championship.html                            Turning the Tide                            Engelbrecht                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/world/e UN Leader Says Errors Could Incite Nuclear By Farnaz Fassihi and Michael
2022-08-01   2022-08-02 urope/nuclear-war-un-guterres.html           War                                         Levenson                          TX 9-207-887   2022-10-14
                                                                                                                 By Michael Schwirtz Matina
                        https://www.nytimes.com/2022/08/01/world/e First Ship Passes Russias Black Sea Blockade StevisGridneff and Matthew Mpoke
2022-08-01   2022-08-02 urope/ukraine-russia-grain-ship.html         Under Grain Deal                            Bigg                              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/world/ Israels Biblical Tongue Collides With Gender
2022-08-01   2022-08-02 middleeast/israel-hebrew-gender.html         Politics                                    By Isabel Kershner                TX 9-207-887   2022-10-14
                                                                     Vast New Study Shows a Key to Reducing
                        https://www.nytimes.com/interactive/2022/08/ Poverty More Friendships Between Rich and By Claire Cain Miller Josh Katz
2022-08-01   2022-08-02 01/upshot/rich-poor-friendships.html         Poor                                        Francesca Paris and Aatish Bhatia TX 9-207-887   2022-10-14



                                                                                Page 4073 of 5793
                        https://www.nytimes.com/live/2022/08/01/bus
                        iness/economy-news-inflation-stocks/visa-and-Judge Lets Claims Against Visa Proceed in
2022-08-01   2022-08-02 mastercard-face-a-new-set-of-legal-challenges Case Involving Pornhub                     By Ephrat Livni and Lauren Hirsch TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/us/polit Democrats Accuse Secret Service Watchdog
2022-08-02   2022-08-02 ics/jan-6-secret-service-texts.html           of CoverUp                                 By Luke Broadwater               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/02/health/f
2022-08-02   2022-08-02 da-nicotine-addiction.html                    A Plan to Ease the Cravings of Smokers     By Andrew Jacobs                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/02/science
2022-08-02   2022-08-02 /yellowstone-flooding.html                    Giant Floods That Destroy and Renew        By Jim Robbins                   TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/02/us/polit
2022-08-02   2022-08-02 ics/primaries-what-to-watch-az-mi.html        Trump Effect Looms In 5 States Primaries   By Jonathan Weisman              TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/26/books/r
2022-07-26   2022-08-03 eview-yoga-emmanuel-carrere.html              Fiction Entangled With Digressions         By Molly Young                   TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/28/dining/
2022-07-28   2022-08-03 drinks/dry-german-riesling-wine.html          An Underrated Niche                        By Eric Asimov                   TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/28/dining/
2022-07-28   2022-08-03 drinks/should-you-chill-red-wine.html         Cool You Like a Good Bottle But How Cool   By Eric Asimov                   TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/28/dining/
2022-07-28   2022-08-03 how-to-cook-vacation-rental.html              Feel at Home in a Vacation Rental          By Ali Slagle                    TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/07/28/dining/
2022-07-28   2022-08-03 upside-down-cake-easy-summer-recipes.html Expand the Power of the Upside Down            By Melissa Clark                 TX 9-207-887    2022-10-14

                        https://www.nytimes.com/interactive/2022/07/
2022-07-28   2022-08-03 28/arts/comedian-water-bottle-standup.html Whats the Deal With Water Bottles             By Jason Zinoman                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/29/dining/
                        pacific-northwest-restaurants-struggle-as-
2022-07-29   2022-08-03 temperatures-spike.html                      Restaurants Caught in a Hot Spot            By Victoria Petersen             TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/07/31/us/eliza Cleared of Being a Witch It Only Took 329
2022-07-31   2022-08-03 beth-johnson-witchcraft-exoneration.html     Years                                       By Vimal Patel                   TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/arts/mu Mo Ostin Guiding Light for a Constellation of
2022-08-01   2022-08-03 sic/mo-ostin-dead.html                       Music Stars Is Dead at 95                   By Jim Farber                    TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/arts/mu
                        sic/teodor-currentzis-utopia-                Under Pressure a Maestro Forms an
2022-08-01   2022-08-03 musicaeterna.html                            International Orchestra                     By Javier C Hernndez             TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/arts/tele Bill Cosby to Seek a New Trial in Assault
2022-08-01   2022-08-03 vision/bill-cosby-appeal-huth.html           Case                                        By Graham Bowley                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/books/g
2022-08-01   2022-08-03 abino-iglesias-devil-takes-you-home.html     The Texas Underworld Sustains a Noir Writer By Simon Romero                  TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/01/busines
2022-08-01   2022-08-03 s/economy/smithfield-california-factory.html Why Is Smithfield Leaving California        By Kurtis Lee                    TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/01/dining/ To Select These Four Cheeses Emerge
2022-08-01   2022-08-03 american-cheese-society.html                 Unbeaten                                    By Florence Fabricant            TX 9-207-887    2022-10-14



                                                                                Page 4074 of 5793
                        https://www.nytimes.com/2022/08/01/dining/
2022-08-01   2022-08-03 blindfold-wine-blanc-de-noir.html           To Sip Guess the Grape And Drink the Wine    By Florence Fabricant           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/dining/f To Scoop Tropical Ice Creams With
2022-08-01   2022-08-03 rutero-tropical-ice-cream.html              Uncommon Flavors                             By Florence Fabricant           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/dining/ To Brew Coffee From Yemen Has Literary
2022-08-01   2022-08-03 mokhtar-alkhanshali-coffee.html             Ties                                         By Florence Fabricant           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/dining/
2022-08-01   2022-08-03 pickle-flavor-foods.html                    Pickle Spice Is the New Pumpkin Spice        By Christina Morales            TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/01/dining/t To Cook An Upstate Source Offers Smart
2022-08-01   2022-08-03 o-the-last-bite-book-alexis-deboschnek.html Advice                                        By Florence Fabricant          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/dining/ To Transport Getting Carried Away With
2022-08-01   2022-08-03 wine-bag-wine-enthusiast.html               Picnic Items                                  By Florence Fabricant          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/opinion Cheney Is Prepared to Lose Power and It
2022-08-01   2022-08-03 /liz-cheney-trump-jan-6.html                Shows                                         By Katherine Miller            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/theater/ Netflix Sues An Unofficial Bridgerton
2022-08-01   2022-08-03 netflix-bridgerton-musical.html             Musical Duo                                   By Kalia Richardson            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/theater/
2022-08-01   2022-08-03 paradise-square-payment-drabinsky.html      Musical Faces a New Lawsuit                   By Marc Tracy                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/world/a How Hot and Humid Singapore Is Trying to
2022-08-01   2022-08-03 sia/singapore-cooling-heat-climate.html     Cool Itself Down                              By SuiLee Wee                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/arts/mu
                        sic/meridian-brothers-el-grupo-
2022-08-02   2022-08-03 renacimiento.html                           Studying Salsas Past and Surveying Its Future By Ed Morales                  TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/02/arts/tele
2022-08-02   2022-08-03 vision/nichelle-nichols-uhura-star-trek.html Talk About Final Frontiers                  By Stacy Y China                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/busines Going Beyond Vegan Meat to BioDesigned
2022-08-02   2022-08-03 s/collagen-protein-fake-meat-geltor.html     Collagen                                    By Jonathan Kauffman            TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/02/busines Fed Officials Expect Rates To Rise as
2022-08-02   2022-08-03 s/economy/fed-inflation-interest-rates.html Inflation Lingers                            By Jeanna Smialek               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/busines Fall in Job Openings Signals Cooling Labor
2022-08-02   2022-08-03 s/economy/job-openings-june.html            Market                                       By Ben Casselman                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/busines Under New Parent Firm CNN Faces Big
2022-08-02   2022-08-03 s/media/cnn-profit-chris-licht.html         Questions                                    By Benjamin Mullin              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/busines Forbes Explores Sale Prospects After SPAC     By Benjamin Mullin and Lauren
2022-08-02   2022-08-03 s/media/forbes-sale-spac.html               Bid Failed to Excite                         Hirsch                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/busines Times Investigations Leader Tapped to Be
2022-08-02   2022-08-03 s/media/new-york-times-matt-purdy.html      Editor at Large                              By Katie Robertson              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/busines What Twitters Subpoenas Reveal About Its
2022-08-02   2022-08-03 s/musk-banks-twitter-subpoena.html          Legal Plan                                   By Lauren Hirsch                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/busines                                               By Lora Kelley and David
2022-08-02   2022-08-03 s/robinhood-layoffs.html                    Robinhood Cuts 23 of Staff                   YaffeBellany                    TX 9-207-887   2022-10-14




                                                                                 Page 4075 of 5793
                        https://www.nytimes.com/2022/08/02/busines
                        s/stephen-king-penguin-random-house-       King Testifies That Merger of Book Giants
2022-08-02   2022-08-03 antitrust-testimony.html                   Would Hurt Writers                            By Adam Bednar                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/busines
2022-08-02   2022-08-03 s/uber-quarterly-earnings.html             Uber Posts A Record For Revenue               By Kellen Browning                 TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/02/dining/f
2022-08-02   2022-08-03 ive-years-of-the-second-avenue-subway.html Take the Second Avenue Line for Tasty Food By Nikita Richardson                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/dining/ One Fifth Serving Updated Italian Fare Is Set
2022-08-02   2022-08-03 nyc-restaurant-news.html                    to Open in Greenwich Village                 By Florence Fabricant              TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/02/nyregio Officials Charge 24 in Scheme That Wreaked
2022-08-02   2022-08-03 n/new-york-gang-racketeering-operation.html Havoc in New York City                    By Colin Moynihan                     TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/02/nyregio Teen Found Shot Dead in Queens Driveway
2022-08-02   2022-08-03 n/teen-killed-shooting-queens-rockaway.html Police Say                                   By Ed Shanahan                     TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/02/nyregio Question Poses Pitfalls For Trump Under       By Ben Protess Jonah E Bromwich
2022-08-02   2022-08-03 n/trump-letitia-james-deposition-lawsuit.html Oath Whats His Net Worth                   and William K Rashbaum          TX 9-207-887      2022-10-14

                        https://www.nytimes.com/2022/08/02/opinion
2022-08-02   2022-08-03 /ayman-al-zawahri-al-qaeda-afghanistan.html AlZawahri Is Gone but Al Qaeda Is Resilient By Asfandyar Mir                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/opinion
2022-08-02   2022-08-03 /pelosi-taiwan-china.html                   Pelosi Stood Up to Beijing Good for Her     By Bret Stephens                    TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/02/sports/b
2022-08-02   2022-08-03 aseball/joey-gallo-yankees-dodgers-trade.html Gallos True Outcome Traded to the Dodgers By Benjamin Hoffman                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/sports/b Padres Land Soto In a Blockbuster With the
2022-08-02   2022-08-03 aseball/juan-soto-padres-trade.html           Nationals                                   By James Wagner                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/sports/b Going for Broke San Diego Forms A Fantasy
2022-08-02   2022-08-03 aseball/juan-soto-padres.html                 Team                                        By Tyler Kepner                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/sports/f Ruling on Watson Bound by Precedent Now
2022-08-02   2022-08-03 ootball/deshaun-watson-nfl-discipline.html    Goes to Goodell                             By Ken Belson and Jenny Vrentas   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/sports/f NFL Strips Dolphins of Draft Picks and
2022-08-02   2022-08-03 ootball/miami-dolphins-tampering.html         Suspends Owner for Tampering                By Ken Belson                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/sports/f The Jets Are Scrambling and They Want
2022-08-02   2022-08-03 ootball/zach-wilson-jets.html                 Wilson to Get Better at It                  By Kris Rhim                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/sports/r No Longer Invincible New Zealand Faces A
2022-08-02   2022-08-03 ugby/all-blacks-new-zealand-rugby.html        Troubling Future                            By Pete McKenzie                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/theater/
2022-08-02   2022-08-03 the-butcher-boy-review.html                   A Childhood Idyll With a Threat of Violence By Naveen Kumar                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/us/heat- As August Gathers Steam Summer Has
2022-08-02   2022-08-03 wave-northeast-records.html                   Staying Power                               By Isabella Grulln Paz            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/us/hype Trip to Worlds Tallest Tree Could Now End
2022-08-02   2022-08-03 rion-tree-redwood-california.html             in Jail Cell                                By Remy Tumin                     TX 9-207-887   2022-10-14



                                                                                 Page 4076 of 5793
                        https://www.nytimes.com/2022/08/02/us/mich In Michigans Primary Abortion and Economy
2022-08-02   2022-08-03 igan-primary-abortion-elections-.html       Drive Choices for Voters                   By Julie Bosman                   TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/02/us/polit Terrorists Lost Leaders But Found More
2022-08-02   2022-08-03 ics/al-qaeda-terrorism-isis.html            Fighters                                   By Eric Schmitt and Helene Cooper TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/02/us/polit Drone Strike Spurs Debate Over Bidens
2022-08-02   2022-08-03 ics/al-zawahri-biden-afghanistan.html       Afghan Strategy                            By Peter Baker                    TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/02/us/polit Arizona GOP Officials Worried Trump        By Maggie Haberman and Luke
2022-08-02   2022-08-03 ics/arizona-trump-fake-electors.html        Scheme Might Be Called Treason             Broadwater                        TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/02/us/polit Justice Dept Sues Idaho Over New Abortion
2022-08-02   2022-08-03 ics/biden-abortion-idaho-lawsuit.html       Law                                        By Charlie Savage                 TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/02/us/polit Analysis Disputes GOP Attacks on Climate
2022-08-02   2022-08-03 ics/biden-climate-tax-bill-cost.html        and Tax Bill                               By Jim Tankersley                 TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/02/us/polit
                        ics/biden-infrastructure-bill-poor-         Poorest Communities to Get Help Tapping US
2022-08-02   2022-08-03 communities.html                            Funds for CleanWater Projects              By Glenn Thrush                   TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/02/us/polit A Quiet Balcony Became alZawahris          By Julian E Barnes and Eric
2022-08-02   2022-08-03 ics/cia-qaeda-al-zawahri.html               Downfall                                   Schmitt                           TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/02/us/polit
                        ics/congress-officer-suicides-ptsd-         Congress Passes Bill to Include Officer
2022-08-02   2022-08-03 benefits.html                               Suicides In Benefits                       By Luke Broadwater                TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/02/us/polit Pelosis Visit to Taiwan Attracts Beijings  By Paul Mozur Amy Chang Chien
2022-08-02   2022-08-03 ics/nancy-pelosi-taiwan-beijing.html        Scorn But Bipartisan Support               and Michael D Shear               TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/02/us/polit Pelosis Visit to Taiwan Caps Three Decades
2022-08-02   2022-08-03 ics/pelosi-taiwan-china-record.html         of Challenging China on Rights             By Carl Hulse                     TX 9-207-887      2022-10-14
                                                                    Senate Votes to Approve Bill Offering
                        https://www.nytimes.com/2022/08/02/us/polit Benefits to Veterans Who Were Exposed to
2022-08-02   2022-08-03 ics/senate-burn-pits-veterans.html          Toxins                                     By Stephanie Lai                  TX 9-207-887      2022-10-14

                        https://www.nytimes.com/2022/08/02/us/polit Biden Chooses Veteran Official to Coordinate By Sheryl Gay Stolberg and Peter
2022-08-02   2022-08-03 ics/white-house-coordinator-monkeypox.html Response to Monkeypox                         Baker                              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/world/a Taliban Entering a New Era of Global          By Christina Goldbaum and
2022-08-02   2022-08-03 sia/afghanistan-taliban.html                Isolation                                    Thomas GibbonsNeff                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/world/a Explaining the Ambush Of Bin Ladens           By Cora Engelbrecht and Euan
2022-08-02   2022-08-03 sia/al-qaeda-al-zawahri-killing.html        Successor                                    Ward                               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/world/a                                               By Paul Mozur Chris Horton and
2022-08-02   2022-08-03 sia/pelosi-trip-taiwan.html                 Hosts Welcome Trip in Quiet Defiance         Amy Chang Chien                    TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/02/world/e Johnson to Leave Office But Keep the
2022-08-02   2022-08-03 urope/boris-johnson-uk-prime-minister.html Spotlight                                     By Stephen Castle                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/world/e Devastation Marches On Even as Russia         By Marc Santora Peter Baker and
2022-08-02   2022-08-03 urope/ukraine-east-evacuation.html         Regroups for an Offensive                     Richard PrezPea                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/world/e War Spurs Ukrainian Efforts to Legalize
2022-08-02   2022-08-03 urope/ukraine-gay-marriage.html            SameSex Marriage                              By Maham Javaid and Dan Bilefsky TX 9-207-887     2022-10-14




                                                                                 Page 4077 of 5793
                        https://www.nytimes.com/interactive/2022/08/ How the New Climate Bill Would Reduce        By Nadja Popovich and Brad
2022-08-02   2022-08-03 02/climate/manchin-deal-emissions-cuts.html Emissions                                     Plumer                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/interactive/2022/08/                                              By Manuela Andreoni Blacki
                        02/world/americas/brazil-airstrips-illegal-  The Illegal Airstrips Bringing Toxic Mining Migliozzi Pablo Robles and Denise
2022-08-02   2022-08-03 mining.html                                  to Brazils Indigenous Land                   Lu                               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/busines Media Indie Movie Outlet Neon Tests Waters By Benjamin Mullin and Nicole
2022-08-03   2022-08-03 s/neon-films-explores-sale.html              for a Sale                                   Sperling                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/nyregio Rival to Nadler and Maloney Brings             By Michael Gold and Dana
2022-08-03   2022-08-03 n/debate-nadler-maloney-patel.html           Fireworks to Debate                          Rubinstein                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/us/kans Kansas Retains Abortion Rights In Critical
2022-08-03   2022-08-03 as-abortion-rights-vote.html                 PostRoe Referendum                           By Mitch Smith and Katie Glueck TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/02/us/polit Missouri Attorney General Defeats Former
2022-08-03   2022-08-03 ics/missouri-senate-schmitt.html             Governor to Win GOP Senate Primary           By Jonathan Weisman              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/us/polit Media Personality to Run Against Whitmer on
2022-08-03   2022-08-03 ics/tudor-dixon-michigan.html                Ballot                                       By Reid J Epstein                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/insider/
2022-08-03   2022-08-03 stefanos-chen-real-estate.html               Real Estate Reporter on the Whisper          By Emmett Lindner                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/08/well/mi Here to Help Mental Health Advice for
2022-07-08   2022-08-04 nd/mental-health-college-students.html       Incoming College Students                    By Christina Caron               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/28/style/ol
2022-07-28   2022-08-04 ena-zelenska-vogue.html                      Magazine Wades Into Ukraines Agony           By Vanessa Friedman              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/30/style/th
2022-07-30   2022-08-04 erapy-dating.html                            So Tell Me About Your Therapist              By Alyson Krueger                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/arts/mu Mick Moloney 77 Musician and Scholar Who
2022-08-01   2022-08-04 sic/mick-moloney-dead.html                   Spread the Richness of Irish Culture         By Vivien Schweitzer             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/style/da
2022-08-01   2022-08-04 n-smith-guitar.html                          Six Strings and a Lot of Ads                 By Collier Meyerson              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/style/te A Girls Parents Sue After a Fatal EBike
2022-08-01   2022-08-04 am-molly-rad-power-bikes-lawsuit.html        Accident                                     By Katherine Rosman              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/arts/tele Burt Metcalfe Showrunner Who Left His
2022-08-02   2022-08-04 vision/burt-metcalfe-dead.html               Mark on MASH Dies at 87                      By Richard Sandomir              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/climate
2022-08-02   2022-08-04 /what-fungi-can-teach-us.html                I Learned What Fungi Can Teach               By Somini Sengupta               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/opinion I Wish I Could Ask Alaa Abd elFattah What
2022-08-02   2022-08-04 /egypt-human-rights-alaa.html                He Thinks About the World Now                By Zeynep Tufekci                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/style/pl
2022-08-02   2022-08-04 unge-pools.html                              Take the Plunge for a Different Kind of Pool By Lia Picard                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/technol Suit Over Books Merger Is Really About
2022-08-02   2022-08-04 ogy/penguin-random-house-amazon.html         Amazon                                       By Shira Ovide                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/us/eli-n- Eli N Evans 85 Author Who Wrote About
2022-08-02   2022-08-04 evans-dead.html                              Jews In American South Dies                  By Clay Risen                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/us/lovi
2022-08-02   2022-08-04 ng-county-texas.html                         A Lot of Trouble for a Place With 57 People By J David Goodman                TX 9-207-887   2022-10-14




                                                                                Page 4078 of 5793
                        https://www.nytimes.com/2022/08/02/us/polit Beloved University Presidents Legacy A
2022-08-02   2022-08-04 ics/umbc-freeman-hrabowski.html               Diverse New Generation in STEM              By Erica L Green              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/sports/b Good Trade Injured deGrom for Healthy
2022-08-03   2022-08-04 aseball/jacob-degrom-mets.html                deGrom                                      By David Waldstein            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/sports/b Vin Scully Baseballs Premier Storyteller Dies
2022-08-03   2022-08-04 aseball/vin-scully-dead.html                  at 94                                       By Richard Goldstein          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/us/alab Girl 12 Escapes Captivity Leading Authorities By McKenna Oxenden and Michael
2022-08-03   2022-08-04 ama-captive-girl-dead-bodies.html             to Find 2 Bodies                            Levenson                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/arts/dan
2022-08-03   2022-08-04 ce/review-black-grace-new-zealand.html        Generating a Different Kind of Buzz         By Gia Kourlas                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/arts/des
                        ign/max-hollein-met-museum-chief-             Max Hollein Named Chief Executive of
2022-08-03   2022-08-04 executive.html                                Metropolitan Museum                         By Robin Pogrebin             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/arts/mu
                        sic/geffen-hall-theater-joseph-tsai-clara-wu-
2022-08-03   2022-08-04 tsai.html                                     New Name for Theater at Geffen Hall         By Javier C Hernndez          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/arts/mu
2022-08-03   2022-08-04 sic/lisa-moore-rzewski.html                   A Modernists Darts of Disarming Warmth      By Seth Colter Walls          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/arts/mu
2022-08-03   2022-08-04 sic/pedal-steel-guitar.html                   A Keening That Refuses To Go Away           By Grayson Haver Currin       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/books/r
2022-08-03   2022-08-04 eview-mothercare-lynne-tillman.html           When Familial Duty Outlives Love            By Jennifer Szalai            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/busines
2022-08-03   2022-08-04 s/economy/chip-industry-congress.html         Fearing Chinas Drive US Funds Chip Makers By Ana Swanson                  TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/03/busines OPEC Plus to Increase Oil Production Just a
2022-08-03   2022-08-04 s/energy-environment/opec-plus-meeting.html Bit                                        By Jenny Gross                  TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/03/busines
2022-08-03   2022-08-04 s/germany-russia-gazprom-pipeline.html      Germany to Gazprom Your Turbine Is Ready By Melissa Eddy                   TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/03/busines
                        s/media/new-york-times-quarterly-           The Times Reports an Increase Of 180000
2022-08-03   2022-08-04 earnings.html                               Digital Subscribers                        By Katie Robertson              TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/03/busines Richard Tait 58 CoInventor Of the Board
2022-08-03   2022-08-04 s/richard-tait-dead.html                    Game Cranium                               By Cade Metz                    TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/03/movies/
2022-08-03   2022-08-04 blackstar-film-festival.html                The Reach of BlackStar                     By Salamishah Tillet            TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/03/nyregio Hochul Defends Bail Reform While Adams By Dana Rubinstein Emma G
2022-08-03   2022-08-04 n/bail-reform-adams-hochul.html             Urges Tougher Measures                     Fitzsimmons and Grace Ashford   TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/03/nyregio 2 Pedestrians Killed Despite New Yorks     By Hurubie Meko and Matthew
2022-08-03   2022-08-04 n/inwood-ny-car-crash-pedestrian-death.html Latest Effort to Reduce Traffic Crashes   Sedacca                          TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/03/opinion
2022-08-03   2022-08-04 /kansas-abortion-vote-roe.html              The Power of the Kansas Abortion Vote     By Sarah Smarsh                  TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/03/opinion
2022-08-03   2022-08-04 /meijer-trump-candidates.html               A Cynical Low for the Democratic Party    By The Editorial Board           TX 9-207-887    2022-10-14



                                                                                Page 4079 of 5793
                        https://www.nytimes.com/2022/08/03/science Scientists Revive Cells In Organs of Dead
2022-08-03   2022-08-04 /pigs-organs-death.html                     Pigs                                        By Gina Kolata                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/sports/b
2022-08-03   2022-08-04 aseball/vin-scully-dodgers.html             A Dignified Ambassador for Dem Bums         By George Vecsey                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/sports/b Where Celebrity Rules A Humble Man
2022-08-03   2022-08-04 aseball/vin-scully-los-angeles.html         Reigned                                     By Scott Miller                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/sports/f
                        ootball/nfl-appeals-deshaun-watsons-        NFL Appeals Penalty As Too Light on
2022-08-03   2022-08-04 suspension.html                             Watson                                      By Jenny Vrentas and Ken Belson TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/03/sports/n Torn ACL to Sideline Bueckers for the
2022-08-03   2022-08-04 caabasketball/paige-bueckers-acl-injury.html Season                                       By Adam Zagoria                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/sports/s Barcelonas Spending Spiraled Into a Crisis Is
2022-08-03   2022-08-04 occer/barcelona-laporta-de-jong.html         It Also the Answer                           By Tariq Panja                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/style/en
                        dless-lines-baffling-delays-crocs-for-
2022-08-03   2022-08-04 days.html                                    Endless Lines Baffling Delays Crocs for Days By Guy Trebay                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/style/th
                        e-mother-of-south-korean-mens-wear-rides-
2022-08-03   2022-08-04 the-k-wave.html                              The Mother of South Korean Mens Wear         By Hahna Yoon                   TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/03/technol Four Helpful Smartphone Tricks You May
2022-08-03   2022-08-04 ogy/personaltech/4-iphone-android-tricks.html Not Know About                              By J D Biersdorfer              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/technol
2022-08-03   2022-08-04 ogy/youtube-automated-videos.html             Make on YouTube Just Pay Upfront            By Nico Grant                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/theater/ Barrington Stage Company Selects Its New
2022-08-03   2022-08-04 barrington-stage-company-alan-paul.html       Artistic Director                           By Matt Stevens                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/theater/
2022-08-03   2022-08-04 julie-benko-funny-girl.html                   Opportunity Knocks for a Funny Girl         By Julia Jacobs                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/giuli Giuliani Is Unlikely to Face Criminal Charges By William K Rashbaum and Ben
2022-08-03   2022-08-04 ani-charges-lobbying-inquiry-trump.html       That He Lobbied for Ukraine                 Protess                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/kans Voters Turned Out in Huge Numbers And          By Mitch Smith Lauren Fox and
2022-08-03   2022-08-04 as-abortion-amendment.html                    Crashed Through Party Lines                 Elizabeth Dias                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/new Newsom Urges Hollywood To Back Up
2022-08-03   2022-08-04 som-hollywood-abortion-states.html            Liberal Values                              By Shawn Hubler                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/polit Jones Is Confronted With Evidence of
2022-08-03   2022-08-04 ics/alex-jones-trial-sandy-hook.html          Deception His Own Texts                     By Elizabeth Williamson         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/polit Ordering Abortion Study Biden Projects
2022-08-03   2022-08-04 ics/biden-abortion-executive-order.html       Power Where He Can                          By Peter Baker                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/polit What Could US Do if China Were to Put a
2022-08-03   2022-08-04 ics/china-exercises-taiwan-fears.html         Slow Squeeze on the Island                  By David E Sanger and Amy Qin   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/polit Kansas Decision To Keep Abortion Buoys        By Katie Glueck and Shane
2022-08-03   2022-08-04 ics/democrats-abortion-kansas.html            Democrats                                   Goldmacher                      TX 9-207-887   2022-10-14




                                                                                Page 4080 of 5793
                        https://www.nytimes.com/2022/08/03/us/polit Bipartisan Support Grows For Overhauling
2022-08-03   2022-08-04 ics/election-count-law-trump-congress.html the Rules On Tallying Electoral Votes          By Carl Hulse                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/polit
                        ics/gop-election-deniers-trump-arizona-                                                   By Jennifer Medina Reid J Epstein
2022-08-03   2022-08-04 michigan.html                                  Backers of Lies About Election Rise in GOP and Nick Corasaniti               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/polit Republican Of Indiana And 2 Aides Die in
2022-08-03   2022-08-04 ics/jackie-walorski.html                       Crash                                      By Annie Karni                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/polit Durbin Calls For Inquiry Into Messages Gone
2022-08-03   2022-08-04 ics/jan-6-pentagon-texts.html                  Missing                                    By Luke Broadwater                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/polit Monkeypox Vaccine Shortage Was                By Sharon LaFraniere Noah
2022-08-03   2022-08-04 ics/monkeypox-vaccine-doses-us.html            Preventable                                Weiland and Joseph Goldstein      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/polit Meijer Voted to Impeach Trump Now
2022-08-03   2022-08-04 ics/peter-meijer-michigan.html                 Republicans Cast Him Out                   By Catie Edmondson                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/polit Wins by Trump Allies Highlight His Hold On
2022-08-03   2022-08-04 ics/primaries-trump-republicans.html           the GOP Base                               By Shane Goldmacher               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/polit
2022-08-03   2022-08-04 ics/sinema-climate-deal-manchin.html           All Eyes on Sinema As Major Vote Nears     By Emily Cochrane                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/polit
2022-08-03   2022-08-04 ics/sweden-finland-nato-senate-vote.html       Senate Approves Adding 2 to NATO           By Catie Edmondson                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/polit US Faces Big Obstacles To Cap Russia Oil
2022-08-03   2022-08-04 ics/us-russia-oil-prices.html                  Prices                                     By Alan Rappeport                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/us/tudo Emerging From GOP Pack in a Governors
2022-08-03   2022-08-04 r-dixon-whitmer-michigan-governor.html         Race                                       By Julie Bosman                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/world/a
                        mericas/enrique-pena-nieto-corruption-         Mexican Corruption Investigation Raises    By Natalie Kitroeff and Oscar
2022-08-03   2022-08-04 charges.html                                   Questions                                  Lopez                             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/world/a
                        mericas/mexico-drought-monterrey-              Cruel Drought Makes Mexicans Chase the     By Cesar Rodriguez Maria
2022-08-03   2022-08-04 water.html                                     Water                                      AbiHabib and Bryan Avelar         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/world/a Pelosi Prods China Stoking Simmering           By Paul Mozur Amy Chang Chien
2022-08-03   2022-08-04 sia/pelosi-taiwan-china.html                   Tensions                                   John Liu and Chris Buckley        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/world/a Several Protest Leaders Are Arrested in Sri    By Skandha Gunasekara and Mujib
2022-08-03   2022-08-04 sia/sri-lanka-protest-crackdown.html           Lanka                                      Mashal                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/world/a Pelosis Taiwan Visit Risks Fraying Alliance
2022-08-03   2022-08-04 sia/taiwan-pelosi-visit-allies.html            US Is Building in Region                   By Jane Perlez                    TX 9-207-887   2022-10-14
                                                                                                                  By Michael Schwirtz Christiaan
                        https://www.nytimes.com/2022/08/03/world/e Gathering Proof That Killing of POWs Was Triebert Kamila Hrabchuk and
2022-08-03   2022-08-04 urope/russia-ukraine-prisoners-killed.html     War Crime                                  Stanislav Kozliuk                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/world/e
                        urope/ukraine-braces-for-a-renewed-russian-
                        offensive-in-the-south-as-it-prepares-its-own- Russia Seems To Mass Force Along Front
2022-08-03   2022-08-04 line-of-attack.html                            Near Kherson                               By Andrew E Kramer                TX 9-207-887   2022-10-14




                                                                                Page 4081 of 5793
                        https://www.nytimes.com/2022/08/03/us/polit Lawyer Urged Allies to File Voting Lawsuits By Maggie Haberman and Luke
2022-08-04   2022-08-04 ics/john-eastman-trump-election-fraud.html After Jan 6                                  Broadwater                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/busines Idle Cruise Ship Doubles as Floating
2022-08-04   2022-08-04 s/economy/ukraine-refugees-estonia.html      Sanctuary                                  By Patricia Cohen                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/05/20/arts/des
2022-05-20   2022-08-05 ign/george-grosz-museum-berlin.html          A Vigilant Observer Comes Home             By Kimberly Bradley              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/busines                                              By Liz Alderman and Diego Ibarra
2022-08-02   2022-08-05 s/ukraine-russia-energy-europe.html          Girding for a Hard Winter in Ukraine       Sanchez                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/movies/
2022-08-02   2022-08-05 exposing-muybridge-review.html               Exposing Muybridge                         By Ben Kenigsberg                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/movies/
2022-08-02   2022-08-05 shalom-taiwan-review.html                    Shalom Taiwan                              By Nicolas Rapold                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/nyregio Bernard Marson 91 Architect Who Helped
2022-08-02   2022-08-05 n/bernard-marson-dead.html                   Turn SoHo Into Artists Neighborhood        By Sam Roberts                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/technol
2022-08-02   2022-08-05 ogy/crypto-bitcoin-maximalists.html          After Crash Still Bullish On Bitcoin       By David YaffeBellany            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/nyregio
                        n/new-york-electric-scooter-battery-fire-    Woman and Child 5 Die in a Harlem Fire     By Karen Zraick and Matthew
2022-08-03   2022-08-05 deaths.html                                  Sparked by an Electric Scooter Battery     Sedacca                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/movies/
2022-08-04   2022-08-05 gone-in-the-night-review.html                Gone in the Night                          By Lisa Kennedy                  TX 9-207-887   2022-10-14
                                                                                                                By Chris Buckley Amy Chang
                        https://www.nytimes.com/2022/08/03/world/a With Missiles China Sends Warning on         Chien Eric Schmitt and David E
2022-08-04   2022-08-05 sia/taiwan-china-military-exercises.html     Taiwan                                     Sanger                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/arts/des 911 Memorial amp Museum Names New
2022-08-04   2022-08-05 ign/9-11-memorial-museum-leader.html         Leader                                     By Zachary Small                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/arts/des
                        ign/black-artists-migration-mississippi-
2022-08-04   2022-08-05 museum-art-review.html                       Casting New Visions on a People in Motion By Holland Cotter                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/arts/des
2022-08-04   2022-08-05 ign/tiona-mcclodden.html                     Holding Her Ground                         By Siddhartha Mitter             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/arts/jen Jennifer Bartlett 81 Unrepentant Maverick
2022-08-04   2022-08-05 nifer-bartlett-dead.html                     and Conceptual Artist Dies                 By Roberta Smith                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/arts/tele
2022-08-04   2022-08-05 vision/good-grief-state-of-happiness.html    This Weekend I Have                        By Margaret Lyons                TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/04/arts/tele At Long Last Dreams of Sandman Are
2022-08-04   2022-08-05 vision/the-sandman-netflix-neil-gaiman.html Fulfilled                                 By Maya Phillips                 TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/04/busines
2022-08-04   2022-08-05 s/bank-of-england-interest-rates.html        Bank Gives British Rates Big Increase    By Eshe Nelson                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/04/busines Lawmakers in France Pass Package for
2022-08-04   2022-08-05 s/france-economy-inflation.html              Inflation Relief                         By Aurelien Breeden              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/04/busines India Withdraws Proposed Law on Data       By Sameer Yasir and Karan Deep
2022-08-04   2022-08-05 s/india-data-privacy.html                    Protection                               Singh                            TX 9-207-887     2022-10-14



                                                                                Page 4082 of 5793
                        https://www.nytimes.com/2022/08/04/busines Warner Bros Discovery Says 2025 Goal Is to By Benjamin Mullin and Brooks
2022-08-04   2022-08-05 s/media/warner-bros-discovery-earnings.html Reach 130 Million Paid Subscribers              Barnes                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/busines
                        s/new-world-nancy-pelosi-taiwan-social-
2022-08-04   2022-08-05 media.html                                    Social Media Jeers Beijing On Pelosi Trip     By Li Yuan                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/busines
2022-08-04   2022-08-05 s/tesla-elon-musk-activist-investors.html     Tesla Beats Back Most Activist Proposals      By Jack Ewing                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/busines
2022-08-04   2022-08-05 s/transportation-dept-airline-rule.html       US Proposes Rule to Expand Airline Refunds By Heather Murphy               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/busines
2022-08-04   2022-08-05 s/twitter-spy-trial.html                      Twitter Insider To Learn Fate In Spying Trial By Kalley Huang              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/busines US Oil Falls Below 90 a Barrel for the First
2022-08-04   2022-08-05 s/us-oil-prices.html                          Time Since February                           By Isabella Simonetti        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/busines
2022-08-04   2022-08-05 s/wework-earnings-2q-2022.html                WeWork 2nd Quarter Loss Shrinks 31            By Gregory Schmidt           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/dining/ Georges Briguet Who Presided Over New
2022-08-04   2022-08-05 georges-briguet-dead.html                     Yorks Le Prigord Dies at 85                   By Sam Roberts               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/health/                                                  By Sheryl Gay Stolberg and
2022-08-04   2022-08-05 monkeypox-emergency-us.html                   US Calls Rise Of Monkeypox An Emergency Apoorva Mandavilli                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/
2022-08-04   2022-08-05 bliss-review-working-girls.html               Bliss                                         By Beatrice Loayza           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/ As Corpses Accumulate The Inanity
2022-08-04   2022-08-05 bodies-bodies-bodies-review.html              Overflows                                     By Lena Wilson               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/
2022-08-04   2022-08-05 bullet-train-review.html                      You Thought Your Commute Was Bad              By Manohla Dargis            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/
2022-08-04   2022-08-05 claydream-review.html                         Claydream                                     By Ben Kenigsberg            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/
2022-08-04   2022-08-05 faith-review.html                             Faith                                         By Glenn Kenny               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/ A Father Catfishes His Son We Just Wait for
2022-08-04   2022-08-05 i-love-my-dad-review.html                     the Ick                                       By Glenn Kenny               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/
2022-08-04   2022-08-05 luck-review.html                              Luck                                          By Teo Bugbee                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/
2022-08-04   2022-08-05 memory-box-review.html                        Memory Box                                    By Devika Girish             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/
2022-08-04   2022-08-05 mija-review.html                              Mija                                          By Beandrea July             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/
2022-08-04   2022-08-05 prey-review.html                              Prey                                          By Jeannette Catsoulis       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/
                        rise-of-the-teenage-mutant-ninja-turtles-the- Rise of the Teenage Mutant Ninja Turtles The
2022-08-04   2022-08-05 movie-review.html                             Movie                                         By Claire Shaffer            TX 9-207-887   2022-10-14




                                                                                Page 4083 of 5793
                                                                                                                 By Robert Daniels Erik Piepenburg
                        https://www.nytimes.com/2022/08/04/movies/ Hot Thrills Bus Issues Evil Aliens Sickos and Elisabeth Vincentelli and Devika
2022-08-04   2022-08-05 summer-movies-streaming.html               More                                          Girish                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/
2022-08-04   2022-08-05 they-them-review.html                      TheyThem                                      By Calum Marsh                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/
2022-08-04   2022-08-05 thirteen-lives-review.html                 Primal Terror in a Watery Thai Cave           By Amy Nicholson                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/
2022-08-04   2022-08-05 wedding-season-review.html                 Wedding Season                                By Natalia Winkelman              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/nyregio A Flashy Bishop Robbed at Church Has His
2022-08-04   2022-08-05 n/lamor-whitehead-bishop-robbed.html       Own History of Theft                          By Michael Wilson                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/nyregio Judge to Toss New York Citys School Budget By Colin Moynihan and Lola
2022-08-04   2022-08-05 n/school-budget-cuts-new-york-city.html    After Uproar                                  Fadulu                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/opinion
2022-08-04   2022-08-05 /climate-change-bill-taxes.html            Republicans Flail and Fail on Taxes           By Paul Krugman                   TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/04/opinion What Is It About Friendships That Is So
2022-08-04   2022-08-05 /friendships-economic-mobility-class.html  Powerful                                By David Brooks                       TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/04/opinion We Can Fight Monkeypox Without Hysteria
2022-08-04   2022-08-05 /monkeypox-communication.html              or Homophobia                           By Kai Kupferschmidt                  TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/04/opinion
2022-08-04   2022-08-05 /us-economy-recession-federal-reserve.html The Vibes in the Economy Are Weird            By Kyla Scanlon                 TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/04/science South Korea Lifts Off On Its First Mission To
2022-08-04   2022-08-05 /korea-moon-spacex-launch.html              Explore the Moon                             By Kenneth Chang                TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/04/sports/b
2022-08-04   2022-08-05 aseball/paul-goldschmidt-cardinals.html     Goldschmidt Is Having A Revival in St Louis By Victor Mather                 TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/04/sports/b
2022-08-04   2022-08-05 aseball/perfect-games.html                  An Imperfect Decade                          By Tyler Kepner                 TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/04/sports/b
                        asketball/wnba-brittney-griner-             Sentencing Done Griner Can Only Wait for a By Tania Ganguli and Jonathan
2022-08-04   2022-08-05 supporters.html                             Deal                                         Abrams                          TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/04/sports/f NFL Appoints ExProsecutor to Hear Watson
2022-08-04   2022-08-05 ootball/peter-harvey-deshaun-watson-nfl.html Appeal                                  By Jenny Vrentas and Ken Belson TX 9-207-887         2022-10-14
                        https://www.nytimes.com/2022/08/04/technol
2022-08-04   2022-08-05 ogy/musk-twitter-fraud.html                  Musk Fires At Twitter Citing Fraud      By Kate Conger                  TX 9-207-887         2022-10-14

                        https://www.nytimes.com/2022/08/04/theater/
2022-08-04   2022-08-05 stratford-festival-shaw-festival-canada.html In Canada a Wealth Of Powerful Revivals  By Jesse Green                     TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/04/upshot/ Abortion Rights Might Win Voter Support in
2022-08-04   2022-08-05 kansas-abortion-vote-analysis.html           40 States                                By Nate Cohn                       TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/04/us/breo 4 Officers Face Federal Charges In Taylor
2022-08-04   2022-08-05 nna-taylor-officers-charged.html             Killing                                  By Nicholas BogelBurroughs         TX 9-207-887     2022-10-14




                                                                                Page 4084 of 5793
                                                                    DeSantis Citing Incompetence Suspends
                        https://www.nytimes.com/2022/08/04/us/desa Prosecutor Who Vowed Not to Criminalize
2022-08-04   2022-08-05 ntis-tampa-prosecutor-abortion.html         Abortion                                   By Patricia Mazzei                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/us/geor Claim Fetus as Dependent You Can on
2022-08-04   2022-08-05 gia-abortion-law-fetus-tax-dependent.html   Georgia Taxes                              By Ava Sasani                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/us/kent The Final Straw Flooding Washes Away        By Rick Rojas Christopher Flavelle
2022-08-04   2022-08-05 ucky-flooding-coal-industry.html            Kentucky Coal Country Stalwarts            and Campbell Robertson             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/us/polit Jury Tells Infowars Host to Pay Sandy Hook
2022-08-04   2022-08-05 ics/alex-jones-damages-sandy-hook.html      Family 4 Million                           By Elizabeth Williamson            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/us/polit US Conservatives Cheer Hungary Leader a
2022-08-04   2022-08-05 ics/cpac-viktor-orban-speech.html           Caustic Foe of Immigration                 By Neil Vigdor                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/us/polit Pitching GOP on Gay Marriage Bill Baldwin
2022-08-04   2022-08-05 ics/gay-marriage-bill-baldwin.html          Leaves Nothing to Chance                   By Annie Karni                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/us/polit Russia Slowdown Expected as Fighting Takes By Julian E Barnes and Eric
2022-08-04   2022-08-05 ics/russia-weapons-ukraine.html             Its Toll                                   Schmitt                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/us/puer Former Puerto Rico Governor Arrested On
2022-08-04   2022-08-05 to-rico-wanda-vasquez-arrest.html           Charges of Accepting Donors Bribes         By Frances Robles                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/world/a US Expands Aid Package For Farmers In
2022-08-04   2022-08-05 sia/cambodia-agriculture-aid.html           Cambodia                                   By Edward Wong                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/world/a Out of Beijing a Forceful Reminder That
2022-08-04   2022-08-05 sia/china-japan-taiwan-missiles.html        American Bases and Japan Are in Reach      By Ben Dooley                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/world/a
2022-08-04   2022-08-05 ustralia/climate-bill.html                  Australia Advances Big Pledge On Climate By Damien Cave                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/world/a Australia Sheep Farm Is X That Marks Spot
2022-08-04   2022-08-05 ustralia/spacex-debris-australia.html       Where Space Junk Fell                      By Mike Ives and Jenny Gross       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/world/e
2022-08-04   2022-08-05 urope/ireland-corncrake.html                Saving the Birdsong of Irelands Summers    By Ed OLoughlin                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/world/e NineYear Term For Griner Puts Focus on      By Ivan Nechepurenko and Richard
2022-08-04   2022-08-05 urope/russia-brittney-griner-sentence.html  Swap                                       PrezPea                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/world/e
                        urope/ukraine-russia-farms-farming-wheat- Harvesting Crops as Mines Fires and Rockets By Andrew E Kramer and David
2022-08-04   2022-08-05 barley.html                                 Abound                                     Guttenfelder                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/world/
                        middleeast/beirut-port-silos-collapse-2020-
2022-08-04   2022-08-05 explosion.html                              Beirut Silos Crumble on Blast Anniversary  By Raja Abdulrahim                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/world/
2022-08-04   2022-08-05 middleeast/us-iran-nuclear-deal.html        As Iran Makes Gains Nuclear Talks Restart By Steven Erlanger                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/us/polit Opposing Lawyer Says He Plans to Give      By Luke Broadwater and Maggie
2022-08-04   2022-08-05 ics/alex-jones-texts-jan-6-committee.html   Infowars Hosts Texts to Jan 6 Panel        Haberman                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/nyregio Health Chief Warns Polio Case Could Be
2022-08-05   2022-08-05 n/polio-wastewater-cases-nyc.html           First of Many                              By Ed Shanahan                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/us/polit Sinema Joins Other Democrats in Backing
2022-08-05   2022-08-05 ics/sinema-inflation-reduction-act.html     Package on Climate Health and Taxes        By Emily Cochrane                  TX 9-207-887   2022-10-14




                                                                               Page 4085 of 5793
                        https://www.nytimes.com/2022/08/05/insider/
                        after-floods-in-kentucky-a-reporter-lets-
2022-08-05   2022-08-05 residents-talk.html                          After a Flood Letting Residents Talk       By Terence McGinley              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/arts/des
                        ign/if-these-beautiful-ornaments-could-
2022-08-03   2022-08-06 speak.html                                   Not for the Less Is More Crowd             By Will Heinrich                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/opinion Would We Have Paid Parental Leave if More
2022-08-03   2022-08-06 /female-candidates.html                      Moms Were in Congress                      By Jessica Grose                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/theater/ George Bartenieff 89 Socially Conscious
2022-08-03   2022-08-06 george-bartenieff-dead.html                  Fixture of Downtown Manhattan Theater      By Neil Genzlinger               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/arts/tele
2022-08-04   2022-08-06 vision/murder-at-the-cottage-review.html     An Artistic Retelling Of a Murder          By Mike Hale                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/opinion A Proposal for School Covid Policies This
2022-08-04   2022-08-06 /covid-school-policies.html                  Year                                       By Joseph G Allen                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/technol
2022-08-04   2022-08-06 ogy/internet-censorship.html                 A Classic Case of Internet Censorship      By Shira Ovide                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/theater/
2022-08-04   2022-08-06 the-nosebleed-review.html                    Not All Confessions Take Place in a Church By Naveen Kumar                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/us/migr Bused Far From Border to Shelters Tents and
2022-08-04   2022-08-06 ants-buses-washington-texas.html             Park Benches                               By Miriam Jordan                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/us/robe Robert E Simanek 92 Who Received Medal of
2022-08-04   2022-08-06 rt-e-simanek-dead.html                       Honor                                      By Richard Goldstein             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/world/e
                        urope/fagradalsfjall-iceland-volcano-        3 Tourists Are Hurt Near Volcanic Eruption
2022-08-04   2022-08-06 tourists.html                                in Iceland                                 By Michael Levenson              TX 9-207-887   2022-10-14
                                                                                                                By Jane Perlez Alexandra
                        https://www.nytimes.com/2022/08/04/world/a With Show of Strength Beijing Defies Its     Stevenson John Liu and Michael
2022-08-05   2022-08-06 sia/taiwan-china-military-drills.html        Critics                                    Crowley                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/arts/mu
2022-08-05   2022-08-06 sic/huang-ruo-m-butterfly.html               On Illusion and Betrayal in M Butterfly    By Javier C Hernndez             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/books/ Melissa Bank Whose Girls Guide Was a
2022-08-05   2022-08-06 melissa-bank-dead.html                       Phenomenon Is Dead at 61                   By Clay Risen                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/busines Amazon to Buy Maker of Roomba for 17
2022-08-05   2022-08-06 s/amazon-roomba-irobot.html                  Billion Giving Alexa a Companion           By Remy Tumin                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/busines Clock Is Running Out on an Antitrust Bill    By David McCabe and Stephanie
2022-08-05   2022-08-06 s/antitrust-bill-klobuchar.html              Targeting Big Tech Companies               Lai                              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/busines Fraught Bid To Eliminate Tax Loophole Fails By Alan Rappeport Emily Flitter
2022-08-05   2022-08-06 s/carried-interest-senate-bill.html          Again                                      and Kate Kelly                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/busines                                              By David YaffeBellany and Mike
2022-08-05   2022-08-06 s/coinbase-crypto.html                       The Humbling of Coinbase                   Isaac                            TX 9-207-887   2022-10-14
                                                                     Americans Are Upbeat About the Job Market
                        https://www.nytimes.com/2022/08/05/busines Despite Gloom Over the Economy and
2022-08-05   2022-08-06 s/economy/economy-jobs-survey.html           Inflation                                  By Ben Casselman                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/busines                                              By Jeanna Smialek and Jim
2022-08-05   2022-08-06 s/economy/jobs-biden-fed-recession.html      Growth Defies Effort to Cool Inflation     Tankersley                       TX 9-207-887   2022-10-14



                                                                               Page 4086 of 5793
                        https://www.nytimes.com/2022/08/05/busines July Hiring Surge Restores US Jobs Lost To
2022-08-05   2022-08-06 s/economy/july-jobs-report-gains.html       Pandemic                                  By Lydia DePillis                 TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/climate GOP Treasurers Work to Thwart Climate
2022-08-05   2022-08-06 /republican-treasurers-climate-change.html  Actions                                   By David Gelles                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/health/ Vaccine Dose Shortage May Leave
2022-08-05   2022-08-06 monkeypox-vaccine-hiv.html                  Vulnerable At Risk for Monkeypox          By Apoorva Mandavilli             TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/movies/
2022-08-05   2022-08-06 easter-sunday-review.html                   Family Is Seen as a Laughing Matter       By Concepcin de Len               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/movies/
                        five-science-fiction-movies-to-stream-
2022-08-05   2022-08-06 now.html                                    Snapping Pictures Like Theres No Tomorrow By Elisabeth Vincentelli          TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/movies/
2022-08-05   2022-08-06 pregnant-men-resurrection.html              Pregnant Men Shift To Movie Villains      By Amanda Hess                    TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/movies/
                        thirteen-lives-pattrakorn-tungsupakul-cave- She Was the Secret Weapon On the Set of a
2022-08-05   2022-08-06 rescue.html                                 New Movie                                 By Nicole Sperling                TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/05/nyregio Prosecutor Who Investigated Corruption In
2022-08-05   2022-08-06 n/charles-guria-inspector-general-nypd.html NYPD Will Lead a Watchdog Office             By Ashley Southall               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/nyregio Two Womens Local Ties Alter Race of Big
2022-08-05   2022-08-06 n/rivera-niou-ny10.html                      Names                                       By Dana Rubinstein               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/opinion Im Taiwanese and I Want to Thank Nancy
2022-08-05   2022-08-06 /taiwan-china-pelosi-democracy.html          Pelosi                                      By YuJie Chen                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/sports/b The Angels Hit Seven Home Runs And the
2022-08-05   2022-08-06 aseball/ohtani-angels-home-runs.html         Angels Lose Again                           By Victor Mather                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/sports/b The Game Can Wait As Players and Fans
2022-08-05   2022-08-06 asketball/brittney-griner-teammates.html     Shed Tears for Griner                       By Kris Rhim                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/sports/f
                        ootball/keyshawn-johnson-nfl-forgotten-      ModernDay Player Helps Revive the Legacy
2022-08-05   2022-08-06 four.html                                    of Four Black Pioneers                      By Ken Belson                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/sports/s
                        occer/fulham-liverpool-premier-league-       English Soccer Mantra Promote Relegate
2022-08-05   2022-08-06 mitrovic.html                                Repeat                                      By Rory Smith                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/sports/s
                        occer/premier-league-preview-ronaldo-united- What to Watch Everybody Chasing
2022-08-05   2022-08-06 arsenal-spurs.html                           Manchester City in the Premier League       By Rory Smith                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/sports/t A Long but Friendly Rivalry May Be Brewing
2022-08-05   2022-08-06 ennis/coco-gauff-naomi-osaka.html            Between Two Young Stars                     By Matthew Futterman             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/us/alber Albert Woodfox 75 Who Spent 42 Years In
2022-08-05   2022-08-06 t-woodfox-dead.html                          Solitary Is Dead                            By Alex Traub                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/us/park In Parkland Trial Families Lay Bare Shattered
2022-08-05   2022-08-06 land-shooting-trial-victims-families.html    Lives and Anguish                           By Patricia Mazzei               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/us/polit
2022-08-05   2022-08-06 ics/amtrak-executive-pay-bonus.html          Banner Year For Leaders At Amtrak           By Mark Walker and Niraj Chokshi TX 9-207-887   2022-10-14




                                                                               Page 4087 of 5793
                        https://www.nytimes.com/2022/08/05/us/polit Prison Term for Griner Raises the Pressure on
2022-08-05   2022-08-06 ics/brittney-griner-russia-biden.html       Biden                                         By Michael Crowley          TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/05/us/polit Its a Gun to Your Head Liberals Grit Teeth to
2022-08-05   2022-08-06 ics/climate-tax-bill-progressives.html      Back Senate Deal                              By Emily Cochrane           TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/05/us/polit Democrats Near Longtime Goal Of Cutting By Sheryl Gay Stolberg and
2022-08-05   2022-08-06 ics/medicare-drug-costs.html                Cost of Prescriptions                         Rebecca Robbins             TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/05/us/polit Stung by Kansas Vote Republicans Shift Tone By Jonathan Weisman and Katie
2022-08-05   2022-08-06 ics/republicans-abortion-kansas.html        On Full Abortion Bans                         Glueck                      TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/05/world/a Doubts About Americas Resolve and Its          By Edward Wong and Damien
2022-08-05   2022-08-06 sia/taiwan-china-united-states-allies.html  Strategies                                    Cave                        TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/05/world/a A Generation Gap Opens In How Taiwanese By Amy Chang Chien John Liu and
2022-08-05   2022-08-06 sia/taiwan-response-china.html              React To Threats From China                   Paul Mozur                  TX 9-207-887        2022-10-14

                        https://www.nytimes.com/2022/08/05/world/a Promoting Condom Use in Thailand With
2022-08-05   2022-08-06 sia/thailand-aids-overpopulation-mechai.html Spectacle and Humor                        By Seth Mydans                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/world/a QuickMoving Fire at Club In Thailand Kills   By Richard C Paddock and Muktita
2022-08-05   2022-08-06 sia/thailand-nightclub-fire.html             at Least 13                                Suhartono                        TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/world/a
                        ustralia/australia-migration-sri-lanka-
2022-08-05   2022-08-06 family.html                                  Sri Lankans Allowed to Stay in Australia   By Yan Zhuang                      TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/05/world/e Facing a Winter Without Russian Gas
2022-08-05   2022-08-06 urope/europe-energy-germany-nuclear.html Germany Reconsiders Nuclear Power             By Erika Solomon                 TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/05/world/e Lack of Rain and Withering Heat Push France
2022-08-05   2022-08-06 urope/france-drought-europe-heat.html      Into Its Most Severe Drought                By Aurelien Breeden              TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/05/world/e Spain Limits The Heating And Cooling Of
2022-08-05   2022-08-06 urope/spain-air-conditioning-limits.html   Buildings                                   By Johnny Diaz and Daniel Victor TX 9-207-887      2022-10-14

                        https://www.nytimes.com/2022/08/05/world/e US and Russian Envoys Say Negotiations to    By Edward Wong Neil
2022-08-05   2022-08-06 urope/us-russia-griner-ukraine-mykolaiv.html Free Two Americans Can Start               MacFarquhar and Natalie Kitroeff   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/world/
2022-08-05   2022-08-06 middleeast/iran-bahai-arrests.html           Iran Demolishes Bahai Members Homes        By Farnaz Fassihi                  TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/05/world/ Israel Fires On Gaza Prompting Rocket         By Ronen Bergman Patrick
2022-08-05   2022-08-06 middleeast/israel-gaza-airstrikes-rockets.html Barrage and Ending Relative Calm         Kingsley and Raja Abdulrahim       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/your-
                        money/college-students-renters-                Why College Students May Need Renters
2022-08-05   2022-08-06 insurance.html                                 Insurance                                By Ann Carrns                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/busines Californias DMV Accuses Tesla of Falsely
2022-08-06   2022-08-06 s/tesla-california-dmv-complaint.html          Advertising Its Autopilot System         By Kalley Huang and Cade Metz      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/us/india In PostRoe First Indiana Lawmakers Pass
2022-08-06   2022-08-06 na-abortion-vote.html                          NearTotal Abortion Ban                   By Mitch Smith and Julie Bosman TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/05/us/polit Jury Adds 452 Million To Bill in Jones      By Elizabeth Williamson Tiffany
2022-08-06   2022-08-06 ics/alex-jones-verdict.html                    Lawsuit                                  Hsu and Michael Levenson        TX 9-207-887      2022-10-14




                                                                                Page 4088 of 5793
                        https://www.nytimes.com/2022/08/06/busines Is PaybyPaycheck a Valuable Benefit or Just
2022-08-06   2022-08-06 s/lenders-retailers-money-paycheck.html     Another Trap                               By Ron Lieber                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/nyregio Citys Filings in Rikers Case Could Spur New
2022-08-06   2022-08-06 n/rikers-death-ny.html                      Lawsuits                                   By Jonah E Bromwich              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/us/breo Issue in Taylor Shooting Were Lies Used to By Nicholas BogelBurroughs and
2022-08-06   2022-08-06 nna-taylor-police-search-warrants.html      Get Search Warrant                         Serge F Kovaleski                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/world/e Ukraine and Russia Battle To Lead World     By Jane Arraf and Ivan
2022-08-06   2022-08-06 urope/ukraine-russia-world-chess.html       Chess Body                                 Nechepurenko                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/06/15/books/p
2022-06-15   2022-08-07 aris-books-read-leila-slimani.html          Essay                                      By Leila Slimani                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/06/20/books/r
                        eview/daughters-of-the-flower-fragrant-
2022-06-20   2022-08-07 garden-zhuqing-li.html                      A Family Divided                           By Deirdre Mask                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/06/28/books/r
2022-06-28   2022-08-07 eview/the-measure-nikki-erlick.html         Strung Out                                 By Leni Zumas                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/06/28/books/r
2022-06-28   2022-08-07 eview/ways-of-being-james-bridle.html       Ignore Your Instincts                      By Stefan Merrill Block          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/05/books/r
2022-07-05   2022-08-07 eview/human-blues-elisa-albert.html         Progressions                               By Jessica Anya Blau             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/06/books/r
2022-07-06   2022-08-07 eview/big-girl-mecca-jamilah-sullivan.html Growing Pains                               By Cleyvis Natera                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/07/books/r
                        eview/doctors-and-distillers-camper-
2022-07-07   2022-08-07 english.html                                Heres to Your Health                       By J D Biersdorfer               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/09/books/r
2022-07-09   2022-08-07 eview/the-crane-wife-cj-hauser.html         Viral Load                                 By Mary Laura Philpott           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/09/style/go
2022-07-09   2022-08-07 lden-goose-sneaker-repair.html              Dont Toss Those Old Sneakers               By Laura Rysman and Gus Powell   TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/07/10/books/r
2022-07-10   2022-08-07 eview/roll-red-roll-nancy-schwartzman.html Net Effect                                By Moira Donegan                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/10/books/r
2022-07-10   2022-08-07 eview/teddy-wayne-great-man-theory.html     Against the World                        By Brandon Taylor                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/12/books/r Josephine Baker International Woman of
2022-07-12   2022-08-07 eview/agent-josephine-damien-lewis.html     Mystery                                  By Marisa Meltzer                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/12/books/r
                        eview/chinelo-okparanta-harry-sylvester-
2022-07-12   2022-08-07 bird.html                                   How Not to Be an Antiracist              By Nicholas Whittaker              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/13/books/r
                        eview/thank-you-for-your-servitude-mark-
2022-07-13   2022-08-07 leibovich.html                              Party Favors                             By Geoffrey Kabaservice            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/16/books/
2022-07-16   2022-08-07 molly-young-book-recommendations.html       Wind Of Course Goethe and Shame          By Molly Young                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/25/realesta
2022-07-25   2022-08-07 te/shopping-for-sunshades.html              Out in the Open Air But Under Cover      By Tim McKeough                    TX 9-207-887   2022-10-14



                                                                               Page 4089 of 5793
                        https://www.nytimes.com/2022/07/26/books/r
2022-07-26   2022-08-07 eview/toxic-positivity-whitney-goodman.html The Power of Negative Thinking                 By Judith Newman              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/26/realesta
2022-07-26   2022-08-07 te/fire-island-house.html                     Planting a Distinctive Look in the Pines     By Tim McKeough               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/27/books/r
2022-07-27   2022-08-07 eview/new-romance-novels.html                 Witches Thieves and Duchesses                By Olivia Waite               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/28/books/r
                        eview/a-hard-place-to-leave-marcia-desanctis-
                        into-the-inferno-stuart-palley-crying-in-the-
                        bathroom-erika-l-sanchez-all-down-
2022-07-28   2022-08-07 darkness.html                                 Memoirs                                      By Melissa Febos              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/28/books/r
2022-07-28   2022-08-07 eview/the-measure-nikki-erlick.html           Inside the List                              By Elisabeth Egan             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/opinion In the ICU Dying Sometimes Feels Like a
2022-07-31   2022-08-07 /icu-death-family-choice.html                 Choice                                       By Daniela J Lamas            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/style/he
2022-08-01   2022-08-07 llo-world-its-been-a-while.html               Trying to Chug Along but Going Off the Rails By Andy Miller                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/opinion
2022-08-01   2022-08-07 /britain-brexit-truss-sunak.html              The Dream of Brexit Britain Is Over          By Richard Seymour            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/realesta
                        te/subsidized-housing-upper-east-side-holmes- One Womans Campaign to Fix Subsidized
2022-08-01   2022-08-07 towers.html                                   Housing                                      By DW Gibson                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/article/nfl-          Putting Watsons Ban Into Historical Context
2022-08-01   2022-08-07 suspensions.html                              The Longest NFL Suspensions                  By Kris Rhim and Ken Belson   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/interactive/2022/08/ Neil Gaiman Knows What Happens When
2022-08-01   2022-08-07 01/magazine/neil-gaiman-interview.html        You Dream                                    By David Marchese             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/arts/po
2022-08-02   2022-08-07 dcasts-political-scandals.html                The Ugly Underside Of Our Politics           By Emma Dibdin                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/magazi Can I Ditch My Roommate So I Can Live
2022-08-02   2022-08-07 ne/roommates-friends-ethics.html              With My Friend                               By Kwame Anthony Appiah       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/magazi
2022-08-02   2022-08-07 ne/souvenir-spoons.html                       Souvenir Spoons                              By Hannah Selinger            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/opinion Elite Universities Are Out of Touch Blame
2022-08-02   2022-08-07 /elite-universities-campus.html               the Campus                                   By Nick Burns                 TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/02/realesta He Finally Has a Place in Manhattan to Call
2022-08-02   2022-08-07 te/michael-r-jackson-washington-heights.html His Own                                    By Joanne Kaufman              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/02/style/sc Is Scott Galloway a Howard Stern for the
2022-08-02   2022-08-07 ott-galloway.html                            MBA Set                                    By Christopher Beam            TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/02/world/e Tensions or Sympathy On Ships With Sailors
2022-08-02   2022-08-07 urope/ukrainian-russian-sailors.html         From Nations at War                        By Jenny Gross and Emma Bubola TX 9-207-887     2022-10-14
                        https://www.nytimes.com/interactive/2022/08/
2022-08-02   2022-08-07 02/nyregion/central-park-reservoir.html      A Central Park Reservoir Nature Walk       By Paula Deitz                 TX 9-207-887     2022-10-14




                                                                                 Page 4090 of 5793
                        https://www.nytimes.com/2022/08/03/arts/mu
2022-08-03   2022-08-07 sic/teen-punk-bands-nyc.html               When Teenagers Ruled New Yorks Clubs          By Tim Sommer            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/books/j
2022-08-03   2022-08-07 ennette-mccurdy-memoir-mother.html         A Memoirs HardEarned Title                    By Dave Itzkoff          TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/03/books/r
2022-08-03   2022-08-07 eview/the-last-white-man-mohsin-hamid.html The Metamorphosis                              By David Gates          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/magazi
2022-08-03   2022-08-07 ne/claremont-institute-conservative.html       RightMinds                                 By Elisabeth Zerofsky   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/magazi
2022-08-03   2022-08-07 ne/creamy-spicy-dip.html                       A Creamy Spicy Dip Unlike Any Other        By Bryan Washington     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/magazi
2022-08-03   2022-08-07 ne/the-bear-modern-work.html                   Pressure Cooker                            By Carina Chocano       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/nyregio
2022-08-03   2022-08-07 n/new-york-rats-cars.html                      Engine Troubles Check for Rats             By TM Brown             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/opinion
2022-08-03   2022-08-07 /anti-abortion-kansas.html                     Democracy And Choice Win in Kansas         By Michelle Goldberg    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/opinion
2022-08-03   2022-08-07 /blake-masters-arizona-senate.html             The Violent Fantasies of Blake Masters     By Sam AdlerBell        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/opinion Many Africans View the US as a Cautionary
2022-08-03   2022-08-07 /kenya-presidential-elections.html             Tale                                       By Farah Stockman       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/realesta
2022-08-03   2022-08-07 te/crevice-rock-gardening.html                 The Future Can Be Seen in the Crevices     By Margaret Roach       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/realesta
                        te/house-hunting-in-england-rural-splendor-in- An EnergyEfficient Home Tucked Away in a
2022-08-03   2022-08-07 the-south-west-region.html                     Village                                    By Michael Kaminer      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/realesta
                        te/ridgewood-queens-a-multiethnic-area-thats-
2022-08-03   2022-08-07 like-a-whirlpool.html                          This Multiethnic Area Is Like a Whirlpool  By Julie Lasky          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/style/i-
                        was-a-lesbian-until-this-summer-what-
2022-08-03   2022-08-07 happened.html                                  SexualIdentity Shift                       By Philip Galanes       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/theater/
2022-08-03   2022-08-07 theater-safer-work-reformation.html            Shutting the Door On a HardKnock Life      By Jesse Green          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/arts/des
2022-08-04   2022-08-07 ign/in-the-black-fantastic-london.html         Taking a Look Beyond Afrofuturism          By Charlotte Jansen     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/arts/des
2022-08-04   2022-08-07 ign/lgbt-museums-queer-britain.html            What Should an LGBTQ Museum Be             By Tom Faber            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/arts/hir
2022-08-04   2022-08-07 oyuki-sanada-bullet-train.html                 Hiroyuki Sanada Revels in Sunsets and Jazz By Kathryn Shattuck     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/busines For Disconnected Times Unconventional New
2022-08-04   2022-08-07 s/job-titles-remote-work.html                  Roles                                      By Emma Goldberg        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/magazi
                        ne/judge-john-hodgman-on-paying-for-
2022-08-04   2022-08-07 precheck.html                                  Bonus Advice From Judge John Hodgman       By John Hodgman         TX 9-207-887   2022-10-14



                                                                                 Page 4091 of 5793
                        https://www.nytimes.com/2022/08/04/magazi Her Lungs Mysteriously Shut Down How
2022-08-04   2022-08-07 ne/lung-illness-tmp-smx.html                 Could This Have Happened                    By Lisa Sanders MD             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/magazi
                        ne/poem-final-poem-for-my-father-misnamed- Poem Final Poem for My Father Misnamed In By Phillip B Williams and Victoria
2022-08-04   2022-08-07 in-my-mouth.html                             My Mouth                                    Chang                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/
2022-08-04   2022-08-07 80s-sci-fi-movies-gen-z.html                 New Stars Explore Distant Fantasies         By Dave Itzkoff                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/movies/                                               By Adam Nayman and Sinna
2022-08-04   2022-08-07 sci-fi-movies-80s.html                       A Season Of Five SciFi Classics             Nasseri                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/opinion
2022-08-04   2022-08-07 /drought-climate-colorado-river.html         The Coming Crisis on the Colorado River     By Daniel Rothberg             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/realesta
2022-08-04   2022-08-07 te/home-searches-cities.html                 Considering Another City                    By Michael Kolomatsky          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/style/m A Stranger Filmed Her Then Others
2022-08-04   2022-08-07 onkeypox-tiktok.html                         Misjudged                                   By Madison Malone Kircher      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/style/ro
2022-08-04   2022-08-07 sie-assoulin-bridal-clothing.html            For the Bride Who Prefers Cargo Pants       By Alix Strauss                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/style/ter Terry Castro 50 Rebel Who Created Exquisite
2022-08-04   2022-08-07 ry-castro-dead.html                          Jewelry                                     By Alex Williams               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/article/alex-jones- What to Know About the Cases Against the
2022-08-04   2022-08-07 trial.html                                   Host of Infowars                            By Daniel Victor               TX 9-207-887   2022-10-14

                        https://www.nytimes.com/interactive/2022/08/ From a Queens House to a Manhattan Studio
2022-08-04   2022-08-07 04/realestate/04hunt-chatterjee.html          With 400000 Which One Did They Choose By Joyce Cohen                    TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/04/us/whit
2022-08-05   2022-08-07 e-house-lightning.html                        Lightning Hit Kills Three In Capital       By McKenna Oxenden           TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/arts/mu
2022-08-05   2022-08-07 sic/american-classical-music-festivals.html   On the Road for Soundscapes and Scenery    By David Allen               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/arts/tele
                        vision/a-league-of-their-own-abbi-
2022-08-05   2022-08-07 jacobson.html                                 She Swings for the Fences                  By Alexis Soloski            TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/books/r
                        eview/rhett-miller-dan-santat-the-baby-
                        changing-station-patricia-maclachlan-my-life-
2022-08-05   2022-08-07 begins.html                                   I Wanted a Puppy                           By Abby Hanlon               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/books/r
2022-08-05   2022-08-07 eview/shy-mary-rodgers.html                   Broadway Baby                              By Daniel Okrent             TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/busines
2022-08-05   2022-08-07 s/inflation-investing-paul-volcker.html       The Long and Short of the Volcker Era      By Jeff Sommer               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/health/l Leon E Rosenberg 89 Geneticist Who Spoke
2022-08-05   2022-08-07 eon-e-rosenberg-dead.html                     of His Depression Dies                     By Clay Risen                TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/magazi
2022-08-05   2022-08-07 ne/shadow-of-truth-tair-rada.html             True Crime and Punishment                  By Ruth Margalit             TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/nyregio
2022-08-05   2022-08-07 n/community-concerts-don-shirley.html         They Brought Classical Music to the People By David Margolick           TX 9-207-887     2022-10-14



                                                                               Page 4092 of 5793
                        https://www.nytimes.com/2022/08/05/nyregio As Tourists Smile Neighbors Gnash Their
2022-08-05   2022-08-07 n/tourism-nyc-instagram.html                 Teeth                                       By Ginia Bellafante           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/opinion They Were Sure Their High School Made
2022-08-05   2022-08-07 /cancer-cluster-colonia-woodbridge.html      Them Sick                                   By Marion Renault             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/opinion
2022-08-05   2022-08-07 /inflation-declining-gas-prices.html         The Meaning of Falling Inflation            By Paul Krugman               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/opinion
2022-08-05   2022-08-07 /the-case-for-longtermism.html               The Case for Longtermism                    By William MacAskill          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/realesta
                        te/jim-steinman-meat-loaf-connecticut-house-
2022-08-05   2022-08-07 sale.html                                    A Sanctuary Built by Rock n Roll            By Joyce Cohen                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/sports/s A Strange Season Split in Two Parts By the
2022-08-05   2022-08-07 occer/premier-league-preview.html            World Cup                                   By Rory Smith                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/style/all
                        ison-lyn-mollenkamp-william-james-mccrary- Joining a Theater Club Set the Stage for
2022-08-05   2022-08-07 wedding.html                                 Romance                                     By Sadiba Hasan               TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/05/style/br Fourteen Years Later They Finally
2022-08-05   2022-08-07 andi-broxson-francisco-garcia-wedding.html Fortunately Wed                               By Rachel Sherman             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/style/kr
2022-08-05   2022-08-07 isten-sanders-april-hill-wedding.html       A Game of Thrones Vibe for Tying the Knot    By Jenny Block                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/style/ky
2022-08-05   2022-08-07 lie-minogue.html                            Kylie Minogue Mixologist                     By Alexis Soloski             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/style/m
2022-08-05   2022-08-07 odern-love-orthodox-jewish-gay.html         Please God Help Me Stop Missing Her          By Sara Glass                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/style/ra
2022-08-05   2022-08-07 ja-kumari-india-record-label.html           Bilingual Rap Beats For Her Own Label        By Alisha Haridasani Gupta    TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/05/style/st After a Date at Popeyes Marriage Was on the
2022-08-05   2022-08-07 evenson-boyce-sharhea-wade-wedding.html Menu                                            By Nina Reyes                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/technol AI Does Not Have Thoughts No Matter What
2022-08-05   2022-08-07 ogy/ai-sentient-google.html                 You Think                                   By Cade Metz                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/us/kent 3 Downpours in 8 Days How Extreme Rain
2022-08-05   2022-08-07 ucky-missouri-illinois-rain-flooding.html   Soaked the Midwest                          By Amanda Holpuch              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/us/deat
2022-08-06   2022-08-07 h-valley-flooding-california.html           Flooding Strands 1000 at Death Valley Park By Isabella Grulln Paz          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/busines
2022-08-06   2022-08-07 s/economy/economy-jobs-inflation.html       Free Spending Plenty of Jobs A Shaky Boom By Ben Casselman                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/busines Indianas New Abortion Law Draws Ire of
2022-08-06   2022-08-07 s/indiana-companies-abortion.html           Major Employers                             By Lora Kelley                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/busines                                              By Jack Nicas Ana Lankes and
2022-08-06   2022-08-07 s/inflation-argentina.html                  Think 9 Inflation Is Bad Try 90             Sebastin Lpez Brach            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/health/ Theres Just One Drug to Treat Monkeypox
2022-08-06   2022-08-07 monkeypox-treatment-tpoxx.html              Good Luck Getting It                        By Apoorva Mandavilli          TX 9-207-887   2022-10-14




                                                                                 Page 4093 of 5793
                        https://www.nytimes.com/2022/08/06/nyregio
2022-08-06   2022-08-07 n/food-banks-nyc.html                       A Food Bank Powered by Food Snobs             By Tammy La Gorce               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/nyregio New Yorks Plan to Keep Rats Out and Trash
2022-08-06   2022-08-07 n/new-york-city-garbage-containers.html     In                                            By Dodai Stewart                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/opinion
2022-08-06   2022-08-07 /abortion-kansas-politics.html              The New Politics of Abortion                  By Ross Douthat                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/opinion
2022-08-06   2022-08-07 /biden-re-election-2024.html                Hey Joe Dont Give It a Go                     By Maureen Dowd                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/opinion The US Relationship With China Does Not
2022-08-06   2022-08-07 /pelosi-taiwan-biden-china-policy.html      Need to be So Tense                           By The Editorial Board          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/opinion Young Workers Shouldnt Stay Remote
2022-08-06   2022-08-07 /return-to-the-office-remote-hybrid.html    Forever                                       By Edith Cooper                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/realesta Can I Add My Partner to the Lease Of My
2022-08-06   2022-08-07 te/adding-partner-to-a-lease.html           RentStabilized Apartment                      By Anna Kod                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/sports/b Baseball Is Buying In On the Digital Age But
2022-08-06   2022-08-07 aseball/pitchcom-sign-stealing.html         at What Cost                                  By Scott Miller                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/style/fu
2022-08-06   2022-08-07 rniture-miller-knoll.html                   Works Changed So Must Its Designs             By Brett Berk                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/technol Jones Got His Comeuppance but Dont Expect
2022-08-06   2022-08-07 ogy/alex-jones-conspiracy-theories.html     an End to the Lies                            By Kevin Roose                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/us/musl New Mexico Police Suspect Muslim Killings
2022-08-06   2022-08-07 im-men-killings-new-mexico.html             Are Linked                                    By Ava Sasani and Vimal Patel   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/us/polit Biden Tests Clear of Covid But Will Stay In
2022-08-06   2022-08-07 ics/biden-covid-negative.html               Isolation                                     By Peter Baker                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/us/polit Big Climate Bill Clears Crucial Senate Hurdle
2022-08-06   2022-08-07 ics/climate-tax-bill-senate.html            Paving Path to Passage                        By Emily Cochrane               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/us/polit Democrats Are Proposing a Major Shift In
2022-08-06   2022-08-07 ics/corporate-minimum-tax.html              the Way US Corporations Are Taxed             By Alan Rappeport               TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/06/us/polit In Senate Races Bidens Standing Tests        By Shane Goldmacher and Maggie
2022-08-06   2022-08-07 ics/democratic-senate-candidates-biden.html Democrats                                    Haberman                       TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/06/us/polit Black Officer With 4 Stars Marks First For
2022-08-06   2022-08-07 ics/michael-langley-marine-four-stars.html  Marines                                      By Helene Cooper                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/us/polit New Inoculation Strategy May Stretch         By Sharon LaFraniere and Noah
2022-08-06   2022-08-07 ics/monkeypox-vaccination-strategy.html     Monkeypox Vaccine Supply                     Weiland                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/us/roe- With Roe Gone a Safe Alternative for
2022-08-06   2022-08-07 safe-haven-laws-newborns.html               Desperate Mothers                            By Dana Goldstein                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/world/a The Fight to Lead Kenya Hustler Nation vs     By Declan Walsh and Abdi Latif
2022-08-06   2022-08-07 frica/kenya-election.html                   Scions                                       Dahir                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/world/a
                        mericas/francia-marquez-colombia-vp-        An AfroColombian Aesthetic Rises to the
2022-08-06   2022-08-07 style.html                                  Presidential Palace                          By Julie Turkewitz               TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/06/world/a Blinken and Marcos Vow To Strengthen
2022-08-06   2022-08-07 sia/blinken-philippines-us-asia-tensions.html Alliance                                   By Edward Wong                   TX 9-207-887   2022-10-14



                                                                                 Page 4094 of 5793
                        https://www.nytimes.com/2022/08/06/world/a Chinese Shows of Force Serve Both
2022-08-06   2022-08-07 sia/china-exercises-taiwan.html            Propaganda and Military Roles               By Vivian Wang                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/world/a Xi Builds Security Fortress for China and   By Chris Buckley and Steven Lee
2022-08-06   2022-08-07 sia/xi-jinping-china-security.html         Himself                                     Myers                             TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/06/world/e
2022-08-06   2022-08-07 urope/london-trellick-tower-development.html Iconic Tower in London Not That One Abides By Saskia Solomon                TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/06/world/e Fighting Near Nuclear Plant Held by Russians
2022-08-06   2022-08-07 urope/russia-ukraine-war-nuclear-plant.html Raises Safety Fears                         By Andrew E Kramer               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/world/e Gravely Ill 12YearOld Dies in Britain After
2022-08-06   2022-08-07 urope/uk-archie-battersbee-dies.html         Life Support Is Withdrawn                  By Emma Bubola                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/world/ Death Toll Rises to at Least 24 as IsraelGaza By Patrick Kingsley and Isabel
2022-08-06   2022-08-07 middleeast/fighting-israel-gaza.html         Violence Flares Again                      Kershner                         TX 9-207-887   2022-10-14
                                                                                                                By Rick Rojas Edgar Sandoval
                        https://www.nytimes.com/interactive/2022/08/                                            Emily Rhyne Tamir Kalifa and
2022-08-06   2022-08-07 06/us/uvalde-funerals.html                   The Excruciating Echo of Grief in Uvalde   Callaghan OHare                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/busines
2022-08-07   2022-08-07 s/the-week-in-business-job-growth.html       The Week in Business Blistering Job Growth By Marie Solis                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/reader-
2022-08-07   2022-08-07 center/a-revolution-behind-the-curtain.html A Revolution Behind the Curtain             By Callie Holtermann             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/style/ch
2022-08-07   2022-08-07 ecking-out-the-crowd.html                    Checking Out The Crowds                    By Denny Lee                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/us/polit Catholic Faith Makes Abortion Tricky for
2022-08-07   2022-08-07 ics/biden-abortion-catholic-history.html     Biden                                      By Michael D Shear               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/25/travel/it In the Salento Your Answers Are Blowing in
2022-07-25   2022-08-08 aly-puglia-salento.html                      the Wind                                   By Ondine Cohane                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/29/us/hiki Here to Help Going Hiking Dont Forget These
2022-07-29   2022-08-08 ng-tips-national-parks.html                  Safety Tips                                By Derrick Bryson Taylor         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/movies/
2022-08-03   2022-08-08 rrr-ss-rajamouli.html                        How RRR Became A Smash In America          By Simon Abrams                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/technol
2022-08-03   2022-08-08 ogy/chinese-tech-ban.html                    Why the Ban on Chinese Tech Didnt Stick    By Shira Ovide                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/busines                                              By Lora Kelley and Nicholas
2022-08-04   2022-08-08 s/food-banks-inflation.html                  More Americans Are Going Hungry            Kulish                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/busines Japan Once Top in Chips Now Races to Catch
2022-08-04   2022-08-08 s/japan-semiconductors-chips.html            Up                                         By Ben Dooley and Hisako Ueno    TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/04/sports/c Worlds Climate Crisis Menaces a Global     By Jer Longman and Karan Deep
2022-08-04   2022-08-08 ricket/cricket-climate-change-sustainable.html Game                                    Singh                             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/arts/des
                        ign/isaac-julien-barnes-review-locke-barthe-
2022-08-05   2022-08-08 art.html                                       Complicating Patronage Of Black Art     By Arthur Lubow                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/arts/mu Mary Ellin Barrett 95 Daughter And Defender
2022-08-05   2022-08-08 sic/mary-ellin-barrett-dead.html               of Irving Berlin Dies                   By Alex Traub                     TX 9-207-887   2022-10-14



                                                                                 Page 4095 of 5793
                        https://www.nytimes.com/2022/08/05/busines Dee Hock Visionary Who Shaped Visa Into
2022-08-05   2022-08-08 s/dee-hock-dead.html                         Credit Leader Dies at 93                    By Richard Sandomir           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/busines
2022-08-05   2022-08-08 s/jacques-pepin-french-cars-cuisine.html     Reflections on French Cars and Cuisine      By Jamie Lincoln Kitman       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/busines
2022-08-05   2022-08-08 s/plug-in-hybrid-electric-cars.html          New Favor For Hybrids That Plug In          By Lawrence Ulrich            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/obituari Overlooked No More Alda Merini Poet Who
2022-08-05   2022-08-08 es/alda-merini-overlooked.html               Wrote of Lifes Joys and Struggles           By Ilaria Parogni             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/opinion For Alex Jones the Moment of Truth Matters
2022-08-05   2022-08-08 /alex-jones-trial.html                       Little                                      By Pamela Paul                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/travel/fl 20 Years at 30000 Feet Flight Attendant Has
2022-08-05   2022-08-08 ight-attendant-flying.html                   Answers                                     By Kristie Koerbel            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/arts/des
2022-08-06   2022-08-08 ign/documenta-antisemitism.html              Documenta Displays Art and a Chasm          By Alex Marshall              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/books/g
2022-08-06   2022-08-08 raywolf-press-carmen-gimenez.html            The Publisher Looking In Unexpected Places By Kate Dwyer                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/opinion
                        /black-panther-chadwick-boseman-
2022-08-06   2022-08-08 wakanda.html                                 Were Getting a New Black Panther Thats OK By Roxane Gay                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/us/alab
                        ama-police-department-dissolved-racist-      Police Force in Alabama City Is Dissolved
2022-08-06   2022-08-08 text.html                                    Over Racist Text                            By Amanda Holpuch             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/world/e
2022-08-06   2022-08-08 urope/ukraine-war-children-photos.html       For Children Of War A Time for Play         By Laura Boushnak             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/arts/mu
2022-08-07   2022-08-08 sic/bayreuth-ring-review.html                Wagners Ring Populated by Mortals           By Zachary Woolfe             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/climate
                        /manchin-schumer-pipeline-political-         A Pipeline Project Seemed Doomed Until
2022-08-07   2022-08-08 funding.html                                 Manchin Stepped In                          By Hiroko Tabuchi             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/climate                                               By Coral Davenport and Lisa
2022-08-07   2022-08-08 /senate-climate-law.html                     Urgent Response Is 5 Decades in Making      Friedman                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/crossw
2022-08-07   2022-08-08 ords/daily-puzzle-2022-08-08.html            A Puzzle Theme That Rewards All             By Rachel Fabi                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/health/a Women Choose Abortion by Pill As Barriers
2022-08-07   2022-08-08 bortion-self-managed-medication.html         Rise                                        By Roni Caryn Rabin           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/movies/ Clu Gulager 93 Diverse Character Actor of
2022-08-07   2022-08-08 clu-gulager-dead.html                        Film and TV                                 By Daniel E Slotnik           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/nyregio
                        n/spotted-lanternfly-invasion-new-york-      Taking Steps and Stomps To Rid New York
2022-08-07   2022-08-08 city.html                                    of a Pest                                   By Anne Barnard               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/opinion
2022-08-07   2022-08-08 /biden-win-inflation.html                    Bidens Remarkable Summer                    By Charles M Blow             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/opinion Why Is Ron Johnson Still a Competitive
2022-08-07   2022-08-08 /ron-johnson-wisconsin-senate.html           Candidate                                   By Michelle Cottle            TX 9-207-887   2022-10-14




                                                                                Page 4096 of 5793
                        https://www.nytimes.com/2022/08/07/sports/b
                        aseball/yankees-cardinals-frankie-           Yanks Lose 5th in Row As Their New
2022-08-07   2022-08-08 montas.html                                  Arrival Makes an Early Exit                By James Wagner                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/sports/f
                        ootball/demaryius-thomas-autopsy-            Seizures Led To Death Of ExStar For
2022-08-07   2022-08-08 seizure.html                                 Broncos                                    By Ken Belson                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/sports/l At 72 Still Obsessed With Finishing A
2022-08-07   2022-08-08 eadville-marge-hickman.html                  100Mile Foot Race in the Rockies           By Jared Beasley                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/sports/n They Starred for Bear Bryant at Alabama But
2022-08-07   2022-08-08 caafootball/alabama-football-cte.html        Football Would Take Its Toll               By Alan Blinder                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/theater/
2022-08-07   2022-08-08 diana-musical-defense.html                   In Defense of Diana And Its Sheer Audacity By Juan A Ramrez                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/us/musl Muslims in New Mexico Are Shaken by
2022-08-07   2022-08-08 im-killings-albuquerque.html                 Possible Targeted Killings                 By Neelam Bohra and Vimal Patel   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/us/polit
2022-08-07   2022-08-08 ics/biden-isolation-covid.html               Biden Emerges From His Covid Isolation     By Peter Baker                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/us/polit
2022-08-07   2022-08-08 ics/climate-tax-bill-passes-senate.html      Senate Vote Puts Climate Action In Reach   By Emily Cochrane                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/us/polit Cheney Ready To Lose a Race But Not a
2022-08-07   2022-08-08 ics/liz-cheney-trump-republicans.html        Fight                                      By Jonathan Martin                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/us/polit Schumer Gets Democrats A Badly Needed
2022-08-07   2022-08-08 ics/schumer-climate-tax-bill.html            Victory                                    By Carl Hulse                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/us/polit Junk Food and Caffeine Fuel Senate
2022-08-07   2022-08-08 ics/senate-vote-a-rama-democrats.html        AllNighter To Salvage Lefts Agenda         By Stephanie Lai                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/world/a A Jewel in the Crown of Corruption Bleeds
2022-08-07   2022-08-08 frica/kenya-election-train.html              Kenya                                      By Abdi Latif Dahir               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/world/a After Political Spat China Has Few Options By Chris Buckley Amy Chang
2022-08-07   2022-08-08 sia/china-taiwan-military-unification.html   for Seizing Taiwan                         Chien and John Liu                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/world/a Recalling an Earlier Era Of South Pacific
2022-08-07   2022-08-08 sia/guadalcanal-anniversary-kennedy.html     Conflict                                   By Damien Cave                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/world/a Forces Trade Blame After Rockets Strike
2022-08-07   2022-08-08 sia/nuclear-plant-ukraine-russia.html        Near Nuclear Power Plant                   By Vivian Yee                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/world/e
                        urope/amnesty-international-ukraine-russia- Human Rights Assessment Spurs Outrage in By Valerie Hopkins and Thomas
2022-08-07   2022-08-08 war-crimes.html                              Ukraine                                    GibbonsNeff                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/world/
                        middleeast/israel-palestinians-cease-fire-   Israel Claims Victory After Reaching       By Patrick Kingsley and Isabel
2022-08-07   2022-08-08 jihad.html                                   CeaseFire With Gaza Militia                Kershner                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/arts/tele
                        vision/whats-on-tv-this-week-the-princess-
2022-08-08   2022-08-08 and-password.html                            This Week on TV                            By Shivani Gonzalez               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/busines As Wealthy Keep Spending Inflation Has       By Jeanna Smialek and Ben
2022-08-08   2022-08-08 s/economy/inflation-jobs-economy.html        Americas Poor on Edge                      Casselman                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/nyregio Along a 31Mile Subway Line the City Feels
2022-08-08   2022-08-08 n/subway-crime-ridership-nyc.html            Adrift                                     By Ali Watkins                    TX 9-207-887   2022-10-14



                                                                               Page 4097 of 5793
                        https://www.nytimes.com/2022/08/08/sports/b Two Brilliant Careers but One Was Out of the
2022-08-08   2022-08-08 asketball/sylvia-fowles-wnba-retiring.html  Limelight                                    By Kurt Streeter                TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/07/26/well/eat
2022-07-26   2022-08-09 /skittles-lawsuit-titanium-dioxide.html     Food Additive Feeds Discussion on Safety     By Rachel Rabkin Peachman       TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/07/27/well/m
2022-07-27   2022-08-09 ove/stand-up-paddleboarding.html            A Guide to StandUp Paddling                  By Colleen Stinchcombe          TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/07/28/science
2022-07-28   2022-08-09 /pollination-algae-crustacean.html          Birds Do It Bees Do It Idotea Balthica Do It By Annie Roth                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/07/29/well/mi
2022-07-29   2022-08-09 nd/medical-gaslighting.html                 Stand Up for Yourself At the Doctors Office By Christina Caron               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/02/well/mi
2022-08-02   2022-08-09 nd/vitamin-b6-benefits.html                 Does Vitamin B6 Boost Mental Health          By Hannah Seo                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/03/science
2022-08-03   2022-08-09 /utah-footprints-tracks.html                Footprints Suggest More May Cover West       By Jeanne Timmons               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/04/science
2022-08-04   2022-08-09 /cartwheel-galaxy-webb-telescope.html       Getting a Better Look at a Faraway Curiosity By Anastasia Marks              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/04/science
2022-08-04   2022-08-09 /loch-ness-monster.html                     Fossils Tantalize Loch Ness Monster Fans     By Jenny Gross                  TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/04/travel/h Oslo Not Rome How Heat Waves Are
2022-08-04   2022-08-09 eat-wave-europe.html                        Altering Tourism in Europe                   By Paige McClanahan             TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/books/r Ronald J Sider 82 Urged Evangelicals to
2022-08-05   2022-08-09 onald-j-sider-dead.html                     Social Action                                By Neil Genzlinger              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/05/movies/
2022-08-05   2022-08-09 amber-midthunder-prey.html                  Shes a New Kind of Action Hero               By Nicolas Rapold               TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/05/science
2022-08-05   2022-08-09 /cricket-embryos-biology-development.html Tiny Dancers                                    By Siobhan Roberts               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/science
2022-08-05   2022-08-09 /korea-moon-danuri.html                      South Korea Is Scouting the Moon             By Kenneth Chang                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/arts/sid- Sid Jacobson 92 Writer Of Comics That
2022-08-06   2022-08-09 jacobson-dead.html                           Ranged From Fanciful to Frightful            By George Gene Gustines          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/nyregio
                        n/gofundme-scam-mark-damico-                 Man Sentenced to 5 Years In GoFundMe
2022-08-07   2022-08-09 sentenced.html                               Fraud Case                                   By Vimal Patel                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/us/polit Climate Tax and Care Bill Would Favor         By Emily Cochrane and Lisa
2022-08-07   2022-08-09 ics/climate-tax-health-care-bill.html        Renewables And Reduce Cost of Drugs          Friedman                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/us/polit
                        ics/democrats-climate-health-tax-            Path of a Shrunken Bill From Grand Ideals to
2022-08-07   2022-08-09 package.html                                 Compromise                                   By Emily Cochrane                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/arts/ber Bert Fields Hollywood Stars Lawyer Who
2022-08-08   2022-08-09 t-fields-dead.html                           Shared Their Lifestyle Dies at 93            By Joseph Berger                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/arts/des
                        ign/antiquities-looting-warrant-georges-
2022-08-08   2022-08-09 lofti.html                                   Suspicion Flips Onto Onetime Art Tipster     By Julia Jacobs and Tom Mashberg TX 9-207-887   2022-10-14




                                                                                Page 4098 of 5793
                        https://www.nytimes.com/2022/08/08/arts/mu
2022-08-08   2022-08-09 sic/beyonce-renaissance-billboard-chart.html Beyoncs Renaissance Dominates the Charts By Ben Sisario                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/arts/mu
2022-08-08   2022-08-09 sic/mostly-mozart-festival-orchestra.html    When Classical Goes Casual                By Oussama Zahr                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/arts/oli Olivia NewtonJohn an Honestly Loved Singer
2022-08-08   2022-08-09 via-newton-john-dead.html                    and Grease Star Dies at 73                By Jim Farber                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/books/d David McCullough Spellbinding Author on
2022-08-08   2022-08-09 avid-mccullough-dead.html                    Americas Past Is Dead at 89               By Daniel Lewis                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/books/r
2022-08-08   2022-08-09 eview-nineteen-reservoirs-lucy-sante.html    Municipal Water Spun Like an Urban Tale   By Dwight Garner                TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/08/busines Lobbyists Blitz Senate And Dilute A New
2022-08-08   2022-08-09 s/corporate-minimum-tax-private-equity.html Tax                                        By Alan Rappeport               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/busines
                        s/energy-environment/electric-vehicles-     Electric Vehicles Remain Costly for Many
2022-08-08   2022-08-09 climate-bill.html                           Despite Aid in Climate Bill                By Jack Ewing                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/busines
2022-08-08   2022-08-09 s/media/axios-cox-enterprises.html          Sale to Cox Said to Raise Axioss Value     By Benjamin Mullin              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/busines
2022-08-08   2022-08-09 s/softbank-vision-funds-loss.html           SoftBank Retrenches After Loss             By Ben Dooley                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/busines People Flock to South Korean Crypto Event
2022-08-08   2022-08-09 s/south-korea-crypto.html                   Despite Upheaval in the Sector             By Jin Yu Young                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/movies/
2022-08-08   2022-08-09 teenage-mutant-ninja-turtles-history.html   How They Stayed Lean Green and Mean        By Calum Marsh                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/nyregio
2022-08-08   2022-08-09 n/inflation-nyc.html                        375 Scoop Inflation Hits City              By Nicole Hong                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/nyregio ExEmployees Lawsuits Paint a Harsh Portrait By Colin Moynihan and Jonah E
2022-08-08   2022-08-09 n/project-veritas-employees-lawsuits.html   of Project Veritas                         Bromwich                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/opinion
2022-08-08   2022-08-09 /aronowitz-bad-sex-book.html                When Sexual Liberation Is Oppressive       By Michelle Goldberg            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/opinion Bolsonaro Has Many Good Reasons to Fear
2022-08-08   2022-08-09 /bolsonaro-brazil-prison-election.html      That Prison Is in His Future               By Vanessa Barbara              TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/08/opinion We Will All End Up Paying for Someone
2022-08-08   2022-08-09 /climate-change-beach-house-erosion.html    Elses Beach House                           By Francis Wilkinson           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/opinion
2022-08-08   2022-08-09 /climate-inflation-bill.html                Did Democrats Just Save Civilization        By Paul Krugman                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/science Battlefield From 1777 Yields Bones And
2022-08-08   2022-08-09 /archaeology-red-bank-battle-hessian.html   Memories                                    By Zach Zorich                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/sports/b On Day Celebrating the Past Rose Refuses to
2022-08-08   2022-08-09 aseball/pete-rose-phillies.html             Revisit a Part of It                        By Victor Mather               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/sports/b WNBA Enters Final Week With Only One
2022-08-08   2022-08-09 asketball/wnba-playoff-race.html            Team Out of Playoff Hunt                    By Sara Ziegler                TX 9-207-887   2022-10-14




                                                                                Page 4099 of 5793
                        https://www.nytimes.com/2022/08/08/sports/c A Battle for Chess Supremacy And a         By Misha Friedman and Victor
2022-08-08   2022-08-09 hess-olympiad-india-magnus-carlsen.html     RussiaUkraine Story Line                   Mather                            TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/08/sports/o Ukrainian Gold Medalist Is Shunned For
2022-08-08   2022-08-09 lympics/viktor-petrenko-ukraine-skater.html Performing in Ice Show in Sochi              By Jer Longman                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/sports/u Russian and Belarusian Players Sought for an
2022-08-08   2022-08-09 s-open-tennis-ukraine.html                  Event to Aid Ukraine                         By Matthew Futterman              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/technol
                        ogy/treasury-blacklist-crypto-tornado-cash- Treasury Bans Crypto Platform Over Money
2022-08-08   2022-08-09 laundering.html                             Laundering                                   By David YaffeBellany             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/theater/
2022-08-08   2022-08-09 the-devil-wears-prada-review.html           A Musical That Isnt Quite Ready to Wear      By Alexis Soloski                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/us/arbe Two of Arberys Killers Get Federal Life
2022-08-08   2022-08-09 ry-killer-sentencing.html                   Sentences Third Gets 35 Years                By Richard Fausset                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/us/elect
                        ions/gerrymandering-maps-elections-         Four States Will Use Congressional Maps
2022-08-08   2022-08-09 republicans.html                            Rejected by Courts Helping GOP Odds          By Michael Wines                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/us/polit Trove of Texts From Jones But None From By Luke Broadwater and Elizabeth
2022-08-08   2022-08-09 ics/alex-jones-text-messages.html           Jan 6                                        Williamson                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/us/polit Experts Call Description Of alZawahri a      By Carol Rosenberg and Charlie
2022-08-08   2022-08-09 ics/biden-al-zawahri-qaeda.html             Stretch                                      Savage                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/us/polit Biden Basks in String of Wins Will This Be a
2022-08-08   2022-08-09 ics/biden-climate-bill-agenda-covid.html    Turning Point                                By Peter Baker                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/us/polit Biden Tours Heartbreaking Kentucky Flood By Zolan KannoYoungs and
2022-08-08   2022-08-09 ics/biden-kentucky-floods.html              Damage                                       Christopher Flavelle              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/us/polit
                        ics/matthew-deperno-dana-nessel-            Michigan Officials Detail Voting Machine     By Nick Corasaniti Alan Feuer and
2022-08-08   2022-08-09 michigan.html                               Scheme by Trump Supporters                   Alexandra Berzon                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/us/polit Trump Lament to Aide Why Arent My
2022-08-08   2022-08-09 ics/trump-book-mark-milley.html             Generals Like Hitlers Book Says              By Michael D Shear                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/us/polit Trump Says FBI Searched Home In South        By Maggie Haberman Ben Protess
2022-08-08   2022-08-09 ics/trump-fbi-mar-a-lago.html               Florida                                      and Adam Goldman                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/us/polit Wisconsin GOP Voters Seek Lost Cause
2022-08-08   2022-08-09 ics/wisconsin-gop-2020-election.html        Decertification                              By Reid J Epstein                 TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/08/us/polit Before Wisconsin Primary Democrat Is
2022-08-08   2022-08-09 ics/wisconsin-primary-mandela-barnes.html Shifting Focus To Battle GOP Senator         By Jazmine Ulloa                  TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/08/world/a Chads Junta Makes Deal With Rebels but
2022-08-08   2022-08-09 frica/chad-rebels-ceasefire.html            Main Player Is Missing                     By Elian Peltier                  TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/08/world/a US Backs Democracy In Africa Where          By Edward Wong and Lynsey
2022-08-08   2022-08-09 frica/us-policy-africa-blinken.html         Rivals Have Extended Grasp                 Chutel                            TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/08/world/a To Free Her Husband an Activist Gets Loud   By Amy Qin and Amy Chang
2022-08-08   2022-08-09 sia/taiwan-china-activist.html              With Beijing                               Chien                             TX 9-207-887     2022-10-14




                                                                                Page 4100 of 5793
                        https://www.nytimes.com/2022/08/08/world/e StripSearches of Children by the London
2022-08-08   2022-08-09 urope/london-police-strip-search-minors.html Police Are Called Deeply Concerning     By Isabella Kwai                    TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/08/world/e In WarTorn Mykolaiv Ukrainians Search for
2022-08-08   2022-08-09 urope/ukraine-mykolaiv-informers.html        Informers Is Deemed a Success           By Michael Schwirtz                 TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/08/world/e We Have Reached a Situation of Parity in the By Andrew E Kramer and David
2022-08-08   2022-08-09 urope/ukraine-russia-fighting-south-east.html East Ukraine Says                           Guttenfelder                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/world/e When the Smell of Death in a Mass Grave
2022-08-08   2022-08-09 urope/ukraine-war-funeral-death.html           Follows You Home                           By Natalia Yermak                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/world/ Grim Conditions for Egypts Political
2022-08-08   2022-08-09 middleeast/egypts-prisons-conditions.html      Prisoners Bring Slow Death                 By Vivian Yee                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/world/
                        middleeast/gaza-hamas-israel-islamic-          A Gaza Battle but Hamas Holds Fire This
2022-08-08   2022-08-09 jihad.html                                     Time                                       By Patrick Kingsley              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/world/ After ThreeDay Conflict In Gaza CeaseFire
2022-08-08   2022-08-09 middleeast/israel-gaza-cease-fire.html         Holds                                      By Isabel Kershner               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/article/china-taiwan-A Drumbeat of Pressure On Taiwan
2022-08-08   2022-08-09 explained.html                                 Explained                                  By Tiffany May and Mike Ives     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/us/polit New Monkeypox Shot Method Said to Be          By Sharon LaFraniere and Noah
2022-08-09   2022-08-09 ics/monkeypox-vaccine.html                     Planned                                    Weiland                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/health/
2022-08-09   2022-08-09 diabetes-cure-type-1.html                      The Long Long Wait for a Diabetes Cure     By Andrew Jacobs                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/insider/
                        for-an-article-on-ice-mermaids-taking-the-
2022-08-09   2022-08-09 very-cold-plunge.html                          A Photojournalist Takes a Cold Plunge      By Greta Rybus                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/nyregio Faith in Adams Starts to Waver In Anxious
2022-08-09   2022-08-09 n/eric-adams-nyc.html                          City                                       By Emma G Fitzsimmons            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/live/2022/08/09/us/
                        election-wisconsin-primary-
                        minnesota/wisconsin-primary-minnesota-         Governor Hopefuls Open Seats and a Special
2022-08-09   2022-08-09 vermont                                        Election                                   By Jonathan Weisman              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/dining/
2022-08-04   2022-08-10 drinks/wine-bottles-climate-change.html        The Problem With Wine Bottles              By Eric Asimov                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/arts/mu
                        sic/playlist-carly-rae-jepsen-dj-khaled-drake-                                            By Jon Caramanica and Lindsay
2022-08-05   2022-08-10 lil-baby.html                                  Beach House And More New Tracks            Zoladz                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/dining/
2022-08-05   2022-08-10 slow-cooked-lamb-recipe-summer.html            SlowCooked Lamb Can Take the Heat          By David Tanis                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/arts/des
2022-08-08   2022-08-10 ign/ukraine-museums-art-protection.html        The Bubble Wrap Brigade                    By Jason Farago                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/arts/us- US to Return 30 Looted Antiquities to
2022-08-08   2022-08-10 cambodia-looted-antiquities.html               Cambodia                                   By Julia Jacobs and Tom Mashberg TX 9-207-887   2022-10-14




                                                                                Page 4101 of 5793
                        https://www.nytimes.com/2022/08/08/busines
                        s/supply-chain-federal-maritime-
2022-08-08   2022-08-10 commission.html                             Global Shipping Is in Chaos Who Can Fix It By Peter S Goodman                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/dining/ To Honor Paid Apprenticeships Via a Saxelby
2022-08-08   2022-08-10 anne-saxelby-legacy-fund-benefit.html       Fund                                        By Christina Morales              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/dining/
2022-08-08   2022-08-10 best-smores-recipe.html                     Endless Ways to Make a Gooey Mess           By Tanya Sichynsky                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/dining/
                        cheers-virginia-museum-of-history-
2022-08-08   2022-08-10 culture.html                                To Visit On a Boozy Tour Through History By Florence Fabricant                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/dining/
2022-08-08   2022-08-10 mexican-pizza.html                          Mexican Pizza Comes Into Its Own            By Regan Stephens                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/dining/ To Observe A Choice of Mooncakes In Time
2022-08-08   2022-08-10 mooncakes-mid-autumn-festival.html          for a Festival                              By Florence Fabricant             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/dining/ To Spread Murrays Cheese Shop Finds an
2022-08-08   2022-08-10 murrays-cheese-cossanella.html              Italian Treasure                            By Florence Fabricant             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/dining/ To Shop East Village Bakery Has a Familiar
2022-08-08   2022-08-10 smor-bakery-east-village.html               Feel                                        By Florence Fabricant             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/dining/t
2022-08-08   2022-08-10 itos-vodka-charity.html                     To Fill Just Try to Contain Your Enthusiasm By Florence Fabricant             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/nyregio As Citys Unkept Promises Pile Up A Goal of
2022-08-08   2022-08-10 n/compost-nyc-waste-pickup.html             No Drama Composting                         By Anne Barnard                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/opinion
2022-08-08   2022-08-10 /teachers-guns-schools.html                 Dont Give Me a Gun to Protect My Students By Beth Ann Fennelly                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/world/a At Least Nine Die in Seoul As Flooding
2022-08-09   2022-08-10 sia/seoul-floods-south-korea.html           Ravages City                                By Choe SangHun                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/arts/mu Lamont Dozier Writer For Supremes Four
2022-08-09   2022-08-10 sic/lamont-dozier-dead.html                 Tops And Vandellas Dies at 81               By Gavin Edwards                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/arts/mu
2022-08-09   2022-08-10 sic/mija-documentary.html                   Grounded by Family Reaching for the Skies By Kalia Richardson                 TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/09/arts/mu
2022-08-09   2022-08-10 sic/olivia-newton-john-grease-physical.html Her Headband Was a Crown                     By Wesley Morris                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/books/r
2022-08-09   2022-08-10 eview-retail-gangster-gary-weiss.html       Keep Yelling Im Hustling as Fast as I Can    By Alexandra Jacobs              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/busines Firm With Ties to Oligarch Is Under Federal   By Matthew Goldstein and David
2022-08-09   2022-08-10 s/abramovich-concord-sec-fbi.html           Scrutiny                                     Enrich                           TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/09/busines
2022-08-09   2022-08-10 s/china-xi-jinping-united-states-taiwan.html Chinas Confidence Can Be Cockiness          By Li Yuan                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/busines Chipotle to Pay 20 Million To Settle
2022-08-09   2022-08-10 s/economy/chipotle-labor-nyc.html            Workplace Case                              By Noam Scheiber                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/busines Euro Pacific to Liquidate in Deal With Puerto
2022-08-09   2022-08-10 s/euro-pacific-peter-schiff.html             Rico                                        By Frances Robles                TX 9-207-887   2022-10-14




                                                                                Page 4102 of 5793
                        https://www.nytimes.com/2022/08/09/busines Russia Halts Oil Deliveries to 3 Countries in
2022-08-09   2022-08-10 s/russian-oil-druzhba-pipeline.html              Central Europe                                By Melissa Eddy                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/busines                                                     By Joe Rennison and Isabella
2022-08-09   2022-08-10 s/stocks-rates-inflation.html                    Investors Bet That Inflation Has Hit Peak     Simonetti                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/busines Walmart Explores Deal With Streaming                By Benjamin Mullin and Brooks
2022-08-09   2022-08-10 s/walmart-streaming.html                         Services                                      Barnes                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/dining/l
2022-08-09   2022-08-10 e-gratin-restaurant-review-pete-wells.html       No Signs of Lyon Still Take a Seat            By Pete Wells                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/dining/ Sandros From a Restaurant Veteran Opens on
2022-08-09   2022-08-10 nyc-restaurant-news.html                         the Upper East Side                           By Florence Fabricant           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/fashion Issey Miyake Whose RazorSharp Pleats                By Elaine Louie and Elizabeth
2022-08-09   2022-08-10 /issey-miyake-dead.html                          Reshaped Fashion Dies at 84                   Paton                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/nyregio
                        n/criminal-background-checks-nyc-                New York City May Ban Tenant Criminal
2022-08-09   2022-08-10 housing.html                                     Screening                                     By Mihir Zaveri                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/nyregio Reaction by Conservatives Uses Rhetoric of
2022-08-09   2022-08-10 n/fbi-search-violent-rhetoric.html               Violence                                      By Alan Feuer                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/nyregio
                        n/guns-hospital-employee-threat-new-             Employee Kept Cache of Guns and
2022-08-09   2022-08-10 jersey.html                                      Ammunition in Closet at New Jersey Hospital By Ed Shanahan                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/nyregio Queens Man Arrested After Swimming in
2022-08-09   2022-08-10 n/rockaway-beach-arrest.html                     OffLimits Area of Rockaway Beach              By Hurubie Meko                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/opinion Chinese No Longer Recognize the America
2022-08-09   2022-08-10 /china-us-relations.html                         We Once Admired                               By Wang Wen                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/opinion
                        /guatemalas-corrupt-officials-train-their-sights
2022-08-09   2022-08-10 on-the-press.html                                Guatemalas Corrupt Officials Target the Press By Francisco Goldman            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/opinion The Lawless GOP Response to the Raid at
2022-08-09   2022-08-10 /trump-mar-a-lago-raid-republicans.html          MaraLago                                      By Caroline Fredrickson         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/sports/b Yankees Win Comes With a Loss as
2022-08-09   2022-08-10 aseball/matt-carpenter-yankees.html              Carpenter Is Hurt                             By Benjamin Hoffman             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/sports/g Judge Denies LIV Golfers Bid for PGA
2022-08-09   2022-08-10 olf/liv-pga-federal-court-ruling.html            Playoffs                                      By Alan Blinder                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/sports/t Embracing Motherhood As Part of Her
2022-08-09   2022-08-10 ennis/serena-williams-motherhood.html            Journey In Tennis and Beyond                  By Talya Minsberg               TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/09/sports/t
2022-08-09   2022-08-10 ennis/serena-williams-retirement-legacy.html Whatever She Did She Did It Her Way          By Christopher Clarey                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/sports/t
2022-08-09   2022-08-10 ennis/serena-williams-retirement.html        Greatness Takes a Bow                        By Matthew Futterman                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/sports/t
2022-08-09   2022-08-10 ennis/serena-williams-retiring-tennis.html   Retiring It Doesnt Seem to Be the Right Word By Kurt Streeter                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/technol Coinbase Reports a 63 Percent Drop in
2022-08-09   2022-08-10 ogy/coinbase-earnings.html                   Revenue                                      By David YaffeBellany                TX 9-207-887   2022-10-14




                                                                                   Page 4103 of 5793
                        https://www.nytimes.com/2022/08/09/technol
                        ogy/twitter-saudi-arabia-spying-ahmad-      ExTwitter Employee Convicted of SpyRelated
2022-08-09   2022-08-10 abouammo.html                               Charges                                    By Kalley Huang and Kate Conger TX 9-207-887       2022-10-14
                        https://www.nytimes.com/2022/08/09/theater/
2022-08-09   2022-08-10 chase-mishkin-dead.html                     Chase Mishkin 85 Dame Edna Producer        By Richard Sandomir             TX 9-207-887       2022-10-14

                        https://www.nytimes.com/2022/08/09/theater/ From Off Broadway Theater To a Try at
2022-08-09   2022-08-10 daniella-topol-rattlestick-theater-nurse.html Nursing School                            By Michael Paulson              TX 9-207-887      2022-10-14
                                                                                                                By Simon Romero Neelam Bohra
                        https://www.nytimes.com/2022/08/09/us/albu                                              Nicholas BogelBurroughs and Ava
2022-08-09   2022-08-10 querque-muslim-killings.html                Suspect Detained In Muslim Deaths           Sasani                          TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/09/us/emm Grand Jury Doesnt Indict White Accuser In
2022-08-09   2022-08-10 ett-till-murder-grand-jury.html             Till Case                                    By Rick Rojas                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/us/giuli Giuliani Says He Cant Fly Judge Says Call an By Danny Hakim and Richard
2022-08-09   2022-08-10 ani-trump-georgia-investigation.html        Uber                                         Fausset                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/us/hami
2022-08-09   2022-08-10 lton-protests-christian-production.html     Hamilton Creators Protest Church Show        By Daniel Victor and Jesus Jimnez TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/us/polit Biden Signs Bill to Bolster US Computer
2022-08-09   2022-08-10 ics/biden-semiconductor-chips-china.html    Chip Industry                                By Zolan KannoYoungs              TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/09/us/polit With Deal in Hand Democrats Enter the Fall By Shane Goldmacher and Katie
2022-08-09   2022-08-10 ics/democrats-midterms-climate-tax-bill.html Armed With Some Hope                        Glueck                          TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/09/us/polit US Casts a Global Net as Its Seeks a Country
2022-08-09   2022-08-10 ics/guantanamo-prisoner-majid-khan.html      to Resettle a Qaeda Informant               By Carol Rosenberg              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/09/us/polit Final Nuclear Deal on Table for Iran and US By Michael Crowley Steven
2022-08-09   2022-08-10 ics/iran-nuclear-deal-eu.html                to Weigh                                    Erlanger and Farnaz Fassihi     TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/09/us/polit Biden Officials Change Injection Method to By Sharon LaFraniere and Joseph
2022-08-09   2022-08-10 ics/monkeypox-dosing-regimen.html            Conserve Doses of Monkeypox Vaccine         Goldstein                       TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/09/us/polit GOP Rallies Behind Trump Who Assumes          By Michael C Bender Shane
2022-08-09   2022-08-10 ics/republicans-defend-trump.html           Familiar Posture Victim                       Goldmacher and Maggie Haberman TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/09/us/polit
2022-08-09   2022-08-10 ics/trump-fbi-investigation.html            Can Trump Be Barred From the Presidency By Charlie Savage                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/us/polit Attorney General Stays Quiet as Critics Raise
2022-08-09   2022-08-10 ics/trump-garland-fbi.html                  the Volume                                    By Katie Benner and Glenn Thrush TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/us/polit Win for House in Fight for Trumps Tax
2022-08-09   2022-08-10 ics/trump-tax-returns-house-court.html      Returns                                       By Charlie Savage                TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/09/us/trum The Inquiries That the Former President Is
2022-08-09   2022-08-10 p-investigations-documents-georgia-ny.html Facing                                       By Annie Karni                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/09/world/a Election Ends in Kenya but the Political     By Declan Walsh and Abdi Latif
2022-08-09   2022-08-10 frica/kenya-election-results.html          Contest Is Far From Over                     Dahir                            TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/09/world/a Sierra Leone Laws Aim To Protect
2022-08-09   2022-08-10 frica/sierra-leone-land-environment.html   Environment                                  By Elian Peltier                 TX 9-207-887     2022-10-14




                                                                                 Page 4104 of 5793
                        https://www.nytimes.com/2022/08/09/world/a Amid Denials Torture by Police Persists in   By Steve Fisher and Maria
2022-08-09   2022-08-10 mericas/mexico-city-police-abuse.html      Mexico City                                  AbiHabib                           TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/09/world/e Explosions Rip Through Russian Base in
2022-08-09   2022-08-10 urope/crimea-explosions-russia-ukraine.html Crimea Killing One                           By Michael Schwirtz               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/world/e
2022-08-09   2022-08-10 urope/dominos-pizza-italy-closes.html        Dominos Bows Out Of Italy                   By Elisabetta Povoledo            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/world/e Italys Ukrainian Diaspora Finds Pride and
2022-08-09   2022-08-10 urope/italy-ukraine-war.html                 Patriotism                                  By Emma Bubola                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/world/e US Affirms NATO Entry For Sweden And
2022-08-09   2022-08-10 urope/sweden-finland-nato-biden.html         Finland                                     By Zolan KannoYoungs              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/world/e Temperatures Around UK Are Expected To
2022-08-09   2022-08-10 urope/uk-heat-wave.html                      Soar Again                                  By Derrick Bryson Taylor          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/world/ Signaling Closer Cooperation Russia            By Neil MacFarquhar Ronen
2022-08-09   2022-08-10 middleeast/russia-iran-launch-satellite.html Launches Iranian Surveillance Satellite     Bergman and Farnaz Fassihi        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/us/polit
2022-08-09   2022-08-10 ics/trump-fbi.html                           HighStakes Gamble in Divided Nation         By Michael D Shear                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/us/polit Paper Trail A Timeline Of Trump              By Zach Montague and Lauren
2022-08-09   2022-08-10 ics/trump-classified-records-timeline.html   Documents                                   McCarthy                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/interactive/2022/08/
                        09/dining/dinner-bill-restaurant-costs-      That Dinner Tab Has Soared Here Are All the
2022-08-09   2022-08-10 inflation.html                               Reasons                                     By Priya Krishna and Umi Syam     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/interactive/2022/08/
                        09/technology/ukraine-internet-russia-       How Russia Took Over Ukraines Internet in By Adam Satariano and Scott
2022-08-09   2022-08-10 censorship.html                              Occupied Territories                        Reinhard                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/us/polit
                        ics/becca-balint-wins-vermont-house-bernie- SandersBacked Candidate Wins and May
2022-08-10   2022-08-10 sanders.html                                 Break Barrier For Vermont in Congress       By Trip Gabriel                   TX 9-207-887   2022-10-14
                                                                                                                 By Maggie Haberman Ben Protess
                                                                                                                 Michael S Schmidt Luke
                        https://www.nytimes.com/2022/08/09/us/polit A Simmering Feud Peaks in a Search of        Broadwater and William K
2022-08-10   2022-08-10 ics/fbi-search-trump.html                    Trumps Home                                 Rashbaum                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/us/polit
                        ics/jaime-herrera-beutler-concedes-          Republican Who Voted to Impeach Trump
2022-08-10   2022-08-10 washington.html                              Loses in Washington Primary                 By Jazmine Ulloa                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/us/polit
                        ics/prescription-drugs-medicare-health-      In Health Bills Drug Provisions Peace of    By Sheryl Gay Stolberg and Noah
2022-08-10   2022-08-10 bill.html                                    Mind for Older People                       Weiland                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/dining/ Wake Up Weary Diner These Dishes Will
2022-08-12   2022-08-10 dishes-for-the-weary-diner.html              Delight You                                 By Nikita Richardson              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/18/well/eat
2022-07-18   2022-08-11 /teeth-decay-food-drinks.html                Here to Help How to Thwart Tooth Decay      By Hannah Seo                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/22/movies/
2022-07-22   2022-08-11 horror-movies-streaming.html                 Plenty of Scares From Around the World      By Erik Piepenburg                TX 9-207-887   2022-10-14




                                                                                 Page 4105 of 5793
                        https://www.nytimes.com/2022/08/03/style/ni
2022-08-03   2022-08-11 ck-viall.html                               A Former Bachelor Star Gets His Roses      By Anna Peele                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/world/e Christopher Meyer 78 Former UK
2022-08-07   2022-08-11 urope/christopher-meyer-dead.html           Ambassador to the US                       By Sam Roberts                  TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/08/opinion Exercise Was the Perfect Coping Mechanism
2022-08-08   2022-08-11 /exercise-depression-anxiety-trauma.html     Until It Brought On a New Kind of Pain   By Emi Nietfeld                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/style/ll-
2022-08-08   2022-08-11 bean-tote-monogram.html                      Toting a Good Sense of Humor             By Callie Holtermann             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/busines
                        s/russia-propaganda-spanish-social-          How Russia Exploits Web To Amplify Its   By Steven Lee Myers and Sheera
2022-08-09   2022-08-11 media.html                                   Influence                                Frenkel                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/dining/ Hungry After The Bear Good Luck Finding
2022-08-09   2022-08-11 hulu-the-bear-italian-beef-sandwich.html     That Sandwich                            By Rachel Sherman                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/movies/
2022-08-09   2022-08-11 jo-koy-easter-sunday.html                    Embracing All That He Knows              By Robert Ito                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/style/kn
2022-08-09   2022-08-11 otless-braids-hairstyle.html                 Hair Braiders See a Big Push for No Pull By Sandra E Garcia               TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/09/us/univ Penn Museum Grapples With How to Honor
2022-08-09   2022-08-11 ersity-pennsylvania-black-skulls-burial.html Skulls                                 By Remy Tumin                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/style/ly The Lycra Legacy of Olivia NewtonJohns
2022-08-10   2022-08-11 cra-olivia-newton-john-physical.html         Physical                               By Jessica Testa                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/us/polit In Race Defined by 2020 Grievances
2022-08-10   2022-08-11 ics/wisconsin-primary-election-trump.html    Wisconsin Voters Embrace Trump         By Reid J Epstein                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/arts/92 New Name and New Season At 92nd Street Y
2022-08-10   2022-08-11 nd-street-y-new-season.html                  New York                               By Rachel Sherman                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/arts/dan
2022-08-10   2022-08-11 ce/review-lifted-rennie-harris.html          Finding a Collective Groove in Church  By Gia Kourlas                     TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/10/arts/des How Ukraine War Changed A Museums
2022-08-10   2022-08-11 ign/kyiv-museum-ukraine-war-notebook.html View of Its Past                             By Jason Farago                 TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/10/books/i
2022-08-10   2022-08-11 f-nietzsche-were-a-narwhal-justin-gregg.html Sorry but Were Not as Smart as We Think   By Jennifer Szalai              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/books/r Raymond Briggs 88 Who Drew A Wordless
2022-08-10   2022-08-11 aymond-briggs-dead.html                      Snowman Is Dead                           By Jason M Bailey               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/busines Twitter in Mind Musk Has Sold About 7
2022-08-10   2022-08-11 s/dealbook/elon-musk-tesla-twitter.html      Billion In Tesla Shares                   By Lauren Hirsch                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/busines
2022-08-10   2022-08-11 s/disney-earnings-profit.html                Theme Parks Power Disney To Big Profit    By Brooks Barnes                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/busines Slowing Inflation Gives Consumers and       By Jeanna Smialek and Ana
2022-08-10   2022-08-11 s/economy/july-inflation-biden-fed.html      Biden A Hint at a Turnaround              Swanson                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/busines
2022-08-10   2022-08-11 s/ukrainian-citizens-work.html               Survival by Entrepreneurship              By Liz Alderman                 TX 9-207-887   2022-10-14



                                                                                Page 4106 of 5793
                        https://www.nytimes.com/2022/08/10/fashion
2022-08-10   2022-08-11 /clock-opera-house-dresden-germany.html    A stage clock that endures                  By David Belcher               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/fashion
                        /jewelry-watches-anna-maccieri-rossi-
2022-08-10   2022-08-11 italy.html                                 Designing jewelry that marks every second   By Amy Elliott                 TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/fashion
2022-08-10   2022-08-11 /trends/watches-eva-leube-switzerland.html A new design in the works                   By Alexandra Cheney            TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/10/fashion
2022-08-10   2022-08-11 /watches-alexandre-beauregard-montreal.html Beauty one petal at a time                 By Melanie Abrams              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/fashion
                        /watches-cryptocurrency-tag-heuer-
2022-08-10   2022-08-11 hublot.html                                 Brands keep the crypto faith               By Nazanin Lankarani           TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/fashion
2022-08-10   2022-08-11 /watches-handmade-straps-tokyo.html         On a wrist made by hand                    By Vivian Morelli              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/fashion
2022-08-10   2022-08-11 /watches-longines-straps.html               Two is better than one                     By Ming Liu                    TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/fashion
2022-08-10   2022-08-11 /watches-mellerio-dits-meller-paris.html    An old house creates a new watch           By Kathleen Beckett            TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/fashion
2022-08-10   2022-08-11 /watches-moonswatch-omega.html              MoonSwatch and the future                  By Robin Swithinbank           TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/fashion
2022-08-10   2022-08-11 /watches-patek-philippe-digital-tour.html   A digital watch exhibition                 By Kathleen Beckett            TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/fashion At auction three Rolexes with a lot of
2022-08-10   2022-08-11 /watches-rolex-paul-newman-auction.html     backstory                                  By Simon De Burton             TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/fashion
2022-08-10   2022-08-11 /watches-thefts-london-los-angeles.html     Nice to wear but too valuable to lose      By Rachel Felder               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/fashion
2022-08-10   2022-08-11 /watches-vinyl-records-collector.html       Devoted to watches and vinyl               By Victoria Gomelsky           TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/10/nyregio Adamss Adviser Gets Paid By City and         By William K Rashbaum Dana
2022-08-10   2022-08-11 n/adams-timothy-pearson-casino-salaries.html Queens Casino                              Rubinstein and Michael Rothfeld TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/nyregio
2022-08-10   2022-08-11 n/maloney-clinton-endorsement.html           Clinton Backs Incumbent in House Primary By Nicholas Fandos                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/nyregio
                        n/school-budget-cuts-new-york-city-          New York Can Reinstate City Schools Budget
2022-08-10   2022-08-11 appeal.html                                  Cuts                                       By Lola Fadulu                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/nyregio
                        n/trump-james-deposition-fifth-              Under Oath for Hours Trump Invokes the     By Jonah E Bromwich Ben Protess
2022-08-10   2022-08-11 amendment.html                               Fifth                                      and William K Rashbaum          TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/10/opinion
2022-08-10   2022-08-11 /military-bases-renaming-commission.html    Rejecting the Cult of the Confederacy      By Brent Staples               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/sports/b The Mets Make Their Case As New Yorks
2022-08-10   2022-08-11 aseball/mets-yankees.html                   Best Team                                  By Victor Mather               TX 9-207-887     2022-10-14



                                                                                 Page 4107 of 5793
                        https://www.nytimes.com/2022/08/10/sports/d
                        anny-rumph-classic-philadelphia-nba-tyrese-
2022-08-10   2022-08-11 maxey.html                                  Raising Awareness And Often the Roof        By Kris Rhim                     TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/sports/s With Tournament Three Months Away
2022-08-10   2022-08-11 occer/fifa-qatar-world-cup.html             Organizers Request Schedule Change          By Tariq Panja                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/sports/t Canada Bids Adieu to a Great Champion and
2022-08-10   2022-08-11 ennis/serena-williams-canadian-open.html    Everyone Wants In                           By Shawna Richer                 TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/style/fo Foundation Is Dead Embrace the Age of
2022-08-10   2022-08-11 undation-skin-self-acceptance.html          Imperfections                               By Kristen Bateman               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/style/ho
2022-08-10   2022-08-11 urly-rate-hotel-manhattan.html              A Risqu Vestige of Old New York             By Alex Vadukul                  TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/technol
2022-08-10   2022-08-11 ogy/us-computer-chips.html                  Leveling the Computer Chips Playing Field   By Shira Ovide                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/theater/
2022-08-10   2022-08-11 julia-lester-into-the-woods.html            To See Her Was To Cast Her                  By Robin Pogrebin                TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/10/travel/ Apps Can Turn Seaside Vacation Into
2022-08-10   2022-08-11 maritime-apps.html                          Opportunity for Discovery                   By Stephanie Rosenbloom          TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/10/us/albu Afghan Man Charged In Killing of 2 Muslims By Ava Sasani Nicholas
2022-08-10   2022-08-11 querque-killings.html                        Was Accused in Fights                        BogelBurroughs and Miriam Jordan TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/us/gretc Prosecutors Trying for Second Time to Prove
2022-08-10   2022-08-11 hen-whitmer-kidnapping-retrial.html          Plot to Kidnap Michigans Governor            By Mitch Smith                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/us/latin- ExSchool Dean Recruited Students for Gang
2022-08-10   2022-08-11 kings-boston-schools.html                    US Says                                      By Amanda Holpuch                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/us/polit Bill Signed to Help Veterans Exposed to Burn
2022-08-10   2022-08-11 ics/biden-burn-pits.html                     Pits                                         By Michael D Shear               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/us/polit Close Win for Omar as Democrats Split Over
2022-08-10   2022-08-11 ics/ilhan-omar-policing.html                 Policing                                     By Jazmine Ulloa                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/us/polit
                        ics/iranian-john-bolton-assassination-       Justice Dept Charges Iranian in Plot to Kill By Glenn Thrush and Michael
2022-08-10   2022-08-11 charges.html                                 Former Trump Security Adviser                Crowley                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/us/polit Former Anchor Draws on Career to Woo
2022-08-10   2022-08-11 ics/kari-lake-arizona-republican.html        Arizonans                                    By Michael C Bender              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/us/polit Seizure of Congressmans Phone Suggests an By Alan Feuer Luke Broadwater
2022-08-10   2022-08-11 ics/scott-perry-phone-fbi.html               Escalating Election Inquiry                  and Katie Benner                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/us/polit US Insists It Will Operate Near Taiwan        By David E Sanger Eric Schmitt
2022-08-10   2022-08-11 ics/taiwan-china-us.html                     Despite Chinas Pressure                      and Ben Dooley                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/us/polit
2022-08-10   2022-08-11 ics/trump-fbi-justice-department.html        He Wielded a Sword Now He Claims a Shield By Peter Baker                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/us/polit
2022-08-10   2022-08-11 ics/trump-video.html                         Story Behind Trumps CampaignStyle Video By Michael C Bender                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/world/a Blinken Urges Congo to Rethink a Plan to
2022-08-10   2022-08-11 frica/blinken-congo-rainforests.html         Sell Critical Tracts of Rainforest           By Edward Wong                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/world/a Kenyans on Tenterhooks As the Votes Are        By Declan Walsh and Abdi Latif
2022-08-10   2022-08-11 frica/kenya-presidential-vote-count.html     Tallied                                      Dahir                            TX 9-207-887   2022-10-14



                                                                                Page 4108 of 5793
                        https://www.nytimes.com/2022/08/10/world/a In the Amazon a UN Agency For the Poor         By Sarah Hurtes and Julie
2022-08-10   2022-08-11 mericas/colombia-big-oil-united-nations.html Has Partners in Oil                          Turkewitz                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/world/a In Seoul Basements As if Heaven Had
2022-08-10   2022-08-11 sia/south-korea-floods-basement.html         Crashed Down                                 By Choe SangHun                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/world/e                                                By Michael Schwirtz Alan Yuhas
2022-08-10   2022-08-11 urope/crimea-explosions-ukraine.html         Vast Damage At Base Belies Russias Claim     and Christiaan Triebert          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/world/e Whale Stranded in Seine Dies Amid Rescue
2022-08-10   2022-08-11 urope/france-beluga-whale-dies.html          Effort                                       By Constant Mheut                TX 9-207-887   2022-10-14
                                                                     Hungary Settles Russias Pipeline Bill With
                        https://www.nytimes.com/2022/08/10/world/e Ukraine to Restore Flow of Oil to Central
2022-08-10   2022-08-11 urope/hungary-russia-ukraine-oil-mol.html    Europe                                       By Melissa Eddy                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/world/e
                        urope/munich-olympics-anniversary-boycott- Families of Israelis Killed at Munich
2022-08-10   2022-08-11 israel.html                                  Olympics Plan Boycott                        By Ronen Bergman                 TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/10/world/e UK to Offer Booster Shot Against Polio In
2022-08-10   2022-08-11 urope/uk-london-polio-vaccine-sewage.html London                                        By Euan Ward                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/world/e Squadron Built of Plastic Counters Russia in By Andrew E Kramer and David
2022-08-10   2022-08-11 urope/ukraine-drones.html                    Skies                                      Guttenfelder                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/world/
                        middleeast/american-lawyer-asim-ghafoor-     Emirati Court Overturns Sentence of
2022-08-10   2022-08-11 sentence-overturned.html                     American Convicted of Financial Crimes     By Vivian Yee                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/arts/cli 110 at Showtime Venues Are Grappling With
2022-08-11   2022-08-11 mate-change-outdoor-theater.html             Climate Change                             By Michael Paulson                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/arts/jud Judith Durham Singer of Georgy Girl and
2022-08-09   2022-08-12 ith-durham-dead.html                         Other Hits Is Dead at 79                   By Alex Williams                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/arts/mu
                        sic/lessons-in-love-and-violence-tanglewood-
2022-08-10   2022-08-12 review.html                                  An Exquisite Brutality Is Revealed         By David Allen                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/climate Unexpected Funding Source for Climate
2022-08-10   2022-08-12 /climate-protesters-paid-activists.html      Protesters Oil Heirs                       By Cara Buckley                    TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/10/technol
2022-08-10   2022-08-12 ogy/personaltech/default-settings-change.html Simple Steps To FineTune Your Gadgets       By Brian X Chen                  TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/10/technol Conspiracists Stake Out Ballot Boxes in        By Tiffany Hsu and Stuart A
2022-08-10   2022-08-12 ogy/voter-drop-box-conspiracy-theory.html Fraud Hunt                                      Thompson                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/arts/des
2022-08-11   2022-08-12 ign/jayson-musson-fabric-workshop.html      Mister Rogers With a Barbed Tongue            By Jillian Steinhauer            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/arts/des You Can Go Just Once and Say You Saw It
2022-08-11   2022-08-12 ign/national-gallery-double.html            Twice                                         By Blake Gopnik                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/arts/des
2022-08-11   2022-08-12 ign/war-monument-protection.html            Officers Train to Protect Art Amid Wars       By Matt Stevens                  TX 9-207-887   2022-10-14




                                                                                 Page 4109 of 5793
                        https://www.nytimes.com/2022/08/11/arts/fra
                        nk-miller-sues-widow-dark-knight-returns-    Frank Miller Files Suit for the Return of Two
2022-08-11   2022-08-12 art.html                                     Artworks                                      By George Gene Gustines    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/arts/tele
2022-08-11   2022-08-12 vision/five-days-at-memorial-apple.html      The Harrowing Aftermath of a Hurricane        By Chris Vognar            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/arts/tele
2022-08-11   2022-08-12 vision/never-have-i-ever-p-valley.html       This Weekend I Have                           By Margaret Lyons          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/books/p A Fantasy Classic Finally Trots Back To Its
2022-08-11   2022-08-12 eter-beagle-the-last-unicorn.html            Creator                                       By Elizabeth A Harris      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/briefing
                        /joe-manchin-liberals-democratic-climate-
2022-08-11   2022-08-12 bill.html                                    Obstacle or Savior Rethinking Joe Manchin By David Leonhardt             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/busines
2022-08-11   2022-08-12 s/gas-prices-4-a-gallon.html                 Relief at Pump As Gas Prices Fall Under 4     By Isabella Simonetti      TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/11/busines JampJ to End Global Sales Of TalcBased By Tiffany Hsu and Roni Caryn
2022-08-11   2022-08-12 s/johnson-and-johnson-talc-corn-starch.html Baby Powder                           Rabin                               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/busines
                        s/media/fox-shannon-bream-chris-            Sunday Show On Fox News Names Woman
2022-08-11   2022-08-12 wallace.html                                As Host a First                       By Jeremy W Peters                  TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/11/busines Activist Investor ValueAct Takes Stake in  By Benjamin Mullin and Lauren
2022-08-11   2022-08-12 s/media/new-york-times-valueact-stock.html The Times                                  Hirsch                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/climate A Signal of Climate Change Just Got More
2022-08-11   2022-08-12 /arctic-global-warming.html                Dire                                       By Henry Fountain               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/health/ Probable Carcinogen Found In a Popular
2022-08-11   2022-08-12 diabetes-januvia-cancer.html               Diabetes Drug                              By Andrew Jacobs                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/health/
2022-08-11   2022-08-12 virus-cdc-guidelines.html                  CDC Relaxes Its Guidelines For Pandemic    By Emily Anthes                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 el-gran-movimiento-review.html             El Gran Movimiento                         By Ben Kenigsberg               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 emergency-declaration-review.html          Emergency Declaration                      By Robert Daniels               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
                        emily-the-criminal-review-survival-
2022-08-11   2022-08-12 strategy.html                              In Debt Out of Options And Going for Broke By Jeannette Catsoulis          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 fall-review.html                           Fall                                       By Lena Wilson                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 free-chol-soo-lee-review.html              Free Chol Soo Lee                          By Ben Kenigsberg               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 free-puppies-review.html                   Free Puppies                               By Claire Shaffer               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 girl-picture-review.html                   Girl Picture                               By Amy Nicholson                TX 9-207-887   2022-10-14




                                                                                 Page 4110 of 5793
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 inu-oh-review.html                         A Vibrant Story of 14thCentury Arena Gods   By Manohla Dargis              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 laal-singh-chaddha-review.html             Laal Singh Chaddha                          By Nicolas Rapold              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 mack-and-rita-review.html                  Mack amp Rita                               By Lisa Kennedy                TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 rogue-agent-review.html                    Rogue Agent                                 By Natalia Winkelman           TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 secret-headquarters-review.html            Secret Headquarters                         By Calum Marsh                 TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 stay-on-board-the-leo-baker-story-review.html Stay on Board The Leo Baker Story        By Teo Bugbee                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 summering-review.html                         Summering                                By Beatrice Loayza               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 the-princess-review-diana.html                The Princess                             By Glenn Kenny                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-12 we-are-living-things-review.html              We Are Living Things                     By Austin Considine              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/nyregio Opponent for Congress Says Paladinos
2022-08-11   2022-08-12 n/carl-paladino-langworthy-primary.html       Antics May Hurt New York GOP             By Jesse McKinley                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/nyregio Gun Violence Kills 2nd Teen In New York In
2022-08-11   2022-08-12 n/teen-killed-shooting-fordham.html           Two Weeks                                By Lola Fadulu and Nate Schweber TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/opinion
2022-08-11   2022-08-12 /inflation-economy-midterms.html              Finally Some Good News on Inflation      By Paul Krugman                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/opinion Publishers Consolidation Is a Threat to
2022-08-11   2022-08-12 /penguin-simon-schuster-publishing.html       American Literature                      By Richard Howorth               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/opinion
2022-08-11   2022-08-12 /trump-2024-desantis-hawley.html              Hawleys Manhood Pompeos Midriff and 2024 By Frank Bruni                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/opinion
2022-08-11   2022-08-12 /trump-fbi-raid.html                          Dont Give In to Trumps Inflamed Fans     By Michelle Goldberg             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/sports/b
                        aseball/chandler-redmond-home-run-
2022-08-11   2022-08-12 cycle.html                                    The HomeRun Cycle Is a Minors Miracle    By Victor Mather                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/sports/s
2022-08-11   2022-08-12 occer/fifa-world-cup-qatar.html               100 Days or 99 of Uncertainty            By Tariq Panja                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/sports/t Farewell Tour Has Only a Few Farewells as
2022-08-11   2022-08-12 ennis/serena-williams-retirement.html         She Likes It                             By Christopher Clarey            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/theater/
2022-08-11   2022-08-12 aya-ogawa-the-nosebleed.html                  A Daughter Learns To Forgive Her Father  By Laura CollinsHughes           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/us/fbi- Gunman Killed After Storming An FBI         By Kevin Williams Alan Feuer
2022-08-11   2022-08-12 cincinnati-shooting.html                      Office                                   Adam Goldman and Mitch Smith TX 9-207-887       2022-10-14
                        https://www.nytimes.com/2022/08/11/us/phila As Shootings Soar Philadelphia Deals With
2022-08-11   2022-08-12 delphia-gun-violence-shootings.html           Being Flooded With Guns                  By Campbell Robertson            TX 9-207-887   2022-10-14




                                                                               Page 4111 of 5793
                        https://www.nytimes.com/2022/08/11/us/polit Why a Law Was Enacted To Aid Post911
2022-08-11   2022-08-12 ics/burn-pits-military-veterans.html        Veterans                                   By John Ismay                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/us/polit
2022-08-11   2022-08-12 ics/midterms-democrats-freedom.html         Democrats Try to Rally Around Freedom Too By Katie Glueck                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/us/polit Heavy Casualties Leave Russia Short of Its
2022-08-11   2022-08-12 ics/russian-casualties-ukraine.html         Goal Of Seizing a Key Region               By Helene Cooper                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/us/polit Reporting of Missing Secret Service Texts  By Luke Broadwater and Eileen
2022-08-11   2022-08-12 ics/secret-service-texts-jan-6.html         Lagged                                     Sullivan                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/us/polit Garland Pushing to Show Warrant for Trump By Glenn Thrush Maggie
2022-08-11   2022-08-12 ics/trump-fbi-subpoena.html                 Search                                     Haberman and Ben Protess        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/us/polit Years of Conflict With the Keepers of US
2022-08-11   2022-08-12 ics/trump-fbi.html                          Secrets                                    By Mark Mazzetti                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/us/trum Trump Hires Former Critic As His Lawyer in By Danny Hakim and Richard
2022-08-11   2022-08-12 p-lawyer-georgia.html                       Georgia                                    Fausset                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/world/a Blinken Urges An End to Aid For Fighters In
2022-08-11   2022-08-12 frica/blinken-rwanda-congo.html             East Congo                                 By Edward Wong                  TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/11/world/a Chinas Vow to Hold More Drills Cements       By Paul Mozur John Liu and Amy
2022-08-11   2022-08-12 sia/china-taiwan-drills-economy-military.html Taiwans Measured Response                 Chang Chien                    TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/11/world/a North Korea Lacking Vaccines and Low on
2022-08-11   2022-08-12 sia/north-korea-covid.html                 Testing Kits Says Its Covid Outbreak Is Over By Choe SangHun                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/world/e
                        urope/erdogan-putin-turkey-russia-         Erdogan and Putin A Complicated
2022-08-11   2022-08-12 ukraine.html                               Relationship With Mutual Benefits            By Steven Erlanger             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/world/e France Is Battered Again As Blistering Hot
2022-08-11   2022-08-12 urope/france-wildfires-heat-wave.html      Weather Reignites Tragic Wildfires           By Constant Mheut              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/world/e
                        urope/mario-fiorentini-italy-war-hero-     Italy Salutes War Hero Who Fought the
2022-08-11   2022-08-12 dead.html                                  Nazis                                        By Elisabetta Povoledo         TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/11/world/e A Sterling Rsum Isnt Enough in Britains Race
2022-08-11   2022-08-12 urope/rishi-sunak-britain-prime-minister.html for Prime Minister                           By Stephen Castle           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/world/e UN Nuclear Monitor Worried Over Shelling By Alan Yuhas and Shashank
2022-08-11   2022-08-12 urope/ukraine-nuclear-plant-danger.html       Near Plant in Ukraine                        Bengali                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/world/e Rhythm of War Big Blast Then a Coffee
2022-08-11   2022-08-12 urope/ukraine-war-frontline.html              Break                                        By Andrew E Kramer          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/world/
                        middleeast/palestinian-prisoners-hunger-      Palestinian Prisoners in Israel Go on Hunger
2022-08-11   2022-08-12 strikes-israel.html                           Strikes to Seek Freedom                      By Raja Abdulrahim          TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/11/your- The Tricky Financial Math Of Retiring Into a
2022-08-11   2022-08-12 money/retiring-recession-financial-math.html Downturn                                 By Tara Siegel Bernard           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-12   2022-08-12 day-shift-review.html                        Day Shift                                By Jeannette Catsoulis           TX 9-207-887   2022-10-14



                                                                                Page 4112 of 5793
                        https://www.nytimes.com/2022/08/11/us/polit Breaking Silence Garland Tells Trump Its His
2022-08-12   2022-08-12 ics/garland-trump-justice-department.html    Move                                        By Charlie Savage            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/busines
2022-08-12   2022-08-12 s/economy/estonia-natural-gas-lng.html       A Tiny Nation Builds a Gas Bulwark          By Patricia Cohen            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/insider/
                        for-a-reporter-in-texas-it-pays-to-make-the-
2022-08-12   2022-08-12 drive.html                                   Covering a Big Story in a Small Town        By J David Goodman           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/movies/
2022-08-12   2022-08-12 13-the-musical-review.html                   Facing Mild Anxieties In Middle America     By Amy Nicholson             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/world/e
                        urope/greece-surveillance-europe-kyriakos- A Greek Spying Scandal Reverberates as        By Jason Horowitz and Niki
2022-08-12   2022-08-12 mitsotakis.html                              Eavesdropping Expands in Europe             Kitsantonis                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/opinion
2022-08-08   2022-08-13 /pandemic-puppies-veterinarian.html          Your Pandemic Puppy Was Not a Mistake       By Margaret Renkl            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/sports/s In Exile a Coach Teaches Players How to
2022-08-09   2022-08-13 occer/unai-emery-arsenal-villarreal.html     Make the Opponents Suffer                   By Tariq Panja               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/arts/jea JeanJacques Semp Beloved Cartoonist of
2022-08-11   2022-08-13 n-jacques-sempe-dead.html                    Droll Whimsy Dies at 89                     By Robert D McFadden         TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/11/arts/mu
2022-08-11   2022-08-13 sic/sylvan-esso-no-rules-sandy-review.html A TryAnything Spirit Pervades These Tunes By Jon Pareles                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/arts/tele Roger E Mosley 83 Actor Best Known For
2022-08-11   2022-08-13 vision/roger-e-mosley-dead.html              Trailblazing Role on Magnum PI            By Alex Williams               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/opinion Alex Jones and the WellnessConspiracy
2022-08-11   2022-08-13 /alex-jones-wellness-conspiracy.html         Industrial Complex                        By Farhad Manjoo               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/sports/b In Soto They Got a Sword But Can They Slay
2022-08-11   2022-08-13 aseball/juan-soto-padres.html                the Dragon                                By Scott Miller                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/arts/dan A Stylish Kyle Abraham Work With Nods to
2022-08-12   2022-08-13 ce/review-kyle-abraham-requiem.html          Mozart                                    By Brian Seibert               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/arts/des
                        ign/basquiat-raid-orlando-museum-
2022-08-12   2022-08-13 rollins.html                                 Facing a Crisis Of Credibility            By Brett Sokol                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/arts/mu Bill Pitman 102 Dies Guitarist Who Played
2022-08-12   2022-08-13 sic/bill-pitman-dead.html                    With the Superstars                       By Robert D McFadden           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/arts/mu
2022-08-12   2022-08-13 sic/lea-desandre-salzburg-festival.html      A modern mezzo bringing back baroque      By Rebecca Schmid              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/arts/mu An Exclusive Festival Struggles to Be
2022-08-12   2022-08-13 sic/lucerne-festival-diversity.html          Inclusive                                 By Javier C Hernndez           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/arts/tele Playing the Grand Old Game This Time on a
2022-08-12   2022-08-13 vision/a-league-of-their-own-review.html     Broadened Field                           By Margaret Lyons              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/busines
2022-08-12   2022-08-13 s/china-taiwan-economy.html                  Why Taiwan Escaped Harsh Economic Pain By Mike Ives and Zixu Wang        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/busines Chinese Giants To End Listings On Wall
2022-08-12   2022-08-13 s/china-us-delisting-stock-exchange.html     Street                                    By Alexandra Stevenson         TX 9-207-887   2022-10-14




                                                                                Page 4113 of 5793
                        https://www.nytimes.com/2022/08/12/busines
2022-08-12   2022-08-13 s/climate-bill-electric-vehicles.html       EV Makers Wont Fare Equally Under Bill        By Jack Ewing                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/busines
                        s/economy/inflation-reduction-act-black-    Congress Rewrites Aid Program Black
2022-08-12   2022-08-13 farmers.html                                Farmers Pinned Hopes On                       By Alan Rappeport                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/busines Trader Joes Workers Vote To Unionize
2022-08-12   2022-08-13 s/economy/union-vote-trader-joes.html       Second Store                                  By Noam Scheiber                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/busines Russian Economy Wanes As Sanctions Take
2022-08-12   2022-08-13 s/russia-economy-gdp.html                   Hold                                          By Eshe Nelson and Patricia Cohen TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/busines Paroled De Facto Chief at Samsung Receives
2022-08-12   2022-08-13 s/samsung-pardon-south-korea.html           a Pardon in Bribery Case                      By Choe SangHun                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/busines                                                By Isabella Simonetti and Joe
2022-08-12   2022-08-13 s/stock-market-rise.html                    Market Logs Best Stretch Of the Year          Rennison                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/busines Britain Sees GDP Shrink As Fears of
2022-08-12   2022-08-13 s/uk-economy.html                           Recession Rise                                By Eshe Nelson                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/climate Climate Bill Just a Start Wary Youth Activists By Lisa Friedman and Coral
2022-08-12   2022-08-13 /biden-climate-bill-young-activists.html    Say                                           Davenport                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/health/c Revised Covid Guidelines Are Intended to Let
2022-08-12   2022-08-13 ovid-cdc-guidelines.html                    People Manage Their Own Risk                  By Emily Anthes                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/health/c FDA Advises Repeated Tests To Reduce
2022-08-12   2022-08-13 ovid-testing-fda.html                       Risk Of False Result                          By Emily Anthes                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/movies/
2022-08-12   2022-08-13 studio-ghibli-composer-joe-hisaishi.html    Follow the Emotions For a Humane Touch        By Elisabeth Vincentelli          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/nyregio Hospital and Drugmaker Unite To Build a
2022-08-12   2022-08-13 n/database-new-yorkers-dna.html             Huge DNA Database                             By Joseph Goldstein               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/nyregio Polio Found in Sewage Suggests Spread of       By Joseph Goldstein and Sharon
2022-08-12   2022-08-13 n/polio-nyc-sewage.html                     Virus in New York City                        Otterman                          TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/12/nyregio Rushdie Author Who Spent Years in Hiding  By Jay Root David Gelles Elizabeth
2022-08-12   2022-08-13 n/salman-rushdie-attacked.html             Is Stabbed Onstage                        A Harris and Julia Jacobs          TX 9-207-887       2022-10-14
                                                                                                             By Jonah E Bromwich Ben Protess
                        https://www.nytimes.com/2022/08/12/nyregio Manhattan Judge Declines Trump Executives William K Rashbaum and Lola
2022-08-12   2022-08-13 n/trump-weisselberg-investigation-plea.html Request To Dismiss Tax Fraud Case        Fadulu                             TX 9-207-887       2022-10-14
                        https://www.nytimes.com/2022/08/12/opinion
2022-08-12   2022-08-13 /swimming-weight.html                       The Joys of Swimming While Fat           By Phoebe Wahl                     TX 9-207-887       2022-10-14

                        https://www.nytimes.com/2022/08/12/sports/b Tatis Seemed Too Good To Be True Maybe
2022-08-12   2022-08-13 aseball/fernando-tatis-padres-suspended.html He Was                                   By Tyler Kepner                     TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/12/sports/b
2022-08-12   2022-08-13 aseball/field-of-dreams-cubs-reds.html       For a Night Celebrating a Simpler Game   By Benjamin Hoffman                 TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/12/sports/f Former Star Running Back Is Disputing DUI
2022-08-12   2022-08-13 ootball/marshawn-lynch-dui-arrest.html       Charge                                   By Emmanuel Morgan                  TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/12/sports/f More Black ExPlayers Qualify in Concussion
2022-08-12   2022-08-13 ootball/nfl-concussion-settlement-race.html Deal                                       By Ken Belson                      TX 9-207-887     2022-10-14



                                                                                Page 4114 of 5793
                        https://www.nytimes.com/2022/08/12/technol On Social Media Violent Rhetoric and
2022-08-12   2022-08-13 ogy/truth-social-conspiracy-fbi-trump.html  Feverish Talk of Government Conspiracies  By Tiffany Hsu and Sheera Frenkel TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/12/theater/
                        a-little-night-music-great-barrington-
2022-08-12   2022-08-13 stage.html                                  A Show That Gets the Rue So Right         By Jesse Green                    TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/12/theater/
2022-08-12   2022-08-13 ukraine-mom-on-skype.html                   New Ukrainian Play Comes to Brooklyn      By Sarah Bahr                     TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/12/us/breo Officer to Plead Guilty to False Claims in
2022-08-12   2022-08-13 nna-taylor-officer-guilty-plea.html         Obtaining Taylor Warrant                  By Nicholas BogelBurroughs        TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/12/us/polit
2022-08-12   2022-08-13 ics/declassified-documents-trump.html       Declassified The Laws Governing Documents By Charlie Savage                 TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/12/us/polit Fetterman Picks Bellwether County to Make
2022-08-12   2022-08-13 ics/fetterman-oz-senate-pennsylvania.html   His Return                                By Katie Glueck                   TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/12/us/polit In Partisan Vote House Approves A
2022-08-12   2022-08-13 ics/house-climate-tax-bill.html             Landmark Bill                             By Emily Cochrane                 TX 9-207-887      2022-10-14

                        https://www.nytimes.com/2022/08/12/us/polit Criticism Divide Emerges Among                By Luke Broadwater and Michael
2022-08-12   2022-08-13 ics/republicans-fbi-trump-search.html       Republicans After Revelations of Secret Files C Bender                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/us/polit
                        ics/robin-vos-michael-gableman-2020-        GOP Chief In Wisconsin Ends Inquiry Of
2022-08-12   2022-08-13 election.html                               2020 Vote                                     By Reid J Epstein                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/us/rick Man Who Tried to Enter FBI Office Was on By Lucia Walinchus Mitch Smith
2022-08-12   2022-08-13 y-shiffer-fbi-cincinnati.html               the Authorities Radar                         and Adam Goldman                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/us/sap- Secrecy How the Government Classifies          By Katie Benner and David E
2022-08-12   2022-08-13 classified-top-secret-donald-trump.html     Information                                   Sanger                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/us/trum Criminal Inquiry Prompted Search Of Trump By Maggie Haberman Glenn
2022-08-12   2022-08-13 p-espionage-act-laws-fbi.html               Resort                                        Thrush and Charlie Savage        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/world/a News Organizations Halt Count of Kenyan        By Declan Walsh and Abdi Latif
2022-08-12   2022-08-13 frica/kenya-election-results.html           Ballots Leaving Nation on Edge                Dahir                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/world/a Protests Over Rising Cost of Living Lead to By Elian Peltier and Jaime Yaya
2022-08-12   2022-08-13 frica/sierra-leone-protests.html            Deadly Street Clashes in Sierra Leone         Barry                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/world/a How the Middle Class In Sri Lanka Pushed A By Mujib Mashal Emily Schmall
2022-08-12   2022-08-13 sia/sri-lanka-rajapaksa.html                President Into Exile                          and Atul Loke                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/world/e
                        urope/graz-austria-communist-mayor-elke-    In Austria a Communist Wins Over a City by
2022-08-12   2022-08-13 kahr.html                                   Solving Problems                              By Denise Hruby                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/world/e Serbias Little Putin Rejects the Label Amid
2022-08-12   2022-08-13 urope/serbia-vucic-russia.html              Fears of Meddling by the Kremlin              By Andrew Higgins                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/world/e Ukraine and Russia Trade Barbs and Blame By Marc Santora and Jason
2022-08-12   2022-08-13 urope/ukraine-russia-nuclear-plant.html     as Nuclear Plant Is Shelled                   Horowitz                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/your- What to Do as Student Loan Pause Ticks
2022-08-12   2022-08-13 money/student-loans-pause.html              Down                                          By Ann Carrns                    TX 9-207-887   2022-10-14




                                                                                Page 4115 of 5793
                        https://www.nytimes.com/2022/08/12/sports/f
                        ootball/deshaun-watson-apology-suspension- In Return to NFL After 19 Months Watson
2022-08-13   2022-08-13 sexual-misconduct.html                      Takes New Tack Contrition                    By Jenny Vrentas               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/us/polit For Biden a Win and a Bet on Americas        By Michael D Shear and Zolan
2022-08-13   2022-08-13 ics/biden-house-bill.html                   Future                                       KannoYoungs                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/us/polit
                        ics/search-warrant-trump-investigation-     FBI Search Warrant Offers Clues Into Inquiry
2022-08-13   2022-08-13 documents.html                              Opened on ExPresident                        By Charlie Savage              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/us/sout Justice Dept Investigating Abuse Claims
2022-08-13   2022-08-13 hern-baptist-convention-sexual-abuse.html   Church Says                                  By Thomas Fuller               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/06/21/books/r
2022-06-21   2022-08-14 eview/the-long-answer-anna-hogeland.html Hard Questions                                  By Brenda Shaughnessy          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/01/books/h
2022-07-01   2022-08-14 oney-and-spice-bolu-babalola.html           Social Studies                               By Carole V Bell               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/03/books/r
2022-07-03   2022-08-14 eview/mermaid-black-conch-roffey.html       Once on This Island                          By Shruti Swamy                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/12/books/r
2022-07-12   2022-08-14 eview/zain-khalid-brother-alive.html        Power and Pilgrimage                         By Pete Tosiello               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/16/books/r
2022-07-16   2022-08-14 eview/picassos-war-hugh-eakin.html          His Red White and Blue Period                By Phillip Lopate              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/19/books/r
2022-07-19   2022-08-14 eview/the-inheritors-eve-fairbanks.html     After Truth and Reconciliation Their Lives   By Justine van der Leun        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/22/books/r
                        eview/the-digital-republic-jamie-
2022-07-22   2022-08-14 susskind.html                               The Threat of the Internet                   By Adam Cohen                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/26/books/r
2022-07-26   2022-08-14 eview/the-boys-katie-hafner.html            Cycles of Life                               By Weike Wang                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/26/books/r
2022-07-26   2022-08-14 eview/wang-xiaobo-golden-age.html           Sex Confessions of a Bad Communist           By Ian Johnson                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/31/books/r
2022-07-31   2022-08-14 eview/yoga-emmanuel-carrere.html            Flow State                                   By Sheila Glaser               TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/01/books/r
2022-08-01   2022-08-14 eview/blake-crouch-new-science-fiction.html Better Faster Stronger                      By Amal ElMohtar                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/books/r
2022-08-02   2022-08-14 eview/lawrence-osborne-on-java-road.html    Unsafe Harbor                               By Chris Bohjalian              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/books/r
                        eview/will-bunch-after-the-ivory-tower-
2022-08-02   2022-08-14 falls.html                                  Rage of Enlightenment                       By Kevin Carey                  TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/04/books/r
                        eview/acne-laura-chinn-walking-gentry-home-
2022-08-04   2022-08-14 alora-young-fruit-punch-kendra-allen.html   Memoirs                                     By Ashley C Ford                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/books/r Sarah J Maass Life Sounds Like Pure Chaos
2022-08-04   2022-08-14 eview/throne-of-glass-sarah-j-maas.html     in a Good Way                               By Elisabeth Egan               TX 9-207-887   2022-10-14



                                                                                Page 4116 of 5793
                        https://www.nytimes.com/2022/08/07/opinion
2022-08-07   2022-08-14 /media-message-twitter-instagram.html        The Medium Really Is the Message             By Ezra Klein                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/style/gr Wear the Crop Top Have the Salad and the
2022-08-07   2022-08-14 eetings-from-my-shameless-summer.html        Fries Too                                    By Mitra Jouhari                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/books/r
2022-08-08   2022-08-14 eview/new-crime-fiction.html                 A Marital Spat a Missing Husband             By Sarah Weinman                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/magazi
2022-08-08   2022-08-14 ne/taliban-afghanistan.html                  Collision Course                             By Matthieu Aikins                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/realesta
2022-08-08   2022-08-14 te/shopping-for-laundry-hampers.html         A Way Station To the Wash                    By Tim McKeough                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/arts/tele
2022-08-09   2022-08-14 vision/martha-plimpton-sprung.html           Martha Plimpton Talks Tattoos and Dogs       By Kathryn Shattuck                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/books/r
                        eview/barbara-molinard-panics-bad-
2022-08-09   2022-08-14 handwriting-sara-mesa.html                   Cruel Intentions                             By Charlie Lee                      TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/09/magazi
2022-08-09   2022-08-14 ne/afghan-refugees-american-universities.html Student In a Strange Land                   By Maddy Crowell                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/magazi
2022-08-09   2022-08-14 ne/ankara-hand-fans.html                      Ankara Hand Fans                            By Tomi Obaro                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/magazi Should I Tell My Elderly Turkish Dad That
2022-08-09   2022-08-14 ne/trans-elderly-ethics.html                  His Grandchild Is Trans                     By Kwame Anthony Appiah             TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/09/opinion New Yorks Hottest Club Is the Catholic
2022-08-09   2022-08-14 /nyc-catholicism-dimes-square-religion.html Church                                          By Julia Yost                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/opinion
                        /yellowstone-conservative-prestige-            Yellowstone Is a Conservative Fantasy
2022-08-09   2022-08-14 television.html                                Liberals Should Watch                        By Tressie McMillan Cottom        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/realesta
                        te/cj-baran-hollywood-hills-los-angeles-house-
2022-08-09   2022-08-14 renovation.html                                In the Hollywood Hills a FixerUpper Is Home By Tim McKeough                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/t-          A Wildlife Clinic but Also a Place to Create
2022-08-09   2022-08-14 magazine/sheida-soleimani.html                 Art                                          By Marisa MazriaKatz              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/technol Imagine Traveling All Over the World in an
2022-08-09   2022-08-14 ogy/flight-tracking-app.html                   App                                          By Shira Ovide                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/theater/
2022-08-09   2022-08-14 mary-rodgers-jesse-green-shy.html              The Princess and the Poconos                 By Mary Rodgers and Jesse Green   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/opinion Wisconsin May Send a Second Millennial to
2022-08-10   2022-08-14 /mandela-barnes-wisconsin-johnson.html         the Senate                                   By Dan Shafer                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/arts/mu
2022-08-10   2022-08-14 sic/b-52s-final-tour.html                      The B52s Say Farewell to the Road            By Rob Tannenbaum                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/arts/tele
2022-08-10   2022-08-14 vision/house-of-the-dragon-hbo-got.html        A Future Dependent Upon the Past             By John Koblin                    TX 9-207-887   2022-10-14




                                                                                 Page 4117 of 5793
                        https://www.nytimes.com/2022/08/10/arts/tele
                        vision/paddy-considine-house-of-the-dragon-
2022-08-10   2022-08-14 king-viserys.html                             An Uneasy Actor Now Wears a Crown            By Jeremy Egner       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/books/r
                        eview/path-lit-by-lightning-david-
2022-08-10   2022-08-14 maraniss.html                                 The Greatest                                 By Keith Olbermann    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/busines The Boy Bosses of Silicon Valley Slip Out of
2022-08-10   2022-08-14 s/silicon-valley-boy-boss.html                Town                                         By Erin Griffith      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/magazi
2022-08-10   2022-08-14 ne/biden-tv.html                              Thin Air                                     By Jason Zengerle     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/magazi
2022-08-10   2022-08-14 ne/russia-hollywood-films.html                The Celluloid Curtain                        By Irina Aleksander   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/magazi Yotam Ottolenghi Has Made Thousands of
2022-08-10   2022-08-14 ne/yotam-ottolenghi-meringues.html            Meringues This Is His Favorite               By Yotam Ottolenghi   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/opinion
2022-08-10   2022-08-14 /children-mental-health.html                  Kids Mental Health Is a National Emergency By Jessica Grose        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/opinion Science Is Still in a Race Against the
2022-08-10   2022-08-14 /coronavirus-evolution-vaccines.html          Coronavirus                                  By David Quammen      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/opinion
2022-08-10   2022-08-14 /trump-republicans-persecution.html           The Politics of Persecution                  By Charles M Blow     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/opinion
2022-08-10   2022-08-14 /vex-money-afro-caribbean-women.html          What Does Vex Money Do to Love               By Naomi Jackson      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/realesta
                        te/house-hunting-south-africa-capetown-table-
2022-08-10   2022-08-14 mountain.html                                 Carved Into Mountain Slopes in Cape Town By Lisa Prevost           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/realesta
                        te/peekskill-ny-an-artists-paradise-on-the-
2022-08-10   2022-08-14 hudson-river.html                             Artists Paradise Sits Along the Hudson River By Anne Mancuso       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/realesta
2022-08-10   2022-08-14 te/the-art-of-making-garden-rooms.html        A Landscape That Measures Out Delight        By Margaret Roach     TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/10/style/iss
2022-08-10   2022-08-14 ey-miyake-steve-jobs-black-turtleneck.html Two Pioneers Who Were a Perfect Fit      By Vanessa Friedman          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/style/w
                        hy-does-my-grandson-think-i-should-pay-him-
2022-08-10   2022-08-14 for-missing-our-family-vacation.html         Treat Turns to Shock                   By Philip Galanes            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/world/ Gary Schroen 80 Who Led CIA Team In Hunt
2022-08-10   2022-08-14 middleeast/gary-schroen-dead.html            for Bin Laden Into Afghanistan         By Clay Risen                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/article/house-of-
2022-08-10   2022-08-14 dragons-got-prequel.html                     Dynastic Doings                        By Sean T Collins            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/interactive/2022/08/
2022-08-10   2022-08-14 10/nyregion/seagram-playground.html          The Seagram Buildings New Playground   By Jane Margolies            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/arts/pau Paul Coker Cartoonist Who Mocked Clichs
2022-08-11   2022-08-14 l-coker-dead.html                            At Mad Is Dead at 93                   By Richard Sandomir          TX 9-207-887   2022-10-14




                                                                                 Page 4118 of 5793
                        https://www.nytimes.com/2022/08/11/magazi The Problem Or at Least a Problem Ive Been
2022-08-11   2022-08-14 ne/connie-converse-disappearance.html        Told                                          By Hanif Abdurraqib             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/magazi                                                  By Ruben Quesada and Victoria
2022-08-11   2022-08-14 ne/poem-oath-keeper.html                     Poem Oath Keeper                              Chang                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/movies/
2022-08-11   2022-08-14 bodies-bodies-bodies-movie.html              Revealing Yourself Without WiFi               By Kalia Richardson             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/nyregio
2022-08-11   2022-08-14 n/open-streets-nyc.html                      Scaling Back the Citys Open Streets           By Winnie Hu                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/opinion The Climate Bill Isnt Perfect but Its Still a
2022-08-11   2022-08-14 /climate-inflation-reduction-act.html        Major Victory                                 By Jody Freeman                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/opinion
2022-08-11   2022-08-14 /fbi-trump-mar-a-lago-raid.html              Did the FBI Just Reelect Donald Trump         By David Brooks                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/opinion Justice Alitos Call to Arms to Secure
2022-08-11   2022-08-14 /religion-supreme-court-alito.html           Religious Liberty                             By Linda Greenhouse             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/science Kamoya Kimeu Dies Uncovered Treasures
2022-08-11   2022-08-14 /kamoya-kimeu-dead.html                      That Framed Evolution                         By Clay Risen                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/style/lo
2022-08-11   2022-08-14 ckable-box-container.html                    Put That Distracting Device in Lockdown       By Molly Young                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/style/ne The Corporate Lobbyist Who Opened a
2022-08-11   2022-08-14 w-independent-bookstore.html                 Bookstore                                     By Ezra Marcus                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/style/pi
2022-08-11   2022-08-14 ckleball-weddings.html                       Finding a Match for Life and Pickleball       By Rachel Simon                 TX 9-207-887   2022-10-14
                                                                     Seeking a Sturdy Starter Apartment in
                        https://www.nytimes.com/interactive/2022/08/ Brooklyn Which OneBedroom Did She
2022-08-11   2022-08-14 11/realestate/11hunt-archer.html             Choose                                        By Debra Kamin                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/us/tho Former Police Officer Gets 7 Years for Role
2022-08-12   2022-08-14 mas-roberston-jan-6-sentenced.html           on Jan 6                                      By Vimal Patel                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/arts/des
2022-08-12   2022-08-14 ign/donald-judd-marfa-texas-debate.html      What Would Donald Judd Do                     By Hilarie M Sheets             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/books/r
2022-08-12   2022-08-14 eview/wolfstongue-sam-thompson.html          Voice in the Wilderness                       By Lev Grossman                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/books/r
2022-08-12   2022-08-14 eview/worser-jennifer-ziegler.html           The Language of Love                          By Lynne Truss                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/busines
                        s/how-people-think-about-the-economy-        8 People Sitting on Benches Talking About     By Julia Rothman and Shaina
2022-08-12   2022-08-14 now.html                                     Recession                                     Feinberg                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/busines
2022-08-12   2022-08-14 s/roxane-gay-work-advice.html                I Got the Job My Older Colleague Wanted       By Roxane Gay                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/garden/ Throwing Away the Trash Someone
2022-08-12   2022-08-14 hoarding-help-consultant.html                Treasures                                     By Eve M Kahn                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/insider/
                        unknowingly-walking-in-the-footsteps-of-
2022-08-12   2022-08-14 gordon-parks.html                            A Theme of Hope in Anacostia                  By Andre D Wagner               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/movies/
2022-08-12   2022-08-14 i-love-my-dad-interview.html                 This Catfished Son Still Loves His Dad        By Bob Morris                   TX 9-207-887   2022-10-14



                                                                                 Page 4119 of 5793
                        https://www.nytimes.com/2022/08/12/nyregio Motherhood Fame and the Long Shadow of
2022-08-12   2022-08-14 n/joanne-woodward-paul-newman.html         Regret                                      By Ginia Bellafante          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/nyregio
2022-08-12   2022-08-14 n/montauk-gentrification-millennials.html  Montauk Millennials and the Family Business By Alyson Krueger            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/nyregio
                        n/trying-to-stop-lanternflies-dont-bother- Trying to Stop Lanternflies Dont Bother
2022-08-12   2022-08-14 theyre-here.html                           Theyre Here                                 By James Barron              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/opinion
2022-08-12   2022-08-14 /iran-america-nuclear-policy.html          How the United States Misunderstands Iran By Karim Sadjadpour            TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/12/realesta
2022-08-12   2022-08-14 te/more-home-deals-are-falling-through.html As Rates Rise More Deals Fail             By Michael Kolomatsky         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/sports/b
2022-08-12   2022-08-14 asketball/sue-bird-retirement.html          What Is Birds Legacy She Is the WNBA      By Jonathan Abrams            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/sports/f
                        ootball/green-bay-packers-shareholders-     Today You Can Walk Around Like You Own
2022-08-12   2022-08-14 fans.html                                   the Place                                 By Ken Belson                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/sports/s
2022-08-12   2022-08-14 occer/bayern-munich-bundesliga.html         Bayern Munich And the Myth Of Competition By Rory Smith                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/style/al Search for Perfect Milkshake Leads to
2022-08-12   2022-08-14 yson-chavez-joshua-stewart-wedding.html     Romance                                   By John Otis                  TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/12/style/co
2022-08-12   2022-08-14 urtney-pedersen-eddie-bearnot-wedding.html Committed to Global Health and Each Other By Callie Holtermann           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/style/eli Laughter and a Few Hot Dogs Can Prove
2022-08-12   2022-08-14 zabeth-akeley-george-regan-wedding.html      Alluring                                By Tammy La Gorce              TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/12/style/ki
2022-08-12   2022-08-14 mberly-harris-william-browns-wedding.html The Wave Emoji That Started It All              By Kristen Bayrakdarian   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/style/m
                        odern-love-meet-cute-living-in-library-
2022-08-12   2022-08-14 basement.html                               Cute or Creepy It Led to Quite an Adventure   By Elizabeth Chang        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/us/afgh
2022-08-12   2022-08-14 anistan-refugees.html                       Adrift in a New Life Mourning the Old One     By Miriam Jordan          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/us/aspe Tangled Saga in Aspen Pits Rich Developer
2022-08-12   2022-08-14 n-times-real-estate.html                    vs Local Paper                                By Jack Healy             TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/12/world/a We Are the Flour Between Two Millstones A
2022-08-12   2022-08-14 sia/afghanistan-collapse-anniversary.html     Times Reporter Reflects on a Trying Year By Fahim Abed                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/world/a The Tumultuous Summer That Changed the By The New York Times and
2022-08-12   2022-08-14 sia/afghanistan-collapse-photo.html           World                                    Thomas GibbonsNeff           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/world/a
                        sia/afghanistan-taliban-kabul-new-york-times-
2022-08-12   2022-08-14 evacuation.html                               Day by Day a New Life Dawns              By Rebecca Blumenstein       TX 9-207-887   2022-10-14




                                                                                 Page 4120 of 5793
                        https://www.nytimes.com/2022/08/12/world/a With Afghanistan in Their Grip Taliban Roll   By Christina Goldbaum David
2022-08-12   2022-08-14 sia/afghanistan-taliban.html               Back the Clock                                Zucchino and The New York Times TX 9-207-887       2022-10-14
                        https://www.nytimes.com/2022/08/13/busines
                        s/electric-vehicles-battery-factory-                                                     By Talmon Joseph Smith and David
2022-08-13   2022-08-14 georgia.html                               A PlugIn Truck Powers Plenty Of Dreams        Walter Banks                     TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/13/busines Amid Tough Times Financial Therapy Finds
2022-08-13   2022-08-14 s/financial-therapy-personal-finance.html  Its Footing                                   By Charlotte Cowles                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/busines
                        s/media/fox-dominion-lawsuit-first-        Fox on Its Heels Amid Libel Suit On Voter
2022-08-13   2022-08-14 amendment.html                             Fraud                                         By Jeremy W Peters                  TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/13/busines Rushdie Stabbing Brings Terror to an Idyllic
2022-08-13   2022-08-14 s/rushdie-stabbing-attack-chautauqua.html   Retreat for Earnest Inquiry                   By David Gelles                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/busines
2022-08-13   2022-08-14 s/stocks-climate-bill-tax-1-percent.html    A Target on Dividends And Stock Buybacks By Jeff Sommer                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/fashion Like Her Clothes Modest Comfy and
2022-08-13   2022-08-14 /eileen-fisher-retirement.html              Enduring                                      By Elizabeth Paton                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/nyregio House Race in New York Swing District
2022-08-13   2022-08-14 n/abortion-congress-ryan-molinaro.html      Could Test the Influence of Abortion Rights By Grace Ashford                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/nyregio
2022-08-13   2022-08-14 n/matthew-garrison-shapeshifter.html        He Arranges Songs and Solves Problems         By Kaya Laterman                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/nyregio
2022-08-13   2022-08-14 n/right-wing-rhetoric-threats-violence.html Rights Talk Darkens and Violence Rises        By Alan Feuer                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/nyregio                                                By Hurubie Meko and Lauren
2022-08-13   2022-08-14 n/rushdie-video-stabbed-ny.html             Author Has 10 Wounds Prosecutors Say          DAvolio                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/opinion
2022-08-13   2022-08-14 /afghanistan-withdrawal-women.html          One Year Under Taliban Rule                   By Nahid Shahalimi                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/opinion
2022-08-13   2022-08-14 /cdc-monkeypox-covid.html                   The CDC Leading From Behind                   By Ross Douthat                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/opinion
2022-08-13   2022-08-14 /trump-sics-the-gop-on-the-fbi.html         Trump Sics the GOP on the FBI                 By Maureen Dowd                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/realesta Can I File a Civil Lawsuit Against a Building
2022-08-13   2022-08-14 te/rats-rodents-complaints.html             With Rats                                     By Stefanos Chen                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/style/w
2022-08-13   2022-08-14 ellfleet.html                               Bohemia Beachs New Day                        By Penelope Green                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/us/idah Idaho Supreme Court Rules NearTotal Ban
2022-08-13   2022-08-14 o-abortion-ban.html                         On Abortion Can Begin                         By Isabella Grulln Paz             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/us/polit
2022-08-13   2022-08-14 ics/al-qaeda-afghanistan.html               Al Qaeda Has Not Regrouped US Says            By Eric Schmitt                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/us/polit Democrats Laboring to Retain Crucial Asian
2022-08-13   2022-08-14 ics/democrats-asian-american-voters.html    American Votes                                By Alexander Burns                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/us/polit As US Weighs Guantnamo Options Saudi          By Carol Rosenberg and Gabriella
2022-08-13   2022-08-14 ics/guantanamo-biden-saudi-arabia.html      Center May Offer Solution                     Demczuk                            TX 9-207-887   2022-10-14




                                                                                 Page 4121 of 5793
                        https://www.nytimes.com/2022/08/13/us/polit When Will Pelosi Retire Who Will Replace
2022-08-13   2022-08-14 ics/pelosi-house-race-san-francisco.html    Her How Dare You Ask                        By Shane Goldmacher                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/us/polit Trump Lawyer Asserted Return of Secret      By Maggie Haberman and Glenn
2022-08-13   2022-08-14 ics/trump-classified-material-fbi.html      Papers Was Completed by June                Thrush                                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/world/a To Uplift Cocoa Workers Ivory Coast Tries to By Elian Peltier and Andrew
2022-08-13   2022-08-14 frica/ivory-coast-chocolate.html            Reap The Riches of Chocolate                CaballeroReynolds                      TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/13/world/a Survivors of Indias 1947 Partition Turn to a
2022-08-13   2022-08-14 sia/nasir-dhillon-india-partition-youtube.html YouTube Channel to Get Closure            By Salman Masood and Mike Ives TX 9-207-887          2022-10-14
                        https://www.nytimes.com/2022/08/13/world/a
2022-08-13   2022-08-14 sia/rushdie-attack-japanese-translator.html    Assault Echoes a 1991 Murder in Japan     By Hikari Hida and Mike Ives     TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/13/world/e Mastering a Game and Starting a New Life at
2022-08-13   2022-08-14 urope/chess-ukraine-refugee-britain.html       8 Years Old                               By Megan Specia and Mary Turner TX 9-207-887         2022-10-14
                        https://www.nytimes.com/2022/08/13/world/e Armed With New LongRange Weaponry             By Marc Santora Michael Schwirtz
2022-08-13   2022-08-14 urope/ukraine-russia-himars-kherson.html       Kyiv Subtly Shifts Tactics                and Jack Nicas                   TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/13/world/
                        middleeast/egypt-political-prisoners-          Egypts Revolving Prison Door Hundreds Set
2022-08-13   2022-08-14 released.html                                  Free as Leader Eases Grip                 By Vivian Yee                    TX 9-207-887        2022-10-14
                        https://www.nytimes.com/interactive/2022/08/ The Times Endorses Jerrold Nadler Sean
                        13/opinion/new-york-congress-nyt-              Maloney and Dan Goldman in New Yorks
2022-08-13   2022-08-14 endorse.html                                   Democratic Primary Races for Congress     By The Editorial Board           TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/14/busines
2022-08-14   2022-08-14 s/the-week-in-business-inflation.html          The Week in Business Inflation Moderates  By Marie Solis                   TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/14/realesta
2022-08-14   2022-08-14 te/homes-sold-450000-dollars.html              Homes That Sold for Around 450000         By C J Hughes                    TX 9-207-887        2022-10-14

                        https://www.nytimes.com/2022/08/14/sports/h Sexual Assault Revelations Dim the Shine of
2022-08-14   2022-08-14 ockey/hockey-canada-sex-assault-juniors.html Canadas National Game                            By Ian Austen                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/style/str
2022-08-14   2022-08-14 iking-their-own-poses.html                    Striking Poses Of Their Own                     By Denny Lee                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/travel/f Golden Sand Calm Waters and Dramatic
2022-08-03   2022-08-15 amily-beaches-europe.html                     Dunes                                           By Andrew Ferren                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/us/covi
2022-08-09   2022-08-15 d-deaths-memorials.html                       Memorials for a Grief Still Growing             By Christine Hauser              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/technol
2022-08-11   2022-08-15 ogy/driverless-cars.html                      Driverless Cars Too Important to Race           By Shira Ovide                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/arts/des
                        ign/getty-return-three-major-sculptures-                                                      By Tom Mashberg and Elisabetta
2022-08-12   2022-08-15 italy.html                                    Getty to Return Treasures to Italy              Povoledo                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/arts/mu
2022-08-12   2022-08-15 sic/beyonce-madonna-saucy-santana.html        All Here Influence Inspiration Interpretation   By Jon Caramanica                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/arts/tele
                        vision/dolly-alderton-everything-i-know-about
2022-08-12   2022-08-15 love.html                                     Her Life Reads Like A RomCom                    By Simran Hans                   TX 9-207-887   2022-10-14




                                                                                   Page 4122 of 5793
                        https://www.nytimes.com/2022/08/12/sports/b Russells No 6 Joins a Rare Class of Retired
2022-08-12   2022-08-15 ill-russell-retired-numbers.html            Numbers                                     By Victor Mather                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/technol
                        ogy/nimby-housing-silicon-valley-
2022-08-12   2022-08-15 atherton.html                               Townhouses A Rich Town In Tech Says Nope By Erin Griffith                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/travel/s Hawaiis Native Son Walks the Delicate
2022-08-12   2022-08-15 ustainable-tourism-hawaii.html              Balance of Tourism and Culture              By Paige McClanahan              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/dining/j Jan Longone Food History Scholar Who
2022-08-13   2022-08-15 anice-longone-dead.html                     Curated Cookbooks Dies at 89                By Kim Severson                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/sports/r
2022-08-13   2022-08-15 unning-in-the-heat.html                     Tips for Extreme Heat From a Desert Trekker By Talya Minsberg                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/world/                                               By Patrick Kingsley and Vivek
2022-08-14   2022-08-15 middleeast/jerusalem-shooting-israel.html   Gunman Hurts at Least 8 in East Jerusalem   Shankar                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/arts/mu
2022-08-14   2022-08-15 sic/salzburg-festival-opera-music.html      Riches Retreads And a Note of Caution       By Zachary Woolfe                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/arts/mu
2022-08-14   2022-08-15 sic/ukraine-war-orchestra-refugees.html     I Dont Have a Gun but I Have My Cello       By Javier C Hernndez             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/busines UK Police Investigate Threat to Author Who
2022-08-14   2022-08-15 s/jk-rowling-salman-rushdie-threat.html     Voiced Support for Rushdie                  By Kurtis Lee                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/busines After Roe Readers Flock To Publications for
2022-08-14   2022-08-15 s/media/abortion-womens-media.html          Women                                       By Katie Robertson               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/busines
                        s/media/on-tiktok-election-                 Misinformation Riddles TikTok Before
2022-08-14   2022-08-15 misinformation.html                         Election                                    By Tiffany Hsu                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/busines Saudi Aramco Profit Rises By 90 on High Oil
2022-08-14   2022-08-15 s/saudi-aramco-earnings.html                Prices                                      By Kevin Granville               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/busines 10 States 2400 Miles More Than 100 Classic
2022-08-14   2022-08-15 s/vintage-cars-great-race.html              Cars                                        By Mercedes Lilienthal           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/crossw
2022-08-14   2022-08-15 ords/spelling-bee-forum.html                Crafting the Spelling Bee                   By New York Times Games          TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/14/nyregio Adviser to New York City Mayors Will Leave By Dana Rubinstein William K
2022-08-14   2022-08-15 n/adams-pearson-casino.html                 His Second Job as a Casino Executive         Rashbaum and Michael Rothfeld   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/nyregio Rushdie Is Off His Ventilator And Starting To
2022-08-14   2022-08-15 n/salman-rushdie-recovery.html              Recover                                      By Elizabeth A Harris           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/opinion
2022-08-14   2022-08-15 /afghanistan-taliban-photos.html            Afghanistan One Year After the Fall          By Victor J Blue                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/opinion The Most Productive Dysfunctional Congress
2022-08-14   2022-08-15 /congress-inflation-reduction-act.html      Ever                                         By Farah Stockman               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/opinion
2022-08-14   2022-08-15 /generation-x-millennials-work.html         Gen X Is Kind of Sort of Not Really the Boss By Pamela Paul                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/sports/b
2022-08-14   2022-08-15 aseball/major-league-gloves.html            Precious Leather                             By James Wagner                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/technol I Was Skeptical of Baby Gear Then I Became
2022-08-14   2022-08-15 ogy/baby-gear-tech.html                     a Dad                                        By Kevin Roose                  TX 9-207-887   2022-10-14



                                                                                Page 4123 of 5793
                        https://www.nytimes.com/2022/08/14/technol
2022-08-14   2022-08-15 ogy/tiktok-china-washington.html           Frustration Over TikTok Is Growing In DC     By David McCabe                   TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/14/theater/ House Opening Honors August Wilsons
2022-08-14   2022-08-15 august-wilson-house-denzel-washington.html Legacy                                     By Ollie Gratzinger                 TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/14/us/arizo Altercation With Police After School
2022-08-14   2022-08-15 na-parents-locked-down-school.html          Lockdown Ends With Three Arrests          By Luke Vander Ploeg                TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/14/us/polit
                        ics/abortion-midterms-2022-ads-             Sensing Opportunity Democrats Spotlight   By Shane Goldmacher and Katie
2022-08-14   2022-08-15 democrats.html                              Abortion in Their Ads                     Glueck                              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/14/us/polit Trump Claims He Can Declassify Heres What
2022-08-14   2022-08-15 ics/trump-classified-documents.html         He Can and Cant Do                        By Charlie Savage                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/14/us/polit Trump Using Familiar Defensive Tactic to  By Zolan KannoYoungs and
2022-08-14   2022-08-15 ics/trump-documents-explanations.html       Explain FBI Search                        Maggie Haberman                     TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/14/world/a                                              By Mujib Mashal Hari Kumar and
2022-08-14   2022-08-15 sia/british-india-partition-hindu-muslim.html The Fading Ghosts of Indias Partition     Zia urRehman                   TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/14/world/a Independence Marred by Chaos and             By Vivek Shankar and Mikko
2022-08-14   2022-08-15 sia/india-partition-history-photos.html       Confusion                                 Takkunen                       TX 9-207-887        2022-10-14

                        https://www.nytimes.com/2022/08/14/world/a Japanese Photographer Exposed New Plight
2022-08-14   2022-08-15 sia/south-korea-comfort-women-scandal.html of Comfort Women                             By Choe SangHun                   TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/14/world/a
2022-08-14   2022-08-15 sia/taiwan-congressional-delegation-visit.html Five US Lawmakers Make Visit to Taiwan   By Jane Perlez                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/world/a
2022-08-14   2022-08-15 ustralia/australia-airport-shooting.html       Shots Fired At an Airport In Australia   By Damien Cave                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/world/e Threat Grows as Battles Rage Near Nuclear By Andrew E Kramer and Andrew
2022-08-14   2022-08-15 urope/ukraine-nuclear-plant-fighting.html      Plant Occupied by Russia                 Higgins                             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/world/ Egypt Church Fire Causes Stampede and         By Nada Rashwan Euan Ward
2022-08-14   2022-08-15 middleeast/egypt-fire-church.html              Dozens of Deaths                         Liam Stack and Yonette Joseph       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/world/z Zofia Posmysz Writer 98 Her Works
2022-08-14   2022-08-15 ofia-posmysz-dead.html                         Described Life In Concentration Camps    By Richard Goldstein                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/article/r-kelly-
2022-08-14   2022-08-15 chicago-trial.html                             R Kelly on Trial in Chicago What to Know By Julia Jacobs and Robert Chiarito TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/busines Japan Is Bouncing Back to Economic Growth
2022-08-15   2022-08-15 s/economy/japan-economy.html                   as Coronavirus Fears Recede              By Ben Dooley and Hisako Ueno TX 9-207-887         2022-10-14
                        https://www.nytimes.com/2022/08/14/us/polit After Early Fury At Trump Search The GOP
2022-08-15   2022-08-15 ics/trump-search-republicans.html              Is Split                                 By Luke Broadwater                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/arts/tele
                        vision/whats-on-tv-this-week-house-of-the-
2022-08-15   2022-08-15 dragon.html                                    This Week on TV                          By Shivani Gonzalez                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/nyregio New York City Braces for MTA Budget
2022-08-15   2022-08-15 n/mta-nyc-budget.html                          Disaster Brought On by Pandemic          By Ana Ley                          TX 9-207-887   2022-10-14




                                                                                   Page 4124 of 5793
                        https://www.nytimes.com/2022/08/15/sports/f For Rams GM Seizing the Moment Means
2022-08-15   2022-08-15 ootball/les-snead-rams-draft-picks.html      Rethinking Draft Picks                     By Emmanuel Morgan               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/sports/ The Endless Fascination With Mike Tyson 16 By Lori Grinker and Morgan
2022-08-15   2022-08-15 mike-tyson-photos.html                       Years After His Last Official Bout         Campbell                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/us/los- In Dry Los Angeles Grass Gives Way to
2022-08-15   2022-08-15 angeles-lawn-watering-drought.html           Gravel                                     By Jill Cowan                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/us/polit Cheneys Fate May Mark the End of an Era in
2022-08-15   2022-08-15 ics/liz-cheney-wyoming.html                  Wyoming                                    By Jonathan Martin               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/interactive/2022/08/                                            By Jodi Kantor Arya Sundaram
                        14/business/worker-productivity-                                                        Aliza Aufrichtig and Rumsey
2022-08-15   2022-08-15 tracking.html                                The Rise of the Worker Productivity Score  Taylor                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/28/well/m Fitness Facts That Could Stimulate Your
2022-07-29   2022-08-16 ove/easy-exercise-tips.html                  Workouts                                   By Melinda Wenner Moyer          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/well/mi
2022-08-02   2022-08-16 nd/alzheimers-caregivers.html                Worrying if Alzheimers Will Arrive         By Dawn MacKeen                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/03/well/liv
2022-08-03   2022-08-16 e/men-tesosterone-tests-ads.html             More Men Are Investigating Testosterone    By Chloe Williams                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/06/science
2022-08-06   2022-08-16 /dolphins-bahamas-mixing.html                Strangers Meet Things Go Swimmingly        By Carolyn Wilke                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/science Dont Count on it Do Spiders Dream of
2022-08-08   2022-08-16 /spiders-dreaming-sleeping-rem.html          EightLegged Sheep                          By Carolyn Wilke                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/well/liv
2022-08-09   2022-08-16 e/fire-smoke-lung-cancer.html                Does Wildfire Smoke Cause Lung Cancer      By Molly Peterson                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/science Cosmic Toddler At Just 15 Million Years Old
2022-08-10   2022-08-16 /newest-youngest-exoplanet.html              A Planet Still Getting Its Footing         By Robin George Andrews          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/science Gesundheit How Sponges Fill the Seas Sneeze
2022-08-10   2022-08-16 /sea-sponges-sneezing.html                   by Sneeze                                  By Sam Jones                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/science                                              By Veronique Greenwood and Billy
2022-08-11   2022-08-16 /firefly-light-mating.html                   Many Fireflies Prefer To Dance in the Dark Hickey                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/science A Vocal Evolution May Have Led to
2022-08-11   2022-08-16 /language-humans-primates.html               Elocution                                  By Oliver Whang                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/arts/mu MIA Takes Aim at Fame and 4 More New         By Jon Caramanica and Lindsay
2022-08-12   2022-08-16 sic/playlist-mia-nicki-minaj-willow.html     Songs                                      Zoladz                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/science Land Lubbers To Avoid Lightning Go Heavy
2022-08-12   2022-08-16 /lightning-sea-salt.html                     on the Salt                                By Katherine Kornei              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/movies/ Anne Heche Onscreen Wily Funny and
2022-08-13   2022-08-16 anne-heche-movies.html                       Unnerving                                  By Esther Zuckerman              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/opinion Go Ahead Work While on Vacation and
2022-08-13   2022-08-16 /working-on-vacation-flexibility.html        Vacation While at Work                     By Laura Vanderkam               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/opinion
2022-08-14   2022-08-16 /god-culture-war-politics.html               The God I Know Is Not a Culture Warrior    By Tish Harrison Warren          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/arts/ann Anne Heche Actress Known for Her Film
2022-08-15   2022-08-16 e-heche-dead.html                            Roles in the 90s Dies at 53                By Richard Sandomir              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/arts/dan
2022-08-15   2022-08-16 ce/solange-new-york-city-ballet.html         Solange Adds a New Job Ballet Composer     By Joshua Barone                 TX 9-207-887   2022-10-14



                                                                               Page 4125 of 5793
                        https://www.nytimes.com/2022/08/15/arts/mu Bad Bunny Returns to the Top of Billboards
2022-08-15   2022-08-16 sic/bad-bunny-youngboy-billboard-chart.html Album Chart                                    By Ben Sisario                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/arts/mu
2022-08-15   2022-08-16 sic/indigenous-experimental-music.html       Its Indigenous Experimental and Loud          By Grayson Haver Currin          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/arts/tele
                        vision/emmy-awards-john-turturro-
2022-08-15   2022-08-16 christopher-walken-severance.html            Chemistry Comes Easily For 2 Friends          By Alexis Soloski                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/books/n Nicholas Evans Novelist Who Set Rights
2022-08-15   2022-08-16 icholas-evans-dead.html                      Records In His Debut Dies at 72               By Penelope Green                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/books/p                                                 By Adam Bednar and Elizabeth A
2022-08-15   2022-08-16 enguin-random-house-simon-schuster.html      USs Biggest Publisher Defends Bid for Rival   Harris                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/busines
                        s/dealbook/adam-neumann-wework-
2022-08-15   2022-08-16 startup.html                                 New Venture For Founder Of WeWork             By Andrew Ross Sorkin            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/busines                                                 By Lauren Hirsch Benjamin Mullin
2022-08-15   2022-08-16 s/disney-third-point-loeb-espn-hulu.html     Activist Fund Invests Anew With Disney        and Brooks Barnes                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/busines
2022-08-15   2022-08-16 s/economy/gig-work.html                      Why Gig Work Is Thriving                      By Lydia DePillis                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/busines Slowing China Adds to Plunge In Price of
2022-08-15   2022-08-16 s/energy-environment/oil-prices.html         Oil                                           By Clifford Krauss               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/busines
2022-08-15   2022-08-16 s/heathrow-airport-passenger-limits.html     Heathrow Extends Passenger Limits             By Lora Kelley                   TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/15/busines
2022-08-15   2022-08-16 s/mamaroo-rockaroo-swing-rocker-recall.html Two Million Infant Swings Are Recalled      By April Rubin                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/busines
2022-08-15   2022-08-16 s/media/hbo-max-layoffs.html                HBO Max Lays Off About 70 People            By John Koblin                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/busines
                        s/media/walmart-paramount-plus-streaming- Walmart Streaming Plan Will Include
2022-08-15   2022-08-16 deal.html                                   Paramount                                   By Benjamin Mullin                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/busines Russia Opens Bond Trades To Foreigners
2022-08-15   2022-08-16 s/moscow-exchange-bond-trading.html         But Not All                                 By Eshe Nelson                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/busines Citing Misconduct Claims Starbucks Asks to
2022-08-15   2022-08-16 s/starbucks-union-elections.html            Halt Union Elections                        By Emma Goldberg                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/health/ States Blame Federal MixUps As Monkeypox
2022-08-15   2022-08-16 monkeypox-vaccine-distribution.html         Shots Are Lost                              By Apoorva Mandavilli               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/nyregio Polio Has Parents Uneasy but Doctors Urge By Sharon Otterman and Nate
2022-08-15   2022-08-16 n/polio-new-york-parents-vaccines.html      Vaccinations and Calm                       Schweber                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/nyregio Pain Doctor Convicted of Sexually Assaulting By Jonah E Bromwich and Jan
2022-08-15   2022-08-16 n/ricardo-cruciani-dead-rikers.html         Patients Is Found Dead at Rikers            Ransom                              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/nyregio                                              By Ben Protess William K
2022-08-15   2022-08-16 n/trump-weisselberg-plea-deal.html          Trump Company Executive Near Plea Deal Rashbaum and Jonah E Bromwich            TX 9-207-887   2022-10-14




                                                                                 Page 4126 of 5793
                        https://www.nytimes.com/2022/08/15/opinion
                        /international-world/sri-lanka-economic-   Sri Lanka Collapsed First but It Wont Be the
2022-08-15   2022-08-16 collapse.html                              Last                                         By Indrajit Samarajiva         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/opinion Why Republicans Turned Against the
2022-08-15   2022-08-16 /republicans-environment-climate.html      Environment                                  By Paul Krugman                TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/15/science Invasive Donkeys Have Become Prey in
2022-08-15   2022-08-16 /donkeys-mountain-lions-death-valley.html Death Valley                                 By Asher Elbein                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/science
2022-08-15   2022-08-16 /invasive-species-pigs-crocodiles.html      In Australias Swamps Its Alien vs Predator By Anthony Ham                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/science
2022-08-15   2022-08-16 /sharks-killer-whales-swimming.html         Shark or Orca Which to Fear More           By Randall Munroe               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/sports/b The Sizzling Mets Wield a Pair of Aces It
2022-08-15   2022-08-16 aseball/mets-degrom-scherzer.html           Could Be One of a Kind                     By Rob Neyer                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/sports/b Pete Carril 92 Hall of Fame Coach at
2022-08-15   2022-08-16 asketball/pete-carril-dead.html             Princeton                                  By Frank Litsky                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/theater/ You Are Getting Sleepy When You Wake Up
2022-08-15   2022-08-16 hyprov-comedy.html                          Youll Be an Improv Star                    By Jason Zinoman                TX 9-207-887   2022-10-14
                                                                                                               By Simon Romero Miriam Jordan
                        https://www.nytimes.com/2022/08/15/us/albu Echo of Violence From Afghanistan Rattles Ava Sasani and Nicholas
2022-08-15   2022-08-16 querque-muslim-killings.html                New Mexico Muslims                         BogelBurroughs                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/us/grah Georgia Inquiry on Voting Fraud Targets     By Richard Fausset and Danny
2022-08-15   2022-08-16 am-georgia-investigation-trump.html         Giuliani                                   Hakim                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/us/polit ExWhite House Lawyer Subpoenaed Over       By Luke Broadwater and Maggie
2022-08-15   2022-08-16 ics/eric-herschmann-subpoena.html           Jan 6                                      Haberman                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/us/polit A World War I Spy Law May Be Relevant
2022-08-15   2022-08-16 ics/espionage-act-explainer-trump.html      Again                                      By Julian E Barnes              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/us/polit                                            By Mark Walker and Chris
2022-08-15   2022-08-16 ics/salmon-dams-washington.html             Clearing a Path to Save the Chinook Salmon Cameron                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/us/polit Will Alaskans Support Palins Bid for House
2022-08-15   2022-08-16 ics/sarah-palin-alaska-voters.html          Voters Appear Torn                         By Jazmine Ulloa                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/us/polit
                        ics/senate-gop-ad-wisconsin-pennsylvania-   Republicans Cut Ad Buys For Elections In 3
2022-08-15   2022-08-16 arizona.html                                States                                     By Shane Goldmacher             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/us/polit
2022-08-15   2022-08-16 ics/us-afghanistan-funds-taliban.html       US Wont Release 35 Billion in Afghan Aid By Peter Baker                    TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/15/us/polit US Strike Victims Relatives Stranded in
2022-08-15   2022-08-16 ics/us-drone-strike-afghanistan-relatives.html Afghanistan                              By Eric Schmitt                TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/15/us/polit In Wisconsin 2 Huge Races Stand Between
2022-08-15   2022-08-16 ics/wisconsin-governor-supreme-court.html GOP and NearTotal Reign                       By Reid J Epstein              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/us/sexu Congress to Investigate Sexual Abuse in
2022-08-15   2022-08-16 al-abuse-jrotc-congress.html                Junior ROTC                                 By Mike Baker                  TX 9-207-887   2022-10-14




                                                                                 Page 4127 of 5793
                        https://www.nytimes.com/2022/08/15/world/a In Kenya Vote For a President Ends in          By Declan Walsh Abdi Latif Dahir
2022-08-15   2022-08-16 frica/kenya-election-william-ruto.html     Turmoil                                        and Matthew Mpoke Bigg           TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/15/world/a French Soldiers Quietly Exit Mali Leaving a
2022-08-15   2022-08-16 frica/mali-france-military-operation.html  Struggle Against Islamists Unfinished          By Elian Peltier and Ruth Maclean TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/15/world/a Culture Family and Troops China Lays Out
2022-08-15   2022-08-16 sia/china-taiwan-us.html                   Its Vision for Taiwan                          By Vivian Wang                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/world/a World of Myanmars Former Civilian Leader
2022-08-15   2022-08-16 sia/myanmar-trial-coup-arrests.html        Shrinks to 200SquareFoot Cell                  By Richard C Paddock                TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/15/world/e Griner Appeals Drug Smuggling Verdict
2022-08-15   2022-08-16 urope/brittney-griner-appeals-conviction.html Amid Discussions of Prisoner Exchange       By Ivan Nechepurenko                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/world/e Ukraine Chips Away at Russian Troops in
2022-08-15   2022-08-16 urope/ukraine-retake-southern-region.html     South but Task Is Daunting                  By Michael Schwirtz                 TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/15/world/e
2022-08-15   2022-08-16 urope/ukraine-russia-detention-prisoners.html Six Weeks of Hell Life as a Prisoner of Russia By Carlotta Gall                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/world/ They Loved to Pray Grief for 18 Children
2022-08-15   2022-08-16 middleeast/egypt-church-fire-children.html    Killed in Cairo Church Fire                    By Jane Arraf and Nada Rashwan   TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/15/world/
2022-08-15   2022-08-16 middleeast/salman-rushdie-stabbing-iran.html Iran Blames Rushdie For Attack In New York By Euan Ward                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/us/polit Apprehensions Of Migrants Are on Track For
2022-08-16   2022-08-16 ics/immigration-border.html                   a Record                                    By Eileen Sullivan                  TX 9-207-887   2022-10-14
                                                                                                                  By Glenn Thrush Maggie
                        https://www.nytimes.com/2022/08/15/us/polit Justice Dept Objects to Release of Affidavit Haberman Alan Feuer and Katie
2022-08-16   2022-08-16 ics/trump-search-affidavit.html               Used in Trump Search                        Benner                              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/busines
                        s/energy-environment/electric-vehicles-broken
2022-08-16   2022-08-16 chargers.html                                 EV Hassle Locating A Charger That Works By Niraj Chokshi                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/health/z                                               By Stephanie Nolen and Dado
2022-08-16   2022-08-16 ika-children-research.html                    Zika Virus Is Forgotten But Still Dire      Galdieri                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/sports/t
2022-08-16   2022-08-16 ennis/pickleball-tennis-court.html            It Isnt Tennis but Hell Take a Thwack at It By Kurt Streeter                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/sports/t
                        ennis/serena-williams-western-southern-
2022-08-16   2022-08-16 open.html                                     Williams Keeps Focus On the Grand Finale By Christopher Clarey                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/interactive/2022/08/
                        16/us/politics/liz-cheney-impeachment-        After Cheneys Loss Only Two of the          By Michael C Bender and Malika
2022-08-16   2022-08-16 10.html                                       Impeachment 10 Remain                       Khurana                             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/live/2022/08/16/us/
                        wyoming-election-cheney-alaska/primaries- Three Familiar Republican Faces Headline
2022-08-16   2022-08-16 wyoming-alaska-cheney                         Key Congressional Races                     By Trip Gabriel                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/29/well/fa Here to Help How to Navigate a Quarterlife
2022-07-29   2022-08-17 mily/quarter-life-crisis.html                 Crisis                                      By Dani Blum                        TX 9-207-887   2022-10-14




                                                                                  Page 4128 of 5793
                        https://www.nytimes.com/2022/08/11/dining/t
2022-08-11   2022-08-17 able-lamp-nyc-restaurants.html              The Lamp Thats Taking Over New York          By Priya Krishna              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/dining/
                        best-summer-dinner-recipe-grilled-
2022-08-12   2022-08-17 shrimp.html                                 Some Assembly Will Be Required               By Melissa Clark              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/dining/t
2022-08-12   2022-08-17 aco-recipes-easy-summer-party.html          A Taco Spread for Summers End                By Genevieve Ko               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/movies/
2022-08-12   2022-08-17 action-movies-streaming.html                Prison Brutality Espionage and Brawling      By Robert Daniels             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/opinion The Last Place Left Online for Real
2022-08-13   2022-08-17 /group-chats-social-media.html              Conversation                                 By Hannah Sung                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/arts/mu John L Eastman 83 Representative For
2022-08-15   2022-08-17 sic/john-l-eastman-dead.html                McCartney as the Beatles Battled             By Ben Sisario                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/arts/sal
2022-08-15   2022-08-17 man-rushdie-free-speech.html                Attack on Rushdie Renews a Debate            By Jennifer Schuessler        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/books/f Frederick Buechner Writer on Spirituality and
2022-08-15   2022-08-17 rederick-buechner-dead.html                 Skulduggery Dies at 96                       By Robert D McFadden          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/busines                                               By Liz Alderman and Erika
2022-08-15   2022-08-17 s/war-ukraine-factories.html                Piece by Piece Ukraine Factories Go West     Solomon                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/dining/j
                        ean-georges-vongerichten-tin-building-food- To Graze JeanGeorges Vongerichten
2022-08-15   2022-08-17 hall.html                                   Upgrades the Tin Building                    By Florence Fabricant         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/dining/
2022-08-15   2022-08-17 kafana-restaurant-review-pete-wells.html    Specializing in Serbian Rhythms              By Pete Wells                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/dining/l To Serve Long Island City Adds a Banchan
2022-08-15   2022-08-17 ittle-banchan-shop-hooni-kim.html           Shop                                         By Florence Fabricant         TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/15/dining/ To Grind Sturdy Molcajetes Are Turning
2022-08-15   2022-08-17 masienda-molcajete-mexican-ingredients.html Heads                                          By Florence Fabricant       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/dining/
2022-08-15   2022-08-17 salvage-stores-inflation.html                Dented and Dated Looks Like a Deal            By Kim Severson             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/dining/t To Appreciate Whirlwind of Life And Wine
2022-08-15   2022-08-17 o-fall-in-love-drink-this-alice-feiring.html to Explore                                    By Florence Fabricant       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/dining/t To Participate A Weekend for Tomatoes At
2022-08-15   2022-08-17 omatoes-new-york-botanical-garden.html       the Botanical Garden                          By Florence Fabricant       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/dining/
                        why-does-my-stomach-hurt-helicobacter-
2022-08-15   2022-08-17 pylori.html                                  The Stomach Hosts A Worrisome Guest           By Priya Krishna            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/nyregio
                        n/gary-jenkins-eric-adams-shelter-           City Social Services Chief Is Said to Face    By Andy Newman and Emma G
2022-08-15   2022-08-17 inquiry.html                                 Inquiry Over Shelter Failure                  Fitzsimmons                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/us/warh
2022-08-15   2022-08-17 ol-prince-supreme-court-copyright.html       Art or Copyright Infringement                 By Adam Liptak              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/world/e
2022-08-15   2022-08-17 urope/germanys-trains-9euro-pass.html        In Germany Relief in Form of a 9 Train Pass   By Christopher F Schuetze   TX 9-207-887   2022-10-14



                                                                                 Page 4129 of 5793
                        https://www.nytimes.com/2022/08/16/arts/nat
                        ional-endowment-for-the-humanities-
2022-08-16   2022-08-17 grants.html                                   Humanities Endowment Makes Grants          By Sarah Bahr             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/arts/tele
                        vision/better-call-saul-bob-odenkirk-
2022-08-16   2022-08-17 finale.html                                   Better Call Yourself                       By James Poniewozik       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/arts/tele
                        vision/emmy-awards-kaitlyn-dever-
2022-08-16   2022-08-17 dopesick.html                                 Becoming a Face of Addiction in Dopesick   By Coralie Kraft          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/arts/tele
2022-08-16   2022-08-17 vision/leonardo-the-cw.html                   Familiarity Obscures a Great Vision        By Blake Gopnik           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/books/r
                        eview-as-it-turns-out-edie-andy-warhol-alice-
2022-08-16   2022-08-17 sedgwick-wohl.html                            A Sisters Remembrance of Edie Sedgwick     By Alexandra Jacobs       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/briefing
                        /congress-productive-democrats-               Theyre Divided Dysfunctional and Getting
2022-08-16   2022-08-17 republicans.html                              Things Done                                By David Leonhardt        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/busines
2022-08-16   2022-08-17 s/1-percent-buyback-tax.html                  Why a 1 Buyback Tax Doesnt Scare Investors By Joe Rennison           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/busines Taint Worries Prompt Recall Of 5700 Cases
2022-08-16   2022-08-17 s/capri-sun-recall.html                       Of Capri Sun                               By April Rubin            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/busines Pandemic Fraud Claimed Billions Meant for
2022-08-16   2022-08-17 s/economy/covid-pandemic-fraud.html           Relief                                     By David A Fahrenthold    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/busines
2022-08-16   2022-08-17 s/itt-devry-student-loans.html                US Erases 4 Billion in Student Debt        By Stacy Cowley           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/busines
                        s/mark-hoffman-replaced-cnbc-nbc-             NBCUniversal to Replace Longtime Leader at
2022-08-16   2022-08-17 universal.html                                CNBC                                       By Benjamin Mullin        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/busines After Lowering Its Forecast Walmart Sees
2022-08-16   2022-08-17 s/walmart-earnings.html                       Rise in Sales                              By Jordyn Holman          TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/16/climate States Curbed From Draining A Frail
2022-08-16   2022-08-17 /colorado-river-lake-mead-water-drought.html Lifeline                                      By Henry Fountain       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/climate
                        /russia-conflict-diamonds-kimberley-         Russia Resists Efforts To Declare It Exporter
2022-08-16   2022-08-17 process.html                                 Of Conflict Diamonds                          By Dionne Searcey       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/dining/
                        drinks/wine-review-california-
2022-08-16   2022-08-17 chardonnay.html                              12 Charming California Chardonnays            By Eric Asimov          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/dining/ Cucina Alba Opens Serving Italian at the
2022-08-16   2022-08-17 nyc-restaurant-news.html                     Edge of the High Line                         By Florence Fabricant   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/dining/t
2022-08-16   2022-08-17 aiwanese-cuisine.html                        Taiwanese Cuisine Tells Its Own Story         By Tejal Rao            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/dining/
2022-08-16   2022-08-17 when-restaurants-meet-retail-therapy.html    Dine and Shop at Restaurants With Markets By Nikita Richardson        TX 9-207-887   2022-10-14



                                                                                  Page 4130 of 5793
                        https://www.nytimes.com/2022/08/16/health/ CenturyOld TB Vaccine May Strengthen
2022-08-16   2022-08-17 bcg-vaccine-diabetes-covid.html             Defense Against Other Infections            By Roni Caryn Rabin              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/health/f FDA Decides to Allow OvertheCounter Sales
2022-08-16   2022-08-17 da-hearing-aids.html                        of Hearing Aids                             By Christina Jewett              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/health/ Polio Virus Has Circulated For as Long as
2022-08-16   2022-08-17 polio-new-york.html                         One Year                                    By Emily Anthes                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/movies/
2022-08-16   2022-08-17 sacheen-littlefeather-oscars-apology.html   Oscars Recognize a Moment of Courage        By Amanda Holpuch                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/movies/ Wolfgang Petersen 81 Director of Das Boot
2022-08-16   2022-08-17 wolfgang-petersen-dead.html                 A Cramped Epic Dies                         By AJ Goldmann                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/nyregio ExProsecutor Turned Advocate Is Charged
2022-08-16   2022-08-17 n/adam-foss-charged-rape.html               With Rape in Manhattan                      By Hurubie Meko                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/nyregio Maloneys Primary Pitch to Voters You Need a
2022-08-16   2022-08-17 n/carolyn-maloney-women-nadler.html         Woman for This Job                          By Nicholas Fandos               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/nyregio Cuomo Can Keep 51 Million In Book Money
2022-08-16   2022-08-17 n/cuomo-covid-book-money.html               Judge Says                                  By Jay Root                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/nyregio
                        n/new-york-mob-families-racketeering-       Nine Charged in Scheme Tied to Mafia
2022-08-16   2022-08-17 charges.html                                Gambling And Money Laundering               By Troy Closson                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/opinion
2022-08-16   2022-08-17 /albuquerque-shia-sunni.html                Muslims Should Unite Against Sectarian Hate By Wajahat Ali                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/opinion Every Dollar Spent on This Climate
2022-08-16   2022-08-17 /climate-inflation-reduction-act.html       Technology Is a Waste                       By Charles Harvey and Kurt House TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/16/sports/b
2022-08-16   2022-08-17 aseball/rodolfo-castro-pirates-suspension.html An Infield Phone Error Leads to a Suspension By Benjamin Hoffman        TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/16/sports/b
2022-08-16   2022-08-17 asketball/wnba-playoff-preview.html            Favorites Contenders And Pretenders          By Victor Mather           TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/16/technol A Lyft SelfDriving Service With 2 Drivers
2022-08-16   2022-08-17 ogy/lyft-self-driving-cars-las-vegas.html      Included                                     By Cade Metz               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/16/technol Since Search a Torrent of False Claims by
2022-08-16   2022-08-17 ogy/trump-search-misinfo-timeline.html         Trump                                        By Stuart A Thompson       TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/16/technol How Blind Spots Can Mar the Potential of
2022-08-16   2022-08-17 ogy/workplace-data.html                        Bossware                                     By Shira Ovide             TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/16/us/jesui Jesuits Lag in Fulfilling Pledge As Amends
2022-08-16   2022-08-17 ts-reparations.html                            for Role in Slavery                          By Rachel L Swarns         TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/16/us/polit
2022-08-16   2022-08-17 ics/biden-climate-health-bill.html             Biden Signs Bill on Taxes And Climate        By Jim Tankersley          TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/16/us/polit President Takes a Bow but the Spotlight Stays
2022-08-16   2022-08-17 ics/biden-trump-competition.html               on His Predecessor                           By Peter Baker             TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/16/us/polit
2022-08-16   2022-08-17 ics/biden-vacation-south-carolina.html         No Fuss for Biden Just Sun and Peace         By Aishvarya Kavi          TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/16/us/polit ExMember Of Congress Is Charged With
2022-08-16   2022-08-17 ics/democrat-tj-cox-fraud.html                 Fraud                                        By Glenn Thrush            TX 9-207-887     2022-10-14




                                                                                 Page 4131 of 5793
                        https://www.nytimes.com/2022/08/16/us/polit
2022-08-16   2022-08-17 ics/jill-biden-covid.html                   First Lady Tests Positive for Coronavirus   By Michael D Shear               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/16/us/polit
2022-08-16   2022-08-17 ics/nba-games-election-day.html             The NBA Wont Play on Election Day           By Victor Mather                 TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/16/us/polit Top Democrats Accuse Homeland Security      By Luke Broadwater and Eileen
2022-08-16   2022-08-17 ics/secret-service-texts-jan-6.html         Watchdog of Blocking Jan 6 Testimony        Sullivan                         TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/16/us/polit Judge Throws Out Plea Deals in Submarine
2022-08-16   2022-08-17 ics/spy-couple-toebbe-submarine-jail.html   Spy Case                                    By Julian E Barnes               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/16/us/polit
                        ics/trump-cipollone-philbin-interviews-     FBI Asked ExWhite House Lawyers About
2022-08-16   2022-08-17 fbi.html                                    Missing Trump Documents                     By Maggie Haberman               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/16/world/a Kenyan Opposition Leader Vows to Fight       By Declan Walsh Abdi Latif Dahir
2022-08-16   2022-08-17 frica/kenya-election-results.html           Election Result                             and Matthew Mpoke Bigg           TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/16/world/a The Bitter Contest to Be Hailed as King of the
2022-08-16   2022-08-17 frica/zulu-king-controversy-south-africa.html Zulus                                        By John Eligon                  TX 9-207-887   2022-10-14
                                                                      Clean Toilets Inspired Teachers and Students
                        https://www.nytimes.com/2022/08/16/world/a How Indias Capital Is Fixing Its Public
2022-08-16   2022-08-17 sia/india-delhi-schools.html                  Schools                                      By Karan Deep Singh             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/world/a                                                 By Skandha Gunasekara and Mujib
2022-08-16   2022-08-17 sia/sri-lanka-chinese-ship-india.html         China Docks Military Ship In Sri Lanka       Mashal                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/world/a ExAustralian Prime Minister Secretly Took
2022-08-16   2022-08-17 ustralia/scott-morrison-minister.html         On 5 Other Government Posts                  By Damien Cave                  TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/16/world/e                                               By Michael Schwirtz and Anton
2022-08-16   2022-08-17 urope/crimea-russia-ukraine-explosions.html In Challenge to Putin Ukraine Targets Crimea Troianovski                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/world/e The 1300Pound Walrus That Became a
2022-08-16   2022-08-17 urope/freya-walrus-norway-killed.html        Celebrity And Norway Said a Risk            By Claire Moses                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/world/e Hopeful Signs A Nuclear Deal Will Be
2022-08-16   2022-08-17 urope/iran-us-nuclear-deal.html              Revived                                     By Steven Erlanger                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/world/e Dusty Volunteers Yearning to Dance And        By Maria Varenikova and Emile
2022-08-16   2022-08-17 urope/ukraine-war-cleanup-rave.html          Eager to Help                               Ducke                             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/world/ 10 Years On US Officials Feel New Pressure
2022-08-16   2022-08-17 middleeast/austin-tice-journalist-syria.html to Find Missing Journalist in Syria         By Raja Abdulrahim                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/world/ Coptic Leader Chides Building Restrictions
2022-08-16   2022-08-17 middleeast/coptic-church-fire-egypt.html     After Egypt Fire                            By Jane Arraf                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/world/ Power Struggle in Iraq Intensifies Hobbling
2022-08-16   2022-08-17 middleeast/iraq-parliament.html              Work to Form Government                     By Alissa J Rubin and Emily Rhyne TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/sports/t
                        ennis/serena-williams-raducanu-              Another Early Exit as Williams Moves Ever
2022-08-17   2022-08-17 cincinnati.html                              Closer to the Finish Line                   By Christopher Clarey             TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/16/us/polit Cheney a Vocal Critic of Trump Loses to a
2022-08-17   2022-08-17 ics/harriet-hageman-liz-cheney-wyoming.html Candidate He Backed                         By Jonathan Martin               TX 9-207-887     2022-10-14




                                                                                Page 4132 of 5793
                        https://www.nytimes.com/2022/08/17/insider/
2022-08-17   2022-08-17 staying-cool-on-coney-island.html           Staying Cool on Coney Island               By Sarah Bahr                  TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/sports/b
                        asketball/sabrina-ionescu-liberty-
2022-08-17   2022-08-17 playoffs.html                               Ionescu Soars But Can She Lift The Liberty By Victor Mather               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/sports/h
                        orse-racing/saratoga-jockeys-horse-         This Summer the Jocks Are the Talk of the
2022-08-17   2022-08-17 racing.html                                 Track                                      By Joe Drape                   TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/06/13/crossw Here to Help How to Read and Write a Chess
2022-06-13   2022-08-18 ords/chess/chess-algebraic-notation.html    Game                                       By Isaac Aronow                TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/11/busines
2022-08-11   2022-08-18 s/new-zealand-carbon-farming.html           Trees Will Grow Where Sheep Graze          By Serena Solomon              TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/12/style/ba
2022-08-12   2022-08-18 ma-rush.html                                Sorority Drama Rushes In                   By Madison Malone Kircher      TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/14/books/e Elana Dykewomon 72 Author Who Explored
2022-08-14   2022-08-18 lana-dykewomon-dead.html                    Lesbian Lives                              By Alex Williams               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/15/style/bo
2022-08-15   2022-08-18 ok-recommendations-flow-charts.html         CandyColored Guides to Literary Adventure By Anna Grace Lee               TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/16/arts/tele
2022-08-16   2022-08-18 vision/better-call-saul-jonathan-banks.html  An Honest Goodbye to a Very Tough Guy          By Finn Cohen              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/movies/
2022-08-16   2022-08-18 le-temps-perdu-review.html                   Savoring Proust in Passages and Daily Lives By Nicolas Rapold             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/science
2022-08-16   2022-08-18 /nasa-moon-rocket-launchpad.html             For Artemis Mission Next Stop Is the Moon By Kenneth Chang                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/sports/b
2022-08-16   2022-08-18 aseball/sny-mets-diaz.html                   Come for the Broadcast Stay for the Game       By Noah Gittell            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/style/jo
2022-08-16   2022-08-18 e-biden-aviators.html                        A Familiar Look as Optimism Takes Flight       By Vanessa Friedman        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/us/park 4 Years Later Parkland Survivors Still
2022-08-16   2022-08-18 land-students-march-for-our-lives.html       Speaking Out                                   By Frances Robles          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/world/e UK Struggles With Absence of Leaders but
2022-08-16   2022-08-18 urope/uk-energy-bills-inflation.html         Not of Crises                                  By Stephen Castle          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/opinion Liz Cheney and the Twilight of the Old GOP By Stephanie Muravchik and Jon A
2022-08-17   2022-08-18 /liz-cheney-wyoming.html                     Elite                                          Shields                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/arts/dan The Joyce Theater Names a New
2022-08-17   2022-08-18 ce/joyce-theater-danni-gee.html              Programming Director                           By Julia Jacobs            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/arts/dan
2022-08-17   2022-08-18 ce/review-sarasota-ballet.html               Dusty Baubles And a Springy Frolic             By Brian Seibert           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/arts/des
                        ign/reproductions-museums-sculpture-met-
2022-08-17   2022-08-18 brinkmann-antiquity-polychromy.html          The Colors Of Antiquity                        By Zachary Small           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/arts/gal Library Prized Its Galileo Artifact but Scholar
2022-08-17   2022-08-18 ileo-forgery-university-of-michigan.html     Spotted a Red Flag                             By Michael Blanding        TX 9-207-887   2022-10-14




                                                                              Page 4133 of 5793
                        https://www.nytimes.com/2022/08/17/arts/mu
2022-08-17   2022-08-18 sic/harry-styles-pop-residencies.html        Wont You Stay a Bit Longer                   By Ben Sisario                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/arts/tele
2022-08-17   2022-08-18 vision/she-hulk-tatiana-maslany.html         Shes Smashing In Her New Role                By Alexis Soloski                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/books/r
2022-08-17   2022-08-18 eview-elizabeth-finch-julian-barnes.html     The Rigors of Lessons Beyond the Classroom By Molly Young                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/briefing With Endorsements Former President            By David Leonhardt and Ian Prasad
2022-08-17   2022-08-18 /liz-cheney-gop-donald-trump.html            Continues to Shape the GOP                   Philbrick                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/busines Anshu Jain 59 Dies Turned Deutsche Bank
2022-08-17   2022-08-18 s/dealbook/anshu-jain-dead.html              Into a Financial Titan                       By Emily Flitter                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/busines
2022-08-17   2022-08-18 s/federal-reserve-minutes.html               Fed Officials See Inflation Staying High     By Ben Casselman                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/busines
2022-08-17   2022-08-18 s/inflation-uk.html                          Annual Rate Of Inflation In Britain Hits 101 By Eshe Nelson                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/busines Yellen Outlines 80 Billion Overhaul Plan for
2022-08-17   2022-08-18 s/janet-yellen-irs-overhaul.html             IRS                                          By Alan Rappeport                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/busines Quarterly Profit at Target Sinks Weighed
2022-08-17   2022-08-18 s/target-earnings.html                       Down by Excess Inventory                     By Jordyn Holman                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/busines Top German Gas Importer Reports 122
2022-08-17   2022-08-18 s/uniper-earnings.html                       Billion Loss                                 By Melissa Eddy                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/busines Retail Sales in US Stall With Gasoline Prices
2022-08-17   2022-08-18 s/us-retail-sales-july.html                  in Retreat                                   By Isabella Simonetti             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/health/ Big Pharmacy Chains Must Pay 6505 Million
2022-08-17   2022-08-18 opioids-cvs-walmart-walgreens.html           In an Ohio Opioids Case                      By Jan Hoffman                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/health/ Did I Get Vaccinated Against Polio Calls to
2022-08-17   2022-08-18 polio-vaccine-history-millennials.html       Parents Play Out Across US                   By Remy Tumin                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/nyregio
                        n/catskills-grossinger-hotel-fire-dirty-     Fire Destroys Catskills Hotel That Inspired
2022-08-17   2022-08-18 dancing.html                                 Dirty Dancing                                By Liam Stack                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/nyregio Im Done With Him Says Mother of Suspect By Chelsia Rose Marcius Tracey
2022-08-17   2022-08-18 n/salman-rushdie-stabbing-suspect.html       In Rushdie Stabbing                          Tully and Ana FacioKrajcer        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/nyregio Trump Executive Faces Prison Over Guilty By Ben Protess William K
2022-08-17   2022-08-18 n/weisselberg-trump-plea-testify.html        Plea in Tax Scheme                           Rashbaum and Jonah E Bromwich TX 9-207-887       2022-10-14
                        https://www.nytimes.com/2022/08/17/opinion Reading Books in Prison Saved Me Why Ban
2022-08-17   2022-08-18 /banned-books-prison.html                    Them                                         By Christopher Blackwell          TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/17/opinion To Stop the Spread of Polio Dont Shame
2022-08-17   2022-08-18 /polio-vaccine-orthodox-jewish-religion.html Religious Groups                          By Jeneen Interlandi               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/17/science Raymond Damadian 86 Is Dead Creator of the
2022-08-17   2022-08-18 /raymond-damadian-dead.html                  First MRI Scanner                         By Richard Sandomir                TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/17/sports/g Woods and PGA Players Discuss Strategy for
2022-08-17   2022-08-18 olf/liv-golf-reed-woods.html                 LIV                                       By Jesus Jimnez                    TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/17/technol Tech Tools Can Write Happy Endings to
2022-08-17   2022-08-18 ogy/personaltech/tech-travel.html            Travel Horror Stories                     By Brian X Chen                    TX 9-207-887     2022-10-14




                                                                                Page 4134 of 5793
                        https://www.nytimes.com/2022/08/17/travel/o
2022-08-17   2022-08-18 nline-travel-planning.html                  Online Travel Planning Gets a Little Easier  By Elaine Glusac                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/us/giuli Grand Jury Questions Giuliani in Atlanta but
2022-08-17   2022-08-18 ani-trump-atlanta-ga.html                   Its Unclear if He Answers                    By Richard Fausset                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/us/liz- Cheneys Primary Loss Is Just One Battle in
2022-08-17   2022-08-18 cheney-trump.html                           Mission to Thwart Trump                      By Jonathan Martin                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/us/ohio- Ohio Family Killed 8 Over Custody
2022-08-17   2022-08-18 rhoden-family-murder-trial.html             Prosecutors Say                              By Michael Levenson                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/us/polit Failings of CDC Prompt a Rebuke And an       By Sharon LaFraniere and Noah
2022-08-17   2022-08-18 ics/cdc-rochelle-walensky-covid.html        Overhaul                                     Weiland                             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/us/polit
2022-08-17   2022-08-18 ics/liz-cheney-republicans.html             Cheney Loss May Cement GOPs Path             By Shane Goldmacher                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/us/polit
2022-08-17   2022-08-18 ics/mary-peltola-ak.html                    Democrat Leads Alaska House Race             By Jazmine Ulloa                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/us/polit Pence Calls on Republicans to Stop Assailing By Alan Feuer and Luke
2022-08-17   2022-08-18 ics/pence-fbi-jan-6.html                    FBI After Search at MaraLago                 Broadwater                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/world/a
                        frica/angola-president-jose-eduardo-dos-    Leaders Body Can Go Back To Angola Judge By Jos Bautista Gilberto Neto and
2022-08-17   2022-08-18 santos.html                                 Rules                                        Lynsey Chutel                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/world/a
                        mericas/mexico-president-renewable-         Mexico Veers Sharply Away From
2022-08-17   2022-08-18 energy.html                                 Renewable Energy                             By Oscar Lopez                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/world/a North Korea Launches 2 Missiles in Test
2022-08-17   2022-08-18 sia/north-korea-missile-launch.html         Despite Olive Branch From the South          By Choe SangHun                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/world/c
                        anada/quebec-cardinal-sexual-               In Quebec Lawsuit Woman Accuses Cardinal
2022-08-17   2022-08-18 misconduct.html                             of Sexual Misconduct                         By Ian Austen and Gaia Pianigiani   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/world/e We Are Literally Sinking Britons Face Hard
2022-08-17   2022-08-18 urope/britain-inflation-prices.html         Choices as Prices Soar                       By Emma Bubola and Euan Ward        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/world/e
                        urope/monkeypox-vaccine-inequality-         Outbreak of Monkeypox in Europe Gives Rise By Monika Pronczuk and Emma
2022-08-17   2022-08-18 europe.html                                 to Vaccine Tourism                           Bubola                              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/world/e How Much for Bacon Feeling Squeezed at
2022-08-17   2022-08-18 urope/uk-inflation-breakfast-prices.html    Breakfast                                    By Euan Ward                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/world/e
                        urope/ukraine-partisans-insurgency-         Ukrainians Behind Enemy Lines Tell Invaders
2022-08-17   2022-08-18 russia.html                                 Youre Never Safe                             By Andrew E Kramer                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/world/e UK BattleTests Ukraines Recruits in a Town
2022-08-17   2022-08-18 urope/ukraine-recruits-england-russia.html  Far Away From the Front                      By Cora Engelbrecht                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/world/
                        middleeast/israel-turkey-relations-         Israel and Turkey to Renew Relations After
2022-08-17   2022-08-18 ambassadors.html                            4Year Chill                                  By Isabel Kershner                  TX 9-207-887   2022-10-14




                                                                                 Page 4135 of 5793
                        https://www.nytimes.com/2022/08/17/world/
                        middleeast/palestinian-leader-accused-israel- Palestinian Leader Accused Israel of 50
2022-08-17   2022-08-18 of-50-holocausts-causing-an-uproar.html       Holocausts Causing an Uproar                By Isabel Kershner              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/article/kobe-         Bryants Widow Prepares to Take the Stand In
2022-08-17   2022-08-18 vanessa-bryant-lawsuit.html                   Her Lawsuit Against Los Angeles County      By Jonathan Abrams              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/article/west-nile- West Nile What You Should Know About
2022-08-17   2022-08-18 virus-nyc.html                                Virus                                       By Hurubie Meko                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/live/2022/08/17/bus
                        iness/economy-news-inflation-stocks/esg-      Shareholders Mostly Reject Bids to Undo
2022-08-17   2022-08-18 shareholder-proposals                         ESG Plans                                   By Lauren Hirsch                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/style/m
2022-08-18   2022-08-18 atilda-djerf-gen-z.html                       Making Matilda Djerf a Household Name       By Elizabeth Paton              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/us/abor Teenager Used Abortion Pills Her Mother Is By Shaila Dewan and Sheera
2022-08-18   2022-08-18 tion-prosecution-nebraska.html                Facing Charges                              Frenkel                         TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/18/world/a Mexico Describes the Disappearance of 43
2022-08-18   2022-08-18 mericas/mexico-students-disappearance.html Students in 2014 as a Crime of the State    By Oscar Lopez                     TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/15/opinion The Art of Choosing What to Do With Your    By Benjamin Storey and Jenna
2022-08-15   2022-08-19 /college-students-happiness-liberal-arts.html Life                                     Silber Storey                      TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/16/busines Tall Order Short Time Building Owners Rush
2022-08-16   2022-08-19 s/new-york-real-estate-climate-change.html To Reduce Emissions                         By Jane Margolies                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/busines
2022-08-17   2022-08-19 s/china-economy-real-estate-crisis.html     Mortgages Face Boycott In China            By Daisuke Wakabayashi             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/movies/
2022-08-17   2022-08-19 learn-to-swim-review.html                   Learn to Swim                              By Lisa Kennedy                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/movies/
2022-08-17   2022-08-19 look-both-ways-review.html                  Look Both Ways                             By Natalia Winkelman               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/us/texa
2022-08-17   2022-08-19 s-school-books-removed-bible.html           Bible Among Books Withheld From Schools By Amanda Holpuch                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/busines USTaiwan Trade Talks To Start Defying
2022-08-18   2022-08-19 s/economy/us-taiwan-trade-talks.html        China                                      By Ana Swanson                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/arts/dan                                            By Gia Kourlas and Angelo Silvio
2022-08-18   2022-08-19 ce/beach-sessions-trisha-brown.html         Dancing With the Waves                     Vasta For The New York Times       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/arts/des
                        ign/billboard-sunset-strip-los-angeles-
2022-08-18   2022-08-19 wiscombe-architecture-ads.html              Reinventing the Sign on a Stick            By Joseph Giovannini               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/arts/des Quest for Lost Cambodia Artifacts Leads to By Tom Mashberg and Graham
2022-08-18   2022-08-19 ign/met-artifacts-cambodia.html             Met                                        Bowley                             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/arts/des
                        ign/tiona-nekkia-mcclodden-52-walker-
2022-08-18   2022-08-19 review.html                                 Her Art Comes Without Trigger Warnings     By Roberta Smith                   TX 9-207-887   2022-10-14




                                                                               Page 4136 of 5793
                        https://www.nytimes.com/2022/08/18/arts/tele
                        vision/bad-sisters-sprung-bananaland-
2022-08-18   2022-08-19 streaming.html                               This Weekend I Have                         By Margaret Lyons                  TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/18/arts/tele Experiencing Beaches A Little Differently
2022-08-18   2022-08-19 vision/emmy-lily-james-pam-and-tommy.html Now                                            By Elisabeth Vincentelli           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/busines Big Investor Sells Stake In Troubled Home
2022-08-18   2022-08-19 s/bed-bath-beyond-shares.html                Chain                                       By Lauren Hirsch                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/busines Sun Belt Cities Top the Nation In Rising
2022-08-18   2022-08-19 s/economy/sun-belt-inflation.html            Costs                                       By Jeanna Smialek                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/busines When to Buy Electric Car Rules Just Got
2022-08-18   2022-08-19 s/electric-vehicle-tax-credits.html          Trickier                                    By Jim Tankersley                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/busines                                               By Stephen Gandel and Gregory
2022-08-18   2022-08-19 s/home-sales-drop-july.html                  High Rates Still Restrain Home Sales        Schmidt                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/busines
                        s/media/cnn-brian-stelter-reliable-
2022-08-18   2022-08-19 sources.html                                 CNN Cancels Media Show Host Departs         By Benjamin Mullin                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/climate Researchers Alter Genes To Refine             By Raymond Zhong and Clare
2022-08-18   2022-08-19 /gmo-food-soybean-photosynthesis.html        Photosynthesis And Improve Crops Yield      Toeniskoetter                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/movies/
2022-08-18   2022-08-19 beast-review.html                            An Angry Lion but More Bore Than Roar       By Manohla Dargis                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/movies/
2022-08-18   2022-08-19 delias-gone-review.html                      Delias Gone                                 By Glenn Kenny                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/movies/ Oh No Earths Threatened We All Know
2022-08-18   2022-08-19 dragon-ball-super-super-hero-review.html     Whats Next                                  By Calum Marsh                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/movies/
2022-08-18   2022-08-19 orphan-first-kill-review.html                Orphan First Kill                           By Ben Kenigsberg                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/movies/
2022-08-18   2022-08-19 spin-me-round-review.html                    If Italy Were Olive Garden                  By Amy Nicholson                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/movies/
2022-08-18   2022-08-19 the-immaculate-room-review.html              The Immaculate Room                         By Lena Wilson                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/movies/
2022-08-18   2022-08-19 the-legend-of-molly-johnson-review.html      The Legend Of Molly Johnson                 By Teo Bugbee                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/movies/
2022-08-18   2022-08-19 the-territory-review.html                    A Moving Eyewitness To Amazon Plunder       By Claire Shaffer                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/movies/
2022-08-18   2022-08-19 three-minutes-a-lengthening-review.html      Three Minutes A Lengthening                 By Beatrice Loayza                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/nyregio Andrew J Maloney 90 Prosecutor Who
2022-08-18   2022-08-19 n/andrew-maloney-dead.html                   Finally Took Down Gotti Dies                By Joseph P Fried and Clay Risen   TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/18/nyregio In Replay From Covid Disparities Over         By Sharon Otterman Joseph
2022-08-18   2022-08-19 n/monkeypox-vaccine-racial-disparities.html Access                                       Goldstein and Liam Stack           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/nyregio
2022-08-18   2022-08-19 n/nyc-congestion-pricing-manhattan.html     What to Expect From Congestion Pricing       By Ana Ley                         TX 9-207-887   2022-10-14




                                                                                Page 4137 of 5793
                        https://www.nytimes.com/2022/08/18/nyregio
                        n/prosecutor-police-watchdog-               Harassment Allegations End Offer of
2022-08-18   2022-08-19 harassment.html                             Watchdog Job to Prosecutor                    By Ashley Southall               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/nyregio                                                By Jonah E Bromwich Ben Protess
2022-08-18   2022-08-19 n/weisselberg-trump-guilty-plea.html        Trumps CFO Admits to Role In Tax Scheme and William K Rashbaum                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/obituari Hanae Mori 96 Dies Trailblazing Couturier
2022-08-18   2022-08-19 es/hanae-mori-dead.html                     Who Blended Designs                           By Robert D McFadden             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/opinion
                        /columnists/frederick-buechner-inner-
2022-08-18   2022-08-19 depths.html                                 The Man Who Found His Inner Depths            By David Brooks                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/opinion
2022-08-18   2022-08-19 /joe-biden-achievements-president.html      What Biden Has and Hasnt Done                 By Paul Krugman                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/opinion The FBI Is a Deeply Conservative Institution
2022-08-18   2022-08-19 /trump-fbi-conservative.html                Not a Woke Mob                                By Garrett M Graff               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/sports/b A Face of the Future Becomes the Man of the
2022-08-18   2022-08-19 aseball/brett-baty-mets.html                Hour for the Mets                             By Gary Phillips                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/sports/b
                        rewers-slide-dodgers-reporter-broken-       IllFated Slide Breaks Wrist But Not Spirit Of
2022-08-18   2022-08-19 wrist.html                                  a Reporter                                    By Jesus Jimnez                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/sports/f
                        ootball/deshaun-watson-suspension-11-       Watson Gets 11Game Suspension Plus a
2022-08-18   2022-08-19 games.html                                  Record Fine of 5 Million                      By Jenny Vrentas and Ken Belson TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/18/sports/n With 7 Billion Television Deal Big Ten
2022-08-18   2022-08-19 caafootball/big-ten-deal-tv.html            Follows NFL Playbook                          By Alan Blinder and Kevin Draper TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/sports/s Buyers Line Up for a Soccer Team Thats Not
2022-08-18   2022-08-19 occer/manchester-united-sale.html           for Sale                                      By Tariq Panja                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/technol
2022-08-18   2022-08-19 ogy/crypto-crash-investments.html           Investors Seek Return Of Crypto               By David YaffeBellany            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/technol
                        ogy/facebook-instagram-robert-kennedy-jr-
2022-08-18   2022-08-19 misinformation.html                         Platforms Drop KennedyLed Account             By Sheera Frenkel                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/theater/
2022-08-18   2022-08-19 patience-review-second-stage.html           Hes the Champion And in Her Sights            By Laura CollinsHughes           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/us/desa Voter Fraud Inquiry Nets 17 Arrests DeSantis
2022-08-18   2022-08-19 ntis-election-voter-fraud.html              Says                                          By Michael Wines                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/us/jame 3 Men Indicted in Killing Of Bulger in Prison
2022-08-18   2022-08-19 s-whitey-bulger-killing-charges.html        in 18                                         By Eliza Fawcett                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/us/polit
                        ics/judge-bruce-reinhart-trump-mar-a-                                                     By Zach Montague and Frances
2022-08-18   2022-08-19 lago.html                                   Suddenly a Focus of Unwelcome Attention       Robles                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/us/polit PostRoe Mothers In Mississippi Get Minimal
2022-08-18   2022-08-19 ics/mississippi-abortion-medicaid-roe.html  Support                                       By Sheryl Gay Stolberg           TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/18/us/polit Monkeypox Vaccine Plan Prods Local         By Sheryl Gay Stolberg Sharon
2022-08-18   2022-08-19 ics/monkeypox-vaccine-intradermal-dose.html Officials to Adopt New Dosing              Otterman and Apoorva Mandavilli TX 9-207-887       2022-10-14



                                                                                Page 4138 of 5793
                        https://www.nytimes.com/2022/08/18/us/polit
2022-08-18   2022-08-19 ics/texas-gillespie-elections-threats.html  All 3 Election Officials Quit in Texas County By Neil Vigdor                    TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/us/polit Trump Affidavit May Be Unsealed With
2022-08-18   2022-08-19 ics/trump-fbi-affidavit-warrant.html        Redactions                                    By Patricia Mazzei and Alan Feuer TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/us/polit
2022-08-18   2022-08-19 ics/trump-fbi-classified-documents.html     Why Did Trump Keep the Papers                 By Maggie Haberman                TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/world/a                                                By Cora Engelbrecht and
2022-08-18   2022-08-19 frica/algeria-wildfires.html                Wildfires Kill at Least 37 People in Algeria Massinissa Benlakehal              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/world/a I Have Nothing Left Flooding Ravages           By Yaqoob Akbary Christina
2022-08-18   2022-08-19 sia/afghanistan-flood-taliban.html          Afghanistan Adding to Villagers Misery        Goldbaum and Kiana Hayeri         TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/world/a Chinas Extreme Heat Wave Adds Strain on Its
2022-08-18   2022-08-19 sia/china-heat-drought.html                 Weakened Economy                              By Tiffany May and Joy Dong       TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/world/e
2022-08-18   2022-08-19 urope/drought-heat-energy.html              We Need Water A Parched Europe Swelters By Jason Horowitz                       TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/world/e
                        urope/finland-prime-minister-sanna-marin-   Finlands Prime Minister Draws Ire Over
2022-08-18   2022-08-19 parties.html                                Party Video                                   By Johanna Lemola                 TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/world/e
                        urope/greece-port-russia-ukraine-           Sleepy Greek Port Turns Into Pivotal Transit By Niki Kitsantonis and Anatoly
2022-08-18   2022-08-19 weapons.html                                Point For American Military                   Kurmanaev                         TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/world/e As Inflation Roils Britain Top Politicians
2022-08-18   2022-08-19 urope/uk-inflation-cost-of-living.html      Largely Sidestep the Issue                    By Mark Landler                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/world/e Train Strikes in Britain Add to Summer
2022-08-18   2022-08-19 urope/uk-train-strikes.html                 Turmoil                                       By Isabella Kwai                  TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/world/e Opposing Forces Accuse Each Other of           By Marc Santora Andrew E Kramer
2022-08-18   2022-08-19 urope/ukraine-russia-nuclear-plant.html     Plotting Attack on Nuclear Plant              and Thomas GibbonsNeff            TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/18/world/ Israeli Soldiers Ransack Palestinian Rights
2022-08-18   2022-08-19 middleeast/israel-palestinian-groups-raid.html Groups                                     By Raja Abdulrahim                TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/arts/mu Woman Testifies R Kelly Sexually Abused
2022-08-19   2022-08-19 sic/r-kelly-victim-testimony.html              Her at 14                                  By Robert Chiarito and Julia Jacobs TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/arts/tele
2022-08-19   2022-08-19 vision/house-of-the-dragon-review.html         Palace Intrigue And Gouts Of Flame         By Mike Hale                      TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/insider/
2022-08-19   2022-08-19 productivity-tracker.html                      We Can Tell Youre Idling Not Really        By Kate Dwyer                     TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/us/polit
                        ics/more-money-for-irs-spurs-conspiracy-                                                  By Alan Rappeport and Tiffany
2022-08-19   2022-08-19 theories-of-shadow-army.html                   RightWing Fury at IRS Overhaul             Hsu                               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/17/arts/tele
2022-08-17   2022-08-20 vision/emmy-natasha-rothwell.html              After All That Beer a Round of Accolades   By Kalia Richardson               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/17/t-
2022-08-17   2022-08-20 magazine/aria-dean-whitney-biennial.html       Adia Dean                                  By MH Miller                      TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/arts/mu Abdul Wadud 75 Cellist With Classical
2022-08-18   2022-08-20 sic/abdul-wadud-dead.html                      Ensembles and CuttingEdge Composers        By Seth Colter Walls              TX 9-207-887     2022-10-14




                                                                                  Page 4139 of 5793
                        https://www.nytimes.com/2022/08/18/arts/mu
2022-08-18   2022-08-20 sic/james-gaffigan-conductor.html           Collegiality Distinguishes A Conductor    By David Allen                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/obituari Norah Vincent Who Chronicled Passing as a
2022-08-18   2022-08-20 es/norah-vincent-dead.html                  Man Is Dead at 53                         By Penelope Green                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/theater/
2022-08-18   2022-08-20 take-me-out-return-to-broadway.html         Take Me Out to Return to Broadway         By Nicole Herrington                 TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/18/world/a From the Untamed North Resisting the          By Christina Goldbaum Najim
2022-08-18   2022-08-20 sia/afghanistan-uprising-taliban-mahdi.html Taliban                                      Rahim and Kiana Hayeri            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/arts/mu
2022-08-19   2022-08-20 sic/ukrainian-freedom-orchestra.html         Defiance Declared Through Dignity           By Zachary Woolfe                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/arts/tele
2022-08-19   2022-08-20 vision/bad-sisters-review.html               Theyre Out For Revenge And Laughs           By Mike Hale                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/arts/tele
                        vision/house-of-the-dragon-ryan-condal-
2022-08-19   2022-08-20 miguel-sapochnik.html                        Revisiting Westeros Back Then               By Jeremy Egner                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/books/p                                               By Elizabeth A Harris Alexandra
2022-08-19   2022-08-20 rh-penguin-random-house-trial.html           Trial Offers Peek Inside Publishing World   Alter and Adam Bednar             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/briefing During Summer Tide Of War Has Shifted In     By David Leonhardt and Claire
2022-08-19   2022-08-20 /russia-ukraine-war-donbas.html              Favor of Ukraine                            Moses                             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/busines
                        s/chinese-canadian-billionaire-xiao-jianhua-
2022-08-19   2022-08-20 sentenced.html                               ExFinancier To Chinas Elite Is Sentenced    By Alexandra Stevenson            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/busines                                               By Jason Karaian and Veronica
2022-08-19   2022-08-20 s/elasticity-prices-inflation.html           How Sensitive To High Costs Are Buyers      Majerol                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/busines Junk Bonds Stage a Comeback as Investors
2022-08-19   2022-08-20 s/junk-bonds.html                            Regain Risk Appetite                        By Joe Rennison                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/busines Resurgence of Meme Stocks Amid Broader        By Joe Rennison and Stephen
2022-08-19   2022-08-20 s/meme-stocks-bed-bath-beyond.html           Market Rally                                Gandel                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/busines
2022-08-19   2022-08-20 s/retailers-sales-inflation.html             New Habits Force Retail To Adapt            By Jordyn Holman                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/movies/
2022-08-19   2022-08-20 nasty-women-cinema.html                      Rewriting Women Back Into Film History      By Manohla Dargis                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/movies/ Tension and Trust in the Conflict Over the
2022-08-19   2022-08-20 the-territory-behind-the-scenes.html         Amazon Rainforest                           By Nicolas Rapold                 TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/19/nyregio 9 Million in Super PAC Funding Has Flooded
2022-08-19   2022-08-20 n/super-pac-ny-primaries.html              Into New Yorks Congressional Races         By Dana Rubinstein                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/opinion
2022-08-19   2022-08-20 /kyrsten-sinema-tax-bill.html              The New Tax Bill Doesnt Touch the Wealthy By Steven Rattner                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/opinion The Mirage of Womens Freedom in Saudi
2022-08-19   2022-08-20 /saudi-arabia-women-rights.html            Arabia                                     By Megan K Stack                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/opinion
2022-08-19   2022-08-20 /trump-mar-a-lago-records.html             The FBI Can Pursue Trump Thanks to Nixon By Tim Weiner                          TX 9-207-887   2022-10-14




                                                                                Page 4140 of 5793
                        https://www.nytimes.com/2022/08/19/sports/f
                        ootball/deshaun-watson-apology-nfl-         Goodells Search For Remorse Fails In the
2022-08-19   2022-08-20 suspension.html                             Watson Case                                   By Ken Belson                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/sports/n
2022-08-19   2022-08-20 caabasketball/pete-carril-princeton.html    A Coachs Simple Yet Sophisticated Legacy      By Billy Witz                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/sports/n
                        caafootball/big-ten-tv-deal-student-        Players of Big Ten Unsure if TV Deal Will
2022-08-19   2022-08-20 athletes.html                               Enrich Them                                   By Kris Rhim and Jesus Jimnez   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/sports/u Saudi Arabia as Backdrop And War in
2022-08-19   2022-08-20 syk-joshua-fight-saudi-arabia.html          Background                                    By Morgan Campbell              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/technol Research Shows TikTok Can Track                By Paul Mozur Ryan Mac and
2022-08-19   2022-08-20 ogy/tiktok-browser-tracking.html            Keystrokes                                    Chang Che                       TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/theater/
2022-08-19   2022-08-20 black-outsiders-london-plays.html           On the Outside And Looking In                 By Maya Phillips                TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/us/airta After Luggage Went Missing AirTag Helped
2022-08-19   2022-08-20 gs-luggage-theft.html                       Find the Thief                                By Daniel Victor                TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/us/beto- ORourke Goes Looking for Votes in Deep
2022-08-19   2022-08-20 orourke-texas-governor.html                 Red Texas                                     By J David Goodman              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/us/gavi
2022-08-19   2022-08-20 n-newsom-injection-site-bill.html           Injection Sites Are Litmus Test for Newsom    By Jill Cowan                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/us/linds Graham Is Told to Appear Before Trump
2022-08-19   2022-08-20 ey-graham-atlanta-grand-jury-trump.html     Grand Jury                                    By Richard Fausset              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/us/polit In Climate Fight Executive Action Is Latest   By Lisa Friedman and Jim
2022-08-19   2022-08-20 ics/biden-climate-bill-emissions.html       Weapon                                        Tankersley                      TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/us/polit DeSantis Thinking of 2024 Election Reaches    By Trip Gabriel and Patricia
2022-08-19   2022-08-20 ics/desantis-mastriano-jd-vance.html        Out to the Far Right                          Mazzei                          TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/us/polit
                        ics/doug-mastriano-republicans-             Pennsylvania Republicans Shift Support to
2022-08-19   2022-08-20 pennsylvania.html                           Mastriano                                     By Trip Gabriel                 TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/us/polit
                        ics/fact-check-health-claims-inflation-     Inflation Reduction Act Spurs Misleading
2022-08-19   2022-08-20 reduction-act.html                          Claims About Drug Prices                      By Linda Qiu                    TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/19/us/polit Islamic State Militant Gets Life in Killing of By Glenn Thrush and Adam
2022-08-19   2022-08-20 ics/islamic-state-beatles-killings-elsheikh.html Hostages                                  Goldman                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/us/polit Doctors Finding Abortion Bans Hard to
2022-08-19   2022-08-20 ics/louisiana-abortion-law.html                  Decode                                    By Ava Sasani and Emily Cochrane TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/us/polit Conservatives Seek to Block Michigan
2022-08-19   2022-08-20 ics/michigan-abortion-amendment.html             Abortion Amendment Citing Typography      By Maggie Astor                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/us/polit Sites Urged To Address Threats Made In Web
2022-08-19   2022-08-20 ics/social-media-threats-fbi-trump.html          Posts                                     By Aishvarya Kavi                TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/19/us/polit Justices Halt Election Law Said to Harm
2022-08-19   2022-08-20 ics/supreme-court-black-voters-georgia.html Black Voters                                  By Adam Liptak                  TX 9-207-887     2022-10-14




                                                                                 Page 4141 of 5793
                        https://www.nytimes.com/2022/08/19/us/vane Bryants Widow Speaks About Grief and
2022-08-19   2022-08-20 ssa-bryant-testimony-kobe-bryant.html         Distress At Trial on Crash Photos          By Jill Cowan and Vik Jolly        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/world/a Russia Funded a Nations Liberation Fight
2022-08-19   2022-08-20 frica/guinea-bissau-russia-gomes.html         One Lawmaker Hasnt Forgotten               By Ricci Shryock                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/world/a
2022-08-19   2022-08-20 frica/kenya-election-odinga.html              Voting Bloc In Kenya Once Loyal Steps Back By Abdi Latif Dahir                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/world/a Nafis Sadik 92 Dies Champion of Choice
2022-08-19   2022-08-20 sia/nafis-sadik-dead.html                     And a Top UN Official                      By Ed Shanahan                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/world/e Dmitri Vrubel 62 Artist Who Planted a
2022-08-19   2022-08-20 urope/dmitri-vrubel-dead.html                 Startling Kiss on Remains of Berlin Wall   By Christopher F Schuetze          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/world/e
                        urope/europe-russia-tourists-visas-           Europeans Debate Barring Tourists From     By Steven Erlanger and Neil
2022-08-19   2022-08-20 ukraine.html                                  Russia Over Ukraine Invasion               MacFarquhar                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/world/e Grim Ending for Freya a Walrus Oslo Adored
2022-08-19   2022-08-20 urope/norway-walrus-freya-killed.html         Perhaps Too Much                           By Jason Horowitz                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/world/e Attacks in Crimea Rattle an Area Moscow       By Marc Santora Eric Schmitt and
2022-08-19   2022-08-20 urope/ukraine-russia-crimea.html              Has Long Considered Secured                Michael Levenson                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/live/2022/08/20/wo
                        rld/ukraine-russia-news-war/the-pentagons-
                        latest-package-includes-up-to-775-million-of- 775 Million in US Rockets and Other Aid to
2022-08-19   2022-08-20 weapons-and-supplies-from-its-stockpile       Bolster Ukraine on Twin Fronts             By Eric Schmitt                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/busines
2022-08-20   2022-08-20 s/economy/pharmacists-job-inflation.html      Why Working At Pharmacies Lost Its Luster By Noam Scheiber                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/nyregio When a Key New York Primary Cuts Into
2022-08-20   2022-08-20 n/primaries-absentee-hamptons.html            Voters Beach Time                          By Nicholas Fandos                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/technol
2022-08-20   2022-08-20 ogy/find-my-app-friends.html                  Tracking Whos Where and When               By Kalley Huang                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/world/e
                        urope/olaf-scholz-germany-mahmoud-            German Chancellor Had Rocky Start and
2022-08-20   2022-08-20 abbas.html                                    Things Arent Any Getting Better            By Katrin Bennhold                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/your-
2022-08-20   2022-08-20 money/college-graduate-earnings.html          When Considering Colleges Shop Differently By Ron Lieber                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/06/14/books/r
                        eview/the-british-surrealists-desmond-
2022-06-14   2022-08-21 morris.html                                   The Most Dangerous Game                    By Adrian Dannatt                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/06/29/books/l
2022-06-29   2022-08-21 isbon-portugal-books.html                     Read Your Way Through Lisbon               By Djaimilia Pereira de Almeida    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/12/books/r
2022-07-12   2022-08-21 eview/k-ming-chang-gods-of-want.html          Translocation as Transformation            By Alexandra Kleeman               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/12/books/r
2022-07-12   2022-08-21 eview/total-stories-rebecca-miller.html       Strangely Familiar                         By Lynn Steger Strong              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/16/books/r
                        eview/isaac-fitzgerald-dirtbag-
2022-07-16   2022-08-21 massachusetts.html                            Sin of Man                                 By Michael Ian Black               TX 9-207-887   2022-10-14




                                                                                Page 4142 of 5793
                        https://www.nytimes.com/2022/07/26/books/r
                        eview/mercury-pictures-presents-anthony-
2022-07-26   2022-08-21 marra.html                                  Once Upon a Time in Hollywood               By Matthew Specktor             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/30/books/r
                        eview/banana-yoshimoto-dead-end-
2022-07-30   2022-08-21 memories.html                               Unafraid to Feel                            By Brandon Taylor               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/books/r
2022-08-02   2022-08-21 eview/boulder-eva-baltasar.html             She Is a Rock She Is an Island              By Greg Mania                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/books/r
2022-08-02   2022-08-21 eview/nevala-lee-inventor-future.html       Career Builder                              By Witold Rybczynski            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/05/books/r
2022-08-05   2022-08-21 eview/adam-levin-mount-chicago.html         Breaking Ground                             By Dan Chaon                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/t-
                        magazine/market-report-decorative-
2022-08-08   2022-08-21 bowls.html                                  Decorative Bowls                            By Mari Maeda and Yuji Oboshi   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/t-                                                   By James Brodribb and Shibon
2022-08-09   2022-08-21 magazine/furry-fluffy-fall-fashion.html     Hot Fuzz                                    Kennedy                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/t-
                        magazine/jean-charlot-honolulu-hawaii-                                                  By Matthew Dekneef and Mariko
2022-08-09   2022-08-21 home.html                                   A House for Hawaii                          Reed                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/t-
2022-08-10   2022-08-21 magazine/classic-pumps-heels-shoes.html     Classic Pumps                               By Mari Maeda and Yuji Oboshi   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/t-
                        magazine/miguel-andrade-valdez-lima-                                                    By Michael Snyder and Ivan
2022-08-10   2022-08-21 home.html                                   The Light House                             Salinero                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/books/r
                        eview/portrait-of-an-unknown-woman-daniel-
2022-08-11   2022-08-21 silva.html                                  Quiet as a Spouse                           By Elisabeth Egan               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/t-
2022-08-11   2022-08-21 magazine/art-mass-incarceration-prison.html From the Outside In                         By Adam Bradley                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/t-
2022-08-11   2022-08-21 magazine/luca-guadagnino-fireplace.html     Another Thing                               By Nancy Hass                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/t-
                        magazine/bulgari-tourmaline-blossom-
2022-08-12   2022-08-21 earrings.html                               The Thing                                   By Nancy Hass                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/13/nyregio
2022-08-13   2022-08-21 n/new-york-primaries-guide.html             New Yorks Primary Elections Enter Round 2   By Jeffery C Mays               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/books/r
2022-08-14   2022-08-21 eview/complicit-winnie-m-li.html            Complicit                                   By Elisabeth Egan               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/14/style/a-
2022-08-14   2022-08-21 bout-of-amnesia.html                        My Fathers Lost Hours and My Anxiety        By Josh Gondelman               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/books/r
                        eview/audiobook-or-podcast-doesnt-really-
2022-08-15   2022-08-21 matter.html                                 Wild True Tales                             By Sebastian Modak              TX 9-207-887   2022-10-14




                                                                               Page 4143 of 5793
                        https://www.nytimes.com/2022/08/15/magazi The Arizona Republican Partys
2022-08-15   2022-08-21 ne/arizona-republicans-democracy.html         AntiDemocracy Experiment                       By Robert Draper                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/opinion
2022-08-15   2022-08-21 /addiction-harm-reduction.html                The Keys to Successful Addiction Care          By Beth Macy                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/opinion Political Bravery Is in Short Supply in
2022-08-15   2022-08-21 /liz-cheney-lisa-murkowski-primary.html       America                                        By The Editorial Board           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/realesta A Graduate Finds Her Dream Gig and a
2022-08-15   2022-08-21 te/renters-bed-stuy-brooklyn.html             Brooklyn Pad                                   By Marian Bull                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/t-                                                        By Alice Cavanagh and Charly
2022-08-15   2022-08-21 magazine/edible-centerpieces.html             A Feast For the EYES                           Gosp                             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/t-
2022-08-15   2022-08-21 magazine/wisteria-tiffany-necklace.html       A necklacethat blooms on the body              By Megan Conway                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/theater/
                        13-musical-broadway-netflix-ariana-
2022-08-15   2022-08-21 grande.html                                   When 13YearOlds Swarmed the Stage              By Nancy Coleman                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/books/r
                        eview/stories-from-the-tenants-downstairs-
                        calling-for-a-blanket-dance-sirens-and-muses-
                        sidik-fofana-oscar-hokeah-antonia-
2022-08-16   2022-08-21 angress.html                                  Debut Fiction                                  By Joseph Cassara                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/magazi My Birth Father and Siblings Dont Know I
2022-08-16   2022-08-21 ne/birth-parents-ethics.html                  Exist Should I Contact Them                    By Kwame Anthony Appiah          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/magazi
2022-08-16   2022-08-21 ne/fan-mail-recommendation.html               Fan Mail                                       By Rachael Bedard                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/movies/
2022-08-16   2022-08-21 john-boyega-breaking.html                     John Boyega Likes MJ and Movie Scores          By Chris Kornelis                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/nyregio
2022-08-16   2022-08-21 n/cowtown-rodeo-new-jersey.html               Not Their First Rodeo                          By Tracey Tully and Gabby Jones TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/16/opinion
2022-08-16   2022-08-21 /carbon-tax.html                              Why We Dont Have a Carbon Tax                  By Paul Krugman                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/opinion
2022-08-16   2022-08-21 /sex-women-feminism-rules.html                I Still Believe in the Power of Sexual Freedom By Nona Willis Aronowitz         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/realesta
2022-08-16   2022-08-21 te/how-to-banish-bathroom-clutter.html        How to Cut Through Bathroom Clutter            By Tim McKeough                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/science Fatal Shooting of Prominent Wildlife
2022-08-16   2022-08-21 /poaching-ranger-murder-rhino.html            Defender May Signal an Escalation              By Rachel Nuwer                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/style/m A New Generation Nourishes Its Inner
2022-08-16   2022-08-21 ack-rita-diane-keaton.html                    Boomer                                         By Jenni Avins                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/style/ru
2022-08-16   2022-08-21 ffles-chintz-maximalism.html                  Ruffles and Chintz Make Their Return           By Lia Picard                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/t-
                        magazine/beretta-venturini-milan-                                                            By Nancy Hass and Anthony
2022-08-16   2022-08-21 apartment.html                                The Memory Box                                 Cotsifas                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/t-                                                        By Thurstan Redding and Delphine
2022-08-16   2022-08-21 magazine/red-fall-womens-fashion.html         All Red Everything                             Danhier                          TX 9-207-887   2022-10-14



                                                                                 Page 4144 of 5793
                        https://www.nytimes.com/2022/08/17/arts/dan
2022-08-17   2022-08-21 ce/kinetic-light-disability-arts-access.html Myriad Points of Entry to This Show         By Margaret Fuhrer              TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/arts/mu
2022-08-17   2022-08-21 sic/rina-sawayama-hold-the-girl.html         Dance Through the Apocalypse                By Jazmine Hughes               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/books/c Cecile Pineda 89 Author Known for a Novel
2022-08-17   2022-08-21 ecile-pineda-dead.html                       of Identity                                 By Neil Genzlinger              TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/magazi
2022-08-17   2022-08-21 ne/nascar-chicago-streets.html               Easy Riders                                 By Peter C Baker                TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/magazi
                        ne/spaghetti-al-pomodoro-summer-
2022-08-17   2022-08-21 recipe.html                                  Turning Red                                 By Eric Kim                     TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/magazi
2022-08-17   2022-08-21 ne/willie-nelson.html                         The Last Man Standing                      By Jody Rosen                   TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/nyregio BacktoClass Covid Guidelines for City
2022-08-17   2022-08-21 n/ny-back-to-school-covid.html               Schools                                     By Lola Fadulu                  TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/opinion
2022-08-17   2022-08-21 /full-house-landline.html                    If Only My Girls Knew The Joy of a Landline By Jessica Grose                TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/opinion
2022-08-17   2022-08-21 /home-family-child-care.html                 Dont Leave Caregivers Behind                By Aijen Poo                    TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/opinion
2022-08-17   2022-08-21 /housing-market.html                         The Housing Market Is Not That Bad          By Peter Coy                    TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/opinion
2022-08-17   2022-08-21 /liz-cheney-trump-primary.html               Liz Cheney Won in the Ways That Count       By Frank Bruni                  TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/opinion
2022-08-17   2022-08-21 /salman-rushdie-fatwa.html                   A Word Of Gratitude For Rushdies Readers By Pamela Paul                     TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/realesta
2022-08-17   2022-08-21 te/harvard-arnold-arboretum.html             Arboretum Looks Toward the Next 150 Years By Margaret Roach                 TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/17/realesta 2 Million Homes in Tennessee Texas and
2022-08-17   2022-08-21 te/home-prices-tennessee-texas-maine.html Maine                                          By Angela Serratore             TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/realesta
                        te/house-hunting-in-switzerland-lake-lugano- Thats Right Mediterranean Flair on Lake
2022-08-17   2022-08-21 ticino-italy.html                            Lugano                                      By Lana Bortolot                TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/realesta
                        te/stone-ridge-ny-antique-homes-and-
2022-08-17   2022-08-21 welcoming-neighbors.html                     Out of the Brownstone and Into a Colonial   By Karen Angel                  TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/style/w
                        hy-is-my-daughters-debt-forgiveness-so-
2022-08-17   2022-08-21 upsetting-to-my-brother.html                 DebtRelief Drama                            By Philip Galanes               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/t-
2022-08-17   2022-08-21 magazine/collectors-gay-artists.html         The Great Work                              By Nick Haramis and Blaine Davis TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/t-
2022-08-17   2022-08-21 magazine/ragtime-el-doctorow.html            In Ragtime the Novelist as Houdini          By Jonathan Dee                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/17/technol
2022-08-17   2022-08-21 ogy/tiktok-elections-politics.html           Wasnt TikTok Supposed to Just Be Fun        By Shira Ovide                  TX 9-207-887    2022-10-14



                                                                                 Page 4145 of 5793
                        https://www.nytimes.com/2022/08/17/us/carl- Rev Carl Kabat 88 Peace Activist And
2022-08-17   2022-08-21 kabat-dead.html                              Avowed Fool for Christ Dies                By Ed Shanahan                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/interactive/2022/08/ TikTok Audio Memes Are Everywhere How
2022-08-17   2022-08-21 17/magazine/tiktok-sounds-memes.html         Do They Work                               By Charlotte Shane                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/books/r
2022-08-18   2022-08-21 eview/abdulrazak-gurnah-afterlives.html      Swallowed Whole                            By Imbolo Mbue                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/magazi
2022-08-18   2022-08-21 ne/judge-john-hodgman-egg-order.html         Bonus Advice From Judge John Hodgman       By John Hodgman                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/magazi She Felt Unstable When She Stood Still or
2022-08-18   2022-08-21 ne/orthostatic-tremor.html                   Walked Slowly                              By Lisa Sanders MD                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/magazi
2022-08-18   2022-08-21 ne/poem-second-attack.html                   Poem Second Attack                         By Jana Prikryl and Victoria Chang TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/movies/
2022-08-18   2022-08-21 aubrey-plaza-emily-the-criminal.html         The Reinvention of Aubrey Plaza            By Andrew Crump                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/opinion
2022-08-18   2022-08-21 /abortion-pregnancy-child-roe.html           My Abortion at 11 Wasnt a Choice           By Nicole Walker                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/opinion Why Are So Few Toddlers Vaccinated
2022-08-18   2022-08-21 /covid-vaccination-children-toddlers.html    Against Covid                              By Aaron E Carroll                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/opinion
2022-08-18   2022-08-21 /russia-putin-corruption.html                Why No One Is Willing to Get Rid of Putin By Oleg Kashin                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/realesta
2022-08-18   2022-08-21 te/home-prices-fixer-upper.html              The Lower Price Can Still Cost You         By Michael Kolomatsky              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/realesta Educators Housing Discrimination Suit Is
2022-08-18   2022-08-21 te/housing-discrimination-maryland.html      Personal                                   By Debra Kamin                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/style/fa
2022-08-18   2022-08-21 rms-country-clubs-parties.html               Turning Barns Into Meeting Places          By Bob Morris                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/style/vi
2022-08-18   2022-08-21 rtual-dating-metaverse.html                  A Hunt for Love in the Metaverse           By Madeleine Aggeler               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/t-
2022-08-18   2022-08-21 magazine/alex-katz.html                      Katz Everlasting                           By Amanda Fortini and Alec Soth TX 9-207-887      2022-10-14
                        https://www.nytimes.com/2022/08/18/t-
2022-08-18   2022-08-21 magazine/art-activism-social-justice.html    The Mission                                By Hanya Yanagihara                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/t-                                                   By Ligaya Mishan Patricia Heal
2022-08-18   2022-08-21 magazine/hot-chiles-pepper-spice.html        World on Fire                              and Leilin LopezToledo             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/technol
2022-08-18   2022-08-21 ogy/dan-price-resign-social-media.html       How a CEO Used Viral Fame as a Lure        By Karen Weise                     TX 9-207-887   2022-10-14
                                                                     A Couple Buy a Wedding Gift for Themselves
                        https://www.nytimes.com/interactive/2022/08/ A House on Long Island Which One Did
2022-08-18   2022-08-21 18/realestate/18hunt-rose.html               They Choose                                By Debra Kamin                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/arts/mu
2022-08-19   2022-08-21 sic/francesca-zambello-glimmerglass.html     Glimmerglasss Innovator Moves On           By Anthony Tommasini               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/arts/tele
2022-08-19   2022-08-21 vision/mohammed-amer-mo-netflix.html         Comedy Helps to Ease an Anxious Life       By Chris Vognar                    TX 9-207-887   2022-10-14




                                                                                Page 4146 of 5793
                        https://www.nytimes.com/2022/08/19/books/r
                        eview/fanny-britt-isabelle-arsenault-forever-
2022-08-19   2022-08-21 truffle.html                                  Rock On                                    By Vera Brosgol                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/books/r
                        eview/nimitz-at-war-craig-symonds-james-
                        gavin-gavin-at-war-ernest-andrews-jr-a-
                        machine-gunners-war-bob-moore-prisons-of-
2022-08-19   2022-08-21 war.html                                      World War II Revisited                     By Thomas E Ricks               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/busines What Economic Data Says About the
2022-08-19   2022-08-21 s/economy-midterm-elections-trump.html        Midterm Elections                          By Jeff Sommer                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/movies/ Gene LeBell 89 Judo Champion Turned
2022-08-19   2022-08-21 gene-lebell-dead.html                         Hollywood Stuntman Dies                    By Richard Sandomir             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/nyregio
2022-08-19   2022-08-21 n/michael-k-williams-brooklyn.html            An Actors Unfinished Business In Brooklyn By Saki Knafo                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/opinion                                               By Ryan D Doerfler and Samuel
2022-08-19   2022-08-21 /liberals-constitution.html                   Liberals Need to Change the Rules          Moyn                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/realesta Workers in the Catskills Cant Find Places to
2022-08-19   2022-08-21 te/hudson-valley-housing-workers.html         Live                                       By Anna Kod                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/sports/b A Manager on the Field Heads for the Dugout
2022-08-19   2022-08-21 aseball/yadier-molina-retire-manager.html     in Venezuela                               By James Wagner                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/sports/b
                        asketball/wnba-sylvia-fowles-retirement-      A Star Leaves the WNBA and for Now
2022-08-19   2022-08-21 minnesota-lynx.html                           Basketball                                 By Shauntel Lowe                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/sports/s At Manchester United Its Not the Money Its
2022-08-19   2022-08-21 occer/manchester-united-glazers.html          the Incoherence                            By Rory Smith                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/style/an An Invitation to Dinner Through Interoffice
2022-08-19   2022-08-21 drew-dietz-philip-melanson-wedding.html       Mail                                       By Nina Reyes                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/style/an
2022-08-19   2022-08-21 drew-zbihley-olivia-pura-wedding.html         To Get Out of Friend Zone She Led the Way By Jenny Block                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/style/de They Make Quite a Match by Any
2022-08-19   2022-08-21 nise-pyfrom-daniel-white-wedding.html         Measurement                                By Nia Decaille                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/style/m
                        odern-love-cancer-last-act-of-intimate-
2022-08-19   2022-08-21 kindness.html                                 Time for One Last Act of Intimate Kindness By Michelle Friedman            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/style/na
2022-08-19   2022-08-21 omi-mishkin-graham-lazar-wedding.html         Bringing Out a NonArtists Artistic Side    By Rosalie R Radomsky           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/style/pa Amid Drama on the M14 Bus a Latte to Hold
2022-08-19   2022-08-21 trick-straub-chelsea-toder-wedding.html       On To                                      By Julia Carmel                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/style/sa
2022-08-19   2022-08-21 ra-bunting-adam-rouse-wedding.html            Impressing Her With His Old Pig Tale       By Emma Grillo                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/t-
2022-08-19   2022-08-21 magazine/cartier-watch-gloria-swanson.html First of its Kind Last of its Kind            By Lindsay Talbot               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/t-                                                    By Max Norman David Chow and
2022-08-19   2022-08-21 magazine/delft-tiles.html                     A Different Kind of Blue                   Victoria PetroConroy            TX 9-207-887   2022-10-14




                                                                               Page 4147 of 5793
                        https://www.nytimes.com/2022/08/19/t-                                                      By Nana Yaw Oduro and Jay
2022-08-19   2022-08-21 magazine/fall-womens-fashion.html             Turn Up The Light                            Massacret                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/us/ann- Ann McGuiness 65 Major FundRaiser for
2022-08-19   2022-08-21 mcguiness-dead.html                           Womens Health and Abortion Rights            By Neil Genzlinger              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/world/e                                                 By Roger Cohen and Laetitia
2022-08-19   2022-08-21 urope/odesa-ukraine-putin-russia.html         Odesa Is Defiant It Is Also Putins Obsession Vancon                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/interactive/2022/08/                                               By Michael Kimmelman Todd
2022-08-19   2022-08-21 19/arts/design/michael-heizer-city.html       It Was a Mystery in the Desert for 50 Years Heisler and Noah Throop          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/books/s Voicing Rushdies Words to Defend Free
2022-08-20   2022-08-21 alman-rushdie-pen-.html                       Speech and Hope for His Recovery             By Sarah Lyall                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/busines
                        s/media/youtube-elijah-quashie-fried-
2022-08-20   2022-08-21 chicken.html                                  Britains Fried Chicken Inflation Index       By David Segal                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/health/
2022-08-20   2022-08-21 pickleball-sports-injury.html                 People Are Flocking to Pickleball and the ER By Matt Richtel                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/nyregio
2022-08-20   2022-08-21 n/alice-feiring.html                          Sharing Wine Meals and Music                 By Robert Simonson              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/nyregio Adams Aims Endorsements to Influence
2022-08-20   2022-08-21 n/eric-adams-endorsements.html                Policy and Nudge Party to the Center         By Jeffery C Mays               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/nyregio Migrant Influx Tests New York As a
2022-08-20   2022-08-21 n/nyc-migrants-texas.html                     Sanctuary                                    By Andy Newman and Ral Vilchis TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/20/opinion
2022-08-20   2022-08-21 /donald-trump-merrick-garland.html            Garland Cant Afford to Miss                  By Ross Douthat                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/opinion
2022-08-20   2022-08-21 /india-independence.html                      India in a Different Voice                   By Maya Jasanoff                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/realesta Should She Find a Rental Now Or Sit Tight
2022-08-20   2022-08-21 te/renting-summer-fall.html                   for a Few Weeks                              By Stefanos Chen                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/sports/b
                        asketball/kahleah-copper-chicago-sky-liberty- Chicago Evens the Series by Routing the
2022-08-20   2022-08-21 wnba.html                                     Liberty                                      By Kris Rhim                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/style/w
2022-08-20   2022-08-21 eleda-skin-food.html                          Beauty Brand Grows Its Way to a Glow         By Chantel Tattoli              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/us/alas As Alaska Warms More Fires and a Harder
2022-08-20   2022-08-21 ka-fires-climate.html                         Fight                                        By Simon Romero                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/us/polit Ally Sought A Pardon For Giuliani After Jan
2022-08-20   2022-08-21 ics/giuliani-trump-pardon.html                6                                            By Maggie Haberman              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/us/polit Abrams Puts Evolution On Abortion Rights
2022-08-20   2022-08-21 ics/stacey-abrams-abortion-georgia.html       At Center of Campaign                        By Maya King                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/us/polit In Chaotic Exit Trump Delayed Sorting          By Maggie Haberman Katie Benner
2022-08-20   2022-08-21 ics/trump-fbi-search.html                     Records                                      and Glenn Thrush                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/world/a Militants Kill At Least 11 In Hotel Raid In
2022-08-20   2022-08-21 frica/somalia-hotel-attack-shabab.html        Somalia                                      By Abdi Latif Dahir             TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/20/world/a Crypto Is Tumbling But to Argentines It Still
2022-08-20   2022-08-21 mericas/argentina-cryptocurrency-value.html Beats Pesos                                  By Ana Lankes                   TX 9-207-887     2022-10-14



                                                                                Page 4148 of 5793
                        https://www.nytimes.com/2022/08/20/world/a
                        mericas/mexico-arrests-jesus-murillo-        Mexico Arrests ExAttorney General in Forced
2022-08-20   2022-08-21 karam.html                                   Disappearance of 43 Students                By Oscar Lopez                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/world/a More Agony for Survivor As India Lets         By Karan Deep Singh Suhasini Raj
2022-08-20   2022-08-21 sia/india-rape-muslim-hindu.html             Rapists Go                                  and Mujib Mashal                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/world/e Emission Cuts in the Netherlands Have Dairy
2022-08-20   2022-08-21 urope/netherlands-farmers-protests.html      Farmers Up in Arms                          By Claire Moses                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/world/e As Attacks Mount in Crimea Kremlin Faces By Anton Troianovski Marc
2022-08-20   2022-08-21 urope/ukraine-attacks-putin-war.html         Rising Pressures at Home                    Santora and Dan Bilefsky         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/world/e Orban Scourge of Liberals Faces a New Foe By Andrew Higgins and Benjamin
2022-08-20   2022-08-21 urope/viktor-orban-hungary-economy.html      Economics                                   Novak                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/busines
                        s/the-week-in-business-weworks-              The Week in Business WeWorks Founder
2022-08-21   2022-08-21 economy.html                                 Rises Again                                 By Marie Solis                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/insider/
2022-08-21   2022-08-21 philip-galanes-advice.html                   An Advice Writer in a Shifting World        By Katherine J Igoe              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/style/no
2022-08-21   2022-08-21 rdstrom-kohler-philip-lim-parties.html       Silk Pajamas And Jumpsuits                  By Denny Lee                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/us/polit In US Politics Even the Phrase The American
2022-08-21   2022-08-21 ics/republicans-american-dream.html          Dream Divides                               By Jazmine Ulloa                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/travel/p
2022-08-09   2022-08-22 aris-trees.html                              The City of Light Has a Whole Lot of Green By Vivian Song                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/interactive/2022/08/
2022-08-11   2022-08-22 11/arts/anime-hugs.html                      The Power of Hugs in Anime                  By Maya Phillips                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/movies/
2022-08-16   2022-08-22 ben-is-back-censor-and-more.html             Theres Movie Gold In These Thrills          By Jason Bailey                  TX 9-207-887   2022-10-14
                                                                                                                 By Kassie Bracken Mark Boyer
                        https://www.nytimes.com/interactive/2022/08/ Whats Actually Being Taught in History      Jacey Fortin Rebecca Lieberman
2022-08-17   2022-08-22 17/us/teaching-critical-race-theory.html     Class                                       and Noah Throop                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/sports/b His Night of Baseball Fame Has Lingered for
2022-08-18   2022-08-22 aseball/fame-baseball-ron-necciai.html       70 Years                                    By Jonathan Abrams               TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/17/sports/b
2022-08-18   2022-08-22 asketball/fame-basketball-kevin-ware-jr.html A Break That Never Fully Heals              By Jack Williams               TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/17/sports/b
                        asketball/fame-jamad-fiin-internet-
2022-08-18   2022-08-22 basketball.html                              Shes Got Influence What Will She Do With It By Andrew Keh                  TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/17/sports/f
2022-08-18   2022-08-22 ame-alexis-arguello-jr-boxing.html           When Fame Is Attached To the Name           By David W Chen                TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/17/sports/f Surviving The Darkness And Embracing A
2022-08-18   2022-08-22 ame-boxing-christy-martin.html               Free Life                                   By Remy Tumin                  TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/17/sports/f
2022-08-18   2022-08-22 ootball/fame-kelly-kay-green-super-bowl.html Chasing The Spotlight Into A Miami Jail   By Alan Blinder                  TX 9-207-887     2022-10-14




                                                                                 Page 4149 of 5793
                        https://www.nytimes.com/2022/08/17/sports/o
                        lympics/fame-kamila-valieva-figure-            A Teenage Olympic Star Who Disappeared in
2022-08-18   2022-08-22 skating.html                                   a Flash                                    By Juliet Macur                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/arts/des
                        ign/columbia-university-dean-                  Columbia Names a New Dean for Its
2022-08-18   2022-08-22 architecture.html                              Architecture School                        By James S Russell                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/arts/tele
                        vision/better-call-saul-ariel-levine-kathleen-
2022-08-18   2022-08-22 williams-foshee.html                           Obsessed With Making Call Saul Even Better By Reggie Ugwu                     TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/18/opinion Unions Shouldnt Oppose a California
2022-08-18   2022-08-22 /california-housing-unions-construction.html Housing Bill                                  By Farhad Manjoo                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/opinion What Republicans Should Do if They Win
2022-08-18   2022-08-22 /republican-congress-agenda.html             Big This Fall                                 By Oren Cass and Chris Griswold   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/technol
2022-08-18   2022-08-22 ogy/chromebooks-pandemic-star.html           Chromebooks Changed American Schools          By Shira Ovide                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/travel/a Glorious Return of Cruises in Alaska Even if
2022-08-18   2022-08-22 laska-cruises-return.html                    They Arent Full                               By Maria Cramer                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/interactive/2022/08/ Can Tesla Data Help Us Understand Car
2022-08-18   2022-08-22 18/business/tesla-crash-data.html            Crashes                                       By Cade Metz and Ella Koeze       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/arts/mu Staying Loose With Blackpink and Dancing        By Jon Caramanica Caryn Ganz
2022-08-19   2022-08-22 sic/playlist-blackpink-madonna.html          With Madonna                                  and Lindsay Zoladz                TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/19/arts/tele
2022-08-19   2022-08-22 vision/emmy-himesh-patel-station-eleven.htmlThe Vital Stillness of Himesh Patel            By Sarah Bahr                     TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/19/busines Tourists Find Chinas Rules On Covid19
2022-08-19   2022-08-22 s/china-covid-tourists-hainan-lockdown.html Strand Them                                By Daisuke Wakabayashi                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/obituari Overlooked No More Regina Jonas Upon
2022-08-19   2022-08-22 es/regina-jonas-overlooked.html             Whose Shoulders All Female Rabbis Stand    By Gabriel Popkin                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/travel/c Help Im 93 I Want a Refund For a
2022-08-19   2022-08-22 ruise-credit-refund.html                    TwicePostponed Cruise                      By Seth Kugel                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/us/whit Struck by Lightning Survivor Embraces Third
2022-08-19   2022-08-22 e-house-lightning-survivor.html             Chance at Life                             By Amanda Holpuch                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/world/a A SoberedUp Japan Tells Young People to
2022-08-19   2022-08-22 sia/japan-alcohol-contest.html              Drink Up                                   By Hikari Hida and John Yoon          TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/20/busines 150 Degrees in the Truck UPS Drivers Say
2022-08-20   2022-08-22 s/ups-postal-workers-heat-stroke-deaths.html Heat Endangers Their Lives                    By Livia AlbeckRipka              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/style/lat Latisha Chong 32 Stylist Who Helped Alter
2022-08-20   2022-08-22 isha-chong-dead.html                         Fashion                                       By Penelope Green                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/us/turni Man Charged After Posting Threat to Kill
2022-08-20   2022-08-22 ng-point-usa-threat-florida.html             Police Say                                    By Vimal Patel                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/world/e Vadim V Bakatin 84 Who Was Handpicked
2022-08-20   2022-08-22 urope/vadim-bakatin-dead.html                To Run the KGB Dies                           By Clay Risen                     TX 9-207-887   2022-10-14



                                                                                 Page 4150 of 5793
                        https://www.nytimes.com/2022/08/21/arts/per Stars Return to Fill the Stage But Gaze at By Michael Paulson and Javier C
2022-08-21   2022-08-22 forming-arts-pandemic-attendance.html        Many Empty Seats                          Hernndez                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/arts/tele
                        vision/george-rr-martin-house-of-the-
2022-08-21   2022-08-22 dragon.html                                  Steering the Dragon of His Dreams         By John Koblin                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/busines
                        s/media/john-malone-streaming-bundles-
2022-08-21   2022-08-22 cable.html                                   Media Mogul Sees Mergers As the Future    By Benjamin Mullin                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/busines Chief of Israeli Spyware Firm NSO Steps
2022-08-21   2022-08-22 s/nso-chief-executive-spyware.html           Down as It Revamps                        By Kalley Huang                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/crossw
2022-08-21   2022-08-22 ords/daily-puzzle-2022-08-22.html            Making Puzzles That Lure Beginners        By Deb Amlen                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/nyregio Two NYPD Officers on Desk Duty After
2022-08-21   2022-08-22 n/fatal-crash-queens-nypd.html               Fatal Crash                               By Ashley Southall                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/nyregio As the War Against Lanternflies Speads Some
2022-08-21   2022-08-22 n/lanternfly-bugs.html                       People Are Taking the Bugs Side           By Sarah Maslin Nir               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/nyregio Prominent Democrats Lining Up on Both       By Katie Glueck and Nicholas
2022-08-21   2022-08-22 n/maloney-biaggi-dccc-congress.html          Sides Of a New York Primary               Fandos                            TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/21/opinion
2022-08-21   2022-08-22 /even-a-single-case-of-polio-is-a-threat.html Even One Case of Polio Is Cause for Alarm By Mary T Bassett                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/opinion
2022-08-21   2022-08-22 /mike-pence-is-spineless.html                 Mike Pence Is Spineless                   By Charles M Blow                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/sports/b
                        aseball/yankees-mets-subway-series-scherzer- Yanks Brace for the Mets And a 2Headed
2022-08-21   2022-08-22 degrom.html                                   Monster                                   By Gary Phillips                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/sports/b
                        aseball/yankees-paul-oneill-number-           ONeill Returns as Yankees Retire His
2022-08-21   2022-08-22 retirement.html                               Number                                    By Gary Phillips                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/sports/g Tom Weiskopf British Open Winner and Golf
2022-08-21   2022-08-22 olf/tom-weiskopf-dead.html                    Course Designer Dies at 79                By Richard Goldstein             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/sports/r In a 200Mile Relay a Blur of Fun and Why
2022-08-21   2022-08-22 agnar-hood-to-coast.html                      Did I Do This                             By Talya Minsberg                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/sports/u Usyks Rousing Win Sets Up a Fury Clash Or
2022-08-21   2022-08-22 syk-joshua-heavyweight-fury-ukraine.html      Heavyweight Chaos                         By Morgan Campbell               TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/21/technol A Father Is Flagged for Photos Sent to a
2022-08-21   2022-08-22 ogy/google-surveillance-toddler-photo.html Doctor                                        By Kashmir Hill                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/us/abor
2022-08-21   2022-08-22 tion-anti-fetus-person.html                Activists Push To Get Fetuses Person Status   By Kate Zernike                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/us/alab Student Is Fatally Shot by Woman He
2022-08-21   2022-08-22 ama-park-killing-stranded-motorist.html    Stopped to Help                               By Livia AlbeckRipka            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/us/desa Even in Floridas Primary DeSantis Is the
2022-08-21   2022-08-22 ntis-florida-governor-democrats.html       Focus                                         By Patricia Mazzei              TX 9-207-887   2022-10-14




                                                                                Page 4151 of 5793
                        https://www.nytimes.com/2022/08/21/us/grah Appeals Court Blocks Graham Testimony to
2022-08-21   2022-08-22 am-trump-testimony-georgia.html             Grand Jury in Georgia Election Inquiry        By Richard Fausset               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/us/polit The First Lady Leaves Isolation After Testing
2022-08-21   2022-08-22 ics/jill-biden-coronavirus-negative.html    Negative for Covid                            By Zach Montague                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/world/a Return of Royal Artifacts Inspires Artistic
2022-08-21   2022-08-22 frica/benin-art-restitution-exhibition.html Awakening                                     By Elian Peltier                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/world/a 21 Are Killed In Hotel Siege By Militants In
2022-08-21   2022-08-22 frica/somalia-hotel-attack-shabab.html      Somalia                                       By Abdi Latif Dahir              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/world/a The Face of China Is a GlobeTrotting
2022-08-21   2022-08-22 sia/china-wang-yi-diplomacy.html            Diplomat With a Fighting Spirit               By Jane Perlez                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/world/a Pakistan Government Charges ExPremier          By Salman Masood and Christina
2022-08-21   2022-08-22 sia/pakistan-imran-khan.html                Escalating the Possibility of Public Unrest   Goldbaum                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/world/a Prime Minister Says Singapore Will End Its
2022-08-21   2022-08-22 sia/singapore-gay-sex-law.html              Ban on Sex Between Men                        By Richard C Paddock             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/world/a Delegation From US Goes to Taiwan For          By Isabella Kwai and Amy Chang
2022-08-21   2022-08-22 sia/us-delegation-taiwan-trade.html         Trade Talks Risking Beijings Anger            Chien                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/world/e
2022-08-21   2022-08-22 urope/russian-media-ukraine-war.html        In State News Clash of Civilizations          By Neil MacFarquhar              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/world/e ProWar Russian Pundit Is Killed in Car
2022-08-21   2022-08-22 urope/ukraine-russia-car-bomb.html          Bombing                                       By Anton Troianovski             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/world/ Tunisias Hope of Democracy Unraveled in
2022-08-21   2022-08-22 middleeast/tunisia-democracy.html           Political Failings                            By Vivian Yee                    TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/22/arts/tele
                        vision/whats-on-tv-this-week-katrina-babies-
2022-08-22   2022-08-22 and-the-mtv-video-music-awards.html          This Week on TV                            By Shivani Gonzalez                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/busines
2022-08-22   2022-08-22 s/media/roku-weird-al.html                   Roku Enters Originals With Weird           By Nicole Sperling                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/fashion
                        /sustainable-fashion-rent-clothes-climate-   Here to Help Vanessa Friedman Answers
2022-08-22   2022-08-22 change.html                                  Your Style Questions                       By Vanessa Friedman                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/nyregio Mayor at Night Private Table Tarnished       By Sarah Maslin Nir and Jazmine
2022-08-22   2022-08-22 n/eric-adams-la-baia-zero-bond.html          Friends                                    Hughes                             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/sports/t The Serena Effect Attracting New Fans
2022-08-22   2022-08-22 ennis/serena-williams-fans.html              Infused With Energy                        By Kurt Streeter                   TX 9-207-887   2022-10-14
                                                                     Timeless Insect Music After Millions of
                        https://www.nytimes.com/2022/08/10/science Years of Evolution Crickets May Still Be
2022-08-10   2022-08-23 /singing-insect-wing-sound.html              Singing Same Tune                          By Jack Tamisiea                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/11/well/liv Hemorrhoids Understanding an
2022-08-12   2022-08-23 e/hemorrhoids-symptoms-treatment.html        Uncomfortable Topic                        By Melinda Wenner Moyer            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/12/well/m
2022-08-12   2022-08-23 ove/balance-exercises.html                   Simple Exercises for Better Balance        By Hilary Achauer                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/16/well/liv
2022-08-16   2022-08-23 e/headphones-hearing-loss.html               Turn That Volume Down                      By Hannah Seo                      TX 9-207-887   2022-10-14




                                                                                 Page 4152 of 5793
                        https://www.nytimes.com/2022/08/16/well/pa
2022-08-16   2022-08-23 in-management-children-race.html           Kids Complaints of Pain Often Go Ignored     By Rachel Rabkin Peachman          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/books/r
2022-08-17   2022-08-23 eview-breaking-history-jared-kushner.html  Selective Memories Soulless Stories          By Dwight Garner                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/health/ Researchers Report Advance in BirthDefect
2022-08-17   2022-08-23 birth-defects-testing.html                 Testing                                     By Gina Kolata                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/science Biting Upward Big Part of Human
2022-08-17   2022-08-23 /chewing-human-evolution.html              Development Thats Something to Chew On       By Kate Golembiewski               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/science Asteroid Asterisk Not a DinosaurEnding
2022-08-17   2022-08-23 /crater-dinosaurs-africa.html              Event But Still Awfully Impactful            By Robin George Andrews            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/science A Worse Nightmare The Megalodon Was
2022-08-17   2022-08-23 /how-big-was-megalodon.html                Even Scarier Than We Thought                 By Asher Elbein                    TX 9-207-887   2022-10-14

                        https://www.nytimes.com/interactive/2022/08/ Wastewater Disease Tracking A Photographic By Aliza Aufrichtig Emily Anthes
2022-08-17   2022-08-23 17/health/wastewater-polio-covid-nyc.html     Journey From the Sewer to the Lab         and Jonah Markowitz                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/arts/tele
2022-08-18   2022-08-23 vision/daryl-mccormack-bad-sisters.html       Way More Than Luck On His Side            By Kathryn Shattuck                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/health/ In a Different Form Minoxidil Can Produce
2022-08-18   2022-08-23 minoxidil-hair-loss-pills.html                Miracles                                  By Gina Kolata                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/health/
2022-08-18   2022-08-23 polio-new-york-malawi.html                    Tracing Polio As It Avoids Eradication    By Apoorva Mandavilli              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/science
2022-08-18   2022-08-23 /pfas-forever-chemicals.html                  Fighting Forever Chemicals With Chemicals By Carl Zimmer                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/movies/ The Videos Are Coming From Inside the
2022-08-19   2022-08-23 horror-movies-streaming.html                  House                                     By Erik Piepenburg                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/science The Juicy Secrets of Stars That Eat Their
2022-08-19   2022-08-23 /stars-planets-engulfment.html                Planets                                   By Becky Ferreira                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/well/mi
2022-08-19   2022-08-23 nd/heat-mental-health.html                    A Hazardous Climate for Mental Health     By Hannah Seo                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/arts/tele Fans Left Asking How to Get to Sesame
2022-08-20   2022-08-23 vision/sesame-street-hbo-max.html             Street                                    By Amanda Holpuch                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/books/a
2022-08-21   2022-08-23 bdulrazak-gurnah-nobel-book.html              His Theme Is Humanity Not Geography       By Alex Marshall                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/21/us/zion- Flash Floods Trap Hikers One Missing In
2022-08-21   2022-08-23 missing-hiker-flood.html                      Utah Park                                 By Christine Chung                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/arts/mu
                        sic/rod-wave-beautiful-mind-billboard-
2022-08-22   2022-08-23 chart.html                                    Rod Wave at the Top Again                 By Ben Sisario                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/arts/mu
2022-08-22   2022-08-23 sic/time-spans-voyager.html                   A Soloist Unable to Take a Bow            By Seth Colter Walls               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/arts/tele
                        vision/matt-smith-house-of-the-dragon-prince-
2022-08-22   2022-08-23 daemon.html                                   A Prince Torn by Loyalty and Intrigue     By Sean T Collins                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/busines Drought Hurts Chinas Economy as Central
2022-08-22   2022-08-23 s/china-power-shortage-drought.html           Bank Cuts Rates                           By Keith Bradsher                  TX 9-207-887   2022-10-14



                                                                                Page 4153 of 5793
                        https://www.nytimes.com/2022/08/22/busines Donald Jonas 92 a Retailer Who Sold Art to
2022-08-22   2022-08-23 s/donald-jonas-dead.html                    Aid Nurses                                 By Ed Shanahan                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/busines
                        s/energy-environment/biden-climate-bill-    Climate Bill Promises Clean Power Major
2022-08-22   2022-08-23 energy-loans.html                           Loans                                      By Ivan Penn                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/busines Ford to Cut 3000 Jobs to Trim Costs in
2022-08-22   2022-08-23 s/ford-motor-job-cuts.html                  Transition to Electric Vehicles            By Neal E Boudette                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/busines Under Pressure McDonalds Shakes Up Its
2022-08-22   2022-08-23 s/mcdonalds-board.html                      Board of Directors                         By Lauren Hirsch                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/busines Australian News Website Invites a Lawsuit
2022-08-22   2022-08-23 s/media/lachlan-murdoch-suit.html           From the Murdoch Family                    By Katie Robertson                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/busines
2022-08-22   2022-08-23 s/rare-earth-metals-greenland.html          Greenland To Supply Rare Metals            By Keith Bradsher                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/busines
2022-08-22   2022-08-23 s/stock-market-recession-inflation.html     SampP 500 Has Its Biggest Drop Since June By Isabella Simonetti                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/climate Climate Law Empowers EPA Blunting
2022-08-22   2022-08-23 /epa-supreme-court-pollution.html           Justices Restrictions                      By Lisa Friedman                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/health/a                                            By Matt Richtel and Annie
2022-08-22   2022-08-23 dolescents-mental-health-technology.html    One Teenagers Dark Journey on Social Media Flanagan                            TX 9-207-887   2022-10-14
                                                                    Rapper Fetty Wap Pleads Guilty to
                        https://www.nytimes.com/2022/08/22/nyregio Conspiring With Long Island Drug Ring to
2022-08-22   2022-08-23 n/fetty-wap-drug-ring-ny.html               Sell Cocaine                               By Colin Moynihan                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/opinion The Biden Comeback Cheney MaraLago
2022-08-22   2022-08-23 /biden-trump-cheney.html                    Where to Start                             By Gail Collins and Bret Stephens   TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/22/opinion I Helped Cut Our Office Electricity Bill to
2022-08-22   2022-08-23 /energy-office-buildings-net-zero-climate.html Zero Heres How                                  By Carlos Gamarra           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/opinion
2022-08-22   2022-08-23 /russia-china-trade-surpluses.html             Of Dictators and Trade Surpluses                By Paul Krugman             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/opinion
2022-08-22   2022-08-23 /russia-science-ukraine-war.html               Russias War Is Curtailing Scientific Progress   By Michael Riordan          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/sports/b
2022-08-22   2022-08-23 aseball/albert-pujols-700-homers.html          Suddenly Spry Grandpa Chases 700 Homers         By Benjamin Hoffman         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/sports/s
                        occer/ukraine-soccer-premier-league-           Clubs Sent Ukraine Their Best Wishes Now
2022-08-22   2022-08-23 returns.html                                   They Poach Some of Its Best Players             By Tariq Panja              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/sports/t
2022-08-22   2022-08-23 ennis/us-open-men-women.html                   Seasons Final Slam Seems Wide Open              By Victor Mather            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/theater/
2022-08-22   2022-08-23 macbitches-review.html                         Toil and Trouble at a College Production        By Juan A Ramrez            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/us/arch Archbishop Rembert Weakland Progressive
2022-08-22   2022-08-23 bishop-rembert-weakland-dead.html              Catholic Intellectual Dies at 95                By Robert D McFadden        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/us/davi David A Kay Remorseful Hunter for Nuclear
2022-08-22   2022-08-23 d-a-kay-dead.html                              Weapons in Iraq Dies at 82                      By Clay Risen               TX 9-207-887   2022-10-14




                                                                                    Page 4154 of 5793
                        https://www.nytimes.com/2022/08/22/us/defe At Sentencing Trial Defense Says Parkland
2022-08-22   2022-08-23 nse-parkland-school-shooting-trial.html     Killer Was Troubled at Birth                  By Patricia Mazzei                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/us/gavi Californias Governor Vetoes a Bill to Create
2022-08-22   2022-08-23 n-newsom-vetoes-drug-injection-sites.html   Supervised DrugInjection Sites                By Jill Cowan                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/us/mass Life Crisis Is Often a Warning of Mass
2022-08-22   2022-08-23 shootings-mental-illness.html               Shootings                                     By Shaila Dewan                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/us/polit
2022-08-22   2022-08-23 ics/fauci-retire.html                       Faucis Next Chapter To Start in December      By Sheryl Gay Stolberg             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/us/polit Complex 16 Billion Donation Enriches          By Kenneth P Vogel and Shane
2022-08-22   2022-08-23 ics/republican-dark-money.html              Conservative War Chest                        Goldmacher                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/us/polit Judge Issues Order on Redacting Trump
2022-08-22   2022-08-23 ics/trump-warrant-affidavit-reinhart.html   Search Affidavit                              By Alan Feuer                      TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/22/world/a As Brazil Heads for Election President
2022-08-22   2022-08-23 mericas/brazil-election-bolsonaro-coup.html Creates Fog of Uncertainty                    By Jack Nicas and Andr Spigariol   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/world/a
2022-08-22   2022-08-23 sia/imran-khan-what-we-know.html            Rise Fall and a Potential Return              By Vivek Shankar                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/world/a
                        sia/philippines-covid-school-shutdown-      After 2Plus Years of Shutdowns the
2022-08-22   2022-08-23 ends.html                                   Philippines Reopens Its Classroom Doors       By Jason Gutierrez                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/world/e
2022-08-22   2022-08-23 urope/russia-ukraine-daria-dugina.html      Moscow Pins Assassination On Ukrainians       By Anton Troianovski               TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/22/world/e Helping Fund a War Effort by Paying to Have
2022-08-22   2022-08-23 urope/ukraine-artillery-shells.html        Personal Messages Put on Ukrainian Shells By Emma Bubola                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/world/e
                        urope/ukraine-independence-day-russian-    In Kyiv Marking Independence Day With       By Lynsey Addario and Marc
2022-08-22   2022-08-23 tanks.html                                 Show of Defiance                            Santora                               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/world/e Oysters Chardonnay and Dont Mind the
2022-08-22   2022-08-23 urope/ukraine-oysters-wartime-life.html    Cruise Missiles                             By Michael Schwirtz                   TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/22/world/e Ukraine Nuclear Disaster Risk Stokes Dread By Emma Bubola and Anastasia
2022-08-22   2022-08-23 urope/zaporizhzhia-chernobyl-survivors.html for Some Survivors of Chernobyl              Kuznietsova                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/world/ Ukraine Focus Thins UN Aid For Other
2022-08-22   2022-08-23 middleeast/humanitarian-aid-gap-un.html      Strife                                      By Farnaz Fassihi                   TX 9-207-887   2022-10-14
                                                                                                                 By Michael C Bender Rebecca
                        https://www.nytimes.com/interactive/2022/08/ How Trumps Endorsements Elevate Election Lieberman Eden Weingart and
2022-08-22   2022-08-23 22/us/trump-endorsements.html                Lies and Inflate His Political Power        Alyce McFadden                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/us/polit 300 Documents Taken by Trump Were            By Maggie Haberman Jodi Kantor
2022-08-23   2022-08-23 ics/trump-mar-a-lago-documents.html          Classified                                  Adam Goldman and Ben Protess        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/busines
2022-08-23   2022-08-23 s/storm-weather-home-insurance.html          Preparing Financially Before the Storm Hits By Tara Siegel Bernard              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/insider/
                        down-and-dirty-in-virus-laden-sewage-for-
2022-08-23   2022-08-23 journalism.html                              Down and Dirty in Wastewater                By Aliza Aufrichtig                 TX 9-207-887   2022-10-14



                                                                                 Page 4155 of 5793
                        https://www.nytimes.com/2022/08/23/nyregio Con Edison Dumps Hot Contaminated Water By Patrick McGeehan and Anne
2022-08-23   2022-08-23 n/coned-hudson-river-park-ny.html           From Park Pier Records Show                Barnard                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/world/a                                             By Christina Goldbaum and Salman
2022-08-23   2022-08-23 sia/imran-khan-pakistan.html                Political Showdown Intensifies in Pakistan Masood                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/live/2022/08/23/us/
                        election-new-york-florida-primary/new-york- Drama and Key Choices Await Voters in
2022-08-23   2022-08-23 florida-primaries                           Primaries For New York and Florida         By Katie Glueck                  TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/07/30/books/a A Sunny Outlook Is Important During The
2022-07-30   2022-08-24 nthony-marra-mercury-pictures-presents.html Somber Times                                By Sarah Lyall                TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/dining/
2022-08-18   2022-08-24 drinks/summer-cooler-cocktail-recipes.html Mix a Tall Icy Glass of Heat Relief          By Rebekah Peppler            TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/18/dining/
2022-08-18   2022-08-24 miladys-bar-julie-reiner.html               Miladys Is Reborn With Craft Cocktails      By Robert Simonson            TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/dining/
2022-08-19   2022-08-24 drinks/how-to-think-about-wine.html         Wine Gets Better With Thought               By Eric Asimov                TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/19/dining/
                        easy-weeknight-chicken-thighs-corn-         All Smiles for an Easy Chicken and Corn
2022-08-19   2022-08-24 recipe.html                                 Dish                                        By Melissa Clark              TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/19/dining/r
2022-08-19   2022-08-24 ice-ferment-sinasir-skillet-cake-recipe.html Rice and a Bit of Time Are All Youll Need  By Yewande Komolafe            TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/21/briefing
2022-08-21   2022-08-24 /jan-6-attack-riot-suspects.html             One Reporter Hundreds of Hearings          By Ian Prasad Philbrick       TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/22/dining/ To Chop This Cutting Board Wont Harm
2022-08-22   2022-08-24 artisan-revere-cutting-board.html            Your Knives                                By Florence Fabricant         TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/22/dining/ To Season New Line of Spice Blends From
2022-08-22   2022-08-24 burlap-barrel-spice-blends.html              Burlap amp Barrel                          By Florence Fabricant         TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/22/dining/
2022-08-22   2022-08-24 cafe-spaghetti-review-pete-wells.html        Enjoy the Pasta Forget the Theatricality   By Pete Wells                  TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/22/dining/ To Travel Take a Catskills Trip To Benefit a
2022-08-22   2022-08-24 catskills-heritage-radio-network.html        Nonprofit                                  By Florence Fabricant         TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/22/dining/ To Sip Pour a Bubbly Bottle From the Hudson
2022-08-22   2022-08-24 clinton-vineyards-kir-royale.html            Valley                                     By Florence Fabricant         TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/22/dining/
                        dreamery-vegan-ice-cream-clementine-         To Scoop PlantBased Ice Cream At a Shop in
2022-08-22   2022-08-24 bakery.html                                  Brooklyn                                   By Florence Fabricant         TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/22/dining/
2022-08-22   2022-08-24 guacamole-recipe-corn-esquites.html          Guacamole Gets a Sweet Upgrade             By J Kenji LpezAlt            TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/22/dining/ Community In Each Jar Even Those Made
2022-08-22   2022-08-24 kimjang-make-kimchi.html                     Solo                                       By Eric Kim                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/22/dining/ To Slurp Vegan IndianInspired Soups From
2022-08-22   2022-08-24 vegan-indian-soups-maya-kaimal.html          Maya Kaimal                                By Florence Fabricant         TX 9-207-887     2022-10-14




                                                                                Page 4156 of 5793
                        https://www.nytimes.com/2022/08/23/arts/des
2022-08-23   2022-08-24 ign/museum-of-the-bible-looted-gospel.html Museum Returns A Looted Gospel             By Jane Arraf                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/arts/mu                                            By Jon Caramanica and Lindsay
2022-08-23   2022-08-24 sic/harry-styles-love-on-tour-review.html    Wave Kiss Sing a Song Wave Kiss          Zoladz                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/arts/tele
2022-08-23   2022-08-24 vision/bad-sisters-sharon-horgan.html        A Dead BrotherinLaw Unworthy of Grief    By Brian Ng                     TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/23/arts/tele
2022-08-23   2022-08-24 vision/patina-miller-chooses-high-drama.html The Powerful Palette of Patina Miller    By Alexis Soloski               TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/23/books/r
2022-08-23   2022-08-24 eview-dispatches-gilded-age-julia-reed.html The Insights of a Southern Bon Vivant     By Alexandra Jacobs             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/busines White House Changes Its Forecast Lower
2022-08-23   2022-08-24 s/biden-economic-growth.html                Growth Higher Inflation                   By Jim Tankersley               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/busines
2022-08-23   2022-08-24 s/britain-inflation-labor-shortage.html     Not Enough Cooks in the Kitchen           By Eshe Nelson                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/busines IRS Undertakes Security Review as Threats
2022-08-23   2022-08-24 s/irs-security-review.html                  Rise                                      By Deborah B Solomon            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/busines Julian Robertson 90 A ShortSelling Sage Of
2022-08-23   2022-08-24 s/julian-robertson-dead.html                Hedge Funds Dies                          By Robert D Hershey Jr          TX 9-207-887   2022-10-14
                                                                    As Consumers Cut Back Inventory Glut
                        https://www.nytimes.com/2022/08/23/busines Forces Macys to Lower Its Expectations for
2022-08-23   2022-08-24 s/macys-earnings-2q-2022.html               the Year                                  By Jordyn Holman                TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/23/busines Column on Murdoch Family Leads to          By Yan Zhuang and Katie
2022-08-23   2022-08-24 s/media/lachlan-murdoch-crikey-lawsuit.html Defamation Suit                           Robertson                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/busines
2022-08-23   2022-08-24 s/moviepass-relaunch.html                   MoviePass the Sequel Is Set to Debut      By Derrick Bryson Taylor        TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/23/busines
2022-08-23   2022-08-24 s/warehouse-demand-consumer-spending.html Reality Test for RedHot Warehouse Market    By Joe Gose                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/dining/
2022-08-23   2022-08-24 minnesota-state-fair-butter-sculpture.html His Medium Salted His Craft Sublime        By Christina Morales            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/dining/ Rose Garden Opens Serving Cocktails and
2022-08-23   2022-08-24 nyc-restaurant-news.html                   Small Plates in SoHo                       By Florence Fabricant           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/dining/
                        supper-clubs-lgbtq-owned-restaurants-and-
2022-08-23   2022-08-24 more-reader-questions.html                 Dining With a Community in Mind            By Nikita Richardson            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/health/ Marijuana and Psychedelics Are at Record
2022-08-23   2022-08-24 marijuana-psychedelics-young-adults.html   Levels of Use                              By Andrew Jacobs                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/health/ Racism Stigma and Fear Why Experts Want
2022-08-23   2022-08-24 monkeypox-name-stigma.html                 Monkeypox Renamed                          By Andrew Jacobs                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/nyregio How to Survive a Nuclear Attack New York   By Emma G Fitzsimmons and
2022-08-23   2022-08-24 n/nuclear-attack-video-psa.html            City Video Is a Real Head Scratcher        Jeffery C Mays                  TX 9-207-887   2022-10-14



                                                                                  Page 4157 of 5793
                        https://www.nytimes.com/2022/08/23/opinion To Exist in 2022 Is to Be Tracked and
2022-08-23   2022-08-24 /apple-internet-privacy-tracking.html      Monitored                                  By Alex Kingsbury                 TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/23/opinion Russian Troops See That Ukrainians Live
2022-08-23   2022-08-24 /international-world/russia-ukraine-putin.html Better Than They Do                       By Yegor Firsov                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/opinion
2022-08-23   2022-08-24 /iran-rushdie-attack.html                      Will Iran Pay for Its Murderous Campaign  By Bret Stephens                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/opinion
2022-08-23   2022-08-24 /trump-mar-a-lago-fbi-fundraising.html         The Grifter in Chiefs Dangerous Game      By Michelle Cottle               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/science Your Doppelgnger Is Out There and You         By Kate Golembiewski and Franois
2022-08-23   2022-08-24 /doppelgangers-twins-dna.html                  Probably Share DNA                        Brunelle                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/sports/b
2022-08-23   2022-08-24 aseball/fernando-tatis-padres.html             Padres Share Tough Love With Tatis        By Scott Miller                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/sports/b
                        aseball/oswaldo-cabrera-yankees-               A Yankees Rookie Makes a Statement With
2022-08-23   2022-08-24 necklace.html                                  His Necklace and Gloves                   By Gary Phillips                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/sports/k The Nets and Durant Claim They Are on the
2022-08-23   2022-08-24 evin-durant-nets-trade-request.html            Same Page at Least for Now                By Sopan Deb                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/sports/ A Swimmers Journey Through Sharks
2022-08-23   2022-08-24 marathon-swim-block-island-montauk.html Currents and Cramps                              By Jesus Jimnez                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/technol FTC Drops Zuckerberg as Defendant in
2022-08-23   2022-08-24 ogy/ftc-zuckerberg-suit.html                   Antitrust Suit                            By Cecilia Kang                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/technol
                        ogy/midterms-misinformation-tiktok-
2022-08-23   2022-08-24 facebook.html                                  Fact Wars On Election Back Online         By Stuart A Thompson             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/technol Twitters Line On Security Is Questioned By
2022-08-23   2022-08-24 ogy/twitter-whistleblower-security.html        ExInsider                                 By Lauren Hirsch and Kate Conger TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/theater/
2022-08-23   2022-08-24 kate-berlant-comedy.html                       Experimenting With Vulnerability          By Jason Zinoman                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/us/kelly ExDetective Admits Conspiracy to Mislead
2022-08-23   2022-08-24 goodlett-breonna-taylor.html                   Judge on Taylor Raid                      By Nicholas BogelBurroughs       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/us/polit President to Announce Decision on Student By Jim Tankersley Zolan
2022-08-23   2022-08-24 ics/biden-student-loan-debt.html               Loan Relief                               KannoYoungs and Stacy Cowley TX 9-207-887       2022-10-14
                        https://www.nytimes.com/2022/08/23/us/polit White House Plans Campaign for Latest        By Sharon LaFraniere and Noah
2022-08-23   2022-08-24 ics/covid-booster-shots-biden.html             Booster Shot Soon After Labor Day         Weiland                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/us/polit Economic Assistance Once Plentiful Falls Off
2022-08-23   2022-08-24 ics/food-insecurity-biden-stimulus.html        at a Painful Moment                       By Jim Tankersley                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/us/polit Jan 6 Panel Turns Focus To Members Of        By Luke Broadwater and Maggie
2022-08-23   2022-08-24 ics/trump-cabinet-25th-amendment.html          Cabinet                                   Haberman                         TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/23/us/polit Trump Kept Over 700 Pages of Documents    By Alan Feuer and Maggie
2022-08-23   2022-08-24 ics/trump-classified-documents-fbi-letter.html Letter Says                            Haberman                          TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/23/us/polit                                           By Maggie Haberman Glenn
2022-08-23   2022-08-24 ics/trump-investigation-strategy.html          Errors Show New Perils For Trump       Thrush and Alan Feuer             TX 9-207-887     2022-10-14




                                                                                Page 4158 of 5793
                        https://www.nytimes.com/2022/08/23/us/polit Its Rare for a President to Flout the Tightly
2022-08-23   2022-08-24 ics/trump-presidential-records.html         Restricted Records Procedures                 By Michael D Shear             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/us/rays Charges to Be Dropped Against Officers in
2022-08-23   2022-08-24 hard-brooks-officers-no-charges.html        Atlanta Shooting                              By Richard Fausset             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/us/uval In Uvalde Children Are Afraid to Go Back to
2022-08-23   2022-08-24 de-back-to-school-arredondo.html            School                                        By Edgar Sandoval              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/us/verd 2 Convicted in Plot to Kidnap Michigan
2022-08-23   2022-08-24 ict-trial-gretchen-whitmer-kidnap.html      Governor                                      By Mitch Smith                 TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/23/world/a Indigenous Communities Acquire Prime Land
2022-08-23   2022-08-24 mericas/canada-vancouver-indigenous.html and Power                                   By Norimitsu Onishi                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/world/a                                           By Alfonso Flores Bermdez
                        mericas/nicaragua-catholic-church-daniel-  Nicaragua Silences Final Group Of         Anatoly Kurmanaev and Yubelka
2022-08-23   2022-08-24 ortega.html                                Government Critics Priests                Mendoza                             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/world/a Minions but More Marxist China Rewrites
2022-08-23   2022-08-24 sia/china-minions-censorship.html          Films Ending                              By Tiffany May                      TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/23/world/a Malaysias Man of Steal Is Prison Bound After
2022-08-23   2022-08-24 sia/najib-razak-malaysia-1mdb-prison.html  Losing Appeal in Graft Case                  By Richard C Paddock             TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/23/world/e Relics and Bombs Dot Europes Dry
2022-08-23   2022-08-24 urope/danube-river-shipwrecks-drought.html Riverbeds                                     By Christopher F Schuetze       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/world/e At Memorial In Moscow Many Calls For
2022-08-23   2022-08-24 urope/daria-dugina-funeral.html             Revenge                                      By Ivan Nechepurenko            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/world/e
                        urope/hungary-weather-forecast-             Hungary Fires 2 Top Officials After Forecast
2022-08-23   2022-08-24 fireworks.html                              Misses Mark                                  By Jenny Gross                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/world/e Call by Call Hotline Aims To Reunite
2022-08-23   2022-08-24 urope/ukraine-missing-red-cross.html        Ukrainians                                   By Nick CummingBruce            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/world/e
                        urope/ukraine-russia-zaporizhzhia-          UN Meeting on Power Plant Does Little to     By Richard PrezPea and Farnaz
2022-08-23   2022-08-24 nuclear.html                                Ease Risk of Catastrophe                     Fassihi                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/world/e
                        urope/ukraine-zaporizhzhia-nuclear-power- In Ukraine War A Nuclear Plant Is Held         By Marc Santora and Andrew E
2022-08-23   2022-08-24 plant.html                                  Hostage                                      Kramer                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/nyregio Nadler Routs Maloney in a Clash Of Veteran
2022-08-24   2022-08-24 n/new-york-primary-nadler.html              New York Democrats                           By Nicholas Fandos              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/us/polit Crist to Face DeSantis After Handily Winning
2022-08-24   2022-08-24 ics/charlie-crist-desantis.html             Democratic Primary                           By Patricia Mazzei              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/busines Job Gains for Black Workers Could Reverse By Talmon Joseph Smith and Ben
2022-08-24   2022-08-24 s/economy/black-workers-recession.html      in a Downturn                                Casselman                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/us/polit Biden Appoints Head of Secret Service Its
2022-08-24   2022-08-24 ics/kim-cheatle-secret-service.html         Second Woman                                 By Michael D Shear              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/19/well/eat Cannabis Drinks Are Here Ahead of the
2022-08-19   2022-08-25 /weed-cannabis-drinks.html                  Science                                      By Dani Blum                    TX 9-207-887   2022-10-14



                                                                                Page 4159 of 5793
                        https://www.nytimes.com/2022/08/22/style/lin
2022-08-22   2022-08-25 da-evangelista-vogue.html                    Lets Embrace Fantasy Without Erasing Flaws By Vanessa Friedman              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/arts/mu Capitol Drops the Robot Rapper FN Meka
2022-08-23   2022-08-25 sic/fn-meka-dropped-capitol-records.html     After Backlash                             By Joe Coscarelli                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/opinion The Idea That Letting Trump Walk Will Heal
2022-08-23   2022-08-25 /trump-mar-a-lago-indictment.html            America Is Ridiculous                      By Jamelle Bouie                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/sports/t College Champion Picks Big Stage for Pro
2022-08-23   2022-08-25 ennis/ben-shelton-us-open.html               Debut                                      By Christopher Clarey            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/style/art She Boldly Goes Where Photographers Are
2022-08-23   2022-08-25 in-court-shes-always-judging-you.html        Not Allowed                                By Ruth La Ferla                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/style/ch
2022-08-23   2022-08-25 elsea-manning-dj-brooklyn.html               A Familiar Face in the DJ Booth            By Lily Goldberg                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/style/is-
2022-08-23   2022-08-25 your-face-symmetrical.html                   Facing Up to Yourself Outside the Mirror   By Rhonda Garelick               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/style/qu
2022-08-23   2022-08-25 iet-quitting-tiktok.html                     Quiet Quitting Wont Work for Everyone      By Alyson Krueger                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/technol
2022-08-23   2022-08-25 ogy/uber-india.html                          Uber Is Useful but Is It ClimateFriendly   By Shira Ovide                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/arts/mu
2022-08-24   2022-08-25 mia-abu-jamal-brown.html                     Preserving a Prisoners Collection          By Jennifer Schuessler           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/arts/mu Jerry Allison 82 Drummer And CoWriter
2022-08-24   2022-08-25 sic/jerry-allison-dead.html                  With Holly                                 By Neil Genzlinger               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/busines Amazon to Shut Its InHouse Foray Into
2022-08-24   2022-08-25 s/amazon-care.html                           Health Care                                By Karen Weise                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/busines Bosses Are Sharing Their Feelings Their
2022-08-24   2022-08-25 s/ceo-crying-linkedin-layoffs.html           Workers Are Cringing                       By Emma Goldberg                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/busines In a First Britain Imports No Fuel From
2022-08-24   2022-08-25 s/economy/russia-uk-trade.html               Russia                                     By Jenny Gross                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/busines
                        s/farfetch-yoox-net-a-porter-richemont-      Farfetch Deal Could Create Luxury
2022-08-24   2022-08-25 ecommerce.html                               ECommerce Giant                            By Michael J de la Merced        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/busines Consumer Demand Is Key To Rise in US
2022-08-24   2022-08-25 s/inflation-demand-prices-us.html            Inflation                                  By Ana Swanson                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/busines
2022-08-24   2022-08-25 s/stocks-fed-powell.html                     Wall Street Looks to Powell for Clues      By Joe Rennison                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/climate California Plan Brings Gas Cars Closer to an By Coral Davenport Lisa Friedman
2022-08-24   2022-08-25 /california-gas-cars-emissions.html          End                                        and Brad Plumer                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/nyregio
                        n/maloney-biaggi-democrats-progressives-     Centrist Democrats Gain But Progressives
2022-08-24   2022-08-25 left.html                                    Battle On                                  By Nicholas Fandos               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/opinion Why Wont Texans Leave After Hurricane
2022-08-24   2022-08-25 /houston-flooding-climate-change.html        Harvey                                     By Anna Rhodes and Max Besbris TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/24/opinion
2022-08-24   2022-08-25 /india-modi-democracy.html                   Modis India Is Where Global Democracy Dies By Debasish Roy Chowdhury        TX 9-207-887   2022-10-14




                                                                               Page 4160 of 5793
                        https://www.nytimes.com/2022/08/24/opinion The Political Crisis of WorkingClass New
2022-08-24   2022-08-25 /new-york-primary-nadler-goldman-class.html York                                        By Kim PhillipsFein               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/science Revealed by the Severe Drought in Texas
2022-08-24   2022-08-25 /dinosaur-tracks-texas-drought.html         Dinosaur Tracks on a Riverbed               By April Rubin                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/sports/b The Yankees Awaken Allowing Fans to
2022-08-24   2022-08-25 aseball/yankees-mets-subway-series.html     Dream Again                                 By Tyler Kepner                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/sports/f Len Dawson 87 Dies Pinpoint Passer Lifted
2022-08-24   2022-08-25 ootball/len-dawson-dead.html                Kansas City to a Title                      By Richard Goldstein              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/sports/s
2022-08-24   2022-08-25 occer/champions-league-psg-nasser.html      Fears Rise That Rules Dont Apply at the Top By Tariq Panja                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/sports/t After Complaints Ukraine Aid Event Drops
2022-08-24   2022-08-25 ennis/us-open-azarenka-ukraine.html         Belarusian                                  By Matthew Futterman              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/style/ch
2022-08-24   2022-08-25 ef-k.html                                   Kourtney Vegan Kim No Cilantro              By Allie Jones                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/style/ne
2022-08-24   2022-08-25 wburgh-vintage-emporium-vintage.html        No Junk Just Secondhand Treasures           By Chloe Anello                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/technol
2022-08-24   2022-08-25 ogy/ai-technology-progress.html             AI Is Getting Good What Happens Now         By Kevin Roose                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/technol
                        ogy/facebook-twitter-influence-
2022-08-24   2022-08-25 campaign.html                               US Booster Is Removed By Platforms          By Sheera Frenkel and Tiffany Hsu TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/technol
2022-08-24   2022-08-25 ogy/google-search-misinformation.html       Google Tool Helps Users Identify Lies       By Nico Grant and Tiffany Hsu     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/technol
2022-08-24   2022-08-25 ogy/personaltech/air-travel-apps.html       How to Handle Air Travel Woes Step by Step By J D Biersdorfer                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/technol
                        ogy/twitter-executives-push-back-against-   Twitter Chief Pushes Back Against
2022-08-24   2022-08-25 whistle-blower-complaint.html               WhistleBlower Complaint Over Security       By Ryan Mac and Kate Conger       TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/24/theater/
2022-08-24   2022-08-25 as-you-like-it-shakespeare-in-the-park.html Aiming to Reflect All of Humanity             By Kalia Richardson            TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/24/theater/
2022-08-24   2022-08-25 edinburgh-fringe-comedy-vir-das.html         Stars at Home Nobodies at Edinburgh Fringe   By Alex Marshall               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/24/theater/
2022-08-24   2022-08-25 la-mama-season.html                          Shaking Off Limitations To Reimagine         By Rachel Sherman               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/theater/                                               By Michael Paulson and Roderick
2022-08-24   2022-08-25 oberammergau-passion-play.html               A Town Adapts As a Play Evolves              Aichinger                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/us/dorli-
2022-08-24   2022-08-25 rainey-dead.html                             Dorli Rainey 95 Face of Occupy Movement      By Ed Shanahan                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/24/us/linds A Clash in Georgia Graham Tries to Avoid      By Danny Hakim and Richard
2022-08-24   2022-08-25 ey-graham-trump-georgia.html                 Election Meddling Testimony                  Fausset                        TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/24/us/polit Memo Reveals Barrs Reasoning for Clearing     By Mark Mazzetti Michael S
2022-08-24   2022-08-25 ics/barr-trump-memo-mueller.html             Trump                                        Schmidt and Charlie Savage     TX 9-207-887    2022-10-14




                                                                                Page 4161 of 5793
                        https://www.nytimes.com/2022/08/24/us/polit Shift in Trends Lets Democrats Dare to
2022-08-24   2022-08-25 ics/democrats-house-majority.html           Dream                                        By Jonathan Weisman            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/us/polit CIA Begins Compensating Officers for Brain
2022-08-24   2022-08-25 ics/havana-syndrome-compensation.html       Injuries Tied to Havana Syndrome             By Julian E Barnes             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/us/polit National Archives Contacted Trumps Camp By Alan Feuer and Maggie
2022-08-24   2022-08-25 ics/national-archives-letter-trump.html     in May 2021                                  Haberman                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/us/polit Abortion Issue Plays a Part in New York
2022-08-24   2022-08-25 ics/ny-special-election-abortion.html       Special Election for House Seat              By Katie Glueck                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/us/polit Biden to Forgive as Much as 20000 in Student By Zolan KannoYoungs Stacy
2022-08-24   2022-08-25 ics/student-loan-forgiveness-biden.html     Loans                                        Cowley and Jim Tankersley      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/us/polit
2022-08-24   2022-08-25 ics/us-airstrike-syria-iran.html            US Bombs IranAllied Bunkers in Syria         By John Ismay                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/us/vane Bryants Widow Is Awarded 16 Million in
2022-08-24   2022-08-25 ssa-bryant-verdict-crash-photos.html        Lawsuit Over Crash Photos                    By Jill Cowan and Vik Jolly    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/world/a New Generation of Angolans Heads to Polls By Gilberto Neto and Lynsey
2022-08-24   2022-08-25 frica/angola-election-youth.html            in Test for Governing Party                  Chutel                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/world/a Clashes Shatter Ethiopia CeaseFire Fueling
2022-08-24   2022-08-25 frica/ethiopia-tigray-fighting.html         Fears of Famine for Millions                 By Declan Walsh                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/world/a Helping Cows Stay Calm And Cool in a
2022-08-24   2022-08-25 sia/india-climate-change-milk-prices.html   Hotter India                                 By Mujib Mashal and Hari Kumar TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/world/a Fertility Rate In South Korea Is Once Again
2022-08-24   2022-08-25 sia/south-korea-fertility-rate.html         Worlds Lowest                                By John Yoon                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/world/a Tim Page a Fearless FreeSpirited
2022-08-24   2022-08-25 sia/tim-page-dead.html                      Photographer in Vietnam Dies at 78           By Seth Mydans                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/world/e Germanys Railways Put Priority on Shipping By Erika Solomon and Christopher
2022-08-24   2022-08-25 urope/germany-fuel-railways.html            Fuel                                         F Schuetze                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/world/e Traditional Italian Wool Struggles to Survive
2022-08-24   2022-08-25 urope/italy-wool-casentino-factory.html     a Changing Economy                           By Gaia Pianigiani             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/world/e
2022-08-24   2022-08-25 urope/russia-ukraine-war-toll.html          Calculating the Cost of 6 Months of War      By Alan Yuhas                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/world/e                                               By Anton Troianovski Andrew E
2022-08-24   2022-08-25 urope/ukraine-russia-six-months.html        War Reshapes Its Combatants and a Continent Kramer and Steven Erlanger      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/world/e
2022-08-24   2022-08-25 urope/ukraine-war-independence-day.html     Under Attack But Embracing Independence By Andrew E Kramer                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/world/e                                               By Anton Troianovski and Ivan
2022-08-24   2022-08-25 urope/yevgeny-roizman-arrest.html           Russian Critic Of the War Is Detained        Nechepurenko                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/article/biden-      Bidens Help With Debts Who Gets It And       By Ron Lieber and Tara Siegel
2022-08-24   2022-08-25 student-loan-forgiveness.html               When                                         Bernard                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/sports/b
                        asketball/wnba-brittney-griner-russia-wnba- With Russia a NoPlay Zone Other              By Tania Ganguli and Jonathan
2022-08-25   2022-08-25 salaries.html                               Destinations Beckon                          Abrams                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/sports/g 2 Women File Sex Assault Suits Against
2022-08-25   2022-08-25 eorge-foreman-accused-sexual-abuse.html     ExChampion Foreman                           By David W Chen                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/us/polit
2022-08-25   2022-08-25 ics/idaho-abortion-ban.html                 Judge Pauses Part of Idahos Abortion Ban     By Glenn Thrush                TX 9-207-887   2022-10-14



                                                                              Page 4162 of 5793
                        https://www.nytimes.com/2022/08/24/us/uval Uvaldes School Police Chief Is Fired Over
2022-08-25   2022-08-25 de-police-chief-fired.html                  Delayed Response to Shooting               By Edgar Sandoval              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/insider/
2022-08-25   2022-08-25 coming-california-megastorm.html            Grounding the Future in the Present        By Raymond Zhong               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/style/w
2022-08-08   2022-08-26 ater-polo-aging-elderly.html                Its Never Too Late to Take to the Pool     By Alix Strauss                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/movies/ Joanne Koch 92 Who Led Lincoln Centers
2022-08-23   2022-08-26 joanne-koch-dead.html                       Film Society                               By Alex Williams               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/arts/des
                        ign/ray-johnson-photography-morgan-
2022-08-24   2022-08-26 library.html                                Disposable Camera Unforgettable Photos     By Martha Schwendener          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/arts/mu
                        sic/tommy-mclain-i-ran-down-every-
2022-08-24   2022-08-26 dream.html                                  His Voice Unleashes a Young Mans Past      By Jim Farber                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/movies/
2022-08-24   2022-08-26 katrina-babies-review.html                  Katrina Babies                             By Lisa Kennedy                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/nyregio Yoga Chain Accused of Plot To Hide Millions By Liam Stack Katherine Rosman
2022-08-24   2022-08-26 n/tax-fraud-yoga-to-the-people.html         in Income                                  and Jan Ransom                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/sports/g Gary Gaines High School Coach of Friday
2022-08-24   2022-08-26 ary-gaines-dead.html                        Night Lights Fame Is Dead at 73            By Richard Sandomir            TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/24/us/meg
2022-08-24   2022-08-26 han-prince-harry-beagle-rescue-adoption.html A Royal Couple Adopts a Mistreated Beagle By April Rubin                TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/22/world/e Let Them Fly Commercial France Considers a
2022-08-25   2022-08-26 urope/france-private-jets-restrictions.html  Ban on Private Jets                       By Constant Mheut             TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/25/arts/dan The Kitchens Temporary Location Has
2022-08-25   2022-08-26 ce/the-kitchen-at-westbeth.html              AvantGarde History                        By Brian Seibert              TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/25/arts/des
                        ign/winold-reiss-new-york-historical-
2022-08-25   2022-08-26 society.html                                 An Immigrant Modernist Ahead of His Time By Will Heinrich               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/25/arts/mu Creed Taylor 93 Dies Producer Who Shaped
2022-08-25   2022-08-26 sic/creed-taylor-dead.html                   Jazz Sound for Decades                    By Neil Genzlinger            TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/25/arts/tele
2022-08-25   2022-08-26 vision/house-of-the-dragon-hightower.html Wielding A Quiet Power Darkly                By Jennifer Vineyard          TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/25/arts/tele
2022-08-25   2022-08-26 vision/mo-almost-fly-streaming.html          This Weekend I Have                       By Margaret Lyons             TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/25/books/h Finished Writing a Novel Nows the Tough
2022-08-25   2022-08-26 ow-to-get-published.html                     Part                                      By Kate Dwyer                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/25/busines
2022-08-25   2022-08-26 s/dollar-stores-2q-earnings-inflation.html   Dollar Stores Ringing Up New Patrons      By Isabella Simonetti         TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/25/busines
2022-08-25   2022-08-26 s/economy/economy-climate-change.html        Recalculating on Climate                  By Lydia DePillis             TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/25/busines
                        s/economy/fed-conference-jerome-             Investors to Grasp for Hints in Closely
2022-08-25   2022-08-26 powell.html                                  Watched Speech by Powell                  By Jeanna Smialek             TX 9-207-887    2022-10-14



                                                                                Page 4163 of 5793
                        https://www.nytimes.com/2022/08/25/busines
                        s/economy/starbucks-union-howard-schultz- Starbucks Illegally Denied Raises to Union
2022-08-25   2022-08-26 nlrb.html                                  Members Federal Regulator Says                By Noam Scheiber         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/busines
2022-08-25   2022-08-26 s/economy/us-gdp-gdi.html                  Income Is Up but GDP Is Down                  By Ben Casselman         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/busines
                        s/energy-environment/electric-vehicles-    California Goal On Electric Cars Cheers
2022-08-25   2022-08-26 automakers.html                            Industry                                      By Neal E Boudette       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/busines
2022-08-25   2022-08-26 s/europe-electricity-prices.html           Why Price Of Electricity Is Soaring In Europe By Stanley Reed          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/busines
                        s/media/sean-hannity-fox-dominion-
2022-08-25   2022-08-26 defamation.html                            Heat Is On For Fox Stars In Lawsuit           By Jeremy W Peters       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/busines
2022-08-25   2022-08-26 s/peloton-earnings-4q-2022.html            Stuck With Inventory Peloton Reports Loss By Lora Kelley               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/climate Climate Change Added to Texas Flooding
2022-08-25   2022-08-26 /hurricane-harvey-climate-change.html      Study Finds                                   By Elena Shao            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/health/ Rover Too May End Up Struggling With
2022-08-25   2022-08-26 dog-dementia-causes.html                   Dementia                                      By Jan Hoffman           TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/25/health/ Psilocybin Therapy Significantly Reduces
2022-08-25   2022-08-26 psilocybin-mushrooms-alcohol-addiction.html Excessive Drinking Small Study Shows       By Andrew Jacobs           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/movies/
2022-08-25   2022-08-26 adieu-godard-review.html                    Adieu Godard                               By Devika Girish           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/movies/
2022-08-25   2022-08-26 adopting-audrey-review.html                 Adopting Audrey                            By Claire Shaffer          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/movies/
2022-08-25   2022-08-26 alienoid-review.html                        Alienoid                                   By Elisabeth Vincentelli   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/movies/
2022-08-25   2022-08-26 breaking-review.html                        Breaking                                   By Glenn Kenny             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/movies/
2022-08-25   2022-08-26 funny-pages-review-owen-kline.html          Teen Life as a Comic Strip With Shading    By Manohla Dargis          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/movies/
2022-08-25   2022-08-26 out-of-the-blue-review.html                 Out of the Blue                            By Jeannette Catsoulis     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/movies/
2022-08-25   2022-08-26 private-desert-review.html                  Private Desert                             By Beatrice Loayza         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/movies/
2022-08-25   2022-08-26 samaritan-review-taking-out-the-trash.html  Samaritan                                  By Amy Nicholson           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/movies/
2022-08-25   2022-08-26 seoul-vibe-review.html                      Seoul Vibe                                 By Nicolas Rapold          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/movies/
2022-08-25   2022-08-26 the-good-boss-review.html                   The Good Boss                              By Ben Kenigsberg          TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/25/movies/ A Familiar Story Be Careful What You Wish
2022-08-25   2022-08-26 three-thousand-years-of-longing-review.html For                                      By Manohla Dargis            TX 9-207-887   2022-10-14



                                                                                Page 4164 of 5793
                        https://www.nytimes.com/2022/08/25/nyregio Law Firm Sues Maxwell Family to Recover
2022-08-25   2022-08-26 n/ghislaine-maxwell-lawyers-fees.html       Nearly 900000 in Unpaid Legal Fees           By Colin Moynihan               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/nyregio Medical Marijuana Companies Seek Easier
2022-08-25   2022-08-26 n/marijuana-licenses-medical-ny.html        Entry to the Recreational Market             By Grace Ashford                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/opinion
                        /american-historical-association-           Focusing on Past Sins May Distract From
2022-08-25   2022-08-26 controversy.html                            Todays Injustices                            By Jay Caspian Kang             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/opinion
2022-08-25   2022-08-26 /carole-king-logging-biden.html             Leave Forests Alone Before Its Too Late      By Carole King                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/opinion
2022-08-25   2022-08-26 /social-life-talk-strangers.html            Your Social Life Is Not What It Should Be    By David Brooks                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/opinion
2022-08-25   2022-08-26 /student-debt-relief-biden.html             Debt Relief Versus the Scaremongers          By Paul Krugman                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/sports/b After a Promotion He Has the Phillies
2022-08-25   2022-08-26 aseball/rob-thomson-phillies.html           Dressed for Success                          By Tyler Kepner                 TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/25/sports/b The Liberty Reflect on the Season and Look
2022-08-25   2022-08-26 asketball/wnba-liberty-sabrina-ionescu.html Ahead to Finding the Missing Pieces          By Shauntel Lowe                TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/25/sports/h First She Asserted Herself on the Ice Then in
2022-08-25   2022-08-26 ockey/sarah-nurse-world-championship.html the World                                       By Alan Blinder                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/sports/s Europes Elite Clubs Learn Their Champions
2022-08-25   2022-08-26 occer/champions-league-draw.html            League Opponents                              By Victor Mather               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/sports/t
                        ennis/novak-djokovic-us-open-               Still Unvaccinated Djokovic Will Miss US
2022-08-25   2022-08-26 coronavirus.html                            Open                                          By Matthew Futterman           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/sports/t To Begin Her Farewell Williams Draws
2022-08-25   2022-08-26 ennis/us-open-draw-serena-williams.html     Match With Powerful Server                    By Christopher Clarey          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/sports/t An Official Punished for Misconduct Is Back
2022-08-25   2022-08-26 ennis/us-open-referee-soeren-friemel.html   to Much Displeasure                           By Matthew Futterman           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/technol
2022-08-25   2022-08-26 ogy/peloton-amazon.html                     An OldFashioned Twist on the Big Idea         By Shira Ovide                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/us/bria Georgia Governor Seeking Distance From         By Richard Fausset and Danny
2022-08-25   2022-08-26 n-kemp-trump-georgia.html                   Trump Inquiry Fights a Subpoena               Hakim                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/us/capit Historic Stones From Capitol Will Be Moved
2022-08-25   2022-08-26 ol-stones-moved-storage.html                Into Storage                                  By Christine Chung             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/us/okla Oklahoma Rejecting Clemency Guidance
2022-08-25   2022-08-26 homa-execution-coddington.html              Executes a Murderer                           By Nicholas BogelBurroughs     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/us/polit Jones Accused of Hiding Millions in Assets
2022-08-25   2022-08-26 ics/alex-jones-lawsuits-bankruptcy.html     From Sandy Hook Families                      By Elizabeth Williamson        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/us/polit
                        ics/ashley-biden-diary-project-veritas-     Two Plead Guilty in Theft Of Ashley Bidens By Adam Goldman and Michael S
2022-08-25   2022-08-26 guilty.html                                 Diary                                         Schmidt                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/us/polit Biden Hits the Trail Fresh Off a String Of
2022-08-25   2022-08-26 ics/biden-democrats-midterms.html           Legislative Wins                              By Michael D Shear             TX 9-207-887   2022-10-14



                                                                                Page 4165 of 5793
                        https://www.nytimes.com/2022/08/25/us/polit Presidents Student Debt Relief Is Centered on
2022-08-25   2022-08-26 ics/biden-student-loans-middle-class.html   the Middle Class                              By Jim Tankersley                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/us/polit Howard Rosenthal 83 Professor Who
2022-08-25   2022-08-26 ics/howard-rosenthal-dead.html              Quantified Partisanship in Congress           By Sam Roberts                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/us/polit Pentagon Makes a Major Shift To Reduce        By Eric Schmitt Charlie Savage and
2022-08-25   2022-08-26 ics/pentagon-civilian-casualties.html       Civilian Bloodshed                            Azmat Khan                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/us/polit
                        ics/student-loan-forgiveness-democrats-     Not All Democrats Are Embracing Bidens        By Jonathan Weisman and Maggie
2022-08-25   2022-08-26 gop.html                                    Student Loan Forgiveness                      Astor                              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/us/polit Judge Orders Redacted Affidavit In Trump
2022-08-25   2022-08-26 ics/trump-justice-dept-affidavit.html       Search to Be Unsealed                         By Glenn Thrush and Alan Feuer TX 9-207-887       2022-10-14

                        https://www.nytimes.com/2022/08/25/us/remo Room Scan Violated Rights Of Student a      By Amanda Holpuch and April
2022-08-25   2022-08-26 te-testing-student-home-scan-privacy.html   Judge Rules                                Rubin                            TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/25/world/a
                        sia/imran-khan-pakistan-terrorism-                                                     By Christina Goldbaum and Salman
2022-08-25   2022-08-26 charges.html                                Pakistani Court Sets 450 Bail for ExLeader Masood                           TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/25/world/a Victims of a Living Hell Camp in South
2022-08-25   2022-08-26 sia/korea-abuse-brothers-home.html          Korea Score a Win                          By Choe SangHun                  TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/25/world/a
                        sia/myanmar-british-ambassador-             ExAmbassador to Britain Is Arrested By
2022-08-25   2022-08-26 arrested.html                               Myanmar Junta in Immigration Case          By Richard C Paddock             TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/25/world/a UN Report on Human Rights Abuses in         By Nick CummingBruce and
2022-08-25   2022-08-26 sia/un-report-xinjiang-delay.html           Xinjiang May Be Delayed Yet Again          Austin Ramzy                     TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/25/world/e Putin Bolstering Ranks Of Military As War By Anton Troianovski and Ivan
2022-08-25   2022-08-26 urope/putin-russia-military-expansion.html  Takes Toll                                 Nechepurenko                     TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/25/world/e Spain Passes Law Requiring Clear Consent
2022-08-25   2022-08-26 urope/spain-rape-consent-law.html           for Sex Joining Others                     By Emma Bubola and Jos Bautista TX 9-207-887         2022-10-14
                        https://www.nytimes.com/2022/08/25/world/e FrontRunner to Replace Johnson Casts
2022-08-25   2022-08-26 urope/uk-liz-truss-prime-minister.html      Herself As UKs New Iron Lady               By Mark Landler                  TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/25/arts/des
                        ign/christies-auction-paul-allen-art-       Christies to Sell Art Trove Of Microsoft
2022-08-26   2022-08-26 collection.html                             CoFounder                                  By Robin Pogrebin                TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/25/movies/
2022-08-26   2022-08-26 me-time-review.html                         Me Time                                    By Teo Bugbee                    TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/25/theater/
2022-08-26   2022-08-26 kinky-boots-review.html                     Back in the Shoe Factory and Still Kicking By Elisabeth Vincentelli         TX 9-207-887        2022-10-14
                        https://www.nytimes.com/2022/08/25/us/texa Judge Voids Texas Law Barring Adults Under
2022-08-26   2022-08-26 s-handguns-under-21.html                    21 From Carrying Handguns                  By Eliza Fawcett                 TX 9-207-887        2022-10-14

                        https://www.nytimes.com/2022/08/24/world/c Churchill Portrait Vanishes From Famed        By Livia AlbeckRipka and
2022-08-24   2022-08-27 anada/churchill-portrait-stolen-canada.html Ottawa Hotel                                 McKenna Oxenden                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/25/arts/des 5 Sculptors Get a Place to Shine at the US
2022-08-25   2022-08-27 ign/us-open-artists.html                    Open                                         By Kalia Richardson               TX 9-207-887     2022-10-14




                                                                                  Page 4166 of 5793
                        https://www.nytimes.com/2022/08/25/arts/mu
2022-08-25   2022-08-27 sic/ingrid-andress-good-person.html         Nashville Outsider Paved Her Own Path In        By Jewly Hight                  TX 9-207-887    2022-10-14
                                                                    Morgan Taylor 52 Inventive Childrens
                        https://www.nytimes.com/2022/08/25/arts/mu Performer Who Received 2 Grammy
2022-08-25   2022-08-27 sic/morgan-taylor-dead.html                 Nominations                                     By Neil Genzlinger              TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/25/theater/
                        salzburg-festival-iphigenia-verrueckt-nach-
2022-08-25   2022-08-27 trost.html                                  At the Salzburg Festival Plays That Provoke     By AJ Goldmann                  TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/26/arts/dan Baryshnikov Arts Center Chooses a Dance
2022-08-26   2022-08-27 ce/baryshnikov-arts-center-sonja-kostich.html Veteran as Leader                             By Javier C Hernndez            TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/arts/dan
2022-08-26   2022-08-27 ce/kinetic-light-wired.html                   Their Own Spin on Barriers to Entry           By Brian Seibert                TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/26/arts/mu
2022-08-26   2022-08-27 sic/california-rap-lyrics-bill-young-thug.html A Bill Limits Rap Lyrics As Evidence         By Livia AlbeckRipka            TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/arts/mu Joey DeFrancesco 51 Whose Music Dazzled
2022-08-26   2022-08-27 sic/joey-defrancesco-dead.html                 Jazz Audiences Dies                          By Neil Genzlinger              TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/busines Fed Chair Signals That Higher Rates Are
2022-08-26   2022-08-27 s/economy/jerome-powell-inflation.html         Ahead                                        By Jeanna Smialek               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/busines NBC Is Considering Ending PrimeTime
2022-08-26   2022-08-27 s/media/nbc-prime-time.html                    Lineup at 10                                 By John Koblin                  TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/busines Moderna Sues Pfizer and BioNTech Over            By Rebecca Robbins and Jenny
2022-08-26   2022-08-27 s/moderna-covid-vaccine-lawsuit.html           Coronavirus Vaccine                          Gross                           TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/busines Steven Hoffenberg 77 Debt Baron Who Ran
2022-08-26   2022-08-27 s/steven-hoffenberg-dead.html                  Vast Ponzi Fraud Dies                        By Ed Shanahan                  TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/busines Stocks Drop After Powell Predicts Pain For
2022-08-26   2022-08-27 s/stock-market-jerome-powell.html              Economy                                      By Joe Rennison                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/busines
2022-08-26   2022-08-27 s/uk-energy-price-cap.html                     Energy Bills To Rise 80 For British          By Mark Landler and Stanley Reed TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/busines How the UK Determines What Utilities Can
2022-08-26   2022-08-27 s/uk-energy-price-caps-explained.html          Charge                                       By Stanley Reed                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/busines US and China Agree to Share Audits of            By Ana Swanson and Keith
2022-08-26   2022-08-27 s/us-china-audit-deal.html                     USListed Chinese Firms                       Bradsher                        TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/climate
                        /california-electric-gasoline-car-ban-         Californias Bold Journey To an AllElectric
2022-08-26   2022-08-27 enforcement.html                               Future Wont Be an Easy Cruise                By Lisa Friedman and Brad Plumer TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/26/climate EPA Says It Will Designate Commonly Used
2022-08-26   2022-08-27 /epa-pfas-forever-chemicals-hazardous.html Forever Chemicals as Hazardous               By Lisa Friedman                    TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/health/ Monkeypox Confounds Doctors With Shifting
2022-08-26   2022-08-27 monkeypox-symptoms.html                    Symptoms and Presentations                   By Apoorva Mandavilli               TX 9-207-887    2022-10-14
                                                                   Heart Disease Patients Are More Likely to
                        https://www.nytimes.com/2022/08/26/health/ Stick to a OnePill Daily Regimen Researchers
2022-08-26   2022-08-27 polypill-heart-disease.html                Say                                          By Roni Caryn Rabin                 TX 9-207-887    2022-10-14



                                                                                  Page 4167 of 5793
                        https://www.nytimes.com/2022/08/26/movies/
2022-08-26   2022-08-27 international-movies-streaming.html         In the Fog of War Striving for Joy             By Devika Girish               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/movies/
2022-08-26   2022-08-27 the-invitation-review.html                  Champagne Flows Along With Blood               By Natalia Winkelman           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/movies/ Virginia Patton Moss 97 the Last Surviving
2022-08-26   2022-08-27 virginia-patton-moss-dead.html              Adult Cast Member of Its a Wonderful Life By Richard Sandomir                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/nyregio Critics Abound at First Hearing on Tolls for
2022-08-26   2022-08-27 n/congestion-pricing-nyc-mta.html           Driving Into Manhattan                         By Ana Ley                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/nyregio New York City Reports Drop In New Cases
2022-08-26   2022-08-27 n/monkeypox-cases-nyc-worldwide.html        Of Monkeypox                                   By Lola Fadulu                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/nyregio                                                 By Joseph Goldstein and Noah
2022-08-26   2022-08-27 n/nyc-monkeypox-case-child.html             First Child in New York City Is Infected       Weiland                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/nyregio New York CityOwned Golf Course Run by By Emma G Fitzsimmons Alan
2022-08-26   2022-08-27 n/trump-ferry-point-golf-liv-aramco.html    Trump Will Host SaudiBacked Event              Blinder and Maggie Haberman    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/opinion More Evidence of a Righteous Case Against
2022-08-26   2022-08-27 /redacted-affidavit-trump.html              Trump                                          By Andrew Weissmann            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/opinion Bidens Student Debt Plan Isnt Ideal Its Still a
2022-08-26   2022-08-27 /student-loan-debt-cancellation.html        Win                                            By Tressie McMillan Cottom     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/opinion
2022-08-26   2022-08-27 /sweat-benefits.html                        In Praise of Sweat                             By Mona Chalabi                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/sports/a
                        utoracing/formula-1-broadcast-
2022-08-26   2022-08-27 technology.html                             The high tech of Formula 1                     By Luke Smith                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/sports/a
2022-08-26   2022-08-27 utoracing/max-verstappen-formula-1.html     On track for another title                     By Ian Parkes                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/sports/b
                        aseball/fernando-tatis-jr-baseball-         Ringworm Skin Infection Tatiss Explanations
2022-08-26   2022-08-27 steroids.html                               Strain Common Sense                            By Kevin Draper                TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/26/sports/b Mariners Ready to Give Their Young Star a
2022-08-26   2022-08-27 aseball/julio-rodriguez-mariners-contract.html Contract to Match His Ambition              By Benjamin Hoffman            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/sports/f Injuries Dim Optimism Around Jets and
2022-08-26   2022-08-27 ootball/giants-jets-preseason-game.html        Giants                                      By Emmanuel Morgan             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/sports/g
                        olf/tour-championship-mcilroy-smith-liv-       PGA Tour Is Banking On Stars and Patience
2022-08-26   2022-08-27 pga.html                                       As Chaotic Season Ends                      By Alan Blinder                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/technol
2022-08-26   2022-08-27 ogy/crypto-ethereum-the-merge.html             At Last the Merge Will It Bail Out Crypto   By David YaffeBellany          TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/26/us/affir Top Colleges Where Affirmative Action Was
2022-08-26   2022-08-27 mative-action-admissions-supreme-court.html Banned Say Its Needed                     By Stephanie Saul                   TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/26/us/desa DeSantis Suspends 4 School Board Members
2022-08-26   2022-08-27 ntis-broward-county-school-board.html      After Report on Parkland Shooting        By Patricia Mazzei                    TX 9-207-887   2022-10-14




                                                                                 Page 4168 of 5793
                                                                                                                  By Michael D Shear Jim
                        https://www.nytimes.com/2022/08/26/us/polit                                               Tankersley and Zolan
2022-08-26   2022-08-27 ics/biden-student-loans.html                 Dogged Push For Bidens Ear On Loan Debt KannoYoungs                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/us/polit
                        ics/doug-mastriano-confederate-uniform-      Candidate for Governor Wore Confederate
2022-08-26   2022-08-27 army.html                                    Uniform                                      By Maggie Astor                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/us/polit Michigan GOP Is Set To Run a Conspiracist By Alexandra Berzon and Nick
2022-08-26   2022-08-27 ics/matthew-deperno-michigan-trump.html      For Attorney General                         Corasaniti                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/us/polit                                               By Julian E Barnes and Mark
2022-08-26   2022-08-27 ics/trump-affidavit-intelligence-spies.html  Safeguarding A Fragile Web Of Informants Mazzetti                              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/us/polit                                               By Glenn Thrush Alan Feuer and
2022-08-26   2022-08-27 ics/trump-affidavit-warrant.html             US Feared Trump Files Put Spies At Risk      Maggie Haberman                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/us/texa Dripping and Desperate Temperatures in
2022-08-26   2022-08-27 s-prisons-heat-air-conditioning.html         Texas Jail Top 90 Degrees                    By David Montgomery               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/world/a
                        frica/ethiopian-tigray-airstrike-            Ethiopian Airstrike Hits Kindergarten in
2022-08-26   2022-08-27 kindergarten.html                            Tigray                                       By Declan Walsh                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/world/e
2022-08-26   2022-08-27 urope/latvia-soviet-monument.html            Latvian Capital Topples SovietEra Monument By Isabella Kwai                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/world/e With Military Attacks And Mockery Ukraine
2022-08-26   2022-08-27 urope/ukraine-russia-taunting.html           Pokes the Russian Bear                       By Andrew E Kramer                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/world/e To Escape Crippling Stalemate Ukraine          By Andrew E Kramer Anton
2022-08-26   2022-08-27 urope/ukraine-russia-war-putin.html          Weighs Risky Offensive                       Troianovski and Helene Cooper     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/world/
                        middleeast/iran-backed-syria-united-         Fighting Escalates in Syria Between Militias By Farnaz Fassihi Raja Abdulrahim
2022-08-26   2022-08-27 states.html                                  Backed by the United States and Iran         and Adam Entous                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/world/ Generating Clicks and Quarrels as an Israeli
2022-08-26   2022-08-27 middleeast/nas-daily-israel-uae.html         Arab in Dubai                                By Patrick Kingsley               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/your-
2022-08-26   2022-08-27 money/markets-college-savings.html           When Your College Savings Take a Hit         By Ann Carrns                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/article/matt-araiza- Buffalos Rookie Punter Faces Allegations of By Jenny Vrentas Ken Belson and
2022-08-26   2022-08-27 rape-lawsuit-buffalo-bills.html              Rape                                         Kris Rhim                         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/live/2022/08/26/bus
                        iness/economy-news-inflation-
                        stocks/predictions-federal-reserve-jackson-  Predictions From Fed Conference Havent
2022-08-26   2022-08-27 hole                                         Always Been on Point                         By Stephen Gandel                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/live/2022/08/26/wo
                        rld/ukraine-russia-war-news/zaporizhzhia-    As Fires Rage Ukraine Gets Nuclear Plant
2022-08-26   2022-08-27 nuclear-plant                                Reconnected                                  By Marc Santora                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/sports/t Evert Still a Champion From Beating Cancer
2022-08-27   2022-08-27 ennis/chris-evert-cancer-us-open.html        To Nurturing Youths                          By David Waldstein                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/us/desa In Florida Cautiously Navigating How to
2022-08-27   2022-08-27 ntis-schools-dont-say-gay.html               Teach                                        By Sarah Mervosh                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/us/geor Small Georgia County Is Swept Up in            By Danny Hakim Neil Vigdor and
2022-08-27   2022-08-27 gia-trump-coffee-county-election.html        Election Meddling Inquiry                    Richard Fausset                   TX 9-207-887   2022-10-14



                                                                                Page 4169 of 5793
                        https://www.nytimes.com/article/trump-                                                 By Luke Broadwater Katie Benner
2022-08-27   2022-08-27 documents-investigation-timeline.html        A 20Month Fight That Ended With a Warrant and Maggie Haberman               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/07/07/books/r
2022-07-07   2022-08-28 eview/mothers-dont-katixa-agirre.html        Femme Fatale                              By Catherine Lacey                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/01/books/r
2022-08-01   2022-08-28 eview/putin-philip-short.html                Who Is Vladimir Putin                     By Peter Baker                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/books/r
2022-08-02   2022-08-28 eview/tess-gunty-rabbit-hutch.html           Living Arrangements                       By Leah Greenblatt                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/02/books/r
                        eview/the-prophet-of-the-andes-graciela-
2022-08-02   2022-08-28 mochkofsky.html                              The Wanderers                             By Kat Rosenfield                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/07/books/r
2022-08-07   2022-08-28 eview/diary-of-a-void-emi-yagi.html          Pregnant Pause                            By Lauren Oyler                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/08/books/r
2022-08-08   2022-08-28 eview/three-assassins-kotaro-isaka.html      Head Hunters                              By Ian Wang                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/books/r
                        eview/from-pittsburgh-to-new-orleans-on-a-
2022-08-09   2022-08-28 19th-century-style-flatboat.html             River Country                             By Ben McGrath                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/books/r
                        eview/kiki-de-montparnasse-man-ray-mark-
2022-08-09   2022-08-28 braude.html                                  Bohemian Rhapsody                         By Joanna Scutts                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/09/books/r
                        eview/the-women-could-fly-megan-
2022-08-09   2022-08-28 giddings.html                                Wicked                                    By Tochi Onyebuchi                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/10/books/r
2022-08-10   2022-08-28 eview/new-thrillers.html                     Time Warps                                By Sarah Lyall                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/15/style/lv
2022-08-15   2022-08-28 mh-brands-deadstock-fabric.html              Breathing New Life Into Deadstock Fabric  By Dana Thomas                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/books/r
                        eview/laura-hobson-gentlemans-               What Was the It Book of Summer 75 Years
2022-08-18   2022-08-28 agreement.html                               Ago                                       By Tina Jordan                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/18/books/r
                        eview/scent-of-burnt-flowers-keya-das-second
                        act-briefly-a-delicious-life-blitz-bazawule-
2022-08-18   2022-08-28 sopan-deb-nell-stevens.html                  Debut Novels                              By Angela Lashbrook               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/20/books/r
2022-08-20   2022-08-28 eview/diary-of-a-misfit-casey-parks.html     Down Home                                 By Michelle Hart                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/arts/mu
2022-08-22   2022-08-28 sic/blondie-against-the-odds.html            The Definitive Package of Blondie         By Rob Tannenbaum                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/books/r
2022-08-22   2022-08-28 eview/new-crime-fiction.html                 Tracked by Killers                        By Sarah Weinman                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/opinion
2022-08-22   2022-08-28 /greece-mitsotakis-predator-spyware.html     The Rot at the Heart of Greece            By Alexander Clapp                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/opinion What if the FBI Were Investigating a
2022-08-22   2022-08-28 /trump-fbi-republicans.html                  Democrat                                  By Rich Lowry                     TX 9-207-887   2022-10-14



                                                                               Page 4170 of 5793
                        https://www.nytimes.com/2022/08/22/realesta
2022-08-22   2022-08-28 te/shopping-for-settees.html                 No Space for a Sofa Try a Smaller Option   By Tim McKeough                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/style/su                                             By Kevin Koenig and Mohamed
2022-08-22   2022-08-28 bmarines-affordable.html                     Personal Submarines Proliferate            Sadek                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/magazi Is It OK That My CoWorker Keeps Her
2022-08-23   2022-08-28 ne/abortion-views-work-ethics.html           AntiAbortion Views on the Down Low         By Kwame Anthony Appiah        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/movies/
2022-08-23   2022-08-28 regina-hall-honk-for-jesus.html              Regina Hall Digs Dogs Prince and Hiking    By Sandra E Garcia             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/opinion
2022-08-23   2022-08-28 /fauci-retires.html                          How History Will Remember the Fauci Era    By Gregg Gonsalves             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/realesta
                        te/the-east-hampton-house-was-perfect-except-
2022-08-23   2022-08-28 for-one-thing.html                           Furnishing a Perfect House                 By Tim McKeough                TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/23/style/m
2022-08-23   2022-08-28 eghan-markle-podcast-serena-williams.html A Duchesss Podcast                            By Gina Cherelus               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/arts/dan
2022-08-24   2022-08-28 ce/modern-dance-ukraine.html                In an Arena of War Gestures of Grace        By Gia Kourlas                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/arts/des
2022-08-24   2022-08-28 ign/rm-bts-band-art-korea.html              A Boy Band Superstar Turns Patron           By Andrew Russeth              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/magazi
2022-08-24   2022-08-28 ne/bereal-app.html                          True Enough                                 By Sophie Haigney              TX 9-207-887   2022-10-14

                                                                    Behold the Fruit Sandwich In this Japanese
                        https://www.nytimes.com/2022/08/24/magazi treat ripe seasonal gems are enrobed in cream
2022-08-24   2022-08-28 ne/fruit-sandwich-japan-recipe.html         and nestled between slices of milk bread    By Ligaya Mishan               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/opinion
2022-08-24   2022-08-28 /seattle-homeless-solutions.html            Something Better Than a Tent                By Maia Szalavitz              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/realesta
                        te/house-hunting-in-morocco-marrakesh-      In a Palm Grove Outside Marrakesh a Pink
2022-08-24   2022-08-28 riad.html                                   Oasis                                       By Marcelle Sussman Fischler   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/realesta Its a Shore Community With a New England
2022-08-24   2022-08-28 te/keyport-new-jersey-coast.html            Feel                                        By Jill P Capuzzo              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/style/w
                        hy-are-my-sons-new-wife-and-baby-living-at-
2022-08-24   2022-08-28 her-parents-house.html                      Should I Meddle                             By Philip Galanes              TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/24/upshot/ Evidence Is Mounting Against a Republican
2022-08-24   2022-08-28 midterms-elections-republicans-analysis.html Wave                                       By Nate Cohn                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/us/mac Around the World in 154 Days 17YearOld
2022-08-24   2022-08-28 k-rutherford-teen-pilot.html                 Aviator Sets a Solo Record                 By Christine Hauser            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/arts/mu
2022-08-25   2022-08-28 sic/bluey-disney-plus-classical-music.html   Sophisticated Scores Its Childs Play       By David Allen                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/magazi
2022-08-25   2022-08-28 ne/cecilia-vicuna-art.html                   The Art of Repair                          By Carina del Valle Schorske   TX 9-207-887   2022-10-14



                                                                                Page 4171 of 5793
                        https://www.nytimes.com/2022/08/25/magazi
2022-08-25   2022-08-28 ne/jones-day-trump.html                      We changed the country                      By David Enrich                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/magazi
2022-08-25   2022-08-28 ne/judge-john-hodgman-chargers.html          Bonus Advice From Judge John Hodgman        By John Hodgman                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/magazi
2022-08-25   2022-08-28 ne/poem-lipstick-elegy.html                  Poem Lipstick Elegy                         By Paul Tran and Victoria Chang   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/nyregio
2022-08-25   2022-08-28 n/althea-gibson-tennis-harlem.html           Before Serena There Was Althea              By Sally H Jacobs                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/nyregio AirConditioned Subway Stops Dont Hold
2022-08-25   2022-08-28 n/subways-air-conditioned.html               Your Breath                                 By Robert Klara                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/nyregio
2022-08-25   2022-08-28 n/tennis-brookyln-us-open.html               Where Tennis Soars Despite Rugged Courts    By Corey Kilgannon                TX 9-207-887   2022-10-14
                                                                     A Stirring of Democratic Hearts Three
                        https://www.nytimes.com/2022/08/25/opinion Writers Discuss an Altered Midterm            By Frank Bruni Molly JongFast and
2022-08-25   2022-08-28 /democrats-midterms-biden.html               Landscape                                   Doug Sosnik                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/opinion Still Suffering After Covid Its Not Just in
2022-08-25   2022-08-28 /long-covid-pandemic.html                    Your Head                                   By Zeynep Tufekci                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/opinion
2022-08-25   2022-08-28 /social-media-algorithms.html                What The Internet Is Hiding                 By Farhad Manjoo                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/realesta
2022-08-25   2022-08-28 te/cities-residential-views-air-quality.html Rooms With Views and Fresh Air              By Michael Kolomatsky             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/style/br
2022-08-25   2022-08-28 ight-lights-big-city-niche-fame.html         Bright Lights Big City and Niche Fame       By Amy Larocca                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/style/m For Some Disabled People Marrying Is Too
2022-08-25   2022-08-28 arriage-equality-disabled-people.html        Costly                                      By Tammy LaGorce                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/theater/
2022-08-25   2022-08-28 creede-repertory-theater-colorado.html       The Curtain Rises on a FarOff Stage         By Elisabeth Vincentelli          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/us/e- E Bryant Crutchfield Who Helped Students
2022-08-25   2022-08-28 bryant-crutchfield-dead.html                 Find Order Dies at 85                       By Clay Risen                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/world/c Canada Fines Diver 9200 For Swimming
2022-08-25   2022-08-28 anada/diver-orca-pod-fine-canada.html        Close to Orcas                              By Johnny Diaz                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/interactive/2022/08/ When Los Angeles Slipped Out of Her
                        25/realestate/los-angeles-san-bernardino-    Budget She Looked East for More Space
2022-08-25   2022-08-28 housing.html                                 Which Home Did She Choose                   By Livia AlbeckRipka              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/arts/dan
2022-08-26   2022-08-28 ce/the-finnish-national-ballet-at-100.html   Tracing the Roots of Finnish Ballet         By Elizabeth Kendall              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/arts/mu Sy Johnson 92 Arranger Known for Work
2022-08-26   2022-08-28 sic/sy-johnson-dead.html                     With Mingus                                 By Clay Risen                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/arts/tele Joe E Tata 85 Who Played Owner of Peach
2022-08-26   2022-08-28 vision/joe-tata-dead.html                    Pit on Beverly Hills 90210 Dies             By Johnny Diaz                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/arts/tele
2022-08-26   2022-08-28 vision/the-patient-fx-steve-carell.html      Talk Therapy With Shackles                  By Elisabeth Vincentelli          TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/26/books/r
2022-08-26   2022-08-28 eview/christina-soontornvat-the-tryout.html Game Face                                    By Jennifer Mathieu               TX 9-207-887   2022-10-14



                                                                                Page 4172 of 5793
                        https://www.nytimes.com/2022/08/26/books/r
                        eview/the-secret-battle-of-evan-pao-wendy-
2022-08-26   2022-08-28 wan-long-shang.html                         Soldiering On                              By Shing Yin Khor             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/busines                                             By Julia Rothman and Shaina
2022-08-26   2022-08-28 s/keeping-his-weed-happy.html               Keeping His Weed Happy                     Feinberg                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/busines
2022-08-26   2022-08-28 s/roxane-gay-work-advice-therapy.html       How to Duck Out of Work for Therapy        By Roxane Gay                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/busines
2022-08-26   2022-08-28 s/stock-market-bear-nothing.html            Unless Youve Got a Crystal Ball Do Nothing By Jeff Sommer                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/magazi
2022-08-26   2022-08-28 ne/coco-gauff-us-open.html                  The Prodigy                                By Susan Dominus              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/movies/
2022-08-26   2022-08-28 foreign-film-titles-parasite.html           Whats Lost or Gained in Translation        By Nicolas Rapold             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/opinion Has the Fight Against Antisemitism Lost Its
2022-08-26   2022-08-28 /antisemitism-israel-uae-saudi.html         Way                                        By Peter Beinart              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/opinion
2022-08-26   2022-08-28 /democrats-midterms-agenda.html             Democrats Might Get Exceptionally Lucky    By Jamelle Bouie              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/opinion
2022-08-26   2022-08-28 /russia-ukraine-oil-gas-prices.html         The Dangers Of Depending On Autocrats      By Paul Krugman               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/opinion
2022-08-26   2022-08-28 /sunday/maternal-instinct-myth.html         The Pernicious Myth of Maternal Instinct   By Chelsea Conaboy            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/opinion
2022-08-26   2022-08-28 /trump-documents-jan-6-prosecute.html       Donald Trump Is Not Above the Law          By The Editorial Board        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/science Dugong Sea Cow Is Extinct in Chinese
2022-08-26   2022-08-28 /china-dugong-sea-cow-extinct.html          Waters Study Finds                         By Mike Ives                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/sports/b Cue the Trumpets The Mets Won the Daz
2022-08-26   2022-08-28 aseball/edwin-diaz-mets.html                Trade Eventually                           By Tyler Kepner               TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/26/sports/s How Dare the World Cup Interfere With the
2022-08-26   2022-08-28 occer/champions-league-draw-world-cup.html Champions League                              By Rory Smith               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/style/ca
                        roline-hubbard-michael-mcmillan-ii-         From the Start Looking the Part of a Married
2022-08-26   2022-08-28 wedding.html                                Couple                                       By Emma Grillo              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/style/ch As Guests on a Show Magic From the First
2022-08-26   2022-08-28 elsea-white-tash-neal-wedding.html          Second                                       By Nina Reyes               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/style/ed
2022-08-26   2022-08-28 ward-enninful-fashion-editor.html           He Wears Prada and Is All About Reinvention By Maureen Dowd              TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/26/style/lu
2022-08-26   2022-08-28 vana-chowdhury-shafin-fattah-wedding.html Turns Out They Didnt Need a Dating App        By Kristen Bayrakdarian      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/style/m
2022-08-26   2022-08-28 odern-love-lockdown-in-shanghai.html        Our Romantic Lockdown Bubble Burst          By Zhengkun Hou              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/style/zo Building Up Buttercups and Staying for Last
2022-08-26   2022-08-28 har-fuller-maryse-pearce-wedding.html       Call                                        By Valeriya Safronova        TX 9-207-887   2022-10-14




                                                                                Page 4173 of 5793
                        https://www.nytimes.com/2022/08/26/us/belle-                                               By Remy Tumin and Brittany
2022-08-26   2022-08-28 isle-giant-slide-detroit.html               A Bumpy Ride Down a Slide in Detroit           Greeson                             TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/26/us/polit US Eyeing Obstruction Trump Affidavit
2022-08-27   2022-08-28 ics/obstruction-trump-search-documents.html Suggests                                      By Charlie Savage                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/busines Does College Football on TV Have to Be So
2022-08-27   2022-08-28 s/college-football-tv-espn.html             Miserable                                     By Ben MathisLilley                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/busines
2022-08-27   2022-08-28 s/retirement-special-needs.html             Planning Past Your Lifetime for a Childs Care By Martha C White                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/health/
2022-08-27   2022-08-28 dbt-teens-suicide.html                      Intensive Treatment Is Best Tool We Have      By Matt Richtel                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/health/t 10 Psychiatric Drugs While in High School By Matt Richtel and Annie
2022-08-27   2022-08-28 eens-psychiatric-drugs.html                 And She Was Far From Alone                    Flanagan                             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/nyregio High Bar Leads to Lifeguard Lows in New
2022-08-27   2022-08-28 n/new-york-city-lifeguard-shortage.html     York City                                     By Hurubie Meko                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/nyregio
2022-08-27   2022-08-28 n/walter-odom-fort-greene-tennis.html       Holding Court at Fort Greene Park             By TM Brown                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/opinion
2022-08-27   2022-08-28 /sanna-marin-women-abortion.html            Womens Work Is Never Done                     By Maureen Dowd                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/realesta How Do I Time an Apartment Move So
2022-08-27   2022-08-28 te/how-to-time-your-apartment-move.html     Theres No Gap or Overlap                      By Ronda Kaysen                      TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/27/sports/f Bills Release Rookie Punter Who Is Accused
2022-08-27   2022-08-28 ootball/buffalo-bills-matt-araiza-released.html in a Lawsuit of Raping a Teenage Girl        By Ken Belson and Jenny Vrentas   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/style/ba
2022-08-27   2022-08-28 bysitter-child-care-europe.html                 For a Blast Like the Past Hire a Disco Nanny By Alyson Krueger                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/us/charl
                        ie-crist-karla-hernandez-mats-florida-
2022-08-27   2022-08-28 gov.html                                        Crist Picks Educator To Join Him In Election By Patricia Mazzei                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/us/polit
2022-08-27   2022-08-28 ics/biden-student-loans.html                    Debt Aid Plan Reveals Limits Of Biden Tools By Jim Tankersley                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/us/polit On Book Tour Kushner Offers Tortured             By Annie Karni and Maggie
2022-08-27   2022-08-28 ics/jared-kushner-trump-book.html               Defenses of Trump                            Haberman                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/us/polit Judge Backs Denying 911 Families Bid to
2022-08-27   2022-08-28 ics/sept-11-afghan-central-bank.html            Seize Frozen Afghan Funds                    By Charlie Savage                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/us/polit
                        ics/trump-documents-security-assessment-
2022-08-27   2022-08-28 affidavit.html                                  Officials To Review Documents For Risks      By Luke Broadwater                TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/27/us/polit Judge Signals Plan to Allow an Arbiter in By Alan Feuer and Maggie
2022-08-27   2022-08-28 ics/trump-special-master-judge-cannon.html MaraLago Search                            Haberman                         TX 9-207-887           2022-10-14
                        https://www.nytimes.com/2022/08/27/us/san- As Most Spots Swelter San Francisco Is
2022-08-27   2022-08-28 francisco-weather.html                      Chilly                                    By Thomas Fuller and Holly Secon TX 9-207-887           2022-10-14
                        https://www.nytimes.com/2022/08/27/world/a For Descendants of Colonized People a Long
2022-08-27   2022-08-28 mericas/colonial-reparations.html           Road to Reparations                       By Max Fisher                    TX 9-207-887           2022-10-14



                                                                                  Page 4174 of 5793
                        https://www.nytimes.com/2022/08/27/world/e
2022-08-27   2022-08-28 urope/europride-belgrade.html               EuroPride In Serbia Is Canceled Or Its Not    By Isabella Kwai               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/27/world/e
                        urope/inspectors-ukraine-nuclear-           Officials Step Up Emergency Drills as Fears   By Marc Santora Katrin Bennhold
2022-08-27   2022-08-28 zaporizhzhia.html                           of Nuclear Disaster Mount                     and Andrew Higgins              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/world/e
                        urope/lindisfarne-england-tides-            A Sacred Spot Where the Reckless Try to       By Stephen Castle and Andrew
2022-08-27   2022-08-28 causeway.html                               Outrace the Tide                              Testa                          TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/27/world/e In Finland a Partying Leader Draws Hisses
2022-08-27   2022-08-28 urope/sanna-marin-finland-pm-party.html     and Cheers                                    By Katrin Bennhold             TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/27/world/e Defying Labels Women Bolster Ukraines
2022-08-27   2022-08-28 urope/ukraine-war-women.html                Fight                                         By Megan Specia and Emile Ducke TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/world/
                        middleeast/israel-government-mansour-       Lessons Learned Israels Improbable Islamist
2022-08-27   2022-08-28 abbas.html                                  Kingmaker Looks Ahead                         By Isabel Kershner             TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/busines
2022-08-28   2022-08-28 s/the-offices-last-stand.html               The Offices Last Stand                        By Emma Goldberg               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/busines
                        s/the-week-in-business-changing-consumer- The Week in Business Changing Consumer
2022-08-28   2022-08-28 habits.html                                 Habits                                        By Marie Solis                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/health/c Better Boosters Even as Access Is Scaled
2022-08-28   2022-08-28 ovid-vaccines-money.html                    Back                                          By Benjamin Mueller            TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/insider/
                        as-covid-guidance-evolves-so-does-a-virus-
2022-08-28   2022-08-28 briefing.html                               The Next Phase of Virus Coverage              By Emmett Lindner              TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/28/realesta
2022-08-28   2022-08-28 te/homes-that-sold-for-around-1-million.html Around 1 Million                           By C J Hughes                    TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/realesta
2022-08-28   2022-08-28 te/streetscapes-tribeca-abolition.html       History Hides Here                         By John Freeman Gill             TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/science NASAs Return to Moon Is More Than a
2022-08-28   2022-08-28 /nasa-moon-rocket-launch.html                Reboot                                     By Kenneth Chang                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/sports/t
2022-08-28   2022-08-28 ennis/serena-williams-legacy-us-open.html    How the Williams Sisters Changed Tennis    By Christopher Clarey            TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/sports/t First Impressions Of a Future Champion Last
2022-08-28   2022-08-28 ennis/serena-williams-us-open.html           a Lifetime                                 By Matthew Futterman             TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/style/its-
2022-08-28   2022-08-28 how-you-wear-it.html                         Its How You Express Yourself               By Denny Lee                     TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/15/travel/b
2022-08-15   2022-08-29 udapest-hungary-memories.html                Reckoning With Memories of Budapest        By Stephen Hiltner               TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/25/busines StartUp Aims to Shrink Movies Carbon
2022-08-25   2022-08-29 s/app-movie-tv-carbon-footprint-creast.html Footprint                                 By Farah Nayeri                    TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/25/sports/f Howard Slusher 85 Sports Agent Loathed by
2022-08-25   2022-08-29 ootball/howard-slusher-dead.html            Owners of NFL and NBA Teams               By Richard Sandomir                TX 9-207-887    2022-10-14



                                                                                 Page 4175 of 5793
                        https://www.nytimes.com/2022/08/26/arts/des
2022-08-26   2022-08-29 ign/matisse-red-studio-painting-analysis.html The Secrets Lurking Inside a Matisse          By Blake Gopnik                  TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/arts/mu
2022-08-26   2022-08-29 sic/bolcom-piano-concerto-no-2.html           A Composer Revisits The Piano Concerto        By Seth Colter Walls             TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/arts/mu
                        sic/britney-spears-elton-john-hold-me-        Britney Spears and Elton Johns MashUp and
2022-08-26   2022-08-29 closer.html                                   More Songs                                    By Jon Pareles and Lindsay Zoladz TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/arts/tele After a Hiatus Star Trek Lives On and
2022-08-26   2022-08-29 vision/star-trek-lower-decks.html             Prospers                                      By Mike Hale                     TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/movies/
2022-08-26   2022-08-29 documentaries-streaming.html                  Three Takes on How a Mind Works               By Ben Kenigsberg                TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/26/travel/h How to Tread Lightly in the Worlds Fragile
2022-08-26   2022-08-29 ow-to-take-a-sustainable-trip.html            Places                                        By Elaine Glusac                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/27/busines
2022-08-27   2022-08-29 s/abott-baby-formula-similac.html             Abbott To Restart Production Of Similac       By McKenna Oxenden               TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/27/opinion A 300Mile Range Is the Wrong Goal for
2022-08-27   2022-08-29 /electric-car-battery-range.html              Electric Cars                                 By Edward Niedermeyer            TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/27/sports/t
2022-08-27   2022-08-29 ennis/majors-single-championship.html         When a major title is a onetime affair        By Cindy Shmerler                TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/27/sports/t
                        ennis/serena-williams-us-open-venus-
2022-08-27   2022-08-29 williams.html                                 She knew them when                            By Cindy Shmerler                TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/27/sports/t
2022-08-27   2022-08-29 ennis/us-open-analytics-data.html             Tennis by the numbers                         By Shira Springer                TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/27/us/corp
2022-08-27   2022-08-29 oral-punishment-schools.html                  Paddling Makes a Comeback in Missouri         By Michael Levenson              TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/27/sports/b
2022-08-28   2022-08-29 aseball/mets-willie-mays-old-timers.html      Mets Put the Past At the Forefront            By Gary Phillips                 TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/arts/mu Jaimie Branch 39 Dies Experimental
2022-08-28   2022-08-29 sic/jaimie-branch-dead.html                   Trumpeter Unbound by Genre Lines              By Mike Rubin                    TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/books/d
2022-08-28   2022-08-29 emocracys-data-dan-bouk.html                  In the US Census the Numerical Is Political   By Alexandra Jacobs              TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/28/books/n
2022-08-28   2022-08-29 ecronomicon-providence-hp-lovecraft.html   Welcome to a New Lovecraft Country               By Elisabeth Vincentelli         TX 9-207-887    2022-10-14

                        https://www.nytimes.com/2022/08/28/busines You Can Lead AI to Answers but Can You
2022-08-28   2022-08-29 s/ai-artificial-intelligence-david-ferrucci.html Make It Think                              By Steve Lohr                    TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/busines In Hong Kong an Old Sawmill Felled by            By Tiffany May and Louise
2022-08-28   2022-08-29 s/hong-kong-sawmill.html                         Growth                                     Delmotte                         TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/opinion
2022-08-28   2022-08-29 /biden-democrats-midterms.html                   Biden Becomes a Boon for Democrats         By Charles M Blow                TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/opinion
2022-08-28   2022-08-29 /movie-sequel-summer.html                        Havent We Seen These Characters Before     By Pamela Paul                   TX 9-207-887    2022-10-14



                                                                                  Page 4176 of 5793
                        https://www.nytimes.com/2022/08/28/opinion American Real Estate Was A Money
2022-08-28   2022-08-29 /ukraine-oligarch-cleveland-real-estate.html Launderers Dream Thats Changing          By Farah Stockman                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/28/sports/g McIlroy Claims FedEx Cup With Biggest
2022-08-28   2022-08-29 olf/mcilroy-tour-championship-pga.html       FinalRound Comeback in Events History    By Alan Blinder                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/28/us/kent In FloodRavaged Kentucky Schools
2022-08-28   2022-08-29 ucky-flooding-schools.html                   Improvise in a Race to Reopen            By Emily Cochrane                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/28/us/polit
2022-08-28   2022-08-29 ics/republicans-trump-search.html            In GOP Dimming Hopes for Midterms        By Luke Broadwater                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/28/us/polit Rick Reed Republican Whose Ads Hurt Kerry
2022-08-28   2022-08-29 ics/rick-reed-dead.html                      In 2004 Is Dead at 69                    By Ed Shanahan                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/28/us/polit In Case on Documents Trump Lawyers Rush By Maggie Haberman and Glenn
2022-08-28   2022-08-29 ics/trump-search-legal-team.html             To Find an Argument                      Thrush                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/28/us/polit
2022-08-28   2022-08-29 ics/ukraine-weapons-russia.html              Ukraine Forces MacGyvering Their Arsenal By Helene Cooper and Eric Schmitt TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/28/world/a Train Project For Yucatn Is Heading Toward By Maria AbiHabib and Alejandro
2022-08-28   2022-08-29 mericas/maya-train-mexico-amlo.html          Ruin                                     Cegarra                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/28/world/a
2022-08-28   2022-08-29 sia/us-warships-taiwan-china.html            US Sails Warships In Strait Of Taiwan    By Austin Ramzy                   TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/28/world/e Bullying and Sex Abuse Scandal Engulfs       By Emma Bubola and Jasmina
2022-08-28   2022-08-29 urope/denmark-bullying-private-school.html Danish School                                Nielsen                        TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/world/e Despite Risks Shelling Intensifies Around    By Andrew E Kramer and James C
2022-08-28   2022-08-29 urope/ukraine-zaporizhzhia-shelling.html   Ukraine Nuclear Plant                        McKinley Jr                    TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/world/
                        middleeast/cloud-seeding-mideast-water-    Coaxing Water Out of the Middle Easts        By Alissa J Rubin and Bryan
2022-08-28   2022-08-29 emirates.html                              Clouds                                       Denton                         TX 9-207-887    2022-10-14
                        https://www.nytimes.com/2022/08/28/world/
                        middleeast/libya-militias-hifter-dbeiba-   Dozens Are Killed in Libya As Militias Clash
2022-08-28   2022-08-29 bashagha.html                              in Streets                                   By Raja Abdulrahim             TX 9-207-887    2022-10-14
                        https://www.nytimes.com/article/voice-to-  In Australia Seeking to Give a Voice to the
2022-08-28   2022-08-29 parliament-referendum.html                 Indigenous                                   By Yan Zhuang                  TX 9-207-887    2022-10-14

                                                                                                             By Aaron Byrd Weiyi Cai Geoff
                        https://www.nytimes.com/interactive/2022/08/                                         Macdonald Emily Rhyne Noah
2022-08-28   2022-08-29 28/sports/tennis/tennis-serve-ball-toss.html The Toss                                Throop Joe Ward and Jeremy White TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/29/arts/tele
                        vision/whats-on-tv-this-week-race-for-the-
2022-08-29   2022-08-29 championship-stargirl.html                   This Week on TV                         By Shivani Gonzalez              TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/29/busines An Abrupt Exit at Carlyle Reveals a
2022-08-29   2022-08-29 s/carlyle-group-kewsong-lee.html             Generational Rift                       By Maureen Farrell and Peter Eavis TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/insider/
2022-08-29   2022-08-29 mining-investigation.html                    A Report at the Bottom of the Sea       By Eric Lipton                   TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/29/nyregio Hochul Puts Bet On New Towers Amid        By Matthew Haag Patrick
2022-08-29   2022-08-29 n/manhattan-offices-hochul.html              Office Glut                             McGeehan and Andres Kudacki      TX 9-207-887     2022-10-14



                                                                              Page 4177 of 5793
                        https://www.nytimes.com/2022/08/29/sports/t
                        ennis/serena-williams-comebacks-us-         On the Court And Off a Legacy Of
2022-08-29   2022-08-29 open.html                                   Comebacks                                   By Jesus Jimnez                    TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/29/sports/t
2022-08-29   2022-08-29 ennis/serena-williams-grand-slam-titles.html From No 1 to No 23                         By Christopher Clarey              TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/29/sports/t Theres No Doubt Whos the Greatest Of All
2022-08-29   2022-08-29 ennis/serena-williams-greatest-us-open.html Time Right                                  By Christopher Clarey              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/sports/t                                             By Kurt Streeter and Elena
2022-08-29   2022-08-29 ennis/us-open-serena-williams-impact.html Drawn In and Inspired By Her Greatness        Bergeron                           TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/29/technol
2022-08-29   2022-08-29 ogy/china-semiconductors-technology.html Chinas Craving for Microchips                By Li Yuan                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/technol QAnon Accounts Found a Home and Trumps
2022-08-29   2022-08-29 ogy/qanon-truth-social-trump.html          Support on Truth Social                    By Tiffany Hsu                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/technol The Eye of the Storm Taiwan Is Caught in a By Paul Mozur John Liu and
2022-08-29   2022-08-29 ogy/taiwan-chips.html                      Great Game Over Microchips                 Raymond Zhong                        TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/29/us/polit
2022-08-29   2022-08-29 ics/trump-justice-department-documents.html For Garland Trump Inquiry Is Unique Test    By Katie Benner                    TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/29/world/a Macron Strives to Repair Frances Ties to
2022-08-29   2022-08-29 frica/algeria-france-emmanuel-macron.html Algeria                                         By Roger Cohen                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/world/d Secret Data and Hunt for Riches on Oceans
2022-08-29   2022-08-29 eep-sea-mining.html                         Floor                                         By Eric Lipton                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/17/well/mi
2022-08-17   2022-08-30 nd/meditation-mindfulness-attention.html    You Cant Flunk Meditation Really              By AC Shilton                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/22/science
2022-08-22   2022-08-30 /dogs-crying-tears.html                     Do Dogs Weep for Us The Jury Is Still Out By Elizabeth Landau                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/23/well/mi Im tired all the time and feel unproductive at
                        nd/burnout-depression-symptoms-             work How do I know if Im depressed or
2022-08-23   2022-08-30 treatment.html                              burned out                                    By Dani Blum                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/24/well/m
2022-08-24   2022-08-30 ove/cardio-strength-training-benefits.html  Cardio Strength Long Life                     By Rachel Fairbank               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/busines Why Is a Color Wheel Suddenly Showing Up
2022-08-25   2022-08-30 s/japan-sdg.html                            Everywhere in Japan                           By Ben Dooley and Hisako Ueno    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/science
2022-08-25   2022-08-30 /spiders-misinformation-rumors.html         Caught Up in a Web of Misinformation          By Oliver Whang                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/25/well/liv
2022-08-26   2022-08-30 e/vaccination-records-history.html          Tracking Down Your Vaccination History        By Knvul Sheikh                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/busines
                        s/economy/china-drought-economy-
2022-08-26   2022-08-30 climate.html                                Drought Is Wreaking Havoc in China            By Keith Bradsher and Joy Dong   TX 9-207-887   2022-10-14




                                                                                Page 4178 of 5793
                        https://www.nytimes.com/2022/08/26/science
2022-08-26   2022-08-30 /monkeys-sex-toys-masturbation.html          Monkeys Monkeying Around                  By Emily Anthes               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/well/eat
2022-08-26   2022-08-30 /chia-seeds-benefits.html                    Here a Chia Seed There a Chia Seed        By Dani Blum                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/arts/tele
                        vision/nichelle-nichols-ashes-space-
2022-08-27   2022-08-30 rocket.html                                  A Fitting SendOff Liftoff for Lt Uhura    By Amanda Holpuch             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/science
2022-08-27   2022-08-30 /octopus-research-animal-rights.html         Octopuses Lack Backbones And Rights       By Elizabeth Preston          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/28/sports/t To Many Top Competitors Style Points
2022-08-28   2022-08-30 rack-and-field-style-money.html              Become a Major Measure of Success         By Kris Rhim                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/arts/des
                        ign/orlando-museum-of-art-fake-              Basquiat Fiasco Still Shaking Up Orlando
2022-08-29   2022-08-30 basquiats.html                               Museum                                    By Brett Sokol                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/arts/des                                            By Adam Nagourney and Robin
2022-08-29   2022-08-30 ign/san-francisco-art-market.html            Cultural Tremors In San Francisco         Pogrebin                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/arts/mu
                        sic/bad-bunny-un-verano-sin-ti-billboard-    Bad Bunny Is Back at No 1 Vying With
2022-08-29   2022-08-30 chart.html                                   Encanto                                   By Ben Sisario                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/arts/mu New Music Written After Dark From Taylor
2022-08-29   2022-08-30 sic/taylor-swift-new-album-midnights.html    Swift                                     By Ben Sisario                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/arts/tele
                        vision/house-of-the-dragon-steve-toussaint-
2022-08-29   2022-08-30 lord-corlys.html                             The Sea Snake Isnt Much of a Boat Guy     By Sean T Collins             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/arts/tele
2022-08-29   2022-08-30 vision/the-patient-review.html               Hows the Serial Killing Working for You   By Mike Hale                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/busines Congress Seeks Information On Financing For
2022-08-29   2022-08-30 s/buy-now-pay-later-guns.html                Gun Sales                                 By Matthew Goldstein          TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/29/busines New California Bill Would Regulate
2022-08-29   2022-08-30 s/economy/california-fast-food-ab-257.html FastFood Industry                           By Noam Scheiber              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/busines Lawyers for Musk Call WhistleBlower At
2022-08-29   2022-08-30 s/elon-musk-twitter-whistle-blower.html    Twitter to Testify                          By Lauren Hirsch              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/busines FTC Sues Over Data That Could Expose
2022-08-29   2022-08-30 s/ftc-lawsuit-tracking-data-abortion.html  AbortionClinic Trips                        By Natasha Singer             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/busines Uma Pemmaraju 64 Founding Fox News
2022-08-29   2022-08-30 s/media/uma-pemmaraju-dead.html            Channel Anchor                              By Richard Sandomir           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/climate Melting Ice Could Mean 10Inch Rise In Sea
2022-08-29   2022-08-30 /greenland-ice-sea-levels.html             Level                                       By Elena Shao                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/climate Relentless Downpours Turn Deadly in         By Max Bearak Raymond Zhong
2022-08-29   2022-08-30 /pakistan-floods-monsoon.html              Pakistan                                    and Ihsanullah Tipu Mehsud    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/fashion
2022-08-29   2022-08-30 /armlets-jewelry.html                      Bracelets for the biceps                    By Kathleen Beckett           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/fashion
2022-08-29   2022-08-30 /jeweler-fabio-salini-auction.html         A hope to help                              By Rachel Garrahan            TX 9-207-887   2022-10-14



                                                                               Page 4179 of 5793
                        https://www.nytimes.com/2022/08/29/fashion
2022-08-29   2022-08-30 /jewelry-bulgari-movie-emerald.html        Starring A big emerald                       By Rachel Felder                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/fashion
2022-08-29   2022-08-30 /jewelry-electronic-mining-recycling.html  Recycled and refined                         By Jessica Bumpus                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/fashion
2022-08-29   2022-08-30 /jewelry-gold-vicenza-italy.html           A summer of gold                             By Amy Elliott                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/fashion
2022-08-29   2022-08-30 /jewelry-gucci-ring-health-technology.html Guccis wellness track                        By Penelope Colston                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/fashion
2022-08-29   2022-08-30 /jewelry-guy-bedarida-micromosaics.html    Splendor in the glass                        By Roxanne Robinson                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/fashion
                        /jewelry-information-museum-islamic-art-
2022-08-29   2022-08-30 qatar.html                                 Telling a story of a jewels past             By David Belcher                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/fashion
2022-08-29   2022-08-30 /jewelry-pomellato-venice-repairs.html     A gift for Venice                            By Kathleen Beckett                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/fashion
2022-08-29   2022-08-30 /jewelry-publishers-taschen-assouline.html Books with bling                             By Alexandra Cheney                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/fashion
                        /jewelry-surrealism-design-museum-
2022-08-29   2022-08-30 london.html                                Exploring the irrational                     By Melanie Abrams                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/fashion
2022-08-29   2022-08-30 /jewelry-tiktok.html                       Talking jewelry on TikTok                    By Melanie Abrams                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/fashion
2022-08-29   2022-08-30 /jewelry-venice-film-festival.html         A chance to shine                            By Milena Lazazzera                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/fashion
                        /jewelry-victoria-albert-museum-curator-
2022-08-29   2022-08-30 diaspora.html                              From hermit jeweler to curator               By Annabel Davidson                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/movies/ Jordan Peele Is Chasing Immersive
2022-08-29   2022-08-30 jordan-peele-nope.html                     Experiences                                  By Mekado Murphy                    TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/29/nyregio New York City to Collect Garbage on Labor By Dana Rubinstein and Michael
2022-08-29   2022-08-30 n/garbage-pickup-labor-day.html             Day as Trash Problem Keeps Growing          Gold                                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/obituari Carl Croneberg Linguist Who Gave Deaf
2022-08-29   2022-08-30 es/carl-croneberg-dead.html                 Culture a Dictionary Dies at 92             By Clay Risen                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/opinion
2022-08-29   2022-08-30 /senate-republicans-trump.html              The GOP Is in a Grand Old Pickle            By Michelle Cottle                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/opinion The Book That Explains Our Cultural
2022-08-29   2022-08-30 /status-culture-book.html                   Stagnation                                  By Michelle Goldberg                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/opinion
2022-08-29   2022-08-30 /student-debt-relief.html                   Why Student Debt Relief Isnt Elitist        By Paul Krugman                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/opinion Did Biden Just School the Republicans or His
2022-08-29   2022-08-30 /student-loans-biden-trump.html             Own Party                                   By Gail Collins and Bret Stephens   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/science
                        /cats-pets-ommunication-artificial-
2022-08-29   2022-08-30 intelligence.html                           The Message in That Meow                    By Emily Anthes                     TX 9-207-887   2022-10-14



                                                                                Page 4180 of 5793
                        https://www.nytimes.com/2022/08/29/science                                              By Kenneth Chang and Christine
2022-08-29   2022-08-30 /nasa-artemis-moon-launch-delay.html         A Countdown And a Letdown For Space Fans Chung                                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/sports/b
2022-08-29   2022-08-30 aseball/mets-dodgers.html                    Met Take On Best And Risk East Lead        By Gary Phillips                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/sports/b Union Begins an Effort To Add Minor
2022-08-29   2022-08-30 aseball/mlbpa-minor-league-union.html        Leaguers                                   By James Wagner                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/technol
2022-08-29   2022-08-30 ogy/musk-twitter-trial-lawyers.html          Twitter Trial Is Whos Who Of Tech World    By Kate Conger                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/travel/ri When a Romantic Cruise On Europes Famed
2022-08-29   2022-08-30 ver-cruises-drought-europe.html              Rivers Turns Out to Be a Bus Ride          By Jenny Gross                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/us/jay- Pennsylvania Trooper in 4 Fatal Shootings
2022-08-29   2022-08-30 splain-pa-trooper-shooting.html              Cleared for the 4th Time                   By Kim Barker and Steve Eder        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/us/kem Judge Orders Kemp to Testify Allows for
2022-08-29   2022-08-30 p-trump-subpoena.html                        Delay Until November                       By Richard Fausset                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/us/matt-                                             By Elizabeth Dias and Ruth
2022-08-29   2022-08-30 chandler-village-church-leave.html           Evangelical Pastor in Inquiry Steps Aside  Graham                              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/us/nebr Nebraska School Shuts Down Student
2022-08-29   2022-08-30 aska-lgbt-school-newspaper-closed.html       Newspaper After LGBTQ Publication          By Eduardo Medina                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/us/polit Trump Request for Special Master Could      By Charlie Savage Glenn Thrush
2022-08-29   2022-08-30 ics/trump-documents-doj.html                 Trigger Delays to Inquiry                  and Alan Feuer                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/us/scho How Bad Is the Teacher Shortage It Depends
2022-08-29   2022-08-30 ols-teacher-shortages.html                   on Where You Live                          By Jacey Fortin and Eliza Fawcett   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/world/a Ruling Party Is Reelected In Angola Just     By Gilberto Neto and Lynsey
2022-08-29   2022-08-30 frica/angola-election-winner-mpla.html       Barely                                     Chutel                              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/world/a One Man Dies and an Entire Uncontacted       By Flvia Milhorance and Andr
2022-08-29   2022-08-30 mericas/man-of-the-hole-death-brazil.html    Tribe Vanishes From Brazils Rainforest     Spigariol                           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/world/a Months After Womens Brutal Beating China By Alexandra Stevenson and Zixu
2022-08-29   2022-08-30 sia/china-arrests-beating-women.html         Charges 28 Men                             Wang                                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/world/c Devastating Fires and Floods Push a Canadian
2022-08-29   2022-08-30 anada/vancouver-floods-fires-lawsuit.html    City to Sue Big Oil                        By Norimitsu Onishi                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/world/e Cockpit Fistfight Brings Air Frances Culture
2022-08-29   2022-08-30 urope/air-france-safety.html                 of Safety Under Scrutiny                   By Constant Mheut                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/world/e Striving to Take a Stinky Problem Out of
2022-08-29   2022-08-30 urope/rome-garbage-fires.html                Rome                                       By Jason Horowitz                   TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/29/world/e Ukraine Starts Multipronged Attack in South
2022-08-29   2022-08-30 urope/ukraine-russia-counteroffensive.html as Inspectors Head to Nuclear Plant           By Andrew E Kramer                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/world/e On the Nations Trains the Rhythm of Life      By Marc Santora and Lynsey
2022-08-29   2022-08-30 urope/ukraine-war-trains.html               Comforts the Passengers                      Addario                            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/world/ Political Chaos Grips Iraq With 12 Killed in
2022-08-29   2022-08-30 middleeast/iraq-sadr-politics.html          Street Clashes                               By Jane Arraf                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/sports/t In Grand Slam Debut Ukrainian Upsets No 7
2022-08-29   2022-08-30 ennis/us-open-snigur-halep-ukraine.html     Halep                                        By Jesus Jimnez                    TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/sports/t FirstRound Match Has All the Glamour of a
2022-08-30   2022-08-30 ennis/serena-williams-us-open-fans.html     Final                                        By David Waldstein                 TX 9-207-887   2022-10-14



                                                                                Page 4181 of 5793
                        https://www.nytimes.com/2022/08/29/sports/t
2022-08-30   2022-08-30 ennis/serena-williams-us-open-win.html      Final Bow No a Dazzling First Act           By Matthew Futterman              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/us/polit Biden to Address Nation On Perils to
2022-08-30   2022-08-30 ics/biden-speech-democracy.html             Democracy                                   By Zolan KannoYoungs              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/busines
                        s/economy/biden-student-loans-
2022-08-30   2022-08-30 economists.html                             Economists Split on Plan To Drop Debt       By Jim Tankersley                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/nyregio Hochul Donors Include Officers Of State
2022-08-30   2022-08-30 n/kathy-hochul-donors-money-ethics.html     Boards                                      By Jay Root                       TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/science
2022-08-30   2022-08-30 /mink-animals-pest-control.html             Learning to Hunt and Think Like a Mink      By Oliver Whang and Kim Raff      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/science What Did One Naked Mole Rat Say to the
2022-08-30   2022-08-30 /translators-animals-naked-mole-rats.html   Other                                       By Emily Anthes                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/us/navy-Death Lays Bare Brutality In Training of
2022-08-30   2022-08-30 seal-training-death.html                    Navys Elite                                 By Dave Philipps                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/us/polit In Colorado Senate Race a Surprise From the
2022-08-30   2022-08-30 ics/bennet-odea-colorado-senate.html        GOP                                         By Carl Hulse                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/09/01/crossw
2022-09-01   2022-08-30 ords/wordle-starting-words-adieu.html       To Start Wordle Players Say Farewell        By Deb Amlen                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/dining/
2022-08-26   2022-08-31 back-to-school-lunch-idea-pesto-pasta.html Pesto Pasta Elevates Your Kids Lunch         By Genevieve Ko                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/dining/
2022-08-26   2022-08-31 native-american-agriculture.html            Native American Movement Grows              By Kevin Noble Maillard           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/26/dining/
2022-08-26   2022-08-31 pie-bars.html                               Eating These Bars Is Easier Than Pie        By Melissa Clark                  TX 9-207-887   2022-10-14
                                                                                                                By Blake Hounshell Sheera Frenkel
                        https://www.nytimes.com/2022/08/26/us/polit                                             Tiffany Hsu and Stuart A
2022-08-26   2022-08-31 ics/misinformation-social-media.html        Wading in the Swamps of Falsehoods          Thompson                          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/27/opinion
2022-08-27   2022-08-31 /harry-styles-identity.html                 Harry Styles Walks a Fine Line              By Anna Marks                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/28/us/polit HardRight Retired General Unsettles New
2022-08-28   2022-08-31 ics/don-buldoc-new-hampshire.html           Hampshire Senate Contest                    By Trip Gabriel                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/dining/ To Bake Fresh Baguettes at Home Start Inside
2022-08-29   2022-08-31 baguettes-manresa-bread.html                This Box                                    By Florence Fabricant             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/dining/
2022-08-29   2022-08-31 blank-street-coffee.html                    New Wave For Coffee Feels Like A Tsunami By Julia Moskin                      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/dining/ To Nibble Some New Delights For the
2022-08-29   2022-08-31 brooklyn-cured-meats.html                   Charcuterie Board                           By Florence Fabricant             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/dining/ 1 Make a List 2 Shop for Groceries 3 Take
2022-08-29   2022-08-31 buy-now-pay-later-loans-groceries.html      Out a Loan                                  By Priya Krishna                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/dining/ To Enroll De Gustibus Classes Ready for
2022-08-29   2022-08-31 degustibus-cooking-classes.html             Students                                    By Florence Fabricant             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/dining/
2022-08-29   2022-08-31 evelias-tamales-review-pete-wells.html      Sidewalk Star Comes In From the Street      By Pete Wells                     TX 9-207-887   2022-10-14




                                                                               Page 4182 of 5793
                        https://www.nytimes.com/2022/08/29/dining/j To Indulge Julien Boulangerie Adds A Bistro
2022-08-29   2022-08-31 ulien-boulangerie-bistro-upper-east-side.html to Its Roster                                By Florence Fabricant            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/dining/ To Attend Wine and Food Festival To
2022-08-29   2022-08-31 new-york-city-wine-and-food-festival.html      Celebrate 15 Years                          By Florence Fabricant            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/dining/
                        wilderton-bittersweet-aperitivo-               To Sip Something Bitter Suits The Cocktail
2022-08-29   2022-08-31 nonalcoholic.html                              Hour                                        By Florence Fabricant            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/29/technol
                        ogy/california-doctors-covid-                  Bill in California Would Punish Doctors Who
2022-08-30   2022-08-31 misinformation.html                            Spread Covid Falsehoods                     By Steven Lee Myers              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/arts/des
                        ign/sculpture-space-vandalized-utica-
2022-08-30   2022-08-31 juveniles.html                                 Vandals Wrecked An Artists Studio           By Matt Stevens                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/arts/mu
                        sic/katie-gregson-macleod-tiktok-
2022-08-30   2022-08-31 complex.html                                   The Anatomy of a Melancholy Meme            By Jon Caramanica                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/arts/mu
2022-08-30   2022-08-31 sic/michael-tilson-thomas-tanglewood.html Finding Peace in Music                           By Javier C Hernndez             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/arts/rub Ruby C Williams Folk Artist With a Florida
2022-08-30   2022-08-31 y-c-williams-dead.html                         Produce Stand Dies at 94                    By Neil Genzlinger               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/books/
                        maggie-ofarrell-marriage-portrait-
2022-08-30   2022-08-31 hamnet.html                                    Wresting Stories From the Shadows           By Elizabeth A Harris            TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/briefing Why Cancel Student Debt Now Things Really
2022-08-30   2022-08-31 /student-debt-economic-changes.html            Are Tougher                                 By David Leonhardt               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/busines
2022-08-30   2022-08-31 s/california-children-online-safety.html       State to Curb Online Risks To Children      By Natasha Singer                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/busines
2022-08-30   2022-08-31 s/economy/jolts-jobs-economy.html              Labor Market Stays Hot Even as Rates Rise By Talmon Joseph Smith             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/busines
                        s/energy-environment/first-solar-says-it-will-
                        spend-up-to-1-2-billion-to-expand-us-          Top Solar Panel Manufacturer Plans to Build
2022-08-30   2022-08-31 production.html                                4th US Plant                                By Ivan Penn                     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/busines
                        s/media/washington-post-jeff-bezos-                                                        By Benjamin Mullin and Katie
2022-08-30   2022-08-31 revenue.html                                   Post Loses Digital Ads And Readers          Robertson                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/busines Musk Cites New Claims In Disputing Twitter
2022-08-30   2022-08-31 s/musk-twitter-legal.html                      Deal                                        By Lauren Hirsch and Kate Conger TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/dining/
                        chip-wade-union-square-hospitality-
2022-08-30   2022-08-31 group.html                                     Fast Casual and Fine Dining in Conversation By Kim Severson                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/dining/ Flex Mussels an Upper East Side Fixture
2022-08-30   2022-08-31 nyc-restaurant-news.html                       Relocates Nearby                            By Florence Fabricant            TX 9-207-887   2022-10-14




                                                                                Page 4183 of 5793
                        https://www.nytimes.com/2022/08/30/dining/ Birthday Dining Ideas to Make Wishes Come
2022-08-30   2022-08-31 where-to-eat-birthday-dinner.html          True                                      By Becky Hughes              TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/health/ Paxlovid Most Effective Among Oldest
2022-08-30   2022-08-31 paxlovid-efficacy-seniors.html             Patients                                  By Roni Rabin                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/movies/
2022-08-30   2022-08-31 top-gun-maverick-joseph-kosinski.html      Top Gun Aims to Feed The Need For Fervor By Julie Bloom                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/movies/
                        venice-film-festival-2022-what-to-watch-
2022-08-30   2022-08-31 for.html                                   Venice Festival Starts the Awards Season  By Kyle Buchanan             TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/30/nyregio Cleanup of Confederate Symbols Surfaces a
2022-08-30   2022-08-31 n/west-point-confederate-symbols-kkk.html Ku Klux Klan Plaque at West Point               By Hurubie Meko         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/opinion
2022-08-30   2022-08-31 /history-sweet-aha-academia.html            This Is the Other Way That History Ends       By Bret Stephens        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/opinion Barrs Decision to Clear Trump Should Still
2022-08-30   2022-08-31 /trump-barr-justice-department.html         Scare Us                                      By Neal K Katyal        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/opinion Im a Ukrainian Soldier and Ive Accepted My
2022-08-30   2022-08-31 /ukraine-soldier-war.html                   Death                                         By Artem Chekh          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/science Weather Permitting NASA Plans to Retry Its
2022-08-30   2022-08-31 /space/nasa-artemis-moon.html               Moon Rocket Launch on Saturday                By Kenneth Chang        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/sports/b A Recent Acquisition by the Mets Fills a Role
2022-08-30   2022-08-31 aseball/daniel-vogelbach-mets.html          and Finds a Home                              By Gary Phillips        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/sports/g Defections Continue as British Open Winner
2022-08-30   2022-08-31 olf/liv-golf-cameron-smith-pga.html         Joins LIV                                     By Alan Blinder         TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/sports/s
2022-08-30   2022-08-31 ailing/maxi-yacht-j-class.html              The return of the JClass yachts               By Kimball Livingston   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/sports/s
2022-08-30   2022-08-31 ailing/maxi-yacht-rolex-cup-sardinia.html   A regatta with extra allure                   By David Schmidt        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/sports/s
2022-08-30   2022-08-31 ailing/wendy-schmidt-maxi-yacht-cup.html No longer a rookie                               By John Clarke          TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/sports/t
                        ennis/serena-williams-us-open-opening-      Its No Surprise Williams Rises to the
2022-08-30   2022-08-31 match.html                                  Occasion                                      By Christopher Clarey   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/technol Google Workers Are Afraid Of Retaliation for
2022-08-30   2022-08-31 ogy/google-employee-israel.html             Activism                                      By Nico Grant           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/technol
                        ogy/google-trump-truth-social-violent-      Trump Site Must Scrub Violent Content to
2022-08-30   2022-08-31 content.html                                Join Google App Store                         By Nico Grant           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/theater/
                        gabriel-byrne-walking-with-ghosts-          Memories of Love and Doubt Through an
2022-08-30   2022-08-31 broadway.html                               Immigrants Eyes                               By Kalia Richardson     TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/theater/ Laura Linney to Return to Broadway Next
2022-08-30   2022-08-31 laura-linney-broadway.html                  Spring                                        By Michael Paulson      TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/us/miss Neglect Leads to Water Crisis in Mississippi
2022-08-30   2022-08-31 issippi-jackson-water.html                  City                                          By Rick Rojas           TX 9-207-887   2022-10-14



                                                                                 Page 4184 of 5793
                        https://www.nytimes.com/2022/08/30/us/polit Its Sickening Biden Calls Out Republicans
2022-08-30   2022-08-31 ics/biden-speech-gun-control-crime.html     Over Attacks on FBI                         By Zolan KannoYoungs             TX 9-207-887     2022-10-14

                        https://www.nytimes.com/2022/08/30/us/polit Political Events Are Off Limits For
2022-08-30   2022-08-31 ics/justice-department-political-activity.html Employees Garland Says                      By Glenn Thrush                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/us/polit
2022-08-30   2022-08-31 ics/russia-ukraine-nuclear-plant.html          Putin Wields Power Plant As a Weapon        By David E Sanger               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/us/polit US Vessels Are Banned From Docking In
2022-08-30   2022-08-31 ics/solomon-islands-us-military-china.html     Solomons                                    By Edward Wong                  TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/us/polit
                        ics/trump-lawyer-florida-christopher-
2022-08-30   2022-08-31 kise.html                                      Trump Bolsters Legal Team in Search Case By Maggie Haberman                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/us/polit Right Spreads Violent Rhetoric After the       By Alan Feuer and Maggie
2022-08-30   2022-08-31 ics/trump-search-violence.html                 Search of MaraLago                          Haberman                        TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/us/polit Presidents New Plan Will Make Extra
2022-08-30   2022-08-31 ics/us-monkeypox-vaccines-equity.html          Monkeypox Vaccines More Accessible          By Noah Weiland                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/world/a China Sets Date for Party Congress Likely to
2022-08-30   2022-08-31 sia/china-xi-party-congress.html               Prolong Xis Tenure                          By Chris Buckley                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/world/a
2022-08-30   2022-08-31 sia/india-supreme-court-same-sex.html          Indian Court Widens Concept of Family       By Emily Schmall and Hari Kumar TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/world/a For Singapores Gay Men Repeal of
2022-08-30   2022-08-31 sia/singapore-gay-sex-law.html                 ColonialEra Sex Ban Brings Hope             By SuiLee Wee                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/world/a
                        ustralia/chris-dawson-verdict-teachers-        Podcast Subject Found Guilty of Wifes
2022-08-30   2022-08-31 pet.html                                       Murder                                      By Daniel Victor                TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/world/c In Canada Viewers Are Outraged Over Ouster
2022-08-30   2022-08-31 anada/lisa-laflamme-ctv-departure.html         of Veteran Female TV Anchor                 By Alan Yuhas                   TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/world/e
                        urope/france-taxes-pools-artificial-           French Tax Collectors Scan Satellite Images
2022-08-30   2022-08-31 intelligence.html                              to Spot Pools Hidden From View              By Aurelien Breeden             TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/world/e
2022-08-30   2022-08-31 urope/germany-russia-energy-gas.html           Short on Gas Germany Gets Creative          By Melissa Eddy                 TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/world/e Visionary Soviet Leader Who Lifted the Iron
2022-08-30   2022-08-31 urope/mikhail-gorbachev-dead.html              Curtain                                     By Marilyn Berger               TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/30/world/e
                        urope/soviet-union-gorbachev-
2022-08-30   2022-08-31 remembrance.html                               Fast Food and the Dying Days of Communism By Anatoly Kurmanaev              TX 9-207-887   2022-10-14

                        https://www.nytimes.com/2022/08/30/world/e Ukraine Warns of Risks To Nuclear Experts    By Andrew E Kramer and Marc
2022-08-30   2022-08-31 urope/ukraine-russia-zaporizhzhia-plant.html Visit                                      Santora                          TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/30/world/e
2022-08-30   2022-08-31 urope/un-race-abortion-biden.html            US Abortion Access Alarms UN Panel         By Nick CummingBruce             TX 9-207-887     2022-10-14
                        https://www.nytimes.com/2022/08/30/world/ Dozens Die in Clashes Between Iraqi Shiite
2022-08-30   2022-08-31 middleeast/iraq-baghdad-clashes.html         Factions Rattling Baghdad                  By Jane Arraf                    TX 9-207-887     2022-10-14




                                                                                 Page 4185 of 5793
                        https://www.nytimes.com/2022/08/30/nyregio After Inmate Slit Throat Rikers Staff Just
2022-08-31   2022-08-31 n/rikers-island-death.html                  Watched                                   By Jan Ransom                  TX 9-207-887          2022-10-14
                        https://www.nytimes.com/2022/08/30/sports/t Defending Champion Loses To 40th Ranked
2022-08-31   2022-08-31 ennis/raducanu-us-open-cornet.html          in 1st Round                              By Jesus Jimnez                TX 9-207-887          2022-10-14
                        https://www.nytimes.com/2022/08/30/theater/
2022-08-31   2022-08-31 review-as-you-like-it.html                  A Play That Goes Beyond Likable           By Alexis Soloski              TX 9-207-887          2022-10-14
                        https://www.nytimes.com/2022/08/30/us/lin-
2022-08-31   2022-08-31 wood-georgia-trump-inquiry.html             Trump Ally Plans to Testify In Georgia    By Richard Fausset             TX 9-207-887          2022-10-14
                        https://www.nytimes.com/2022/08/31/nyregio Gun Law Stretches Times Square Far Beyond By Jonah E Bromwich and Chelsia
2022-08-31   2022-08-31 n/wait-is-this-times-square.html            Where the Elmos Roam                      Rose Marcius                   TX 9-207-887          2022-10-14
                        https://www.nytimes.com/2022/08/31/sports/b
                        asketball/wnba-brittney-griner-hoodies-     Her Shirts emAreem BG A Young Designer
2022-08-31   2022-08-31 isabella-escribano.html                     Makes a Fashion Statement                 By Kris Rhim                   TX 9-207-887          2022-10-14
                        https://www.nytimes.com/2022/08/31/sports/t The Son of a Former Champion Hits His
2022-08-31   2022-08-31 ennis/brandon-holt-us-open.html             Strokes on the Court and Off It           By David Waldstein             TX 9-207-887          2022-10-14

                        https://www.nytimes.com/2022/08/31/sports/t
2022-08-31   2022-08-31 ennis/kontaveit-serena-williams-us-open.html The No 2 Seed Williams Plays Next              By Christopher Clarey           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/31/sports/t Future in Doubt The Older Sister Still Wants
2022-08-31   2022-08-31 ennis/venus-williams-serena-us-open.html      to Win                                        By Christopher Clarey           TX 9-207-887   2022-10-14
                        https://www.nytimes.com/2022/08/04/well/mi Here to Help How to Make the Most Out of
2022-08-05   2022-09-01 nd/daydreaming-benefits-brain.html            Daydreaming                                   By Melinda Wenner Moyer         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/22/travel/v
2022-08-22   2022-09-01 ia-ferratas-in-america.html                   Coming Soon to a Cliff Near You An Assist By Cindy Hirschfeld                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/24/style/ka
                        raoke-singers-live-the-dream-at-the-illinois-                                               By George Gurley and Adam Jason
2022-08-24   2022-09-01 state-fair.html                               Karaoke Dreams at the Illinois State Fair     Cohen                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/29/style/se
2022-08-29   2022-09-01 rena-williams-best-looks.html                 Serena Williamss Fashion Smash                By Vanessa Friedman             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/29/travel/v Cruise Ships and Tourists Give a Lift to Little
2022-08-29   2022-09-01 enice-chioggia-italy-cruise-ships.html        Venice                                        By Anna Momigliano              TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/08/30/arts/ale
2022-08-30   2022-09-01 xei-ratmansky-ukrainian-ballet-dancers.html A Refuge in the Romantic                    By Marina Harss                   TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/08/30/arts/des
2022-08-30   2022-09-01 ign/frieze-seoul-art-fair.html               Arriving on new shores                     By Ted Loos                       TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/08/30/arts/des
2022-08-30   2022-09-01 ign/frieze-seoul-lee-bul.html                Rebel with a cause                         By Farah Nayeri                   TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/08/30/arts/des
2022-08-30   2022-09-01 ign/frieze-seoul-perrotin.html               Perrotins latest venture in Seoul          By David Belcher                  TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/08/30/arts/frie
2022-08-30   2022-09-01 ze-seoul-do-ho-suh.html                      Making memories thread by thread           By Ted Loos                       TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/08/30/arts/mu
                        sic/daniel-barenboim-withdraws-ring-cycle- Daniel Barenboim Withdraws From Ring
2022-08-30   2022-09-01 berlin.html                                  Cycle in Berlin                            By Javier C Hernndez              TX 9-213-471     2022-11-01



                                                                                Page 4186 of 5793
                        https://www.nytimes.com/2022/08/30/books/p
2022-08-30   2022-09-01 artisans-nicole-hemmer.html                The Decade That Birthed Grievance Politics   By Jennifer Szalai             TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/08/30/busines Batteries to Power Electric Cars Need Nickel
2022-08-30   2022-09-01 s/economy/electric-cars-us-nickel-mine.html A Plan to Mine It in the US Faces Pushback By Ana Swanson and Tim Gruber   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/dining/r Roland Mesnier 78 Whose Whimsical
2022-08-30   2022-09-01 oland-mesnier-dead.html                     Desserts Made Five First Families Smile     By Sam Roberts                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/movies/
2022-08-30   2022-09-01 todd-field-tar.html                         Back Into The Maw He Goes                   By Kyle Buchanan               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/opinion
2022-08-30   2022-09-01 /student-loan-debt-relief-biden.html        Ive Changed My Mind About Canceling Debt By Susan Dynarski                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/opinion
                        /why-anthony-faucis-covid-legacy-is-a-
2022-08-30   2022-09-01 failure.html                                Fauci Ultimately Failed on Covid19          By Ari Schulman                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/style/ay
2022-08-30   2022-09-01 o-edebiri-the-bear.html                     Ayo Edebiri Keeps Her Cool                  By Sandra E Garcia             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/arts/mu
2022-08-31   2022-09-01 sic/caucasus-youth-orchestra-ukraine.html   Bringing Harmony to a Region of Discord     By David Belcher               TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/08/31/arts/mu
2022-08-31   2022-09-01 sic/romeo-santos-formula-vol-3-review.html Milking the Heartache From Bachatas Soul By Isabelia Herrera                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/briefing On the Left Feeling Less Anxiety About
2022-08-31   2022-09-01 /covid-poll-liberal-anxiety.html            Covid                                        By David Leonhardt            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/busines                                               By Jordyn Holman and Lauren
2022-08-31   2022-09-01 s/bed-bath-beyond-turnaround.html           Retail Giant Under Stress Sees Big Cuts      Hirsch                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/busines
                        s/energy-environment/toyota-battery-plant- Trailing Rivals Toyota Doubles Its Investment
2022-08-31   2022-09-01 north-carolina.html                         In Battery Plant                             By Neal E Boudette            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/busines Inflation Squeezes Europe From Brewer to
2022-08-31   2022-09-01 s/eurozone-inflation.html                   Fisherman                                    By Patricia Cohen             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/health/l
                        ife-expectancy-covid-native-americans-      Life Expectancy Plunge Puts Number to        By Simon Romero Roni Caryn
2022-08-31   2022-09-01 alaskans.html                               Misery in Native Communities                 Rabin and Mark Walker         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/health/l Life Expectancy For Americans Sharply
2022-08-31   2022-09-01 ife-expectancy-covid-pandemic.html          Drops                                        By Roni Caryn Rabin           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/movies/
                        daniels-everything-everywhere-all-at-
2022-08-31   2022-09-01 once.html                                   Describing A Movie Thats Hard To Describe By Robert Ito                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/nyregio The LongDelayed Hudson River Rail Tunnel
2022-08-31   2022-09-01 n/gateway-tunnel-ny-nj-delay.html           Wont Open Until 2035                         By Dana Rubinstein            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/nyregio New York Gun Permits Spike Ahead of New By Jonah E Bromwich Hurubie
2022-08-31   2022-09-01 n/ny-gun-law-pistol-permits.html            Law                                          Meko and Dan Higgins          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/opinion Gorbachev Freed the Soviet Union But He
2022-08-31   2022-09-01 /gorbachev-death-soviet-union.html          Could Not Save It                            By Serge Schmemann            TX 9-213-471   2022-11-01




                                                                                Page 4187 of 5793
                        https://www.nytimes.com/2022/08/31/sports/b
2022-08-31   2022-09-01 aseball/shohei-ohtani-angels.html           Trout and Ohtani Face Cloudy Future          By Scott Miller                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/sports/s Yankees Plant Another Flag in Europe With a
2022-08-31   2022-09-01 occer/ac-milan-redbird-sale.html            Stake in Storied AC Milan                    By Tariq Panja                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/sports/t Gauff Digs Deep Escaping Behind a Pair of
2022-08-31   2022-09-01 ennis/coco-gauff-us-open.html               Late Aces                                    By Kris Rhim                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/sports/t
                        ennis/serena-williams-naomi-osaka-us-       Forever Entwined by a Memorable Final and
2022-08-31   2022-09-01 open.html                                   Captivated to the End                        By Matthew Futterman           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/style/on
                        e-white-street-restaurant-tribeca-farm-     Where Celebrities and Heirloom Tomatoes
2022-08-31   2022-09-01 stand.html                                  Mingle                                       By Christopher Barnard         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/style/th The Wing Closes After a Turbulent Few
2022-08-31   2022-09-01 e-wing-shuts-down.html                      Years                                        By Katherine Rosman            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/technol Online Falsehoods Are Major Threat Global
2022-08-31   2022-09-01 ogy/pew-misinformation-major-threat.html    Poll Reveals                                 By Stuart A Thompson           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/technol Snap Facing Uncertainties Cuts 20 of Its
2022-08-31   2022-09-01 ogy/snap-layoffs-restructuring.html         Work Force                                   By Kalley Huang                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/theater/
2022-08-31   2022-09-01 ars-nova-name-your-price-tickets.html       Ars Nova Is Offering A New Pricing Model By Rachel Sherman                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/theater/
2022-08-31   2022-09-01 review-once-upon-a-korean-time.html         Bedtime Stories to Keep You Up               By Alexis Soloski              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/ap- The First AP Course On African Americans Is
2022-08-31   2022-09-01 african-american-studies.html               Offered in the Fall                          By Anemona Hartocollis         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/esth Esther Cooper Jackson 105 Dies Pioneer of
2022-08-31   2022-09-01 er-cooper-jackson-dead.html                 Civil Rights Movement                        By Sam Roberts                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/john- Conservative Lawyer Considered a Likely      By Richard Fausset and Danny
2022-08-31   2022-09-01 eastman-trump-investigation.html            Target in Atlantas Trump Investigation       Hakim                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/mich
2022-08-31   2022-09-01 igan-referendum-abortion-ballot.html        Michigan Abortion Rights Issue Is Off Ballot By Mitch Smith                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/polit As GOP Nears Midterms Sites Minimize
2022-08-31   2022-09-01 ics/abortion-trump-gop-midterms.html        Trump Ties                                   By Maggie Astor                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/polit Ahead of Midterms Biden Shifts From
2022-08-31   2022-09-01 ics/biden-trump-republicans.html            Compromise to Combat                         By Michael D Shear             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/polit FDA Authorizes Updated Booster To Curb       By Noah Weiland and Sharon
2022-08-31   2022-09-01 ics/covid-booster-shots-variants.html       Omicron                                      LaFraniere                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/polit In Pennsylvania the Rapid Digital Rise Of a
2022-08-31   2022-09-01 ics/doug-mastriano-social-media-rise.html   FarRight Candidate for Governor              By Charles Homans              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/polit
2022-08-31   2022-09-01 ics/fetterman-health-oz-pennsylvania.html   Crudits and a Stroke A Senate Race Gets Ugly By Trip Gabriel                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/polit
2022-08-31   2022-09-01 ics/salmon-dams.html                        Study Backs Breaching Dams to Save Salmon By Mark Walker                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/polit
2022-08-31   2022-09-01 ics/sexual-assault-military.html            Sexual Assaults in Military Increased in 21  By Helene Cooper               TX 9-213-471   2022-11-01




                                                                                Page 4188 of 5793
                        https://www.nytimes.com/2022/08/31/us/polit
                        ics/trump-justice-department-special-
2022-08-31   2022-09-01 master.html                                 Trump Request Provided US With Opening By Alan Feuer and Glenn Thrush           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/polit Evidence Suggests Trump Papers Were          By Glenn Thrush Charlie Savage
2022-08-31   2022-09-01 ics/trump-mar-a-lago-documents.html         Hidden From Justice Dept                     Alan Feuer and Maggie Haberman     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/polit Behind the Picture of Top Secret Files at    By Glenn Thrush and Adam
2022-08-31   2022-09-01 ics/trump-photo-classified-documents.html   MaraLago                                     Goldman                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/virgi Virginia Judge Dismisses Case That Sought to
2022-08-31   2022-09-01 nia-obscenity-book-ban.html                 Restrict Sales of Books to Minors            By Amanda Holpuch                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/world/a
                        mericas/brazil-bolsonaro-election-security- Truce in Brazil Over Testing Machines Used
2022-08-31   2022-09-01 agreement.html                              To Cast Ballots                              By Andr Spigariol and Jack Nicas   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/world/a Absolute Warfare Cartels Terrorize Mexico as By Maria AbiHabib Oscar Lopez
2022-08-31   2022-09-01 mericas/mexico-cartels-violence.html        Security Falls Short                         and Alejandro Cegarra              TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/08/31/world/a Malaysias ExLeader 97 Refuses to Be
2022-08-31   2022-09-01 sia/malaysias-mahathir-mohamad-covid.html Sidelined                                      By Richard C Paddock               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/world/a China May Have Committed Crimes Against By Nick CummingBruce and
2022-08-31   2022-09-01 sia/un-china-xinjiang-uyghurs.html          Humanity in Xinjiang                         Austin Ramzy                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/world/e Taking Aim With Tanks at Gorbachevs
2022-08-31   2022-09-01 urope/gorbachev-putin-russia.html           Legacy                                       By Anton Troianovski               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/world/e Soviet Leaders Dream Of a Common
2022-08-31   2022-09-01 urope/gorbachev-soviet-union-west.html      Continent Is Still That 3 Decades On         By Roger Cohen                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/world/e
                        urope/munich-olympics-compensation-israel- Compensation for Families of Munich           By Christopher F Schuetze and
2022-08-31   2022-09-01 germany.html                                Olympic Victims                              Ronen Bergman                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/world/e
2022-08-31   2022-09-01 urope/russia-putin-ukraine-war-draft.html   Putin Soothes A Home Front With No Draft By Anton Troianovski                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/world/e Economic Woes Given Short Shrift in the
2022-08-31   2022-09-01 urope/uk-prime-minister-truss-sunak.html    Race For a New UK Leader                     By Mark Landler                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/world/e
                        urope/un-inspectors-zaporizhzhia-           UN Inspectors Plan Perilous Visit to Nuclear
2022-08-31   2022-09-01 nuclear.html                                Power Plant in Battle Zone                   By Andrew E Kramer                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/live/2022/08/30/wo
                        rld/gorbachev-dead/for-chinese-leaders-
                        gorbachev-provided-a-textbook-of-what-not- For Leaders in China Gorbachevs Career Was
2022-08-31   2022-09-01 to-do                                       Crowned by Failure                           By Hannah Beech                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/sports/t
                        ennis/serena-williams-kontaveit-crowd-us-
2022-09-01   2022-09-01 open.html                                   Kontaveit vs Williams Vs the Crowd Too       By David Waldstein                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/sports/t
2022-09-01   2022-09-01 ennis/serena-williams-us-open-win.html      Williams Shows Shes Not Done Yet             By Matthew Futterman               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/technol US Restricts Sales of Certain Chips to Rivals
2022-09-01   2022-09-01 ogy/gpu-chips-china-russia.html             to Hinder Tech Advances                      By Don Clark and Ana Swanson       TX 9-213-471   2022-11-01




                                                                                Page 4189 of 5793
                        https://www.nytimes.com/2022/08/31/us/polit Peltola Wins Alaska Race Another Gain By
2022-09-01   2022-09-01 ics/mary-peltola-alaska-special-election.html Democrats                                 By Blake Hounshell               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/polit How Reagan and Bush Went From
2022-09-01   2022-09-01 ics/reagan-bush-gorbachev.html                Skepticism to Solidarity                  By Peter Baker                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/us/polit ExPresidents Lawyers Facing More Scrutiny   By Charlie Savage Alan Feuer and
2022-09-01   2022-09-01 ics/trump-court-documents.html                In Documents Inquiry                      Maggie Haberman                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/sports/t Friends Fans Teammates Foes But Always
2022-09-01   2022-09-01 ennis/serena-venus-williams-doubles.html      and Foremost Sisters                      By Kurt Streeter                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/style/sh Overlooking Ethical Concerns for a 7 Tube
2022-09-01   2022-09-01 ein-clothing.html                             Top                                       By Jessica Testa                 TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/01/us/natio
2022-09-01   2022-09-01 nal-test-scores-math-reading-pandemic.html Pandemic Set Schools Back Two Decades        By Sarah Mervosh                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/world/a
                        ustralia/anglican-church-homosexuality-new- Anglican Church Delivers a Kick in the Guts
2022-09-01   2022-09-01 zealand.html                                to Gay Laity                                By Pete McKenzie                 TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/08/22/arts/des
2022-08-22   2022-09-02 ign/rick-barton-drawings-morgan-library.html The Fascination in a Line Free to Roam     By Walker Mimms                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/08/                                            By Chris Buckley Pablo Robles
                        25/world/asia/china-taiwan-conflict-                                                    Marco Hernandez and Amy Chang
2022-08-25   2022-09-02 blockade.html                                How China Could Choke Taiwan               Chien                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/28/busines                                              By Seth Berkman and Mike
2022-08-28   2022-09-02 s/camping-amenities-developers.html          From Campground To Camping Resort          Belleme                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/us/fish- Toxic Red Tide Kills Off Fish And Sea Life
2022-08-31   2022-09-02 dead-algae-bloom-california.html             In Bay Area                                By Livia AlbeckRipka             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/arts/des
                        ign/germany-nazi-era-dispute-guelph-         US Court Sides With Germany In NaziEra Art
2022-08-31   2022-09-02 treasure.html                                Sale                                       By Graham Bowley                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/movies/ Charlbi Dean 32 Star of Top Award Winner
2022-08-31   2022-09-02 charlbi-dean-dead.html                       at Cannes                                  By Reggie Ugwu                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/opinion
2022-08-31   2022-09-02 /ashley-judd-naomi-suicide.html              The Right to Keep Private Pain Private     By Ashley Judd                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/08/31/theater/
2022-08-31   2022-09-02 los-otros-review-michael-john-lachiusa.html Melancholy Imbues A SlowBurning Tale        By Elisabeth Vincentelli         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/theater/ Robert LuPone 76 Actor Who Became a
2022-08-31   2022-09-02 robert-lupone-dead.html                      BehindtheScenes Force Dies                 By Richard Sandomir              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/arts/dan                                             By Julia Jacobs Rachel Sherman
2022-09-01   2022-09-02 ce/lincoln-center-swing-dance.html           Dancing Beneath The Stars Again            and Evelyn Freja                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/arts/tele
                        vision/rick-and-morty-season-6-trying-
2022-09-01   2022-09-02 finale.html                                  This Weekend I Have                        By Alexis Soloski                TX 9-213-471   2022-11-01




                                                                               Page 4190 of 5793
                        https://www.nytimes.com/2022/09/01/arts/tele
2022-09-01   2022-09-02 vision/the-rings-of-power-lotr-review.html   Shiny and Potentially Precious           By James Poniewozik           TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/books/n Fantastic Stories Are Set to Arrive In
2022-09-01   2022-09-02 ew-books-september.html                      September                                By Joumana Khatib             TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/busines Abortion Rights Looming Large As a StartUp
2022-09-01   2022-09-02 s/abortion-rights-investing.html             Stirs Investors                          By Ephrat Livni               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/busines Firm in New York Recognizes Union Of Its
2022-09-01   2022-09-02 s/architects-union.html                      22 Architects                            By Noam Scheiber              TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/busines Union Bids and Rising Costs Await as       By Andrew Ross Sorkin and
2022-09-01   2022-09-02 s/dealbook/starbucks-ceo.html                Starbucks Picks a New Chief              Michael J de la Merced        TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/01/busines                                            By Conor Dougherty and Soumya
2022-09-01   2022-09-02 s/economy/california-nimbys-housing.html   California Confronts Its NIMBYs            Karlamangla                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/busines
                        s/energy-environment/sunnova-off-grid-     New Homes Off the Grid A Proposal In
2022-09-01   2022-09-02 neighborhoods.html                         California                                 By Ivan Penn                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/busines Moving Away From Russian Energy Germany By Stanley Reed and Christopher F
2022-09-01   2022-09-02 s/germany-lng-russia-green-energy.html     Gets a New LNG Terminal                    Schuetze                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/busines
2022-09-01   2022-09-02 s/ravil-maganov-russia-lukoil-dies.html    An Executive In Russian Oil Dies in a Fall By Ivan Nechepurenko           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/busines Tech Makers Weaning Themselves From        By Daisuke Wakabayashi and
2022-09-01   2022-09-02 s/tech-companies-china.html                China                                      Tripp Mickle                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/01/climate California Opts For Big Actions In Climate
2022-09-01   2022-09-02 /california-lawmakers-climate-legislation.html Bills                                    By Brad Plumer              TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/climate New Jersey Bag Bans Unforeseen
2022-09-01   2022-09-02 /paper-plastic-bag-ban-new-jersey.html         Consequence Too Many Bags                By Clare Toeniskoetter      TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/health/c New Covid Shots Expected In Days as CDC
2022-09-01   2022-09-02 ovid-omicron-vaccines.html                     Signs Off                                By Benjamin Mueller         TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/movies/
2022-09-01   2022-09-02 burial-review-corpse-ride.html                 Burial                                   By Ben Kenigsberg           TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/movies/
2022-09-01   2022-09-02 gigi-nate-review.html                          Gigi amp Nate                            By Devika Girish            TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/01/movies/
2022-09-01   2022-09-02 honk-for-jesus-save-your-soul-review.html  Gaudy Martyrs to the Gospel of Prosperity    By Lisa Kennedy             TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/movies/
2022-09-01   2022-09-02 kaepernick-america-review.html             Kaepernick amp America                       By Glenn Kenny              TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/movies/
2022-09-01   2022-09-02 loving-highsmith-review.html               Finding the Romantic Under Her Hard Shell    By Amy Nicholson            TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/movies/
2022-09-01   2022-09-02 mcenroe-review.html                        McEnroe                                      By Glenn Kenny              TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/movies/
2022-09-01   2022-09-02 our-american-family-review.html            Our American Family                          By Natalia Winkelman        TX 9-213-471    2022-11-01




                                                                               Page 4191 of 5793
                        https://www.nytimes.com/2022/09/01/movies/
2022-09-01   2022-09-02 peter-von-kant-review.html                 Peter Von Kant                               By Beatrice Loayza                TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/movies/
2022-09-01   2022-09-02 saloum-review.html                         Saloum                                       By Jeannette Catsoulis            TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/movies/
2022-09-01   2022-09-02 the-book-of-delights-review.html           The Book of Delights                         By Teo Bugbee                     TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/movies/
2022-09-01   2022-09-02 the-cathedral-review-ricky-dambrose.html   A Messy Familys Splayed Scrapbook            By Manohla Dargis                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/movies/
                        waiting-for-bojangles-review-endless-
2022-09-01   2022-09-02 love.html                                  Waiting for Bojangles                        By Calum Marsh                    TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/nyregio Detective Investigated After Knocking        By Ashley Southall Chelsia Rose
2022-09-01   2022-09-02 n/nyc-police-officer-punches-woman.html    Woman To Ground in Harlem                    Marcius and Jeffery C Mays        TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/opinion
2022-09-01   2022-09-02 /gorbachev-white-house-reagan.html         The Day Gorbachev Made DC Stand Still        By Maureen Dowd                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/opinion Can You Drown Government in an Empty
2022-09-01   2022-09-02 /jackson-mississippi-water-shortage.html   Bathtub                                      By Paul Krugman                   TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/01/sports/b
2022-09-01   2022-09-02 aseball/brandon-nimmo-mets-dodgers.html      To Great Fan Fare Mets Reel One In         By Tyler Kepner                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/sports/b The Calendar Mercifully Turns on a Brutal
2022-09-01   2022-09-02 aseball/yankees-angels.html                  Month for the Stumbling Yankees            By Scott Miller                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/sports/t
                        ennis/no-handshake-after-ukrainian-loses-to- Ukrainian Refuses Hand Of Belarusian
2022-09-01   2022-09-02 belarusian-at-the-us-open.html               Opponent                                   By Matthew Futterman              TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/technol Federal Officer Supports Certifying Amazon
2022-09-01   2022-09-02 ogy/nlrb-amazon-union-staten-island.html     Union                                      By Noam Scheiber                  TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/technol Farewell to Typos as Twitter Budges on
2022-09-01   2022-09-02 ogy/twitter-edit-button.html                 Editing Button                             By Kate Conger                    TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/us/linds Graham Can Be Questioned About Election
2022-09-01   2022-09-02 ey-graham-georgia-subpoena.html              Activity Judge Rules                       By Richard Fausset                TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/01/us/miss A Water Crisis Highlights a Nationwide       By Christopher Flavelle Rick Rojas
2022-09-01   2022-09-02 issippi-water-climate-change.html          Threat                                       Jim Tankersley and Jack Healy      TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/01/us/polit With Palins Defeat Ranked Choice Voting     By Blake Hounshell and Charles
2022-09-01   2022-09-02 ics/alaska-voting-system-mary-peltola.html Vaults Into Spotlight                        Homans                            TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/us/polit Biden Portrays Democracy As Under Fire in By Zolan KannoYoungs and
2022-09-01   2022-09-02 ics/biden-speech-trump-maga.html            the US                                      Michael D Shear                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/us/polit Court Challenges to Bidens Student Loan
2022-09-01   2022-09-02 ics/biden-student-loan-plan-lawsuits.html   Plan Are Likely                             By Alan Rappeport                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/us/polit Jan 6 Panel Calls Gingrich To Testify About
2022-09-01   2022-09-02 ics/jan-6-panel-gingrich.html               Election                                    By Luke Broadwater                TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/us/polit Lawyer Aiding Oath Keepers Also Charged In
2022-09-01   2022-09-02 ics/oath-keepers-lawyer-arrested.html       Jan 6 Case                                  By Alan Feuer and Ken Bensinger   TX 9-213-471    2022-11-01



                                                                               Page 4192 of 5793
                        https://www.nytimes.com/2022/09/01/us/polit A Loss of a House Seat With a Rematch
2022-09-01   2022-09-02 ics/sarah-palin-alaska.html                 Ahead                                       By Jazmine Ulloa                  TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/01/us/polit Power and Pull Riveted Trump In His         By Julian E Barnes Michael C
2022-09-01   2022-09-02 ics/trump-intelligence-briefings.html       Briefings                                   Bender and Maggie Haberman        TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/01/us/polit
                        ics/trump-special-master-hearing-           Judge Keeps Door Open to Independent        By Patricia Mazzei Alan Feuer and
2022-09-01   2022-09-02 explained.html                              Arbiter Review of Trump Papers              Charlie Savage                    TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/01/world/a
                        frica/south-africa-tavern-deaths-
2022-09-01   2022-09-02 teenagers.html                              Cause of Tavern Deaths Is Met With Distrust By Lynsey Chutel                  TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/01/world/a Lockdown For Chengdu Chinese City Of 21 By Alexandra Stevenson and Zixu
2022-09-01   2022-09-02 sia/china-covid-lockdown-chengdu.html       Million                                     Wang                              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/01/world/a Vindication for Uyghurs in UN Report on
2022-09-01   2022-09-02 sia/china-xinjiang-uyghurs.html             China Abuse                                 By Austin Ramzy                   TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/01/world/a
2022-09-01   2022-09-02 sia/japan-nursing-home-babies.html          Babies Fit the Gig in Japans Nursing Homes By Hikari Hida and John Yoon       TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/01/world/e Strongmen View Legacy Of Gorbachev as
2022-09-01   2022-09-02 urope/china-xi-gorbachev-russia.html        Lesson                                      By Hannah Beech                   TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/01/world/e
2022-09-01   2022-09-02 urope/iaea-visit-zaporizhzhia-nuclear.html  Braving Shells Experts Reach Ukraine Plant By Andrew E Kramer                 TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/01/world/e                                                 By Steven Erlanger and Stanley
2022-09-01   2022-09-02 urope/iran-nuclear-deal-energy-prices.html   Iran Deal Would Be Slow to Ease Oil Crunch Reed                                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/world/e
2022-09-01   2022-09-02 urope/spain-free-train-tickets.html          Spain Fights Inflation With Free Rail Tickets By Daniel Victor                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/world/e Its BacktoSchool Day in Ukraine Under the By Marc Santora and Anna
2022-09-01   2022-09-02 urope/ukraine-schools-first-day.html         Clouds of War                                 Lukinova                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/sports/t Fairy Tale Run Ends Early as Williams
2022-09-02   2022-09-02 ennis/serena-venus-williams-us-open.html     Sisters Fall in First Round                   By Christopher Clarey            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/us/polit Rematch Between Biden and Trump Comes
2022-09-02   2022-09-02 ics/biden-trump.html                         Two Years Early                               By Peter Baker                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/busines                                                 By Kellen Browning and Michael D
2022-09-02   2022-09-02 s/gig-workers-biden.html                     Biden Inertia Is Frustrating Gig Workers      Shear                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/insider/
2022-09-02   2022-09-02 serena-williams-america.html                 The Many Stories of Serena Williams           By Emmett Lindner                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/sports/t
                        ennis/us-open-serena-williams-doubles-
2022-09-02   2022-09-02 singles.html                                 Locked In With a Little Difference            By Christopher Clarey            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/sports/t Former Junior Champion Tries to Use His
2022-09-02   2022-09-02 ennis/wu-yibing-us-open-china.html           Success to Lift Chinese Mens Tennis           By David Waldstein               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/08/travel/a                                                By Amanda Morris and Scott
2022-08-08   2022-09-03 ir-travel-wheelchair.html                    For Wheelchair Users Flying Includes Risks McIntyre                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/08/ After Roes End Women Surged in Signing Up
2022-08-25   2022-09-03 25/upshot/female-voters-dobbs.html           to Vote in Some States                        By Francesca Paris and Nate Cohn TX 9-213-471   2022-11-01




                                                                                Page 4193 of 5793
                        https://www.nytimes.com/interactive/2022/08/ How 3 NASA Missions Could Send
2022-08-27   2022-09-03 27/science/nasa-moon-artemis-launch.html     Astronauts Back to the Moon              By Eleanor Lutz                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/arts/mu
2022-08-31   2022-09-03 sic/michael-tilson-thomas-tanglewood.html Returning Home to Revel in His Roots        By David Allen                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/arts/tele
                        vision/childbirth-house-dragon-
2022-08-31   2022-09-03 sapochnik.html                               A Gory Birth Scene In Search of Meaning  By Amanda Hess                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/arts/mu
2022-09-01   2022-09-03 sic/marcus-king-young-blood.html             Staring Down A Crossroads In a New Album By Alex Pappademas                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/busines
2022-09-01   2022-09-03 s/zero-down-payment-mortgages.html           Lender Tests Inclusive Mortgage Program  By Jenny Gross                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/movies/
                        bardo-alejandro-inarritu-venice-film-
2022-09-01   2022-09-03 festival.html                                Mixed Reactions to a Directors New Film  By Kyle Buchanan                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/01/sports/n New Rules Keep It Real No More Fake Slides
2022-09-01   2022-09-03 caafootball/college-football-rule-changes.html No More Fake Injuries                   By Alan Blinder                 TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/01/theater/
2022-09-01   2022-09-03 review-on-that-day-in-amsterdam.html           A Packed Schedule With Too Much Baggage By Laura CollinsHughes          TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/01/world/a                                             By Skandha Gunasekara and Mujib
2022-09-01   2022-09-03 sia/sri-lanka-imf-bailout.html                 Sri Lanka And IMF Reach Deal            Mashal                          TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/01/us/jan- ExNYPD Officer Is Sentenced to 10 Years     By Eduardo Medina and Remy
2022-09-02   2022-09-03 6-nypd-officer-sentenced.html                  Over Role in Capitol Riot               Tumin                           TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/02/arts/des                                            By Tom Mashberg and Graham
2022-09-02   2022-09-03 ign/met-museum-looting.html                    Antiquities Seized From the Met         Bowley                          TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/02/arts/des
2022-09-02   2022-09-03 ign/nellie-mae-rowe-brooklyn-museum.html The Walls Come Tumbling Down                    By Roberta Smith                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/arts/jan Fonda Begins Chemotherapy for                By Matt Stevens Dani Blum and
2022-09-02   2022-09-03 e-fonda-non-hodgkins-lymphoma.html           NonHodgkins Lymphoma                        Alisha Haridasani Gupta         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/arts/tele Richard Roat 89 Actor on Cheers Friends and
2022-09-02   2022-09-03 vision/richard-roat-dead.html                Seinfeld                                    By Richard Sandomir             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/books/b Barbara Ehrenreich 81 Who Wrote Of
2022-09-02   2022-09-03 arbara-ehrenreich-dead.html                  Struggling on 7 an Hour Dies                By Natalie Schachar             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/busines Hot Job Growth Cools And Raises Economic
2022-09-02   2022-09-03 s/economy/august-jobs-report.html            Hopes                                       By Ben Casselman                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/busines Top Economies Plan Price Cap On Russian By Alan Rappeport and Jim
2022-09-02   2022-09-03 s/economy/g7-russian-oil-price-cap.html      Oil                                         Tankersley                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/busines In Surprise Gazprom Will Keep a Key
2022-09-02   2022-09-03 s/gazprom-nordstream.html                    Pipeline to Germany Closed                  By Stanley Reed                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/busines
2022-09-02   2022-09-03 s/uk-strikes-workers-walkout-rail.html       In Britain a Struggle to Keep Up            By Eshe Nelson                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/busines Thousands of Strollers By UPPAbaby
2022-09-02   2022-09-03 s/uppababy-stroller-recall.html              Recalled                                    By McKenna Oxenden              TX 9-213-471   2022-11-01



                                                                                Page 4194 of 5793
                        https://www.nytimes.com/2022/09/02/climate Hawaii Shuts Its Last Plant Using Coal For
2022-09-02   2022-09-03 /hawail-coal-plant-shuts.html               Electricity                                 By Elena Shao                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/climate Podesta DC Insider To Oversee Spending For
2022-09-02   2022-09-03 /john-podesta-climate-biden.html            New Climate Law                             By Lisa Friedman               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/movies/
2022-09-02   2022-09-03 science-fiction-movies-streaming.html       Ghouls Gurgling and Grindhouse Fun          By Elisabeth Vincentelli       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/nyregio In Need of Cash Zeldin Turns to Trump for
2022-09-02   2022-09-03 n/zeldin-trump-fund-raiser.html             Aid                                         By Nicholas Fandos             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/opinion The Founders Should Not Have the Last
2022-09-02   2022-09-03 /chile-new-constitution-referendum.html     Word                                        By Binyamin Appelbaum          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/opinion
2022-09-02   2022-09-03 /how-to-have-fun.html                       How to Have Fun Again                       By Wendy MacNaughton           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/sports/b
                        asketball/stephen-curry-davidson-                                                       By Anna Katherine Clemmons and
2022-09-02   2022-09-03 graduation.html                             The Superstar Stays True to His School      Travis Dove                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/sports/g With PGA Season Over LIV Steps Into
2022-09-02   2022-09-03 olf/liv-golf-boston-pga.html                Spotlight With Some New Stars               By Bill Pennington             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/sports/n
                        caabasketball/paige-bueckers-college-       Injured Bueckers Plans To Play Again for
2022-09-02   2022-09-03 money.html                                  UConn                                       By Adam Zagoria                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/sports/n
                        caafootball/college-football-playoff-       Playoffs Will Expand to 12 Teams Creating a
2022-09-02   2022-09-03 expansion.html                              Broadcasting Bonanza                        By Alan Blinder                TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/02/sports/n Young Coach Embraces Golden Standard of
2022-09-02   2022-09-03 caafootball/marcus-freeman-notre-dame.html Notre Dame                                      By Alan Blinder            TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/02/sports/t Reaching New Heights Gauff Is Displaying
2022-09-02   2022-09-03 ennis/us-open-coco-gauff-keys.html          A Veterans Confidence                          By Kris Rhim               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/02/sports/t The Other Williams Is Even More Vague
2022-09-02   2022-09-03 ennis/us-open-venus-williams-serena.html    About Her Plans for the Future                 By Jesus Jimnez            TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/02/technol
2022-09-02   2022-09-03 ogy/ai-artificial-intelligence-artists.html Creating Art By Typing In Some Words           By Kevin Roose             TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/02/technol
                        ogy/trump-conspiracy-theories-truth-        Trump Goes Ever Further In Backing
2022-09-02   2022-09-03 social.html                                 Conspiracies                                   By Stuart A Thompson       TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/02/us/polit Barr Faults Trumps Call For Arbiter Its a
2022-09-02   2022-09-03 ics/barr-trump-special-master.html          Crock                                          By Glenn Thrush            TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/02/us/polit For the Second Time in a Week Iran Seizes
2022-09-02   2022-09-03 ics/iran-navy-drones-seized.html            US Drones                                      By Helene Cooper           TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/02/us/polit At the Capitol on Jan 6 They Hope to Go
2022-09-02   2022-09-03 ics/jan-6-congress.html                     Back As Members of Congress                    By Catie Edmondson         TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/02/us/polit McConnell Stows His Scythe to Keep
2022-09-02   2022-09-03 ics/mcconnell-midterm-elections.html        Republicans Grip on the Suburbs                By Annie Karni             TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/02/us/polit Pennsylvania Stakes Its Claim as the Center of
2022-09-02   2022-09-03 ics/pennsylvania-midterm-elections.html     the Political Universe                         By Katie Glueck            TX 9-213-471    2022-11-01



                                                                                 Page 4195 of 5793
                        https://www.nytimes.com/2022/09/02/us/polit Inventory of Seized Trump Items Suggests
2022-09-02   2022-09-03 ics/trump-fbi-folders-classified.html       There Is More Missing                      By Charlie Savage and Alan Feuer TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/02/us/polit White House Requests 47 Billion for Illnesses
2022-09-02   2022-09-03 ics/white-house-ukraine-aid-covid.html      Disasters and More Aid for Ukraine            By Michael D Shear            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/world/a Kenyas Contested Presidential Election Has
2022-09-02   2022-09-03 frica/kenya-election-supreme-court.html     Its Justices Walking a Tightrope              By Declan Walsh               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/world/a Villagers in Rural South Africa Win Suit to By Lynsey Chutel and Clifford
2022-09-02   2022-09-03 frica/south-africa-shell-oil.html           Halt Shells Oil Coastline Exploration         Krauss                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/world/a
                        mericas/argentina-assassination-attempt-    Argentine Politics Jolted By Assassination    By Jack Nicas Leonardo Coelho
2022-09-02   2022-09-03 kirchner.html                               Attempt                                       and David Feliba              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/world/a
                        mericas/chile-constitution-vote-            Chileans to Vote on a New Constitution That
2022-09-02   2022-09-03 indigenous.html                             May Transform Indigenous Rights               By Ana Lankes                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/world/a A Lifetime Spent Bringing Forests Back to
2022-09-02   2022-09-03 sia/deforestation-india-tulsi-gowda.html    Indias Stripped Landscapes                    By Sameer Yasir               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/world/a Fighting Taboos India Invites Men to Share
2022-09-02   2022-09-03 sia/india-menstrual-campaign.html           the Pain                                      By Suhasini Raj               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/world/a JuntaBacked Court in Myanmar Sentences
2022-09-02   2022-09-03 sia/myanmar-coup-trial-guilty.html          Nobel Laureate to Hard Labor                  By SuiLee Wee                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/world/e Germanys Chancellor Struggles to Take Role
2022-09-02   2022-09-03 urope/germany-scholz-eu.html                As Leader of Europe                           By Erika Solomon              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/world/e UN Auditor Details Risks Surrounding
2022-09-02   2022-09-03 urope/iaea-zaporizhzhia-plant-risk.html     Nuclear Plant                                 By Andrew E Kramer            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/world/e Chipping Away Ukrainian Counteroffensive
2022-09-02   2022-09-03 urope/ukraine-russia-south-kherson.html     Makes Gains in the South                      By Thomas GibbonsNeff         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/your-
2022-09-02   2022-09-03 money/spam-calls-student-loans.html         When Scammers Come Calling                    By Ann Carrns                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/sports/t
                        ennis/serena-williams-loses-tomljanovic-
2022-09-03   2022-09-03 retirement.html                             Williams Falls At US Open Ending an Era       By Matthew Futterman          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/us/migr Eight Migrants Drown as Dozens More Are By David Montgomery and Miriam
2022-09-03   2022-09-03 ants-rio-grande-texas.html                  Swept Down Rio Grande                         Jordan                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/us/polit                                               By Peter Baker and Blake
2022-09-03   2022-09-03 ics/trump-biden-democracy.html              Parties Agree On US Crisis But Not Cause      Hounshell                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/busines Britains Pubs Are Threatened by Alarming
2022-09-03   2022-09-03 s/britain-pubs-energy.html                  Rise in Energy Bills                          By Eshe Nelson                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/us/surfs For Condo Survivors a Payout and Some
2022-09-03   2022-09-03 ide-condo-collapse-judge.html               Peace                                         By Patricia Mazzei            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/your-
2022-09-03   2022-09-03 money/student-loans-personal-finance.html Why Are Student Loans So Complicated            By Ron Lieber                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/07/31/books/r
2022-07-31   2022-09-04 eview/acceptance-emi-nietfeld.html          American Fantasy                              By Jordan Kisner              TX 9-213-471   2022-11-01




                                                                                Page 4196 of 5793
                        https://www.nytimes.com/2022/08/02/books/r
2022-08-02   2022-09-04 eview/formidable-elisabeth-griffith.html    Weve Come a Long Way Maybe                By Mira Ptacin              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/03/books/c Literary Destinations Read Your Way
2022-08-03   2022-09-04 airo-egypt-books.html                       Through Cairo                             By Yasmine El Rashidi       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/09/books/r
2022-08-09   2022-09-04 eview/nona-willis-aronowitz-bad-sex.html    Lets Do It                                By Jessica Bennett          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/13/books/ Bookplates a Vanishing and NuclearStrength
2022-08-13   2022-09-04 molly-young-book-recommendations.html       Charisma                                  By Molly Young              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/16/books/r
                        eview/all-the-living-and-the-dead-hayley-
2022-08-16   2022-09-04 campbell.html                               Bring Up the Bodies                       By Albert Samaha            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/16/travel/d Where Operating Heavy Equipment Is Childs
2022-08-16   2022-09-04 iggerland-usa-amusement-park.html           Play                                      By Janet Manley             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/20/books/r
2022-08-20   2022-09-04 eview/new-romance-novels.html               Sugar Sugar                               By Olivia Waite             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/20/books/r
                        eview/rasheed-newson-my-government-means
2022-08-20   2022-09-04 to-kill-me.html                             New York Story                            By Daniel Nieh              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/22/books/r
2022-08-22   2022-09-04 eview/babysitter-joyce-carol-oates.html     Bleak House                               By Oyinkan Braithwaite      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/23/books/r
2022-08-23   2022-09-04 eview/anya-kamenetz-stolen-year.html        Dangerous Youth                           By Sarah Menkedick          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/24/books/r
                        eview/black-folk-could-fly-randall-
2022-08-24   2022-09-04 kenan.html                                  Flying Home                               By Kinohi Nishikawa         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/24/books/r
2022-08-24   2022-09-04 eview/new-horror-fiction.html               Let Us Prey                               By Danielle Trussoni        TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/08/25/books/r
2022-08-25   2022-09-04 eview/violet-made-of-thorns-gina-chen.html Inside the List                                By Elisabeth Egan       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/26/books/r
                        eview/arc-of-covenant-walter-russell-
2022-08-26   2022-09-04 mead.html                                    Friends With Benefits                        By Jonathan Tepperman   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/28/books/r
                        eview/james-hannaham-didnt-nobody-
2022-08-28   2022-09-04 carlotta.html                                On the Outside                               By John Irving          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/28/style/le
2022-08-28   2022-09-04 aving-los-angeles.html                       Star of the Show Without Any Credits         By Annie Hamilton       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/29/realesta Instead of a Shelter a Place Worth Smiling
2022-08-29   2022-09-04 te/new-york-apartment-affordable.html        About                                        By DW Gibson            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/08/
                        29/magazine/father-mike-schmitz-             A Catholic Podcasting Star Says Theocracy Is
2022-08-29   2022-09-04 interview.html                               Not the Way                                  By David Marchese       TX 9-213-471   2022-11-01




                                                                                Page 4197 of 5793
                        https://www.nytimes.com/2022/08/30/books/r
                        eview/gary-indiana-david-collard-charles-
2022-08-30   2022-09-04 baxter.html                                Essay Collections                          By Lori Soderlind                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/08/30/books/r
2022-08-30   2022-09-04 eview/the-house-of-fortune-jessie-burton.html Back to Old Amsterdam                  By Louis Bayard                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/magazi The Elderly Man Ive Been Helping Turns Out
2022-08-30   2022-09-04 ne/elderly-assistance-racism-ethics.html      to Be a Bigot What Do I Do             By Kwame Anthony Appiah             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/magazi
2022-08-30   2022-09-04 ne/gorilla-milk-motherhood.html               Gorilla Milk                           By Amber Husain                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/magazi
2022-08-30   2022-09-04 ne/jonathan-majors.html                       Theres Something About Jonathan Majors By Rowan Ricardo Phillips           TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/08/30/realesta For an Actress Theres a Lot to Love in
2022-08-30   2022-09-04 te/sarah-steele-the-good-fight-brooklyn.html Brooklyn                                 By Joanne Kaufman                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/style/je
2022-08-30   2022-09-04 nifer-lewis-tv-shows-books.html              Jenifer Lewis Is Kicking It Comfortably  By Gina Cherelus                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/arts/des Robert Kime 76 Interior Decorator for
2022-08-31   2022-09-04 ign/robert-kime-dead.html                    Nobility and Other Notables Dies         By Alex Williams                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/arts/mu
                        sic/john-adams-antony-and-cleopatra-
2022-08-31   2022-09-04 opera.html                                   John Adams American Master               By Joshua Barone                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/arts/mu
2022-08-31   2022-09-04 sic/zach-sang-radio-amazon-amp.html          Radios Future Has a Link to the Past     By Jon Caramanica                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/busines Venture Capital Backs AgeOld Child Care
2022-08-31   2022-09-04 s/otter-child-care.html                      Hack                                     By Alisha Haridasani Gupta         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/magazi This Vietnamese Dish Is Comforting
2022-08-31   2022-09-04 ne/banh-cuon-recipe.html                     Luminous and Striking Its Also Forgiving By Bryan Washington                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/magazi
2022-08-31   2022-09-04 ne/justin-tucker-nfl-kicker.html             The Man With the Golden Leg              By Wil S Hylton                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/magazi
2022-08-31   2022-09-04 ne/mike-tyson-hulu.html                      Boxed In                                 By Jack Hamilton                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/nyregio                                            By Liam Stack Joseph Goldstein
2022-08-31   2022-09-04 n/monkeypox-stories-isolation.html           Their Bouts With Monkeypox               Sharon Otterman and Justin J Wee   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/realesta Horse Farms Hiking Trails and a Historic
2022-08-31   2022-09-04 te/bedford-new-york-living.html              Village Green                            By Susan Hodara                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/realesta
2022-08-31   2022-09-04 te/garden-fall-flowers.html                  Welcome Fall With a Splash of Color      By Margaret Roach                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/realesta Where Robinson Crusoe Would Feel Right at
2022-08-31   2022-09-04 te/maldives-resorts-villas.html              Home                                     By Alison Gregor                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/style/hu
2022-08-31   2022-09-04 sband-catfish-dating-app.html                Her Catfishing Ex                        By Philip Galanes                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/style/m
2022-08-31   2022-09-04 atty-matheson-the-bear.html                  A New Gig That Fits Him                  By Max Berlinger                   TX 9-213-471   2022-11-01




                                                                               Page 4198 of 5793
                        https://www.nytimes.com/2022/08/31/t-     Moosewood Has New Owners but Still Holds
2022-08-31   2022-09-04 magazine/moosewood-restaurant-ithaca.html Its Old Values                           By Gisela Williams                    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/08/31/theater/
2022-08-31   2022-09-04 theater-diversity-equity-inclusion-racism.html Racism Erodes the American Theater      By Jesse Green                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/arts/dan
2022-09-01   2022-09-04 ce/bijayini-satpathy-met-museum.html           Inspiration Beyond the Gods             By Marina Harss                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/arts/des
2022-09-01   2022-09-04 ign-world-events-products-people.html          Panorama                                By The New York Times             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/arts/des
2022-09-01   2022-09-04 ign/leena-similu-ceramics.html                 Behind the Wheel With a New Destination By Lauren Messman                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/arts/tele Amy Stechler 67 Who Made Acclaimed
2022-09-01   2022-09-04 vision/amy-stechler-dead.html                  Documentaries                           By Neil Genzlinger                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/busines
2022-09-01   2022-09-04 s/colorado-rivers-fishing-lawsuit.html         Unspoiled Waterways Unavailable to Some By Ben Ryder Howe                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/fashion
                        /weddings/wedding-planning-online-             When Wedding Planning Is Like Online
2022-09-01   2022-09-04 shopping.html                                  Shopping                                By Alix Strauss                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/magazi A Baby Hadnt Gained Any Weight in Months
2022-09-01   2022-09-04 ne/diabetes-insipidus-diagnosis.html           Why Was It Failing to Thrive            By Lisa Sanders MD                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/magazi
                        ne/judge-john-hodgman-on-swampy-the-
2022-09-01   2022-09-04 cat.html                                       Bonus Advice From Judge John Hodgman    By John Hodgman                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/magazi
2022-09-01   2022-09-04 ne/poem-nationhood.html                        Poem Nationhood                         By Laura Da and Victoria Chang    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/magazi
2022-09-01   2022-09-04 ne/ukraine-mariupol-theater.html               Witness to a Massacre                   By James Verini                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/movies/
                        michael-schultz-krush-groove-car-wash-
2022-09-01   2022-09-04 cooley-high.html                               Choosing Humanity Over Tired Imagery    By Reggie Ugwu                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/opinion
2022-09-01   2022-09-04 /us-high-school-oakland.html                   For Us                                  By Fremont High School students   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/opinion
2022-09-01   2022-09-04 /us-school-care.html                           For Care                                By Jessica Grose                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/opinion                                             By Heather C McGhee and Victor
2022-09-01   2022-09-04 /us-school-citizenship.html                    For Making Citizens                     Ray                               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/opinion
2022-09-01   2022-09-04 /us-school-history.html                        For Everyone                            By Anya Kamenetz                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/opinion
2022-09-01   2022-09-04 /us-school-immigrant-children.html             For Hope                                By Gabrielle Oliveira             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/opinion
2022-09-01   2022-09-04 /us-school-knowledge.html                      For Wasting Time and Money              By Bryan Caplan                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/opinion
2022-09-01   2022-09-04 /us-school-merit.html                          For Merit                               By Asra Q Nomani                  TX 9-213-471   2022-11-01




                                                                               Page 4199 of 5793
                        https://www.nytimes.com/2022/09/01/opinion
2022-09-01   2022-09-04 /us-school-nature.html                         For Connecting to Nature                  By Nicolette Sowder     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/opinion
2022-09-01   2022-09-04 /us-school-reading.html                        For Learning to Read                      By Emily Hanford        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/opinion
2022-09-01   2022-09-04 /us-school-social-mobility.html                For Social Mobility                       By John N Friedman      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/realesta
                        te/banksy-swing-girl-los-angeles-              Would You Like to Buy a Banksy This
2022-09-01   2022-09-04 building.html                                  Property Comes With It                    By Debra Kamin          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/realesta
2022-09-01   2022-09-04 te/generation-z-best-cities.html               The Best Cities for Generation Z          By Michael Kolomatsky   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/sports/f After Setbacks an NFL Cornerback Tries for a
2022-09-01   2022-09-04 ootball/caleb-farley-tennessee-titans.html     DoOver on His Rookie Year                 By Emmanuel Morgan      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/style/ca
2022-09-01   2022-09-04 ralarga-mexico-design-firm.html                Tied With a Single Thread                 By Ray Mark Rinaldi     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/style/de
2022-09-01   2022-09-04 sign-questions-answers.html                    Advice for Styling Your Nest              By Stephen Treffinger   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/style/eri
2022-09-01   2022-09-04 c-egan-design-studio-milan.html                A Taste for Sprezzatura                   By Stephen Treffinger   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/style/fa
2022-09-01   2022-09-04 shion-home-furnishings.html                    The Fashion House                         By Arlene Hirst         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/style/ho
2022-09-01   2022-09-04 usehold-goods-fashion.html                     An Accent on Style                        By Julie Lasky          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/style/ro
2022-09-01   2022-09-04 gan-gregory-designer.html                      As You Sleep He Creates                   By Ted Loos             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/style/sc
2022-09-01   2022-09-04 arves-benoit-pierre-emery.html                 Compositions You Can Wear                 By Susanne Fowler       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/theater/
2022-09-01   2022-09-04 lea-michele-funny-girl-broadway.html           Her Opening Night Prep Took Years         By Julia Jacobs         TX 9-213-471   2022-11-01
                                                                       Two Children Two Cats and a Dog and 250
                        https://www.nytimes.com/interactive/2022/09/ Mice She Needed a New Plan Which Option
2022-09-01   2022-09-04 01/realestate/01hunt-sample.html               Would You Choose                          By Debra Kamin          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/arts/des
2022-09-02   2022-09-04 ign/the-many-lives-of-martine-syms.html        The Many Lives of Martine Syms            By Travis Diehl         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/arts/mu Archie Roach Who Lived and Sang the
2022-09-02   2022-09-04 sic/archie-roach-dead.html                     Aboriginal Blues Is Dead at 66            By Alex Traub           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/arts/tele For Jane Krakowski French Fries Mean
2022-09-02   2022-09-04 vision/jane-krakowski-favorite-things.html     Wellness                                  By Juan A Ramrez        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/books/d
2022-09-02   2022-09-04 avid-milch-still-has-stories-to-tell.html      There Are Plenty of Stories Here          By Dave Itzkoff         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/books/r
                        eview/after-a-climate-catastrophe-these-birds-
2022-09-02   2022-09-04 flocked-to-the-moon.html                       Winging It                                By Etelka Lehoczky      TX 9-213-471   2022-11-01




                                                                               Page 4200 of 5793
                        https://www.nytimes.com/2022/09/02/books/r
                        eview/amy-sarig-king-attack-of-the-black-
2022-09-02   2022-09-04 rectangles.html                            Schools of Thought Control                    By Jennifer Howard                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/busines Kazuo Inamori 90 Major Industrialist in
2022-09-02   2022-09-04 s/kazuo-inamori-dead.html                  Postwar Japan                                 By Ben Dooley                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/nyregio
2022-09-02   2022-09-04 n/gowanus-gentrification-brooklyn.html     A Conflict of Ambitions in Gowanus            By Ginia Bellafante                TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/02/nyregio                                               By Joshua Needelman and Sabrina
2022-09-02   2022-09-04 n/grilling-new-york-summer-parks.html      A Smoky Cue to Gather and Celebrate           Santiago for The New York Times TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/02/nyregio In New Jersey GOP Tries To Stir Sex
2022-09-02   2022-09-04 n/sex-ed-new-jersey-midterms.html          Education Issue                               By Tracey Tully                    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/02/realesta At the Top Price Reductions Hold and Sales
2022-09-02   2022-09-04 te/hugh-jackman-chelsea-penthouse-nyc.html Gain Momentum                                 By Vivian Marino                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/02/sports/s Money Its a Gas Just Ask AnyoneIn the
2022-09-02   2022-09-04 occer/premier-league-transfer-window.html Premier League                                  By Rory Smith                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/style/in-
                        montauk-big-money-moves-in-on-a-surfers-
2022-09-02   2022-09-04 paradise.html                                Big Money Is Making Waves                    By Steven Kurutz                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/style/m A Comedy Routine That Helped Romance
2022-09-02   2022-09-04 eredith-davis-elliott-poppel-wedding.html    Bloom                                        By Sadiba Hasan                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/style/mi
2022-09-02   2022-09-04 ke-taylor-celeste-northern-wedding.html      Nearby in Harlem the Detroiter of His Dreams By Tammy La Gorce                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/style/mi
2022-09-02   2022-09-04 tchell-karp-barry-katz-wedding.html          A Proposal Seven Years in the Making         By Nina Reyes                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/style/m
                        odern-love-i-broke-my-knee-which-fractured-
2022-09-02   2022-09-04 my-marriage.html                             Breaking My Kneecap Fractured My Marriage By Tiffany Zehnal                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/style/ni In Sickness Proving the Health of Their
2022-09-02   2022-09-04 cholas-baldo-viktoria-cupay-wedding.html     Relationship                                 By Jenny Block                    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/02/us/goat- A Fair Auctioned a Beloved Goat for
2022-09-02   2022-09-04 cedar-auction-shasta-county.html            Slaughter Its Owners Filed a Federal Lawsuit By Vimal Patel                     TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/08/01/us/calif Northern California Wildfire Destroys Homes By Mandy FederSawyer Shawn
2022-09-03   2022-09-04 ornia-mill-fire.html                        and Forces An Entire Town to Evacuate       Hubler and Ava Sasani               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/world/a
2022-09-03   2022-09-04 mericas/colombia-police-attack.html         Blast Kills 7 Police Officers in Colombia   By Genevieve Glatsky                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/busines
2022-09-03   2022-09-04 s/bodega-pets-animal-lovers.html            The New Bodega Cat May Be a Pig             By Alexandra Genova                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/climate Hot Couture How a Warming Planet Is          By Christopher Flavelle and Josie
2022-09-03   2022-09-04 /cooling-clothes-climate-change.html        Changing the Clothes We Wear                Norton                              TX 9-213-471   2022-11-01




                                                                                 Page 4201 of 5793
                        https://www.nytimes.com/2022/09/03/health/a Pressing Limits to Ease Delivery of Abortion
2022-09-03   2022-09-04 bortion-pill-access-roe-v-wade.html         Pill                                           By Pam Belluck                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/nyregio
2022-09-03   2022-09-04 n/asad-syrkett-elle-decor.html              Doing Pilates and Exiting the Media Bubble     By Paige Darrah                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/nyregio Police Delays Suspect on Loose And a
2022-09-03   2022-09-04 n/rape-case-delay-murder.html               Murdered Young Woman                           By Ashley Southall               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/realesta Going From West to East With a Concept in
2022-09-03   2022-09-04 te/new-york-apartment-decor-design.html     Mind                                           By Penelope Green                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/realesta How Long Is My Building Allowed To Keep
2022-09-03   2022-09-04 te/nyc-scaffolding-rent-stabilized.html     Up Its Repair Scaffolding                      By Ronda Kaysen                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/science Hydrogen Leak Scrubs Second Try for
2022-09-03   2022-09-04 /nasa-artemis-launch-scrub.html             Artemis                                        By Kenneth Chang                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/sports/b Judges Tall Order Staying Healthy to Secure
2022-09-03   2022-09-04 aseball/aaron-judge-yankees-size.html       an Enormous Payday                             By James Wagner                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/03/sports/b Why It Doesnt Matter If Jamess Big Contract
2022-09-03   2022-09-04 asketball/lebron-james-lakers-contract.html Makes Little Sense                          By Sopan Deb                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/sports/e Earnie Shavers 78 HardPunching
2022-09-03   2022-09-04 arnie-shavers-dead.html                     Heavyweight Who Battled Ali Dies            By Richard Goldstein                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/sports/n Bulldogs Begin Defense Of Title With
2022-09-03   2022-09-04 caafootball/georgia-oregon.html             Dominance                                   By Alan Blinder                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/sports/t
                        ennis/ajla-tomljanovic-serena-williams-us-  Tomljanovic Stared Down a Legend and
2022-09-03   2022-09-04 open.html                                   24000 Screaming Fans                        By David Waldstein                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/sports/t A Fighter Wills Her Way to a Glorious
2022-09-03   2022-09-04 ennis/serena-venus-williams-us-open.html    Goodbye                                     By Christopher Clarey               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/style/be
2022-09-03   2022-09-04 yonce-lewis-hamilton-photographer.html      Putting the World Into Focus                By Alex Hawgood                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/us/loan- For Those Who Dropped Out Could Debt
2022-09-03   2022-09-04 forgiveness-student-debt.html               Relief Renew Old Dreams                     By Eliza Fawcett and Jacey Fortin   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/03/us/polit LGBTQ Voters Could Sway Key Race in
2022-09-03   2022-09-04 ics/lgbtq-voters-ken-calvert-will-rollins.html Desert                                      By Stephanie Lai                 TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/03/us/polit
2022-09-03   2022-09-04 ics/senate-republican-committee-funds.html How Big Haul For the GOP Melted Away            By Shane Goldmacher              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/world/a Chile Holds Major Vote On a New
2022-09-03   2022-09-04 mericas/chile-constitution-vote.html          Constitution With Many More Rights           By Jack Nicas                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/world/a Shady Ships Send Digital Mirages to Evade
2022-09-03   2022-09-04 mericas/ships-gps-international-law.html      Law                                          By Anatoly Kurmanaev            TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/03/world/a ExPresident Of Sri Lanka Returns Home           By Skandha Gunasekara and Mujib
2022-09-03   2022-09-04 sia/sri-lanka-rajapaksa-return.html           After Ouster                                 Mashal                          TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/03/world/e
                        urope/britain-prime-minister-liz-truss-rishi- Britain Prepares for New Leader and for
2022-09-03   2022-09-04 sunak.html                                    Chance of Bumpier Relations With Allies      By Mark Landler                  TX 9-213-471   2022-11-01



                                                                                 Page 4202 of 5793
                        https://www.nytimes.com/2022/09/03/world/e Gorbachevs Funeral Draws Thousands but          By Valerie Hopkins and Ivan
2022-09-03   2022-09-04 urope/mikhail-gorbachev-russia-funeral.html Putin Is Visibly Absent                        Nechepurenko                         TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/03/world/e Five Months On Bucha Struggles to Identify
2022-09-03   2022-09-04 urope/ukraine-bucha-massacre-victims.html Massacre Victims                                 By Carlotta Gall                     TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/03/world/e 2 Nuclear Experts to Remain Stationed at           By Marc Santora and Andrew E
2022-09-03   2022-09-04 urope/zaporizhzhia-ukraine-iaea.html           Power Plant in Ukraine to Help Avert Disaster Kramer                             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/science NASA Calls Off Rocket Launch A Second
2022-09-04   2022-09-04 /nasa-artemis-moon-mission.html                Time                                           By Kenneth Chang                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/busines
                        s/energy-environment/india-electric-vehicles- India Embraces Electric Mopeds and              By Emily Schmall Jack Ewing and
2022-09-04   2022-09-04 moped-rickshaw.html                            Rickshaws                                      Atul Loke                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/busines The Week in Business Job Growth Is Solid
2022-09-04   2022-09-04 s/jobs-growth-federal-reserve.html             but Slowing                                    By Marie Solis                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/insider/
2022-09-04   2022-09-04 aaron-judge-sports.html                        Where All of Judges Homers Land                By Terence McGinley               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/sports/b
                        asketball/wnba-semifinals-candace-             In the WNBA Semifinals Both the Series and
2022-09-04   2022-09-04 parker.html                                    the Players Are All Tied Up                    By Kris Rhim                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/style/m
2022-09-04   2022-09-04 ost-dressed-us-open-hermes-sturm.html          Fresh Looks Served Here                        By Denny Lee                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/us/polit Russia Is Using LowTech Components in Its
2022-09-04   2022-09-04 ics/russia-missiles-ukraine.html               Sophisticated Weapons Report Says              By John Ismay                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/us/trans                                                   By Rick Rojas and Rachel
2022-09-04   2022-09-04 gender-children-summer-camp.html               Canoeing Hiking SMores and Acceptance          Wisniewski                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/world/a
                        sia/south-korea-autism-extraordinary-attorney- In South Korea TV Show Helps Break Silence
2022-09-04   2022-09-04 woo.html                                       on Autism                                      By Jin Yu Young                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/15/style/qu
2022-08-15   2022-09-05 itting-work-life-balance-career.html           After They Quit                                By Joshua Needelman               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/22/style/qu How quitting a job changed their personal
2022-08-22   2022-09-05 itting-personal-finances.html                  finances                                       By Anna Kod                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/23/travel/a
2022-08-23   2022-09-05 man-new-york.html                              Serenity in Midtown Starting at 3200 a Night By Heather Murphy                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/29/special-
                        series/great-resignation-quitting-
2022-08-29   2022-09-05 relationships.html                             How quitting a job changed their relationships By Joshua Needelman               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/sports/s
2022-08-31   2022-09-05 occer/afghanistan-soccer-escape.html           The Keeper                                     By Juliet Macur                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/01/arts/tele
2022-09-01   2022-09-05 vision/lotr-the-rings-of-power-reviews.html Did Rings Cast A Spell on Critics              By Jennifer Vineyard                 TX 9-213-471   2022-11-01




                                                                                  Page 4203 of 5793
                        https://www.nytimes.com/2022/09/01/opinion If an Alternative Candidate Is Needed in 2024
2022-09-01   2022-09-05 /third-presidential-candidate-2024.html     These Folks Will Be Ready                    By David Brooks                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/01/technol Apple Watch By Age 5 Parents Fuel New
2022-09-01   2022-09-05 ogy/apple-watch-children-kids.html          Market                                       By Kalley Huang and Brian X Chen TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/01/theater/
2022-09-01   2022-09-05 joan-of-arc-nonbinary-globe.html            Nonbinary Joan of Arc Causes a Stir          By Alex Marshall                  TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/02/arts/des
                        ign/charles-atlas-pioneer-works-brooklyn-
2022-09-02   2022-09-05 video-art.html                              Ripping Open The Universe In His Brain       By Ted Loos                       TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/02/arts/mu
                        sic/playlist-romeo-santos-justin-           Romeo Santos and Justin Timberlakes Track
2022-09-02   2022-09-05 timberlake.html                             and More New Songs                           By Jon Pareles and Lindsay Zoladz TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/02/movies/ In Bones and All a Cannibal Finds Belonging
2022-09-02   2022-09-05 timothee-chalamet-venice-film-festival.html and Love                                       By Kyle Buchanan                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/obituari Overlooked No More Vera Menchik First
2022-09-02   2022-09-05 es/vera-menchik-overlooked.html              Womens Chess Champion                         By Gavin Edwards                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/travel/fl Ask a Flight Attendant MiddleSeat Manners
2022-09-02   2022-09-05 ight-attendant-questions.html                Alcohol and Jet Lag                           By Kristie Koerbel               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/busines
                        s/dealbook/david-rubenstein-on-carlyles-     I Was Not Surprised CoFounder Discusses
2022-09-03   2022-09-05 recent-leadership-shake-up.html              Carlyles Leadership ShakeUp                   By Andrew Ross Sorkin            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/nyregio Arsenic Found in Water at Manhattan             By Hurubie Meko Sean Piccoli and
2022-09-03   2022-09-05 n/nycha-riis-houses-arsenic-nyc.html         Housing Complex                               Joseph Goldstein                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/opinion Does Biden Truly Think Democracy Is in
2022-09-03   2022-09-05 /joe-biden-democracy-crisis.html             Crisis                                        By Ross Douthat                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/us/mari Marilyn Loden Who Popularized The Term
2022-09-03   2022-09-05 lyn-loden-dead.html                          Glass Ceiling Dies at 76                      By Penelope Green                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/us/tupel Pilot Charged After Threatening to Crash
2022-09-03   2022-09-05 o-mississippi-pilot-walmart.html             Small Plane                                   By Amanda Holpuch                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/arts/mu
2022-09-04   2022-09-05 sic/kane-brown-different-man.html            A Twang Thats All His Own                     By Hank Shteamer                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/books/j
2022-09-04   2022-09-05 onathan-escoffery-if-i-survive-you.html      A Storyteller Whose Aim Is to Reflect Reality By Kate Dwyer                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/books/s Sterling Lord Agent Who Represented Stars
2022-09-04   2022-09-05 terling-lord-dead.html                       Of Writing Dies at 102                        By David Margolick               TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/04/busines Bed Bath amp Beyond CFO Found Dead in        By Lauren Hirsch and Jordyn
2022-09-04   2022-09-05 s/bed-bath-beyond-gustavo-arnal-dead.html New York                                      Holman                            TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/04/busines
2022-09-04   2022-09-05 s/movie-theaters-closing-bankruptcy.html   After Hope A Plot Twist For Cinemas          By Brooks Barnes                  TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/04/busines
2022-09-04   2022-09-05 s/stunt-driving-sideshows.html             Screeching Tires and Street Takeovers        By Bradley Berman                 TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/04/crossw
2022-09-04   2022-09-05 ords/daily-puzzle-2022-09-05.html          A Game Designer Doubles Down                 By Rachel Fabi                    TX 9-213-471     2022-11-01



                                                                                Page 4204 of 5793
                        https://www.nytimes.com/2022/09/04/nyregio Guidelines Could Tame New Yorks Wild         By Dodai Stewart and Timothy
2022-09-04   2022-09-05 n/nyc-outdoor-dining-sheds.html             West Outdoor Dining Scene                   Mulcare                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/opinion
2022-09-04   2022-09-05 /biden-semifacism-apologize.html            Republicans Dont Deserve an Apology         By Charles M Blow                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/opinion
2022-09-04   2022-09-05 /united-farm-workers-california.html        Cesar Chavezs Union Has Lost Its Way        By Miriam Pawel                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/sports/b
2022-09-04   2022-09-05 aseball/freddie-freeman-dodgers.html        New Dodgers Way Just Pencil Em In           By Tyler Kepner                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/sports/g Normans Arrival by Parachute Marks LIV
2022-09-04   2022-09-05 olf/liv-golf-pga-tour-boston.html           Golfs Hunger for Attention                  By Bill Pennington               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/sports/o
                        lympics/mark-spitz-olympics-munich-
2022-09-04   2022-09-05 tragedy.html                                For Spitz a Summer of Glory Amid Tragedy By Jer Longman                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/sports/t Serenas SevenDay Goodbye to the Sport She
2022-09-04   2022-09-05 ennis/serena-williams-last-us-open.html     Changed Forever                             By John Branch                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/sports/t Some Top Story Lines The NonSerena
2022-09-04   2022-09-05 ennis/us-open.html                          Edition                                     By Christopher Clarey            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/sports/ After Wild 4th Quarter Aces Romp in
2022-09-04   2022-09-05 wnba-semifinals-game-3-aces-storm.html      Overtime                                    By Kris Rhim                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/technol
2022-09-04   2022-09-05 ogy/russia-bioweapons-geneva.html           Russians Use Bioweapon Lie To Smear US By Steven Lee Myers                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/us/new-
2022-09-04   2022-09-05 titanic-footage.html                        Titanic Feeds DeepSea Tourism Industry      By Amanda Holpuch                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/us/polit
                        ics/constitutional-convention-republican-
2022-09-04   2022-09-05 states.html                                 Republicans Eye a Constitutional Convention By Carl Hulse                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/us/polit Trump Lashes Out in First Rally Since FBI   By Katie Glueck and Michael C
2022-09-04   2022-09-05 ics/trump-rally-pennsylvania.html           Search                                      Bender                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/us/trum Unwritten Rule Poses Dilemma For 2
2022-09-04   2022-09-05 p-investigations-midterm-elections.html     Inquiries                                   By Charlie Savage                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/world/a Chile Soundly Rejects Proposed Constitutions
2022-09-04   2022-09-05 mericas/chile-constitution-no.html          Broad Bold Changes                          By Jack Nicas                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/world/a China Threatens to Take Countermeasures to
2022-09-04   2022-09-05 sia/taiwan-china-arms.html                  Sale Of US Arms to Taiwan                   By Alexandra Stevenson           TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/04/world/a
2022-09-04   2022-09-05 sia/vietnam-loudspeakers-propaganda.html   In Hanoi Loudspeakers Will Blare Once More By Chau Doan and Mike Ives         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/world/e Europe Sprints to Supply Relief on Energy
2022-09-04   2022-09-05 urope/europe-economy-ukraine-war.html      Costs                                      By Erika Solomon                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/world/e Blame Hate and a Dispute Over License
2022-09-04   2022-09-05 urope/kosovo-license-plates-dispute.html   Plates in a Divided Kosovo City            By Andrew Higgins                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/live/2022/09/04/wo
                        rld/canada-stabbing-attacks/canada-        Stabbing Spree Leaves 10 Dead At Canada    By Ian Austen Yonette Joseph and
2022-09-04   2022-09-05 saskatchewan-stabbings                     Sites                                      Vjosa Isai                         TX 9-213-471   2022-11-01




                                                                               Page 4205 of 5793
                        https://www.nytimes.com/2022/09/04/us/mill- Mill Fire in Northern California Killed at   By Holly Dillemuth and Shawn
2022-09-05   2022-09-05 fire-california.html                         Least 2 Officials Say                       Hubler                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/arts/tele
                        vision/whats-on-tv-this-week-claim-to-fame-
2022-09-05   2022-09-05 and-american-gigolo.html                     This Week on TV                             By Shivani Gonzalez            TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/05/climate Washington River Might Yield Model for        By Henry Fountain and Ruth
2022-09-05   2022-09-05 /colorado-river-yakima-lessons-climate.html Ending a Water War                           Fremson                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/world/c
                        anada/bieber-shakespeare-stratford-         This Earth This Realm This Land of Bieber
2022-09-05   2022-09-05 ontario.html                                and the Bard                                 By Vjosa Isai                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/24/busines
                        s/curbside-management-cities-               Can Technology Help Manage the Demands
2022-08-24   2022-09-06 technology.html                             on the City Curb                             By John Surico                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/29/well/fa
2022-08-29   2022-09-06 mily/button-batteries-children-danger.html  A Big Problem With Small Batteries           By Catherine Pearson           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/science
                        /humpback-whale-songs-cultural-             Whales Pick Up a Catchy Tune When They
2022-08-30   2022-09-06 evolution.html                              Hear It                                      By Carl Zimmer                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/well/liv
2022-08-30   2022-09-06 e/does-cbd-help-with-insomnia.html          Does CBD Help With Insomnia                  By Rachel Rabkin Peachman      TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/08/31/busines Carmakers Say Recycling Parts Could Cut
2022-08-31   2022-09-06 s/cars-recycling-circular-manufacturing.html Waste Is It Realistic                    By Roy Furchgott                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/science
2022-08-31   2022-09-06 /nasa-lab-mars.html                          A Plague From Mars Its Possible          By Sarah Scoles                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/well/liv Why We Get Motion Sickness and How to
2022-09-02   2022-09-06 e/motion-sickness-tips.html                  Stop It                                  By Melinda Wenner Moyer           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/busines
2022-09-02   2022-09-06 s/peloton-resale-inventory.html              Peloton Regrets Youre Not Alone          By Lora Kelley                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/movies/
                        paul-ws-anderson-milla-jovovich-resident-
2022-09-02   2022-09-06 evil.html                                    Theyre Married With Monsters             By Nicolas Rapold                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/science An Eruption That Forecasters Couldnt
2022-09-02   2022-09-06 /nyiragongo-volcano-eruption.html            Foresee                                  By Robin George Andrews           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/well/fa
2022-09-02   2022-09-06 mily/random-acts-of-kindness.html            The Ripple Effect of Random Kindness     By Catherine Pearson              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/opinion
                        /environment/floods-in-pakistan-climate-     What Is Owed to Pakistan Now OneThird
2022-09-03   2022-09-06 change.html                                  Underwater                               By Fatima Bhutto                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/well/m
2022-09-03   2022-09-06 ove/pickleball-popular-sport.html            Its All the Rage and Easy to Play        By Juno DeMelo                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/arts/mu Judge Dismisses Suit Over Naked Baby Image
2022-09-04   2022-09-06 sic/nirvana-nevermind-baby-lawsuit.html      on Nirvana Album                         By Eduardo Medina                 TX 9-213-471   2022-11-01




                                                                                  Page 4206 of 5793
                        https://www.nytimes.com/2022/09/04/movies/
                        brendan-fraser-the-whale-venice-film-        The Whale Could Be an Actors Comeback
2022-09-04   2022-09-06 festival.html                                Film                                     By Kyle Buchanan        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/science
2022-09-04   2022-09-06 /brain-language-research.html                Exploring the Curious Hole in Her Head   By Helen Santoro        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/science
2022-09-04   2022-09-06 /elderly-work-caregiving.html                The Quiet Cost of Family Caregiving      By Paula Span           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/arts/tele
                        vision/rings-of-power-vs-house-of-the-
2022-09-05   2022-09-06 dragon.html                                  Which Fantasy Prequel Wears It Better    By Jennifer Vineyard    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/arts/the
2022-09-05   2022-09-06 aters-masking-covid.html                     Mask Policies One Size Wont Fit All      By Matt Stevens         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/books/j
2022-09-05   2022-09-06 avier-zamora-solito-migration.html           The Long Toll Of a Childs Trek           By Benjamin P Russell   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/05/books/r
2022-09-05   2022-09-06 eview/maggie-ofarrell-marriage-portrait.html Sex and Murder Long Ago and Far Away     By Dwight Garner        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/busines Markets Wobble as Britain Names a New
2022-09-05   2022-09-06 s/britain-markets-truss.html                 Prime Minister                           By Eshe Nelson          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/busines
2022-09-05   2022-09-06 s/cvs-signify-health.html                    CVS to Buy Care Group For 8 Billion      By Lauren Hirsch        TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/05/busines Meta Fined 400 Million for Handling of
2022-09-05   2022-09-06 s/meta-children-data-protection-europe.html Childrens Data on Instagram                   By Adam Satariano   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/busines
2022-09-05   2022-09-06 s/newsom-california-fast-food-wages.html      California Bill Will Regulate FastFood Work By Noam Scheiber    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/busines
2022-09-05   2022-09-06 s/opec-plus-meeting.html                      OPEC Cuts Production By a Sliver            By Stanley Reed     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/busines
2022-09-05   2022-09-06 s/russia-gas-europe-france.html               France Enters an Era of Energy Sobriety     By Liz Alderman     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/busines
2022-09-05   2022-09-06 s/trump-media-merger.html                     Trump Media Nears Deadline For a Merger By Matthew Goldstein    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/movies/
                        olivia-wilde-florence-pugh-harry-styles-dont-
2022-09-05   2022-09-06 worry-darling.html                            Meeting the Press But Without the Star      By Kyle Buchanan    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/movies/
2022-09-05   2022-09-06 telluride-film-festival-women-talking.html    At Telluride a View Of Something Special    By AO Scott         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/nyregio
                        n/west-indian-parade-jouvert-brooklyn-labor- Joy of JOuvert Revelry Returns To Brooklyn
2022-09-05   2022-09-06 day.html                                      Live and In Person                          By Brian Josephs    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/05/opinion
2022-09-05   2022-09-06 /has-bidenomics-been-good-for-workers.html Has Bidenomics Been Good for Workers       By Paul Krugman         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/opinion Biden Loves Labor but It Might Not Love
2022-09-05   2022-09-06 /unions-labor-movement-biden.html          Him Back                                   By Farah Stockman       TX 9-213-471   2022-11-01



                                                                               Page 4207 of 5793
                        https://www.nytimes.com/2022/09/05/science The Hunt Is On for Big Hail Unless It Finds
2022-09-05   2022-09-06 /hail-weather-climate.html                  You First                                     By Oliver Whang                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/sports/b With the Yankees On His Shoulders Judge
2022-09-05   2022-09-06 aseball/aaron-judge-yankees-twins.html      Chases Maris                                  By Tyler Kepner                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/sports/b
2022-09-05   2022-09-06 aseball/horace-wilson-japan-150.html        How a Sport Came to Japan to Stay via Maine By Brad Lefton                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/sports/s
                        occer/celtic-real-madrid-champions-         Turning to Japan To Help Take On Giants of
2022-09-05   2022-09-06 league.html                                 Europe                                        By Rory Smith                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/sports/t The Rage Isnt Gone But the Vast Talent Is
2022-09-05   2022-09-06 ennis/us-open-kyrgios.html                  Screaming Louder                              By Christopher Clarey             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/sports/t
2022-09-05   2022-09-06 ennis/us-open-nadal-tiafoe.html             Nadal Falls Youth Rises                       By Matthew Futterman              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/us/geor String of Storms in Georgia Leaves Roads       By Derrick Bryson Taylor and
2022-09-05   2022-09-06 gia-flooding.html                           Flooded and Homes Submerged                   April Rubin                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/us/hurri Quiet Year for Hurricanes Is Bringing Little
2022-09-05   2022-09-06 cane-season-louisiana.html                  Comfort Along Louisianas Coast                By Rick Rojas                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/us/moo Moon Landrieu New Orleans Mayor Who
2022-09-05   2022-09-06 n-landrieu-dead.html                        Fought for Integration Dies at 92             By William Yardley                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/us/polit
                        ics/midterms-elections-abortion-            In Sprint to Midterms Parties Tailor Messages
2022-09-05   2022-09-06 economy.html                                to Anxious Voters                             By Lisa Lerer and Jennifer Medina TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/us/polit Trump Can Have Arbiter Review Seized          By Alan Feuer Glenn Thrush and
2022-09-05   2022-09-06 ics/trump-special-master.html               Records                                       Charlie Savage                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/us/trum Legal Experts Question Judges Ruling for
2022-09-05   2022-09-06 p-special-master-aileen-cannon.html         Trump                                         By Charlie Savage                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/world/a Kenyas Supreme Court Upholds Presidential By Declan Walsh and Abdi Latif
2022-09-05   2022-09-06 frica/kenya-election-supreme-court.html     Election Results                              Dahir                             TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/05/world/a Stabbing Spree in Canadas Bucolic Prairie    By Ian Austen Amber Bracken and
2022-09-05   2022-09-06 mericas/canada-stabbings-saskatchewan.html Region Shocks Nation                         Dan Bilefsky                    TX 9-213-471       2022-11-01
                        https://www.nytimes.com/2022/09/05/world/a
                        mericas/the-police-have-been-criticized-for-
                        their-handling-of-crimes-against-indigenous- Police Actions Under Scrutiny In
2022-09-05   2022-09-06 people.html                                  Communities                                By Ian Austen                     TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/05/world/a As Beijing Imposes More Covid Lockdowns
2022-09-05   2022-09-06 sia/china-covid-lockdowns.html             Across China Everyone Is Scared         By Vivian Wang                         TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/05/world/a
2022-09-05   2022-09-06 sia/kabul-russian-embassy-suicide-attack.html Two Killed at Russian Embassy in Kabul    By Christina Goldbaum             TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/05/world/a Earthquake Kills Scores In Southwest Of
2022-09-05   2022-09-06 sia/strong-earthquake-china.html              China                                     By Keith Bradsher                 TX 9-213-471     2022-11-01




                                                                                 Page 4208 of 5793
                        https://www.nytimes.com/2022/09/05/world/e
                        urope/britain-truss-prime-minister-        A Hawkish Political Disrupter To Lead a
2022-09-05   2022-09-06 johnson.html                               Nation Facing Crisis                           By Mark Landler                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/world/e A Challenge to French Virility Is Red Meat
2022-09-05   2022-09-06 urope/france-men-barbecues.html            for Debate                                     By Roger Cohen                    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/05/world/e Trial Begins in France For Attack Where 86
2022-09-05   2022-09-06 urope/france-nice-trial-terrorist-attack.html Were Killed by Driver                       By Constant Mheut                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/world/e
                        urope/germany-extend-life-nuclear-                                                        By Erika Solomon and Melissa
2022-09-05   2022-09-06 reactors.html                                 Germany Extends Life of Two Reactors        Eddy                              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/world/e
                        urope/germany-israel-apology-munich-          Formal German Apology for Terror Attacks
2022-09-05   2022-09-06 games.html                                    On Munich Games Offers a Kind of Closure    By Christopher F Schuetze         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/world/e                                                By Mark Landler and Stephen
2022-09-05   2022-09-06 urope/liz-truss-uk-prime-minister.html        Tories Choose Top Diplomat To Run Britain   Castle                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/world/e
2022-09-05   2022-09-06 urope/uk-pm-voting.html                       Small Group Chose Leader Of Britain         By Megan Specia                TX 9-213-471      2022-11-01
                                                                                                                  By Marc Santora Ivan
                        https://www.nytimes.com/2022/09/05/world/e Ukrainian Power Plant Blitzed By Shelling      Nechepurenko and Matthew Mpoke
2022-09-05   2022-09-06 urope/ukraine-nuclear-plant.html             Hangs by a Thread                            Bigg                           TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/05/world/e Ukrainians Arrive in Rural Ireland in Fog of
2022-09-05   2022-09-06 urope/ukraine-refugees-rural-ireland.html    Good Will and Chaos                          By Megan Specia                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/world/ Israel Says Reporter Was Probably Shot By       By Hiba Yazbek and Patrick
2022-09-05   2022-09-06 middleeast/shireen-abu-akleh-killed.html     One of Its Forces                            Kingsley                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/live/2022/09/05/wo
                        rld/uk-prime-minister/rishi-sunak-liz-truss-
2022-09-05   2022-09-06 fashion                                      Clothes Became Shorthand for Character       By Vanessa Friedman               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/live/2022/09/05/wo
                        rld/uk-prime-minister/this-was-the-most-
2022-09-05   2022-09-06 diverse-leadership-race-in-britains-history  The Partys Most Diverse Leadership Race      By Euan Ward                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/us/polit
2022-09-06   2022-09-06 ics/russia-north-korea-artillery.html        Russia Turns to North Korea for Shells       By Julian E Barnes                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/busines
2022-09-06   2022-09-06 s/economy/biden-tech-chips.html              50 Billion To Bolster Chip Makers            By Ana Swanson                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/climate A Nevada Rancher Made a Truce With             By Catrin Einhorn and Niki Chan
2022-09-06   2022-09-06 /climate-change-beavers.html                 Beavers and It Paid Off                      Wylie                             TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/06/sports/f In a Contract Year Barkley Focuses on
2022-09-06   2022-09-06 ootball/saquon-barkley-giants-contract.html Putting All the Bad Luck Behind Me            By Emmanuel Morgan                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/sports/t If No One Player Fills the Void Left by
2022-09-06   2022-09-06 ennis/us-open-serena-swiatek-gauff.html     Williams Is Tennis Better Off                 By Kurt Streeter                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/06/technol                                                By Kashmir Hill and Kellen
2022-09-06   2022-09-06 ogy/joe-sullivan-uber-security-trial-ciso.html Case Against Uber Official Rattles Peers   Browning                          TX 9-213-471   2022-11-01



                                                                                   Page 4209 of 5793
                        https://www.nytimes.com/2022/09/06/us/polit One Million Migrants Admitted Into US
2022-09-06   2022-09-06 ics/asylum-biden-administration.html        During Bidens Tenure                        By Eileen Sullivan               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/us/polit Biden Puts Democracy at Center of Agenda at
2022-09-06   2022-09-06 ics/biden-democracy-threat.html             Home and Abroad                             By Edward Wong                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/us/polit Several Competitive Races Especially for
2022-09-06   2022-09-06 ics/massachusetts-primaries.html            Democrats in Massachusetts Primaries        By Maggie Astor                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/08/31/busines
2022-08-31   2022-09-07 s/black-owned-businesses-fashion-fair.html Legacy BlackOwned Brands Get Reboots         By Tiffany Martinbrough          TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/01/busines Portugals Grid May Be a Lifeline For
2022-09-01   2022-09-07 s/economy/portugal-russia-natural-gas.html Europeans                                     By Patricia Cohen               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/movies/
                        white-noise-noah-baumbach-lcd-
2022-09-01   2022-09-07 soundsystem.html                            Finding the Music in White Noise             By Kyle Buchanan                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/arts/mu
                        sic/the-sound-of-the-vikings-with-a-heavy-
2022-09-02   2022-09-07 metal-twist.html                            Viking Sounds With a Clash of Metal          Imogen WestKnights              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/dining/
2022-09-02   2022-09-07 new-york-city-fall-restaurant-preview.html  Time to Make a Date With a New Restaurant By Florence Fabricant              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/dining/
2022-09-02   2022-09-07 okra-salad-recipe.html                      A Salad to Silence The Okra Critics          By Melissa Clark                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/dining/
2022-09-02   2022-09-07 shrimp-pasta-recipe-summer-menu.html        Make the Most of the Bounty                  By David Tanis                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/travel/a Buttigieg Is Trying to Fix Air Travel With a By Heather Murphy and Niraj
2022-09-02   2022-09-07 irline-dashboard-flights-cancellations.html Dashboard                                    Chokshi                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/briefing
2022-09-04   2022-09-07 /return-to-office-labor-day.html            A BacktoOffice Turning Point                 By Ian Prasad Philbrick         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/us/mem Body of Memphis Teacher Abducted While
2022-09-04   2022-09-07 phis-eliza-fletcher-abduction-suspect.html  on an EarlyMorning Run Is Found              By April Rubin and Remy Tumin   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/dining/
2022-09-05   2022-09-07 drinks/wine-school-dry-riesling.html        Sizing Up Rieslings Dont Sell Them Short     By Eric Asimov                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/dining/
2022-09-05   2022-09-07 drinks/wine-school-graduation.html          Our Final Assignment                         By Eric Asimov                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/opinion Abortion and Trump Are Giving Democrats a
2022-09-05   2022-09-07 /abortion-trump-democrats.html              Shot                                         By Michelle Cottle              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/science Frank Drake 92 Hopeful Earthling Who
2022-09-05   2022-09-07 /space/frank-drake-dead.html                Reached Out to the Stars Dies                By Dennis Overbye               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/arts/mu
2022-09-06   2022-09-07 sic/dj-khaled-god-did-billboard-chart.html  Pals Help DJ Khaled Hit the Top              By Ben Sisario                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/arts/mu
2022-09-06   2022-09-07 sic/fn-meka-virtual-ai-rap.html             A Virtual Rapper Is Fired Questions Flourish By Marc Tracy                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/arts/ne
                        w-yorker-festival-bono-chloe-bailey-jamie- Artists and Politics Lead At New Yorker
2022-09-06   2022-09-07 raskin.html                                 Festival                                     By Kalia Richardson             TX 9-213-471   2022-11-01



                                                                                Page 4210 of 5793
                        https://www.nytimes.com/2022/09/06/arts/tele
2022-09-06   2022-09-07 vision/queen-sugar-final-season.html         It Keeps Coming Back To Family                 By Salamishah Tillet    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/books/b
2022-09-06   2022-09-07 ooker-prize-finalists.html                   Booker Prize Shortlist Features Biting Satires By Alexandra Alter      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/books/p Peter Straub 79 Dies Transcendent Novelist
2022-09-06   2022-09-07 eter-straub-dead.html                        On Ghosts and Demons                           By Clay Risen           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/books/r
                        eview/agatha-christie-elusive-woman-lucy-
2022-09-06   2022-09-07 worsley.html                                 Of Course Her Life Is a Bit of a Mystery       By Molly Young          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/books/r Ronald J Glasser 83 Unflinching Writer On
2022-09-06   2022-09-07 onald-glasser-dead.html                      Anguish of Vietnam Wars Wounded                By Sam Roberts          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/busines How China Manipulates Volume of MeToo By Alexandra Stevenson and Zixu
2022-09-06   2022-09-07 s/china-women-metoo.html                     Talk                                           Wang                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/busines Rule Would Hold Chains Liable for Franchise
2022-09-06   2022-09-07 s/economy/nlrb-labor-law-fast-food.html      Sins                                           By Noam Scheiber        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/busines Trump Media Deal in Limbo As Investor
2022-09-06   2022-09-07 s/trump-media-merger.html                    Vote Is Extended                               By Matthew Goldstein    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/dining/ Taking Time for Breakfast With My
2022-09-06   2022-09-07 breakfast-with-grandma.html                  Grandmother                                    By Tanya Sichynsky      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/dining/
                        henry-orr-culinary-historians-of-new-        To Listen History Through the Lens Of a
2022-09-06   2022-09-07 york.html                                    Black Caterers Life                            By Florence Fabricant   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/dining/l To Indulge Enjoy a Tea Service Delivered by
2022-09-06   2022-09-07 ady-wong-singapura-tea-service.html          a Trolley                                      By Florence Fabricant   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/dining/
2022-09-06   2022-09-07 new-wave-tasting-menus-fine-dining.html      Tasting Menus With Fewer Pretensions           By Brett Anderson       TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/06/dining/r
2022-09-06   2022-09-07 estaurant-review-nabilas-lebanese-food.html Finally an Invitation to Lebanese Delights  By Pete Wells               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/dining/r
                        osemarys-pantry-stuyvesant-town-peter-      To Shop Rosemarys Expands With a Pantry
2022-09-06   2022-09-07 cooper-village.html                         Market                                      By Florence Fabricant       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/dining/r To Learn A Free Course Offers Tips For Rosh
2022-09-06   2022-09-07 osh-hashana-food-woodspoon.html             Hashana Meals                               By Florence Fabricant       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/dining/ To Cook Irish Recipes Are a Guide To Soups
2022-09-06   2022-09-07 soup-broth-bread-rachel-allen.html          for All Seasons                             By Florence Fabricant       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/health/j Juul Will Settle For 438 Million On Youth
2022-09-06   2022-09-07 uul-settlement-vaping-crisis.html           Vaping                                      By Christina Jewett         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/nyregio Pressure On to Stop Asking Aspiring Lawyers
2022-09-06   2022-09-07 n/criminal-record-new-york-bar.html         About LongAgo Crimes                        By Troy Closson             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/opinion
2022-09-06   2022-09-07 /biden-speech-maga-republicans.html         With Malice Toward Quite a Few              By Bret Stephens            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/opinion How I Want the World to Remember
2022-09-06   2022-09-07 /gorbachev-russia.html                      Gorbachev                                   By James A Baker III        TX 9-213-471   2022-11-01




                                                                                Page 4211 of 5793
                        https://www.nytimes.com/2022/09/06/opinion
2022-09-06   2022-09-07 /truss-uk-prime-minister.html               Liz Truss Remains in Thrall to the Empire  By Kojo Koram                    TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/sports/s
                        occer/kylian-mbappe-champions-league-
2022-09-06   2022-09-07 psg.html                                    Kylian Mbapp Is Coming for It All          By Tariq Panja                   TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/sports/s
                        occer/sacramento-republic-us-open-cup-
2022-09-06   2022-09-07 final.html                                  Small Club Big Game for Sacramento         By Victor Mather                 TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/sports/t
2022-09-06   2022-09-07 ennis/us-open-balls.html                    For Some Ball Bounce Isnt Going Their Way By Matthew Futterman              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/technol Chinas Tangled Role in iPhone Keeps Apple
2022-09-06   2022-09-07 ogy/china-apple-iphone.html                 From Straying Far                          By Tripp Mickle                  TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/technol
                        ogy/signal-the-encrypted-messaging-app-     Signal Taps New Leader For Strategy On the
2022-09-06   2022-09-07 appoints-a-president.html                   App                                        By Kate Conger                   TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/theater/
2022-09-06   2022-09-07 josh-groban-sweeney-todd-broadway.html      Josh Groban Returns to Broadway            By Michael Paulson               TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/06/us/calif With Power Grid in Peril California Is So Hot By Shawn Hubler Kellen Browning
2022-09-06   2022-09-07 ornia-heat-wave-energy-crisis.html          You Can Taste It                              Ivan Penn and Jill Cowan        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/us/fake- Video Raises Concerns About Election Data By Richard Fausset and Sean
2022-09-06   2022-09-07 electors-video-georgia-trump.html           Breach in Georgia County                      Keenan                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/us/fat- Mogul Facing 25Year Term Sheds Anklet To
2022-09-06   2022-09-07 leonard-escape.html                         Flee Arrest                                   By Michael Levenson             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/us/jack Water Pressure Is Restored at Last in
2022-09-06   2022-09-07 son-mississippi-water-pressure.html         Mississippi Capital                           By Eliza Fawcett                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/us/polit                                               By Luke Broadwater and Alan
2022-09-06   2022-09-07 ics/jan-6-griffin-insurrection.html         Judge Removes Official for Insurrection       Feuer                           TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/06/us/polit
2022-09-06   2022-09-07 ics/midterms-elections-threats-security.html Around US Voting Offices Raise Security  By Neil Vigdor                    TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/us/polit Behind the Who What and Why of a
2022-09-06   2022-09-07 ics/special-master-trump-cannon.html         CourtAppointed Special Master            By Charlie Savage                 TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/us/polit Adverse Era For Military PostTrump Letter
2022-09-06   2022-09-07 ics/trump-military-letter.html               Warns                                    By Helene Cooper                  TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/us/puge
2022-09-06   2022-09-07 t-sound-plane-crash-victims.html             10 Identified In Fatal Crash Of Seaplane By Christine Chung                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/us/texa Texas Quietly Toughens Police Guidance on
2022-09-06   2022-09-07 s-mass-shootings.html                        School Shootings                         By J David Goodman                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/us/uval Back to School in Uvalde Frayed Nerves and By Edgar Sandoval and Tamir
2022-09-06   2022-09-07 de-back-to-school.html                       8Foot Fences                             Kalifa                            TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/world/a Burkina Faso Hit by Bomb That Kills 35 In
2022-09-06   2022-09-07 frica/attack-burkina-faso.html               a Convoy                                 By Elian Peltier                  TX 9-213-471     2022-11-01




                                                                               Page 4212 of 5793
                                                                   In the Silicon Valley of India Monsoon
                        https://www.nytimes.com/2022/09/06/world/a Flooding Leaves People Riding Tractors to By Sameer Yasir and Emily
2022-09-06   2022-09-07 sia/india-bangalore-floods.html            Work                                      Schmall                           TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/world/a South Korea Exhales After Typhoon Makes a
2022-09-06   2022-09-07 sia/korea-typhoon-hinnamnor.html           Quick Exit                                By John Yoon                      TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/06/world/c Tensions Rise in Canada As Fugitive Eludes   By Ian Austen Vjosa Isai and
2022-09-06   2022-09-07 anada/canada-stabbing-suspect-manhunt.html Police                                       Yonette Joseph                 TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/06/world/e Amid Crisis Germany Turns Down Heat but
2022-09-06   2022-09-07 urope/germany-autobahn-speed-limits.html Wont Limit Autobahn Speeds                     By Christopher F Schuetze      TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/world/e A War Out of Sight and for Many Out of       By Valerie Hopkins and Nanna
2022-09-06   2022-09-07 urope/moscow-war-ukraine-mood.html         Mind                                         Heitmann                       TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/06/world/e A Scottish Region Appointed the First Period
2022-09-06   2022-09-07 urope/scotland-free-period-products.html    Dignity Officer Then It Had to Let Him Go By Emma Bubola                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/world/e Plea From UN To End Shelling At Nuclear      By Eric Nagourney and Matthew
2022-09-06   2022-09-07 urope/ukraine-war-nuclear-reactor.html      Site                                        Mpoke Bigg                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/world/li                                             By Mark Landler and Stephen
2022-09-06   2022-09-07 z-truss-uk-prime-minister-cabinet.html      Truss Takes the Helm Of a Britain in Crisis Castle                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/world/
                        middleeast/israel-morocco-envoy-            Allegations of Misconduct Test New Ties     By Aida Alami and Patrick
2022-09-06   2022-09-07 misconduct.html                             Between Israel and Morocco                  Kingsley                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/nyregio Democrats Dodge 3rdParty Challenge in New By Dana Rubinstein and Nicholas
2022-09-07   2022-09-07 n/yuh-line-niou-goldman.html                York Race                                   Fandos                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/sports/t
2022-09-07   2022-09-07 ennis/gauff-garcia-us-open.html             Gauff Is Knocked Out In Quarterfinals Match By Christopher Clarey            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/us/polit
                        ics/maura-healey-massachusetts-             Nominee for Governor Of Massachusetts
2022-09-07   2022-09-07 governor.html                               Would Make History                          By Katie Glueck and Maggie Astor TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/busines
                        s/energy-environment/clean-energy-climate-
2022-09-07   2022-09-07 bill.html                                   Climate Bill Accelerates Green Plans        By Jack Ewing and Ivan Penn      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/sports/f
                        ootball/nfl-week-1-seahawks-broncos-        Quarterbacks Seek Revenge or Maybe Just a
2022-09-07   2022-09-07 ravens.html                                 Place to Start Over                         By Mike Tanier                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/sports/t Tiafoes Fan Club Spans Sports and
2022-09-07   2022-09-07 ennis/frances-tiafoe-us-open.html           Continents                                  By David Waldstein               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/world/e
                        urope/how-will-ukraine-rebuild-and-who-     Allies Begin Making Plans To Help Out
2022-09-07   2022-09-07 should-pay.html                             After the War                               By Steven Erlanger               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/world/ An Unexpected Vintage Grows in Israels
2022-09-07   2022-09-07 middleeast/israel-negev-desert-wine.html    Negev Desert                                By Isabel Kershner               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/busines Facing Shortages Food Giants Tinker With
2022-08-31   2022-09-08 s/totinos-pizza-rolls-ingredients.html      Ingredients                                 By Julie Creswell                TX 9-213-471   2022-11-01



                                                                               Page 4213 of 5793
                        https://www.nytimes.com/2022/09/05/opinion
                        /nebraska-high-school-newspaper-
2022-09-05   2022-09-08 shutdown.html                               Free the Student Press                     By Margaret Renkl                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/05/sports/t At 63 McEnroe Looms Over the Court Get
2022-09-05   2022-09-08 ennis/john-mcenroe-us-open.html             Used to It                                 By Matthew Futterman             TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/06/arts/mu Seoul Philharmonic Is the Next Post for Jaap
2022-09-06   2022-09-08 sic/jaap-van-zweden-seoul-philharmonic.html van Zweden                                  By Javier C Hernndez            TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/arts/tele
                        vision/netflix-queens-gambit-nona-
2022-09-06   2022-09-08 gaprindashvili.html                          Decisive Move in Queens Gambit Lawsuit     By Matt Stevens                 TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/06/opinion Lea Michele and the Question of Second
2022-09-06   2022-09-08 /lea-michele-funny-girl-second-chances.html Chances                                      By Jessica Bennett               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/style/ch
2022-09-06   2022-09-08 ristine-baranski-the-good-fight.html        At 70 She Gets a Love Triangle               By Maureen Dowd                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/arts/des
2022-09-07   2022-09-08 ign/calder-gardens-philadelphia.html        A Place to Simply Hang With Calder           By Ted Loos                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/arts/des
                        ign/michelle-obama-portrait-white-house-    Portrait Artist Didnt Expect To Keep Secret
2022-09-07   2022-09-08 susan-sprung.html                           for So Long                                  By Will Heinrich                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/arts/mu
2022-09-07   2022-09-08 sic/hobart-earle-odesa-philharmonic.html    A Music Director In a Time of War            By Zachary Woolfe                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/arts/mu
2022-09-07   2022-09-08 sic/the-mars-volta.html                     Returning With a Swerve                      By Jon Pareles                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/arts/oba Official Obama Portraits Are Unveiled at the
2022-09-07   2022-09-08 ma-portraits-white-house.html               White House                                  By Robin Pogrebin                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/busines Feds Vice Chair Signals More Rate Increases
2022-09-07   2022-09-08 s/fed-interest-rates-inflation.html         Ahead                                        By Jim Tankersley                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/busines EU Weighs In On Merger Plan Outside
2022-09-07   2022-09-08 s/illumina-grail-antitrust.html             Europe                                       By Ephrat Livni                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/busines Top Economies Wary Of Global Recession
2022-09-07   2022-09-08 s/india-economy.html                        No One Told India                            By Mujib Mashal and Suhasini Raj TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/busines Anne Garrels 71 Dies NPR Correspondent
2022-09-07   2022-09-08 s/media/anne-garrels-dead.html              Who Took Every Risk                          By Katharine Q Seelye            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/busines                                               By Benjamin Mullin Lauren Hirsch
2022-09-07   2022-09-08 s/media/vice-saudi-arabia.html              Vice Media Weighs Deal With Saudis           and Ben Hubbard                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/climate Scientists Use HighTech Tools to Save a       By Raymond Zhong and Andri
2022-09-07   2022-09-08 /california-wildfire-prescribed-burn.html   Forest by Burning It                         Tambunan                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/fashion
2022-09-07   2022-09-08 /grail-watches-wei-koh-singapore.html       Elevating limited editions                   By Milena Lazazzera              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/fashion
2022-09-07   2022-09-08 /luxury-watch-repairs-london.html           Servicing highend time                       By Felicia Craddock              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/fashion
2022-09-07   2022-09-08 /watches-a-lange-and-sohne.html             A watch with a cause                         By Rachel Felder                 TX 9-213-471   2022-11-01



                                                                                Page 4214 of 5793
                        https://www.nytimes.com/2022/09/07/fashion At 11 already making a name for herself in
2022-09-07   2022-09-08 /watches-amandine-geneva.html              watches                                      By Vivian Morelli              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/07/fashion
2022-09-07   2022-09-08 /watches-bulova-american-girl.html         A star is reborn                             By Kathleen Beckett            TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/07/fashion
2022-09-07   2022-09-08 /watches-cartier-the-dakar-race.html       A desertthemed prize                         By Ming Liu                    TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/07/fashion
2022-09-07   2022-09-08 /watches-free-workshops-geneva.html        Learn how a watch works                      By Kathleen Beckett            TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/07/fashion
2022-09-07   2022-09-08 /watches-gemstones-rolex.html              More than a status symbol                    By Anders Modig                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/07/fashion
2022-09-07   2022-09-08 /watches-havid-nagan-los-angeles.html      From here to eternity                        By David Belcher               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/07/fashion
2022-09-07   2022-09-08 /watches-outlook-2023.html                 Winding down has people nervous              By Victoria Gomelsky           TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/07/fashion
2022-09-07   2022-09-08 /watches-piaget-richemont.html             Encouraging extrelegance                     By Robin Swithinbank           TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/07/fashion
2022-09-07   2022-09-08 /watches-soviet-era-collection.html        A history lesson on the wrist                By Daisann McLane              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/07/movies/
                        academy-museum-black-cinema-               Hollywood Leaves Out Blunt Truths on
2022-09-07   2022-09-08 exhibition.html                            Racism                                       By Manohla Dargis              TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/07/movies/ Sundance Film Festival Names Its Next
2022-09-07   2022-09-08 sundance-film-festival-eugene-hernandez.html Director                                   By Nicole Sperling               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/nyregio Brooklyn DA Seeks to Toss Tainted            By Rebecca Davis OBrien and Troy
2022-09-07   2022-09-08 n/brooklyn-prosecutors-convictions.html      Convictions                                Closson                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/nyregio New York Governor Scraps Mask Mandate
2022-09-07   2022-09-08 n/kathy-hochul-mask-mandate-mta.html         for Transit                                By Ana Ley and Luis FerrSadurn TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/07/nyregio Rushdie DA Seeks Delay Over Mound Of
2022-09-07   2022-09-08 n/salman-rushdie-stabbing.html               Evidence                                   By Dan Higgins                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/nyregio SexCult Leaders Trusted Lieutenant Pleads
2022-09-07   2022-09-08 n/sarah-lawrence-cult-isabella-pollok.html   Guilty to Conspiring to Launder Money      By Colin Moynihan                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/nyregio Despite Trump Pardon Bannon Is Facing        By Rebecca Davis OBrien and
2022-09-07   2022-09-08 n/steve-bannon-nyc-charges.html              Charges                                    Jonah E Bromwich                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/opinion
2022-09-07   2022-09-08 /colombia-drug-war-us.html                   The War on Drugs Abroad Has Been a Failure By Christy Thornton              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/opinion Do You Think Your Newfound Popularity
2022-09-07   2022-09-08 /midterms-senate-democrats.html              Has Something to Do With Politics          By Gail Collins                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/sports/b
2022-09-07   2022-09-08 aseball/mets-yankees-division-races.html     Expanded Postseason Cant Dull Stretch Run By Benjamin Hoffman               TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/07/sports/b Built for This Moment A Historic
2022-09-07   2022-09-08 asketball/aces-storm-wnba-chelsea-gray.html Performance Keeps the Aces Rolling          By Kris Rhim                   TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/07/sports/b Four Championships and One Encore Later
2022-09-07   2022-09-08 asketball/sue-bird-retirement.html          Bird Calls It a Career                      By Shauntel Lowe               TX 9-213-471     2022-11-01



                                                                                Page 4215 of 5793
                                                                                                                  By Ken Belson Joe Drape Jesus
                        https://www.nytimes.com/2022/09/07/sports/f                                               Jimnez Emmanuel Morgan Kris
2022-09-07   2022-09-08 ootball/nfl-season-teams.html               From Aaron Rodgers To Zach Wilson             Rhim and Jenny Vrentas          TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/sports/g
                        olf/bmw-pga-championship-liv-golf-pga-tour-
2022-09-07   2022-09-08 sponsors.html                               When money sponsors and rivals meet           By Paul Sullivan                TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/sports/g
                        olf/matt-fitzpatrick-bmw-pga-
2022-09-07   2022-09-08 championship.html                           Life after a major win                        By Michael Arkush               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/sports/g
2022-09-07   2022-09-08 olf/players-bmw-pga-championship.html       Who will win the BMW PGA Championship         By Michael Arkush               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/sports/s Chelsea Let Go of Its Manager Can It Do the
2022-09-07   2022-09-08 occer/chelsea-fires-thomas-tuchel.html      Same With Its Past                            By Rory Smith                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/sports/t
                        ennis/kyrgios-khachanov-us-open-            After Kyrgioss Triumph a FiveSet Loss
2022-09-07   2022-09-08 quarterfinals.html                          Leaves His Heart and Rackets Broken           By Matthew Futterman            TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/sports/t Tiafoe as Ripped as His Forehands Muscles
2022-09-07   2022-09-08 ennis/tiafoe-rublev-us-open.html            Into the Semifinals                           By Matthew Futterman            TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/style/fe
2022-09-07   2022-09-08 male-sneaker-designers-wnba.html            If Her Sneaker Fits Play the Game in It       By Elena Bergeron               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/style/w
2022-09-07   2022-09-08 hat-to-know-fashion-week-2022.html          Fashion Week Is Back for Real or Unreal       By Vanessa Friedman             TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/technol Apple Rolls Sleeves Up To Display
2022-09-07   2022-09-08 ogy/apple-new-iphone-watch.html             Ambitions                                     By Tripp Mickle and Brian X Chen TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/07/technol Judge Allows Musk to Include WhistleBlower
2022-09-07   2022-09-08 ogy/musk-twitter-whistle-blower.html        Claims in Case Against Twitter               By Kate Conger                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/technol Defense Argues ExExecutive Is Scapegoat In
2022-09-07   2022-09-08 ogy/uber-security-chief-trial.html          Uber Breach                                  By Cade Metz                     TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/theater/
                        jefferson-mays-christmas-carol-
2022-09-07   2022-09-08 broadway.html                               A New Christmas Carol One Actor 50 Roles By Michael Paulson                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/us/head-Masks Remain at Head Start Despite CDC
2022-09-07   2022-09-08 start-masks-toddlers.html                   Guidance                                     By Dana Goldstein                TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/us/polit Ruling by Texas Judge Could Threaten
2022-09-07   2022-09-08 ics/aca-preventive-care-texas.html          Access To Free Preventive Care               By Sheryl Gay Stolberg           TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/us/polit Special Master Ruling Lifts Profile of Judge By Patricia Mazzei Maggie
2022-09-07   2022-09-08 ics/aileen-cannon-judge-trump.html          and Raises Legal Eyebrows                    Haberman and Alan Feuer          TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/us/polit Senators Press Biden on Tracking US Aid
2022-09-07   2022-09-08 ics/biden-aid-yemen-saudi-arabia.html       Tied to Harming Civilians in Yemen           By Catie Edmondson               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/us/polit Biden Tries to Condemn Trumpism Without
2022-09-07   2022-09-08 ics/biden-republicans.html                  Writing Off GOP                              By Michael D Shear               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/07/us/polit                                              By Adam Goldman and Maggie
2022-09-07   2022-09-08 ics/fbi-trump-aide-william-russell.html     FBI Sought To Interview Aide to Trump        Haberman                         TX 9-213-471    2022-11-01




                                                                                Page 4216 of 5793
                        https://www.nytimes.com/2022/09/07/us/polit Food Insecurity Falls for Families With
2022-09-07   2022-09-08 ics/food-insecurity-families.html           Children                                       By Linda Qiu                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/us/polit Democrats Worry as Abrams Struggles in
2022-09-07   2022-09-08 ics/stacey-abrams-georgia-governor.html     Georgia Governors Race                         By Maya King and Reid J Epstein TX 9-213-471       2022-11-01
                        https://www.nytimes.com/2022/09/07/us/polit A LongShot Attempt Would Bar Trump in          By Luke Broadwater and Michael S
2022-09-07   2022-09-08 ics/trump-election-insurrection.html        2024 as an Insurrectionist                     Schmidt                          TX 9-213-471      2022-11-01

                        https://www.nytimes.com/2022/09/07/us/sout South Carolina Judge Declares Firing Squad
2022-09-07   2022-09-08 h-carolina-unconstitutional-executions.html and Electric Chair Cruel and Unusual            By Daniel Victor                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/us/voter For Voter Fraud A Few Go to Jail As Others
2022-09-07   2022-09-08 fraud-penalties.html                        Dont                                            By Michael Wines                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/world/a
2022-09-07   2022-09-08 mericas/bolsonaro-brazil-bicentennial.html  Bicentennial Festivities Belie a Divided Brazil By Jack Nicas                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/world/a
2022-09-07   2022-09-08 sia/china-communist-cadre-fashion.html      Young Chinese Try On Communist Dad Look By Joy Dong                                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/world/a
2022-09-07   2022-09-08 sia/china-covid-lockdown.html               Zero Covid Pursuit Backs China Into a Corner By Vivian Wang                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/world/c
                        anada/saskatchewan-canada-stabbings-        2nd Suspect in Saskatchewan Killings Is         By Ian Austen Vjosa Isai and Dan
2022-09-07   2022-09-08 victims.html                                Captured                                        Bilefsky                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/world/e
2022-09-07   2022-09-08 urope/eu-russia-gas-price-cap.html          Plan to Cap Price of Gas From Russia            By Matina StevisGridneff           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/world/e                                                  By Melissa Eddy Erika Solomon
2022-09-07   2022-09-08 urope/eu-russia-putin-gas.html              EU Confident It Can Escape Energy Crisis        and Anton Troianovski              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/world/e France Expels Imam Accused of Hate Speech
2022-09-07   2022-09-08 urope/france-imam-hate-speech.html          Reviving a Thorny Debate                        By Constant Mheut                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/world/e We Have Not Lost Anything Putin Says             By Ivan Nechepurenko and Anton
2022-09-07   2022-09-08 urope/russia-ukraine-putin.html             Hailing Ties With China                         Troianovski                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/world/e UK Cabinet Is Diverse But Ideologically          By Stephen Castle and Mark
2022-09-07   2022-09-08 urope/uk-liz-truss-cabinet.html             Unified                                         Landler                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/world/e
                        urope/uk-truss-blackpool-conservative-      Struggling Seaside Town Shows Challenges
2022-09-07   2022-09-08 party.html                                  Facing Truss                                    By Megan Specia                    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/07/world/ 7 Arab States Order Netflix To Remove Gay
2022-09-07   2022-09-08 middleeast/egypt-arab-gulf-states-netflix.html Content                                  By Vivian Yee                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/crossw
2022-09-08   2022-09-08 ords/daily-puzzle-2022-09-08.html              To Start Wordle Players Say Farewell     By Deb Amlen                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/theater/
2022-09-08   2022-09-08 kate-review.html                               Makes Her Want to Cry But She Cant       By Alexis Soloski                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/us/polit
2022-09-08   2022-09-08 ics/garland-trump-special-master.html          US Weighing Risk of Appeal In Trump Case By Glenn Thrush and Alan Feuer         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/sports/t After Wimbledon Ban Time to Shine for Stars
2022-09-08   2022-09-08 ennis/us-open-russia-ukraine.html              Of Russia and Belarus                    By Christopher Clarey                  TX 9-213-471   2022-11-01




                                                                                  Page 4217 of 5793
                        https://www.nytimes.com/2022/09/08/style/bl More Than a Store Creating Theater And
2022-09-08   2022-09-08 oomingdales-150-years.html                  Excitement                                By Ruth La Ferla and Guy Trebay      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/style/ol
                        aplex-hair-everybody-has-a-hair-
2022-09-08   2022-09-08 complaint.html                              Just About Everybody Has a Hair Complaint By Courtney Rubin                    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/08/us/polit
2022-09-08   2022-09-08 ics/republican-house-majority-midterms.html GOP Field With Little Interest in Compromise By Jonathan Weisman               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/arts/cha Charlie Finch 69 Dies Reviewer Who
2022-09-03   2022-09-09 rlie-finch-dead.html                        Skewered New York Citys Artists              By Neil Genzlinger                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/nyregio Stanley Turkel 96 Consultant Manager and
2022-09-03   2022-09-09 n/stanley-turkel-dead.html                  AwardWinning Historian of Hotels             By Sam Roberts                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/movies/
2022-09-06   2022-09-09 a-kaddish-for-bernie-madoff-review.html     A Kaddish for Bernie Madoff                  By Elisabeth Vincentelli          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/movies/
2022-09-06   2022-09-09 we-are-as-gods-review.html                  We Are as Gods                               By Calum Marsh                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/movies/
2022-09-07   2022-09-09 this-land-review.html                       This Land                                    By Claire Shaffer                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/opinion Michigan Has Resisted Political Extremism
2022-09-07   2022-09-09 /michigan-right-wing-extremism.html         Against All Odds                             By Barbara McQuade                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/sports/d Don Gehrmann 94 American Runner Whose
2022-09-07   2022-09-09 on-gehrmann-dead.html                       Victory in a Mile Took 314 Days              By Frank Litsky                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/arts/des Armory Show Is Ample and International       By Siddhartha Mitter and Will
2022-09-08   2022-09-09 ign/13-best-booths-art-armory-fair.html     Again                                        Heinrich                          TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/08/arts/des
2022-09-08   2022-09-09 ign/art-fairs-paper-clio-spring-manhattan.html Satellite Fairs That Shine Bright         By Rachel Sherman                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/arts/des
2022-09-08   2022-09-09 ign/independent-art-fair.html                  Surprises at Independent 20th Century     By Will Heinrich                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/arts/des
2022-09-08   2022-09-09 ign/moma-wolfgang-tillmans-review.html         A Party That Faded Early                  By Jason Farago                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/arts/mu
2022-09-08   2022-09-09 sic/michael-sypres-tenor.html                  A Voice Engulfs an Intimate Room          By Joshua Barone                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/arts/tele
2022-09-08   2022-09-09 vision/tiny-chef-serpent-queen.html            This Weekend I Have                       By Margaret Lyons                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/busines
                        s/cococomelon-video-game-is-a-first-for-fast- Popular Toddler TV Show Expands to Video
2022-09-08   2022-09-09 growing-moonbug.html                           Games                                     By Brooks Barnes                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/busines Central bank warns of a slowdown as it raises
2022-09-08   2022-09-09 s/ecb-interest-rates.html                      rates sharply to combat inflation         By Eshe Nelson and Melissa Eddy   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/busines
                        s/economy/janet-yellen-midterms-               Yellen Takes Economic Victory Lap Before
2022-09-08   2022-09-09 economy.html                                   Midterms                                  By Alan Rappeport                 TX 9-213-471   2022-11-01




                                                                                 Page 4218 of 5793
                        https://www.nytimes.com/2022/09/08/busines
                        s/economy/russia-ukraine-global-           Global Economic Shock Waves Pose the
2022-09-08   2022-09-09 economy.html                               Gravest Risk to Europe                       By Patricia Cohen         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/busines European Countries Brace For a Winter of
2022-09-08   2022-09-09 s/energy-regulation-europe-britain.html    Discontent                                   By Stanley Reed           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/busines
2022-09-08   2022-09-09 s/ey-ernst-young-split.html                EY Will Split Its Advising From Audits       By Matthew Goldstein      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/busines Bernard Shaw 82 CNNs PrimeTime Anchor
2022-09-08   2022-09-09 s/media/bernard-shaw-dead.html             for 20 Years Is Dead                         By Richard Sandomir       TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/08/busines Powell Signals Rising Rates Will Stay to
2022-09-08   2022-09-09 s/powell-federal-reserve-interest-rates.html Fight Inflation                             By Jim Tankersley        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/busines
2022-09-08   2022-09-09 s/soho-china-entrepreneurs.html              Fall From Grace for Chinas Entrepreneurs    By Keith Bradsher        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/busines
2022-09-08   2022-09-09 s/tornado-cash-treasury-sued.html            Crypto Group Sues Treasury For Blacklisting By David YaffeBellany    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/busines Vote on Trump Media Merger Is Delayed
2022-09-08   2022-09-09 s/trump-spac-merger.html                     Again                                       By Matthew Goldstein     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/climate Warming Found Likely to Set off Tipping
2022-09-08   2022-09-09 /global-warming-climate-tipping-point.html Points                                        By Henry Fountain        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/health/
2022-09-08   2022-09-09 wrinkle-drug-botox-daxxify-fda.html          Drug to Treat Face Wrinkles Gets Approval By Christina Jewett        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/movies/
2022-09-08   2022-09-09 barbarian-review.html                        Barbarian                                   By Beatrice Loayza       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/movies/ More Heart Than Snark As Jersey Guys Get
2022-09-08   2022-09-09 clerks-iii-review.html                       Meta                                        By Glenn Kenny           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/movies/
2022-09-08   2022-09-09 dos-estaciones-review.html                   A Tequila Factory Fails in Silence          By Manohla Dargis        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/movies/
2022-09-08   2022-09-09 end-of-the-road-review.html                  End of the Road                             By Natalia Winkelman     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/movies/
2022-09-08   2022-09-09 hold-me-tight-review.html                    An tude Played In the Key of Grief          By AO Scott              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/movies/
2022-09-08   2022-09-09 medieval-review-flaying-alive.html           Medieval                                    By Jeannette Catsoulis   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/movies/
2022-09-08   2022-09-09 pinocchio-review.html                        This Old Tall Tale Gets Told Yet Again      By Amy Nicholson         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/movies/
2022-09-08   2022-09-09 speak-no-evil-review.html                    Time With Impolite Company                  By Jeannette Catsoulis   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/movies/
2022-09-08   2022-09-09 the-anthrax-attacks-review.html              The Anthrax Attacks                         By Ben Kenigsberg        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/movies/
2022-09-08   2022-09-09 the-bengali-review.html                      The Bengali                                 By Beandrea July         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/movies/
                        the-story-of-film-a-new-generation-
2022-09-08   2022-09-09 review.html                                  The Story of Film A New Generation          By Ben Kenigsberg        TX 9-213-471   2022-11-01



                                                                                Page 4219 of 5793
                        https://www.nytimes.com/2022/09/08/movies/
2022-09-08   2022-09-09 true-things-review.html                    True Things                                    By Nicolas Rapold                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/nyregio Across the Atlantic Mourning a Fixture of      By Nicholas Fandos and Liam
2022-09-08   2022-09-09 n/america-queen-elizabeth.html             Life                                           Stack                             TX 9-213-471   2022-11-01
                                                                                                                  By Chelsia Rose Marcius Jonah E
                        https://www.nytimes.com/2022/09/08/nyregio Bannon Surrenders to Face New York             Bromwich and Rebecca Davis
2022-09-08   2022-09-09 n/bannon-indictment-new-york.html              Indictment in Wall Fraud Case              OBrien                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/nyregio Trump Pushed Officials to Prosecute His
2022-09-08   2022-09-09 n/geoffrey-berman-trump-book.html              Critics ExUS Attorney Says               By Benjamin Weiser                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/nyregio
                        n/homeless-shelter-officer-is-suspended-after- Homeless Shelter Officer Suspended After
2022-09-08   2022-09-09 hitting-a-resident.html                        Hitting a Recently Arrived Migrant       By Andy Newman                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/nyregio New York Schools Reopen With Focus on
2022-09-08   2022-09-09 n/nyc-back-to-school.html                      Pandemic Recovery                        By Lola Fadulu and Troy Closson     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/nyregio Saudi Golf Event Spurs Push to Void Trumps By Emma G Fitzsimmons Alan
2022-09-08   2022-09-09 n/trump-golf-saudi-adams.html                  Contract                                 Blinder and Maggie Haberman         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/opinion
2022-09-08   2022-09-09 /europe-russia-energy.html                     Wartime Economics Comes to Europe        By Paul Krugman                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/opinion The Immortal Awfulness of Open Plan
2022-09-08   2022-09-09 /open-plan-office-awful.html                   Workplaces                               By David Brooks                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/opinion A Woman Who Embodied the Myth of the
2022-09-08   2022-09-09 /queen-elizabeth-dead.html                     Good Monarch                             By Serge Schmemann                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/science Mutation in Brain Separated Human
2022-09-08   2022-09-09 /human-brain-neanderthal-gene.html             Ancestors From Neanderthals              By Carl Zimmer                      TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/08/science NASA Plans Launch Date To the Moon This
2022-09-08   2022-09-09 /space/nasa-launch-artemis-september.html Month                                           By Kenneth Chang                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/sports/d To Oldest to Join Halls of Fame Immortality
2022-09-08   2022-09-09 el-harris-hall-of-fame.html                 Delayed Is Still Immortality                  By Pete Croatto                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/sports/t Into the Wee Hours Two Prodigies From
2022-09-08   2022-09-09 ennis/alcarez-sinner-tiafoe-us-open.html    Europe Waged an Epic Battle                   By Christopher Clarey             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/sports/t Possible Answer to a Question Asked of
2022-09-08   2022-09-09 ennis/frances-tiafoe-black-tennis.html      Every Generation Since Ashe                   By Kurt Streeter                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/sports/t Where Tiafoe Learned The Game and Slept
2022-09-08   2022-09-09 ennis/tiafoe-us-open-maryland-jtcc.html     And Still Comes Back                          By Jesus Jimnez                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/sports/t Leave the Tough Calls To the Chair Umpire
2022-09-08   2022-09-09 ennis/us-open-kader-nouni-umpire.html       With the Velvet Voice                         By Jesus Jimnez                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/technol
                        ogy/personaltech/smartphone-lasts-
2022-09-08   2022-09-09 decade.html                                 A Phone Lasting a Decade Its Possible         By Brian X Chen                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/theater/
2022-09-08   2022-09-09 city-center-michael-rosenberg.html          Regional Theater Vet to Lead City Center      By Michael Paulson                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/theater/
2022-09-08   2022-09-09 lillias-white-hadestown.html                A Distinct Voice for Hadestown                By Sarah Bahr                     TX 9-213-471   2022-11-01




                                                                                Page 4220 of 5793
                        https://www.nytimes.com/2022/09/08/us/elect
                        ions/orange-county-asian-american-          In California Asian American Candidates Vie
2022-09-08   2022-09-09 voters.html                                 for Critical Voting Bloc                    By Stephanie Lai                TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/08/us/las- Las Vegas Official Subject of Reporters      By Nicholas BogelBurroughs and
2022-09-08   2022-09-09 vegas-reporter-german-telles-dna.html       Articles Arrested in Killing                Mike Baker                      TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/08/us/mem Memphis on Edge as Spate of Violence Adds By Laura Faith Kebede Rick Rojas
2022-09-08   2022-09-09 phis-shooting-gun-violence.html             to Long History                             and Cindy Wolff                 TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/08/us/mich Court Revives Referendum On Abortion In
2022-09-08   2022-09-09 igan-supreme-court-abortion.html            Michigan                                    By Mitch Smith and Julie Bosman TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/08/us/ober Oberlin Will Pay 36 Million To Bakery Over
2022-09-08   2022-09-09 lin-bakery-lawsuit.html                     Racism Claim                                By Anemona Hartocollis          TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/08/us/polit As Pennsylvania Senate Race Tightens Oz
2022-09-08   2022-09-09 ics/pennsylvania-senate-oz-fetterman.html   Sharpens Attacks on Fetterman               By Trip Gabriel                 TX 9-213-471      2022-11-01

                        https://www.nytimes.com/2022/09/08/us/polit US Presidents Relished Encounters With
2022-09-08   2022-09-09 ics/queen-presidents-history-biden-trump.html Monarch                                    By Peter Baker                    TX 9-213-471   2022-11-01
                                                                                                                 By Alan Feuer Maggie Haberman
                        https://www.nytimes.com/2022/09/08/us/polit Trump FundRaising After Loss Is              Adam Goldman and Kenneth P
2022-09-08   2022-09-09 ics/trump-save-america-pac-subpoenas.html Investigated by Justice Dept                   Vogel                             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/us/polit US Asks Florida Judge To Partly Lift Ruling By Glenn Thrush Alan Feuer and
2022-09-08   2022-09-09 ics/trump-special-master-doj.html           On Trump Documents                           Charlie Savage                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/world/a
2022-09-08   2022-09-09 sia/08philippines-duterte-drugs.html        Inquiry Into Drug War Of Duterte Is Rebuffed By Jason Gutierrez                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/world/a
2022-09-08   2022-09-09 sia/china-zero-covid-explainer.html         Chinas ZeroCovid Approach Explained          By Austin Ramzy                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/world/a Solomon Islands Prime Minister Gets Wish to
2022-09-08   2022-09-09 sia/solomon-islands-election-delay.html     Put Off Elections                            By Damien Cave                    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/08/world/c How the Deadly Saskatchewan Rampage            By Dan Bilefsky Ian Austen and
2022-09-08   2022-09-09 anada/canada-stabbings-saskatchewan.html Unfolded                                         Vjosa Isai                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/world/e Charles Long in the Wings Ascends a Throne
2022-09-08   2022-09-09 urope/charles-king-uk.html                 He Was Born To                                 By Mark Landler                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/world/e
                        urope/france-macron-national-council-for-  Macron Faces NoShows at Meeting Intended By Catherine Porter and Constant
2022-09-08   2022-09-09 reconstruction.html                        to Bring France Together                       Mheut                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/world/e Blinken in a Surprise Visit To Kyiv Pledges
2022-09-08   2022-09-09 urope/kyiv-blinken-ukraine-zelensky.html   More Aid                                       By Michael Crowley               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/world/e
                        urope/london-bridge-what-happens-next-     Planning the End of a Reign Began at the
2022-09-08   2022-09-09 queen.html                                 Start                                          By Megan Specia                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/world/e
2022-09-08   2022-09-09 urope/queen-elizabeth-dead.html            A Steady Hand for Seven Decades                By Alan Cowell                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/world/e
2022-09-08   2022-09-09 urope/queen-elizabeth-death-britain.html   The Sovereign and Spirit of Britain Dies at 96 By Mark Landler                  TX 9-213-471   2022-11-01




                                                                                Page 4221 of 5793
                        https://www.nytimes.com/2022/09/08/world/e In the Pubs and Plazas A Deep Feeling of        By Megan Specia Saskia Solomon
2022-09-08   2022-09-09 urope/queen-elizabeth-popular-opinion.html Loss                                            Emma Bubola and Isabella Kwai       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/world/e World Is Awash in Grief as Some Grievances
2022-09-08   2022-09-09 urope/queen-elizabeth-reaction.html          Are Aired                                     By Steven Erlanger                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/world/e Britains Prime Minister Lays Out a Sweeping
2022-09-08   2022-09-09 urope/uk-truss-energy.html                   Plan to Cap Energy Bills                      By Mark Landler and Eshe Nelson     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/world/ Iraq a Failed State Amid Factional Strife and By Jane Arraf and Emily
2022-09-08   2022-09-09 middleeast/iraq-failed-state-militias.html   Gridlock                                      Garthwaite                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/live/2022/09/08/bus
                        iness/ecb-meeting-inflation-interest-
2022-09-08   2022-09-09 rates/europe-natural-gas-prices              Gas Markets In Europe Settle Down             By Bernhard Warner                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/movies/
2022-09-09   2022-09-09 about-fate-review.html                       About Fate                                    By Lisa Kennedy                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/sports/o
                        lympics/usa-soviet-union-olympics-           The 72 Basketball Team Still Wants Gold
2022-09-09   2022-09-09 basketball.html                              Medals                                        By Scott Cacciola                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/sports/t
                        ennis/how-to-watch-tiafoe-alcaraz-us-open- Where Tiafoe Learned The Game and Slept
2022-09-09   2022-09-09 semifinal.html                               And Still Comes Back                          By Jesus Jimnez                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/11/10/insider/
2022-11-10   2022-09-09 writing-about-life-on-a-deadline.html        Writing About Life on a Deadline              By Emma Grillo                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/busines Lockdowns at Home and by Pyongyang Put a
2022-08-30   2022-09-10 s/china-shenyang-north-korea.html            Tourist City in a Vise                        By Vivian Wang                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/busines
                        s/energy-environment/winter-home-                                                          By Isabella Simonetti and Tristan
2022-09-06   2022-09-10 heating.html                                 Heating Aid For the Poor Will Be Less         Spinski                             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/opinion Debtors Unite You Have Nothing to Lose but
2022-09-06   2022-09-10 /biden-student-loan-debt-relief.html         Your Shame                                    By Astra Taylor                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/movies/
2022-09-07   2022-09-10 colin-farrell-the-banshees-of-inisherin.html This Jilted Friend Is Finding Many Fans       By Kyle Buchanan                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/movies/
                        horror-sosie-bacon-anna-diop-fedja-van-
2022-09-07   2022-09-10 huet.html                                    Some Fresh Faces In Scary Stories             By Kathryn Shattuck                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/
                        07/world/europe/eu-logging-wood-             Europe Is Sacrificing Its Ancient Forests for
2022-09-07   2022-09-10 pellets.html                                 Energy                                        By Sarah Hurtes and Weiyi Cai       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/arts/ons A Royal Enigma Gave Pop Culture A Blank
2022-09-08   2022-09-10 creen-queen-elizabeth-movies-tv.html         Canvas                                        By Sarah Lyall                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/books/b                                                 By The New York Times Books
2022-09-08   2022-09-10 ooks-queen-elizabeth-ii.html                 9 Books Detailing Elizabeth and Kin           Staff                               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/briefing How Covid Reduced Native Americans Life
2022-09-08   2022-09-10 /covid-death-toll-native-americans.html      Expectancy                                    By German Lopez and Ashley Wu       TX 9-213-471   2022-11-01




                                                                                  Page 4222 of 5793
                        https://www.nytimes.com/2022/09/08/busines Climate Change Could Add to Supply Chain By Ana Swanson and Keith
2022-09-08   2022-09-10 s/economy/climate-change-supply-chain.html Woes                                             Bradsher                    TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/08/sports/a
2022-09-08   2022-09-10 utoracing/f1-carlos-sainz-jr.html            He learned early to be the hunter not the prey By Ian Parkes               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/08/sports/a
2022-09-08   2022-09-10 utoracing/f1-ferrari-italian-grand-prix.html Stumbles dim Ferraris championship hopes       By Luke Smith               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/08/sports/a
2022-09-08   2022-09-10 utoracing/f1-reserve-drivers.html            Waiting for a better seat                      By Phillip Horton           TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/08/sports/a
2022-09-08   2022-09-10 utoracing/f1-valtteri-bottas-alfa-romeo.html Embracing a new role as team leader        By Ian Parkes                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/sports/f How a Coach Learned To Begin
2022-09-08   2022-09-10 ootball/german-football-coaching.html        Collaborating Instead of Confronting       By Charlie Scudder                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/us/torn In Seeking the Secrets of Tornadoes A
2022-09-08   2022-09-10 adoes-supercells-weather.html                Mixture of Art Science and Stalking        By Erinn Springer and Mitch Smith TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/arts/mu
2022-09-09   2022-09-10 sic/galileo-manuscript-forger.html           Forgery Mistresses and Manuscripts         By Michael Blanding               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/arts/mu
2022-09-09   2022-09-10 sic/issy-wood.html                           Art and Albums and Ups and Downs           By Joe Coscarelli                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/arts/tele An 80s Escort Returns This Time Even
2022-09-09   2022-09-10 vision/american-gigolo-review.html           Moodier                                    By Mike Hale                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/busines
2022-09-09   2022-09-10 s/china-covid-zero-xi-jinping.html           ZeroCovid Policy A Show for One            By Li Yuan                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/busines
2022-09-09   2022-09-10 s/dealbook/guns-sales-code-iso.html          A Card Code On Gun Buys Is Approved        By Andrew Ross Sorkin             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/busines Biden Administration Outlines IndoPacific
2022-09-09   2022-09-10 s/ipef-framework-asia-trade.html             Economic Framework                         By Ana Swanson                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/busines Joseph Hazelwood 75 Captain of Exxon Ship
2022-09-09   2022-09-10 s/joseph-hazelwood-dead.html                 That Spilled Oil Dies                      By Richard Goldstein              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/dining/
2022-09-09   2022-09-10 golf-communities-food-restaurants.html       The 19th hole goes gourmet                 By Debra Kamin                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/nyregio Emergency Is Declared Over Polio In New
2022-09-09   2022-09-10 n/new-york-polio-state-of-emergency.html     York                                       By Lola Fadulu                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/nyregio Sign of Arsenic in Manhattan Developments By Mihir Zaveri Anne Barnard and
2022-09-09   2022-09-10 n/nycha-riis-houses-arsenic-legionella.html Water Came From Test Error Lab Says         Nate Schweber                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/opinion
                        /how-to-address-the-child-therapist-
2022-09-09   2022-09-10 shortage.html                                A Fix for the Shortage of Child Therapists By Rebecca Bonanno                TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/09/opinion What I Saw While Trapped in Chinas Heat
2022-09-09   2022-09-10 /international-world/china-heat-climate.html Wave                                      By Matthew Bossons               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/09/opinion
2022-09-09   2022-09-10 /queen-public-grief.html                     The Royal Grief the Public Will Not See   By Patti Davis                   TX 9-213-471     2022-11-01




                                                                                Page 4223 of 5793
                        https://www.nytimes.com/2022/09/09/realesta
2022-09-09   2022-09-10 te/golf-clubs-alternative-activities.html   Beyond the front and back nine                 By Shivani Vora                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/realesta
2022-09-09   2022-09-10 te/golf-course-park-preserve-land.html      Closing a golf course Its complicated          By Mark Ellwood                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/realesta
                        te/luxury/-golf-homes-developer-what-do-
2022-09-09   2022-09-10 buyers-want.html                            Strategy that changes with the economy         By Michael Croley               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/realesta
2022-09-09   2022-09-10 te/luxury/golf-clubhouse-architecture.html  A round of golf and architecture               By Sam Lubell                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/realesta
2022-09-09   2022-09-10 te/luxury/greece-golf-homes.html            For golf and real estate buyers look to Greece By Shivani Vora                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/realesta
2022-09-09   2022-09-10 te/rwanda-golf-kigali-paul-kagame.html      In Rwanda an 18hole sign of growth             By Debra Kamin                  TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/realesta Meet the man with a plan for greener golf
2022-09-09   2022-09-10 te/sustainable-golf-homes.html              communities                                    By Shivani Vora                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/science Kurt Gottfried 93 Physicist and Foe of
2022-09-09   2022-09-10 /kurt-gottfried-dead.html                   Nuclear Weapons                                By Sam Roberts                  TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/sports/b Union Drive In the Minors Wins Assent Of
2022-09-09   2022-09-10 aseball/minor-league-union.html             Manfred                                        By James Wagner                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/sports/b MLB Bans Shift Adds Pitch Clock and
2022-09-09   2022-09-10 aseball/mlb-bans-shift.html                 Enlarges the Bases                             By Scott Miller                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/sports/b No Evidence of Racism Claim Is Found by
2022-09-09   2022-09-10 yu-racial-slur-duke-volleyball.html         BYUs Inquiry                                   By Amanda Holpuch               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/us/calif In California After the Heat and the Wildfires
2022-09-09   2022-09-10 ornia-tropical-storm-hurricane.html         the Deluge                                     By Jill Cowan and Vik Jolly     TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/us/elect
                        ions/new-hampshire-house-republicans-       A Bitter Primary Battle in New Hampshire
2022-09-09   2022-09-10 trump.html                                  Splits House Republicans                       By Annie Karni                  TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/us/navy-Top Navy Official Orders Investigation Into
2022-09-09   2022-09-10 seal-training-investigation.html            Safety Of Grueling SEAL Course                 By Dave Philipps                TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/09/us/polit Justice Dept Subpoenas 2 Top Aides Of         By Maggie Haberman Adam
2022-09-09   2022-09-10 ics/jan-6-trump-political-aides-subpoena.html Trump                                       Goldman and Alan Feuer           TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/us/polit Democrats See Michigan Abortion               By Jonathan Weisman and Nick
2022-09-09   2022-09-10 ics/michigan-abortion-referendum.html         Referendum as Test of a Strategy            Corasaniti                       TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/us/polit
                        ics/ohio-biden-democrats-manufacturing-       In Ohio Biden Tests Power of Message on
2022-09-09   2022-09-10 revival.html                                  Economy                                     By Michael D Shear               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/us/sout Total Ban on Abortion Falters in South
2022-09-09   2022-09-10 h-carolina-abortion-ban.html                  Carolina Senate                             By Ava Sasani                    TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/09/us/ukra The LongRange US Heavy Weapon Aiding
2022-09-09   2022-09-10 ine-weapons-rockets.html                      Ukraine in Its Battle Against Russia        By John Ismay                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/world/a Tributes to Queen Are Tempered by UKs          By Abdi Latif Dahir Lynsey Chutel
2022-09-09   2022-09-10 frica/queen-africa-british-empire.html        Bloody Colonial Past                        and Elian Peltier                 TX 9-213-471   2022-11-01




                                                                                  Page 4224 of 5793
                        https://www.nytimes.com/2022/09/09/world/a After Two Years of Fistfights India and China
2022-09-09   2022-09-10 sia/india-china-border.html                Will Try Diplomacy                            By Sameer Yasir              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/09/world/a Anger Over Fuel Prices Spurs Thousands to By Dera Menra Sijabat SuiLee Wee
2022-09-09   2022-09-10 sia/indonesia-fuel-protests.html           Protest in Indonesia                          and Muktita Suhartono        TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/09/world/a In North Korea New Law Details Nuclear
2022-09-09   2022-09-10 sia/north-korea-kim-weapons-law.html       Strategy                                      By Choe SangHun              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/09/world/e From Maligned Mistress to Queen Consort
2022-09-09   2022-09-10 urope/camilla-queen-consort.html           Camillas Image Restoration                    By Megan Specia              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/09/world/e As Crises Mount Europe Turns Once Again to
2022-09-09   2022-09-10 urope/energy-prices-europe-austerity.html  Big Spending With Little Dissent              By Matina StevisGridneff     TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/09/world/e
                        urope/king-charles-bank-notes-coins-
2022-09-09   2022-09-10 currency.html                              Changing View Of Currency Right to Left       By Isabella Simonetti        TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/09/world/e
                        urope/king-charles-speech-queen-           Charles Vows to Serve Britain With Respect
2022-09-09   2022-09-10 elizabeth.html                             In Echo of His Mother                         By Mark Landler              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/09/world/e In London Mourning for Queen Exposes a        By Emma Bubola Isabella Kwai
2022-09-09   2022-09-10 urope/london-mourning-queen.html           Generational Divide                           and Saskia Solomon           TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/09/world/e Prince Harry Joined Mourners At Castle
2022-09-09   2022-09-10 urope/prince-harry-meghan-queen.html       After Queens Death                            By Daniel Victor             TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/09/world/e Willing to Trade Tradition for Empathy in
2022-09-09   2022-09-10 urope/queen-elizabeth-britain-monarchy.html Trying Times                               By Sarah Lyall                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/09/world/e Balmoral a Beloved Retreat Becomes a Site of
2022-09-09   2022-09-10 urope/queen-elizabeth-death-balmoral.html Pilgrimage                                    By Stephen Castle               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/world/e As Russians Head to Polls Opposition         By Valerie Hopkins Anton
2022-09-09   2022-09-10 urope/russia-elections.html                    Candidates Are Mostly Absent             Troianovski and Alina Lobzina   TX 9-213-471   2022-11-01
                                                                                                                By Marc Santora Ivan
                        https://www.nytimes.com/2022/09/09/world/e Ukraine Advances in North Surprising         Nechepurenko and Marco
2022-09-09   2022-09-10 urope/ukraine-russia-kharkiv.html              Russians                                 Hernandez                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/your-
2022-09-09   2022-09-10 money/irs-late-filing-penalties-relief.html    A Break for Many Late Tax Filers         By Ann Carrns                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/live/2022/09/09/bus
                        iness/economy-news-inflation-stocks/hawkish-
                        central-banks-push-borrowing-costs-higher- Bond Yields Around Globe Approaching         By Joe Rennison and Isabella
2022-09-09   2022-09-10 around-the-world                               Highs for Year                           Simonetti                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/live/2022/09/09/spo
                        rts/tiafoe-alcaraz-us-open/casper-ruud-us-     Ruud in Another Grand Slam Final After
2022-09-09   2022-09-10 open-mens-singles-final                        Defeating Khachanov in 4 Sets            By Jesus Jimnez                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/live/2022/09/09/wo
                        rld/queen-elizabeth-king-charles/queen-sports- Frequent Visitor to Epsom Downs but Not
2022-09-09   2022-09-10 fan                                            Wimbledon                                By Victor Mather                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/nyregio Yeshiva University Can Bar LGBT Club for
2022-09-10   2022-09-10 n/yeshiva-university-lgbt-sotomayor.html       Now Justice Rules                        By Liam Stack                   TX 9-213-471   2022-11-01



                                                                                Page 4225 of 5793
                                                                                                                By Charlie Savage Alan Feuer
                        https://www.nytimes.com/2022/09/09/us/doj- Justice Dept Clashes With Trump Lawyers      Glenn Thrush and Maggie
2022-09-10   2022-09-10 trump-special-master-mar-a-lago.html       Over Special Master                          Haberman                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/busines Cities Adopting Cash Payments To Curb
2022-09-10   2022-09-10 s/economy/guaranteed-income.html           Poverty                                      By Kurtis Lee                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/10/sports/b Aces and Sun Each Seek a First Title Both
2022-09-10   2022-09-10 asketball/wnba-finals-preview-aces-sun.html Have Come Close Before                      By Kris Rhim                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/sports/f Fifty Years Ago a Marathon Gold Medal
2022-09-10   2022-09-10 rank-shorter-running-boom.html               KickStarted Americas Running Boom          By Matthew Futterman           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/sports/n Why Players Nearly Skipped the Opening
2022-09-10   2022-09-10 caafootball/famu-football-scandal.html       Game                                       By Billy Witz                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/sports/t As Tiafoe Shines Tennis Officials Hope to
2022-09-10   2022-09-10 ennis/frances-tiafoe-us-open.html            Reach More Black Youths                    By Matthew Futterman           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/sports/t In Final Matching Opponents Game Is Only
2022-09-10   2022-09-10 ennis/swiatek-jabeur-us-open-final.html      Half the Battle                            By Matthew Futterman           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/07/19/books/r
2022-07-19   2022-09-11 eview/death-by-landscape-elvia-wilk.html     Gone Sideways                              By Bijan Stephen               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/10/books/r
2022-08-10   2022-09-11 eview/raising-lazarus-beth-macy.html         Still Sick                                 By Jan Hoffman                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/12/books/r
2022-08-12   2022-09-11 eview/robert-lowell-memoirs.html             The Confessional Mode                      By August Kleinzahler          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/16/books/n
                        ew-memoirs-rebecca-woolf-elizabeth-
2022-08-16   2022-09-11 crane.html                                   The Ties That Bind                         By Meghan Daum                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/16/books/r
2022-08-16   2022-09-11 eview/brenda-lozano-witches.html             Healing Arts                               By Rachel Nolan                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/16/books/r
2022-08-16   2022-09-11 eview/slenderman-kathleen-hale.html          Captive Audience                           By Lisa Levy                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/23/books/r
2022-08-23   2022-09-11 eview/perish-latoya-watkins.html             Death and Life                             By S Kirk Walsh                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/23/books/r
2022-08-23   2022-09-11 eview/victor-serge-last-times.html           Roving Eye Lived Experience                By J Hoberman                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/29/arts/des
                        ign/tillmans-moma-photography-germany-
2022-08-29   2022-09-11 politics-culture.html                        Celebrating and Defending Joyfulness       By Matthew Anderson            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/books/r
2022-08-30   2022-09-11 eview/life-of-crime-martin-edwards.html      Elementary                                 By Jane Pek                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/books/r
2022-08-30   2022-09-11 eview/new-historical-fiction.html            Missing Persons                            By Alida Becker                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/arts/mu
2022-08-31   2022-09-11 sic/ahmad-jamal-live-albums.html             An Innovator Caught Live in His Prime      By Giovanni Russonello         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/arts/tele
                        vision/monarch-fox-trace-adkins-susan-
2022-08-31   2022-09-11 sarandon.html                                One Crown Many Cowboy Hats                 By Chris Vognar                TX 9-213-471   2022-11-01



                                                                                Page 4226 of 5793
                        https://www.nytimes.com/2022/08/31/books/r
2022-08-31   2022-09-11 eview/the-unfolding-am-homes.html            Political Animal                           By Jennifer Haigh       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/arts/des
                        ign/art-exhibitions-museums-fall-
2022-09-01   2022-09-11 preview.html                                 The Beaten Path Is Growing Wider           By Roberta Smith        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/arts/tele
                        vision/ken-burns-the-us-and-the-
2022-09-01   2022-09-11 holocaust.html                               Exploring Inaction During the Holocaust    By Joseph Berger        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/books/r
                        eview/all-good-people-here-ashley-
2022-09-01   2022-09-11 flowers.html                                 Ashley Flowers Loves an Airport Bookstore By Elisabeth Egan        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/books/r
2022-09-01   2022-09-11 eview/max-fisher-chaos-machine.html          Nudge Nudge                                By Tamsin Shaw          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/books/r
                        eview/on-the-rooftop-margaret-wilkerson-     On the Rooftop by Margaret Wilkerson
2022-09-01   2022-09-11 sexton.html                                  Sexton                                     By Elisabeth Egan       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/01/books/r
2022-09-01   2022-09-11 eview/stephen-king-fairy-tale.html           Dark Wells                                 By Matt Bell            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/arts/des A Constellation of Stars From the Latin
2022-09-02   2022-09-11 ign/latino-indigenous-art-fall-preview.html  World                                      By Holland Cotter       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/arts/mu
2022-09-02   2022-09-11 sic/moneybagg-yo-memphis.html                Talking in Memphis                         By Jon Caramanica       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/books/r
2022-09-02   2022-09-11 eview/ernesto-mestre-reed-sacrificio.html    Desperate Measures                         By Paul Festa           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/02/theater/
2022-09-02   2022-09-11 black-actors-broadway.html                   Black Screen Actors Get a Chance to Thrive By Maya Phillips        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/03/books/e
2022-09-03   2022-09-11 lizabeth-strout-lucy-by-the-sea.html         At 66 Maximum Productivity                 By Elisabeth Egan       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/style/le
2022-09-04   2022-09-11 e-child-baseball-fiction.html                Our Stories Rescue Us Sometimes            By Lee Child            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/arts/des
                        ign/museum-shows-europe-united-states-fall-
2022-09-05   2022-09-11 preview.html                                 Its Blockbuster Mode For Museums This Fall By Jason Farago         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/arts/mu
                        sic/katie-crutchfield-jess-williamson-       Southern Voices Entwined Around Country
2022-09-05   2022-09-11 plains.html                                  Roots                                      By Lindsay Zoladz       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/books/r
2022-09-05   2022-09-11 eview/new-crime-fiction.html                 Friends and Murderers                      By Sarah Weinman        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/movies/
                        george-clooney-julia-roberts-ticket-to-
2022-09-05   2022-09-11 paradise.html                                Our Natural Rhythm of Joyful Noise         By Kyle Buchanan        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/realesta
2022-09-05   2022-09-11 te/shopping-for-runners.html                 Adding Some Flash To Overlooked Spaces     By Tim McKeough         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/05/style/be
2022-09-05   2022-09-11 tty-gilpin-all-the-women-in-my-brain.html    Betty Gilpin Is a Vivid Talker             By Elisabeth Donnelly   TX 9-213-471   2022-11-01



                                                                                Page 4227 of 5793
                        https://www.nytimes.com/2022/09/05/theater/
2022-09-05   2022-09-11 new-broadway-musicals.html                   7 Musicals Beckon 100 More Lie in Wait        By Jesse Green             TX 9-213-471     2022-11-01
                        https://www.nytimes.com/interactive/2022/09/ A Genius Cartoonist Believes Childs Play Is
2022-09-05   2022-09-11 05/magazine/lynda-barry-interview.html       Anything But Frivolous                        By David Marchese          TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/arts/des
                        ign/sculptor-eversley-mayne-orange-county-
2022-09-06   2022-09-11 museums-art.html                             The Artist Who Throws Newton a Curve          By Hilarie M Sheets        TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/06/arts/mu
2022-09-06   2022-09-11 sic/yeah-yeah-yeahs-cool-it-down.html        Yeah Yeah Yeahs Emotional Release             By Melena Ryzik            TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/06/arts/tele                                           By James Poniewozik and Margaret
2022-09-06   2022-09-11 vision/fall-tv-abbott-elementary-atlanta.html What Does Fall Season Even Mean Nowadays Lyons                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/busines
                        s/abbott-baby-formula-lawsuits-jones-
2022-09-06   2022-09-11 day.html                                      Sick Babies but No Scandal               By David Enrich                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/magazi Is It OK to Take a LawFirm Job Defending
2022-09-06   2022-09-11 ne/law-firm-job-ethics.html                   Climate Villains                         By Kwame Anthony Appiah          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/magazi
2022-09-06   2022-09-11 ne/leland-michigan-race-school.html           A Change of Course                       By Daniel Bergner                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/magazi
2022-09-06   2022-09-11 ne/saab-recommendation.html                   Saabs                                    By Georgia Cloepfil              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/realesta
                        te/mixing-children-and-art-yes-its-
2022-09-06   2022-09-11 possible.html                                 Art Fills a Magical Place in the Woods   By Tim McKeough                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/theater/ Life Liberty and the Pursuit Of a Dual
2022-09-06   2022-09-11 1776-musical-broadway.html                    Reality                                  By Jennifer Schuessler           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/arts/gis
2022-09-07   2022-09-11 ele-vienne-crowd.html                         Measuring Time but Not With a Watch      By Gia Kourlas                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/books/r
2022-09-07   2022-09-11 eview/beauman-raymond-heathcock.html          Climate Fiction                          By Wai Chee Dimock               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/magazi
                        ne/arizona-state-university-multicultural-
2022-09-07   2022-09-11 center.html                                   When a Campus Clash is Caught on Video   By Sarah Viren                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/magazi
2022-09-07   2022-09-11 ne/dr-oz-pennsylvania-senate-race.html        Sorry State                              By Alex Norcia                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/magazi
                        ne/spicy-shrimp-greens-philippines-           Spicy ShrimpandGreens From an Ottolenghi
2022-09-07   2022-09-11 recipe.html                                   Head Chef                                By Yotam Ottolenghi              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/movies/
                        black-panther-wakanda-forever-lupita-nyongo-
2022-09-07   2022-09-11 danai-gurira-letitia-wright.html              Leaning On One Another                   By Salamishah Tillet             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/movies/
2022-09-07   2022-09-11 movies-democracy.html                         An Imperfect Lens In a Time of Crisis    By AO Scott and Manohla Dargis TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/07/nyregio
2022-09-07   2022-09-11 n/central-park-raccoons-bike-racing.html      At Night the Raccoons Come Out to Race   By Michael VenutoloMantovani     TX 9-213-471   2022-11-01



                                                                                  Page 4228 of 5793
                        https://www.nytimes.com/2022/09/07/nyregio Still Partying but Less Heartily on
2022-09-07   2022-09-11 n/tumbleweed-tuesday-hamptons.html           Tumbleweed Tuesday                           By Alyson Krueger                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/realesta For Peony Season Think Beyond Pink and
2022-09-07   2022-09-11 te/garden-peonies.html                       White                                        By Margaret Roach                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/realesta
                        te/hudson-square-manhattan-no-longer-a-no- No More Reek of Ink but Google and Disney
2022-09-07   2022-09-11 mans-land-in-soho.html                       Are Coming                                   By Aileen Jacobson                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/realesta A Listing That Doesnt Come Along Every
2022-09-07   2022-09-11 te/scotland-manor-house-hunting.html         Century                                      By Michael Kaminer                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/style/bo
2022-09-07   2022-09-11 yfriend-travel-vacation-family.html          No We Without Me                             By Philip Galanes                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/t-        Kenny Rivero Tries to Have a Conversation
2022-09-07   2022-09-11 magazine/kenny-rivero-charles-moffett.html With the Paint                                 By Miguel Morales                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/theater/
2022-09-07   2022-09-11 tom-stoppard-leopoldstadt-broadway.html      After A Life Lived Forward The Past Beckons By Maureen Dowd                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/world/a Egypt Charges 4 Journalists Over an Article It
2022-09-07   2022-09-11 frica/egypt-journalists-charges.html         Considers Fake News                          By Vivian Yee                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/us/chah DNA Is Used to Identify Both a Victim and
2022-09-08   2022-09-11 orski-killer-georgia-identified-dna.html     Her Killer in a 1988 ColdCase Murder         By April Rubin and Remy Tumin     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/arts/dan
2022-09-08   2022-09-11 ce/new-season-dance-list.html                Dance Listings                               By Margaret Fuhrer                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/arts/des
                        ign/architecture-geffen-hall-egypt-museum-
2022-09-08   2022-09-11 kimbell-rwanda-conservation.html             Can We Build Values Too                      By James S Russell                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/arts/des
2022-09-08   2022-09-11 ign/art-design-fall-season.html              Art Listings                                 By Will Heinrich                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/arts/mu
                        sic/1975-matty-healy-being-funny-in-a-
2022-09-08   2022-09-11 foreign-language.html                        Still Trying to Be Funny Sincerely           By Joe Coscarelli                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/arts/mu                                                By Joshua Barone and Zachary
2022-09-08   2022-09-11 sic/classical-music-opera-fall-season.html   Classical Listings                           Woolfe                            TX 9-213-471   2022-11-01
                                                                                                                  By Dani Blum Elysa Gardner
                        https://www.nytimes.com/2022/09/08/arts/mu                                                Olivia Horn Giovanni Russonello
2022-09-08   2022-09-11 sic/fall-pop-jazz-calendar.html              Pop Listings                                 Hank Shteamer and Ben Sisario     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/arts/tele
2022-09-08   2022-09-11 vision/tv-shows-this-fall.html               Television Listings                          By Mike Hale                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/magazi
2022-09-08   2022-09-11 ne/asthmatic-cat-love.html                   Bonus Advice From Judge John Hodgman         By John Hodgman                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/magazi
2022-09-08   2022-09-11 ne/book-bans-texas.html                      Read Scare                                   By Erika Hayasaki                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/magazi
2022-09-08   2022-09-11 ne/covid-aid-schools.html                    The Run for the Money                        By Charley Locke                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/magazi                                                 By Wislawa Szymborska and
2022-09-08   2022-09-11 ne/poem-photograph-september-11.html         Poem Photograph From September 11            Victoria Chang                    TX 9-213-471   2022-11-01




                                                                                 Page 4229 of 5793
                        https://www.nytimes.com/2022/09/08/movies/
                        daniel-radcliffe-weird-al-yankovic-
2022-09-08   2022-09-11 movie.html                                 You Can Call Them Al The Making of Weird By Dave Itzkoff                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/movies/
2022-09-08   2022-09-11 films-this-fall.html                       Film Listings                            By Ben Kenigsberg                      TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/08/movies/
2022-09-08   2022-09-11 the-woman-king-gina-prince-bythewood.html Female Warriors on an Epic Scale               By Farah Fleurima                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/opinion
                        /environment/antarctica-ice-sheet-climate-
2022-09-08   2022-09-11 change.html                                  What Antarcticas Disintegration Asks of Us By Elizabeth Rush                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/opinion
2022-09-08   2022-09-11 /pat-buchanan-donald-trump.html              Pat Buchanan Paved the Way for Trump        By Nicole Hemmer                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/opinion
2022-09-08   2022-09-11 /queen-empire-decolonization.html            Mourn the Queen Not Her Empire              By Maya Jasanoff                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/realesta
2022-09-08   2022-09-11 te/lot-size-states-metros.html               For More Land Head East                     By Michael Kolomatsky             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/sports/f Crises Scandals So Far Nothing Stops the
2022-09-08   2022-09-11 ootball/nfl-football-scandals.html           NFL                                         By Kevin Draper                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/sports/f Where Would the NFL Be Without the Point
2022-09-08   2022-09-11 ootball/nfl-week-1-predictions.html          Spread                                      By David Hill                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/sports/t On the Outer Courts The Recruiting Trail Can
2022-09-08   2022-09-11 ennis/us-open-college-recruitment.html       Become Intense                              By David Waldstein                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/style/qu
2022-09-08   2022-09-11 een-elizabeth-style.html                     Beneath the Hat a Diplomatic Power Dresser By Vanessa Friedman                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/technol
2022-09-08   2022-09-11 ogy/on-tech-shira-ovide.html                 Logging Off With Hope and Caution           By Shira Ovide                    TX 9-213-471   2022-11-01
                                                                                                                 By Alexis Soloski Elisabeth
                        https://www.nytimes.com/2022/09/08/theater/                                              Vincentelli Laura CollinsHughes
2022-09-08   2022-09-11 gregg-mozgala-cost-of-living-broadway.html Four Artists to Watch This Fall               and Scott Heller                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/theater/
2022-09-08   2022-09-11 plays-musicals-this-fall.html                Theater Listings                            By Steven McElroy                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/ Heading to the Rockaways for the Sand and
                        08/realestate/rockaways-ny-apartments-       the Subway Which Apartment Did She
2022-09-08   2022-09-11 housing.html                                 Choose                                      By Debra Kamin                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/arts/mu
2022-09-09   2022-09-11 sic/the-hours-met-opera.html                 Three Divas Talking Not Singing             By Joshua Barone                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/books/r
                        eview/david-barclay-moore-holler-of-the-
2022-09-09   2022-09-11 fireflies-natalie-lloyd-hummingbird.html     Magic Mountains                             By Anna Holmes                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/books/r
                        eview/ice-cold-a-hip-hop-jewelry-history-
2022-09-09   2022-09-11 vikki-tobak.html                             Statement Pieces                            By Tas Tobey                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/books/s
2022-09-09   2022-09-11 iddhartha-mukherjee-books-song-cell.html     Telling the Grand Story of Us               By Stephanie Nolen                TX 9-213-471   2022-11-01



                                                                                 Page 4230 of 5793
                        https://www.nytimes.com/2022/09/09/busines
                        s/retirement/retirement-downsizing-real-
2022-09-09   2022-09-11 estate.html                                 Unforeseen Expenses When Downsizing       By Susan B Garland              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/busines How Silicon Chips Joined Oil to Rule the
2022-09-09   2022-09-11 s/silicon-markets-china-taiwan.html         World                                     By Jeff Sommer                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/movies/
2022-09-09   2022-09-11 avatar-the-way-of-water-explainer.html      Remember Avatar Catch Up for the Sequel   By Sarah Bahr                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/movies/
                        david-bowie-documentary-moonage-
2022-09-09   2022-09-11 daydream.html                               Seeking David Bowie And Finding Himself By Melena Ryzik                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/nyregio
2022-09-09   2022-09-11 n/bill-de-blasio-ny-mayor.html              Not Bitter Maybe Even at Peace            By Michael Gold                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/nyregio
2022-09-09   2022-09-11 n/congestion-pricing-manhattan.html         Paying the Price to Drive in Manhattan    By Ginia Bellafante             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/nyregio Thomas Carney 82 Barkeep Who Kept Order
2022-09-09   2022-09-11 n/thomas-carney-dead.html                   at Elaines                                By Alex Traub                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/opinion
2022-09-09   2022-09-11 /american-civil-war-correspondent.html      A War Correspondent On America            By Michelle Goldberg            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/opinion
2022-09-09   2022-09-11 /biden-philadelphia-trump-maga.html         Biden Is Right to Call Trump Out          By Jamelle Bouie                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/opinion The Twisted Reality of Selling Plasma for
2022-09-09   2022-09-11 /plasma-donation-poverty.html               Money                                     By Vanessa Veselka              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/opinion
2022-09-09   2022-09-11 /queen-elizabeth-tina-brown.html            Elizabeth II Loved Her Job                By Tina Brown                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/realesta
2022-09-09   2022-09-11 te/in-laws-live-close-neighbors.html        What if the InLaws Moved In Next Door     By Steven Kurutz                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/sports/s A Top Club Can Do Anything in the Premier
2022-09-09   2022-09-11 occer/premier-league.html                   League Except Lose                        By Rory Smith                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/09/style/ab The Feelings Were There Even When Words
2022-09-09   2022-09-11 rielle-moore-kobina-johnson-wedding.html Were Not                                         By Nia Decaille             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/style/ca If at First You Dont Succeed Try an Instagram
2022-09-09   2022-09-11 rly-stein-oliver-kremer-wedding.html        DM                                            By Jenny Block              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/style/cl
2022-09-09   2022-09-11 aw-clips.html                               A Tool for Wrangling Hair Returns             By Madison Malone Kircher   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/style/je The Trip That Took Them Out of the Friend
2022-09-09   2022-09-11 nnifer-noinaj-perry-chu-wedding.html        Zone                                          By Nina Reyes               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/style/jo On and Off the Opera Stage a Mesmerizing
2022-09-09   2022-09-11 rdan-rutter-vincent-covatto-wedding.html    Energy                                        By Kristen Bayrakdarian     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/style/m Developing a Harmony at Different Stages in
2022-09-09   2022-09-11 atei-varga-melissa-gibbs-wedding.html       Life                                          By Eric V Copage            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/style/m
                        odern-love-no-longer-running-from-my-
2022-09-09   2022-09-11 emotions.html                               She No Longer Flees From Her Emotions         By Gabriela Fowler          TX 9-213-471   2022-11-01




                                                                                Page 4231 of 5793
                        https://www.nytimes.com/2022/09/09/style/te
2022-09-09   2022-09-11 ss-owen-andy-campbell-wedding.html          Journalists Who Cover Hate Find Love        By Alix Wall                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/theater/                                             By Michael Paulson and Justin J
2022-09-09   2022-09-11 comedy-gender-some-like-it-hot.html         Another Look At Men in Dresses              Wee                               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/us/sheil Sheila Tobias Who Defined and Explored
2022-09-09   2022-09-11 a-tobias-dead.html                          Math Anxiety Is Dead at 86                  By Richard Sandomir               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/busines When the Olive Oil Capital of the World Is
2022-09-10   2022-09-11 s/olive-oil-spain.html                      Parched                                     By David Segal and Jos Bautista   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/movies/ Marsha Hunt Actress Turned Activist at
2022-09-10   2022-09-11 marsha-hunt-dead.html                       Home and Abroad Dies at 104                 By Wendell Jamieson               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/nyregio
2022-09-10   2022-09-11 n/cuny-chancellor-felix-rodriguez.html      On a Bike and on a Call With His Mother     By Alix Strauss                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/opinion
                        /king-charles-queen-elizabeth-princess-
2022-09-10   2022-09-11 diana.html                                  Charles in Charge                           By Maureen Dowd                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/opinion
2022-09-10   2022-09-11 /rudy-giuliani-9-11-trump.html              Americas Mayor Finds Himself Alone          By Andrew Kirtzman                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/opinion
2022-09-10   2022-09-11 /schools-banned-books.html                  Censorship Is the Refuge of the Weak        By The Editorial Board            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/opinion
2022-09-10   2022-09-11 /ukraine-war-europe.html                    The Ukraine Wars Decisive Season            By Ross Douthat                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/realesta Even ThreeLeaf Clovers Can Bring Good
2022-09-10   2022-09-11 te/clover-grass-lawns.html                  Luck                                        By Anna Kod                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/realesta How Do I Make My Landlord Improve The
2022-09-10   2022-09-11 te/landlord-fire-safety.html                Ways We Evacuate the Building               By Ronda Kaysen                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/10/sports/t 2 Bright Young Stars Each Need to Win 3
2022-09-10   2022-09-11 ennis/alcaraz-ruud-us-open-mens-final.html Sets to Reach No 1                            By Christopher Clarey            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/sports/t
                        ennis/swiatek-jabeur-us-open-women-         After Farewell to Williams New Ruler Seems
2022-09-10   2022-09-11 final.html                                  Ready to Take Charge                         By Matthew Futterman             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/style/ja
2022-09-10   2022-09-11 nn-wenner.html                              The Stories Behind the Rolling Stone Stories By Maureen Dowd                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/us/abor
2022-09-10   2022-09-11 tion-bans-medical-care-women.html           Roes Reversal Changes Ways Doctors Work By Kate Zernike                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/us/calif Cooler Wet Weather Brings Some Relief To By Jill Cowan Kellen Browning
2022-09-10   2022-09-11 ornia-fires-rain-floods-heat.html           Scorched California                          and Vik Jolly                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/us/polit Ukrainian Officials Drew On US Intelligence By Julian E Barnes and Helene
2022-09-10   2022-09-11 ics/ukraine-military-intelligence.html      to Plan Counteroffensive                     Cooper                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/us/richl
                        and-nagasaki-atomic-bomb-mushroom-          Nuclear Town Rethinks Its Pride in Building
2022-09-10   2022-09-11 cloud.html                                  the Bomb                                     By Mike Baker and Mason Trinca   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/us/trum Trumps Lawyers Seek Legal Aid for             By Michael S Schmidt and Luke
2022-09-10   2022-09-11 p-lawyers-legal-exposure.html               Themselves                                   Broadwater                       TX 9-213-471   2022-11-01




                                                                                Page 4232 of 5793
                        https://www.nytimes.com/2022/09/10/world/a With Tears and Steel Kenyas Hustler
2022-09-10   2022-09-11 frica/kenya-president-william-ruto.html        President Vanquishes His Foes              By Declan Walsh                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/10/world/a
                        sia/hong-kong-childrens-books-free-
2022-09-10   2022-09-11 speech.html                                    Five Sentenced Over Seditious Books        By John Yoon                   TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/10/world/e Hero Traitor or Both Ptains Legacy Haunts a
2022-09-10   2022-09-11 urope/france-petain-grave-legacy.html          Tiny Island                                By Constant Mheut              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/10/world/e King Charles III Is Officially Proclaimed      By Megan Specia and Mark
2022-09-10   2022-09-11 urope/king-charles-iii-accession.html          With Pomp and Circumstance                 Landler                        TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/10/world/e
                        urope/king-charles-iii-is-formally-proclaimed- Charles Is Officially Proclaimed With Pomp
2022-09-10   2022-09-11 to-his-new-role.html                           and Circumstance                           By Megan Specia                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/10/world/e In Bidding Farewell to Queen Britain
2022-09-10   2022-09-11 urope/queen-elizabeth-uk-identity.html         Grapples With Identity                     By Mark Landler                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/10/world/e
2022-09-10   2022-09-11 urope/russia-ukraine-retreat-putin.html        A Setback for Putin on Several Fronts      By Anton Troianovski           TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/10/world/e Epidemic of Gun Violence in Sweden Looms By Isabella Kwai and Amela
2022-09-10   2022-09-11 urope/sweden-election.html                     Over a Tight Election                      Mahovic                        TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/10/world/e How Ukraines Swift Advance in the North
2022-09-10   2022-09-11 urope/ukraine-izium-russia.html                Seized a Vital Hub From Russia             By Marc Santora                TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/10/world/e Ukraine Reclaims Key Eastern City             By Thomas GibbonsNeff and Marc
2022-09-10   2022-09-11 urope/ukraine-offensive-izium-donbas.html Reshaping Battle                               Santora                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/live/2022/10/17/us/
                        weather-news-forecast/oregon-fires-milo-    Wildfires Cause Evacuations and Power Cuts By Ava Sasani and Luke Vander
2022-09-10   2022-09-11 salem-cedar-creek                           in Oregon                                    Ploeg                             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/sports/t A Star Who Has Everything Except the
2022-09-11   2022-09-11 ennis/us-open-swiatek-jabeur.html           Profile to Match                             By Christopher Clarey             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/busines The Week in Business A Trump Deal in
2022-09-11   2022-09-11 s/the-week-in-business-trump-media.html     Limbo                                        By Marie Solis                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/insider/
2022-09-11   2022-09-11 the-big-wide-world-of-narrow-beats.html     The Wide World of Narrow Beats               By Sarah Diamond                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/nyregio                                               By Eliza Shapiro Brian M
2022-09-11   2022-09-11 n/hasidic-yeshivas-schools-new-york.html    Failing Schools Public Funds                 Rosenthal and Jonah Markowitz     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/style/sc
2022-09-11   2022-09-11 hool-is-back.html                           Looking Ahead To a New Season                By Denny Lee                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/us/las- Reporter Whose Beat Was Vice in Las Vegas By Nicholas BogelBurroughs and
2022-09-11   2022-09-11 vegas-jeff-german-journalist.html           Meets a Violent End                          Mike Baker                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/31/travel/c                                              By Rowan Moore Gerety and
2022-08-31   2022-09-12 limate-change-pacific-crest-trail.html      Climate Change Along the Pacific Crest Trail Mason Trinca                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/sports/c The South African Ultramarathoner With a
2022-09-04   2022-09-12 omrades-marathon-hoseah-tjale.html          Limitless Legacy                             By Ryan Lenora Brown              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/busines
2022-09-07   2022-09-12 s/russia-gas-europe.html                    LowFlowing Russian Gas Pains Europe          By Jason Karaian and Karl Russell TX 9-213-471   2022-11-01




                                                                                Page 4233 of 5793
                        https://www.nytimes.com/2022/09/08/opinion Your Childhood Home Is in Front of You Do
2022-09-08   2022-09-12 /travel-childhood-homes.html                You Go In                                  By Mark Vanhoenacker            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/technol
                        ogy/misinformation-students-media-          Giving Students the Tools To Spot
2022-09-08   2022-09-12 literacy.html                               Misinformation                             By Tiffany Hsu                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/travel/a Help My Airbnb Host Duped Me and the
2022-09-08   2022-09-12 irbnb-host-refund.html                      Place Was a Mess                           By Seth Kugel                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/world/e Beekeeper Tends His Children Even as        By Thomas GibbonsNeff and
2022-09-08   2022-09-12 urope/ukraine-war-bees-russia.html          Artillery Roars Nearby                     Natalia Yermak                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/arts/dan Tina Ramirez 92 Transformed a Dance
2022-09-09   2022-09-12 ce/tina-ramirez-dead.html                   Company Into a Leading Hispanic Troupe     By Neil Genzlinger              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/arts/mu Lars Vogt 51 Pianist And Conductor Known
2022-09-09   2022-09-12 sic/lars-vogt-dead.html                     For Collaboration Dies                     By David Allen                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/health/ Marc Lewitinn 76 Covid Patient Who Spent
2022-09-09   2022-09-12 marc-lewitinn-dead.html                     850 Days on a Ventilator                   By Clay Risen                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/theater/
2022-09-09   2022-09-12 burbank-review.html                         When Disneys Animators Went on Strike      By Laura CollinsHughes          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/arts/des
                        ign/art-abortion-whitney-javits-museums-    Abortion Art Inches Along Toward
2022-09-10   2022-09-12 galleries.html                              Acceptance                                 By Deborah Solomon              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/arts/ja James Stewart Polshek Quiet Force of Modern
2022-09-10   2022-09-12 mes-stewart-polshek-dead.html               Architecture Dies at 92                    By Clay Risen                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/10/busines Tennis Draws a Big Money Crowd but Its     By Lauren Hirsch and Vivian
2022-09-10   2022-09-12 s/dealbook/tennis-is-a-failing-business.html Own Business Isnt Booming                Giang                            TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/10/movies/
2022-09-10   2022-09-12 all-the-beauty-and-the-bloodshed-venice.html A Documentary Takes First Prize in Venice By Nicolas Rapold               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/sports/f For Wilson and Company a Mission To Win
2022-09-10   2022-09-12 ootball/russell-wilson-denver-broncos.html   Each Moment With a Smile                  By Ben Shpigel                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/10/world/e Build Destroy Rebuild Repeat The Battle of
2022-09-10   2022-09-12 urope/ukraine-kherson-pontoon-bridges.html Bridges in Ukraines South                    By Andrew E Kramer             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/world/a The Latest Irritant Buzzing Taiwans Defenses By Jane Perlez and Amy Chang
2022-09-11   2022-09-12 sia/china-taiwan-drones.html               Chinese Drones                               Chien                          TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/11/arts/mu
2022-09-11   2022-09-12 sic/john-adams-antony-cleopatra-opera.html A Composer Takes a Conventional Turn       By Zachary Woolfe                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/arts/mu
2022-09-11   2022-09-12 sic/my-chemical-romance-live-review.html Still Thriving Fearlessly as Ever            By Jon Caramanica                TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/11/books/j
2022-09-11   2022-09-12 ann-wenner-like-a-rolling-stone-memoir.html The Road From San Francisco              By Alexandra Jacobs               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/busines Feds Fading Support Puts Bond Market Back
2022-09-11   2022-09-12 s/fed-treasury-market.html                  at Risk                                  By Joe Rennison                   TX 9-213-471   2022-11-01



                                                                               Page 4234 of 5793
                        https://www.nytimes.com/2022/09/11/busines Disneys Embattled Chief Debuts His Image
2022-09-11   2022-09-12 s/media/bob-chapek-disney-expo.html        Reboot                                      By Brooks Barnes                 TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/11/busines So You Wanted To Get Work Done At the
2022-09-11   2022-09-12 s/return-to-office-distractions.html       Office                                      By Emma Goldberg                 TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/11/nyregio New York State Vote Could Raise Pressure    By Eliza Shapiro and Brian M
2022-09-11   2022-09-12 n/hasidic-schools-nyc-officials.html       on Officials Over Private Hasidic Schools   Rosenthal                        TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/11/opinion
2022-09-11   2022-09-12 /democrats-black-male-voter-problem.html   Democrats Black Male Voter Problem          By Charles M Blow                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/11/opinion
2022-09-11   2022-09-12 /polarization-debate.html                  Is There Room for Debate in Real Life       By Pamela Paul                   TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/11/opinion The Queen Was a Blank Slate for the Imperial
2022-09-11   2022-09-12 /queen-hari-kunzru-imperial-delusions.html Delusions of Her People                      By Hari Kunzru                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/sports/f Out for Revenge on His Former Team
2022-09-11   2022-09-12 ootball/browns-panthers-score-nfl.html       Mayfield Takes a Loss Instead              By Jenny Vrentas                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/sports/f
2022-09-11   2022-09-12 ootball/nfl-week-1-scores.html               What We Learned This Week                  By Derrik Klassen                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/sports/n
                        caafootball/usc-football-transfers-lincoln-  USC Where the Transfer Portal Opens to
2022-09-11   2022-09-12 riley.html                                   Instant Rejuvenation                       By Billy Witz                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/sports/t
2022-09-11   2022-09-12 ennis/us-open-alcaraz-ruud.html              Its A Young Mans Game                      By Matthew Futterman              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/theater/ Puzzled Why Instagram Put Their Play on
2022-09-11   2022-09-12 instagram-jeanne-dark-marion-siefert.html    Pause                                      By Laura Cappelle                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/us/chic
2022-09-11   2022-09-12 ago-rain-flash-flooding.html                 Drenching Rains Swamp Roads in Chicago By Julie Bosman                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/us/polit                                             By Jason DeParle and Maddie
2022-09-11   2022-09-12 ics/child-poverty-analysis-safety-net.html   A Quiet Dramatic Blow to Childhood Poverty McGarvey                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/us/polit A Somber Remembrance of Those Lost on       By Zolan KannoYoungs and Jeffery
2022-09-11   2022-09-12 ics/sept-11-biden.html                       911                                        C Mays                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/world/a Devastated by Flooding Pakistan Braces for a By Christina Goldbaum and Zia
2022-09-11   2022-09-12 sia/pakistan-floods-food-crisis.html         Food Crisis                                urRehman                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/world/a
2022-09-11   2022-09-12 sia/xinjiang-china-covid-lockdown.html       Covid Lockdown Distress Hits Xinjiang      By Chris Buckley                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/world/e Queens Scottish Ties Muddle Push for
2022-09-11   2022-09-12 urope/queen-scotland-independence.html       Independence                               By Stephen Castle                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/world/e Stunned Moscow Admits To Losing Most of By Andrew E Kramer and Andrew
2022-09-11   2022-09-12 urope/ukraine-kharkiv-russian-retreat.html   Kharkiv                                    Higgins                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/world/e
2022-09-11   2022-09-12 urope/ukraine-russias-retreat-putin.html     Retreat Dents Image of a Mighty Putin      By Anton Troianovski              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/world/q Some in Former Colonies Ask Why Do We
2022-09-11   2022-09-12 ueen-elizabeth-commonwealth.html             Even Need a King                           By Damien Cave                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/ A Brief Reprieve in Californias Raging     By Kellen Browning Alisha Jucevic
2022-09-11   2022-09-12 11/us/california-fires.html                  Wildfire Fight                             and Max Whittaker                 TX 9-213-471   2022-11-01



                                                                                Page 4235 of 5793
                        https://www.nytimes.com/live/2022/09/11/wo
                        rld/ukraine-russia-war/we-cant-keep-up-
                        people-in-kyiv-are-glued-to-their-phones-  Ukraine Successes Have Kyiv Residents Full
2022-09-11   2022-09-12 buoyed-by-the-latest-developments          of Joy                                     By Jeffrey Gettleman       TX 9-213-471   2022-11-01

                        https://www.nytimes.com/live/2022/09/12/wo
                        rld/ukraine-russia-war/a-military-expert-
                        outlines-the-tough-choices-for-russian-        After Ukrainian Advances Russia Faces
2022-09-11   2022-09-12 commanders-in-the-face-of-ukraines-advance Tough Choices                                By Matthew Mpoke Bigg    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/sports/b
                        asketball/wnba-finals-las-vegas-aces-
2022-09-12   2022-09-12 connecticut-sun.html                           Getting MVP Honor Then Showing Why       By Kris Rhim             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/sports/t He Had All the Makings And Now Hes Made
2022-09-12   2022-09-12 ennis/carlos-alcaraz-us-open.html              It                                       By Christopher Clarey    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/arts/tele
                        vision/whats-on-tv-this-week-atlanta-and-fall-
2022-09-12   2022-09-12 previews.html                                  This Week on TV                          By Shivani Gonzalez      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/books/k
2022-09-12   2022-09-12 ate-beaton-ducks-canada-oil.html                In Oil Fields A Real Gusher Of Memories By Robert Ito            TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/12/health/ Poorer Nations Get Little Help On
2022-09-12   2022-09-12 monkeypox-vaccines-treatments-equity.html Monkeypox                                   By Stephanie Nolen         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/us/fani-
2022-09-12   2022-09-12 t-willis-trump-atlanta.html                 Atlanta DA Takes On Crime and a President By Richard Fausset         TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/08/30/science
2022-08-30   2022-09-13 /pyramids-nile-river-construction-egypt.html A Branch of the Nile Set Up the Pyramids    By Jack Tamisiea        TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/06/busines
2022-09-06   2022-09-13 s/climate-law-sustainable-infrastructure.html Game Changer for Green Infrastructure     By Jane Margolies        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/science Rejuvenation Process This Jellyfish Can Live
2022-09-06   2022-09-13 /immortal-jellyfish-gene-protein.html         Forever Its Genes May Tell Us How         By Veronique Greenwood   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/well/va
2022-09-06   2022-09-13 sectomy-reversal.html                         Are vasectomies reversible                By Jen A Miller          TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/07/arts/mu
2022-09-07   2022-09-13 sic/new-york-city-ballet-dancer-contract.html Protections And Raises At City Ballet      By Javier C Hernndez    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/busines
2022-09-07   2022-09-13 s/robots-automation-supply-chain.html         Supply Chain Broke Send The Robots         By Peter S Goodman      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/science
                        /shipwreck-patagonia-rhode-island-            Deep Dive Using Tree Rings to Identify A
2022-09-07   2022-09-13 whaler.html                                   Whaler Ship Lost at Sea                    By April Rubin          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/technol
2022-09-07   2022-09-13 ogy/recruiters-tech-layoffs.html              A Tech Recruiting Bust                     By Erin Griffith        TX 9-213-471   2022-11-01




                                                                                 Page 4236 of 5793
                        https://www.nytimes.com/2022/09/07/well/m Exercise and Immunity Assessing a
2022-09-07   2022-09-13 ove/exercise-immunity-covid.html            Connection                                By Knvul Sheikh                   TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/08/well/mi
2022-09-09   2022-09-13 sophonia-chewing-noise-treatment.html       Sound Annoying It Might Be Misophonia     By Melinda Wenner Moyer           TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/09/arts/mu                                            By Jon Pareles Jon Caramanica and
2022-09-09   2022-09-13 sic/playlist-bjork-yeat-phoenix.html        Bjrk Demands Connection                   Lindsay Zoladz                    TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/09/movies/
2022-09-09   2022-09-13 action-movies-streaming.html                Picking Between Love And a Covert Mission By Robert Daniels                 TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/09/science
                        /stonehenge-spain-guadalperal-
2022-09-09   2022-09-13 archaeology.html                            Drought Reveals Spanish Stonehenge        By Franz Lidz                     TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/09/movies/
2022-09-10   2022-09-13 gabrielle-union-the-inspection-toronto.html Gabrielle Union Had to Dig Deep           By Kyle Buchanan                  TX 9-213-471      2022-11-01

                        https://www.nytimes.com/2022/09/11/arts/dan Beauty and Death Choreographed With
2022-09-11   2022-09-13 ce/john-jasperses-visitation-nyu-skirball.html Finesse                                     By Brian Seibert                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/arts/tele
2022-09-11   2022-09-13 vision/war-of-the-worlds-review.html           Hurtling Through Time With a Fateful Secret By Mike Hale                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/health/a
2022-09-11   2022-09-13 lcohol-deaths-taxes.html                       A Tough Path to Curbing Heavy Drinking      By Ted Alcorn                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/movies/
                        steven-spielberg-michelle-williams-the-
2022-09-11   2022-09-13 fabelmans.html                                 Spielbergs Story Told In The Fabelmans      By Kyle Buchanan                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/arts/des US Returns Rare Coin Minted by Jews During By Tom Mashberg and Graham
2022-09-12   2022-09-13 ign/rare-silver-coin-jews-israel.html          the Rebellion From Rome                     Bowley                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/arts/mu
                        sic/morgan-wallen-dangerous-billboard-chart-
2022-09-12   2022-09-13 record.html                                    Morgan Wallens RecordBreaking Run           By Ben Sisario                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/arts/tele
2022-09-12   2022-09-13 vision/emmy-winners-list.html                  2022 Emmy Winners                           By Shivani Gonzalez             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/arts/wil William Klein 96 Dies His Lens Captured
2022-09-12   2022-09-13 liam-klein-dead.html                           Grime And Glamour of City Life              By Robert D McFadden            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/books/j Javier Maras Acclaimed Novelist on Mystery
2022-09-12   2022-09-13 avier-marias-dead.html                         and Betrayal Dies at 70                     By Clay Risen                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/books/r As a Fog Descends the Sentences Still
2022-09-12   2022-09-13 eview/david-milch-lifes-work.html              Crackle                                     By Dwight Garner                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/busines                                                 By Julie Creswell and Michael
2022-09-12   2022-09-13 s/baby-formula-shortages.html                  Baby Formula Remains a Sporadic Find        Corkery                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/busines Goldman Plans for Layoffs as DealMaking
2022-09-12   2022-09-13 s/dealbook/goldman-sachs-layoffs.html          Slows                                       By Lauren Hirsch                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/busines US Officials Aim to Avert A Rail Strike For
2022-09-12   2022-09-13 s/economy/freight-railroad-strike.html         Freight                                     By Niraj Chokshi                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/busines
2022-09-12   2022-09-13 s/economy/labor-participation-covid.html       Pool of Labor In US Stays Bafflingly Low    By Lydia DePillis               TX 9-213-471   2022-11-01




                                                                                 Page 4237 of 5793
                        https://www.nytimes.com/2022/09/12/busines Yellen Plans to Visit an IRS Facility on
2022-09-12   2022-09-13 s/janet-yellen-irs-overhaul-80-billion.html Thursday                                  By Alan Rappeport                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/busines How Sustainable Fashion Could Run Afoul of
2022-09-12   2022-09-13 s/nyfw-sustainability-net-zero.html         Regulators                                By Ephrat Livni                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/busines Two Peloton Founders Are Leaving the
2022-09-12   2022-09-13 s/peloton-resignations-foley-kushi.html     Company                                   By Lora Kelley                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/busines
2022-09-12   2022-09-13 s/trevor-milton-nikola-trial.html           Truck Maker Goes on Trial In Fraud Case   By Jack Ewing                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/climate Father of Environmental Justice for Poor
2022-09-12   2022-09-13 /robert-bullard-environmental-justice.html  Meets the Moment                          By Cara Buckley                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/nyregio New York Lawmakers Assail Lack of Basic By Eliza Shapiro Brian M
2022-09-12   2022-09-13 n/lawmakers-hasidic-schools.html            Education in Hasidic Schools              Rosenthal and Nicholas Fandos     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/nyregio 3 Children Are Found Dead on Coney Island By Hurubie Meko and Chelsia Rose
2022-09-12   2022-09-13 n/three-children-dead-coney-island.html     Shore                                     Marcius                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/opinion
2022-09-12   2022-09-13 /abortion-female-voters.html                The Wives of GOP Hopefuls Get Personal    By Michelle Cottle                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/opinion Must We Discuss the Queen And Trump in
2022-09-12   2022-09-13 /elizabeth-charles-biden-senate.html        the Same Breath                           By Gail Collins and Bret Stephens TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/opinion
                        /the-radical-constitutional-change-britain- The Radical Constitutional Change Britain
2022-09-12   2022-09-13 needs.html                                  Needs                                     By Linda Colley                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/opinion
2022-09-12   2022-09-13 /ukraine-deflates-maga-macho-myths.html     Ukraine Deflates MAGA Macho Myths         By Paul Krugman                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/12/science Trashy Arms Race In the Battle of the
2022-09-12   2022-09-13 /cockatoos-humans-garbage-bins.html        GarbageBins Both Birds and Humans Adjust By Bethany Brookshire             TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/12/science Chromosomes Galore Cracking the Case of
2022-09-12   2022-09-13 /fern-genetics-polyploidy.html             the Giant Fern Genome                    By Oliver Whang                   TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/12/science How Long Is the Drive to the Edge of the
2022-09-12   2022-09-13 /randall-munroe-xkcd-universe-driving.html Universe                                    By Randall Munroe              TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/12/science Blue Origin Booster Fails But No Crew Was
2022-09-12   2022-09-13 /space/bezos-blue-origin-rocket-crash.html  Aboard                                     By Kenneth Chang               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/12/sports/b Meet the Fitting Leader Of a Union on the
2022-09-12   2022-09-13 aseball/tony-clark-mlbpa-union.html         Move                                       By Scott Miller                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/12/sports/b
2022-09-12   2022-09-13 aseball/yankees-infield-volpe.html          These 3 Yankees Keep Infield Warm          By Gary Phillips               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/12/sports/f
2022-09-12   2022-09-13 ootball/britt-reid-guilty-dwi.html          Reids Son Makes Plea Of Guilty To a Felony By Joe Drape                   TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/12/sports/f Cowboys High Hopes Are Deflated By Sound
2022-09-12   2022-09-13 ootball/dak-prescott-injured-cowboys.html   Loss and Fractured Thumb                   By Victor Mather               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/12/sports/t
2022-09-12   2022-09-13 ennis/carlos-alcaraz-us-open.html           The Talent and Time Were Right             By Christopher Clarey          TX 9-213-471     2022-11-01




                                                                                Page 4238 of 5793
                        https://www.nytimes.com/2022/09/12/technol Uber Will Pay New Jersey 100 Million in
2022-09-12   2022-09-13 ogy/uber-new-jersey-settlement.html         Back Taxes                                  By Cade Metz                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/theater/
2022-09-12   2022-09-13 jan-karski-holocaust-david-strathairn.html  A Role That Opens Old Wounds                By Laura CollinsHughes           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/us/colu Columbias Fall Tests the Ranking of Some
2022-09-12   2022-09-13 mbia-university-us-news-ranking.html        See Manipulation in Trusted College List    By Anemona Hartocollis           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/us/harv
2022-09-12   2022-09-13 ard-slavery-reparations-ancestors.html      For Slaverys Descendants Links to Harvard   By Anemona Hartocollis           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/us/polit Biotech Executive Picked As Head of New
2022-09-12   2022-09-13 ics/biden-cancer-arpa-h.html                Agency For Health Innovation                By Sheryl Gay Stolberg           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/us/polit With Biden Democrats Chart Treacherous
2022-09-12   2022-09-13 ics/biden-democrats-midterms.html           Course                                      By Lisa Lerer and Katie Glueck   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/12/us/polit Families Lifted by Safety Net Tell Their    By Jason DeParle and Maddie
2022-09-12   2022-09-13 ics/child-poverty-families-west-virginia.html Stories                                   McGarvey                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/us/polit Why a Legal Stalwart For the Republicans    By Blake Hounshell and David
2022-09-12   2022-09-13 ics/david-enrich-trump-gop.html               Broke With Trump                          Enrich                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/us/polit New Hampshire GOP Scrambles to Thwart       By Trip Gabriel and Michael C
2022-09-12   2022-09-13 ics/new-hampshire-gop-primaries.html          Bids by Trump Acolytes                    Bender                           TX 9-213-471   2022-11-01
                                                                                                                By Glenn Thrush Maggie
                        https://www.nytimes.com/2022/09/12/us/polit Justice Dept Issues 40 Subpoenas in Jan 6   Haberman Adam Goldman and
2022-09-12   2022-09-13 ics/trump-aides-jan-6-doj.html              Inquiry                                     Alan Feuer                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/us/polit Trump Asks Judge To Keep Blocking FBI
2022-09-12   2022-09-13 ics/trump-doj-special-master.html           From Classified Files                       By Alan Feuer and Charlie Savage TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/well/liv
2022-09-12   2022-09-13 e/lymphatic-drainage-gua-sha.html           Unblocking Lymphatic Flow                   By Hannah Seo                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/world/e
                        urope/anti-monarchists-king-charles-queen- UKs AntiMonarchists Hope to Sway Public
2022-09-12   2022-09-13 elizabeth.html                              Opinion                                     By Patrick Kingsley              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/world/e Heads of State Around Globe Plan to Attend
2022-09-12   2022-09-13 urope/biden-queen-funeral-guest-list.html   Royal Funeral                               By Cora Engelbrecht              TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/12/world/e
2022-09-12   2022-09-13 urope/britain-constitutional-monarchy.html King Will Uphold Constitutional Monarchy By Peter Robins                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/world/e
                        urope/king-charles-liz-truss-queen-         In First Week Truss Juggles Economic Crisis
2022-09-12   2022-09-13 elizabeth.html                              With a Nations Mourning                     By Mark Landler                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/world/e
                        urope/queen-elizabeth-funeral-king-charles- Thousands Join King in Scotland for Queens By Stephen Castle and Mark
2022-09-12   2022-09-13 scotland.html                               Final Tour of Capital                       Landler                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/world/e New Zealand Leader Affirms Support for
2022-09-12   2022-09-13 urope/queen-elizabeth-new-zealand.html      Shift to Republic                           By Natasha Frost                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/world/e
2022-09-12   2022-09-13 urope/russia-putin-ukraine-war.html         Russians Start A Blame Game As Losses Rise By Anton Troianovski              TX 9-213-471   2022-11-01




                                                                                Page 4239 of 5793
                        https://www.nytimes.com/2022/09/12/world/e
                        urope/ukraine-russia-offensive-whats-      After Big Gains Ukrainians Face Critical
2022-09-12   2022-09-13 next.html                                  Choices                                     By Thomas GibbonsNeff            TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/12/world/e Ukraines Battlefield Wins May Bolster EU
2022-09-12   2022-09-13 urope/ukraines-success-europe-russia.html    Support                                    By Steven Erlanger              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/world/e
                        urope/zaporizhzhia-nuclear-plant-            Talks Open To End Fighting That Imperils A By Marc Santora and David E
2022-09-12   2022-09-13 negotiations.html                            Power Plant                                Sanger                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/world/ Chasing a Few Hours of Electricity In the     By Raja Abdulrahim and Laura
2022-09-12   2022-09-13 middleeast/lebanon-blackouts.html            Middle of the Night                        Boushnak                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/arts/tele
2022-09-13   2022-09-13 vision/emmys-2022-review.html                Light Humor Wears Thin At This Party       By Mike Hale                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/science                                              By Franz Lidz and Meghan
2022-09-13   2022-09-13 /archaeology-mayan-mexico.html               Traces of a Dynasty                        Dhaliwal                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/science Tread Very Lightly Were Hunting For Tiny By Jessica Suarez and Oliver
2022-09-13   2022-09-13 /chittenango-snails-conservation.html        Snails                                     Whang                           TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/13/sports/s Ajax Cranks Out the Stars of the Future but
2022-09-13   2022-09-13 occer/ajax-liverpool-champions-league.html Not Its Future                               By Rory Smith                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/world/e As UK Cut Back Charles Expanded His
2022-09-13   2022-09-13 urope/king-charles-wealth.html              Riches                                      By Jane Bradley and Euan Ward   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/dining/
                        drinks/schaller-weber-upper-east-side-
2022-09-08   2022-09-14 jeremys.html                                Schaller amp Weber to Open a Cocktail Bar By Robert Simonson                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/busines For Lifes Big Moments Japan Sends a
2022-09-09   2022-09-14 s/japan-telegrams.html                      Telegram                                    By Ben Dooley and Hikari Hida   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/dining/
2022-09-09   2022-09-14 one-pot-one-pan-recipes.html                A Clean Sweep With These Offerings          By Melissa Clark                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/sports/h
                        orse-racing/real-players-backstretch-horse-
2022-09-09   2022-09-14 racing.html                                 Capturing a Vanishing Slice of Horse Racing By Joe Drape                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/arts/dia Diane Noomin 75 Dies Revolutionary
2022-09-11   2022-09-14 ne-noomin-dead.html                         Cartoonist With Wry Feminist Voice          By Penelope Green               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/dining/
2022-09-12   2022-09-14 challah-recipe.html                         Bread With a Forgiving Holiday Spirit       By Claire Saffitz               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/dining/
2022-09-12   2022-09-14 chambers-review-pete-wells.html             Wine Lovers Can Rejoice Over a Reset        By Pete Wells                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/dining/ To Simmer Get the Exact Dashi You Need in
2022-09-12   2022-09-14 dashi-okume-greenpoint-brooklyn.html        Brooklyn                                    By Florence Fabricant           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/dining/
2022-09-12   2022-09-14 drinks/beaujolais-wine-review.html          A Dozen Reasons to Drink Beaujolais         By Eric Asimov                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/dining/f To Visit Food in New York Arrives in the
2022-09-12   2022-09-14 ood-in-new-york-exhibit.html                City                                        By Florence Fabricant           TX 9-213-471   2022-11-01




                                                                                Page 4240 of 5793
                        https://www.nytimes.com/2022/09/12/dining/ To Taste Nonalcoholic Beverages And a
2022-09-12   2022-09-14 sechey-nonalcoholic-west-village.html        Tasting Counter                              By Florence Fabricant         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/dining/t To Stack Add a Bit of Art To the Breakfast
2022-09-12   2022-09-14 akashi-murakami-pancake-pan.html             Platter                                      By Florence Fabricant         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/dining/t To Prepare Tom Colicchios New Pasta
2022-09-12   2022-09-14 om-colicchios-pasta-sauce.html               Sauces                                       By Florence Fabricant         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/movies/
2022-09-12   2022-09-14 knives-out-glass-onion-guide.html            The NoSpoilers Guide to Glass Onion          By Kyle Buchanan              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/opinion
2022-09-12   2022-09-14 /eliza-fletcher-memphis-violence.html        A Human Tragedy Is Not a Morality Play       By Margaret Renkl             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/opinion Election Skepticism Is on the Ballot in
2022-09-12   2022-09-14 /mark-finchem-arizona-trump.html             Arizona                                      By Katherine Miller           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/arts/tele
2022-09-13   2022-09-14 vision/emmys-succession-ted-lasso.html       Emmys May Mark the Peak of Peak TV           By John Koblin                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/arts/mu Notes of Tradition for Queen Elizabeth IIs
2022-09-13   2022-09-14 sic/queen-elizabeth-ii-funeral-music.html    Funeral                                      By Imani Danielle Mosley      TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/13/arts/mu
2022-09-13   2022-09-14 sic/terri-lyne-carrington-new-standards.html Women in Jazz Get Their Due                  By Ayana Contreras            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/arts/pen
2022-09-13   2022-09-14 america-free-speech-rushdie.html             PEN America Defends A Right Under Siege      By Jennifer Schuessler        TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/13/arts/tele
2022-09-13   2022-09-14 vision/best-worst-moments-2022-emmys.html The Best and Worst of the Emmys                 By The New York Times         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/books/a
2022-09-13   2022-09-14 ndrew-sean-greer-less-is-lost.html           Hes Pretty Serious About Being Funny         By Alexandra Alter            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/books/r
2022-09-13   2022-09-14 eview/ian-mcewan-lessons.html                Lust for Life Well Not Really                By Molly Young                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/busines
                        s/economy/income-poverty-census-             Pandemic Aid Cut Poverty To a Record Low     By Lydia DePillis and Jason
2022-09-13   2022-09-14 bureau.html                                  in 2021                                      DeParle                       TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/13/busines Inflation Defying Efforts From Fed to Cool
2022-09-13   2022-09-14 s/economy/inflation-cpi-federal-reserve.html Economy                                       By Jeanna Smialek            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/busines
2022-09-13   2022-09-14 s/hospitals-pandemic-flexible-space.html     Redesigning Hospitals for Greater Flexibility By Debra Kamin               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/busines Markets Fall As Inflation Gives Pause To
2022-09-13   2022-09-14 s/markets-inflation-stocks.html              Investors                                     By Joe Rennison              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/busines
                        s/starbucks-reinvention-strategy-
2022-09-13   2022-09-14 employees.html                               Starbucks Is Planning For Changes             By Julie Creswell            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/climate
2022-09-13   2022-09-14 /climate-law-tax-credits.html                How New Climate Law Can Help Consumers By Coral Davenport                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/dining/ To Appreciate Recipes From Survivors Of
2022-09-13   2022-09-14 honey-cake-latkes-auschwitz-birkenau.html AuschwitzBirkenau                                By Florence Fabricant        TX 9-213-471   2022-11-01



                                                                                  Page 4241 of 5793
                        https://www.nytimes.com/2022/09/13/dining/
2022-09-13   2022-09-14 hungarian-jewish-honey-cake.html           Not Your Average Honey Cake                By Joan Nathan                  TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/dining/
2022-09-13   2022-09-14 nyc-pizza-guide-best-clam-pie.html         A LifeChanging Clam Pizza                  By Nikita Richardson            TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/dining/ The Porch Featuring Smokehouse Favorites
2022-09-13   2022-09-14 nyc-restaurant-news.html                   Opens in Sugar Hill                        By Florence Fabricant           TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/13/dining/r
2022-09-13   2022-09-14 ecipe-requests-social-media-commenters.html The Torment of the Recipe Guy              By Tejal Rao                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/health/s
2022-09-13   2022-09-14 usan-l-solomon-dead.html                    Susan L Solomon 71 Stem Cell Advocate      By Sam Roberts                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/movies/ Nine of Godards Movies Are Available to
2022-09-13   2022-09-14 godard-films-streaming.html                 Stream                                     By Noel Murray                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/movies/ Its Impossible to Measure Godards Impact on
2022-09-13   2022-09-14 jean-luc-godard-appreciation.html           Cinema                                     By Manohla Dargis              TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/movies/ JeanLuc Godard Master of French New Wave By Dave Kehr and Jonathan
2022-09-13   2022-09-14 jean-luc-godard-dead.html                   Is Dead at 91                              Kandell                        TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/nyregio Cuomo Files State Ethics Complaint Against
2022-09-13   2022-09-14 n/andrew-cuomo-letitia-james.html           New York Attorney General                  By Luis FerrSadurn             TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/13/nyregio Deaths of Three Children Found at Coney    By Chelsia Rose Marcius and Andy
2022-09-13   2022-09-14 n/coney-island-drowning-homicide-kids.html Island Are Ruled Homicides by Drowning     Newman                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/nyregio Trump Republican Latches Onto Unreceptive By Jesse McKinley and Dana
2022-09-13   2022-09-14 n/eric-adams-lee-zeldin-ny-governor.html    Adams                                     Rubinstein                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/nyregio Private Schools Told Teach Students Basics By Brian M Rosenthal and Eliza
2022-09-13   2022-09-14 n/new-york-rules-yeshivas.html              Or Lose State Funding                     Shapiro                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/opinion
2022-09-13   2022-09-14 /putin-ukraine-winter.html                  Putins New Cold War Freeze Europe         By Thomas L Friedman             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/opinion
2022-09-13   2022-09-14 /ukraine-war-biden.html                     Ukraines Achievement Belongs to Biden Too By Bret Stephens                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/sports/b
2022-09-13   2022-09-14 aseball/mike-trout-home-run-streak.html     Trouts Streak Put Him In Good Company     By Benjamin Hoffman              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/sports/b
                        asketball/aja-wilson-dawn-staley-las-vegas- Under Staleys Watch Wilson Couldnt Hide
2022-09-13   2022-09-14 aces.html                                   Nothing Has Changed                       By Kris Rhim                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/sports/b
                        asketball/phoenix-suns-robert-sarver-       NBA Suspends and Fines Suns Owner for     By Scott Cacciola and Tania
2022-09-13   2022-09-14 suspended.html                              Workplace Misconduct                      Ganguli                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/sports/f
                        ootball/seahawks-broncos-russell-wilson-
2022-09-13   2022-09-14 score.html                                  Wilson Booed in Losing Return to Seattle  By Ken Belson                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/technol Crypto Bank Plots Comeback After
2022-09-13   2022-09-14 ogy/celsius-network-crypto.html             Bankruptcy Filing                         By David YaffeBellany            TX 9-213-471   2022-11-01




                                                                              Page 4242 of 5793
                        https://www.nytimes.com/2022/09/13/technol
                        ogy/twitter-whistle-blower-security-        Twitter Disregarded Alarm Over Foreign
2022-09-13   2022-09-14 flaws.html                                  Infiltration WhistleBlower Says             By David McCabe and Kate Conger TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/13/theater/
2022-09-13   2022-09-14 music-man-broadway-closing.html             Music Man Run to End In January             By Michael Paulson               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/travel/a
2022-09-13   2022-09-14 irline-incident-sentence.html               Unruly Flier Is Sentenced To 4 Months       By Maria Cramer                  TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/us/larry-Philadelphia Prosecutor Found in Contempt
2022-09-13   2022-09-14 krasner-contempt-impeachment.html           by Pennsylvania House                       By Shaila Dewan                  TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/us/polit
2022-09-13   2022-09-14 ics/biden-inflation-report-economy.html     Spiking Costs Defy Bidens Rosy Outlook      By Jim Tankersley                TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/us/polit Ken Starr Whose Investigation Led to
2022-09-13   2022-09-14 ics/ken-starr-dead.html                     Clintons Impeachment Dies at 76             By Peter Baker                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/us/polit
                        ics/mary-peltola-first-alaska-native-
2022-09-13   2022-09-14 congress.html                               Peltolas Day of Firsts From Alaska to House By Emily Cochrane                TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/us/polit Archives Unsure if Trump Returned All
2022-09-13   2022-09-14 ics/national-archives-trump-records.html    Documents                                   By Luke Broadwater               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/us/polit
2022-09-13   2022-09-14 ics/republicans-abortion-national-ban.html  GOP Unable To Find Unity Over Abortion      By Lisa Lerer and Elizabeth Dias TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/us/polit Russia Secretly Spent 300 Million To Sway
2022-09-13   2022-09-14 ics/russia-election-interference.html       Elections Around the World                  By Edward Wong                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/13/us/polit After Gloomy War Game US Helped Ukraine By Julian E Barnes Eric Schmitt
2022-09-13   2022-09-14 ics/ukraine-russia-pentagon.html            Find a Better Strategy                      and Helene Cooper                TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/13/us/rape- Woman Sues San Francisco After DNA From
2022-09-13   2022-09-14 kit-dna-san-francisco.html                  Rape Kit Led to Her Arrest Years Later       By Eduardo Medina                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/us/west- West Virginia Is Second State to Pass Ban on
2022-09-13   2022-09-14 virginia-abortion.html                      Abortion Since Roe Ruling                    By Campbell Robertson            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/world/a
                        frica/kenya-president-william-ruto-         After Bitter Election Crowds and Confetti
2022-09-13   2022-09-14 inauguration.html                           Greet Kenyas New President                   By Abdi Latif Dahir              TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/13/world/a US Sees Mexico as Manufacturing Hub but
2022-09-13   2022-09-14 mericas/us-mexico-investments-biden.html    Investors Are Wary                           By Ana Swanson                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/world/a Friendship With Putin Doesnt Mean That Xi By Keith Bradsher Anton
2022-09-13   2022-09-14 sia/china-russia-xi-putin.html              Will Fully Cast His Lot                      Troianovski and Jane Perlez      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/world/a
2022-09-13   2022-09-14 sia/squid-game-emmy-south-korea.html        South Korea Flexes Its Cultural Muscle       By Jin Yu Young                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/world/a After Months of Protests and Crises Sri Lanka By Skandha Gunasekara and Mike
2022-09-13   2022-09-14 sia/sri-lanka-asia-cup-cricket-netball.html Has Something to Celebrate                   Ives                             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/world/a
2022-09-13   2022-09-14 sia/xi-jinping-china-biden.html             Biden Faces Dual Threat Xi and Putin         By Jane Perlez                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/world/a Australia Man Fatally Injured By Kangaroo
2022-09-13   2022-09-14 ustralia/man-killed-kangaroo.html           He Had as Pet                                By Yan Zhuang                    TX 9-213-471   2022-11-01



                                                                                Page 4243 of 5793
                        https://www.nytimes.com/2022/09/13/world/e Clash Between Armenia and Azerbaijan           By Carlotta Gall and Matina
2022-09-13   2022-09-14 urope/armenia-azerbaijan-conflict.html       Raises Fears of a Broader Conflict           StevisGridneff                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/world/e Royal Providers of Sweetness Are Told of
2022-09-13   2022-09-14 urope/bees-queen-elizabeth.html              Elizabeths Death                             By Daniel Victor                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/world/e Sorrow and Symbolism on Vivid Display as
2022-09-13   2022-09-14 urope/king-charles-northern-ireland.html     Charles Visits Northern Ireland              By Mark Landler                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/world/e Londoners Line the Streets to Catch a
2022-09-13   2022-09-14 urope/king-charles-queen-elizabeth.html      Glimpse of the Royal Coffin                  By Megan Specia                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/world/e
                        urope/princess-diana-camilla-queen-          Finding Comfort and Forgiveness in the
2022-09-13   2022-09-14 elizabeth.html                               Fullness of Time                             By Sarah Lyall                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/world/e In Ukrainian Towns Russia Fled Signs of a      By Andrew E Kramer and Jeffrey
2022-09-13   2022-09-14 urope/ukraine-russia-retreat-morale.html     Hasty Scared Retreat                         Gettleman                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/ These 97 Members of Congress Reported
                        13/us/politics/congress-members-stock-       Trades in Companies Influenced by Their      By Alicia Parlapiano Adam
2022-09-13   2022-09-14 trading-list.html                            Committees                                   Playford Kate Kelly and Ege Uz   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/us/polit In Testimony Families of Sandy Hook
2022-09-14   2022-09-14 ics/alex-jones.html                          Victims Recall Pain Caused by Joness Lies    By Elizabeth Williamson          TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/13/us/polit Despite Flurry of Subpoenas Decisions in Jan By Katie Benner and Adam
2022-09-14   2022-09-14 ics/jan-6-justice-department-subpoenas.html 6 Inquiry Remain Unclear                     Goldman                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/climate Helping Cities Evict a Climate Villain
2022-09-14   2022-09-14 /oil-gas-furnace-heat-pump.html             Lurking in the Basement                      By Somini Sengupta                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/insider/
2022-09-14   2022-09-14 jack-nicas-brazil.html                      One Bureau Chief Five Countries              By Terence McGinley               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/sports/f
                        ootball/nfl-wr-davante-adams-amari-         Catch This Some Teams Dont Think It
2022-09-14   2022-09-14 cooper.html                                 Matters                                      By Mike Tanier                    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/14/us/polit Primary Season Ends With a Political
2022-09-14   2022-09-14 ics/election-abortion-midterms-inflation.html Landscape Vastly Transformed           By Jonathan Weisman                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/15/well/m Here to Help What Types of Exercise Reduce
2022-08-15   2022-09-15 ove/exercise-dementia-risk.html               Dementia Risk                          By Rachel Fairbank                    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/09/arts/el-
2022-09-09   2022-09-15 anatsui-bernardine-evaristo-rolex-mentor.html Mentors Named for Rolex Arts Initiative     By Roslyn Sulcas                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/style/eri
2022-09-09   2022-09-15 c-adams-clothes.html                          Who Is the Mayor Wearing                    By Jessica Testa                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/style/ge
2022-09-10   2022-09-15 rman-larkin-photographer.html                 He Took a Shot and It Paid Off              By Katie Kiefner                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/style/lin
2022-09-10   2022-09-15 da-evangelista-fendi-baguette.html            A Purse and a Model Create a Late90s Feel   By Vanessa Friedman              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/10/style/ne
2022-09-10   2022-09-15 w-york-fashion-week-comedians.html            The Jokes on Fashion Week With This Show    By John Ortved                   TX 9-213-471   2022-11-01




                                                                                Page 4244 of 5793
                        https://www.nytimes.com/2022/09/11/style/m
2022-09-11   2022-09-15 arni-new-york-fashion-week.html              Marni Makes Magic Under the Bridge          By Vanessa Friedman                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/us/gwe Gwendolyn Midlo Hall 93 Who Dug Deep to
2022-09-11   2022-09-15 ndolyn-midlo-hall-dead.html                  Retrieve Enslaved Peoples Identities        By Clay Risen                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/nyregio
                        n/nyc-congestion-pricing-manhattan-          Plan to Tame Traffic in Manhattan Could
2022-09-12   2022-09-15 bronx.html                                   Choke the Bronx                             By Ana Ley                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/style/tel Somewhere Inside the Rainbow Store a Telfar
2022-09-12   2022-09-15 far-rainbow-bag.html                         Bag                                         By Isabella Paoletto                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/arts/mu Ramsey Lewis Jazz Pianist Who Found
2022-09-13   2022-09-15 sic/ramsey-lewis-dead.html                   Groove on Pop Charts Dies at 87             By Peter Keepnews                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/busines A 100 Million Bet on Finding the Next
2022-09-13   2022-09-15 s/media/mr-beast-night-capital.html          YouTube Megastar                            By Benjamin Mullin                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/crossw
                        ords/hans-niemann-magnus-carlsen-cheating- After the World Champion Is Upset Whispers
2022-09-13   2022-09-15 accusation.html                              of Cheating Roil the Sport                  By Greg Keener                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/opinion                                               By Elizabeth Milch and Olivia
2022-09-13   2022-09-15 /david-milch-memoir.html                     Our Father the Unreliable Narrator          Milch                               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/opinion Israel Can Do More to Prevent Civilian
2022-09-13   2022-09-15 /israel-civilian-casualties.html             Casualties                                  By Serge Schmemann                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/style/ny
2022-09-13   2022-09-15 fw-mens-day.html                             Male Clothing That Goes With the Flow       By Guy Trebay                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/arts/dan
2022-09-14   2022-09-15 ce/florentina-holzinger-ophelia.html         Making Everyone Uncomfortable by Design By Thomas Rogers                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/arts/des
                        ign/christies-baltimore-gallery-black-       A Christies Collaboration Is Focusing On
2022-09-14   2022-09-15 artists.html                                 Diversity                                   By Robin Pogrebin                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/arts/mu Decades Later a Producer Is the Focus of a
2022-09-14   2022-09-15 sic/charles-stepney-step-on-step.html        Deep Dive                                   By Marcus J Moore                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/arts/mu Kelly Is Convicted in Case Involving Videos
2022-09-14   2022-09-15 sic/r-kelly-guilty-sex-abuse-video-girl.html of Girl 14                                  By Julia Jacobs and Robert Chiarito TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/arts/tele
                        vision/raanan-hershberg-jokes-from-the-
2022-09-14   2022-09-15 underground-youtube.html                     Mastering the Art Of Losing All Control     By Jason Zinoman                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/books/
2022-09-14   2022-09-15 magnificent-rebels-andrea-wulf.html          They Preferred to Sing a Song of Themselves By Jennifer Szalai                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/busines Britains Inflation Rate Slows Slightly to 99
2022-09-14   2022-09-15 s/britain-inflation.html                     Percent                                     By Eshe Nelson                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/busines
                        s/energy-environment/russia-saudi-oil-putin- Ostracized By West Russia Aligns With
2022-09-14   2022-09-15 mbs.html                                     Saudis                                      By Clifford Krauss                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/busines Googles Appeal of Fine Is Denied by EU
2022-09-14   2022-09-15 s/eu-google-antitrust-fine.html              Court                                       By Adam Satariano                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/busines Possible Chaos for Business Scarcity for
2022-09-14   2022-09-15 s/freight-rail-strike-supply-chain.html      Consumers and Fuel for Prices               By Peter S Goodman                  TX 9-213-471   2022-11-01



                                                                                 Page 4245 of 5793
                        https://www.nytimes.com/2022/09/14/busines
2022-09-14   2022-09-15 s/social-security-cola-increase.html       Social Security Rises to Cover Cost of Living By Mark Miller                 TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/14/climate Oil Executives Changed Their Climate Tone
2022-09-14   2022-09-15 /oil-industry-documents-disinformation.html in Private Files Show                        By Hiroko Tabuchi                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/climate
                        /patagonia-climate-philanthropy-             Billionaire Gives Away His Company to Fight
2022-09-14   2022-09-15 chouinard.html                               Climate Change                              By David Gelles                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/movies/
2022-09-14   2022-09-15 honk-for-jesus-church-satires.html           Whats So Funny About Faith                  By Maya Phillips                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/movies/ Irene Papas 96 Star Of Tales About Zorba
2022-09-14   2022-09-15 irene-papas-dead.html                        And Other Greeks Dies                       By Anita Gates                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/nyregio
                        n/bennett-cuomo-lawsuit-sexual-              ExAssistant Sues Cuomo Claiming
2022-09-14   2022-09-15 harassment.html                              Harassment                                  By Luis FerrSadurn               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/nyregio Mother 30 Is Charged In Drowning Of           By Chelsia Rose Marcius and Andy
2022-09-14   2022-09-15 n/erin-merdy-coney-island.html               Children                                    Newman                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/nyregio
                        n/legionnaires-outbreak-nursing-home-        Legionnaires Is Suspected In 2 Deaths In
2022-09-14   2022-09-15 nyc.html                                     Manhattan                                   By Hurubie Meko                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/nyregio Bomb Scare Murder Fights Thousands of 911
2022-09-14   2022-09-15 n/nyc-911-calls-riverside-drive.html         Calls at One Site                           By Michael Wilson                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/nyregio New York Lags Other Big Cities In Job
2022-09-14   2022-09-15 n/nyc-covid-job-losses.html                  Recovery                                    By Nicole Hong and Matthew Haag TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/14/opinion
2022-09-14   2022-09-15 /abortion-roe-exceptions.html                Can Exceptions to a Ban on Abortion Work By Ross Douthat                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/opinion
2022-09-14   2022-09-15 /women-candidate-2022.html                   Britain 3 America 0                         By Gail Collins                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/sports/b With Some Tough Encouragement Aces
2022-09-14   2022-09-15 asketball/aces-sun-wnba-finals.html          Move to the Brink of a Title                By Kris Rhim                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/sports/b
                        asketball/adam-silver-nba-robert-sarver-
2022-09-14   2022-09-15 suns.html                                    Conduct Is Indefensible                     By Tania Ganguli                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/sports/b
                        asketball/robert-sarver-phoenix-suns-
2022-09-14   2022-09-15 owner.html                                   Its Time To Say Enough Yet Again            By Kurt Streeter                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/sports/b
2022-09-14   2022-09-15 oston-nonbinary-runners-marathon.html        Nonbinary Runners Are Gaining Ground        By Talya Minsberg                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/style/ba
                        gs-shopping-where-the-rust-belt-meets-the-
2022-09-14   2022-09-15 runway.html                                  The Midwest Makes Its Way to New York       By Jessica Testa                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/style/lit
2022-09-14   2022-09-15 tle-dresses-for-big-nights.html              Aloft With the Denizens of Styles Penthouse By Jessica Iredale               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/style/ny
2022-09-14   2022-09-15 fw-party-photos.html                         The Frenetic Pulse Of Fashion Week          By Denny Lee                     TX 9-213-471   2022-11-01



                                                                                Page 4246 of 5793
                        https://www.nytimes.com/2022/09/14/technol
                        ogy/california-files-antitrust-lawsuit-against-                                          By Karen Weise and David
2022-09-14   2022-09-15 amazon.html                                     Antitrust Suit Vs Amazon By California   McCabe                        TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/14/technol
2022-09-14   2022-09-15 ogy/personaltech/texting-ios-android.html       A Wish List to Enhance Text Messaging    By Brian X Chen               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/14/technol Lawmakers Question Top TikTok Executive
2022-09-14   2022-09-15 ogy/tiktok-china-senate.html                    About Companys Ties to China             By David McCabe               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/14/theater/
2022-09-14   2022-09-15 little-amal-puppet-new-york-city.html           On Stilts to Make Refugees Visible       By Matt Stevens               TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/14/us/polit US Sets Up Trust With 35 Billion in Frozen
2022-09-14   2022-09-15 ics/afghanistan-central-bank-switzerland.html Assets to Aid Afghan Economy              By Charlie Savage                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/us/polit Pelosi Promises Bill to Limit Lawmakers     By Kate Kelly and Alicia
2022-09-14   2022-09-15 ics/congress-stock-trading-legislation.html   Trades                                    Parlapiano                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/us/polit In Detroit Biden Announces Money for        By Zach Montague and Coral
2022-09-14   2022-09-15 ics/detroit-biden-charging-stations.html      Charging Stations                         Davenport                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/us/polit Durham Investigation Starting to Wind Down By Katie Benner Adam Goldman
2022-09-14   2022-09-15 ics/durham-inquiry-trump-russia.html          As Grand Jury Expires                     and Charlie Savage               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/us/polit US to Move Forward on Military Aid to
2022-09-14   2022-09-15 ics/egypt-military-aid-biden.html             Egypt Despite Rights Concerns             By Edward Wong and Vivian Yee TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/14/us/polit US Charges 3 Iranians In Wide Hacking
2022-09-14   2022-09-15 ics/iran-hacking-cyberattacks.html            Scheme                                    By Glenn Thrush                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/us/polit
                        ics/mike-lindell-search-warrant-              Inquiry Into Colorado Clerk Reaches       By Charles Homans Ken Bensinger
2022-09-14   2022-09-15 investigation.html                            MyPillow Chief                            Alexandra Berzon and Alan Feuer TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/14/us/polit With Rail Strike Inching Closer Biden Urges By Jim Tankersley and Ana
2022-09-14   2022-09-15 ics/rail-strike-biden.html                    Sides to Reach Deal                       Swanson                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/us/polit Cosmetics Billionaire Convinced Trump the
2022-09-14   2022-09-15 ics/trump-greenland.html                      US Should Buy Greenland                   By Peter Baker                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/us/polit In Legal Fight Over Documents a Lot of
2022-09-14   2022-09-15 ics/trump-presidential-records-act.html       Smoke From the Former President           By Charlie Savage and Alan Feuer TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/14/us/supr Jewish University Loses Ruling in Suit Over
2022-09-14   2022-09-15 eme-court-yeshiva-university-gay-rights.html LGBT Group                                  By Adam Liptak                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/14/world/a Herms Bags and Cash The Fall of Malaysias
2022-09-14   2022-09-15 sia/malaysia-najib-rosmah-1mdb.html          First Couple                                By Richard C Paddock          TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/14/world/a Rising Despair As Floodwaters Engulf          By Christina Goldbaum Zia
2022-09-14   2022-09-15 sia/pakistan-floods.html                     Villages                                    urRehman and Kiana Hayeri     TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/14/world/a Xi Leaves Covid Bubble Traveling Outside
2022-09-14   2022-09-15 sia/xi-jinping-putin-china.html              China                                       By Austin Ramzy               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/14/world/e
                        urope/eu-ursula-von-der-leyen-russia-        A Top EU Official Seizing the Moment To
2022-09-14   2022-09-15 war.html                                     Stand Up to Putin                           By Matina StevisGridneff      TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/14/world/e Top European Court Condemns Frances
2022-09-14   2022-09-15 urope/france-isis-families.html              Refusal to Bring Home ISIS Families         By Constant Mheut             TX 9-213-471     2022-11-01



                                                                                Page 4247 of 5793
                        https://www.nytimes.com/2022/09/14/world/e
                        urope/queen-elizabeth-funeral-procession-   With Solemn Pomp Royal Family Entrusts
2022-09-14   2022-09-15 london.html                                 Queens Body to the State                  By Mark Landler                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/world/e In Russian Border City a War Feels Less
2022-09-14   2022-09-15 urope/russia-ukraine-border-belgorod.html   Distant                                   By Valerie Hopkins                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/world/e Swedens Right Wing Wins Slim Majority in a By Christina Anderson and Isabella
2022-09-14   2022-09-15 urope/sweden-election-result-right.html     Stunning Electoral Shift                  Kwai                               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/world/e Trapped in a City Under Siege and Wary of By Thomas GibbonsNeff Natalia
2022-09-14   2022-09-15 urope/ukraine-war-bakhmut-donbas.html       What Comes Next                           Yermak and Tyler Hicks             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/world/e Zelensky Visits City Recaptured In Eastern By Andrew E Kramer and Marc
2022-09-14   2022-09-15 urope/ukraine-zelensky-izium.html           Blitz                                     Santora                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/books/r
2022-09-15   2022-09-15 eview/new-pyschological-thrillers.html      Elderly Women Up to No Good               By Sarah Lyall                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/insider/
                        searching-for-common-ground-in-a-fractured-
2022-09-15   2022-09-15 political-landscape.html                    Wrestling With Democracys Meaning         By Emmett Lindner                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/sports/s Hollywood Merger Could Reshape Transfer
2022-09-15   2022-09-15 occer/soccer-transfers-agents.html          Market                                    By Rory Smith                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/us/polit Openness Becomes Issue in Pennsylvania    By Katie Glueck Blake Hounshell
2022-09-15   2022-09-15 ics/fetterman-stroke-health.html            Race                                      and Gina Kolata                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/us/eliza Elizabeth Bailey 83 Economist and First
2022-09-09   2022-09-16 beth-bailey-dead.html                       Woman on the Civil Aeronautics Board      By Neil Genzlinger                 TX 9-213-471   2022-11-01

                        https://www.nytimes.com/interactive/2022/09/ As Wildfires Grow Millions of Homes Are    By Nadja Popovich and Brad
2022-09-09   2022-09-16 09/climate/growing-wildfire-risk-homes.html Being Built in Harms Way                    Plumer                         TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/10/arts/mu Mable John 91 Is Dead A Pioneering RampB
2022-09-10   2022-09-16 sic/mable-john-dead.html                     Singer With a Sparkling Rsum               By Alex Williams               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/13/movies/
2022-09-13   2022-09-16 gameboys-the-movie-review.html               Gameboys The Movie                         By Kyle Turner                 TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/13/theater/
                        come-fall-in-love-ddlj-musical-              From Bollywood to Stage With a Contentious
2022-09-13   2022-09-16 bollywood.html                               Lead                                       By Cara Joy David              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/14/movies/
2022-09-14   2022-09-16 terra-femme-review.html                      Terra Femme                                By Ben Kenigsberg              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/14/opinion Chinas Covert Operations May Overwhelm
2022-09-14   2022-09-16 /international-world/china-espionage.html    Us                                         By Nigel Inkster               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/14/style/ro Rommy Hunt Revson 78 the Designer Of the
2022-09-14   2022-09-16 mmy-revson-dead.html                         Popular and Practical Scrunchie            By Richard Sandomir            TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/14/us/art- Art Rosenbaum Painter and Preserver of
2022-09-14   2022-09-16 rosenbaum-dead.html                          Traditional Music Dies at 83               By Richard Fausset             TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/15/arts/dan
                        ce/dance-theater-of-harlem-robert-
2022-09-15   2022-09-16 garland.html                                 A New Leader for Dance Theater             By Julia Jacobs                TX 9-213-471     2022-11-01




                                                                               Page 4248 of 5793
                        https://www.nytimes.com/2022/09/15/arts/des
2022-09-15   2022-09-16 ign/bharti-kher-statue-central-park-india.html An Ancestor Thats Meant for Everyone     By Siddhartha Mitter           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/arts/des
                        ign/hew-locke-review-metropolitan-
2022-09-15   2022-09-16 museum.html                                    Trophies of Power or Dismay              By Holland Cotter              TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/15/arts/mu
2022-09-15   2022-09-16 sic/rina-sawayama-hold-the-girl-review.html Swaddling Her Inner Child                     By Lindsay Zoladz            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/arts/mu
                        sic/wet-ink-ensemble-orlando-furioso-kate- Outshining a Premiere a Group Claims the
2022-09-15   2022-09-16 soper-hex-review.html                        Stage                                        By Seth Colter Walls         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/arts/tele
2022-09-15   2022-09-16 vision/los-espookys-sheng-wang.html          This Weekend I Have                          By Margaret Lyons            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/busines A Rebellion By Workers As Railroads Get        By Noam Scheiber and Niraj
2022-09-15   2022-09-16 s/economy/railroad-workers-strike.html       Leaner                                       Chokshi                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/busines FedEx Slashes Forecast Citing Global
2022-09-15   2022-09-16 s/fedex-lowers-revenue-forecast.html         Slowdowns                                    By Benjamin Mullin           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/busines Yellen Vows 5000 IRS Hires To Help
2022-09-15   2022-09-16 s/janet-yellen-5000-irs-hires.html           Respond to Taxpayers                         By Alan Rappeport            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/busines
                        s/justice-department-corporate-
2022-09-15   2022-09-16 compliance.html                              Justice Dept Offers a Carrot To Corporations By Ephrat Livni              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/busines HipHop Mogul Ends His Partnership With the By Jordyn Holman and Vanessa
2022-09-15   2022-09-16 s/kanye-west-yeezy-gap.html                  Gap                                          Friedman                     TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/15/busines
2022-09-15   2022-09-16 s/media/cnn-overhauls-its-morning-show.html CNN Is Set to Overhaul Morning Show         By John Koblin                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/busines
2022-09-15   2022-09-16 s/mortgage-rates.html                       In US Rate On Mortgage Exceeds 6            By Tara Siegel Bernard         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/busines
                        s/newsom-california-children-online-        Sweeping California Law Could Reshape
2022-09-15   2022-09-16 safety.html                                 Childrens Safety Online                     By Natasha Singer              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/busines
2022-09-15   2022-09-16 s/rail-strike.html                          Tentative Deal Avoids Strike by Rail Unions By Jim Tankersley              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/busines Shells Chief Executive to Step Down at Years
2022-09-15   2022-09-16 s/shell-ceo-van-beurden.html                End                                         By Stanley Reed                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/busines Delay Imperils Financing For Trump Media
2022-09-15   2022-09-16 s/trump-media-pipe-spac.html                Merger                                      By Matthew Goldstein           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/climate Study of Pakistans Floods Shows Signs of
2022-09-15   2022-09-16 /pakistan-floods-global-warming.html        Climate Change at Work                      By Raymond Zhong               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/climate Some School Districts Find Fiscal Relief by
2022-09-15   2022-09-16 /solar-energy-school-funding.html           Turning Toward the Sun                      By Cara Buckley                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/health/f FDA Relies on Funding From the Drug
2022-09-15   2022-09-16 da-drug-industry-fees.html                  Companies It Oversees                       By Christina Jewett            TX 9-213-471   2022-11-01



                                                                                 Page 4249 of 5793
                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-16 casablanca-beats-review.html               Casablanca Beats                           By Austin Considine              TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-16 confess-fletch-review.html                 Confess Fletch                             By Nicolas Rapold                TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-16 drifting-home-review.html                  Drifting Home                              By Maya Phillips                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-16 four-winters-review.html                   Four Winters                               By Nicolas Rapold                TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/movies/ Wisps of Menace Hang in the Crisp Mountain
2022-09-15   2022-09-16 gods-country-review.html                   Air                                        By Manohla Dargis                TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-16 goodnight-mommy-review.html                Goodnight Mommy                            By Jeannette Catsoulis           TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-16 heathers-the-musical-review.html           Heathers The Musical                       By Elisabeth Vincentelli         TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-16 i-used-to-be-famous-review.html            I Used to Be Famous                        By Glenn Kenny                   TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-16 moonage-daydream-review-david-bowie.html So Much More Than a Space Oddity               By AO Scott                    TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-16 pearl-review.html                          Shes Got Tools That Shes Eager to Use        By AO Scott                    TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-16 riotsville-usa-review.html                 Riotsville USA                               By Glenn Kenny                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-16 see-how-they-run-review.html               See How They Run                             By Teo Bugbee                  TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-16 the-african-desperate-review.html          The African Desperate                        By Devika Girish               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-16 the-silent-twins-review.html               The Silent Twins                             By Beandrea July               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-16 the-woman-king-review-viola-davis.html     Warriors Come Out to Slay                    By Manohla Dargis              TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/15/nyregio Bid for New Casino in Manhattan Will Come By Dana Rubinstein Nicole Hong
2022-09-15   2022-09-16 n/casino-hudson-yards-manhattan.html       From a Top Developer and a Las Vegas Giant and Matthew Haag                 TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/15/nyregio New York Might File Suit After Rejecting     By Ben Protess Jonah E Bromwich
2022-09-15   2022-09-16 n/letitia-james-trump-settlement.html      Settlement Offer From Trump                  and William K Rashbaum          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/nyregio Influx of Migrants Tests New York City
2022-09-15   2022-09-16 n/nyc-homeless-shelters-migrants.html      Obligation To Shelter All Who Ask            By Jeffery C Mays              TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/opinion
2022-09-15   2022-09-16 /consumer-price-index.html                 Whos Afraid of the Consumer Price Index      By Paul Krugman                TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/opinion Theres Terrific News About the New Covid
2022-09-15   2022-09-16 /covid-booster-shot.html                   Boosters                                     By Zeynep Tufekci              TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/opinion
2022-09-15   2022-09-16 /strategy-defeat-donald-trump.html         There Still Is No Strategy to Defeat Trump   By David Brooks                TX 9-213-471    2022-11-01



                                                                                Page 4250 of 5793
                        https://www.nytimes.com/2022/09/15/sports/b
                        asketball/eurobasket-gobert-antetokounmpo- EuroBasket Has Returned After the Pandemic
2022-09-15   2022-09-16 doncic-jokic.html                               Heres What to You Need to Know               By Victor Mather                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/sports/f A Helmet Shortage Sends Costs Soaring For
2022-09-15   2022-09-16 ootball/football-helmet-shortage.html           US High Schools                              By Jer Longman                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/sports/n UConn Agrees to Pay 39 Million to Coach
2022-09-15   2022-09-16 caabasketball/uconn-pay-kevin-ollie.html        Fired Amid Recruiting Inquiry                By Billy Witz                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/sports/t Federer Announces Retirement Sign of
2022-09-15   2022-09-16 ennis/federer-retires-tennis.html               Tenniss Changing Times                       By Christopher Clarey             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/sports/t
                        ennis/roger-federer-came-along-when-tennis-
2022-09-15   2022-09-16 desperately-needed-him.html                     A Man of Grace On and Off the Court          By Matthew Futterman              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/sports/t
                        ennis/roger-federer-retires-rafael-nadal-novak-
2022-09-15   2022-09-16 djokovic.html                                   Changing of the Guard Might Come Slowly By David Waldstein                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/technol
2022-09-15   2022-09-16 ogy/ethereum-merge-crypto.html                  Can the Merge Save Crypto                    By David YaffeBellany             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/technol Merge a Watershed Moment for Crypto
2022-09-15   2022-09-16 ogy/merge-ethereum-crypto.html                  Comes With Risks                             By Kevin Roose                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/theater/
2022-09-15   2022-09-16 a-perfect-party-for-trees.html                  Celebrating Audiences Not Segregating Them By Laurel Graeber                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/theater/
2022-09-15   2022-09-16 eleri-ward-keep-a-tender-distance.html          Tracing The Gaps Between Desires             By Rob WeinertKendt               TX 9-213-471   2022-11-01
                                                                                                                     By Will Sennott Zolan
                        https://www.nytimes.com/2022/09/15/us/desa Migrants Sent to Marthas Vineyard as              KannoYoungs Eileen Sullivan and
2022-09-15   2022-09-16 ntis-abbott-migrants-immigration.html           Message                                      Patricia Mazzei                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/us/jova Judge Grants ExCoach a New Trial in the
2022-09-15   2022-09-16 n-vavic-usc-varsity-blues.html                  Varsity Blues Scandal                        By Anemona Hartocollis            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/us/mart A Surge of Venezuelans Presents a Special By Miriam Jordan and Remy
2022-09-15   2022-09-16 has-vineyard-venezuela-migrants.html            Case                                         Tumin                             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/us/mos
2022-09-15   2022-09-16 quito-fire-california.html                      Fire Becomes Largest of Year In California By Mike Ives                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/us/polit Biden Issues Order Aimed At Restricting
2022-09-15   2022-09-16 ics/biden-china-tech-executive-order.html       Investments By China in American Tech        By David E Sanger                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/us/polit President Denounces Prejudice and Swipes at
2022-09-15   2022-09-16 ics/biden-white-supremacy.html                  Trump                                        By Peter Baker                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/us/polit The Political Calculations Behind DeSantiss
2022-09-15   2022-09-16 ics/desantis-migrant-flights.html               Migrant Flights North                        By Blake Hounshell                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/us/polit 20 Election Denier Changes Tune After
2022-09-15   2022-09-16 ics/don-bolduc-nh.html                          Winning Primary                              By Maggie Astor                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/us/polit Earl J Silbert Who Led Prosecution of the
2022-09-15   2022-09-16 ics/earl-j-silbert-dead.html                    Watergate Burglars Dies at 86                By Richard Sandomir               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/us/polit
2022-09-15   2022-09-16 ics/house-federal-workers-trump.html            House Passes Bill to Protect Federal Workers By Catie Edmondson                TX 9-213-471   2022-11-01




                                                                                  Page 4251 of 5793
                        https://www.nytimes.com/2022/09/15/us/polit Angering Some in Party Democrats Delay
2022-09-15   2022-09-16 ics/senate-gay-marriage.html                Senate Vote on Gay Marriage                By Annie Karni                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/us/polit                                            By Charlie Savage Alan Feuer and
2022-09-15   2022-09-16 ics/trump-documents-special-master.html     Judge Upholds Order Blocking Trump Inquiry Glenn Thrush                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/a
                        mericas/argentina-assassination-attempt-    Attempt on Vice President Fuels Conspiracy By David Feliba Natalie Alcoba
2022-09-15   2022-09-16 hoax.html                                   Theories                                   and Jack Nicas                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/a
                        mericas/mexico-jose-rodriguez-perez-
2022-09-15   2022-09-16 students.html                               Mexican General Arrested in Disappearances By Oscar Lopez                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/a Arrest in Deaths of 2 Children in New
2022-09-15   2022-09-16 sia/new-zealand-south-korea.html            Zealand                                    By Natasha Frost                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/15/world/e Biden to Visit With Families Of Americans
2022-09-15   2022-09-16 urope/biden-brittney-griner-paul-whelan.html Held in Prison                          By Michael D Shear                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/e Russia Damages a Dam in Ukraine           By Oleksandr Chubko and Jeffrey
2022-09-15   2022-09-16 urope/dam-strike-russia-ukraine.html         Unleashing Fears of Flooding            Gettleman                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/e
                        urope/europe-wood-energy-                    EU Signals a Move Away From Wood Energy
2022-09-15   2022-09-16 deforestatation.html                         Aid                                     By Sarah Hurtes                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/e
                        urope/germany-holocaust-reparations-         Germany to Pay 12 Billion in Holocaust
2022-09-15   2022-09-16 ukraine.html                                 Reparations Including Ukraine Fund      By Erika Solomon                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/e HardRight Candidate Poised to Lead Italy
2022-09-15   2022-09-16 urope/giorgia-meloni-italy-right.html        Tries to Soften Edges                   By Jason Horowitz                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/e
                        urope/king-charles-swans-queen-              Ugly Duckling All Grown Up Now Belongs
2022-09-15   2022-09-16 elizabeth.html                               To New King                             By Daniel Victor                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/e Princess Annes Influence Rises In
2022-09-15   2022-09-16 urope/princess-anne-royal-influence.html     SlimmedDown Royal Family                By Mark Landler                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/e Chinas Support For Russias War Appears to By Anton Troianovski and Keith
2022-09-15   2022-09-16 urope/putin-china-ukraine.html               Slip                                    Bradsher                             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/e
2022-09-15   2022-09-16 urope/queen-elizabeth-funeral.html           Intricate Timeline for a Royal Funeral  By Emma Bubola                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/e Overnight Wait in London to Bid Farewell
2022-09-15   2022-09-16 urope/queen-lying-in-state-queue.html        and Be Part of History                  By Isabella Kwai                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/e Swedish FarRight Partys Rise Was Both     By Steven Erlanger and Christina
2022-09-15   2022-09-16 urope/sweden-election-far-right.html         Expected and Shocking                   Anderson                             TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/15/world/e Britains Health Agency Delete the Last
2022-09-15   2022-09-16 urope/uk-oxford-comma-health-agency.html Comma                                            By Euan Ward                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/
                        middleeast/israel-marvel-captain-america-
2022-09-15   2022-09-16 sabra.html                                 With Israeli Superhero Marvel Attracts Critics By Isabel Kershner              TX 9-213-471   2022-11-01




                                                                                 Page 4252 of 5793
                        https://www.nytimes.com/2022/09/15/movies/
                        do-revenge-review-strangers-on-a-text-
2022-09-16   2022-09-16 chain.html                                  Do Revenge                                 By Amy Nicholson                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/technol
2022-09-16   2022-09-16 ogy/uber-hacking-breach.html                Uber Opens Investigation Into Breach       By Kate Conger and Kevin Roose   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/world/e
2022-09-16   2022-09-16 urope/biden-ukraine-military-aid.html       US to Send More Matriel To Ukraine         By Eric Schmitt                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/arts/des
                        ign/de-kooning-sothebys-studio-east-
2022-09-16   2022-09-16 hampton.html                                Where Willem de Kooning Felt Free          By Arthur Lubow                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/insider/
                        what-shiva-taught-me-about-covering-
2022-09-16   2022-09-16 tragedy.html                                Covering a Tragedy Guided by Shiva         By Emma Goldberg                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/nyregio Transformative Greenway Will Connect 8
2022-09-16   2022-09-16 n/new-jersey-greenway.html                  New Jersey Municipalities                  By Tracey Tully                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/16/us/polit
2022-09-16   2022-09-16 ics/biden-democrats-abortion-trump-poll.html Polling Shows New Strength By Democrats   By Lisa Lerer and Nate Cohn      TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/13/theater/
2022-09-13   2022-09-17 michael-r-jackson-white-girl-in-danger.html White Girl in Danger To Run Off Broadway By Michael Paulson                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/arts/dan Misty Copeland Aims to Develop Ballets Next
2022-09-15   2022-09-17 ce/misty-copeland-diversity-ballet.html     Generation                                  By Javier C Hernndez            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/books/p Peter Davison 95 Who Was Orwell Scholar
2022-09-15   2022-09-17 eter-davison-dead.html                      on a Monumental Scale                       By Sam Roberts                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/15/busines
2022-09-15   2022-09-17 s/economy/inflation-markets-economy.html On Inflation Eyes Turn to Job Market          By Jeanna Smialek                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/climate In Louisianas Cancer Alley Judge Issues
2022-09-15   2022-09-17 /louisiana-judge-blocks-formosa-plant.html Another Blow to Massive Plastics Plant      By Lisa Friedman                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/dining/ Fred Franzia 79 Who Rattled Napa With His
2022-09-15   2022-09-17 drinks/fred-franzia-dead.html               TwoBuck Chuck Is Dead                      By Priya Krishna                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/us/nativ
                        e-american-remains-university-of-north-     3 Decades After a Law to Return Native
2022-09-15   2022-09-17 dakota.html                                 Remains Still Waiting                      By Mitch Smith and Julie Bosman TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/world/e Reclaiming a Rich Baritone From the Havoc
2022-09-15   2022-09-17 urope/ukraine-opera-singer.html             of Five Russian Bullets                    By Erika Solomon                 TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/15/technol
                        ogy/youtube-opens-more-pathways-for-        YouTube Is Set To Add Ways For Creators
2022-09-16   2022-09-17 creators-to-make-money-on-the-platform.html To Earn Money                              By Nico Grant                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/arts/des
2022-09-16   2022-09-17 ign/uk-royal-patronages.html                Wanted Royal Seal Of Approval              By Alex Marshall                 TX 9-213-471   2022-11-01




                                                                                Page 4253 of 5793
                                                                     Jorja Fleezanis 70 Energetic Violinist
                        https://www.nytimes.com/2022/09/16/arts/mu Dedicated Teacher and Pioneering
2022-09-16   2022-09-17 sic/jorja-fleezanis-dead.html                Concertmaster                               By David Allen                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/arts/mu
2022-09-16   2022-09-17 sic/julia-wolfe-her-story-review.html        Womens Suffrage Recalled With Fervor        By Joshua Barone                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/arts/tele
2022-09-16   2022-09-17 vision/mash-50th-anniversary.html            MASH at 50 Laugh Till You Cry               By James Poniewozik                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/books/b                                               By Alexandra Alter and Elizabeth
2022-09-16   2022-09-17 ook-bans.html                                Attempts to Ban Books Are Increasing        A Harris                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/busines
                        s/dara-khosrowshahi-ceo-uber-breach-
2022-09-16   2022-09-17 trial.html                                   Uber Boss Lost Trust in ExSecurity Chief    By Cade Metz                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/busines Air Traffic Controllers Strike in France
2022-09-16   2022-09-17 s/france-air-strike.html                     Cancels Flights                             By Jenny Gross                     TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/16/busines
                        s/germany-takes-over-russian-oil-subsidiary- Germany Takes Control Of Russian Oil
2022-09-16   2022-09-17 securing-control-of-key-refinery.html        Subsidiary                                    By Melissa Eddy                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/busines Herbert Kohler 83 Plumbing Mogul Who
2022-09-16   2022-09-17 s/herbert-kohler-dead.html                   Created a Golf Mecca Is Dead                  By Ed Shanahan                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/busines Weak Consumer Demand Leads Russias
2022-09-16   2022-09-17 s/russias-interest-rates.html                Central Bank To Cut Interest Rates Again      By Eshe Nelson                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/busines On Wall Street Gloom Spreads As Stocks
2022-09-16   2022-09-17 s/stock-market-economy.html                  Slide                                         By Joe Rennison                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/movies/
2022-09-16   2022-09-17 olivia-wilde-dont-worry-darling.html         As a Spectacle Swirls It May Devour a Film By Nicole Sperling                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/movies/
2022-09-16   2022-09-17 toronto-international-film-festival.html     In Toronto the Screens Are Stuffed Full Again By Manohla Dargis                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/nyregio                                                 By Nicole Hong and Emma
2022-09-16   2022-09-17 n/nyc-rto-subway-office-work.html            In Manhattan The Commute Is Alive Again Goldberg                               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/opinion The Asylum Crisis That DeSantis and Abbott
2022-09-16   2022-09-17 /migrants-marthas-vineyard.html              Are Exploiting                                By Farah Stockman                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/opinion
                        /nuclear-power-still-doesnt-make-much-       Nuclear Power Still Doesnt Make Much
2022-09-16   2022-09-17 sense.html                                   Sense                                         By Farhad Manjoo                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/opinion The World Now Has a Vision of Ukrainian
2022-09-16   2022-09-17 /ukraine-russia-counteroffensive.html        Victory                                       By Nataliya Gumenyuk             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/sports/b
                        asketball/nba-robert-sarver-suns-adam-       Calls for Removal of Suns Owner Come From
2022-09-16   2022-09-17 silver.html                                  Sponsor Minority Owner and Players            By Tania Ganguli                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/sports/b Free Pizza Easy Sleep Players Relish
2022-09-16   2022-09-17 asketball/wnba-charter-flights-finals.html   Upgrade From Commercial Jets                  By Kris Rhim                     TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/16/sports/b First TripleDouble in Finals History Helps
2022-09-16   2022-09-17 asketball/wnba-finals-sun-aces-game-3.html Sun Stay Alive Against Aces                   By Kris Rhim                       TX 9-213-471   2022-11-01



                                                                                 Page 4254 of 5793
                        https://www.nytimes.com/2022/09/16/sports/c Third Fight Between lvarez and Golovkin
2022-09-16   2022-09-17 anelo-ggg-fight.html                        Arrives Fashionably Late                    By Morgan Campbell              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/sports/g British Golfers Who Put Their Right Foot
2022-09-16   2022-09-17 olf/golf-left-handed.html                   Forward                                     By Jack Williams                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/sports/s Chile Loses Its Appeal to Oust Ecuador From
2022-09-16   2022-09-17 occer/chile-ecuador-world-cup.html          World Cup but Plans to Fight On             By Tariq Panja                  TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/sports/s
2022-09-16   2022-09-17 occer/psg-attack-diallo-hamraoui.html       Player Is Charged in Attack on Teammate     By Tariq Panja                  TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/sports/t
                        ennis/federer-stats-nadal-djokovic-career-  Which Man Has Been the Best Player The
2022-09-16   2022-09-17 numbers.html                                Numbers Give 3 Answers                      By Victor Mather                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/technol
2022-09-16   2022-09-17 ogy/gen-z-tiktok-search-engine.html         For Gen Z TikTok Is the New Search Engine By Kalley Huang                   TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/technol
2022-09-16   2022-09-17 ogy/tiktok-ceo-shou-zi-chew.html            The New Search Engine                       By Ryan Mac and Chang Che       TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/theater/
2022-09-16   2022-09-17 the-memory-exam-jasper-play.html            A Pair of New Plays Peer Into Dark Places   By Laura CollinsHughes          TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/travel/o Online Passport Renewal Will Soon Be
2022-09-16   2022-09-17 nline-passport-renewal.html                 Available Ending Piles of Paperwork         By Debra Kamin                  TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/us/calif
2022-09-16   2022-09-17 ornia-shasta-maga-trump.html                The California County Thats a Trump Bastion By Shawn Hubler                 TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/us/polit Moldy Buildings Ailing Prisoners
2022-09-16   2022-09-17 ics/guantanamo-bay-prison-cost.html         Guantnamos Endless Costs                    By Carol Rosenberg              TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/16/us/polit Colleagues Say Judge Was Ideal Pick to Serve
2022-09-16   2022-09-17 ics/judge-raymond-dearie-special-master.html In Special Master Role                      By Alan Feuer                  TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/16/us/polit Were the Migrant DropOffs Legal Its           By Zolan KannoYoungs and Eileen
2022-09-16   2022-09-17 ics/migrants-marthas-vineyard-desantis.html Complicated                                   Sullivan                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/us/polit Migrants DeSantis Sent to Marthas Vineyard By Remy Tumin and Michael D
2022-09-16   2022-09-17 ics/migrants-marthas-vineyard.html          Say They Were Misled                          Shear                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/us/polit Trumps Legal Team Marked by Infighting        By Maggie Haberman and Glenn
2022-09-16   2022-09-17 ics/trump-lawyers-herschmann.html           And Its Own Problems                          Thrush                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/us/polit Decades of Memos Trace Effort to Reshape
2022-09-16   2022-09-17 ics/war-powers-justice-dept-president.html  the Power to Make War                         By Charlie Savage               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/world/a Rising Fuel Prices Push Haiti to Near          By Milo Milfort Anatoly
2022-09-16   2022-09-17 mericas/haiti-protests-fuel-price.html      Anarchy                                       Kurmanaev and Andre Paultre     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/world/a
                        mericas/migrants-venezuela-us-              For Venezuelans at Home Anguish That Their By Sheyla Urdaneta Julie
2022-09-16   2022-09-17 immigration.html                            Crisis Is Being Weaponized in US              Turkewitz and Isayen Herrera    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/world/a In the Great Game of Central Asia Chinas
2022-09-16   2022-09-17 sia/china-xi-central-asia.html              Leader Is Vying for an Advantage              By Keith Bradsher               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/world/a Strict Lockdown Elicits Protests Even in Tibet
2022-09-16   2022-09-17 sia/tibet-covid-lockdown.html               Where Dissent Isnt Tolerated                  By Vivian Wang                  TX 9-213-471   2022-11-01




                                                                                Page 4255 of 5793
                        https://www.nytimes.com/2022/09/16/world/e Britain Looks to William As Future of
2022-09-16   2022-09-17 urope/prince-william-heir-king.html            Monarchy                                   By Megan Specia                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/world/e Leader Of India Criticizes Putin For Waging By Anton Troianovski Mujib
2022-09-16   2022-09-17 urope/putin-modi-war-ukraine.html              War                                        Mashal and Julian E Barnes      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/world/e
2022-09-16   2022-09-17 urope/queen-queue.html                         A Line at Capacity With a 24Hour Wait Time By Isabella Kwai                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/world/e Hundreds Discovered Dead After Russians        By Andrew E Kramer Marc Santora
2022-09-16   2022-09-17 urope/ukraine-graves-russia.html               Flee                                       and Nicole Tung                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/world/e
                        urope/united-kingdom-charles-king-             King Is Off to Stirring Start and Some
2022-09-16   2022-09-17 challenges.html                                Growing Pains                              By Mark Landler                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/world/
                        middleeast/ibrahim-al-nabulsi-west-bank-       Militants Death Fuels Fears of Lasting
2022-09-16   2022-09-17 violence.html                                  Violence in West Bank                      By Patrick Kingsley             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/world/
                        middleeast/irans-supreme-leader-ayatollah-ali- Speculation Swirls in Iran Over Health Of
2022-09-16   2022-09-17 khamenei-ill.html                              Ayatollah                                  By Farnaz Fassihi               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/your-
2022-09-16   2022-09-17 money/fsa-account-money-deadlines.html         Flexible Spending Account Holders Beware By Ann Carrns                     TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/17/world/e Biden meets with relatives of Brittney Griner By Michael Crowley and Aishvarya
2022-09-16   2022-09-17 urope/biden-brittney-griner-paul-whelan.html and Paul Whelan                             Kavi                             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/article/special-     Getting to the Bottom of a Collection of
2022-09-16   2022-09-17 master-trump-dearie.html                     Disputed Files                              By Charlie Savage                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/busines Court Clears Way for Law In Texas on Social
2022-09-17   2022-09-17 s/texas-social-media-political-law.html      Media                                       By David McCabe                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/16/nyregio Yeshiva University Halts Student Clubs to
2022-09-17   2022-09-17 n/yeshiva-university-lgbt-student-clubs.html Block LGBTQ Group                            By Hurubie Meko               TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/16/us/polit Archives Told No Material Held by Trump       By Maggie Haberman and Michael
2022-09-17   2022-09-17 ics/archives-trump-classified-clippings.html Was Classified                               S Schmidt                      TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/16/us/polit                                               By Glenn Thrush Alan Feuer and
2022-09-17   2022-09-17 ics/trump-special-master-justice-dept.html   Justice Dept Appeal Seeks Access to Papers   Charlie Savage                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/17/us/polit Trick on GOP Campaign Trail Is to Keep        By Michael C Bender and Maggie
2022-09-17   2022-09-17 ics/trump-rally-republican-candidates.html   Trump at a Distance                          Haberman                       TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/17/your-
2022-09-17   2022-09-17 money/parent-plus-loans.html                 PLUS Loans Dont Often End Well               By Ron Lieber                 TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/06/22/books/s Literary Destinations Read Your Way
2022-06-22   2022-09-18 tockholm-books-read-lars-kepler.html         Through Stockholm                            By Lars Kepler                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/07/11/books/r
2022-07-11   2022-09-18 eview/bad-thoughts-nada-alic.html            Dark Clouds                                  By A Cerisse Cohen            TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/08/16/books/r
                        eview/edouard-louis-one-womans-battles-and-
2022-08-16   2022-09-18 transformations.html                         Sons and Lovers                              By Wyatt Mason                TX 9-213-471     2022-11-01



                                                                                 Page 4256 of 5793
                        https://www.nytimes.com/2022/08/27/books/r
2022-08-27   2022-09-18 eview/american-rascal-greg-steinmetz.html The Great Train Robber Baron                  By TJ Stiles                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/30/books/r
                        eview/a-continent-erupts-ronald-h-
2022-08-30   2022-09-18 spector.html                               Mayhem in Asia                               By Sheila Miyoshi Jager         TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/03/books/r
2022-09-03   2022-09-18 eview/paul-theroux-bad-angel-brothers.html By Blood                                  By Andrew Ervin                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/books/r
                        eview/jonathan-escoffery-if-i-survive-
2022-09-04   2022-09-18 you.html                                    Miami International                      By Andrew Martin                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/04/realesta
                        te/connecticut-affordable-housing-          Fighting Over Affordable Housing in
2022-09-04   2022-09-18 apartments.html                             Connecticut                              By Lisa Prevost                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/books/r
                        eview/angie-cruz-how-not-to-drown-in-a-
2022-09-07   2022-09-18 glass-of-water.html                         Personal References                      By Zakiya Dalila Harris            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/books/r
                        eview/meet-us-by-the-roaring-sea-akil-
                        kumarasamy-the-last-karankawas-kimberly-
2022-09-07   2022-09-18 garza-mother-in-the-dark-kayla-maiuri.html Debut Novels                              By Melissa Chadburn                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/books/r William Kent Krueger is BFF With His Most
2022-09-08   2022-09-18 eview/fox-creek-william-kent-krueger.html Famous Character                           By Elisabeth Egan                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/books/r
2022-09-08   2022-09-18 eview/super-infinite-katherine-rundell.html Lets Get Metaphysical                    By James Shapiro                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/movies/
2022-09-08   2022-09-18 house-of-darkness-review.html               House of Darkness                        By Austin Considine                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/arts/mu
2022-09-09   2022-09-18 sic/alex-g-god-save-the-animals.html        Various Styles And Many Faces            By Lindsay Zoladz                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/11/books/r
2022-09-11   2022-09-18 eview/student-debt-fictional-characters.html How Student Debt Killed the Plot           By Jennifer Wilson              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/11/style/ho
                        me-at-last-in-the-wind-rain-and-isolation-of-
2022-09-11   2022-09-18 the-north-sea-coast.html                      At Home in the Middle of Nowhere          By Dorthe Nors                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/realesta
                        te/nyc-music-producer-apartment-              Weehawken Hit All the Right Notes for a
2022-09-12   2022-09-18 weehawken.html                                Music Producer                            By Marian Bull                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/t-                                                   By Michael Hauptman and Sasha
2022-09-12   2022-09-18 magazine/fall-fashion-outerwear-coats.html Defying Gravity                              Kelly                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/t-
                        magazine/panerai-luminor-due-luna-
2022-09-12   2022-09-18 watch.html                                    The Thing                                 By Nancy Hass                   TX 9-213-471   2022-11-01




                                                                                 Page 4257 of 5793
                        https://www.nytimes.com/2022/09/12/t-
                        magazine/rachel-sennott-bodies-bodies-
2022-09-12   2022-09-18 bodies.html                                   T Introduces Rachel Sennott                   By Megan Conway                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/ Nick Cave Lost Two Sons His Fans Then
2022-09-12   2022-09-18 12/magazine/nick-cave-interview.html          Saved His Life                                By David Marchese                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/arts/des
                        ign/moma-black-artists-just-above-midtown-
2022-09-13   2022-09-18 bryant.html                                   A Utopian Space for Black Artists             By Aruna DSouza                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/arts/mu
2022-09-13   2022-09-18 sic/rivers-cuomo-weezer-favorites.html        Rivers Cuomo Enjoys TikTok and Beethoven By Jeremy Gordon                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/arts/tele
2022-09-13   2022-09-18 vision/tv-recap-podcasts.html                 Listen and Sharpen Those TV Binges            By Emma Dibdin                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/magazi                                                   By Stephanie Sinclair and Jaime
2022-09-13   2022-09-18 ne/high-risk-pregnancy-dobbs.html             Lives on the Line                             Lowe                               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/magazi
2022-09-13   2022-09-18 ne/music-loops.html                           Loops                                         By Miguel Otrola                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/magazi My Roommate Isnt Looking After His Dog
2022-09-13   2022-09-18 ne/pet-roommate-ethics.html                   Should I Speak Up                             By Kwame Anthony Appiah            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/magazi Is Ron DeSantis the Future of the Republican
2022-09-13   2022-09-18 ne/ron-desantis.html                          Party                                         By Matt Flegenheimer               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/opinion
2022-09-13   2022-09-18 /burnout-quiet-quitting.html                  Quiet Quitting Is Not the Solution to Burnout By Laura Vanderkam                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/opinion The Greatest Threat to Democracy Is a
2022-09-13   2022-09-18 /democracy-crisis-speech-trump.html           Feature of Democracy                          By Sean Illing and Zac Gershberg   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/opinion
                        /environment/climate-change-nature-friedrich- Can an Old Philosophy Help Us Solve A
2022-09-13   2022-09-18 schelling.html                                New Problem                                   By Andrea Wulf                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/realesta
2022-09-13   2022-09-18 te/decorate-hallway-paint-wallpaper.html      Hallways Can Pop Seize the Opportunity        By Tim McKeough                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/style/vo
2022-09-13   2022-09-18 gue-world-new-york-fashion-week.html          When Fashion and Entertainment Converge By Guy Trebay                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/t-                                                       By Lindsay Talbot Trent Davis
                        magazine/boutonniere-corsage-floral-                                                        Bailey Delphine Danhier and
2022-09-13   2022-09-18 design.html                                   Say It With Flowers                           Flowers by Joshua Werber           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/t-
2022-09-13   2022-09-18 magazine/pietro-cicognani-rome-home.html A Placeto Laugh In                                 By Nancy Hass and Luana Rigolli    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/arts/dan
                        ce/alan-cumming-steven-hoggett-robert-
2022-09-14   2022-09-18 burns.html                                    Embodying a Poet Through Movement             By Roslyn Sulcas                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/fashion Melvin Sokolsky 88 Who Helped Redefine
2022-09-14   2022-09-18 /melvin-sokolsky-dead.html                    Fashion Photography Dies                      By Alex Williams                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/magazi
2022-09-14   2022-09-18 ne/cute-animal-videos.html                    Sloth Glutton                                 By Meaghan OConnell                TX 9-213-471   2022-11-01




                                                                                  Page 4258 of 5793
                                                                     Deeply Simple Finding and recreating a
                        https://www.nytimes.com/2022/09/14/magazi revelatory miso soup opened new flavor
2022-09-14   2022-09-18 ne/miso-soup-recipe.html                     pathways                                    By Eric Kim                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/magazi
2022-09-14   2022-09-18 ne/yiyun-li.html                             Hiding in Plain Sight                       By Alexandra Kleeman                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/movies/
2022-09-14   2022-09-18 do-revenge-netflix.html                      Teen Nostalgia With a Touch of Hitchcock    By Ashley Spencer                   TX 9-213-471   2022-11-01
                                                                     Chinas Ongoing And Oddly Invisible
                        https://www.nytimes.com/2022/09/14/opinion Weather Disaster Demonstrates How Hard It
                        /environment/china-climate-change-heat-      Is To Get A Fix On The Countrys True Nature
2022-09-14   2022-09-18 drought.html                                 As A Climate Actor                          By David WallaceWells               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/opinion
2022-09-14   2022-09-18 /lindsey-graham-cruel-abortion-ban.html      Grahams Cruel Abortion Ban                  By Michelle Goldberg                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/opinion What It Took for Stella Levi to Talk About
2022-09-14   2022-09-18 /stella-levi-holocaust-survivor.html         the Holocaust                               By Michael Frank                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/realesta Close to Manhattan but LaidBack and
2022-09-14   2022-09-18 te/dutch-kills-queens-new-york.html          Neighborly                                  By C J Hughes                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/sports/b Sports Media Empire Does It Differently      By Zach Schonbrun and Desiree
2022-09-14   2022-09-18 aseball/jomboy-media.html                    Good Vibes Only                             Rios                                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/style/hu
2022-09-14   2022-09-18 sband-will-family.html                       Worried About a Will                        By Philip Galanes                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/t-                                                    By Luis Alberto Rodriguez and
2022-09-14   2022-09-18 magazine/classic-tailoring-fall-fashion.html Positions Please                            Robbie Spencer                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/t-                                                    By Ligaya Mishan Kyoko Hamada
2022-09-14   2022-09-18 magazine/jello-videos-asmr.html              The Movement                                and Martin Bourne                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/theater/
2022-09-14   2022-09-18 hamilton-germany.html                        Can Hamilton Speak German Jawohl            By Michael Paulson                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/theater/ Lyrics That Show Why Hamilton Is Tough to
2022-09-14   2022-09-18 hamilton-translation-german.html             Translate                                   By Michael Paulson                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/arts/tele
2022-09-15   2022-09-18 vision/star-wars-andor-tony-gilroy.html       He Expands the Star Wars Universe          By Dave Itzkoff                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/busines                                               By Julia Rothman and Shaina
2022-09-15   2022-09-18 s/auto-industry-road-ahead.html              The Road Ahead                              Feinberg                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/magazi
2022-09-15   2022-09-18 ne/extraterrestrials-technosignatures.html   Looking Up                                  By Jon Gertner                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/magazi                                                By Muriel Leung and Victoria
2022-09-15   2022-09-18 ne/poem-suppose-my-father-awoke.html         Poem Suppose my father awoke                Chang                               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/nyregio 3 Floors of Art 124 Years in Business One     By Patrick Farrell and Mary Inhea
2022-09-15   2022-09-18 n/manhattan-art-old-print-shop.html          Tough Move                                  Kang                                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/opinion The Space Between Brain Death and Organ
2022-09-15   2022-09-18 /death-brain-organ-donation.html             Donation                                    By Daniela J Lamas                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/opinion How Extreme Religious Liberty Undermines
2022-09-15   2022-09-18 /religious-liberty-public-health.html        Public Health                               By Lindsay F Wiley                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/opinion
2022-09-15   2022-09-18 /walking-mindfulness-benefits.html           The Transcendent Power of Walking           By Francis Sanzaro                  TX 9-213-471   2022-11-01



                                                                                 Page 4259 of 5793
                        https://www.nytimes.com/2022/09/15/realesta
2022-09-15   2022-09-18 te/bathroom-remodel-resale-value.html        Weighing That Bathroom Remodel            By Michael Kolomatsky            TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/sports/f Brady Faces His Nemesis and Its Not
2022-09-15   2022-09-18 ootball/nfl-week-2-predictions.html          Belichick                                 By David Hill                    TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/style/go
2022-09-15   2022-09-18 dard-style.html                              JeanLuc Godard and French Girl Look       By Ruth La Ferla                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/style/w
2022-09-15   2022-09-18 edding-guest-dress-code.html                 Trying to Decode The Dress Code           By Rachel Simon                  TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/t-
                        magazine/alexander-mcqueen-robot-paint-
2022-09-15   2022-09-18 suit.html                                    First of its Kind Last of its Kind        By Lindsay Talbot                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/t-                                                  By Aimee Farrell Anthony Cotsifas
2022-09-15   2022-09-18 magazine/butter-sculpture.html               I Cant Believe its Butter                 and Martin Bourne                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/t-
                        magazine/button-front-shirts-voluminous-                                               By Andrea Urbez and Hisato
2022-09-15   2022-09-18 pants.html                                   Splendor in the Grass                     Tasaka                           TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/15/t-                                                  By MH Miller and Thibault
2022-09-15   2022-09-18 magazine/r-crumb.html                        The Last Provocateur                      Montamat                         TX 9-213-471    2022-11-01
                        https://www.nytimes.com/interactive/2022/09/ Seeking a OneBedroom With the Basics in
                        15/realestate/brooklyn-manhattan-one-        Brooklyn or Manhattan Which Would Be
2022-09-15   2022-09-18 bedroom-apartment.html                       More Affordable                           By Debra Kamin                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/16/arts/mu
2022-09-16   2022-09-18 sic/jean-efflam-bavouzet-haydn.html          Spirit of Discovery in a Haydn Survey     By David Allen                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/16/books/r
                        eview/dan-gemeinhart-the-midnight-
2022-09-16   2022-09-18 children.html                                New Kids on the Block                     By Craig Morgan Teicher          TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/16/books/r
2022-09-16   2022-09-18 eview/kacen-callender-moonflower.html        Spirit Guides                             By Tae Keller                    TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/16/busines LinkedIn Has Turned Into a Place for
2022-09-16   2022-09-18 s/linkedin-overshare.html                    Oversharing                               By Lora Kelley                   TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/16/busines
2022-09-16   2022-09-18 s/roxane-gay-work-advice-water-cooler.html Thirsty but Banished to the Bathroom Sink    By Roxane Gay                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/16/busines The Reality Has Become Harsh for College
2022-09-16   2022-09-18 s/stock-market-investing-college.html       Savings                                     By Jeff Sommer                  TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/16/nyregio The Identity Crisis in Elite Private Schools
2022-09-16   2022-09-18 n/trinity-grace-church-school.html          Comes Full Circle                           By Ginia Bellafante             TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/16/opinion Humans Have a Long History of Making Very
2022-09-16   2022-09-18 /conservation-ethics.html                   Bad Decisions to Save Animals               By Tim McDonnell                TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/16/opinion
2022-09-16   2022-09-18 /hasidic-schools-new-york.html              Every Child Deserves An Adequate Education By The Editorial Board           TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/16/opinion
2022-09-16   2022-09-18 /railroad-strike-labor-unions.html          A Story About Employers and The Employed By Jamelle Bouie                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/16/realesta
2022-09-16   2022-09-18 te/back-kitchen-scullery.html               The Kitchen Gains an Offstage Partner       By Ronda Kaysen                 TX 9-213-471    2022-11-01



                                                                                Page 4260 of 5793
                        https://www.nytimes.com/2022/09/16/sports/s
                        occer/welcome-to-wrexham-reynolds-          Hollywood Comes To Wrexham With Mixed
2022-09-16   2022-09-18 mcelhenney.html                             Results                                  By Rory Smith                          TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/sports/t What Made Federer Great Let Us Count the
2022-09-16   2022-09-18 ennis/roger-federer-legacy.html             Ways                                     By Christopher Clarey                  TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/16/style/ce
2022-09-16   2022-09-18 celia-thornton-alson-terence-lee-wedding.html A Relationship With Biblical Origins       By Rosalie R Radomsky              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/style/e
2022-09-16   2022-09-18 mily-thompson-stefan-kienle-wedding.html After a Wildfire Rebuilding What Matters        By Amanda McCracken                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/style/jo Without Knowing It Opening the Door to
2022-09-16   2022-09-18 bina-fortson-bradley-evans-wedding.html       Romance                                    By Louise Rafkin                   TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/style/ka
                        chet-jackson-henderson-brandon-bell-          To Find a Perfect Match Posting Cute Dog
2022-09-16   2022-09-18 wedding.html                                  Photos                                     By Judy Mandell                    TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/style/m
                        odern-love-marriage-embracing-domestic-       Please Let Me Do More Laundry and
2022-09-16   2022-09-18 tasks-vision-loss.html                        Vacuuming                                  By Sam Harper                      TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/t-
2022-09-16   2022-09-18 magazine/behind-the-scenes.html               Call Me by My Name                         By Hanya Yanagihara               TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/16/t-         What Happens When Your Work Gets to        By Emil Wilbekin Shikeith and Ian
2022-09-16   2022-09-18 magazine/black-queer-artists.html             Move Past Argument                         Bradley                           TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/16/t-
2022-09-16   2022-09-18 magazine/laceless-sneakers.html               LacelessSneakers                           By Mari Maeda and Yuji Oboshi      TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/16/technol
2022-09-16   2022-09-18 ogy/ebay-cyberstalking-crimes.html            When eBays Boss Said Take Her Down         By David Streitfeld                TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/16/theater/ A Victim of the Pandemic Phantom of the
2022-09-16   2022-09-18 phantom-of-the-opera-broadway-closing.html Opera Will Close in February                   By Michael Paulson                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/us/miss Mississippi Lifts Boil Advisory in Jackson but
2022-09-16   2022-09-18 issippi-boil-water-advisory.html             Its Water System Remains Troubled            By Christine Hauser                 TX 9-213-471   2022-11-01
                                                                                                                  By Yael Malka James Hannaham
                                                                                                                  Melissa Guerrero Jeffrey Furticella
                        https://www.nytimes.com/interactive/2022/09/                                              Tanner Curtis and Rebecca
2022-09-16   2022-09-18 15/nyregion/jacob-riis-beach-nyc.html        Is This the End of the Peoples Beach         Lieberman                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/movies/ Henry Silva 95 Actor Who Was Always Cast
2022-09-17   2022-09-18 henry-silva-dead.html                        as a Thug                                    By Neil Genzlinger                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/world/a Speedy Predator Returns to India in Hopes of
2022-09-17   2022-09-18 sia/cheetah-relocation-india.html            a Comeback 75 Years Later                    By Emily Schmall and Hari Kumar TX 9-213-471       2022-11-01
                        https://www.nytimes.com/2022/09/17/nyregio In Bronx Neighborhood An Unprovoked            By Hurubie Meko and Ta
2022-09-17   2022-09-18 n/bronx-nyc-stabbing.html                    Killing Leaves Behind a Void                 Kvetenadze                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/nyregio
2022-09-17   2022-09-18 n/dr-becky-parenting.html                    Paw Patrol Brooooosh Boggle and Patriots     By Tammy La Gorce                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/nyregio City That Never Sleeps Now Nods Off a Bit By Dodai Stewart and Jutharat
2022-09-17   2022-09-18 n/new-york-city-closing-time.html            Early                                        Pinyodoonyachet                     TX 9-213-471   2022-11-01



                                                                                 Page 4261 of 5793
                        https://www.nytimes.com/2022/09/17/opinion Are You American The Question I Couldnt
2022-09-17   2022-09-18 /american-japan-citizen.html                Answer                                   By Rumi Hara                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/opinion
2022-09-17   2022-09-18 /desantis-border-immigration.html           How Low Can They Go                      By Maureen Dowd                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/opinion
2022-09-17   2022-09-18 /dogs-puppies-adolescence.html              When Your Dog Is a Teenager              By Alexandra Horowitz               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/opinion
2022-09-17   2022-09-18 /queen-elizabeth-putin-legitimacy.html      What the Queen Had That Putin Lacks      By Ross Douthat                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/realesta Can My Landlord Charge Me For Retrieving
2022-09-17   2022-09-18 te/landlord-spare-keys-charge.html          My Own Spare Keys                        By Ronda Kaysen                     TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/17/realesta
2022-09-17   2022-09-18 te/nantucket-bluff-erosion-battle-climate.html A Battle for a Bluff on Nantucket          By Penelope Green              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/style/ne
2022-09-17   2022-09-18 w-york-fashion-week.html                       Considering the State of New York Style    By Vanessa Friedman            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/style/th
2022-09-17   2022-09-18 e-spirit-behind-high-end-tequila.html          The Spirit Behind HighEnd Tequila          By Thessaly La Force           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/style/wi
                        ll-welch-leads-gq-to-the-new-
2022-09-17   2022-09-18 masculinity.html                               A Magazine Offers a Peek at Mens Evolution By Sandra E Garcia             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/us/alas
2022-09-17   2022-09-18 ka-storm.html                                  Storm Rakes Alaska Coast Destroying Homes By Emily Schwing and Mike Baker TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/us/amer
2022-09-17   2022-09-18 ican-democracy-threats.html                    Democracy Challenged                       By David Leonhardt             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/us/polit Divisions Imperil Democracy Garland Warns
2022-09-17   2022-09-18 ics/garland-trump-immigrants.html              New Citizens                               By Glenn Thrush                TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/17/us/polit Trumps Old Accounting Firm Begins
2022-09-17   2022-09-18 ics/mazars-accounting-trump-documents.html Handing Over Records to Congress            By Luke Broadwater                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/us/polit
                        ics/republicans-election-abortion-          This Time the GOP Is on the Defensive On
2022-09-17   2022-09-18 immigration.html                            Social Issues                              By Carl Hulse                     TX 9-213-471   2022-11-01
                                                                                                               By David E Sanger Anton
                        https://www.nytimes.com/2022/09/17/us/polit US Is Reluctant As Ukraine Asks To Upgrade Troianovski Julian E Barnes and
2022-09-17   2022-09-18 ics/ukraine-biden-weapons.html              Arms                                       Eric Schmitt                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/us/puer Abortion Fight Gives Conservatives an
2022-09-17   2022-09-18 to-rico-abortion-restrictions.html          Opening in Puerto Rico                     By Patricia Mazzei                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/world/a
                        mericas/central-america-democracy-          US Vowed to Stabilize Central America Life By Anatoly Kurmanaev and Jody
2022-09-17   2022-09-18 biden.html                                  Is Only Worse                              Garca                             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/world/e Rome Celebrates Return Of Three Looted
2022-09-17   2022-09-18 urope/getty-statues-returned-italy.html     Statues                                    By Elisabetta Povoledo            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/world/e
2022-09-17   2022-09-18 urope/meghan-harry-queen-funeral.html       Bouquets Condolences And Nonstop Scrutiny By Sarah Lyall                     TX 9-213-471   2022-11-01




                                                                                Page 4262 of 5793
                        https://www.nytimes.com/2022/09/17/world/e Pelosi Visits Armenia in Show of Support as
2022-09-17   2022-09-18 urope/nancy-pelosi-armenia.html                Clashes With Azerbaijan Escalate           By Carlotta Gall                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/world/e Talking About Taboos How the Far Right         By Steven Erlanger and Christina
2022-09-17   2022-09-18 urope/sweden-far-right-election.html           Succeeded in Sweden                        Anderson                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/world/e Biden Warns a Reeling Russia Not to Use        By Marc Santora and Norimitsu
2022-09-17   2022-09-18 urope/ukraine-russia-war-crimes.html           Unconventional Weapons                     Onishi                             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/world/e
2022-09-17   2022-09-18 urope/ukraine-war-donbas-putin.html            How Donbas Became Cradle Of Putins War     By Jeffrey Gettleman               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/busines
2022-09-18   2022-09-18 s/the-week-in-business-rail-strike.html        The Week in Business Rail Strike Averted   By Marie Solis                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/insider/
                        a-time-capsule-in-photos-just-in-case-a-beach-
2022-09-18   2022-09-18 changes.html                                   A Time Capsule Just in Case                By John Otis                       TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/18/realesta In New York City Bigger Projects and Tinier
2022-09-18   2022-09-18 te/nyc-development-rentals-condos-covid.html Apartments                                   By Stefanos Chen                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/style/pa
                        rty-photos-wolfgang-tillmans-machine-dazzle-
2022-09-18   2022-09-18 david-lachapelle.html                        Art Fashion And a Bunch Of Parties           By Denny Lee                     TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/18/us/covi Potent New Boosters Are Here Will Weary        By Jack Healy Sharon Otterman
2022-09-18   2022-09-18 d-vaccine.html                               Americans Bother                             and Amy Qin                      TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/18/us/polit Hispanic Voters Still Lean Blue Poll          By Jennifer Medina Jazmine Ulloa
2022-09-18   2022-09-18 ics/latino-vote-polling.html                 Concludes                                    and Ruth Igielnik                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/interactive/2022/09/
                        18/business/queen-elizabeth-king-charles-    The Queen Is Everywhere What Will the        By Isabella Simonetti and Rebecca
2022-09-18   2022-09-18 britain.html                                 Royal Makeover Cost                          Lieberman                         TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/08/30/travel/s Exploring the Enduring Echoes of Moorish
2022-08-30   2022-09-19 pain-travel-moorish-arab.html                Spain                                        By Nina Burleigh                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/interactive/2022/09/ In a Power Crisis South Africans Adjust to
2022-09-09   2022-09-19 09/world/africa/southafrica-blackouts.html   Life in the Dark                             By Lynsey Chutel                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/opinion
                        /environment/bill-gates-climate-change-
2022-09-13   2022-09-19 report.html                                  Were in a Worse Place Than I Expected        By David WallaceWells              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/arts/mu Paul T Kwami Director Who Led Fisk Jubilee
2022-09-15   2022-09-19 sic/paul-t-kwami-dead.html                   Singers Is Dead at 70                        By Clay Risen                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/us/us- US News College Rankings Live On Despite
2022-09-15   2022-09-19 news-college-ranking.html                    Criticisms                                   By Stephanie Saul                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/theater/
                        remember-this-the-lessons-of-jan-karski-
2022-09-16   2022-09-19 review.html                                  Finding Strength Amid Horrific Moral Failure By Alexis Soloski                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/16/arts/des
2022-09-16   2022-09-19 ign/beatriz-milhazes-pace-gallery-brazil.html Beatriz Milhazes Breaks the Circle          By Robin Pogrebin                  TX 9-213-471   2022-11-01




                                                                                  Page 4263 of 5793
                        https://www.nytimes.com/2022/09/16/busines Lowry Mays Dies at 87 He Built Clear
2022-09-16   2022-09-19 s/media/lowry-mays-dead.html                Channel Into a Powerful Empire                By Clay Risen               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/busines
2022-09-16   2022-09-19 s/russian-oil-price-cap.html                Finding the Right Price For a Russian Oil Cap By Alan Rappeport           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/busines
2022-09-16   2022-09-19 s/uk-government-debt.html                   Britains Economic Path Rattles Investors      By Eshe Nelson              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/climate A Beloved Tree Is Revived in Soil Ravaged By Elena Shao and Maddie
2022-09-16   2022-09-19 /coal-mine-american-chestnut.html           by Mining                                     McGarvey                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/obituari Overlooked No More Sylvia Rexach Puerto
2022-09-16   2022-09-19 es/sylvia-rexach-overlooked.html            Rican Singer and Composer                     By Ben Ratliff              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/busines Cracking Down on a Wall Street Trend ESG By Matthew Goldstein and Emily
2022-09-17   2022-09-19 s/dealbook/esg-wall-street.html             Fund Makeovers                                Flitter                     TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/17/nyregio Kevin M Cahill 86 Tropical Disease Expert
2022-09-17   2022-09-19 n/kevin-m-cahill-dead.html                  Who Treated Celebrities Over Varied Career   By Clay Risen                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/opinion
2022-09-17   2022-09-19 /liz-truss-diversity.html                   When Diversity Isnt the Right Kind           By Pamela Paul               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/sports/ A Carnival of a Sport Where the Tent May
2022-09-17   2022-09-19 multiday-ultramarathons.html                Come Down                                    By Jared Beasley             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/arts/dan
2022-09-18   2022-09-19 ce/review-nehanda.html                      Anticolonialism Rides a River of Groove      By Brian Seibert             TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/18/arts/mu An Intimate Encounter With a Special Young
2022-09-18   2022-09-19 sic/emily-dangelo-park-avenue-armory.html Singer                                      By Zachary Woolfe               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/arts/mu
                        sic/richie-weeks-the-love-magician-
2022-09-18   2022-09-19 archives.html                              Two Lives Of a Disco Mastermind            By Jake Malooley                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/books/a Amid the Furry Chaos A Chance to Trace A
2022-09-18   2022-09-19 lexandra-horowitz-year-of-the-puppy.html   Dogs Development                           By Sarah Lyall                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/busines
                        s/media/will-smith-emancipation-apple-
2022-09-18   2022-09-19 tv.html                                    Apple Feels the Sting From an Oscar Slap   By Nicole Sperling              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/crossw
2022-09-18   2022-09-19 ords/daily-puzzle-2022-09-19.html          Equal Parts Surprising and Delightful      By Deb Amlen                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/movies/
2022-09-18   2022-09-19 the-woman-king-box-office.html             Woman King Opens Strong                    By Brooks Barnes                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/nyregio
                        n/coney-island-drownings-children-         Childrens Drownings at Coney Island Mark By Corey Kilgannon and Chelsia
2022-09-18   2022-09-19 mother.html                                End of a Mothers Descent                   Rose Marcius                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/opinion
2022-09-18   2022-09-19 /joe-biden-combative.html                  The Return of Combat Joe                   By Charles M Blow               TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/18/sports/b A Former Pitcher Perfects the Art of Leaving By David Gardner and Tomas
2022-09-18   2022-09-19 aseball/blake-mcfarland-artist-sculptor.html the Game Behind                             Ovalle                       TX 9-213-471   2022-11-01




                                                                                Page 4264 of 5793
                        https://www.nytimes.com/2022/09/18/sports/b
                        asketball/aces-sun-wnba-finals-
2022-09-18   2022-09-19 championship.html                           Talent and Title at Last                    By Kris Rhim                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/sports/c lvarez Soundly Caps Rivalry but Recent Loss
2022-09-18   2022-09-19 anelo-ggg-rivalry.html                      May Shape His Future                        By Kevin Draper                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/sports/f
2022-09-18   2022-09-19 ootball/nfl-week-2-scores.html              What We Learned This Week                   By Derrik Klassen              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/theater/ Years Later Theyre Still Making It Big on
2022-09-18   2022-09-19 broadway-chicago-lion-king.html             Broadway                                    By Michael Paulson             TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/18/theater/
2022-09-18   2022-09-19 phantom-broadway-cameron-mackintosh.html Letting Phantom Finally Fade Away              By Michael Paulson             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/us/polit At Trump Rally Crowd Reacts to QAnonLike By Alan Feuer and Maggie
2022-09-18   2022-09-19 ics/trump-rally-qanon-music.html            Music                                       Haberman                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/us/polit
                        ics/trump-republicans-midterm-election-
2022-09-18   2022-09-19 results.html                                Accept Defeat Some in GOP Refuse to Say By Reid J Epstein                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/us/wom Trolls in Russia Schemed To Divide Womens
2022-09-18   2022-09-19 ens-march-russia-trump.html                 March                                       By Ellen Barry                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/world/a Troubled at Home South Korean President
2022-09-18   2022-09-19 sia/south-korea-yoon-china-us.html          Looks Beyond His Borders                    By Choe SangHun                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/world/a
2022-09-18   2022-09-19 sia/taiwan-earthquake.html                  Powerful Quake Kills at Least 1 in Taiwan   By Austin Ramzy                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/world/a Millions Evacuated as Typhoon Thrashes
2022-09-18   2022-09-19 sia/typhoon-nanmadol-japan.html             Japan                                       By Hikari Hida and John Yoon   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/world/c As Eligibility Expands Is Assisted Death Too
2022-09-18   2022-09-19 anada/medically-assisted-death.html         Easy in Canada                              By Ian Austen                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/world/e
                        urope/aberfan-wales-queen-elizabeth-        A Welsh Village Embraced Its Guardian       By Patrick Kingsley and Mary
2022-09-18   2022-09-19 funeral.html                                Angel                                       Turner                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/world/e The Dehumanizing Offense of the Mass
2022-09-18   2022-09-19 urope/izium-mass-grave-ukraine.html         Grave                                       By Roger Cohen                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/world/e Pelosi in Armenia Rebukes Azerbaijan Over
2022-09-18   2022-09-19 urope/pelosi-armenia-azerbaijan.html        Clashes and Calls for a Settlement          By Emma Bubola                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/world/e Biden in London Ahead of Queens Funeral
2022-09-18   2022-09-19 urope/queen-elizabeth-biden.html            Describes Loss That Leaves a Giant Hole     By Zolan KannoYoungs           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/world/e Moscow Sends Drones Mercenaries and          By Thomas GibbonsNeff Marc
2022-09-18   2022-09-19 urope/ukraine-war-drones-inmates.html       Inmates Into Donbas Region                  Santora and Andrew E Kramer    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/sports/b
                        aseball/aaron-judge-yankees-triple-         As Judge Pursues Maris Hes Chasing a Triple
2022-09-19   2022-09-19 crown.html                                  Crown as Well                               By James Wagner                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/us/polit Trump Totally Irresponsible Over Documents
2022-09-19   2022-09-19 ics/biden-trump-covid.html                  Biden Says                                  By Jim Tankersley              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/us/texa Bus Ticket Out of Texas Was a Ticket to
2022-09-19   2022-09-19 s-migrants-bus-rides.html                   Stability                                   By Miriam Jordan               TX 9-213-471   2022-11-01



                                                                               Page 4265 of 5793
                        https://www.nytimes.com/2022/09/19/arts/tele
                        vision/whats-on-tv-this-week-the-bachelorette-
2022-09-19   2022-09-19 and-abbott-elementary.html                     This Week on TV                           By Shivani Gonzalez                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/busines
2022-09-19   2022-09-19 s/freight-rail.html                            Trains Run on Time But at What Cost       By Niraj Chokshi and Peter Eavis   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/sports/f
2022-09-19   2022-09-19 ootball/pacman-jones-chris-henry.html          How Pacman Became a Family Man            By Jonathan Abrams                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/us/polit Laying Out the 6 Legal Battles Putting Trump
2022-09-19   2022-09-19 ics/donald-trump-investigations.html           at Growing Risk                           By Peter Baker                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/well/m
2022-09-09   2022-09-20 ove/barefoot-weight-lifting.html               Barefoot Weight Lifting and Safety        By Rachel Fairbank                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/science To Save a Whale A Call to Leave Lobster Off
2022-09-13   2022-09-20 /lobsters-right-whales-maine.html              Menus                                     By Annie Roth                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/well/eat Food Sensitivity Tests Promise a Shortcut to
2022-09-13   2022-09-20 /food-sensitivity-test.html                    Relief                                    By Alice Callahan                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/well/mi
2022-09-13   2022-09-20 nd/brain-fog-treatment.html                    What Is Brain Fog and How Can I Treat It  By Knvul Sheikh                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/arts/des Lily Rene Phillips Comics Pioneer With Pen
2022-09-14   2022-09-20 ign/lily-renee-phillips-dead.html              Mightier Than Nazis Dies at 101           By Neil Genzlinger                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/busines
2022-09-15   2022-09-20 s/custom-political-ads.html                    This Ads for You Not Your Neighbor        By Natasha Singer                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/movies/
2022-09-15   2022-09-20 oscar-hopefuls.html                            For 8 Film Festival Movies a Big Boost    By Kyle Buchanan                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/science On Mars a Crater May Hold Signs of Past
2022-09-15   2022-09-20 /mars-perseverance-rover-life.html             Life                                      By Kenneth Chang                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/article/tropical-      Hurricane Knocks Out Power in Puerto Rico
2022-09-15   2022-09-20 storm-fiona-hurricane.html                     Warnings of Mudslides                     By The New York Times              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/well/liv
2022-09-16   2022-09-20 e/flu-season.html                              Its Almost Autumn That Means Viruses      By Melinda Wenner Moyer            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/arts/des
                        ign/moma-photo-curator-clement-                MoMAs Photography Curator Departs After 2
2022-09-16   2022-09-20 cheroux.html                                   Years                                     By Jason Farago                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/movies/ James Cameron Wants to Reintroduce You to
2022-09-16   2022-09-20 james-cameron-avatar.html                      Avatar                                    By Dave Itzkoff                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/science
                        /group-consensus-persuasion-brain-             Want to Change Minds Consider Talking It
2022-09-16   2022-09-20 alignment.html                                 Out                                       By Virginia Hughes                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/arts/vir Virginia Dwan a Backer Of Artists at the
2022-09-18   2022-09-20 ginia-dwan-dead.html                           Forefront Of Innovation Dies at 90        By Neil Genzlinger                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/busines
2022-09-18   2022-09-20 s/wegmans-self-checkout-shoplifting.html       Wegmans Discontinues SelfCheckout App     By April Rubin                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/technol
2022-09-18   2022-09-20 ogy/facial-recognition-clearview-ai.html       Lawyers Can Use Facial Recognition Tool   By Kashmir Hill                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/us/virgi Transgender Students Lose Protections As
2022-09-18   2022-09-20 nia-transgender-students.html                  Virginia Reverses Bathroom Policy         By Ava Sasani                      TX 9-213-471   2022-11-01



                                                                                 Page 4266 of 5793
                        https://www.nytimes.com/2022/09/19/arts/mu
2022-09-19   2022-09-20 sic/jennifer-bonjean-r-kelly-bill-cosby.html Defender Unbowed By MeToo                     By Lauren Herstik and Julia Jacobs TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/arts/tele
                        vision/house-of-the-dragon-milly-alcock-     They Kindled a Flame For House of the
2022-09-19   2022-09-20 emily-carey.html                             Dragon                                        By Sean T Collins                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/arts/tele One Last Broadcast for a Monarch Whose
2022-09-19   2022-09-20 vision/queen-elizabeth-ii-funeral.html       Reign Paralleled the Rise of TV               By James Poniewozik                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/books/a
2022-09-19   2022-09-20 dvocacy-groups-book-bans.html                Groups Organize To Ban Books                  By Elizabeth A Harris              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/books/a A Feverish Diary Charts an Affairs Primal
2022-09-19   2022-09-20 nnie-ernaux-getting-lost.html                Nature                                        By Dwight Garner                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/busines McDonalds to Reopen 3 Restaurants in
2022-09-19   2022-09-20 s/mcdonalds-reopen-ukraine.html              Ukraine                                       By Isabella Simonetti              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/busines Nissan Orders Truck Recall They Can Roll
2022-09-19   2022-09-20 s/nissan-truck-rollaway-recall.html          While in Park                                 By April Rubin                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/busines
2022-09-19   2022-09-20 s/stocks-inflation-federal-reserve.html      Wall St Frets Whats the Fed Thinking          By Joe Rennison                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/busines Share Price Range Is Set For Porsches Big
2022-09-19   2022-09-20 s/volkswagen-porsche-ipo.html                IPO                                           By Michael J de la Merced          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/busines
                        s/zelensky-blackrock-reconstruction-
2022-09-19   2022-09-20 fund.html                                    Zelensky Meets With BlackRock Chief           By Jason Karaian                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/climate
2022-09-19   2022-09-20 /companies-conservatives-attack.html         Climate change in the cross hairs             By David Gelles                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/climate
2022-09-19   2022-09-20 /emissions-construction-buildings.html       A key to controlling emissions more buildings By Peter Wilson                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/climate
2022-09-19   2022-09-20 /esther-duflo-climate-crisis.html            To help first learn what works                By Peter Wilson                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/health/                                                 By Oliver Whang and Maddie
2022-09-19   2022-09-20 doctor-burnout-west-virginia.html            But Can She Cure Her Ailing Heart McGarvey                                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/movies/ Alain Tanner 92 Cerebral Director in the
2022-09-19   2022-09-20 alain-tanner-dead.html                       Swiss New Wave                                By Alex Williams                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/nyregio New York City Slides to Edge Of Fiscal
2022-09-19   2022-09-20 n/budget-crisis-economy-nyc.html             Crisis                                        By Dana Rubinstein                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/nyregio Amid Migrant Wave Adams Mulls Housing By Emma G Fitzsimmons and
2022-09-19   2022-09-20 n/eric-adams-migrants-cruise-ships.html      on Cruise Ships                               Andy Newman                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/nyregio
2022-09-19   2022-09-20 n/frank-carone-eric-adams.html               Trusted Aide to Adams Is Leaving This Year By Emma G Fitzsimmons                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/nyregio Trump Allys Trial May Shed Light on
2022-09-19   2022-09-20 n/trump-adviser-tom-barrack-trial.html       Foreign Influence                             By Rebecca Davis OBrien            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/opinion
                        /environment/biden-gina-mccarthy-            Climate Change Is Attracting Innovation Not
2022-09-19   2022-09-20 climate.html                                 Killing Jobs                                  By Gina McCarthy                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/opinion The Global Order Isnt Working Its Time for
2022-09-19   2022-09-20 /global-development-ford-foundation.html     Something Different                           By Darren Walker                   TX 9-213-471   2022-11-01



                                                                                 Page 4267 of 5793
                        https://www.nytimes.com/2022/09/19/opinion
2022-09-19   2022-09-20 /trump-desantis-graham-federer.html         Trump Makes Us All Cynical                By Gail Collins and Bret Stephens    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/science Physics Body Concedes Mistakes in
2022-09-19   2022-09-20 /missile-defense-north-korea.html           Published Study of Missile Defense        By William J Broad                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/sports/b Wind Is at Backs of Mets Even With Braves
2022-09-19   2022-09-20 aseball/mets-division-race.html             at Their Heels                            By Jesus Jimnez                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/sports/b For Brewers Facing MustWins May Beat
2022-09-19   2022-09-20 aseball/milwaukee-brewers-playoffs.html     Cruising to the Finish                    By James Wagner                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/sports/f I Would Be Booing Myself Coach of Broncos
2022-09-19   2022-09-20 ootball/broncos-nathaniel-hackett.html      Says as Missteps Continue                 By Victor Mather                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/sports/n
                        caabasketball/leonard-hamilton-florida-     The Easy Way Has Never Been the Leonard
2022-09-19   2022-09-20 state.html                                  Hamilton Way to Succeed                   By Billy Witz                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/technol Social Media Companies Still Abet Election
2022-09-19   2022-09-20 ogy/social-media-election-fraud.html        Denialism New Report Says                 By Steven Lee Myers                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/theater/
2022-09-19   2022-09-20 dear-evan-hansen-broadway-close.html        Waving Goodbye To Evan Hansen             By Sarah Bahr                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/theater/
2022-09-19   2022-09-20 marie-its-time-review.html                  Piecing Together a Woman in Fragments     By Alexis Soloski                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/theater/
2022-09-19   2022-09-20 sean-hayes-oscar-levant-broadway.html       Finding Connections With Oscar Levant     By Michael Paulson                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/19/us/adna Judge in Baltimore Voids Murder Conviction
2022-09-19   2022-09-20 n-syed-murder-conviction-overturned.html    of Man Featured in Podcast                   By Michael Levenson               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/us/alas Hard Days of Recovery Ahead for Alaskas
2022-09-19   2022-09-20 ka-recovery-typhoon-merbok.html             Remote Communities                           By Emily Schwing                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/us/polit Biden Says Pandemic Is Over but at Least 400
2022-09-19   2022-09-20 ics/biden-covid-pandemic-over.html          People a Day Are Dying                       By Sheryl Gay Stolberg            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/us/polit Immigrant Transport Wins DeSantis Praise of By Lisa Lerer and Michael C
2022-09-19   2022-09-20 ics/desantis-migrant-flights-politics.html  GOP And a National Spotlight                 Bender                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/us/polit As Inflation Unnerves Voters GOP Holds
2022-09-19   2022-09-20 ics/inflation-gop-midterm-elections.html    Tight to Message                             By Jonathan Weisman               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/us/polit                                              By Julian E Barnes and Sheera
2022-09-19   2022-09-20 ics/pentagon-social-media.html              Pentagon to Review Social Media Efforts      Frenkel                           TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/19/us/polit Democrats at Impasse On Sending More
2022-09-19   2022-09-20 ics/police-democrats-congress-midterms.html Money To Police Departments                  By Annie Karni and Stephanie Lai TX 9-213-471    2022-11-01
                                                                    Trump Was Warned Late Last Year of
                        https://www.nytimes.com/2022/09/19/us/polit Potential Legal Jeopardy Over Cache of
2022-09-19   2022-09-20 ics/trump-herschmann-documents.html         Documents                                    By Maggie Haberman                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/us/puer Fionas Fury Fractures Puerto Ricos Shaky      By Laura N Prez Snchez Patricia
2022-09-19   2022-09-20 to-rico-power-hurricane-fiona.html          Grid                                         Mazzei and Erika P Rodriguez      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/well/em A Trauma Treatment Grows More
2022-09-19   2022-09-20 dr-therapy.html                             Mainstream                                   By Dani Blum and Sophie Park      TX 9-213-471   2022-11-01




                                                                                 Page 4268 of 5793
                        https://www.nytimes.com/2022/09/19/world/a
                        mericas/colombia-viche-petronio-alvarez-    After Decades in the Shadows a Beloved      By Genevieve Glatsky and Julie
2022-09-19   2022-09-20 festival.html                               Spirit Joins the Party                      Turkewitz                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/world/a Crash of Bus Headed to Quarantine Stirs
2022-09-19   2022-09-20 sia/china-bus-crash-covid.html              Outrage in China Over Zero Covid            By Vivian Wang and Joy Dong      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/world/a
                        sia/mark-frerichs-prisoner-swap-biden-      Afghan Drug Lord Is Released to Taliban in By Yaqoob Akbary and Christina
2022-09-19   2022-09-20 taliban.html                                Exchange for US Hostage                     Goldbaum                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/world/e
                        urope/queen-elizabeth-funeral-              Bookends to the Life Of Britains Queen And
2022-09-19   2022-09-20 coronation.html                             a Generation                                By Alan Cowell                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/world/e
                        urope/queen-elizabeth-funeral-windsor-      Windsor a Final Resting Place and Beloved
2022-09-19   2022-09-20 castle.html                                 Home                                        By Stephen Castle                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/world/e With Sadness and Uncertainty Britons Close
2022-09-19   2022-09-20 urope/queen-elizabeth-funeral.html          an Elizabethan Age                          By Mark Landler                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/world/e Britons Press Close To Get Last Glimpse Of
2022-09-19   2022-09-20 urope/queen-funeral-crowds.html             Faithful Monarch                            By Megan Specia                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/world/e Missile Menaces A Nuclear Plant In South
2022-09-19   2022-09-20 urope/ukraine-nuclear-plant-missile.html    Ukraine                                     By Marc Santora                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/world/e With Cities Shattered Ukrainians Hope for
2022-09-19   2022-09-20 urope/ukraine-war-glass.html                Glass Before Winter                         By Jeffrey Gettleman             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/us/migr
                        ants-marthas-vineyard-texas-                Sheriff Opens Investigation Over Flights    By Edgar Sandoval and Eliza
2022-09-20   2022-09-20 investigation.html                          From Texas                                  Fawcett                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/us/polit 2 Million Who Crossed Border Illegally Were
2022-09-20   2022-09-20 ics/us-border-arrests.html                  Arrested Over the Last 11 Months            By Eileen Sullivan               TX 9-213-471   2022-11-01
                                                                                                                By Jack Ewing and Brendan
                        https://www.nytimes.com/2022/09/20/busines Canadian Mine May Hold a Key To Electric George Ko For The New York
2022-09-20   2022-09-20 s/electric-vehicles-lithium-quebec.html     Cars                                        Times                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/science
2022-09-20   2022-09-20 /migratory-birds-godwits.html               Flapping 7000 Miles No Rest Stops Required By Jim Robbins                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/us/cons Mastodon in Their Bucket Digging Crews
2022-09-20   2022-09-20 truction-paleontology-mastodon.html         Turn Into Scientists                        By Mitch Smith                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/technol
                        ogy/catherine-engelbrecht-voter-fraud-      An Early Voter Fraud Crusader Has Become a
2022-09-14   2022-09-21 conspiracy-theories.html                    Star of the Right                           By Cecilia Kang                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/arts/des
                        ign/aperture-foundation-new-
2022-09-15   2022-09-21 headquarters.html                           Aperture Lands a New Headquarters           By Arthur Lubow                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/dining/
2022-09-16   2022-09-21 white-beans-mussels-recipe.html             For Tasty Beans Just Add Mussels            By Melissa Clark                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/books/b Buildings That Drove Their Creators to
2022-09-18   2022-09-21 old-ventures-architectural-failures.html    Despair                                     By Alexandra Jacobs              TX 9-213-471   2022-11-01




                                                                               Page 4269 of 5793
                        https://www.nytimes.com/2022/09/18/busines How Student Loan Subsidies Could Create
2022-09-18   2022-09-21 s/biden-loans-for-profit-colleges.html       New Problems                               By Stacy Cowley                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/arts/dan
2022-09-19   2022-09-21 ce/choreography-queen-funeral.html           A Precision That Aims To Reassure          By Roslyn Sulcas               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/arts/mu
2022-09-19   2022-09-21 sic/robert-fripp.html                        Paying Court To Crimsons King              By Jon Pareles                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/dining/
2022-09-19   2022-09-21 drinks/martini-appletini-lemon-drop.html     Take a Martini Add Nostalgia and a Twist   By Robert Simonson             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/arts/tele
2022-09-20   2022-09-21 vision/chris-redd-snl.html                   Chris Redd Announces Departure From SNL    By Dave Itzkoff                TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/19/dining/
2022-09-20   2022-09-21 buldak-pizza-korean-fire-chicken-recipe.html Spicy Buldak Gets the Pizza Treatment     By J Kenji LpezAlt              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/arts/des
                        ign/met-new-modern-and-contemporary-         The Met Picks a New Curator of Modern and
2022-09-20   2022-09-21 art.html                                     Contemporary Art                          By Robin Pogrebin               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/arts/mu
                        sic/fiddler-on-the-roof-chicago-valkyries-
2022-09-20   2022-09-21 detroit.html                                 Aria to Midwestern Opera                  By Joshua Barone                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/arts/mu Bad Bunny Leads Latin Grammy
2022-09-20   2022-09-21 sic/latin-grammy-nominations.html            Nominations                               By Ben Sisario                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/arts/tele
2022-09-20   2022-09-21 vision/andor-review-star-wars.html           Star Wars Without the Star Wars           By Mike Hale                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/books/j John W OMalley 95 Prolific and Precise
2022-09-20   2022-09-21 ohn-w-omalley-dead.html                      Catholic Historian                        By Clay Risen                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/busines
2022-09-20   2022-09-21 s/clinton-global-initiative-return.html      CGI Is Back Giving Stage To Clintons      By Nicholas Kulish              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/busines NBC Revives Telecast of Tarnished Golden
2022-09-20   2022-09-21 s/golden-globes-nbc-revival.html             Globes                                    By Brooks Barnes                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/busines
                        s/museum-theater-expansion-
2022-09-20   2022-09-21 development.html                             Arts Centers Revive Their Communities     By Miranda S Spivack            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/busines Norway Fund Sets a Target For Companies
2022-09-20   2022-09-21 s/norway-investment-fund-climate.html        On Net Zero                               By Peter Eavis                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/climate Lots of Good Food Gets Tossed These Apps
2022-09-20   2022-09-21 /food-waste-app.html                         Let You Buy It Cheap                      By Clare Toeniskoetter          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/dining/
                        dates-with-a-book-meals-for-roller-skaters-
2022-09-20   2022-09-21 and-more-reader-requests.html                For Readers Revelers and Night Skaters    By Nikita Richardson            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/health/a Panel Recommends an Anxiety Screening for
2022-09-20   2022-09-21 nxiety-screening-recommendation.html         All Americans Under 65                    By Emily Baumgaertner           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/nyregio New York Subway Cars Getting Cameras as
2022-09-20   2022-09-21 n/nyc-subway-security-cameras.html           Crime Fears Persist                       By Ana Ley                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/nyregio Covid Vaccine Mandate Is Lifted For New     By Sharon Otterman and Emma G
2022-09-20   2022-09-21 n/private-employer-vaccine-mandate.html      Yorks Private Employers                   Fitzsimmons                     TX 9-213-471   2022-11-01



                                                                               Page 4270 of 5793
                        https://www.nytimes.com/2022/09/20/nyregio New Yorks Revised Map Reverses Many
2022-09-20   2022-09-21 n/redistricting-city-council-nyc.html       Changes                                      By Jeffery C Mays                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/opinion With the Far Right Rising Sweden Is
2022-09-20   2022-09-21 /sweden-democrats-elections.html            Becoming Unbearable                          By Elisabeth Asbrink                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/opinion We Dont Yet Know How the Ukraine War
2022-09-20   2022-09-21 /ukraine-putin.html                         Ends                                         By Thomas L Friedman                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/sports/b Maury Wills Artful Base Stealer For the
2022-09-20   2022-09-21 aseball/maury-wills-dead.html               1960s Dodgers Dies at 89                     By Richard Goldstein                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/sports/b
                        aseball/max-scherzer-200-wins-mets-         Mets and Scherzer Take the Win Forget the
2022-09-20   2022-09-21 playoffs.html                               Perfect Game                                 By Benjamin Hoffman                 TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/20/sports/b What War What Arrest American Men Sign
2022-09-20   2022-09-21 asketball/griner-russia-basketball-players.html Up for Russia                            By Jonathan Abrams                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/sports/b
                        asketball/nba-anthony-edwards-fined-
2022-09-20   2022-09-21 homophobic.html                                 Edwards Is Fined By NBA For Slurs        By Scott Cacciola                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/technol YouTubes Dislike Button Doesnt Work
2022-09-20   2022-09-21 ogy/youtube-recommendations.html                Report Finds                             By Nico Grant                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/theater/
2022-09-20   2022-09-21 four-saints-in-three-acts-review.html           A Spectacle Becomes a OneMan Show        By Laura CollinsHughes              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/us/polit US Bolsters Ukraine Aid Amid Worries That    By Chris Cameron and Helene
2022-09-20   2022-09-21 ics/biden-gas-russia-europe.html                European Support Is Waning               Cooper                              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/us/polit Coastal Communities Cheer Billions in
2022-09-20   2022-09-21 ics/climate-law-coastal-projects.html           Natural Restoration Funding              By Stephanie Lai                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/us/polit Lack of Data Impedes US Efforts on
2022-09-20   2022-09-21 ics/covid-data-outbreaks.html                   Outbreaks                                By Sharon LaFraniere                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/us/polit Justice Department Is Investigating Racial
2022-09-20   2022-09-21 ics/justice-dept-racial-bias-police.html        Bias Claims in a Missouri Police Force   By Glenn Thrush                     TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/20/us/polit North Carolina Ponders EvenTempered Rivals
2022-09-20   2022-09-21 ics/north-carolina-senate-cheri-beasley.html In an Even Senate Race                       By Jonathan Weisman                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/us/polit
2022-09-20   2022-09-21 ics/pandemic-aid-fraud-minnesota.html        Charges for 48 In a Vast Theft Of Hunger Aid By David A Fahrenthold             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/us/polit Special Master in Papers Case Is Skeptical of
2022-09-20   2022-09-21 ics/trump-declassification-documents.html    Trumps Claim                                 By Alan Feuer and Charlie Savage   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/us/trum Videos Show Trump Allies Handling Voter By Danny Hakim Richard Fausset
2022-09-20   2022-09-21 p-election-coffee-county-georgia.html        Equipment                                    and Nick Corasaniti                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/world/e In One Corner of Kosovo Cheers Ring Out for
2022-09-20   2022-09-21 urope/putin-russia-kosovo.html               Putin                                        By Andrew Higgins                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/20/world/e Annexation Push In Ukraine Hints At an
2022-09-20   2022-09-21 urope/russia-annex-ukraine-referendum.html Escalation                                    By Anton Troianovski                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/world/e Truss Pivots From Grief To UKs Mounting       By Mark Landler and Stephen
2022-09-20   2022-09-21 urope/truss-britain-queen.html             Woes                                          Castle                              TX 9-213-471   2022-11-01



                                                                                 Page 4271 of 5793
                        https://www.nytimes.com/2022/09/20/world/e
                        urope/unga-russia-ukraine-macron-
2022-09-20   2022-09-21 erdogan.html                                Chaos of War Is Focal Point As UN Meets    By Farnaz Fassihi and Alan Yuhas   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/world/
                        middleeast/egypt-economy-ukraine-war-       As Economy Teeters Egypts Government
2022-09-20   2022-09-21 pandemic.html                               Sheds StateOwned Holdings                  By The New York Times              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/busines European Investments in Chinese Market Fall
2022-09-21   2022-09-21 s/europe-china-investment.html              Steeply                                    By Keith Bradsher                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/opinion The Border Crisis Could Still Be Bidens
2022-09-21   2022-09-21 /desantis-migrants-marthas-vineyard.html    Opportunity                                By Bret Stephens                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/sports/b With His 60th Home Run Judge Continues
2022-09-21   2022-09-21 aseball/aaron-judge-60-homers.html          March                                      By James Wagner                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/us/polit Judge Orders New Bankruptcy Officials for
2022-09-21   2022-09-21 ics/alex-jones-bankruptcy-judge.html        Jones Citing Lack of Candor                By Elizabeth Williamson            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/busines
                        s/the-fed-is-set-to-make-a-third-big-rate-
                        increase-and-provide-clarity-on-the-path-   Fed Expected To Lift Rates Yet Again Then
2022-09-21   2022-09-21 ahead.html                                  What                                       By Jeanna Smialek                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/insider/
                        how-we-chose-the-most-exciting-restaurants-
2022-09-21   2022-09-21 in-america.html                             The Making of the Restaurant List          By Sarah Bahr                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/nyregio
2022-09-21   2022-09-21 n/traffic-nyc-united-nations.html           Traffic Maze Returns With UN Envoys        By Winnie Hu and Sean Piccoli      TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/21/sports/b An Icon With the Giants Now Has a Stake in
2022-09-21   2022-09-21 aseball/buster-posey-giants-ownership.html the Team                                      By Tyler Kepner                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/sports/f
                        ootball/jimmy-garoppolo-trey-lance-          The Curse of the Game Manager Strikes
2022-09-21   2022-09-21 49ers.html                                   Hard in San Francisco                       By Mike Tanier                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/sports/f Help Wanted NFL Union Seeks New Leader
2022-09-21   2022-09-21 ootball/nfl-union-demaurice-smith.html       Must Fight Billionaires                     By Ken Belson                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/08/style/ic
2022-09-08   2022-09-22 ed-coffee-starbucks.html                     That Hot Cup of Joe Is So 20th Century      By Gina Cherelus                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/13/style/cl An Innovator Tugs on the Threads of
2022-09-13   2022-09-22 othsurgeon-streetwear-savile-row.html        Tradition                                   By Daniel Penny                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/briefing
2022-09-15   2022-09-22 /san-francisco-fog-uncertain-future.html     A Summer Spent Chasing Fog                  By John Branch                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/
2022-09-15   2022-09-22 14/climate/san-francisco-fog.html            The Elusive Future of San Franciscos Fog    By John Branch                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/arts/tele
2022-09-16   2022-09-22 vision/alan-alda-mash-anniversary.html       The Heart of MASH Looks Back                By Saul Austerlitz               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/movies/
2022-09-16   2022-09-22 sarah-michelle-gellar-do-revenge.html        Back To Acting But On Her Own Terms         By Ashley Spencer                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/style/sh
2022-09-16   2022-09-22 es-come-undone-on-purpose.html               Shes Come Undone on Purpose                 By Shane ONeill                  TX 9-213-471   2022-11-01



                                                                                Page 4272 of 5793
                        https://www.nytimes.com/2022/09/18/world/e
2022-09-18   2022-09-22 urope/alla-pugacheva-ukraine.html           Russian Pop Star Decries Invasion        By Anton Troianovski               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/opinion Dont Let Republicans Off the Hook on
2022-09-19   2022-09-22 /republicans-same-sex-marriage.html         SameSex Marriage                         By Pamela Paul                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/opinion
2022-09-19   2022-09-22 /summer-equinox.html                        At Summers End a Moment of Wild Surprise By Margaret Renkl                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/science Valery Polyakov 80 Who Took a 437Day
2022-09-19   2022-09-22 /valery-polyakov-dead.html                  Journey in Space                         By Alex Traub                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/style/qu The Queen As an Influencer In So Many
2022-09-19   2022-09-22 een-elizabeth-icon-symbols.html             Ways                                     By Louis Lucero II                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/arts/ind
2022-09-20   2022-09-22 igenous-continent-pekka-hamalainen.html     Book Aims To Recast The Native Narrative By Jennifer Schuessler             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/books/s Betting on Audiobooks Spotify Reveals New By Alexandra Alter and Elizabeth
2022-09-20   2022-09-22 potify-audiobooks.html                      Hub                                      A Harris                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/opinion Glenn Youngkin Knows Exactly What Hes
2022-09-20   2022-09-22 /glenn-youngkin-midterms-trump.html         Doing                                    By Jamelle Bouie                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/20/opinion
2022-09-20   2022-09-22 /patagonia-yvon-chouinard-tom-brokaw.html Patagonias Reluctant Billionaire Does Good By Tom Brokaw                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/sports/f Arnold Tucker 95 College Quarterback Who By Frank Litsky and William
2022-09-20   2022-09-22 ootball/arnold-tucker-dead.html             Was Celebrated Yet Overshadowed          McDonald                           TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/20/style/lo
2022-09-20   2022-09-22 ndon-fashion-week-jw-anderson-erdem.html With Respect Fashion Marches On            By Elizabeth Paton                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/theater/
2022-09-20   2022-09-22 beetlejuice-broadway-closing.html           Beetlejuice Is Set to Close on Broadway By Michael Paulson                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/theater/
                        royal-shakespeare-company-daniel-evans-
2022-09-20   2022-09-22 tamara-harvey.html                          Shakespeare Company Names Two Directors By Alex Marshall                    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/21/arts/dan
2022-09-21   2022-09-22 ce/review-alan-cumming-robert-burns.html Viewing the Dark Side of a Man of Letters    By Brian Seibert                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/arts/des
                        ign/senga-nengudi-nasher-prize-
2022-09-21   2022-09-22 sculpture.html                              Senga Nengudi Wins 2023 Nasher Prize      By Aruna DSouza                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/arts/des
2022-09-21   2022-09-22 ign/tyler-mitchell-photography.html         From Fashion to the Gallery               By Robin Pogrebin                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/books/r
                        eview/by-hands-now-known-margaret-
2022-09-21   2022-09-22 burnham.html                                Everyday Murder Without Consequences      By Jennifer Szalai                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/busines In China Deadly Crash Triggers Covid
2022-09-21   2022-09-22 s/china-covid-zero-policy-bus-crash.html    Trauma                                    By Li Yuan                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/busines Regulators Say Amazon Targeted Union
2022-09-21   2022-09-22 s/economy/amazon-labor-union-nlrb.html      Organizers                                By Noam Scheiber                  TX 9-213-471   2022-11-01




                                                                               Page 4273 of 5793
                        https://www.nytimes.com/2022/09/21/busines With Jump in Rates Fed Shows It Means
2022-09-21   2022-09-22 s/economy/fed-rates-inflation-powell.html  Business on Inflation                        By Jeanna Smialek                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/busines Auto Industry Illustrates the Uncertainty of
2022-09-21   2022-09-22 s/economy/inflation-car-market.html        Inflation                                    By Jeanna Smialek                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/busines US Gas Prices End Streak of Declines As
2022-09-21   2022-09-22 s/gas-prices-decline-streak.html           Average Increases to 368 a Gallon            By Isabella Simonetti            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/busines Germany Steps In to Ensure Natural Gas
2022-09-21   2022-09-22 s/germany-uniper-nationalized.html         Keeps Flowing                                By Melissa Eddy                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/busines Allan M Siegal Influential Watchdog Inside
2022-09-21   2022-09-22 s/media/allan-m-siegal-dead.html           The Times Is Dead at 82                      By Todd S Purdum                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/busines
2022-09-21   2022-09-22 s/media/axel-springer-lawsuit.html         Axel Springer Accused in Harassment Suit     By Katie Robertson               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/busines Britain Will Cut Energy Bills For Companies
2022-09-21   2022-09-22 s/uk-energy-bills-tax-cuts.html            for 6 Months                                 By Eshe Nelson                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/climate
                        /hydrofluorocarbons-hfcs-kigali-           Senate Ratifies Global Pact to Curb HFCs     By Lisa Friedman and Coral
2022-09-21   2022-09-22 amendment.html                             Used in Cooling                              Davenport                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/dining/ Film Details Allegations Against Celebrity
2022-09-21   2022-09-22 mario-batali-film-sexual-assault.html      Chef                                         By Julia Moskin and Kim Severson TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/educati Saul Kripke a Philosopher Who Found Truths
2022-09-21   2022-09-22 on/learning/saul-kripke-dead.html          in Semantics Dies at 81                      By Sam Roberts                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/nyregio New York Carriage Horse Collapse Renews
2022-09-21   2022-09-22 n/carriage-horses-new-york.html            LongRunning Debate                           By Sarah Maslin Nir              TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/21/nyregio Federal Judge Dismisses Case Against NJ
2022-09-21   2022-09-22 n/new-jersey-police-civil-rights-charge.html Officer                                   By Tracey Tully                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/nyregio
2022-09-21   2022-09-22 n/thomas-barrack-trump-trial.html            Trial of Former Adviser to Trump Begins   By Rebecca Davis OBrien           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/nyregio New York Sues Trump Citing Decade of        By Jonah E Bromwich William K
2022-09-21   2022-09-22 n/trump-fraud-lawsuit-ny.html                Staggering Fraud                          Rashbaum and Ben Protess          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/nyregio Amid Court Fight LGBTQ Club Offers a
2022-09-21   2022-09-22 n/yeshiva-university-lgbtq-club.html         Compromise to Yeshiva                     By Liam Stack                     TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/21/sports/b
2022-09-21   2022-09-22 aseball/aaron-judge-ball-authentication.html The Mark of Greatness Verified            By David Waldstein                TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/21/sports/b
2022-09-21   2022-09-22 aseball/aaron-judge-yankees-60-homers.html Judge Joins a Pinstriped Party of Three     By Tyler Kepner                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/sports/b
                        asketball/robert-sarver-phoenix-suns-       Suns and Mercury Owner Plans to Sell Teams By Scott Cacciola Tania Ganguli
2022-09-21   2022-09-22 mercury.html                                Amid Workplace Scandal                     and Kevin Draper                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/sports/f
2022-09-21   2022-09-22 ootball/nfl-kickers-pants-fines.html        Kickers Are Showing a Little Too Much Leg By Kris Rhim                       TX 9-213-471   2022-11-01




                                                                                 Page 4274 of 5793
                        https://www.nytimes.com/2022/09/21/sports/s
                        occer/rainbow-armbands-qatar-world-          European Captains Plan For Rainbow
2022-09-21   2022-09-22 cup.html                                     Armbands As a Statement in Qatar              By Tariq Panja                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/sports/t Records and Trophies Are Nice but Federer
2022-09-21   2022-09-22 ennis/roger-federer-career.html              Prefers the Memories                          By Christopher Clarey           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/style/eti
2022-09-21   2022-09-22 enne-russo-fashion-show-producer.html        No Pain No Gain No Risk No Champagne          By Kerry Olsen                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/style/ju
2022-09-21   2022-09-22 lie-blackmon-springfield-missouri.html       With Springfield Mo as Their Muse             By Steven Kurutz                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/style/m Young Designer Calling the Shots for an
2022-09-21   2022-09-22 aximilian-davis-black-desigers.html          August Brand                                  By Elizabeth Paton              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/technol FDA Draws More Eyes To Dangerous NyQuil By Daniel Victor and Amanda
2022-09-21   2022-09-22 ogy/nyquil-chicken-tiktok-fda.html           Dish                                          Holpuch                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/technol
                        ogy/personaltech/smartphone-accessibility-
2022-09-21   2022-09-22 features.html                                Smartphone Settings to Suit a Users Abilities By J D Biersdorfer              TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/21/technol Twitch Says It Will Cut Payments for Many
2022-09-21   2022-09-22 ogy/twitch-reduce-payments-streamers.html Popular Streamers                             By Cade Metz                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/theater/
2022-09-21   2022-09-22 my-onliness-this-and-that-play.html          A Gust of Weird and Playful Shadow Puppets By Laura CollinsHughes             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/us/geor ExOfficer in Minneapolis Gets 3 Years in     By Remy Tumin and Nicholas
2022-09-21   2022-09-22 ge-floyd-thomas-lane-minneapolis.html        Floyd Case                                 BogelBurroughs                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/us/hurri Drenched by Hurricane Puerto Ricans
2022-09-21   2022-09-22 cane-fiona-puerto-rico-cleanup.html          Confront Heartbreaking Cleanup             By Laura N Prez Snchez             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/us/jrotc- Pentagon Says Oversight Lacking on Junior By Nicholas BogelBurroughs and
2022-09-21   2022-09-22 abuse-pentagon-oversight.html                ROTC Abuse                                 Mike Baker                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/us/polit
                        ics/fec-complaint-republican-campaign-                                                  By Shane Goldmacher and Reid J
2022-09-21   2022-09-22 finance.html                                 GOP Group Challenged Over Use of Funds Epstein                                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/us/polit
2022-09-21   2022-09-22 ics/guns-airport-security.html               TSA Is Intercepting Guns at a Record Pace  By Mark Walker                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/us/polit House Passes Revamp of Electoral Count
2022-09-21   2022-09-22 ics/house-passes-electoral-count-act.html    Which Trump Tried to Exploit               By Carl Hulse                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/us/polit Manchins Pipeline Deal Irks Both Parties    By Emily Cochrane and Lisa
2022-09-21   2022-09-22 ics/manchin-pipeline-spending-bill.html      Entangling Spending Bill                   Friedman                           TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/21/us/polit
2022-09-21   2022-09-22 ics/politics-letitia-james-trump-lawsuit.html Behind the Lawsuit A Political Backdrop     By Blake Hounshell               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/us/polit US and Allies Condemn Military Threats by
2022-09-21   2022-09-22 ics/putin-ukraine-biden.html                  Putin                                       By Eric Schmitt                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/us/polit Court Lifts Hold on Sensitive Files at Trumps By Charlie Savage Glenn Thrush
2022-09-21   2022-09-22 ics/trump-classified-documents.html           Estate                                      and Alan Feuer                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/us/polit Washington Pays Tribute To a Different
2022-09-21   2022-09-22 ics/washington-queen-memorial.html            Type of Leader                              By Stephanie Lai                 TX 9-213-471   2022-11-01



                                                                                Page 4275 of 5793
                        https://www.nytimes.com/2022/09/21/world/a Victims of Marcos Watch His Son and Recall
2022-09-21   2022-09-22 sia/philippines-victims-marcos.html        the Past                                   By Jes Aznar and Jason Gutierrez TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/21/world/a
2022-09-21   2022-09-22 ustralia/stranded-whales-tasmania.html     230 Pilot Whales Beached in Tasmania       By Natasha Frost                 TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/21/world/e Addressing the UN President Cites Kremlin By Jim Tankersley David E Sanger
2022-09-21   2022-09-22 urope/biden-russia-united-nations.html     as a Threat to Peace                       and Farnaz Fassihi               TX 9-213-471      2022-11-01

                        https://www.nytimes.com/2022/09/21/world/e French Left Outrages Feminists After        By Aurelien Breeden and Catherine
2022-09-21   2022-09-22 urope/france-left-lawmaker-slaps-wife.html Lawmaker Admits Slapping Wife               Porter                            TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/21/world/e Inspiration for Leader of Italys Hard Right
2022-09-21   2022-09-22 urope/giorgia-meloni-lord-of-the-rings.html World of Hobbits                             By Jason Horowitz                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/world/e Putin Is Backed Into a Corner and May Be
2022-09-21   2022-09-22 urope/putin-russia-ukraine-war.html          More Dangerous Than Ever                    By Roger Cohen                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/world/e Biden Condemns Moscow as Putin Calls Up By Anton Troianovski and Valerie
2022-09-21   2022-09-22 urope/putin-ukraine-russia-nuclear.html      Forces                                      Hopkins                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/world/i Irans Leader Assails US Sanctions Amid
2022-09-21   2022-09-22 ran-ebrahim-raisi-speech.html                Turmoil Over Rights at Home                 By Farnaz Fassihi                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/world/ Iran Unleashes Deadly Crackdown After          By Cora Engelbrecht and Farnaz
2022-09-21   2022-09-22 middleeast/iran-protests-mahsa-amini.html    Protests of Police Custody Death            Fassihi                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/us/polit Justices Wife Gives Assent To Interview Over By Luke Broadwater and Maggie
2022-09-22   2022-09-22 ics/virginia-thomas-jan-6-panel.html         Jan 6                                       Haberman                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/insider/
2022-09-27   2022-09-22 polling-tilt-nate-cohn.html                  The Tilt a Cooking Show for Polling         By Emmett Lindner                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/us/max-
2022-09-17   2022-09-23 lerner-dead.html                             Maximilian Lerner 98 World War II Spy       By Richard Sandomir              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/busines
                        s/media/russia-war-food-supply-chain-        Moscows New Ruse Who Eats and Who
2022-09-19   2022-09-23 disinformation.html                          Doesnt                                      By Jeremy W Peters               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/arts/des
                        ign/kmska-royal-museum-of-fine-arts-in-      A Single Renowned Museum Transforms Into
2022-09-20   2022-09-23 antwerp.html                                 Two                                         By Nina Siegal                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/arts/jac Jack Charles Called the Grandfather of
2022-09-20   2022-09-23 k-charles-dead.html                          Aboriginal Theater Dies at 79               By Natasha Frost                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/arts/tele
2022-09-20   2022-09-23 vision/firebuds-disney.html                  Emergency Workers Drive Into Childrens TV By Laurel Graeber                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/theater/ Mike Birbiglias Next Act Is Coming to
2022-09-20   2022-09-23 mike-birbiglia-broadway.html                 Broadway                                    By Michael Paulson               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/arts/mu
2022-09-21   2022-09-23 sic/beth-orton-weather-alive.html            How a Sooty Old Piano Inspired Beth Orton By Jon Pareles                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/books/j John Train 94 Is Dead Paris Review
2022-09-21   2022-09-23 ohn-train-dead.html                          CoFounder And Cold War Operative            By Alex Traub                    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/21/busines In Italy Small Refinery City Faces Ruin From
2022-09-21   2022-09-23 s/economy/europe-oil-ban-italy-lukoil.html a Ban on Russian Oil                         By Patricia Cohen                 TX 9-213-471   2022-11-01



                                                                                Page 4276 of 5793
                        https://www.nytimes.com/2022/09/21/movies/ A Gleaming Dollhouse Too Good To Be
2022-09-21   2022-09-23 dont-worry-darling-review.html               True                                         By Manohla Dargis                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/movies/
2022-09-21   2022-09-23 escape-from-kabul-review.html                Escape From Kabul                            By Ben Kenigsberg                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/movies/
2022-09-21   2022-09-23 meet-cute-review-live-date-repeat.html       Meet Cute                                    By Calum Marsh                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/
                        21/world/europe/ukraine-maps-                                                             By Marco Hernandez and Denise
2022-09-21   2022-09-23 momentum.html                                Can Ukraine Break Through Again              Lu                               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/arts/des
                        ign/david-drake-enslaved-potters-met-
2022-09-22   2022-09-23 museum.html                                  The Poem Jars of David Drake                 By Roberta Smith                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/arts/mu With a Sound Forged in War an Embrace of
2022-09-22   2022-09-23 sic/iannis-xenakis-centennial.html           Chaos                                        By Jiri Slabihoudek              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/arts/mu
2022-09-22   2022-09-23 sic/loren-connors.html                       His Resilience Lets Him Play On              By Grayson Haver Currin          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/arts/tele
                        vision/how-much-watching-time-do-you-have-
2022-09-22   2022-09-23 this-weekend.html                            This weekend I have                          By Margaret Lyons                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/busines
2022-09-22   2022-09-23 s/bank-of-england-interest-rates.html        British Rate Hits 225 Vote Is Split          By Eshe Nelson                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/busines
                        s/boeing-200-million-settlement-sec-737-     Boeing Will Pay 200 Million For Misleading   By Matthew Goldstein and Niraj
2022-09-22   2022-09-23 max.html                                     737 Investors                                Chokshi                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/busines
2022-09-22   2022-09-23 s/economy/central-banks-inflation.html       Rate Setters See No Time To Waste            By Jeanna Smialek                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/busines
                        s/into-the-wilds-of-quebec-in-an-electric-
2022-09-22   2022-09-23 car.html                                     A Mustang MachE in the Wilds of Quebec       By Jack Ewing                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/busines Japan Props Up the Yen Which Sinks to a
2022-09-22   2022-09-23 s/japan-yen-currency.html                    Level Not Seen in Decades                    By Ben Dooley                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/climate Climate Views Trip Up Leader Of World          By David Gelles and Alan
2022-09-22   2022-09-23 /malpass-world-bank-climate.html             Bank                                         Rappeport                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/climate Eruption of Tonga Volcano Might Further
2022-09-22   2022-09-23 /tonga-volcano-climate.html                  Heat Planet                                  By Henry Fountain                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/movies/ Tyler Perry Revisits His First Screenplay a
2022-09-22   2022-09-23 a-jazzmans-blues-review.html                 Dark Melodrama                               By Lisa Kennedy                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/movies/
2022-09-22   2022-09-23 athena-review.html                           Brothers on the Verge                        By AO Scott                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/movies/
2022-09-22   2022-09-23 carmen-review.html                           Carmen                                       By Teo Bugbee                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/movies/
2022-09-22   2022-09-23 catherine-called-birdy-review.html           In the Middle Ages At an Unbearable Age      By Amy Nicholson                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/movies/
2022-09-22   2022-09-23 invisible-demons-review.html                 Invisible Demons                             By Natalia Winkelman             TX 9-213-471   2022-11-01



                                                                                Page 4277 of 5793
                        https://www.nytimes.com/2022/09/22/movies/
2022-09-22   2022-09-23 lou-review-unfinished-business.html        Lou                                           By Jeannette Catsoulis      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/movies/
2022-09-22   2022-09-23 my-imaginary-country-review.html           Hope for Chiles Next Chapter                  By AO Scott                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/movies/
2022-09-22   2022-09-23 nothing-compares-review.html               Nothing Compares                              By Glenn Kenny              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/movies/
2022-09-22   2022-09-23 on-the-come-up-review.html                 Lose Yourself in a Metaphor                   By Beandrea July            TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/22/movies/
2022-09-22   2022-09-23 petrovs-flu-review-kirill-serebrennikov.html As Ill as the World That Surrounds Them       By Manohla Dargis         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/movies/
2022-09-22   2022-09-23 railway-children-review.html                 Railway Children                              By Nicolas Rapold         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/movies/
2022-09-22   2022-09-23 sidney-review.html                           Poitier Man of Many Firsts                    By Jeannette Catsoulis    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/movies/
                        the-american-dream-and-other-fairy-tales-
2022-09-22   2022-09-23 review.html                                  The American Dream and Other Fairy Tales By Beatrice Loayza             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/movies/
2022-09-22   2022-09-23 the-greatest-beer-run-ever-review.html       A King of Lager Delivery                      By Amy Nicholson          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/nyregio Citys Shrunken Shelter System Staggers
2022-09-22   2022-09-23 n/migrants-homeless-shelter-crisis.html      Under Migrant Influx                          By Andy Newman            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/nyregio Adams Retreats From Expanding New York
2022-09-22   2022-09-23 n/prekindergarten-adams-nyc-3k.html          Citys Preschool Program                       By Emma G Fitzsimmons     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/nyregio
                        n/rudy-giuliani-supermarket-attack-
2022-09-22   2022-09-23 charges.html                                 Case Adjourned in the Patting of Giuliani     By Hurubie Meko           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/opinion
2022-09-22   2022-09-23 /federal-reserve-inflation-russia-war.html   War Inflation and Squandered Credibility      By Paul Krugman           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/opinion
                        /moderate-republicans-gingrich-trump-new- Moderate Republicans No Longer Have a
2022-09-22   2022-09-23 england.html                                 Home                                          By Peter Smith            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/opinion
2022-09-22   2022-09-23 /puerto-rico-fiona-power-luma.html           Betrayal and Blackouts in Puerto Rico         By Israel Melndez Ayala   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/opinion
2022-09-22   2022-09-23 /russia-ukraine-putin.html                   The Ground Beneath Putin Is Starting to Shift By Marlene Laruelle       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/sports/b
2022-09-22   2022-09-23 aseball/mets-hit-by-pitch-record.html        Dubious Record Leaves Its Mark On the Mets By Victor Mather             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/sports/n California Regents Hear Out Pac12 on
2022-09-22   2022-09-23 caafootball/ucla-big-ten-uc-regents.html     Blocking UCLAs Move to the Big Ten            By Billy Witz             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/sports/s Who Will Fill the Role Of Striker for the US
2022-09-22   2022-09-23 occer/usmnt-world-cup-sargent-pepi.html      Whoever Fills the Net                         By Andrew Keh             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/sports/t Federers Retirement Brings Two Great
2022-09-22   2022-09-23 ennis/federer-nadal-djokovic-rivalry.html    Rivalries to an End                           By Jesus Jimnez           TX 9-213-471   2022-11-01




                                                                                 Page 4278 of 5793
                        https://www.nytimes.com/2022/09/22/sports/t
2022-09-22   2022-09-23 ennis/federer-nadal-rivals-partners.html      Old Foes Play One Last Time as Teammates By Christopher Clarey               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/sports/t
                        ennis/laver-cup-roger-federer-nadal-djokovic-
2022-09-22   2022-09-23 murray.html                                   A fitting farewell with his friends         By Cindy Shmerler                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/sports/t
2022-09-22   2022-09-23 ennis/shot-selection-players-decision.html    Play it safe or go for broke                By Stuart Miller                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/sports/t
2022-09-22   2022-09-23 ennis/taylor-fritz-laver-cup.html             The one that got away                       By Cindy Shmerler                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/theater/
2022-09-22   2022-09-23 philadelphia-fringe-festival.html             A Nourishing Lineup At Philadelphia Fringe By Alexis Soloski                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/upshot/ Pro or Con Voters Have Not Wavered On
2022-09-22   2022-09-23 donald-trump-approval-poll.html               Trump Poll Says                             By Ruth Igielnik                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/us/brett- Mississippi Says Millions In Funding for the
2022-09-22   2022-09-23 favre-welfare-mississippi.html                Needy Was Misused by the Rich               By Neil MacFarquhar              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/us/india
2022-09-22   2022-09-23 na-abortion-ban.html                          Judge Stays Indianas Ban on Most Abortions By Eliza Fawcett                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/us/miss She Survived a Blast In Kabul Then She         By Edgar Sandoval and Zabihullah
2022-09-22   2022-09-23 ing-girl-afghanistan-texas.html               Vanished in Texas                           Ghazi                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/us/polit Calls Grow to Shut Down Migrant Detainee
2022-09-22   2022-09-23 ics/aclu-ice-immigration-detention.html       Center                                      By Eileen Sullivan               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/us/polit
2022-09-22   2022-09-23 ics/afghan-refugees-congress.html             Afghan Evacuees Wait In Limbo as Does Bill By Luke Broadwater                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/us/polit Im Done Saying Im Sorry Lashing Out Jones
2022-09-22   2022-09-23 ics/alex-jones-trial.html                     Faces Sandy Hook Families in Court          By Elizabeth Williamson          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/us/polit
                        ics/democrats-retirements-republicans-        Departing Representatives Narrow Democrats
2022-09-22   2022-09-23 house.html                                    Path to Holding the House                   By Catie Edmondson               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/us/polit Walkers Business Pledged Gifts To Charities By David A Fahrenthold and Shane
2022-09-22   2022-09-23 ics/herschel-walker-charity-donations.html    but Proof Is Scant                          Goldmacher                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/us/polit
2022-09-22   2022-09-23 ics/house-passes-police-funding-bills.html    House Passes Funding for Police Departments By Annie Karni and Stephanie Lai TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/us/polit
2022-09-22   2022-09-23 ics/monkeypox-elimination.html                Officials Hopeful on Monkeypox Elimination By Sheryl Gay Stolberg            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/us/polit Nazi Sympathizer Gets 4 Years for His Role
2022-09-22   2022-09-23 ics/nazi-sympathizer-jan-6.html               in Capitol Riot                             By Zach Montague and Alan Feuer TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/22/us/polit Ohio Candidates Account Of Combat Service
2022-09-22   2022-09-23 ics/ohio-jr-majewski-afghanistan.html         Unravels                                    By Neil Vigdor                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/us/polit Trump Claims He Declassified Documents        By Glenn Thrush Alan Feuer and
2022-09-22   2022-09-23 ics/trump-documents-declassification.html     Why Dont His Lawyers Say So in Court        Charlie Savage                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/22/us/polit Trump Fortune May Face Risks From          By Maggie Haberman Ben Protess
2022-09-22   2022-09-23 ics/trump-finances-lawsuits.html            Inquiries                                  Matthew Goldstein and Eric Lipton TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/22/world/a 16 Years 3 Convictions The Khmer Rouge
2022-09-22   2022-09-23 sia/cambodia-khmer-rouge-tribunal.html      Trials Come to an End                      By Seth Mydans                    TX 9-213-471     2022-11-01



                                                                                Page 4279 of 5793
                        https://www.nytimes.com/2022/09/22/world/a North Korea Denies Selling Arms to Moscow
2022-09-22   2022-09-23 sia/north-korea-russia-arms-us.html        Accusing US of Spreading Rumors           By Choe SangHun                           TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/22/world/e Train Daddy Of New York Steps Down In
2022-09-22   2022-09-23 urope/andy-byford-mta-london-transport.html London                                         By Daniel Victor                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/world/e
                        urope/northern-ireland-census-catholics-     In a First Catholics Outnumber Protestants in By Megan Specia and Ed
2022-09-22   2022-09-23 protestants.html                             Northern Ireland                              OLoughlin                           TX 9-213-471   2022-11-01
                                                                                                                   By Anton Troianovski Valerie
                        https://www.nytimes.com/2022/09/22/world/e Outcry in Russia As Putins Draft Expands Hopkins Ivan Nechepurenko and
2022-09-22   2022-09-23 urope/putin-russia-military-ukraine-war.html the War                                       Alina Lobzina                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/world/e Fearing a Military CallUp Men Rush to Leave
2022-09-22   2022-09-23 urope/russian-men-draft.html                 Russia                                        By Ben Hubbard                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/world/e As Russia Retreats a Question Lingers Who By Andrew E Kramer Maria
2022-09-22   2022-09-23 urope/ukraine-collaborators-russia.html      Counts as a Collaborator                      Varenikova and Nicole Tung          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/world/                                                  By Cora Engelbrecht and Farnaz
2022-09-22   2022-09-23 middleeast/iran-protests.html                Sources of the Protests Spreading Around Iran Fassihi                             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/world/ Cholera Outbreak Spreads in Syria Killing
2022-09-22   2022-09-23 middleeast/syria-cholera-outbreak.html       Close to 50 and Sickening Thousands           By Hwaida Saad and Jane Arraf       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/ Wildfire Smoke Is Erasing Progress on Clean
2022-09-22   2022-09-23 22/climate/wildfire-smoke-pollution.html     Air                                           By Mira Rojanasakul                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/
                        22/technology/russia-putin-surveillance-     They Are Watching Inside Russias Vast         By Paul Mozur Adam Satariano
2022-09-22   2022-09-23 spying.html                                  Surveillance State                            Aaron Krolik and Aliza Aufrichtig   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/arts/des
                        ign/paul-allen-collection-art-christies-
2022-09-23   2022-09-23 auction.html                                 One Billionaires Bounty                       By Robin Pogrebin                   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/22/sports/b Celtics Suspend Coach for Upcoming Season
2022-09-23   2022-09-23 asketball/ime-udoka-celtics-suspended.html for Violating Team Policies                  By Scott Cacciola                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/us/polit Jury Rules Against Project Veritas in
2022-09-23   2022-09-23 ics/project-veritas-lawsuit.html            Undercover Video Case                       By Adam Goldman                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/books/r
2022-09-23   2022-09-23 eview/new-crime-fiction.html                Tales From the Morgue                       By Sarah Weinman                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/14/climate Where the New Climate Law Means More         By Lisa Friedman and Bryan
2022-09-14   2022-09-24 /louisiana-gulf-drilling-fishing.html       Drilling Not Less                           Tarnowski                              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/books/j
2022-09-19   2022-09-24 enny-xie-the-rupture-tense-poetry.html      A Poet Examines the Power of the Concealed By Han Zhang                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/movies/
2022-09-21   2022-09-24 the-400-blows-francois-truffaut.html        Its a Directing Debut That Still Astonishes By J Hoberman                          TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/22/arts/mu Blackpink and the Limits of KPop
2022-09-22   2022-09-24 sic/blackpink-born-pink-aespa-newjeans.html Maximalism                                    By Jon Caramanica                    TX 9-213-471   2022-11-01




                                                                                  Page 4280 of 5793
                        https://www.nytimes.com/2022/09/22/arts/mu
                        sic/rolling-loud-festival-drill-rappers-    Rappers Say They Were Removed From
2022-09-22   2022-09-24 removed.html                                Festival                                     By Joe Coscarelli               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/22/us/john- Texas Prosecutor Loses Attempt to Spare a
2022-09-22   2022-09-24 henry-ramirez-execution-texas.html          Murderer From Execution                      By Ruth Graham                  TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/22/us/mass Charges Dropped for Judge Accused in
2022-09-22   2022-09-24 achusetts-judge-obstruction-immigration.html Immigrants Escape                           By Michael Levenson             TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/22/world/a
                        mericas/michael-jackson-impersonators-       Making the Man in the Mirror Resemble the   By Jack Nicas and Anita Pouchard
2022-09-22   2022-09-24 buenos-aires.html                            King of Pop                                 Serra                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/arts/dan
                        ce/review-robyn-orlin-albert-ibokwe-         Dressed Up in Saran Wrap and Ready to
2022-09-23   2022-09-24 khoza.html                                   Move                                        By Gia Kourlas                  TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/23/arts/des
2022-09-23   2022-09-24 ign/documenta-15.html                        A Huge Art Show Ends Maybe Forever          By Jason Farago                 TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/23/arts/des Honoring Those Who Were Killed By the
2022-09-23   2022-09-24 ign/happy-birthday-police-deaths.html        Police                                      By Kalia Richardson             TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/23/arts/tele
2022-09-23   2022-09-24 vision/lorne-michaels-saturday-night-live.html Sketching His View Of SNL                 By Dave Itzkoff                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/books/h Hilary Mantel Master of Historical Fiction    By Alex Marshall and Alexandra
2022-09-23   2022-09-24 ilary-mantel-dead.html                         With Flair Dies at 70                     Alter                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/books/r Facing Her Past And the Worlds Without
2022-09-23   2022-09-24 eview/hilary-mantel-appraisal.html             Fear                                      By Sarah Lyall                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/busines
2022-09-23   2022-09-24 s/fed-stocks-wall-street.html                  Traders See Fed Outlook As Too Rosy       By Joe Rennison                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/busines Oil Price Drops To Lowest Level Since
2022-09-23   2022-09-24 s/oil-prices.html                              January 78 Per Barrel                     By Clifford Krauss               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/busines Rail Union Deal Must Still Pass Muster With
2022-09-23   2022-09-24 s/railroad-strike-union-contract.html          Union Members                             By Noam Scheiber                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/busines Fears of Bust Sink Markets Across Globe As By Joe Rennison Eshe Nelson and
2022-09-23   2022-09-24 s/stock-market-today.html                      Rates Rise                                Isabella Simonetti               TX 9-213-471   2022-11-01
                                                                                                                 By Ben Protess William K
                        https://www.nytimes.com/2022/09/23/nyregio Lawsuit Against Trump Is Based on a Law Rashbaum and Rebecca Davis
2022-09-23   2022-09-24 n/donald-trump-letitia-james-lawsuit.html      Used To Take On Corporations              OBrien                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/nyregio
                        n/psychiatric-hospital-brooklyn-               Patient Death At Hospital Investigated As
2022-09-23   2022-09-24 homicide.html                                  Homicide                                  By Hurubie Meko and Sean Piccoli TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/nyregio In Brooklyn Enclave Zeldin Sees Path to a     By Nicholas Fandos and Eliza
2022-09-23   2022-09-24 n/zeldin-governor-hasidic-jews.html            Win                                       Shapiro                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/opinion
                        /columnists/child-tax-credit-basic-
2022-09-23   2022-09-24 income.html                                    A Quiet Revolution in US Welfare Policy   By Farhad Manjoo                 TX 9-213-471   2022-11-01




                                                                                Page 4281 of 5793
                        https://www.nytimes.com/2022/09/23/opinion
                        /international-world/ukraine-referendum-    Putins Referendum Is a Sham My Family
2022-09-23   2022-09-24 donbas-putin.html                           Doesnt Need Liberating                       By Sasha Vasilyuk              TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/23/opinion Asian Americans Pay an Unfair Price for
2022-09-23   2022-09-24 /race-admissions.html                       Campus Diversity                             By John McWhorter              TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/23/sports/b With Judge on the Brink of No 61 It Got Very
2022-09-23   2022-09-24 aseball/aaron-judge-yankees.html            Quiet on Every Pitch                         By David Waldstein             TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/23/sports/b Celtics Detail Coachs SeasonLong Suspension
2022-09-23   2022-09-24 asketball/ime-udoka-boston-celtics.html     a Little                                     By Scott Cacciola              TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/23/sports/s
2022-09-23   2022-09-24 occer/brazil-ghana-world-cup.html           This May Be the Year for Neymar and Brazil By Rory Smith                    TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/23/sports/s In Letters 15 Top Players On Spains Womens
2022-09-23   2022-09-24 occer/spain-soccer-women-jorge-vilda.html Team Call for the Coachs Ouster               By Tariq Panja                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/sports/t Federers Last Pro Match Provides Almost     By Christopher Clarey Andrew Das
2022-09-23   2022-09-24 ennis/roger-federer-nadal-final-match.html  Everything but Not a Win                    and James Hill                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/sports/u Japan Dominates US Mens Team Dimming
2022-09-23   2022-09-24 smnt-japan-world-cup.html                   Outlook For the World Cup                   By Andrew Keh                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/technol
2022-09-23   2022-09-24 ogy/apple-nfl-super-bowl.html               Apple Agrees To Sponsor NFL Show            By Tripp Mickle                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/theater/                                             By Laura CollinsHughes and Amir
2022-09-23   2022-09-24 little-amal-new-york.html                   Getting the Shot Misses the Point           Hamja                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/us/alan- Supreme Court Rules for Alabama on a Lethal
2022-09-23   2022-09-24 miller-alabama-execution.html               Injection                                   By Nicholas BogelBurroughs       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/us/coff County to Get New Machines For Elections
2022-09-23   2022-09-24 ee-county-georgia-election.html             After Breach                                By Richard Fausset               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/us/dona Donald Blinken 96 Diplomat Who Raised
2022-09-23   2022-09-24 ld-blinken-dead.html                        Secretary of State                          By Alex Traub                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/us/ilse- Ilse Nathan and Ruth Siegler Sisters and
2022-09-23   2022-09-24 nathan-ruth-siegler-scheuer-dead.html       Survivors Die 11 Days Apart                 By Richard Sandomir              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/us/polit GOP Winners Make Swift Pivot Away From
2022-09-23   2022-09-24 ics/election-deniers-trump-midterms.html    Election Denial                             By Jonathan Weisman              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/us/polit One of Trumps Favorite Artists Performs as
2022-09-23   2022-09-24 ics/elton-john-white-house.html             Guest of the Bidens                         By Katie Rogers                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/23/us/polit Kushners Company Settles Suit Over Rental
2022-09-23   2022-09-24 ics/jared-kushner-apartment-settlement.html Practices                                  By Linda Qiu                     TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/23/us/polit A Libyan Held at Guantnamo for 20 Years Is
2022-09-23   2022-09-24 ics/libyan-guantanamo-transfer.html         Approved for Transfer                      By Carol Rosenberg               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/23/us/polit Trying to Unite GOP McCarthy Pitches an
2022-09-23   2022-09-24 ics/mccarthy-gop-agenda.html                Agenda but Few Details                     By Luke Broadwater               TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/23/us/polit Putin Tightening His Grip On Reins Of      By Julian E Barnes Helene Cooper
2022-09-23   2022-09-24 ics/putin-ukraine.html                      Ukraine War                                Eric Schmitt and Michael Schwirtz TX 9-213-471   2022-11-01




                                                                                Page 4282 of 5793
                        https://www.nytimes.com/2022/09/23/us/polit DemocraticAllied Group Investing in State
2022-09-23   2022-09-24 ics/state-legislature-races.html             Races                                     By Nick Corasaniti              TX 9-213-471         2022-11-01
                        https://www.nytimes.com/2022/09/23/us/polit Amid a GOP Cash Crunch One Very Flush
2022-09-23   2022-09-24 ics/trump-republican-campaigns-cash.html     Ally May Soon be Sharing the Wealth       By Michael C Bender             TX 9-213-471         2022-11-01
                        https://www.nytimes.com/2022/09/23/us/sout The World Got Gems A Mining Town Paid By John Eligon Lynsey Chutel and
2022-09-23   2022-09-24 h-africa-diamond-mine-collapse.html          the Price                                 Ilan Godfrey                    TX 9-213-471         2022-11-01
                        https://www.nytimes.com/2022/09/23/us/trum Trump Lawyers Pushing to Limit Aides        By Alan Feuer and Maggie
2022-09-23   2022-09-24 p-privilege-investigation.html               Testimony in Jan 6 Inquiry                Haberman                        TX 9-213-471         2022-11-01
                        https://www.nytimes.com/2022/09/23/us/utah- Threat Made On Reactor Over Game Draws
2022-09-23   2022-09-24 nuclear-threat-football-game.html            Arrest                                    By Remy Tumin                   TX 9-213-471         2022-11-01
                        https://www.nytimes.com/2022/09/23/world/a
                        sia/asia-travel-reopening-japan-taiwan-hong- Asian Governments Ease Covid Rules Hoping By Alexandra Stevenson and Ben
2022-09-23   2022-09-24 kong.html                                    to Lift Economies                         Dooley                          TX 9-213-471         2022-11-01
                        https://www.nytimes.com/2022/09/23/world/a Grief and Fury in Myanmar As Childrens
2022-09-23   2022-09-24 sia/myanmar-children-school.html             Blood Is Spilled                          By SuiLee Wee                   TX 9-213-471         2022-11-01
                        https://www.nytimes.com/2022/09/23/world/a Fighting Gravity and Currents To Save 230
2022-09-23   2022-09-24 ustralia/stranded-whales-rescue.html         Stranded Whales                           By Natasha Frost                TX 9-213-471         2022-11-01
                        https://www.nytimes.com/2022/09/23/world/e
                        urope/church-of-england-mpho-tutu-van-furth-Church Stops Tutus Daughter From
2022-09-23   2022-09-24 anglican.html                                Officiating Funeral                       By Isabella Kwai                TX 9-213-471         2022-11-01
                        https://www.nytimes.com/2022/09/23/world/e She Could Soon Lead Italy but Not All       By Elisabetta Povoledo and Gaia
2022-09-23   2022-09-24 urope/giorgia-meloni-italy-women.html        Women Are Happy About That                Pianigiani                      TX 9-213-471         2022-11-01

                        https://www.nytimes.com/2022/09/23/world/e Italys First National Election in 5 Years Could By Jason Horowitz Gaia Pianigiani
2022-09-23   2022-09-24 urope/italy-elections.html                    Usher in a RightWing Government              and Elisabetta Povoledo           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/world/e Draft Provokes Rising Anguish In Rural
2022-09-23   2022-09-24 urope/russia-draft-ukraine-putin.html         Russia                                       By Anton Troianovski              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/world/e                                                 By Eshe Nelson Stephen Castle and
2022-09-23   2022-09-24 urope/uk-tax-cuts-economy.html                UK Tax Cut Plan Rattles Markets              Mark Landler                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/world/e
                        urope/ukraine-russia-referendums-             In Seized Parts of Ukraine Moscow Stages
2022-09-23   2022-09-24 annexation.html                               Balloting on Joining Russia                  By Marc Santora                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/world/e An Emblem of Fortitude on a Dead Mans           By Marc Santora and Anna
2022-09-23   2022-09-24 urope/ukraine-war-graves-bracelet.html        Wrist Captivates Ukraine                     Lukinova                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/world/ Mass Deaths After Migrant Boat Carrying          By Hwaida Saad and Cora
2022-09-23   2022-09-24 middleeast/migrant-boat-syria.html            120 Capsizes Off Syrias Coast                Engelbrecht                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/your-
2022-09-23   2022-09-24 money/inflation-taxes-savings.html            Inflation May Save You at Tax Time           By Ann Carrns                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/live/2022/09/23/spo
                        rts/roger-federer-nadal-laver-cup/everything-
                        happens-over-a-long-career-says-one-of-       Everything Happens Over a Long Career Says
2022-09-23   2022-09-24 federers-coaches                              a Superstars Friend and Coach                By Christopher Clarey             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/us/arizo Abortion Law Written in 1864 Must Be
2022-09-24   2022-09-24 na-abortion-ban.html                          Enforced Judge Says                          By Eliza Fawcett                  TX 9-213-471   2022-11-01




                                                                                 Page 4283 of 5793
                        https://www.nytimes.com/2022/09/24/sports/b Her Celebrated Career Ended Years Ago Now
2022-09-24   2022-09-24 asketball/lauren-jackson-comeback.html      for a Time Its Resuming                   By Kieran Pender       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/us/polit GOP Senate Hopefuls Race to Close Cash
2022-09-24   2022-09-24 ics/gop-senate-fundraising-money.html       Gap                                       By Jonathan Martin     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/your-
                        money/college-common-data-set-merit-        This Data Set Can Tell You Who Pays What
2022-09-24   2022-09-24 aid.html                                    for College                               By Ron Lieber          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/02/books/r
2022-08-02   2022-09-25 eview/the-lost-kings-tyrell-johnson.html    Aftermath                                 By Flynn Berry         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/13/books/r
                        eview/a-history-of-present-illness-anna-
2022-08-13   2022-09-25 deforest.html                               Doctor Doctor                             By Ellen Barry         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/15/books/r
2022-08-15   2022-09-25 eview/paul-daisy-lafarge.html               Organic Chemistry                         By Antonia Hitchens    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/26/books/r
2022-08-26   2022-09-25 eview/democratic-justice-brad-snyder.html   Judicious Restraint                       By Jeffrey Rosen       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/08/29/books/r
2022-08-29   2022-09-25 eview/edward-enninful-a-visible-man.html    Always in Fashion                         By Tariro Mzezewa      TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/05/books/r
2022-09-05   2022-09-25 eview/reine-arcache-melvin-the-betrayed.html Desire and Denial                       By Mesha Maren          TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/06/books/r
2022-09-06   2022-09-25 eview/status-and-culture-w-david-marx.html High Class                                By Kaitlin Phillips     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/books/r
2022-09-06   2022-09-25 eview/the-car-bryan-appleyard.html             Auto Erotica                          By Jonathan Kellerman   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/07/books/r
2022-09-07   2022-09-25 achel-aviv-strangers-to-ourselves.html         State of Mind                         By Jennifer Szalai      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/09/books/r
2022-09-09   2022-09-25 eview/ling-ma-bliss-montage.html               Surreal Subversions                   By Lovia Gyarkye        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/books/r
2022-09-12   2022-09-25 eview/jonathan-dee-sugar-street.html           How to Disappear                      By John Wray            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/us/pand During Pandemic Family and Friends
2022-09-12   2022-09-25 emic-covid-friends-family.html                 Provided a Lifeline                   By Joshua Needelman     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/books/r
                        eview/estelle-sarah-bulle-andrea-abreu-titaua-
2022-09-15   2022-09-25 peu-bernardo-atxaga.html                       Novels in Translation                 By Anderson Tepper      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/books/r How Does a Married Couple Write Books
2022-09-15   2022-09-25 eview/ilona-andrews-ruby-fever.html            Together                              By Elisabeth Egan       TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/17/books/r
2022-09-17   2022-09-25 eview/proofreading-errors-perfectionism.html Essay My Life in Error                  By Benjamin Dreyer      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/18/opinion
2022-09-18   2022-09-25 /math-adolescence-mystery.html               Math Is the Great Secret                By Alec Wilkinson       TX 9-213-471   2022-11-01




                                                                                  Page 4284 of 5793
                        https://www.nytimes.com/2022/09/18/style/se
2022-09-18   2022-09-25 nding-out-an-sos.html                        Hes in Pursuit of a Savior                   By AJ Jacobs                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/realesta
2022-09-19   2022-09-25 te/shopping-brooms.html                      When You Want A Clean Sweep                  By Tim McKeough               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/arts/tele Colin Hanks Finds Perfection in Tacos and
2022-09-20   2022-09-25 vision/colin-hanks-favorite-things.html      Soccer                                       By Kathryn Shattuck           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/arts/tele
2022-09-20   2022-09-25 vision/reboot-hulu.html                      The Old Is New Again and Again               By Alexis Soloski             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/realesta
2022-09-20   2022-09-25 te/indoor-outdoor-living-hamptons.html       Building a Space To Create Memories          By Tim McKeough               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/article/favorite-
2022-09-20   2022-09-25 simple-recipes.html                          Cooking                                      By Krysten Chambrot           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/arts/ern
2022-09-21   2022-09-25 est-hemingway-archive-penn-state.html        What Hemingway Left in a Bar                 By Robert K Elder             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/opinion
                        /environment/solar-panels-virginia-climate- Are There Better Places to Put Large Solar
2022-09-21   2022-09-25 change.html                                  Farms                                        By Gabriel Popkin             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/opinion
2022-09-21   2022-09-25 /school-teachers-quality.html                My Teachers Made Me Who I Am                 By Esau McCaulley             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/opinion
2022-09-21   2022-09-25 /wildfires-climate-change-summer.html        Our Grim New Reality on the West Coast       By Emma Pattee                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/realesta
                        te/ansonia-connecticut-new-haven-            A Former Manufacturing Center Is Drawing
2022-09-21   2022-09-25 history.html                                 New Yorkers                                  By Lisa Prevost               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/realesta
2022-09-21   2022-09-25 te/housing-market-france-bergerac.html       British Atmosphere in the French Countryside By Lana Bortolot              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/realesta How to Face Down a GardenDecimating
2022-09-21   2022-09-25 te/spongy-moth-caterpillars-garden.html      Invader                                      By Margaret Roach             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/style/da
2022-09-21   2022-09-25 ting-exboyfriend-friend-advice.html          Dating an Exs Friend                         By Philip Galanes             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/theater/
2022-09-21   2022-09-25 burnt-city-theater-war.html                  War on the Stage Starring Trojans            By Maya Phillips              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/theater/
2022-09-21   2022-09-25 joyces-women-edna-obrien.html                Comprehending Joyce Or Getting Very Close By Roisin Kiberd                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/us/spac Official Song for the Space Force Shoots for
2022-09-21   2022-09-25 e-force-semper-supra.html                    the Stars but Some Think It Falls Flat       By Michael Levenson           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/
2022-09-21   2022-09-25 21/magazine/animal-cafe-photos.html          Inside Seouls Wild Animal Cafes              Photographs by Robin Schwartz TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/
2022-09-21   2022-09-25 21/magazine/animal-photos.html               Searching for Wild Animals Across the World By The New York Times Magazine TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/ Inside an Animal Sanctuary in Bolivia Where
2022-09-21   2022-09-25 21/magazine/bolivia-animal-photos.html       Tourists Can Help                            Photographs by Yael Martnez   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/
                        21/magazine/french-guiana-animal-            Meeting the Beasts of the Jungle in French
2022-09-21   2022-09-25 photos.html                                  Guiana                                       Photographs by Antoine dAgata TX 9-213-471   2022-11-01



                                                                              Page 4285 of 5793
                        https://www.nytimes.com/interactive/2022/09/ A Paradise of Birds in Ghanas Kakum
2022-09-21   2022-09-25 21/magazine/ghana-animal-photos.html         National Park                              Photographs by Lyle Ashton Harris TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/
2022-09-21   2022-09-25 21/magazine/icelandic-horses-photos.html     The Fantastical Beauty of Icelandic Horses Photographs by Gareth McConnell TX 9-213-471     2022-11-01
                        https://www.nytimes.com/interactive/2022/09/ How Republicans Could Win Control of the By Lazaro Gamio Lauren Leatherby
2022-09-21   2022-09-25 21/us/politics/gop-house.html                House                                      and Jonathan Weisman              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/arts/des
2022-09-22   2022-09-25 ign/prison-art-gallery-museum.html           Creativity Behind Bars and Beyond          By Hilarie M Sheets               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/arts/mu
2022-09-22   2022-09-25 sic/zach-bryan-american-heartbreak.html      Heartfelt Songs by an Uneasy Star          By Jon Caramanica                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/busines
2022-09-22   2022-09-25 s/fed-rate-inflation-volcker.html            Echoes of the Past in Fed Rate Increases   By Jeff Sommer                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/fashion
2022-09-22   2022-09-25 /capturing-the-life-of-the-party.html        Snapshots From Inside The Red Velvet Ropes By Jacob Bernstein                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/opinion
2022-09-22   2022-09-25 /trump-big-lie-big-joke.html                 The Big Joke That Became the Big Lie       By Carlos Lozada                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/realesta
2022-09-22   2022-09-25 te/high-mortgage-interest-rates-loans.html   Devise Tactics to Get Ahead                By Michael Kolomatsky             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/sports/f An AFC East Statement Game and Its Not in
2022-09-22   2022-09-25 ootball/nfl-week-3-predictions.html          New England                                By David Hill                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/style/di
2022-09-22   2022-09-25 esel-fendi-milan-fashion-week.html           Diesel Sets a Record                       By Vanessa Friedman               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/
                        22/realestate/three-bedroom-brooklyn-        They Wanted Good Light and a Dog Park But
2022-09-22   2022-09-25 williamsburg-dumbo.html                      the Front Door Could Not Face South        By Debra Kamin                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/books/r
                        eview/kwame-alexander-the-door-of-no-
2022-09-23   2022-09-25 return.html                                  Over Troubled Waters                       By Kwame Dawes                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/books/r
                        eview/the-wind-rises-timothee-de-
2022-09-23   2022-09-25 fombelle.html                                Sailing Apart                              By MT Anderson                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/us/new- Companies Fined for Pesticide Said to Fight
2022-09-23   2022-09-25 jersey-epa-pesticide-fine.html               the Coronavirus                            By McKenna Oxenden                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/arts/mu
                        sic/pay-what-you-can-classical-
2022-09-23   2022-09-25 performance.html                             How Much Should Great Music Cost           By Zachary Woolfe                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/arts/ne Newton Harrison 89 Artist Who Was a
2022-09-23   2022-09-25 wton-harrison-dead.html                      Founder of the EcoArt Movement             By Penelope Green                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/health/e Sobering Study Shows Struggles of
2022-09-23   2022-09-25 gg-freezing-age-pregnancy.html               EggFreezing                                By Gina Kolata                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/movies/ The Fat Suit Era May Be Lingering A Bit
2022-09-23   2022-09-25 fat-suits-hollywood.html                     Too Long                                   By Farah Fleurima                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/nyregio In a Darkened Booth Projectionists Keep
2022-09-23   2022-09-25 n/35-mm-film-projectionists.html             Analog Films Going                         By Ted Alcorn and Evelyn Freja    TX 9-213-471   2022-11-01




                                                                               Page 4286 of 5793
                        https://www.nytimes.com/2022/09/23/nyregio
2022-09-23   2022-09-25 n/michelle-wu-boston.html                    Is Michelle Wu the Democrats Future         By Ginia Bellafante          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/opinion
2022-09-23   2022-09-25 /cannon-trump-federal-judges.html            Expand the Federal Courts                   By Jamelle Bouie             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/opinion
2022-09-23   2022-09-25 /rosh-hashana-cancer.html                    Every Moment Cant Be a 10 Out of 10         By Sarah Wildman             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/opinion This Threat to Democracy Is Hiding in Plain
2022-09-23   2022-09-25 /trump-big-lie-elections.html                Sight                                       By The Editorial Board       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/opinion
2022-09-23   2022-09-25 /wounded-putin.html                          How Do You Handle a Wounded Putin           By David Brooks              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/realesta
2022-09-23   2022-09-25 te/nyc-apartments-housing-shortage.html      Lots of Room but Only for Luxury            By Stefanos Chen             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/sports/s Qatar and FIFA Get Ready to Stage a World
2022-09-23   2022-09-25 occer/world-cup-qatar-2022.html              Cup for the 1 Percent                       By Rory Smith                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/style/ca When He Stocked Her Fridge Her Heart Was
2022-09-23   2022-09-25 it-mcdonagh-david-doherty-wedding.html       Full                                        By Nina Reyes                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/style/co
2022-09-23   2022-09-25 nstance-wu-book.html                         For Constance Wu Theres More to the Story By Thessaly La Force           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/style/ev
2022-09-23   2022-09-25 erett-long-fred-smith-wedding.html           At the Barbershop a MeetCute Mid Cut        By Sadiba Hasan              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/style/jil
2022-09-23   2022-09-25 l-martin-erik-brooks-wedding.html            Returning the Ring Only to Receive It Again By Tammy La Gorce            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/style/la
2022-09-23   2022-09-25 uren-shell-seth-ratner-wedding.html          Managing to Find Love in Fits and Starts    By Linda Marx                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/style/lis
2022-09-23   2022-09-25 a-jenkins-vincent-brown-wedding.html         Finally the Right Time for a Second Chance By Eric V Copage              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/style/m
                        odern-love-why-is-my-husband-marrying-
2022-09-23   2022-09-25 her.html                                     Why Is My Husband Marrying Her              By Briana Pozner             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/style/m
2022-09-23   2022-09-25 oschino-prada-milan-fashion-week.html        Dressing for the Age of Anxiety             By Vanessa Friedman          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/style/yo Two Students Finally Find a Place to Call
2022-09-23   2022-09-25 lka-gessen-mohamad-eisa-wedding.html         Home                                        By Louise Rafkin             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/technol                                               By Adam Satariano and
2022-09-23   2022-09-25 ogy/germany-internet-speech-arrest.html      Online Hate RealLife Arrests                Christopher F Schuetze       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/us/imm Alone in a New World With Vast Open Space
2022-09-23   2022-09-25 igrant-shepherds.html                        and Sheep                                   By Miriam Jordan             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/us/polit Democrats Say Funeral Of Queen Hit
2022-09-23   2022-09-25 ics/queen-democratic-donations.html          FundRaising                                 By Neil Vigdor               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/sports/b With No 700 Pujols Wins His Race Against
2022-09-24   2022-09-25 aseball/albert-pujols-700-home-runs.html     the End                                     By Tyler Kepner              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/busines
2022-09-24   2022-09-25 s/millennials-retirement.html                Millennials Pursue a New American Dream By Lisa Rabasca Roepe            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/busines Entitled to Free Treatment But Hounded by By Jessica SilverGreenberg and
2022-09-24   2022-09-25 s/nonprofit-hospitals-poor-patients.html     Hospitals                                   Katie Thomas                 TX 9-213-471   2022-11-01



                                                                               Page 4287 of 5793
                        https://www.nytimes.com/2022/09/24/climate EPA Creates Office to Make Racial Equality
2022-09-24   2022-09-25 /environmental-justice-epa.html             Bigger Part of Environmental Rules          By Coral Davenport              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/movies/ Louise Fletcher Evil Nurse Ratched of
2022-09-24   2022-09-25 louise-fletcher-dead.html                   Cuckoos Nest Is Dead at 88                  By Anita Gates                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/nyregio
2022-09-24   2022-09-25 n/erica-jong.html                           Writing Family and Coffee After Coffee      By Julia Bozzone                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/nyregio The Hard Question Can You Train for
2022-09-24   2022-09-25 n/gunman-shooter-training-schools.html      Bravery                                     By Grace Ashford                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/opinion To Understand The Midterms Meet Joe and
2022-09-24   2022-09-25 /house-republican-elections.html            Marie                                       By Michelle Goldberg            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/opinion
2022-09-24   2022-09-25 /putin-trump-ukraine.html                   Solo Soulless Saboteurs                     By Maureen Dowd                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/opinion
2022-09-24   2022-09-25 /ukraine-war-putin-russia.html              A Nuclear Shadow Over the Ukraine War       By Ross Douthat                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/realesta My Condo Isnt Getting Gas Should I Receive
2022-09-24   2022-09-25 te/condo-board-no-gas.html                  a Discount                                  By Ronda Kaysen                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/sports/t A Rich Legacy From His Fitness To His
2022-09-24   2022-09-25 ennis/roger-federer-career.html             Backhand                                    By Christopher Clarey           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/technol
                        ogy/silicon-valley-slides-back-into-bro-    Silicon Valleys Boys Club Strikes a Defiant
2022-09-24   2022-09-25 culture.html                                Pose                                        By Erin Griffith                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/technol
2022-09-24   2022-09-25 ogy/surveillance-footage-instagram.html     Instagram Moments and a Surveillance Artist By Kashmir Hill                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/us/cia- 2 Museums With Spy Secrets But Ones for
2022-09-24   2022-09-25 nsa-museums.html                            Some Eyes Only                              By Julian E Barnes              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/us/f3-                                               By Ruth Graham and Meridith
2022-09-24   2022-09-25 workout-men-texas.html                      Fighting Loneliness With PushUps and Prayer Kohut                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/us/polit LePage Hoping to Lead Maine Again           By Alyce McFadden and Michael C
2022-09-24   2022-09-25 ics/paul-lepage-maine-taxes.html            Received Florida Tax Breaks                 Bender                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/us/puer Im So Tired Puerto Ricans Stuck in Dark Fear
2022-09-24   2022-09-25 to-rico-power-outages.html                  Extended Blackout                           By Laura N Prez Snchez          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/world/a
                        sia/shinzo-abe-funeral-unification-         Japan Facing Backlash Over Abes State
2022-09-24   2022-09-25 church.html                                 Funeral                                     By Motoko Rich and Ben Dooley TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/24/world/c In Village Full of Grievances a Raid Only
2022-09-24   2022-09-25 anada/freedom-convoy-coutts-alberta.html    Deepens Distrust                            By Catherine Porter             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/world/e
                        urope/annexation-fighting-war-russia-war-   Fighting Escalates as Ukraine Resists       By Andrew E Kramer Valerie
2022-09-24   2022-09-25 ukraine.html                                Kremlins Annexation Move                    Hopkins and Ben Hubbard         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/world/e With HardRight Candidate in Italy a Page
2022-09-24   2022-09-25 urope/italy-election-fascism-meloni.html    May Be Turning in Europe                    By Jason Horowitz               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/world/e
2022-09-24   2022-09-25 urope/ukraine-south-kherson-russia.html     Grueling Fight In South Slows Ukraines Push By Jeffrey Gettleman            TX 9-213-471   2022-11-01




                                                                              Page 4288 of 5793
                        https://www.nytimes.com/2022/09/24/world/
                        middleeast/iran-protests-raisi-khamenei-     Womans Death Unleashes Rage Of Irans
2022-09-24   2022-09-25 hijab.html                                   Youth                                     By Vivian Yee and Farnaz Fassihi TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/world/ Protests Surge Across Iran as Police Fire on
2022-09-24   2022-09-25 middleeast/iran-protests.html                Crowds                                    By Farnaz Fassihi                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/world/a The New India Aiding Democracy Abroad
2022-09-25   2022-09-25 sia/india-democracy.html                     Straining It at Home                      By Mujib Mashal                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/busines The Week in Business The Fed Hits the
2022-09-25   2022-09-25 s/federal-reserve-economy.html               Brakes                                    By Marie Solis                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/insider/
2022-09-25   2022-09-25 pacific-crest-trail-reporting.html           Looking for Change on the Trail           By Rowan Moore Gerety            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/nyregio
2022-09-25   2022-09-25 n/tehran-film-nyc.html                       Connected by a Screen                     By Sasha von Oldershausen        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/style/ke Plenty of Sparkle To Go Around The Party
2022-09-25   2022-09-25 ring-foundation-dinner-looks.html            Circuit                                   By Denny Lee                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/style/st
2022-09-25   2022-09-25 ork-club-closed.html                         Belly Up This Bar Has Stories             By Alex Vadukul                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/us/sund
2022-09-25   2022-09-25 ance-jihad-rehab-meg-smaker.html             Film on Jihad Causes Storm Over Identity By Michael Powell                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/interactive/2022/09/ Traveling This Fall Expect Cheaper Prices
2022-09-09   2022-09-26 09/travel/fall-travel-plans.html             Seasonal Drift and Yes Chaos              By The New York Times            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/travel/a-
2022-09-12   2022-09-26 journey-through-black-nova-scotia.html       A Journey Through Black Nova Scotia       By Shayla Martin                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/17/us/calif Mustangs Overrun Range Children Aim to
2022-09-17   2022-09-26 ornia-horses-kids.html                       Tame Them                                 By Maggie Shannon and Jill Cowan TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/busines
2022-09-19   2022-09-26 s/europe-energy-crisis-factories.html        Europes Factories Are Forced to Cut Back  By Liz Alderman                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/movies/
2022-09-20   2022-09-26 ti-west-interview-pearl.html                 Ti West Imagines Horror Upon Horror       By Erik Piepenburg               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/opinion I Have Worked and Loved in Other Countries
2022-09-22   2022-09-26 /international-world/singapore-gay.html      Because I Cant at Home                    By Joel Tan                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/science Maarten Schmidt 92 the First to Identify A
2022-09-22   2022-09-26 /space/maarten-schmidt-dead.html             Quasar and Disrupt Astronomy Dies         By Clay Risen                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/arts/dan
                        ce/love-and-death-in-paris-with-an-assist-
2022-09-23   2022-09-26 from-star-crossed-verona.html                In Paris Maneuvers Of Love and Death      By Roslyn Sulcas                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/movies/ Growing Up In the 1200s As Complex As It
2022-09-23   2022-09-26 lena-dunham-catherine-called-birdy.html      Is Now                                    By Esther Zuckerman              TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/23/technol Toxic Election Narratives Spread Tentacles
2022-09-23   2022-09-26 ogy/midterm-elections-misinformation.html on Web                                      By Cecilia Kang                 TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/24/arts/mu Pharoah Sanders 81 Dies A True Force With
2022-09-24   2022-09-26 sic/pharoah-sanders-dead.html              a Sax And a Talented Composer              By Jon Pareles                  TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/24/busines Silicon Valley Had Its Time Can Tech
2022-09-24   2022-09-26 s/dealbook/steve-case-rise-of-rest.html    Ecosystems Thrive Elsewhere                By Vivian Giang                 TX 9-213-471     2022-11-01



                                                                              Page 4289 of 5793
                        https://www.nytimes.com/2022/09/24/busines LinkedIn Ran Experiments On 20 Million of
2022-09-24   2022-09-26 s/linkedin-social-experiments.html          Its Users                                    By Natasha Singer             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/health/
                        bon-secours-mercy-health-profit-poor-       Big Chain Sucked Profits Out of a Poor       By Katie Thomas and Jessica
2022-09-24   2022-09-26 neighborhood.html                           Hospital                                     SilverGreenberg               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/sports/b Their Old New Home Courtside View
2022-09-24   2022-09-26 asketball/indiana-family-lives-in-gym.html  Included                                     By Andrew Keh                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/sports/f Players Take Pride in Dreadlocks Despite the
2022-09-24   2022-09-26 ootball/nfl-locs-braids-black-hair.html     Challenges                                   By Emmanuel Morgan            TX 9-213-471   2022-11-01
                                                                    Roxanne Lowit 80 Fashion Photographer
                        https://www.nytimes.com/2022/09/24/style/ro Whose Access Offered a Look Behind the
2022-09-24   2022-09-26 xanne-lowit-dead.html                       Scenes                                       By Alex Williams              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/technol Getting Your Miles In With GPS You Can
2022-09-24   2022-09-26 ogy/gps-art-strava-running.html             Make Some Art Too                            By Claire Fahy                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/arts/dan Making Happy Discoveries at a Seasonal
2022-09-25   2022-09-26 ce/fall-for-dance-review.html               Showcase                                     By Siobhan Burke              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/arts/mu
2022-09-25   2022-09-26 sic/met-opera-charles-castronovo.html       At home everywhere                           By Rebecca Schmid             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/arts/mu
2022-09-25   2022-09-26 sic/met-opera-medea.html                    In the Shadow of Maria Callas                By Joshua Barone              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/arts/mu
                        sic/stalin-lady-macbeth-mtsensk-
2022-09-25   2022-09-26 shostakovich.html                           Stalin hated this opera Audiences dont       By David Belcher              TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/25/arts/tele
2022-09-25   2022-09-26 vision/celebrity-jeopardy-michael-davies.html Expanding a Shows Brand                     By Julia Jacobs              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/busines
                        s/energy-environment/california-energy-grid- Years of Blackout Threats Could Loom in
2022-09-25   2022-09-26 heat.html                                     California                                  By Ivan Penn                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/fashion
2022-09-25   2022-09-26 /watch-collecting-tips.html                   A foundation for a good collection          By Vivian Morelli            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/fashion
2022-09-25   2022-09-26 /watches-horopedia-philippe-dufour.html       Watches from A to Z                         By Kathleen Beckett          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/fashion
2022-09-25   2022-09-26 /watches-how-to-find-good-repairs.html        When service is needed                      By Rachel Felder             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/fashion
2022-09-25   2022-09-26 /watches-how-to-sell-them.html                Selling a watch isnt easy Let us help       By Victoria Gomelsky         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/movies/
2022-09-25   2022-09-26 dont-worry-darling-box-office.html            Dont Worry About Sales                      By Brooks Barnes             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/nyregio AntiMuslim Symbol Raising Religious
2022-09-25   2022-09-26 n/bulldozer-indian-parade-new-jersey.html     Tension in India Is Paraded in New Jersey   By Tracey Tully              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/opinion
2022-09-25   2022-09-26 /beto-orourke-abbott-texas-governor.html      ORourke Condemns Dehumanizing Stunts        By Charles M Blow            TX 9-213-471   2022-11-01




                                                                                  Page 4290 of 5793
                        https://www.nytimes.com/2022/09/25/opinion
                        /business-economics/work-office-whole-
2022-09-25   2022-09-26 self.html                                   Do Not Bring Your Whole Self to Work      By Pamela Paul                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/opinion
2022-09-25   2022-09-26 /skateboarding-disability-hacks.html        Sidewalk Surfing With My Disabled Parents By Jeremy Klemin                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/sports/b
                        aseball/ron-blomberg-yankees-rosh-          Remembering a Deadline Single by the
2022-09-25   2022-09-26 hashana.html                                Sundown Kid                               By Gerald Eskenazi                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/sports/b Greg Lee 70 Key Member of 2 Unbeaten
2022-09-25   2022-09-26 asketball/greg-lee-dead.html                UCLA Teams                                By Richard Goldstein                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/sports/e Kipchoge Smashes His Own World Record at
2022-09-25   2022-09-26 liud-kipchoge-marathon-record.html          the Berlin Marathon                       By Talya Minsberg                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/sports/f
2022-09-25   2022-09-26 ootball/nfl-week-3-takeaways.html           What We Learned This Week                 By Derrik Klassen                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/sports/f Rihanna Making Return to Stage Will       By Elena Bergeron and Joe
2022-09-25   2022-09-26 ootball/rihanna-super-bowl-halftime.html    Perform at Super Bowl Halftime            Coscarelli                             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/theater/
2022-09-25   2022-09-26 fc-bergman-bam-next-wave.html               A Farm Grows in Brooklyn                  By Elisabeth Vincentelli               TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/25/us/jonat
2022-09-25   2022-09-26 han-price-murder-officer-acquitted-texas.html ExOfficer Acquitted in Death of Black Man   By Neelam Bohra                 TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/25/us/polit Migrant Flights Lift the Veil on a GOP        By Michael C Bender and J David
2022-09-25   2022-09-26 ics/abbott-desantis-rivalry.html              Rivalry                                     Goodman                         TX 9-213-471      2022-11-01
                        https://www.nytimes.com/2022/09/25/world/a Standing Up for 1800 Ferry Victims Who
2022-09-25   2022-09-26 frica/senegal-ferry-joola.html                Speak to Us in Dreams                       By Elian Peltier                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/world/e Win Projected For Hard Right In Italy
2022-09-25   2022-09-26 urope/italy-meloni-prime-minister.html        Election                                    By Jason Horowitz                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/25/world/e
2022-09-25   2022-09-26 urope/olaf-scholz-germany-ukraine-war.html Germanys Chancellor Demurs on Tank Aid         By Katrin Bennhold                 TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/25/world/e
2022-09-25   2022-09-26 urope/russia-ukraine-forces-referendum.html Russian Draft Pits Ukrainian Vs Ukrainian     By Marc Santora                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/world/e Soviet Statues Are Latest Targets of Europes
2022-09-25   2022-09-26 urope/soviet-monuments-war.html              Anger                                        By Andrew Higgins                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/world/ Womans Death in Iran Ignites Fiercest Fury
2022-09-25   2022-09-26 middleeast/iran-protests-kurds.html          Among Fellow Kurds                           By Jane Arraf and Farnaz Fassihi   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/us/polit US Speaks of Catastrophic Consequences if     By David E Sanger and Jim
2022-09-26   2022-09-26 ics/us-russia-nuclear.html                   Russia Resorts to Nuclear Weapons            Tankersley                         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/arts/tele
                        vision/whats-on-tv-saturday-night-live-
2022-09-26   2022-09-26 hostages.html                                This Week on TV                              By Shivani Gonzalez              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/26/busines                                                By Jim Tankersley Alan Rappeport
2022-09-26   2022-09-26 s/factory-jobs-workers-rebound.html          US Factories See Rare Sight Return of Jobs   and Ana Swanson                  TX 9-213-471     2022-11-01




                                                                                 Page 4291 of 5793
                        https://www.nytimes.com/2022/09/26/health/t Breast Removal Surgery on Rise for Trans
2022-09-26   2022-09-26 op-surgery-transgender-teenagers.html       Teens                                        By Azeen Ghorayshi                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/nyregio New York Drug Arrestees Vie for First Pot
2022-09-26   2022-09-26 n/weed-license-war-on-drugs.html            Licenses                                     By Ashley Southall                 TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/26/sports/f When Charity Begins at Home and Bypasses
2022-09-26   2022-09-26 ootball/brett-favre-mississippi-scandal.html the Poor                                By Jenny Vrentas                       TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/26/world/a To Defend Democracy in Brazil Court Uses
2022-09-26   2022-09-26 mericas/bolsonaro-brazil-supreme-court.html Tactics Described as Authoritarian           By Jack Nicas and Andr Spigariol   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/06/well/mi
2022-09-06   2022-09-27 nd/melatonin-dependency.html                Concerns About a Dependence on Melatonin By Dani Blum                           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/12/well/m
2022-09-12   2022-09-27 ove/exercise-injuries.html                  Avoiding Injuries During a Workout           By Rachel Fairbank                 TX 9-213-471   2022-11-01
                                                                    Phenomenal Phosphate Chinas Discovery of
                        https://www.nytimes.com/2022/09/16/science Lunar Mineral May Bring Fuller View of the
2022-09-16   2022-09-27 /new-moon-mineral-china.html                Moon                                         By Christine Chung                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/19/science Ant Eater An Acrobatic Hunting Trick Right
2022-09-19   2022-09-27 /spiders-ants-hunting.html                  Out of the SpiderVerse                       By Sam Jones                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/science Not Really Otherworldly Fossils Solve the
2022-09-20   2022-09-27 /alien-goldfish-fossils.html                Mystery Of an Ancient Alien Goldfish         By Jack Tamisiea                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/well/liv
2022-09-20   2022-09-27 e/antidepressants-pms-treatment.html        Do Antidepressants Work for Severe PMS       By Rachel Rabkin Peachman          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/arts/des
                        ign/sydney-modern-museum-adrian-villar-
2022-09-21   2022-09-27 rojas-tank.html                             Once an Oil Tank Now an Eerie Art Space      By Jori Finkel                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/arts/mu
2022-09-21   2022-09-27 sic/warner-music-group-robert-kynclv.html Warner Musics Chief By Way of YouTube          By Ben Sisario                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/science Webbs Wonders Neptune and Its Rings Come
2022-09-21   2022-09-27 /neptune-webb-telescope-photos.html         Into Focus                                   By Jonathan OCallaghan             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/science
2022-09-21   2022-09-27 /whale-safe-san-francisco.html              Smart Buoys Aim to Reduce Whale Roadkill By Alex Fox                            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/theater/
2022-09-21   2022-09-27 carol-burnett-hal-prince-broadway.html      Effort to Rename Theater for Hal Prince      By Michael Paulson                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/well/liv
2022-09-21   2022-09-27 e/fall-autumn-mindfulness.html              Fall Can Be a Season For Building Resilience By Erik Vance                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/science The Omicron Variant Both Wily and Hardy
2022-09-22   2022-09-27 /omicron-covid-variant.html                 Endures                                      By Carl Zimmer                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/science
2022-09-22   2022-09-27 /raccoon-learning-urban-wildlife.html       Shy Raccoons May Have an Edge in Learning By Betsy Mason                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/world/a In India One Website Battles Rampant Online
2022-09-22   2022-09-27 sia/india-debunking-fake-news.html          Misinformation                               By Suhasini Raj                    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/23/arts/des
2022-09-23   2022-09-27 ign/king-charles-architecture-poundbury.html Buildings That Please Royal Eyes            By Alex Marshall                   TX 9-213-471   2022-11-01



                                                                                 Page 4292 of 5793
                        https://www.nytimes.com/2022/09/24/arts/mu Jim Post 82 Wrote and Sang a Groovy
2022-09-24   2022-09-27 sic/jim-post-dead.html                      FlowerPower Hit                            By Richard Sandomir         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/24/health/a
2022-09-24   2022-09-27 ssisted-living-arbitration.html             Arbitration Common In LongTerm Care        By Paula Span               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/arts/dan
2022-09-25   2022-09-27 ce/review-meg-stuart-violet.html            Inescapable Vibrations And Delayed Signals By Brian Seibert            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/busines While Youre Up in the Air Dispatchers May
2022-09-25   2022-09-27 s/remote-airline-dispatchers.html           Be Home                                    By Niraj Chokshi            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/movies/ Just Jaeckin Whose Film Emmanuelle Was a
2022-09-25   2022-09-27 just-jaeckin-dead.html                      SoftCore Sensation Is Dead at 82           By Ed Shanahan              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/obituari Nancy Hiller 63 a NormDefying Wizard of
2022-09-25   2022-09-27 es/nancy-hiller-dead.html                   Woodworking                                By Clay Risen               TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/25/us/train- Video Shows When Freight Train Hit a Patrol
2022-09-25   2022-09-27 colorado-police-footage.html                 Car With a Woman Handcuffed Inside          By McKenna Oxenden        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/busines
2022-09-26   2022-09-27 s/stock-market-today.html                    SampP 500 Hits Lowest Level of the Year     By Isabella Simonetti     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/arts/mu
                        sic/tyshawn-sorey-monochromatic-light-
2022-09-26   2022-09-27 armory.html                                  Still Mournful Without Any Rothkos          By Zachary Woolfe         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/arts/mu
2022-09-26   2022-09-27 sic/zoh-amba-bhakti.html                     Free Jazz Is Gospel For Her                 By Hank Shteamer          TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/26/arts/tele
2022-09-26   2022-09-27 vision/house-of-the-dragon-larys-strong.html A Pinch of Machiavelli A Dash of Littlefinger By Jennifer Vineyard    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/books/r
2022-09-26   2022-09-27 eview/namwali-serpell-furrows.html           A Brother Vanished but Not His Presence       By Dwight Garner        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/busines
2022-09-26   2022-09-27 s/british-pound-dollar-gbp-usd.html          Pound Flirts With a Low Jolting UK            By Eshe Nelson          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/busines What Does a Weak Pound Sterling Mean to
2022-09-26   2022-09-27 s/british-pound-weak.html                    Britain and to Others                         By Jenny Gross          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/busines China Lets Its Currency Weaken And Tries to
2022-09-26   2022-09-27 s/china-renminbi-currency.html               Manage the Fallout                            By Keith Bradsher       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/busines A Strong Dollar Will Inflict Pain In Many
2022-09-26   2022-09-27 s/economy/us-dollar-global-impact.html       Nations                                       By Patricia Cohen       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/busines According to a New Forecast the World
2022-09-26   2022-09-27 s/global-economy-oecd-forecast.html          Economy Is Slowing More Than Expected         By Melissa Eddy         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/busines Interpol Sets Alert to Nab Crypto King From
2022-09-26   2022-09-27 s/interpol-do-kwon-korea-crypto.html         Seoul                                         By Jin Yu Young         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/busines With Brands Future in Question Another
2022-09-26   2022-09-27 s/peloton-executive-departure.html           Executive Exits Peloton                       By Lauren Hirsch        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/climate Why Hurricanes Are Intensifying and at a
2022-09-26   2022-09-27 /hurricane-ian-rapid-intensification.html    Faster Pace                                   By Elena Shao           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/health/ Doctors Report Progress On Monkeypox but
2022-09-26   2022-09-27 monkeypox-vaccine.html                       Say Outbreak Isnt Over Yet                    By Apoorva Mandavilli   TX 9-213-471   2022-11-01



                                                                                 Page 4293 of 5793
                        https://www.nytimes.com/2022/09/26/movies/
2022-09-26   2022-09-27 academy-museum-attendance.html             An Unexpected BoxOffice Hit                   By Brooks Barnes                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/nyregio Jim Florio Governor Undone by Tax Increase
2022-09-26   2022-09-27 n/jim-florio-dead.html                     In New Jersey Dies at 85                      By Joseph P Fried                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/opinion
2022-09-26   2022-09-27 /gop-economic-policy.html                  Zombie Reaganomics Still Rules the GOP        By Paul Krugman                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/opinion
2022-09-26   2022-09-27 /italy-giorgia-meloni-election.html        Despite Vote Italys Democracy Is Not in Peril By Mattia Ferraresi                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/opinion
2022-09-26   2022-09-27 /politics/trump-election-qanon.html        A Heartless QAnon Embrace                     By Michelle Goldberg                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/opinion Does It Matter That Investigators Are Closing
2022-09-26   2022-09-27 /trump-biden-desantis-abbott.html          In on Trump                                   By Gail Collins and Bret Stephens   TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/26/science NASA Takes Aim at Asteroid and Crashes
2022-09-26   2022-09-27 /dart-nasa-asteroid-dimorphos-contact.html Into It                                       By Kenneth Chang                    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/26/sports/b
2022-09-26   2022-09-27 aseball/aaron-judge-yankees-homestand.html Out of This World Without Leaving the Park By Tyler Kepner                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/sports/b
                        asketball/jayson-tatum-ime-udoka-suspension- Can Celtics in Dark About Loss of Their
2022-09-26   2022-09-27 celtics.html                                  Coach Refocus                               By Scott Cacciola                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/sports/b
                        asketball/kyrie-irving-kevin-durant-brooklyn- Dealing With Questions Old and New With
2022-09-26   2022-09-27 nets.html                                     Training Camp Set to Begin                  By Kris Rhim                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/sports/f Could Donald Be Good for Another 100
2022-09-26   2022-09-27 ootball/aaron-donald-100-sacks.html           Sacks                                       By Emmanuel Morgan                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/sports/f Make Way Mark Sanchez for Dolphin Whos
2022-09-26   2022-09-27 ootball/dolphins-bills-punt.html              the New Butt of NFL Jokes                   By Victor Mather                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/sports/f Flag Football Will Replace Tackle Game At
2022-09-26   2022-09-27 ootball/nfl-pro-bowl-game.html                Pro Bowl                                    By Emmanuel Morgan                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/sports/f
                        ootball/tua-tagovailoa-quarterback-           Several Quarterbacks Play Injured One Case
2022-09-26   2022-09-27 injuries.html                                 Draws Scrutiny of Union                     By Ken Belson                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/sports/g Long Drive Suddenly Comes Long Way With
2022-09-26   2022-09-27 olf/dechambeau-long-drive-plda.html           Public and the Pros                         By Gregory Leporati                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/technol UK Finds TikTok Fails To Protect Its
2022-09-26   2022-09-27 ogy/tiktok-children-privacy-fine-uk.html      Children                                    By Natasha Singer                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/technol US Nears Agreement With TikTok On              By Lauren Hirsch David McCabe
2022-09-26   2022-09-27 ogy/tiktok-national-security-china.html       Security                                    Katie Benner and Glenn Thrush      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/us/flori                                               By Elisabeth Parker Alexandra
2022-09-26   2022-09-27 da-ian-hurricane.html                         Hurricanes Path Unclear Florida Is on Alert Glorioso and Frances Robles        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/us/new- A Controlled Burn Left Scars and a Water
2022-09-26   2022-09-27 mexico-las-vegas-fire-water.html              Crisis                                      By Simon Romero                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/us/polit As Revolt Rises in Iran US Takes Different
2022-09-26   2022-09-27 ics/biden-iran-protesters.html                Tack                                        By David E Sanger                  TX 9-213-471   2022-11-01



                                                                                 Page 4294 of 5793
                        https://www.nytimes.com/2022/09/26/us/polit French Leaders State Visit Will Be First
2022-09-26   2022-09-27 ics/biden-macron-state-visit.html           Under Biden                                  By Zach Montague                 TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/26/us/polit
                        ics/climate-smart-farming-agriculture-      ClimateSmart Agriculture Has the Wind at Its
2022-09-26   2022-09-27 department.html                             Back                                         By Linda Qiu                     TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/26/us/polit
                        ics/doug-mastriano-campaign-                In Pennsylvania Mastrianos Campaign Is
2022-09-26   2022-09-27 pennsylvania.html                           Quickly Losing Steam                         By Reid J Epstein                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/26/us/polit Phone at White House Was Used to Call        By Luke Broadwater and Alan
2022-09-26   2022-09-27 ics/jan-6-call-anton-lunyk.html             Rioter At Capitol Book Reports               Feuer                            TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/26/us/polit
                        ics/jeremy-jones-tommy-caldwell-climate-    How Outdoor Athletes Galvanized Into a
2022-09-26   2022-09-27 ira.html                                    Political Force on Climate                   By Blake Hounshell               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/26/us/polit GOP Redoubles Efforts to Tie Democrats to By Lisa Lerer and Jonathan
2022-09-26   2022-09-27 ics/republicans-crime-midterms.html         High Crime Rates                             Weisman                          TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/26/us/polit
                        ics/supreme-court-state-legislatures-       Top State Judges Plea Curb Power of
2022-09-26   2022-09-27 elections.html                              Legislatures Over Federal Voting             By Adam Liptak                   TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/26/us/polit                                                By Katie Rogers and Jim
2022-09-26   2022-09-27 ics/white-house-student-loan-forgiveness.html Cost of Erasing Students Debt Will Be Steep Tankersley                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/world/a
                        sia/mountaineer-nepal-avalanche-              Ski Mountaineer Is Lost in Nepal During      By Bhadra Sharma and Emily
2022-09-26   2022-09-27 manaslu.html                                  Descent Of Famed Peak                        Schmall                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/world/a After Thrilling Cave Rescue Sleepy Park         By Richard C Paddock and Muktita
2022-09-26   2022-09-27 sia/thai-cave-rescue-tourism.html             Awaits Crowds                                Suhartono                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/world/e Europe Is Wary of Italys New FarRight
2022-09-26   2022-09-27 urope/european-union-italy-meloni.html        Leader Despite Her Assurances                By Steven Erlanger               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/world/e
                        urope/italy-election-meloni-what-to-          RightWing Coalition Is Poised for Firm
2022-09-26   2022-09-27 know.html                                     Control                                      By Gaia Pianigiani               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/world/e Meloni Signals to West That Italy Will
2022-09-26   2022-09-27 urope/meloni-italy-russia-ukraine.html        Remain A Strong Ukraine Ally                 By Jason Horowitz                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/world/e Moscow Acknowledges Problems With Draft By Valerie Hopkins Shashank
2022-09-26   2022-09-27 urope/russia-draft-ukraine-shooting.html      As Anger Turns Violent                       Bengali and Alan Yuhas           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/world/e Gunman Kills at Least 15 in Shooting at
2022-09-26   2022-09-27 urope/russia-school-shooting.html             Russian School                               By Valerie Hopkins               TX 9-213-471   2022-11-01
                                                                      Putin Ally Says Hes Founder of Wagner
                        https://www.nytimes.com/2022/09/26/world/e Mercenary Group Which Fights on Russias
2022-09-26   2022-09-27 urope/russia-wagner-group-prigozhin.html      Side                                         By Cora Engelbrecht              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/world/e
                        urope/ukraine-donbas-russia-lyman-                                                         By Thomas GibbonsNeff Natalia
2022-09-26   2022-09-27 bakhmut.html                                  Race to Seize Two Key Cities In the Donbas Yermak and Tyler Hicks             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/world/
2022-09-26   2022-09-27 middleeast/women-iran-protests-hijab.html     Iranians LongHeld Rage Adds Fuel to Protests By Vivian Yee and Farnaz Fassihi TX 9-213-471   2022-11-01



                                                                                Page 4295 of 5793
                        https://www.nytimes.com/2022/09/26/busines Medicine Biogen to Pay 900 Million Over
2022-09-27   2022-09-27 s/biogen-900-million-lawsuit-kickbacks.html Claims of Kickbacks                        By Stacy Cowley        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/us/polit White House Stays Calm as Italy Lurches
2022-09-27   2022-09-27 ics/italy-election-biden.html                 Right                                    By Michael Crowley     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/busines Trial to Begin in US Lawsuit Over the
2022-09-27   2022-09-27 s/jetblue-american-airlines-antitrust.html    Alliance of 2 Airlines                   By Niraj Chokshi       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/health/i
2022-09-27   2022-09-27 njectable-prep-hiv-africa.html                In Africa A Shot In Limbo                By Stephanie Nolen     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/nyregio Candidates in New York Debate Terms of
2022-09-27   2022-09-27 n/hochul-zeldin-debate.html                   Debate                                   By Luis FerrSadurn     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/science
2022-09-27   2022-09-27 /apple-orchards-genetics.html                 NextGen Apples                           By Elizabeth Landau    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/theater/
2022-09-20   2022-09-28 es-devlin.html                                A Designers Next Stage                   By Andrew Dickson      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/21/movies/
2022-09-21   2022-09-28 goodnight-mommy-horror-remakes.html           Horror Remakes Feared and Loved          By Joshua Lyon         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/arts/des
                        ign/rosalie-genevro-architectural-league-new-
2022-09-22   2022-09-28 york.html                                     Architectural League Leader to Step Down By Joseph Giovannini   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/dining/
2022-09-22   2022-09-28 cooking-tips.html                             To Be a Better Cook Trust Your Senses    By Yewande Komolafe    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/busines Irwin Glusker Who Gave Magazine Readers a
2022-09-23   2022-09-28 s/media/irwin-glusker-dead.html               Feast for the Eyes Dies at 98            By Ed Shanahan         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/dining/
2022-09-23   2022-09-28 dragon-fruit-farmers.html                     So Much Demand Yet So Little Profit      By Christina Morales   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/dining/
2022-09-23   2022-09-28 pasta-breadcrumbs.html                        Bread Crumbs Play A Bigger Role Here     By Melissa Clark       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/theater/
2022-09-23   2022-09-28 most-popular-plays-playwrights.html           Why This Is Americas Most Popular Play   By Michael Paulson     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/books/r
2022-09-25   2022-09-28 eview/stay-true-hua-hsu.html                  A Friendship Ended Much Too Soon         By Jennifer Szalai     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/arts/ale
2022-09-26   2022-09-28 c-baldwin-rust-shooting-charges.html          Baldwin and Others Could Face Charges    By Julia Jacobs        TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/26/busines King Charles Bank Notes Will Arrive in
2022-09-26   2022-09-28 s/king-charles-currency.html               Mid2024 Sharing Circulation With the Queen By Isabella Simonetti   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/dining/
                        drinks/two-buck-chuck-wine-fred-franzia-
2022-09-26   2022-09-28 trader-joes.html                           Paying the Price for a Cultural Divide     By Eric Asimov          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/dining/
2022-09-26   2022-09-28 nfl-rookie-dinner.html                     Dinner Bills Throw NFL Rookies for a Loss By Priya Krishna         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/opinion Bidens Cautious Foreign Policy Is
2022-09-26   2022-09-28 /biden-russia-ukraine-china.html           Endangering the US                         By Kori Schake          TX 9-213-471   2022-11-01




                                                                               Page 4296 of 5793
                        https://www.nytimes.com/2022/09/26/nyregio
                        n/storm-project-new-york-harbor-             Plan Aims to Shield New York From Storms
2022-09-27   2022-09-28 flooding.html                                With 12 Movable Sea Walls                   By Anne Barnard                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/arts/mu
                        sic/mahler-resurrection-symphony-manuscript-Mahlers Resurrection Manuscript Settles in
2022-09-27   2022-09-28 cleveland-orchestra.html                     Cleveland                                   By David Allen                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/arts/mu Ray Edenton 95 GoTo Studio Guitarist Who
2022-09-27   2022-09-28 sic/ray-edenton-dead.html                    Fueled Nashville Hits for 4 Decades         By Bill FriskicsWarren         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/arts/mu
                        sic/tedeschi-trucks-band-i-am-the-moon-
2022-09-27   2022-09-28 beacon.html                                  The 12thCentury Poem and the Roots Rockers By Alan Light                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/busines
2022-09-27   2022-09-28 s/auto-dealerships-real-estate.html          As Car Lots Close Prime Real Estate Opens By Patrick Sisson                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/busines Britains Sweeping Tax Plan Puts Central
2022-09-27   2022-09-28 s/bank-of-england-response.html              Bank on Spot                                By Eshe Nelson                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/busines Agencies Fine Finance Firms 18 Billion Over By Matthew Goldstein and Emily
2022-09-27   2022-09-28 s/banks-fined-texting-sec.html               Texting                                     Flitter                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/busines Lawsuit Tries Tax Angle to Derail Bidens
2022-09-27   2022-09-28 s/biden-student-debt-suit.html               Student Debt Cancellation                   By Stacy Cowley                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/busines
2022-09-27   2022-09-28 s/bitcoin-dollar-currencies.html             Currencies Are Tumbling Except Bitcoin      By Bernhard Warner             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/busines With Rents Quickly Rising How Are
2022-09-27   2022-09-28 s/economy/landlords-rent-inflation.html      Landlords Doing                             By Lydia DePillis              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/busines
                        s/energy-environment/israel-lebanon-natural-
2022-09-27   2022-09-28 gas-europe.html                              Mideast Foes Clear Hurdle To Gas Field      By Clifford Krauss             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/dining/
2022-09-27   2022-09-28 anthony-bourdain-biography.html              The Last Painful Days of Anthony Bourdain By Kim Severson                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/dining/ The Singaporean Hawker Market Comes to
2022-09-27   2022-09-28 nyc-restaurant-news.html                     Midtown                                     By Florence Fabricant          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/dining/r
2022-09-27   2022-09-28 estaurant-review-laser-wolf-brooklyn.html    Float Away on a Trail of Charcoal           By Pete Wells                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/movies/
                        kevin-smith-jason-mewes-jay-and-silent-bob-
2022-09-27   2022-09-28 interview.html                               Bless Them For Still Being Odd              By Robert Ito                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/nyregio
2022-09-27   2022-09-28 n/cheslie-kryst-mental-health.html           Behind the Dazzling Smile a Silent Struggle By Dodai Stewart               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/nyregio At Rikers Officials Game Numbers to Keep
2022-09-27   2022-09-28 n/riker-death-count.html                     the Death Toll Down                         By Jan Ransom                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/nyregio Writers Defamation Suit Hinges on Trumps By Rebecca Davis OBrien and
2022-09-27   2022-09-28 n/trump-carroll-lawsuit.html                 Status                                      Benjamin Weiser                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/opinion
2022-09-27   2022-09-28 /iran-protest-russia.html                    Bring On the Womens Revolutions             By Bret Stephens               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/opinion
2022-09-27   2022-09-28 /ukraine-war-environment.html                Putins War Is a Crime Against the Planet    By Thomas L Friedman           TX 9-213-471   2022-11-01



                                                                               Page 4297 of 5793
                        https://www.nytimes.com/2022/09/27/sports/f For Giants a Ski Lift Becomes a Roller
2022-09-27   2022-09-28 ootball/giants-cowboys-score.html           Coaster                                    By Emmanuel Morgan                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/27/sports/n
                        caabasketball/memphis-hardaway-             Hardaway and Memphis Avoid Serious
2022-09-27   2022-09-28 wiseman.html                                Penalties                                  By Billy Witz                     TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/27/sports/t Roger Federer on the Tears of an
2022-09-27   2022-09-28 ennis/roger-federer-retired.html            Unconventional FairyTale Ending            By Christopher Clarey             TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/27/technol
2022-09-27   2022-09-28 ogy/celsius-ceo-alex-mashinsky-resigns.html CEO of Crypto Bank Celsius Resigns          By David YaffeBellany              TX 9-213-471   2022-11-01
                                                                     Meta Says It Pulled Posts From Chinese
                        https://www.nytimes.com/2022/09/27/technol Campaign to Sway Elections by Posing as
2022-09-27   2022-09-28 ogy/meta-chinese-influence-us-elections.html Americans                                  By Steven Lee Myers                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/theater/ Still Sweeping Those Clouds Away but
2022-09-27   2022-09-28 sesame-street-the-musical-review.html        Onstage                                    By Naveen Kumar                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/upshot/ Political Winds Might Be Blowing in
2022-09-27   2022-09-28 republicans-midterm-elections.html           Republicans Favor Again                    By Nate Cohn                       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/us/hurri Tampa Braces For Hurricane Cuba Is in       By Patricia Mazzei Charles Ballaro
2022-09-27   2022-09-28 cane-ian-florida-tampa-gulf-coast.html       Dark                                       and Elisabeth Parker               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/us/jan- After Riot Messages Show Stone Asked for a By Luke Broadwater Alan Feuer
2022-09-27   2022-09-28 6-house-committee-delays-hearing.html        Pardon                                     and Maggie Haberman                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/us/jan- Risky Defense Planned for Oath Keepers
2022-09-27   2022-09-28 6-oath-keepers-trial.html                    Militia                                    By Alan Feuer                      TX 9-213-471   2022-11-01
                                                                     McConnell Breaking With Republicans
                        https://www.nytimes.com/2022/09/27/us/mcc Supports a Bill to Overhaul the Electoral
2022-09-27   2022-09-28 onnell-electoral-count-act.html              Count                                      By Carl Hulse                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/us/polit For Backlogged Border a Faster Asylum       By Michael D Shear and Miriam
2022-09-27   2022-09-28 ics/biden-immigration-asylum.html            Process                                    Jordan                             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/us/polit Biden Says Republicans Would Imperil Safety
2022-09-27   2022-09-28 ics/biden-social-security-republicans.html   Net                                        By Alan Rappeport                  TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/27/us/polit Senate Passes Spending Package to Help
2022-09-27   2022-09-28 ics/congress-vote-government-shutdown.html Avert a Government Shutdown                   By Emily Cochrane               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/27/us/polit
2022-09-27   2022-09-28 ics/fetterman-oz-crime-justice.html         Oz Attacks Fetterman For Increase in Pardons By Trip Gabriel                 TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/27/us/polit House Jan 6 Committee Faces Key Decisions By Luke Broadwater and Katie
2022-09-27   2022-09-28 ics/jan-6-committee-hearing.html            as It Wraps Up Its Work                      Benner                          TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/27/us/polit Spy Couple In Sub Case Plead Guilty In New
2022-09-27   2022-09-28 ics/submarine-couple-plea-deal.html         Deal                                         By Julian E Barnes              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/27/us/tamp Learning From Tampas Last Direct Hit a
2022-09-27   2022-09-28 a-tarpon-springs-hurricane-1921.html        Century Ago                                  By Mike Ives                    TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/27/world/a After a Meal a Prominent Kenyan Lawyer
2022-09-27   2022-09-28 frica/kenya-lawyer-icc-dead.html            Awaiting a Verdict Is Found Dead             By Declan Walsh                 TX 9-213-471     2022-11-01




                                                                                Page 4298 of 5793
                        https://www.nytimes.com/2022/09/27/world/a
                        sia/asian-markets-updates-recession-                                                  By Isabella Simonetti and Austin
2022-09-27   2022-09-28 fears.html                                 Markets Losing Streak Extends to 6th Day   Ramzy                              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/world/b
2022-09-27   2022-09-28 an-ki-moon-democracy.html                  Still working to change the world          By Farah Nayeri                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/world/e
2022-09-27   2022-09-28 ce-temelkuran-turkey-democracy.html        A continuing threat to democracy           By Farah Nayeri                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/world/e
2022-09-27   2022-09-28 urope/democracy-politics-threats.html      Can duly elected governments prevail       By Steven Erlanger                 TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/27/world/e Pipeline Ruptures Appear to Be Caused by
2022-09-27   2022-09-28 urope/pipeline-leak-russia-nord-stream.html Attacks Europeans Say                     By Melissa Eddy                    TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/27/world/e Kremlin Deploys Forces to Block Exodus of By Marc Santora Andrew E Kramer
2022-09-27   2022-09-28 urope/russia-ukraine-war-referendums.html Men                                           and Eric Nagourney               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/world/e British Leader in Political Peril As Her
2022-09-27   2022-09-28 urope/uk-economy-truss-pound.html            Policies Rattle Economy                    By Mark Landler                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/world/e
                        urope/uk-keir-starmer-liz-truss-pound-       Labour Party Aims to Seize Moment as
2022-09-27   2022-09-28 economy.html                                 Britains Financial Woes Mount              By Stephen Castle                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/world/e For Deaf Family The Bombs Came Without
2022-09-27   2022-09-28 urope/ukraine-war-deaf-family.html           Warning                                    By Jane Arraf                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/world/k
                        arolina-wigura-liberal-democracy-
2022-09-27   2022-09-28 politics.html                                Fear is not a bad thing in politics        By Farah Nayeri                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/world/
2022-09-27   2022-09-28 mete-coban-young-voters.html                 Engaging young voters                      By Farah Nayeri                  TX 9-213-471   2022-11-01
                                                                     2 Pharmaceutical Companies Say a Trial
                        https://www.nytimes.com/2022/09/27/busines Showed Their Alzheimers Drug Slows           By Rebecca Robbins and Pam
2022-09-28   2022-09-28 s/alzheimers-drug-biogen-lecanemab.html      Cognitive Decline                          Belluck                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/sports/b Yankees Clinch a FirstRound Bye As the
2022-09-28   2022-09-28 aseball/yankees-clinch-al-east.html          Wait Continues for Judge                   By David Waldstein               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/us/polit US Allows A Maximum Of 125000 As
2022-09-28   2022-09-28 ics/biden-refugee-cap.html                   Refugees                                   By Michael D Shear               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/opinion
2022-09-28   2022-09-28 /ginni-thomas-election.html                  The Eagerness of Ginni Thomas              By Michelle Cottle               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/sports/f NFC Lags AFC Soars And the Gap Grows
2022-09-28   2022-09-28 ootball/afc-nfc-parity-rivals.html           Wider                                      By Mike Tanier                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/sports/f
                        ootball/nfl-passing-record-norm-van-
2022-09-28   2022-09-28 brocklin.html                                A Passing Record Even Brady Hasnt Touched By Doug Kelly                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/technol Theres No Crypto Winter On Portugals
2022-09-28   2022-09-28 ogy/crypto-portugal-bitcoin-beach.html       Bitcoin Beach                              By Adam Satariano                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/us/polit                                             By Nick Corasaniti and Alexandra
2022-09-28   2022-09-28 ics/election-activists-voter-challenges.html Right Ties Up Voting Process With Red Tape Berzon                           TX 9-213-471   2022-11-01



                                                                               Page 4299 of 5793
                        https://www.nytimes.com/2022/09/28/world/a Zambians Are Still Enchanted With Their
2022-09-28   2022-09-28 frica/zambia-hakainde-hichilema.html        New President                                By Ruth Maclean               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/15/style/pa
2022-09-15   2022-09-29 rtiful-event-planning-parties.html          Online Invitations Get A Generational Update By Callie Holtermann          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/16/movies/
2022-09-16   2022-09-29 twins-on-film.html                          A Fascination With the Power of Two          By Charlie BrinkhurstCuff     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/20/style/ja Finding HappilyEverAfter as a Romance
2022-09-20   2022-09-29 smine-guillory-romance-novel.html           Author                                       By Katherine Rosman           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/22/style/jo
2022-09-22   2022-09-29 an-didion-memorial.html                     After Joan A Memorial for Didion             By Jacob Bernstein            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/arts/har
2022-09-23   2022-09-29 vey-awards-hall-of-fame-neil-gaiman.html    Comics Honors for Neil Gaiman and Others By George Gene Gustines           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/23/science In Congo 3 Chimpanzees Are Kidnapped for
2022-09-23   2022-09-29 /chimps-kidnapping-congo.html               Ransom From a Wildlife Sanctuary             By Rachel Nuwer               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/style/fe
                        rragamo-bally-missoni-milan-fashion-
2022-09-25   2022-09-29 week.html                                   Introductions Are Required All Around        By Vanessa Friedman           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/25/style/gu
                        cci-versace-bottega-veneta-milan-fashion-   Playing Twinsies at Gucci As Things Get
2022-09-25   2022-09-29 week.html                                   Funky in Italy                               By Vanessa Friedman           TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/26/arts/mu A CD in 17 Flavors Propels Blackpinks
2022-09-26   2022-09-29 sic/blackpink-born-pink-billboard-chart.html Album to No 1                                By Ben Sisario               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/busines                                                By Daisuke Wakabayashi and
2022-09-26   2022-09-29 s/china-electric-vehicles.html               For China EV Future Is Here Now              Claire Fu                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/opinion
2022-09-26   2022-09-29 /biden-student-loan-forgiveness.html         Bidens Student Loan Plan Has Issues          By Peter Coy                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/opinion Why Are So Many Of Our Long Covid
2022-09-26   2022-09-29 /post-covid-care.html                        Patients White Women                         By Daniela J Lamas           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/style/an
2022-09-26   2022-09-29 dres-valencia-art-paintings.html             SixFigure Artworks Painted by a Fifth Grader By Alex Hawgood              TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/26/style/ar
2022-09-26   2022-09-29 mani-matty-bovan-milan-fashion-week.html Energy Surge From Matty Bovan                  By Vanessa Friedman            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/style/pl
                        atform-shoes-fendi-versace-milan-fashion-
2022-09-26   2022-09-29 week.html                                    Footwear Designers Take the High Road      By Elizabeth Paton             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/style/tre
2022-09-26   2022-09-29 nds-from-trash-in-the-tiktok-age.html        Trash Bin to Fashion on TikTok             By Elizabeth Paton             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/books/r
2022-09-27   2022-09-29 eview/best-of-friends-kamila-shamsie.html    Karachi Is Volatile but London Is Bland    By Molly Young                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/well/liv Covid Vaccines Can Affect Menstruation
2022-09-27   2022-09-29 e/covid-vaccine-periods-delay.html           Study Shows                                By Knvul Sheikh                TX 9-213-471   2022-11-01




                                                                                 Page 4300 of 5793
                        https://www.nytimes.com/2022/09/28/arts/mu
2022-09-28   2022-09-29 sic/monochromatic-light-armory-review.html In a Different Site a New Richness          By Jason Farago                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/arts/mu
2022-09-28   2022-09-29 sic/review-medea-met-opera.html              A Soprano Stands Alone at Full Cry        By Zachary Woolfe                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/arts/son Sonia Handelman Meyer Socially Conscious
2022-09-28   2022-09-29 ia-handelman-meyer-dead.html                 Photographer Dies at 102                  By Richard Sandomir               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/arts/tele
                        vision/netflix-bee-and-puppycat-the-cuphead- Open Up Netflix Then Sample Some
2022-09-28   2022-09-29 show-dogs-in-space.html                      Animation                                 By Mike Hale                      TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/28/busines Banks Accuse Consumer Agency of Abusing
2022-09-28   2022-09-29 s/cfpb-suit-american-bankers-association.html Power                                       By Emily Flitter               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/busines
2022-09-28   2022-09-29 s/economy/bank-of-england-bonds.html          Central Bank Moves to Calm UKs Markets      By Eshe Nelson                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/busines Pounds Swoon Echoes Declines in British
2022-09-28   2022-09-29 s/economy/uk-pound-history.html               Power Past and Present                      By Patricia Cohen              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/busines Hong Kong Plans Rebound but It Wont Be
2022-09-28   2022-09-29 s/hong-kong-covid-international-city.html     Easy                                        By Alexandra Stevenson         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/busines Lululemon Membership Plan Will Include
2022-09-28   2022-09-29 s/lululemon-mirror-membership.html            Fitness Options                             By Jordyn Holman               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/busines Benefactor With Billions Seeks Split From      By Nicholas Kulish Rebecca R
2022-09-28   2022-09-29 s/mackenzie-scott-dan-jewett.html             Spouse                                      Ruiz and Karen Weise           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/crossw
                        ords/hans-niemann-magnus-carlsen-cheating- Cheating Allegations Roil the Chess World
2022-09-28   2022-09-29 update.html                                   But Wheres the Proof                        By Greg Keener                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/health/l Lasker Award Honors Scientist Whose Work
2022-09-28   2022-09-29 asker-award-medical-research.html             Led to Fetal DNA Test                       By Benjamin Mueller            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/movies/
2022-09-28   2022-09-29 blonde-review-marilyn-monroe.html             Exploited Once Again                        By Manohla Dargis              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/nyregio
                        n/14-guards-at-new-jersey-womens-prison-are 14 Guards at Womens Prison Indicted Over
2022-09-28   2022-09-29 indicted-over-beatings-in-2021-raid.html      Beatings in Raid                            By Tracey Tully                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/nyregio Cuomo Charts His Path Back Yes It Includes
2022-09-28   2022-09-29 n/andrew-cuomo-return.html                    a Podcast                                   By Luis FerrSadurn             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/nyregio
                        n/democrats-abortion-long-island-             In House Fight for Long Island Abortion May
2022-09-28   2022-09-29 congress.html                                 Turn Tide for Democrats                     By Luis FerrSadurn             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/nyregio
                        n/erick-adame-ny-weatherman-fired-            Backlash as Weatherman Is Fired Over
2022-09-28   2022-09-29 scandal.html                                  Online Sex                                  By Liam Stack                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/nyregio Math Scores in New York City Reflect
2022-09-28   2022-09-29 n/nyc-test-scores-pandemic.html               Pandemics Disruption                        By Troy Closson                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/nyregio Hochuls Edge Over Zeldin Has Grown Poll By Luis FerrSadurn and Nicholas
2022-09-28   2022-09-29 n/poll-hochul-zeldin.html                     Shows                                       Fandos                         TX 9-213-471   2022-11-01



                                                                               Page 4301 of 5793
                        https://www.nytimes.com/2022/09/28/nyregio
                        n/redlining-is-racist-12-million-settlement-
2022-09-28   2022-09-29 ends-lending-inquiry.html                    NJ Bank Settles in Redlining Inquiry         By Tracey Tully              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/opinion
2022-09-28   2022-09-29 /iran-protest-women.html                     Iran Has Lost Sight of Its Greatest Asset    By Firoozeh Dumas            TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/opinion So You Want to Be a Senator From
2022-09-28   2022-09-29 /pennsylvania-senate-fetterman-oz.html       Pennsylvania                                 By Gail Collins              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/sports/b
2022-09-28   2022-09-29 aseball/aaron-judge-home-run-chase.html      Aaron Judge Inc                              By Scott Miller              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/sports/b For Mets and Braves It Hinges on a Series
2022-09-28   2022-09-29 aseball/mets-braves-weather.html             And a Hurricane                              By Benjamin Hoffman          TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/sports/h Hilaree Nelson 49 Dies Ski Mountaineer
2022-09-28   2022-09-29 ilaree-nelson-dead.html                      Made Dozens of First Descents                By John Branch               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/style/gli Newsletter Turns Investigative Lens on All
2022-09-28   2022-09-29 tz-paris-luxury-newsletter.html              That Glitters                                By Tina IsaacGoiz            TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/28/technol Google Says It Will Make Its Searches More
2022-09-28   2022-09-29 ogy/google-maps-immersive-search-on.html Visual                                       By Nico Grant                    TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/28/technol US and Russia Are Vying Over Leadership of
2022-09-28   2022-09-29 ogy/us-russia-technology-united-nations.html UN Tech Group                            By David McCabe                  TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/theater/ Rita Gardner 87 Singer And First to Play
2022-09-28   2022-09-29 rita-gardner-dead.html                       Luisa In Musical Fantasticks             By Neil Genzlinger               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/us/alab Alabama Inmates Go on Strike Citing Prison
2022-09-28   2022-09-29 ama-prisons-strike-protest.html              Conditions                               By Eduardo Medina                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/us/cuba-Crews in Cuba Begin Work Of Turning        By Camila Acosta and Maria
2022-09-28   2022-09-29 hurricane-ian-electricity.html               Lights Back On                           AbiHabib                         TX 9-213-471     2022-11-01

                                                                                                                  By Patricia Mazzei Lauren
                        https://www.nytimes.com/2022/09/28/us/hurri Hurricane Slams Florida Deluging Southwest Sweeney Nicholas BogelBurroughs
2022-09-28   2022-09-29 cane-ian-florida-storm-surge.html           Coast                                         and Frances Robles             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/us/oakl California School Shooting Leaves 6 Injured 2 By Kellen Browning Shawn Hubler
2022-09-28   2022-09-29 and-ca-school-shooting.html                 Critically                                    and Eduardo Medina             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/us/polit Biden to Enlist Private Sector in Plan to End
2022-09-28   2022-09-29 ics/biden-hunger-summit.html                Hunger                                        By Alan Rappeport              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/us/polit At Event Biden Looks For Deceased
2022-09-28   2022-09-29 ics/biden-jackie-walorski.html              Lawmaker                                      By Michael D Shear             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/us/polit Arizona Independents Are Skeptical of
2022-09-28   2022-09-29 ics/blake-masters-arizona-senate.html       Republican Senate Candidate                   By Jazmine Ulloa               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/us/polit As Winds Ravage His State DeSantis Puts His By Reid J Epstein and Alan
2022-09-28   2022-09-29 ics/hurricane-ian-desantis-florida.html     Political BombThrowing on Pause               Rappeport                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/us/polit CDC Says Early Data on Monkeypox Shots
2022-09-28   2022-09-29 ics/monkeypox-vaccine.html                  Offers Positive Signs                         By Noah Weiland                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/us/polit Trumps Demand for a Special Master Is
2022-09-28   2022-09-29 ics/trump-special-master-mar-a-lago.html    Looking Like a Mistake                        By Charlie Savage              TX 9-213-471   2022-11-01



                                                                                  Page 4302 of 5793
                        https://www.nytimes.com/2022/09/28/us/polit Settling In for Long Haul Allies From 40
2022-09-28   2022-09-29 ics/ukraine-weapons-nato.html                 Nations Discuss Arms Network                By John Ismay and Lara Jakes   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/us/supr Supreme Court Will Be Open To Public as
2022-09-28   2022-09-29 eme-court-public-reopening.html               Justices Return                             By Adam Liptak                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/world/a Guinea Puts ExPresident and 10 Others on
2022-09-28   2022-09-29 frica/guinea-2009-massacre-trial.html         Trial in 09 Massacre and Rapes              By Elian Peltier               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/world/a
                        mericas/if-brazils-president-attempts-a-coup- Critical Role for Police If a Crisis Seizes
2022-09-28   2022-09-29 what-will-the-police-do.html                  Brazil                                      By Amanda Taub                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/world/a American Climbers Body Is Found on a           By Bhadra Sharma and Emily
2022-09-28   2022-09-29 sia/hilaree-nelson-death-avalanche.html       Nepal Peak                                  Schmall                        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/world/a Far From Routine Asia Trip Presents Thorny
2022-09-28   2022-09-29 sia/kamala-harris-asia.html                   Tests for Harris                            By Zolan KannoYoungs           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/world/a
2022-09-28   2022-09-29 sia/richard-liu-sexual-assault-trial.html     Trial in US Spotlights MeToo In China       By Amy Qin                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/world/a Mayors Idea To Increase Fertility Rate More
2022-09-28   2022-09-29 sia/south-korea-nannies.html                  Nannies                                     By John Yoon                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/world/a
                        ustralia/anti-corruption-commission-          Australias Proposed Integrity Commission
2022-09-28   2022-09-29 secrecy.html                                  Would Work Mostly in Secret                 By Damien Cave                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/world/e
                        urope/nordstream-pipeline-gas-leak-           Damaged Pipelines and Questions About an
2022-09-28   2022-09-29 explosions.html                               Escalation of War                           By Stanley Reed                TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/28/world/e Burst Pipelines Seen as Attack But the       By Katrin Bennhold and David E
2022-09-28   2022-09-29 urope/pipeline-sabotage-mystery-russia.html Mystery Is Who Did It                       Sanger                         TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/world/e Protests in Prague Signal a Troubled Winter
2022-09-28   2022-09-29 urope/prague-protests-economy.html           for Europe                                 By Erika Solomon               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/world/e Moscows Proxies Issue Appeal For Annexing By Andrew E Kramer Marc Santora
2022-09-28   2022-09-29 urope/ukraine-referendum-russia-war.html     Ukraine Regions                            and Eric Nagourney             TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/world/ Iran Attacking Kurdish Groups It Blames for
2022-09-28   2022-09-29 middleeast/iran-iraq-protests.html           Unrest Kills 9 in Iraq                     By Cora Engelbrecht            TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/world/
                        middleeast/palestinian-israel-west-bank-     4 Palestinians Killed in Israeli West Bank
2022-09-28   2022-09-29 raid.html                                    Raid                                       By Patrick Kingsley            TX 9-213-471     2022-11-01
                        https://www.nytimes.com/interactive/2022/09/
2022-09-28   2022-09-29 28/us/abortion-costs-funds.html              What It Costs to Get an Abortion Now       By Allison McCann              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/busines Newsom Signs California Bill to Ease
2022-09-29   2022-09-29 s/california-farmworkers-newsom.html         Farmworker Union Voting                    By Kurtis Lee                  TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/sports/b
2022-09-29   2022-09-29 aseball/aaron-judge-61-home-runs.html        Move Over Maris                            By James Wagner                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/28/us/hurri Sprawling Fury Tests How a Booming Area By Jennifer Reed Charles Ballaro
2022-09-29   2022-09-29 cane-ian-southwest-florida-cape-coral.html   Handles Natural Disaster                   and Jack Healy                 TX 9-213-471     2022-11-01




                                                                                 Page 4303 of 5793
                        https://www.nytimes.com/2022/09/29/insider/
                        a-trip-to-cover-pakistans-destructive-floods-
2022-09-29   2022-09-29 and-whats-left-behind.html                    A Crisis That Has Only Just Begun         By Emmett Lindner                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/style/ka
2022-09-29   2022-09-29 elee-overfield-tiktok.html                    Meet the Lesbian Perez Hilton of TikTok   By Madison Malone Kircher        TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/26/opinion
2022-09-26   2022-09-30 /candidates-voters-medical-transparency.html Candidates Must Disclose Medical Issues    By Lawrence K Altman             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/26/sports/b
                        aseball/seattle-mariners-postseason-
2022-09-27   2022-09-30 drought.html                                  The Remaking of the Seattle Mariners      By Tyler Kepner                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/27/movies/ If You Dig a Little Deeper Youll Find a Few
2022-09-27   2022-09-30 goat-dope-streaming-movies.html               Gems                                      By Jason Bailey                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/books/t
2022-09-28   2022-09-30 he-whalebone-theatre-joanna-quinn.html        Leviathan Bones and the Art of Growing Up By Alexandra Jacobs              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/busines Bill Plante 84 Newsman With CBS for 5
2022-09-28   2022-09-30 s/media/bill-plante-dead.html                 Decades                                   By Richard Sandomir              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/opinion In New York NIMBYism Finally Outstays Its
2022-09-28   2022-09-30 /new-york-housing-crisis.html                 Welcome                                   By Mara Gay                      TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/technol
2022-09-28   2022-09-30 ogy/crypto-hacks-defi.html                    Crypto Users Are on Edge After Hacks      By David YaffeBellany            TX 9-213-471   2022-11-01
                                                                                                                By Yousur AlHlou Masha Froliak
                        https://www.nytimes.com/interactive/2022/09/                                            Evan Hill Rumsey Taylor Matt
                        28/world/europe/russian-soldiers-phone-calls- Putin Is a Fool Intercepted Calls Reveal  Ruby Aleksandra Koroleva and
2022-09-28   2022-09-30 ukraine.html                                  Russian Army in Disarray                  Ksenia Nesterenko                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/arts/mu Coolio 59 Rapper Whose Gangstas Paradise By Eduardo Medina and McKenna
2022-09-29   2022-09-30 sic/coolio-rapper-dead.html                   Made Him a Star Dies                      Oxenden                          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/arts/dan
                        ce/review-new-york-city-ballet-fashion-       When Choreography Is a Step Behind the
2022-09-29   2022-09-30 gala.html                                     Costumes                                  By Gia Kourlas                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/arts/des
                        ign/artist-jewelry-sothebys-auction-fashion-
2022-09-29   2022-09-30 jewels.html                                   Art That Adorns the Neck Not the Wall     By Ruth La Ferla                 TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/29/arts/des
2022-09-29   2022-09-30 ign/jumana-manna-film-foragers-review.html A Wild Plant Crosses the Political Line      By Will Heinrich                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/arts/des
                        ign/morris-hirshfield-american-folk-art-
2022-09-29   2022-09-30 museum.html                                 Rising Again Through a Lavish Exhibition    By Roberta Smith                 TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/29/arts/des
2022-09-29   2022-09-30 ign/strike-philadelphia-museum-of-art.html Employees Picket Philadelphia Museum         By Jon Hurdle                    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/arts/mu
2022-09-29   2022-09-30 sic/bjork-fossora-review.html               Across the Universe and Within              By Jon Pareles                   TX 9-213-471   2022-11-01




                                                                                  Page 4304 of 5793
                        https://www.nytimes.com/2022/09/29/arts/tele
                        vision/interview-with-the-vampire-ramy-
2022-09-29   2022-09-30 jungle.html                                  This Weekend I Have                         By Margaret Lyons           TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/29/arts/tele
2022-09-29   2022-09-30 vision/the-rings-of-power-cast-diversity.html Guess Whos Coming to Mordor                By James Poniewozik         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/books/o The Many Brilliant Shades of Octobers
2022-09-29   2022-09-30 ctober-new-book-list.html                     Tomes                                      By Joumana Khatib           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/busines Chinas Covid Propaganda Often Seen as
2022-09-29   2022-09-30 s/china-covid-propaganda.html                 Absurd Stirs Rebellion                     By Zixu Wang                TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/busines Porsche Shares Jump in a Blockbuster IPO
2022-09-29   2022-09-30 s/dealbook/porsche-ipo-volkswagen.html        Even as European Markets Decline           By Michael J de la Merced   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/busines
                        s/economy/economy-gross-domestic-             Economy Anemic in First Half a Yardstick
2022-09-29   2022-09-30 product.html                                  Shows                                      By Ben Casselman            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/busines
                        s/energy-environment/biden-oil-prices-        Risks Climb As US Taps Oil Stockpile To
2022-09-29   2022-09-30 reserve.html                                  Cut Prices                                 By Clifford Krauss          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/busines 6 Major Banks Join Fed Study On Exposure
2022-09-29   2022-09-30 s/fed-banks-climate-change.html               To Climate Risk                            By Jeanna Smialek           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/busines Germanys High Power Costs Drive
2022-09-29   2022-09-30 s/germany-inflation-september.html            DoubleDigit Inflation                      By Melissa Eddy             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/busines
2022-09-29   2022-09-30 s/stock-market-today.html                     Stocks Fall Again More Sharply This Time   By Isabella Simonetti       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/climate
2022-09-29   2022-09-30 /coastal-hospitals-hurricane-flooding.html    Coastal Hospitals Are at Risk Study Says   By Elena Shao               TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/climate Methane Might Damage Climate More Than
2022-09-29   2022-09-30 /gas-flaring-climate-methane.html             Thought Study Finds                        By Henry Fountain           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/climate Rebuilding After Ian Will Be Hard Lack of
2022-09-29   2022-09-30 /hurricane-ian-flood-insurance.html           Insurance Will Make It Harder              By Christopher Flavelle     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/health/a FDA Approves Experimental ALS Drug
2022-09-29   2022-09-30 ls-treatment-relyvrio.html                    Despite Questions                          By Pam Belluck              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/health/ New Survey Suggests An Alarming Increase
2022-09-29   2022-09-30 doctor-burnout-pandemic.html                  In Physician Burnout                       By Oliver Whang             TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 argentina-1985-review.html                    Argentina 1985                             By Natalia Winkelman        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 bros-review.html                              Boy Meets Boy Can It Last Past Monday      By Amy Nicholson            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/ A Sinewy Horse Opera Defies Blockbuster
2022-09-29   2022-09-30 dead-for-a-dollar-review.html                 Bloat                                      By AO Scott                 TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 from-the-hood-to-the-holler-review.html       From the Hood to the Holler                By Concepcin de Len         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 gods-creatures-review.html                    Gods Creatures                             By Natalia Winkelman        TX 9-213-471   2022-11-01




                                                                                Page 4305 of 5793
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 hocus-pocus-2-review.html                  Hocus Pocus 2                                 By Claire Shaffer        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 i-didnt-see-you-there-review.html          I Didnt See You There                         By Nicolas Rapold        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 inhospitable-review.html                   InHospitable                                  By Ben Kenigsberg        TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 mona-lisa-and-the-blood-moon-review.html Mona Lisa and the Blood Moon                    By Beatrice Loayza       TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 new-york-film-festival-preview.html        For the Sake of Art but What Kind             By AO Scott              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 sirens-review.html                         Sirens                                        By Glenn Kenny           TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/ When Trauma Is Your Stalker Theres No
2022-09-29   2022-09-30 smile-review.html                          Escape                                        By Jeannette Catsoulis   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 ten-tricks-review.html                     Ten Tricks                                    By Beandrea July         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 the-good-house-review.html                 The Good House                                By Teo Bugbee            TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 the-justice-of-bunny-king-review.html      The Justice Of Bunny King                     By Ben Kenigsberg        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 vesper-review.html                         Vesper                                        By Nicolas Rapold        TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-09-30 what-we-leave-behind-review.html           What We Leave Behind                          By Lisa Kennedy          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/nyregio New York City Tightens Entry To Top
2022-09-29   2022-09-30 n/nyc-schools-admissions.html              Schools                                       By Troy Closson          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/opinion
2022-09-29   2022-09-30 /columnists/federal-reserve-inflation.html Is the Fed Braking Too Hard                   By Paul Krugman          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/opinion
2022-09-29   2022-09-30 /crisis-men-masculinity.html               The Crisis of Men and Boys                    By David Brooks          TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/29/sports/b After 7Game Drought Definitely Some Relief
2022-09-29   2022-09-30 aseball/aaron-judge-home-run-toronto.html In Sending Out No 61                         By David Waldstein         TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/29/sports/b Maris Would Be Tickled to Death to Be
2022-09-29   2022-09-30 aseball/aaron-judge-roger-maris-yankees.html Matched by Judge                            By Tyler Kepner          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/sports/g From the Course to the Courts PGA Tour
2022-09-29   2022-09-30 olf/pga-tour-liv-countersuit.html            Files Countersuit Against LIV               By Jesus Jimnez          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/technol
                        ogy/google-to-shut-down-stadia-video-game-
2022-09-29   2022-09-30 streaming-service.html                       Google Plans To Shut Down Game Service      By Nico Grant            TX 9-213-471   2022-11-01
                                                                     Zuckerberg Tells Employees That Meta Will
                        https://www.nytimes.com/2022/09/29/technol Freeze Hiring and Reduce Budgets for Most
2022-09-29   2022-09-30 ogy/meta-hiring-freeze.html                  Teams                                       By Sheera Frenkel        TX 9-213-471   2022-11-01



                                                                                Page 4306 of 5793
                        https://www.nytimes.com/2022/09/29/theater/
2022-09-29   2022-09-30 funny-girl-review-lea-michele.html          Going Toe to Toe With Barbra               By Jesse Green                     TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/us/arizo In Tight Arizona Governors Race a Democrat
2022-09-29   2022-09-30 na-governor-katie-hobbs.html                Runs on Abortion Rights                    By Jack Healy and Jazmine Ulloa    TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/us/hurri At Flooded Nursing Home a Rush to Save     By Richard Fausset Campbell
2022-09-29   2022-09-30 cane-ian-flood-damage.html                  Those Too Frail to Walk                    Robertson and Shawn Hubler         TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/us/lee-
2022-09-29   2022-09-30 county-florida-ian-unconfirmed-deaths.html Walking Back a Death Toll Estimate          By Amanda Holpuch                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/us/polit Parents of Sandy Hook Victim Speak Out at
2022-09-29   2022-09-30 ics/alex-jones-sandy-hook-parker.html       Jones Trial                                By Elizabeth Williamson            TX 9-213-471   2022-11-01

                        https://www.nytimes.com/2022/09/29/us/polit Gaining Visibility FEMA Administrator Adds
2022-09-29   2022-09-30 ics/deanne-criswell-fema-hurricane-ian.html Human Touch to Disaster Response           By Eileen Sullivan               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/29/us/polit
2022-09-29   2022-09-30 ics/desantis-biden-hurricane-ian-aid.html   Needing Storm Aid DeSantis Shifts Tune     By Matt Flegenheimer             TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/29/us/polit Thomas Denies Discussing Election          By Luke Broadwater and Stephanie
2022-09-29   2022-09-30 ics/ginni-thomas-jan-6-committee.html       Subversion Efforts With Husband            Lai                              TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/29/us/polit US to Levy Sanctions On Chinese Companies
2022-09-29   2022-09-30 ics/iran-sanctions-china-oil.html           For Ties to Iranian Oil                    By Michael Crowley               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/29/us/polit US Wants Longer Terms In Prisoner Abuse
2022-09-29   2022-09-30 ics/justice-dept-prison-reform.html         Cases                                      By Glenn Thrush                  TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/29/us/polit A New Pentagon Plan Would Train and Arm
2022-09-29   2022-09-30 ics/pentagon-command-ukraine.html           Troops Against Russia                      By Eric Schmitt                  TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/29/us/polit
                        ics/russian-oligarch-sanctions-             Russian Oligarch and 2 Aides Are Accused By Kenneth P Vogel and Benjamin
2022-09-29   2022-09-30 citizenship.html                            Of Plot to Make His Children US Citizens   Weiser                           TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/29/us/polit GOPLed States Sue to Block Bidens Plan to
2022-09-29   2022-09-30 ics/suit-biden-student-loan-debt.html       Erase Student Loan Debt                    By Michael D Shear               TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/29/us/polit Britains Gamble on New Tax Cuts Worries
2022-09-29   2022-09-30 ics/tax-cuts-uk.html                        Experts                                    By Jim Tankersley                TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/29/us/polit
                        ics/trump-boris-epshteyn-atlanta-grand-     Trump Lawyer Appears Before Atlanta Grand
2022-09-29   2022-09-30 jury.html                                   Jury on Election Interference              By Danny Hakim and Sean Keenan TX 9-213-471       2022-11-01
                        https://www.nytimes.com/2022/09/29/us/sani                                             By Daniel Victor and Lauren
2022-09-29   2022-09-30 bel-island-causeway-hurricane-ian.html      Island Loses Bridge Delaying Rescues       McCarthy                         TX 9-213-471     2022-11-01
                        https://www.nytimes.com/2022/09/29/us/texa 2 Charged With Manslaughter in Shooting of
2022-09-29   2022-09-30 s-migrants-shot.html                        Migrants Along a Texas Roadway             By J David Goodman               TX 9-213-471     2022-11-01

                        https://www.nytimes.com/2022/09/29/us/trum Judge Overrules Demands Of Special Master
2022-09-29   2022-09-30 p-special-master-documents.html            She Picked To Review Trump Documents      By Charlie Savage and Alan Feuer TX 9-213-471       2022-11-01

                        https://www.nytimes.com/2022/09/29/world/a Days Before the Election Bolsonaros Party
2022-09-29   2022-09-30 mericas/election-bolsonaro-brazil-fraud.html Attacks Brazils Voting Systems            By Jack Nicas and Andr Spigariol   TX 9-213-471   2022-11-01




                                                                               Page 4307 of 5793
                        https://www.nytimes.com/2022/09/29/world/a Trying to Finish a Journey From Brazils      By Jack Nicas and Flvia
2022-09-29   2022-09-30 mericas/lula-bolsonaro-brazil-election.html Presidency to Prison and Back               Milhorance                    TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/29/world/a
                        mericas/mexico-environmental-activists-     Mexico Is Ranked Deadliest Country For
2022-09-29   2022-09-30 killed.html                                 Green Activists                             By Oscar Lopez                TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/29/world/a
2022-09-29   2022-09-30 sia/myanmar-sean-turnell-guilty.html        Myanmar Economic Adviser Gets 3 Years       By Seth Mydans                TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/29/world/a North Korea Fires Missiles During Third Test By Choe SangHun and Zolan
2022-09-29   2022-09-30 sia/north-korea-missile-test.html           This Week                                   KannoYoungs                   TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/29/world/a Allegations of Child Abuse Led Vatican to
2022-09-29   2022-09-30 sia/vatican-bishop-belo.html                Discipline A Nobel Laureate Bishop          By Jason Horowitz             TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/29/world/a The Last Breaths of a Toxic Old Mining       By Yan Zhuang and Matthew
2022-09-29   2022-09-30 ustralia/wittenoom-asbestos-mining.html     Town in the Outback                         Abbott                        TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/29/world/e
2022-09-29   2022-09-30 urope/queen-elizabeth-death-time.html       Record Says Queen Died Of Old Age           By Mark Landler               TX 9-213-471    2022-11-01
                        https://www.nytimes.com/2022/09/29/world/e
                        urope/rwanda-genocide-trial-felicien-       After 2 Decades on the Run Genocide Suspect
2022-09-29   2022-09-30 kabuga.html                                 Is on Trial                                 By Marlise Simons             TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/29/world/e With Annexation Plans Putin Escalates a
2022-09-29   2022-09-30 urope/ukraine-russia-annexation-putin.html Battle of Wills With the West             By Anton Troianovski             TX 9-213-471    2022-11-01

                        https://www.nytimes.com/2022/09/29/world/e Zelensky Responds to Growing Threats From
2022-09-29   2022-09-30 urope/zelensky-ukraine-russia-defiance.html Moscow With Defiance and Bravado           By Andrew E Kramer              TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/world/ Outraged Iranians Flood Streets After First
2022-09-29   2022-09-30 middleeast/iran-internet-censorship.html    Huddling in Protest Online                 By Vivian Yee                   TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/your-
2022-09-29   2022-09-30 money/mortgage-guide-home-buying.html       Navigating the Sea Of Mortgage Offers      By Tara Siegel Bernard          TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/29/science NASA to Let Billionaires Try to Tinker With
2022-09-30   2022-09-30 /nasa-hubble-spacex-polaris.html            Hubble                                     By Kenneth Chang                TX 9-213-471   2022-11-01
                                                                                                               By Patricia Mazzei Nicholas
                        https://www.nytimes.com/2022/09/29/us/hurri                                            BogelBurroughs Frances Robles
2022-09-30   2022-09-30 cane-ian-florida-damage.html                A Staggering Path of Ruin Across Florida   and Jack Healy                  TX 9-213-471   2022-11-01
                        https://www.nytimes.com/2022/09/28/arts/val Valerie Maynard an Artist Who Celebrated
2022-09-28   2022-10-01 erie-maynard-dead.html                      Black Identity Dies at 85                  By Alex Williams                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/opinion Which Midterm Polls Should We Be Taking By Frank Bruni Patrick Ruffini and
2022-09-28   2022-10-01 /polling-midterms.html                      With a Grain of Salt                       Amy Walter                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/theater/
2022-09-28   2022-10-01 gabby-beans-im-revolting.html               Gabby Beans Plays to the Balcony           By Juan A Ramrez                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/arts/mu
2022-09-29   2022-10-01 sic/coolio-gangstas-paradise.html           Paradise Found And Lost                    By Julia Jacobs                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/busines David Gottesman 96 Wall St Power Who        By Robert D Hershey Jr and Alex
2022-09-29   2022-10-01 s/dealbook/david-s-gottesman-dead.html      Teamed Up With Buffett Dies                Traub                           TX 9-233-140   2022-12-01




                                                                                Page 4308 of 5793
                        https://www.nytimes.com/2022/09/29/health/
                        pandemic-preparedness-covid-                 Unprepared for Covid and Monkeypox And
2022-09-29   2022-10-01 monkeypox.html                               the Next Outbreak Too                      By Apoorva Mandavilli           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/movies/
2022-09-29   2022-10-01 marilyn-monroe-fetus-blonde.html             Pregnant With Empty Spectacle              By Amanda Hess                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/us/leon Leonard Cole 89 Expert on Secret US Germ
2022-09-29   2022-10-01 ard-cole-dead.html                           Weapons                                    By Ed Shanahan                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/us/pnb- Father and Son 17 Are Charged in Fatal
2022-09-30   2022-10-01 rock-shooting-arrest.html                    Shooting of Rapper                         By Eduardo Medina               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/arts/arts White House Restores Arts and Humanities
2022-09-30   2022-10-01 humanities-commission-biden.html             Commission That Dissolved Under Trump      By Jennifer Schuessler          TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/30/arts/dan
2022-09-30   2022-10-01 ce/review-fall-for-dance-kyiv-city-ballet.html Resilience Takes Center Stage            By Gia Kourlas                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/arts/mu
                        sic/met-opera-idomeneo-lady-macbeth-of-        Three Women So Good at Being Up to No
2022-09-30   2022-10-01 mtsensk.html                                   Good                                     By Zachary Woolfe               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/arts/mu
                        sic/philadelphia-orchestra-carnegie-hall-
2022-09-30   2022-10-01 review.html                                    Light Fare if Fitfully HeavyHanded       By Oussama Zahr                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/arts/mu Sue Mingus 92 Who Promoted Husbands
2022-09-30   2022-10-01 sic/sue-mingus-dead.html                       Musical Legacy                           By Clay Risen                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/arts/tele
                        vision/jeffrey-dean-morgan-lauren-cohan-
2022-09-30   2022-10-01 walking-dead.html                              Two CoStars Will Keep On Walking         By Calum Marsh                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/books/e
                        arly-cormac-mccarthy-interviews-               Early Cormac McCarthy Interviews Are
2022-09-30   2022-10-01 rediscovered.html                              Rediscovered                             By Elizabeth A Harris           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/busines British Borrowers Face Up to a Broken
2022-09-30   2022-10-01 s/bonds-pensions-bank-of-england.html          Mortgage Market                          By Joe Rennison                 TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/30/busines Chinas New Covid Shot Gets Approval Just
2022-09-30   2022-10-01 s/china-mrna-covid-vaccine-indonesia.html Not at Home                                   By Alexandra Stevenson          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/busines                                              By Jeanna Smialek and Ben
2022-09-30   2022-10-01 s/economy/inflation-fed.html               Fed Flailing On Inflation Data Shows         Casselman                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/busines Prices Rise In Eurozone At 10 Rate Setting   By Patricia Cohen and Melissa
2022-09-30   2022-10-01 s/eurozone-inflation.html                  Mark                                         Eddy                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/busines
2022-09-30   2022-10-01 s/stocks-bonds-third-quarter.html          An Ugly Quarter Ends With Another Drop       By Joe Rennison                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/busines British Borrowers Face Up To a Broken
2022-09-30   2022-10-01 s/uk-mortgage-markets.html                 Mortgage Market                              By Isabella Kwai                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/busines Citing Size United Says It Will Pause JFK
2022-09-30   2022-10-01 s/united-airlines-jfk-airport.html         Service                                      By Niraj Chokshi                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/health/ Study Finds Covid Booster Is Mystery to Most
2022-09-30   2022-10-01 omicron-booster-covid.html                 Adults                                       By Jan Hoffman                  TX 9-233-140   2022-12-01



                                                                                Page 4309 of 5793
                                                                      New ALS Drug Will Have List Price of
                        https://www.nytimes.com/2022/09/30/health/r 158000 a Year Despite Questions About Its
2022-09-30   2022-10-01 elyvrio-price-als-amylyx.html                 Effectiveness                             By Pam Belluck                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/movies/
                        my-best-friends-exorcism-review-like-totally-
2022-09-30   2022-10-01 satan.html                                    Just What in the Devil Is Going On Here   By Calum Marsh                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/nyregio Paramedic Killed in Queens Was Known as
2022-09-30   2022-10-01 n/alison-russo-fdny-emt-stabbing.html         the Mother of the Station                 By Corey Kilgannon               TX 9-233-140   2022-12-01
                                                                                                                By Michael Rothfeld Dana
                        https://www.nytimes.com/2022/09/30/nyregio Mayors Confidant Among New Yorks             Rubinstein and William K
2022-09-30   2022-10-01 n/eric-adams-pearson-salary-nyc.html        Highest Paid Municipal Employees            Rashbaum                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/nyregio New York Russian Consulate Is Defaced
2022-09-30   2022-10-01 n/ny-russian-consulate-vandalism.html       With Red Paint                              By Karen Zraick and Mable Chan   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/nyregio
                        n/queens-man-charged-murder-paramedic-      Paramedics Daylight Killing Has a Fearful
2022-09-30   2022-10-01 stabbing.html                               Echo                                        By Michael Wilson                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/opinion
2022-09-30   2022-10-01 /brazil-election-bolsonaro-lula.html        We Brazilians Are Holding Our Breath        By Vanessa Barbara               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/opinion Putin Is Turning His Nation Into a Huge
2022-09-30   2022-10-01 /putin-russia-ukraine.html                  North Korea                                 By Thomas L Friedman             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/sports/a
2022-09-30   2022-10-01 utoracing/f1-audi-team.html                 Back in the drivers seat                    By Luke Smith                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/sports/a
2022-09-30   2022-10-01 utoracing/f1-jet-lag-travel-drivers.html    Teams race to beat jet lag                  By Phillip Horton                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/sports/a
2022-09-30   2022-10-01 utoracing/f1-red-bull-power-unit.html       Red Bull makes a power move                 By Ian Parkes                    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/30/sports/b Im Going to Play My Game Mets Call Up the
2022-09-30   2022-10-01 aseball/francisco-alvarez-mets-braves.html  Majors TopRated Prospect                  By James Wagner                    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/30/sports/b Ohtani Bolsters His MVP Case by Flirting
2022-09-30   2022-10-01 aseball/shohei-ohtani-aaron-judge-mvp.html With a NoHitter                              By Benjamin Hoffman              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/sports/b
                        asketball/rachel-nichols-showtime-espn-maria-After Contentious Departure From ESPN
2022-09-30   2022-10-01 taylor.html                                  Nichols Finds a New Home at Showtime       By Kevin Draper                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/30/sports/f The Colts Tackle Mental Health With Their
2022-09-30   2022-10-01 ootball/indianapolis-colts-mental-health.html Kicking the Stigma Initiative             By Anna Katherine Clemmons       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/sports/s
2022-09-30   2022-10-01 occer/iran-soccer-protests.html               A Soccer Team Caught in the Middle        By Rory Smith and Tariq Panja    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/sports/t Two Punishing Hits In Five Days Renew
2022-09-30   2022-10-01 ua-tagavailoa-nfl-concussion-protocol.html Protocol Criticisms                          By Ken Belson                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/theater/
2022-09-30   2022-10-01 american-televisions-review.html              Tune In and Buckle Up for Family Drama    By Maya Phillips                 TX 9-233-140   2022-12-01




                                                                                 Page 4310 of 5793
                        https://www.nytimes.com/2022/09/30/theater/
2022-09-30   2022-10-01 review-textplay-stoppard-beckett.html       Stoppard and Beckett Those Snarky Texters By Jesse Green                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/upshot/ Unpaid Labor Can Harm Mental Health
2022-09-30   2022-10-01 women-mental-health-labor.html              Especially for Women                          By Claire Cain Miller             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/us/bide                                                By Michael Crowley and Edward
2022-09-30   2022-10-01 n-putin-russia-ukraine.html                 Biden Calls on World to Punish Moscow         Wong                              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/us/evac Evacuation Confusion Shift in Forecast
2022-09-30   2022-10-01 uation-florida-hurricane-ian.html           Blamed for Short Notice                       By Mitch Smith                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/us/fire- Sailor Is Found Not Guilty of Setting Fire to
2022-09-30   2022-10-01 bonhomme-richard-ryan-mays.html             Ship                                          By Dave Philipps                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/us/fort- LaidBack Beach Islands Are Ravaged by         By Jennifer Reed Patricia Mazzei
2022-09-30   2022-10-01 myers-beach-hurricane-ian.html              Storm                                         and Jack Healy                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/us/ian- TV Coverage Coming to You Live and in
2022-09-30   2022-10-01 tv-weather-reporters.html                   Harms Way                                     By Jenny Gross                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/us/keta
                        nji-brown-jackson-supreme-court-
2022-09-30   2022-10-01 investiture.html                            Justices Welcome Jackson to Supreme Court By Adam Liptak                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/us/polit Abbott and ORourke Clash in Sole Debate for
2022-09-30   2022-10-01 ics/abbott-beto-debate-texas.html           Texas Governors Seat                          By J David Goodman                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/us/polit Bidens Student Debt Relief Plan Attracts
2022-09-30   2022-10-01 ics/biden-student-loans.html                Lawsuits Scammers and Confusion               By Katie Rogers                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/us/polit
                        ics/congress-passes-stopgap-spending-       Spending Bill Is Approved With More Aid for
2022-09-30   2022-10-01 bill.html                                   Ukraine And a Patch for the Budget            By Emily Cochrane                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/us/polit House Passes Bill to Provide 27 Billion To
2022-09-30   2022-10-01 ics/house-vote-911-fund.html                Immediate Families of 911 Victims             By Annie Karni                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/us/polit Vote to Limit Lawmakers Stock Trades on
2022-09-30   2022-10-01 ics/stock-trading-vote-congress.html        Hold Until After Midterms                     By Stephanie Lai and Kate Kelly TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/09/30/us/polit                                               By Charlie Savage and Glenn
2022-09-30   2022-10-01 ics/trump-executive-privilege.html          Trump Testing Just How Long Privilege Lasts Thrush                              TX 9-233-140   2022-12-01
                                                                    Landfall in South Carolina Where People Had
                        https://www.nytimes.com/2022/09/30/us/sout Nervously Tracked a Ruinous Path Across        By Eliza Fawcett Kellen Browning
2022-09-30   2022-10-01 h-carolina-hurricane-ian.html               Florida                                       and Rick Rojas                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/world/a Military Officers Declare Coup in Burkina
2022-09-30   2022-10-01 frica/burkina-faso-coup.html                Faso                                          By Ruth Maclean and Elian Peltier TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/30/world/a
2022-09-30   2022-10-01 mericas/brazil-election-bolsonaro-lula.html Brazils Election What to Know               By Ana Ionova                     TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/09/30/world/a Cubans Protest Government Response to        By Camila Acosta and Maria
2022-09-30   2022-10-01 mericas/cuba-hurricane-ian-protests.html    Hurricane                                   AbiHabib                          TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/09/30/world/a Deadly Bombing in Girls Section of           By Yaqoob Akbary and Christina
2022-09-30   2022-10-01 sia/afghanistan-bombing-girls-education.html Education Center in Kabul Deepens Fears    Goldbaum                          TX 9-233-140     2022-12-01




                                                                                Page 4311 of 5793
                        https://www.nytimes.com/2022/09/30/world/a Countering China the US Signs a Broad Deal
2022-09-30   2022-10-01 sia/pacific-islands-summit-washington.html to Aid Pacific Nations                     By Damien Cave                  TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/09/30/world/a Thai Prime Minister Can Remain in Power
2022-09-30   2022-10-01 sia/thailand-prime-minister.html           Constitutional Court Rules                 By SuiLee Wee and Ryn Jirenuwat TX 9-233-140      2022-12-01

                        https://www.nytimes.com/2022/09/30/world/e A French Feminist Rabbis Musings on
2022-09-30   2022-10-01 urope/delphine-horvilleur-rabbi-judaism.html Mortality Captivate a Multifaith Crowd   By Julia Lieblich                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/world/e In Defiant Speech Putin Casts West As      By Anton Troianovski and Valerie
2022-09-30   2022-10-01 urope/putin-speech-ukraine-russia.html       Russias Enemy                            Hopkins                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/world/e Moscow Strikes 4 Regions of Ukraine Then
2022-09-30   2022-10-01 urope/russian-strikes-ukraine.html           Declares Them Part of Russia             By Andrew E Kramer                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/world/e Move to Reassure Voters Has the Opposite
2022-09-30   2022-10-01 urope/truss-bbc-interviews-tax-cuts.html     Effect For the Leader of Britain         By Mark Landler                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/world/
                        middleeast/iran-protests-government-         Iran Protests Continue Despite Heavy     By Farnaz Fassihi and Cora
2022-09-30   2022-10-01 crackdown.html                               Crackdowns                               Engelbrecht                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/world/
                        middleeast/iran-protests-haiti-russia-
2022-09-30   2022-10-01 china.html                                   Power of the Protest Is Waning Worldwide By Max Fisher                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/your-
2022-09-30   2022-10-01 money/online-marketplaces-1099-k.html        Selling Old Stuff IRS May Reach Out      By Ann Carrns                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/world/a North Korea Fires Missiles For Fourth Time
2022-10-01   2022-10-01 sia/north-korea-ballistic-missile-test.html  in a Week                                By Choe SangHun                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/busines Safety Concerns Plague Europes Newest Gas
2022-10-01   2022-10-01 s/baltic-pipe-nord-stream.html               Link                                     By Melissa Eddy                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/07/06/books/b Literary Destinations Read Your Way
2022-07-06   2022-10-02 ooks-berlin-germany.html                     Through Berlin                           By Daniel Kehlmann                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/08/05/books/r
2022-08-05   2022-10-02 eview/bonsai-alejandro-zambra.html           Love Language                            By Brandon Taylor                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/08/31/books/r
                        eview/africa-is-not-a-country-dipo-
2022-08-31   2022-10-02 faloyin.html                                 Continental Stereotypes                  By Michela Wrong                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/02/books/r
                        eview/robert-crawford-eliot-after-the-waste-
2022-09-02   2022-10-02 land.html                                    Old Possum                               By Andrew Epstein                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/04/books/r
                        eview/the-godmother-barbie-lazza-
2022-09-04   2022-10-02 nadeau.html                                  All in the Family                        By Clyde Haberman                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/06/books/r
2022-09-06   2022-10-02 eview/the-red-widow-sarah-horowitz.html      Scarlet Woman                            By Claire Berlinski                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/08/books/r
2022-09-08   2022-10-02 eview/solito-javier-zamora.html              Step by Step                             By Karla Cornejo Villavicencio     TX 9-233-140   2022-12-01




                                                                               Page 4312 of 5793
                        https://www.nytimes.com/2022/09/08/books/r
2022-09-08   2022-10-02 eview/the-middle-out-michael-tomasky.html Populist Mechanics                            By David Oshinsky                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/12/books/r
                        eview/catholicism-history-john-
2022-09-12   2022-10-02 mcgreevy.html                              Catholic School                              By Timothy Egan                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/16/books/r
2022-09-16   2022-10-02 eview/lucy-by-the-sea-lucy-barton.html     Alone Together                               By Hamilton Cain                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/16/books/r
                        eview/theres-no-instruction-manual-for-
2022-09-16   2022-10-02 parenthood-books-can-help.html             Life Support                                 By Judith Newman                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/17/books/r
2022-09-17   2022-10-02 eview/the-complicities-stacey-derasmo.html Divorced From Culpability                    By Lauren Fox                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/19/t-
                        magazine/il-palazzetto-italy-tobia-carlo-                                               By Max Norman and Danilo
2022-09-19   2022-10-02 scarpa.html                                   Succession                                Scarpati                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/19/us/healt For Ukrainians Who Fled Aid Helps Rebuild
2022-09-19   2022-10-02 h-care-workers-pandemic-covid-help.html       Shattered Lives                           By Joshua Needelman               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/20/t-
                        magazine/eating-early-new-york-
2022-09-20   2022-10-02 restaurants.html                              Early and Often                           By Rachel Sugar and Jane Dickson TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/20/t-                                                   By Nick Marino and Andrew
2022-09-20   2022-10-02 magazine/omer-arbel-vancouver-home.html The Light Fantastic                             Rowat                            TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/21/books/r
                        eview/self-portrait-with-ghost-meng-jin-
                        tomorrow-in-shanghai-may-lee-chai-dung-kai-
                        cheung-a-catalog-of-such-stuff-as-dreams-are-
2022-09-21   2022-10-02 made-o.html                                   Story Collections                         By Weike Wang                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/21/t-                                                   By Alice Cavanagh and Ben
2022-09-21   2022-10-02 magazine/sergio-roger-textile-sculpture.html T Introduces Sergio Roger                  Roberts                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/21/t-
2022-09-21   2022-10-02 magazine/tangier-home-sarah-wheeler.html TangeriNEDReamS                                By Nancy Hass and Ana Cuba        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/21/t-
2022-09-21   2022-10-02 magazine/van-cleef-arpels-gold-collar.html The Thing                                    By Nancy Hass                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/22/books/r
2022-09-22   2022-10-02 eview/celeste-ng-our-missing-hearts.html      Lost for Words                            By Stephen King                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/22/books/r
                        eview/killers-of-a-certain-age-deanna-
2022-09-22   2022-10-02 raybourn.html                                 Inside the List                           By Elisabeth Egan                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/22/t-                                                   By Nick Haramis Max Berlinger
                        magazine/fashion-influential-womens-                                                    Rose Courteau Jessica Testa and
2022-09-22   2022-10-02 collections.html                              Postwar Greats                            Kin Woo                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/22/t-                                                   By Laura May Todd and Sara
2022-09-22   2022-10-02 magazine/gio-ponti-casa-di-fantasia.html      Double Fantasy                            Magni                             TX 9-233-140   2022-12-01



                                                                               Page 4313 of 5793
                        https://www.nytimes.com/2022/09/23/magazi
2022-09-23   2022-10-02 ne/dont-worry-darling-olivia-wilde.html      Sight Unseen                            By Carina Chocano               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/23/t-                                                By Besha Rodell and Victoria
2022-09-23   2022-10-02 magazine/australian-florists.html            Born to Be Wild                         Zschommler                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/23/t-
2022-09-23   2022-10-02 magazine/bucket-hats.html                    BucketHats                              By Mari Maeda and Yuji Oboshi   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/23/t-
                        magazine/dan-pearson-connecticut-garden-                                             By Nancy Hass and Ngoc Minh
2022-09-23   2022-10-02 estate.html                                  Let Nature Win                          Ngo                             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/25/style/be
2022-09-25   2022-10-02 lle-sebastian-tour.html                      Companions Living in the Lyrics         By Claire Dederer               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/25/travel/d
2022-09-25   2022-10-02 elhi-neighborhoods-art-bars.html             A Dynamic New Scene In Delhi            By FinnOlaf Jones               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/25/travel/k
2022-09-25   2022-10-02 orea-land-of-morning-calm.html               The Calm Beyond The Bustle              By Adam H Graham                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/25/travel/k
2022-09-25   2022-10-02 yoto-japan-tourism.html                      Without The Crowds For Now              By Ben Dooley and Hisako Ueno TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/09/25/travel/t
2022-09-25   2022-10-02 hailand-koh-tao.html                         Can Koh Tao Mix Tourism And Nature      By Patrick Scott                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/26/opinion
2022-09-26   2022-10-02 /uber-hack-data.html                         What the Uber Hack Revealed             By Bruce Schneier               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/26/realesta 500 a Month for a Huge Loft in Brooklyn
2022-09-26   2022-10-02 te/brooklyn-loft-law-cheap.html              Theyll Stay                             By DW Gibson                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/26/t-
2022-09-26   2022-10-02 magazine/handbags-fall-fashion.html          here comes the sun                      By David Chow and Maria Santana TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/26/t-
                        magazine/haslegrave-sadigianis-home-studios-                                         By Kate Guadagnino and Yiorgos
2022-09-26   2022-10-02 oracle.html                                  Greek Life                              Kordakis                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/26/t-
                        magazine/robert-downey-jr-malibu-home-
2022-09-26   2022-10-02 binishell.html                               Off the Grid                            By Nick Haramis and Joyce Kim TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/09/26/travel/a
2022-09-26   2022-10-02 sia-frugal-traveler.html                     Travel Deals Are Making A Return        By Elaine Glusac                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/arts/suz
2022-09-27   2022-10-02 y-nakamura-avenue-5.html                     Suzy Nakamura Reveres Her Mothers Diary By Kathryn Shattuck             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/magazi Should I Let My Brother Know That He Was
2022-09-27   2022-10-02 ne/adoptions-feral-cats-ethics.html          Adopted                                 By Kwame Anthony Appiah         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/magazi
2022-09-27   2022-10-02 ne/death-party.html                          Death Parties                           By Sara Harrison                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/magazi
2022-09-27   2022-10-02 ne/spain-stolen-babies.html                  The Children Stolen of Spain            By Nicholas Casey               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/movies/
                        the-greatest-beer-run-ever-chickie-
2022-09-27   2022-10-02 donohue.html                                 Time for Another Round on Him           By Corey Kilgannon              TX 9-233-140   2022-12-01




                                                                             Page 4314 of 5793
                        https://www.nytimes.com/2022/09/27/opinion The Second Amendment Gives No Comfort to
2022-09-27   2022-10-02 /us-second-amendment.html                   Insurrectionists                          By Jamie Raskin                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/realesta
                        te/jacques-pepin-chef-cookbook-
2022-09-27   2022-10-02 connecticut.html                            At 86 a Celebrated Chef Isnt Slowing Down By Joanne Kaufman                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/style/th
2022-09-27   2022-10-02 e-try-guys.html                             Goodbye to a Try Guy                      By Madison Malone Kircher        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/t-
                        magazine/couture-sportswear-fall-                                                     By Katsu Naito and Jasmine
2022-09-27   2022-10-02 fashion.html                                In it to Win It                           Hassett                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/t-
2022-09-27   2022-10-02 magazine/funeral-urns-cremation.html        Everything MUST GO                        By Isabel Ling                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/t-
                        magazine/venice-palazzo-gradenigo-skye-                                               By Gisela Williams and Diego
2022-09-27   2022-10-02 mcalpine.html                               Past Perfect                              Mayon                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/travel/a
2022-09-27   2022-10-02 sia-new-hotels-travel.html                  10 Hotels Notable And New                 By Stephanie Rosenbloom          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/arts/mu
2022-09-28   2022-10-02 sic/ramblin-jack-elliott.html               Stories Propel A Troubadour               By Erin Osmon                    TX 9-233-140   2022-12-01
                                                                    Among Friends Diminutive Filipino coconut
                        https://www.nytimes.com/2022/09/28/magazi cakes came with finding a new place in the
2022-09-28   2022-10-02 ne/bibingka-coconut-cake-recipe.html        world                                     By Ligaya Mishan                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/magazi
2022-09-28   2022-10-02 ne/whoopi-goldberg.html                     Ms Big Mouth                              By Jazmine Hughes                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/realesta Along the Hudson River a Quiet Sense of
2022-09-28   2022-10-02 te/athens-ny-greene-county-hudson.html      Community                                 By Karen Angel                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/28/realesta The Appeal of Bayside Serenity in County
2022-09-28   2022-10-02 te/housing-market-ireland-county-cork.html Cork                                         By Marcelle Sussman Fischler   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/realesta
2022-09-28   2022-10-02 te/leaf-miners-galls-gardens.html           Reading the Tree Leaves and Their Squiggles By Margaret Roach              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/style/a-
2022-09-28   2022-10-02 vanishing-craft-reappears.html              A Fading Crafts Colorful Comeback           By Saskia Solomon              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/style/di
2022-09-28   2022-10-02 or-saint-laurent-paris-fashion-week.html    Hoop Skirts and Hoodies                     By Vanessa Friedman            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/style/di
2022-09-28   2022-10-02 vorce-agreement-mother-in-law.html          MotherinLaws Plan                           By Philip Galanes              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/t-
                        magazine/gaetano-pesce-tramonto-new-york-
2022-09-28   2022-10-02 screen.html                                 another Thing                               By Nancy Hass                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/t-
2022-09-28   2022-10-02 magazine/sally-breer-los-angeles-home.html Inside the Lab                               By Kurt Soller and Joyce Kim   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/technol
2022-09-28   2022-10-02 ogy/driverless-cars-san-francisco.html      My Ride in Our Driverless Future            By Cade Metz and Jason Henry   TX 9-233-140   2022-12-01




                                                                               Page 4315 of 5793
                        https://www.nytimes.com/2022/09/28/theater/
                        wendell-pierce-death-of-a-salesman-
2022-09-28   2022-10-02 broadway.html                               Everyman to an Ideal Salesman            By Alexis Soloski                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/travel/a
2022-09-28   2022-10-02 sia-language-apps-papago.html               Navigating a Language With Apps          By Naaman Zhou                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/arts/dan Groundbreaker Of Choreography Makes Last
2022-09-29   2022-10-02 ce/yvonne-rainer-last-dance.html            Dance                                    By Gia Kourlas                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/arts/mu
                        sic/david-geffen-hall-reopening-lincoln-    An Overture To a New Era And a Wider
2022-09-29   2022-10-02 center.html                                 Audience                                 By Michael Kimmelman                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/arts/mu
2022-09-29   2022-10-02 sic/deborah-borda-geffen-hall.html          Theres No More Unfinished Business       By Javier C Hernndez                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/arts/mu
                        sic/etienne-charles-san-juan-hill-geffen-
2022-09-29   2022-10-02 hall.html                                   Conjuring a Razed Neighborhood           By Seth Colter Walls                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/arts/mu
2022-09-29   2022-10-02 sic/geffen-hall-philharmonic-timeline.html  Winding Journey To a Worthy Home         By Robin Pogrebin                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/books/r
2022-09-29   2022-10-02 eview/romance-novel-readers.html            Feeling the Heat                         By Olivia Waite                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/busines                                           By Julia Rothman and Shaina
2022-09-29   2022-10-02 s/hand-painted-billboards-digital-ads.html  The Rise of the HandPainted Billboard    Feinberg                              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/busines How McKinsey Got Into the Business of     By Walt Bogdanich and Michael
2022-09-29   2022-10-02 s/mckinsey-tobacco-juul-opioids.html        Addiction                                Forsythe                              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/magazi
2022-09-29   2022-10-02 ne/cancer-nerve-damage-face.html            Her Face Started Drooping What Was Wrong By Lisa Sanders MD                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/magazi
                        ne/judge-john-hodgman-on-taxidermied-
2022-09-29   2022-10-02 pets.html                                   Bonus Advice From Judge John Hodgman     By John Hodgman                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/magazi
2022-09-29   2022-10-02 ne/rural-homeless-students.html             Lost in Ohio                             By Samantha M Shapiro                 TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/29/needies For Ukrainians Who Fled Aid Helps Rebuild
2022-09-29   2022-10-02 t-cases/refugees-ukraine-war-new-york.html Shattered Lives                               By Amelia Nierenberg              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/nyregio
2022-09-29   2022-10-02 n/wall-of-death-carnival-motordrome.html    The Wall of Death as a Way of Life           By Allie Conti and Desiree Rios   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/opinion
2022-09-29   2022-10-02 /dating-courtship-relationships.html        Should We Bring Back Courtship               By Michal Leibowitz               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/opinion One of the Hottest Trends in the World of
2022-09-29   2022-10-02 /esg-investing-responsibility.html          Investing Is a Sham                          By Hans Taparia                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/opinion The Most Important Question About
2022-09-29   2022-10-02 /opiate-fentanyl-epidemic.html              Addiction                                    By Maia Szalavitz                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/opinion
2022-09-29   2022-10-02 /poverty-hunger-bingeing.html               I Escaped Poverty but Hunger Still Haunts Me By Bertrand Cooper                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/realesta
2022-09-29   2022-10-02 te/home-value-price-increases.html          How a House Earns 266 a Day                  By Michael Kolomatsky             TX 9-233-140   2022-12-01



                                                                                 Page 4316 of 5793
                        https://www.nytimes.com/2022/09/29/sports/f Its Time to Climb Aboard the Jacksonville
2022-09-29   2022-10-02 ootball/nfl-week-4-picks.html                Bandwagon                                   By David Hill                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/style/ba
                        lmain-cher-dries-van-noten-paris-fashion-
2022-09-29   2022-10-02 week.html                                    Wrinkles Wrinkles Everywhere                By Vanessa Friedman             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/style/mi
2022-09-29   2022-10-02 dori-francis-greys-anatomy.html              In the New Greys Anatomy Class              By Rachel Simon                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/style/qu Couples Pick Rings That Honor Their
2022-09-29   2022-10-02 eer-gay-engagement-rings.html                Identities                                  By Abigail Covington            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/t-
2022-09-29   2022-10-02 magazine/bottega-veneta-knot-clutch.html     First of its Kind Last of its Kind          By Lindsay Talbot               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/t-
2022-09-29   2022-10-02 magazine/guido-toschi-turin-design.html      Fun Home                                    By Nancy Hass and Simon Watson TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/29/t-
                        magazine/kashmir-foraging-prateek-
2022-09-29   2022-10-02 sadhu.html                                   Of the Earth                                By Ligaya Mishan and Anu Kumar TX 9-233-140    2022-12-01
                        https://www.nytimes.com/interactive/2022/09/
                        29/realestate/westchester-housing-bidding-   Buying a Westchester House for the Dogs but
2022-09-29   2022-10-02 war.html                                     Could They Survive a Bidding War            By Michael Kaminer              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/09/                                             By Poras Chaudhary Andrew Faulk
                        29/travel/popular-traditional-food-dishes-                                               Lauryn Ishak Chang W Lee and
2022-09-29   2022-10-02 asia.html                                    5 Tastes of Asia                            David Terrazas                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/arts/des
                        ign/marilyn-nance-festac-last-day-in-
2022-09-30   2022-10-02 lagos.html                                    A Time of Possibility and Promise          By Siddhartha Mitter            TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/30/arts/tele
2022-09-30   2022-10-02 vision/interview-with-the-vampire-amc.html Old Monsters New Blood                     By Erik Piepenburg                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/30/books/r
2022-09-30   2022-10-02 eview/nights-of-plague-orhan-pamuk.html      A Pox on Their Houses                    By David Gates                    TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/09/30/books/r
2022-09-30   2022-10-02 eview/scary-childrens-novels-halloween.html A Trio of Ghoulish Treats                 By Christian McKay Heidicker      TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/30/busines Bonds May Be Having Their Worst Year
2022-09-30   2022-10-02 s/bonds-market.html                         Since 1794                                By Jeff Sommer                    TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/30/busines
                        s/health-insurance-obamacare-young-
2022-09-30   2022-10-02 adults.html                                 Young Adults Navigate Health Insurance    By Isabella Simonetti             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/30/busines Maurice Kanbar 93 Who Spun Fuzz and
2022-09-30   2022-10-02 s/maurice-kanbar-dead.html                  Vodka Into Gold                           By Penelope Green                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/30/busines
2022-09-30   2022-10-02 s/roxane-gay-remote-work.html               Work From Home Isnt for Everyone          By Roxane Gay                     TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/30/magazi                                             By Aracelis Girmay and Victoria
2022-09-30   2022-10-02 ne/poem-moon-for-aisha.html                 Poem Moon for Aisha                       Chang                             TX 9-233-140    2022-12-01




                                                                               Page 4317 of 5793
                        https://www.nytimes.com/2022/09/30/nyregio Political Tempests Toss Migrants Into a
2022-09-30   2022-10-02 n/new-yorks-migrant-crisis.html              Traumatic Limbo                           By Ginia Bellafante               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/opinion
2022-09-30   2022-10-02 /remote-work-housing-prices-covid.html       Of Viruses Houses and Zoom Calls          By Paul Krugman                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/opinion For Too Long Biden Has Kept Silent About
2022-09-30   2022-10-02 /supreme-court-biden.html                    the Supreme Court                         By Jeff Shesol                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/realesta
                        te/grandparents-grandchildren-living-
2022-09-30   2022-10-02 together.html                                Generations Shrink a Gap As Roommates     By Joanne Kaufman                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/realesta Mansion With Herms Leather Walls Sells for
2022-09-30   2022-10-02 te/tribeca-loft-sale.html                    48 Million on Upper East Side             By Vivian Marino                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/style/br
2022-09-30   2022-10-02 ian-guyer-tisza-bell-wedding.html            She Thought He Was Too Good to Be True By Nina Reyes                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/style/ka
                        rl-lagerfeld-metropolitan-museum-of-art-
2022-09-30   2022-10-02 costume-institute.html                       Please Dont Call It a Retrospective       By Vanessa Friedman               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/style/m At a California Restaurant Ingredients for
2022-09-30   2022-10-02 arley-brown-akeel-shah-wedding.html          Romance                                   By Alix Wall                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/style/m
                        odern-love-this-is-not-about-sexy-secretary-
2022-09-30   2022-10-02 role-play.html                               Forget the Book on Impractical Boundaries By Sophia Ortega                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/30/style/ra When Her Bike Vanished Their Relationship
2022-09-30   2022-10-02 chel-koppelman-gregory-saxton-wedding.html Took Off                                     By Linda Marx                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/style/sh For Wheel of Fortune Champion the Right
2022-09-30   2022-10-02 awn-jones-zainep-mahmoud-wedding.html       Answer                                      By Callie Holtermann             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/t-
2022-09-30   2022-10-02 magazine/cultural-appropriation.html        The Borrowers                               By Ligaya Mishan                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/t-
                        magazine/italian-design-interiors-
2022-09-30   2022-10-02 architecture.html                           Works in Progress                           By Hanya Yanagihara              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/t-
2022-09-30   2022-10-02 magazine/mary-mattingly-art-climate.html    The Optimist                                By Zo Lescaze                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/sports/b Hector Lopez 93 Dies Manager Who Broke
2022-10-01   2022-10-02 aseball/hector-lopez-dead.html              Baseball Color Barrier                      By Bruce Weber                   TX 9-233-140   2022-12-01
                                                                                                                By Frances Robles Mike Baker
                        https://www.nytimes.com/2022/09/30/us/hurri As Ian Intensified One Florida County       Serge F Kovaleski and Lazaro
2022-10-01   2022-10-02 cane-ian-lee-county-fort-myers-delay.html   Delayed Evacuation Plan                     Gamio                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/health/f In Fight Against Drug Deaths Fentanyl Test
2022-10-01   2022-10-02 antanyl-test-strips.html                    Strips Prove Divisive                      By Jan Hoffman and Desiree Rios   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/nyregio
2022-10-01   2022-10-02 n/murad-awawdeh-immigration.html            A Family Man With Open Arms for Others By Alix Strauss                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/nyregio Where Everybody Knows Your Name and the
2022-10-01   2022-10-02 n/nyc-trivia-league-kings-cup.html          First Pharaohs                             By Brittany Loggins               TX 9-233-140   2022-12-01




                                                                               Page 4318 of 5793
                        https://www.nytimes.com/2022/10/01/nyregio
                        n/the-great-guinea-pig-giveaway-has-        Pandemic Pets Are Surrendered in Droves as
2022-10-01   2022-10-02 begun.html                                  the World Reopens                             By Sarah Maslin Nir              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/opinion
2022-10-01   2022-10-02 /inflation-consumption-tax-rich.html        A Tax to Help With Inflation                  By Ezra Klein                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/opinion
2022-10-01   2022-10-02 /putin-russia-ukraine-nuclear.html          Vladimir Putins Medea                         By Maureen Dowd                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/opinion Theres Still One Big Trick for Getting Into an
2022-10-01   2022-10-02 /school-private-college.html                Elite College                                 By Sophie Callcott               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/opinion
2022-10-01   2022-10-02 /supreme-court-legitimacy.html              The Supreme Court Has a Crisis of Trust       By The Editorial Board           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/opinion
2022-10-01   2022-10-02 /uk-liz-truss-conservatism-europe.html      Will Nostalgia Kill the British Right         By Ross Douthat                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/realesta We Own Our Sons Coop Apartment Can He
2022-10-01   2022-10-02 te/co-op-heirs-trust.html                   Remain There After We Die                     By Ronda Kaysen                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/sports/b
2022-10-01   2022-10-02 aseball/aaron-judge-yankees-orioles.html    Judge Stuck on 61 but Yanks Win Anyway        By Jesus Jimnez                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/sports/f                                               By Ken Belson Jenny Vrentas and
2022-10-01   2022-10-02 ootball/tua-tagovailoa-doctor-fired.html    Doctor Who Assessed Tagovailoa Is Fired       Emmanuel Morgan                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/sports/ Taking Stock of Farah as the Finish Line
2022-10-01   2022-10-02 mo-farah-london-marathon.html               Nears                                         By Jer Longman                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/sports/s
                        occer/erling-haaland-manchester-city-       Managers Try to Figure Out Ways to Stop the
2022-10-01   2022-10-02 united.html                                 Irresistible Force                            By Rory Smith                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/style/pa                                               By Simbarashe Cha and Sophie
2022-10-01   2022-10-02 ris-fashion-week-photos.html                Dressing the Part                             Butcher                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/style/wi
                        ll-you-give-matthew-m-williams-a-
2022-10-01   2022-10-02 chance.html                                 There Should Be a Lot More Buzz by Now        By Jessica Testa                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/us/flori Florida Residents Without Clean Water in      By Campbell Robertson and
2022-10-01   2022-10-02 da-water-hurricane-ian.html                 HurricaneRavaged Counties                     Richard Fausset                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/us/polit
                        ics/trump-white-house-records-national-     Some Trump White House Records Still
2022-10-01   2022-10-02 archives.html                               Missing National Archives Says                By Luke Broadwater               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/us/polit For GOP Uphill Race in Michigan Tests
2022-10-01   2022-10-02 ics/tudor-dixon-trump-michigan.html         Wisdom of Embracing Trump                     By Jazmine Ulloa                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/us/polit Lawmakers Fearing the Worst As                By Stephanie Lai Luke Broadwater
2022-10-01   2022-10-02 ics/violent-threats-lawmakers.html          Intimidation Tactics Grow                     and Carl Hulse                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/us/vene                                                By Michael D Shear and Farnaz
2022-10-01   2022-10-02 zuela-iran-prisoner-swap.html               Venezuela Sets US Prisoners Free in Swap      Fassihi                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/world/a
2022-10-01   2022-10-02 frica/burkina-faso-coup-uncertainty.html    In Burkina Faso a Coup Within a Coup          By Elian Peltier                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/world/a
2022-10-01   2022-10-02 frica/uganda-ebola-outbreak.html            Uganda Races to Stem Deadly Wave of Ebola By Abdi Latif Dahir                  TX 9-233-140   2022-12-01




                                                                                Page 4319 of 5793
                        https://www.nytimes.com/2022/10/01/world/a Election Offers Brazils Voters a Momentous
2022-10-01   2022-10-02 mericas/bolsanoro-lula-brazil-election.html Choice Between Opposites                  By Jack Nicas                  TX 9-233-140           2022-12-01
                        https://www.nytimes.com/2022/10/01/world/a Checkpoints and Bar Codes Living With Zero
2022-10-01   2022-10-02 sia/china-covid-zero.html                   Covid Rules                               By Vivian Wang                 TX 9-233-140           2022-12-01
                        https://www.nytimes.com/2022/10/01/world/a Floods Aggravate the Plight of Pakistans   By Christina Goldbaum Zia
2022-10-01   2022-10-02 sia/pakistan-flood-farmers.html             Farmworkers                               urRehman and Kiana Hayeri      TX 9-233-140           2022-12-01
                        https://www.nytimes.com/2022/10/01/world/e A Pipeline Attack Fans Anxiety in a German
2022-10-01   2022-10-02 urope/germany-pipeline-damage-fear.html     Village                                   By Katrin Bennhold             TX 9-233-140           2022-12-01
                                                                                                              By Thomas GibbonsNeff Andrew E
                        https://www.nytimes.com/2022/10/01/world/e Russian Troops Retreat From Crucial Rail   Kramer Anton Troianovski and
2022-10-01   2022-10-02 urope/lyman-ukraine-russia.html             Hub As Ukrainians Push On                 Catherine Porter               TX 9-233-140           2022-12-01

                        https://www.nytimes.com/2022/10/01/world/e                                                 By David E Sanger Anton
2022-10-01   2022-10-02 urope/washington-putin-nuclear-threats.html Nuclear Talk Revives Tone of Cold War          Troianovski and Julian E Barnes   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/live/2022/10/02/wo
                        rld/indonesia-soccer-football-
                        stadium/indonesia-soccer-football-dead-arema                                               By SuiLee Wee and Muktita
2022-10-01   2022-10-02 persebaya-surabaya                           Over 120 Killed in Soccer Riot in Indonesia   Suhartono                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/busines
                        s/the-week-in-business-markets-britain-      The Week in Business Market Chaos in
2022-10-02   2022-10-02 pound.html                                   Britain                                       By Marie Solis                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/insider/
                        preparing-to-cover-a-wildfire-before-it-
2022-10-02   2022-10-02 starts.html                                  To Cover Fire Prepare Before It Starts        By Emmett Lindner                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/style/fal Opening Night Gets a New Set Of Dress
2022-10-02   2022-10-02 l-fashion-met-opera-nyc-ballet.html          Codes                                         By Denny Lee                      TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/02/us/polit Walker Hasnt Closed Racial Rift in
2022-10-02   2022-10-02 ics/herschel-walker-georgia-senate-race.html Hometown                                      By John Branch                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/world/ Lament in a Restive Iran We Are Breaking
2022-10-02   2022-10-02 middleeast/iran-protests-economy.html        Under Financial Pressure                      By Vivian Yee and Farnaz Fassihi TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/23/arts/mu
2022-09-23   2022-10-03 sic/abel-selaocoe.html                       Home Is Where the Improvisation Is            By Hugh Morris                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/23/travel/v Taking to the Hills Within Vienna to
2022-09-23   2022-10-03 ienna-wine-heuriger.html                     Celebrate Wine                                By Valeriya Safronova             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/technol
2022-09-27   2022-10-03 ogy/dating-apps-china.html                   Whats Love Got to Do With It                  By Chang Che and Zixu Wang        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/us/davi David Foreman Environmentalist With
2022-09-28   2022-10-03 d-foreman-dead.html                          Extreme Tactics Dies at 75                    By Clay Risen                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/obituari
2022-09-29   2022-10-03 es/maria-orosa-overlooked.html               Maria Orosa                                   By Seth Mydans                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/arts/dan
2022-09-30   2022-10-03 ce/review-sean-curran-darrah-carr.html       That Old Hard Shoe and a Reunion              By Brian Seibert                  TX 9-233-140   2022-12-01




                                                                                  Page 4320 of 5793
                        https://www.nytimes.com/2022/09/30/arts/mu In This Composers Work Many Strings Are
2022-09-30   2022-10-03 sic/liza-lim-composer-portrait-review.html  Attached                                     Seth Colter Walls        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/arts/mu
2022-09-30   2022-10-03 sic/trombone-champ.html                     The Trombone Stars In a New Video Game       By Alex Marshall         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/busines Schools Told Ignore Debt In Releasing
2022-09-30   2022-10-03 s/college-transcripts-student-loans.html    Transcripts                                  By Meredith Kolodner     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/health/a Dr Audrey Evans Cancer Specialist Who
2022-09-30   2022-10-03 udrey-evans-dead.html                       Aided Families Is Dead at 97                 By Neil Genzlinger       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/opinion
                        /international-world/china-human-rights-    Chinas Crimes in Xinjiang Cannot Go
2022-09-30   2022-10-03 xinjiang-un.html                            Unpunished                                   By Nicholas Bequelin     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/world/a
2022-09-30   2022-10-03 sia/afghanistan-kabul-taliban-women.html    A Year Under the Taliban                     By Kiana Hayeri          TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/01/busines
2022-10-01   2022-10-03 s/dealbook/supreme-court-business-cases.html The Supreme Courts Business Docket          By Adam Liptak           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/busines
2022-10-01   2022-10-03 s/instagram-suicide-ruling-britain.html      UK Ruling Blames Social Media For Suicide   By Adam Satariano        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/arts/mu Eight Ways of Looking at a Singular
2022-10-02   2022-10-03 sic/lukas-foss-carnegie-hall.html            Composer                                    By Zachary Woolfe        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/books/b
2022-10-02   2022-10-03 ully-market-jamie-fiore-higgins.html         Repelled by Wall Street Seduced by It Too   By Alexandra Jacobs      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/busines
2022-10-02   2022-10-03 s/media/dateline-podcast-true-crime.html     TV Show Finds a Hit In Podcasts             By John Koblin           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/busines OPEC Plus Is Considering Significant
2022-10-02   2022-10-03 s/opec-plus-production-cut.html              Production Cut To Help Prop Up Oil Prices   By Stanley Reed          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/busines Tesla Sold Record 343000 Cars in 3rd
2022-10-02   2022-10-03 s/tesla-sales.html                           Quarter                                     By Neal E Boudette       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/crossw
2022-10-02   2022-10-03 ords/daily-puzzle-2022-10-03.html            Something to Love in the Crossword          By Rachel Fabi           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/opinion
2022-10-02   2022-10-03 /ginni-clarence-thomas.html                  America Has a Ginni Thomas Problem          By Charles M Blow        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/opinion
2022-10-02   2022-10-03 /moscow-rabbi-yom-kippur.html                My First Yom Kippur in Exile                By Pinchas Goldschmidt   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/sports/b
2022-10-02   2022-10-03 aseball/mets-braves-nl-east.html             Beating the Best the Mets Have to Offer     By James Wagner          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/sports/e Elias Theodorou 34 a Pioneer Of Medical
2022-10-02   2022-10-03 lias-theodorou-dead.html                     Marijuana in Sports                         By Clay Risen            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/sports/e For WorldRecord Efforts Kipchoge Had the
2022-10-02   2022-10-03 liud-kipchoge-bottle-claus.html              Gift of Bottle Claus                        By Austin Meyer          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/sports/f As Rain Pours the Eagles Pound and Swarm
2022-10-02   2022-10-03 ootball/eagles-jaguars-score.html            to Stay Unbeaten                            By Kris Rhim             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/sports/f
2022-10-02   2022-10-03 ootball/nfl-week-4-takeaways.html            What We Learned This Week                   By Derrik Klassen        TX 9-233-140   2022-12-01




                                                                                Page 4321 of 5793
                        https://www.nytimes.com/2022/10/02/sports/s When the Police Provoke a Crowd Then
2022-10-02   2022-10-03 occer/indonesia-soccer-fan-deaths-police.html Point Fingers                                By Rory Smith                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/us/cons
2022-10-02   2022-10-03 ervative-supreme-court-legitimacy.html        Race Has Role In Major Cases Before Justices By Adam Liptak                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/us/covi AntiVaccine Parents Snubbed Where They
2022-10-02   2022-10-03 d-vaccine-marin-california.html               Were Once Welcomed                           By Soumya Karlamangla             TX 9-233-140   2022-12-01
                                                                                                                   By Edgar Sandoval Miriam Jordan
                        https://www.nytimes.com/2022/10/02/us/migr Retracing Path DeSantis Took To Fly             Patricia Mazzei and J David
2022-10-02   2022-10-03 ants-marthas-vineyard-desantis-texas.html     Migrants                                     Goodman                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/us/sani Helping the Stranded Escape a CutOff Island By Patricia Mazzei and Johnny
2022-10-02   2022-10-03 bel-island-search-hurricane-ian.html          if They Want to Go                           Milano                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/us/siste As Florida Water Rose a Fight To Save Two
2022-10-02   2022-10-03 r-ian-rescue-brothers.html                    Disabled Brothers                            By Corina Knoll                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/world/a
2022-10-02   2022-10-03 frica/burkina-faso-coup-france-russia.html    Burkina Faso Leader Resigns After Coup       By Elian Peltier                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/02/world/a Fatal Stampede for Exits As Police Fired Tear By Muktita Suhartono SuiLee Wee
2022-10-02   2022-10-03 sia/indonesia-soccer-stadium-stampede.html Gas                                           and Dera Menra Sijabat          TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/02/world/a Chinese MeToo Case That Captivated a
2022-10-02   2022-10-03 sia/richard-liu-liu-jingyao-settlement.html Nation Is Settled in a US Court              By Amy Qin and Chang Che        TX 9-233-140       2022-12-01

                        https://www.nytimes.com/2022/10/02/world/c In Quebec the Independence Movement Gives
2022-10-02   2022-10-03 anada/quebec-election-francois-legault.html Way to a New Nationalism                     By Norimitsu Onishi                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/world/e Ugly Clashes in an English City Rooted in the
2022-10-02   2022-10-03 urope/leicester-violence-uk.html            Toxic Politics Roiling India                 By Megan Specia                     TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/02/world/e British Finance Minister Wary of
2022-10-02   2022-10-03 urope/uk-kwasi-kwarteng-truss-economy.html Establishment Follows Libertarian Path        By Stephen Castle                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/02/theater/
2022-10-03   2022-10-03 baldwin-buckley-at-cambridge-review.html Arguments That Remain Germane                   By Alexis Soloski                 TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/02/theater/
2022-10-03   2022-10-03 leopoldstadt-review.html                     Uprooting a Family Tree                     By Jesse Green                    TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/03/arts/tele
                        vision/whats-on-tv-this-week-greys-anatomy-
2022-10-03   2022-10-03 the-real-love-boat.html                      This Week on TV                             By Shivani Gonzalez               TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/03/busines
                        s/these-job-training-programs-work-and-may- Seeing Promise and a Model to Copy in
2022-10-03   2022-10-03 show-others-the-way.html                     JobTraining Programs                        By Steve Lohr                     TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/03/sports/b
2022-10-03   2022-10-03 asketball/nba-retirement.html                This Is What Life After the NBA Looks Like By Scott Cacciola                  TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/03/us/polit                                              By Steve Eder David D Kirkpatrick
2022-10-03   2022-10-03 ics/republican-election-objectors.html       They Cemented the Myth Of a Stolen Election and Mike McIntire                 TX 9-233-140     2022-12-01




                                                                                 Page 4322 of 5793
                        https://www.nytimes.com/2022/10/03/world/a
                        mericas/brazil-elections-runoff-bolsonaro-   Brazils Election Pushes Political Titans to
2022-10-03   2022-10-03 lula.html                                    Runoff                                         By Jack Nicas                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/world/e                                                  By Andrew E Kramer and Nicole
2022-10-03   2022-10-03 urope/russia-lyman-ukraine.html              I Was Russian Putins Decree Does Not Stick Tung                                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/20/well/m
2022-09-20   2022-10-04 ove/fast-walking-exercise-intensity.html     Hasten Your Walk for Better Health             By Rachel Fairbank                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/21/well/liv Devise a Defense Against Legionnaires
2022-09-21   2022-10-04 e/legionnaires-disease.html                  Disease                                        By Knvul Sheikh                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/26/well/eat
2022-09-26   2022-10-04 /uti-treatment-supplements.html              Pills and Powders Aim To Ward Off UTIs         By Dani Blum                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/science Attacking an Asteroid Not on Track to Kill Us
2022-09-27   2022-10-04 /nasa-dart-asteroid-photos.html              All                                            By Kenneth Chang                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/well/eat
2022-09-27   2022-10-04 /matcha-health-benefits.html                 Is Matcha Good for You                         By Annie Sneed                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/well/fa
                        mily/gottman-the-love-prescription-
2022-09-27   2022-10-04 marriage.html                                Seven Days to a Better Marriage                By Catherine Pearson              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/health/c
2022-09-29   2022-10-04 ancer-hiding-cells.html                      Detection Trick Lets Cancers Hide              By Gina Kolata                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/science
                        /cancer-tumors-fungi-bacteria-               Tumors Host a Community of Bacteria and
2022-09-29   2022-10-04 microbiome.html                              Fungi                                          By Carl Zimmer                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/arts/mu Joe Bussard Whose Rare Records Revolved
2022-09-30   2022-10-04 sic/joe-bussard-dead.html                    Around His Life Dies at 86                     By Richard Sandomir               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/arts/mu
2022-09-30   2022-10-04 sic/teodor-currentzis-swr-orchestra.html     Maestro With Russian Ties to Depart Post       By Javier C Hernndez              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/arts/tele
2022-09-30   2022-10-04 vision/this-england-coronavirus.html         Depicting Covid19s Early Days In Britain       By Mark Landler                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/health/s
2022-09-30   2022-10-04 uicide-predict-smartphone.html               Using Technology To Predict Suicide            By Ellen Barry                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/movies/
2022-09-30   2022-10-04 billy-eichner-bros.html                      Escaping The Gay Cartoon                       By Kyle Buchanan                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/opinion                                                  By Mahsa Alimardani Kendra
2022-09-30   2022-10-04 /tech-companies-iran.html                    Big Tech Needs to Support the Iranian People Albert and Afsaneh Rigot            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/science
2022-09-30   2022-10-04 /europa-nasa-juno-photos.html                Images of a Moon of Jupiter Delight Scientists By Kenneth Chang                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/science
2022-09-30   2022-10-04 /nick-holonyak-jr-dead.html                  Nick Holonyak Jr 93 Led Way to LEDs            By Sam Roberts                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/upshot/ Spending on Children Surged During the
2022-10-01   2022-10-04 children-pandemic-spending.html              Pandemic It Didnt Last                         By Claire Cain Miller             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/world/e                                                  By Ksenia Ivanova and Catherine
2022-10-01   2022-10-04 urope/escape-from-russia.html                Grim Stories Of Flight From Russia             Porter                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/technol As Instagram Embraces Video Artists Take
2022-10-02   2022-10-04 ogy/instagram-artists-video.html             Their Shots Elsewhere                          By Kalley Huang                   TX 9-233-140   2022-12-01



                                                                                  Page 4323 of 5793
                        https://www.nytimes.com/2022/10/03/arts/des Victoria and Albert Museum Reverses Course
2022-10-03   2022-10-04 ign/victoria-and-albert-museum-sacklers.html and Removes Sackler Name                  By Alex Marshall                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/arts/mu Festival O Reflects The Art Innovations Of
2022-10-03   2022-10-04 sic/opera-o-festival-philadelphia.html       the Pandemic                              By Zachary Woolfe               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/arts/mu
2022-10-03   2022-10-04 sic/wilco-yankee-hotel-foxtrot.html          The Implosive Creation of a Masterpiece   By Lindsay Zoladz               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/arts/tele
2022-10-03   2022-10-04 vision/cop-shows-after-george-floyd.html     Cop Shows Adjust To a New Climate         By Marc Tracy                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/arts/tele A Brief History Of How Television Depicts
2022-10-03   2022-10-04 vision/cops-tv-show-history.html             the Police                                By Marc Tracy                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/03/books/r
2022-10-03   2022-10-04 eview/charles-leerhsen-anthony-bourdain.html Light on Subtlety Heavy on Grit                 By Dwight Garner          TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/03/briefing
2022-10-03   2022-10-04 /donald-trump-maggie-haberman-book.html How Haberman Interviews Trump                        By David Leonhardt        TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/03/busines Regulators Are Warning of Cryptos Potential
2022-10-03   2022-10-04 s/cryptocurrency-regulation-stablecoin.html Risks                                      By Ephrat Livni                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/busines As Job Frenzy Begins to Cool Wages Do       By Sydney Ember and Ben
2022-10-03   2022-10-04 s/economy/job-market-recession.html         Too                                        Casselman                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/busines
2022-10-03   2022-10-04 s/general-motors-auto-sales.html            Auto Sales Signal Vigor In Demand          By Neal E Boudette              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/busines Kardashian Pays 126 Million To Settle
2022-10-03   2022-10-04 s/kim-kardashian-sec-crypto.html            Charges by the SEC                         By Matthew Goldstein            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/busines
                        s/media/will-smith-emancipation-release-    Apple Goes Ahead With Release of Smith
2022-10-03   2022-10-04 date.html                                   Movie Emancipation Despite Infamous Slap By Nicole Sperling                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/busines US Is Said To Eye Curbs On Tech Sent To     By Paul Mozur Ana Swanson and
2022-10-03   2022-10-04 s/us-limits-chinas-supercomputing.html      Chinese                                    Edward Wong                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/busines
2022-10-03   2022-10-04 s/zelle-fraud-warren.html                   Few Given Refunds Over Fraud Tied to Zelle By Stacy Cowley                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/climate
2022-10-03   2022-10-04 /hurricane-ian-rebuilding.html              Safeguarding Communities Under Threat      By Elena Shao                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/03/health/ Pioneer in Ancient DNA Studies Sequenced
2022-10-03   2022-10-04 nobel-prize-medicine-physiology-winner.html Neanderthal Genome                               By Benjamin Mueller       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/movies/ Sacheen Littlefeather 75 Activist Who
2022-10-03   2022-10-04 sacheen-littlefeather-dead.html             Rejected Brandos Oscar Dies                      By Eduardo Medina         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/nyregio Low Vaccination Rates in Parts of State
2022-10-03   2022-10-04 n/polio-new-york-eradication.html           Hamper Effort to Contain Polio                   By Sharon Otterman        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/nyregio
                        n/rex-tillerson-testify-foreign-influence-
2022-10-03   2022-10-04 trial.html                                  Tillerson Testifies in Foreign Influence Trial   By Rebecca Davis OBrien   TX 9-233-140   2022-12-01



                                                                                   Page 4324 of 5793
                        https://www.nytimes.com/2022/10/03/opinion Boys and Men Are in Crisis Because Society
2022-10-03   2022-10-04 /boys-men-crisis.html                          Is                                         By Michelle Goldberg              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/opinion Will Anything Make the Former Guy Go
2022-10-03   2022-10-04 /trump-biden-desantis-pardon.html              Away                                       By Gail Collins and Bret Stephens TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/opinion
2022-10-03   2022-10-04 /truss-britain-bonds-taxes.html                Learning From the British Bond Debacle     By Paul Krugman                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/sports/b NL East Is All but Decided After Atlanta
2022-10-03   2022-10-04 aseball/braves-sweep-mets-nl-east.html         Sweeps Mets                                By James Wagner                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/sports/f
                        ootball/bucs-kansas-city-score-week-4-         For Bucs a Rematch Defeat Caps a Week of
2022-10-03   2022-10-04 nfl.html                                       Worry and Raises Concern                   By Emmanuel Morgan                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/sports/f Harbaugh Is Called Out for Passing Up a
2022-10-03   2022-10-04 ootball/john-harbaugh-ravens-bills.html        Field Goal                                 By Victor Mather                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/sports/ James Is Involved With What A Look at a
2022-10-03   2022-10-04 major-league-pickleball.html                   New Professional Team Sport                By Victor Mather                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/sports/s Report Details Systemic Abuse Against
2022-10-03   2022-10-04 occer/us-soccer-abuse-nwsl.html                Womens Soccer Players                      By Kevin Draper                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/technol
                        ogy/konnech-election-conspiracy-               How Conspiracy Mongers Targeted Election
2022-10-03   2022-10-04 theories.html                                  Tech Firm                                  By Stuart A Thompson              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/technol
                        ogy/uber-sexual-assault-reporting-santa-clara-
2022-10-03   2022-10-04 county.html                                     Uber Policy Challenged On Assaults        By Cade Metz                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/theater/
2022-10-03   2022-10-04 mud-drowning-review.html                       Trying to Accentuate A Writers Weird World By Maya Phillips                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/us/hurri Unblinking Witnesses That Stood Fast in       By Rebecca Halleck and Audra D S
2022-10-03   2022-10-04 cane-ian-ring-doorbell-camera.html             Wind and Rain                              Burch                             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/us/hurri Knocking on Every Door Rescue Teams Go By Patricia Mazzei and Jason
2022-10-03   2022-10-04 cane-ian-search-fort-myers-beach.html          on Hunt for the Missing                    Andrew                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/us/nyu- NYU Students Were Failing Class The
2022-10-03   2022-10-04 organic-chemistry-petition.html                Professor Lost His Job                     By Stephanie Saul                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/us/polit Biden in Puerto Rico Pledges Every Bit of
2022-10-03   2022-10-04 ics/biden-puerto-rico-hurricane-fiona.html     Help for StormBattered Island              By Katie Rogers                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/us/polit US Deniers Of Election Hint at Fraud In       By Alexandra Berzon and Ken
2022-10-03   2022-10-04 ics/election-deniers-brazil-midterms.html      Brazil Vote                                Bensinger                         TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/03/us/polit Facing Uphill Struggle Democrats Place a
2022-10-03   2022-10-04 ics/house-democrats-abortion-midterms.html Bet On the Abortion Issue                      By Catie Edmondson                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/us/polit Prosecutors Say Oath Keepers Had Plan for
2022-10-03   2022-10-04 ics/jan-6-oath-keepers-trial.html           Armed Rebellion on Jan 6                      By Alan Feuer                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/us/polit
                        ics/nevada-elections-democrats-             Nevada Reflects Democrats Hurdles Across      By Jennifer Medina and Jonathan
2022-10-03   2022-10-04 republicans.html                            US                                            Weisman                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/us/polit                                               By David E Sanger and William J
2022-10-03   2022-10-04 ics/russia-tactical-nuclear-weapons.html    Risks for Putin As He Rattles Nuclear Saber   Broad                             TX 9-233-140   2022-12-01



                                                                                 Page 4325 of 5793
                        https://www.nytimes.com/2022/10/03/us/polit Top Republican on Intelligence Panel Vows
2022-10-03   2022-10-04 ics/turner-house-intelligence-committee.html to Keep Politics Off the Agenda            By Julian E Barnes               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/us/supr Justices Hear Case on Power of EPA Over
2022-10-03   2022-10-04 eme-court-epa-sackett-wetlands.html          Wetlands                                   By Adam Liptak                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/us/supr Court Takes Up Challenge To a Shield for     By Adam Liptak and David
2022-10-03   2022-10-04 eme-court-social-media-section-230.html      Social Media                               McCabe                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/world/a WhiteKnuckle Race For President of Brazil    By Jack Nicas Flvia Milhorance
2022-10-03   2022-10-04 mericas/brazil-bolsonaro-lula-runoff.html    Goes Back to the Voters                    and Andr Spigariol               TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/03/world/a Stampede in Indonesia Puts Spotlight on
2022-10-03   2022-10-04 sia/indonesia-soccer-stadium-stampede.html Police Tactics and Impunity                 By SuiLee Wee                    TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/03/world/a Japanese Told to Take Shelter As North      By Motoko Rich and Choe
2022-10-03   2022-10-04 sia/japan-north-korea-missile.html          Korea Fires Missile                        SangHun                          TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/03/world/e
2022-10-03   2022-10-04 urope/french-justice-minister-trial.html    In France Minister Of Justice Faces Trial  By Constant Mheut                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/03/world/e Russia Retreats As Troops Show Signs of     By Andrew E Kramer Carlotta Gall
2022-10-03   2022-10-04 urope/russia-disarray-ukraine.html          Turmoil                                    and Anton Troianovski            TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/03/world/e Truss in Reversal Drops Plan to Cut UK Tax By Mark Landler and Stephen
2022-10-03   2022-10-04 urope/uk-tax-rate-cut.html                  Rate on High Earners                       Castle                           TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/03/world/
                        middleeast/iran-ayatollah-khameini-         Irans Supreme Leader Condemns Protests and By Cora Engelbrecht and Farnaz
2022-10-03   2022-10-04 protests.html                               Unrest Gripping Country                    Fassihi                          TX 9-233-140    2022-12-01
                        https://www.nytimes.com/live/2022/10/03/bus
                        iness/economy-news-inflation-stocks/oil-    Oil Prices Rise Sharply on Reports That
2022-10-03   2022-10-04 prices-opec-plus-supply-cuts                OPEC Plus May Cut Supply                   By Jason Karaian                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/03/theater/
2022-10-04   2022-10-04 cost-of-living-review.html                  Making a Connection Doubly Strong          By Maya Phillips                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/03/us/polit Report Says Walker Paid For Abortion For
2022-10-04   2022-10-04 ics/herschel-walker-abortion-report.html    Girlfriend                                 By Maya King                     TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/03/us/polit                                            By Maggie Haberman and Michael
2022-10-04   2022-10-04 ics/trump-alex-cannon-archives.html         Trump Aide Defied Boss Over Papers         S Schmidt                        TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/03/world/a Blinken and Colombian Leader Meet Amid
2022-10-04   2022-10-04 mericas/colombia-blinken-petro.html         Friction                                   By Michael Crowley               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/03/world/a Art Dies Where Anything May Be Deemed a
2022-10-04   2022-10-04 sia/bangladesh-free-speech-movies.html      Threat                                     By Saif Hasnat and Mujib Mashal TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/04/health/f Formula Shortage Worsens a Feeding
2022-10-04   2022-10-04 ormula-shortage-autism-breastfeeding.html Challenge                                    By Shafaq Zia                    TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/04/health/                                             By Apoorva Mandavilli and
2022-10-04   2022-10-04 malaria-vaccines.html                       Malaria Fight Faces New Tests              KangChun Cheng                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/28/dining/
2022-09-28   2022-10-05 easy-pulled-pork-recipe.html                Smoky Tender Slow and Easy                 By Genevieve Ko                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/29/arts/des
2022-09-29   2022-10-05 ign/curators-2024-whitney-biennial.html     Curators Announced For Whitney Biennial    By Aruna DSouza                  TX 9-233-140    2022-12-01




                                                                                Page 4326 of 5793
                        https://www.nytimes.com/2022/09/30/dining/f
2022-09-30   2022-10-05 all-bean-soup.html                           A Good Bean Soup Time Will Tell             By David Tanis                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/obituari
2022-10-02   2022-10-05 es/antonio-inoki-dead.html                   Antonio Inoki 79 a Wrestler Turned Diplomat By Alex Traub                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/10/                                             By Bedel Saget Marco Hernandez
                        01/us/hurricane-ian-fort-myers-beach-        What Hurricane Ian Destroyed in a Florida   Malika Khurana Zach Levitt
2022-10-02   2022-10-05 damage.html                                  Beach Town                                  Eleanor Lutz and Albert Sun     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/arts/mu
                        sic/met-opera-simulcasts-streaming-at-       Coming Soon Met Arias in Your Living
2022-10-03   2022-10-05 home.html                                    Room                                        By Javier C Hernndez            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/busines Robert Ferrante 87 CBS and NPR Producer
2022-10-03   2022-10-05 s/media/robert-ferrante-dead.html            Known for Hard News and a Human Touch By Richard Sandomir                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/dining/l Now Writing To the Beat Of a Different
2022-10-03   2022-10-05 inda-ronstadt-recipes.html                   Drum                                        By Kim Severson                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/dining/
2022-10-03   2022-10-05 panamanian-restaurants-nyc.html              Discover the Flavors of Panama in New York By Christina Morales             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/dining/
2022-10-03   2022-10-05 west-african-restaurants.html                West African Chefs Go FastCasual            By Kayla Stewart                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/theater/ Bad Cinderella to Open on Broadway Next
2022-10-03   2022-10-05 bad-cinderella-broadway.html                 Year                                        By Michael Paulson              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/theater/ After a Run on Broadway Heading Home
2022-10-03   2022-10-05 come-from-away-petrina-bromley.html          Enriched                                    By Michael Paulson              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/us/stoc California City Haunted by Slayings and the By Daniel Victor Michael Levenson
2022-10-03   2022-10-05 kton-serial-killer.html                      Police Say They Might All Be Related        and Eduardo Medina              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/opinion
                        /for-my-12-year-old-with-autism-the-mets-are-For My Son With Autism the Mets Are
2022-10-03   2022-10-05 already-amazing.html                         Already Amazing                             By Kathleen A OBrien            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/arts/dan
                        ce/dorkypark-romani-open-for-
2022-10-04   2022-10-05 everything.html                              Using Stories to Counter Stereotypes        By Brian Seibert                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/arts/mu Loretta Lynn a Musical Gem as Gritty as Coal
2022-10-04   2022-10-05 sic/loretta-lynn-dead.html                   Dies at 90                                  By Bill FriskicsWarren          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/arts/mu Putting Her Heart Into Her Hurt She Refused
2022-10-04   2022-10-05 sic/loretta-lynn.html                        to Pretty Things Up                         By Jon Pareles                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/arts/tele
2022-10-04   2022-10-05 vision/beavis-and-butt-head.html             Two Idiots Who Still Matter                 By Jason Zinoman                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/arts/tele
                        vision/rings-of-power-lotr-adar-mystery-
2022-10-04   2022-10-05 gandalf.html                                 The Rings of Power Who Is That Guy          By Jennifer Vineyard            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/books/n
2022-10-04   2022-10-05 ational-book-award-finalists.html            National Book Award Finalists Are Chosen By Elizabeth A Harris              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/books/t Theo Richmond 93 Who Raced Time To
2022-10-04   2022-10-05 heo-richmond-dead.html                       Revive the Past in a Polish Shtetl Dies     By Sam Roberts                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/busines Economists Nervously Eye the Bank of          By Jeanna Smialek and Ben
2022-10-04   2022-10-05 s/economy/bank-of-england-truss.html         Englands Market Rescue                      Casselman                       TX 9-233-140   2022-12-01



                                                                               Page 4327 of 5793
                        https://www.nytimes.com/2022/10/04/busines
2022-10-04   2022-10-05 s/economy/jolts-jobs-quits-layoffs.html    Job Openings Still Elevated But Level Off   By Lydia DePillis                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/busines As Demand for Oil Falls Saudi Arabia and
2022-10-04   2022-10-05 s/energy-environment/oil-market.html       Russia Face Limits to Pricing Power         By Clifford Krauss                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/busines                                             By Alan Rappeport and Jim
2022-10-04   2022-10-05 s/national-debt.html                       US Debt Surpasses 31 Trillion               Tankersley                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/busines                                             By Jessica SilverGreenberg and
2022-10-04   2022-10-05 s/providence-hospital-poor-patients.html   Patients Due Health Care Get Refunds        Katie Thomas                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/busines                                             By Isabella Simonetti and Joe
2022-10-04   2022-10-05 s/stocks-wall-street-rally.html            Brighter View on Rates Extends Rally        Rennison                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/busines Britains Economic Experiment Sputters Right
2022-10-04   2022-10-05 s/truss-tax-cuts-britain.html              From the Start                              By Eshe Nelson                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/climate
                        /florida-republicans-climate-hurricane-    Republicans Talk About Rebuilding But Not By Christopher Flavelle and
2022-10-04   2022-10-05 ian.html                                   the Cause of Climate Change                 Jonathan Weisman                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/04/climate Another Costly Disaster After a Hurricane    By Winston ChoiSchagrin and
2022-10-04   2022-10-05 /hurricane-ian-mold-home-remediation.html Mold                                          Emily Kask                        TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/04/dining/
2022-10-04   2022-10-05 climate-change-freezers-alaska-natives.html Wrestling With the Great Thaw                By Julia OMalley                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/dining/
2022-10-04   2022-10-05 martha-stewart-bedford-las-vegas.html       Not So Much of a Good Thing                  By Pete Wells                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/dining/ Lords From the Dame Team Opens in
2022-10-04   2022-10-05 nyc-restaurant-news.html                    Greenwich Village                            By Florence Fabricant            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/dining/r Awash in Rice Cakes Rice Rolls and Rice
2022-10-04   2022-10-05 ice-cakes-rice-rolls-rice-sweets.html       Sweets                                       By Nikita Richardson             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/movies/ In Legal Battle for Winery Jolie Accuses Pitt
2022-10-04   2022-10-05 angelina-jolie-brad-pitt-lawsuit.html       of Abuse                                     By Julia Jacobs                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/movies/
2022-10-04   2022-10-05 smile-movie-parker-finn.html                Tapping Into The Terror Of a Smile           By Erik Piepenburg               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/nyregio Initiative Wants to Help Adams Create Policy By Jeffery C Mays and Dana
2022-10-04   2022-10-05 n/eric-adams-5boro-institute.html           Goals for New York City                      Rubinstein                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/nyregio Free Grass With Gas Tribes Get a Jump on
2022-10-04   2022-10-05 n/marijuana-native-american-indian.html     Cannabis Sales                               By Jay Root and Jesse McKinley   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/nyregio Basketball Standout Is Killed Near His New
2022-10-04   2022-10-05 n/nj-teen-letrell-duncan-killed.html        Jersey School                                By Tracey Tully                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/04/nyregio Rain Then a Flood Now Migrant Tent City
2022-10-04   2022-10-05 n/nyc-migrant-encampment-eric-adams.html Will Move                                   By Andy Newman                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/opinion
2022-10-04   2022-10-05 /california-housing-crisis.html            California Is Making Progress on Housing  By Binyamin Appelbaum                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/opinion
2022-10-04   2022-10-05 /hurricane-ian-coast-rebuilding.html       The Lessons of Storms Dont Always Rebuild By Robert S Young                    TX 9-233-140   2022-12-01




                                                                                Page 4328 of 5793
                        https://www.nytimes.com/2022/10/04/opinion The Court Seems Awfully Nervous About Its
2022-10-04   2022-10-05 /roberts-alito-kagan-barrett-thomas.html    Legitimacy                                     By Jamelle Bouie                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/science 3 Who Opened Field of Quantum                   By Isabella Kwai Cora Engelbrecht
2022-10-04   2022-10-05 /nobel-prize-physics-winner.html            Entanglement and Undermined Einstein           and Dennis Overbye                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/sports/b The NBA and the Nets Welcome an Unusual
2022-10-04   2022-10-05 asketball/ben-simmons-nets.html             Sight Ben Simmons on the Court                 By Victor Mather                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/sports/s Report Shows Powerless Players Had
2022-10-04   2022-10-05 occer/soccer-abuse-power.html               Nowhere to Turn                                By Kurt Streeter                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/sports/s
                        occer/uswnt-abuse-sauerbrunn-paulson-       As a Star Calls for Change Two Owners Step
2022-10-04   2022-10-05 thorns.html                                 Aside                                          By Andrew Das and Kevin Draper TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/04/technol Amazon Freezes Corporate Hiring in Its
2022-10-04   2022-10-05 ogy/amazon-freezes-corporate-hiring.html    Retail Business Until 2023                     By Karen Weise                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/technol                                                 By Kate Conger Lauren Hirsch and
2022-10-04   2022-10-05 ogy/elon-musk-twitter-deal.html             Musk Reverts To Initial Deal To Buy Twitter Andrew Ross Sorkin                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/technol Micron Plans to Make Semiconductors in
2022-10-04   2022-10-05 ogy/micron-chip-clay-syracuse.html          New York                                       By Steve Lohr                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/theater/ Charles Fuller 83 Dies His Play Won a
2022-10-04   2022-10-05 charles-fuller-dead.html                    Pulitzer                                       By Neil Genzlinger                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/theater/
2022-10-04   2022-10-05 heart-strings.html                          Family Ties Knitted With String                By Laurel Graeber                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/us/alab Supreme Court Hears Challenge to Election
2022-10-04   2022-10-05 ama-supreme-court-voting-rights-act.html    Map in Alabama                                 By Adam Liptak                    TX 9-233-140   2022-12-01
                                                                                                                   By Frances Robles Audra D S
                        https://www.nytimes.com/2022/10/04/us/flori                                                Burch Richard Fausset and Michael
2022-10-04   2022-10-05 da-hurricane-housing-crisis.html            Storm Reveals A New Threat Homelessness Majchrowicz                              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/us/polit Biden Urges Voter Action As White House
2022-10-04   2022-10-05 ics/biden-abortion-access.html              Steps In To Protect Abortion Access            By Alan Rappeport                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/us/polit Biden to Meet With DeSantis on Trip to
2022-10-04   2022-10-05 ics/biden-desantis-florida-hurricane.html   Survey Storm Damage in Florida                 By Michael D Shear                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/us/polit
                        ics/herschel-walker-abortion-allegation-    GOP Rallies for Walker After Report He         By Shane Goldmacher Maya King
2022-10-04   2022-10-05 georgia-senate.html                         Funded an Abortion                             and Lisa Lerer                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/us/polit Officials in Florida Still Assessing Damage to
2022-10-04   2022-10-05 ics/hurricane-ian-mail-voting-florida.html  Polling Sites                                  By Neil Vigdor                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/us/polit
                        ics/nancy-pelosi-democrats-house-           Democrats Get Millions In House PAC For
2022-10-04   2022-10-05 majority.html                               Election                                       By Blake Hounshell                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/us/polit Text Messages and Posts Offer Look at
2022-10-04   2022-10-05 ics/oath-keepers-rhodes-trial-texts.html    MindSet Held by FarRight Militia               By Alan Feuer                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/us/polit Former CIA Director Worries for the Sanibel
2022-10-04   2022-10-05 ics/sanibel-florida-hurricane-goss-cia.html He Helped Shape                                By Carl Hulse                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/us/polit                                                By Helene Cooper and Kenny
2022-10-04   2022-10-05 ics/sweden-ukraine-nato-marines.html        Swedish and American Marines Join Forces Holston                                 TX 9-233-140   2022-12-01




                                                                                 Page 4329 of 5793
                        https://www.nytimes.com/2022/10/04/us/polit
2022-10-04   2022-10-05 ics/treasury-racial-equity-committee.html   Treasury Starts Panel to Advise On Inequality By Alan Rappeport                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/04/us/supr Trump Asks Justices to Intervene in Review By Adam Liptak and Charlie
2022-10-04   2022-10-05 eme-court-trump-documents.html              of Sensitive MaraLago Documents               Savage                           TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/04/world/a Ukraines Foreign Minister Courts Support of
2022-10-04   2022-10-05 frica/kuleba-africa-tour.html               Africans                                      By Elian Peltier and Mady Camara TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/04/world/a
2022-10-04   2022-10-05 sia/indonesia-soccer-football-stadium.html   Tear Gas a Stampede and a Family Shattered By Muktita Suhartono                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/world/a Marcos Critic Fatally Shot In Ambush Near
2022-10-04   2022-10-05 sia/percy-lapid-philippines-murder.html      Manila                                      By Jason Gutierrez and Mike Ives   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/world/a Trial Begins in Case That Ignited Australias
2022-10-04   2022-10-05 ustralia/brittany-higgins-trial.html         MeToo Movement                              By Yan Zhuang                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/world/e Protecting the Peatlands of Ireland as Fuel
2022-10-04   2022-10-05 urope/ireland-peat-burning-carbon.html       Costs Skyrocket                             By Ed OLoughlin                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/world/e Frontline Mystery Was He Scouting for         By Thomas GibbonsNeff Natalia
2022-10-04   2022-10-05 urope/ukraine-russia-prisoner-lyman.html     Firewood or for Russia                      Yermak and Nicole Tung             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/world/e Widening Attack Ukraines Forces Push Into
2022-10-04   2022-10-05 urope/ukraine-russia-war.html                South                                       By Andrew E Kramer                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/world/ Iran Attacks Kurds in Iraq US Shoots Drone
2022-10-04   2022-10-05 middleeast/iran-kurds-iraq.html              Down                                        By Cora Engelbrecht                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/sports/b
2022-10-05   2022-10-05 aseball/aaron-judge-62-home-runs.html        Judge Joins the Pantheon                    By David Waldstein                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/sports/b Atlanta Seals Division Title Sending Mets To
2022-10-05   2022-10-05 aseball/mets-braves-nl-east.html             Wild Card                                   By Benjamin Hoffman                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/technol Election Software Executive Arrested on
2022-10-05   2022-10-05 ogy/election-software-arrested.html          Suspicion of Theft of Data                  By Stuart A Thompson               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/sports/b
                        asketball/linsanity-jeremy-lin-documentary- Player Who Inspired Linsanity Comes To
2022-10-05   2022-10-05 hbo.html                                     Grips With It at Last                       By Sopan Deb                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/sports/f
2022-10-05   2022-10-05 ootball/philadelphia-eagles.html             Eagles Mad Scientist Creates a Contender    By Mike Tanier                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/technol What Twitter May Become With Musk At the
2022-10-05   2022-10-05 ogy/elon-musk-twitter-predictions.html       Helm                                        By Kevin Roose                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/world/a
                        sia/russians-fleeing-draft-kyrgyzstan-       Russians Find Refuge in Country They
2022-10-05   2022-10-05 putin.html                                   Scorned                                     By Andrew Higgins                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/article/aaron-judge-                                             By Benjamin Hoffman and Eve
2022-07-30   2022-10-06 home-runs.html                               Aaron Judges 62 Home Runs                   Washington                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/briefing
2022-09-28   2022-10-06 /a-wave-of-outbreaks.html                    More Diseases and Discovery                 By Jonathan Wolfe                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/style/ch
                        loe-rick-owens-off-white-paris-fashion-
2022-09-30   2022-10-06 week.html                                    As a Crisis Looms Fusing Physics and Style By Vanessa Friedman                 TX 9-233-140   2022-12-01




                                                                                 Page 4330 of 5793
                        https://www.nytimes.com/2022/10/02/style/be
2022-10-02   2022-10-06 lla-hadid-coperni-paris-fashion-week.html   A SprayOn Dress Steals the Show            By Jessica Testa                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/style/co
                        mme-des-garcons-loewe-paris-fashion-
2022-10-02   2022-10-06 week.html                                   Designs Meant to Evoke Surprise and Joy    By Vanessa Friedman             TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/03/arts/mu
2022-10-03   2022-10-06 sic/steve-lacy-bad-habit-billboard-chart.html Bad Habit Lifts Steve Lacy to No 1       By Ben Sisario                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/opinion
                        /lights-out-america-songbirds-are-counting-on-
2022-10-03   2022-10-06 us.html                                       Songbirds Are Counting on Us             By Margaret Renkl               TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/03/style/ba
2022-10-03   2022-10-06 lenciaga-valentino-paris-fashion-week.html At Balenciaga Someone Is Doing Dirty Work By Vanessa Friedman               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/style/de Shes a Wreck Behind the Wheel Thats Good By Steven Kurutz and Stacy
2022-10-03   2022-10-06 molition-derby-tennessee.html               for Her                                   Kranitz                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/style/he Herms Turns an Opening Into an
2022-10-03   2022-10-06 rmes-lets-loose.html                        Extravaganza                              By Thessaly La Force             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/technol
2022-10-04   2022-10-06 ogy/activision-nlrb-ruling.html             NLRB Backs Union In Dispute at Activision By Cade Metz                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/busines Strong US Dollar Tests Asia Currencies     By Daisuke Wakabayashi and Ben
2022-10-04   2022-10-06 s/asia-currency-dollar.html                 Mettle                                    Dooley                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/climate
2022-10-04   2022-10-06 /octonauts-climate-change-preschool.html    Merry TV Animals Take On Climate Change By Coral Davenport                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/style/ye
2022-10-04   2022-10-06 ezy-kanye-west-paris-fashion-week.html      Its All There in Black and White          By Vanessa Friedman              TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/04/busines Suspensions Follow Protest Over a Fire At
2022-10-05   2022-10-06 s/amazon-warehouse-suspended-workers.html Amazon                                       By Noam Scheiber                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/arts/ale
                        c-baldwin-halyna-hutchins-rust-             Actor Reaches Settlement Over Fatal        By Graham Bowley and Julia
2022-10-05   2022-10-06 settlement.html                             Shooting on Set                            Jacobs                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/arts/dan
2022-10-05   2022-10-06 ce/malpaso-review-cuba.html                 From Cuba a Long March to New York         By Brian Seibert                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/arts/mu
2022-10-05   2022-10-06 sic/loretta-lynn-coal-miners-daughter.html  My Moment in Her World                     By George Vecsey                TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/05/arts/mu
2022-10-05   2022-10-06 sic/nathalie-stutzmann-atlanta-symphony.html Under the Baton A New Era Dawns           By David Allen                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/arts/mu
2022-10-05   2022-10-06 sic/tosca-met-opera-review.html              A Tosca Defined by Its Quiet Moments      By Oussama Zahr                 TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/05/books/r How Jim Crow Tagged Along to World War
2022-10-05   2022-10-06 eview/half-american-matthew-delmont.html II                                       By Jennifer Szalai                   TX 9-233-140   2022-12-01




                                                                                  Page 4331 of 5793
                        https://www.nytimes.com/2022/10/05/busines Bid for Twitter Puts Pressure on Musks        By Lauren Hirsch Joe Rennison and
2022-10-05   2022-10-06 s/elon-musk-twitter-deal.html               Bankers                                      Kate Conger                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/busines Saudis and Russia Agree to Oil Cuts in
2022-10-05   2022-10-06 s/opec-russia-oil-output.html               Rebuke to West                               By Stanley Reed                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/busines Dalio Founder of Bridgewater Steps Back
2022-10-05   2022-10-06 s/ray-dalio-bridgewater-hedge-fund.html     From Hedge Fund                              By Stephen Gandel                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/busines Defund the SEC Is Now Rallying Cry on
2022-10-05   2022-10-06 s/trump-truth-social-sec.html               Trump Site                                   By Matthew Goldstein              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/climate Study Finds Greenhouse Emissions Led to
2022-10-05   2022-10-06 /climate-change-europe-drought.html         Drier Hotter Summer                          By Raymond Zhong                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/movies/ Kitten Natividad Shimmying Star of Bawdy
2022-10-05   2022-10-06 kitten-natividad-dead.html                  Films of the 70s Dies at 74                  By Neil Genzlinger                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/movies/
2022-10-05   2022-10-06 new-york-film-festival-highlights.html      A Film Festival Abides by Its Mission        By Manohla Dargis                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/nyregio Final Ambulance Ride for a Slain Emergency
2022-10-05   2022-10-06 n/alison-russo-nyc-emt-funeral.html         Worker                                       By Corey Kilgannon                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/nyregio New York City Prosecutions for Fire Safety
2022-10-05   2022-10-06 n/fire-code-prosecutions-nyc.html           Violations Plunged by 98                     By Mihir Zaveri                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/nyregio
                        n/latoya-williams-identity-theft-nyc-       Woman Accused of Renting Luxury
2022-10-05   2022-10-06 apartments.html                             Dwellings for Gangs                          By Rebecca Davis OBrien           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/nyregio Newtown Would Like to Forget the
2022-10-05   2022-10-06 n/newtown-alex-jones-trial.html             Conspiracy Theorist in Court                 By Karen Zraick                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/opinion The Abortion Debate and the Physical Costs
2022-10-05   2022-10-06 /pregnancy-abortion-dobbs.html              of Pregnancy                                 By Ross Douthat                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/opinion
2022-10-05   2022-10-06 /senate-election-republican.html            Republicans on the March                     By Gail Collins                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/science                                               By Cora Engelbrecht Euan Ward
2022-10-05   2022-10-06 /nobel-prize-chemistry-winner.html          3 Who Developed Click Chemistry              and Oliver Whang                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/science SpaceX Rocket Lifts Off With Crew of 4
2022-10-05   2022-10-06 /spacex-launch-russia-crew5.html            Including Russian for Space Station Stay     By Kenneth Chang                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/sports/b
                        aseball/aaron-judge-barry-bonds-asterisks-  Adding Context Rather Than Asterisks to the
2022-10-05   2022-10-06 records.html                                Record Books                                 By Scott Miller                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/sports/b
2022-10-05   2022-10-06 aseball/aaron-judge-yankees-rangers.html    After Hitting No 62 Judge Got to Exhale      By James Wagner                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/sports/b A WellDeserved Break They Hope Isnt Too
2022-10-05   2022-10-06 aseball/yankees-division-series-wait.html   Long                                         By James Wagner                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/sports/b Tiffany Jackson 37 Stalwart at Texas and in
2022-10-05   2022-10-06 asketball/tiffany-jackson-dead.html         WNBA                                         By Richard Sandomir               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/sports/s
                        occer/portland-thorns-womens-soccer-        A Beacon of the Womens Game Was Actually
2022-10-05   2022-10-06 scandal.html                                Hiding Its Darkest Secrets                   By Kevin Draper                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/sports/t A Billionaires Plan to Put Kazakhstan on the
2022-10-05   2022-10-06 ennis/kazakhstan-utemuratov.html            Map                                          By Matthew Futterman              TX 9-233-140   2022-12-01



                                                                                Page 4332 of 5793
                        https://www.nytimes.com/2022/10/05/technol
                        ogy/uber-security-chief-joe-sullivan-       Former Uber Security Chief Is Found Guilty
2022-10-05   2022-10-06 verdict.html                                of Hiding Breach From the Authorities      By Cade Metz                    TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/05/us/flori Hostile to Government and Expecting the    By Julie Bosman Eliza Fawcett
2022-10-05   2022-10-06 da-residents-demand-federal-aid.html        Storm Aid to Come Soon                     Emily Cochrane and Jack Healy   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/05/us/laure Laurence Silberman Conservative Touchstone
2022-10-05   2022-10-06 nce-silberman-dead.html                     on the Bench Dies at 86                    By Sam Roberts                  TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/05/us/polit Biden and DeSantis Put Politics Aside to Aid
2022-10-05   2022-10-06 ics/biden-desantis-florida-hurricane-ian.html Stricken Florida                           By Katie Rogers                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/us/polit Use of Civil War Soars After MaraLago        By Ken Bensinger and Sheera
2022-10-05   2022-10-06 ics/civil-war-social-media-trump.html         Search                                     Frenkel                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/us/polit With Walker Under Fire Kemp Keeps A Low
2022-10-05   2022-10-06 ics/kemp-herschel-walker-abortion.html        Profile                                    By Maya King                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/us/polit                                              By David E Sanger and Ben
2022-10-05   2022-10-06 ics/opec-biden-saudi-arabia.html              A US Strategy Fails to Sway Riyadh         Hubbard                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/us/polit Noxious Relationship in the House Grows
2022-10-05   2022-10-06 ics/pelosi-mccarthy-midterms.html             Even More Toxic                            By Annie Karni                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/us/polit
2022-10-05   2022-10-06 ics/taiwan-biden-weapons-china.html           US Bolstering Taiwan Muscle Against China By Edward Wong and John Ismay TX 9-233-140      2022-12-01
                                                                                                                 By Julian E Barnes Adam Goldman
                        https://www.nytimes.com/2022/10/05/us/polit US Believes Ukrainians Backed A Russian      Adam Entous and Michael
2022-10-05   2022-10-06 ics/ukraine-russia-dugina-assassination.html Nationalists Murder                         Schwirtz                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/us/texa Stacking School Boards Emboldens a
2022-10-05   2022-10-06 s-patriot-mobile.html                         Christian Phone Provider                   By J David Goodman              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/world/a                                               By Motoko Rich and Choe
2022-10-05   2022-10-06 sia/north-korea-missile-launch.html           North Korea Defiant Firing More Missiles   SangHun                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/world/a
2022-10-05   2022-10-06 sia/philippines-lottery-jackpot.html          Questions After 433 People Hit a Jackpot   By Camille Elemia and Mike Ives TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/world/a Australia Sets New Target To Cut Extinctions
2022-10-05   2022-10-06 ustralia/species-extinction.html              to Zero                                    By Yan Zhuang                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/world/e After Chaotic Month British Conservative      By Mark Landler and Stephen
2022-10-05   2022-10-06 urope/liz-truss-uk-speech.html                Party Conference Ends in Disarray          Castle                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/world/e In Retreat at the Front Russia Launches       By Andrew E Kramer Anton
2022-10-05   2022-10-06 urope/ukraine-russia-war.html                 Strikes Deep Into Ukraine                  Troianovski and Eric Nagourney  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/world/
                        middleeast/iran-prisoner-released-baquer-     Iran Allows ExUN Worker to Leave but His
2022-10-05   2022-10-06 namazi.html                                   Son an American Remains in Prison          By Cora Engelbrecht             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/world/ A Day of Full Solemn Synagogues and Empty
2022-10-05   2022-10-06 middleeast/israel-yom-kippur.html             Silent Roads                               By Patrick Kingsley             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/technol Musk Haggled on Price In Recent Twitter       By Kate Conger and Michael S
2022-10-06   2022-10-06 ogy/elon-musk-twitter-discount.html           Talks                                      Schmidt                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/theater/
2022-10-06   2022-10-06 im-revolting-review.html                      Piercing the Skin but Barely               By Maya Phillips                TX 9-233-140   2022-12-01




                                                                               Page 4333 of 5793
                        https://www.nytimes.com/2022/10/05/us/polit Shield for Young Immigrants Is Ruled Illegal
2022-10-06   2022-10-06 ics/daca-appeals-immigration-biden.html     but Kept Alive                               By Eileen Sullivan                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/style/pa
2022-10-06   2022-10-06 ris-fashion-week-photos.html                Fans in Paris Create a Spectacle             By Simbarashe Cha                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/style/ph
2022-10-06   2022-10-06 oebe-philo-celine.html                      Phoebe Philo Fans Make Do in Her Absence By Jessica Testa                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/style/sk
2022-10-06   2022-10-06 in-cycling.html                             A Care Regimen Starts by Getting on a Cycle By Rachel Strugatz                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/hers Senate Candidates Son Upends Race With        By Clyde McGrady and Kellen
2022-10-06   2022-10-06 chel-walker-son-christian.html              Drama                                        Browning                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/e
                        urope/macron-european-political-            Macrons 44Nation European Group Debuts in
2022-10-06   2022-10-06 community.html                              Shadow of War                                By Roger Cohen                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/live/2022/10/06/wo
                        rld/russia-ukraine-war-news/for-ukrainian-
                        civilians-armys-advance-brings-hopefulness- Every Blast Brings Fear And Hope To
2022-10-06   2022-10-06 but-also-fear                               Civilians                                    By Maria Varenikova                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/world/a What Videos Posted Online Reveal About the
2022-10-04   2022-10-07 sia/iran-protest-video-analysis.html        Protests in Iran                             By Nilo Tabrizy and Haley Willis   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/busines
                        s/strong-dollar-emerging-market-debt-       Strong Dollar Clouds Outlook For Worlds      By Joe Rennison and Isabella
2022-10-05   2022-10-07 crisis.html                                 Emerging Markets                             Simonetti                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/world/e Jerzy Urban Acerbic Communist Turned
2022-10-05   2022-10-07 urope/jerzy-urban-dead.html                 FreeSpeech Hero Dies at 89                   By Clay Risen                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/world/ Hijab Protests in Iran Expose Deep Divide In
2022-10-05   2022-10-07 middleeast/iran-protests-women-hijab.html   Visions of Future                            By Amanda Taub                     TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/06/arts/dan
2022-10-06   2022-10-07 ce/review-yvonne-rainer-hellzapoppin.html Her Swan Song Is Not Quite a Grand Finale      By Siobhan Burke                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/arts/des
                        ign/david-nolan-female-art-dealers-madison- Pioneers Shaped New Yorks Cultural
2022-10-06   2022-10-07 avenue.html                                  Landscape                                   By Deborah Solomon                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/arts/des
                        ign/joan-didion-hammer-museum-hilton-
2022-10-06   2022-10-07 als.html                                     Joan Didion Voice of the West               By Adam Nagourney                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/arts/des
                        ign/just-above-midtown-gallery-exhibit-moma
2022-10-06   2022-10-07 art.html                                     Homage to the GateCrashers                  By Holland Cotter                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/arts/mu
2022-10-06   2022-10-07 sic/shostakovich-lady-macbeth.html           Shining Light on a Deeply Dark Story        By Simon Morrison                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/arts/mu
2022-10-06   2022-10-07 sic/teodor-currentzis-utopia-review.html     War Looms Over an Orchestras Debut          By Joshua Barone                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/arts/tele
                        vision/cut-above-shipwreck-hunters-
2022-10-06   2022-10-07 australia.html                               This Weekend I Have                         By Margaret Lyons                  TX 9-233-140   2022-12-01



                                                                                 Page 4334 of 5793
                        https://www.nytimes.com/2022/10/06/arts/tele
2022-10-06   2022-10-07 vision/derry-girls-season-3-netflix.html     And Now Their Troubles Are Ended         By James Poniewozik              TX 9-233-140    2022-12-01
                                                                                                              By Alex Marshall Alexandra Alter
                        https://www.nytimes.com/2022/10/06/books/a A French Writer Who Unflinchingly Cut Into Laura Cappelle and Aurelien
2022-10-06   2022-10-07 nnie-ernaux-nobel-prize-literature.html    Personal Memory                            Breeden                          TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/06/books/ Meredith Tax 80 a Feminist Author and
2022-10-06   2022-10-07 meredith-tax-dead.html                     Activist                                   By Penelope Green                TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/06/busines Poor Nations Find Steep Cost to Chinese
2022-10-06   2022-10-07 s/china-debt-economy-global-slowdown.html Loans                                        By Keith Bradsher                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/busines Central Bankers Grapple With When to Slow
2022-10-06   2022-10-07 s/economy/fed-mary-daly-interview.html      Rates                                      By Jeanna Smialek                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/busines Turtlenecks and Cool Showers France Adjusts
2022-10-06   2022-10-07 s/france-energy-crisis-europe.html          to Energy Sobriety                         By Liz Alderman                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/busines Recession Risks Are Increasing Around
2022-10-06   2022-10-07 s/imf-global-outlook-recession-risks.html   World the IMF Warns                        By Alan Rappeport                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/busines
                        s/media/alden-newspaper-candidate-
2022-10-06   2022-10-07 endorsements.html                           Alden Papers Limit Picks For Elections     By Katie Robertson               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/health/a Barnard College Plans To Offer Abortion
2022-10-06   2022-10-07 bortion-pills-barnard.html                  Pills On Campus Next Year                  By Pam Belluck                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/health/e US to Begin Screening Air Passengers for   By Apoorva Mandavilli and Sheryl
2022-10-06   2022-10-07 bola-cdc-uganda.html                        Ebola                                      Gay Stolberg                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/health/ Gun Deaths Rose in 21 To Highest In 30
2022-10-06   2022-10-07 guns-homicides-suicides-cdc.html            Years                                      By Roni Caryn Rabin              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-06   2022-10-07 amsterdam-review-christian-bale.html        Slapstick Romance Conspiracy               By Manohla Dargis                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-06   2022-10-07 battleground-review.html                    Battleground                               By Beatrice Loayza               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-06   2022-10-07 hellraiser-review.html                      Hellraiser                                 By Jeannette Catsoulis           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-06   2022-10-07 hinterland-review.html                      Hinterland                                 By Nicolas Rapold                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-06   2022-10-07 last-flight-home-review.html                Last Flight Home                           By Ben Kenigsberg                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-06   2022-10-07 lyle-lyle-crocodile-review.html             Lyle Lyle Crocodile                        By Calum Marsh                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-06   2022-10-07 mr-harrigans-phone-review.html              Mr Harrigans Phone                         By Lisa Kennedy                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
                        onoda-10000-nights-in-the-jungle-
2022-10-06   2022-10-07 review.html                                 Onoda 10000 Nights In the Jungle           By Teo Bugbee                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-06   2022-10-07 piggy-review.html                           Piggy                                      By Elisabeth Vincentelli         TX 9-233-140   2022-12-01




                                                                               Page 4335 of 5793
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-06   2022-10-07 review-to-leslie.html                      To Leslie                                    By Beandrea July                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-06   2022-10-07 tar-review.html                            Comeuppance for an Imperious Maestro         By AO Scott                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-06   2022-10-07 the-redeem-team-review.html                The Redeem Team                              By Glenn Kenny                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-06   2022-10-07 the-swimmer-review.html                    The Swimmer                                  By Kyle Turner                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-06   2022-10-07 the-visitor-review.html                    The Visitor                                  By Jeannette Catsoulis            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-06   2022-10-07 triangle-of-sadness-review.html            Beautiful People Adrift in a Sea of Vomit    By AO Scott                       TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/06/nyregio Rochester to Pay 12 Million to Family of Man
2022-10-06   2022-10-07 n/daniel-prude-death-police-settlement.html Police Killed in 2020                       By Jesse McKinley                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/nyregio Judge Blocks New York Gun Law Citing
2022-10-06   2022-10-07 n/judge-blocks-ny-gun-law.html              Issues With Restrictions                    By Jonah E Bromwich               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/nyregio Governor in New Jersey Asks for Federal      By Tracey Tully Ana Ley and
2022-10-06   2022-10-07 n/nj-biden-congestion-price-toll.html       Review Of New York Traffic Plan             Patrick McGeehan                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/nyregio Police Vehicle Crashes Into Pedestrians in
2022-10-06   2022-10-07 n/nypd-bronx-crash.html                     Bronx                                       By Liam Stack and Ta Kvetenadze   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/opinion A Plan B for Responsible Americans Living
2022-10-06   2022-10-07 /democrats-independents-montana.html        in Red States                               By Sarah Vowell                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/opinion
2022-10-06   2022-10-07 /fed-inflation-interest-rates.html          Tracking the Coming Economic Storm          By Paul Krugman                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/opinion
2022-10-06   2022-10-07 /opec-putin-mbs.html                        Putin and MBS Are Laughing at Us            By Thomas L Friedman              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/opinion
2022-10-06   2022-10-07 /ukraine-liberal-nationalism.html           The Triumph of the Ukrainian Idea           By David Brooks                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/sports/a
2022-10-06   2022-10-07 utoracing/f1-aston-martin-season.html       An unexpected season for Aston Martin       By Ian Parkes                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/sports/a
                        utoracing/f1-max-verstappen-human-
2022-10-06   2022-10-07 championship.html                           A championship delayed but not by much      By Ian Parkes                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/sports/a
2022-10-06   2022-10-07 utoracing/f1-tires-racing.html              Racing often comes down to the tires        By Luke Smith                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/sports/b A Young Star Comes Undone and Talk of a
2022-10-06   2022-10-07 aseball/fernando-tatis-padres.html          Statue Is Put on Hold                       By Scott Miller                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/06/sports/b Ace Trash Talkers And Pitchers Brace For the
2022-10-06   2022-10-07 aseball/max-scherzer-adam-wainwright.html Postseason                                     By James Wagner                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/06/sports/b
2022-10-06   2022-10-07 aseball/wild-card-postseason-preview.html   The More the Merrier Or Is It Oversaturation By Tyler Kepner                  TX 9-233-140   2022-12-01




                                                                                 Page 4336 of 5793
                        https://www.nytimes.com/2022/10/06/sports/s
2022-10-06   2022-10-07 occer/panini-world-cup-figuritas.html       Sticker Shock Grips Argentina              By Natalie Alcoba                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/technol Judge Grants Musk Appeal To Slow Trial
2022-10-06   2022-10-07 ogy/elon-musk-twitter-trial.html            With Twitter                               By Lauren Hirsch and Kate Conger TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/technol Fringe Sites Draw Limited But Loyal Fans
2022-10-06   2022-10-07 ogy/parler-truth-social-telegram-pew.html   Report Says                                By Tiffany Hsu                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/theater/
2022-10-06   2022-10-07 complicity-review.html                      Missteps Muddle A MeToo Drama              By Alexis Soloski                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/case Florida Governors Wife Takes a Leading
2022-10-06   2022-10-07 y-desantis-ron-desantis-florida.html        Position In Hurricane Relief Effort        By Patricia Mazzei               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/elect Lawsuits Harassment and Demands Plague
2022-10-06   2022-10-07 ion-workers-midterms-polls.html             Election Workers                           By Michael Wines                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/nebr
                        aska-senator-sasse-university-florida-
2022-10-06   2022-10-07 president.html                              Sasse Will Quit Senate to Lead University  By Carl Hulse                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/polit Jurors Will Decide How Much Infowars Host
2022-10-06   2022-10-07 ics/alex-jones-sandy-hook.html              Must Pay Sandy Hook Families               By Elizabeth Williamson          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/polit
2022-10-06   2022-10-07 ics/biden-ibm-semiconductors.html           Biden Promotes US Semiconductors           By Katie Rogers                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/polit President Issues Federal Pardons Over      By Michael D Shear and Zolan
2022-10-06   2022-10-07 ics/biden-marijuana-pardon.html             Marijuana                                  KannoYoungs                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/polit At Event Walker Eludes Questions on        By Maya King and Jonathan
2022-10-06   2022-10-07 ics/herschel-walker-abortion-georgia.html   Abortion                                   Weisman                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/polit Jan 6 Panel Reschedules Hearing Delayed by
2022-10-06   2022-10-07 ics/jan-6-committee-hearing.html            Storm                                      By Luke Broadwater               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/polit Democrats Worry as Republican Attack Ads
2022-10-06   2022-10-07 ics/mandela-barnes-wisconsin-senate.html    Take a Toll in Wisconsin                   By Reid J Epstein                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/polit Witness Says Militia Chief Pushed War In
2022-10-06   2022-10-07 ics/oath-keepers-jan-6-trial.html           Video Call                                 By Alan Feuer                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/polit
                        ics/trump-white-house-documents-            US Is Said to Believe Trump Has More       By Michael S Schmidt Maggie
2022-10-06   2022-10-07 lawyers.html                                Records                                    Haberman and Katie Benner        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/ukra The LongRange Missile Ukrainians Want Is
2022-10-06   2022-10-07 ine-war-missile.html                        One the US Says They Do Not Need           By John Ismay                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/vega Las Vegas Stabbing Spree Leaves 2 Dead and
2022-10-06   2022-10-07 s-strip-stabbing-attack.html                6 Injured                                  By Vimal Patel                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/a Computer Breach of Mexicos Defense
                        mericas/mexico-hack-government-             Ministry Exposes Abuses and Efforts to
2022-10-06   2022-10-07 military.html                               Evade Oversight                            By Maria AbiHabib                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/a UN Council Rejects Vote To Discuss China
2022-10-06   2022-10-07 sia/china-un-xinjiang-uyghurs.html          Abuses                                     By Nick CummingBruce             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/a Kathmandu Finally Got Tap Water After a     By Emily Schmall and Bhadra
2022-10-06   2022-10-07 sia/nepal-water-melamchi.html               Climate Disaster It Was Gone               Sharma                           TX 9-233-140   2022-12-01




                                                                              Page 4337 of 5793
                                                                                                               By Hannah Beech Muktita
                        https://www.nytimes.com/2022/10/06/world/a                                             Suhartono SuiLee Wee and Ryn
2022-10-06   2022-10-07 sia/shooting-thailand-day-care.html        Thai Gunman Massacres 36 At a Preschool     Jirenuwat                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/a
                        thens-democracy-forum-misinformation-
2022-10-06   2022-10-07 disinformation.html                        The forecast Partly cloudy                  By Farah Nayeri                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/b
                        ritain-truss-european-political-           Truss Attends a Meeting Of 44 European      By Mark Landler and Stephen
2022-10-06   2022-10-07 community.html                             Nations Signaling Tighter Bonds             Castle                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/d
2022-10-06   2022-10-07 emocracy-challenges.html                   A time of unease for democracy              By Roger Cohen                    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/06/world/e
2022-10-06   2022-10-07 urope/democracy-europe-ukraine-war.html     New urgency for dialogue in Europe          By Celestine Bohlen              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/e
2022-10-06   2022-10-07 urope/greece-democracy-theater.html         Sowing democracys seeds on stage            By David Belcher                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/e                                              By Anton Troianovski and Neil
2022-10-06   2022-10-07 urope/putin-russia-army-criticism.html      Blunt Criticism Of War Effort Tests Kremlin MacFarquhar                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/e Facing Battlefield Setbacks Russia Lashes    By Richard PrezPea Carly Olson
2022-10-06   2022-10-07 urope/russia-war-ukraine.html               Out                                         and Matthew Mpoke Bigg           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/e
2022-10-06   2022-10-07 urope/scandinavia-democracy.html            Scandinavia offers clues for success        By Celestine Bohlen              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/e
2022-10-06   2022-10-07 urope/ukraine-private-arms-deals.html       A Doctor a Limo Driver and an Arms Deal     By Justin Scheck                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/
                        middleeast/iran-protests-sharif-university- Iran Uses Brute Force to Quell Students
2022-10-06   2022-10-07 masha-amini.html                            Protest at an Elite University              By Farnaz Fassihi                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/ Commandos Kill Senior ISIS Figures in Syria By Hwaida Saad Sangar Khaleel
2022-10-06   2022-10-07 middleeast/isis-leader-syria-us-raid.html   US Says                                     and Eric Schmitt                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/y
2022-10-06   2022-10-07 ascha-mounk-democracy.html                  What the system needs to survive            By Celestine Bohlen              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/y
2022-10-06   2022-10-07 outh-democracy-movement.html                Fighting to change and preserve             By Shivani Vora                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-07   2022-10-07 luckiest-girl-alive-review.html             Looking in the Mirror Leaning In to Outrage By Amy Nicholson                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
2022-10-07   2022-10-07 significant-other-review.html               Significant Other                           By Natalia Winkelman             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/theater/
2022-10-07   2022-10-07 1776-review-broadway.html                   Well for Starters Jefferson Is Pregnant     By Jesse Green                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/polit After OPEC Oil Cuts Biden Has a Dilemma
2022-10-07   2022-10-07 ics/biden-saudi-arabia-oil.html             on Ties to Saudi Arabia                     By Peter Baker                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/07/busines                                             By Jeanna Smialek and Alan
2022-10-07   2022-10-07 s/economy/federal-reserve-global-fallout.html Feds Moves Lead to Pain Beyond US        Rappeport                         TX 9-233-140   2022-12-01




                                                                                Page 4338 of 5793
                        https://www.nytimes.com/2022/10/07/busines Workers Assess Options or Lack of Them as
2022-10-07   2022-10-07 s/job-market-tightening.html                Job Market Cools                          By Emma Goldberg                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/busines
2022-10-03   2022-10-08 s/tiny-apartments-tokyo.html                Its Tiny Its Home Its Perfect             By Hikari Hida                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/arts/mu
2022-10-04   2022-10-08 sic/alvvays-blue-rev.html                   Dreamy Indie Rockers Crank Up the Volume By Jeremy Gordon                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/busines Patricia Cloherty 80 Who Took a Gamble On
2022-10-05   2022-10-08 s/dealbook/patricia-cloherty-dead.html      High Finance Dies                         By Ed Shanahan                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/arts/sec Second City to Open Its First New York
2022-10-06   2022-10-08 ond-city-new-york-improv-comedy.html        Outpost                                   By Julia Jacobs                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/nyregio Are Democrats Gaining Steam A Tightening
2022-10-06   2022-10-08 n/new-jersey-malinowski-midterms.html       New Jersey Race Offers Hints              By Tracey Tully                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/opinion
2022-10-06   2022-10-08 /small-dollar-donations-online.html         Online FundRaising Is Dragging Us to Hell By Tim Miller                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/opinion They Wanted to Blow Up the Economy and
2022-10-06   2022-10-08 /truss-kwarteng-uk.html                     Liz Truss Let Them                        By Sam Bright                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/technol
2022-10-06   2022-10-08 ogy/elon-musk-x.html                        In X Musk Sees Everything and More        By Kalley Huang                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/06/theater/ A Lorraine Hansberry Play Will Open in
2022-10-06   2022-10-08 isaac-brosnahan-brustein-hansberry-bam.html February                                   By Michael Paulson               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/arts/jud Judy Tenuta 72 AccordionPlaying Love       By Neil Genzlinger and McKenna
2022-10-07   2022-10-08 y-tenuta-dead.html                          Goddess                                    Oxenden                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/arts/dan
                        ce/review-kimberly-bartosik-the-
2022-10-07   2022-10-08 encounter.html                              Amid Chaos Seeking Intimacy or Escape      By Brian Seibert                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/arts/des
2022-10-07   2022-10-08 ign/mona-lisa-vincenzo-peruggia.html        The Man Who Stole the Mona Lisa            By Sam Roberts                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/arts/mu
2022-10-07   2022-10-08 sic/geffen-hall-ny-philharmonic.html        My Lessons at the Philharmonic             By Anthony Tommasini             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/arts/ver
2022-10-07   2022-10-08 meer-impostor-national-gallery.html         A Vermeer No More An Imitator Is Outed     By Zachary Small                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/busines
2022-10-07   2022-10-08 s/binance-hack.html                         Binance Is Hit by a 570 Million Hack       By Ephrat Livni                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/busines Chinas Slowdown Is a Wild Card in the
2022-10-07   2022-10-08 s/china-russia-energy-oil-gas.html          Energy War With Russia                     By Keith Bradsher                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/busines
2022-10-07   2022-10-08 s/economy/biden-chip-technology.html        US Targeting Chinas Access To Technology   By Ana Swanson                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/busines As Hiring Slows Inflation Fears Are Still
2022-10-07   2022-10-08 s/economy/jobs-report-september.html        Potent                                     By Sydney Ember                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/busines
2022-10-07   2022-10-08 s/gas-prices-rising.html                    As Refining Drops Price Of Gas Rises       By Isabella Simonetti            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/busines Al Primo 87 Is Dead Turned TV Broadcasts
2022-10-07   2022-10-08 s/media/al-primo-dead.html                  Into Eyewitness News                       By Richard Sandomir              TX 9-233-140   2022-12-01




                                                                               Page 4339 of 5793
                        https://www.nytimes.com/2022/10/07/busines
2022-10-07   2022-10-08 s/media/pluribus-news-statehouses.html     News StartUp Focuses on Statehouses         By Katie Robertson                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/busines Good News About Jobs Proves Bad For         By Joe Rennison and Isabella
2022-10-07   2022-10-08 s/stocks-jobs-fed.html                     Stocks                                      Simonetti                             TX 9-233-140   2022-12-01
                                                                   Nations Agree to Curb Emissions From
                        https://www.nytimes.com/2022/10/07/climate Flying by 2050 Curbs on Air Travel May Be
2022-10-07   2022-10-08 /aviation-emissions-net-zero.html          Needed                                      By Hiroko Tabuchi                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/health/ Abortion Ban at 15 Weeks Could Have Health
2022-10-07   2022-10-08 15-week-abortion-ban-older-mothers.html    Impact On Women in Their 30s                By Roni Caryn Rabin                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/nyregio After 2nd Deadly Stabbing Commissioner      By Chelsia Rose Marcius and
2022-10-07   2022-10-08 n/bronx-subway-stabbing-attack.html        Vows Police Will Do More on Subway          Corey Kilgannon                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/nyregio
                        n/columbia-university-robert-hadden-       Columbia University Settles With Victims of
2022-10-07   2022-10-08 settlement.html                            Sex Abuse                                   By Hurubie Meko                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/nyregio                                             By Andy Newman and Emma G
2022-10-07   2022-10-08 n/eric-adams-migrant-crisis-response.html  Adams Invokes An Emergency Over Migrants Fitzsimmons                              TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/07/nyregio State Police Superintendent Resigns Amid
2022-10-07   2022-10-08 n/state-police-resignation-hochul-bruen.html Investigation                               By Luis FerrSadurn and Jay Root     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/obituari Gnter Lamprecht 92 Actor Who Starred in
2022-10-07   2022-10-08 es/gunter-lamprecht-dead.html                Germanys Berlin Alexanderplatz Series       By AJ Goldmann                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/opinion A Professors Firing Reveals a Lot About Elite
2022-10-07   2022-10-08 /nyu-professor-fired-maitland-jones.html     Colleges                                    By Jessica Calarco                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/sports/b In Obscurity of Class A Showalter Was Able
2022-10-07   2022-10-08 aseball/buck-showalter-mets.html             to Hone His Craft                           By Bill Pennington                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/07/sports/b ExMet Gimnez Helps Guardians Come of
2022-10-07   2022-10-08 aseball/guardians-rays-wild-card-game-1.html Age Early                                     By Scott Miller                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/sports/b
                        asketball/draymond-green-jordan-poole-punch Green Punches Teammate in Practice
2022-10-07   2022-10-08 video.html                                   Disrupting Golden States Good Vibes           By Scott Cacciola                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/sports/b As the Celtics Coach Udoka Rose Quickly
2022-10-07   2022-10-08 asketball/ime-udoka-boston-celtics.html      Before a Hard Fall                            By Scott Cacciola and Sopan Deb   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/07/sports/f Under New Scrutiny Concussion Protocols        By Ken Belson Jenny Vrentas and
2022-10-07   2022-10-08 ootball/football-concussions-tagovailoa.html May Tighten Criteria                          Emmanuel Morgan                 TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/07/sports/s
                        ailing/f1-max-verstappen-sergio-perez-
2022-10-07   2022-10-08 sailgp.html                                  From land to sea a different kind of racing   By John Clarke                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/sports/s
2022-10-07   2022-10-08 ailing/sailgp-sarah-douglas-olympics.html    Another Olympic shot                          By Kimball Livingston             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/sports/s
                        occer/england-beats-us-womens-soccer-team- England Beats US in a Friendly With Larger
2022-10-07   2022-10-08 ending-a-win-streak.html                     Implications                                  By Rory Smith                     TX 9-233-140   2022-12-01




                                                                                 Page 4340 of 5793
                        https://www.nytimes.com/2022/10/07/technol
2022-10-07   2022-10-08 ogy/europe-data-collection-united-states.html Europeans Can Protest To the US About Data By David McCabe                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/theater/
                        latanya-richardson-jackson-the-piano-
2022-10-07   2022-10-08 lesson.html                                   Reviving The Piano Lesson                    By Salamishah Tillet            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/us/hurri At Least 119 Are Dead Many of Them             By Mitch Smith Frances Robles
2022-10-07   2022-10-08 cane-ian-victims-drowned.html                 Seniors After Hurricanes Blitz               Eliza Fawcett and Ava Sasani    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/us/mon Judge Rejects Biker Clubs Claim That Leader By Seth Gilbert and Serge F
2022-10-07   2022-10-08 gols-informant.html                           Was a Rat Who Hurt Their Defense             Kovaleski                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/us/ohio- Judges in Ohio and Arizona Block States
2022-10-07   2022-10-08 abortion-ban-suspension.html                  Abortion Bans                                By Ava Sasani                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/us/polit
                        ics/biden-putin-armageddon-nuclear-           Warning of Armageddon and Seeking an Out
2022-10-07   2022-10-08 threat.html                                   for Putin                                    By David E Sanger               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/us/polit Rules on Counterterrorism Drone Strikes
2022-10-07   2022-10-08 ics/drone-strikes-biden-trump.html            Eased by Trump Are Tightened by Biden        By Charlie Savage               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/us/polit ExGirlfriend Says Walker Urged Her to Have By Maya King Lisa Lerer and
2022-10-07   2022-10-08 ics/herschel-walker-abortion.html             a Second Abortion                            Jonah E Bromwich                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/us/polit US Targets Companies Supporting North
2022-10-07   2022-10-08 ics/north-korea-sanctions.html                Korea                                        By Edward Wong                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/us/polit
                        ics/oath-keepers-stewart-rhodes-trial-letter- Militia Leader Urged Trump to Stay in Office
2022-10-07   2022-10-08 trump.html                                    and Told Him How to Do It                    By Alan Feuer                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/us/uval Facing Protests School District in Uvalde
2022-10-07   2022-10-08 de-police-suspended.html                      Shuts Down Its Police Department             By J David Goodman              TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/07/world/a Son of ApartheidEra Farm Laborer Now
2022-10-07   2022-10-08 frica/black-owned-wineries-south-africa.html Owns a Winery                               By John Eligon                    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/07/world/a                                              By Julie Turkewitz and Federico
2022-10-07   2022-10-08 mericas/venezuelan-migrants-us-border.html The 66Mile Trek From Despair to Uncertainty Rios                             TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/07/world/a Thailand Wrestles With Unimaginable Loss By SuiLee Wee Ryn Jirenuwat and
2022-10-07   2022-10-08 sia/thailand-day-care-shooting.html        After Attack on a Preschool                  Muktita Suhartono               TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/07/world/c Illuminating Russian Repression of the Past By Dan Bilefsky and Anton
2022-10-07   2022-10-08 anada/memorial-russia-stalin-putin.html    and the Present                              Troianovski                     TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/07/world/e
                        urope/european-commission-natural-gas-     As Crisis Hits Europe Old Fault Lines Emerge
2022-10-07   2022-10-08 germany.html                               With New Dynamics                            By Matina StevisGridneff        TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/07/world/e
                        urope/nobel-peace-prize-ales-bialiatski-
2022-10-07   2022-10-08 belarus.html                               Jailed by a Nation He Helped Create          By Andrew Higgins               TX 9-233-140      2022-12-01

                        https://www.nytimes.com/2022/10/07/world/e Nobel Peace Prize Carries Message in          By Anton Troianovski Megan
2022-10-07   2022-10-08 urope/nobel-peace-prize-memorial-russia.html Shadow of Russias War                       Specia and Andrew Higgins         TX 9-233-140   2022-12-01



                                                                                 Page 4341 of 5793
                        https://www.nytimes.com/2022/10/07/world/e Its Army in Retreat Russia Strikes Civilian      By Megan Specia and Richard
2022-10-07   2022-10-08 urope/russia-strikes-ukraine.html               Targets Far From Any Combat                 PrezPea                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/world/e
                        urope/ukraine-center-for-civil-liberties-nobel- In Kyiv Tracking Rights Violations For Past By Megan Specia and Oleksandra
2022-10-07   2022-10-08 peace-prize.html                                15 Years                                    Mykolyshyn                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/world/e Ukrainian Troops Gain Confidence in Small
2022-10-07   2022-10-08 urope/ukraine-war-fighters.html                 Victories and FastPaced Battles             By Carlotta Gall and Ivor Prickett TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/your-
2022-10-07   2022-10-08 money/rainy-day-fund-work.html                  Emergency Funds With Employers Help         By Ann Carrns                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/10/
                        07/us/politics/senate-midterm-elections-tossup With Control of the Senate in Play These Are By Lauren Leatherby and Jonathan
2022-10-07   2022-10-08 seats.html                                      the Races to Watch                          Weisman                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/sports/b
                        aseball/phillies-cardinals-wild-card-game-      After Long Wait Two Old Hands Seize the
2022-10-08   2022-10-08 1.html                                          Moment                                      By Tyler Kepner                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/us/polit Candid Talk By First Lady On Abortion A
2022-10-08   2022-10-08 ics/jill-biden-abortion.html                    Friend Had                                  By Katie Rogers                    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/08/us/polit Pennsylvania Race Narrows Testing
2022-10-08   2022-10-08 ics/fetterman-pennsylvania-senate-race.html Fettermans BlueCollar Allure                  By Trip Gabriel                    TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/09/02/books/r
2022-09-02   2022-10-09 eview/partisans-nicole-hemmer.html          Paving the Way for Trump                      By Gabriel Debenedetti             TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/09/06/books/r
2022-09-06   2022-10-09 eview/american-demon-daniel-stashower.html Law and Disorder                            By Patton Oswalt                      TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/09/07/books/r
                        eview/in-search-of-mary-seacole-helen-
2022-09-07   2022-10-09 rappaport.html                               Nursing Grudges                           By Linda Villarosa                    TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/09/07/style/tik
2022-09-07   2022-10-09 tok-washington-square-park-nyc.html          A TikTok Star Makes The Park His Studio   By Mia Adorante                       TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/09/13/books/r
                        eview/gwendoline-riley-my-phantoms-first-
2022-09-13   2022-10-09 love.html                                    Beyond Our Kin                            By Lidija Haas                        TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/09/14/books/r
                        eview/the-divider-trump-peter-baker-susan-
2022-09-14   2022-10-09 glasser.html                                 The Unmanageable President                By David Greenberg                    TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/09/15/books/r
2022-09-15   2022-10-09 eview/megan-gilliss-lungfish.html            Life Is Only Survival                     By Marcy Dermansky                    TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/09/18/books/r
2022-09-18   2022-10-09 eview/yiyun-li-book-of-goose.html            The Hoax of Fiction                       By Megan OGrady                       TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/09/19/books/r
2022-09-19   2022-10-09 eview/less-is-lost-andrew-sean-greer.html    On the Road Again                         By Matthew Schneier                   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/09/22/style/w New Services Put Weddings on an Installment
2022-09-22   2022-10-09 eddings-buy-now-pay-later.html               Plan                                      By Stephanie Cain                     TX 9-233-140     2022-12-01




                                                                                 Page 4342 of 5793
                        https://www.nytimes.com/2022/09/24/realesta
2022-09-24   2022-10-09 te/moving-costs.html                        Keep Your Money During a Move           By Daniel Bortz              TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/25/realesta A BedStuy Mansion Is Rubble Residents Ask
2022-09-25   2022-10-09 te/brooklyn-bed-stuy-dangler-mansion.html Why                                         By Victoria M Walker       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/26/books/r
                        eview/donald-yacovone-teaching-white-
2022-09-26   2022-10-09 supremacy.html                              Taught to Hate                            By Dana Goldstein          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/26/us/pand LeVar Burton and Others Helped Us Through
2022-09-26   2022-10-09 emic-inspiration-bts-levar-burton.html      Pandemic                                  By Joshua Needelman        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/books/r
                        eview/the-family-izquierdo-ruben-
2022-09-28   2022-10-09 degollado.html                              Borderlands                               By Kawai Strong Washburn   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/books/r
                        eview/all-this-could-be-different-sarah-
                        thankam-mathews-the-means-amy-fusselman-
2022-09-29   2022-10-09 identitti-mithu-sanyal.html                 The Shortlist Debut Novels                By Olivia Craighead        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/books/r
2022-09-29   2022-10-09 eview/solito-javier-zamora.html             Inside the List                           By Elisabeth Egan          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/books/r
                        eview/the-hero-of-this-book-elizabeth-
2022-10-02   2022-10-09 mccracken.html                              Mother Country                            By Janice YK Lee           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/02/style/se
                        lf-care/my-year-of-stress-and-
2022-10-02   2022-10-09 constipation.html                           My Year of Stress and Constipation        By Cara Schacter           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/arts/mu
2022-10-03   2022-10-09 sic/les-rallizes-denudes.html               One of Rocks Mysteries Unraveled          By Ben Sisario             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/books/r
                        eview/american-midnight-adam-
2022-10-03   2022-10-09 hochschild.html                             Extreme Measures                          By Thomas Meaney           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/arts/mu
2022-10-04   2022-10-09 sic/christian-thielemann-dresden.html       A Great Maestro Suddenly a Free Agent     By Zachary Woolfe          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/books/r
2022-10-04   2022-10-09 eview/the-winners-fredrik-backman.html      Hat Trick                                 By Mark Rotella            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/magazi
2022-10-04   2022-10-09 ne/abortion-interstate-travel-post-roe.html Abortion Pills Are Medication Contraband  By Emily Bazelon           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/magazi
2022-10-04   2022-10-09 ne/bidets-muslims.html                      Bidets                                    By Muna Mire               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/magazi Am I Obligated to Look After My
2022-10-04   2022-10-09 ne/parental-care-ethics.html                Insufferable Mother                       By Kwame Anthony Appiah    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/opinion
                        /the-all-too-real-risk-of-a-global-
2022-10-04   2022-10-09 recession.html                              The First Global Deflation Has Begun      By Adam Tooze              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/style/an                                           By Michelle V Agins and
2022-10-04   2022-10-09 na-murray-douglass-wedding-dress.html       Walking Down the Aisle of History         Christopher Barnard        TX 9-233-140   2022-12-01



                                                                             Page 4343 of 5793
                        https://www.nytimes.com/2022/10/04/t-
2022-10-04   2022-10-09 magazine/barbara-chase-riboud.html          Monumental Work and a Monumental Life       By Shirley Ngozi Nwangwa       TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/05/arts/tele
2022-10-05   2022-10-09 vision/jake-lacy-a-friend-of-the-family.html Charm Twisted For a Dark Role              By Alexis Soloski              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/arts/tele
2022-10-05   2022-10-09 vision/penn-jillette-favorite-things.html    Penn Jillette Owns a Lot of Lava Lamps     By Chris Kornelis              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/health/ Curtailing Diabetes Requires More Than
2022-10-05   2022-10-09 diabetes-prevention-diet.html                Medicine                                   By Roni Caryn Rabin            TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/05/magazi Just a Lttle Patience Jamaican stew peas are a
2022-10-05   2022-10-09 ne/jamaican-stew-peas-recipe.html              delicious lesson in the rewards of slowness By Bryan Washington         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/magazi
2022-10-05   2022-10-09 ne/new-orleans-jazz-preservation-hall.html     Facing the Music                            By Brett Martin             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/magazi
2022-10-05   2022-10-09 ne/uruguay-renewable-energy.html               Tilting at Windmills                        By Noah Gallagher Shannon   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/magazi
                        ne/viral-videos-of-rats-roaches-and-grime-this-
2022-10-05   2022-10-09 is-how-new-york-flatters-itself.html           Grime Scene                                 By Jody Rosen               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/opinion Loretta Lynn Was One of the Great
2022-10-05   2022-10-09 /loretta-lynn-dead-remembrance.html            Romanticists                                By Hanif Abdurraqib         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/opinion
2022-10-05   2022-10-09 /ukraine-russia-nuclear-war.html               Putin Is Escalating at Every Turn           By Michael Dobbs            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/realesta
2022-10-05   2022-10-09 te/bergen-county-emerson-nj.html               A Town That Makes Families a Priority       By Jay Levin                TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/05/realesta
2022-10-05   2022-10-09 te/david-lee-hoffman-california-eviction.html An Odd Sanctuary Still at Risk 5 Decades In By Achy Obejas               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/realesta
2022-10-05   2022-10-09 te/malaysia-house-hunting.html                A Luminous Shophouse Flourishes in Penang By Alison Gregor               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/style/lo
2022-10-05   2022-10-09 uis-vuitton-chanel-paris-fashion-week.html Sex Nostalgia and CodeSwitching                By Vanessa Friedman          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/style/wi
2022-10-05   2022-10-09 fe-diary-cousin.html                          My Wifes Diary                              By Philip Galanes            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/theater/
2022-10-05   2022-10-09 suzan-lori-parks.html                         Plenty of Her Worlds on View                By Michael Paulson           TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/06/arts/dan With Every Move Tracing a Link To Algerian
2022-10-06   2022-10-09 ce/esraa-warda-rai-north-african-dances.html Roots                                     By Madison Mainwaring           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/educati
2022-10-06   2022-10-09 on/learning/college-course-sharing.html      Teaming Up to Survive                     By Jon Marcus                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/educati
2022-10-06   2022-10-09 on/learning/community-schools.html           More Than Just Teaching                   By Alina Tugend                 TX 9-233-140   2022-12-01




                                                                                 Page 4344 of 5793
                        https://www.nytimes.com/2022/10/06/educati
                        on/learning/schools-teaching-reading-
2022-10-06   2022-10-09 phonics.html                               Sounding It Out                                  By Bella DiMarco                 TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/06/educati
2022-10-06   2022-10-09 on/learning/student-mental-health-crew.html Building Student Bonds                          By Laura van Straaten            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/educati
2022-10-06   2022-10-09 on/learning/students-mental-health.html     A Mental Health Challenge                       By Eilene Zimmerman              TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/06/educati
2022-10-06   2022-10-09 on/learning/students-school-absenteeism.html Getting Back to Class                          By Phyllis W Jordan              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/educati
                        on/learning/students-schools-colleges-
2022-10-06   2022-10-09 pandemic-life.html                             Voices From Campus                           By The New York Times            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/educati
2022-10-06   2022-10-09 on/learning/tutoring-learning-loss.html        Turning to Tutoring                          By Anna Nordberg                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/magazi
                        ne/judge-john-hodgman-on-not-wrapping-
2022-10-06   2022-10-09 gifts.html                                     Bonus Advice From Judge John Hodgman         By John Hodgman                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/magazi
2022-10-06   2022-10-09 ne/lydia-millet-dinosaurs.html                 BirdsEye View                                By Christine Smallwood           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/magazi
                        ne/poem-during-an-enchantment-in-the-                                                       By Brenda Hillman and Victoria
2022-10-06   2022-10-09 life.html                                      Poem During an Enchantment in the Life       Chang                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/movies/
                        last-flight-home-documentary-ondi-
2022-10-06   2022-10-09 timoner.html                                   He Chose to Die She Hit Record               By Nicole Sperling               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/needies
                        t-cases/for-new-yorks-food-insecure-a-lifeline-For New Yorks Food Insecure a Lifeline
2022-10-06   2022-10-09 when-it-matters-most.html                      When It Matters Most                         By Remy Tumin                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/nyregio
                        n/staten-island-bikers-child-abuse-
2022-10-06   2022-10-09 nonprofit.html                                 Protecting Children 25 Hours a Day           By Bahar Ostadan                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/opinion
2022-10-06   2022-10-09 /the-oppermanns-feuchtwanger.html              A 90YearOld Book Tried To Warn Us            By Pamela Paul                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/realesta
2022-10-06   2022-10-09 te/nyc-apartment-amenities-value.html          Amenities That Sell Apartments               By Michael Kolomatsky            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/sports/f In a Major Upset Two Winning Teams Are
2022-10-06   2022-10-09 ootball/nfl-week-5-picks.html                  Playing in London                            By David Hill                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/style/so
2022-10-06   2022-10-09 ft-launch-relationship-social-media.html       Dropping Hints to Reveal a Relationship      By Laura Pitcher                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/style/us
2022-10-06   2022-10-09 a-mullet-championships.html                    Inside the Search for Americas Best Mullet   By Maggie Lange                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/us/fat- For the Insatiable Contestants in Alaskas Fat
2022-10-06   2022-10-09 bear-week.html                                 Bear Week Excess Means Success               By Remy Tumin                    TX 9-233-140   2022-12-01



                                                                                  Page 4345 of 5793
                        https://www.nytimes.com/2022/10/06/us/polit
2022-10-06   2022-10-09 ics/joseph-brody-jan-6-youngkin.html        Jan 6 Defendant Aided Youngkin Campaign By Neil Vigdor and Alan Feuer        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/world/ SelfImposed Veil Keeps Nation Cloaked Even
2022-10-06   2022-10-09 middleeast/algeria-oran-camus.html          From Itself                              By Roger Cohen                      TX 9-233-140   2022-12-01

                        https://www.nytimes.com/interactive/2022/10/ Sizing Up to a House in Jersey City How
2022-10-06   2022-10-09 06/realestate/jersey-city-heights-houses.html Much Work Was Too Much                    By Debra Kamin                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/arts/des
                        ign/charles-gaines-governors-island-public-art-
2022-10-07   2022-10-09 chains.html                                    Evoking Our Past for the Public to See   By Siddhartha Mitter             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/arts/mu Anton Fier Explosive Drummer With a
2022-10-07   2022-10-09 sic/anton-fier-dead.html                       Troubled Side Dies at 66                 By Alex Williams                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/books/r
2022-10-07   2022-10-09 eview/new-crime-fiction.html                   Murder Games                             By Sarah Weinman                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/books/r
                        eview/victory-stand-tommie-smith-call-him-
                        jack-the-story-of-jackie-robinson-black-
2022-10-07   2022-10-09 freedom-fighter.html                           Sports Stories That Transcend Sport      By Matt de la Pea                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/briefing
2022-10-07   2022-10-09 /covid-treatment-paxlovid.html                 Paxlovids Power and Its Underuse         By David Leonhardt               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/busines David Beckwith 79 Who Scooped Supreme
2022-10-07   2022-10-09 s/media/david-beckwith-dead.html               Court on Roe                             By Ed Shanahan                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/busines
2022-10-07   2022-10-09 s/us-dollar-global-economy.html                The Mixed Blessing of a Strong Dollar    By Jeff Sommer                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/nyregio How Iranians in New York Help the Protests
2022-10-07   2022-10-09 n/iranian-americans-protests.html              Abroad                                   By Sasha von Oldershausen        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/nyregio
2022-10-07   2022-10-09 n/new-york-city-trash-mckinsey.html            Will McKinsey Put a Lid on Our Garbage   By Ginia Bellafante              TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/07/opinion The Constitution Is in Tension With
2022-10-07   2022-10-09 /constitution-democracy-biden-trump.html    Democracy                                    By Jamelle Bouie                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/opinion The Fiery Brilliance of Obamas Lost Book
2022-10-07   2022-10-09 /obama-lost-book-manuscript.html            Manuscript                                   By Timothy Shenk                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/realesta
                        te/segregated-school-landmark-
2022-10-07   2022-10-09 manhattan.html                              Trying to Save The Citys Last Colored School By John Freeman Gill            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/sports/s Arsenal the Premier Leagues Quiet Team
2022-10-07   2022-10-09 occer/arsenal-liverpool-fans.html           Finally Finds Its Voice                      By Rory Smith and Ben Quinton   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/style/co With a Nudge From a Mother Finding a
2022-10-07   2022-10-09 urtney-dec-brett-lanham-wedding.html        Lifelong Partner                             By Hilary Sheinbaum             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/style/da All the Signs of Love Were There for Them to
2022-10-07   2022-10-09 na-mckinney-david-white-wedding.html        See                                          By Sadiba Hasan                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/style/jo Making the Case for a Relationship Based on
2022-10-07   2022-10-09 anne-wu-jeffrey-white-wedding.html          Sharing                                      By Nina Reyes                   TX 9-233-140   2022-12-01




                                                                                Page 4346 of 5793
                        https://www.nytimes.com/2022/10/07/style/le
2022-10-07   2022-10-09 a-hadad-levi-duchman-wedding.html           Traditions Transcended on a Dance Floor       By Valeriya Safronova       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/style/m
                        odern-love-for-good-luck-in-love-rub-the-
2022-10-07   2022-10-09 bronze-bulge.html                           To Find Love Rub the Bronze Bulge             By Susanne Parker Loelius   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/07/technol Heres Whos Hanging Out In Metas Bid For
2022-10-07   2022-10-09 ogy/metaverse-facebook-horizon-worlds.html the Future                                     By Kashmir Hill             TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/07/us/merc
2022-10-07   2022-10-09 ed-kidnapped-family-brothers-charged.html Charges in Abduction and Murder of Family       By Michael Levenson         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/us/polit
2022-10-07   2022-10-09 ics/montana-lifts-voting-restrictions.html  Court Lifts Voting Restrictions in Montana    By Maggie Astor             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/world/a
                        mericas/easter-island-fire-statues-
2022-10-07   2022-10-09 damaged.html                                Fire Ruins Some of Easter Islands Statues     By Johnny Diaz              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/world/e Reckoning With Legacy of Shame Ireland
2022-10-07   2022-10-09 urope/ireland-adoption-records.html         Opens Secret Records to Adoptees              By Ed OLoughlin             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/article/tropical-
                        storm-julia-hurricane-caribbean-central-
2022-10-07   2022-10-09 america.html                                Tropical Storm to Become Hurricane            By The New York Times       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/arts/mu Revamped Geffen Hall Opens Trading a
2022-10-08   2022-10-09 sic/david-geffen-hall-reopens.html          Welcome Mat for the Black Ties                By Javier C Hernndez        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/busines How a Scottish Moral Philosopher Got Elons
2022-10-08   2022-10-09 s/effective-altruism-elon-musk.html         Number                                        By Nicholas Kulish          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/nyregio
2022-10-08   2022-10-09 n/brooklyn-cypress-hills-gun-violence.html Crime Is Up Cypress Hills Is Used to It        By Chelsia Rose Marcius     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/nyregio Hochul Outpaces Zeldin in Cash Race but
2022-10-08   2022-10-09 n/hochul-zeldin-fund-raising.html           Super PACs Help His Cause                     By Nicholas Fandos          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/nyregio
2022-10-08   2022-10-09 n/kwame-onwuachi-tatiana.html               I Dont Plan Stuff Just Starts Bubbling Up     By Paige Darrah             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/opinion
2022-10-08   2022-10-09 /chelsea-manning.html                       I Shared Secrets Now I Tell My Story          By Chelsea Manning          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/opinion
2022-10-08   2022-10-09 /disappeared-mental-illness.html            A Lost Friend on My Mind                      By Kyle Ellingson           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/opinion
2022-10-08   2022-10-09 /herschel-walker-trump-republican.html      Republicans Unholy Alliances                  By Maureen Dowd             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/opinion The Brave Women of Iran Deserve More US
2022-10-08   2022-10-09 /iran-protests-women.html                   Support                                       By The Editorial Board      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/opinion A Cure for the Existential Crisis of Married
2022-10-08   2022-10-09 /married-divorce-parent.html                Motherhood                                    By Amy Shearn               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/opinion
2022-10-08   2022-10-09 /russia-iran-china-putin.html               A Crisis of Illiberalism                      By Ross Douthat             TX 9-233-140   2022-12-01




                                                                                Page 4347 of 5793
                        https://www.nytimes.com/2022/10/08/realesta
                        te/noise-complaint-condo-gym-                The Noise From My Buildings Gym Is
2022-10-08   2022-10-09 downstairs.html                              Unbearable What Can I Do                    By Ronda Kaysen                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/sports/b No Hot Dogs in the Clubhouse What Would
2022-10-08   2022-10-09 aseball/snack-foods-dietitians.html          Babe Ruth Say                               By Adam Elder                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/sports/b Green Delivers an Apology For Punching a
2022-10-08   2022-10-09 asketball/draymond-green-apology.html        Teammate                                    By Shauntel Lowe               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/sports/f
                        ootball/nfl-concussion-protocol-change-      NFL Changes Concussion Protocol Starting By Jenny Vrentas and Emmanuel
2022-10-08   2022-10-09 tagavailoa.html                              Sunday                                      Morgan                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/style/ch
2022-10-08   2022-10-09 loe-cherry-euphoria.html                      A Real Life Like a Euphoria Plot           By Alex Hawgood                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/upshot/ How Insurance Firms Exploited Medicare        By Reed Abelson and Margot
2022-10-08   2022-10-09 medicare-advantage-fraud-allegations.html    Advantage for Billions                      SangerKatz                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/us/billy- Billy Sothern Crusading New Orleans Capital
2022-10-08   2022-10-09 sothern-dead.html                            Defense Lawyer Dies at 45                   By Clay Risen                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/us/pine- In California a Hardy Pine Has Lived for     By Soumya Karlamangla and Adam
2022-10-08   2022-10-09 trees-bishop-california.html                 4800 Years                                  Perez                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/us/polit Vances First Attempt to Revitalize Ohio Fell
2022-10-08   2022-10-09 ics/jd-vance-ohio-senate-nonprofit.html      Apart Within Two Years                      By David A Fahrenthold         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/us/polit Battle for the Senate Intensifies As         By Shane Goldmacher Reid J
2022-10-08   2022-10-09 ics/senate-midterm-elections.html            Tumultuous Midterms Loom                    Epstein and Jonathan Weisman   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/us/polit How Trump Deflected Demands for Boxes of By Maggie Haberman and Michael
2022-10-08   2022-10-09 ics/trump-documents-lawyers.html             Documents Enmeshing Aides                   S Schmidt                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/us/trum In a Trump Case Texas Is Creating Headaches By Danny Hakim and Richard
2022-10-08   2022-10-09 p-case-texas-georgia.html                    for Georgia Prosecutors                     Fausset                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/world/a After Secret US Talks Fail a Hidden War in
2022-10-08   2022-10-09 frica/ethiopia-tigray-war-talks-us.html      Africa Rapidly Escalates                    By Declan Walsh                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/world/a                                               By Andrew Higgins and Sergey
2022-10-08   2022-10-09 sia/russia-putin-soviet.html                 Moscow Losing Grip on Cold War Realm        Ponomarev                      TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/08/world/a Sticky Rice and Toy Trucks Thai Town
2022-10-08   2022-10-09 sia/thailand-shooting-day-care-funerals.html Honors Tradition in Tragedy              By SuiLee Wee and Ryn Jirenuwat TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/08/world/c Home Prices in Canada Strain Budgets Even
2022-10-08   2022-10-09 anada/canada-real-estate-market.html         as Market Cools                          By Ian Austen                   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/08/world/
                        middleeast/egypt-new-administrative-         A New Capital Rises in Egypt but at What
2022-10-08   2022-10-09 capital.html                                 Price                                    By Declan Walsh and Vivian Yee TX 9-233-140      2022-12-01

                        https://www.nytimes.com/2022/10/08/world/e Blast on Crimea Bridge Disrupts Supply     By Michael Schwirtz and Andrew
2022-10-09   2022-10-09 urope/ukraine-crimea-bridge-explosion.html Route In Major Blow to Putin               E Kramer                         TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/09/busines
                        s/the-week-in-business-elon-musk-
2022-10-09   2022-10-09 twitter.html                               The Week in Business Elon Musks Reversal   By Marie Solis                   TX 9-233-140    2022-12-01




                                                                              Page 4348 of 5793
                        https://www.nytimes.com/2022/10/09/insider/
2022-10-09   2022-10-09 a-clear-look-at-chinas-deep-sea-fishing.html Diving Into Chinas Fishing Operation         By Terence McGinley               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/science Decades of Nuclear Reactor Strikes Predate a
2022-10-09   2022-10-09 /ukraine-nuclear-power-plant-crisis.html     Mounting Power Plant Crisis                  By William J Broad                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/style/fa
                        shion-gala-george-amal-clooney-justice-
2022-10-09   2022-10-09 carnegie-hall.html                           Rolling Out The Red Carpet Across the City By Denny Lee                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/article/indigenous-
2021-10-11   2022-10-10 peoples-day.html                             Observing a Holiday For Indigenous People By Melina Delkic and Anna Betts TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/09/16/busines As Driverless Cars Falter DriverAssistance
2022-09-16   2022-10-10 s/driverless-cars-assistance-systems.html    Systems Move to the Fore                     By Lawrence Ulrich                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/22/busines The Hyperloop Once Seemed Promising Is It
2022-09-22   2022-10-10 s/hyperloop-transit-virgin.html              Now Doomed                                   By Eric A Taub                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/24/travel/a
2022-09-24   2022-10-10 laska-field-sketching.html                   Outdoor Alaska Captured in Sketchbooks       By Jenna Schnuer                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/movies/
                        davine-joy-randolph-only-murders-in-the-
2022-10-04   2022-10-10 building-on-the-come-up.html                 I Never Want to Get Pigeonholed              By Dave Itzkoff                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/10/
                        04/climate/south-asia-monsoon-climate-                                                    By Henry Fountain Zach Levitt and
2022-10-05   2022-10-10 change.html                                  The Monsoon Is Becoming More Extreme         Jeremy White                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/theater/
2022-10-06   2022-10-10 oscar-levant-play-sean-hayes.html            Unscripted Drama Unfolds on Broadway         By Michael Paulson                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/arts/tele
                        vision/interview-with-the-vampire-let-the-
2022-10-07   2022-10-10 right-one-in-reginald-the-vampire.html       Vampire Season For Various Tastes            By Mike Hale                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/climate
2022-10-07   2022-10-10 /monsoon-nyt-climate-newsletter.html         The Wet and the Dry of the Monsoon           By Henry Fountain                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/movies/
2022-10-07   2022-10-10 pretty-problems-review.html                  A Long and Winding Weekend in Sonoma         By Manohla Dargis                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/opinion Its Like a War Out There Irans Women
2022-10-07   2022-10-10 /iran-women-protests.html                    Havent Been This Angry in a Generation       By Azadeh Moaveni                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/sports/s With 9 Teams in Its 3rd Season SailGP Is
2022-10-07   2022-10-10 ailing/sailgp-third-season.html              Starting to Look All Grown Up                By David Schmidt                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/us/calif Wildfire Destroys a Piece of Black History in
2022-10-07   2022-10-10 ornia-lincoln-heights-wildfire.html          Rural California                             By Kellen Browning                TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/07/busines Rivian Recalls 13000 Electric Vehicles Over
2022-10-08   2022-10-10 s/rivian-recall-steering.html               Loose Bolt That Could Affect Steering      By Isabella Simonetti              TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/08/arts/dan Stephanie Dabney Dancer Who Became a
2022-10-08   2022-10-10 ce/stephanie-dabney-dead.html               Global Star Dies at 64                     By Claudia Bauer                   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/08/arts/sav Preserved Tattoos Offer Way to Keep Loved
2022-10-08   2022-10-10 e-my-ink-forever-tattoo-preservation.html   Ones Close Even After Death                By McKenna Oxenden                 TX 9-233-140     2022-12-01




                                                                                Page 4349 of 5793
                        https://www.nytimes.com/2022/10/08/busines
                        s/dealbook/chinese-communist-party-congress As Chinas Party Congress Begins the
2022-10-08   2022-10-10 business.html                                  Economic Impact Is Considered               By Keith Bradsher              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/science Activists Acquitted in Theft of Smithfield
2022-10-08   2022-10-10 /animals-rights-piglets-smithfield.html        Piglets                                     By Andrew Jacobs               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/sports/i Theyre Graduating To the Ironman While in
2022-10-08   2022-10-10 ronman-college-athletes.html                   College                                     By David W Chen                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/busines Grace Glueck Writer Who Fought for
2022-10-09   2022-10-10 s/media/grace-glueck-dead.html                 Equality at The Times Dies at 96            By Joseph Giovannini           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/us/san-
                        antonio-officer-fired-shooting-                San Antonio Officer Fired After Shooting
2022-10-09   2022-10-10 mcdonalds.html                                 Teen in Car                                 By Vimal Patel                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/arts/dan Kevin Locke 68 Who Helped to Preserve
2022-10-09   2022-10-10 ce/kevin-locke-dead.html                       Lakota Culture                              By Neil Genzlinger             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/books/l
2022-10-09   2022-10-10 atin-american-women-writers-horror.html        Reality Confronts The Unreal                By Benjamin P Russell          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/books/ Adventures in the Wilderness and in the
2022-10-09   2022-10-10 wild-life-peter-beard-graham-boynton.html Bedroom                                          By Alexandra Jacobs            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/busines
                        s/media/kanye-west-antisemitic-racist-twitter-
2022-10-09   2022-10-10 instagram.html                                 Rapper in Trouble Over Posts About Jews     By Stuart A Thompson           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/busines
2022-10-09   2022-10-10 s/media/netflix-family-movies.html             Streaming Giants Fill a Family Movie Void   By Nicole Sperling             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/busines Weinsteins California Sex Crimes Trial to       By Brooks Barnes and Jonah E
2022-10-09   2022-10-10 s/media/weinstein-los-angeles-trial.html       Begin With Bigger Stakes                    Bromwich                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/nyregio Proactively Enforce a New York Gun Law          By Jesse McKinley and Cole
2022-10-09   2022-10-10 n/ny-gun-law-sheriffs.html                     Thats Not Going to Happen                   Louison                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/opinion The Exploitative AntiBlackness Of Kanye
2022-10-09   2022-10-10 /racism-kanye-west.html                        West                                        By Charles M Blow              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/sports/b
                        aseball/albert-pujols-yadier-molina-           Theres Nothing to Be Sad About Pujols and
2022-10-09   2022-10-10 cardinals.html                                 Molina Say Goodbye                          By Tyler Kepner                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/sports/b
2022-10-09   2022-10-10 aseball/aroldis-champman-yankees.html          After Playing Hooky Chapman Wont Play       By James Wagner                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/sports/b The Guardians Who Used 17 Rookies This
2022-10-09   2022-10-10 aseball/guardians-yankees-alds.html            Season Learn and Unite Fast                 By Scott Miller                TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/09/sports/b
2022-10-09   2022-10-10 aseball/the-grandest-stage-book-excerpt.html When Lesser Lights Shone Brightest      By Tyler Kepner                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/sports/e US Womens Record Falls Again To a Runner
2022-10-09   2022-10-10 mily-sisson-chicago-marathon-results.html    Who Came in Second                      By Talya Minsberg                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/sports/f Unlike Tagovailoa His Backup Is Shelved
2022-10-09   2022-10-10 ootball/dolphins-jets-score.html             After Banging Head                      By Emmanuel Morgan                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/sports/n
2022-10-09   2022-10-10 fl-week-5-takeaways.html                     What We Learned This Week               By Derrik Klassen                    TX 9-233-140   2022-12-01



                                                                                  Page 4350 of 5793
                        https://www.nytimes.com/2022/10/09/sports/s
2022-10-09   2022-10-10 usannah-scaroni-chicago-marathon.html       3 Weeks 3 Marathons 3 Top3 Finishes        By Matthew Futterman             TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/09/us/calif
2022-10-09   2022-10-10 ornia-high-speed-rail-politics.html         Costs Soaring As Bullet Train Goes Nowhere By Ralph Vartabedian             TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/09/us/polit Judge Narrows Trial of a Russia Analyst    By Charlie Savage and Adam
2022-10-09   2022-10-10 ics/durham-trump-steele-dossier-trial.html  Behind Salacious Claims About Trump        Goldman                          TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/09/world/a Rwanda Offers Refuge But Critics Are
2022-10-09   2022-10-10 frica/migration-crisis-rwanda.html          Skeptical                                  By Abdi Latif Dahir              TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/09/world/a Thailands Gun Laws Strict for Some Are      By Damien Cave Muktita
2022-10-09   2022-10-10 sia/thailand-gun-laws-shootings.html        Tragically Lax for Others                  Suhartono and Mike Ives          TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/09/world/e Fear of Reprisal For Bridge Blast Dims      By Megan Specia Michael Schwirtz
2022-10-09   2022-10-10 urope/crimea-bridge-ukraine-russia.html     Kyivs Joy                                  and Neil MacFarquhar             TX 9-233-140        2022-12-01

                        https://www.nytimes.com/2022/10/09/world/e
2022-10-09   2022-10-10 urope/greece-universities-campus-police.html Greeces Students Balk at Campus Police     By Niki Kitsantonis                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/world/e The Front Line Is Shifting Fast as Ukrainian
2022-10-09   2022-10-10 urope/russia-ukraine-forces-borova.html      Forces Recapture Territory                 By Carlotta Gall and Ivor Prickett   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/world/e American Finds in Ukraine the War He
2022-10-09   2022-10-10 urope/ukraine-war-americans.html             Sought                                     By Jeffrey Gettleman                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/world/
                        middleeast/israel-palestinian-checkpoint-    Jerusalem on Edge After Deadly Checkpoint
2022-10-09   2022-10-10 shooting.html                                Shooting                                   By Isabel Kershner                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/world/ Its the Eye of Sauron A Solar Tower Dazzles By Patrick Kingsley and Amit
2022-10-09   2022-10-10 middleeast/israel-solar-tower.html           and Annoys Its Neighbors                   Elkayam                              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/books/c From Working the Dairy Farm To Owning the
2022-10-10   2022-10-10 olleen-hoover.html                           BestSeller List                            By Alexandra Alter                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/09/nyregio                                                 By Vimal Patel and Nicholas
2022-10-10   2022-10-10 n/lee-zeldin-shooting-long-island-home.html Two People Shot Outside Zeldins Home           Fandos                            TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/09/sports/b
2022-10-10   2022-10-10 aseball/mets-padres-wild-card-game-3.html No Miracle for These Mets                        By James Wagner                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/technol                                                 By Ryan Mac Sheera Frenkel and
2022-10-10   2022-10-10 ogy/meta-zuckerberg-metaverse.html           Inside Zuckerbergs Metaverse Struggles        Kevin Roose                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/theater/
2022-10-10   2022-10-10 review-death-of-a-salesman.html              Making the Lomans Feel New Again              By Jesse Green                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/arts/tele
                        vision/whats-on-tv-this-week-38-at-the-
2022-10-10   2022-10-10 garden-and-a-twilight-saga-marathon.html     This Week on TV                               By Shivani Gonzalez               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/busines
2022-10-10   2022-10-10 s/india-jute-reusable-shopping-bags.html     Reusable Bags Rescue a Global Producer        By Sameer Yasir                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/us/hers
                        chel-walker-evangelical-christians-          In Georgias Senate Race Evangelicals Find a
2022-10-10   2022-10-10 georgia.html                                 Way With Walker                               By Elizabeth Dias                 TX 9-233-140   2022-12-01




                                                                                 Page 4351 of 5793
                        https://www.nytimes.com/2022/10/10/us/polit
                        ics/supreme-court-state-legislature-        How Local Races Could Help Tilt Direction
2022-10-10   2022-10-10 elections.html                              of US                                      By Nick Corasaniti               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/20/science How Does an Octopus Hunt Its Sort of a Call
2022-09-20   2022-10-11 /octopus-arms-hunting.html                  to All Arms                                By Veronique Greenwood           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/22/science Heck of a Head Count For a Proper Ant
2022-09-22   2022-10-11 /ants-census-20-quadrillion.html            Census You Need a Lot of Zeros             By Rebecca Dzombak               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/22/well/liv
2022-09-23   2022-10-11 e/exercise-safety-fall-winter.html          Exercise Safely as Days Get Shorter        By Melinda Wenner Moyer          TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/28/busines
2022-09-28   2022-10-11 s/pregnancy-care-app-poppy-seed-health.html App Connects Pregnant Women With Support By Tonya Russell                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/science
2022-09-28   2022-10-11 /jaws-fish-fossils-china.html               New Fossils Are a Prequel To Jaws        By Asher Elbein                    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/30/arts/des Museums May Sell Art to Care for Other
2022-09-30   2022-10-11 ign/museum-leaders-vote-deaccessioning.html Works                                      By Julia Jacobs                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/well/liv
2022-09-30   2022-10-11 e/hair-loss-covid.html                      Hair Loss After Covid What You Can Do      By Knvul Sheikh                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/science Scouring the Scat City Coyotes Keep Their
2022-10-03   2022-10-11 /coyotes-new-york-diets.html                Diet Varied and Wild                       By Bethany Brookshire            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/well/liv
2022-10-03   2022-10-11 e/teeth-whitening-safety.html               For Brighter Teeth Do Your Homework        By Hannah Seo                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/science Ancient Soldiers of Fortune Revealed by
2022-10-04   2022-10-11 /greece-sicily-himera-genetics.html         DNA                                        By Franz Lidz                    TX 9-233-140   2022-12-01
                                                                    Capturing Complex Motion A Lab That
                        https://www.nytimes.com/2022/10/04/science Cracks the Whip For Better Robots and
2022-10-04   2022-10-11 /whips-sensors-brain.html                   Prosthetics                                By Carolyn Wilke                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/well/m Why Does a Long Run Send Me Running to
2022-10-04   2022-10-11 ove/runners-gut-explained.html              the Restroom                               By Rachel Fairbank               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/arts/nyc
2022-10-06   2022-10-11 halloween-events-activities.html            Autumnal Days Mix With Fright Nights       By Kalia Richardson              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/dining/ Colin Alevras 51 a Chef And Creator of a
2022-10-06   2022-10-11 colin-alevras-dead.html                     Cuisine From the Farmers Market            By Eric Asimov                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/movies/
2022-10-07   2022-10-11 triangle-of-sadness-dolly-de-leon.html      Films Unexpected Power Player              By Carlos Aguilar                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/sports/a He Gave Up Football Then He Shook Up       By Jonathan Abrams and Michael
2022-10-07   2022-10-11 utoracing/nascar-dion-williams-rocko.html   NASCAR                                     Noble Jr                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/theater/
2022-10-07   2022-10-11 hamilton-review-hamburg-germany.html        How Do You Say Thrilling in German         By AJ Goldmann                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/theater/ Robert Kalfin Founder of Groundbreaking
2022-10-07   2022-10-11 robert-kalfin-dead.html                     Chelsea Theater Dies at 89                 By Neil Genzlinger               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/travel/r Its Easier Than Ever to Work Remotely
2022-10-07   2022-10-11 emote-work-guide.html                       Around the Globe                           By Nora Walsh                    TX 9-233-140   2022-12-01




                                                                               Page 4352 of 5793
                        https://www.nytimes.com/2022/10/09/arts/des
2022-10-09   2022-10-11 ign/art-public-space-community-gardens.html Works That Rose Through the Cracks         By John Vincler                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/arts/des
                        ign/tudors-renaissance-england-met-
2022-10-09   2022-10-11 museum.html                                 A Dynasty Aided By Creative Allies         By Jason Farago                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/arts/do Douglas Kirkland 88 Who Captured Stars For
2022-10-09   2022-10-11 uglas-kirkland-dead.html                    Decades Is Dead                            By Richard Sandomir                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/busines                                             By John Koblin and Benjamin
2022-10-09   2022-10-11 s/media/late-night-talk-shows.html          Will It Be Lights Out for LateNight Talk   Mullin                              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/us/los- Los Angeles City Council President Resigns
2022-10-10   2022-10-11 angeles-city-council-tape-leak.html         in Light of Racist Comments                By Jill Cowan and Shawn Hubler      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/arts/mu
2022-10-10   2022-10-11 sic/wagner-ring-berlin-opera-review.html    Grim Office Sitcom In a Lab From Hell      By Joshua Barone                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/books/l
2022-10-10   2022-10-11 ouise-gluck-marigold-and-rose.html          In a Liminal Zone Between Poetry and Prose By Dwight Garner                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/briefing Sorting Out a Job Market Thats Strong and
2022-10-10   2022-10-11 /economy-jobs-inflation.html                Fluid All at Once                          By Ben Casselman                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/busines
2022-10-10   2022-10-11 s/boris-johnson-uk.html                     Boris Johnson May Thrive As Boris Inc      By David Segal                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/busines
                        s/economy/uk-government-fiscal-plan-        Tax Agenda Will Update On Halloween UK
2022-10-10   2022-10-11 tax.html                                    Says                                       By Eshe Nelson                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/busines
                        s/economy/warehouses-moratorium-            As Warehouses Multiply Cities Draw the
2022-10-10   2022-10-11 california.html                             Line                                       By Kurtis Lee and Alex Welsh        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/busines
2022-10-10   2022-10-11 s/fed-inflation-rates-brainard.html         Feds No 2 Makes Case For Caution           By Jeanna Smialek                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/busines Bernanke and 2 Others Win For Work on
2022-10-10   2022-10-11 s/nobel-prize-economics-winner.html         Banks in Crises                            By Jeanna Smialek                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/busines Trump Media And SPAC Extend Vote To
2022-10-10   2022-10-11 s/trump-truth-social-spac.html              Nov 3                                      By Matthew Goldstein                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/climate The World Champions of Banishing Water
2022-10-10   2022-10-11 /netherlands-drought-climate-change.html    Now Work to Keep It                        By Raymond Zhong                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/health/c
2022-10-10   2022-10-11 ancer-vaccines.html                         New Hopes for a Cancer Vaccine             By Gina Kolata                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/health/ Embarking on a New Frontier for Hearing
2022-10-10   2022-10-11 hearing-aids-fda.html                       Aids                                       By Paula Span                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/nyregio Man Charged After Toddler Is Fatally Hurt
2022-10-10   2022-10-11 n/brooklyn-father-daughter-death.html       From a Punch                               By Chelsia Rose Marcius             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/nyregio Women Arrested After a Man Is Stabbed to
2022-10-10   2022-10-11 n/bus-stabbing-new-york.html                Death on a New York City Bus               By Chelsia Rose Marcius             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/opinion The Midterms Arent the Only Things That
2022-10-10   2022-10-11 /biden-marijuana-border-midterms.html       Loom                                       By Gail Collins and Bret Stephens   TX 9-233-140   2022-12-01




                                                                                Page 4353 of 5793
                        https://www.nytimes.com/2022/10/10/opinion Xi Jinping Is a Captive of the Communist
2022-10-10   2022-10-11 /china-politics-xi.html                     Party Too                                      By Kerry Brown                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/opinion
2022-10-10   2022-10-11 /loretta-lynn-trump-feminism-love.html      Learning to Love the Coal Miners Daughter By Margaret Renkl                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/science
2022-10-10   2022-10-11 /black-holes-cosmology-hologram.html        Weird and Magical                              By Dennis Overbye                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/sports/b
                        aseball/aaron-judge-yankees-intentional-    Just Walk Judge These Days Pitchers May
2022-10-10   2022-10-11 walks.html                                  Have Different Intentions                      By James Wagner                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/sports/b
2022-10-10   2022-10-11 aseball/andrew-friedman-dodgers.html        The Gold Standard Goes Ring Hunting            By Tyler Kepner                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/sports/b With Changes Looming Mets Try to Be
2022-10-10   2022-10-11 aseball/mets-offseason.html                 Positive Through the Pain                      By James Wagner                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/sports/s US Players Won Equal Pay Fight Offering a
2022-10-10   2022-10-11 occer/uswnt-equal-pay.html                  Model for Their Rivals                         By Ella Braidwood                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/us/flori                                                By Emily Cochrane and Julie
2022-10-10   2022-10-11 da-hurricane-ian-retirees.html              Stay or Leave Retirees Torn In Ians Wake       Bosman                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/us/harv
                        ey-weinstein-trial-jennifer-siebel-         Filmmaker and Wife of California Governor
2022-10-10   2022-10-11 newsom.html                                 Will Testify in Weinsteins Trial               By Corina Knoll                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/us/polit Habit of the Storyteller in Chief Spinning
2022-10-10   2022-10-11 ics/biden-exaggeration-falsehood.html       Yarns That Unravel                             By Michael D Shear and Linda Qiu TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/us/polit
                        ics/jackson-alito-kagan-supreme-court-      Jackson Has Liberal Take on Principle
2022-10-10   2022-10-11 originalism.html                            Conservative Justices Embrace                  By Adam Liptak                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/us/polit Six Takeaways From the Only VanceRyan          By Jonathan Weisman and Trip
2022-10-10   2022-10-11 ics/jd-vance-tim-ryan-ohio-debate.html      Debate for Ohio Senate                         Gabriel                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/us/polit Outcry Over Antisemitic Signals Shapes a
2022-10-10   2022-10-11 ics/mastriano-shapiro-antisemitism.html     Key Pennsylvania Race                          By Katie Glueck                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/us/polit Digging Into Defendants At the Oath Keepers
2022-10-10   2022-10-11 ics/oath-keeper-trials-jan-6.html           Trial                                          By Alan Feuer                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/us/polit British Intelligence Official Focuses on China
2022-10-10   2022-10-11 ics/uk-gchq-china-russia.html               Threat                                         By David E Sanger                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/world/a
                        sia/north-korea-underwater-nuclear-         After Missile Tests North Korea Says It Is
2022-10-10   2022-10-11 missiles.html                               Building Underwater Nuclear Weapons Silos By Choe SangHun                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/world/e Airbus and Air France Go on Trial Over 2009
2022-10-10   2022-10-11 urope/airbus-france-plane-crash-trial.html  RioParis Crash That Killed 228                 By Aurelien Breeden              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/world/e Russian Troops to Mass In Belarus Leader
2022-10-10   2022-10-11 urope/belarus-russia-ukraine.html           Says                                           By Andrew Higgins                TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/10/world/e Putin Allies Issue Calls For Dialogue To Ease
2022-10-10   2022-10-11 urope/india-china-russia-strikes-ukraine.html Crisis                                     By Mujib Mashal                  TX 9-233-140     2022-12-01




                                                                                Page 4354 of 5793
                                                                                                               By Michael Schwirtz Andrew E
                        https://www.nytimes.com/2022/10/10/world/e Russia Unleashes a Deadly Barrage Against   Kramer Megan Specia and Eric
2022-10-10   2022-10-11 urope/russia-missiles-ukraine-civilians.html Civilians                                 Nagourney                      TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/10/world/e                                             By Valerie Hopkins and Anton
2022-10-10   2022-10-11 urope/russia-putin-ukraine-strikes.html      Escalation a Sign of Pressure on Putin    Troianovski                    TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/10/world/e Striking Defense Lawyers To Get More Pay in
2022-10-10   2022-10-11 urope/uk-barristers-lawyers-end-strike.html Britain                                    By Mark Landler                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/world/e Soaring Inflation Hobbles the Young in the
2022-10-10   2022-10-11 urope/uk-inflation-young-generations.html   UK                                         By Isabella Kwai                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/world/e Barrage of Russian Strikes Batters Kyiv and By Michael Schwirtz Megan Specia
2022-10-10   2022-10-11 urope/ukraine-kyiv-russia-missiles.html     Sends Residents Dashing for Cover          and Finbarr OReilly              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/world/e Ukraine Makes Gains Against Determined
2022-10-10   2022-10-11 urope/ukraine-war-south.html                Enemy in the South                         By Andrew E Kramer               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/article/midterm-    When Debates For Key Races Will Take
2022-10-10   2022-10-11 election-debates.html                       Place                                      By Alyce McFadden                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/busines He Promises Green Solution For Energy In
2022-10-11   2022-10-11 s/green-natural-gas.html                    Europe                                     By Stanley Reed                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/nyregio Congestion Pricing Could Deal a New Blow
2022-10-11   2022-10-11 n/nyc-traffic-yellow-cab-tolls.html         to Yellow Cabs                             By Ana Ley                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/science
2022-10-11   2022-10-11 /lima-peru-archaeology.html                 In Peru the Past Is Just Underfoot         By Mitra Taj and Marco Garro     TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/11/us/polit How Trump Helped Make Busing Migrants a By Maggie Haberman and Michael
2022-10-11   2022-10-11 ics/busing-migrants-republicans-trump.html GOP Tactic                                  C Bender                    TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/05/books/b
2022-10-05   2022-10-12 ram-stokers-dracula-daily.html              Reading About the Count in Little Bites    By Madeleine Connors        TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/05/dining/
2022-10-05   2022-10-12 cauliflower-soup.html                       Heres the Secret To Cauliflower Soup       By Melissa Clark            TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/05/dining/
2022-10-05   2022-10-12 chicken-thigh-recipes.html                  Chicken Thighs Are Secret Weapons          By Eric Kim                 TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/06/dining/
                        drinks/chicha-morada-purple-drink-
2022-10-06   2022-10-12 peruvian.html                               A Taste Peruvians Are Proud to Share       By Christina Morales        TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/06/dining/
2022-10-06   2022-10-12 drinks/world-war-wines.html                 The History in a Bottle Enriches the Taste By Eric Asimov              TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/06/dining/r
                        ick-martinez-mi-cocina-author-essential-
2022-10-06   2022-10-12 mexican-recipes.html                        Mexican Essentials                         By Rick A Martnez           TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/07/dining/
                        madame-wus-chinese-food-garden-
2022-10-07   2022-10-12 restaurant.html                             Madame Wus Garden Revised Chinese Food By Tejal Rao                    TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/07/movies/
2022-10-07   2022-10-12 the-empress-corsage-sisi.html               The Empress Had Her Eccentricities         By Valeriya Safronova       TX 9-233-140        2022-12-01




                                                                               Page 4355 of 5793
                        https://www.nytimes.com/2022/10/08/arts/frie
2022-10-08   2022-10-12 ze-london-galleries-indras-net.html          A web of art circling the world            By David Belcher                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/world/e When Is a Marshmallow Not a Sweet When
2022-10-08   2022-10-12 urope/marshmallow-uk-tax.html                Its for Roasting UK Tax Court Says         By Amanda Holpuch                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/arts/frie
2022-10-09   2022-10-12 ze-london-sites.html                         More art to see around London              By Farah Nayeri                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/arts/frie
2022-10-09   2022-10-12 ze-sculpture-london.html                     A fall filled with sculpture               By Susanne Fowler                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/arts/frie
2022-10-09   2022-10-12 ze-spotlight-women-artists.html              A spotlight on overlooked artists          By Farah Nayeri                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/arts/sa
2022-10-09   2022-10-12 mson-kambalu-antelope-sculpture.html         A monumental act of defiance               By Susanne Fowler                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/arts/sell
2022-10-09   2022-10-12 ing-art.html                                 When a beloved art piece loses its luster  By Ginanne Brownell               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/upshot/ Mismatched Homes Across America Are Sign
2022-10-09   2022-10-12 housing-home-prices-analysis.html            of Housing Crisis                          By Emily Badger                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/arts/tele
                        vision/house-of-the-dragon-paddy-
2022-10-10   2022-10-12 considine.html                               The Mortal Shock of a Kings Decline        By Jennifer Vineyard              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/busines Nikki Finke Hollywood Journalist Who Took
2022-10-10   2022-10-12 s/media/nikki-finke-dead.html                No Prisoners Dies at 68                    By Neil Genzlinger                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/opinion Why Must Puerto Ricans Be Resilient in Each
2022-10-10   2022-10-12 /fema-fiona-puerto-rico.html                 Storms Wake                                By Yarimar Bonilla                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/opinion Pig Farming Doesnt Have to Be This
2022-10-10   2022-10-12 /pig-farming-cruelty.html                    Miserable                                  By Mark Essig                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/arts/ang Angela Lansbury Whose Stardom Was No
2022-10-11   2022-10-12 ela-lansbury-dead.html                       Mystery Dies at 96                         By Daniel Lewis                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/arts/des
                        ign/stern-cycladic-antiquities-met-museum-
2022-10-11   2022-10-12 greece.html                                  On Loan to the Met but Owned by Greece     By Colin Moynihan                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/arts/hi
2022-10-11   2022-10-12 man-brown-charitable-trust-lawsuit.html      Duel Revived Over Fortune From Radio       By Graham Bowley                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/arts/kev Accuser Tells Court That Seeing Spacey In
2022-10-11   2022-10-12 in-spacey-anthony-rapp-testimony.html        Movie Role Jolted Like a Cattle Prod       By Julia Jacobs and Nate Schweber TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/arts/mu Anita Kerr 94 Who Used Oohs and Aahs to
2022-10-11   2022-10-12 sic/anita-kerr-dead.html                     Shape The Lush Nashville Sound             By Bill FriskicsWarren            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/arts/mu
                        sic/bad-bunny-steve-lacy-billboard-
2022-10-11   2022-10-12 charts.html                                  Bad Bunny and Steve Lacy Top Charts        By Ben Sisario                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/arts/tele Eileen Ryan 94 Actress in a Family Full of
2022-10-11   2022-10-12 vision/eileen-ryan-dead.html                 Entertainers                               By Neil Genzlinger                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/books/l Leonard Kriegel Dies at 89 Wrote With Rage
2022-10-11   2022-10-12 eonard-kriegel-dead.html                     About Polios Cruelty                       By Margalit Fox                   TX 9-233-140   2022-12-01




                                                                               Page 4356 of 5793
                        https://www.nytimes.com/2022/10/11/busines Bank of England Expands Its Efforts To
2022-10-11   2022-10-12 s/bank-of-england-bond-market-fire-sale.html Avoid Fire Sale in the Bond Market         By Eshe Nelson                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/busines
2022-10-11   2022-10-12 s/bittrex-sanctions-penalty.html             US Fines Crypto Exchange 24 Million        By David YaffeBellany          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/busines Amazon Union Faces Next Test Turning         By Noam Scheiber and Karen
2022-10-11   2022-10-12 s/economy/amazon-labor-union.html            Momentum Into Gains                        Weise                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/busines
                        s/economy/biden-gig-workers-contractors-     Proposal Would Give Employee Status to Gig
2022-10-11   2022-10-12 employees.html                               Workers                                    By Noam Scheiber               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/busines
2022-10-11   2022-10-12 s/first-satellite-launch-britain.html        Britain to Launch Its First Satellites     By Stanley Reed                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/busines France Tries to Contain Strikes That Have
2022-10-11   2022-10-12 s/france-fuel-strikes-refineries.html        Left Many Gas Pumps Dry                    By Liz Alderman                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/busines World Faces High Risk Of Recession IMF
2022-10-11   2022-10-12 s/imf-world-economy-forecast.html            Warns                                      By Alan Rappeport              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/dining/
2022-10-11   2022-10-12 how-to-spend-a-day-in-red-hook.html          Along Brooklyns Waterfront Sundry Flavors By Becky Hughes                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/dining/ TBar Opens With Elegant Fare in an Upper
2022-10-11   2022-10-12 nyc-restaurant-news.html                     East Side Townhouse                        By Florence Fabricant          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/health/ As Hospitals Chase Profitable Patients Beds
2022-10-11   2022-10-12 pediatric-closures-hospitals.html            for Children Vanish                        By Emily Baumgaertner          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/nyregio Democrats Expecting to Coast Are Fighting
2022-10-11   2022-10-12 n/house-elections-new-york.html              for New York Seats                         By Nicholas Fandos             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/nyregio Zeldin Seizes on Safety After Shooting at    By Luis FerrSadurn and Grace
2022-10-11   2022-10-12 n/lee-zeldin-shooting-house.html             Home                                       Ashford                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/opinion
2022-10-11   2022-10-12 /kanye-right-antisemitism.html               Heres Where the Rights Troll Politics Lead By Michelle Goldberg           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/opinion
2022-10-11   2022-10-12 /murkhiyeh-death-hebron.html                 A Cruel Death in Hebron                    By Bret Stephens               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/science NASAs Space Crash Succeeded in Forcing
2022-10-11   2022-10-12 /nasa-dart-asteroid-spacecraft.html          Asteroid Onto New Path                     By Sarah Scoles                TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/11/sports/b 22 Years for Angels Employee Who Gave
2022-10-11   2022-10-12 aseball/eric-kay-sentenced-tyler-skaggs.html Drugs to Pitcher                            By Benjamin Hoffman           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/sports/b
                        aseball/mariners-astros-division-series-game- Astros Shock Mariners With NinthInning
2022-10-11   2022-10-12 1.html                                        Blast                                      By Jesus Jimnez               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/sports/b
                        aseball/phillies-braves-division-series-game- Phillies Keep Rolling on the Road in the
2022-10-11   2022-10-12 1.html                                        Opener                                     By Alan Blinder               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/sports/f Trying to Change Luck Raiders Fall Short
2022-10-11   2022-10-12 ootball/las-vegas-raiders-kansas-city.html    Again                                      By Victor Mather              TX 9-233-140   2022-12-01




                                                                                  Page 4357 of 5793
                        https://www.nytimes.com/2022/10/11/sports/f
                        ootball/myron-rolle-career-pivot-football-  As NFL Dream Ended It Revived A Higher
2022-10-11   2022-10-12 neurosurgeon.html                           Calling                                     By Elena Bergeron              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/sports/f From Gridiron To 64 Squares A Way to Flex
2022-10-11   2022-10-12 ootball/nfl-chess-blitzchamps.html          Mental Muscle                               By Robert OConnell             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/sports/h
2022-10-11   2022-10-12 ockey/hockey-canada-board-resigns.html      Hockey Canada CEO And Board All Resign By David Shoalts                    TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/sports/t
2022-10-11   2022-10-12 ennis/taylor-fritz-atp.html                 Fritz Pushes His Way Into the Top 10        By Christopher Clarey          TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/theater/ Two Friends Found Their Path Through
2022-10-11   2022-10-12 jill-sobule-melissa-etheridge.html          Music                                       By Elisabeth Vincentelli       TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/theater/
2022-10-11   2022-10-12 strange-loop-broadway-closing.html          A Strange Loop to End Its Run               By Michael Paulson             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/travel/l
2022-10-11   2022-10-12 ufthansa-apple-airtags-luggage.html         Lufthansa Forbids Use of Apple AirTags      By Daniel Victor               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/us/adna Baltimore Prosecutors Drop Charges Against
2022-10-11   2022-10-12 n-syed-charges-dropped.html                 Man Featured in Podcast                     By Amanda Holpuch              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/us/park Prosecutors in Florida Ask for Death Penalty
2022-10-11   2022-10-12 land-trial-closing-arguments.html           For Parkland Gunman                         By Patricia Mazzei             TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/11/us/polit Biden Pledges Consequences For Saudi
2022-10-11   2022-10-12 ics/biden-saudi-arabia-oil-production-cut.html Arabia After Oil Cut                     By Peter Baker                 TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/11/us/polit US Said to Weigh Shield for Venezuelan      By Eileen Sullivan and Zolan
2022-10-11   2022-10-12 ics/biden-venezuelans-parole-program.html Migrants                                      KannoYoungs                    TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/us/polit
                        ics/christina-bobb-trump-lawyer-            Scrutiny for a Former FarRight Cable TV     By Glenn Thrush Maggie
2022-10-11   2022-10-12 investigation.html                          Host Eager to Work for Trump                Haberman and Michael S Schmidt TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/us/polit Groups Spend Millions on Negative Ads for
2022-10-11   2022-10-12 ics/negative-ads-walker-warnock.html        Warnock and Walker in Georgia Race          By Maya King                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/us/polit Lawyer Went From Activist to Adviser to
2022-10-11   2022-10-12 ics/oath-keepers-kellye-sorelle.html        Defendant in Conspiracy Trial               By Alan Feuer and Zach Montague TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/11/us/polit New Crop of House Candidates Gives GOP a
2022-10-11   2022-10-12 ics/republicans-house-black-latino-asian.html Path to Diversity                        By Jonathan Weisman           TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/11/us/polit A Republican Darling on the Rise Weve Been
2022-10-11   2022-10-12 ics/ron-desantis-republicans.html             Here Before                              By Blake Hounshell            TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/11/us/supr Justices Hear a Challenge On Cruelty and
2022-10-11   2022-10-12 eme-court-pigs-animal-cruelty.html            Commerce                                 By Adam Liptak                TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/11/us/supr Court Turns Away Appeal On Jurys Racial
2022-10-11   2022-10-12 eme-court-racial-bias-death-row.html          Animus                                   By Adam Liptak                TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/11/us/trum US Asks Justices to Rebuff Trump Request By Adam Liptak and Charlie
2022-10-11   2022-10-12 p-documents-supreme-court.html                on Records                               Savage                        TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/11/world/a One Nation Under Xi How Chinas Leader Is By Chris Buckley Vivian Wang and
2022-10-11   2022-10-12 sia/xi-jinping-china-nationhood.html          Remaking Its Identity                    Joy Dong                      TX 9-233-140      2022-12-01



                                                                                 Page 4358 of 5793
                        https://www.nytimes.com/2022/10/11/world/e King Charles III To Be Crowned With Less
2022-10-11   2022-10-12 urope/king-charles-coronation.html         Pomp                                        By Mark Landler                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/world/e Putins Plan to Bomb Kyiv Into Submission
2022-10-11   2022-10-12 urope/russia-ukraine-kyiv-bombing.html     History Says It Wont Work                   By Max Fisher                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/world/e
2022-10-11   2022-10-12 urope/ukraine-cyprus-arms-race.html        US Working To Supply Kyiv Russian Arms    By Lara Jakes                       TX 9-233-140   2022-12-01
                                                                                                             By Steven Erlanger Eric Schmitt
                        https://www.nytimes.com/2022/10/11/world/e NATO Chief Urges Allies to Expand Ukraine Michael Schwirtz and Eric
2022-10-11   2022-10-12 urope/ukraine-g7-air-defense.html          Arsenal                                   Nagourney                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/world/
                        middleeast/israel-and-lebanon-maritime-    In a Breakthrough Deal Israel and Lebanon
2022-10-11   2022-10-12 deal.html                                  Agree On Mediterranean Drilling           By Patrick Kingsley                 TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/11/sports/b In Game 1 Win Cole Limits Damage While
2022-10-12   2022-10-12 aseball/yankees-guardians-alds-game-1.html Yanks Hitters Inflict It                    By Gary Phillips                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/theater/
2022-10-12   2022-10-12 peerless-review.html                        College Admissions Gets a Macbeth Twist    By Alexis Soloski                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/us/los- Recorded Conversation Reveals Power
2022-10-12   2022-10-12 angeles-city-council-race.html              Struggle In Los Angeles Politics           By Jill Cowan and Shawn Hubler    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/12/busines
2022-10-12   2022-10-12 s/wall-street-mixed-quarterly-earnings.html Wall Street Is Bracing For Earnings        By Peter Eavis and Joe Rennison   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/sports/f Quarterbacks Who Stand on the Shoulders of
2022-10-12   2022-10-12 ootball/cowboys-49ers-pass-rush.html        Ferocious Defenders                        By Mike Tanier                    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/12/world/a Young Reporters Fight a Gun With a Pen in
2022-10-12   2022-10-12 sia/myanmar-journalists-press-freedom.html Myanmar                                       By SuiLee Wee                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/style/an
2022-10-08   2022-10-13 na-sorokin-delvey-interview.html            Her First Day of House Arrest                By Emily Palmer                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/style/e
2022-10-11   2022-10-13 mmanuel-macron-turtleneck-energy.html       A Very French Tempest in a Turtleneck        By Vanessa Friedman             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/style/w
2022-10-11   2022-10-13 hat-would-timothee-wear.html                Designers Tune In to the Chalamet Frequency By Indya Brown                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/technol Apps Can Help Gig Drivers Get the Data
2022-10-11   2022-10-13 ogy/gig-workers-drivers-para-app.html       Platforms Hide                               By Erin Griffith                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/us/polit Walter Dean Burnham 92 Who Traced
2022-10-11   2022-10-13 ics/walter-dean-burnham-dead.html           Political Parties Periodic Shifts            By Sam Roberts                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/arts/dan
2022-10-12   2022-10-13 ce/latasha-barnes-jazz-continuum.html       Connections Powered by a Communal Energy By Siobhan Burke                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/arts/des
                        ign/bernice-bing-asian-americans-
2022-10-12   2022-10-13 museum.html                                 Returned To a Place In the Story Of Painting By Carol Pogash                 TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/12/arts/ma MacArthur Foundation Names Genius Grant
2022-10-12   2022-10-13 carthur-foundation-genius-grant-winners.html Winners                               By Matt Stevens                       TX 9-233-140   2022-12-01



                                                                                Page 4359 of 5793
                        https://www.nytimes.com/2022/10/12/arts/mu
2022-10-12   2022-10-13 sic/magnus-lindberg-piano-concerto-3.html Lifelong Friendship Concerto Premiere           By Joshua Barone                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/arts/tele
                        vision/house-of-the-dragon-olivia-cooke-
2022-10-12   2022-10-13 emma-darcy.html                              The Rift at the Heart of House of the Dragon By Sean T Collins                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/books/b Bruno Latour 75 Philosopher on the Social
2022-10-12   2022-10-13 runo-latour-dead.html                        Basis of Scientific Facts Dies               By Clay Risen                     TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/12/books/r Discomfort Helps Make the World Go
2022-10-12   2022-10-13 eview/the-persuaders-anand-giridharadas.html Around                                         By Jennifer Szalai              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/busines                                                  By Alexandra Stevenson and Zixu
2022-10-12   2022-10-13 s/china-covid-testing.html                   Struggling to Cover the Costs of Zero Covid    Wang                            TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/12/busines Reluctance to Fire Employees Could Help          By Jeanna Smialek Sydney Ember
2022-10-12   2022-10-13 s/economy/companies-hoarding-workers.html Stabilize Economy                                 and Kim Raff                   TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/12/busines Lucid Closer To Smaller Goal On Electric
2022-10-12   2022-10-13 s/energy-environment/lucid-electric-cars.html Cars                                          By Jack Ewing                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/busines Fed Officials Worried About Faster Inflation
2022-10-12   2022-10-13 s/federal-reserve-minutes-september.html      at Last Meeting                               By Jeanna Smialek               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/busines StartUps Aim to Break Medical Barrier The
2022-10-12   2022-10-13 s/gene-sequencing-ultima-cheaper.html         100 Genome Scan                               By Roy Furchgott                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/busines Art Laboe 97 Is Dead DJ Who Popularized          By Neil Genzlinger and Annabelle
2022-10-12   2022-10-13 s/media/art-laboe-dead.html                   Oldies but Goodies                            Williams                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/busines Unpaid Leave and Buyouts For Gannetts            By Katie Robertson and Benjamin
2022-10-12   2022-10-13 s/media/gannett-cost-cutting.html             Journalists                                   Mullin                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/busines Netflix Nears Deal to Build Huge Studio on
2022-10-12   2022-10-13 s/media/netflix-fort-monmouth-jersey.html     Jersey Shore                                  By John Koblin                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/busines Strong PepsiCo Results Raise Hopes for
2022-10-12   2022-10-13 s/pepsi-earnings-inflation.html               Season                                        By Isabella Simonetti           TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/busines
2022-10-12   2022-10-13 s/uk-bond-market-bank-of-england.html         New Doubts Are Rattling UK Markets            By Joe Rennison                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/climate A 69 Decline in Wildlife It May Not Mean
2022-10-12   2022-10-13 /living-planet-index-wildlife-declines.html   What You Think                                By Catrin Einhorn               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/nyregio
                        n/hasidic-yeshiva-mesivta-arugath-habosem- New York Finds Hasidic School Fails to           By Eliza Shapiro and Brian M
2022-10-12   2022-10-13 secular-education.html                        Offer a Basic Education                       Rosenthal                       TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/nyregio New York Gets Time To Defend Its Gun
2022-10-12   2022-10-13 n/ny-gun-law-james.html                       Law                                           By Jonah E Bromwich             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/opinion We Are Suddenly Taking On China and
2022-10-12   2022-10-13 /china-semiconductors-exports.html            Russia at Once                                By Thomas L Friedman            TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/opinion
2022-10-12   2022-10-13 /haiti-montana-accords-reparations.html       Haiti Needs the World to Get Out of Its Way   By Lydia Polgreen               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/opinion The Most Ridiculous Part of the LA City
2022-10-12   2022-10-13 /los-angeles-city-council.html                Council Presidents Apology                    By Frank Bruni                  TX 9-233-140    2022-12-01



                                                                                  Page 4360 of 5793
                        https://www.nytimes.com/2022/10/12/sports/b Clevelands Formula Has Kept the Team In
2022-10-12   2022-10-13 aseball/guardians-yankees-alds.html         the Conversation                            By Tyler Kepner                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/sports/b
                        aseball/mlb-umpire-replay-                  Umps Call Em Like They See Em Then          By Alan Blinder and Maddie
2022-10-12   2022-10-13 announcements.html                          Explain Em                                  McGarvey                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/sports/b The Padres Run Into an AllTooFamiliar Foe
2022-10-12   2022-10-13 aseball/padres-dodgers-nlds.html            With AllTooFamiliar Results                 By Scott Miller                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/12/sports/b Green Fined For Punch But Avoids
2022-10-12   2022-10-13 asketball/draymond-green-suspension.html    Suspension                                  By Shauntel Lowe                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/sports/n A Nonbinary Marathoner Finally Feels at     By Kurt Streeter and Taylor
2022-10-12   2022-10-13 on-binary-chicago-marathon.html             Home                                        Glascock                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/sports/s La Liga Chiefs Feud With Paris StGermains
2022-10-12   2022-10-13 occer/javier-tebas-psg-bein.html            Owners Veers Into Court                     By Tariq Panja                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/style/br Why Brooklyn Heights Is Crawling With
2022-10-12   2022-10-13 ooklyn-heights-neighborhood.html            Celebrities                                 By Steven Kurutz                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/technol
                        ogy/personaltech/google-pixel-watch-
2022-10-12   2022-10-13 review.html                                 Comparing Pixel Watch With Apples           By Brian X Chen                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/theater/
2022-10-12   2022-10-13 angela-lansbury-appraisal-broadway.html     A Virtuosic Technician Without The Drama    By Jesse Green                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/theater/
2022-10-12   2022-10-13 dodi-diana-review.html                      Two Relationships Linked to the Stars       By Laura CollinsHughes           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/andy-Andy Detwiler 52 Whiz With Farm
2022-10-12   2022-10-13 detwiler-dead.html                          Equipment Without His Arms                  By Alex Traub                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/los- Los Angeles Legislator Resigns Amid an
2022-10-12   2022-10-13 angeles-council-nury-martinez-resigns.html Uproar Over Her Racist Remarks               By Jill Cowan and Shawn Hubler   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/navy-Navy Finds Medics Failed SEAL Trainee
2022-10-12   2022-10-13 seal-training-death-report.html             During Hell Week                            By Dave Philipps                 TX 9-233-140   2022-12-01
                                                                    Abortion Is Motivating Voters but
                        https://www.nytimes.com/2022/10/12/us/polit Republicans Are Trying to Change the
2022-10-12   2022-10-13 ics/abortion-republicans.html               Subject                                     By Lisa Lerer and Katie Glueck   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/polit Sandy Hook Lies Will Cost Jones About 1
2022-10-12   2022-10-13 ics/alex-jones-sandy-hook-damages.html      Billion                                     By Elizabeth Williamson          TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/12/us/polit
2022-10-12   2022-10-13 ics/biden-china-russia-national-security.html In Long View Biden Strategy Aims at China By David E Sanger                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/polit
                        ics/camp-hale-national-monument-               Biden Makes Camp Hale in Colorado a
2022-10-12   2022-10-13 colorado.html                                  National Monument                        By Michael D Shear               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/polit Updated Booster Vaccines Approved for Age By Sharon LaFraniere and Noah
2022-10-12   2022-10-13 ics/covid-booster-shots-kids.html              5 and Up                                 Weiland                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/polit
                        ics/federal-watchdog-desantis-migrants-relief-
2022-10-12   2022-10-13 funds.html                                     DeSantis Draws Eye Of Federal Watchdog By Alan Rappeport                  TX 9-233-140   2022-12-01



                                                                                Page 4361 of 5793
                        https://www.nytimes.com/2022/10/12/us/polit Jan 6 Panel to Present New Witnesses and
2022-10-12   2022-10-13 ics/house-jan-6-panel-final-hearing.html    Footage                                       By Luke Broadwater                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/polit
                        ics/kenneth-chesebro-trump-fake-            Lawyers Seek Sanctions for an Author of a
2022-10-12   2022-10-13 electors.html                               Fake Trump Electors Scheme                    By Charlie Savage                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/polit The Hidden Hand Guiding Conservative
2022-10-12   2022-10-13 ics/leonard-leo-courts-dark-money.html      Causes                                        By Kenneth P Vogel                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/polit Increasingly Powerful Coalition With a
2022-10-12   2022-10-13 ics/leonard-leo-network.html                Changing Roster                               By Kenneth P Vogel                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/polit In a Georgia Race Rife With Scandal
2022-10-12   2022-10-13 ics/raphael-warnock-georgia.html            Warnock Is a Study in Restraint               By Maya King                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/polit Rhode Island Embraces a Daring Drug
2022-10-12   2022-10-13 ics/rhode-island-overdoses.html             Addiction Strategy                            By Noah Weiland                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/supr Supreme Court Weighs In on Prince Warhol
2022-10-12   2022-10-13 eme-court-prince-warhol.html                and Copyrights                                By Adam Liptak                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/world/a US Considers Easing Sanctions on Venezuela By Natalie Kitroeff and Anatoly
2022-10-12   2022-10-13 mericas/venezuela-us-sanctions.html         as Migration Surges                           Kurmanaev                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/world/e Facing Parliament Truss Further Muddles        By Mark Landler and Stephen
2022-10-12   2022-10-13 urope/britain-economy-liz-truss.html        Economic Plans                                Castle                             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/world/e Griner Her Fate Uncertain Is Struggling in     By Valerie Hopkins and Michael
2022-10-12   2022-10-13 urope/brittney-griner-lawyer-russia.html    Russian Prison Her Lawyer Says                Crowley                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/world/e Kyiv to Stay on Offensive Through Winter
2022-10-12   2022-10-13 urope/russia-ukraine-war.html               US Defense Chief Says                         By John Ismay                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/world/e Critics Fault High Costs Of a Festival Tied to
2022-10-12   2022-10-13 urope/uk-brexit-festival-spending.html      Brexit                                        By Saskia Solomon                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/world/e Some Ukrainians Brace for the Chance of a
2022-10-12   2022-10-13 urope/ukraine-nuclear-fear.html             Russian Nuclear Strike                        By Megan Specia                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/world/e West Speeding Aid to Ukraine For Air           By Michael Schwirtz Lara Jakes
2022-10-12   2022-10-13 urope/ukraine-russia-missile-defense.html   Defense                                       and Eric Schmitt                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/world/ Protests Swell in Iran as Striking Oil Workers
2022-10-12   2022-10-13 middleeast/iran-women-protests-strike.html Take to Streets                                By Farnaz Fassihi and Jane Arraf   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/sports/b Wright Baffles Philly Hitters Pulling Atlanta
2022-10-13   2022-10-13 aseball/braves-phillies-nlds-game-2.html    Even in Series                                By Alan Blinder                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/polit
                        ics/biden-venezuela-migrants-humanitarian- White House to Offer Thousands of              By Eileen Sullivan and Zolan
2022-10-13   2022-10-13 parole.html                                 Venezuelan Migrants Legal Path Into US        KannoYoungs                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/polit Video From MaraLago Is Said to Show an        By Maggie Haberman and Alan
2022-10-13   2022-10-13 ics/trump-mar-a-lago-walt-nauta.html        Aide Transferring Stored Boxes                Feuer                              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/insider/
2022-10-13   2022-10-13 florida-a-microcosm-of-the-country.html     Florida a Microcosm of the Country            By Emmett Lindner                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/style/ho
2022-10-13   2022-10-13 w-should-a-business-bro-dress.html          FinanceBro Office Wear Stuck in 2010          By Guy Trebay                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/insider/
                        a-travel-series-gets-a-post-quarantine-
2022-10-07   2022-10-14 reboot.html                                 A Popular Travel Series Gets a Reboot         By Katherine J Igoe                TX 9-233-140   2022-12-01



                                                                                 Page 4362 of 5793
                        https://www.nytimes.com/2022/10/08/arts/mu
                        sic/satterwhite-abney-geffen-hall-art-       A Displaced Neighborhood Is Vividly
2022-10-08   2022-10-14 commission.html                              Recalled                                  By Will Heinrich             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/arts/des
2022-10-10   2022-10-14 ign/sensation-exhibition-anniversary.html    A Divisive Show That Still Reverberates   By Scott Reyburn             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/arts/tele
2022-10-11   2022-10-14 vision/angela-lansbury-movies-films.html     The Many Faces of Angela Lansbury         By Scott Tobias              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/opinion Putin Has Sent Us a Message but Not the One
2022-10-12   2022-10-14 /ukraine-attacks-russia-kyiv.html            He Intended                               By Margo Gontar              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/us/migr Stop for Water at Twilight Ends in Fatal    By James Dobbins J David
2022-10-12   2022-10-14 ants-shot-texas.html                         Shooting in West Texas                    Goodman and Edgar Sandoval   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/arts/dan
                        ce/review-beau-bree-rhee-madison-square-     An Ode to an Underwater Manhattan Is
2022-10-13   2022-10-14 park.html                                    Murky                                     By Brian Seibert             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/arts/des From the Depths of Space To the Walls of a
2022-10-13   2022-10-14 ign/nasa-art-onx-ashley-zelinskie.html       Gallery                                   By Matt Shaw                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/arts/des
                        ign/war-photography-addario-capa-icp-
2022-10-13   2022-10-14 sva.html                                     War Has Changed and So Have Its Images    By Arthur Lubow              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/arts/jac Jack Brogan a Quiet Force Behind Light and
2022-10-13   2022-10-14 k-brogan-dead.html                           Space Artists Dies at 92                  By Penelope Green            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/arts/mu
                        sic/brian-eno-foreverandevernomore-
2022-10-13   2022-10-14 review.html                                  Here the World Will End in Songs          By Jon Pareles               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/arts/mu
2022-10-13   2022-10-14 sic/everything-rises-bam-review.html         Creativity and Code Switching             By Anastasia Tsioulcas       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/arts/mu
2022-10-13   2022-10-14 sic/geffen-hall-acoustics-and-history.html   Finally Genuine Intimacy                  By Zachary Woolfe            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/arts/tele
                        vision/tegan-and-sara-homegrown-playing-
2022-10-13   2022-10-14 house-streaming.html                         This Weekend I Have                       By Margaret Lyons            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/busines Britains Central Bank on the High Wire Amid
2022-10-13   2022-10-14 s/bank-of-england-andrew-bailey.html         a Fiscal Storm                            By Eshe Nelson               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/busines Delta Reports Healthy Profit for Third
2022-10-13   2022-10-14 s/delta-airlines-earnings.html               Quarter After Busy Summer                 By Niraj Chokshi             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/busines Prices Climb Rapidly Even as Fed Hits the
2022-10-13   2022-10-14 s/economy/high-inflation.html                Brakes                                    By Jeanna Smialek            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/busines
                        s/elizabeth-warren-wells-fargo-zelle-        Warren Presses Wells Fargo Over Rate of
2022-10-13   2022-10-14 fraud.html                                   Fraud on Zelle                            By Stacy Cowley              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/busines
2022-10-13   2022-10-14 s/france-sends-gas-to-germany.html           France Sends Gas to Germany Amid Cuts     By Liz Alderman              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/busines Huge Deal Could Unite Albertsons And        By Lauren Hirsch and Julie
2022-10-13   2022-10-14 s/kroger-albertsons-merger-talks.html        Kroger                                    Creswell                     TX 9-233-140   2022-12-01




                                                                              Page 4363 of 5793
                        https://www.nytimes.com/2022/10/13/busines
2022-10-13   2022-10-14 s/media/netflix-ads-subscription.html       Netflix to Offer a Cheaper Ad Subscription  By Nicole Sperling              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/busines
                        s/social-security-cost-of-living-increase-  As the Program Pays Out More Its Trust Fund
2022-10-13   2022-10-14 solvency.html                               Could Run Out of Money Before 2034          By Alan Rappeport               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/busines
2022-10-13   2022-10-14 s/stock-markets-cpi-inflation.html          Data Sets Off Wild Swings For Market        By Joe Rennison                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/climate Ian May Put Florida Real Estate Out of Reach
2022-10-13   2022-10-14 /florida-real-estate-hurricane-ian.html     for All but the Very Rich                   By Christopher Flavelle         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/health/a
2022-10-13   2022-10-14 dderall-shortage-adhd.html                  FDA Confirms Wide Shortage of Adderall      By Christina Jewett             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/movies/
2022-10-13   2022-10-14 dark-glasses-review.html                    Stalked by a Killer and Lost in the Murk    By Amy Nicholson                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/movies/
                        decision-to-leave-review-park-chan-         Labyrinth of Desire Exuberant and
2022-10-13   2022-10-14 wook.html                                   Destabilizing                               By Manohla Dargis               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/movies/
2022-10-13   2022-10-14 eternal-spring-review.html                  Eternal Spring                              By Ben Kenigsberg               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/movies/
2022-10-13   2022-10-14 halloween-ends-review.html                  One More Stab At a Conclusion               By Jeannette Catsoulis          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/movies/
2022-10-13   2022-10-14 plan-a-review.html                          Plan A                                      By Nicolas Rapold               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/movies/
2022-10-13   2022-10-14 rosaline-review.html                        Rosaline                                    By Natalia Winkelman            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/movies/
2022-10-13   2022-10-14 sell-buy-date-review.html                   SellBuyDate                                 By Lisa Kennedy                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/movies/
2022-10-13   2022-10-14 sepa-our-lord-of-miracles-review.html       Sepa Nuestro Seor de los Milagros           By Glenn Kenny                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/movies/
2022-10-13   2022-10-14 stars-at-noon-review.html                   Stars at Noon                               By Austin Considine             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/movies/
2022-10-13   2022-10-14 the-other-tom-review.html                   The Other Tom                               By Concepcin de Len             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/movies/
2022-10-13   2022-10-14 the-picture-taker-review.html               The Picture Taker                           By Beandrea July                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/movies/
2022-10-13   2022-10-14 the-same-storm-review.html                  The Same Storm                              By Beatrice Loayza              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/movies/ A Doleful Story Stripped Down To Its Raw
2022-10-13   2022-10-14 till-review.html                            Heart                                       By Manohla Dargis               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/nyregio 2 Connecticut Officers Killed After          By Michael Gold Corey Kilgannon
2022-10-13   2022-10-14 n/bristol-connecticut-shooting.html         Suspicious 911 Call                         and Hurubie Meko                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/nyregio
                        n/cuba-gooding-jr-guilty-plea-              Gooding Will Serve No Prison Time After
2022-10-13   2022-10-14 harassment.html                             Plea Deal in Sex Abuse Case                 By Colin Moynihan               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/nyregio For Hochul Less Shaking Hands and Kissing
2022-10-13   2022-10-14 n/hochul-campaign-strategy-governor.html    Babies and More Ads                         By Luis FerrSadurn              TX 9-233-140   2022-12-01



                                                                              Page 4364 of 5793
                        https://www.nytimes.com/2022/10/13/nyregio Marist Poll Shows Zeldin 10 Points Behind
2022-10-13   2022-10-14 n/hochul-zeldin-poll-marist.html           Hochul Giving GOP Some Hope                    By Luis FerrSadurn               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/13/nyregio New Jersey May Require Insurance for Gun
2022-10-13   2022-10-14 n/nj-gun-laws-insurance.html               Owners                                         By Tracey Tully                  TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/13/nyregio New York Attorney General Questions          By Ben Protess Jonah E Bromwich
2022-10-13   2022-10-14 n/trump-ny-lawsuit-james.html               Motive for New Trump Company                and William K Rashbaum          TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/13/opinion
2022-10-13   2022-10-14 /china-tech-trade-biden.html                Trade Has Become a Weapon                   By Paul Krugman                 TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/13/opinion Adapting to Disability Isnt a Crutch Its the
2022-10-13   2022-10-14 /fetterman-disability.html                  Future                                      By David M Perry                TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/13/opinion
2022-10-13   2022-10-14 /la-city-council-racism.html                When Race Is Everything This Happens        By David Brooks                 TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/13/sports/b For an Encore Houstons Alvarez Does It
2022-10-13   2022-10-14 aseball/astros-mariners-alds-game-2.html    Again                                       By Jesus Jimnez                 TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/13/sports/b Bad News Mets Fans Atlanta Might Be Good
2022-10-13   2022-10-14 aseball/atlanta-braves-contracts.html       for a While                                 By Alan Blinder                 TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/13/sports/b Sports Offered Bader a Wider View of New
2022-10-13   2022-10-14 aseball/harrison-bader-yankees.html         York City                                   By Gary Phillips                TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/13/sports/b Padres Closer Shows His Old Form When the
2022-10-13   2022-10-14 aseball/padres-dodgers-nlds-game-2.html     Team Needs Him Most                         By Scott Miller                 TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/13/sports/b
                        aseball/yankees-guardians-alds-rained-
2022-10-13   2022-10-14 out.html                                    Rain Forces Guardians And Yanks To Adjust By James Wagner                   TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/13/sports/l
                        awsuit-msg-lawyers-banned-knicks-           Are You Suing Madison Square Garden Say
2022-10-13   2022-10-14 rangers.html                                Goodbye to Your Knicks Tickets              By Kris Rhim                    TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/13/technol FCC Vote Is Expected for Ban Of New          By David McCabe and Cecilia
2022-10-13   2022-10-14 ogy/fcc-huawei-china.html                   Huawei and ZTE Devices                      Kang                            TX 9-233-140       2022-12-01

                        https://www.nytimes.com/2022/10/13/technol A Boom in Gaming Is Catnip for
2022-10-13   2022-10-14 ogy/gamers-malware-minecraft-roblox.html Cybercriminals                                   By Amanda Holpuch                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/13/technol Prosecutors Say Firm Knew Data Went to
2022-10-13   2022-10-14 ogy/konnech-eugene-yu-election-data.html    China                                         By Stuart A Thompson             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/13/us/child Why You Cant Find Child Care 100000
2022-10-13   2022-10-14 care-worker-shortage.html                   Workers Gave Up on Poor Pay                   By Dana Goldstein                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/13/us/mich
2022-10-13   2022-10-14 igan-state-president-resigns.html           Michigan State University President Resigns   By Eliza Fawcett                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/us/park Parkland Gunman Is Sentenced to Life in        By Patricia Mazzei and Nicholas
2022-10-13   2022-10-14 land-trial-verdict-gunman.html              Prison                                        BogelBurroughs                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/us/polit For Families Fight to Seize Joness Money      By Elizabeth Williamson and Emily
2022-10-13   2022-10-14 ics/alex-jones-finances.html                Begins Now                                    Steel                             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/us/polit
                        ics/biden-china-technology-                                                               By Ana Swanson and Edward
2022-10-13   2022-10-14 semiconductors.html                         How the US Is Choking Off Tech for China      Wong                             TX 9-233-140    2022-12-01



                                                                                 Page 4365 of 5793
                        https://www.nytimes.com/2022/10/13/us/polit Immigration On Agenda In a Meeting With
2022-10-13   2022-10-14 ics/biden-immigration-mexico-border.html    Mexico                                     By Michael Crowley                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/us/polit A Romney Antagonist Seeks Aid From
2022-10-13   2022-10-14 ics/evan-mcmullin-mike-lee-utah.html        Romney                                     By Jonathan Weisman                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/us/polit Judge Holds Prison Warden In Contempt for
2022-10-13   2022-10-14 ics/florida-prison-cancer-release.html      Treatment Of Terminally Ill Inmate         By Glenn Thrush                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/us/polit Wrapping Up Case Jan 6 Panel Plans a Trump By Luke Broadwater and Alan
2022-10-13   2022-10-14 ics/jan-6-hearing-trump-subpoena.html       Subpoena                                   Feuer                                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/us/polit Vividly Detailing Riot For Sake of History
2022-10-13   2022-10-14 ics/jan-6-panel-accountability.html         And Maybe Little Else                      By Peter Baker                       TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/13/us/polit Jan 6 Footage Shows Congressional Leaders
2022-10-13   2022-10-14 ics/jan-6-video-pelosi-schumer-capitol.html Scrambling to Get Help                    By Catie Edmondson                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/us/polit GOP Is Paying Premium For TV Ads in Key
2022-10-13   2022-10-14 ics/midterm-republican-ad-spending.html     Races                                     By Shane Goldmacher                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/13/us/polit Texts Suggest Oath Keepers Tried to Create
2022-10-13   2022-10-14 ics/oath-keepers-trial-texts.html           Alliance With Other FarRight Groups        By Alan Feuer and Zach Montague TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/13/us/polit
2022-10-13   2022-10-14 ics/trump-republicans.html                  GOP Candidates Fervor for Trump Fluctuates By Michael C Bender             TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/13/us/polit
2022-10-13   2022-10-14 ics/trump-supreme-court.html                Justices Deny His Bid to Get Documents     By Adam Liptak                  TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/13/world/a North Korea Fires Missiles And Flies Jets
2022-10-13   2022-10-14 sia/north-korea-missile-warplanes.html      Near Border                                By Choe SangHun                 TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/13/world/c
                        anada/trudeau-emergency-powers-             Inquiry Over Canadas Use of Emergency
2022-10-13   2022-10-14 hearing.html                                Powers Begins                              By Norimitsu Onishi             TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/13/world/e No New Trial in 1991 Murder Mystery That
2022-10-13   2022-10-14 urope/france-murder-raddad-marchal.html     Gripped France Appeals Court Rules         By Aurelien Breeden             TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/13/world/e Protesters Cant Save a Town From Germanys By Christopher F Schuetze and
2022-10-13   2022-10-14 urope/germany-coal-energy-climate.html      Hunger for Coal                            Erika Solomon                   TX 9-233-140        2022-12-01

                        https://www.nytimes.com/2022/10/13/world/e Nimble Activists Using Parkour to Turn Off
2022-10-13   2022-10-14 urope/paris-energy-conservation-parkour.html Wasteful Lights                             By Constant Mheut                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/world/e Death Toll Rises as Missiles Pound Cities in By Matina StevisGridneff and Eric
2022-10-13   2022-10-14 urope/russia-ukraine-missiles-deaths.html    the North and the West                      Nagourney                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/world/e
2022-10-13   2022-10-14 urope/uk-budget-truss-kwarteng.html          Truss Is Pressured to Turn Back TaxCut Plan By Stephen Castle                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/world/ Brutal Killing of Two Girls Fans Flames of an
2022-10-13   2022-10-14 middleeast/iran-protests-killed-teens.html   Uprising in Iran                            By Farnaz Fassihi                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/world/
                        middleeast/iraqi-parliament-elects-latif-    Iraqi Parliament Elects President Ending
2022-10-13   2022-10-14 rashid.html                                  Impasse                                     By Jane Arraf                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/world/ USSaudi Rift Widens Over OilCut
2022-10-13   2022-10-14 middleeast/us-saudi-oil-production.html      Accusation                                  By Ben Hubbard                     TX 9-233-140   2022-12-01



                                                                                Page 4366 of 5793
                                                                    Social Security benefits will jump 87 percent
                        https://www.nytimes.com/2022/10/13/your- next year an unusually large increase that will
2022-10-13   2022-10-14 money/social-security-cola-inflation.html   help 70 million Americans deal with inflation By Tara Siegel Bernard          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/technol
                        ogy/misinformation-integrity-institute-     Twitter Leads in Escalating Misinformation
2022-10-14   2022-10-14 report.html                                 Group Finds                                   By Steven Lee Myers             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/theater/
2022-10-14   2022-10-14 the-piano-lesson-review.html                A Haunting Family Drama                       By Maya Phillips                TX 9-233-140   2022-12-01
                                                                                                                  By Emily Cataneo Rick Rojas
                        https://www.nytimes.com/2022/10/13/us/ralei Gunman Kills at Least 5 In a Raleigh          Vimal Patel McKenna Oxenden and
2022-10-14   2022-10-14 gh-shooting.html                            Neighborhood                                  Mike Ives                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/movies/
2022-10-14   2022-10-14 the-curse-of-bridge-hollow-review.html      The Curse of Bridge Hollow                    By Calum Marsh                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/03/travel/i
2022-10-03   2022-10-15 klaina-archaeology-greece.html              Unearthing Ancient Life in Greece             By Matt Stirn                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/travel/f
2022-10-04   2022-10-15 all-foliage-united-states-timing.html       For Leaf Peeping You Need to Plan             By Debra Kamin                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/04/us/talib After a Frantic Exit From Kabul a Family     By Peter Kujawinski and Erin
2022-10-04   2022-10-15 an-afghanistan-migrants-nashville.html      Plants Roots in Nashville                    Kirkland for The New York Times TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/06/world/a The Final Days of a Chinese Doctor Who        By Muyi Xiao Isabelle Qian Tracy
2022-10-06   2022-10-15 sia/covid-china-doctor-li-wenliang.html     Sounded an Early Alarm on Covid19            Wen Liu and Chris Buckley        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/dining/
2022-10-09   2022-10-15 what-to-cook-this-week.html                 What to Cook Next Week                       By Sam Sifton                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/arts/des A Legal DustUp Over Disfiguring
2022-10-12   2022-10-15 ign/donald-judd-lawsuit-fingerprints.html   Fingerprints                                 By Zachary Small                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/nyregio Sterling Johnson Jr 88 Detective Prosecutor
2022-10-12   2022-10-15 n/sterling-johnson-jr-dead.html             and Federal Judge Dies                       By Joseph P Fried               TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/13/arts/co
2022-10-13   2022-10-15 medy-special-danny-jolles-vishnu-akella.html Just for Laughs Choose Your Own Adventure By Jason Zinoman                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/13/books/g Discovery by Chaucer Scholars Scrubs Stain
2022-10-13   2022-10-15 eoffrey-chaucer-rape-charge.html             From His Legacy                           By Jennifer Schuessler            TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/13/busines Wage Rules for Service Workers Are
2022-10-13   2022-10-15 s/economy/tipped-wage-subminimum.html       Reaching a Tipping Point                    By Talmon Joseph Smith           TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/13/theater/
2022-10-13   2022-10-15 soho-rep-directors.html                     Two Soho Rep Directors Will Depart          By Sarah Bahr                    TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/13/us/polit Repairing Fractures in AtRisk Families With
2022-10-13   2022-10-15 ics/foster-children-biden-welfare.html      Kinship Care                                By Erica L Green                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/14/arts/dan
2022-10-14   2022-10-15 ce/crowd-review-gisele-vienne.html          A SlowMotion Rave With Glints of Violence By Brian Seibert                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/14/arts/dan
2022-10-14   2022-10-15 ce/unity-phelan-new-york-city-ballet.html   Turning Clay Into a Diamond                 By Gia Kourlas                   TX 9-233-140    2022-12-01



                                                                                 Page 4367 of 5793
                        https://www.nytimes.com/2022/10/14/arts/des
2022-10-14   2022-10-15 ign/french-national-library-reopens.html    Surprises discoveries and dreams              By Elaine Sciolino              TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/14/arts/des
2022-10-14   2022-10-15 ign/mexico-city-museo-kaluz.html            A public showplace for a private collection   By Ray Mark Rinaldi             TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/14/arts/des
2022-10-14   2022-10-15 ign/qatar-museum-islamic-art.html           A museum looks back at Islams reach           By David Belcher                TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/14/arts/des Soup Thrown at Vincent van Goghs
2022-10-14   2022-10-15 ign/soup-van-gogh-sunflowers-climate.html Sunflowers                                      By Alex Marshall                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/arts/mu
2022-10-14   2022-10-15 sic/dry-cleaning-stumpwork.html              Its Spoken Rock n Roll but We Like It        By Simon Reynolds                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/arts/smi
2022-10-14   2022-10-15 thsonian-museum-slavery-history.html         Uncovering the depths of global slavery      By Ginanne Brownell               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/arts/tele
                        vision/rings-of-power-season-finale-
2022-10-14   2022-10-15 showrunners.html                             No You Dont Have to Speak Elvish             By Jennifer Vineyard              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/books/b
2022-10-14   2022-10-15 arbara-kingsolver-demon-copperhead.html      If David Copperfield Were Appalachian        By Penelope Green                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/busines Big Banks Profits Drop but Healthy             By Stacy Cowley Emily Flitter and
2022-10-14   2022-10-15 s/bank-earnings-markets.html                 Consumers Cushion the Blow                   Stephen Gandel                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/busines After Blowback Britain Reverses Economic
2022-10-14   2022-10-15 s/economy/liz-truss-britain-inflation.html   Course                                       By Patricia Cohen                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/busines
                        s/federal-reserve-atlanta-raphael-bostic-    President of Fed in Atlanta Amends Financial
2022-10-14   2022-10-15 trading.html                                 Reports To Disclose Transactions             By Jeanna Smialek                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/busines Albertsons And Kroger Announce Merger          By Lauren Hirsch Julie Creswell
2022-10-14   2022-10-15 s/kroger-albertsons-merger.html              Plans                                        and Jordyn Holman                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/busines
                        s/stocks-slide-as-inflation-worries-rise-                                                 By Isabella Simonetti and Joe
2022-10-14   2022-10-15 again.html                                   SampP 500 Slides Amid Inflation Worries      Rennison                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/busines
2022-10-14   2022-10-15 s/trevor-milton-nikola-fraud.html            The Founder Of Nikola Is Convicted           By Jack Ewing                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/nyregio Despite Strict Gun Laws Bristol Officers       By Corey Kilgannon Jesse
2022-10-14   2022-10-15 n/bristol-connecticut-police-gun-laws.html   Faced Firepower                              McKinley and Hurubie Meko         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/opinion
2022-10-14   2022-10-15 /alex-jones-sandy-hook-trial.html            Alex Jones Picked On the Wrong People        By Anna Merlan                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/opinion Trump Has Told Americans Exactly Who He
2022-10-14   2022-10-15 /donald-trump-jan-6-hearing.html             Is                                           By Jesse Wegman                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/opinion
2022-10-14   2022-10-15 /migrants-bus-new-york.html                  New York Can Do More to Help Migrants        By The Editorial Board            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/opinion
2022-10-14   2022-10-15 /universal-cost-of-living-increases.html     Give Everyone a CostofLiving Adjustment      By Peter Coy                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/sports/b As Playoffs Return to Seattle Mariners Are on
2022-10-14   2022-10-15 aseball/seattle-mariners-astros-alds.html    Their Heels                                  By Tyler Kepner                   TX 9-233-140   2022-12-01




                                                                                  Page 4368 of 5793
                        https://www.nytimes.com/2022/10/14/sports/b
2022-10-14   2022-10-15 aseball/triston-mckenzie-guardians-alds.html Trying to Beat a Team He Once Loved           By Gary Phillips                TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/14/sports/b Yankees Wilt in Extra Innings Against
2022-10-14   2022-10-15 aseball/yankees-guardians-alds-game-2.html Guardians                                       By James Wagner                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/sports/b
                        asketball/zion-williamson-new-orleans-      Williamsons Grueling Path Back to Feeling
2022-10-14   2022-10-15 pelicans.html                               Like Himself                                   By Scott Cacciola               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/sports/b
                        oston-marathon-winner-disqualified-drug-    Doping Test Disqualifies Past Winner In
2022-10-14   2022-10-15 test.html                                   Boston                                         By Victor Mather                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/sports/c
                        laressa-shields-savannah-marshall-          A Rematch in London Highlights a Day
2022-10-14   2022-10-15 preview.html                                Packed With TopLevel Fights                    By Morgan Campbell              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/technol                                                 By Cade Metz Cassandra Vinograd
2022-10-14   2022-10-15 ogy/elon-musk-ukraine-internet.html         Musks Aid To Ukraine Is in Doubt               and Helene Cooper               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/theater/
2022-10-14   2022-10-15 everythings-fine-review.html                Tale With a CantLookAway Quality               By Elisabeth Vincentelli        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/theater/
                        james-baldwin-lorraine-hansberry-
2022-10-14   2022-10-15 friendship.html                             Communing Again Onstage This Fall              By Soyica Diggs Colbert         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/us/appe Justice Dept Seeks to Close Review Of
2022-10-14   2022-10-15 al-special-master-trump.html                Sensitive Files by Special Master              By Charlie Savage               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/us/latin Furor Unmasks A Caste System Among
2022-10-14   2022-10-15 o-racism-oaxacan.html                       Latinos                                        By Miriam Jordan                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/us/mary Mary Adelia McLeod 84 the First Female
2022-10-14   2022-10-15 adelia-mcleod-dead.html                     Bishop to Lead an Episcopal Diocese            By Ed Shanahan                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/us/polit Made in America Policy Rankles Many Key        By Alan Rappeport Ana Swanson
2022-10-14   2022-10-15 ics/biden-trade-policy-asia-europe.html     Allies                                         and Zolan KannoYoungs           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/us/polit In Speech President Tries to Reassure Voters
2022-10-14   2022-10-15 ics/california-biden-health-care-costs.html on Costs of Health Care                        By Michael D Shear              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/us/polit Report Finds CIA Failed In Response To
2022-10-14   2022-10-15 ics/cia-havana-syndrome-report.html         Syndrome                                       By Julian E Barnes              TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/14/us/polit Republicans Knew of Allegations but Took       By Shane Goldmacher Michael C
2022-10-14   2022-10-15 ics/herschel-walker-georgia-republicans.html Gamble on Walker Anyway                       Bender and Maya King            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/us/polit
                        ics/midterm-ballot-measures-swing-           Midterm Ballot Measures Could Affect
2022-10-14   2022-10-15 states.html                                  Voting in 2024                                By Neil Vigdor                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/us/polit Even as Midterms Rage Veteran GOP
2022-10-14   2022-10-15 ics/senate-sasse-retirements-midterms.html   Senators Are Calling It Quits                 By Carl Hulse                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/us/polit Trump Reply To Congress Repeats Lies On        By Luke Broadwater and Maggie
2022-10-14   2022-10-15 ics/trump-jan-6-subpoena.html                Election                                      Haberman                        TX 9-233-140   2022-12-01




                                                                                 Page 4369 of 5793
                        https://www.nytimes.com/2022/10/14/us/polit
                        ics/walker-warnock-georgia-senate-          Warnock and Walker Face Off in Georgia      By Maya King and Jonathan
2022-10-14   2022-10-15 debate.html                                 During Pivotal Debate                       Weisman                         TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/14/us/ralei Raleigh Neighborhood Reels and Waits for    By Emily Cataneo Emily Cochrane
2022-10-14   2022-10-15 gh-shooting.html                            Answers After Fatal Attacks                 and Rick Rojas                  TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/14/us/rever
                        se-freedom-rides-marthas-vineyard-          Migrant Flights North Hit Home for Some
2022-10-14   2022-10-15 migrants.html                               Black Americans                             By Jacey Fortin                 TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/14/world/a An American Priest Carves Out a Space For
2022-10-14   2022-10-15 sia/bangkok-priest-father-joe.html          Fellow Outcasts                             By Seth Mydans                  TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/14/world/a Internet Censors Race to Quell Chatter About By Daisuke Wakabayashi and
2022-10-14   2022-10-15 sia/china-internet-protest-xi-jinping.html  Protests Denouncing Xi                      Claire Fu                       TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/14/world/a
2022-10-14   2022-10-15 sia/china-xi-jinping-communist-party.html   As Party Meets Xi Embodies Imperial Rule By Chris Buckley                   TX 9-233-140      2022-12-01

                        https://www.nytimes.com/2022/10/14/world/e
                        urope/as-the-bank-of-englands-intervention- Bank of Englands Bond Buying Ends Leaving
2022-10-14   2022-10-15 ends-unease-returns-to-the-bond-markets.html Nervousness and Rising Yields              By Eshe Nelson                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/world/e French Strike May Presage a Winter of        By Catherine Porter and Constant
2022-10-14   2022-10-15 urope/france-oil-refinery-strike.html        Discontent                                 Mheut                              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/world/e With Markets in Revolt Truss Abandons
2022-10-14   2022-10-15 urope/liz-truss-kwarteng-fired.html          Policies And Fires Finance Chief           By Stephen Castle                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/world/e
2022-10-14   2022-10-15 urope/russia-missiles-ukraine.html           How Long Can Russia Keep Firing Missiles By Lara Jakes                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/world/e
2022-10-14   2022-10-15 urope/truss-tories-fairy-tale-unravels.html  Chaotic Ending for a Fiscal Fairy Tale     By Mark Landler                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/world/e Turkey Passes Law Allowing It to Jail People
2022-10-14   2022-10-15 urope/turkey-jail-fake-news.html             for Spreading Fake News                    By Ben Hubbard and Safak Timur     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/world/e
2022-10-14   2022-10-15 urope/ukraine-russia-missiles.html           Despite Air Barrage Russia Loses Ground    By Andrew E Kramer                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/world/ Protest and Prayers Became a Massacre in      By Cora Engelbrecht Nilo Tabrizy
2022-10-14   2022-10-15 middleeast/iran-zahedan-crackdown.html       Iran                                       and Ishaan Jhaveri                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/world/
                        middleeast/israel-palestinians-west-bank-
2022-10-14   2022-10-15 deadliest-year.html                          Unrest Shakes West Bank and Jerusalem      By Patrick Kingsley                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/your-
2022-10-14   2022-10-15 money/states-fafsa.html                      A Mandatory FAFSA Assignment               By Ann Carrns                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/busines
                        s/economy/apple-store-union-oklahoma-
2022-10-15   2022-10-15 city.html                                    Apple Store In Oklahoma Votes for Union    By Noam Scheiber                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/sports/b A Long Time Coming Phillies Return Home
2022-10-15   2022-10-15 aseball/phillies-braves-nlds-game-3.html     Was Worth the Wait                         By David Waldstein                 TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/14/us/polit 4 Key Moments From Debate For Governor in
2022-10-15   2022-10-15 ics/georgia-debate-badge-key-moments.html Georgia                                     By Lisa Lerer and Maya King          TX 9-233-140   2022-12-01



                                                                                Page 4370 of 5793
                        https://www.nytimes.com/2022/10/15/your-
2022-10-15   2022-10-15 money/ffel-student-loan-relief.html          Student Loans Forgotten Class               By Ron Lieber             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/article/nyc-migrant- As Asylum Seekers Arrive in New York City
2022-10-15   2022-10-15 crisis-explained.html                        Many Wonder What Happens Next               By Hurubie Meko           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/02/13/world/a
2022-02-13   2022-10-16 sia/us-china-panda-diplomacy.html            Questioning The Value Of Politics Via Panda By Alyssa Lukpat          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/08/17/books/b
2022-08-17   2022-10-16 ooks-iceland.html                            Read Your Way Through Reykjavk              By Olaf Olafsson          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/06/books/r
2022-09-06   2022-10-16 eview/amy-liptrot-the-instant.html           Berlin Stories                              By Evie Wyld              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/13/books/r
2022-09-13   2022-10-16 eview/buzz-bissinger-mosquito-bowl.html      War Games                                   By Jay Jennings           TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/13/books/r
2022-09-13   2022-10-16 eview/david-means-two-nurses-smoking.html Tell It Again                              By Jess Walter                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/13/books/r
2022-09-13   2022-10-16 eview/luke-mogelson-storm-is-here.html       Turbulence Ahead                        By Arlie Russell Hochschild   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/20/opinion
2022-09-20   2022-10-16 /us-mental-health-awareness.html             We Have Reached Peak Mental Health      By Huw Green                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/20/opinion
2022-09-20   2022-10-16 /us-mental-health-insight.html               How Do We Turn Symptoms Into Words      By Rachel Aviv                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/20/opinion
2022-09-20   2022-10-16 /us-mental-health-politics.html              Mental Health Is Political              By Danielle Carr              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/25/books/r
2022-09-25   2022-10-16 eview/jonathan-coe-wilder-and-me.html        Late Style                              By Benjamin Markovits         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/25/books/r
2022-09-25   2022-10-16 eview/new-historical-fiction.html            Magic Tricks                            By Alida Becker               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/opinion
                        /recovered-memory-therapy-mental-            The Forgotten Lessons of the Recovered
2022-09-27   2022-10-16 health.html                                  Memory Movement                         By Ethan Watters              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/27/opinion Therapy for People Who Cant Go to
2022-09-27   2022-10-16 /therapy-technology-mental-health.html       Therapy                                 By Adrian Aguilera            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/28/books/r
                        eview/confidence-man-donald-trump-maggie-
2022-09-28   2022-10-16 haberman.html                                King of Queens                          By Joe Klein                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/opinion The Deadly Collision of Racism and Mental
2022-10-04   2022-10-16 /racism-mental-illness-us.html               Illness                                 By Eyal Press                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/opinion
2022-10-04   2022-10-16 /us-conservative-therapy-politics.html       Conservatives Need Therapy Too          By Meghan Daum                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/04/realesta
2022-10-04   2022-10-16 te/montauk-ny-block-island-sound.html        On a Hilltop Letting the Sun Shine In   By Tim McKeough               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/books/r
                        eview/pretty-baby-chris-belcher-hysterical- Sex Work Academia and Pain That Resists
2022-10-06   2022-10-16 elissa-bassist-im-not-broken-jesse-leon.html Diagnosis                               By Jessica Ferri              TX 9-233-140   2022-12-01




                                                                                Page 4371 of 5793
                        https://www.nytimes.com/2022/10/06/books/r
                        eview/profiles-in-ignorance-andy-            Ignoramuses Are Gaining Ground Andy
2022-10-06   2022-10-16 borowitz.html                                Borowitz Warns                         By Elisabeth Egan                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/06/opinion Where Cowboys Are Learning to Talk About By Cassady Rosenblum and
2022-10-06   2022-10-16 /colorado-farmer-suicides.html               Their Feelings                         September Dawn Bottoms            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/nyregio
2022-10-07   2022-10-16 n/dog-attack-park-slope-brooklyn.html        Dogs Killing Divides Neighbors         By John Leland                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/books/
2022-10-08   2022-10-16 molly-young-book-recommendations.html        Read Like the Wind                     By Molly Young                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/books/r
2022-10-10   2022-10-16 eview/alan-moore-illuminations.html          Gods and Monsters                      By Junot Daz                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/realesta FaceTime and a Broker Helped Solve a
2022-10-10   2022-10-16 te/renters-fort-lee-new-jersey.html          Mystery                                By Marian Bull                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/t-
                        magazine/maximilian-eicke-hamptons-
2022-10-10   2022-10-16 cottage.html                                 About Time                             By Nick Haramis and Blaine Davis TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/books/r
                        eview/katherine-applegate-odder-lynne-rae-
                        perkins-violet-and-jobie-in-the-wild-carlie-
2022-10-11   2022-10-16 sorosiak-always-clementine.html              Of Mice and Men                        By Gregory Maguire                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/magazi
2022-10-11   2022-10-16 ne/cate-blanchett-tar-movie.html             Vanishing Act                          By Jordan Kisner and Jack Davison TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/magazi
2022-10-11   2022-10-16 ne/pingu-language.html                       Pingu                                  By Gabriel Rom                    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/11/magazi I Think My Stepson Is Actually A Neighbors
2022-10-11   2022-10-16 ne/stepson-biological-child-ethics.html     Biological Child What Should I Do          By Kwame Anthony Appiah       TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/opinion
2022-10-11   2022-10-16 /facebook-bipolar-disorder.html             When Facebook Broke My Brain               By Stephanie Eisler Vance     TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/opinion Teenagers Are Telling Us That Something
2022-10-11   2022-10-16 /teenagers-mental-health-america.html       Is Wrong With America                      By Jamieson Webster           TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/opinion Does Going to Therapy Make You a Good
2022-10-11   2022-10-16 /therapy-america.html                       Person                                     By Mychal Denzel Smith        TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/style/bi
2022-10-11   2022-10-16 rkenstock-boston-clog.html                  Selling Their Birkenstock Soles            By Madison Malone Kircher     TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/style/el
2022-10-11   2022-10-16 on-musk-social-calendar.html                Elon Musks Eclectic Social Calendar        By Joseph Bernstein           TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/t-
2022-10-11   2022-10-16 magazine/chopard-peace-sign-pendant.html     The Thing                                 By Nancy Hass                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/t-                                                  By Carolyn Asome and David
2022-10-11   2022-10-16 magazine/milli-proust-sussex.html           Let It Be Wild                             Fernndez                      TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/arts/mu
                        sic/ralph-vaughan-williams-150th-
2022-10-12   2022-10-16 anniversary.html                            Complicated Yes Conservative No            By David Allen                TX 9-233-140    2022-12-01




                                                                              Page 4372 of 5793
                        https://www.nytimes.com/2022/10/12/magazi
2022-10-12   2022-10-16 ne/american-trash-culture.html                 Trash Nation                                    By Wesley Morris                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/magazi Stay Warm This Fall With Butternut Squash
2022-10-12   2022-10-16 ne/lasagna-pie-recipe.html                     Lasagna                                         By Yotam Ottolenghi             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/magazi
2022-10-12   2022-10-16 ne/russian-action-movies.html                  Action Figures                                  By Amos Barshad                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/magazi
2022-10-12   2022-10-16 ne/sharon-olds-poetry.html                     Secrets and Lies                                By Sam Anderson                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/movies/
2022-10-12   2022-10-16 jamie-lee-curtis-halloween.html                Jamie Lee Curtis Keeping It Real                By Kyle Buchanan                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/nyregio
2022-10-12   2022-10-16 n/hurricane-sandy-ian.html                     One Decade Apart Storms Unite Survivors         By Alyson Krueger               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/realesta Now Serving a Sense of Nice Quaint and
2022-10-12   2022-10-16 te/south-amboy-nj.html                         Quiet                                           By Kathleen Lynn                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/style/ca
                        n-i-tell-my-friend-to-stop-using-her-sexy-baby
2022-10-12   2022-10-16 voice.html                                     An Irritating Voice                             By Philip Galanes               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/t-
2022-10-12   2022-10-16 magazine/crescent-bags-purses.html             Crescentbags                                    By Mari Maeda and Yuji Oboshi   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/t-
                        magazine/korean-food-national-royal-
2022-10-12   2022-10-16 cuisine.html                                   Taste the Nation                                By Ligaya Mishan and David Chow TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/t-
2022-10-12   2022-10-16 magazine/quinn-christopherson.html             T Introduces                                    By Juan A Ramrez                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/theater/
                        almost-famous-broadway-cameron-
2022-10-12   2022-10-16 crowe.html                                     A Musical About Loving Music                    By Robert Ito                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/arts/mu
                        sic/alice-gerrard-pioneering-women-of-
2022-10-13   2022-10-16 bluegrass.html                                 A Bluegrass Pioneer Still Has Stories to Tell   By Grayson Haver Currin         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/arts/tele
2022-10-13   2022-10-16 vision/eugenio-derbez-favorite-things.html     Eugenio Derbez Loves His Second Chances         By Chris Kornelis               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/books/r
2022-10-13   2022-10-16 eview/george-saunders-liberation-day.html      The Gaping Maw of Hell                          By Colin Barrett                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/books/r
2022-10-13   2022-10-16 eview/good-inside-becky-kennedy.html           Inside the List                                 By Elisabeth Egan               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/climate The Global Effort to Waste Not Want Not
2022-10-13   2022-10-16 /global-food-waste-solutions.html              When It Comes to Food                           By Somini Sengupta              TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/13/magazi
2022-10-13   2022-10-16 ne/black-literature-representation-trap.html Role Play                                         By Ismail Muhammad              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/magazi She Suffered From Headaches and Fatigue
2022-10-13   2022-10-16 ne/jeavons-syndrome-diagnosis.html           Were Concussions to Blame                         By Lisa Sanders MD              TX 9-233-140   2022-12-01




                                                                                    Page 4373 of 5793
                        https://www.nytimes.com/2022/10/13/magazi
                        ne/judge-john-hodgman-eating-banana-
2022-10-13   2022-10-16 peels.html                                     Bonus Advice From Judge John Hodgman        By John Hodgman                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/magazi                                                  By Jennifer Elise Foerster and
2022-10-13   2022-10-16 ne/poem-apricots.html                          Poem Apricots                               Victoria Chang                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/needies
                        t-cases/with-job-skills-support-i-feel-like-i-
2022-10-13   2022-10-16 want-to-fly.html                               With Job Skills Support I Want to Fly       By Emma Grillo                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/realesta
2022-10-13   2022-10-16 te/downtown-rental-apartments.html             Wanted Rentals in the Heart of Cities       By Michael Kolomatsky            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/realesta
2022-10-13   2022-10-16 te/lucia-eames-crate-barrel.html               Meet the Latest Midcentury Design Celebrity By Julie Lasky                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/realesta Robert Toll 81 Brother Who MassProduced
2022-10-13   2022-10-16 te/robert-toll-dead.html                       McMansions                                  By Sam Roberts                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/sports/f Mahomes Faces His First Career Game as a
2022-10-13   2022-10-16 ootball/nfl-week-6-predictions.html            Home Underdog                               By David Hill                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/style/w Some Couples Use Gifts to Back
2022-10-13   2022-10-16 edding-registry-abortion-fundraising.html      Reproductive Rights                         By Julianne McShane              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/theater/
2022-10-13   2022-10-16 kate-nash-only-gold.html                       A Versatile Star Keeps Bouncing Back        By Elisabeth Vincentelli         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/us/lake-
2022-10-13   2022-10-16 shasta-ghost-boat-california-drought.html      World War II Ghost Boat in US Lake          By Michael Levenson              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/us/stanf
2022-10-13   2022-10-16 ord-apology-jewish-students.html               Stanford Apologizes for Excluding Jews      By Amanda Holpuch                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/10/
                        13/realestate/cleveland-ohio-suburbs-          Leaving New York for Cleveland Heres How
2022-10-13   2022-10-16 houses.html                                    Far Their Money Went                        By Debra Kamin                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/arts/dan Nimble Interpreters Of Music and Lyrics
2022-10-14   2022-10-16 ce/mark-morris-burt-bacharach.html             From a Master                               By Brian Seibert                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/arts/rob Robbie Coltrane 72 Beloved HalfGiant           By Amanda Holpuch and Alex
2022-10-14   2022-10-16 bie-coltrane-harry-potter-dead.html            Hagrid in Harry Potter Dies                 Marshall                         TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/14/arts/tele
2022-10-14   2022-10-16 vision/michael-imperioli-the-white-lotus.html Finding Comedy Where Pain Lurks              By Alexis Soloski                TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/14/books/c In His New Novels Cormac McCarthy Gets
2022-10-14   2022-10-16 ormac-mccarthy-passenger-stella-maris.html Real                                            By Alexandra Alter               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/books/r
                        eview/babel-anchored-world-self-portrait-with
2022-10-14   2022-10-16 nothing.html                                  Speak and Spellcasting                       By Amal ElMohtar                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/busines Dan Wieden Who Wrote the Just Do It
2022-10-14   2022-10-16 s/media/dan-wieden-dead.html                  Tagline for Nike Is Dead at 77               By Alex Williams                 TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/14/busines
2022-10-14   2022-10-16 s/mutual-funds/energy-markets-volatility.html Taking All Bets on Energy Prices             By J Alex Tarquinio              TX 9-233-140   2022-12-01



                                                                                  Page 4374 of 5793
                        https://www.nytimes.com/2022/10/14/busines
                        s/mutual-funds/investing-environmental-    Guided by Your Values But Betting on
2022-10-14   2022-10-16 social-governance-funds.html               Growth                                         By Tim Gray                  TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/14/busines
2022-10-14   2022-10-16 s/roxane-gay-work-advice-zoom-vaping.html ZoomMeeting Etiquette and Caring Less        By Roxane Gay                   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/14/busines Social Securitys Inflation Protection Is
2022-10-14   2022-10-16 s/social-security-inflation.html           Priceless                                   By Jeff Sommer                  TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/14/busines
                        s/social-security-millennials-baby-
2022-10-14   2022-10-16 boomers.html                               Im Young This System Wont Help Me Right By Charlotte Cowles                 TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/14/nyregio Child Care Providers Want to Help They Also
2022-10-14   2022-10-16 n/child-care-nyc-adams.html                Need to Be Paid                             By Ginia Bellafante             TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/14/realesta
2022-10-14   2022-10-16 te/marijuana-dispensary-interior-design.html Marijuana Dispensaries Invest in Makeovers   By Anna Kod                  TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/14/sports/f
                        ootball/lamar-jackson-daniel-jones-          Playing for New Deals 2 Quarterbacks Make
2022-10-14   2022-10-16 contract.html                                Very Different Cases                         By Emmanuel Morgan           TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/14/sports/s The Enduring Appeal of Ronaldo The Sports
2022-10-14   2022-10-16 occer/ronaldo-phenemenon-dazn.html           Original Phenomenon                          By Rory Smith                TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/14/style/br A Teenage Crush Eventually Leads to
2022-10-14   2022-10-16 ittney-adu-aaron-canales-wedding.html        Marriage                                     By Tammy La Gorce            TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/14/style/ell An Outdoor Adventure Confirms Some Early
2022-10-14   2022-10-16 ie-macpherson-lucas-mcmahon-wedding.html Reviews                                      By Tammy La Gorce                TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/14/style/ga
2022-10-14   2022-10-16 brielle-garcia-joel-walkowski-wedding.html His Words Found Their Way Into Her Heart By Jenny Block                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/style/m
                        odern-love-divorce-dividing-up-a-
2022-10-14   2022-10-16 marriage.html                                Factor Separation Into the Divorce Equation By Emily O Gravett              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/style/th
                        e-fight-for-the-soul-of-pilates-moves-from-
2022-10-14   2022-10-16 instagram-to-court.html                      A Legal Dispute Contorts the Pilates World By Katherine Rosman              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/style/tw
2022-10-14   2022-10-16 o-tattoos-gone-wrong.html                    One Bad Tattoo Deserves Another             By Kashana Cauley               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/style/tyl Everything Changed When He Walked in the
2022-10-14   2022-10-16 er-cherry-jakob-stronko-wedding.html         Door                                        By Emma Grillo                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/t-                                                    By Hetty Lui McKinnon and Kyoko
2022-10-14   2022-10-16 magazine/chamomile-food-fashion.html         The Flower We Need Now                      Hamada                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/t-
2022-10-14   2022-10-16 magazine/hermes-watch-airships.html          First Of Its Kind Last Of Its Kind          By Lindsay Talbot               TX 9-233-140   2022-12-01




                                                                                 Page 4375 of 5793
                        https://www.nytimes.com/2022/10/14/t-
                        magazine/michael-r-jackson-jacolby-
2022-10-14   2022-10-16 satterwhite.html                           Michael R Jackson and Jacolby Satterwhite    By Lovia Gyarkye       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/us/alas
2022-10-14   2022-10-16 ka-cancels-crab-season.html                Alaska Cancels Its Snow Crab Season          By Johnny Diaz         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/world/e
                        urope/netherlands-princess-threats-        Fears of Abduction or Attack Confine Dutch
2022-10-14   2022-10-16 university.html                            Princess to Palace                           By Claire Moses        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/busines
2022-10-15   2022-10-16 s/economy/rent-tenant-activism.html        The Rent Revolution Is Coming                By Conor Dougherty     TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/15/busines
                        s/economy/with-so-much-riding-on-the-feds-
2022-10-15   2022-10-16 moves-its-hard-to-know-how-to-invest.html Waiting for the Fed                           By Conrad de Aenlle    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/busines New ETFs Turn a Virtue Into a Matter of
2022-10-15   2022-10-16 s/etf-single-stock-risk.html               Concern                                      By Brian J OConnor     TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/15/busines Applications Are Now Open For Student
2022-10-15   2022-10-16 s/student-debt-cancellation-applications.html Loan Debt Relief                          By Stacy Cowley        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/nyregio
2022-10-15   2022-10-16 n/maulik-pancholy.html                        ActorNovelist Focuses on Recharging       By Tammy La Gorce      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/nyregio Hotelier Cherishes the Past and Plans for
2022-10-15   2022-10-16 n/rita-paul-washington-square-park.html       Tomorrow                                  By Abby Ellin          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/realesta
2022-10-15   2022-10-16 te/abortion-volunteer-homes.html              Opening Homes to Those Seeking Abortions By Ronda Kaysen         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/realesta What Remedies Can I Seek If Im Living in an
2022-10-15   2022-10-16 te/illegal-sublet-rent-apartment.html         Illegal Sublet                            By Ronda Kaysen        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/sports/b Boisterous Crowd Eats Up Padres Win Over
2022-10-15   2022-10-16 aseball/dodgers-padres-nlds-game-3.html       Dodgers In City Thirsting for a Title     By Scott Miller        TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/15/sports/b As Godfather of Bisbol en Espaol He Inspired
2022-10-15   2022-10-16 aseball/jaime-jarrin-dodgers-influence.html a Generation                                  James Wagner         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/sports/b
2022-10-15   2022-10-16 aseball/phillies-braves-score.html            Philadelphias Spirit Does In Champions      By Alan Blinder      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/style/bj
2022-10-15   2022-10-16 ork-still-using-style-to-captivate.html       Still Using Style to Astonish and Captivate By Indya Brown       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/style/ja
                        den-smith-katie-holmes-justin-theroux-louis-
2022-10-15   2022-10-16 vuitton-bulgari.html                          3 Anniversaries Turn Some Heads             By Denny Lee         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/us/math They Made Each Minute Count To Avert
2022-10-15   2022-10-16 student-achievement-pandemic.html             Pandemic Dip in Math                        By Sarah Mervosh     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/us/nearl
                        y-erased-by-history-african-americans-search- African Americans Search For Graves Lost to
2022-10-15   2022-10-16 for-lost-graves.html                          History                                     By Audra D S Burch   TX 9-233-140   2022-12-01




                                                                                Page 4376 of 5793
                        https://www.nytimes.com/2022/10/15/us/park Juror Describes Late Effort To Sway Parkland By Patricia Mazzei and Audra D S
2022-10-15   2022-10-16 land-trial-juror-death-sentence.html        Penalty                                     Burch                              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/us/polit As White House Presses for Booster Shots
2022-10-15   2022-10-16 ics/covid-booster-shots.html                Americans Are Slow to Get Them              By Noah Weiland                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/us/polit Third Party and Nike Cash May Pave Way for
2022-10-15   2022-10-16 ics/kotek-drazan-oregon-governor.html       Republican to Lead Oregon                   By Mike Baker and Reid J Epstein   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/us/polit
                        ics/mccarthy-midterm-elections-far-right-   FarRight Republicans Face Tough Races in
2022-10-15   2022-10-16 republicans.html                            Swing Districts Testing McCarthy            By Annie Karni                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/us/polit
                        ics/new-generation-of-combat-vets-eyeing-
2022-10-15   2022-10-16 house-strike-from-the-right.html            Seeking Office Veterans Lean Into Trumpism By Jonathan Weisman                 TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/15/us/polit
2022-10-15   2022-10-16 ics/walker-warnock-debate-police-badge.html Badge Flash During Debate Courts Scrutiny   By Maya King and Neil Vigdor       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/world/a Beijing Battens Down Again This Time for a
2022-10-15   2022-10-16 sia/beijing-congress-security-covid.html    Communist Conclave                          By Vivian Wang                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/world/a Engulfed by Grief With No Dry Land To        By Christina Goldbaum and Zia
2022-10-15   2022-10-16 sia/pakistan-floods-dadu-sindh.html         Bury the Dead                               urRehman                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/world/a
2022-10-15   2022-10-16 ustralia/australia-floods-evacuations.html  Thousands Flee Flooding In Australia        By Yan Zhuang                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/world/e Belarus Strongman Wavers as Putin Presses
2022-10-15   2022-10-16 urope/belarus-ukraine-war-russia.html       Him to Join a Faltering War Effort          By Andrew Higgins                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/15/world/e Britains New Finance Chief Repudiates Prime
2022-10-15   2022-10-16 urope/britain-truss-hunt-economics-taxes.html Ministers Signature Plan                 By Stephen Castle                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/world/e SpaceX Will Keep Funding Ukraines Internet
2022-10-15   2022-10-16 urope/musk-ukraine-internet-starlink.html     Service                                  By Cade Metz                        TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/15/world/e Ignoring Condemnation Moscow Moves to         By Ben Hubbard and Matthew
2022-10-15   2022-10-16 urope/putin-annexations-ukraine-nuclear.html Cement 4 Annexations                        Mpoke Bigg                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/world/e Coal Mine Explosion in Turkey Leaves at
2022-10-15   2022-10-16 urope/turkey-mine-explosion.html             Least 41 Dead and 11 Hurt                   By Ben Hubbard and Safak Timur    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/world/e                                               By Carlotta Gall and Oleksandr
2022-10-15   2022-10-16 urope/ukraine-bucha-women-russia.html        The Lives of 3 Women Brutally Lost in Bucha Chubko                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/world/ Fire Erupts at Prison Housing Dissidents in
2022-10-15   2022-10-16 middleeast/iran-evin-prison-fire.html        Iran                                        By Farnaz Fassihi                 TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/15/sports/b
2022-10-16   2022-10-16 aseball/yankees-guardians-alds-game-3.html Yanks Blow 2Run Lead in the 9th            By James Wagner                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/16/busines
2022-10-16   2022-10-16 s/the-week-in-business-inflation.html       The Week in Business Prices Keep Climbing By Marie Solis                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/16/insider/
2022-10-16   2022-10-16 tyler-kepner-mets-edwin-diaz.html           A Columnist Keeps Close to the Plate      By Emmett Lindner                    TX 9-233-140   2022-12-01




                                                                                Page 4377 of 5793
                        https://www.nytimes.com/2022/10/16/nyregio Amid New Yorks Housing Crisis Progressives
2022-10-16   2022-10-16 n/politicians-housing-crisis-real-estate.html Warm to Developers                      By Mihir Zaveri                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/16/sports/b
                        asketball/victor-wembanyama-nba-draft-
2022-10-16   2022-10-16 2023.html                                     On His Own Planet on the Court and Off  By Tania Ganguli and James Hill       TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/16/us/polit Democrats Quiet On Aid Victories As Prices
2022-10-16   2022-10-16 ics/democrats-economic-aid-midterms.html Spiral                                        By Jim Tankersley                    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/16/world/e Elections Approaching Erdogan Raises the
2022-10-16   2022-10-16 urope/turkey-elections-erdogan-greece.html Heat Again With Greece                       By Steven Erlanger                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/22/world/e A Long Intense Drought Reveals Ghosts of
2022-09-22   2022-10-17 urope/europe-rivers-reservoirs-drought.html Europes Past                             By Derrick Bryson Taylor               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/travel/f Help A Rental Car Company Charged Me For
2022-10-05   2022-10-17 oreign-rental-car-fees.html                 Speeding Tickets I Never Received        By Seth Kugel                          TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/11/us/vene At Their First Stop in Florida Venezuelan      By Peter Kujawinski and Erin
2022-10-11   2022-10-17 zuelan-migrants-florida-doral-refugees.html Migrants Find Support                         Kirkland for The New York Times   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/busines
                        s/media/midterms-foreign-language-          Misinformation Penetrates More Language
2022-10-12   2022-10-17 misinformation.html                         Barriers                                      By Tiffany Hsu                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/arts/dan
2022-10-14   2022-10-17 ce/lauren-anderson-plumshuga.html           A Ballerinas Trip to the Mountaintop          By Kayla Stewart                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/busines
                        s/dealbook/albertsons-kroger-merger-        How Supermarket Merger Could Change
2022-10-14   2022-10-17 explained.html                              Landscape                                     By Lauren Hirsch                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/busines Why Reno Is Booming Yet Workers Feel           By Jordyn Holman and Deanne
2022-10-14   2022-10-17 s/reno-warehouses-cost-of-living.html       Pinched                                       Fitzmaurice                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/obituari
                        es/katharine-briggs-and-isabel-myers-                                                     By Glenn Rifkin and Benedict
2022-10-14   2022-10-17 overlooked.html                             Katharine Briggs and Isabel Myers             Carey                             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/opinion Experimental Treatments Are Too Much of a
2022-10-14   2022-10-17 /experimental-treatment.html                Gamble                                        By Alison BatemanHouse            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/busines
                        s/dealbook/biden-saudi-investment-          Bidens Ire Wont Keep US Executives From
2022-10-15   2022-10-17 conference.html                             Saudi Arabia Summit                           By Michael J de la Merced         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/opinion
2022-10-15   2022-10-17 /walker-warnock-debate.html                 A Butcher of Language                         By Charles M Blow                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/technol Thiel Said to Be Planning To Get Maltese
2022-10-15   2022-10-17 ogy/peter-thiel-malta-citizenship.html      Citizenship                                   By Ryan Mac and Justin Scheck     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/us/charl Rev Charles Sherrod a Civil Rights Pioneer in
2022-10-15   2022-10-17 es-sherrod-dead.html                        Georgia Is Dead at 85                         By Clay Risen                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/us/stoc Man Arrested for Killings That Rattled
2022-10-15   2022-10-17 kton-serial-killer-arrest.html              Californians                                  By Eduardo Medina                 TX 9-233-140   2022-12-01



                                                                                Page 4378 of 5793
                        https://www.nytimes.com/2022/10/15/sports/c As Women Show Their Greatness the Night
2022-10-16   2022-10-17 laressa-shields-savannah-marshall.html      Belongs to the Greatest                        By Karim Zidan                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/arts/des
                        ign/bamigboye-nigeria-yale-university-
2022-10-16   2022-10-17 sculptor.html                               Gaining Fame Beyond Africa                     By Holland Cotter             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/arts/mu
                        sic/iranian-female-composers-association-
2022-10-16   2022-10-17 review.html                                 Far From Tehran Letting Music Talk             By Seth Colter Walls          TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/arts/rec
2022-10-16   2022-10-17 ap-podcasts-mallory-rubin.html              Podcaster And Proud Nerd Finds Her Lane        By Reggie Ugwu                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/books/p
2022-10-16   2022-10-17 aul-newman-memoir.html                      Paul Newmans Memoir Isnt Hagiography           By Dave Itzkoff               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/crossw
2022-10-16   2022-10-17 ords/daily-puzzle-2022-10-17.html           A Puzzle That Has Our Full Attention           By Deb Amlen                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/opinion
2022-10-16   2022-10-17 /warnock-herschel-walker-debate.html        Why Herschel Walker May Win                    By Frank Bruni                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/opinion Three Things Americans Should Learn From
2022-10-16   2022-10-17 /xi-jinping-china-economy.html              Xis China                                      By Farah Stockman             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/sports/b Bruce Sutter Hall of Fame Relief Pitcher and
2022-10-16   2022-10-17 aseball/bruce-sutter-dead.html              AllStar Dies at 69                             By Richard Goldstein          TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/sports/b A ShortLived Return And a Promise to Be
2022-10-16   2022-10-17 aseball/mariners-astros-alds-game-3.html    Back                                           By Tyler Kepner               TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/16/sports/b 111Win Dodgers Learn Hard Lesson October
2022-10-16   2022-10-17 aseball/padres-eliminate-dodgers-nlds.html  Baseball Can Be Brutal                     By Scott Miller                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/sports/f The Dont Fold Giants Beat Last Seasons Win
2022-10-16   2022-10-17 ootball/giants-ravens-score.html            Total in Game 6                            By Kris Rhim                      TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/sports/f
2022-10-16   2022-10-17 ootball/nfl-week-6-takeaways.html           What We Learned This Week                  By Derrik Klassen                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/us/geor Inmate Impersonated Billionaire and Stole
2022-10-16   2022-10-17 gia-inmate-scam-billionaire.html            Millions While In Prison Officials Say     By Vimal Patel                    TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/us/polit In Tight Races Some Calling for Biden Not
2022-10-16   2022-10-17 ics/jill-biden-democrats-midterms.html      That Biden                                 By Katie Rogers                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/world/a Stormy Seas Warning As Xi Doubles Down By Chris Buckley Keith Bradsher
2022-10-16   2022-10-17 sia/china-congress-xi-jinping.html          On HardLine Policies                       Vivian Wang and Austin Ramzy      TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/world/e For Macron Juggling War Anxiety and
2022-10-16   2022-10-17 urope/macron-france.html                    Legacy                                     By Roger Cohen                    TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/world/e Thousands March In Paris to Protest Ever
2022-10-16   2022-10-17 urope/paris-protest-inflation.html          Rising Costs                               By Constant Mheut                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/world/e Inside Russias Chaotic Draft Desperation
2022-10-16   2022-10-17 urope/russia-draft-ukraine.html             Swells                                     By Neil MacFarquhar               TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/16/world/e Explosions Hit Staging Region Used by           By Andrew Higgins Megan Specia
2022-10-16   2022-10-17 urope/ukraine-russia-belgorod-donetsk.html Russia                                          and Ivan Nechepurenko          TX 9-233-140   2022-12-01




                                                                                 Page 4379 of 5793
                        https://www.nytimes.com/2022/10/16/world/e                                              By Maria Varenikova Andrew E
2022-10-16   2022-10-17 urope/ukraine-surrogacy-war.html           Surrogacy Survives Amid Missile Strikes      Kramer and Lynsey Addario        TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/16/busines Activist Wants Say in Merger Between Fox
2022-10-17   2022-10-17 s/fox-news-corp-merger-activist.html       And News Corp                                By Lauren Hirsch                 TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/16/sports/b Yankees 324 Million Man Buys Them
2022-10-17   2022-10-17 aseball/yankees-guardians-alds-game-4.html Another Game                                 By James Wagner                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/17/arts/tele
                        vision/whats-on-tv-this-week-the-vow-and-
2022-10-17   2022-10-17 american-horror-story.html                   This Week on TV                            By Shivani Gonzalez              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/17/nyregio Migrants in New York Are Grateful for Help
2022-10-17   2022-10-17 n/nyc-asylum-seekers-bronx.html              But They Want to Work                      By Karen Zraick                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/us/fenci Fencing Is Pricey And It Can Open an Ivy    By Stephanie Saul and Photographs
2022-10-17   2022-10-17 ng-ivy-league-college-admissions.html        Door                                       by Desiree Rios                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/17/us/polit GOP Gains Edge in Poll As Economy Sways
2022-10-17   2022-10-17 ics/republicans-economy-nyt-siena-poll.html Voters                                         By Shane Goldmacher           TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/17/world/
                        middleeast/iran-protests-revolutionary-         Tehrans Most Loyal Defenders Have Much to By Ben Hubbard and Farnaz
2022-10-17   2022-10-17 guards.html                                     Lose in Protests                           Fassihi                       TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/03/well/liv
2022-10-03   2022-10-18 e/medical-test-results-cures-act.html           Medical Test Results Online and Upsetting  By Danielle Friedman          TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/04/science Harpooning Insects They Dont Lose Their
2022-10-04   2022-10-18 /mosquito-larvae-harpoon.html                   Heads But Do Toss Them Around a Bit        By Oliver Whang               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/05/science Relatively Earthbound A Look at a Prehistoric
2022-10-05   2022-10-18 /pterosaurs-reptiles-wings.html                 Flier Before It Got Its Wings              By Jack Tamisiea              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/05/well/m
2022-10-05   2022-10-18 ove/urban-surfing-cities.html                   Catch a Wave Along the East Coast          By Lisa Fogarty               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/article/fall-allergies-
2022-10-08   2022-10-18 symptoms-treatment.html                         Allergies Arent Just A Springtime Problem By Dani Blum                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/article/flu-shot-
2022-10-10   2022-10-18 vaccine.html                                    A Flu Shot Every Year What the Experts Say By Knvul Sheikh               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/11/health/a
2022-10-11   2022-10-18 vian-flu-birds-migration.html                   Bird Flu Returns With a Whoosh             By Emily Anthes               TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/11/well/mi Is It Safe to Drink Alcohol While Taking
2022-10-11   2022-10-18 nd/drinking-alcohol-ssri-antidepressants.html SSRIs                                  By Jyoti Madhusoodanan              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/science Missing Chicks Why South Pacific Penguins
2022-10-12   2022-10-18 /erect-crested-penguin-antipodes-egg.html     Give Up on Half Their Eggs             By Darren Incorvaia                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/12/science Lessons From Growing Human Brain Cells in
2022-10-12   2022-10-18 /human-brain-cells-organoids-rats.html        Rats                                   By Carl Zimmer                      TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/13/arts/des
                        ign/american-alliance-of-museums-diversity-
2022-10-13   2022-10-18 equity-inclusion.html                         US Arts Alliance Plans Diversity Goals By Graham Bowley                    TX 9-233-140    2022-12-01




                                                                                Page 4380 of 5793
                        https://www.nytimes.com/2022/10/13/arts/mu
2022-10-13   2022-10-18 sic/tar-female-conductors-power.html           Falling Into The Same Power Traps          By Zachary Woolfe            TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/13/books/f Six FullTime Staff Members Three Nobel
2022-10-13   2022-10-18 itzcarraldo-nobel-prize-ernaux.html           Prizes                                      By Alex Marshall             TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/13/health/
2022-10-13   2022-10-18 doctors-first-names.html                      Patients and Doctors On a FirstName Basis   By Gina Kolata               TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/14/arts/des
                        ign/grand-central-madison-kiki-smith-yayoi-
2022-10-14   2022-10-18 kusama.html                                   MTA Picks Artists For New Rail Terminal     By Ted Loos                  TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/14/arts/des
                        ign/studio-museum-in-harlem-artists-in-
2022-10-14   2022-10-18 residence.html                                Studio Museum Welcomes Three Artists        By Kalia Richardson          TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/14/arts/tele
                        vision/rings-of-power-sauron-halbrand-charlie Its a Relief An Actor Unveils An Evil
2022-10-14   2022-10-18 vickers.html                                  Mystery                                     By Jennifer Vineyard         TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/14/science Beyond Snarky When Sarcastic Fringeheads
2022-10-14   2022-10-18 /sarcastic-fringehead-mouth-display.html      Open Their Mouths Its Not That Funny        By Jason P Dinh              TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/14/us/dr- Dr Vincent DiMaio 81 Pathologist Sought
2022-10-14   2022-10-18 vincent-dimaio-dead.html                      Out In Famed Murder Cases                   By Sam Roberts               TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/15/us/han- Crusty Star Wars Hero Receives Fitting
2022-10-15   2022-10-18 solo-bakery-sculpture.html                    Tribute                                     By Michael Levenson          TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/16/sports/s Man Who Invested In a Young Neymar Is
2022-10-16   2022-10-18 occer/neymar-soccer-delcir-sonda-fraud.html Suing for Millions                         By Tariq Panja                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/16/us/eric- Two Comedians Suing Over Airport Police
2022-10-16   2022-10-18 andre-clayton-english-atl-lawsuit.html      Stop                                       By April Rubin                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/16/theater/
2022-10-17   2022-10-18 melissa-etheridge-my-window-review.html A Music Trailblazer Found Her Own Way          By Laura CollinsHughes            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/arts/kev At Civil Trial Spacey Calls His Initial
2022-10-17   2022-10-18 in-spacey-rapp-trial-testimony.html         Apology a Mistake Advised by Publicists    By Julia Jacobs and Nate Schweber TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/arts/mu Tenor Claims His Place Among the Mets
2022-10-17   2022-10-18 sic/peter-grimes-met-opera-review.html      Stars                                      By Joshua Barone                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/books/a
2022-10-17   2022-10-18 lan-rickman-diaries.html                    Traces Of a Life Well Spent                By Dwight Garner                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/books/s Sri Lankan Wins Booker Prize for His Satire
2022-10-17   2022-10-18 hehan-karunatilaka-booker-prize.html        on the Trauma of War                       By Alexandra Alter                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/busines Bank of Americas Earnings Show Consumers
2022-10-17   2022-10-18 s/bank-of-america-earnings.html             Strength                                   By Emily Flitter                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/busines Beijing Pauses GDP Release As Communist
2022-10-17   2022-10-18 s/china-gdp-delay.html                      Party Gathers                              By Keith Bradsher                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/busines Under Xi China May Be Reverting to          By Daisuke Wakabayashi Chang
2022-10-17   2022-10-18 s/china-xi-jinping-business-economy.html    StateControlled Economy                    Che and Claire Fu                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/busines
2022-10-17   2022-10-18 s/china-xi-jinping-governance.html          Their Hopes Evaporated In Xis China        By Li Yuan                        TX 9-233-140   2022-12-01




                                                                                 Page 4381 of 5793
                        https://www.nytimes.com/2022/10/17/busines How Switzerlands Oldest Bank Became a          By Maureen Farrell Emily Flitter
2022-10-17   2022-10-18 s/credit-suisse-meme-stock.html            Meme Stock                                     and Joe Rennison                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/busines Kanye West to Buy Parler A RightWing
2022-10-17   2022-10-18 s/kanye-west-parler.html                   Platform                                       By Tiffany Hsu and Jenny Gross      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/busines
2022-10-17   2022-10-18 s/stock-markets.html                       Markets Bounce After Week of Whiplash          By Isabella Simonetti               TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/17/busines Government Begins Accepting Applications By Stacy Cowley and Alan
2022-10-17   2022-10-18 s/student-loans-cancel-debt-applications.html for Student Debt Forgiveness Program        Rappeport                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/busines British Markets Rise as New Chancellor
2022-10-17   2022-10-18 s/uk-markets-pound-gilts.html                 Discards Trusss Tax and Spending Plans      By Eshe Nelson                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/health/c
2022-10-17   2022-10-18 litoris-sex-doctors-surgery.html              A Blind Spot                                By Rachel E Gross                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/health/ Frequent Use of Hair Straighteners May Pose
2022-10-17   2022-10-18 hair-straighteners-black-women-cancer.html Risk for Uterine Cancer Study Finds            By Roni Caryn Rabin                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/movies/
2022-10-17   2022-10-18 dwayne-johnson-black-adam.html                Drawing on His BadGuy Past                  By Dave Itzkoff                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/nyregio Horse Thrust Into Conflict By Collapse Dies
2022-10-17   2022-10-18 n/carriage-ride-horse-dead.html               on Farm                                     By Sarah Maslin Nir                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/nyregio Plan Would Give New Yorks Rats Less Time
2022-10-17   2022-10-18 n/garbage-nyc-sidewalk-timing.html            to Feast                                    By Jeffery C Mays                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/nyregio Man Killed By Subway After Fight On
2022-10-17   2022-10-18 n/nyc-subway-track-death.html                 Platform                                    By Liam Stack                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/opinion
2022-10-17   2022-10-18 /cheney-taylor-greene-jan-6.html              The Final Hurrah for Decent Republicans     By Michelle Goldberg                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/opinion
2022-10-17   2022-10-18 /republican-debt-federal-budget.html          Preparing for Debt Blackmail by the GOP     By Paul Krugman                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/opinion How Much Will the Supreme Court Change
2022-10-17   2022-10-18 /supreme-court-midterms.html                  the World                                   By Gail Collins and Bret Stephens   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/science James A McDivitt Pilot For NASA Is Dead at
2022-10-17   2022-10-18 /space/james-a-mcdivitt-dead.html             93                                          By Richard Goldstein                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/sports/b Chaos in the Playoff System Its a Feature Not
2022-10-17   2022-10-18 aseball/division-series-upsets.html           a Bug                                       By Tyler Kepner                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/sports/f Facing a Fierce Pass Rush an Unfazed Hurts
2022-10-17   2022-10-18 ootball/eagles-cowboys-score.html             Keeps the Eagles Unbeaten                   By Emmanuel Morgan                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/sports/o Jim Redmond 81 His Aid to Son Became
2022-10-17   2022-10-18 lympics/jim-redmond-dead.html                 Olympic Moment                              By Clay Risen                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/sports/s
                        occer/karim-benzema-real-madrid-ballon-       Benzema Wins Ballon dOr After Years of
2022-10-17   2022-10-18 dor.html                                      Waiting His Turn                            By Rory Smith                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/technol
                        ogy/elizabeth-holmes-case-adam-               Witness in Holmes Case Is Grilled at New
2022-10-17   2022-10-18 rosendorff.html                               Hearing                                     By Erin Griffith                    TX 9-233-140   2022-12-01




                                                                                 Page 4382 of 5793
                        https://www.nytimes.com/2022/10/17/technol
                        ogy/salem-media-charlie-kirk-sebastian-
2022-10-17   2022-10-18 gorka.html                                  Conservative Radios Battleground Blitz         By Cecilia Kang and Tiffany Hsu   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/us/naki In Washington Thousands Flee Wildfire
2022-10-17   2022-10-18 a-creek-fire-washington.html                Fanned By Strong Gusts                         By Remy Tumin and April Rubin     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/us/okla Bodies of Four Friends Reported Missing
2022-10-17   2022-10-18 homa-bodies-river.html                      South of Tulsa Discovered Dismembered          By Michael Levenson               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/us/polit Benjamin Civiletti Attorney General in Iran
2022-10-17   2022-10-18 ics/benjamin-r-civiletti-dead.html          Hostage Crisis Dies at 87                      By Robert D McFadden              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/us/polit
2022-10-17   2022-10-18 ics/danchenko-durham-trump.html             Deliberations Begin in Trial of Russia Analyst By Linda Qiu and Charlie Savage   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/us/polit Prosecutorial Style Sets High Bar for          By Michael S Schmidt and Luke
2022-10-17   2022-10-18 ics/house-jan-6-committee.html              Committee Showing Criminality                  Broadwater                        TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/17/us/polit 80 Billion IRS Overhaul Has No Leader
2022-10-17   2022-10-18 ics/irs-commissioner-nomination-delay.html Critics Say                                 By Alan Rappeport               TX 9-233-140         2022-12-01
                        https://www.nytimes.com/2022/10/17/us/polit Kemp and Abrams Make Their Closing
2022-10-17   2022-10-18 ics/kemp-stacey-abrams-debate.html          Arguments                                  By Reid J Epstein and Maya King TX 9-233-140         2022-12-01
                        https://www.nytimes.com/2022/10/17/us/polit                                            By Alexandra Berzon and Nick
2022-10-17   2022-10-18 ics/midterm-elections-challenges.html       Right Prepares Activist Army To Watch Vote Corasaniti                      TX 9-233-140         2022-12-01
                        https://www.nytimes.com/2022/10/17/us/polit Oath Keepers Leader Purchased Weapons
2022-10-17   2022-10-18 ics/oath-keepers-weapons-jan-6.html         On Way to Washington                       By Alan Feuer and Zach Montague TX 9-233-140         2022-12-01
                        https://www.nytimes.com/2022/10/17/us/polit
                        ics/steve-bannon-sentencing-justice-        Justice Dept Recommends 6 Months for       By Alan Feuer and Luke
2022-10-17   2022-10-18 department.html                             Bannon                                     Broadwater                      TX 9-233-140         2022-12-01
                        https://www.nytimes.com/2022/10/17/us/polit Trump Hotels Billed Government 1185 for    By David A Fahrenthold and Luke
2022-10-17   2022-10-18 ics/trump-hotels-secret-service.html        Secret Service Rooms                       Broadwater                      TX 9-233-140         2022-12-01
                        https://www.nytimes.com/2022/10/17/us/polit
                        ics/vance-ryan-ohio-senate-debate-          Ryan and Vance Spar In Ohio Senate Debate
2022-10-17   2022-10-18 takeaways.html                              As Race Stays Tight                        By Katie Glueck                 TX 9-233-140         2022-12-01
                        https://www.nytimes.com/2022/10/17/world/a Nigerias Worst Flooding in Years Kills
2022-10-17   2022-10-18 frica/nigeria-floods.html                   Hundreds                                   By Ruth Maclean                 TX 9-233-140         2022-12-01

                        https://www.nytimes.com/2022/10/17/world/a
2022-10-17   2022-10-18 sia/manchester-china-consulate-beating.html Protester Beaten at China Consulate in UK    By Tiffany May                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/world/e China Turns To Britons To Train Army
2022-10-17   2022-10-18 urope/china-recruit-uk-military-pilots.html Pilots                                       By Mark Landler                     TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/17/world/e Outrage After EU Envoy Likens World to a
2022-10-17   2022-10-18 urope/eu-ukraine-josep-borrell-fontelles.html Jungle                                     By Matina StevisGridneff            TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/17/world/e Frances Return of the Skulls of 24 Algerian
2022-10-17   2022-10-18 urope/france-algeria-restitution-skulls.html Resistance Fighters                         By Constant Mheut                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/world/e Renewed Attacks Fail to Curb Kyivs            By Megan Specia and Brendan
2022-10-17   2022-10-18 urope/kyiv-russia-strikes-resilience.html    Determination to Go On                      Hoffman                             TX 9-233-140   2022-12-01



                                                                                 Page 4383 of 5793
                        https://www.nytimes.com/2022/10/17/world/e Deadly Message Sent by Drones Its Russia
2022-10-17   2022-10-18 urope/russia-iran-alliance-drones.html     and Iran vs the West                         By Neil MacFarquhar                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/world/e
                        urope/sweden-democrats-government-         For Far Right In Sweden Informal Role But
2022-10-17   2022-10-18 immigration.html                           Big Say                                      By Christina Anderson               TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/17/world/e Reversal of TaxCut Plan Deepens Crisis for    By Mark Landler and Stephen
2022-10-17   2022-10-18 urope/uk-jeremy-hunt-fiscal-plan-budget.html UKs Truss                                   Castle                             TX 9-233-140   2022-12-01
                                                                                                                 By Andrew E Kramer Megan
                        https://www.nytimes.com/2022/10/17/world/e Russia Unleashes Drones To Strike Targets in Specia Maria Varenikova and Eric
2022-10-17   2022-10-18 urope/ukraine-russia-war-kyiv-drones.html   Kyiv Bringing Death and Fear                 Nagourney                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/us/robe Man Convicted of Capital Murder in 2019
2022-10-18   2022-10-18 rt-solis-sandeep-dhaliwal-guilty.html       Shooting of Texas Deputy                     By Eduardo Medina                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/health/
2022-10-18   2022-10-18 depressive-realism-theory.html              Sadder but Wiser Maybe Not After All         By Ellen Barry                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/health/
2022-10-18   2022-10-18 doctor-patient-medical-school.html          Learning to Really See Difficult Patients    By Gina Siddiqui                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/insider/
2022-10-18   2022-10-18 misinformation-reporter.html                The Misinformation Beat Translated           By Megan DiTrolio                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/opinion Truss Was Johnsons Parting Gift Now Shes
2022-10-18   2022-10-18 /liz-truss-uk-hunt.html                     Finished                                     By Tanya Gold                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/sports/b As Action Returns on the Court the League Is
2022-10-18   2022-10-18 asketball/nba-season-preview.html           Dogged by OffCourt Problems                  By Sopan Deb                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/us/polit                                              By Nick Corasaniti Michael C
                        ics/midterm-election-voters-democracy-      Most Voters Say US Democracy Is Under        Bender Ruth Igielnik and Kristen
2022-10-18   2022-10-18 poll.html                                   Threat                                       Bayrakdarian                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/us/polit Family and Friendship Face New Strains       By Charles Homans and Alyce
2022-10-18   2022-10-18 ics/political-division-friends-family.html  Amid Americas Growing Political Divide       McFadden                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/30/movies/
2022-09-30   2022-10-19 peter-strickland-flux-gourmet.html          It Sounds Like a Visual Adventure Too        By Simran Hans                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/dining/
                        easy-chicken-dinner-recipe-mushrooms-
2022-10-12   2022-10-19 weeknight.html                              A Sophisticated Riff On SheetPan Fare        By Melissa Clark                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/upshot/
2022-10-12   2022-10-19 midterms-polling-phone-calls.html           Who Answers Pollsters Phone Calls            By Nate Cohn                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/dining/
2022-10-13   2022-10-19 best-souffle-recipe.html                    Souffls Are Simpler Than You Think           By Claire Saffitz                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/busines Bernard McGuirk 64 Famous and Infamous
2022-10-14   2022-10-19 s/media/bernard-mcguirk-dead.html           As Foil of Imus Is Dead                      By Ed Shanahan                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/dining/
2022-10-14   2022-10-19 great-british-bake-off-mexican-week.html    Great British Baking Show Set to Cringe      By Tejal Rao                       TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/15/dining/
2022-10-15   2022-10-19 private-restaurant-clubs-nft-reservations.html You Want a Table Itll Cost You           By Rachel Sugar                     TX 9-233-140   2022-12-01




                                                                                  Page 4384 of 5793
                        https://www.nytimes.com/2022/10/15/opinion A Phone Call With Angela Lansbury Changed
2022-10-15   2022-10-19 /angela-lansbury-memory-dead.html            Me                                            By Patrick Healy       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/opinion
                        /same-sex-marriage-is-a-religious-
2022-10-15   2022-10-19 freedom.html                                 SameSex Marriage Is a Religious Freedom       By Steven Paulikas     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/16/opinion
2022-10-16   2022-10-19 /alex-jones-sandy-hook.html                  We Should Try to Prevent Another Alex Jones By Zeynep Tufekci        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/arts/dan
                        ce/twyla-tharp-in-the-upper-room-sinatra-
2022-10-17   2022-10-19 songs.html                                   Tales of Survival And Rejuvenation            By Gia Kourlas         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/arts/mu
                        sic/opera-ballet-mask-requirements-new-
2022-10-17   2022-10-19 york.html                                    Ballet and Opera Relax Mask Rules             By Javier C Hernndez   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/arts/tele
                        vision/house-of-the-dragon-fabien-
2022-10-17   2022-10-19 frankel.html                                 From a Dark Knight To Kingmaker               By Sean T Collins      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/dining/
2022-10-17   2022-10-19 diwali-mithai-sweets.html                    A Festival of Sweetness                       By Priya Krishna       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/dining/r
                        estaurant-review-le-rock-rockefeller-
2022-10-17   2022-10-19 center.html                                  Capturing the Flavor of Rockefeller Center    By Pete Wells          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/theater/
2022-10-17   2022-10-19 patti-lupone-broadway-labor-union.html       LuPone No Longer In Actors Union              By Michael Paulson     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/busines New Crack in Apples Armor As Australian
2022-10-18   2022-10-19 s/apple-store-strike-australia.html          Workers Strike                                By Yan Zhuang          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/arts/mu Apollo Theaters Longtime President Will Step
2022-10-18   2022-10-19 sic/apollo-theater-jonelle-procope.html      Down                                          By Sarah Bahr          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/arts/tele
2022-10-18   2022-10-19 vision/documentary-now-review.html           True Stories Lovingly Spoofed                 By Mike Hale           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/books/t
2022-10-18   2022-10-19 he-last-chairlift-john-irving.html           Tome of Sex Secrets And Absent Fathers        By Alexandra Jacobs    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/busines Chinas Economic Picture Grows Murkier
2022-10-18   2022-10-19 s/economy/china-economy-gdp.html             Under Xi                                      By Keith Bradsher      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/busines
                        s/economy/federal-reserve-inflation-november
2022-10-18   2022-10-19 meeting.html                                 With Inflation Persistent Fed Isnt Letting Up By Jeanna Smialek      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/busines
2022-10-18   2022-10-19 s/goldman-sachs-earnings.html                As Goldman Restructures Profits Fall          By Emily Flitter       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/busines Inflation Brings Lower Tax Rate For Some
2022-10-18   2022-10-19 s/irs-tax-rates-inflation-2023.html          in 23                                         By Jim Tankersley      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/busines Netflix Reverses a Decline and Adds 24
2022-10-18   2022-10-19 s/media/netflix-subscribers-earnings.html    Million Subscribers                           By Benjamin Mullin     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/busines Meta Forced to Sell Giphy After UK Antitrust
2022-10-18   2022-10-19 s/meta-giphy-uk-regulators.html              Order                                         By Adam Satariano      TX 9-233-140   2022-12-01




                                                                                 Page 4385 of 5793
                        https://www.nytimes.com/2022/10/18/busines
2022-10-18   2022-10-19 s/retail-holiday-shopping.html              For Once Americans Arent Eager to Shop      By Jordyn Holman                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/busines
2022-10-18   2022-10-19 s/stocks-jump-corporate-earnings.html       Markets Rise on Some Strong Earnings        By Isabella Simonetti              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/busines US Will Release More Barrels Of Oil to
2022-10-18   2022-10-19 s/us-oil-reserve-gas-prices.html            Contain Price of Gas                        By Alan Rappeport                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/climate Xis Conflict On Climate Lofty Goals
2022-10-18   2022-10-19 /china-xi-jinping-climate.html              Perilous Ally                               By Raymond Zhong                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/dining/
                        affordable-oysters-and-more-reader-         Some Early Options Including Affordable
2022-10-18   2022-10-19 requests.html                               Oysters                                     By Nikita Richardson               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/dining/
2022-10-18   2022-10-19 noma-pop-up-kyoto-japan.html                Nomas Next PopUp Will Be in Japan           By Julia Moskin                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/dining/ Danny Meyers Roman Restaurant Reopens as
2022-10-18   2022-10-19 nyc-restaurant-news.html                    Maialino vicino                             By Florence Fabricant              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/nyregio Polls Show New Yorks Governor Race
2022-10-18   2022-10-19 n/hochul-zeldin-poll-governor.html          Tightening                                  By Luis FerrSadurn                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/nyregio French Cement Company Is Fined 778           By Rebecca Davis OBrien and
2022-10-18   2022-10-19 n/lafarge-cement-isis-terrorism.html        Million Over Payoffs to ISIS in Syria       Glenn Thrush                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/nyregio Officials Say Tent Shelter Is Ready to Take
2022-10-18   2022-10-19 n/migrant-tents-randalls-island.html        Migrants                                    By Karen Zraick                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/nyregio Teacher Sues Olympian Over a Hijab
2022-10-18   2022-10-19 n/nj-teacher-hijab-ibtihaj-muhammad.html    Controversy                                 By Tracey Tully                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/nyregio New York Officials Seek Penalties Over       By Jonah E Bromwich and Jesse
2022-10-18   2022-10-19 n/ny-attorney-general-violent-videos.html   Violent Videos                              McKinley                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/opinion
2022-10-18   2022-10-19 /china-xi-jinping.html                      Thank You President Xi                      By Bret Stephens                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/sports/b Their Teams Brace for an Unlikely Collision
2022-10-18   2022-10-19 aseball/bryce-harper-phillies-nlcs.html     in the NLCS                                 By David Waldstein                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/sports/b Two Superstars Long on Parallel Paths Now
2022-10-18   2022-10-19 aseball/manny-machado-padres-nlcs.html      the Leaders of                              By Scott Miller                    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/18/sports/b
2022-10-18   2022-10-19 aseball/yankees-guardians-alds-game-5.html Next Stop Houston                             By James Wagner                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/sports/f
                        ootball/dan-snyder-washington-              A Team Owner Breaks Ranks and Says
2022-10-18   2022-10-19 commanders.html                             Snyder Should Be Removed                     By Ken Belson and Jenny Vrentas TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/18/technol                                               By Karen Weise and Noam
2022-10-18   2022-10-19 ogy/amazon-labor-union-alb1.html            Employees For Amazon Reject Union            Scheiber                        TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/18/theater/
2022-10-18   2022-10-19 hedda-gabler-winters-tale-bedlam.html       Inner Lives Turned Out for Everyone to See   By Naveen Kumar                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/us/abor What Is Abortion It Isnt as Clear as You
2022-10-18   2022-10-19 tion-roe-debate.html                        Think                                        By Kate Zernike                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/us/paul- California Jury Convicts Man of Murder in    By Christine Hauser and Michael
2022-10-18   2022-10-19 flores-guilty-kristin-smart.html            Students Disappearance in 1996               Levenson                          TX 9-233-140   2022-12-01



                                                                                Page 4386 of 5793
                        https://www.nytimes.com/2022/10/18/us/polit Biden Pledges to Codify Right to Choose if
2022-10-18   2022-10-19 ics/biden-abortion-midterms.html            Democrats Sweep Midterms                    By Alan Rappeport                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/us/polit GOP Nominee Criticized For Tenure at War
2022-10-18   2022-10-19 ics/doug-mastriano-war-college.html         College                                     By Trip Gabriel                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/us/polit
                        ics/igor-danchenko-russia-acquittal-        Russia Analyst Behind Dossier Wins
2022-10-18   2022-10-19 trump.html                                  Acquittal                                   By Charlie Savage and Linda Qiu TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/18/us/polit Irans Guards Corps Sends Drone Trainers to
2022-10-18   2022-10-19 ics/iran-drones-russia-ukraine.html         Russian Military Base in Crimea             By Julian E Barnes               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/us/polit
                        ics/laura-kelly-kansas-governor-            Popular Kansas Democrat Tests the Power of
2022-10-18   2022-10-19 democrats.html                              a Personal Brand                            By Katie Glueck                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/us/polit House Leader Wont Provide Blank Check For
2022-10-18   2022-10-19 ics/mccarthy-ukraine-republicans.html       Ukraine                                     By Catie Edmondson               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/us/polit
2022-10-18   2022-10-19 ics/oath-keepers-militia-jan-6.html         ExOath Keeper Recounts Vision for a Battle By Alan Feuer and Zach Montague TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/18/us/polit Wheres the Beef Arbiter Tells Trump Team to
2022-10-18   2022-10-19 ics/special-master-trump-privilege.html     Back Up Privilege Claim                     By Charlie Savage and Alan Feuer TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/us/stoc As Suspect in Killing Spree Is Charged       By Livia AlbeckRipka Shawn
2022-10-18   2022-10-19 kton-serial-killer.html                     LongTroubled City Finds Some Relief         Hubler and Holly Secon           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/world/e In RightLed Italy Future Hinges On
2022-10-18   2022-10-19 urope/berlusconi-italy-right-wing.html      Billionaire Premier From Past               By Jason Horowitz                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/world/e While Piling Sanctions on Russia Europeans
2022-10-18   2022-10-19 urope/eu-sanctions-russia-ukraine.html      Spare Some Sacred Cows                      By Matina StevisGridneff         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/world/e German Cyber Chief Placed on Leave After
2022-10-18   2022-10-19 urope/germany-cyber-chief-russia.html       Report of Possible Ties to Russia           By Christopher F Schuetze        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/world/e A Nationwide Strike Drives Workers and       By Constant Mheut and Catherine
2022-10-18   2022-10-19 urope/strikes-france-macron.html            Students Into Frances Streets               Porter                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/world/e To Fix UKs Finances Hunt Adopts Policies By Mark Landler and Stephen
2022-10-18   2022-10-19 urope/uk-liz-truss-economy-labour.html      From Opposition Party                       Castle                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/world/e Winter Miseries Loom as Kremlin Targets      By Megan Specia and Andrew E
2022-10-18   2022-10-19 urope/ukraine-russia-blackout-water.html    Utilities                                   Kramer                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/world/
                        middleeast/australia-jerusalem-israel-      Australia Is Reversing Stance on Israeli
2022-10-18   2022-10-19 capital.html                                Capital                                     By Myra Noveck and Yan Zhuang TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/18/world/
                        middleeast/iran-climber-hijab-elnaz-        Iranian Athlete Performs Sans Hijab Raising
2022-10-18   2022-10-19 rekabi.html                                 Fears                                       By Euan Ward and John Yoon       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/theater/
2022-10-19   2022-10-19 wuthering-heights-review.html               In Tune With the Yorkshire Moors            By Laura CollinsHughes           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/us/polit Trump Called Letters to Leader Of North
2022-10-19   2022-10-19 ics/trump-kim-woodward-letters.html         Korea Top Secret                            By Chris Cameron                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/busines
2022-10-19   2022-10-19 s/small-businesses-supply-chain.html        How Small Firms Fix Their Supply Chains     By Amy Haimerl                   TX 9-233-140   2022-12-01




                                                                               Page 4387 of 5793
                        https://www.nytimes.com/2022/10/19/health/ Britains Cuts in Foreign Aid Threaten Gains
2022-10-19   2022-10-19 britain-global-health-aid.html              in Fighting Famine and Disease             By Apoorva Mandavilli               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/nyregio Deposition Is on Schedule In Lawsuit for
2022-10-19   2022-10-19 n/trump-e-jean-carroll-lawsuit.html         Defamation                                 By Benjamin Weiser                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/sports/f Are You Not Entertained The Existential
2022-10-19   2022-10-19 ootball/thursday-night-football-nfl.html    Horror of Thursday Football                By Mike Tanier                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/us/polit
                        ics/midterm-campaigns-debates-              Debates and TownHall Meetings Dwindle
2022-10-19   2022-10-19 democracy.html                              Leaving Partisan Bubbles                   By Lisa Lerer and Jazmine Ulloa     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/us/polit Years and Frustration Mount for Those      By Zolan KannoYoungs and
2022-10-19   2022-10-19 ics/refugees-asylum-immigration.html        Awaiting Refugee Status                    Miriam Jordan                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/world/a Yankees Go Home USChina Rift Rattles
2022-10-19   2022-10-19 sia/korea-china-us-thaad-missiles.html      South Korea                                By Choe SangHun                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/01/well/liv Here to Help How to Make and Keep Friends
2022-10-01   2022-10-20 e/how-to-make-friends-adult.html            in Adulthood                               By Catherine Pearson                TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/14/opinion I Was Taught as a Schoolboy in Haiti To
2022-10-14   2022-10-20 /haiti-kreyol-creole-language-education.html Despise My Own Language and Myself          By Michel DeGraff                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/style/ka
2022-10-14   2022-10-20 nye-west-balenciaga-demna.html               The Brand and the Firebrand                 By Vanessa Friedman               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/style/ral Out West Ralph Lauren Outfits Urban
2022-10-15   2022-10-20 ph-lauren-los-angeles-california.html        Cowboys                                     By Jessica Testa                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/16/opinion
2022-10-16   2022-10-20 /middle-age-gen-x-boomer.html                Wait Who Did You Say Is MiddleAged          By Pamela Paul                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/busines More Seniors Are Facing Poverty Since the     By Lydia DePillis and Mike
2022-10-17   2022-10-20 s/economy/elder-poverty-seniors.html         Pandemic                                    Belleme                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/busines Ralph DeNunzio 90 Dies Wall Street
2022-10-18   2022-10-20 s/dealbook/ralph-denunzio-dead.html          Chieftain Led Stock Exchange                By Robert D Hershey Jr            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/movies/ The Ring at 20 Millennial Horror That Still
2022-10-18   2022-10-20 the-ring-gore-verbinski.html                 Scares                                      By Beatrice Loayza                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/theater/                                              By Michael Paulson and Jennifer
2022-10-18   2022-10-20 1776-broadway-sara-porkalob.html             Dispute Over Race Rattles 1776              Schuessler                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/theater/ Jeff Weiss 82 a Playwright Who Embraced
2022-10-18   2022-10-20 jeff-weiss-dead.html                         the Offbeat                                 By Neil Genzlinger                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/us/charl Charles Duncan Jr 96 US Energy Secretary
2022-10-18   2022-10-20 es-w-duncan-jr-dead.html                     During Oil Crisis Dies                      By Robert D McFadden              TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/18/us/polit Counting All Votes by Hand Thats Not the
2022-10-18   2022-10-20 ics/republicans-hand-count-ballots-votes.html Best Idea                                  By Maggie Astor                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/sports/b With the Season on the Line the Yankees
2022-10-19   2022-10-20 aseball/nestor-cortes-yankees-alds.html       Relied on the Legend of Nestor             By Gary Phillips                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/dan
2022-10-19   2022-10-20 ce/review-fouad-boussouf-nass.html            Seven Dancers One Heartbeat                By Gia Kourlas                    TX 9-233-140   2022-12-01




                                                                                Page 4388 of 5793
                        https://www.nytimes.com/2022/10/19/arts/dan
                        ce/steven-melendez-new-york-theater-        A New Leader Wants a New Audience for
2022-10-19   2022-10-20 ballet.html                                 Dance                                       By Marina Harss                      TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/des
2022-10-19   2022-10-20 ign/afghan-history-culture.html             Treasures of Afghanistan                    By Nazanin Lankarani                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/des
2022-10-19   2022-10-20 ign/agnieszka-polska-poland-artist.html     A Polish artist with varied talents         By Ginanne Brownell                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/des
2022-10-19   2022-10-20 ign/arab-art-social-norms.html              Challenging norms in the Arab world         By Nazanin Lankarani                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/des
                        ign/edward-hopper-whitney-arthayer-         How Did a Minister Acquire Hundreds of      By Kevin Flynn Julia Jacobs and
2022-10-19   2022-10-20 sanborn.html                                Hopper Artworks                             Robin Pogrebin                       TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/des
                        ign/joan-mitchell-monet-fondation-
2022-10-19   2022-10-20 vuitton.html                                An artist and her nemesis side by side      By Farah Nayeri                      TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/des
2022-10-19   2022-10-20 ign/paris-art-basel-collectors.html         Art fairs bring me the whole world          By Ted Loos                          TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/des
2022-10-19   2022-10-20 ign/paris-art-see.html                      More art to see in Paris                    By Farah Nayeri                      TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/des
2022-10-19   2022-10-20 ign/tokyo-paris-art-basel.html              An idea 40000 years in the making           By David Belcher                     TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/mu KPop Star Ignites Controversy by Not
2022-10-19   2022-10-20 sic/crush-racism-kpop.html                  HighFiving Black Fans                       By John Yoon and Mike Ives           TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/mu In a Kaleidoscope of Shostakovich a Focus on
2022-10-19   2022-10-20 sic/igor-levit-carnegie-hall-review.html    the Piano                                   By Seth Colter Walls                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/mu
2022-10-19   2022-10-20 sic/kanye-west-comments.html                Running Short Of Platform Space             By Jon Caramanica                    TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/19/arts/mu
2022-10-19   2022-10-20 sic/metacritic-music-reviews-taylor-swift.html Critics Metrics And Fans Battling             By Emma Madden                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/pau
2022-10-19   2022-10-20 l-chan-breather.html                           Airpowered art from a Genius                  By Ted Loos                     TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/books/r
2022-10-19   2022-10-20 eview/seduced-by-story-peter-brooks.html       Shaping Reality With the Gloss of Fiction     By Jennifer Szalai              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/busines For Women in Chinas Communist Party Its
2022-10-19   2022-10-20 s/china-women-communist-party.html             Lonely at the Top                             By Alexandra Stevenson          TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/busines
2022-10-19   2022-10-20 s/consumer-nestle-procter-gamble.html          Rising Prices Keep Profits Ticking Up         By Isabella Simonetti            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/busines                                                   By Jeanna Smialek Jim Tankersley
2022-10-19   2022-10-20 s/economy/uk-united-states-markets.html        Could a Bust Like Britains Hit the US         and Joe Rennison                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/busines
                        s/electric-vehicles-republicans-investment-    Red States Are Reaping EV Benefits They
2022-10-19   2022-10-20 south.html                                     Fought                                        By Jack Ewing                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/busines
2022-10-19   2022-10-20 s/europe-food-prices-inflation.html            Record Levels In Bread Prices Rattle Europe   By Liz Alderman                 TX 9-233-140    2022-12-01



                                                                                   Page 4389 of 5793
                        https://www.nytimes.com/2022/10/19/busines Strategies of CEO Are at Heart of a Lawsuit By Jeremy W Peters and Rachel
2022-10-19   2022-10-20 s/media/fox-news-suzanne-scott.html         Against Fox News                             Abrams                             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/busines
2022-10-19   2022-10-20 s/spirit-airlines-jetblue-merger.html       Shareholders At Spirit Vote For a Merger     By Niraj Chokshi                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/busines Tesla Reports Strong Profits Last Quarter As
2022-10-19   2022-10-20 s/telsa-profits-third-quarter-sales.html    Sales Soar                                   By Neal E Boudette                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/busines Amid Political Uncertainty British Inflation
2022-10-19   2022-10-20 s/uk-prices-inflation-september.html        Resumes Its Upward March                     By Eshe Nelson                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/health/f FDA Panel Recommends Pulling Preterm
2022-10-19   2022-10-20 da-preterm-birth-drug.html                  Birth Drug From the Market                   By Christina Jewett                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/movies/
2022-10-19   2022-10-20 review-year-one-a-political-odyssey.html    President Biden by the Numbers               By Nicolas Rapold                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/nyregio                                               By Dana Rubinstein Nicole Hong
2022-10-19   2022-10-20 n/casino-times-square.html                  Times Square Is Latest Pitch For Casino Site and Michael Paulson                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/nyregio Jury Convicts Son in Hit On MafiaLinked
2022-10-19   2022-10-20 n/mafia-anthony-zottola-convicted.html      Father Over Real Estate Empire               By Colin Moynihan                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/nyregio                                               By Jonah E Bromwich and Mihir
2022-10-19   2022-10-20 n/nyc-landlords-tax-fraud.html              6 Developers Accused of Abusing Tax Break Zaveri                                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/nyregio Top Trump Ally Walks Tightrope In Bid to
2022-10-19   2022-10-20 n/zeldin-trump-january-6th.html             Be New York Governor                         By Nicholas Fandos                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/opinion
2022-10-19   2022-10-20 /abortion-republican-roe.html               Politician Thy Name Is Hypocrite             By Gail Collins                    TX 9-233-140   2022-12-01
                                                                                                                 By Ezekiel J Emanuel David
                        https://www.nytimes.com/2022/10/19/opinion Were Still Far From Ready for the Next        Michaels Rick Bright and Michael
2022-10-19   2022-10-20 /covid-pandemic-failures.html               Public Health Crisis                         T Osterholm                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/sports/b
                        aseball/zack-wheeler-philadelphia-phillies- A Vow to Spend Stupid Money Is Paying Off
2022-10-19   2022-10-20 nlcs.html                                   for the Phillies                             By Tyler Kepner                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/sports/b Emerging From Chaos The Celtics Dont
2022-10-19   2022-10-20 asketball/boston-celtics-sixers-win.html    Flinch                                       By Scott Cacciola                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/sports/b
                        asketball/draymond-green-golden-state-      A New Season Begins With CoasttoCoast
2022-10-19   2022-10-20 warriors.html                               Drama                                        By Sopan Deb                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/sports/f
2022-10-19   2022-10-20 ootball/giants-jets-underdogs.html          Jets and Giants vs the Oddsmakers            By Victor Mather                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/19/sports/f A Black Friday Game And Shared Expenses     By Ken Belson Jenny Vrentas and
2022-10-19   2022-10-20 ootball/nfl-owners-meeting-snyder-rams.html But No Talk of Snyder                       Tripp Mickle                    TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/19/style/lin
2022-10-19   2022-10-20 da-rodin-denim.html                          Always in Style and Never in a Hurry       By Ruth La Ferla                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/technol
                        ogy/personaltech/quest-pro-review-
2022-10-19   2022-10-20 metaverse.html                               Metaverse Meh VR Games Yeah                By Brian X Chen                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/us/daca- Campus Drive to Hire Undocumented
2022-10-19   2022-10-20 dreamers-university-of-california.html       Students                                   By Miriam Jordan                    TX 9-233-140   2022-12-01



                                                                                Page 4390 of 5793
                        https://www.nytimes.com/2022/10/19/us/flori Florida Police Footage Shows Confusion if
2022-10-19   2022-10-20 da-voter-fraud-arrests-video.html           Not Intent of Voters Accused of Fraud      By Michael Wines and Neil Vigdor TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/us/hurri 3 Weeks After Ian Still Waking Up in a
2022-10-19   2022-10-20 cane-ian-shelters.html                      Florida Shelter                            By Jennifer Reed                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/us/plan Citing Racism ExWorker Sues Planned
2022-10-19   2022-10-20 ned-parenthood-racism-lawsuit.html          Parenthood                                 By Allison McCann                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/19/us/polit Sanders Fearing Weak Democratic Turnout in By Shane Goldmacher and Katie
2022-10-19   2022-10-20 ics/bernie-sanders-midterms-stops.html      Midterms Plans 8State Blitz                Glueck                           TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/19/us/polit                                         By Michael D Shear Katie Glueck
2022-10-19   2022-10-20 ics/biden-campaign-midterm-elections.html Low Profile for Biden With Midterms Ahead and Lisa Lerer                  TX 9-233-140        2022-12-01

                        https://www.nytimes.com/2022/10/19/us/polit Biden Moves to Tame Gas Prices And Shield By Alan Rappeport and Ana
2022-10-19   2022-10-20 ics/biden-gas-prices-oil-electric-vehicles.html US From Volatility                      Swanson                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/us/polit Judge Says Trump Signed File With Data He By Luke Broadwater and Alan
2022-10-19   2022-10-20 ics/trump-false-statement-jan-6.html            Had Been Told Was False                 Feuer                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/us/polit
2022-10-19   2022-10-20 ics/trump-video-jews-bigoted.html               Video Captures Bigoted Remarks by Trump By Maggie Haberman               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/us/polit Loitering Munitions From Iran Add to Skies
2022-10-19   2022-10-20 ics/ukraine-drones-iran-russia.html             Teeming With Drones                     By John Ismay                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/world/a India Bars Kashmiri Photographer From
2022-10-19   2022-10-20 sia/india-photographer-pulitzer.html            Traveling to US to Receive a Pulitzer   By Mujib Mashal                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/19/world/e Outcry in Britain Grows After Protesters
2022-10-19   2022-10-20 urope/britain-china-consulate-protester.html Beating                                     By Isabella Kwai                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/world/e
                        urope/france-girl-murdered-lola-macron-      Murder of Girl Leads to Denunciations of
2022-10-19   2022-10-20 immigration.html                             Macron Immigration Policies                 By Aurelien Breeden             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/world/e New Setback for Truss As She Has to           By Mark Landler and Stephen
2022-10-19   2022-10-20 urope/liz-truss-uk-parliament.html           Dismiss A 2nd Cabinet Minister              Castle                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/world/e Eerie Quiet Settles on a Moscow Drained of    By Valerie Hopkins and Nanna
2022-10-19   2022-10-20 urope/russia-moscow-army-draft.html          Men                                         Heitmann                        TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/19/world/e Putin Announces Wide Crackdown In             By Andrew E Kramer and Neil
2022-10-19   2022-10-20 urope/russia-putin-ukraine-martial-law.html Annexed Area                                 MacFarquhar                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/world/
2022-10-19   2022-10-20 middleeast/iran-climber-elnaz-rekabi.html   Crowds Cheer Iran Climber On Her Return      By Euan Ward                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/world/
                        middleeast/palestinian-culinary-            Preserving a Palestinian Identity in the
2022-10-19   2022-10-20 traditions.html                             Kitchen                                      By Aina J Khan                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/world/ Russia Transfers Forces to Ukraine From        By Patrick Kingsley and Ronen
2022-10-19   2022-10-20 middleeast/russia-syria-israel-ukraine.html Syria Affecting Strategy of Israel           Bergman                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/sports/b
                        aseball/padres-phillies-nlcs-game-2-        37Minute Bonanza In Fifth Helps Padres Get
2022-10-20   2022-10-20 score.html                                  Even With Phillies                           By Tyler Kepner                 TX 9-233-140   2022-12-01



                                                                                Page 4391 of 5793
                        https://www.nytimes.com/2022/10/19/sports/b
2022-10-20   2022-10-20 aseball/yankees-astros-alcs-game-1-score.html Astros Ageless Ace Thwarts the Yanks    By James Wagner                  TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/19/us/brad- Text Scolded Georgia Senator For            By Danny Hakim and Richard
2022-10-20   2022-10-20 raffensperger-kelly-loeffler-text-message.html Questioning 2020 Race                    Fausset                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/us/polit Capitol Police Detain Three Over Guns Found
2022-10-20   2022-10-20 ics/police-arrest-guns-capitol.html            in Vehicle                               By Chris Cameron                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/insider/
                        modern-love-global-new-television-
2022-10-20   2022-10-20 series.html                                    Modern Love Goes International           By Sarah Bahr                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/style/na
2022-10-20   2022-10-20 ked-dressing.html                              Wearing Less and Expressing More         By Vanessa Friedman              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/style/qu
                        intessa-swindell-smashes-barriers-in-dcs-
2022-10-20   2022-10-20 black-adam.html                                Shes Smashing Barriers in DCs Black Adam By Alex Hawgood                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/us/la- Los Angeles Politics Prove More Complex       By Corina Knoll Shawn Hubler and
2022-10-20   2022-10-20 city-council-politics-black-hispanic.html      Than Racist Remarks                      Miriam Jordan                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/opinion
2022-10-17   2022-10-21 /oak-trees-conservation-ecosystems.html        We Should All Be Chasing Acorns          By Margaret Renkl                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/movies/
2022-10-18   2022-10-21 mamas-boy-review.html                          Mamas Boy                                By Kyle Turner                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/nyregio
2022-10-18   2022-10-21 n/laura-anglin-dead.html                       Laura Anglin 57 Former Deputy Mayor      By Sam Roberts                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/opinion I Took 2 Piglets That Werent Mine and a Jury
2022-10-18   2022-10-21 /animal-rights-factory-farming.html            Said That Was OK                         By Wayne Hsiung                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/des
2022-10-19   2022-10-21 ign/catskill-art-space-james-turrell.html      A Home for a Small Towns Big Art Scene   By Laura van Straaten            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/busines Al Ries 95 Whose Words Got Stuck in Your
2022-10-19   2022-10-21 s/media/al-ries-dead.html                      Brain                                    By Richard Sandomir              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/movies/ Mixing Princess Dreams And Witchy
2022-10-19   2022-10-21 the-school-for-good-and-evil-review.html       Nightmares                               By Maya Phillips                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/sports/n Charley Trippi Is Dead at 100 Versatile
2022-10-19   2022-10-21 caafootball/charley-trippi-dead.html           Football Hall of Famer                   By Richard Goldstein             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/world/e In the End the Lettuce Won How a Joke Came
2022-10-19   2022-10-21 urope/liz-truss-lettuce-stream.html            to Symbolize the Struggles of Truss      By Daniel Victor                 TX 9-233-140   2022-12-01

                        https://www.nytimes.com/live/2022/10/19/wo
                        rld/russia-ukraine-war-news/the-us-charges-5-
                        russians-and-2-venezuelans-in-a-scheme-to- 11 Accused Of Violating Sanctions On
2022-10-19   2022-10-21 send-military-technology-and-oil-to-russia    Russia                                   By Hurubie Meko and Carly Olson TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/19/us/soci Social Security To Let People Choose Gender
2022-10-20   2022-10-21 al-security-gender-identity.html              For Records                              By Eduardo Medina               TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/bill Billy Al Bengston Painter Who Captured
2022-10-20   2022-10-21 y-al-bengston-dead.html                       Color of California Dies at 88           By Alex Williams                TX 9-233-140     2022-12-01



                                                                                 Page 4392 of 5793
                        https://www.nytimes.com/2022/10/20/arts/dan
                        ce/review-twyla-tharp-upper-room-
2022-10-20   2022-10-21 sinatra.html                                A Demanding Opening And an Intimate Close By Siobhan Burke                   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/des
                        ign/alex-katz-guggenheim-museum-
2022-10-20   2022-10-21 painter.html                                One Painters Progress Unfurled on a Spiral By Roberta Smith                  TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/des
                        ign/california-biennial-artists-indigenous-
2022-10-20   2022-10-21 ocma.html                                   Opportunity At a Showcase                  By Jonathan Griffin               TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/20/arts/des An Ever Challenging and Cheeky Cy
2022-10-20   2022-10-21 ign/twombly-art-getty-gagosian-review.html Twombly                                       By Walker Mimms                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/tele
                        vision/from-scratch-tembi-attica-locke-
2022-10-20   2022-10-21 netflix.html                                 Serving Up a Memoir of Love Loss and Food By Chris Vognar                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/tele
                        vision/heartbreak-high-acapulco-heartbreak-
2022-10-20   2022-10-21 high.html                                    This Weekend I Have                         By Margaret Lyons                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/tele
                        vision/kevin-spacey-verdict-anthony-
2022-10-20   2022-10-21 rapp.html                                    Jury Clears Spacey Of a Battery Claim       By Julia Jacobs and Nate Schweber TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/busines
                        s/biden-fetterman-pennsylvania-              In Pennsylvania Biden Promotes
2022-10-20   2022-10-21 infrastructure.html                          Infrastructure Law and Fettermans Bid       By Alan Rappeport                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/busines
                        s/consumer-bureau-funding-                   Consumer Agency Funding Is Ruled
2022-10-20   2022-10-21 unconstitutional.html                        Unconstitutional                            By Stacy Cowley                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/busines
                        s/economy/james-bullard-citi-private-        Fed Official Raises Eyebrows by Speaking at
2022-10-20   2022-10-21 event.html                                   Event Held by Citigroup                     By Jeanna Smialek                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/climate
2022-10-20   2022-10-21 /gas-stove-benzene-california.html           Benzene Found in Gas in California Homes By Elena Shao                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/climate Its Aquifer Dwindling Virginia Finds a
2022-10-20   2022-10-21 /treated-sewage-virginia-aquifer.html        Solution in the Sewers                      By Elena Shao                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/fashion
2022-10-20   2022-10-21 /cartier-flagship-paris-redesign.html        Temple of dreams                            By Nazanin Lankarani              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/fashion
2022-10-20   2022-10-21 /louis-vuitton-watches-20-years.html         Marking a milestone                         By Nazanin Lankarani              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/fashion
                        /watches-all-quiet-on-the-western-front-
2022-10-20   2022-10-21 movie.html                                   A tragic role                               By David Belcher                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/20/fashion
2022-10-20   2022-10-21 /watches-designed-with-a-sense-of-place.html Timepieces with a sense of place          By Victoria Gomelsky              TX 9-233-140     2022-12-01




                                                                                  Page 4393 of 5793
                        https://www.nytimes.com/2022/10/20/fashion
2022-10-20   2022-10-21 /watches-glashutte-germany-regulation.html Protecting Glashttes brand                    By Penelope Colston      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/fashion
2022-10-20   2022-10-21 /watches-next-generation.html              The next wave                                 By Roberta Naas          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/fashion
2022-10-20   2022-10-21 /watches-repair-shop-paris.html            In Paris a watch repair cooperative           By Vivian Morelli        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/fashion
                        /watches-swiss-design-classics-of-
2022-10-20   2022-10-21 tomorrow.html                              Tomorrowland                                  By Anders Modig          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/movies/
2022-10-20   2022-10-21 aftersun-review.html                       A Daughter Looks Back at a Beautiful Bond     By AO Scott              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/movies/
2022-10-20   2022-10-21 all-that-breathes-review.html              Fixing Wings in a Broken World                By AO Scott              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/movies/
2022-10-20   2022-10-21 black-adam-review.html                     Putting the Anti in Antihero                  By Maya Phillips         TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/20/movies/
2022-10-20   2022-10-21 brainwashed-sex-camera-power-review.html Brainwashed SexCameraPower                      By Beatrice Loayza       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/movies/ Where Animals and Their Admirers Are the
2022-10-20   2022-10-21 cats-dogs-film-fests.html                  Stars                                         By Laurel Graeber        TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/20/movies/ The Fates of a Ship and the Captives It
2022-10-20   2022-10-21 descendant-review-clotilda-slave-ship.html   Carried                                     By Lisa Kennedy          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/movies/
2022-10-20   2022-10-21 matriarch-review.html                        Matriarch                                   By Ben Kenigsberg        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/movies/
2022-10-20   2022-10-21 my-policeman-review.html                     My Policeman                                By Teo Bugbee            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/movies/
2022-10-20   2022-10-21 raymond-ray-review.html                      Raymond amp Ray                             By Jeannette Catsoulis   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/movies/
2022-10-20   2022-10-21 the-banshees-of-inisherin-review.html        Humor Violence and Pints of Guinness        By AO Scott              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/movies/
2022-10-20   2022-10-21 the-fire-that-took-her-review.html           The Fire That Took Her                      By Natalia Winkelman     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/movies/
2022-10-20   2022-10-21 the-pez-outlaw-review.html                   The Pez Outlaw                              By Calum Marsh           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/movies/
                        the-return-of-tanya-tucker-featuring-brandi- The Return of Tanya Tucker Featuring Brandi
2022-10-20   2022-10-21 carlile-review.html                          Carlile                                     By Glenn Kenny           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/movies/ Exes Call a Truce but Cant Negotiate the
2022-10-20   2022-10-21 ticket-to-paradise-review.html               Comedy                                      By Amy Nicholson         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/movies/
2022-10-20   2022-10-21 v-h-s-99-review.html                         VHS99                                       By Jason Zinoman         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/movies/
2022-10-20   2022-10-21 voodoo-macbeth-review.html                   Voodoo Macbeth                              By Beandrea July         TX 9-233-140   2022-12-01



                                                                                 Page 4394 of 5793
                        https://www.nytimes.com/2022/10/20/nyregio Mnuchin Says Trump Friend Didnt Favor
2022-10-20   2022-10-21 n/mnuchin-barrack-uae-qatar.html            UAE Stand                                    By Rebecca Davis OBrien          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/opinion
2022-10-20   2022-10-21 /midterms-republicans-surging.html          Why Republicans Are Surging                  By David Brooks                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/opinion
2022-10-20   2022-10-21 /will-gas-prices-doom-democracy.html        Will Gas Prices Doom Democracy               By Paul Krugman                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/sports/a
2022-10-20   2022-10-21 utoracing/f1-driver-gear-race.html          Formula 1 has it covered from head to toe    By Phillip Horton                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/sports/a
2022-10-20   2022-10-21 utoracing/f1-las-vegas-race.html            Formula 1 makes a big bet on Las Vegas       By Ian Parkes                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/sports/a
2022-10-20   2022-10-21 utoracing/f1-us-grand-prix-austin.html      A racing triumph as big as Texas             By Luke Smith                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/sports/a
                        utoracing/max-verstappen-f1-2023-
2022-10-20   2022-10-21 season.html                                 Verstappen is the champ And next year        By Ian Parkes                    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/20/sports/b A Starters Resurgence Led by Two
2022-10-20   2022-10-21 aseball/justin-verlander-pitchers-innings.html Throwbacks                                By Benjamin Hoffman              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/sports/b Its Bragging Rights for the Brothers and
2022-10-20   2022-10-21 aseball/nola-brothers-nlcs.html                Baggage Claims for the Parents            By Scott Miller                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/sports/b
2022-10-20   2022-10-21 asketball/nets-ben-simmons-pelicans.html       The Nets Are Finally a Team in Full       By Tania Ganguli                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/sports/s With Attention Turning to World Cup MLS
2022-10-20   2022-10-21 occer/mls-playoffs-preview.html                Playoffs Will Finish in a Hurry           By Jesus Jimnez                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/technol Exploding Online Disinformation Is Now a      By Steven Lee Myers and Sheera
2022-10-20   2022-10-21 ogy/disinformation-spread.html                 Fixture of US Politics                    Frenkel                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/technol Snap Reports Its SlowestEver Quarterly
2022-10-20   2022-10-21 ogy/snap-earnings-q3.html                      Growth but Adds New Users                 By Kalley Huang                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/technol Google Faces Suit by Texas Over Biometric     By Kashmir Hill and David
2022-10-20   2022-10-21 ogy/texas-google-privacy-lawsuit.html          Privacy                                   McCabe                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/technol
2022-10-20   2022-10-21 ogy/us-foreign-firms.html                      US Details Oversight Of Deals             By David McCabe                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/us/linds Appeals Court Tells Graham He Has to         By Richard Fausset and Danny
2022-10-20   2022-10-21 ey-graham-georgia-inquiry.html                 Testify                                   Hakim                            TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/20/us/mary Pathologists Testimony At Floyd Trial
2022-10-20   2022-10-21 land-autopsy-medical-examiner-review.html Prompts An Inquiry in Maryland                 By Shaila Dewan                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/us/mit- MIT Picks Duke Provost As Second Woman
2022-10-20   2022-10-21 sally-kornbluth-president.html              Ever To Lead Its University                  By Anemona Hartocollis           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/us/polit
                        ics/election-inspectors-harris-county-      County in Texas Requests Federal Election
2022-10-20   2022-10-21 texas.html                                  Monitors                                     By Neil Vigdor                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/us/polit Walker Says Hes Overcome Mental Illness It
2022-10-20   2022-10-21 ics/herschel-walker-mental-illness.html     May Not Be So Simple                         By Sheryl Gay Stolberg           TX 9-233-140   2022-12-01




                                                                                Page 4395 of 5793
                        https://www.nytimes.com/2022/10/20/us/polit Defense Secretary Seeks to Reassure Service
2022-10-20   2022-10-21 ics/military-abortion-access.html           Members on Access to Abortion               By Helene Cooper                TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/20/us/polit
                        ics/minnesota-ag-keith-ellison-jim-         Minnesota Race Will Show Potency of Crime
2022-10-20   2022-10-21 schultz.html                                vs Abortion                                 By Blake Hounshell              TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/20/us/polit Jurors Given A Panorama Of the Chaos At the
2022-10-20   2022-10-21 ics/oath-keepers-jan-6-trial.html           Capitol                                     By Alan Feuer and Zach Montague TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/20/us/polit
2022-10-20   2022-10-21 ics/oil-gas-gop-midterms.html               Gas Industry Anticipates GOP House          By Eric Lipton                  TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/20/us/polit
                        ics/supreme-court-student-loan-             Two Courts Strike Down Challenges to
2022-10-20   2022-10-21 forgiveness.html                            Bidens Student Loan Cancellation Program By Adam Liptak                     TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/20/us/polit US Sees Opening for Ukraine to Exploit
2022-10-20   2022-10-21 ics/us-ukraine-war.html                     Russian Weakness                            By Julian E Barnes              TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/20/us/ralei In Raleigh Trail of Victims And a WellArmed
2022-10-20   2022-10-21 gh-shooting-police-report.html              Suspect                                     By Rick Rojas                   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/20/world/a Eight Are Dead After Attack At Infamous
2022-10-20   2022-10-21 sia/myanmar-prison-attack.html              Myanmar Prison                              By Richard C Paddock            TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/20/world/a                                              By Damien Cave and Amy Chang
2022-10-20   2022-10-21 sia/taiwan-diplomacy-china.html             Fearing China Taiwan Banks On Its Charm Chien                               TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/20/world/e American Woman Pleads Guilty In Death of
2022-10-20   2022-10-21 urope/anne-sacoolas-guilty-harry-dunn.html Teenager in Britain                        By Amanda Holpuch                 TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/20/world/e Fading French Town Invites Migrants and
2022-10-20   2022-10-21 urope/france-callac-immigrants-refugees.html Finds Protests                           By Catherine Porter               TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/20/world/e Sinking Economy and Pound Sealed a Prime
2022-10-20   2022-10-21 urope/liz-truss-britain-resigns.html         Ministers Fate                           By Mark Landler                   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/20/world/e
                        urope/liz-truss-resigns-conservative-        Truss Steps Down Capping Six Weeks of    By Mark Landler and Stephen
2022-10-20   2022-10-21 party.html                                   Turmoil in UK                            Castle                            TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/20/world/e
2022-10-20   2022-10-21 urope/replacement-liz-truss.html             The Likely Contenders to Replace Truss   By The New York Times             TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/20/world/e Kyiv Rations Power and Warns of a Lethal    By Megan Specia Monika Pronczuk
2022-10-20   2022-10-21 urope/russia-ukraine-power-grid-kherson.html Winter Despite Battle Gains               and Matthew Mpoke Bigg             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/world/e
                        urope/silvio-berlusconi-vladimir-putin-russia- Berlusconi Caught on Tape Gushing Over
2022-10-20   2022-10-21 italy.html                                     Putin Heightens Concerns                By Jason Horowitz                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/world/e Londoners Stunned by Leaders Departure in a
2022-10-20   2022-10-21 urope/uk-liz-truss-reactions.html              Time of Crises for UK                   By Euan Ward and Isabella Kwai TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/20/world/e
                        urope/ukraine-civilians-russia-                Ukrainians Tell of Torture in Russian
2022-10-20   2022-10-21 occupation.html                                Occupation                              By Carlotta Gall and Ivor Prickett TX 9-233-140   2022-12-01




                                                                               Page 4396 of 5793
                        https://www.nytimes.com/article/uk-politics- How a Leadership Began Unraveled and
2022-10-20   2022-10-21 liz-truss.html                               Imploded                                    By Daniel Victor                TX 9-233-140     2022-12-01

                        https://www.nytimes.com/live/2022/10/20/wo
                        rld/russia-ukraine-war-news/the-eu-awards-its-
2022-10-20   2022-10-21 top-human-rights-prize-to-ukraines-people      Ukrainians Awarded a Human Rights Prize   By Enjoli Liston                TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/20/sports/b Astros Biggest Weapons Stay Silent but
2022-10-21   2022-10-21 aseball/yankees-astros-alcs-game-2-score.html Yankees Fall Anyway                       By James Wagner                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/technol Instacart Is Said to Pull Plans for IPO This By Maureen Farrell and Lauren
2022-10-21   2022-10-21 ogy/instacart-ipo-plans-pulled.html           Year                                      Hirsch                             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/theater/
2022-10-21   2022-10-21 topdog-underdog-review.html                   Staying Alive Is the Ultimate Hustle      By Jesse Green                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/us/trum Trump Claims to Own Pardon and
2022-10-21   2022-10-21 p-documents-dispute.html                      Immigration Documents                     By Charlie Savage                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/busines A Rebound For Airlines And a Shift In
2022-10-21   2022-10-21 s/airlines-flex-work-travel.html              Patterns                                  By Niraj Chokshi                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/busines
2022-10-21   2022-10-21 s/uk-economy-liz-truss.html                   In Britain Economy Is Adrift              By Eshe Nelson                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/10/                                            By Larry Buchanan and Matt
2022-10-07   2022-10-22 07/arts/supreme-court-photo.html              The Portrait of Justice                   Stevens                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/10/travel/k
2022-10-10   2022-10-22 entucky-bourbon-whiskey-trail.html            Bourbon With History in Northern Kentucky By Liza Weisstuch                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/travel/d
2022-10-11   2022-10-22 ay-trips-from-florence-italy-autumn.html      From Florence 3 Fall Day Trips by Train   By Perri Klass                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/opinion For Us a Bank Withdrawal May Require a
2022-10-19   2022-10-22 /lebanon-bank-robberies.html                  Gun                                       By Lina Mounzer                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/opinion
                        /midterms-libertarians-republicans-           The Midterms Look Different to the        By Ross Douthat Liel Leibovitz and
2022-10-19   2022-10-22 democrats.html                                Politically Homeless                      Stephanie Slade                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/tele
2022-10-20   2022-10-22 vision/james-corden-balthazar.html            Walking on Eggshells This Time            By Dave Itzkoff                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/nyregio In Podcast Cuomo Seeks Absolution Without
2022-10-20   2022-10-22 n/andrew-cuomo-podcast-return.html            Apology                                   By Ginia Bellafante                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/sports/b
2022-10-20   2022-10-22 aseball/ash-bats-baseball.html                How the Emerald Ash Borer Altered a Sport By Zach Schonbrun                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/your-
2022-10-20   2022-10-22 money/paycheck-inflation-2023.html            Inflation Written All Over Your Paycheck  By Ann Carrns                      TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/21/world/e Zelensky Claims Russians Plan to Attack a
2022-10-20   2022-10-22 urope/zelensky-putin-russia-ukraine-dam.html Key Dam                                  By Dan Bilefsky                    TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/dan
2022-10-21   2022-10-22 ce/new-york-city-ballet-fall-season.html     Emotional Highs and Lows Onstage and Off By Gia Kourlas                     TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/mu Joanna Simon 85 Opera Singer From a
2022-10-21   2022-10-22 sic/joanna-simon-dead.html                   Famously Musical Family                  By Clay Risen                      TX 9-233-140     2022-12-01



                                                                                 Page 4397 of 5793
                        https://www.nytimes.com/2022/10/21/arts/mu Lucy Simon 82 Singer and TonyNominated
2022-10-21   2022-10-22 sic/lucy-simon-dead.html                   Composer Is Dead                                By Neil Genzlinger              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/mu
                        sic/new-york-philharmonic-geffen-hall-
2022-10-21   2022-10-22 renovation-acoustics.html                  Surveying the Sound Of a Renovated Space        By Zachary Woolfe               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/mu
                        sic/sondra-radvanovsky-medea-met-
2022-10-21   2022-10-22 opera.html                                 Tapping Pain To Conquer A Taxing Role           By Javier C Hernndez            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/mu
2022-10-21   2022-10-22 sic/taylor-swift-midnights-review.html     Tug of War Between Points Of View               By Jon Caramanica               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/busines IRS Announces Big Jump for 401k
2022-10-21   2022-10-22 s/401k-contribution-limits-2023.html       Contribution Limits in 2023                     By Lora Kelley                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/21/busines Student Loan Relief Plan Is Temporarily          By Stacy Cowley and Alan
2022-10-21   2022-10-22 s/appeals-court-student-debt-relief-biden.html Blocked By Appeals Court Order               Rappeport                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/busines                                                  By Joe Rennison and Isabella
2022-10-21   2022-10-22 s/bonds-interest-rates-stocks.html             Relentless Rates Lead to More Volatility     Simonetti                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/busines
2022-10-21   2022-10-22 s/japan-interest-rates.html                    As Yen Falls Japan Keeps Rates Low           By Ben Dooley                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/dining/t
                        hanksgiving-turkeys-cost-inflation-supply-
2022-10-21   2022-10-22 chain.html                                     Roasted Fried and More Expensive Than Ever By Kim Severson                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/health/a Initiative Aims to Improve Addiction
2022-10-21   2022-10-22 ddiction-treatment-pregnancy.html              Treatment for Pregnant Women                 By Emily Baumgaertner          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/movies/
                        everything-everywhere-all-at-once-
2022-10-21   2022-10-22 oscars.html                                    Everything Everywhere All the Way            By Kyle Buchanan               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/nyregio Ruling Reignites Hamptons Fight Pitting
2022-10-21   2022-10-22 n/east-hampton-airport.html                    Choppers Vs Pool Parties                     By Sarah Maslin Nir            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/nyregio Judge Halts New York Ban On Firearms in
2022-10-21   2022-10-22 n/ny-gun-ban-houses-worship.html               Churches                                     By Hurubie Meko                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/opinion
2022-10-21   2022-10-22 /liz-truss-uk.html                             The Conservative Partys Ruination of Britain By Peter Oborne                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/sports/b Being Injured Keeps Them Off the Postseason
2022-10-21   2022-10-22 aseball/michael-king-yankees.html              Roster Not Off the Team                      By Gary Phillips               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/sports/b For the Milwaukee Bucks Familiarity Breeds
2022-10-21   2022-10-22 asketball/nba-bucks-sixers.html                Contenders                                   By Scott Cacciola              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/sports/b
                        asketball/nba-lakers-clippers-russell-         Lakers Coach Says They Hit 3Pointers In
2022-10-21   2022-10-22 westbrook.html                                 Practice That Is                             By Sopan Deb                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/21/sports/o Eager and Anxious Planning for the Paris
2022-10-21   2022-10-22 lympics/paris-olympics-seine-security.html Games                                           By Randal C Archibold           TX 9-233-140   2022-12-01




                                                                                  Page 4398 of 5793
                        https://www.nytimes.com/2022/10/21/sports/t Halep Is Suspended on Basis Of Doping Test
2022-10-21   2022-10-22 ennis/halep-doping-suspension-us-open.html at US Open                                     By Matthew Futterman             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/technol Artificial Intelligence Already Has a Place in
2022-10-21   2022-10-22 ogy/ai-generated-art-jobs-dall-e-2.html     the Toolbox of Creative Professionals         By Kevin Roose                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/technol Are We Ready for Silicon Valleys New
2022-10-21   2022-10-22 ogy/generative-ai.html                      Unregulated Craze                             By Kevin Roose                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/technol
                        ogy/tiktok-youtube-facebook-misinformation- TikTok Lags In Blocking Deceptive Ads For
2022-10-21   2022-10-22 ads.html                                    Elections                                     By Tiffany Hsu                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/technol Twitter Tries To Reassure Employees About By Kate Conger Ryan Mac and
2022-10-21   2022-10-22 ogy/twitter-employees-elon-musk.html        Jobs                                          Lauren Hirsch                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/theater/ Doc and Marty Are Behind the Wheel Again
2022-10-21   2022-10-22 back-to-the-future-broadway.html            and Singing                                   By Michael Paulson               TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/21/theater/
2022-10-21   2022-10-22 mold-that-changed-the-world-penicillin.html Scary Superbugs Take Center Stage              By Sheryl Gay Stolberg          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/us/az- In the Race for Governor in Arizona One
2022-10-21   2022-10-22 governor-katie-hobbs-kari-lake.html          Question Looms Wheres Katie                   By Jack Healy                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/us/linds Graham Asks Justices To Block Court Order
2022-10-21   2022-10-22 ey-graham-subpoena-appeal.html               Forcing Him to Testify                        By Richard Fausset              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/us/mich Teen to Plead Guilty in Case Of Rampage In
2022-10-21   2022-10-22 igan-school-shooting-plea.html               Michigan                                      By Stephanie Saul               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/us/polit
                        ics/democrats-secretary-of-state-candidates- Democratic Secretary of State Candidates
2022-10-21   2022-10-22 election-deniers.html                        Struggling in Red States                      By Nick Corasaniti              TX 9-233-140   2022-12-01
                                                                     Federal Budget Deficit Is Cut Roughly in Half
                        https://www.nytimes.com/2022/10/21/us/polit Which Biden Attributes to Responsible          By Zolan KannoYoungs and Alan
2022-10-21   2022-10-22 ics/federal-budget-deficit.html              Policies                                      Rappeport                       TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/21/us/polit Super PAC Aligned With Senate Republicans By Shane Goldmacher and Trip
2022-10-21   2022-10-22 ics/nh-gop-ads-bolduc.html                  Cuts Off New Hampshire Television Ads       Gabriel                          TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/21/us/polit
                        ics/steve-bannon-sentence-contempt-
2022-10-21   2022-10-22 congress.html                               Bannon Gets Four Months For Contempt        By Glenn Thrush and Alan Feuer TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/21/us/polit Trump Is Subpoenaed Setting Up Likely Fight By Luke Broadwater and Michael S
2022-10-21   2022-10-22 ics/trump-subpoena-jan-6.html               Over His Role on Jan 6                      Schmidt                          TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/21/us/verm Water Officer Who Lowered Fluoridation
2022-10-21   2022-10-22 ont-water-fluoride-resignation.html         Steps Down                                  By Claire Fahy                   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/21/world/a Security Forces Fire Upon Protesters in Chad By Ruth Maclean and Mahamat
2022-10-21   2022-10-22 frica/chad-protests.html                    Killing 50                                  Adamou                           TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/21/world/a
                        mericas/brazil-online-content-              Election Chief for Brazil Is Given Wide
2022-10-21   2022-10-22 misinformation.html                         Authority To Remove Online Posts            By Jack Nicas                    TX 9-233-140     2022-12-01




                                                                                Page 4399 of 5793
                        https://www.nytimes.com/2022/10/21/world/a                                            By Christina Goldbaum and Salman
2022-10-21   2022-10-22 sia/pakistan-imran-khan.html               Pakistan Bars Former Leader From Office    Masood                           TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/21/world/a
2022-10-21   2022-10-22 ustralia/qatar-airways-women-searches.html 5 Women Sue Qatar Over Invasive Searches By Yan Zhuang                     TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/world/e
2022-10-21   2022-10-22 urope/boris-johnson-uk-liz-truss.html       Johnson On List To Replace Truss           By Mark Landler                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/world/e
                        urope/giorgia-meloni-new-italian-           Italian HardRight Leader Is Poised to Take
2022-10-21   2022-10-22 government.html                             Control As Nations Prime Minister          By Jason Horowitz              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/world/e
                        urope/inflation-prices-britain-ukraine-
2022-10-21   2022-10-22 russia.html                                 Europe Tires Of High Costs Linked to War   By Jason Horowitz              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/world/e This Heir to a Fortune Wants It Taken Away
2022-10-21   2022-10-22 urope/marlene-engelhorn-wealth-tax.html     for Fairness Sake                          By Emma Bubola                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/world/e Thefts of Speed Cameras Spur Theories in
2022-10-21   2022-10-22 urope/sweden-speed-camera-theft.html        Sweden                                     By Christina Anderson          TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/world/e Officials Downplay Threat Posed by Troops
2022-10-21   2022-10-22 urope/ukraine-belarus-russian-troops.html   in Belarus                                 By Andrew Higgins              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/world/e Ukrainians Bracing for Winter In Homes      By Megan Specia and Brendan
2022-10-21   2022-10-22 urope/ukraine-heat-winter.html              Shattered by Shelling                      Hoffman                        TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/world/ How Protests Descended Into Gunshots And
2022-10-21   2022-10-22 middleeast/iran-prison-fire-protest.html    Flames                                     By Farnaz Fassihi              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/sports/b
                        aseball/phillies-padres-nlcs-game-3-        With Leadoff Homer Phillies Take Game 3
2022-10-22   2022-10-22 score.html                                  And Control of Series                      By David Waldstein             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/us/polit Illegal Border Crossings by Venezuelans
2022-10-22   2022-10-22 ics/venezuela-immigrants-border.html        Plunge Under New Policies                  By Eileen Sullivan             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/us/uval Role of State Police During Massacre Comes
2022-10-22   2022-10-22 de-police-response-dps.html                 Under Scrutiny                             By J David Goodman             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/technol
2022-10-22   2022-10-22 ogy/steve-jobs-archive.html                 Who Gets Last Word on Steve Jobs He Might By Tripp Mickle                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/your- I Learned How to Fly College Essays About
2022-10-22   2022-10-22 money/college-essays-on-money.html          Money                                      By Ron Lieber and Lexi Parra   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/16/books/r
                        eview/black-skinhead-brandi-collins-
2022-09-16   2022-10-23 dexter.html                                 On the Margins                             By Mychal Denzel Smith         TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/23/books/r
2022-09-24   2022-10-23 eview/shrines-of-gaiety-kate-atkinson.html  All That Jazz                              By Leah Greenblatt             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/24/books/r
                        eview/stephanie-lacava-i-fear-my-pain-
2022-09-24   2022-10-23 interests-you.html                          Damage Control                             By Tao Lin                     TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/09/27/books/r
                        eview/sweet-soft-plenty-rhythm-laura-
2022-09-27   2022-10-23 warrell.html                                Solo Act                                   By Lauren Christensen          TX 9-233-140    2022-12-01



                                                                               Page 4400 of 5793
                        https://www.nytimes.com/2022/10/03/books/r
2022-10-03   2022-10-23 eview/lion-feuchtwanger-oppermanns.html      The Brownshirts Are Coming                  By Joshua Cohen        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/07/books/r
                        eview/to-the-last-be-human-poems-jorie-      An EcoConscious Poet Whose Real Subject Is
2022-10-07   2022-10-23 graham.html                                  Consciousness Itself                        By Elisa Gabbert       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/08/books/r
2022-10-08   2022-10-23 eview/morgenthau-andrew-meier.html           No Ordinary Family                          By Jeffrey Toobin      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/realesta
                        te/banquette-kitchen-living-dining-design-
2022-10-11   2022-10-23 furniture.html                               A BuiltIn Banquette Is a Designers Friend   By Tim McKeough        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/realesta At Home Amid the Mountains of Southern
2022-10-12   2022-10-23 te/quebec-canada-house-hunting.html          Quebec                                      By Michael Kaminer     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/movies/
                        robert-de-niro-archive-taxi-driver-raging-
2022-10-15   2022-10-23 bull.html                                    Robert De Niro in Five Artifacts            By Dina Gachman        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/arts/mu
2022-10-17   2022-10-23 sic/lil-baby-atlanta-rap-capital.html        Another Bright Star Emerges From Atlanta By Joe Coscarelli         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/books/r
                        eview/newsroom-confidential-margaret-
2022-10-17   2022-10-23 sullivan.html                                Fit to Print                                By Steve Coll          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/magazi
2022-10-17   2022-10-23 ne/marjorie-taylor-greene.html               The Problem of Marjorie Taylor Greene       By Robert Draper       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/nyregio
2022-10-17   2022-10-23 n/metrotech-brooklyn-commons.html            Can 50 Million Make a Dull Office Park Cool By Winnie Hu           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/opinion Globalism Failed to Deliver the Economy We
2022-10-17   2022-10-23 /neoliberalism-economy.html                  Need                                        By Rana Foroohar       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/10/ Mayor Michelle Wu Wants to Change Boston
2022-10-17   2022-10-23 17/magazine/michelle-wu-interview.html       But Can Boston Change                       By David Marchese      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/arts/pa
2022-10-18   2022-10-23 m-grier-favorite-things.html                 Pam Grier Is Eager to Go Organic            By Kathryn Shattuck    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/arts/po
2022-10-18   2022-10-23 dcasts-organization-clutter.html             Time to Listen Up And Get It Together       By Emma Dibdin         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/magazi
2022-10-18   2022-10-23 ne/anorexia-obesity-eating-disorder.html     You Dont Look Anorexic                      By Kate Siber          TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/18/magazi Im Still Supporting My Adult Son He Just
2022-10-18   2022-10-23 ne/philanthropy-ethics-christianity.html    Gave Half His Savings to a Homeless Woman By Kwame Anthony Appiah   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/magazi
2022-10-18   2022-10-23 ne/yall.html                                Yall                                      By Maud Newton            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/opinion
                        /democracy-america-authoritarianism-
2022-10-18   2022-10-23 midterms.html                               The US Thinks It Cant Happen Here         By Jamelle Bouie          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/realesta
2022-10-18   2022-10-23 te/seattle-minimalist-home-design.html      Very Close but Not Too Close              By Tim McKeough           TX 9-233-140   2022-12-01




                                                                                Page 4401 of 5793
                        https://www.nytimes.com/2022/10/18/style/ch
2022-10-18   2022-10-23 ristian-girl-autumn-caitlin-covington.html   A Shrewd Eye Turns Leaves to Green            By Madison Malone Kircher   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/10/
                        17/opinion/helms-amendment-abortion-         Abortions Are Legal in Ethiopia But Half of
2022-10-18   2022-10-23 repeal.html                                  These Clinics Wont Provide Them               By Anu Kumar                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/arts/mu
                        sic/gabriela-lena-frank-nilo-cruz-frida-and-
2022-10-19   2022-10-23 diego.html                                   From Underworld To Our World                  By Thomas May               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/books/r
2022-10-19   2022-10-23 eview/cormac-mccarthy-passenger.html         Double Vision                                 By John Jeremiah Sullivan   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/books/r
2022-10-19   2022-10-23 eview/new-crime-mystery-novels.html          Cross Purposes                                By Sarah Weinman            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/magazi
                        ne/philadelphia-move-bombing-katricia-
2022-10-19   2022-10-23 dotson.html                                  Who Was Katricia Dotson                       By Bronwen Dickey           TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/19/magazi
2022-10-19   2022-10-23 ne/roger-federer-serena-williams-retire.html Long Game                                   By Elizabeth Nelson           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/magazi
2022-10-19   2022-10-23 ne/salisbury-steak-recipe.html               Salisbury Steak Deserves Another Chance     By Eric Kim                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/nyregio A Royal Relative Who Calls New Jersey
2022-10-19   2022-10-23 n/luke-parker-bowles.html                    Home                                        By Alyson Krueger             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/realesta
                        te/british-columbia-canada-housing-          On British Columbias Coast for 25 Million
2022-10-19   2022-10-23 market.html                                  House Hunting in Canada                     By Lisa Prevost               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/realesta
                        te/delaware-township-nj-hunterdon-           No Traffic Unless You Get Stuck Behind a
2022-10-19   2022-10-23 county.html                                  Tractor                                     By Jill P Capuzzo             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/realesta
                        te/home-prices-michigan-california-          19 Million Homes in Michigan California and
2022-10-19   2022-10-23 florida.html                                 Florida                                     By Angela Serratore           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/style/lo The Perfect Setting for Tender Tripe and
2022-10-19   2022-10-23 rds-restaurant-interior-design.html          Trotter Pot Pie                             By Alex Beggs                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/style/w
2022-10-19   2022-10-23 eddings-adults-only-invitations.html         We Said Adults Only                         By Philip Galanes             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/theater/
2022-10-19   2022-10-23 lars-eidinger-hamlet.html                    Lars Eidinger Just Wants to Become Myself By Elisabeth Vincentelli        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/dan
2022-10-20   2022-10-23 ce/camille-a-brown-trilogy.html              She Gives Staid Stages a New Spirit         By Gia Kourlas                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/des
2022-10-20   2022-10-23 ign/black-artists-african-art.html           Tribute to Black Artists                    By Claudia Dreifus            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/des
2022-10-20   2022-10-23 ign/border-art-chicano-latino.html           Art and Tradition in Southern California    By Eilene Zimmerman           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/des
2022-10-20   2022-10-23 ign/denver-art-museum-colonialism.html       Demoting the Conquest                       By Ray Mark Rinaldi           TX 9-233-140   2022-12-01



                                                                                  Page 4402 of 5793
                        https://www.nytimes.com/2022/10/20/arts/des
2022-10-20   2022-10-23 ign/detroit-institute-of-arts-what-to-see.html Detroits Crown Jewel                       By Joseph B Treaster                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/des
2022-10-20   2022-10-23 ign/detroit-van-gogh-exhibit.html              Loving Vincent                             By Joseph B Treaster                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/des
2022-10-20   2022-10-23 ign/james-little-whitney-biennial.html         The Unapologetic Abstractionist            By Hilarie M Sheets                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/des
2022-10-20   2022-10-23 ign/la-brea-tar-pits-climate-change.html       Old Bones New Story                        By Adam Popescu                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/des
2022-10-20   2022-10-23 ign/museums-expanding-again.html               Betting on Bigger                          By Robin Pogrebin                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/mu Mary McCaslin 75 Folk Singer Who Longed
2022-10-20   2022-10-23 sic/mary-mccaslin-dead.html                    for Old West                               By Penelope Green                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/mu
2022-10-20   2022-10-23 sic/nyege-nyege-music-festival.html            In Uganda a Space for Artistic Freedom     By Tom Faber                        TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/20/busines
2022-10-20   2022-10-23 s/economy/finnair-helsinki-airport-russia.html An Empty Airport Wasnt Finlands Plan         By Patricia Cohen and Juho Kuva   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/busines
2022-10-20   2022-10-23 s/influencer-burn-out-jobs.html                Sick and Tired of Me Inc                     By Emma Goldberg                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/busines Roger Welsch 85 Who Was Called Americas
2022-10-20   2022-10-23 s/media/roger-welsch-dead.html                 Premier Storyteller Dies                     By Clay Risen                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/busines                                                  By Julia Rothman and Shaina
2022-10-20   2022-10-23 s/the-spirit-of-halloween.html                 The Spirit of Halloween                      Feinberg                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/magazi
                        ne/judge-john-hodgman-on-the-baby-
2022-10-20   2022-10-23 goat.html                                      Bonus Advice From Judge John Hodgman         By John Hodgman                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/magazi                                                   By Mark Wunderlich and Victoria
2022-10-20   2022-10-23 ne/poem-the-son-ill-never-have.html            Poem The Son Ill Never Have                  Chang                             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/needies
                        t-cases/when-a-sharpened-pencil-just-isnt-     Sometimes Success For a Student Hinges On
2022-10-20   2022-10-23 enough.html                                    the Little Things                            By Callie Holtermann              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/nyregio                                                  By George Rush John Leland and
2022-10-20   2022-10-23 n/baroness-birgit-thyssen-bornemisza.html      The Baroness in Hospital Room 23             Rutu Modan                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/opinion How to Strangle Democracy While Pretending
2022-10-20   2022-10-23 /albert-hirschman-political-rhetoric.html      to Engage in It                              By Carlos Lozada                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/opinion
2022-10-20   2022-10-23 /el-paso-migrant-buses-republicans.html        El Paso Cant Do It Alone                     By Megan K Stack                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/opinion
                        /environment/ancient-trees-sequoia-climate-
2022-10-20   2022-10-23 change.html                                    The Wisdom of Ancient Trees                  By Jared Farmer                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/opinion
                        /international-world/china-covid-              No Capitalism and the Internet Will Not Free
2022-10-20   2022-10-23 freedom.html                                   Chinas People                                By Ai Weiwei                      TX 9-233-140   2022-12-01




                                                                                 Page 4403 of 5793
                        https://www.nytimes.com/2022/10/20/realesta
2022-10-20   2022-10-23 te/best-cities-remote-work.html              Best Cities for Remote Work                 By Michael Kolomatsky            TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/20/sports/f Falcons Try to Keep Winning the Exceeding
2022-10-20   2022-10-23 ootball/nfl-week-7-predictions.html          Expectations Derby                          By David Hill                    TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/20/style/ne Styles for Walks Down the Aisle and
2022-10-20   2022-10-23 w-york-bridal-fashion-week.html              Elsewhere                                   By Ivy Manners                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/interactive/2022/10/ Looking for a Real TwoBedroom in
                        20/realestate/manhattan-brooklyn-2br-        Manhattan or Brooklyn Which Borough
2022-10-20   2022-10-23 apartment.html                               Offered More for Their Money                By Debra Kamin                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/ann
2022-10-21   2022-10-23 getty-auction.html                           An Eclectic Mix Is Up for Auction           By Elaine Sciolino               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/des
2022-10-21   2022-10-23 ign/amber-cowan-vintage-glass.html           New Life for Your Grandmas Glass            By Shannon Eblen                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/des
                        ign/bees-american-museum-natural-
2022-10-21   2022-10-23 history.html                                 Beeing at the Heart of an Exhibit           By Alix Strauss and Tony Cenicola TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/21/arts/des
2022-10-21   2022-10-23 ign/ej-hill-roller-coaster-mass-moca-art.html An Invitation to Go for the Ride           By Siddhartha Mitter             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/des
2022-10-21   2022-10-23 ign/museum-food-exhibitions.html              Around the Country Focusing on Food        By Jane L Levere                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/des
2022-10-21   2022-10-23 ign/printmaking-exhibition-new-york.html      Prints Make Themselves Seen Again          By Laurel Graeber                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/des
2022-10-21   2022-10-23 ign/rockefeller-arts-center-pocantico.html    Accessing the Gilded Age                   By Hilarie M Sheets              TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/21/arts/des
2022-10-21   2022-10-23 ign/salem-witch-trials-womens-history.html Witch Trials as Womens History                By Laurel Graeber                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/des
2022-10-21   2022-10-23 ign/tudors-metropolitan-museum.html          Works Fit for a King or a Queen             By James Barron                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/tele
                        vision/guillermo-del-toros-cabinet-of-
2022-10-21   2022-10-23 curiosities-netflix.html                     Mastermind Compiles a Fearful Collection    By Chris Vognar                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/books/r
2022-10-21   2022-10-23 eview/new-thrillers.html                     Medical Malpractice                         By Sarah Lyall                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/books/r
                        eview/tc-boyle-jane-campbell-andrea-barrett- New Story Collections From Natures
2022-10-21   2022-10-23 peter-christopher.html                       Wonders to Worldly Hazards                  By Justin Taylor                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/busines Anatomy of a 30 Billion Pledge to Close the
2022-10-21   2022-10-23 s/jp-morgan-racial-equity-pledge.html        Wealth Gap                                  By Emily Flitter                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/busines
                        s/recession-investing-stock-market-          Expecting a Downturn Plan for the Long
2022-10-21   2022-10-23 bonds.html                                   Term                                        By Jeff Sommer                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/21/busines
2022-10-21   2022-10-23 s/social-security-work-retirement.html       Paycheck and Benefits Heres What to Know    By John F Wasik                  TX 9-233-140    2022-12-01



                                                                                Page 4404 of 5793
                        https://www.nytimes.com/2022/10/21/insider/
                        in-malta-a-knock-on-a-door-brings-a-
2022-10-21   2022-10-23 lead.html                                   In Malta a Door Knock Brings a Lead        By Ryan Mac                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/nyregio Peter Schjeldahl 80 New York Art Critic
2022-10-21   2022-10-23 n/peter-schjeldahl-dead.html                With Poets Flair Dies                      By William Grimes                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/opinion
2022-10-21   2022-10-23 /israel-palestine-comedy-terror.html        Is Trauma Really the Best Comedy Material By Noam Shuster Eliassi           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/opinion
2022-10-21   2022-10-23 /tar-movie-cancel-culture.html              Finally a Great Movie About Cancel Culture By Michelle Goldberg             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/opinion Tim Ryan Is Fighting for the Soul of the
2022-10-21   2022-10-23 /tim-ryan-democrats-midterms-ohio.html      Democratic Party                           By Alec MacGillis                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/realesta The Ladys Refuge A Home Owned by Lena
2022-10-21   2022-10-23 te/lena-horne-nyc-apartment-sale.html       Horne Is Available for 2195 Million        By Vivian Marino                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/realesta
2022-10-21   2022-10-23 te/sandy-hurricane-ida-flooding.html        New Yorkers Still Fear the Rain            By Ronda Kaysen                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/sports/s
                        occer/cristiano-ronaldo-manchester-         For Ronaldo In Manchester Winter Comes
2022-10-21   2022-10-23 united.html                                 Early                                      By Rory Smith                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/style/an
                        toinette-tarana-burke-albert-humphreys-jr-  After a TwoDecade Pause a Romance
2022-10-21   2022-10-23 wedding.html                                Rekindled                                  By Tammy La Gorce                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/style/ka
                        therine-bonneau-mikhail-kosyan-             The Red Adidas Tracksuit Helped Zip Things
2022-10-21   2022-10-23 wedding.html                                Up                                         By Valeriya Safronova            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/style/m
                        odern-love-young-gay-and-single-among-the-
2022-10-21   2022-10-23 nuns-and-widows.html                        Life Lessons Among the Nuns and Widows By Kevin Hershey                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/style/m
2022-10-21   2022-10-23 ollie-finkel-raj-aidasani-wedding.html      Must Love Dogs and Skiing                  By Rosalie R Radomsky            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/style/pi
2022-10-21   2022-10-23 ckleball-tennis-courts.html                 Competition for Court Space Fans Divisions By Steven Kurutz                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/style/st Focusing on an Assignment and Soon Each
2022-10-21   2022-10-23 even-romo-stephen-morgan-wedding.html       Other                                      By Jenny Block                   TX 9-233-140   2022-12-01
                                                                                                               By Eliza Fawcett Mitch Smith Ava
                        https://www.nytimes.com/2022/10/21/us/hurri A Look at Those Who Were Lost In           Sasani Frances Robles and Eden
2022-10-21   2022-10-23 cane-ian-victims.html                       Hurricane Ian                              Weingart                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/us/polit Top Adviser To Mastriano Questions
2022-10-21   2022-10-23 ics/jenna-ellis-josh-shapiro-jewish.html    Shapiros Faith                             By Katie Glueck                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/us/polit Charges of Voter Fraud Are Dropped in 2
2022-10-21   2022-10-23 ics/voter-fraud-fl-tx.html                  States                                     By Neil Vigdor                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/busines Judge Clears Way for Families to Challenge
2022-10-22   2022-10-23 s/boeing-families-crime-victims.html        Boeing Crash Settlement                    By Nicholas Kulish               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/22/arts/des
2022-10-22   2022-10-23 ign/lynne-drexler-auction-paintings.html    From Obscurity to Solo Show                By Ted Loos                      TX 9-233-140   2022-12-01




                                                                              Page 4405 of 5793
                        https://www.nytimes.com/2022/10/22/arts/des
2022-10-22   2022-10-23 ign/meret-oppenheim-art-show.html           Getting the Last Word                    By Ted Loos                     TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/22/arts/des
2022-10-22   2022-10-23 ign/museum-gallery-auctions-exhibitions.html A Treasure Hunt                             By Lauren Messman           TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/arts/des
2022-10-22   2022-10-23 ign/oscar-yi-hou-paintings.html              A Debut of Visual Splendor                  By Ted Loos                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/arts/des
2022-10-22   2022-10-23 ign/queens-museum-racial-justice.html        Interpreting Racial Justice                 By Alina Tugend             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/arts/des
2022-10-22   2022-10-23 ign/walker-art-center-pao-houa-her.html      Landscapes of Longing                       By Alex V Cipolle           TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/nyregio
2022-10-22   2022-10-23 n/dj-misbehaviour-trish-mann.html            In a New YorkBritish State of Mind          By Lia Miller               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/nyregio
                        n/venezuelan-asylum-seekers-new-yorkers- New Yorkers Step In to Help Ease the
2022-10-22   2022-10-23 aid.html                                     Arrivals of Asylum Seekers                  By Karen Zraick             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/opinion
2022-10-22   2022-10-23 /joe-biden-midterms.html                     Bidens Three Blunders                       By Ross Douthat             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/opinion The Times Endorses Kathy Hochul for
2022-10-22   2022-10-23 /kathy-hochul-new-york-governor.html         Governor                                    By The Editorial Board      TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/opinion
2022-10-22   2022-10-23 /uk-conservative-boris-johnson-truss.html    Britains Tory Crackup                       By Maureen Dowd             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/realesta A Vacant Unit Leaked Into Mine Whos
2022-10-22   2022-10-23 te/co-op-apartment-upstairs-leak.html        Responsible for the Damage                  By Ronda Kaysen             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/science Lab Manipulations of Covid Virus Fall Under By Carl Zimmer and Benjamin
2022-10-22   2022-10-23 /covid-virus-laboratory-experiments.html     Murky Government Rules                      Mueller                     TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/sports/b
                        aseball/philadelphia-phillies-sleep-         A Neurologist Advised Staying in San Diego
2022-10-22   2022-10-23 science.html                                 The Players Said No                         By Scott Miller             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/sports/b
                        aseball/seranthony-dominguez-phillies-       Phillies Finally Have a Bullpen They Can
2022-10-22   2022-10-23 bullpen.html                                 Rely On for Relief                          By Tyler Kepner             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/sports/t Schools and Title IX Confront Stress Test In
2022-10-22   2022-10-23 itle-ix-lawsuit-hawaii.html                  Hawaiian Lawsuit                            By David W Chen             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/style/ny
2022-10-22   2022-10-23 sheep-wool-festival.html                     DecadesOld Wool Festival Gets a Makeover By Rose Adams                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/style/ral
2022-10-22   2022-10-23 ph-fiennes-robert-moses.html                 A Master of Moral Murkiness                 By Maureen Dowd             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/us/envi
2022-10-22   2022-10-23 ronmental-impacts-wwii-shipwreck.html        Pollutants Traced to a WWII Shipwreck       By Christine Hauser         TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/us/polit In a Sign That 2020 Wasnt an Aberration
2022-10-22   2022-10-23 ics/midterm-early-voting.html                Early Voting Spreads                        By Nick Corasaniti          TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/22/us/polit Trump Backers Use Devil Terms to Rally   By Jennifer ValentinoDeVries and
2022-10-22   2022-10-23 ics/republican-election-objectors-rhetoric.html Voters                               Steve Eder                       TX 9-233-140   2022-12-01



                                                                                Page 4406 of 5793
                        https://www.nytimes.com/2022/10/22/us/polit Trump Could Harness Unresolved Legal
2022-10-22   2022-10-23 ics/trump-jan-6-subpoena.html               Issues to Resist His Subpoena                By Charlie Savage and Alan Feuer TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/22/us/priso Ballot Measures in Five States Could End
2022-10-22   2022-10-23 n-labor-slavery-ballot-measures.html        Slavery for Those Convicted of Crimes        By Nicholas BogelBurroughs      TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/world/a Xis Omissions Speak Volumes And May
2022-10-22   2022-10-23 sia/china-xi-jinping-congress-security.html Signal Trouble Ahead                         By Chris Buckley                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/world/a Xi Expands Power Elevating Loyalists and      By Chris Buckley and Keith
2022-10-22   2022-10-23 sia/china-xi-jinping-congress.html          Forcing Out Moderates                        Bradsher                        TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/world/e Support Rises For Johnson To Reclaim
2022-10-22   2022-10-23 urope/boris-johnson-liz-truss.html          Former Post                                  By Mark Landler                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/world/e A Quest to Make Train Travel Easier and the
2022-10-22   2022-10-23 urope/europe-trains-climate-goals.html      EU Greener                                   By Erika Solomon                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/world/e Missiles Slam Ukraines Power Plants As        By Michael Schwirtz and Matthew
2022-10-22   2022-10-23 urope/russia-ukraine-war-strikes.html       Russia Targets Vital Infrastructure          Mpoke Bigg                      TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/world/e Turbulent Forces of Brexit Divide UKs
2022-10-22   2022-10-23 urope/uk-brexit-conservatives.html          Conservative Party                           By Mark Landler                 TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/22/world/e Airline Quits British Deal To Transport
2022-10-22   2022-10-23 urope/uk-rwanda-asylum-charter-airline.html Refugees                                     By Euan Ward                    TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/22/world/e Taken by Russia Children Become the Spoils
2022-10-22   2022-10-23 urope/ukraine-children-russia-adoptions.html of War                                      By Emma Bubola                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/22/world/
2022-10-22   2022-10-23 middleeast/israel-palestinians-caves.html      We Have No Option But to Live in the Cave By Raja Abdulrahim              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/explain/2022/10/22
                        /world/russia-ukraine-war-front-lines/in-the-
2022-10-22   2022-10-23 ukraine-war-the-front-line-is-everywhere       The Front Line Now Its Everywhere         By Thomas GibbonsNeff           TX 9-233-140    2022-12-01
                        https://www.nytimes.com/explain/2022/10/22
                        /world/russia-ukraine-war-front-lines/the-
                        urban-front-line-theres-no-place-in-this-town- On Ukraines Urban Front Line Theres No
2022-10-22   2022-10-23 that-is-safe                                   Place in This Town That Is Safe           By Andrew E Kramer              TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/22/sports/b Surging Astros Leave the Struggling Yankees
2022-10-23   2022-10-23 aseball/yankees-astros-alcs-game-3-score.html One Loss From a Sweep                      By David Waldstein              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/23/busines
                        s/the-week-in-business-liz-truss-britain-     The Week in Business Liz Truss Concedes to
2022-10-23   2022-10-23 financial-markets.html                        the Markets                                By Marie Solis                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/23/health/f Health Officials Warn of Rough Winter as
2022-10-23   2022-10-23 lu-covid-risk.html                            Three Pathogens Swirl                      By Apoorva Mandavilli           TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/23/style/be
2022-10-23   2022-10-23 lla-hadid-pharrell-williams-party-fashion.html Fall Social Season Hits High Gear     By Denny Lee                        TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/23/us/harv Missing a Legal Deadline May Cost Harvard
2022-10-23   2022-10-23 ard-affirmative-action-litigation-cost.html    Millions                              By Adam Liptak                      TX 9-233-140    2022-12-01




                                                                                 Page 4407 of 5793
                        https://www.nytimes.com/2022/10/23/us/polit Fears Over Fate of Democracy Leave Voters
2022-10-23   2022-10-23 ics/voting-democracy-wisconsin-senate.html Feeling Defeated                             By Jonathan Weisman             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/books/r
                        eview/teaching-children-about-climate-change
2022-10-30   2022-10-23 books.html                                   Resilience Retreat and Rebuilding          By Catrin Einhorn               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/05/travel/c Whatever Happened to Those SelfService
2022-10-05   2022-10-24 ustoms-kiosks-facial-recognition.html        Passport Kiosks at Airports                By Heather Murphy               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/books/r
2022-10-17   2022-10-24 alph-macchio-waxing-on-karate-kid.html       Ralph Macchio Is Figuring It Out           By Nicholas Cannariato          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/17/travel/ The Best Time to Book Holiday Travel
2022-10-17   2022-10-24 when-to-book-holiday-travel.html             Basically Now                              By Elaine Glusac                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/busines                                              By Stanley Reed and Clifford
2022-10-18   2022-10-24 s/energy-climate-change-netherlands.html     Prepared to Ease Europes Energy Crisis     Krauss                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/busines                                              By Benjamin Mullin and Katie
2022-10-20   2022-10-24 s/media/newsletters-bubble.html              Have We Passed Peak Newsletter             Robertson                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/theater/
2022-10-20   2022-10-24 asi-wind-magic-show-cards.html               He Designs Card Tricks That Connect        By David Segal                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/mu Lenny Lipton 82 Who Wrote Puff the Magic
2022-10-21   2022-10-24 sic/lenny-lipton-dead.html                   Dragon Lyrics                              By Clay Risen                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/health/ Beryl Benacerraf Is Dead at 73 She Saw
2022-10-21   2022-10-24 beryl-benacerraf-dead.html                   Potential in Ultrasound                    By Ed Shanahan                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/movies/
2022-10-21   2022-10-24 george-clooney-julia-roberts.html            What Chemistry Looks Like                  By Jason Bailey                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/opinion
2022-10-21   2022-10-24 /texas-democrats-republicans.html            South Texas Should Freak Out Democrats     By Michelle Cottle              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/theater/
2022-10-22   2022-10-24 a-little-life-review.html                    Enduring a Cascade of Unrelenting Torments By Naveen Kumar                 TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/22/busines A WhistleBlower Turned Activist Short Seller
2022-10-22   2022-10-24 s/dealbook/nathan-anderson-nikola-trial.html Gets His Day in Court                      By Bernhard Warner              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/22/health/c Living in a Pandemic May Have Changed
2022-10-22   2022-10-24 ovid-impact-personality-change.html          Peoples Personalities                      By Christine Chung              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/22/well/fa
                        mily/bereavement-culture-refugee-            Uprooted From Home Migrants Often Pine
2022-10-22   2022-10-24 immigrant.html                               for the Little Things                      By Alisha Haridasani Gupta      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/22/world/e Soldiers on the Battlefield Now Comrades in By David Guttenfelder and Eric
2022-10-22   2022-10-24 urope/ukraine-war-amputees.html              Recovery                                   Nagourney                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/arts/dan
2022-10-23   2022-10-24 ce/emily-johnson-being-future-being.html     A Blend of Art Activism and Nature         By Siobhan Burke                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/arts/mu
                        sic/mirga-birmingham-carnegie-hall-          A Conductor An Outlier Shes Both and
2022-10-23   2022-10-24 review.html                                  Taking a Victory Lap                       By Joshua Barone                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/briefing Zeldin Agrees to Debate Hochul in NY
2022-10-23   2022-10-24 /hochul-zeldin-debate.html                   Governors Race                             By Grace Ashford                TX 9-233-140   2022-12-01



                                                                                Page 4408 of 5793
                        https://www.nytimes.com/2022/10/23/briefing
2022-10-23   2022-10-24 /republicans-election-misinformation.html   Republicans 2020 Election Doubts             By Ashley Wu                      TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/23/nyregio Trump Family Business Faces Tough Scrutiny By Ben Protess William K
2022-10-23   2022-10-24 n/donald-trump-organization-fraud-trial.html in a Criminal Trial                        Rashbaum and Jonah E Bromwich      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/nyregio Mayor of New York City Is Struggling to      By Emma G Fitzsimmons and
2022-10-23   2022-10-24 n/migrants-nyc-eric-adams.html               Respond To Unexpected Migrants             Jeffery C Mays                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/obituari Louis Gigante Priest Who Led a Revival in
2022-10-23   2022-10-24 es/louis-gigante-dead.html                   the South Bronx Dies at 90                 By Robert D McFadden               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/opinion Kari Ann Lakes Hijacking of Martin Luther
2022-10-23   2022-10-24 /kari-lake-martin-luther-king.html           King                                       By Charles M Blow                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/opinion
2022-10-23   2022-10-24 /queer-gay-identity.html                     Why the Word Gay Is Falling Out of Fashion By Pamela Paul                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/sports/b No War Would Stop These Ukrainians From
2022-10-23   2022-10-24 ackyard-ultra-ukraine.html                   Taking On the World                        By Jared Beasley                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/sports/b
                        aseball/bryce-harper-phillies-world-
2022-10-23   2022-10-24 series.html                                  The Ball is Gone and the Wait is Over      By Scott Miller                    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/23/sports/b Astros Stars Struggling But Wins Keeps
2022-10-23   2022-10-24 aseball/jose-altuve-houston-astros-alcs.html Coming                                      By Gary Phillips                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/sports/f
2022-10-23   2022-10-24 ootball/nfl-week-7-scores.html               What We Learned This Week                   By Derrik Klassen                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/theater/
2022-10-23   2022-10-24 martyna-majok-cost-of-living.html            Waiting For a Ghost To Appear               By Laura CollinsHughes            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/theater/
                        review-retracing-the-path-from-middle-school-Retracing the Path From MiddleSchool Nerd
2022-10-23   2022-10-24 nerd-to-rock-goddess.html                    to Rock Goddess                             By Laura CollinsHughes            TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/23/us/polit Democratic Leaders Press Partys Case With
2022-10-23   2022-10-24 ics/democrats-midterms-sanders-pelosi.html Focus on Economy on Talk Shows                By Maggie Astor                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/us/polit
                        ics/republican-election-objectors-          Suspicion and Blame as Their America         By Michael H Keller and David D
2022-10-23   2022-10-24 demographics.html                           Vanishes                                     Kirkpatrick                     TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/23/us/polit At Guantnamo Bay 911 Case Awaits Biden
2022-10-23   2022-10-24 ics/sept-11-gitmo-terrorism.html            Administrations Reply on Plea Deal           By Carol Rosenberg                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/world/a Ngo Vinh Long 78 Professor Writer and
2022-10-23   2022-10-24 sia/ngo-vinh-long-dead.html                 Outspoken Opponent of the Vietnam War        By Seth Mydans                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/world/a                                               By Chris Buckley Keith Bradsher
2022-10-23   2022-10-24 sia/xi-jinping-china-loyalists.html         In Third Term Xi Strengthens Grip on Power   and Chang Che                     TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/23/world/e
2022-10-23   2022-10-24 urope/britain-rishi-sunak-prime-minister.html Sunaks Vision Once Ignored Now Lifts Him By Eshe Nelson                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/world/e How Political Primaries Have Fanned Britains
2022-10-23   2022-10-24 urope/britain-truss-conservative.html         Dysfunction                               By Max Fisher                      TX 9-233-140   2022-12-01



                                                                                Page 4409 of 5793
                        https://www.nytimes.com/2022/10/23/world/e
                        urope/russian-superyachts-find-safe-haven-in- Russian Superyachts Subject to Sanctions By Elif Ince Michael Forsythe and
2022-10-23   2022-10-24 turkey-raising-concerns-in-washington.html Find a Haven in Turkey                      Carlotta Gall                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/world/e
                        urope/uk-prime-minister-race-sunak-
2022-10-23   2022-10-24 johnson.html                                  Johnson Ends Comeback Bid As Rival Rises By Mark Landler                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/world/e Menaced From Above Ukraine Is Pioneering
2022-10-23   2022-10-24 urope/ukraine-russia-drones-iran.html         Ways to Shoot Down Drones                By Andrew E Kramer                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/world/e Attacks Flare Across Ukraine US and Russia By Carlotta Gall Helene Cooper
2022-10-23   2022-10-24 urope/ukraine-russia-war.html                 Discuss Nuclear Threats                  and Eric Nagourney                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/sports/b
                        aseball/bryce-harper-phillies-world-series-   Its His Time Harper Seals Spot In
2022-10-24   2022-10-24 home-run.html                                 Philadelphia Lore                        By Tyler Kepner                     TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/24/arts/tele
2022-10-24   2022-10-24 vision/whats-on-tv-this-week-white-lotus.html This Week on TV                          By Shivani Gonzalez                 TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/24/busines Starbucks Strike in Boston Points to Uneasy
2022-10-24   2022-10-24 s/economy/starbucks-union-campaign.html     Stalemate                                  By Noam Scheiber                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/sports/f
                        ootball/nfl-osborne-girardi-real-                                                      By Jenny Vrentas and Morgan
2022-10-24   2022-10-24 housewives.html                             The Hardest Hits of All                    Lieberman                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/us/linds
                        ey-graham-speech-debate-clause-supreme-
2022-10-24   2022-10-24 court.html                                  The Speech or Debate Clause Explained      By Eliza Fawcett                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/us/math Testing Reveals Alarming Drop In Math
2022-10-24   2022-10-24 reading-scores-pandemic.html                Skills                                     By Sarah Mervosh and Ashley Wu      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/us/polit Ryan Stressing Ohio Over Democrat Puts
2022-10-24   2022-10-24 ics/tim-ryan-ohio-senate.html               Senate Race in Play                        By Matt Flegenheimer                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/world/ As Israels Election Nears Netanyahu Seeks
2022-10-24   2022-10-24 middleeast/israel-far-right-election.html   Power With Help From Far Right             By Patrick Kingsley                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/world/ US Executives Are Flocking to Saudi Arabias
2022-10-24   2022-10-24 middleeast/saudi-davos-in-desert.html       Davos in the Desert                        By Kate Kelly                       TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/11/science Forest Friendships When Chimps and Gorillas
2022-10-11   2022-10-25 /gorillas-chimps-friends.html               Meet No ChestPounding Is Required          By Asher Elbein                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/12/well/m
2022-10-12   2022-10-25 ove/strength-training-beginners-guide.html  Make Strength Training a Habit             By Danielle Friedman                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/13/well/liv
2022-10-13   2022-10-25 e/nap-ministry-bishop-tricia-hersey.html    On a Mission to Spread the Word About Rest By Melonyce McAfee                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/well/liv
2022-10-14   2022-10-25 e/cold-flu-immune-system.html               Give Yourself a Boost For Sickness Season By Hannah Seo                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/15/well/co
2022-10-15   2022-10-25 vid-holiday-plans.html                      As the Holidays Near Covid Looms Again     By Dani Blum                        TX 9-233-140   2022-12-01



                                                                                Page 4410 of 5793
                        https://www.nytimes.com/2022/10/17/science Fruitful Research Yes We Have Lots of
2022-10-17   2022-10-25 /banana-ancestors-genes.html                 Bananas but Not the Ones Youre Looking For By Oliver Whang           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/arts/mu
2022-10-18   2022-10-25 sic/jakub-hrusa-royal-opera-house.html       Jakub Hrusa Is Set to Lead Royal Opera      By Alex Marshall         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/science SUV Size Swimmers A Fish That Even
2022-10-18   2022-10-25 /giant-sunfish-record-azores.html            Neptune Might Find Too Big to Swallow       By Annie Roth            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/science Spidery Special For These Lizards Venom
2022-10-18   2022-10-25 /lizards-eating-black-widows.html            Can Be Quite Appetizing                     By Veronique Greenwood   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/health/
2022-10-19   2022-10-25 doctors-patients-disabilities.html           Doctors Real Thoughts On Disabled Patients By Gina Kolata            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/science
2022-10-19   2022-10-25 /webb-pillars-of-creation-image.html         Pillars of Creation A New Infrared View     By Dennis Overbye        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/well/e-
2022-10-19   2022-10-25 cigarettes-quit-smoking.html                 Can ECigarettes Help You Quit Smoking       By Jen A Miller          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/mu
2022-10-20   2022-10-25 sic/cavetown-worm-food.html                  Bringing Kindness To a Cruel World          By Eric Ducker           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/arts/mu
2022-10-20   2022-10-25 sic/steve-lehman-saxophone.html              An Approach to Music Without Borders        By Seth Colter Walls     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/theater/ Traversing Gay Sexuality On Fluid Shuffle
2022-10-20   2022-10-25 the-gold-room-review.html                    Mode                                        By Naveen Kumar          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/dan The Former Ballerina Julie Kent Will Head to
2022-10-21   2022-10-25 ce/julie-kent-houston-ballet.html            Houston                                     By Javier C Hernndez     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/science
                        /sperm-retrieval-essm-transgender-           Less Invasive Procedure To Save Viable
2022-10-21   2022-10-25 fertility.html                               Sperm                                       By Jacqueline Mroz       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/22/busines Twitchs Relationship With Its Streamers
2022-10-22   2022-10-25 s/twitch-streamers.html                      Shows Its Cracks                            By Kellen Browning       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/22/health/c
2022-10-22   2022-10-25 ovid-vaccination-elderly.html                A Decline in Interest Regarding Boosters    By Paula Span            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/22/movies/
2022-10-22   2022-10-25 zar-amir-ebrahimi-holy-spider.html           Iranian Exile Channels Her Trauma Into Film By Roger Cohen           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/22/world/e Ian Hamilton Who Seized a Relic From
2022-10-22   2022-10-25 urope/ian-hamilton-dead.html                 Westminster Abbey Dies at 97                By Richard Sandomir      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/22/arts/mu Geoff Nuttall 56 a Magnetic Violinist Who
2022-10-23   2022-10-25 sic/geoff-nuttall-dead.html                  Founded an Acclaimed Quartet                By David Allen           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/opinion
2022-10-23   2022-10-25 /mushrooms-climate-change.html               Where Have All the Cpes Gone                By Serge Schmemann       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/arts/cla
                        ude-monet-mashed-potatoes-climate-           Monet Painting Is Splashed In Latest Stunt
2022-10-24   2022-10-25 activists.html                               Over Climate                                By Eduardo Medina        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/arts/tele
                        vision/house-of-the-dragon-showrunner-ryan-
2022-10-24   2022-10-25 condal.html                                  Quick Embrace for a Thrones Spinoff         By Sean T Collins        TX 9-233-140   2022-12-01




                                                                               Page 4411 of 5793
                        https://www.nytimes.com/2022/10/23/busines                                          By Keith Bradsher and Alexandra
2022-10-24   2022-10-25 s/china-gdp-economy.html                   Xi Secures An Iron Grip On Power         Stevenson                               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/arts/mu
2022-10-24   2022-10-25 sic/bach-orgelbuchlein-project.html        Bachs Organ Music With 118 Collaborators By Hugh Morris                          TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/24/arts/mu Kanye Wests Offensive Behavior Makes         By Ben Sisario Vanessa Friedman
2022-10-24   2022-10-25 sic/kanye-west-adidas-balenciaga-yeezy.html Corporate Partners Squirm                   Jessica Testa and Ellen Barry       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/arts/tele Leslie Jordan Actor Whose Candor Gave
2022-10-24   2022-10-25 vision/leslie-jordan-dead.html               Comfort to Fans Dies at 67                 By Neil Genzlinger                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/busines Hollywoods MeToo Fervor Wanes as Old
2022-10-24   2022-10-25 s/media/hollywood-metoo.html                 Habits Return                              By Brooks Barnes                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/busines With Teslas Shares Drooping Company Cuts
2022-10-24   2022-10-25 s/tesla-china-price-cut.html                 Prices in China                            By Jack Ewing                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/busines A Brash Lonely Protest in Beijing Surfaces
2022-10-24   2022-10-25 s/xi-jinping-protests.html                   an Undercurrent of Dissent                 By Li Yuan                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/movies/
2022-10-24   2022-10-25 danielle-deadwyler-till.html                 That Look In Her Eye Has A Payoff          By Sarah Bahr                       TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/24/nyregio Abortion Access Is Shaping New York          By Luis FerrSadurn and Grace
2022-10-24   2022-10-25 n/governor-kathy-hochul-abortion-rights.html Governors Race as Election Day Draws Near Ashford                              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/nyregio
                        n/hasidic-yeshiva-fraud-central-united-                                                 By Brian M Rosenthal and Eliza
2022-10-24   2022-10-25 talmudical-academy.html                      Fraud Costs Hasidic School 8 Million       Shapiro                             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/nyregio Middle Schools in New York City Resist a
2022-10-24   2022-10-25 n/nyc-middle-school-admissions.html          Return to Selective Admissions             By Troy Closson                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/nyregio Watchdog Group Can Now Investigate
2022-10-24   2022-10-25 n/nypd-city-council-racial-profiling.html    Claims of Racial Profiling Against NYPD    By Chelsia Rose Marcius             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/nyregio Advising Trump Was Professional Death
2022-10-24   2022-10-25 n/trump-thomas-barrack-trial.html            March Financier Testifies                  By Rebecca Davis OBrien             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/opinion This Wasnt the Vibe Shift Democrats Had in
2022-10-24   2022-10-25 /midterms-truss-student-loans.html           Mind                                       By Gail Collins and Bret Stephens   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/opinion
2022-10-24   2022-10-25 /rising-crime-democrats.html                 Red Delusions About Purple Reality         By Paul Krugman                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/science They Might Have Love On Their Lizard
2022-10-24   2022-10-25 /lizards-reptiles-social-behavior.html       Brains                                     By Hannah Thomasy                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/sports/b
2022-10-24   2022-10-25 aseball/aaron-judge-yankees.html             Was the Final Out Judges Last as a Yankee  By James Wagner                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/sports/b
                        aseball/astros-phillies-world-series-        Oddsmakers Pick Houston As Favorite To
2022-10-24   2022-10-25 favorites.html                               Win It All                                 By Benjamin Hoffman                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/sports/f
                        ootball/dolphins-steelers-score-brian-       Troubling NFL Issues Displayed in Prime
2022-10-24   2022-10-25 flores.html                                  Time                                       By Emmanuel Morgan                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/sports/o
2022-10-24   2022-10-25 lympics/paris-russia-ban-ioc.html            IOC Nudges Federations to Readmit Russians By Matthew Futterman                TX 9-233-140   2022-12-01



                                                                                Page 4412 of 5793
                        https://www.nytimes.com/2022/10/24/us/detr Largest Black City in US Unlikely to Elect
2022-10-24   2022-10-25 oit-congress-black-thanedar.html           Black Representative                         By Clyde McGrady                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/us/geor Man Who Helped Pin Floyd Pleads Guilty
2022-10-24   2022-10-25 ge-floyd-officer-kueng-thao.html           Ahead of Trial                               By Nicholas BogelBurroughs      TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/24/us/harv Opening Statements Kick Off Weinsteins       By Livia AlbeckRipka and Lauren
2022-10-24   2022-10-25 ey-weinstein-trial-los-angeles.html        Second Trial                                 Herstik                         TX 9-233-140      2022-12-01

                        https://www.nytimes.com/2022/10/24/us/larry-Lawmakers Report Links DAs Policies to
2022-10-24   2022-10-25 krasner-philadelphia-committee-report.html Crime Rate                                  By Campbell Robertson               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/us/mich Michigan Teenager Admits to Murder in
2022-10-24   2022-10-25 igan-shooting-plea-gun.html                 School Attack                              By Stephanie Saul                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/us/pelo Pelosi Democrats BillionDollar Juggernaut
2022-10-24   2022-10-25 si-democrats-midterms.html                  Fights to the End                          By Carl Hulse                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/us/polit Alito Assured Kennedy Of His Respect for
2022-10-24   2022-10-25 ics/alito-kennedy-abortion.html             Roe Senator Said in Diary                  By John A Farrell                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/us/polit                                            By Jonathan Weisman and Neil
2022-10-24   2022-10-25 ics/democrats-midterms-economy.html         Shifting Gears Democrats Put Economy First Vigdor                              TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/24/us/polit Prosecutors Move to Secure Testimony in      By Michael S Schmidt Maggie
2022-10-24   2022-10-25 ics/justice-department-trump-documents.html Documents Case                               Haberman and Alan Feuer           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/us/polit US Says Chinese Officials Spied in Huawei By Glenn Thrush and David
2022-10-24   2022-10-25 ics/justice-dept-huawei.html                Case                                         McCabe                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/us/polit
                        ics/pennsylvania-senate-debate-fetterman-   Fettermans Debate Tasks Selling Policies and By Sheryl Gay Stolberg and Trip
2022-10-24   2022-10-25 oz.html                                     Proving Hes Healthy                          Gabriel                           TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/24/us/polit Western Officials Warn of Russian Ploy     By David E Sanger Julian E Barnes
2022-10-24   2022-10-25 ics/russia-dirty-bomb-west-ukraine.html     Using Dirty Bomb as Pretext to Expand War Eric Schmitt and Helene Cooper     TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/24/us/polit
                        ics/supreme-court-graham-thomas-            Grahams Bid For Immunity Gets New Life
2022-10-24   2022-10-25 testimony.html                              From Thomas                                By Adam Liptak                    TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/24/us/st- Teenager and Teacher Killed in Shooting at a By Jenna Fisher Remy Tumin
2022-10-24   2022-10-25 louis-high-school-shooting.html             St Louis High School                       Johnny Diaz and Julie Bosman      TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/24/us/texa A Prosecutors Change of Heart in a Capital
2022-10-24   2022-10-25 s-death-penalty-supreme-court.html          Case at the Supreme Court                  By Adam Liptak                    TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/24/world/a Ethiopia Is Set to Begin Peace Talks With
2022-10-24   2022-10-25 frica/ethiopia-tigray-peace-talks.html      Tigray Rebels as Crisis Deepens            By Abdi Latif Dahir               TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/24/world/a South Africa Details Plans to Fight
2022-10-24   2022-10-25 frica/south-africa-corruption-ramaphosa.html Corruption                                 By John Eligon                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/world/a
                        mericas/brazil-election-polls-               Brazils Polls Were Wrong Now the Right
2022-10-24   2022-10-25 criminalization.html                         Wants to Criminalize Polling               By Andr Spigariol and Jack Nicas   TX 9-233-140   2022-12-01




                                                                                 Page 4413 of 5793
                        https://www.nytimes.com/2022/10/24/world/a
                        mericas/venezuela-migrants-biden-          Policy Shift Leaves Thousands of            By David Shortell and Julie
2022-10-24   2022-10-25 mexico.html                                Venezuelans South of US Border              Turkewitz                               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/world/e Britains Economic Troubles Rush Up to Greet
2022-10-24   2022-10-25 urope/rishi-sunak-uk-economy.html          Sunak                                       By Eshe Nelson                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/world/e Tories Pick Sunak As British Leader In Time
2022-10-24   2022-10-25 urope/rishi-sunak-uk-prime-minister.html   Of Tumlut                                   By Mark Landler                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/world/e Russian Officials Flee Kherson First City   By Marc Santora and Eric
2022-10-24   2022-10-25 urope/russia-ukraine-kherson-war.html      Captured but Troops Dig In                  Nagourney                               TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/24/world/e Next Steps For Leader Include Visit To the
2022-10-24   2022-10-25 urope/uk-prime-minister-how-process.html   King                                           By Megan Specia                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/world/e                                                By Megan Specia and Isabella
2022-10-24   2022-10-25 urope/uk-rishi-sunak.html                  Ethnic Breakthrough by a Man of Wealth         Kwai                                 TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/24/world/e Ukrainians Find Only Ruins After Russians
2022-10-24   2022-10-25 urope/ukraine-devastation-russian-retreat.html Flee                                       By Carlotta Gall and Ivor Prickett   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/health/
2022-10-25   2022-10-25 psychedelic-drug-therapy-patents.html          The Business Of Psychedelics               By Andrew Jacobs                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/insider/
2022-10-25   2022-10-25 books-travel-cities-read-your-way.html         Books Can Take You There                   By Katherine J Igoe                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/opinion Rishi Sunak Is Not Destined to Be Britains
2022-10-25   2022-10-25 /rishi-sunak-uk-prime-minister.html            Savior                                     By Kimi Chaddah                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/climate Here to Help How to Start Composting at
2022-10-14   2022-10-26 /food-waste-solutions.html                     Home                                       By Clare Toeniskoetter               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/14/us/polit
                        ics/campaign-reporting-misinformation-
2022-10-14   2022-10-26 age.html                                       On the New Campaign Trail                  By Blake Hounshell                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/dining/
2022-10-19   2022-10-26 better-shrimp-scampi-recipe.html               Heres an Idea Gnocchi Scampi               By Melissa Clark                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/dining/
2022-10-19   2022-10-26 drinks/wine-review-loire-reds.html             These Loire Reds Belong on the Radar       By Eric Asimov                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/dining/
                        what-kenji-lopez-alt-cooks-family-dinner-
2022-10-19   2022-10-26 udon.html                                      Simple Satisfying and Easy to Cook         By J Kenji LpezAlt                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/arts/dan
                        ce/crystal-pite-royal-ballet-gregory-maqoma-
2022-10-21   2022-10-26 ballet-black.html                              Subsumed by a Crowd or Emerging From It    By Roslyn Sulcas                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/busines
2022-10-21   2022-10-26 s/economy/scotch-whisky-exports.html           Demand Keeps Whisky Flowing                By Jenny Gross and Kieran Dodds TX 9-233-140        2022-12-01
                        https://www.nytimes.com/2022/10/21/dining/
2022-10-21   2022-10-26 brunswick-stew.html                            Spreading the Word About a Stew            By Eric Kim                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/movies/
                        the-school-for-good-and-evil-sofia-wylie-
2022-10-21   2022-10-26 sophia-anne-caruso.html                        On Set Theyre Called by Their Last Names   By Sarah Bahr                        TX 9-233-140   2022-12-01



                                                                                 Page 4414 of 5793
                        https://www.nytimes.com/2022/10/21/us/nort
2022-10-21   2022-10-26 hwest-snowpack-climate.html                  Here Snow Is Life What if It Disappears      By Ruth Fremson and Kirk Johnson TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/22/opinion
2022-10-22   2022-10-26 /remote-work.html                            Remote Jobs Are Here to Stay Thats Good      By Jessica Grose                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/24/arts/hal
2022-10-24   2022-10-26 loween-comics.html                           Many Tales of Horror From Different Crypts   By George Gene Gustines         TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/24/arts/mu
                        sic/taylor-swift-midnights-millennial-
2022-10-24   2022-10-26 women.html                                   FairyTale Ending Well Maybe Not              By Lindsay Zoladz               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/24/arts/tele
                        vision/guillermo-del-toro-cabinet-of-        A Few Treats to Be Found Among the
2022-10-24   2022-10-26 curiosities-review-netflix.html              Numerous Tricks                              By Mike Hale                    TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/24/dining/r
2022-10-24   2022-10-26 estaurant-review-dunya-kabab-house.html      Afghan Culture Is on the Menu Here           By Pete Wells                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/24/dining/r
2022-10-24   2022-10-26 estoration-hardware-restaurant.html          Where the Main Dish Is the Dcor              By Priya Krishna                TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/24/nyregio On Fields Big and Small Finding a Toehold in
2022-10-24   2022-10-26 n/migrants-venezuela-nicaragua-yankees.html New York                                     By Ral Vilchis                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/24/opinion What Do Biden and Trump Have in Common
2022-10-24   2022-10-26 /biden-trump-weak-presidents.html            Weakness                                    By Yuval Levin                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/24/theater/
2022-10-24   2022-10-26 chushingura-47-ronin-review.html             A Vengeful Quest and a Tale of Loyalty      By Elisabeth Vincentelli         TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/24/us/texa Man Who Sold Gun Used in Standoff Gets
2022-10-24   2022-10-26 s-hostage-gun-sale.html                      Nearly 8 Years                              By Eduardo Medina                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/24/world/e Dietrich Mateschitz 78 Force Behind the Red
2022-10-25   2022-10-26 urope/dietrich-mateschitz-dead.html          Bull Empire                                 By Christopher F Schuetze        TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/25/arts/bei
                        rut-explosion-artemisia-gentileschi-
2022-10-25   2022-10-26 painting.html                                In the Rubble a 17thCentury Gem             By Jori Finkel                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/25/arts/tele
2022-10-25   2022-10-26 vision/james-corden-apology.html             A Tall Order To Always Be Mr Nice Guy       By Jason Zinoman                 TX 9-233-140    2022-12-01
                                                                                                                 By Melissa Eddy Vanessa
                        https://www.nytimes.com/2022/10/25/busines                                               Friedman and Michael J de la
2022-10-25   2022-10-26 s/adidas-kanye-west.html                     Adidas Ends Lucrative Partnership With West Merced                           TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/25/busines Disabled Workers Thrive in Tight Labor
2022-10-25   2022-10-26 s/economy/labor-disabilities.html            Market                                      By Ben Casselman                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/25/busines Price Plunges After Europe Replenishes
2022-10-25   2022-10-26 s/europe-gas-prices-winter.html              Natural Gas                                 By Stanley Reed                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/25/busines With Deadline Nearing White House Plans
                        s/public-service-loan-forgiveness-           Wider Changes to Public Service Student
2022-10-25   2022-10-26 deadline.html                                Loan Relief                                 By Stacy Cowley                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/25/busines Spotify Wants to Get Into Audiobooks but
2022-10-25   2022-10-26 s/spotify-apple-audiobooks-app.html          Says Apple Is in the Way                    By Tripp Mickle                  TX 9-233-140    2022-12-01




                                                                                 Page 4415 of 5793
                        https://www.nytimes.com/2022/10/25/busines SPAC Tied to Trump Media Denies
2022-10-25   2022-10-26 s/trump-media-spac-sec.html                Substantive Talks                            By Matthew Goldstein     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/dining/
2022-10-25   2022-10-26 ashland-or-food-fires.html                 Making The Leap From Fire To Frying Pan By Brett Anderson             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/dining/ Artesano Featuring Northern Peruvian Cuisine
2022-10-25   2022-10-26 nyc-restaurant-news.html                   Opens in TriBeCa                             By Florence Fabricant    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/dining/
2022-10-25   2022-10-26 when-youre-sick-at-home.html               How to Refine That Takeout Menu When Ill By Nikita Richardson         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/movies/
2022-10-25   2022-10-26 terrifier-2-box-office.html                LowBudget Ultraviolent and All the Rage      By Erik Piepenburg       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/nyregio
                        n/catholic-diocese-buffalo-attorney-       Settling Abuse Inquiry Buffalo Diocese
2022-10-25   2022-10-26 general.html                               Allows Government Oversight                  By Liam Stack            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/nyregio Suddenly the New York Race for Governor
2022-10-25   2022-10-26 n/hochul-zeldin-governor-ny.html           Looks Unexpectedly Close                     By Nicholas Fandos       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/nyregio Restaurants Have Thrived on New Yorks
2022-10-25   2022-10-26 n/ny-open-streets-restaurants.html         CarFree Streets Report Finds                 By Winnie Hu             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/opinion
2022-10-25   2022-10-26 /putin-energy-gas-prices.html              When It Comes to Energy Putin Is Onto Us By Thomas L Friedman         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/opinion
2022-10-25   2022-10-26 /reconstruction-civil-war-du-bois.html     Why I Keep Coming Back to Reconstruction By Jamelle Bouie             TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/25/science Emperor Penguins Join Threatened Species
2022-10-25   2022-10-26 /emperor-penguins-threatened-species.html List                                        By Derrick Bryson Taylor   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/sports/b
2022-10-25   2022-10-26 aseball/astros-phillies-1980-nlcs.html      Collision Course                          By Tyler Kepner            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/technol Alphabets Profit Drops 27 Reflecting a
2022-10-25   2022-10-26 ogy/alphabet-google-q3-earnings.html        Struggling Global Economy                 By Nico Grant              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/technol For Microsoft Strong Dollar Slows Growth
2022-10-25   2022-10-26 ogy/microsoft-earnings.html                 To 5Year Low                              By Karen Weise             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/technol WhatsApp Goes Down Around World For 2 By Jenny Gross and Adam
2022-10-25   2022-10-26 ogy/whatsapp-down-outage.html               Hours                                     Satariano                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/us/asht Ashton B Carter 68 Who Made the Military
2022-10-25   2022-10-26 on-b-carter-dead.html                       More Inclusive Is Dead                    By Clay Risen              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/us/elect Vulnerable Democrat In Race That May Flip
2022-10-25   2022-10-26 ions/cortez-masto-nevada-senate.html        Control of the Senate                     By Catie Edmondson         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/us/hurri Hurricane Ian Started a Clock Ticking for
2022-10-25   2022-10-26 cane-ian-dialysis.html                      Dialysis Patients Cut Off by Destruction  By Neelam Bohra            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/us/polit Biden Tells Russia Use of Nuclear Arms
2022-10-25   2022-10-26 ics/biden-russia-ukraine-nuclear.html       Would Be Serious Mistake                  By David E Sanger          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/us/polit Biden Gets Covid Booster Urges Americans
2022-10-25   2022-10-26 ics/biden-updated-booster-covid.html        to Follow                                 By Noah Weiland            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/us/polit
2022-10-25   2022-10-26 ics/blue-states-midterm-landscape.html      GOP Chasing Seats Counted As Solidly Blue By Shane Goldmacher        TX 9-233-140   2022-12-01




                                                                               Page 4416 of 5793
                        https://www.nytimes.com/2022/10/25/us/polit Democrats Say Racism Is the Real Messaging
2022-10-25   2022-10-26 ics/crime-ads-racism-republicans.html       in Republican Crime Ads                    By Jonathan Weisman             TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/25/us/polit 2 Plead Guilty Over Robocalls Meant to Curb
2022-10-25   2022-10-26 ics/ohio-robocalls-wohl-burkman-guilty.html Voting by Mail                               By Christine Hauser             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/us/polit US Thought It Had Secret Oil Deal With       By Mark Mazzetti Edward Wong
2022-10-25   2022-10-26 ics/us-saudi-oil-deal.html                  Saudis                                       and Adam Entous                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/world/a Airstrike Kills at Least 80 During an Outdoor
2022-10-25   2022-10-26 sia/myanmar-coup-concert-killed.html        Concert in Northern Myanmar                  By Richard C Paddock            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/world/a Museum Offers a Chilling Reminder of          By Amy Chang Chien John Liu and
2022-10-25   2022-10-26 sia/taiwan-china-pelosi.html                Taiwans Dark Past                            Chris Horton                    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/25/world/e                                           By Ivan Nechepurenko Neil
2022-10-25   2022-10-26 urope/brittney-griner-appeal-russia.html   Russia Upholds Griners 9Year Term         MacFarquhar and Jonathan Abrams TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/25/world/e
2022-10-25   2022-10-26 urope/democrats-biden-ukraine.html         Ukraine Talks House Liberals Walk It Back By Catie Edmondson              TX 9-233-140       2022-12-01

                        https://www.nytimes.com/2022/10/25/world/e European Allies Question Whether They Can
2022-10-25   2022-10-26 urope/germany-ukraine-energy-policy.html Count On Germany                            By Steven Erlanger                TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/25/world/e Sunaks Tall Task Unify Party and Fix
2022-10-25   2022-10-26 urope/rishi-sunak-uk-economy-politics.html Economy                                    By Mark Landler                  TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/25/world/e New Premiers Choices For Top Cabinet Posts
2022-10-25   2022-10-26 urope/sunak-cabinet-appointments.html       Send Signal of Stability                  By Megan Specia                  TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/25/world/
                        middleeast/israel-palestinians-west-bank-   Israeli Military Targets New Palestinian
2022-10-25   2022-10-26 raid.html                                   Militia                                   By Isabel Kershner               TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/25/nyregio Challenger Goes on Attack But Skirts Trump By Luis FerrSadurn and Michael
2022-10-26   2022-10-26 n/takeaways-hochul-zeldin-debate.html       Question                                  Gold                             TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/25/theater/
2022-10-26   2022-10-26 a-raisin-in-the-sun-review.html             Part Revival Part Reversal for a Classic  By Jesse Green                   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/25/theater/ Maybe Its a Comedy Maybe a Thriller or
2022-10-26   2022-10-26 montag-review-soho-rep.html                 Something Else                            By Alexis Soloski                TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/25/us/polit With Senate Control on the Line Fetterman
2022-10-26   2022-10-26 ics/fetterman-oz-debate-senate-pa.html      and Oz Tangle in Debate                   By Shane Goldmacher              TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/25/us/polit                                           By Alan Feuer and Luke
2022-10-26   2022-10-26 ics/jan-6-trump-cipollone.html              US Seeks Testimony By Lawyers For Trump Broadwater                         TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/25/us/polit
2022-10-26   2022-10-26 ics/justice-alito-roe-abortion.html         Alito Says Roe Leak Altered Atmosphere    By Adam Liptak                   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/26/climate Climate Pledges Fizzle as Havoc Looms for
2022-10-26   2022-10-26 /un-climate-pledges-warming.html            Globe                                     By Max Bearak                    TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/26/sports/f One Mans Crusade Confronting Leagues Over
2022-10-26   2022-10-26 ootball/chris-nowinski-cte-football.html    Brain Injuries                            By Ken Belson                    TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/26/sports/f The Twilight of the Quarterback Gods
2022-10-26   2022-10-26 ootball/tom-brady-aaron-rodgers.html        Consumes the NFL                          By Mike Tanier                   TX 9-233-140     2022-12-01



                                                                               Page 4417 of 5793
                        https://www.nytimes.com/2022/10/26/sports/s
                        occer/napoli-khvicha-kvaratskhelia-         A 21YearOld Dynamo Emerges From               By Ivan Nechepurenko and Rory
2022-10-26   2022-10-26 kvaradona.html                              Georgia to Take Europe by Storm               Smith                               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/technol
                        ogy/musk-twitter-delaware-judge-
2022-10-26   2022-10-26 mccormick.html                              The Judge Presiding Over Musk                 By Lauren Hirsch                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/22/t-
2022-09-22   2022-10-27 magazine/money-sex-fashion.html             Make it Rain                                  By Nick Haramis                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/style/ho For Some Fans Targaryen Blond Is All the
2022-10-23   2022-10-27 use-of-the-dragon-blond-hair.html           Rage                                          By Anna Grace Lee                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/health/ Some Could Skip Surgery for Breast Cancer
2022-10-25   2022-10-27 breast-cancer-surgery.html                  Study Suggests                                By Roni Caryn Rabin                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/movies/ She Learned to Act Working With Cate
2022-10-25   2022-10-27 tar-cellist-sophie-kauer.html               Blanchett                                     By Brandon Yu                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/theater/ Nathan Lane Will Star in a New Broadway
2022-10-25   2022-10-27 pictures-from-home-broadway.html            Play                                          By Michael Paulson                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/upshot/ The Mood of America Goes Up and Down           By Emily Badger and Eve
2022-10-25   2022-10-27 gas-prices-biden-midterms.html              With the Price of Gas                         Washington                          TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/25/world/e
2022-10-25   2022-10-27 urope/nord-stream-pipeline-explosions.html Who Is Behind the Nord Stream Blasts           By Melissa Eddy                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/arts/dan
2022-10-26   2022-10-27 ce/review-niall-jones-compression.html       What Happens Before And After the Dance      By Brian Seibert                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/arts/des
                        ign/newburgh-african-american-burial-ground-
2022-10-26   2022-10-27 olmsted-park.html                            Tension Over a Lost Burial Ground            By Jane Margolies                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/arts/mu
2022-10-26   2022-10-27 sic/ahmed-alshaiba-dead.html                 Ahmed Alshaiba 32 Yemeni Music Master        By Richard Sandomir                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/arts/mu
2022-10-26   2022-10-27 sic/fred-again-actual-life.html              He Just Might Turn That Snippet Into a Hit   By Foster Kamer                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/arts/mu
2022-10-26   2022-10-27 sic/kanye-west-music-industry.html           Can Music Provide Ye A Safety Net            By Joe Coscarelli and Ben Sisario   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/arts/mu
2022-10-26   2022-10-27 sic/mastervoices-carmen-review.html          Dialed Back With a DevilMayCare Kick         By Seth Colter Walls                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/arts/pie Pierre Soulages 102 French Abstract Painter
2022-10-26   2022-10-27 rre-soulages-dead.html                       Obsessed With Black Dies                     By William Grimes                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/books/ Mike Davis Who Wrote of Los Angeles and
2022-10-26   2022-10-27 mike-davis-dead.html                         Catastrophe Is Dead at 76                    By Neil Genzlinger                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/busines Bed Bath amp Beyond Names Chief to Lead
2022-10-26   2022-10-27 s/bed-bath-beyond-ceo.html                   New Strategy                                 By Jordyn Holman                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/busines
2022-10-26   2022-10-27 s/boeing-alaska-airlines.html                Airlines Hurt As Deliveries Hit a Snag       By Niraj Chokshi                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/busines Ford Motor Lost Money Last Quarter As
2022-10-26   2022-10-27 s/ford-third-quarter-earnings.html           Costs Soar                                   By Neal E Boudette                  TX 9-233-140   2022-12-01




                                                                                 Page 4418 of 5793
                        https://www.nytimes.com/2022/10/26/busines CNN Chairman Signals Layoffs and Budget
2022-10-26   2022-10-27 s/media/cnn-cuts-chris-licht.html          Cuts Before End of Year                    By Benjamin Mullin               TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/26/busines Innovator for Social Impact To Take Over
2022-10-26   2022-10-27 s/media/texas-tribune-ceo-sonal-shah.html  Texas Tribune                              By Katie Robertson               TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/26/busines New UK Leader Seeks More Time to Craft an
2022-10-26   2022-10-27 s/rishi-sunak-uk-economic-plan.html        Economic Plan                              By Eshe Nelson                   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/26/busines
2022-10-26   2022-10-27 s/yield-curve-inversion-recession.html     Trusted Signal Of Recession Raises Alarms By Joe Rennison                   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/26/climate Targeting Art to Help the Planet Activists
2022-10-26   2022-10-27 /art-climate-protests-monet.html           Tactics Fuel a Debate                      By Cara Buckley                  TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/26/health/ Drug for Rare Epilepsy Causes Brain Side
2022-10-26   2022-10-27 gene-treatment-epilepsy-antisense-brain.html Effect                                     By Erika Check Hayden            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/health/ Most Hospitalized for Monkeypox in US Had
2022-10-26   2022-10-27 monkeypox-hiv.html                           HIV                                        By Apoorva Mandavilli            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/movies/
2022-10-26   2022-10-27 the-good-nurse-tobias-lindholm.html          A Dane Casts a Wary Eye                    By Dave Itzkoff                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/nyregio Democrat on Staten Island Carefully
2022-10-26   2022-10-27 n/malliotakis-rose-staten-island.html        Distances Himself From the Party Line      By Michael Gold                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/nyregio
2022-10-26   2022-10-27 n/nyc-homeless-students.html                 New York Reports Rise In Homeless Students By Troy Closson                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/opinion
2022-10-26   2022-10-27 /china-communist-xi-economy.html             Chinas Era of Reform Has Officially Ended By Yuen Yuen Ang                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/opinion
                        /environment/clean-water-act-sackett-        A Wildly Successful Environmental Law
2022-10-26   2022-10-27 epa.html                                     Needs a Reboot                             By Robert B Semple Jr            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/opinion
2022-10-26   2022-10-27 /fetterman-oz-debate-midterms.html           No Oratory Prize for Fetterman Who Cares   By Gail Collins                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/opinion
2022-10-26   2022-10-27 /kanye-west-antisemitism.html                Thank Ye Very Much                         By Bret Stephens                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/sports/b
                        aseball/world-series-preview-philadelphia-   Philadelphia Has An Edge on Houston In
2022-10-26   2022-10-27 houston.html                                 Many Ways                                  By Tyler Kepner                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/sports/g Splintered Sport Faces An Antitrust Inquiry
2022-10-26   2022-10-27 olf/augusta-pga-usga-liv-doj.html            From the Justice Dept                      By Alan Blinder and Glenn Thrush TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/sports/h With a 990Game Streak Kessel Engraves His
2022-10-26   2022-10-27 ockey/phil-kessel-nhl-record.html            Name Among the Ironmen                     By Victor Mather                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/sports/ Shes Set to Be Chairman of NYRR but She
2022-10-26   2022-10-27 marathon-new-york-road-runners.html          Once Failed a Doping Test                  By Matthew Futterman             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/sports/s
                        occer/nyu-chicago-women-soccer-
2022-10-26   2022-10-27 coaches.html                                 Men vs Men With Women in Charge            By David Waldstein               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/style/ad
                        am-pendleton-alexander-mcqueen-
2022-10-26   2022-10-27 copying.html                                 When Imitation Isnt Just Flattery          By Vanessa Friedman              TX 9-233-140   2022-12-01



                                                                               Page 4419 of 5793
                        https://www.nytimes.com/2022/10/26/style/au
2022-10-26   2022-10-27 relio-voltaire-gothic-homemaking.html       At Home With His Macabre Style               By Molly Fitzpatrick              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/technol Big Tech Feels Economic Chill As Sales
2022-10-26   2022-10-27 ogy/economy-facebook-google.html            Falter                                      By Tripp Mickle                    TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/26/technol How Worlds Richest Man Became a              By Cade Metz Adam Satariano and
2022-10-26   2022-10-27 ogy/elon-musk-geopolitics-china-ukraine.html Geopolitical Chaos Agent                   Chang Che                       TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/26/technol Meta Braces For Trouble As Its Profit Slumps
2022-10-26   2022-10-27 ogy/meta-facebook-q3-earnings.html           52                                         By Ryan Mac                     TX 9-233-140      2022-12-01

                        https://www.nytimes.com/2022/10/26/technol
2022-10-26   2022-10-27 ogy/personaltech/tiktok-guide-latecomers.htmlTikTok for Dummies and for You Too       By J D Biersdorfer                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/theater/
2022-10-26   2022-10-27 hound-dog-review.html                        Full of Talent and Nowhere to Run        By Elisabeth Vincentelli             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/us/darr Man Who Drove Car Into Parade Is Guilty of
2022-10-26   2022-10-27 ell-brooks-wisconsin-parade-verdict.html     Killing 6                                By Julie Bosman                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/us/larry-Republicans in Pennsylvania House Move to
2022-10-26   2022-10-27 krasner-philadelphia-impeachment.html        Impeach Progressive Philadelphia DA      By Campbell Robertson                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/us/mea Meadows Told to Testify in Georgia Election By Richard Fausset and Danny
2022-10-26   2022-10-27 dows-testify-georgia-election-trump.html     Inquiry                                  Hakim                                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/us/mich Three Convicted of Aiding Michigan
2022-10-26   2022-10-27 igan-wolverine-watchmen-trial.html           Kidnapping Plot                          By Mitch Smith                       TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/26/us/polit Im a car guy Just looking at them and driving
2022-10-26   2022-10-27 ics/biden-cars.html                         them they just give me a sense of optimism    By Alan Rappeport                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/us/polit
                        ics/fetterman-debate-pennsylvania-          Debate Showing Elicits Worries In
2022-10-26   2022-10-27 democrats.html                              Pennsylvania                                  By Lisa Lerer and Katie Glueck   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/us/polit                                               By Jonathan Weisman and Maya
2022-10-26   2022-10-27 ics/herschel-walker-abortion.html           New Unnamed Walker Accuser Emerges            King                             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/us/polit Rule Bars Justice Dept From Seizing Records
2022-10-26   2022-10-27 ics/justice-department-reporters.html       Or Notes From Reporters                       By Charlie Savage                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/us/polit
                        ics/midterms-gop-republican-inflation-      Republicans Claim They Can Tame Inflation By Jim Tankersley and Emily
2022-10-26   2022-10-27 plans.html                                  but Economists Have Their Doubts              Cochrane                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/us/polit Pennsylvania Voters Absorb a Challenging      By Katie Glueck and Alyce
2022-10-26   2022-10-27 ics/oz-fetterman-debate-reaction.html       Senate Debate                                 McFadden                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/us/polit
                        ics/pennsylvania-media-fetterman-oz-        Performance Of Fetterman Dominates Local
2022-10-26   2022-10-27 debate.html                                 Media                                         By Neil Vigdor                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/us/polit Russian Propaganda Frames War as Against
2022-10-26   2022-10-27 ics/russia-propaganda-dirty-bomb.html       Terror                                        By Julian E Barnes               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/us/polit As Winds Shift Right A Top House Democrat
2022-10-26   2022-10-27 ics/sean-patrick-maloney-new-york.html      Is Suddenly in Danger                         By Katie Glueck                  TX 9-233-140   2022-12-01




                                                                                 Page 4420 of 5793
                        https://www.nytimes.com/2022/10/26/us/polit
                        ics/trump-declassified-documents-                                                        By Adam Goldman Charlie Savage
2022-10-26   2022-10-27 testimony.html                                Testimony Sought on Document Claims        and Michael S Schmidt              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/us/texa No Permits Needed More Texans Are
2022-10-26   2022-10-27 s-guns-permitless.html                        Carrying                                   By J David Goodman                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/world/a
                        mericas/mexico-iguala-missing-kidnapped- A Haunting Case in Mexico Is Finally Solved By Natalie Kitroeff Ronen Bergman
2022-10-26   2022-10-27 students.html                                 Then Isnt                                  and Oscar Lopez                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/world/a Shunned by the West Myanmar and Russia
2022-10-26   2022-10-27 sia/russia-myanmar-junta.html                 Form a Partnership of Unequals             By SuiLee Wee                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/world/a New Zealand Seeks Clues After 2 Men Take
2022-10-26   2022-10-27 ustralia/new-zealand-whale-fossil.html        Fossil                                     By Natasha Frost                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/world/e China Is Said To Operate Police Offices In    By Isabella Kwai and Emma
2022-10-26   2022-10-27 urope/china-police-netherlands.html           Netherlands                                Bubola                             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/world/e Ukrainians Try to Retake Kherson and Nearby By Marc Santora and Eric
2022-10-26   2022-10-27 urope/kherson-ukraine-russia-war.html         Hydroelectric Dam                          Nagourney                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/world/e
                        urope/rishi-sunak-uk-prime-minister-          Labour Greets Sunak in Parliament With
2022-10-26   2022-10-27 questions.html                                Hostile Questions                          By Mark Landler                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/world/e US Sanctions Take Aim At Meddling in
2022-10-26   2022-10-27 urope/russia-us-sanctions-moldova.html        Moldova                                    By Michael Crowley                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/world/ Turmoil Sweeps Iran as Thousands Mourn         By Farnaz Fassihi and Cora
2022-10-26   2022-10-27 middleeast/iran-protests-40-days.html         Woman Who Died in Custody                  Engelbrecht                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/world/
                        middleeast/israel-palestinians-insurgency-    Palestinians on West Bank Call Israeli
2022-10-26   2022-10-27 blockade-nablus-jenin.html                    Lockdowns Suffocating                      By Patrick Kingsley                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/article/voting-rights-Does the Constitution Guarantee a Right to
2022-10-26   2022-10-27 constitution.html                             Vote The Answer May Surprise You           By Michael Wines                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/theater/
2022-10-27   2022-10-27 straight-line-crazy-review.html               The Man Who Held The Power                 By Jesse Green                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/us/polit Despite Strains on Coalition US Foresees No
2022-10-27   2022-10-27 ics/biden-ukraine-europe.html                 Imminent Peace Talks                       By Peter Baker and Steven Erlanger TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/26/us/polit Kagan Blocks a Subpoena From the Jan 6
2022-10-27   2022-10-27 ics/kagan-jan-6-subpoena-supreme-court.html Committee                                   By Adam Liptak                    TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/27/busines                                              By Joe Rennison and Jeanna
2022-10-27   2022-10-27 s/strong-dollar-global-economy.html         Bankers Try To Counter Rising Dollar        Smialek                           TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/27/insider/
2022-10-27   2022-10-27 jennifer-schuessler-intellectual-life-beat.html History at the Heart of a Beat          By Jennifer Schuessler            TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/27/style/b- A BlackOwned Brand Has a Message of
2022-10-27   2022-10-27 condoms-black-owned.html                        Pleasure                                By Brian Josephs                  TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/27/style/j-
                        crew-brendon-babenzien-supreme-
2022-10-27   2022-10-27 hypebeast.html                                  J Crew Turns to the Magic of Hype       By Guy Trebay                     TX 9-233-140     2022-12-01



                                                                                Page 4421 of 5793
                        https://www.nytimes.com/2022/10/27/style/sa
2022-10-27   2022-10-27 rah-staudinger-staud.html                    On Top of a FairyTale Life Now Love        By Jessica Testa                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/us/polit
                        ics/lindell-mypillow-trump-election-         How a Pillow Pitchman Became A             By Alexandra Berzon Charles
2022-10-27   2022-10-27 deniers.html                                 Ringleader of Election Deniers             Homans and Ken Bensinger           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/world/e                                              By Andrew E Kramer and Finbarr
2022-10-27   2022-10-27 urope/ukraine-mykolaiv-russia.html           Putin Turning A Citys Misery Into a Weapon OReilly                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/technol
2022-10-23   2022-10-28 ogy/voter-targeting-trump-score.html         Why Youll See That Political Ad            By Natasha Singer                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/10/                                            By Agnes Chang Pablo Robles
2022-10-23   2022-10-28 23/world/asia/xi-propaganda.html             How Xi Jinping Remade China in His Image Vivian Wang and Isabelle Qian        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/theater/ Life of Pi Plans for a Broadway Run
2022-10-24   2022-10-28 life-of-pi-broadway.html                     Beginning in March                         By Rachel Sherman                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/25/arts/des InLine Skating Helped a Painter Discover
2022-10-25   2022-10-28 ign/maxwell-alexandre-art-shed-brazil.html Himself                                     By Arthur Lubow                 TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/25/arts/des
2022-10-25   2022-10-28 ign/maya-lin-bard.html                      More Rehearsal Space                       By Brett Sokol                  TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/26/books/p                                             By Elizabeth A Harris and
2022-10-26   2022-10-28 rince-harry-memoir.html                     A Royal Memoir Comes at a Raw Moment       Alexandra Alter                 TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/26/movies/ An 11YearOld Scavenger Is the Heart of This
2022-10-26   2022-10-28 amir-naderi-the-runner-film-forum.html      Story                                      By J Hoberman                   TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/26/theater/ New York New York Is Set to Open in the
2022-10-26   2022-10-28 new-york-new-york-broadway.html             Spring                                     By Michael Paulson              TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/26/us/nurs
2022-10-26   2022-10-28 e-murder-insulin-north-carolina.html        Nurse Is Charged in Murder of Two Patients By Christine Hauser             TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/26/nyregio
                        n/new-york-fire-department-laura-           First Woman Named Head Of Fire Dept In     By Chelsia Rose Marcius Emma G
2022-10-27   2022-10-28 kavanagh.html                               New York                                   Fitzsimmons and Dana Rubinstein TX 9-233-140       2022-12-01

                        https://www.nytimes.com/2022/10/26/sports/k Elite Team at Kanye Wests Academy Is
2022-10-27   2022-10-28 anye-west-donda-academy-basketball.html      Facing an Uncertain Future                   By Billy Witz and Adam Zagoria   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/arts/des
2022-10-27   2022-10-28 ign/rubell-museum-washington.html            Shaking Up the Old Schoolhouse               By Robin Pogrebin                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/arts/des
2022-10-27   2022-10-28 ign/siren-artists-amant.html                 Singing From Jagged Rocks                    By Travis Diehl                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/arts/mu
                        sic/clara-schumann-florence-price-
2022-10-27   2022-10-28 philadelphia-orchestra.html                  Finding Their Way Finally to Carnegie Hall   By Sarah Fritz and A Kori Hill   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/arts/mu
                        sic/review-los-angeles-philharmonic-gustavo-
2022-10-27   2022-10-28 dudamel.html                                 Gustavo Dudamel Strides Into Town            By Oussama Zahr                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/arts/mu Robert Gordon 75 Punk Rock Singer Who
2022-10-27   2022-10-28 sic/robert-gordon-dead.html                  KickStarted Rockabilly Revival               By Alex Williams                 TX 9-233-140   2022-12-01




                                                                                 Page 4422 of 5793
                        https://www.nytimes.com/2022/10/27/arts/tele
2022-10-27   2022-10-28 vision/the-hair-tales-hulu-own.html          Where Tresses and SelfAcceptance Meet       By Kalia Richardson          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/arts/tele
                        vision/white-lotus-milk-streets-cooking-
2022-10-27   2022-10-28 school.html                                  This weekend I have                         By Margaret Lyons            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/books/j John Jay Osborn Jr Who Wrote The Paper
2022-10-27   2022-10-28 ohn-jay-osborn-jr-dead.html                  Chase Is Dead at 77                         By Richard Sandomir          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/books/n
2022-10-27   2022-10-28 ew-books-november.html                       Leaves To Turn Not to Rake                  By Joumana Khatib            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/busines Credit Suisse To Cut Costs In Its Quest For
2022-10-27   2022-10-28 s/credit-suisse-restructuring.html           Revival                                     By Michael J de la Merced    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/busines Growth Returns To US Economy But Fears
2022-10-27   2022-10-28 s/economy/us-economy-gdp.html                Linger                                      By Ben Casselman             TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/27/busines European Central Bank Raises Rates Again to
2022-10-27   2022-10-28 s/european-central-bank-rates-inflation.html Fight Record Inflation                    By Eshe Nelson                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/busines
2022-10-27   2022-10-28 s/media/new-york-post-hacked.html            New York Post Fires Rogue Employee        By Katie Robertson             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/busines
2022-10-27   2022-10-28 s/us-mortgage-rates.html                     Home Rates Soar to 7 20Year High          By Tara Siegel Bernard         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/climate Gas Shortage Propels Europe Toward Africa By Max Bearak Melissa Eddy and
2022-10-27   2022-10-28 /europe-africa-natural-gas.html              Shifting Power Balance                    Dionne Searcey                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/climate Russias Invasion Is Likely to Quicken the
2022-10-27   2022-10-28 /global-clean-energy-iea.html                Global Shift to Clean Energy Report Says  By Brad Plumer                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/fashion
                        /craftsmanship-barnard-and-westwood-
2022-10-27   2022-10-28 printers-london.html                         A printer fit for royalty                 By Rachel Felder               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/fashion
                        /craftsmanship-eb-meyrowitz-eyeglasses-
2022-10-27   2022-10-28 london.html                                  Bespoke design for the eyes               By Rachel Garrahan             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/fashion
                        /craftsmanship-interior-decor-exhibition-
2022-10-27   2022-10-28 paris.html                                   French furniture flair                    By Tina IsaacGoiz              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/fashion
                        /craftsmanship-kaikado-tea-caddies-kyoto-
2022-10-27   2022-10-28 japan.html                                   A tea caddy for generations               By Vivian Morelli              TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/27/fashion
2022-10-27   2022-10-28 /craftsmanship-little-greene-paint-britain.html A new environmental blend                By Jessica Bumpus            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/fashion
                        /craftsmanship-omega-gloves-naples-
2022-10-27   2022-10-28 italy.html                                      Made by hand for hands                   By Roberto Salomone          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/fashion
                        /craftsmanship-tiedye-adire-lagos-shibori-
2022-10-27   2022-10-28 japan.html                                      Tiedye from stylish to traditional       By Melanie Abrams            TX 9-233-140   2022-12-01



                                                                                     Page 4423 of 5793
                        https://www.nytimes.com/2022/10/27/fashion
2022-10-27   2022-10-28 /craftsmanship-zarif-designs-afghanistan.html Afghan womens creations on display in Paris By Nazanin Lankarani              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/fashion
2022-10-27   2022-10-28 /korean-wedding-robe-restoration.html         One icon helps restore another              By Melanie Abrams                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/health/a Caught Between Training and an Abortion
2022-10-27   2022-10-28 bortion-training-residency-programs.html      Ban                                         By Jan Hoffman                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/movies/
2022-10-27   2022-10-28 a-chance-encounter-review.html                A Chance Encounter                          By Glenn Kenny                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/movies/ The Spectacle of War and Its Relentless
2022-10-27   2022-10-28 all-quiet-on-the-western-front-review.html    Brutality                                   By Ben Kenigsberg                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/movies/
2022-10-27   2022-10-28 armageddon-time-review.html                   Where Do They Belong In a Confusing World By AO Scott                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/movies/
2022-10-27   2022-10-28 call-jane-review-abortion.html                Suddenly a Period Piece Is of the Moment    By Manohla Dargis                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/movies/
2022-10-27   2022-10-28 holy-spider-review.html                       Holy Spider                                 By Devika Girish                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/movies/
2022-10-27   2022-10-28 louis-armstrongs-black-blues-review.html      Some Personal Notes From a Jazz Master      By Lisa Kennedy                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/movies/
                        please-baby-please-review-hyper-masculinity-
2022-10-27   2022-10-28 on-its-head.html                              Please Baby Please                          By Teo Bugbee                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/movies/
2022-10-27   2022-10-28 run-sweetheart-run-review.html                Run Sweetheart Run                          By Natalia Winkelman              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/movies/ Sheriff Turns Over Findings From Shooting By Julia Jacobs and Graham
2022-10-27   2022-10-28 rust-alec-baldwin-shooting-report.html        on Rust Set                                 Bowley                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/movies/
2022-10-27   2022-10-28 the-good-nurse-review.html                    Which Is Worse A Killer or Hospitals        By Amy Nicholson                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/movies/
2022-10-27   2022-10-28 the-lair-review.html                          The Lair                                    By Jeannette Catsoulis            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/movies/
2022-10-27   2022-10-28 the-novelists-film-review.html                The Novelists Film                          By Austin Considine               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/movies/ Very Ambitious Demons And a Rock n Roll
2022-10-27   2022-10-28 wendell-and-wild-review.html                  Attitude                                    By Maya Phillips                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/nyregio Democrats Make Frantic Call to Action in       By Luis FerrSadurn and Nicholas
2022-10-27   2022-10-28 n/hochul-governor-zeldin-democratic.html      Governors Race                              Fandos                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/nyregio District Attorney a Target In the Race for
2022-10-27   2022-10-28 n/lee-zeldin-alvin-bragg.html                 Governor                                    By Jonah E Bromwich               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/nyregio Hospitalizations on Rise As Combination of
2022-10-27   2022-10-28 n/nyc-hospitalizations-covid-flu-rsv.html     Viruses Converge on New York City           By Sharon Otterman                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/nyregio
                        n/trump-thomas-barrack-cross-                 ExTrump Adviser Claims He Was Voice of
2022-10-27   2022-10-28 examination.html                              Reason Prosecutors Say Otherwise            By Rebecca Davis OBrien           TX 9-233-140   2022-12-01




                                                                                 Page 4424 of 5793
                        https://www.nytimes.com/2022/10/27/nyregio ExUN Employee Is Sentenced to 15Year        By Benjamin Weiser and Ta
2022-10-27   2022-10-28 n/un-employee-women-abuse-sentencing.html Term Over Sexual Assaults                    Kvetenadze                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/nyregio Investigation Of Super PAC Is Postponed By By Nicholas Fandos and Dana
2022-10-27   2022-10-28 n/zeldin-super-pac.html                    Absences                                    Rubinstein                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/opinion
                        /columnists/republicans-biden-inflation-
2022-10-27   2022-10-28 policy.html                                Republicans Have No Inflation Plan          By Paul Krugman                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/opinion
2022-10-27   2022-10-28 /global-sadness-rising.html                The Rising Tide of Global Sadness           By David Brooks                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/opinion
                        /kari-lake-glenn-youngkin-post-trump-      Kari Lake Glenn Youngkin And a PostTrump
2022-10-27   2022-10-28 republicans.html                           Era                                         By Katherine Miller               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/opinion
2022-10-27   2022-10-28 /russia-putin-war.html                     Russians Support of Putin Isnt That Strange By Gulnaz Sharafutdinova          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/science Republicans Report on Virus Suggests It Was By Benjamin Mueller and Carl
2022-10-27   2022-10-28 /covid-lab-leak-burr-report.html           Lab Leak but Without Much Proof             Zimmer                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/science Scientists Track Down Shock Waves on Mars
2022-10-27   2022-10-28 /mars-meteorites-impacts-seismic.html      And Find Meteor Strike                      By Kenneth Chang                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/27/sports/b An Astros Rookie Keeps His Cool Most of the
2022-10-27   2022-10-28 aseball/jeremy-pena-astros-world-series.html Time                                       By James Wagner                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/sports/b Theyve Arrived They Just Took Different
2022-10-27   2022-10-28 aseball/rhys-hoskins-phillies.html           Paths                                      By Scott Miller                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/27/sports/b Tough Start in Texas Gave NBA AllStar The
2022-10-27   2022-10-28 asketball/nba-jimmy-butler-miami-heat.html Tools He Needed                              By Scott Cacciola                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/technol
2022-10-27   2022-10-28 ogy/amazon-amzn-q3-earnings.html            For Amazon A Rebound Cautiously             By Karen Weise                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/technol
2022-10-27   2022-10-28 ogy/apple-aapl-iphone-q4-earnings.html      Apples iPhone Sales Power Growth            By Tripp Mickle                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/technol Suddenly Chip Makers Face a World of
2022-10-27   2022-10-28 ogy/chip-makers-challenges.html             Challenges                                  By Don Clark                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/technol
2022-10-27   2022-10-28 ogy/elon-musk-twitter.html                  Musk Offers Olive Branch To Advertisers     By Lauren Hirsch                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/us/polit Biden Stresses Economic Optimism While
2022-10-27   2022-10-28 ics/biden-inflation-syracuse.html           Warning Voters of Republican Rollbacks      By Jim Tankersley                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/us/polit Pentagon Strategy Says China and Russia     By Eric Schmitt David E Sanger
2022-10-27   2022-10-28 ics/biden-military-russia-china.html        Pose Different Challenges                   and William J Broad              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/us/polit
                        ics/cheri-beasley-val-demings-midterm-      Black Democrats Say Female Candidates
2022-10-27   2022-10-28 election.html                               Lack Enough Support                         By Jonathan Weisman              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/us/polit As in 2020 Early Election Night Results May
2022-10-27   2022-10-28 ics/election-night-absentee-ballots.html    Be Misleading Again                         By Nick Corasaniti               TX 9-233-140   2022-12-01




                                                                                Page 4425 of 5793
                        https://www.nytimes.com/2022/10/27/us/polit Man Gets 7 Years for Dragging Police Officer
2022-10-27   2022-10-28 ics/jan-6-sentencing.html                   Into Mob That Beat Him at Capitol              By Alan Feuer                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/us/polit For Vance Trumps Backing Comes With a
2022-10-27   2022-10-28 ics/jd-vance-trump-ohio.html                Sting                                          By Dan Barry                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/us/polit Lucianne Goldberg 87 Whose Advice Helped
2022-10-27   2022-10-28 ics/lucianne-goldberg-dead.html             Expose Clintons Affair Dies                    By Anita Gates                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/us/polit Election Monitors Warning About Republican
2022-10-27   2022-10-28 ics/midterms-osce-election-voting.html      Deniers                                        By Chris Cameron                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/us/polit
                        ics/polls-swing-district-house-republicans- Polls in Swing Districts Offer Deeper Insights By Shane Goldmacher and Nate
2022-10-27   2022-10-28 democrats.html                              On Direction of House                          Cohn                               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/us/polit Somalia Asks US to Step Up Strikes on          By Charlie Savage Eric Schmitt and
2022-10-27   2022-10-28 ics/somalia-shabab-us-strikes.html          Group                                          Abdi Latif Dahir                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/us/polit
2022-10-27   2022-10-28 ics/steven-mnuchin-persian-gulf-deals.html Mnuchins Persian Gulf Deals Raise Concern By David D Kirkpatrick                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/us/polit US Outlines Its Program To Keep Sensitive
2022-10-27   2022-10-28 ics/weapons-aid-ukraine-russia.html         Weapons On Battlefield in Ukraine              By Lara Jakes and John Ismay       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/us/trum Court Backs House Effort on Trump Tax
2022-10-27   2022-10-28 p-tax-returns-appeals-court.html            Returns                                        By Charlie Savage                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/us/uval Citing Pain Uvalde Families Call on Police
2022-10-27   2022-10-28 de-texas-state-police-hearing.html          Leader to Resign                               By J David Goodman                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/world/a
                        sia/chinas-latest-covid-lockdown-affects-a- Some Employees Are Quarantined At a Major By Chang Che and Amy Chang
2022-10-27   2022-10-28 major-iphone-factory.html                   iPhone Factory in China                        Chien                              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/world/e British Equality Agency Tells Schools They
2022-10-27   2022-10-28 urope/uk-schools-afro-hair.html             Cant Ban Afro Hairstyles                       By Emma Bubola                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/world/e Russia Seizes Symbolic Prize A Princes
2022-10-27   2022-10-28 urope/ukraine-russia-potemkin-bones.html    Bones                                          By Marc Santora                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/world/e Putin Contends Western Elites Are the
2022-10-27   2022-10-28 urope/ukraine-russia-war-putin.html         Enemy                                          By Anton Troianovski               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/world/ In Iran Memorials for Protest Casualties         By Farnaz Fassihi and Cora
2022-10-27   2022-10-28 middleeast/iran-protests-mahsa-amini.html   Energize Opponents of Regime                   Engelbrecht                        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/world/ Iraqi Parliament Approves a New Government
2022-10-27   2022-10-28 middleeast/iraq-new-government.html         but Not a New System                           By Jane Arraf                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/world/ Israel and Lebanon Sign Deal on Maritime
2022-10-27   2022-10-28 middleeast/israel-lebanon-gas-deal.html     Border                                         By Isabel Kershner                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/world/
                        middleeast/with-economy-reeling-from-
                        ukraine-war-egypt-secures-3-billion-imf-    With Its Economy Reeling From the War in
2022-10-27   2022-10-28 loan.html                                   Ukraine Egypt Gets an IMF Loan                 By Vivian Yee                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/technol Musk Sews Up Deal for Twitter And Wields
2022-10-28   2022-10-28 ogy/elon-musk-twitter-deal-complete.html    Ax                                             By Kate Conger and Lauren Hirsch TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/27/theater/
2022-10-28   2022-10-28 walking-with-ghosts-review.html             Gabriel Byrne Roams His Past                   By Alexis Soloski                  TX 9-233-140   2022-12-01




                                                                                 Page 4426 of 5793
                        https://www.nytimes.com/2022/10/28/insider/
2022-10-28   2022-10-28 hard-fork-podcast-tech-industry.html         Turning With the Shifts in Tech            By Emmett Lindner          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/movies/
2022-10-28   2022-10-28 peaceful-review.html                         Peaceful                                   By Beatrice Loayza         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/sports/b A Restoration by the Pistons Has Everything
2022-10-28   2022-10-28 asketball/nba-detroit-pistons.html           Except Victories                           By Sopan Deb               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/us/polit In GOP Ad Wars Trump Takes an
2022-10-28   2022-10-28 ics/trump-republican-ads-midterms.html       Uncharacteristic Supporting Role           By Michael C Bender        TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/18/travel/g
2022-10-18   2022-10-29 aspe-peninsula-tour.html                     On the Canadian Coast Remote Yet Inviting By Richard Rubin            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/19/travel/l
2022-10-19   2022-10-29 uxury-bus.html                               Wheels Go Round and Round Seats Fold Flat By Maria Cramer             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/10/
2022-10-20   2022-10-29 20/travel/things-to-do-milan.html            36 Hours in Milan                          By Ingrid K Williams       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/dining/
2022-10-23   2022-10-29 what-to-cook-this-week.html                  What to Cook Next Week                     By Sam Sifton              TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/25/arts/mu
2022-10-25   2022-10-29 sic/natalia-lafourcade-de-todas-las-flores.html Natalia Lafourcade Reintroduces Herself By Ed Morales              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/arts/mu Jody Miller 80 Singer of Queen of the House
2022-10-26   2022-10-29 sic/jody-miller-dead.html                       and More                                By Ed Shanahan             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/arts/des Sumptuous Propaganda Via the Spanish
2022-10-27   2022-10-29 ign/spanish-colonial-artisans-lacma.html        Empire                                  By Walker Mimms            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/arts/tele
2022-10-27   2022-10-29 vision/stand-up-comics-parenting.html           StandUps Caught In the Parent Trap      By Jason Zinoman           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/opinion Risking Their Health So Research Might Save
2022-10-27   2022-10-29 /me-cfs-long-covid.html                         Them                                    By Zeynep Tufekci          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/opinion If Not the Parkland Shooter Who Is the Death
2022-10-27   2022-10-29 /parkland-death-penalty-justice.html            Penalty For                             By Robert Blecker          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/theater/ Theres a Play Within a Play And Theres All
2022-10-27   2022-10-29 chekhovs-first-play-review.html                 the Players                             By Laura CollinsHughes     TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/27/theater/ Offering Up a Bunch of Big Ideas In Two
2022-10-27   2022-10-29 one-act-plays-ensemble-studio-theater.html Programs of Short Plays                      By Elisabeth Vincentelli   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/world/a A Leading Chinese Nationalist Has Second
2022-10-27   2022-10-29 sia/china-nationalism-wang-xiaodong.html     Thoughts                                   By Vivian Wang             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/arts/smi The Smithsonian Picks the Sites for Two New
2022-10-28   2022-10-29 thsonian-museums-latinos-women.html          Museums                                    By Zachary Small           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/opinion
                        /elon-musk-twitter-purchase-robber-          The Robber Barons Had Nothing on Elon
2022-10-28   2022-10-29 baron.html                                   Musk                                       By David Nasaw             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/arts/dan
                        ce/american-ballet-theater-gala-christopher-
2022-10-28   2022-10-29 rudd.html                                    Smoke Mirrors and Passing the Torch        By Gia Kourlas             TX 9-233-140   2022-12-01




                                                                                 Page 4427 of 5793
                        https://www.nytimes.com/2022/10/28/arts/des
2022-10-28   2022-10-29 ign/steve-keene-art-book.html                An Assembly Line of Affordable Art        By Melena Ryzik                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/arts/mu
2022-10-28   2022-10-29 sic/jean-rondeau-goldberg-review.html        Dimming the Lights For Some Sensual Bach By Zachary Woolfe                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/arts/mu Jerry Lee Lewis 87 Rock n Roll Original And
2022-10-28   2022-10-29 sic/jerry-lee-lewis-dead.html                Stylist Is Dead                           By William Grimes                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/arts/mu Seymour Press 98 Manager Of Orchestras for
2022-10-28   2022-10-29 sic/seymour-press-dead.html                  Broadway                                  By Neil Genzlinger               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/arts/tele Jules Bass 87 Who CoProduced Holiday
2022-10-28   2022-10-29 vision/jules-bass-dead.html                  Favorites for TV Is Dead                  By Richard Sandomir              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/busines
                        s/energy-environment/exxon-chevron-profit-
2022-10-28   2022-10-29 biden.html                                   Oil Giants Rack Up Profits and Face Fire  By Clifford Krauss               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/busines Prices and Wages Keep Escalating            By Ben Casselman and Jeanna
2022-10-28   2022-10-29 s/fedeal-reserve-inflation-wages.html        Challenging Fed                           Smialek                          TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/busines Growth Is Slowing Down For Big EU
2022-10-28   2022-10-29 s/germany-france-spain-q3-gdp.html           Economies                                 By Melissa Eddy                  TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/28/busines GDP and Inflation What We Now Know
2022-10-28   2022-10-29 s/inflation-gdp-economic-data-explained.html About the Economy                          By Marie Solis                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/busines Japan Plans To Provide Fiscal Relief To
2022-10-28   2022-10-29 s/japan-inflation-electricity.html           Households                                 By Ben Dooley                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/busines CNN Says It Will Stop Buying
2022-10-28   2022-10-29 s/media/cnn-television-movies.html           Documentaries and TV Series                By Benjamin Mullin              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/busines
2022-10-28   2022-10-29 s/railroad-workers-strike-threat.html        Risk of Rail Strike Looms Over Sick Pay    By Peter S Goodman               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/busines Day of Upheaval as Musk Takes the Reins at   By Kate Conger Lauren Hirsch and
2022-10-28   2022-10-29 s/twitter-elon-musk.html                     Twitter                                    Ryan Mac                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/nyregio
2022-10-28   2022-10-29 n/calvin-o-butts-iii-dead.html               Melded Faith Power and Politics            By Sam Roberts                  TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/28/nyregio Inquiry of Menendez Is Said To Include       By Tracey Tully Benjamin Weiser
2022-10-28   2022-10-29 n/menendez-inquiry-halal-meat-company.html Certifier of Halal                           and William K Rashbaum          TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/28/nyregio Stefanik Who Once Ran as Moderate Is
2022-10-28   2022-10-29 n/ny-elise-stefanik-castelli-republicans.html Trying to Push New York to Trump          By Jesse McKinley               TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/28/nyregio How New York City Law Requiring Pay
2022-10-28   2022-10-29 n/nyc-salary-transparency-job-postings.html Disclosure May Change Job Hunt             By Matthew Haag                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/nyregio
2022-10-28   2022-10-29 n/timothy-shea-trump-wall-trial.html        Man Convicted in Wall FundRaising Fraud By Colin Moynihan                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/opinion
2022-10-28   2022-10-29 /hurricane-sandy-new-york-flooding.html     New York Isnt Ready for the Next Big Storm By Marco Pasanella               TX 9-233-140    2022-12-01




                                                                               Page 4428 of 5793
                        https://www.nytimes.com/2022/10/28/sports/b Not a Wrestler or a Shortstop but the Best
2022-10-28   2022-10-29 aseball/jt-realmuto-phillies-world-series.html Catcher                                    By Tyler Kepner                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/sports/f
                        ootball/tom-brady-gisele-bundchen-             Brady and Bndchen End Their Marriage After
2022-10-28   2022-10-29 divorce.html                                   13 Years We Have Grown Apart She Says      By Jesus Jimnez and Kevin Draper TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/sports/j Is the Circus in Town No Its the Undercard
2022-10-28   2022-10-29 ake-paul-anderson-silva.html                   Of a YouTubers Fight                       By Kris Rhim                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/sports/s Spanish Prosecutors Drop Charges Against
2022-10-28   2022-10-29 occer/neymar-trial-barcelona.html              Neymar                                     By Tariq Panja                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/sports/t
2022-10-28   2022-10-29 ennis/forehand-shot-players.html               The good and the bad of a forehand         By Stuart Miller                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/sports/t
2022-10-28   2022-10-29 ennis/novak-djokovic-mens-ranking.html         A numbers game for the mens top spot       By Cindy Shmerler                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/sports/t
2022-10-28   2022-10-29 ennis/stefanos-tsitsipas-major.html            Getting closer to the top                  By Cindy Shmerler                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/technol
2022-10-28   2022-10-29 ogy/musk-twitter-supporters.html               Its All and All Musks Changing             By Erin Griffith                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/technol
2022-10-28   2022-10-29 ogy/twitter-changes.html                       Its All Musks And All Changing             By Kate Conger                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/28/technol New Moguls Disrupt as OneMan Shows No
2022-10-28   2022-10-29 ogy/twitter-deal-musk-tech-companies.html Company Needed                                   By David Streitfeld           TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/28/us/oreg A Strategy to Protect Forests Reopens Old
2022-10-28   2022-10-29 on-prescribed-burn-boss-arrested.html            Wounds in Oregon                          By Mike Baker                 TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/28/us/polit
                        ics/federal-judge-allows-activists-to-stake-out- Judge Allows Election Activists to Gather
2022-10-28   2022-10-29 ballot-boxes.html                                And Watch Ballot Drop Boxes in Arizona    By Ken Bensinger              TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/28/us/polit
                        ics/house-republicans-impeachment-               House Control in Reach Republicans Temper
2022-10-28   2022-10-29 biden.html                                       Talk of Impeaching Biden                  By Annie Karni                TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/28/us/polit As IRS Begins an 80 Billion Overhaul the
2022-10-28   2022-10-29 ics/irs-interim-leader-douglas-odonnell.html Treasury Names a New Interim Chief        By Alan Rappeport               TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/28/us/polit Pelosis Husband Is Badly Injured In Hammer By Kellen Browning Tim Arango
2022-10-28   2022-10-29 ics/nancy-paul-pelosi-attack.html            Attack by an Intruder                     Luke Broadwater and Holly Secon TX 9-233-140       2022-12-01

                        https://www.nytimes.com/2022/10/28/us/polit Obama Visits Swing States to Help          By Maya King and Jonathan
2022-10-28   2022-10-29 ics/obama-georgia-rally-midterms.html       Democrats Regain Momentum in Key Races Weisman                               TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/28/us/polit
                        ics/oz-fetterman-philadelphia-black-        Oz Struggles to Appeal To Black
2022-10-28   2022-10-29 voters.html                                 Philadelphians                             By Trip Gabriel                   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/28/us/polit A Senator and Frequent Caller Who Measures
2022-10-28   2022-10-29 ics/ron-johnson-wisconsin-radio.html        His Reach in Watts                         By Reid J Epstein                 TX 9-233-140     2022-12-01




                                                                                  Page 4429 of 5793
                        https://www.nytimes.com/2022/10/28/us/polit Many UFO Sightings Are Just Drones or
2022-10-28   2022-10-29 ics/ufo-military-reports.html               Trash                                        By Julian E Barnes                  TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/28/world/a Win or Lose Bolsonaro Has Eroded His
2022-10-28   2022-10-29 mericas/bolsonaro-supporters-election.html Supporters Trust in Brazils Elections         By Jack Nicas                   TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/28/world/e With Meloni Win Italys Fascists Feel          By Elisabetta Povoledo and Emma
2022-10-28   2022-10-29 urope/italy-hard-right-giorgia-meloni.html Welcome After an Era of Exile                 Bubola                          TX 9-233-140       2022-12-01
                        https://www.nytimes.com/2022/10/28/world/e
                        urope/ksenia-sobchak-kremlin-critic-       Vocal Critic Of Kremlin Exits Russia For
2022-10-28   2022-10-29 russia.html                                Lithuania                                     By Anatoly Kurmanaev                TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/28/world/e Voters in Northern Ireland Expected Date for
2022-10-28   2022-10-29 urope/northern-ireland-sinn-fein-election.html Election But Got Confusion Instead          By Mark Landler                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/world/e Sunaks Business Ties Complicate His New
2022-10-28   2022-10-29 urope/rishi-sunak-family-wealth.html           Role                                        By Jane Bradley                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/world/e
                        urope/ukraine-accuses-russia-of-violating-     Russia Is Accused of Violating Rights for
                        international-law-by-placing-ukrainian-        Sending Ukrainian Children to Russian
2022-10-28   2022-10-29 children-in-russian-families.html              Families                                    By Emma Bubola                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/world/e Scarred by War Ukraines Children Face           By Megan Specia and Brendan
2022-10-28   2022-10-29 urope/ukraine-children-war.html                Challenging Path Forward                    Hoffman                           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/world/e
                        urope/ukraine-russia-kherson-bakhmut-          Battles in South and East Are Slowed by the
2022-10-28   2022-10-29 sobchak.html                                   Muddy Season                                By Marc Santora                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/world/ American Executives Voice Quiet Support
2022-10-28   2022-10-29 middleeast/saudi-us-investment-forum.html For Saudi Cuts to Oil                            By Kate Kelly and Vivian Nereim   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/interactive/2022/10/                                             By Agnes Chang Vivian Wang
2022-10-28   2022-10-29 27/world/asia/hu-jintao-congress-videos.html What Happened to Hu Jintao                  Isabelle Qian and Ang Li            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/29/sports/b
                        aseball/world-series-phillies-game-1-        Realmutos Homer Gives Phillies Shocking
2022-10-29   2022-10-29 astros.html                                  Win in Extra Innings                        By James Wagner                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/07/books/r
2022-09-07   2022-10-30 eview/undercurrents-kirsty-bell.html         Berlin Story                                By Casey Schwartz                   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/09/09/books/r
2022-09-09   2022-10-30 eview/third-reconstruction-peniel-joseph.html The Reckoning                              By Clay Risen                       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/13/books/r
2022-09-13   2022-10-30 eview/blood-and-ink-joe-pompeo.html           My Favorite Murder                         By Mattie Kahn                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/13/books/r
2022-09-13   2022-10-30 eview/flush-bryn-nelson.html                  Poop Science                               By Elizabeth Royte                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/13/books/r
                        eview/the-long-alliance-biden-obama-gabriel-
2022-09-13   2022-10-30 debenedetti.html                              Political Marriage Counseling              By Jason Zengerle                   TX 9-233-140   2022-12-01




                                                                                  Page 4430 of 5793
                        https://www.nytimes.com/2022/09/26/books/r
                        eview/concerning-my-daughter-kim-hye-
2022-09-26   2022-10-30 jin.html                                   Daughter Dearest                            By Imogen WestKnights          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/09/29/books/r
                        eview/when-mckinsey-comes-to-town-walt-
2022-09-29   2022-10-30 bogdanich-michael-forsythe.html            The Invisible Hand                          By Sheelah Kolhatkar           TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/04/books/r
2022-10-04   2022-10-30 eview/over-my-dead-body-greg-melville.html Where the Bodies Are Buried                 By Tatiana Schlossberg         TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/07/books/r
2022-10-07   2022-10-30 eview/leonard-cohen-a-ballet-of-lepers.html Sex Violence and Ecstasy                       By Nathan Goldman          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/09/books/r
2022-10-09   2022-10-30 eview/lydia-millet-dinosaurs.html            Atonement                                     By Sigrid Nunez            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/11/books/r
2022-10-11   2022-10-30 eview/andy-davidson-the-hollow-kind.html In the Pines                                      By Ousmane K PowerGreene   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/16/books/r
                        eview/barbara-kingsolver-demon-
2022-10-16   2022-10-30 copperhead.html                              Like the Dickens                              By Molly Young             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/16/books/r
                        eview/poster-girl-veronica-roth-group-
2022-10-16   2022-10-30 text.html                                    Group Text Poster Girl by Veronica Roth       By Elisabeth Egan          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/20/books/r Kelly Ripa Wrote for So Long She Wore Out
2022-10-20   2022-10-30 eview/live-wire-kelly-ripa.html              Her Chair                                     By Elisabeth Egan          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/21/books/r
                        eview/the-ruin-of-all-witches-malcolm-
2022-10-21   2022-10-30 gaskill.html                                 Before Salem                                  By Caroline Fraser         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/23/arts/tele
                        vision/matthew-perry-friends-lovers-and-the-
2022-10-23   2022-10-30 big-terrible-thing.html                      On Friends a Stars Hidden Agony               By Elisabeth Egan          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/opinion We Need to Move Fast to Prevent the Next
2022-10-24   2022-10-30 /covid-ebola-pandemic-prevention.html        Pandemic                                      By Craig Spencer           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/realesta Fleeing the Noise Police for a Better Place in
2022-10-24   2022-10-30 te/family-renters-queens-relocation.html     Queens                                        By DW Gibson               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/24/style/m
2022-10-24   2022-10-30 adhur-jaffrey.html                           Madhur Jaffreys Series of Undefinable Roles By Thessaly La Force         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/10/ Bono Is Still Trying to Figure Out U2 and
2022-10-24   2022-10-30 24/magazine/bono-interview.html              Himself                                       By David Marchese          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/magazi
2022-10-25   2022-10-30 ne/jet-lag.html                              Jet Lag                                       By Nina Li Coomes          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/magazi My Friends Brother Most Likely Died From
2022-10-25   2022-10-30 ne/suicide-privacy-ethics.html               Autoerotic Asphyxiation Do I Tell Her         By Kwame Anthony Appiah    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/magazi
2022-10-25   2022-10-30 ne/try-guys-internet-fame.html               Fall Guy                                      By Willy Staley            TX 9-233-140   2022-12-01




                                                                                Page 4431 of 5793
                        https://www.nytimes.com/2022/10/25/movies/ James Wan May Be More Peaceful Than You
2022-10-25   2022-10-30 james-wan-peter-jackson.html                 Think                                    By Chris Kornelis             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/movies/
2022-10-25   2022-10-30 paul-mescal-aftersun.html                    He Gave Up Gaelic Football to Act        By Douglas Greenwood          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/opinion
2022-10-25   2022-10-30 /nyc-subway.html                             An Ode to the New York Subway            By Paul Krugman               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/realesta
2022-10-25   2022-10-30 te/rupert-holmes-upstate-ny-home.html        On Creating a VictorianFlavored Escape   By Joanne Kaufman             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/style/ho
2022-10-25   2022-10-30 w-online-ceramics-keeps-its-cool.html        How Online Ceramics Keeps Its Cool       By Max Berlinger              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/t-        Ina Garten Makes Risotto With a Longtime
2022-10-25   2022-10-30 magazine/ina-garten-risotto-recipe.html      Fan                                      By Mimi Vu                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/theater/
2022-10-25   2022-10-30 bess-wohl-camp-siegfried.html                When Nazi Ideology Came to Long Island   By Alexis Soloski             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/arts/des
2022-10-26   2022-10-30 ign/henry-taylor-moca-los-angeles.html       This Artist Doesnt Like to Slow Down     By Robin Pogrebin             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/arts/tele
2022-10-26   2022-10-30 vision/shermans-showcase.html                A Soul Train That Never Was              By LeighAnn Jackson           TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/26/magazi All Set Up A zesty cranberry JellO salad has a
2022-10-26   2022-10-30 ne/jello-recipe.html                        delightfully contemporary flavor profile     By Eric Kim                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/opinion What My Fathers Death Taught Me About
2022-10-26   2022-10-30 /grief-death-lessons-on-living.html         Living                                       By Lydia Polgreen          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/realesta
2022-10-26   2022-10-30 te/fall-garden-cleanup.html                 Let the Land Whisper to You as Fall Deepens By Margaret Roach           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/realesta
2022-10-26   2022-10-30 te/haunted-house-paranormal-ghosts.html     When Your Housemate Is a Ghost               By Anna Kod                TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/26/realesta 700000 Homes in Ohio New York and
2022-10-26   2022-10-30 te/home-prices-ohio-new-york-minnesota.html Minnesota                                 By Angela Serratore           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/realesta
2022-10-26   2022-10-30 te/house-hunting-rajasthan-india.html       An Abandoned Fort Is Revived in Rajasthan By Lana Bortolot              TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/26/style/es
2022-10-26   2022-10-30 tranged-relative-money-family-issues.html    Leave Rift in the Past                     By Philip Galanes           TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/style/ka
2022-10-26   2022-10-30 nye-west-fans.html                           Now for Sale Lots of Yeezys Never Worn     By Madison Malone Kircher   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/theater/
2022-10-26   2022-10-30 kimberly-akimbo-broadway.html                A Puzzle Falls Into Place Onstage          By Diep Tran                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/10/
                        26/magazine/climate-change-warming-          Beyond Catastrophe A New Climate Reality
2022-10-26   2022-10-30 world.html                                   Is Coming Into View                        By David WallaceWells       TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/10/
                        26/magazine/visualization-climate-change-    The New World Envisioning Life After
2022-10-26   2022-10-30 future.html                                  Climate Change                             By David WallaceWells       TX 9-233-140   2022-12-01



                                                                                Page 4432 of 5793
                                                                                                                    By Mike Baker Jack Healy Rick
                        https://www.nytimes.com/interactive/2022/10/                                                Rojas Edgar Sandoval Julie
                        26/us/us-cities-downtown-chicago-                                                           Bosman Eliza Fawcett Emily
2022-10-26   2022-10-30 seattle.html                                 Meet Me Downtown                               Cochrane and Campbell Robertson TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/27/books/r
2022-10-27   2022-10-30 eview/new-horror-novels.html                 Nightstalker                                   By Danielle Trussoni             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/magazi
2022-10-27   2022-10-30 ne/in-laws-judge-john-hodgman.html           Bonus Advice From Judge John Hodgman           By John Hodgman                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/magazi                                                   By Eduardo C Corral and Victoria
2022-10-27   2022-10-30 ne/poem-cordoba.html                         Poem                                           Chang                            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/movies/
                        henry-selick-jordan-peele-wendell-and-
2022-10-27   2022-10-30 wild.html                                    What Springs From Two Weird Minds              By Carlos Aguilar                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/needies
                        t-cases/parenting-alone-and-bearing-the-     Parenting Alone and Bearing The Weight of
2022-10-27   2022-10-30 weight-of-everything.html                    Everything                                     By Callie Holtermann             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/realesta
2022-10-27   2022-10-30 te/nyc-home-prices-q3.html                   Fluctuating Prices in New York City            By Michael Kolomatsky            TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/realesta
2022-10-27   2022-10-30 te/south-harlem-new-york.html                In Transition and an Interesting Place to Live By Aileen Jacobson               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/sports/f The Cardinals Look to Burst the Vikings
2022-10-27   2022-10-30 ootball/nfl-week-8-predictions.html          Bubble                                         By David Hill                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/27/style/w Want to Land a Free Wedding Dont Be Too
2022-10-27   2022-10-30 edding-giveaways-sweepstakes.html            Picky                                          By Hilary Sheinbaum              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/10/ Seeking a Manhattan Studio With Design
                        27/realestate/manhattan-studio-apartment-    Potential for 600000 Which Option Did He
2022-10-27   2022-10-30 hunt.html                                    Choose                                         By Stefanos Chen                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/arts/dan Choreographer Painter And Their Egos
2022-10-28   2022-10-30 ce/paul-taylor-alex-katz.html                Clicked                                        By Brian Seibert                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/arts/mu Toshi Ichiyanagi an AvantGarde Composer
2022-10-28   2022-10-30 sic/toshi-ichiyanagi-dead.html               and Pianist Is Dead at 89                      By Neil Genzlinger               TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/28/books/r
2022-10-28   2022-10-30 eview/ghost-stories-slave-narratives-wpa.html The Haunted Past                              By Jennifer Wilson              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/books/r
                        eview/oyamada-halfon-krasznahorkai-
2022-10-28   2022-10-30 guibert.html                                  Novellas                                      By Dustin Illingworth           TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/busines Will the Market Rise as Usual After the
2022-10-28   2022-10-30 s/midterm-election-stock-market.html          Midterms                                      By Jeff Sommer                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/busines
2022-10-28   2022-10-30 s/supply-chain-shipping-jobs.html             Its Feast or Famine for Americas Port Drivers By Peter S Goodman              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/28/nyregio
                        n/hurricane-sandy-nyc-10-year-
2022-10-28   2022-10-30 anniversary.html                              In The City Steps to Rebuild and Prepare      By Anne Barnard and Jade Doskow TX 9-233-140    2022-12-01



                                                                                 Page 4433 of 5793
                        https://www.nytimes.com/2022/10/28/nyregio
2022-10-28   2022-10-30 n/hurricane-sandy-photogaphs.html           Images Capture Distress and Unity          By John Leland                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/nyregio                                             By Winnie Hu and Patrick
2022-10-28   2022-10-30 n/hurricane-sandy-timeline.html             A Timeline of the Storm                    McGeehan                          TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/nyregio Margo Feiden 77 an Eccentric Gallerist Who
2022-10-28   2022-10-30 n/margo-feiden-dead.html                    Represented Hirschfeld for Decades         By Neil Genzlinger and Alex Traub TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/nyregio
2022-10-28   2022-10-30 n/waterfront-building-hurricane-sandy.html The Storm Didnt Stop Waterfront Developers By Ginia Bellafante                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/opinion A Surprising Argument Against Affirmative
2022-10-28   2022-10-30 /affirmative-action-supreme-court.html      Action                                     By Linda Greenhouse               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/opinion
2022-10-28   2022-10-30 /asylum-immigration-biden.html              A Compromise On Immigration Is Possible By The Editorial Board               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/opinion
2022-10-28   2022-10-30 /language-you-pronouns-english.html         What Ever Happened to You                  By John McWhorter                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/opinion
2022-10-28   2022-10-30 /usb-c-standard-cable.html                  The Meryl Streep Of Cables                 By Farhad Manjoo                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/sports/f Culture Shift The Jets Are Young Saucy and
2022-10-28   2022-10-30 ootball/jets-sauce-gardner.html             Successful                                 By Emmanuel Morgan                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/sports/s Players Greatest Fear As the World Cup
2022-10-28   2022-10-30 occer/world-cup-injuries.html               Nears                                      By Rory Smith                     TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/28/style/ba
2022-10-28   2022-10-30 rbara-torasso-bradley-carbone-wedding.html After a Terrible Fall Helping to Lift Him Up By Tammy La Gorce              TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/28/style/ho
2022-10-28   2022-10-30 me-depot-12-foot-skeleton.html              Out of Their Skulls for a Skeleton           By Callie Holtermann          TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/28/style/ja
2022-10-28   2022-10-30 nine-lee-janeine-spencer-wedding.html       Sunday Conversations Brought Them Closer By Alix Wall                      TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/28/style/ka Looking Past His Tinder Profile and Her Fake
2022-10-28   2022-10-30 therine-turner-robert-sparks-wedding.html   Name                                         By Vivian Ewing               TX 9-233-140     2022-12-01

                        https://www.nytimes.com/2022/10/28/style/m Different Angles Unequal Sides and Hurt
2022-10-28   2022-10-30 odern-love-a-throuples-tricky-geometry.html Feelings                                     By Evan Sterrett              TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/28/style/na
2022-10-28   2022-10-30 talie-labriola-taylor-scruggs-wedding.html   With Scorpio and Pisces Rising a Love Match By Julia Carmel               TX 9-233-140     2022-12-01
                        https://www.nytimes.com/interactive/2022/10/
2022-10-28   2022-10-30 28/realestate/joan-didion-estate-sale.html   The Joan Didion Estate Sale                 By Anna Kod                   TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/28/opinion
2022-10-29   2022-10-30 /pelosi-nancy-paul-attack.html               Haunted America and the Pelosis Nightmare By Maureen Dowd                 TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/29/busines
                        s/chronic-condition-employee-                Accommodation Is Not a Shield From
2022-10-29   2022-10-30 performance.html                             Criticism                                   By Roxane Gay                 TX 9-233-140     2022-12-01
                        https://www.nytimes.com/2022/10/29/busines
2022-10-29   2022-10-30 s/go-forward.html                            Go Forward                                  By Lora Kelley                TX 9-233-140     2022-12-01




                                                                                Page 4434 of 5793
                        https://www.nytimes.com/2022/10/29/nyregio
                        n/how-a-producer-of-concerts-in-crypts-and-
2022-10-29   2022-10-30 catacombs-spends-his-sundays.html            Beer and Burgers for a Beethoven Buff         By Abby Ellin                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/nyregio After 5 Years of Taking MTA Riders Gripes
2022-10-29   2022-10-30 n/mta-nyc-sarah-meyer.html                   Official Had Enough                           By Ana Ley                     TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/opinion
2022-10-29   2022-10-30 /black-panthers-photographs.html             My Teenage Years With the Black Panthers      By Jeffrey Henson Scales       TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/opinion Classical Music Still Plays in the Theater of
2022-10-29   2022-10-30 /classical-music-war-ukraine-russia.html     War                                           By John Mauceri                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/opinion
2022-10-29   2022-10-30 /supreme-court-affirmative-action.html       What Is Affirmative Action For                By Ross Douthat                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/realesta Is It Worth the Risk to Sublet A Coop
2022-10-29   2022-10-30 te/illegal-apartment-sublet.html             Apartment Illegally                           By Ronda Kaysen                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/sports/b
                        aseball/kyle-schwarber-phillies-world-       Schwarber Prodigal Cub Returns to the
2022-10-29   2022-10-30 series.html                                  Spotlight That Eludes His Old Team            By Scott Miller                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/sports/b Phillies Comeback Was a Master Class in
2022-10-29   2022-10-30 aseball/rob-thomson-phillies-bullpen.html    Managerial Urgency                            By Tyler Kepner                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/sports/b
                        asketball/kyrie-irving-joe-tsai-antisemitic- Nets Owner Says a Post From Irving Is
2022-10-29   2022-10-30 documentary.html                             Hurtful                                       By Shauntel Lowe               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/sports/f Vince Dooley Hall of Fame Football Coach
2022-10-29   2022-10-30 ootball/vince-dooley-dead.html               for Georgia Is Dead at 90                     By Frank Litsky                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/sports/p Penn State Continues to Falter in Sternest
2022-10-29   2022-10-30 enn-state-ohio-state-football.html           Tests                                         By Billy Witz                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/style/ry
2022-10-29   2022-10-30 an-murphy-netflix-horror.html                Hes Having a Very Happy Halloween             By Maureen Dowd                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/style/w
2022-10-29   2022-10-30 hen-we-were-young-festival.html              Caught in an Emo Whirlwind in the Desert      By Madeleine Aggeler           TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/technol Pivot for Twitter The Peoples Tool Has Now
2022-10-29   2022-10-30 ogy/musk-twitter-legacy.html                 Become a Moguls Toy                           By Kevin Roose                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/technol
                        ogy/return-to-office-employee-               Work From Home Or at the Office Whats
2022-10-29   2022-10-30 satisfaction.html                            Your Choice                                   By Hanna Ingber                TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/technol
2022-10-29   2022-10-30 ogy/silicon-valley-economic-reality.html     The Partys Over StartUps                      By Erin Griffith               TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/technol With Twitter Staff Set to Get Stock Grants      By Kate Conger Ryan Mac Sheera
2022-10-29   2022-10-30 ogy/twitter-layoffs-musk-jobs.html           Musk Is Said to Have Ordered Job Cuts         Frenkel and Mike Isaac         TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/us/gove Governor Races in Battlegrounds Could
2022-10-29   2022-10-30 rnor-races-senate-control.html               Determine Who Controls the Senate             By Carl Hulse                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/29/us/kent Generations Endured in Kentucky Then            By Campbell Robertson and Jared
2022-10-29   2022-10-30 ucky-floods-impacts.html                     Floods                                        Hamilton                        TX 9-233-140   2022-12-01
                                                                     Obama Heckled Twice at Rally for Detroit
                        https://www.nytimes.com/2022/10/29/us/oba Democrats While Discussing Hostility in
2022-10-29   2022-10-30 ma-detroit-pelosi-rally.html                 Politics                                      By Neil Vigdor                 TX 9-233-140    2022-12-01



                                                                                 Page 4435 of 5793
                        https://www.nytimes.com/2022/10/29/us/polit Midterms Offer Clash of Visions Over US
2022-10-29   2022-10-30 ics/bidens-agenda-midterms-congress.html    Future                                       By Peter Baker                    TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/us/polit
                        ics/governor-races-midterms-oklahoma-
2022-10-29   2022-10-30 georgia.html                                Races Tighten In Final Sprint To Lead States By Reid J Epstein                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/us/polit
2022-10-29   2022-10-30 ics/ohio-senate-race.html                   Democrats and GOP Both See a Win in Ohio By Trip Gabriel                       TX 9-233-140    2022-12-01

                        https://www.nytimes.com/2022/10/29/us/polit Guantnamos Oldest Prisoner Never Charged
2022-10-29   2022-10-30 ics/oldest-prisoner-gitmo-terrorism.html    Is Released and Returns to Pakistan            By Carol Rosenberg              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/us/polit Pelosi Attack Highlights Increasing Fears of
2022-10-29   2022-10-30 ics/paul-pelosi-political-violence.html     Violence Incited by Politics                   By Catie Edmondson              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/us/polit Judge in USS Cole Case Weighs Allowing
2022-10-29   2022-10-30 ics/uss-cole-bombing-case.html              Hearsay                                        By Carol Rosenberg              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/us/portl Army of Volunteer Sleuths Hunts Down
2022-10-29   2022-10-30 and-car-thefts-crime.html                   Portlands Stolen Cars                          By Mike Baker                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/world/a Two Deadly Explosions Rock the Somali
2022-10-29   2022-10-30 frica/terrorist-attack-mogadishu.html       Capital                                        By Abdi Latif Dahir             TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/world/a
                        mericas/brazil-bolsonaro-lula-presidential- Stark Choice for Brazil In Presidential
2022-10-29   2022-10-30 election.html                               Election                                       By Jack Nicas                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/world/a
                        mericas/brazil-presidential-election-       Bolsonaro vs Lula Climate the Economy and
2022-10-29   2022-10-30 explained.html                              of Course Mudslinging                          By Ana Ionova                   TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/world/a
2022-10-29   2022-10-30 sia/philippines-storm-nalgae.html           At Least 54 Are Killed in Philippines Storm    By Jason Gutierrez and John Yoon TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/29/world/e                                                 By Valerie Hopkins and Nanna
2022-10-29   2022-10-30 urope/russia-memorial-stalin-victims.html   Kremlins Roadblocks Cant Stop a Tribute        Heitmann                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/29/world/e
2022-10-29   2022-10-30 urope/ukraine-russia-grain-deal.html        Russians Block Ukrainian Grain                 By Marc Santora                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/world/e Cheap Drones and Western Weapons Turn
2022-10-29   2022-10-30 urope/ukraine-russia-war-artillery.html     Tide                                           By Andrew E Kramer              TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/world/ Where Halloween Was Taboo Ghosts and             By Vivian Nereim and Tamir
2022-10-29   2022-10-30 middleeast/halloween-saudi-arabia.html      Ghouls Abound                                  Kalifa                          TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/29/world/ As Israeli Election Looms a Familiar Face Is
2022-10-29   2022-10-30 middleeast/israeli-election.html            Planning a Comeback                            By Isabel Kershner            TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/29/world/a 151 Partygoers In Seoul Killed In Crowd         By Choe SangHun Chang Che and
2022-10-30   2022-10-30 sia/seoul-south-korea-dead.html             Crush                                          John Yoon                     TX 9-233-140      2022-12-01
                        https://www.nytimes.com/2022/10/30/books/r
2022-10-30   2022-10-30 eview/immigration-picture-books.html        Where the Heart Is                             By Nalini Jones                 TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/30/busines The Week in Business Twitter Enters a New
2022-10-30   2022-10-30 s/twitter-fed-jobs-report.html              Era                                            By Marie Solis                  TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/30/insider/
2022-10-30   2022-10-30 following-up-on-americas-downtowns.html Hows It Going Downtown                             By John Otis                    TX 9-233-140    2022-12-01




                                                                                 Page 4436 of 5793
                        https://www.nytimes.com/2022/10/30/sports/g Upstart Series Serves As Chaos Agent And
2022-10-30   2022-10-30 olf/liv-pga-trump-doral.html                 Change Catalyst                             By Alan Blinder                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/style/m
                        achine-gun-kelly-and-megan-fox-time100-
2022-10-30   2022-10-30 parties.html                                 Bright Finery And Rising Stars              By Denny Lee                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/world/e Germanys Reliance on Russian Gas Leads to By Katrin Bennhold and Erika
2022-10-30   2022-10-30 urope/germany-russia-china.html              Rethinking of China Ties                    Solomon                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/interactive/2022/10/
                        29/us/juvenile-detention-abuses-             Dying Inside Chaos and Cruelty in Louisiana By Megan Shutzer and Rachel
2022-10-30   2022-10-30 louisiana.html                               Juvenile Detention                          Lauren Mueller                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/theater/ Luis Miranda Named Public Theaters Board
2022-10-25   2022-10-31 public-theater-luis-a-miranda-jr.html        Chair                                       By Kalia Richardson             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/25/travel/tr Help The Hotel I Booked Online Became a
2022-10-25   2022-10-31 ipped-up-hotel-booking.html                  Homeless Shelter                            By Seth Kugel                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/busines A StartUp Aims to Help Companies Manage
2022-10-26   2022-10-31 s/water-use-companies-waterplan.html         Their Water Use                             By Craig S Smith                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/26/opinion
                        /supreme-court-case-for-affirmative-         Think Affirmative Action Is Dead Think
2022-10-26   2022-10-31 action.html                                  Again                                       By Justin Driver                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/arts/dan
                        ce/review-unavailable-memory-cunningham- Restarting a Conversation in the Wrong
2022-10-28   2022-10-31 cage.html                                    Language                                    By Brian Seibert                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/arts/mu
2022-10-28   2022-10-31 sic/artificial-intelligence-opera.html       Making Art While Playing The Brain          By Frank Rose                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/arts/tele
                        vision/the-peripheral-amazon-william-
2022-10-28   2022-10-31 gibson.html                                  Seeing the Future in PresentDay Humanity    By Scott Tobias                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/busines Future of Indias Climate May Hinge on Coal
2022-10-28   2022-10-31 s/gautam-adani-coal-climate.html             Baron                                       By Emily Schmall and Hari Kumar TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/theater/
2022-10-28   2022-10-31 hamlet-review-bam.html                       A Danish Prince Born to Be Wild             By Maya Phillips                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/arts/mu
2022-10-29   2022-10-31 sic/jerry-lee-lewis-streaming-guide.html     10 Memorable Songs From Jerry Lee Lewis By Jon Pareles                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/28/us/jan- ExCapitol Officer Guilty of Impeding
2022-10-29   2022-10-31 6-capital-officer-convicted.html             Scrutiny of Rioter                          By Vimal Patel                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/29/books/g Gerald Stern Dies at 97 Poet Inspired by
2022-10-29   2022-10-31 erald-stern-dead.html                        Family History and Heritage                 By Neil Genzlinger              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/29/busines New Laws Force Companies To Talk Frankly By Emma Goldberg and Sarah
2022-10-29   2022-10-31 s/nyc-us-salary-transparency.html            About Salaries                              Kessler                         TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/29/obituari Overlooked No More Dorothy Spencer Film
2022-10-29   2022-10-31 es/dorothy-spencer-overlooked.html           Editor Sought Out by Big Directors          By Gavin Edwards                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/29/sports/n
                        ew-york-city-marathon-makoshi-
2022-10-29   2022-10-31 yasuhiro.html                                A New York Fixture And Now a Visitor        By Jared Beasley                TX 9-233-140   2022-12-01




                                                                               Page 4437 of 5793
                        https://www.nytimes.com/2022/10/29/sports/t
2022-10-29   2022-10-31 ennis/forehand-slice-shot.html                 The slice finally gets big                     By Stuart Miller                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/29/sports/t
2022-10-29   2022-10-31 ennis/wta-2022-women.html                      The disarray in womens tennis                  By Cindy Shmerler                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/29/sports/s
                        occer/portland-thorns-nwsl-                    Season Rocked by Sexual Abuse Scandal
2022-10-30   2022-10-31 championship.html                              Ends With a Celebration                        By Juliet Macur                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/29/world/a
2022-10-30   2022-10-31 sia/us-victim.html                             Father Grieves US Student Killed in Seoul      By Luke Vander Ploeg              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/arts/dan
                        ce/james-whiteside-american-ballet-theater-
2022-10-30   2022-10-31 injury.html                                    Learning to Trust His Knee Again               By Gia Kourlas                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/busines Amid Distrust TV Braces For Chaotic
2022-10-30   2022-10-31 s/media/tv-coverage-midterms.html              Election Night                                 By Michael M Grynbaum             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/busines
                        s/musk-tweets-hillary-clinton-pelosi-          In Tweet Musk Amplifies Baseless Claims
2022-10-30   2022-10-31 husband.html                                   About Pelosi Attack                            By Kurtis Lee                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/busines Companies Enlist Superheroes to Sell Their
2022-10-30   2022-10-31 s/retail-superhero-products.html               Products but This Time to Adults               By Alyson Krueger                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/crossw
2022-10-30   2022-10-31 ords/daily-puzzle-2022-10-31.html              A Monday Puzzle That Scares                    By Rachel Fabi                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/nyregio Bronx Fire Kills Four People Including Three
2022-10-30   2022-10-31 n/bronx-fire-killed.html                       Children                                       By April Rubin and Nancy Wartik   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/nyregio With Races Tightening Both Parties Bring
2022-10-30   2022-10-31 n/governor-zeldin-hochul.html                  Out Star Power in New York                     By Luis FerrSadurn                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/nyregio How New Yorks Hasidic Community Became
2022-10-30   2022-10-31 n/hasidic-political-power-new-york.html        a Political Force                              By Emma G Fitzsimmons             TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/nyregio
                        n/malcom-x-muhammad-aziz-khalil-islam-         26 Million Settlement Over Tainted
2022-10-30   2022-10-31 settlement.html                                Convictions In the Killing of Malcolm X        By Benjamin Weiser                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/opinion
2022-10-30   2022-10-31 /dark-academia-halloween.html                  The Season of Dark Academia                    By Pamela Paul                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/opinion
2022-10-30   2022-10-31 /the-self-destruction-of-ye.html               The SelfDestruction of Ye                      By Charles M Blow                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/sports/b
                        aseball/framber-valdez-astros-world-           An Astros Pitcher Is on Fire Just a Year After
2022-10-30   2022-10-31 series.html                                    Flaming Out                                    By Tyler Kepner                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/sports/b
                        aseball/yordan-alvarez-astros-world-
2022-10-30   2022-10-31 series.html                                    A Star and His Glowing Parents Reunited        By James Wagner                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/sports/b
                        asketball/kyrie-irving-antisemitic-conspiracy- Irving Stands by Postings About Antisemitic
2022-10-30   2022-10-31 theory.html                                    Documentary and Conspiracy Theory              By Sopan Deb                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/sports/f                                                   By Ken Belson Photographs by
2022-10-30   2022-10-31 ootball/jaguars-broncos-london.html            A Whole Lot Of Jacksonville In London          Joshua Atkins                     TX 9-233-140   2022-12-01



                                                                                  Page 4438 of 5793
                        https://www.nytimes.com/2022/10/30/sports/f Seeking a Bang vs the Pats The Jets Emit but
2022-10-30   2022-10-31 ootball/jets-patriots-score-roughing.html    a Whimper                                   By Jenny Vrentas                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/sports/f
2022-10-30   2022-10-31 ootball/nfl-week-8-scores.html               What We Learned This Week                   By Derrik Klassen                TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/sports/j Paul Takes Another Step In His Bid for
2022-10-30   2022-10-31 ake-paul-anderson-silva.html                 Legitimacy                                  By Kris Rhim                     TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/technol Musks Big Test at Twitter Making the
2022-10-30   2022-10-31 ogy/elon-musk-twitter-debt.html              Numbers Work                                By Lauren Hirsch                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/theater/
2022-10-30   2022-10-31 review-a-man-of-no-importance.html           The Little Things Mean a Lot                By Jesse Green                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/upshot/ Data Shows 6 Drop in Abortions After          By Margot SangerKatz and Claire
2022-10-30   2022-10-31 legal-abortions-fall-roe.html                Overturning of Roe v Wade                   Cain Miller                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/us/polit Fight Over the White Working Class in
2022-10-30   2022-10-31 ics/blue-collar-voters-pennsylvania.html     Pennsylvania                                By Shane Goldmacher              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/us/polit Years of Efforts to Vilify Pelosi Preceded   By Annie Karni Catie Edmondson
2022-10-30   2022-10-31 ics/pelosi-attack-republican-threats.html    Brutal Attack in Home                       and Carl Hulse                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/us/polit Roz Wyman Key Player in Moving Dodgers
2022-10-30   2022-10-31 ics/roz-wyman-dead.html                      to Los Angeles Dies at 92                   By Richard Sandomir              TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/us/supr
                        eme-court-affirmative-action-brown-board- In Clash Over Affirmative Action Both Sides
2022-10-30   2022-10-31 education.html                               Invoke a Legal Landmark                     By Adam Liptak                   TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/us/susp Man Accused of Pelosi Assault Had Behaved By Kellen Browning Alan Feuer
2022-10-30   2022-10-31 ect-attack-nancy-pelosi-husband.html         Strangely                                   Charlie Savage and Eliza Fawcett TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/world/a                                               By Hussein Mohamed and Abdi
2022-10-30   2022-10-31 frica/somalia-shabab-terrorist-attack.html   Somalis Describe Horror of Twin Blasts      Latif Dahir                      TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/world/a
2022-10-30   2022-10-31 sia/india-bridge-collapse.html               70 Killed In India As Bridge Collapses      By Sameer Yasir                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/world/a
                        sia/migrant-disability-australia-new-        If Migrants Are Disabled 2 Nations May Bar
2022-10-30   2022-10-31 zealand.html                                 Them Based on Costs of Care                 By Natasha Frost                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/world/a                                               By Choe SangHun John Yoon Paul
                        sia/south-korea-itaewon-crowd-crush-                                                     Mozur Victoria Kim SuHyun Lee
2022-10-30   2022-10-31 victims.html                                 Deadly Crush Leaves Seoul In Mourning       and Jin Yu Young                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/world/e In Coastal Britain a Towns Love of Waves
2022-10-30   2022-10-31 urope/surfing-england-north-devon.html       Protects a Haven for Surfers                By Isabella Kwai                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/world/ Palestinian Citizens Wonder Whether Its
2022-10-30   2022-10-31 middleeast/israel-election-palestinians.html Worth Voting in Another Israeli Election    By Raja Abdulrahim               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/us/polit
                        ics/stacey-abrams-brian-kemp-takeaways-ga- 4 Takeaways From Debate Between Kemp
2022-10-31   2022-10-31 debate.html                                  And Abrams                                  By Reid J Epstein and Maya King TX 9-233-140    2022-12-01
                        https://www.nytimes.com/2022/10/30/world/a
                        mericas/lula-election-results-brazil-        Brazil Rejects Bolsonaro and Brings Back
2022-10-31   2022-10-31 bolsonaro.html                               Lula                                        By Jack Nicas                    TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/30/world/e Leaders Urge Russia to Rejoin Grain Deal as By Shashank Bengali Abdi Latif
2022-10-31   2022-10-31 urope/ukraine-russia-grain-deal.html         Hunger Rises                                Dahir and Natalie Kitroeff       TX 9-233-140   2022-12-01



                                                                               Page 4439 of 5793
                        https://www.nytimes.com/2022/10/31/arts/tele
                        vision/whats-on-tv-this-week-dangerous-
2022-10-31   2022-10-31 liaisons-and-below-deck-adventure.html       This Week on TV                                By Shivani Gonzalez               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/31/climate Researchers Defend Meat With Industrys
2022-10-31   2022-10-31 /frank-mitloehner-uc-davis.html              Help                                           By Hiroko Tabuchi                 TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/31/nyregio Democrats in New York Have Been Avidly
2022-10-31   2022-10-31 n/swing-district-conole-williams.html        Eyeing Open GOP House Seat                     By Grace Ashford                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/31/nyregio Choosing a Jury for the Trump Organization
2022-10-31   2022-10-31 n/trump-organization-trial-jury.html         Case Is a Trial of Its Own                     By Jonah E Bromwich               TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/31/sports/t
2022-10-31   2022-10-31 ennis/jessica-pegula-wta-finals.html         For Pegula No Stopping at the Peak             By Christopher Clarey             TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/31/us/elect Running as Moderates Republicans Aim to
2022-10-31   2022-10-31 ions/new-england-republicans-moderates.html Flip Seats in New England                       By Stephanie Lai                  TX 9-233-140   2022-12-01
                        https://www.nytimes.com/2022/10/31/us/polit
                        ics/democrats-republicans-senate-election-  Senate Contests Are Tight In 4 Key States
2022-10-31   2022-10-31 polls.html                                  Polls Find                                      By Lisa Lerer and Ruth Igielnik   TX 9-233-140   2022-12-01

                        https://www.nytimes.com/2022/10/03/sports/
2022-10-03   2022-11-01 midnight-basketball-oakland-community.html Building Community One Dribble at a Time         By Joshua Needelman               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/19/science
                        /bubonic-plague-black-death-genetic-
2022-10-19   2022-11-01 protection.html                            How the Black Death Left Its Genetic Mark        By Carl Zimmer                    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/10/19/science Discovering the First Known Neanderthal
2022-10-19   2022-11-01 /first-neanderthal-family-russian-cave.html Family                                         By Carl Zimmer                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/19/well/m
2022-10-19   2022-11-01 ove/rollerblading-benefits-basics.html      InLine Skating Is Back And Not Just for Fun By Amanda Loudin                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/article/flu-cold-   Finding Relief When You Have a Cold or the By Alisha Haridasani Gupta and
2022-10-20   2022-11-01 home-remedies.html                          Flu                                            Knvul Sheikh                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/20/well/liv
2022-10-21   2022-11-01 e/prepare-for-surgery.html                  A Strategy to Prepare for a Possible Operation By Melinda Wenner Moyer            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/24/science Cosmic Splendors Partial Eclipse Provided
2022-10-24   2022-11-01 /partial-solar-eclipse.html                 Preview Of Looming Celestial Showtimes         By Remy Tumin                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/24/well/eat
                        /creatine-supplement-benefits-side-
2022-10-24   2022-11-01 effects.html                                What Creatine Can and Cant Do                  By Dani Blum                       TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/10/25/well/liv
2022-10-25   2022-11-01 e/statins-cholesterol-diabetes-side-effects.html Do Statins Increase the Risk of Diabetes   By Jyoti Madhusoodanan            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/26/briefing
2022-10-26   2022-11-01 /signs-of-a-tripledemic.html                     Signs of a Tripledemic                     By Jonathan Wolfe                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/26/science The Bodies Electric Theres Lightning
2022-10-26   2022-11-01 /bees-locusts-electricity-charge.html            Brewing in Every Swarm of Insects          By Oliver Whang                   TX 9-257-651   2023-01-03




                                                                                     Page 4440 of 5793
                        https://www.nytimes.com/2022/10/26/science Baffling Trunks To Find Answer to This
2022-10-27   2022-11-01 /elephant-brains-trunks-faces.html            Puzzle Lots of Gray Matter Was Required     By Jack Tamisiea                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/28/arts/des
                        ign/international-center-of-photography-cindy-International Center of Photography Expands
2022-10-28   2022-11-01 sherman.html                                  Its Reach                                   By Zachary Small                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/28/movies/
2022-10-28   2022-11-01 james-gray-armageddon-time.html               A Personal View Of 1980s Queens             By Ben Kenigsberg                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/28/science Requiem for a Telescope Once the Mightiest
2022-10-28   2022-11-01 /araceibo-telescope-astronomy.html            on Earth                                    By Dennis Overbye                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/29/books/c Carmen Callil Feminist Publisher Who Jolted
2022-10-29   2022-11-01 armen-callil-dead.html                        Her Field Dies at 84                        By Penelope Green                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/29/science Red Planet Real Estate On Mars the Housing
2022-10-29   2022-11-01 /mars-caves-astronauts.html                   Market Is Just Starting to Heat Up          By Katherine Kornei                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/29/sports/t Why Does Jabeur Enjoy Unleashing Risky
2022-10-29   2022-11-01 ennis/ons-jabeur-womens-player.html           Shots I Love the Adrenaline                 By Cindy Shmerler                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/30/arts/mu
2022-10-30   2022-11-01 sic/david-geffen-hall-philanthropy.html       One More Project Building His Legacy        By Adam Nagourney                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/30/nyregio Sy Presten Press Agent So OldFashioned He
2022-10-30   2022-11-01 n/sy-presten-dead.html                        Became News Dies at 98                      By Alex Traub                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/30/obituari Msgr John P Meier 80 Spent Decades
2022-10-30   2022-11-01 es/msgr-john-meier-dead.html                  Untangling Mystery of Historical Jesus      By Sam Roberts                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/30/science
2022-10-30   2022-11-01 /tutankhamen-nefertiti-archaeology.html       The Debate About King Tuts Tomb Rages On By Franz Lidz                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/arts/des
2022-10-31   2022-11-01 ign/nfts-moma-refik-anadol-digital.html       Museums Warm Up To Digital Art              By Zachary Small                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/arts/mu
                        sic/taylor-swift-midnights-billboard-         Midnights Sells More Than 1 Million in a
2022-10-31   2022-11-01 chart.html                                    Week                                        By Ben Sisario                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/arts/mu Revolver Box Set Shows the Beatles At a
2022-10-31   2022-11-01 sic/the-beatles-revolver-reissue.html         Creative Peak                               By Jon Pareles                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/books/l A Novel Taps Into a Childhood Spent Amid
2022-10-31   2022-11-01 ouise-kennedy-trespasses.html                 the Belfast Troubles                        By Tobias Grey                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/books/p In Broad Antitrust Ruling Judge Blocks a       By Alexandra Alter and Elizabeth
2022-10-31   2022-11-01 enguin-random-house-simon-schuster.html       Merger of Publishing Giants                 A Harris                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/busines Chinese Stocks Continue Their Wild Roller
2022-10-31   2022-11-01 s/chinese-stock-markets.html                  Coaster Ride                                By Matt Stevens and Chang Che      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/busines
2022-10-31   2022-11-01 s/economy/eurozone-inflation-gdp.html         In Europe Prices Soar Even Higher           By Patricia Cohen                  TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/10/31/busines Powell Is Popular His War on Inflation Could
2022-10-31   2022-11-01 s/economy/jerome-powell-fed-inflation.html Change That                                  By Jeanna Smialek                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/busines
                        s/education-department-student-loan-       US Eases Debt Rules For Students With
2022-10-31   2022-11-01 relief.html                                Loans                                        By Stacy Cowley                      TX 9-257-651   2023-01-03




                                                                                 Page 4441 of 5793
                                                                       FTC Accuses Chegg of Careless Data
                        https://www.nytimes.com/2022/10/31/busines Security After Breach Exposed Students
2022-10-31   2022-11-01 s/ftc-chegg-data-security-legal-complaint.html Sensitive Details                      By Natasha Singer                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/31/busines US Sets Grace Period for Russian Oil
2022-10-31   2022-11-01 s/united-states-sanctions-russian-oil.html     Sanctions                              By Alan Rappeport                TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/10/31/climate
2022-10-31   2022-11-01 /brazil-election-lula-bolsonaro-climate.html What Brazils Election Means for Climate   By Manuela Andreoni               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/climate Many Thousands Facing Risk If Floods in LA
2022-10-31   2022-11-01 /los-angeles-flood-risk.html                 Are Extreme                               By Raymond Zhong                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/health/c Cholera Outbreaks Surge Globally Forcing
2022-10-31   2022-11-01 holera-outbreaks-vaccine.html                Rationing of Vaccine                      By Stephanie Nolen                TX 9-257-651   2023-01-03
                                                                                                               By Jonah E Bromwich Ben Protess
                        https://www.nytimes.com/2022/10/31/nyregio In Trump Company Trial Both Sides Find a William K Rashbaum and Maggie
2022-10-31   2022-11-01 n/trump-organization-tax-weisselberg.html    Villain                                   Haberman                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/nyregio                                             By Michael Gold Jeffery C Mays
2022-10-31   2022-11-01 n/zeldin-youngkin-hochul-voters.html         Hochul and Zeldin Team Up With Allies     and Brittany Kriegstein           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/opinion Brazil May Finally Be Free From the Madness
2022-10-31   2022-11-01 /brazil-election-lula-bolsonaro.html         of Bolsonaro                              By Vanessa Barbara                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/opinion Dont Let the Whole Political World Become a
2022-10-31   2022-11-01 /fetterman-oz-pelosi-kanye-west.html         Crime Scene                               By Gail Collins and Bret Stephens TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/opinion If Oregon Turns Red Whose Fault Will That
2022-10-31   2022-11-01 /oregon-governor-race.html                   Be                                        By Michelle Goldberg              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/opinion
                        /the-truth-about-americas-economic-          The Truth About Americas Economic
2022-10-31   2022-11-01 recovery.html                                Recovery                                  By Paul Krugman                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/sports/b
                        aseball/dave-dombrowski-phillies-world-
2022-10-31   2022-11-01 series.html                                  Want to Make It to Series Hire Dombrowski By David Waldstein                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/sports/s ExPlayer Will Lead US Soccer Task Force on
2022-10-31   2022-11-01 occer/mana-shim-us-soccer-abuse.html         Type of Abuse She Faced                   By Andrew Das                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/technol Musk Dives Into Making Big Changes At       By Mike Isaac Ryan Mac and Kate
2022-10-31   2022-11-01 ogy/elon-musk-twitter-control.html           Twitter                                   Conger                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/technol Many Users Of Instagram Say Accounts Were
2022-10-31   2022-11-01 ogy/instagram-accounts-suspended.html        Halted                                    By April Rubin and Kalley Huang TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/31/technol
                        ogy/midterm-disinformation-                  With Push of a Button Lies Flood a Swing
2022-10-31   2022-11-01 pennsylvania.html                            State                                     By Steven Lee Myers               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/technol
                        ogy/pelosi-attack-misinformation-conspiracy- GOP Outlets Spreading Confusion About     By Steven Lee Myers and Stuart A
2022-10-31   2022-11-01 republicans.html                             Attack                                    Thompson                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/theater/ A Story About a Mobs Hate As Ugliness
2022-10-31   2022-11-01 ben-platt-parade.html                        Oozes Up Again                            By Michael Paulson                TX 9-257-651   2023-01-03




                                                                               Page 4442 of 5793
                        https://www.nytimes.com/2022/10/31/theater/
2022-10-31   2022-11-01 romeo-and-juliet-andrew-rincon-review.html StarCrossed and Separating                     By Juan A Ramrez                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/us/ever
                        s-wisconsin-governor-kenosha-riots-james- Kenosha Unrest in 2020 Looms Over
2022-10-31   2022-11-01 blake.html                                  Wisconsin Governors Race                      By Julie Bosman                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/us/glen A Rising Star In the GOP Deftly Raises His
2022-10-31   2022-11-01 n-youngkin-va-governor.html                 Profile                                       By Campbell Robertson              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/us/pelo                                                By Kellen Browning Glenn Thrush
2022-10-31   2022-11-01 si-home-attack-suspect-charged.html         Charges Depict A Chilling Plot Against Pelosi and Tim Arango                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/us/polit
2022-10-31   2022-11-01 ics/biden-oil-windfall-tax.html             Biden Warns Of Extra Tax On Oil Firms         By Peter Baker and Clifford Krauss TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/10/31/us/polit Democrat Versus Democrat Let the Trash
2022-10-31   2022-11-01 ics/california-midterms-democratic-party.html Talking Begin                             By Ken Bensinger                   TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/10/31/us/polit Company Backed by Ohio Senate Candidate
2022-10-31   2022-11-01 ics/jd-vance-peter-thiel-rumble.html        Gives Platform for Russian Propaganda        By Danny Hakim                    TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/31/us/polit Attacks by Sea Drones on Russian Fleet Put
2022-10-31   2022-11-01 ics/russia-ukraine-ships-drones.html        Focus on Ukraines Growing Arsenal            By Lara Jakes                     TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/31/us/polit Trump Asks Court to Block House Access
2022-10-31   2022-11-01 ics/trump-tax-returns-supreme-court.html    To Tax Returns                               By Charlie Savage                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/31/us/supr
                        eme-court-harvard-unc-affirmative-          Justices Dubious Of Race as Factor With
2022-10-31   2022-11-01 action.html                                 Admissions                                   By Adam Liptak                    TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/31/world/a
                        mericas/brazil-election-results-bolsonaro-  Bolsonaro Is Silent After Election Defeat    By Jack Nicas Flvia Milhorance
2022-10-31   2022-11-01 lula.html                                   Leaving Brazilians Fearing Unrest            and Andr Spigariol                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/31/world/a Experts Criticize Report on Missing Mexican By Natalie Kitroeff and Oscar
2022-10-31   2022-11-01 mericas/mexico-43-missing-students.html     Students                                     Lopez                             TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/31/world/a As Last Module Docks China Completes Its
2022-10-31   2022-11-01 sia/china-launch-space-station.html         Space Station                                By Keith Bradsher                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/31/world/a                                               By Sameer Yasir Suhasini Raj Hari
2022-10-31   2022-11-01 sia/india-bridge-collapse.html              Evening Stroll In India Turns Into a Tragedy Kumar and Emily Schmall           TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/31/world/a
                        sia/seoul-halloween-crowd-                  Few Officers and No Crowd Control Plan on
2022-10-31   2022-11-01 accountability.html                         Night 150 Died in Seoul                      By Choe SangHun                   TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/10/31/world/a In Seoul a Stunning Loss of Young Life in the By SuHyun Lee John Yoon Luke
2022-10-31   2022-11-01 sia/seoul-itaewon-crowd-crush-victims.html Crush of a Halloween Crowd                    Vander Ploeg and Victoria Kim     TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/31/world/e Kyiv Faces New Woe CutOff Water Supply By Marc Santora and Matthew
2022-10-31   2022-11-01 urope/russia-ukraine-kyiv-water.html       Courtesy of Russia                            Mpoke Bigg                        TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/31/world/e Turmoil Engulfs UKs Home Secretary            By Mark Landler and Stephen
2022-10-31   2022-11-01 urope/suella-braverman-migrants-uk.html    Creating Early Crisis for Sunak               Castle                            TX 9-257-651     2023-01-03




                                                                                 Page 4443 of 5793
                        https://www.nytimes.com/2022/10/31/nyregio
                        n/rikers-inmate-stabbing-correction-                                                     By Liam Stack Chelsia Rose
2022-11-01   2022-11-01 officer.html                                 Rikers Guard Is Stabbed By an Inmate        Marcius and Jan Ransom              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/sports/b
                        aseball/world-series-astros-game-3-          Rain in Philadelphia Pushes Back the Series
2022-11-01   2022-11-01 phillies.html                                but a Travel Day Will Be Preserved          By David Waldstein                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/science
2022-11-01   2022-11-01 /embalming-funerals-death.html               The Final Journey                           By Oliver Whang                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/polit
                        ics/midterm-elections-governor-key-          With Week to Go Poll Shows Sharp Split
2022-11-01   2022-11-01 races.html                                   Across Battleground Races                   By Reid J Epstein and Ruth Igielnik TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/21/movies/
                        glengarry-glen-ross-reservoir-dogs-          Men Talking in 2 Influential Films Turning
2022-10-21   2022-11-02 anniversary.html                             30                                          By Jason Bailey                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/24/theater/
2022-10-24   2022-11-02 theater-seats-sohoplace-marvellous.html      On the Edge of His Seats in London Theaters By Alex Marshall                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/26/arts/tele Landing the Role of a Lifetime by Playing
2022-10-26   2022-11-02 vision/josh-nalley-tiktok-csi.html           Dead                                        By Remy Tumin                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/26/dining/
2022-10-26   2022-11-02 maafe-stew-west-africa.html                  A Senegalese Stew That Offers Comfort       By Yewande Komolafe                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/26/dining/
2022-10-26   2022-11-02 paneer-tomato-curry.html                     Pillows of Cheese Plump Up With a Tang      By Melissa Clark                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/27/dining/
2022-10-27   2022-11-02 easy-cheap-alfredo-recipe.html               This Alfredo Is Just Better at Home         By Genevieve Ko                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/28/arts/dan
                        ce/jose-martinez-paris-opera-ballet-                                                     By Roslyn Sulcas and Laura
2022-10-28   2022-11-02 director.html                                Paris Opera Ballet Names a New Director     Cappelle                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/28/arts/des
2022-10-28   2022-11-02 ign/boris-mikhailov.html                     A Subversive Lens on Ukraine                By Jason Farago                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/28/dining/
                        cleveland-restaurants-kitchens-gay-
2022-10-28   2022-11-02 neighborhood.html                            Cooking Up a New Gay Neighborhood           By Erik Piepenburg                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/10/
                        29/opinion/science-fraud-image-manipulation-
2022-10-29   2022-11-02 photoshop.html                               Science Has a Nasty Photoshopping Problem By Elisabeth Bik                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/30/books/t Thomas Cahill 82 Writer Who Enhanced
2022-10-30   2022-11-02 homas-cahill-dead.html                       Respect for Irish History Dies              By Clay Risen                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/30/world/c Team Finds Cameras Left on a Glacier in
2022-10-30   2022-11-02 anada/yukon-mountains-cameras.html           1937                                        By Amanda Holpuch                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/arts/mo
2022-10-31   2022-11-02 ndrian-painting-upside-down.html             Is That Mondrian Upside Down                By Julia Jacobs                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/dining/l
                        as-vegas-workers-nevada-midterm-
2022-10-31   2022-11-02 election.html                                These People Could Swing the Senate         By Brett Anderson                   TX 9-257-651   2023-01-03




                                                                                 Page 4444 of 5793
                        https://www.nytimes.com/2022/10/31/realesta Fast Furniture Is Cheap Stylish and Clogging
2022-10-31   2022-11-02 te/fast-furniture-clogged-landfills.html       American Landfills                          By Debra Kamin                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/world/e RussianBorn Bank Mogul Renounces His
2022-10-31   2022-11-02 urope/oleg-tinkov-russia-citizenship.html      Citizenship                                 By Anton Troianovski             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/arts/des
                        ign/portrait-gallery-serena-venus-williams-ava
2022-11-01   2022-11-02 duvernay.html                                  Behind 3 Champions Smithsonian Portraits    By Hilarie M Sheets              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/arts/mu Innovator Transformed the Flow of Atlanta
2022-11-01   2022-11-02 sic/takeoff-migos-atlanta-rap.html             Rap                                         By Jon Caramanica                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/arts/mu Gunfire at Houston Bowling Alley Kills          By Joe Coscarelli and J David
2022-11-01   2022-11-02 sic/takeoff-migos-dead.html                    Rapper Who Dodged Celebrity                 Goodman                          TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/01/arts/tele
2022-11-01   2022-11-02 vision/christina-applegate-dead-to-me.html   Ending Dead to Me On Her Own Terms         By Alexis Soloski                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/books/p
                        enguin-random-house-simon-schuster-          Blocking of Merger Leaves Publishing World By Elizabeth A Harris and
2022-11-01   2022-11-02 deal.html                                    in a Haze                                  Alexandra Alter                     TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/01/busines                                                 By Jeanna Smialek and Isabella
2022-11-01   2022-11-02 s/economy/fed-rates-company-earnings.html No Signs Of Prices Lowering Demand               Simonetti                        TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/01/busines Job Openings Rose in September Reinforcing
2022-11-01   2022-11-02 s/economy/job-openings-economy-labor.html Expectations of Further Rate Increase       By Lydia DePillis                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/busines Rocketing Prices Of Foods Elevate Company By Isabella Simonetti and Julie
2022-11-01   2022-11-02 s/food-prices-profits.html                 Profits                                    Creswell                              TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/01/busines In Push to Lure New Subscribers Disney
2022-11-01   2022-11-02 s/media/disney-plus-streaming-shopping.html Tests Exclusive Shopping                    By Brooks Barnes                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/busines
2022-11-01   2022-11-02 s/saudi-aramco-oil-profit.html              Saudi Aramco Announces Profit of 42 Billion By Stanley Reed                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/climate
                        /middle-school-education-climate-           Teaching Climate Change When the
2022-11-01   2022-11-02 change.html                                 Curriculum Avoids It                        By Winston ChoiSchagrin             TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/01/dining/ Give Your Kitchen a Holiday on
2022-11-01   2022-11-02 a-short-guide-to-restaurant-thanksgiving.html Thanksgiving                                 By Nikita Richardson             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/dining/ Gael Greene 88 Innovative Restaurant
2022-11-01   2022-11-02 gael-greene-dead.html                         Reviewer Who Skewered Snobbery               By William Grimes                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/dining/j Julie Powell Whose JulieJulia Project
2022-11-01   2022-11-02 ulie-powell-dead.html                         Changed Food Writing Dies at 49              By Kim Severson and Julia Moskin TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/dining/
2022-11-01   2022-11-02 major-food-group-carbone-global.html          New York Roots Global Ambitions              By Julia Moskin                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/dining/
                        new-yorks-hottest-club-is-the-penn-station-
2022-11-01   2022-11-02 bar.html                                      Neighborhood Bar Commuters Welcome           By Becky Hughes                  TX 9-257-651   2023-01-03



                                                                                 Page 4445 of 5793
                        https://www.nytimes.com/2022/11/01/dining/ Molyvos Greek in Midtown West Reopens in
2022-11-01   2022-11-02 nyc-restaurant-news.html                    a New Location                               By Florence Fabricant              TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/01/dining/r
2022-11-01   2022-11-02 estaurant-review-claud-east-village.html    A Basement Space With Higher Aims            By Pete Wells                      TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/01/health/a Study Finds Alcohol Use Is Claiming
2022-11-01   2022-11-02 lcohol-deaths-working-age.html              Younger Toll                                 By Ted Alcorn                      TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/01/movies/
2022-11-01   2022-11-02 barry-keoghan-banshees-inisherin.html       A SceneStealer Today But Tomorrow a Star By Calum Marsh                         TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/01/nyregio Schumer Is Open to Taking Insults if It Helps
2022-11-01   2022-11-02 n/chuck-schumer-opponent-pinion.html        to Keep The Democrats in Power               By Jesse McKinley                  TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/01/nyregio New York Buildings Commissioners Phone Is By William K Rashbaum Jonah E
2022-11-01   2022-11-02 n/eric-ulrich-gambling-investigation.html  Seized in Criminal Gambling Investigation  Bromwich and Jeffery C Mays     TX 9-257-651           2023-01-03
                        https://www.nytimes.com/2022/11/01/opinion
2022-11-01   2022-11-02 /china-united-states-trade-economy.html    How China Lost America                     By Thomas L Friedman            TX 9-257-651           2023-01-03
                        https://www.nytimes.com/2022/11/01/opinion
2022-11-01   2022-11-02 /ukraine-war-russia-putin.html             Dont Let Putin Turn Ukraine Into Aleppo    By Bret Stephens                TX 9-257-651           2023-01-03
                        https://www.nytimes.com/2022/11/01/science Childrens Hospitals Swamped by RSV This Is By Emily Baumgaertner and Jamie
2022-11-01   2022-11-02 /rsv-children-hospitals.html               Our March 2020                             Kelter Davis                    TX 9-257-651           2023-01-03

                        https://www.nytimes.com/2022/11/01/sports/b A Respected Hitting Coach Winds Up Back
2022-11-01   2022-11-02 aseball/kevin-long-phillies-world-series.html in a Familiar Place                         By Tyler Kepner                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/01/sports/b The Nets Facing Problems Everywhere Fire
2022-11-01   2022-11-02 asketball/steve-nash-fired-nets.html          Nash as Their Coach                         By Sopan Deb and Scott Cacciola   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/01/sports/c In India American Investors Saw the NFL of
2022-11-01   2022-11-02 ricket/indian-cricket-us-investors.html       20 Years Ago                                By Mike Jakeman                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/01/sports/f
2022-11-01   2022-11-02 ootball/britt-reid-sentence-andy.html         For Two Families a Matter of Justice        By Joe Drape                      TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/01/technol Advertisers And Officials Bailing Out Of       By Kate Conger Tiffany Hsu and
2022-11-01   2022-11-02 ogy/elon-musk-twitter-advertisers.html        Twitter                                     Ryan Mac                          TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/01/technol
                        ogy/musk-twitter-antisemitism-security-       Musk Is Asked to Remove Antisemitic Posts
2022-11-01   2022-11-02 group.html                                    on Website                                  By Nico Grant                     TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/01/technol                                                By Stuart A Thompson and
2022-11-01   2022-11-02 ogy/truth-social-conservative-social-app.html Truth Social Is Troubled Yet Vibrant        Matthew Goldstein                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/01/technol
2022-11-01   2022-11-02 ogy/uber-revenue.html                         Uber Posts Quarterly Loss Despite Growth    By Kalley Huang                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/01/theater/
2022-11-01   2022-11-02 the-unbelieving-review.html                   The Challenges of Life After Faith          By Laura CollinsHughes              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/upshot/ Overseas Abortion Pills Blunt the Effect of    By Aatish Bhatia Claire Cain Miller
2022-11-01   2022-11-02 abortion-pills-mail-overseas.html             Bans                                        and Margot SangerKatz               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/covi Colleges Face Generation of Students Left
2022-11-01   2022-11-02 d-college-students.html                       Behind                                      By Eliza Fawcett                  TX 9-257-651     2023-01-03




                                                                                 Page 4446 of 5793
                        https://www.nytimes.com/2022/11/01/us/park Victims Families Condemn Sentence for
2022-11-01   2022-11-02 land-shooting-sentencing.html               Parkland Gunman                           By Patricia Mazzei                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/pelo Suspect in Assault on Speakers Spouse Had By Tim Arango Holly Secon and
2022-11-01   2022-11-02 si-attack-depape-arraignment.html           Other Targets Officials Say               Kellen Browning                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/polit
                        ics/cheney-kinzinger-democrats-
2022-11-01   2022-11-02 independents.html                           Cheney Offers Trail Support To Democrats By Jonathan Weisman                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/polit Prosecutors Look at Florida Protest as a  By Alan Feuer and Michael S
2022-11-01   2022-11-02 ics/florida-jan-6-proud-boys.html           Model for Jan 6                           Schmidt                                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/polit
                        ics/midterm-elections-worrying-democrats-                                             By Lisa Lerer Katie Glueck and
2022-11-01   2022-11-02 strategy.html                               Democrats Say Party Stumbles On Messaging Reid J Epstein                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/polit
                        ics/nevada-senate-adam-laxalt-              Candidate in Nevada Shuns His Political
2022-11-01   2022-11-02 republican.html                             Inheritance for Trumps GOP                By Matthew Rosenberg                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/polit Making Jokes and False Claims to Score
2022-11-01   2022-11-02 ics/pelosi-attack-republicans-trump.html    Political Points                          By Annie Karni                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/polit Trump Allies Air Radio Ads To Inflame
2022-11-01   2022-11-02 ics/radio-ads-trump-allies.html             Cultural Rifts                            By Michael C Bender                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/polit
                        ics/supreme-court-lindsey-graham-                                                     By Adam Liptak and Richard
2022-11-01   2022-11-02 georgia.html                                Graham Must Testify Supreme Court Rules Fausset                                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/polit Chief Justice Extends Hold On Obtaining
2022-11-01   2022-11-02 ics/trump-taxes-release-delay.html          Trump Taxes                               By Charlie Savage                        TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/01/us/supr A Diverse Supreme Court Questions the
2022-11-01   2022-11-02 eme-court-affirmative-action-diversity.html Value of Diversity in Education                By Adam Liptak                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/trum Inquiry Scrutinizes 3 Trump Followers Who       By Richard Fausset and Danny
2022-11-01   2022-11-02 p-georgia-election-ruby-freeman.html        Pressured Election Worker                      Hakim                               TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/01/world/a Bolsonaro Agrees to Transition of Power in
2022-11-01   2022-11-02 mericas/bolsonaro-protest-brazil-election.html Brazil                                       By Jack Nicas and Andr Spigariol   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/world/a
                        mericas/gustavo-petro-nicolas-maduro-          Visiting Venezuela Colombias Leader Joins in By Isayen Herrera and Julie
2022-11-01   2022-11-02 venezuela.html                                 Piercing Autocrats Isolation                 Turkewitz                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/world/a A Bridge Offered Relief for Migrants Then        By Sameer Yasir and Emily
2022-11-01   2022-11-02 sia/india-bridge-disaster.html                 Crumbled                                     Schmall                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/world/a Crowd Control Requests Went Ignored for
2022-11-01   2022-11-02 sia/south-korea-crowd-crush.html               Hours                                        By Choe SangHun                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/world/c Canada Seeks to Attract 145 Million
2022-11-01   2022-11-02 anada/canada-immigrants.html                   Immigrants                                   By Vjosa Isai                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/world/e No Clear Victor Emerges In Danish Snap           By Jasmina Nielsen and Isabella
2022-11-01   2022-11-02 urope/denmark-election.html                    Election                                     Kwai                               TX 9-257-651   2023-01-03




                                                                                  Page 4447 of 5793
                        https://www.nytimes.com/2022/11/01/world/e Russia Moves to Expel Civilians in Kherson
2022-11-01   2022-11-02 urope/russia-ukraine-kherson-civilians.html as Possible Battle Looms                      By Marc Santora                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/world/e As Russian Mortars Fall These Men Sneak
2022-11-01   2022-11-02 urope/ukraine-war-kherson.html              Forward                                       By Carlotta Gall and Ivor Prickett   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/sports/b
                        aseball/phillies-world-series-astros-game-  With Five Home Run Trots the Phillies Dart
2022-11-02   2022-11-02 3.html                                      to a 21 Lead in the Series                    By David Waldstein                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/louis Government In Louisiana May Examine           By Megan Shutzer and Rachel
2022-11-02   2022-11-02 iana-juvenile-detention-abuse.html          Youth Center                                  Lauren Mueller                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/polit
2022-11-02   2022-11-02 ics/biden-campaign-florida.html             Bidens Focus on Trail Retirement in Jeopardy By Peter Baker                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/polit
                        ics/pelosi-attack-congress-security-        Security Cameras Caught BreakIn at Pelosi By Luke Broadwater Annie Karni
2022-11-02   2022-11-02 capitol.html                                Home But No One Was Watching                  and Emily Cochrane                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/world/
                        middleeast/israel-election-netanyahu-       Netanyahus Party Holds Slight Lead in Israeli By Patrick Kingsley and Isabel
2022-11-02   2022-11-02 lapid.html                                  Election Polls Show                           Kershner                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/busines
2022-11-02   2022-11-02 s/coliving-housing-dorms.html               As Rents Rise CoLiving Makes Comeback         By C J Hughes                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/sports/f Building a Winner With Spare Parts Rookies
2022-11-02   2022-11-02 ootball/geno-smith-seattle-seahawks.html    and Retreads                                  By Mike Tanier                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/us/polit Damage of ISIS Lingers for Daughter of
2022-11-02   2022-11-02 ics/isis-fluke-ekren-trial.html             American Militant                             By Adam Goldman                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/21/movies/
2022-10-21   2022-11-03 martine-syms-the-african-desperate.html     Art School Yes but Not So Confidential        By Nicolas Rapold                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/25/style/pe
2022-10-25   2022-11-03 rfectly-imperfect-party-newsletter.html     The Cool People Own This Forum                By Alex Hawgood                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/27/arts/des
2022-10-27   2022-11-03 ign/manifesta-kosovo-art.html               The Art World Came to Kosovo What Now By Alex Marshall                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/opinion Could Crime Worries Push New Yorkers To
2022-10-31   2022-11-03 /lee-zeldin-kathy-hochul-governor.html      Pick Zeldin                                   By Mark Penn                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/style/up
2022-10-31   2022-11-03 cycle-nation.html                           No Silk Purses Out of Sows Ears but Close     By Ruth La Ferla                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/arts/chr Christine Farnon 97 Guiding Light of the
2022-11-01   2022-11-03 istine-farnon-dead.html                     Grammys                                       By Alex Traub                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/arts/mu
2022-11-01   2022-11-03 sic/taylor-swift-eras-tour.html             Taylor Swifts Eras Tour Heads to Stadiums By Ben Sisario                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/nyregio Bernard Rosen 91 Brains Behind New York
2022-11-01   2022-11-03 n/bernard-rosen-dead.html                   City Budgets                                  By Sam Roberts                       TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/01/opinion In the Political Talk Show Race Outrage Is
2022-11-01   2022-11-03 /decline-of-late-night-liberal-television.html Winning                                     By Tressie McMillan Cottom          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/style/ad
2022-11-01   2022-11-03 idas-yeezy-nike-sneaker-market.html            If You Were in His Shoes                    By Vanessa Friedman                 TX 9-257-651   2023-01-03



                                                                                  Page 4448 of 5793
                        https://www.nytimes.com/2022/11/01/style/vo Day of the Dead Gets Dressed Up For Its
2022-11-01   2022-11-03 gue-mexico-day-of-the-dead-gala.html        Own Gala                                   By Oscar Lopez                  TX 9-257-651             2023-01-03
                        https://www.nytimes.com/2022/11/01/us/harv                                             By Linda Qiu and Dumebi Malaika
2022-11-01   2022-11-03 ard-diversity-affirmative-action.html       Racial Dynamics At Harvard From the Inside Menakaya                        TX 9-257-651             2023-01-03
                        https://www.nytimes.com/2022/11/01/sports/f John McVay Who Led 49ers Dynasty After a
2022-11-02   2022-11-03 ootball/john-mcvay-dead.html                Gaffe by His Giants Dies at 91             By Richard Goldstein            TX 9-257-651             2023-01-03
                        https://www.nytimes.com/2022/11/02/arts/des
2022-11-02   2022-11-03 ign/abortion-roe-v-wade.html                A Nation Transformed In the Age of Roe     By Jennifer Schuessler          TX 9-257-651             2023-01-03
                        https://www.nytimes.com/2022/11/02/arts/des
                        ign/rijksmuseum-disputed-vermeer-           Vermeer Show Will Include One Recently
2022-11-02   2022-11-03 painting.html                               Disputed Work                              By Graham Bowley                TX 9-257-651             2023-01-03
                        https://www.nytimes.com/2022/11/02/arts/geo George Booth 96 New Yorker Cartoonist of
2022-11-02   2022-11-03 rge-booth-dead.html                         Sublime Zaniness Dies                      By Robert D McFadden            TX 9-257-651             2023-01-03
                        https://www.nytimes.com/2022/11/02/arts/mu
2022-11-02   2022-11-03 sic/steve-reich.html                        Always Pushing Limits In Music             By Joshua Barone                TX 9-257-651             2023-01-03
                        https://www.nytimes.com/2022/11/02/busines
                        s/cbs-les-moonves-sexual-misconduct-        Paramount and Moonves Settle Sex           By Rebecca Robbins and Benjamin
2022-11-02   2022-11-03 paramount.html                              Misconduct Case                            Mullin                          TX 9-257-651             2023-01-03

                        https://www.nytimes.com/2022/11/02/busines Fed Ratchets Up Rates and Hints At More to
2022-11-02   2022-11-03 s/federal-reserve-interest-rates-inflation.html Come                                          By Jeanna Smialek                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/02/busines KrogerAlbertsons Deal Hits Snags on
2022-11-02   2022-11-03 s/kroger-albertsons-dividend-lawsuit.html       Dividend Plan                                 By Lauren Hirsch                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/02/busines New York Times Adds 180000 Digital
2022-11-02   2022-11-03 s/media/nyt-q3-2022-earnings.html               Readers                                       By Katie Robertson               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/02/busines
2022-11-02   2022-11-03 s/stock-market-fed.html                         Shares Slide as Fed Leaves Investors Uneasy   By Joe Rennison                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/climate As Waters Rise US Quietly Tests a New              By Christopher Flavelle and Tailyr
2022-11-02   2022-11-03 /native-tribes-relocation-climate.html          Strategy                                      Irvine                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/health/c
2022-11-02   2022-11-03 vs-walgreens-opioids-settlement.html            Drug Chains Near Deal in Opioid Lawsuits      By Jan Hoffman                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/02/insider/
2022-11-02   2022-11-03 personal-tech-brian-chen.html                   A Personal Tech Column Zooms Out              By Brian X Chen                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/02/nyregio A Group Raised Money to Push Adamss                By Nicholas Fandos and Dana
2022-11-02   2022-11-03 n/eric-adams-pac-cockfield.html                 Agenda Much of It Went to One Man             Rubinstein                       TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/02/nyregio Zeldin Fueled by Reinvention Tries for an
2022-11-02   2022-11-03 n/ny-lee-zeldin-profile-governor.html           Upset in New York                             By Nicholas Fandos               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/02/nyregio Protesters Settle With Trump In Bodyguard
2022-11-02   2022-11-03 n/trump-protesters-settlement.html              Assault Case                                  By Jonah E Bromwich              TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/02/opinion Trumps Guys Have Their Work Cut Out for
2022-11-02   2022-11-03 /trump-midterm-endorsements-senate.html     Them                                              By Gail Collins                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/02/sports/b 1000 Home Runs We Touch Em All Well
2022-11-02   2022-11-03 aseball/1000-world-series-homers.html       Some of Em                                        By Tyler Kepner                  TX 9-257-651     2023-01-03




                                                                                   Page 4449 of 5793
                        https://www.nytimes.com/2022/11/02/sports/b
2022-11-02   2022-11-03 asketball/kevin-durant-kyrie-irving-nets.html All the Interesting Action Is Off the Court By Kris Rhim                  TX 9-257-651        2023-01-03
                        https://www.nytimes.com/2022/11/02/sports/b Irving Remains So the Nets Failed to Solve
2022-11-02   2022-11-03 asketball/kyrie-irving-steve-nash.html        Anything                                    By Kurt Streeter              TX 9-257-651        2023-01-03
                        https://www.nytimes.com/2022/11/02/sports/f
                        ootball/dan-snyder-washington-commanders-
2022-11-02   2022-11-03 sale.html                                     Snyders Hire Bankers To Explore Team Sale By Ken Belson and Jenny Vrentas TX 9-257-651        2023-01-03

                        https://www.nytimes.com/2022/11/02/sports/n Looking to Fend Off NCAA Kansas
2022-11-02   2022-11-03 caabasketball/kansas-bill-self-penalty.html Announces Suspension of Coach            By Adam Zagoria                        TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/02/sports/n
                        caabasketball/overtime-elite-amazon-prime- Amazon Prime Video Adds Overtime Elite To
2022-11-02   2022-11-03 video-deal.html                             Streaming Content                        By Adam Zagoria                        TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/02/technol
2022-11-02   2022-11-03 ogy/midterm-elections-misinformation.html Falsehoods Over Voting Circulate                  By Cecilia Kang                 TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/02/technol                                                  By Kate Conger Ryan Mac and
2022-11-02   2022-11-03 ogy/musk-twitter-advertisers-civil-rights.html To Reassure Musk Eases Into Change           Tiffany Hsu                     TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/02/technol
                        ogy/personaltech/security-cameras-
2022-11-02   2022-11-03 surveillance-privacy.html                      Security Cameras Public Safety vs Privacy    By Brian X Chen                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/02/technol Tumblr Lifts Ban on Nude Images Up to a
2022-11-02   2022-11-03 ogy/tumblr-nudity-explicit-posts.html          Point                                        By Claire Fahy                  TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/02/theater/
2022-11-02   2022-11-03 parade-review-city-center.html                 After a Murder Trial a Murder                By Juan A Ramrez                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/02/theater/
                        quiara-alegria-hudes-my-broken-
2022-11-02   2022-11-03 language.html                                  Her Ancestors Inspired a Return              By Jose Sols                    TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/02/us/elect
                        ions/influencers-political-ads-tiktok-         That Influencer Posting About the Election
2022-11-02   2022-11-03 instagram.html                                 Might Be Paid for It                         By Stephanie Lai                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/02/us/harv
2022-11-02   2022-11-03 ard-insurance-affirmative-action.html          Harvard Loses Suit to Cover Legal Costs      By Adam Liptak                  TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/02/us/polit Biden Warns Nation Democratic Traditions
2022-11-02   2022-11-03 ics/biden-speech-democracy-election.html       Are in Danger                                By Peter Baker                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/us/polit                                                 By Nick Corasaniti and Alexandra
2022-11-02   2022-11-03 ics/election-lawyers-trump-midterms.html       Same Trump Lawyers Gear Up for Midterms      Berzon                           TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/02/us/polit Trump Adviser Is Offered Immunity in      By Michael S Schmidt and Alan
2022-11-02   2022-11-03 ics/justice-department-trump-kash-patel.html Documents Inquiry                        Feuer                           TX 9-257-651          2023-01-03
                        https://www.nytimes.com/2022/11/02/us/polit Oath Keepers Leader Sought to Get Message
2022-11-02   2022-11-03 ics/oath-keepers-trump-jan-6.html            To Trump After Jan 6                     By Alan Feuer and Zach Montague TX 9-257-651          2023-01-03




                                                                                  Page 4450 of 5793
                        https://www.nytimes.com/2022/11/02/us/polit
                        ics/patty-murray-tiffany-smiley-washington- A Liberal State Wakes Up to the Possibility a
2022-11-02   2022-11-03 senate.html                                 Senate Seat Might Flip                        By Emily Cochrane                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/us/polit Top Democrat Grills Police After Pelosi
2022-11-02   2022-11-03 ics/pelosi-capitol-police-lofgren.html      Attack                                        By Luke Broadwater               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/us/polit Rattle West Force Negotiations Assessing      By Julian E Barnes Helene Cooper
2022-11-02   2022-11-03 ics/putin-russia-nuclear-weapons.html       Threats Made by Putin                         and Eric Schmitt                 TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/02/us/polit
2022-11-02   2022-11-03 ics/republicans-social-security-medicare.html GOP Signals Plans to Shrink Social Security By Jim Tankersley                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/us/polit Russian Military Talked of Using Nuclear      By Helene Cooper Julian E Barnes
2022-11-02   2022-11-03 ics/russia-ukraine-nuclear-weapons.html       Arms                                        and Eric Schmitt                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/us/polit Trump Lawyer Expressed Worry Over
2022-11-02   2022-11-03 ics/trump-emails-voter-fraud.html             Election Claims                             By Luke Broadwater               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/us/state-
2022-11-02   2022-11-03 supreme-court-races-campaigns.html            Elections Get A New Focus Judicial Seats    By Michael Wines                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/us/texa Battle for the Latino Vote in Texas Moves to By Edgar Sandoval and J David
2022-11-02   2022-11-03 s-hispanic-voters.html                        the Cities Where the GOP Is Hopeful         Goodman                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/us/twitt Invaluable Blue Badges May Soon Have a
2022-11-02   2022-11-03 er-verification-elon-musk.html                Price                                       By Amanda Holpuch                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/world/a Truce Is Reached in Ethiopias 2Year Civil      By Declan Walsh Abdi Latif Dahir
2022-11-02   2022-11-03 frica/ethiopia-tigray-civil-war.html          War                                         and Lynsey Chutel                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/world/a Denying Defeat Bolsonaros Supporters Ask
2022-11-02   2022-11-03 mericas/bolsonaro-election-protests.html      Army to Step In                             By Jack Nicas                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/world/a Unease as Covid Lockdown Detains 200000 By Chang Che and Amy Chang
2022-11-02   2022-11-03 sia/china-foxconn-workers.html                at iPhone Plant in China                    Chien                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/world/e
                        urope/denmark-election-social-                CenterLeft Coalition in Denmark Wins        By Jasmina Nielsen and Isabella
2022-11-02   2022-11-03 democrats.html                                Majority After Tangled Race                 Kwai                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/world/e A City Lit Up With Nightlife Is Suddenly       By Marc Santora and Brendan
2022-11-02   2022-11-03 urope/ukraine-kyiv-power-darkness.html        Draped in Darkness                          Hoffman                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/world/e Russia Reverses Course and Rejoins Ukraine By Ivan Nechepurenko and
2022-11-02   2022-11-03 urope/ukraine-russia-grain-black-sea.html     Grain Deal at Least for Now                 Matthew Mpoke Bigg               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/world/
                        middleeast/iran-protests-crackdown-           A Chilling Crackdown at a Tehran Apartment
2022-11-02   2022-11-03 tehran.html                                   Complex                                     By Farnaz Fassihi                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/02/world/ UN Pushes Consequences For Handling Of
2022-11-02   2022-11-03 middleeast/iran-protests-united-nations.html Iran Revolt                                 By Farnaz Fassihi               TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/02/world/     Shift Toward Parties On Fringes Could Have
2022-11-02   2022-11-03 middleeast/israel-election-5-takeaways.html   Lasting Effect on Israel                   By Patrick Kingsley             TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/02/world/     Netanyahu Victory Near the Far Right
2022-11-02   2022-11-03 middleeast/israel-election-netanyahu.html     Celebrates                                 By Patrick Kingsley             TX 9-257-651     2023-01-03




                                                                                  Page 4451 of 5793
                        https://www.nytimes.com/2022/11/02/sports/b
                        aseball/astros-world-series-no-hitter-game-
2022-11-03   2022-11-03 4.html                                      A NoHitter and Its All Tied                By Scott Miller                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/sports/b
                        asketball/kyrie-irving-nets-donation-       Nets and Irving to Donate To AntiHate
2022-11-03   2022-11-03 antisemitic.html                            Organizations                              By Tania Ganguli                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/world/a North Korea Fires 3 More Missiles and Japan By Choe SangHun and Motoko
2022-11-03   2022-11-03 sia/north-korea-missile-japan.html          Goes on Alert                              Rich                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/style/lo Pedestrians in Los Angeles Get Ready to
2022-11-03   2022-11-03 s-angeles-jaywalking-law.html               Jaywalk                                    By Will Higginbotham            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/style/st
                        even-klein-photography-the-voyeur-in-
2022-11-03   2022-11-03 repose.html                                 A Slightly Perverse Sense of Beauty        By Jacob Bernstein              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/style/th Gas Station Sunglasses Suddenly Become
2022-11-03   2022-11-03 e-wraparound-renaissance.html               Chic                                       By Cassidy George               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/polit ExPolitician Hopes To Free 2 Americans But
2022-11-03   2022-11-03 ics/bill-richardson-griner-whelan.html      the US Is Wary                             By Michael Crowley              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/polit
                        ics/midterms-immigration-democrats-         Democrats Waver on Immigration Message as
2022-11-03   2022-11-03 republicans.html                            Republicans Press Attack                   By Jazmine Ulloa                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/10/28/arts/des
2022-10-28   2022-11-04 ign/emily-dickinson-museum-renovation.html Emily Dickinson in Her FullColor Life        By Jennifer Schuessler         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/busines                                              By Liz Alderman and Patricia
2022-11-01   2022-11-04 s/europe-energy-crisis.html                 Europe Braces for an Austere Winter         Cohen                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/movies/
2022-11-01   2022-11-04 god-forbid-review.html                      God Forbid                                  By Calum Marsh                 TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/01/opinion Asian American Students Face Bias in More
2022-11-01   2022-11-04 /affirmative-action-asian-american-bias.html Than One Way                                 By Jennifer Lee              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/us/dani Daniel Smith 90 Thought to Be Last Child of
2022-11-01   2022-11-04 el-smith-dead.html                           Enslaved Person Dies                         By Clay Risen                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/arts/des Harry Bates 95 Architect Who Kept the
2022-11-02   2022-11-04 ign/harry-bates-dead.html                    Modernist Flame Burning Dies                 By Fred A Bernstein          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/busines What Is the Treasury Market and Why Is It So
2022-11-02   2022-11-04 s/treasury-yields-bond-market.html           Important                                    By Isabella Simonetti        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/health/ Health Risks Associated With Flaws In
2022-11-02   2022-11-04 pulse-oximeters-black-patients.html          Devices                                      By Christina Jewett          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/movies/
2022-11-02   2022-11-04 enola-holmes-2-review.html                   Enola Holmes 2                               By Beandrea July             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/opinion
2022-11-02   2022-11-04 /sandwich-generation.html                    The Sandwich Generation Is Getting Squished By Jessica Grose              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/theater/
2022-11-02   2022-11-04 the-year-of-magical-thinking-review.html     On an Aptly Intimate Scale a Memoir of Grief By Laura CollinsHughes       TX 9-257-651   2023-01-03




                                                                                Page 4452 of 5793
                        https://www.nytimes.com/2022/11/02/movies/
2022-11-03   2022-11-04 selena-gomez-my-mind-and-me-review.html Selena Gomez My Mind amp Me                     By Chris Azzopardi                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/03/arts/car At Carnegie Art and Messages Come in a
2022-11-03   2022-11-04 negie-international-exhibition-pittsburgh.html Deluge                                   By Will Heinrich                  TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/03/arts/dan
2022-11-03   2022-11-04 ce/ayodele-casel-chasing-magic-review.html Joyfully Tapping Her Way Back to the Joyce   By Brian Seibert                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/arts/des Painting Ranks First but Other Works
2022-11-03   2022-11-04 ign/art-show-park-avenue-armory.html           Flourish                                 By Martha Schwendener             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/arts/des
2022-11-03   2022-11-04 ign/croatia-jewish-art-restitution.html        Croatia Takes Steps to Return Art        By Catherine Hickley              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/arts/des
                        ign/john-ahearn-rigoberto-torres-bronx-
2022-11-03   2022-11-04 museum.html                                    Bronx Culture Brought Back Home          By Travis Diehl                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/arts/mu
                        sic/new-york-philharmonic-david-geffen-
2022-11-03   2022-11-04 hall.html                                      Geffen Hall Is Put to the Test           By Zachary Woolfe                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/arts/tele
                        vision/dangerous-liaisons-starz-alice-englert-
2022-11-03   2022-11-04 nicholas-denton.html                           Poisonous Love In Its First Flush        By Alexis Soloski                 TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/03/arts/tele
2022-11-03   2022-11-04 vision/phil-spector-documentary-mood.html This Weekend I Have                           By Margaret Lyons                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/busines
2022-11-03   2022-11-04 s/bank-of-england-interest-rates.html         A Punch to Inflation With a Caveat        By Eshe Nelson                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/busines Showdown Looms Over Debt Limit               By Emily Cochrane and Jim
2022-11-03   2022-11-04 s/biden-debt-limit-shutdown.html              Unsettling Lawmakers and Investors        Tankersley                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/busines After 2 Years CNBC Ends Run by Former
2022-11-03   2022-11-04 s/media/shepard-smith-cnbc.html               Fox Anchor                                By Benjamin Mullin                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/busines                                              By Joe Rennison and Tara Siegel
2022-11-03   2022-11-04 s/mortgage-rates-fed-wall-street.html         Taking Stock Of Climbing Home Rates       Bernard                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/climate                                              By Dionne Searcey and Arlette
2022-11-03   2022-11-04 /gabon-logging-oil-economy.html               Gabon Pivots To Its Forests As Oil Wanes  Bashizi                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/movies/
                        bardo-false-chronicle-of-a-handful-of-truths- Mr InBetween A Decent Guy Owns a Vexed
2022-11-03   2022-11-04 review.html                                   Soul                                      By AO Scott                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/movies/
2022-11-03   2022-11-04 causeway-review.html                          Companions Traveling The Road to Recovery By AO Scott                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/movies/
2022-11-03   2022-11-04 good-night-oppy-review.html                   Experiencing Life Well Kind Of on Mars    By Ben Kenigsberg                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/movies/
2022-11-03   2022-11-04 meet-me-in-the-bathroom-review.html           Meet Me in the Bathroom                   By Glenn Kenny                    TX 9-257-651   2023-01-03




                                                                                Page 4453 of 5793
                        https://www.nytimes.com/2022/11/03/movies/
2022-11-03   2022-11-04 next-exit-review-end-of-the-road.html      Next Exit                                   By Nicolas Rapold               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/03/movies/
2022-11-03   2022-11-04 nocebo-review.html                         Nocebo                                      By Jason Zinoman                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/03/movies/
                        review-in-you-resemble-me-a-maladjusted-
2022-11-03   2022-11-04 girl-is-interrupted.html                   You Resemble Me                             By Devika Girish                TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/03/movies/
2022-11-03   2022-11-04 salvatore-shoemaker-of-dreams-review.html Salvatore Shoemaker Of Dreams                By Natalia Winkelman            TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/03/movies/
2022-11-03   2022-11-04 soft-quiet-review.html                     Soft amp Quiet                              By Beatrice Loayza              TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/03/movies/
2022-11-03   2022-11-04 something-in-the-dirt-review.html          Something in the Dirt                       By Jeannette Catsoulis          TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/03/movies/
2022-11-03   2022-11-04 utama-review-bolivia.html                  Waiting for Rain That Never Falls           By Manohla Dargis               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/03/movies/
2022-11-03   2022-11-04 weird-the-al-yankovic-story-review.html    Behind the Music With a Huge Grin           By Amy Nicholson                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/03/nyregio City Pledges to Get Delayed Payments to     By Emma G Fitzsimmons and Troy
2022-11-03   2022-11-04 n/child-care-funding-nyc.html              Child Care Centers                          Closson                         TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/03/nyregio City Buildings Chief Quits Amid Gambling    By William K Rashbaum Jeffery C
2022-11-03   2022-11-04 n/eric-ulrich-resigns-gambling.html        Inquiry                                     Mays and Jonah E Bromwich       TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/03/nyregio With Support From Other Barrier Breakers
2022-11-03   2022-11-04 n/hochul-women-kamala-harris.html          Hochul Embraces Bid to Make History Again By Michael Gold                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/03/nyregio
2022-11-03   2022-11-04 n/ny-immigration-courts-migrants.html      Migrants Find Chaos In New Yorks Courts By Hurubie Meko                     TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/03/nyregio Fired From Rochester Police Job Candidate
2022-11-03   2022-11-04 n/rochester-singletary-morelle-election.html Runs on Public Safety Issue               By Jesse McKinley               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/03/nyregio FBI Warns Synagogues In New Jersey Of a     By Tracey Tully and Shlomo
2022-11-03   2022-11-04 n/synagogues-new-jersey-threats.html         Threat                                    Schorr                          TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/03/nyregio Drug Maker To Pay State 523 Million In
2022-11-03   2022-11-04 n/teva-new-york-opioid-settlement.html       Settlement                                By Sarah Maslin Nir              TX 9-257-651   2023-01-03
                                                                                                               By Jonah E Bromwich Maggie
                        https://www.nytimes.com/2022/11/03/nyregio Trump Files a Lawsuit in Florida Against    Haberman Ben Protess and William
2022-11-03   2022-11-04 n/trump-lawsuit-ny-attorney-general.html   New Yorks Attorney General                  K Rashbaum                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/opinion Why Arent the Democrats Trouncing These
2022-11-03   2022-11-04 /democrats-midterms-college.html           Guys                                        By David Brooks                 TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/03/opinion A Republican House Majority Could Be
2022-11-03   2022-11-04 /midterms-republicans-house-majority.html Alarmingly Combative                         By Josh Chafetz                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/03/realesta FirstTime Buyers Losing Out to the Older
2022-11-03   2022-11-04 te/housing-market-buyer-wealth-race.html    Whiter and Wealthier                       By Ronda Kaysen                 TX 9-257-651    2023-01-03




                                                                                Page 4454 of 5793
                        https://www.nytimes.com/2022/11/03/sports/b
                        aseball/christian-vazquez-astros-world-     When It Comes to the Game 4 NoHitter Dont
2022-11-03   2022-11-04 series.html                                 Forget Houstons Catcher                   By David Waldstein                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/sports/b
                        aseball/cristian-javier-framber-valdez-
2022-11-03   2022-11-04 astros.html                                 The Astros Secret Is Hidden No Longer     By Tyler Kepner                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/sports/b
                        aseball/dusty-baker-no-hitter-world-        Baker Has Seen It All And in This Case
2022-11-03   2022-11-04 series.html                                 Twice                                     By James Wagner                    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/03/sports/b Psychologist Says Spurs Ignored Claim of
2022-11-03   2022-11-04 asketball/josh-primo-spurs-allegations.html Player Exposing Himself to Her              By Jenny Vrentas and Sopan Deb   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/sports/b
                        asketball/kyrie-irving-apology-antisemitic- Nets Suspend Irving After He Passes on
2022-11-03   2022-11-04 documentary.html                            Apology                                     By Tania Ganguli                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/sports/b
                        asketball/miles-bridges-domestic-violence-  NBA Forward Pleads No Contest To Felony
2022-11-03   2022-11-04 hornets.html                                Domestic Violence Charge                    By Sopan Deb                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/sports/s A Free Fan Experience That Comes With a
2022-11-03   2022-11-04 occer/qatar-fans-travel.html                Price                                       By Tariq Panja                   TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/03/technol Musk Scours Twitter for Revenue to Sustain
2022-11-03   2022-11-04 ogy/elon-musk-twitter-money-finances.html It                                            By Mike Isaac and Ryan Mac       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/technol
                        ogy/tech-companies-hiring-freeze-job-      Tech Giants Announce Hiring Freezes and
2022-11-03   2022-11-04 cuts.html                                  Job Cuts                                     By Kalley Huang                  TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/03/upshot/ Some Medicare Insurers Mislead Older         By Reed Abelson and Margot
2022-11-03   2022-11-04 private-medicare-misleading-marketing.html Adults Senate Report Says                    SangerKatz                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/cher Cherokees Asking US to Honor 1835 Pledge
2022-11-03   2022-11-04 okees-congress-delegate-treaty.html         for House Delegate                          By Simon Romero                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/midt Fears Over Crime Weigh on Voters             By Julie Bosman Jack Healy and
2022-11-03   2022-11-04 erm-elections-republicans-crime.html        Benefiting GOP                              Campbell Robertson               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/paul-                                             By Luke Broadwater and Kellen
2022-11-03   2022-11-04 pelosi-leaves-hospital.html                 Speakers Husband Exits California Hospital Browning                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/polit                                             By Michael D Shear and David E
2022-11-03   2022-11-04 ics/biden-netanyahu.html                    Longtime Peers Face Complicated New Era Sanger                               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/polit
                        ics/climate-natural-gas-hydrogen-new-       Subsidy for Clean Energy But Is That Energy
2022-11-03   2022-11-04 mexico.html                                 Clean                                       By Eric Lipton                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/polit Oz Leaning Into Status As Celebrity
2022-11-03   2022-11-04 ics/dr-oz-pennsylvania-senate.html          Physician                                   By Katie Glueck                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/polit South Dakota Voters Are Likely to Approve
2022-11-03   2022-11-04 ics/medicaid-expansion-south-dakota.html    Medicaid Expansion                          By Sheryl Gay Stolberg           TX 9-257-651   2023-01-03




                                                                               Page 4455 of 5793
                        https://www.nytimes.com/2022/11/03/us/polit Billionaire Donors Smash Political Spending   By Jonathan Weisman and Rachel
2022-11-03   2022-11-04 ics/midterm-money-billionaires.html         Records                                       Shorey                         TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/03/us/polit
                        ics/midterms-early-voting-battleground-     Americans Flock to Vote Early as Hints
2022-11-03   2022-11-04 states.html                                 Emerge of Republican Strength                 By Nick Corasaniti               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/polit Two Issues Define Costly and Fiercely
2022-11-03   2022-11-04 ics/nevada-senate-cortez-masto-laxalt.html  Competitive Nevada Senate Race                By Danny Hakim                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/polit
                        ics/pelosi-attack-depape-illegal-
2022-11-03   2022-11-04 immigration.html                            Pelosi Attack Suspect Was Illegally in US     By Eileen Sullivan               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/polit Voting Officials Say Intimidation Is
2022-11-03   2022-11-04 ics/voting-intimidation-democracy.html      Increasing                                    By Neil Vigdor and Jon Hurdle    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/stace Expert Claimed Abrams Had Conflicts of
2022-11-03   2022-11-04 y-abrams-ethics-voting-rights.html          Interest But Boss Issued Retraction           By Michael Powell                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/uval On Day of the Dead a Time to Remember in       By Edgar Sandoval and Tamir
2022-11-03   2022-11-04 de-day-of-the-dead.html                     Uvalde                                        Kalifa                           TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/03/world/a
2022-11-03   2022-11-04 frica/ethiopia-tigray-civil-war-agreement.html Winners and Losers in Ethiopias Peace Deal By Abdi Latif Dahir              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/world/a Indian Medicine Suspected in Deaths of 70      By Hari Kumar Saikou Jammeh
2022-11-03   2022-11-04 sia/india-gambia-cough-syrup.html              Children in Gambia                         Mujib Mashal and Elian Peltier   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/world/a ExPrime Minister of Pakistan Is Shot in        By Salman Masood and Christina
2022-11-03   2022-11-04 sia/pakistan-imran-khan-shot.html              Attack at Rally                            Goldbaum                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/world/d DeepSea Mining Trial Nears End and Debate
2022-11-03   2022-11-04 eep-sea-mining.html                            Swells                                     By Eric Lipton                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/world/e Racist Remark By Lawmaker In France Riles
2022-11-03   2022-11-04 urope/france-racism-parliament.html            Parliament                                 By Aurelien Breeden              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/world/e Hannah PickGoslar 93 Friend of Anne Frank
2022-11-03   2022-11-04 urope/hannah-pick-goslar-dead.html             Who Appeared in Her Diary                  By Richard Sandomir              TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/03/world/e In Europe Refugee Crisis Stirs Uncomfortable By Erika Solomon and Monika
2022-11-03   2022-11-04 urope/refugee-crisis.html                   Questions About Uneven Treatment             Pronczuk                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/world/e Residents Stocking Up In Kherson as Armies By Marc Santora and Ivan
2022-11-03   2022-11-04 urope/russia-ukraine-kherson-battle.html    Prepare for a Battle                         Nechepurenko                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/world/e Like Others Before Him Sunak Must Deal
2022-11-03   2022-11-04 urope/uk-rishi-sunak-boris-johnson.html     With Johnsons Shadow                         By Mark Landler                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/world/
2022-11-03   2022-11-04 middleeast/israel-netanyahu-election.html   Path Is Cleared For Netanyahu To Lead Israel By Patrick Kingsley               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/world/ Its Big Moment Is Almost Here Is Qatar
2022-11-03   2022-11-04 middleeast/world-cup-qatar.html             Ready                                        By Christina Goldbaum             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/technol Musk Starts With Layoffs To Reduce Costs at
2022-11-04   2022-11-04 ogy/twitter-layoffs-elon-musk.html          Twitter                                      By Kate Conger and Ryan Mac       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/theater/
2022-11-04   2022-11-04 almost-famous-review.html                   Like a Cover Band Not Up to the Task         By Jesse Green                    TX 9-257-651   2023-01-03




                                                                                 Page 4456 of 5793
                        https://www.nytimes.com/2022/11/03/us/newt-Gingrich Will Testify Before Jan 6 Panel His
2022-11-04   2022-11-04 gingrich-jan-6-testify-trump.html           Lawyer Says                                   By Richard Fausset               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/polit
                        ics/justice-department-trump-special-       Justice Dept May Appoint A Prosecutor For
2022-11-04   2022-11-04 counsel.html                                Trump                                         By Glenn Thrush                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/movies/
2022-11-04   2022-11-04 the-estate-review.html                      The Estate                                    By Teo Bugbee                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/pageon
2022-11-04   2022-11-04 eplus/weather-report-changes.html           A Small Change in the Weather                 By Michael Dailey                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/04/sports/n Louisvilles Penalties Such as They Are
2022-11-04   2022-11-04 caa-iarp-penalties-louisville-basketball.html Bolster the Status Quo                    By Billy Witz                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/technol Deepfakes Flourish on TikTok Raising
2022-11-04   2022-11-04 ogy/tiktok-deepfakes-disinformation.html      Alarms                                    By Tiffany Hsu                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/us/polit
                        ics/abortion-midterms-democrats-              As Campaign Nears End Democrats See The
2022-11-04   2022-11-04 republicans.html                              Limits of a Focus on Abortion Rights      By Lisa Lerer and Elizabeth Dias   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/10/
                        20/upshot/biden-budget-before-after-          See Everything the White House Wanted and By Aatish Bhatia Francesca Paris
2022-10-20   2022-11-05 animation.html                                Everything It Got                         and Margot SangerKatz              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/26/travel/c Chasing Spirits Mexico Citys House
2022-10-26   2022-11-05 oyoacan-mexico-city-museums.html              Museums                                   By Francine Prose                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/29/travel/o Sip Oregon Wine Country No Driving
2022-10-29   2022-11-05 regon-wine-country-by-bus.html                Required                                  By Elaine Glusac                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/30/dining/
2022-10-30   2022-11-05 what-to-cook-this-week.html                   What to Cook Next Week                    By Sam Sifton                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/arts/des
                        ign/rebecca-morris-peter-bradley-abstract-
2022-11-03   2022-11-05 art.html                                      In LA Art About Nothing                   By Jonathan Griffin                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/arts/ind
                        ia-convicts-antiquities-dealer-subhash-                                                 By Colin Moynihan and Tom
2022-11-03   2022-11-05 kapoor.html                                   India Convicts Antiquities Dealer         Mashberg                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/arts/rod Rodney Graham Artist Who Starred in His
2022-11-03   2022-11-05 ney-graham-dead.html                          Own Work Dies at 73                       By Alex Williams                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/miss Worries Rise and Wrecks Emerge as a River
2022-11-03   2022-11-05 issippi-river-drought.html                    Dries Up                                  By Rick Rojas                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/world/a The Messiness of a Motive in the Attack on
2022-11-03   2022-11-05 mericas/pelosi-attack-interpreter.html        Paul Pelosi                               By Max Fisher                      TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/03/arts/dan Paul Taylor Dance Company Is Accused of
2022-11-04   2022-11-05 ce/paul-taylor-dance-company-lawsuit.html Discrimination                                  By Javier C Hernndez             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/sports/f
2022-11-04   2022-11-05 ootball/ray-guy-dead.html                   Ray Guy 72 First Hall of Fame Punter          By Alex Williams                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/arts/des
2022-11-04   2022-11-05 ign/jennifer-guidi-kordansky-grotjahn.html  Distilling The World To Create Tranquillity   By Robin Pogrebin                TX 9-257-651   2023-01-03



                                                                                 Page 4457 of 5793
                        https://www.nytimes.com/2022/11/04/arts/mu
2022-11-04   2022-11-05 sic/barbra-streisand-live-at-the-bon-soir.html That Girl Can Sing                            By Wesley Morris                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/arts/mu
2022-11-04   2022-11-05 sic/don-carlo-met-opera-review.html            The Mets Shorter Weaker Version of Verdi By Seth Colter Walls                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/arts/tele
                        vision/netflix-the-crown-elizabeth-debicki-
2022-11-04   2022-11-05 dominic-west.html                              The Crown Has a New Couple to Rend            By Kathryn Shattuck             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/books/k Katherine DuncanJones 81 Scholar Who
2022-11-04   2022-11-05 atherine-duncan-jones-dead.html                Deemed Shakespeare a Scrooge                  By Clay Risen                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/busines In Report Fed Frets About Shadow Banks and By Jeanna Smialek and Joe
2022-11-04   2022-11-05 s/economy/fed-shadow-banks.html                Liquidity in Market for Treasuries            Rennison                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/busines
                        s/economy/federal-reserve-inflation-           Expectations of Inflation Can Add to the
2022-11-04   2022-11-05 expectations.html                              Problem                                       By Jeanna Smialek               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/busines
2022-11-04   2022-11-05 s/economy/october-jobs-report.html             Job Data Stays Strong Despite Inflation Curbs By Sydney Ember                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/busines China and European Union Are Working to By Keith Bradsher and Melissa
2022-11-04   2022-11-05 s/germany-china-covid-vaccine.html             Approve Each Others Covid19 Shots             Eddy                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/busines                                                   By Alexandra Stevenson and
2022-11-04   2022-11-05 s/hong-kong-covid-rules.html                   Hong Kong Bends the Rules for Some            Tiffany May                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/busines Officer Helped Moonves Fight Assault              By James B Stewart and Rachel
2022-11-04   2022-11-05 s/media/les-moonves-lapd.html                  Complaint                                     Abrams                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/climate
                        /native-americans-relocate-climate-            Tribes to Get US Money To Pull Back From
2022-11-04   2022-11-05 change.html                                    Shore                                         By Christopher Flavelle         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/climate Gathering in Egypt To Address Climate At
2022-11-04   2022-11-05 /united-states-climate-summit.html             Critical Moment                               By Lisa Friedman                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/04/health/f Florida Restricts Doctors From Providing
2022-11-04   2022-11-05 lorida-gender-care-minors-medical-board.html Gender Treatments to Minors                  By Azeen Ghorayshi                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/movies/
2022-11-04   2022-11-05 louis-armstrong-black-blues.html             Louis Armstrong Shares His Notes             By Alan Scherstuhl                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/nyregio
                        n/new-jersey-synagogue-security-threat-      FBI Says It Mitigated Synagogue Security     By Tracey Tully and Shlomo
2022-11-04   2022-11-05 suspect.html                                 Risk                                         Schorr                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/nyregio HighProfile Subway Crimes Overshadow           By Karen Zraick Ta Kvetenadze
2022-11-04   2022-11-05 n/new-york-subway-safety.html                Riders Low Risk                              and Francesca Paris                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/nyregio Former Trump Adviser Is Acquitted on
2022-11-04   2022-11-05 n/trump-thomas-barrack-acquitted.html        Charges of Acting as an Emirati Agent        By Rebecca Davis OBrien            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/opinion
                        /amish-mennonites-pennsylvania-
2022-11-04   2022-11-05 mastriano.html                               Mastriano and the Unlikely Amish Vote        By Bonnie Kristian                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/opinion
2022-11-04   2022-11-05 /elon-musk-twitter-free.html                 We Pay an Ugly Price for Ads on Free Twitter By Zeynep Tufekci                  TX 9-257-651   2023-01-03



                                                                                  Page 4458 of 5793
                        https://www.nytimes.com/2022/11/04/opinion
2022-11-04   2022-11-05 /israel-netanyahu.html                      The Israel We Knew Is Gone                By Thomas L Friedman              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/opinion The Dobbs Decision Revealed How Weak the
2022-11-04   2022-11-05 /pro-life-anti-abortion.html                ProLife Movement Really Is                By Matthew Walther                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/realesta
2022-11-04   2022-11-05 te/biologist-waterfront-communities.html    Biologists but in real estate             By Shivani Vora                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/realesta
2022-11-04   2022-11-05 te/turks-caicos-homes.html                  Sticking around Turks and Caicos          By Debra Kamin                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/realesta
2022-11-04   2022-11-05 te/under-water-restaurants-vacations.html   At home beneath the waves                 By Sam Lubell                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/science Remnants of Unguided Chinese Rocket
2022-11-04   2022-11-05 /china-rocket-debris.html                   Booster Splash Into Pacific               By Kenneth Chang                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/sports/b
                        aseball/chas-mccormick-catch-astros-world- An Astro Quiets a Crowd He Was Once a Part
2022-11-04   2022-11-05 series.html                                 Of                                        By David Waldstein                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/sports/b
                        aseball/jenrry-mejia-dominican-republic-    Big League Dreams Nurtured by System Rife
2022-11-04   2022-11-05 steroids.html                               With Steroids                             By James Wagner                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/sports/b Bad Flashback In Powder Blue For the      By Tyler Kepner and Photographs
2022-11-04   2022-11-05 aseball/phillies-offense-world-series.html  Phillies                                  by Doug Mills                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/sports/b
                        asketball/kyrie-irvings-nets-apology-       Apology by Irving Isnt Enough for His
2022-11-04   2022-11-05 antisemitism.html                           Suspension to End Nets Say                By Sopan Deb                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/sports/h A Potential Great Has Been More Like a
2022-11-04   2022-11-05 orse-racing/flightline-breeders-cup.html    Great Unknown                             By Joe Drape                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/sports/ Major Marathons Lifetime Ban Policy if Its
2022-11-04   2022-11-05 marathon-nyrr-lynch.html                    Tested May Violate Antidoping Rules       By Matthew Futterman              TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/04/sports/n How to Take In the Essence of New York in
2022-11-04   2022-11-05 yc-marathon-route-map-neighborhood.html 262 Miles of Steps                               By Matthew Futterman           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/technol                                               By Kate Conger Ryan Mac and
2022-11-04   2022-11-05 ogy/elon-musk-twitter-layoffs.html          Musks Layoffs Leave Twitter At Half Its Size Mike Isaac                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/technol Twitter Acknowledges Rebuffs As Its
2022-11-04   2022-11-05 ogy/twitter-advertisers.html                Advertisers Back Away                        By Tiffany Hsu                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/technol Hunting for Voter Fraud Turns Into Online
2022-11-04   2022-11-05 ogy/voter-fraud-social-media-games.html     Game                                         By Sheera Frenkel              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/theater/ Douglas McGrath Playwright Filmmaker and
2022-11-04   2022-11-05 douglas-mcgrath-dead.html                   Actor Is Dead at 64                          By Neil Genzlinger             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/theater/
2022-11-04   2022-11-05 macbeth-female-playwrights.html             Female Playwrights Revamp Macbeth            By Diep Tran                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/us/arizo Unease in Town With Ties to Voter Fraud      By Jack Healy and Alexandra
2022-11-04   2022-11-05 na-voter-fraud-san-luis.html                Film                                         Berzon                         TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/04/us/elect Moderate House Democrats Face Risk Of
2022-11-04   2022-11-05 ions/moderate-democrats-house-election.html Being Swept Out in Midterm Races           By Luke Broadwater               TX 9-257-651   2023-01-03



                                                                               Page 4459 of 5793
                        https://www.nytimes.com/2022/11/04/us/neva
2022-11-04   2022-11-05 da-asian-voters-midterms.html               Asian American Vote Is Coveted in Nevada By Amy Qin                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/us/polit President Boasts of Economic Gains With      By Alan Rappeport and Jim
2022-11-04   2022-11-05 ics/biden-midterms-social-security.html     Talking Points That Dont Really Add Up       Tankersley                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/us/polit Study Shows Booster Improves Protection for
2022-11-04   2022-11-05 ics/covid-booster-pfizer.html               Older People Pfizer Says                     By Sharon LaFraniere              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/us/polit A Democratic Crusade For Tough on Crime
2022-11-04   2022-11-05 ics/crime-midterms-ballot-democrats.html    Might Be Tough Going                         By Katie Glueck and Trip Gabriel TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/04/us/polit Five Ways Sanctions From US and Allies Are By Edward Wong Ana Swanson
2022-11-04   2022-11-05 ics/russia-sanctions-ukraine-war.html       Affecting Russia                             and Michael Crowley               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/us/polit
                        ics/secretaries-of-state-midterms-          Election Lies Have Riven OnceNeutral
2022-11-04   2022-11-05 elections.html                              Fellowship                                   By Charles Homans                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/us/polit Oath Keepers Leader Testifies in His Defense
2022-11-04   2022-11-05 ics/stewart-rhodes-oath-keepers-trial.html  at Jan 6 Sedition Trial                      By Alan Feuer and Zach Montague TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/us/polit                                              By Michael C Bender and Maggie
2022-11-04   2022-11-05 ics/trump-campaign-2024.html                Trump Poised To Announce A Third Run         Haberman                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/us/polit
                        ics/wisconsin-voting-republicans-           Wisconsin GOP Could Clinch VetoProof
2022-11-04   2022-11-05 supermajorities.html                        Hold                                         By Reid J Epstein                 TX 9-257-651   2023-01-03
                                                                                                                 By Dana Goldstein Robert Gebeloff
                        https://www.nytimes.com/2022/11/04/us/subu Soccer Moms No More Suburban Women            Allison McCann and Brent
2022-11-04   2022-11-05 rban-women-midterms.html                    Hold Key to Midterms                         McDonald                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/world/a
                        frica/ghana-transgender-musician-angel-     Using Her Voice to Persuade Ghana to Reject
2022-11-04   2022-11-05 maxine.html                                 Intolerance                                  By Kwasi Gyamfi Asiedu            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/world/a Covid Rules Delayed Care For 3YearOld in
2022-11-04   2022-11-05 sia/china-covid-lanzhou-boy.html            Lanzhou                                      By Joy Dong and Vivian Wang       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/world/a In India Widespread Pollution Leaves
2022-11-04   2022-11-05 sia/india-air-pollution-sickness.html       Hundreds of Millions Smoking Air             By Sameer Yasir and Mike Ives     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/world/a While Khan Recuperates Clashes Flare In
2022-11-04   2022-11-05 sia/pakistan-imran-khan.html                Pakistan                                     By Salman Masood                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/world/e Russian Families Unite in Search To Find      By Neil MacFarquhar and Alina
2022-11-04   2022-11-05 urope/missing-russian-soldiers.html         Soldiers                                     Lobzina                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/world/e Leaning Toward Women the Choice of
2022-11-04   2022-11-05 urope/nato-next-secretary-general.html      NATOs Next Chief Hinges on the War           By Steven Erlanger                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/world/e                                               By Valerie Hopkins Valeriya
2022-11-04   2022-11-05 urope/russia-lgbt-gays.html                 Life for Gay Russians Is About to Get Worse Safronova and Nanna Heitmann       TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/04/world/e Kremlin Sends IllTrained Draftees to Eastern
2022-11-04   2022-11-05 urope/russia-ukraine-conscripts-combat.html Front Analysts Say                          By Andrew E Kramer               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/world/
                        middleeast/iran-protests-anniversary-us-    As Protests Rage Iran Marks 1979 US
2022-11-04   2022-11-05 embassy.html                                Embassy Takeover                            By Cora Engelbrecht              TX 9-257-651     2023-01-03




                                                                                Page 4460 of 5793
                        https://www.nytimes.com/2022/11/04/world/ Israels Embrace of Far Right Leaves           By Patrick Kingsley Hiba Yazbek
2022-11-04   2022-11-05 middleeast/israel-election-palestinians.html Palestinians Worried or Numb               and Raja Abdulrahim               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/your-
                        money/health-insurance-premiums-employer-
2022-11-04   2022-11-05 plans.html                                   Expect Health Insurance Premiums to Rise   By Ann Carrns                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/us/polit
2022-11-05   2022-11-05 ics/trump-jan-6-subpoena-deadline.html       Jan 6 Panel Gives Trump Extension          By Luke Broadwater                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/nyregio GOP Is Hopeful It Can Loosen Democrats
2022-11-05   2022-11-05 n/senate-assembly-election-ny.html           Grip on the State Senate                   By Luis FerrSadurn                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/us/flori In MiamiDade Once a Lock for Democrats
2022-11-05   2022-11-05 da-miami-democrats-midterms.html             Republicans Eye a Victory                  By Patricia Mazzei                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/09/10/books/r
2022-09-10   2022-11-06 eview/kit-heyam-before-we-were-trans.html Born This Way                                 By Meredith Talusan               TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/09/18/books/r
2022-09-18   2022-11-06 eview/andy-campbell-we-are-proud-boys.html Toxic Masculinity                            By Adam Hochschild                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/09/20/books/r
2022-09-20   2022-11-06 eview/lady-justice-dahlia-lithwick.html    Sisters in Law                               By Julie C Suk                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/09/20/books/r
2022-09-20   2022-11-06 eview/youve-been-played-adrian-hon.html    Extra Lives                                  By Alexandria Symonds             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/09/28/books/r
2022-09-28   2022-11-06 ome-italy-books.html                       Read Your Way Through Rome                   By Igiaba Scego                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/02/books/r
2022-10-02   2022-11-06 eview/jenny-xie-rupture-tense-poems.html   Where Things Seethe                          By Srikanth Reddy                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/04/books/r
2022-10-04   2022-11-06 eview/life-is-hard-kieran-setiya.html      Positivity Is Overrated                      By Irina Dumitrescu               TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/10/11/books/r
2022-10-11   2022-11-06 eview/andrew-miller-slowworms-song.html Troubled                                        By Caoilinn Hughes                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/11/books/r
                        eview/daughters-of-the-new-year-e-m-
2022-10-11   2022-11-06 tran.html                                    Ripples in the Current                     By Qian Julie Wang                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/14/books/r
2022-10-14   2022-11-06 eview/lucy-ives-life-is-everywhere.html      Tales as Old as Time on Adderall           By Jane Hu                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/14/books/r
                        eview/samanta-schweblin-seven-empty-
2022-10-14   2022-11-06 houses.html                                  Peepholes                                  By Liska Jacobs                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/18/books/r
                        eview/paul-newman-the-extraordinary-life-of-
2022-10-18   2022-11-06 an-ordinary-man.html                         Paul Newmans Star Power                    By Richard Russo                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/19/books/r
                        eview/military-history-indigenous-
2022-10-19   2022-11-06 continent.html                               Forever Wars                               By Thomas E Ricks                 TX 9-257-651   2023-01-03




                                                                                 Page 4461 of 5793
                        https://www.nytimes.com/2022/10/20/books/r
2022-10-20   2022-11-06 eview/the-sassoons-joseph-sassoon.html     Dynasty                                      By Adam Rathe                    TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/10/25/movies/
2022-10-25   2022-11-06 avatar-way-of-the-water-james-cameron.html The Big Question What Took So Long           By Kyle Buchanan                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/10/27/style/co
2022-10-27   2022-11-06 ld-plunge-ice-bath.html                      Cold Reality Ice Baths That Cost Thousands By Allie Jones                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/interactive/2022/10/
                        27/arts/music/stevie-wonder-talking-         50 Years Ago Stevie Wonder Heard the
2022-10-27   2022-11-06 book.html                                    Future                                     By The New York Times            TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/10/29/books/r
2022-10-29   2022-11-06 eview/the-grimkes-kerri-greenidge.html       Ties That Bind                             By Michael P Jeffries            TX 9-257-651    2023-01-03
                        https://www.nytimes.com/article/election-    What New Yorkers Will See On the Rest of
2022-10-29   2022-11-06 guide-new-york.html                          the Ballot                                 By Michael Gold                  TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/10/31/opinion
2022-10-31   2022-11-06 /republican-apostate-midterms.html           The Rise of the Republican Apostate        By Andy Kroll                    TX 9-257-651    2023-01-03
                        https://www.nytimes.com/article/cop27-       35000 Delegates 100 Heads of State One
2022-10-31   2022-11-06 climate-change-summit.html                   Global Issue A Guide to COP27              By Lisa Friedman                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/01/arts/dan
2022-11-01   2022-11-06 ce/spirited-tap-dance.html                   Assume the Superhero Stance                By Margaret Fuhrer               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/01/magazi If You Raised Money After a Fire Can
2022-11-01   2022-11-06 ne/donation-ethics.html                      YouSpend It on a Vacation                  By Kwame Anthony Appiah          TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/01/magazi
2022-11-01   2022-11-06 ne/revithia-me-spanaki.html                  Revithia Me Spanaki                        By Alex Moshakis                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/01/magazi
2022-11-01   2022-11-06 ne/wisconsin-democrats.html                  The Ground Game                            By Jonathan Mahler               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/01/opinion I Wish the Jury Hadnt Sentenced My Familys
2022-11-01   2022-11-06 /parkland-death-penalty.html                 Killer to Death                            By Sharon Risher                 TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/01/realesta
2022-11-01   2022-11-06 te/southern-california-minimalist-home.html A Minimalist House for ClutterFree Living   By Tim McKeough                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/style/us An Accomplished Partner Helped Shape a      By Joseph Bernstein and Katherine
2022-11-01   2022-11-06 ha-jd-vance-ohio.html                       Candidate                                   Rosman                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/t-
2022-11-01   2022-11-06 magazine/june-leaf-ortuzar-projects.html    A Dancer Making Art                         By Gillian Brassil               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/02/arts/mu
2022-11-02   2022-11-06 sic/bruno-walter-conductor.html             Finding Truth Inside Beauty                 By David Allen                   TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/02/books/r
2022-11-02   2022-11-06 eview/hayao-miyazaki-shunas-journey.html A Tibetan Folk Tale Spun Into Magic              By Susan Napier                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/02/magazi The man had long ago overcome cancer Now
                        ne/coccidioidomycosis-valley-fever-        there was a mass in his lung Could the disease
2022-11-02   2022-11-06 diagnosis.html                             be back                                        By Lisa Sanders MD             TX 9-257-651    2023-01-03




                                                                                Page 4462 of 5793
                                                                  HandHeld A buttery pecan tart is a tiny
                        https://www.nytimes.com/2022/11/02/magazi delight but you can always have more than
2022-11-02   2022-11-06 ne/pecan-tart-recipe.html                 one                                           By Bryan Washington              TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/02/magazi
2022-11-02   2022-11-06 ne/russiagate-paul-manafort-ukraine-war.html The Road to War                            By Jim Rutenberg                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/magazi
2022-11-02   2022-11-06 ne/the-playlist-netflix-spotify.html         Bum Note                                   By Peter C Baker                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/movies/
2022-11-02   2022-11-06 babylon-behind-the-scenes.html               Creating a Fresco Of 1920s LA              By Mekado Murphy                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/movies/
2022-11-02   2022-11-06 jennifer-lawrence-causeway.html              Who Jennifer Lawrence Is Today             By Kyle Buchanan                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/opinion Prisoners Like Me Are Being Held Hostage to
2022-11-02   2022-11-06 /inflation-prison.html                       Price Increases                            By Patrick Irving                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/opinion
2022-11-02   2022-11-06 /stanford-antisemitism-report.html           The Meaning of Stanfords Apology to Jews By Mark Oppenheimer                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/realesta
2022-11-02   2022-11-06 te/accord-ny-ulster-county.html              Room to Run in a LaidBack Agricultural Hub By Karen Angel                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/realesta In a Mediterranean Town Theres an Oasis of
2022-11-02   2022-11-06 te/costa-blanca-spain-real-estate.html       Calm                                       By Jill P Capuzzo                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/sports/b The Pieces May Change but Houstons Core
2022-11-02   2022-11-06 aseball/houston-astros-infield-core.html     Sets the Tone                              By Scott Miller                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/style/cr
2022-11-02   2022-11-06 op-tops-office.html                          Are You OK With Crop Tops at the Office    By Gina Cherelus                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/style/ou
                        r-son-committed-us-to-wedding-costs-we-cant
2022-11-02   2022-11-06 afford-help.html                             Costly Commitment                          By Philip Galanes                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/style/ro
2022-11-02   2022-11-06 ku-city-screensaver.html                     At Home Sweet Home With Roku City          By Luke Winkie                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/theater/
2022-11-02   2022-11-06 mike-birbiglia-old-man-and-the-pool.html     Mike Birbiglia Is No Longer an Art Snob    By Sarah Bahr                    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/03/arts/des
2022-11-03   2022-11-06 ign/xaviera-simmons-queens-museum.html Planting Seeds To Produce Real Change            By Aruna DSouza                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/books/r
2022-11-03   2022-11-06 eview/new-romance-novels.html                Lessons in Chemistry                       By Olivia Waite                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/dining/j Julie amp Julia Author Brought Frank Dark
2022-11-03   2022-11-06 ulie-and-julia-author-julie-powell.html      Voice to Food                              By Julia Moskin                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/magazi
                        ne/judge-john-hodgman-on-a-pool-full-of-cat-
2022-11-03   2022-11-06 toys.html                                    Bonus Advice From Judge John Hodgman       By John Hodgman                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/magazi
2022-11-03   2022-11-06 ne/mariachi-texas.html                       Mariachi Country                           By Cecilia Ball                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/magazi
2022-11-03   2022-11-06 ne/poem-metaphor-of-the-floating-life.html Poem Metaphor of the Floating Life           By Song Lin and Victoria Chang   TX 9-257-651   2023-01-03



                                                                                Page 4463 of 5793
                        https://www.nytimes.com/2022/11/03/movies/
2022-11-03   2022-11-06 actors-favorite-holiday-movies.html          Five Actors Onscreen Traditions             By Kathryn Shattuck      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/movies/
2022-11-03   2022-11-06 winter-movies-2022.html                      The Listings                                By Ben Kenigsberg        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/needies
                        t-cases/bolstering-inner-resilience-and-
2022-11-03   2022-11-06 choosing-the-creative-path.html              Fostering Resilience With Simple Acts       By Sara Aridi            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/nyregio Struggling to Find Spots for a New Type of
2022-11-03   2022-11-06 n/lithium-ion-battery-nyc.html               Power Plant                                 By Kaya Laterman         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/opinion
2022-11-03   2022-11-06 /covid-booster-vaccine-poverty.html          Lets Get the New Booster to Everyone        By Bryce Covert          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/opinion Political Violence Is Threatening Our
2022-11-03   2022-11-06 /political-violence-extremism.html           Democracy                                   By The Editorial Board   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/opinion
2022-11-03   2022-11-06 /republican-medicare-social-security.html    The Plot Against Medicare                   By Paul Krugman          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/opinion
2022-11-03   2022-11-06 /tom-gisele-divorce.html                     Marriage Is Hard Just Ask Tom and Gisele    By Elizabeth Spiers      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/realesta
                        te/housekeeper-daughter-dream-home-          Once Upon a Time a Girl Fell in Love With a
2022-11-03   2022-11-06 renovation.html                              House                                       By Steven Kurutz         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/realesta
2022-11-03   2022-11-06 te/rent-decreases-us-cities.html             For Renters a Welcome Trend                 By Michael Kolomatsky    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/sports/f Well Somebody Has to Win the NFC South
2022-11-03   2022-11-06 ootball/nfl-week-9-picks.html                Right                                       By David Hill            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/style/op Great Gift Im Sure but Do I Have to Open It
2022-11-03   2022-11-06 ening-gifts-guest-reactions.html             Now                                         By Lindsay Mannering     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/us/phili Philip Hiat 95 Rabbi Who Bonded With
2022-11-03   2022-11-06 p-hiat-dead.html                             Members of Other Faiths Dies                By Ed Shanahan           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/world/e
2022-11-03   2022-11-06 urope/study-abroad-europe-students.html      US Students Abroad Get a Currency Lesson By Jenny Gross              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/11/
                        03/realestate/chelsea-village-manhattan-     Coming Home to New York but Could She
2022-11-03   2022-11-06 studio.html                                  Afford a Manhattan Studio                   By Debra Kamin           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/arts/tele
                        vision/fleishman-is-in-trouble-claire-danes-
2022-11-04   2022-11-06 jesse-eisenberg.html                         The Agonies of an Imperfect Union           By Alexis Soloski        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/books/d
                        emocracy-robert-kuttner-eric-holder-anthony-
2022-11-04   2022-11-06 badger.html                                  The Future of the Democrats                 By James Goodman         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/books/r Rebecca Godfrey 54 Who Was Captivated By
2022-11-04   2022-11-06 ebecca-godfrey-dead.html                     Murder Case Dies                            By Penelope Green        TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/04/busines Forecasting the Future of Election Prediction
2022-11-04   2022-11-06 s/election-prediction-markets-midterms.html Markets                                      By Jeff Sommer           TX 9-257-651   2023-01-03




                                                                                Page 4464 of 5793
                        https://www.nytimes.com/2022/11/04/busines James Giffen 81 Businessman Who Was
2022-11-04   2022-11-06 s/james-giffen-dead.html                    Embroiled in Kazakhgate Bribery Case      By Clay Risen                     TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/busines                                            By Julia Rothman and Shaina
2022-11-04   2022-11-06 s/the-vegan-butchers.html                   The Vegan Butchers                        Feinberg                          TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/nyregio Cuomo Once New Yorks No 1 Democrat Has
2022-11-04   2022-11-06 n/andrew-cuomo-money-democrats.html         Done Little to Help Party                 By Luis FerrSadurn                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/nyregio Irvings Post About a Holocaust Denial Film
2022-11-04   2022-11-06 n/kyrie-irving-jewish-fans.html             Horrifies His Many Jewish Fans            By Troy Closson                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/opinion The Attack on Paul Pelosi Unmasked the
2022-11-04   2022-11-06 /paul-pelosi-youngkin-lake.html             GOP                                       By Jamelle Bouie                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/opinion
2022-11-04   2022-11-06 /ukraine-congress-progressives-letter.html  Washingtons New Cold War Cancel Culture By Peter Beinart                    TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/realesta
2022-11-04   2022-11-06 te/housing-market-interest-rates.html       Its Worse Than You Imagined               By Stefanos Chen                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/realesta Whos Afraid of Edward Albee Not the Buyer
2022-11-04   2022-11-06 te/top-nyc-real-estate-sales.html           of His Loft                               By Vivian Marino                  TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/04/sports/o A Competitive Finale for Runnings Bon
2022-11-04   2022-11-06 lympics/abdi-abdirahman-nyc-marathon.html Vivant but the Pack Looms                     By Scott Cacciola               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/style/e Discovering That Laughter Is the Best
2022-11-04   2022-11-06 milie-thompson-thomas-hart-wedding.html     Medicine                                    By Nina Reyes                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/style/je Not Big Fans of Marriage For a While at
2022-11-04   2022-11-06 nnifer-douglas-kent-shell-wedding.html      Least                                       By John Otis                    TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/style/m
                        odern-love-my-post-divorce-choice-okcupid- Two Paths Lead to One Comforting
2022-11-04   2022-11-06 or-petfinder.html                           Conclusion                                  By Karen Brown                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/style/m
                        organ-kilpatrick-william-vollers-
2022-11-04   2022-11-06 wedding.html                                An Engagement Party With a Twist            By Jenny Block                  TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/04/style/na
2022-11-04   2022-11-06 talie-rochette-dillon-etherson-wedding.html Through Sickness Health and Hurricane Ian   By Robbie Spencer               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/style/yv
2022-11-04   2022-11-06 es-mathieu-east.html                        An Activist Streak Runs Through Him         By Alex Hawgood                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/theater/
2022-11-04   2022-11-06 kpop-musical-broadway.html                  Rewind Reinvent                             By Elisabeth Vincentelli        TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/us/kany Pop Culture and Politics Propel Surging      By Michael Paulson and Ruth
2022-11-04   2022-11-06 e-antisemitism-midterms.html                Stream of Antisemitism                      Graham                          TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/05/busines Berkshire Hathaway Reports Portfolio Loss of
2022-11-05   2022-11-06 s/dealbook/berkshire-hathaway-earnings.html 26 Billion                                    By Michael J de la Merced       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/nyregio
2022-11-05   2022-11-06 n/jackie-faherty.html                       This Star Gazer Wakes Up With the Sun         By Alix Strauss                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/nyregio At Least 38 Injured in a Fire at a HighRise in
2022-11-05   2022-11-06 n/manhattan-high-rise-fire.html             Midtown Manhattan                             By April Rubin and Anne Barnard TX 9-257-651   2023-01-03



                                                                                Page 4465 of 5793
                        https://www.nytimes.com/2022/11/05/nyregio Are Jamess Famous Foes A Boon to GOP
2022-11-05   2022-11-06 n/ny-letitia-james-attorney-general.html    Rival                                       By Michael Gold                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/05/nyregio
2022-11-05   2022-11-06 n/nyc-5g-towers.html                        Progress Is Tall and Startling              By Dodai Stewart                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/05/opinion
2022-11-05   2022-11-06 /2022-election-democrat-republican.html     In 2022 Reality Has a Conservative Bias     By Ross Douthat                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/05/opinion
2022-11-05   2022-11-06 /biden-gas-prices.html                      King Oil Haunts Joe Biden                   By Meg Jacobs                    TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/05/opinion
2022-11-05   2022-11-06 /election-republican-greene-vance.html      The Capitol Cuckoos Nest                    By Maureen Dowd                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/05/opinion
                        /polarization-democrats-republicans-        They Are Betting 100 Million on Pluralism
2022-11-05   2022-11-06 pluralism.html                              Will It Work                                By Farah Stockman                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/05/realesta I Dream of a WalkIn Shower Would Losing
2022-11-05   2022-11-06 te/flip-resale-value-bathroom.html          the Tub Cost Me                             By Ronda Kaysen                  TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/05/sports/b Not Apologizing for an Astros Legacy as He
2022-11-05   2022-11-06 aseball/jeff-luhnow-astros-world-series.html Builds a Different One                      By Tyler Kepner                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/sports/b
                        asketball/kyrie-irving-lebron-james-         James and an Israeli Player Hope Irving Has
2022-11-05   2022-11-06 reaction.html                                Learned                                     By Shauntel Lowe                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/sports/h
                        orse-racing/horses-flightline-breeders-
2022-11-05   2022-11-06 cup.html                                     Breeders Cup Just a Romp For Flightline     By Joe Drape                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/sports/n One Racers Challenge To Run Competitively
2022-11-05   2022-11-06 yc-marathon-fastest-woman-salpeter.html      Representing Israel                         By Talya Minsberg                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/sports/s It Took Time but Los Angeles FC Wins Its
2022-11-05   2022-11-06 occer/mls-cup.html                           First MLS Cup                               By Andrew Das                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/sports/t Triumph and Tumult Filled Season Of
2022-11-05   2022-11-06 ennis/daria-kasatkina-russia.html            Resurgent Russian                           By Christopher Clarey             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/style/ny
2022-11-05   2022-11-06 cannabis-crop-farmers.html                   Where Harvest Time Means High Times         By John Ortved and Paul Barbera TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/05/style/ro
2022-11-05   2022-11-06 man-and-williams-20th-anniversary.html       Creating Beauty on the Inside               By Hilary Reid                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/us/ballo Republicans Begin a Push for Ballot          By Danny Hakim and Alexandra
2022-11-05   2022-11-06 t-counting-midterms.html                     Watching Ahead of Election Day              Berzon                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/us/desa Pranks Parties and Politics A Future Florida
2022-11-05   2022-11-06 ntis-high-school-teacher-georgia.html        Governors Year as a Schoolteacher           By Frances Robles                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/us/elect Biden and Obama Reunite In Effort to Save
2022-11-05   2022-11-06 ions/biden-obama-rally.html                  Party                                       By Peter Baker and Alan Rappeport TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/us/la- Democrats Supported the LA Sheriff Now
2022-11-05   2022-11-06 sheriff-alex-villanueva-election.html        Many Want Him Gone                          By Corina Knoll and Jill Cowan    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/us/polit
2022-11-05   2022-11-06 ics/biden-ukraine-midterm-elections.html     Midterms Could Snarl US Effort for Ukraine By Michael Crowley                 TX 9-257-651   2023-01-03




                                                                                Page 4466 of 5793
                        https://www.nytimes.com/2022/11/05/us/polit To Some in Georgia Football Win Is Senate
2022-11-05   2022-11-06 ics/georgia-football-herschel-walker.html   Race Omen                                   By Maya King                     TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/05/us/polit News Anchor Turned Gubernatorial Hopeful
2022-11-05   2022-11-06 ics/kari-lake-az-journalist-gop.html        Now Calls Reporters Monsters                By Jazmine Ulloa                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/05/us/polit
                        ics/obama-trump-biden-pennsylvania-                                                     By Lisa Lerer and Michael C
2022-11-05   2022-11-06 midterms.html                               3 Presidents In Swing State For Final Push  Bender                           TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/05/us/polit
2022-11-05   2022-11-06 ics/politically-divided-family.html         Pass the Peas Keep Your Opinion to Yourself By Jennifer Medina               TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/05/world/a
2022-11-05   2022-11-06 mericas/brazil-election-us-democracy.html    What US Democracy Can Learn From Brazil By Jack Nicas                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/world/a
2022-11-05   2022-11-06 sia/north-korea-missiles-us-bombers.html     North Korean Launches Raise Tension           By Choe SangHun                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/world/a Lively Haven For the Young In Seoul Falls By Choe SangHun and Chang W
2022-11-05   2022-11-06 sia/seoul-itaewon-stampede.html              Silent in Grief                               Lee                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/world/e
                        urope/kyiv-ukraine-electricity-russia-       Kyiv Planning to Evacuate 3 Million Still in
2022-11-05   2022-11-06 infrastructure.html                          Capital if It Loses Electricity               By Marc Santora and Ben Hubbard TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/world/e
2022-11-05   2022-11-06 urope/ukraine-war-syria-refugees.html        Fled Syria for Ukraine Then Bolted to Britain By Megan Specia                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/world/ For Egypt Hosting Climate Summit Has Both
2022-11-05   2022-11-06 middleeast/egypt-cop27.html                  Benefits and Risks                            By Vivian Yee                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/world/ Anxiety About Jewish Identity Drives Israels
2022-11-05   2022-11-06 middleeast/israel-election-far-right.html    Lurch Toward Far Right                        By Patrick Kingsley             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/11/                                               By Somini Sengupta Steven Lee
                        05/climate/putin-russia-climate-change-      How Putin and Friends Stalled Climate         Myers Manuela Andreoni and
2022-11-05   2022-11-06 progress.html                                Progress                                      Suhasini Raj                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/11/
                        05/us/politics/pelosi-attack-misinfo-        How Republicans Fed a Misinformation Loop By Annie Karni Malika Khurana
2022-11-05   2022-11-06 republican-politicians.html                  About the Pelosi Attack                       and Stuart A Thompson           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/sports/b
2022-11-06   2022-11-06 aseball/houston-astros-world-series.html     No Trashing This One                          By David Waldstein              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/busines What Happens When Crypto Meets Ted
2022-11-06   2022-11-06 s/crypto-soccer-crawley.html                 Lasso                                         By David YaffeBellany           TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/06/busines
2022-11-06   2022-11-06 s/media/molly-jong-fast-politics-twitter.html Tweeting Her Way To Liberal Stardom         By Michael M Grynbaum          TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/06/busines
                        s/the-week-in-business-federal-reserve-       The Week in Business The Fed Stays Its
2022-11-06   2022-11-06 economy.html                                  Course                                      By Marie Solis                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/06/insider/
2022-11-06   2022-11-06 currencies-costs-and-confetti-cake.html       Currencies Costs and Confetti Cake          By Eshe Nelson                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/06/nyregio
2022-11-06   2022-11-06 n/atlantic-city-casinos-smoking.html          Atlantic City May Lose Its Ashtray Ambiance By Tracey Tully                TX 9-257-651     2023-01-03



                                                                                Page 4467 of 5793
                        https://www.nytimes.com/2022/11/06/nyregio Lauder Alters New York Race As a               By Nicholas Fandos and Dana
2022-11-06   2022-11-06 n/ronald-lauder-zeldin-governor.html         Republican Surges in Polls                   Rubinstein                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/style/la
2022-11-06   2022-11-06 keith-stanfield-projects.html                Winding Down With LaKeith Stanfield          By Gina Cherelus              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/style/w
                        hat-lupita-nyongo-and-eric-adams-wore-to-the
2022-11-06   2022-11-06 party.html                                   Brilliant Fashions For Starters              By Denny Lee                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/us/polit Many Muslims Are Ambivalent About Ozs
2022-11-06   2022-11-06 ics/dr-oz-muslim-religion.html               Milestone Run for Senate                     By Liam Stack                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/us/vene Venezuelan Families Are Split Up by Abrupt By Miriam Jordan and Brittany
2022-11-06   2022-11-06 zuelan-families-separated-border.html        Border Expulsions                            Kriegstein                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/travel/d They Warned Us for Decades Now Its Time
2022-11-02   2022-11-07 omestic-flights-real-id-passport.html        for the Debut of Real ID                     By Debra Kamin                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/movies/
                        john-david-washington-the-piano-lesson-
2022-11-03   2022-11-07 amsterdam.html                               Getting Schooled And Loving It               By Dave Itzkoff               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/arts/dan
2022-11-04   2022-11-07 ce/lia-rodrigues-review.html                 A Parade of People Pulled by Many Forces     By Brian Seibert              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/arts/dan
2022-11-04   2022-11-07 ce/paul-taylor-new-era-season.html           The Next Generation Finds Its Footing        By Gia Kourlas                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/arts/mu
2022-11-04   2022-11-07 sic/davone-tines-carnegie-hall-review.html   Honing the Recital Form to a Fine Point      By Oussama Zahr               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/books/u
2022-11-04   2022-11-07 kraine-writers-diaries.html                  A Time for War And for Diarists              By Nina Siegal                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/theater/
                        where-the-mountain-meets-the-sea-            Lost Loves Missed Connections and Flights to
2022-11-04   2022-11-07 review.html                                  the Unknown                                  By Naveen Kumar               TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/04/world/e Hunger Illness Bitter Cold and No Sleep
2022-11-04   2022-11-07 urope/uk-migrants-manston-braverman.html Migrants Describe UK Camp                   By Euan Ward                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/arts/mu Aaron Carter 34 Singer Actor and Onetime  By Melina Delkic and McKenna
2022-11-05   2022-11-07 sic/aaron-carter-dead.html                  Teen Sensation                           Oxenden                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/books/d Doris Grumbach Author Who Explored Plight
2022-11-05   2022-11-07 oris-grumbach-dead.html                     of Women Dies at 104                     By Robert D McFadden               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/busines For Big Business a Republican House May
2022-11-05   2022-11-07 s/dealbook/midterms-business.html           Bring Unpredictability                   By Joe Nocera                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/opinion
2022-11-05   2022-11-07 /sarah-palin-election-midterms.html         The Unruly Heirs of Sarah Palin          By Rosie Gray                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/sports/g Dow Finsterwald Golfer Known for
2022-11-05   2022-11-07 olf/dow-finsterwald-dead.html               Consistency On Tour Is Dead at 93        By Richard Goldstein               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/sports/n Ready for Dream Job Next Chief of NYRR
2022-11-05   2022-11-07 yc-marathon-rob-simmelkjaer.html            Lays Out His Vision                      By Matthew Futterman               TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/05/technol
2022-11-05   2022-11-07 ogy/political-text-messages-pelosi-trump.html Political Texts Gone Wild                By Natasha Singer                TX 9-257-651   2023-01-03



                                                                                  Page 4468 of 5793
                        https://www.nytimes.com/2022/11/05/technol
2022-11-05   2022-11-07 ogy/youtube-misinformation.html              Blind Spots Are Feared At YouTube            By Nico Grant                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/us/polit
                        ics/romano-mazzoli-who-oversaw-major-        Romano Mazzoli 89 House Democrat Who
2022-11-05   2022-11-07 immigration-reform-dies-at-89.html           Oversaw Reforms to Immigration               By Clay Risen                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/us/torn                                                By Amanda Holpuch and Eliza
2022-11-05   2022-11-07 adoes-texas-oklahoma-arkansas.html           Tornadoes in 3 States Leave Trails of Damage Fawcett                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/11/ How Diverse Are the Candidates in the
2022-11-05   2022-11-07 05/us/politics/midterms-diversity.html       Midterm Elections                            By Maggie Astor and Eleanor Lutz TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/06/arts/mu
2022-11-06   2022-11-07 sic/myra-melford-fire-and-water-quintet.html Five Stars Making Discoveries Together    By Alan Scherstuhl               TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/06/busines Amazon Considers Disclaimer to Antisemitic
2022-11-06   2022-11-07 s/amazon-kyrie-irving-documentary.html       Film Player Shared Online                 By Karen Weise                   TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/06/busines Macys to Invest Millions in MinorityOwned
2022-11-06   2022-11-07 s/macys-minority-businesses.html             Businesses                                By Jordyn Holman                 TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/06/busines                                             By Julie Creswell and Jordyn
2022-11-06   2022-11-07 s/nike-kyrie-irving.html                     For Nike Losing Irving Is Survivable      Holman                           TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/06/climate At Climate Talks Poorer Nations Say Rich    By Brad Plumer Lisa Friedman and
2022-11-06   2022-11-07 /loss-and-damage-climate-cop27.html          Polluters Must Pay Up                     Somini Sengupta                  TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/06/nyregio
2022-11-06   2022-11-07 n/greenwich-connecticut-republicans.html     In Rich Suburb Republicans vs Trumplicans By Dan Barry                     TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/06/nyregio With New York Rallies Biden and Clinton
2022-11-06   2022-11-07 n/hochul-biden-zeldin-voters.html            Try to Narrow Hochuls Enthusiasm Gap      By Jesse McKinley                TX 9-257-651      2023-01-03

                        https://www.nytimes.com/2022/11/06/opinion The GOP Has Made Clear What It Wants to
2022-11-06   2022-11-07 /republican-congress-agenda-mccarthy.html Do if It Wins Congress                        By Ezra Klein                     TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/06/opinion White Lotus and the Plight of the American
2022-11-06   2022-11-07 /white-lotus-masculinity.html              Man                                          By Pamela Paul                    TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/06/sports/b He Truly Deserved This A Most Interesting
2022-11-06   2022-11-07 aseball/dusty-baker-world-series-astros.html Mans Wait Ends                             By Tyler Kepner                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/06/sports/b
                        aseball/jeremy-pena-world-series-mvp-
2022-11-06   2022-11-07 astros.html                                  And the Awards Go To the Heir of a Star    By James Wagner                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/06/sports/b
                        aseball/philadelphia-phillies-lose-world-
2022-11-06   2022-11-07 series.html                                  The Phillies Choose To Laugh Not Cry       By Scott Miller                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/06/sports/f
2022-11-06   2022-11-07 ootball/nfl-week-9-scores.html               What We Learned This Week                  By Derrik Klassen                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/06/sports/
                        marcel-hug-susannah-scaroni-win-wheelchair- Wheelchair Winners Craft Masterpieces on
2022-11-06   2022-11-07 nyc-marathon-records.html                    Picturesque Day                            By Ken Belson                     TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/06/sports/n                                             By Nadav Gavrielov and Jutharat
2022-11-06   2022-11-07 ew-york-marathon-fashion.html                A 262Mile Fashion Show                     Pinyodoonyachet                   TX 9-257-651    2023-01-03



                                                                                Page 4469 of 5793
                        https://www.nytimes.com/2022/11/06/sports/n
2022-11-06   2022-11-07 yc-marathon-prize-money.html                How Prizes Of 870000 Are Split Up           By Nadav Gavrielov                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/sports/s The Anguish of Riding the Bench Most of the
2022-11-06   2022-11-07 occer/chelsea-arsenal-pulisic-usmnt.html    Way to the World Cup                        By Andrew Das                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/technol Meta Intends To Shed Jobs This Week
2022-11-06   2022-11-07 ogy/meta-layoffs.html                       Sources Say                                 By Sheera Frenkel                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/technol Russian Bots And Trolls Reactivated For
2022-11-06   2022-11-07 ogy/russia-misinformation-midterms.html     Election                                    By Steven Lee Myers               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/technol Twitter Is Said To Postpone Any Changes To By Ryan Mac Kate Conger and
2022-11-06   2022-11-07 ogy/twitter-verification-check-marks.html   Blue Checks                                 Mike Isaac                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/us/blac Both Parties Courting Black Men for Votes
2022-11-06   2022-11-07 k-men-republican-party.html                 In Final Election Push                      By Clyde McGrady and Maya King TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/06/us/polit
2022-11-06   2022-11-07 ics/biden-election-midterms-trump.html      Biden Faces Polarized US As Vote Nears      By Peter Baker                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/us/polit
                        ics/election-democrats-republicans-         Midterms Spur A Rush of Angst And           By Lisa Lerer Jennifer Medina and
2022-11-06   2022-11-07 predictions.html                            Confidence                                  Jonathan Weisman                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/us/polit For Fetterman the Campaign Trail Doubles as
2022-11-06   2022-11-07 ics/fetterman-stroke-election.html          His Road to Recovery                        By Katie Glueck                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/us/polit Indigenous Voters Gaining Influence Aim to By Emily Cochrane and Mark
2022-11-06   2022-11-07 ics/indigenous-voters-influence.html        Mobilize                                    Walker                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/us/polit Republicans Revive a Misleading Claim
2022-11-06   2022-11-07 ics/irs-agents-fact-check.html              About 87000 New Tax Agents                  By Linda Qiu                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/us/polit
                        ics/republicans-democrats-immigration-      Can Democrats and GOP Find a Way
2022-11-06   2022-11-07 midterm-elections.html                      Forward on Immigration                      By Eileen Sullivan                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/us/polit In Trump Investigation Using a Special
2022-11-06   2022-11-07 ics/trump-special-counsel.html              Counsel May Not Be a Shield                 By Katie Benner                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/world/a Climate Talks Will Consider The Question Of
2022-11-06   2022-11-07 frica/climate-talks-cop27-egypt.html        Repayment                                   By Somini Sengupta                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/world/a As Somalis Go Hungry Their Nations Leaders
2022-11-06   2022-11-07 frica/somalia-famine-hunger.html            Avoid Declaring a Famine                    By Abdi Latif Dahir               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/world/a Diplomats See Potential for India To Help    By Jeffrey Gettleman and Mujib
2022-11-06   2022-11-07 sia/india-ukraine-russia.html               Broker Ukraine Peace Deal                   Mashal                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/world/a                                              By Damien Cave and Amy Chang
2022-11-06   2022-11-07 sia/taiwan-bomb-shelters-keelung.html       A Space for Life And a Space For Death      Chien                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/world/e A Private Military Group Gives Moscow the By Andrew Higgins and Matthew
2022-11-06   2022-11-07 urope/russia-bakhmut-wagner-group.html      Chance for a Battlefield Victory            Mpoke Bigg                        TX 9-257-651   2023-01-03

                        https://www.nytimes.com/live/2022/11/06/spo In Record Heat Two Kenyans Blaze Their
2022-11-06   2022-11-07 rts/nyc-marathon/nyc-marathon-chebet-lokedi Way to Victory                              By Scott Cacciola               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/06/sports/f Jets Hound Allen and Bills Signifying a New
2022-11-07   2022-11-07 ootball/jets-bills-score.html               Tighter AFC East                            By Jenny Vrentas                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/06/technol Apple Says Factory Disruptions in China Will
2022-11-07   2022-11-07 ogy/apple-iphones-shortage.html             Limit iPhone Supply                         By Tripp Mickle                 TX 9-257-651     2023-01-03



                                                                                Page 4470 of 5793
                        https://www.nytimes.com/2022/11/06/theater/
2022-11-07   2022-11-07 review-you-will-get-sick.html                Ready to Tell The Untellable But for a Price By Jesse Green                     TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/06/us/polit                                               By Michael C Bender and Patricia
2022-11-07   2022-11-07 ics/trump-desantis-republicans.html          Trumps Taunt Highlights Rift With DeSantis Mazzei                               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/07/arts/tele
                        vision/whats-on-tv-this-week-atlanta-and-
2022-11-07   2022-11-07 black-panther.html                           This Week on TV                              By Sadiba Hasan                    TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/07/health/ Supreme Court Adoption Case May Threaten
2022-11-07   2022-11-07 native-american-adoption-icwa.html           Tribes Sovereignty                           By Jan Hoffman                     TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/07/opinion
2022-11-07   2022-11-07 /midterms-win-control-congress.html          Whats at Stake in These Elections            By The Editorial Board             TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/07/sports/ Great Expectations Could Encounter Some
2022-11-07   2022-11-07 mens-college-basketball-preview.html         Hard Reality                                 By Adam Zagoria                    TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/07/sports/
2022-11-07   2022-11-07 womens-college-basketball-preview.html       Powerhouses Arent Leaving Room at the Top By Adam Zagoria                       TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/07/world/e Betrayal and Missing Bling A Rome Soccer
2022-11-07   2022-11-07 urope/totti-blasi-italy-soccer.html          Idols Bad Breakup                            By Jason Horowitz                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/12/science
2022-10-12   2022-11-08 /dino-mummy-skin-dakota.html                 Secrets Are Preserved In the Dino Mummy      By Jeanne Timmons                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/28/science
2022-10-28   2022-11-08 /moray-eel-veterinary.html                   When a FiveFoot Eel Undergoes a CT Scan By Emily Anthes                         TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/28/well/eat
2022-10-28   2022-11-08 /prebiotic-supplements-gut-health.html       Taking the Measure Of Trendy Prebiotics      By Dani Blum                       TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/29/well/mi Teenagers Turn to TikTok for Mental Health
2022-10-29   2022-11-08 nd/tiktok-mental-illness-diagnosis.html      Answers                                      By Christina Caron                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/31/science Distant Threat A PlanetKilling Asteroid Well
2022-10-31   2022-11-08 /asteroid-planet-killer.html                 Not Anytime Soon                             By Robin George Andrews            TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/01/science Nauseating Discovery How the Brains Alarm
2022-11-01   2022-11-08 /brains-neurons-vomit.html                   Bells Tell the Stomach to Take Action           By Veronique Greenwood            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/well/be A Proper Nights Sleep Requires Some
2022-11-01   2022-11-08 tter-sleep-tips.html                         Thought                                         By Dani Blum                      TX 9-257-651   2023-01-03
                                                                     Is it better to brush my teeth before or after
                                                                     breakfast Some dentists say its better to brush
                        https://www.nytimes.com/2022/11/01/well/liv before some say after Which one is it The
2022-11-01   2022-11-08 e/brushing-teeth-breakfast.html              truth is that few st                            By Hannah Seo                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/02/well/m
2022-11-02   2022-11-08 ove/rowing-machine-workout-guide.html        Starting Out on a Rowing Machine                By Dana G Smith                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/arts/mu
                        sic/playlist-selena-gomez-tiesto-tate-
2022-11-04   2022-11-08 mcrae.html                                   A Stars Revealing Empathetic Ballad             By Jon Pareles and Lindsay Zoladz TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/arts/tele
2022-11-04   2022-11-08 vision/mood-nicole-lecky.html                Mood Explores Sex Work                          By Desiree Ibekwe                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/science StoppedUp Lives Dammed Rivers Pose
2022-11-04   2022-11-08 /platypus-dam-inbreeding-migration.html      Threat To the DuckBilled Platypus               By Nicholas Bakalar               TX 9-257-651   2023-01-03



                                                                                 Page 4471 of 5793
                        https://www.nytimes.com/2022/11/05/arts/fre
                        ddy-rodriguez-artist-who-explored-his-       Freddy Rodrguez Whose Art Dug Into His
2022-11-05   2022-11-08 dominican-roots-dies-at-76.html              Dominican Roots Dies at 76                    By Neil Genzlinger                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/health/
2022-11-05   2022-11-08 medicare-seniors-health.html                 Medicare Choices Comparing the Options        By Paula Span                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/health/s Samuel L Katz 95 a Developer of the
2022-11-05   2022-11-08 amuel-katz-dead.html                         Lifesaving Measles Vaccine Dies               By Richard Sandomir                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/science Eight Isnt Enough Looks Like a Shell but an
2022-11-05   2022-11-08 /octopus-shell-argonaut.html                 Octopus And 40000 Eggs Live Inside            By Sofia Quaglia                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/books/j
                        ust-passing-through-milton-gendel-cullen-
2022-11-06   2022-11-08 murphy.html                                  Living Large in Rome As a Suave Connector By Alexandra Jacobs                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/health/t
2022-11-06   2022-11-08 obacco-fda-menthol-ban-nicotine.html         Big Tobacco and the SmokeFree Future          By Julie Creswell and Matt Richtel TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/opinion Republicans Are Doubling Down on
2022-11-06   2022-11-08 /politics/republican-midterms.html           Trumpism Itll Work                            By Daniel McCarthy                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/world/a Ela Bhatt 89 Who Ensured Protections For
2022-11-06   2022-11-08 sia/ela-bhatt-dead.html                      Millions of Working Women in India            By Sameer Yasir                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/arts/nur Nurse Blake Finds a Lane And Leans Into
2022-11-07   2022-11-08 se-blake-new-york-comedy-festival.html       StandUp                                       By Jason Zinoman                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/arts/tele
2022-11-07   2022-11-08 vision/the-crown-season-5-monarchy.html      In New Crown a Low Point for the Monarchy By Sarah Lyall                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/books/b
2022-11-07   2022-11-08 ob-dylan-philosophy-of-modern-song.html      Finding Stardust In a Bag Of Tunes            By Dwight Garner                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/busines Hundreds of Dollars for Cleaning Airbnb
2022-11-07   2022-11-08 s/airbnb-cleaning-fees.html                  Tries to Demystify Fees                       By Remy Tumin                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/busines                                                 By Tripp Mickle Chang Che and
2022-11-07   2022-11-08 s/apple-china-ymtc.html                      China Turning Into a Liability For the iPhone Daisuke Wakabayashi                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/busines CUNY Isnt Meeting Potential as Springboard
2022-11-07   2022-11-08 s/cuny-jobs-tech.html                        to Tech Study Finds                           By Steve Lohr                      TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/07/busines Recession Has Become The Buzzword Of
2022-11-07   2022-11-08 s/dealbook/chief-executives-recession.html CSuites                                       By Stephen Gandel                  TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/07/busines Resistance to Misinformation Less Under
2022-11-07   2022-11-08 s/media/twitter-misinformation-report.html Musk Report Says                              By Tiffany Hsu                     TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/07/busines
2022-11-07   2022-11-08 s/xi-jinping-china-party-congress.html     Xi Is Scaring Away Chinas Business Elite      By Li Yuan                         TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/07/climate
                        /alaa-abd-el-fattah-cop27-hunger-strike-   In Spotlight Activist Aims To Escalate
2022-11-07   2022-11-08 egypt.html                                 Hunger Strike                                 By Vivian Yee                      TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/07/climate Urging Global Leaders to Act Faster to Rein
2022-11-07   2022-11-08 /climate-change-crisis-cop27.html          In Climbing Temperatures                      By Somini Sengupta                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/07/climate Checking the Status of Environmental
2022-11-07   2022-11-08 /glasgow-climate-promises.html             Promises Leaders Made Last Year               By Brad Plumer                     TX 9-257-651     2023-01-03



                                                                                 Page 4472 of 5793
                        https://www.nytimes.com/2022/11/07/climate
                        /switzerland-emissions-ghana-peru-ukraine- Switzerland Is Paying Poor Nations to Cut
2022-11-07   2022-11-08 georgia.html                                Emissions for It                            By Hiroko Tabuchi             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/health/ Antiviral Drug May Help Reduce Long Covid
2022-11-07   2022-11-08 paxlovid-long-covid.html                    Risk                                        By Pam Belluck                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/movies/
2022-11-07   2022-11-08 jimmy-kimmel-oscars-host.html               Jimmy Kimmel Will Return as Oscars Host By Stephanie Goodman              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/nyregio Cornell Suspends Fraternity Events After
2022-11-07   2022-11-08 n/cornell-fraternities-sexual-assault.html  Alert That Student Was Sexually Assaulted By Hurubie Meko                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/nyregio Final Pitches As Hochul And Zeldin Sprint to
2022-11-07   2022-11-08 n/hochul-zeldin-ny-voters.html              End                                         By Jesse McKinley             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/nyregio
                        n/trump-advisor-thomas-barrack-aquitted-    Acquittal Raises Thorny Question What
2022-11-07   2022-11-08 trial.html                                  Makes Someone a Foreign Agent               By Rebecca Davis OBrien       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/opinion A Dangerous Ultranationalist Is Israels New
2022-11-07   2022-11-08 /itamar-ben-gvir-israel-election.html       Kingmaker                                   By Joshua Leifer              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/opinion
2022-11-07   2022-11-08 /midterms-election-maga-america.html        A MAGA America Would Be Ugly                By Paul Krugman               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/science
2022-11-07   2022-11-08 /trees-fungi-talking.html                   Are Trees Talking Underground               By Gabriel Popkin             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/sports/b
2022-11-07   2022-11-08 aseball/edwin-diaz-contract-mets.html       Daz Will Be Paid Big Will He Be Worth It    By Benjamin Hoffman           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/sports/d
                        aniel-romanchuk-nyc-wheelchair-marathon- 262 Miles Is Easy Navigating New York          By Talya Minsberg and Clark
2022-11-07   2022-11-08 accessibility.html                          City Is Not                                 Hodgin                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/sports/f
2022-11-07   2022-11-08 ootball/tom-brady-100000-yards.html         For Brady a Passing Milestone of Sorts      By Victor Mather              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/sports/s Liverpools Owners Set To Explore Selling
2022-11-07   2022-11-08 occer/liverpool-fsg-sale.html               Club                                        By Tariq Panja                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/sports/t WTA Plans to Continue Its Hard Line Against
2022-11-07   2022-11-08 ennis/wta-simon-china.html                  China Despite Cost to Finals                By Christopher Clarey         TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/07/technol
                        ogy/biggest-surge-of-misinformation-may-       Researchers Warn of PostVote Wave of False
2022-11-07   2022-11-08 arrive-after-election-day-researchers-say.html Narratives                                 By Stuart A Thompson        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/technol A Spree of Tweets by Musk Combative and
2022-11-07   2022-11-08 ogy/elon-musk-twitter-spree.html               Unfiltered                                 By Ryan Mac                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/technol Twitter Defectors Are Trying OpenSource
2022-11-07   2022-11-08 ogy/mastodon-twitter-elon-musk.html            Site Mastodon                              By Kalley Huang             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/theater/ Piecing Together a Life Learned From Many
2022-11-07   2022-11-08 my-broken-language-review.html                 Dialects                                   By Alexis Soloski           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/upshot/ Who Will Win the Battle for Congress Four
2022-11-07   2022-11-08 election-night-scenarios-midterms.html         Possible Outcomes                          By Nate Cohn                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/us/abor Ambivalence of Men In Abortion Debate
2022-11-07   2022-11-08 tion-midterms-voters-men.html                  Could Swing Elections                      By Kate Zernike             TX 9-257-651   2023-01-03



                                                                                Page 4473 of 5793
                        https://www.nytimes.com/2022/11/07/us/elect Republican Is Favored For Oregon House
2022-11-07   2022-11-08 ions/oregon-house-democrats.html            Seat                                       By Emily Cochrane                    TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/07/us/la- As Los Angeles Selects Mayor City Is Losing
2022-11-07   2022-11-08 mayor-karen-bass-rick-caruso.html           Faith in Its Path                          By Shawn Hubler                      TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/07/us/polit Fears and Suspicions Cast Shadow as Voters By Nick Corasaniti and Charles
2022-11-07   2022-11-08 ics/election-day-voting-midterms.html       Head to Polls                              Homans                               TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/07/us/polit Oath Keepers Leader Denies Giving Orders to
2022-11-07   2022-11-08 ics/oath-keepers-sedition-stewart-rhodes.html Enter Capitol                             By Alan Feuer                   TX 9-257-651         2023-01-03
                        https://www.nytimes.com/2022/11/07/us/supr Court Leans Toward Easing Challenges to
2022-11-07   2022-11-08 eme-court-agencies-sec-ftc.html               Agencies Power                            By Adam Liptak and Ephrat Livni TX 9-257-651         2023-01-03

                        https://www.nytimes.com/2022/11/07/us/supr If State Bodies Get Final Say on Elections
2022-11-07   2022-11-08 eme-court-independent-state-legislature.html Expect a Flood of Lawsuits                  By Adam Liptak                     TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/07/world/a To Escape Debt Trap Belize Pledges to      By Anatoly Kurmanaev and
2022-11-07   2022-11-08 mericas/belize-coral-reef-preservation.html Protect Its Reef                          Meridith Kohut                        TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/07/world/e                                            By Jason Horowitz and Catherine
2022-11-07   2022-11-08 urope/europe-ukraine-war-support.html       Griping Aside Europe Sticks With Ukraine  Porter                                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/07/world/e Greek Government to Ban Sale Of Spyware as By Niki Kitsantonis and Matina
2022-11-07   2022-11-08 urope/greece-spyware-ban.html               Scandal Mushrooms                         StevisGridneff                        TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/07/world/e Why Kherson Bracing for Battle Matters So By Matthew Mpoke Bigg Marc
2022-11-07   2022-11-08 urope/kherson-ukraine-russia-explainer.html Much to Moscow and Kyiv                          Santora and Carly Olson          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/world/
                        middleeast/egypt-climate-cop27-natural-      Egypt Conferences Host Still Prioritizes Fossil
2022-11-07   2022-11-08 gas.html                                     Fuel Sales                                      By Vivian Yee                    TX 9-257-651   2023-01-03
                                                                     It Took Two Weeks to Call Every State in
                        https://www.nytimes.com/interactive/2022/11/ 2020 This Is When to Expect Results This        By Alicia Parlapiano and Lazaro
2022-11-07   2022-11-08 07/us/elections/election-results-time.html   Year                                            Gamio                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/11/ Will Rain Affect Turnout Tomorrow The
2022-11-07   2022-11-08 07/us/elections/election-weather.html        Answer Is Cloudy                                By Eve Washington and John Keefe TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/opinion Governors Can Do a Lot to Hurt Reproductive
2022-11-08   2022-11-08 /lee-zeldin-abortion-ny.html                 Rights                                          By Michelle Goldberg             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/theater/
2022-11-08   2022-11-08 only-gold-review.html                        Just Tune Out All Those Words                   By Jesse Green                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/us/polit A Group Fueled by Falsehoods Stands Ready By Alexandra Berzon and Ken
2022-11-08   2022-11-08 ics/michigan-elections-group.html            to Challenge Votes                              Bensinger                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/insider/
                        to-cover-the-midterms-its-all-hands-on-
2022-11-08   2022-11-08 deck.html                                    For Midterms Its All Hands on Deck              By Emmett Lindner                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/sports/n
                        caabasketball/olivia-dunne-haley-jones-      Big Payday for College Women In Sports Is
2022-11-08   2022-11-08 endorsements.html                            Met With Qualms                                 By Kurt Streeter                 TX 9-257-651   2023-01-03




                                                                                 Page 4474 of 5793
                        https://www.nytimes.com/2022/11/08/sports/s Protest and Repression in Iran Are Taking
2022-11-08   2022-11-08 occer/world-cup-iran-qatar.html             Toll on Symbol of Unity                      By Jer Longman and Farnaz Fassihi TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/08/us/polit Voting Access and Abortion Highlight
2022-11-08   2022-11-08 ics/governors-elections-midterms.html       Governors Races                              By Reid J Epstein                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/08/us/polit Republicans Aim to Retake the House With
2022-11-08   2022-11-08 ics/house-midterms-what-to-watch.html       Many Democratic Seats Imperiled              By Jonathan Weisman                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/08/us/polit
2022-11-08   2022-11-08 ics/senate-what-to-watch-election.html      What to Watch                                By Jonathan Weisman                TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/08/world/a Delivering Food Goods and a Sense of Unity
2022-11-08   2022-11-08 frica/senegal-gambia-senegambia-bridge.html by Bridge                                 By Elian Peltier                      TX 9-257-651     2023-01-03
                        https://www.nytimes.com/live/2022/11/07/us/ Republican VoteAuditing Efforts Suffer
                        election-midterm-news/vote-auditing-arizona- Another Setback in Strongly Conservative
2022-11-08   2022-11-08 election                                     Arizona County                           By Charles Homans                     TX 9-257-651     2023-01-03

                        https://www.nytimes.com/live/2022/11/08/us/
                        election-midterms/across-the-country-a-range- Ballot Initiatives in Several States Put Voting
2022-11-08   2022-11-08 of-ballot-measures-will-shape-state-policy    Questions Up for a Vote                         By Rick Rojas and Zach Montague TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/10/26/us/polit From Behind the Scenes Aides Grow Into
2022-10-26   2022-11-09 ics/campaign-press-aides-social-media.html Stars on Social Media                         By Michael C Bender                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/10/31/upshot/
2022-10-31   2022-11-09 supreme-court-justices-portraits.html       The Cultivated Image of the Court            By Larry Buchanan                  TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/02/books/r
2022-11-02   2022-11-09 eview/cheap-land-colorado-ted-conover.html Little House on the Flats With Rough Edges    By Jennifer Szalai                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/02/dining/
2022-11-02   2022-11-09 make-ahead-thanksgiving-recipes.html        Plan Ahead to Ease LastMinute Stress         By Genevieve Ko                    TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/02/dining/
2022-11-02   2022-11-09 vegetarian-thanksgiving-sides.html          This Thanksgiving Add Some Color             By David Tanis                     TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/03/busines
                        s/energy-environment/china-coal-natural-                                                 By Keith Bradsher and Clifford
2022-11-03   2022-11-09 gas.html                                    China Keeps Burning More Coal                Krauss                             TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/03/dining/
2022-11-03   2022-11-09 drinks/sherry-cobbler-recipe.html           Simple Cocktail Puts Sherry in a New Light   By Rebekah Peppler                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/03/nyregio
2022-11-03   2022-11-09 n/tony-isidore-dead.html                    Tony Isidore 89 a Galvanizing Adman          By Sam Roberts                     TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/dining/
2022-11-04   2022-11-09 ai-thanksgiving-menu.html                   A Thanksgiving Menu by Machine               By Priya Krishna and Cade Metz     TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/dining/
2022-11-04   2022-11-09 ai-thanksgiving-recipes.html                Cook Like a Robot A Sample Recipe            By Priya Krishna                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/04/dining/t
2022-11-04   2022-11-09 hanksgiving-yuca-brazil.html                A Brazilian Change of Pace for the Holiday   By Christina Morales               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/05/books/c
2022-11-05   2022-11-09 laire-keegan-foster-books.html              Saying So Much So Concisely                  By Alexandra Alter                 TX 9-257-651     2023-01-03



                                                                                 Page 4475 of 5793
                        https://www.nytimes.com/2022/11/05/us/polit
2022-11-05   2022-11-09 ics/politics-impacts-relationships.html      Cold and Tense                             By Maggie Astor            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/article/powerball- Winner Sold In California For Jackpot Of 2 By Remy Tumin Amanda Holpuch
2022-11-05   2022-11-09 jackpot-lottery-prize.html                   Billion                                    and Johnny Diaz            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/dining/
2022-11-07   2022-11-09 hbo-the-big-brunch.html                      A New Show Serves Eggs and Redemption By Tejal Rao                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/dining/t The Secret To Turkey Perfection Is Within
2022-11-07   2022-11-09 hanksgiving-turkey-mayonnaise.html           Reach                                      By J Kenji LpezAlt         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/arts/dan
                        ce/review-dimitris-papaioannou-transverse-
2022-11-08   2022-11-09 orientation.html                             Epic Visual Impact Using Minimal Means     By Siobhan Burke           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/arts/des A British Bulldogs Aura Invigorates His
2022-11-08   2022-11-09 ign/churchill-art-paintings-fans.html        Paintings                                  By Milton Esterow          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/arts/des Art Is Put to the Flame In a Bid for NFT
2022-11-08   2022-11-09 ign/frida-kahlo-nft-martin-mobarak.html      Glory                                      By Zachary Small           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/arts/mu
2022-11-08   2022-11-09 sic/drake-21-savage-her-loss-review.html     A Frisky Collaboration Thats a Playground  By Jon Caramanica          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/arts/tele The Latest Head Thats Fit to Wear The
2022-11-08   2022-11-09 vision/the-crown-imelda-staunton.html        Crown                                      By Roslyn Sulcas           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/busines Herman Daly 84 Dies Economist Challenged
2022-11-08   2022-11-09 s/economy/herman-daly-dead.html              The Gospel of Growth                       By Ed Shanahan             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/busines
                        s/economy/lucid-group-saudi-arabia-          Lucid Says It Will Raise 15 Billion And
2022-11-08   2022-11-09 earnings.html                                Reports a Loss of 670 Million              By Neal E Boudette         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/busines Evelyn de Rothschild 91 Financial Force Who
2022-11-08   2022-11-09 s/evelyn-de-rothschild-dead.html             Bolstered Dynasty Dies                     By Robert D McFadden       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/busines
2022-11-08   2022-11-09 s/gym-health-club-real-estate.html           Gyms Are a Bright Spot for Retail          By Jane Margolies          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/busines Levis Names Chief of Kohls To Succeed
2022-11-08   2022-11-09 s/kohls-chief-executive-departure.html       Longtime Leader                            By Jordyn Holman           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/busines
2022-11-08   2022-11-09 s/media/disney-earnings.html                 Disney Adds To Streaming By 12 Million     By Brooks Barnes           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/climate Rich Countries Pledge Millions in Climate
2022-11-08   2022-11-09 /loss-and-damage-cop27-climate.html          Funds to Poorer Nations                    By David Gelles            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/climate The Things Americans Value Most Are at       By Brad Plumer and Raymond
2022-11-08   2022-11-09 /national-climate-assessment.html            Risk Draft Report on Warming Warns         Zhong                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/dining/j In New York Jewish Delis Are Still Piled
2022-11-08   2022-11-09 ewish-delis-nyc.html                         High                                       By Nikita Richardson       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/dining/ A Parisian Brasserie With a Global Footprint
2022-11-08   2022-11-09 nyc-restaurant-news.html                     Sets Up Shop in TriBeCa                    By Florence Fabricant      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/dining/r
                        estaurant-review-sichuan-food-nha-sang-
2022-11-08   2022-11-09 queens.html                                  Its All Over the Map for Good Reason       By Pete Wells              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/fashion
2022-11-08   2022-11-09 /childrens-watches-blok.html                 A kids watch with a purpose                By Kathleen Beckett        TX 9-257-651   2023-01-03



                                                                            Page 4476 of 5793
                        https://www.nytimes.com/2022/11/08/fashion
2022-11-08   2022-11-09 /qatar-watches-world-cup.html              The watch faces of Qatar                      By David Belcher               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/fashion
2022-11-08   2022-11-09 /watches-auction-swiss-institute.html      Of art and watches                            By Victoria Gomelsky           TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/08/fashion
2022-11-08   2022-11-09 /watches-breitling-lab-grown-diamonds.html Another way to sparkle                        By Robin Swithinbank           TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/fashion
                        /watches-european-union-regulation-
2022-11-08   2022-11-09 transparency.html                          Shining a light on the world of watches       By Victoria Gomelsky           TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/fashion
2022-11-08   2022-11-09 /watches-manuel-emch-louis-erard.html      His specialty Building watch brands           By Robin Swithinbank           TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/fashion
2022-11-08   2022-11-09 /watches-responsibly-mined-gold.html       Mixing gold and responsibility                By Anders Modig                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/movies/
                        something-in-the-dirt-justin-benson-aaron-
2022-11-08   2022-11-09 moorhead-interview.html                    A Belief in Themselves and Very Little Else   By Andrew Crump                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/nyregio Epstein Victim Says She May Have Made         By Katherine Rosman and Jonah E
2022-11-08   2022-11-09 n/epstein-victim-giuffre-dershowitz.html   Mistake In Accusing Dershowitz                Bromwich                        TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/08/nyregio First Woman Takes the Helm of a Fire
2022-11-08   2022-11-09 n/nyc-laura-kavanagh-fire-comissioner.html Department Resistant to Change             By Chelsia Rose Marcius           TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/opinion How to Talk to Kids About Drugs in the Age
2022-11-08   2022-11-09 /fentanyl-teens.html                       of Fentanyl                                By Maia Szalavitz                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/opinion Impending Fascism Isnt One of Israels
2022-11-08   2022-11-09 /israel-election-fascism.html              Problems                                   By Bret Stephens                  TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/08/opinion
2022-11-08   2022-11-09 /midterms-election-denial-winners-losers.html Keep Your Eyes on the Losing Candidates   By Lynn Vavreck                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/opinion
                        /midterms-republicans-election-
2022-11-08   2022-11-09 denialism.html                                Republicans Didnt Have to Do These Things By Jamelle Bouie                TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/08/science Experts Fear Lifting a Crab Catch Ban May
2022-11-08   2022-11-09 /crab-harvest-horseshoe-conservation.html   Hurt Shorebirds                           By Jon Hurdle                     TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/sports/f Top Concussion Panel Dismisses Links to
2022-11-08   2022-11-09 ootball/cte-brain-trauma-concussions.html   CTE Cited by Other Experts                By Ken Belson                     TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/sports/f                                           By Victor Mather and Emmanuel
2022-11-08   2022-11-09 ootball/jeff-saturday-colts-nfl-coach.html  No Experience Poses No Problem Owner Says Morgan                            TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/sports/o With Russia Stalling AntiDoping Agency
2022-11-08   2022-11-09 lympics/valieva-doping-wada-cas.html        Appeals                                   By Juliet Macur                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/sports/t Unlikely Champion Completes Her Rise In a
2022-11-08   2022-11-09 ennis/garcia-wta-finals-sabalenka.html      Surprising Year                           By Christopher Clarey             TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/technol                                            By David YaffeBellany and Erin
2022-11-08   2022-11-09 ogy/binance-ftx-deal-crypto.html            Binance To Rescue FTX a Rival In Crypto   Griffith                          TX 9-257-651    2023-01-03



                                                                                Page 4477 of 5793
                        https://www.nytimes.com/2022/11/08/technol Holmes Is Set to Be Sentenced As New Trial
2022-11-08   2022-11-09 ogy/elizabeth-holmes-denied-new-trial.html Request Is Denied                             By Erin Griffith                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/technol Musk Puts His Politics on Display Urging      By Adam Satariano Ryan Mac and
2022-11-08   2022-11-09 ogy/elon-musk-twitter-elections.html        Votes for the GOP                            Tiffany Hsu                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/theater/ In This Living Room Beware Friends Family
2022-11-08   2022-11-09 a-delicate-balance-review.html              and Drinks                                   By Maya Phillips                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/us/polit Georgia Poll Workers Ousted Over Tie to Jan
2022-11-08   2022-11-09 ics/atlanta-poll-workers-jan-6.html         6                                            By Richard Fausset               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/us/polit Pelosi Recounting How She Learned of
2022-11-08   2022-11-09 ics/nancy-pelosi-congress-attack.html       Attack Teases Decision on Her Future         By Annie Karni                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/us/polit Informant Likely to Testify for Defense in
2022-11-08   2022-11-09 ics/oath-keepers-trial-january-6.html       Oath Keepers Trial                           By Alan Feuer and Adam Goldman TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/08/us/polit Trump Threatens to Reveal Unflattering
2022-11-08   2022-11-09 ics/trump-desantis-2024.html                Information About DeSantis if He Runs        By Maggie Haberman               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/us/polit In Polarized Country a Belief That Voting
2022-11-08   2022-11-09 ics/united-states-voters.html               Still Makes a Difference                     By Eric Nagourney                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/us/supr
                        eme-court-pennsylvania-corporations-        Court Weighs State Law on Suits Against
2022-11-08   2022-11-09 lawsuit.html                                Companies                                    By Adam Liptak                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/us/voter Overcoming Legal Barriers to Find Physical
2022-11-08   2022-11-09 s-disabled-midterm-elections.html           Ones                                         By Neelam Bohra                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/world/a
2022-11-08   2022-11-09 frica/kenya-china-railway-contract.html     Kenya Discloses Part of Rail Deal With China By Abdi Latif Dahir              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/world/a South Africa Faces an Uphill Battle to        By Lynsey Chutel John Eligon and
2022-11-08   2022-11-09 frica/south-africa-coal-cop27-climate.html  Transition From Coal                         Joao Silva                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/world/e
                        urope/france-catholic-church-sexual-        New Scrutiny After French Cardinal Admits
2022-11-08   2022-11-09 abuse.html                                  Behaving Reprehensibly With Girl 14          By Aurelien Breeden              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/world/e
                        urope/ukraine-refugees-kherson-             They Started Tightening the Screws Fleeing By Carlotta Gall and Oleksandr
2022-11-08   2022-11-09 zaporizhzhia.html                           Russias Army                                 Chubko                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/world/e Aerial War Over Ukraine Heats Up as Russia By Marc Santora Shashank Bengali
2022-11-08   2022-11-09 urope/ukraine-russia-iran-missiles.html     Hammers Cities and Vital Services            and Andrew E Kramer              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/world/u
2022-11-08   2022-11-09 s-international-democracy.html              Allies Wonder Why America Cant Fix Itself By Damien Cave                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/elect With the Grueling Election Over Allegations
2022-11-08   2022-11-09 ion-deniers-poll-workers.html               and Litigation Await                         By Michael Wines                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/live/2022/11/08/us/
                        election-midterms/midterm-election-text-    Targeted GetOuttheVote Texts Raise
2022-11-08   2022-11-09 messages-privacy                            Concerns About Privacy                       By Natasha Singer                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/live/2022/11/08/us/                                              By Joe Rennison and Isabella
2022-11-08   2022-11-09 election-midterms/midterms-stock-market     Investors Expect Bounce From Midterms        Simonetti                        TX 9-257-651   2023-01-03




                                                                               Page 4478 of 5793
                        https://www.nytimes.com/live/2022/11/08/us/
                        election-midterms/on-election-day-one-thing- Symbolic or Silly But Proudly Worn By Red
2022-11-08   2022-11-09 everyone-can-agree-on-i-voted-stickers          and Blue                                 By Eden Weingart                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/live/2022/11/08/us/
                        voting-polls-ballots/ohio-election-fraud-       Poised to Counter Falsehoods Before They
2022-11-08   2022-11-09 misinformation                                  Could Go Viral                           By Cecilia Kang                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/live/2022/11/08/us/
                        voting-polls-ballots/voters-in-one-mostly-
                        hispanic-polling-site-in-houston-are-unable-to-
2022-11-08   2022-11-09 cast-ballots-for-4-hours                        Delays in Houston Prompt Concerns        By J David Goodman               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/busines Anchors Plead for Patience As Viewers Tune By Michael M Grynbaum John
2022-11-09   2022-11-09 s/media/midterm-elections-media-tv.html         In to Count                              Koblin and Jeremy W Peters       TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/08/nyregio In New Jersey Malinowskis Rematch With       By Tracey Tully Lauren Hard
2022-11-09   2022-11-09 n/new-jersey-election-malinowski-kean.html Kean Remains Undecided                       Shlomo Schorr and Justin Morris   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/nyregio New York House Races Keep Candidates
2022-11-09   2022-11-09 n/new-york-congress-house.html              Waiting                                     By Michael Gold                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/us/polit Democrats Appear to Hold Own In Races for
2022-11-09   2022-11-09 ics/congress-midterm-elections.html         Crucial House Seats                         By Catie Edmondson                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/us/polit Maryland Chooses a Democrat The States
2022-11-09   2022-11-09 ics/maryland-governor-wes-moore.html        First Black Governor                        By Reid J Epstein                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/us/polit Florida Democrat 25 to Become Voice for
2022-11-09   2022-11-09 ics/maxwell-frost-florida-house.html        Generation Z in Congress                    By Maggie Astor                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/climate Climate Nonprofit Says It Can Track
2022-11-09   2022-11-09 /climate-change-emissions-satellites.html   Emissions Down to the Polluter              By Raymond Zhong                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/sports/f Its Midseason Time to Assess Top Performers
2022-11-09   2022-11-09 ootball/mvp-race-nfl.html                   In the NFL                                  By Mike Tanier                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/elect Despite Few Hiccups in Voting Some in
2022-11-09   2022-11-09 ion-day-voting-polls.html                   GOP Speak of Plots                          By Alan Feuer                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/style/ha A Black Whalers Homestead Stirs a Property
2022-11-01   2022-11-10 mptons-black-whaler.html                    Fight                                       By Lindsay Gellman                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/arts/mu Using Technology To Make Music More
2022-11-03   2022-11-10 sic/technology-disability-music.html        Accessible                                  By Hugh Morris                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/world/e Michael Basman 76 King Of Chess Who Was
2022-11-06   2022-11-10 urope/michael-basman-dead.html              Known For Unorthodox Openings               By Dylan Loeb McClain             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/arts/mu
                        sic/taylor-swift-midnights-billboard-       Taylor Swifts Midnights Sells Robustly in
2022-11-08   2022-11-10 chart.html                                  Week 2                                      By Joe Coscarelli                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/books/r
2022-11-08   2022-11-10 eview/katherine-dunn-toad.html              Now Available A Misfit Ballad               By Molly Young                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/movies/ Leslie Phillips 98 British Comic Actor And
2022-11-08   2022-11-10 leslie-phillips-dead.html                   Sagacious Object in Harry Potter            By Neil Genzlinger                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/style/cf At the Fashion Oscars a New Generation
2022-11-08   2022-11-10 da-awards-2022.html                         Rises                                       By Vanessa Friedman               TX 9-257-651   2023-01-03



                                                                                Page 4479 of 5793
                        https://www.nytimes.com/2022/11/08/style/fr
2022-11-08   2022-11-10 ench-foreign-legion-palladium-boot.html     French Foreign Legion Advances Into Fashion By Elizabeth Paton               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/theater/
                        anne-bogart-saratoga-international-theater- Taking a Look Back From an Experimental
2022-11-08   2022-11-10 institute.html                              Outpost                                     By Elisabeth Vincentelli         TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/08/us/polit Allies Give Ukraine Timely Aid a Weapon to
2022-11-08   2022-11-10 ics/russia-ukraine-missiles-nasams.html      Shoot Down Jets Drones and Cruise Missiles By John Ismay                    TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/08/arts/lee- Lee Bontecou Acclaimed Creator of Unusual
2022-11-09   2022-11-10 bontecou-dead.html                           Sculptures Dies at 91                      By Jennifer Szalai               TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/08/us/polit Kemp Bests Abrams to Win 2nd Term as
2022-11-09   2022-11-10 ics/brian-kemp-georgia-stacey-abrams.html Georgia Governor                               By Maya King                    TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/09/arts/enh
2022-11-09   2022-11-10 eduanna-author-morgan.html                   Her Name She Wrote And More                 By Jennifer Schuessler          TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/09/arts/mu
2022-11-09   2022-11-10 sic/peter-asher.html                         Peter Ashers Long Run At the Top in Music   By Bob Mehr                     TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/09/arts/tele
                        vision/atlanta-the-good-fight-series-
2022-11-09   2022-11-10 finale.html                                  Looking Out For the Surreal                 By James Poniewozik             TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/09/arts/tele
2022-11-09   2022-11-10 vision/the-crown-season-5-review.html        We Are Having Such a Horrible Time          By Mike Hale                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/busines The World Waits for China To Drop Zero        By Alexandra Stevenson and Keith
2022-11-09   2022-11-10 s/china-zero-covid-markets.html              Covid Policy                                Bradsher                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/busines
                        s/dealbook/keurig-dr-pepper-nonalcoholic-
2022-11-09   2022-11-10 deal.html                                    Keurig Invests in Nonalcoholic Brewer       By Lauren Hirsch                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/09/busines                                               By Lauren Hirsch and Benjamin
2022-11-09   2022-11-10 s/forbes-investor-group.html                 Forbes Nears Deal With Investor Group       Mullin                          TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/09/busines
                        s/media/election-night-tv-ratings-           Viewership Is Down But MSNBC Bests
2022-11-09   2022-11-10 midterms.html                                CNN                                         By Michael M Grynbaum           TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/09/busines Redfin Pares Work Force As Housing Market
2022-11-09   2022-11-10 s/redfin-laysoffs-home-flipping-service.html Cools                                    By Isabella Simonetti           TX 9-257-651       2023-01-03
                        https://www.nytimes.com/2022/11/09/busines EV Maker Rivian Reports 17 Billion Loss in
2022-11-09   2022-11-10 s/rivian-third-quarter-earnings.html         the Third Quarter                        By Neal E Boudette              TX 9-257-651       2023-01-03
                        https://www.nytimes.com/2022/11/09/busines
2022-11-09   2022-11-10 s/stock-market-midterms.html                 Midterms and Crypto Weigh Down Stocks    By Joe Rennison and Chang Che   TX 9-257-651       2023-01-03
                        https://www.nytimes.com/2022/11/09/climate Plans Could Unlock Trillions to Help Poor
2022-11-09   2022-11-10 /imf-world-bank-climate-cop27.html           Countries Manage Climate Change          By David Gelles and Max Bearak TX 9-257-651        2023-01-03
                        https://www.nytimes.com/2022/11/09/climate Kerry Confirms Meeting With His Chinese
2022-11-09   2022-11-10 /john-kerry-xie-zhenhua-cop27.html           Counterpart After Months of Silence      By Max Bearak and Lisa Friedman TX 9-257-651       2023-01-03




                                                                                 Page 4480 of 5793
                        https://www.nytimes.com/2022/11/09/health/
                        opioid-addiction-treatment-racial-          For Blacks and Hispanics Treatment for
2022-11-09   2022-11-10 disparities.html                            Opioids Is Shorter Study Finds              By Emily Baumgaertner            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/nyregio
2022-11-09   2022-11-10 n/kathy-hochul-governor.html                New Challenges Arise After a Narrow Victory By Luis FerrSadurn               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/nyregio Onetime Swing State Mirrors the National
2022-11-09   2022-11-10 n/new-jersey-redistricting-house-races.html Divide                                      By Tracey Tully                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/nyregio New York Democrats Cling to Dominance In
2022-11-09   2022-11-10 n/new-york-legislature-supermajority.html   State Legislature                           By Luis FerrSadurn               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/nyregio Stinging Loss for Maloney Chair of the       By Jesse McKinley and Nicholas
2022-11-09   2022-11-10 n/sean-patrick-maloney-lawler.html          DCCC                                        Fandos                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/opinion This American Experiment Might Just Make By Frank Bruni Jonathan V Last
2022-11-09   2022-11-10 /2022-midterm-elections.html                It After All                                and Mallory McMorrow             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/opinion
2022-11-09   2022-11-10 /ron-desantis-midterms.html                 Is DeSantis Now the 2024 GOP FrontRunner By Ross Douthat                     TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/09/sports/b Yankees GM Has a Long ToDo List Including
2022-11-09   2022-11-10 aseball/aaron-judge-yankees-offseason.html Getting a Contract for Himself                   By James Wagner           TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/09/sports/b
                        asketball/brooklyn-nets-jacque-vaughn-        In Search of Stability Nets Install Vaughn As
2022-11-09   2022-11-10 coach.html                                    Their Head Coach                              By Tania Ganguli          TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/09/sports/n Antidoping Officials Did Not Test LongShot
2022-11-09   2022-11-10 ew-york-marathon-lokedi-doping.html           Winner Before Race                            By Matthew Futterman      TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/09/sports/s Looking to Reboot US Fills Roster With
2022-11-09   2022-11-10 occer/us-world-cup-roster.html                Youth                                         By Andrew Keh             TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/09/style/gi
2022-11-09   2022-11-10 orgia-meloni-style.html                       Embracing the Politics of Power Dressing      By Vanessa Friedman       TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/09/style/no
2022-11-09   2022-11-10 ah-beck-tiktok-dixie-damelio.html             Who Me A TikTok Stars Surreal Rise            By Max Berlinger          TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/09/technol
2022-11-09   2022-11-10 ogy/cryptocurrency-binance-ftx.html           Crypto Faces A Reckoning In FTX Collapse By Kevin Roose                 TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/09/technol
                        ogy/elon-musk-twitter-maricopa-election-false Musks Twitter Was Fertile Ground for
2022-11-09   2022-11-10 claims.html                                   Election Day Misinformation                   By Tiffany Hsu            TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/09/technol Implosion of Trusted Exchange Shakes
2022-11-09   2022-11-10 ogy/ftx-binance-crypto.html                   Cryptocurrency Faithful                       By David YaffeBellany     TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/09/technol After Growing Too Quickly Meta Cuts 13 of By Sheera Frenkel Adam Satariano
2022-11-09   2022-11-10 ogy/meta-layoffs-facebook.html                Workers                                       and Ryan Mac              TX 9-257-651      2023-01-03

                        https://www.nytimes.com/2022/11/09/technol Misinformation Flowed During Election but   By Sheera Frenkel and Steven Lee
2022-11-09   2022-11-10 ogy/midterms-election-misinformation.html Less Seemed to Stick                         Myers                            TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/09/technol
2022-11-09   2022-11-10 ogy/personaltech/smartphone-repair.html    We Fix Our Cars So Why Not Our Phones       By Brian X Chen                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/technol Musk Lays Out His Vision To Expand What
2022-11-09   2022-11-10 ogy/twitter-payments-business.html         Twitter Is                                  By Tiffany Hsu and Kate Conger    TX 9-257-651   2023-01-03



                                                                               Page 4481 of 5793
                        https://www.nytimes.com/2022/11/09/us/elect How a Libertarian With 2 of the Vote
2022-11-09   2022-11-10 ions/georgia-runoff-chase-oliver.html       Amplified the Suspense Across Georgia     By Richard Fausset                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/09/us/paul- Paul Morantz 77 California Lawyer Who
2022-11-09   2022-11-10 morantz-dead.html                           Took On Cults and Gurus Dies              By Clay Risen                     TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit Biden Beat the Odds but Faces New
2022-11-09   2022-11-10 ics/biden-midterms-republicans.html         Challenges                                By Peter Baker                    TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit Some Winners Who Broke Barriers Along the
2022-11-09   2022-11-10 ics/diverse-candidates-midterms.html        Way                                       By Maggie Astor and Stephanie Lai TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit Far From a Deterrent Fettermans Health
2022-11-09   2022-11-10 ics/fetterman-midterms-pennsylvania.html    Battle Inspired Pennsylvanians            By Trip Gabriel                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit Republicans Take Solace in Ohio Where
2022-11-09   2022-11-10 ics/jd-vance-ohio-senate.html               Vances Strategy Succeeded                 By Matt Flegenheimer              TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/09/us/polit McCarthy Declares for Speaker Before GOP
2022-11-09   2022-11-10 ics/mccarthy-republicans-speaker-house.html Is Assured of Majority                      By Annie Karni                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit
2022-11-09   2022-11-10 ics/midterm-elections-takeaways.html        Five Takeaways From the Midterms So Far By Blake Hounshell                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit                                             By Shane Goldmacher and Katie
2022-11-09   2022-11-10 ics/midterm-elections.html                  After Divisive Campaign Voters Weigh In     Glueck                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit After Midterms America Looks Very Much
2022-11-09   2022-11-10 ics/republican-election-results.html        the Same Fiercely Divided                   By Lisa Lerer                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit Costly Race Still Not Over Could Decide
2022-11-09   2022-11-10 ics/senate-control-nevada-race.html         Senate Control                              By Ben Shpigel                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit Nations Votes On Issues Also Reflect Its
2022-11-09   2022-11-10 ics/state-ballot-measures-results.html      Divisions                                   By Rick Rojas                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit
                        ics/supreme-court-native-american-          Justices Split On 1978 Act About Tribes And
2022-11-09   2022-11-10 adoptions.html                              Adoption                                    By Adam Liptak                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit By Splitting Tickets Some Voters Resist the
2022-11-09   2022-11-10 ics/ticket-splitters-midterms.html          Nations Bitter Divisions                    By Katie Glueck and Ruth Igielnik TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit                                             By Nick Corasaniti Reid J Epstein
2022-11-09   2022-11-10 ics/trump-election-candidates-voting.html   Election Deniers Fall Short in Key States   and Jonathan Weisman              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit Early Peace Talks Appear Unlikely as        By Michael Crowley Edward Wong
2022-11-09   2022-11-10 ics/ukraine-russia-peace-talks.html         Russians Retreat and Retaliate              and Julian E Barnes               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit Warnock and Walker Head to Runoff Election
2022-11-09   2022-11-10 ics/warnock-walker-georgia-runoff.html      in Pivotal Senate Race                      By Maya King                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit Wisconsin Reelects Evers and Johnson in
2022-11-09   2022-11-10 ics/wisconsin-tony-evers-ron-johnson.html   Split Result                                By Julie Bosman                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/sub Long Prison Terms for Couple Who Tried To
2022-11-09   2022-11-10 marine-couple-sentence-judge.html           Sell Secrets About Nuclear Submarines       By Julian E Barnes                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/texa ORourke Drew Crowds But Not Enough
2022-11-09   2022-11-10 s-beto-orourke-abbott.html                  Votes For Blue Wave in Texas                By J David Goodman                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/world/a Endangered Turtles Thrive in Sanctuary But
2022-11-09   2022-11-10 sia/sea-turtle-sanctuary-philippines.html   Face a New Peril                            By Hannah Reyes Morales           TX 9-257-651   2023-01-03




                                                                               Page 4482 of 5793
                        https://www.nytimes.com/2022/11/09/world/e
2022-11-09   2022-11-10 urope/adidas-earnings-yeezy.html           Adidas Cuts Its Forecasts A 4th Time           By Melissa Eddy                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/world/e
                        urope/brittney-griner-russian-penal-       Griner Begins Bleak Passage From Jail To
2022-11-09   2022-11-10 colony.html                                Opaque Russia Penal Colony System              By John Yoon                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/world/e Germany Taking a Firmer Line on China
2022-11-09   2022-11-10 urope/germany-china-investment.html        Blocks 2 Foreign Investment Deals              By Melissa Eddy                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/world/e
2022-11-09   2022-11-10 urope/italy-france-migrant-ship.html       Migrant Ship Denied by Italy Sails to France   By Gaia Pianigiani               TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/09/world/e For New British Leader Messy Politics at       By Mark Landler and Stephen
2022-11-09   2022-11-10 urope/uk-rishi-sunak-gavin-williamson.html Home Overshadow Smooth Global Debut            Castle                           TX 9-257-651   2023-01-03

                                                                                                              By Marc Santora Andrew E Kramer
                        https://www.nytimes.com/2022/11/09/world/e In Major Retreat Kremlin Pulls Forces From Dan Bilefsky Ivan Nechepurenko
2022-11-09   2022-11-10 urope/ukraine-russia-kherson-retreat.html  Kherson                                    and Anton Troianovski           TX 9-257-651        2023-01-03
                        https://www.nytimes.com/2022/11/09/world/e Both Russia and Ukraine Are Mixing
2022-11-09   2022-11-10 urope/ukraine-russia-war-weapons.html      Trickery With Artillery on the Battlefield By Andrew E Kramer              TX 9-257-651        2023-01-03

                        https://www.nytimes.com/2022/11/09/world/e Ukrainian Officials to Visit Washington in
2022-11-09   2022-11-10 urope/ukraine-us-election-republicans.html   Bid to Bolster Bipartisan Support            By Andrew E Kramer               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/world/ Ruinous Electoral Failure Has Israels Left
2022-11-09   2022-11-10 middleeast/israel-left-netanyahu.html        Groping for a Vision and a Future            By Patrick Kingsley              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/world/
2022-11-09   2022-11-10 middleeast/jordan-water-cop-27.html          In Jordan a Grim Glimpse of a Parched Future By Karen Zraick                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/11/
                        09/technology/maricopa-county-arizona-       How News About Maricopa Countys
2022-11-09   2022-11-10 voting-machines-kari-lake.html               BallotCounting Machines Went Viral           By Stuart A Thompson             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/live/2022/11/09/us/
                        election-updates-results/in-nevada-days-of-                                               By Danny Hakim Jennifer Medina
2022-11-09   2022-11-10 counting-votes-lie-ahead                     Final Tally Unlikely For Several Days        and Julie Brown                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/arts/des Microsoft CoFounders Art Tops 1 Billion at
2022-11-10   2022-11-10 ign/paul-allen-auction-christies.html        Christies                                    By Robin Pogrebin                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/movies/ Beatty Faces Suit Alleging Sex Assault Of
2022-11-10   2022-11-10 warren-beatty-sexual-assault-lawsuit.html    Girl in 73                                   By Reggie Ugwu                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/nyregio In Fight for House New York Was the
2022-11-10   2022-11-10 n/new-york-republicans-house.html            Democrats Weakest Link                       By Nicholas Fandos               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/opinion It Could Have Been Worse Never Felt This
2022-11-10   2022-11-10 /midterms-georgia-oz-trump.html              Good                                         By Gail Collins                  TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/09/technol Charges Dropped Against Election Software
2022-11-10   2022-11-10 ogy/konnech-eugene-yu-charges-dropped.html Executive                                 By Stuart A Thompson                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/flori Storm Threatens Florida And Some         By Joe Capozzi Remy Tumin and
2022-11-10   2022-11-10 da-hurricane-nicole-ian.html                Communities Battered by Last Big One     Rick Rojas                            TX 9-257-651   2023-01-03




                                                                                 Page 4483 of 5793
                        https://www.nytimes.com/2022/11/09/us/polit A New Class Takes Shape Diverse and        By Emily Cochrane and Catie
2022-11-10   2022-11-10 ics/new-house-members.html                  Extreme Too                                Edmondson                          TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/09/us/polit In New Book Pence Describes Trump
2022-11-10   2022-11-10 ics/pence-trump-jan-6.html                  Pressuring Him to Block Bidens Certification By Maggie Haberman               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit Republicans Fail to Expand Their Control of
2022-11-10   2022-11-10 ics/state-legislatures-election.html        Statehouses                                  By Simon Romero                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/polit Trump Receives Torrent Of Blame From His By Michael C Bender and Maggie
2022-11-10   2022-11-10 ics/trump-republicans-midterms.html         Party                                        Haberman                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/us/ron- DeSantiss Political Career Is Supercharged
2022-11-10   2022-11-10 desantis-victory-florida.html               With Eye on White House                      By Patricia Mazzei               TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/10/sports/o Russian Figure Skaters Doctor Has Long     By Juliet Macur and Gabrielle
2022-11-10   2022-11-10 lympics/kamila-valieva-drug-test-doctor.html Worked in the Shadows                     Paluch                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/style/in
                        venting-a-new-language-for-talking-about-
2022-11-10   2022-11-10 style.html                                     A Dusty Throwback Finds Its Niches      By Jessica Testa                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/style/th
                        e-curious-life-and-strange-death-of-a-fashion-
2022-11-10   2022-11-10 insider.html                                   A Curious Life and Strange Death        By Guy Trebay                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/polit
                        ics/abortion-midterm-elections-democrats-      Anger Over Abortion Rights Fueled
2022-11-10   2022-11-10 republicans.html                               Democrats                               By Lisa Lerer and Elizabeth Dias   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/yaka Overcoming Hate and Forging a Bond
2022-11-10   2022-11-10 ma-nation-japanese-farm.html                   Through a Farm                          By Amy Qin and Ruth Fremson        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/10/
                        30/business/economy/russia-trade-ukraine-                                              By Lazaro Gamio and Ana
2022-10-31   2022-11-11 war.html                                       How Russia Pays for War                 Swanson                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/arts/des
                        ign/jimmy-desana-brooklyn-museum-
2022-11-08   2022-11-11 photographer-nudes.html                        Visions From the Past That Feel Current By Arthur Lubow                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/movies/
2022-11-08   2022-11-11 incredible-but-true-review.html                Incredible but True                     By Jeannette Catsoulis             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/arts/des
                        ign/naturalis-museum-java-man-                 Dispute Raises a Question Who Owns
2022-11-09   2022-11-11 indonesia.html                                 Prehistory                              By Nina Siegal                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/arts/mu Joe Tarsia 88 Who Helped Shape The Unique
2022-11-09   2022-11-11 sic/joe-tarsia-dead.html                       Sound of Philadelphia                   By Bill FriskicsWarren             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/briefing
2022-11-09   2022-11-11 /how-to-approach-the-holidays.html             Steps to Manage Holiday Virus Risk      By Jonathan Wolfe                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/climate
                        /david-malpass-world-bank-cop27-climate- Credibility Questions Nip Heels of World
2022-11-09   2022-11-11 change.html                                    Bank Chief                              By David Gelles                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/crossw An American Is the Correspondence Champ a
2022-11-09   2022-11-11 ords/correspondence-chess.html                 Title Two Years in the Making           By Greg Keener                     TX 9-257-651   2023-01-03



                                                                                Page 4484 of 5793
                        https://www.nytimes.com/2022/11/09/health/ Treatment Saves Baby After Her Sisters Died
2022-11-09   2022-11-11 pompe-disease-treatment.html               From Genetic Disorder                       By Gina Kolata                       TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/09/movies/
2022-11-09   2022-11-11 black-panther-wakanda-forever-review.html Women Prepare to Defend the Home Front            By AO Scott                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/arts/des
                        ign/narsiso-martinez-farmworkers-artist-       Spotlighting the Workers Behind Produce
2022-11-10   2022-11-11 california.html                                Labels                                       By Jori Finkel                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/arts/des
                        ign/salon-art-design-fair-park-avenue-
2022-11-10   2022-11-11 armory.html                                    A Fair Explores Boundaries and Intersections By Martha Schwendener           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/arts/des
2022-11-10   2022-11-11 ign/theaster-gates-new-museum.html             Poetry Power and Loss That Shaped a Vision By Aruna DSouza                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/arts/mu
2022-11-10   2022-11-11 sic/korngold-symphony.html                     A Composer Long Gone Is Steadily Rising      By David Allen                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/arts/mu
                        sic/review-death-of-classical-owls-
2022-11-10   2022-11-11 quartet.html                                   Alive and Well and Living in a Crypt         By Seth Colter Walls            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/arts/tele
2022-11-10   2022-11-11 vision/mythic-quest-david-beckham.html         This Weekend I Have                          By Margaret Lyons               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/arts/tele
                        vision/the-english-emily-blunt-chaske-
2022-11-10   2022-11-11 spencer.html                                   A Stylized Western With Big Emotions         By Elisabeth Vincentelli        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/arts/tele
                        vision/the-mammals-review-james-               Bursting the Chains of the LateNight
2022-11-10   2022-11-11 corden.html                                    Schmooze                                     By Mike Hale                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/books/h Strikers at HarperCollins Seek Better Pay and By Alexandra Alter and Elizabeth
2022-11-10   2022-11-11 arpercollins-strike.html                       Benefits                                     A Harris                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/busines
                        s/economy/corporate-bonds-fed-interest-
2022-11-10   2022-11-11 rates.html                                     Corporate Bond Fears Are Rising With Rates By Talmon Joseph Smith            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/busines Inflation Starting to Taper In Positive Sign for
2022-11-10   2022-11-11 s/economy/october-inflation-data.html          the Fed                                      By Jeanna Smialek               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/busines
                        s/energy-environment/california-rooftop-solar- California Regulators Seek to Reduce Credits
2022-11-10   2022-11-11 net-metering.html                              for Excess Rooftop Solar Power               By Ivan Penn                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/busines
                        s/energy-environment/diesel-prices-            The Price of Diesel Which Powers the
2022-11-10   2022-11-11 inflation.html                                 Economy Is Still Climbing                    By Clifford Krauss              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/busines
2022-11-10   2022-11-11 s/media/trump-fox-news-murdoch.html            Trump Falls Out of Favor With Old Ally       By Jeremy W Peters              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/busines
2022-11-10   2022-11-11 s/stock-market-inflation.html                  Stocks Soar On Signals Inflation Is Easing   By Joe Rennison                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/busines WeWork Will Close About 40 Sites as Losses
2022-11-10   2022-11-11 s/wework-quarterly-earnings.html               Narrow                                       By Peter Eavis                  TX 9-257-651   2023-01-03



                                                                                 Page 4485 of 5793
                        https://www.nytimes.com/2022/11/10/climate Biden Will Face a World Demanding
2022-11-10   2022-11-11 /biden-cop27-climate-reparations.html       Reparations                                 By Lisa Friedman       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/health/c RJ Reynolds Sues California Over a Flavored
2022-11-10   2022-11-11 alifornia-menthol-tobacco-flavor-ban.html   Tobacco Ban Approved by Voters              By Christina Jewett    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/health/c Masks Work to Cut Covid Spread a Study of
2022-11-10   2022-11-11 ovid-schools-masks.html                     Boston School Districts Finds               By Roni Caryn Rabin    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/movies/
2022-11-10   2022-11-11 a-couple-review.html                        In a Peaceful Setting a War of Words        By Ben Kenigsberg      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/movies/
2022-11-10   2022-11-11 being-thunder-review.html                   Being Thunder                               By Teo Bugbee          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/movies/
                        falling-for-christmas-review-lindsay-
2022-11-10   2022-11-11 lohan.html                                  Falling for Christmas                       By Calum Marsh         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/movies/
2022-11-10   2022-11-11 is-that-black-enough-for-you-review.html    Seeing These Lives On the Big Screen        By Brandon Yu          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/movies/
2022-11-10   2022-11-11 my-fathers-dragon-review.html               My Fathers Dragon                           By Amy Nicholson       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/movies/
2022-11-10   2022-11-11 nothing-lasts-forever-review.html           Nothing Lasts Forever                       By Natalia Winkelman   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/movies/
                        paradise-city-review-john-travolta-bruce-
2022-11-10   2022-11-11 willis.html                                 Paradise City                               By Glenn Kenny         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/movies/ In Civil Trial Jury Finds Haggis Liable for
2022-11-10   2022-11-11 paul-haggis-verdict.html                    Raping a Woman in 2013                      By Julia Jacobs        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/movies/
2022-11-10   2022-11-11 retrograde-review.html                      Retrograde                                  By Nicolas Rapold      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/movies/
2022-11-10   2022-11-11 sam-kate-review.html                        Sam amp Kate                                By Devika Girish       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/movies/
2022-11-10   2022-11-11 spirited-review.html                        A Whole Lot of Humbug                       By Maya Phillips       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/movies/
2022-11-10   2022-11-11 the-box-review.html                         The Box                                     By Beatrice Loayza     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/movies/
2022-11-10   2022-11-11 the-fabelmans-review-spielberg.html         Steven Spielberg Phones Home                By Manohla Dargis      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/movies/
2022-11-10   2022-11-11 the-first-noelle-review.html                The First Noelle                            By Concepcin de Len    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/nyregio One of the Democrats Own Dissects New
2022-11-10   2022-11-11 n/aoc-democrats-ny.html                     York Setbacks                               By Nicholas Fandos     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/nyregio New Jersey Man Charged Over Threats to
2022-11-10   2022-11-11 n/new-jersey-arrest-synagogue-threat.html   Attack A Synagogue and Jews                 By Hurubie Meko        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/nyregio FarRight Candidates Find Support in New
2022-11-10   2022-11-11 n/new-york-trump-republicans.html           York                                        By Michael Gold        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/opinion
2022-11-10   2022-11-11 /biden-economy-midterms.html                Two Cheers for the Biden Economy            By Paul Krugman        TX 9-257-651   2023-01-03




                                                                               Page 4486 of 5793
                        https://www.nytimes.com/2022/11/10/opinion
2022-11-10   2022-11-11 /putin-russian-military-ukraine.html        Putin Cant Escape His Countrys History     By Serge Schmemann                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/opinion The SuperSkinny Ideal Isnt Back It Never
2022-11-10   2022-11-11 /skinny-chic.html                           Left                                       By Jessica Grose                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/science Dr Lewis Kuller a Father of Preventive
2022-11-10   2022-11-11 /lewis-kuller-dead.html                     Cardiology Is Dead at 88                   By Richard Sandomir                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/science NASA Tests an Inflatable Heat Shield to
2022-11-10   2022-11-11 /nasa-loftid-inflatable-heat-shield.html    Assist Otherworldly Landings               By Kenneth Chang                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/sports/a
2022-11-10   2022-11-11 utoracing/formula1-engineer-radio.html      Whats on the radio The engineer            By Luke Smith                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/sports/a
2022-11-10   2022-11-11 utoracing/formula1-sprint-debate.html       To sprint or not to sprint                 By Ian Parkes                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/sports/b If the Mets Want to Keep Their Ace It Will
2022-11-10   2022-11-11 aseball/jacob-degrom-mets-offseason.html    Take A Lot of Zeros                        By James Wagner                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/sports/f
                        ootball/dan-snyder-commanders-civil-        NFL Covered Up for Commanders DC           By Juliet Macur Ken Belson and
2022-11-10   2022-11-11 suit.html                                   Attorney General Says in Filing            Jenny Vrentas                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/sports/f Scoring Drops as NFL Defenses Take Away
2022-11-10   2022-11-11 ootball/nfl-scoring-offense-down.html       Big Plays                                  By Emmanuel Morgan                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/technol Latest Viral Idea Sweeping Silicon Valley
2022-11-10   2022-11-11 ogy/big-tech-layoffs.html                   Widespread Layoffs                         By Erin Griffith                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/technol                                             By Kate Conger Ryan Mac and
2022-11-10   2022-11-11 ogy/elon-musk-twitter-employees.html        Musk Paints Dire Picture For Twitter       Mike Isaac                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/technol
2022-11-10   2022-11-11 ogy/ftx-binance-crypto-explained.html       What Happened to FTX Heres What to Know By Kalley Huang                       TX 9-257-651   2023-01-03
                                                                                                               By David YaffeBellany Matthew
                        https://www.nytimes.com/2022/11/10/technol                                             Goldstein Lauren Hirsch and Erin
2022-11-10   2022-11-11 ogy/ftx-crypto-exchange.html                Boss Details Plan to Keep FTX Afloat       Griffith                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/theater/
2022-11-10   2022-11-11 catch-as-catch-can-review.html              Neighborly Friction With Some Iffy Accents By Juan A Ramrez                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/theater/ Warm Memories Tangled In Too Much Pain
2022-11-10   2022-11-11 good-enemy-review.html                      to Bear                                    By Laura CollinsHughes             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/abor Abortion Swayed Voters More Than Was
2022-11-10   2022-11-11 tion-ballot-midterm-elections.html          Predicted                                  By Corina Knoll and Mitch Smith    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/elect The Georgia Senate Runoff Why How Does It By Maya King and Luke
2022-11-10   2022-11-11 ions/georgia-senate-runoff.html             Work                                       Broadwater                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/lois- Lois Curtis 55 Whose Lawsuit Changed How
2022-11-10   2022-11-11 curtis-dead.html                            States Treat People With Disabilities      By Sam Roberts                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/polit Fees Added Families Win 15 Billion From
2022-11-10   2022-11-11 ics/alex-jones-sandy-hook-damages.html      Jones                                      By Elizabeth Williamson            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/polit An InflationDriven Midterm Will Not Change
2022-11-10   2022-11-11 ics/biden-economy-midterms.html             Bidens Economic Focus                      By Jim Tankersley                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/polit Biden Having Taken a Hard Line on Taiwan
2022-11-10   2022-11-11 ics/biden-xi-china-taiwan.html              Is to Meet With Xi                         By Katie Rogers                    TX 9-257-651   2023-01-03




                                                                                Page 4487 of 5793
                        https://www.nytimes.com/2022/11/10/us/polit Biden Pick to Lead the IRS Worked for
2022-11-10   2022-11-11 ics/daniel-werfel-irs-commissioner.html     Obama and Bush                             By Alan Rappeport                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/polit
                        ics/house-supreme-court-trump-tax-          Supreme Court Is Asked To Bar Any More
2022-11-10   2022-11-11 returns.html                                Delay On Trump Tax Returns                 By Charlie Savage                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/polit Key to Jan 6 Trial Did Oath Keepers Plan
2022-11-10   2022-11-11 ics/oath-keepers-sedition-defense.html      Their Role                                 By Alan Feuer                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/polit
                        ics/stacey-abrams-georgia-governor-         Georgia Turned Blue Under Her Strategy But
2022-11-10   2022-11-11 election.html                               It Didnt for Her                           By Maya King and Reid J Epstein    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/polit A PostTrump GrassRoots Movement Lacked
2022-11-10   2022-11-11 ics/trump-grass-roots-midterms.html         the Tea Partys Strength                    By Charles Homans                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/world/a Brazil Election Report Finds No Sign of
2022-11-10   2022-11-11 mericas/brazil-election-fraud.html          Fraud Yet Fuels Disbelief                  By Jack Nicas                      TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/10/world/e                                             By Catherine Porter and Constant
2022-11-10   2022-11-11 urope/france-national-assembly-racism.html Outburst Threatens France Far Rights Push   Mheut                              TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/10/world/e
2022-11-10   2022-11-11 urope/kristallnacht-photos-nazi-germany.html After 84 Years a New Look at a Nazi Pogrom By Christopher F Schuetze         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/world/e
                        urope/norwegian-princess-martha-louise-      Norway Princess Chooses Shaman Over         By Emma Bubola and Henrik
2022-11-10   2022-11-11 durek-verrett.html                           Royal Role                                  Pryser Libell                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/world/e Tears in Kherson as Ukrainian Troops Move
2022-11-10   2022-11-11 urope/ukraine-kherson-russia.html            In                                          By Andrew E Kramer               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/world/e Former Auditor Claims Persecution by
2022-11-10   2022-11-11 urope/vatican-auditor-sues.html              Vatican                                     By Jason Horowitz                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/world/
                        middleeast/alaa-abd-el-fattah-hunger-strike-
2022-11-10   2022-11-11 egypt.html                                   Medical Intervention for Prisoner in Egypt  By Vivian Yee                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/world/ Qatar Will Let Israelis Fly Directly to Doha By Patrick Kingsley and Vivian
2022-11-10   2022-11-11 middleeast/qatar-israelis-world-cup.html     for World Cup Amid Thaw in Relations        Nereim                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/busines
2022-11-11   2022-11-11 s/biden-student-debt-court.html              Student Loan Cancellation Plan Blocked      By Stacy Cowley                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/climate
                        /carbon-dioxide-emissions-global-            Goals Notwithstanding Fossil Fuel Emissions
2022-11-11   2022-11-11 warming.html                                 Have Grown in 2022                          By Brad Plumer                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/opinion
2022-11-11   2022-11-11 /the-fever-is-breaking.html                  The Fever Is Breaking                       By David Brooks                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/sports/b
                        asketball/kyrie-irving-antisemitic-adam-     After a OneonOne Meeting Silver Vouches
2022-11-11   2022-11-11 silver.html                                  for Irving                                  By Sopan Deb                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/theater/
2022-11-11   2022-11-11 kimberly-akimbo-review.html                  Amid All the Sorrow Lots of Fun             By Jesse Green                   TX 9-257-651   2023-01-03




                                                                                Page 4488 of 5793
                        https://www.nytimes.com/2022/11/10/us/judg Judge Penalizes Trump Lawyers for Frivolous
2022-11-11   2022-11-11 e-trump-clinton.html                         Racketeering Case                          By Charlie Savage                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/nicol Hurricane Nicole Takes Homes and Four       By Eric Adelson Abigail Geiger
2022-11-11   2022-11-11 e-hurricane-florida.html                     Lives As It Lashes Florida                 Remy Tumin and Patricia Mazzei    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/polit
2022-11-11   2022-11-11 ics/biden-ukraine-russia-diplomacy.html      US Officials Split on Talks For Wars End   By Peter Baker                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/polit Another Runoff Tests Georgians And
2022-11-11   2022-11-11 ics/georgia-runoff-warnock-walker.html       Candidates                                 By Maya King and Lisa Lerer       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/polit Outcomes Unclear Lawmakers Quietly
2022-11-11   2022-11-11 ics/midterms-congress-capitol.html           Prepare for Victory or Defeat              By Carl Hulse                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/polit Openly Lesbian Governor for Oregon 2nd in
2022-11-11   2022-11-11 ics/oregon-governor-kotek-drazan.html        US                                         By Reid J Epstein                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/sports/n
                        caafootball/ucla-football-game-
2022-11-11   2022-11-11 attendance.html                              The Bruins Are Back The Fans Are Not       By Billy Witz                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/upshot/ Election Denial And End of Roe Shaped
2022-11-11   2022-11-11 midterm-election-abortion-democracy.html Results                                        By Nate Cohn                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/world/a Strategy for Reforestation Starting From the By Karan Deep Singh and Bhadra
2022-11-11   2022-11-11 sia/nepal-reforestration-climate.html        Ground Up                                  Sharma                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/world/e Zero Mention of Putins Name as Russians
2022-11-11   2022-11-11 urope/putin-russia-kherson.html              Discuss a Retreat in Ukraine               By Neil MacFarquhar               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/11/
2022-11-03   2022-11-12 03/travel/things-to-do-savannah.html         36 Hours in Savannah Ga                    By Ariel Felton                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/travel/n
2022-11-04   2022-11-12 ew-mexico-atomic.html                        In These Sands the Nuclear Age Began       By Nina Burleigh                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/06/dining/
2022-11-06   2022-11-12 what-to-cook-this-week.html                  What to Cook Next Week                     By Sam Sifton                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/sports/g
2022-11-07   2022-11-12 reen-bay-titletown-packers-fans.html         Steps From Lambeau Fans Take the Field     By Joshua Needelman               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/world/a Climbing the Hill of Death Without Her       By Julie Turkewitz and Federico
2022-11-09   2022-11-12 mericas/migrants-darien-gap.html             Mother                                     Rios                              TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/10/nyregio Migrant Shelter to Close After Less Than a
2022-11-10   2022-11-12 n/migrant-shelter-randalls-island-close.html Month                                     By Liam Stack                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/opinion Biden Is No Sure Thing for 2024 What About
2022-11-10   2022-11-12 /biden-democrat-2024.html                    Buttigieg Harris Even Whitmer             By Frank Bruni                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/opinion Musk Has No Idea What Hes Doing at
2022-11-10   2022-11-12 /elon-musk-twitter-chaos.html                Twitter                                   By Farhad Manjoo                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/sports/a
                        utoracing/daniel-ricciardo-mclaren-formula- Cut by His Team A Driver Is Hoping To Keep
2022-11-10   2022-11-12 1.html                                       That Fire                                 By Ian Parkes                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/sports/a
2022-11-10   2022-11-12 utoracing/formula-1-brazilian-drivers.html   This race lacks a Brazilian driver Why    By Phillip Horton                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/theater/ Fosses Dancin Reimagined Will Return to
2022-11-10   2022-11-12 dancin-fosse-broadway.html                   Broadway                                  By Michael Paulson                 TX 9-257-651   2023-01-03



                                                                                Page 4489 of 5793
                        https://www.nytimes.com/2022/11/10/theater/
2022-11-10   2022-11-12 where-we-belong-review.html                   A Performer Wonders Whats in a Name        By Naveen Kumar             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/busines FTX Spent Big on Sports Deals Leaving
2022-11-11   2022-11-12 s/ftx-sports-sponsorships.html                Hundreds of Millions of Dollars in Doubt   By Lora Kelley              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/nyregio US Prosecutors Say 3 Correction Officers
2022-11-11   2022-11-12 n/nyc-corrections-officers-sick-leave.html    Lied About Illnesses                       By Rebecca Davis OBrien     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/nyregio New York Is an Outlier A Top House
2022-11-11   2022-11-12 n/sean-patrick-maloney.html                   Democrat on Why He Lost His Seat           By Nicholas Fandos          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/sports/b Jane Gross 75 Trailblazing Reporter Who
2022-11-11   2022-11-12 asketball/jane-gross-dead.html                Opened Locker Room Doors                   By Richard Sandomir         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/us/priv US Scientists Join Activists In Protesting
2022-11-11   2022-11-12 ate-jets-climate-protests-airport.html        Private Jets                               By Vimal Patel              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/arts/ale Actor Accuses Crew of Negligence in Fatal
2022-11-11   2022-11-12 c-baldwin-rust-lawsuit.html                   Shooting on Set                            By Julia Jacobs             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/arts/dan
                        ce/review-vanessa-anspaugh-mourning-after-
2022-11-11   2022-11-12 mornings.html                                 Rituals Of Grief Irreverently Rendered     By Brian Seibert            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/arts/des
2022-11-11   2022-11-12 ign/cubism-met-museum-review.html             Cubism and the Art of Deception            By Jason Farago             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/arts/mu
                        sic/black-panther-wakanda-forever-
2022-11-11   2022-11-12 soundtrack.html                               International Alliances Forged by Song     By Jon Pareles              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/arts/mu Jeff Cook 73 Founder of ChartTopping
2022-11-11   2022-11-12 sic/jeff-cook-dead.html                       Country Band Alabama Dies                  By Bill FriskicsWarren      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/arts/mu
2022-11-11   2022-11-12 sic/rigoletto-met-opera-review.html           A Tenor Roars In His Met Debut             By Oussama Zahr             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/arts/tele Gallagher 76 Who Smashed Watermelons
2022-11-11   2022-11-12 vision/gallagher-dead.html                    With a Sledgehammer Dies                   By Douglas Martin           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/arts/tele
                        vision/the-good-fight-finale-michelle-robert-
2022-11-11   2022-11-12 king.html                                     They Took Disruption and Disrupted It      By Jennifer Vineyard        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/busines Labor Dept Finds 31 Minors Were Employed
2022-11-11   2022-11-12 s/child-labor-meatpacking-plants.html         In Meat Plants                             By Remy Tumin               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/busines China Eases Some Pandemic Policies While
2022-11-11   2022-11-12 s/china-zero-covid-markets.html               Sticking to Its ZeroCovid Approach         By Alexandra Stevenson      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/busines British Economy Shrinks and Europe Braces By Patricia Cohen and Melissa
2022-11-11   2022-11-12 s/economy/uk-eu-economy-recession.html        for a ShortLived Recession                 Eddy                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/busines
2022-11-11   2022-11-12 s/ftx-bankruptcy.html                         FTX a Crypto Linchpin Files for Bankruptcy By David YaffeBellany       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/busines
2022-11-11   2022-11-12 s/stock-markets-global-us.html                Markets Rise at End of a Turbulent Week    By Joe Rennison             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/busines Yellen in India Hoping Its Big Economy Can By Alan Rappeport and Ana
2022-11-11   2022-11-12 s/us-india-relations.html                     Limit Reliance on China and Russia         Swanson                     TX 9-257-651   2023-01-03




                                                                              Page 4490 of 5793
                        https://www.nytimes.com/2022/11/11/climate Road in Alaska Refuge Is Paused as Court
2022-11-11   2022-11-12 /anilca-road-alaska-trump-court-decision.html Reconsiders Case                        By Henry Fountain                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/11/climate Biden Vows LowCarbon Future With US as a By Lisa Friedman and Jim
2022-11-11   2022-11-12 /biden-cop27-climate-speech.html              Leader on Climate                       Tankersley                       TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/11/dining/j Joyce Molyneux 91 Culinary Pioneer Whose
2022-11-11   2022-11-12 oyce-molyneux-dead.html                       Kitchen Earned Michelin Star            By Neil Genzlinger               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/11/movies/
                        elvis-mitchell-is-that-black-enough-for-you-
2022-11-11   2022-11-12 netflix.html                                  An Opportune Time to Share His Thoughts By Reggie Ugwu                   TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/11/nyregio Judge Blocks Licenses for Some Cannabis
2022-11-11   2022-11-12 n/cannabis-dispensary-license-blocked.html Sellers                                       By Ashley Southall              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/nyregio Questions for the Police After a Suspect Is   By Ashley Southall and Rebecca
2022-11-11   2022-11-12 n/nypd-rape-hudson-river-park.html          Left Free to Strike Again                    Davis OBrien                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/opinion Our Worst Fears Have Come True in
2022-11-11   2022-11-12 /international-world/myanmar-coup.html      Myanmar                                      By Nilar Thein                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/sports/t
2022-11-11   2022-11-12 ennis/atp-felix-auger-aliassime.html        A player whos on a roll                      By Cindy Shmerler               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/sports/t
2022-11-11   2022-11-12 ennis/atp-finals-memorable-matches.html     Decades of drama at the Finals               By Cindy Shmerler               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/sports/t
2022-11-11   2022-11-12 ennis/short-rallies.html                    Heres some tennis advice Keep it short       By Stuart Miller                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/sports/u
2022-11-11   2022-11-12 fc-israel-adesanya.html                     A Theatrical Fighter With a Restive Audience By Emmanuel Morgan              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/technol A Porcelain Sink Then Chaos Inside the        By Kate Conger Mike Isaac Ryan
2022-11-11   2022-11-12 ogy/elon-musk-twitter-takeover.html         Takeover of Twitter                          Mac and Tiffany Hsu             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/technol Questions About Crash Of FTX Rise For         By Erin Griffith and David
2022-11-11   2022-11-12 ogy/ftx-investors-venture-capital.html      Investors                                    YaffeBellany                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/technol Users Make a Mockery Of Musks New             By Ryan Mac Benjamin Mullin
2022-11-11   2022-11-12 ogy/twitter-blue-fake-accounts.html         Service                                      Kate Conger and Mike Isaac      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/theater/
2022-11-11   2022-11-12 elian-gonzalez-play-miami.html              Cuban Boys Odyssey Is Revisited              By Jordan Levin                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/us/polit Biden and Xi Share Long Relationship
2022-11-11   2022-11-12 ics/biden-china-g20-bali.html               Infused With Rising Suspicion                By Katie Rogers and Edward Wong TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/11/us/polit Border Chief Says He Was Asked to Resign
2022-11-11   2022-11-12 ics/dhs-border-official-magnus.html         or Become First Biden Appointee to Be Fired By Eileen Sullivan             TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/11/us/polit A Bleak Landscape Had Incumbents
2022-11-11   2022-11-12 ics/midterm-incumbent-results.html          Shivering Yet Most Hung On                  By Jazmine Ulloa               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/11/us/polit A Fractured GOP Seeks New Direction Amid
2022-11-11   2022-11-12 ics/republicans-midterm-elections.html      Power Struggle                              By Jonathan Weisman            TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/11/world/a
                        mericas/mexico-missing-children-maria-      Four Sons Vanish and a Mothers Anguish
2022-11-11   2022-11-12 herrera-magdaleno.html                      Spurs a Movement                            By Oscar Lopez                 TX 9-257-651     2023-01-03



                                                                               Page 4491 of 5793
                        https://www.nytimes.com/2022/11/11/world/a For Alibabas Lucrative Singles Day Chinese By Chang Che and Amy Chang
2022-11-11   2022-11-12 sia/china-singles-day-alibaba.html         Brands Fill Shopping Carts                 Chien                              TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/11/world/e Belgian Policemans Killing May Have Been
2022-11-11   2022-11-12 urope/belgium-police-stabbing-terrorism.html Terrorism                                   By Monika Pronczuk              TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/11/world/e
                        urope/germany-climate-change-rhine-          Saving a German Treasure From Climate       By Christopher F Schuetze and
2022-11-11   2022-11-12 river.html                                   Change                                      Laetitia Vancon                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/11/world/e Loss Of Kherson Is A Bitter Blow For Putins   By Andrew E Kramer and Marc
2022-11-11   2022-11-12 urope/kherson-ukraine-russia.html            Army                                        Santora                         TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/11/world/e
                        urope/kherson-ukraine-russian-solidiers-                                                 By Marc Santora Anna Lukinova
2022-11-11   2022-11-12 leaving.html                                 A Feeling of Relief Pervades Ukraine        and Maria Varenikova            TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/11/world/e Port City Bears the Brunt of Fierce Russian
2022-11-11   2022-11-12 urope/ukraine-mykolaiv-russia-bombing.html Attacks                                       By Jeffrey Gettleman            TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/11/your-
2022-11-11   2022-11-12 money/heating-bills-costs-winter.html         What to Do Now to Save on Heat Later       By Ann Carrns                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/live/2022/11/12/wo
                        rld/russia-ukraine-war-news/south-koreas-sale-
                        of-ammunition-to-the-us-has-a-condition-only-South Korea Does Not Want Its Arms          By Choe SangHun Eric Schmitt and
2022-11-11   2022-11-12 the-us-can-use-it-not-ukraine                 Relayed to Ukraine                         Lara Jakes                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/us/dayt After Hurricane Nicole Locals Face Hard       By Abigail Geiger Eric Adelson
2022-11-12   2022-11-12 ona-beach-hurricane-nicole-condos.html        Realities                                  and Livia AlbeckRipka            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/us/polit
                        ics/arizona-senator-mark-kelly-blake-
2022-11-12   2022-11-12 masters.html                                  Kelly Prevails In Arizona Race             By Jazmine Ulloa                TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/11/us/polit Lombardo Ousts Sisolak In Nevada Governor
2022-11-12   2022-11-12 ics/nevada-governor-sisolak-lombardo.html Race                                          By Jennifer Medina                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/us/polit Trump Files Suit Against Jan 6 Committee to
2022-11-12   2022-11-12 ics/trump-subpoena-jan-6-committee.html     Block His Subpoena                          By Luke Broadwater                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/us/polit Winter Expected to Be a Major Factor for    By Helene Cooper Eric Schmitt and
2022-11-12   2022-11-12 ics/winter-ukraine-russia-war.html          Both Sides Officials Say                    Julian E Barnes                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/your-
                        money/health-flexible-spending-account-
2022-11-12   2022-11-12 uses.html                                   FSA Users Push Limits With Claims           By Ron Lieber                     TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/09/13/books/r
2022-09-13   2022-11-13 eview/whos-raising-the-kids-susan-linn.html Hooked                                       By Zephyr Teachout              TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/09/14/books/h Literary Destinations Read Your Way
2022-09-14   2022-11-13 elsinki-finland-books.html                  Through Helsinki                             By Pajtim Statovci              TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/10/04/books/r
                        eview/late-summer-ode-olena-kalytiak-
2022-10-04   2022-11-13 davis.html                                  After Midlife                                By Jeff Gordinier               TX 9-257-651    2023-01-03



                                                                                 Page 4492 of 5793
                        https://www.nytimes.com/2022/10/04/books/r
2022-10-04   2022-11-13 eview/rules-of-engagement.html             Rules of Engagement                         By Justin Driver                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/10/15/books/r
2022-10-15   2022-11-13 eview/robin-mclean-get-em-young.html       Alive and Kicking                           By Aimee Bender                 TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/10/18/books/r
2022-10-18   2022-11-13 eview/escape-artist-jonathan-freedland.html Truth Be Told                              By Ruth Franklin                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/10/20/us/ukra
                        ine-immigration-michigan-ann-arbor-           New Sense of Home For Ukrainian Family   By Peter Kujawinski and Erin
2022-10-20   2022-11-13 war.html                                      Living in Michigan                       Kirkland for The New York Times TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/10/21/books/r
2022-10-21   2022-11-13 eview/is-mother-dead-vigdis-hjorth.html       Scarred for Life                         By Naomi Huffman                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/10/22/books/r
                        eview/the-revolutionary-samuel-adams-stacy-
2022-10-22   2022-11-13 schiff.html                                   Americas RabbleRouser                    By Amy S Greenberg              TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/10/23/books/r
                        eview/come-back-in-september-darryl-
2022-10-23   2022-11-13 pinckney.html                                 Master Class                             By Maggie Doherty               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/10/24/books/r
                        eview/the-song-of-the-cell-siddhartha-
2022-10-24   2022-11-13 mukherjee.html                                Building Blocks                          By Jennifer Szalai              TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/10/25/books/r
2022-10-25   2022-11-13 eview/john-banville-singularities.html        Things as They Arent                     By Leo Robson                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/10/31/books/r
2022-10-31   2022-11-13 eview/gilded-mountain-kate-manning.html       Gilded Mountain by Kate Manning          By Elisabeth Egan               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/01/books/r
2022-11-01   2022-11-13 eview/saha-cho-nam-joo.html                   Boxed In                                 By Lincoln Michel               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/01/t-
                        magazine/chateau-montalembert-france-home-                                             By Gisela Williams and Joaqun
2022-11-01   2022-11-13 design.html                                   The Great Restoration                    Laguinge                        TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/02/t-
2022-11-02   2022-11-13 magazine/spiky-cakes-baking.html              Peak Performance                         By Mahira Rivers                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/03/books/r
                        eview/shanda-letty-cottin-pogrebin-a-girlhood-
                        carolyn-hays-the-family-outing-jessi-
2022-11-03   2022-11-13 hempel.html                                   Memoirs                                  By Jake Nevins                  TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/03/t-
2022-11-03   2022-11-13 magazine/singapore-peranakan-cuisine.html We Are What We Eat                           By Ligaya Mishan and Esther Choi TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/t-                                                  By Aatish Taseer and Richard
2022-11-03   2022-11-13 magazine/spain-islamic-history.html           The Ghost Land                           Mosse                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/t-                                                  By Anna Sherman and Maxime
2022-11-03   2022-11-13 magazine/tajikistan-artisans.html             Palaces and Dust                         Fossat                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/03/t-
2022-11-03   2022-11-13 magazine/travel-lost-worlds-culture.html      The Vanishing                            By Hanya Yanagihara             TX 9-257-651    2023-01-03




                                                                                Page 4493 of 5793
                        https://www.nytimes.com/2022/11/04/books/r
2022-11-04   2022-11-13 eview/anne-of-green-gables-reboots.html    Anne of Everywhere                          By Catherine Hong                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/t-
                        magazine/barnaba-fornasetti-milan-house-   House Tour The Surreal Home of a Milan
2022-11-04   2022-11-13 studio.html                                Design Family                               By Laura May Todd                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/t-                                                  By Adriane Quinlan and Alyona
2022-11-04   2022-11-13 magazine/miniature-furniture.html          Tiny Furniture                              Kuzmina                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/t-
                        magazine/oxburgh-hall-historic-gardens-                                                By Jordan Kushins and David
2022-11-04   2022-11-13 climate-change.html                        The Weathering                              Fernndez                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/05/books/r
                        eview/childrens-picture-books-war-and-
2022-11-05   2022-11-13 peace.html                                 War Babies                                  By Eugene Yelchin                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/06/books/r
2022-11-06   2022-11-13 eview/yuval-noah-harari-unstoppable-us.html Roots and Revolutions                        By John Schwartz               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/books/r
                        eview/mayas-song-a-story-is-to-share-a-room-
2022-11-07   2022-11-13 of-your-own.html                             The Write Stuff                             By Alexandra Jacobs            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/magazi
2022-11-07   2022-11-13 ne/ukraine-rebuild-irpin.html                Dreaming of a New City                      By Linda Kinstler              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/obituari Ernie Lazar 77 Whose Dogged Research
2022-11-07   2022-11-13 es/ernie-lazar-dead.html                     Helped Many Historians and Journalists      By Sam Roberts                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/realesta After Years in Limbo She Found a Place of
2022-11-07   2022-11-13 te/brooklyn-renters-cobble-hill.html         Her Own                                     By Alix Strauss                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/style/co
2022-11-07   2022-11-13 uples-communication-text-fighting.html       During Fights Theyre All Thumbs             By Reyhan Harmanci             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/t-                                                    By Gabriel Moses and Dogukan
2022-11-07   2022-11-13 magazine/marseille-club-fashion.html         All He Wants to Do Is Dance                 Nesanir                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/din
2022-11-07   2022-11-13 ing/thanksgiving-pies-recipes.html           Your Pies Have Arrived                      By Genevieve Ko                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/arts/des Marc Swanson Finds Solace in Rural
2022-11-08   2022-11-13 ign/marc-swanson-mass-moca.html              Graveyards                                  By Scott Heller                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/arts/mu
2022-11-08   2022-11-13 sic/daniel-barenboim-80th-birthday.html      Illness Puts a Towering Maestro on Pause    By Javier C Hernndez           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/books/r
                        eview/ejaculate-responsibly-gabrielle-       Gabrielle Blair Embraces the Least Sexy Way
2022-11-08   2022-11-13 blair.html                                   to Talk About Sex                           By Elisabeth Egan              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/books/r
                        eview/like-annie-barrows-i-can-explain-
2022-11-08   2022-11-13 shinsuke-yoshitake.html                      Compare and Contrast But Never Confess      By Bruce Handy                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/books/r
                        eview/new-childrens-books-about-
2022-11-08   2022-11-13 bedtime.html                                 Slumber Parties                             By Sarah Shunlien Bynum        TX 9-257-651   2023-01-03




                                                                               Page 4494 of 5793
                        https://www.nytimes.com/2022/11/08/magazi
2022-11-08   2022-11-13 ne/puerto-rico-farms-hurricanes.html         The Farms Born From the Storms               By Moises VelasquezManoff       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/realesta
2022-11-08   2022-11-13 te/thanksgiving-table-setting-decor.html     Welcome a Crowd to the Dinner Table          By Tim McKeough                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/style/tar
2022-11-08   2022-11-13 mahler-cate-blanchett.html                   Suddenly on Autumn Playlists Mahlers Fifth   By Louis Lucero II              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/t-
2022-11-08   2022-11-13 magazine/jovan-adepo-thundercat.html         Jovan Adepoand Thundercat                    By Paul Schrodt                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/arts/mu Elizabeth Stewart 83 Folk Singer Who
2022-11-09   2022-11-13 sic/elizabeth-stewart-dead.html              Extended Family Legacy Dies                  By Neil Genzlinger              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/books/r
                        eview/childrens-books-japanese-internment-
2022-11-09   2022-11-13 camps.html                                   Living History                               By Abby McGanney Nolan          TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/09/books/r
2022-11-09   2022-11-13 eview/glenn-gould-carmen-picture-books.html Orchestrations                                By Tim Page                     TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/09/magazi                                                 By Mariana Lenharo and Meghie
2022-11-09   2022-11-13 ne/brazil-national-museum-indigenous.html The Objects That Came Out of The Ashes          Rodrigues                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/movies/
2022-11-09   2022-11-13 steven-spielberg-the-fabelmans.html         The Auteur Gets Autobiographical              By AO Scott                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/nyregio
2022-11-09   2022-11-13 n/marijuana-dinners.html                    Weed on the HighEnd Menu                      By Robert Simonson              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/opinion
2022-11-09   2022-11-13 /seoul-halloween-tragedy.html               The Immensity of Seouls Sadness               By Suki Kim                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/opinion
2022-11-09   2022-11-13 /victory-ukraine-russia-putin.html          Ukraine Is One Step Closer to Victory         By Orysia Lutsevych             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/realesta In a Coastal Town a Former Social Club
2022-11-09   2022-11-13 te/canary-islands-housing-market.html       Beckons                                       By Alison Gregor                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/09/realesta 11 Million Homes in Illinois Georgia and
2022-11-09   2022-11-13 te/home-prices-illinois-georgia-vermont.html Vermont                                      By Angela Serratore             TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/09/realesta
2022-11-09   2022-11-13 te/new-hope-bucks-county-pennsylvania.html Get More and Less in a Small River Town        By Dave Caldwell                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/style/on
2022-11-09   2022-11-13 line-dating-long-distance.html              Virtually Entangled                           By Philip Galanes               TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/09/t-
2022-11-09   2022-11-13 magazine/fuzzy-accessories-bags-shoes.html Fuzzy Accessories                              By Mari Maeda and Yuji Oboshi   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/t-
                        magazine/public-memorials-monuments-
2022-11-09   2022-11-13 covid.html                                 We Were Here                                   By Mark Harris                  TX 9-257-651   2023-01-03




                                                                                 Page 4495 of 5793
                        https://www.nytimes.com/2022/11/09/theater/
                        sarah-ruhl-rebecca-taichman-becky-nurse-of-
2022-11-09   2022-11-13 salem.html                                   Of Course They Believe in Magic               By Alexis Soloski              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/opinion
2022-11-10   2022-11-13 /midterms-election-america-arrow.html        America Dodged an Arrow                       By Thomas L Friedman           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/arts/des
                        ign/13torkwase-dyson-pace-artist-
2022-11-10   2022-11-13 architecture.html                            Shes on a Roll and Scaling Up                 By Siddhartha Mitter           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/arts/tele
2022-11-10   2022-11-13 vision/tulsa-king-sylvester-stallone.html    Stallone Is Himself on the Small Screen       By Austin Considine            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/arts/tele
2022-11-10   2022-11-13 vision/yellowstone-taylor-sheridan.html      In Yellowstone the Land Votes                 By James Poniewozik            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/books/r
                        eview/ive-been-a-girl-friday-for-yearsya-
2022-11-10   2022-11-13 moron.html                                   Get Snappy                                    By Sarah Weinman               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/busines
2022-11-10   2022-11-13 s/layoffs-meta-twitter.html                  Laid Off by Twitter Then Tweeting About It By Emma Goldberg                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/busines When Tech Stocks Sputter the Entire Market
2022-11-10   2022-11-13 s/tech-meta-apple-tesla-stocks.html          Sinks                                         By Jeff Sommer                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/magazi
2022-11-10   2022-11-13 ne/natural-disaster-rebuild.html             Apocalypse Now What                           By Matthew Thompson            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/needies
                        t-cases/on-the-steep-slope-of-college-       On the Steep Slope of College Affordability a
2022-11-10   2022-11-13 affordability-a-toehold.html                 Toehold                                       By Callie Holtermann           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/nyregio
2022-11-10   2022-11-13 n/cider-long-island-floral-terranes.html     The World Is Their Orchard                    By Alyson Krueger              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/nyregio
2022-11-10   2022-11-13 n/maloney-lawler-hudson-valley.html          Redistricting Crime Fears and an Upset        By Ginia Bellafante            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/opinion
2022-11-10   2022-11-13 /books-writing-author.html                   The Unbearable Envy of the Published Author By Lynn Steger Strong            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/realesta
2022-11-10   2022-11-13 te/us-cities-rats.html                       You Dont Want to Top This List                By Michael Kolomatsky          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/sports/f Whats a Quarterback Worth The Answer It
2022-11-10   2022-11-13 ootball/nfl-week-10-picks.html               Seems Is a Lot                                By David Hill                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/style/ce
2022-11-10   2022-11-13 ramic-tiles-home-decor.html                  This Tile Obsession Seems a Perfect Fit       By Lia Picard                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/style/pa
2022-11-10   2022-11-13 ulina-porizkova-memoir.html                  Beauty Culture Scorned by an Expert           By Rhonda Garelick             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/style/tik You Won the Lottery TikTok Has Some
2022-11-10   2022-11-13 tok-powerball-lottery-advice-.html           Advice                                        By Madison Malone Kircher      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/style/tw When One Rock on Your Finger Just Isnt
2022-11-10   2022-11-13 o-stone-bauble-engagement-ring.html          Enough                                        By Allison Duncan              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/t-                                                      By Sophie Haigney and Philip
2022-11-10   2022-11-13 magazine/mary-kelly.html                     Time and Again                                Cheung                         TX 9-257-651   2023-01-03




                                                                                 Page 4496 of 5793
                        https://www.nytimes.com/interactive/2022/11/
2022-11-10   2022-11-13 10/magazine/la-river-redesign.html           Remaking the River That Remade LA          By Michael Kimmelman     TX 9-257-651   2023-01-03

                        https://www.nytimes.com/interactive/2022/11/ They Caught the Seattle Market on the Way
2022-11-10   2022-11-13 10/realestate/seattle-housing-market.html    Down but Could They Afford a House There By Anna Kod                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/arts/mu Patrick Haggerty Lost Pioneer of Gay Country
2022-11-11   2022-11-13 sic/patrick-haggerty-dead.html               Music Dies at 78                           By Alex Traub            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/opinion
                        /un-climate-change-conference-carbon-
2022-11-11   2022-11-13 budget.html                                  The Climate Math Is Not Looking Good       By David WallaceWells    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/arts/dan
2022-11-11   2022-11-13 ce/jennifer-tipton-our-days-and-night.html   A Focus on the Lighting Designer           By Brian Seibert         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/arts/mu
2022-11-11   2022-11-13 sic/max-martin-and-juliet.html               A New Stage for a Song Machine             By Joe Coscarelli        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/arts/tele Kevin Conroy 66 Who Gave Batman His
2022-11-11   2022-11-13 vision/kevin-conroy-batman-dead.html         Deep and Raspy Voice for 3 Decades         By McKenna Oxenden       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/books/r
                        eview/a-different-kind-of-normal-maybe-an-
2022-11-11   2022-11-13 artist.html                                  How Not to Fit In                          By Lyn MillerLachmann    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/books/r
2022-11-11   2022-11-13 eview/kids-fairy-tales.html                  Time and Again                             By Sabrina Orah Mark     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/busines
2022-11-11   2022-11-13 s/crypto-ponzi-scheme-hyperfund.html         The Crypto Ponzi Scheme Avenger            By David Segal           TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/11/busines
2022-11-11   2022-11-13 s/roxane-gay-work-advice-office-drama.html Dissecting an Awkward Return to the Office   By Roxane Gay            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/opinion
2022-11-11   2022-11-13 /atlanta-finale.html                       Why Atlanta Is the Blackest Show Ever        By Tour                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/opinion
2022-11-11   2022-11-13 /congress-midterms.html                    Congress Must Protect Election Integrity     By The Editorial Board   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/opinion
2022-11-11   2022-11-13 /inflation-democrats-midterms.html         Demand Disruptionand Prices                  By Paul Krugman          TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/11/opinion
2022-11-11   2022-11-13 /midterms-republicans-democrats-history.html A Shock to the System Is Coming            By Jamelle Bouie         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/opinion The Biggest Obstacle To a Republican
2022-11-11   2022-11-13 /midterms-trump-republican-revival.html      Revival Is Named Trump                     By Matthew Continetti    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/opinion Trump Musk and Kanye Are Twitter
2022-11-11   2022-11-13 /trump-musk-kanye-twitter.html               Poisoned                                   By Jaron Lanier          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/realesta
2022-11-11   2022-11-13 te/first-time-buyers-housing-market.html     Dreams Slip Away                           By Ronda Kaysen          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/sports/s The Little Teams That Could Have Been the
2022-11-11   2022-11-13 occer/world-cup-break.html                   Talk of Europe                             By Rory Smith            TX 9-257-651   2023-01-03




                                                                               Page 4497 of 5793
                        https://www.nytimes.com/2022/11/11/style/ad A Magical Connection That Began on the
2022-11-11   2022-11-13 am-drawas-joseph-pablos-perez-wedding.html First Date                                    By Jenny Block                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/style/eu Playing Hard to Get No He Was Just Too
2022-11-11   2022-11-13 gene-daniels-nate-stephens-wedding.html      Busy                                        By Rosalie R Radomsky           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/style/ju
2022-11-11   2022-11-13 dy-woodruff-pbs-newshour.html                Polite Has Worked Just Fine for Her         By Katherine Rosman             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/style/ka
2022-11-11   2022-11-13 itlyn-johnson-ricky-wheeler-wedding.html     After a Rocky Start Smooth Sailing          By Valeriya Safronova           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/style/m
2022-11-11   2022-11-13 aggie-doherty-josh-zager-wedding.html        Always the Wedding Singer Finally the Bride By Alyson Krueger               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/style/m
                        odern-love-failing-while-married-does-not- Failing in Marriage Doesnt Mean Failing at
2022-11-11   2022-11-13 mean-failing-at-marriage.html                Marriage                                    By Joe Blair                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/t-        A Blazing Bejeweled Comet ReEnters
2022-11-11   2022-11-13 magazine/chanel-comet-ring.html              Chanels Orbit                               By Lindsay Talbot               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/t-
2022-11-11   2022-11-13 magazine/hibiscus-flowers.html               The ShowOff                                 By Amanda Fortini               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/t-                                                    By Ellie Pithers and Matthew
2022-11-11   2022-11-13 magazine/ogata-paris-incense-room.html       Ogata Incense                               Avignone                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/sports/k A Stars Journey To Activism And              By Jonathan Abrams and Sopan
2022-11-12   2022-11-13 yrie-irving-career.html                      Conspiracies                                Deb                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/books/r
                        eview/sabine-timm-jamie-michalak-come-on-
2022-11-12   2022-11-13 in-theres-a-party-in-this-book.html          Analog Reality                              By Rowboat Watkins              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/busines                                               By Michael Corkery and Andres
2022-11-12   2022-11-13 s/burlington-police-stolen-bikes.html        The Bike Thieves of Burlington              Kudacki                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/busines Crypto Giant FTX Investigating 515 Million
2022-11-12   2022-11-13 s/ftx-cryptocurrency-hack.html               in Transfers After Collapse                 By David YaffeBellany           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/climate Rarity in Egypt Open Protest At the UN
2022-11-12   2022-11-13 /cop27-protests-egypt.html                   Climate Summit                              By Jenny Gross                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/nyregio Manhattan Nursing Home Cited 7 Times
2022-11-12   2022-11-13 n/nyc-legionnaires-nursing-home.html         Before Legionnaires Outbreak                By Adeel Hassan                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/nyregio
2022-11-12   2022-11-13 n/tal-oren-alexander-official.html           A Time to Cover Lots of Square Footage      By Tammy La Gorce               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/opinion
2022-11-12   2022-11-13 /election-midterm-pattern.html               Three Theories About This Political Moment By Ezra Klein                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/opinion
2022-11-12   2022-11-13 /how-i-learned-the-art-of-seduction.html     How I Learned the Art of Seduction          By Melissa Febos                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/opinion How Instagram Therapy Creates a Moral
2022-11-12   2022-11-13 /mental-health-therapy-instagram.html        Vortex                                      By Tara Isabella Burton         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/opinion
                        /sunday/what-the-pro-life-movement-lost-and-
2022-11-12   2022-11-13 won.html                                     What ProLifers Lost and Won                 By Ross Douthat                 TX 9-257-651   2023-01-03




                                                                                Page 4498 of 5793
                        https://www.nytimes.com/2022/11/12/opinion
2022-11-12   2022-11-13 /trump-election-midterm.html                The Emperor Of Chaos Is Naked               By Maureen Dowd                  TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/12/realesta What if My Landlord Tries To Keep My
2022-11-12   2022-11-13 te/security-deposit-last-month-rent.html    Security Deposit                            By Ronda Kaysen                  TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/12/style/ny
2022-11-12   2022-11-13 c-new-design-galleries.html                 Artful Useful and Often Touchable           By Aileen Kwun                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/us/geor Georgians Approach Another Runoff With       By Richard Fausset Rick Rojas and
2022-11-12   2022-11-13 gia-runoff-votes.html                       Weariness and Enthusiasm                    Sean Keenan                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/us/plan 2 Planes Collide in Midair During Veterans   By Margarita Birnbaum and Vimal
2022-11-12   2022-11-13 e-crash-dallas.html                         Day Event In Dallas Officials Say           Patel                             TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/12/us/polit In 3rd Summit With Leaders From Southeast By Katie Rogers and Jim
2022-11-12   2022-11-13 ics/biden-asean-summit.html                 Asia Biden Makes Point of Being There        Tankersley                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/us/polit Internal Papers Show How Close FBI Came to By Mark Mazzetti and Ronen
2022-11-12   2022-11-13 ics/fbi-pegasus-spyware-phones-nso.html     Using Spyware                                Bergman                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/us/polit The Wipeout That Wasnt How Midterms Got
2022-11-12   2022-11-13 ics/midterm-elections-officials.html        So Tight                                     By Shane Goldmacher              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/us/polit
2022-11-12   2022-11-13 ics/trump-2024-republicans.html             rumps Grasp On the GOP Poses Conflict        By Lisa Lerer and Reid J Epstein TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/us/youn Young Voters Helped Democrats but Some By Dan Simmons and Michael
2022-11-12   2022-11-13 g-voter-turnout-election-democrats.html     Differ on How Much                           Wines                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/world/a Bidens Meeting With Xi Will Try to Set        By Chris Buckley and David E
2022-11-12   2022-11-13 sia/china-us-xi-biden-meeting.html          Limits on Confrontation                      Sanger                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/world/e Amid Joy Kherson Grapples With a              By Andrew E Kramer Marc Santora
2022-11-12   2022-11-13 urope/kherson-ukraine-russia.html           Humanitarian Catastrophe                     and Katie Rogers                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/world/e
2022-11-12   2022-11-13 urope/uk-criminal-justice.html              UK Legal Tactic Unevenly Hits Black People By Jane Bradley                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/world/e
2022-11-12   2022-11-13 urope/ukraine-war-strategy-russia.html      Ukraine Signals No Slowdown During Winter By Carlotta Gall                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/world/
                        middleeast/climate-change-and-human-
                        activity-erode-egypts-treasured-            Climate Change and Human Activity Erode
2022-11-12   2022-11-13 antiquities.html                            Egypts Antiquities                           By Vivian Yee                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/us/chris-Border Chief Resigns One Day After He Said
2022-11-13   2022-11-13 magnus-resigns-cbp.html                     He Refused to Step Down From Role            By Eileen Sullivan               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/us/elect
2022-11-13   2022-11-13 ions/senate-control.html                    Democrats Hold the Senate With Nevada Win By Jonathan Weisman                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/busines
2022-11-13   2022-11-13 s/the-week-in-business-layoffs-meta.html    The Week in Business Mass Layoffs at Meta By Marie Solis                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/opinion
2022-11-13   2022-11-13 /us-police-military-extremism.html          Extremists in Uniform Put the Nation at Risk By The Editorial Board           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/reader-
                        center/getting-personal-with-millions-of-
2022-11-13   2022-11-13 readers.html                                Getting Personal With Readers                By Sarah Bahr                    TX 9-257-651   2023-01-03




                                                                                Page 4499 of 5793
                        https://www.nytimes.com/2022/11/13/realesta
2022-11-13   2022-11-13 te/homes-that-sold-for-around-750000.html Homes That Sold for Around 750000               By C J Hughes                      TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/13/sports/f Two Brothers Reflect On School in France
2022-11-13   2022-11-13 ootball/amon-ra-equanimeous-st-brown.html And Sibling Rivalry                             By Julian Kimble                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/style/bil
                        lie-eilish-jared-leto-kim-kardashian-
2022-11-13   2022-11-13 lacma.html                                   A String of Galas To Salute the Arts         By Denny Lee                     TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/13/us/hurri Hurricane Fiona Leaves Some Puerto Ricans     By Laura N Prez Snchez and Erika
2022-11-13   2022-11-13 cane-fiona-puerto-rico.html                  Living on the Edge                           P Rodriguez                      TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/13/world/a A Year After Widening Abortion Access
2022-11-13   2022-11-13 frica/benin-abortions.html                   Benin Sees Fewer Botched Ones                By Elian Peltier                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/busines
2022-11-14   2022-11-13 s/dogfooding.html                            Dogfooding                                   By Lora Kelley                     TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/07/fashion                                                 By Elizabeth Paton Ephrat Livni
2022-11-07   2022-11-14 /fashion-industry-antitrust-sustainability.html Transforming Fashion Proves Tricky         and Jenny Gross                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/opinion The US Must Ensure Ethiopia Does Not
2022-11-10   2022-11-14 /ethiopia-tigray-peace-talks.html               Return to War                              By Comfort Ero                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/sports/c Women in College Sports Feel Pressure to Be By Alanis Thames and Jonathan
2022-11-10   2022-11-14 ollege-athletes-body-fat-women.html             Lean at Any Cost                           Abrams                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/arts/dan
2022-11-11   2022-11-14 ce/neil-greenberg-betsy.html                    Letting His Betsy Grow Wild                By Gia Kourlas                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/obituari Overlooked No More Cloma Falcon Queen of
2022-11-11   2022-11-14 es/cleoma-falcon-overlooked.html                Cajun Music                                By William Grimes                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/travel/b As Trips Rebound This Years Black Friday
2022-11-11   2022-11-14 lack-friday-travel-deals.html                   Deals May Be Stingier                      By Elaine Glusac                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/travel/h In the Frequent Flier World Preparing for the
2022-11-11   2022-11-14 otel-airline-loyalty-programs.html              Great Reset in 2023                        By Victoria M Walker              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/arts/bri Brian ODoherty Critic and Creator in New
2022-11-12   2022-11-14 an-odoherty-dead.html                           York Art Scene Dies at 94                  By Clay Risen                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/busines
                        s/dealbook/ftx-bankman-fried-central-           FTXs Founder Was Called A ModernDay JP
2022-11-12   2022-11-14 banks.html                                      Morgan The Analogy Still Works             By Roger Lowenstein               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/sports/r
2022-11-12   2022-11-14 unning-nnenna-lynch-nyrr.html                   NYRR Official Says Violation Unintentional By Matthew Futterman              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/opinion
                        /elizabeth-warren-democrat-senate-
2022-11-13   2022-11-14 midterm.html                                    Democrats Lets Seize This Moment           By Elizabeth Warren               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/arts/dan
2022-11-13   2022-11-14 ce/wakatt-review.html                           Exploring the Fear That Permeates Society  By Gia Kourlas                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/arts/des
                        ign/paul-allen-collection-christies-maxfield-
2022-11-13   2022-11-14 parrish.html                                    From Microsoft To Masterpieces             By Blake Gopnik                   TX 9-257-651   2023-01-03



                                                                                  Page 4500 of 5793
                        https://www.nytimes.com/2022/11/13/arts/mu A Debut Long Delayed Is Well Worth the
2022-11-13   2022-11-14 sic/benjamin-bernheim-tenor.html           Wait                                        By Joshua Barone                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/arts/mu
                        sic/berlin-philharmonic-carnegie-hall-     Berlin Philharmonic Gives Master Class at
2022-11-13   2022-11-14 review.html                                Carnegie                                    By Zachary Woolfe                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/books/r
2022-11-13   2022-11-14 eview-the-queen-andrew-morton.html         Looking Back on a Long Reign                By Alexandra Jacobs               TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/13/busines Mainstream Car Buyers Turn Toward
2022-11-13   2022-11-14 s/electric-vehicles-buyers-mainstream.html  Electrics                                   By Jack Ewing and Peter Eavis    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/crossw
2022-11-13   2022-11-14 ords/daily-puzzle-2022-11-14.html           Tricky Crossword Clues to Chew On           By Rachel Fabi                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/movies/
                        black-panther-wakanda-forever-box-
2022-11-13   2022-11-14 office.html                                 Wakanda Forever Stands Atop Box Office      By Brooks Barnes                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/nyregio                                              By Benjamin Weiser and William
2022-11-13   2022-11-14 n/china-iran-private-detectives.html        Private Eyes Steered to Spy On Dissidents   K Rashbaum                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/nyregio A Boy 10 Got a Tattoo New York Authorities By Sarah Maslin Nir and Kristi
2022-11-13   2022-11-14 n/tattoos-children.html                     Arrested His Mother                         Berner                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/opinion
2022-11-13   2022-11-14 /cashless-pay-problem.html                  The Cost of Going Cashless                  By Pamela Paul                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/opinion
2022-11-13   2022-11-14 /stacey-abrams-georgia-midterms.html        An Ode to Stacey Abrams                     By Charles M Blow                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/sports/f
2022-11-13   2022-11-14 ootball/nfl-week-10-scores.html             What We Learned This Week                   By Derrik Klassen                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/sports/v Vikings Somehow Snatch a Victory Right Out
2022-11-13   2022-11-14 ikings-bills-overtime.html                  of Allens Hands                             By Ken Belson                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/us/penn
                        sylvania-police-officers-guilty-shooting-
2022-11-13   2022-11-14 girl.html                                   3 Officers Guilty in Fatal Shooting of Girl By Eliza Fawcett                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/us/polit
2022-11-13   2022-11-14 ics/biden-2024-election.html                Biden Facing A Big Decision On His Future By Peter Baker                     TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/13/us/polit Bidens PostElection Escape Abroad Turns    By Katie Rogers and Jim
2022-11-13   2022-11-14 ics/biden-post-election-victory-surprise.html Into a Victory Lap                       Tankersley                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/us/polit Midterm Results Shake Up Democrats Plans
2022-11-13   2022-11-14 ics/congress-post-election.html               for the PostElection Term                By Emily Cochrane                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/us/polit Farmland Values Hit Record Highs Pricing
2022-11-13   2022-11-14 ics/farmland-values-prices.html               Out Farmers                              By Linda Qiu                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/us/polit
                        ics/fetterman-pennsylvania-voters-            Democrats See Map In Fettermans Gains
2022-11-13   2022-11-14 democrats.html                                With Rural Red Voters                    By Trip Gabriel                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/us/polit Senate Win Gives Biden A Bulwark Against   By Catie Edmondson and Carl
2022-11-13   2022-11-14 ics/senate-democrats-republicans.html         the GOP                                  Hulse                             TX 9-257-651   2023-01-03




                                                                                Page 4501 of 5793
                        https://www.nytimes.com/2022/11/13/us/sam Samuel Folsom Pilot Who Fought Japanese In
2022-11-13   2022-11-14 uel-folsom-dead.html                         Pacific Dies at 102                         By Robert D McFadden               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/world/a As Droughts Drain Mexico Beer Industry
2022-11-13   2022-11-14 mericas/mexico-beer-climate.html             Feels Pressure                              By David Shortell and Lorena Ros TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/13/world/a Indonesias Leader Takes the Global Stage as
2022-11-13   2022-11-14 sia/indonesia-joko-widodo-g20.html           an Unlikely Emissary                        By SuiLee Wee                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/world/a Amid Global Tensions North Korea Sees
2022-11-13   2022-11-14 sia/north-korea-missile-tests.html           Chance In Nuclear NeoCold War               By Choe SangHun                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/world/e
                        urope/russia-criticism-kherson-              Breaking Russian Taboo War Hawks Aim
2022-11-13   2022-11-14 withdrawal.html                              Anger At Putin Over a Retreat               By Neil MacFarquhar                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/world/e Assimilation Is Futile How a City Defied
2022-11-13   2022-11-14 urope/russia-kherson-ukraine.html            Russia                                      By Andrew E Kramer                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/world/
2022-11-13   2022-11-14 middleeast/israel-religious-zionism.html     Election Empowers Israels Fringe Groups     By Isabel Kershner                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/world/
2022-11-13   2022-11-14 middleeast/turkey-explosion-istanbul.html    A Deadly Blast on a Busy Street in Istanbul By Ben Hubbard and Safak Timur TX 9-257-651       2023-01-03
                        https://www.nytimes.com/live/2022/11/13/us/
                        election-results-news/jon-ralston-on-nevada-
                        politics-and-cortez-mastos-victory-which-he-
2022-11-13   2022-11-14 predicted                                    How Democrats Held On to Nevada Seat        By Blake Hounshell                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/busines Collapse of FTX Strikes A Philanthropy
2022-11-14   2022-11-14 s/ftx-effective-altruism.html                Movement                                    By Nicholas Kulish                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/theater/
                        mike-birbiglia-the-old-man-the-pool-
2022-11-14   2022-11-14 review.html                                  Mike Birbiglias Comfort Zone                By Elisabeth Vincentelli           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/us/polit Trump Often Sought Tax Audits Of His Foes
2022-11-14   2022-11-14 ics/trump-irs-investigations.html            ExTop Aide Says                             By Michael S Schmidt               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/arts/tele
                        vision/whats-on-tv-this-week-the-walking-
2022-11-14   2022-11-14 dead-and-the-latin-grammy-awards.html        This Week on TV                             By Sadiba Hasan                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/health/                                               By Megan Twohey and Christina
2022-11-14   2022-11-14 puberty-blockers-transgender.html            Pressing Pause on Puberty                   Jewett                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/sports/b
2022-11-14   2022-11-14 asketball/ja-morant-grizzlies.html           Grizzlies Are Focused On Having Last Laugh By Tania Ganguli                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/sports/n
                        caabasketball/duke-villanova-rutgers-        Treks Begin As Coaches Aim to Fill Huge
2022-11-14   2022-11-14 coaches.html                                 Shoes                                       By Adam Zagoria                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/technol                                               By Kalley Huang Isabella Simonetti
2022-11-14   2022-11-14 ogy/tiktok-ads-social-media.html             TikTok Ads Rake It In From Rivals           and Tiffany Hsu                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/us/polit On the Right and Left People Voted to Reject By Jonathan Weisman and Katie
2022-11-14   2022-11-14 ics/gop-far-right-election-voters.html       Extremists in Midterms                      Glueck                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/science
                        /ichthyosaur-fossil-discovery-cast-museum- A Blow to Paleontology May Not Be a Total
2022-11-01   2022-11-15 destroyed.html                               Loss                                        By Gemma Conroy                    TX 9-257-651   2023-01-03



                                                                                Page 4502 of 5793
                        https://www.nytimes.com/2022/11/03/well/bo What to Do When You Dont Know What to
2022-11-04   2022-11-15 redom-inspiration-mindfulness.html         Do                                             By Melinda Wenner Moyer    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/science Doomed Sea Creatures Were Victims of a
2022-11-04   2022-11-15 /phosphate-paleontology-biology.html       Theft                                          By Natalie Angier          TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/07/health/c
2022-11-07   2022-11-15 ovid-patients-ventilators-consciousness.html Turtles Provide Clues To PostCovid Recovery By Carl Zimmer              TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/08/well/mi
2022-11-08   2022-11-15 nd/antidepressants-effects-alternatives.html Truths and Myths About Antidepressants       By Dana G Smith            TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/08/well/m If I have only 20 minutes for a workout what
2022-11-08   2022-11-15 ove/full-body-workout-20-minutes.html       exercises will make the best use of my time   By Hilary Achauer          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/well/pe The Cats Taking Prozac And the Dogs on
2022-11-11   2022-11-15 t-anxiety-meds.html                         CBD                                           By Melinda Wenner Moyer    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/arts/elo
2022-11-11   2022-11-15 n-musk-twitter-parody.html                  Elon Musk the Joke Police Thats Rich          By Jason Zinoman           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/movies/ Every Unhappy Marriage Is Unhappy in Its
2022-11-11   2022-11-15 frederick-wiseman-a-couple-tolstoy.html     Own Way                                       By Nicolas Rapold          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/movies/
                        namor-tenoch-huerta-black-panther-wakanda-
2022-11-11   2022-11-15 forever.html                                Straight From the Dawn of the Marvel Age      By George Gene Gustines    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/11/well/m
2022-11-11   2022-11-15 ove/trampoline-exercise-health-benefits.html Put Some Bounce in Your Day                  By Perri Ormont Blumberg   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/arts/kev Kevin ONeill 69 Comic Book Artist With a
2022-11-12   2022-11-15 in-oneill-dead.html                          Style Both Literary and Lurid                By George Gene Gustines    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/books/c
2022-11-12   2022-11-15 arolina-sanin-almadia-trans-feminism.html    Colombian Writers Video Touches a Nerve By Benjamin P Russell           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/arts/tele David Davis Force Behind Mary Tyler Moore
2022-11-13   2022-11-15 vision/david-davis-dead.html                 and Taxi Dies at 86                          By Penelope Green          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/us/paul- Paul Schrade 97 Dies Wounded in RFKs
2022-11-13   2022-11-15 schrade-dead.html                            Killing                                      By Richard Sandomir        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/arts/des
2022-11-14   2022-11-15 ign/art-newark-airport.html                  Holding New Jersey Identity Aloft            By Hilarie M Sheets        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/arts/mu Dan McCafferty 76 Rocker Who Belted Out
2022-11-14   2022-11-15 sic/dan-mccafferty-dead.html                 The Ballad Love Hurts                        By Alex Traub              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/arts/mu
2022-11-14   2022-11-15 sic/rauw-alejandro-saturno.html              Reggaeton Reimagined Once Again              By Isabelia Herrera        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/books/r
2022-11-14   2022-11-15 eview/so-help-me-god-mike-pence.html         His Fealty Requires Contortion               By Jennifer Szalai         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/busines
                        s/bidens-student-debt-cancellation-          Biden Student Debt Relief Plan Is Blocked by
2022-11-14   2022-11-15 blocked.html                                 an Appeals Court                             By Stacy Cowley            TX 9-257-651   2023-01-03




                                                                                 Page 4503 of 5793
                        https://www.nytimes.com/2022/11/14/busines US and China Agree To Restart Negotiations     By Jim Tankersley and Lisa
2022-11-14   2022-11-15 s/china-us-climate-change.html             On Environmental Crisis                        Friedman                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/busines
                        s/federal-maritime-commission-global-      How Cargo Giants Take Advantage Of
2022-11-14   2022-11-15 shipping.html                              Supply Troubles                                By Peter S Goodman                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/14/busines Bezos Says He Will Donate Most of His          By Isabella Simonetti and Nicholas
2022-11-14   2022-11-15 s/jeff-bezos-charity.html                  Fortune to Charity                             Kulish                             TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/14/busines Transportation Dept Fines 6 Airlines For Not
2022-11-14   2022-11-15 s/transportation-department-airline-fines.html Providing Timely Refunds                    By Niraj Chokshi                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/climate
                        /brazil-indonesia-democratic-congo-rainforest- Brazil Indonesia and Congo to Work Together By Max Bearak and Manuela
2022-11-14   2022-11-15 protection-pact.html                           on Protecting Rainforests                   Andreoni                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/fashion
                        /craftsmanship-barovier-and-toso-glassmaking
2022-11-14   2022-11-15 murano.html                                    Making glass for more than 700 years        By Kathleen Beckett                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/fashion
                        /craftsmanship-electrolysis-julie-hamisky-
2022-11-14   2022-11-15 france.html                                    Capturing natures fragility                 By Ming Liu                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/fashion
2022-11-14   2022-11-15 /craftsmanship-glass-cutting-japan.html        Artisans create cut glass from Edo          By Vivian Morelli                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/fashion
2022-11-14   2022-11-15 /craftsmanship-la-maison-du-pastel.html        Creating a rainbow                          By Felicia Craddock                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/fashion
2022-11-14   2022-11-15 /michael-takayama-surfboards.html              The board whisperer                         By Alexandra Cheney                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/fashion
2022-11-14   2022-11-15 /watches-xi-wang-melbourne-australia.html Sketching time                                   By Penelope Colston                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/health/c As Country Reopens Americans Either Fear
2022-11-14   2022-11-15 ovid-attitudes-masks.html                      the Virus or Forget It                      By Roni Caryn Rabin                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/nyregio Giuliani Wont Face Federal Charges in           By William K Rashbaum Rebecca
2022-11-14   2022-11-15 n/giuliani-federal-charges-lobbying.html       Lobbying Case Prosecutors Say               Davis OBrien and Ben Protess        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/nyregio
                        n/new-york-democrats-urge-hochul-to-push- New York Democrats Are Rallying Against
2022-11-14   2022-11-15 out-state-party-chair.html                     Party Chair                                 By Grace Ashford                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/opinion
2022-11-14   2022-11-15 /brazil-elections-bolsonaro.html               The Big Lie Has Been Exported to Brazil     By Natalia Viana                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/opinion
2022-11-14   2022-11-15 /desantis-trump-biden-midterms.html            Whos Feeling Low Not Ron DeSantis           By Gail Collins and Bret Stephens   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/science
2022-11-14   2022-11-15 /time-leap-second.html                         FineTuning Time                             By Alanna Mitchell                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/sports/b New Rules Will Also Be Adjustment for
2022-11-14   2022-11-15 aseball/mlb-rule-changes.html                  Those in Charge of Building Rosters         By James Wagner                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/sports/b Embiids Night Was All That and 59 Points
2022-11-14   2022-11-15 asketball/nba-joel-embiid-sixers.html          Too                                         By Victor Mather                    TX 9-257-651   2023-01-03




                                                                                  Page 4504 of 5793
                        https://www.nytimes.com/2022/11/14/sports/o US Paralympian Says a Teammate Sexually
2022-11-14   2022-11-15 lympics/paralympics-sexual-abuse.html       Abused Him                                 By Jenny Vrentas                    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/14/sports/o The Mascots For 2024 Hang On To Your
2022-11-14   2022-11-15 lympics/paris-olympics-mascot-phryge.html Hats                                         By Victor Mather                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/sports/s
2022-11-14   2022-11-15 occer/world-cup-beer-fifa.html              A Late Scramble To Hide the Beer           By Tariq Panja                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/technol Amazon Is Expected to Cut Thousands of
2022-11-14   2022-11-15 ogy/amazon-layoffs.html                     Employees                                  By Karen Weise                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/technol
                        ogy/ftx-sam-bankman-fried-crypto-           FTX Founder Says He Expanded Too Fast
2022-11-14   2022-11-15 bankruptcy.html                             and Missed Warnings                        By David YaffeBellany               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/technol Google to Pay 392 Million for Failing To
2022-11-14   2022-11-15 ogy/google-privacy-settlement.html          Turn Off Users Location Tracking           By Cecilia Kang                     TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/14/technol As GOP Hopefuls Fade Voter Fraud Claims
2022-11-14   2022-11-15 ogy/voter-fraud-claims-misinformation.html Grow                                      By Stuart A Thompson                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/theater/
2022-11-14   2022-11-15 shucked-broadway.html                       Shucked Musical Is Heading to Broadway   By Michael Paulson                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/tidal- In Nova Scotia a Race To Harness the Power
2022-11-14   2022-11-15 power-clean-energy-bay-fundy.html           Of the Oceans Tides                      By Ian Austen                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/us/polit Blinken Plans Trip to China To Continue
2022-11-14   2022-11-15 ics/blinken-china-2023.html                 Open Talks                               By Edward Wong                        TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/14/us/polit How Cortez Masto Beat the Odds and Sealed
2022-11-14   2022-11-15 ics/catherine-cortez-masto-senate-nevada.html the Senate Majority                     By Catie Edmondson                TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/14/us/polit CIA Director Meets With Russian           By Julian E Barnes Jim Tankersley
2022-11-14   2022-11-15 ics/cia-russia-nuclear-weapons.html           Counterpart                             and Edward Wong                   TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/14/us/polit Court Documents Show FBI Had 8
2022-11-14   2022-11-15 ics/fbi-informants-proud-boys-jan-6.html      Informants In FarRight Proud Boys       By Alan Feuer and Adam Goldman TX 9-257-651         2023-01-03

                        https://www.nytimes.com/2022/11/14/us/polit US and Trump Lawyers Clash Over the Status
2022-11-14   2022-11-15 ics/justice-department-trump-documents.html Of Seized Documents                         By Charlie Savage and Alan Feuer   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/us/polit                                             By Catie Edmondson and Emily
2022-11-14   2022-11-15 ics/mccarthy-speaker-gop-midterms.html      McCarthy Pushes Speaker Bid as GOP Feuds Cochrane                              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/us/polit Pence Says Reckless Tweet by Trump
2022-11-14   2022-11-15 ics/pence-abc-interview-trump.html          Endangered Him and His Family on Jan 6      By Maggie Haberman                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/us/polit                                             By Luke Broadwater and Eric
2022-11-14   2022-11-15 ics/trump-hotel-foreign-spending.html       Six Countries Spent Lavishly at Trump Hotel Lipton                             TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/14/us/polit GOP Faces an Obstacle in Moving Past
2022-11-14   2022-11-15 ics/trump-presidential-campaign-voters.html Trump His Voters                           By Michael C Bender                 TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/14/us/polit
2022-11-14   2022-11-15 ics/ward-subpoena-jan-6-supreme-court.html A Setback for Arizonas GOP Chairwoman       By Adam Liptak                      TX 9-257-651   2023-01-03



                                                                                Page 4505 of 5793
                        https://www.nytimes.com/2022/11/14/us/univ Thousands of Academic Workers Strike for
2022-11-14   2022-11-15 ersity-of-california-strike-pay.html        Higher Pay at University of California        By Shawn Hubler                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/world/a Egyptian on Hunger Strike Is Still Alive
2022-11-14   2022-11-15 frica/alaa-abd-el-fattah-egypt-alive.html   Family Says                                   By Vivian Yee                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/world/a Biden and Xi Try Friendlier Tone as Tensions
2022-11-14   2022-11-15 sia/biden-xi-bali-g20.html                  Rise                                          By Katie Rogers and Chris Buckley TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/world/a Hong Kong Asks for Inquiry Over Protest
2022-11-14   2022-11-15 sia/hong-kong-protest-anthem.html           Song at Game                                  By Tiffany May                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/world/e Germany Moves to Nationalize Gas Unit
2022-11-14   2022-11-15 urope/germania-gazprom-nationalized.html Seized From Gazprom                              By Melissa Eddy                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/world/e UK and France Sign New Agreement To Curb By Megan Specia and Aurelien
2022-11-14   2022-11-15 urope/uk-france-small-boat-deal.html        SmallBoat Migrant Crossings                   Breeden                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/world/
                        middleeast/iran-attack-iraq-kurdistan-      Iranian Missiles Hit Bases In Iraqs Kurdistan
2022-11-14   2022-11-15 region.html                                 Region                                        By Jane Arraf and Sangar Khaleel TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/14/world/
2022-11-14   2022-11-15 middleeast/iran-protests-children.html      Iranian Teens Are Targeted In Crackdown       By Farnaz Fassihi                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/world/ Turkey Accuses US of Complicity in Deadly
2022-11-14   2022-11-15 middleeast/turkey-us-istanbul-attack.html   Attack                                        By Ben Hubbard and Safak Timur TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/14/busines Economy of Japan Shrinks Burdened By
2022-11-15   2022-11-15 s/japan-economy-gdp.html                    Rising Inflation                              By Ben Dooley and Hisako Ueno TX 9-257-651       2023-01-03
                        https://www.nytimes.com/2022/11/14/opinion
                        /donald-trump-republicans-gop-              Trump Is Weak but the Republican Party Is
2022-11-15   2022-11-15 weakness.html                               Weaker                                        By Paul Krugman                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/opinion
                        /lessons-democratic-upset-washington-
2022-11-15   2022-11-15 midterms.html                               Four Stark Lessons From a Democratic Upset By Michelle Goldberg                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/sports/b
                        aseball/rookie-of-the-year-julio-rodriguez- Pair of FastRising Center Fielders Capture
2022-11-15   2022-11-15 michael-harris.html                         Rookie of the Year Honors                     By Benjamin Hoffman               TX 9-257-651   2023-01-03
                                                                                                                  By Campbell Robertson Jacey
                        https://www.nytimes.com/2022/11/14/us/gun Student Charged With Killing 3 Football         Fortin Stephanie Saul and Remy
2022-11-15   2022-11-15 man-charged-uva-shooting.html               Players at University of Virginia             Tumin                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/us/jenni                                               By Lauren Herstik and Livia
2022-11-15   2022-11-15 fer-siebel-newsom-weinstein.html            Governors Wife Testifies vs Weinstein         AlbeckRipka                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/us/polit Jan 6 Panel Weighs Actions as Trump
2022-11-15   2022-11-15 ics/jan-6-committee-trump-testify.html      Refuses to Testify                            By Luke Broadwater                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/us/polit Hobbs Defeats Trumps Choice To Run
2022-11-15   2022-11-15 ics/katie-hobbs-arizona-governor.html       Arizona                                       By Jazmine Ulloa                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/us/polit Trump Family Signs Deal With a Major Saudi By Eric Lipton Maggie Haberman
2022-11-15   2022-11-15 ics/trump-organization-oman-saudi.html      Developer                                     and Ben Protess                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/us/polit A Look at House Races That Remain
2022-11-15   2022-11-15 ics/undecided-house-races.html              Undecided                                     By Maggie Astor and Trip Gabriel TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/14/world/e Residents of Kherson Describe Torture and By Jeffrey Gettleman and Andrew
2022-11-15   2022-11-15 urope/kherson-torture-russia-ukraine.html   Abuse                                         E Kramer                          TX 9-257-651   2023-01-03



                                                                                Page 4506 of 5793
                        https://www.nytimes.com/2022/11/15/health/c Frustrations Grow Over Recall of CPAP
2022-11-15   2022-11-15 pap-philips-breathing-device-recall.html    Devices                                      By Christina Jewett     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/health/s To Fight HIV Health Experts Embrace
2022-11-15   2022-11-15 afe-sex-pleasure-condoms.html               Pleasure                                     By Stephanie Nolen      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/insider/
2022-11-15   2022-11-15 elon-musk-twitter-reporting.html            When News Is Only a Tweet Away               By Emmett Lindner       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/science
2022-11-15   2022-11-15 /nasa-launch-moon-rocket.html               NASA Will Try to Launch Moon Rocket          By Kenneth Chang        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/world/e Allies Look to Ukraine As a Testing Ground
2022-11-15   2022-11-15 urope/ukraine-weapons.html                  For New Weapons Tech                         By Lara Jakes           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/08/dining/t
                        hanksgiving-dessert-recipes-that-arent-
2022-11-08   2022-11-16 pie.html                                    Desserts That Are Creative Not Crusty        By Melissa Clark        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/dining/
2022-11-09   2022-11-16 best-vegetarian-thanksgiving-recipes.html   A Vegetarian Celebration                     By Alexa Weibel         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/dining/
2022-11-09   2022-11-16 drinks/best-thanksgiving-wine.html          This Part of the Shopping Should Be Easy     By Eric Asimov          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/dining/t
2022-11-09   2022-11-16 hanksgiving-salad-recipes.html              Bright Bold and Ready to Refresh             By Yewande Komolafe     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/article/how-to-
2022-11-09   2022-11-16 make-cheese-board.html                      Before the Feast Whet the Appetite           By Florence Fabricant   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/dining/t 3 Thanksgiving Potato Dishes That Are Better
2022-11-10   2022-11-16 hanksgiving-potato-recipes.html             Than Mashed                                  By Claire Saffitz       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/11/arts/mu Mimi Parker 55 Gloomily Minimalist Singer
2022-11-11   2022-11-16 sic/mimi-parker-dead.html                   With Outsize Impact Dies                     By Alex Williams        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/dining/i
                        na-gartens-store-bought-thanksgiving-
2022-11-14   2022-11-16 recipes.html                                Ina Gartens StoreBought Thanksgiving         By Genevieve Ko         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/world/e Mehran Karimi Nasseri Whose Residence in a
2022-11-14   2022-11-16 urope/mehran-karimi-nasseri-dead.html       Paris Airport Inspired The Terminal          By Eduardo Medina       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/arts/mu
2022-11-14   2022-11-16 sic/drake-21-savage-her-loss-chart.html     Rappers Replace Swift At No 1                By Ben Sisario          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/books/e
2022-11-14   2022-11-16 ssential-dick-gregory.html                  A Humorist Who Rarely Held Back              By Dwight Garner        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/dining/t
                        urkey-in-a-bag-thanksgiving-cooking-
2022-11-14   2022-11-16 gimmicks.html                               Turkey Tricks Some Tried Some True           By Kim Severson         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/world/a
2022-11-15   2022-11-16 sia/hun-sen-cambodia-covid.html             Cambodian Leader Tests Positive at Summit By SuiLee Wee              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/world/e
2022-11-15   2022-11-16 urope/what-is-g20-summit.html               What Exactly Is the G20 An Explainer         By Michael Crowley      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/arts/dan Park Avenue Armory to Spotlight Social
2022-11-15   2022-11-16 ce/park-avenue-armory-season.html           Issues                                       By Sarah Bahr           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/arts/des A 410 Million Question And the Five
2022-11-15   2022-11-16 ign/ron-perelman-fire-paintings.html        Paintings                                    By Colin Moynihan       TX 9-257-651   2023-01-03



                                                                                Page 4507 of 5793
                        https://www.nytimes.com/2022/11/15/arts/des
2022-11-15   2022-11-16 ign/sothebys-auction-mondrian.html           Taking the Risk Out of a 51 Million Sale   By Zachary Small                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/arts/mu
2022-11-15   2022-11-16 sic/grammy-awards-nominees.html              Behold the Titans of Pop Music             By Ben Sisario                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/arts/mu
                        sic/michael-gordon-travel-guide-to-
2022-11-15   2022-11-16 nicaragua.html                               Tallying the Price Of a Fate Escaped       By David Allen                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/arts/tele
2022-11-15   2022-11-16 vision/john-aniston-dead.html                John Aniston 89 a Suave Villain on a Soap  By Mike Ives                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/busines
2022-11-15   2022-11-16 s/construction-costs.html                    When a Simple Part Is a Complex Problem    By Patrick Sisson                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/busines
                        s/economy/trade-policy-black-disadvantaged- Foreign Trade Competition Hurts Workers of
2022-11-15   2022-11-16 workers.html                                 Color Most Report Says                     By Ana Swanson                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/busines
                        s/economy/world-leaders-meet-as-global-      Leaders Meet as Global Economy Faces       By Jim Tankersley and Alan
2022-11-15   2022-11-16 economy-faces-multiple-threats.html          Multiple Threats                           Rappeport                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/busines Este Lauder Agrees to Buy Tom Ford Brand By Vanessa Friedman and Lauren
2022-11-15   2022-11-16 s/estee-lauder-tom-ford.html                 in 28 Billion Deal                         Hirsch                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/busines Ellen Levine Magazine Editor With Keen
2022-11-15   2022-11-16 s/media/ellen-levine-dead.html               Sense of Female Readers Dies at 79         By Ed Shanahan                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/busines Racing to Fix Problems France Braces for
2022-11-15   2022-11-16 s/nuclear-power-france.html                  NonNuclear Winter                          By Liz Alderman                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/busines                                              By Joe Rennison and Isabella
2022-11-15   2022-11-16 s/stocks-markets-inflation.html              Signs of Cooling Inflation Buoy Markets    Simonetti                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/busines
2022-11-15   2022-11-16 s/walmart-inflation-sales-profit.html        At Walmart Confidence Is Growing           By Jordyn Holman                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/climate Colombia Depends on Oil Its Leader Wants to
2022-11-15   2022-11-16 /colombia-climate-latin-america.html         Give It Up                                 By Max Bearak and Federico Rios   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/climate Indonesia Vows to Cut Use of Coal in 20
2022-11-15   2022-11-16 /indonesia-coal-agreement.html               Billion Deal With Wealthy Nations          By Brad Plumer                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/dining/
2022-11-15   2022-11-16 best-thanksgiving-stuffing-recipe.html       Follow the Bread Crumbs to Flavor Town     By Eric Kim                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/dining/ Marcus Samuelssons First New York
2022-11-15   2022-11-16 nyc-restaurant-news.html                     Restaurant in Seven Years Is Open          By Florence Fabricant             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/dining/r A LateNight Spot and Ramen
2022-11-15   2022-11-16 amen-nyc.html                                Recommendations                            By Nikita Richardson              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/dining/r
2022-11-15   2022-11-16 estaurant-reservation-companies.html         Reservation Apps For Varying Tastes        By Priya Krishna                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/dining/
2022-11-15   2022-11-16 yoshino-review-pete-wells-four-stars.html    Where the Omakase Stands Alone             By Pete Wells                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/health/
2022-11-15   2022-11-16 britain-global-fund.html                     UK Pledges 12 Billion In Health Aid        By Apoorva Mandavilli             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/health/ Walmart to Pay A Settlement Of 31 Billion In
2022-11-15   2022-11-16 walmart-opioids-settlement.html              Opioid Suits                               By Jan Hoffman                    TX 9-257-651   2023-01-03



                                                                               Page 4508 of 5793
                        https://www.nytimes.com/2022/11/15/nyregio As Bear Encounters Rise New Jersey to Allow
2022-11-15   2022-11-16 n/bear-hunt-new-jersey.html                Hunt                                        By Tracey Tully                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/nyregio They Survived a Brutal Trek The Grueling
2022-11-15   2022-11-16 n/nyc-migrants-labor-market.html           Hunt for Work Begins                        By Kimiko de FreytasTamura        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/nyregio Migrants Leave Shelter In New York for a    By Kimiko de FreytasTamura and
2022-11-15   2022-11-16 n/randalls-island-migrants-hotel.html      Hotel                                       Jeffery C Mays                    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/15/nyregio Trump Executive Takes Stand Backing Fraud By Jonah E Bromwich and Ben
2022-11-15   2022-11-16 n/weisselberg-cfo-trump-organization.html   Case Against the Company He Helped Build Protess                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/opinion
2022-11-15   2022-11-16 /john-fetterman-democrats.html              Democrats Need to Find the Next Fetterman By Michael Sokolove                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/opinion
2022-11-15   2022-11-16 /sam-bankman-fried-ftx.html                 The Folly of Counting on the Tech Whiz Kid By Margaret OMara                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/opinion
2022-11-15   2022-11-16 /trump-election-deniers.html                The Big Liar and His Losing Little Liars       By Thomas L Friedman          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/sports/f In Their First Loss the Eagles Score Early and
2022-11-15   2022-11-16 ootball/eagles-commanders-football.html     Then Slumber                                   By Jer Longman                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/sports/t Nadal Is Battling Time but Time Seems to
2022-11-15   2022-11-16 ennis/nadal-atp-finals.html                 Have the Upper Hand                            By Matthew Futterman          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/technol
2022-11-15   2022-11-16 ogy/crypto-ftx-bankruptcy-creditors.html    FTX May Owe Million People In Bankruptcy By David YaffeBellany               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/technol Twitter Cuts Continue as Musk Targets His By Kate Conger Ryan Mac and
2022-11-15   2022-11-16 ogy/elon-musk-twitter-fired-criticism.html  Critics                                        Mike Isaac                    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/15/technol House Coach At FTX Calls Its Culture Pretty
2022-11-15   2022-11-16 ogy/ftx-sam-bankman-fried-psychiatrist.html Tame                                        By Kevin Roose                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/us/geor Georgias 6Week Abortion Limit Is
2022-11-15   2022-11-16 gia-abortion-ban.html                        Suspended by a County Judge                By Ava Sasani                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/us/imm Federal Judge Voids TrumpEra Rule             By Miriam Jordan and Eileen
2022-11-15   2022-11-16 igration-title-42-judge.html                 Allowing Expulsions on Border              Sullivan                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/us/latin- Old Latin Mass Finds New American
2022-11-15   2022-11-16 mass-revival.html                            Audience                                   By Ruth Graham                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/us/polit
                        ics/alejandro-majorkas-house-republicans-    Republican Lawmakers Grill Homeland
2022-11-15   2022-11-16 border.html                                  Security Chief Over Influx at the Border   By Eileen Sullivan               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/us/polit
                        ics/kari-lake-republicans-election-                                                     By Jim Rutenberg and Nick
2022-11-15   2022-11-16 midterms.html                                Election Denial Limits Turnout For the GOP Corasaniti                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/us/polit
                        ics/los-angeles-sheriff-villanueva-          LA Sheriff Who Feuded With Leaders Ends
2022-11-15   2022-11-16 concedes.html                                His Bid                                    By Corina Knoll and Jill Cowan   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/us/polit Will Pelosi Stay or Will She Go Another
2022-11-15   2022-11-16 ics/nancy-pelosi-congress.html               Option Is a Little Bit of Both             By Annie Karni                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/us/polit Pence Angry at Trump but Avoids Attacking
2022-11-15   2022-11-16 ics/pence-trump-president-jan-6.html         Him                                        By Maggie Haberman               TX 9-257-651   2023-01-03



                                                                                Page 4509 of 5793
                        https://www.nytimes.com/2022/11/15/us/polit Work With Us Schumer Woos GOP After
2022-11-15   2022-11-16 ics/schumer-senate-republicans.html         Sweep                                         By Carl Hulse                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/15/us/univ Exodus From Idaho Campus After Mass            By Rachel Sun Mike Baker and
2022-11-15   2022-11-16 ersity-idaho-students-killings.html         Killing                                       Nicholas BogelBurroughs         TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/15/us/wein Weinstein Trial Forces Newsoms Wife to         By Adam Nagourney Lauren
2022-11-15   2022-11-16 stein-jennifer-siebel-trial.html            Endure a Very Different Spotlight             Herstik and Livia AlbeckRipka   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/15/world/a In Brazil Lula Beat Bolsonaro Now Comes
2022-11-15   2022-11-16 mericas/brazil-lula-presidency.html         the Hard Part                                 By Jack Nicas and Andr Spigariol TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/world/a At G20 Biden and Xi Offer Competing Paths      By Chris Buckley SuiLee Wee and
2022-11-15   2022-11-16 sia/xi-biden-g20.html                       to Solving Global Problems                    Katie Rogers                     TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/15/world/a Australian Officials Clear Way for Djokovic    By Damien Cave and Matthew
2022-11-15   2022-11-16 ustralia/novak-djokovic-australian-open.html to Play in the Open                          Futterman                       TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/15/world/e
                        urope/a-reopened-rail-route-to-mykolaiv-     Train Service Resumes To a Freed Battered
2022-11-15   2022-11-16 restores-some-order-amid-war.html            City                                         By Marc Santora                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/15/world/e In Poland a Warm Welcome for Ukrainian
2022-11-15   2022-11-16 urope/poland-ukrainian-war-refugees.html     Refugees Is Wobbling                         By Andrew Higgins               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/15/world/e
                        urope/uk-economy-budget-recession-           No Corner of Britain Is Escaping a Wave Of
2022-11-15   2022-11-16 sunak.html                                   Economic Blows                               By Mark Landler                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/15/world/
                        middleeast/egypt-alaa-abd-el-fattah-hunger-
2022-11-15   2022-11-16 strike.html                                  Prisoner Ends A Monthslong Hunger Strike     By Vivian Yee                   TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/15/world/ Palestinian Assailant Kills Three Israelis in
2022-11-15   2022-11-16 middleeast/israel-west-bank-attack-ariel.html the West Bank                              By Isabel Kershner               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/15/world/ World Population Reaches 8 Billion Driven
2022-11-15   2022-11-16 world-population-8-billion.html               by Growth in Poor Nations                  By Daniel Victor                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/15/opinion
                        /donald-trump-republicans-
2022-11-16   2022-11-16 underperformance.html                         Trump Is Finally Finished                  By Bret Stephens                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/15/sports/b
                        aseball/buck-showalter-terry-francona-
2022-11-16   2022-11-16 manager-of-the-year.html                      Showalter Honored As Manager Of the Year By Gary Phillips                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/15/sports/u
                        cla-bigten-pac12-uc-board-of-regents-         Regents to Decide on UCLAs Move to the Big
2022-11-16   2022-11-16 meeting.html                                  Ten                                        By Billy Witz                    TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/15/theater/
2022-11-16   2022-11-16 camp-siegfried-review.html                     Summer Seduction Into Fascism             By Jesse Green                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/15/theater/
2022-11-16   2022-11-16 downstate-review.html                         A Charm School Full of Predators           By Laura CollinsHughes           TX 9-257-651    2023-01-03
                                                                                                                 By Jazmine Ulloa Alexandra
                        https://www.nytimes.com/2022/11/15/us/polit Concede or Contest Lakes Loss May Be Last Berzon Jack Healy and Jim
2022-11-16   2022-11-16 ics/kari-lake-arizona-republicans.html        Stand for GOP Deniers                      Rutenberg                        TX 9-257-651    2023-01-03



                                                                                 Page 4510 of 5793
                        https://www.nytimes.com/2022/11/15/us/polit
                        ics/mccarthy-speaker-mcconnell-republican- Nomination for McCarthy But a Speaker      By Catie Edmondson and Emily
2022-11-16   2022-11-16 challenges.html                             Battle Boils                              Cochrane                           TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/15/us/univ Virginia Football Coach Grieves for Victims
2022-11-16   2022-11-16 ersity-virginia-shooting.html               of Shooting It Feels Like a Nightmare      By Kris Rhim                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/us/us- Catholic Bishops in US Elect Leaders Amid
2022-11-16   2022-11-16 catholic-bishops-abortion.html              Abortion Battle                            By Elizabeth Dias                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/world/e Poland Alleges Missile Killed 2 In Its      By Marc Santora and Maria
2022-11-16   2022-11-16 urope/poland-ukraine-russia-nato.html       Territory                                  Varenikova                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/insider/
                        the-mystery-of-the-missing-interview-
2022-11-16   2022-11-16 tapes.html                                  Missing More Than Just a Car               By Rob Szypko                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/sports/f With the NFL Going Retro Rushing Becomes
2022-11-16   2022-11-16 ootball/nfl-running-backs.html              Cool Again                                 By Mike Tanier                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/well/mi
                        nd/adderall-shortage-withdrawal-symptoms- Adderall Shortage Leaves ADHD Patients
2022-11-16   2022-11-16 adhd.html                                   Struggling to Cope                         By Dani Blum                      TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/16/world/e Long Months Of Lying Low Then a Knock At
2022-11-16   2022-11-16 urope/american-teacher-kherson-ukraine.html the Door                                By Andrew E Kramer                   TX 9-257-651   2023-01-03

                        https://www.nytimes.com/live/2022/11/15/us/                                             By Michael C Bender and Maggie
2022-11-16   2022-11-16 election-news-results/trump-presidential-run Declaring Run Trump Ignores Party Setbacks Haberman                       TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/12/well/lo
                        ng-covid-depression-symptoms-                Here to Help How to Identify and Treat
2022-11-12   2022-11-17 treatment.html                               Depression After Covid                     By Knvul Sheikh                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/14/opinion India Showed Me Twitters Perils and
2022-11-14   2022-11-17 /elon-musk-twitter-free-speech-india.html    Potential                                  By Lydia Polgreen              TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/15/arts/mu                                            By Jon Caramanica Joe Coscarelli
2022-11-15   2022-11-17 sic/grammy-awards-snubs-surprises.html     Singing A Song Of Snubs                    Jon Pareles and Lindsay Zoladz     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/movies/
2022-11-15   2022-11-17 master-of-light-review.html                Master of Light                            By Ben Kenigsberg                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/movies/
2022-11-15   2022-11-17 stutz-review.html                          Stutz                                      By Lisa Kennedy                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/nyregio Stadium Deal for New York City FC Would    By Dana Rubinstein and Ken
2022-11-15   2022-11-17 n/soccer-stadium-nycfc-willets.html        Give Mets a Neighbor in Queens             Belson                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/opinion
2022-11-16   2022-11-17 /donald-trump-campaign-chaos.html          The Chaos Inside Donald Trumps Mind        By Michael Wolff                   TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/15/opinion
2022-11-16   2022-11-17 /trump-2024-announcement-weakness.html Trumps Announcement Is a Sign of Weakness By Ross Douthat                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/arts/bu Budd Friedman Who Built an Empire of
2022-11-16   2022-11-17 dd-friedman-dead.html                      Comedy Clubs Is Dead at 90            By Clay Risen                           TX 9-257-651   2023-01-03



                                                                               Page 4511 of 5793
                        https://www.nytimes.com/2022/11/16/arts/dan
                        ce/american-ballet-theater-summer-season-
2022-11-16   2022-11-17 like-water-for-chocolate.html               Logistical Challenge At the Met                 By Javier C Hernndez                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/arts/dan
2022-11-16   2022-11-17 ce/review-garth-fagan-dance.html            Reason to Celebrate but Two Years Late          By Gia Kourlas                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/arts/des
2022-11-16   2022-11-17 ign/jack-shainman-tribeca-gallery-art.html  Shainman Expands To TriBeCa Landmark            By Laura van Straaten               TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/16/arts/des
2022-11-16   2022-11-17 ign/larry-gagosian-gallery-art-succession.html A Gallery Owner Is Looking Ahead              By Robin Pogrebin                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/arts/mu Bad Bunny Anchors an Explosive Year for
2022-11-16   2022-11-17 sic/bad-bunny-latin-music-touring.html         Latin Music                                   By Ben Sisario                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/arts/mu Ticketmaster Is Criticized After Chaos Over
2022-11-16   2022-11-17 sic/taylor-swift-ticketmaster-eras-tour.html   Presale                                       By Graham Bowley                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/arts/tele
2022-11-16   2022-11-17 vision/the-crown-new-cast-netflix.html         This Casting Directors Mission Is Right Royal By Reggie Ugwu                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/arts/uk-
2022-11-16   2022-11-17 kevin-spacey-sexual-assault-charges.html       Kevin Spacey Faces New Assault Charges        By Alex Marshall                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/busines                                                   By Jack Ewing Isabella Simonetti
2022-11-16   2022-11-17 s/elon-musk-tesla-pay-trial.html               In Testimony Musk Rebuts Shareholders         and Peter Eavis                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/busines Hollywood Horror Blockbuster 2 Top
2022-11-16   2022-11-17 s/jason-blum-james-wan-merger.html             Producers Will Join Forces                    By Brooks Barnes                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/busines Fred Hickman 66 Insightful Interviewer Who
2022-11-16   2022-11-17 s/media/fred-hickman-dead.html                 Carved a Space for Sports on CNN              By Richard Sandomir                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/busines
2022-11-16   2022-11-17 s/october-retail-sales.html                    Wallet Open But on Hunt For Bargains          By Jordyn Holman                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/busines
2022-11-16   2022-11-17 s/uk-inflation-october.html                    UK Inflation Hits 111 Driven by Energy Costs By Liz Alderman                     TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/16/climate New Measure of Climates Toll Disasters Are
2022-11-16   2022-11-17 /climate-change-county-natural-disaster.html Now Common                                By Christopher Flavelle                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/climate West African Floods Were Affected By
2022-11-16   2022-11-17 /climate-change-floods-west-africa.html      Climate Change Scientists Say             By Henry Fountain                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/climate Countries at Odds Over How to Hold the Line By Brad Plumer David Gelles and
2022-11-16   2022-11-17 /cop27-global-warming-1-5-celsius.html       on Climate Goals                          Lisa Friedman                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/climate Brazils Lula Will Fight For Amazon
2022-11-16   2022-11-17 /lula-brazil-rainforest-climate.html         Rainforest                                By Max Bearak                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/educati Henry Rosovsky 95 Dean Who Redefined
2022-11-16   2022-11-17 on/henry-rosovsky-dead.html                  Harvard                                   By Sam Roberts                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/movies/
2022-11-16   2022-11-17 memories-of-my-father-review.html            Memories of My Father                     By Beatrice Loayza                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/movies/
2022-11-16   2022-11-17 tenoch-huerta-mejia-wakanda-forever.html     Asserting A Right To Be Seen              By Carlos Aguilar                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/nyregio New York City Projecting 29 Billion Deficit
2022-11-16   2022-11-17 n/budget-deficit-nyc.html                    in 23                                     By Dana Rubinstein                       TX 9-257-651   2023-01-03



                                                                                   Page 4512 of 5793
                        https://www.nytimes.com/2022/11/16/nyregio New School Faces Strike By Professors Over
2022-11-16   2022-11-17 n/new-school-parsons-strike-walkout.html   Wages                                      By Kimiko de FreytasTamura         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/nyregio For Survivors of Prison Sex Abuse a Chance
2022-11-16   2022-11-17 n/new-york-prison-sex-abuse.html           to Finally Be Heard                        By Chelsia Rose Marcius            TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/16/nyregio Man Accused Of Killing Young Son At a        By Chelsia Rose Marcius and Andy
2022-11-16   2022-11-17 n/queens-homeless-shelter-boy-homicide.html Shelter                                     Newman                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/science Launch Blazes Trail for NASA Back to
2022-11-16   2022-11-17 /nasa-launch-artemis-1.html                 Moon                                        By Kenneth Chang                 TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/16/sports/g
2022-11-16   2022-11-17 olf/dp-world-tour-championship-liv-golf.html An offthecourse battle in Dubai            By Paul Sullivan                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/sports/g
2022-11-16   2022-11-17 olf/dp-world-tour-moments.html               A half century of drama                    By Michael Arkush                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/sports/g
                        olf/matt-fitzpatrick-dp-world-
2022-11-16   2022-11-17 championship.html                            Trying for No 3                            By John Clarke                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/style/do
                        nald-trump-mar-a-lago-presidential-
2022-11-16   2022-11-17 announcement.html                            Lots of Red White and Blue but No Ivanka   By Vanessa Friedman              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/style/dr
2022-11-16   2022-11-17 one-racing-pilot-minchan-kim.html            Young Drone Pilots Energize a New Sport    By Alyson Krueger                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/style/w
2022-11-16   2022-11-17 akanda-forever-costume-design.html           Dressing Wakanda To Seize a Vision         By Vanessa Friedman              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/style/ye
2022-11-16   2022-11-17 ah-yeah-yeahs-karen-o-fashion.html           Designer Meets Rocker Creativity Erupts    By Christopher Barnard           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/technol
                        ogy/elon-musk-twitter-employee-
2022-11-16   2022-11-17 deadline.html                                Musks Ultimatum Buy In or Get Out          By Kate Conger                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/technol
2022-11-16   2022-11-17 ogy/personaltech/twitter-exodus.html         Lessons From the Turmoil at Twitter        By Brian X Chen                  TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/16/theater/
2022-11-16   2022-11-17 jessica-chastain-dolls-house-broadway.html Chastain to Star in A Dolls House            By Michael Paulson               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/us/jrotc- Military Cites More Abuse By JROTC         By Nicholas BogelBurroughs and
2022-11-16   2022-11-17 sexual-abuse-house-oversight.html            Instructors                                Mike Baker                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/us/kras
2022-11-16   2022-11-17 ner-impeached-pennsylvania.html              Prosecutor Impeached In Dispute Over Crime By Jacey Fortin                  TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/16/us/polit Trumps Candidacy Is Launched but His Third By Maggie Haberman Shane
2022-11-16   2022-11-17 ics/donald-trump-2024-campaign.html         Campaign Is a Work in Progress             Goldmacher and Michael C Bender TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/16/us/polit
2022-11-16   2022-11-17 ics/house-control-congress.html             GOP Takes House With a Slim Majority       By Shane Goldmacher             TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/16/us/polit House Weighs Historic Bid to Add Cherokee By Emily Cochrane and Mark
2022-11-16   2022-11-17 ics/house-delegate-cherokee-nation.html     Nation Delegate                            Walker                          TX 9-257-651     2023-01-03



                                                                                Page 4513 of 5793
                        https://www.nytimes.com/2022/11/16/us/polit Bass Elected First Female Mayor of Los
2022-11-16   2022-11-17 ics/la-mayor-race-california-caruso-bass.html Angeles                                    By Shawn Hubler                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/us/polit Republican Leadership Scuffle Reveals a Rift
2022-11-16   2022-11-17 ics/mitch-mcconnell-rick-scott-senate.html    Over Strategy                              By Carl Hulse                    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/16/us/polit
2022-11-16   2022-11-17 ics/republicans-house-majority-mccarthy.html Winning May Have Been Easy Part            By Carl Hulse                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/us/polit
2022-11-16   2022-11-17 ics/same-sex-marriage-bill-senate.html       Gay Marriage Clears Hurdle In Senate Vote By Annie Karni                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/us/polit Bidens Team Ready To Go on Offensive With
2022-11-16   2022-11-17 ics/trump-candidate-biden-strategy.html      Trump Project                              By Michael D Shear                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/us/polit Trumps Choice to Run Is the Ultimate in
2022-11-16   2022-11-17 ics/trumps-dont-blame-me-calculus.html       Avoiding Responsibility                    By Jonathan Weisman               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/us/uva- Virginia Shooting Raises Questions of Missed By Campbell Robertson Stephanie
2022-11-16   2022-11-17 shooting-football.html                       Warning Signs                              Saul and Sheryl Gay Stolberg      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/us/virgi Virginia McLaurin Who Spontaneously
2022-11-16   2022-11-17 nia-mclaurin-obamas-dead.html                Danced With the Obamas Dies                By Mike Ives                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/us/yale- Both Harvard and Yale Remove Schools of
2022-11-16   2022-11-17 law-school-us-news-rankings.html             Law From Ranking System                    By Anemona Hartocollis            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/world/a Protest Erupts In China City On Problems Of
2022-11-16   2022-11-17 sia/china-covid-protest.html                 Lockdown                                   By Chang Che and John Liu         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/world/a
2022-11-16   2022-11-17 sia/xi-trudeau-china-canada.html             Xi Scolds Trudeau Over a Disclosure        By Chris Buckley                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/world/b Trying to Show Calm and Cool and a Contrast By Jim Tankersley and Katie
2022-11-16   2022-11-17 iden-trump-g20.html                          With His Predecessor                       Rogers                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/world/e A Gloomster Prepared to Deliver Bad News to
2022-11-16   2022-11-17 urope/britain-budget-jeremy-hunt.html        the British                                By Stephen Castle                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/world/e Discovering a Jewish Artist Who Broke
2022-11-16   2022-11-17 urope/jewish-artist-medici-florence.html     Barriers in MediciEra Florence             By Elisabetta Povoledo            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/world/e What It Would Mean if Poland Invoked
2022-11-16   2022-11-17 urope/nato-article-4-poland-ukraine.html     NATOs Article 4                            By Michael Crowley                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/16/world/e Blast in Poland Shows the KnifesEdge
2022-11-16   2022-11-17 urope/poland-russia-missile-escalation.html Margin for Escalation                      By Steven Erlanger                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/world/e
                        urope/polish-village-ukraine-missiles-      Sudden Deadly Reminder of War in a Quiet
2022-11-16   2022-11-17 russia.html                                 Corner of Poland                           By Monika Pronczuk                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/world/e
                        urope/uk-ademola-adedeji-murder-conspiracy- Labeled a Gangster Based on 6 Text
2022-11-16   2022-11-17 gangs.html                                  Messages                                   By Selam Gebrekidan                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/world/e British Report Details Numerous Security
2022-11-16   2022-11-17 urope/uk-threats-iran-russia-china.html     Risks                                      By Stephen Castle                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/world/e A Botched Cancer Test a National Scandal
2022-11-16   2022-11-17 urope/vicky-phelan-cancer-ireland.html      and an Irish Hero                          By Ed OLoughlin                    TX 9-257-651   2023-01-03



                                                                                Page 4514 of 5793
                        https://www.nytimes.com/2022/11/16/world/
                        middleeast/israel-netanyahu-bezalel-         With Netanyahu on Cusp of Power FarRight
2022-11-16   2022-11-17 smotrich.html                                Ally Seeks to Lead Military                   By Patrick Kingsley                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/sports/b
                        aseball/justin-verlander-sandy-alcantara-cy- Verlander Caps a Comeback Season by
2022-11-17   2022-11-17 young.html                                   Winning His Third Cy Young                    By Benjamin Hoffman                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/theater/
2022-11-17   2022-11-17 evanston-salt-costs-climbing-review.html     Disaster Lurks Outside Inside Isnt Much Safer By Alexis Soloski                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/us/polit                                                By Reid J Epstein Lisa Lerer and
2022-11-17   2022-11-17 ics/trump-republicans-alternatives.html      Former Allies Holding Back On Trump 24        Jonathan Weisman                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/us/univ We Do Not Have a Suspect Authorities Say By Mike Baker Nicholas
2022-11-17   2022-11-17 ersity-idaho-killings-police.html            After Idaho Killings                          BogelBurroughs and Jake Ellison    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/16/world/e                                            By Steven Erlanger and Marc
2022-11-17   2022-11-17 urope/ukraine-russia-poland-explosion.html Poland Views Missile Deaths As an Accident Santora                                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/insider/ Read All About It Breaking News at The
2022-11-17   2022-11-17 scoops-breaking-news-times.html             Times                                     By Emmett Lindner                       TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/17/sports/f A Test for CTE In Living Patients Could Be
2022-11-17   2022-11-17 ootball/cte-test-concussions-alzheimers.html in Reach                                     By Ken Belson                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/style/lu
2022-11-17   2022-11-17 xury-advent-calendar-christmas.html          Advent Calendars for Splurging               By Marisa Meltzer                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/theater/ How a Play About Colonial Power Came
2022-11-15   2022-11-18 houseboy-kentridge-lace-phala.html           About                                        By Roslyn Sulcas                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/arts/dan
                        ce/kelly-gerard-panorama-bourse-dance-
2022-11-16   2022-11-18 monuments.html                               A Dark Side of the Bourses Crowning Glory    By Joseph Giovannini                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/arts/des
2022-11-16   2022-11-18 ign/joe-brainard-tibor-de-nagy.html          Works Tiny In Their Scale But Not in Soul    By Deborah Solomon                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/movies/
2022-11-16   2022-11-18 andy-warhol-my-hustler-moma.html             Vintage Love for Sale More or Less           By J Hoberman                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/movies/
2022-11-16   2022-11-18 in-her-hands-review.html                     In Her Hands                                 By Devika Girish                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/movies/ A Meticulous Investigation Turned Whispers
2022-11-16   2022-11-18 she-said-review.html                         Into a Roar                                  By Alexis Soloski                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/opinion
                        /environment/surveillance-state-climate-     The Global Carbon Surveillance State Cant
2022-11-16   2022-11-18 change.html                                  Get Here Soon Enough                         By David WallaceWells               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/opinion
2022-11-16   2022-11-18 /house-democrats-new-york.html               Why the Democrats Lost Control               By Howard Wolfson                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/sports/s Desperate Toll Paid In Blood and Sweat Of
2022-11-16   2022-11-18 occer/world-cup-migrant-workers.html         Migrant Workers                              By Tariq Panja and Bhadra Sharma TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/16/world/e Signs of Torture Emerge in a Liberated
2022-11-16   2022-11-18 urope/kherson-ukraine-detain-torture.html    Kherson                                      By Andrew E Kramer                  TX 9-257-651   2023-01-03




                                                                                  Page 4515 of 5793
                        https://www.nytimes.com/2022/11/17/arts/des
2022-11-17   2022-11-18 ign/meret-oppenheim-review-moma.html         Enough With That Tempest in a Teacup           By Roberta Smith           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/arts/des
                        ign/thierry-mugler-fashion-brooklyn-
2022-11-17   2022-11-18 museum.html                                  No Limits on the Extreme                       By Vanessa Friedman        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/arts/mu A Maestro With a Taste for Narrative and
2022-11-17   2022-11-18 sic/raphael-pichon-pygmalion.html            Stagecraft                                     By David Allen             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/arts/mu
                        sic/weyes-blood-and-in-the-darkness-hearts-
2022-11-17   2022-11-18 aglow-review.html                            Isolation and Catastrophe Beautifully Voiced   By Lindsay Zoladz          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/arts/tele
2022-11-17   2022-11-18 vision/craftsman-first-wives-club.html       This Weekend I Have                            By Margaret Lyons          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/briefing
2022-11-17   2022-11-18 /crypto-collapse-ftx.html                    Why a Crash In Crypto Matters                  By Erin Griffith           TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/17/busines Advocacy Groups Want FTC to Ban Unfair
2022-11-17   2022-11-18 s/childrens-privacy-games-tom-tiktok.html  Online Manipulation of Children              By Natasha Singer              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/busines US Developer of World of Warcraft Is Pulling
2022-11-17   2022-11-18 s/china-warcraft-blizzard.html             Video Games Out of China                     By Chang Che                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/busines Starbucks Workers Stage Strikes At Dozens
2022-11-17   2022-11-18 s/economy/starbucks-union-strike.html      of Unionized US Stores                       By Noam Scheiber               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/busines Chief Tapped to Clean Up FTX Calls Mess
2022-11-17   2022-11-18 s/ftx-bankruptcy.html                      Worst Hes Ever Seen                          By David YaffeBellany          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/busines
                        s/media/steven-ginsberg-the-athletic-
2022-11-17   2022-11-18 editor.html                                Top Editor Is Named At Athletic              By Katie Robertson             TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/17/busines Dimming Hope Office Buildings Will Ever By Peter Eavis Julie Creswell and
2022-11-17   2022-11-18 s/office-buildings-real-estate-vacancy.html Refill                                  Joe Rennison                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/busines
2022-11-17   2022-11-18 s/spacex-workers-elon-musk.html             8 at SpaceX Cite Reprisal Over Musk     By Noam Scheiber and Ryan Mac      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/busines
2022-11-17   2022-11-18 s/uk-mortgage-rates-economy.html            Anxiety for Britains Home Buyers        By Eshe Nelson                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/climate When Climate Talks Stall Shell Find the
2022-11-17   2022-11-18 /biniaz-climate-united-nations.html         Words                                   By Lisa Friedman                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/climate                                          By Coral Davenport and Lisa
2022-11-17   2022-11-18 /divided-congress-climate.html              A Mixed Bag for Climate Action          Friedman                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/climate
2022-11-17   2022-11-18 /fda-lab-grown-cultivated-meat.html         FDA Regulators Approve LabGrown Chicken By Clare Toeniskoetter             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/
2022-11-17   2022-11-18 a-christmas-story-christmas-review.html     No Winter Wonderland Here               By Calum Marsh                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/
2022-11-17   2022-11-18 actual-people-review.html                   Actual People                           By Brandon Yu                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/
2022-11-17   2022-11-18 bad-axe-review.html                         Bad Axe                                 By Natalia Winkelman               TX 9-257-651   2023-01-03



                                                                                  Page 4516 of 5793
                        https://www.nytimes.com/2022/11/17/movies/
2022-11-17   2022-11-18 bantu-mama-review.html                     Bant Mama                                   By Concepcin de Len               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/
2022-11-17   2022-11-18 blues-big-city-adventure-review.html       Blues Big City Adventure                    By Calum Marsh                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/ Its Eat Prey Love on a Journey of
2022-11-17   2022-11-18 bones-and-all-review.html                  SelfDiscovery                               By AO Scott                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/
2022-11-17   2022-11-18 christmas-with-you-review.html             Christmas With You                          By Ben Kenigsberg                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/
2022-11-17   2022-11-18 eo-review-donkey.html                      A Donkeys Odd and Terrifying Adventure      By Manohla Dargis                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/
2022-11-17   2022-11-18 flaming-ears-review.html                   Flaming Ears                                By Teo Bugbee                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/
2022-11-17   2022-11-18 mickey-the-story-of-a-mouse-review.html    Mickey The Story Of a Mouse                 By Nicolas Rapold                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/
2022-11-17   2022-11-18 slumberland-review.html                    Slumberland                                 By Glenn Kenny                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/
                        the-inspection-review-boot-camp-a-love-
2022-11-17   2022-11-18 story.html                                 A Few Good Men Some With Secrets            By AO Scott                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/
2022-11-17   2022-11-18 the-menu-review.html                       1Percenters Are Skewered With Gusto         By Jeannette Catsoulis            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/
                        the-people-we-hate-at-the-wedding-
2022-11-17   2022-11-18 review.html                                The People We Hate At the Wedding           By Beandrea July                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/
2022-11-17   2022-11-18 the-wonder-review.html                     The Challenge of a Hungry Woman             By Manohla Dargis                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/movies/
2022-11-17   2022-11-18 there-there-review.html                    Conversations Connections and Curiosity     By Nicolas Rapold               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/17/nyregio Trump Organizations Finance Chief Details   By Jonah E Bromwich Ben Protess
2022-11-17   2022-11-18 n/allen-weisselberg-trump-fraud-trial.html Birth of a Tax Scheme                       and Lola Fadulu                 TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/17/nyregio Guilty Plea Is Expected In Massacre In       By Jesse McKinley Troy Closson
2022-11-17   2022-11-18 n/buffalo-shooting-payton-gendron-plead.html Buffalo                                    and Kimiko de FreytasTamura      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/nyregio
2022-11-17   2022-11-18 n/donald-trump-jean-carroll-lawsuit.html     Writer to File New Suit Against Trump      By Benjamin Weiser               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/nyregio
                        n/manhattan-da-convictions-nypd-             Manhattan DA Tosses 188 Convictions Tied
2022-11-17   2022-11-18 officers.html                                to 8 Discredited Officers                  By Hurubie Meko                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/nyregio Its the End of the Road For New York City
2022-11-17   2022-11-18 n/monkeypox-vaccine-van-nyc.html             Vans Giving Monkeypox Shots                By Sharon Otterman               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/nyregio
                        n/shamel-capers-wrongful-conviction-         Man Walks Free 8 Years After Being
2022-11-17   2022-11-18 murder.html                                  Wrongly Imprisoned                         By Corey Kilgannon               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/opinion
2022-11-17   2022-11-18 /pelosi-speaker.html                         The Most Effective House Leader in Decades By Michelle Cottle               TX 9-257-651   2023-01-03



                                                                               Page 4517 of 5793
                        https://www.nytimes.com/2022/11/17/sports/b
                        aseball/aaron-judge-home-run-ball-          Record Ball May Bring Record Price at
2022-11-17   2022-11-18 auction.html                                Auction                                      By David Waldstein                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/sports/b Goldschmidt Wins First MVP Award After
2022-11-17   2022-11-18 aseball/paul-goldschmidt-nl-mvp.html        Flirting With Triple Crown                   By Scott Miller                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/sports/c Asked to Decide on UCLAs Move to Big Ten
2022-11-17   2022-11-18 alifornia-regents-meeting-ucla-big-ten.html Californias Regents Punt                     By Billy Witz                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/sports/f
                        ootball/washington-commanders-ticket-       District of Columbia Files Second Complaint
2022-11-17   2022-11-18 complaint.html                              Against Commanders                           By Ken Belson and Jenny Vrentas   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/sports/s Luxe Hotel Not Ready for FIFA Elite So
2022-11-17   2022-11-18 occer/fifa-world-cup-hotel.html             Theyre Sent to Another Luxe Hotel            By Tariq Panja                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/technol
                        ogy/elizabeth-holmes-sentencing-
2022-11-17   2022-11-18 theranos.html                               Weighing The Sentence For Holmes             By Erin Griffith                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/technol Resignations Rock Twitter Amid Signs Of       By Ryan Mac Mike Isaac and
2022-11-17   2022-11-18 ogy/twitter-elon-musk-ftc.html              Turmoil                                      David McCabe                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/us/alab Court Delays Execution Of Man Spared by
2022-11-17   2022-11-18 ama-execution-kenneth-smith.html            Jury                                         By Nicholas BogelBurroughs        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/us/elect                                              By Alexandra Berzon and Jim
2022-11-17   2022-11-18 ions/kari-lake-arizona-election.html        Lake Hints Shell Contest Loss in Arizona     Rutenberg                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/us/elect
                        ions/nancy-pelosi-congress-house-           Pelosi to Leave Leadership Post After 2
2022-11-17   2022-11-18 leadership.html                             Decades                                      By Carl Hulse                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/us/polit Michael J Gerson Writer Who Gave Bush His
2022-11-17   2022-11-18 ics/michael-j-gerson-dead.html              Best Lines Dies at 58                        By Clay Risen                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/us/polit Republicans Lay Out Biden Investigations but By Kenneth P Vogel Katie Rogers
2022-11-17   2022-11-18 ics/oversight-investigations-biden.html     a Counteroffensive Is in the Making          and Glenn Thrush                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/us/uval Lead Officer on Day of Uvalde Shooting
2022-11-17   2022-11-18 de-police-mariano-pargas.html               Quits                                        By J David Goodman                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/17/world/a Myanmar Junta Is Freeing Former British
2022-11-17   2022-11-18 sia/myanmar-political-prisoners-amnesty.html Ambassador                                By Seth Mydans                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/world/a Missed Chances to Stop a Deadly Crowd
2022-11-17   2022-11-18 sia/seoul-itaewon-crowd-crush.html           Crush in South Korea                      By Choe SangHun                     TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/17/world/e Basketball Star Moved To Female Penal
2022-11-17   2022-11-18 urope/brittney-griner-russia-penal-colony.html Camp Miles Outside Moscow               By Ivan Nechepurenko                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/world/e Dutch Court Convicts 3 of Murder in 14
2022-11-17   2022-11-18 urope/flight-mh17-russia-dutch-court.html      Downing of Airliner in Ukraine          By Constant Mheut                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/world/e
                        urope/russia-alexei-navalny-solitary-          Navalny Says He Is Now in Permanent     By Neil MacFarquhar Alina
2022-11-17   2022-11-18 confinement.html                               Solitary Confinement                    Lobzina and Valeriya Safronova      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/world/e Sharp Pivot From a Proposal That Caused     By Megan Specia and Stephen
2022-11-17   2022-11-18 urope/uk-budget-key-proposals.html             Market Chaos                            Castle                              TX 9-257-651   2023-01-03



                                                                                Page 4518 of 5793
                        https://www.nytimes.com/2022/11/17/world/e UK Budget Outlines Billions in Tax Increases
2022-11-17   2022-11-18 urope/uk-budget-tax-recession-economy.html and Spending Cuts                              By Mark Landler               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/world/e
                        urope/ukraine-electricity-water-              One of Ukraines Biggest Battles Is Keeping
2022-11-17   2022-11-18 infrastructure.html                           the Lights On Until Spring                  By Marc Santora               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/world/ Family of Hunger Striker Says He Had a
2022-11-17   2022-11-18 middleeast/egypt-alaa-abd-el-fattah.html      Breakdown in Prison                         By Vivian Yee                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/world/ Wounded Iranian Protester Heals in Hiding
2022-11-17   2022-11-18 middleeast/iran-protests-wounded.html         Abroad                                      By Jane Arraf                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/live/2022/11/17/wo
                        rld/russia-ukraine-war-news/ukraine-says-the-
                        extension-of-the-grain-deal-offers-hope-for-
2022-11-17   2022-11-18 easing-a-global-food-crisis                   UkraineRussia Grain Export Deal Is Extended By Victoria Kim               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/opinion
2022-11-18   2022-11-18 /crypto-banks-regulation-ftx.html             Is This the End Game for Cryptocurrency     By Paul Krugman               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/sports/b
2022-11-18   2022-11-18 aseball/aaron-judge-al-mvp.html               Judges Bet on Himself Keeps Paying Off      By Tyler Kepner               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/theater/
2022-11-18   2022-11-18 and-juliet-review.html                        Famous Dead Girl Becomes Pop Diva           By Jesse Green                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/17/us/polit Pelosis Decision to Step Aside Paves Way for By Emily Cochrane and Annie
2022-11-18   2022-11-18 ics/pelosi-jeffries-clark-house-democrats.html a New Crop of Democrats                   Karni                          TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/17/us/polit Loss of the House Has Its Advantages For the
2022-11-18   2022-11-18 ics/republicans-house-biden-democrats.html Democrats                                     By Blake Hounshell             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/world/a                                               By Choe SangHun and Motoko
2022-11-18   2022-11-18 sia/north-korea-missile.html                North Korea Said to Fire ICBM                Rich                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/arts/des
2022-11-18   2022-11-18 ign/anselm-kiefer.html                      A Master Still Conjures Historys Ghosts      By Roger Cohen                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/busines Taxing Windfall Profits of Oil Giants to Aid
2022-11-18   2022-11-18 s/economy/windfall-taxes.html               an Economy                                   By Patricia Cohen              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/insider/
                        a-hollywood-investigation-on-the-big-
2022-11-18   2022-11-18 screen.html                                 A Hollywood Investigation on the Big Screen By Megan DiTrolio               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/movies/
2022-11-18   2022-11-18 disenchanted-review.html                    Disenchanted                                 Amy Nicholson                  TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/18/nyregio Democrats See Adams at Root Of State         By Emma G Fitzsimmons and
2022-11-18   2022-11-18 n/eric-adams-midterms-democrats-crime.html Losses                                       Jeffery C Mays                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/article/world-cup- In Case You Know Next to Nil About What
2022-03-31   2022-11-19 qatar-faq.html                              Some People Call Football                   By Sarah Lyall and Andrew Das   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/travel/n
2022-11-01   2022-11-19 atchez-park-traceway-driving.html           Rambling Along the Natchez Trace Parkway    By Colleen Creamer              TX 9-257-651   2023-01-03




                                                                                Page 4519 of 5793
                        https://www.nytimes.com/2022/11/08/travel/j
2022-11-08   2022-11-19 aguars-mexico-yucatan.html                   The Return of the Jaguar                        By Charly Wilder                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/13/dining/
2022-11-13   2022-11-19 what-to-cook-this-week.html                  What to Cook Next Week                          By Sam Sifton                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/arts/tele
2022-11-15   2022-11-19 vision/the-crown-royals-television.html      The Nosy Appeal of a Royal Interview            By Imogen WestKnights             TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/16/books/b Judging It By Its Cover Youre Smarter Than
2022-11-16   2022-11-19 onnie-garmus-lessons-chemistry-book.html That                                         By Sadie Stein                           TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/16/opinion
2022-11-16   2022-11-19 /holiday-travel-thanksgiving-christmas.html The Return of Holiday Season Agita               By Jessica Grose                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/arts/des
2022-11-17   2022-11-19 ign/keith-haring-mural-auction.html              Keith Haring Mural Auctioned for 945000     By Kalia Richardson               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/opinion
2022-11-17   2022-11-19 /democrats-midterms.html                         Democrats Lost the Midterms Too             By Yuval Levin                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/theater/ A Troubled Young Man Dances With His
2022-11-17   2022-11-19 the-bandaged-place-review.html                   Devils                                      By Naveen Kumar                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/world/a
                        frica/madagascar-climate-change-drought-         In Madagascar Battling Droughts Cyclones
2022-11-17   2022-11-19 cyclone.html                                     and Floods                                  By Lynsey Chutel and Joao Silva   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/arts/tele Robert Clary 96 Who Took a Tragic Journey
2022-11-18   2022-11-19 vision/robert-clary-dead.html                    to Hogans Heroes Dies                       By Alex Williams                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/sports/b
                        asketball/kyrie-irving-could-return-to-the-nets-
                        soon-a-top-jewish-leader-still-hopes-to-         Jewish Leader Discusses the Issues Around
2022-11-18   2022-11-19 meet.html                                        Irving and His Suspension                   By Sopan Deb                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/your-
2022-11-18   2022-11-19 money/bankruptcy-student-loans.html              New Option To Discharge Student Debt        By Tara Siegel Bernard            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/arts/des Alice Davis 93 Who Designed Outfits For
2022-11-18   2022-11-19 ign/alice-davis-dead.html                        Two of Disneys Most Popular Rides           By Ed Shanahan                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/arts/lin Lincoln Stood on Hallowed Ground but
2022-11-18   2022-11-19 coln-gettysburg-address-oakley.html              Where                                       By Jennifer Schuessler            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/arts/mu
2022-11-18   2022-11-19 sic/latin-grammy-awards-winners.html             Latin Grammys Spread the Glory              By Jon Pareles                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/arts/mu Ned Rorem Renowned Composer Who
2022-11-18   2022-11-19 sic/ned-rorem-dead.html                          Penned TellAlls Dies at 99                  By Daniel Lewis                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/arts/mu
                        sic/new-york-philharmonic-hannu-lintu-           Two Notable Debuts Make for One
2022-11-18   2022-11-19 review.html                                      Remarkable Week                             By Seth Colter Walls              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/arts/mu
                        sic/review-travel-guide-to-nicaragua-michael-
2022-11-18   2022-11-19 gordon.html                                      A Journey Through Memories                  By Anastasia Tsioulcas            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/arts/mu Swift Implies Ticketmaster Is to Blame For
2022-11-18   2022-11-19 sic/taylor-swift-era-tours-tickets.html          Problems                                    By Joe Coscarelli                 TX 9-257-651   2023-01-03



                                                                                   Page 4520 of 5793
                        https://www.nytimes.com/2022/11/18/busines Chinese Government Steps In to Aid IPhone
2022-11-18   2022-11-19 s/apple-foxconn-china.html                 Factory in Search for Workers                By Chang Che and John Liu     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/busines Oil Prices Slide as Investors Worry Demand
2022-11-18   2022-11-19 s/energy-environment/oil-prices-fall.html  Is Slowing                                By Clifford Krauss               TX 9-257-651   2023-01-03
                                                                                                             By Matthew Goldstein Alexandra
                        https://www.nytimes.com/2022/11/18/busines How FTXs Links With Its Sister Firm Ended Stevenson Maureen Farrell and
2022-11-18   2022-11-19 s/ftx-alameda-ties.html                    Up Dooming Both Companies                 David YaffeBellany               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/busines New York Post Tears Down Florida Man
2022-11-18   2022-11-19 s/media/new-york-post-trump.html           That It Had Supported                     By Katie Robertson               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/busines Judge Blocks Student Housing Firm From
2022-11-18   2022-11-19 s/nelson-partners-lawsuit.html             Commissions                               By Matthew Goldstein             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/busines                                           By Joe Rennison and Jeanna
2022-11-18   2022-11-19 s/stock-market-fed-inflation.html          Shares Waffle After Week of Fed Warnings Smialek                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/climate Kerrys Covid Diagnosis Muddles Climate    By Max Bearak Brad Plumer and
2022-11-18   2022-11-19 /un-climate-talks-cop27.html               Talks                                     Lisa Friedman                    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/18/fashion
2022-11-18   2022-11-19 /craftsmanship-homo-faber-holiday-gifts.html Artisanal gift list                        By Tina IsaacGoiz             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/fashion
                        /fountain-pens-birmingham-pen-company-
2022-11-18   2022-11-19 pittsburgh.html                              Brothers write their future                By Rachel Felder              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/fashion
2022-11-18   2022-11-19 /gifts-guerlain-perfume-paris.html           Back in black                              By Melanie Abrams             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/fashion
2022-11-18   2022-11-19 /gifts-holiday-prestige-beauty-brands.html   Investing in beauty                        By Rachel Felder              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/fashion
2022-11-18   2022-11-19 /gifts-santa-maria-novella-florence.html     And now on to perfume                      By Milena Lazazzera           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/fashion
2022-11-18   2022-11-19 /holiday-gifts-inflation-costs.html          Managing a holiday gift list               By Melanie Abrams             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/fashion
2022-11-18   2022-11-19 /holiday-presents-regifting.html             Regifting Here are some tips               By Roxanne Robinson           TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/18/fashion
2022-11-18   2022-11-19 /jewelry-gold-beads-van-cleef-and-arpels.html A new glow to gold beads                  By Ming Liu                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/fashion
                        /jewelry-museum-shops-london-new-
2022-11-18   2022-11-19 zealand.html                                  Give a museum piece                       By Susanne Fowler             TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/18/fashion
2022-11-18   2022-11-19 /jewelry-pets-irene-neuwirth-los-angeles.html The new best friend necklace              By Tanya Dukes                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/fashion
2022-11-18   2022-11-19 /jewelry-silver-boucheron-dior.html           Silver grabs the spotlight                By Milena Lazazzera           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/fashion
                        /leather-goods-jean-rousseau-jyubei-
2022-11-18   2022-11-19 sawaya.html                                   Weaving and leather together              By Vivian Morelli             TX 9-257-651   2023-01-03



                                                                                  Page 4521 of 5793
                        https://www.nytimes.com/2022/11/18/fashion
2022-11-18   2022-11-19 /monograms-anne-singer-paris.html            Making it personal                        By Ginanne Brownell               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/fashion
                        /watches-tempus-fugit-dominique-
2022-11-18   2022-11-19 renaud.html                                  A watch that counts your days             By Kathleen Beckett               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/health/c Scientists Warn A Booster Policy Needs
2022-11-18   2022-11-19 ovid-boosters-surge.html                     Updating                                  By Apoorva Mandavilli             TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/health/f FDA Approves Drug That Can Delay the Start
2022-11-18   2022-11-19 da-type-1-diabetes-delay.html                of Type 1 Diabetes                        By Gina Kolata                    TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/movies/
                        eo-donkey-banshees-of-inisherin-triangle-of-
2022-11-18   2022-11-19 sadness.html                                 Soulful Eyes Land a Role Of a Lifetime    By Esther Zuckerman               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/movies/ 551Page Report on Rust Shooting Fails to    By Julia Jacobs and Graham
2022-11-18   2022-11-19 rust-shooting-report.html                    Locate Source of Fatal Bullet             Bowley                            TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/movies/
2022-11-18   2022-11-19 she-said-harvey-weinstein-victims.html       Before She Said They Said                 By Nicole Sperling                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/nyregio City That Scoffs at Deep Snow Finds Itself  By Jesse McKinley Judson Jones
2022-11-18   2022-11-19 n/buffalo-snow-storm-ny.html                 Buried                                    and Michael D Regan               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/nyregio DA Wont Pursue Woman Charged in Spouses
2022-11-18   2022-11-19 n/tracy-mccarter-alvin-bragg.html            Death                                     By Jonah E Bromwich               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/nyregio Defense Aims To Undermine Finance Chief By Lola Fadulu Kate Christobek
2022-11-18   2022-11-19 n/trump-organization-trial-weisselberg.html In Trump Trial                             and Jonah E Bromwich              TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/opinion I Led the Trust and Safety Teams at Twitter
2022-11-18   2022-11-19 /twitter-yoel-roth-elon-musk.html            Heres What Could Happen Next              By Yoel Roth                      TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/sports/a
2022-11-18   2022-11-19 utoracing/f1-lewis-hamilton-contract.html    Still racing but looking at whats next    By Ian Parkes                     TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/sports/a
2022-11-18   2022-11-19 utoracing/f1-season-review.html              Crossing the finish line                  By Luke Smith                     TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/18/sports/a
2022-11-18   2022-11-19 utoracing/f1-sebastian-vettel-retirement.html Its a wrap for Sebastian Vettel         By Ian Parkes                      TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/sports/r US Loses Last Chance to Qualify for World
2022-11-18   2022-11-19 ugby/us-mens-rugby-world-cup.html             Cup                                     By Victor Mather                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/sports/s Qatar Makes LastMinute UTurn on Beer
2022-11-18   2022-11-19 occer/world-cup-beer-qatar.html               Sales at Matches                        By Tariq Panja                     TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/sports/t Ending His Lost Year Djokovic Has Resumed
2022-11-18   2022-11-19 ennis/djokovic-nadal-atp-finals.html          His Winning Ways                        By Matthew Futterman               TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/18/technol Holmes Gets Prison Term For Fraud At
2022-11-18   2022-11-19 ogy/elizabeth-holmes-sentence-theranos.html Theranos                                      By Erin Griffith               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/technol                                                By Ryan Mac Mike Isaac and
2022-11-18   2022-11-19 ogy/elon-musk-twitter-workers-quit.html     Twitters Cuts To Work Force Put It on Brink   Kellen Browning                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/technol
                        ogy/live-nation-ticketmaster-investigation-
2022-11-18   2022-11-19 taylor-swift.html                           Justice Dept Investigating Live Nation        By David McCabe and Ben Sisario TX 9-257-651   2023-01-03



                                                                                Page 4522 of 5793
                        https://www.nytimes.com/2022/11/18/us/balti
2022-11-18   2022-11-19 more-priest-sexual-abuse.html               Maryland Details Decades of Clergy Abuse     By Ruth Graham                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/us/geor Georgia Agency to Investigate Recorded Jail
2022-11-18   2022-11-19 gia-camden-jail-detainee-beating.html       Beating                                      By Christine Chung               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/us/law- In Growing Movement More Top Law              By Anemona Hartocollis and Eliza
2022-11-18   2022-11-19 school-rankings-test-scores.html            Schools Will Boycott Rankings                Fawcett                          TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/us/polit Jeffriess Rise in Power Would Mark a         By Nicholas Fandos and Annie
2022-11-18   2022-11-19 ics/hakeem-jeffries-generational-shift.html Generational Shift for Democrats             Karni                            TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/us/polit Rival Concedes to Boebert in Race for
2022-11-18   2022-11-19 ics/lauren-boebert-colorado-frisch.html     Colorado House State Will Recount Votes      By Neil Vigdor                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/us/polit Oath Keepers Trial Ends With a Focus on
2022-11-18   2022-11-19 ics/oath-keepers-sedition-trial-rhodes.html Intent                                       By Alan Feuer and Charlie Savage TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/us/polit What Does a Special Counsel Do and What
2022-11-18   2022-11-19 ics/special-counsel-meaning-trump.html      Makes One Special                            By Charlie Savage                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/us/polit
                        ics/supreme-court-student-debt-             White House Asks Justices To Let It Erase
2022-11-18   2022-11-19 cancellation.html                           Student Debt                                 By Stacy Cowley and Glenn Thrush TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/18/us/polit A Special Counsel Is Named To Lead 2         By Glenn Thrush Charlie Savage
2022-11-18   2022-11-19 ics/trump-special-counsel-garland.html      Trump Inquiries                              Maggie Haberman and Alan Feuer TX 9-257-651      2023-01-03

                        https://www.nytimes.com/2022/11/18/us/polit After Russias Biggest Aerial Attack Questions
2022-11-18   2022-11-19 ics/ukraine-russia-missiles.html            Emerge About Its Missile Stockpile            By Lara Jakes and Marc Santora   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/us/polit                                               By Ben Hubbard and Edward
2022-11-18   2022-11-19 ics/us-saudi-mbs-khashoggi-murder.html      US Endorses Legal Immunity For Saudi Ruler Wong                                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/us/uva- Man Accused In 3 Killings Had Guns On
2022-11-18   2022-11-19 shooting-guns.html                          Campus                                        By Kris Rhim                     TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/18/world/e French Fund for Victims Does Little to Heal
2022-11-18   2022-11-19 urope/france-nice-attack-victims-fund.html Terrorisms Traumas                            By Constant Mheut                 TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/18/world/e Trying to Sell Austerity in Already Lean      By Mark Landler and Stephen
2022-11-18   2022-11-19 urope/rishi-sunak-uk-budget-economy.html Times                                           Castle                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/world/e War Transforms a Pacifist Writer Into a       By Jeffrey Gettleman and
2022-11-18   2022-11-19 urope/ukraine-film-critic-soldier.html      Soldier Defending Ukraine                    Oleksandra Mykolyshyn             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/world/ Blaze in Gaza Strip Kills 21 Gathered for
2022-11-18   2022-11-19 middleeast/gaza-strip-fire.html             Family Party                                 By Raja Abdulrahim                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/your-
2022-11-18   2022-11-19 money/rebates-tax-credits-inflation.html    States Are Sharing Their Surpluses           By Ann Carrns                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/live/2022/11/18/wo
                        rld/russia-ukraine-war-news/swedish-
                        investigators-find-traces-of-explosives-on-
                        debris-from-the-ruptured-nord-stream-       Authorities Say Pipeline Blast Was an Act Of
2022-11-18   2022-11-19 pipelines                                   Sabotage                                     By Melissa Eddy                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/busines Wall Street Brokers Look to Buy the Rights to By Joe Rennison and David
2022-11-19   2022-11-19 s/ftx-assets-wall-street.html               Assets That Are Trapped on FTX               YaffeBellany                      TX 9-257-651   2023-01-03



                                                                                 Page 4523 of 5793
                        https://www.nytimes.com/2022/11/18/world/e Russia Raises Hopes for Griners Release but By Ivan Nechepurenko and Richard
2022-11-19   2022-11-19 urope/russia-us-brittney-griner.html           US Says Its Just Talk                      PrezPea                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/world/
                        middleeast/iran-protests-khomeini-             Iranians Attack Khomeinis Home Protesting
2022-11-19   2022-11-19 children.html                                  the Killing of Children and Teenagers      By Farnaz Fassihi             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/nyregio Brooklyns in the House And Senate Midterms
2022-11-19   2022-11-19 n/brooklyn-schumer-jeffries.html               Put a Spotlight on the Borough             By Dodai Stewart              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/us/supr Minister Says Top Court Was Breached in
2022-11-19   2022-11-19 eme-court-leak-abortion-roe-wade.html          2014                                       By Jodi Kantor and Jo Becker  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/your-
                        money/fairfield-university-financial-aid-pell- What Leads a College to Enroll So Few Pell
2022-11-19   2022-11-19 grant.html                                     Grant Recipients                           By Ron Lieber                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/09/19/books/r
                        eview/amanda-svensson-system-so-
2022-09-19   2022-11-20 magnificent-it-is-blinding.html                Strange Brood                              By Michael Callahan           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/01/books/r
2022-10-01   2022-11-20 eview/breathless-david-quammen.html            Contagion                                  By Michael Sims               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/08/books/r
2022-10-08   2022-11-20 eview/chip-war-chris-miller.html               Tiny but Mighty                            By Virginia Heffernan         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/15/books/r
                        eview/katherine-corcoran-mouth-of-the-
2022-10-15   2022-11-20 wolf.html                                      Publish and Perish                         By Mark Bowden                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/21/books/r
2022-10-21   2022-11-20 eview/sean-connolly-on-every-tide.html         Celtic Wave                                By Fintan OToole              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/30/books/r
2022-10-30   2022-11-20 eview/claire-keegan-foster.html                Found Family                               By Alex Gilvarry              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/30/books/r
2022-10-30   2022-11-20 eview/white-horse-erika-t-wurth.html           Ghost                                      By Laura van den Berg         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/31/books/j
2022-10-31   2022-11-20 ennifer-homans-george-balanchine.html          Prime Mover                                By Dwight Garner              TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/10/31/books/r
2022-10-31   2022-11-20 eview/a-spectre-haunting-china-mieville.html Manifesto Destiny                       By Cory Doctorow                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/01/books/r
                        eview/before-you-knew-my-name-jacqueline-
2022-11-01   2022-11-20 bublitz.html                                 Death Club                              By Flynn Berry                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/08/books/r
2022-11-08   2022-11-20 eview/free-market-jacob-soll.html            Money Money                             By Justin Fox                    TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/09/style/ho
2022-11-09   2022-11-20 liday-gift-advice-help.html                  How to Navigate Gifting Season          By Ali Trachta                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/10/books/r Tom Felton Auditioned for Harry Potter
2022-11-10   2022-11-20 eview/beyond-the-wand-tom-felton.html        Without Reading the Books               By Elisabeth Egan                TX 9-257-651     2023-01-03




                                                                               Page 4524 of 5793
                        https://www.nytimes.com/2022/11/10/books/r
                        eview/small-game-blair-braverman-when-we-
                        were-sisters-fatimah-asghar-the-mountain-in- Which Is More Terrifying Nature or Other
2022-11-10   2022-11-20 the-sea-ray-nayler.html                      People                                     By Nicole Flattery            TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/10/magazi How Did This Man Think He Had the Right
2022-11-10   2022-11-20 ne/afghanistan-orphan-baby-l.html            to Adopt This Baby                         By Rozina Ali                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/10/magazi
2022-11-11   2022-11-20 ne/atlanta-hulu-donald-glover.html           Unreal Talk                                By Niela Orr                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/11/books/r
                        eview/audiobooks-warholcapote-rob-roth-
                        declassified-arianna-warsaw-fan-rauch-and-
2022-11-11   2022-11-20 there-was-light-jon-meacham.html             Old Topics New Audio Revelations           By Sebastian Modak            TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/13/opinion                                               By Thomas HomerDixon and Johan
2022-11-13   2022-11-20 /coronavirus-ukraine-climate-inflation.html What Happens When Crises Collide             Rockstrm                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/11/ Brian Eno Reveals the Hidden Purpose of All
2022-11-14   2022-11-20 14/magazine/brian-eno-interview.html         Art                                         By David Marchese              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/arts/tele
2022-11-15   2022-11-20 vision/charlie-hunnam-shantaram.html         Charlie Hunnam Is Definitely a Cat Person   By Kathryn Shattuck            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/magazi Is It OK That My Wife Posts Photos of Her
2022-11-15   2022-11-20 ne/breastfeeding-photos-ethics.html          Breastfeeding Our Son                       By Kwame Anthony Appiah        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/magazi
2022-11-15   2022-11-20 ne/desert-recommendation.html                The Desert                                  By Meg Bernhard                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/magazi
2022-11-15   2022-11-20 ne/ukraine-trains.html                        The 15000Mile Lifeline                     By Sarah A Topol               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/realesta
2022-11-15   2022-11-20 te/connecticut-gut-renovation.html           Turns Out It Was Connecticut for Good       By Tim McKeough                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/realesta
2022-11-15   2022-11-20 te/marie-kondo-life-coach.html               Marie Kondo Life Coach                      By Julie Lasky                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/style/tik
2022-11-15   2022-11-20 tok-memes-pop-stars.html                     Strike a Pose for the TikTok Memes          By Sadiba Hasan                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/opinion
2022-11-16   2022-11-20 /trump-2024-announcement.html                America Deserves Better Than Donald Trump By The Editorial Board           TX 9-257-651   2023-01-03
                                                                     Star Side Creaminess Acidity And Warming
                        https://www.nytimes.com/2022/11/16/magazi Spice Play Beautifully Against The Natural
2022-11-16   2022-11-20 ne/brussels-sprouts-recipe-thanksgiving.html Bitterness Of Brussels Sprouts              By Yotam Ottolenghi            TX 9-257-651   2023-01-03
                                                                     The Woman Was On Her Third Visit To The
                        https://www.nytimes.com/2022/11/16/magazi Hospital With Severe Abdominal Pain And
                        ne/cannabinoid-hyperemesis-syndrome-         Uncontrollable Vomiting Why Couldnt They
2022-11-16   2022-11-20 diagnosis.html                               Find Out What Was Wrong                     By Lisa Sanders MD             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/magazi
                        ne/will-arbery-evanston-salt-costs-
2022-11-16   2022-11-20 climbing.html                                In Dialogue                                 By Chlo Cooper Jones           TX 9-257-651   2023-01-03




                                                                                Page 4525 of 5793
                        https://www.nytimes.com/2022/11/16/movies/
                        nan-goldin-laura-poitras-all-the-beauty-and-
2022-11-16   2022-11-20 the-bloodshed.html                           When Two Rigorous Artists Collide           By Esther Zuckerman             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/opinion                                               By Nicholas Kristof and Emile
2022-11-16   2022-11-20 /ukraine-russia-war.html                     Lessons From Ukraine                        Ducke                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/realesta
                        te/home-prices-kansas-west-virginia-         350000 Homes in Kansas West Virginia and
2022-11-16   2022-11-20 louisiana.html                               Louisiana                                   By Angela Serratore             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/realesta
2022-11-16   2022-11-20 te/mexico-city-housing-market.html           A Stylish Townhouse That Features a Gallery By Lisa Prevost                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/realesta Theres More to Fall Than the Fireworks Of
2022-11-16   2022-11-20 te/tree-leaves-botany.html                   All Those Leaves                            By Margaret Roach               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/style/fr
2022-11-16   2022-11-20 ugal-parents-birthday-advice.html            Reluctant JetSetter                         By Philip Galanes               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/style/ta Want Taylor Swift Tickets Youre on Your
2022-11-16   2022-11-20 ylor-swift-fans-ticketmaster.html            Own                                         By Madison Malone Kircher       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/theater/ The Lion King A Mighty Roar 25 Years
2022-11-16   2022-11-20 the-lion-king-25th-anniversary.html          Strong                                      By Michael Paulson              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/arts/dan
                        ce/jennifer-weber-choreographer-kpop-
2022-11-17   2022-11-20 andjuliet.html                               Just Saying Yes to the Unknown              By Brian Seibert                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/17/arts/des
2022-11-17   2022-11-20 ign/drake-luna-luna-art-amusement-park.html How Drake Helped Save An Art Carnival      By Joe Coscarelli                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/magazi
                        ne/judge-john-hodgman-on-klingon-cat-
2022-11-17   2022-11-20 names.html                                  Bonus Advice From Judge John Hodgman       By John Hodgman                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/magazi
                        ne/poem-self-portrait-as-collected-bones-                                              By Michael Wasson and Victoria
2022-11-17   2022-11-20 rejoice-rejoice.html                        Poem SelfPortrait as Collected Bones       Chang                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/needies
                        t-cases/taking-action-when-needs-are-most- Relief Groups and Clients Adjust to
2022-11-17   2022-11-20 acute.html                                  Pandemics Challenges                       By Steven Moity                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/nyregio                                             By Joseph Goldstein and Desiree
2022-11-17   2022-11-20 n/wyckoff-hospital-brooklyn.html            Hospitals Both Strained and Essential      Rios                              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/realesta
2022-11-17   2022-11-20 te/renter-migration-patterns.html           Where Inbound Renters Are Looking          By Michael Kolomatsky             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/sports/f Everybody Talks About the Weather and
2022-11-17   2022-11-20 ootball/nfl-week-11-picks.html              Some Even Bet on It                        By David Hill                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/sports/s Ciss on Senegals Ambitions And What Africa
2022-11-17   2022-11-20 occer/senegal-world-cup-aliou-cisse.html    Needs Most                                 By Elian Peltier                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/sports/s Dont Call Them Too Young For the
2022-11-17   2022-11-20 occer/usmnt-world-cup-roster-ages.html      Americans                                  By Andrew Keh                     TX 9-257-651   2023-01-03




                                                                                 Page 4526 of 5793
                        https://www.nytimes.com/2022/11/17/style/ca
                        ncer-my-husbands-doctor-and-catherine-
2022-11-17   2022-11-20 deneuve.html                                 My Husbands Doctor Onscreen                By Anemona Hartocollis             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/style/ol
2022-11-17   2022-11-20 d-jewish-men.html                            Noshing and Schmoozing With the Hipsters By Lily Goldberg                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/11/ What Could 20 Years Worth of Savings Buy
                        17/realestate/nyc-harlem-west-side-          on the West Side Two Longtime Renters
2022-11-17   2022-11-20 apartment.html                               Found Out                                  By Debra Kamin                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/arts/mu Keith Levene BuzzSaw Guitarist Of Public
2022-11-18   2022-11-20 sic/keith-levene-dead.html                   Image Ltd Is Dead at 65                    By Alex Williams                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/arts/tele
                        vision/welcome-to-chippendales-kumail-
2022-11-18   2022-11-20 nanjiani.html                                Bad Guy Is Now Part of His Acting Rsum     By Alexis Soloski                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/books/r
2022-11-18   2022-11-20 eview/childrens-books-about-space.html       Out of This World                          By Lucy Hawking                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/busines
2022-11-18   2022-11-20 s/friendshoring-jargon-business.html         Friendshoring                              By Sarah Kessler                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/busines Rethinking Where to Settle Down as the
2022-11-18   2022-11-20 s/where-to-retire-climate-change.html        Climate Changes                            By Susan B Garland                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/health/c US Falls Behind On Covid Vaccines As
2022-11-18   2022-11-20 ovid-nasal-vaccines-warp-speed.html          Funds Dry Up                               By Benjamin Mueller                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/nyregio
                        n/the-instagram-version-of-missed-
2022-11-18   2022-11-20 connections-is-here.html                     Crowdsourcing New Crushes                  By Brittany Loggins                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/opinion
2022-11-18   2022-11-20 /ants-evolution-climate-change.html          Who Runs The World Ants                    By Farhad Manjoo                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/opinion
2022-11-18   2022-11-20 /midterms-states-constitutions.html          There Is Constitutional Hope               By Jamelle Bouie                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/opinion Why the World Cup Belongs in the Middle
2022-11-18   2022-11-20 /qatar-world-cup-arab-football.html          East                                       By Abdullah AlArian                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/opinion
2022-11-18   2022-11-20 /trump-maga-fetish.html                      Red Hats and Black Squares                 By Rachel Kaadzi Ghansah           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/realesta The Art and Scrapes of Reimagining City
2022-11-18   2022-11-20 te/nyc-art-cynthia-karalla.html              Landmarks                                  By Helene Stapinski                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/sports/
                        world-cup/europe-world-cup-winners-          On Dusty Fields Far From Soccers Center of By Tariq Panja Elian Peltier and
2022-11-18   2022-11-20 losers.html                                  Gravity                                    Rory Smith                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/style/ab
2022-11-18   2022-11-20 bott-elementary-brittani-nichols.html        Making Her Shots From a Keyboard           By Alex Hawgood                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/style/a
2022-11-18   2022-11-20 manda-bupp-kim-jimenez-wedding.html          For One Night Better Late Than Never       By Robbie Spencer                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/style/ba
2022-11-18   2022-11-20 by2baby.html                                 Millions Raised for Charity at a Mom Prom By Katherine Rosman                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/style/ca This Deal of a Lifetime Required Only a Few
2022-11-18   2022-11-20 roline-vazzana-david-lopes-wedding.html      Sacrifices                                 By Jenny Block                     TX 9-257-651   2023-01-03



                                                                                 Page 4527 of 5793
                        https://www.nytimes.com/2022/11/18/style/kr
                        istina-gambarian-ayinde-sankofa-            United by the Love of Community and
2022-11-18   2022-11-20 wedding.html                                Artisanal Pasta                            By Nia Decaille                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/style/m
                        odern-love-childhood-assault-staghorn-
2022-11-18   2022-11-20 fern.html                                   Seriously Whos Afraid of a Lovely Fern     By Julie Buckner Armstrong       TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/18/style/sa A Parking Lot Conversation Sealed Their
2022-11-18   2022-11-20 mantha-moray-lanny-grossman-wedding.html Connection                                     By Jenny Block                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/us/carol Carol Leigh 71 aka Scarlot Harlot Who
2022-11-19   2022-11-20 leigh-dead.html                             Fought for Sex Workers Rights               By Neil Genzlinger              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/us/stau Staughton Lynd 92 Civil Rights Activist Who
2022-11-19   2022-11-20 ghton-lynd-dead.html                        Led Vietnam Protests Dies                   By Clay Risen                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/busines
2022-11-19   2022-11-20 s/media/att-time-warner-deal.html           How a Media Megadeal Went So Bad So Fast By James B Stewart                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/climate Rich Countries Agree to Create A Climate     By Brad Plumer Lisa Friedman
2022-11-19   2022-11-20 /un-climate-damage-cop27.html               Fund                                        Max Bearak and Jenny Gross      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/fashion At the White House a Designers Notable
2022-11-19   2022-11-20 /weddings/naomi-biden-wedding.html          Moment                                      By Alix Strauss                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/nyregio
                        n/matthew-cortellesi-cipriani-
2022-11-19   2022-11-20 cheesemonger.html                           Of All His Passions the Biggest Is Cheese   By Alix Strauss                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/nyregio
2022-11-19   2022-11-20 n/robert-moses-straight-line-crazy.html     Are We Ready to Reappraise Robert Moses By Ginia Bellafante                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/opinion Facebook Is a Freak Show Ghost Town and
2022-11-19   2022-11-20 /facebook-meta-twitter.html                 Im Loving It                                By Isabel Slone                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/opinion
2022-11-19   2022-11-20 /midterms-democracy.html                    Did the Vote Save Our Democracy             By Ross Douthat                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/opinion
2022-11-19   2022-11-20 /pandemic-twitter.html                      The Next Pandemic Wont Be Tweeted           By Carl T Bergstrom             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/opinion
2022-11-19   2022-11-20 /trump-special-counsel.html                 Trump Macho Macho Victim                    By Maureen Dowd                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/opinion
2022-11-19   2022-11-20 /us-white-supremacy-violence.html           There Are No Lone Wolves                    By The Editorial Board          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/realesta Mom Left the House to Our Sister Do We
2022-11-19   2022-11-20 te/estate-executor-inheritance-costs.html   Have to Share in Its Upkeep                 By Ronda Kaysen                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/sports/b
2022-11-19   2022-11-20 asketball/kyrie-irving-nets.html            Irving Offers An Apology May Be Back        By Sopan Deb                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/sports/g Gymnastics Team Takes the Floor at an       By Andrea Williams and Taylor
2022-11-19   2022-11-20 ymnastics-fisk-hbcu.html                    HBCU                                        Baucom                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/sports/s FIFA Leader Defending Qatar Attacks Critics
2022-11-19   2022-11-20 occer/world-cup-gianni-infantino-fifa.html  for Moral LessonGiving                      By Tariq Panja                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/sports/s How a Lunch in Paris in 2010 Transformed
2022-11-19   2022-11-20 occer/world-cup-qatar-2022.html             Qatar and Soccer                            By Tariq Panja and Rory Smith   TX 9-257-651   2023-01-03




                                                                                Page 4528 of 5793
                        https://www.nytimes.com/2022/11/19/style/he
2022-11-19   2022-11-20 ctor-bellerin-soccer.html                    A Stylish Soccer Star on and Off the Field  By Nick Haramis                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/style/ro
2022-11-19   2022-11-20 bbie-fairchild-flowers-bookay-nyc.html       A Passion Blossoms on a New Kind of Stage By Anna Grace Lee                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/us/polit The President Is Turning 80 Experts Say Age
2022-11-19   2022-11-20 ics/biden-age-health.html                    Is More Than a Number                       By Sheryl Gay Stolberg             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/us/polit
                        ics/herschel-walker-raphael-warnock-georgia- Rivals for Georgia Senate Sprint Toward the
2022-11-19   2022-11-20 senate.html                                  Runoff                                      By Maya King                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/us/polit The Prosecutor About to Enter A Trump
2022-11-19   2022-11-20 ics/jack-smith-trump-special-counsel.html    Storm                                       By Charlie Savage and Alan Feuer   TX 9-257-651   2023-01-03
                                                                                                                 By Charles Homans Alexandra
                        https://www.nytimes.com/2022/11/19/us/polit In Arizona Voters Stories Contradict Lakes Berzon Jim Rutenberg and Ken
2022-11-19   2022-11-20 ics/maricopa-voter-complaints.html           Suppression Claims                          Bensinger                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/us/polit Nuptials on the South Lawn as Bidens Eldest
2022-11-19   2022-11-20 ics/naomi-biden-wedding.html                 Granddaughter Marries                       By Katie Rogers                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/us/polit Garlands Effort to Keep Politics Out Does
2022-11-19   2022-11-20 ics/trump-special-counsel.html               Little to Quiet Critics Howls               By Peter Baker                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/world/a Gang Violence Hinders Haitis Battle Against By Natalie Kitroeff and Adriana
2022-11-19   2022-11-20 mericas/haiti-cholera-gang-violence.html     Cholera                                     Zehbrauskas                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/world/a Protesting in Iran Then Struck Blind As
2022-11-19   2022-11-20 sia/iran-protesters-eye-injuries.html        Forces Open Fire                            By Cora Engelbrecht                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/19/world/a
2022-11-19   2022-11-20 sia/kim-jong-un-daughter-missile-launch.html Kim Takes His Daughter to a Missile Test By John Yoon                    TX 9-257-651         2023-01-03
                        https://www.nytimes.com/2022/11/19/world/a World Cup in Qatar Caps Gulf States Push
2022-11-19   2022-11-20 sia/qatar-sports-world-cup.html              Into Global Sports Spotlight             By Vivian Nereim                TX 9-257-651         2023-01-03
                        https://www.nytimes.com/2022/11/19/world/e
                        urope/ukraine-russia-electrical-grid-        Amid Ukraines Gains a Daunting Race to   By Marc Santora and Brendan
2022-11-19   2022-11-20 rebuild.html                                 Rebuild Battered Areas                   Hoffman                         TX 9-257-651         2023-01-03
                        https://www.nytimes.com/2022/11/19/world/ Red Seas Coral Reefs Thrive Despite Climate
2022-11-19   2022-11-20 middleeast/red-sea-coral-climate.html        Change but Risks Loom                    By Jenny Gross and Vivian Yee   TX 9-257-651         2023-01-03
                        https://www.nytimes.com/2022/11/19/technol Trumps Twitter Account Is Restored After
2022-11-20   2022-11-20 ogy/trump-twitter-musk.html                  Musk Asks Users to Weigh In              By Ryan Mac and Kellen Browning TX 9-257-651         2023-01-03
                        https://www.nytimes.com/2022/11/19/us/uva- We Love Your Sons Virginia Pays Tribute to
2022-11-20   2022-11-20 shooting-memorial.html                       Three Slain Players                      By Kris Rhim                    TX 9-257-651         2023-01-03
                        https://www.nytimes.com/2022/11/20/busines                                            By Eric Lipton and Kenneth P
2022-11-20   2022-11-20 s/sports-betting-lobbying-kansas.html        Cigars Booze and a SportsBetting Blitz   Vogel                           TX 9-257-651         2023-01-03
                        https://www.nytimes.com/2022/11/20/busines
2022-11-20   2022-11-20 s/the-week-in-business-ftxs-collapse.html    The Week in Business FTXs Collapse       By Marie Solis                  TX 9-257-651         2023-01-03
                        https://www.nytimes.com/2022/11/20/insider/
2022-11-20   2022-11-20 inside-the-making-of-inside-the-times.html   Inside the Making of Inside The Times    By Megan DiTrolio               TX 9-257-651         2023-01-03
                        https://www.nytimes.com/2022/11/20/nyregio Epic Treasures Untold and Unseen in New
2022-11-20   2022-11-20 n/draft-constitution-trenton-nj.html         Jersey                                   By Kevin Coyne                  TX 9-257-651         2023-01-03




                                                                                Page 4529 of 5793
                        https://www.nytimes.com/2022/11/20/nyregio
                        n/israel-netanyahus-american-jewish-         Among American Jews Netanyahus
2022-11-20   2022-11-20 community.html                               Comeback Fans a Growing Unease              By Liam Stack             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/sports/s Holding Club Together in a Nation Pulled
2022-11-20   2022-11-20 occer/gareth-southgate-england.html          Apart                                       By Rory Smith             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/style/w
                        hat-julia-fox-and-hillary-clinton-wore-to-
2022-11-20   2022-11-20 parties-last-week.html                       Over the Top Psychedelic Or Simply Fancy By Denny Lee                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/us/utah- In Utah Restoring Spruce Forests One Cone at
2022-11-20   2022-11-20 spruce-forests.html                          a Time                                      By Hilary Swift           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/world/e Wielding New Powers UK Police Crack
2022-11-20   2022-11-20 urope/britain-protests-climate-change.html   Down as Climate Protests Escalate           By Stephen Castle         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/17/travel/ Leaps of Faith Tradition and Courage From a By Alessio Mamo and Marta
2022-10-17   2022-11-21 mostar-bridge-diving-bosnia.html             Storied Bridge                              Bellingreri               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/arts/tele
2022-11-16   2022-11-21 vision/echo-3-mark-boal-apple.html           Danger Is His Comfort Zone                  By Scott Tobias           TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/17/arts/dan At Jacobs Pillow Investing In Theater and
2022-11-17   2022-11-21 ce/jacobs-pillow-theater-fire-rebuilding.html Technology                                By Javier C Hernndez       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/travel/tr Help I Was Banned From Lyft And No One
2022-11-17   2022-11-21 ipped-up-banned-lyft.html                     Will Tell Me Why                          By Seth Kugel              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/arts/mu
2022-11-18   2022-11-21 sic/ukrainian-teenager-carnegie-hall.html     He Fled Ukraine Bassoon In Tow            By Kalia Richardson        TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/18/busines Feds Rate Increases Make a Splash but Not
2022-11-18   2022-11-21 s/economy/federal-reserve-rate-inflation.html Yet a Wave                                  By Jeanna Smialek        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/sports/s
2022-11-18   2022-11-21 occer/qatar-world-cup-activities.html         Theres more to Qatar than soccer            By David Belcher         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/arts/mu
2022-11-19   2022-11-21 sic/adele-las-vegas-review.html               Such a Diva the DowntoEarth Kind            By Lindsay Zoladz        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/arts/mu
2022-11-19   2022-11-21 sic/subway-buskers-new-york-city.html         For Subway Performers a Fuller Tip Jar      By Kalia Richardson      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/busines
2022-11-19   2022-11-21 s/dealbook/ftx-fallout.html                   3 Questions Rise to Top In FTX Crash        By Ephrat Livni          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/busines George Lois Dies at 91 Art Director Whose
2022-11-19   2022-11-21 s/media/george-lois-dead.html                 Ads Spoke for Themselves                    By Robert D McFadden     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/nyregio Dr Mitchell S Rosenthal 87 the Founder of
2022-11-19   2022-11-21 n/mitchell-rosenthal-dead.html                Phoenix House                               By Sam Roberts           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/opinion
                        /musk-trump-bezos-bankman-fried-              It Was a Bad Week For Billionaires With
2022-11-19   2022-11-21 billionaires.html                             Delusions Of Saving the World               By Anand Giridharadas    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/science
2022-11-19   2022-11-21 /fireball-asteroid-toronto-new-york.html      With Heads Up Sky Buffs Delight in Fireball By Amanda Holpuch        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/science Scientists Around the World Vote to Retire
2022-11-19   2022-11-21 /time-leap-second-bipm.html                   Leap Second                                 By Alanna Mitchell       TX 9-257-651   2023-01-03



                                                                                Page 4530 of 5793
                        https://www.nytimes.com/2022/11/19/world/e
2022-11-19   2022-11-21 urope/yahidne-ukraine-school-trauma.html    Battered School Holds Memories of Trauma    By Megan Specia                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/article/idaho-      New Details Come Out In Killings Near       By Mike Baker and Nicholas
2022-11-19   2022-11-21 student-murders-kohberger.html              College                                     BogelBurroughs                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/20/arts/mu Danny Kalb Guitarist Who Gave BluesRock
2022-11-20   2022-11-21 sic/danny-kalb-dead.html                    An Edge Is Dead at 80                       By Jon Pareles                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/20/arts/mu To the End Ned Rorem Was Unwaveringly
2022-11-20   2022-11-21 sic/ned-rorem-appraisal.html                Himself                                     By Joshua Barone               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/20/arts/mu
2022-11-20   2022-11-21 sic/review-difficult-grace.html             A Cellist Moves Beyond Classical Confines   By Anastasia Tsioulcas         TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/20/books/r Making a Case for Experiencing Life
2022-11-20   2022-11-21 eview-the-future-is-analog-david-sax.html   OffLine                                     By Alexandra Jacobs            TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/20/briefing
2022-11-20   2022-11-21 /world-cup-qatar.html                       On the Ground at a Contentious World Cup    By Lauren Jackson              TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/20/busines Zealous Gambler Is Top Pitchman For Eager
2022-11-20   2022-11-21 s/barstool-sports-betting-david-portnoy.html Casino                                     By Emily Steel                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/20/busines News Corp Investors Express Unease Over
2022-11-20   2022-11-21 s/dealbook/news-corp-fox-investors.html      Fox Merger Plan                            By Lauren Hirsch               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/20/busines
                        s/media/ben-affleck-matt-damon-film-         Affleck and Damon to Start Production
2022-11-20   2022-11-21 company.html                                 Company                                    By Brooks Barnes               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/20/nyregio Nothing Like a Buffalo Winter Undaunted
2022-11-20   2022-11-21 n/buffalo-snow.html                          Residents Face 6 Feet of Snow              By Ana Ley and Michael D Regan TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/20/nyregio Arms Seized And 2 Held Over Threat To        By Hurubie Meko Vimal Patel and
2022-11-20   2022-11-21 n/new-york-jewish-synagogue-threat.html      Synagogue                                  McKenna Oxenden                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/opinion Election Skepticism New Hampshire Has a
2022-11-20   2022-11-21 /election-fraud-new-hampshire-audit.html     Plan for That                              By Farah Stockman              TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/20/opinion
2022-11-20   2022-11-21 /getting-off-twitter-social-m.html           Seven Months on a Strict Twitter Diet      By Charles M Blow              TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/20/opinion
2022-11-20   2022-11-21 /thanksgiving-debates.html                   Thanksgiving Bash                          By Pamela Paul                 TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/20/sports/b A Moment in History Im Going to Remember
2022-11-20   2022-11-21 asketball/kyrie-irving-nets-suspension.html Forever Irving Is Reinstated             By Sopan Deb                      TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/20/sports/f
2022-11-20   2022-11-21 ootball/nfl-week-11-scores.html             What We Learned This Week                By Derrik Klassen                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/20/sports/n Whats in a Name A Playoff Spot USC Is
2022-11-20   2022-11-21 caafootball/usc-ucla.html                   Hoping                                   By Billy Witz                     TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/20/sports/s
2022-11-20   2022-11-21 occer/karim-benzema-france-world-cup.html Injury Takes Out a Key Forward for France     By Rory Smith                  TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/20/sports/s Workers Go Seven Hours Without Food and
2022-11-20   2022-11-21 occer/migrant-workers-world-cup.html        Water                                       By Tariq Panja                 TX 9-257-651    2023-01-03




                                                                               Page 4531 of 5793
                        https://www.nytimes.com/2022/11/20/sports/s
                        occer/rainbow-armbands-world-cup-           Europeans Committed To Armbands As a
2022-11-20   2022-11-21 captains.html                               Message                                       By Tariq Panja                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/sports/s US Had a Blank Canvas And the Unveiling
2022-11-20   2022-11-21 occer/usa-wales-berhalter.html              Is Now                                        By Andrew Keh                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/sports/s Carrying a Teams Hopes and a Nations
2022-11-20   2022-11-21 occer/wales-gareth-bale-world-cup.html      Identity                                      By Andrew Keh                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/sports/s
2022-11-20   2022-11-21 occer/world-cup-asian-town-watch.html       Migrants Savor Moment They Helped Bring       By John Branch                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/sports/s
2022-11-20   2022-11-21 occer/world-cup-opening-night.html          Buying a Fantasy but Finding Reality          By Rory Smith                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/sports/t A Victory by Djokovic Is a Fitting End to a
2022-11-20   2022-11-21 ennis/atp-finals.html                       Most Unusual Mens Season                      By Matthew Futterman             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/theater/ A Suspenseful Play Within the Parameters of
2022-11-20   2022-11-21 sandra-review.html                          Monologue                                   By Elisabeth Vincentelli        TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/20/us/colo Club Q Patron Who Tackled Gunman Saved       By Dave Philipps and Charlie
2022-11-20   2022-11-21 rado-springs-shooting-gunman-tackled.html Dozens and Dozens of Lives                    Brennan                         TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/20/us/colo Bullets Blood and Acts of Bravery in a       By Jack Healy Mitch Smith Adam
2022-11-20   2022-11-21 rado-springs-shooting.html                  Colorado Nightclub                          Goldman and Patricia Mazzei     TX 9-257-651      2023-01-03
                                                                                                                By Tim Arango Livia AlbeckRipka
                        https://www.nytimes.com/2022/11/20/us/pelo Suspect in Pelosi Attack Wallowed in Online Soumya Karlamangla and Holly
2022-11-20   2022-11-21 si-attack-suspect-david-depape.html         Hate                                        Secon                           TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/20/us/polit Crowded GOP Field Could Take On Trump
2022-11-20   2022-11-21 ics/2024-republican-field.html              and Help Him Too                            By Shane Goldmacher             TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/20/us/polit Biden Is Now First Octogenarian in Oval
2022-11-20   2022-11-21 ics/biden-80-election.html                  Office                                      By Peter Baker                  TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/20/us/polit Democratic Senate Loss in Ohio Raises the
2022-11-20   2022-11-21 ics/sherrod-brown-ohio-senate.html          Bar for Brown in 2024                       By Trip Gabriel                 TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/20/us/polit The Trump Familys Newest Partners           By Eric Lipton and Maggie
2022-11-20   2022-11-21 ics/trump-organization-oman-deal.html       Governments in the Middle East              Haberman                        TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/20/world/a
                        sia/bangladesh-inmates-flee-killed-writer-  Inmates Who Killed a Writer and a Publisher
2022-11-20   2022-11-21 publisher.html                              Escape in Bangladesh                        By Saif Hasnat                  TX 9-257-651      2023-01-03

                        https://www.nytimes.com/2022/11/20/world/a Malaysians Were Pitched Stability but
2022-11-20   2022-11-21 sia/malaysia-elections-hung-parliament.html Elections Created More Chaos              By Matt Stevens                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/world/c Canada Imposes Sanctions on Former Leader
2022-11-20   2022-11-21 anada/canada-haiti-sanctions.html           of Haiti                                  By Natalie Kitroeff and Vjosa Isai   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/world/e
                        urope/ukraine-evacuation-kherson-           As Temperatures Drop Kherson and Mykolaiv By Megan Specia and Matthew
2022-11-20   2022-11-21 mykolaiv.html                               Weigh Evacuation Plans                    Mpoke Bigg                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/world/ Kurdish Fighters Feel Squeeze From Both     By Jane Arraf Sangar Khaleel and
2022-11-20   2022-11-21 middleeast/iraq-iran-fighters.html          Iran and Iraq                             Emily Garthwaite                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/world/ After Bombing Turkey Strikes Kurds in Iraq By Ben Hubbard and Sangar
2022-11-20   2022-11-21 middleeast/turkey-kurds-iraq-syria.html     And in Syria                              Khaleel                              TX 9-257-651   2023-01-03



                                                                                Page 4532 of 5793
                        https://www.nytimes.com/2022/11/20/books/p
                        enguin-random-house-simon-schuster-                                                    By Alexandra Alter Elizabeth A
2022-11-21   2022-11-21 deal.html                                    Deal to Merge 2 Publishers Is Crumbling   Harris and Benjamin Mullin       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/us/supr More Calls for Ethics Code After Supreme
2022-11-21   2022-11-21 eme-court-breach-alito.html                  Court Breach Allegation                   By Jodi Kantor                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/arts/tele
                        vision/tv-bachelor-in-paradise-thanksgiving-
2022-11-21   2022-11-21 day-parade.html                              This Week on TV                           By Shivani Gonzalez              TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/21/climate Inside Saudi Arabias Strategy To Keep World
2022-11-21   2022-11-21 /saudi-arabia-aramco-oil-solar-climate.html Hooked on Oil                              By Hiroko Tabuchi                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/sports/s Fans Torn in Two Loving the Games But Not
2022-11-21   2022-11-21 occer/qatar-human-rights-world-cup.html     the Host                                   By Kurt Streeter                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/technol
2022-11-21   2022-11-21 ogy/gary-gensler-crypto-sec.html            SEC Chief At Center Of Uproar On Crypto By David YaffeBellany               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/technol                                             By David McCabe and Karen
2022-11-21   2022-11-21 ogy/microsoft-activision-deal.html          Can Big Tech Get Bigger                    Weise                            TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/21/world/a Which Is Scarier Dragons or a New 1000 Fee By Richard C Paddock and Ulet
2022-11-21   2022-11-21 sia/indonesia-tourism-komodo-dragons.html to See Them                                  Ifansasti                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/11/
                        21/sports/world-cup/how-pronounce-           How Do You Pronounce Qatar Probably
2022-11-21   2022-11-21 qatar.html                                   Incorrectly                               By Sarah Lyall                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/science In Circle Mystery A Theory That Points To
2022-11-01   2022-11-22 /fairy-circles-cause-water-termites.html     Termites Crumbles                         By Rachel Nuwer                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/01/well/mi Hey Lighten Up It Can Be Good for Your
2022-11-01   2022-11-22 nd/humor-benefits.html                       Health                                    By Carolyn Todd                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/11/
                        10/well/mind/panic-attack-symptoms-
2022-11-10   2022-11-22 causes.html                                  The Anatomy of a Panic Attack             By Dani Blum                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/well/eat Sugar Alcohols Are in Many SugarFree Foods
2022-11-15   2022-11-22 /sugar-alcohols.html                         What Are They                             By Hannah Seo                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/busines Parade of Tankers From US Helps Ease
2022-11-16   2022-11-22 s/europe-energy-natural-gas.html             Europes Energy Crisis                     By Stanley Reed                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/busines They Built Up Chinas Chip Sector Now        By Jane Perlez Amy Chang Chien
2022-11-16   2022-11-22 s/taiwan-china-semiconductors.html           Theyre Going Home to Taiwan               and John Liu                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/article/unusual-     Some Covid Symptoms Are Especially
2022-11-16   2022-11-22 covid-symptoms.html                          Unusual                                   By Dani Blum                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/science
2022-11-17   2022-11-22 /retired-nuclear-bombs-b83.html              Why These Old Weapons Never Die           By William J Broad               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/well/m Bulky Ropes in the Gym Perfect for a
2022-11-17   2022-11-22 ove/gym-workout-battle-rope.html             Workout                                   By Connie Chang                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/theater/ Michael Butler Who Made Hair Shine on
2022-11-18   2022-11-22 michael-butler-dead.html                     Broadway Is Dead at 95                    By Neil Genzlinger               TX 9-257-651   2023-01-03




                                                                                Page 4533 of 5793
                        https://www.nytimes.com/2022/11/19/health/ Maybe You Should Go To the Hospital at
2022-11-19   2022-11-22 medicare-home-hospital.html                 Home                                          By Paula Span                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/arts/chr Original Bones vs Replicas Auction House
2022-11-20   2022-11-22 isties-t-rex-shen-stan.html                 Pulls a T Rex                                 By Julia Jacobs and Zachary Small TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/arts/dag Dagny Corcoran 77 a Bookseller At the Heart
2022-11-20   2022-11-22 ny-corcoran-dead.html                       of the LA Art Scene                           By Randy Kennedy                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/busines                                                By Rebecca R Ruiz Kenneth P
2022-11-20   2022-11-22 s/sports-betting-laws-states.html           States Failed To Anticipate Betting Perils    Vogel and Joe Drape               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/obituari Jay M Pasachoff 79 Who Pursued Eclipses
2022-11-20   2022-11-22 es/jay-pasachoff-dead.html                  Across the Globe Dies                         By Clay Risen                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/arts/dan
                        ce/trisha-brown-company-judith-sanchez-     In a First a Company Goes Beyond Its
2022-11-21   2022-11-22 ruiz.html                                   Founders Repertory                            By Brian Seibert                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/arts/des
                        ign/buffalo-museum-renamed-albright-
2022-11-21   2022-11-22 knox.html                                   Expanded Buffalo Museum to Open in May By Hilarie M Sheets                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/arts/des
2022-11-21   2022-11-22 ign/greenwich-village-history.html          A Walk Through Gay History                    By Michael Kimmelman              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/arts/mu At 81 Buffy SainteMarie Is Up Where She
2022-11-21   2022-11-22 sic/buffy-sainte-marie-carry-it-on.html     Belongs                                       By Lindsay Zoladz                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/arts/mu
2022-11-21   2022-11-22 sic/the-hours-met-opera.html                From Book To Movie To Opera                   By Joshua Barone                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/books/p
                        enguin-random-house-simon-schuster-         The Collapse of a Huge Merger Breaks          By Elizabeth A Harris Alexandra
2022-11-21   2022-11-22 deal.html                                   Publishings Pattern of Consolidation          Alter and Benjamin Mullin         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/busines Rail Union Rejects Deal Raising Risk Of a
2022-11-21   2022-11-22 s/economy/freight-rail-union-contract.html  Strike                                        By Noam Scheiber                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/busines
                        s/energy-environment/diablo-canyon-         Lifeline for California Nuclear Plant Is a
2022-11-21   2022-11-22 nuclear.html                                Bridge to Climate Goals Advocates Say         By Ivan Penn                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/busines Disney Chief Lost Trust After Series of        By Brooks Barnes Benjamin Mullin
2022-11-21   2022-11-22 s/media/disney-bob-iger.html                Missteps                                      and James B Stewart               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/climate
                        /nature-conservancy-insurance-hawaii-coral- A Group Buys Insurance To Protect Hawaiis By Christopher Flavelle and Catrin
2022-11-21   2022-11-22 reef.html                                   Reefs Amid Worsening Storms                   Einhorn                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/fashion
                        /black-panther-wakanda-forever-ruth-
2022-11-21   2022-11-22 carter.html                                 A fictional story with real jewelry           By David Belcher                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/fashion
2022-11-21   2022-11-22 /healers-fine-jewelry-mens-paris.html       Doubleduty jewelry                            By Melanie Abrams                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/fashion
                        /jewelry-bloomingdales-150th-anniversary-
2022-11-21   2022-11-22 harakh-mehta.html                           Anniversary diamonds                          By Kathleen Beckett               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/fashion
2022-11-21   2022-11-22 /jewelry-boodles-liverpool-england.html     A brands history goes on display in Liverpool By Susanne Fowler                 TX 9-257-651   2023-01-03



                                                                                Page 4534 of 5793
                        https://www.nytimes.com/2022/11/21/fashion
2022-11-21   2022-11-22 /jewelry-counterfeit-online-sales-cartier.html An old problem grows                        By Janelle Conaway              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/fashion
2022-11-21   2022-11-22 /jewelry-designers-jobs.html                   Beyond their day jobs                       By Tanya Dukes                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/fashion
2022-11-21   2022-11-22 /jewelry-ethical-sustainable.html              An ethical notion                           By Abigail R Esman              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/fashion
2022-11-21   2022-11-22 /jewelry-growth-bulgari-cartier-tiffany.html A focus on growth                             By Victoria Gomelsky            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/fashion
                        /jewelry-pandora-lab-grown-diamonds-
2022-11-21   2022-11-22 copenhagen.html                                Pandoras new collection                     By Kathleen Beckett             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/fashion
2022-11-21   2022-11-22 /jewelry-prada-recycled-gold.html              A disruptive debut                          By Laura Rysman                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/fashion From Jared to Birks multibrand groups are
2022-11-21   2022-11-22 /jewelry-signet-jared-bucherer.html            elevating their offerings                   By Victoria Gomelsky            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/health/a                                                By Virginia Hughes and Desiree
2022-11-21   2022-11-22 nxiety-treatment-exposure-therapy.html         Children Learning to Face Down Their Fears Rios                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/health/ For Women and Nonbinary People
2022-11-21   2022-11-22 monkeypox-women-nonbinary.html                 Monkeypox May Have Been Missed              By Apoorva Mandavilli           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/movies/
2022-11-21   2022-11-22 jeremy-pope-the-inspection.html                Stoking His Fire On a Path To Yes           By Kyle Buchanan                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/nyregio Manhattan Prosecutors Move to JumpStart         By Jonah E Bromwich Ben Protess
2022-11-21   2022-11-22 n/trump-bragg-stormy-daniels.html              Criminal Inquiry Into Trump                 and William K Rashbaum          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/nyregio Prosecutors in Trump Company Trial Rest         By Jonah E Bromwich Lola Fadulu
2022-11-21   2022-11-22 n/trump-organization-trial.html                Their Case in Sign of Confidence            and William K Rashbaum          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/opinion
2022-11-21   2022-11-22 /midterms-abortion-trump.html                  The ProLife Camp Paid for Its Trump Bargain By David French                 TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/21/opinion
2022-11-21   2022-11-22 /trump-biden-midterms-announcement.html That Feeling When the Magic Stops Working By Gail Collins and Bret Stephens      TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/21/science NASAs Orion Spacecraft Completes Its Close
2022-11-21   2022-11-22 /nasa-artemis-orion-moon-pictures.html      Encounter 81 Miles With the Moon             By Kenneth Chang                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/21/sports/b Plenty of Memories Even if They Dont Land
2022-11-21   2022-11-22 aseball/hall-of-fame-ballot.html            in Cooperstown                               By Tyler Kepner                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/21/sports/s With Tensions Swirling England Coasts in Its
2022-11-21   2022-11-22 occer/england-iran-world-cup.html           Opener                                       By John Branch                  TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/21/sports/s
2022-11-21   2022-11-22 occer/senegal-netherlands-score-match.html Two Late Goals Allow Netherlands to Prevail By Ben Shpigel                    TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/21/technol
2022-11-21   2022-11-22 ogy/elon-musk-twitter-management.html       Twitter Is Not 1st Company Musk Rattled    By Ryan Mac and Jack Ewing        TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/21/us/alab Alabama Suspends All Executions After
2022-11-21   2022-11-22 ama-executions-lethal-injection.html        Issues With Lethal Injections              By Nicholas BogelBurroughs        TX 9-257-651     2023-01-03




                                                                                Page 4535 of 5793
                        https://www.nytimes.com/2022/11/21/us/colo Veteran in Combat Mode Brought Down a       By Dave Philipps Jack Healy
2022-11-21   2022-11-22 rado-springs-nightclub-shooting.html        Gunman                                     Shawn Hubler and Patricia Mazzei     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/us/polit No Fowl Play Biden Pardons A Pair of
2022-11-21   2022-11-22 ics/biden-thanksgiving-turkey-pardon.html   Thanksgiving Turkeys                       By Zolan KannoYoungs                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/us/polit Robertss Early Court Agenda A Study in
2022-11-21   2022-11-22 ics/john-roberts-supreme-court.html         Disappointment                             By Adam Liptak                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/us/polit Selling Infrastructure Plan Across the US
2022-11-21   2022-11-22 ics/mitch-landrieu-infrastructure.html      Like a Dog on a Bone                       By Zolan KannoYoungs                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/us/polit Suicide Death After Jan 6 Will Qualify For
2022-11-21   2022-11-22 ics/officer-suicide-jan-6-benefits.html     Benefits                                   By Luke Broadwater                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/us/stew An Unlikely Journey From Yale Law to Oath
2022-11-21   2022-11-22 art-rhodes-oath-keepers-yale-law.html       Keepers                                    By Eliza Fawcett                     TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/21/world/a Warfare and Drought Hurl Somalia Toward     By Declan Walsh and Andrea
2022-11-21   2022-11-22 frica/somalia-famine-al-shabab-climate.html Famine                                     Bruce                                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/world/a South African Court Rules That Zuma Was
2022-11-21   2022-11-22 frica/south-africa-jacob-zuma.html          Unlawfully Released From Prison            By Lynsey Chutel                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/world/a Indonesia Quake Kills Scores With Many
2022-11-21   2022-11-22 sia/indonesia-earthquake-java.html          More Thought to Be Trapped                 By Seth Mydans                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/world/a Nuclear Plant Is Damaged By Shelling UN
2022-11-21   2022-11-22 sia/un-nuclear-zaporizhzhia-plant.html      Reports                                    By Tiffany May                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/world/e Ambushing Russian Forces on the Dnipro
2022-11-21   2022-11-22 urope/ukraine-russia-war-river.html         River                                      By Carlotta Gall and Ivor Prickett   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/world/
                        middleeast/iran-protests-actresses-         At Home and Abroad HighProfile Iranians    By Cora Engelbrecht and Jer
2022-11-21   2022-11-22 arrested.html                               Signal Support for Protests                Longman                              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/world/
                        middleeast/netanyahu-libel-wins-            Netanyahus Are Awarded Damages in a
2022-11-21   2022-11-22 damages.html                                Messy Libel Case                           By Isabel Kershner                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/article/victims-    What We Know About the Victims Killed in   By Jill Cowan Eliza Fawcett Amy
2022-11-21   2022-11-22 colorado-springs-shooting.html              the Colorado Springs Mass Shooting         Qin and Rick Rojas                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/opinion The Attack at Club Q Was Only a Matter of
2022-11-22   2022-11-22 /colorado-springs-shooting.html             Time                                       By Michelle Goldberg                 TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/21/opinion
2022-11-22   2022-11-22 /democrats-republicans-political-fight.html How Democrats Can Fight a Crazy GOP         By Paul Krugman                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/sports/s For This United States Squad The Goals Dont
2022-11-22   2022-11-22 occer/usmnt-wales-world-cup.html            Come Easy                                   By Rory Smith                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/theater/
2022-11-22   2022-11-22 christmas-carol-review.html                 Scrooge Alone but Clamorous Burns Brightly By Alexis Soloski                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/us/hous Progressive Groups Prepare to Counter GOP
2022-11-22   2022-11-22 e-republicans-progressives.html             Bloc                                        By Carl Hulse                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/world/e
                        urope/ukraine-maidan-protests-              Remembering a Milestone on the Long Path By Marc Santora and Richard
2022-11-22   2022-11-22 anniversary.html                            to Putins War                               PrezPea                             TX 9-257-651   2023-01-03



                                                                               Page 4536 of 5793
                        https://www.nytimes.com/2022/11/22/arts/mu A Philharmonic First Women Are the
2022-11-22   2022-11-22 sic/women-new-york-philharmonic.html         Majority                                   By Javier C Hernndez              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/health/f                                             By Emily Anthes and Lauren
2022-11-22   2022-11-22 arm-sanctuary-animal-welfare.html            More Than A Meal                           Petracca                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/nyregio Child Welfare Agency Is Accused Of Racial
2022-11-22   2022-11-22 n/nyc-acs-racism-abuse-neglect.html          Bias Even by Its Staff                     By Andy Newman                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/sports/s
                        occer/dutch-fans-stand-by-their-team-if-not- For Dutch Orange Fever Hasnt Exactly Taken
2022-11-22   2022-11-22 the-world-cup.html                           Hold                                       By Claire Moses                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/world/a Outbreaks Test Chinas Efforts to Limit Cost
2022-11-22   2022-11-22 sia/china-zero-covid.html                    of Zero Covid                              By Keith Bradsher                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/world/a Beijing Is Fixing Its Foul Air Why Cant New By Suhasini Raj Matt Stevens John
2022-11-22   2022-11-22 sia/india-china-air-pollution.html           Delhi                                      Yoon and Keith Bradsher           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/15/arts/tele
2022-11-15   2022-11-23 vision/the-crown-republicanism.html          The Crown as Seen By AntiMonarchists       By Alex Marshall                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/busines Robots Are Here To Help Humans With          By John Yoon and Daisuke
2022-11-17   2022-11-23 s/south-korea-office-robots-naver.html       Office Chores                              Wakabayashi                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/dining/
                        canned-jellied-cranberry-sauce-                                                         By Ross Mantle and Christina
2022-11-17   2022-11-23 thanksgiving.html                            How Cranberry Sauce Gets Its Grooves       Morales                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/dining/t
2022-11-17   2022-11-23 he-menu-movie.html                           Fine Dining Served on a Skewer             By Julia Moskin                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/11/
2022-11-17   2022-11-23 17/climate/eu-energy-crisis-gas.html         Europes Energy Risks Go Beyond Gas         By Mira Rojanasakul               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/dining/t
2022-11-18   2022-11-23 hanksgiving-smoking-weed.html                A Meal Thats Made for Kicking Back         By Jackie Bryant                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/arts/tele Jason David Frank 49 a Power Rangers
2022-11-20   2022-11-23 vision/jason-david-frank-dead.html           Mainstay                                   By Vimal Patel                    TX 9-257-651   2023-01-03
                                                                                                                By Anna Betts Andrew Little
                        https://www.nytimes.com/2022/11/20/busines                                              Elizabeth Sander Alexandra
                        s/caesars-sports-betting-universities-       Universities Help Sportsbooks Sign Up      TremaynePengelly and Walt
2022-11-20   2022-11-23 colleges.html                                Young and Vulnerable                       Bogdanich                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/20/nyregio 36 Licenses Issued for New Yorks First
2022-11-20   2022-11-23 n/new-york-marijuana-license.html            Recreational Cannabis Stores               By Ashley Southall                TX 9-257-651   2023-01-03
                                                                                                                By Malachy Browne Stephen
                        https://www.nytimes.com/2022/11/20/world/e Videos Offer a Rare Glimpse Into One         Hiltner Chevaz ClarkeWilliams and
2022-11-20   2022-11-23 urope/russian-soldiers-shot-ukraine.html     Gruesome Moment                            Taylor Turner                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/arts/mu
                        sic/taylor-swift-midnights-billboard-
2022-11-21   2022-11-23 chart.html                                   Taylor Swift Reclaims Top Spot             By Ben Sisario                    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/21/books/j
2022-11-21   2022-11-23 ason-mcbride-kathy-acker-eat-your-mind.html Drawn to the Margins and Hard to Pin Down By Dwight Garner                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/21/dining/t
2022-11-21   2022-11-23 hankgiving-cruise.html                      Holiday At Sea Satisfies A Craving        By Priya Krishna                  TX 9-257-651     2023-01-03



                                                                               Page 4537 of 5793
                        https://www.nytimes.com/2022/11/21/nyregio How a Manhattan Congresswomans Ticket to
2022-11-21   2022-11-23 n/carolyn-maloney-met-gala.html            the Met Gala Led to an Ethics Investigation By Nicholas Fandos               TX 9-257-651       2023-01-03
                        https://www.nytimes.com/2022/11/21/nyregio Despite Funding Fights and Growth Cap
2022-11-21   2022-11-23 n/nyc-charter-schools.html                 Charter Schools Boom in New York City       By Troy Closson                  TX 9-257-651       2023-01-03
                        https://www.nytimes.com/2022/11/21/opinion
2022-11-21   2022-11-23 /thanksgiving-gratitude-turmoil.html       How to Give Thanks in a MessedUp World By Margaret Renkl                     TX 9-257-651       2023-01-03
                        https://www.nytimes.com/2022/11/21/world/a Bao Tong Reformist Official Imprisoned
2022-11-21   2022-11-23 sia/bao-tong-dead.html                     After Tiananmen Is Dead at 90               By Chris Buckley and Vivian Wang TX 9-257-651       2023-01-03

                        https://www.nytimes.com/2022/11/22/arts/des A Paintings Sale Casts Light on a Tragic
2022-11-22   2022-11-23 ign/bronzino-portrait-ilse-hesselberger.html Story                                       By Colin Moynihan                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/arts/des
2022-11-22   2022-11-23 ign/edward-hopper-whitney-museum.html        The Metropolis Reimagined                   By Karen Rosenberg                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/arts/des
                        ign/new-york-botanical-garden-ebony-
2022-11-22   2022-11-23 patterson.html                               Botanical Garden And Artist Team Up         By Sarah Bahr                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/arts/tele
2022-11-22   2022-11-23 vision/wednesday-review.html                 Spooky Kooky And On the Case                By Mike Hale                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/busines                                               By Peter Eavis and Isabella
2022-11-22   2022-11-23 s/elon-musk-tesla-board-twitter.html         Tesla Boards Ties to Musk Vex Experts       Simonetti                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/busines Substantial FTX Assets Said to Be Stolen or
2022-11-22   2022-11-23 s/ftx-bankruptcy-sam-bankman-fried.html      Missing                                     By David YaffeBellany              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/busines It Was Relentless Inside a Crypto Exchanges   By Kenneth P Vogel Emily Flitter
2022-11-22   2022-11-23 s/ftx-sam-bankman-fried-influence.html       Bid for Influence                           and David YaffeBellany             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/busines Iger Returns to a Disney Thats Taken a Dark
2022-11-22   2022-11-23 s/media/disney-bob-iger.html                 Turn                                        By Brooks Barnes                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/busines Ukraine War Puts Drag on Global Growth
2022-11-22   2022-11-23 s/oecd-global-economy-slowdown.html          Report Says                                 By Liz Alderman                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/22/busines Ukraines Allies Prepare to Impose Cap on      By Matina StevisGridneff and Alan
2022-11-22   2022-11-23 s/russia-oil-price-cap.html                  Price of Oil Shipped From Russia            Rappeport                         TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/22/busines Which Stores Will Be Open For
2022-11-22   2022-11-23 s/stores-open-thanksgiving-black-friday.html Thanksgiving Shopping                    By Lora Kelley                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/busines
2022-11-22   2022-11-23 s/trump-truth-social-twitter-spac.html       Trump Media Gets Extension For SPAC Deal By Matthew Goldstein                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/busines                                            By Stacy Cowley and Zolan
2022-11-22   2022-11-23 s/white-house-student-loan-payments.html     Biden Extends Pause On Student Loan Debt KannoYoungs                           TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/22/dining/l
2022-11-22   2022-11-23 eftover-thanksgiving-turkey-soup-recipes.html Left Over but Far From Forgotten           By Melissa Clark                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/dining/ Jupiter From the King Team Opens in
2022-11-22   2022-11-23 nyc-restaurant-news.html                      Rockefeller Center                         By Florence Fabricant              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/dining/t
2022-11-22   2022-11-23 he-tin-building-restaurant-list.html          The Tin Building MustEat List              By Pete Wells                      TX 9-257-651   2023-01-03



                                                                                Page 4538 of 5793
                        https://www.nytimes.com/2022/11/22/dining/t
                        in-building-food-market-hall-restaurants-
2022-11-22   2022-11-23 review.html                                 A Sense of Taste Will Guide You             By Pete Wells                    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/22/dining/
2022-11-22   2022-11-23 where-to-eat-nyc-thanksgiving-weekend.html Thankfully a Chance to Get a Table           By Nikita Richardson             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/movies/
                        all-the-beauty-and-the-bloodshed-review-nan-
2022-11-22   2022-11-23 goldin.html                                  Art Addiction and Activism                 By Manohla Dargis                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/movies/
2022-11-22   2022-11-23 nanny-review-nikyatu-jusu.html               When a Job Starts to Swallow a Life        By Manohla Dargis                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/nyregio                                              By Emma G Fitzsimmons and
2022-11-22   2022-11-23 n/innovation-queens-nyc-housing.html         Queens Housing Project Approved            Mihir Zaveri                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/nyregio
                        n/man-charged-breaking-windows-hells-        Man Charged Over Attacks On a Gay Bar In   By Liam Stack and Chelsia Rose
2022-11-22   2022-11-23 kitchen.html                                 Manhattan                                  Marcius                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/sports/s Two Women Have Been Croatias One
2022-11-22   2022-11-23 occer/croatia-world-cup.html                 Constant                                   By Tariq Panja                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/sports/s
                        occer/denmark-vs-tunisia-score-world-        Defense Helps Tunisia In Draw With
2022-11-22   2022-11-23 cup.html                                     Denmark                                    By Victor Mather                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/sports/s
2022-11-22   2022-11-23 occer/england-beer-world-cup.html            Parched Fans Revel In a Desert Oasis       By Sarah Lyall                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/sports/s On Fox Sports Viewers Get a Tournament
2022-11-22   2022-11-23 occer/fox-sports-world-cup.html              Neatly Scrubbed of Controversy             By Kevin Draper                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/sports/s France Sputters at First Then Rolls Past
2022-11-22   2022-11-23 occer/france-australia-final-score.html      Australia                                  By Kevin Draper                  TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/22/sports/s After Upset Mexico and Poland Miss a
2022-11-22   2022-11-23 occer/mexico-poland-group-c-world-cup.html Chance to Take Control                       By James Wagner                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/sports/s
2022-11-22   2022-11-23 occer/ronaldo-manchester-united.html        Ronaldo Is Cut Loose By Manchester United   By Ben Shpigel                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/technol Cost Cutting At Twitter Means Bills Go
2022-11-22   2022-11-23 ogy/elon-musk-twitter-cost-cutting.html     Unpaid                                      By Mike Isaac and Ryan Mac       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/theater/ A PunkRock Theatrical Cure For Toxic
2022-11-22   2022-11-23 the-patient-gloria-review.html              Therapy                                     By Maya Phillips                 TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/22/us/linds After Fierce Legal Fight Graham Lands in   By Richard Fausset and Danny
2022-11-22   2022-11-23 ey-graham-trump-atlanta-investigation.html Front Of Atlanta Grand Jury                 Hakim                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/us/polit                                            By Sharon LaFraniere and
2022-11-22   2022-11-23 ics/fauci-covid-winter-surge.html           Experts Expect Reduced Risk Of Covid Surge Benjamin Mueller                  TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/22/us/supr Justices Decide Against Trump On Tax
2022-11-22   2022-11-23 eme-court-trump-taxes-house-democrats.html Returns                                      By Charlie Savage                TX 9-257-651   2023-01-03




                                                                               Page 4539 of 5793
                        https://www.nytimes.com/2022/11/22/us/title-
2022-11-22   2022-11-23 42-border-policy-republican-states.html      States Seek to Continue Expulsions at Border By Miriam Jordan                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/us/trum Court Is Likely to End Special Masters
2022-11-22   2022-11-23 p-special-master-review-mar-a-lago.html      Review of Files                              By Charlie Savage and Alan Feuer TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/world/a South Africas Leader Wins Key ANC
2022-11-22   2022-11-23 frica/south-africa-anc-ramaphosa.html        Political Battle Despite Scandal             By John Eligon                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/world/a Fire at Factory in China Leaves at Least 38    By Chang Che and Amy Chang
2022-11-22   2022-11-23 sia/henan-china-factory-fire.html            Dead                                         Chien                              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/world/a Rescuers Race Clock After Deadly               By Dera Menra Sijabat and Victoria
2022-11-22   2022-11-23 sia/indonesia-earthquake-landslide.html      Earthquake Shakes Indonesia                  Kim                                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/world/a
2022-11-22   2022-11-23 sia/kamala-harris-philippines.html           Visiting Philippines Harris Slams China      By Jason Gutierrez                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/world/e In Slumping UK Feelings Of Bregret Toward
2022-11-22   2022-11-23 urope/uk-brexit-regret.html                  Brexit                                       By Mark Landler                    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/22/world/e Revered Kyiv Monastery Is Raided on    By Marc Santora and Ivan
2022-11-22   2022-11-23 urope/ukraine-russia-monastery-caves.html Suspicion of Harboring Saboteurs        Nechepurenko                             TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/world/e                                        By Marc Santora and Andrew E
2022-11-22   2022-11-23 urope/ukraine-russia-state-of-war.html     So Much Won So Much War To Go for Kyiv Kramer                                   TX 9-257-651     2023-01-03

                        https://www.nytimes.com/live/2022/11/22/spo
                        rts/world-cup-scores/bettors-who-wagered-
2022-11-22   2022-11-23 100-on-saudi-arabia-likely-won-1800-or-more Bet of 100 On Saudis Had Payoff Of 1800 By Victor Mather                       TX 9-257-651     2023-01-03
                        https://www.nytimes.com/live/2022/11/22/wo
                        rld/russia-ukraine-war-news/khersons-
                        museums-now-display-shattered-cases-and-
2022-11-22   2022-11-23 missing-treasures                           Russia Leaves Art Legacies In Ruins Too    By Lynsey Addario                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/arts/bo Dylan Gets Tangled Up in Signature Snafu as
2022-11-23   2022-11-23 b-dylan-fake-signature.html                 Machine Autographs 900 Books               By Remy Tumin                       TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/nyregio Hochul Signs Bill Limiting Where Crypto     By Luis FerrSadurn and Grace
2022-11-23   2022-11-23 n/crypto-mining-ban-hochul.html             Can Be Mined                               Ashford                             TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/22/opinion
2022-11-23   2022-11-23 /club-q-colorado-springs-james-dobson.html This Holiday Im Going to a Gay Bar        By Lauren Hough                       TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/opinion
2022-11-23   2022-11-23 /democracy-donald-trump.html                5 Americans Words to Live By             By Thomas L Friedman                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/opinion
2022-11-23   2022-11-23 /will-mexico-be-the-next-venezuela.html     Will Mexico Be the Next Venezuela        By Bret Stephens                      TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/sports/s Facing Cup Contender Saudis Shock the
2022-11-23   2022-11-23 occer/saudi-arabia-argentina.html           World                                    By Rory Smith                         TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/us/colo Shooting Leaves City Questioning How Much By Dave Philipps Elizabeth Dias
2022-11-23   2022-11-23 rado-springs-community-club-q.html          Has Changed                              and Noel Black                        TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/us/kevi At Border McCarthy Renews Threat to
2022-11-23   2022-11-23 n-mccarthy-impeach-mayorkas.html            Impeach Mayorkas                         By Luke Broadwater                    TX 9-257-651     2023-01-03




                                                                                 Page 4540 of 5793
                        https://www.nytimes.com/2022/11/22/us/polit
2022-11-23   2022-11-23 ics/alex-jones-texas-verdict.html           Judge Upholds Verdict for Jones                By Elizabeth Williamson      TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/23/insider/
2022-11-23   2022-11-23 in-a-brutal-jungle-small-acts-of-kindness.html In a Brutal Jungle Small Acts of Kindness     By Julie Turkewitz         TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/23/sports/f Why the Rams Super Bowl Hangover Is
2022-11-23   2022-11-23 ootball/los-angeles-rams-record.html           Likely to Linger                              By Mike Tanier             TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/06/27/travel/b
2022-06-27   2022-11-24 irdhouses-kutch-district-india.html            Documenting Distinctive Birdhouses In India By Nipun Prabhakar           TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/09/28/busines EighteenWheelers Without a Driver Not
2022-09-28   2022-11-24 s/driverless-trucks-highways.html              Anytime Soon                                  By Cade Metz               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/17/fashion An Industry Explores a Radical Anticapitalist
2022-11-17   2022-11-24 /degrowth.html                                 Concept                                       By Elizabeth Paton         TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/19/books/r
                        eview/g-man-j-edgar-hoover-beverly-
2022-11-19   2022-11-24 gage.html                                      Fidelity Bravery Integrity and Black Bag Jobs By Jennifer Szalai         TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/19/style/tik Using Algospeak to Get Around TikTok
2022-11-19   2022-11-24 tok-avoid-moderators-words.html                Rules                                         By Melina Delkic           TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/20/opinion Even Your Political Enemies Deserve a Slice
2022-11-20   2022-11-24 /gratitude-political-enemies-polarization.html of Pie                                  By Tish Harrison Warren          TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/21/movies/
2022-11-21   2022-11-24 glass-onion-a-knives-out-mystery-review.html A Most Murderous Game                      By AO Scott                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/movies/ A Mission to Mars Propelled by Earthling
2022-11-21   2022-11-24 good-night-oppy-mars-rover-program.html      Passion                                    By Brandon Yu                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/style/du
2022-11-21   2022-11-24 mpster-divers-shame-stores-tiktok.html       Going All In Against Wastefulness          By Steven Kurutz                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/style/re
2022-11-21   2022-11-24 alreal-authentication-luxury-vintage.html    His Genuine Eye for Detail Comes in Handy By Marisa Meltzer                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/busines Robert D Kern 96 Engineer Whose Idea For
2022-11-22   2022-11-24 s/robert-kern-dead.html                      Portable Generators Produced Riches        By Sam Roberts                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/nyregio Court Allows School Cuts In New York To
2022-11-22   2022-11-24 n/new-york-city-school-budget-cuts.html      Remain                                     By Hurubie Meko                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/us/jails- For a Growing Number of Americans Jail Has
2022-11-22   2022-11-24 deaths.html                                  Become a Death Sentence                    By Shaila Dewan                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/world/a Hebe de Bonafini 93 Who Led Mothers of the
2022-11-22   2022-11-24 mericas/hebe-de-bonafini-dead.html           Disappeared Dies                           By Ana Lankes                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/arts/des Fossil Hunting Is Pitting Science Against
2022-11-23   2022-11-24 ign/dinosaur-bones-market-auction.html       Profit                                     By Julia Jacobs and Zachary Small TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/arts/des
2022-11-23   2022-11-24 ign/nick-cave-exhibition-guggenheim.html     Brutality Bedazzled                        By Max Lakin                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/arts/mu
2022-11-23   2022-11-24 sic/the-hours-opera-review.html              Emotions Soar as Time Slips By             By Zachary Woolfe                 TX 9-257-651   2023-01-03




                                                                                  Page 4541 of 5793
                        https://www.nytimes.com/2022/11/23/arts/tele
2022-11-23   2022-11-24 vision/jenna-ortega-wednesday-netflix.html Happily Between Tuesday and Thursday            By Sarah Bahr                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/busines
                        s/economy/federal-reserve-november-          Fed Officials Discussed Slowing Interest Rate
2022-11-23   2022-11-24 minutes.html                                 Increases at Their Last Meeting               By Jeanna Smialek                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/busines
                        s/economy/us-sugar-imports-forced-           US Blocks Sugar Imports From Dominican
2022-11-23   2022-11-24 labor.html                                   Company                                       By Ana Swanson                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/busines Collapse of FTX Puts Focus On Obscure           By David YaffeBellany Lora Kelley
2022-11-23   2022-11-24 s/ftx-caroline-ellison-sbf.html              Crypto Trader                                 and Cade Metz                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/busines
2022-11-23   2022-11-24 s/ftx-cryptocurrency-bank.html               Bank Stake By Exchange Draws Scrutiny         By Stephen Gandel                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/busines                                                 By Roe DAngelo Zachary Bickel
2022-11-23   2022-11-24 s/inflation-thanksgiving.html                Navigating a More Costly Thanksgiving         and Cari Vander Yacht             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/busines NFLs Big Streaming Deal Is Heading Into         By Tripp Mickle Benjamin Mullin
2022-11-23   2022-11-24 s/nfl-sunday-ticket-streaming.html           Overtime                                      and Kevin Draper                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/movies/
2022-11-23   2022-11-24 the-fabelmans-steven-spielberg-facts.html    How Much of The Fabelmans Is Real             By Sarah Bahr                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/nyregio Man Dies After Beating by Group of Riders
2022-11-23   2022-11-24 n/atv-attack-harlem-nyc.html                 on Harlem Street                              By Hurubie Meko and Liset Cruz TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/23/nyregio Cannabis Shops Thriving in City Licensed or
2022-11-23   2022-11-24 n/illegal-weed-dispensaries-shops-nyc.html Not                                             By Ashley Southall                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/23/sports/f Madden Tribute Added to Menu For the
2022-11-23   2022-11-24 ootball/nfl-thanksgiving-games-schedule.html Holiday He Made Special                      By Emmanuel Morgan               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/23/sports/s Olympic Champ Is Ready to Prove Shes in It
2022-11-23   2022-11-24 kiing/jessie-diggins-cross-country-ski.html  for the Longer Haul                          By Matthew Futterman             TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/23/sports/s
                        occer/german-player-protest-armbands-world- Yellow Card for Germany After Silent Protest
2022-11-23   2022-11-24 cup.html                                     for Social Justice                           By Tariq Panja                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/23/sports/s
                        occer/germany-japan-upset-world-cup-
2022-11-23   2022-11-24 score.html                                   Japan Adds to the Upset Intrigue             By Rory Smith                    TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/23/sports/s
                        occer/qatar-world-cup-shipping-              What Does 200 a Night Buy for
2022-11-23   2022-11-24 containers.html                              Accommodations                               By John Branch and Erin Schaff   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/23/sports/s
2022-11-23   2022-11-24 occer/wales-world-cup-spain.html             Wales Fans Wanted a World Cup Experience By Jack Williams and Laura Len       TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/23/sports/s Born in One Country But Recruited to
2022-11-23   2022-11-24 occer/world-cup-ghana.html                   Another                                      By Rory Smith                    TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/23/style/gu Guccis Top Designer Departs in Latest         By Elizabeth Paton and Vanessa
2022-11-23   2022-11-24 cci-designer-alessandro-michele.html         ShakeUp in Luxury Brands                     Friedman                         TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/23/style/ny
2022-11-23   2022-11-24 c-club-jane-hotel.html                       Time for One Last Party at the Jane Ballroom By Christopher Barnard           TX 9-257-651     2023-01-03



                                                                                 Page 4542 of 5793
                        https://www.nytimes.com/2022/11/23/technol
2022-11-23   2022-11-24 ogy/personaltech/guide-to-ebooks.html      Making the Most of EBooks                     By J D Biersdorfer               TX 9-257-651   2023-01-03
                                                                                                                 By Jack Healy Simon Romero
                                                                                                                 Mitch Smith Nicholas
                        https://www.nytimes.com/2022/11/23/us/colo Colorado Law Passed in 2019 Could Have        BogelBurroughs and Adam
2022-11-23   2022-11-24 rado-shooting-red-flag-law.html            Prevented Deadly Shooting                     Goldman                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/us/colo In Colorado a Bruised Suspect Slumps And      By Jack Healy Shawn Hubler Vik
2022-11-23   2022-11-24 rado-shooting-suspect-aldrich.html         Slurs Words During Court Hearing              Jolly and Edgar Sandoval         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/us/geor
2022-11-23   2022-11-24 gia-abortion-ban.html                      Abortion Ban Is Reinstated In Georgia         By Ava Sasani                    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/23/us/polit
2022-11-23   2022-11-24 ics/herschel-walker-taxes-georgia-texas.html Walker Receives Texas Tax Break           By Maya King                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/us/polit                                            By Maggie Haberman and Michael
2022-11-23   2022-11-24 ics/mike-pence-jan-6.html                    Justice Dept Seeking Pence For Jan 6 Talk S Schmidt                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/us/texa                                             By Mitch Smith and Callaghan
2022-11-23   2022-11-24 s-turkey.html                                For Mascots One Sticks Out As a Rare Bird OHare                              TX 9-257-651   2023-01-03
                                                                                                               By Chris Cameron Jenny Gross
                                                                                                               Eliza Fawcett Nicholas
                        https://www.nytimes.com/2022/11/23/us/wal Relentless Toll As Guman Kills Six At a      BogelBurroughs and J David
2022-11-23   2022-11-24 mart-shooting.html                          Walmart                                    Goodman                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/well/liv                                            By Alisha Haridasani Gupta and
2022-11-23   2022-11-24 e/gratitude-stories.html                    From Readers Tiny Stories Of Gratitude     Daniel Salmieri                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/world/a Indonesias Volunteers Lend Hands and Hearts By Dera Menra Sijabat and Victoria
2022-11-23   2022-11-24 sia/indonesia-earthquake-rescue.html        in Disaster After Disaster                 Kim                                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/world/e Britain Acknowledges Signs of Race
2022-11-23   2022-11-24 urope/uk-race-joint-enterprise.html         Disparity In a Prosecutorial Tactic        By Jane Bradley                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/world/e Scotland Cannot Vote On Secession Court
2022-11-23   2022-11-24 urope/uk-scotland-independence.html         Rules                                      By Mark Landler                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/world/e
                        urope/ukraine-germany-poland-patriot-       Patriot Missiles for Poland May Derail
2022-11-23   2022-11-24 missiles.html                               NATOs HandsOff Stance on the War           By Andrew Higgins                  TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/23/world/ On a Disputed Border Every Shepherd Is Seen
2022-11-23   2022-11-24 middleeast/israel-border-shepherds-spies.html as a Potential Spy                      By Raja Abdulrahim                  TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/23/world/ Bombs at 2 Bus Stops in Jerusalem Kill One By Patrick Kingsley and Isabel
2022-11-23   2022-11-24 middleeast/israel-jerusalem-explosions.html and Injure 18                            Kershner                             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/live/2022/11/23/spo
                        rts/world-cup-scores/canada-vs-belgium-
                        world-cup-debutante-canada-has-some-        Belgium Does Enough To Defeat Plucky
2022-11-23   2022-11-24 momentum                                    Canada                                   By James Wagner                      TX 9-257-651   2023-01-03




                                                                                 Page 4543 of 5793
                        https://www.nytimes.com/live/2022/11/23/spo
                        rts/world-cup-scores/how-to-watch-croatia-vs-
                        morocco-croatias-mesmerizing-midfield-is-
2022-11-23   2022-11-24 worth-the-watch                               Croatia and Morocco Play to a 00 Draw       By Daniel Victor                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/live/2022/11/23/spo
                        rts/world-cup-scores/spain-vs-costa-rica-will-
2022-11-23   2022-11-24 the-upsets-in-group-e-continue-follow-live     Taking No Chances Spain Routs Costa Rica   By Rory Smith                   TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/23/us/polit Murkowski Beats Rival Trump Backed in
2022-11-24   2022-11-24 ics/lisa-murkowski-alaska-senate-race.html Alaska                                      By Emily Cochrane                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/us/polit Alaska Native Lawmaker Holds On to Seat in
2022-11-24   2022-11-24 ics/mary-peltola-alaska-house-race.html     House                                      By Emily Cochrane                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/world/e Russian Missile Barrage Cuts Power and      By Marc Santora and Thomas
2022-11-24   2022-11-24 urope/russia-ukraine-missiles-power.html    Water Across Ukraine                       GibbonsNeff                        TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/24/insider/
2022-11-24   2022-11-24 a-food-and-cooking-editor-sets-the-menu.html A Food and Cooking Editor Sets the Menu      By Emmett Lindner               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/style/co
2022-11-24   2022-11-24 zy-holiday-design-tips.html                  They Wrote the Book on an Inviting Home      By Anna Grace Lee               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/style/la
2022-11-24   2022-11-24 ura-brown-instyle-fashion-magazines.html     Fewer Free Handbags More Freedom             By Jessica Testa                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/04/travel/r Meet the Woman Planning An Underwater
2022-11-04   2022-11-25 eef-line-miami-beach.html                    High Line To Help Protect Marine Life        By Nora Walsh                  TX 9-257-651    2023-01-03
                                                                                                                  By Alissa J Rubin Ben Hubbard
                                                                                                                  Josh Holder Noah Throop Emily
                                                                                                                  Rhyne Jeremy White James Glanz
                        https://www.nytimes.com/interactive/2022/11/                                              Josh Williams Sarah Almukhtar
2022-11-18   2022-11-25 18/world/middleeast/extreme-heat.html        Extreme Heat Will Change Us                  and Rumsey Taylor              TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/21/busines
2022-11-21   2022-11-25 s/beyond-meat-industry.html                  Beyond Meat Is Struggling As Sales Cool      By Julie Creswell               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/busines                                                By Alexandra Stevenson and Zixu
2022-11-22   2022-11-25 s/china-influencers-seniors.html             They Rap They Sashay Theyre Grandparents     Wang                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/movies/
                        angela-bassett-black-panther-wakanda-
2022-11-22   2022-11-25 forever.html                                 Wakandas Queen More Power to Her             By Dave Itzkoff                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/movies/
2022-11-22   2022-11-25 leonor-will-never-die-review.html            Leonor Will Never Die                        By Jeannette Catsoulis          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/movies/
2022-11-22   2022-11-25 strange-world-review.html                    Strange World                                By Beatrice Loayza              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/nyregio Coney Island Has Rides A Beach and Hot         By Dana Rubinstein and Nicole
2022-11-22   2022-11-25 n/coney-island-casino.html                   Dogs Does It Need a Casino                   Hong                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/us/polit
2022-11-22   2022-11-25 ics/covid-misinformation-gab.html            Covid Legacy Online Spread Of Health Lies    By Sheryl Gay Stolberg          TX 9-257-651   2023-01-03




                                                                                 Page 4544 of 5793
                        https://www.nytimes.com/2022/11/23/arts/des
                        ign/black-is-beautiful-brathwaite-historical-
2022-11-23   2022-11-25 society.html                                  A StandardBearer for Black Beauty          By Seph Rodney               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/arts/mu
2022-11-23   2022-11-25 sic/pablo-milanes-legacy.html                 Conflicted Child Of the Revolution         By Ed Morales                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/busines
2022-11-23   2022-11-25 s/detroit-concours-delegance-hagerty.html     A Classic Show Right at Home in Motor City By Brett Berk                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/busines                                               By Jordyn Holman and Karen
2022-11-23   2022-11-25 s/holiday-shopping.html                       A Holiday Forecast Thats Fuzzy at Best     Weise                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/busines
                        s/media/netflix-glass-onion-matilda-theater- With 2 Films In Theaters Netflix Tunes Its
2022-11-23   2022-11-25 release.html                                  Strategy                                   By Nicole Sperling           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/climate Movement That Insists Best Thing for Us to
2022-11-23   2022-11-25 /voluntary-human-extinction.html              Do Is to Slowly Go Extinct                 By Cara Buckley              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/movies/
2022-11-23   2022-11-25 devotion-review.html                          An Airman at War on Many Fronts            By Amy Nicholson             TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/23/movies/
2022-11-23   2022-11-25 fantasy-football-review-controlled-chaos.html Fantasy Football                         By Brandon Yu                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/movies/
2022-11-23   2022-11-25 sound-of-christmas-review.html                The Sound Of Christmas                   By Concepcin de Len            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/movies/
2022-11-23   2022-11-25 the-corridors-of-power-review.html            The Corridors of Power                   By Nicolas Rapold              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/movies/
2022-11-23   2022-11-25 the-son-review.html                           This Father Doesnt Know Best             By Natalia Winkelman           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/movies/
2022-11-23   2022-11-25 the-swimmers-review.html                      The Swimmers                             By Ben Kenigsberg              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/movies/
2022-11-23   2022-11-25 white-noise-review.html                       Toxic Events Airborne and Familial       By AO Scott                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/nyregio Harriet Bograd 79 Guide and Mentor To
2022-11-23   2022-11-25 n/harriet-bograd-dead.html                    Jewish Communities Around World          By Joseph Berger               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/nyregio
                        n/ny-man-antisemitic-attacks-hate-
2022-11-23   2022-11-25 crimes.html                                   Man Pleads Guilty in Antisemitic Attacks By Benjamin Weiser             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/opinion Elon the Mosh Pit Called It Wants Hard Core
2022-11-23   2022-11-25 /elon-musk-extremely-hardcore.html            Back                                     By Jessica Bennett             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/sports/b Pundits Scoffed at the Jazz The Jazz Are
2022-11-23   2022-11-25 asketball/lauri-markkanen-utah-jazz.html      Scoffing Back                            By Tania Ganguli               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/style/ba
2022-11-23   2022-11-25 sque-country-bayonne-shopping.html            The sleeping beauty of Basque Country    By Elaine Sciolino             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/style/bo
2022-11-23   2022-11-25 gota-colombia-shopping-brands.html            A showcase for Colombian designers       By Ray Mark Rinaldi            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/style/ho
2022-11-23   2022-11-25 ng-kong-handmade-artisans.html                Handmade in Hong Kong                    By Tiffany May                 TX 9-257-651   2023-01-03




                                                                               Page 4545 of 5793
                        https://www.nytimes.com/2022/11/23/style/ne
                        w-zealand-ponsonby-karangahape-
2022-11-23   2022-11-25 shopping.html                               Uncovering a citys shopping treasures       By Natasha Frost                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/style/w In Warsaw mining a rich vein of Polish
2022-11-23   2022-11-25 arsaw-poland-shopping.html                  creativity                                  By Ginanne Brownell              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/us/phila Gunfire Hurts Four Students Near School In
2022-11-23   2022-11-25 delphia-school-shooting.html                Philadelphia                                By Amanda Holpuch                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/opinion
2022-11-24   2022-11-25 /russia-ukraine-children.html               Russia Traffics in Ukrainian Children       By Nicholas Kristof              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/us/polit
2022-11-24   2022-11-25 ics/sarah-palin-alaska-house-race.html      Forces Palin Unleashed Have Left Her Behind By Jeremy W Peters               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/arts/dan
2022-11-24   2022-11-25 ce/the-nutcracker-young-performers.html     Tiny Dancers Brimming With Joy              By Gia Kourlas and Erik Tanner   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/arts/des
2022-11-24   2022-11-25 ign/joan-mitchell-david-zwirner.html        Deep Into the Blues Greens and Yellows      By Roberta Smith                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/arts/mu Pablo Milans 79 a Troubadour of the Cuban
2022-11-24   2022-11-25 sic/pablo-milanes-dead.html                 Revolution Is Dead                          By Clay Risen                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/arts/mu
2022-11-24   2022-11-25 sic/review-new-york-philharmonic.html       At the Philharmonic a Holiday Bounty        By Zachary Woolfe                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/24/arts/tele
2022-11-24   2022-11-25 vision/wednesday-netflix-echo-3-apple.html This Weekend I Have                          By Margaret Lyons               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/24/movies/
2022-11-24   2022-11-25 the-noel-diary-review.html                   The Noel Diary                             By Lisa Kennedy                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/24/nyregio Thanksgiving Rite of Balloons and Crowds
2022-11-24   2022-11-25 n/macys-parade-thanksgiving.html             Still Bobs Along                           By Sarah Maslin Nir             TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/24/nyregio
                        n/shootings-virginia-walmart-club-q-         Carnage Leaves Empty Chairs at
2022-11-24   2022-11-25 thanksgiving.html                            Thanksgiving                               By Michael Wilson               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/24/opinion
2022-11-24   2022-11-25 /iran-protests-world-cup.html                Irans Football Team Has Already Won        By Golnar Nikpour               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/24/opinion
2022-11-24   2022-11-25 /middle-age-music-taste.html                 Confessions of a MiddleAged Fanboy         By David Brooks                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/24/sports/c A Simple Ingredient to NC States
2022-11-24   2022-11-25 ross-country-nc-state.html                   CrossCountry Title Fun                     By Talya Minsberg               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/24/sports/s A Breathtaking Goal Announces Brazil as the
2022-11-24   2022-11-25 occer/brazil-richarlison-goal.html           Favorite                                   By Rory Smith                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/24/sports/s American Dreams Of Cup Success Honed in
2022-11-24   2022-11-25 occer/world-cup-usmnt-wales.html             England                                    By Rory Smith                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/24/us/polit
                        ics/iran-protests-ukraine-nuclear-
2022-11-24   2022-11-25 enrichment.html                              USIran Ties Enter New Era Of Antipathy     By David E Sanger               TX 9-257-651    2023-01-03
                                                                                                                By Chris Cameron Aishvarya Kavi
                        https://www.nytimes.com/2022/11/24/us/wal Victims in Walmart Shooting Bonded on         Eliza Fawcett Ava Sasani and
2022-11-24   2022-11-25 mart-shooting-victims-bond.html              Overnight Shift                            Edgar Sandoval                  TX 9-257-651    2023-01-03



                                                                                Page 4546 of 5793
                        https://www.nytimes.com/2022/11/24/world/a In a Challenge to Beijing Unrest Over       By Amy Chang Chien Chang Che
2022-11-24   2022-11-25 sia/china-unrest-covid-lockdowns.html        ZeroCovid Lockdowns Spreads               John Liu and Paul Mozur            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/world/a After Waiting Decades Opposition Leader Is
2022-11-24   2022-11-25 sia/malaysia-elections-prime-minister.html   Malaysias Prime Minister                  By SuiLee Wee                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/world/a                                             By Salman Masood and Christina
2022-11-24   2022-11-25 sia/pakistan-military.html                   Commander Comes In At a Challenging Time Goldbaum                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/world/e An Ancient Tongue Heard Even in the
2022-11-24   2022-11-25 urope/isle-of-man-manx-language.html         Childrens Chatter                         By Megan Specia                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/world/e Surgeons Work in the Dark As Missiles       By Marc Santora Thomas
2022-11-24   2022-11-25 urope/russia-ukraine-missile-strikes.html    Batter Ukraine                            GibbonsNeff and Natalia Yermak     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/world/e Analysis Shows Civilians Were Hurt by
2022-11-24   2022-11-25 urope/ukraine-american-missile.html          USMade Missile That Missed Target         By John Ismay                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/world/e Ample Challenges Await New Human Rights
2022-11-24   2022-11-25 urope/volker-turk-un-human-rights.html       Head                                      By Nick CummingBruce               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/live/2022/11/24/spo
                        rts/portugal-ghana-score-world-cup/late-
                        drama-cant-drag-this-game-out-of-ronaldos- In a Game That Revolves Around Ronaldo
2022-11-24   2022-11-25 shadow                                       the End Makes Fans Heads Spin             By John Branch                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/live/2022/11/24/spo
                        rts/world-cup-scores/cameroon-vs-switzerland
                        embolo-scores-against-his-native-country-
2022-11-24   2022-11-25 follow-live                                  Another Scoring First For a Swiss Striker By Andrew Das                      TX 9-257-651   2023-01-03

                        https://www.nytimes.com/live/2022/11/24/spo
                        rts/world-cup-scores/south-korea-vs-uruguay- Deliberate Tactics but No Goals for Uruguay
2022-11-24   2022-11-25 koreas-injured-star-faces-uruguays-aging-ones and South Korea                             By Andrew Keh                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/live/2022/11/24/wo
                        rld/russia-ukraine-war-news/yandex-russia-                                                By Anatoly Kurmanaev and Oleg
2022-11-24   2022-11-25 war                                           Seeking Shield Against Russia Its Home Base Matsnev                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/busines As Rich Spend Spiraling Prices Challenge       By Jeanna Smialek and Tony
2022-11-25   2022-11-25 s/economy/economy-holiday-season.html         Poor                                        Luong                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/insider/
                        a-columnist-asking-why-around-the-
2022-11-25   2022-11-25 world.html                                    A Columnist Asking Why Around the World By John Otis                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/sports/s Oddsmakers Make Brazil An Unsurprising
2022-11-25   2022-11-25 occer/world-cup-betting.html                  Favorite                                    By Victor Mather                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/world/
2022-11-25   2022-11-25 middleeast/qatar-world-cup-criticism.html     Qataris View Criticism as Hypocrisy         By Vivian Nereim                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/10/12/busines Out of Pandemic Comes Rise of the
2022-10-12   2022-11-26 s/ebike-vanmoof-future-transportation.html BatteryPowered Bicycle as a Car Alternative By Adam Satariano                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/world/a Weed Is Legal in Thailand Will the Heady
2022-11-10   2022-11-26 sia/thailand-weed-cannabis-law.html          Times Last                                By Mike Ives                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/14/travel/a-
2022-11-14   2022-11-26 pizza-pilgrimage-campania.html               A Pilgrimage to the Birthplace of Pizza   By Laura Rysman                    TX 9-257-651   2023-01-03



                                                                                Page 4547 of 5793
                        https://www.nytimes.com/interactive/2022/11/
2022-11-17   2022-11-26 17/travel/things-to-do-mexico-city.html      36 Hours in Mexico City                    By Elisabeth Malkin                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/books/l
2022-11-19   2022-11-26 ove-and-rockets-hernandez-bros.html          Four Decades In As Punk as Ever            By Robert Ito                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/21/travel/
2022-11-21   2022-11-26 wild-turkeys-mates.html                      Wild Turkeys Looking for Love              By Anne Readel                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/busines Europe Having Problems Harnessing Wind
2022-11-22   2022-11-26 s/wind-power-europe.html                     Energy                                     By Stanley Reed                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/movies/
2022-11-22   2022-11-26 99-homes-paddleton-streaming-picks.html      A Film Makes LongDistance Connections      By Jason Bailey                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/opinion
2022-11-22   2022-11-26 /glaciers-alaska-climate-change.html         EndTimes Tourism in the Land of Glaciers   By Tom Kizzia                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/sports/s Canadas Rise Has Roots In Multicultural
2022-11-22   2022-11-26 occer/world-cup-canada.html                  Suburb                                     By James Wagner                 TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/23/health/ Early Surge in Illnesses Has Many            By Andrew Jacobs and Roni Caryn
2022-11-23   2022-11-26 drug-shortages-flu-holidays.html             Scrambling To Obtain Medicine              Rabin                           TX 9-257-651      2023-01-03
                        https://www.nytimes.com/2022/11/23/opinion Overconfident Regulators Caused the
2022-11-23   2022-11-26 /taylor-swift-ticketmaster-antitrust.html    Ticketmaster Mess                          By Binyamin Appelbaum              TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/23/sports/n Early Lore of MichiganOhio St Rivalry
2022-11-23   2022-11-26 caafootball/michigan-ohio-state-letters.html Discovered in Old Letters                    By Neal E Boudette               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/us/corte Missing Piece Of History For Mexico Heads
2022-11-23   2022-11-26 s-manuscript-mexico-boston.html              Home                                         By Remy Tumin                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/arts/tele
2022-11-24   2022-11-26 vision/thanksgiving-fall-shows.html          What to Watch on a Holiday Weekend           By Mike Hale                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/opinion
2022-11-24   2022-11-26 /thankful-libraries-books.html               Thankful for Libraries                       By Charles M Blow                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/arts/des Art Museums Are Struggling to Weed Out the
2022-11-24   2022-11-26 ign/climate-protests-museums.html            Vandals From the Visitors                    By Alex Marshall                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/theater/
2022-11-24   2022-11-26 the-rat-trap-review.html                     A Marriage Of Equals Doesnt Add Up           By Elisabeth Vincentelli         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/us/cecil Cecilia Marshall 94 Civil Rights Activist And
2022-11-24   2022-11-26 ia-marshall-dead.html                        Widow of a Supreme Court Justice             By Sam Roberts                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/world/a
                        sia/indonesia-earthquake-victims-            Indonesia Quake Took Heavy Toll on Youths By Dera Menra Sijabat Mike Ives
2022-11-24   2022-11-26 children.html                                at Unsound Homes and Schools                 Seth Mydans and Ulet Ifansasti   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/arts/des
                        ign/puerto-rico-artists-maria-whitney-
2022-11-25   2022-11-26 museum.html                                  No Calm Before or After This Storm           By Holland Cotter                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/busines
2022-11-25   2022-11-26 s/black-friday-shopping.html                 A Black Friday Full of Deals And Wariness By Jordyn Holman                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/busines China Finally Attempts to Solve a Housing
2022-11-25   2022-11-26 s/china-property-developers.html             Crisis                                       By Keith Bradsher                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/busines EU Fails to Agree on Policy To Limit Russian By Matina StevisGridneff Jim
2022-11-25   2022-11-26 s/russia-oil-revenue-ukraine.html            Oil Revenue                                  Tankersley and Alan Rappeport    TX 9-257-651   2023-01-03



                                                                                Page 4548 of 5793
                        https://www.nytimes.com/2022/11/25/movies/
                        black-panther-wakanda-forever-
2022-11-25   2022-11-26 colonization.html                           Panther Has Plenty Of Depth                By Maya Phillips                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/25/opinion
2022-11-25   2022-11-26 /leukemia-bone-marrow-transplant.html       How to Save a Life                         By Delia Ephron                 TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/25/sports/s A Gruesome Leg Injury and a Race Back to
2022-11-25   2022-11-26 kiing/nina-obrien-skiing-injury.html        Elite Form                                 By Matthew Futterman            TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/25/sports/s
                        occer/us-soccer-england-tie-draw-world-     In Global Soccers Spotlight US Men Show
2022-11-25   2022-11-26 cup.html                                    Off Their Progress                         By Andrew Keh                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/25/sports/s
2022-11-25   2022-11-26 occer/world-cup-england.html                England Feels Pangs of Doubt After US Draw By Rory Smith                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/25/sports/s Mexico Dreams of Ending Its Long Streak of
2022-11-25   2022-11-26 occer/world-cup-mexico.html                 SecondRound Knockouts                      By James Wagner                 TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/25/theater/
2022-11-25   2022-11-26 agatha-christie-the-mousetrap-broadway.html Mousetrap Set to Come To Broadway           By Alex Marshall                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/us/john- John Y Brown Jr Fried Chicken Mogul and
2022-11-25   2022-11-26 y-brown-jr-dead.html                        Governor Is Dead at 88                      By Sam Roberts                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/us/polit
2022-11-25   2022-11-26 ics/child-tax-credit.html                   Uphill Battle For Reviving Child Credit     By Jason DeParle                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/us/polit In Georgia Runoff a Race To Get Voters Back
2022-11-25   2022-11-26 ics/georgia-senate-runoff-turnout.html      to Polls                                    By Maya King                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/us/polit New House Leaders As the Republicans        By Catie Edmondson Luke
2022-11-25   2022-11-26 ics/house-republicans-congress.html         Prepare to Take Over                        Broadwater and Emily Cochrane    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/us/polit Invited Over to Trumps an Outcast Rapper    By Maggie Haberman and Alan
2022-11-25   2022-11-26 ics/trump-nick-fuentes-dinner.html          Brings Along a White Supremacist            Feuer                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/us/ukra Pentagon Rushes to Repair Artillery Worn     By John Ismay and Thomas
2022-11-25   2022-11-26 ine-artillery-breakdown.html                Out by Months of Heavy Use                  GibbonsNeff                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/us/wal Gunman Bought Pistol Hours Before
2022-11-25   2022-11-26 mart-shooting-death-note.html               Massacre And Left Behind a Note             By J David Goodman               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/world/a As Venezuelan Antagonists Look to Negotiate
2022-11-25   2022-11-26 mericas/venezuela-maduro-talks.html         the US Softens Its Position                 By Julie Turkewitz               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/world/a Fire Kills 10 Weakening Chinas Faith In      By Chang Che and Amy Chang
2022-11-25   2022-11-26 sia/china-fire.html                         Lockdown                                    Chien                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/world/a Lawyer Faces 6 Months in Prison in Fiji For
2022-11-25   2022-11-26 sia/fiji-civil-liberties.html               Pointing Out a Judges Minor Typo            By Natasha Frost                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/world/a Gangnam Style Lifted KPop But It Still
2022-11-25   2022-11-26 sia/psy-gangnam-style.html                  Haunts Its Creator                          By Jin Yu Young and Victoria Kim TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/25/world/c Trudeau Defends Use Of the Emergencies Act
2022-11-25   2022-11-26 anada/trudeau-trucker-hearings-canada.html During Trucker Protest                     By Ian Austen                    TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/25/world/e Returning Home to Worn Shoes a Wooden      By Lynsey Addario and Marc
2022-11-25   2022-11-26 urope/russia-ukraine-kherson-war-crimes.html Cross and a Shallow Grave                Santora                          TX 9-257-651     2023-01-03



                                                                               Page 4549 of 5793
                        https://www.nytimes.com/2022/11/25/world/e At Least 10 Die as Shells Rattle Kherson     By Marc Santora and Ivan
2022-11-25   2022-11-26 urope/ukraine-russia-kherson.html             Forcing the Citys Hospitals to Evacuate   Nechepurenko                    TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/25/world/
                        middleeast/israeli-schoolboy-west-bank-tiran- Palestinians Join Forces With Israelis
2022-11-25   2022-11-26 fero.html                                     Bringing Peace to a Teens Family          By Patrick Kingsley             TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/25/your-
2022-11-25   2022-11-26 money/holiday-shopping-credit-cards.html      Dont Let Debt Be What Keeps Giving        By Ann Carrns                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/busines A Major Shareholder at News Corp Raises      By Lauren Hirsch Maureen Farrell
2022-11-26   2022-11-26 s/dealbook/news-corps-fox-merger.html         Concerns About a Merger With Fox          and Benjamin Mullin              TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/26/busines For Commerce Chief 100 Billion Tech
2022-11-26   2022-11-26 s/economy/gina-raimondo-chips-biden.html Gamble                                        By Ana Swanson                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/26/busines
2022-11-26   2022-11-26 s/video-game-e-sports-profit.html          ESports Gain Fans Will Profits Follow       By Kellen Browning               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/26/us/guns-Protesters Turn To Guns to Shout Over Their
2022-11-26   2022-11-26 protests-open-carry.html                   Rivals                                      By Mike McIntire                 TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/08/31/books/ Literary Destinations Read Your Way
2022-08-31   2022-11-27 mexico-city-books.html                     Through Mexico City                         By Juan Villoro                  TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/09/27/books/r
                        eview/listen-world-julia-scheeres-allison-
2022-09-27   2022-11-27 gilbert.html                               Go Ask Elsie                                By Glynnis MacNicol              TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/10/27/books/r
2022-10-27   2022-11-27 eview/ted-kennedy-a-life-john-a-farrell.html The Lion of the Senate                     By Thomas Mallon                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/10/28/movies/
2022-10-28   2022-11-27 sigourney-weaver-avatar-call-jane.html       Seriously on the Silly Side                By Kyle Buchanan                TX 9-257-651    2023-01-03

                        https://www.nytimes.com/2022/11/01/books/r
2022-11-01   2022-11-27 eview/graeme-macrae-burnet-case-study.html Who Can You Trust                          By Christian Lorentzen            TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/01/books/r
                        eview/in-a-new-novel-percival-everett-riffs-
2022-11-01   2022-11-27 gleefully-on-007.html                        Math Destruction                         By Molly Young                    TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/01/books/r
2022-11-01   2022-11-27 eview/katherine-dunn-toad-geek-love.html     Holy Stink                               By Adrienne Raphel                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/02/books/r
2022-11-02   2022-11-27 eview/magic-to-do-elysa-gardner.html         Backstage                                By Marshall Heyman                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/12/arts/tele
2022-11-12   2022-11-27 vision/rob-delaney-heart-that-works.html     Hes Grieving as Loudly as He Can         By Dina Gachman                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/15/books/r
2022-11-15   2022-11-27 eview/shirley-hazzard-brigitta-olubas.html   Writer amp Lover                         By Lily King                      TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/17/books/r The Family That Cooks Together Publishes a
2022-11-17   2022-11-27 eview/the-woks-of-life-leung.html            Best Seller                              By Elisabeth Egan                 TX 9-257-651    2023-01-03




                                                                                  Page 4550 of 5793
                                                                                                                 By Alwa Cooper Ashlea Halpern
                                                                                                                 Debra Kamin Aileen Kwun Miguel
                        https://www.nytimes.com/2022/11/17/t-                                                    Morales Dan Piepenbring and
2022-11-17   2022-11-27 magazine/travel-destinations-experiences.html Travel Experiences That Shouldnt Be Missed Michael Snyder                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/11/
2022-11-17   2022-11-27 17/arts/octavia-butler-vision-kindred.html    The Visions of Octavia Butler              By Lynell George               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/arts/mu Ed Rudy 93 Who Gave Inside Look at Beatles
2022-11-19   2022-11-27 sic/ed-rudy-dead.html                         On Their First US Trip                     By Richard Sandomir            TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/20/opinion
2022-11-20   2022-11-27 /kyrie-irving-kanye-west-antisemitism.html Blacks and Jews Again                        By Michael Eric Dyson         TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/21/arts/tele
                        vision/liza-colon-zayas-between-riverside-and-Liza ColnZayas Likes Hacks and Movie
2022-11-21   2022-11-27 crazy.html                                    Scores                                    By Sarah Bahr                 TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/21/books/r
                        eview/the-islands-dionne-irving-the-
                        consequences-miguel-munoz-you-have-
2022-11-21   2022-11-27 reached-your-destination-louise-marburg.html Story Collections                          By Brenda Peynado             TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/21/magazi
2022-11-21   2022-11-27 ne/juvenile-justice-california.html          The Wheels of Justice                      By Jesse Barron               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/21/magazi
2022-11-21   2022-11-27 ne/kanye-antisemitism.html                   So Appalled                                By Mireille Silcoff           TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/21/opinion
                        /business-economics/sam-bankman-fried-ftx- What Stage of Capitalism Is Sam
2022-11-21   2022-11-27 effective-altruism.html                      BankmanFried                               By David WallaceWells         TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/21/opinion Scientists at Least Know What Doesnt Cause
2022-11-21   2022-11-27 /obesity-cause.html                          Obesity                                    By Julia Belluz               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/21/realesta Looking for an Apartment Until One Found
2022-11-21   2022-11-27 te/renter-astoria-apartment-doctor.html      Her                                        By DW Gibson                  TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/arts/mu
2022-11-22   2022-11-27 sic/honey-dijon-black-girl-magic.html        Inviting Everyone to the Dance Floor       By Rich Juzwiak               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/arts/po
                        dcasts-misinformation-conspiracy-
2022-11-22   2022-11-27 theories.html                                When Misinformation Turns Malevolent       By Emma Dibdin                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/magazi
2022-11-22   2022-11-27 ne/miscarriage-grief.html                    Baby Talk A Tale of 4 Miscarriages         By Agatha French              TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/magazi Im Going to Ukraine Do I Have to Tell My
2022-11-22   2022-11-27 ne/ukraine-lie-ethics.html                   Parents                                    By Kwame Anthony Appiah       TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/opinion
2022-11-22   2022-11-27 /alito-supreme-court-term-limits.html        Examining Justice Alito                    By Jamelle Bouie              TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/opinion
2022-11-22   2022-11-27 /hospital-death-ecmo.html                    A Second Chance Sent a Life Into Limbo     By Daniela J Lamas            TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/22/opinion
2022-11-22   2022-11-27 /influencers-moms-parenting.html             The Toxic Perfection of Momfluencers       By Jessica Grose              TX 9-257-651     2023-01-03



                                                                                Page 4551 of 5793
                        https://www.nytimes.com/2022/11/22/realesta
2022-11-22   2022-11-27 te/brooke-shields-nyc-home.html             London Style With a West Village Address   By Joanne Kaufman                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/arts/mu
2022-11-23   2022-11-27 sic/sphinx-organization-anniversary.html    Creating a Community for Musicians         By Zachary Woolfe                  TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/23/books/r
2022-11-23   2022-11-27 eview/hilma-af-klint-catalogue-raisonne.html In the Abstract                           By Lauren Christensen              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/books/r
2022-11-23   2022-11-27 eview/new-crime-fiction.html                 In Cold Blood                             By Sarah Weinman                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/books/r
2022-11-23   2022-11-27 eview/picture-books-about-boats.html         Messing About                             By Peter Behrens                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/busines Edward Prescott 81 Economist Whose Work
2022-11-23   2022-11-27 s/edward-c-prescott-dead.html                Won a Nobel Dies                          By Clay Risen                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/giving/ Pablo Eisenberg 90 Advocate Who Jolted
2022-11-23   2022-11-27 pablo-eisenberg-dead.html                    Philanthropic World                       By Sam Roberts                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/magazi
                        ne/judge-john-hodgman-on-australian-
2022-11-23   2022-11-27 dinner.html                                  Bonus Advice From Judge John Hodgman      By John Hodgman                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/magazi
                        ne/poem-diaspora-sonnet-traveling-between- Diaspora Sonnet Traveling Between           By Oliver de la Paz and Victoria
2022-11-23   2022-11-27 apartment-rentals.html                       Apartment Rentals                         Chang                              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/magazi
2022-11-23   2022-11-27 ne/quiet-chamber-minneapolis.html            The Silent Treatment                      By Caity Weaver                    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/23/magazi Make Ramen Out of Your Thanksgiving
2022-11-23   2022-11-27 ne/thanksgiving-leftover-turkey-ramen.html Leftovers                                  By Ligaya Mishan                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/magazi
2022-11-23   2022-11-27 ne/white-noise-noah-baumbach.html           The Disaster Artist                       By Jon Mooallem                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/realesta
                        te/1-million-homes-in-new-york-california- 1 Million Homes in New York California and
2022-11-23   2022-11-27 and-minnesota.html                          Minnesota                                 By Angela Serratore                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/realesta
                        te/international-house-hunting-french-      A Ski Chalet With a Backyard Mountain
2022-11-23   2022-11-27 alps.html                                   Range                                     By Marcelle Sussman Fischler        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/realesta Friendly Not Too Loud and Reasonably
2022-11-23   2022-11-27 te/middletown-connecticut-housing.html      Affordable                                By Lisa Prevost                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/style/ho Surviving the First Holiday Season as
2022-11-23   2022-11-27 liday-season-newlyweds.html                 Newlyweds                                 By Abby Ellin                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/style/th
2022-11-23   2022-11-27 anksgiving-dinner-etiquette.html            Pitching In at Dinner                     By Philip Galanes                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/technol Frederick P Brooks Jr an Innovator of
2022-11-23   2022-11-27 ogy/frederick-p-brooks-jr-dead.html         Computer Design Dies at 91                By Steve Lohr                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/theater/
                        topdog-underdog-corey-hawkins-yahya-abdul-
2022-11-23   2022-11-27 mateen-ii.html                              The Heartbreak Of Deception And Change    By Salamishah Tillet                TX 9-257-651   2023-01-03



                                                                               Page 4552 of 5793
                        https://www.nytimes.com/2022/11/24/arts/tele
2022-11-24   2022-11-27 vision/lars-von-trier-the-kingdom-exodus.html The Key to His Kingdom                    By Ben Kenigsberg             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/needies
                        t-cases/for-the-holiday-a-timely-serving-of- Everything but the Bird Not This
2022-11-24   2022-11-27 inflation-relief.html                         Thanksgiving                              By Callie Holtermann          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/nyregio Prospects of Ownership Continue to Dim for
2022-11-24   2022-11-27 n/home-ownership-new-york-city.html           Many                                      By Mihir Zaveri               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/opinion Are You Really So Different From the Blue
2022-11-24   2022-11-27 /sea-creatures-blue-blob.html                 Sea Blob                                  By Sabrina Imbler             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/opinion The Glow of a Wedding Amid Bombs and
2022-11-24   2022-11-27 /wedding-beauty-ukraine-war.html              Blackouts                                 By Alyona Synenko             TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/24/realesta
2022-11-24   2022-11-27 te/apartment-converted-adaptive-reuse.html Empty Offices Become Homes                    By Michael Kolomatsky        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/sports/f And Now We Enter the Time of Quarterback
2022-11-24   2022-11-27 ootball/nfl-week-12-picks.html               Shuffling                                   By David Hill                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/style/ev
2022-11-24   2022-11-27 an-mock-is-having-the-best-time.html         He Glides Through Life and Downtown         By Cara Schacter             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/style/m To Declare Youre a Couple Flag It With
2022-11-24   2022-11-27 atching-christmas-pjs.html                   Flannel                                     By Gina Cherelus             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/style/th Designing the Women of The Hours for the
2022-11-24   2022-11-27 e-hours-met-opera-costumes.html              Opera                                       By Louis Lucero II           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/interactive/2022/11/
                        24/realestate/california-oakland-housing-    They Loved the Diversity of Oakland Could
2022-11-24   2022-11-27 james-meredith.html                          They Find a House They Loved There Too      By Mark Kreidler             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/arts/des
2022-11-25   2022-11-27 ign/ralph-ellison-photographer-book.html     Ralph Ellisons World in Images              By Arthur Lubow              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/busines                                               By Daisuke Wakabayashi and
2022-11-25   2022-11-27 s/kris-wu-china-rape.html                    Beijing Court Finds a Singer Guilty of Rape Claire Fu                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/nyregio
2022-11-25   2022-11-27 n/pandemic-dog-boom-nyc.html                 A Dog Boom No but Tensions Abound           By Ginia Bellafante          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/opinion
2022-11-25   2022-11-27 /lgbtq-public-display-of-affection.html      I Want the World to See Us Kissing          By Kadar R Small             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/opinion Scenes From the Front Lines of Our
2022-11-25   2022-11-27 /warehouse-fastfashion-return.html           Addiction to Fast Fashion                   By Rachel Greenley           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/realesta
2022-11-25   2022-11-27 te/nyc-apartments-above-stores.html          Some New Yorkers Still Live Above the Store By Joanne Kaufman            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/sports/s One Migrants Desperate Day Chasing Work
2022-11-25   2022-11-27 occer/world-cup-migrant-worker.html          Across Qatars Capital                       By Tariq Panja               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/style/be Great Wedding Gifts on the Registry and
2022-11-25   2022-11-27 st-wedding-gifts-2022.html                   Beyond                                      By Chloe Anello              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/style/ca The Matchmaking Faltered Until They Met in
2022-11-25   2022-11-27 meron-keady-taylor-toth-wedding.html         Person                                      By Vivian Ewing              TX 9-257-651   2023-01-03




                                                                               Page 4553 of 5793
                        https://www.nytimes.com/2022/11/25/style/ch
2022-11-25   2022-11-27 elsea-hotel-chelsea-guitars.html             A Scruffy Shop Amid the New Chic              By Alex Vadukul             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/style/lis Long After Sleepaway Camp a Wakeup Call
2022-11-25   2022-11-27 a-hart-kenneth-steuer-wedding.html           for Love                                      By Nina Reyes               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/style/lo
                        ve-and-basketball-sometimes-continents-      Love and Basketball Sometimes Continents
2022-11-25   2022-11-27 apart.html                                   Apart                                         By Robbie Spencer           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/style/m
                        odern-love-breakup-10-percent-wrong-
2022-11-25   2022-11-27 relationship.html                            In Praise of the 10Percent Wrong Relationship By Oz Johnson               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/style/un
2022-11-25   2022-11-27 ity-phelan-cameron-dieck-wedding.html        At the Ballet Tiptoeing Toward Romance        By Tammy La Gorce           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/article/nypd-ring- If You Post a Video Doorbell Clip the NYPD
2022-11-25   2022-11-27 app-surveillance.html                        May Now Be Watching It                        By Hurubie Meko             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/busines
                        s/greece-journalists-surveillance-           In the Cradle of Democracy Journalists Feel By Lauren Markham and Lydia
2022-11-26   2022-11-27 predator.html                                the Chill                                     Emmanouilidou               TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/26/busines
2022-11-26   2022-11-27 s/hunting-wyoming-elk-mountain-access.html Its Public Land But the Public Cant Reach It By Ben Ryder Howe              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/climate
                        /fighting-shrinkflation-consumer-
2022-11-26   2022-11-27 products.html                               Hes the Expert On Uncovering Shrinkflation By Clare Toeniskoetter          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/nyregio
2022-11-26   2022-11-27 n/gilbert-small-gibney-dance.html           The Kitchen Is a Dance Directors Stage      By Tammy La Gorce              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/nyregio
2022-11-26   2022-11-27 n/queens-high-line.html                     Dueling Dreams for a Derelict Rail Line     By Winnie Hu                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/opinion
2022-11-26   2022-11-27 /charity-holiday-gift-one-acre-fund.html    A Time for Gifts of Meaning                 By Nicholas Kristof            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/opinion
2022-11-26   2022-11-27 /its-time-again-for-my-brother-kevin.html   My Brother Gets His Turn Once More          By Maureen Dowd                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/opinion How a GOP Faction Enables Political
2022-11-26   2022-11-27 /republican-party-extremism.html            Violence                                    By The Editorial Board         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/realesta The Challenge of an Open House With
2022-11-26   2022-11-27 te/open-houses-misbehaving-children.html    Children                                    By Jennifer Miller             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/realesta We Want to Install Solar Panels Why Are We
2022-11-26   2022-11-27 te/solar-panel-cost.html                    Being Advised Not To                        By Ronda Kaysen                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/sports/s For Messi and Argentina a Frown Turned
2022-11-26   2022-11-27 occer/messi-argentina-mexico.html           Upside Down                                 By Rory Smith                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/sports/s For Saudi Fans Trip to the World Cup Is a   By John Branch and Tasneem
2022-11-26   2022-11-27 occer/saudi-arabia-world-cup-qatar.html     OneDay Commute                              Alsultan                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/style/ho
2022-11-26   2022-11-27 me-decor-design-sight-unseen.html           Your Possessions Are Speaking for You       By Aileen Kwun                 TX 9-257-651   2023-01-03




                                                                               Page 4554 of 5793
                        https://www.nytimes.com/2022/11/26/style/s
                        weating-through-a-honeymoon-in-
2022-11-26   2022-11-27 paradise.html                              A Jittery Honeymoon in Paradise               By Virginia Feito                TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/26/us/ukra In Maine Ukraines Flag Flies to Show Steely
2022-11-26   2022-11-27 inian-flags-maine-why.html                 Solidarity                                    By Hannah Beech                  TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/26/world/a US Allows Chevron to Expand Its Energy        By Julie Turkewitz and Zolan
2022-11-26   2022-11-27 mericas/venezuela-chevron-oil-us.html      Operations in Venezuela                       KannoYoungs                      TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/26/world/a Kiribati Relied on Foreign Judges Then
2022-11-26   2022-11-27 sia/foreign-judges-kiribati-pacific.html   Removed Them                                  By Yan Zhuang                   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/26/world/a                                               By Hannah Beech and Nadia Shira
2022-11-26   2022-11-27 sia/surrogacy-cambodia.html                When Surrogacy Becomes a Crime                Cohen                           TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/26/world/e
2022-11-26   2022-11-27 urope/landslide-italy-ischia.html          Lethal Landslide on Island Near Naples        By Gaia Pianigiani               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/26/world/e Arming Ukraine Drains Stockpile of NATO
2022-11-26   2022-11-27 urope/nato-weapons-shortage-ukraine.html   Weapons                                       By Steven Erlanger and Lara Jakes TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/world/e 90 Years After Famine Ukraine Draws           By Marc Santora and Cassandra
2022-11-26   2022-11-27 urope/ukraine-war-holodomor-strikes.html   Parallels to Russian Strikes                  Vinograd                          TX 9-257-651   2023-01-03

                        https://www.nytimes.com/live/2022/11/26/spo
                        rts/world-cup-scores/france-vs-denmark-the-
2022-11-26   2022-11-27 defending-champion-faces-its-first-big-test Mbapp Leads France Into Knockout Stage       By Andrew Das                    TX 9-257-651    2023-01-03
                        https://www.nytimes.com/live/2022/11/26/spo
                        rts/world-cup-scores/tunisia-vs-australia-  A Lone Header Gives Australia Hope and
2022-11-26   2022-11-27 tunisias-hopes-hang-on-a-win-today          Puts Tunisia on the Brink                    By Andrew Das                    TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/27/busines
                        s/roxane-gay-work-friend-toxic-
2022-11-27   2022-11-27 coworker.html                               Our ExColleague Wont Leave Us Alone          By Roxane Gay                    TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/27/busines
                        s/the-week-in-business-shopping-black-      The Week in Business Shoppers Open Their
2022-11-27   2022-11-27 friday.html                                 Wallets                                      By Marie Solis                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/27/busines
2022-11-27   2022-11-27 s/tiktok-office-influencers.html            A TikTok Spin on the Daily Grind             By Marie Solis                   TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/27/insider/
                        the-worlds-of-the-remarkably-prescient-
2022-11-27   2022-11-27 octavia-butler.html                         The World of a Remarkably Prescient Writer By Sarah Bahr                      TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/27/nyregio
                        n/high-interest-loans-exonerated-
2022-11-27   2022-11-27 prisoners.html                              For the Exonerated Quick Cash at Steep Rates By Corey Kilgannon               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/27/nyregio Meet the Voters Who Fueled New Yorks
2022-11-27   2022-11-27 n/republicans-election-ny-suburbs.html      Seismic Tilt Toward the GOP                  By Nicholas Fandos               TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/27/realesta
2022-11-27   2022-11-27 te/home-sales-450000-dollars.html           Homes That Sold for Around 450000            By C J Hughes                    TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/27/style/w
                        hat-ziwe-and-laquan-smith-wore-to-club-
2022-11-27   2022-11-27 moda.html                                   Some Classics Make the Scene                 By Denny Lee                     TX 9-257-651    2023-01-03



                                                                                Page 4555 of 5793
                        https://www.nytimes.com/2022/11/27/us/livin                                            By Dana Goldstein and Robert
2022-11-27   2022-11-27 g-alone-aging.html                          More in US Living Alone Later in Life      Gebeloff                          TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/27/world/a University Pageants In Japan Emphasize
2022-11-27   2022-11-27 sia/japan-university-pageants.html          Beauty Over Brains                         By Motoko Rich and Hikari Hida    TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/27/world/e As Droughts Intensify French Deploy Police
2022-11-27   2022-11-27 urope/france-climate-change-water-wars.html to Head Off Water Wars                    By Catherine Porter                TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/27/world/ Israeli Blockade Takes Steep Toll on Gazans
2022-11-27   2022-11-27 middleeast/israeli-blockade-gaza-fishing.html Fishing Industry and Diet                  By Raja Abdulrahim                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/10/13/well/liv
2022-10-14   2022-11-28 e/bad-breath-tips.html                        Here to Help How to Curb Bad Breath        By Melinda Wenner Moyer           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/10/busines Technology Makes Home Dialysis Easier but
2022-11-10   2022-11-28 s/home-dialysis-tablo-outset.html             Its Not for Everyone                       By Dawn MacKeen                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/arts/tele
                        vision/the-crown-mohamed-al-fayed-            How Does One Become Part of the
2022-11-17   2022-11-28 valet.html                                    Establishment                              By Roslyn Sulcas                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/sports/h 30Year Partnership Of Horse and Human
2022-11-22   2022-11-28 orse-racing/old-thoroughbred-horse.html       Undone Only by Death                       By Mike Wilson                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/technol A Programmer Cries Foul Over SelfCoding
2022-11-23   2022-11-28 ogy/copilot-microsoft-ai-lawsuit.html         Software                                   By Cade Metz                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/arts/tele
                        vision/spirit-moon-wes-studi-tantoo-
2022-11-25   2022-11-28 cardinal.html                                 Their Own Stories In Their Own Voices      By Kelly Boutsalis                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/busines
                        s/dealbook/fifa-soccer-world-cup-scandal-     Companies and Countries Cant Get Enough of
2022-11-25   2022-11-28 business.html                                 the World Cup Scandals and All             By Vivienne Walt                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/sports/f
                        ootball/eagles-gaming-cj-gardner-             A Secret to the Eagles Success Look to the
2022-11-25   2022-11-28 johnson.html                                  Streets of Los Santos                      By Kris Rhim                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/theater/
2022-11-25   2022-11-28 big-apple-circus-review.html                  With the Greatest of Ease Yet Again        By Alexis Soloski and Seth Caplan TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/world/e
                        urope/vatican-pope-roman-catholic-church- As Financial Troubles Mount Vatican Issues
2022-11-25   2022-11-28 investments.html                              Guidelines for Ethical Investing           By Jason Horowitz                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/arts/mu Irene Cara Dies at 63 Her Voice Powered       By Alex Traub and Amanda
2022-11-26   2022-11-28 sic/irene-cara-dead.html                      Two Hit 1980s Films                        Holpuch                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/books/j
2022-11-26   2022-11-28 oseph-roth-endless-flight-keiron-pim.html     Joseph Roth Biographer Fills a Void        By Casey Schwartz                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/opinion Twitter Has Revealed Something Crucial
2022-11-26   2022-11-28 /chris-hayes-twitter-elon-musk.html           About Our Online Lives                     By Chris Hayes                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/books/t
2022-11-27   2022-11-28 he-easy-life-marguerite-duras.html            A New Translation for a Timeless Novel     By Alexandra Jacobs               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/busines Outlook for Business Travel Is a Big Question
2022-11-27   2022-11-28 s/business-travel-economy.html                Mark                                       By Jane L Levere                  TX 9-257-651   2023-01-03



                                                                                Page 4556 of 5793
                        https://www.nytimes.com/2022/11/27/busines Retailers Try to Woo Shoppers While Theyre By Sydney Ember and Jordyn
2022-11-27   2022-11-28 s/economy/holiday-shopping-retail-sales.html Willing to Spend                           Holman                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/crossw
2022-11-27   2022-11-28 ords/daily-puzzle-2022-11-28.html            Crossword Constructors Have Feelings Too By Deb Amlen                       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/nyregio 2 Children Found Stabbed To Death in Bronx By Andy Newman Ta Kvetenadze
2022-11-27   2022-11-28 n/children-stabbed-bronx.html                Shelter                                    and Kimiko de FreytasTamura      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/opinion
                        /a-good-will-government-was-possible-in-     A GoodWill Government Was Possible in
2022-11-27   2022-11-28 israel.html                                  Israel                                     By Naftali Bennett               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/opinion
2022-11-27   2022-11-28 /ftx-sam-bankman-fried-fullenkamp.html       Idle Crypto Is the Devils Workshop         By Connel Fullenkamp             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/opinion
2022-11-27   2022-11-28 /selena-gomez-stardom-vulnerability.html     The Reality of Imperfection                By Pamela Paul                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/sports/f
2022-11-27   2022-11-28 ootball/nfl-week-12-scores.html              What We Learned This Week                  By Derrik Klassen                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/sports/h Borje Salming 71 Defender and Swedens First
2022-11-27   2022-11-28 ockey/borje-salming-dead.html                NHL Star                                   By Richard Goldstein             TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/27/sports/s
2022-11-27   2022-11-28 occer/germany-world-cup-standing-spain.html Legacy on the Line                           By Rory Smith                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/sports/s Iran Angered Over Altered Image of Flag
2022-11-27   2022-11-28 occer/iran-flag-us-world-cup.html              Asks for US to Be Expelled                By Andrew Das                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/sports/s These Japanese Spectators Gain a Spotless
2022-11-27   2022-11-28 occer/japan-fans-clean-up-world-cup.html       Reputation                                By Andrew Keh                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/theater/
2022-11-27   2022-11-28 kpop-review-broadway.html                      On Broadway a Sensation Loses Its Feeling By Jesse Green                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/upshot/ Why Road Deaths Are Declining Across          By Emily Badger and Alicia
2022-11-27   2022-11-28 road-deaths-pedestrians-cyclists.html          Globe but Not in the US                   Parlapiano                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/us/polit Falling Through Some Big Cracks in Bidens By Zolan KannoYoungs and
2022-11-27   2022-11-28 ics/biden-marijuana-pardons.html               Marijuana Pardon                          Michael D Shear                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/world/a Fatal Fire Spurs Unrest in China Over Zero By Chris Buckley Vivian Wang
2022-11-27   2022-11-28 sia/china-covid-protest.html                   Covid                                     Chang Che and Amy Chang Chien   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/world/e Under Britains Tough Tactics Drug Dealer Is
2022-11-27   2022-11-28 urope/uk-drug-dealer-slave-master.html         Also Slave Master                         By Selam Gebrekidan             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/world/e
2022-11-27   2022-11-28 urope/ukraine-russia-winter-war.html           Cold Snow and Mud Add to Wars Miseries By Matthew Mpoke Bigg              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/world/e                                               By Thomas GibbonsNeff Natalia
2022-11-27   2022-11-28 urope/ukraine-war-bakhmut.html                 Bakhmut Fight Saps Both Kyiv And Russians Yermak and Tyler Hicks          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/live/2022/11/27/spo
                        rts/spain-germany-score-world-cup/japan-
                        faces-a-humbled-costa-rica-as-it-seeks-a-spot- Costa Rica Stays Alive And Dents Japans
2022-11-27   2022-11-28 in-the-second-round                            Hopes                                     By Andrs R Martnez              TX 9-257-651   2023-01-03




                                                                               Page 4557 of 5793
                        https://www.nytimes.com/live/2022/11/27/spo
                        rts/world-cup-scores/belgium-vs-morocco-red-
                        devils-looking-for-improvement-against-      Moroccans Shock Belgium For First Cup Win
2022-11-27   2022-11-28 morocco                                      Since 98                                  By Kevin Draper                    TX 9-257-651   2023-01-03

                        https://www.nytimes.com/live/2022/11/27/spo
                        rts/world-cup-scores/canada-vs-croatia-war-of-Croatias Barrage of Goals Eliminates the
2022-11-27   2022-11-28 words-makes-this-matchup-more-spicy           Canadians                                   By Kevin Draper                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/us/colo Navy Veteran At Nightclub Acted to Save        By Ava Sasani and Luke Vander
2022-11-28   2022-11-28 rado-shooting-club-q-heroes.html              Found Family                                Ploeg                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/world/a                                                By Steve Fisher and Maria
2022-11-28   2022-11-28 mericas/mexico-amlo-march.html                Mexicos President Leads a Big March         AbiHabib                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/arts/tele
                        vision/whats-on-tv-this-week-love-actually-
2022-11-28   2022-11-28 reunion-barmageddon.html                      This Week on TV                             By Shivani Gonzalez             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/busines Capitalism Is Up for Scrutiny At Elite
2022-11-28   2022-11-28 s/business-school-social-justice.html         Business Schools                            By Emma Goldberg                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/busines
                        s/jenis-ice-cream-bauer-malai-pooja-bavaishi- Two Innovators Tell Stories Through Their
2022-11-28   2022-11-28 leadership.html                               Ice Cream                                   By Kim Severson                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/nyregio
                        n/brooklyn-prosecutor-violence-against-       Brooklyn DA Prioritizes Fighting Violence   By Hurubie Meko and Rebecca
2022-11-28   2022-11-28 women.html                                    Against Women                               Davis OBrien                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/sports/n
                        caabasketball/kevin-ollie-overtime-elite-     Disrupting the College Game By Giving
2022-11-28   2022-11-28 basketball.html                               Players New Options                         By Kurt Streeter                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/28/sports/s
2022-11-28   2022-11-28 occer/mural-migrant-workers-world-cup.html Thousands of Faces All Suddenly Gone           By Tariq Panja                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/us/polit Strong Election Showing Eases Democrats
2022-11-28   2022-11-28 ics/biden-2024.html                         Fears of Biden 24                             By Katie Glueck                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/world/e The Art of Gently Exfoliating Florences
2022-11-28   2022-11-28 urope/italy-michelangelo-david.html         Greatest Treasure                             By Elisabetta Povoledo          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/world/e Young Poles Lose Faith in Catholic Church
2022-11-28   2022-11-28 urope/poland-catholic-church-youth.html     Amid Scandals and Politics                    By Andrew Higgins               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/07/science Tiny Acrobats Among Natures Biggest
2022-11-07   2022-11-29 /springtail-jumps.html                      Jumpers Proportionally Speaking               By Oliver Whang                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/science
2022-11-09   2022-11-29 /ivory-comb-beard-lice.html                 Words From the Past Root Out Lice             By Oliver Whang                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/09/science Up in Arms When an Octopus Gets So Mad
2022-11-09   2022-11-29 /octopus-throwing-silt.html                 It Wants to Throw Something                   By Darren Incorvaia             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/12/science Finicky Listeners Does Your Cat Always
2022-11-12   2022-11-29 /cat-talking-owners-voice-dog.html          Ignore You Maybe It Just Looks That Way       By Anthony Ham                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/16/health/
2022-11-16   2022-11-29 deforestation-bats-hendra-virus.html        Spread of Bat Virus Is Linked to Ecology      By Emily Anthes                 TX 9-257-651   2023-01-03



                                                                                  Page 4558 of 5793
                        https://www.nytimes.com/2022/11/17/arts/des
2022-11-17   2022-11-29 ign/hospital-rooms-murals.html              Commissioning Art for Psychiatric Wards      By Alex Marshall                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/well/liv
2022-11-17   2022-11-29 e/mouth-taping-benefits-sleep.html          Breaking the Seal on a Sleep Hack            By Dani Blum                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/17/well/qu
2022-11-18   2022-11-29 it-annie-duke.html                          Sometimes Quitting May Lead to Success       By Melinda Wenner Moyer         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/18/science Space Hangouts For Hiding Places Comets
2022-11-18   2022-11-29 /comet-asteroid-belt-space.html             Favor the Asteroid Belt                      By Robin George Andrews         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/19/well/mi
2022-11-19   2022-11-29 nd/adult-adhd-diagnosis-distraction.html    The Real Way That ADHD Is Diagnosed          By Dana G Smith                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/well/oz OffLabel Use Fuels Demand for a Diabetes
2022-11-22   2022-11-29 empic-diabetes-weight-loss.html             Drug                                         By Dani Blum                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/23/us/polit                                              By Blake Hounshell and Julie
2022-11-24   2022-11-29 ics/house-democrats-republicans.html        When Winning Feels a Lot Like Losing         Hirschfeld Davis                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/climate
2022-11-24   2022-11-29 /sugar-maple-pennsylvania-farm.html         Giving Thanks for a Beloved Sugar Maple      By Daryln Brewer Hoffstot       TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/24/sports/b Mr Baseball Is Still a GoTo Resource for
2022-11-24   2022-11-29 aseball/mr-baseball-japan.html              Players Headed to Japan                      By Brad Lefton                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/movies/
2022-11-25   2022-11-29 science-fiction-streaming.html              Do You Like Twists and a Good Fright         By Elisabeth Vincentelli        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/science                                               By Brandon Keim and Tristan
2022-11-25   2022-11-29 /climate-forests-seeds-mice.html            Seeding the Woods                            Spinski                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/us/the-
2022-11-25   2022-11-29 chosen-jesus-streaming-tv.html              Jesus Christ Streaming Star                  By Ruth Graham                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/26/science
2022-11-26   2022-11-29 /omicron-birthday-variant-evolution.html    Omicron Is Proving To Be a Slippery Virus By Carl Zimmer                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/arts/mu Louise Tobin Melodic Jazz Singer With a
2022-11-27   2022-11-29 sic/louise-tobin-dead.html                  Career Encore Dies at 104                    By Daniel E Slotnik             TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/busines                                               By Stanley Reed and Francesca
2022-11-27   2022-11-29 s/scotland-wind-farms-offshore.html         Big Wind Farms Arise in North Sea Oil Fields Jones                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/world/a 9 Are Killed as Shabab Militants Attack a     By Hussein Mohamed and Declan
2022-11-27   2022-11-29 frica/mogadishu-shabab-hotel.html           Mogadishu Hotel for 22 Hours                 Walsh                           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/world/e
2022-11-27   2022-11-29 urope/roman-coins-authentic-fake.html       A Fresh Appraisal of Ancient Gold Coins      By April Rubin                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/arts/and
2022-11-28   2022-11-29 erson-cooper-grief-podcast.html             Shared Tears Eased Healing                   By Robin Pogrebin               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/arts/des
                        ign/france-human-remains-restitution-       Secrecy Shrouds 18000 Skulls In a Paris
2022-11-28   2022-11-29 skulls.html                                 Museums Basement                             By Constant Mheut               TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/28/arts/mu Making Country Music They Can Call Their
2022-11-28   2022-11-29 sic/adeem-the-artist-white-trash-revelry.html Own                                   By Grayson Haver Currin              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/arts/tele
2022-11-28   2022-11-29 vision/mo-brings-plenty-yellowstone.html      Bridging Hollywood and Native Realms  By Chris Vognar                      TX 9-257-651   2023-01-03




                                                                               Page 4559 of 5793
                        https://www.nytimes.com/2022/11/28/books/c
2022-11-28   2022-11-29 ormac-mccarthy-stella-maris.html           Hanging On To a Dream                       By Dwight Garner                  TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/28/busines BlockFi a Crypto Lender Falls in FTXs    By Lauren Hirsch David
2022-11-28   2022-11-29 s/blockfi-bankruptcy-cryptocurrency-ftx.html Aftershocks                            YaffeBellany and Ephrat Livni        TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/28/busines Yahoo Buys Into Taboola Doubling Down On By Lauren Hirsch and Benjamin
2022-11-28   2022-11-29 s/dealbook/yahoo-taboola-ads.html            Digital Ads                            Mullin                               TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/28/busines Unrest in China Is Latest to Test Global
2022-11-28   2022-11-29 s/economy/china-unrest-global-economy.html Economy                                       By Patricia Cohen                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/busines Iger Acknowledging Tough Times Meets
2022-11-28   2022-11-29 s/media/disney-bob-iger.html                  With Disney Employees                      By Brooks Barnes                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/busines Zelle Is Said to Be Planning Repayments on
2022-11-28   2022-11-29 s/zelle-scams-banks-reimburse.html            Scams                                      By Stacy Cowley                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/health/ WHO Gives Monkeypox A New Name Citing
2022-11-28   2022-11-29 monkeypox-mpox-who.html                       Stigma                                     By Andrew Jacobs                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/health/ Researchers Find Organ Donations Rise
2022-11-28   2022-11-29 organ-donations-motorcycle-rallies.html       Around Motorcycle Rallies                  By Ted Alcorn                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/nyregio Jamaican Cleric Accused Of Being Marriage
2022-11-28   2022-11-29 n/abdullah-el-faisal-isis-marriage-trial.html Broker For ISIS Is Facing a Trial          By Colin Moynihan                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/nyregio Buffalo Gunman Pleads Guilty in Racist
2022-11-28   2022-11-29 n/buffalo-shooting-guilty-plea.html           Attack                                     By Hurubie Meko and Dan Higgins TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/28/nyregio Officers Charged After Ride Leaves Black
2022-11-28   2022-11-29 n/connecticut-police-officers-charged.html    Man Paralyzed                              By Sarah Maslin Nir               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/nyregio How a Cyberattack Plunged a County Into the
2022-11-28   2022-11-29 n/suffolk-county-cyber-attack.html            1990s                                      By Sarah Maslin Nir               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/nyregio Closing Arguments to Begin In Trial of        By Lola Fadulu and Jonah E
2022-11-28   2022-11-29 n/trump-organization-fraud-trial.html         Trump Company                              Bromwich                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/opinion
                        /charity-holiday-gift-one-rising-seas-        Some Things We Are Grateful for and Some
2022-11-28   2022-11-29 institute.html                                We Are Not                                 By Gail Collins and Bret Stephens TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/opinion Why Are So Many Children Likely to Be Sick By Florian Krammer and Aubree
2022-11-28   2022-11-29 /winter-rsv-covid-flu.html                    This Holiday Season                        Gordon                            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/sports/s China Excises Crowd Shots Amid ZeroCovid
2022-11-28   2022-11-29 occer/china-world-cup-tv.html                 Protests                                   By Daniel Victor                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/sports/s Americans Seek Distance From a Flag
2022-11-28   2022-11-29 occer/us-team-iran-flag-twitter-post.html     Controversy                                By Andrew Keh and Ben Shpigel TX 9-257-651       2023-01-03
                        https://www.nytimes.com/2022/11/28/sports/s
2022-11-28   2022-11-29 occer/world-cup-fans-qatar-ultras.html        The Most Passionate Fans Money Can Buy     By James Montague                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/technol Musk Tweets timcook Setting Up Clash of
2022-11-28   2022-11-29 ogy/elon-musk-apple-twitter.html              Titans                                     By Kate Conger and Tripp Mickle TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/28/technol
                        ogy/twitter-misinformation-experts-           As Misinformation Booms Specialists Are in
2022-11-28   2022-11-29 hiring.html                                   Demand                                     By Tiffany Hsu                    TX 9-257-651   2023-01-03




                                                                                Page 4560 of 5793
                        https://www.nytimes.com/2022/11/28/us/hous Millions in Houston Under Boil Water
2022-11-28   2022-11-29 ton-boil-water.html                         Advisory                                    By Matt Stevens                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/us/mau Earths Largest Active Volcano Erupts After    By Derrick Bryson Taylor and
2022-11-28   2022-11-29 na-loa-volcano-eruption-hawaii.html         38 Quiet Years                              Oliver Whang                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/us/polit White House Weighs How Forcefully to
2022-11-28   2022-11-29 ics/biden-china-covid-protests.html         Support Chinese Demonstrators               By David E Sanger                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/us/polit Pelosi Says House Plans Vote On Heading     By Michael D Shear and Noam
2022-11-28   2022-11-29 ics/biden-rail-strike-congress.html         Off a Rail Strike                           Scheiber                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/us/polit Major News Outlets Urge US to Drop
2022-11-28   2022-11-29 ics/julian-assange-wikileaks-charges.html   Charges vs Assange                          By Charlie Savage                TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/28/us/polit A Skeptical Supreme Court Seems Prepared
2022-11-28   2022-11-29 ics/supreme-court-corruption-cuomo.html      to Overturn Public Corruption Rulings        By Adam Liptak                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/us/polit Trump Plans Low Profile In Georgia Senate
2022-11-28   2022-11-29 ics/trump-georgia-senate-runoff.html         Runoff                                       By Michael C Bender            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/us/polit Garland Gingerly Steps Outside Comfort
2022-11-28   2022-11-29 ics/trump-special-counsel-garland.html       Zone With Trump Inquiries                    By Glenn Thrush                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/us/russi Russian Dissidents Fleeing to US Find
2022-11-28   2022-11-29 an-activists-asylum.html                     Detention Not Freedom                        By Miriam Jordan               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/world/a With Sly Memes and Wordless Protests           By Chang Che and Amy Chang
2022-11-28   2022-11-29 sia/china-protests-blank-sheets.html         FedUp Chinese Test the Authorities           Chien                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/world/a
2022-11-28   2022-11-29 sia/china-protests-covid-beijing.html        Wary Excited And Uncertain How Far to Go By Vivian Wang                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/world/a Combating Loneliness With Chai and
2022-11-28   2022-11-29 sia/india-punjab-elderly-loneliness.html     Laughter                                     By Karan Deep Singh            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/world/e
2022-11-28   2022-11-29 urope/russia-navalny-youtube-exiles.html     For Putins Opponents Exile Proves a Boon     By Neil MacFarquhar            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/world/
2022-11-28   2022-11-29 middleeast/iran-us-soccer-protests.html      Its the US vs Iran on Many Levels            By Vivian Yee                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/article/china-covid- How Its Covid Strategy Led China to This
2022-11-28   2022-11-29 protests.html                                Point                                        By Vivek Shankar               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/opinion
2022-11-29   2022-11-29 /antisemitism-trump-nick-fuentes.html        Antisemitisms March Into the Mainstream      By Michelle Goldberg           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/opinion
2022-11-29   2022-11-29 /china-covid-autocracy-democracy.html        This Is How China Lost the Covid War         By Paul Krugman                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/us/mich Safety Steps Overlooked In Michigan
2022-11-29   2022-11-29 igan-oxford-school-shooting-safety.html      Shooting ExBoard Members Say                 By Jacey Fortin                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/us/polit
                        ics/arizona-county-election-results-         In Protest GOPControlled County in Arizona
2022-11-29   2022-11-29 cochise.html                                 Declines to Certify Vote                     By Charles Homans              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/us/polit
                        ics/trump-kanye-west-nick-fuentes-           Jewish Allies of Trump Recoil After He Hosts
2022-11-29   2022-11-29 antisemitism.html                            2 Antisemites                                By Jonathan Weisman            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/us/supr Supreme Court Denies Breach of Ruling in
2022-11-29   2022-11-29 eme-court-breach-alito.html                  2014                                         By Jodi Kantor and Jo Becker   TX 9-257-651   2023-01-03



                                                                                Page 4561 of 5793
                        https://www.nytimes.com/2022/11/28/us/whol Whole Foods to Stop Buying Maine Lobster
2022-11-29   2022-11-29 e-foods-lobster-maine-whales.html           Amid Risk to Endangered Whales             By Michael Levenson               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/world/e As Winter Nears Kyiv Warns of More          By Matthew Mpoke Bigg Marc
2022-11-29   2022-11-29 urope/ukraine-russia-war-kherson.html       Russian Strikes on Power Plants            Santora and Maria Varenikova      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/health/l
2022-11-29   2022-11-29 ying-mental-illness.html                    Can He Ever Stop Lying                     By Ellen Barry and Dave Sanders   TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/29/world/a With Haiti on Brink US Pushes To Send in a By Natalie Kitroeff and Adriana
2022-11-29   2022-11-29 mericas/haiti-gangs-foreign-intervention.html Multinational Force                        Zehbrauskas                     TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/22/dining/t
2022-11-22   2022-11-30 he-menu-fine-dining.html                      Horror Finds a WellStocked Pantry          By Tejal Rao                    TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/dining/
2022-11-25   2022-11-30 best-wine-bars-nyc.html                       New Yorks Best Spots for a Glass           By Eric Asimov                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/dining/
2022-11-25   2022-11-30 drinks/wine-bar.html                          What Makes a Wine Bar a Wine Bar           By Eric Asimov                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/25/dining/
2022-11-25   2022-11-30 ham-sandwich-nyc.html                         The Ham Sandwich With French Flair         By Florence Fabricant           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/27/opinion
2022-11-27   2022-11-30 /widows-mental-health.html                    How to Talk to a Widow                     By Betty Rollin                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/arts/dan Susan Kikuchi 74 Stager Of Martha Graham
2022-11-28   2022-11-30 ce/susan-kikuchi-dead.html                    Works And King and I Revivals              By Anna Kisselgoff              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/arts/mu
                        sic/taylor-swift-midnights-billboard-         Swift Tops The Chart For Albums Once
2022-11-28   2022-11-30 chart.html                                    Again                                      By Ben Sisario                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/climate
                        /great-barrier-reef-climate-change-           UN Mission Warns of Risks to Great Barrier
2022-11-28   2022-11-30 danger.html                                   Reef                                       By Christine Chung              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/dining/
2022-11-28   2022-11-30 easy-squash-chickpea-recipe.html              A Simple Dish Thats Difficult to Share     By Melissa Clark                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/dining/f
2022-11-28   2022-11-30 ruitcake-recipe.html                          No Joke Fruitcake Can Be Fantastic         By Claire Saffitz               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/dining/t
2022-11-28   2022-11-30 anya-holland-california-soul.html             A West Coast Brand of Soul                 By Korsha Wilson                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/theater/ Let There Be Love and Before the Seventh
2022-11-28   2022-11-30 the-gett-review.html                          Day Divorce                                By Laura CollinsHughes          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/us/elea Eleanor Jackson Piel Steely Lawyer for the
2022-11-28   2022-11-30 nor-jackson-piel-dead.html                    Marginalized Dies at 102                   By Margalit Fox                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/us/prin Royal Trip to Boston Seeks to Reboot Family
2022-11-28   2022-11-30 ce-william-kate-earthshot-boston.html         Image                                      By Remy Tumin                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/article/tornado-      Particularly Dangerous Storms Wallop South By Jenny Gross Eduardo Medina
2022-11-28   2022-11-30 severe-storm-south.html                       With 2Inch Hail                            and Judson Jones                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/28/sports/b
                        aseball/hall-of-fame-committee-bonds-         Steroids Hurt Second Chance For Hall
2022-11-29   2022-11-30 clemens.html                                  Hopefuls                                   By Tyler Kepner                 TX 9-257-651   2023-01-03




                                                                               Page 4562 of 5793
                        https://www.nytimes.com/2022/11/28/us/polit Jan 6 House Committee Interviews Former
2022-11-29   2022-11-30 ics/tony-ornato-jan-6-committee.html        Secret Service Agent Again                  By Luke Broadwater              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/arts/des
                        ign/ganggang-racism-indianapolis-artists-
2022-11-29   2022-11-30 venable.html                                One Citys Steps to Artistic Diversity       By Sarah Bahr                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/arts/mu
2022-11-29   2022-11-30 sic/carlo-rizzi-conductor-met-opera.html    A Starry Season For a Workhorse             By Zachary Woolfe               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/arts/mu Charles Koppelman King Midas Of the
2022-11-29   2022-11-30 sic/charles-koppelman-dead.html             Music Industry Dies at 82                   By Ben Sisario                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/busines
2022-11-29   2022-11-30 s/architecture-mock-up-waste-reuse.html     In Gardens New Life for Construction Debris By Jane Margolies               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/busines For Some in China Events Reached a Tipping
2022-11-29   2022-11-30 s/china-protesters.html                     Point                                       By Li Yuan                      TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/busines Lockdowns Economic Pain Put China on         By Daisuke Wakabayashi Olivia
2022-11-29   2022-11-30 s/china-protests-covid-jobs.html            Path to Unrest                              Wang and Joy Dong               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/busines Inflation Rates Slow Slightly in Germany and
2022-11-29   2022-11-30 s/inflation-germany-spain.html              Spain                                       By Melissa Eddy                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/busines Britain Backs Nuclear Project Squeezing Out
2022-11-29   2022-11-30 s/uk-nuclear-plant-china.html               China                                       By Stanley Reed                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/busines For Biden Much Depends on Containing
2022-11-29   2022-11-30 s/ukraine-russia-biden-economy.html         Wars Economic Effects                       By Jim Tankersley               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/climate Year of Hurricanes Was Average but Had a
2022-11-29   2022-11-30 /hurricane-season-noaa.html                 Deadly Finish                               By Henry Fountain               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/dining/ MenuInspired Gifts for the Food Lovers in
2022-11-29   2022-11-30 holiday-gifts-restaurants.html              Your Life                                   By Nikita Richardson            TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/dining/ Torrisi Bar Restaurant From the Carbone
2022-11-29   2022-11-30 nyc-restaurant-news.html                    Team Opens in SoHo                          By Florence Fabricant           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/dining/r
                        estaurant-review-kolomon-nomad-ace-
2022-11-29   2022-11-30 hotel.html                                  Elegance and Other Viennese Wonders         By Pete Wells                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/dining/ Acclaimed Restaurant in Washington State
2022-11-29   2022-11-30 willows-inn-closes-allegations-abuse.html   Closes After Lawsuits                       By Julia Moskin                 TX 9-257-651   2023-01-03
                                                                    Universal Flu Vaccine Shows Promise in
                        https://www.nytimes.com/2022/11/29/health/ Animals Offering Hope of Curbing More
2022-11-29   2022-11-30 universal-flu-vaccine.html                  Viruses                                     By Apoorva Mandavilli           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/movies/
                        gotham-awards-adam-sandler-ke-huy-
2022-11-29   2022-11-30 quan.html                                   Everything Is Everywhere at the Gothams     By Kyle Buchanan                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/nyregio New York City Agrees to Pay For Release
2022-11-29   2022-11-30 n/new-york-rikers-settlement.html           Delays at Rikers                            By Benjamin Weiser              TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/29/nyregio New York Aims To Clear Streets Of Mentally By Andy Newman and Emma G
2022-11-29   2022-11-30 n/nyc-mentally-ill-involuntary-custody.html Ill                                       Fitzsimmons                       TX 9-257-651   2023-01-03




                                                                               Page 4563 of 5793
                        https://www.nytimes.com/2022/11/29/opinion
2022-11-29   2022-11-30 /charity-holiday-gift-black-farmers-fund.html Help Black Farmers This Holiday Season       By Tressie McMillan Cottom   TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/29/opinion
2022-11-29   2022-11-30 /herschel-walker.html                          The Pernicious Durability of Black Tokenism By John McWhorter            TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/29/opinion
2022-11-29   2022-11-30 /trump-kanye-antisemitism.html                 Trumps Antisemitic Table Was Set Long Ago By Bret Stephens               TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/29/sports/s
                        occer/christian-pulisic-us-advance-iran-world-
2022-11-29   2022-11-30 cup.html                                       Theyre Moving On                            By Andrew Das                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/29/sports/s
2022-11-29   2022-11-30 occer/world-cup-team-usa.html                  A Young US Team Passes a Crucial Test       By Rory Smith                TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/29/sports/
2022-11-29   2022-11-30 world-cup/england-wales-win-world-cup.html England Rises and Looks Formidable Again      By Ben Shpigel                 TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/29/technol How Founder Tried to Cling To Power as
2022-11-29   2022-11-30 ogy/sam-bankman-fried-ftx-bankruptcy.html FTX Imploded                                    By David YaffeBellany           TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/theater/
2022-11-29   2022-11-30 museum-of-broadway-patti-lupone.html           The Artifacts Of Broadway On Display       By Sarah Bahr                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/theater/
2022-11-29   2022-11-30 phantom-opera-broadway-closing.html            Phantom of the Opera To Delay Its Closing By Michael Paulson               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/us/desa Judge to Decide Whether DeSantis Went Too By Alexandra Glorioso and Patricia
2022-11-29   2022-11-30 ntis-warren-trial.html                         Far in Ousting a Florida Prosecutor        Mazzei                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/us/polit Top Lawmakers Rush to Prevent A Rail          By Michael D Shear and Emily
2022-11-29   2022-11-30 ics/biden-rail-strike.html                     Shutdown                                   Cochrane                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/us/polit Motivated by Federal Aid Utilities Are
2022-11-29   2022-11-30 ics/electric-utilities-biden-climate-bill.html Embracing Clean Energy                     By Eric Lipton                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/us/polit
                        ics/herschel-walker-georgia-texas-             Walker Doesnt Need To Reside in Georgia At
2022-11-29   2022-11-30 residence.html                                 Least Not for Now                          By Neil Vigdor                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/us/polit McCarthy Condemns Racist Guest of Trump
2022-11-29   2022-11-30 ics/mccarthy-trump-nick-fuentes.html           But Wont Fault Trump                       By Catie Edmondson              TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/us/polit Oath Keepers Leader Convicted Of Sedition
2022-11-29   2022-11-30 ics/oath-keepers-trial-verdict-jan-6.html      in a Key Jan 6 Case                        By Alan Feuer and Zach Montague TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/us/polit Marriage Bill Clears Senate and Heads to
2022-11-29   2022-11-30 ics/same-sex-marriage-bill-senate.html         Likely Approval in the House               By Annie Karni                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/us/polit Justices Consider a Case On Immigration
2022-11-29   2022-11-30 ics/supreme-court-biden-immigration.html       Policies                                   By Adam Liptak                  TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/us/polit Warnock Ad Shows Others Baffled by
2022-11-29   2022-11-30 ics/warnock-walker-georgia-ad.html             Walkers Words                              By Reid J Epstein               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/world/a
                        frica/angola-isabel-dos-santos-arrest-         Angola Seeks Graft Arrest Of Daughter Of
2022-11-29   2022-11-30 warrant.html                                   ExLeader                                   By John Eligon                  TX 9-257-651   2023-01-03




                                                                                 Page 4564 of 5793
                        https://www.nytimes.com/2022/11/29/world/a ApartheidEra Assassin Injured in Prison
2022-11-29   2022-11-30 frica/south-africa-assassin-stabbed.html    Stabbing                                    By Lynsey Chutel                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/world/a Jolted Awake Beijing Hurries To Quell
2022-11-29   2022-11-30 sia/china-protest-covid-security.html       Unrest                                      By Chris Buckley                 TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/world/a China Launches Giant Rocket to Take
2022-11-29   2022-11-30 sia/china-space-launch-astronauts.html      Astronauts to New Space Station             By Keith Bradsher                TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/world/a Critique of Indian Film Draws Fierce
2022-11-29   2022-11-30 sia/india-film-kashmir-files.html           Backlash                                    By Emily Schmall and Hari Kumar TX 9-257-651    2023-01-03
                        https://www.nytimes.com/2022/11/29/world/e Trouble in Europe Tests Old but Strained
2022-11-29   2022-11-30 urope/biden-macron-state-visit.html         FranceUS Bonds                              By Roger Cohen                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/world/e US Pledges 53 Million To Kyiv for Electrical By Edward Wong and Steven
2022-11-29   2022-11-30 urope/nato-ukraine.html                     Grid                                        Erlanger                         TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/world/e In Russians Wake Joy Quickly Turns to        By Jeffrey Gettleman and Finbarr
2022-11-29   2022-11-30 urope/ukraine-russia-pravdyne-grave.html    Horror                                      OReilly                          TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/world/e In Belarus Foreign Ministers Death and       By Andrew Higgins and Anatoly
2022-11-29   2022-11-30 urope/vladimir-makei-belarus-dies.html      Dissidents Illness Are Unexplained          Kurmanaev                        TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/health/l Alzheimers Drug Proves Marginally
2022-11-30   2022-11-30 ecanemab-alzheimers-drug.html               Beneficial With Risks                       By Pam Belluck                   TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/us/elect
                        ions/meadows-trump-georgia-election-        State Justices Reject Appeal By Meadows On
2022-11-30   2022-11-30 investigation.html                          Testimony                                   By Richard Fausset               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/29/us/polit A Free Speech Warrior With a Battle Plan
2022-11-30   2022-11-30 ics/elon-musk-free-speech.html              That Is All Over the Place                  By Blake Hounshell               TX 9-257-651   2023-01-03
                        https://www.nytimes.com/2022/11/30/insider/
2022-11-30   2022-11-30 investigating-the-sports-betting-boom.html  Blitzes and Bets The Sports Gambling Boom By Eric Lipton                     TX 9-257-651   2023-01-03

                        https://www.nytimes.com/2022/11/30/nyregio Adams Is Lured Abroad This Time By
2022-11-30   2022-11-30 n/mayor-adams-world-cup-antisemitism.html Antisemitism Forum and Soccer                By Dana Rubinstein              TX 9-257-651     2023-01-03

                        https://www.nytimes.com/2022/11/30/sports/f In the Right Hands Even Wounded Ducks
2022-11-30   2022-11-30 ootball/tua-tagovailoa-dolphins-season.html Soar Like Eagles                             By Mike Tanier                TX 9-257-651     2023-01-03
                        https://www.nytimes.com/2022/11/25/climate Here to Help A ClimateFriendly Holiday Gift
2022-11-25   2022-12-01 /climate-holiday-gift-guide.html            Guide                                        By Manuela Andreoni           TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/27/style/ch
2022-11-27   2022-12-01 ristmas-ornaments.html                      Christmas Ornaments That Glitter With Wit By Callie Holtermann             TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/27/style/ho An Inside Look at Creating Window
2022-11-27   2022-12-01 liday-windows-new-york.html                 Wonderlands                                  By Sarah Bahr                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/28/style/bu Shes Putting Buttocks Butts Really Front and
2022-11-28   2022-12-01 tts-a-backstory-radke.html                  Center                                       By Marisa Meltzer             TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/29/arts/mu
2022-11-29   2022-12-01 sic/funkflex-new-york-rap.html              Meet FunkFlex a HipHop Herodotus             By Jon Caramanica             TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/11/29/sports/s Simultaneous Matches A Little More Chaotic
2022-11-29   2022-12-01 occer/world-cup-games-same-time-why.html a Lot More Honest                             By Ben Shpigel                  TX 9-270-555     2023-02-01




                                                                               Page 4565 of 5793
                        https://www.nytimes.com/2022/11/29/style/sh
2022-11-29   2022-12-01 annon-abloh-virgil-abloh.html               Moving On and Taking the Reins              By Vanessa Friedman             TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/11/30/arts/dan
2022-11-30   2022-12-01 ce/review-complexions-dwight-rhoden.html A New Engagement but More of the Same            By Brian Seibert              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/arts/dan
2022-11-30   2022-12-01 ce/sally-silvers-40th-anniversary.html      Shes Still Transmuting the Surreal Into Dance By Gia Kourlas                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/arts/des
                        ign/grand-central-madison-kiki-smith-yayoi-
2022-11-30   2022-12-01 kusama.html                                 Vibrant Mosaics To Brighten Commutes          By Ted Loos                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/arts/des Planting a FluorescentPink Tree on the High
2022-11-30   2022-12-01 ign/high-line-pamela-rosenkranz.html        Line                                          By Hilarie M Sheets           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/arts/mu Christine McVie Wellspring of Soulful Hits
2022-11-30   2022-12-01 sic/christine-mcvie-dead.html               for Fleetwood Mac Dies at 79                  By Jim Farber                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/arts/ric A Chance to Hear From the Man Within the
2022-11-30   2022-12-01 hard-stengel-mandela-lost-tapes.html        Hero                                          By Alexis Soloski             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/busines Breach of the Big Silence Chinas Censors       By Paul Mozur Muyi Xiao and
2022-11-30   2022-12-01 s/china-protests-censorship-video.html      Scramble                                      John Liu                      TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/11/30/busines Amazon to Continue Sales of Antisemitic
2022-11-30   2022-12-01 s/dealbook/jassy-amazon-antisemitism.html Film                                           By Lauren Hirsch               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/busines
                        s/economy/david-lipton-step-down-          Yellen Aide Once Deputy At the IMF Steps
2022-11-30   2022-12-01 treasury.html                              Down                                          By Alan Rappeport              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/busines
2022-11-30   2022-12-01 s/economy/jolts-jobs-layoffs.html          Labor Market Cools But It Remains Strong      By Sydney Ember                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/busines After Backing Biden Some Rail Workers Now
2022-11-30   2022-12-01 s/freight-rail-labor-union.html            Feel Betrayed                                 By Noam Scheiber               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/busines
                        s/jeffrey-epstein-settlement-virgin-
2022-11-30   2022-12-01 islands.html                               Epstein Estate Agrees to Pay 105 Million      By Matthew Goldstein           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/busines CNN Cuts Jobs as CostSaving Pressure
2022-11-30   2022-12-01 s/media/layoffs-cnn.html                   Mounts                                        By Benjamin Mullin             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/busines Fed Signals It May Slow Increases to Interest
2022-11-30   2022-12-01 s/powell-fed-interest-rates-speech.html    Rate                                          By Jeanna Smialek              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/busines Speaking From Bahamas FTX Founder
2022-11-30   2022-12-01 s/sam-bankman-fried-ftx-collapse.html      Denies Fraud                                  By David YaffeBellany          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/busines
2022-11-30   2022-12-01 s/stock-market-today-powell.html           Shares Jump at Signal by Fed on Rates         By Isabella Simonetti          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/climate US to Give Tribes Millions To Escape
2022-11-30   2022-12-01 /native-tribes-relocate-climate.html       Climate Threats                               By Christopher Flavelle        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/health/ FDA Considers Shift In Blood Donor Policy By Christina Jewett and Emily
2022-11-30   2022-12-01 blood-donation-gay-bisexual-men.html       For Gay or Bisexual Men                       Anthes                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/movies/
2022-11-30   2022-12-01 theatrical-movies-streaming-oscars.html    Will Oscars Snub 2022s Streamers              By Kyle Buchanan               TX 9-270-555   2023-02-01



                                                                                Page 4566 of 5793
                        https://www.nytimes.com/2022/11/30/nyregio 17 Public Workers Are Charged With          By Benjamin Weiser Chelsia Rose
2022-11-30   2022-12-01 n/covid-relief-loans-fraud.html            Stealing Covid Funds                        Marcius and Jan Ransom            TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/nyregio
2022-11-30   2022-12-01 n/jeffrey-maddrey-nypd-promotion.html      New NYPD Chief Has Faced Discipline         By Chelsia Rose Marcius           TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/nyregio Agreeing Theres a Crisis but Not on a       By Emma G Fitzsimmons and
2022-11-30   2022-12-01 n/mental-health-plan-eric-adams.html       Response                                    Andy Newman                       TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/nyregio
                        n/new-york-mental-illness-homeless-
2022-11-30   2022-12-01 reaction.html                              On City Streets and in Subway Fear and Hope By Sarah Maslin Nir               TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/11/30/nyregio
2022-11-30   2022-12-01 n/nyu-engineering-downtown-brooklyn.html NYU Pledges 1 Billion to Engineering School By Kimiko de FreytasTamura          TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/11/30/nyregio Verdict on the Trump Organization Could         By Ben Protess Jonah E Bromwich
2022-11-30   2022-12-01 n/trump-organization-trial-weisselberg.html Hinge on 3 Words                               and William K Rashbaum          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/opinion
2022-11-30   2022-12-01 /china-covid-protests-xi-jinping.html       Banana Peels for Xi Jinping                    By Nicholas Kristof             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/opinion
2022-11-30   2022-12-01 /kevin-mccarthy-house-republicans.html      House Republicans Face a Triple Threat         By Matthew N Green              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/opinion Make Room Football New World Soccer Is on
2022-11-30   2022-12-01 /world-cup-north-american-soccer.html       the Rise                                       By Will Leitch                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/sports/b
                        asketball/the-celtics-have-found-a-new-way- Celtics Try New Route Back to NBA Finals
2022-11-30   2022-12-01 to-be-better-than-everyone-else.html        As Offense Leads Way                           By Scott Cacciola               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/sports/f John Hadl 82 Standout Quarterback In the
2022-11-30   2022-12-01 ootball/john-hadl-dead.html                 AFL Chargers Scoring Show                      By Richard Goldstein            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/sports/s Pulisic Is Listed as Day to Day But Expects to
2022-11-30   2022-12-01 occer/christian-pulisic-world-cup.html      Play on Saturday                               By Andrew Das                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/sports/s Denmark Never Got It Going And Tunisia
2022-11-30   2022-12-01 occer/france-tunisia.html                   Made a Wild Exit                               By Andrew Das                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/sports/s
2022-11-30   2022-12-01 occer/mexico-argentina-world-cup.html       A Whirlwind of a Finish                        By James Wagner                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/sports/s                                                By Sarah Lyall and Christina
2022-11-30   2022-12-01 occer/qatar-world-cup-vip.html              When Luxury Is Not Enough At World Cup Goldbaum                                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/style/al I Will Miss Alessandro Micheles Freaky
2022-11-30   2022-12-01 essandro-michele-gucci.html                 Geeky Gucci                                    By Vanessa Friedman             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/style/au A Brand and Its Namesake Both With Big
2022-11-30   2022-12-01 gustinus-bader-skin-care.html               Ambitions                                      By Jessica Iredale              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/style/sh
2022-11-30   2022-12-01 abbat-jewish-sabbath.html                   Shabbat Is a Salve and a Scene                 By Alyson Krueger               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/technol
                        ogy/medical-misinformation-covid-free-      Law to Stem Medical Misinformation Is
2022-11-30   2022-12-01 speech.html                                 Facing a Free Speech Challenge                 By Steven Lee Myers             TX 9-270-555   2023-02-01




                                                                                Page 4567 of 5793
                        https://www.nytimes.com/2022/11/30/technol
                        ogy/personaltech/amazon-halo-rise-          Amazon Offers to Review Your Sleep No
2022-11-30   2022-12-01 review.html                                 Thanks                                     By Brian X Chen                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/theater/
2022-11-30   2022-12-01 pat-benatar-invincible-musical.html          Romeo and Juliet Rockin Out Again         By Adam Nagourney                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/upshot/ Low Turnout of Black Voters in Midterms
2022-11-30   2022-12-01 midterms-election-black-turnout.html        Raises Questions for Democrats             By Nate Cohn                     TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/us/abor An Abortion Clinic Opens Its Doors And
2022-11-30   2022-12-01 tion-clinic-illinois.html                   Tensions Rise                              By Ava Sasani and Erin Schaff    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/us/geor Price of Insulin Resonates as Issue in
2022-11-30   2022-12-01 gia-senate-runoff-insulin.html              Georgias Senate Runoff                     By Rick Rojas                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/us/hiros Hiroshi Miyamura Medal of Honor Recipient
2022-11-30   2022-12-01 hi-miyamura-dead.html                       in Korean War Dies at 97                   By Richard Goldstein             TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/us/india Indiana Seeks to Punish a Doctor Over an   By Ava Sasani and Sheryl Gay
2022-11-30   2022-12-01 na-attorney-general-abortion-doctor.html    Abortion                                   Stolberg                         TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/us/polit
                        ics/georgia-senate-herschel-walker-raphael-
2022-11-30   2022-12-01 warnock.html                                Walkers Pause In Final Stretch Worries GOP By Maya King                     TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/us/polit Showing Unity Democrats Pick Jeffries as   By Annie Karni and Emily
2022-11-30   2022-12-01 ics/house-democrats-hakeem-jeffries.html    Minority Leader                            Cochrane                         TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/us/polit
2022-11-30   2022-12-01 ics/mccarthy-jan-6-committee.html           GOP Will Review Work of Jan 6 Panel        By Luke Broadwater               TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/us/polit How the Oath Keepers Trial Could Affect
2022-11-30   2022-12-01 ics/oath-keepers-stewart-rhodes.html        Coming Jan 6 Cases                         By Alan Feuer                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/us/polit House Passes Bill to Force Rail Deal and
2022-11-30   2022-12-01 ics/rail-workers-strike-house.html          Avert Strike                               By Emily Cochrane                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/us/polit House Committee Is Granted Access to
2022-11-30   2022-12-01 ics/trump-tax-returns.html                  Trumps Tax Returns                         By Charlie Savage                TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/11/30/us/shoo Images of Guns and Lyrics About Murder in
2022-11-30   2022-12-01 ting-suspect-video-university-virginia.html Shooting Suspects Video                      By Kris Rhim                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/world/a Specter of Impeachment For South Africa
2022-11-30   2022-12-01 frica/cyril-ramaphosa-impeachment.html      Leader                                       By John Eligon and Lynsey Chutel TX 9-270-555   2023-02-01
                                                                                                                 By Amy Chang Chien Chris
                        https://www.nytimes.com/2022/11/30/world/a Migrant Workers Active In Protests of         Buckley Muyi Xiao Joy Dong and
2022-11-30   2022-12-01 sia/china-covid-protest.html                Lockdowns                                    Olivia Wang                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/world/a History Suggests the Protesters in China Face
2022-11-30   2022-12-01 sia/china-covid-protests-xi-jinping.html    Tough Odds                                   By Max Fisher                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/world/a
2022-11-30   2022-12-01 sia/jiang-zemin-china-xi.html               Xis Challenge How to Mourn A Predecessor By Chris Buckley                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/world/a Jiang Zemin Chinas Leader After Tiananmen By Chris Buckley and Michael
2022-11-30   2022-12-01 sia/jiang-zemin-dead.html                   Dies at 96                                   Wines                            TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/11/30/world/e UK Palace Aide Quits After Grilling Black
2022-11-30   2022-12-01 urope/buckingham-palace-black-guest.html Guest                                         By Mark Landler                  TX 9-270-555     2023-02-01



                                                                                Page 4568 of 5793
                        https://www.nytimes.com/2022/11/30/world/e As Energy Prices Ease a Wary Eurozone Sees
2022-11-30   2022-12-01 urope/eurozone-inflation-november.html       Inflation Slow                           By Melissa Eddy                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/world/e The Baguette 250 Grams of Magic and        By Catherine Porter and Constant
2022-11-30   2022-12-01 urope/france-baguette-unesco.html            Perfection Earns Recognition             Mheut                              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/world/e NATO Nations Warming To US Pleas to        By Edward Wong and Steven
2022-11-30   2022-12-01 urope/nato-china-biden.html                  Adjust Strategy Toward China             Erlanger                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/world/e In BlackedOut Kyiv Life Goes On by
2022-11-30   2022-12-01 urope/ukraine-kyiv-power.html                Flashlight                               By Marc Santora                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/world/
2022-11-30   2022-12-01 middleeast/new-isis-leader.html              Islamic State Says Its Chief Was Killed  By Ben Hubbard                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/world/ Life Returns to an Oasis With the Thaw in
2022-11-30   2022-12-01 middleeast/qatar-saudi-world-cup.html        SaudiQatari Relations                    By Vivian Nereim                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/busines
                        s/dealbook/mike-pence-plays-to-the-gop-base-
2022-12-01   2022-12-01 from-a-times-stage.html                      Pence Sticks To Party Line About Jan 6   By Neil Vigdor                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/opinion
2022-12-01   2022-12-01 /gun-mass-shooting.html                      Armed for the Holidays                   By Gail Collins                    TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/11/30/technol Musks Misunderstanding With Apple Fixed
2022-12-01   2022-12-01 ogy/elon-musk-apple-misunderstanding.html He Says                                     By Kate Conger and Tripp Mickle TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/11/30/us/polit
                        ics/justice-department-jackson-water-       Justice Dept Strikes Deal To Fix Water In
2022-12-01   2022-12-01 system.html                                 Mississippi                               By Glenn Thrush                 TX 9-270-555      2023-02-01

                        https://www.nytimes.com/2022/11/30/world/e EU Chief Seeks New Court to Investigate
2022-12-01   2022-12-01 urope/russia-ukraine-war-crimes-court.html Possible Russian Crimes                    By Carly Olson and Matt Surman     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/style/go
2022-12-01   2022-12-01 ld-chains.html                              Set Off a Positive Chain Reaction         By Marisa Meltzer                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/24/movies/ JeanMarie Straub 89 Filmmaker And Radical
2022-11-24   2022-12-02 jean-marie-straub-dead.html                 of the French New Wave                    By Alex Williams                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/28/opinion How Would You Feel About a 100YearOld
2022-11-28   2022-12-02 /doctors-aging-competency-test.html         Doctor                                    By Sandeep Jauhar                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/movies/
2022-11-29   2022-12-02 ainbo-review.html                           Ainbo                                     By Beandrea July                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/opinion The Supreme Court Is Racing to Erase Lower By Lisa Tucker and Stefanie A
2022-11-29   2022-12-02 /supreme-court-decisions-vacated.html       Courts Major Decisions                    Lindquist                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/us/melo Melody Miller 77 an Adviser and Confidante
2022-11-29   2022-12-02 dy-miller-dead.html                         for One Kennedy After Another             By Clay Risen                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/arts/des
2022-11-30   2022-12-02 ign/art-basel-miami-beach-20-years.html     Marking 20 years in South Florida         By Ted Loos                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/arts/des
2022-11-30   2022-12-02 ign/art-basel-miami-beach-florida.html      Art in South Florida this winter          By Hilarie M Sheets                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/arts/des
                        ign/drum-listens-to-heart-images-words-and-
2022-11-30   2022-12-02 sculptures-bound-by-a-beat.html             An Urgent Beat Pulses Within Our Lives    By Jonathan Griffin                TX 9-270-555   2023-02-01



                                                                               Page 4569 of 5793
                        https://www.nytimes.com/2022/11/30/arts/des
2022-11-30   2022-12-02 ign/joseph-stella-floral-paintings.html     An urban painters fantastic floral visions    By Joseph B Treaster         TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/11/30/arts/des
2022-11-30   2022-12-02 ign/lari-pittman-art-basel-museo-jumex.html The many layers of Lari Pittman                By Ted Loos                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/arts/des
2022-11-30   2022-12-02 ign/michel-majerus-miami.html               Michel Majerus looked into the future          By Andrew Russeth           TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/arts/des
2022-11-30   2022-12-02 ign/nfts-museums.html                       Digital art finds another new audience         By Farah Nayeri             TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/arts/des
                        ign/palm-beach-botanic-gardens-joseph-      Like Joseph Stellas paintings Youll love these
2022-11-30   2022-12-02 stella.html                                 nearby gardens                                 By Joseph B Treaster        TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/arts/des
2022-11-30   2022-12-02 ign/pinaree-sanpitak-thai-artist.html       The sacred and the sensual                     By David Belcher            TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/arts/mu Wilko Johnson Frenetic Rocker And Punk
2022-11-30   2022-12-02 sic/wilko-johnson-dead.html                 Forerunner Dies at 75                          By Alex Williams            TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/11/30/climate Biden Vows Protection but Not Monument       By Coral Davenport Lisa Friedman
2022-11-30   2022-12-02 /biden-nevada-avi-kwa-ame.html               Status for Sacred Land                     and Christopher Flavelle         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/theater/ Michael Feingold 77 Critic Who Wasnt One
2022-11-30   2022-12-02 michael-feingold-dead.html                   To Mince Words Dies                        By Neil Genzlinger               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/world/e In Italy a Windfall of Aid May Help Rescue
2022-11-30   2022-12-02 urope/italian-village-jackpot.html           an Aging Village or Ruin It                By Jason Horowitz                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/world/e Concern Grows As ExMarine Held by Russia
2022-11-30   2022-12-02 urope/russia-paul-whelan-prisoner.html       Is Hospitalized                            By Michael Crowley               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/arts/des A New Space Offers Inspiration For Young
2022-12-01   2022-12-02 ign/bronx-childrens-museum-opens.html        Minds                                      By Laurel Graeber                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/arts/des
2022-12-01   2022-12-02 ign/casablanca-neue-galerie-lauder.html      Heres Looking at You Casablanca            By Jason Farago                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/arts/mu
2022-12-01   2022-12-02 sic/ukraine-shchedryk-childrens-choir.html   Singing Through the Chaos                  By Javier C Hernndez             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/arts/nyc
2022-12-01   2022-12-02 holiday-guide.html                           Festivities and Fun Are Back in Full Force By Kalia Richardson              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/arts/tele
                        vision/george-tammy-review-were-gonna-hold
2022-12-01   2022-12-02 on-until-we-dont.html                        Their Love Story Is in the Songs           By Mike Hale                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/arts/tele
2022-12-01   2022-12-02 vision/ghosts-three-pines-pantheon.html      This Weekend I Have                        By Margaret Lyons                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/busines Macron Persuades Biden to Alter Energy       By Alan Rappeport Ana Swanson
2022-12-01   2022-12-02 s/biden-macron-trade-eu-russia.html          Policy to Avoid Hurting Europe             and Jim Tankersley               TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/01/busines California Contemplates Billions in
2022-12-01   2022-12-02 s/economy/california-black-reparations.html Reparations                                   By Kurtis Lee                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/01/busines Feds Preferred Price Gauge Signals Slowing
2022-12-01   2022-12-02 s/inflation-federal-reserve.html            of Inflation                                  By Jeanna Smialek            TX 9-270-555     2023-02-01



                                                                                   Page 4570 of 5793
                        https://www.nytimes.com/2022/12/01/busines Gannett Chain Starts Another Round of
2022-12-01   2022-12-02 s/media/gannett-layoffs.html                Layoffs                                     By Benjamin Mullin         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/busines
2022-12-01   2022-12-02 s/ppp-loans-covid-fintech-fraud.html        2 Fintech Firms Cited for Covid Fraud       By Stacy Cowley            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/busines States Stimulus Aid Props Up Residents
2022-12-01   2022-12-02 s/state-tax-cuts-inflation.html             Incomes but Could Lift Prices Too           By Alan Rappeport          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/busines Luxury Soccer Jerseys but RockBottom
2022-12-01   2022-12-02 s/world-cup-myanmar-adidas-wages.html       Wages                                       By Elizabeth Paton         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 2nd-chance-review.html                      Life Isnt Bulletproof For an Entrepreneur   By Nicolas Rapold          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 darby-and-the-dead-review.html              Darby and the Dead                          By Natalia Winkelman       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 emancipation-review-will-smith.html         Tragic Photo Gets a Brutal Back Story       By Manohla Dargis          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 eternal-daughter-review-tilda-swinton.html  Ominous Shadows And Family Secrets          By Manohla Dargis          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 farha-review.html                           Farha                                       By Beatrice Loayza         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 four-samosas-review.html                    Four Samosas                                By Beatrice Loayza         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 framing-agnes-review.html                   Framing Agnes                               By Teo Bugbee              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 hunt-review.html                            Hunt                                        By Robert Daniels          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 lady-chatterleys-lover-review.html          A Love Whose Name Is Often Spoken           By AO Scott                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
                        lowndes-county-and-the-road-to-black-power- Lowndes County And the Road To Black
2022-12-01   2022-12-02 review.html                                 Power                                       By Devika Girish           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 return-to-seoul-review.html                 Robbed of a Life She Wouldnt Want to Live   By Amy Nicholson           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 scrooge-a-christmas-carol-review.html       Scrooge A Christmas Carol                   By Lisa Kennedy            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/ An Odd Match Allows Space for
2022-12-01   2022-12-02 spoiler-alert-review.html                   Idiosyncrasies                              By Amy Nicholson           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 sr-robert-downey-review.html                Sr                                          By Glenn Kenny             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 tantura-review.html                         Tantura                                     By Ben Kenigsberg          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 violent-night-review.html                   Hes a BurnedOut Cynic With Toys             By Elisabeth Vincentelli   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-02 what-remains-review.html                    What Remains                                By Brandon Yu              TX 9-270-555   2023-02-01




                                                                               Page 4571 of 5793
                        https://www.nytimes.com/2022/12/01/nyregio
                        n/cannabis-bacteria-pesticides-illegal-     Some Illicit Pot in Shops Is Tainted With
2022-12-01   2022-12-02 dispensary.html                             Toxins An Industry Report Says                  By Ashley Southall            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/nyregio Widespread Racial Disparities in Discipline
2022-12-01   2022-12-02 n/prisons-racial-bias-ny.html               Found at New York Prisons                       By Grace Ashford              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/nyregio
                        n/trump-organization-trial-closing-         As Trump Organization Trial Nears End
2022-12-01   2022-12-02 arguments.html                              Defense Blame Employees for Tax Fraud           By Jonah E Bromwich           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/opinion The Rail Labor Dispute Gives Biden a
2022-12-01   2022-12-02 /rail-strike-biden.html                     Chance to Prove Hes ProUnion                    By BINYAMIN APPELBAUM         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/sports/b Its a Happy Anniversary for Daz as He
2022-12-01   2022-12-02 aseball/edwin-diaz-mets.html                Celebrates His Mets Deal                        By Scott Miller               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/sports/b Gaylord Perry Cy Young Winner and Sly
2022-12-01   2022-12-02 aseball/gaylord-perry-dead.html             Slinger of Spitballs Dies at 84                 By Richard Goldstein          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/sports/s Belgiums Golden Era Ends Croatia Gets
2022-12-01   2022-12-02 occer/belgium-croatia-morocco.html          Second Chance                                   By James Wagner               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/sports/s Pulisic on the Mend but Still Uncertain for the
2022-12-01   2022-12-02 occer/christian-pulisic-us-netherlands.html US Match Against the Netherlands                By Andrew Das                 TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/01/sports/s
2022-12-01   2022-12-02 occer/japan-germany-world-cup-group-e.html The Party Crashers                          By John Branch                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/sports/s Female Referee Makes History Along With an
2022-12-01   2022-12-02 occer/world-cup-women-referee-crew.html     AllWoman Crew                              By Tom Nouvian                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/sports/ Tourists Accessorize in Branded Arab
2022-12-01   2022-12-02 world-cup/world-cup-head-scarf.html         Headwear And the Locals Love It            By Rory Smith and Tariq Panja      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/technol Facebook Failed to Identify Threats to
2022-12-01   2022-12-02 ogy/facebook-ads-threats.html               Election Workers                           By Stuart A Thompson               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/technol Yes Deal for RightWing Social Media Service
2022-12-01   2022-12-02 ogy/kanye-west-parler.html                  Unravels                                   By Kate Conger                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/technol
                        ogy/sam-bankman-fried-crypto-artificial-    Crypto Empires Collapse Disrupts Push to
2022-12-01   2022-12-02 intelligence.html                           Rein In Artificial Intelligence            By Cade Metz                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/theater/
2022-12-01   2022-12-02 john-kelly-underneath-the-skin.html         Drawn to the Journey of an Outlier         By Elisabeth Vincentelli           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/us/harv Jurors Hear Final Arguments in Weinsteins
2022-12-01   2022-12-02 ey-weinstein-trial.html                     West Coast Sex Crimes Trial                By Jill Cowan and Lauren Herstik   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/us/polit
                        ics/biden-immigration-asylum-               New Biden Plan for Migrant Restrictions    By Eileen Sullivan and Michael D
2022-12-01   2022-12-02 restrictions.html                           Mirrors Trump Policies                     Shear                              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/us/polit
                        ics/georgia-voting-election-law-            Absentee Votes Declined Even as Overall
2022-12-01   2022-12-02 midterms.html                               Turnout Stayed Strong in Georgia           By Nick Corasaniti                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/us/polit Rigorous Audits of Comey and McCabe Were
2022-12-01   2022-12-02 ics/irs-audit-comey-mccabe.html             Random IRS Report Suggests                 By Michael S Schmidt               TX 9-270-555   2023-02-01




                                                                               Page 4572 of 5793
                        https://www.nytimes.com/2022/12/01/us/polit Superyacht in Plain View but Out of US        By Kate Kelly Michael Forsythe
2022-12-01   2022-12-02 ics/madame-gu-yacht-dubai-russia.html       Reach                                         and Julian E Barnes               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/us/polit
                        ics/matt-gaetz-confidant-greenberg-         ExAssociate Of Gaetz Is Sentenced To 11       By Eric Adelson and Michael S
2022-12-01   2022-12-02 sentence.html                               Years                                         Schmidt                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/us/polit
2022-12-01   2022-12-02 ics/obama-warnock-georgia-runoff.html       Warnock Enlists Obama to Help in Runoff       By Maya King and Lisa Lerer       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/us/polit Bill to Prevent Railroad Strike Clears
2022-12-01   2022-12-02 ics/senate-rail-strike.html                 Congress                                      By Emily Cochrane                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/us/polit A State Visit to Cher Joe by My Friend The
2022-12-01   2022-12-02 ics/state-dinner-biden-macron.html          Allies Syrupy Rapport Isnt All for Show       By Katie Rogers                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/us/polit
                        ics/supreme-court-student-loan-             Supreme Court to Hear Case on Student Debt
2022-12-01   2022-12-02 forgiveness.html                            Plan                                          By Adam Liptak                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/us/polit Trump Embraces Extremism to Fuel His
2022-12-01   2022-12-02 ics/trump-extremism-candidacy.html          Campaign                                      By Peter Baker                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/us/polit Court Removes Special Master In Trump
2022-12-01   2022-12-02 ics/trump-special-master.html               Case                                          By Alan Feuer and Charlie Savage TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/01/world/a
                        frica/south-africa-president-cyril-
2022-12-01   2022-12-02 ramaphosa.html                              Scandal Threatens South African President     By John Eligon and Lynsey Chutel TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/01/world/a
                        mericas/brazil-yellow-jersey-world-cup-     Brazil Riven by Politics And a Beloved Jersey
2022-12-01   2022-12-02 neymar.html                                 Is Caught in the Middle                       By Jack Nicas                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/world/a China Appears to Ease Oppressive Covid
2022-12-01   2022-12-02 sia/china-covid-protests-restrictions.html  Rules                                         By David Pierson and Chang Che TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/01/world/a Smothered Under Xi Dissent Roars Back to
2022-12-01   2022-12-02 sia/china-covid-protests-xi-jinping.html    Life                                          By Chris Buckley                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/world/a A Migrant Laborer Dies Grieving Kin Await a By Mujib Mashal Bhadra Sharma
2022-12-01   2022-12-02 sia/nepal-migrant-deaths.html               Body                                          and Saumya Khandelwal             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/world/e Spain on Alert After Embassies Are Sent        By Jos Bautista Isabella Kwai and
2022-12-01   2022-12-02 urope/spain-letter-bombs.html               Bombs                                         John Ismay                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/opinion
2022-12-02   2022-12-02 /blockchains-what-are-they-good-for.html    Blockchains What Are They Good For            By Paul Krugman                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/us/polit Ending Protest Arizona County Certifies       By Charles Homans and Alexandra
2022-12-02   2022-12-02 ics/arizona-county-election-results.html    Election Results                              Berzon                            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/us/polit
                        ics/biden-dnc-primary-south-carolina-
2022-12-02   2022-12-02 2024.html                                   Biden Wants South Carolina as First Primary By Katie Glueck and Reid J Epstein TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/01/us/polit Biden Is Willing To Talk To Putin With        By Roger Cohen and Zolan
2022-12-02   2022-12-02 ics/biden-macron-putin-ukraine.html         Conditions                                    KannoYoungs                       TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/01/world/e Ukraine Restores Power Only for Bombs to     By Marc Santora Matthew Mpoke
2022-12-02   2022-12-02 urope/russia-ukraine-war-infrastructure.html Cause Blackouts                            Bigg and Ivan Nechepurenko        TX 9-270-555     2023-02-01




                                                                                Page 4573 of 5793
                        https://www.nytimes.com/2022/12/02/insider/
                        in-new-york-covering-all-things-
2022-12-02   2022-12-02 cannabis.html                                  Why the Metro Desk Needed a Cannabis Beat By Emmett Lindner       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/movies/
                        diary-of-a-wimpy-kid-rodrick-rules-
2022-12-02   2022-12-02 review.html                                    Diary of a Wimpy Kid Rodrick Rules         By Calum Marsh         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/us/bord Laredo Border Patrol Agent On Trial Over
2022-12-02   2022-12-02 er-patrol-murder-texas.html                    the Killing Of Four Prostitutes in 2018    By Edgar Sandoval      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/22/travel/a
2022-11-22   2022-12-03 ndaman-islands-beaches.html                    Remote Beautiful Rugged and Mysterious     By Jeffrey Gettleman   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/23/travel/a Many Carriers Have Cut Regional Airport
2022-11-23   2022-12-03 irlines-cut-flights-regional-airports.html     Service                                    By Julie Weed          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/opinion Mike Pence Is Having a Moment He Doesnt
2022-11-29   2022-12-03 /mike-pence-so-help-me-god.html                Deserve                                    By Carlos Lozada       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/arts/am
2022-12-01   2022-12-03 ber-heard-johnny-depp-appeals.html             Amber Heard Seeks New Defamation Trial By Julia Jacobs            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/arts/des
                        ign/art-basel-miami-beach-jorge-perez-
2022-12-01   2022-12-03 chambers.html                                  A Frenzy Of Buying For Sharks With Taste By Brett Sokol           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
                        jeanne-dielman-greatest-film-of-all-time-sight-Jeanne Dielman Takes No 1 in Movie
2022-12-01   2022-12-03 and-sound-poll.html                            Ranking                                    By Reggie Ugwu         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/opinion
                        /silicon-valley-zuckerberg-dorsey-nigeria-     Africa Is Waiting for What Big Tech
2022-12-01   2022-12-03 africa.html                                    Promised                                   By Ifeoma Ajunwa       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/us/polit
                        ics/can-herschel-walker-win-georgia-
2022-12-02   2022-12-03 senate.html                                    Georgia Senate Race Is Still Anybodys Game By Blake Hounshell     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/world/a Australia Drops Case On Rape in Parliament
2022-12-02   2022-12-03 ustralia/brittany-higgins-parliament.html      Citing Toll on Accuser                     By Yan Zhuang          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/arts/dan
                        ce/emanuel-gat-dance-review-tears-for-
2022-12-02   2022-12-03 fears.html                                     In Motion Until Theyre Worn Out            By Gia Kourlas         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/arts/dan
                        ce/sterling-hyltin-new-york-city-ballet-
2022-12-02   2022-12-03 retirement.html                                Sugarplums Swan Song                       By Marina Harss        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/arts/mu
2022-12-02   2022-12-03 sic/jnai-bridges-recital-review.html           Savoring A Splendid Sound                  By Oussama Zahr        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/arts/mu
                        sic/review-new-york-philharmonic-              Plucking Musical Treasures From Among the
2022-12-02   2022-12-03 shostakovich.html                              Neglected                                  By Zachary Woolfe      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/arts/mu Suspect Is Charged in Shooting Death of
2022-12-02   2022-12-03 sic/takeoff-migos-murder-arrest.html           Rapper                                     By Julia Jacobs        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/arts/mu
2022-12-02   2022-12-03 sic/tiktok-sped-up-remixes-nightcore.html      Nightcore Now Thriving on TikTok           By Cassidy George      TX 9-270-555   2023-02-01



                                                                                 Page 4574 of 5793
                        https://www.nytimes.com/2022/12/02/arts/tele Brad William Henke 56 NFL Player Who
2022-12-02   2022-12-03 vision/brad-william-henke-dead.html          Found a Second Career in Acting           By Derrick Bryson Taylor        TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/02/busines                                             By Paul Mozur Claire Fu and Amy
2022-12-02   2022-12-03 s/china-protests-surveillance.html           Beijings Eye Always Trails Protesters     Chang Chien                     TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/02/busines Four Major Chinese Solar Companies Tried to
2022-12-02   2022-12-03 s/economy/chinese-solar-makers-tariffs.html Evade US Tariffs Inquiry Finds             By Ana Swanson and Brad Plumer TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/busines Feds Increases Fail To Temper The Job
2022-12-02   2022-12-03 s/economy/jobs-report-november.html         Market                                     By Lydia DePillis              TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/02/busines
2022-12-02   2022-12-03 s/economy/stocks-jobs-report-inflation.html Shares Shudder After Strong Jobs Report     By Isabella Simonetti           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/busines As Global Forces Intervene on Oil Market
2022-12-02   2022-12-03 s/opec-oil-embargo-price-cap.html           OPEC Plus Weighs Its Options                By Stanley Reed                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/busines Kyivs Allies Agree to Cap On the Price Of    By Matina StevisGridneff Jim
2022-12-02   2022-12-03 s/russia-oil-price-cap.html                 Russia Oil                                  Tankersley and Alan Rappeport   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/busines
                        s/the-biden-economy-keeps-churning-out-     The Job Market Is Hot That Wont Help to     By Jim Tankersley and Jeanna
2022-12-02   2022-12-03 jobs.html                                   Cool Inflation                              Smialek                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/busines
2022-12-02   2022-12-03 s/uaw-union-election.html                   UAW Vote Reflects Call For Changes          By Neal E Boudette              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/health/c Danger Grows As China Eases Its Covid       By Benjamin Mueller and
2022-12-02   2022-12-03 hina-covid-lockdowns.html                   Rules                                       Alexandra Stevenson             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/movies/ Julia Reichert Documentarian of the Working
2022-12-02   2022-12-03 julia-reichert-dead.html                    Class Is Dead at 76                         By J Hoberman                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/nyregio
                        n/hospitals-emergency-room-mental-          A Thorny Plan to Help the Mentally Ill Even
2022-12-02   2022-12-03 illness.html                                Against Their Will                          By Joseph Goldstein             TX 9-270-555   2023-02-01
                                                                                                                By Jeffery C Mays Jonah E
                        https://www.nytimes.com/2022/12/02/nyregio James Aide Steps Down After Claims Of        Bromwich and William K
2022-12-02   2022-12-03 n/ibrahim-khan-james-harassment.html        Touching                                    Rashbaum                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/nyregio Mary Shannon Little 65 Prosecutor Who
2022-12-02   2022-12-03 n/mary-shannon-little-dead.html             Brought Moral Force to Work                 By Sam Roberts                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/nyregio
2022-12-02   2022-12-03 n/mental-illness-homeless-streets.html      Will Adams Succeed Where Others Didnt       By Andy Newman                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/nyregio Prosecutors Tell Jury That Trump Sanctioned By Jonah E Bromwich and Lola
2022-12-02   2022-12-03 n/trump-organization-trial-tax-fraud.html   Tax Fraud                                   Fadulu                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/opinion
2022-12-02   2022-12-03 /warnock-walker-runoff-georgia.html         What White Voters See in Herschel Walker By Dant Stewart                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/sports/b Winter Meetings to Begin the Season of
2022-12-02   2022-12-03 aseball/mlb-winter-meetings.html            Shortstops Plus Judge Verlander             By Scott Miller                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/sports/s
                        occer/cameroon-brazil-world-cup-            Switzerland Knocks Out Serbia And
2022-12-02   2022-12-03 switzerland.html                            Cameroon Makes History                      By Ben Shpigel                  TX 9-270-555   2023-02-01




                                                                               Page 4575 of 5793
                        https://www.nytimes.com/2022/12/02/sports/s Uruguays Hopes Briefly Lifted Are Dashed
2022-12-02   2022-12-03 occer/ghana-uruguay-world-cup.html          14 Miles Away                            By Tariq Panja                         TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/sports/s
                        occer/us-world-cup-team-soccer-             US Soccer Is More Diverse Today But What
2022-12-02   2022-12-03 diversity.html                              About Tomorrow                           By Kurt Streeter                       TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/sports/u US Team Has Planned to Achieve the
2022-12-02   2022-12-03 nited-states-netherlands-world-cup.html     Unexpected                               By Andrew Keh                          TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/02/sports/ A 6foot8 Dutchman Didnt Join the Police
2022-12-02   2022-12-03 world-cup/usa-netherlands-goalkeepers.html But May Solve a Mystery                       By Rory Smith                      TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/02/technol Twitter Flails In Its Bid For Advertisers As Its By Ryan Mac Mike Isaac and Kate
2022-12-02   2022-12-03 ogy/twitter-advertising-targets-missed.html Financial Expectations Worsen                   Conger                            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/technol Quantifying A Large Rise In Hate Speech
2022-12-02   2022-12-03 ogy/twitter-hate-speech.html                Under Musk                                      By Sheera Frenkel and Kate Conger TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/theater/
2022-12-02   2022-12-03 aint-no-mo-review.html                      Beneath the Jokes The Pain Persists             By Elisabeth Vincentelli          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/theater/
                        britney-spears-once-upon-one-more-time-
2022-12-02   2022-12-03 broadway.html                               Songs by Spears Headed to Broadway              By Michael Paulson                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/theater/ Further Courtroom Drama Over To Kill a          By Michael Paulson and Alexandra
2022-12-02   2022-12-03 to-kill-a-mockingbird-play.html             Mockingbird                                     Alter                             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/us/asia Aiming for an Ivy and Trying to Seem Less
2022-12-02   2022-12-03 n-american-college-applications.html        Asian                                           By Amy Qin                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/us/cong Office Lottery Gives Freshman Lawmakers a
2022-12-02   2022-12-03 ressional-freshmen-good-office.html         Chance to Feel Like Well Freshmen               By Stephanie Lai                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/us/polit Infowars Host Files for Bankruptcy Over
2022-12-02   2022-12-03 ics/alex-jones-bankruptcy.html              Sandy Hook Damages                              By Elizabeth Williamson           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/us/polit Brush With Royalty Caps Bidens Glamorous
2022-12-02   2022-12-03 ics/biden-prince-william.html               Week                                            By Zolan KannoYoungs              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/us/polit
                        ics/democrats-south-carolina-primary-
2022-12-02   2022-12-03 2024.html                                   Panel Backs Change to Democratic Primaries By Katie Glueck                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/us/polit Axed as Democrats First Stop Iowa Faces an
2022-12-02   2022-12-03 ics/iowa-caucus-democrats.html              Existential Crisis                              By Trip Gabriel                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/us/polit Biden Signs Bill Imposing Deal to Avert A       By Zolan KannoYoungs and Emily
2022-12-02   2022-12-03 ics/rail-strike-biden.html                  Rail Strike                                     Cochrane                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/us/polit Ceding Leadership Role Hoyer Recognizes
2022-12-02   2022-12-03 ics/steny-hoyer-step-aside.html             Shift                                           By Annie Karni                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/us/polit With Many Top Republicans Steering Clear
2022-12-02   2022-12-03 ics/walker-georgia-runoff-campaign.html     Walker Stresses His Georgia Roots               By Michael C Bender               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/us/polit
                        ics/warnock-georgia-senate-electric-
2022-12-02   2022-12-03 vehicles.html                               How GOP Minimized Warnocks Successes By Jonathan Weisman                          TX 9-270-555   2023-02-01




                                                                                 Page 4576 of 5793
                        https://www.nytimes.com/2022/12/02/us/prin
2022-12-02   2022-12-03 ce-william-kate-visit-boston.html          Bostonians View of Royal Visit Whatevah    By Jenna Russell                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/world/a
                        mericas/argentina-miguel-tomasin-          Musician With Down Syndrome Upends         By Anatoly Kurmanaev and Anita
2022-12-02   2022-12-03 drummer.html                               Alternative Sound                          Pouchard Serra                   TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/world/a Pakistans Embassy in Afghanistan Comes
2022-12-02   2022-12-03 sia/pakistan-kabul-embassy-militants.html  Under Fire                                 By Christina Goldbaum            TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/world/c
                        anada/canada-man-indigenous-women-         Canadian Man Charged With Murder of 4
2022-12-02   2022-12-03 murders.html                               Indigenous Women Who Went Missing          By Vjosa Isai and Norimitsu Onishi TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/world/e
                        urope/germany-russia-nord-stream-          How a Shadowy Arm of a German State        By Katrin Bennhold and Erika
2022-12-02   2022-12-03 pipeline.html                              Financed a Russian Pipeline                Solomon                          TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/02/world/e Hans Magnus Enzensberger 93 Leading Light
2022-12-02   2022-12-03 urope/hans-magnus-enzensberger-dead.html in German Letters Dies                       By Melissa Eddy                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/world/e Here Is How the Cap on the Price of Moscow By Matina StevisGridneff Jim
2022-12-02   2022-12-03 urope/russia-oil-price-cap-explain.html     Oil Will Work                             Tankersley and Alan Rappeport    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/world/g In Putin Call Scholz Vows Military Aid For
2022-12-02   2022-12-03 ermany-ukraine-support-putin.html           Ukraine                                   By Erika Solomon                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/world/p American in Russian Prison Breaks Silence
2022-12-02   2022-12-03 aul-whelan-russia-prison.html               With Family                               By Michael Crowley               TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/sports/b In Big Blow to Mets deGrom Signs 185
2022-12-03   2022-12-03 aseball/jacob-degrom-texas-rangers.html     Million Deal With Rangers                 By David Waldstein               TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/us/polit Russia Gives Frosty Response to Bidens    By Michael Crowley and Michael
2022-12-03   2022-12-03 ics/biden-putin-ukraine-talks.html          Ukraine Talks Offer                       D Shear                          TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/us/polit
2022-12-03   2022-12-03 ics/biden-state-dinner-macron-party.html    Glamour Schmoozing And American Wines By Katie Rogers                      TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/02/us/polit US Plans to End Mpox Emergency
2022-12-03   2022-12-03 ics/monkeypox-public-health-emergency.html Declaration in Two Months                  By Noah Weiland                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/us/trum Appointees Rebuke Tests Notion of Trump
2022-12-03   2022-12-03 p-judges.html                               Judges                                    By Charlie Savage and Alan Feuer TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/02/world/e On State Visit Macron Is Toast Of New
2022-12-03   2022-12-03 urope/macron-france-biden-diplomacy.html Orleans                                      By Roger Cohen                   TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/02/world/e Zelensky Pushes for Ban of Orthodox Church
2022-12-03   2022-12-03 urope/zelensky-ukraine-orthodox-church.html That Answers to Moscow                    By Marc Santora                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/03/your-
2022-12-03   2022-12-03 money/christmas-tree-cost-inflation.html    Price of a Tree to Put Up Is Going Up     By Ann Carrns                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2020/08/27/t-
2020-08-27   2022-12-04 magazine/skeleton-watches.html              Red Alert                                 By Jennifer Livingston           TX 9-270-555     2023-02-01




                                                                               Page 4577 of 5793
                        https://www.nytimes.com/2022/10/04/books/r
                        eview/looking-for-the-hidden-folk-nancy-
2022-10-04   2022-12-04 marie-brown.html                           Elf Indulgence                     By Liesl Schillinger      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/10/18/books/r
                        eview/rap-capital-an-atlanta-story-joe-
2022-10-18   2022-12-04 coscarelli.html                            Southern Rhythm                    By Joan Morgan            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/10/22/books/r
                        eview/the-confessions-of-matthew-strong-
2022-10-22   2022-12-04 ousmane-k-power-greene.html                Taken                              By Maya Binyam            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/10/22/books/r
                        eview/the-pachinko-parlor-elisa-shua-
2022-10-22   2022-12-04 dusapin.html                               Code Switch                        By Lily Meyer             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/10/23/books/r
                        eview/the-women-of-rothschild-natalie-
2022-10-23   2022-12-04 livingstone.html                           Family Matters                     By Miranda Seymour        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/10/25/books/r
2022-10-25   2022-12-04 eview/the-new-yorkers-sam-roberts.html     Humans of New York                 By Joshua JellySchapiro   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/10/26/books/r
                        eview/diaghilevs-empire-rupert-
2022-10-26   2022-12-04 christiansen.html                          At the Ballet                      By Alexandra Jacobs       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/10/29/books/r
2022-10-29   2022-12-04 eview/the-lemon-s-e-boyd.html              Dish                               By Madeleine Feeny        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/10/30/books/r
                        eview/bono-memoir-surrender-40-songs-one-
2022-10-30   2022-12-04 story.html                                 With or Without U2                 By Alan Light             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/01/books/r
2022-11-01   2022-12-04 eview/jerry-saltz-art-is-life.html         The Critics Life                   By Zo Lescaze             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/01/books/r
2022-11-01   2022-12-04 eview/trespasses-louise-kennedy.html       Boundaries                         By J Courtney Sullivan    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/01/books/r
2022-11-01   2022-12-04 eview/vigilance-andrew-k-diemer.html       The Conductor                      By Catherine Clinton      TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/11/02/books/r
2022-11-02   2022-12-04 eview/its-not-tv-felix-gillette-john-koblin.html HBO Bros                     By Sam AdlerBell          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/04/books/r
                        eview/we-all-want-impossible-things-
2022-11-04   2022-12-04 catherine-newman.html                            Friends to the End           By Julie Klam             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/05/books/r
                        eview/martha-graham-when-dance-became-
2022-11-05   2022-12-04 modern-neil-baldwin.html                         Movement Never Lies          By Brian Seibert          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/07/books/r
2022-11-07   2022-12-04 eview/flight-lynn-steger-strong.html             This Old House               By Sue Miller             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/07/books/r
                        eview/kevin-wilson-now-is-not-the-time-to-
2022-11-07   2022-12-04 panic.html                                       The Domino Effect            By Sloane Crosley         TX 9-270-555   2023-02-01



                                                                                  Page 4578 of 5793
                        https://www.nytimes.com/2022/11/07/books/r
2022-11-07   2022-12-04 eview/the-hyancinth-girl-lyndall-gordon.html Beau Idal                                 By Katie Roiphe                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/08/books/r
                        eview/the-lion-house-christopher-de-
2022-11-08   2022-12-04 bellaigue.html                               Battles and Bling                         By Marcel Theroux               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/14/books/r
2022-11-14   2022-12-04 eview/as-gods-matthew-cobb.html              Blinded by Science                        By Deborah Blum                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/15/books/r
                        eview/meg-howrey-theyre-going-to-love-
2022-11-15   2022-12-04 you.html                                     Dance                                     By Alex MarzanoLesnevich        TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/11/15/books/r
2022-11-15   2022-12-04 eview/the-great-air-race-john-lancaster.html The Wild Blue Yonder                       By James Fallows               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/21/t-
2022-11-21   2022-12-04 magazine/mud-dirt-theater-fashion.html       Dirty World                                By Nick Haramis                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/21/t-
2022-11-21   2022-12-04 magazine/olinto-hotel-morocco.html           T Introduces Olinto                        By Gisela Williams             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/22/style/go
2022-11-22   2022-12-04 ncharov-scorsese-tumblr.html                 A Universe Forms to Support a Phantom Film By Madison Malone Kircher      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/22/t-
                        magazine/rogelio-salmona-bogota-colombia-                                               By Michael Snyder and Rafael
2022-11-22   2022-12-04 architecture.html                            The Bricklayer                             Gamo                           TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/11/23/books/r Avatars Doubles Multitudes These Novels
2022-11-23   2022-12-04 eview/new-science-fiction-fantasy-books.html Explore Divided Selves                    By Amal ElMohtar                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/23/style/sa
2022-11-23   2022-12-04 luting-emoji-twitter-musk.html               Workers of the Tech World Salute          By Reyhan Harmanci              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/23/t-                                                  By Ligaya Mishan and Melody
2022-11-23   2022-12-04 magazine/eggplant-fruit-sex-emojis.html      Forbidden Fruit                           Melamed                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/23/t-
2022-11-23   2022-12-04 magazine/moon-jars-ceramics-pottery.html     Many Moons                                By Aileen Kwun and David Chow TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/23/t-                                                  By Anthony Cotsifas and Jocelyn
2022-11-23   2022-12-04 magazine/opals-jewelry.html                  Fire and Ice                              Cabral                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/24/books/r Write Every Day Tracy Deonn Recommends
2022-11-24   2022-12-04 eview/bloodmarked-tracy-deonn.html           Thinking Instead                          By Elisabeth Egan               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/26/books/r
                        eview/constance-wu-making-a-scene-uphill-
                        jemele-hill-home-bound-vanessa-a-bee-slow-
2022-11-26   2022-12-04 cooked-marion-nestle.html                    Memoirs                                   By Rajpreet Heir                TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/11/26/books/r
2022-11-26   2022-12-04 eview/last-day-in-lagos-marilyn-nance.html Continental                                 By Caleb Azumah Nelson          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/27/arts/tele
2022-11-27   2022-12-04 vision/bilal-baig-sort-of.html               For Bilal Baig Fame Arrives               By Alexis Soloski               TX 9-270-555   2023-02-01



                                                                                 Page 4579 of 5793
                        https://www.nytimes.com/2022/11/27/opinion
2022-11-27   2022-12-04 /prolonged-grief-suicide.html                Grief Is a Forever Thing                   By Jill Bialosky           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/27/realesta
2022-11-27   2022-12-04 te/apartment-landlord-harassment.html        Landlord vs Determined 77YearOld Tenant By Stefanos Chen              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/27/travel/c Cruise Lines Try to Adopt Green Habits
2022-11-27   2022-12-04 ruise-sustainability-climate-change.html     Amid Rebound                               By Maria Cramer            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/27/travel/h
2022-11-27   2022-12-04 awaii-sustainable-tourism.html               The Beauty Of Hawaii Focusing On Respect By Tariro Mzezewa            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/27/travel/l
2022-11-27   2022-12-04 ove-or-leave-winter-on-the-cheap.html        Love Winter For Less                       By Elaine Glusac           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/27/travel/n
2022-11-27   2022-12-04 ew-caribbean-hotels.html                     Places to Stay When Visiting The Caribbean By Stephanie Rosenbloom    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/27/travel/s
2022-11-27   2022-12-04 t-lucia-sustainable-tourism.html             Looking Locally In St Lucia                By Shayla Martin           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/27/travel/t
2022-11-27   2022-12-04 oddler-kids-vacation-beach.html              Still Waters Help Parents Keep Calm        By Heather Murphy          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/28/books/r
2022-11-28   2022-12-04 eview/winterland-rae-meadows.html            Gold                                       By Megan Abbott            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/28/magazi
2022-11-28   2022-12-04 ne/cardboard-international-paper.html        Boxed In                                   By Matthew Shaer           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/28/t-
                        magazine/london-design-art-deco-                                                        By Aimee Farrell and Lee
2022-11-28   2022-12-04 modernist.html                               The New Modernists                         Whittaker                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/28/t-
2022-11-28   2022-12-04 magazine/reinaldo-sanguino-vase.html          The Thing                                 By Nancy Hass              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/11/ Tom Stoppard Fears the Virus of
2022-11-28   2022-12-04 28/magazine/tom-stoppard-interview.html      Antisemitism Has Been Reactivated          By David Marchese          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/arts/mu It Takes a Lot of Inspiration to Make One
2022-11-29   2022-12-04 sic/stormzy-this-is-what-i-mean.html         Album                                      By Desiree Ibekwe          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/magazi
2022-11-29   2022-12-04 ne/community-band.html                       Community Band                             By Shea Tuttle             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/magazi Must I Mentor a White Law Student When I
2022-11-29   2022-12-04 ne/law-school-mentoring-race-ethics.html     Requested a Black Mentee                   By Kwame Anthony Appiah    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/magazi
2022-11-29   2022-12-04 ne/teen-pregnancy-abortion-judge.html        I Was Never Ready for This                 By Lizzie Presser          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/opinion Can We Really Love Our Children
2022-11-29   2022-12-04 /children-unconditional-love.html            Unconditionally                            By Ruth Whippman           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/opinion
2022-11-29   2022-12-04 /disney-robert-iger-bob-chapek.html          Bob Chapek Didnt Believe in Disney Magic By Len Testa                 TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/11/29/realesta The Racial Gap Begins at the Mortgage
2022-11-29   2022-12-04 te/black-homeowner-mortgage-racism.html Application                                  By Debra Kamin                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/realesta
2022-11-29   2022-12-04 te/los-angeles-redwood-forest.html          Out of the City And Into the Trees       By Tim McKeough               TX 9-270-555   2023-02-01




                                                                                Page 4580 of 5793
                        https://www.nytimes.com/2022/11/29/t-
                        magazine/floral-arrangements-
2022-11-29   2022-12-04 mantelpieces.html                            Center of Attention                         By Lindsay Talbot               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/t-
2022-11-29   2022-12-04 magazine/metallic-accessories.html           Metallic Accessories                        By Mari Maeda and Yuji Oboshi   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/t-
                        magazine/michael-verheyden-saartje-vereecke                                              By Michael Snyder and Martin
2022-11-29   2022-12-04 genk-belgium-house.html                      The House Is Also a Tool                    Morrell                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/us/mich Michael Pertschuk 89 Staunch Crusader
2022-11-29   2022-12-04 ael-pertschuk-dead.html                      Against Big Tobacco and for Auto Safety     By Sam Roberts                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/books/r
                        eview/fit-nation-natalia-mehlman-
2022-11-30   2022-12-04 petrzela.html                                Shredded                                    By Yasmine AlSayyad             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/magazi
2022-11-30   2022-12-04 ne/avatar-franchise.html                     In to the Blue                              By Jamie Lauren Keiles          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/magazi The Cake Recipe That Was a Secret for Two
2022-11-30   2022-12-04 ne/chiffon-cake-recipe.html                  Decades                                     By Ligaya Mishan                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/magazi When He Stood Up Quickly He Sometimes
2022-11-30   2022-12-04 ne/orthostatic-hypotension-diagnosis.html    Fainted What Was It                         By Lisa Sanders MD              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/magazi
2022-11-30   2022-12-04 ne/therapy-stutz-movie.html                  Safe Hands                                  By Zachary Siegel               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/opinion A 300YearOld Treaty And a Lesson on
2022-11-30   2022-12-04 /native-american-treaty-justice.html         Justice                                     By Nicole Eustace               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/realesta
                        te/for-sale-in-chile-a-modern-mediterranean- A Modern Mediterranean Villa With Plenty of
2022-11-30   2022-12-04 villa-for-2-5-million.html                   Space                                       By Lana Bortolot                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/realesta
                        te/homes-pennsylvania-arizona-north-         750000 Homes in Pennsylvania Arizona and
2022-11-30   2022-12-04 carolina.html                                North Carolina                              By Angela Serratore             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/style/va
2022-11-30   2022-12-04 cation-home-share-arrangement.html           No Room for Fighting                        By Philip Galanes               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/t-
                        magazine/atelier-vime-paris-apartment-                                                   By Laura May Todd and Yvan
2022-11-30   2022-12-04 design.html                                  The Weave of Time                           Moreau                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/t-        Yayoi Kusamas Signature Spots Return to
2022-11-30   2022-12-04 magazine/yayoi-kusama-louis-vuitton.html     Louis Vuitton                               By Lindsay Talbot               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/theater/
2022-11-30   2022-12-04 will-swenson-neil-diamond-broadway.html A Party Trick Impression Now a Role              By Laura CollinsHughes          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/arts/dan
2022-12-01   2022-12-04 ce/twyla-tharp-nine-sinatra-songs.html       Sinatras Classics Done Her Way              By Elizabeth Kendall            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/books/r
                        eview/sam-lipsyte-no-one-left-to-come-
2022-12-01   2022-12-04 looking-for-you.html                         All About That Bass                         By Adelle Waldman               TX 9-270-555   2023-02-01




                                                                                Page 4581 of 5793
                        https://www.nytimes.com/2022/12/01/fashion
2022-12-01   2022-12-04 /weddings/cannabis-marijuana-weddings.html Starting Out Marriage on a Recreational High By Mekita Rivas                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/magazi
2022-12-01   2022-12-04 ne/jessie-buckley-men-movie.html            Monster Talent                                By Jordan Kisner                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/magazi
                        ne/judge-john-hodgman-kitchen-
2022-12-01   2022-12-04 organization.html                           Bonus Advice From Judge John Hodgman          By John Hodgman                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/magazi                                                 By Coral Bracho and Victoria
2022-12-01   2022-12-04 ne/poem-intuitions-she.html                 Poem Intuitions She                           Chang                             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/movies/
2022-12-01   2022-12-04 top-gun-wakanda-forever-movie-stars.html    Where Did All the Movie Stars Go              By Wesley Morris                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/needies These Volunteers Give New Yorkers
2022-12-01   2022-12-04 t-cases/ny-ccba-encore-volunteers.html      Someone to Lean On                            By Callie Holtermann              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/opinion
2022-12-01   2022-12-04 /china-covid-protests.html                  Xi Broke Chinas Social Contract               By Yasheng Huang                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/realesta
2022-12-01   2022-12-04 te/rising-rent-us-cities.html               Rents Are Rising Faster Than Wages            By Stefanos Chen                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/sports/f Dont Overreact to Injuries Unless Theyre to a
2022-12-01   2022-12-04 ootball/nfl-week-13-picks.html              Quarterback                                   By David Hill                     TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/01/style/bo Forget Inside Its All Happening in the Parking
2022-12-01   2022-12-04 rn-x-raised-sadie-hawkins-winter-formal.html Lot                                           By Max Berlinger                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/style/pr
2022-12-01   2022-12-04 ince-william-kate-boston-visit.html          A Royal Visit to the US at a Careful Distance By Guy Trebay                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/t-                                                      By Coco Romack and Jooney
2022-12-01   2022-12-04 magazine/alexis-stone-dinner-party.html      London alexis stone                           Woodward                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/t-
                        magazine/big-freedia-soul-food-new-                                                        By Sandra E Garcia and Lelanie
2022-12-01   2022-12-04 orleans.html                                 New Orleans Big Freedia                       Foster                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/t-
                        magazine/chimamanda-ngozi-adichie-dinner-                                                  By Laura May Todd and Rachel
2022-12-01   2022-12-04 party.html                                   Lagos Nigeria Chimamanda Ngozi Adichie Seidu                                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/t-
2022-12-01   2022-12-04 magazine/dinner-parties.html                 Sit Next to Me                                By Hanya Yanagihara              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/t-
                        magazine/lorna-simpson-artist-dinner-                                                      By Sandra E Garcia and Joshua
2022-12-01   2022-12-04 party.html                                   Los Angeles Lorna SIMPSON Visual Artist Kissi                                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/t-
                        magazine/mercedes-bernal-meroma-                                                           By Jason Chen and Paulina Fi
2022-12-01   2022-12-04 jarilla.html                                 Morelos Mexico Mercedes Bernal                Garduo                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/t-                                                      By Laura May Todd and David
2022-12-01   2022-12-04 magazine/nadia-lee-cohen-dinner-party.html Los Angeles NADIA LEE COHEN                     Lpez Osuna                       TX 9-270-555   2023-02-01




                                                                                 Page 4582 of 5793
                        https://www.nytimes.com/2022/12/01/t-       New York City naima Green amp Sable Elyse By Lovia Gyarkye and Zachery
2022-12-01   2022-12-04 magazine/naima-green-sable-elyse-smith.html Smith                                     Kenric Ali                          TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/01/t-         New York City LaTanya Richardson Jackson
2022-12-01   2022-12-04 magazine/piano-lesson-samuel-l-jackson.html amp John David Washington                     By Juan A Ramrez                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/t-
                        magazine/terrence-kim-iise-korean-
2022-12-01   2022-12-04 barbecue.html                                 Gapyeong South Korea TERRENCE KIM           By John Wogan and Hasisi Park   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/t-
                        magazine/tomo-koizumi-tokyo-dinner-                                                       By Michiyo Nakamoto and
2022-12-01   2022-12-04 party.html                                    Tokyo Tomo Koizumi                          Motoyuki Daifu                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/t-
                        magazine/valentino-pierpaolo-piccioli-dinner-                                             By Laura May Todd and Robi
2022-12-01   2022-12-04 party.html                                    Paris Pierpaolo Piccioli                    Rodriguez                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/t-
2022-12-01   2022-12-04 magazine/women-talking-claire-foy.html        New York City Claire Foy amp Sarah Polley By Juan A Ramrez                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        01/realestate/buying-brooklyn-                Bidding on a Brooklyn Brownstone With a
2022-12-01   2022-12-04 brownstone.html                               Baby on the Way Which One Did They Buy By DEBRA KAMIN                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/style/cr After a Financial Crash the Crypto Party Must
2022-12-02   2022-12-04 ypto-awards.html                              Go On                                       By Jacob Bernstein              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/arts/des
2022-12-02   2022-12-04 ign/michaelina-wautier-artist-boston.html     Her Recognition Is Long Overdue             By Milton Esterow               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/arts/fre Freddie Roman King Of Catskills Comedy
2022-12-02   2022-12-04 ddie-roman-dead.html                          Dies at 85 in Florida                       By Richard Sandomir             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/arts/mu Frederick Swann a Master of the Pipe Organ
2022-12-02   2022-12-04 sic/frederick-swann-dead.html                 Is Dead at 91                               By Neil Genzlinger              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/arts/mu
2022-12-02   2022-12-04 sic/klaus-makela-conductor.html               At 26 a Maestro Is a FastRising Star        By Joshua Barone                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r
                        eview/bong-joon-ho-dissident-cinema-karen-
2022-12-02   2022-12-04 han.html                                      The Auteur                                  By Melissa Len                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r
2022-12-02   2022-12-04 eview/books-holiday-gifts-history.html        A History of Gift Books                     By Jennifer Harlan              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r
2022-12-02   2022-12-04 eview/childrens-holiday-gift-books.html       Childrens Books                             By Catherine Hong               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r
                        eview/cocktails-with-a-curator-xavier-f-
2022-12-02   2022-12-04 salomon.html                                  Artful Drinking                             By Rosie Schaap                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r
                        eview/eleanor-lanahan-paper-dolls-of-zelda-
2022-12-02   2022-12-04 fitzgerald.html                               Costume Artist                              By Paula McLain                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r The Late Great Paul Newman Michael K
2022-12-02   2022-12-04 eview/hollywood-books.html                    Williams and Stephen Sondheim               By Lisa Schwarzbaum             TX 9-270-555   2023-02-01



                                                                                Page 4583 of 5793
                        https://www.nytimes.com/2022/12/02/books/r
                        eview/human-playground-hannelore-
2022-12-02   2022-12-04 vandenbussche.html                           Playing Games                                By Will Blythe         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r A Cornucopia of Stories From the Past
2022-12-02   2022-12-04 eview/new-historical-fiction.html            Satisfying All Appetites                     By Alida Becker        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r
2022-12-02   2022-12-04 eview/new-music-books.html                   A Most Unlikely Pop Trio                     By Lauretta Charlton   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r
2022-12-02   2022-12-04 eview/new-psychological-thrillers.html       When Homicide Is a Family Affair             By Sarah Lyall         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r If Books Were Drinks These Would Be Hot
2022-12-02   2022-12-04 eview/new-romance-books.html                 Toddies                                      By Olivia Waite        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r
2022-12-02   2022-12-04 eview/new-travel-books.html                  Wheels Waves and Wings                       By S Kirk Walsh        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r
2022-12-02   2022-12-04 eview/penny-wolin-guest-register.html        Checking In                                  By Matthew Specktor    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r
2022-12-02   2022-12-04 eview/photography-books.html                 The Women Behind the Camera                  By Lucy Sante          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r
                        eview/rhona-bitner-listen-stages-studios-
2022-12-02   2022-12-04 shaped-american-music.html                   Unsound                                      By Jeff Gordinier      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r
2022-12-02   2022-12-04 eview/ryan-pfluger-holding-space.html        Love Supreme                                 By Nicole DennisBenn   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r
                        eview/scientific-illustration-anna-
2022-12-02   2022-12-04 escardo.html                                 Infographics                                 By Randall Munroe      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/books/r
2022-12-02   2022-12-04 eview/sports-roundup.html                    Sports                                       By Oskar Garcia        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/busines New Job Seekers Shift Their Priority to
2022-12-02   2022-12-04 s/dream-job-pandemic-layoffs.html            Stability                                    By Emma Goldberg       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/busines Younger Latinas Work to Make Retirement
2022-12-02   2022-12-04 s/retirement-latinas-personal-finance.html   Gains                                        By Tammy La Gorce      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/busines For Consistency Mutual Funds Are a Risky
2022-12-02   2022-12-04 s/stock-market-index-funds.html              Bet                                          By Jeff Sommer         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/nyregio Tackling the Citys Trash and Putting Rats on
2022-12-02   2022-12-04 n/jessica-tish-new-york-sanitation-rats.html Notice                                       By Dodai Stewart       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/nyregio Man Cleared in 1990 Killing of Tourist In
2022-12-02   2022-12-04 n/johnny-hincapie-exonerated-killing.html    New York City to Receive 18 Million          By Benjamin Weiser     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/nyregio New York Seeks Rat Czar With Killer
2022-12-02   2022-12-04 n/nyc-rat-control-job.html                   Instinct                                     By Dana Rubinstein     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/opinion
2022-12-02   2022-12-04 /america-world-war-iii.html                  Can America Envision World War III           By Stephen Wertheim    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/opinion
2022-12-02   2022-12-04 /college-oral-exam.html                      Bring Back the Oral Exam                     By Molly Worthen       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/opinion When Ron DeSantis Takes On Woke
2022-12-02   2022-12-04 /mccarthy-desantis-capitalism.html           Capitalism                                   By Jamelle Bouie       TX 9-270-555   2023-02-01



                                                                                Page 4584 of 5793
                        https://www.nytimes.com/2022/12/02/realesta
2022-12-02   2022-12-04 te/holiday-decorations-interior-design.html For the Holidays They Go Fearless         By Tim McKeough                   TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/realesta A 72 Million Penthouse on Central Park
2022-12-02   2022-12-04 te/top-nyc-real-estate-sales.html           Leads Sales in November                   By Vivian Marino                  TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/02/style/ali
2022-12-02   2022-12-04 son-grac-ramos-and-taylor-joseph-vogel.html From Study Hall to Forever Teammates         By Robbie Spencer                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/style/bo
2022-12-02   2022-12-04 thwell-lee-lynne-greene-wedding.html         Why So Glamorous She Just Couldnt Help It By Rosalie R Radomsky              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/style/dr
2022-12-02   2022-12-04 ew-wheeler-renee-blady.html                  A Wink a Nudge and an Assist From a Singer By Tammy La Gorce                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/style/ho She Is Breaking A Lot of Barriers In the DJ
2022-12-02   2022-12-04 neyluv-house-dj-lizzo-remix.html             Booth                                       By Ilana Kaplan                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/style/m
                        odern-love-mother-daughter-parkinsons-       Spending Some Time on a Few Family
2022-12-02   2022-12-04 disease.html                                 Matters                                     By Taryn Englehart               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/style/ro Once on Rival Campaigns but Now Partners
2022-12-02   2022-12-04 bert-flaherty-carla-frank-wedding.html       for Life                                    By Sadiba Hasan                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/style/w
                        here-did-the-royals-find-prince-georges-
2022-12-02   2022-12-04 nanny.html                                   Training Nannies to Be Fearless             By Saskia Solomon                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/t-
2022-12-02   2022-12-04 magazine/adrienne-kennedy-broadway.html Its Because Im a Black Woman                     By Scott Brown                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/t-                                                    By Gabriel Moses and Robbie
2022-12-02   2022-12-04 magazine/evening-formal-wear-fashion.html The Night Shift                                Spencer                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/us/gun- As Shootings Continue the Votes Arent There
2022-12-02   2022-12-04 control-congress.html                        for a Gun Control Law                       By Carl Hulse                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/us/sout
                        h-africa-president-cyril-ramaphosa-          Ending Silence South African Leader Vows to
2022-12-02   2022-12-04 report.html                                  Seek Reelection Amid Inquiry                By Lynsey Chutel and John Eligon TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/02/nyregio Judge Questions New York District Attorneys
2022-12-03   2022-12-04 n/mccarter-case-dismissed-bragg.html        Reasoning for Halting Case of 2020 Killing By Jonah E Bromwich              TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/us/polit
                        ics/michigan-democratic-presidential-       Car Parts Instead of Corn Dogs A Map Where
2022-12-03   2022-12-04 primary.html                                Michigan Precedes Iowa                     By Blake Hounshell               TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/03/busines After Years of Fanning Covid Fears Beijing
2022-12-03   2022-12-04 s/china-zero-covid.html                     Must Now Try to Allay Them                 By Keith Bradsher                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/03/busines Worsening Debt In Poor Nations Threatens
2022-12-03   2022-12-04 s/developing-countries-debt-defaults.html   Crisis                                     By Alan Rappeport                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/03/nyregio Druggings Deaths and Robberies Put Citys
2022-12-03   2022-12-04 n/gay-men-roofie-attacks-deaths.html        Gay Community on Edge                      By Liam Stack                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/03/nyregio
2022-12-03   2022-12-04 n/musicians-hudson-valley-catskills.html    Where Rockers Go for Their Second Acts     By Sal Cataldi                   TX 9-270-555     2023-02-01




                                                                                Page 4585 of 5793
                        https://www.nytimes.com/2022/12/03/nyregio
2022-12-03   2022-12-04 n/world-cup-messi-jasmine-garsd.html       A Day Thats Spent Immersed in Sounds         By Tammy La Gorce              TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/03/opinion Abortion Opponents Attack the Spread of      By Michele Goodwin and Mary
2022-12-03   2022-12-04 /abortion-first-amendment-free-speech.html Information                                  Ziegler                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/opinion
2022-12-03   2022-12-04 /canada-euthanasia.html                      Euthanasia In Canada                       By Ross Douthat                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/opinion
                        /charity-holiday-gift-chadtough-rory-
2022-12-03   2022-12-04 staunton.html                                2 Children Died Thousands Can Be Helped    By Maureen Dowd                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/opinion
2022-12-03   2022-12-04 /china-covid-protests.html                   A Powerful Display Of Dissent in China     By The Editorial Board         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/opinion
2022-12-03   2022-12-04 /tim-keller-forgiveness.html                 What Too Little Forgiveness Does to Us     By Timothy Keller              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/opinion
2022-12-03   2022-12-04 /ukraine-women.html                          Ukrainian Women Fight For Liberation       By Nicholas Kristof            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/realesta
                        te/my-building-has-replaced-our-keys-with-an-If a Key App Fails to Open My Door Can I
2022-12-03   2022-12-04 app-is-that-legal.html                       Demand a Traditional Backup                By Ronda Kaysen                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/sports/b Is deGrom Texas New Ace the Second
2022-12-03   2022-12-04 aseball/jacob-degrom-mets.html               Greatest Pitcher in Mets History           By Benjamin Hoffman            TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/03/sports/n Losses Leave Big Gaps and Paltry Options for
2022-12-03   2022-12-04 caafootball/tcu-college-football-playoff.html Playoff Field                               By Billy Witz                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/sports/s
2022-12-03   2022-12-04 occer/messi-argentina-world-cup.html          In His 1000th Game Messi Manages a First By James Wagner                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/sports/s That Old Familiar Song Is Sounding a Little
2022-12-03   2022-12-04 occer/team-usa-world-cup.html                 Different This Time                         By John Branch               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/sports/s
2022-12-03   2022-12-04 occer/us-out-world-cup-netherlands.html       For US Team The Dutch End Those WhatIfs By Andrew Keh                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/travel/b
2022-12-03   2022-12-04 eginner-learn-to-ski.html                     On the Slopes Many Happy Returns            By Elisabeth Vincentelli     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/travel/n
2022-12-03   2022-12-04 ew-ski-lifts.html                             New Lifts Shorter Waits Faster Rides        By Christopher Steiner       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/travel/s
2022-12-03   2022-12-04 kiing-club-med-quebec-charlevoix.html         A Club Med Swaps Sand For Snow              By Amy Virshup               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/travel/s
                        kiing-snowboarding-overcrowding-lift-
2022-12-03   2022-12-04 lines.html                                    Carving A Path To Reclaim The Snow          By David Goodman             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/travel/
2022-12-03   2022-12-04 winter-hotels-united-states-europe.html       Cozy Perches For Enjoying Winter Fun        By Amy Tara Koch             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/travel/
2022-12-03   2022-12-04 winter-wildlife-bird-watching.html            Searching In the Quiet For Winters Wildlife By Elaine Glusac             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/us/idah Empty Classes and Jangled Nerves in Idaho
2022-12-03   2022-12-04 o-university-moscow-killings.html             Town After Murders                          By Nicholas BogelBurroughs   TX 9-270-555   2023-02-01



                                                                                Page 4586 of 5793
                        https://www.nytimes.com/2022/12/03/us/polit For Many Black Voters Walkers Troubles      By Maya King Clyde McGrady and
2022-12-03   2022-12-04 ics/georgia-senate-runoff-black-voters.html Mar Historic Moment                         Jazmine Ulloa                  TX 9-270-555           2023-02-01
                        https://www.nytimes.com/2022/12/03/world/a
                        frica/south-africa-cyril-ramaphosa-         Ending Silence South African Leader Vows to
2022-12-03   2022-12-04 impeachment.html                            Seek Reelection Amid Inquiry                By John Eligon                 TX 9-270-555           2023-02-01

                        https://www.nytimes.com/2022/12/03/world/a
2022-12-03   2022-12-04 mericas/viking-cruise-ship-rogue-wave.html One Dead as Huge Wave Hits Cruise Ship           By Amanda Holpuch                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/world/a A March Across India With Democracy at
2022-12-03   2022-12-04 sia/india-rahul-gandhi.html                 Risk                                            By Sameer Yasir                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/world/e
                        urope/italy-landslide-illegal-construction- Deadly Disaster Turns Italys Focus to Illegal
2022-12-03   2022-12-04 ischia.html                                 Construction                                    By Gaia Pianigiani                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/world/e Evacuation Call Signals New Ukraine
2022-12-03   2022-12-04 urope/ukraine-kherson-evacuation.html       Offensive                                       By Marc Santora                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/world/e                                                  By Jeffrey Gettleman and Finbarr
2022-12-03   2022-12-04 urope/ukraine-kherson-treason.html          He Set Russian Free For Kyiv Thats Treason      OReilly                            TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/03/sports/n
                        caafootball/capturing-sec-title-georgia-gets- Georgia Leaves No Doubt About Its Grip on
2022-12-04   2022-12-04 the-bizarre-breaks-lsu-usually-loves.html     Top Spot                                  By Alan Blinder                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/busines
                        s/chess-cheating-scandal-magnus-carlsen-      Hes the Bad Boy Of the Chess World Did He By David Segal and Dylan Loeb
2022-12-04   2022-12-04 hans-niemann.html                             Cheat                                     McClain                                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/busines
                        s/the-week-in-business-upheaval-in-
2022-12-04   2022-12-04 china.html                                    The Week in Business Upheaval in China    By Marie Solis                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/climate
                        /texas-public-policy-foundation-climate-      Offshore Power Finds Rich Foe In Oil
2022-12-04   2022-12-04 change.html                                   Country                                   By David Gelles                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/insider/
                        i-thought-i-would-always-be-a-writer-then-i-
2022-12-04   2022-12-04 saw-the-other-side.html                       How Editing Revealed a Well of Generosity By Marie Solis                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/sports/s
                        occer/at-qatars-church-city-sunday-comes-on- How Migrant Churchgoers Keep the Faith in By John Branch and Tasneem
2022-12-04   2022-12-04 friday.html                                   Qatar                                     Alsultan                               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/style/gr In the Pink and Enjoying a Creative
2022-12-04   2022-12-04 eta-gerwig-in-the-pink.html                   Whirlwind                                 By Maureen Dowd                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/style/ja
                        red-leto-hailee-steinfeld-art-basel-miami-
2022-12-04   2022-12-04 parties.html                                  Party Circuit Is Warmed Up                By Denny Lee                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/us/arka Weighing Legality of Arkansas Ban On Care
2022-12-04   2022-12-04 nsas-hormone-therapy-transgender.html         for Transgender Youth                     By Eliza Fawcett                       TX 9-270-555   2023-02-01




                                                                                  Page 4587 of 5793
                        https://www.nytimes.com/2022/12/04/us/polit
                        ics/democrats-presidential-primary-         Reordered Primaries Create New Gambits for
2022-12-04   2022-12-04 calendar.html                               the Political Chessboard                      By Blake Hounshell and Lisa Lerer TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/world/a
2022-12-04   2022-12-04 sia/china-xi-jinping-covid-zero.html        Beijings Bargain With Its People Is Shaken By Vivian Wang                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/world/
                        middleeast/qatar-israel-world-cup-arab-     Israeli Journalists at World Cup Get a Chilly By Vivian Nereim and Patrick
2022-12-04   2022-12-04 palestinian.html                            Reception From Arab Fans                      Kingsley                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/nyregio Green Spaces and Inviting Waters That
2022-12-06   2022-12-04 n/bronx-parks-nyc.html                      Define the Bronx                              By David Gonzalez                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2019/08/07/t-
2019-08-07   2022-12-04 magazine/tomo-koizumi-fashion.html          Tokyo Tomo Koizumi Fashion Designer           By Osman Ahmed                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/books/k
2022-11-30   2022-12-05 im-de-l-horizon-german-book-prize.html      Bending the Rules in Life and in Grammar      By Thomas Rogers                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/theater/
2022-12-01   2022-12-05 the-wiz-broadway.html                       The Wiz Reimagined Is Heading to Broadway By Kalia Richardson                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/travel/c How Passengers Can Fall Overboard on a
2022-12-01   2022-12-05 ruise-ship-overboard-survival.html          Cruise And How One Man Lived                  By Maria Cramer                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/briefing Population Growth Makes Hurricanes More By Ian Prasad Philbrick and Ashley
2022-12-02   2022-12-05 /why-hurricanes-cost-more.html              Costly                                        Wu                                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/movies/
2022-12-02   2022-12-05 emma-corrin-lady-chatterleys-lover.html     Emma Corrin Is EverEvolving                   By Melena Ryzik                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/movies/
2022-12-02   2022-12-05 holiday-christmas-horror-movies.html        Santa Isnt Always His Jolly Old Self          By Erik Piepenburg                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/nyregio Socialite Gets Year in Prison For Secret
2022-12-02   2022-12-05 n/hadley-palmer-jail-sentence.html          Videos of Minors                              By McKenna Oxenden                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/world/e In the Retro Heat Pump Germany Sees Its        By Melissa Eddy and Patrick
2022-12-02   2022-12-05 urope/germany-heat-pumps.html               Future                                        Junker                            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/books/j John Prados 71 Master of Uncovering
2022-12-03   2022-12-05 ohn-prados-dead.html                        Government Secrets                            By Clay Risen                     TX 9-270-555   2023-02-01
                                                                                                                  By Andrew Ross Sorkin Ravi
                                                                                                                  Mattu Bernhard Warner Sarah
                        https://www.nytimes.com/2022/12/03/busines                                                Kessler Stephen Gandel Michael J
                        s/dealbook/dealbook-summit-ftx-zuckerberg- News and Highlights From Last Weeks            de la Merced Lauren Hirsch and
2022-12-03   2022-12-05 zelensky.html                               DealBook Summit                               Ephrat Livni                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/obituari Overlooked No More Ann Davison Who
2022-12-03   2022-12-05 es/ann-davison-overlooked.html              Daringly Crossed the Atlantic Alone           By Erica Westly                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/sports/s
                        occer/world-cup-soccer-afghanistan-         Afghan Women 7000 Miles From Home and
2022-12-03   2022-12-05 women.html                                  Exiled to a Soccer Wilderness                 By Juliet Macur                   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/03/sports/s
2022-12-03   2022-12-05 occer/world-cup-tyler-adams-hometown.html Hometown Takes Pride in US Captain            By Grace Ashford                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/03/us/lgbt Man Arrested Over Threats To Doctor for
2022-12-03   2022-12-05 q-patients-doctor-threatened-boston.html    Trans Children                              By McKenna Oxenden                TX 9-270-555     2023-02-01



                                                                                Page 4588 of 5793
                        https://www.nytimes.com/2022/12/03/arts/ali Aline KominskyCrumb Pioneer of
2022-12-04   2022-12-05 ne-kominsky-crumb-dead.html                 Autobiographical Comics Dies at 74           By Richard Sandomir       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/sports/n
                        caafootball/deion-sanders-colorado-jackson- New Gig for Coach Prime Sanders Goes to
2022-12-04   2022-12-05 state.html                                  Colorado                                     By Alan Blinder           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/arts/go Has a Word of the Year Lost It Like the Rest
2022-12-04   2022-12-05 blin-mode-oxford-word.html                  of Us                                        By Jennifer Schuessler    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/arts/mu The Mets Staging of a Classic Isnt Dead Yet
2022-12-04   2022-12-05 sic/review-met-opera-aida.html              But                                          By Zachary Woolfe         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/briefing
2022-12-04   2022-12-05 /railroad-workers-demands.html              A Rail Deal Avoids Crisis and Opens Pitfalls By Ian Prasad Philbrick   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/busines
2022-12-04   2022-12-05 s/media/fox-dominion-lawsuit.html           Tensions Rise In a Key Suit Against Fox      By Jeremy W Peters        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/busines
                        s/media/youtube-creator-economy-rhett-and- From Cow Pasture to Gold Mine YouTube
2022-12-04   2022-12-05 link.html                                   Duos Winding Journey                         By Benjamin Mullin        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/busines OPEC and Russia Leave Oil Production
2022-12-04   2022-12-05 s/opec-plus-oil-production.html             Unchanged                                    By Stanley Reed           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/fashion
                        /craftsmanship-florist-domitille-basso-
2022-12-04   2022-12-05 paris.html                                  Flowers go wild                              By Tina IsaacGoiz         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/fashion
2022-12-04   2022-12-05 /craftsmanship-oman-khanjar-dagger.html     A dagger of national pride                   By David Belcher          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/fashion
                        /craftsmanship-pottery-sinead-fagan-
2022-12-04   2022-12-05 ireland.html                                Colors by chance and skill                   By Sandra Jordan          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/fashion
                        /craftsmanship-watches-hajime-asaoka-
2022-12-04   2022-12-05 tokyo.html                                  When design takes the lead                   By Vivian Morelli         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/fashion
                        /craftsmanship-wood-antrei-hartikainen-
2022-12-04   2022-12-05 finland.html                                Woodworker or artist                         By Penelope Colston       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/fashion
2022-12-04   2022-12-05 /jewelry-boucheron-asbestos-waste.html      Waste Not Want Yes                           By Tina IsaacGoiz         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/fashion
                        /trends/perfume-sustainability-ffern-
2022-12-04   2022-12-05 england.html                                Sustainable scents                           By Isabella Kwai          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/nyregio Adamss Trip to Qatar Was a Bit of a Mystery
2022-12-04   2022-12-05 n/eric-adams-qatar-trip.html                Tour                                         By Emma G Fitzsimmons     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/opinion
2022-12-04   2022-12-05 /303-creative-supreme-court.html            When Gay and Religious Freedoms Clash        By Tish Harrison Warren   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/opinion
2022-12-04   2022-12-05 /brian-kemp-herschel-walker.html            The Man Who Neutered Trump                   By Michelle Cottle        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/opinion
2022-12-04   2022-12-05 /free-to-be-you-and-me-anni.html            Free to Be You and Me Or Not                 By Pamela Paul            TX 9-270-555   2023-02-01



                                                                                Page 4589 of 5793
                        https://www.nytimes.com/2022/12/04/sports/f
                        ootball/deshaun-watson-browns-texans-         Amid Boos and With Accusers on Hand
2022-12-04   2022-12-05 score.html                                    Watson Ends 700Day Hiatus                  By Jenny Vrentas                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/sports/f
                        ootball/giants-washington-commanders-
2022-12-04   2022-12-05 score.html                                    Both Needed the Win Both Settled for a Tie By Ken Belson                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/sports/f
2022-12-04   2022-12-05 ootball/nfl-week-13-scores.html               What We Learned This Week                  By Derrik Klassen                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/sports/ With Mbapp France Has Fuel For Title
2022-12-04   2022-12-05 mbappe-france-world-cup-bracket.html          Defense                                    By James Wagner                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/sports/n
                        caafootball/playoff-georgia-michigan-tcu-ohio In Bid for Playoff Spot Saban Was
2022-12-04   2022-12-05 state.html                                    Everywhere but Got Nowhere                 By Billy Witz                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/sports/s
2022-12-04   2022-12-05 occer/england-showdown-france.html            Surging Toward a Showdown                  By Tariq Panja                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/sports/ Werner Franke Who Exposed East Germanys
2022-12-04   2022-12-05 werner-franke-dead.html                       Doping Plot Dies at 82                     By Richard Sandomir              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/us/polit
                        ics/gay-rights-supreme-court-first-
2022-12-04   2022-12-05 amendment.html                                Justices Face A New Clash On Gay Rights    By Adam Liptak                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/us/polit Trumps Call To Suspend Constitution Gets
2022-12-04   2022-12-05 ics/trump-constitution-republicans.html       Rebukes                                    By Maggie Astor                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/us/polit How Harlem Shaped Warnocks Faith and
2022-12-04   2022-12-05 ics/warnock-harlem-politics-faith.html        Politics                                   By Katie Glueck                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/us/pow Intentional Attack Causes Power Outage in a By April Rubin Livia AlbeckRipka
2022-12-04   2022-12-05 er-outages-north-carolina.html                North Carolina County                      and Matt Stevens                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/world/a
2022-12-04   2022-12-05 sia/omega-x-kpop-abuse.html                   A KPop Band Claims Abuse It Isnt the First By John Yoon and Mike Ives       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/world/ Cracks in Iran Morality Police Are Said to
2022-12-04   2022-12-05 middleeast/iran-morality-police.html          End                                        By Vivian Yee and Farnaz Fassihi TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/04/busines Musk and an Independent Journalist Ignite
2022-12-05   2022-12-05 s/media/elon-musk-twitter-matt-taibbi.html Debate by Releasing the Twitter Files      By Michael M Grynbaum             TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/04/sports/b Crime Dog McGriff to Cooperstown
2022-12-05   2022-12-05 aseball/fred-mcgriff-hall-of-fame.html      SteroidTainted Peers Are Not              By Scott Miller                   TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/04/theater/
2022-12-05   2022-12-05 a-beautiful-noise-review.html               Good Songs Never Seemed So Sad            By Elisabeth Vincentelli          TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/04/theater/
2022-12-05   2022-12-05 becky-nurse-of-salem-review.html            Sorcery Afoot but Lacking Enchantment     By Maya Phillips                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/04/us/geor Walker and Warnock Lean Into the Final     By Jazmine Ulloa Maya King and
2022-12-05   2022-12-05 gia-senate-runoff-warnock-walker.html       Stretch                                   Reid J Epstein                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/04/us/matt- Pastor Returns After Messages Were Deemed
2022-12-05   2022-12-05 chandler-village-church-dallas.html         Inappropriate                             By Ruth Graham                    TX 9-270-555     2023-02-01




                                                                               Page 4590 of 5793
                        https://www.nytimes.com/2022/12/05/arts/tele
                        vision/tv-this-week-his-dark-materials-
2022-12-05   2022-12-05 peoples-choice-awards.html                   This Week on TV                             By Gabe Cohn                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/busines
2022-12-05   2022-12-05 s/europe-france-power-outages.html           Europeans Prepare for Power Outages         By Liz Alderman                  TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/05/nyregio Twin Friends of Adams Are Dogged by           By Michael Rothfeld William K
2022-12-05   2022-12-05 n/eric-adams-petrosyants-nyc-restaurant.html Allegations and Debts                       Rashbaum and Susan C Beachy      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/world/e Skyrocketing Prices in Turkey Hurt Families
2022-12-05   2022-12-05 urope/turkey-inflation-erdogan.html          and Tarnish Erdogan                         By Ben Hubbard                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/world/e
                        urope/ukraine-war-sanctions-russia-          Wars Sanctions Slowly Undercut Russian      By Valerie Hopkins and Anatoly
2022-12-05   2022-12-05 economy.html                                 Economy                                     Kurmanaev                        TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/11/23/briefing Sizing Up the First BacktoNormal School
2022-11-23   2022-12-06 /sizing-up-the-first-normal-school-year.html Year                                        By Jonathan Wolfe                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/25/well/mi
2022-11-25   2022-12-06 nd/schadenfreude-freudenfreude.html          Shared Joy Acts Like Social Glue            By Juli Fraga                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/28/well/fa Why Is It Hard for Men to Make Close
2022-11-28   2022-12-06 mily/male-friendship-loneliness.html         Friends                                     By Catherine Pearson             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/us/meli
2022-11-29   2022-12-06 ssa-highsmith-kidnapped-found.html           Abducted as a Baby She Finds Family at 53   By Jesus Jimnez                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/well/m Will Exercising With a Cold Make You
2022-11-29   2022-12-06 ove/exercise-sick-cold.html                  Sicker                                      By Rachel Rabkin Peachman        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/health/
2022-11-30   2022-12-06 deaths-seniors-alcohol-drugs.html            Older Adults Grapple With Substance Abuse   By Roni Caryn Rabin              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/science Secretions Got Ant Milk It Can Do a Whole
2022-11-30   2022-12-06 /ant-milk.html                               Colony Of Bodies Good                       By Joshua Sokol                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/science A DNA Divide Among Ashkenazi Jews
2022-11-30   2022-12-06 /ashkenazi-jews-genetic-history.html         Disappears                                  By Elie Dolgin                   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/11/30/science
2022-11-30   2022-12-06 /physics-wormhole-quantum-computer.html The Tiniest Wormhole You Could Imagine         By Dennis Overbye                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/well/pl
                        anter-fasciitis-symptoms-treatment-        Plantar Fasciitis Remains An AllTooFamiliar
2022-11-30   2022-12-06 prevention.html                            Foe                                         By Dani Blum                       TX 9-270-555   2023-02-01

                                                                                                                 By Tiffanie Graham and Catherine
                        https://www.nytimes.com/interactive/2022/11/                                             Pearson and Photographs by Sara
                        30/well/family/breastfeeding-nursing-                                                    Naomi Lewkowicz Vanessa Leroy
2022-11-30   2022-12-06 formula.html                                 What It Really Takes to Breastfeed a Baby   Sarah Rice and Yehyun Kim        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/science Penguinish Behavior A Dinosaur That Liked
2022-12-01   2022-12-06 /diving-dinosaur-penguin.html                To Plunge Before Preying                    By Kate Golembiewski             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/science Magnificent Magma At Yellowstone More
2022-12-01   2022-12-06 /yellowstone-volcano-magma.html              Molten Rock but No Reason for Alarm         By Robin George Andrews          TX 9-270-555   2023-02-01



                                                                                Page 4591 of 5793
                        https://www.nytimes.com/2022/12/01/us/barb Barbara Love Who Fought for Lesbians to
2022-12-01   2022-12-06 ara-love-dead.html                           Have a Voice Dies at 85                       By Penelope Green                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/well/ho
2022-12-02   2022-12-06 liday-heart-health-risks-drinking.html       Holiday Drinking Can Harm Your Heart          By Dani Blum                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/arts/des
2022-12-02   2022-12-06 ign/class-issues-exhibit-berlin.html         Did Artists With Trust Funds Make These       By Josie ThaddeusJohns           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/arts/tele
2022-12-02   2022-12-06 vision/the-crown-king-charles.html           Charles Finds That Its Good to Be King        By Mark Landler                  TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/02/busines Why Are MiddleAged Men Missing From the By Jeanna Smialek Lydia DePillis
2022-12-02   2022-12-06 s/economy/job-market-middle-aged-men.html Labor Market                                  and Ben Casselman                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/health/a Targeting a Genetic Risk For Alzheimers
2022-12-02   2022-12-06 lzheimers-apoe4-gene-therapy.html            Disease                                    By Gina Kolata                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/health/
2022-12-02   2022-12-06 dogs-canine-flu.html                         If Fido Is Coughing It Could Mean Dog Flu By Emily Anthes                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/movies/ Worthwhile Choices That Really Pack a
2022-12-02   2022-12-06 action-movies-streaming.html                 Wallop                                     By Robert Daniels                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/books/a
2022-12-03   2022-12-06 stra-magazine.html                           The Little Magazine That Just Couldnt      By Kate Dwyer                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/health/e
2022-12-03   2022-12-06 lderly-living-alone.html                     Who Will Care for the Kinless Seniors      By Paula Span                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        02/us/elections/georgia-senate-results-      These Georgia Precincts Were Red Then Blue By Jason Kao Denise Lu Christine
2022-12-03   2022-12-06 analysis.html                                Now They Are Purple                        Zhang and Saurabh Datar             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/arts/dan
2022-12-04   2022-12-06 ce/are-you-in-your-feelings-review.html      Moving to Loves Ups and Downs              By Siobhan Burke                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/opinion                                              By Elisabeth Schimpfssl and Felix
2022-12-04   2022-12-06 /russia-lgbt-putin.html                      Russias Politicians Cant Bear This Book    Sandalov                            TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/04/world/e Hunting Mushrooms in Forests Rife With       By Maria Varenikova and Brendan
2022-12-04   2022-12-06 urope/ukraine-mines-mushroom-hunters.html Mines                                         Hoffman                         TX 9-270-555       2023-02-01
                        https://www.nytimes.com/2022/12/04/arts/tele Bob McGrath Cheery Neighbor Of Oscar the
2022-12-05   2022-12-06 vision/bob-mcgrath-dead.html                 Grouch Dies at 90                          By Anita Gates                  TX 9-270-555       2023-02-01
                        https://www.nytimes.com/2022/12/05/arts/mu
2022-12-05   2022-12-06 sic/grawemeyer-award-music-2023.html         DisasterInspired Work Receives Music Prize By Javier C Hernndez            TX 9-270-555       2023-02-01

                        https://www.nytimes.com/2022/12/05/arts/mu At Kennedy Honors Ovations Not Only for           By Emily Cochrane and Catie
2022-12-05   2022-12-06 sic/paul-pelosi-kennedy-center-honors.html Arts                                              Edmondson                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/arts/mu
                        sic/taylor-swift-christmas-billboard-
2022-12-05   2022-12-06 charts.html                                  A Merry Christmas and Also Taylor Swift         By Ben Sisario                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/arts/tele
2022-12-05   2022-12-06 vision/f-murray-abraham-white-lotus.html     At 83 a Versatile Star Still Thrilled by Acting By Chris Vognar                TX 9-270-555   2023-02-01




                                                                                  Page 4592 of 5793
                        https://www.nytimes.com/2022/12/05/busines It Just Angers Me Crypto Crisis Drains Small
2022-12-05   2022-12-06 s/cryptocurrency-investors-ftx-blockfi.html Investors Savings                           By Matthew Goldstein            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/busines GMA3 Anchors Pulled From Air For             By John Koblin and Michael M
2022-12-05   2022-12-06 s/media/abc-news-holmes-robach.html         Relationship                                Grynbaum                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/busines                                              By Noam Scheiber and Kellen
2022-12-05   2022-12-06 s/microsoft-activision-game-union.html      Video Game Workers Look To Unionize         Browning                        TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/05/fashion
2022-12-05   2022-12-06 /bulgari-serpenti-75th-anniversary-rome.html Bulgaris Serpenti turns 75               By Kathleen Beckett               TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/05/fashion
2022-12-05   2022-12-06 /couture-costume-jewelry-auction-paris.html The costume jewelry draw                  By Tina IsaacGoiz                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/fashion
2022-12-05   2022-12-06 /gems-mines-united-states.html               Gems made in the USA                     By Victoria Gomelsky              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/fashion
2022-12-05   2022-12-06 /jewelry-asprey-jadeite-london.html          A new Asprey collection                  By Milena Lazazzera               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/fashion
2022-12-05   2022-12-06 /jewelry-bella-thorne-los-angeles.html       Building a dynasty                       By Jessica Bumpus                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/fashion
                        /jewelry-craftsmanship-louisa-guinness-
2022-12-05   2022-12-06 london.html                                  More with modest materials               By Sarah RoyceGreensill           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/fashion
2022-12-05   2022-12-06 /jewelry-dinh-van-paris.html                 Genderless and minimalist                By Tina IsaacGoiz                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/fashion
                        /jewelry-emmanuel-tarpin-coral-reefs-french-
2022-12-05   2022-12-06 polynesia.html                               Using gems to help nature                By Tanya Dukes                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/fashion
2022-12-05   2022-12-06 /jewelry-inspired-childhood-memories.html Wearing childhood memories                  By Kathleen Beckett               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/fashion
2022-12-05   2022-12-06 /jewelry-mini-maxi-trends.html               The contrast when mini meets maxi        By Victoria Gomelsky              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/fashion
2022-12-05   2022-12-06 /jewelry-sam-lafford-dublin.html             A style chameleon stands out             By Sandra Jordan                  TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/05/fashion
2022-12-05   2022-12-06 /jewelry-sustainability-christina-t-miller.html Forging a new path                       By Vivian Morelli              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/fashion
                        /trends/jewelry-trends-net-a-porter-saks-
2022-12-05   2022-12-06 liberty.html                                    Jewelry in 2023 Big and small            By Rachel Felder               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/nyregio ExJustice Official to Assist Manhattan DA
2022-12-05   2022-12-06 n/alvin-bragg-trump-investigation.html          Trump Case                               By Jonah E Bromwich            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/nyregio Bribery Charges Dismissed for ExLieutenant By Benjamin Weiser and Nicholas
2022-12-05   2022-12-06 n/brian-benjamin-charges-bribery.html           Governor                                 Fandos                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/nyregio Plan to Move Mentally Ill Into Treatment Puts
2022-12-05   2022-12-06 n/mental-health-plan-nypd.html                  Onus On New York Citys Police            By Corey Kilgannon             TX 9-270-555   2023-02-01



                                                                                  Page 4593 of 5793
                        https://www.nytimes.com/2022/12/05/nyregio The Chinese Diaspora Worried Wary and
2022-12-05   2022-12-06 n/new-york-china-protests.html              Protesting                                   By Amelia Nierenberg                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/opinion The Political Winds Are Blowing And
2022-12-05   2022-12-06 /biden-georgia-runoff-student-loans.html    Blowing                                      By Gail Collins and Bret Stephens   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/opinion A Fringe Claim Before the Supreme Court
2022-12-05   2022-12-06 /supreme-court-elections-vote.html          Would Upend Democracy                        By Roy Cooper                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/science Crazy About Kelp This Sea Cow Was
2022-12-05   2022-12-06 /sea-cow-california-kelp.html               Apparently Never Late for Dinner             By Oliver Whang                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/sports/b A Hall of Fame Lineup Out of NonHall of
2022-12-05   2022-12-06 aseball/barry-bonds-hall-of-fame.html       Famers                                       By Benjamin Hoffman                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/sports/b Mets Reload Rotation in Big Way With 2Year
2022-12-05   2022-12-06 aseball/justin-verlander-mets.html          86 Million Deal for Verlander                By Scott Miller                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/sports/s Dominant Brazil Joyfully Dances Its Way Into
2022-12-05   2022-12-06 occer/neymar-brazil-goals-win.html          the Quarterfinals                            By Andrew Keh                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/sports/t Nick Bollettieri 91 Coach Whose Tennis
2022-12-05   2022-12-06 ennis/nick-bollettieri-dead.html            Academy Churned Out Champions                By Richard Goldstein                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/technol After FTX Crypto Sector Scrambles To Save
2022-12-05   2022-12-06 ogy/crypto-future-ftx.html                  Itself                                       By David YaffeBellany               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/theater/
2022-12-05   2022-12-06 fat-ham-broadway.html                       Fat Ham a Riff on Hamlet Is BroadwayBound By Michael Paulson                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/us/felip Felipe A Valls Sr 89 Whose Restaurant
2022-12-05   2022-12-06 e-avalls-dead.html                          Reflects the Pulse of Cuban Life in Miami    By Christina Morales                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/us/gran Influencer Is Fined After Sending a Golf Ball
2022-12-05   2022-12-06 d-canyon-golf-tiktok.html                   and Club Into the Grand Canyon               By Eduardo Medina                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/us/polit Arizona Backs Voting Results After Delays
2022-12-05   2022-12-06 ics/arizona-midterm-results-certify.html    By 2 Counties                                By Alexandra Berzon                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/us/polit
2022-12-05   2022-12-06 ics/bad-spaniels-jack-daniels-dog-toy.html  Distiller Says Dog Chew Toy Hurts Brand      By Adam Liptak                      TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/05/us/polit Innovation Hubs Could Lift LeftBehind Areas
2022-12-05   2022-12-06 ics/chips-act-congress-innovation-hubs.html But How Much Will Congress Fund Them        By Jim Tankersley                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/us/polit
                        ics/cruise-missiles-russia-ukraine-         Missiles Fired By Russia Built Recently
2022-12-05   2022-12-06 sanctions.html                              Despite Curbs                               By John Ismay                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/us/polit
2022-12-05   2022-12-06 ics/proud-boys-jan-6.html                   Proud Boys Want Officer As Witness          By Alan Feuer                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/us/supr
2022-12-05   2022-12-06 eme-court-same-sex-marriage.html            Justices Weigh Religion Rights Vs Bias Laws By Adam Liptak                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/world/a South Africa President To Avoid
2022-12-05   2022-12-06 frica/south-africa-ramaphosa-anc.html       Impeachment With the ANCs Help              By John Eligon                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/world/a
                        frica/sudan-military-democracy-coalition-   In Sudan Military Signs a Peace Deal With a
2022-12-05   2022-12-06 deal.html                                   ProDemocracy Coalition                      By Abdi Latif Dahir                  TX 9-270-555   2023-02-01




                                                                                 Page 4594 of 5793
                        https://www.nytimes.com/2022/12/05/world/a
                        mericas/peru-pedro-castillo-               Perus Leftist Leader Faces Another Attempt      By Mitra Taj and Genevieve
2022-12-05   2022-12-06 impeachment.html                           to Drive Him From Office                        Glatsky                        TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/05/world/a Protests Linger in China Though Intensity       By Chang Che Chris Buckley Amy
2022-12-05   2022-12-06 sia/china-covid-protests.html              Cools                                           Chang Chien and Joy Dong       TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/05/world/a Beijings Critics Abroad Hope Solidarity
2022-12-05   2022-12-06 sia/china-protests-students-abroad.html    Grows From Rallies Over Covid Strictures        By Tiffany May and John Liu       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/world/a In Papua New Guinea Taking First Step to
2022-12-05   2022-12-06 ustralia/bougainville-rio-tinto-mine.html  Address a Mines Toxic Legacy                    By Yan Zhuang                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/world/a A New Zealand Baby Needs Surgery But
2022-12-05   2022-12-06 ustralia/new-zealand-baby-vaccine.html     Mother Wants Unvaccinated Blood                 By Emanuel Stoakes                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/world/e Trial Starts for 10 Men Accused of
2022-12-05   2022-12-06 urope/brussels-terror-attack-trial.html    Conducting Brussels Terror Attack               By Monika Pronczuk                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/world/e Russian Law Hits Citizens Identifying As
2022-12-05   2022-12-06 urope/russia-ban-lgbtq-propaganda.html     LGBTQ                                           By Emma Bubola                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/world/e Measures Aimed at Decreasing Russias Oil
2022-12-05   2022-12-06 urope/russia-oil-price-cap-embargo.html    Income Take Effect                              By Stanley Reed                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/world/e As Winter Sets In Khersons Few Remaining
2022-12-05   2022-12-06 urope/ukraine-kherson-russia.html          Occupants Are Lonely and Cold                   By Jeffrey Gettleman              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/world/ Iran Bans Morality Police Leaving Many           By Cora Engelbrecht and Farnaz
2022-12-05   2022-12-06 middleeast/iran-morality-police.html       Questions Over Islamic Dress Code               Fassihi                           TX 9-270-555   2023-02-01

                        https://www.nytimes.com/live/2022/12/05/spo
                        rts/japan-croatia-world-cup-score/in-a-world- Croatia Brings Order Vs a Japanese Team
2022-12-05   2022-12-06 cup-full-of-chaos-this-one-was-routine        Specializing in Chaos                        By Rory Smith                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/live/2022/12/05/wo
                        rld/russia-ukraine-war-news/medvedchuk-       Ukraine to Sell Off the Royal Romance a      By Emma Bubola and Anastasia
2022-12-05   2022-12-06 yacht-auction-ukraine                         Yacht Seized From a Putin Ally               Kuznietsova                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/nyregio
                        n/torso-killer-richard-cottingham-cold-       Torso Killer Confesses To 5 ColdCase
2022-12-06   2022-12-06 case.html                                     Murders                                      By Ed Shanahan                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/opinion
2022-12-06   2022-12-06 /trump-evangelical-leaders.html               Evangelical Leaders Empty Gestures           By Michelle Goldberg              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/theater/
2022-12-06   2022-12-06 the-far-country-review.html                   Immigration Has an Emotional Price           By Alexis Soloski                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/us/davi
2022-12-06   2022-12-06 d-rivera-venezuela-arrest.html                Former Florida Congressman Is Arrested       By Patricia Mazzei               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/05/us/nort                                                 By Campbell Robertson and Daniel
2022-12-06   2022-12-06 h-carolina-power-station-attack.html          N Carolina Reels From Power Station Attack   Johnson                          TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/05/us/polit
                        ics/georgia-senate-runoff-election-day-       Final Pleas in Contest to Shape The Senate   By Reid J Epstein Jazmine Ulloa
2022-12-06   2022-12-06 turnout.html                                  and Define Georgia                           and Maya King                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/us/polit White House Offers New Protections to
2022-12-06   2022-12-06 ics/haitians-tps-biden-migrants.html          110000 Haitians Who Fled Turmoil             By Eileen Sullivan                TX 9-270-555   2023-02-01




                                                                                 Page 4595 of 5793
                        https://www.nytimes.com/2022/12/05/world/e Ukrainians Send Drones at Bases Far Inside    By Andrew E Kramer Michael
2022-12-06   2022-12-06 urope/ukraine-russia-military-bases.html     Russia                                      Schwirtz and Marc Santora         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/busines Employment In America Is a Puzzle The         By Talmon Joseph Smith and
2022-12-06   2022-12-06 s/economy/maritime-jobs-labor.html           Question Where Are All the Men              Lindsey Wasson                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/nyregio New School Adjuncts Push for Better Pay
2022-12-06   2022-12-06 n/new-school-parsons-strike.html             Drives a Bitter Strike                      By Kimiko de FreytasTamura        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/sports/s
2022-12-06   2022-12-06 occer/spain-black-players-world-cup.html     A Team Finally for All of Spain             By Rory Smith                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/us/polit The Safety Net For Covid Care Is Going
2022-12-06   2022-12-06 ics/covid-testing-treatment-uninsured.html   Away                                        By Noah Weiland and Sarah Kliff   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/us/polit 5 Key Factors in Runoff For Georgia Senate
2022-12-06   2022-12-06 ics/georgia-senate-runoff-election.html      Seat                                        By Jonathan Weisman               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/dining/
2022-11-30   2022-12-07 homemade-holiday-food-gifts.html             Homemade Food Gifts Theyll Love             By Melissa Clark                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/books/n The Weathers Frightful but the Volumes Are
2022-12-01   2022-12-07 ew-december-books.html                       Delightful                                  By Joumana Khatib                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/dining/
2022-12-01   2022-12-07 drinks/holiday-punch-recipes.html            Make a Punch Thats the Life of the Party    By Rebekah Peppler                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/dining/
2022-12-01   2022-12-07 drinks/why-throw-a-cocktail.html             A Splashier Way To Mix a Cocktail           By Robert Simonson                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/busines Allen Kay Who Coined See Something Say
2022-12-02   2022-12-07 s/media/allen-kay-dead.html                  Something Dies at 77                        By Sam Roberts                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/dining/
2022-12-02   2022-12-07 easy-holiday-party-snack-recipes.html        Lay Out a Tempting Spread of Nibbles        By Ali Slagle                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/movies/
2022-12-02   2022-12-07 christmas-movies-streaming.html              The Bandwidth Is Set for a Surge            By Elisabeth Vincentelli          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/busines John Corry 89 Reporter at The Times Who
2022-12-04   2022-12-07 s/media/john-corry-dead.html                 Helped Free a Man From Prison               By Robert D McFadden              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/opinion
2022-12-05   2022-12-07 /wildlife-rescue-human-kindness.html         Wildlife Rescue Heals the Human Heart       By Margaret Renkl                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/arts/tele Kirstie Alley Dies at 71 After Cheers       By Eduardo Medina April Rubin
2022-12-06   2022-12-07 vision/kirstie-alley-dead.html               Everybody Knew Her Name                     and Neil Genzlinger               TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/06/arts/dan Tap Teacher and Student Together They
2022-12-06   2022-12-07 ce/aaron-marcellus-michelle-dorrance.html   Clicked                                      By Brian Seibert                  TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/06/arts/des
2022-12-06   2022-12-07 ign/natural-history-museum-sean-decatur.html A New Chief For the Home To Dinosaurs       By Robin Pogrebin                 TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/06/arts/des Van Goghs Cypresses Will Fill a Met
2022-12-06   2022-12-07 ign/van-gogh-painting-drawing-trees-met.html Exhibition                                  By Robin Pogrebin                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/arts/mu Is There Room for Another Holiday Song
2022-12-06   2022-12-07 sic/christmas-albums-holiday-music.html      New Artists Hope So                         By Ben Sisario                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/arts/tele
2022-12-06   2022-12-07 vision/willow-warwick-davis.html             Reviving A Pivotal Portrayal Years Later    By Simran Hans                    TX 9-270-555   2023-02-01



                                                                                 Page 4596 of 5793
                        https://www.nytimes.com/2022/12/06/books/r
2022-12-06   2022-12-07 eview-the-mccartney-legacy.html              Listen to What the Man Said and Did    By Alexandra Jacobs                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/busines Filing Lawsuit 2 Women Say Apples AirTag
2022-12-06   2022-12-07 s/apple-airtag-lawsuit.html                  Aided Stalkers                         By Amanda Holpuch                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/busines
                        s/economy/global-car-supply-chains-xianjiang Car Supply Chains Are Tied To Labor
2022-12-06   2022-12-07 forced-labor.html                            Abuses in Xinjiang                     By Ana Swanson                     TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/06/busines Morgan Stanley Is Said to Cut 2 Percent of Its
2022-12-06   2022-12-07 s/morgan-stanley-layoffs.html               Work Force Worldwide as DealMaking Slows By Lauren Hirsch                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/climate Transition to Renewables Is Faster Than
2022-12-06   2022-12-07 /iea-renewable-energy-coal.html             Forecast Overtaking Coal by 2025              By Elena Shao                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/dining/
2022-12-06   2022-12-07 gudetama-sanrio-netflix-series.html         Gudetama the Incredible Miserable Egg         By Tejal Rao                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/dining/
2022-12-06   2022-12-07 hotel-lobby-bars-restaurants.html           Enjoy an Extended Stay in the Hotel Lobby By Nikita Richardson             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/dining/
2022-12-06   2022-12-07 s-p-lunch-eisenbergs.html                   Still Unflashy and the Faithful Are Relieved By Pete Wells                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/health/f FDAs Food Division Lacks Leadership and
2022-12-06   2022-12-07 da-food-safety-report.html                  Avoids Bold Actions a Report Finds            By Christina Jewett          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/nyregio Adams Promotes Women to Fill Two Crucial By Emma G Fitzsimmons and
2022-12-06   2022-12-07 n/mayor-adams-women-promotions.html         Posts                                         Jeffery C Mays               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/nyregio Mass Testing Lab in New York Is Set to
2022-12-06   2022-12-07 n/nyc-covid-testing-response.html           Close                                         By Joseph Goldstein          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/nyregio Man Accused in 2 Deaths In 3 New York          By Karen Zraick and Wesley
2022-12-06   2022-12-07 n/nyc-shootings-sundance-oliver.html        Shootings                                     Parnell                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/opinion It Matters That Chinas Protests Started in
2022-12-06   2022-12-07 /china-protests-xinjiang-uighurs.html       Xinjiang                                      By James A Millward          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/sports/b Forget Rebuilding Process the Rangers Prefer
2022-12-06   2022-12-07 aseball/jacob-degrom-rangers.html           an Instant Makeover                           By Scott Miller              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/sports/b Sal Durante 81 Who Held History In His
2022-12-06   2022-12-07 aseball/sal-durante-dead.html               Hand Sent From Mariss Bat                     By Richard Sandomir          TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/06/sports/s Portugal Sends a Message to the World
2022-12-06   2022-12-07 occer/goncalo-ramos-portugal-world-cup.html Theres a New Kid in Town                    By Andrew Das                  TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/06/sports/s
2022-12-06   2022-12-07 occer/morocco-wins-penalty-kicks-spain.html Moroccos Mighty Roar                      By Rory Smith                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/technol Apple Expands Pricing Options On App Store
2022-12-06   2022-12-07 ogy/apple-apps-prices.html                  To Almost 600                             By Tripp Mickle                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/technol Metas Own Watchdog Pick Sees Bias Toward By Adam Satariano and Sheera
2022-12-06   2022-12-07 ogy/meta-preferential-treatment.html        Big Shots                                 Frenkel                          TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/06/technol
2022-12-06   2022-12-07 ogy/personaltech/final-fantasy-vii-review.html Video Game Reboot Far Exceeds the Original By Brian X Chen              TX 9-270-555   2023-02-01



                                                                                Page 4597 of 5793
                        https://www.nytimes.com/2022/12/06/technol                                             By Adam Satariano and Paul
2022-12-06   2022-12-07 ogy/russia-internet-proton-vpn.html        The CatandMouse Battle for Russias Internet Mozur                            TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/06/technol Taiwanese Chip Giant Eyes Big Upgrades to
2022-12-06   2022-12-07 ogy/tsmc-chips-factory-phoenix.html        US Plant                                    By Don Clark and Kellen Browning TX 9-270-555        2023-02-01

                        https://www.nytimes.com/2022/12/06/theater/
2022-12-06   2022-12-07 the-brightest-thing-in-the-world-review.html Standing at the Confluence of Joy and Pain   By Laura CollinsHughes            TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/06/us/colo Suspect in Rampage At an LGBTQ Club Is
2022-12-06   2022-12-07 rado-springs-aldrich-charges.html            Facing 305 Counts                            By Dave Philipps                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/06/us/polit Bidens Toasted to 2024 Campaign During a
2022-12-06   2022-12-07 ics/biden-running-president-2024.html        State Dinner With Macron                     By Katie Rogers and Annie Karni   TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/06/us/polit Jan 6 Police Are Honored With Medals By
2022-12-06   2022-12-07 ics/capitol-police-gold-medals-congress.html Congress                                     By Stephanie Lai                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/06/us/polit
                        ics/jan-6-committee-doj-criminal-            Leader of Jan 6 Panel Signals Criminal       By Michael S Schmidt Luke
2022-12-06   2022-12-07 referrals.html                               Findings Are Coming                          Broadwater and Alexandra Berzon TX 9-270-555      2023-02-01

                        https://www.nytimes.com/2022/12/06/us/polit One Year Left in College and Getting Ready
2022-12-06   2022-12-07 ics/maxwell-frost-gen-z-congress-florida.html for Congress                                  By Stephanie Lai                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/us/supr
2022-12-06   2022-12-07 eme-court-moore-harper-elections.html         Case Will Test States Control Over Elections By Michael Wines                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/world/a
                        mericas/argentina-corruption-trial-verdict-   Argentinas Most Powerful Politician Is Found
2022-12-06   2022-12-07 kirchner.html                                 Guilty in Fraud Scheme                        By Natalie Alcoba and Ana Lankes TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/world/a In Turbulent China Xi Projects Unity at an
2022-12-06   2022-12-07 sia/china-protest-jiang.html                  ExLeaders Funeral                             By Chris Buckley                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/world/a In Broad Legal Overhaul Indonesia Bans Sex
2022-12-06   2022-12-07 sia/indonesia-sex-gay-rights.html             Outside Marriage                              By SuiLee Wee                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/world/e Like Biden Sunak Is Experienced Pragmatic By Mark Landler and Stephen
2022-12-06   2022-12-07 urope/rishi-sunak-joe-biden.html              and a Little Boring                           Castle                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/world/e
                        urope/ukraine-russia-war-latvia-tv-rain-      Latvia a Haven for Exiled Russian Journalists
2022-12-06   2022-12-07 journalism.html                               Questions Their Loyalty                       By Anatoly Kurmanaev             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/world/
                        middleeast/china-xi-jinping-visit-saudi-      Xi to Visit Saudis for 3 Summits in a Sign of By Vivian Nereim and David
2022-12-06   2022-12-07 arabia.html                                   Chinas Growing Mideast Ties                   Pierson                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/world/ Strike in Support of Protesters Brings Life to a
2022-12-06   2022-12-07 middleeast/iran-protest-strikes.html          Halt in Iran                                  By Farnaz Fassihi                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/world/
                        middleeast/netanyahu-israel-coalition-        Netanyahu Inspires Fury Over Key
2022-12-06   2022-12-07 government.html                               Appointments                                  By Isabel Kershner               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/nyregio                                                  By William K Rashbaum and Dana
2022-12-07   2022-12-07 n/adams-rats-summons-apartment.html           Summons Over Rats Pits Adams Against City Rubinstein                           TX 9-270-555   2023-02-01




                                                                                 Page 4598 of 5793
                                                                                                                By Ben Protess Jonah E Bromwich
                        https://www.nytimes.com/2022/12/06/nyregio In a Blow to Trump a Jury Finds His Business William K Rashbaum and Lola
2022-12-07   2022-12-07 n/trump-org-verdict-guilty.html             Guilty of Tax Fraud                         Fadulu                          TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/06/opinion
                        /how-biden-can-help-save-the-middle-
2022-12-07   2022-12-07 east.html                                   How Biden Can Help Save the Middle East By Thomas L Friedman                TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/06/opinion Are We Sleepwalking Through a Decisive
2022-12-07   2022-12-07 /military-defense-spending.html             Decade                                      By Bret Stephens                TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/06/theater/
2022-12-07   2022-12-07 your-own-personal-exegesis-review.html      Blessed Be the Young and Lustful            By Maya Phillips                TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/06/us/polit Court Rejects Civil Lawsuit Over Murder Of
2022-12-07   2022-12-07 ics/saudi-mbs-khashoggi-biden.html          Khashoggi                                   By Edward Wong                  TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/06/us/polit Congress Set to Remove Vaccine Mandate      By Catie Edmondson and John
2022-12-07   2022-12-07 ics/vaccine-mandate-defense-bill.html       From Defense Bill                           Ismay                           TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/06/world/e
                        urope/ukraine-drone-strikes-russian-        Bolder Airstrikes on Russia by Ukraine Show
2022-12-07   2022-12-07 bases.html                                  Little Fear of Reprisal                     By Andrew E Kramer              TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/07/sports/f 5 Contenders 1 Pretender And a Field of
2022-12-07   2022-12-07 ootball/nfl-playoff-picture.html            AlsoRans                                    By Mike Tanier                  TX 9-270-555      2023-02-01

                        https://www.nytimes.com/2022/12/07/technol
2022-12-07   2022-12-07 ogy/twitter-rivals-alternative-platforms.html Chaos Opportunity                          By Kalley Huang                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/world/a
                        mericas/el-salvador-state-of-emergency-       Report Says Crackdown On Gangs in El
2022-12-07   2022-12-07 crime.html                                    Salvador Is Eroding Civil Liberties        By Bryan Avelar and Oscar Lopez   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/live/2022/12/06/us/
                        warnock-walker-georgia-senate-                Warnock Victory Hands Democrats 51st Seat By Jonathan Weisman and Maya
2022-12-07   2022-12-07 runoff/raphael-warnock-georgia-senator        in Senate                                  King                              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/10/27/well/fa Here to Help How to Help a Partner Living
2022-10-27   2022-12-08 mily/depression-support.html                  With Depression                            By Catherine Pearson              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/style/cl
2022-11-30   2022-12-08 othing-recycling.html                         Recycling Clothes as We Do Soda Cans       By Alden Wicker                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/01/style/vi Viva Magenta A Color Made for the
2022-12-02   2022-12-08 va-magenta-pantone-color.html                 Metaverse                                  By The Styles Desk                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/style/th Discussing The Whale Its Big Body And
2022-12-02   2022-12-08 e-whale-new-york-premiere.html                Heart                                      By Sarah Bahr                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/needies
                        t-cases/these-afghans-had-to-start-over-they- These Afghans Had to Start Over They Didnt
2022-12-06   2022-12-08 didnt-have-to-do-it-alone.html                Have to Do It Alone                        By Kristen Bayrakdarian           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/opinion Yes the Players in the World Cup Do Keep
2022-12-06   2022-12-08 /football-world-cup-diving.html               Falling Over for No Reason                 By David Papineau                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/sports/s A Visit to the One Place Where the Booze
2022-12-06   2022-12-08 occer/world-cup-alcohol-qatar.html            Flows Just Not Very Freely                 By Andrew Keh                     TX 9-270-555   2023-02-01




                                                                                Page 4599 of 5793
                        https://www.nytimes.com/2022/12/06/technol Future in Big Tech Dims For Computing          By Natasha Singer and Kalley
2022-12-06   2022-12-08 ogy/computer-students-tech-jobs-layoffs.html Students                                     Huang                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/theater/
2022-12-06   2022-12-08 stomp-closes-new-york.html                   Noise Off Stomp Is Closing                   By Nicole Herrington           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/us/polit Jim Kolbe 80 Is Dead Gay House Republican
2022-12-06   2022-12-08 ics/jim-kolbe-dead.html                      Pushed Into Spotlight                        By Alex Traub                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/world/a Don Luce 88 Activist Who Helped End
2022-12-06   2022-12-08 sia/don-luce-dead.html                       Vietnam War                                  By Seth Mydans                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/article/uk-strep-    Strep Deaths In Britain Heres What We
2022-12-06   2022-12-08 a.html                                       Know                                         By Derrick Bryson Taylor       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/health/c Covax May End Its Effort To Vaccinate Poor
2022-12-07   2022-12-08 ovid-vaccines-covax-gavi.html                Nations                                      By Stephanie Nolen             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/health/j Juul to Settle Thousands Of Lawsuits Over
2022-12-07   2022-12-08 uul-settlement-lawsuits-teen-vaping.html     Vaping                                       By Christina Jewett            TX 9-270-555   2023-02-01
                                                                     Microsoft Says It Will Offer Call of Duty on
                        https://www.nytimes.com/2022/12/06/technol Nintendo Devices if Its Deal With Activision By Karen Weise and Kellen
2022-12-07   2022-12-08 ogy/microsoft-call-of-duty-nintendo.html     Closes                                       Browning                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/us/dem One Seat in Senate but With It Comes More
2022-12-07   2022-12-08 ocrats-georgia-senate-majority.html          Control for the Democrats                    By Carl Hulse                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/arts/des
                        ign/national-mall-exhibition-pulling-
2022-12-07   2022-12-08 together.html                                Expanding Equity On the National Mall        By Zachary Small               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/arts/mu Joyce Bryant 95 Sensual Singer Who Turned
2022-12-07   2022-12-08 sic/joyce-bryant-dead.html                   Her Back on Fame Dies                        By Neil Genzlinger             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/arts/mu                                                By Joshua Barone and Sinna
2022-12-07   2022-12-08 sic/met-opera-aida-actors.html               Reviewing the Opera Nah Im in It             Nasseri                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/arts/tele George Newall 88 a Creator of Schoolhouse
2022-12-07   2022-12-08 vision/george-newall-dead.html               Rock                                         By Sam Roberts                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/arts/tele
                        vision/trevor-noah-daily-show-late-night-
2022-12-07   2022-12-08 tv.html                                      Trevor Noah Grew Our Field of Vision         By James Poniewozik            TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/07/busines US Proposes Green SteelMaking Club With
2022-12-07   2022-12-08 s/economy/steel-tariffs-climate-change.html Tariffs for Outsiders                        By Ana Swanson                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/climate Kerry to Meet With Biden About Future In
2022-12-07   2022-12-08 /john-kerry-climate-envoy.html              Envoy Role                                   By Lisa Friedman                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/health/l FDA to Warn of Lasik Complications
2022-12-07   2022-12-08 asik-injuries-fda.html                      Dismaying Surgeons                           By Roni Caryn Rabin             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/movies/
2022-12-07   2022-12-08 devotion-behind-the-scenes.html             A Cast and Crew Commit to Devotion           By Brandon Yu                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/movies/
                        rian-johnson-glass-onion-knives-out-        Now Comes Glass Onion Suspense For
2022-12-07   2022-12-08 mystery.html                                Director                                     By Kyle Buchanan                TX 9-270-555   2023-02-01




                                                                                 Page 4600 of 5793
                        https://www.nytimes.com/2022/12/07/nyregio Growers in New York Compete to Find Out
2022-12-07   2022-12-08 n/ny-marijuana-growers.html                 Whose Weed Is Best                            By Ashley Southall           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/nyregio
                        n/trump-organization-fraud-penalty-         For Trump Organization Verdict Wont Cost By Ben Protess and Jonah E
2022-12-07   2022-12-08 finances.html                               Much                                          Bromwich                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/opinion She Was a Fat Glamorous Actress That Was
2022-12-07   2022-12-08 /kirstie-alley-fat-glamorous-radical.html   Radical                                       By Jennifer Weiner           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/science In DNA Two Million Years Old A Glimpse
2022-12-07   2022-12-08 /oldest-dna-greenland-species.html          of a Forested Arctic                          By Carl Zimmer               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/sports/b Its Like Old Times As a Steinbrenner Digs
2022-12-07   2022-12-08 aseball/aaron-judge-yankees.html            Deep to Keep A Star in Pinstripes             By Scott Miller              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/sports/b A Slugger Delivers Forcing the Yankees to
2022-12-07   2022-12-08 aseball/yankees-aaron-judge-contract.html   Do the Same for Him                           By Tyler Kepner              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/sports/f A Return From Scandal for Watson With
2022-12-07   2022-12-08 ootball/nfl-deshaun-watson.html             Little Said About the Scandal                 By Jenny Vrentas             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/sports/s Their Team Is Absent But Palestinians Flag Is
2022-12-07   2022-12-08 occer/palestine-flag-world-cup.html         All Over the Place                            By Tariq Panja               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/sports/ Not Just Happy to Be Here Theyre Here to
2022-12-07   2022-12-08 world-cup/quarterfinal-preview.html         Win                                           By Rory Smith                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/style/su
                        its-so-good-they-make-a-case-for-           Suits Make the Man and Perhaps the
2022-12-07   2022-12-08 monarchy.html                               Monarchy                                      By Guy Trebay                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/technol Apple Details Plan to Beef Up Data
2022-12-07   2022-12-08 ogy/apple-icloud-encryption-security.html   Encryption in Its iCloud                      By Tripp Mickle              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/technol
2022-12-07   2022-12-08 ogy/meta-vr-antitrust-ftc.html              Regulators Stretch Law On Antitrust           By David McCabe              TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/07/technol No 2 Theranos Executive Gets 13 Years for
2022-12-07   2022-12-08 ogy/sunny-balwani-theranos-sentenced.html Fraud                                          By Kalley Huang               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/technol Indiana Sues TikTok Citing Child Safety
2022-12-07   2022-12-08 ogy/tiktok-lawsuit.html                     Violations                                   By Cecilia Kang               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/theater/
2022-12-07   2022-12-08 events-review.html                          Please Remember Your Job Is Not Your Life    By Laura CollinsHughes        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/theater/
2022-12-07   2022-12-08 kpop-broadway-closing.html                  Producers Pull the Plug On KPOP              By Michael Paulson            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/us/drag- Drag Shows Armed Protesters and Rising       By J David Goodman and Ruth
2022-12-07   2022-12-08 shows-story-hours-protests.html             Fears of Violence                            Graham                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/us/polit
                        ics/raphael-warnock-georgia-senator-        Warnocks Rise Fueled by Pain Faith and
2022-12-07   2022-12-08 pastor.html                                 Flair                                        By Katie Glueck               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/us/polit Scrutinizing Court Congress Will Hear From
2022-12-07   2022-12-08 ics/supreme-court-ethics-congress.html      WhistleBlower                                By Carl Hulse                 TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/07/us/polit Team Hired by Trump Finds More Classified By Maggie Haberman and Alan
2022-12-07   2022-12-08 ics/trump-classified-documents-search.html Documents Stored in Florida                Feuer                            TX 9-270-555   2023-02-01



                                                                                Page 4601 of 5793
                        https://www.nytimes.com/2022/12/07/us/polit The Road Map For 24 Now Runs Through
2022-12-07   2022-12-08 ics/us-political-map-2024.html              Georgia                                       By Lisa Lerer                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/us/supr
2022-12-07   2022-12-08 eme-court-federal-elections.html            Justices Seem Split on Control Over Elections By Adam Liptak                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/us/whit A String of Errors and Incompetence Led to By Glenn Thrush and Serge F
2022-12-07   2022-12-08 ey-bulger-justice-inspector-general.html    Bulgers Death a Report Finds                  Kovaleski                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/world/a Perus President Ousted After Moving to
2022-12-07   2022-12-08 mericas/peru-pedro-castillo-coup.html       Dissolve Congress                             By Mitra Taj                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/world/a
2022-12-07   2022-12-08 sia/biden-cook-islands-new-zealand.html     Biden Move Emboldens Tiny Country             By Pete McKenzie                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/world/a After Unrest China Eases Covid Rules Heres By Chang Che Amy Chang Chien
2022-12-07   2022-12-08 sia/china-zero-covid-changes.html           How                                           and Alexandra Stevenson           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/world/a
2022-12-07   2022-12-08 sia/china-zero-covid-pictures.html          Chinas Zero Covid Policy in Photographs       By Vivek Shankar                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/world/a China Loosens Covid Restrictions After         By Keith Bradsher Chang Che and
2022-12-07   2022-12-08 sia/china-zero-covid-protests.html          Protests                                      Amy Chang Chien                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/world/e                                                By Thomas GibbonsNeff and
2022-12-07   2022-12-08 urope/bakhmut-war-sounds.html               Sounds of War Mark The Passage of Time        Natalia Yermak                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/world/e Germans Thwart RightWing Coup Top              By Katrin Bennhold and Erika
2022-12-07   2022-12-08 urope/germany-coup-arrests.html             Officials Say                                 Solomon                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/world/e Prince Is Accused of Role in a Seditious
2022-12-07   2022-12-08 urope/prince-heinrich-reuss-germany.html    Conspiracy                                    By Christopher F Schuetze         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/world/e
                        urope/russia-putin-opposition-ukraine-      Opponents Of Putins War Often Oppose One
2022-12-07   2022-12-08 war.html                                    Another                                       By Neil MacFarquhar               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/world/
                        middleeast/morocco-world-cup-               Morocco Win Spurs Cheers From Arabs And
2022-12-07   2022-12-08 celebration.html                            Africans                                      By Aida Alami and Vivian Yee      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/busines
2022-12-08   2022-12-08 s/dealbook/ceo-communication.html           The Future of Leadership                      By Alina Tugend                   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/07/busines
2022-12-08   2022-12-08 s/dealbook/covid-china-luxury-shopping.html Will Luxury Shopping Return                  By Elizabeth Paton                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/busines
                        s/dealbook/dealbook-summit-leaders-
2022-12-08   2022-12-08 future.html                                 So What Comes Next                           By The New York Times              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/busines
2022-12-08   2022-12-08 s/dealbook/entertainment-profits.html       The Future of Entertainment                  By Paul Sullivan                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/busines
2022-12-08   2022-12-08 s/dealbook/fashion-profitable-growth.html   The Future of Fashion                        By Christine Muhlke                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/busines
2022-12-08   2022-12-08 s/dealbook/media-business-model.html        The Future of News                           By Saskia Miller                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/busines
                        s/dealbook/movies-hollywood-streaming-      How Streaming Has Rewritten the Script for
2022-12-08   2022-12-08 services.html                               Movies                                       By AO Scott                        TX 9-270-555   2023-02-01



                                                                                Page 4602 of 5793
                        https://www.nytimes.com/2022/12/07/busines
                        s/dealbook/the-risks-of-yes-and-
2022-12-08   2022-12-08 leadership.html                            The Risks of Yes and Leadership              By Emma Goldberg                  TX 9-270-555     2023-02-01
                                                                                                                By Emily Flitter David
                        https://www.nytimes.com/2022/12/07/busines                                              YaffeBellany and Matthew
2022-12-08   2022-12-08 s/ftx-sbf-crypto-market-investigation.html    FTX Founder Faces Inquiry Over Trades     Goldstein                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/opinion
2022-12-08   2022-12-08 /georgia-election-walker-warnock.html         Wait Wait Georgias Over                     By Gail Collins                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/opinion Xi Loosens Things Up but It Wont Be
2022-12-08   2022-12-08 /xi-loosens-up-it-wont-be-enough.html         Enough                                      By Nicholas Kristof               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/us/as-
                        covid-cases-rise-in-a-weary-los-angeles-so- As Covid Cases Surge in a Weary Los
2022-12-08   2022-12-08 does-apathy.html                              Angeles So Does Public Apathy               By Corina Knoll and Sarah Cahalan TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/us/bide US to End Expulsions at the Border but First
2022-12-08   2022-12-08 n-title-42-appeal.html                        It Will Defend the Practice in Court        By Miriam Jordan                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/us/joe-
2022-12-08   2022-12-08 harding-pandemic-aid-fraud.html               US Indicts State Official Over Loans        By Patricia Mazzei                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/us/polit Play for Power in Race for the White House By Maggie Haberman and Michael
2022-12-08   2022-12-08 ics/donald-trump-republicans-turmoil.html     Reveals a Point of Weakness                 C Bender                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/us/polit Emhoff Emerges as a Voice Against Rising
2022-12-08   2022-12-08 ics/doug-emhoff-antisemitism.html             Antisemitism                                By Zolan KannoYoungs              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/us/polit AntiTrump Republicans Grow Louder Hes         By Jonathan Weisman and Maya
2022-12-08   2022-12-08 ics/georgia-senate-republicans-trump.html     Less Relevant All the Time                  King                              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/world/e Putin Warns WarWeary Russians to Prepare By Ivan Nechepurenko Anatoly
2022-12-08   2022-12-08 urope/putin-russia-ukraine-war.html           for Protracted Conflict                     Kurmanaev and Andrew E Kramer TX 9-270-555       2023-02-01
                        https://www.nytimes.com/2022/12/08/busines
                        s/a-long-road-to-renewal-for-former-military-                                             By Seth Berkman and Christopher
2022-12-08   2022-12-08 bases.html                                    A Long Road to Find New Uses for Old Forts Lee                                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/insider/
2022-12-08   2022-12-08 my-practice-retelling-rituals.html            My Practice Retelling American Rituals      By Isabella Paoletto              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/sports/d Easy to Be Disappointed in Sanderss Move
2022-12-08   2022-12-08 eion-sanders-colorado-hbcu.html               but Hard to Be Surprised                    By Kurt Streeter                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/11/
2022-11-28   2022-12-09 27/us/set-adrift.html                         Vanished in the Pacific                     By David Wolman                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/arts/rar Taking a Long Look at Our Cultures Back
2022-12-02   2022-12-09 e-book-school-grolier-exhibition.html         Pages                                       By Jennifer Schuessler            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/opinion
2022-12-05   2022-12-09 /epic-games-apple-app-store.html              The Battle Royale Over Apples App Store     By Peter Coy                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/technol
2022-12-05   2022-12-09 ogy/chatgpt-ai-twitter.html                   The Brilliance And Weirdness Of ChatGPT By Kevin Roose                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/opinion Reality Winner Tried to Resist And Found
2022-12-06   2022-12-09 /reality-winner.html                          Herself Alone                               By Megan K Stack                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/arts/dan
                        ce/jacquelin-harris-alvin-ailey-american-
2022-12-07   2022-12-09 dance-theater.html                            Spotlight Gets Brighter For an Ailey Dancer By Siobhan Burke                  TX 9-270-555   2023-02-01



                                                                                Page 4603 of 5793
                        https://www.nytimes.com/2022/12/07/busines Nurses Rail Crews Pickle Makers Britains
2022-12-07   2022-12-09 s/uk-labor-strikes.html                     Year Ends With a List of Labor Walkouts   By Eshe Nelson                  TX 9-270-555       2023-02-01
                        https://www.nytimes.com/2022/12/07/movies/ Sundance Sets First InPerson Slate Since
2022-12-07   2022-12-09 sundance-film-festival-lineup-2023.html     2020                                      By Nicole Sperling              TX 9-270-555       2023-02-01
                        https://www.nytimes.com/2022/12/07/movies/
2022-12-07   2022-12-09 the-whale-review.html                       Trapped in His Life and His Unhappiness   By AO Scott                     TX 9-270-555       2023-02-01
                        https://www.nytimes.com/2022/12/07/nyregio Hotel Workers Union Casts a Tall Shadow in
2022-12-07   2022-12-09 n/new-york-hotel-workers-union.html         New York                                  By Nicole Hong and Matthew Haag TX 9-270-555       2023-02-01
                        https://www.nytimes.com/2022/12/07/sports/b Seeking Their Own Light in Shadow of the
2022-12-07   2022-12-09 asketball/clippers-lakers-los-angeles.html  Lakers                                    By Tania Ganguli                TX 9-270-555       2023-02-01
                        https://www.nytimes.com/2022/12/07/style/ju Jule Campbell Brains Behind Issue Devoted
2022-12-07   2022-12-09 le-campbell-dead.html                       To Bodies Dies at 96                      By Penelope Green               TX 9-270-555       2023-02-01
                        https://www.nytimes.com/2022/12/07/us/gadd Gaddis Smith 89 Renowned Teacher of
2022-12-07   2022-12-09 is-smith-dead.html                          History and a Modernizing Force at Yale   By Clay Risen                   TX 9-270-555       2023-02-01

                        https://www.nytimes.com/2022/12/07/busines
2022-12-08   2022-12-09 s/media/new-york-times-union-walkout.html New York Times Union Holds OneDay Strike By The New York Times                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/movies/
                        guillermo-del-toros-pinocchio-review-puppets-
2022-12-08   2022-12-09 and-power.html                               Puppets Power and a New Interpretation      By Manohla Dargis                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/sports/b Judge Got a Record Contract Is a Coveted Job
2022-12-08   2022-12-09 aseball/aaron-judge-captain-yankees.html     Title With the Yankees Next                 By Scott Miller                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/arts/des
                        ign/artists-iranian-protests-roosevelt-
2022-12-08   2022-12-09 island.html                                  Across From the UN Artists Send a Message By Will Heinrich                   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/08/arts/des
2022-12-08   2022-12-09 ign/lace-exhibition-bard-graduate-center.html The Thrill of the Frill Over the Centuries By Roberta Smith                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/arts/des
2022-12-08   2022-12-09 ign/paint-the-protest-exhibition.html         A Show of Quiet Dissidence                 By Holland Cotter                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/busines US Gas Prices Are Now Lower Than a Year
2022-12-08   2022-12-09 s/energy-environment/gasoline-prices.html     Ago                                        By Isabella Simonetti            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/busines A First on US Bank Notes Signatures of Two
2022-12-08   2022-12-09 s/janet-yellen-signature-dollar.html          Women                                      By Alan Rappeport                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/busines State Officials Seek to Revisit SportsBetting
2022-12-08   2022-12-09 s/sports-betting-regulators-barstool.html     Arrangements                               By Eric Lipton and Emily Steel   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/busines Britain Approves a Coal Mine Setting Aside
2022-12-08   2022-12-09 s/uk-new-coal-mine.html                       Climate Concerns                           By Stanley Reed                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/movies/
2022-12-08   2022-12-09 2-duo-review.html                             2Duo                                       By Ben Kenigsberg                TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/08/movies/
2022-12-08   2022-12-09 blanquita-review-the-victims-dilemma.html Blanquita                                      By Beatrice Loayza               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/movies/
2022-12-08   2022-12-09 empire-of-light-review.html                They Found It At the Theater                  By AO Scott                      TX 9-270-555   2023-02-01



                                                                                 Page 4604 of 5793
                        https://www.nytimes.com/2022/12/08/movies/
2022-12-08   2022-12-09 hidden-letters-review.html                  Hidden Letters                              By Devika Girish                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/movies/
                        idina-menzel-which-way-to-the-stage-
2022-12-08   2022-12-09 review.html                                 Idina Menzel Which Way To the Stage         By Natalia Winkelman            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/movies/
2022-12-08   2022-12-09 loudmouth-review-al-sharpton.html           Loudmouth                                   By Lisa Kennedy                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/movies/
                        nr-10-review-a-strange-joke-too-dryly-
2022-12-08   2022-12-09 delivered.html                              Nr 10                                       By Brandon Yu                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/movies/
2022-12-08   2022-12-09 one-fine-morning-review.html                Life Steady and Sublime                     By Manohla Dargis               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/movies/
                        review-the-treasure-of-his-youth-the-       The Treasure Of His Youth The Photographs
2022-12-08   2022-12-09 photographs-of-paolo-di-paolo.html          Of Paolo Di Paolo                           By Glenn Kenny                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/movies/
2022-12-08   2022-12-09 something-from-tiffanys-review.html         Something From Tiffanys                     By Calum Marsh                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/movies/
2022-12-08   2022-12-09 to-the-end-review.html                      To the End                                  By Teo Bugbee                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/nyregio
                        n/eric-adams-nyc-affordable-housing-        Mayor Aims to Ease Rules For Builders in
2022-12-08   2022-12-09 crisis.html                                 New York                                    By Sarah Garland and Dean Chang TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/nyregio Advocates for Mentally Ill New Yorkers Ask
2022-12-08   2022-12-09 n/nyc-mental-health-restraining-order.html  Court to Halt Removal Plan                  By Andy Newman                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/opinion
2022-12-08   2022-12-09 /cruise-ocean-fear-phobia.html              My Many Fears About an Upcoming Voyage By Pamela Paul                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/sports/f
                        ootball/dan-snyder-nfl-commanders-congress- Congress Slams NFL and the Owner of the     By Ken Belson and Katherine
2022-12-08   2022-12-09 investigation.html                          Washington Commanders                       Rosman                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/sports/s In 7 Wonders Majesty and Folly Equally on
2022-12-08   2022-12-09 occer/world-cup-stadiums.html               Display                                     By Sarah Lyall                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/sports/
2022-12-08   2022-12-09 world-cup/messi-ronaldo-soccer.html         Greatest Generation Faces Its Final Act     By Rory Smith                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/technol FTC Sues To Prevent Acquisition By           By Karen Weise and David
2022-12-08   2022-12-09 ogy/ftc-microsoft-activision.html           Microsoft                                   McCabe                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/theater/
2022-12-08   2022-12-09 dick-rivington-the-cat-review.html          The Cat and Rats Come Out to Play           By Elisabeth Vincentelli        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/theater/
2022-12-08   2022-12-09 zadie-smith-bam-spring.html                 A Zadie Smith Play Is Heading to BAM        By Kalia Richardson             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/us/polit
2022-12-08   2022-12-09 ics/biden-union-pensions.html               Biden Steers 36 Billion To Rescue Pensions By Peter Baker                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/us/polit                                             By Michael D Shear and Peter
2022-12-08   2022-12-09 ics/brittney-griner-russia.html             Griner Is Freed Leaves Russia After a Trade Baker                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/us/polit Ruing Senate Loss Georgia GOP Asks if Its
2022-12-08   2022-12-09 ics/georgia-runoff-rules.html               Changes to Runoff Rules Backfired           By Reid J Epstein               TX 9-270-555   2023-02-01



                                                                              Page 4605 of 5793
                        https://www.nytimes.com/2022/12/08/us/polit
                        ics/house-defense-bill-covid-vaccine-       Defense Bill Has More Spending and No
2022-12-08   2022-12-09 mandate.html                                Vaccine Mandate                            By Catie Edmondson                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/us/polit Republican in Georgia Comes Out Unscathed
2022-12-08   2022-12-09 ics/kemp-walker-georgia-runoff.html         After Walkers Debacle                      By Richard Fausset and Lisa Lerer   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/us/polit
                        ics/republicans-who-voted-same-sex-
2022-12-08   2022-12-09 marriage.html                               Republicans Voting Yes                     By The New York Times               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/us/polit Congress Passes A Bill To Protect Marriage
2022-12-08   2022-12-09 ics/same-sex-marriage-congress.html         Rights                                     By Annie Karni                      TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/08/us/polit US Strains to Control Spyware but Still Uses By Mark Mazzetti Ronen Bergman
2022-12-08   2022-12-09 ics/spyware-nso-pegasus-paragon.html        It                                           and Matina StevisGridneff        TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/08/world/a Perus New President Takes Power as a Young By Julie Turkewitz Genevieve
2022-12-08   2022-12-09 mericas/dina-boluarte-peru-president.html   Democracy Is Tested                          Glatsky and Mitra Taj            TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/08/world/a                                               By Amy Chang Chien Chang Che
2022-12-08   2022-12-09 sia/china-covid-rollback.html               China Rewrites Its Strict Rules For Pandemic and John Liu                     TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/08/world/a Surge of Tourism in Restive Kashmir Alluring
2022-12-08   2022-12-09 sia/kashmir-india-tourism.html              Land of Checkpoints and Guns                 By Hari Kumar and Mujib Mashal TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/08/world/a South Korea Is Seeking To Solve an AgeOld
2022-12-08   2022-12-09 sia/south-korea-age-world-standard.html     Issue                                        By John Yoon                     TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/08/world/e American Is Given Suspended Sentence for
2022-12-08   2022-12-09 urope/anne-sacoolas.html                    Traffic Fatality                             By Megan Specia                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/08/world/e In Making Deal Putin Used Familiar Lever      By Anton Troianovski and Valerie
2022-12-08   2022-12-09 urope/brittney-griner-putin-pain.html       Pain                                         Hopkins                          TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/08/world/e German FarRight Group Was Propelled by        By Katrin Bennhold and Erika
2022-12-08   2022-12-09 urope/germany-plot-qanon.html               QAnon                                        Solomon                          TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/08/world/e Villain in the First Half Of Harry amp
2022-12-08   2022-12-09 urope/harry-meghan-netflix-media.html       Meghan Is Not the Royal Family               By Mark Landler                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/08/world/e Johnny Johnson the Last of the Dambusters in
2022-12-08   2022-12-09 urope/johnny-johnson-dead.html              World War II Is Dead at 101                  By Richard Goldstein             TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/08/world/e                                              By Thomas GibbonsNeff Natalia
2022-12-08   2022-12-09 urope/ukraine-russia-loyalty-sviatohirsk.html Town Is Liberated but Suspicions Remain   Yermak and Tyler Hicks             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/world/e Wirecard Trial Gets Started Alleging Fraud
2022-12-08   2022-12-09 urope/wirecard-trial-markus-braun.html        Of 3 Executives                           By Melissa Eddy                    TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/08/world/ Saudi Arabia and China Ally of US and a
2022-12-08   2022-12-09 middleeast/china-saudi-arabia-agreement.html Rival Sign a Strategic Accord              By Vivian Nereim                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/world/ Iran Executes a Prisoner Arrested in Street
2022-12-08   2022-12-09 middleeast/iran-protests-execution.html      Protests                                   By Cora Engelbrecht                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/theater/
2022-12-09   2022-12-09 ohio-state-murders-review.html               Trying to Tell a Difficult Tale Properly   By Jesse Green                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/us/colo Earlier Case For Suspect In Colorado Is
2022-12-09   2022-12-09 rado-springs-shooting-suspect-club-q.html    Explained                                  By Patricia Mazzei                 TX 9-270-555   2023-02-01



                                                                                 Page 4606 of 5793
                        https://www.nytimes.com/2022/12/08/us/polit Court Order Ending Special Master Officially
2022-12-09   2022-12-09 ics/trump-special-master-case.html              Takes Effect                                  By Charlie Savage and Alan Feuer   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/busines
2022-12-09   2022-12-09 s/media/oscars-films-box-office.html            Prestige Films Made for Oscar Fail to Impress By Brooks Barnes                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/insider/
                        making-my-red-well-blue-carpet-reporting-
2022-12-09   2022-12-09 debut.html                                      Making My Red Blue Carpet Reporting Debut By Sarah Bahr                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/movies/
2022-12-09   2022-12-09 its-a-wonderful-binge-review.html               Its a Wonderful Binge                         By Robert Daniels                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/us/haw Sizzling Spectacle Of Nature Caught In a
2022-12-09   2022-12-09 aii-volcano-tourism.html                        Cultural Rift                                 By Simon Romero                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/10/21/travel/s
2022-10-21   2022-12-10 anta-cruz-weekend.html                          Once a Pit Stop Now a California Getaway      By Lauren Sloss                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/27/opinion Assist Yazidi Women Asylum Seekers And
2022-11-27   2022-12-10 /charity-holiday-gift-conflict.html             Prisoners of War                              By Lulu GarciaNavarro              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/opinion
2022-11-29   2022-12-10 /charity-holiday-local-journalism.html          Protect Our Democracy Support Local News By Lydia Polgreen                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/opinion
                        /charity-holiday-gift-brigid-alliance-blanchet- Help Desperate Women and Treat Hungry
2022-12-02   2022-12-10 house.html                                      People With Dignity                           By Michelle Goldberg               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/opinion
                        /charity-holiday-gift-california-               Homelessness in California Is Dire Heres
2022-12-02   2022-12-10 homelessness.html                               What You Can Do                               By Farhad Manjoo                   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/03/opinion A Donation To Honor the Vision Of Dr Paul
2022-12-03   2022-12-10 /charity-holiday-gift-partners-in-health.html Farmer                                 By Zeynep Tufekci                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/04/books/b Bernadette Mayer 77 Who Smashed the
2022-12-04   2022-12-10 ernadette-mayer-dead.html                     Boundaries of Poetry Dies              By Alex Williams                            TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/06/movies/ A Trans Pioneer Revived By Todays Trans
2022-12-06   2022-12-10 framing-agnes-transgender-documentary.html Stars                                       By Robert Ito                             TX 9-270-555   2023-02-01
                                                                                                               By Jeffery C Mays Jonah E
                        https://www.nytimes.com/2022/12/07/nyregio State Attorney General Accused of Shielding Bromwich and William K
2022-12-07   2022-12-10 n/letitia-james-victim-khan.html           Ally                                        Rashbaum                                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/arts/mu Jim Stewart 92 Dies Unlikely Record Maker
2022-12-08   2022-12-10 sic/jim-stewart-dead.html                  Of Black Soul Music                         By Bill FriskicsWarren                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/busines Chinas Economy Adapted to Covid Can It
2022-12-08   2022-12-10 s/china-economy-covid.html                 Transform Itself Once Again                 By Keith Bradsher                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/busines
                        s/media/netflix-harry-meghan-
2022-12-08   2022-12-10 documentary.html                           A Raw Look At Meghan And Harry              By Nicole Sperling                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/us/boy- Boy in the Box Mystery Is Solved After 65
2022-12-08   2022-12-10 in-the-box-philadelphia-homicide.html      Years                                       By Jesus Jimnez                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/world/a Regret in Uganda After Slow Reaction to
2022-12-08   2022-12-10 frica/ebola-uganda.html                    Outbreak of Ebola                           By Abdi Latif Dahir                       TX 9-270-555   2023-02-01



                                                                                   Page 4607 of 5793
                        https://www.nytimes.com/2022/12/09/arts/dan
2022-12-09   2022-12-10 ce/michelle-dorrance-joyce-review.html       Longtime Bonds Embodied                      By Gia Kourlas                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/arts/dan The Wednesday Dance Is an Invitation Be
2022-12-09   2022-12-10 ce/wednesday-dance-jenna-ortega.html         Weird                                        By Gia Kourlas                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/arts/des
                        ign/carpacchio-venice-national-gallery-
2022-12-09   2022-12-10 art.html                                     Venetian Perfection Gets a Second Chance     By Jason Farago                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/arts/mu Hamish Kilgour 65 Noted Drummer And
2022-12-09   2022-12-10 sic/hamish-kilgour-dead.html                 Founding Member of the Clean                 By Natasha Frost               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/arts/mu
2022-12-09   2022-12-10 sic/jim-irsay-memorabilia.html               A Passion Project Thats Financed by Football By Ken Belson                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/arts/mu
2022-12-09   2022-12-10 sic/met-opera-cyberattack-tickets.html       Met Opera Finds New Site for Ticket Sales    By Javier C Hernndez           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/arts/tele
                        vision/trevor-noah-daily-show-final-
2022-12-09   2022-12-10 episode.html                                 Trevor Noah Embraced Uncertainty             By Jason Zinoman               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/books/
                        markus-dohle-penguin-random-house-           CEO of Penguin Random House Steps Down By Elizabeth A Harris and
2022-12-09   2022-12-10 ceo.html                                     After a Major Deal Fails                     Alexandra Alter                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/busines Workers at an Electric Vehicle Battery Plant
2022-12-09   2022-12-10 s/economy/ev-battery-union.html              in Ohio Vote to Unionize                     By Noam Scheiber               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/busines Oil Prices Fall Despite New Sanctions on
2022-12-09   2022-12-10 s/oil-prices-russia-sanctions.html           Russian Crude                                By Stanley Reed                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/busines FTX Founder Will Testify Before House
2022-12-09   2022-12-10 s/sam-bankman-fried-congress-ftx.html        Committee                                    By Matthew Goldstein           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/busines                                                By Joe Rennison and Isabella
2022-12-09   2022-12-10 s/stocks-bonds-wall-street.html              Markets Fluctuate at End of Shaky Week       Simonetti                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/busines Turkey Tightens Energy Ties With Russia as
2022-12-09   2022-12-10 s/turkey-erdogan-energy-russia.html          Other Nations Step Back                      By Patricia Cohen              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/fashion
2022-12-09   2022-12-10 /sustainable-watch-businesses.html           Making a case for slow fashion               By Daisann McLane              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/fashion
2022-12-09   2022-12-10 /watches-bausele-australia.html              Vetted by the military                       By Kathleen Beckett            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/fashion
2022-12-09   2022-12-10 /watches-collector-paul-blandford.html       The hunt for the grail                       By Ming Liu                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/fashion
                        /watches-geraldcharles-genta-
2022-12-09   2022-12-10 switzerland.html                             Reviving a brand                             By Milena Lazazzera            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/fashion
                        /watches-horological-society-of-new-york-
2022-12-09   2022-12-10 library.html                                 A library for watch lovers                   By Victoria Gomelsky           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/fashion
2022-12-09   2022-12-10 /watches-kwanghun-hyun-seoul.html            Its whats inside that counts                 By David Belcher               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/fashion
2022-12-09   2022-12-10 /watches-smiley-richard-mille.html           Its time for you to smile                    By Ming Liu                    TX 9-270-555   2023-02-01



                                                                                 Page 4608 of 5793
                        https://www.nytimes.com/2022/12/09/fashion
                        /watches-timex-jacquie-aiche-los-
2022-12-09   2022-12-10 angeles.html                                Designed with a jewelers eye               By Rachel Felder                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/09/fashion
2022-12-09   2022-12-10 /watches-watchfinder-and-co-.html           An online sites human touch                By Roberta Naas                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/09/health/r Hospital Funding Has Catch Cut Inpatient   By Emily Baumgaertner and
2022-12-09   2022-12-10 ural-hospital-closures.html                 Care                                       Michael Hanson                   TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/09/nyregio NYPD Officers Lured Away By Better Pay in
2022-12-09   2022-12-10 n/new-york-police-department-attrition.html Small Towns                              By Chelsia Rose Marcius            TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/09/nyregio New Yorkers Are Urged To Wear Masks
2022-12-09   2022-12-10 n/nyc-covid-indoor-masks.html               Indoors As Flu and Covid Spike           By Hurubie Meko                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/09/sports/a
2022-12-09   2022-12-10 utoracing/f1-max-verstappen-red-bull.html   A dominating season for driver and team  By Ian Parkes                      TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/09/sports/b Age Is Just a Number as Teams Drop 2
2022-12-09   2022-12-10 aseball/mlb-free-agents.html                Billion on Free Agents                   By Scott Miller                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/09/sports/g
2022-12-09   2022-12-10 olf/liv-pga-dp-world-tour.html              For 2022 LIV Golf was the story          By Paul Sullivan                   TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/09/sports/s
2022-12-09   2022-12-10 occer/argentina-netherlands-final-score.html Argentinas Doesnt                       By Rory Smith                      TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/09/sports/s Missed Shots Mistakes and Then Stunned
2022-12-09   2022-12-10 occer/brazil-croatia-neymar.html             Disbelief                               By James Wagner                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/09/sports/s
                        occer/croatia-brazil-neymar-penalty-
2022-12-09   2022-12-10 kicks.html                                   Brazils Party Ends                      By Andrew Das                      TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/09/sports/t
2022-12-09   2022-12-10 ennis/tennis-2022-year-in-review.html        A tennis season like no other           By Cindy Shmerler                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/09/sports/t
                        he-fight-terence-crawford-really-wants-isnt- Welterweight Showdown Looms If Champion
2022-12-09   2022-12-10 this-weekend.html                            Can Survive a Challenge                 By Morgan Campbell                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/09/technol Executives Traded Frantic Texts as Crypto By David YaffeBellany and Emily
2022-12-09   2022-12-10 ogy/ftx-text-messages.html                   Collapsed                               Flitter                            TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/09/theater/ Seeking an Office While Searching for a
2022-12-09   2022-12-10 la-race-review.html                          Purpose                                 By Naveen Kumar                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/09/theater/ Silver Saundors Friedman 89 Chorine Who
2022-12-09   2022-12-10 silver-saundors-friedman-dead.html           Helped Found New Yorks Improv           By Sam Roberts                     TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/09/us/britt Supporters Exhale as Griners Release Turns By J David Goodman Ben Shpigel
2022-12-09   2022-12-10 ney-griner-release.html                     Anxiety Into Elation                        Jonathan Ellis and Talya Minsberg TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/us/keys Keystone Pipeline Is Down After an Oil Spill
2022-12-09   2022-12-10 tone-pipeline-oil-leak-kansas.html          in Kansas                                   By Derrick Bryson Taylor          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/us/navy-From SEAL Training to a Career of
2022-12-09   2022-12-10 seals-recruits.html                         Scrubbing Scum in the Bilge                 By Dave Philipps                  TX 9-270-555   2023-02-01




                                                                                Page 4609 of 5793
                        https://www.nytimes.com/2022/12/09/us/polit Griners Release Took Long Talks And Hard    By Michael D Shear and Peter
2022-12-09   2022-12-10 ics/brittney-griner-prisoner-swap.html      Choice                                      Baker                           TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/09/us/polit Outrage Over Prisoner Exchange Underscores By Jonathan Weisman and Ken
2022-12-09   2022-12-10 ics/griner-blowback.html                    Depth of Americas Political Divide         Bensinger                        TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/09/us/polit Sinema Says She Will Leave Democrats and
2022-12-09   2022-12-10 ics/kyrsten-sinema-democrats.html           Become Independent                         By Carl Hulse                    TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/09/us/polit Judge Declines to Act on Request for         By Alan Feuer and Maggie
2022-12-09   2022-12-10 ics/trump-contempt-justice-department.html Contempt in Trump Documents Case              Haberman                       TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/09/us/tech- Suddenly Hunting for Work and a Chance to
2022-12-09   2022-12-10 immigrant-workers-visas.html                 Stay in the US                              By Miriam Jordan               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/09/world/a Beijing Braces for Surge in Covid Cases After
2022-12-09   2022-12-10 sia/beijing-china-covid.html                 Lifting Pandemic Curbs                      By Keith Bradsher              TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/09/world/a
2022-12-09   2022-12-10 sia/china-gulf-us.html                       After Isolation Xi Is Mending Global Fences By David Pierson               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/09/world/e
                        urope/sandrine-rousseau-france-              For French Ecofeminist Mental Violence Is
2022-12-09   2022-12-10 ecofeminist.html                             the Next Battle                             By Catherine Porter            TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/09/world/e Release of Arms Trafficker Scored as Win for
2022-12-09   2022-12-10 urope/viktor-bout-welcome-russia.html        Kremlin                                     By Richard PrezPea             TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/09/world/
                        middleeast/china-saudi-arabia-gulf-          Beijing Will Work With Gulf Nations on
2022-12-09   2022-12-10 summit.html                                  Nuclear Energy and Space Xi Says            By Vivian Nereim               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/09/world/
                        middleeast/netanyahu-isreal-cabinet-         Netanyahus Coalition Stalls Over Push To
2022-12-09   2022-12-10 government.html                              Add Ally With a Criminal Conviction         By Patrick Kingsley            TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/09/your-
                        money/cobra-affordable-health-insurance-
2022-12-09   2022-12-10 marketplace.html                             Navigating the Health Plan Thicket          By Ann Carrns                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/interactive/2022/12/ North Korea Wants Dollars Its a Sign of     By Choe SangHun and Pablo
2022-12-09   2022-12-10 09/world/asia/north-korea-promises.html      Trouble                                     Robles                         TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/09/sports/b An Open Letter to Welcome Home Brittney
2022-12-10   2022-12-10 asketball/brittney-griner-return-letter.html Griner                                      By Kurt Streeter               TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/09/sports/b                                             By Jonathan Abrams and Kris
2022-12-10   2022-12-10 asketball/wnba-activism-brittney-griner.html The WNBAs Fight Doesnt End Here            Rhim                            TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/09/sports/s Prominent Soccer Journalist Is Dead After
2022-12-10   2022-12-10 occer/grant-wahl-dead.html                   Collapsing at Argentina Game               By Kevin Draper and Alan Blinder TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/09/technol                                              By David McCabe Cecilia Kang
2022-12-10   2022-12-10 ogy/lina-khan-ftc-microsoft-activision.html In Microsoft FTC Chair Faces a Test         and Karen Weise                 TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/09/us/polit As Clock Ticks on Democratic House GOP
2022-12-10   2022-12-10 ics/congress-debt-ceiling.html              Stalls Push to Raise the Debt Ceiling       By Emily Cochrane               TX 9-270-555    2023-02-01




                                                                                 Page 4610 of 5793
                        https://www.nytimes.com/2022/12/09/us/polit Lake Sues Over Loss in Arizona Governors By Alexandra Berzon Ken
2022-12-10   2022-12-10 ics/kari-lake-election-lawsuit.html         Race                                        Bensinger and Charles Homans      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/us/polit
                        ics/kyrsten-sinema-arizona-senate-                                                      By Reid J Epstein Jennifer Medina
2022-12-10   2022-12-10 democrats.html                              Leaving Party Sinema Rattles A Race in 2024 and Katie Glueck                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/busines
2022-12-10   2022-12-10 s/media/elon-musk-politics-twitter.html     What Musk Stands For Is Not Clear           By Jeremy W Peters                TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/10/opinion Youve Heard About Taylor Swift Heres How
2022-12-10   2022-12-10 /taylor-swift-live-nation-clyde-lawrence.html Live Nation Affects Artists Like Me       By Clyde Lawrence               TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/10/world/e For Americans in Russia Prisoner Swap        By Valerie Hopkins Anatoly
2022-12-10   2022-12-10 urope/brittney-griner-russia-athletes.html    Highlights A Daunting Potential Risk      Kurmanaev and Jonathan Abrams   TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/10/world/e Glib and Guileful Putin Goes on a TV
2022-12-10   2022-12-10 urope/putin-ukraine-nuclear.html              Offensive to Show Hes Still in Charge     By Anton Troianovski            TX 9-270-555     2023-02-01
                        https://www.nytimes.com/interactive/2022/11/                                            By The New York Times Books
2022-11-22   2022-12-11 22/books/notable-books.html                   100 Notable Books of 2022                 Staff                           TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/28/realesta
                        te/painted-hardwood-floors-soledad-           Painted Hardwood Floors Stir a Spirited
2022-11-28   2022-12-11 obrien.html                                   Debate                                    By Ronda Kaysen                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/11/30/arts/mu
2022-11-30   2022-12-11 sic/best-jazz-albums.html                     Vision and Regrowth                       By Giovanni Russonello          TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/01/arts/art- Art Brewer Renowned for His Photographs of
2022-12-01   2022-12-11 brewer-dead.html                              Surfers Is Dead at 71                     By Richard Sandomir             TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/01/books/r
2022-12-01   2022-12-11 eview/patti-smith-a-book-of-days.html         Inside the List                           By Elisabeth Egan               TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/02/t-
                        magazine/gabriel-byrne-walking-with-
2022-12-02   2022-12-11 ghosts.html                                   Endings A Fleeting Run                    By Sarah Bahr                   TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/04/books/r
2022-12-04   2022-12-11 eview/best-thrillers.html                     The Years Best Thrillers                  By Sarah Lyall                  TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/04/books/r
                        eview/bright-unbearable-reality-anna-badkhen
                        still-no-word-from-you-peter-orner-making-
2022-12-04   2022-12-11 love-with-the-land-joshua-whitehead.html     Essay Collections                          By Stephanie Elizondo Griest    TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/04/books/r
2022-12-04   2022-12-11 eview/the-best-historical-fiction-of-2022.html The Years Best Historical Fiction        By Alida Becker                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/04/style/a-
2022-12-04   2022-12-11 previvors-tale.html                            A Writer With Too Much Plot              By Alena Smith                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/05/arts/bes
2022-12-05   2022-12-11 t-comedy-specials-2022.html                    JASON ZINOMAN A Year of Laughs           By Jason Zinoman                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/05/arts/tele Gary Oldman Has an Eye for John le Carrs
2022-12-05   2022-12-11 vision/gary-oldman-slow-horses.html            Spy                                      By Chris Kornelis               TX 9-270-555     2023-02-01




                                                                                 Page 4611 of 5793
                        https://www.nytimes.com/2022/12/05/books/r
2022-12-05   2022-12-11 eview/best-romance-novels.html             The Years Best Romance Novels                   By Olivia Waite               TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/05/books/r
2022-12-05   2022-12-11 eview/best-science-fiction-and-fantasy.html The Years Best Science Fiction and Fantasy     By Amal ElMohtar              TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/05/realesta Finding Serenity and a Washer and Dryer in
2022-12-05   2022-12-11 te/brooklyn-apartment-prospect-park.html     Brooklyn                                      By Alix Strauss               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/05/style/bi
2022-12-05   2022-12-11 rkenstocks.html                              The Sandals That Cradled Steve Jobss Soles    By John Ortved                TX 9-270-555    2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        05/magazine/martha-nussbaum-                 Do Humans Owe Animals Equal Rights
2022-12-05   2022-12-11 interview.html                               Martha Nussbaum Thinks So                     By David Marchese             TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/06/arts/tele
                        vision/macbeth-woman-king-p-valley-movies-
2022-12-06   2022-12-11 tv.html                                       Finding Ways To Escape Reality               By Salamishah Tillet          TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/06/books/r
2022-12-06   2022-12-11 eview/best-crime-fiction-2022.html           The Years Best Crime Novels                   By Sarah Weinman              TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/06/books/r
2022-12-06   2022-12-11 eview/best-poetry-2022.html                  The Years Best Poetry                         By Elisa Gabbert              TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/06/magazi
2022-12-06   2022-12-11 ne/ironman-xc.html                           Conspicuous Competition                       By Devin Gordon               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/06/magazi Im Undergoing an Operation to Lose Weight
2022-12-06   2022-12-11 ne/weight-operation-ethics.html              Do I Have to Tell People                      By Kwame Anthony Appiah       TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/06/realesta
2022-12-06   2022-12-11 te/is-your-fireplace-ready-for-winter.html   Get Your Fireplace Ready for Winter           By Tim McKeough               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/06/style/m
2022-12-06   2022-12-11 argaret-atwood-utopia-class.html             Author of Dystopia Shares Visions of Utopia   By Alex Hawgood               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/06/theater/
2022-12-06   2022-12-11 theater-performance-tv-2022.html             Humanity Dreaming                             By Maya Phillips              TX 9-270-555    2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
2022-12-06   2022-12-11 06/magazine/best-actors-2022.html            The 10 Best Actors of 2022                    By The New York Times Magazine TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/arts/des
2022-12-07   2022-12-11 ign/art-ukraine-2022.html                    Visions of Freedom Centuries Apart            By Jason Farago               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/07/books/b
2022-12-07   2022-12-11 est-audiobooks-2022.html                     The Years Best Audiobooks                     By Lauren Christensen         TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/07/books/r
2022-12-07   2022-12-11 eview/best-true-crime-books-2022.html        The Years Best True Crime                     By Tina Jordan                TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/07/magazi
2022-12-07   2022-12-11 ne/curry-rice-recipe.html                    Make Japanese Kare Rice Your GoTo Meal        By Bryan Washington           TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/07/magazi
2022-12-07   2022-12-11 ne/the-white-lotus-monica-vitti.html         All Eyes                                      By Carina Chocano             TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/07/opinion
2022-12-07   2022-12-11 /nyc-paramedic-mental-health-crisis.html     Im a Witness To a Mental Health Crisis        By Anthony Almojera           TX 9-270-555    2023-02-01




                                                                                 Page 4612 of 5793
                        https://www.nytimes.com/2022/12/07/opinion
2022-12-07   2022-12-11 /supreme-court-student-loan-forgiveness.html A Court of First Resort                    By Jamelle Bouie                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/opinion
2022-12-07   2022-12-11 /walker-georgia-senate-trump.html            Why Herschel Walkers Defeat Matters        By Charles M Blow                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/realesta
2022-12-07   2022-12-11 te/high-falls-new-york.html                  A Tiny Place That Makes a Big Impression   By Karen Angel                   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/07/style/da
2022-12-07   2022-12-11 ily-wire-nashville-conservative-media.html Making a Right Turn to Tennessee             By Joseph Bernstein              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/style/to
2022-12-07   2022-12-11 y-guns-playground-safety.html                 Playground Perils                         By Philip Galanes                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/style/w                                              By Gina Cherelus and Katherine
2022-12-07   2022-12-11 orkplace-romance.html                         Fallout When Love Becomes Public          Rosman                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/style/yo His Fee for Wedding Photos Room Board
2022-12-07   2022-12-11 ung-couple-wedding-photographer.html          Conversation                              By Hannah Edgar                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/world/a My Friend Helped Me Carry My Burdens His
2022-12-07   2022-12-11 sia/india-suicide-social-conventions.html     Proved Too Heavy                          By Emily Schmall                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/needies
                        t-cases/they-invest-in-the-land-to-build-the-
2022-12-08   2022-12-11 future.html                                   They Enrich the Land to Build the Future  By Ashley Shannon Wu             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/arts/bes
2022-12-08   2022-12-11 t-podcasts-2022.html                          Buried History And Wanderlust             By Reggie Ugwu                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/books/r
                        eview/2022-reading-picks-from-times-staff-                                              By Dwight Garner Alexandra
2022-12-08   2022-12-11 critics.html                                  Picks From Times Staff Critics            Jacobs and Jennifer Szalai       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/climate
                        /vanuatu-president-nonproliferation-          A Tiny Country Raising Its Voice on the
2022-12-08   2022-12-11 hague.html                                    Climate                                   By Somini Sengupta               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/health/ Many Pregnant Women Still Blind to Covid
2022-12-08   2022-12-11 pregnant-women-covid-flu-vaccine.html         Risks                                     By Apoorva Mandavilli            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/magazi
2022-12-08   2022-12-11 ne/john-hodgman-fart-onomatopoeia.html        Bonus Advice From Judge John Hodgman      By John Hodgman                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/magazi
2022-12-08   2022-12-11 ne/mexico-general-cienfuegos.html              The Cienfuegos Affair                    By Tim Golden                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/magazi                                               By Kwame Dawes and Victoria
2022-12-08   2022-12-11 ne/poem-advent.html                           Poem AdventDR                             Chang                            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/nyregio
                        n/nyc-food-delivery-workers-wage-             The Fight to Pay Food Delivery Workers 23
2022-12-08   2022-12-11 increase.html                                 an Hour                                   By Winnie Hu                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/opinion
                        /michigan-wolverines-football-                The Team Each and Every American Should
2022-12-08   2022-12-11 championship.html                             Root For                                  By Matthew Walther               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/opinion
2022-12-08   2022-12-11 /twitter-odell-time.html                      What Twitter Does to Our Sense of Time    By Jenny Odell                   TX 9-270-555   2023-02-01



                                                                                Page 4613 of 5793
                        https://www.nytimes.com/2022/12/08/realesta
                        te/the-best-college-towns-for-students-on-a-
2022-12-08   2022-12-11 budget.html                                  Higher Education and Smaller Bills         By Michael Kolomatsky              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/sports/f Lions Are No Longer Dogs or Against the
2022-12-08   2022-12-11 ootball/nfl-week-14-picks.html               Vikings Underdogs                          By David Hill                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/style/ea
2022-12-08   2022-12-11 st-fork-pottery.html                         For a Business How Open Is Too Open        By Regan Stephens                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/us/polit Prominent Gay Republicans Helped Smooth
2022-12-08   2022-12-11 ics/marriage-bill-gay-republicans.html       Way for the Marriage Bill                  By Annie Karni                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/well/m 2Minute Exercise Bursts Can Have Big
2022-12-08   2022-12-11 ove/exercise-bursts-benefits.html            Benefits                                   By Dani Blum                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/ In Atlanta Seeking a House With Ample
                        08/realestate/atlanta-house-buying-          Space Indoors and Out Which Option Did He
2022-12-08   2022-12-11 market.html                                  Choose                                     By Tariro Mzezewa                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/books/d Dominique Lapierre 91 Journalist Who
2022-12-09   2022-12-11 ominique-lapierre-dead.html                  CoWrote Is Paris Burning                   By Clay Risen                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/books/r
2022-12-09   2022-12-11 eview/best-book-covers-2022.html             The Years Most Notable Table Book Covers By Matt Dorfman                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/busines
2022-12-09   2022-12-11 s/bond-market-economy-investing.html         The Picture Improves For the Treasury Bond By Jeff Sommer                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/busines How Bad Are Microplastics An Expert          By Julia Rothman and Shaina
2022-12-09   2022-12-11 s/how-bad-are-microplastics.html             Weighs In                                  Feinberg                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/nyregio
2022-12-09   2022-12-11 n/darren-criss.html                          A Performers Hot and Cold Comforts         By Paige Darrah                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/nyregio
2022-12-09   2022-12-11 n/shatzi-weisberger-death.html               Facing the End and Well Prepared for It    By John Leland                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/opinion We Can Edit A Persons DNA So Why Dont
2022-12-09   2022-12-11 /crispr-gene-editing-cures.html              We                                         By Fyodor Urnov                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/opinion
2022-12-09   2022-12-11 /death-penalty-texas-ramiro-gonzalez.html    The Trials and Truths of Death Row         By Rachael Bedard                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/opinion
                        /donald-trump-constitution-kanye-
2022-12-09   2022-12-11 georgia.html                                 Donald Trump Is Both Weak and Powerful     By Katherine Miller                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/opinion This Case Shouldnt Be With the Supreme
2022-12-09   2022-12-11 /supreme-court-moore-v-harper.html           Court                                      By The Editorial Board             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/realesta A Chance to Live Amid the Pages of a Design
2022-12-09   2022-12-11 te/exclusive-sales-hamish-bowles.html        Magazine                                   By Vivian Marino                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/realesta Looking for a House in This Tight Market
2022-12-09   2022-12-11 te/octagon-house.html                        Consider an Octagon                        By Jim Zarroli and Tony Cenicola   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/style/ba
2022-12-09   2022-12-11 iley-goldberg-beanies-dimes-square.html      Knitting Together An Avid Following        By Daniel Penny                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/style/ch
2022-12-09   2022-12-11 erie-king-ilka-tiedemann-wedding.html        Fish and Chips and a Kiss Sealed the Deal  By Jenny Block                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/style/e Together Sort of for a Campaign and Now for
2022-12-09   2022-12-11 mily-todebush-garrett-arwa-wedding.html      Good                                       By Tammy La Gorce                  TX 9-270-555   2023-02-01



                                                                                Page 4614 of 5793
                        https://www.nytimes.com/2022/12/09/style/m
                        odern-love-marriage-you-bought-the-wrong-
2022-12-09   2022-12-11 nipple-clamps.html                            Affection That Cuts Through All the Crazy   By Sherilyn Siy               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/style/ni A Perfect Proposal Even Outside the Cameras
2022-12-09   2022-12-11 colas-platt-rachel-love-wedding.html          View                                        By Valeriya Safronova         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/style/pa Connecting Early On but Taking Their Time
2022-12-09   2022-12-11 trick-sheehan-carolyn-cost-wedding.html       With Love                                   By Rosalie R Radomsky         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/us/inatu Can Sea Slugs Lead Humans Back to Civil
2022-12-09   2022-12-11 ralist-nature-app.html                        Social Discourse                            By Amy Harmon                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/us/unic
2022-12-09   2022-12-11 orn-license-los-angeles.html                  Yes Madeline You Can Have a Unicorn         By Amanda Holpuch             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/article/peru-         A Coup Attempt an Arrest a New President A By Emma Bubola and Genevieve
2022-12-09   2022-12-11 president-castillo-boluarte.html              Day of Turmoil in Peru                      Glatsky                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/nyregio New York Eases Rules On Location Of Pot
2022-12-10   2022-12-11 n/ny-retail-marijuana-regulations.html        Shops                                       By Ashley Southall            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/us/jose Joseph Kittinger 94 Adventurer Who Paved
2022-12-10   2022-12-11 ph-kittinger-dead.html                        Way for Astronauts Dies                     By Richard Goldstein          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/busines
                        s/new-mexico-climate-change-wildfires-
2022-12-10   2022-12-11 floods.html                                   Wish You Were Here Just Ignore the Fires    By Lydia DePillis             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/nyregio
2022-12-10   2022-12-11 n/princeton-death-misrach-ewunetie.html       Seeking Answers in a Death at Princeton     By Ginia Bellafante           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/nyregio
2022-12-10   2022-12-11 n/race-riot-washington-square-park.html       When a Race Riot Shook Manhattan            By Andrew Meier               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/opinion
                        /a-contagion-the-us-and-china-both-fear-each-
2022-12-10   2022-12-11 other.html                                    A Contagion Both China and America Fear By Megan K Stack                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/opinion Americas Toxic Gun Culture Is Invading Our
2022-12-10   2022-12-11 /america-gun-violence.html                    Politics                                    By The Editorial Board        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/opinion A Message to the Next Generation of
2022-12-10   2022-12-11 /anthony-fauci-retirement.html                Scientists                                  By Anthony Fauci              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/opinion
2022-12-10   2022-12-11 /elon-musk.html                               A Political Theory of King Elon             By Ross Douthat               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/opinion
2022-12-10   2022-12-11 /trump-politics-despar.html                   Trump Flails America Is Still Feverish      By Nicholas Kristof           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/realesta This Is Our First Year in New York City How
2022-12-10   2022-12-11 te/holiday-tipping-guide.html                 Do We Tip Our Buildings Staff               By Ronda Kaysen               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/sports/f Good Backups Pay Off And Are Getting Paid
2022-12-10   2022-12-11 ootball/nfl-backup-qbs.html                   In NFL This Season                          By Joe Drape                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/sports/s Brazil Again Fails to Win It All but It Never
2022-12-10   2022-12-11 occer/brazil-neymar.html                      Fails to Blame                              By Rory Smith                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/sports/s
2022-12-10   2022-12-11 occer/morocco-semi-finals-portugal.html       Morocco Makes History for Arabs and Africa By Tariq Panja                 TX 9-270-555   2023-02-01




                                                                               Page 4615 of 5793
                        https://www.nytimes.com/2022/12/10/sports/s Qatar Touted Its Womens Team Their Last
2022-12-10   2022-12-11 occer/qatar-world-cup-womens-soccer.html Official Match Was in 2014                        By Allison McCann                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/sports/s In What May Be His Final World Cup
2022-12-10   2022-12-11 occer/world-cup-ronaldo-portugal.html       Ronaldo Leaves the Field in Tears              By James Wagner                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/style/w Sometimes Misfires Are Meant to Hit the
2022-12-10   2022-12-11 hite-lotus-costumes-portia.html             Mark                                           By Callie Holtermann             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/us/abor Both Sides Brace For New Combat In
2022-12-10   2022-12-11 tion-roe-wade.html                          Abortion War                                   By Kate Zernike                  TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/10/us/polit
2022-12-10   2022-12-11 ics/anti-transgender-lgbtq-threats-attacks.html Transgender Americans Feel Under Attack    By Maggie Astor                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/us/uc- Strike Comes to Partial End At University of
2022-12-10   2022-12-11 workers-strike.html                             California                                 By Shawn Hubler                 TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/10/world/a Largest Exodus Imperils Future Of Ailing        By Ed Augustin and Frances
2022-12-10   2022-12-11 mericas/cuba-us-migration.html                  Cuba                                       Robles                          TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/10/world/a Chinas Hospitals Bracing for a Tsunami of       By Alexandra Stevenson Joy Dong
2022-12-10   2022-12-11 sia/china-covid-hospitals.html                  Covid Cases                                and Olivia Wang                 TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/10/world/a Media Mogul Sent to Prison In Hong Kong
2022-12-10   2022-12-11 sia/hong-kong-jimmy-lai-sentenced.html          Over Fraud                                 By Chang Che                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/world/e
                        urope/european-parliament-qatar-                Belgian Inquiry Into Qatar and Bribery     By Matina StevisGridneff and
2022-12-10   2022-12-11 corruption.html                                 Shakes European Parliament                 Monika Pronczuk                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/world/e
                        urope/nobel-peace-prize-ukraine-russia-         At Nobel Prize Ceremony Russian
2022-12-10   2022-12-11 belarus.html                                    Imperialism Takes Center Stage             By Marc Santora                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/world/e
                        urope/poland-germany-ukraine-patriots-          Germanys Missile Offer to Poland Reveals
2022-12-10   2022-12-11 missiles.html                                   Widening EU Rifts Over Ukraine             By Steven Erlanger               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/world/ His Estate Has 3 Pools a Gym and a Stable        By Christina Goldbaum and Erin
2022-12-10   2022-12-11 middleeast/qatar-wealth-world-cup.html          But He Says Hes Not Rich                   Schaff                           TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/10/sports/n Williams Catalyst of Southern Cals
2022-12-11   2022-12-11 caafootball/heisman-caleb-williams-usc.html Resurgence Wins the Heisman Trophy         By Kris Rhim                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/busines At Starbucks Schultz Is Back To Fight a     By Noam Scheiber and Julie
2022-12-11   2022-12-11 s/howard-schultz-starbucks-union.html       Union                                      Creswell                             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/busines The Week in Business Labor Actions Sweep
2022-12-11   2022-12-11 s/the-week-in-business-labor-britain.html   Britain                                    By Marie Solis                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/health/f
2022-12-11   2022-12-11 uller-torrey-psychosis-commitment.html      A Doctor Has New Yorks Ear On Mentally Ill By Ellen Barry                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/insider/
                        how-the-spoken-word-shapes-the-written-     How the Spoken Word Shapes the Written
2022-12-11   2022-12-11 word.html                                   Word                                       By Sarah Bahr                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/nyregio New Yorks Subway Fare Could Exceed 3 in
2022-12-11   2022-12-11 n/new-york-subway-fare-mta.html             2025                                       By Ana Ley                           TX 9-270-555   2023-02-01



                                                                                 Page 4616 of 5793
                        https://www.nytimes.com/2022/12/11/style/de
2022-12-11   2022-12-11 mi-lovato-unicef-holiday-party.html         Raising Spirits And Voices For Children    By Denny Lee                      TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/11/us/jrotc-                                              By Mike Baker Nicholas
2022-12-11   2022-12-11 schools-mandatory-automatic-enrollment.html When Military Training Is Not an Elective     BogelBurroughs and Ilana Marcus TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/11/us/mcfa Tough Choice for California City Library or By Tim Arango and Carlos
2022-12-11   2022-12-11 rland-calif-library-police-station.html      Police Station                               Jaramillo                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/busines
                        s/energy-environment/india-energy-                                                        By Emily Schmall and Clifford
2022-12-07   2022-12-12 subsidies.html                               India Puts Growth Before Climate             Krauss                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/arts/dan
2022-12-09   2022-12-12 ce/tere-oconnor-rivulets-review.html         It Ebbs It Flows It Weaves                   By Brian Seibert                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/arts/mu
2022-12-09   2022-12-12 sic/salzburg-festival-lineup.html            Salzburg Festival Announces Lineup           By Javier C Hernndez             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/arts/tele
2022-12-09   2022-12-12 vision/george-and-tammy.html                 The History of Divorce Television Style      By Alexis Soloski                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/busines Chinas Protesters Say Their Battle Isnt
2022-12-09   2022-12-12 s/china-covid-protesters.html                Finished                                     By Li Yuan                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/busines
2022-12-09   2022-12-12 s/energy-environment/qatar-gas-oil.html      Qatar Gains Dominance As Gas Seller          By Clifford Krauss               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/theater/ A Pair Stuck in Limbo On the Northbound
2022-12-09   2022-12-12 off-peak-review.html                         Track                                        By Elisabeth Vincentelli         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/theater/ Aint No Mo Will Close on Broadway This
2022-12-10   2022-12-12 aint-no-mo-broadway-closing.html             Month                                        By Michael Paulson               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/arts/lee- Lee Lorenz Longtime Cartoonist and Editor at
2022-12-10   2022-12-12 lorenz-dead.html                             The New Yorker Dies at 90                    By Sam Roberts                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/busines Biden Administration and Antitrust Officials
2022-12-10   2022-12-12 s/big-tech-antitrust-rules.html              Take Aim at Big Tech Companies               By Steve Lohr                    TX 9-270-555   2023-02-01
                                                                                                                  By Daisuke Wakabayashi Claire Fu
                        https://www.nytimes.com/2022/12/10/busines Deep Discontent In Chinese Youth Goes Past Isabelle Qian and Amy Chang
2022-12-10   2022-12-12 s/china-protests-students-jobs.html          Covid                                        Chien                            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/busines In Future Filled With Electric Cars AM Radio
2022-12-10   2022-12-12 s/media/am-radio-cars.html                   May Be Lost in Static                        By Michael Levenson              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/dining/ Alain Sailhac 86 a Luminary of Haute French
2022-12-10   2022-12-12 alain-sailhac-dead.html                      Cuisine                                      By Alex Williams                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/opinion
2022-12-10   2022-12-12 /the-whale-film.html                         The Cruel Spectacle of The Whale             By Roxane Gay                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/sports/s
2022-12-10   2022-12-12 occer/kanes-england-world-cup.html           For Kane and an Angry England Its All Over By Rory Smith                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/sports/t How to Encourage Young Runners to Love
2022-12-10   2022-12-12 ips-children-teens-running-track.html        the Sport and What to Avoid                  By Jennie Coughlin               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/technol
2022-12-10   2022-12-12 ogy/ai-chat-bot-chatgpt.html                 Chat Bots Can Amaze But Also Lie             By Cade Metz                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/us/blac Army Corrects Record on Black Soldier Shot
2022-12-10   2022-12-12 k-wwii-soldier-albert-king.html              to Death by White Sergeant in 1941           By Remy Tumin                    TX 9-270-555   2023-02-01



                                                                                 Page 4617 of 5793
                        https://www.nytimes.com/2022/12/10/us/los- As New Leaders Take Office Los Angeles    By Shawn Hubler and Soumya
2022-12-11   2022-12-12 angeles-council-fight-transition.html       Confronts Lingering Wounds               Karlamangla                            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/arts/des
                        ign/hearst-museum-ohlone-cafe-repatriate-
2022-12-11   2022-12-12 medina.html                                 Theyre Putting Repatriation on the Menu  By Patricia Leigh Brown                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/arts/mu
                        sic/klaus-makela-new-york-philharmonic-
2022-12-11   2022-12-12 review.html                                 A Conductor Still on the Rise            By Joshua Barone                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/crossw
2022-12-11   2022-12-12 ords/daily-puzzle-2022-12-12.html           When Crossword Solvers Are Thrown a Bone By Rachel Fabi                         TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/11/nyregio Adjunct Faculty Members End an
2022-12-11   2022-12-12 n/new-school-nyc-adjunct-strike.html        Acrimonious 3Week Strike at the New School By Kimiko de FreytasTamura           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/obituari Paul Silas NBA Coach and Defender Known
2022-12-11   2022-12-12 es/paul-silas-dead.html                     for Rebounds Dies at 79                      By Harvey Araton                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/opinion
2022-12-11   2022-12-12 /black-power-georgia-warnock.html           Unapologetic Black Power in the South        By Charles M Blow                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/opinion
2022-12-11   2022-12-12 /democrats-iowa-caucus.html                 Democrats to Iowa Get Lost                   By Art Cullen                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/opinion Its Not Just Pot Our Entire Drug Policy Needs
2022-12-11   2022-12-12 /marijuana-drugs-us-policy.html             a Rewrite                                    By Maia Szalavitz                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/science Successful End to NASA Moon Mission
2022-12-11   2022-12-12 /nasa-orion-spacecraft-landing.html         Shifts Attention to SpaceX                   By Kenneth Chang                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/sports/b FreeSpending Mets Add a Japanese Ace and
2022-12-11   2022-12-12 aseball/kodai-senga-mets.html               His Ghost Fork                               By Scott Miller                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/sports/f PlayoffBound Eagles Deliver Cold Hard
2022-12-11   2022-12-12 ootball/eagles-giants-score.html            Truths                                       By Emmanuel Morgan                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/sports/f
2022-12-11   2022-12-12 ootball/nfl-week-14-scores.html             What We Learned This Week                    By Derrik Klassen                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/sports/g With New Golf Tour Saudis Aim for Global
2022-12-11   2022-12-12 olf/liv-saudi-pga.html                      Respect as Well as Profits                   By Alan Blinder and Sarah Hurtes   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/sports/s
2022-12-11   2022-12-12 occer/world-cup-semifinal-preview.html      Two Favorites Two Underdogs Too Good         By Rory Smith                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/sports/t With a SixthRound TKO Crawford Stays on
2022-12-11   2022-12-12 erence-crawford-fight.html                  Track                                        By Morgan Campbell                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/sports/ Floored by Sudden Beer Ban Budweiser
2022-12-11   2022-12-12 world-cup/budweiser-world-cup.html          Pivots to Bud Zero                           By Sarah Lyall                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/us/elect With Election Over Time to Battle Over
2022-12-11   2022-12-12 ion-voting-rights-2024.html                 Voting Rules for Next One                    By Michael Wines                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/us/jean Pants Recovered From Shipwreck Sold for
2022-12-11   2022-12-12 s-shipwreck-auction.html                    114000                                       By Amanda Holpuch                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/us/polit
2022-12-11   2022-12-12 ics/louisiana-prison-overdetention.html     Deemed Free Some Remain Behind Bars          By Glenn Thrush                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/us/polit Decades of Effort US Extradites Libyan in
2022-12-11   2022-12-12 ics/masud-pan-am-bombing-libya-fbi.html     1988 Pan Am Bombing                          By Adam Goldman                    TX 9-270-555   2023-02-01



                                                                                Page 4618 of 5793
                        https://www.nytimes.com/2022/12/11/world/a Indigenous Australians Fight to Protect Site
2022-12-11   2022-12-12 sia/murujuga-australia-pollution-art.html  With Sacred Art From Industry                  By Yan Zhuang                 TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/11/world/e Belgium Charges Four With Corruption in a
2022-12-11   2022-12-12 urope/eu-parliament-bribery-qatar.html     Bribery Inquiry Linked to Qatar                By Matina StevisGridneff      TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/11/world/e A Coup Plot a Prince and the Far Right in a    By Erika Solomon and Katrin
2022-12-11   2022-12-12 urope/germany-prince-heinrich-xiii.html    German Spa Town                                Bennhold                      TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/11/world/e
2022-12-11   2022-12-12 urope/hostage-diplomacy-griner.html        Griner Story Points to Risks For Detainers     By Max Fisher                 TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/11/world/e In Moldova Paid Protests and Russian
2022-12-11   2022-12-12 urope/moldova-russian-ukraine-war.html     Pressure                                       By Andrew Higgins             TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/11/world/e Ukraine Facing More Outages Strikes Farther By Mark Landler Matt Stevens and
2022-12-11   2022-12-12 urope/ukraine-odesa-outages-melitopol.html Into RussiaControlled Land                    Matthew Mpoke Bigg              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/theater/
2022-12-12   2022-12-12 some-like-it-hot-review.html                  Exhilarating Freedom Unfurls in New Times By Jesse Green                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/us/polit                                              By Soumya Karlamangla and Katie
2022-12-12   2022-12-12 ics/karen-bass-la-mayor.html                  New Mayor to Declare Homelessness a Crisis Rogers                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/arts/tele
                        vision/whats-on-tv-this-week-holiday-specials-
2022-12-12   2022-12-12 and-yellowstone.html                          This Week on TV                            By Shivani Gonzalez             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/nyregio Divorce Can Lock Some Children Into           By Eliza Shapiro and Jonah
2022-12-12   2022-12-12 n/hasidic-yeshivas-schools-divorce.html       Inadequate Hasidic Schools                 Markowitz                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/sports/h Doormats No More The Dynamic Devils
2022-12-12   2022-12-12 ockey/devils-rangers-hughes-nhl.html          Have Fans Buzzing                          By David Waldstein              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/style/fa
                        shion-designers-van-noten-christopher-
2022-12-12   2022-12-12 rogers.html                                   Two Fashion Designers Talk Business        By Jessica Testa                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/world/a Biden Is Bringing Africas Leaders to
2022-12-12   2022-12-12 frica/us-africa-summit.html                   Washington Hoping to Make Deals            By Declan Walsh                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/well/m
2022-12-02   2022-12-13 ove/holiday-stress-exercise.html              Holiday Stress Theres an Exercise for That By Danielle Friedman            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/science Mauna Loas Eruption Provides a Rare
2022-12-03   2022-12-13 /mauna-loa-volcano-eruption-hawaii.html       Glimpse Into Earth                         By Oliver Whang                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/well/eat
2022-12-03   2022-12-13 /whole-grains.html                            What Are Whole Grains Anyway               By Hannah Seo                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/science Titanic Weather Where It Rains Gasoline and
2022-12-05   2022-12-13 /titan-webb-telescope-pictures.html           Snow Darkens the Landscape                 By Dennis Overbye               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/well/fa How to Spot Symptoms Of Flu in Your
2022-12-05   2022-12-13 mily/flu-symptoms-children.html               Children                                   By Knvul Sheikh                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/arts/dan The Joyce Plans a Diverse Spring Dance
2022-12-06   2022-12-13 ce/the-joyce-spring-season.html               Season                                     By Rachel Sherman               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/science So to Speak In Any Language Cursing Sounds
2022-12-06   2022-12-13 /swear-words-sounds.html                      Gosh Darn Similar                          By Elizabeth Preston            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/well/liv Am I Getting Enough Vitamin D During the
2022-12-06   2022-12-13 e/vitamin-d-deficiency-winter.html            Winter                                     By Rachel Rabkin Peachman       TX 9-270-555   2023-02-01



                                                                                 Page 4619 of 5793
                        https://www.nytimes.com/2022/12/06/science Angry Ankylosaurs A Sledgehammer for a
2022-12-07   2022-12-13 /ankylosaur-club-tail-dinosaur.html         Tail And a Host of Rivals to Pound           By Jack Tamisiea              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/science Strange Brew Before Beer Became Lager A
2022-12-07   2022-12-13 /beer-yeast-lager.html                      Microbe Took a Mysterious Journey            By Veronique Greenwood        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/arts/koj
2022-12-08   2022-12-13 in-karatani-berggruen-prize.html            Japanese Philosopher Wins Award              By Dan Bilefsky               TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/08/busines In Hollers Where She Directs Aid Theyre
2022-12-08   2022-12-13 s/black-women-appalachia-margo-miller.html Learning to Expect Her                        By Tariro Mzezewa             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/world/e
                        urope/medieval-necklace-burial-harpole-    In 7thCentury Find Hints Of Early Christian
2022-12-08   2022-12-13 treasure.html                              Leader                                        By Michael Levenson           TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/09/arts/des Golf Course on Ancient Earthworks Must Go
2022-12-09   2022-12-13 ign/octagon-earthworks-ohio-golf-course.html Court Says                                By Sarah Bahr                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/science Theyre Taking Jigsaws To Infinity and
2022-12-09   2022-12-13 /puzzles-jigsaw-math.html                    Beyond                                    By Siobhan Roberts              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/well/mi
2022-12-09   2022-12-13 nd/men-mental-health-therapy.html            Attempting to Get More Men to Try Therapy By Dana G Smith                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/world/e Eric Allison 79 a Prison Reporter Who Knew
2022-12-09   2022-12-13 urope/eric-allison-dead.html                 the Beat From the Inside                  By Richard Sandomir             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/arts/dan
2022-12-11   2022-12-13 ce/review-folds.html                         Caught Between Laughter and Grief         By Siobhan Burke                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/arts/dan
2022-12-11   2022-12-13 ce/review-survivors-and-roys-joys.html       Rage and Romance Through Prison Bars      By Brian Seibert                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/arts/des Fernando Campana 61 Who Made Furniture
2022-12-11   2022-12-13 ign/fernando-campana-dead.html               From Anything Dies                        By Penelope Green               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/briefing
2022-12-11   2022-12-13 /ethiopia-war-tigray.html                    In Ethiopia Both Devastation and Hope     By Lauren Jackson               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/science Carrying a Rover and a Robot a Japanese
2022-12-11   2022-12-13 /spacex-ispace-japan-moon-lander.html        Lunar Lander Is Launched                  By Kenneth Chang                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/arts/des
2022-12-12   2022-12-13 ign/bro-sis-harlem-community-center.html     An Instant Landmark In Harlem             By Michael Kimmelman            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/arts/des City to Honor Men Wrongfully Convicted in
2022-12-12   2022-12-13 ign/central-park-five-gate.html              Central Park Jogger Case                  By Zachary Small                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/arts/mu Angelo Badalamenti 85 Composer Of Eerie
2022-12-12   2022-12-13 sic/angelo-badalamenti-dead.html             Twin Peaks Theme Dies                     By Anita Gates                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/arts/mu
2022-12-12   2022-12-13 sic/samara-joy-linger-awhile.html            Helping Jazz Take a Youthful Turn         By Elysa Gardner                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/arts/tele
2022-12-12   2022-12-13 vision/kindred-review-hulu.html              Slaverys Horror With Millennials          By Mike Hale                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/books/b Growing Network of Conservative Groups Is By Elizabeth A Harris and
2022-12-12   2022-12-13 ook-bans-libraries.html                      Fueling Book Bans                         Alexandra Alter                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/books/b Bookforum Shuts Down After It Changed       By Kate Dwyer and Elizabeth A
2022-12-12   2022-12-13 ookforum-magazine-closing.html               Hands                                     Harris                          TX 9-270-555   2023-02-01



                                                                                Page 4620 of 5793
                        https://www.nytimes.com/2022/12/12/busines It Doesnt Hurt at All In Chinas New Strategy By Alexandra Stevenson and Olivia
2022-12-12   2022-12-13 s/china-covid-zero-vaccines.html           On Covid Vaccine Is Key                      Wang                              TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/12/busines
                        s/economy/inflation-forecasts-historical-
2022-12-12   2022-12-13 outlook.html                               Wary Outlook After a Misfire Over Inflation By Jeanna Smialek                  TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/12/busines FTX Founder Held in Bahamas As US Files By David YaffeBellany William K
2022-12-12   2022-12-13 s/ftx-sam-bankman-fried-bahamas.html        Criminal Charges                            Rashbaum and Matthew Goldstein      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/busines Japan Needs Indian Tech Workers But Does
2022-12-12   2022-12-13 s/japan-indian-tech-workers.html            Little to Ease Their Way                    By Joseph Coleman                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/busines
                        s/media/wall-street-journal-matt-murray-                                                By Katie Robertson Edmund Lee
2022-12-12   2022-12-13 emma-tucker.html                            Journal Taps 1st Woman As Top Editor        and Benjamin Mullin                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/movies/ Dulled the Golden Globes Announce
2022-12-12   2022-12-13 golden-globes-nominees-list.html            Nominations                                 By Brooks Barnes                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/movies/
2022-12-12   2022-12-13 pelosi-jan-6-attack-alexandra.html          One Pelosi As Viewed By Another             By Melena Ryzik                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/nyregio Brooklyn Hospitals Hit By a Fierce           By Sarah Maslin Nir Joseph
2022-12-12   2022-12-13 n/brooklyn-hospital-cyberattack.html        Cyberattack Taking Computers Offline        Goldstein and Sharon Otterman       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/nyregio Onetime Mayoral Candidate Sues Accuser
2022-12-12   2022-12-13 n/scott-stringer-sues-jean-kim.html         Over Sexual Assault Claim                   By Nicholas Fandos                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/opinion The Root Cause of Violent Crime Is Not What
2022-12-12   2022-12-13 /crime-policies-cities.html                 We Think It Is                              By Phillip Atiba Goff               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/opinion
2022-12-12   2022-12-13 /sinema-musk-biden-trump.html               Sinema Hits the SelfEject Button            By Gail Collins and Bret Stephens   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/science
2022-12-12   2022-12-13 /china-space-chronology-timeline.html       A Space Programs Rise to Relevance          By The New York Times               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/science
2022-12-12   2022-12-13 /china-space-moon-mars.html                 Chinas Moonshot                             By Keith Bradsher                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/science Scientists to Announce Big Breakthrough in
2022-12-12   2022-12-13 /nuclear-fusion-energy-breakthrough.html    Fusion Energy                               By Kenneth Chang                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/science
2022-12-12   2022-12-13 /tiangong-science-physics.html              An Outposts Outreach                        By Kenneth Chang                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/sports/s He Keeps Going So That the Conversation
2022-12-12   2022-12-13 occer/world-cup-bein-sports.html            Can                                         By Tariq Panja                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/sports/ Refusing to Lose And Seeing Wins As No
2022-12-12   2022-12-13 world-cup/croatia-luka-modric.html          Surprise                                    By Rory Smith                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/us/conf Last Confederate Monument In Richmond Is
2022-12-12   2022-12-13 ederate-statue-richmond.html                Taken Away                                  By Christine Hauser                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/us/el- Migrants Cross In Large Wave Straining        By Simon Romero J David
2022-12-12   2022-12-13 paso-migrants-border.html                   Texas                                       Goodman and Eileen Sullivan         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/us/fenta Fentanyl Cuts a Path of Devastation Through
2022-12-12   2022-12-13 nyl-overdose-deaths.html                    Milwaukee                                   By Julie Bosman                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/us/new- Election Tie in New Hampshire Spurs a
2022-12-12   2022-12-13 hampshire-state-house-election-tie.html     Runoff No One Wants to Talk About           By Jenna Russell                    TX 9-270-555   2023-02-01



                                                                                Page 4621 of 5793
                        https://www.nytimes.com/2022/12/12/us/polit Chances Fading For an Inquiry On Covid
2022-12-12   2022-12-13 ics/covid-commission-congress.html          Effort                                     By Sheryl Gay Stolberg           TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/12/us/polit Crime Report Shows Drop But the Data Is
2022-12-12   2022-12-13 ics/fbi-hate-crimes.html                    Incomplete                                 By Glenn Thrush                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/12/us/polit Military to Replace Guantnamo Bay Hospital
2022-12-12   2022-12-13 ics/guantanamo-bay-hospital.html            With 435 Million Health Facility           By Carol Rosenberg               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/12/us/polit Groups Spent 32 Million to Fight Election
2022-12-12   2022-12-13 ics/midterm-elections-voting-rights.html    Denialism                                  By Katie Glueck                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/12/us/polit Lawyers Spar Over Interpretation of
2022-12-12   2022-12-13 ics/obstruction-charge-jan-6.html           Obstruction Charge in Jan 6 Cases          By Alan Feuer                    TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/12/us/polit                                             By David A Fahrenthold and Adam
2022-12-12   2022-12-13 ics/project-veritas-james-okeefe-taxes.html  Nonprofit Founder Given Excess Benefit     Goldman                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/us/supr
                        eme-court-flavored-tobacco-ban-              Supreme Court Clears Way for California To
2022-12-12   2022-12-13 california.html                              Enforce Its Ban on Flavored Tobacco        By Adam Liptak                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/world/a                                              By Yan Zhuang and Matthew
2022-12-12   2022-12-13 ustralia/assisted-colonization-tortoise.html Moving to a Cooler Wetter Australian Home Abbott                            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/world/e Norway Starts to See Russian Spies           By Erika Solomon and Henrik
2022-12-12   2022-12-13 urope/arctic-norway-russian-spies.html       Everywhere                                 Pryser Libell                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/world/e Corruption Inquiry Connected to Qatar        By Matina StevisGridneff and
2022-12-12   2022-12-13 urope/eu-qatar-corruption.html               Scandalizes Brussels                       Monika Pronczuk                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/world/e
2022-12-12   2022-12-13 urope/russia-ukraine-missiles.html           Russia Using Missiles Ukraine Surrendered By Marc Santora                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/world/e Snow and Falling Temperatures Bring Parts
2022-12-12   2022-12-13 urope/uk-cold-london-snow.html               of UK to Standstill                        By Daniel Victor and Jenny Gross TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/world/ A 2nd Iranian Protester Is Executed This
2022-12-12   2022-12-13 middleeast/iran-protests-execution.html      Time At a Public Hanging                   By Farnaz Fassihi                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/busines                                              By Emily Flitter and David
2022-12-13   2022-12-13 s/binance-crypto-ftx-collapse.html           Binance Shifts Image As New Face Of Crypto YaffeBellany                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/opinion
2022-12-13   2022-12-13 /america-trade-biden.html                    Why America Is Getting Tough on Trade      By Paul Krugman                  TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/12/opinion
2022-12-13   2022-12-13 /the-white-lotus-finale-toxic-masculinity.html The Absurdist Finale of White Lotus    By Michelle Goldberg              TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/12/theater/
2022-12-13   2022-12-13 merrily-we-roll-along-review.html              A Big Flop Returns Looking Unfloppable By Jesse Green                    TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/12/world/a 6 Are Killed In Shootout In Rural Area Of
2022-12-13   2022-12-13 ustralia/shooting-queensland-officers.html     Australia                              By Natasha Frost                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/12/world/e
2022-12-13   2022-12-13 urope/putin-skips-news-conference.html         Putin Skips Annual News Conference     By Neil MacFarquhar               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/sports/s South American Teams Savor What for Many
2022-12-13   2022-12-13 occer/argentina-yerba-mate.html                Others Is an Acquired Taste            By James Wagner                   TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/sports/u Several UFC Fighters Linked to Chechen
2022-12-13   2022-12-13 fc-ramzan-kadyrov.html                         Leader Who Strongly Backs Putin        By Karim Zidan and Kevin Draper   TX 9-270-555    2023-02-01



                                                                               Page 4622 of 5793
                        https://www.nytimes.com/2022/12/13/world/a
                        frica/african-union-macky-sall-senegal-    There Must Be More Room for Africa Leader
2022-12-13   2022-12-13 summit.html                                of African Union Says                     By Ruth Maclean              TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/07/busines
2022-12-07   2022-12-14 s/chamath-palihapitiya-spac-investors.html  Onetime SPAC King Is Now Moving On         By Maureen Farrell         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/dining/
2022-12-07   2022-12-14 noodle-kugel-recipe.html                    The Sweeter Side Of Noodle Kugel           By Melissa Clark           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/dining/
                        winter-menu-recipe-lamb-shank-persimmon-
2022-12-07   2022-12-14 salad.html                                  Feasting on Lamb and Hearty Beans          By David Tanis             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/arts/mu
2022-12-09   2022-12-14 sic/english-national-opera-future.html      English National Operas Future Is in Limbo By Alex Marshall           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/books/r
                        eview/effective-altruism-sam-bankman-fried-
2022-12-09   2022-12-14 crypto.html                                 Effective Altruism On the Defensive        By Jennifer Szalai         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/dining/ 25 Restaurant Dishes We Cant Stop Thinking
2022-12-09   2022-12-14 best-restaurant-dishes-2022.html            About                                      By The New York Times      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/dining/
2022-12-09   2022-12-14 best-simple-holiday-cake-recipes.html       The Finest Holiday Cakes Are the Simplest By Dorie Greenspan          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/dining/
2022-12-09   2022-12-14 warsaw-bakery-jewish-food.html              A Warsaw Bakery Bistro With a Twist        By Joan Nathan             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/movies/
2022-12-11   2022-12-14 judd-hirsch-the-fabelmans.html              Has He Got a Story Or Three                By Dave Itzkoff            TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/12/arts/des
2022-12-12   2022-12-14 ign/ashley-bickerton-artist-appraisal-als.html To the End the Buzz Found Him             By Jamie Brisick         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/arts/mu
                        sic/mariah-carey-billboard-chart-
2022-12-12   2022-12-14 christmas.html                                 Mariah Careys Anthem Retakes Top Spot     By Ben Sisario           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/arts/mu Lawsuit Over Lyrics in Taylor Swift Song Is
2022-12-12   2022-12-14 sic/taylor-swift-shake-it-off-lawsuit.html     Dismissed                                 By Ben Sisario           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/arts/tele
                        vision/white-lotus-jennifer-coolidge-mike-     The White Lotus Of Desire and Its
2022-12-12   2022-12-14 white.html                                     Consequences                              By Alexis Soloski        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/dining/
                        chocolate-fudge-caramel-nougat-candy-
2022-12-12   2022-12-14 recipes.html                                   Sugary Secrets Getting Candy Just Right   By Claire Saffitz        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/dining/r
2022-12-12   2022-12-14 ockefeller-center-restaurants.html             Rockefeller Center Is an Event to Savor   By Pete Wells            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/movies/
2022-12-12   2022-12-14 world-cup-movies.html                          Soccer Movies Come With High Hopes        By Beatrice Loayza       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/opinion What Comes Next for the War on Drugs The
2022-12-12   2022-12-14 /drug-crisis-addiction.html                    Beginning of the End                      By The Editorial Board   TX 9-270-555   2023-02-01




                                                                                Page 4623 of 5793
                        https://www.nytimes.com/2022/12/12/technol                                            By David YaffeBellany Lora Kelley
2022-12-13   2022-12-14 ogy/sbf-parents-ftx-collapse.html          The Parents In the Middle Of FTXs Fall     and Kenneth P Vogel               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/arts/mu With Indiana Jones Era Over Museums
2022-12-13   2022-12-14 seums-looted-art-repatriation.html         Assess Looted Art                          By Graham Bowley                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/13/arts/mu
2022-12-13   2022-12-14 sic/sza-sos-review.html                    Reveling in Mixed Emotions and Styles      By Jon Pareles                   TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/13/busines Inflation Slows Leading to Hope Of Soft
2022-12-13   2022-12-14 s/economy/inflation-cpi-november.html      Landing                                    By Jeanna Smialek                TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/13/busines                                                By David YaffeBellany Matthew
2022-12-13   2022-12-14 s/ftx-sam-bankman-fried-fraud-charges.html Fraud at FTX Started Early Charges Claim       Goldstein and Emily Flitter    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/busines Tax Scheme Mastermind Gets 8 Years in
2022-12-13   2022-12-14 s/hanno-berger-sentenced-tax-fraud.html        Germany                                    By David Segal                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/busines Lloyd Newman Who Chronicled Ghetto Life
2022-12-13   2022-12-14 s/media/lloyd-newman-dead.html                 as a Teen Dies at 43                       By Sam Roberts                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/busines
2022-12-13   2022-12-14 s/stocks-investors-inflation.html              Markets Welcome Signs of Fed Slowdown      By Isabella Simonetti          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/busines United Airlines Orders 100 WideBody Boeing
2022-12-13   2022-12-14 s/united-airlines-boeing.html                  787 Jets                                   By Niraj Chokshi               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/climate In a Rapidly Warming Arctic Rain Where It
2022-12-13   2022-12-14 /arctic-climate-change.html                    Used to Snow                               By Raymond Zhong               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/dining/
2022-12-13   2022-12-14 best-cheap-restaurants-nyc.html                Just What Your Budget Ordered              By Pete Wells                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/dining/                                                By The New York Times and Ross
2022-12-13   2022-12-14 best-cookbooks-2022.html                       Their Stories Told Through Food            MacDonald                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/dining/
2022-12-13   2022-12-14 best-dishes-nyc.html                           Too Tasty To Forget                        By Pete Wells                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/dining/
2022-12-13   2022-12-14 best-restaurants-nyc.html                      New York Citys Top 10 New Restaurants      By Pete Wells                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/dining/t Christmas Lights Seven Fishes and Marriage
2022-12-13   2022-12-14 he-holiday-edition.html                        Morsels                                    By Nikita Richardson           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/needies
                        t-cases/big-joe-the-forklift-and-more-ways-to- A Little Help From Big Joe the Forklift a
2022-12-13   2022-12-14 spread-help.html                               Daily Meal and Winter Coats                By Maia Coleman                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/nyregio
2022-12-13   2022-12-14 n/ny-court-kathy-hochul-nominee.html           Hochuls Pick Could Reshape Top Court       By Rebecca Davis OBrien        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/nyregio Subway Station Clerks Will Exit Booths to
2022-12-13   2022-12-14 n/subway-station-clerks-booths-mta.html        Guide Riders                               By Ana Ley                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/nyregio
                        n/trump-organization-contempt-secret-          Trump Organization Was Held in Contempt By Jonah E Bromwich William K
2022-12-13   2022-12-14 trial.html                                     After a Secret Trial Last Year             Rashbaum and Ben Protess       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/opinion
                        /israel-government-netanyahu-                  Palestinians Will Surely Pay the Price for
2022-12-13   2022-12-14 palestinians.html                              Netanyahus Return                          By Diana Buttu                 TX 9-270-555   2023-02-01




                                                                                Page 4624 of 5793
                        https://www.nytimes.com/2022/12/13/opinion
2022-12-13   2022-12-14 /sandy-hook-gun-safety.html                 We Can Be Hopeful About Gun Safety           By Dave Cullen                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/science A Blast of 192 Lasers Achieves a
2022-12-13   2022-12-14 /nuclear-fusion-energy-breakthrough.html    Breakthrough in Nuclear Fusion               By Kenneth Chang                TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/sports/a
2022-12-13   2022-12-14 utoracing/f1-ferrari-season.html            A secondplace finish full of mistakes        By Phillip Horton               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/sports/a
2022-12-13   2022-12-14 utoracing/f1-max-verstappen.html            For Verstappen a season like no other        By Ian Parkes                   TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/sports/a
2022-12-13   2022-12-14 utoracing/f1-season-changes.html            Goodbyes hellos and big moves                By Ian Parkes                   TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/sports/b Curt Simmons 93 AllStar LeftHander And the
2022-12-13   2022-12-14 aseball/curt-simmons-dead.html              Last of the Phillies Whiz Kids               By Richard Goldstein            TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/sports/n Mike Leach 61 Coach Whose Aerial
2022-12-13   2022-12-14 caafootball/mike-leach-dead.html            Barrages Changed Football Dies               By Richard Sandomir             TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/sports/n No One Is Enthusiastic About UCLAs Move
2022-12-13   2022-12-14 caafootball/ucla-big-ten-uc-regents.html    to the Big Ten                               By Billy Witz                   TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/sports/s
                        occer/messi-argentina-goals-assist-
2022-12-13   2022-12-14 croatia.html                                Messi Gets One Last Shot                     By Rory Smith                   TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/style/sa
2022-12-13   2022-12-14 m-bankman-fried-style.html                  Tech Fashion May Be Due For a TuckIn         By Vanessa Friedman             TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/technol Musk Shakes Up Twitters Legal Team and        By Ryan Mac Mike Isaac and Kate
2022-12-13   2022-12-14 ogy/elon-musk-twitter-shakeup.html          Prepares for Battle                          Conger                          TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/theater/
                        tony-awards-united-palace-washington-       2023 Tony Awards Will Be Held in
2022-12-13   2022-12-14 heights.html                                Washington Heights                           By Michael Paulson              TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/us/polit Biden Meets With African Leaders on          By Edward Wong and Michael
2022-12-13   2022-12-14 ics/africa-summit-biden.html                Security Trade and Outer Space               Crowley                         TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/13/us/polit
2022-12-13   2022-12-14 ics/biden-same-sex-marriage-bill.html       Biden Signs Bill to Protect SameSex Marriage By Michael D Shear              TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/13/us/polit Justice Dept Considers Early Release for
2022-12-13   2022-12-14 ics/federal-prison-sexual-abuse.html        Female Inmates Sexually Abused Behind Bars By Glenn Thrush                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/us/polit
                        ics/republican-senators-vote-same-sex-      12 Republican Senators Who Crossed Party
2022-12-13   2022-12-14 marriage.html                               Lines                                       By Annie Karni                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/us/polit Democrats Retain Their Grip on Diversifying
2022-12-13   2022-12-14 ics/suburbs-midterms.html                   Suburbs                                     By Trip Gabriel and Ruth Igielnik TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/us/polit
                        ics/trump-mccarthy-speaker-republicans-     McCarthy Fights to Clear Path to Speakers   By Catie Edmondson Maggie
2022-12-13   2022-12-14 freedom-caucus.html                         Seat                                        Haberman and Annie Karni          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/us/texa Texas Resumes Truck Inspections at Border By Edgar Sandoval Simon Romero
2022-12-13   2022-12-14 s-el-paso-migrants-border.html              as Migrant Surge Continues                  and J David Goodman               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/world/a Despite Deaths in Somalia Monitor Says Its
2022-12-13   2022-12-14 frica/somalia-famine.html                   Not a Famine Yet                            By Declan Walsh                   TX 9-270-555   2023-02-01



                                                                               Page 4625 of 5793
                        https://www.nytimes.com/2022/12/13/world/a
                        frica/south-africa-cyril-ramaphosa-        South Africa Rejects Bid To Oust Besieged
2022-12-13   2022-12-14 impeachment.html                           Leader                                        By John Eligon and Lynsey Chutel TX 9-270-555       2023-02-01
                        https://www.nytimes.com/2022/12/13/world/a
                        mericas/peru-unrest-president-pedro-       At Least 6 Dead in Peru as ExPresidents       By Mitra Taj Julie Turkewitz and
2022-12-13   2022-12-14 castillo.html                              Supporters Demand New Vote                    Genevieve Glatsky                TX 9-270-555       2023-02-01
                        https://www.nytimes.com/2022/12/13/world/a Star of KPop Enters Army And Pauses Legal
2022-12-13   2022-12-14 sia/bts-jin-military-service.html          Debate                                        By Jin Yu Young and Yan Zhuang TX 9-270-555         2023-02-01
                        https://www.nytimes.com/2022/12/13/world/a Beijings Streets Empty as Covid And Fear      By Keith Bradsher and David
2022-12-13   2022-12-14 sia/china-covid-zero-beijing.html          Surge                                         Pierson                          TX 9-270-555       2023-02-01
                        https://www.nytimes.com/2022/12/13/world/a With Fists and Clubs India and China Clash at By Sameer Yasir and Emily
2022-12-13   2022-12-14 sia/india-china-border-clash.html          LongDisputed Border                           Schmall                          TX 9-270-555       2023-02-01
                        https://www.nytimes.com/2022/12/13/world/e New EU Tax Hits Countries Failing to Halt
2022-12-13   2022-12-14 urope/eu-carbon-tax-law-imports.html       Gas Emissions                                 By Emma Bubola                   TX 9-270-555       2023-02-01

                        https://www.nytimes.com/2022/12/13/world/e Eight Convicted for Roles In 2016 Massacre
2022-12-13   2022-12-14 urope/france-nice-terrorist-attack-trial.html in Nice                                    By Constant Mheut                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/world/e
                        urope/prince-heinrich-germany-russian-        German Prince Accused in Plot Is Said to
2022-12-13   2022-12-14 consulate.html                                Have Met With Russian Diplomats            By Erika Solomon                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/world/e Sunak Unveils Plans to Curb Migrant Flow to
2022-12-13   2022-12-14 urope/uk-migration.html                       UK                                         By Stephen Castle                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/world/e To Push Moscow Out of South Kyiv Focuses
2022-12-13   2022-12-14 urope/ukraine-russia-melitopol.html           on Regaining Melitopol                     By Marc Santora                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/world/ In Libya Questions About How Lockerbie
2022-12-13   2022-12-14 middleeast/libya-lockerbie-suspect-us.html    Suspect Was Handed Over to US              By Jane Arraf                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/world/ In a Rare Letter Israel Warns Soldiers to Stay
2022-12-13   2022-12-14 middleeast/netanyahu-israel-military.html     Out of Politics                            By Patrick Kingsley                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/article/tory-lanez- Megan Thee Stallion Testifies in Trial of
2022-12-13   2022-12-14 trial-megan-thee-stallion.html                Rapper Accused of Shooting Her             By Joe Coscarelli and Julia Jacobs   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/live/2022/12/13/wo
                        rld/russia-ukraine-news/federal-prosecutors-
                        say-2-us-nationals-and-5-russians-conspired-
2022-12-13   2022-12-14 to-feed-moscows-war-machine                  US Accuses 7 of Offering Intel to Russia     By Ed Shanahan                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/nyregio One Plan to Refit the BQE Is to Make It the
2022-12-14   2022-12-14 n/bqe-six-lanes.html                         Way It Was                                   By Winnie Hu                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/opinion
2022-12-14   2022-12-14 /republican-party-kevin-mccarthy.html        Evil Clowns and Cowardly Lions               By Bret Stephens                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/us/penn A Month Later House Control Still
2022-12-14   2022-12-14 sylvania-house-control.html                  Undecided In Pennsylvania                    By Campbell Robertson               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/us/polit US Poised to Approve Sending Advanced
2022-12-14   2022-12-14 ics/ukraine-us-patriot-missiles.html         Missile Defense System to Ukraine            By Eric Schmitt and John Ismay      TX 9-270-555   2023-02-01




                                                                                 Page 4626 of 5793
                        https://www.nytimes.com/2022/12/13/world/e
                        urope/paris-ukraine-infrastructure-        Coalition of 50 Nations Pledges 1 Billion to   By Catherine Porter and Liz
2022-12-14   2022-12-14 donors.html                                Kyiv for Repairs                               Alderman                      TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/13/world/ Joy and Anxiety Mix as Moroccans Look
2022-12-14   2022-12-14 middleeast/morocco-world-cup-anxiety.html Ahead to a Match Against France               By Vivian Yee and Aida Alami    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/dining/
2022-12-14   2022-12-14 most-popular-recipes.html                   Simple Fast and Popular Too                 By Margaux Laskey               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/insider/
                        covids-ripples-in-the-middle-of-the-        A Story About Covid in the Middle of the
2022-12-14   2022-12-14 ocean.html                                  Pacific                                     By Terence McGinley             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/sports/f The Lions Back Up the Swagger of Their
2022-12-14   2022-12-14 ootball/detroit-lions-dan-campbell.html     Blustering Coach                            By Mike Tanier                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/us/polit Unsung and Comforting Families of Sandy
2022-12-14   2022-12-14 ics/sandy-hook-anniversary.html             Hook                                        By Elizabeth Williamson         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/07/style/le Getting Lost in Your Own Sense of Multiple By Madison Malone Kircher and
2022-12-08   2022-12-15 nsa-ai-selfies.html                         Selves                                      Callie Holtermann               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/well/mi Here to Help How to Fend Off Holiday Stress
2022-12-09   2022-12-15 nd/holiday-stress-relief.html               From People Who Should Know                 By Jancee Dunn                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/10/sports/ Mills Lane 85 Referee Of TysonHolyfield
2022-12-10   2022-12-15 mills-lane-dead.html                        Bout Cut Short by Two Ear Bites             By Richard Sandomir             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/books/ Marijane Meaker 95 Who Took Lesbian Pulp
2022-12-11   2022-12-15 marijane-meaker-dead.html                   Mainstream Is Dead                          By Neil Genzlinger              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/movies/
                        golden-globe-nominations-snubs-
2022-12-12   2022-12-15 surprises.html                              A Cold Shoulders Chill on the Golden Globes By Kyle Buchanan                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/opinion Vanishing Ash Trees Endanger an American
2022-12-12   2022-12-15 /basket-ash-insect.html                     Tradition                                   By Thomas J Campanella          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/style/lo
2022-12-12   2022-12-15 s-angeles-celine-2023-runway.html           Where Skinny Jeans Are on the March         By Max Berlinger                TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/13/arts/tele
2022-12-13   2022-12-15 vision/angelo-badalamenti-twin-peaks.html His Twin Peaks Theme Is More Than a Song        By James Poniewozik           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/movies/
2022-12-13   2022-12-15 animation-bessie-mae-kelley.html             Reclaiming a Place in Animation History      By Brooks Barnes              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/travel/v Black Travelers Cite Racial Bias Airbnb
2022-12-13   2022-12-15 acation-rentals-racism.html                  Agrees                                       By Sara Clemence              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/arts/tele Stuart Margolin 82 Memorable Sidekick In
2022-12-14   2022-12-15 vision/stuart-margolin-dead.html             Rockford Files Dies                          By Neil Genzlinger            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/arts/dan
2022-12-14   2022-12-15 ce/review-gibney-yag-ohad-naharin.html       Updating a Classic Work by Ohad Naharin      By Brian Seibert              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/arts/des
2022-12-14   2022-12-15 ign/con-artist-adam-himebauch.html           His Secret Identity                          By Rachel Sherman             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/arts/des
2022-12-14   2022-12-15 ign/philip-guston-met-museum-gift.html       Met to Receive Trove Of Philip Gustons Art   By Robin Pogrebin             TX 9-270-555   2023-02-01



                                                                                 Page 4627 of 5793
                        https://www.nytimes.com/2022/12/14/arts/mu Atlanta Rapper Gunna Is Freed From Jail       By Joe Coscarelli and Richard
2022-12-14   2022-12-15 sic/gunna-plea-ysl-case.html                 After Plea Deal in YSL Gang Case            Fausset                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/arts/mu
2022-12-14   2022-12-15 sic/handel-messiah-new-york.html             Handels Messiah Is in Season                By Oussama Zahr                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/arts/mu
2022-12-14   2022-12-15 sic/met-opera-cyberattack.html               A Night at the Opera the OldFashioned Way   By Dan Bilefsky                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/arts/tele Stephen Boss 40 DJ Dancer and Ellen
2022-12-14   2022-12-15 vision/twitch-stephen-boss-dead.html         Merrymaker                                  By Julia Jacobs                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/arts/tho
2022-12-14   2022-12-15 mas-pynchon-huntington-archive.html          Thomas Pynchon Sells His Archive            By Jennifer Schuessler          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/busines
2022-12-14   2022-12-15 s/ana-shellem-fishing-company.html           An act of mindfulness with every catch      By Shivani Vora                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/busines                                               By Daisuke Wakabayashi and
2022-12-14   2022-12-15 s/china-economy-covid.html                   Murky Covid19 Data Clouds Chinas Picture    Claire Fu                       TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/14/busines Fed Raises Rate At Slower Pace But Is Not     By Jeanna Smialek and Joe
2022-12-14   2022-12-15 s/economy/interest-rates-inflation-fed.html Done                                         Rennison                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/busines Britains Inflation Rate Dips to 107 Percent
2022-12-14   2022-12-15 s/economy/uk-inflation-prices.html          From a FourDecade High                       By Eshe Nelson                  TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/14/busines Stock Influencer Is Charged With a 100
2022-12-14   2022-12-15 s/sec-influencers-twitter-discord-fintwit.html Million Scheme                           By Livia AlbeckRipka             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/busines
2022-12-14   2022-12-15 s/state-farm-racial-bias-lawsuit.html          Lawsuit vs Insurer Says Data Proves Bias By Emily Flitter                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/climate In a Fight Over Lawn and Order a
2022-12-14   2022-12-15 /native-plants-lawns-homeowners.html           NatureFriendly Yard Prevails             By Cara Buckley and Jason Andrew TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/health/ Wahls Death Caused By Burst Blood Vessel By Apoorva Mandavilli and
2022-12-14   2022-12-15 grant-wahl-death.html                          Foul Play Is Ruled Out                   Andrew Das                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/health/l Long Covid Has Contributed to More Than
2022-12-14   2022-12-15 ong-covid-deaths.html                          3500 Deaths in the US a Study Finds      By Pam Belluck                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/nyregio Hochul and Adams Unveil Their Vision For By Jeffery C Mays and Nicole
2022-12-14   2022-12-15 n/adams-hochul-ny-plan.html                    New New York                             Hong                             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/nyregio Judge Temporarily Prevents Pay Increase for
2022-12-14   2022-12-15 n/ny-uber-pay-hike.html                        RideHail Drivers in New York City        By Ana Ley                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/nyregio People Arrested in Manhattan to Be Offered
2022-12-14   2022-12-15 n/nyc-crime-mental-health-housing.html         Mental Health Care Under DAs Plan        By Chelsia Rose Marcius          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/opinion
                        /allen-ginsberg-gay-rights-same-sex-
2022-12-14   2022-12-15 marriage.html                                  When Allen Ginsberg Came to Town         By Gail Collins                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/sports/b
                        aseball/jose-quintana-david-robertson-         Mets Add Depth While Preparing for Two
2022-12-14   2022-12-15 mets.html                                      Different Seasons                        By Tyler Kepner                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/sports/s
2022-12-14   2022-12-15 occer/france-beats-morocco.html                France Ends Moroccos Miracle Run         By Rory Smith                    TX 9-270-555   2023-02-01




                                                                                 Page 4628 of 5793
                        https://www.nytimes.com/2022/12/14/sports/s Players Endured Abuse and Feared Reporting
2022-12-14   2022-12-15 occer/nwsl-abuse-report.html                It NWSL Inquiry Finds                      By Juliet Macur             TX 9-270-555            2023-02-01
                        https://www.nytimes.com/2022/12/14/style/mi
2022-12-14   2022-12-15 chelle-obama-book-tour-fashion.html         A Fashion Declaration of Independence      By Vanessa Friedman         TX 9-270-555            2023-02-01
                        https://www.nytimes.com/2022/12/14/style/st
2022-12-14   2022-12-15 ylish-menorah.html                          Judaica for the Instagram Age              By Marisa Meltzer           TX 9-270-555            2023-02-01
                        https://www.nytimes.com/2022/12/14/technol
                        ogy/netchoice-lawsuit-children-online-
2022-12-14   2022-12-15 safety.html                                 Child Safety Internet Law Challenged       By Natasha Singer           TX 9-270-555            2023-02-01
                        https://www.nytimes.com/2022/12/14/technol
                        ogy/personaltech/parental-controls-         Get Your Childs New Phone Locked Down
2022-12-14   2022-12-15 smartphone.html                             Before You Hand It Over                    By J D Biersdorfer          TX 9-270-555            2023-02-01
                        https://www.nytimes.com/2022/12/14/theater/
2022-12-14   2022-12-15 review-ye-bear-ye-cubb.html                 Behaving Badly in Colonial America         By Alexis Soloski           TX 9-270-555            2023-02-01
                        https://www.nytimes.com/2022/12/14/us/colle Colleges Are Resetting Tuition After
2022-12-14   2022-12-15 ge-universities-college-tuition-reset.html  Applicants Balk at Costs                   By Anemona Hartocollis      TX 9-270-555            2023-02-01
                        https://www.nytimes.com/2022/12/14/us/el- El Paso Long an Immigrant Haven Is Tested By Simon Romero Edgar Sandoval
2022-12-14   2022-12-15 paso-migrants-title-42.html                 by a Spike in Arrivals                     and J David Goodman         TX 9-270-555            2023-02-01

                        https://www.nytimes.com/2022/12/14/us/hurri Hurricane Wiped Out Hundreds of Thousands
2022-12-14   2022-12-15 cane-ian-florida-bees.html                  of Beehives Vital to Food Production          By Remy Tumin                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/us/pelo Brutal Attack on Pelosi In San Francisco
2022-12-14   2022-12-15 si-attack-david-depape-hearing.html         Home Is Shown at Hearing                      By Tim Arango                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/us/polit
2022-12-14   2022-12-15 ics/biden-us-africa-summit.html             Biden Pledges Deals to Bolster Africas Future By Peter Baker and Declan Walsh   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/us/polit
                        ics/congress-house-committee-economy-       House Panel Report on Economy Includes
2022-12-14   2022-12-15 documentary.html                            30Minute Film                                 By Stephanie Lai                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/us/polit Gala for Conservatives Draws New
2022-12-14   2022-12-15 ics/extremism-republicans.html              Lawmakers And Rightist Extremists             By Jonathan Weisman               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/us/polit
2022-12-14   2022-12-15 ics/georgia-runoffs-raffensperger.html      Georgia Official Seeks to End Runoff Races By Maya King                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/us/polit
                        ics/kyrsten-sinema-independent-democrats- For PartySwitchers In House and Senate An
2022-12-14   2022-12-15 republicans.html                            Uncertain Future                              By Carl Hulse                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/us/polit Russias Sham Charge of Spying Makes
2022-12-14   2022-12-15 ics/paul-whelan-russia.html                 Whelans Case the Hardest                      By Michael Crowley                TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/14/us/polit House Buys Time With Stopgap Spending
2022-12-14   2022-12-15 ics/spending-deal-government-shutdown.html Bill                                         By Emily Cochrane                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/world/a Over 140 Dead in Congo As Floods Engulf
2022-12-14   2022-12-15 frica/congo-floods-kinshasa.html            Capital                                     By Elian Peltier                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/world/a Africans Still Feel Legacy of Arms Dealer    By Ruth Maclean and Dounard
2022-12-14   2022-12-15 frica/viktor-bout-arms-liberia.html         Traded for Griner                           Bondo                               TX 9-270-555   2023-02-01




                                                                                 Page 4629 of 5793
                        https://www.nytimes.com/2022/12/14/world/a
                        mericas/argentina-world-cup-maradona-watch-
2022-12-14   2022-12-15 party.html                                 Pilgrimage to a Party at Maradonas House      By Jack Nicas and Sarah Pabst     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/world/a
                        mericas/mia-mottley-climate-change-        A powerful climate leader from a small island
2022-12-14   2022-12-15 barbados.html                              nation                                        By David Gelles                   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/14/world/a Amid Fatal Protests Peru Calls State of
2022-12-14   2022-12-15 mericas/peru-state-of-emergency-protests.html Emergency                                 By Mitra Taj and Julie Turkewitz   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/world/a Counting Goes On in Fiji in a Race Between
2022-12-14   2022-12-15 sia/fiji-election.html                        Two Former Coup Leaders                   By Natasha Frost                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/world/a Gift Dogs End Up in Zoo as Presidents Snarl
2022-12-14   2022-12-15 sia/korea-dogs-president.html                 at Each Other                             By Choe SangHun                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/world/e Court in Belgium Orders 3 Linked to Qatar
2022-12-14   2022-12-15 urope/brussels-qatar-bribery-eu.html          Bribery Case to Stay in Detention         By Monika Pronczuk                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/world/e
2022-12-14   2022-12-15 urope/georgia-anna-dolidze.html               In Georgia a new political star rises     By Celestine Bohlen                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/world/e China Pulls 6 Diplomats From London After
2022-12-14   2022-12-15 urope/uk-china-manchester-consulate.html      Scuffle                                   By Stephen Castle                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/world/e
                        urope/uk-migrant-boat-capsize-english-        Four Die as Small Boat Capsizes in Frigid By Megan Specia and Mark
2022-12-14   2022-12-15 channel.html                                  English Channel                           Landler                            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/world/e As Strikes Expand Britain Faces a New
2022-12-14   2022-12-15 urope/uk-strikes-winter-discontent.html       Winter of Discontent                      By Mark Landler                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/world/e Russia Fires Flurry of IranianMade Drones at By Andrew E Kramer and Marc
2022-12-14   2022-12-15 urope/ukraine-russia-iranian-drones.html      Kyiv After a 3Week Lull                   Santora                            TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/14/world/
2022-12-14   2022-12-15 middleeast/iran-un-womens-rights-vote.html UN Vote Ousts Iran From Agency On Women By Farnaz Fassihi                  TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/14/world/
                        middleeast/istanbul-mayor-erdogan-imamoglu Conviction May Sideline Rival of Turkish
2022-12-14   2022-12-15 .html                                        Leader                                    By Ben Hubbard and Safak Timur TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/14/busines Researchers Report TikToks Youngest Users
                        s/tiktok-safety-teens-eating-disorders-self- Can Encounter Problematic Posts Within 30
2022-12-15   2022-12-15 harm.html                                    Minutes                                   By Sapna Maheshwari            TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/14/nyregio Police Warehouse Fire Lost Untold Evidence By Corey Kilgannon Hurubie Meko
2022-12-15   2022-12-15 n/police-warehouse-fire-evidence.html        From Unsolved Cases                       and Nate Schweber              TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/14/opinion
2022-12-15   2022-12-15 /ukraine-putin-russia.html                   Are We in the West Weaker Than Ukrainians By Nicholas Kristof            TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/14/sports/n Done Deal California Regents Allow UCLA
2022-12-15   2022-12-15 caafootball/ucla-big-ten.html                to Join Big Ten                           By Billy Witz                  TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/14/us/polit Pelosis Official Portrait Unveiled in
2022-12-15   2022-12-15 ics/pelosi-portrait-capitol.html             Bipartisan Tribute                        By Annie Karni                 TX 9-270-555        2023-02-01




                                                                                 Page 4630 of 5793
                        https://www.nytimes.com/2022/12/14/us/polit
                        ics/taney-thurgood-marshall-statue-         Marshall Statue to Replace Bust of Dred Scott
2022-12-15   2022-12-15 capitol.html                                Author                                        By Luke Broadwater              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/busines
2022-12-15   2022-12-15 s/buyers-remorse-personal-finance.html      How to Avoid Buyers Remorse                   By Isabella Simonetti           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/style/be
2022-12-15   2022-12-15 rgdorf-goodman.html                         Surviving Bergdorf Goodman                    By Jessica Testa                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/style/be                                               By Tanner Curtis Christy Harmon
2022-12-15   2022-12-15 st-style-photos-2022.html                   What We Have Seen                             and Stella Bugbee               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/technol Moscows Propagandists Spin a Stumbling         By Paul Mozur Adam Satariano
2022-12-15   2022-12-15 ogy/russia-state-tv-ukraine-war.html        War                                           and Aaron Krolik                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/world/e                                                By Thomas GibbonsNeff and Tyler
2022-12-15   2022-12-15 urope/bakhmut-ukraine-russia-war.html       Spying Enemy By Body Heat On Frigid Night Hicks                               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/02/arts/mu Director Shows His Versatility in a Variety of
2022-12-02   2022-12-16 sic/kornel-mundruczo-lohengrin.html         Genres                                        By AJ Goldmann                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/theater/
2022-12-06   2022-12-16 orlando-emma-corrin.html                    Identities Are Fluid And Time Is Flexible     By Matt Wolf                    TX 9-270-555   2023-02-01
                                                                                                                  By Jon Caramanica Marcus J
                        https://www.nytimes.com/2022/12/08/arts/mu                                                Moore Jon Pareles and Lindsay
2022-12-08   2022-12-16 sic/new-holiday-albums-christmas.html       Hey Santa Baby Have a Yule Thats Cool         Zoladz                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/opinion
2022-12-12   2022-12-16 /stray-dogs-american-south.html             What Do Stray Dogs Tell Us About the South By Margaret Renkl                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/movies/
2022-12-13   2022-12-16 pelosi-in-the-house-review.html             Pelosi in the House                           By Ben Kenigsberg               TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/13/opinion Stanford Harvard and NASA Still Honor a
2022-12-13   2022-12-16 /stanford-harvard-nasa-nazi-scientists.html Nazi Past                                 By Lev Golinkin                   TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/13/sports/s
                        occer/qatar-world-cup-stadiums-air-
2022-12-13   2022-12-16 conditioning.html                           Too Hot Cooler Heads and Bodies Prevailed By John Branch                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/14/movies/
2022-12-14   2022-12-16 avatar-the-way-of-water-review.html         Reopening Pandoras Box                    By AO Scott                       TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/14/movies/
2022-12-14   2022-12-16 make-people-better-review.html              Make People Better                        By Beandrea July                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/14/movies/
2022-12-14   2022-12-16 see-you-friday-robinson-review.html         See You Friday Robinson                   By Nicolas Rapold                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/14/movies/
                        the-little-mermaid-iron-man-national-film-
2022-12-14   2022-12-16 registry.html                               Library of Congress Honors Little Mermaid By Sarah Bahr                     TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/14/nyregio Jay Goldberg 89 Boxer Comedian and Lawyer
2022-12-14   2022-12-16 n/jay-goldberg-dead.html                    for Celebrities and Mobsters              By Sam Roberts                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/14/opinion Xi Jinpings Covid Crisis Is Really an
2022-12-14   2022-12-16 /china-covid-protest-democracy-xi.html      Opportunity                               By Minxin Pei                     TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/14/us/abig Abigail Kawananakoa 96 Heiress Who
2022-12-14   2022-12-16 ail-kawananakoa-dead.html                   Claimed Hawaiian Throne                   By Clay Risen                     TX 9-270-555     2023-02-01



                                                                               Page 4631 of 5793
                        https://www.nytimes.com/2022/12/15/arts/des                                                  By Jason Farago Holland Cotter
2022-12-15   2022-12-16 ign/best-art-books-2022.html                   The Best Art Books of 2022                    and Roberta Smith                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/arts/des
                        ign/refik-anadol-unsupervised-moma-
2022-12-15   2022-12-16 review.html                                    A Museums Daydream of Progress                By Travis Diehl                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/arts/des
                        ign/venice-biennale-curator-adriano-
2022-12-15   2022-12-16 pedrosa.html                                   Brazilian Innovator to Head Venice Biennale   By Jason Farago                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/arts/tele
2022-12-15   2022-12-16 vision/dead-end-made-for-love.html             This Weekend I Have                           By Margaret Lyons                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/busines In China Waiting for Zero Covid Apology
2022-12-15   2022-12-16 s/china-zero-covid-apology.html                That May Never Come                           By Li Yuan                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/busines
2022-12-15   2022-12-16 s/economy/us-china-biden-security.html         US Tightens Clampdown On China                By Ana Swanson                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/busines Musk Sells 36 Billion in Tesla Stock              By Michael J de la Merced and
2022-12-15   2022-12-16 s/elon-musk-tesla-stock.html                   Breaking a Pledge to Retain His Shares        Peter Eavis                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/busines
                        s/energy-environment/california-rooftop-solar- California Reduces Subsidies For Rooftop
2022-12-15   2022-12-16 subsidy.html                                   Solar in Homes                                By Ivan Penn                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/busines
                        s/european-central-bank-inflation-interest-    Europes Banks Raise Rates and Prepare for
2022-12-15   2022-12-16 rates.html                                     More                                          By Eshe Nelson                   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/15/busines Big Hospital Chains Cuts Ignited Its Staffing By Rebecca Robbins Katie Thomas
2022-12-15   2022-12-16 s/hospital-staffing-ascension.html          Crisis                                       and Jessica SilverGreenberg     TX 9-270-555        2023-02-01
                                                                    Disneys Change of Course Wins Praise from
                        https://www.nytimes.com/2022/12/15/busines GLAAD for Films With More LGBTQ
2022-12-15   2022-12-16 s/media/glaad-disney-lgbtq.html             Characters                                   By Brooks Barnes                TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/15/busines Retail Sales Fell in November Despite Black
2022-12-15   2022-12-16 s/retail-sales-november.html                Friday Deals                                 By Jordyn Holman                TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/15/busines
2022-12-15   2022-12-16 s/stocks-dow-fed-inflation.html             Investors Fret Over Rates Dragging Shares    By Isabella Simonetti           TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/15/busines She Owns Lakers and Now Wants to Rule
2022-12-15   2022-12-16 s/women-of-wrestling-jeanie-buss.html       Womens Wrestling                             By Joshua Needelman             TX 9-270-555        2023-02-01
                                                                    How to Hand Out Billions in Climate
                        https://www.nytimes.com/2022/12/15/climate Subsidies Podesta Aims to Tread Very
2022-12-15   2022-12-16 /podesta-climate-law-fraud.html             Carefully                                    By Lisa Friedman                TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/15/health/c
2022-12-15   2022-12-16 ovid-dead-bodies.html                       Covid Can Spread From Corpses Studies Say By Apoorva Mandavilli              TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/15/health/ Study Estimates Millions Are Misdiagnosed
2022-12-15   2022-12-16 medical-errors-emergency-rooms.html         in ER                                        By Reed Abelson                 TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/15/movies/
2022-12-15   2022-12-16 children-of-the-mist-review.html            Children of the Mist                         By Beatrice Loayza              TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/15/movies/
2022-12-15   2022-12-16 jurassic-punk-review.html                   Jurassic Punk                                By Glenn Kenny                  TX 9-270-555        2023-02-01



                                                                                  Page 4632 of 5793
                        https://www.nytimes.com/2022/12/15/movies/
2022-12-15   2022-12-16 nelly-and-nadine-review.html               Nelly amp Nadine                           By Teo Bugbee                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/movies/
                        the-almond-and-the-seahorse-review-like-
2022-12-15   2022-12-16 sand-through-an-hourglass.html             The Almond And the Seahorse                By Amy Nicholson              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/movies/
2022-12-15   2022-12-16 the-apology-review.html                    The Apology                                By Jeannette Catsoulis        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/movies/
2022-12-15   2022-12-16 the-quiet-girl-review.html                 The Quiet Girl                             By Lisa Kennedy               TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/15/movies/
2022-12-15   2022-12-16 the-super-8-years-review-annie-ernaux.html Awkward Home Movies in Skilled Hands         By Manohla Dargis           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/movies/
                        the-volcano-rescue-from-whakaari-
2022-12-15   2022-12-16 review.html                                The Volcano Rescue From Whakaari             By Natalia Winkelman        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/nyregio Woman Says She Unknowingly Funded Plot
2022-12-15   2022-12-16 n/iran-dissident-plot-plea.html            To Kidnap Journalist Who Denounced Iran      By Benjamin Weiser          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/nyregio
                        n/letitia-james-lawsuit-sexual-            Despite Allegations James Shielded Aide Suit
2022-12-15   2022-12-16 harassment.html                            Says                                         By Jeffery C Mays           TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/15/nyregio
2022-12-15   2022-12-16 n/manhattan-community-board-housing.html New Housing The West Side Says Bring It On By Mihir Zaveri                 TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/15/science
2022-12-15   2022-12-16 /space/russia-nasa-spacewalk-canceled.html Russians Spacewalk Canceled by Fluid Leak By Yan Zhuang                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/sports/c NBA AllStar Picks Up A Diploma and a
2022-12-15   2022-12-16 hris-paul-hbcu-winston-salem-state.html     Mission                                   By Tania Ganguli              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/sports/f
                        ootball/tom-coughlin-memoir-super-          Life Lessons From a Super BowlWinning
2022-12-15   2022-12-16 bowl.html                                   Coach                                     By Bill Pennington            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/sports/n Billie Moore 79 Who Coached Basketball
2022-12-15   2022-12-16 caabasketball/billie-moore-dead.html        Champions Is Dead                         By Richard Goldstein          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/sports/n
                        caabasketball/charlie-baker-ncaa-
2022-12-15   2022-12-16 president.html                              NCAA Gets Political in Picking President  By Kris Rhim                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/sports/ Unrelenting Grind of Schedule Is Again the
2022-12-15   2022-12-16 world-cup-underdogs-morocco-croatia.html Underdogs Undoing                            By Rory Smith                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/sports/ Some Say the Coaching Search Should End at
2022-12-15   2022-12-16 world-cup/national-team-coach.html          a Nations Border                          By Rory Smith                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/technol                                            By Adam Satariano and Karen
2022-12-15   2022-12-16 ogy/amazon-europe-settlement.html           Antitrust Suit Vs Amazon Ends in Deal     Weise                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/technol Amazon To Publish Next Version Of Tomb
2022-12-15   2022-12-16 ogy/amazon-tomb-raider-video-game.html      Raider                                    By Kellen Browning            TX 9-270-555   2023-02-01




                                                                               Page 4633 of 5793
                        https://www.nytimes.com/2022/12/15/us/atati Former Officer Is Found Guilty of Killing
2022-12-15   2022-12-16 ana-jefferson-aaron-dean-verdict.html        Black Woman in Her Home                   By Edgar Sandoval                 TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/15/us/fran Frances Hesselbein Who Transformed the
2022-12-15   2022-12-16 ces-hesselbein-dead.html                     Girl Scouts Is Dead at 107                By Richard Sandomir               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/15/us/harv Harvard Picks New President a Dean and Its
2022-12-15   2022-12-16 ard-president-claudine-gay.html              First Black Leader                        By Stephanie Saul and Vimal Patel TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/15/us/polit US Is Offering More Free AtHome Covid
2022-12-15   2022-12-16 ics/free-covid-tests-biden.html              Tests as Part of Winter Plan              By Noah Weiland                   TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/15/us/polit
                        ics/gary-peters-senate-democrats-            The Senator Who Knew the Democrats Could
2022-12-15   2022-12-16 majority.html                                Expand Their Majority                     By Carl Hulse                     TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/15/us/polit House Passes Bill That Could Pave the Way By Emily Cochrane and Patricia
2022-12-15   2022-12-16 ics/house-puerto-rican-statehood.html        for Puerto Rican Statehood                Mazzei                            TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/15/us/polit                                            By Michael C Bender and Maggie
2022-12-15   2022-12-16 ics/trump-nft-trading-cards-superhero.html   Trump Hawks Images of Self as Superhero   Haberman                          TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/15/us/whit 3 in Michigan Are Sentenced In Kidnap Plot
2022-12-15   2022-12-16 mer-kidnap-sentence-michigan.html            Of Governor                               By Eliza Fawcett                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/15/world/e
                        urope/missile-attack-kherson-ukraine-        The Sight of Unspeakable Grief Often      By David Guttenfelder and
2022-12-15   2022-12-16 photos.html                                  Overlooked                                Oleksandr Chubko                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/15/world/e
                        urope/prince-harry-william-meghan-           Netflix Documentary Airs Tensions Between
2022-12-15   2022-12-16 netflix.html                                 Princes                                   By Mark Landler                   TX 9-270-555    2023-02-01
                                                                                                               By Matina StevisGridneff Monika
                        https://www.nytimes.com/2022/12/15/world/e Piles of Cash and Qatari Influence Jolt the Pronczuk Tariq Panja and Sarah
2022-12-15   2022-12-16 urope/qatar-european-parliament-bribery.html European Parliament                       Hurtes                            TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/15/world/e Nurses Strike for First Time in UK as       By Megan Specia and Stephen
2022-12-15   2022-12-16 urope/uk-nhs-nurses-strike.html              Recession Adds to Discontent              Castle                            TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/15/world/e US to Train More Ukrainian Troops Adding By Eric Schmitt and Andrew E
2022-12-15   2022-12-16 urope/ukraine-troops-training-pentagon.html Advanced Tactics                              Kramer                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/world/
                        middleeast/un-peacekeeper-killed-              UN Peacekeeper Killed in Gunfire Attack
2022-12-15   2022-12-16 lebanon.html                                   Along Lebanons Southern Border             By Raja Abdulrahim              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/world/ A Qatari Rite Of Passage With Drones Not        By Erin Schaff and Christina
2022-12-15   2022-12-16 middleeast/world-cup-qatar-falcons.html        Kites                                      Goldbaum                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/opinion DeSantis May Make 2024 an Election About
2022-12-16   2022-12-16 /ron-desantis-vaccines-2024-election.html      Vaccines                                   By Paul Krugman                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/sports/b
2022-12-16   2022-12-16 aseball/carlos-rodon-yankees.html              Yankees Reel In Rodn On a 162 Million Deal By Benjamin Hoffman             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/technol
                        ogy/twitter-suspends-journalist-accounts-elon- With Little Explanation Twitter Suspends
2022-12-16   2022-12-16 musk.html                                      Accounts of Several Journalists            By Mike Isaac and Kate Conger   TX 9-270-555   2023-02-01




                                                                                Page 4634 of 5793
                        https://www.nytimes.com/2022/12/15/theater/
2022-12-16   2022-12-16 great-expectations-review-eddie-izzard.html A Single Comedian Contains Multitudes       By Naveen Kumar                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/us/polit Report Faults Job by Spies In Early Days Of
2022-12-16   2022-12-16 ics/coronavirus-pandemic-intelligence.html Outbreak                                     By Julian E Barnes                  TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/15/us/polit Military Bill Voiding Rule For Vaccines Is
2022-12-16   2022-12-16 ics/defense-bill-vaccine-mandate-senate.html Cleared                                     By Catie Edmondson                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/us/polit Rule Does Little To Stem Spread Of Ghost
2022-12-16   2022-12-16 ics/ghost-guns-biden.html                    Guns                                        By Glenn Thrush                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/us/polit Jan 6 Panel Will Consider Its Referrals For
2022-12-16   2022-12-16 ics/jan-6-panel-criminal-referrals.html      Charges                                     By Luke Broadwater                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/us/polit Spending Deal a Step Closer as Congress
2022-12-16   2022-12-16 ics/senate-spending-deal.html                Clears an Extension                         By Emily Cochrane                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/world/a Biden Faces Challenge Of Winning the Trust
2022-12-16   2022-12-16 frica/biden-african-leaders-summit.html      Of Africas Leadership                       By Declan Walsh                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/world/a Violent Protests Heighten Crisis In Divided
2022-12-16   2022-12-16 mericas/peru-protests-pedro-castillo.html    Peru                                        By Julie Turkewitz and Mitra Taj   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/busines A Traditional Exchange FTX Was Anything
2022-12-16   2022-12-16 s/ftx-exchange.html                          But                                         By Joe Rennison                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/insider/
2022-12-16   2022-12-16 gun-violence-children.html                   This Year the Lives They Lived Were Lost    By Katherine J Igoe                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
2022-12-08   2022-12-17 08/travel/things-to-do-wellington.html       36 Hours in Wellington New Zealand          By Natasha Frost                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/movies/
                        santa-movies-tim-allen-david-harbour-george-
2022-12-09   2022-12-17 wendt.html                                   More Than a Suit It Takes Presence          By Kathryn Shattuck                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/travel/ Taking to the Forest With Maines Tree
2022-12-12   2022-12-17 maine-balsam-tippers.html                    Tippers                                     By Greta Rybus                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/arts/mu Don Lewis 81 an Unsung Music Pioneer Who
2022-12-13   2022-12-17 sic/don-lewis-dead.html                      Created an Electronic Orchestra             By Clay Risen                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/your-
                        money/student-loans/student-debt-529-        How the Rich Get A Lift for College But Not
2022-12-13   2022-12-17 savings.html                                 the Debt                                    By Ron Lieber                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        13/climate/climate-footprint-map-            The Climate Impact of Your Neighborhood By Nadja Popovich Mira
2022-12-13   2022-12-17 neighborhood.html                            Mapped                                      Rojanasakul and Brad Plumer        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/world/e
                        urope/ireland-mother-and-baby-home-          For the Hundreds of Lost Children At Tuam a
2022-12-14   2022-12-17 tuam.html                                    Proper Burial Is Near                       By Dan Barry                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/world/e Russian Muralists Defiant Tributes to Ukraine
2022-12-14   2022-12-17 urope/ukraine-russia-war-art-dissent.html    Are Steadily Dismantled                     By Valerie Hopkins                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/arts/dan
2022-12-15   2022-12-17 ce/twitch-stephen-boss-dancer.html           A Dancer Who Was the Music                  By Gia Kourlas                     TX 9-270-555   2023-02-01




                                                                                 Page 4635 of 5793
                        https://www.nytimes.com/2022/12/15/arts/mu
2022-12-15   2022-12-17 sic/met-opera-cyberattack.html               Metropolitan Opera Cyberattack Drama Ends By Dan Bilefsky                    TX 9-270-555   2023-02-01
                                                                                                               By Aurelien Breeden and Andrea
                        https://www.nytimes.com/2022/12/15/books/g                                             Mantovani for The New York
2022-12-15   2022-12-17 oncourt-inmates-book-prize-france.html       A Book Prize From Those Behind Bars       Times                              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/upshot/ Congress Considering Financial Help for     By Claire Cain Miller and Alicia
2022-12-15   2022-12-17 child-tax-credit.html                        Parents                                   Parlapiano                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/arts/dan
2022-12-16   2022-12-17 ce/moriah-evans-remains-persist.html         In This Lab the Performers Run Free       By Gia Kourlas                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/arts/mu
                        sic/gail-samuel-boston-symphony-
2022-12-16   2022-12-17 orchestra.html                               A Boston Symphony Departure               By Joshua Barone                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/arts/tele
2022-12-16   2022-12-17 vision/daniel-kitson-comedy.html             An Elusive Comic Forging a Bond           By Jason Zinoman                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/arts/tele Comic Uses World Cup To Take Qatar to
2022-12-16   2022-12-17 vision/joe-lycett-qatar-world-cup.html       Task For Its LGBTQ Laws                   By Simran Hans                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/busines
                        s/energy-environment/strategic-petroleum-
2022-12-16   2022-12-17 reserve-oil-purchase.html                    US to Buy 3 Million Barrels for Reserve   By Clifford Krauss                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/busines
                        s/gm-cruise-self-driving-cars-               Automobiles From Division Of GM Face
2022-12-16   2022-12-17 investigation.html                           Safety Inquiry                            By Neal E Boudette                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/busines Strikes Called at Dozens of Starbucks
2022-12-16   2022-12-17 s/starbucks-strike.html                      Locations                                 By Noam Scheiber                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/climate
                        /crucial-talks-on-preserving-nature-are-on-  A Meeting in Montreal On Finding Some
2022-12-16   2022-12-17 now-here-are-the-key-issues.html             Way To End a Wildlife Crisis              By Catrin Einhorn                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/health/c Bill Rethinks Drug Market To Spur New
2022-12-16   2022-12-17 ongress-antibiotics-drug-resistance.html     Antibiotics                               By Andrew Jacobs                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/health/ More Oppose Vaccine Rules For Schools
2022-12-16   2022-12-17 vaccines-public-opinion.html                 Study Finds                               By Jan Hoffman                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/nyregio As Viruses Swirl New Yorkers Are Sick of    By Kimiko de FreytasTamura and
2022-12-16   2022-12-17 n/covid-flu-rsv-sick.html                    Being Sick                                Nate Schweber                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/nyregio No Checking For Warrants During Stops By
2022-12-16   2022-12-17 n/nypd-warrant-settlement.html               NYPD                                      By Chelsia Rose Marcius            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/opinion
2022-12-16   2022-12-17 /afghan-adjustment-act-refugees.html         Do Right by Our Afghan Allies             By Farah Stockman                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/opinion
2022-12-16   2022-12-17 /conversation-with-chatgpt.html              ChatGPT Has a Devastating Sense of Humor By Farhad Manjoo                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/opinion Betting on Fusion Energy Shows Our Kids
2022-12-16   2022-12-17 /fusion-climate-change-clean-energy.html     We Care                                   By Sabine Hossenfelder             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/sports/b
                        asketball/nba-wrestling-satnam-singh-
2022-12-16   2022-12-17 india.html                                   He Used to Post Up Now He Throws Down By Sopan Deb                           TX 9-270-555   2023-02-01




                                                                                Page 4636 of 5793
                        https://www.nytimes.com/2022/12/16/sports/b Griner Leaves Military Base Eager to Return
2022-12-16   2022-12-17 rittney-griner-wnba-home.html               to WNBA Play                                By Tania Ganguli                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/sports/f The NFL Narrative Machine And 2 Backup
2022-12-16   2022-12-17 ootball/brock-purdy-geno-smith.html         Quarterbacks                                By Kurt Streeter                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/sports/g
2022-12-16   2022-12-17 olf/atul-khosla-liv-golf-exit.html          Top Official Resigns Post At LIV Golf       By Alan Blinder                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/sports/s As Mouthpiece for Qatar Beckham Has Been
2022-12-16   2022-12-17 occer/world-cup-david-beckham.html          Mute                                        By Tariq Panja                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/sports/ A Tournament Defined By Teams Eagerness
2022-12-16   2022-12-17 world-cup/argentina-france.html             to Suffer                                   By Rory Smith                   TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/sports/
2022-12-16   2022-12-17 world-cup/qatar.html                        Here in FIFAland Reality Isnt What It Seems By Rory Smith                   TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/technol Theyre Rooting for Musk To Show Em Whos
2022-12-16   2022-12-17 ogy/elon-musk-management-style.html         Boss                                        By Kevin Roose                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/theater/
                        merrily-we-roll-along-daniel-radcliffe-
2022-12-16   2022-12-17 broadway.html                               Merrily Will Transfer to Broadway Next Fall By Michael Paulson              TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/us/deat Researchers Say 2022 Will Be Remembered
2022-12-16   2022-12-17 h-penalty-botched-executions.html           For Botched Executions                      By Nicholas BogelBurroughs      TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/us/high
                        land-park-shooting-gunman-father-           Father of Gunman Who Attacked Parade
2022-12-16   2022-12-17 charged.html                                Faces Charges                               By Mitch Smith and Julie Bosman TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/us/polit Its Personal Biden Highlights Aid for
2022-12-16   2022-12-17 ics/biden-burn-pits-law.html                Veterans Exposed to Burn Pits               By Peter Baker                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/us/polit Congress Passes 4400Page 858 Billion
2022-12-16   2022-12-17 ics/congress-defense-bill-military.html     Military Bill                               By Catie Edmondson              TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/us/polit DeSantis Weighs Banning Big Tech
2022-12-16   2022-12-17 ics/florida-desantis-tech-donations.html    Donations to His Inauguration               By Michael C Bender             TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/us/polit Frank Shakespeare TV Executive Behind a
2022-12-16   2022-12-17 ics/frank-shakespeare-dead.html             New Nixon Dies at 97                        By Douglas Martin               TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/us/polit Jan 6 Panel Plans to Vote On Referrals For
2022-12-16   2022-12-17 ics/jan-6-vote-trump-criminal-referral.html Crimes                                      By Luke Broadwater              TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/us/polit Justice Dept Acts on Racial Disparities in
2022-12-16   2022-12-17 ics/justice-dept-crack-cocaine.html         Crack Cases                                 By Glenn Thrush                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/us/polit
                        ics/justice-eastman-trump-lawyers-fake-     Lawyers Emails Examined In Elector Scheme
2022-12-16   2022-12-17 electors.html                               Inquiry                                     By Alan Feuer and Adam Goldman TX 9-270-555      2023-02-01

                        https://www.nytimes.com/2022/12/16/us/polit
2022-12-16   2022-12-17 ics/leaders-sports-diplomacy-world-cup.html At World Cup Global Intrigue In the Stands By Edward Wong                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/us/polit House Committee to Vote on Release of
2022-12-16   2022-12-17 ics/trump-tax-data-house-committee.html     Trump Tax Data                              By Charlie Savage                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/world/a
                        frica/central-african-republic-russia-      Official in Africa Is Hurt By a Bomb Moscow By Ruth Maclean Elian Peltier and
2022-12-16   2022-12-17 bomb.html                                   Says                                        Anatoly Kurmanaev                 TX 9-270-555   2023-02-01



                                                                               Page 4637 of 5793
                        https://www.nytimes.com/2022/12/16/world/a
                        frica/south-africa-president-ramaphosa-
2022-12-16   2022-12-17 farmgate.html                              Cash in Couch Tarnishes Halo Of a President By John Eligon and Lynsey Chutel TX 9-270-555       2023-02-01

                        https://www.nytimes.com/2022/12/16/world/a A 900 Ticket in Hand Only to Be Turned
2022-12-16   2022-12-17 mericas/bad-bunny-ticketmaster-mexico.html Away                                             By Maria AbiHabib              TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/16/world/a At Least 20 Killed in Peru As ExLeader Is
2022-12-16   2022-12-17 mericas/peru-protests-castillo-boluarte.html Detained                                    By Mitra Taj                      TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/16/world/a
2022-12-16   2022-12-17 sia/japan-national-security-strategy.html    Japan Moves to Double Its Military Spending By Ben Dooley and Hisako Ueno     TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/16/world/a North Korea Says It Has New Engine For an
2022-12-16   2022-12-17 sia/north-korea-icbm-engine-test.html        ICBM                                        By Choe SangHun                   TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/16/world/e Deluge Rocks Berlin Hotel as Aquarium
2022-12-16   2022-12-17 urope/germany-aquarium-aquadom.html          Bursts                                      By Erika Solomon                  TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/16/world/e Biden Plans to Appoint a Kennedy Scion as
2022-12-16   2022-12-17 urope/kennedy-envoy-northern-ireland.html His Special Envoy to Northern Ireland             By Mark Landler                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/world/e Police Inquiry After Chaos At a Concert In       By Euan Ward Desiree Ibekwe and
2022-12-16   2022-12-17 urope/london-concert-crush-asake.html      London                                           Alex Marshall                   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/16/world/e
2022-12-16   2022-12-17 urope/russia-central-bank-interest-rate.html Russias Key Interest Rate Holding Steady       By Ivan Nechepurenko           TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/16/world/e
2022-12-16   2022-12-17 urope/uk-royal-racism.html                   ExPalace Aide Apologizes for Interrogation     By Mark Landler                TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/16/world/e
                        urope/ukraine-russia-missiles-               Russian Missiles Plunge Millions Into Frigid   By Andrew E Kramer and Marc
2022-12-16   2022-12-17 infrastructure.html                          Dark                                           Santora                        TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/16/world/
                        middleeast/angelina-jolie-un-refugee-        After Two Decades Jolie to End Role
2022-12-16   2022-12-17 agency.html                                  Working With UN Refugee Agency                 By Farnaz Fassihi              TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/16/world/
2022-12-16   2022-12-17 middleeast/israel-netanyahu-far-right.html   Arab Allies Unruffled By Far Right in Israel   By Patrick Kingsley            TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/16/your-
                        money/hardship-early-401k-withdrawal-
2022-12-16   2022-12-17 loans.html                                   In Case of Emergency Avoid the 401k            By Ann Carrns                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
2022-12-16   2022-12-17 16/us/covid-flu-rsv-tripledemic-data.html    Just How Bad Is the Tripledemic                By Amy Schoenfeld Walker       TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/16/busines
                        s/media/elon-musk-twitter-journalist-        A FreeSpeech Warrior Aiming to Own the
2022-12-17   2022-12-17 suspension.html                              Story                                          By Michael M Grynbaum          TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/16/technol
                        ogy/virtual-reality-pioneer-is-leaving-
2022-12-17   2022-12-17 meta.html                                    Virtual Reality Pioneer Leaving Meta           By Ryan Mac and David McCabe   TX 9-270-555    2023-02-01




                                                                                  Page 4638 of 5793
                        https://www.nytimes.com/2022/12/16/us/polit Capitol Defendant Charged With Plot to Kill
2022-12-17   2022-12-17 ics/jan-6-defendant-assassination-plot.html Agents Who Investigated Him                 By Alan Feuer                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/busines                                              By Matthew Goldstein Kenneth P
2022-12-17   2022-12-17 s/ftx-ryan-salame.html                      FTX Executive A GOP Donor Turned Tipster Vogel and David YaffeBellany        TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/17/world/ Tunisia Heads for First Elections Since 2021
2022-12-17   2022-12-17 middleeast/tunisia-parliament-elections.html Power Grab                                By Ahmed Ellali and Vivian Yee    TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/10/16/books/r
2022-10-17   2022-12-18 eview/half-american-matthew-f-delmont.html The Greatest Generation                       By Cate Lineberry               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/10/28/books/r
                        eview/shehan-karunatilaka-seven-moons-
2022-10-28   2022-12-18 maali-almeida.html                            The Walking Dead                           By Randy Boyagoda               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/01/books/r
                        eview/island-of-extraordinary-captives-simon-
2022-11-01   2022-12-18 parkin.html                                   The Prisoners                              By Juliet Nicolson              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/08/books/r
                        eview/haruki-murakami-novelist-as-a-
2022-11-08   2022-12-18 vocation.html                                 The Murakami Method                        By Charles Finch                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/09/books/d Literary Destinations Read Your Way
2022-11-09   2022-12-18 ublin-books-read-tana-french.html             Through Dublin                             By Tana French                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/11/books/r
                        eview/cinema-speculation-quentin-
2022-11-11   2022-12-18 tarantino.html                                The Moviegoer                              By Tom Shone                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/29/books/r
2022-11-29   2022-12-18 eview/empire-of-ice-and-stone-karluk.html     Frozen Hell                                By W M Akers                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/books/l
2022-11-30   2022-12-18 ecarre-book-letters.html                      Essay Behind the le Carr Letters           By Sarah Lyall                  TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/03/books/r
2022-12-03   2022-12-18 eview/lily-brooks-dalton-the-light-pirate.html A New Beginning                           By Amy Rowland                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/03/books/r
2022-12-03   2022-12-18 eview/mircea-cartarescu-solenoid.html          As All Get Out                            By Dustin Illingworth           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/05/books/j
2022-12-05   2022-12-18 ohn-le-carre-a-private-spy.html                Under Cover                               By Dwight Garner                TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/07/realesta
2022-12-07   2022-12-18 te/best-international-home-listings-2022.html Our Favorite Listings Include These Gems   By The New York Times           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/books/r
2022-12-08   2022-12-18 eview/bestselling-picture-books.html          Inside the List                            By Elisabeth Egan               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/fashion
2022-12-08   2022-12-18 /weddings/upcycle-wedding-dress.html          Something Old For Something New            By Rhiannon PictonJames         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/08/theater/
                        sondheim-merrily-we-roll-along-maria-
2022-12-08   2022-12-18 friedman.html                                 A Sondheim Flop Not So Fast                By Ben Brantley                 TX 9-270-555   2023-02-01



                                                                                 Page 4639 of 5793
                        https://www.nytimes.com/2022/12/09/books/h
                        ollywood-the-oral-history-jeanine-basinger-
2022-12-09   2022-12-18 sam-wasson.html                             The Moviemakers                            By Lisa Schwarzbaum    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/11/realesta For People Once Homeless a Hotel Becomes a
2022-12-11   2022-12-18 te/nyc-hotel-affordable-housing.html        Home                                       By Stefanos Chen       TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/12/arts/des What Happened To Wink and Wit In
2022-12-12   2022-12-18 ign/steven-klein-david-lachapelle-photos.html Photography                               By Arthur Lubow       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/arts/tele
                        vision/richard-branson-virgin-hbo-
2022-12-12   2022-12-18 docuseries.html                               Richard Branson Has Learned How to Lose By Chris Kornelis       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/books/r
                        eview/the-tatami-galaxy-tomihiko-
2022-12-13   2022-12-18 morimi.html                                   SelfPity on Loop                          By Giri Nathan        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/opinion
2022-12-13   2022-12-18 /trade-world-peace.html                       Does World Trade Lead to World Peace      By Paul Krugman       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/style/gi Paper So Striking You Might Want to Frame
2022-12-13   2022-12-18 ft-wrapping-paper-waste.html                  It                                        By Alyson Krueger     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/busines
2022-12-14   2022-12-18 s/alcohol-at-work-parties.html                Its Happy Hour Not Happy Every Hour       By Roxane Gay         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/opinion Kyrsten Sinema Brings Bad Tidings for
2022-12-14   2022-12-18 /kyrsten-sinema-arizona.html                  Democrats in 2024                         By Samara Klar        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/realesta
                        te/after-a-frantic-year-its-time-for-slow-
2022-12-14   2022-12-18 birding.html                                  Binoculars Out Its Time for Slow Birding  By Margaret Roach     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/realesta
                        te/home-prices-georgia-massachusetts-         880000 Homes in Georgia Massachusetts and
2022-12-14   2022-12-18 oregon.html                                   Oregon                                    By Angela Serratore   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/style/ho
2022-12-14   2022-12-18 liday-gift-anxiety.html                       An Aunt Bearing Gifts                     By Philip Galanes     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/style/ju
2022-12-14   2022-12-18 dith-thurman.html                             Fluent in the Language of Style           By Rhonda Garelick    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/us/doro Dorothy Pitman Hughes Black Feminist
2022-12-14   2022-12-18 thy-pitman-hughes-dead.html                   Trailblazer Is Dead at 84                 By Clay Risen         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        14/magazine/children-gun-violence-project- Why We Published a Special Project About
2022-12-14   2022-12-18 explained.html                                Child Gun Deaths                          By Jake Silverstein   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        14/magazine/gun-violence-bronx-angellyh- She Didnt Want a Sweet 16 But It Was the
2022-12-14   2022-12-18 yambo.html                                    Best Night of Her Short Life              By Andrea Elliott     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        14/magazine/gun-violence-chicago-sincere- He Worked Odd Jobs Across Chicagos South
2022-12-14   2022-12-18 cole.html                                     Side Until That Saturday Night            By Ben Austen         TX 9-270-555   2023-02-01




                                                                                Page 4640 of 5793
                        https://www.nytimes.com/interactive/2022/12/                                           By Robert Gebeloff Danielle Ivory
                        14/magazine/gun-violence-children-data-      Childhoods Greatest Danger The Data on    Bill Marsh Allison McCann and
2022-12-14   2022-12-18 statistics.html                              Kids and Gun Violence                     Albert Sun                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        14/magazine/gun-violence-houston-darius-     He Was the Youngest the Family Cuddler He
2022-12-14   2022-12-18 dugas-ii.html                                Never Got to Grow Up                      By Sam Dolnick                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        14/magazine/gun-violence-los-angeles-tioni- She Used Music to Cope With a Life of Loss
2022-12-14   2022-12-18 theus.html                                   But Nothing Could Keep Her Safe           By Angela Flournoy                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        14/magazine/gun-violence-minnesota-shiway- Two Sisters Their Minecraft Partner and a
2022-12-14   2022-12-18 sadie-barry.html                             Meetup That Never Happened                By Susan Dominus                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        14/magazine/gun-violence-mitchell-jackson-
2022-12-14   2022-12-18 reflection.html                              What Guns Did to My Childhood             By Mitchell S Jackson               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        14/magazine/gun-violence-new-haven-elijah- He Found His Path in Nature It Was Cut
2022-12-14   2022-12-18 gomez.html                                   Short                                     By Reginald Dwayne Betts            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        14/magazine/gun-violence-new-orleans-        Violence Stalked His Family He Couldnt
2022-12-14   2022-12-18 rashad-smith.html                            Escape It                                 By Nathaniel Rich                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        14/magazine/gun-violence-philadelphia-juan- He Wanted to Be a Boss Just Like His Mom
2022-12-14   2022-12-18 carlos-robles-corona-jr.html                 He Never Got the Chance                   By Marcela Valdes                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        14/magazine/gun-violence-smyrna-lavontee- He Was Baptized on Sunday and Started
2022-12-14   2022-12-18 williams.html                                School on Monday Then He Was Gone         By Linda Villarosa                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        14/magazine/gun-violence-west-valley-city- Wait Till I Hit 18 He Told His Cousins He
2022-12-14   2022-12-18 paula-tupou-bloomfield-tahi.html             Never Did                                 By Jon Mooallem                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        14/magazine/gun-violence-white-cloud-kane- He Was the Wheelie King of Grand Rapids
2022-12-14   2022-12-18 coronado.html                                Biking Almost Saved His Life              By Matthew Purdy                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/arts/mu A Healing Day Into the Woods With YoYo
2022-12-15   2022-12-18 sic/yo-yo-ma-our-common-nature.html          Ma                                        By Joshua Barone                    TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/15/arts/tele
2022-12-15   2022-12-18 vision/harrison-ford-1923-yellowstone.html Adding Big TV Star to His Rsum            By Adam Nagourney                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/fashion
2022-12-15   2022-12-18 /weddings/planning-wedding-grief.html        Making Wedding Plans Amid Grief         By Abby Ellin                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/needies
                        t-cases/smoothing-the-relaunch-with-coats- Smoothing Their New Beginnings With Coats
2022-12-15   2022-12-18 and-kitchen-tools.html                       and Kitchen Tools                       By Callie Holtermann                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/nyregio
2022-12-15   2022-12-18 n/world-religions-new-york-city.html         New Yorks Mosaic of Religions           By James Estrin and Liam Stack        TX 9-270-555   2023-02-01



                                                                                Page 4641 of 5793
                        https://www.nytimes.com/2022/12/15/opinion Once You See the Truth About Cars You        By Andrew Ross and Julie
2022-12-15   2022-12-18 /car-ownership-inequality.html               Cant Unsee It                              Livingston                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/opinion
2022-12-15   2022-12-18 /chatgpt-education-ai-technology.html        What Would Plato Think About ChatGPT       By Zeynep Tufekci          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/opinion
2022-12-15   2022-12-18 /food-diets-meat-biodiverstiy-cop15.html     Its Time to Say Put Down That Burger       By Michael Grunwald        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/realesta
                        te/where-are-the-most-and-least-affordable-
2022-12-15   2022-12-18 homes.html                                   The Most and Least Affordable Cities       By Michael Kolomatsky      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/sports/f Whats Their Motivation Sometimes Its Hard
2022-12-15   2022-12-18 ootball/nfl-week-15-picks.html               to Tell                                    By David Hill              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/style/te
2022-12-15   2022-12-18 ens-social-media.html                        Spreading the Word of the Luddite Gospel   By Alex Vadukul            TX 9-270-555   2023-02-01
                                                                     A MotherDaughter Team Went to the Bronx
                        https://www.nytimes.com/interactive/2022/12/ With 350000 for a New Place Which Option
2022-12-15   2022-12-18 15/realestate/15hunt-edwards.html            Did They Choose                            By Debra Kamin             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/opinion
2022-12-16   2022-12-18 /israel-palestinians-arabs-jews.html         What in the World Is Happening In Israel   By Thomas L Friedman       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/arts/aga A True TransAtlantic Mystery Stuck in the
2022-12-16   2022-12-18 tha-christie-mothers-day-card.html           Pages of a Whodunit                        By Claire Fahy             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/arts/dan Beryl Grey 95 a British Ballerina Who
2022-12-16   2022-12-18 ce/beryl-grey-dead.html                      Dazzled China and Russia                   By Alastair Macaulay       TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/16/arts/tele
2022-12-16   2022-12-18 vision/the-best-man-the-final-chapters.html This Best Man Offers Equal Time to Women    By LeighAnn Jackson        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/books/r
                        eview/ziggy-hanaor-benjamin-phillips-alte-
                        zachen-old-things-maria-jose-ferrada-ana-
2022-12-16   2022-12-18 penyas-my-neighborhood.html                  Not the Same Old Stories                   By Marjorie Ingall         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/busines
2022-12-16   2022-12-18 s/economy/stock-market-forecast.html         Market Forecasts For 2023 Are Worthless    By Jeff Sommer             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/movies/
2022-12-16   2022-12-18 jewish-american-films.html                   Contemplating Jewish American Movies       By Esther Zuckerman        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/opinion
2022-12-16   2022-12-18 /left-activism.html                          The Fever Is Breaking                      By Michelle Goldberg       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/realesta
2022-12-16   2022-12-18 te/diy-home-soundproofing.html               Soundproofing To Keep Tunes To Yourself    By Charu Suri              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/realesta
2022-12-16   2022-12-18 te/music-rooms-high-end-amenity.html         The Amenities Include Music                By Alix Strauss            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/sports/b Though Lengthy Deals Rarely Work Teams
2022-12-16   2022-12-18 aseball/carlos-correa-giants-contract.html   Make Them Anyway                           By Scott Miller            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/style/all
2022-12-16   2022-12-18 ison-port-joseph-flaum-wedding.html          No Longer Like Ships in the Night          By Vivian Ewing            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/style/co Not Quite a Setup but It Was an Instant
2022-12-16   2022-12-18 urtney-seamon-kyle-moore-wedding.html        Connection                                 By Jenny Block             TX 9-270-555   2023-02-01



                                                                               Page 4642 of 5793
                        https://www.nytimes.com/2022/12/16/style/ja Each Gave Up on Love Thats When They
2022-12-16   2022-12-18 y-wong-shawn-lamb-wedding.html              Found It                                      By Louise Rafkin              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/style/ke Tradition Wasnt Their Thing Why Start at a
2022-12-16   2022-12-18 lly-daniels-emir-muhovic-wedding.html       Wedding                                       By Robbie Spencer             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/style/m
2022-12-16   2022-12-18 odern-love-my-stint-as-adulterer.html       A Stint as the Adulterous Flavor of the Month By Paz Pardo                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/us/calif Couple in Car Survive 300Foot Fall Into a
2022-12-16   2022-12-18 ornia-national-forest-iphone-rescue.html    Canyon                                        By Michael Levenson           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/us/child
2022-12-16   2022-12-18 care-centers-private-equity.html            Major Chains For Child Care Earn Big Profit By Dana Goldstein               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/science
                        /j-robert-oppenheimer-energy-               Architect of Atomic Bomb Cleared of Black
2022-12-17   2022-12-18 department.html                             Mark                                          By William J Broad            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/us/mari Marion Smith 80 Goat Who Explored 8291
2022-12-17   2022-12-18 on-smith-dead.html                          Caves Is Dead                                 By Clay Risen                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/us/polit
2022-12-17   2022-12-18 ics/biden-polls-democrats.html              Biden and Party Get A Lift Going Into 23      By Blake Hounshell            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/us/univ U of California Workers Reach Deal to End
2022-12-17   2022-12-18 ersity-of-california-strike-deal.html       Strike                                        By Shawn Hubler               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/busines
                        s/economy/california-san-francisco-empty-   The Fate Of the Emptiest Downtown In          By Conor Dougherty Emma
2022-12-17   2022-12-18 downtown.html                               America                                       Goldberg and Aaron Wojack     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/busines Musk Reinstates Accounts For Several
2022-12-17   2022-12-18 s/media/twitter-reinstates-accounts.html    Journalists                                   By Yan Zhuang and Euan Ward   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/climate The Next Epoch Of Planet Earth Might Be
2022-12-17   2022-12-18 /anthropocene-age-geology.html              Today                                         By Raymond Zhong              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/nyregio
2022-12-17   2022-12-18 n/dapper-dan.html                           A Chic Man Never Goes Out of Style            By Paige Darrah               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/nyregio Man Faces 20Year Term For Killing Chinese
2022-12-17   2022-12-18 n/guiying-ma-killing-sentence.html          Woman                                         By Rebecca Davis OBrien       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/nyregio Drugs and Weapons Keep Flowing Into
2022-12-17   2022-12-18 n/rikers-drug-crisis.html                   Rikers                                        By Ginia Bellafante           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/opinion
2022-12-17   2022-12-18 /iran-women-rape.html                       Iran Uses Rape to Enforce Womens Modesty By Nicholas Kristof                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/opinion The Ideal of Democracy In Israel Is in
2022-12-17   2022-12-18 /israel-netanyahu.html                      Jeopardy                                      By The Editorial Board        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/opinion
2022-12-17   2022-12-18 /trump-2024-republican.html                 The Unsatisfying End of the Trump Era         By Ross Douthat               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/opinion This Was the Perfect World Cup for Our
2022-12-17   2022-12-18 /world-cup-final-argentina-france.html      Strange Era                                   By David Goldblatt            TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/17/realesta Can My Apartment Building Really Ban
2022-12-17   2022-12-18 te/can-my-building-ban-overnight-guests.html Overnight Guests                          By Ronda Kaysen                  TX 9-270-555   2023-02-01




                                                                               Page 4643 of 5793
                        https://www.nytimes.com/2022/12/17/sports/s
                        occer/kylian-mbappe-lionel-messi-world-cup- Mbapp Now a Superstar Aims at His Second
2022-12-17   2022-12-18 final.html                                   Title                                        By Tariq Panja                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/sports/s A Call After Months of Silence to Repress a
2022-12-17   2022-12-18 occer/world-cup-armbands.html                Symbol of Inclusivity                        By Tariq Panja                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/sports/ But the Biggest Question Is This Wholl Get
2022-12-17   2022-12-18 world-cup/messi-jersey.html                  the Jersey                                   By Rory Smith                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/style/an
2022-12-17   2022-12-18 ger-body-health-effects.html                 How Anger Affects the Body                   By Gina Cherelus                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/style/an
2022-12-17   2022-12-18 nie-wu-henry-john-fetterman.html             Getting the Message Out From the Inside      By Judith Newman                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/style/e
2022-12-17   2022-12-18 moji-coworker-slack.html                     Wielding Slack as a Weapon                   By Emma Goldberg                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/style/lo
2022-12-17   2022-12-18 st-in-the-froth.html                         We All Need Our Sycophants                   By Heather Havrilesky             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/style/th
2022-12-17   2022-12-18 e-year-we-lost-it.html                       2022 Bullied Us But We Fought Back           By Adam Sternbergh                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/style/tik
2022-12-17   2022-12-18 tok-rage-anger.html                          Welcome to Rage Tok                          By Madison Malone Kircher         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/style/tri
2022-12-17   2022-12-18 gger-quiz.html                               Whats Your Trigger                           By Todd B Kashdan                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/us/chic Battle Over Religious Statue Is About More
2022-12-17   2022-12-18 ago-archdiocese-st-adalbert-statue.html      Than Religion                                By Julie Bosman and Todd Heisler TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/17/us/polit
                        ics/sam-bankman-fried-political-donations- US Scrutinizes Political Money Linked to       By Kenneth P Vogel and Ken
2022-12-17   2022-12-18 doj.html                                     FTX                                          Bensinger                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/world/a
2022-12-17   2022-12-18 mericas/argentina-world-cup-witches.html     Argentinas Wild Card Its Army of Witches     By Jack Nicas and Ana Lankes      TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/17/world/a                                                By Jack Nicas and Sebastin Lpez
2022-12-17   2022-12-18 mericas/world-cup-final-messi-argentina.html Win or Lose Argentina Belongs to Messi       Brach                             TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/17/world/c How a Nativist Town in Quebec Grew to          By Norimitsu Onishi and Nasuna
2022-12-17   2022-12-18 anada/quebec-immigrants-xenophobia.html Embrace Immigrants                                StuartUlin                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/world/e Irelands Leader Returns With Much Still to
2022-12-17   2022-12-18 urope/leo-varadkar-ireland.html            Prove                                          By Ed OLoughlin                   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/17/world/e Putin Makes Rare Visit To War Command
2022-12-17   2022-12-18 urope/putin-ukraine-war-headquarters.html  Post                                           By Ivan Nechepurenko              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/world/e Ukraine Scrambles to Restart KnockedOut
2022-12-17   2022-12-18 urope/ukraine-russia-kyiv.html             Utilities                                      By Carlotta Gall                TX 9-270-555     2023-02-01
                                                                                                                  By Michael Schwirtz Anton
                        https://www.nytimes.com/interactive/2022/12/                                              Troianovski Yousur AlHlou Masha
                        16/world/europe/russia-putin-war-failures-                                                Froliak Adam Entous and Thomas
2022-12-17   2022-12-18 ukraine.html                                 Putins War The Inside Story of a Catastrophe GibbonsNeff                     TX 9-270-555     2023-02-01



                                                                                 Page 4644 of 5793
                        https://www.nytimes.com/2022/12/17/busines Founder Is Expected to Agree to Extradition By David YaffeBellany Rob
2022-12-18   2022-12-18 s/sam-bankman-fried-extradition.html          to the US                                   Copeland and Matthew Goldstein   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/sports/f
                        ootball/vikings-colts-comeback-nfl-           Vikings Come Back From a 33Point Deficit to
2022-12-18   2022-12-18 history.html                                  Win Setting an NFL Record                   By Ken Belson                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/busines
2022-12-18   2022-12-18 s/media/chris-licht-cnn.html                  Tracking Chris Lichts Crash Course at CNN By James B Stewart                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/busines The Week in Business The FTX Founders
2022-12-18   2022-12-18 s/the-week-in-business-the-ftx-arrest.html    Rapid Fall                                  By Marie Solis                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/insider/
2022-12-18   2022-12-18 new-york-religion-photography.html            Photographing the Religions of New York     By James Estrin                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/style/je
                        ssica-chastain-uma-thurman-dress-moma-met-
2022-12-18   2022-12-18 creative-time.html                            Creativity Enlivens the Party               By Denny Lee                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/us/chris With Christmas A Sunday Pews May Be
2022-12-18   2022-12-18 tmas-church-service-protestants.html          Empty                                       By Ruth Graham                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/world/a In a Packed Stadium in India Heartfelt Odes By Mujib Mashal and Saumya
2022-12-18   2022-12-18 sia/india-urdu-poetry.html                    to a Language of Love                       Khandelwal                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/live/2022/12/18/spo
                        rts/argentina-france-world-cup-final-
                        score/argentina-meets-france-in-a-fifa-fairy- Argentina meets France in a FIFA fairytale
2022-12-18   2022-12-18 tale-final                                    final                                       By Ben Shpigel                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/books/r
2022-12-22   2022-12-18 eview/new-crime-fiction.html                  The Case That Haunted Him                   By Sarah Weinman                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/09/movies/ Amid a Familiar Ugliness Some Are Not
2022-12-09   2022-12-19 jewish-artists-antisemitism.html              Turning Away                                By Jason Zinoman                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/theater/
2022-12-13   2022-12-19 downstate-play-actors.html                    On Playing the Really Bad Guy               By Alexis Soloski                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/opinion
2022-12-14   2022-12-19 /covid-symptoms.html                          The New Etiquette of Kids and Coughs        By Jessica Grose                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/travel/c Help My Pricey Credit Card Wouldnt Work
2022-12-14   2022-12-19 redit-card-refused-overseas.html              Overseas                                    By Seth Kugel                    TX 9-270-555   2023-02-01
                                                                      Overlooked No More Audrey Munson
                        https://www.nytimes.com/2022/12/15/obituari Forgotten but Living On in Sculptures Not
2022-12-15   2022-12-19 es/audrey-munson-overlooked.html              Gone                                        By Sam Roberts                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/arts/mu Herbert Deutsch the CoCreator of the Moog
2022-12-16   2022-12-19 sic/herbert-deutsch-dead.html                 Synthesizer Dies at 90                      By Alex Williams                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/arts/tele
2022-12-16   2022-12-19 vision/harry-meghan-race.html                  Missed Opportunities And the Monarchy      By Salamishah Tillet             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/movies/
2022-12-16   2022-12-19 avatar-2-fx-cgi.html                          How Avatar Solved Digital Hsub2subO         By Darryn King                   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/16/theater/
2022-12-16   2022-12-19 review-hoagy-carmichaels-stardust-road.html Tin Pan Alley Hitmaker Pops Up Again        By Juan A Ramrez                   TX 9-270-555   2023-02-01




                                                                                Page 4645 of 5793
                        https://www.nytimes.com/2022/12/16/theater/
2022-12-17   2022-12-19 des-moines-review.html                       A Long Slow Dizzying Ride To Nothingness By Maya Phillips                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/arts/mu Dino Danelli 78 Drummer Who Powered the
2022-12-17   2022-12-19 sic/dino-danelli-dead.html                   Rascals                                      By Clay Risen                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/arts/phi Philip Pearlstein Is Dead at 98 Realist Nudes
2022-12-17   2022-12-19 lip-pearlstein-dead.html                     Revived Portraiture                          By William Grimes               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/busines
                        s/dealbook/kroger-albertsons-merger-private- KrogerAlbertsons Merger Spotlights Common
2022-12-17   2022-12-19 equity-tactic.html                           Private Equity Tactic                        By Joe Nocera                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/nyregio Citizen Sticklers Dispense Street Justice One
2022-12-17   2022-12-19 n/license-plate-vigilantes.html              Defaced License Plate at a Time              By Corey Kilgannon              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/opinion Celebrity Crypto Hawkers Should Get a Close
2022-12-17   2022-12-19 /crypto-ftx-crash-celebrity.html             Look                                         By John Reed Stark              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/sports/b Making No Excuses Sixers Bounce Back
2022-12-17   2022-12-19 asketball/joel-embiid-76ers.html             After a Dismal Start                         By Scott Cacciola               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/briefing
2022-12-18   2022-12-19 /russia-putin-ukraine-war.html               Telling the Inside Story of an Ongoing War By Claire Moses                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/busines In the US His Site Has Been Linked To
2022-12-18   2022-12-19 s/4chan-hiroyuki-nishimura.html              Massacres In Japan Hes a Star                By Ben Dooley and Hisako Ueno   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/18/busines AMCs Streaming Woes Highlight Industry
2022-12-18   2022-12-19 s/media/amc-networks-streaming-cable.html Issue                                        By Benjamin Mullin                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/busines
                        s/media/nyc-local-news-immigration-        Latest Gut Punch to Local News Scene Visa
2022-12-18   2022-12-19 visa.html                                  Is Declined for Marginal Venture            By Lora Kelley                     TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/18/busines
2022-12-18   2022-12-19 s/media/streaming-tv-shows-canceled.html      Streamings Golden Age Is Suddenly Dimming By John Koblin                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/movies/
2022-12-18   2022-12-19 avatar-the-way-of-water-box-office.html       Box Office for Sequel Falls Short of Deluge By Brooks Barnes                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/opinion
2022-12-18   2022-12-19 /capitol-police-riot.html                     I Still Feel the Pain of the Capitol Riot   By Caroline Edwards             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/opinion
2022-12-18   2022-12-19 /hanukkah-kitsch.html                         Latke Cocktail Anyone                       By Mireille Silcoff             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/sports/f Snowballs Were Flying In the End So Were
2022-12-18   2022-12-19 ootball/bills-dolphins-snowballs.html         the Bills                                   By Emmanuel Morgan              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/sports/f
2022-12-18   2022-12-19 ootball/nfl-week-15-picks.html                What We Learned This Week                   By Derrik Klassen               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/sports/n
                        caabasketball/ucla-north-carolina-ohio-state- Coach Davis and the Garden Bring Out the
2022-12-18   2022-12-19 kentucky.html                                 Tar Heels Toughness                         By Billy Witz                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/sports/s
2022-12-18   2022-12-19 occer/argentina-celebration-win.html          In the Streets for a LongAwaited Pilgrimage By Jack Nicas                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/sports/s Mbapp Scores 3 Goals Enough to Earn The
2022-12-18   2022-12-19 occer/mbappe-world-cup-france-loss.html       Golden Boot but Not a Second Title          By Andrew Das                   TX 9-270-555   2023-02-01



                                                                                Page 4646 of 5793
                        https://www.nytimes.com/2022/12/18/sports/s
2022-12-18   2022-12-19 occer/messi-world-cup-win.html              Messis Magic Ends Anguish For Argentina          By Rory Smith                   TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/18/sports/s Under a Shadow Qatar Has Its Shining
2022-12-18   2022-12-19 occer/qatar-world-cup-host.html             Moment                                           By Tariq Panja                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/us/polit Denied Abortion Texas Mother Faces               By Elizabeth Williamson and Erin
2022-12-18   2022-12-19 ics/abortion-texas-mother.html              Uncertain Future                                 Schaff                           TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/18/us/polit
2022-12-18   2022-12-19 ics/proud-boys-trial-jan-6-capitol-attack.html Sedition Trial For Proud Boys On Jan 6 Role   By Alan Feuer                   TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/18/us/polit Trump Faces Headaches On Jan 6 and His
2022-12-18   2022-12-19 ics/trump-january-6-tax-returns.html           Taxes                                         By Maggie Haberman              TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/18/us/vatic
                        an-removes-anti-abortion-leader-               Vatican Removes a Prominent AntiAbortion      By Elizabeth Dias and Ruth
2022-12-18   2022-12-19 priesthood.html                                Activist From the Priesthood                  Graham                          TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/18/world/a North Korea Fires 2 Missiles Capable of
2022-12-18   2022-12-19 sia/north-korea-missiles-japan.html            Reaching Japan                                By Choe SangHun                 TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/18/world/a Scary Hallucinations After Consuming
2022-12-18   2022-12-19 ustralia/spinach-hallucinations.html           Spinach                                       By Yan Zhuang                   TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/18/world/e Counting Russias Dead With Tips and
2022-12-18   2022-12-19 urope/russia-death-toll-war.html               Tombstones                                    By Neil MacFarquhar             TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/18/world/e
2022-12-18   2022-12-19 urope/uk-airport-security-laptops-liquids.html Liquids Laptop UK to Ease Airport Screening By Emma Bubola                    TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/18/world/e Kremlin Mass Infantry Strikes Loom Ukraine
2022-12-18   2022-12-19 urope/ukraine-russia-war-winter.html           Says                                         By Andrew E Kramer               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/18/world/
2022-12-18   2022-12-19 middleeast/iran-actress-arrested.html          Iranian Star Arrested After Backing Protests By Matt Stevens                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/18/technol Twitter Users Fed Up Over Musks Latest
2022-12-19   2022-12-19 ogy/elon-musk-twitter-policies-chaos.html      Acts                                         By Kate Conger and Ryan Mac      TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/18/world/a Peruvian City Processes the Pain of a Fatal      By Julie Turkewitz and Victor
2022-12-19   2022-12-19 mericas/peru-protests.html                     Clash                                        Moriyama                         TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/19/arts/tele
2022-12-19   2022-12-19 vision/whats-on-tv-this-week.html              This Week on TV                              By Gabe Cohn                     TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/19/busines Tesla Avoids Lawsuits With Direct Sales
2022-12-19   2022-12-19 s/tesla-class-action-lawsuit-arbitration.html Model                                     By Jack Ewing                        TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/19/nyregio                                              By Grace Ashford and Michael
2022-12-19   2022-12-19 n/george-santos-ny-republicans.html           Election Victor Has Big Holes In His Rsum Gold                                 TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/19/nyregio 10 Billion Highway Project in New Jersey     By Tracey Tully and Patrick
2022-12-19   2022-12-19 n/holland-tunnel-turnpike-extension.html      Fueling Heated Debate                     McGeehan                             TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/19/us/jame Telescopes Name Ignites Fight on
2022-12-19   2022-12-19 s-webb-telescope-gay-rights.html              Homophobia                                By Michael Powell                    TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/19/world/e Seeking Heat and Community During a Long
2022-12-19   2022-12-19 urope/scotland-winter-heat-poverty.html       Scotland Winter                           By Megan Specia                      TX 9-270-555    2023-02-01




                                                                                   Page 4647 of 5793
                        https://www.nytimes.com/live/2022/12/19/us/
                        jan-6-committee-trump/jan-6-trump-final-    In Final Session House Panel to Vote on
2022-12-19   2022-12-19 hearing                                     Criminal Referral for Trump               By Luke Broadwater                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/06/books/p
2022-12-06   2022-12-20 ests-book-rats-cats.html                    Rats Are Bad But Elephants Man            By Elizabeth A Harris             TX 9-270-555     2023-02-01
                                                                                                              By Hannah Seo Catherine Pearson
                                                                                                              Dana G Smith Dani Blum Alisha
                        https://www.nytimes.com/interactive/2022/12/                                          Haridasani Gupta Nicole Stock and
2022-12-07   2022-12-20 07/well/mind/holiday-stress.html             How to Actually Enjoy the Holidays       Illustrations by JooHee Yoon      TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/13/health/a
2022-12-13   2022-12-20 dolescents-mental-health-psychiatry.html     Helping Teens Most in Need                 By Matt Richtel and Bee Trofort   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/science Where the Time Went Appearing Over
2022-12-13   2022-12-20 /aztec-calendar-leap-year.html               Mexico City An Ancient Horizon Calendar    By Becky Ferreira                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/science Minimizing Magma In Hawaii Two
2022-12-14   2022-12-20 /mauna-loa-volcano-eruption.html             Volcanoes Lose Their Punch                 By April Rubin                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/science Snaky Sex Study Provides Revelations About
2022-12-14   2022-12-20 /snakes-clitoris-hemiclitores.html           a Serpents Seduction                       By Alex Fox                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/briefing                                             By Jonathan Wolfe and Whet
2022-12-14   2022-12-20 /never-covid.html                            How Have Never Coviders Avoided Infection Moser                              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/science 50 Years After Apollo 17 The Moon Looks
2022-12-14   2022-12-20 /apollo-17-moon-50th-anniversary.html        Closer                                     By Joshua Sokol                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/arts/dan Alice Teirstein 93 Introduced Young People
2022-12-15   2022-12-20 ce/alice-teirstein-dead.html                 to Dance                                   By Neil Genzlinger                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/arts/mu
                        sic/playlist-weeknd-rosalia-cardi-b-saint-   An Avatar Anthem and a Gothic Tune Are     By Jon Pareles Jon Caramanica and
2022-12-16   2022-12-20 levant.html                                  Among the New Releases                     Lindsay Zoladz                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/arts/tele
2022-12-16   2022-12-20 vision/litvinenko-david-tennant.html         Spy Drama Looks At Human Costs             By Imogen WestKnights             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/science Cinnamon Whirl A Black Bear Only Its
2022-12-16   2022-12-20 /cinnamon-black-bear-mutation.html           Hairdresser and Scientists Know for Sure   By Sam Jones                      TX 9-270-555   2023-02-01
                                                                                                                By Anjali Singhvi Mika Grndahl
                        https://www.nytimes.com/interactive/2022/12/ Inside MaraLago Where Thousands Partied Maggie Haberman Weiyi Cai and
2022-12-16   2022-12-20 15/us/mar-a-lago-trump-documents.html        Near Secret Files                          Blacki Migliozzi                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/arts/ash Ashley Bickerton Colorful Artist Known for
2022-12-17   2022-12-20 ley-bickerton-dead.html                      Lush Work Dies at 63                       By Will Heinrich                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/arts/dan
2022-12-17   2022-12-20 ce/bessie-awards.html                        Joy and Diversity Win Big at the Bessies   By Rachel Sherman                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/sports/r
2022-12-17   2022-12-20 unning-hurdling-head-injuries.html           Hoping Others Learn From His Head Injuries By Matthew Futterman              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/arts/mu
2022-12-18   2022-12-20 sic/review-the-magic-flute.html              Puppets and Whimsy for the Holidays        By Oussama Zahr                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/health/
2022-12-18   2022-12-20 older-women-pap-tests.html                   Getting Pap Tests That Arent Necessary     By Paula Span                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/18/sports/l Louis Orr Is Dead at 64 Star Player Led
2022-12-18   2022-12-20 ouis-orr-dead.html                           Syracuse And Knicks as Forward             By Alex Traub                     TX 9-270-555   2023-02-01



                                                                                 Page 4648 of 5793
                        https://www.nytimes.com/2022/12/19/arts/am After Defeat Heard Settles Depp Dispute
2022-12-19   2022-12-20 ber-heard-johnny-depp-settlement.html      With Payment                                   By Julia Jacobs                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/arts/mu
2022-12-19   2022-12-20 sic/celine-dion-quebec-titanic.html        How Quebecs Love for Celine Dion Grew          By Dan Bilefsky                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/busines
                        s/economy/recession-economy-forecast-
2022-12-19   2022-12-20 2023.html                                  This Economy Is Simply Wacky                   By Jeanna Smialek                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/busines Musk Polled Twitter Users They Said He
2022-12-19   2022-12-20 s/elon-musk-quit-twitter.html              Should Quit                                    By Eshe Nelson                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/busines Epic Games To Pay Fine For Charges On
2022-12-19   2022-12-20 s/ftc-epic-games-settlement.html           Privacy                                        By Natasha Singer                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/busines Drew Griffin 60 Investigative Journalist for
2022-12-19   2022-12-20 s/media/drew-griffin-dead.html             CNN                                            By Jesus Jimnez                  TX 9-270-555   2023-02-01
                                                                                                                  By Royston Jones Jr David
                        https://www.nytimes.com/2022/12/19/busines                                                YaffeBellany Matthew Goldstein
2022-12-19   2022-12-20 s/sam-bankman-fried-extradition.html        FTX Founder Said to Agree To Extradition      and Rob Copeland                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/climate Nations Approve UN Pact Aiming to Protect
2022-12-19   2022-12-20 /biodiversity-cop15-montreal-30x30.html     Nature                                   By Catrin Einhorn                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/health/ Child Deaths By Homicide Soared Early In
2022-12-19   2022-12-20 gun-deaths-children-covid.html              Pandemic                                 By Roni Caryn Rabin                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/health/r                                          By Erika Check Hayden and
2022-12-19   2022-12-20 are-disease-genetic-treatments.html         Singular Hopes for Customized Drugs      Brittainy Newman                      TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/19/nyregio Brooklyn Pastor Arrested on Federal Charges By Rebecca Davis OBrien Michael
2022-12-19   2022-12-20 n/lamor-whitehead-fraud-arrest.html         of Fraud and Extortion                       Wilson and Jonah E Bromwich       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/nyregio Adams Says Waves of Migrants Will Strain By Karen Zraick and Brittany
2022-12-19   2022-12-20 n/ny-migrants-buses-adams.html              New York                                     Kriegstein                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/opinion                                               By Norman Eisen E Danya Perry
2022-12-19   2022-12-20 /january-6-trump-criminal-referrals.html    The Jan 6 Committee Just Made History        and Fred Wertheimer               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/opinion Out With the Old and In With the What
2022-12-19   2022-12-20 /new-year-biden-world-cup.html              Exactly                                      By Gail Collins and Bret Stephens TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/sports/b
2022-12-19   2022-12-20 aseball/aaron-judge-62-ball-sold.html       Judges Record Ball Sells for Only 15 Million By Benjamin Hoffman               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/sports/c Will This Device Protect Athletes Brains Or
2022-12-19   2022-12-20 oncussion-q-collar.html                     Only Make Them Think It Does                 By Matthew Futterman              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/us/arizo Its Not a Cargo Train Its Arizonas Border
2022-12-19   2022-12-20 na-border-shipping-containers.html          Wall                                         By Jack Healy                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/us/harv                                               By Lauren Herstik Jill Cowan and
2022-12-19   2022-12-20 ey-weinstein-trial-verdict.html             Guilty Verdict For Weinstein In Los Angeles Livia AlbeckRipka                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/us/polit Pressuring the US For a Formal Strategy On
2022-12-19   2022-12-20 ics/american-hostages-detainees.html        Hostages Overseas                            By Peter Baker                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/us/polit
2022-12-19   2022-12-20 ics/jan-6-hearing-trump.html                Summary of the Committee Report              By Michael D Shear                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/us/polit
2022-12-19   2022-12-20 ics/jan-6-trump-criminal-justice-dept.html  House Panel Urges US to Prosecute Trump      By Luke Broadwater                TX 9-270-555   2023-02-01



                                                                                 Page 4649 of 5793
                        https://www.nytimes.com/2022/12/19/us/polit What Justice Department Could Do After Jan
2022-12-19   2022-12-20 ics/jan-6-trump-justice-dept.html           6 Panels Criminal Referral                 By Alan Feuer                      TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/19/us/polit Amassing of Power By Supreme Court
2022-12-19   2022-12-20 ics/supreme-court-power.html                Alarms Scholars                            By Adam Liptak                     TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/19/us/polit Chief Justice Temporarily Halts the Decision
2022-12-19   2022-12-20 ics/title-42-scotus-immigration-asylum.html on Banning Border Expulsions                 By Adam Liptak                   TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/19/world/a South Africas Ramaphosa Wins a Battle to
2022-12-19   2022-12-20 frica/african-national-congress-election.html Keep Leading the ANC                         By John Eligon and Lynsey Chutel TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/world/a As Perus Unrest Chases Away Visitors            By Mitra Taj Genevieve Glatsky
2022-12-19   2022-12-20 mericas/peru-cusco-unrest-tourism.html        Tourism Industry Is Threatened               and Julie Turkewitz              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/world/a                                                 By Chris Buckley Alexandra
2022-12-19   2022-12-20 sia/china-zero-covid-xi-jinping.html          After Scuttling Zero Covid Xi Offers No Plan Stevenson and Keith Bradsher     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/world/a Thai Navy Searching For Sailors After           By Muktita Suhartono and Matt
2022-12-19   2022-12-20 sia/thai-navy-ship-sinks.html                 Sinking                                      Stevens                          TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/19/world/c Five Killed by Gunman at Condo Building
2022-12-19   2022-12-20 anada/canada-vaughan-shooting-condo.html Outside Toronto                               By Vjosa Isai and Norimitsu Onishi TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/19/world/e                                             By Anatoly Kurmanaev Andrew E
2022-12-19   2022-12-20 urope/belarus-putin-kyiv.html              Fears of New Attack as Putin Visits Belarus Kramer and Michael Levenson        TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/19/world/e
                        urope/netherlands-slavery-apology-mark-    Dutch Prime Minister Apologizes for
2022-12-19   2022-12-20 rutte.html                                 Countrys Slavery Role                       By Claire Moses                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/19/world/e
                        urope/photographer-moldova-soviet-         Celebrating a Common Mans Passion for
2022-12-19   2022-12-20 cusnir.html                                Images                                      By Andrew Higgins                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/19/world/e
                        urope/uk-rwanda-asylum-seekers-high-                                                   By Stephen Castle and Megan
2022-12-19   2022-12-20 court.html                                 British Court Upholds Rwanda Asylum Policy Specia                              TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/19/world/e From Bomb ShelterTurnedStudio Ukraine
2022-12-19   2022-12-20 urope/ukraine-eurovision.html              Selects Eurovision Contestant               By Carly Olson                     TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/19/world/e                                             By Elisabetta Povoledo and Alex
2022-12-19   2022-12-20 urope/vatican-parthenon-marbles-greece.html Fragments Of Parthenon Going Home          Marshall                           TX 9-270-555     2023-02-01
                        https://www.nytimes.com/live/2022/12/19/us/
                        jan-6-committee-trump/did-midterm-voters-
2022-12-19   2022-12-20 forget-about-jan-6-maybe-not                Voting Results Suggest Many Did Not Forget By Jonathan Weisman                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/19/nyregio Calls Grow for New Congressman to Explain By Michael Gold and Grace
2022-12-20   2022-12-20 n/george-santos-reaction-resign.html        Career Claims                              Ashford                            TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/19/opinion
2022-12-20   2022-12-20 /columnists/elon-musk-twitter-oligarchs.html Why Petulant Oligarchs Rule Our World      By Paul Krugman                   TX 9-270-555     2023-02-01




                                                                                Page 4650 of 5793
                        https://www.nytimes.com/2022/12/19/technol
                        ogy/google-contractor-lawsuit-fellowship-of- Former Google Contractor Settles Lawsuit
2022-12-20   2022-12-20 friends.html                                 Alleging Bias Linked to a Religious Sect    By Cade Metz                  TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/19/theater/
2022-12-20   2022-12-20 between-riverside-and-crazy-review.html      Real Estate Gets Real in the Human Hustle   By Jesse Green                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/19/us/polit
2022-12-20   2022-12-20 ics/jan-6-committee-key-findings.html        Key Findings Abridged and Annotated         By Alan Feuer                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/19/us/polit This Time Power of TV Eroded Trumps
2022-12-20   2022-12-20 ics/trump-jan-6-committee-referral.html      Image                                       By Maggie Haberman            TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/19/world/e
2022-12-20   2022-12-20 urope/king-charles-money-uk.html             King Charles III Will Be on New UK Bills    By Emma Bubola                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/20/nyregio A Secret Society Battles to Save Its Faded
2022-12-20   2022-12-20 n/united-order-of-tents-brooklyn.html        Home                                        By Dodai Stewart              TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/20/science
2022-12-20   2022-12-20 /archaeology-bible-geomagnetism.html         A Superior Clock For Biblical Times         By Franz Lidz                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/20/us/polit Release of Trumps Returns Could Forever
2022-12-20   2022-12-20 ics/trump-tax-returns-house.html             Alter Taxpayer Privacy                      By Alan Rappeport             TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/20/us/polit
                        ics/virginia-special-election-house-         Democrats in Virginia Scramble to Pick
2022-12-20   2022-12-20 democrats.html                               Candidate for Vacant Congressional Seat     By Maya King                  TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/20/world/e A 21st Century War Russians Can Give Up
2022-12-20   2022-12-20 urope/russian-soldier-drone-surrenders.html To Ukrainian Drones                          By Marc Santora               TX 9-270-555     2023-02-01

                        https://www.nytimes.com/interactive/2022/11/ What Riding in a SelfDriving Tesla Tells Us By Cade Metz Ben Laffin Hang Do
2022-11-15   2022-12-21 14/technology/tesla-self-driving-flaws.html About the Future of Autonomy                 Thi Duc and Ian Clontz          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/12/arts/des
2022-12-12   2022-12-21 ign/rembrandt-in-a-red-beret-dispute.html    Rembrandt Portrait but by Whom              By Nina Siegal                  TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/13/arts/tele
2022-12-13   2022-12-21 vision/adam-sandler-mark-twain-prize.html Sandler to Receive Mark Twain Prize            By Sarah Bahr                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/14/dining/
2022-12-14   2022-12-21 drinks/best-wine-whiskey-books.html          PageTurners on Wine and Whisky              By Eric Asimov                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/14/dining/
2022-12-14   2022-12-21 puff-pastry-recipes.html                     Puff Pastry Gets the Party Started          By Melissa Clark              TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/15/dining/r
2022-12-15   2022-12-21 oasted-salmon-beef-tenderloin-recipes.html A Perfect Pair of Festive Mains               By Genevieve Ko               TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/16/dining/
                        arab-christmas-kubbeh-stuffed-grape-leaves-
2022-12-16   2022-12-21 recipes.html                                Savory Stalwarts of the Arab Christmas Table By Reem Kassis                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/17/movies/ Adrienne Mancia Top Film Curator Who
2022-12-17   2022-12-21 adrienne-mancia-dead.html                   Opened Eyes in US Dies at 95                 By Neil Genzlinger            TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/17/us/milt
2022-12-17   2022-12-21 on-viorst-dead.html                         Milton Viorst 92 Chronicled Mideast Strife By Sam Roberts                  TX 9-270-555     2023-02-01



                                                                                 Page 4651 of 5793
                        https://www.nytimes.com/2022/10/17/us/wint Dashing Home for the Holidays Be Prepared      By Livia AlbeckRipka and Judson
2022-12-19   2022-12-21 er-storm-snow-cold-christmas.html           for an Icy Hazardous Trip                     Jones                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/dining/
                        kwanzaa-saltbox-seafood-joint-ricky-
2022-12-19   2022-12-21 moore.html                                  For Kwanzaa Part Meal Part Memory             By Brigid Washington            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/dining/
2022-12-19   2022-12-21 noche-buena-food.html                       Satisfying Demand For Noche Buena             By Christina Morales            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/dining/ To Celebrate Searching for Alternatives To a
2022-12-19   2022-12-21 seafood-feast-of-the-seven-fishes.html      Traditional Feast                             By Florence Fabricant           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/dining/ Who Controls Panettone The Gold Rush Is
2022-12-19   2022-12-21 what-is-panettone.html                      On                                            By Julia Moskin                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/dining/
2022-12-19   2022-12-21 where-to-buy-panettone.html                 Avoiding A Bland Imitation                    By Julia Moskin                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/opinion
2022-12-19   2022-12-21 /harry-meghan-monarchy.html                 The Cost of Marrying Into a Monarchy          By Roxane Gay                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/opinion
2022-12-19   2022-12-21 /winter-solstice-dark-light.html            Falling a Little Bit in Love With the Dark    By Margaret Renkl               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/theater/ Almost Famous Set to Close on Broadway in
2022-12-19   2022-12-21 almost-famous-broadway-closing.html         January                                       By Michael Paulson              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/world/a Jose Maria Sison 83 Pillar Of Philippine
2022-12-19   2022-12-21 sia/jose-maria-sison-dead.html              Communism                                     By Seth Mydans                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/arts/ben                                               By Thomas Rogers Rahila Lassa
2022-12-20   2022-12-21 in-bronzes-nigeria-germany.html             Tracing Germanys Decision On Bronzes          and Alex Marshall               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/arts/dan
2022-12-20   2022-12-21 ce/yve-laris-cohen-moma.html                Deep Into the Rubble Of a Theaters Trauma     By Gia Kourlas                  TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/20/arts/mu
2022-12-20   2022-12-21 sic/carol-of-the-bells-shchedryk-ukraine.html The Joy and Melancholy of a Christmas Song By Rob LeDonne                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/arts/mu Kim Simmonds a Force in British Blues Dies
2022-12-20   2022-12-21 sic/kim-simmonds-dead.html                    at 75                                      By Jim Farber                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/arts/mu
2022-12-20   2022-12-21 sic/sza-sos-billboard-chart.html              SZA Tops The Chart With SOS                By Ben Sisario                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/busines Congress Gives Boeing Reprieve On Cockpit
2022-12-20   2022-12-21 s/boeing-max-congress.html                    Fix For 737 Max Jet                        By Niraj Chokshi                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/busines Bank of Japan Signals Surprise Move on
2022-12-20   2022-12-21 s/japan-bank-yen-bonds.html                   Rates                                      By Ben Dooley                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/busines Wells Fargo Has to Pay 37 Billion Over
2022-12-20   2022-12-21 s/wells-fargo-consumer-loans-fine.html        Abuses                                     By Emily Flitter                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/climate Package Offers 1 Billion for Climate Aid Less
2022-12-20   2022-12-21 /congress-climate-finance-biden.html          Than Pledge                                By Lisa Friedman                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/climate Pollution Rules Tightened On Vans Buses and
2022-12-20   2022-12-21 /epa-trucks-emissions-nitrogen-oxide.html     Trucks                                     By Lisa Friedman                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/climate US Postal Service to Spend Billions on
2022-12-20   2022-12-21 /postal-service-electric-trucks.html          Electric Fleet                             By Brad Plumer                   TX 9-270-555   2023-02-01




                                                                                Page 4652 of 5793
                        https://www.nytimes.com/2022/12/20/dining/ There Are Still Plenty of Options for New
2022-12-20   2022-12-21 a-plan-for-every-kind-of-new-years-eve.html Years Eve                                  By Nikita Richardson               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/dining/l
2022-12-20   2022-12-21 ords-review-pete-wells.html                   This Meat Manor Has a British Accent     By Pete Wells                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/dining/ Kobo Serving Mediterranean Fare Opens in
2022-12-20   2022-12-21 nyc-restaurant-news.html                      the East Village                         By Florence Fabricant              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/needies
                        t-cases/finding-stability-in-the-home-that-i- Keeping People in Their Homes for the
2022-12-20   2022-12-21 cried-for.html                                Holidays and Beyond                      By Jennifer Camille Martin         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/nyregio Aggression Toward Drag Events Leads to
2022-12-20   2022-12-21 n/drag-queen-story-hours-protests-nyc.html Vandalizing of New York Officials Home      By Liam Stack                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/opinion
2022-12-20   2022-12-21 /child-tax-credit-basic-income.html           Dont Expand the Child Tax Credit         By Scott Winship                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/sports/b
2022-12-20   2022-12-21 asketball/nike-socks-nba.html                 For NBA Players Its Gotta Be the Socks   By Scott Cacciola                  TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/20/sports/b
2022-12-20   2022-12-21 asketball/phoenix-suns-mat-ishbia-nba.html After Upheaval Phoenix Teams Are Sold       By Sopan Deb and Tania Ganguli     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/sports/g Augusta Says LIV Golfers Can Compete in
2022-12-20   2022-12-21 olf/golf-masters-liv.html                   the Masters                                By Alan Blinder                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/sports/s Fresh Off the World Cup FIFA Faces a Legal
2022-12-20   2022-12-21 occer/ukraine-fifa.html                     Challenge From Ukraine                     By Tariq Panja                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/technol Amazon and EU Reach Deal to End Antitrust
2022-12-20   2022-12-21 ogy/amazon-european-union-antitrust.html    Case                                       By Adam Satariano                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/technol
                        ogy/tiktok-ban-government-issued-           Ban on TikTok Is Gaining Steam Across the By Sapna Maheshwari Cecilia
2022-12-20   2022-12-21 devices.html                                US                                         Kang and David McCabe              TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/20/technol Zuckerberg Testifies as FTC Acts to Block     By Sheera Frenkel and David
2022-12-20   2022-12-21 ogy/zuckerberg-meta-ftc-virtual-reality.html Virtual Reality Deal                        McCabe                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/us/calif California Quake Leaves Thousands Without By Jose Quezada Shawn Hubler
2022-12-20   2022-12-21 ornia-earthquake.html                        Power                                       and Daniel Victor                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/us/fenta
2022-12-20   2022-12-21 nyl-drug-dea-seizure.html                    US Seizures Of Fentanyl Doubled in 22       By Johnny Diaz                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/us/jrotc- Money for Military Instruction Gets the NRA By Nicholas BogelBurroughs and
2022-12-20   2022-12-21 nra-schools.html                             Inside Schools                              Mike Baker                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/us/polit
2022-12-20   2022-12-21 ics/congress-aid-ukraine.html                Congress Approves 44 Billion For Ukraine By Michael Crowley                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/us/polit In Sprint Lawmakers Advance 17 Trillion
2022-12-20   2022-12-21 ics/congress-spending-bill.html              Spending Package                            By Emily Cochrane                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/us/polit Fight Over Relocating the FBI Building Held
2022-12-20   2022-12-21 ics/spending-bill-fbi-headquarters.html      Up the Federal Spending Plan                By Stephanie Lai                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/us/polit 2 Americans Are Freed From Afghan
2022-12-20   2022-12-21 ics/taliban-american-prisoners.html          Detention                                   By Katie Rogers                  TX 9-270-555   2023-02-01



                                                                                Page 4653 of 5793
                        https://www.nytimes.com/2022/12/20/us/polit Thousands at Border in Legal Limbo as     By Michael D Shear and Edgar
2022-12-20   2022-12-21 ics/title-42-supreme-court.html             Justices Weigh TrumpEra Policy            Sandoval                          TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/20/us/polit IRS Let Trump Avoid Tax Audits While in   By Charlie Savage Emily Cochrane
2022-12-20   2022-12-21 ics/trump-tax-returns-irs-audit.html        Office                                    Stephanie Lai and Alan Rappeport TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/20/world/a
                        mericas/argentina-messi-world-cup-parade- A Victory Lap Brings Argentina To a
2022-12-20   2022-12-21 buenos-aires.html                           Standstill                                By The New York Times             TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/20/world/a                                            By Christina Goldbaum and Najim
2022-12-20   2022-12-21 sia/afghanistan-taliban-women-education.html Taliban Bar Women From College Classes   Rahim                             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/world/a From Zero Covid Policy to Almost Zero Cold By David Pierson Isabelle Qian
2022-12-20   2022-12-21 sia/china-covid-shortages.html               Medicine                                 Olivia Wang and Tiffany May       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/world/a In Fijis Election One Former Coup Leader
2022-12-20   2022-12-21 sia/fiji-election.html                       Displaces Another                        By Natasha Frost                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/world/e German Court Sentences Nazi Worker to
2022-12-20   2022-12-21 urope/germany-nazi-camp-secretary.html       Probation                                By Christopher F Schuetze         TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/20/world/e Zelensky and Putin Both Signal              By Marc Santora Anton
2022-12-20   2022-12-21 urope/russia-ukraine-putin-zelensky.html      Determination to Continue Fighting       Troianovski and Michael Levenson TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/world/e A Day With a UK Ambulance Painful Waits
2022-12-20   2022-12-21 urope/uk-ambulance-delay-nhs-strike.html      Crowded Hospitals                        By Megan Specia                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/world/ Tunisias Voters Shun Election Weakening a
2022-12-20   2022-12-21 middleeast/tunisia-election-parliament.html Leaders Grasp                              By Ben Hubbard and Ahmed Ellali TX 9-270-555    2023-02-01
                        https://www.nytimes.com/article/spending-bill Whats In and Not In The 17 Trillion
2022-12-20   2022-12-21 fy23-congress.html                            Spending Bill                            By Emily Cochrane                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        20/climate/california-wildfire-season-        Why Californias 2022 Wildfire Season Was
2022-12-20   2022-12-21 2022.html                                     Unexpectedly Quiet                       By Elena Shao                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/opinion
2022-12-21   2022-12-21 /2022-freedom-complacency.html                Broad Sunlit Uplands                     By Bret Stephens                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/technol Musk Says Hell Resign Twitter Role But Not
2022-12-21   2022-12-21 ogy/elon-musk-twitter-resign.html             Yet                                      By Ryan Mac and Kate Conger      TX 9-270-555   2023-02-01
                                                                                                               By David YaffeBellany William K
                        https://www.nytimes.com/2022/12/20/technol BankmanFried Team Seeks Bail Deal With Rashbaum Matthew Goldstein and
2022-12-21   2022-12-21 ogy/sam-bankman-fried-bail.html               Prosecutors                              Benjamin Weiser                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/theater/
2022-12-21   2022-12-21 the-collaboration-review.html                 Beyond the Brushes a Bromance            By Laura CollinsHughes           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/us/polit
                        ics/stefan-passantino-cassidy-hutchinson-jan-                                          By Maggie Haberman and Luke
2022-12-21   2022-12-21 6.html                                        Questions Remain After Report on Jan 6   Broadwater                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/world/c Condo Board Near Toronto Had Dispute
2022-12-21   2022-12-21 anada/gunman-canada-condo-killings.html       With Killer                              By Vjosa Isai                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/health/c Older Americans Forgo Boosters Even as
2022-12-21   2022-12-21 ovid-bivalent-booster-elderly.html            Deaths From Covid Rise                   By Emily Baumgaertner            TX 9-270-555   2023-02-01



                                                                                Page 4654 of 5793
                        https://www.nytimes.com/2022/12/21/insider/
                        81-minutes-in-two-big-goals-and-one-big-
2022-12-21   2022-12-21 rewrite.html                                81 Minutes in Two Goals Changed the Story By Rory Smith                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/21/sports/f
                        ootball/nfl-football-teams-eliminated-
2022-12-21   2022-12-21 playoffs.html                               Brief Guide to Watching NFLs Garbage Time By Mike Tanier                   TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/21/us/polit Zelensky Plans A Daring Visit To          By Michael D Shear and Emily
2022-12-21   2022-12-21 ics/zelensky-washington-biden-congress.html Washington                                Cochrane                         TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/10/style/liv
2022-12-10   2022-12-22 ing-apart-together-marriage.html             The Wife Left but Theyre Together        By Kelly Coyne                   TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/14/style/ba Made for a Doll but Dont Call Them
2022-12-14   2022-12-22 rbie-dreamhouse-history-six-decades.html     Dollhouses                               By Julie Lasky                   TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/15/arts/mu                                               By Jon Pareles Jon Caramanica
2022-12-15   2022-12-22 sic/boxed-sets-albums-pop-rock-jazz.html     Dives Deep Enough to Get the Musical Bends Hank Shteamer and Lindsay Zoladz TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/books/j
2022-12-19   2022-12-22 oan-didion-portrait-artist.html              A Painting Worth 1000 Questions             By Kate Dwyer                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/opinion
2022-12-19   2022-12-22 /january-6-report-history.html               How Will History Remember Jan 6             By Lydia Polgreen               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/travel/c Tripledemic Holiday How to Travel More
2022-12-19   2022-12-22 ovid-flu-rsv-travel-safety.html              Safely Hint Wear a Mask                     By Tariro Mzezewa               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/arts/des Elena Xausa 38 Illustrator Whose Style Burst
2022-12-20   2022-12-22 ign/elena-xausa-dead.html                    With Joy                                    By Nina Chhita                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/climate                                               By Somini Sengupta and Manuela
2022-12-20   2022-12-22 /chocolate-climate-change.html               The Forest in Your Chocolate                Andreoni                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/opinion
2022-12-20   2022-12-22 /india-us-biden-modi.html                    The Harm of Lacking an Ambassador to India By Meenakshi Ahamed              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/style/sis Basking in the Comfort of Food and
2022-12-20   2022-12-22 mas-holiday-party.html                       Sisterhood                                  By Chloe Anello                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/us/polit ISIS Officials Are Captured In Syria Raids
2022-12-20   2022-12-22 ics/isis-commando-raids-syria.html           US Reports                                  By Eric Schmitt                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/well/fa Here to Help Simple Steps for Managing
2022-12-20   2022-12-22 mily/holiday-loneliness.html                 Holiday Loneliness                          By Catherine Pearson            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/your-
                        money/spending-bill-401k-retirement-         Spending Package Encourages Saving for
2022-12-20   2022-12-22 savings.html                                 Retirement as Well as for a Rainy Day       By Tara Siegel Bernard          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/arts/mu Stanley Drucker 93 Longtime Clarinetist For
2022-12-21   2022-12-22 sic/stanley-drucker-dead.html                Philharmonic Dies                           By Daniel J Wakin               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/nyregio Taxi Dispatch Line Is Latest Target for       By Benjamin Weiser and Nate
2022-12-21   2022-12-22 n/russian-hackers-jfk-taxis.html             Hackers US Says                             Schweber                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/style/m
2022-12-21   2022-12-22 enopause-womens-health-goop.html             Welcome to the Menopause Gold Rush          By Amy Larocca                  TX 9-270-555   2023-02-01




                                                                                Page 4655 of 5793
                        https://www.nytimes.com/2022/12/21/arts/des
                        ign/international-african-american-museum-
2022-12-21   2022-12-22 delay.html                                  African American Museum Delays Opening       By Zachary Small                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/arts/mu
2022-12-21   2022-12-22 sic/steve-lacy-bad-habit-gemini-rights.html Taking Good Time To Get a Tune Right         By Reggie Ugwu                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/busines
                        s/energy-environment/battery-recycling-     Electric Cars Are Taking Off Will Battery    By Niraj Chokshi and Kellen
2022-12-21   2022-12-22 electric-vehicles.html                      Recycling Follow                             Browning                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/busines
2022-12-21   2022-12-22 s/irs-online-sales-tax-bills.html           Venmo Users New Tax Rule May Hit You         By Alan Rappeport               TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/21/busines
2022-12-21   2022-12-22 s/media/sean-hannity-fox-trump-election.html Some at Fox Voiced Doubt On Vote Plots      By Jeremy W Peters              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/busines Musks Tweets Only Aggravate Teslas            By Jack Ewing Daisuke
2022-12-21   2022-12-22 s/tesla-elon-musk.html                       Troubles                                    Wakabayashi and Melissa Eddy    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/busines Struggling Under Armour Hires Marriotts
2022-12-21   2022-12-22 s/under-armour-stephanie-linnartz.html       President in Effort to Regain Its Footing   By Jordyn Holman                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/movies/
                        oscars-best-actress-michelle-yeoh-cate-
2022-12-21   2022-12-22 blanchett.html                               Just Forget the Male Actors                 By Kyle Buchanan                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/nyregio                                               By Jeffery C Mays and Emma G
2022-12-21   2022-12-22 n/eric-adams-dinkins-race.html               In Criticism Of Eric Adams                  Fitzsimmons                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/nyregio New Report Says RepresentativeElect May       By Michael Gold and Grace
2022-12-21   2022-12-22 n/george-santos-jewish-descent-fraud.html    Have Lied About Jewish Heritage             Ashford                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/nyregio Hochul Grants Clemency to 13 People
2022-12-21   2022-12-22 n/kathy-hochul-pardon-clemency.html          Including a Survivor of Domestic Violence   By Jay Root                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/nyregio One Software Flaw Opened Door for Suffolk     By Sarah Maslin Nir and Nate
2022-12-21   2022-12-22 n/suffolk-county-cyberattack.html            County Hack                                 Schweber                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/science RIP InSight Dust Shuts Off NASA
2022-12-21   2022-12-22 /nasa-mars-insight-mission.html              Marsquake Detector After 4 Years            By Kenneth Chang                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/sports/b His Name Is Judge but You Can Call Him
2022-12-21   2022-12-22 aseball/aaron-judge-yankees-captain.html     Captain From Now On                         By Gary Phillips                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/sports/b
2022-12-21   2022-12-22 aseball/carlos-correa-mets.html              Another Day Another Star Joins the Mets     By David Waldstein              TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/21/sports/b A Lifelong Fan Has a Dream And Deep
2022-12-21   2022-12-22 aseball/steven-cohen-carlos-correa-mets.html Pockets                                    By Tyler Kepner                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/sports/f Franco Harris Steeler With Immaculate Place By Richard Sandomir and Daniel
2022-12-21   2022-12-22 ootball/franco-harris-dead-steelers.html     In NFL Lore Dies at 72                     Victor                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/sports/n
2022-12-21   2022-12-22 ew-york-city-triathlon-october.html          New York Race Moved From Summer            By Talya Minsberg                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/style/w
2022-12-21   2022-12-22 hat-not-to-wear-on-your-face.html            What Not to Wear on Your Face              By Marisa Meltzer                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/theater/
2022-12-21   2022-12-22 lloyd-suh-far-country-asian-american.html    Speaking Directly To Our Present           By Richard Morgan                TX 9-270-555   2023-02-01



                                                                                Page 4656 of 5793
                        https://www.nytimes.com/2022/12/21/us/chris As a Brutal Holiday Storm Approaches
2022-12-21   2022-12-22 tmas-winter-storm-snow-blizzard.html        Essential Workers Brace for Danger          By Mitch Smith                     TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/21/us/polit Biden Signs Measure to Halt The Exploitation
2022-12-21   2022-12-22 ics/biden-tiger-king-law.html                of Big Cats A Bill Inspired by Tiger King    By Christine Chung                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/us/polit A Look at the Air Defense System That the
2022-12-21   2022-12-22 ics/patriot-missiles-russia-ukraine-us.html  US Is Giving to Ukraine                      By Helene Cooper                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/us/polit Trumps Taxes Red Flags Big Losses and an By Russ Buettner Susanne Craig
2022-12-21   2022-12-22 ics/trump-tax-returns-findings.html          Inherited Windfall                           and Mike McIntire                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/us/polit                                               By Julian E Barnes Helene Cooper
2022-12-21   2022-12-22 ics/ukraine-russia-war-stalemate.html        US Predicts Impasse as Ukraine War Endures and Eric Schmitt                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/us/uc- Speaker Ban at Berkeley Law School Incites
2022-12-21   2022-12-22 berkeley-free-speech.html                    Free Speech Fight                            By Vimal Patel                     TX 9-270-555   2023-02-01
                                                                                                                  By Rick Rojas Eliza Fawcett
                        https://www.nytimes.com/2022/12/21/us/wint Winter Comes Roaring In With Massive           Campbell Robertson and Judson
2022-12-21   2022-12-22 er-storm-snow-blizzard-forecast.html         Snowstorm                                    Jones                              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/world/a
                        mericas/mexico-journalist-attack-ciro-gomez- Media Fears in Mexico Deepen After
2022-12-21   2022-12-22 leyva.html                                   Shooting                                     By Natalie Kitroeff                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/world/c
2022-12-21   2022-12-22 anada/toronto-stabbing-girls-arrested.html   8 Girls Are Charged in Toronto Killing       By Vjosa Isai and Norimitsu Onishi TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/world/e A Dark Christmas for a Prosperous City in
2022-12-21   2022-12-22 urope/hungary-economy-christmas.html         Hungary                                      By Andrew Higgins                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/world/e Ambulance Workers Go on Strike in UK
2022-12-21   2022-12-22 urope/uk-ambulance-workers-strike.html       Disrupting Hospitals                         By Isabella Kwai                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/world/e
2022-12-21   2022-12-22 urope/vladimir-putin-russia-ukraine.html     Putin Admits Battle Failures But Fights On By Anton Troianovski                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/world/e Stark Terms In Portraying A Conflict Good
2022-12-21   2022-12-22 urope/zelensky-ukraine-washington.html       vs Evil                                      By Andrew E Kramer                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/world/
                        middleeast/coalition-deal-netanyahu-         Israeli Coalition Deal Puts Netanyahu on the
2022-12-21   2022-12-22 israel.html                                  Brink of Power                               By Patrick Kingsley                TX 9-270-555   2023-02-01

                        https://www.nytimes.com/interactive/2022/12/ Here Are the Key Numbers From Trumps Tax
2022-12-21   2022-12-22 21/us/politics/trump-tax-return-numbers.html Returns                                  By Charlie Smart                     TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/21/opinion
2022-12-22   2022-12-22 /women-governors-2023.html                   Women Are on the March                   By Gail Collins                      TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/21/technol                                            By David YaffeBellany Matthew
2022-12-22   2022-12-22 ogy/ftx-fraud-guilty-pleas.html              Executives Plead Guilty In FTX Case      Goldstein and Benjamin Weiser        TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/21/us/arizo Arizona Governor Agrees to Dismantle Wall
2022-12-22   2022-12-22 na-border-shipping-containers.html           Made of Shipping Containers              By Jack Healy                        TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/21/us/polit Lawmakers Aim 15 Billion at HomeState
2022-12-22   2022-12-22 ics/congress-earmarks-spending-bill.html     Projects                                 By Stephanie Lai                     TX 9-270-555     2023-02-01




                                                                                 Page 4657 of 5793
                        https://www.nytimes.com/2022/12/21/us/polit
                        ics/jan-6-committee-transcripts-fifth-       A Common Answer to Jan 6 Panel Questions By Luke Broadwater Maggie
2022-12-22   2022-12-22 amendment.html                               The Fifth                                   Haberman and Alan Feuer        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/us/polit Debate Mounts On How Trump Avoided           By Charlie Savage and Alan
2022-12-22   2022-12-22 ics/trump-irs-taxes.html                     Audits                                      Rappeport                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/us/polit Aid Isnt Charity Zelensky Asserts Before     By Michael D Shear and Zolan
2022-12-22   2022-12-22 ics/zelensky-visit-washington-biden.html     Congress                                    KannoYoungs                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/us/title- Along Southern Border Waiting Anxiously for By J David Goodman and Edgar
2022-12-22   2022-12-22 42-end-border-migrants.html                  End of PandemicEra Rule                     Sandoval                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/insider/
2022-12-22   2022-12-22 kenneth-chang-science-reporter.html          A Science Reporter With a License to Wonder By Emmett Lindner              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/style/fa A Championship Season for Sports and
2022-12-22   2022-12-22 shion-sports.html                            Fashion                                     By Vanessa Friedman            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/insider/
2022-12-29   2022-12-22 indonesia-earthquake.html                    Finding Community in Indonesias Disasters By Emmett Lindner                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/sports/a Formula 1 Changed the Design Rules Did It
2022-12-13   2022-12-23 utoracing/f1-car-design.html                 Work                                        By Luke Smith                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/theater/
                        antonio-banderas-company-sondheim-spain-
2022-12-14   2022-12-23 madrid.html                                  Antonio Banderas Brings Company to Spain By AJ Goldmann                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/movies/
2022-12-19   2022-12-23 puss-in-boots-the-last-wish.html             Puss in Boots The Last Wish                 By Glenn Kenny                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/theater/ Searching for Sondheim New Books New
2022-12-19   2022-12-23 stephen-sondheim-books.html                  Glimpses                                    By Eric Grode                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/arts/mu Elayne Jones 94 Percussionist Who Battled
2022-12-21   2022-12-23 sic/elayne-jones-dead.html                   Racism                                      By David Allen                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/arts/mu
                        sic/o-come-all-ye-faithful-christmas-
2022-12-21   2022-12-23 chord.html                                   The Chord That Everyone Wants to Hear       By Hugh Morris                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/arts/dan
                        ce/alexei-ratmansky-american-ballet-
2022-12-22   2022-12-23 theater.html                                 A Loss for Ballet Theater                   By Dan Bilefsky                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/arts/des
                        ign/lucio-fontana-hauser-wirth-art-
2022-12-22   2022-12-23 review.html                                  Sculptor Once Maligned Willfully Perverse By Martha Schwendener            TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/22/arts/des
2022-12-22   2022-12-23 ign/st-johns-cathedral-dome-guastavino.html A New Dome Now Cures Some Old Ills             By Jane Margolies            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/arts/juil Former Chair At Juilliard Takes Leave After
2022-12-22   2022-12-23 liard-robert-beaser.html                     Claims                                        By Marc Tracy                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/arts/osc Oscar White Muscarella Who Sounded
2022-12-22   2022-12-23 ar-white-muscarella-dead.html                Alarm On Forgeries Dies at 91                 By Neil Genzlinger           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/arts/tele
                        vision/pinata-masters-adult-swim-yule-log- How Much Watching Time Do You Have
2022-12-22   2022-12-23 taskmasters.html                             This Weekend                                  By Margaret Lyons            TX 9-270-555   2023-02-01



                                                                                 Page 4658 of 5793
                        https://www.nytimes.com/2022/12/22/busines
2022-12-22   2022-12-23 s/china-covid-censorship-propaganda.html   End of Zero Covid Confounds Chinas Censors By John Liu and Paul Mozur        TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/22/busines Disgraced FTX CoFounder Freed on 250         By Benjamin Weiser Matthew
2022-12-22   2022-12-23 s/sam-bankman-fried-ftx-bail.html           Million Bond                                Goldstein and David YaffeBellany TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/busines
2022-12-22   2022-12-23 s/stock-market-today.html                   Strong Economic News Weakens Stocks         By Emily Flitter                TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/busines NFL Reaches a Deal With YouTube to           By Benjamin Mullin Ken Belson
2022-12-22   2022-12-23 s/youtube-nfl-sunday-ticket.html            Stream Its Sunday Ticket Games              and Nico Grant                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/climate Whats the Polar Vortex And Other Climate
2022-12-22   2022-12-23 /polar-vortex-winter-cold-weather.html      Questions                                   By Henry Fountain               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/health/c FeverFilled Weeks Ahead As Tripledemic
2022-12-22   2022-12-23 ovid-flu-rsv-winter-surge.html              Rages On                                    By Emily Anthes                 TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/health/                                              By Sarah Kliff and Jessica
2022-12-22   2022-12-23 nyu-langone-emergency-room-vip.html         The Privileged Jump the Line At NYUs ER     SilverGreenberg                 TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/movies/
2022-12-22   2022-12-23 babylon-review-damien-chazelle.html         Excess Hollywood All Partying Little Life   By Manohla Dargis               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/movies/
2022-12-22   2022-12-23 corsage-review-vicky-krieps.html            Constraint Breeds A Calm Rebellion          By Manohla Dargis               TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/22/movies/
2022-12-22   2022-12-23 i-wanna-dance-with-somebody-review.html Tracing The Arc Of Her Career                   By Amy Nicholson                TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/movies/
2022-12-22   2022-12-23 joyride-review.html                        Joyride                                      By Jeannette Catsoulis          TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/movies/ Waking Up to Lifes Joys With No Time to
2022-12-22   2022-12-23 living-review.html                         Lose                                         By Beatrice Loayza              TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/movies/
2022-12-22   2022-12-23 millennium-mambo-hou-hsiao-hsien.html      A Lush Mysterious Tale From Taiwan           By J Hoberman                   TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/movies/
2022-12-22   2022-12-23 no-bears-review-jafar-panahi.html          Subtle Messages Filmed in Secret             By AO Scott                     TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/movies/
2022-12-22   2022-12-23 the-pale-blue-eye-review.html              Stolen Hearts and Tortured Minds             By Jeannette Catsoulis          TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/movies/
2022-12-22   2022-12-23 women-talking-review.html                  The Power of Speech                          By AO Scott                     TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/nyregio Barry Feinstein New York Union Boss
2022-12-22   2022-12-23 n/barry-feinstein-dead.html                Toppled by Corruption Is Dead at 87          By Robert D McFadden            TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/nyregio
                        n/madison-square-garden-facial-            Madison Sq Garden Uses Face Recognition      By Kashmir Hill and Corey
2022-12-22   2022-12-23 recognition.html                           To Ban Owners Foes                           Kilgannon                       TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/nyregio
                        n/new-york-appeals-court-nomination-       Hochul Taps 1st Latino Judge to Lead Top
2022-12-22   2022-12-23 hochul.html                                Court                                        By Rebecca Davis OBrien         TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/nyregio
2022-12-22   2022-12-23 n/raises-albany-lawmakers.html             Lawmakers Approve Raises for Themselves      By Jesse McKinley               TX 9-270-555    2023-02-01




                                                                                Page 4659 of 5793
                        https://www.nytimes.com/2022/12/22/opinion Kids Books Dont Need to Be Only About
2022-12-22   2022-12-23 /childrens-books-adults.html               Kids                                          By Pamela Paul                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/22/opinion
2022-12-22   2022-12-23 /editorials/jan-6-committee-report.html    The Last Lesson of the Jan 6 Committee        By The Editorial Board            TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/22/sports/b
2022-12-22   2022-12-23 asketball/nikola-jokic-denver-nuggets.html  TwoTime MVP May Be Getting Even Better       By Sopan Deb                      TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/22/sports/f
                        ootball/franco-harris-immaculate-           The Day Franco Harris Performed a Miracle
2022-12-22   2022-12-23 reception.html                              And Inspired an Army                         By Tom Jolly                      TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/22/sports/s                                              By Talya Minsberg and Gabriella
2022-12-22   2022-12-23 urfing-pipeline-women-oahu.html             Women Finally Catch Big Break at Pipeline    AngottiJones                      TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/22/style/vo
                        lodymyr-zelensky-washington-army-green- With His Olive Green Sweatshirt Wartime
2022-12-22   2022-12-23 clothes.html                                Leader Sends a Message                       By Vanessa Friedman               TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/22/technol
                        ogy/byte-dance-tik-tok-internal-            Employees Obtained Data Of Some US
2022-12-22   2022-12-23 investigation.html                          TikTok Users                                 By Cecilia Kang                   TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/22/technol Microsoft Tries Being Nice To Seal Deal for   By Karen Weise and David
2022-12-22   2022-12-23 ogy/microsoft-activision-strategy.html      Activision                                   McCabe                            TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/22/technol Misleading Tweets Abound as Musk Lifts
2022-12-22   2022-12-23 ogy/musk-twitter-bans.html                  Bans on Users                                By Stuart A Thompson              TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/22/technol Twitter Is Said to Have Struggled Over
2022-12-22   2022-12-23 ogy/twitter-military-influence-campaign.html Revealing MilitaryRun Influence Effort        By Kate Conger and Sheera Frenkel TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/us/cens Immigration Drove US Population Up While By Robert Gebeloff and Dana
2022-12-22   2022-12-23 us-population.html                           Rate of Growth Hit a Record Low               Goldstein                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/us/polit Voting Flaw Exposed by Jan 6 Spurred
2022-12-22   2022-12-23 ics/electoral-count-act-jan-6.html           Senators                                      By Carl Hulse                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/us/polit
                        ics/jan-6-hutchinson-testimony-              Jan 6 Witness Says Lawyer Tried to Sway Her By Luke Broadwater and Alan
2022-12-22   2022-12-23 transcript.html                              Testimony                                     Feuer                             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/us/polit
                        ics/jennifer-mcclellan-virginia-house-       Virginia Picks State Senator In Primary for a
2022-12-22   2022-12-23 primary.html                                 House Seat                                    By Maya King                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/us/polit Senate Passes 17 Trillion Spending Bill in
2022-12-22   2022-12-23 ics/senate-spending-bill.html                Scramble to Avert Shutdown                    By Emily Cochrane                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/us/polit Trump Tax Case Shows a Squeeze In IRS
2022-12-22   2022-12-23 ics/trump-audit-irs.html                     Funding                                       By Alan Rappeport                 TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/22/us/polit US Has Limits When It Comes to Ukraine      By Eric Schmitt Zolan
2022-12-22   2022-12-23 ics/ukraine-zelensky-biden-weapons.html     Arms                                        KannoYoungs and Julian E Barnes TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/22/us/polit For Zelensky Talk of Victory but With Hints
2022-12-22   2022-12-23 ics/zelensky-sales-pitch.html               of Worries                                  By David E Sanger               TX 9-270-555        2023-02-01




                                                                                 Page 4660 of 5793
                        https://www.nytimes.com/2022/12/22/us/sant
                        as-enchanted-forest-miami-christmas-       Its a Very Miami Christmas in Santas       By Patricia Mazzei and Scott
2022-12-22   2022-12-23 park.html                                  Enchanted Forest                           McIntyre                           TX 9-270-555   2023-02-01
                                                                                                              By Rick Rojas Eliza Fawcett
                        https://www.nytimes.com/2022/12/22/us/wint                                            Campbell Robertson and Judson
2022-12-22   2022-12-23 er-storm-snow-cold-ice.html                Deadly Storm Drops Millions In Deep Freeze Jones                              TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/22/world/a Venezuela Opposition Leader May Be on His By Isayen Herrera and Julie
2022-12-22   2022-12-23 mericas/venezuela-juan-guaido-removal.html Way Out                                   Turkewitz                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/world/a Nepali Court Orders Release of Killer Who By Bhadra Sharma and Yan
2022-12-22   2022-12-23 sia/nepal-charles-sobhraj-release.html     Targeted Tourists in 70s and 80s          Zhuang                              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/world/e Mole Is Held For Spying For Moscow
2022-12-22   2022-12-23 urope/germany-russian-spy-arrest.html      Germans Say                               By Erika Solomon                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/world/e
                        urope/strasbourg-france-christmas-
2022-12-22   2022-12-23 market.html                                Capital of Christmas Loses Some Magic     By Constant Mheut                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/world/e UK Restaurants in Crunch as PostBrexit
2022-12-22   2022-12-23 urope/uk-restaurants-waiters-brexit.html   Labor Shortage Worsens                    By Mark Landler                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/world/e                                           By Thomas GibbonsNeff Natalia
2022-12-22   2022-12-23 urope/ukraine-bakhmut-food-stand.html      A Warm Slice of Pizza in a Bombarded City Yermak and Tyler Hicks              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/world/e Zelenskys Visit to US Lifts Spirits Back  By Andrew E Kramer and Ivan
2022-12-22   2022-12-23 urope/zelensky-us-visit-reaction.html      Home                                      Nechepurenko                        TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/22/world/ Deals Netanyahu Made With Israels Far Right
2022-12-22   2022-12-23 middleeast/israel-netanyahu-government.html Fuel Fears for Democracy                  By Isabel Kershner                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/opinion
2022-12-23   2022-12-23 /biden-zelensky-speech.html                  Bidens America Finds Its Voice           By David Brooks                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/opinion
2022-12-23   2022-12-23 /china-future-growth.html                    Chinas Future Isnt What It Used to Be    By Paul Krugman                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/sports/b MLB Reinstates Bauer After Arbitrators
2022-12-23   2022-12-23 aseball/trevor-bauer-reinstated.html         Ruling                                   By Benjamin Hoffman                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/busines For Many Wall Street Bankers This Years    By Maureen Farrell Lauren Hirsch
2022-12-23   2022-12-23 s/wall-street-bonuses.html                   Bonus Season Is a Bust                   and Anupreeta Das                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/insider/ American Communities More Than Their
2022-12-23   2022-12-23 across-the-country.html                      Crises                                   By John Otis                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/travel/d
2022-12-13   2022-12-24 ubai-food.html                               Dubai Becomes a Culinary Destination     By Seth Sherwood                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
2022-12-15   2022-12-24 15/travel/things-to-do-seoul.html            36 Hours in Seoul                        By Victoria Kim                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/arts/bre
2022-12-16   2022-12-24 akout-stars-2022-music-tv-movies.html        They Required Your Attention This Year   By Maya Salam                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/movies/
                        rihanna-taylor-swift-lady-gaga-oscars-
2022-12-21   2022-12-24 shortlist.html                               Academy Releases Oscars Shortlist        By Stephanie Goodman               TX 9-270-555   2023-02-01




                                                                                Page 4661 of 5793
                        https://www.nytimes.com/2022/12/21/obituari Albert Madansky 88 Who Gauged Risk of
2022-12-21   2022-12-24 es/albert-madansky-dead.html                War                                         By Sam Roberts                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/opinion In Shanghai Wondering What Zero Covid
2022-12-21   2022-12-24 /china-covid.html                           Was For                                     By Eva Rammeloo                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/technol
                        ogy/personaltech/how-to-use-chatgpt-
2022-12-21   2022-12-24 ethically.html                              Using AI Please Do It Responsibly           By Brian X Chen                    TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/21/theater/
2022-12-21   2022-12-24 broadway-christmas-pandemic-holidays.html For Holiday Shows a Spirit of Renewal         By Michael Paulson                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/arts/mu Dont Take Journey to Political Events
2022-12-22   2022-12-24 sic/journey-cease-and-desist-trump.html     Bandmate Warns                              By Ben Sisario                     TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/22/arts/tele
2022-12-22   2022-12-24 vision/the-witcher-blood-origin-netflix.html Elves Inspired the New Witcher Prequel     By Elisabeth Vincentelli           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/nyregio Troubled Doctor Sought Solace at Sea and
2022-12-22   2022-12-24 n/marvin-moy-boat-missing.html               Then Disappeared                           By Michael Wilson                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/sports/f Key Stats DVOA EPA and This Weekend
2022-12-22   2022-12-24 ootball/nfl-week-16-picks.html               Wind MPH                                   By David Hill                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/theater/
                        grill-and-chowder-win-2022-relentless-       Grill and Chowder Win 2022 Relentless
2022-12-22   2022-12-24 award.html                                   Award                                      By Rachel Sherman                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/travel/i
2022-12-22   2022-12-24 celand-winter-driving.html                   Black Ice and White Knuckles in Iceland    By Eric A Taub                     TX 9-270-555   2023-02-01
                                                                                                                By Yousur AlHlou Masha Froliak
                                                                                                                Dmitriy Khavin Christoph Koettl
                                                                                                                Haley Willis Alexander Cardia
                        https://www.nytimes.com/2022/12/22/video/r A Mountain of Evidence Implicates One        Natalie Reneau and Malachy
2022-12-22   2022-12-24 ussia-ukraine-bucha-massacre-takeaways.html Russian Regiment in Killings                Browne                             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/dining/ Ali Ahmed Aslam 77 Dies Restaurateur Who
2022-12-23   2022-12-24 ali-ahmed-aslam-dead.html                   Created Chicken Tikka Masala                By Tejal Rao and Isabella Kwai     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/us/polit
2022-12-23   2022-12-24 ics/congress-war-crimes.html                Bill Lets US Widen Pursuit Of War Crimes By Aishvarya Kavi                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/us/polit                                             By Luke Broadwater and Maggie
2022-12-23   2022-12-24 ics/jan-6-committee-report.html             Jan 6 Committee Blames One Man For Riot Haberman                               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/arts/mu
2022-12-23   2022-12-24 sic/christmas-caroler-retires.html          God Rest This Merry Gentleman               By Dan Bilefsky                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/arts/mu
                        sic/tory-lanez-megan-thee-stallion-         Jury Convicts Canadian Rapper Tory Lanez of By Blanca Begert Joe Coscarelli
2022-12-23   2022-12-24 verdict.html                                Shooting Megan Thee Stallion in Both Feet and Douglas Morino                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/books/j                                              By Alexandra Alter and Elizabeth
2022-12-23   2022-12-24 an-6-report-publishing.html                 A Race to Print The Jan 6 Report            A Harris                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/busines                                              By Matthew Goldstein and
2022-12-23   2022-12-24 s/blackrock-esg-investing.html              Social Issues Muddle Goals Of BlackRock Maureen Farrell                        TX 9-270-555   2023-02-01




                                                                                Page 4662 of 5793
                        https://www.nytimes.com/2022/12/23/busines Alameda Executive Is Sorry for Role in FTX By Matthew Goldstein and
2022-12-23   2022-12-24 s/caroline-ellison-ftx-alameda-research.html Collapse                                   Benjamin Weiser                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/busines
                        s/economy/consumer-spending-inflation-       A Measure Of Inflation Cools Down In
2022-12-23   2022-12-24 november.html                                November                                   By Jeanna Smialek                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/busines IRS Delays Reporting Rule For Users of Apps
2022-12-23   2022-12-24 s/irs-venmo-digital-wallets.html             Like Zelle                                 By Alan Rappeport                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/busines Sister Patricia Daly 66 Who Prodded
2022-12-23   2022-12-24 s/sister-patricia-daly-dead.html             Companies Toward Social Justice Dies       By Richard Sandomir               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/climate When Air Masses Meet How Bomb Cyclones
2022-12-23   2022-12-24 /bomb-cyclone.html                           Become So Windy and So Messy               By Henry Fountain                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/health/c This Party Season in Lieu of a Gift Take a  By Roni Caryn Rabin and Holly
2022-12-23   2022-12-24 ovid-holidays-parties.html                   Test at the Door                           Secon                             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/health/ FDA Takes Action to Say It Plainly
2022-12-23   2022-12-24 morning-after-pills-abortion-fda.html        MorningAfter Pills Are Not Abortion Pills  By Pam Belluck                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/nyregio A Trail of Debts Dogged Santos In His        By Michael Gold Grace Ashford
2022-12-23   2022-12-24 n/george-santos-republican-resume.html       Twenties                                   and Ellen Yan                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/nyregio How Did FTXs Chief Executive Afford So
2022-12-23   2022-12-24 n/sbf-bail-agreement-explained.html          Much Bail Its Simple He Didnt              By Jonah E Bromwich               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/nyregio
2022-12-23   2022-12-24 n/staten-island-fire-children.html           Girl 5 and Brother 6 Are Killed in Fire    By Hurubie Meko                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/opinion Does a Spirituals Meaning Change Based on
2022-12-23   2022-12-24 /cultural-appropriation-black-music.html     Who Wrote It                               By Esau McCaulley                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/opinion
2022-12-23   2022-12-24 /jesus-love-friendship-christmas.html        Why Jesus Loved Friendship                 By Peter Wehner                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/sports/b
2022-12-23   2022-12-24 aseball/hal-steinbrenner-yankees.html        The Yankees Still Have a Shopping List     By Gary Phillips                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/sports/b A Bench Player in College Hopes To Be a
2022-12-23   2022-12-24 asketball/mat-ishbia-phoenix-suns.html       Great NBA Team Owner                       By Tania Ganguli and Sopan Deb TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/23/sports/b Genetics Are Making Rodeo Bulls Meaner
2022-12-23   2022-12-24 ull-riding-rodeo.html                        Good Luck Riders                           By Tyler E Hicks and Jake Dockins TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/upshot/ After Pair of Covid Christmases Santa Jumps By Emily Badger and Eve
2022-12-23   2022-12-24 santa-job-christmas.html                     Back on His Sleigh                         Washington                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/us/adna Georgetown Hires Syed To Give Help To
2022-12-23   2022-12-24 n-syed-georgetown.html                       Prisoners                                  By Eduardo Medina                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/us/polit House Passes a 17 Trillion Spending Package
2022-12-23   2022-12-24 ics/house-passes-spending-bill.html          Staving Off a Shutdown                     By Emily Cochrane                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/us/polit For Jan 6 Panel One Last Report On Trumps
2022-12-23   2022-12-24 ics/jan-6-committee-report-legacy.html       Role                                       By Luke Broadwater                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/us/polit Despite New Details Panels Report Leaves
                        ics/jan-6-report-hutchinson-trump-ornato-    Questions About What Happened in Trumps
2022-12-23   2022-12-24 suv.html                                     SUV                                        By Maggie Haberman                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/us/polit US Plans to Send SatelliteGuided Bombs to
2022-12-23   2022-12-24 ics/ukraine-weapons-russia.html              Kyiv How Will They Affect the War          By John Ismay                     TX 9-270-555   2023-02-01



                                                                               Page 4663 of 5793
                        https://www.nytimes.com/2022/12/23/us/wint Thousands Without Power and Its Not Over By Julie Bosman Richard Fausset
2022-12-23   2022-12-24 er-storm-snow-power-outages-christmas.html Yet                                          and Jamie McGee                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/well/fa Just Part of Life Experiences With Egg       By Alisha Haridasani Gupta and
2022-12-23   2022-12-24 mily/egg-freezing-fertility.html             Freezing                                   Dani Blum                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/world/a In China Public Distrust Over Covid Death    By Keith Bradsher Amy Chang
2022-12-23   2022-12-24 sia/china-covid-death-toll.html              Toll                                       Chien and Joy Dong               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/world/a As Hope Fades for Missing Thai Sailors       By Muktita Suhartono and Yan
2022-12-23   2022-12-24 sia/thai-navy-ship-sinks.html                Safety of the Ship Falls Under Scrutiny    Zhuang                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/world/e Ukraine Spy Chief Says Threat of Invasion
2022-12-23   2022-12-24 urope/belarus-ukraine-invasion-threat.html   From Belarus Is Low                        By Andrew E Kramer               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/world/e
                        urope/christmas-markets-germany-             Lights Wine Sausage Germany Revives Its
2022-12-23   2022-12-24 economy.html                                 Christmas Markets                          By Christopher F Schuetze        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/world/e
                        urope/germany-democracy-thomas-              Thwarting German Foes That Rise From
2022-12-23   2022-12-24 haldenwang.html                              Within                                     By Katrin Bennhold               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/world/e A Gunman Kills At Least 3 People in Paris in
2022-12-23   2022-12-24 urope/paris-shooting-france.html             a Suspected Racist Attack                  By Aurelien Breeden              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/your- Big Spending Bill Would Bring Twists to
2022-12-23   2022-12-24 money/401k-roth-ira-new-rules.html           Roth IRAs and 401ks                        By Ron Lieber                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/world/
                        middleeast/christmas-tree-iqrit-palestinian- Lighting a Christmas Tree to Keep the
2022-12-24   2022-12-24 christians.html                              Memories of a Wrecked Village Alive        By Raja Abdulrahim               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
2022-12-24   2022-12-24 24/upshot/tom-brady-of-other-jobs.html       The Tom Brady of Other Jobs                By Francesca Paris               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/09/20/books/g Essay The Enduring Wisdom of Goodnight
2022-09-20   2022-12-25 oodnight-moon-margaret-wise-brown.html       Moon                                       By Elisabeth Egan                TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/09/21/books/r
2022-09-21   2022-12-25 eview/the-story-of-russia-orlando-figes.html The Myths That Made and Still Make Russia   By Gregory Feifer               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/10/12/books/l Literary Destinations Read Your Way
2022-10-12   2022-12-25 ondon-books-bernardine-evaristo.html         Through London                              By Bernardine Evaristo          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/19/books/r
2022-11-19   2022-12-25 eview/sevgi-soysal-dawn.html                 Dawn by Sevgi Soysa                         By Ayten Tartici                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/06/books/r
2022-12-06   2022-12-25 eview/of-ice-and-men-fred-hogge.html         Ice Ice Baby                                By Mark Kurlansky               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/realesta
2022-12-13   2022-12-25 te/seattle-house-renovation.html             Oh Just Ignore That Ancient Wiring          By Tim McKeough                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/style/ch
2022-12-13   2022-12-25 eap-trussardi-rome.html                      Fashionably Supporting a Good Cause         By Elisabetta Povoledo          TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/13/style/ny
2022-12-13   2022-12-25 u-students-party-at-beloved-barbershop.html Students Cut Loose at the Barbershop         By John Ortved                  TX 9-270-555   2023-02-01




                                                                                Page 4664 of 5793
                        https://www.nytimes.com/2022/12/14/theater/
2022-12-14   2022-12-25 eddie-izzard-great-expectations.html         Eddie Izzard Is All 19 Characters             By Laura CollinsHughes            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/books/r
                        eview/louise-penny-a-world-of-               Louise Penny Wrote a No 1 Best Seller
2022-12-15   2022-12-25 curiosities.html                             During Her Year Off                           By Elisabeth Egan                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/books/r
2022-12-15   2022-12-25 eview/tudors-in-love-sarah-gristwood.html    Courtship                                     By Tina Brown                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/t-
                        magazine/marie-anne-derville-andree-putman- Interiors A Delirium of Architecture in
2022-12-15   2022-12-25 paris-apartment.html                         Central Paris                                 By Ellie Pithers                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/books/r
                        eview/you-cant-kill-snow-white-beatrice-
2022-12-16   2022-12-25 alemagna.html                                Snow White Retold by the Queen                By Kelly Barnhill                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/books/r
                        eview/motherfield-poems-protest-diary-julia-
2022-12-17   2022-12-25 cimafiejeva.html                             Written in Barbed Wire                        By Jennifer Wilson                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/realesta
2022-12-19   2022-12-25 te/maxwell-frost-gen-z-rent-credit.html       Even This Gen Z Renter Is Frustrated         By Stephanie Lai and Anna Kod     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/realesta A Dancer Finally Found a Little Corner of His
2022-12-19   2022-12-25 te/renters-bronx-queens.html                 Own                                           By DW Gibson                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/style/ou
2022-12-19   2022-12-25 tfitumentary-k8-hardy-screening.html         What She Wore That Day And the Next           By Sophie Haigney                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/style/tit
2022-12-19   2022-12-25 anic-memes-1997-anniversary.html             Titanic and Its Unsinkable Memes              By Callie Holtermann              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/arts/tele
2022-12-20   2022-12-25 vision/chelsea-handler-revolution.html       Chelsea Handler Likes Skiing and Siblings     By Chris Kornelis                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/magazi                                                  By Nathaniel Rich and Stacy
2022-12-20   2022-12-25 ne/charlene-richard-cajun-saint.html         Charlenes Miracles                            Kranitz                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/magazi
2022-12-20   2022-12-25 ne/dream-journal-recommendation.html         DreamJournaling                               By Marie Solis                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/magazi Someone Lonely Considers Me a Friend
2022-12-20   2022-12-25 ne/friends-ethics.html                       Should I Stay In His Life                     By Kwame Anthony Appiah           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/magazi
2022-12-20   2022-12-25 ne/tiktok-us-china-diplomacy.html            How TikTok Became a Diplomatic Crisis         By Alex W Palmer                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/opinion Was the World Collapsing or Were You Just
2022-12-20   2022-12-25 /2022-america-debates.html                   Freaking Out                                  By Katherine Miller               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/opinion                                                 By Ryan D Doerfler and Samuel
2022-12-20   2022-12-25 /supreme-court-liberal-dissent.html          A Plea to the Liberals on the Supreme Court Moyn                                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/realesta
                        te/why-the-queen-of-christmas-refuses-to-
2022-12-20   2022-12-25 leave-battery-park-city.html                 In Battery Park City With a Song in Her Heart By Joanne Kaufman                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/arts/mu
2022-12-21   2022-12-25 sic/christmas-dollywood-dolly-parton.html    Celebrating Christmastime At Dollywood        By Melena Ryzik and Stacy Kranitz TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/busines
2022-12-21   2022-12-25 s/jenna-bush-hager-book-club.html            Jenna Bush Hager Is Making a List             By Matt Flegenheimer              TX 9-270-555   2023-02-01



                                                                                 Page 4665 of 5793
                        https://www.nytimes.com/2022/12/21/magazi
2022-12-21   2022-12-25 ne/civil-war-jan-6.html                     The Irrepressible Conflict                    By David W Blight and Maxomatic TX 9-270-555   2023-02-01
                                                                    Open It For a holiday party theres a cheesy
                        https://www.nytimes.com/2022/12/21/magazi savory surprise inside this butternut squash
2022-12-21   2022-12-25 ne/savory-pie-party-recipe.html             and chard pie                                 By Yotam Ottolenghi            TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/21/magazi
2022-12-21   2022-12-25 ne/white-paper-protests-censorship.html     White Noise                                   By Jody Rosen                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/21/movies/
                        women-talking-claire-foy-rooney-mara-sarah-
2022-12-21   2022-12-25 polley.html                                 Grappling With Harrowing Choices              By Nicole Sperling             TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/21/realesta 18 Million Homes in Florida Tennessee and
2022-12-21   2022-12-25 te/homes-florida-tennessee-new-mexico.html New Mexico                                   By Angela Serratore              TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/21/realesta
2022-12-21   2022-12-25 te/little-falls-new-jersey.html              LowKey Suburb HighEnd Neighbor             By Jill P Capuzzo                TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/21/style/ho
2022-12-21   2022-12-25 lidays-family-dynamics.html                  Prejudiced Mother                          By Philip Galanes                TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/21/technol Class Is in Session Turn Your Attention to
2022-12-21   2022-12-25 ogy/tiktok-influencer-classes.html           TikTok                                     By Kalley Huang                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/21/us/fran Frank Salemme 89 Boss of the New England
2022-12-21   2022-12-25 k-salemme-dead.html                          Mafia                                      By Clay Risen                    TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/21/opinion
2022-12-22   2022-12-25 /america-religion-christianity.html          The Americanization of Religion            By Ross Douthat                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/21/opinion What Growing Up on a Farm Taught Me
2022-12-22   2022-12-25 /farm-meat-butchering.html                   About Humility                             By Sarah Smarsh                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/arts/mu
2022-12-22   2022-12-25 sic/bad-bunny-rosalia-latin-pop.html         Another Year Of Innovation For Latin Pop By Jon Pareles                     TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/arts/tele
2022-12-22   2022-12-25 vision/dick-cavett-groucho-marx-pbs.html     When Dick Cavett Met Groucho Marx          By Chris Vognar                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/busines
2022-12-22   2022-12-25 s/retirement-roboadvisers-investing.html     Need a Hand to Hold When Markets Tumble By Martha C White                   TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/fashion Helpful Tips to Avoid Making a Wedding
2022-12-22   2022-12-25 /weddings/wedding-etiquette.html             Faux Pas                                   By Sarah Lyon                    TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/magazi
                        ne/judge-john-hodgman-controversial-
2022-12-22   2022-12-25 christmas-gifts.html                         Bonus Advice From Judge John Hodgman       By John Hodgman                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/magazi                                               By Esther G Belin and Victoria
2022-12-22   2022-12-25 ne/poem-dootlizh.html                        Poem                                       Chang                            TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/needies
                        t-cases/helping-a-family-carry-on-after-a-   Helping After Childs Abilities Just Turned
2022-12-22   2022-12-25 childs-abilities-just-turned-off.html        Off                                        By John Otis                     TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/opinion
2022-12-22   2022-12-25 /candy-america-children.html                 Lost in Candyland                          By Megan K Stack                 TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/22/realesta
2022-12-22   2022-12-25 te/home-buying-income-interest-rates.html    Match Your City to Your Paycheck           By Michael Kolomatsky            TX 9-270-555    2023-02-01



                                                                                  Page 4666 of 5793
                        https://www.nytimes.com/2022/12/22/world/e To Save an Ancient Italian Ruin Send In the
2022-12-22   2022-12-25 urope/pompeii-sheep-mount-vesuvius.html          Sheep                                   By Jason Horowitz               TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/23/arts/des
                        ign/frapotel-weil-architecture-perrault-lauriot-
2022-12-23   2022-12-25 prevost.html                                     French Masterpiece Lost and Found       By Joseph Giovannini            TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/23/arts/mi Mimi Kilgore Heiress and Arts Patron Who
2022-12-23   2022-12-25 mi-kilgore-dead.html                             Inspired de Kooning Dies at 87          By Alex Williams                TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/23/arts/mu
2022-12-23   2022-12-25 sic/comic-opera-company-united-states.html America Needs a Comic Opera Company            By Seth Colter Walls             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/arts/mu Tshala Muana 64 Congolese Singer With
2022-12-23   2022-12-25 sic/tshala-muana-dead.html                    Messages                                    By Jon Pareles                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/busines Human Artists Take on Their New Robot          By Julia Rothman and Shaina
2022-12-23   2022-12-25 s/ai-generated-illustration.html              Competition                                 Feinberg                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/nyregio
2022-12-23   2022-12-25 n/7-things-new-yorkers.html                   Spotted Signs of a Groove Regained          By Ginia Bellafante              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/nyregio Holiday Spirits Start to Flow Early Around     By Dodai Stewart and Photographs
2022-12-23   2022-12-25 n/nyc-banger-before-christmas.html            Here                                        by Calla Kessler                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/opinion
                        /donald-trump-criminal-referral-
2022-12-23   2022-12-25 insurrection.html                             Donald Trump Is Now Forever Disgraced       By Brenda Wineapple              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/realesta
2022-12-23   2022-12-25 te/luxury-candles-favorite-scent.html         Why Is There a Candle for Everything        By Anna Kod                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/sports/s
2022-12-23   2022-12-25 ailing/sydney-hobart-navigators.html          A dream to win formidable to navigate       By David Schmidt                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/style/ch
                        armaine-gomez-joseph-contreras-               Couples Loss Firms a Bond Established by
2022-12-23   2022-12-25 wedding.html                                  Mothers                                     By Jenny Block                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/style/de
2022-12-23   2022-12-25 nise-pinto-brad-stensrude-wedding.html        An Inspirational Tour Leads to a Resolution By Rosalie R Radomsky            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/style/ja
                        cquelyn-drozdow-matthew-comite-               From Kickball to Taking the Next Step
2022-12-23   2022-12-25 wedding.html                                  Together                                    By Ivy Manners                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/style/la
                        uren-lolo-spencer-sex-lives-of-college-
2022-12-23   2022-12-25 girls.html                                    A SexPositive Spin On How She Rolls         By Sarah Bahr                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/style/m
                        odern-love-when-a-doorbells-ring-brings-light
2022-12-23   2022-12-25 and-hope.html                                 Sometimes a Doorbells Ring Can Mean Hope By Charlotte Maya                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/style/tw
2022-12-23   2022-12-25 itter-elon-musk-sasha-solomon.html            She Went After Twitter on Twitter           By Katherine Rosman              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/style/va
2022-12-23   2022-12-25 nessa-zoltan-peter-mueller-wedding.html       Winning Her Over With a Helmet and a Hug By Alix Wall                        TX 9-270-555   2023-02-01




                                                                                Page 4667 of 5793
                        https://www.nytimes.com/2022/12/23/technol
2022-12-23   2022-12-25 ogy/beaming-buggie-baby-toy.html            The Disappearing Act of a Magical Baby Toy By Kashmir Hill                TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/23/us/henr
                        y-berg-brousseau-transgender-activist-      Lawmaker Addresses Transgender Sons
2022-12-23   2022-12-25 dead.html                                   Suicide                                    By Remy Tumin                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/23/arts/mu Thom Bell 79 Is Dead A Driving Force
2022-12-24   2022-12-25 sic/thom-bell-dead.html                     Behind Philadelphia Soul Sound             By Bill FriskicsWarren         TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/23/sports/h
                        ockey/ovechkin-goals-record-howe-           With 802nd Goal of His Career Ovechkin
2022-12-24   2022-12-25 gretzky.html                                Passes Howe                                By Victor Mather               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/24/busines How SportsBetting Apps Got This Nonfan
2022-12-24   2022-12-25 s/sports-betting-apps.html                  Hooked                                     By Rebecca R Ruiz              TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/24/nyregio
2022-12-24   2022-12-25 n/nicholas-lowry-antiques-roadshow.html     Finding Happiness at the Flea Market       By Rachel Felder               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/24/nyregio Republicans Make Gains On New York City
2022-12-24   2022-12-25 n/republican-ny-city-council.html           Council                                    By Jeffery C Mays              TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/24/nyregio
2022-12-24   2022-12-25 n/st-nicholas-greek-orthodox-sept-11.html   A Humble Sanctuary Reborn in Grandeur      By Jane Margolies              TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/24/opinion
2022-12-24   2022-12-25 /a-christmas-conversation-about-christ.html A Christmas Conversation About Christ      By Nicholas Kristof             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/opinion How Americans Can Stand Against
2022-12-24   2022-12-25 /anti-trans-violence.html                   Extremism                                  By The Editorial Board          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/opinion How Would You Prove That God Performed
2022-12-24   2022-12-25 /miracles-neuroscience-proof.html           a Miracle                                  By Molly Worthen                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/opinion
2022-12-24   2022-12-25 /why-dickens-haunts-us.html                 Why Dickens Haunts Us                      By Maureen Dowd                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/realesta What Can I Do About Neighbors Who Wont
2022-12-24   2022-12-25 te/dog-laws-nyc.html                        Leash Their Dogs                           By Ronda Kaysen                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/sports/b Annual Christmas Showcase Offers 13 Hours
2022-12-24   2022-12-25 asketball/nba-christmas-day-games.html      of Stars                                   By Shauntel Lowe                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/sports/f
2022-12-24   2022-12-25 ootball/nfl-week-16-scores.html             What We Learned This Week                  By Derrik Klassen               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/sports/k After a Debilitating Illness Ready for His
2022-12-24   2022-12-25 ris-wilkes-basketball-draft-ucla.html       Chance                                     By David Gardner                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/style/th
2022-12-24   2022-12-25 e-shooter-drops-by-for-dinner.html          My Dinner Guest Leaves Them All Talking By Joyce Wadler                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/style/wi
2022-12-24   2022-12-25 lliam-strobeck-supreme.html                 Personalities Revealed in Midair           By Jonathan Smith               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/us/here
                        s-what-you-need-to-know-about-the-arctic- Vast Winter Storm Leaves Over a Dozen        By Michael D Regan Kimiko de
2022-12-24   2022-12-25 storm.html                                  Dead and Many With No Power                FreytasTamura and Jenna Russell TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/us/polit Slice of Voters Averted Threats To Fair    By Charles Homans Jazmine Ulloa
2022-12-24   2022-12-25 ics/democracy-voters-elections-2022.html    Elections                                  and Blake Hounshell             TX 9-270-555   2023-02-01




                                                                                Page 4668 of 5793
                        https://www.nytimes.com/2022/12/24/us/polit HighTech Strategy to Prevent Overdoses
2022-12-24   2022-12-25 ics/fentanyl-drug-testing.html              Tests Drugs Not Users                          By Noah Weiland                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/us/polit
2022-12-24   2022-12-25 ics/holiday-political-family-summits.html   For Politicians Its the Season To Decide on 24 By Trip Gabriel                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/us/polit Arizona Judge Rejects Bid By Lake to           By Alexandra Berzon and Charles
2022-12-24   2022-12-25 ics/kari-lake-election-trial-arizona.html   Overturn Loss                                  Homans                            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/world/a
                        frica/central-african-republic-russia-      Putin Wants Loyalty and Hes Found It in        By Roger Cohen and Mauricio
2022-12-24   2022-12-25 wagner.html                                 Africa                                         Lima                              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/world/a Many Dead After Truck Explodes In
2022-12-24   2022-12-25 frica/johannesburg-tanker-explosion.html    Overpass                                       By John Eligon                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/world/a Lonely Single and Over 50 In China These
2022-12-24   2022-12-25 sia/china-older-dating-shows.html           Are the New Stars of Reality TV                By Vivian Wang and Joy Dong       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/world/a                                                 By Christina Goldbaum Safiullah
2022-12-24   2022-12-25 sia/taliban-women-ngos-afghanistan.html     Taliban Bar Women From Aid Groups              Padshah and Najim Rahim           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/world/c
                        anada/canada-indigenous-populations-        Unfit Drinking Water Plagues Indigenous
2022-12-24   2022-12-25 drinking-water.html                         People in Canada                               By Vjosa Isai and Amber Bracken   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/world/c Thousands Lose Power After Storm Hits           By Russell Goldman and Euan
2022-12-24   2022-12-25 anada/canada-weather.html                   Canada                                         Ward                              TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/24/world/e
2022-12-24   2022-12-25 urope/russia-kherson-ukraine-shelling.html   At Least 10 Are Killed In Kherson Shelling By Cassandra Vinograd                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
2022-12-24   2022-12-25 24/sports/baseball/mlb-trivia-quiz.html      The 2022 Baseball Trivia Extravaganza        By Tyler Kepner                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/busines
                        s/the-week-in-business-who-comes-after-elon- The Week in Business Who Comes After
2022-12-25   2022-12-25 musk.html                                    Elon Musk                                    By Lora Kelley                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/crossw
2022-12-25   2022-12-25 ords/daily-puzzle-2022-12-26.html            Monday Puzzles Are Made With Restraint       By Deb Amlen                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/insider/
2022-12-25   2022-12-25 bill-sokol-times-illustrator.html            The Joy of Illustration                      By David W Dunlap                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/insider/ Welcome to The Times Did You Sign the
2022-12-25   2022-12-25 the-new-york-times-guest-books.html          Book                                         By Emmett Lindner                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/nyregio
2022-12-25   2022-12-25 n/agnes-lee-metropolitan-diary.html          One Chapter in the City Comes to an End      By Agnes Lee                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/nyregio
2022-12-25   2022-12-25 n/best-of-metropolitan-diary.html            Tales That Touch Fans Around the World       By Ed Shanahan                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/us/polic
2022-12-25   2022-12-25 e-officer-recruits.html                      Police Deploy New Strategies To Refill Ranks By Mitch Smith                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/world/e
2022-12-25   2022-12-25 urope/ukraine-war-christmas-spirit.html      Christmas Lights Defy The Darkness of War By Maria Varenikova                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/14/busines
                        s/leather-fake-mycelium-mushrooms-           StartUp Company Is Turning Mushrooms Into
2022-12-14   2022-12-26 fashion.html                                 the Future of Alternative Leather            By Ellen Rosen                     TX 9-270-555   2023-02-01



                                                                                 Page 4669 of 5793
                        https://www.nytimes.com/2022/12/20/movies/
2022-12-20   2022-12-26 jim-parsons-spoiler-alert.html              Jim Parsons Takes the Lead                  By Juan A Ramrez                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/sports/f
                        ootball/jalen-hurts-philadelphia-eagles-
2022-12-20   2022-12-26 mvp.html                                    Born for the Storm                          By Jer Longman                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/arts/dan
                        ce/george-balanchines-nutcracker-city-
2022-12-21   2022-12-26 ballet.html                                 Reinventing Sugarplums and Angels           By Gia Kourlas                      TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/21/arts/tele Sonya Eddy 55 a Fan Favorite on General
2022-12-21   2022-12-26 vision/sonya-eddy-general-hospital-dead.html Hospital                                    By Johnny Diaz                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/technol New Chatbot Is a Code Red For Googles
2022-12-21   2022-12-26 ogy/ai-chatgpt-google-search.html            Search Business                             By Nico Grant and Cade Metz        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/opinion
2022-12-22   2022-12-26 /george-santos-oppo-research-dccc.html       How Opposition Research Really Works        By Tyson Brody                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/busines Shutdown of a Jeep Plant Imperils an Illinois By Neal E Boudette and Robert
2022-12-23   2022-12-26 s/jeep-factory.html                          Town                                        Chiarito                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/movies/
2022-12-23   2022-12-26 glass-onion-knives-out-cameos.html           With Little Time Left Glass Onion Cameos By Dave Itzkoff                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/opinion
2022-12-23   2022-12-26 /musk-is-hurting-tesla-brand.html            Many of the Best Electric Cars Arent Teslas By Farhad Manjoo                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/sports/s
2022-12-23   2022-12-26 ailing/sydney-hobart-crew-sleep.html         But how do the sailors sleep                By Kimball Livingston              TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/23/sports/s
2022-12-23   2022-12-26 ailing/sydney-hobart-race-female-crew.html Two women and a boat                          By John Clarke                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/sports/s Here Are the Sports Moments We Cant Wait
2022-12-23   2022-12-26 ports-moments-2023.html                     to See in 2023                               By The New York Times              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/travel/n Putting Nature First While Traveling the
                        ature-positive-tourism-world-travel-and-    World and Leaving a Positive Footprint While
2022-12-23   2022-12-26 tourism-council.html                        Doing It                                     By Elaine Glusac                   TX 9-270-555   2023-02-01
                                                                                                                 By Andrew Ross Sorkin Ravi
                                                                                                                 Mattu Bernhard Warner Sarah
                                                                                                                 Kessler Stephen Gandel Michael J
                        https://www.nytimes.com/2022/12/24/busines 6 Good Reasons 2022 Gives Us Hope for         de la Merced Lauren Hirsch and
2022-12-24   2022-12-26 s/dealbook/optimisim-in-2023.html           2023                                         Ephrat Livni                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/busines Music Fans Hear Siren Song For Taking on a
2022-12-24   2022-12-26 s/taylor-swift-tour-capital-one.html        Credit Card                                  By Isabella Simonetti              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/arts/ma Maya RuizPicasso Painted by Father As
2022-12-25   2022-12-26 ya-ruiz-dead.html                           Young Witness to World Dies at 87            By Neil Genzlinger                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/arts/mu Terry Hall 63 His Weary Rage Stoked a Ska
2022-12-25   2022-12-26 sic/terry-hall-dead.html                    Revival                                      By Alex Williams                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/nyregio Stranded Snowed In And Saved by Angels By Sarah Maslin Nir and Michael
2022-12-25   2022-12-26 n/buffalo-winter-storm.html                 As Upstate Freezes Over                      D Regan                            TX 9-270-555   2023-02-01




                                                                                Page 4670 of 5793
                        https://www.nytimes.com/2022/12/25/opinion
2022-12-25   2022-12-26 /christmas-gay-pride.html                   My Christmas Gift to Myself Pride           By Charles M Blow                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/opinion This Year Was the Beginning of a Green
2022-12-25   2022-12-26 /gas-prices-crisis-climate-change.html      Transition                                  By Leah C Stokes                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/sports/g Kathy Whitworth Golfer With Record for
2022-12-25   2022-12-26 olf/kathy-whitworth-dead.html               Victories In the US Is Dead at 83           By Richard Goldstein              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/sports/n
                        caabasketball/st-peters-shaheen-holloway-   A Stunning Run From St Peters Then an
2022-12-25   2022-12-26 seton-hall.html                             Exodus                                      By Adam Zagoria                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/us/polit
                        ics/migrants-kamala-harris-christmas-       Buses Carrying Migrants From Texas Arrive
2022-12-25   2022-12-26 eve.html                                    at Harriss Home on Christmas Eve            By Stephanie Lai                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/us/readi
2022-12-25   2022-12-26 ng-literacy-memphis-tennessee.html          Literacy Low Phonics Goes To High School    By Sarah Mervosh                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/world/a Covid Is Spreading Quickly In China Signs
2022-12-25   2022-12-26 sia/covid-spreading-china.html              Suggest                                     By Chang Che                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/world/a
2022-12-25   2022-12-26 sia/rohingya-refugees-boat.html             UN Fears 180 Rohingya Refugees Dead         By Mujib Mashal and Saif Hasnat   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/world/c Alberta Law Deepens Schism Over
2022-12-25   2022-12-26 anada/canada-alberta-danielle-smith.html    Sovereignty in Canada                       By Ian Austen                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/world/e In Christmas Address Charles Shows Signs
2022-12-25   2022-12-26 urope/king-charles-christmas.html           Of More Inclusive Style                     By Mark Landler                   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/25/world/e
2022-12-25   2022-12-26 urope/pope-francis-christmas-message.html Pope Bemoans Grave Famine of Peace            By Jason Horowitz                 TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/25/world/e Low to the Ground but Mighty Britains Most
2022-12-25   2022-12-26 urope/rail-bridge-crashes-stonea-england.html Bashed Bridge                           By Stephen Castle                   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/25/world/e The Citizen Spies Who Ruined Putins Grand
2022-12-25   2022-12-26 urope/ukraine-kherson-defiance-russia.html Plan for Kherson                             By Jeffrey Gettleman              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/world/e Putin Open to Talks He Insists as Sirens     By Andrew E Kramer and Anton
2022-12-25   2022-12-26 urope/ukraine-russia-war.html                Sound Across Ukraine                       Troianovski                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/arts/tele
2022-12-26   2022-12-26 vision/tv-this-week.html                     This Week on TV                            By Gabe Cohn                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/nyregio A Bronx Priest Left a Towering Legacy 7
2022-12-26   2022-12-26 n/louis-gigante-bronx-nyc-priest-son.html    Million and a Son                          By Michael Wilson                 TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/26/nyregio Casinos Seeking New Footholds Are            By Nicole Hong Mable Chan and
2022-12-26   2022-12-26 n/nyc-casino-asian-immigrant-gamblers.html Counting on Asian Gamblers                   Janice Chung                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/us/polit Democrats Plan to go on Offense on Voting
2022-12-26   2022-12-26 ics/democrats-voting-rights.html            Rights                                      By Reid J Epstein                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/us/polit Bidens Nominee to Lead FAA Draws
                        ics/phil-washington-faa-senate-             Scrutiny and Faces a Murky Road to
2022-12-26   2022-12-26 confirmation.html                           Confirmation                                By Mark Walker                    TX 9-270-555   2023-02-01



                                                                                Page 4671 of 5793
                        https://www.nytimes.com/2022/12/08/science
2022-12-08   2022-12-27 /vagina-chip-bacterial-vaginosis.html      A Silicone Boost For Womens Health           By Azeen Ghorayshi                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/13/well/co
2022-12-13   2022-12-27 vid-flu-rsv-masks-tripledemic.html         Experts Say Its Time To Wear Masks Again     By Dana G Smith                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/15/well/m
2022-12-15   2022-12-27 ove/stretching-exercise-workout.html       Just How Important Is Stretching Really      By Hannah Seo                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/17/well/co                                              By Catherine Pearson and Knvul
2022-12-17   2022-12-27 vid-flu-rsv-medicine.html                  Essentials for Cold and Flu Season           Sheikh                            TX 9-270-555   2023-02-01

                                                                    Ive heard that eating too much meat in one
                        https://www.nytimes.com/2022/12/20/well/eat sitting can cause you to break out in a sweat
2022-12-20   2022-12-27 /meat-sweats.html                           called the meat sweats Is this a real thing   By Melinda Wenner Moyer         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/opinion My City Has a New Strategy to Reduce Gun
2022-12-21   2022-12-27 /guns-violence-prevention.html              Deaths                                        By Sam Liccardo                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/well/m A Winter Workout to Take You Someplace
2022-12-21   2022-12-27 ove/winter-workout-snowshoeing.html         Stunning                                      By Amanda Loudin                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/movies/ Intimate Portraits of Life Death and
2022-12-22   2022-12-27 documentaries-streaming.html                Resilience                                    By Ben Kenigsberg               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/movies/ Mike Hodges 90 Director Acclaimed For Get
2022-12-22   2022-12-27 mike-hodges-dead.html                       Carter a Visceral Crime Film                  By Neil Genzlinger              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/arts/des
                        ign/museums-children-holocaust-
2022-12-23   2022-12-27 terrorism.html                              In Anguished Histories Reasons for Hope       By Joseph Berger                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/arts/rya
                        n-coogler-black-panther-wakanda-
2022-12-23   2022-12-27 forever.html                                The Journey To Wakanda Took a Turn            By Reggie Ugwu                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/busines
2022-12-23   2022-12-27 s/france-jobs.html                          Macron Tries to Get France to Work            By Liz Alderman                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/movies/
2022-12-23   2022-12-27 babylon-margot-robbie.html                  Her Hair Goes Long As Others Went Short By Esther Zuckerman                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/science                                                By William J Broad and George
2022-12-23   2022-12-27 /cathedral-st-john-divine-nyc.html          Clues From Beneath The Crypt                  Etheredge                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/insider/
                        snow-fall-at-10-how-it-changed-             10 Years Later Tracks of Snow Fall
2022-12-24   2022-12-27 journalism.html                             Everywhere                                    By Sarah Bahr                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/dining/ Don Christopher Who Spread Gospel of
2022-12-24   2022-12-27 don-christopher-dead.html                   Garlic in US Dies at 88                       By Clay Risen                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/opinion This Was the Year Everything Changed in
2022-12-24   2022-12-27 /germany-scholz-zeitenwende.html            Germany                                       By Anna Sauerbrey               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/world/c 4 Are Killed And Dozens Are Injured In Bus
2022-12-25   2022-12-27 anada/british-columbia-bus-crash.html       Crash                                         By Christopher Mele             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/arts/mu
                        sic/metropolitan-opera-endowment-           Met Will Tap Into Endowment in a Bid to
2022-12-26   2022-12-27 contemporary.html                           Woo Back Opera Fans                           By Javier C Hernndez            TX 9-270-555   2023-02-01




                                                                                Page 4672 of 5793
                        https://www.nytimes.com/2022/12/26/arts/tele
                        vision/kindred-branden-jacobs-jenkins-
2022-12-26   2022-12-27 octavia-butler.html                          Expanding The World Of Kindred             By Salamishah Tillet            TX 9-270-555   2023-02-01
                                                                     In the Bahamas Sympathy Lingers for
                        https://www.nytimes.com/2022/12/26/busines BankmanFried Who Donated Millions to
2022-12-26   2022-12-27 s/sam-bankman-fried-bahamas.html             Local Entities                             By Rob Copeland                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/health/i They Held the Hands When No One Else        By Isadora Kosofsky and Andrew
2022-12-26   2022-12-27 cu-nurse-pandemic.html                       Could                                      Jacobs                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/nyregio At Least 28 Die as Storm Batters the Buffalo By Michael D Regan Michael Gold
2022-12-26   2022-12-27 n/blizzard-storm-snow-deaths.html            Area                                       and Mihir Zaveri                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/nyregio                                              By Michael Gold and Grace
2022-12-26   2022-12-27 n/george-santos-interview.html               Santos Admits To a Long List Of Falsehoods Ashford                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/opinion
2022-12-26   2022-12-27 /neediest-cases-foster-housing.html          A Bricklayer Rebuilds His Life             By The Editorial Board          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/sports/o
                        lympics/kaillie-humphries-bobsled-           Finding Safe Place With US A Bobsledder
2022-12-26   2022-12-27 monobob.html                                 Looks Beyond Gold                          By Jonathan Abrams              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/sports/
2022-12-26   2022-12-27 women-motorsports-f1-indycar-nascar.html A Trail Is Blazed but Few Have Followed        By Gregory Leporati             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/us/club- Two Siblings Shot at Club Q Embrace
2022-12-26   2022-12-27 q-shooting-survivors.html                    Holiday for Healing                        By Jack Healy                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/us/covi
2022-12-26   2022-12-27 d-masks-risk.html                            For Holdouts In Masks Life Turns Lonelier By Amy Harmon                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/us/fligh Thousands of Canceled Flights Add to        By Amy Qin Nicholas
2022-12-26   2022-12-27 ts-canceled-holiday-travel.html              Holiday Travel Nightmares                  BogelBurroughs and Steve Lohr   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/us/polit One of the Senates Last Big Spenders Cedes By Catie Edmondson and Carl
2022-12-26   2022-12-27 ics/richard-shelby-alabama-spending.html     the Pork Barrel                            Hulse                           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/world/a Ice Nets Buoys Price Just Adds Up and Up for
2022-12-26   2022-12-27 frica/sierra-leone-fishermen.html            Fishermen                                  By Elian Peltier                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/world/a A Ban on Female Staff Risks Afghan Aid
2022-12-26   2022-12-27 sia/afghanistan-taliban-women-aid.html       Work                                       By Isabella Kwai                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/world/a
2022-12-26   2022-12-27 sia/china-covid-quarantine-travelers.html    China to End Quarantine For Visitors       By Vivian Wang                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/world/a                                              By Amy Chang Chien and Chang
2022-12-26   2022-12-27 sia/china-taiwan-jets.html                   Swarm of Chinese Aircraft Buzzes Taiwan    Che                             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/world/a Nepals Revolving Door Produces New
2022-12-26   2022-12-27 sia/nepal-election-prime-minister.html       Leader But Little Real Change              By Bhadra Sharma                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/world/a South Korea Fires Warning Shots As Norths
2022-12-26   2022-12-27 sia/north-korea-drones.html                  Drones Breach Border                       By Choe SangHun                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/world/e
                        urope/nordstream-pipeline-explosion-         A Pipeline Mystery in the Baltic With a    By Rebecca R Ruiz and Justin
2022-12-26   2022-12-27 russia.html                                  Seabed Ripe for Sabotage                   Scheck                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/world/e
2022-12-26   2022-12-27 urope/paris-shooting-kurds.html              Man Charged With Murdering Kurds in Paris By Constant Mheut                TX 9-270-555   2023-02-01




                                                                              Page 4673 of 5793
                        https://www.nytimes.com/2022/12/26/world/e Using Drones Ukraine Takes the Fight to
2022-12-26   2022-12-27 urope/russia-drone-attack-ukraine.html       Russia                                       By Andrew E Kramer                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/busines
2022-12-27   2022-12-27 s/economy/biden-labor-unions.html            Is President As ProUnion As Claimed          By Noam Scheiber                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/busines
                        s/economy/labor-shortage-retirees-           US Work Force Is Feeling Strain Of Retiree By Jeanna Smialek and Ben
2022-12-27   2022-12-27 boomers.html                                 Surge                                        Casselman                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/busines Finding Creative Ways To Exploit Vacant
2022-12-27   2022-12-27 s/office-space-glut-reuse.html               Space                                        By Patrick Sisson                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/busines
                        s/what-would-it-take-to-turn-more-offices-
2022-12-27   2022-12-27 into-housing.html                            Turning Empty Offices Into Potential Housing By Emma Goldberg                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/health/
2022-12-27   2022-12-27 pandemic-prevention-preparedness.html        Six Epidemics That Werent                    By Stephanie Nolen                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/science
2022-12-27   2022-12-27 /astronomy-webb-telescope.html               For the Webb Telescope a Glorious Beginning By Dennis Overbye                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/technol                                                By Kashmir Hill John Ismay
                        ogy/for-sale-on-ebay-a-military-database-of-                                              Christopher F Schuetze and Aaron
2022-12-27   2022-12-27 fingerprints-and-iris-scans.html             Surveillance By the US Sold on eBay          Krolik                             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/10/17/arts/des
2022-10-17   2022-12-28 ign/rosa-bonheur.html                        Rosa Bonheurs Animal Spirits                 By Elaine Sciolino                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/busines Quest for Clean Energy Pits Google vs
2022-12-20   2022-12-28 s/google-clean-energy.html                   Utilities                                    By Peter Eavis                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/arts/tele                                              By James Poniewozik Mike Hale
2022-12-21   2022-12-28 vision/best-tv-episodes-2022.html            Earthquakes Motorbikes and Unruly Teens      and Margaret Lyons                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/dining/
2022-12-21   2022-12-28 breakfast-strata-recipe.html                 This Breakfast Dish Forgives Your Night      By Melissa Clark                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/dining/r Check Please Then Lets Check Out The
2022-12-21   2022-12-28 estaurant-bathrooms.html                     Restroom                                     By Priya Krishna                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/dining/r
2022-12-21   2022-12-28 isotto-party.html                            With Friends Coming a Risotto Feast          By Eric Kim                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/dining/
2022-12-22   2022-12-28 california-veggie-sandwich.html              These Shoots Were Made for Eating            By Tejal Rao                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/arts/mu
2022-12-23   2022-12-28 sic/vienna-opera-safety-curtain.html         Enjoying contemporary art at the opera       By Farah Nayeri                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/arts/mu
2022-12-23   2022-12-28 sic/vienna-philharmonic-world-war-ii.html    Remembering and reflecting                   By Rebecca Schmid                  TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/23/arts/mu
2022-12-23   2022-12-28 sic/vienna-volksoper-threepenny-opera.html Changing roles in Vienna                      By David Belcher                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/dining/
                        drinks/champagne-sparking-wine-new-
2022-12-23   2022-12-28 years.html                                 Bubbles to Ring In the New Year               By Eric Asimov                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/movies/
2022-12-23   2022-12-28 babylon-cast-real-life-counterparts.html   A Guide to Babylon and Hollywood History      By Ben Kenigsberg                   TX 9-270-555   2023-02-01



                                                                                 Page 4674 of 5793
                        https://www.nytimes.com/2022/12/23/nyregio Stuart Namm 89 Judge Who Blew Whistle on
2022-12-23   2022-12-28 n/stuart-namm-dead.html                      Police                                     By Sam Roberts               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/us/polit Charlene Mitchell 92 Who Made Milestone
2022-12-23   2022-12-28 ics/charlene-mitchell-dead.html              Run for President Dies                     By Clay Risen                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/busines
2022-12-24   2022-12-28 s/britain-energy-crisis-responders.html      Turning Up the Heat Isnt an Option         By Eshe Nelson               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/arts/tele
2022-12-26   2022-12-28 vision/tv-shows-american-dream.html          Shaken Awake From the American Dream       By James Poniewozik          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/busines Crisis After Zero Covid Exposes a Failure to
2022-12-26   2022-12-28 s/china-covid-communist-party.html           Govern                                     By Li Yuan                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/opinion
                        /china-society-culture-youth-covid-          Younger Chinese Are Rejecting No Pain No
2022-12-26   2022-12-28 protests.html                                Gain MindSet                               By Jianan Qian               TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/26/opinion Before You Give to Charity Some Thorny
2022-12-26   2022-12-28 /philanthropy-charitable-giving-holiday.html Questions to Weigh                         By Peter Coy                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/arts/mu
                        sic/bernd-alois-zimmermann-
2022-12-27   2022-12-28 recomposed.html                              A Musical Modernists New Smiling Guise     By Seth Colter Walls         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/arts/mu
                        sic/pop-men-harry-styles-jack-harlow-bad-
2022-12-27   2022-12-28 bunny.html                                   Pop Idols No Longer Gotta Be Macho         By Lindsay Zoladz            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/books/a
2022-12-27   2022-12-28 rt-spiegelman-maus-breakdowns.html           Cartoonist Pushes On Amid the Maus Chaos   By Alexandra Alter           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/busines
                        s/dealbook/markets-stocks-prediction-year- The BullandBear Case for 2023 Looking for
2022-12-27   2022-12-28 ahead-2023.html                              Optimism in Gloom                          By Bernhard Warner           TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/27/busines Mickeys Copyright Adventure Public Will
2022-12-27   2022-12-28 s/mickey-mouse-disney-public-domain.html Soon Own Willie                              By Brooks Barnes               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/busines For Southwest a Meltdown With No Simple By Isabella Simonetti and Peter
2022-12-27   2022-12-28 s/southwest-flights-canceled-travel.html    Fix                                       Eavis                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/busines
2022-12-27   2022-12-28 s/water-development-west.html               No Water Developers Take On the Challenge By Keith Schneider             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/dining/f Oases of Quiet and Good Food Amid the
2022-12-27   2022-12-28 inding-that-cozy-feeling.html               Urban Din                                 By Nikita Richardson           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/dining/ To Mix Simple Cocktails Add to the
2022-12-27   2022-12-28 new-year-cocktail-gin.html                  Merriment                                 By Florence Fabricant          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/dining/
2022-12-27   2022-12-28 paris-brest-recipe-french-pastry.html       Superb French Pastry Fit for a Party      By Claire Saffitz              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/dining/r
2022-12-27   2022-12-28 estaurant-food-trends-2023.html             A Crystal Ball Into the Future of Food    By Kim Severson                TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/27/health/c Parents Often Bring Children to ERs to
2022-12-27   2022-12-28 hildren-emergency-room-mental-health.html Subdue Them a Study Reveals                   By Ellen Barry               TX 9-270-555   2023-02-01



                                                                                 Page 4675 of 5793
                        https://www.nytimes.com/2022/12/27/needies
                        t-cases/battered-by-natural-disasters-and-  Battered by Natural Disasters and Getting the
2022-12-27   2022-12-28 gaining-the-support-to-recover.html         Help to Recover                               By Christopher Mele             TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/27/nyregio
                        n/buffalo-western-new-york-winter-          Stranded in Cars and Buried In Snow           By Lola Fadulu Hurubie Meko and
2022-12-27   2022-12-28 storm.html                                  Blizzards Toll Rises                          Sarah Maslin Nir                TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/27/opinion
2022-12-27   2022-12-28 /holiday-discards.html                      The Afterlife of Your Holiday Discards        By Amy Hwang                    TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/27/sports/b Coach Leads the Nets From Chaos to
2022-12-27   2022-12-28 asketball/nba-nets-winning-streak.html      Contending                                    By Scott Cacciola               TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/27/sports/f
2022-12-27   2022-12-28 ootball/jj-watt-retiring.html               Watt Star For Decade Is Retiring              By Kris Rhim                    TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/27/sports/o Finding the Will To Go 127 Miles In the
2022-12-27   2022-12-28 z-pearlman-running-mentalist.html           August Heat                                   By Adam Skolnick                TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/27/sports/s Far From Qatar A Game Thrives In the          By Juan Jos Relmucao and Anita
2022-12-27   2022-12-28 occer/world-cup-argentina-street-soccer.html Barrios                                      Pouchard Serra                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/us/mich
                        igan-whtimer-governor-kidnapping-            Man Is Sentenced to 16 Years for Plotting to
2022-12-27   2022-12-28 sentencing.html                              Kidnap Governor of Michigan                  By Mitch Smith                   TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/27/us/polit Republican Leaders Are Silent on Future     By Luke Broadwater Catie
2022-12-27   2022-12-28 ics/george-santos-mccarthy-republicans.html Colleagues Lies                             Edmondson and Michael Gold         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/us/polit
                        ics/george-santos-republican-jewish-        Jewish Group In the GOP Says Santos
2022-12-27   2022-12-28 coalition.html                              Deceived Us                                 By Ken Bensinger                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/us/polit Justices Uphold Migrant Limits Driven by    By Adam Liptak Miriam Jordan
2022-12-27   2022-12-28 ics/title-42-border-supreme-court.html      Virus                                       and Eileen Sullivan                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/us/polit Treasury Outlines Broad Rules for New
2022-12-27   2022-12-28 ics/treasury-rules-corporate-taxes.html     Corporate Tax on Stock Buybacks             By Jim Tankersley                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/us/pow Vandals Attack 4 Substations In Washington
2022-12-27   2022-12-28 er-substation-attack-washington-state.html  Cutting Power                             By Livia AlbeckRipka               TX 9-270-555     2023-02-01
                                                                                                              By Robert Chiarito Nicholas
                        https://www.nytimes.com/2022/12/27/us/sout Southwests Chaos Continues to Doom         BogelBurroughs Clyde McGrady
2022-12-27   2022-12-28 hwest-cancellations-travel-stories.html    Holiday Plans                              and Soumya Karlamangla             TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/27/world/a Sudden Surge of Nicaraguans Adds to Crush By Alfonso Flores Bermdez and
2022-12-27   2022-12-28 mericas/nicaragua-us-migration.html        at US Border                               Frances Robles                     TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/27/world/a Chinas Hospitals In Tragic Battle As Covid
2022-12-27   2022-12-28 sia/china-covid-hospital-crisis.html       Spreads                                    By Isabelle Qian and David Pierson TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/27/world/a
                        sia/lee-myung-bak-south-korea-pardon-      President of South Korea Pardons a
2022-12-27   2022-12-28 president.html                             Predecessor                                By John Yoon                       TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/27/world/e Putin and Lukashenko Affirm Their Close    By Shashank Bengali and Ivan
2022-12-27   2022-12-28 urope/lukashenko-putin-ukraine.html        Ties                                       Nechepurenko                       TX 9-270-555     2023-02-01




                                                                                 Page 4676 of 5793
                        https://www.nytimes.com/2022/12/27/world/e Navalny Accuses Prison Officials of Pressure
2022-12-27   2022-12-28 urope/navalny-russia-prison.html           Tactics                                      By Ivan Nechepurenko               TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/27/world/e Russian City Mourns Dead but Supports the    By Valerie Hopkins and Nanna
2022-12-27   2022-12-28 urope/ryazan-russia-support-ukraine-war.html War                                        Heitmann                           TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/27/world/e Ukrainian Forces Battling to Regain Strategic By Andrew E Kramer Matthew
2022-12-27   2022-12-28 urope/ukraine-russia-kreminna-luhansk.html Gateway City in East                          Mpoke Bigg and Alan Yuhas         TX 9-270-555     2023-02-01
                        https://www.nytimes.com/article/george-    As Questions Persist Here Is What We Know
2022-12-27   2022-12-28 santos-republican-explainer.html           About Santoss Biography                       By Dana Rubinstein                TX 9-270-555     2023-02-01

                        https://www.nytimes.com/live/2022/12/27/wo
                        rld/russia-ukraine-news/putin-bans-oil-exports Putin Bans Oil Exports To Any Country
2022-12-27   2022-12-28 to-nations-that-agreed-to-a-western-price-cap Backing Wests Punitive Price Cap          By Carly Olson                     TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/27/us/polit ATF Moves to Eliminate Loophole on Ghost
2022-12-28   2022-12-28 ics/ghost-guns-atf-rule.html                   Guns                                     By Glenn Thrush                    TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/27/us/polit Transcripts Shed Light on Trumps Offer of   By Luke Broadwater Catie
2022-12-28   2022-12-28 ics/jan-6-transcripts-trump-pardons.html       Pardons                                  Edmondson and Stephanie Lai        TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/28/world/e 6 Feet Above the Famously Dead Nature Is
2022-12-28   2022-12-28 urope/paris-pere-lachaise-cemetery-.html       Stealing the Show                          By Constant Mheut                  TX 9-270-555   2023-02-01
                                                                                                                  By Marysa Greenawalt Laura
                        https://www.nytimes.com/2022/12/12/arts/bes                                               ONeill Jolie Ruben Elena Noel
2022-12-12   2022-12-29 t-arts-photos-2022.html                       Capturing Creativity                        Santos and Amanda Webster          TX 9-270-555   2023-02-01
                                                                                                                  By Elisabeth Vincentelli Erik
                        https://www.nytimes.com/2022/12/19/movies/ The Best Genre Movies of 2022 All Ready to Piepenburg Robert Daniels and
2022-12-19   2022-12-29 best-genre-movies-streaming.html              Stream                                      Devika Girish                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/interactive/2022/12/
                        19/arts/design/ukraine-cultural-heritage-war-                                             By Jason Farago Haley Willis Sarah
2022-12-20   2022-12-29 impacts.html                                  A Culture in the Cross Hairs                Kerr and Ainara Tiefenthler        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/arts/mu
2022-12-21   2022-12-29 sic/anna-lapwood-organist-tiktok.html         From the Royal Albert Hall to TikTok        By Alex Marshall                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/style/e
2022-12-21   2022-12-29 mily-in-paris-cast-lily-collins.html          Emily in Paris Stars On Stress Tresses      By Sarah Bahr                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/style/pe
2022-12-22   2022-12-29 rverted-book-club-erotica.html                Theyre Reading Erotica Everywhere           By Anna Kod                        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/world/a Xi Xi 85 Who Wrote Of Hong Kongs Limbo
2022-12-22   2022-12-29 sia/xi-xi-dead.html                           And Her Cancer Dies                         By Tiffany May                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/busines Alberto Zamperla 71 an Amusement Park
2022-12-23   2022-12-29 s/alberto-zamperla-dead.html                  Impresario                                  By Sam Roberts                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/24/us/west- West Point To Remove Confederate
2022-12-24   2022-12-29 point-confederate-symbols.html                Monuments                                   By Amanda Holpuch                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/25/busines
                        s/germanys-energy-crisis-is-a-cue-to-chop-                                                By Melissa Eddy and Valentin
2022-12-25   2022-12-29 wood-and-stock-up.html                        Energy Crisis Puts Germans in Survival Mode Goppel                             TX 9-270-555   2023-02-01




                                                                                 Page 4677 of 5793
                        https://www.nytimes.com/2022/12/25/style/w
2022-12-25   2022-12-29 hite-lotus-vacation.html                   Is It Time for a White Lotus Vacation           By Sandra E Garcia                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/opinion
                        /arizona-water-colorado-river-saudi-       Arizona Is Racing to Its Last Drop of
2022-12-26   2022-12-29 arabia.html                                Groundwater                                     By Natalie Koch                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/nyregio Guns Toll on New York Citys Children 149
2022-12-27   2022-12-29 n/new-york-teen-shootings.html             Shot                                            By Hurubie Meko                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/world/e
2022-12-27   2022-12-29 urope/pavel-antov-russia-dead-india.html   Another Russian Tycoon Dies in a Fall           By Anushka Patil and Suhasini Raj TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/28/busines 10 Months Into Job Southwest Chief Faces a By Peter Eavis and Isabella
2022-12-28   2022-12-29 s/economy/southwest-airlines-bob-jordan.html Giant Crisis                             Simonetti                              TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/28/busines
2022-12-28   2022-12-29 s/jeffrey-epstein-jpmorgan-virgin-islands.html JPMorgan Is Accused Of Helping Epstein      By Emily Flitter                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/nyregio                                                 By Michael Gold Ed Shanahan
                        n/george-santos-long-island-                   Santos Could Face Investigation by County   Brittany Kriegstein and Rebecca
2022-12-28   2022-12-29 investigation.html                             Prosecutor Over False Claims                Davis OBrien                      TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/28/nyregio Storm Victims Cousin Refugee Loyal
2022-12-28   2022-12-29 n/winter-storm-deaths-buffalo-new-york.html Daughter                                      By Lola Fadulu and Hurubie Meko TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/28/opinion                                                By Ezekiel J Emanuel and Matthew
2022-12-28   2022-12-29 /vaccination-childhood-disease.html          How States Can Bolster Vaccinations for Kids Guido                            TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/28/sports/b
                        asketball/luka-doncic-60-points-mavericks- 602110 Doncics TripleDouble Is a Singular
2022-12-28   2022-12-29 knicks.html                                  Feat                                         By Victor Mather                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/28/sports/b
                        asketball/rudy-gobert-minnesota-             Ignoring the Noise Gobert Tries to Find
2022-12-28   2022-12-29 timberwolves.html                            Harmony in Minnesota                         By Tania Ganguli                 TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/28/sports/t On the Court Barty Stood Out Now Shes
2022-12-28   2022-12-29 ennis/ashleigh-barty-retirement.html         Happy to Blend In                            By Christopher Clarey            TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/28/style/tal
2022-12-28   2022-12-29 l-boots-shopping-list.html                   A Perfect Cure for TallBoot Fever            By Marisa Meltzer                TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/28/travel/s                                               By Maria Cramer and Michael
2022-12-28   2022-12-29 outhwest-airlines-flight-cancellations.html  Hubless System At Root of Chaos              Levenson                         TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/28/us/barr Leader of Plot Against Governor Is Sentenced
2022-12-28   2022-12-29 y-croft-michigan-sentencing.html             to Nearly 20 Years                           By Mitch Smith                   TX 9-270-555     2023-02-01
                        https://www.nytimes.com/2022/12/28/us/elect
                        ions/oakland-mayor-sheng-thao-hmong-         New Oakland Mayor Signals Political Rise of
2022-12-28   2022-12-29 american.html                                Hmong Americans                              By Amy Qin                       TX 9-270-555     2023-02-01

                        https://www.nytimes.com/2022/12/28/us/polit                                                By Sheryl Gay Stolberg and
2022-12-28   2022-12-29 ics/covid-requirements-china-us-travel.html Travelers Out Of China Need Negative Test      Benjamin Mueller                  TX 9-270-555   2023-02-01




                                                                                  Page 4678 of 5793
                        https://www.nytimes.com/2022/12/28/us/polit Health Law Embraced To Handle
2022-12-28   2022-12-29 ics/covid-title-42-border-migrants-biden.html Immigration                                By Zolan KannoYoungs              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/us/polit Investigating Trump FBI Takes Pounding
2022-12-28   2022-12-29 ics/fbi-gop-attacks.html                      From GOPs Barrages                         By Adam Goldman and Alan Feuer TX 9-270-555      2023-02-01

                        https://www.nytimes.com/2022/12/28/us/polit Santos Lied About His Rsum Other
2022-12-28   2022-12-29 ics/george-santos-resume-lies-politicians.html Politicians Fudged Theirs Too            By Neil Vigdor                    TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/28/us/polit US Tries to Stop Iran From Giving Drones to By David E Sanger Julian E Barnes
2022-12-28   2022-12-29 ics/iran-drones-russia-ukraine.html            Russia                                   and Eric Schmitt                  TX 9-270-555    2023-02-01
                        https://www.nytimes.com/2022/12/28/us/polit Raskin to Receive Treatment For Curable
2022-12-28   2022-12-29 ics/jamie-raskin-cancer.html                   Form of Cancer                           By Luke Broadwater                TX 9-270-555    2023-02-01

                        https://www.nytimes.com/2022/12/28/us/polit Right and Further Right Fight To Helm the    By Jonathan Weisman and Ken
2022-12-28   2022-12-29 ics/ronna-mcdaniel-harmeet-dhillon-rnc.html Republican Party                             Bensinger                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/us/polit Lawmakers Signal Inquiries Into the Use of   By Mark Mazzetti and Ronen
2022-12-28   2022-12-29 ics/spyware-israel-dea-fbi.html             Foreign Spyware by US Agencies               Bergman                           TX 9-270-555   2023-02-01
                                                                                                                 By Robert Chiarito Nicholas
                        https://www.nytimes.com/2022/12/28/us/sout Still No Relief for Passengers Stranded by    BogelBurroughs Jill Cowan and
2022-12-28   2022-12-29 hwest-airlines-canceled-flights.html        Southwest                                    Daniel Victor                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/world/a
                        mericas/mexico-city-airbnb-remote-                                                       By David Shortell and Alejandro
2022-12-28   2022-12-29 workers.html                                Remote Workers Push Limits of Mexico City Cegarra                              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/world/a As China Slowly Reopens the World Is Both By Chang Che Claire Fu and Amy
2022-12-28   2022-12-29 sia/china-covid-travel-rules.html           Optimistic and Wary                          Chang Chien                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/world/a North Koreas Drones Cheaper Than
2022-12-28   2022-12-29 sia/north-korea-drones.html                 Warheads Rattle Nerves in the South          By Choe SangHun                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/world/e Danes May Drop Holiday To Fund Heftier
2022-12-28   2022-12-29 urope/denmark-great-prayer-day.html         Defense                                      By Jasmina Nielsen                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/world/e
2022-12-28   2022-12-29 urope/pope-benedict-francis.html            With Benedict Very Ill Pope Asks for Prayers By Elisabetta Povoledo            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/world/e Hopes for Talks Dim in Ukraine As Sides Dig
2022-12-28   2022-12-29 urope/ukraine-russia-peace-talks.html       In                                           By Shashank Bengali               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/world/ Authorities in Iran Target Family of a Soccer
2022-12-28   2022-12-29 middleeast/ali-daei-iran-protest.html       Hero                                         By Vivian Yee                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/world/
                        middleeast/israel-far-right-netanyhu-       On Eve of Formal Approval Israeli Coalition
2022-12-28   2022-12-29 inaguration.html                            Submits HardLine Agenda                      By Isabel Kershner                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/nyregio In Buffalo Key Official Lashes Out Over       By Michael D Regan Lola Fadulu
2022-12-29   2022-12-29 n/buffalo-storm-response-criticism.html     Blizzard                                     and Hurubie Meko                  TX 9-270-555   2023-02-01
                                                                    Service Outage at Twitter Appears to Be
                        https://www.nytimes.com/2022/12/28/technol FarReaching Cause of Disruption Is Not Yet
2022-12-29   2022-12-29 ogy/twitter-outages.html                    Known                                        By Kate Conger                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/arts/des
2022-12-29   2022-12-29 ign/los-angeles-diversity-museums.html      In LA Shrines to the Unusual and Unsung      By Adam Nagourney                 TX 9-270-555   2023-02-01



                                                                                 Page 4679 of 5793
                        https://www.nytimes.com/2022/12/29/nyregio
                        n/hasidic-orthodox-jewish-special-
2022-12-29   2022-12-29 education.html                               Hasidic Schools Seize on Special Ed Windfall By Brian M Rosenthal             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/style/be
2022-12-29   2022-12-29 st-dressed-nyc-parties.html                  A Year of Being The Most                     By Tanner Curtis and Denny Lee   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/style/re
2022-12-29   2022-12-29 d-eye-makeup.html                            In Fashion These Days the Red Eyes Have It By Kristen Bateman                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/technol
                        ogy/personaltech/new-tech-2023-ai-chat-      Techs Direction in 2023 Smarter Bots More
2022-12-29   2022-12-29 vr.html                                      EVs                                          By Brian X Chen                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/16/us/the- Looking Back on a Sobering Year in Silicon
2022-12-16   2022-12-30 year-in-tech-news.html                       Valley                                       By Soumya Karlamangla            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/22/arts/ne
2022-12-22   2022-12-30 w-years-eve-nyc.html                         Go Old School and Ring in 2023 in Person     By Erik Piepenburg               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/arts/des
                        ign/juan-francisco-elso-el-museo-cuba-
2022-12-26   2022-12-30 review.html                                  The Indelible Works Of a Cuban Sculptor      By Holland Cotter                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/26/movies/
2022-12-26   2022-12-30 matilda-musical-review-roald-dahl.html       An Avenging Angel Leads a Youthful Revolt By Amy Nicholson                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/movies/
2022-12-27   2022-12-30 broadway-rising-review.html                  Backstage Challenged By Covid                By Nicolas Rapold                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/opinion
                        /congress-child-tax-credit-universal-school- How Could Congress Take Food Away From
2022-12-27   2022-12-30 meals.html                                   Kids                                         By Bryce Covert                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/arts/des
2022-12-28   2022-12-30 ign/jack-whitten-dia-beacon.html             A Lost Chapter in an Artists Story           By Aruna DSouza                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/arts/des
2022-12-28   2022-12-30 ign/toni-morrison-princeton.html             Toni Morrisons Papers to Be Illuminated      By Hilarie M Sheets              TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/28/world/a
2022-12-28   2022-12-30 frica/south-africa-black-teenagers-pool.html Assault at Pool Is Flashback to Apartheid   By John Eligon                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/arts/des Arata Isozaki Architect Who Drew Outside
2022-12-29   2022-12-30 ign/arata-isozaki-dead.html                  the Lines Dies at 91                        By Joseph Giovannini              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/arts/mu
2022-12-29   2022-12-30 sic/fedora-met-opera.html                    A Fedora Thats Not Old Hat                  By Javier C Hernndez              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/arts/mu
2022-12-29   2022-12-30 sic/new-york-public-library-reidy.html       Library Promotes Interim Director           By Dan Bilefsky                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/arts/tele
                        vision/timmy-time-great-north-
2022-12-29   2022-12-30 kaleidoscope.html                            This weekend I have                         By Margaret Lyons                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/books/j
2022-12-29   2022-12-30 anuary-2023-books.html                       A Batch of New Titles To Start the New Year By Joumana Khatib                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/busines
                        s/economy/electric-vehiclesfederal-tax-
2022-12-29   2022-12-30 credits.html                                 A Partial List Of New EVs That Qualify      By The New York Times             TX 9-270-555   2023-02-01



                                                                                Page 4680 of 5793
                        https://www.nytimes.com/2022/12/29/busines
2022-12-29   2022-12-30 s/electric-vehicles-tax-credit.html        Working on the Fine Print for EV Tax Credits By Jack Ewing                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/busines                                              By Isabella Simonetti Peter Eavis
2022-12-29   2022-12-30 s/southwest-canceled-flights-updates.html  Southwest Eyes Return To Normalcy            and Soumya Karlamangla              TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/29/busines Superfans of the Airline Are Staying Loyal
2022-12-29   2022-12-30 s/southwest-christmas-delays-superfans.html Even in the Face of Its Epic Turmoil          By Emma Goldberg                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/health/a Congressional Inquiry Faults FDA and
2022-12-29   2022-12-30 lzheimers-drug-aduhelm-biogen.html          Biogen In Aduhelm Approval                    By Pam Belluck                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/health/c                                               By Alexandra Stevenson and
2022-12-29   2022-12-30 hina-covid-outbreak-predictions.html        Covids Spread In China Poses Dark Mystery     Benjamin Mueller                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/movies/
2022-12-29   2022-12-30 a-man-called-otto-review.html               Tom Hanks Teaches Some Life Lessons           By Glenn Kenny                    TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/29/movies/ Moments of Whimsy Mixed With Pleas for
2022-12-29   2022-12-30 annual-animation-show-of-shows-review.html the Planet                                     By Jeannette Catsoulis            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/movies/
2022-12-29   2022-12-30 turn-every-page-review.html                Trust Speaks Volumes                           By Ben Kenigsberg                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/movies/
2022-12-29   2022-12-30 wildcat-review.html                        A Rescue Mission for a Beast and a Man         By Manohla Dargis                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/nyregio A First for New York A Store That Legally      By Ashley Southall and Wesley
2022-12-29   2022-12-30 n/ny-weed-sales.html                       Sells Recreational Cannabis                    Parnell                           TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/29/nyregio Makeover Around Penn Station Hinges on         By Matthew Haag Patrick
2022-12-29   2022-12-30 n/nyc-penn-station-construction-project.html Meaning of Blighted                          McGeehan and Benjamin Norman TX 9-270-555        2023-02-01
                        https://www.nytimes.com/2022/12/29/nyregio
                        n/princeton-student-death-suicide-misrach-   Death of a Princeton Student Missing for 5
2022-12-29   2022-12-30 ewunetie.html                                Days Is Ruled a Suicide                      By Hurubie Meko                   TX 9-270-555   2023-02-01
                                                                                                                  By Corey Kilgannon Lola Fadulu
                        https://www.nytimes.com/2022/12/29/nyregio Unusual and Deadly Epic Storm Crushed          Hurubie Meko and Sarah Maslin
2022-12-29   2022-12-30 n/western-new-york-storm.html               Buffalos Preparations                         Nir                               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/obituari Parallels and Coincidences Mark a Year of
2022-12-29   2022-12-30 es/2022-deaths.html                         Momentous Deaths                            By William McDonald                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/opinion                                              By William S Cohen and Alton
2022-12-29   2022-12-30 /kevin-mccarthy-house-speaker-vote.html     Pick an Outside Leader to Be House Speaker Frye                                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/opinion
2022-12-29   2022-12-30 /southwest-airlines.html                    Learning From the Southwest Airlines Fiasco By Paul Krugman                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/sports/s Ambassador For Brazil Who Spoke To the
2022-12-29   2022-12-30 occer/pele-brazil.html                      World                                       By Tariq Panja                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/sports/s Pel Illustrious Face of the Beautiful Game
2022-12-29   2022-12-30 occer/pele-dead.html                        Dies at 82                                  By Lawrie Mifflin                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/technol
2022-12-29   2022-12-30 ogy/good-tech-awards-2022.html              Good Tech Awards What Went Right in 2022 By Kevin Roose                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/technol                                              By Kate Conger Ryan Mac and
2022-12-29   2022-12-30 ogy/twitter-elon-musk.html                  Musks Cuts At Twitter Scrape Bone           Mike Isaac                          TX 9-270-555   2023-02-01



                                                                                  Page 4681 of 5793
                        https://www.nytimes.com/2022/12/29/us/polit                                               By Glenn Thrush and Livia
2022-12-29   2022-12-30 ics/amerisourcebergen-opioids-lawsuit.html US Sues Drug Giant Over Opioids                AlbeckRipka                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/us/polit
2022-12-29   2022-12-30 ics/anthony-fauci-retirement.html           Fauci Looks Ahead to Life After Government By Sheryl Gay Stolberg              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/us/polit Recount Confirms Election of Democrat as
2022-12-29   2022-12-30 ics/arizona-ag-mayes-hamadeh.html           Attorney General of Arizona                   By Neil Vigdor                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/us/polit
2022-12-29   2022-12-30 ics/democrats-federal-judges.html           Democrats Pick Nearly 100 Federal Judges      By Carl Hulse                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/us/polit What Are the Houses Options for Addressing
2022-12-29   2022-12-30 ics/george-santos-what-next.html            Santoss Falsehoods                            By Catie Edmondson               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/us/polit Behind a Potent Speaker a Steadfast Pillar of
2022-12-29   2022-12-30 ics/paul-pelosi-nancy-pelosi.html           Support Doing the Dishes                      By Annie Karni                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/us/texa After Rescue From Freezing Temperatures
2022-12-29   2022-12-30 s-bats-release.html                         Hundreds of Bats Are Released in Texas        By Jesus Jimnez                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/us/toled Erasing Medical Debt Is Catching On in US
2022-12-29   2022-12-30 o-medical-debt-relief.html                  Is Your Town Next                             By Amanda Holpuch                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/world/a Fire at Cambodian Casino Near Thai Border
2022-12-29   2022-12-30 sia/cambodia-casino-fire.html               Kills 19                                      By John Yoon and Sun Narin       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/world/a US CovidTesting Rule For Travelers From        By Mike Ives Amy Chang Chien
2022-12-29   2022-12-30 sia/china-covid-us-travel.html              China Draws a Muted Response                  Claire Fu and Tiffany May        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/world/a Want a Free Lift Pass Japans Ski Mecca Is
2022-12-29   2022-12-30 sia/japan-niseko.html                       Desperate for Workers                         By Motoko Rich and Hikari Hida   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/world/e Expats From Two Countries at War
2022-12-29   2022-12-30 urope/antalya-russia-emigres-war.html       Transform a Turkish City                      By Ben Hubbard and Safak Timur   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/world/e Latest Barrage Is Among Worst Since War
2022-12-29   2022-12-30 urope/russia-strikes-ukraine.html           Began                                         By Andrew E Kramer               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/world/ Independent News Outlet In Algeria One of
2022-12-29   2022-12-30 middleeast/algeria-free-media-radio-m.html the Last Is Hit With a Crackdown               By Vivian Yee                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/world/
                        middleeast/israel-netanyahu-government-     New Coalition In Israel to Test Bonds of
2022-12-29   2022-12-30 swearing-in.html                            Allies                                        By Isabel Kershner               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/opinion
2022-12-30   2022-12-30 /the-sidney-awards.html                     It Was Another Great Year for Long Essays By David Brooks                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/sports/s
2022-12-30   2022-12-30 occer/pele-dies.html                        To Play Like Pel Is To Play Like God          By Rory Smith                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/us/polit Biden Signs 17 Trillion Measure Preventing
2022-12-30   2022-12-30 ics/biden-signs-funding-bill.html           Shutdown and Expanding Programs               By Jim Tankersley                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/us/polit                                               By Luke Broadwater Maggie
                        ics/jan-6-transcripts-national-guard-       Transcripts Show Firings A First Ladys        Haberman Catie Edmondson and
2022-12-30   2022-12-30 trump.html                                  Displeasure And Intelligence Failures         Stephanie Lai                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/us/sout Dominant Southwest Is Giant Flying Bus for By Shawn Hubler and Soumya
2022-12-30   2022-12-30 hwest-california-commuters.html             California Commuters                          Karlamangla                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/books/r
2022-12-30   2022-12-30 eview/new-horror-fiction.html               An App From Hell                              By Danielle Trussoni             TX 9-270-555   2023-02-01



                                                                                Page 4682 of 5793
                        https://www.nytimes.com/2022/11/29/theater/
2022-11-29   2022-12-31 clint-dyer-othello-national-theater.html     A New Vision for a Tragedy Rooted in Race    By Alex Marshall               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/30/busines                                                By Damien Cave and George
2022-11-30   2022-12-31 s/cattle-exports-australia-indonesia.html    Following a Food Journey                     Steinmetz                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/19/travel/e
2022-12-19   2022-12-31 gypt-hiking-trails.html                      The Austere Beauty of Egypts Hiking Trails   By Patrick Scott               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/20/arts/tele
2022-12-20   2022-12-31 vision/best-of-late-night-2022.html          A Time of Turnover For LateNight TV          By Trish Bendix                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/21/travel/h
2022-12-21   2022-12-31 amburg-miniatur-wunderland.html              Its an Extremely Small World After All       By Cindy Hirschfeld            TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/23/opinion
2022-12-23   2022-12-31 /dog-cannabis-toxicity-stoned.html           Wait Is My Dog Stoned                        By Jean Hanff Korelitz         TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/27/arts/des
2022-12-27   2022-12-31 ign/cultural-heritage-ukraine-russia-war.html Cultural Heritage as a Battlefront         By Jason Farago                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/27/books/n Nlida Pion 85 a Trailblazing Brazilian
2022-12-27   2022-12-31 elida-pinon-dead.html                         Novelist                                   By Ana Ionova                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/28/arts/des
                        ign/machine-dazzle-museum-costumes-taylor-
2022-12-28   2022-12-31 mac.html                                      An Artist Who Prefers To Wear His Ideas    By Jennifer Schuessler          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/fashion Vivienne Westwood Who Gave Punk Era Its
2022-12-29   2022-12-31 /vivienne-westwood-dead.html                  Style Dies at 81                           By Marisa Meltzer               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/sports/s A National Hero In His Homeland And a
2022-12-29   2022-12-31 occer/pele-photos-soccer.html                 Trailblazer In North America               By The New York Times           TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/us/sout
                        hwest-traveler-records-airport-police-        Travelers Stuck at Airport Were Threatened
2022-12-29   2022-12-31 nashville.html                                With Arrest                                By Michael Levenson             TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/your- The Downsides of Using the Buy Now Pay
2022-12-29   2022-12-31 money/buy-now-pay-later-loans.html            Later Option                               By Ann Carrns                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/arts/mu Ian Tyson 89 Canadian Folk Singer
2022-12-30   2022-12-31 sic/ian-tyson-dead.html                       Committed to Ranch Culture Is Dead         By Peter Applebome              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/nyregio Doubts Surface On How Santos Spent His        By Grace Ashford and Dana
2022-12-30   2022-12-31 n/george-santos-campaign-finance.html         Cash                                       Rubinstein                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/travel/s
                        outhwest-stranded-airport-flight-             Stranded by Southwest What Travelers Can
2022-12-30   2022-12-31 canceled.html                                 Expect                                     By Shannon Sims                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/us/thac Reports of Student Abuse Will Not Lead to
2022-12-30   2022-12-31 her-school-ojai-sexual-abuse-charges.html     Charges                                    By Eduardo Medina               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/29/world/a
2022-12-30   2022-12-31 sia/myanmar-aung-san-suu-kyi-trial.html       ExMyanmar Leader Gets 7 More Years         By Mike Ives and Matt Stevens   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/arts/mu Singer Accused Of Sex Abuse Of Teenager In
2022-12-30   2022-12-31 sic/steven-tyler-lawsuit-aerosmith.html       the 1970s                                  By Dan Bilefsky                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/arts/mu
                        sic/vienna-philharmonic-new-years-
2022-12-30   2022-12-31 concert.html                                  The Dark History of a Global Celebration   By Oliver Rathkolb              TX 9-270-555   2023-02-01



                                                                                 Page 4683 of 5793
                        https://www.nytimes.com/2022/12/30/books/l To Find Young Readers Librarians Turn to
2022-12-30   2022-12-31 ibrarians-tiktok.html                        TikTok                                      By Lora Kelley                     TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/busines After a Road Bump DealMaking Could Pick
2022-12-30   2022-12-31 s/dealbook/deal-making-in-2022.html          Up Again in 2023                            By Michael J de la Merced          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/busines Fewer Flights Canceled Southwests Schedule
2022-12-30   2022-12-31 s/southwest-canceled-flights-updates.html    Begins to Look Normal                       By Daniel Victor                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/busines 2022 Was the Year the Music Stopped on        By Joe Rennison Karl Russell and
2022-12-30   2022-12-31 s/stock-market-2022.html                     Wall St                                     JohnMichael Murphy                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/busines
2022-12-30   2022-12-31 s/tesla-stock-elon-musk.html                 Bad Year For Stocks Worse Year For Tesla By Jack Ewing                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/climate
2022-12-30   2022-12-31 /epa-clean-water-protections-wotus.html      EPA Revises Rules For Protecting Waters     By Lisa Friedman                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/opinion Give Me Credit for All the Bad Things I
2022-12-30   2022-12-31 /good-evil-ethics-argument.html              Didnt Do                                    By Crispin Sartwell                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/sports/i A Top Iranian Chess Player Wont Return
2022-12-30   2022-12-31 ran-chess-hijab.html                         Home                                        By Dylan Loeb McClain              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/sports/n
                        caafootball/georgia-ohio-state-peach-        Georgia Knows No 1 Seed Doesnt Always
2022-12-30   2022-12-31 bowl.html                                    Reach Final                                 By Alan Blinder                    TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/sports/s He Is Gone but His Magic Will Remain
2022-12-30   2022-12-31 occer/pele-funeral-reaction.html             Neymar Says Pel Is Eternal                  By Ana Ionova                      TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/sports/s Its Avatar Imported The Beautiful Game To
2022-12-30   2022-12-31 occer/pele-new-york-santos.html              New York City                               By Gerald Eskenazi                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/sports/s
2022-12-30   2022-12-31 occer/ronaldo-al-nassr-saudi.html            Saudis Give A Rich Deal To Ronaldo          By Victor Mather                   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/technol
2022-12-30   2022-12-31 ogy/tim-wu-leaves-white-house.html           Biden Aide Is Leaving Antitrust Post        By David McCabe                    TX 9-270-555   2023-02-01
                                                                                                                 By Rachel Sun Nicholas
                        https://www.nytimes.com/2022/12/30/us/idah Suspect in the Murder Of Four Idaho Students BogelBurroughs and Serge F
2022-12-30   2022-12-31 o-murders-suspect-bryan-kohberger.html       Caught in Pennsylvania                      Kovaleski                          TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/us/polit Biden Issues Six Pardons Most for Minor      By Zolan KannoYoungs and Jim
2022-12-30   2022-12-31 ics/biden-pardons-drug-offenses.html         Drug Offenses                               Tankersley                         TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/us/polit New Year Poses New Challenges for
2022-12-30   2022-12-31 ics/democrats-new-congress.html              Democratic Lawmakers                        By Emily Cochrane                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/us/polit How OnceinaCentury Chaos Could Hit the
2022-12-30   2022-12-31 ics/house-speaker-election-mccarthy.html     Vote for Speaker                            By Catie Edmondson                 TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/us/polit
                        ics/supreme-court-historical-society-donors- Questions of Propriety Arise Over Charity
2022-12-30   2022-12-31 justices.html                                Tied to Top Court                           By Jo Becker and Julie Tate        TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/us/polit 6 Years Worth Of Trump Taxes Show Big        By Jim Tankersley Susanne Craig
2022-12-30   2022-12-31 ics/trump-tax-returns.html                   Losses                                      and Russ Buettner                  TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/30/us/rick- SixYear Sentence Is Sought for Leader of the
2022-12-30   2022-12-31 singer-college-admissions.html               Varsity Blues Scheme                        By Stephanie Saul                  TX 9-270-555   2023-02-01




                                                                                 Page 4684 of 5793
                        https://www.nytimes.com/2022/12/30/world/a 46 Ivory Coast Soldiers Get 20 Years in Mali By Ruth Maclean Mamadou Tapily
2022-12-30   2022-12-31 frica/ivory-coast-troops-jailed-mali.html  Jail                                         and Loucoumane Coulibaly       TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/30/world/a
                        mericas/venezuela-opposition-juan-         Guaid Is Voted Out as Leader of Venezuelas By Isayen Herrera and Genevieve
2022-12-30   2022-12-31 guaido.html                                Opposition                                   Glatsky                        TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/30/world/a
                        sia/japan-fukushima-wastewater-pacific-    Japans Neighbors Balk at Plan to Release
2022-12-30   2022-12-31 radiation.html                             Wastewater From Fukushima                    By Pete McKenzie               TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/30/world/a For Xi and Putin Another Meeting of          By David Pierson and Anton
2022-12-30   2022-12-31 sia/xi-putin-china-russia.html             Strongmen Comes at Weak Moment               Troianovski                    TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/30/world/c Exploring Quebecs Identity as an Actor       By Norimitsu Onishi and Renaud
2022-12-30   2022-12-31 anada/mani-suleymanlou-quebec.html         Playwright and Immigrant                     Philippe                       TX 9-270-555      2023-02-01
                        https://www.nytimes.com/2022/12/30/world/e Social Media Personality Is Arrested in      By McKenna Oxenden and Jenny
2022-12-30   2022-12-31 urope/andrew-tate-romania-arrest.html      Romania                                      Gross                          TX 9-270-555      2023-02-01

                        https://www.nytimes.com/2022/12/30/world/e In a Battered Ukrainian City Staring Down   By Natalia Yermak and Thomas
2022-12-30   2022-12-31 urope/ukraine-lyman-firefighters-winter.html Winter Is the Latest Battle               GibbonsNeff                        TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/30/world/e Ukraine Defeats Russian Drone Swarm but By Cassandra Vinograd and
2022-12-30   2022-12-31 urope/ukraine-russia-drone-attacks.html    NATOs Chief Warns Kyiv Needs More Arms Richard PrezPea                         TX 9-270-555   2023-02-01

                        https://www.nytimes.com/2022/12/30/world/ At Least 10 Oil Workers Dead in Syria After By Raja Abdulrahim and Hwaida
2022-12-30   2022-12-31 middleeast/syria-attack-isis-oil-workers.html Attack                                     Saad                             TX 9-270-555   2023-02-01
                                                                                                                 By Luke Broadwater Alan Feuer
                        https://www.nytimes.com/2022/12/30/us/polit House Transcripts Detail Infighting and      Catie Edmondson and Stephanie
2022-12-31   2022-12-31 ics/jan-6-transcripts.html                    Chaos After Jan 6 Attack                   Lai                              TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/31/busines
2022-12-31   2022-12-31 s/economy/tiktok-economic-trends.html         Whats It All Mean Click On TikTok          By Jeanna Smialek                TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/31/sports/n TCUs Secret Weapon A Powerful Cartoon
2022-12-31   2022-12-31 caafootball/hypnotoad-tcu-michigan.html       Toad                                       By Billy Witz and Sasha Portis   TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/31/sports/s After Her Disappointment in Beijing Shiffrin
2022-12-31   2022-12-31 kiing/shiffrin-vonn-world-cup.html            Resumes Her Record Pace                    By Bill Pennington               TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/12/31/us/polit                                              By Jim Rutenberg Ken Bensinger
2022-12-31   2022-12-31 ics/polling-election-2022-red-wave.html       Skewed Polling Washed Away Red Tsunami and Steve Eder                       TX 9-270-555   2023-02-01
                        https://www.nytimes.com/2022/11/01/books/r
2022-11-01   2023-01-01 eview/tulsa-massacre-rj-young.html            In Memoriam                                By Martha Southgate              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/11/12/books/r
2022-11-12   2023-01-01 eview/no-filter-paulina-porizkova.html        More Than Skin Deep                        By Michelle Ruiz                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/11/15/books/r
                        eview/how-to-survive-everything-ewan-
2022-11-15   2023-01-01 morrison.html                                 Gone Viral                                 By Ben H Winters                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/11/16/books/r
                        eview/tracers-in-the-dark-andy-
2022-11-16   2023-01-01 greenberg.html                                Not So Invisible                           By Mark Gimein                   TX 9-271-977   2023-03-01



                                                                                Page 4685 of 5793
                        https://www.nytimes.com/2022/11/23/books/t Literary Destinations Read Your Way
2022-11-23   2023-01-01 angier-morocco-books-laila-lalami.html      Through Tangier                             By Laila Lalami                 TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/03/books/r
                        eview/bushra-rehman-roses-in-the-mouth-of-a-
2022-12-03   2023-01-01 lion.html                                   Community                                   By Maylee Chai                  TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/04/books/r
2022-12-04   2023-01-01 eview/bora-chung-cursed-bunny.html          Rabbit Punch                                By Violet Kupersmith            TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/10/books/r
2022-12-10   2023-01-01 eview/kevin-chen-ghost-town.html            Total Recall                                By Peter C Baker                TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2022/12/16/books/r
2022-12-16   2023-01-01 eview/scatterlings-resoketswe-manenzhe.html Against the Law                          By VV Ganeshananthan               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/16/movies/
2022-12-16   2023-01-01 daniel-gimenez-cacho-bardo.html             Daniel Gimnez Cacho And the Three Amigos By Carlos Aguilar                  TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/18/realesta
2022-12-18   2023-01-01 te/college-housing-homeless-students.html   Help in Finding Rooms of Their Own       By Stefanos Chen                   TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2022/12/20/books/r
2022-12-20   2023-01-01 eview/saxophone-colossus-aidan-levy.html   The Sound of Sonny                           By Ben Ratliff                  TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/21/style/w Cool People Awful Trends and a Few
2022-12-21   2023-01-01 orst-trends-2022-throwing-fits.html        Predictions                                  By Max Berlinger                TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/22/books/r
2022-12-22   2023-01-01 eview/kathleen-glasgow-girl-in-pieces.html Inside the List                              By Elisabeth Egan               TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2022/12/23/magazi                                               By Robert Draper Luke Broadwater
2022-12-23   2023-01-01 ne/jan-6-committee.html                     inside the Jan 6 Committee                  and Philip Montgomery            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/23/movies/
2022-12-23   2023-01-01 zoey-deutch-something-from-tiffanys.html    Zoey Deutch Appreciates Lifes Simple Joys   By Kathryn Shattuck             TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/25/opinion Matisse Taught Me About the Fragility and
2022-12-25   2023-01-01 /matisse-disability-beauty-body.html        Beauty of the Body                          By Nick Riggle                  TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/26/opinion Why Should Red States Be Off Limits for
2022-12-26   2023-01-01 /travel-bans-academic-freedom.html          Research                                    By Aaron E Carroll              TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/27/arts/roy
                        al-family-harry-meghan-podcast-
2022-12-27   2023-01-01 recommendations.html                        Enter a World of Crowns and Thrones         By Emma Dibdin                  TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/27/books/ Menahem Schmelzer 88 Who Tenderly
2022-12-27   2023-01-01 menahem-schmelzer-dead.html                 Protected Rare Jewish Works Dies            By Joseph Berger                TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/27/magazi
2022-12-27   2023-01-01 ne/creativity-basement.html                 Basements                                   By Brady BricknerWood           TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/27/magazi My Partners Parents Stay With Us Every
2022-12-27   2023-01-01 ne/in-laws-cleaning-ethics.html             Weekend Do I Get a Say                      By Kwame Anthony Appiah         TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/27/magazi
2022-12-27   2023-01-01 ne/kendrick-lamar-dave-free.html            Kendrick Unbound                            By Mitchell S Jackson           TX 9-271-977    2023-03-01




                                                                                Page 4686 of 5793
                        https://www.nytimes.com/2022/12/27/realesta
                        te/they-dreamed-of-a-bigger-apartment-little-
2022-12-27   2023-01-01 by-little-it-came-true.html                   A Bigger Apartment Little by Little          By Tim McKeough              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/27/style/lit
2022-12-27   2023-01-01 tlepuss-press-literary-parties.html           Where Parties Are Key to a Renaissance       By Harron Walker             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/arts/des
                        ign/albuquerque-artist-los-angeles-lita-
2022-12-28   2023-01-01 jasmine-isabelle.html                         Creative Interventions Meet the Albuquerques By Jori Finkel               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/magazi
                        ne/competitive-lumberjack-timbersports-jason-
2022-12-28   2023-01-01 lentz.html                                    Top of the Chops                             By Reid Forgrave             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/magazi How Do You Make Your New Year Even
2022-12-28   2023-01-01 ne/new-years-tteok-guk-recipe.html            Better Dumplings                             By Eric Kim                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/magazi
2022-12-28   2023-01-01 ne/sam-bankman-fried-ftx.html                 Heel Turn                                    By Robin KaiserSchatzlein    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/opinion
2022-12-28   2023-01-01 /george-santos-lies.html                      The Sad Tales of George Santos               By David Brooks              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/opinion
2022-12-28   2023-01-01 /godard-straub-european-cinema.html           European Cinema Has Still Got It             By Emilie Bickerton          TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/12/28/opinion
2022-12-28   2023-01-01 /trump-haberman-baker-glasser-draper.html How the House of Trump Was Built              By Carlos Lozada                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/realesta
                        te/home-prices-oregon-massachusetts-        28 Million Homes in Oregon Massachusetts
2022-12-28   2023-01-01 maryland.html                               and Maryland                                By Angela Serratore             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/style/ho
                        w-can-i-be-closer-to-my-in-laws-when-they-
2022-12-28   2023-01-01 criticize-me-behind-my-back.html            Trouble With InLaws                         By Philip Galanes               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/arts/mu
2022-12-29   2023-01-01 sic/margo-price-strays.html                 Breaking In Without Breaking Apart          By Melena Ryzik                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/books/r
2022-12-29   2023-01-01 eview/ernest-cole-house-of-bondage.html     Separate and Unequal                        By Lauren Christensen           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/magazi
                        ne/immune-thrombocytopenia-itp-cat-scratch- He Had Blood in His Urine and a Strange
2022-12-29   2023-01-01 fever.html                                  Rash What Was Going On                      By Lisa Sanders MD              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/magazi
2022-12-29   2023-01-01 ne/judge-john-hodgman-on-our-past.html      Bonus Advice From Judge John Hodgman        By John Hodgman                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/magazi                                               By Laynie Browne and Victoria
2022-12-29   2023-01-01 ne/poem-01-05-16.html                                                             10516 Chang                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/needies From a Laptop to a Quilt to Tuition
2022-12-29   2023-01-01 t-cases/support-that-lasts.html             Assistance Support That Lasts               By Callie Holtermann            TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/12/29/opinion
2022-12-29   2023-01-01 /sunday/clutter-decluttering-marie-kondo.html Clutter Is Good for You                     By Rob Walker                 TX 9-271-977   2023-03-01




                                                                                  Page 4687 of 5793
                        https://www.nytimes.com/2022/12/29/realesta
2022-12-29   2023-01-01 te/canada-bans-foreign-buyers.html           Heading North Canada Says Not So Fast     By Michael Kaminer            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/realesta
2022-12-29   2023-01-01 te/new-york-hot-neighborhoods-2023.html      Queens May Be the Next Hot Spot           By Anna Kod                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/sports/f Will Anyone Win the NFC South We May
2022-12-29   2023-01-01 ootball/nfl-week-17-picks.html               Finally Find Out                          By David Hill                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/style/10
2022-12-29   2023-01-01 unforgettable-marriage-proposals.html        The 10 Best Marriage Proposals            By Sadiba Hasan               TX 9-271-977   2023-03-01
                                                                     They Wanted a Versatile OneBedroom in
                        https://www.nytimes.com/interactive/2022/12/ Chicago for About 200000 Which Option Did
2022-12-29   2023-01-01 29/realestate/chicago-loop-one-bedroom.html They Choose                                By Carisa Crawford Chappell   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/arts/tele
                        vision/giancarlo-esposito-kaleidoscope-
2022-12-30   2023-01-01 netflix.html                                 For a SceneStealer a Star Turn as a Thief By Chris Vognar               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/arts/ton Tony Vaccaro 100 Photographer With a
2022-12-30   2023-01-01 y-vaccaro-dead.html                          Soldiers View of War Dies                 By Richard Goldstein          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/books/r
                        eview/candace-fleming-eric-rohmann-polar-
                        bear-caron-levis-charles-santoso-feathers-
2022-12-30   2023-01-01 together.html                                A Birds and Bears Eye View of Migration   By Lenora Todaro              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/books/r
2022-12-30   2023-01-01 eview/don-delillo-white-noise-today.html     Airborne                                  By Dana Spiotta               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/climate Rural America Is Battleground for Green
2022-12-30   2023-01-01 /wind-farm-renewable-energy-fight.html       Energy                                    By David Gelles               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/movies/
2022-12-30   2023-01-01 jon-bois-sb-nation-sports.html               He Visualizes Sports Statistics as Cinema By Calum Marsh                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/nyregio Hope Beckoned in Harlem but a Cruel Twist
2022-12-30   2023-01-01 n/homeless-harlem-vouchers.html              Awaited                                   By Mihir Zaveri               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/opinion
                        /great-grandfather-great-depression-
2022-12-30   2023-01-01 vermont.html                                 Lessons From 1930s Vermont                By Peter Coy                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/opinion
2022-12-30   2023-01-01 /prepayment-meters-uk.html                   The Meter Eats First                      By Kerry Hudson               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/opinion
2022-12-30   2023-01-01 /southwest-holiday-travel.html               Airlines Know They Are Exploiting Us      By Elizabeth Spiers           TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/12/30/realesta
2022-12-30   2023-01-01 te/housing-market-prices-interest-rates.html A Lingering Hangover                      By Ronda Kaysen               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/realesta A 50 Million Apartment on Billionaires Row
2022-12-30   2023-01-01 te/real-estate-sales-manhattan.html          Is Decembers Top Sale                     By Vivian Marino              TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/12/30/sports/s On and Off the Field a Breakthrough Star
2022-12-30   2023-01-01 occer/pele-kylian-mbappe-lionel-messi.html Possessed Perfect Timing                    By Kurt Streeter              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/sports/s When the Incomparable Pel Entranced New
2022-12-30   2023-01-01 occer/pele-new-york-cosmos.html             York                                       By Lawrie Mifflin             TX 9-271-977   2023-03-01



                                                                               Page 4688 of 5793
                        https://www.nytimes.com/2022/12/30/style/all A Trip Without Arguments That Sealed the
2022-12-30   2023-01-01 ison-cai-kurt-galbraith-wedding.html         Deal                                        By Jenny Block                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/style/ari
2022-12-30   2023-01-01 elle-angel-jewish-currents-magazine.html     A Little Magazine Built on Big Ideas        By Emma Goldberg                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/style/in When Breaking the Rules Has the Best
2022-12-30   2023-01-01 grid-retzer-amelia-ragsdale-wedding.html     Consequences                                By Jenny Block                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/style/la
2022-12-30   2023-01-01 uren-hobbs-neal-yakopin-wedding.html         For a Singers Drummer the Right Timing      By Tammy La Gorce                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/style/m
                        odern-love-was-something-this-good-even-
2022-12-30   2023-01-01 possible.html                                Is Something This Good Even Possible        By Marina Martinez                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/style/ne
2022-12-30   2023-01-01 w-years-resolutions-expectations.html        Realistic Expectations for the Year Ahead   By Alyson Krueger                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/style/sa Classmates as Toddlers and Now Partners for
2022-12-30   2023-01-01 brina-pervez-anand-goyal-wedding.html        Life                                        By John Otis                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/busines Barbara Walters Trailblazer for Women in
2022-12-31   2023-01-01 s/media/barbara-walters-dead.html            TV News Dies at 93                          By Alessandra Stanley             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/arts/mu Walter Wolfman Washington 79 New Orleans
2022-12-31   2023-01-01 sic/walter-wolfman-washington-dead.html      Frontman                                    By Jon Pareles                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/busines Today Girl to TV Icon Walters Traversed
2022-12-31   2023-01-01 s/media/barbara-walters-appraisal.html       News and Celebrity                          By Tiffany Hsu                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/busines
                        s/recession-what-recession-pass-me-some-                                                 By David Segal and Saskia
2022-12-31   2023-01-01 grapes.html                                  In London a Restaurant Asks What Recession Solomon                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/busines
2022-12-31   2023-01-01 s/wellness-retreats-business.html            The Hottest Place to Network Is an Ice Bath By Alyson Krueger                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/fashion
                        /weddings/tarot-reading-psychic-wedding-     A Psychic at Your Bridal Shower It Could Be
2022-12-31   2023-01-01 guests.html                                  in the Cards                                By Alix Strauss                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/insider/                                              By Times Insider Staff and JooHee
2022-12-31   2023-01-01 71-of-our-favorite-facts-of-2022.html        71 of Our Favorite Facts From 2022          Yoon                              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/nyregio
                        n/almost-famous-broadway-stage-
2022-12-31   2023-01-01 manager.html                                 Just Offstage but in Charge of the Show     By Alix Strauss                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/nyregio New Yorks Nightlife Shows Signs of
2022-12-31   2023-01-01 n/new-years-eve-nyc.html                     Reawakening                                 By Brian Josephs                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/opinion
2022-12-31   2023-01-01 /2022-good-news.html                         The Optimists View of 2022                  By Nicholas Kristof               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/opinion
2022-12-31   2023-01-01 /biodiversity-summit.html                    Saving Nature Starts Here                   By Robert B Semple Jr             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/opinion
                        /sarah-andersen-how-algorithim-took-my-
2022-12-31   2023-01-01 work.html                                    The Dark Possibilities Of AI and Art        By Sarah Andersen                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/realesta My Neighbors Pot Smoke Bothers Me Is
2022-12-31   2023-01-01 te/marijuana-smoke-co-op-rules.html          There Anything I Can Do to Stop It          By Ronda Kaysen                   TX 9-271-977   2023-03-01



                                                                                Page 4689 of 5793
                        https://www.nytimes.com/2022/12/31/sports/f Tagovailoas Problems Show That NFL Still
2022-12-31   2023-01-01 ootball/tua-tagovailoa-nfl-concussions.html Isnt Finding Concussions in Time         By Elena Bergeron                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/sports/n
                        caafootball/college-football-rose-bowl-     The 100YearOld Rose Bowl All Thats Gold
2022-12-31   2023-01-01 photos.html                                 Doesnt Glitter                           By Billy Witz                        TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/12/31/sports/s Escaping From Kabul Was Supposed to Be
2022-12-31   2023-01-01 occer/afghan-goalkeeper-escape-australia.html the Hardest Part                          By Juliet Macur                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/style/ne
2022-12-31   2023-01-01 w-york-stranger-borrow-phone.html             When a Stranger Calls From Your Phone     By Nabil Ayers                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/technol
                        ogy/cloud-data-storage-google-apple-
2022-12-31   2023-01-01 meta.html                                     Your Memories Their Cloud                 By Kashmir Hill                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/us/bene Cherished by Those In American Church        By Elizabeth Dias and Ruth
2022-12-31   2023-01-01 dict-death-us-catholics.html                  Who Hew to Tradition                      Graham                            TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/12/31/us/calif Heavy California Rain Causes Flooding But   By Jill Cowan April Rubin and
2022-12-31   2023-01-01 ornia-weather-rain-flooding-landslides.html Offers Some Respite From Drought            Eliza Fawcett                     TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/12/31/us/coyo Town Invaded by Coyotes Calls In
2022-12-31   2023-01-01 tes-sharpshooters-nahant-massachussets.html Sharpshooters                              By Jenna Russell                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/us/polit
2022-12-31   2023-01-01 ics/elise-stefanik.html                     I Am UltraMAGA Invention of Elise Stefanik By Nicholas Confessore             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/us/supr Chief Justice Roberts Addresses Threats to
2022-12-31   2023-01-01 eme-court-chief-justice-roberts-letter.html Judges Safety in His YearEnd Report        By Adam Liptak                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/us/teen-
2022-12-31   2023-01-01 pregnancies-child-poverty.html              Steep Decline In Teen Births Over 30 Years By Jason DeParle                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/world/e Benedict XVI 95 Who Defended Doctrine
2022-12-31   2023-01-01 urope/benedict-xvi-dead.html                Dies                                       By Ian Fisher and Rachel Donadio   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/world/e Biden and Pelosi Both Catholic Pay Homage By Jim Tankersley and Stephanie
2022-12-31   2023-01-01 urope/biden-pelosi-pope-benedict.html       to Benedict                                Lai                                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/world/e From Germans a Flood Of Conflicting
2022-12-31   2023-01-01 urope/germany-benedict.html                 Emotions                                   By Erika Solomon                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/world/e For Germanys Chancellor a Bittersweet First
2022-12-31   2023-01-01 urope/germany-scholz-anniversary.html       Year Filled With Surprises                 By Erika Solomon                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/12/31/world/e Clergymen or Spies Churches Become Tools
2022-12-31   2023-01-01 urope/orthodox-church-ukraine-russia.html   of War                                     By Andrew E Kramer                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/world/e
                        urope/pope-emeritus-benedict-xvi-sex-abuse- A Pope Who Was Criticized for His Handling
2022-12-31   2023-01-01 scandal.html                                of the Churchs Sex Abuse Scandal           By Elisabetta Povoledo             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/world/e
                        urope/ukraine-strikes-russia-new-years-     Deadly Year in Ukraine Ends With a Big     By Andrew E Kramer and Anton
2022-12-31   2023-01-01 eve.html                                    Assault                                    Troianovski                        TX 9-271-977   2023-03-01



                                                                                Page 4690 of 5793
                        https://www.nytimes.com/2022/12/31/world/e Statue of Famed Writer Is at Center of
2022-12-31   2023-01-01 urope/victor-hugo-france.html                Frances Race Debate                         By Catherine Porter                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/world/e With Leadership and Speaking Skills
2022-12-31   2023-01-01 urope/zelensky-ukraine-war.html              Zelensky Shapes Conflicts Story             By Andrew E Kramer                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/live/2023/01/02/wo
                        rld/russia-ukraine-news/kyiv-russia-missile-
2022-12-31   2023-01-01 new-years                                    Its Outrageous Fury at Attacks in Kyiv      By Andrew E Kramer                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/sports/n TCU Dealing Michigan First Loss Reaches
2023-01-01   2023-01-01 caafootball/fiesta-bowl-michigan-tcu.html    Championship Game                           By Billy Witz                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/world/e In Bucha a Final Rampage Served as Coda to By Carlotta Gall and Oleksandr
2023-01-01   2023-01-01 urope/bucha-ukraine-killings.html            a Month of Atrocities                       Chubko                              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/busines Made in China US Companies Shift to
2023-01-01   2023-01-01 s/mexico-china-us-trade.html                 Mexico                                      By Peter S Goodman                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/busines
                        s/the-week-in-business-southwest-canceled-
2023-01-01   2023-01-01 flights.html                                 With Interest                               By Marie Solis                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/nyregio                                               By Emma G Fitzsimmons and
2023-01-01   2023-01-01 n/eric-adams-mayor.html                      Did Eric Adams Get Stuff Done in Year 1     Jeffery C Mays                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/nyregio In a Little Known New York Court Veterans
2023-01-01   2023-01-01 n/new-york-veterans-court.html               Pursue a Second Chance                      By Chelsia Rose Marcius             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/style/re
2023-01-01   2023-01-01 solutions-suggestions-advice.html            Please Take All This Merely as a Suggestion By Shayla Love                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/us/polit Education Dept Logs Big Surge In Bias
2023-01-01   2023-01-01 ics/education-discrimination.html            Claims                                      By Erica L Green                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/11/01/arts/des
2022-11-01   2023-01-02 ign/lucian-freud-national-gallery-london.html Overshadowing His Own Work                  By Farah Nayeri                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/25/briefing
2022-12-25   2023-01-02 /times-archive-gems.html                      A Times Taxonomist Explores the Archives By Ian Prasad Philbrick               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/arts/dan Daniel Brush Artist Who Pushed and Defied
2022-12-28   2023-01-02 iel-brush-dead.html                           Boundaries Is Dead at 75                    By Neil Genzlinger                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/technol Covid Misinformation Snowballs
2022-12-28   2023-01-02 ogy/covid-misinformation-online.html          Exasperating Doctors                        By Tiffany Hsu                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/technol
2022-12-28   2023-01-02 ogy/google-job-cuts.html                      As Google Cuts Costs Employees Are Fretting By Nico Grant                      TX 9-271-977   2023-03-01
                                                                                                                  By Andrew Ross Sorkin Ravi
                                                                                                                  Mattu Bernhard Warner Sarah
                                                                                                                  Kessler Stephen Gandel Michael J
                        https://www.nytimes.com/2022/12/29/busines Turning the Page on 2022 A Few of the Most de la Merced Lauren Hirsch and
2022-12-29   2023-01-02 s/dealbook/turning-the-page-on-2022.html      Illuminating Reads                          Ephrat Livni                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/books/c Cara De Silva 83 Historian Who Preserved
2022-12-30   2023-01-02 ara-de-silva-dead.html                        Jewish Recipes                              By Clay Risen                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/opinion
                        /kevin-mccarthy-george-santos-donald-         The 2022 High School Yearbook Of
2022-12-30   2023-01-02 trump.html                                    American Politics                           By Michelle Cottle                 TX 9-271-977   2023-03-01



                                                                                 Page 4691 of 5793
                        https://www.nytimes.com/2022/12/30/sports/b
                        asketball/shai-gilgeous-alexander-oklahoma- A Soaring NBA Star Brings His Friends
2022-12-30   2023-01-02 city-thunder.html                            Along for the Ride                       By Scott Cacciola                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2022/12/30/sports/n
                        caabasketball/sedona-prince-womens-          A Mission to Promote Change Doesnt End
2022-12-30   2023-01-02 basketball.html                              With a Viral Video                       By Remy Tumin                     TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2022/12/30/style/thi A Mall Where Vendors And Shoppers
2022-12-30   2023-01-02 ck-mall-chicago.html                         Celebrate The Beauty in Every Body       By Megan Kirby                    TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2022/12/30/technol Her Google Account Was Wiped Over a
2022-12-30   2023-01-02 ogy/google-appeals-change.html               Childs Video An Appeals Path Has Changed By Kashmir Hill                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/arts/tele                                             By Jason Zinoman and Photographs
2022-12-31   2023-01-02 vision/dave-attell-carolines-comedy.html     A Heartfelt and Funny Farewell to Carolines by Nina Westervelt               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/opinion Barbara Walters Didnt Take No for an
2022-12-31   2023-01-02 /barbara-walters-dead-katie-couric.html      Answer                                      By Katie Couric                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/sports/r
2022-12-31   2023-01-02 unning-best-2022.html                        The Best Runs You Took In 2022              By Matthew Futterman             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/us/sno Rare Snowy Owl Sighting Thrills California
2022-12-31   2023-01-02 wy-owl-california.html                       Suburb                                      By Michael Levenson              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/world/e Vatican Faces Rare Challenge What Kind of By Jason Horowitz and Elisabetta
2022-12-31   2023-01-02 urope/pope-benedict-funeral.html             Funeral Will It Give a Pope Emeritus        Povoledo                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/world/ Rush by Palestinians To Claim as Martyrs       By Raja Abdulrahim and Hiba
2022-12-31   2023-01-02 middleeast/palestinian-martyrs-israel.html   Those Killed by Israel                      Yazbek                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/arts/mu
2023-01-01   2023-01-02 sic/fedora-met-opera.html                    When Royal Enmity Turns to Lust             By Zachary Woolfe                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/climate Waste Mixes With Warm Water Blighting the By Christopher Flavelle and Sophie
2023-01-01   2023-01-02 /cape-cod-algae-septic.html                  Shores of Cape Cod                          Park                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/movies/
2023-01-01   2023-01-02 dionne-warwick-dont-make-me-over.html        Dionne Warwick Takes a Victory Lap          By Kalia Richardson              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/nyregio
                        n/george-santos-congress-republican-new-     As His Life of Fantasy Comes Into Focus     By Michael Gold and Grace
2023-01-01   2023-01-02 york.html                                    Santos Heads to Washington                  Ashford                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/nyregio At Inauguration Hochul Vows to Make State By Luis FerrSadurn and Jesse
2023-01-01   2023-01-02 n/hochul-inauguration-ny-governor.html       Safer and More Affordable                   McKinley                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/nyregio Man With Machete Injures Officers Near        By Eduardo Medina Matt Stevens
2023-01-01   2023-01-02 n/times-square-machete-attack.html           Times Square                                and Jin Yu Young                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/obituari Anita Pointer Lead Vocalist Who Powered the
2023-01-01   2023-01-02 es/anita-pointer-dead.html                   Pointer Sisters Dies at 74                  By Alex Traub                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/obituari Edith Pearlman 86 Writer Who Won Acclaim
2023-01-01   2023-01-02 es/edith-pearlman-dead.html                  Late in Life                                By Rebecca Chace                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/opinion
2023-01-01   2023-01-02 /pope-benedict-xvi-catholic-church.html      The First Afterlife of Pope Benedict XVI    By Ross Douthat                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/sports/f
2023-01-01   2023-01-02 ootball/nfl-week-17-scores.html              What We Learned This Week                   By Derrik Klassen                TX 9-271-977   2023-03-01




                                                                               Page 4692 of 5793
                        https://www.nytimes.com/2023/01/01/sports/n
                        caafootball/peach-bowl-georgia-ohio-         RazorThin Win in Thriller Gives Georgia
2023-01-01   2023-01-02 state.html                                   Work to Do                                     By Alan Blinder                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/technol Watching China US Pours Cash Into Chip
2023-01-01   2023-01-02 ogy/us-chip-making-china-invest.html         Making                                         By Don Clark and Ana Swanson     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/us/arka In a Small Arkansas City Crime Dread and an
2023-01-01   2023-01-02 nsas-crime-emergency-curfew.html             Emergency Curfew                               By Rick Rojas                    TX 9-271-977   2023-03-01
                                                                                                                    By Nicholas BogelBurroughs
                        https://www.nytimes.com/2023/01/01/us/brya                                                  Rachel Sun Mike Baker and Serge
2023-01-01   2023-01-02 n-kohberger-idaho-murders.html               Idaho Suspect In 4 Murders Studied Killers F Kovaleski                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/us/calif StormBattered California Braces for Another
2023-01-01   2023-01-02 ornia-storm.html                             Wave                                           By Ava Sasani and Steven Moity TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/01/us/nurs ExNurse Held in Assault Of His Patients          By Michael Levenson and
2023-01-01   2023-01-02 e-arrested-sexual-abuse-colorado.html        Police Say                                     McKenna Oxenden                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/us/polit Retirees See New Congress As Less Likely
2023-01-01   2023-01-02 ics/senate-house-retiring-burr-shelby.html   To Make Deals                                  By Emily Cochrane                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/world/a
2023-01-01   2023-01-02 mericas/bolsonaro-florida-brazil.html        Brazil Installs Lula as Leader Loser Is Absent By Jack Nicas and Andr Spigariol TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/world/a North Korea Vows Exponential Increase in
2023-01-01   2023-01-02 sia/north-korea-nuclear-escalate.html        Nuclear Arms Threatening South                 By Choe SangHun                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/world/e
                        urope/putin-critics-russia-new-year-
2023-01-01   2023-01-02 messages.html                                Jailed Putin Critics Offer New Year Messages By Anton Troianovski               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/world/e Unrelenting Russian Airstrikes Leave
2023-01-01   2023-01-02 urope/ukraine-russia-air-attacks.html        Ukrainians Few Options but to Endure           By Andrew E Kramer               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/your-                                                    By Tara Siegel Bernard and Ron
2023-01-01   2023-01-02 money/low-down-payment-mortgages.html How to Buy With Little Down                           Lieber                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2022/12/                                                By Elizabeth Dias and Bethany
2023-01-01   2023-01-02 31/us/human-life-begin.html                  When Does Life Begin                           Mollenkof                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/us/calif Second Earthquake in 2 Weeks Hits Northern By Jose Quezada Steven Moity and
2023-01-02   2023-01-02 ornia-earthquake.html                        California Town                                Ollie Hancock                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/arts/tele
2023-01-02   2023-01-02 vision/tv-shows-this-week.html               This Week on TV                                By Gabe Cohn                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/sports/s
2023-01-02   2023-01-02 occer/pele-santos-brazil-mourn.html          A Legend Was Their Neighbor                    By Ana Ionova                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/world/e
                        urope/climate-activists-germany-stop-        Climate Activists Block German Roads
2023-01-02   2023-01-02 traffic.html                                 Raising Awareness and Animus                   By Christopher F Schuetze        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/23/well/mi The Best Ways to Soothe Someone Whos
2022-12-23   2023-01-03 nd/sad-emotional-comfort-support.html        Upset                                          By Melinda Wenner Moyer          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/26/busines
                        s/whiskey-distillers-wilson-austin-michters- Two Women in Distilling Are Embracing a
2022-12-26   2023-01-03 dickel.html                                  Boom In Whiskeys Popularity                    By Clay Risen                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/26/science How Old Turtle Shells Can Tell Geologic
2022-12-26   2023-01-03 /turtle-shells-fossils-paleontology.html     Time                                           By Asher Elbein                  TX 9-271-977   2023-03-01



                                                                                 Page 4693 of 5793
                        https://www.nytimes.com/2022/12/27/busines Artificial Intelligence Companies Such as
2022-12-27   2023-01-03 s/ai-education-app-riiid.html                Riiid May Be the Future of Test Prep          By Craig S Smith                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/27/well/liv
2022-12-27   2023-01-03 e/aging-sleep-insomnia.html                  Why Does My Sleep Become Worse as I Age By Alisha Haridasani Gupta             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/opinion
2022-12-28   2023-01-03 /intimate-partner-violence.html              Call This Violence What It Is                 By Julia Cooke                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/opinion
2022-12-28   2023-01-03 /jack-dorseys-twitter-signal-privacy.html    The Danger of Privacy at All Costs            By Reid Blackman                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/theater/
2022-12-28   2023-01-03 titanique-titanic-parody-show.html           This Parody Show Has Legs Sea Legs Too        By Sarah Bahr                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/busines
                        s/silicon-valley-tech-talent-mainstream-     Tech Talent Branches Out As Silicon Valley
2022-12-29   2023-01-03 industries.html                              Cuts Back                                     By Steve Lohr and Tripp Mickle   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/science
2022-12-29   2023-01-03 /spacex-launch-mission-control.html          A Look Inside SpaceX                          By David W Brown                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/sports/d Dave Whitlock FlyFishing Artist With a Rod
2022-12-29   2023-01-03 ave-whitlock-dead.html                       or a Brush Dies at 88                         By Richard Sandomir              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/sports/r LongShot Derby Champion Is Twice the
2022-12-29   2023-01-03 ich-strike-kentucky-derby.html               Horse He Used to Be                           By Joe Drape                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/well/m
2022-12-29   2023-01-03 ove/shoulder-injury-prevention.html          Your Shoulders They Also Need Attention       By Cindy Kuzma                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/arts/mu
2022-12-30   2023-01-03 sic/youth-symphony-grammy.html               For Starters In Contention At Grammys         By Kalia Richardson              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/movies/ How an Avatar Species Breached Into the
2022-12-30   2023-01-03 avatar-the-way-of-water-tulkun.html          Real                                          By Carlos Aguilar                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/movies/
2022-12-30   2023-01-03 five-action-movies-to-stream-now.html        Five International Movies That Deliver a Jolt By Robert Daniels                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/opinion
                        /netanyahus-new-ministers-have-very-strict- Several in Israels Cabinet Have Strict Ideas
2022-12-30   2023-01-03 ideas-about-who-is-a-jew.html                About Who Is a Jew                            By Anshel Pfeffer                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/theater/ Bridgette Wimberly 68 Playwright and
2022-12-30   2023-01-03 bridgette-wimberly-dead.html                 Librettist With Power and Grace               By Neil Genzlinger               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/busines Albert Reichmann 93 Patriarch Of a Real
2022-12-31   2023-01-03 s/albert-reichmann-dead.html                 Estate Empire Is Dead                         By Sam Roberts                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/obituari Rabbi Haim Druckman 90 Educator Who
2023-01-01   2023-01-03 es/haim-druckman-dead.html                   Helped Guide Religious Zionism                By Isabel Kershner               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/science A New Puzzle Treats Earth Like a Rubiks
2023-01-01   2023-01-03 /puzzles-math-segerman.html                  Cube                                          By Siobhan Roberts               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/arts/jer Jeremy Renner Is Injured In Snowplow
2023-01-02   2023-01-03 emy-renner-hospitalized.html                 Accident                                      By Jenny Gross                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/arts/tele
2023-01-02   2023-01-03 vision/wes-bentley-yellowstone.html          Putting His Best Face Forward                 By Chris Vognar                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/busines Bidens Economic Laws Could Reshape US
2023-01-02   2023-01-03 s/biden-economy.html                         but Path Ahead Is Rougher                     By Jim Tankersley                TX 9-271-977   2023-03-01




                                                                                 Page 4694 of 5793
                        https://www.nytimes.com/2023/01/02/busines
2023-01-02   2023-01-03 s/china-economy-covid.html                  China Yielded On Lockdown But Woes Last      By Keith Bradsher               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/busines Chinas Coveted Civil Service Jobs Can Be a
2023-01-02   2023-01-03 s/china-youth-unemployment.html             Grind                                        By Claire Fu                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/busines Tesla Short of Expectations Causes Wall
2023-01-02   2023-01-03 s/tesla-fourth-quarter-sales.html           Street Concern                               By Jack Ewing                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/insider/
2023-01-02   2023-01-03 happiness-project.html                      To Find Happiness Try Talking to Strangers   By Josh Ocampo                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/02/nyregio Prosecutors in Brazil Will Revive Fraud Case By Grace Ashford and Andr
2023-01-02   2023-01-03 n/george-santos-brazil.html                 Against Embattled New York Politician        Spigariol                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/nyregio Islamic Extremism Drove Suspect In Times By Andy Newman and Mihir
2023-01-02   2023-01-03 n/times-square-nyc-machete-attack.html      Square Attack Official Says                  Zaveri                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/sports/s Mourners Line Up to Say Goodbye a Last
2023-01-02   2023-01-03 occer/pele-funeral.html                     Time                                         By Jack Nicas                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/us/atlan His 6 Guns Scared Shoppers But Did He
2023-01-02   2023-01-03 ta-gun-laws.html                            Break Any Laws                               By Richard Fausset              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/us/imm This Land Becomes Their Land New US
2023-01-02   2023-01-03 igrants-naturalization-citizenship.html     Citizens Hit a 15Year High                   By Miriam Jordan                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/us/polit Waiting in the Wings If a Favorites Bid
2023-01-02   2023-01-03 ics/mccarthy-speaker-alternatives.html      Falters                                      By Catie Edmondson              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/us/polit
2023-01-02   2023-01-03 ics/mccarthy-speaker.html                   McCarthy Bid To Lead House Is Still in Peril By Catie Edmondson              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/us/polit How War in Ukraine Worsens Global            By Edward Wong and Ana
2023-01-02   2023-01-03 ics/russia-ukraine-food-crisis.html         Starvation                                   Swanson                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/world/a
                        ustralia/australia-helicopter-collision-    4 Dead in Midair Helicopter Crash in
2023-01-02   2023-01-03 crash.html                                  Australia                                    By Natasha Frost                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/world/a
2023-01-02   2023-01-03 ustralia/biofoul-cruise-ship.html           Biofoul on Hull Strands Cruise Ship at Sea   By Natasha Frost                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/world/e
                        urope/benedict-death-catholic-              Catholic Conservatives Who Revered
2023-01-02   2023-01-03 conservatives.html                          Benedict See Ideological Vacuum              By Jason Horowitz               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/world/e
                        urope/kevin-spacey-franjo-tudjman-          Biopic of Divisive Croatian Leader Finds Its
2023-01-02   2023-01-03 croatia.html                                Star Kevin Spacey                            By Andrew Higgins               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/world/e Despite Strikes UK Rail and Health Workers
2023-01-02   2023-01-03 urope/uk-rail-strike-work.html              Enjoy Public Support                         By Stephen Castle               TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/02/world/e Ukrainian Strike Exposes Mistakes By          By Matthew Mpoke Bigg Anatoly
2023-01-02   2023-01-03 urope/ukraine-russia-himars-makiivka.html Putins Forces                                  Kurmanaev and Richard PrezPea   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/world/ Dubai Suspends Its Tax on Alcohol in a Bid
2023-01-02   2023-01-03 middleeast/dubai-alcohol-tax.html          to Fend Off Its Regional Tourism Rivals       By Vivian Nereim                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/opinion
2023-01-03   2023-01-03 /culture-war-greed-cynicism.html           Were Going to Miss Greed and Cynicism         By Paul Krugman                 TX 9-271-977   2023-03-01



                                                                                Page 4695 of 5793
                        https://www.nytimes.com/2023/01/02/sports/f                                             By Emmanuel Morgan and Ken
2023-01-03   2023-01-03 ootball/damar-hamlin-bills-hit.html          Game Halted After Player Collapses         Belson                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/sports/p As Era Ends Penn State Beats Utah in Rose
2023-01-03   2023-01-03 enn-state-utah-rose-bow.html                 Bowl                                       By Billy Witz                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/us/after-
                        boycott-from-law-schools-us-news-world-      After Law Schools Boycott US News Will
2023-01-03   2023-01-03 report-changes-ranking-system.html           Change Its Influential Ranking System      By Ruth Graham                  TX 9-271-977   2023-03-01
                                                                                                                By Luke Broadwater Maggie
                        https://www.nytimes.com/2023/01/02/us/polit In Transcripts Top General Feared Jan 6 Was Haberman Alan Feuer and Emily
2023-01-03   2023-01-03 ics/jan-6-committee-transcripts.html        a Reichstag Moment                          Cochrane                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/busines                                              By Sydney Ember and Ben
2023-01-03   2023-01-03 s/economy/job-turnover-productivity.html    An Endless Training Cycle                   Casselman                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/health/
2023-01-03   2023-01-03 psychedelic-drugs-mushrooms-oregon.html Seeking Certification In Magic Mushrooms By Andrew Jacobs                       TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/03/us/polit Hispanic Evangelicals Now a GOP Bloc Ask
2023-01-03   2023-01-03 ics/trump-desantis-hispanic-evangelicals.html Trump or DeSantis                      By Jennifer Medina                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/well/liv
2023-01-03   2023-01-03 e/awe-wonder-dacher-keltner.html              Delving Into the Science of Awe        By Hope Reese                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/article/space-
2023-01-03   2023-01-03 astronomy-news-2023.html                      Whats Up In 2023                       By Michael Roston                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/12/29/dining/
2022-12-29   2023-01-04 drinks/bourbon-prices-american-whiskey.html Bourbon Too Costly Blame Whiskey Mania      By Clay Risen                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/well/w
2022-12-30   2023-01-04 orkouts-exercises.html                      Here to Help Workouts to Try in 2023        By Erik Vance                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/insider/
2022-12-31   2023-01-04 andrea-stevens.html                         A Fabled NoNonsense Editor of Culture       By Ben Brantley                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/obituari Jean Franco 98 a Fresh Thinker On Latin
2022-12-31   2023-01-04 es/jean-franco-dead.html                    American Writing Dies                       By Clay Risen                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/opinion
2022-12-31   2023-01-04 /anthony-fauci-hiv-aids-act-up.html         Fauci Quietly Shocked Us All                By Peter Staley                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/headwa
2023-01-01   2023-01-04 y/composting-food-leftovers.html            Taking On Food Waste in Central Ohio        By Susan Shain                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/opinion
2023-01-01   2023-01-04 /soul-resolutions-new-year.html             Resolutions That Are Good for the Soul      By Tish Harrison Warren         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/arts/mu
                        sic/new-york-public-library-wax-
2023-01-02   2023-01-04 cylinders.html                              Reviving LongGone Operatic Voices           By Jeremy Gordon                TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/02/movies/
2023-01-02   2023-01-04 avatar-the-way-of-water-high-frame-rate.html Sometimes Clarity Can Be Confusing         By Ben Kenigsberg               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/arts/mu Fred White 67 the Heart Of the FunkFilled
2023-01-03   2023-01-04 sic/frederick-white-dead.html                Beat In Earth Wind amp Fire                By Alex Traub                   TX 9-271-977   2023-03-01




                                                                                Page 4696 of 5793
                        https://www.nytimes.com/2023/01/02/sports/f
2023-01-03   2023-01-04 ootball/who-is-damar-hamlin-bills.html       Hamlin Gives to Others Theyre Giving Back By Billy Witz and Jenny Vrentas   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/arts/des
2023-01-03   2023-01-04 ign/ukraine-children-war-art.html            What Kids Paint In the Midst of War       By Julia Jacobs                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/arts/mu
2023-01-03   2023-01-04 sic/sza-sos-billboard-chart.html             SZA Spends Third Week Atop Charts         By Ben Sisario                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/arts/tele
2023-01-03   2023-01-04 vision/three-pines-louise-penny.html         Tackling Indigenous Suffering in Canada   By Dan Bilefsky                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/busines In Turnaround Europes Natural Gas Prices
2023-01-03   2023-01-04 s/europe-natural-gas-prices.html             Fall to PreInvasion Levels                By Stanley Reed                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/busines Japan Shift on Bond Yields Could Be a Game
2023-01-03   2023-01-04 s/japan-bonds-interest-rates.html            Changer                                   By Ben Dooley                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/busines ESPN Put Game Aside To Focus On the
2023-01-03   2023-01-04 s/media/damar-hamlin-espn.html               News                                      By John Koblin                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/03/busines Union Wins Recognition At a Microsoft
2023-01-03   2023-01-04 s/video-game-workers-microsoft-union.html Company                                      By Noam Scheiber                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/climate California Needs Water But Not This Much
2023-01-03   2023-01-04 /california-flood-atmospheric-river.html   Rain And Not Over and Over                  By Raymond Zhong                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/dining/ New Options in a Quiet Brooklyn
2023-01-03   2023-01-04 a-park-slope-renaissance.html              Neighborhood                                By Nikita Richardson              TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/03/dining/
2023-01-03   2023-01-04 american-food-european-grocery-aisles.html Cool Americans                           By Rachelle Meyer                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/dining/
2023-01-03   2023-01-04 corner-bar-review-pete-wells.html          Rules Sometimes Are Meant to Be Observed By Pete Wells                        TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/03/dining/
2023-01-03   2023-01-04 el-cholo-mexican-restaurant-los-angeles.html A Family Experience Hits a Milestone      By Kevin McKenna                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/dining/
2023-01-03   2023-01-04 nyc-restaurant-news.html                     Off the Menu                              By Florence Fabricant             TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/03/health/a
2023-01-03   2023-01-04 bortion-pill-cvs-walgreens-pharmacies.html Pharmacies To Dispense Abortion Pill        By Pam Belluck                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/03/health/ Doctors Say Blow to Chest Could Alter Heart
2023-01-03   2023-01-04 damar-hamlin-cardiac-arrest-arrhythmia.html Rhythm                                     By Gina Kolata                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/health/s New Study Links Use of Social Media To
2023-01-03   2023-01-04 ocial-media-brain-adolescents.html          Changes in the Brains of Teenagers         By Ellen Barry                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/nyregio Karma Owes Us Football Players Collapse Is By Jesse McKinley and Lauren
2023-01-03   2023-01-04 n/buffalo-bills-ny-fans.html                Latest Horror for Buffalo                  DAvolio                           TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/03/nyregio Defendant Pleads Guilty to 10 Counts of
2023-01-03   2023-01-04 n/terrorism-brooklyn-subway-shooting.html Terrorism in Brooklyn Subway Shooting        By Corey Kilgannon                TX 9-271-977   2023-03-01




                                                                                 Page 4697 of 5793
                        https://www.nytimes.com/2023/01/03/opinion
2023-01-03   2023-01-04 /george-santos-congress.html                A Con Man Is Succeeding Me in Congress        By Tom Suozzi                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/sports/f We Should Never Watch the Same Way
2023-01-03   2023-01-04 ootball/nfl-broadcast-fans.html             Again                                         By Kurt Streeter                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/sports/f
2023-01-03   2023-01-04 ootball/nfl-damar-hamlin-bills-injury.html  A Nightmare That Unfolded In Prime Time       By Ken Belson                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/sports/f
2023-01-03   2023-01-04 ootball/nfl-injuries-statistics.html        What the NFL Says And Doesnt of Injuries      By Alan Blinder                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/sports/s Through the Night Thousands Stood To
2023-01-03   2023-01-04 occer/pele-funeral-santos.html              Glimpse Pel                                   By Jack Nicas and Dado Galdieri   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/technol                                                By Benjamin Weiser David
                        ogy/sam-bankman-fried-pleads-not-                                                         YaffeBellany and Matthew
2023-01-03   2023-01-04 guilty.html                                 FTX Founder Pleads Not Guilty to Fraud        Goldstein                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/technol Twitter Will Relax Restrictions on Political
2023-01-03   2023-01-04 ogy/twitter-political-ads.html              Ads                                           By Kate Conger                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/us/gun- Paralyzed Victims of Gun Violence Find
2023-01-03   2023-01-04 violence-survivors-support-group.html       Solace Among Other Survivors                  By Neelam Bohra                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/03/us/mos Suspect in Idaho Killings Agrees to            By David DeKok and Nicholas
2023-01-03   2023-01-04 cow-idaho-bryan-kohberger-extradition.html Extradition                                   BogelBurroughs                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/us/new- New State Laws Take Effect for 2023
2023-01-03   2023-01-04 state-laws-2023.html                        Covering Betting Wages and Libraries         By Adeel Hassan                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/us/polit An Awkward First Day With No Explanations
2023-01-03   2023-01-04 ics/george-santos-congress.html             From a Frazzled Santos                       By Annie Karni and Michael Gold    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/us/polit
                        ics/kevin-mccarthy-republican-              Inside the Rebellion Old McCarthy Foes And
2023-01-03   2023-01-04 opposition.html                             New Lawmakers                                By Catie Edmondson                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/us/polit Far Right Blocks Path of McCarthy to House
2023-01-03   2023-01-04 ics/kevin-mccarthy-speaker-vote.html        Speaker                                      By Catie Edmondson                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/us/polit Pelosi Era Comes to a Close Leaving a
2023-01-03   2023-01-04 ics/nancy-pelosi.html                       Powerful Speaker Legacy                      By Carl Hulse                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/us/polit
2023-01-03   2023-01-04 ics/ron-desantis-florida-governor.html      DeSantis Takes Oath as Speculation Looms By Michael C Bender                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/us/polit ExCapitol Police Chief Assigns Fault for Jan
2023-01-03   2023-01-04 ics/steven-sund-jan-6-attack.html           6                                            By Luke Broadwater                 TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/03/us/scott-A Masters Mixup Could Have Brought a Real
2023-01-03   2023-01-04 stallings-masters-tournament-invitation.html Estate Agent to Augusta                  By Michael Levenson                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/us/stor Severe Storms Wreak Havoc in Midwest and
2023-01-03   2023-01-04 m-snow-tornado-midwest.html                  South                                    By Neelam Bohra                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/world/a Beijing Condemns Excessive Covid Test
2023-01-03   2023-01-04 sia/china-covid.html                         Rules for Travelers From China           By Alexandra Stevenson                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/world/a Deadly Holiday Floods Wreck South
2023-01-03   2023-01-04 sia/philippines-floods-deaths.html           Philippines                              By Mike Ives and Jason Gutierrez      TX 9-271-977   2023-03-01




                                                                                 Page 4698 of 5793
                        https://www.nytimes.com/2023/01/03/world/e Inflation Slows as Aid Package Helps
2023-01-03   2023-01-04 urope/germany-inflation.html                Germans Pay Electric Bills                  By Melissa Eddy                 TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/03/world/e
                        urope/prince-harry-itv-cbs-interviews-      LeadUp to Prince Harrys Memoir Provides
2023-01-03   2023-01-04 spare.html                                  Distraction for Beleaguered UK              By Mark Landler                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/world/e As 1Year Mark Nears Putin Prepares           By Anton Troianovski and Anatoly
2023-01-03   2023-01-04 urope/putin-russia-ukraine-war.html         Russians for Long Fight                     Kurmanaev                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/world/e
                        urope/us-troops-romania-russia-ukraine-     US Troops Train Near Crimea Sending a
2023-01-03   2023-01-04 war.html                                    Warning to Russia                           By Lara Jakes                   TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/03/world/ HardLine Israeli Minister Visits Jerusalem
2023-01-03   2023-01-04 middleeast/israel-ben-gvir-holy-site.html   Holy Site Palestinians Seethe               By Isabel Kershner              TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/03/world/ Open Wounds of a Failed Democracy in
2023-01-03   2023-01-04 middleeast/tunisia-democracy.html           Tunisia                                     By Vivian Yee                   TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/03/books/
                        manuscript-phishing-scam-filippo-           Mystery Man Who Targeted Manuscripts To     By Elizabeth A Harris and
2023-01-04   2023-01-04 bernardini.html                             Plead Guilty                                Alexandra Alter                 TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/03/us/hous
2023-01-04   2023-01-04 e-speaker-mccarthy-election.html            A Squabbling GOP Sabotages Itself           By Carl Hulse                   TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/03/us/polit
2023-01-04   2023-01-04 ics/andy-beshear-democrats-kentucky.html    Test of Democrats RedState Strategy         By Blake Hounshell              TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/03/world/e Ukraine Keeps Shooting Down Russian
2023-01-04   2023-01-04 urope/ukraine-russia-drones.html            Drones but at a Steep Price                 By Matthew Mpoke Bigg           TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/04/busines                                              By Emily Schmall Karan Deep
2023-01-04   2023-01-04 s/india-delivery-apps.html                  For Indias Couriers Every Second Counts     Singh and Atul Loke             TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/04/dining/
2023-01-04   2023-01-04 new-year-less-waste.html                    Unexpected Joy In Canned Beans              By Melissa Clark                TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/04/world/e Benedict Leaves Behind Mixed Legacy on       By Jason Horowitz and Erika
2023-01-04   2023-01-04 urope/benedict-sexual-abuse-priests.html    Abuse                                       Solomon                         TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/29/style/vi
2022-12-30   2023-01-05 vienne-westwood-a-lifetime-of-looks.html    Vivienne Westwoods Lifetime of Looks        By Guy Trebay                   TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/31/opinion
2022-12-31   2023-01-05 /southwest-airlines-computers.html          The Shameful Secret of Southwests Failure   By Zeynep Tufekci               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2022/12/31/world/a India Presses Own Ideas About the World      By Roger Cohen and Mauricio
2022-12-31   2023-01-05 sia/india-ukraine-russia.html               Order                                       Lima                            TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/01/opinion
2023-01-01   2023-01-05 /putin-russia-ukraine-war-strategy.html     Putin Has No Red Lines                      By Nigel GouldDavies            TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/02/arts/ron Ronald Feldman 84 Lawyer Turned Gallerist
2023-01-02   2023-01-05 ald-feldman-dead.html                       Who Had an Eye for Politics                 By Roberta Smith                TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/02/style/da
2023-01-02   2023-01-05 kar-street-style.html                       An Emerging Fashion Hubs Chaotic Energy     By Simbarashe Cha               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/02/style/th
                        e-etiquette-guru-who-broke-up-with-a-
2023-01-02   2023-01-05 boyfriend-over-text.html                    Emily Post With a Touch of Raunch           By Maureen OConnor              TX 9-271-977    2023-03-01




                                                                               Page 4699 of 5793
                        https://www.nytimes.com/2023/01/03/busines
2023-01-03   2023-01-05 s/japan-businesses-succession.html          Wont Someone Take Over for Me                By Ben Dooley and Hisako Ueno   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/movies/
                        guillermo-del-toro-pinocchio-puppets-stop-
2023-01-03   2023-01-05 motion.html                                 Secrets of Puppets That Spring to Life       By Charles Solomon              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/style/jo
2023-01-03   2023-01-05 hn-fetterman-swearing-in-suit.html          John Fetterman Suits Up for His Next Mission By Vanessa Friedman             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/science Walter Cunningham 90 Who Helped Pave the
2023-01-04   2023-01-05 /space/walter-cunningham-dead.html          Way to the Moon Dies                         By Richard Goldstein            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/arts/des In the Dark Ancient Ghost Carvings Come
2023-01-04   2023-01-05 ign/petroglyph-hunters-norway.html          Forth                                        By Lisa Abend                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/arts/mu A New York Opera Festival Returns in Full
2023-01-04   2023-01-05 sic/prototype-festival-10-years.html        Force                                        By Joshua Barone                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/books/f Fay Weldon British Novelist Who Challenged
2023-01-04   2023-01-05 ay-weldon-dead.html                         Feminist Orthodoxy Dies at 91                By Alan Cowell                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/books/u Talent Agency For Celebrities Bolsters Roster
2023-01-04   2023-01-05 ta-fletcher-deal.html                       Of Top Writers                               By Alexandra Alter              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/busines
                        s/coinbase-settlement-anti-money-           Coinbase Settles Compliance Complaint for By Matthew Goldstein and Emily
2023-01-04   2023-01-05 laundering.html                             100 Million                                  Flitter                         TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/04/busines Fed Official Compares Inflation to Uber
2023-01-04   2023-01-05 s/economy/fed-inflation-rates-kashkari.html Surge Pricing                              By Jeanna Smialek                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/busines Fed Leaders Fretted That Markets Would
2023-01-04   2023-01-05 s/economy/inflation-markets-fed.html        Misread Rate Slowdown Minutes Said         By Jeanna Smialek                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/busines In Headache For Employers Labor Market
2023-01-04   2023-01-05 s/economy/jolts-jobs-layoffs.html           Remains Strong                             By Talmon Joseph Smith            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/busines Supply Problems and Falling Demand Hurt
2023-01-04   2023-01-05 s/new-car-sales-2022.html                   Auto Sales                                 By Neal E Boudette                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/movies/
2023-01-04   2023-01-05 best-picture-oscar-nominees.html            Best Film Here Are 10 Titles To Ponder     By Kyle Buchanan                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/movies/ Teen Stars of Romeo and Juliet Sue Over
2023-01-04   2023-01-05 romeo-and-juliet-nudity-lawsuit.html        Nudity in 1968 Film                        By Julia Jacobs                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/nyregio Adams Lashes Out At de Blasio and Aides
2023-01-04   2023-01-05 n/eric-adams-de-blasio.html                 For Full Frontal Assault                   By Emma G Fitzsimmons             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/nyregio Police Officer Is Suspended Over Punch In
2023-01-04   2023-01-05 n/nypd-officer-suspended.html               Video Clip                                 By Chelsia Rose Marcius           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/nyregio Times Square Suspect Wanted to Carry Out    By Jonah E Bromwich and Mihir
2023-01-04   2023-01-05 n/times-square-jihad-suspect.html           Jihad                                      Zaveri                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/opinion The Fed Doesnt Want Your Pay to Catch Up
2023-01-04   2023-01-05 /workers-employers-inflation-raises.html    to High Inflation                          By Peter Coy                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/sports/f No Perfect Solution For Unfinished Game
2023-01-04   2023-01-05 ootball/bills-bengals-game-season.html      Ahead of the Playoffs                      By Victor Mather                  TX 9-271-977   2023-03-01




                                                                               Page 4700 of 5793
                        https://www.nytimes.com/2023/01/04/sports/f Football Fans Forced to Weigh Their Love for
2023-01-04   2023-01-05 ootball/damar-hamlin-collapse-nfl-fans.html a Violent Sport                              By Andrew Keh                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/sports/f Getting Back to Work Still With Heavy        By Juliet Macur Emmanuel Morgan
2023-01-04   2023-01-05 ootball/damar-hamlin-nfl-players.html       Hearts                                       and Jenny Vrentas                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/sports/s Old Friends Spur Inquiry of the US Mens
2023-01-04   2023-01-05 occer/gregg-berhalter-claudio-reyna.html    Coach                                        By Andrew Keh                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/style/cl Whats Clean Beauty Its in the Eyes of the
2023-01-04   2023-01-05 ean-beauty.html                             Influencers                                  By Elizabeth Paton                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/technol EU Regulators Declare Metas Ad Practices
2023-01-04   2023-01-05 ogy/meta-facebook-eu-gdpr.html              Illegal                                      By Adam Satariano                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/technol Salesforce to Lay Off 10 of Staff and Cut     By Isabella Simonetti and Kalley
2023-01-04   2023-01-05 ogy/salesforce-layoffs.html                 Office Space                                 Huang                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/theater/
2023-01-04   2023-01-05 broadway-record-grosses.html                Broadway Shines Brighter                     By Michael Paulson                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/us/bruc Black Family to Get 20 Million Over Land
2023-01-04   2023-01-05 es-beach-la-county.html                     Seizure From 1924                            By Mike Ives                      TX 9-271-977   2023-03-01
                                                                                                                 By Shawn Hubler Soumya
                        https://www.nytimes.com/2023/01/04/us/calif Powerful Storm Threatens California With     Karlamangla Jacey Fortin and Jill
2023-01-04   2023-01-05 ornia-storm-weather-forecast.html           More Flooding                                Cowan                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/us/idah Suspect in Idaho Killings Got New License By Nicholas BogelBurroughs and
2023-01-04   2023-01-05 o-murders-kohberger-suspect.html            Plate Days After Murders                     Mike Baker                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/us/penn
                        sylvania-house-speaker-rozzi-               An Independent Speaker in Pennsylvania
2023-01-04   2023-01-05 independent.html                            Surprises the Statehouse                     By Campbell Robertson             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/us/polit Biden With McConnell Promotes
2023-01-04   2023-01-05 ics/biden-bipartisanship.html               Compromise as Divisions Rock GOP             By Michael D Shear                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/us/polit With No Leader Chosen House Grinds to a
2023-01-04   2023-01-05 ics/house-speaker-representatives.html      Halt                                         By Luke Broadwater                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/us/polit
                        ics/kevin-mccarthy-house-speaker-vote-      A Crisis Last Seen One Century Ago Grips
2023-01-04   2023-01-05 republicans.html                            The House                                    By Catie Edmondson                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/us/polit At Heart of Speakership Battle Is Aim to
2023-01-04   2023-01-05 ics/mccarthy-republicans-rebellion.html     Diminish Governments Reach                   By Carl Hulse and Emily Cochrane TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/04/us/rick-
                        singer-sentenced-college-admissions-        Ringleader in College Admissions Cheating Is
2023-01-04   2023-01-05 scandal.html                                Sentenced to Over 3 Years in Prison          By Anemona Hartocollis            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/world/a North Korea Introduces Most Beloved
2023-01-04   2023-01-05 sia/north-korea-daughter-succession.html    Daughter                                     By Choe SangHun                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/world/a Golden Gays Return to the Stage in the
2023-01-04   2023-01-05 sia/philippines-elder-drag-queens.html      Philippines                                  By Hannah Reyes Morales           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/world/e EU Urges Members to Test Travelers From
2023-01-04   2023-01-05 urope/china-travelers-covid.html            China for Covid                              By Matina StevisGridneff          TX 9-271-977   2023-03-01




                                                                                Page 4701 of 5793
                        https://www.nytimes.com/2023/01/04/world/e
                        urope/europe-warm-weather-climate-         Welcoming the New Year In TShirts Across
2023-01-04   2023-01-05 change.html                                Europe                                       By Isabella Kwai                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/world/e 200000 Pay Their Respects To Benedict In
2023-01-04   2023-01-05 urope/pope-benedict-xvi-funeral.html       Basilica                                     By Gaia Pianigiani                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/world/e Sunak Promises Hell Lead British Return to By Mark Landler and Stephen
2023-01-04   2023-01-05 urope/rishi-sunak-britain.html             Prosperity                                   Castle                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/world/e                                              By Alan Yuhas Thomas
2023-01-04   2023-01-05 urope/ukraine-russia-cellphones.html       Russian Troops Use Cellphones At Their Peril GibbonsNeff and Yousur AlHlou      TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/04/world/e                                              By Andrew E Kramer Anatoly
2023-01-04   2023-01-05 urope/ukraine-russia-strikes.html          Kyiv Claims Steep Russian Toll in Strikes    Kurmanaev and Christiaan Triebert TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/04/world/ Iran Releases Prominent Actress Who
2023-01-04   2023-01-05 middleeast/taraneh-alidoosti-iran-actress.html Supported Protests                        By Vivian Yee                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/
                        04/us/politics/house-speaker-republicans-vote- How Far Right Are the 20 Republicans Who By Danielle Ivory Charlie Smart
2023-01-04   2023-01-05 against-mccarthy.html                          Voted Against McCarthy                    and Karen Yourish                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/busines As Growth Slows Amazon Announces It Will
2023-01-05   2023-01-05 s/amazon-corporate-layoffs.html                Expand Layoffs                            By Karen Weise                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/nyregio Rival Has Cuddly Answer to the Mayors
2023-01-05   2023-01-05 n/adams-rats-curtis-sliwa.html                 Woes                                      By Dana Rubinstein                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/sports/b
                        asketball/steven-adams-memphis-                The Grizzlies 611 Tattooed Bearded Center
2023-01-05   2023-01-05 grizzlies.html                                 Finally Gets Noticed                      By Scott Cacciola                 TX 9-271-977   2023-03-01
                                                                                                                 By Christopher Flavelle Raymond
                        https://www.nytimes.com/2023/01/05/climate California Floods Pose a Choice Corral the    Zhong Zach Levitt and Mira
2023-01-05   2023-01-05 /california-floods-drought-preparedness.html Water or Let It Roam                        Rojanasakul                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/style/fa Reasons to Get Excited About Fashion in
2023-01-05   2023-01-05 shion-preview-2023.html                        2023                                      By Vanessa Friedman               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/article/new-york-art                                             By Will Heinrich Martha
2021-11-10   2023-01-06 galleries.html                                 Galleries                                 Schwendener and John Vincler      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/30/opinion
2022-12-30   2023-01-06 /new-york-harbor-clean-water-act.html          New York Harbor Now Teems With Life       By John Waldman                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/arts/mu
2023-01-01   2023-01-06 sic/jeremiah-green-dead.html                   Jeremiah Green 45 Modest Mouse Drummer By Alex Traub                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/arts/mu Gangsta Boo 43 Memphis Rapper Who Was
2023-01-02   2023-01-06 sic/gangsta-boo-dead.html                      Once With Three 6 Mafia                   By Eduardo Medina                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/world/e Activist Faces Prison for Removing Banksy
2023-01-03   2023-01-06 urope/banksy-mural-ukraine-prison.html         Mural                                     By Javier C Hernndez              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/briefing
2023-01-04   2023-01-06 /chinas-unfolding-tragedy.html                 Life in China Before and After Zero Covid By Jonathan Wolfe                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/movies/
2023-01-04   2023-01-06 the-subtle-art-of-not-giving-a-review.html     The Subtle Art of Not Giving a            By Ben Kenigsberg                 TX 9-271-977   2023-03-01




                                                                                Page 4702 of 5793
                        https://www.nytimes.com/2023/01/04/movies/
2023-01-04   2023-01-06 the-wounded-man-anthology.html             Passion and Torment in Secret Spaces     By J Hoberman                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/opinion
2023-01-04   2023-01-06 /disabilities-employment-wage.html         Will My Daughter Earn Only 335 an Hour   By Pepper Stetler                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/us/mart Navratilova Discloses a Double Whammy of
2023-01-04   2023-01-06 ina-navratilova-cancer-diagnosis.html      Throat and Breast Cancer                 By Michael Levenson                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/04/us/polit In Supreme Court Brief Bidens Lawyers
2023-01-05   2023-01-06 ics/biden-student-loans-supreme-court.html Defend Student Debt Relief Plan                 By Peter Baker                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/05/arts/dan City Ballet Adds Alexei Ratmansky as Artist
2023-01-05   2023-01-06 ce/alexei-ratmansky-new-york-city-ballet.html in Residence                              By Javier C Hernndez               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/arts/des
                        ign/samuel-fosso-african-photographer-
2023-01-05   2023-01-06 princeton.html                                One Photographer Many Personalities       By Arthur Lubow                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/arts/hen Henry Grossman 86 Photographer of
2023-01-05   2023-01-06 ry-grossman-dead.html                         Celebrities and Beatles Dies              By Sam Roberts                     TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/05/arts/mu How a Composer Went Through the Looking
2023-01-05   2023-01-06 sic/david-del-tredici-alice-in-wonderland.html Glass                                         By Seth Colter Walls          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/arts/tele
                        vision/all-creatures-great-and-small-lying-life-
2023-01-05   2023-01-06 of-adults.html                                   This Weekend I Have                         By Margaret Lyons             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/arts/tele
2023-01-05   2023-01-06 vision/winter-tv-shows-premieres.html            A Winter of Contentment for TV Watching By Mike Hale                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/books/p
2023-01-05   2023-01-06 rince-harry-ghostwriter-moehringer.html          The Ghosts in the Prose                     By Elizabeth A Harris         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/busines                                                   By Lauren Hirsch and Jordyn
2023-01-05   2023-01-06 s/bed-bath-beyond-bankruptcy.html                Bankruptcy Is Possible Retailer Says        Holman                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/busines
2023-01-05   2023-01-06 s/economy/ftc-noncompete.html                    FTC Seeks to Ban Noncompete Deals           By Noam Scheiber              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/busines Sales Dip on Chip Snags but Ford Gains With
2023-01-05   2023-01-06 s/ford-2022-sales-electric-vehicles.html         EVs                                         By Neal E Boudette            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/busines
                        s/mercedes-benz-electric-vehicle-                Mercedes Plans to Build Charging Network in
2023-01-05   2023-01-06 chargers.html                                    US                                          By Jack Ewing                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/busines
2023-01-05   2023-01-06 s/tesla-china-sales-electric-vehicles.html       In China Tesla Sales Are Slumping           By Jack Ewing                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/health/a CVS and Walgreens Plan to Offer Abortion
2023-01-05   2023-01-06 bortion-pills-cvs-walgreens.html                 Pills                                       By Pam Belluck                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/health/
                        damar-hamlin-heart-brain-recovery-buffalo-
2023-01-05   2023-01-06 bills.html                                       Communication Signals Good Turning Point By Gina Kolata                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/movies/
2023-01-05   2023-01-06 alcarras-review.html                             Alcarrs                                     By Devika Girish              TX 9-271-977   2023-03-01



                                                                                  Page 4703 of 5793
                        https://www.nytimes.com/2023/01/05/movies/
2023-01-05   2023-01-06 candy-land-review.html                           Candy Land                                 By Beatrice Loayza               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/movies/
2023-01-05   2023-01-06 january-6th-review.html                          January 6th                                By Brandon Yu                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/movies/
2023-01-05   2023-01-06 last-resort-review.html                          Last Resort                                By Glenn Kenny                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/movies/
2023-01-05   2023-01-06 mars-one-review.html                             Mars One                                   By Amy Nicholson                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/movies/
2023-01-05   2023-01-06 megan-review.html                                Shes Less Chucky More Bratz                By Jason Zinoman                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/movies/
2023-01-05   2023-01-06 the-old-way-review.html                          The Old Way                                By Calum Marsh                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/nyregio New GOP Assemblymans Residency
2023-01-05   2023-01-06 n/lester-chang-assembly.html                     Questioned                                 By Luis FerrSadurn               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/opinion
                        /robert-caro-robert-gottlieb-and-the-art-of-the-
2023-01-05   2023-01-06 edit.html                                        A Glimpse Into the Art of the Edit         By Pamela Paul                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/sports/b Seeking Stability Red Sox Decide Devers Is a
2023-01-05   2023-01-06 aseball/rafael-devers-boston-red-sox.html        Keeper                                     By Tyler Kepner                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/sports/f
                        ootball/damar-hamlin-bills-week-18-
2023-01-05   2023-01-06 patriots.html                                    Encouraging Signs as Hamlin Awakens        By Kris Rhim                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/sports/f
                        ootball/damar-hamlin-response-audio-             In Recordings Frantic Effort to Save Bills By Ken Belson Alan Blinder and
2023-01-05   2023-01-06 recording.html                                   Player                                     Robin Stein                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/sports/j InfluencerTurnedBoxer Signs With an MMA
2023-01-05   2023-01-06 ake-paul-mma-boxing.html                         Company                                    By Kris Rhim                     TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/05/technol A Crypto Bank Linked to FTX Faces a
2023-01-05   2023-01-06 ogy/attorney-general-mashinsky-crypto.html Lawsuit From New York                          By David YaffeBellany              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/technol
                        ogy/personaltech/lastpass-breach-password-
2023-01-05   2023-01-06 safety.html                                 A Data Breach Has Lessons for Us All          By Brian X Chen                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/theater/
2023-01-05   2023-01-06 peter-pan-goes-wrong-broadway.html          Further Adventures In Ineptitude              By Michael Paulson                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/theater/
2023-01-05   2023-01-06 under-the-radar-festival-influences.html    Theater That Jumps Right Off the Page         By Alexis Soloski                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/us/calif Storm Thrashes California From Coast to       By Soumya Karlamangla Kellen
2023-01-05   2023-01-06 ornia-storm-weather-forecast.html           Mountains                                     Browning and Jacey Fortin          TX 9-271-977   2023-03-01
                                                                                                                  By Mike Baker Nicholas
                        https://www.nytimes.com/2023/01/05/us/idah Survivor in Idaho Killings Saw A Masked        BogelBurroughs and Serge F
2023-01-05   2023-01-06 o-murders-suspect-kohberger-evidence.html Man in the Hallway                              Kovaleski                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/us/polit Biden Announces New Crackdown on              By Michael D Shear Eileen
2023-01-05   2023-01-06 ics/biden-border-crossings.html             Migrants Crossing at the Border               Sullivan and Miriam Jordan         TX 9-271-977   2023-03-01




                                                                                  Page 4704 of 5793
                        https://www.nytimes.com/2023/01/05/us/polit Biden to Commemorate Jan 6 by Honoring            By Michael D Shear and Reid J
2023-01-05   2023-01-06 ics/biden-jan-6-medals.html                 Election Officials With Presidential Medals       Epstein                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/us/polit House Reeling Senate Fleeing and GOP
2023-01-05   2023-01-06 ics/house-speaker-1923.html                 Feuding Must Be 23 Again                          By Carl Hulse                      TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/05/us/polit NO DEAL ON DAY 3 EVEN AS
2023-01-05   2023-01-06 ics/house-speaker-vote-kevin-mccarthy.html McCARTHY TRIES CONCESSIONS                         By Catie Edmondson                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/us/polit
                        ics/judge-trump-documents-justice-          Judge Pulls In Investigators Trump Hired To
2023-01-05   2023-01-06 department.html                             Find Files                                        By Alan Feuer                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/us/polit
                        ics/pennsylvania-elections-secretary-of-    Republican Picked to Fill Pennsylvania
2023-01-05   2023-01-06 commonwealth.html                           Elections Post                                    By Reid J Epstein                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/us/polit
2023-01-05   2023-01-06 ics/republican-party-leadership.html        A Leaderless GOP at War With Itself               By Lisa Lerer and Reid J Epstein   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/05/us/polit Pennsylvania Senator Has Prostate Cancer
2023-01-05   2023-01-06 ics/senator-bob-casey-democrat-cancer.html But He Expects to Make a Full Recovery         By Neil Vigdor                   TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/05/us/polit Senior Michigan Senator Says She Wont Run
2023-01-05   2023-01-06 ics/stabenow-michigan-2024.html             in 24                                         By Carl Hulse and Reid J Epstein TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/05/us/polit
2023-01-05   2023-01-06 ics/steve-scalise-mccarthy-alternative.html Scalise Is a Possible Alternative for Speaker By Annie Karni                   TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/05/us/polit Trump Struggles to Play Kingmaker in GOP By Maggie Haberman and Michael
2023-01-05   2023-01-06 ics/trump-speaker-vote-mccarthy.html        Speaker Fight                                 C Bender                         TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/05/us/sout South Carolina Constitution Includes Right to
2023-01-05   2023-01-06 h-carolina-abortion-supreme-court.html      Abortion State Court Says                     By Kate Zernike                  TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/05/us/texa They Built the Wall in Texas Now Some Fear
2023-01-05   2023-01-06 s-private-border-wall.html                  it May Fall Down                              By J David Goodman               TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/05/us/us- Pentagon Expands Allowance Of Parental
2023-01-05   2023-01-06 military-parental-leave.html                Leave to 12 Weeks                             By Amanda Holpuch                TX 9-271-977         2023-03-01

                        https://www.nytimes.com/2023/01/05/world/a Blasts in Residential Area in Somalia Kill
2023-01-05   2023-01-06 frica/car-explosions-somalia-al-shabab.html Over 20 Al Shabab Claim Responsibility            By Abdi Latif Dahir                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/world/a
                        mericas/el-chapo-son-ovidio-guzman-         El Chapos Son Caught Cartel Reacts                By Natalie Kitroeff and Steve
2023-01-05   2023-01-06 mexico.html                                 Violently                                         Fisher                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/world/a
2023-01-05   2023-01-06 sia/kenneth-rowe-dead.html                  Kenneth Rowe 90 Who Defected in Jet Dies          By Richard Goldstein               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/world/a How a Nuclear Dump in Taiwan Turned a              By Amy Qin Amy Chang Chien
2023-01-05   2023-01-06 sia/lanyu-taiwan-nuclear-waste.html         Tribe Into Activists                              and Lam Yik Fei                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/world/e
2023-01-05   2023-01-06 urope/pope-benedict-funeral.html            Era of 2 Popes Is Laid to Rest If Not Its Rifts   By Jason Horowitz                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/05/world/e
2023-01-05   2023-01-06 urope/prince-harry-book-william-fight.html Prince Harry Writes of Attack by His Brother By Mark Landler                          TX 9-271-977   2023-03-01



                                                                                   Page 4705 of 5793
                        https://www.nytimes.com/2023/01/05/world/e Ukraine Finds Evidence of Sex Crimes in          By Carlotta Gall and Laura
2023-01-05   2023-01-06 urope/ukraine-sexual-violence-russia.html  Areas Russia Occupied                            Boushnak                     TX 9-271-977   2023-03-01

                        https://www.nytimes.com/live/2023/01/05/us/
                        house-speaker-vote/the-democrats-stay-united-With GOP Splintering Democrats Revel in
2023-01-05   2023-01-06 as-the-republicans-struggle-to-elect-a-speaker Unity                                       By Stephanie Lai              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/nyregio Shootings and Murders Fall but NYPD Still By Chelsia Rose Marcius and Ed
2023-01-06   2023-01-06 n/new-york-crime-stats.html                    Wrestles With Property Crime                Shanahan                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/opinion
2023-01-06   2023-01-06 /america-kevin-mccarthy-great.html             Making America the Opposite of Great        By Paul Krugman               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/sports/f
2023-01-06   2023-01-06 ootball/bills-bengals-game-canceled.html       NFL Decides to Cancel BillsBengals Game By Jenny Vrentas                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/us/polit At Capitol Confusion And Near Collisions In
2023-01-06   2023-01-06 ics/speaker-election-house-media.html          3 Days of Futility                          By Michael Gold               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/world/e
2023-01-06   2023-01-06 urope/russia-ukraine-ceasefire.html            Putin Calls CeaseFire Ukraine Is Skeptical  By Anatoly Kurmanaev          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/busines How Even a Soft Landing May Have Its
2023-01-06   2023-01-06 s/economy/recession-soft-landing.html          Downside                                    By Talmon Joseph Smith        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/us/polit Two Years Later Prosecutions of Jan 6
2023-01-06   2023-01-06 ics/jan-6-capitol-riots-prosecutions.html      Rioters Continue to Grow                    By Alan Feuer                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/world/e WarRavaged Economy Is Saved by
2023-01-06   2023-01-06 urope/ukraine-economy-russia.html              Adaptability                                By Liz Alderman               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/27/travel/b Um Perhaps Your Baby Will Fit in the
2022-12-27   2023-01-07 abies-flying-first-class.html                  Overhead Bin                                By Danielle Braff             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/27/travel/c
2022-12-27   2023-01-07 aribbean-st-vincent-grenadines.html            Waterworld Island Hopping in the Grenadines By Nina Burleigh              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/31/movies/
2022-12-31   2023-01-07 tar-women-talking-metoo.html                   Breaking Out Of MeToos Film Formula         By Amanda Hess                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/busines
                        s/energy-environment/electricity-deregulation-
2023-01-04   2023-01-07 energy-markets.html                            Deregulation Has Elevated Energy Costs      By Ivan Penn                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/busines James Buster Corley 72 CoFounder Of
2023-01-04   2023-01-07 s/james-buster-corley-dead.html                Entertainment Chain Dave amp Busters        By Daniel Victor              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/arts/des
                        ign/columbia-business-school-diller-scofidio-
2023-01-05   2023-01-07 renfro-kravis-geffen.html                      A Temple of Capitalism Opens Itself Up      By James S Russell            TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/05/arts/des US Officials Repatriate A Looted Relic to
2023-01-05   2023-01-07 ign/relic-repatriated-palestinian-authority.html Palestine                                  By Tom Mashberg              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/opinion
2023-01-05   2023-01-07 /kevin-mccarthy-republican-speaker.html          Why the GOPs Fringe Has So Much Power      By Richard H Pildes          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/opinion
2023-01-05   2023-01-07 /supreme-court-decisions-justices.html           A Ritual Returns to the Supreme Court      By Linda Greenhouse          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/opinion
2023-01-05   2023-01-07 /trans-athlete-swimming.html                     I Chose to Compete as My True Trans Self   By Iszac Henig               TX 9-271-977   2023-03-01



                                                                                   Page 4706 of 5793
                        https://www.nytimes.com/2023/01/05/sports/d UFC and Partners Are Reticent About
2023-01-06   2023-01-07 ana-white-slap-wife-ufc.html                Executives Slapping His Wife at Club         By Kevin Draper                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/arts/dan
2023-01-06   2023-01-07 ce/alexei-ratmansky-city-ballet.html        Ballet Suddenly Got More Exhilarating        By Gia Kourlas                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/arts/des
2023-01-06   2023-01-07 ign/louvre-attendance-covid.html            The Louvre Limits Visitors by OneThird       By Dan Bilefsky                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/arts/mi Michael Snow Versatile Playful and Prolific
2023-01-06   2023-01-07 chael-snow-dead.html                        Artist Is Dead at 94                         By J Hoberman                     TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/06/arts/mu Daniel Barenboim Is Resigning After Decades By Javier C Hernndez and Alex
2023-01-06   2023-01-07 sic/daniel-barenboim-resignation-berlin.html at Berlin Opera                           Marshall                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/arts/mu
                        sic/santtu-matias-rouvali-new-york-
2023-01-06   2023-01-07 philharmomic.html                            A Leading Figure Takes the Podium         By Zachary Woolfe                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/06/busines Eurozone Inflation Eases On Lower Energy
2023-01-06   2023-01-07 s/economy/eurozone-inflation-december.html Prices                                     By Patricia Cohen                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/busines Fed Wrestles With How to Better Understand By Jeanna Smialek and Ben
2023-01-06   2023-01-07 s/economy/inflation-federal-reserve.html   Inflation                                  Casselman                            TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/06/busines Hiring Is Healthy But Pace Receded During
2023-01-06   2023-01-07 s/economy/jobs-report-december-2022.html December                                       By Lydia DePillis                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/busines
2023-01-06   2023-01-07 s/markets-stocks-jobs-inflation.html        Markets Rise After Healthy Jobs Report      By Joe Rennison                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/busines
                        s/media/cspan-house-speaker-vote-           CSPAN Gets Ratings Spike From Drama In
2023-01-06   2023-01-07 ratings.html                                the House                                   By Michael M Grynbaum              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/busines
2023-01-06   2023-01-07 s/southwest-airlines-customer-costs.html    Paying for Southwests Meltdown              By Isabella Simonetti              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/busines
                        s/southwest-airlines-meltdown-costs-        Southwests Meltdown Could Cost It Up to
2023-01-06   2023-01-07 reimbursement.html                          825 Million                                 By Niraj Chokshi and Peter Eavis   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/busines Theft Threat Overstated Walgreens Executive
2023-01-06   2023-01-07 s/walgreens-shoplifting.html                Says                                        By Amanda Holpuch                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/climate Biden Administration Is Proposing to Tighten
2023-01-06   2023-01-07 /epa-soot-pollution-biden.html              Limits on Deadly Soot                       By Coral Davenport                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/health/a FDA Approves Drug for Early Alzheimers
2023-01-06   2023-01-07 lzheimers-drug-leqembi-lecanemab.html       That Has Promise and Risk                   By Pam Belluck                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/nyregio Republican Is Suspected Of Violating
2023-01-06   2023-01-07 n/lester-chang-residency-assembly.html      Housing Law                                 By Luis FerrSadurn                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/nyregio New York Judge Scolds Trumps Lawyers         By Jonah E Bromwich and Ben
2023-01-06   2023-01-07 n/trump-letitia-james-lawsuit.html          And Allows Civil Fraud Case to Proceed      Protess                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/sports/b
                        asketball/donovan-mitchell-50-point-        From Whoa to Oh 50Point Games Are
2023-01-06   2023-01-07 games.html                                  Proliferating                               By Victor Mather                   TX 9-271-977   2023-03-01



                                                                                Page 4707 of 5793
                        https://www.nytimes.com/2023/01/06/sports/f Art McNally the Father of Instant Replay in
2023-01-06   2023-01-07 ootball/art-mcnally-dead.html               the NFL Dies at 97                          By Alex Williams                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/sports/f Breathing Tube Removed Hamlin Talks With By Emmanuel Morgan and Dan
2023-01-06   2023-01-07 ootball/damar-hamlin-bills-update.html      the Bills by Video Chat                     Higgins                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/sports/j
                        aron-ennis-karen-chukhadzhian-fight-        Philly Welterweight Out to Show the World
2023-01-06   2023-01-07 preview.html                                He Is the Main Event                        By Morgan Campbell               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/sports/t Leg Injury Forces Alcaraz Out of Australian
2023-01-06   2023-01-07 ennis/carlos-alcaraz-australian-open.html   Open                                        By Christopher Clarey            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/sports/t Dick Savitt 95 a Tennis Champion Who Won
2023-01-06   2023-01-07 ennis/dick-savitt-dead.html                 2 Majors in the Same Year                   By Richard Goldstein             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/theater/
                        are-we-not-drawn-onward-to-new-era-
2023-01-06   2023-01-07 review.html                                 Paradise Regained When Played In Reverse By Alexis Soloski                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/us/calif Bleak Sign of Storms Power Undersides of
2023-01-06   2023-01-07 ornia-storms-trees.html                     Thousands of Trees                          By Shawn Hubler and Jill Cowan TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/06/us/colle Former USC Official Gets Sentenced To Six
2023-01-06   2023-01-07 ge-admissions-scandal-heinel-usc.html       Months in Admissions Scandal                By Anemona Hartocollis           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/us/idah Documents Detail Search for Suspect in
2023-01-06   2023-01-07 o-killings-investigation.html               Killing of 4 Idaho Students                 By Mike Baker                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/us/new                                               By Livia AlbeckRipka and Eduardo
2023-01-06   2023-01-07 port-news-school-shooting-virginia.html     Boy 6 Shot Teacher in Virginia Police Say   Medina                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/us/polit
                        ics/biden-jan-6-presidential-citizens-      On Jan 6 Biden Honors Those Who Defended
2023-01-06   2023-01-07 medal.html                                  Democracy                                   By Michael D Shear               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/us/polit SEC Closes Investigation Of Stock Sales Of
2023-01-06   2023-01-07 ics/burr-sec-inquiry-closed.html            ExSenator                                   By Kate Kelly                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/us/polit US Military Inquiry Reveals Errors in
2023-01-06   2023-01-07 ics/drone-civilian-deaths-afghanistan.html  Botched Kabul Drone Strike                  By Azmat Khan                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/us/polit
2023-01-06   2023-01-07 ics/house-speaker-vote-mccarthy.html        Chaotic Scene As the GOP Stays Locked       By Annie Karni                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/06/us/polit
2023-01-06   2023-01-07 ics/mccarthy-house-speaker-republicans.html Reaching Out For the Gavel In Handcuffs     By Luke Broadwater             TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/06/us/sout Gerrymander By the GOP Was Illegal A
2023-01-06   2023-01-07 h-carolina-gerrymandering.html              Panel Rules                                 By Michael Wines               TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/06/us/texa
2023-01-06   2023-01-07 s-harris-county-elections.html              Republicans Dispute Vote Results in Houston By J David Goodman             TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/06/us/wide More Lanes Meant to Cut Traffic Made It      By Eden Weingart and Alyssa
2023-01-06   2023-01-07 n-highways-traffic.html                     Worse                                       Schukar                        TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/06/world/a
                        frica/eugenia-kargbo-chief-heat-officer-    In West African Hub She Works to Counter
2023-01-06   2023-01-07 africa.html                                 Rising Temperatures                         By Elian Peltier               TX 9-271-977     2023-03-01




                                                                               Page 4708 of 5793
                        https://www.nytimes.com/2023/01/06/world/a The Toll of Capturing El Chapos Son 10
2023-01-06   2023-01-07 mericas/mexico-capture-chapo-deaths.html   Soldiers 19 Cartel Members Dead              By Richard PrezPea                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/world/a
                        sia/china-covid-rural-villages-            Lunar New Year Means Travel and China        By David Pierson Joy Dong Claire
2023-01-06   2023-01-07 countryside.html                           Fears a Covid Surge                          Fu and Olivia Wang                 TX 9-271-977   2023-03-01
                                                                   In Memoir Prince Harry Says He Killed 25
                        https://www.nytimes.com/2023/01/06/world/e Taliban Fighters While Serving in
2023-01-06   2023-01-07 urope/prince-harry-memoir-afghanistan.html Afghanistan                                  By Isabella Kwai                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/world/e In Portugal Famed Surfer Killed While Riding
2023-01-06   2023-01-07 urope/surfer-marcio-freire-dead.html       Wave                                         By Euan Ward                       TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/06/world/e Fighting Continues in Ukraines East Despite
2023-01-06   2023-01-07 urope/ukraine-russia-bakhmut-ceasefire.html Russias CeaseFire Claim                        By Andrew E Kramer              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/world/e With New Weapons Ukraine Gears Up For           By Steven Erlanger and Thomas
2023-01-06   2023-01-07 urope/ukraine-war-armored-vehicles.html        Renewed Fight                               GibbonsNeff                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/your-
                        money/secure-act-retirement-freelancers-gig- Freelancers Will Get Help Saving for
2023-01-06   2023-01-07 workers.html                                   Retirement                                  By Ann Carrns                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/article/iran-protests- Sentenced to Death as Iran Cracks Down on a By Farnaz Fassihi and Cora
2023-01-06   2023-01-07 death-sentences-executions.html                Relentless Uprising                         Engelbrecht                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/live/2023/01/06/us/
                        house-speaker-vote-mccarthy/seen-by-some-
                        as-a-speaker-alternative-mchenry-is-trying-to- A Potential Speaker Races To Rescue
2023-01-06   2023-01-07 rescue-mccarthy                                McCarthys Bid                               By Carl Hulse                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/06/sports/b Dodgers Cut Ties With Bauer but Still Owe
2023-01-07   2023-01-07 aseball/trevor-bauer-dodgers-released.html  Him 225 Million in Pay                      By Scott Miller                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/sports/d Cardiac Arrest a Peril In Hockey Basketball
2023-01-07   2023-01-07 amar-hamlin-cardiac-arrest.html             And Other Sports Too                        By Kris Rhim                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/us/polit
                        ics/mccarthy-affable-and-malleable-is-
                        compromising-his-way-to-the-                For McCarthy Elusive Speakership Role Is
2023-01-07   2023-01-07 speakership.html                            Still Just Out of Reach                     By Catie Edmondson                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/us/polit A Confluence of Forces AntiMcCarthy and
2023-01-07   2023-01-07 ics/mccarthy-trump-republicans.html         Pro2020 Election Lies                       By Luke Broadwater                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/nyregio BikePath Killings Is Rare Case Of US
2023-01-07   2023-01-07 n/garland-biden-saipov-death-penalty.html   Seeking Death Penalty                       By Benjamin Weiser                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/sports/i A Motivator Cheerleader and Therapist Steps
2023-01-07   2023-01-07 ronman-mike-reilly.html                     Away                                        By Talya Minsberg                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/07/technol Tech Slump Doesnt Slow New Boom In AI
2023-01-07   2023-01-07 ogy/generative-ai-chatgpt-investments.html Field                                         By Erin Griffith and Cade Metz    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/technol Alexa Youre Loved and Loathed Just Like
2023-01-07   2023-01-07 ogy/personaltech/alexa-amazon-uses.html    Family                                        By Hanna Ingber                   TX 9-271-977   2023-03-01



                                                                                 Page 4709 of 5793
                        https://www.nytimes.com/2022/10/26/books/b Literary Destinations Read Your Way
2022-10-26   2023-01-08 ooks-istanbul.html                          Through Istanbul                           By Elif Shafak                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/11/21/arts/dan
2022-11-21   2023-01-08 ce/gesture-archive-art.html                 Everyday Gestures Turned Into Art          By Zoey Poll and Melissa Schriek   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/11/21/books/r
2022-11-21   2023-01-08 eview/allie-rowbottom-aesthetica.html       Life in Plastic                            By Haley Mlotek                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/11/27/books/r
2022-11-27   2023-01-08 eview/a-heart-that-works-rob-delaney.html   Where Words Fail Humor Glimmers            By Mary Laura Philpott             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/05/books/r
2022-12-05   2023-01-08 eview/american-caliph-shahan-mufti.html     Two Days of Terror in Washington DC        By Jonathan Mahler                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/06/books/r
                        eview/left-handed-woman-judith-
2022-12-06   2023-01-08 thurman.html                                Allure                                     By Hermione Hoby                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/12/07/books/r
2022-12-07   2023-01-08 eview/butts-a-backstory-heather-radke.html Bringing Up the Rear                        By Lauren Christensen              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/12/books/e
2022-12-12   2023-01-08 ccentric-lives-telegraph-obituaries.html    The Dead Beat                              By Dwight Garner                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/12/books/r
                        eview/freedoms-dominion-jefferson-
2022-12-12   2023-01-08 cowie.html                                  Taking Liberties                           By Jeff Shesol                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/13/books/r
2022-12-13   2023-01-08 eview/gunk-baby-jamie-marina-lau.html       Waxing Poetic                              By Alexandra Tanner                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/19/style/fr
2022-12-19   2023-01-08 eshdirect-reusable-bags-fashion.html        Delivered to Home But Make It Fashion      By Adriane Quinlan                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/20/books/r
2022-12-20   2023-01-08 eview/beaverland-leila-philip.html          Leave It to Beavers                        By Jennifer Szalai                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/22/realesta
2022-12-22   2023-01-08 te/gay-street-nyc.html                      Having a Past but No Future                By Penelope Green                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/12/23/books/r
                        eview/audiobooks-the-number-ones-tom-
                        breihan-how-far-the-light-reaches-sabrina-
2022-12-23   2023-01-08 imbler-young-bloomsbury-nino-strachey.html The Power of a Good Narrative               By Sebastian Modak                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/23/magazi
2022-12-23   2023-01-08 ne/emily-in-paris-netflix.html              Bang About                                 By Iva Dixit                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/26/style/co
2022-12-26   2023-01-08 vid-flu-rsv-winter-social-spaces.html       For Some the Mask Maintains Its Hold       By Alyson Krueger                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/27/nyregio Two Paintings Provoke A Wrenching
2022-12-27   2023-01-08 n/george-washington-paintings-met.html      Discourse                                  By James Barron                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/fashion
                        /eight-important-moments-in-responsible-
2022-12-28   2023-01-08 fashion-this-year.html                      The Push for Sustainability                By Elizabeth Paton                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/29/books/r Does BestSelling Advice Stand the Test of
2022-12-29   2023-01-08 eview/advice-books.html                     Time                                       By Elisabeth Egan                  TX 9-271-977   2023-03-01



                                                                                Page 4710 of 5793
                        https://www.nytimes.com/2022/12/30/t-
2022-12-30   2023-01-08 magazine/johannesburg-where-to-go.html       Art Eating and Chilling in Johannesburg     By Mary Holland               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/01/movies/
                        robert-caro-turn-every-page-                 Robert Caro on Trollope and Typewriter
2023-01-01   2023-01-08 documentary.html                             Ribbons                                     By Kathryn Shattuck           TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/02/books/r
                        eview/r-c-sherriff-the-hopkins-
2023-01-02   2023-01-08 manuscript.html                              The Novel of the Cozy Catastrophe           By Alec NevalaLee             TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/02/magazi
2023-01-02   2023-01-08 ne/juan-tamariz-magic.html                   Chantatachan                                By Shuja Haider               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/02/movies/
2023-01-02   2023-01-08 lashana-lynch-woman-king.html                Vulnerability Strengthens a Warrior         By Kathryn Shattuck           TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/02/movies/
2023-01-02   2023-01-08 lydia-tar-juilliard-conducting-scene.html    A Master Class in Ambiguity                 By AO Scott                   TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/02/opinion What Lies at the Heart of the American
2023-01-02   2023-01-08 /failure-romania-america.html                Dream                                       By Costica Bradatan           TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/02/realesta This Couple Ended Up Winning the Waiting
2023-01-02   2023-01-08 te/renters-midtown-east-manhattan.html       Game                                        By Alix Strauss               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/interactive/2023/01/
2023-01-02   2023-01-08 02/magazine/iggy-pop-interview.html          Iggy Pop Isnt About to Whitewash His Past   By David Marchese             TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/03/movies/
2023-01-03   2023-01-08 diego-calva-babylon.html                     Once a Reluctant Actor Now a Star           By Carlos Aguilar             TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/03/movies/
2023-01-03   2023-01-08 eo-donkey-escape.html                        In an Escape Elation and Unease             By Manohla Dargis             TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/03/opinion
2023-01-03   2023-01-08 /bts-k-pop-conspiracy.html                   A Rumor About KPop Is Ruining My Life       By Euny Hong                  TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/03/opinion
2023-01-03   2023-01-08 /chronic-pain-suicides.html                  Americans With Chronic Pain Are Dying       By Maia Szalavitz             TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/03/realesta
2023-01-03   2023-01-08 te/ceiling-room-decor.html                   Decorating a Room Be Sure to Look Up        By Tim McKeough                TX 9-271-977   2023-03-01
                                                                                                                 By Rosanne Cash Kashana Cauley
                                                                                                                 Alexander Chee Rayne
                                                                                                                 FisherQuann Andy Miller Jack
                        https://www.nytimes.com/2023/01/03/style/ne                                              Nicas Motoko Rich and Kyle
2023-01-03   2023-01-08 w-year-celebrations.html                    How We Welcomed the New Year                 Berger                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/magazi
2023-01-04   2023-01-08 ne/amazon-tipping-point.html                Tipping Away                                By Alex Cuadros                TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/04/magazi Should I Tell My Matchmaking Service That
2023-01-04   2023-01-08 ne/cancer-matchmaking-ethics.html           Im a Cancer Survivor                        By Kwame Anthony Appiah        TX 9-271-977    2023-03-01
                                                                    The Happiest Color Candied orange peel and
                        https://www.nytimes.com/2023/01/04/magazi saffron liven up lamb in a celebratory Afghan
2023-01-04   2023-01-08 ne/lamb-and-rice-recipe.html                dish                                        By Ligaya Mishan               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/04/magazi
2023-01-04   2023-01-08 ne/lord-of-the-rings-worm-ouroboros.html    The Worm Ouroboros                          By Carlo Rotella               TX 9-271-977    2023-03-01




                                                                                Page 4711 of 5793
                        https://www.nytimes.com/2023/01/04/movies/
2023-01-04   2023-01-08 michelle-williams-fabelmans.html           Meet the New Bolder Michelle Williams            By Kyle Buchanan            TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/04/movies/
2023-01-04   2023-01-08 monologue-till-resurrection-saint-omer.html Hanging On Her Every Word                       By Nicolas Rapold           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/opinion
2023-01-04   2023-01-08 /anti-aging-science-longevity.html             As a Doctor I See Aging Differently          By Daniela J Lamas          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/opinion Why Did George Santos Lie About Being
2023-01-04   2023-01-08 /george-santos-jewish-heritage.html            Jewish                                       By Mark Oppenheimer         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/opinion
2023-01-04   2023-01-08 /kevin-mccarthy-speaker-race.html              Leopards Eat Kevin McCarthys Face            By Michelle Goldberg        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/realesta
                        te/fort-lee-nj-like-being-in-the-city-without- A Borough With a Busy Bridge for Better or
2023-01-04   2023-01-08 being-in-the-city.html                         Worse                                        By Kathleen Lynn            TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/04/realesta 17 Million Homes in Connecticut Georgia and
2023-01-04   2023-01-08 te/homes-connecticut-georgia-montana.html Montana                                          By Angela Serratore          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/style/a-
2023-01-04   2023-01-08 tablecloth-as-source-material.html           Their Collaboration Started With a Tablecloth By Thessaly La Force         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/style/str
2023-01-04   2023-01-08 ay-cat-winter.html                           A Neighbors Cold Cat                          By Philip Galanes            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/theater/
2023-01-04   2023-01-08 stomp-closing-memories.html                  Decades of Memories                           By Nicole Herrington         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/theater/
2023-01-04   2023-01-08 stomp-closing.html                           The Beat Is Coming to an End for Stomp        By Rachel Sherman            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/theater/ Frank Galati 79 a Towering Figure In
2023-01-05   2023-01-08 frank-galati-dead.html                       ChicagoArea Theater for Decades               By Neil Genzlinger           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/arts/des
2023-01-05   2023-01-08 ign/seoul-art-gallery-museum-korea.html      In Seoul Its Like Another Olympics            By Andrew Russeth            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/arts/mu
2023-01-05   2023-01-08 sic/vincente-lusitano.html                   Composer Flourishes in Digital Age            By Garrett Schumann          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/magazi You Have To Learn to Listen To These
2023-01-05   2023-01-08 ne/boston-homeless-dr-jim-oconnell.html      Patients                                      By Tracy Kidder              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/magazi
2023-01-05   2023-01-08 ne/judge-john-hodgman-obituary.html          Bonus Advice From Judge John Hodgman          By Judge John Hodgman        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/magazi                                                  By Ama Codjoe and Victoria
2023-01-05   2023-01-08 ne/poem-on-seeing-and-being-seen.html        Poem On Seeing and Being Seen                 Chang                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/movies/
2023-01-05   2023-01-08 raul-castillo-inspection.html                He Can Empathize With Ambivalence             By Kathryn Shattuck          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/nyregio
                        n/connecticut-quentin-williams-killed-       Connecticut Lawmaker Dies In Crash After
2023-01-05   2023-01-08 crash.html                                   Inaugural Ball                                By Karen Zraick              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/opinion
2023-01-05   2023-01-08 /covid-testing-rules-china-usa.html          Covid and Racism Again                        By Frankie Huang             TX 9-271-977   2023-03-01




                                                                                  Page 4712 of 5793
                        https://www.nytimes.com/2023/01/05/realesta
2023-01-05   2023-01-08 te/winter-vacation-rentals.html              Where Snowy Profits Are Possible              By Michael Kolomatsky         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/style/lo
2023-01-05   2023-01-08 s-angeles-new-york.html                      All Signs Around Here Point to Los Angeles    By Michael M Grynbaum         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/style/no Maybe You Shouldnt Mock It Until Youve
2023-01-05   2023-01-08 nalcoholic-cocktails-mocktails.html          Tried It                                      By Alyson Krueger             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/us/dam Players Rely on an Unseen Teammate Their
2023-01-05   2023-01-08 ar-hamlin-prayers-football-religion.html     Faith                                         By Ruth Graham                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/
                        05/realestate/queens-new-york-studio-        With Manhattan Rents Rising She Fled to
2023-01-05   2023-01-08 apartment.html                               Queens With a 200000 Budget                   By Debra Kamin                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/arts/dan
2023-01-06   2023-01-08 ce/m3gan-dancing-robots.html                 We Shouldnt Fear Robots Right                 By Margaret Fuhrer            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/arts/mu
2023-01-06   2023-01-08 sic/trailer-music-trailerization.html        For Film Trailers Not the Same Old Song       By Eric Ducker                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/arts/tele
                        vision/alexandra-daddario-mayfair-
2023-01-06   2023-01-08 witches.html                                 Exploring the Tug of Opposing Forces          By Sarah Bahr                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/books/r
                        eview/dreyfus-affair-the-prisoner-and-the-
2023-01-06   2023-01-08 writer-heather-camlot-sophie-casson.html     The Dreyfus Affair Revisited                  By Michael Rosen              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/books/r
                        eview/mr-lincoln-sits-for-his-portrait-the-
                        story-of-a-photograph-that-became-an-        Was Abraham Lincoln a Social Media
2023-01-06   2023-01-08 american-icon-leonard-marcus.html            Influencer                                    By Candace Fleming            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/busines
2023-01-06   2023-01-08 s/retirement-planning-advice.html            With a Financial Planner Caution Is the Key   By Mark Miller                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/insider/ A Journey to the Origins of Our Space
2023-01-06   2023-01-08 first-space-calendar.html                    Calendar                                      By Danielle Dowling           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/movies/
                        black-panther-wakanda-forever-funeral-
2023-01-06   2023-01-08 scene.html                                   A Poignant Scenes Special Moments             By Kalia Richardson           TX 9-271-977   2023-03-01
                                                                                                                   By Stephanie Goodman Mekado
                        https://www.nytimes.com/2023/01/06/movies/                                                 Murphy Jason M Bailey Jason
2023-01-06   2023-01-08 oscar-nominations-best-picture.html        These Would Be Our Nominations                  Farago and Andrew LaVallee    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/nyregio
                        n/nyc-apartments-blackstone-rent-          Manhattan Tenants Win Rent Dispute With
2023-01-06   2023-01-08 dispute.html                               Wall St Giant                                   By Mihir Zaveri               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/nyregio
2023-01-06   2023-01-08 n/thruway-rest-stops-gentrification.html   Must We Gentrify the Rest Stop                  By Ginia Bellafante           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/opinion
2023-01-06   2023-01-08 /afghanistan-family-war.html               My Family Cant Stay in Afghanistan              By Jamil Jan Kochai           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/opinion
2023-01-06   2023-01-08 /house-speaker-kevin-mccarthy.html         How Will the Saga Of Congress End               By Katherine Miller           TX 9-271-977   2023-03-01




                                                                                 Page 4713 of 5793
                        https://www.nytimes.com/2023/01/06/opinion A Peek Behind the Curtain of American
2023-01-06   2023-01-08 /kruse-zelizer-myth-history.html            History                                     By Carlos Lozada                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/opinion                                              By Lydia Polgreen and DAngelo
2023-01-06   2023-01-08 /lgbtq-rights-activism-alabama.html         What Its Like to Be Queer In Alabama        Lovell Williams                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/opinion
2023-01-06   2023-01-08 /mentally-ill-new-york.html                 How Can We Care for the Mentally Ill        By Hilary de Vries              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/realesta
                        te/washington-heights-audubon-terrace-      Audubon Terrace Reaches Out to Its
2023-01-06   2023-01-08 hispanic-art.html                           Neighborhood                                By John Freeman Gill            TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/06/style/eli A Train MixUp Leads to an Unexpected
2023-01-06   2023-01-08 zabeth-gregory-charles-aoki-wedding.html     Connection                                   By Emma Grillo                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/style/eri Pajamas and Wet Hair Led to Love at First
2023-01-06   2023-01-08 k-ostberg-grey-oreilly-wedding.html          Sight                                        By Nina Reyes                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/style/m With a Little JiuJitsu Getting Swept Off Their
2023-01-06   2023-01-08 eg-he-margot-ciccarelli-wedding.html         Feet                                         By John Otis                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/style/m
                        odern-love-a-web-between-her-body-and-
2023-01-06   2023-01-08 mine.html                                    A Web Between Her Body and Mine              By Karen Paul                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/style/ug
2023-01-06   2023-01-08 ochi-nwosu-femi-kuti-wedding.html            For Two Doctors a Spark From the Beginning By Eric V Copage                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/style/w When One Wedding Requires Four Outfits
2023-01-06   2023-01-08 edding-dress-rental-guests.html              Try Renting                                  By Sarah Khan                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/us/jenni
2023-01-06   2023-01-08 fer-shah-rhoslc-sentenced.html               Reality Star Is Sentenced In Fraud Case      By Michael Levenson           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/us/polit Republican Divisions Trouble McCarthy in
2023-01-06   2023-01-08 ics/mccarthy-bakersfield.html                His Bakersfield District Too                 By Jonathan Weisman           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/us/uval Mother of Uvalde Gunman Is Arrested Over
2023-01-06   2023-01-08 de-mother-arrested-oklahoma.html             Threats to Kill a Man                        By Edgar Sandoval             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/world/a Nate Thayer Bold Journalist Who Interviewed
2023-01-06   2023-01-08 sia/nate-thayer-dead.html                    Pol Pot Dies at 62                           By Seth Mydans                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/busines Founder of Tech Giant Will Relinquish
2023-01-07   2023-01-08 s/jack-ma-ant-group.html                     Control                                      By Chang Che and Mike Ives    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/busines Coverage on ESPN Starts With Focus on a
2023-01-07   2023-01-08 s/espn-nfl-damar-hamlin.html                 Recovery Not the Risks Players Take          By John Koblin                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/busines In a Pinch the Engineers Have Become
2023-01-07   2023-01-08 s/uber-engineer-bloggers.html                Bloggers                                     By Jordan Teicher             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/health/f Animal Sedative Puts New Peril in Street
2023-01-07   2023-01-08 entanyl-xylazine-drug.html                   Drugs                                        By Jan Hoffman                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/nyregio
2023-01-07   2023-01-08 n/dirt-roads-hudson-valley-chatham.html      Are This Towns Dirt Roads Worth Saving       By Jim Zarroli                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/nyregio
2023-01-07   2023-01-08 n/jeanna-kadlec-heretic.html                 Shuffling the Deck and Tending to Shrines    By Vivian Ewing               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/opinion We Must Place Access To Abortion on the
2023-01-07   2023-01-08 /abortion-rights.html                        Ballot                                       By The Editorial Board        TX 9-271-977   2023-03-01



                                                                                Page 4714 of 5793
                        https://www.nytimes.com/2023/01/07/opinion
2023-01-07   2023-01-08 /kevin-mccarthy-trump-republican-party.html Return of the PreTrump GOP                By Ross Douthat                     TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/07/realesta My Coop Board President Is a Lawyer
2023-01-07   2023-01-08 te/co-op-board-ethics.html                  Representing Sellers Is That Allowed      By Ronda Kaysen                     TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/07/sports/f
                        ootball/hamlin-nfl-games-saturday-          After Anguishing Week NFL Picks Up Where
2023-01-07   2023-01-08 sunday.html                                 It Left Off                               By Kevin Draper and Ken Belson      TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/07/style/po
2023-01-07   2023-01-08 dcast-overload.html                         Falling in and Out of Love With Red Scare By Eugene Rabkin                    TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/07/technol A 20YearOld Camera Is Gen Zs Hottest
2023-01-07   2023-01-08 ogy/digital-cameras-olympus-canon.html      Gadget                                    By Kalley Huang                     TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/07/us/jesse-TumblingTeam Founder Thrived In Rough
2023-01-07   2023-01-08 white-illinois-secretary-of-state-retire.html and Tumble Politics                        By Mitch Smith                   TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/07/us/polit
                        ics/kevin-mccarthy-house-speaker-gaetz-
2023-01-07   2023-01-08 trump.html                                    Private Negotiations Play Out in Public    By Catie Edmondson               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/07/us/polit How a Battle For Control Set the Table For
2023-01-07   2023-01-08 ics/mccarthy-speaker-rules-house.html         Disarray                                   By Emily Cochrane                TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/07/us/polit
                        ics/speaker-election-debt-limit-              McCarthys Deal for Gavel Raises Fears on
2023-01-07   2023-01-08 republicans.html                              Debt Limit                                 By Jim Tankersley                TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/07/us/polit Through Line From Gingrich to Gaetz
2023-01-07   2023-01-08 ics/speaker-mccarthy-gingrich-trump.html      Combat Not Compromise                      By Robert Draper                 TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/07/world/a Mali Revokes Prison Sentences of Ivorian
2023-01-07   2023-01-08 frica/mali-pardons-ivorian-soldiers.html      Soldiers                                   By Elian Peltier                 TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/07/world/a African Journalists Call on Senegal To Free
2023-01-07   2023-01-08 frica/senegal-journalist-hunger-strike.html   Colleague on Hunger Strike                 By Elian Peltier                 TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/07/world/a
2023-01-07   2023-01-08 sia/india-airline-wells-fargo-urination.html  India Arrests Executive in Flight Scandal  By Sameer Yasir                  TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/07/world/a In Grayer Asia Retired Means Ever More
2023-01-07   2023-01-08 sia/japan-workers-retirement.html             Work                                       By Motoko Rich and Hikari Hida   TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/07/world/e With the Burial of His Predecessor Francis Is
2023-01-07   2023-01-08 urope/pope-francis-after-benedict.html        Left Alone and Unbound                     By Jason Horowitz                TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/07/world/e Ukrainians Observe Orthodox Christmas at
2023-01-07   2023-01-08 urope/ukraine-orthodox-christmas-russia.html Site Long Tied to Russia                     By Megan Specia                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/world/e With a Few Hand Tools Painstakingly            By Thomas GibbonsNeff and
2023-01-07   2023-01-08 urope/ukraine-russia-war-grenade.html        Creating A TankKilling Grenade               Natalia Yermak                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/world/
2023-01-07   2023-01-08 middleeast/iran-executes-protesters.html     Iran Executes 2 Men Arrested During Protests By Farnaz Fassihi                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/us/virgi                                               By Paul Bibeau Sarah Mervosh and
2023-01-08   2023-01-08 nia-shooting-richneck-elementary.html        Haze of Questions in School Shooting         Tim Arango                       TX 9-271-977   2023-03-01




                                                                                Page 4715 of 5793
                        https://www.nytimes.com/2023/01/08/busines
2023-01-08   2023-01-08 s/facebook-dumbarton-rail-bridge.html       Facebooks Bridge to Nowhere                By Issie Lapowsky                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/busines
                        s/roxane-gay-work-advice-2023-              Yes Your Job Is Important But Its Not
2023-01-08   2023-01-08 resolutions.html                            AllImportant                               By Roxane Gay                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/busines
2023-01-08   2023-01-08 s/the-week-in-business-jobs.html            The Week in Business Slowing Job Growth    By Marie Solis                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/crossw A Monday Crossword Collaboration That
2023-01-08   2023-01-08 ords/daily-puzzle-2023-01-09.html           Rocks                                      By Rachel Fabi                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/insider/
2023-01-08   2023-01-08 an-avian-emblem.html                        An Avian Emblem                            By David W Dunlap                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/nyregio Migrants Settling in New York City Find     By Karen Zraick and Brittany
2023-01-08   2023-01-08 n/migrants-buses-nyc.html                   Help and Hardship                          Kriegstein                         TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/08/us/haml She Showed a Prophets Image And Divided a
2023-01-08   2023-01-08 ine-university-islam-prophet-muhammad.html College Campus                            By Vimal Patel                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/world/a As a Top Anchor in Mexico Exits So May
2023-01-08   2023-01-08 mericas/denise-maerker-televisa.html       Impartiality                              By Natalie Kitroeff                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/12/30/world/e 100 Years Since the Birth of the Soviet Union
2022-12-30   2023-01-09 urope/soviet-union-100-years-in-pictures.html in Pictures                                By The New York Times            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/busines
2023-01-05   2023-01-09 s/us-mexico-trade-laredo.html                 A Texas City Shaping the Future of Trade   By Peter S Goodman               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/arts/des
                        ign/frick-first-female-renaissance-           Frick Acquires an Unusual Italian
2023-01-06   2023-01-09 portrait.html                                 Renaissance Portrait                       By Sarah Bahr                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/arts/tele
2023-01-06   2023-01-09 vision/kaleidoscope-netflix-streaming.html    How Do You Like to Watch Television        By James Poniewozik              TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/06/busines Attorney General Out After Epstein Lawsuit
2023-01-06   2023-01-09 s/virgin-islands-epstein-attorney-general.html From Virgin Islands                     By Matthew Goldstein               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/nyregio New Yorks PreK System Was a Model Now
2023-01-06   2023-01-09 n/nyc-public-preschool-system.html             Employees Insist Its a Mess             By Troy Closson                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/nyregio Judge Blocks Giving a Raise To Uber Drivers
2023-01-06   2023-01-09 n/uber-lyft-driver-pay.html                    In New York                             By Ana Ley and Winnie Hu           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/travel/tr Help An Airlines Mistake Made Me Miss a
2023-01-06   2023-01-09 ipped-up-missed-cruise.html                    17000 Cruise                            By Seth Kugel                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/arts/sig
2023-01-07   2023-01-09 n-language-experts-diversity-theater.html      A Clear Signal For More Diversity       By Ilaria Parogni                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/books/c Racing to Protect Books From Climate
2023-01-07   2023-01-09 limate-change-book-preservation.html           Change                                  By Emmett Lindner                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/books/p For Prince Harrys Book Chaos and Brisk      By Alexandra Alter and Elizabeth
2023-01-07   2023-01-09 rince-harry-spare-memoir-leaks.html            Sales                                   A Harris                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/busines Getting Rid of Remote Work Will Take More
2023-01-07   2023-01-09 s/dealbook/remote-work-downturn.html           Than a Downturn                         By Sarah Kessler                   TX 9-271-977   2023-03-01



                                                                                Page 4716 of 5793
                        https://www.nytimes.com/2023/01/07/opinion
                        /california-flood-atmospheric-river-
2023-01-07   2023-01-09 drought.html                               California Should Capture Its Floodwaters      By Erica Gies                TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/07/opinion Are New Yorks Democratic Leaders
2023-01-07   2023-01-09 /kathy-hochul-new-york-state-legislature.html Listening to Voters                         By Mara Gay                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/world/e
2023-01-08   2023-01-09 urope/german-ricin-cyanide-arrest.html        Iranian Plotted Poison Attack Germans Say   By Christopher F Schuetze    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/08/arts/am
2023-01-08   2023-01-09 erican-historical-association-james-sweet.html Grappling With Past Present and Future    By Jennifer Schuessler        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/arts/mu
2023-01-08   2023-01-09 sic/prototype-festival-opera.html              Bold Inviting and Back in Full Force      By Zachary Woolfe             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/books/r Russell Banks Novelist Who Explored
2023-01-08   2023-01-09 ussell-banks-dead.html                         Poverty And Race Dies at 82               By Rebecca Chace              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/busines Bernard Kalb 100 Who Covered Wars And
2023-01-08   2023-01-09 s/media/bernard-kalb-dead.html                 Revolutions Dies                          By Dennis Hevesi              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/busines
                        s/media/police-crime-tv-shows-
2023-01-08   2023-01-09 streaming.html                                 Crime and Police Shows Still Big Hits     By John Koblin                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/movies/
2023-01-08   2023-01-09 m3gan-box-office.html                          Scary M3gan Exceeds Expectations          By Brooks Barnes              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/opinion Grant Wahl Fought for the Truth I Will
2023-01-08   2023-01-09 /grant-wahl-celine-gounder-vaccine.html        Protect His Legacy                        By Cline Gounder              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/opinion The Republicans Are Putting Trump Out to
2023-01-08   2023-01-09 /republicans-trump-speaker.html                Pasture                                   By Charles M Blow             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/sports/b A Showdown Is Set Up Pending Legal
2023-01-08   2023-01-09 oxing-gervonta-davis.html                      Obstacles                                 By Morgan Campbell            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/sports/f After Mondays Halted Game Bengals Finish
2023-01-08   2023-01-09 ootball/bengals-ravens-score.html              With a Win                                By Emmanuel Morgan            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/sports/f
2023-01-08   2023-01-09 ootball/buffalo-bills-hines-return.html        A Celebration of No 3 Hits Home           By Andrew Keh                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/sports/f
                        ootball/damar-hamlin-pennsylvania-             Prayers and Happy Tears Where Hamlin
2023-01-08   2023-01-09 hometown.html                                  Grew Up                                   By Jer Longman                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/sports/f
2023-01-08   2023-01-09 ootball/nfl-week-18-scores.html                What We Learned This Week                 By Derrik Klassen             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/sports/n
                        caafootball/tcu-georgia-cfp-
2023-01-08   2023-01-09 championship.html                              Unwanted Linebacker Finds a Home at TCU By Billy Witz                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/sports/t
                        ennis/naomi-osaka-withdraws-australian-        Osaka Struggling to Regain Form Withdraws
2023-01-08   2023-01-09 open.html                                      From Australian Open                      By Matthew Futterman          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/us/calif Blustery Storm Batters Sacramento and        By Judson Jones Luke Vander
2023-01-08   2023-01-09 ornia-storms-weather-power-outage.html         California Braces for More                Ploeg and Carly Stern         TX 9-271-977   2023-03-01



                                                                                 Page 4717 of 5793
                        https://www.nytimes.com/2023/01/08/us/polit Facing Criticism President Visits Mexican   By Michael D Shear and Edgar
2023-01-08   2023-01-09 ics/biden-southern-border-immigration.html Border                                       Sandoval                           TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/08/us/polit House Republicans Plan a Wide Inquiry Into By Charlie Savage and Luke
2023-01-08   2023-01-09 ics/house-republicans-fbi-investigation.html FBI and Security Agencies                  Broadwater                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/us/polit
2023-01-08   2023-01-09 ics/house-republicans-rules.html             GOP Rules Face Logjam Frozen Tight         By Carl Hulse                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/world/a Buses Collide In Senegal 40 Are Killed And
2023-01-08   2023-01-09 frica/senegal-bus-crash.html                 80 Hurt                                    By Ruth Maclean                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/world/a
                        frica/southafrica-apartheid-townships-       Cranking Up The Sound Outside Of the
2023-01-08   2023-01-09 nightlife.html                               City                                       By John Eligon                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/world/a                                              By Alexandra Stevenson Zixu
2023-01-08   2023-01-09 sia/china-borders-covid.html                 Unease as China Reopens Its Borders        Wang and Tiffany May               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/world/e No Time to Weep A Holiday Feast Beside a
2023-01-08   2023-01-09 urope/ukraine-orthodox-christmas.html        House in Ruins                             By Megan Specia                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/world/e
                        urope/ukraine-russia-volunteers-chechens-    Fighting for Ukraine to Take Revenge on
2023-01-08   2023-01-09 tatars.html                                  Russia                                     By Carlotta Gall                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/books/p Prince Harry Promotes His Memoir in
2023-01-09   2023-01-09 rince-harry-itv-60-minutes-interviews.html   Interviews on US and British Television    By Elisabeth Egan                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/world/a
                        mericas/brazil-election-protests-            In Brazil Capital A Frenzied Mob Storms
2023-01-09   2023-01-09 bolsonaro.html                               Congress                                   By Jack Nicas and Andr Spigariol   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/arts/tele
                        vision/whats-on-tv-this-week-the-last-of-us-
2023-01-09   2023-01-09 golden-globes.html                           This Week on TV                            By Gabe Cohn                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/sports/f Storybook Weekend Cant Erase Memory Of
2023-01-09   2023-01-09 ootball/bills-first-game-hamlin.html         Hamlins Collapse                           By Kurt Streeter                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/us/kore
2023-01-09   2023-01-09 an-war-memorial-wall-names.html              Korean War Memorial Is Riddled With Errors By Dave Philipps                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/09/world/ Bolstered by Netanyahu Deals UltraOrthodox
2023-01-09   2023-01-09 middleeast/israel-ultra-orthodox-parties.html Push Autonomy                             By Isabel Kershner                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/22/science
2022-12-22   2023-01-10 /glass-frogs-blood-hide.html                  How a SeeThrough Frog Hides Its Red Blood By Veronique Greenwood             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/well/ha Day 1 Your Relationships Are Essential for
2023-01-02   2023-01-10 ppiness-challenge-relationships.html          Your Health                               By Jancee Dunn                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/
2023-01-02   2023-01-10 01/well/happiness-challenge-quiz.html         How Strong Are Your Relationships         By Jancee Dunn                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/02/well/ph Day 2 Call a Good Friend And Have an
2023-01-03   2023-01-10 one-call-happiness-challenge.html             8Minute Chat                              By Jancee Dunn                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/well/tal
2023-01-04   2023-01-10 king-to-strangers-happiness-challenge.html Day 3 Small Talk Has Big Benefits            By Jancee Dunn                     TX 9-271-977   2023-03-01



                                                                                Page 4718 of 5793
                        https://www.nytimes.com/2023/01/04/science Asian Researchers Face a Federal Funding
2023-01-04   2023-01-10 /asian-scientists-nsf-funding.html         Disparity                                 By Kenneth Chang                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/04/well/gr Day 4 Write Down 10 Things Youre Grateful
2023-01-05   2023-01-10 atitude-letter-happiness-challenge.html    Your Partner Did                          By Jancee Dunn                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/well/w Day 5 Cultivate Friendships With Workplace
2023-01-06   2023-01-10 ork-friends-happiness-challenge.html       Colleagues                                By Jancee Dunn                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/arts/mu
2023-01-06   2023-01-10 sic/playlist-flo-becky-g-karol-g.html      The KissOff Is Still a Popular GoTo       By Jon Pareles and Jon Caramanica TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/movies/
2023-01-06   2023-01-10 horror-movies-streaming.html               A Narrative Feature Debut That Has It All By Erik Piepenburg                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/science
                        /robots-artificial-intelligence-
2023-01-06   2023-01-10 consciousness.html                         Robot Know Thyself                        By Oliver Whang                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/well/so
2023-01-07   2023-01-10 cial-calendar-happiness-challenge.html     Day 6 Interact With Others                By Jancee Dunn                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/science
2023-01-07   2023-01-10 /honeybee-vaccine.html                     Vaccine Is Coming To Help Honeybees       By Remy Tumin                     TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/07/well/rel
2023-01-08   2023-01-10 ationship-lessons-happiness-challenge.html Day 7 Prioritize Connecting                  By Jancee Dunn                TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/08/briefing
2023-01-08   2023-01-10 /university-of-idaho-murders.html           Fear Recedes in Idaho Town Leaving Loss     By Claire Moses               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/08/dining/ King Phojanakong 54 Who Enticed New
2023-01-08   2023-01-10 king-phojanakong-dead.html                  Yorkers to Crave Filipino Cuisine           By Clay Risen                 TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/08/opinion
2023-01-08   2023-01-10 /prince-harry-meghan-markle.html            Why Is America So Taken With These Two By Pamela Paul                     TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/09/arts/da
2023-01-09   2023-01-10 mar-hamlin-football-violence.html           How One Recovery Allowed Us to Breathe By Michael Kimmelman               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/09/arts/mu
2023-01-09   2023-01-10 sic/sza-sos-billboard-chart.html            SZA Stays on Top Of Billboard Chart         By Ben Sisario                TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/09/books/c Charles Simic PulitzerWinning Poet and US
2023-01-09   2023-01-10 harles-simic-dead.html                      Laureate Dies at 84                         By Dwight Garner              TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/09/books/n Naomi Replansky Revered Poet of Hardship
2023-01-09   2023-01-10 aomi-replansky-dead.html                    and Hope Dies at 104                        By Margalit Fox               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/09/books/p A Royal TellAll Is Everywhere Has the Public
2023-01-09   2023-01-10 rince-harry-book-royal-family.html          Heard Enough                                By Sarah Lyall                TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/09/busines Disney Calls Employees Into Offices 4 Days
2023-01-09   2023-01-10 s/disney-return-to-office.html              a Week                                      By Brooks Barnes              TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/09/busines With Sick Workers on the Sidelines Britain
2023-01-09   2023-01-10 s/economy/uk-economy-sick-workers.html     Struggles to Return to Health                 By Eshe Nelson               TX 9-271-977    2023-03-01
                                                                   Anomaly Prevents Rocket From Reaching
                        https://www.nytimes.com/2023/01/09/busines Orbit Dooming Britains First Satellite Launch
2023-01-09   2023-01-10 s/uk-satellite-launch.html                 Attempt                                       By Stanley Reed              TX 9-271-977    2023-03-01




                                                                                Page 4719 of 5793
                        https://www.nytimes.com/2023/01/09/busines
                        s/wall-street-braces-for-a-weak-earnings-  Wall Street Braces for a Weak Earnings
2023-01-09   2023-01-10 season.html                                Season as Analysts Trim Profit Forecasts     By Bernhard Warner              TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/09/climate
                        /ozone-hole-restoration-montreal-
2023-01-09   2023-01-10 protocol.html                              Ozone May Be Fully Restored in Decades       By Henry Fountain               TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/09/dining/ Unsustainable Best Restaurant Will Grill Its
2023-01-09   2023-01-10 noma-closing-rene-redzepi.html             Last Reindeer Heart                          By Julia Moskin                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/09/movies/
                        karen-cooper-film-forum-new-york-          Leader of Film Forum to Step Down After 50
2023-01-09   2023-01-10 director.html                              Years                                        By Sarah Bahr                   TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/09/nyregio Relentless Grief for Buffalos Black
2023-01-09   2023-01-10 n/buffalo-storm-funerals.html              Community                                    By Hurubie Meko and Lola Fadulu TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/09/nyregio As Trial Opens ExDoctor Faces Charges He By Colin Moynihan and Hurubie
2023-01-09   2023-01-10 n/hadden-gynecologist-abuse-trial.html     Lured OutofState Women for Abuse             Meko                            TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/09/nyregio
                        n/judge-thompson-resigns-brooklyn-         Judge in Brooklyn Resigns Amid Claims of By Ed Shanahan and Joshua
2023-01-09   2023-01-10 surrogates-court.html                      Misconduct                                   Needelman                       TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/09/nyregio Much of a New Jersey Law On Gun Limits Is
2023-01-09   2023-01-10 n/nj-handgun-law.html                      Blocked                                      By Tracey Tully                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/09/nyregio Over 7000 Nurses Strike in New York City By Sharon Otterman and Sean
2023-01-09   2023-01-10 n/nurses-strike-nyc-hospitals.html         Saying Understaffing Is Chronic              Piccoli                         TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/09/nyregio A Year After a Deadly Blaze FEMA Unveils By Jeffery C Mays and Ta
2023-01-09   2023-01-10 n/twin-parks-fire-bronx-safety.html        a Plan to Counter Americas Fire Problem  Kvetenadze                            TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/09/opinion Speaker Speaker What Do You See I See
2023-01-09   2023-01-10 /speaker-kevin-mccarthy-president-biden.html MAGA Looking at Me                        By Gail Collins and Bret Stephens TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/09/science
2023-01-09   2023-01-10 /artificial-intelligence-proteins.html       Making Proteins With DALLEs Techniques    By Cade Metz                       TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/09/sports/f Who if Anyone Told The Bills and Bengals
2023-01-09   2023-01-10 ootball/damar-hamlin-injury-controversy.html To Prepare to Resume                       By Ken Belson and Jenny Vrentas   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/sports/f Hamlin His Condition Upgraded Is
2023-01-09   2023-01-10 ootball/damar-hamlin-released-bills.html     Transferred to Hospital in Buffalo         By Jenny Vrentas                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/sports/f
                        ootball/nfl-coaches-fired-smith-             For Some Teams Season Finishes and Firings
2023-01-09   2023-01-10 kingsbury.html                               Begin                                      By Victor Mather                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/sports/n
                        caafootball/college-football-playoff-
2023-01-09   2023-01-10 tailgating.html                              The Party Doesnt Get Started Early         By Kris Rhim                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/theater/
2023-01-09   2023-01-10 alex-brightman-beetlejuice-closing.html      It Was Showtime One Last Night             By Sarah Bahr                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/theater/ BAMs Artistic Director Since 2019 Is Moving
2023-01-09   2023-01-10 david-binder-bam.html                        On                                         By Michael Paulson                TX 9-271-977   2023-03-01



                                                                               Page 4720 of 5793
                        https://www.nytimes.com/2023/01/09/theater/
2023-01-09   2023-01-10 frigid-fringe-festival-poems-of-gender.html Festival Long Uncensored Hits Its Limit       By Marc Tracy                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/us/calif Californias Central Coast Braces for the Next By Kellen Browning and Soumya
2023-01-09   2023-01-10 ornia-central-coast-santa-cruz-storm.html   Deluge                                        Karlamangla                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/us/new Childs Access To Gun Shocks Virginia            By Paul Bibeau Sarah Mervosh and
2023-01-09   2023-01-10 port-news-teacher-shooting.html             School                                        Campbell Robertson               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/us/polit House GOP Votes to Cut IRS Funds Senate By Emily Cochrane and Alan
2023-01-09   2023-01-10 ics/house-republicans-irs-funding.html      Will Say No                                   Rappeport                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/us/polit House Approves Rules as Speaker Sways
2023-01-09   2023-01-10 ics/house-rules-republicans-mccarthy.html   Holdouts                                      By Catie Edmondson               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/us/polit
                        ics/supreme-court-attorney-client-          Supreme Court Evaluates Scope of
2023-01-09   2023-01-10 privilege.html                              AttorneyClient Privilege                      By Adam Liptak                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/us/polit
                        ics/supreme-court-immigration-free-         Is Encouraging Unauthorized Immigration
2023-01-09   2023-01-10 speech.html                                 Free Speech or a Felony                       By Adam Liptak                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/us/trum Special Grand Jury in Georgia Trump Inquiry By Richard Fausset and Danny
2023-01-09   2023-01-10 p-georgia-election-grand-jury.html          Concludes Its Investigation                   Hakim                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/world/e Czech Court Clears ExPrime Minister Of         By Emma Bubola and Barbora
2023-01-09   2023-01-10 urope/czech-babis-eu-subsidies.html         Fraud Days Before Presidential Vote           Petrova                          TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/09/world/e Danone Sued Over Its Plastic Use Under a      By Constant Mheut and Catherine
2023-01-09   2023-01-10 urope/danone-sued-plastic-use-france.html  Landmark Law                                  Porter                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/world/e Princes BridgeBurner of a Memoir Details a
2023-01-09   2023-01-10 urope/prince-harry-memoir.html             Gravely Divided Royal Family                  By Mark Landler                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/world/e Putins Efforts to Divide the West Are Falling
2023-01-09   2023-01-10 urope/putin-ukraine-ceasefire.html         Flat                                          By Max Fisher                     TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/09/world/e The Coolest Tricks and Flips in the Shadow
2023-01-09   2023-01-10 urope/rome-skatepark-colosseum-view.html of the Colosseum                                By Elisabetta Povoledo            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/world/e                                               By Andrew E Kramer and Nicole
2023-01-09   2023-01-10 urope/ukraine-bakhmut-strategy.html         Kyiv Commits To Tough Fight Over Bakhmut Tung                                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/us/polit What Rules Mean for Taxes Inquiries Debt By Carl Hulse and Luke
2023-01-10   2023-01-10 ics/house-rules-package.html                and More                                     Broadwater                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/nyregio Prosecutors Describe a Scene of Destruction By Benjamin Weiser and Lola
2023-01-10   2023-01-10 n/sayfullo-saipov-terror-trial.html         as Terrorism Trial Begins                    Fadulu                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/opinion Plotting the Hostile Takeover of a Liberal
2023-01-10   2023-01-10 /chris-rufo-florida-ron-desantis.html       College                                      By Michelle Goldberg              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/opinion
2023-01-10   2023-01-10 /election-deniers-recession-inflation.html  Election Deniers Are Also Economy Deniers By Paul Krugman                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/sports/s
2023-01-10   2023-01-10 occer/nwsl-coaches-ban.html                 NWSL Bans Four Former Coaches                By Jesus Jimnez                   TX 9-271-977   2023-03-01
                                                                    In Sodden California Thousands Ordered to
                        https://www.nytimes.com/2023/01/09/us/calif Evacuate as the Risk of Mudslides and Floods By Jill Cowan Victoria Kim and
2023-01-10   2023-01-10 ornia-storm-weather-forecast.html           Increases                                    Mike Ives                         TX 9-271-977   2023-03-01



                                                                                Page 4721 of 5793
                        https://www.nytimes.com/2023/01/09/us/polit Biden Lawyers Found Classified Material at   By Peter Baker Charlie Savage
2023-01-10   2023-01-10 ics/biden-classified-documents.html         Former Office                                Glenn Thrush and Adam Goldman TX 9-271-977      2023-03-01
                        https://www.nytimes.com/2023/01/09/us/polit Giuliani Gets Subpoena For Records Tied to
2023-01-10   2023-01-10 ics/giuliani-subpoena-trump.html            Trump                                        By Alan Feuer                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/world/a In Mexico Biden Looks for Help With           By Michael D Shear and Natalie
2023-01-10   2023-01-10 mericas/biden-amlo-mexico-migrants.html     Migrants and a Stronger Alliance             Kitroeff                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/world/a
                        mericas/brazil-riots-bolsonaro-conspiracy-  Conspiracy Theories Drove the Mass Attack
2023-01-10   2023-01-10 theories.html                               on Brazils Government                        By Jack Nicas                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/arts/des
                        ign/national-endowment-for-the-humanities-
2023-01-10   2023-01-10 grants.html                                 Humanities Endowment Makes Grants            By Sarah Bahr                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/10/busines Can DeSantis Succeed by Sidestepping the
2023-01-10   2023-01-10 s/media/ron-desantis-media-journalists.html Press                                         By Michael M Grynbaum           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/science
2023-01-10   2023-01-10 /bison-prairie-grassland.html               Establishing A New Home For Bison to Roam By Jim Robbins and Louise Johns     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/science
2023-01-10   2023-01-10 /character-ai-chatbot-intelligence.html     Entertaining but Untrustworthy                By Cade Metz                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/technol Most Teenagers Have Seen Online Porn
2023-01-10   2023-01-10 ogy/porn-teens-online-report.html           Report Says                                   By Cecilia Kang                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/us/calif Extreme Rains Add to Dangers Facing           By Shawn Hubler Livia
2023-01-11   2023-01-10 ornia-storms-homeless.html                  Californias Homeless Population               AlbeckRipka and Corina Knoll    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/22/movies/
2022-12-23   2023-01-11 science-fiction-movies-streaming.html       Apocalyptic Mayhem and a Truly Killer App By Elisabeth Vincentelli            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/movies/
2022-12-28   2023-01-11 treasure-planet-disney.html                 A Space Odyssey Worth Rebooking               By Carlos Aguilar               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/dining/l
2023-01-05   2023-01-11 emon-butter-pasta.html                      Weeknight Pasta From the Pantry               By Melissa Clark                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/dining/t
2023-01-06   2023-01-11 hree-course-meal.html                       Ease Into the Year With a Simple Meal         By David Tanis                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/science Ken Balcomb 82 Who Revealed The Gentle
2023-01-06   2023-01-11 /ken-balcomb-dead.html                      Nature of Killer Whales                       By Clay Risen                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/obituari Overlooked No More Tove Ditlevsen Danish
2023-01-07   2023-01-11 es/tove-ditlevsen-overlooked.html           Writer of Confessional Autofiction            By Nina Siegal                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/dining/ Raising a Glass to a Historically Great City
2023-01-09   2023-01-11 drinks/london-wine.html                     for Wine                                      By Eric Asimov                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/dining/j Jean Par Author Who Beckoned Canada to
2023-01-09   2023-01-11 ean-pare-dead.html                          Her Kitchen Dies at 95                        By Christina Morales            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/dining/r
2023-01-09   2023-01-11 ene-redzepi-closing-noma-pete-wells.html    In a World of Imitators Still a True Original By Pete Wells                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/opinion
2023-01-09   2023-01-11 /brazil-protests-bolsonaro.html             The Trump of the Tropics Goes Bust            By Vanessa Barbara              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/opinion Football Is Deadly but Not for the Reasons
2023-01-09   2023-01-11 /football-health-injury-concussion.html     You Think                                     By Chris Nowinski               TX 9-271-977   2023-03-01



                                                                                Page 4722 of 5793
                        https://www.nytimes.com/2023/01/09/world/e Adolfo Kaminsky Forger Who Saved
2023-01-09   2023-01-11 urope/adolfo-kaminsky-dead.html             Thousands of Jews Dies at 97                By Joseph Berger                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/arts/des
                        ign/sydney-modern-art-gallery-new-south-
2023-01-10   2023-01-11 wales.html                                  Its So Welcoming It Feels Like a Playground By Damien Cave                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/arts/mu
2023-01-10   2023-01-11 sic/latin-jazz-gillespie-pozo-ofarrill.html Celebrating The Birth Of Latin Cool         By Ed Morales                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/books/p
2023-01-10   2023-01-11 rince-harry-spare-review.html               Trying To Escape A Royal Catch22            By Alexandra Jacobs                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/busines
2023-01-10   2023-01-11 s/coinbase-layoffs-crypto.html              Coinbase Sheds Another 20 of Its Employees By Isabella Simonetti               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/busines At Goldman 3200 Jobs Are the Price Of
2023-01-10   2023-01-11 s/dealbook/goldman-sachs-layoffs.html       Ambition                                    By Lauren Hirsch                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/busines
2023-01-10   2023-01-11 s/economy/infrastructure-jobs.html          Federal Money Could Be Spur For More Jobs By Lydia DePillis                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/busines
2023-01-10   2023-01-11 s/economy/powell-fed-climate.html           Powell Says Climate Policy Is Not Feds Role By Jeanna Smialek                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/busines Officials Renew Warnings for Recalled
2023-01-10   2023-01-11 s/fisher-price-rocker-recall.html           FisherPrice Sleeper Linked to 100 Deaths    By Jenny Gross                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/busines Blake Hounshell 44 On Politics Editor at The
2023-01-10   2023-01-11 s/media/blake-hounshell-dead.html           Times                                       By Sam Roberts                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/busines Disney Revises Its Pricing as Pass Holders
2023-01-10   2023-01-11 s/media/disney-parks-prices.html            Gripe                                       By Brooks Barnes                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/busines Rocket Fails Setting Back Space Goals For
2023-01-10   2023-01-11 s/uk-satellite-virgin-orbit.html            the UK                                      By Stanley Reed                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/climate Even as US Renewables Surpassed Coal in
2023-01-10   2023-01-11 /us-carbon-emissions-2022.html              2022 Carbon Emissions Grew                  By Elena Shao                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/dining/
2023-01-10   2023-01-11 grits-recipes.html                          Grits for When Youre Not in a Hurry         By Vallery Lomas                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/movies/
2023-01-10   2023-01-11 golden-globes-winners-list.html             2023 Golden Globe Winners                   By Gabe Cohn                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/nyregio Crime Concerns Drove Asian Americans to
2023-01-10   2023-01-11 n/asian-voters-republican-crime-nyc.html    GOP                                         By Luis FerrSadurn and Ellen Yan   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/10/nyregio Two New York Lawmakers Ask Ethics Panel
2023-01-10   2023-01-11 n/george-santos-ethics-inquiry.html        To Investigate Santoss Financial Disclosures By Michael Gold                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/nyregio In Governors Playbook 1 Billion Plan to      By Luis FerrSadurn and Andy
2023-01-10   2023-01-11 n/hochul-mental-health-plan.html           Tackle Mental Illness in New York            Newman                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/nyregio Hochul Focuses on Crime and Housing in Her By Luis FerrSadurn and Grace
2023-01-10   2023-01-11 n/hochul-ny-state-of-state.html            State Address                                Ashford                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/nyregio Murphy Aims To Let More Sell Liquor In
2023-01-10   2023-01-11 n/new-jersey-liquor-licenses.html          New Jersey                                   By Tracey Tully                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/nyregio Nurses Extend Their Strike At 2 Hospitals in
2023-01-10   2023-01-11 n/nurses-strike-hospitals-nyc.html         New York                                     By Sharon Otterman                 TX 9-271-977   2023-03-01




                                                                                Page 4723 of 5793
                        https://www.nytimes.com/2023/01/10/nyregio Man Who Hit And Killed Asian Woman Gets
2023-01-10   2023-01-11 n/queens-attack-guiying-ma-sentence.html    20 Years                                     By Hurubie Meko                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/nyregio Robert Moller 85 EverPatient Mediator
2023-01-10   2023-01-11 n/robert-moller-dead.html                   Between UN Envoys and the City Dies          By Sam Roberts                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/nyregio
                        n/trump-finance-chief-allen-weisselberg-    Trumps Longtime Chief Of Finance Is          By Ben Protess Jonah E Bromwich
2023-01-10   2023-01-11 sentenced.html                              Sentenced To Five Months in Jail             and William K Rashbaum          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/opinion
2023-01-10   2023-01-11 /kevin-mccarthy-speaker-house.html          Good Can Come From the McCarthy Chaos By Yuval Levin                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/sports/n
                        caafootball/georgia-national-               Its Georgias World And Everyone Else Is Just
2023-01-10   2023-01-11 championship.html                           Playing in It                                By Billy Witz                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/sports/n
                        caafootball/tcu-national-championship-      A Big 12 Program Finally Takes the Big
2023-01-10   2023-01-11 game.html                                   Stage and Falls Flat on Its Face             By Kris Rhim                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/10/technol
2023-01-10   2023-01-11 ogy/intel-sapphire-rapids-microprocessor.html Inside Intels Rocky Ride                  By Don Clark                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/theater/ Ben Platt to Lead Revival Of Parade on
2023-01-10   2023-01-11 ben-platt-parade-revival-broadway.html        Broadway                                  By Michael Paulson               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/theater/
2023-01-10   2023-01-11 cabaret-paris.html                            A Paris Cabaret Makes Way for Cabaret     By Laura Cappelle                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/us/calif Floods Rage as Weary California Faces More By Victoria Kim Soumya
2023-01-10   2023-01-11 ornia-storm-weather-forecast.html             Rain                                      Karlamangla and Jacey Fortin     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/us/jayle Teen Still Believes in His Town And They
2023-01-10   2023-01-11 n-smith-mayor-earle-arkansas.html             Call Him Mr Mayor                         By Rick Rojas                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/us/polit
                        ics/biden-documents-classified-foreign-       Biden Surprised by Classified Documents   By Glenn Thrush and Charlie
2023-01-10   2023-01-11 countries.html                                Found in His Private Office               Savage                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/us/polit
                        ics/elections-louisiana-mississippi-          Local Votes in 2023 Could Signal Which
2023-01-10   2023-01-11 kentucky.html                                 Party Has the Edge for 2024               By Neil Vigdor                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/us/polit
                        ics/house-republican-committee-               Republicans Put The Government Under      By Luke Broadwater and Catie
2023-01-10   2023-01-11 weaponization-government.html                 Scrutiny                                  Edmondson                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/us/polit Porter Seeks Senate Seat Of Feinstein In
2023-01-10   2023-01-11 ics/katie-porter-senate-california.html       California                                By Reid J Epstein                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/us/polit
2023-01-10   2023-01-11 ics/patriot-missile-system-ukraine.html       Troops Heading to US for Training         By Helene Cooper                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/us/polit Arguments Heard in Defamation Suit Against
2023-01-10   2023-01-11 ics/trump-carroll-suit.html                   Trump                                     By Charlie Savage                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/world/a Authorities in Brazil Are Seeking Suspects   By Ana Ionova Andr Spigariol and
2023-01-10   2023-01-11 mericas/brazil-bolsonaro-riot.html            Who Aided and Funded the Rioters          Jack Nicas                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/world/a We Are All Mourners Here 18 Die as Political By Mitra Taj Julie Turkewitz and
2023-01-10   2023-01-11 mericas/peru-protests-deaths.html             Clashes Shake Peru                        Genevieve Glatsky                TX 9-271-977   2023-03-01



                                                                               Page 4724 of 5793
                        https://www.nytimes.com/2023/01/10/world/a Rival Dynasties Locked in Political Balancing
2023-01-10   2023-01-11 sia/philippines-marcos-duterte.html        Act in Philippines                            By SuiLee Wee and Camille Elemia TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/10/world/e How Finland Teaches Even Youngest Pupils
2023-01-10   2023-01-11 urope/finland-misinformation-classes.html  To Spot Misinformation                        By Jenny Gross                   TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/10/world/e France Plans to Lift Retirement Age to 64
2023-01-10   2023-01-11 urope/france-pensions-64-macron.html       Angering Unions                               By Aurelien Breeden              TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/10/world/e In Greece 24 Go on Trial For Assisting
2023-01-10   2023-01-11 urope/greece-trial-migrants.html           Migrants                                      By Niki Kitsantonis              TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/10/world/e In Book Harry Uses Nicknames and Jabs to
2023-01-10   2023-01-11 urope/harry-book-spare-royals.html         Skewer Palace Life                            By Mark Landler                  TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/10/world/e Once the War Ends How Will Ukraine Protect
2023-01-10   2023-01-11 urope/ukraine-russia-security-guarantees.html Itself                                     By Steven Erlanger                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/world/e
2023-01-10   2023-01-11 urope/ukraine-tanks-uk.html                   Britain Might Send Tanks to Ukraine        By Lara Jakes and Stephen Castle   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/world/e Vatican Starts New Inquiry On Vanishing
2023-01-10   2023-01-11 urope/vatican-emanuela-orlandi.html           Of Girl in 83                              By Elisabetta Povoledo             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/world/ Netanyahus Return Places Critical Spotlight
2023-01-10   2023-01-11 middleeast/israel-netanyahu-family.html       on 2 Unelected Netanyahus                  By Isabel Kershner                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/article/carlos-correa Correa Spurns Mets Deal For Twins Pending
2023-01-10   2023-01-11 mets-twins.html                               Physical                                   By Benjamin Hoffman                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/live/2023/01/10/wo
                        rld/biden-mexico-amlo-summit/bidens-focus-
                        is-on-enhancing-cooperation-with-both-        Nations Cant Wall Ourselves Off Biden Says By Michael D Shear and Anushka
2023-01-10   2023-01-11 neighbors                                     After North American Summit                Patil                              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/movies/
2023-01-11   2023-01-11 golden-globe-awards-2023.html                 At Tarnished Globes Still Plenty of Luster By Brooks Barnes                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/us/polit Biden Defends Border Effort Saying Nations By Michael D Shear and Anushka
2023-01-11   2023-01-11 ics/biden-immigration-mexico-summit.html Cant Wall Ourselves Off                         Patil                              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/us/polit
2023-01-11   2023-01-11 ics/trump-biden-classified-documents.html     How Cases Of Trump And Biden Compare By Charlie Savage                        TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/10/world/a After a Rocky Start Biden Has Built a        By Natalie Kitroeff and Michael D
2023-01-11   2023-01-11 mericas/biden-amlo-mexico-relationship.html Rapport With Mexicos President              Shear                             TX 9-271-977     2023-03-01
                                                                                                                By Megan Specia Ivan
                        https://www.nytimes.com/2023/01/10/world/e Russia Is Said to Gain Key Eastern Town in   Nechepurenko and Thomas
2023-01-11   2023-01-11 urope/ukraine-soledar-bakhmut-wagner.html Brutal BackandForth                           GibbonsNeff                       TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/busines
2023-01-11   2023-01-11 s/online-shopping-scams.html                When Sales Are Too Good To Be True          By Jordyn Holman                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/insider/
                        a-newsroom-team-that-sees-data-in-the-
2023-01-11   2023-01-11 air.html                                    A Team That Sees Data Points in the Air     By Nell Gallogly                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/11/sports/f
2023-01-11   2023-01-11 ootball/nfl-wild-card-weekend-preview.html Stats That Will Define WildCard Weekend      By Mike Tanier                      TX 9-271-977   2023-03-01



                                                                                 Page 4725 of 5793
                        https://www.nytimes.com/2023/01/07/books/j Joyce Meskis 80 Bookseller Who Defended
2023-01-07   2023-01-12 oyce-meskis-dead.html                        Readers Rights                          By Neil Genzlinger               TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/07/sports/f Joseph Torg 88 Orthopedic Surgeon Who
2023-01-07   2023-01-12 ootball/joseph-torg-dead.html                Tried to Reduce Football Injuries       By Richard Sandomir              TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/07/style/lif
2023-01-07   2023-01-12 estyle-trends-2023.html                      An Exercise In Speculation              By The Styles Desk               TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/09/opinion Society Is Failing Visual Thinkers and That
2023-01-09   2023-01-12 /temple-grandin-visual-thinking-autism.html Hurts Us All                               By Temple Grandin                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/style/no
2023-01-09   2023-01-12 nbinary-professional-work-attire.html        New Dress Code 100 Yourself and Loving It By Shane ONeill                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/style/pr
2023-01-09   2023-01-12 ince-harry-up-close.html                     Reading the Cover Of Harrys Memoir        By Vanessa Friedman              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/opinion The Less Discussed Part of McCarthys Deal
2023-01-10   2023-01-12 /mccarthy-speaker-maga-republicans.html      With GOP Radicals                         By Jamelle Bouie                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/world/a Grief and Worry as Shanghai Struggles With
2023-01-10   2023-01-12 sia/china-covid-shanghai-photos.html         Covid                                     By Qilai Shen and David Pierson TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/10/your-
                        money/student-loans-income-driven-
2023-01-10   2023-01-12 repayment.html                               New Plan To Pay Off US Loans For College By Tara Siegel Bernard            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/opinion
2023-01-11   2023-01-12 /noma-closing-fine-dining-redzepi.html       Noma and the Fizzle of TooFine Dining     By Frank Bruni                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/world/a George Pell Cardinal Later Acquitted of
2023-01-11   2023-01-12 ustralia/cardinal-george-pell-dead.html      Abuse Charges Dies at 81                  By Natasha Frost and Damien Cave TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/arts/dan
2023-01-11   2023-01-12 ce/bill-t-jones-curriculum-ii.html           Leaving the Earths Orbit                  By Gia Kourlas                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/arts/des
                        ign/the-shed-changes-leadership-
2023-01-11   2023-01-12 structure.html                               The Shed Changes Leadership Structure     By Robin Pogrebin                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/arts/mu Jeff Beck Rock Innovator Who Made Guitar
2023-01-11   2023-01-12 sic/jeff-beck-dead.html                      Howl or Purr Dies at 78                   By Jim Farber                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/arts/mu
2023-01-11   2023-01-12 sic/met-opera-cast-changes.html              Seeing A Classic Made New                 By Zachary Woolfe                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/arts/tele
2023-01-11   2023-01-12 vision/the-golden-globes-review.html         Were Globes Too Big To Fail               By James Poniewozik              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/books/k
2023-01-11   2023-01-12 afka-diaries.html                            A Modern Distiller of Shame Seen Anew     By Dwight Garner                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/busines LVMH Shuffles Leadership at Dior and Louis
2023-01-11   2023-01-12 s/dealbook/lvmh-leadership-arnault.html      Vuitton                                   By Elizabeth Paton               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/busines
                        s/economy/federal-reserve-susan-collins-     A Fed Leader Backs A Smaller Increase For
2023-01-11   2023-01-12 interest-rates.html                          Interest Rates                            By Jeanna Smialek                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/busines
                        s/energy-environment/qcells-solar-panel-
2023-01-11   2023-01-12 factory-georgia.html                         Korean Solar Company Plans Georgia Plant By Ivan Penn                      TX 9-271-977   2023-03-01



                                                                              Page 4726 of 5793
                        https://www.nytimes.com/2023/01/11/busines
2023-01-11   2023-01-12 s/faa-flight-delays-outage.html             Air System Staggered This Time By FAA        By Niraj Chokshi and Mark Walker TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/11/busines IRS Faces Big Backlogs As the GOP Pushes
2023-01-11   2023-01-12 s/irs-tax-returns-backlog.html              Cuts                                         By Alan Rappeport                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/busines NBC News Taps a Senior Editor at The          By Benjamin Mullin and Michael
2023-01-11   2023-01-12 s/media/blumenstein-times-nbc-news.html     Times to Serve as Its Next President         M Grynbaum                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/climate Lawmakers Debate Over Gas Stoves and
2023-01-11   2023-01-12 /gas-stoves-biden-administration.html       Health Hazards Reaches a Rolling Boil        By Elena Shao and Lisa Friedman   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/movies/
                        stephanie-hsu-everything-everywhere-all-at-
2023-01-11   2023-01-12 once.html                                   Shes Playing Parts She Never Dared Imagine   By Kyle Buchanan                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/nyregio NY Republicans Including 4 Congressmen        By Michael Gold and Grace
2023-01-11   2023-01-12 n/george-santos-nassau-resign.html          Urge Santos to Quit                          Ashford                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/nyregio
2023-01-11   2023-01-12 n/george-santos-resume.html                 Santoss Rsum Wall St Star With 39 GPA        By Nicholas Fandos                TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/11/nyregio Rumbles From Democrats Left Flank Imperil By Rebecca Davis OBrien Luis
2023-01-11   2023-01-12 n/hector-lasalle-chief-judge.html           Hochuls Pick for Top New York Judge        FerrSadurn and Jesse McKinley       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/nyregio Mayors Plan for Library Cuts Would Hurt
2023-01-11   2023-01-12 n/library-funding-cuts-eric-adams.html      New Yorkers Leaders Say                    By Emma G Fitzsimmons               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/nyregio
                        n/nurses-strike-nyc-mount-sinai-            2 New York City Hospitals Scramble to Care
2023-01-11   2023-01-12 montefiore.html                             for Patients as Nurses Strike              By Sharon Otterman                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/nyregio
                        n/trump-investigation-prosecutors-law-      Lawyers Who Investigated Trump Start a     By William K Rashbaum Jonah E
2023-01-11   2023-01-12 firm.html                                   Firm With the Goal of Protecting Rights    Bromwich and Ben Protess            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/nyregio Questions Over Funding For Yeshiva
2023-01-11   2023-01-12 n/yeshiva-university-lgbtq-club.html        University                                 By Liam Stack                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/science Russia Announces Space Station Rescue
2023-01-11   2023-01-12 /nasa-space-station-soyuz.html              Mission to Bring Astronauts Home           By Kenneth Chang                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/sports/b Correas Whirlwind Journey Ends Where It
2023-01-11   2023-01-12 aseball/carlos-correa-twins.html            Started                                    By Tyler Kepner                     TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/11/sports/b For One Night at Least Free Throws Were
2023-01-11   2023-01-12 asketball/miami-heat-free-throw-record.html Exciting                                     By Victor Mather                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/11/sports/f Hamlin Out Of Hospital Nine Days After
2023-01-11   2023-01-12 ootball/damar-hamlin-released-hospital.html Injury                                       By Jenny Vrentas                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/sports/t Osaka Is Pregnant but Says She Will Be
2023-01-11   2023-01-12 ennis/naomi-osaka-pregnancy.html            Coming Back                                  By Victor Mather                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/style/da
2023-01-11   2023-01-12 nish-design-maximalist.html                 Bland Wears Out Its Welcome Here             By Chantel Tattoli                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/style/go At the Golden Globes a Night of
2023-01-11   2023-01-12 lden-globes-fashion.html                    StatementMaking                              By Vanessa Friedman               TX 9-271-977   2023-03-01




                                                                                Page 4727 of 5793
                        https://www.nytimes.com/2023/01/11/style/wi
2023-01-11   2023-01-12 nter-coat.html                              A Winter Coat Thats All Potential          By Marisa Meltzer                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/technol
                        ogy/personaltech/smartphone-cameras-        Professional Tools to Elevate Your Photo
2023-01-11   2023-01-12 tips.html                                   Skills                                     By J D Biersdorfer                TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/technol Twitter Is Said to Consider Selling User
2023-01-11   2023-01-12 ogy/twitter-user-names-elon-musk.html       Names to Increase Revenue                  By Ryan Mac and Kate Conger       TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/theater/ Barry Grove to Depart Manhattan Theater
2023-01-11   2023-01-12 barry-grove-mtc.html                        Club                                       By Michael Paulson                TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/11/travel/f Another Week Another Meltdown but This
2023-01-11   2023-01-12 aa-outage-flights-delayed-passengers.html   Time Stranded Fliers Cant Blame the Airlines By Daniel Victor and Maria Cramer TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/us/calif A Reprieve in California But More Rain Is    By Shawn Hubler Victoria Kim
2023-01-11   2023-01-12 ornia-storms-rain-flooding.html             Ahead                                        Corina Knoll and Jacey Fortin     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/us/new- New York Law Limiting Guns in Public Is
2023-01-11   2023-01-12 york-gun-law-supreme-court.html             Left in Place for Now by Court Order         By Adam Liptak                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/us/oba
2023-01-11   2023-01-12 macare-aca-miami-fl.html                    Where Is Obamacare King Surprise Its Florida By Patricia Mazzei                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/us/polit Classified Files Found at 2nd Site Linked to
2023-01-11   2023-01-12 ics/biden-classified-documents.html         Biden                                        By Glenn Thrush                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/us/polit GOP Asks Treasury for Biden Family
2023-01-11   2023-01-12 ics/biden-finances-congress.html            Records                                      By Luke Broadwater                TX 9-271-977   2023-03-01
                                                                    They Won Guantnamos Supreme Court Cases
                        https://www.nytimes.com/2023/01/11/us/polit Now the ExPrisoners Are Ensconced in         By Carol Rosenberg and Cristina
2023-01-11   2023-01-12 ics/guantanamo-bay-landmark-cases.html      Family Life                                  Baussan                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/us/polit GOP Sees Several Avenues In Investigating
2023-01-11   2023-01-12 ics/house-republicans-investigations.html   the President                                By Luke Broadwater                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/us/polit The Tale of Hunter Biden Comes Front and By Adam Entous Michael S
2023-01-11   2023-01-12 ics/hunter-biden-investigations.html        Center                                       Schmidt and Katie Benner          TX 9-271-977   2023-03-01
                                                                                                                 By Katie Benner Adam Goldman
                        https://www.nytimes.com/2023/01/11/us/polit Leading Trump Inquiry Special Counsel        Glenn Thrush and Maggie
2023-01-11   2023-01-12 ics/jack-smith-trump-special-counsel.html   Copes With Unusual Obstacles                 Haberman                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/us/polit Jill Biden Has Surgery To Remove Skin
2023-01-11   2023-01-12 ics/jill-biden-cancer-surgery.html          Cancer                                       By Zach Montague                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/us/polit Liz Robbins 76 Lobbyist Who Broke Glass
2023-01-11   2023-01-12 ics/liz-robbins-dead.html                   Ceiling In Washington Is Dead                By Clay Risen                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/world/a Ugandas Worst Ebola Outbreak in Decades Is
2023-01-11   2023-01-12 frica/uganda-ebola-outbreak-who.html        Over WHO Says                                By Abdi Latif Dahir               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/world/a
2023-01-11   2023-01-12 frica/uganda-president-son-muhoozi.html     A Wild Card                                  By Abdi Latif Dahir               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/world/a A Vital Question for Brazils Democracy
2023-01-11   2023-01-12 mericas/brazil-bolsonaro-police.html        Where Were the Police                        By Amanda Taub                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/world/a As China Reopens a Split Deepens Amid         By Chang Che Claire Fu and Amy
2023-01-11   2023-01-12 sia/china-zero-covid-reopening.html         Online Criticism                             Chang Chien                       TX 9-271-977   2023-03-01




                                                                                Page 4728 of 5793
                        https://www.nytimes.com/2023/01/11/world/e
                        urope/kyiv-ukraine-power-outages-          In a City Determined to Work the Office Is
2023-01-11   2023-01-12 internet.html                              Wherever Theres Power                        By Megan Specia                  TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/11/world/e Concern Grows as Navalnys Wife Pleads for
2023-01-11   2023-01-12 urope/navalny-medical-treatment-russia.html Him to Be Given Medicine                  By Eric Nagourney                  TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/world/e Paris Police Shoot Suspect In Stabbings At
2023-01-11   2023-01-12 urope/paris-attack-gare-du-nord.html        Train Hub                                 By Aurelien Breeden                TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/world/e Russia Installs New War Leader Amid
2023-01-11   2023-01-12 urope/russia-ukraine-war-general.html       Dissension in Putins Circle               By Anatoly Kurmanaev               TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/11/world/e Ukraine Ends Citizenship Of Politician Tied
2023-01-11   2023-01-12 urope/viktor-medvedchuk-russia-putin.html to Putin                                      By Matthew Mpoke Bigg            TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/world/ In Israel Netanyahus HardRight Agenda
2023-01-11   2023-01-12 middleeast/israel-right-netanyahu.html      Gains Steam                                 By Patrick Kingsley              TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/busines Amazon Loses Bid to Overturn Union Victory By Noam Scheiber and Karen
2023-01-12   2023-01-12 s/amazon-staten-island-union.html           at Warehouse                                Weise                            TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/insider/
2023-01-12   2023-01-12 writing-the-spare-review.html               Could Anyone Spare a Spare No               By Alexandra Jacobs              TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/opinion
2023-01-12   2023-01-12 /kenya-development-slum.html                This Slum Has Something to Teach the World By Nicholas Kristof               TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/sports/n
                        caabasketball/parity-mens-college-          Parity Means Your Bracket Is Probably
2023-01-12   2023-01-12 basketball.html                             Already Busted                              By Adam Zagoria                  TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/us/polit House Republicans Pass Bill to Send a
2023-01-12   2023-01-12 ics/house-passes-abortion-bill.html         Message on Abortion                         By Annie Karni                   TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/us/polit Washington To Strengthen Military Ties With
2023-01-12   2023-01-12 ics/us-japan-military-cooperation.html      Japan                                       By Edward Wong                   TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/11/world/a A Thin Line Of Security Facing a Mob Of      By Jack Nicas Andr Spigariol Flvia
2023-01-12   2023-01-12 mericas/brazil-riots-congress-security.html  Hundreds                                   Milhorance and Ana Ionova          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/busines Analysts Look to Corporate Reports With
2023-01-12   2023-01-12 s/corporate-earnings-fourth-quarter.html     Lowered Expectations                       By Joe Rennison                  TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/12/style/m
2023-01-12   2023-01-12 ens-wear-puts-on-the-dog.html                Clothes for Dogs at a Mens Wear Show       By Guy Trebay                    TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/08/arts/tele Adam Rich 54 Magnetic Star as Child on
2023-01-08   2023-01-13 vision/adam-rich-dead.html                   Eight Is Enough                            By Alex Traub                    TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/10/opinion Im an Earth Scientist Who Spoke Up About
2023-01-10   2023-01-13 /scientist-fired-climate-change-activism.html Climate Change Then I Got Fired           By Rose Abramoff                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/arts/des
2023-01-11   2023-01-13 ign/ann-gillen-sculpting-in-plain-sight.html A Sculptor With a Grasp of Showbiz         By Max Lakin                     TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/arts/ma
2023-01-11   2023-01-13 rtin-luther-king-events-new-york.html         Reminders That King Was Unforgettable     By Kalia Richardson              TX 9-271-977     2023-03-01




                                                                                Page 4729 of 5793
                        https://www.nytimes.com/2023/01/11/books/h                                                By Alexandra Alter and Elizabeth
2023-01-11   2023-01-13 arry-memoir-sales-spare.html                 A Royal Flush For Harrys Sales               A Harris                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/climate Influencers Help Propane Group Fight
2023-01-11   2023-01-13 /climate-propane-influence-campaign.html     Climate Action                               By Hiroko Tabuchi                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/movies/
2023-01-11   2023-01-13 sag-awards-nominations.html                  SAG Award Nominations Announced              By Kyle Buchanan                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/movies/
                        steven-spielberg-directors-guild-award-
2023-01-11   2023-01-13 nominations-james-cameron.html               Spielberg Breaks Guild Record                By Kyle Buchanan                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/opinion Brazils Homage to Jan 6 Was an Act of Pure
2023-01-11   2023-01-13 /brazil-jan-6-populism.html                  Performance                                  By Ross Douthat                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/arts/dan
                        ce/american-dance-platform-ronald-k-
2023-01-12   2023-01-13 brown.html                                   Three Companies Share the Spotlight          By Brian Seibert                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/arts/des
                        ign/pace-ramell-ross-william-christenberry-
2023-01-12   2023-01-13 alabama-photography-art.html                 Exploring Two Visions Of Alabama             By Siddhartha Mitter               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/arts/mu
2023-01-12   2023-01-13 sic/joni-mitchell-gershwin-prize.html        Joni Mitchell Receives the Gershwin Prize    By Julia Jacobs                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/arts/tele
                        vision/atsuko-okatsuka-break-point-
2023-01-12   2023-01-13 streaming.html                               This Weekend I Have                          By Margaret Lyons                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/arts/tele
2023-01-12   2023-01-13 vision/the-last-of-us-review.html            Zombie Thrills Meet SingleParent Jitters     By James Poniewozik                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/books/p Paul Johnson Prolific Historian and Vocal
2023-01-12   2023-01-13 aul-johnson-dead.html                        Conservative Dies at 94                      By Richard B Woodward              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/busines
2023-01-12   2023-01-13 s/imf-global-economy-recession.html          IMF Sees World Economy as Bottomed Out       By Alan Rappeport                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/busines
2023-01-12   2023-01-13 s/inflation-gas-discounts.html               Inflation Slows Signaling Relief             By Jeanna Smialek                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/busines US Budget Deficit Dips to 14 Trillion Fiscal   By Alan Rappeport and Jim
2023-01-12   2023-01-13 s/us-deficit-falls-2022.html                 Fight Looms                                  Tankersley                         TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/12/busines Virgin Orbit Says Problem With SecondStage
2023-01-12   2023-01-13 s/virgin-orbit-uk-rocket-failure.html      Engine Caused Failure of Rocket            By Stanley Reed                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/climate
                        /exxon-mobil-global-warming-climate-       Exxon Scientists Saw Global Warming As Oil
2023-01-12   2023-01-13 change.html                                Giant Cast Doubt Study Says                By Hiroko Tabuchi                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/movies/
2023-01-12   2023-01-13 beautiful-beings-review.html               Adolescence in Iceland Blow by Blow        By Manohla Dargis                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/movies/
2023-01-12   2023-01-13 kitchen-brigade-review.html                Kitchen Brigade                            By Beatrice Loayza                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/movies/
2023-01-12   2023-01-13 plane-review-flight-camera-action.html     On the Ground Turbulence Ahead             By Glenn Kenny                         TX 9-271-977   2023-03-01




                                                                                 Page 4730 of 5793
                        https://www.nytimes.com/2023/01/12/movies/
2023-01-12   2023-01-13 saint-omer-review.html                      The Grave Questions Beneath a Grim Crime By AO Scott                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/movies/
2023-01-12   2023-01-13 skinamarink-review.html                     Skinamarink                                 By Jeannette Catsoulis             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/movies/
2023-01-12   2023-01-13 the-offering-review.html                    The Offering                                By Nicolas Rapold                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/movies/
2023-01-12   2023-01-13 the-seven-faces-of-jane-review.html         The Seven Faces Of Jane                     By Teo Bugbee                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/nyregio
                        n/bannon-lawyer-communication-              Defense Lawyer Cites Breakdown In
2023-01-12   2023-01-13 breakdown.html                              Communication With Bannon                   By Jonah E Bromwich                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/nyregio An Obscure Unregistered Fund Brought In      By Alexandra Berzon and Grace
2023-01-12   2023-01-13 n/george-santos-donors-fund-raising.html    Big Money for Santos                        Ashford                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/nyregio Nurses Strike Ends in New York City After By Sharon Otterman Joseph
2023-01-12   2023-01-13 n/nurses-strike-ends-nyc.html               Hospitals Agree to Add Staff                Goldstein and Jenny Gross          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/obituari Norm Fruchter 85 Fought to Ensure
2023-01-12   2023-01-13 es/norm-fruchter-dead.html                  Education for All                           By Sam Roberts                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/opinion
2023-01-12   2023-01-13 /desantis-florida-income-inequality.html    The GOP Is Getting It Wrong About DeSantis By Lulu GarciaNavarro               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/sports/f If Buffalo and Kansas City Meet It Would Be
2023-01-12   2023-01-13 ootball/bills-bengals-neutral-site.html     in Atlanta                                  By Emmanuel Morgan                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/sports/t With Tough Draw Ahead Nadal Tries to
2023-01-12   2023-01-13 ennis/australian-open-draw.html             Shake Off Slump                             By Christopher Clarey              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/technol AI Once the Future Has Become The Present
2023-01-12   2023-01-13 ogy/chatgpt-schools-teachers.html           What Do We Do Now                           By Kevin Roose                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/technol Microsoft Bets Big on the Creator of
2023-01-12   2023-01-13 ogy/microsoft-openai-chatgpt.html           ChatGPT in Race to Dominate AI              By Cade Metz and Karen Weise       TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/12/technol                                               By David YaffeBellany and
2023-01-12   2023-01-13 ogy/sam-bankman-fried-fraud-charges.html I Didnt Steal Funds BankmanFried Insists        Matthew Goldstein                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/technol SEC Charges 2 Firms With Securities
2023-01-12   2023-01-13 ogy/sec-crypto-gemini-genesis.html          Violation                                    By Ephrat Livni                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/theater/ Shakespeare in the Park to Stage Hamlet This
2023-01-12   2023-01-13 shakespeare-in-the-park-hamlet.html         Summer                                       By Michael Paulson                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/theater/
2023-01-12   2023-01-13 sound-design-theater-race.html              Deeper Meanings Behind the Scenes            By Laura CollinsHughes            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/us/egg- Bird Flu Cuts Egg Supply Furthering a Price
2023-01-12   2023-01-13 shortage-us.html                            Surge                                        By Jesus Jimnez                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/us/idah Hearing for Idaho Murders Suspect Is          By Mike Baker and Nicholas
2023-01-12   2023-01-13 o-murders-bryan-kohberger.html              Delayed                                      BogelBurroughs                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/us/polit
2023-01-12   2023-01-13 ics/biden-documents-timeline.html           Biden Papers How Events Have Unfolded        By Ben Shpigel                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/us/polit Special Counsel to Review Handling of        By Glenn Thrush Peter Baker and
2023-01-12   2023-01-13 ics/biden-documents.html                    Biden Records                                Charlie Savage                    TX 9-271-977   2023-03-01




                                                                                Page 4731 of 5793
                        https://www.nytimes.com/2023/01/12/us/polit
                        ics/house-republicans-investigations-       Skeptics Compare GOPLed Inquiry To 1950s
2023-01-12   2023-01-13 mccarthy.html                               Red Scare                                 By Carl Hulse and Adam Goldman TX 9-271-977          2023-03-01
                        https://www.nytimes.com/2023/01/12/us/polit ExGovernor Will Be Nebraskas Next Senator By Maggie Astor and Reid J
2023-01-12   2023-01-13 ics/pete-ricketts-nebraska-senator.html     Succeeding Sasse                          Epstein                         TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/12/us/polit At Trial Prosecutors Aim to Tie Trump to
2023-01-12   2023-01-13 ics/proud-boys-trial-opening.html           Proud Boys                                By Alan Feuer and Zach Montague TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/12/us/polit Nassau Republicans Want Santos Gone but
2023-01-12   2023-01-13 ics/santos-republicans.html                 National Leaders Balk                     By Annie Karni and Michael Gold TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/12/us/polit UFO Study Leaves Slew Of Sightings
2023-01-12   2023-01-13 ics/unexplained-sightings-ufos-report.html  Unexplained                               By Julian E Barnes              TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/12/us/polit His Star Rising Youngkin Juggles Local
2023-01-12   2023-01-13 ics/youngkin-virginia-gop.html              Issues and National Aims                  By Trip Gabriel                 TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/12/us/scho Panic Buttons Huge Fences Schools Raise
2023-01-12   2023-01-13 ol-shootings-security.html                  Their Security                            By Sarah Mervosh                TX 9-271-977         2023-03-01

                        https://www.nytimes.com/2023/01/12/us/stanf DNA Secures Guilty Plea For 1973 Stanford By Eduardo Medina and April
2023-01-12   2023-01-13 ord-serial-killer-librarian-leslie-perlov.html Murder                                     Rubin                             TX 9-271-977   2023-03-01
                                                                                                                  By Bryant K Oden Livia
                        https://www.nytimes.com/2023/01/12/us/torn                                                AlbeckRipka Jesus Jimnez and
2023-01-12   2023-01-13 adoes-severe-storms-weather-south.html         Storms Kill At Least Six In Alabama        Mike Ives                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/us/willi William Consovoy Top Litigator For
2023-01-12   2023-01-13 am-consovoy-dead.html                          Conservatives Is Dead at 48                By Clay Risen                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/world/a
2023-01-12   2023-01-13 mericas/girl-guides-canada-embers.html         Canadas Girl Guides Renames Branch         By Amanda Holpuch                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/world/a
2023-01-12   2023-01-13 sia/guangzhou-crash-china.html                 5 Dead After Being Mowed Down in China By Tiffany May                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/world/a In a First South Korea Declares Nuclear
2023-01-12   2023-01-13 sia/south-korea-nuclear-weapons.html           Weapons a Policy Option                    By Choe SangHun                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/world/a
                        sia/sri-lanka-former-president-compensation- Former President Ordered to Pay              By Skandha Gunasekara and Mujib
2023-01-12   2023-01-13 bombings-2019.html                             Compensation for Sri Lanka Easter Bombings Mashal                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/world/e Chinese Police Far From China Raise            By Megha Rajagopalan and
2023-01-12   2023-01-13 urope/china-outpost-new-york.html              Concerns                                   William K Rashbaum                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/world/e
                        urope/russia-taylor-dudley-veteran-            US Secures Release of Navy Veteran Quietly
2023-01-12   2023-01-13 released.html                                  Detained in Russia for 9 Months            By Michael Crowley                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/world/e Risks Aside West Races to Arm Kyiv With
2023-01-12   2023-01-13 urope/ukraine-western-tanks.html               Tanks                                      By Lara Jakes and Steven Erlanger TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/world/
                        middleeast/netanyahu-israel-judicial-          Netanyahus Planned Judicial Overhaul Would
2023-01-12   2023-01-13 reform.html                                    Enfeeble Supreme Court                     By Patrick Kingsley               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/
                        11/sports/football/nfl-injuries-hands-and-     Six NFL Players Show Footballs Grind on
2023-01-12   2023-01-13 feet.html                                      Their Feet and Hands                       By Ken Belson and Joe Drape       TX 9-271-977   2023-03-01



                                                                                Page 4732 of 5793
                        https://www.nytimes.com/live/2023/01/12/bus
                        iness/december-cpi-inflation-report/wall-street
                        waits-for-direction-from-fresh-inflation-
2023-01-12   2023-01-13 numbers                                         New Inflation Data Cheers the Market     By Joe Rennison                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/movies/
2023-01-13   2023-01-13 dog-gone-review.html                            Dog Gone                                 By Amy Nicholson                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/nyregio Adams Budget Proposal Warns of Future         By Dana Rubinstein and Emma G
2023-01-13   2023-01-13 n/budget-mayor-adams-nyc.html                   Deficits                                 Fitzsimmons                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/opinion
                        /why-republican-politicians-still-hate-         Why Republican Politicians Still Hate
2023-01-13   2023-01-13 medicare.html                                   Medicare                                 By Paul Krugman                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/us/polit Rule Could Give Lawmakers 34000 Pay          By Stephanie Lai and Reid J
2023-01-13   2023-01-13 ics/congress-pay-raise.html                     Bump                                     Epstein                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/us/polit
                        ics/robert-hur-special-counsel-biden-           Special Counsel for Bidens Inquiry Is    By Glenn Thrush Adam Goldman
2023-01-13   2023-01-13 documents.html                                  Familiar With Pitfalls of the Job        and Luke Broadwater             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/arts/mu Violent Gang or a Rap Label Prosecutors Say By Joe Coscarelli and Richard
2023-01-13   2023-01-13 sic/young-thug-ysl-trial.html                   YSL Is Both                              Fausset                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/insider/ The Risks That Define the Magazines
2023-01-13   2023-01-13 risks-magazine-photography.html                 Photography                              By Libby Peterson               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/26/travel/ri
                        chmond-virginia-african-american-               In Richmond as Statues Fell a New Path
2022-12-26   2023-01-14 culture.html                                    Opened                                   By Julie Besonen                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/busines
                        s/energy-environment/portugal-hydroelectric-                                             By Stanley Reed and Matilde
2023-01-03   2023-01-14 power-renewable-energy.html                     Portugals Big Bet on a Hydro Future      Viegas                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/
                        05/travel/things-to-do-steamboat-springs-
2023-01-05   2023-01-14 colorado.html                                   36 Hours in Steamboat Springs Colo       By Cindy Hirschfeld             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/opinion A Smirk a Smile a Clenched Fist What the
2023-01-10   2023-01-14 /legally-blind-movies.html                      Movies Taught Me to See                  By Kathi Wolfe                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/us/diam Lynette Hardaway 51 Younger Sister In
2023-01-10   2023-01-14 ond-and-silk-lynnette-hardaway-dead.html        ProTrump Duo Diamond and Silk            By Michael Levenson             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/health/c With Menthol Banned Tobacco Makers Offer By Christina Jewett and Emily
2023-01-11   2023-01-14 igarettes-flavor-ban-california.html            Products With a New Fresh Twist          Baumgaertner                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/us/polit Thomas Hughes Skeptic of War In Vietnam
2023-01-11   2023-01-14 ics/thomas-hughes-dead.html                     and Insider Dies at 97                   By Clay Risen                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/well/liv
2023-01-11   2023-01-14 e/gas-stoves-health-risks.html                  Gas Stoves Do Pose a Risk but Dont Panic By Dani Blum                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/arts/mu
2023-01-12   2023-01-14 sic/jeff-beck-songs.html                        Jeff Beck 10 Essential Recordings        By Jon Pareles                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/arts/tele
2023-01-12   2023-01-14 vision/hunters-david-weil-season-2.html         Chasing Nazis as Collective Catharsis    By Robert Ito                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/opinion
2023-01-12   2023-01-14 /cougars-migrating-east.html                    Cougars Are Heading East Welcome Them By Mark Elbroch                    TX 9-271-977   2023-03-01



                                                                               Page 4733 of 5793
                        https://www.nytimes.com/2023/01/12/sports/f Someone Old Someone New Blitzing Burrow
2023-01-12   2023-01-14 ootball/nfl-wild-card-playoff-picks.html     Big Blue                                     By David Hill                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/arts/mu Lisa Marie Presley SingerSongwriter and        By Eduardo Medina April Rubin
2023-01-13   2023-01-14 sic/lisa-marie-presley-dead.html             Daughter of Elvis Dies at 54                 and Neil Genzlinger             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/arts/dan
                        ce/miguel-gutierrez-new-york-live-arts-      New York Live Arts Awards Biennial
2023-01-13   2023-01-14 residency.html                               Residency                                    By Rachel Sherman               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/arts/dan
2023-01-13   2023-01-14 ce/review-vertigo-dance-pardes.html          Communal Intimacy From an Israeli Troupe By Siobhan Burke                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/arts/lisa-For Priscilla Presley Another Painful Public
2023-01-13   2023-01-14 marie-priscilla-presley.html                 Loss                                         By Maya Salam                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/arts/mu
                        sic/review-rhiannon-giddens-songs-in-
2023-01-13   2023-01-14 flight.html                                  The Quotidian Nature of Evil                 By Oussama Zahr                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/arts/mu
                        sic/santtu-matias-rouvali-new-york-
2023-01-13   2023-01-14 philharmonic.html                            A Shining Rite of Spring                     By Joshua Barone                TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/13/busines Biggest Banks Reserve Billions As They       By Stacy Cowley and Rob
2023-01-13   2023-01-14 s/bank-of-america-wells-fargo-earnings.html Brace For a Downturn                        Copeland                          TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/13/busines Bed Bath amp Beyond Enters Talks to Sell     By Lauren Hirsch and Jordyn
2023-01-13   2023-01-14 s/bed-bath-beyond-bankruptcy-assets.html   Assets                                       Holman                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/busines US Set to Hit Debt Limit On Thursday Yellen By Alan Rappeport and Jim
2023-01-13   2023-01-14 s/economy/debt-limit-us-economy.html       Says                                         Tankersley                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/busines Consumer Banking Foray Turns Costly for
2023-01-13   2023-01-14 s/goldman-sachs-david-solomon-ceo.html     Goldman                                      By Rob Copeland and Emily Flitter TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/busines Southwest Chief Explains How Things Went
2023-01-13   2023-01-14 s/southwest-airlines-bob-jordan.html       Wrong                                        By Niraj Chokshi                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/busines
2023-01-13   2023-01-14 s/stock-market-gains.html                  Rally Sends Indexes Higher for 2nd Week      By Joe Rennison                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/busines
2023-01-13   2023-01-14 s/sweden-rare-earth-minerals.html          Sweden Discovers a Rare Earth Bonanza        By Stanley Reed                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/busines Tesla Cuts Its Prices Sharply As It Moves to
2023-01-13   2023-01-14 s/tesla-price-cut.html                     Lift Demand                                  By Neal E Boudette                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/climate Lies Fraud and Safety Offenses At a Lawless
2023-01-13   2023-01-14 /signal-peak-mine-coal.html                Mine in Montana                              By Hiroko Tabuchi                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/movies/
2023-01-13   2023-01-14 house-party-review.html                    One Rager Was Probably Enough                By Brandon Yu                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/nyregio Trump Family Company Must Pay 16             By Jonah E Bromwich Ben Protess
2023-01-13   2023-01-14 n/trump-organization-tax-fraud.html        Million For Tax Fraud and More               and William K Rashbaum            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/opinion
2023-01-13   2023-01-14 /faa-air-travel-regulation-outage.html     Air Travelers Deserve Better Than This       By William J McGee                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/opinion How Much Should You Fret About Your Gas
2023-01-13   2023-01-14 /gas-induction-stove-environment.html      Stove                                        By Farhad Manjoo                  TX 9-271-977   2023-03-01



                                                                                Page 4734 of 5793
                        https://www.nytimes.com/2023/01/13/sports/k Russia Exonerated Its Skater In an Olympics
2023-01-13   2023-01-14 amila-valieva-doping-olympics.html          Doping Case                                 By Victor Mather                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/sports/t Planning a Return to the Court From
2023-01-13   2023-01-14 ennis/elina-svitolina-ukraine.html          Maternity and War                           By Christopher Clarey              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/theater/ Paul Mescal Electrifies in a Revelatory
2023-01-13   2023-01-14 paul-mescal-streetcar-named-desire.html     Streetcar                                   By Matt Wolf                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/theater/                                             By Jesse Green Laura
2023-01-13   2023-01-14 under-the-radar-public-theater.html         Stories Told in Sexts Tweets and Puppets    CollinsHughes and Alexis Soloski   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/calif In a Drought Watching Water Escape to the By Ralph Vartabedian and Mette
2023-01-13   2023-01-14 ornia-drought-storms-water-storage.html     Sea                                         Lampcov                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/idah                                              By Mike Baker and Nicholas
2023-01-13   2023-01-14 o-murders-bryan-kohberger.html              Idaho Suspect Wrote of a Life Of No Emotion BogelBurroughs                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/new School Says It Searched Boys Backpack         By Sarah Mervosh and Eliza
2023-01-13   2023-01-14 port-news-shooting-gun-search.html          Before Shooting but Didnt Find a Weapon     Fawcett                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/polit US Vows to Help An Anxious Japan Face Up
2023-01-13   2023-01-14 ics/biden-kishida-japan.html                to China                                    By Edward Wong                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/polit Some Want GOP Not Special Counsel to        By Glenn Thrush and Luke
2023-01-13   2023-01-14 ics/biden-special-counsel.html              Lead Inquiry Into Biden                     Broadwater                         TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/13/us/polit President to Give State of the Union Address
2023-01-13   2023-01-14 ics/biden-state-of-the-union-address.html   Before a House Set to Investigate Him        By Michael D Shear                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/polit House Freshman Who Said No 14 Times
2023-01-13   2023-01-14 ics/eli-crane-arizona-trump-mccarthy.html   Took Heat With No Regret                     By Annie Karni                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/polit
                        ics/how-classified-information-is-          Rules for Classifying Files Set Up by
2023-01-13   2023-01-14 handled.html                                Executive Order                              By Charlie Savage                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/polit Justice Dept To Regulate Stabilizers For
2023-01-13   2023-01-14 ics/justice-dept-firearm-accessories.html   Firearms                                     By Glenn Thrush                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/polit
                        ics/presidents-prosecutors-special-
2023-01-13   2023-01-14 counsel.html                                Presidents Prosecutors And a Bond In History By Peter Baker                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/polit
                        ics/who-are-proud-boys-seditious-           The Stories Behind the 5 Proud Boys on Trial
2023-01-13   2023-01-14 conspiracy.html                             on Charges of Seditious Conspiracy           By Alan Feuer                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/torn Death Toll Climbs to 9 After Tornadoes Tear By Bryant K Oden Alessandro
2023-01-13   2023-01-14 ado-storms-alabama-georgia.html             Through the South                            Marazzi Sassoon and Rick Rojas    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/well/mi Even a Little Alcohol Can Harm Your Health
2023-01-13   2023-01-14 nd/alcohol-health-effects.html              Research Shows                               By Dana G Smith                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/world/a With Afghan Women Barred From Aid Work By Christina Goldbaum and Najim
2023-01-13   2023-01-14 sia/afghanistan-women-aid-taliban.html      a Hunger Crisis Worsens                      Rahim                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/world/a Officials Blame Negligence For a Deadly
2023-01-13   2023-01-14 sia/seoul-crowd-crush.html                  Crowd in Seoul                               By Choe SangHun                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/13/world/a A Witness to Mao Sees Worrying Similarities
2023-01-13   2023-01-14 sia/yuan-tsung-chen-mao-zedong-china.html in the Era of Xi                             By Alexandra Stevenson              TX 9-271-977   2023-03-01



                                                                                Page 4735 of 5793
                        https://www.nytimes.com/2023/01/13/world/e
2023-01-13   2023-01-14 urope/georgia-russia-cargo-border.html      Russian Trade Slowly Snakes Across Georgia By Ivan Nechepurenko                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/world/e 2 Claims for 1 Conquest Lay Bare a Russian By Alan Yuhas Megan Specia and
2023-01-13   2023-01-14 urope/russia-ukraine-wagner-soledar.html    Rift                                          Ivan Nechepurenko                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/world/e Oil Executive Named to Oversee Climate
2023-01-13   2023-01-14 urope/sultan-al-jaber-cop28.html            Talks Drawing the Ire of Green Groups         By Euan Ward and Vivian Nereim     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/your-
2023-01-13   2023-01-14 money/tax-refund-credit-irs.html            Your Tax Refunds May Be Smaller This Year By Ann Carrns                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/nyregio In New York City Overdose Deaths Soared By Joseph Goldstein and Joshua
2023-01-14   2023-01-14 n/new-york-overdose-record.html             During Pandemic                               Needelman                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/polit US Plan to Sell Fighter Jets to Turkey Is Met By Michael Crowley and Edward
2023-01-14   2023-01-14 ics/us-turkey-f16s.html                     With Opposition                               Wong                               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/world/a
                        mericas/brazil-bolsonaro-riot-
2023-01-14   2023-01-14 investigation.html                          Bolsonaro Faces Inquiry In Capital Riot       By Jack Nicas and Andr Spigariol   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/sports/f To Keep Your Goals on Track Run in a
2023-01-14   2023-01-14 ind-running-club.html                       Group                                         By Jennie Coughlin                 TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/12/06/books/r
2022-12-06   2023-01-15 eview/lion-and-the-fox-alexander-rose.html The Rebel Fleet                            By Ben Macintyre                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/06/books/r
                        eview/screaming-on-the-inside-jessica-
2022-12-06   2023-01-15 grose.html                                 Mother Load                                By Kim Brooks                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/18/books/j
                        an-morris-biography-life-from-both-
2022-12-18   2023-01-15 sides.html                                 A Long Journey                             By Alexandra Jacobs                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/19/books/c
2022-12-19   2023-01-15 ormac-mccarthy-food-passenger.html         Essay Easy Diner                           By Dwight Garner                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/24/books/r
2022-12-24   2023-01-15 eview/ghost-music-an-yu.html               A Fungus Among Us                          By Alexandra Kleeman                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/01/books/r
                        eview/v-v-ganeshananthan-brotherless-
2023-01-01   2023-01-15 night.html                                 Terrorist to Whom                          By Omar El Akkad                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/books/r What Does a Midlife Autism Diagnosis Mean
2023-01-05   2023-01-15 eview/matt-haig-the-midnight-library.html  for Matt Haig                              By Elisabeth Egan                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/books/r
                        eview/group-text-small-world-laura-        How Does a Family Change After Losing a
2023-01-06   2023-01-15 zigman.html                                Child                                      By Elisabeth Egan                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/science Willard Gaylin 97 Noted Psychiatrist And a
2023-01-07   2023-01-15 /willard-gaylin-dead.html                  Pioneer in the Field of Bioethics          By Richard Sandomir                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/books/r
2023-01-08   2023-01-15 eview/new-historical-fiction.html          Where Brave Women Rule                     By Alida Becker                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/books/r
2023-01-08   2023-01-15 eview/still-pictures-janet-malcolm.html    Janet Malcolm Remembers                    By Charles Finch                       TX 9-271-977   2023-03-01




                                                                                 Page 4736 of 5793
                        https://www.nytimes.com/2023/01/09/arts/tele
2023-01-09   2023-01-15 vision/simona-tabasco-white-lotus.html       Simona Tabasco on Her Favorite Parts of Italy By Rachel Sherman          TX 9-271-977    2023-03-01

                        https://www.nytimes.com/interactive/2023/01/ Draymond Green Sets Us Straight on the Real
2023-01-09   2023-01-15 09/magazine/draymond-green-interview.html NBA                                            By David Marchese            TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/10/books/r
2023-01-10   2023-01-15 eview/flora-macdonald-fraser.html            The Highland Heroine and the Prince         By Julie Flavell             TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/10/books/r
                        eview/the-riders-come-out-at-night-ali-
2023-01-10   2023-01-15 winston-darwin-bondgraham.html               Why Police Reform Is So Hard                By Maurice Chammah           TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/10/magazi My ExHusband Sexually Abused His Sister
2023-01-10   2023-01-15 ne/child-sexual-abuse-ethics.html            Should I Have Been Warned                   By Kwame Anthony Appiah      TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/10/magazi
2023-01-10   2023-01-15 ne/danhausen-wrestling.html                  The AntiWrestler                            By Dan Brooks                TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/10/magazi
2023-01-10   2023-01-15 ne/diy-hype-videos-college-football.html     DIY Hype Videos                             By Ali Breland               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/10/magazi
2023-01-10   2023-01-15 ne/inflation-federal-reserve.html            Squeeze Play                                By Michael Steinberger       TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/10/realesta The Whole System Is Badly in Need Of a
2023-01-10   2023-01-15 te/black-women-home-appraisal-industry.html Reappraisal                                By Debra Kamin                 TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/10/style/ki Louis Vuitton Pins Its Faith on a Scrappy
2023-01-10   2023-01-15 dsuper-louis-vuitton.html                    Maverick                                  By Guy Trebay                  TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/10/theater/
2023-01-10   2023-01-15 riverside-and-crazy-apartment.html           Where a Broadway Play Was Born            By Julia Jacobs                TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/11/arts/tele Dodging Zombies While Defying Some Toxic
2023-01-11   2023-01-15 vision/bella-ramsey-the-last-of-us.html      Fans                                      By Douglas Greenwood           TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/11/arts/tele
2023-01-11   2023-01-15 vision/the-last-of-us-hbo.html               The Last of Us Seeks a Path to Cross Over By Conor Dougherty             TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/11/arts/tele
2023-01-11   2023-01-15 vision/the-last-of-us-video-game-hbo.html    Life After the Apocalypse                 By Brian Tallerico             TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/11/magazi
2023-01-11   2023-01-15 ne/ai-photo-filters-selfies.html             Seen Better                               By Sophie Haigney              TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/11/magazi Top Bananas A familiar favorite banana bread
2023-01-11   2023-01-15 ne/miso-pecan-banana-bread-recipe.html    gets a shot of flavor from miso and pecans   By Bryan Washington            TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/11/magazi
                        ne/montana-republicans-christian-
2023-01-11   2023-01-15 nationalism.html                          Gods Country                                 By Abe Streep                  TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/11/opinion Why Was the Idaho Murder Suspect Studying
2023-01-11   2023-01-15 /bryan-kohberger-motive-criminology.html Criminology                                 By Bryanna Fox                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/opinion The Partys Over for Us Where Do We Go
2023-01-11   2023-01-15 /republican-party-future.html              Now                                       By Bret Stephens and David Brooks TX 9-271-977   2023-03-01




                                                                                 Page 4737 of 5793
                        https://www.nytimes.com/2023/01/11/realesta
                        te/700000-homes-in-texas-virginia-and-      700000 Homes in Texas Virginia and
2023-01-11   2023-01-15 missouri.html                               Missouri                                    By Angela Serratore               TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/11/realesta
2023-01-11   2023-01-15 te/seed-catalog-tips-annuals.html           Go Wild When Shopping for Flower Seeds      By Margaret Roach                 TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/11/style/ki
2023-01-11   2023-01-15 ds-walking-home-alone-appropriate-age.html The Lone Walker                                By Philip Galanes                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/style/pl Plastic Surgery No Phone No Credit Cards No
2023-01-11   2023-01-15 astic-free.html                               Bed                                         By A J Jacobs                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/arts/mu
                        sic/nicola-benedetti-edinburgh-international- From Violinist to Chief of an Edinburgh
2023-01-12   2023-01-15 festival.html                                 Festival                                    By Hugh Morris                    TX 9-271-977   2023-03-01
                                                                      Excruciating sciatica hobbled her for weeks
                        https://www.nytimes.com/2023/01/12/magazi but nothing her doctor chiropractor or
                        ne/eosinophilic-granulomatosis-polyangiitis- physical therapist suggested helped What was
2023-01-12   2023-01-15 diagnosis.html                                this                                        By Lisa Sanders MD                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/magazi
                        ne/judge-john-hodgman-on-the-neighbors-
2023-01-12   2023-01-15 forbidden-fruit.html                          Bonus Advice From Judge John Hodgman        By John Hodgman                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/magazi
2023-01-12   2023-01-15 ne/poem-aise-de-mayon.html                    Poem Aise de Mayon                          By Sharon Olds and Victoria Chang TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/movies/
2023-01-12   2023-01-15 bill-nighy-living.html                        Major Roles Call for Minimalism             By Sarah Lyall                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/movies/ Preserving Movies Takes Time and Right
2023-01-12   2023-01-15 moma-to-save-and-project.html                 Factors                                     By Ben Kenigsberg                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/nyregio Uber and Lyft Drivers Struggle to Make a
2023-01-12   2023-01-15 n/cab-uber-lyft-drivers.html                  Living                                      By Winnie Hu and Ana Ley          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/opinion
2023-01-12   2023-01-15 /ukraine-war.html                             How Everyday Ukrainians Are Fighting Putin By Anna Husarska                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/realesta
                        te/black-real-estate-agents-                  Racial Inequities In Home Sales Block Some
2023-01-12   2023-01-15 discrimination.html                           Doors                                       By Colette Coleman                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/realesta
2023-01-12   2023-01-15 te/renting-buying-save-the-most.html          Where Ownership Is the Pricier Option       By Michael Kolomatsky             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/sports/b
2023-01-12   2023-01-15 asketball/nba-wilt-chamberlain.html           Stratospheric Stats Wilt Had Them First     By Harvey Araton                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/style/an
2023-01-12   2023-01-15 n-arbor-geezer-happy-hour.html                Theyre Not Too Old to Boogie                By Joseph Bernstein               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/style/da Losing at Love Maybe Youre Just a Lousy
2023-01-12   2023-01-15 ting-classes-texting.html                     Texter                                      By Sara Radin                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/style/m In M3gan a Deadly Doll Deserves a Killer
2023-01-12   2023-01-15 3gan-movie-costume-design.html                Wardrobe                                    By Joshua Lyon                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/ Skeptical About Trump 24 These 12            By Patrick Healy and Adrian J
2023-01-12   2023-01-15 12/opinion/republican-focus-group.html        Republicans Will Set You Straight           Rivera                            TX 9-271-977   2023-03-01



                                                                                Page 4738 of 5793
                        https://www.nytimes.com/2023/01/13/arts/dan
2023-01-13   2023-01-15 ce/andrew-litton-new-york-city-ballet.html  An Eye on Tempo and the Stage                   By Alastair Macaulay    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/arts/des
2023-01-13   2023-01-15 ign/ser-serpas-trash-swiss-institute.html   In a Crumbling World Trash Yields Poetry        By Travis Diehl         TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/13/arts/mu Barclays Center Leaves SeatGeek for
2023-01-13   2023-01-15 sic/barclays-center-ticketmaster-seatgeek.html Ticketmaster                                 By Ben Sisario          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/books/r
                        eview/in-the-upper-country-moonrise-over-
                        new-jessup-wade-in-the-water-kai-thomas-
2023-01-13   2023-01-15 jamila-minnicks-nyani-nkrumah.html             Historical Fiction                           By Alyssa Cole          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/books/r
                        eview/my-strange-shrinking-parents-zeno-
                        sworder-the-boy-who-tried-to-shrink-his-
2023-01-13   2023-01-15 name-sandhya-parappukkaran.html                Small Wonder                                 By Andrea Wang          TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/13/busines
2023-01-13   2023-01-15 s/investing-money-markets-stocks-bonds.html Investing When Your Time Horizon Is Short By Jeff Sommer                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/busines
2023-01-13   2023-01-15 s/money-salary-transparency-pay.html        Why Its So Hard to Talk About Money       By Emma Goldberg              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/busines 27 People on the Streets of New York Talk  By Julia Rothman and Shaina
2023-01-13   2023-01-15 s/new-york-income-money.html                About How Much Money They Make            Feinberg                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/nyregio Santoss Deceits Werent A Secret In GOP
2023-01-13   2023-01-15 n/george-santos-republicans-lies.html       Circles                                   By Nicholas Fandos            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/nyregio Soccer Venue to Cost Taxpayers 0 Or 516    By Dana Rubinstein and Ken
2023-01-13   2023-01-15 n/soccer-stadium-queens-taxpayer.html       Million                                   Belson                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/nyregio
2023-01-13   2023-01-15 n/west-african-immigrants-nyc.html          African Migrants In Need but Overlooked   By Kimiko de FreytasTamura    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/opinion The Case for and Against Donald Trump in
2023-01-13   2023-01-15 /donald-trump-joe-biden.html                2024                                      By Kellyanne Conway           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/opinion
                        /guns-open-carry-concealed-weapons-
2023-01-13   2023-01-15 democracy.html                              Guns Everywhere Mean Democracy Nowhere By Jamelle Bouie                 TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/13/opinion The Romance Novelist Who Faked Her Own
2023-01-13   2023-01-15 /susan-meachen-faked-her-own-death.html     Death                                           By Megan Greenwell      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/realesta
                        te/black-flight-shaker-heights-school-
2023-01-13   2023-01-15 integration.html                            Leaving An Integrated City                      By Debra Kamin          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/sports/s Juventus Rides Crisis After Crisis to Success
2023-01-13   2023-01-15 occer/juventus-napoli.html                  in Serie A                                      By Rory Smith           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/style/av
2023-01-13   2023-01-15 atar-bathroom-break.html                    Avatar and the Way Of Bursting Bladders         By Callie Holtermann    TX 9-271-977   2023-03-01




                                                                                  Page 4739 of 5793
                        https://www.nytimes.com/2023/01/13/style/ga A Courtship Fit for a Drag Queen and an
2023-01-13   2023-01-15 ry-allinger-onofre-duran-wedding.html       Emperor                                        By Jenny Block                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/style/je
2023-01-13   2023-01-15 nay-powell-marque-macon-wedding.html        Her Mothers Intuition Proved Right             By Tammy La Gorce               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/style/jo
                        rdan-chernikoff-demetrius-freeman-          Their Connection Proved Stronger Than the
2023-01-13   2023-01-15 wedding.html                                Elements                                       By Emma Grillo                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/13/style/m Directing Energy in One Direction Is
2023-01-13   2023-01-15 odern-love-jay-shetty-date-like-a-monk.html Attractive                                     By Jay Shetty                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/13/style/wi How the Universe Brought Them Together
2023-01-13   2023-01-15 lliam-wildman-parker-kennedy-wedding.html Twice                                            By Valeriya Safronova           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/case Casey Hayden a Leader for Civil Rights and
2023-01-13   2023-01-15 y-hayden-dead.html                           Feminism Dies at 85                           By Neil Genzlinger              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/polit Head of Effort To Distribute Covid Vaccines
2023-01-13   2023-01-15 ics/david-kessler-biden-covid.html           Is Departing                                  By Sheryl Gay Stolberg          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/polit Russell Pearce Fiery Opponent Of Illegal
2023-01-13   2023-01-15 ics/russell-pearce-dead.html                 Immigration Dies at 75                        By Sam Roberts                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/ufo- Defense Bill Asks if Aliens Visited the Earth
2023-01-13   2023-01-15 new-mexico-congress.html                     in 1945                                       By Remy Tumin                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/
2023-01-13   2023-01-15 13/opinion/jodorowsky-dune-ai-tron.html      This Film Does Not Exist                      By Frank Pavich                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/busines
2023-01-14   2023-01-15 s/how-to-ask-for-a-raise.html                Right and Wrong Ways to Ask for a Raise       By Paulette Perhach             TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/14/busines As Historical Dramas Mushroom So Do             By Jeremy W Peters and Nicole
2023-01-14   2023-01-15 s/media/tv-historical-dramas-fictional.html Complaints About Their Inaccuracies            Sperling                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/busines
                        s/pay-transparency-public-salary-
2023-01-14   2023-01-15 information.html                            Salary Transparency Has Benefits and Costs     By Sarah Kessler                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/climate Ecuador Tried to Curb Drilling The Reverse      By Catrin Einhorn Manuela
2023-01-14   2023-01-15 /ecuador-drilling-oil-amazon.html           Happened                                       Andreoni and Erin Schaff        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/nyregio
                        n/brooklyn-bushwick-swimming-
2023-01-14   2023-01-15 lifeguards.html                             The Revival of Brooklyns Lifeguard Factory     By Corey Kilgannon              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/nyregio
2023-01-14   2023-01-15 n/rachael-price-lake-street-dive.html       Long Strolls and Breakfast All Day             By Tammy La Gorce               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/nyregio Santos Urged Trans Voters to Leave
2023-01-14   2023-01-15 n/santos-trans-therapy-devolder.html        Democrats                                      By Michael Gold                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/opinion
                        /american-history-college-university-
2023-01-14   2023-01-15 academia.html                               This Is Actually the End of History            By Daniel Bessner               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/opinion
2023-01-14   2023-01-15 /climate-change-south-africa.html           A Chance for Climate Change Progress           By The Editorial Board          TX 9-271-977   2023-03-01



                                                                                 Page 4740 of 5793
                        https://www.nytimes.com/2023/01/14/opinion
2023-01-14   2023-01-15 /joe-biden-approval.html                       Will There Be a Biden Comeback                By Ross Douthat                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/opinion
2023-01-14   2023-01-15 /prince-harry-spare-royal-family.html          Harrys Fractured Fairy Tale                   By Maureen Dowd                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/opinion
2023-01-14   2023-01-15 /rape-kenya.html                               Help Girls Enduring the Unendurable           By Nicholas Kristof              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/opinion
2023-01-14   2023-01-15 /travel-paradise.html                          The Trouble With Paradise                     By Pico Iyer                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/realesta My Boss Told My CoWorkers I Had Covid
2023-01-14   2023-01-15 te/covid-privacy-rights.html                   Isnt That Illegal                             By Ronda Kaysen                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/realesta
2023-01-14   2023-01-15 te/wedding-venue-family-home.html              Cherished Family Home Gets a Second Act By Tariro Mzezewa                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/sports/f The Routes They Take Make All the
2023-01-14   2023-01-15 ootball/nfl-receivers-routes.html              Difference                                    By Emmanuel Morgan               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/style/ch New Chapter in the Chelsea Hotels Ghostly
2023-01-14   2023-01-15 elsea-hotel.html                               Lore                                          By Nicolaia Rips                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/us/anot
                        her-storm-is-soaking-california-heres-what-to- In Saturated California Evacuation Orders and By Shawn Hubler Victoria Kim and
2023-01-14   2023-01-15 know.html                                      Impassable Roads                              Judson Jones                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/us/bide White House Discloses Additional Files
2023-01-14   2023-01-15 n-classified-documents-delaware.html           Found At President Bidens Home                By Charlie Savage                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/us/polit
                        ics/biden-vice-president-documents-                                                          By Peter Baker and Michael D
2023-01-14   2023-01-15 investigation.html                             Biden Inquiry Puts Spotlight On Winter 17     Shear                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/world/a
2023-01-14   2023-01-15 sia/china-60000-covid-deaths.html              China Reports 60000 Deaths Tied to Covid      By David Pierson and Olivia Wang TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/world/a Plundering Art Russia Assaults Soul of            By Jeffrey Gettleman and
2023-01-14   2023-01-15 sia/ukraine-art-russia-steal.html              Ukraine                                       Oleksandra Mykolyshyn            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/world/e German Village at Center of Fight Over Coal
2023-01-14   2023-01-15 urope/germany-village-coal-activists.html      and Climate Is Cleared                        By Christopher F Schuetze        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/world/e In Brutal Truffle Wars FourLegged Hunters
2023-01-14   2023-01-15 urope/italy-truffles-dogs.html                 Become Sad Casualties                         By Jason Horowitz                TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/14/world/ Iran Executes Former Defense Official a Dual
2023-01-14   2023-01-15 middleeast/iran-execution-spying-official.html UK Citizen on Spy Charges                  By Farnaz Fassihi               TX 9-271-977       2023-03-01
                        https://www.nytimes.com/2023/01/14/world/
                        middleeast/britain-ukraine-tanks-              UK Aims to Send Tanks to Ukraine a Move
2023-01-15   2023-01-15 leopards.html                                  Long Resisted by Allies                    By Megan Specia and Ben Hubbard TX 9-271-977       2023-03-01
                        https://www.nytimes.com/2023/01/15/busines
                        s/the-week-in-business-airlines-faa-travel-
2023-01-15   2023-01-15 disruptions.html                               The Week in Business More Air Travel Chaos By Marie Solis                  TX 9-271-977       2023-03-01
                        https://www.nytimes.com/2023/01/15/insider/
2023-01-15   2023-01-15 el-jefecito-tacos.html                         Outside The Times Lunch With the Details   By Terence McGinley             TX 9-271-977       2023-03-01




                                                                                 Page 4741 of 5793
                        https://www.nytimes.com/2023/01/15/nyregio
                        n/the-slow-inevitable-death-of-middle-class-
2023-01-15   2023-01-15 housing.html                                 What Is Wrong With This Picture            By Ginia Bellafante             TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/15/realesta How One Man Is Redefining Midcentury           By Matt Shaw and Madeleine
2023-01-15   2023-01-15 te/midcentury-architecture-jerald-cooper.html Modern                                       Hordinski                    TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/15/sports/t Kyrgios a Mercurial Star Tries to Lift Himself
2023-01-15   2023-01-15 ennis/nick-kyrgios-australian-open.html       and His Sport                                By Matthew Futterman         TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/15/style/an Fashion Editor Provides for a Sale of the
2023-01-15   2023-01-15 dre-leon-talley-auction.html                  Century                                      By Vanessa Friedman          TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/15/world/a
2023-01-15   2023-01-15 sia/bali-indonesia-russians-ukrainians.html  Haven for Ukrainians And Russians in Bali By SuiLee Wee and Nyimas Laula TX 9-271-977       2023-03-01
                        https://www.nytimes.com/2023/01/16/realesta
2023-01-16   2023-01-15 te/home-prices-california.html               45 Million Homes in California              By Angela Serratore              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/03/15/insider/
                        putting-meme-up-for-semantic-
2023-03-15   2023-01-15 dissection.html                              Putting Meme Up for Semantic Dissection     By Sarah Diamond                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/movies/ Ruggero Deodato 83 Director Of Grisly
2023-01-09   2023-01-16 ruggero-deodato-dead.html                    Cannibal Holocaust                          By Neil Genzlinger               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/opinion
2023-01-11   2023-01-16 /sorry-apologies.html                        Is a Grudging Apology Better Than Nothing By Jessica Grose                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/us/polit                                              By Alan Rappeport Jim Tankersley
2023-01-11   2023-01-16 ics/debt-ceiling-economy-congress.html       Perils Lurk If US Hits Debt Limit           and Jeanna Smialek               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/arts/des
2023-01-12   2023-01-16 ign/murillo-kimbell-review.html              Straddling The Saintly And Earthly          By Walker Mimms                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/arts/tele
2023-01-12   2023-01-16 vision/the-traitors-us-show.html             British Import Tries to Catch On in America By Scott Bryan                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/busines                                               By Daisuke Wakabayashi and
2023-01-12   2023-01-16 s/china-economy.html                         China Takes Rosier Tone On Business         Claire Fu                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/busines Scott Minerd 63 a Force on Wall Street Who
2023-01-12   2023-01-16 s/dealbook/scott-minerd-dead.html            Transformed Guggenheim Partners             By Maureen Farrell               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/theater/
2023-01-12   2023-01-16 here-lies-love-broadway.html                 Imelda Marcos Musical Will Play Broadway By Michael Paulson                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/movies/ A True War Story an Indigenous Journey and
2023-01-13   2023-01-16 international-movies-streaming.html          More                                        By Devika Girish                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/sports/t
2023-01-13   2023-01-16 ennis/australian-open-drama.html             Hoping the drama stays on the court         By Cindy Shmerler                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/sports/t
2023-01-13   2023-01-16 ennis/holger-rune-profile.html               Newcomer of the year                        By Cindy Shmerler                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/sports/t
2023-01-13   2023-01-16 ennis/long-matches-waiting.html              How to win the waiting game                 By Stuart Miller                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/peter
2023-01-13   2023-01-16 grose-dead.html                              Peter Grose 88 Correspondent for The Times By Clay Risen                     TX 9-271-977   2023-03-01




                                                                                 Page 4742 of 5793
                        https://www.nytimes.com/2023/01/13/world/e Constantine II Last King of Greece and an
2023-01-13   2023-01-16 urope/constantine-dead.html                 Olympic Medalist Dies at 82               By Niki Kitsantonis              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/world/a Plotting Openly Rioters in Brazil Breached
2023-01-14   2023-01-16 mericas/brazil-protests-mob.html            Security With Ease                        By Jack Nicas and Simon Romero   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/climate Measuring the Turmoil Beneath the Clouds By Raymond Zhong and Erin
2023-01-14   2023-01-16 /california-atmospheric-river-noaa.html     From Above                                Schaff                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/fashion Tatjana Patitz Model Who Typified Glamour
2023-01-14   2023-01-16 /tatjana-patitz-dead.html                   In the 90s Dies at 56                     By Neil Genzlinger               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/sports/s Sitting Near and Far for a Throwback
2023-01-14   2023-01-16 purs-record-attendance-alamodome.html       Anniversary Party                         By Scott Cacciola                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/theater/
2023-01-14   2023-01-16 broadway-black-financial-futures.html       Making Ends Meet as Best They Can         By Maya Phillips                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/us/gas- Debate Over Gas Stoves Offers Home Cooks
2023-01-14   2023-01-16 stove-alternatives.html                     Chance to Consider the Alternatives       By Christine Chung               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/world/e An Era Draws to a Close as Top Czech
2023-01-14   2023-01-16 urope/czech-presidential-candidates.html    Presidential Candidates Favor the West    By Andrew Higgins                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/arts/dan
                        ce/daina-ashbee-jai-pleure-avec-les-        Pushing the Extremes Toward a Kind of
2023-01-15   2023-01-16 chiens.html                                 Healing                                   By Siobhan Burke                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/arts/dan
                        ce/review-romeo-and-juliet-hong-kong-       For StarCrossed Lovers Wherefore the
2023-01-15   2023-01-16 ballet.html                                 Intensity                                 By Gia Kourlas                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/briefing
2023-01-15   2023-01-16 /netanyahu-israel-protests.html             Israel Moves Right at Dizzying Speed      By Ian Prasad Philbrick          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/busines TikTok Bans Becoming a Part of Campus
2023-01-15   2023-01-16 s/auburn-tiktok-ban-students.html           Life                                      By Sapna Maheshwari              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/busines
2023-01-15   2023-01-16 s/economy/new-business.html                 StartUps Are Getting Reality Checks       By Sydney Ember                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/nyregio
2023-01-15   2023-01-16 n/district-attorney-bragg-second-year.html  Criticized but Confident in His Record    By Jonah E Bromwich              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/nyregio In Visit to Southern Border Adams Steps Up By John De Frank and Emma G
2023-01-15   2023-01-16 n/eric-adams-mexico-border-migrants.html    Pressure on Biden for Migrant Funds       Fitzsimmons                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/opinion The Kind of Revolution That Martin Luther
2023-01-15   2023-01-16 /martin-luther-king-woke-reparations.html   King Jr Envisioned                        By Esau McCaulley                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/opinion
2023-01-15   2023-01-16 /mccarthy-republicans-coming-apart.html     Three Reasons the GOP Keeps Falling Apart By Ezra Klein                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/sports/f Buffalo Marches Ahead Despite Some
2023-01-15   2023-01-16 ootball/bills-dolphins-score.html           Struggles                                 By Jenny Vrentas                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/sports/f Charles White 64 Heisman Winner Whose
2023-01-15   2023-01-16 ootball/charles-white-dead.html             Pummeling of Opponents Took a Toll        By Richard Sandomir              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/sports/n Auto Crash Claims Life Of a Player For
2023-01-15   2023-01-16 caafootball/georgia-player-crash-dies.html  Georgia                                   By Kris Rhim                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/sports/t After Rocketing Into the Top 100 This
2023-01-15   2023-01-16 ennis/shelton-australian-open.html          20YearOld Is Ready to Go Global           By Christopher Clarey            TX 9-271-977   2023-03-01




                                                                              Page 4743 of 5793
                        https://www.nytimes.com/2023/01/15/us/affir
2023-01-15   2023-01-16 mative-action-admissions-scotus.html          Colleges Face Major Changes In Recruitment By Stephanie Saul               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/us/alfre Alfred T Goodwin Is Dead at 99 Ruled in
2023-01-15   2023-01-16 d-goodwin-dead.html                           Pledge of Allegiance Case                  By Richard Sandomir             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/us/miss Women in Missouris Legislature Are Now
2023-01-15   2023-01-16 ouri-dress-code-women.html                    Required to Wear a Blazer                  By Eduardo Medina               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/us/polit Despite Recount of 2020 Ballots Countys
2023-01-15   2023-01-16 ics/2020-recount-lycoming-county.html         Deniers Cling to Doubts                    By Trip Gabriel                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/us/polit Subdued Sermon Reflects Defeats On Voting
2023-01-15   2023-01-16 ics/biden-mlk-voting-rights.html              Rights                                     By Peter Baker                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/us/sprin 2 Paramedics Face Charges Of Murder In
2023-01-15   2023-01-16 gfield-paramedics-murder.html                 Illinois                                   By Christine Chung              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/world/a Plane Crashes in Nepal At Least 68 Are        By Bhadra Sharma and Karan Deep
2023-01-15   2023-01-16 sia/plane-crash-nepal.html                    Killed                                     Singh                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/world/e
                        urope/15ukraine-zaporizhzhia-refugees-        In RussianOccupied Areas Grim Wait For
2023-01-15   2023-01-16 detainees.html                                Progress as Counteroffensive Stalls        By Carlotta Gall                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/world/e Parliament Chief on Raid I Did What I Had to
2023-01-15   2023-01-16 urope/european-parliament-president.html      Do                                         By Matina StevisGridneff        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/world/e Bidens Hopes for Northern Ireland Present A
2023-01-15   2023-01-16 urope/northern-ireland-easter-biden.html      Challenging Timetable for UKs Sunak        By Mark Landler                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/world/e
                        urope/switzerland-skiiing-alpine-villages-no- In the Alps Lamenting The End of Endless
2023-01-15   2023-01-16 snow.html                                     Snow                                       By Erika Solomon                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/world/e Dnipro Mourns As Dozens Die In Russia
2023-01-15   2023-01-16 urope/ukraine-dnipro-russia-strike.html       Strike                                     By Megan Specia and Nicole Tung TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/sports/f Giants Put Comeback Just Out of Vikings
2023-01-16   2023-01-16 ootball/giants-vikings-score.html             Reach to Pull Off Upset                    By Emmanuel Morgan              TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/15/sports/f
2023-01-16   2023-01-16 ootball/nfl-wild-card-round-takeaways.html What We Learned This Round                  By Derrik Klassen                TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/15/us/calif Trouble Areas to Watch As Yet Another      By Carly Olson Ava Sasani Luke
2023-01-16   2023-01-16 ornia-storm-areas-los-angeles-santa-cruz.html Storm Slogs Toward California            Vander Ploeg and Julie Brown     TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/16/arts/tele
                        vision/whats-on-tv-this-week-independent-
2023-01-16   2023-01-16 lens-and-night-court.html                     This Week on TV                          By Gabe Cohn                     TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/16/busines As CoinDesks Parent Stumbles the Outlet
2023-01-16   2023-01-16 s/media/coindesk-ftx-cryptocurrency.html      Faces Questions on Its Independence      By Isabella Simonetti            TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/16/health/f
2023-01-16   2023-01-16 ake-death-romance-novelist-meachen.html       A Romance Authors Twist Faking Her Death By Ellen Barry                   TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/16/sports/b Despite Talent The Nets Remain A Work in
2023-01-16   2023-01-16 asketball/brooklyn-nets-record-identity.html Progress                                  By Kurt Streeter                 TX 9-271-977    2023-03-01




                                                                               Page 4744 of 5793
                        https://www.nytimes.com/2022/12/19/science Paleontological Puzzle An Ancient Field of
2022-12-19   2023-01-17 /ichthyosaur-fossils-graveyard-nevada.html Death Actually Quite the Opposite             By Darren Incorvaia             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/19/science Stinging Behavior Male Wasps Take a Stab
2022-12-19   2023-01-17 /wasps-penis-spike-sting.html               At Attaining Sexual Equality                 By Sofia Quaglia                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/well/m
2023-01-05   2023-01-17 ove/dynamic-warm-up-exercises.html          Stretch a WarmUp Past Stretches              By Cindy Kuzma                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/06/well/eat Healthy Hearts Often Have Something in
2023-01-06   2023-01-17 /mediterranean-diet-health.html             Common                                       By Dani Blum                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/well/mi
2023-01-09   2023-01-17 nd/concentration-focus-distraction.html     How to Focus Screen to Screen                By Dana G Smith                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/well/eat What Should I Eat or Drink When I Have a
2023-01-10   2023-01-17 /cold-flu-drinks-food.html                  Cold                                         By Alice Callahan               TX 9-271-977   2023-03-01
                                                                    A Fossils True Identity For a Flower Trapped
                        https://www.nytimes.com/2023/01/12/science in Amber a Very Long Case of Mistaken
2023-01-12   2023-01-17 /amber-flower-baltic.html                   Identity                                     By Kate Golembiewski            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/science Noisy Waters Dolphins Can Yell Underwater
2023-01-12   2023-01-17 /dolphins-yelling-noise.html                But Often Not Loud Enough                    By Carolyn Wilke                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/science At NASA Smart Risks and Useful Failures
2023-01-12   2023-01-17 /thomas-zurbuchen-nasa-science.html         Worked                                       By Kenneth Chang                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/arts/mu
                        sic/playlist-everything-but-the-girl-miley- A LongAwaited Return After 24 Years and 12 By Jon Pareles Jon Caramanica and
2023-01-13   2023-01-17 cyrus.html                                  More Songs                                   Lindsay Zoladz                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/us/robb Robbie Knievel 60 Motorcycle Daredevil
2023-01-13   2023-01-17 ie-knievel-dead.html                        Who Followed in His Fathers Flight Paths     By Michael Levenson             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/books/h
2023-01-14   2023-01-17 anif-kureishi-twitter-hospital.html         After a Collapse Gripping Dispatches         By Sarah Lyall                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/busines
                        s/energy-environment/davos-energy-climate- The Ukraine Wars Effects On Climate Oddly
2023-01-14   2023-01-17 ukraine.html                                Mixed                                        By David Gelles                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/health/
2023-01-14   2023-01-17 medicare-drug-prices.html                   Provisions Will Lower Drug Costs for Seniors By Paula Span                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/world/d
2023-01-14   2023-01-17 avos-world-economic-forum.html              Confronting a new world order                By Roger Cohen                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/world/e
2023-01-14   2023-01-17 urope/europe-crises-davos.html              Europe weathers challenges but others remain By Steven Erlanger              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/world/h
                        umanitarian-crises-international-rescue-
2023-01-14   2023-01-17 committee.html                              The refugee crisis is manageable             By Claudia Dreifus              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/world/ Cooperation on climate is emerging in the
2023-01-14   2023-01-17 middleeast/climate-middle-east-davos.html   Mideast                                      By David Kaufman                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/arts/des Ruth Adler Schnee Whose Vivid Fabrics
2023-01-15   2023-01-17 ign/ruth-adler-schnee-dead.html             Remade Homes Dies at 99                      By Penelope Green               TX 9-271-977   2023-03-01




                                                                               Page 4745 of 5793
                        https://www.nytimes.com/2023/01/15/movies/
                        critics-choice-awards-winners-complete-      Everything Everywhere Wins Critics Choice
2023-01-15   2023-01-17 list.html                                    Award                                        By Kyle Buchanan                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/opinion
2023-01-15   2023-01-17 /embassy-jerusalem-israel-palestine.html     Dont Build the Jerusalem Embassy Here        By Rashid Khalidi                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/opinion New York City Doesnt Have Nearly Enough
2023-01-15   2023-01-17 /new-york-public-toilets.html                Free Bathrooms                               By Theodora Siegel                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/arts/des
                        ign/martin-luther-king-jr-statue-boston-
2023-01-16   2023-01-17 common.html                                  Love as a Catalyst That Drives Change        By Kalia Richardson                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/us/jfk- Takeoff at JFK Is Aborted When Plane           By Andy Newman and Livia
2023-01-16   2023-01-17 planes-delta-american-faa.html               Crosses Runway                               AlbeckRipka                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/arts/mu
2023-01-16   2023-01-17 sic/billy-harper.html                        Billy Harper Reaches for Transcendence       By Richard Scheinin                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/arts/mu
                        sic/dialogues-des-carmelites-metropolitan-
2023-01-16   2023-01-17 opera.html                                   United First by Faith Then by the Guillotine By Oussama Zahr                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/arts/tele
2023-01-16   2023-01-17 vision/night-court-john-larroquette.html     Less Lewd More Shrewd                        By Alexis Soloski                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/busines The Number That Keeps The ECB Up at
2023-01-16   2023-01-17 s/core-inflation-europe-eurozone.html        Night                                        By Eshe Nelson                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/movies/ A Man Called Otto Strikes a Chord in Middle
2023-01-16   2023-01-17 a-man-called-otto-box-office.html            America                                      By Brooks Barnes                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/movies/ Gina Lollobrigida Star Whose Allure Crossed
2023-01-16   2023-01-17 gina-lollobrigida-dead.html                  the Atlantic Dies at 95                      By Anita Gates                     TX 9-271-977   2023-03-01
                                                                     Drug Graft Trial of Mexican ExLaw Enforcer
                        https://www.nytimes.com/2023/01/16/nyregio Could Hold Key to a Trunk Filled With
2023-01-16   2023-01-17 n/garcia-luna-trial-mexico-court.html        Secrets                                      By Alan Feuer and Natalie Kitroeff TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/nyregio US Asks to Drop Case Accusing NYPD
2023-01-16   2023-01-17 n/nypd-officer-china-spy-angwang.html        Officer Of Being Chinese Agent               By Ed Shanahan                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/nyregio Crackdown On Sick Days Is Hindered By          By Jan Ransom and William K
2023-01-16   2023-01-17 n/rikers-guards-sick-leave.html              Sick Days                                    Rashbaum                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/opinion And Now a Few Words About How Power
2023-01-16   2023-01-17 /mccarthy-biden-prince-harry.html            Makes You Weird                              By Gail Collins and Bret Stephens TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/16/science
2023-01-16   2023-01-17 /photography-animals-encounters.html         Snarl Youre On Candid Camera                 By Emily Anthes                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/sports/b In Praise and Awe of a Ghost That Big
2023-01-16   2023-01-17 aseball/kodai-senga-mets-ghost-fork.html     League Batters Will See or Not               By Gary Phillips                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/sports/s New FIFA Corruption Trial to Focus on Fox
2023-01-16   2023-01-17 occer/fifa-trial-fox.html                    TV Rights                                    By Ken Bensinger                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/sports/t
2023-01-16   2023-01-17 ennis/djokovic-australian-open.html          Djokovic Returns No Longer a Villain         By Christopher Clarey              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/sports/t Disappointed Kyrgios Bows Out of Home
2023-01-16   2023-01-17 ennis/nick-kyrgios-australian-open.html      Tournament With Knee Injury                  By Matthew Futterman               TX 9-271-977   2023-03-01




                                                                                 Page 4746 of 5793
                        https://www.nytimes.com/2023/01/16/sports/t
                        ennis/shang-juncheng-china-australian-      For Chinese Men A Rare Moment On a Major
2023-01-16   2023-01-17 open.html                                   Stage                                     By Christopher Clarey              TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/16/technol
                        ogy/chatgpt-artificial-intelligence-
2023-01-16   2023-01-17 universities.html                           AI Is Doing Homework Can It Be Outsmarted By Kalley Huang                    TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/16/technol
2023-01-16   2023-01-17 ogy/madison-square-garden-ban-lawyers.html Arena Ban On Lawyers Fails to Stick          By Kashmir Hill                  TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/16/theater/
2023-01-16   2023-01-17 michael-r-jackson-a-strange-loop.html       Reflecting as A Strange Loop Ends           By Michael Paulson               TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/16/us/arizo
2023-01-16   2023-01-17 na-water-rio-verde-scottsdale.html          Skipped Showers Paper Plates and No Water   By Jack Healy                    TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/16/us/polit
                        ics/biden-visitor-logs-classified-          The White House Says No Visitor Logs Are
2023-01-16   2023-01-17 documents.html                              Kept At the Presidents Home                 By Michael D Shear               TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/16/us/polit How Red Flag Laws Offer Tool to Thwart
2023-01-16   2023-01-17 ics/red-flag-laws-mass-shootings.html       Shootings                                   By Sheryl Gay Stolberg           TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/16/us/shoo Gunmen Kill 6 at California Home Including
2023-01-16   2023-01-17 ting-goshen-california.html                  a 17YearOld Mother and Her Baby              By Jesus Jimnez                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/world/a
2023-01-16   2023-01-17 frica/kidnapping-burkina-faso.html           Burkina Faso Says Raiders Kidnapped 50       By Elian Peltier                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/world/a Zero Covid Workers Clash With Chinas           By David Pierson Keith Bradsher
2023-01-16   2023-01-17 sia/china-covid-protests.html                Police                                       and Muyi Xiao                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/world/a 17 Years After Husbands Crash Pilot Meets By Bhadra Sharma and Mujib
2023-01-16   2023-01-17 sia/nepal-yeti-airlines-crash.html           Same Fate                                    Mashal                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/world/e
                        urope/german-defense-minister-resigns-after- Defense Minister in Germany a Frequent       By Erika Solomon and Christopher
2023-01-16   2023-01-17 weeks-of-criticism.html                      Target of Criticism Abruptly Resigns         F Schuetze                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/world/e
                        urope/germany-defense-minister-resigns-      Defense Minister in Germany a Frequent
2023-01-16   2023-01-17 christine-lambrecht.html                     Target of Criticism Abruptly Resigns         By Erika Solomon                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/world/e
                        urope/mafia-boss-arrested-matteo-messina-                                                 By Jason Horowitz and Gaia
2023-01-16   2023-01-17 denaro.html                                  Italy Captures Top Mafia Boss After 30 Years Pianigiani                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/world/e What 70 Years of War Can Tell Us About
2023-01-16   2023-01-17 urope/russia-ukraine-war-attrition.html      the RussiaUkraine Conflict                   By Max Fisher                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/16/world/e Britain Is Blocking New Scottish Legislation
2023-01-16   2023-01-17 urope/sunak-scotland-gender-recognition.html That Would Make Gender Change Easier       By Stephen Castle                TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/16/world/e
                        urope/uk-police-officer-sexual-assault-      British Officer Admits to 49 Charges of
2023-01-16   2023-01-17 rape.html                                    Sexual Abuse                               By Isabella Kwai                 TX 9-271-977     2023-03-01




                                                                                Page 4747 of 5793
                        https://www.nytimes.com/2023/01/16/opinion
2023-01-17   2023-01-17 /joe-biden-america-economy.html             Will It Be Morning in Joe Bidens America  By Paul Krugman                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/us/colo 2nd Colorado Library Shut Over Meth
2023-01-17   2023-01-17 rado-library-meth-contamination.html        Contamination                             By Livia AlbeckRipka              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/world/e Death Toll of Russian Strike on City Far   By Andrew E Kramer and Megan
2023-01-17   2023-01-17 urope/ukraine-dnipro-death-toll.html        From the Front Lines Rises to 40          Specia                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/busines
                        s/crypto-market-meltdown-nft-               The Meltdown Wasnt BAD For Crypto It Was
2023-01-17   2023-01-17 blockchain.html                             GOOD                                      By David Segal                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/busines France Moves to Delay Retirement and Older
2023-01-17   2023-01-17 s/france-retirement-age-pension.html        Workers Are Uneasy                        By Liz Alderman                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/health/a
2023-01-17   2023-01-17 bortion-pill-inventor.html                  Father of the Abortion Pill               By Pam Belluck                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/health/c Global Strides on HIV Leave Children      By Stephanie Nolen and Malin
2023-01-17   2023-01-17 hild-hiv-kenya-africa.html                  Straggling Far Behind                     Fezehai                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/health/s
                        ickle-cell-cure-brings-mix-of-anxiety-and-
2023-01-17   2023-01-17 hope.html                                   Curing Sickle Cell Wont End Its Grip      By Gina Kolata                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/insider/
                        asking-readers-again-about-leaving-their-   Asking Readers Twice About Leaving Their
2023-01-17   2023-01-17 jobs.html                                   Jobs                                      By Dan Saltzstein                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/science Lets Tweak the Algorithm and Hack the
2023-01-17   2023-01-17 /cosmology-universe-programming.html        Universe                                  By Dennis Overbye                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/world/a Deadly Protests in Rural Peru Grow Into a  By Julie Turkewitz and Federico
2023-01-17   2023-01-17 mericas/peru-protests-democracy.html        Referendum on Democracy                   Rios                              TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/17/world/e Escalation of Crisis In Caucasus Highlights
2023-01-17   2023-01-17 urope/armenia-azerbaijan-russia-nagorno.html Russias Waning Might                           By Anton Troianovski        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/briefing
2023-01-11   2023-01-18 /the-kraken-subvariant.html                  Kraken a Covid Subvariant Explained            By Jonathan Wolfe           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/dining/
2023-01-11   2023-01-18 salmon-rice-recipe.html                      Salmon Is the Star Of a Satisfying Pot         By Melissa Clark            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/dining/
2023-01-12   2023-01-18 drinks/craft-beer-malt-liquor.html           Can Malt Liquors Reputation Be Rescued         By Joshua M Bernstein       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/arts/dan
2023-01-13   2023-01-18 ce/lumberyard-arts-center-to-be-sold.html    Arts Center In the Catskills Is Up for Sale    By Javier C Hernndez        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/dining/
2023-01-13   2023-01-18 easy-chinese-new-year-recipes.html           Festive Dishes With a Dash of Nostalgia        By Genevieve Ko             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/dining/i
2023-01-13   2023-01-18 nstant-pudding-mix-desserts.html             In These Desserts Instant Pudding Is Pivotal   By Priya Krishna            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/dining/
2023-01-13   2023-01-18 miami-food-shopping.html                     A Treasure Chest of Food in Car Trunks         By Christina Morales        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/science Hannes Keller 88 a Swiss Explorer Who
2023-01-13   2023-01-18 /hannes-keller-dead.html                     Plunged the Depths of the Sea                  By Richard Sandomir         TX 9-271-977   2023-03-01




                                                                                  Page 4748 of 5793
                        https://www.nytimes.com/article/cheap-food-
2023-01-13   2023-01-18 items-grocery-shopping-recipes.html            How to Rein In Your Grocery Bill             By Margaux Laskey                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/arts/des
                        ign/contemporary-art-old-masters-
2023-01-16   2023-01-18 auctions.html                                  Whos Got Time for the Old Masters            By Scott Reyburn                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/opinion
                        /nashville-city-council-tennessee-             This Is How Red States Silence Blue Cities
2023-01-16   2023-01-18 republicans.html                               and Democracy                                By Margaret Renkl                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/opinion
                        /the-crypto-collapse-magical-thinking-         The Crypto Collapse and the End of Magical
2023-01-16   2023-01-18 capitalism.html                                Thinking                                     By Mihir A Desai                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/busines                                                  By Alexandra Stevenson and Zixu
2023-01-17   2023-01-18 s/china-birth-rate.html                        Ominous Sign Deaths Exceed Births in China Wang                                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/busines China Looks to Future After Economic
2023-01-17   2023-01-18 s/china-gdp-fourth-quarter-2022.html           Washout                                      By Keith Bradsher                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/sports/b Frank Thomas 93 Dies AllStar Pirate
2023-01-17   2023-01-18 aseball/frank-thomas-dead.html                 Outfielder Turned an Original Met            By Richard Goldstein              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/sports/f
                        ootball/cowboys-buccaneers-score-tom-          Cowboys Trounce Bucs and Brady Whose
2023-01-17   2023-01-18 brady.html                                     Next Destination Is Unknown                  By Ken Belson                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/arts/dan Lupe Serrano Powerhouse Ballerina Who
2023-01-17   2023-01-18 ce/lupe-serrano-dead.html                      Dazzled Onstage Dies at 92                   By Claudia Bauer                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/arts/des
                        ign/parthenon-sculptures-elgin-marbles-        Fate of Parthenon Marbles Rests in Secret
2023-01-17   2023-01-18 negotiations.html                              Talks Centuries Later                        By Alex Marshall                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/arts/mu
2023-01-17   2023-01-18 sic/brainiac-predator-nominate.html            Punk Dynamos Unexpected Return               By Leo DeLuca                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/arts/mu
                        sic/michael-tilson-thomas-daniel-barenboim-
2023-01-17   2023-01-18 illness.html                                   In Their Career Twilight They Play On        By Zachary Woolfe                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/arts/tele
                        vision/best-international-shows-lying-life-of-
2023-01-17   2023-01-18 adults-slow-horses.html                        In a Sea of International Shows 5 to Explore By Mike Hale                      TX 9-271-977   2023-03-01
                                                                       Disney CEO Rebuffs Investor Seeking Board
                        https://www.nytimes.com/2023/01/17/busines Seat Saying He Does Not Understand
2023-01-17   2023-01-18 s/disney-proxy-battle.html                     Company                                      By Brooks Barnes                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/busines After Complaints Apple Reaches a Deal to
2023-01-17   2023-01-18 s/economy/apple-labor.html                     Assess Its Practices on Labor                By Noam Scheiber                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/17/busines Wall St Braces As Default Risk Hangs Over      By Jeanna Smialek and Joe
2023-01-17   2023-01-18 s/economy/debt-limit-wall-street-plan.html US                                             Rennison                            TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/17/busines Investors Take Musk to Trial Over Plan for
2023-01-17   2023-01-18 s/elon-musk-tesla-trial-funding-secured.html Tesla to Go Private                          By Peter Eavis and Kalley Huang     TX 9-271-977   2023-03-01




                                                                                 Page 4749 of 5793
                        https://www.nytimes.com/2023/01/17/busines                                                  By Matthew Goldstein and David
2023-01-17   2023-01-18 s/ftx-assets.html                           Lawyers Find 55 Billion In FTX Assets           YaffeBellany                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/busines Top Executive Raised Flag Over Misuse Of
2023-01-17   2023-01-18 s/ftx-sam-bankman-fried-documents.html      FTX Funds                                       By David YaffeBellany            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/busines Goldman Sachs Lagging Wall Street Rivals
2023-01-17   2023-01-18 s/goldman-sachs-earnings.html               Sees Its Profit and Stock Price Tumble          By Rob Copeland                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/dining/
                        anthony-bourdain-street-food-market-urban-
2023-01-17   2023-01-18 hawker.html                                 Singapore Street Food Transported               By Pete Wells                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/dining/ A Naples Institution LAntica Pizzeria da
2023-01-17   2023-01-18 nyc-restaurant-news.html                    Michele Opens in the West Village               By Florence Fabricant            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/nyregio Girl 11 Is Killed by Stray Bullet on Street in
2023-01-17   2023-01-18 n/syracuse-shooting.html                    Syracuse                                        By Jesse McKinley                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/sports/b
2023-01-17   2023-01-18 aseball/mlb-dream-series.html               A Dream Revived                                 By David Waldstein               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/sports/g
                        olf/abu-dhabi-championship-yas-links-
2023-01-17   2023-01-18 course.html                                 Change is hard Ask these golfers                By Michael Croley                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/sports/g
                        olf/abu-dhabi-hsbc-championship-
2023-01-17   2023-01-18 players.html                                5 players to watch                              By Michael Arkush                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/sports/g
2023-01-17   2023-01-18 olf/tony-jacklin-career.html                Tony Jacklin looks back                         By Michael Arkush                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/sports/s Rosi Mittermaier 72 an Olympic Skier Who
2023-01-17   2023-01-18 kiing/rosi-mittermaier-dead.html            Became a Popular German Figure                  By Richard Goldstein             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/sports/t Intense Heat Torrential Rain So Far the
2023-01-17   2023-01-18 ennis/australian-open-heat-rain.html        Weather Is Winning                              By Matthew Futterman             TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/17/us/haml Teacher Who Showed Art of Muhammad
2023-01-17   2023-01-18 ine-lawsuit-prophet-muhammad-religion.html Sues University                                  By Vimal Patel                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/17/us/mon A Town With Famous Residents Great
2023-01-17   2023-01-18 tecito-mudslide-2018-california-storms.html Views and Fatal Mudslides                       By Jill Cowan and Corina Knoll   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/us/polit Banks Opens Run for Seat In the Senate
2023-01-17   2023-01-18 ics/jim-banks-senate-indiana.html           From Indiana                                    By Jonathan Weisman              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/us/polit
2023-01-17   2023-01-18 ics/matt-dolan-senate-ohio.html             In Ohio a Senate Race Challenger to Brown       By Maggie Astor                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/us/polit Campaign Aide to Walker Accuses a Trump
2023-01-17   2023-01-18 ics/matt-schlapp-groping-accusation.html    Adviser of Groping Him                          By Michael C Bender              TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/17/us/polit Servers Unwittingly Fund Fight to Limit         By David A Fahrenthold and
2023-01-17   2023-01-18 ics/restaurant-workers-wages-lobbying.html Wages                                            Talmon Joseph Smith              TX 9-271-977   2023-03-01
                                                                                                                    By Eric Schmitt Adam Entous
                        https://www.nytimes.com/2023/01/17/us/polit US Eyes Arms Stored in Israel To Aid            Ronen Bergman John Ismay and
2023-01-17   2023-01-18 ics/ukraine-israel-weapons.html             Ukraine                                         Thomas GibbonsNeff               TX 9-271-977   2023-03-01



                                                                                  Page 4750 of 5793
                        https://www.nytimes.com/2023/01/17/us/supr US Supreme Court Looks For Middle Path in
2023-01-17   2023-01-18 eme-court-halkbank-turkey.html             a Case Involving a Turkish Bank            By Adam Liptak                       TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/17/world/a China Returns to a Wary Davos With a Clear By Mark Landler and Keith
2023-01-17   2023-01-18 sia/china-davos-economy.html               Message Were Open for Business             Bradsher                             TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/17/world/e
                        urope/australian-open-russia-belarus-      Tournament Bans Flags From Russia And
2023-01-17   2023-01-18 flags.html                                 Belarus                                    By Natasha Frost                     TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/17/world/e Suspect in EU Parliament Scandal Agrees to By Matina StevisGridneff and
2023-01-17   2023-01-18 urope/european-parliament-corruption.html Talk for a Lighter Sentence                 Monika Pronczuk                      TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/17/world/e
                        urope/germany-defense-minister-            Germany Fills Defense Post Amid Tension
2023-01-17   2023-01-18 pistorius.html                             Over Ukraine                               By Erika Solomon                     TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/17/world/e Shuttling Between Classrooms and Bomb          By Megan Specia and Laura
2023-01-17   2023-01-18 urope/kyiv-ukraine-wartime-schooling.html Shelters                                        Boushnak                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/world/e US and Allies to Decide on Sending Arms
2023-01-17   2023-01-18 urope/ukraine-russia-western-tanks.html      That Could Break Deadlock                    By Steven Erlanger                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/world/e
                        urope/wagner-group-defection-norway-russia- Russian Mercenary Defects and Says He Can By Anatoly Kurmanaev Henrik
2023-01-17   2023-01-18 war.html                                     Help Inquiry Into War Crimes                 Pryser Libell and Michael Schwirtz TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/world/
                        middleeast/siamak-namazi-iran-hunger-        Businessman Jailed in Iran Calls on Biden To
2023-01-17   2023-01-18 strike.html                                  Negotiate                                    By Cora Engelbrecht                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/live/2023/01/17/wo
                        rld/russia-ukraine-news/netherlands-patriot- Netherlands Says It Will Consider Sending
2023-01-17   2023-01-18 missiles-ukraine                             AirDefense System to Kyiv                    By Katie Rogers                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/nyregio
                        n/holland-tunnel-closed-overnight-           Holland Tunnel Will Close Westbound Tube
2023-01-18   2023-01-18 repairs.html                                 at Night                                     By Patrick McGeehan                TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/17/nyregio 3 Rikers Officers Charged With Covering Up
2023-01-18   2023-01-18 n/rikers-officers-inmate-attack-cover-up.html Assault Of Inmate Caught on Video       By Joshua Needelman                  TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/17/nyregio Republicans Keep Santos in Fold Giving Him By Michael Gold and Jonathan
2023-01-18   2023-01-18 n/santos-business-committee-space.html        Committee Assignments                   Swan                                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/17/nyregio
                        n/trump-investigation-michael-cohen-stormy- Manhattan Prosecutors Meet With ExTrump By Ben Protess and William K
2023-01-18   2023-01-18 daniels.html                                  Lawyer Over Hush Money                  Rashbaum                             TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/17/opinion
2023-01-18   2023-01-18 /china-population-decline.html                Chinas Decline Is Undeniable Now What   By Bret Stephens                     TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/17/opinion
2023-01-18   2023-01-18 /netanyahu-israel-protests.html               Mr Biden Bibi Needs Some Tough Love     By Thomas L Friedman                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/17/sports/t Opening Up on Mental Health and Ready to
2023-01-18   2023-01-18 ennis/caroline-garcia-australian-open.html    Rise                                    By Christopher Clarey                TX 9-271-977     2023-03-01




                                                                                 Page 4751 of 5793
                        https://www.nytimes.com/2023/01/17/us/solo New Mexico Politician Accused of Arranging
2023-01-18   2023-01-18 mon-pena-new-mexico-shootings.html           Attacks on Democrats                          By Simon Romero and Alan Feuer     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/world/a
2023-01-18   2023-01-18 sia/maria-ressa-philippines-rappler.html     Philippine Court Acquits Nobel Laureate       By Jason Gutierrez and Mike Ives   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/nyregio Santos Zigs Back Toward Hard Right During
2023-01-18   2023-01-18 n/george-santos-far-right-staff.html         His First Weeks in the House                  By Michael Gold                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/sports/f Its Called a Sneak But Its Obvious And Its
2023-01-18   2023-01-18 ootball/quarterback-sneak.html               Effective                                     By Mike Tanier                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/world/a For Single Indian Women Renting Is
2023-01-18   2023-01-18 sia/india-single-women-apartments.html       Complicated                                   By Damien Cave                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/style/ka This Endless Waiting Game Can Wear You
2023-01-13   2023-01-19 te-middleton.html                            Down                                          By Rhonda Garelick                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/style/lis
2023-01-13   2023-01-19 a-marie-presley-photos.html                  Lisa Marie Presley Famous From the Start      By Vanessa Friedman                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/style/th
2023-01-13   2023-01-19 om-browne-adidas-sweatpants.html             HighEnd Athletic Wear Earns Its Stripes       By Jessica Testa                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/movies/
2023-01-16   2023-01-19 alice-diop-saint-omer.html                   A Tragic Fictional Tale With a RealLife Start By Esther Zuckerman                TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/16/style/dr Sober Curious Bars Draw Those Thirsting for
2023-01-16   2023-01-19 y-january-nyc-sober-bars-alcohol-free.html a Change                                       By Shane ONeill                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/arts/des Painter Wins 25 Million in Art Authentication
2023-01-17   2023-01-19 ign/peter-doig-painter-lawsuit.html          Case                                         By Graham Bowley                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/arts/mu
2023-01-17   2023-01-19 sic/sza-sos-billboard-five-weeks.html        SZAs SOS Tops Album Chart for 5th Week By Ben Sisario                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/nyregio
2023-01-17   2023-01-19 n/casino-developers-nyc.html                 Developers Chasing A New York Casino         By Stefanos Chen                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/style/ge Layer by Layer Dressing Up a Story in
2023-01-17   2023-01-19 orge-santos-style.html                       Convincing Attire                            By Vanessa Friedman                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/style/mi OldWorld Style and New Media Converge in
2023-01-17   2023-01-19 lan-mens.html                                Milan                                        By Guy Trebay                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/style/mi The Weight of the World Looms Over a
2023-01-17   2023-01-19 ss-universe.html                             Pageant                                      By Rhonda Garelick                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/arts/dan
                        ce/review-ronald-k-brown-equality-of-night-
2023-01-18   2023-01-19 and-day.html                                 A Potent Plea For Balance Reverberates       By Gia Kourlas                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/arts/mu
2023-01-18   2023-01-19 sic/dalia-staveska-aid-to-ukraine.html       Musicians Mission Is to Help Ukraine         By Javier C Hernndez                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/arts/tele Tour Companions Smooth the Bumps of
2023-01-18   2023-01-19 vision/jam-van-youtube-kids.html             Family Trips                                 By Laurel Graeber                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/books/j Jonathan Raban 80 Who Took Readers on
2023-01-18   2023-01-19 onathan-raban-dead.html                      Adventures Is Dead                           By Richard Sandomir                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/books/r
2023-01-18   2023-01-19 eview/life-on-delay-john-hendrickson.html    When a Single Syllable Can Be Unnerving      By Jennifer Szalai                  TX 9-271-977   2023-03-01




                                                                                 Page 4752 of 5793
                        https://www.nytimes.com/2023/01/18/busines Carl H Hahn 96 Who Turned a Vehicle Into a
2023-01-18   2023-01-19 s/carl-hahn-dead.html                      Pop Culture Icon                           By Sam Roberts                 TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/busines
                        s/economy/us-debt-limit-extraordinary-     How Implementing Extraordinary Measures
2023-01-18   2023-01-19 measures.html                              Can Postpone a Debt Limit Disaster         By Alan Rappeport              TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/busines Crypto Founder Gamed Markets FTX Rivals By Emily Flitter and David
2023-01-18   2023-01-19 s/ftx-sbf-crypto-markets.html              Say                                        YaffeBellany                   TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/busines
                        s/media/republican-primary-debates-                                                   By Michael M Grynbaum and John
2023-01-18   2023-01-19 networks.html                              GOP Seeks TV Networks For Debates          Koblin                         TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/18/busines
2023-01-18   2023-01-19 s/media/sundance-film-festival-finance.html Saying Yes To Stories Of Diversity         By Nicole Sperling             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/busines
2023-01-18   2023-01-19 s/microsoft-layoffs.html                    Microsoft Announces Layoffs To Cut Costs   By Karen Weise                 TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/18/busines Retail Sales Fell in December as Holiday
2023-01-18   2023-01-19 s/retail-sales-december-holiday-shopping.html Shoppers Cut Back                        By Jordyn Holman               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/busines
                        s/semafor-sam-bankman-fried-                  Media StartUp Semafor Plans to Buy Out   By Benjamin Mullin and David
2023-01-18   2023-01-19 investment.html                               Investment From Embattled Crypto Chief   YaffeBellany                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/busines UK Inflation Slows but Remains Stubbornly
2023-01-18   2023-01-19 s/uk-inflation.html                           High                                     By Eshe Nelson                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/fashion
2023-01-18   2023-01-19 /clocks-bage-and-soner-stockholm.html         Can alarm clocks aid sleep               By Penelope Colston            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/fashion
2023-01-18   2023-01-19 /watches-2017-resales-market.html             The year watches got whitehot            By Victoria Gomelsky           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/fashion
2023-01-18   2023-01-19 /watches-artistic-creations-hong-kong.html    Replicas that are real originals         By Daisann McLane              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/fashion
2023-01-18   2023-01-19 /watches-automatons-van-cleef-arpels.html     These watches also tell time             By Kathleen Beckett            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/fashion
2023-01-18   2023-01-19 /watches-books-new.html                       Read all about watches                   By Melanie Abrams              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/fashion
2023-01-18   2023-01-19 /watches-casio-gshock-japan.html              Behind the scenes of a GShock            By Vivian Morelli              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/fashion
2023-01-18   2023-01-19 /watches-charriol-switzerland.html            From ice racer to CEO                    By Roxanne Robinson            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/fashion
2023-01-18   2023-01-19 /watches-code41-switzerland.html              Putting design to a vote                 By Nazanin Lankarani           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/fashion
                        /watches-environmentally-sound-packaging-
2023-01-18   2023-01-19 switzerland.html                              Watches wrapped in seaweed               By Nazanin Lankarani           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/fashion
2023-01-18   2023-01-19 /watches-los-angeles-bremont-piaget.html      LA has become a watch town               By Alexandra Cheney            TX 9-271-977   2023-03-01




                                                                               Page 4753 of 5793
                        https://www.nytimes.com/2023/01/18/fashion
2023-01-18   2023-01-19 /watches-lvmh-week-dior.html                A return to normal                        By Robin Swithinbank              TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/fashion
2023-01-18   2023-01-19 /watches-rolex-resales.html                 Rolex takes a leap into the resale world  By Victoria Gomelsky              TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/fashion
2023-01-18   2023-01-19 /watches-sports-gear-partnerships.html      Bold moves on luxury lifestyle            By Roberta Naas                   TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/health/ Only Vaccine Against HIV In Late Trials Is
2023-01-18   2023-01-19 hiv-vaccine-janssen.html                    a Failure                                 By Apoorva Mandavilli             TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/health/i California Joins Others In Suing 3 Drug
2023-01-18   2023-01-19 nsulin-drug-prices-california.html          Firms For High Insulin Prices             By Benjamin Ryan                  TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/health/ Mary Kaye Richter Florist Turned Medical
2023-01-18   2023-01-19 mary-kaye-richter-dead.html                 Crusader Is Dead at 77                    By Alex Williams                  TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/health/
                        nursing-home-ratings-system-                Nursing Homes Face New Rules On           By Katie Thomas Robert Gebeloff
2023-01-18   2023-01-19 antipsychotics.html                         Dispensing Antipsychotics                 and Jessica SilverGreenberg       TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/movies/
2023-01-18   2023-01-19 oscar-nominations-predictions.html          Predicting The Oscar Nominees             By Kyle Buchanan                  TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/nyregio                                            By Luis FerrSadurn and Jesse
2023-01-18   2023-01-19 n/chief-judge-lasalle-hearing.html          Panel Rejects Hochuls Pick For Top Judge  McKinley                          TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/18/nyregio 24 Charged in Scheme to Steal Millions From By Maria Cramer Hurubie Meko
2023-01-18   2023-01-19 n/construction-kickback-bribery-scheme.html Developers in Manhattan                     and William K Rashbaum           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/nyregio Records Contradict Santoss Claims That
2023-01-18   2023-01-19 n/george-santos-mother-911.html                Mother Witnessed 911 Attacks             By Michael Gold                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/nyregio Instead of New Homes Depot of Idling Trucks By Emma G Fitzsimmons and
2023-01-18   2023-01-19 n/harlem-truck-depot-housing.html              Occupies Harlem Site                     Mihir Zaveri                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/nyregio Trial Over Womans Death Remains Under
2023-01-18   2023-01-19 n/nypd-officer-trial-danner.html               Review                                   By Chelsia Rose Marcius          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/nyregio Man Indicted on Deed Theft Is Accused of
2023-01-18   2023-01-19 n/solny-deed-theft-charges-ny.html             Doing It Again                           By Stefanos Chen                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/opinion
2023-01-18   2023-01-19 /abortion-culture-wars.html                    Does the War Over Abortion Have a Future By Linda Greenhouse              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/opinion
2023-01-18   2023-01-19 /china-education-parenting-culture.html        China Helped Raise My Kids Theyre Fine   By Heather Kaye                  TX 9-271-977   2023-03-01
                                                                                                                By Michael Barbaro Asthaa
                                                                                                                Chaturvedi Will Reid Mary Wilson
                        https://www.nytimes.com/2023/01/18/podcast                                              John Ketchum Michael Benoist
                        s/the-daily/facial-recognition-madison-square- Facial Recognition Goes Beyond the       Rowan Niemisto Marion Lozano
2023-01-18   2023-01-19 garden.html                                    Hypothetical                             and Corey Schreppel              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/science K Alex Mller 95 Who Helped Make A
2023-01-18   2023-01-19 /alex-muller-dead.html                         Quantum Leap for Superconductors         By Dylan Loeb McClain            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/science
2023-01-18   2023-01-19 /extreme-weather-explainer.html                Your Quick Guide to Weather Fluency      By Matt Richtel                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/science Everyone Talks About the Weather Its a
2023-01-18   2023-01-19 /weather-forecasts-language.html               Problem                                  By Matt Richtel                  TX 9-271-977   2023-03-01



                                                                               Page 4754 of 5793
                        https://www.nytimes.com/2023/01/18/sports/t
2023-01-18   2023-01-19 ennis/gauff-raducanu-australian-open.html   Gauff Advances As the Future Squares Off   By Christopher Clarey            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/sports/t Once Sidelined by the USTA a Former Junior
2023-01-18   2023-01-19 ennis/taylor-townsend-australian-open.html Champ Makes a Statement                     By Matthew Futterman             TX 9-271-977   2023-03-01
                                                                                                               By Jesse Green Laura
                        https://www.nytimes.com/2023/01/18/theater/                                            CollinsHughes and Elisabeth
2023-01-18   2023-01-19 under-the-radar-festival-reviews.html       Difficult Family Histories and Few Answers Vincentelli                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/us/colu Columbia Selects Economist as the First
2023-01-18   2023-01-19 mbia-president-nemat-shafik.html            Woman to Lead the University               By Stephanie Saul                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/us/dem Statehouse Democrats Embrace an Unfamiliar
2023-01-18   2023-01-19 ocrats-michigan-minnesota-maryland.html     Reality Full Power                         By Mitch Smith                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/us/doul Fighting the Odds With Doulas for Black
2023-01-18   2023-01-19 a-black-women.html                          Women                                      By Erica L Green                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/us/harv Medical School At Harvard Joins Boycott Of
2023-01-18   2023-01-19 ard-medical-school-us-news-rankings.html    Rankings                                   By Derrick Bryson Taylor         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/us/los- In Los Angeles Black Residents Most at Risk By Audra D S Burch and Eileen
2023-01-18   2023-01-19 angeles-flood-risk-black-residents.html     in Major Floods                            Guo                              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/us/polit
                        ics/russian-citizen-bitzlato-               US Says Russian Citizen Laundered Millions
2023-01-18   2023-01-19 cryptocurrency.html                         Through Crypto                             By Glenn Thrush                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/us/polit US Eases Stance On Helping Kyiv To Target By Helene Cooper Eric Schmitt and
2023-01-18   2023-01-19 ics/ukraine-crimea-military.html            Crimea                                     Julian E Barnes                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/world/a                                             By Chris Buckley Joy Dong and
2023-01-18   2023-01-19 sia/china-population-politics.html          Beijings Looming Demographic Crunch        Amy Chang Chien                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/world/e At Wartime Davos Forum Calls for European
2023-01-18   2023-01-19 urope/davos-ukraine.html                    Unity as Energy Fears Subside              By Mark Landler and Eshe Nelson TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/world/e
                        urope/germany-defense-minister-boris-
2023-01-18   2023-01-19 pistorius.html                              German Allies Watch Untested Defense Chief By Erika Solomon                 TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/18/world/ Israeli Justices Order Netanyahu to Fire
2023-01-18   2023-01-19 middleeast/israel-aryeh-deri-netanyahu.html Minister                                   By Isabel Kershner             TX 9-271-977     2023-03-01
                        https://www.nytimes.com/live/2023/01/18/wo
                        rld/russia-ukraine-news/russians-shells-
                        villages-close-to-the-town-of-soledar-the-
2023-01-18   2023-01-19 scene-of-intense-battles-in-recent-weeks    Russian Forces Press Toward Bakhmut        By Matthew Mpoke Bigg          TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/18/nyregio Adams Presses for Federal Aid for Migrant
2023-01-19   2023-01-19 n/eric-adams-immigration-asylum.html        Influx                                     By Jeffery C Mays              TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/18/nyregio Progressive Democrats In New York Show      By Jesse McKinley and Luis
2023-01-19   2023-01-19 n/lasalle-politics-democrats-hochul.html    Might In Battle Over Court Pick            FerrSadurn                     TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/18/opinion
2023-01-19   2023-01-19 /famine-africa-drought-hunger.html          Where Moms Hover Over Starving Children    By Nicholas Kristof            TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/18/opinion A TimeTested Way to Divide the Working
2023-01-19   2023-01-19 /race-violence-riot-working-class.html      Class                                      By Charles M Blow              TX 9-271-977     2023-03-01




                                                                               Page 4755 of 5793
                        https://www.nytimes.com/2023/01/18/us/atlan Protester Killed in Standoff Over Police      By Alessandro Marazzi Sassoon
2023-01-19   2023-01-19 ta-police-center-protester-killed.html      Training Ground Near Atlanta                  and Rick Rojas                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/us/polit
                        ics/kamala-harris-florida-speech-           Harris Is Expected to Call for National
2023-01-19   2023-01-19 abortion.html                               Legislation to Protect Reproductive Rights    By Katie Rogers                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/us/polit
                        ics/republicans-trump-house-oversight-
2023-01-19   2023-01-19 committee.html                              Trumps Allies In House Win Pivotal Posts      By Annie Karni                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/world/a New Zealand Prime Minister Surprises With
2023-01-19   2023-01-19 sia/jacinda-ardern-new-zealand.html         Plan to Step Down                             By Natasha Frost                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/world/e Copter Crash Near Kindergarten Kills a         By Andrew E Kramer and Megan
2023-01-19   2023-01-19 urope/ukraine-helicopter-crash.html         Leading Zelensky Adviser                      Specia                           TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/19/sports/f Daring to Dream With Bills Fans From the
2023-01-19   2023-01-19 ootball/buffalo-bills-fans-parents-kids.html 90s And Their Kids                           By Joe Nocera                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/world/
                        middleeast/tunisia-cave-village-berbers-     A Cave Village Emptied by Drought and
2023-01-19   2023-01-19 amazigh.html                                 Modernity                                    By Vivian Yee                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/movies/
2023-01-17   2023-01-20 back-to-the-wharf-review.html                Back to the Wharf                            By Brandon Yu                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/movies/
2023-01-17   2023-01-20 virtually-heroes-review.html                 Virtually Heroes                             By Calum Marsh                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/17/theater/ The Secret Worlds of Couples Monsters and
2023-01-18   2023-01-20 frankensteins-monster-is-drunk-heaven.html All                                            By Laura CollinsHughes           TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/18/arts/des Its All Happening Again Via a Bridge to the
2023-01-18   2023-01-20 ign/happening-whitman-pace-gallery-art.html Past                                          By Frank Rose                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/opinion Santos Wont Be Able to Fake His Way
2023-01-18   2023-01-20 /george-santos-house-committees.html         Through Congress                             By Peter King                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/world/a
                        mericas/canada-alcohol-health-               Canadas New Guidelines for Alcohol
2023-01-18   2023-01-20 guidelines.html                              Consumption Say No Amount Is Healthy         By Michael Levenson              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/world/e
                        urope/sister-andre-worlds-oldest-person-118-
2023-01-18   2023-01-20 france.html                                  Sister Andr 118 Worlds Oldest Person         By Constant Mheut                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/ Despite Rain Storms California Is Still in   By Elena Shao Mira Rojanasakul
2023-01-18   2023-01-20 18/climate/california-drought.html           Drought                                      and Nadja Popovich               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/arts/ale                                               By Julia Jacobs and Graham
2023-01-19   2023-01-20 c-baldwin-manslaughter-rust.html             Is It an Actors Duty to Check a Firearm      Bowley                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/arts/dan Arthur Duncan 97 Tap Dancer Who Broke
2023-01-19   2023-01-20 ce/arthur-duncan-dead.html                   Barriers on TV Dies                          By Richard Sandomir              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/arts/dan
2023-01-19   2023-01-20 ce/out-front-festival.html                   January Gets a New Infusion of Dance         By Siobhan Burke                 TX 9-271-977   2023-03-01




                                                                                 Page 4756 of 5793
                        https://www.nytimes.com/2023/01/19/arts/des
                        ign/maya-art-mesoamerica-metropolitan-
2023-01-19   2023-01-20 museum-beauty.html                           Beauty Shamelessly Ensnared by Brutality     By Holland Cotter                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/arts/des
2023-01-19   2023-01-20 ign/winter-show-park-avenue-armory.html      A Skull and Lots More Well Worth Pondering By Will Heinrich                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/arts/har After Outcry Harvard Restores Fellowship for By Jennifer Schuessler and Marc
2023-01-19   2023-01-20 vard-israel-antisemitism-roth.html           Human Rights Advocate                        Tracy                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/arts/mu
                        sic/claire-chase-pauline-oliveros-carnegie-
2023-01-19   2023-01-20 hall.html                                    Musical Offspring and a Legacy               By Seth Colter Walls             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/arts/mu
2023-01-19   2023-01-20 sic/cleveland-orchestra-carnegie-hall.html   Clear Excellence For All to Hear             By Joshua Barone                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/arts/rus Baldwin to Face Pair of Charges In Movie      By Julia Jacobs and Graham
2023-01-19   2023-01-20 t-shooting-charges-alec-baldwin.html         Death                                        Bowley                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/arts/tele
                        vision/accused-fox-howard-gordon-michael-
2023-01-19   2023-01-20 chiklis.html                                 A Law Show Thats Not in the Usual Order      By Kelly Boutsalis               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/arts/tele
2023-01-19   2023-01-20 vision/shape-island-my-wiggly-friend.html    This Weekend I Have                          By Margaret Lyons                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/busines Some Hope in Economic Signs Fed Vice
2023-01-19   2023-01-20 s/economy/fed-brainard-inflation.html        Chair Says                                   By Jeanna Smialek                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/busines Amid Struggles Post Gets a Visit From Its      By Benjamin Mullin and Katie
2023-01-19   2023-01-20 s/media/jeff-bezos-washington-post.html      Owner                                        Robertson                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/busines A Founder of Netflix Cedes the Role of         By Benjamin Mullin and Nicole
2023-01-19   2023-01-20 s/media/netflix-reed-hastings.html           CoChief                                      Sperling                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/busines Crypto Lender Nexo Is Fined 45 Million in
2023-01-19   2023-01-20 s/nexo-sec-crypto-fined.html                 SEC Crackdown                                By David YaffeBellany            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/busines Remote Work Takes a Toll On Downtown
2023-01-19   2023-01-20 s/remote-work-office-sweetgreen.html         Lunch Spots                                  By Sarah Kessler                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/climate Interior Clears Trump Official Of
2023-01-19   2023-01-20 /bernhardt-ethics-interior-trump.html        Wrongdoing                                   By Lisa Friedman                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/climate
                        /john-kerry-davos-world-economic-            In Davos a Skirmish Over the Role Oil States
2023-01-19   2023-01-20 forum.html                                   Play in Climate Talks                        By David Gelles                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/graves- More Evidence of Graves At Indigenous
2023-01-19   2023-01-20 indigenous-school-canada.html                School Site                                  By Ian Austen                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/movies/
2023-01-19   2023-01-20 after-love-review.html                       After Love                                   By Beatrice Loayza               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/movies/
2023-01-19   2023-01-20 alice-darling-review-anna-kendrick.html      As the Fissures Spread Around Her Smile      By Manohla Dargis                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/movies/
2023-01-19   2023-01-20 all-eyes-off-me-review.html                  All Eyes Off Me                              By Natalia Winkelman             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/movies/
2023-01-19   2023-01-20 in-from-the-side-review.html                 In From the Side                             By Kyle Turner                   TX 9-271-977   2023-03-01




                                                                                 Page 4757 of 5793
                        https://www.nytimes.com/2023/01/19/movies/
2023-01-19   2023-01-20 missing-review-moms-lost-in-the-matrix.html Not Too Young to Sleuth                     By Amy Nicholson                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/movies/
2023-01-19   2023-01-20 new-gods-yang-jian-review.html              New Gods Yang Jian                          By Robert Daniels                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/movies/
2023-01-19   2023-01-20 only-in-theaters-review.html                Only in Theaters                            By Glenn Kenny                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/movies/
2023-01-19   2023-01-20 the-last-autumn-review.html                 The Last Autumn                             By Devika Girish                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/movies/
                        when-you-finish-saving-the-world-
2023-01-19   2023-01-20 review.html                                 Mother and Son Disunion                     By Jeannette Catsoulis           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/nyregio Former Detective Accused of Lying Goes on
2023-01-19   2023-01-20 n/nyc-detective-franco-trial.html           Trial                                       By Maria Cramer                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/nyregio US Drops Spying Case Against New York
2023-01-19   2023-01-20 n/nypd-officer-china-spy-angwang.html       Officer                                     By Rebecca Davis OBrien          TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/19/nyregio Former Head of NYPD Union Admits to
2023-01-19   2023-01-20 n/nypd-sergeants-union-ed-mullins-fraud.html Stealing From His Members                  By Chelsia Rose Marcius          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/opinion
2023-01-19   2023-01-20 /columnists/democrats-debt-ceiling.html      Dont Try to Appease Economic Terrorists    By Paul Krugman                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/19/opinion
2023-01-19   2023-01-20 /keep-your-politics-out-of-my-arugula.html Keep Your Politics Out of My Arugula          By Pamela Paul                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/sports/b
2023-01-19   2023-01-20 asketball/golden-state-moses-moody.html      Waiting Patiently Sort of for Their Minutes By Scott Cacciola               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/sports/e
2023-01-19   2023-01-20 ddie-aikau-big-wave-invitational.html        Surfs Up but Not Enough for the Eddie       By Talya Minsberg               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/sports/g Finally on the Air LIV Gets a TV Deal But Is
2023-01-19   2023-01-20 olf/liv-televison-cw.html                    It Any Good                                 By Alan Blinder                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/sports/t Life Has Taken a Big Turn for the Man They
2023-01-19   2023-01-20 ennis/frances-tiafoe-australian-open.html    Call Big Foe And Hes All In                 By Matthew Futterman            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/sports/t
                        ennis/murray-australian-open-djokovic-       Good Run for US And a Late Night For
2023-01-19   2023-01-20 nadal.html                                   Britains Murray                             By Christopher Clarey           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/technol
                        ogy/supreme-court-online-free-speech-social-
2023-01-19   2023-01-20 media.html                                   Justices May Reconsider Online Speech       By David McCabe                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/theater/
2023-01-19   2023-01-20 broadway-cast-albums-funny-girl.html         Cast Albums for AtHome Encores              By Jesse Green                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/us/abor After Roes Defeat Crossroad for Abortion
2023-01-19   2023-01-20 tion-roe-v-wade-50th-anniversary.html        Foes                                        By Ruth Graham                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/19/us/desa AP African American Studies Class Is         By Patricia Mazzei and Anemona
2023-01-19   2023-01-20 ntis-florida-ap-african-american-studies.html Rejected by the State of Florida          Hartocollis                      TX 9-271-977   2023-03-01



                                                                                Page 4758 of 5793
                        https://www.nytimes.com/2023/01/19/us/new Boy Accused Of Shooting Teacher Had A          By Sarah Mervosh and Campbell
2023-01-19   2023-01-20 port-news-teacher-shooting.html           Disability                                     Robertson                          TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/19/us/polit Biden Inspects Damage in StormRavaged
2023-01-19   2023-01-20 ics/biden-visit-california-storms-flooding.html California                             By Victoria Kim and Katie Rogers     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/us/polit Guantnamo Turns Back Legal Teams Amid
2023-01-19   2023-01-20 ics/coronavirus-outbreak-guantanamo.html        Covid                                  By Carol Rosenberg                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/us/polit Hits Debt Cap Heightening Risk of Economic By Jim Tankersley and Alan
2023-01-19   2023-01-20 ics/debt-limit-economy.html                     Pain US                                Rappeport                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/us/polit Legal Reckoning Awaits Architect of Trumps By Danny Hakim and Michael S
2023-01-19   2023-01-20 ics/john-eastman-investigations.html            Strategy After Election Loss           Schmidt                              TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/19/us/polit Ahead of Potential Crisis Both Parties Open
2023-01-19   2023-01-20 ics/republicans-democrats-debt-ceiling.html Fiscal Blame Game                            By Carl Hulse                    TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/19/us/polit                                              By Charlie Savage and Adam
2023-01-19   2023-01-20 ics/supreme-court-leak-roe.html             Court Cant Find Leaker of Draft              Liptak                           TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/19/us/polit As Evangelicals Waver Trump Blames           By Maggie Haberman and Michael
2023-01-19   2023-01-20 ics/trump-evangelicals-2024.html            Leaders for Losses                           C Bender                         TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/19/us/prou New Details on Meeting Of Proud Boys
2023-01-19   2023-01-20 d-boys-oath-keepers-meeting.html            Chairman And Oath Keepers Leader             By Alan Feuer and Zach Montague TX 9-271-977      2023-03-01
                        https://www.nytimes.com/2023/01/19/us/refu Ordinary Americans Are Hereby Invited to
2023-01-19   2023-01-20 gee-resettlement-policy-biden.html          Help Settle Refugees                         By Miriam Jordan                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/19/world/a
                        frica/south-africa-naval-drill-russia-      South Africa to Hold Naval Drill With Russia
2023-01-19   2023-01-20 china.html                                  Despite Ukraine War                          By Lynsey Chutel and John Eligon TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/19/world/a In Love With a Love Story in India for 27     By Mujib Mashal Suhasini Raj and
2023-01-19   2023-01-20 sia/bollywood-ddlj-maratha-mandir.html      Years                                        Atul Loke                        TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/19/world/a How Covids Divisions Tarnished a Liberal
2023-01-19   2023-01-20 sia/jacinda-ardern-resigns-covid.html       Icon                                         By Damien Cave                   TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/19/world/a For Cluster of Doctorless Islands Care Arrives By Choe SangHun and Chang W
2023-01-19   2023-01-20 sia/south-korea-islands-hospital-ships.html One Ship at a Time                            Lee                               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/world/a
                        ustralia/ardern-new-zealand-pm-             The Highs and Lows of a Prime Minister Who
2023-01-19   2023-01-20 moments.html                                Became a Global Star of the Left              By Yan Zhuang                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/world/e
                        urope/france-strikes-macron-retirement-                                                   By Roger Cohen and Aurelien
2023-01-19   2023-01-20 age.html                                    Macrons Pension Plan Fuels Anger in Streets Breeden                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/world/e For West Supplying Tanks Remains a
2023-01-19   2023-01-20 urope/tanks-ukraine-germany-us.html         Sticking Point                                By Lara Jakes and Erika Solomon   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/world/
                        middleeast/iraq-stampede-soccer-            Fake Tickets Lead to Deadly Stampede at a
2023-01-19   2023-01-20 stadium.html                                Soccer Stadium in Iraq                        By Jane Arraf                     TX 9-271-977   2023-03-01




                                                                                 Page 4759 of 5793
                        https://www.nytimes.com/2023/01/19/world/
                        middleeast/israel-netanyahu-minister-
2023-01-19   2023-01-20 deri.html                                      In Israel Netanyahu Delays Firing Minister   By Patrick Kingsley              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/live/2023/01/19/wo
                        rld/russia-ukraine-news/south-africa-plans-
                        joint-naval-drills-with-russia-and-china-next- South Africa to Hold Naval Drill With Russia
2023-01-19   2023-01-20 month                                          Despite Ukraine War                          By Lynsey Chutel and John Eligon TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/arts/mu David Crosby Who Founded Two Classic
2023-01-20   2023-01-20 sic/david-crosby-dead.html                     Rock Bands Dies at 81                        By Jim Farber                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/opinion
2023-01-20   2023-01-20 /biden-leadership-extremists.html              Biden Against the Wounded Extremists         By David Brooks                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/us/polit Biden Has No Regrets Documents Werent
2023-01-20   2023-01-20 ics/biden-classified-documents.html            Disclosed Earlier                            By Katie Rogers                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/world/e NATO Allies Pledge to Send Major Infusion By Steven Erlanger Eric Schmitt
2023-01-20   2023-01-20 urope/ukraine-weapons-allies.html              of Military Aid to Kyiv                      Lara Jakes and Erika Solomon     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/busines
                        s/economy/economic-statistics-climate-         US to Add Environment To Economic
2023-01-20   2023-01-20 nature.html                                    Measures                                     By Lydia DePillis                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/insider/
2023-01-20   2023-01-20 the-hands-that-hold-football-together.html     The Hands That Hold Football Together        By Terence McGinley              TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/20/technol
2023-01-20   2023-01-20 ogy/google-chatgpt-artificial-intelligence.html To Save Future Google Turns to Its Past  By Nico Grant                     TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/04/travel/ Cheetahs Made a Kill Then a Traffic Jam
2023-01-04   2023-01-21 masai-mara-safari-overcrowding.html             Began                                    By Maria Cramer and Costas Christ TX 9-271-977     2023-03-01
                        https://www.nytimes.com/interactive/2023/01/
2023-01-12   2023-01-21 12/travel/things-to-do-nevis.html               36 Hours in Nevis                        By Jeanine Barone                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/15/dining/
2023-01-15   2023-01-21 what-to-cook-this-week.html                     What to Make Next Week                   By Sam Sifton                     TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/15/movies/ Edie Landau 95 Independent Film Producer
2023-01-15   2023-01-21 edie-landau-dead.html                           Who Was Ahead of Her Time                By Alex Traub                     TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/17/movies/
                        long-days-journey-into-night-eugene-oneill- Overcoming Misfortunes To Film a
2023-01-17   2023-01-21 jessica-lange-ed-harris.html                    Masterpiece                              By Roslyn Sulcas                  TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/18/opinion Nurses Are Burned Out and Fed Up for Good
2023-01-18   2023-01-21 /nurses-strike-pay-staffing-ratios.html         Reason                                   By Lydia Polgreen                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/19/climate A Battering for the Ages It Is Just Too Early By Raymond Zhong and Mira
2023-01-19   2023-01-21 /california-storms-biggest-in-history.html      to Tell                                  Rojanasakul                       TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/19/movies/
2023-01-19   2023-01-21 bafta-nominations-2023.html                     BAFTA Nominees Announced                 By Alex Marshall                  TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/19/opinion The World Is Still Falling for the Talibans
2023-01-19   2023-01-21 /afghanistan-taliban-women-security.html        Lies                                     By Fawzia Koofi                   TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/19/sports/f
                        ootball/nfl-playoff-picks-divisional-           This Weekend the Best Offense May Be a
2023-01-19   2023-01-21 round.html                                      Great Defense                            By David Hill                     TX 9-271-977     2023-03-01



                                                                                 Page 4760 of 5793
                        https://www.nytimes.com/2023/01/19/theater/
2023-01-19   2023-01-21 not-about-me-review.html                     Recalling Decades Shrouded By AIDS        By Elisabeth Vincentelli         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/nyregio Businessman Says He Has Lost Faith in       By Grace Ashford Alexandra
2023-01-20   2023-01-21 n/george-santos-sec-intrater.html            Santos Along With the Money He Invested   Berzon and Michael Gold          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/arts/ale                                            By Graham Bowley Julia Jacobs
2023-01-20   2023-01-21 c-baldwin-gun-safety-film.html               Actors Debate Repercussions Of Rust Case and Marc Tracy                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/arts/mu
2023-01-20   2023-01-21 sic/david-crosby-songs.html                  David Crosbys 15 Essential Songs          By Jon Pareles                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/arts/mu
2023-01-20   2023-01-21 sic/ymusic-carnegie-hall-review.html         Two Debuts Enhance a Newly Intimate Space By Seth Colter Walls             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/arts/rus                                            By Julia Jacobs and Graham
2023-01-20   2023-01-21 t-filming-alec-baldwin.html                  Charges Muddy Chances of Finishing Rust   Bowley                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/arts/tele
2023-01-20   2023-01-21 vision/emily-in-paris-expatriates.html       Mon Dieu the Faux Pas                     By Dan Bilefsky                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/busines Extraordinary Measures in Place What        By Alan Rappeport and Emily
2023-01-20   2023-01-21 s/economy/debt-limit-whats-next.html         Happens Next With Debt Limit              Cochrane                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/busines Fed Officials Signal Further Slowdown For
2023-01-20   2023-01-21 s/economy/fed-rates-williams.html            Rate Increases                            By Jeanna Smialek                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/busines Judge Says That Law Firm Can Advise FTX By Matthew Goldstein and David
2023-01-20   2023-01-21 s/ftx-bankruptcy.html                        on Bankruptcy                             YaffeBellany                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/busines Alphabet Announces Plans To Lay Off 12000
2023-01-20   2023-01-21 s/google-alphabet-layoffs.html               Workers                                   By Adam Satariano and Nico Grant TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/busines
2023-01-20   2023-01-21 s/media/vice-puts-itself-up-for-sale.html    Vice Media Puts Itself Up for Sale        By Benjamin Mullin               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/busines Vox Media To Cut Staff By 7 Percent Amid
2023-01-20   2023-01-21 s/media/vox-media-layoffs.html               Worries                                   By Katie Robertson               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/busines Struggling to Save Young People Feel Weary
2023-01-20   2023-01-21 s/saving-money-inflation-economy.html        of Lectures                               By Isabella Simonetti            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/busines
2023-01-20   2023-01-21 s/tesla-elon-musk-trial.html                 Musk Says Posts Didnt Affect Tesla        By Kalley Huang                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/health/ NYU Researchers Leave Pediatric Trial of
2023-01-20   2023-01-21 diabetes-bcg-nyu.html                        Vaccine Aimed at Diabetes                 By Roni Caryn Rabin              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/movies/
2023-01-20   2023-01-21 joanna-scanlan-after-love.html               An Actresss Healthy Aspirations           By Carlos Aguilar                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/nyregio
                        n/kirsten-gillibrand-reelection-             Gillibrand Announces Run For Third Full
2023-01-20   2023-01-21 challengers.html                             Senate Term                               By Nicholas Fandos               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/nyregio College Sex Cult Leader Is Sentenced to 60
2023-01-20   2023-01-21 n/sarah-lawrence-ray-sex-cult.html           Years                                     By Colin Moynihan                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/opinion
2023-01-20   2023-01-21 /joe-biden-classified-documents.html         Oh Biden What Have You Done               By Jonathan Alter                TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/20/sports/b Tatum Helps Celtics Dismiss Warriors and
2023-01-20   2023-01-21 asketball/celtics-warriors-tatum-curry.html Some Ghosts                                By Scott Cacciola              TX 9-271-977     2023-03-01




                                                                                Page 4761 of 5793
                        https://www.nytimes.com/2023/01/20/sports/b Chris Ford 74 Guard Who Sank First 3Pointer
2023-01-20   2023-01-21 asketball/chris-ford-dead.html              in NBA Is Dead                              By Richard Goldstein                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/20/sports/f A Mullet Blunt Talk Air Jordans Lots of
2023-01-20   2023-01-21 ootball/giants-defense-wink-martindale.html Blitzes                                       By Emmanuel Morgan                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/20/sports/f Remember to Remain Warm on the Sideline
2023-01-20   2023-01-21 ootball/nfl-cold-weather-sideline-heaters.html Just Not Too Warm                          By Kris Rhim                        TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/20/sports/t Dubious Charm of the Interminable 5Set
2023-01-20   2023-01-21 ennis/australian-open-late-night-matches.html Night Match Lasting Past 4 AM                By Christopher Clarey              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/technol
2023-01-20   2023-01-21 ogy/genesis-bankruptcy-crypto.html            Genesis Crypto Firm Declares Bankruptcy      By David YaffeBellany              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/technol Layoffs in Tech Reveal a Divide Of
2023-01-20   2023-01-21 ogy/tech-layoffs-millennials-gen-x.html       Generations                                  By Tripp Mickle                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/theater/
2023-01-20   2023-01-21 the-immortal-jellyfish-girl-review.html       The Year Is 2555 and Love Is Sort of Yucky By Elisabeth Vincentelli             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/us/desa Judge Lashes At DeSantis But Upholds A          By Patricia Mazzei and Alexandra
2023-01-20   2023-01-21 ntis-prosecutor-suspended-warren.html         Suspension                                   Glorioso                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/us/marc
2023-01-20   2023-01-21 h-for-life-washington-roe-wade.html           AntiAbortion Rally Sets Stage for Next Phase By Ruth Graham and Ava Sasani      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/us/polit
2023-01-20   2023-01-21 ics/abortion-republicans-roe-v-wade.html      GOP Test After Roe Defining AntiAbortion By Lisa Lerer and Katie Glueck         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/us/polit 68 Days of Silence Why Biden Stayed Mum By Michael D Shear Peter Baker
2023-01-20   2023-01-21 ics/biden-classified-documents.html           About Classified Files                       and Katie Rogers                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/us/polit Air Travel Debacles End Buttigiegs Smooth
2023-01-20   2023-01-21 ics/pete-buttigieg-southwest-faa.html         Ride                                         By Mark Walker                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/us/polit Supreme Courts Inquiry Into Leak Included
2023-01-20   2023-01-21 ics/supreme-court-leak-justices.html          Interviews With All 9 Justices               By Charlie Savage                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/us/polit New State Voting Laws At Center of 24
2023-01-20   2023-01-21 ics/voting-rights-laws-states.html            Races                                        By Neil Vigdor                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/us/rishi-
2023-01-20   2023-01-21 sunak-seatbelt-fine.html                      Internet Post Leads to Fine For UK Chief     By Michael Levenson                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/us/solo Amid Red Flags GOP Backed Candidate             By Simon Romero and Maggie
2023-01-20   2023-01-21 mon-pena-new-mexico-shootings.html            Charged in Shootings                         Astor                              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/well/fa Latest Obesity Guidelines For Children Are
2023-01-20   2023-01-21 mily/childhood-obesity-guidelines.html        Big Shift Aimed at Reducing Stigma           By Catherine Pearson               TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/20/world/a Gaining Accolades While Covering War
2023-01-20   2023-01-21 frica/burkina-faso-journalism-ouedraogo.html Victims in Burkina Faso                      By Clair MacDougall                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/world/a
                        mericas/guatemala-colombia-defense-          Guatemala Targets Colombias Defense
2023-01-20   2023-01-21 minister.html                                Minister in Crackdown                        By Maria AbiHabib and Jody Garca TX 9-271-977      2023-03-01
                        https://www.nytimes.com/2023/01/20/world/a Facing Warring Gangs a Desperate Mother        By Natalie Kitroeff Andre Paultre
2023-01-20   2023-01-21 mericas/haiti-gang-violence.html             Turns to a Bold Nun                          and Adriana Zehbrauskas           TX 9-271-977     2023-03-01



                                                                                 Page 4762 of 5793
                        https://www.nytimes.com/2023/01/20/world/a Direct Route Flooded Driver Embarks on a
2023-01-20   2023-01-21 ustralia/australia-floods-drive.html       3000Mile Detour                              By Natasha Frost              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/world/a
                        ustralia/jacinda-ardern-new-zealand-       New Zealand Continues To Face Economic
2023-01-20   2023-01-21 economy.html                               Woes Amid Leadership Shift                   By Natasha Frost              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/world/a Some Leaders Chose to Resign But Often It Is
2023-01-20   2023-01-21 ustralia/jacinda-ardern-resignation.html   the System That Decides                      By Max Fisher                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/world/e
                        urope/church-england-same-sex-             Church Says It Will Bless Not Marry Gay
2023-01-20   2023-01-21 marriage.html                              Couples                                      By Euan Ward                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/world/e Dispute Holds Up A Deal to Deliver Tanks to
2023-01-20   2023-01-21 urope/ukraine-germany-us-tanks.html        Ukraine                                      By Erika Solomon              TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/20/world/e
2023-01-20   2023-01-21 urope/wagner-mercenary-group-russia.html New US Label Aims to Punish Wagner Group By Katie Rogers                     TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/20/your- Special Savings Account to Open to More
2023-01-20   2023-01-21 money/able-disability-savings-accounts.html Disabled People                              By Ann Carrns                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/us/elija Five Plead Not Guilty Over Death In
2023-01-21   2023-01-21 h-mcclain-police-paramedics.html            Colorado                                     By Audra D S Burch           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/us/illin Illinois Gun Ban Faces First of Many Legal
2023-01-21   2023-01-21 ois-gun-ban-second-amendment.html           Challenges                                   By Mitch Smith               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/us/polit NATO Is Holding Strong on Ukraine but        By David E Sanger and Eric
2023-01-21   2023-01-21 ics/nato-alliance-ukraine.html              Fractures Are Visible                        Schmitt                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/07/20/books/b Literary Destinations Read Your Way
2022-07-20   2023-01-22 ooks-newfoundland-canada.html               Through Newfoundland                         By Michael Crummey           TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2022/12/27/books/r
2022-12-27   2023-01-22 eview/have-you-eaten-yet-cheuk-kwan.html A Little Taste of Home                          By Jiayang Fan               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/books/r
2022-12-28   2023-01-22 eview/elinor-lipman-ms-demeanor.html        Broken Barriers                              By Camille Perri             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2022/12/28/books/r
                        eview/in-praise-of-failure-costica-
2022-12-28   2023-01-22 bradatan.html                               Use Your Disillusion                         By Jennifer Szalai           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/03/books/r
2023-01-03   2023-01-22 eview/the-new-life-tom-crewe.html           Gay Old Times                                By Peter Kispert             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/07/magazi
2023-01-07   2023-01-22 ne/damar-hamlin-espn.html                   Thin Air                                     By Devin Gordon              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/08/books/r
                        eview/the-edge-of-the-plain-james-
2023-01-08   2023-01-22 crawford.html                               Can Borders Work                             By Lauren Redniss            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/books/r
2023-01-10   2023-01-22 eview/stephen-markley-deluge.html           Last Chance                                  By Hamilton Cain             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/realesta
2023-01-10   2023-01-22 te/cabin-sonoma-county-ca.html              1970s Idealism Gets A Dose of Livability     By Tim McKeough              TX 9-271-977   2023-03-01



                                                                                 Page 4763 of 5793
                        https://www.nytimes.com/2023/01/11/world/a Rehman Rahi Renowned Kashmiri Poet Dies
2023-01-11   2023-01-22 sia/rehman-rahi-dead.html                  at 97                                   By Sameer Yasir                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/12/books/r Jon Meacham Grew Up With Civil War
2023-01-12   2023-01-22 eview/and-there-was-light-jon-meacham.html Bullets in His Backyard                    By Elisabeth Egan              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/books/r
                        eview/forbidden-notebook-alba-de-
2023-01-13   2023-01-22 cespedes.html                              The Transgressive Power of Alba de Cspedes By Joumana Khatib              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/opinion
                        /sunday/pamela-anderson-pamela-and-                                                   By Jessica Bennett and Sara
2023-01-13   2023-01-22 tommy.html                                 Pamela Anderson Is Doing Just Fine         Cwynar                         TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/14/arts/mu
2023-01-14   2023-01-22 sic/john-cale-mercy-velvet-underground.html A Storied Rock Rsum Gets Longer            By Lindsay Zoladz             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/realesta For a Rock Princess Tender Memories Filled
2023-01-14   2023-01-22 te/lisa-marie-presley-graceland-elvis.html  a Castle                                   By Debra Kamin                TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/15/arts/tele
2023-01-15   2023-01-22 vision/lily-collins-emily-in-paris-netflix.html Lily Collins Loves Coffee and Coziness     By Chris Kornelis         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/15/realesta
                        te/chippendale-building-550-madison-            Chippendale Building Updates to Draw
2023-01-15   2023-01-22 amenities.html                                  Workers Inside                             By Victoria M Walker      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/magazi
2023-01-16   2023-01-22 ne/rogaine-women.html                           Rogaine                                    By Jenny Wu               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/realesta
2023-01-16   2023-01-22 te/renters-brooklyn-williamsburg.html           In California He Kept Dreaming of New York By DW Gibson              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/style/ni
2023-01-16   2023-01-22 ck-cave-knoll-textiles.html                     A Collection of Ideas                      By Sandra E Garcia        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/books/r
                        eview/american-inheritance-edward-
2023-01-17   2023-01-22 larson.html                                     Hard Truths                                By Jon Meacham            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/books/r
2023-01-17   2023-01-22 eview/and-finally-henry-marsh.html              The Physician Becomes a Patient            By Kieran Setiya          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/books/r
                        eview/holodomor-the-lost-year-katherine-
                        marsh-winterkill-marsha-forchuk-
2023-01-17   2023-01-22 skrypuch.html                                   A Hunger for the Truth                     By Elena Gorokhova        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/books/r
                        eview/royalty-courtiers-princess-
2023-01-17   2023-01-22 margaret.html                                   Royalty Adjacent                           By Sadie Stein            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/magazi Is It OK to Let My Relatives Think Their
2023-01-17   2023-01-22 ne/funeral-family-ethics.html                   Dead Sister Is Still Alive                 By Kwame Anthony Appiah   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/17/magazi
2023-01-17   2023-01-22 ne/tesla-autopilot-self-driving-elon-musk.html Elon Musks Collision Course             By Christopher Cox            TX 9-271-977   2023-03-01



                                                                                  Page 4764 of 5793
                        https://www.nytimes.com/2023/01/17/opinion What if Diversity Trainings Do More Harm
2023-01-17   2023-01-22 /dei-trainings-effective.html               Than Good                                    By Jesse Singal                 TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/17/realesta A Stressful Project Even if Youre Not in
2023-01-17   2023-01-22 te/sanjay-gupta-home-atlanta.html           Charge                                       By Joanne Kaufman               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/17/theater/
2023-01-17   2023-01-22 gay-plays-musicals-broadway.html            Exploring the Complexity of the Rainbow      By Jesse Green                  TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/arts/mu Yukihiro Takahashi 70 Drummer And
2023-01-18   2023-01-22 sic/yukihiro-takahashi-dead.html            Pioneer of Electronic Pop Music              By Clay Risen                   TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/18/arts/tele
2023-01-18   2023-01-22 vision/bomani-jones-game-theory-hbo.html Bomani Jones Seeks Out the Zag                   By Jason Zinoman               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/magazi                                                 By Oliver Whang and Andres
2023-01-18   2023-01-22 ne/cockfighting-rooster-breeding.html        Enter the Rooster                            Serrano                        TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/magazi                                                 By Zishaan a Latif and Mansi
2023-01-18   2023-01-22 ne/india-cram-schools-kota.html              Cram City                                    Choksi                         TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/magazi Perfectly Filling A Soup Of Lamb Meatballs
                        ne/lamb-meatball-soup-semolina-dumplings- and Semolina Dumplings Comes With a Zest
2023-01-18   2023-01-22 recipe.html                                  of History                                   By Yotam Ottolenghi            TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/movies/ Bagels and Onions With a Side of
2023-01-18   2023-01-22 everything-everywhere-glass-onion.html       Nothingness                                  By Maya Phillips               TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/18/style/ch
2023-01-18   2023-01-22 ildren-relationships-biological-clock.html   Too Soon to Talk Kids                        By Philip Galanes              TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/19/arts/tele
                        vision/rian-johnson-natasha-lyonne-poker-
2023-01-19   2023-01-22 face.html                                    Of Old Mysteries And New Crimes              By Dave Itzkoff                TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/19/busines
2023-01-19   2023-01-22 s/debt-ceiling-crisis-investing.html         How to Invest as a Debt Ceiling Crisis Looms By Jeff Sommer                 TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/19/busines
                        s/how-to-cope-when-youre-shown-the-
2023-01-19   2023-01-22 door.html                                    Coping When You Are Shown the Door           By Roxane Gay                  TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/19/magazi
2023-01-19   2023-01-22 ne/judge-john-hodgman-on-bagel-flavors.html Bonus Advice From Judge John Hodgman         By John Hodgman                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/magazi                                                By Bernadette Mayer and Victoria
2023-01-19   2023-01-22 ne/poem-early-spring.html                   Early Spring                                 Chang                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/movies/
2023-01-19   2023-01-22 m3gan-gay-sensibility.html                  Horror and Delight in a Campy Killer         By Erik Piepenburg              TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/19/nyregio An AlcoholFree Month Not Everyones
2023-01-19   2023-01-22 n/dry-january-bars-liquor-stores.html       Thrilled                                     By Alyson Krueger               TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/19/opinion
2023-01-19   2023-01-22 /tech-layoffs-meta-amazon-silicon-valley.html The Era of Happy Tech Workers Is Over      By Nadia Rawlinson              TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/19/opinion
2023-01-19   2023-01-22 /the-enduring-invisible-power-of-blond.html The Enduring Power of Blond                  By Tressie McMillan Cottom      TX 9-271-977    2023-03-01



                                                                                 Page 4765 of 5793
                        https://www.nytimes.com/2023/01/19/realesta
2023-01-19   2023-01-22 te/saving-down-payment-buying-home.html Taking the Time for Down Payments                  By Michael Kolomatsky   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/style/m With Tour Madonna Shows She Wont Go
2023-01-19   2023-01-22 adonna-tour-2023.html                        Gently                                        By Vanessa Friedman     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/style/m
2023-01-19   2023-01-22 ens-fashion-week-milan.html                  On Milans Streets Its Pink All Over           By Simbarashe Cha       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/style/pe
2023-01-19   2023-01-22 t-decor-interior-design.html                 Dog Doors Are Just the Beginning              By Lia Picard           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/style/w Mesmerized by a Black Sheeps Flailing
2023-01-19   2023-01-22 ednesday-addams-dance.html                   Limbs                                         By Alex Vadukul         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/ Seeking an Oasis in the Palm Springs Desert
                        19/realestate/palm-springs-california-       With 350000 to Spend Which Home Did He
2023-01-19   2023-01-22 homes.html                                   Choose                                        By Soumya Karlamangla   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/arts/des
                        ign/brazil-yanomami-indigenous-andujar-
2023-01-20   2023-01-22 photographs-shed.html                        A Brazilian Defender of Indigenous People By Jill Langlois            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/arts/dic Dick Polich 90 Artists Ally in the Creation of
2023-01-20   2023-01-22 k-polich-dead.html                           Sculptures Is Dead                            By Clay Risen           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/arts/mu
2023-01-20   2023-01-22 sic/jacqueline-nova-colombia.html            Playing Catch Up To Jacqueline Nova           By Allyson McCabe       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/books/r
2023-01-20   2023-01-22 eview/new-crime-fiction.html                 Wining Dining and Disappearing                By Sarah Weinman        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/nyregio
2023-01-20   2023-01-22 n/rebecca-lorch-strongwoman-suicide.html     Slowly a Life Built on Strength Unraveled     By John Leland          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/opinion
2023-01-20   2023-01-22 /debt-limit-congress-biden-mccarthy.html     The Republicans Debt Ceiling Bluff            By Jamelle Bouie        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/opinion The Impossible Art of Keeping a Restaurant
2023-01-20   2023-01-22 /noma-restaurant-future.html                 Afloat                                        By Vivian Howard        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/realesta
                        te/apartment-building-ban-incense-           Can My Building Ban Incense Even if Its
2023-01-20   2023-01-22 religious.html                               Part of a Ritual                              By Ronda Kaysen         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/realesta
                        te/housing-developments-city-
2023-01-20   2023-01-22 architecture.html                            Bland Yes But They Satisfy a Lot of Needs By Anna Kod                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/sports/b On Hall of Fame Ballot None of the Above
2023-01-20   2023-01-22 aseball/scott-rolen-hall-of-fame.html        Is the FrontRunner                            By Tyler Kepner         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/sports/b A Fabled Franchise Struggles to Burnish Its
2023-01-20   2023-01-22 asketball/lebron-james-lakers.html           Faded Glamour                                 By Tania Ganguli        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/style/ch
                        ristopher-giglio-lawrence-curran-            An Annoying Question and an Unexpected
2023-01-20   2023-01-22 wedding.html                                 Answer                                        By Sadiba Hasan         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/style/in Four CrossCultural Celebrations on Three
2023-01-20   2023-01-22 dian-and-ghanaian-wedding.html               Continents                                    By Alix Wall            TX 9-271-977   2023-03-01




                                                                                Page 4766 of 5793
                        https://www.nytimes.com/2023/01/20/style/m
                        odern-love-domestic-abuse-ireland-help-from- Going With the Herd but Sometimes in the
2023-01-20   2023-01-22 my-herd.html                                 Lead                                        By Betsy Cornwell                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/style/sa After Loss Living Life More Ferociously
2023-01-20   2023-01-22 ndra-brooke-david-gordon-wedding.html        Together                                    By Vivian Ewing                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/style/st Engagement Parties That Carry a Cover
2023-01-20   2023-01-22 ag-doe-parties-ontario-canada.html           Charge                                      By Shivani Gonzalez                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/style/tra Heartbreaking and Beautiful Message After a
2023-01-20   2023-01-22 vis-johnson-rachael-bozsik-wedding.html      Crash                                       By Judy Mandell                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/technol
2023-01-20   2023-01-22 ogy/chatbots-turing-test.html                Shall I Compare Thee to a Chabots Algorithm By Cade Metz                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/world/a
                        ustralia/jacinda-ardern-replace-chris-       CovidResponse Minister Is Set to Succeed
2023-01-20   2023-01-22 hipkins.html                                 Ardern                                      By Natasha Frost                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/20/world/e US Strykers Will Make Kyiv Forces More
2023-01-20   2023-01-22 urope/stryker-vehicles-pentagon-ukraine.html Nimble                                        By John Ismay                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/21/busines She Fooled JPMorgan According to
2023-01-21   2023-01-22 s/jpmorgan-chase-charlie-javice-fraud.html JPMorgan Itself                                 By Ron Lieber                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/busines
                        s/justice-abbott-infant-formula-           Justice Dept Is Investigating Troubled Infant
2023-01-21   2023-01-22 investigation.html                         Formula Plant                                   By Christina Jewett              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/busines
2023-01-21   2023-01-22 s/retirement-immigrant-families.html       Their Children Serve as Their Pension Plans     By Mike Dang                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/nyregio By the Way Thats Ambassador Beatboxer to
2023-01-21   2023-01-22 n/beatbox-house.html                       You                                             By Tani Levitt                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/nyregio
2023-01-21   2023-01-22 n/gas-stoves-nyc.html                      Cooking With Gas or the Electric Slide          By Ginia Bellafante              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/nyregio
                        n/janie-deegan-life-changed-baked-
2023-01-21   2023-01-22 goods.html                                 Constant Movement Fueled by Caffeine            By Alix Strauss                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/nyregio Migrant Shelter to Occupy Brooklyn Cruise       By Kimiko de FreytasTamura and
2023-01-21   2023-01-22 n/migrant-homeless-cruise-terminal.html    Terminal                                        Karen Zraick                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/opinion
2023-01-21   2023-01-22 /aging-climate-change-demographics.html    Five Rules For an Aging World                   By Ross Douthat                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/opinion
2023-01-21   2023-01-22 /children-famine-somalia-solutions.html    We Know How to Save Kids Lives                  By Nicholas Kristof              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/opinion
2023-01-21   2023-01-22 /drunk-driving.html                        What Drunken Driving Taught Me                  By Bob Morris                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/21/opinion
2023-01-21   2023-01-22 /nancy-pelosi-maureen-dowd-interview.html Nancy Pelosi Got It Done                         By Maureen Dowd                  TX 9-271-977   2023-03-01




                                                                                 Page 4767 of 5793
                        https://www.nytimes.com/2023/01/21/opinion
                        /nathan-lane-new-play-pictures-from-home-                                              By Rebecca Bengal and Alec Soth
2023-01-21   2023-01-22 larry-sultan-book.html                      Pictures From Home Onstage                 for The New York Times          TX 9-271-977        2023-03-01
                        https://www.nytimes.com/2023/01/21/opinion
2023-01-21   2023-01-22 /russia-ukraine.html                        A Brutal New Phase of the War in Ukraine   By The Editorial Board          TX 9-271-977        2023-03-01
                        https://www.nytimes.com/2023/01/21/sports/t Insular Game Faces Pressure to Change From By Matthew Futterman and Lauren
2023-01-21   2023-01-22 ennis/business-australian-open.html         All Directions                             Hirsch                          TX 9-271-977        2023-03-01

                        https://www.nytimes.com/2023/01/21/sports/t Limping and Creaking Djokovic Manages a
2023-01-21   2023-01-22 ennis/djokovic-murray-australian-open.html Win but Murray Loses                           By Matthew Futterman              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/style/lu Lunar New Year a Recipe for Building
2023-01-21   2023-01-22 nar-new-year-traditions.html                Community                                     By Aileen Kwun                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/style/ni
2023-01-21   2023-01-22 kki-finke-hollywood-journalist.html         Sharp Edges and Burned Bridges                By Jacob Bernstein                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/us/oma
2023-01-21   2023-01-22 ha-streetcars.html                          A Famous Voice Tries To Stop the Streetcar    By Julie Bosman                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/us/polit Looking for Lessons in the Clinton Scandal
2023-01-21   2023-01-22 ics/25-years-clinton-lewinsky.html          25 Years Later                                By Peter Baker                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/us/polit Three ActiveDuty Marines Seen in Capitol
2023-01-21   2023-01-22 ics/marines-capitol-riot-jan-6-arrest.html  During Jan 6 Riot Are Charged                 By Amanda Holpuch                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/us/polit Klain Is Expected to Step Down After Two
2023-01-21   2023-01-22 ics/ron-klain-resigning.html                Years as Bidens Chief of Staff                By Peter Baker and Katie Rogers   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/us/polit Taiwans Top Representative to America
2023-01-21   2023-01-22 ics/taiwan-diplomat-china.html              Treads a Diplomatic Tightrope                 By Michael Crowley                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/us/polit
2023-01-21   2023-01-22 ics/us-troops-romania-ukraine.html          US Extends Its Troops At Wars Edge            By Lara Jakes                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/us/supr Fruitless Leak Inquiry Heightens Air of
2023-01-21   2023-01-22 eme-court-investigation.html                Distrust in Supreme Court                     By Jodi Kantor                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/world/a In Pakistan Parliament Strengthens Its Harsh
2023-01-21   2023-01-22 sia/pakistan-blasphemy-laws.html            Laws Against Blasphemy                        By Salman Masood                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/21/world/e London Museum Pulls Display Of Irish Giant
2023-01-21   2023-01-22 urope/charles-byrne-irish-giant-museum.html Skeleton                                      By Claire Moses                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/world/e
                        urope/dnipro-ukraine-russia-strike-          Safe at Home in Dnipro Until a Russian
2023-01-21   2023-01-22 apartment.html                               Missile Struck                               By Michael Schwirtz               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/world/e
                        urope/france-putin-wizard-kremlin-da-
2023-01-21   2023-01-22 empoli.html                                  In France Real Angst About a Fictional Putin By Constant Mheut                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/world/e As Germany Deliberates Ukraine Counts on
2023-01-21   2023-01-22 urope/ukraine-germany-leopard-tanks.html     Tank Transfer                                By Cassandra Vinograd             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/ Most Abortion Bans Include Exceptions In
2023-01-21   2023-01-22 21/us/abortion-ban-exceptions.html           Practice Few Are Granted                     By Amy Schoenfeld Walker          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/sports/f Clock Strikes Midnight for Giants Who Now
2023-01-22   2023-01-22 ootball/eagles-giants-nfl-playoffs.html      Have Decisions to Make                       By Emmanuel Morgan                TX 9-271-977   2023-03-01



                                                                                 Page 4768 of 5793
                        https://www.nytimes.com/2023/01/21/sports/f With Mahomes Hobbled Kansas City Relies
2023-01-22   2023-01-22 ootball/jaguars-kansas-city-nfl-playoffs.html on Other Ways to Prevail                   By Joe Drape                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/us/flori                                              By Eliza Fawcett and Anemona
2023-01-22   2023-01-22 da-ap-african-american-studies.html           Florida Cites Why It Refused AP Course     Hartocollis                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/us/polit More Documents at Bidens House Seized by     By Michael D Shear and Katie
2023-01-22   2023-01-22 ics/biden-documents.html                      Agents                                     Rogers                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/busines
2023-01-22   2023-01-22 s/economy/federal-debt-history.html           How the US Amassed Debt Of 31 Trillion     By Jim Tankersley               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/busines The Week in Business The Debt Limit and
2023-01-22   2023-01-22 s/the-week-in-business-debt-limit.html        Politics                                   By Lora Kelley                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/insider/
2023-01-22   2023-01-22 a-reporters-protection.html                   A Reporters Protection                     By David W Dunlap               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/insider/
                        fake-grass-wood-frames-and-one-journalists- Pursuing the Reason for Anytown
2023-01-22   2023-01-22 search-for-answers.html                       Architecture                               By Josh Ocampo                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/nyregio Accused of Sowing Terror Miles From New
2023-01-22   2023-01-22 n/nypd-terror-law-abdullah-el-faisal.html     York but NYPD Pursued Him                  By Colin Moynihan               TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/22/us/polit End of Pandemic Aid For Free School Meals
2023-01-22   2023-01-22 ics/universal-school-meals-free-lunches.html Adds to Families Pain                       By Linda Qiu                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/world/a Once Nearly Wiped Out There Cholera           By Golden Matonga John Eligon
2023-01-22   2023-01-22 frica/malawi-cholera-outbreak.html           Surges in Malawi                            and Joao Silva                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/world/a Is Brazils Ombudsman of Democracy
2023-01-22   2023-01-22 mericas/brazil-alexandre-de-moraes.html      Actually Good for Democracy                 By Jack Nicas                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/arts/des
                        ign/dayanita-singh-dancing-with-my-          Images That Come Alive In Endless
2023-01-18   2023-01-23 camera.html                                  Combinations                                By Siddhartha Mitter            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/technol
                        ogy/dutch-school-privacy-google-microsoft- Little Netherlands Brings Techs Goliaths to
2023-01-18   2023-01-23 zoom.html                                    Heel                                        By Natasha Singer               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/well/m Yes It Can Be Done How to Make Time For
2023-01-18   2023-01-23 ove/morning-exercise-tips.html               Regular Exercise                            By Emma Yasinski                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/opinion
                        /tom-cruise-and-the-insanity-of-the-
2023-01-19   2023-01-23 oscars.html                                  Tom Cruise and the Insanity of the Oscars   By Frank Bruni                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/travel/a Could Air Someday Power Your Flight
2023-01-19   2023-01-23 irlines-climate-change-fuel.html             Airlines Are Betting on It                  By Paige McClanahan             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/arts/mu
2023-01-20   2023-01-23 sic/david-crosby-twitter.html                Crosby and Twitter Fit Hand in Glove        By Jeremy Gordon                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/movies/
2023-01-20   2023-01-23 m3gan-guilty-laughter.html                   What Gallows Humor Says About Us            By Jason Zinoman                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/opinion
                        /california-drought-flooding-climate-        How Do You Fight Drought When Its
2023-01-20   2023-01-23 change.html                                  Flooding                                    By Farhad Manjoo                TX 9-271-977   2023-03-01



                                                                                Page 4769 of 5793
                        https://www.nytimes.com/2023/01/20/sports/b
                        asketball/chet-holmgren-oklahoma-city-      During a Lost Season Holmgren Is Striving
2023-01-20   2023-01-23 thunder-nba.html                            To Find Some Positives                      By David Gardner                TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/20/sports/b
2023-01-20   2023-01-23 asketball/maya-moore-basketball-legacy.html A Career Ends But Not a Mission         By Kurt Streeter                    TX 9-271-977   2023-03-01
                                                                    Meta Board Advises Facebook to Update
                        https://www.nytimes.com/2023/01/20/technol Nude Photo Rules Citing Gender and LGBTQ
2023-01-20   2023-01-23 ogy/meta-nudity-standards-overhaul.html     Biases                                  By Maya King                        TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/21/busines At Davos Plenty of European Distress Is
2023-01-21   2023-01-23 s/davos-europe-inflation-reduction-act.html Voiced About a Made in America Law        By Eshe Nelson                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/busines
2023-01-21   2023-01-23 s/dealbook/demographic-crisis.html          Facing the Downsides Of Longer Life Spans By Bernhard Warner                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/sports/b At 23 Doncic Takes a Leap and Hes Taking
2023-01-21   2023-01-23 asketball/luka-doncic-scoring-mavs.html     the Mavericks With Him                    By Tania Ganguli                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/sports/g Gwen Knapp 61 Sports Reporter Who
2023-01-21   2023-01-23 wen-knapp-sports-editor.html                Focused on the Big Picture                By Kevin Draper                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/world/e Buckingham Palace Plans a Jamboree Lasting
2023-01-21   2023-01-23 urope/king-charles-coronation-britain.html  3 Days to Crown Its New King              By Mark Landler                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/21/sports/t A Champion at Wimbledon Is Still Clawing
2023-01-22   2023-01-23 ennis/australian-open-rybakina-swiatek.html for Recognition                           By Christopher Clarey             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/us/polit Top Border Official Resigned Amid Conduct
2023-01-22   2023-01-23 ics/top-border-patrol-official-resigned.html Allegations                              By Eileen Sullivan                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/world/a Free to Travel Anxious Chinese Resume
2023-01-22   2023-01-23 sia/china-lunar-new-year-travel-covid.html   Lunar New Year Rush                      By Chang Che and John Liu         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/arts/dan
                        ce/review-force-of-nature-natalia-
2023-01-22   2023-01-23 osipova.html                                 Reaching Back In Time                    By Brian Seibert                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/arts/mu
                        sic/dalia-stasevska-new-york-philharmonic-
2023-01-22   2023-01-23 review.html                                  TikTokish Energy Then the Usual Routine  By Joshua Barone                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/books/ Marion Meade Dies at 88 Helped to Renew
2023-01-22   2023-01-23 marion-meade-dead.html                       Interest In Dorothy Parkers Work         By Richard Sandomir               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/busines                                            By Alexandra Stevenson and Zixu
2023-01-22   2023-01-23 s/china-birthrate-ivf.html                   Eager to Subsidize IVF to Ease a Crisis  Wang                              TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/22/busines As Deepfakes Proliferate Nations Struggle to
2023-01-22   2023-01-23 s/media/deepfake-regulation-difficulty.html React                                       By Tiffany Hsu                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/crossw
2023-01-22   2023-01-23 ords/daily-puzzle-2023-01-23.html           Mirror Symmetry Working in Symphony         By Deb Amlen                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/fashion
2023-01-22   2023-01-23 /jewelry-couture-paris.html                 Indie makers in high jewelry                By Tina IsaacGoiz               TX 9-271-977   2023-03-01




                                                                                Page 4770 of 5793
                        https://www.nytimes.com/2023/01/22/fashion
                        /jewelry-diamonds-signum-antwerp-
2023-01-22   2023-01-23 belgium.html                               Want a rough diamond                        By Milena Lazazzera               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/fashion
2023-01-22   2023-01-23 /jewelry-opal-mining-mexico.html           Fire Rainbow Peacock Theyre all opals       By Janelle Conaway                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/fashion
2023-01-22   2023-01-23 /jewelry-paris-opera-auction-sothebys.html Helping the opera sing                      By Milena Lazazzera               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/fashion
                        /jewelry-skydiamonds-lab-grown-gems-
2023-01-22   2023-01-23 britain.html                               Diamonds are in the air                     By Ming Liu                       TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/22/fashion
2023-01-22   2023-01-23 /jewelry-tiffany-argyle-mine-diamonds.html Prestige in pink                          By Rachel Felder                   TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/22/fashion
2023-01-22   2023-01-23 /miami-time-century-jewelry-center.html     A jewelry districts new gem              By Rachel Felder                   TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/22/fashion
                        /responsible-jewellery-council-melanie-
2023-01-22   2023-01-23 grant.html                                  Another way to love jewelry              By Tanya Dukes                     TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/22/health/ Inside Hamlins Swarm of Medical Treatment
2023-01-22   2023-01-23 damar-hamlin-cardiac-arrest-hospital.html   and His Surprising Recovery              By Gina Kolata                     TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/22/movies/ Edward R Pressman Is Dead at 79 Film
2023-01-22   2023-01-23 edward-pressman-dead.html                   Producer Who Lifted Careers              By Neil Genzlinger                 TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/22/obituari Sal Bando 78 Captain of Champion Oakland
2023-01-22   2023-01-23 es/sal-bando-dead.html                      Athletics                                By Alex Traub                      TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/22/opinion Early Abortion Looks Nothing Like What    By Erika Bliss Joan Fleischman and
2023-01-22   2023-01-23 /early-abortion.html                        Youve Been Told                          Michele Gomez                      TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/22/opinion                                           By Bill McKibben and Akaya
2023-01-22   2023-01-23 /election-older-voters.html                 The Case for Going Gray and Staying Blue Windwood                           TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/22/sports/f Despite Hamlins Inspiration Bills Find Little
2023-01-22   2023-01-23 ootball/bills-bengals-score-nfl-playoffs.html but Frustration                              By Jenny Vrentas              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/sports/n
                        caabasketball/manhattan-college-              A Small School Wants to Make a Leap and
2023-01-22   2023-01-23 basketball.html                               Some Chaos Is Part of the Plan               By Billy Witz                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/sports/n
                        caabasketball/uconn-huskies-beuckers-fudd- With Big Stars Shelved A Plucky Seven Keep
2023-01-22   2023-01-23 edwards.html                                  No 5 UConn on a Roll                         By Adam Zagoria               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/theater/
2023-01-22   2023-01-23 review-field-of-mars.html                     A March Toward Oblivion                      By Juan A Ramrez              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/us/gend
2023-01-22   2023-01-23 er-identity-students-parents.html             Parents and Schools Clash on Gender Identity By Katie J M Baker            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/us/polit Former Covid Czar Is Said to Be Next Chief By Peter Baker Katie Rogers and
2023-01-22   2023-01-23 ics/jeff-zients-chief-of-staff.html           of Staff                                     Michael D Shear               TX 9-271-977   2023-03-01




                                                                               Page 4771 of 5793
                        https://www.nytimes.com/2023/01/22/us/polit Harris Warns of More Limits and Says
2023-01-22   2023-01-23 ics/kamala-harris-abortion-roe-v-wade.html Activists Are on the Right Side of History     By Katie Rogers                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/us/polit Russian Cell Suspected In Spain Terror        By Edward Wong Julian E Barnes
2023-01-22   2023-01-23 ics/russia-spain-letter-bombs.html          Attacks                                       and Eric Schmitt                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/us/polit
2023-01-22   2023-01-23 ics/womens-march-roe-wade.html              Taking Abortion Fight To Streets and States By Jenna Russell and Ava Sasani    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/us/shoo                                                By Corina Knoll Jill Cowan
2023-01-22   2023-01-23 ting-monterey-park-california.html          In California Mass Shooting Rocks a Refuge Victoria Kim and Edgar Sandoval     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/world/e Berlins History Is an Obstacle To Aiding       By Steven Erlanger and Erika
2023-01-22   2023-01-23 urope/germany-tanks-history.html            Kyiv                                          Solomon                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/world/e Zelensky Urges Solidarity as Allies Press
2023-01-22   2023-01-23 urope/zelensky-unity-tanks.html             Germany for More Weaponry                     By Matthew Mpoke Bigg            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/world/
2023-01-22   2023-01-23 middleeast/israel-netanyahu-minister.html   Israeli Top Minister Fired After Court Ruling By Isabel Kershner               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/live/2023/01/24/us/ List of Mass Shootings Keeps Growing With By Shashank Bengali and Erin
2023-01-22   2023-01-23 california-shootings/mass-shootings-list    33 So Far This Year                           Mendell                          TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/22/sports/f Glamorous Rivalry Is Renewed And 49ers
2023-01-23   2023-01-23 ootball/49ers-cowboys-score-nfl-playoffs.html Pull Out an Ugly Win                         By Kris Rhim                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/sports/f
                        ootball/nfl-playoffs-divisional-round-
2023-01-23   2023-01-23 takeaways.html                                What We Learned This Round                   By Derrik Klassen               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/us/lisa-
2023-01-23   2023-01-23 marie-presley.html                            At Graceland Another Funeral Fit for Royalty By Richard Fausset              TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/22/us/polit Officials Didnt Think Biden Had Papers at
2023-01-23   2023-01-23 ics/biden-documents-justice-department.html Home                                         By Charlie Savage                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/us/polit 12 Prisoners at Guantnamo Contract the
2023-01-23   2023-01-23 ics/guantanamo-bay-coronavirus.html          Coronavirus                                 By Carol Rosenberg                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/arts/tele
                        vision/whats-on-tv-this-week-the-bachelor-
2023-01-23   2023-01-23 and-american-masters-roberta-flack.html      This Week on TV                             By Kristen Bayrakdarian           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/nyregio As Thousands Fall Behind on Rent New York
2023-01-23   2023-01-23 n/rent-crisis-public-housing.html            Public Housing Faces Crisis                 By Mihir Zaveri                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/us/polit
                        ics/kevin-mccarthy-marjorie-taylor-          Speakers Union With Firebrand May Shape By Jonathan Swan and Catie
2023-01-23   2023-01-23 greene.html                                  GOP                                         Edmondson                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/world/a China Rushes In Putting a Tiny Nation on      By Damien Cave and Matthew
2023-01-23   2023-01-23 sia/china-solomon-islands.html               Edge                                        Abbott                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/science
2023-01-09   2023-01-24 /parasites-global-warming.html               Some Parasitic Species Are Showing Declines By Rachel Nuwer                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/10/well/mi
2023-01-10   2023-01-24 nd/depression-cleaning-clutter.html          Clearing the Clutter Can Seem Impossible    By Dana G Smith                   TX 9-271-977   2023-03-01




                                                                                 Page 4772 of 5793
                                                                    Natural Selections A Case of FemaleMale
                        https://www.nytimes.com/2023/01/10/science Role Reversal In a Group of Brazilian Cave
2023-01-11   2023-01-24 /insect-female-penis.html                   Insects                                     By Jack Tamisiea                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/well/m
2023-01-11   2023-01-24 ove/bodyweight-strength-workout.html        Exercises for a Life of Movement            By Rachel Fairbank                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/12/well/eat
2023-01-12   2023-01-24 /protein-bars.html                          Are Protein Bars Any Good for You           By Dani Blum                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/busines Are People Who Left Their Jobs in 2022 Still
2023-01-16   2023-01-24 s/quitting-jobs-happiness.html              Happy                                       By Joshua Needelman                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/science Romantic Weaponry Why This Creature
2023-01-16   2023-01-24 /trilobite-trident-sexual-combat.html       Borrowed Neptunes Trident for a Nose        By Asher Elbein                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/science What Happened to All of Sciences Big
2023-01-17   2023-01-24 /science-breakthroughs-disruption.html      Breakthroughs                               By William J Broad                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/well/eat Is It Bad to Drink Coffee on an Empty
2023-01-17   2023-01-24 /coffee-empty-stomach.html                  Stomach                                     By Trisha Pasricha                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/science Long While for Crocodiles In a Tomb Along
2023-01-18   2023-01-24 /mummified-crocodiles-egypt-tomb.html       the Nile Beware the Mummies Bite            By Sam Jones                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/arts/wh
                        itney-museum-latino-art-marcela-            Championing Latino Art Beyond the Gallery
2023-01-19   2023-01-24 guerrero.html                               Walls                                       By Robin Pogrebin                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/science Wee Whales When Jonah Would Have Been
2023-01-19   2023-01-24 /whale-gene-giant.html                      A Little Too Much to Swallow                By Darren Incorvaia                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/well/eat Nutrition Misinformation Experts Want to
2023-01-19   2023-01-24 /nutrition-myths.html                       Dispel                                      By Sophie Egan                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/arts/mu
2023-01-20   2023-01-24 sic/playlist-boygenius-kim-petras.html      IndieRock Supergroup Returns And More       By Lindsay Zoladz                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/books/b Betty Lee Sung Pioneering Scholar of Chinese
2023-01-20   2023-01-24 etty-lee-sung-dead.html                     Life in US Dies at 98                       By Sam Roberts                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/books/r                                              By Erica Ackerberg and Tony
2023-01-20   2023-01-24 eview/hobart-book-village.html              It Takes a Book Village                     Cenicola                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/busines New Orleans Port Positions Itself For a      By Jeanna Smialek Ana Swanson
2023-01-20   2023-01-24 s/economy/globalization-new-orleans.html    Reordering of Global Trade                  and Edmund D Fountain              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/movies/
2023-01-20   2023-01-24 science-fiction-movies-streaming.html       Valiant Women And Android Dads              By Elisabeth Vincentelli           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/busines
2023-01-21   2023-01-24 s/tech-layoffs.html                         Tech Giants Roll Back a Pandemic Spree      By Jason Karaian and Lora Kelley   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/21/us/flori Terminally Ill Man Is Shot By His Wife in
2023-01-22   2023-01-24 da-woman-shoots-terminally-ill-husband.html Death Pact                                  By Eduardo Medina                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/busines Ginny Redington Dawes 77 Composer Of
2023-01-22   2023-01-24 s/media/ginny-redington-dawes-dead.html     Hummable Jingles Like Coke Is It            By Sam Roberts                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/arts/des
2023-01-23   2023-01-24 ign/philip-guston-met-museum.html           A Gift The Met Might Not Need               By Roberta Smith                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/arts/mu
2023-01-23   2023-01-24 sic/lakecia-benjamin-phoenix.html           Music Propelled By Perseverance             By Marcus J Moore                  TX 9-271-977   2023-03-01



                                                                                 Page 4773 of 5793
                        https://www.nytimes.com/2023/01/23/arts/mu
2023-01-23   2023-01-24 sic/limmie-pulliam-opera-body-shaming.html Shaming Derailed His Career                   By Javier C Hernndez                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/books/ Tossing and Turning With John Maynard
2023-01-23   2023-01-24 martin-riker-guest-lecture.html            Keynes                                        By Dwight Garner                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/busines Inflation Is Cooling but Experts Split on How
2023-01-23   2023-01-24 s/economy/inflation-turning-point.html     Fast and How Much                             By Jeanna Smialek                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/busines
2023-01-23   2023-01-24 s/elon-musk-tesla-trial.html               Musk Says Fund Wanted Tesla Private           By Kalley Huang and Peter Eavis      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/busines Merger of Kroger and Albertsons Faces a
2023-01-23   2023-01-24 s/kroger-albertsons-merger.html            Long Road to Approval                         By Julie Creswell                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/23/busines
2023-01-23   2023-01-24 s/m-m-candy-controversy-tucker-carlson.html MampMs Pulls Its Mascots After Uproar         By Daniel Victor                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/23/busines Race Is On As Microsoft Puts Billions Into
2023-01-23   2023-01-24 s/microsoft-chatgpt-artificial-intelligence.html OpenAI                                   By Cade Metz and Karen Weise        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/busines
2023-01-23   2023-01-24 s/spotify-layoffs.html                           Spotify Joins Trend Cutting 6 of Workers By Isabella Simonetti               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/busines IRS Looks to Improve Upon Its Customer
2023-01-23   2023-01-24 s/tax-season-irs-funding-biden.html              Service                                  By Alan Rappeport                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/climate
                        /environmental-protection-agency-epa-            More Work and Few Hands at a Dispirited
2023-01-23   2023-01-24 funding.html                                     EPA                                      By Lisa Friedman                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/dining/ Amid Dusty Trays Offices Rethink the
2023-01-23   2023-01-24 corporate-cafeterias.html                        Cafeteria                                By Kim Severson                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/health/c FDA Plan Would Offer Yearly Shot For
2023-01-23   2023-01-24 ovid-boosters-fda.html                           Covid                                    By Apoorva Mandavilli               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/nyregio
                        n/fbi-money-laundering-charles-                  Former Top FBI Official in New York      By Benjamin Weiser and William
2023-01-23   2023-01-24 mcgonigal.html                                   Charged With Aiding Oligarch             K Rashbaum                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/opinion Santos Fits Right Into McCarthys Republican
2023-01-23   2023-01-24 /biden-trump-mccarthy-santos.html                Majority                                 By Gail Collins and Bret Stephens   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/opinion
2023-01-23   2023-01-24 /social-media-photography-selfies.html           Youre Pointing Your Camera the Wrong Way By Margaret Renkl                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/science
2023-01-23   2023-01-24 /what-do-we-owe-lab-animals.html                 Rethinking the Debt Owed to Lab Animals  By Brandon Keim                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/sports/b Knocking On the Door But Not Likely To Be
2023-01-23   2023-01-24 aseball/hall-of-fame-tracker.html                Let In                                   By Benjamin Hoffman                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/sports/e One Lifeguard During His Breaks Does the
2023-01-23   2023-01-24 ddie-aikau-big-wave-invitational.html            Legacy of Another Proud                  By Talya Minsberg                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/sports/t Flying Under the Radar Is Proving to Be a
2023-01-23   2023-01-24 ennis/pegula-australian-open.html                Quite Successful Route                   By Matthew Futterman                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/sports/t An Initiation Rite For Grand Slams The
2023-01-23   2023-01-24 ennis/shelton-rublev-australian-open.html        FiveSetter                               By Christopher Clarey               TX 9-271-977   2023-03-01



                                                                                 Page 4774 of 5793
                        https://www.nytimes.com/2023/01/23/theater/ Room a Lauded Book and Film Is Headed for
2023-01-23   2023-01-24 room-broadway-adrienne-warren.html          Broadway                                  By Michael Paulson              TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/theater/
2023-01-23   2023-01-24 sugar-daddy-review.html                     In Grief Catharsis Comes With Desire      By Naveen Kumar                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/us/alex- Trial Opens for Scion of Legal Dynasty
2023-01-23   2023-01-24 murdaugh-trial.html                         Accused of Killing Wife and Son           By Nicholas BogelBurroughs      TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/us/bowl
                        ing-green-state-university-hazing-          29 Million Settlement Reached in Hazing
2023-01-23   2023-01-24 settlement.html                             Death Case                                By Maya King                    TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/us/mon Focus on Whether a Killer Targeted People
2023-01-23   2023-01-24 terey-park-shooting-suspect.html            He Knew                                   By Tim Arango and Jill Cowan    TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/23/us/polit
2023-01-23   2023-01-24 ics/arizona-voter-fraud-attorney-general.html Arizona Voter Fraud Unit Gets an Overhaul   By Neil Vigdor              TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/us/polit Four More Members of Oath Keepers
2023-01-23   2023-01-24 ics/oath-keepers-convicted-sedition.html      Convicted of Sedition in Second Trial       By Zach Montague            TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/us/polit
                        ics/richard-barnett-pelosi-jan-6-
2023-01-23   2023-01-24 convicted.html                                Man With Boot on Pelosis Desk Convicted     By Michael Levenson         TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/23/us/polit Democrat in Arizona Challenges Sinema For
2023-01-23   2023-01-24 ics/ruben-gallego-kyrsten-sinema-senate.html Her Senate Seat                          By Jazmine Ulloa and Katie Glueck TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/us/polit
                        ics/supreme-court-transgender-students-      Top Court Poised to Review Transgender
2023-01-23   2023-01-24 bathrooms.html                               Bathroom Bans                            By Adam Liptak                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/23/us/scot Justices Delay Considering Cases in Florida
2023-01-23   2023-01-24 us-internet-florida-texas-speech.html        and Texas Curbing Internet Platforms      By Adam Liptak                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/us/supr With Justices Back in Court Veteran Loses
2023-01-23   2023-01-24 eme-court-veteran-opinions.html              Benefits Case                             By Adam Liptak                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/us/trum Pivotal Question in Georgia Inquiry Will    By Danny Hakim and Richard
2023-01-23   2023-01-24 p-georgia-criminal-charges.html              Trump Face Criminal Charges               Fausset                        TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/world/a
                        mericas/genaro-garcia-luna-corruption-trial- Mexican ExLawman Took Cartels Money US
2023-01-23   2023-01-24 mexico.html                                  Prosecutors Say                           By Alan Feuer                  TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/world/a Power Cut Sweeps Pakistan Dropping          By Salman Masood and Zia
2023-01-23   2023-01-24 sia/pakistan-power-outage-blackouts.html     Millions Into Dark                        urRehman                       TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/world/e Farmers Feel Pain of Brexit as the Pool of
2023-01-23   2023-01-24 urope/brexit-eu-farmers-labor.html           Migrant Workers Dries Up                  By Stephen Castle              TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/world/e
                        urope/moscow-flowers-protest-ukraine-war-     Protesting War With Flowers At a Poets   By Valerie Hopkins and Nanna
2023-01-23   2023-01-24 dnipro.html                                  Feet                                      Heitmann                       TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/world/e
                        urope/ukraine-corruption-zelensky-           Kyiv Leader Fires Deputy Implicated In
2023-01-23   2023-01-24 minister.html                                Bribery                                   By Cassandra Vinograd          TX 9-271-977     2023-03-01



                                                                                 Page 4775 of 5793
                        https://www.nytimes.com/2023/01/23/world/ Egypts Economy Buckles Under Punishing
2023-01-23   2023-01-24 middleeast/egypt-economy.html                Inflation                                    By Vivian Yee                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/
                        23/sports/football/nfl-playoffs-young-
2023-01-23   2023-01-24 quarterbacks.html                            4 Young QBs Will Decide the NFL Playoffs By Sara Ziegler                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/opinion
2023-01-24   2023-01-24 /government-debt-deficit.html                Please Dont Feed the Debt Scolds             By Paul Krugman               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/opinion
2023-01-24   2023-01-24 /trans-kids-privacy-gender-identity.html     Trans Students Deserve Private Lives Too     By Michelle Goldberg          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/us/mon Victims in 50s 60s and 70s Shared a Love for By Shawn Hubler Corina Knoll and
2023-01-24   2023-01-24 terey-park-shooting-victims.html             Dance                                        Livia AlbeckRipka             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/health/e
2023-01-24   2023-01-24 mails-billing-doctors-patients.html          Dollars For Their Thoughts                   By Benjamin Ryan              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/movies/
2023-01-24   2023-01-24 2023-oscar-nominees-list.html                2023 Oscar Nominees                          By Gabe Cohn                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/science In the California Night Ferrying Amphibians
2023-01-24   2023-01-24 /newts-roads-california.html                 to Safety                                    By Annie Roth and Ian C Bates TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/science
2023-01-24   2023-01-24 /physics-cosmology-astronomy.html            Physics and the Future                       By Dennis Overbye             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/live/2023/01/23/us/
                        shooting-half-moon-bay-california/shooting- Seven Die in Californias 2nd Mass Shooting By Holly Secon April Rubin and
2023-01-24   2023-01-24 half-moon-bay-california                     in 3 Days Suspect Is Held                    Jesus Jimnez                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/dining/
2023-01-18   2023-01-25 winter-salad-recipes.html                    Winter Salads That Are Anything but Sad      By Melissa Clark              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/dining/
2023-01-20   2023-01-25 au-kouign-amann-recipe.html                  A Pastry Recipe Points the Way to Healing    By Yewande Komolafe           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/dining/
2023-01-20   2023-01-25 egg-inflation-meme.html                      Which Came First Inflation or the Egg Meme By Becky Hughes                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/opinion
2023-01-22   2023-01-25 /neurodiverse-ocd-mental-health.html         Its OK to Say You Have a Little OCD          By Maia Szalavitz             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/arts/mu
                        sic/drake-rap-fandom-camron-pharrell-
2023-01-23   2023-01-25 williams.html                                A Performer Eager To Be Inspired             By Jon Caramanica             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/arts/mu SZA Matches Adele With Six Straight Weeks
2023-01-23   2023-01-25 sic/sza-sos-billboard-chart-six-weeks.html   at No 1                                      By Joe Coscarelli             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/dining/
2023-01-23   2023-01-25 kitchen-tools.html                           Rounding Out Their Kitchen Tool Kits         By Naz Deravian               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/nyregio Pattern of Mistakes And a Deadly Epidural
2023-01-23   2023-01-25 n/anesthesiologist-brooklyn-deaths.html      At a Brooklyn Hospital                       By Joseph Goldstein           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/opinion The Constitution Has a 155YearOld Answer
2023-01-23   2023-01-25 /fourteenth-amendment-debt-ceiling.html      to the Debt Ceiling                          By Eric Foner                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/technol Across Tech Easy Money Yields to Hard
2023-01-23   2023-01-25 ogy/tech-interest-rates-layoffs.html         Times                                        By David Streitfeld           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/arts/bal Balkrishna Doshi 95 First Indian Architect to
2023-01-24   2023-01-25 krishna-doshi-dead.html                      Win a Pritzker Dies                          By Fred A Bernstein           TX 9-271-977   2023-03-01



                                                                              Page 4776 of 5793
                        https://www.nytimes.com/2023/01/24/arts/dan
                        ce/copland-dance-episodes-new-york-city-                                                By Joshua Barone and Mark
2023-01-24   2023-01-25 ballet.html                                 Dancing to the Music Tumbleweed Style       Sommerfeld                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/arts/des
                        ign/baltimore-museum-director-asma-         Baltimore Museum of Art Chooses New
2023-01-24   2023-01-25 naeem.html                                  Director                                    By Hilarie M Sheets                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/arts/mu
2023-01-24   2023-01-25 sic/25sp-paris-opera-britten.html           A British opera is reintroduced in Paris    By David Belcher                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/arts/mu
2023-01-24   2023-01-25 sic/paris-opera-garnier.html                An opera houses secrets                     By Sam Lubell                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/arts/mu
2023-01-24   2023-01-25 sic/paris-opera-hamlet.html                 Coming soon A decidedly French Hamlet       By Rebecca Schmid                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/arts/mu Senators Raise Breaking Up Live Nation
                        sic/ticketmaster-taylor-swift-senate-       Monopoly After Bungled Sale of Taylor Swift
2023-01-24   2023-01-25 hearing.html                                Tickets                                     By Ben Sisario and Matt Stevens    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/busines Musk Says Buyout Plan to Take Tesla Private
2023-01-24   2023-01-25 s/elon-musk-tesla-trial.html                Didnt Involve a Specific Number             By Kalley Huang and Peter Eavis    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/busines                                              By David YaffeBellany Matthew
2023-01-24   2023-01-25 s/ftx-sbf-modulo-capital.html               BankmanFrieds Abrupt 400 Million Stake      Goldstein and Royston Jones Jr     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/busines                                              By Lauren Hirsch Katie Robertson
2023-01-24   2023-01-25 s/media/news-corp-fox-merger.html           Murdoch Backtracks On Merger                and Benjamin Mullin                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/busines Victor Navasky 90 Top Liberal Journalist
2023-01-24   2023-01-25 s/media/victor-s-navasky-dead.html          With Irreverent Wit Dies                    By Joseph Berger                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/busines
2023-01-24   2023-01-25 s/nyse-trading-glitch.html                  NYSE Glitch Causes Swings In Share Prices By Joe Rennison                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/busines
                        s/real-estate-tiktok-social-media-
2023-01-24   2023-01-25 influencers.html                            Opening the Door to Influencers             By Debra Kamin                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/busines Tesla Will Build Plant in Nevada to Make
2023-01-24   2023-01-25 s/tesla-truck-factory-nevada.html           Electric Semi Trucks                        By Jack Ewing                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/climate After Racial Reckoning Sierra Club Looks
2023-01-24   2023-01-25 /ben-jealous-sierra-club.html               Ahead With New Leadership                   By David Gelles                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/dining/
2023-01-24   2023-01-25 dessert-is-never-out-of-the-question.html   New Year or Not You Deserve Dessert         By Nikita Richardson               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/dining/
2023-01-24   2023-01-25 noma-fruit-beetle-fine-dining.html          Fine Dining Comes With a Human Cost         By Tejal Rao                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/dining/ Foul Witch From the Robertas Team Opens in
2023-01-24   2023-01-25 nyc-restaurant-news.html                    the East Village                            By Florence Fabricant              TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/24/dining/r
2023-01-24   2023-01-25 estaurant-review-masalawala-and-sons.html Proud to Make Eyes Water and Sinuses Stir    By Pete Wells                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/health/f To Reduce Lead Levels in Baby Food FDA
2023-01-24   2023-01-25 da-lead-baby-food.html                      Proposes New Set of Guidelines             By Christina Jewett                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/health/ Nations Face Crushing Cost of Medical       By Rebecca Robbins Stephanie
2023-01-24   2023-01-25 gene-therapies-cost-zolgensma.html          Miracles                                   Nolen and Dado Galdieri             TX 9-271-977   2023-03-01



                                                                                Page 4777 of 5793
                        https://www.nytimes.com/2023/01/24/health/l
2023-01-24   2023-01-25 ong-covid-work.html                         Long Covid Said to Sap Work Force        By Pam Belluck                   TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/24/movies/ For Bassett a Nod Is Familiar Yet Very
2023-01-24   2023-01-25 angela-bassett-oscar-nomination.html        Exciting                                 By Kalia Richardson              TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/24/nyregio
                        n/gynecologist-hadden-convicted-sex-        Jury Convicts Former Gynecologist Of     By Hurubie Meko and Brittany
2023-01-24   2023-01-25 abuse.html                                  Luring Women for Sexual Abuse            Kriegstein                       TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/24/nyregio Lawyers Duel in Closing Arguments In
2023-01-24   2023-01-25 n/saipov-bike-path-terror-trial-closings.html Manhattan BikePath Terror Trial           By Lola Fadulu                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/opinion
2023-01-24   2023-01-25 /newzealand-ardern-politics.html              The Star Who Didnt Quite Deliver          By Josie Pagani                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/sports/b Scouts Saw It in Rolen and It Took Him to
2023-01-24   2023-01-25 aseball/scott-rolen-hall-of-fame.html         Cooperstown                               By Tyler Kepner                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/sports/s
2023-01-24   2023-01-25 kiing/shiffrin-vonn-world-cup.html            Alone at the Top                          By Matthew Futterman            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/sports/t With Little Steps Azarenka Makes A Deep
2023-01-24   2023-01-25 ennis/azarenka-australian-open.html           Run                                       By Christopher Clarey           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/technol
2023-01-24   2023-01-25 ogy/google-ads-lawsuit.html                   US Accuses Google of Abusing Its Monopoly By David McCabe and Nico Grant TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/24/theater/
2023-01-24   2023-01-25 the-appointment-review.html                   Where the Fetuses Sing and Dance          By Laura CollinsHughes          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/us/calif                                             By Holly Secon Shawn Hubler
                        ornia-shootings-half-moon-bay-monterey-       For California A Baffling Toll Rises Yet  David W Chen and Soumya
2023-01-24   2023-01-25 park.html                                     Again                                     Karlamangla                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/us/mass 24 Days Into Year 69 Deaths in Mass          By J David Goodman Amy Harmon
2023-01-24   2023-01-25 shootings-january.html                        Shootings                                 and Adeel Hassan                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/us/polit Latest Mass Shootings Are Reminders of
2023-01-24   2023-01-25 ics/biden-democrats-gop-gun-control.html      Washingtons Gridlock on Guns              By Annie Karni                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/us/polit
                        ics/biden-trump-documents-special-
2023-01-24   2023-01-25 counsel.html                                  Bidens Errors On Files Blur Trumps Case   By Peter Baker                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/us/polit Pences Home Also Housed Files Marked As
2023-01-24   2023-01-25 ics/mike-pence-classified-documents.html      Classified                                By Maggie Haberman              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/us/polit Pentagon Will Increase Artillery Production
2023-01-24   2023-01-25 ics/pentagon-ukraine-ammunition.html          Sixfold to Aid Ukraine                    By John Ismay and Eric Lipton   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/us/polit On Capitol Hill and Beyond the Reid Machine
2023-01-24   2023-01-25 ics/reid-machine.html                         Rolls On                                  By Carl Hulse                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/us/polit Republicans National Power Struggle Is
2023-01-24   2023-01-25 ics/republicans-trump-pennsylvania.html       Playing Out in Pennsylvania               By Charles Homans               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/us/sout Tornado Strikes Near Houston Storms on       By Judson Jones April Rubin and
2023-01-24   2023-01-25 h-tornado-threat.html                         Move                                      Mike Ives                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/us/trum Prosecutor Wants Trump Grand Jurys           By Richard Fausset and Danny
2023-01-24   2023-01-25 p-georgia-2020-election-report.html           Findings Kept Private                     Hakim                           TX 9-271-977   2023-03-01




                                                                                Page 4778 of 5793
                        https://www.nytimes.com/2023/01/24/world/a Killings of Journalists Spiked in Latin
2023-01-24   2023-01-25 mericas/journalist-deaths.html             America in 2022                            By Eric Nagourney                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/world/a In New Zealand Same Policies Come in New
2023-01-24   2023-01-25 sia/chris-hipkins-new-zealand.html         Style                                      By Natasha Frost                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/world/e Sad Ending in Italy for a Beloved JunkFood
2023-01-24   2023-01-25 urope/italy-bear-juan-carrito.html         Giant                                      By Elisabetta Povoledo            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/world/e Putins War Breathes New Life Into a Cold
2023-01-24   2023-01-25 urope/rfe-russia-ukraine.html              War Symbol of Freedom                      By Matina StevisGridneff          TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/24/nyregio Campaign Report Fuels New Questions About By Michael Gold and Nicholas
2023-01-25   2023-01-25 n/george-santos-loan-campaign-finances.html the Source of Santoss Loans              Fandos                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/opinion
2023-01-25   2023-01-25 /jewish-leaders-zelensky.html               A Tale of Two Jewish Leaders             By Bret Stephens                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/24/us/polit Ukraine Will Get Advanced Tanks US
2023-01-25   2023-01-25 ics/biden-administration-tanks-ukraine.html Officials Say                             By Helene Cooper and Eric Schmitt TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/24/us/polit McCarthy Ousts Schiff and Swalwell From By Catie Edmondson and Karoun
2023-01-25   2023-01-25 ics/mccarthy-schiff-swalwell-committee.html Intelligence Committee                      Demirjian                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/world/e
                        urope/ukraine-corruption-firing-western-     Ukraine Fires Officials Amid Corruption    By Michael Schwirtz and Maria
2023-01-25   2023-01-25 aid.html                                     Scandal as Allies Watch Closely            Varenikova                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/sports/f Completing a Pass Is Big What Happens After
2023-01-25   2023-01-25 ootball/nfl-playoffs-yards.html              the Catch Is Huge                          By Mike Tanier                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/world/c A Tour of a Prime Ministers Plan to Survive
2023-01-25   2023-01-25 anada/diefenbunker-museum-ottawa.html        Armageddon                                 By Ian Austen                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/16/style/ro
2023-01-16   2023-01-26 yal-family-drama.html                        The British Arent Alone in Royal Drama     By Elizabeth Paton              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/19/busines
                        s/china-singapore-immigration-
2023-01-19   2023-01-26 entrepreneurs.html                           Why Entrepreneurs Flee China               By Li Yuan                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/style/da
2023-01-20   2023-01-26 vos-world-economic-forum.html                Elon Musk Says Davos Isnt Fun Well Is It   By Joseph Bernstein             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/style/fr
2023-01-20   2023-01-26 ances-tiafoe-australian-open-outfit.html      Tennis Ace Wins Fashion Points            By Jessica Testa                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/arts/dan
2023-01-24   2023-01-26 ce/israel-galvan-flamenco.html                A Stars Levity And His Mastery            By Siobhan Burke                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/arts/ma Marilyn Stafford 97 Who Skillfully Captured
2023-01-24   2023-01-26 rilyn-stafford-dead.html                     Candid Moments Is Dead                     By Alex Williams                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/arts/tele
2023-01-24   2023-01-26 vision/extraordinary-review.html             Shes Stuck Outside Looking In              By Mike Hale                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/movies/
2023-01-24   2023-01-26 oscars-2023-snubs-surprises.html             Snubs and Surprises Among Oscar Nominees By Kyle Buchanan                  TX 9-271-977   2023-03-01




                                                                               Page 4779 of 5793
                        https://www.nytimes.com/2023/01/24/opinion
                        /merrick-garland-biden-trump-special-        Things Are Looking Pretty Weird for Merrick
2023-01-24   2023-01-26 counsels.html                                Garland                                     By Jack Goldsmith                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/style/m
                        ens-fashion-paris-louis-vuitton-saint-
2023-01-24   2023-01-26 laurent.html                                 How Much Beauty Is Too Much                 By Guy Trebay                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/style/oz WeightLoss Regimen Reveals an Unwanted
2023-01-24   2023-01-26 empic-weight-loss-drugs-aging.html           Wrinkle                                     By Amy Synnott                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/theater/
2023-01-24   2023-01-26 small-talk-review.html                       Is It Him or Is There Humor in Chitchat     By Jason Zinoman                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/
                        24/world/asia/china-unfinished-              They Poured Their Savings Into Homes That
2023-01-24   2023-01-26 apartments.html                              Were Never Built                            By Isabelle Qian and Agnes Chang TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/nyregio New York State Convicted Him Now Hes a
2023-01-25   2023-01-26 n/weed-dispensary-licensed.html              Pot Entrepreneur                            By Ashley Southall               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/sports/g
2023-01-25   2023-01-26 olf/liv-pif-lawsuit-pga.html                 Another Shot Is Fired In PGAs Suit Over LIV By Alan Blinder                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/arts/des After a Curator Was Fired She Found
2023-01-25   2023-01-26 ign/helen-molesworth-curator.html            Freedom                                     By Robin Pogrebin                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/arts/mu
2023-01-25   2023-01-26 sic/monica-bellucci-maria-callas.html        Reviving The Aura Of a Diva                 By Elisabeth Vincentelli         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/arts/tele A Detective Show That Time Travels From
2023-01-25   2023-01-26 vision/poker-face-review.html                the 1970s                                   By James Poniewozik              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/books/p
2023-01-25   2023-01-26 aul-la-farge-dead.html                       Paul La Farge 52 Inventive Novelist         By Neil Genzlinger               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/books/s                                               By Alexandra Alter and Elizabeth
2023-01-25   2023-01-26 alman-rushdie-recovery-new-book.html         Words Are The Only Victors                  A Harris                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/busines Natural Gas Shortages and a Difficult Winter
2023-01-25   2023-01-26 s/china-natural-gas-shortages.html           Create a Perfect Storm for China            By Keith Bradsher                TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/25/busines
2023-01-25   2023-01-26 s/economy/california-fast-food-workers.html California FastFood Law Will Go to Voters   By Kurtis Lee                   TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/25/busines A New Era of Trade Wars Looms As Nations
2023-01-25   2023-01-26 s/economy/climate-change-global-trade.html Fight Climate Change                        By Ana Swanson                   TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/25/busines Times Seeks Documents In Suit Against Fox
2023-01-25   2023-01-26 s/media/times-fox-news-dominion.html        News                                       By Jeremy W Peters               TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/25/busines Despite Teslas Incredibly Challenging Year
2023-01-25   2023-01-26 s/tesla-earnings-fourth-quarter-2022.html   Carmakers Profit Rose 12 in Fourth Quarter By Jack Ewing                    TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/25/climate US Reinstates Ban on Roads and Logging in
2023-01-25   2023-01-26 /alaska-tongass-national-forest.html        Alaskas Tongass Forest                     By Lisa Friedman                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/25/health/a
2023-01-25   2023-01-26 bortion-pills-ban-genbiopro.html            Lawsuit Challenges State Abortion Pill Ban By Pam Belluck                   TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/25/nyregio Santos Replaces Treasurer But Mystery
2023-01-25   2023-01-26 n/george-santos-treasurer.html              Clouds the Move                            By Michael Gold                  TX 9-271-977     2023-03-01



                                                                                Page 4780 of 5793
                        https://www.nytimes.com/2023/01/25/nyregio New Grand Central Stop For LIRR
2023-01-25   2023-01-26 n/lirr-grand-central.html                    Commuters                                    By Ana Ley and Wesley Parnell     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/nyregio
2023-01-25   2023-01-26 n/santos-baruch-volleyball.html              The Real Team at the Center of a Santos Tale By Billy Witz and Corey Kilgannon TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/opinion Alec Baldwin Didnt Have to Talk to the
2023-01-25   2023-01-26 /alec-baldwin-rust-5th-amendment.html        Police Neither Do You                        By Farhad Manjoo                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/opinion
2023-01-25   2023-01-26 /harry-meghan-tabloids.html                  Prince Harry Is Right                        By Zeynep Tufekci                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/sports/b
                        asketball/new-york-knicks-cleveland-         Far From a Superteam The Knicks Embrace
2023-01-25   2023-01-26 cavaliers.html                               A Quiet Competence                           By Tania Ganguli                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/sports/g Hes Still No 1 But Hes Swinging Out of the
2023-01-25   2023-01-26 olf/mcilroy-dubai-pga-liv.html               Rough                                        By Alan Blinder                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/sports/j- J Richard Steadman 85 Orthopedic Surgeon
2023-01-25   2023-01-26 richard-steadman-dead.html                   Saved Scores of Athletic Careers             By Clay Risen                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/sports/t
                        ennis/paul-australian-open-shelton-          American Men Are on the Rise and Feeding
2023-01-25   2023-01-26 djokovic.html                                Off One Anothers Successes                   By Christopher Clarey             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/style/m
2023-01-25   2023-01-26 aneskin-band-style-grammys.html              Taking Chances With Their Look               By Vanessa Friedman               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/technol
                        ogy/trump-facebook-instagram-accounts-       Meta to Lift Suspension Of Trump On
2023-01-25   2023-01-26 meta.html                                    Platforms                                    By Sheera Frenkel and Mike Isaac TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/25/theater/
2023-01-25   2023-01-26 modern-swimwear-review.html                  One Last Night Before Youre Gone             By Juan A Ramrez                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/us/alex- New Evidence Revealed as Legal Scions         By Nicholas BogelBurroughs and
2023-01-25   2023-01-26 murdaugh-murder-trial.html                   Murder Trial Begins                          Jacey Fortin                      TX 9-271-977   2023-03-01
                                                                                                                  By David W Chen Tim Arango
                        https://www.nytimes.com/2023/01/25/us/calif Immigrants in Anguish Over Bay Area           Edgar Sandoval and Soumya
2023-01-25   2023-01-26 ornia-shooting-half-moon-bay.html            Massacre I Cant Understand So Much Hate Karlamangla                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/us/egg- New Contraband Is Being Seized At the
2023-01-25   2023-01-26 smuggling-mexico.html                        USMexico Border Eggs                         By Amanda Holpuch                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/us/jame James G Lowenstein 95 Dies Laid Bare
2023-01-25   2023-01-26 s-g-lowenstein-dead.html                     Nixons War Strategy                          By Clay Risen                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/us/mass A Mass Shooting in California Targeted Four
2023-01-25   2023-01-26 shooting-goshen-california.html              Generations of One Family                    By Miriam Jordan                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/us/new
                        port-news-shooting-teacher-superintendent- Newport News School Ignored Warnings Boy
2023-01-25   2023-01-26 school-board.html                            6 Had Gun Lawyer Says                        By Paul Bibeau and Sarah Mervosh TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/25/us/polit Democrats Knock Biden Over Documents          By Zolan KannoYoungs Katie
2023-01-25   2023-01-26 ics/biden-democrats-documents.html           Case                                         Glueck and Annie Karni            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/us/polit Biden Leery of a Role In a Possible Plea Deal By Charlie Savage and Carol
2023-01-25   2023-01-26 ics/biden-guantanamo-sept-11-plea.html       With Five 911 Suspects                       Rosenberg                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/us/polit House Passes Bill to Study FAA Alert System
2023-01-25   2023-01-26 ics/faa-outage-legislation.html              Whose Outage Grounded Flights                By Mark Walker                    TX 9-271-977   2023-03-01



                                                                                Page 4781 of 5793
                        https://www.nytimes.com/2023/01/25/us/polit Louisiana Held Inmates Past Release Date
2023-01-25   2023-01-26 ics/justice-department-overdetention.html   Report Found                                   By Glenn Thrush                 TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/25/us/polit Proud Boys Views on Violence Take Center
2023-01-25   2023-01-26 ics/proud-boys-violence-jan-6.html          Stage at Jan 6 Trial of Five Members       By Alan Feuer and Zach Montague TX 9-271-977       2023-03-01
                        https://www.nytimes.com/2023/01/25/us/polit GOP State Lawmakers Push a Growing Wave
2023-01-25   2023-01-26 ics/transgender-laws-republicans.html       of AntiTransgender Bills                   By Maggie Astor                 TX 9-271-977       2023-03-01
                        https://www.nytimes.com/2023/01/25/us/polit Trump Has Finally Started to Text And Some By Jonathan Swan and Maggie
2023-01-25   2023-01-26 ics/trump-texting.html                      of His Associates Are O                    Haberman                        TX 9-271-977       2023-03-01
                        https://www.nytimes.com/2023/01/25/us/polit
2023-01-25   2023-01-26 ics/wisconsin-supreme-court-election.html   Judicial Race May Alter Tilt Of Wisconsin  By Reid J Epstein               TX 9-271-977       2023-03-01

                        https://www.nytimes.com/2023/01/25/us/shoo                                             By Julie Bosman Mitch Smith Eliza
2023-01-25   2023-01-26 tings-guns-bystanders-civilians.html       Hero Citizens Risking Lives In Line of Fire Fawcett and Serge F Kovaleski     TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/25/world/a Frances Troops Soon to Leave Burkina Faso By Ruth Maclean Elian Peltier and
2023-01-25   2023-01-26 frica/france-military-burkina-faso.html    A Former Ally                               Eric Schmitt                      TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/25/world/a Key Figure In Opposition Goes Back To
2023-01-25   2023-01-26 frica/tanzania-tundu-lissu-returns-exile.html Tanzania                                     By Abdi Latif Dahir             TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/25/world/a As India Tries to Block a BBC Documentary
2023-01-25   2023-01-26 sia/india-bbc-modi-documentary.html        on Modi Students Fight to See It                By Sameer Yasir                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/world/e Next Task for the West Getting the Tanks        By Lara Jakes and Thomas
2023-01-25   2023-01-26 urope/battle-tanks-ukraine.html            There                                           GibbonsNeff                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/world/e Being Homosexual Is Not a Crime Pope
2023-01-25   2023-01-26 urope/pope-francis-homosexuality.html      Francis Declares                                By Elisabetta Povoledo          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/world/e Spanish Police Make Arrest In Letter Bomb
2023-01-25   2023-01-26 urope/spain-arrest-letter-bombs.html       Campaign                                        By Euan Ward and Jos Bautista   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/world/e Soaring Prices in Britain Leave Children
2023-01-25   2023-01-26 urope/uk-cost-of-living-children.html      Hungry                                          By Emma Bubola                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/world/e                                                 By Matthew Mpoke Bigg and
2023-01-25   2023-01-26 urope/ukraine-soledar-retreat.html         After Battling for Soledar Ukrainians Retreat   Michael Schwirtz                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/nyregio Adams Will Detail Plan To Expand                By Dana Rubinstein and Emma G
2023-01-26   2023-01-26 n/composting-garbage-nyc.html              Composting Across the Whole City                Fitzsimmons                     TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/25/us/polit Pledging Tanks Biden Paved Way To Fortify By David E Sanger Eric Schmitt
2023-01-26   2023-01-26 ics/biden-abrams-tanks-ukraine-russia.html Kyiv                                           and Helene Cooper                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/us/polit
2023-01-26   2023-01-26 ics/biden-immigration-border.html           Drop in Illegal Crossings After Border Limits By Eileen Sullivan               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/us/polit Record 16 Million Sign Up For Affordable
2023-01-26   2023-01-26 ics/obamacare-enrollment.html               Care Plans                                    By Margot SangerKatz             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/world/e Tank Deal Pulls US and Germany Out of a        By Erika Solomon Peter Baker and
2023-01-26   2023-01-26 urope/ukraine-tanks.html                    Diplomatic Quagmire                           Eric Nagourney                   TX 9-271-977   2023-03-01




                                                                                 Page 4782 of 5793
                        https://www.nytimes.com/2023/01/26/insider/
2023-01-26   2023-01-26 a-new-series-in-service-of-our-ancestors.html A New Series In Service of Our Ancestors By Emmett Lindner                TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/26/style/he
2023-01-26   2023-01-26 art-accessories.html                          The Heart Motif Will Go On               By Marisa Meltzer                TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/26/world/e Erdogan Spends to Win Ahead of a Crucial
2023-01-26   2023-01-26 urope/turkey-erdogan-elections.html           Vote                                     By Ben Hubbard                   TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/20/sports/g Gerrie Coetzee 67 South African Boxer and
2023-01-20   2023-01-27 errie-coetzee-dead.html                       SoftSpoken Opponent of Apartheid         By Alex Traub                    TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/22/movies/
2023-01-22   2023-01-27 the-wandering-earth-ii-review.html            The Wandering Earth II                   By Brandon Yu                    TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/books/e
2023-01-23   2023-01-27 lin-hilderbrand-bucket-list-weekend.html      Where Its Always Summer Even in January By Elisabeth Egan                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/23/dining/ Eileen YinFei Lo 85 Who Taught America to
2023-01-23   2023-01-27 eileen-yin-fei-lo-dead.html                   Cook Chinese Food Dies                   By Priya Krishna                 TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/24/opinion Afghans I Trained Are Fighting for Putin in
2023-01-24   2023-01-27 /afghanistan-ukraine-putin-special-forces.html Ukraine                                 By Thomas Kasza                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/world/e
                        urope/wagner-group-cemetery-russia-            A Cemetery in Russia for Mercenaries Is By Christiaan Triebert and Dmitriy
2023-01-25   2023-01-27 ukraine.html                                   Rapidly Expanding                       Khavin                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/arts/car
2023-01-25   2023-01-27 l-goodman-museum-moving-image.html             Leader Exits Museum of the Moving Image By Kalia Richardson                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/arts/tele
2023-01-25   2023-01-27 vision/rick-and-morty-justin-roiland.html      Voice of Rick and Morty Is Fired        By Maya Salam                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/movies/
2023-01-25   2023-01-27 geographies-of-solitude-review.html            Geographies Of Solitude                 By Ben Kenigsberg                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/technol
                        ogy/personaltech/email-address-digital-
2023-01-25   2023-01-27 tracking.html                                  Are You Oversharing Your Email          By Brian X Chen                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/us/alab Farmer Secretly Helped Neighbors Buy
2023-01-25   2023-01-27 ama-pharmacy-donor.html                        Medicine For More Than a Decade         By Emily Schmall                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/world/e
                        urope/ukraine-british-volunteers-parry-        Two Britons Went Off to the Front Lines
2023-01-25   2023-01-27 bagshaw.html                                   Neither Came Back                       By Anushka Patil                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/arts/des Forgotten History Uncovered From the Texas
2023-01-26   2023-01-27 ign/chinese-railroad-workers-texas.html        Dust                                    By Zachary Small                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/arts/joa Magical Thinking on 5th Ave Library
2023-01-26   2023-01-27 n-didion-archive-nypl.html                     Acquires Didion Archive                 By Jennifer Schuessler             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/arts/mu Young but Old Enough to Command Carnegie
2023-01-26   2023-01-27 sic/review-mao-fujita-carnegie-debut.html      Hall                                    By Oussama Zahr                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/arts/mu
2023-01-26   2023-01-27 sic/sam-smith-gloria-review.html               SelfAcceptance And Catharsis            By Lindsay Zoladz                  TX 9-271-977   2023-03-01




                                                                               Page 4783 of 5793
                        https://www.nytimes.com/2023/01/26/arts/mu
                        sic/yuja-wang-rachmaninoff-carnegie-       Climbing A Musical Everest One Note At a
2023-01-26   2023-01-27 hall.html                                  Time                                        By Javier C Hernndez             TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/26/arts/tele
2023-01-26   2023-01-27 vision/baby-sitters-club-under-the-vines.html This weekend I have                      By Margaret Lyons                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/arts/tele Lance Kerwin 62 Child Star of James at 15
2023-01-26   2023-01-27 vision/lance-kerwin-dead.html                 and Vampire Hunter in Salems Lot         By Johnny Diaz                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/arts/tele Emotional Excesses That Are Hard to Laugh
2023-01-26   2023-01-27 vision/shrinking-review.html                  Off                                      By Mike Hale                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/busines Hiring Spree By Chipotle As Busy Time
2023-01-26   2023-01-27 s/chipotle-hiring-burrito-season.html         Approaches                               By Isabella Simonetti            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/busines After Rebound Uncertain Road For US
2023-01-26   2023-01-27 s/economy/gdp-q4-economy.html                 Growth                                   By Ben Casselman                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/busines Lloyd Morrisett 93 Dies Doctor Who Asked if
2023-01-26   2023-01-27 s/media/lloyd-morrisett-dead.html             TV Could Educate Children                By Richard Sandomir              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/busines
2023-01-26   2023-01-27 s/retail-jobs-layoffs.html                    Cutting Jobs Retail Braces For a Slump   By Jordyn Holman                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/busines
                        s/southwest-airlines-fourth-quarter-          Southwest Says Cost Of Holiday Meltdown
2023-01-26   2023-01-27 earnings.html                                 Will Exceed 1 Billion                    By Niraj Chokshi                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/busines Toyota Will Make a Change at the Top as a
2023-01-26   2023-01-27 s/toyota-ceo-toyoda.html                      Toyoda Prepares to Step Aside            By Ben Dooley                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/climate Biden Sets Mining Ban In Boundary Waters
2023-01-26   2023-01-27 /mining-ban-boundary-waters-copper.html       Area                                     By Lisa Friedman                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/health/ How Do Heavy Metals Like Lead Get in Baby
2023-01-26   2023-01-27 baby-food-metals-lead.html                    Food                                     By Christina Jewett              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/health/c Covid Shots Targeting Omicron Should Be    By Benjamin Mueller and Sharon
2023-01-26   2023-01-27 ovid-vaccines-boosters.html                   Standard Experts Tell FDA                LaFraniere                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/movies/
2023-01-26   2023-01-27 cairo-conspiracy-review.html                  Cairo Conspiracy                         By Glenn Kenny                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/movies/
2023-01-26   2023-01-27 close-review-lukas-dhont.html                 Boyhood Bonds Tested by Adolescence      By AO Scott                      TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/26/movies/
2023-01-26   2023-01-27 filmmakers-for-the-prosecution-review.html Filmmakers For the Prosecution              By Nicolas Rapold                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/movies/
2023-01-26   2023-01-27 infinity-pool-review.html                  The Pain the Pain A Darker Fantasy Island   By Jeannette Catsoulis           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/movies/
2023-01-26   2023-01-27 kompromat-review.html                      Kompromat                                   By Teo Bugbee                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/movies/
2023-01-26   2023-01-27 life-upside-down-review.html               Life Upside Down                            By Amy Nicholson                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/movies/
2023-01-26   2023-01-27 maybe-i-do-review.html                     Maybe I Do                                  By Glenn Kenny                   TX 9-271-977   2023-03-01




                                                                                Page 4784 of 5793
                        https://www.nytimes.com/2023/01/26/movies/
2023-01-26   2023-01-27 nostalgia-review.html                      Nostalgia                                   By Teo Bugbee                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/movies/
2023-01-26   2023-01-27 remember-this-review.html                  Remember This                               By Claire Shaffer               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/movies/
2023-01-26   2023-01-27 shotgun-wedding-review.html                Shotgun Wedding                             By Calum Marsh                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/movies/
2023-01-26   2023-01-27 the-man-in-the-basement-review.html        The Man In the Basement                     By Beatrice Loayza              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/movies/
2023-01-26   2023-01-27 the-mission-review.html                    The Mission                                 By Natalia Winkelman            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/movies/
2023-01-26   2023-01-27 you-people-review.html                     Well Kids Your Plans Are Fine In Theory     By Lisa Kennedy                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/nyregio Cleric Is Convicted in New York of
2023-01-26   2023-01-27 n/faisal-isis-supporter-convicted.html     Supporting ISIS While in Jamaica            By Colin Moynihan               TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/26/nyregio At a Floyd Protest in Brooklyn 2 Lawyers      By Hurubie Meko and Rebecca
2023-01-26   2023-01-27 n/lawyers-sentenced-molotov-police-car.html Destroyed a Police Car and Their Careers     Davis OBrien                  TX 9-271-977   2023-03-01
                                                                    After First Year Shaped by Crisis Mayor
                        https://www.nytimes.com/2023/01/26/nyregio Plans To Focus on Helping New Yorks           By Emma G Fitzsimmons and
2023-01-26   2023-01-27 n/mayor-adams-state-city.html               Working Class                                Jeffery C Mays                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/nyregio
                        n/saipov-convicted-bike-path-truck-         Man Who Turned Truck Into Weapon Killing By Benjamin Weiser and Lola
2023-01-26   2023-01-27 attack.html                                 8 on Bike Path Is Convicted                  Fadulu                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/opinion
                        /aap-obesity-guidelines-bmi-wegovy-         The New Obesity Advice for Kids Terrifies
2023-01-26   2023-01-27 ozempic.html                                Me                                           By Virginia SoleSmith         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/opinion
2023-01-26   2023-01-27 /mayor-recall-new-orleans.html              The Beleaguered Queen of New Orleans         By Charles M Blow             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/opinion Can Anything Be Done to Assuage Rural
2023-01-26   2023-01-27 /rural-voters-economy.html                  Rage                                         By Paul Krugman               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/sports/c Banner Day in India Five Womens Teams Sell
2023-01-26   2023-01-27 ricket/womens-cricket-india.html            for 570 Million                              By Mike Jakeman               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/sports/s
                        occer/us-soccer-berhalter-stewart-          Two Top Officials Step Away From the
2023-01-26   2023-01-27 mcbride.html                                Already Reeling US Mens Team                 By Andrew Keh                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/sports/t They Have Their Fathers Serve And Have
2023-01-26   2023-01-27 ennis/australian-open-nepo-babies.html      Their Mothers Volley                         By Matthew Futterman          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/sports/t
                        ennis/australian-open-sabalenka-            The Womens Final Is Set and It Will Not Be a
2023-01-26   2023-01-27 rybakina.html                               Study in Contrasts                           By Christopher Clarey         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/sports/t
                        ennis/womens-final-australian-open-ukraine- Global Tensions Creep Their Way Back in the
2023-01-26   2023-01-27 war.html                                    Game                                         By Matthew Futterman          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/technol
2023-01-26   2023-01-27 ogy/ai-masters-degree-texas.html            University of Texas Plans Online AI Degree By Natasha Singer               TX 9-271-977   2023-03-01



                                                                               Page 4785 of 5793
                        https://www.nytimes.com/2023/01/26/technol
                        ogy/federal-court-blocks-california-medical- Court Blocks California Law That Could
2023-01-26   2023-01-27 misinformation-law.html                      Punish Doctors                            By Steven Lee Myers                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/technol                                             By Cecilia Kang Sapna
2023-01-26   2023-01-27 ogy/tiktok-bytedance-data-security.html      TikToks New Plan Speaking Out             Maheshwari and David McCabe         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/theater/ For 50 Years Finding Inspiration in the
2023-01-26   2023-01-27 ping-chong-retirement.html                   Surreal                                   By Laura CollinsHughes              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/theater/
2023-01-26   2023-01-27 without-you-review.html                      Tales of Love Loss and a Beloved Musical  By Elisabeth Vincentelli            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/us/crim Cities Data Show Decrease In Violent Crimes
2023-01-26   2023-01-27 e-data-2022.html                             in 2022                                   By Eliza Fawcett and Jacey Fortin   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/us/disn Splash Mountain Closes And Now the Rides
2023-01-26   2023-01-27 ey-splash-mountain-closes.html               Fans Are Selling the Water                By Remy Tumin                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/us/polit Schiff Joins Senate Race For Seat Held By
2023-01-26   2023-01-27 ics/adam-schiff-senate-california.html       Feinstein                                 By Reid J Epstein and Neil Vigdor   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/us/polit With Eye on 2024 Biden Slams GOP on
2023-01-26   2023-01-27 ics/biden-economy.html                       Economy                                   By Jim Tankersley                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/26/us/polit Democratic Lawmakers Urge Biden to Alter
2023-01-26   2023-01-27 ics/democrats-biden-border-immigration.html Asylum Policy                              By Eileen Sullivan             TX 9-271-977        2023-03-01
                        https://www.nytimes.com/2023/01/26/us/polit The Long Futile Search Into the Russia     By Charlie Savage Adam Goldman
2023-01-26   2023-01-27 ics/durham-trump-russia-barr.html           Inquiry                                    and Katie Benner               TX 9-271-977        2023-03-01
                        https://www.nytimes.com/2023/01/26/us/polit US Copter Raid Kills an ISIS Leader in
2023-01-26   2023-01-27 ics/isis-leader-us-somalia-raid.html        Somalia                                    By Eric Schmitt and Helene Cooper TX 9-271-977     2023-03-01

                        https://www.nytimes.com/2023/01/26/us/polit Justice Dept Shuts Down A Major
2023-01-26   2023-01-27 ics/justice-department-ransomware-hive.html Ransomware Group                            By Linda Qiu                      TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/26/us/polit
2023-01-26   2023-01-27 ics/rnc-trump-2024-election.html            Trump in 24 GOP Leaders Arent So Sure       By Reid J Epstein and Lisa Lerer TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/26/us/tyre- Officers Charged In Heinous Death Of Man
2023-01-26   2023-01-27 nichols-memphis-police.html                 In Memphis                                  By Rick Rojas and Jessica Jaglois TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/26/us/ukra With Pierogies Borscht and Artillery Shells
2023-01-26   2023-01-27 ine-church-war-scranton.html                Scranton Sends Aid to Ukrainian Soldiers    By John Ismay and Natalie Keyssar TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/26/world/a To Curb Protest Beijing Blames Foreign
2023-01-26   2023-01-27 sia/china-protests-arrests.html             Actors                                      By Vivian Wang and Zixu Wang TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/26/world/a North Korea Locks Down Its Capital for Five
2023-01-26   2023-01-27 sia/north-korea-pyongyang-lockdown.html     Days to Fight Flu and Other Illnesses       By Choe SangHun                   TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/26/world/e In Europe War Accelerates the Shift of Power
2023-01-26   2023-01-27 urope/eu-nato-power-ukraine-war.html        Toward the East                             By Steven Erlanger                TX 9-271-977    2023-03-01

                        https://www.nytimes.com/2023/01/26/world/e Battered Odesa Becomes New World Heritage
2023-01-26   2023-01-27 urope/odesa-unesco-world-heritage-site.html Site                                      By Lauren McCarthy                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/world/e
                        urope/roman-road-appian-way-beginning-      After a Dig a Road From Ancient Rome Will
2023-01-26   2023-01-27 italy.html                                  Remain a Mystery                          By Elisabetta Povoledo               TX 9-271-977   2023-03-01



                                                                                Page 4786 of 5793
                        https://www.nytimes.com/2023/01/26/world/e
                        urope/uk-asylum-seekers-children-           Children Seeking Asylum Are Missing from
2023-01-26   2023-01-27 missing.html                                the UK                                      By Megan Specia                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/world/
                        middleeast/israel-raid-west-bank-           Israeli Troops Kill Several Palestinians in By Raja Abdulrahim and Hiba
2023-01-26   2023-01-27 palestinians.html                           West Bank Raid                              Yazbek                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/world/u UN Official Is Removed As Scandal Shakes By Farnaz Fassihi and David A
2023-01-26   2023-01-27 n-investment-scandal.html                   Trust                                       Fahrenthold                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/us/alex- Legal Scion Quickly Offered Police a Theory
2023-01-27   2023-01-27 murdaugh-murder-trial.html                  for 2 Murders                               By Nicholas BogelBurroughs        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/us/half- California Worker Recalls Chilling RunIn    By David W Chen and Irene
2023-01-27   2023-01-27 moon-bay-shooting-concord-farms.html        With Killer                                 Benedicto                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/us/polit
                        ics/presidents-classified-files-national-   Archives Asks ExLeaders To Pore Over Their
2023-01-27   2023-01-27 archives.html                               Files                                       By Glenn Thrush and Peter Baker   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/world/e Strikes Kill 12 in Ukraine as Russia Again   By Michael Schwirtz and Alan
2023-01-27   2023-01-27 urope/russia-ukraine-missile-strikes.html   Tries to Pull Plug on Electricity           Yuhas                             TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/27/insider/
2023-01-27   2023-01-27 to-talk-about-money-hold-the-judgment.html To Talk About Money Hold the Judgment       By Isabella Simonetti              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/world/e
                        urope/uk-scotland-gender-bill-              UK Veto of Scottish Gender Bill Heightens
2023-01-27   2023-01-27 independence.html                           Tension                                    By Stephen Castle                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/17/travel/p
2023-01-17   2023-01-28 alestinian-food-jerusalem-old-city.html     Good Luck Finding These Treats on a Map    By Reem Kassis                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/article/best-soup-
2023-01-23   2023-01-28 recipes.html                                Cooking                                    By Krysten Chambrot                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/arts/des
                        ign/discrimination-sculpture-madison-park-
2023-01-25   2023-01-28 sikander-women.html                         To Expand Justice Revamp The Lineup        By Dan Bilefsky                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/arts/des
2023-01-25   2023-01-28 ign/resistance-museum-amsterdam.html        With Nazis Involved Nuance Is Problematic By Nina Siegal                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/opinion
2023-01-25   2023-01-28 /2023-debt-ceiling.html                     The Answer to Americas Debt Problem        By Binyamin Appelbaum              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/busines Sundance Once a Hotbed for Film Deals Tries
2023-01-26   2023-01-28 s/media/sundance-film-business.html         to Find Its Footing                        By Nicole Sperling                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/opinion A Brexit Policy in Northern Ireland Becomes
2023-01-26   2023-01-28 /northern-ireland-protocol-eu.html          a Headache for Britain                     By Christopher Caldwell            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/sports/g He Was Golfs Next Big Thing Why Did He
2023-01-26   2023-01-28 olf/anthony-kim-tiger-woods.html            Just Walk Away                             By Andrew Keh                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/theater/
2023-01-26   2023-01-28 memorial-review-play-livian-yeh.html        A Quiet Monument                           By Naveen Kumar                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/us/tyre-
2023-01-26   2023-01-28 nichols-timeline.html                       How the Case Has Unfolded                  By Anushka Patil                   TX 9-271-977   2023-03-01




                                                                                Page 4787 of 5793
                        https://www.nytimes.com/2023/01/27/arts/dan
                        ce/review-justin-peck-copland-dance-
2023-01-27   2023-01-28 episodes.html                               An American Spirit Yearning to Be Free       By Gia Kourlas                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/busines Indian Tycoons Company Plunges After
2023-01-27   2023-01-28 s/adani-group-shares.html                   Fraud Claim                                  By Alex Travelli                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/27/busines Data Reveals A Slowdown Of Inflation In      By Ben Casselman and Jeanna
2023-01-27   2023-01-28 s/economy/consumer-spending-december.html December                                      Smialek                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/busines
2023-01-27   2023-01-28 s/energy-environment/china-energy.html     Chinas Oil and Gas Use Fell in 2022 a Rarity By Clifford Krauss                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/busines
                        s/energy-environment/copper-mine-          The Fight for a Green Future Is Being Waged By Clifford Krauss and Tamir
2023-01-27   2023-01-28 arizona.html                               on Holy Ground                               Kalifa                              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/climate                                              By Christopher Flavelle and Mira
2023-01-27   2023-01-28 /colorado-river-biden-cuts.html            US Is Set to Carve Up Colorado Rivers Water Rojanasakul                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/health/ Childhood Obesity Surge Spurs Call for Early
2023-01-27   2023-01-28 obesity-children-guidelines.html           Help                                         By Gina Kolata                      TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/27/movies/
2023-01-27   2023-01-28 sundance-film-festival-standout-movies.html Where Trauma Is Always a Hot Ticket          By Manohla Dargis                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/movies/
                        sundance-winners-a-thousand-and-one-nikki- The Sundance Film Festival Announces
2023-01-27   2023-01-28 giovanni.html                               Winners                                      By Stephanie Goodman               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/nyregio Heavier Police Presence Sees Success as
2023-01-27   2023-01-28 n/crime-subway-police.html                  Crime Drops in New York Subways              By Ana Ley                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/nyregio The War Over Foie Gras In New York City
2023-01-27   2023-01-28 n/nyc-foie-gras-ban.html                    Rages On                                     By Kimiko de FreytasTamura         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/nyregio Yoshimitsu Yamada 84 Instructor And
2023-01-27   2023-01-28 n/yoshimitsu-yamada-dead.html               Advocate of Aikido in the US                 By Clay Risen                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/opinion Women in South Korea Dont Want to Be
2023-01-27   2023-01-28 /south-korea-fertility-rate-feminism.html   BabyMaking Machines                          By Hawon Jung                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/science
                        /biosecurity-virus-pathogens-covid-lab-     Expert Panel Recommends Stricter Rules for   By Benjamin Mueller and Carl
2023-01-27   2023-01-28 leak.html                                   Research on Risky Viruses                    Zimmer                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/sports/s South Americas Biggest Championship Is
2023-01-27   2023-01-28 occer/copa-america-2024.html                Returning to the US Next Year                By Victor Mather and Tariq Panja   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/27/sports/t Djokovics Honeymoon With Melbourne Fans
2023-01-27   2023-01-28 ennis/djokovic-tsitsipas-australian-open.html Is Jostled by Politics                By Matthew Futterman                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/27/sports/t A Trailblazer From a Cricketing Nation Is
2023-01-27   2023-01-28 ennis/sania-mirza-india-australian-open.html Retiring After a Dazzling Doubles Career    By Christopher Clarey              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/technol
2023-01-27   2023-01-28 ogy/anthropic-ai-funding.html                Valuation Of AI Firm Is Nearing 5 Billion   By Erin Griffith and Cade Metz     TX 9-271-977   2023-03-01




                                                                                 Page 4788 of 5793
                        https://www.nytimes.com/2023/01/27/technol
2023-01-27   2023-01-28 ogy/trump-truth-social-ads.html                 Ads Fueling Truth Social Junk Scams        By Stuart A Thompson             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/theater/ Everett Quinton Protean Performer in
2023-01-27   2023-01-28 everett-quinton-dead.html                       Downtown Theater Is Dead at 71             By Neil Genzlinger               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/theater/
2023-01-27   2023-01-28 the-smuggler-review.html                        Rhythm and Rhyme Stumble Into the Bar      By Maya Phillips                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/us/polit
                        ics-republicans-democrats-state-                National Politics Stoke Smoldering Local
2023-01-27   2023-01-28 legislature.html                                Rivalries                                  By Michael Wines                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/us/polit
                        ics/brian-sicknick-julian-khater-george-tanios- Two Rioters Sentenced One Sprayed Fallen
2023-01-27   2023-01-28 jan-6.html                                      Officer                                    By Alan Feuer and Zach Montague TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/27/us/polit
                        ics/classified-info-congress-pence-trump-       In Congress Shock and Dismay Over Papers
2023-01-27   2023-01-28 biden.html                                      Mishandling                                By Carl Hulse                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/27/us/polit Cities Jockey to Be the Place the Democratic
2023-01-27   2023-01-28 ics/dnc-convention-cities-2024-biden.html   Party Needs for the 2024 Convention          By Katie Glueck and Maya King      TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/27/us/polit Bidens New Chief of Staff Is Entering a
2023-01-27   2023-01-28 ics/jeff-zients-white-house-chief-of-staff.html White House Brimming With Klainiacs        By Katie Rogers                  TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/27/us/polit Justice Department Says It Charged Three       By Benjamin Weiser and Glenn
2023-01-27   2023-01-28 ics/masih-alinejad-doj-assassination-plot.html Men in Plot to Kill Activist in Brooklyn    Thrush                           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/us/polit
                        ics/national-archives-bush-classified-         Archives Has A Weak Spot All It Can Do Is
2023-01-27   2023-01-28 documents.html                                 Say Please                                  By Michael D Shear               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/us/polit Intruder in Pelosis Home Quickly Grew
2023-01-27   2023-01-28 ics/paul-pelosi-attack-video.html              Violent                                     By Annie Karni and Tim Arango    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/27/us/polit McDaniel Reelected As Head of the RNC        By Lisa Lerer and Jonathan
2023-01-27   2023-01-28 ics/rnc-ronna-mcdaniel-harmeet-dhillon.html After a Heated Race                          Weisman                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/us/polit Tanks Alone Wont Turn The Tide in Kyivs By Julian E Barnes and Eric
2023-01-27   2023-01-28 ics/tanks-ukraine.html                      Favor                                        Schmitt                            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/us/polit                                              By Michael Crowley and Edward
2023-01-27   2023-01-28 ics/ukraine-corruption-scandal.html         Show of Faith As Kyiv Fights To Stifle Graft Wong                               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/us/tyre-
2023-01-27   2023-01-28 nichols-memphis-sacramento.html             A Chill Man Trying to Cut His Path           By Richard Fausset                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/world/a lvaro Colom 71 Guatemalan President And
2023-01-27   2023-01-28 mericas/alvaro-colom-dead.html              Ardent Champion of Native Peoples            By Elisabeth Malkin                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/world/a
                        mericas/mc-millaray-chile-mapuche-          A Teenage Rapper Demands Indigenous
2023-01-27   2023-01-28 rapper.html                                 Rights in Chile                              By John Bartlett and Toms Munita   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/world/a
2023-01-27   2023-01-28 mericas/peru-protests-lima.html             Peruvians Take Fight To Leaders In Capital By Mitra Taj and Marco Garro         TX 9-271-977   2023-03-01



                                                                                  Page 4789 of 5793
                        https://www.nytimes.com/2023/01/27/world/a Asias Frigid Month Is Courtesy of the Polar
2023-01-27   2023-01-28 sia/asia-extreme-cold-weather.html              Vortex                                    By Mike Ives and John Yoon        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/world/a New Zealands Largest City Is Hit With
2023-01-27   2023-01-28 sia/auckland-new-zealand-rain-floods.html       Deluge of Rain                            By Natasha Frost                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/world/e In Stylebook the French Are Lumped Into
2023-01-27   2023-01-28 urope/ap-stylebook-the-french.html              Odd Company                               By Roger Cohen                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/world/e Eurostar Service Disrupted By Border Brexit
2023-01-27   2023-01-28 urope/eurostar-brexit-passport-delay.html       Created                                   By Emma Bubola                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/world/e
2023-01-27   2023-01-28 urope/russia-ukraine-time-zones.html            Annexed Area Will Soon Use Moscow Time By Ivan Nechepurenko                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/world/ Shots Outside Synagogue Leave at Least 7 By Patrick Kingsley and Jonathan
2023-01-27   2023-01-28 middleeast/jerusalem-attack-killed.html         People Dead in East Jerusalem             Rosen                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/live/2023/01/27/wo
                        rld/russia-ukraine-news/russian-shelling-kills-
                        eight-civilians-in-donetsk-province-in-eastern- Shelling Kills 8 Civilians And Hurts 9 In
2023-01-27   2023-01-28 ukraine                                         Donetsk                                   By Matthew Mpoke Bigg             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/sports/b Billy Packer Analyst With Keen Mind and
2023-01-28   2023-01-28 illy-packer-dead.html                           Pungent Style Dies at 82                  By Richard Sandomir               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/technol Prosecutors Seek Tighter Bail Terms for FTX By David YaffeBellany and
2023-01-28   2023-01-28 ogy/sam-bankman-fried-ftx-bail.html             Founder                                   Benjamin Weiser                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/us/mem Memphis Wasnt Perfect But It Backed Its         By Joseph Goldstein and Matthew
2023-01-28   2023-01-28 phis-police-department-officers.html            Police                                    Rosenberg                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/us/tyre- Held and Beaten by Memphis Police as He
2023-01-28   2023-01-28 nichols-video-memphis.html                      Cried Mom                                 By Rick Rojas                     TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/27/world/e
2023-01-28   2023-01-28 urope/russia-meduza-news-organizations.html The Kremlin Continues To Silence Dissenters By Alan Yuhas                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/nyregio FBI Officials Indictment Shows the Long
2023-01-28   2023-01-28 n/fb-indictment-mcgonigal-deripaska.html    Reach of a Russian Oligarch                 By Rebecca Davis OBrien             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/your-
                        money/mobile-payment-venmo-zelle-cash-      EasytoUse Mobile Payment Apps Are Easily
2023-01-28   2023-01-28 app.html                                    Misused                                     By Ann Carrns                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/05/books/d
2023-01-05   2023-01-29 eepti-kapoor-age-of-vice.html               Slumdog Bodyguard                           By Dwight Garner                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/09/books/r
2023-01-09   2023-01-29 eview/the-bandit-queens-parini-shroff.html  Sisters Are Doing It for Themselves         By Chandler Baker                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/09/books/r A Life of Chastity Prayer and Endless
2023-01-09   2023-01-29 eview/the-wandering-mind-jamie-kreiner.html Distraction                                 By Jennifer Szalai                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/11/books/r
2023-01-11   2023-01-29 eview/ghost-at-the-feast-robert-kagan.html  Empire State                                By Thomas Meaney                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/13/books/r
2023-01-13   2023-01-29 eview/this-afterlife-a-e-stallings.html     An Artisan in Verse                         By David Orr                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/14/books/r
2023-01-14   2023-01-29 eview/bret-easton-ellis-the-shards.html     Picking Up the Pieces                       By Melissa Broder                   TX 9-271-977   2023-03-01



                                                                                Page 4790 of 5793
                        https://www.nytimes.com/2023/01/15/books/r
                        eview/master-slave-husband-wife-ilyon-
2023-01-15   2023-01-29 woo.html                                    Fleeing Slavery in a Top Hat and Cravat       By W Caleb McDaniel       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/books/r
2023-01-18   2023-01-29 eview/fight-of-his-life-chris-whipple.html  So Far So Good                                By John Gans              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/18/realesta On the Hudson and Undergoing a
2023-01-18   2023-01-29 te/coxsackie-ny-greene-county.html          Renaissance                                   By Karen Angel            TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/19/books/r Teaching Writing to Retirees Helped Ana
2023-01-19   2023-01-29 eview/the-house-in-the-pines-ana-reyes.html Reyes Stay Focused                            By Elisabeth Egan         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/arts/mu
2023-01-20   2023-01-29 sic/ice-spice-like.html                     Ice Spice Is Just Warming Up                  By Jon Caramanica         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/books/r
                        eview/aleksandar-hemon-the-world-and-all-
2023-01-21   2023-01-29 that-it-holds.html                          Love Is a Battlefield                         By Adam MarsJones         TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/21/books/r Essay Closing the Book on Promises to
2023-01-21   2023-01-29 eview/book-goals-new-year-resolution.html Myself                                          By Sadie Stein            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/21/style/ra
2023-01-21   2023-01-29 chel-comey-nyrb.html                         Literature and Fashion Together in Harmony   By Marie Solis            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/22/style/do
2023-01-22   2023-01-29 g-walkers-six-figures-100k-nyc.html          Big Money at the End of a Leash              By Alyson Krueger         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/arts/tele
                        vision/samuel-west-all-creatures-great-and-
2023-01-23   2023-01-29 small.html                                   Samuel West Collects Stamps and Scotch       By Chris Kornelis         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/books/r
2023-01-23   2023-01-29 eview/cobalt-red-siddharth-kara.html         Assault and Batteries                        By Matthieu Aikins        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/magazi We Gave Our Relatives a House Can We
2023-01-23   2023-01-29 ne/relatives-rent-ethics.html                Make Them Pay for the Upkeep                 By Kwame Anthony Appiah   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/opinion
2023-01-23   2023-01-29 /california-drought-flooding.html            Not Everyone in California Hates the Rain    By Mark Arax              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/ The Digital Workplace Is Designed to Bring
2023-01-23   2023-01-29 23/magazine/cal-newport-interview.html       You Down                                     By David Marchese         TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/24/arts/dan
2023-01-24   2023-01-29 ce/teaching-hip-hop-dance-rennie-harris.html Teaching the HipHop Teachers                 By Sophie Bress           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/arts/po
2023-01-24   2023-01-29 dcasts-career-work-advice.html               Tales of Excellence Worth Emulating          By Emma Dibdin            TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/24/books/r
2023-01-24   2023-01-29 eview/laurent-mauvignier-birthday-party.html Wound Up                                     By Martin Riker           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/books/r
2023-01-24   2023-01-29 eview/this-other-eden-paul-harding.html      Cast Out                                     By Danez Smith            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/magazi
2023-01-24   2023-01-29 ne/germany-military-army.html                The Eastern Front                            By James Angelos          TX 9-271-977   2023-03-01



                                                                                 Page 4791 of 5793
                        https://www.nytimes.com/2023/01/24/magazi
2023-01-24   2023-01-29 ne/jackson-galaxy-cat-video.html             Jackson Galaxy                             By Jeannie Vanasco     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/magazi
2023-01-24   2023-01-29 ne/ncaa-nba-student-athlete.html             Student Athlete Mogul                      By Bruce Schoenfeld    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/nyregio
2023-01-24   2023-01-29 n/waiting-in-line-new-york.html              Calculus of the Queue Whats Worth the Wait By Dodai Stewart       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/opinion
2023-01-24   2023-01-29 /desantis-florida-culture-w.html             Ron DeSantis Likes His Culture Wars        By Jamelle Bouie       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/opinion
2023-01-24   2023-01-29 /gun-death-health.html                       A Smarter Way to Reduce Gun Deaths         By Nicholas Kristof    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/realesta
2023-01-24   2023-01-29 te/chicago-house-parties-pandemic.html       Room for Fun Whatever the Age Range        By Tim McKeough        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/style/se
2023-01-24   2023-01-29 lfies-blind-spot-mirrors-gen-z.html          Gen Zs Distorted Sense of Selfie           By Callie Holtermann   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/arts/des
2023-01-25   2023-01-29 ign/myrlande-constant-haiti-vodou.html       Where Secular and Sacred Meet              By Siddhartha Mitter   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/arts/tele
2023-01-25   2023-01-29 vision/shrinking-jason-segel.html            Transforming Grief Into Comedy             By Alexis Soloski      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/busines Misery Loves Company but Youve Been
2023-01-25   2023-01-29 s/layoffs-remote-work.html                   Fired at Home                              By Emma Goldberg       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/insider/
2023-01-25   2023-01-29 new-york-lines.html                          A Reporter Between the Lines and in Them By Dodai Stewart         TX 9-271-977   2023-03-01

                                                                    Ginned Up A dash of spirits and a smattering
                        https://www.nytimes.com/2023/01/25/magazi of fried sage make these sauted chicken
2023-01-25   2023-01-29 ne/chicken-breast-recipe.html               breasts more than the usual weeknight dinner By Eric Kim           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/magazi
                        ne/the-waffle-house-brawl-belongs-in-a-
2023-01-25   2023-01-29 museum.html                                 Night Moves                                  By Niela Orr          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/realesta
                        te/home-prices-new-york-north-carolina-
2023-01-25   2023-01-29 texas.html                                                                        800000 By Angela Serratore   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/25/realesta
2023-01-25   2023-01-29 te/rent-burdened-american-households.html RenttoIncome Ratio Continues to Climb         By Anna Kod            TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/25/science Foundation Delivers Aid To Scientists In
2023-01-25   2023-01-29 /ukraine-scientists-simons-foundation.html  Ukraine                                     By William J Broad     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/style/m
2023-01-25   2023-01-29 ens-fashion-week-paris.html                 Bundling Up With a Purpose                  By Simbarashe Cha      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/style/pa
                        ris-haute-couture-fashion-week-lion-
2023-01-25   2023-01-29 dress.html                                  Discord in Coutures Wild Kingdom            By Vanessa Friedman    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/style/st
2023-01-25   2023-01-29 epchildren-wedding-plans.html               Feeling Excluded                            By Philip Galanes      TX 9-271-977   2023-03-01



                                                                                Page 4792 of 5793
                        https://www.nytimes.com/2023/01/25/world/a Myrtle Witbooi 75 a Labor Organizer For
2023-01-25   2023-01-29 frica/myrtle-witbooi-dead.html               Domestic Workers in South Africa            By Alan Cowell          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/ Poem I Am the Pace of My Body and Not
2023-01-25   2023-01-29 25/magazine/poem-adam-wolfond.html           Language                                    By Adam Wolfond         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/style/ta
2023-01-26   2023-01-29 ylor-swift-ticketmaster-hearing.html         Sampling Taylor Swift in a Senate Hearing   By Callie Holtermann    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/arts/mu
                        sic/will-liverman-the-factotum-lyric-opera-
2023-01-26   2023-01-29 chicago.html                                 Opera That Aims to Feel Authentic           By Joshua Barone        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/books/r
2023-01-26   2023-01-29 eview/new-romance-novels.html                SmallTown Affairs                           By Olivia Waite         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/magazi
2023-01-26   2023-01-29 ne/hospital-at-home.html                     The Hospital Makes a House Call             By Helen Ouyang         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/magazi
                        ne/judge-john-hodgman-on-calling-your-
2023-01-26   2023-01-29 mom.html                                     Bonus Advice From Judge John Hodgman        By John Hodgman         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/movies/
2023-01-26   2023-01-29 women-hollywood-optimism.html                At the Movies Womens Time Is Finally Here By Manohla Dargis         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/nyregio
2023-01-26   2023-01-29 n/brooklyn-banks-skateboarding-nyc.html      A Skateboarding Hubs Flip of Fate           By Winnie Hu            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/nyregio Of City Streets Sidewalks and a Changing
2023-01-26   2023-01-29 n/skateboarding-new-york-city.html           Sport                                       By Cole Louison         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/opinion
2023-01-26   2023-01-29 /american-dirt-book-publishing.html          The Long Shadow of American Dirt            By Pamela Paul          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/opinion
2023-01-26   2023-01-29 /north-carolina-governor-robinson.html       Whats Going On in North Carolina            By Frank Bruni          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/realesta
2023-01-26   2023-01-29 te/best-states-for-raising-a-family.html     Family Appeal State by State                By Michael Kolomatsky   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/sports/f
                        ootball/nfl-super-bowl-championship-         Heres the Big Question Which Side Will
2023-01-26   2023-01-29 picks.html                                   Cover                                       By David Hill           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/ Three Friends Pooled Their Finances and
                        26/realestate/queens-ridgewood-home-         Bought a Queens House Together Which One
2023-01-26   2023-01-29 buying.html                                  Did They Choose                             By Debra Kamin          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/arts/hol Shedding Light on LittleKnown Nazi Killing
2023-01-27   2023-01-29 ocaust-remembrance-day-latvia.html           Field                                       By Ralph Blumenthal     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/books/r
                        eview/knitting-sewing-weaving-picture-
2023-01-27   2023-01-29 books.html                                   The Threads That Bind Us                    By Peggy Orenstein      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/busines Why Investment Losses May Generate a Big
2023-01-27   2023-01-29 s/investments-markets-taxes.html             Tax Bill                                    By Jeff Sommer          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/busines
2023-01-27   2023-01-29 s/passive-income-job-retirement.html         Taking an Aggressive Look at Passive Income By Lisa Rabasca Roepe   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/fashion Brides Prosthesis Made Not to Blend In but to
2023-01-27   2023-01-29 /weddings/brides-prosthesis.html             Shine                                       By Paulette Perhach     TX 9-271-977   2023-03-01



                                                                               Page 4793 of 5793
                        https://www.nytimes.com/2023/01/27/health/ New Blood Donation Rules to Loosen            By Christina Jewett and Emily
2023-01-27   2023-01-29 blood-donation-gay-bisexual.html            Restrictions on Gay and Bisexual Men         Anthes                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/health/
2023-01-27   2023-01-29 pregnancy-maternity-women-deaths.html       Maternal Deaths Increased in Pandemic        By Roni Caryn Rabin             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/movies/
2023-01-27   2023-01-29 mia-hansen-love-one-fine-morning.html       That Vertigo of Mixing Life and Art          By Natalia Winkelman            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/nyregio The Grim Realities of Housing Play Out in a
2023-01-27   2023-01-29 n/south-street-seaport-250-water.html       Parking Lot                                  By Ginia Bellafante             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/realesta
                        te/broadway-actor-housing-rehearsal-
2023-01-27   2023-01-29 club.html                                   Where You Sing for Your Supper               By Joanne Kaufman               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/sports/f
                        ootball/kansas-city-afc-championship-game- Diminutive Back Plays Outsize Role for
2023-01-27   2023-01-29 jerick-mckinnon.html                        Kansas City                                  By Joe Drape                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/sports/s An English Stalwart Has Fallen And It Cant
2023-01-27   2023-01-29 occer/everton-moshiri.html                  Get Up                                       By Rory Smith                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/style/al
                        yssa-petersel-michael-landsberger-
2023-01-27   2023-01-29 wedding.html                                A Networking Event That Led to Romance       By Tammy La Gorce               TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/27/style/co When a Place of Pain Turns Into a Site of
2023-01-27   2023-01-29 urtney-archie-ashleigh-lewis-wedding.html   Celebration                                  By Alix Wall                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/27/style/m
2023-01-27   2023-01-29 odern-love-sex-worker-bdsm-real-name.html You Dont Get to Call Me by My Real Name By Chris Belcher                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/style/ra
2023-01-27   2023-01-29 chel-honig-grad-conn-wedding.html            On the Fifth Try a First Date to Remember  By Tammy La Gorce                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/style/ta
2023-01-27   2023-01-29 via-bonetti-friends-with-animals.html        Model Creates a Brand From the Outside In By Brady BricknerWood             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/style/vi
2023-01-27   2023-01-29 ctoria-senter-alexander-lass-wedding.html    Some Ghostly Quiet and Then a Bit of Magic By Sadiba Hasan                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/arts/alfr Alfred Leslie 95 Abstract Artist Who Went
2023-01-28   2023-01-29 ed-leslie-dead.html                          Back to Realism Dies                       By William Grimes                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/arts/geo George Zimbel Who Captured Enduring
2023-01-28   2023-01-29 rge-zimbel-dead.html                         Images Is Dead at 93                       By Richard Sandomir              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/opinion
2023-01-28   2023-01-29 /tyre-nichols-video.html                     Tyre Nicholss Death Is Americas Shame      By Charles M Blow                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/world/a At Least Three Dead as Flooding Disaster
2023-01-28   2023-01-29 sia/auckland-new-zealand-flooding.html       Strikes Auckland                           By Natasha Frost                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/arts/tele
                        vision/body-cam-video-tyre-nichols-          In Video a Responsibility to Look or Look
2023-01-28   2023-01-29 watch.html                                   Away                                       By AO Scott                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/busines A Judge Finds a New Job Defending a Prison
2023-01-28   2023-01-29 s/bone-valley-podcast-judge.html             Inmate                                     By David Segal                   TX 9-271-977   2023-03-01




                                                                                 Page 4794 of 5793
                        https://www.nytimes.com/2023/01/28/busines When Private Equity Started Playing In the   By Lydia DePillis and Michael
2023-01-28   2023-01-29 s/economy/little-gym-private-equity.html   Toddler Gym                                  Corkery                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/busines
                        s/economy/netherlands-japan-china-         Netherlands and Japan Said to Join US Chip
2023-01-28   2023-01-29 chips.html                                 Restrictions on China                        By Ana Swanson                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/busines Patent Manipulation Made Drug Company
2023-01-28   2023-01-29 s/humira-abbvie-monopoly.html              114 Billion                                  By Rebecca Robbins              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/nyregio
2023-01-28   2023-01-29 n/stephen-lang-avatar.html                 Avatar Villain Has a Wholesome Day           By Tammy La Gorce               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/opinion When the Victims And Suspects Are Asian
2023-01-28   2023-01-29 /asian-american-gun.html                   American                                     By Jeff Yang                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/opinion
2023-01-28   2023-01-29 /catholic-church-benedict-schism.html      The War Between the Cardinals                By Ross Douthat                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/opinion
2023-01-28   2023-01-29 /chatgpt-ai-technology.html                 Tomorrows AI Actively Insidious             By Maureen Dowd                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/opinion Make the Labor Market Work for More
2023-01-28   2023-01-29 /jobs-college-degree-requirement.html      Americans                                    By The Editorial Board          TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/28/realesta The Apartment Building Next Door Keeps
2023-01-28   2023-01-29 te/noise-complaints-building-next-door.html Waking Me What Can I Do                    By Anna Kod                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/sports/f
                        ootball/eagles-howie-roseman-               Thanks to Bold Executive Eagles Claw Back
2023-01-28   2023-01-29 philadelphia.html                           to the Top                                 By Kris Rhim                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/sports/f
                        ootball/kansas-city-chiefsaholic-wolf-      He Was a Superfan in a Wolf Costume Now
2023-01-28   2023-01-29 costume.html                                Hes Charged in a Bank Robbery              By Kevin Draper                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/sports/t
                        ennis/aryna-sabalenka-australian-open-      A Long Climb Ends in Whizzing Shots and
2023-01-28   2023-01-29 rybakina.html                               Speedy Rallies                             By Christopher Clarey            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/sports/t
                        ennis/sabalenka-rybakina-australian-        In a Major Clash of Sluggers Sabalenka
2023-01-28   2023-01-29 open.html                                   Finally Posts a Knockout                   By Matthew Futterman             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/us/polic
2023-01-28   2023-01-29 e-tyre-nichols-beating-race.html            Officers Race Turns Focus to System        By Clyde McGrady                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/us/polit To Fix Its Problems Russia Is Turning Back By Helene Cooper Julian E Barnes
2023-01-28   2023-01-29 ics/russia-generals-ukraine.html            To the Wars Architect                      and Eric Schmitt                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/us/polit In Third Campaign Trump Goes Small For the By Michael C Bender and MeiLing
2023-01-28   2023-01-29 ics/trump-campaign-events.html              First Time                                 McNamara                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/us/polit Trump Postings During His Ban Tilted Far   By Ken Bensinger and Maggie
2023-01-28   2023-01-29 ics/trump-social-media-extremism.html       Right                                      Haberman                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/us/scor Memphis Police Disband Special Unit After
2023-01-28   2023-01-29 pion-memphis-police-tyre-nichols.html       Death                                      By Rick Rojas                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/us/texa In Texas Oil Country an Unusual Threat
2023-01-28   2023-01-29 s-earthquakes-fracking.html                 Earthquakes                                By J David Goodman               TX 9-271-977   2023-03-01




                                                                               Page 4795 of 5793
                        https://www.nytimes.com/2023/01/28/us/tyre- For Police Body Cameras Break Old Code of By Mitch Smith Julie Bosman and
2023-01-28   2023-01-29 nichols-death-memphis-police.html           Silence                                   Chelsia Rose Marcius                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/us/tyre- Video of Memphis Officers Beating Man
2023-01-28   2023-01-29 nichols-video-reaction-protests.html        Elicits Widespread Horror                 By Rick Rojas                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/world/a Gin Boom With a Twist Young Distillers in
2023-01-28   2023-01-29 sia/india-goa-gin.html                      Goa Shake Up Old Attitudes                By Damien Cave                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/world/a Australians On Lookout For Disk Full Of
2023-01-28   2023-01-29 ustralia/australia-radioactive-capsule.html Radiation                                 By Yan Zhuang                         TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/28/world/e
2023-01-28   2023-01-29 urope/british-airline-flybe-bankruptcy.html Air Carrier In Britain Collapses A 2nd Time   By Euan Ward                      TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/28/world/e Czech Voters Elect Retired General as
2023-01-28   2023-01-29 urope/czech-election-results-pavel-babis.html President Rejecting Populist Rival           By Andrew Higgins                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/world/e In Kharkiv a Stillness That May Be              By Michael Schwirtz and Lynsey
2023-01-28   2023-01-29 urope/ukraine-kharkiv-russia.html             ShortLived                                   Addario                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/world/e Fight Over Supply Routes May Signal an          By Marc Santora and Michael
2023-01-28   2023-01-29 urope/ukraine-russia-war-bakhmut.html         Offensive                                    Schwirtz                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/world/
                        middleeast/israelis-palestinians-west-        As Violence Rages New Israeli Alliance Risks
2023-01-28   2023-01-29 bank.html                                     Fueling Even More of It                      By Patrick Kingsley              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/world/
                        middleeast/jerusalem-attack-israelis-         2 Israelis Shot in Jerusalem Day After Mass
2023-01-28   2023-01-29 palestinians.html                             Shooting                                     By Patrick Kingsley              TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/29/busines
2023-01-29   2023-01-29 s/the-week-in-business-creeping-layoffs.html The Week in Business Creeping Layoffs         By Marie Solis                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/nyregio
                        n/hochul-ethics-sexual-harassment-           Hochuls Plan for Training State Workers Falls
2023-01-29   2023-01-29 training.html                                Short                                         By Jay Root                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/realesta
                        te/marc-harrison-universal-design-home-
2023-01-29   2023-01-29 restoration.html                             Restoring a House for Every Body              By Penelope Green                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/us/abor Both Sides of Abortion Battle Zero In on State
2023-01-29   2023-01-29 tion-rights-state-constitutions.html         Constitutions                                 By Kate Zernike                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/us/russi A Daring Quest to Escape Russia by
2023-01-29   2023-01-29 an-asylum-boat-alaska.html                   Motorboat                                     By Mike Baker                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/busines What to Do When Quitting Your Job Doesnt
2023-01-23   2023-01-30 s/quitting-burnout-miserable-reasons.html    Cure Your Workplace Blues                     By Eilene Zimmerman              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/books/b
2023-01-26   2023-01-30 en-okri.html                                 Is America Now Ready To Embrace Ben Okri By Anderson Tepper                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/busines Fireball Maker Is Sued For Calling Drink
2023-01-26   2023-01-30 s/fireball-cinnamon-whisky-lawsuit.html      Whisky                                        By Amanda Holpuch                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/26/travel/r Help I Reserved a Rental Car But There Was
2023-01-26   2023-01-30 ental-car-missing.html                       No Car for Me                                 By Seth Kugel                    TX 9-271-977   2023-03-01



                                                                                 Page 4796 of 5793
                        https://www.nytimes.com/interactive/2023/01/ You Call That Snow See How This Winter
2023-01-26   2023-01-30 26/upshot/city-snowfall-totals.html          Stacks Up                                 By Francesca Paris            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/arts/mu Jerry Blavat Dies at 82 DJ Who Channeled
2023-01-27   2023-01-30 sic/jerry-blavat-dead.html                   Soul of Philadelphia                      By Alex Williams              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/busines
2023-01-27   2023-01-30 s/paradigm-startup-clinical-trials.html      A StartUp Simplifies Drug Trials          By Maureen Farrell            TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/27/opinion
2023-01-27   2023-01-30 /sunday/knitting-fabric-michelle-obama.html The Revolutionary Power of a Skein of Yarn By Peggy Orenstein            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/27/theater/ Obies to Honor Work Made During and After
2023-01-27   2023-01-30 obie-awards-off-broadway.html               Lockdown                                   By Michael Paulson            TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/27/world/e British Actor Returns Honor Over Toxicity of
2023-01-27   2023-01-30 urope/alan-cumming-obe-british-empire.html Empire                                       By Amanda Holpuch            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/arts/mu Tom Verlaine 73 Dies Influential Musician    By Gavin Edwards and Peter
2023-01-28   2023-01-30 sic/tom-verlaine-dead.html                 Who Defied Genres                            Keepnews                     TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/28/busines
2023-01-28   2023-01-30 s/dealbook/buy-now-pay-later-struggles.html Buy Now Pay Later Model Is Facing a Crisis By James Ledbetter            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/obituari Overlooked No More Mary Barr Who Fought
2023-01-28   2023-01-30 es/mary-barr-overlooked.html                Wildfires From Aloft                       By Daniel E Slotnik           TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/opinion
2023-01-28   2023-01-30 /barnes-noble-amazon-bookstore.html         The Unlikely Bookstore Of My Dreams        By Ezra Klein                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/sports/t Laver One of the Greats Takes Stock of the
2023-01-28   2023-01-30 ennis/rod-laver-australian-open.html        Game                                       By Matthew Futterman          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/sports/f Hamlin Calls His Collapse A Chance To Aid
2023-01-29   2023-01-30 ootball/damar-hamlin-video.html             Others                                     By Jonathan Ellis             TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/28/sports/t
2023-01-29   2023-01-30 ennis/coaching-analytics-australian-open.html Coaching Shift Can Feel Like Cheating    By Christopher Clarey         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/arts/dan
                        ce/kyra-nichols-coaching-new-york-city-
2023-01-29   2023-01-30 ballet.html                                   Easy Does It At City Ballet              By Gia Kourlas                TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/29/arts/gu Jewish Heirs Sue the Guggenheim Over a
2023-01-29   2023-01-30 ggenheim-picasso-lawsuit-jewish-heirs.html Picasso                                     By Matt Stevens               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/arts/mu
2023-01-29   2023-01-30 sic/leif-ove-andsnes-dvorak.html           The Very Long Way to Carnegie Hall          By David Allen                TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/29/arts/mu
2023-01-29   2023-01-30 sic/review-in-la-cage-aux-folles-berlin.html A homegrown Cage dazzles in Berlin        By AJ Goldmann                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/arts/mu PandemicEra Pieces Provide an Array of
2023-01-29   2023-01-30 sic/review-kronos-quartet.html               Sonic Ideas                               By Anastasia Tsioulcas        TX 9-271-977   2023-03-01




                                                                                 Page 4797 of 5793
                        https://www.nytimes.com/2023/01/29/arts/mu
                        sic/yuja-wang-rachmaninoff-carnegie-hall-   A Glittering and Grand Rachmaninoff
2023-01-29   2023-01-30 review.html                                 Marathon                                      By Zachary Woolfe                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/briefing
2023-01-29   2023-01-30 /ticketmaster.html                          The Past and Potential Future of Ticketmaster By Ashley Wu                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/busines
2023-01-29   2023-01-30 s/metaverse-k-pop-south-korea.html          Can KPop Make the Metaverse Cool              By Jin Yu Young and Matt Stevens TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/climate Gas Stoves Are Just Fine Claims the Scientist
2023-01-29   2023-01-30 /gas-stove-health.html                      Paid to Say So                                By Hiroko Tabuchi                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/movies/ Sylvia Syms 89 British Actress Who Played
2023-01-29   2023-01-30 sylvia-syms-dead.html                       Many Roles                                    By Peter Keepnews                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/nyregio One Thing in Forecast Broken Records in
2023-01-29   2023-01-30 n/snow-nyc.html                             City                                          By Kimiko de FreytasTamura       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/sports/b Back in Boston James Finds Echoes Of
2023-01-29   2023-01-30 asketball/lebron-james-lakers-celtics.html  Highs and Lows                                By Scott Cacciola                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/sports/f
                        ootball/nfl-contracts-injuries-young-
2023-01-29   2023-01-30 players.html                                NFL Players Injured Young Face Uncertainty By Ken Belson and Jenny Vrentas TX 9-271-977       2023-03-01
                        https://www.nytimes.com/2023/01/29/sports/t
2023-01-29   2023-01-30 ennis/djokovic-australian-open.html         Champion Sheds a Burden and Some Tears By Christopher Clarey                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/29/sports/t Djokovics Biggest Victory His 10th Title in
2023-01-29   2023-01-30 ennis/djokovic-tsitsipas-australian-open.html Melbourne                                 By Matthew Futterman         TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/29/us/calif                                             By Shawn Hubler and Amy
2023-01-29   2023-01-30 ornia-gun-laws-mass-shootings.html            For California Soul Searching On Gun Laws Harmon                       TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/29/us/emt- Medical Response After Nichols Beating Is By Nicholas BogelBurroughs Gina
2023-01-29   2023-01-30 tyre-nichols-response-video.html              Under Scrutiny                            Kolata and Mark Walker       TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/29/us/polit Going Up Against McCarthy Got Gaetz Clout
2023-01-29   2023-01-30 ics/matt-gaetz.html                           Whats Next                                By Robert Draper             TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/29/world/a At Least 40 Are Dead as Bus Plunges in
2023-01-29   2023-01-30 sia/pakistan-bus-plunge.html                  Pakistan                                  By Tiffany May               TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/29/world/e Digging Up a Dutch Village in Search of
2023-01-29   2023-01-30 urope/nazi-treasure-dutch-village.html        NaziBuried Treasure                       By Claire Moses              TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/29/world/e Battling Over Villages in East as Russia
2023-01-29   2023-01-30 urope/russia-ukraine-battle-east.html         Strives to Encircle Bakhmut               By Matthew Mpoke Bigg        TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/29/world/e Britains Prime Minister Ousts Top
2023-01-29   2023-01-30 urope/zahawi-sunak-fired.html                 Conservative Investigated Over Taxes      By Mark Landler              TX 9-271-977         2023-03-01
                        https://www.nytimes.com/2023/01/29/world/ As Israelis Grieve Dead Some Palestinians
2023-01-29   2023-01-30 middleeast/israel-palestinian-attacks.html    Exult                                     By Patrick Kingsley          TX 9-271-977         2023-03-01

                        https://www.nytimes.com/2023/01/29/world/ Palestinian Is Shot Dead Outside Israeli
2023-01-29   2023-01-30 middleeast/palestinians-israelis-violence.html Settlement in West Bank as Violence Rages   By Raja Abdulrahim            TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/29/sports/f
                        ootball/chiefs-super-bowl-patrick-             After Philadelphias Romp Kansas City
2023-01-30   2023-01-30 mahomes.html                                   Survives on a Late Penalty and Field Goal   By Ken Belson                 TX 9-271-977     2023-03-01



                                                                                  Page 4798 of 5793
                        https://www.nytimes.com/2023/01/29/sports/f
2023-01-30   2023-01-30 ootball/eagles-super-bowl-jalen-hurts.html  A Thrashing and a Thriller                   By Emmanuel Morgan              TX 9-271-977   2023-03-01
                                                                                                                 By Jesus Jimnez Mark Walker
                        https://www.nytimes.com/2023/01/29/us/mem                                                Steve Eder Joseph Goldstein and
2023-01-30   2023-01-30 phis-police-scorpions.html                    Memphis Unit Was Deployed To Get Tough Mike Baker                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/us/utah-
2023-01-30   2023-01-30 transgender-bill.html                         Utah Bans Transgender Treatments For Youth By Ava Sasani                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/world/ Mossad Conducted Drone Attack on Iran          By Ronen Bergman David E Sanger
2023-01-30   2023-01-30 middleeast/iran-drone-strike-israel.html      Intelligence Officials Say                 and Farnaz Fassihi              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/arts/tele
                        vision/whats-on-tv-this-week-fight-the-power-
2023-01-30   2023-01-30 and-the-ark.html                              This Week on TV                            By Kristen Bayrakdarian         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/nyregio Santoss District Office Small Space in Queens
2023-01-30   2023-01-30 n/george-santos-district-office.html          Attracts Plenty of Eyes                    By Dana Rubinstein              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/sports/b
                        asketball/damian-lillard-portland-trail-      Scoring 30 Points a Game While Leading the
2023-01-30   2023-01-30 blazers.html                                  League in Loyalty                          By Kurt Streeter                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/world/e Back From War Convict Fighters Will Test By Anatoly Kurmanaev Alina
2023-01-30   2023-01-30 urope/wagner-convict-ukraine-russia.html      Russia                                     Lobzina and Ekaterina Bodyagina TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/world/ Baghdad Building Surge Is Devouring City By Jane Arraf Yasmine Mosimann
2023-01-30   2023-01-30 middleeast/baghdad-deforestation-heat.html Greenery                                      and Emily Garthwaite            TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/your-
2023-01-30   2023-01-30 money/red-states-esg-funds-blackrock.html Politicians Challenge ESG Fund Investments By Ron Lieber                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/20/well/pf
2023-01-20   2023-01-31 as-thinx-period-underwear.html                On PFAS and Your Underwear                 By Alisha Haridasani Gupta      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/article/green-comet-
2023-01-20   2023-01-31 watch.html                                    Welcome Back Stranger We See You Barely By Shannon Hall                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/23/well/m Why Do Weather Changes Make My Pain
2023-01-23   2023-01-31 ove/injuries-pain-weather-changes.html        Worse                                      By Melinda Wenner Moyer         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/24/well/co Experts Offer Tips to Prepare for a
2023-01-24   2023-01-31 lonoscopy-prep.html                           Colonoscopy                                By Trisha Pasricha              TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/ What Are These Apes Trying to Say Take
2023-01-24   2023-01-31 24/science/ape-gestures-quiz.html             This Quick Quiz                            By Darren Incorvaia             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/25/well/mi
2023-01-25   2023-01-31 nd/covid-rapid-tests.html                     Reducing the Odds Of a False Negative      By Dana G Smith                 TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/26/arts/dan
2023-01-26   2023-01-31 ce/melanie-chisholm-jules-cunningham.html The Spice Girl and the Choreographer        By Roslyn Sulcas                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/27/movies/
2023-01-27   2023-01-31 action-movies-streaming.html                Wreaking Havoc But With A Wink            By Robert Daniels                TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/27/movies/
2023-01-27   2023-01-31 lukas-dhont-close-girl.html                 A Rising Storyteller Of Youth             By Thomas Rogers                 TX 9-271-977     2023-03-01
                        https://www.nytimes.com/2023/01/27/nyregio
2023-01-27   2023-01-31 n/joe-rogan-mammoth-tusks-east-river.html Mammoth Tusks in the East River Its Murky   By Michael Wilson                TX 9-271-977     2023-03-01




                                                                                 Page 4799 of 5793
                        https://www.nytimes.com/2023/01/27/travel/r With a New Project Chef Aims to Change
2023-01-27   2023-01-31 oze-traore-ivory-coast.html                  Peoples Perspective in Ivory Coast         By Dionne Searcey                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/28/obituari
                        es/harold-brown-tuskegee-airman-who-faced- Harold Brown Tuskegee Airman Who Faced
2023-01-28   2023-01-31 a-lynch-mob-dies-at-98.html                  Lynch Mob Dies at 98                       By Sam Roberts                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/interactive/2023/01/                                            By Alexander Cardia Jason Kao
                        27/us/tyre-nichols-police-beating-           A Timeline of Tyre Nicholss Lethal Police  Christoph Koettl Eleanor Lutz
2023-01-28   2023-01-31 timeline.html                                Encounter                                  Anjali Singhvi and Robin Stein    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/arts/mu
2023-01-29   2023-01-31 sic/tom-verlaine-television-songs.html       15 Essential Songs By Tom Verlaine         By Jon Pareles                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/health/e
2023-01-29   2023-01-31 lderly-housing-adu.html                      When Your New Home Is in Your Backyard By Paula Span                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/nyregio Molotov Cocktail Hurled At New Jersey
2023-01-29   2023-01-31 n/arson-temple-ner-tamid-new-jersey.html     Synagogue                                  By Christine Chung                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/opinion
2023-01-29   2023-01-31 /mass-tech-layoffs-email-google.html         Layoffs by Email Are Cruel and Unnecessary By Elizabeth Spiers               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/travel/c As Travel Limits Fall Chinese Tourist Spots By Ceylan Yeginsu and Patrick
2023-01-29   2023-01-31 hina-tourists.html                           Endure Anxious Wait                        Scott                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/us/tyre- In 13 Minutes 71 Clashing Commands and      By Robin Stein Alexander Cardia
2023-01-29   2023-01-31 nichols-video-assault-cops.html              Escalating Brutality                       and Natalie Reneau                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/29/world/a South Korean Actor in Squid Game To Be
2023-01-30   2023-01-31 sia/squid-game.html                          Tried on Sex Crime Charges                 By John Yoon                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/arts/des
                        ign/warhol-hopper-kusama-klimt-fashion-
2023-01-30   2023-01-31 museum.html                                  From a Warhol Wig to a Hopper Hat          By Blake Gopnik                   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/30/arts/mu SZA Has the No 1 Album for a Seventh
2023-01-30   2023-01-31 sic/sza-sos-billboard-chart-seven-weeks.html Straight Week                              By Ben Sisario                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/arts/wil William Agee 86 Sage Of Modern American
2023-01-30   2023-01-31 liam-agee-dead.html                          Art As a Curator and Teacher               By Neil Genzlinger                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/busines Smaller Fed Rate Increase Expected as
2023-01-30   2023-01-31 s/economy/inflation-rate-fed.html            Inflation Cools                            By Jeanna Smialek                TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/30/busines                                              By Jeanna Smialek Jim Tankersley
2023-01-30   2023-01-31 s/economy/wall-street-debt-limit.html        Wall St Bets US Will Use Debt Stopgap      and Joe Rennison                 TX 9-271-977    2023-03-01
                        https://www.nytimes.com/2023/01/30/busines Following Teslas Example Ford Slashes
2023-01-30   2023-01-31 s/ford-mustang-electric-prices.html          Prices on EVs                              By Neal E Boudette                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/busines
                        s/johnson-johnson-talc-baby-powder-          Court Rejects Bankruptcy To Contain Talc
2023-01-30   2023-01-31 lawsuit.html                                 Liability                                  By Isabella Simonetti             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/busines
                        s/media/andrea-riseborough-oscars-           Actresss Path to an Oscar Nomination Is
2023-01-30   2023-01-31 campaign.html                                Scrutinized                                By Nicole Sperling                TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/busines After 85 Years of Programming BBC Arabic
2023-01-30   2023-01-31 s/media/bbc-arabic-radio-end.html            Radio Airs Its Final Broadcast             By Maya King                      TX 9-271-977   2023-03-01




                                                                                Page 4800 of 5793
                        https://www.nytimes.com/2023/01/30/busines
                        s/media/showtime-changes-name-                  Showtime Changes Its Name in a Nod to Its
2023-01-30   2023-01-31 paramount.html                                  Streaming Future                           By John Koblin                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/busines Nissan and Renault Rebalance Power in Race
2023-01-30   2023-01-31 s/nissan-renault-alliance-agreement.html        for EVs                                    By Ben Dooley                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/health/c Third of School Year Lost Study of Pandemic
2023-01-30   2023-01-31 ovid-education-children.html                    Finds                                      By Emily Baumgaertner               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/nyregio Philly Colors Have Fans Of Giants Seeing
2023-01-30   2023-01-31 n/empire-state-eagles-giants.html               Red                                        By Daniel Victor                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/nyregio Migrants Express Unease About Brooklyn
2023-01-30   2023-01-31 n/migrants-protest-shelter.html                 Shelter                                    By Karen Zraick                     TX 9-271-977   2023-03-01
                                                                                                                   By William K Rashbaum Ben
                        https://www.nytimes.com/2023/01/30/nyregio Manhattan Prosecutors Begin Presenting          Protess Jonah E Bromwich and
2023-01-30   2023-01-31 n/trump-stormy-daniels-grand-jury.html          Trump Hush Money Case to Grand Jury        Hurubie Meko                        TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/opinion
                        /mass-shootings-police-brutality-debt-
2023-01-30   2023-01-31 ceiling.html                                    We Cant Just Give Up and Shrug in Silence By Gail Collins and Bret Stephens    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/science
2023-01-30   2023-01-31 /archaeology-bogs-mummies.html                  What the Ancient Bog Bodies Knew           By Franz Lidz                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/sports/f The Best of Times for Fans in a City That
2023-01-30   2023-01-31 ootball/philadelphia-sports-fans.html           Expects the Worst                          By Jer Longman                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/sports/f Sharp Money Speaks and Bookmakers Listen
2023-01-30   2023-01-31 ootball/super-bowl-odds-line.html               Flipping Line to Favor Eagles              By Victor Mather                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/sports/g
2023-01-30   2023-01-31 olf/liv-schedule-trump.html                     Trump Courses Will Host 3 LIV Tournaments By Alan Blinder                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/sports/h Bobby Hull a Hall of Famer With a Sizzling
2023-01-30   2023-01-31 ockey/bobby-hull-dead.html                      Slap Shot Dies at 84                       By Richard Sandomir                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/technol
                        ogy/recession-resilient-climate-start-ups-shine-
2023-01-30   2023-01-31 in-tech-downturn.html                           Climate StartUps Entice Jaded Tech Workers By Erin Griffith                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/technol Thrive Capital Said to Commit Funds to          By Lauren Hirsch and Maureen
2023-01-30   2023-01-31 ogy/stripe-thrive-funding.html                  Stripe                                     Farrell                             TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/theater/
2023-01-30   2023-01-31 asi-winds-inner-circle-review.html              Observe Close Up And Still Be Fooled       By Alexis Soloski                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/us/cove
2023-01-30   2023-01-31 ring-the-monterey-park-shooting.html            Language Opening the Door for Connection By Soumya Karlamangla                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/us/mem Two More From Force Face Scrutiny After
2023-01-30   2023-01-31 phis-officer-suspended-tyre-nichols.html        Death                                      By Jessica Jaglois and Rick Rojas   TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/30/us/polit Touting Infrastructure Bill Biden Pledges to By Zolan KannoYoungs and Mark
2023-01-30   2023-01-31 ics/biden-infrastructure-tunnel-baltimore.html Repair Ailing Tunnel                      Walker                         TX 9-271-977          2023-03-01
                        https://www.nytimes.com/2023/01/30/us/polit For Giffords Progress Is Happening Inch by
2023-01-30   2023-01-31 ics/gabby-giffords-mass-shootings.html         Inch                                      By Sheryl Gay Stolberg         TX 9-271-977          2023-03-01
                        https://www.nytimes.com/2023/01/30/us/tyre-                                              By Jessica Jaglois Nicholas
2023-01-30   2023-01-31 nichols-arrest-videos.html                     Official Report Doesnt Match Body Cameras BogelBurroughs and Mitch Smith TX 9-271-977          2023-03-01



                                                                                  Page 4801 of 5793
                        https://www.nytimes.com/2023/01/30/world/a Hong Kongs Housing Woes Clash With a
2023-01-30   2023-01-31 sia/hong-kong-golf-course-housing.html     Patch of Green                                   By Joy Dong                      TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/30/world/a Suicide Bombing Tears Through Mosque in
2023-01-30   2023-01-31 sia/pakistan-mosque-peshawar-explosion.html Pakistans Northwest Killing Dozens         By Salman Masood                      TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/world/e
2023-01-30   2023-01-31 urope/boris-johnson-putin-missile-uk.html   Johnson Says Putin Made a Threat           By Matthew Mpoke Bigg                 TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/world/e
                        urope/nato-finland-sweden-turkey-           Turkey Raises Objections To 2 Bids to Join
2023-01-30   2023-01-31 erdogan.html                                NATO                                       By Steven Erlanger                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/world/ Netanyahu Meets Blinken as Strife Grows in
2023-01-30   2023-01-31 middleeast/blinken-israel-netanyahu.html    Israel                                     By Michael Crowley                    TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/arts/bar Barrett Strong Whose Money JumpStarted
2023-01-31   2023-01-31 rett-strong-dead.html                       Motown Dies at 81                          By Neil Genzlinger                    TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/30/busines With Inflation Easing IMF Cautiously Offers
2023-01-31   2023-01-31 s/economy/imf-world-economic-outlook.html a Rosier Forecast                            By Alan Rappeport                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/opinion
                        /american-economy-improvement-perception- Will Americans Even Notice an Improving
2023-01-31   2023-01-31 data.html                                   Economy                                    By Paul Krugman                       TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/opinion The Durham Fiasco Is a Warning of Whats to
2023-01-31   2023-01-31 /durham-republican-investigations.html      Come                                       By Michelle Goldberg                  TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/sports/h Complicated Legacy for Star With a Dark
2023-01-31   2023-01-31 ockey/bobby-hull-death-nhl.html             Side                                       By David Shoalts                      TX 9-271-977   2023-03-01

                        https://www.nytimes.com/2023/01/30/us/polit Biden Says US Will Allow Public Health          By Sharon LaFraniere and Noah
2023-01-31   2023-01-31 ics/biden-covid-public-health-emergency.html Emergency for Covid to Expire in May           Weiland                          TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/us/polit
                        ics/john-allen-justice-department-           Justice Drops Its Inquiry Of Qatar Trip By a   By Adam Entous and Mark
2023-01-31   2023-01-31 investigation.html                           General                                        Mazzetti                         TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/us/polit
                        ics/white-house-classified-documents-trump- How the White House Handles Classified
2023-01-31   2023-01-31 biden.html                                   Papers                                         By Michael D Shear               TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/30/world/e Zelensky Presses Allies for Arms on Wish         By Lara Jakes Alan Yuhas and
2023-01-31   2023-01-31 urope/ukraine-weapons.html                   List                                           Thomas GibbonsNeff               TX 9-271-977   2023-03-01
                                                                                                                    By Niraj Chokshi Meron Tekie
                        https://www.nytimes.com/2023/01/31/busines                                                  Menghistab Jovelle Tamayo and
2023-01-31   2023-01-31 s/last-boeing-747-plane.html               The Last Boeing 747 Gets Its Wings               Lindsey Wasson                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/31/busines The Night Court Reboots Success Catches
2023-01-31   2023-01-31 s/media/night-court-reboot-ratings.html    Everyone by Surprise                             By John Koblin                   TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/31/health/                                                  By Emily Anthes and Gabriella
2023-01-31   2023-01-31 dolphins-navy-aging.html                   A Life of Service                                AngottiJones                     TX 9-271-977   2023-03-01
                        https://www.nytimes.com/2023/01/31/world/e Juggling Sex Secrecy and Safety as Battles       By Maria Varenikova and Lynsey
2023-01-31   2023-01-31 urope/sex-workers-ukraine-health.html      Rage All Around                                  Addario                          TX 9-271-977   2023-03-01




                                                                                  Page 4802 of 5793
                        https://www.nytimes.com/2023/01/25/briefing After Three Years a Newsletter Comes to an
2023-01-25   2023-02-01 /a-farewell-for-now.html                    End                                          By Jonathan Wolfe              TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/25/dining/
                        citrus-salad-almond-cake-rice-casserole-
2023-01-25   2023-02-01 recipes.html                                A Simple Yet Ample Dinner Menu               By David Tanis                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/26/dining/
2023-01-26   2023-02-01 drinks/american-wine-industry.html          The Wine Business Has an Age Problem         By Eric Asimov                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/27/dining/
                        grandmas-tiktok-instagram-youtube-
2023-01-27   2023-02-01 cooking.html                                Someones in the Kitchen With Grandma         By Tejal Rao                   TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/27/well/fa
                        mily/couples-counseling-marriage-           Here to Help How to Find the Right Couples
2023-01-27   2023-02-01 therapist.html                              Therapist                                    By Catherine Pearson           TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/28/opinion She Feared the Organ Donation System
2023-01-28   2023-02-01 /organ-donation-reform-delays.html          Would Kill Her It Did                        By Kendall Ciesemier           TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/29/health/ Barbara H Stanley 73 Devised a Powerful
2023-01-29   2023-02-01 barbara-stanley-dead.html                   Tool To Help Prevent Suicide                 By Ellen Barry                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/30/books/s
2023-01-30   2023-02-01 tolen-book-sweden-sami.html                 Writing The Tale Of Her People               By Lisa Abend                  TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/01/30/busines
2023-01-30   2023-02-01 s/economy/used-cars-carmax-carvana.html     From Boom To Bust                            By Neal E Boudette             TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/30/dining/
2023-01-30   2023-02-01 bread-maker-machine.html                    Bread Bakers and the Machine They Love       By Christina Morales           TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/30/movies/
2023-01-30   2023-02-01 sundance-oscars-coda.html                   The 2024 Oscar Race Has Begun                By Kyle Buchanan               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/30/opinion The Alternative Optimistic Story Of Chinas
2023-01-30   2023-02-01 /china-world-population-decline.html        Population Decline                           By Wang Feng                   TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/30/opinion
2023-01-30   2023-02-01 /william-barr-durham-report.html            Barrs Reputation Rehab Has Gone Kaput        By David Firestone             TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/30/us/polit
2023-01-30   2023-02-01 ics/new-us-governors.html                   New Governors Get to Work                    By Maggie Astor                TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/30/world/e Longer Lives and Fewer Births Is Italy
2023-01-30   2023-02-01 urope/italy-birthrate.html                  Destined to Disappear                        By Jason Horowitz              TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/30/arts/mu
                        sic/r-kelly-abuse-charges-dropped-          Prosecutors in Chicago Will Drop Abuse
2023-01-31   2023-02-01 chicago.html                                Charges Against R Kelly                      By Julia Jacobs                TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/01/30/arts/tele Cindy Williams the Hopeful Half Of Laverne By Matt Stevens Livia
2023-01-31   2023-02-01 vision/cindy-williams-dead.html              amp Shirley Dies at 75                     AlbeckRipka and Jennifer Vineyard TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/arts/ale
2023-01-31   2023-02-01 c-baldwin-manslaughter-rust-shooting.html Baldwin Is Charged With Manslaughter          By Julia Jacobs                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/arts/dan
                        ce/united-ukrainian-ballet-ratmansky-        Ukrainian Dancers Remake Their Lives
2023-01-31   2023-02-01 washington.html                              Abroad                                     By Marina Harss                   TX 9-278-914   2023-04-04



                                                                                Page 4803 of 5793
                        https://www.nytimes.com/2023/01/31/arts/mu
2023-01-31   2023-02-01 sic/bonnie-raitt-grammys-just-like-that.html Out of Loss a Song Sprang Forth            By Jon Pareles                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/arts/mu
                        sic/california-festival-dudamel-salonen-
2023-01-31   2023-02-01 payare.html                                  Three Conductors One California Festival   By Adam Nagourney                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/arts/tele
                        vision/schoolhouse-rock-50th-
2023-01-31   2023-02-01 anniversary.html                             Gen X Nostalgia Gets a SingAlong           By James Poniewozik               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/books/p Chief of Penguin Random House Resigns        By Elizabeth A Harris and
2023-01-31   2023-02-01 enguin-random-house-ceo-resign.html          After Losing Bid for Simon amp Schuster    Alexandra Alter                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/books/r
2023-01-31   2023-02-01 eview-reckoning-v-eve-ensler.html            New Name but Familiar Targets of Outrage By Alexandra Jacobs                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/busines
2023-01-31   2023-02-01 s/adani-group-share-offering.html            Adani Raises 25 Billion In Offering        By Alex Travelli                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/busines Wages Showed Moderation At Years End
2023-01-31   2023-02-01 s/economy/pay-wages-inflation.html           Report Says                                By Jeanna Smialek                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/busines
                        s/economy/russia-sanctions-trade-china-      Neighbors Help Moscow Sidestep Wests
2023-01-31   2023-02-01 turkey.html                                  Sanctions                                  By Ana Swanson                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/busines
                        s/economy/us-india-technology-               For Edge on China US Agrees to Work With
2023-01-31   2023-02-01 partnership.html                             India on Tech                              By Ana Swanson                    TX 9-278-914   2023-04-04
                                                                     Consumer Resilience and Support Bolster
                        https://www.nytimes.com/2023/01/31/busines Economic Forecasts in Europe but Risks
2023-01-31   2023-02-01 s/europe-inflation-economy.html              Remain                                     By Eshe Nelson                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/busines GM Reports Strong Profits as It Moves to
2023-01-31   2023-02-01 s/general-motors-q4-earnings.html            Challenge Tesla                            By Neal E Boudette                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/busines Warner Bros LongTerm Plan Relies on
2023-01-31   2023-02-01 s/media/dc-studios-superman.html             Supermans Powers                           By Brooks Barnes                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/busines New York Short Seller Takes On a
2023-01-31   2023-02-01 s/who-is-gautam-adani.html                   LittleKnown Indian Goliath                 By Vivek Shankar                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/climate EPA Blocks Project in Alaska That
2023-01-31   2023-02-01 /pebble-mine-epa-decision.html               Threatened a Key Salmon Fishery            By Henry Fountain                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/dining/
2023-01-31   2023-02-01 best-frozen-pizza-robertas-table-87.html     And Just How Do They Taste                 By Julia Moskin                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/dining/ El Fish Marisqueria SeafoodFocused Mexican
2023-01-31   2023-02-01 nyc-restaurant-news.html                     Opens on the Upper West Side               By Florence Fabricant             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/dining/
2023-01-31   2023-02-01 premium-frozen-pizza.html                    The Restless Quest for Better Frozen Pizza By Julia Moskin                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/dining/r
2023-01-31   2023-02-01 omantic-restaurants-nyc.html                 Putting Romance at the Top of the Menu     By Nikita Richardson              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/nyregio A Black Exodus and Its Effect on New York
2023-01-31   2023-02-01 n/black-residents-nyc.html                   City                                       By Troy Closson and Nicole Hong   TX 9-278-914   2023-04-04




                                                                               Page 4804 of 5793
                        https://www.nytimes.com/2023/01/31/nyregio Hochul Vetoes Wrongful Death Bill
2023-01-31   2023-02-01 n/hochul-wrongful-death-bill-veto.html     Heightening Tension With State Lawmakers By Jesse McKinley                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/nyregio Judge Faulting Manhattan Prosecutors     By Jonah E Bromwich and Maria
2023-01-31   2023-02-01 n/joseph-franco-nypd-case-dismissed.html   Dismisses Charges Against ExDetective    Cramer                           TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/01/31/nyregio Madison Square Garden Seeks Permit to Stay
2023-01-31   2023-02-01 n/madison-square-garden-permit-dolan.html Put                                          By Dana Rubinstein            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/nyregio
2023-01-31   2023-02-01 n/manhattan-housing-vacant-buildings.html Housing Plan for Manhattans Empty Spaces By Mihir Zaveri                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/nyregio Bid for New York Casino Includes Ferris
2023-01-31   2023-02-01 n/nyc-casino-midtown-east.html              Wheel Near UN                              By Stefanos Chen              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/sports/l The Queen of Everest Trains at a Whole     By Bhadra Sharma and Adam
2023-01-31   2023-02-01 hakpa-sherpa-everest.html                   Foods                                      Skolnick                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/sports/n
                        caabasketball/big-12-mens-college-          The Big 12 Becomes the Biggest Name in the
2023-01-31   2023-02-01 basketball.html                             Mens Game                                  By Victor Mather              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/sports/t
2023-01-31   2023-02-01 ennis/alexander-zverev-abuse-claims.html    Zverev Escapes Punishment From Tour        By Matthew Futterman          TX 9-278-914   2023-04-04
                                                                    Apples Enforced Secrecy and AntiCollective
                        https://www.nytimes.com/2023/01/31/technol Action Culture Are Found to Violate Workers
2023-01-31   2023-02-01 ogy/apple-workers-rights.html               Rights                                     By Tripp Mickle               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/technol Tech Downturn Chips Away at Snaps
2023-01-31   2023-02-01 ogy/snap-earnings.html                      Revenue Growth                             By Kalley Huang               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/technol Justice Dept Scrutinizes Tesla SelfDriving
2023-01-31   2023-02-01 ogy/tesla-autopilot-investigation.html      Claims And Technologys Safety              By Jack Ewing and Cade Metz   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/john- Concerns About Robertss Wife Raised In
2023-01-31   2023-02-01 roberts-jane-sullivan-roberts.html          Letter to Congress and Justice Dept        By Steve Eder                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/polit FBI Searched Biden Office For Documents in
2023-01-31   2023-02-01 ics/biden-documents-fbi-search.html         November                                   By Glenn Thrush               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/polit
                        ics/biden-hudson-gateway-penn-station-      Biden Says Plan Would Give Millions to     By Zolan KannoYoungs and
2023-01-31   2023-02-01 amtrak.html                                 Repair New York Rail Tunnel                Patrick McGeehan              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/polit Black Americans Are Much More Likely to
2023-01-31   2023-02-01 ics/black-americans-irs-tax-audits.html     Face Tax Audits Study Finds                By Jim Tankersley             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/polit Dave Durenberger Senator Censured Over
2023-01-31   2023-02-01 ics/dave-durenberger-dead.html              Ethics Breach Dies at 88                   By Robert D McFadden          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/polit
                        ics/house-covid-republicans-pandemic-       House GOP Tries to Send Message With Bill By Jonathan Swan and Luke
2023-01-31   2023-02-01 vaccine-mandate.html                        to Declare Pandemic Over                   Broadwater                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/polit Manchin Is Positioning To Broker Debt Deal
2023-01-31   2023-02-01 ics/joe-manchin-debt-deal.html              As GOP Targets Him                         By Luke Broadwater            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/polit
2023-01-31   2023-02-01 ics/republicans-spending-debt-ceiling.html  Republicans Wont Say What Cuts They Want By Alan Rappeport               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/polit Santos Temporarily Leaves Committee        By Annie Karni and Karoun
2023-01-31   2023-02-01 ics/santos-house-committees.html            Assignments                                Demirjian                     TX 9-278-914   2023-04-04



                                                                              Page 4805 of 5793
                        https://www.nytimes.com/2023/01/31/us/polit Growing Challenges Test Trumps Legal
2023-01-31   2023-02-01 ics/trump-legal-tactics.html                Playbook                                   By Maggie Haberman                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/polit US Declares That Moscow Isnt Following
2023-01-31   2023-02-01 ics/us-russia-nuclear-treat.html            Warhead Pact                               By Edward Wong                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/world/a UN Experts Suspect Wagner Mercenaries of
2023-01-31   2023-02-01 frica/mali-wagner-civilian-killings.html    War Crimes in Mali                         By Elian Peltier                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/world/a Pope Visits WarTorn Congo Spotlighting a    By Jason Horowitz and Ruth
2023-01-31   2023-02-01 frica/pope-francis-africa-congo.html        Nation Gasping for Breath                  Maclean                                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/world/a Pontiff Travels to a Country Vast in
2023-01-31   2023-02-01 frica/pope-francis-congo.html               Resources but Wrecked by Conflict          By Ruth Maclean                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/world/a China Moves Past a Covid Spike In a Rush to By Chris Buckley and Amy Chang
2023-01-31   2023-02-01 sia/china-covid-infections-decrease.html    Get Back to Normal                         Chien                                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/01/31/world/a                                                By Christina Goldbaum Salman
2023-01-31   2023-02-01 sia/pakistan-mosque-peshawar-terrorism.html Tallying Dead Pakistanis Fear Terrors Return Masood and Zia urRehman              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/world/e
2023-01-31   2023-02-01 urope/brexit-third-anniversary-uk-eu.html   3 Years Into Brexit Britain Isnt Celebrating By Mark Landler                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/world/e Banks in Iran And Russia Move to Link
2023-01-31   2023-02-01 urope/iran-russia-banks.html                Their Systems                                 By Cora Engelbrecht                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/world/
                        middleeast/blinken-israel-west-bank-        Blinken Visits Palestinian Leader and Repeats By Michael Crowley and Patrick
2023-01-31   2023-02-01 abbas.html                                  His Call to Quell Violence                    Kingsley                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/world/ Amid Strikes Netanyahu Juggles Competing
2023-01-31   2023-02-01 middleeast/netanyahu-israel-palestine.html  Goals                                         By Patrick Kingsley                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/world/
                        middleeast/tunisia-president-kais-saied-    Tunisia Vote Shows Slip In Support Of
2023-01-31   2023-02-01 elections.html                              President                                     By Vivian Yee and Ahmed Ellali      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/opinion
2023-02-01   2023-02-01 /joe-biden-future-savior.html               How Will Biden Be Remembered in 50 Years By Bret Stephens                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/corn- Air Force Pushes Back Over Planned Chinese
2023-02-01   2023-02-01 mill-fufeng-china-north-dakota.html         Mill in North Dakota                          By Mitch Smith                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/gove
                        rnor-desantis-higher-education-chris-       DeSantis Takes On Floridas Education          By Stephanie Saul Patricia Mazzei
2023-02-01   2023-02-01 rufo.html                                   Establishment and Builds His Brand            and Trip Gabriel                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/mem 2 of Officers Accused of Killing Nichols Had By Mike Baker and Matthew
2023-02-01   2023-02-01 phis-officers-disciplined-tyre-nichols.html Been Reprimanded After Using Force            Rosenberg                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/polit US Charges Four in the 2021 Assassination of
2023-02-01   2023-02-01 ics/charges-haiti-moise-assassination.html  Haitis President                              By Chris Cameron                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/world/e Seeking Prize in East Russia Floods a          By Matthew Mpoke Bigg and
2023-02-01   2023-02-01 urope/russia-ukraine-war-bakhmut.html       Ukrainian City With Troops                    Thomas GibbonsNeff                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/busines
                        s/dealbook/senior-retirement-
2023-02-01   2023-02-01 communities.html                            Taking On a Senior Living Reset               By Patrick Sisson                   TX 9-278-914   2023-04-04




                                                                                 Page 4806 of 5793
                        https://www.nytimes.com/2023/02/01/busines
                        s/energy-environment/exxon-chevron-oil-gas-
2023-02-01   2023-02-01 profit.html                                  Outlook Dims For Oil Giants After Big 2022 By Clifford Krauss                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/us/skyc Video System Criticized by Residents Gave
2023-02-01   2023-02-01 op-camera-tyre-nichols-memphis.html          Unflinching View of Beating                 By Rick Rojas and Jesus Jimnez   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/01/
                        26/style/culture-regret-crocs-social-media-
2023-01-26   2023-02-02 cringe.html                                  Future Cringe                               By George Gurley                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/27/style/bil
                        ly-walsh-sneakers-songwriting-rihanna-post- Sneakers and Songs Are Among His
2023-01-27   2023-02-02 malone.html                                  Specialties                                 By Alex Hawgood                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/27/t-
2023-01-27   2023-02-02 magazine/tainan-taiwan-travel-guide.html     Injecting New Life Into Taiwans Oldest City By Chris Schalkx                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/28/books/p
2023-01-28   2023-02-02 oetry-gabriela-mistral.html                  Chiles Other Nobel Poet Forget Neruda       By Ana Lankes                    TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/01/28/style/w White Lotus Dance Remix Enthralls
2023-01-28   2023-02-02 hite-lotus-song-club-dance-theme-music.html Clubgoers                                   By Sarah Bahr                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/29/arts/tele Annie Wersching 45 Star Of TVs Star Trek
2023-01-30   2023-02-02 vision/annie-wersching-dead.html             Picard                                     By Livia AlbeckRipka              TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/01/30/arts/tele Lisa Loring 64 Child Actor From The
2023-01-30   2023-02-02 vision/lisa-loring-dead.html                 Addams Family Who Was Disturbingly Cute By Christine Hauser                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/01/30/world/a                                              By Alex Travelli and Matej
2023-01-30   2023-02-02 sia/gandhi-assassination-75-years-photos.html Remembering Gandhi Revered Worldwide      Leskovsek                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/arts/des Carin Goldberg 69 A Graphic Designer In the
2023-01-31   2023-02-02 ign/carin-goldberg-dead.html                  Vanguard Dies                             By Penelope Green                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/nyregio Resignation of Treasurer For Santos Leaves By Grace Ashford and Michael
2023-01-31   2023-02-02 n/george-santos-treasurer-money.html          Trail Of Financial Questions              Gold                              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/opinion New Weight Loss Drugs Make Clear That
2023-01-31   2023-02-02 /ozempic-weight-loss-drugs.html               Body Size Is Not a Choice                 By Julia Belluz                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/style/cf
                        gny-fashion-show-asian-queer-art-
2023-01-31   2023-02-02 collective.html                               The Lens on Asian Identity Widens         By Whitney Mallett                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/style/pa
2023-01-31   2023-02-02 ris-couture-fashion-shows.html                Rarefied Clothes Rarefied People          By Simbarashe Cha                 TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/01/31/arts/sup Creator of King Monument Adds Sculpture
2023-02-01   2023-02-02 er-bowl-sculpture-hank-willis-thomas.html   for Super Bowl                              By Kalia Richardson               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/arts/dan
2023-02-01   2023-02-02 ce/cy-gavin-gagosian.html                   Seeing Beyond Arbitrary Borders             By Robin Pogrebin                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/arts/des
                        ign/tate-modern-apartments-supreme-         Platform at Tate Modern Is Nuisance Court
2023-02-01   2023-02-02 court.html                                  Rules                                       By Alex Marshall                  TX 9-278-914   2023-04-04



                                                                                Page 4807 of 5793
                        https://www.nytimes.com/2023/02/01/arts/mu
2023-02-01   2023-02-02 sic/beyonce-renaissance-tour.html          Beyonc Announces a Solo Tour                      By Joe Coscarelli                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/01/arts/mu
2023-02-01   2023-02-02 sic/leif-ove-andsnes-carnegie-hall-review.html A Prismatic and Complex Work Deftly Played By Joshua Barone                    TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/01/arts/mu
2023-02-01   2023-02-02 sic/rock-and-roll-hall-of-fame-nominees.html Rock Hall Nominees Include Missy Elliott        By Julia Jacobs                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/busines Adani Scraps Its Share Sale As Stock Dip
2023-02-01   2023-02-02 s/adani-enterprises-share-sale.html          Costs Billions                                  By Bernhard Warner               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/busines
2023-02-01   2023-02-02 s/economy/labor-jolts-report-layoffs.html    US Survey Shows Uptick in Job Openings          By Lydia DePillis                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/busines                                                   By Jeanna Smialek and Isabella
2023-02-01   2023-02-02 s/federal-reserve-interest-rates.html        Fed Eases Pace as it Increases Interest Rates   Simonetti                        TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/01/busines French Shopkeepers Are Siding With Pension
2023-02-01   2023-02-02 s/france-pension-protests-shopkeepers.html Protesters                                 By Liz Alderman                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/busines FTC Accuses GoodRx Of Leaking Health
2023-02-01   2023-02-02 s/goodrx-user-data-facebook-google.html    Data                                       By Natasha Singer                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/busines Fed Raises Rates Again But Are Markets
2023-02-01   2023-02-02 s/stock-market-federal-reserve.html        Listening                                  By Joe Rennison                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/climate Biden Clears Way for ScaledBack Alaska Oil
2023-02-01   2023-02-02 /alaska-willow-oil-drilling-biden.html     Project Angering Activists                 By Lisa Friedman                        TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/01/health/c Coronavirus Vaccine Makers Kept 14 Billion By Stephanie Nolen and Rebecca
2023-02-01   2023-02-02 ovid-vaccines-covax-gavi-prepayments.html for Canceled Shots                            Robbins                               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/health/ To Prevent Ovarian Cancer More Women Are
2023-02-01   2023-02-02 ovarian-cancer-fallopian-tubes.html         Advised to Remove Fallopian Tubes           By Roni Caryn Rabin                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/movies/
2023-02-01   2023-02-02 kerry-condon-banshees-of-inisherin.html     In Real Life Actually Quite Fond of Donkeys By Kyle Buchanan                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/nyregio
                        n/franco-bragg-nypd-faked-evidence-         FakedEvidence Case Against ExDetective      By Jonah E Bromwich and Maria
2023-02-01   2023-02-02 case.html                                   Crumbled Under Prosecutors Missteps         Cramer                                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/nyregio Hochul Tries to Tackle New York City
2023-02-01   2023-02-02 n/hochul-budget-taxes-bail.html             Troubles In 227 Billion Budget              By Luis FerrSadurn                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/opinion Inclusive or Alienating The Language Wars
2023-02-01   2023-02-02 /inclusive-language-vocabulary.html         Go On                                       By Nicholas Kristof                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/opinion Our Documentary Criticized Israel Now Were
2023-02-01   2023-02-02 /israel-government-film-propaganda.html     Being Called Disloyal                       By Noam Sheizaf                       TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/01/sports/b Stewart Joins the Liberty Tilting the Balance
2023-02-01   2023-02-02 asketball/breanna-stewart-liberty-wnba.html of Power in the WNBA                          By David Waldstein                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/sports/b
                        asketball/lebron-james-record-lakers-
2023-02-01   2023-02-02 knicks.html                                 James Proves He Is Far From Done              By Victor Mather                    TX 9-278-914   2023-04-04



                                                                                   Page 4808 of 5793
                        https://www.nytimes.com/2023/02/01/sports/f Bobby Beathard Mastermind Of NFL
2023-02-01   2023-02-02 ootball/bobby-beathard-dead.html            Dynasties Dies at 86                       By Ken Belson                      TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/sports/f Philadelphia Rookie Lineman Is Indicted On
2023-02-01   2023-02-02 ootball/philly-eagles-josh-sills-rape.html  Rape and Kidnapping Charges in Ohio        By Johnny Diaz                     TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/01/sports/f
2023-02-01   2023-02-02 ootball/tom-brady-last-season-tampa-bay.html Was That Last Season in Tampa Worth It    By Kris Rhim                       TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/sports/f With a Final Handoff He Leaves the Game In
2023-02-01   2023-02-02 ootball/tom-brady-retires-mahomes.html       Good Hands                                By Kurt Streeter                   TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/sports/f
2023-02-01   2023-02-02 ootball/tom-brady-retires.html               Its Second and So Long                    By Emmanuel Morgan                 TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/01/sports/s Blindsided by Saudi Sponsorship Womens
2023-02-01   2023-02-02 occer/saudi-arabia-womens-world-cup.html World Cup Hosts Want Answers                     By Natasha Frost                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/technol Meta Posts 42 Billion Restructuring Charge
2023-02-01   2023-02-02 ogy/meta-restructuring-charge.html          for the Fourth Quarter                        By Mike Isaac                   TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/technol Judge Says No to Effort To Block Meta VR       By David McCabe and Sheera
2023-02-01   2023-02-02 ogy/meta-within-deal-ftc.html               Deal                                          Frenkel                         TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/technol
2023-02-01   2023-02-02 ogy/openai-chatgpt-plus-subscription.html   Updated ChatGPT Will Cost 20 a Month          By Cade Metz                    TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/01/technol Todays Column Was Brought to You With
2023-02-01   2023-02-02 ogy/personaltech/chatgpt-ai-bots-editing.html the Help of AI Bots                         By Brian X Chen                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/technol Robotaxis Aim to Expand Despite Recurring
2023-02-01   2023-02-02 ogy/self-driving-taxi-san-francisco.html      Mishaps                                     By Cade Metz                    TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/theater/
                        leslie-odom-jr-purlie-victorious-             Leslie Odom Jr Will Return to Broadway in
2023-02-01   2023-02-02 broadway.html                                 Purlie Victorious                           By Michael Paulson              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/theater/
2023-02-01   2023-02-02 sarah-cooper-the-wanderers.html               A Role In Sync With Her Dreams              By Michael Paulson              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/us/colle
                        ge-board-advanced-placement-african-          Under Pressure Board Revises AP African     By Anemona Hartocollis and Eliza
2023-02-01   2023-02-02 american-studies.html                         American Course                             Fawcett                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/us/dc-
2023-02-01   2023-02-02 metro-shooting.html                           Gunman Kills Metro Worker In Washington  By Mark Walker                     TX 9-278-914    2023-04-04
                                                                                                               By Jim Tankersley Catie
                        https://www.nytimes.com/2023/02/01/us/polit Biden and McCarthy In Talks Over Impasse Edmondson and Zolan
2023-02-01   2023-02-02 ics/biden-mccarthy-debt-limit.html          On Raising Debt Limit                      KannoYoungs                        TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/us/polit
                        ics/congress-spending-bills-appropriations- Women Take Lead to Stop a Fiscal Train
2023-02-01   2023-02-02 committees.html                             Wreck                                      By Emily Cochrane                  TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/us/polit Assessing the Political Spin Regarding the
2023-02-01   2023-02-02 ics/debt-ceiling-fact-check.html            Debt Ceiling Fight                         By Linda Qiu                       TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/us/polit Democrats Seek Inquiry Into Review By
2023-02-01   2023-02-02 ics/durham-barr-russia-investigation.html   Durham                                     By Charlie Savage                  TX 9-278-914    2023-04-04



                                                                                 Page 4809 of 5793
                        https://www.nytimes.com/2023/02/01/us/polit Biden Home Is Searched But Officials Do Not By Glenn Thrush Michael D Shear
2023-02-01   2023-02-02 ics/fbi-biden-rehoboth.html                 Find Any Classified Documents               and Maggie Haberman             TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/us/polit
2023-02-01   2023-02-02 ics/trump-jan-6-fbi.html                    Assessing FBIs Missteps on the Jan 6 Riot   By Adam Goldman and Alan Feuer TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/01/us/polit The GOP Hunt Is On for NonTrump             By Maggie Haberman Michael C
2023-02-01   2023-02-02 ics/trump-republicans-2024-nikki-haley.html Candidates but Who Will Stand               Bender and Reid J Epstein        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/us/polit
2023-02-01   2023-02-02 ics/ukraine-f16-russia.html                 Another Subtle Dance This Time for US Jets By Helene Cooper and Eric Schmitt TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/us/tyre- At Nichols Funeral Grief and Outrage Fuel a
2023-02-01   2023-02-02 nichols-funeral-memphis.html                Sense of Mission                            By Rick Rojas                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/world/a Pope Francis in Africa Urges an End to       By Jason Horowitz and Abdi Latif
2023-02-01   2023-02-02 frica/pope-francis-africa-congo.html        Congos Cycle of Violence                    Dahir                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/world/a Panicky Hunt For Tiny Item Ends Quickly
2023-02-01   2023-02-02 sia/australia-radioactive-capsule.html      In Australia                                By Yan Zhuang                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/world/a Spy Thriller Is a Hit in India Despite Its
2023-02-01   2023-02-02 sia/pathaan-shah-rukh-khan.html             RightWing Critics                           By Mujib Mashal                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/01/world/e How an American Military Training Group
2023-02-01   2023-02-02 urope/american-veterans-ukraine-mozart.html Imploded in Ukraine                           By Jeffrey Gettleman          TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/world/e Navalny Says His Isolation In Penal Colony
2023-02-01   2023-02-02 urope/navalny-russia-prison.html            Is Growing                                    By Anushka Patil              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/world/e                                                By Marc Santora and Michael
2023-02-01   2023-02-02 urope/ukraine-russia-offensive.html         Ukraine Fears New Offensive Is Underway       Schwirtz                      TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/world/ Couple Given 5Year Terms After They
2023-02-01   2023-02-02 middleeast/iran-couple-dancing-prison.html Danced in Iran                                 By Cora Engelbrecht           TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/world/ As It Builds Nuclear Program Iran Develops
2023-02-01   2023-02-02 middleeast/iran-missile-program-israel.html Diverse Arsenal of Missiles                   By Cora Engelbrecht           TX 9-278-914    2023-04-04

                        https://www.nytimes.com/interactive/2023/02/
2023-02-01   2023-02-02 01/sports/football/brady-first-retirement.html Tom Brady Retires The Revised Edition      By Ben Shpigel                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/live/2023/02/01/wo
                        rld/russia-ukraine-news/zelensky-corruption- Ukraine Says It Detected 1 Billion           By Andrs R Martnez and Marc
2023-02-01   2023-02-02 eu-ukraine                                     Embezzlement Plot                          Santora                       TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/opinion
2023-02-02   2023-02-02 /tyre-nichols-funeral-grief.html               Robbed of Space to Mourn                   By Charles M Blow             TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/us/ap- Curriculum Dispenses With Black Lives
2023-02-02   2023-02-02 african-american-studies-course.html           Matter and Barely Mentions Reparations     By Dana Goldstein             TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/01/us/polit
2023-02-02   2023-02-02 ics/ron-klain-farewell.html                    Klain Bids A Tearful Goodbye               By Zolan KannoYoungs          TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/insider/
                        a-film-critic-who-embraces-his-role-as-a-
2023-02-02   2023-02-02 guide.html                                     A Film Critic Who Enjoys Showing the Way   By Jason Bailey               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/style/ja
2023-02-02   2023-02-02 cinda-ardern-leadership-style.html             A Wardrobes Political Messages             By Vanessa Friedman           TX 9-278-914    2023-04-04



                                                                                Page 4810 of 5793
                        https://www.nytimes.com/2023/02/02/world/e
                        urope/us-ambassador-hungary-david-          Gay Envoy Gets a Hostile Welcome in
2023-02-02   2023-02-02 pressman.html                               Budapest                                      By Andrew Higgins                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/live/2023/02/07/wo
                        rld/russia-ukraine-news/how-an-american-    How an American Military Training Group
2023-02-07   2023-02-02 military-training-group-imploded-in-ukraine Imploded in Ukraine                           By Jeffrey Gettleman              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/29/obituari Gregory Allen Howard 70 Screenwriter Best
2023-01-30   2023-02-03 es/gregory-allen-howard-dead.html           Known for Remember the Titans                 By Alex Traub                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/movies/
2023-01-31   2023-02-03 pamela-a-love-story-review.html             Pamela a Love Story                           By Glenn Kenny                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/us/polit
                        ics/republicans-covid-vaccine-mandate-fact- GOP Representatives Spread Covid
2023-02-01   2023-02-03 check.html                                  Distortions                                   By Linda Qiu                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/arts/con
2023-02-01   2023-02-03 cert-ticket-fees-biden.html                  Biden Asks Congress To Limit Ticket Fees By Matt Stevens                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/arts/mu
2023-02-01   2023-02-03 sic/tanglewood-summer-2023.html             Tanglewood Lineup Blends Familiar and New By Javier C Hernndez                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/books/f
2023-02-01   2023-02-03 ebruary-books.html                          Fantastical Powers and Other Fresh Reads      By Joumana Khatib                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/movies/
2023-02-01   2023-02-03 80-for-brady-review-tom-brady.html          Desperately Seeking to Get to the Quarterback By Amy Nicholson                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/opinion Here in China Its as if Nothing Ever
2023-02-01   2023-02-03 /china-covid-holiday-new-year.html          Happened                                      By Lucy Meng                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/sports/b John Adams 71 Who Banged His Drum
2023-02-01   2023-02-03 aseball/john-adams-dead.html                Loudly for the Cleveland Indians              By Richard Sandomir               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/theater/ A Nonbinary Performer Opts Out of Gendered
2023-02-01   2023-02-03 tonys-justin-david-sullivan-and-juliet.html Awards                                        By Michael Paulson                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/world/a Asia Eases Rules on Masks but Not All Are
2023-02-01   2023-02-03 sia/covid-masks-asia.html                   Set to Forgo Them                             By John Yoon and Hikari Hida      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/nyregio New Jersey Man Charged With Throwing
2023-02-02   2023-02-03 n/new-jersey-synagogue-attack-arrest.html   Molotov Cocktail at Synagogue                 By Tracey Tully                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/world/a China and US Are Wooing Indonesia and          By Jane Perlez Eric Schmitt and
2023-02-02   2023-02-03 sia/indonesia-china-united-states.html      Beijing Has the Edge                          SuiLee Wee                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/world/a
                        sia/philippines-united-states-military-     Deal Gives US Military Access to Four More
2023-02-02   2023-02-03 bases.html                                  Locations in the Philippines                  By SuiLee Wee                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/arts/dan
2023-02-02   2023-02-03 ce/review-cullberg-deborah-hay.html         Subtle Acts in Hypnotic Worlds                By Gia Kourlas                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/arts/dan
                        ce/review-jinakunwiphat-new-york-city-
2023-02-02   2023-02-03 ballet.html                                 A New Voice Makes a Debut                     By Brian Seibert                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/02/arts/des
2023-02-02   2023-02-03 ign/felix-gonzalez-torres-zwirner-gallery.html Designed for Disappearance                 By Holland Cotter                 TX 9-278-914   2023-04-04




                                                                                  Page 4811 of 5793
                        https://www.nytimes.com/2023/02/02/arts/des
                        ign/richard-avedon-murals-metropolitan-
2023-02-02   2023-02-03 museum.html                                  No Small Achievement                         By Jason Farago                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/arts/mir Mira Lehr 88 Artist Who Frequently Drew
2023-02-02   2023-02-03 a-lehr-dead.html                             From Nature Is Dead                          By Neil Genzlinger              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/arts/mu
2023-02-02   2023-02-03 sic/grammy-awards-beyonce.html               Grammys Put Focus and Pressure on Beyonc By Ben Sisario and Joe Coscarelli   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/arts/mu
2023-02-02   2023-02-03 sic/lars-vogt-tetzlaff-schubert.html         Facing the Abyss but Finding Liberation      By David Allen                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/arts/tele
2023-02-02   2023-02-03 vision/dear-edward-connie-britton.html       Her Women Wont Be Written Off                By Kathryn Shattuck             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/busines Bank of England Raises Interest Rates to 4 Its
2023-02-02   2023-02-03 s/bank-of-england-interest-rates.html        10th Straight Increase                       By Eshe Nelson                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/02/busines Eggs Too Expensive Some Invite the Hen      By Jeanna Smialek and Ana
2023-02-02   2023-02-03 s/economy/inflation-chickens-egg-prices.html Home                                      Swanson                            TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/02/busines
2023-02-02   2023-02-03 s/european-central-bank-interest-rates.html In Europe Hope Rises With Rates              By Eshe Nelson and Melissa Eddy TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/busines Ford Lost 2 Billion in 22 As Two Investments
2023-02-02   2023-02-03 s/ford-earnings-fourth-quarter-2022.html    Soured                                       By Neal E Boudette              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/busines
2023-02-02   2023-02-03 s/mortgage-rates-housing-market.html        Home Buyers Inch Back as Rates Fall          By Gregory Schmidt              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/busines Russian Gasoline and Diesel Are Europes
2023-02-02   2023-02-03 s/russia-diesel-ban.html                    New Embargo Targets                          By Stanley Reed                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/busines
2023-02-02   2023-02-03 s/shell-earnings-record-profit.html         Shells 2022 Profit Hit 42 Billion            By Stanley Reed                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/busines
2023-02-02   2023-02-03 s/trillion-dollar-coin-debt-ceiling.html    Can a TrillionDollar Coin Break the Gridlock By Alan Rappeport               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/climate Do Decals Prevent Bird Strikes They Can but
2023-02-02   2023-02-03 /bird-window-strikes-stickers.html          Theres a Catch                               By Catrin Einhorn               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/climate Brazil Plans to Sink Ship Packed With
2023-02-02   2023-02-03 /brazil-aircraft-carrier-asbestos.html      Asbestos                                     By Manuela Andreoni             TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/climate
2023-02-02   2023-02-03 /nebraska-mine-niobium-rare-earths.html     In Nebraska Patriotic Zeal For New Mine      By Dionne Searcey and Arin Yoon TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/movies/
2023-02-02   2023-02-03 a-lot-of-nothing-review.html                A Lot of Nothing                             By Lisa Kennedy                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/movies/
2023-02-02   2023-02-03 baby-ruby-review.html                       Baby Ruby                                    By Natalia Winkelman            TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/movies/
                        body-parts-review-even-sex-scenes-have-
2023-02-02   2023-02-03 rules.html                                  Body Parts                                   By Teo Bugbee                   TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/movies/
                        dionne-warwick-dont-make-me-over-
2023-02-02   2023-02-03 review.html                                 Dionne Warwick Dont Make Me Over             By Chris Azzopardi              TX 9-278-914    2023-04-04



                                                                                Page 4812 of 5793
                        https://www.nytimes.com/2023/02/02/movies/
2023-02-02   2023-02-03 full-time-review.html                      Full Time                                   By Beatrice Loayza                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/movies/
2023-02-02   2023-02-03 godland-review.html                        Another of Gods Lonely Men Battles Ego      By Manohla Dargis                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/movies/
2023-02-02   2023-02-03 knock-at-the-cabin-review.html             A Nice Quiet Apocalypse in the Country      By AO Scott                       TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/movies/
2023-02-02   2023-02-03 let-it-be-morning-review.html              Let It Be Morning                           By Ben Kenigsberg                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/movies/
2023-02-02   2023-02-03 love-in-the-time-of-fentanyl-review.html   Love in the Time Of Fentanyl                By Concepcin de Len               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/movies/
2023-02-02   2023-02-03 pathaan-review.html                        Pathaan                                     By Nicolas Rapold                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/movies/
2023-02-02   2023-02-03 the-amazing-maurice-review.html            The Amazing Maurice                         By Calum Marsh                    TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/movies/
                        the-blind-man-who-did-not-want-to-see-     The Blind Man Who Did Not Want To See
2023-02-02   2023-02-03 titanic-review.html                        Titanic                                     By Devika Girish                  TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/movies/
2023-02-02   2023-02-03 true-spirit-review.html                    True Spirit                                 By Nicolas Rapold                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/movies/
2023-02-02   2023-02-03 una-vita-difficile-review.html             How Life Changes All at Once and Not at All By AO Scott                       TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/nyregio Hochuls Push for More Charter Schools Faces
2023-02-02   2023-02-03 n/charter-schools-nyc-hochul.html          a Fight in New York City                    By Troy Closson                   TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/nyregio
                        n/eunice-dwumfour-sayreville-shooting-
2023-02-02   2023-02-03 nj.html                                    New Jersey Councilwoman Is Fatally Shot     By Tracey Tully and Daniel Victor TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/nyregio
                        n/new-york-police-department-misconduct-
2023-02-02   2023-02-03 settlements.html                           NYPD Misconduct Costs at 5Year High         By Hurubie Meko                   TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/nyregio City Halts Business With 20 Firms Serving By Brian M Rosenthal and Eliza
2023-02-02   2023-02-03 n/nyc-special-education-fraud.html         Yeshivas Amid Fraud Inquiry                 Shapiro                           TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/nyregio Jailed Trump Organization Executive Could By Ben Protess William K
2023-02-02   2023-02-03 n/trump-weisselberg-fraud.html             Face New Fraud Charges                      Rashbaum and Jonah E Bromwich TX 9-278-914        2023-04-04
                        https://www.nytimes.com/2023/02/02/opinion                                             By Kristie De Pea Robert Leonard
2023-02-02   2023-02-03 /immigration-states.html                   Open Jobs Refugees Seeking Work Hmm         and David Oman                    TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/02/sports/b Record Was Inevitable But as It Turns Out     By Tania Ganguli and Scott
2023-02-02   2023-02-03 asketball/kareem-abdul-jabbar-record.html   Was Not Unbreakable                           Cacciola                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/sports/f Bradys Departure Has a Ripple Effect Around
2023-02-02   2023-02-03 ootball/tom-brady-retirement-fox.html       the League                                    By Kevin Draper                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/sports/g A Tours Power to Punish LIV Players Faces a
2023-02-02   2023-02-03 olf/liv-european-tour.html                  Legal Test in Europe                          By Alan Blinder                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/sports/s With 750 Million Spree Chelsea Either Set the
2023-02-02   2023-02-03 occer/chelsea-transfers.html                Market or Broke It                            By Tariq Panja and Rory Smith   TX 9-278-914   2023-04-04




                                                                                 Page 4813 of 5793
                        https://www.nytimes.com/2023/02/02/technol Senator Calls For TikTok To Be Banned In
2023-02-02   2023-02-03 ogy/michael-bennet-tiktok-ban.html          App Stores                                 By Sapna Maheshwari               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/us/cong Congress Widens Its Investigation of Junior By Mike Baker and Nicholas
2023-02-02   2023-02-03 ress-investigation-jrotc.html               ROTCs Practices                            BogelBurroughs                    TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/us/mem Man Killed by Memphis Police Shot Officer By Eliza Fawcett and Nicholas
2023-02-02   2023-02-03 phis-police-shooting.html                   Authorities Say                            BogelBurroughs                    TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/us/nort Northeast Is Bracing for What May Be the
2023-02-02   2023-02-03 heast-frigid-weather.html                   Worst Wind Chill in Decades                By Judson Jones and Jenna Russell TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/02/us/polit Ann McLaughlin Korologos 81 Former Labor
2023-02-02   2023-02-03 ics/ann-mclaughlin-korologos-dead.html      Secretary Is Dead                          By Clay Risen                     TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/02/us/polit Bidens Top Economic Aide Who Had a Hand
2023-02-02   2023-02-03 ics/brian-deese-biden-economic-adviser.html in Negotiating Legislation Is Leaving   By Jim Tankersley                   TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/02/us/polit
                        ics/ilhan-omar-house-committee-             House Republicans Oust Omar From
2023-02-02   2023-02-03 republicans.html                            Committee Citing Israel Comments        By Karoun Demirjian                 TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/02/us/polit
2023-02-02   2023-02-03 ics/tortured-guantanamo-detainee-freed.html Guantnamo Detainee Once Tortured Is Freed By Carol Rosenberg                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/us/polit Trump Wont Commit to Backing GOP
2023-02-02   2023-02-03 ics/trump-2024-nominee-support.html         Presidential Nominee in 2024                By Michael C Bender               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/us/polit War Dead and Wounded Near 200000 for        By Helene Cooper Eric Schmitt and
2023-02-02   2023-02-03 ics/ukraine-russia-casualties.html          Russia                                      Thomas GibbonsNeff                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/world/a Peru Official Admits Theres No Proof
2023-02-02   2023-02-03 mericas/peru-protests.html                  Criminals Are Behind Protests               By Julie Turkewitz                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/world/a
2023-02-02   2023-02-03 sia/us-philippines-military.html            USPhilippines Deal Is Sign of Warmer Ties By Mike Ives                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/world/a
                        ustralia/australia-king-charles-5-dollar-   Australia Causes Stir by Announcing It Wont
2023-02-02   2023-02-03 bill.html                                   Put King Charles on Its 5Dollar Bill        By Natasha Frost                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/world/e
                        urope/eu-parliament-immunity-               2 Lawmakers In EU Lose Immunity Over
2023-02-02   2023-02-03 corruption.html                             Scandal                                     By Monika Pronczuk                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/world/e Pope and a Troubled Congo Energize Each
2023-02-02   2023-02-03 urope/pope-francis-congo.html               Other                                       By Jason Horowitz                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/world/e
                        urope/uk-northern-irealnd-troubles-omagh-
2023-02-02   2023-02-03 bombing.html                                New Inquiry on 1998 Northern Ireland Blast By Mark Landler                    TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/02/world/e With HighProfile Raids Zelensky Showcases
2023-02-02   2023-02-03 urope/ukraine-corruption-probe.html        a Fresh Resolve to Tackle Corruption      By Andrew E Kramer                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/02/world/
                        middleeast/israel-palestinian-demolition-  Does Israels Home Razing Deter or Incite
2023-02-02   2023-02-03 violence.html                              Terrorists                                By Isabel Kershner                 TX 9-278-914     2023-04-04




                                                                               Page 4814 of 5793
                        https://www.nytimes.com/2023/02/02/opinion
2023-02-03   2023-02-03 /ai-human-education.html                     In the Age of AI Major in Being Human      By David Brooks                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/opinion
2023-02-03   2023-02-03 /republicans-debt-ceiling-crisis.html        Blackmailers Without a Cause               By Paul Krugman                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/technol Tech Embraces Austerity To the Delight of By Tripp Mickle Karen Weise and
2023-02-03   2023-02-03 ogy/big-tech-earnings-austerity.html         Investors                                  Nico Grant                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/theater/
2023-02-03   2023-02-03 endgame-review.html                          A Wink and a Nod and a Bit of Trash Talk   By Laura CollinsHughes          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/us/polit US Suspects China Has Put A Spy Balloon
2023-02-03   2023-02-03 ics/china-spy-balloon-pentagon.html          Over Montana                               By Helene Cooper                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/us/polit Semiautomatic Pistols More Prevalent in
2023-02-03   2023-02-03 ics/gun-crime-atf.html                       Crimes                                     By Glenn Thrush                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/us/polit Eyeing China US Turns to Manila to Flex
2023-02-03   2023-02-03 ics/us-china-philippines.html                Muscles                                    By Edward Wong and Eric Schmitt TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/world/e                                              By Michael Schwirtz and Anton
2023-02-03   2023-02-03 urope/russia-ukraine-putin-stalingrad.html   To His People Putin Asserts A War Is Just  Troianovski                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/arts/tele
                        vision/shape-of-pasta-represent-murf-
2023-02-03   2023-02-03 surf.html                                    This Weekend I Have                        By Margaret Lyons               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/23/travel/n
2023-01-23   2023-02-04 ew-zealand-south-island-road-trip.html       Visiting a Salmon ShangriLa in New Zealand By Tom Downey                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/29/obituari Ray Cordeiro 98 Who Spun Records On Hong
2023-01-29   2023-02-04 es/ray-cordeiro-dead.html                    Kong Radio for 7 Decades                   By Tiffany May                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/opinion A Ban on TikTok Wont Make Us More
2023-02-01   2023-02-04 /tiktok-ban-china.html                       Secure                                     By Glenn S Gerstell             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/busines
2023-02-02   2023-02-04 s/eye-drops-ezricare-infections-cdc.html     Eye Drops Are Recalled After Bacteria Link By Amanda Holpuch               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/busines Joyce Dopkeen 80 First Female Photographer
2023-02-02   2023-02-04 s/media/joyce-dopkeen-dead.html              To Be Hired by The Times                   By Sam Roberts                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/world/a Court Vacates Tennis Stars Guilty Plea in
2023-02-03   2023-02-04 ustralia/nick-kyrgios-assault.html           Assault Case                               By Natasha Frost                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/03/arts/dan
2023-02-03   2023-02-04 ce/lil-buck-memphis-jookin-the-show.html    Street Moves Make Their Way to the Stage   By Brian Seibert               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/03/arts/des
2023-02-03   2023-02-04 ign/brooklyn-museum-first-saturdays.html    Celebrating 25 Years Of First Saturdays    By Kalia Richardson            TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/03/arts/des Fraud Charges Are Upheld Against Former
2023-02-03   2023-02-04 ign/martinez-louvre-trafficking-charges.html Louvre Chief                              By Aurelien Breeden            TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/03/arts/mu Carol Sloane 85 a Jazz Singer Who Found
2023-02-03   2023-02-04 sic/carol-sloane-dead.html                   Success Twice Dies                        By Penelope Green               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/03/arts/mu A Secret Deal Imploded Over Antisemitic     By Katherine Rosman Ben Sisario
2023-02-03   2023-02-04 sic/freeze-corleone-bmg-antisemitism.html    Lyrics                                    and Constant Mheut              TX 9-278-914    2023-04-04




                                                                               Page 4815 of 5793
                        https://www.nytimes.com/2023/02/03/arts/mu
                        sic/review-new-york-philharmonic-           A Conductor Draws New Energy From an
2023-02-03   2023-02-04 blomstedt.html                              Old Work                                     By Zachary Woolfe                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/arts/mu
2023-02-03   2023-02-04 sic/the-dream-muni-long-grammys.html        Tracing Their Two Paths to the Grammys       By Joe Coscarelli                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/busines
                        s/economy/federal-reserve-jobs-jerome-
2023-02-03   2023-02-04 powell.html                                 Jobs Report Is Challenge For the Fed         By Jeanna Smialek                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/busines
2023-02-03   2023-02-04 s/economy/jobs-report-january-2023.html     US Gained Half a Million Jobs Last Month     By Sydney Ember                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/busines Job Growth Gives Boost to Biden As He Bets By Zolan KannoYoungs and
2023-02-03   2023-02-04 s/economy/jobs-report-january-biden.html    on Lasting Turnaround                        Michael D Shear                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/busines Musk Wins Civil Trial Over Tweets About
2023-02-03   2023-02-04 s/elon-musk-tesla-investor-trial.html       Tesla                                        By Kalley Huang and Peter Eavis   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/health/a 911 Gets a Call Its Your Watch And Its
2023-02-03   2023-02-04 pple-watch-911-emergency-call.html          Worried                                      By Matt Richtel                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/movies/
                        movie-crying-close-babylon-the-woman-
2023-02-03   2023-02-04 king.html                                   A Good Cry Can Be Good Cinema                By Gabe Cohn                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/nyregio FBI Tries to Assess Damage After Arrest of By Michael Rothfeld William K
2023-02-03   2023-02-04 n/fbi-intelligence-charged-albania.html     ExOfficial                                   Rashbaum and Kenneth P Vogel      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/nyregio Schools and Ski Slopes Close as a Bitter Cold By Lola Fadulu Judson Jones and
2023-02-03   2023-02-04 n/northeast-cold-weather.html               Rolls Into the Northeast                     Jenna Russell                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/nyregio An ExProsecutor Says He Had Mapped Out a By William K Rashbaum Ben
2023-02-03   2023-02-04 n/trump-mark-pomerantz-book.html            Racketeering Case Against Trump              Protess and Jonah E Bromwich      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/opinion
2023-02-03   2023-02-04 /free-speech-stanford.html                  Cheering News for Free Speech on Campus By Pamela Paul                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/opinion There Already Is a Better Search Engine Than
2023-02-03   2023-02-04 /youtube-beats-google.html                  Google and Its Not ChatGPT                   By Farhad Manjoo                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/sports/a
2023-02-03   2023-02-04 manda-serrano-erika-cruz-preview.html       No Cellphone Many Belts A Big Purse          By Remy Tumin                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/sports/a After Extended Talks Ford Joining Red Bull
2023-02-03   2023-02-04 utoracing/ford-red-bull-formula-one.html    Is Back in Formula One                       By Tariq Panja                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/sports/b
                        asketball/kyrie-irving-brooklyn-nets-       Irving Dazzling on the Court and Mercurial By Tania Ganguli Scott Cacciola
2023-02-03   2023-02-04 trade.html                                  Off It Asks the Nets to Trade Him            and Sopan Deb                     TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/03/sports/o Ukraine Renews Its Threat to Boycott
2023-02-03   2023-02-04 lympics/ukraine-boycott-olympics-2024.html Olympics if Russian Athletes Compete         By Tariq Panja                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/style/pa Paco Rabanne Mystical Couturier of the
2023-02-03   2023-02-04 co-rabanne-dead.html                        Space Age Is Dead at 88                     By Vanessa Friedman                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/03/technol
2023-02-03   2023-02-04 ogy/chatgpt-openai-artificial-intelligence.html ChatGPT Kicked Off AI Frenzy            By Kevin Roose                     TX 9-278-914   2023-04-04




                                                                                 Page 4816 of 5793
                        https://www.nytimes.com/2023/02/03/us/main Influx of New Residents Creates Housing
2023-02-03   2023-02-04 e-population-housing.html                   Crunch in Maine                          By Jenna Russell                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/us/mem
2023-02-03   2023-02-04 phis-people-trauma.html                     Memphis Reels From Wounds It Cannot Heal By Richard Fausset                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/us/mon On the Ground Suspicion And Quite a Few
2023-02-03   2023-02-04 tana-china-spy-balloon.html                 Questions                                By Jim Robbins                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/us/polit Democrats Seeing a Weaker Trump Are      By Lisa Lerer Reid J Epstein and
2023-02-03   2023-02-04 ics/biden-2024-trump-democrats.html         Falling in Line Behind Biden             Katie Glueck                         TX 9-278-914   2023-04-04
                                                                    Preparing Union Address Biden Weighs
                        https://www.nytimes.com/2023/02/03/us/polit Accomplishments Against Unfinished
2023-02-03   2023-02-04 ics/biden-economy-state-of-the-union.html   Business                                 By Jim Tankersley                    TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/03/us/polit                                             By Katie Rogers and Zolan
2023-02-03   2023-02-04 ics/chinese-spy-balloon-civilian-device.html Big Questions Concerning The Balloon       KannoYoungs                       TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/03/us/polit At Right Hand Of the Speaker Sits a
2023-02-03   2023-02-04 ics/jeff-miller-lobbyist-kevin-mccarthy.html Lobbyist                                    By Kenneth P Vogel               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/us/polit Arizona Republican Still Contesting a Defeat
2023-02-03   2023-02-04 ics/kari-lake-arizona-senate.html            Eyes Another Race                           By Michael C Bender              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/us/polit Fears of Russias Use Of Nuclear Weapons      By Julian E Barnes and David E
2023-02-03   2023-02-04 ics/russia-nuclear-weapons.html              Diminish but Linger                         Sanger                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/us/polit
                        ics/subpoenas-house-republicans-parents-     Biden Faces Subpoenas From GOP Over
2023-02-03   2023-02-04 schools.html                                 Schools                                     By Luke Broadwater               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/us/repu Debate on Term Limits Is Back Most Likely
2023-02-03   2023-02-04 blicans-term-limits-house.html               for a Limited Time                          By Carl Hulse                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/world/a In South Sudan Pope Recounts Troubles of      By Declan Walsh Jason Horowitz
2023-02-03   2023-02-04 frica/pope-francis-south-sudan.html          Young Fractured Nation                      and Jim Huylebroek               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/world/a Blinken Calls Off Meetings In China Over      By Edward Wong Helene Cooper
2023-02-03   2023-02-04 sia/china-spy-balloon.html                   Spy Balloon                                 and Chris Buckley                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/world/a Hong Kong Hopes to Repair Its Battered
2023-02-03   2023-02-04 sia/hong-kong-free-airline-tickets.html      Image With Plane Ticket Giveaway            By Mike Ives and Zixu Wang       TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/03/world/e Spa Town Loved by Russians Looks to the
2023-02-03   2023-02-04 urope/czech-russia-karlovy-vary-tourists.html West                                      By Andrew Higgins                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/world/e In England A Nice Walk Yields Gold From a
2023-02-03   2023-02-04 urope/detectorist-pendant-henry-viii.html      King                                     By Daniel Victor                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/world/e Disgraced Glam Rock Star Released From
2023-02-03   2023-02-04 urope/gary-glitter-released.html               Prison After Serving Half His Sentence   By Jenny Gross                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/world/e After Years Eluding Law Finally Found
2023-02-03   2023-02-04 urope/italian-mobster-pizzeria-france.html     Flipping Pies                            By Elisabetta Povoledo            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/world/e
                        urope/paris-brussels-terror-attacks-stanislas- A Lawyer Strives to Humanize a Convicted
2023-02-03   2023-02-04 eskenazi.html                                  Terrorist                                By Monika Pronczuk                TX 9-278-914   2023-04-04




                                                                                Page 4817 of 5793
                        https://www.nytimes.com/2023/02/03/world/e Man Who Threatened to Kill Queen Elizabeth
2023-02-03   2023-02-04 urope/queen-crossbow-intruder-treason.html Pleads Guilty to Treason                    By Mark Landler              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/your-
2023-02-03   2023-02-04 money/savings-account-rates-banks.html      Is It Time for a HighYield Savings Account By Ann Carrns                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/article/ukraine-    When Kyiv Can Expect All the Weapons Sent
2023-02-03   2023-02-04 weapons-jets-tanks.html                     by the US and Its European Allies          By Lara Jakes                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/climate Brazil Plans to Sink Warship Packed With
2023-02-04   2023-02-04 /brazil-aircraft-carrier-sao-paulo.html     Toxic Materials                            By Manuela Andreoni          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/us/mem
                        phis-emt-suspended-preston-hemphill-        Two EMTs Are Punished For Delaying
2023-02-04   2023-02-04 fired.html                                  Nicholss Care                              By Nicholas BogelBurroughs   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/us/polit Trump Settles With ExAide Over the Use Of
2023-02-04   2023-02-04 ics/trump-campaign-nda-settlement.html      NDAs                                       By Maggie Haberman           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/world/e EU Promises Aid in Kyivs Plight but Tamps
2023-02-04   2023-02-04 urope/eu-ukraine-russia.html                Down Membership Talk                       By Matina StevisGridneff     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2022/12/07/books/ Literary Destinations Read Your Way
2022-12-07   2023-02-05 marlon-james-kingston-jamaica-books.html Through Kingston Jamaica                      By Marlon James              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/10/books/r
2023-01-10   2023-02-05 eview/fatin-abbas-ghost-season.html         War Comes Knocking                         By Sulaiman Addonia          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/14/books/r
                        eview/masters-of-the-lost-land-heriberto-
2023-01-14   2023-02-05 araujo.html                                 Life and Much Death in the Amazon          By Joshua Hammer             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/16/books/r
2023-01-16   2023-02-05 eview/rough-sleepers-tracy-kidder.html      Street Medicine                            By Wes Enzinna               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/16/books/r
2023-01-16   2023-02-05 ikers-oral-history.html                     The Fire Inside                            By Dwight Garner             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/17/books/r
                        eview/the-status-revolution-chuck-
2023-01-17   2023-02-05 thompson.html                               Cheap Thrills                              By Douglas Wolk              TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/01/17/books/r
2023-01-17   2023-02-05 oald-dahl-biography-matthew-dennison.html A Rosier View of Roald Dahl                  By Alexandra Jacobs          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/18/books/r
                        eview/how-to-sell-haunted-house-grady-
2023-01-18   2023-02-05 hendrix.html                               Puppets Revenge                             By Danielle Trussoni         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/24/movies/
                        andrea-riseborough-oscar-nomination-to-    In the Glow of an Unexpected Oscar
2023-01-24   2023-02-05 leslie.html                                Nomination                                  By Sarah Bahr                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/26/books/r
2023-01-26   2023-02-05 eview/babel-r-f-kuang.html                 RF Kuang Is Curious About Something         By Elisabeth Egan            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/27/books/r
2023-01-27   2023-02-05 eview/salesses-kois-bringley.html          New York City                               By Tobias Carroll            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/27/movies/
2023-01-27   2023-02-05 infinity-pool-nc17-r-rating.html           Sex and Gore and a Battle for an R Rating   By Julia Jacobs              TX 9-278-914   2023-04-04



                                                                                Page 4818 of 5793
                        https://www.nytimes.com/2023/01/28/books/r
2023-01-28   2023-02-05 eview/the-faraway-world-patricia-engel.html Somewhere Else                             By Leigh Newman                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/29/style/th
2023-01-29   2023-02-05 e-traitors-alan-cumming.html                Murder Mystery Clothes to Die For          By Maggie Lange                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/30/magazi They Ran an Illegal Scam Do We Let Our
2023-01-30   2023-02-05 ne/scam-parenting-ethics.html               Child Go to Their Home                     By Kwame Anthony Appiah        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/30/opinion
2023-01-30   2023-02-05 /britain-rishi-sunak.html                   Britains New Prime Minister Stumbles Along By Moya LothianMcLean          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/30/opinion
2023-01-30   2023-02-05 /religion-supreme-court.html                The Crusade to Place Church Over State     By Linda Greenhouse            TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/01/30/realesta
2023-01-30   2023-02-05 te/living-alone-roommates-apartments.html Enough With Roommates Give Him Freedom By Alix Strauss                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/30/upshot/                                               By Reed Abelson and Margot
2023-01-30   2023-02-05 medicare-overbilling-biden-rule.html         Medicare Audits Aim To Recover 47 Billion SangerKatz                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/01/
                        30/magazine/robin-wall-kimmerer-             You Dont Have to Be Complicit in Our
2023-01-30   2023-02-05 interview.html                               Culture of Destruction                      By David Marchese            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/arts/mu
2023-01-31   2023-02-05 sic/wynonna-judd-naomi-judds.html            Forging a Path to the Rest of Her Career    By Grayson Haver Currin      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/arts/tele Gina Rodriguez Has a Playlist for When She
2023-01-31   2023-02-05 vision/gina-rodriguez-not-dead-yet.html      Gives Birth                                 By Chris Kornelis            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/magazi
2023-01-31   2023-02-05 ne/sidewalk-fossils.html                     Sidewalk Fossils                            By Jessica Leigh Hester      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/realesta
2023-01-31   2023-02-05 te/kids-playroom-design.html                 Playrooms That Not Only the Kids Will Love By Tim McKeough               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/arts/tele
2023-02-01   2023-02-05 vision/inside-story.html                     Criminal Justice From the Inside Out        By Kalia Richardson          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/books/r
2023-02-01   2023-02-05 eview/new-thrillers.html                     Knock Wood                                  By Sarah Lyall               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/books/r
2023-02-01   2023-02-05 eview/salman-rushdie-victory-city.html       The Secret History                          By Michael Gorra             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/magazi Motorcycle Rides Beach Breezes and the
2023-02-01   2023-02-05 ne/butter-garlic-shrimp-hawaii-recipe.html   Shrimp Ill Never Forget                     By Ligaya Mishan             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/magazi
                        ne/menopause-hot-flashes-hormone-
2023-02-01   2023-02-05 therapy.html                                 A Vicious Cycle                             By Susan Dominus             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/magazi
2023-02-01   2023-02-05 ne/tiktok-watch-dealers.html                 Watch Men                                   By Jasper Craven             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/nyregio
2023-02-01   2023-02-05 n/nj-maplewood-home-arson.html               After a Painful Foreclosure Hope Slips Away By Tracey Tully              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/opinion
2023-02-01   2023-02-05 /last-boeing-747-queen-of-the-skies.html     Bon Voyage Boeing 747                       By Sam Howe Verhovek         TX 9-278-914   2023-04-04




                                                                               Page 4819 of 5793
                        https://www.nytimes.com/2023/02/01/realesta
2023-02-01   2023-02-05 te/bridgeport-connecticut-homes.html         A Diamond in the Rough Reinvents Itself    By C J Hughes                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/realesta
                        te/home-prices-arizona-florida-
2023-02-01   2023-02-05 massachusetts.html                           19 Million                                 By Angela Serratore            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/realesta
2023-02-01   2023-02-05 te/ira-wallace-seed-exchange-south.html      The Godmother of Southern Heirloom Seeds   By Margaret Roach              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/style/fa
2023-02-01   2023-02-05 mily-betrayal-trust.html                     Daughters Betrayal                         By Philip Galanes              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/theater/
                        oscar-isaac-rachel-brosnahan-sign-in-sidney-
2023-02-01   2023-02-05 brusteins-window.html                        Beckoned by a Neglected Hansberry Play     By Alexis Soloski              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/us/allan-Allan A Ryan Dogged Pursuer of Nazi
2023-02-01   2023-02-05 a-ryan-dead.html                             Collaborators Is Dead at 77                By Clay Risen                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/arts/mu
2023-02-02   2023-02-05 sic/charles-munch-conductor.html             At the Extremes He Found the Joy           By David Allen                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/magazi
2023-02-02   2023-02-05 ne/fani-willis-trump.html                    The Implacable Fani Willis                 By Mark Binelli                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/magazi
                        ne/judge-john-hodgman-on-the-price-is-right-
2023-02-02   2023-02-05 strategies.html                              Bonus Advice From Judge John Hodgman       By John Hodgman                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/magazi
2023-02-02   2023-02-05 ne/poem-birthday.html                        Poem Birthday                              By Ana Boievi and Anne Boyer   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/magazi
                        ne/they-outlasted-the-dinosaurs-can-they-
2023-02-02   2023-02-05 survive-us.html                              Sturgeon Sacrifice                         By Andrew S Lewis              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/opinion                                              By Richard Powers and Joshua
2023-02-02   2023-02-05 /atlanta-police-center-protests.html         What Could Make a Person Die for Trees     Dudley Greer                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/opinion
2023-02-02   2023-02-05 /syria-homs-war.html                         I Will Fight the Forgetting of Homs        By Ammar Azzouz                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/opinion The Search for the Real Franz Kafka
2023-02-02   2023-02-05 /translating-franz-kafka-diaries.html        Continues                                  By Ross Benjamin               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/realesta
                        te/single-women-own-more-homes-than-
2023-02-02   2023-02-05 single-men.html                              Gender Imbalance for Owned Homes           By Michael Kolomatsky          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/style/co Dads Are in the House and Have Formed a
2023-02-02   2023-02-05 ngress-dads-jimmy-gomez.html                 Caucus                                     By Marc Tracy                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/02/style/he
2023-02-02   2023-02-05 ather-gay-real-housewives-bad-mormon.html A Real Housewives Star Is on a Journey       By Valeriya Safronova           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/style/ny
2023-02-02   2023-02-05 c-restaurant-proposals.html                  Whats on the Menu Many Marriage Proposals By Brittany Loggins             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/
                        02/realestate/washington-dc-capitol-heights- She Became a Broker to Buy Her Own House
2023-02-02   2023-02-05 house-sale.html                              Near Washington DC Which Did She Choose By Michele Lerner                 TX 9-278-914   2023-04-04



                                                                               Page 4820 of 5793
                        https://www.nytimes.com/2023/02/03/arts/dan
                        ce/the-night-falls-troy-schumacher-karen-
2023-02-03   2023-02-05 russell.html                                   Swaying to a Novelists Beat                  By Brian Seibert        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/arts/des
2023-02-03   2023-02-05 ign/vermeer-rijksmueums.html                   Lots of Vermeers and a Few Mysteries         By Nina Siegal          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/books/l Linda Pastan 90 Poet Who Wrote of Family
2023-02-03   2023-02-05 inda-pastan-dead.html                          Nature Loss and Dogs                         By Neil Genzlinger      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/books/r
                        eview/eric-carle-eric-loves-animals-just-like-
2023-02-03   2023-02-05 you.html                                       Beings and Somethingness                     By Jon Klassen          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/books/r
2023-02-03   2023-02-05 eview/essex-dogs-dan-jones.html                Storming Normandy in 1346                    By Ian McGuire          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/books/r
2023-02-03   2023-02-05 eview/jen-beagin-big-swiss.html                Intimate Acts                                By Jennifer Wilson      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/busines
                        s/economy/us-homeless-population-              This Is What It Looks Like to Try to Count
2023-02-03   2023-02-05 count.html                                     Americas Homeless Population                 By The New York Times   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/busines Value Stocks Growth Stocks Its All
2023-02-03   2023-02-05 s/value-growth-stocks.html                     TopsyTurvy                                   By Jeff Sommer          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/busines
2023-02-03   2023-02-05 s/work-shared-office.html                      A Baby Has Put Somebody in a Corner          By Roxane Gay           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/nyregio
2023-02-03   2023-02-05 n/little-tokyo-brooklyn.html                   A Japanese Hot Spot Emerges in Brooklyn      By Devorah LevTov       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/opinion The State of the Union Could Use Some
2023-02-03   2023-02-05 /biden-state-of-the-union.html                 RazzleDazzle                                 By Josh Tyrangiel       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/opinion
2023-02-03   2023-02-05 /bird-flu-h5n1-pandemic.html                   The Next Pandemic Could Be Deadlier          By Zeynep Tufekci       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/opinion
                        /kimewon-metchewais-native-american-
2023-02-03   2023-02-05 art.html                                       He Spoke My Art Language                     By Wendy Red Star       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/opinion
2023-02-03   2023-02-05 /police-violence-democracy.html                When the Police Are the Government           By Jamelle Bouie        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/opinion
2023-02-03   2023-02-05 /the-last-of-us-conservative.html              Actually The Last of Us Is Conservative      By Michelle Goldberg    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/realesta
2023-02-03   2023-02-05 te/dogs-service-elevator-nyc.html              Not Always FrontDoor Worthy                  By Sarah Maslin Nir     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/realesta Big Discounts on Top Listings Push a Trend
2023-02-03   2023-02-05 te/luxury/top-nyc-sales.html                   Into the New Year                            By Vivian Marino        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/sports/s Premier League Just Gets Richer and Thats a
2023-02-03   2023-02-05 occer/chelsea-transfer-window.html             Big Problem                                  By Rory Smith           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/style/do When the AirConditioner Sputtered Things
2023-02-03   2023-02-05 rine-seidman-harvey-starin-wedding.html        Heated Up                                    By Rosalie R Radomsky   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/style/m
2023-02-03   2023-02-05 arc-jacobs-fashion-show.html                   At the Marc Jacobs Show a Ghost              By Vanessa Friedman     TX 9-278-914   2023-04-04




                                                                                  Page 4821 of 5793
                        https://www.nytimes.com/2023/02/03/style/m
                        odern-love-two-kisses-we-never-talked-     The Two Kisses That We Never Talked
2023-02-03   2023-02-05 about.html                                 About                                        By Alessandra Ranelli           TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/03/style/ni In a Stack of Music CDs Finding a Future
2023-02-03   2023-02-05 ffer-desmond-paul-petroskey-wedding.html Partner                                        By Sadiba Hasan                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/03/style/pa
                        ula-sapion-miranda-deidre-olsen-
2023-02-03   2023-02-05 wedding.html                                Living Out Loud and Proud in Berlin         By Rosalie R Radomsky           TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/03/style/sh A Friendship Evolves Thanks to an Unusual
2023-02-03   2023-02-05 uo-chen-gorick-ng-wedding.html              Date                                        By Tammy LaGorce                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/03/us/dalla At Dallas Zoo One Gut Punch After Another
2023-02-03   2023-02-05 s-zoo-monkeys-arrest.html                   in the Case of the Missing Animals          By J David Goodman              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/03/us/polit
2023-02-03   2023-02-05 ics/sugar-salt-school-meals.html            Curtailing Sugar and Salt in School Meals   By Linda Qiu                    TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/03/technol
2023-02-04   2023-02-05 ogy/twitter-elon-musk-adviser-lawsuit.html Advisory Firm Sues Twitter for Payment       By Lauren Hirsch and Kate Conger TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/busines Disney World Employees Turn Down Deal
2023-02-04   2023-02-05 s/disney-world-workers-union.html          Offer                                        By Brooks Barnes                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/04/fashion
2023-02-04   2023-02-05 /plus-size-models-weight.html              Fashion Industry Still Worships Skinniness   By Elizabeth Paton              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/04/nyregio Coldest Temperatures in Decades and
2023-02-04   2023-02-05 n/cold-weather-wind-chill-northeast.html   Frostquakes Batter Northeast                 By Jenna Russell                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/04/nyregio
2023-02-04   2023-02-05 n/kalalea-new-yorker-radio-hour.html       She Keeps an Ear Out for Many Things         By Vivian Ewing                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/04/nyregio
2023-02-04   2023-02-05 n/migrant-crisis-nyc.html                  Migrants Shelter and a Strained System       By Ginia Bellafante             TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/04/opinion The Grammys Are Outdated We Need Them
2023-02-04   2023-02-05 /grammys-music-new-artists.html            Anyway                                       By Warren Zanes                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/04/opinion
2023-02-04   2023-02-05 /meat-pork-animal-farm.html                Spy Cams Reveal Pork Industry Secrets        By Nicholas Kristof             TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/04/opinion Climate Change Is Already Uprooting
2023-02-04   2023-02-05 /sunday/climate-change-migration-home.html American Families                            By Jake Bittle                  TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/04/opinion
2023-02-04   2023-02-05 /the-costs-of-a-long-war-in-ukraine.html    The Costs of a Long War in Ukraine          By Ross Douthat                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/04/opinion
2023-02-04   2023-02-05 /tyre-nichols-police-reform.html            Watching the Watchmen                       By The Editorial Board          TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/04/realesta
                        te/how-can-my-brother-buy-my-share-of-our- How Can My Brother Buy My Share Of Our
2023-02-04   2023-02-05 parents-home.html                           Parents Former Home                         By Debra Kamin                  TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/04/sports/b
                        asketball/lebron-james-lakers-record-       James Masters Art of Celebrity On or Off
2023-02-04   2023-02-05 career.html                                 Court                                       By Tania Ganguli                TX 9-278-914    2023-04-04



                                                                               Page 4822 of 5793
                        https://www.nytimes.com/2023/02/04/sports/p Even if You Play Pickleball Will You Pay to
2023-02-04   2023-02-05 ickleball-professional.html                 Watch a Pro Do It                           By Jesus Jimnez                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/style/po
2023-02-04   2023-02-05 ppy-liu-hacks-queer-actress.html            Imbuing an Essence                          By Ilana Kaplan                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/us/big- Living in Natures Beauty but Often Trapped
2023-02-04   2023-02-05 sur-storms-california.html                  by Its Fury                                 By Victoria Kim and Ian C Bates   TX 9-278-914   2023-04-04

                                                                                                            By Steve Eder Matthew Rosenberg
                        https://www.nytimes.com/2023/02/04/us/mem                                           Joseph Goldstein Mike Baker
2023-02-04   2023-02-05 phis-police-scorpion.html                 Memphis Unit Driven by Fists And Violence Kassie Bracken and Mark Walker TX 9-278-914          2023-04-04

                        https://www.nytimes.com/2023/02/04/us/polit Balloons Appearance Follows Recent           By Julian E Barnes and Edward
2023-02-04   2023-02-05 ics/balloon-congress-surveillance-report.html Warnings of Advanced Spy Technology        Wong                             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/us/polit Wafting Over America Flights of Fancy Fear
2023-02-04   2023-02-05 ics/chinese-spy-balloon-obsession.html        and Fascination                            By Katie Rogers                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/us/polit US Shoots Down A Balloon China Sent to       By Helene Cooper and Edward
2023-02-04   2023-02-05 ics/chinese-spy-balloon-shot-down.html        Surveil                                    Wong                             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/us/polit
2023-02-04   2023-02-05 ics/democrats-vote-primary-calendar.html      Democrats Vote To Reset Order Of Primaries By Katie Glueck                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/us/polit Role in Kabul Attack Put Financier on US Hit
2023-02-04   2023-02-05 ics/isis-somalia-kabul-bombing.html           List                                       By Eric Schmitt                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/us/polit Digital Trading Card Venture Shows Selling
2023-02-04   2023-02-05 ics/trump-cards-nfts.html                     Trump Isnt What It Used to Be              By Ken Bensinger                 TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/04/world/e The Correct Color of Bees A States Nazi Past
2023-02-04   2023-02-05 urope/austria-bees-carinthia-carniolan.html Fuels a Toxic Debate                        By Denise Hruby                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/world/e Expected to Build Its Defense Europe Instead
2023-02-04   2023-02-05 urope/europe-defense-ukraine-war.html       Relies on US                                By Steven Erlanger                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/04/world/e After Gutting Youth Services Can UK Cut
2023-02-04   2023-02-05 urope/london-austerity-youth-violence.html Youth Crime                                  By Euan Ward                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/world/e Papal Visit to South Sudan Focuses Attention By Jason Horowitz and Declan
2023-02-04   2023-02-05 urope/pope-francis-south-sudan.html         on Struggle for Peace                       Walsh                             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/world/e Russia Pushes To Seize Town And Protect
2023-02-04   2023-02-05 urope/ukraine-russia-war-vuhledar.html      Supply Line                                 By Marc Santora                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/world/
                        middleeast/us-turkey-uae-russia-            US Presses Its Partners to Weed Out Illicit
2023-02-04   2023-02-05 sanctions.html                              Trade With Moscow                           By Ben Hubbard                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/sports/n For One Day Rutgers Turns the Garden Into a
2023-02-05   2023-02-05 caabasketball/rutgers-michigan-state.html   New Jersey Bastion                          By Billy Witz                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/busines
                        s/the-week-in-business-federal-reserve-
2023-02-05   2023-02-05 interest-rates.html                         The Week in Business The Fed Slows Down By Marie Solis                        TX 9-278-914   2023-04-04




                                                                                Page 4823 of 5793
                        https://www.nytimes.com/2023/02/05/insider/
                        a-house-fire-ignites-a-journalists-
2023-02-05   2023-02-05 curiosity.html                               A House Fire Ignites a Journalists Curiosity By Tracey Tully                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/insider/
2023-02-05   2023-02-05 an-old-stalwart.html                         An Old Stalwart                              By David W Dunlap              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/style/al
2023-02-05   2023-02-05 ex-moss-jewelry-drake.html                   Where Rap Gods Get Their Bling               By Christopher Barnard         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/style/pa
                        rties-eric-adams-and-chelsea-clinton-
2023-02-05   2023-02-05 galas.html                                   Music and Art Are Causes For Celebration     By Denny Lee                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/world/a How China Dealt a Knockout Blow to Its
2023-02-05   2023-02-05 sia/hong-kong-47-security-law.html           Opponents in Hong Kong                       By Tiffany May                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/world/
                        middleeast/israel-palestine-settlers-west-                                                By Patrick Kingsley and Raja
2023-02-05   2023-02-05 bank.html                                    Far Rights Rise Kindling Fears In West Bank Abdulrahim                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/books/r
2023-02-09   2023-02-05 eview/the-wife-of-bath-marion-turner.html    The Good Wife                                By Erin Maglaque               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/article/lebron-james Tracking James As He Gets Close To 38387
2023-01-25   2023-02-06 score-record-tracker.html                    Points                                       By Tania Ganguli               TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/02/busines Shaking Up Market For Nutrition Drinks
2023-02-02   2023-02-06 s/dealbook/nutrition-drinks-ensure-boost.html Proves Challenging                         By Elizabeth G Dunn             TX 9-278-914   2023-04-04
                                                                                                                 By John Ismay Natalie Keyssar
                        https://www.nytimes.com/interactive/2023/02/                                             Lyndon French Marisa Schwartz
2023-02-02   2023-02-06 02/us/dc-ammunition.html                     How to Forge Shells for Ukraines Artillery  Taylor and Rebecca Lieberman    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/arts/joh Academic Literary Criticism What Is It Good
2023-02-03   2023-02-06 n-guillory-literary-criticism.html           For                                        By Jennifer Schuessler           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/arts/tele Chinese Series Adaptation Beats Netflix to
2023-02-03   2023-02-06 vision/three-body-review.html                the Screen                                 By Mike Hale                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/books/l
2023-02-03   2023-02-06 ula-brazil-literature-books.html             More Books In Place of Guns                By Eric M B Becker               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/briefing
2023-02-03   2023-02-06 /why-eggs-cost-so-much.html                  Why Do Eggs Cost So Much                   By Ashley Wu                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/busines Retirees Lost Millions to Romance Scams
2023-02-03   2023-02-06 s/retiree-romance-scams.html                 During Lonely Days of the Pandemic         By Emily Schmall                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/movies/
2023-02-03   2023-02-06 m-night-shyamalan-career.html                Can We Again Trust M Night Shyamalan       By Amy Nicholson                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/nyregio On Upper East Side an ExGovernor and an
2023-02-03   2023-02-06 n/eliot-spitzer-lawsuit-condo-nyc.html       Elite Coop Board Clash Over a Ditch        By Stefanos Chen                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/busines As Adanis Fortunes Crash Pain Ripples
2023-02-04   2023-02-06 s/adani-modi-india.html                      Across India                               By Alex Travelli                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/busines Bob Born Confectioner Who Made Peeps a
2023-02-04   2023-02-06 s/bob-born-dead.html                         Fixture of Easter Dies at 98               By Clay Risen                    TX 9-278-914   2023-04-04




                                                                                 Page 4824 of 5793
                        https://www.nytimes.com/2023/02/04/busines Microsofts Activision Deal Tests New Global By Ephrat Livni and Michael J de
2023-02-04   2023-02-06 s/dealbook/microsofts-activision-deal.html   Alignment on Antitrust                      la Merced                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/busines FTX Inquiry Expands to Others in Founders By Matthew Goldstein and David
2023-02-04   2023-02-06 s/ftx-sbf-inquiry-executives.html            Orbit                                       YaffeBellany                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/sports/i
                        ronman-world-championship-kona-              For Ironmans Elite Moving of Kona Race Is a
2023-02-04   2023-02-06 triathlon.html                               Blow to a Dream                             By Talya Minsberg                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/style/ja Jackie Rogers 90 Designer Known for
2023-02-04   2023-02-06 ckie-rogers-dead.html                        Colorful Fashions                           By Alex Williams                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/arts/dan
2023-02-05   2023-02-06 ce/review-pam-tanowitz-royal-ballet.html     A Portal Into the Memories of Ballet        By Roslyn Sulcas                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/arts/mu
2023-02-05   2023-02-06 sic/grammys-2023-winners-list.html           2023 Grammy Winners                         By The New York Times            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/arts/tele Charles Kimbrough 86 Who Portrayed a Stoic
2023-02-05   2023-02-06 vision/charles-kimbrough-dead.html           TV Newsman on Murphy Brown                  By Alex Williams                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/busines Is Goldmans CEO Mixing His Day Job and By Emily Flitter and Katherine
2023-02-05   2023-02-06 s/david-solomon-dj-goldman-sachs.html        DJ Side Hobby                               Rosman                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/crossw
2023-02-05   2023-02-06 ords/daily-puzzle-2023-02-06.html            A Crossword that Looks Back at Earth        By Rachel Fabi                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/obituari Melinda Dillon 83 Dies Former Broadway
2023-02-05   2023-02-06 es/melinda-dillon-dead.html                  Star Known for Playing Mom                  By Alex Traub                    TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/05/opinion
2023-02-05   2023-02-06 /memphis-police-academia-partisanship.html Bad Apples or Systemic Issues                  By David French                 TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/05/sports/a
2023-02-05   2023-02-06 manda-serrano-katie-taylor-erika-cruz.html Securing an Undisputed Title and a Rematch By Remy Tumin                       TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/05/sports/b
2023-02-05   2023-02-06 asketball/kyrie-irving-trade-mavericks.html Irvings Nets Era Ends With Trade to Dallas    By Tania Ganguli                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/sports/b
                        asketball/lebron-james-age-scoring-         James Closes In on Scoring Record and Still
2023-02-05   2023-02-06 record.html                                 Goes for Broke at 38                          By Kris Rhim                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/theater/ Tales of Spellbound Fans And Constant
2023-02-05   2023-02-06 on-set-with-theda-bara-review.html          Surveillance                                  By Laura CollinsHughes          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/us/alas Skull Found in Alaska Linked To Man
2023-02-05   2023-02-06 ka-skull-dna-testing.html                   Missing Since 1976                            By Amanda Holpuch               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/us/polit
2023-02-05   2023-02-06 ics/balloon-china-spying-united-states.html Brazen Move Stands Apart in Rivalry           By David E Sanger               TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/05/us/polit For Biden a Chance For a Fresh Start Amid
2023-02-05   2023-02-06 ics/biden-state-of-the-union-republicans.html Deep Divisions                              By Peter Baker                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/us/polit Diplomatic Ties Strained Over Downed Spy      By Helene Cooper and Edward
2023-02-05   2023-02-06 ics/chinese-spy-balloon-shot-down.html        Balloon                                     Wong                            TX 9-278-914   2023-04-04



                                                                                 Page 4825 of 5793
                        https://www.nytimes.com/2023/02/05/us/polit As GOP Rails Against Spending Its Appetite
2023-02-05   2023-02-06 ics/gop-federal-spending.html               for Earmarks Grows                         By Stephanie Lai                TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/05/us/polit
                        ics/koch-donors-trump-campaign-                                                        By Maggie Haberman Jonathan
2023-02-05   2023-02-06 finance.html                                Koch Network Signals a Plan To Fight Trump Swan and Kenneth P Vogel        TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/05/world/a Returning From Africa Pope Condemns Laws
2023-02-05   2023-02-06 frica/pope-francis-africa-homosexuality.html Against Homosexuality                   By Jason Horowitz                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/05/world/a Chinas Options Limited As Balloon Is Shot
2023-02-05   2023-02-06 sia/china-balloon-united-states.html         Down                                    By Chris Buckley                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/05/world/a Pervez Musharraf Former Ruler of Pakistan By Alan Cowell and Stephen
2023-02-05   2023-02-06 sia/pervez-musharraf-dead.html               and US Ally Dies at 79                  Kinzer                            TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/05/world/c
                        anada/toronto-greenbelt-development-         Plan to Build Homes in Our Central Park
2023-02-05   2023-02-06 homes.html                                   Causes Uproar in Toronto                By Norimitsu Onishi               TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/05/world/e Zelenskys Party Plans Defense Ministry       By Marc Santora Shashank Bengali
2023-02-05   2023-02-06 urope/russia-ukraine-bakhmut-wagner.html Shakeup as Fighting Widens in East             and Cassandra Vinograd           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/world/e
                        urope/ukraine-russia-war-carpathians-       Its Like Paradise Ski Resorts Offer Respite By Megan Specia and Brendan
2023-02-05   2023-02-06 skiing.html                                 From a Life Under Siege                     Hoffman                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/world/ Iran Announces Amnesty but the Exceptions
2023-02-05   2023-02-06 middleeast/iran-amnesty-protests.html       May Rule Out Many Protesters                By Vivian Yee                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/opinion
2023-02-06   2023-02-06 /ukraine-war-putin.html                     Year Two of the Ukraine War Will Get Scary By Thomas L Friedman              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/sports/s
                        outh-carolina-uconn-aliyah-boston-aaliyah- Gamecocks Keep Record Unblemished With
2023-02-06   2023-02-06 edwards.html                                Win Over Connecticuts Huskies               By Billy Witz                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/us/austi In Texas a Citys Recovery From an Icy Storm By Dave Montgomery and Ava
2023-02-06   2023-02-06 n-power-outages-ice-storm.html              Is Slow and Spotty                          Sasani                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/us/nort North Carolina Court to Rehear 2 Major
2023-02-06   2023-02-06 h-carolina-supreme-court-voting-rights.html Voting Cases                                By Michael Wines                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/us/polit An Intruder in the Sky Superpowers on Edge
2023-02-06   2023-02-06 ics/balloon-china-u2-soviet-union.html      But Its 1960 Not 2023                       By Peter Baker                   TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/06/arts/mu
2023-02-06   2023-02-06 sic/grammy-awards-beyonce-harry-styles.html Working to Sound All the Right Notes        By Ben Sisario                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/06/arts/tele
                        vision/whats-on-tv-7-toughest-days-on-earth-
2023-02-06   2023-02-06 super-bowl.html                              This Week on TV                            By Kristen Bayrakdarian        TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/06/nyregio 3 Million at a Carwash Testimony Against
2023-02-06   2023-02-06 n/garcia-luna-trial-mexico-takeaways.html    Mexicos Former Top Lawman                  By Alan Feuer and Nate Schweber TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/06/opinion Just How Balky Will the State of the Union
2023-02-06   2023-02-06 /biden-state-of-the-union.html               Be                                         By Michelle Cottle             TX 9-278-914     2023-04-04




                                                                                Page 4826 of 5793
                        https://www.nytimes.com/2023/02/06/sports/f
                        ootball/chiefs-bar-big-charlies-            In Deep Eagles Territory an Oasis for Chiefs
2023-02-06   2023-02-06 philadelphia.html                           Fans Faces a Conundrum                       By Jer Longman              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/sports/f As Jackson Prepares to Negotiate Pay Lamar
2023-02-06   2023-02-06 ootball/lamar-jackson-contract-ravens.html  Is Heard Across NFL                          By Kris Rhim                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/06/technol
2023-02-06   2023-02-06 ogy/chatgpt-schools-teachers-ai-ethics.html New in Coding Class Critiquing ChatGPT      By Natasha Singer            TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/06/us/polit Frustrated Harris Struggles to Define Her   By Zolan KannoYoungs Katie
2023-02-06   2023-02-06 ics/kamala-harris-vice-presidenct-legacy.html Role                                      Rogers and Peter Baker       TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/01/18/science Toxic Behavior How a Dining Delight
2023-01-18   2023-02-07 /oyster-mushrooms-carnivorous-toxins.html Manages to Satisfy Its Own Appetite for Flesh By Veronique Greenwood       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/23/science New Rotations At Earths Inner Core A Shift
2023-01-23   2023-02-07 /earth-core-reversing-spin.html             in the Spin Cycle                           By Robin George Andrews      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/25/science Fiery Moon A Volcanic Tug of War In
2023-01-25   2023-02-07 /io-volcano-eruption.html                   Jupiters Realm                              By Oliver Whang              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/27/well/liv Sweat the Details About the Benefits of
2023-01-27   2023-02-07 e/sauna-health-benefits.html                Saunas                                      By Dani Blum                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/27/well/th
2023-01-27   2023-02-07 e-life-changing-magic-of-a-urologist.html   The LifeChanging Magic of a Urologist       By Jancee Dunn               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/health/c
2023-01-31   2023-02-07 oronavirus-variants-deer.html                Old Covid Variants May Live Among Deer By Emily Anthes                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/31/well/eat What Happens if I Take Melatonin After
2023-01-31   2023-02-07 /melatonin-alcohol-drinking.html            Drinking                                    By Rachel Rabkin Peachman    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/science Ticked Off Why Do Bears Rub Against Trees
2023-02-01   2023-02-07 /bears-trees-ticks.html                     Thats a Real HeadScratcher                  By Rebecca Dzombak           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/theater/
                        lemons-lemons-lemons-lemons-lemons-
2023-02-01   2023-02-07 review-aidan-turner.html                    With Words Rationed Love Finds a New Path By Houman Barekat              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/science Elephant Feasts Point to Neanderthals
2023-02-02   2023-02-07 /archaeology-neanderthals-elephants.html    Cooperation                                 By Franz Lidz                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/well/liv
2023-02-02   2023-02-07 e/covid-bivalent-booster-omicron.html       Offering Some Clarity On Booster Frequency By Dana G Smith               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/well/m
2023-02-02   2023-02-07 ove/caffeine-workout-exercise.html          A Workout Edge in Your Coffee Cup           By Hilary Achauer            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/science Shake Ice Hard Enough And It Turns
2023-02-03   2023-02-07 /new-ice-glass.html                         Unearthly                                   By Kenneth Chang             TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/04/arts/des
2023-02-04   2023-02-07 ign/art-writers-aica-rift-diversity-jobs.html Rift Widens Amid Group Of Art Critics     By Zachary Small             TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/04/opinion The College Board Was Tested On Black
2023-02-04   2023-02-07 /black-history-desantis-college-board.html History It Failed                            By Mara Gay                  TX 9-278-914   2023-04-04



                                                                                 Page 4827 of 5793
                        https://www.nytimes.com/2023/02/05/arts/mu
                        sic/yannick-nezet-seguin-contract-          NzetSguin Extends Contract With
2023-02-05   2023-02-07 philadelphia-orchestra.html                 Philadelphia                               By Javier C Hernndez                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/busines Flowers Fresh Fish and Movies China Is
2023-02-05   2023-02-07 s/china-economy-lunar-new-year.html         Spending Again Cautiously                  By Keith Bradsher                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/us/polit Harry Whittington 95 Lawyer Accidentally
2023-02-06   2023-02-07 ics/harry-whittington-dead.html             Shot by Cheney Dies                        By Douglas Martin                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/arts/mu Charlie Thomas 85 Under the Boardwalk
2023-02-06   2023-02-07 sic/charlie-thomas-dead.html                Singer and Mainstay of Drifters            By Richard Sandomir                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/arts/mu                                             By Jon Pareles Joe Coscarelli and
2023-02-06   2023-02-07 sic/grammys-best-worst.html                 Best and Worst on Musics Biggest Night     Lindsay Zoladz                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/arts/mu
2023-02-06   2023-02-07 sic/grammys-beyonce-jay-z-rap.html          Bringing Rebels Into the Grammys Fold      By Jon Caramanica                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/arts/mu
2023-02-06   2023-02-07 sic/grammys-hip-hop-tribute.html            50 Years of HipHop in 15 Minutes           By Joe Coscarelli                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/arts/mu
2023-02-06   2023-02-07 sic/jason-moran-james-reese-europe.html     In Tribute To a Jazz Ancestor              By Seth Colter Walls                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/06/arts/mu
2023-02-06   2023-02-07 sic/tomorrow-x-together-billboard-chart.html New Billboard No 1 Tomorrow X Together By Joe Coscarelli                     TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/06/books/
2023-02-06   2023-02-07 mariana-enriquez-our-share-of-night.html     Finding True Horror in Real Lifes Trauma    By Benjamin P Russell            TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/06/busines Carlyle Names Past President Of Goldman By Maureen Farrell Rob Copeland
2023-02-06   2023-02-07 s/carlyle-ceo-schwartz.html                  As New CEO                                  and Kate Kelly                   TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/06/busines
                        s/dealbook/bed-bath-beyond-equity-           Struggling Bed Bath amp Beyond Says It Will By Lauren Hirsch and Jordyn
2023-02-06   2023-02-07 offering.html                                Sell Stock                                  Holman                           TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/06/busines Rothschild Family Aims to Take Its Company
2023-02-06   2023-02-07 s/dealbook/rothschilds-bank-private.html     Private                                     By Michael J de la Merced        TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/06/busines Disneys Iger Is an Old Pro But This Time
2023-02-06   2023-02-07 s/media/disney-bob-iger-earnings.html        Looks Different                             By Brooks Barnes                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/06/busines
2023-02-06   2023-02-07 s/media/national-enquirer-sold.html          ScandalPlagued National Enquirer Sold       By Katie Robertson               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/06/busines                                               By Benjamin Mullin and Katherine
2023-02-06   2023-02-07 s/vox-penske-media.html                      Vox Is Said to Get 100 Million Infusion     Rosman                           TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/06/climate                                               By Raymond Zhong and Erin
2023-02-06   2023-02-07 /mauna-loa-carbon-dioxide-eruption.html      Climate Scientists Swap Volcanoes           Schaff                           TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/06/health/l Food Sold on Amtrak Trains Is Recalled for
2023-02-06   2023-02-07 isteria-recall-amtrak.html                   Listeria Risk                               By Emily Schmall                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/06/movies/
2023-02-06   2023-02-07 weird-oscar-campaigns.html                   Oscar Campaigns Personal and Homemade       By Sarah Bahr                    TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/06/nyregio Panel Calls for Police To Alter Protest
2023-02-06   2023-02-07 n/ccrb-report-george-floyd-protests.html     Tactics                                     By Chelsia Rose Marcius          TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/06/nyregio Using Santoss Invitation to Washington To
2023-02-06   2023-02-07 n/george-santos-state-union-guest.html       Address Emergency Workers Health            By Michael Gold                  TX 9-278-914    2023-04-04



                                                                               Page 4828 of 5793
                        https://www.nytimes.com/2023/02/06/nyregio New Jersey Charges Officer Who Shot Man
2023-02-06   2023-02-07 n/new-jersey-officer-assault-charge.html    in the Back                                 By Tracey Tully                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/nyregio Several Santos Associates Question Handling By Michael Gold and Grace
2023-02-06   2023-02-07 n/santos-pets-animal-charity.html           of Animal Charity Funds                     Ashford                             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/nyregio New York City Will Make Vaccinations         By Emma G Fitzsimmons and
2023-02-06   2023-02-07 n/vaccine-mandate-nyc-adams.html            Optional for Municipal Workers              Sharon Otterman                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/opinion
2023-02-06   2023-02-07 /biden-harris-haley-oscars.html             Politicians Everywhere All at Once          By Gail Collins and Bret Stephens   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/sports/b Player Manager and Now an Executive Beltrn
2023-02-06   2023-02-07 aseball/carlos-beltran-mets.html            Is Back With the Mets                       By David Waldstein                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/sports/b
                        asketball/kyrie-irving-trade-nets-kevin-
2023-02-06   2023-02-07 durant.html                                 Uncertainty Returns To Nets as Irving Exits By Tania Ganguli                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/sports/g St Andrews Steps Back From Its Plan to
2023-02-06   2023-02-07 olf/st-andrews-swilcan-bridge.html          Remodel Beloved Old Course Bridge           By Alan Blinder                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/sports/s
                        occer/manchester-city-premier-league-       Man City Accused of Major Financial
2023-02-06   2023-02-07 financial-charges.html                      Breaches                                    By Tariq Panja                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/technol Google Plans Its Chatbot In Response To
2023-02-06   2023-02-07 ogy/google-bard-ai-chatbot.html             ChatGPT                                     By Cade Metz and Nico Grant         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/technol Child Sex Abuse Content Still a Problem at By Michael H Keller and Kate
2023-02-06   2023-02-07 ogy/twitter-child-sex-abuse.html            Twitter                                     Conger                              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/us/coas A Stolen Boat an Ocean Rescue and Dead
2023-02-06   2023-02-07 t-guard-rescue-oregon-goonies.html          Fish on the Doorstep So Much Mayhem         By Remy Tumin                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/us/polic As Crime Spiked Cities Revived Elite Police
2023-02-06   2023-02-07 e-teams-memphis-scorpion-unit.html          Units                                       By Tim Arango and Ellen Gabler      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/us/polit 2 Charged With Planning to Attack Grid In   By Glenn Thrush and Michael
2023-02-06   2023-02-07 ics/baltimore-electrical-grid-attack.html   Bid to Completely Destroy Baltimore         Levenson                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/us/polit Potential GOP Rivals Seize on Race and
2023-02-06   2023-02-07 ics/education-republicans-elections.html    Gender Issues in Schools                    By Trip Gabriel                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/us/polit
2023-02-06   2023-02-07 ics/harris-migration-central-america.html   Companies Pledge Aid To Reduce Migration By Michael D Shear                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/us/supr Supreme Court Favors 3 Ivy League Colleges
2023-02-06   2023-02-07 eme-court-ivy-league-harvard-yale.html      For Coveted Clerkships                      By Adam Liptak                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/world/a
                        mericas/chinese-balloon-latin-america-      China Admits 2nd Airship Traversed
2023-02-06   2023-02-07 colombia.html                               Caribbean                                   By Emma Bubola                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/world/a
2023-02-06   2023-02-07 sia/china-balloon-xi-jinping.html           Xis Judgment Is Questioned After Balloon    By David Pierson                    TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/06/world/a Sprawling Trial Begins For Democracy
2023-02-06   2023-02-07 sia/hong-kong-democracy-activists-trial.html Leaders                                    By Tiffany May and David Pierson TX 9-278-914      2023-04-04
                        https://www.nytimes.com/2023/02/06/world/a Weighing Musharrafs Role In Pakistans
2023-02-06   2023-02-07 sia/pervez-musharraf-pakistan-legacy.html    Fractious Condition                        By Declan Walsh                     TX 9-278-914   2023-04-04




                                                                                Page 4829 of 5793
                        https://www.nytimes.com/2023/02/06/world/e
                        urope/avalanches-austria-italy-            At Least 11 Are Killed in Avalanches in the
2023-02-06   2023-02-07 switzerland.html                           Alps                                            By Christopher F Schuetze        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/world/e Rape After Rape Tallying UK Officers
2023-02-06   2023-02-07 urope/david-carrick-sentencing-uk.html     Crimes                                          By Megan Specia                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/world/e Russia Widens Attacks On Eastern Ukraine
2023-02-06   2023-02-07 urope/ukraine-eastern-front.html           As an Offensive Looms                           By Marc Santora                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/world/e Outnumbered and Bracing for a Russian           By Michael Schwirtz and Lynsey
2023-02-06   2023-02-07 urope/ukraine-russia-offensive.html        Assault                                         Addario                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/world/
                        middleeast/israel-west-bank-jericho-       Israelis Kill Five Palestinians In Army Raid in
2023-02-06   2023-02-07 raids.html                                 West Bank                                       By Patrick Kingsley              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/world/
                        middleeast/syrian-humanitarian-crisis-     Syrians Living in Wars Ruins Are Devastated By Vivian Yee Raja Abdulrahim
2023-02-06   2023-02-07 earthquake.html                            by Fresh Crisis                                 and Hwaida Saad                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/world/
2023-02-06   2023-02-07 middleeast/turkey-syria-earthquake.html    A Scarred Region Digs For Survivors             By Ben Hubbard and Nimet Kirac   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/opinion Bidens a Great President Who Shouldnt Run
2023-02-07   2023-02-07 /biden-shouldnt-run-2024.html              Again                                           By Michelle Goldberg             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/opinion
                        /inflation-summer-stagflation-economy-
2023-02-07   2023-02-07 recession.html                             Revisiting the Summer of Stagflation            By Paul Krugman                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/06/us/polit Crafting Bidens Words With Helpful
2023-02-07   2023-02-07 ics/biden-state-of-the-union-preparation.html Shorthand                                  By Katie Rogers                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/us/polit
                        ics/china-spy-balloon-trump-                  Balloons Spotted During Trump Years Were   By Julian E Barnes Helene Cooper
2023-02-07   2023-02-07 administration.html                           Labeled Unexplained                        and Edward Wong                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/07/health/
2023-02-07   2023-02-07 medicine-insurance-payments.html              Unaffordable Miracles                      By Gina Kolata and Francesca Paris TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/07/insider/
2023-02-07   2023-02-07 a-columnist-and-basketballs-chosen-one.html A Columnist and Basketballs Chosen One       By Harvey Araton                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/science
2023-02-07   2023-02-07 /puzzles-rectangles-mathematics.html        An Online Puzzle Excites Math Fans           By Siobhan Roberts                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/sports/f
2023-02-07   2023-02-07 ootball/super-bowl-bets-props-odds.html     For Fun and an Edge Bettors Look to Props    By David Hill                      TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/07/us/polit Control of the Pennsylvania House Is Up for
2023-02-07   2023-02-07 ics/special-elections-pennsylvania-house.html Grabs With 3 Special Elections            By Maggie Astor                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/01/arts/des To Cut Costs Some Museums Rethink
2023-02-01   2023-02-08 ign/museums-energy-climate-control.html       Climate Control                           By Alex Marshall                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/dining/
2023-02-02   2023-02-08 baby-back-ribs-recipe.html                    The Juicy Secret To Baby Back Ribs        By Eric Kim                         TX 9-278-914   2023-04-04




                                                                                 Page 4830 of 5793
                        https://www.nytimes.com/2023/02/02/dining/
2023-02-02   2023-02-08 drinks/bees-knees-cocktail.html              No Password Needed for a Speakeasy Star     By Robert Simonson            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/dining/
2023-02-03   2023-02-08 chocolate-desserts.html                      Valentine Treats From Casual to Fancy       By Yossy Arefi                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/us/grizz White House May Remove Protections For
2023-02-03   2023-02-08 ly-bears-protections-end.html                Bears                                       By Johnny Diaz                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/arts/fre Fred Terna Whose Art Testified To Hell of
2023-02-04   2023-02-08 d-terna-dead.html                            Holocaust Dies at 99                        By Richard Sandomir           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/books/n
2023-02-04   2023-02-08 airobi-kenya-books-library.html              Kenyan Libraries Great Equalizers           By Abdi Latif Dahir           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/opinion
2023-02-05   2023-02-08 /doctors-universal-health-care.html          Doctors Arent Burned Out Were Demoralized By Eric Reinhart                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/opinion Dont Let Republicans Game the Courts by
2023-02-05   2023-02-08 /republicans-judges-biden.html               Judge Shopping                              By Stephen I Vladeck          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/busines Immigrants Help to Alleviate US Thirst for
2023-02-06   2023-02-08 s/economy/immigration-labor.html             Workers                                     By Lydia DePillis             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/dining/
2023-02-06   2023-02-08 how-to-flambe.html                           When Flames Meet Spirits Flavors Ignite     By Melissa Clark              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/dining/
2023-02-06   2023-02-08 mushrooms-last-of-us.html                    Mushrooms Allow Our Minds to Run Wild By Tejal Rao                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/theater/
2023-02-06   2023-02-08 jesse-tyler-ferguson-take-me-out.html        Tipping His Cap To a Play                   By Sarah Bahr                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/
                        06/world/asia/hong-kong-47-democracy-        The 47 ProDemocracy Figures in Hong Kongs By KK Rebecca Lai David Pierson
2023-02-06   2023-02-08 trial.html                                   Largest National Security Trial             and Tiffany May               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/sports/
                        mat-ishbia-suns-approved-nba-board-of-       After Scandal NBA Board Approves Sale of By Tania Ganguli and Shauntel
2023-02-07   2023-02-08 governors.html                               Phoenix Franchises for 4 Billion            Lowe                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/us/polit AntiTax Club Keeps Trump Off Its List For
2023-02-07   2023-02-08 ics/club-for-growth-trump-desantis.html      Key Event                                   By Michael C Bender           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/arts/bru
2023-02-07   2023-02-08 no-stefanini-collection-looted-art.html      Tidying Up The Chaos Of a Collector         By Catherine Hickley          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/arts/mu
                        sic/dudamel-bernstein-new-york-
2023-02-07   2023-02-08 philharmonic.html                            Is He New Yorks New Bernstein               By Zachary Woolfe             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/arts/mu
2023-02-07   2023-02-08 sic/gustavo-dudamel-recordings.html          Notable Recordings by a Maestro             By Joshua Barone              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/arts/mu
                        sic/new-york-philharmonic-gustavo-           New York Philharmonic Lures Maestro of
2023-02-07   2023-02-08 dudamel.html                                 Celebrity and Youth                         By Javier C Hernndez          TX 9-278-914   2023-04-04
                                                                     Ted Bell 76 Clever Adman Turned
                        https://www.nytimes.com/2023/02/07/books/t BestSelling Author Of BondLike Spy
2023-02-07   2023-02-08 ed-bell-dead.html                            Thrillers                                   By Sam Roberts                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/busines                                               By Lauren Hirsch and Jordyn
2023-02-07   2023-02-08 s/bed-bath-beyond-hudson-bay.html            Beth Bath amp Beyond Is Said to Get Backing Holman                        TX 9-278-914   2023-04-04



                                                                              Page 4831 of 5793
                        https://www.nytimes.com/2023/02/07/busines
2023-02-07   2023-02-08 s/bp-oil-gas-profits.html                  BP in Reversal to Pump More Oil             By Stanley Reed                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/07/busines
2023-02-07   2023-02-08 s/economy/powell-fed-chair-comments.html Fed Chair Is Still Wary Of Inflation          By Jeanna Smialek                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/busines US Trade Deficit Surged In 2022 Nearing 1
2023-02-07   2023-02-08 s/economy/us-trade-deficit.html            Trillion                                    By Ana Swanson                   TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/07/dining/l
2023-02-07   2023-02-08 e-bernardin-restaurant-review-pete-wells.html Extending Its Legacy With Exquisite Detail By Pete Wells                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/dining/ Moody Tongue Sushi From Noted Chicago
2023-02-07   2023-02-08 nyc-restaurant-news.html                      Brewers Opens                               By Florence Fabricant         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/dining/
                        where-to-find-sicilian-specialties-and-more- Lamb Rag Crab Fried Rice Youve Got
2023-02-07   2023-02-08 reader-questions.html                         Options                                     By Nikita Richardson          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/health/c In Poorer Nations Miracle Drug Is Kept Out By Stephanie Nolen and Rebecca
2023-02-07   2023-02-08 ystic-fibrosis-drug-trikafta.html             of Reach                                    Robbins                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/health/ Regular Blood Pressure Checks Advised in
2023-02-07   2023-02-08 pregnancy-blood-pressure.html                 Pregnancy                                   By Roni Caryn Rabin           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/movies/
2023-02-07   2023-02-08 knock-at-the-cabin-cast-interview.html        Camaraderie Amid the Claustrophobia         By Esther Zuckerman           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/opinion
2023-02-07   2023-02-08 /us-philippines-china-military-curse.html     The Curse of the Philippines Geography      By Gina Apostol               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/sports/f
                        ootball/nick-sirianni-philadelphia-eagles-    How the Eagles Coach Got His Swagger Back
2023-02-07   2023-02-08 coach.html                                    And Won Over the City                       By Kris Rhim                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/sports/s
                        occer/manchester-city-premier-league-         Yes Rules Are Made to Be Broken But at This
2023-02-07   2023-02-08 rules.html                                    Scale                                       By Rory Smith                 TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/07/technol Former Coinbase Employee Pleads Guilty to
2023-02-07   2023-02-08 ogy/coinbase-insider-trading-ishan-wahi.html Insider Trading                         By David YaffeBellany              TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/07/technol
2023-02-07   2023-02-08 ogy/meta-artificial-intelligence-chatgpt.html Meta Aims to Stay Atop AI                  By Cade Metz and Mike Isaac    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/technol Microsoft Sets Off a Tech Race With Its
2023-02-07   2023-02-08 ogy/microsoft-ai-chatgpt-bing.html            AIAssisted Search                          By Cade Metz and Karen Weise   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/technol                                               By Natasha Singer and Jason
2023-02-07   2023-02-08 ogy/online-privacy-tracking-report.html       Americans Flunked Privacy Test On Tracking Karaian                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/us/bide Bidens Ratings For Second Year Among the
2023-02-07   2023-02-08 n-approval-rating-poll.html                   Lowest                                     By Ruth Igielnik               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/us/davi David Harris Leader of Resistance to Vietnam
2023-02-07   2023-02-08 d-harris-dead.html                            War Draft Dies at 76                       By Clay Risen                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/us/polit Biden Urges GOP to Work With Him to Build
2023-02-07   2023-02-08 ics/biden-state-union.html                    Economy                                    By Peter Baker                 TX 9-278-914   2023-04-04



                                                                               Page 4832 of 5793
                        https://www.nytimes.com/2023/02/07/us/polit Phone Call On Balloon Is Rebuffed By
2023-02-07   2023-02-08 ics/china-balloon-austin.html               Beijing                                      By Helene Cooper                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/us/polit Pentagon Lifts Ban on Release of Prisoners
2023-02-07   2023-02-08 ics/guantanamo-art.html                     Art                                          By Carol Rosenberg                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/us/polit
                        ics/house-republicans-constitution-         They the Republicans Recite the Constitution
2023-02-07   2023-02-08 patriotism.html                             For an Edge in Patriotism                    By Luke Broadwater                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/us/polit Mayorkas Is Facing Political Showdown Over By Eileen Sullivan and Zolan
2023-02-07   2023-02-08 ics/mayorkas-republicans-border.html        Border Crisis                                KannoYoungs                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/us/texa How USChina Strife Could Affect Who Buys
2023-02-07   2023-02-08 s-china-ownership-real-estate-ban.html      The House Next Door                          By J David Goodman                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/07/us/tyre-                                                By Jessica Jaglois Nicholas
2023-02-07   2023-02-08 nichols-photo-memphis-demetrius-haley.html Officer Shared Nichols Picture After Beating BogelBurroughs and Mitch Smith       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/world/a China Uses Censorship and Memes to
2023-02-07   2023-02-08 sia/china-balloon-propaganda.html              Downplay Balloon Dispute                    By Vivian Wang and Joy Dong       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/world/a South Korea Told to Pay A Vietnam War
2023-02-07   2023-02-08 sia/korea-vietnam-war-massacre.html            Victim                                      By Choe SangHun                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/world/e
                        urope/britain-sunak-cabinet-boris-             Last 2 Prime Ministers Haunt the Current    By Mark Landler and Stephen
2023-02-07   2023-02-08 johnson.html                                   One                                         Castle                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/world/e Germany Denmark and the Netherlands Work
2023-02-07   2023-02-08 urope/leopard-1-tanks-to-ukraine.html          to Speed Up Tank Shipment                   By Erika Solomon                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/world/e
                        urope/turkey-earthquake-rescue-gaziantep-      Hope Joy and Anguish Amid Rubble in
2023-02-07   2023-02-08 apartment.html                                 Turkey                                      By Ben Hubbard and Safak Timur    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/world/e Quake Blocks Sole Crossing For Syria Aid By Natasha Frost and Raja
2023-02-07   2023-02-08 urope/turkey-syria-quake-un-aid.html           From Turkey                                 Abdulrahim                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/world/e
                        urope/uk-david-carrick-police-sentencing-      Life in Prison for UK Officer for Monstrous
2023-02-07   2023-02-08 rape.html                                      Abuse                                       By Megan Specia                   TX 9-278-914   2023-04-04
                                                                                                                   By Marc Santora Matina
                        https://www.nytimes.com/2023/02/07/world/e Russia Pays Bloody Price for Small Gains on StevisGridneff and Shashank
2023-02-07   2023-02-08 urope/ukraine-russia.html                      Eastern Front                               Bengali                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/world/ Rescuers Battle Fierce Weather As Deaths         By Safak Timur Ben Hubbard and
2023-02-07   2023-02-08 middleeast/earthquake-turkey-syria.html        Rise                                        Gulsin Harman                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/live/2023/02/07/us/
                        biden-state-of-the-union/guests-nichols-family                                             By Alan Rappeport and Michael D
2023-02-07   2023-02-08 speech                                         Biden Guests Represent Wide Array Of Issues Shear                             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/nyregio New York City Commissioner Of Social            By Emma G Fitzsimmons and
2023-02-08   2023-02-08 n/gary-jenkins-resign-nyc-homeless.html        Services Resigns                            Andy Newman                       TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/07/nyregio NYPD Officer Dies Days After He Was Shot
2023-02-08   2023-02-08 n/nypd-officer-killed-shooting.html        During an Attempted Robbery in Brooklyn  By Hurubie Meko                          TX 9-278-914   2023-04-04




                                                                                 Page 4833 of 5793
                        https://www.nytimes.com/2023/02/07/opinion Earthquakes Test Our Souls and Our
2023-02-08   2023-02-08 /earthquake-turkey-syria.html              Governments                                   By Bret Stephens                  TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/07/sports/k Irving Speaks and He Says Its All the Nets
2023-02-08   2023-02-08 yrie-irving-introduced-dallas-mavericks.html Fault                                       By Scott Cacciola                 TX 9-278-914     2023-04-04
                                                                                                                 By Michael D Shear Jim
                        https://www.nytimes.com/2023/02/07/us/polit Laying Building Blocks For Another           Tankersley and Zolan
2023-02-08   2023-02-08 ics/biden-state-of-the-union-takeaways.html Campaign                                     KannoYoungs                       TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/07/us/polit Biden Puts the Focus on Issues at Home
2023-02-08   2023-02-08 ics/state-of-union-foreign-policy.html      Despite His Victories Abroad                 By David E Sanger                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/08/sports/f Watershed Moment for NFL Or More of the
2023-02-08   2023-02-08 ootball/nfl-teams-black-presidents.html     Same                                         By Emmanuel Morgan                TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/08/us/sara In Republican Response Sanders Criticizes
2023-02-08   2023-02-08 h-huckabee-sanders-gop-biden-sotu.html      Bidens Agenda as Woke Fantasies              By Michael C Bender               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/03/movies/
                        skinamarink-outwaters-directors-
2023-02-03   2023-02-09 interview.html                              Behind the Frights                           By Erik Piepenburg                TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/06/busines Teslas Stainless Steel Pickup Truck Is
2023-02-06   2023-02-09 s/teslas-cybertruck-pickup-stainless-steel.html Coming Soon Maybe                           By Jack Ewing                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/style/da
2023-02-06   2023-02-09 ting-app-profile-differences.html               A Match on Tinder but a Mismatch on Hinge By Gina Cherelus                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/style/jil
2023-02-06   2023-02-09 l-biden-grammys.html                            The First Lady Was Polished to Shine        By Vanessa Friedman              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/arts/and Baldwins Legal Team Wants Prosecutor            By Graham Bowley and Julia
2023-02-07   2023-02-09 rea-reeb-rust-special-prosecutor.html           Disqualified                                Jacobs                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/arts/des
2023-02-07   2023-02-09 ign/cooper-union-russia-exhibition.html         A Russian Design Show Hits a Nerve          By Joseph Giovannini             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/busines Cash From Oil Keeps Flowing To the               By Anatoly Kurmanaev and Stanley
2023-02-07   2023-02-09 s/russia-oil-embargo.html                       Kremlin                                     Reed                             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/dining/ The Candy That Speaks Volumes About
2023-02-07   2023-02-09 valentine-candy-hearts.html                     Society                                     By Kim Severson                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/health/c Charles Silverstein 87 Who Fought Medicines
2023-02-07   2023-02-09 harles-silverstein-dead.html                    Attitude on Homosexuality                   By Neil Genzlinger               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/opinion The Biden Administration Is Escalating the
2023-02-07   2023-02-09 /russia-ukraine-us-tanks.html                   War in Ukraine                              By Christopher Caldwell          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/technol
                        ogy/artificial-intelligence-training-                                                       By Adam Satariano and Paul
2023-02-07   2023-02-09 deepfake.html                                   The People Onscreen Are Fake                Mozur                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/world/a Mukarram Jah 89 Heir to an Opulent Throne
2023-02-07   2023-02-09 sia/mukarram-jah-dead.html                      He Abandoned Is Dead                        By Alex Traub                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/sports/b
                        asketball/kareem-abdul-jabbar-record-           His Record Falls but AbdulJabbars Greatness
2023-02-08   2023-02-09 legacy.html                                     Is Undiminished                             By Kurt Streeter                 TX 9-278-914   2023-04-04




                                                                                 Page 4834 of 5793
                        https://www.nytimes.com/2023/02/07/sports/b Among His Peers James Was Peerless In His
2023-02-08   2023-02-09 asketball/lebron-james-career.html          Consistency                                 By Sopan Deb                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/sports/l James Knocks Down a 14Foot Shot and a
2023-02-08   2023-02-09 ebron-james-nba-scoring-record.html         39YearOld Record                            By Sopan Deb and Tania Ganguli   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/us/polit
                        ics/pennsylvania-house-democrats-special-
2023-02-08   2023-02-09 elections.html                              Democrats Break Hold Of GOP In Key Vote     By Neil Vigdor                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/us/polit Administration Asks Justices to Reject a
2023-02-08   2023-02-09 ics/supreme-court-title-42-pandemic.html    Challenge to Immigration Limits             By Adam Liptak                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/video/t Agonizing Wait for Help Its as if Theyve     By Tolga Ildun Sarah Kerr Axel
2023-02-08   2023-02-09 urkey-earthquake-rescue-hatay.html          Totally Forsaken This City                  Boada and Vivian Yee             TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/08/arts/dan
2023-02-08   2023-02-09 ce/review-rennie-harris-rome-and-jewels.html IllFated Lovers in a HipHop World          By Brian Seibert                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/arts/dan Transcribing Bodies in Motion In Dance and
2023-02-08   2023-02-09 ce/simone-forti-moca-golden-lion.html        Art                                        By Jori Finkel                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/arts/her
2023-02-08   2023-02-09 mes-metabirkins-lawsuit-verdict.html         Herms Wins MetaBirkins Lawsuit             By Zachary Small                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/arts/mu                                              By Adam Nagourney and Javier C
2023-02-08   2023-02-09 sic/gustavo-dudamel-los-angeles.html         In LA Conductors Brio Spreads Beyond Stage Hernndez                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/arts/mu Where Diana Ross Aretha Franklin And
2023-02-08   2023-02-09 sic/soul-newspaper.html                      Others Told All                            By Christopher Petkanas          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/arts/tele
                        vision/marvels-moon-girl-and-devil-
2023-02-08   2023-02-09 dinosaur.html                                A New Hero Faces Two Formidable Foes       By LeighAnn Jackson              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/arts/tele
                        vision/state-of-the-union-republican-        Republicans Give Biden Gift He Needed
2023-02-08   2023-02-09 heckling.html                                Heckling                                   By James Poniewozik              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/books/r Ronald Blythe Scribe of the English
2023-02-08   2023-02-09 onald-blythe-dead.html                       Countryside Is Dead at 100                 By Clay Risen                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/busines
2023-02-08   2023-02-09 s/disney-earnings.html                       Disney Cuts 55 Billion In Reshuffle        By Brooks Barnes                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/busines Times Reports a Million New DigitalOnly
2023-02-08   2023-02-09 s/media/new-york-times-earnings.html         Subscribers                                By Katie Robertson               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/busines Uber Defies Downturn With a Revenue
2023-02-08   2023-02-09 s/uber-revenue.html                          Record                                     By Kellen Browning               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/health/c Promising New Drug To Fight Coronavirus
2023-02-08   2023-02-09 ovid-drug-eiger-interferon.html              Faces Market Hurdles                       By Benjamin Mueller              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/movies/
                        andrea-riseborough-to-leslie-oscars-
2023-02-08   2023-02-09 controversy.html                             For Best Actress The Best Brouhaha         By Kyle Buchanan                 TX 9-278-914   2023-04-04
                                                                     Texas Sent Busloads of Migrants to New
                        https://www.nytimes.com/2023/02/08/nyregio York Now the City Is Paying for Tickets to By Kimiko de FreytasTamura and
2023-02-08   2023-02-09 n/migrants-new-york-canada.html              Canada                                     Jos A Alvarado Jr                TX 9-278-914   2023-04-04




                                                                               Page 4835 of 5793
                        https://www.nytimes.com/2023/02/08/opinion
2023-02-08   2023-02-09 /biden-speech-sotu-america-vision.html      The Presidents Vision for Healing America By Nicholas Kristof                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/opinion Madonnas New Face Is a Brilliant
2023-02-08   2023-02-09 /madonna-grammys-2023.html                  Provocation                                  By Jennifer Weiner               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/sports/b Philadelphias Most Decorated Team Left
2023-02-08   2023-02-09 aseball/philadelphia-athletics-eagles.html  Town 7 Decades Ago                           By Tyler Kepner                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/sports/l
                        ebron-james-kareem-abdul-jabbar-scoring-    A Pilgrimage for Some Just Vacation for
2023-02-08   2023-02-09 record-fans.html                            Others                                       By Sopan Deb                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/sports/s
                        kiing/shiffrin-alpine-world-
2023-02-08   2023-02-09 championship.html                           More Records Fall as Shiffrin Chases History By Matthew Futterman             TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/08/style/fa
2023-02-08   2023-02-09 shion-week-preview-balenciaga-burberry.html High Stakes for Big Brands                  By Vanessa Friedman               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/style/hi
2023-02-08   2023-02-09 p-hop-50th-anniversary-fashion.html         HipHop Style Still Fly at 50                By Guy Trebay                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/technol                                              By Tiffany Hsu and Stuart A
2023-02-08   2023-02-09 ogy/ai-chatbots-disinformation.html         AIs Ease at Spinning Deception Raises Alarm Thompson                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/technol
                        ogy/microsoft-bing-openai-artificial-       Power of AI For Search Revs Up Bing Yes
2023-02-08   2023-02-09 intelligence.html                           Bing                                        By Kevin Roose                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/technol
                        ogy/personaltech/what-to-do-lost-stolen-
2023-02-08   2023-02-09 smartphone.html                             Preparing for a Device Disaster             By J D Biersdorfer                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/technol
2023-02-08   2023-02-09 ogy/twitter-glitches-features.html          Twitter Sorry for Latest Glitch             By Ryan Mac and Kate Conger       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/theater/
2023-02-08   2023-02-09 lucy-review.html                            Theres Something About the Babysitter       By Naveen Kumar                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/us/polit Biden Aims Pitch at White Voters Without
2023-02-08   2023-02-09 ics/biden-blue-collar-white-voters.html     Degrees                                     By Jonathan Weisman               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/us/polit Many Efforts at Police Reform Remain        By Zolan KannoYoungs and Luke
2023-02-08   2023-02-09 ics/biden-police-state-of-the-union.html    Stalled                                     Broadwater                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/us/polit President Concedes Nothing in Push for Big
2023-02-08   2023-02-09 ics/biden-state-of-the-union-spending.html  Economic Programs                           By Jim Tankersley                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/us/polit Chinas Balloons Spy on Countries Around the By Julian E Barnes Edward Wong
2023-02-08   2023-02-09 ics/china-spy-balloons.html                 World US Officials Say                      Helene Cooper and Chris Buckley   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/us/polit RomneySantos Exchange Reflects State of the
2023-02-08   2023-02-09 ics/romney-santos-gop-tension.html          GOP                                         By Annie Karni                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/us/polit House Hearing Yields New Revelations        By Luke Broadwater and Kate
2023-02-08   2023-02-09 ics/twitter-congressional-hearing.html      About Twitter                               Conger                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/us/texa Plea Is Guilty In Hate Crime For Massacre At
2023-02-08   2023-02-09 s-walmart-shooting-suspect-plea.html        Texas Store                                 By Emily Schmall                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/world/c Two Young Children Killed After Driver of By Michael Levenson Vjosa Isai
2023-02-08   2023-02-09 anada/bus-crash-daycare-montreal.html       Bus Crashes Into a Day Care in Quebec       and Amanda Holpuch                TX 9-278-914   2023-04-04



                                                                                Page 4836 of 5793
                        https://www.nytimes.com/2023/02/08/world/e
                        urope/france-prime-minister-elisabeth-     The Harrowing Story Frances Prime Minister By Catherine Porter and Aurelien
2023-02-08   2023-02-09 borne.html                                 Rarely Tells                               Breeden                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/world/e Code Breakers Uncover Letters by
2023-02-08   2023-02-09 urope/mary-queen-of-scots-letters.html     16thCentury Queen                          By Euan Ward                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/world/e Dutch Inquiry Finds It Likely That Putin
2023-02-08   2023-02-09 urope/putin-flight-mh17-missile.html       Supplied Missile That Felled Civilian Jet  By Constant Mheut                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/08/world/e For Syrian Refugees Who Died in Turkey A    By Raja Abdulrahim and
2023-02-08   2023-02-09 urope/syria-refugees-turkey-earthquake.html Grim Homecoming                            Muhammad Haj Kadour               TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/08/world/e From Sunrise to Sunset Turks and Syrians     By Erika Solomon Natasha Frost
2023-02-08   2023-02-09 urope/turkey-syria-volunteers-donations.html Abroad Rally to Aid Quake Victims          and Isabella Kwai               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/08/world/e Bringing Medicine and Hope to a Rattled      By Michael Schwirtz and Lynsey
2023-02-08   2023-02-09 urope/ukraine-war-health-care.html            Village                                   Addario                         TX 9-278-914    2023-04-04
                        https://www.nytimes.com/interactive/2023/02/
                        07/sports/basketball/lebron-james-kareem-     How LeBron James Outscored Kareem         By Sopan Deb KK Rebecca Lai and
2023-02-08   2023-02-09 abdul-jabbar-points.html                      AbdulJabbar and All the NBA Greats        Eve Washington                  TX 9-278-914    2023-04-04
                        https://www.nytimes.com/live/2023/02/08/wo
                        rld/russia-ukraine-news/in-london-churchills-
                        chair-provides-a-link-to-a-new-wartime-       Zelensky Says He Has Found Inspiration in
2023-02-08   2023-02-09 leader                                        Churchills Chair                          By Megan Specia                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/live/2023/02/08/wo
                        rld/turkey-syria-earthquake/turkeys-port-
2023-02-08   2023-02-09 iskenderun-fire-aid                           Fire at Turkish Port Is Doused            By Jenny Gross                  TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/08/opinion
2023-02-09   2023-02-09 /state-of-the-union-police-killings.html      Dead Men at the State of the Union        By Charles M Blow               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/08/sports/b
                        asketball/lakers-timberwolves-jazz-russell-   Westbrook Moving Again After Lakers Agree
2023-02-09   2023-02-09 westbrook-dangelo-russell-trade.html          to Trade                                  By Sopan Deb and Tania Ganguli TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/08/us/polit Biden Critics Get Away With Jeers as
2023-02-09   2023-02-09 ics/biden-heckling-house-republicans.html     Congress Displays New Normal              By Karoun Demirjian             TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/08/us/polit One Classic Bidenism Thats Not Crystal
2023-02-09   2023-02-09 ics/biden-lots-of-luck-senior-year.html       Clear                                     By Katie Rogers                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/08/us/polit
2023-02-09   2023-02-09 ics/house-covid-lab-leak.html                 NIH Leader Rebuts Covid Lab Leak Theory By Sheryl Gay Stolberg            TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/08/world/e
                        urope/zelensky-britain-ukraine-sunak-         In London First Stop on a Tour of Allies
2023-02-09   2023-02-09 planes.html                                   Zelensky Asks for Fighter Jets            By Mark Landler                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/08/world/ Millions Suffer Cold and Grief Waiting on     By Ben Hubbard Safak Timur
2023-02-09   2023-02-09 middleeast/turkey-syria-quake.html            Aid                                       Vivian Yee and Gulsin Harman    TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/09/sports/f
                        ootball/jason-travis-kelce-super-bowl-        Two Brothers Arent on the Same Team but
2023-02-09   2023-02-09 brothers.html                                 This Is Close Enough                      By Emmanuel Morgan              TX 9-278-914    2023-04-04




                                                                               Page 4837 of 5793
                        https://www.nytimes.com/2023/02/09/style/pa
                        t-field-memoir-costume-designer-memoir-
2023-02-09   2023-02-09 emily-in-the-paris.html                       Fashion Stories From the Downtown Scene By Ruth La Ferla                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/style/to
2023-02-09   2023-02-09 ry-burch-new-york-fashion-week.html           What She Did When We Werent Watching        By Jessica Testa             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/t-
                        magazine/louboutin-house-design-              By Design Inside Christian Louboutins Beach
2023-02-09   2023-02-09 portugal.html                                 Refuge                                      By Ellie Pithers             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/opinion The Magnificent Migration of the Sandhill
2023-02-06   2023-02-10 /sandhill-cranes-migration.html               Cranes                                      By Margaret Renkl            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/books/b
                        arbara-brandon-croft-where-im-coming-
2023-02-07   2023-02-10 from.html                                     Blazing a Trail in the Funny Pages          By Robert Ito                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/movies/
                        mixtape-trilogy-stories-of-the-power-of-music Mixtape Trilogy Stories of the Power Of
2023-02-07   2023-02-10 review.html                                   Music                                       By Glenn Kenny               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/movies/
2023-02-07   2023-02-10 they-wait-in-the-dark-review.html             They Wait in the Dark                       By Jeannette Catsoulis       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/arts/mu
2023-02-08   2023-02-10 sic/rihanna-super-bowl-halftime.html          Rihanna Needs a Touchdown                   By Lindsay Zoladz            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/busines                                                By Daisuke Wakabayashi and
2023-02-08   2023-02-10 s/china-pork-farms.html                       Chinas Hulking Towers of Pigs               Claire Fu                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/movies/ A Fantasy Trilogy Finally Grinds To a
2023-02-08   2023-02-10 magic-mikes-last-dance-review.html            Conclusion                                  By AO Scott                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/movies/ When Athletes Leave the Field for
2023-02-08   2023-02-10 tom-brady-sports-movies.html                  Hollywoods Lights                           By Ty Burr                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/us/bob- Bob Orben OneMan Gag Factory And
2023-02-08   2023-02-10 orben-dead.html                               Speechwriter Is Dead at 95                  By Richard Sandomir          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/us/san- Asian Americans Rise in a LatinoMajority
2023-02-08   2023-02-10 antonio-asian-american-latino.html            City                                        By Edgar Sandoval            TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/08/arts/mu Scooter Brauns Hybe Buys Atlanta Rap
2023-02-09   2023-02-10 sic/quality-control-hybe-scooter-braun.html Label                                     By Ben Sisario                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/arts/dan
2023-02-09   2023-02-10 ce/flashdance-40th-anniversary.html         What an 80s Feeling Flashdance Turns 40   By Brian Seibert                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/arts/des
                        ign/hangama-amiri-artist-aldrich-           Large Textiles Tell Big Tales Of Life in
2023-02-09   2023-02-10 museum.html                                 Kabul                                     By Ted Loos                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/arts/des
                        ign/smithsonian-hirshhorn-reality-tv-the-
2023-02-09   2023-02-10 exhibit.html                                A Project Runway For Aspiring Artists     By Robin Pogrebin                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/arts/des
2023-02-09   2023-02-10 ign/uta-barth-light-getty-photography.html  Look Closely Painting With a Camera       By Arthur Lubow                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/arts/ma Marianne Mantell 93 Trailblazer Who Helped
2023-02-09   2023-02-10 rianne-mantell-dead.html                    Pave the Way for Audiobooks               By Alex Williams                 TX 9-278-914   2023-04-04



                                                                                Page 4838 of 5793
                        https://www.nytimes.com/2023/02/09/arts/mu Burt Bacharach 94 Whose Buoyant Pop
2023-02-09   2023-02-10 sic/burt-bacharach-dead.html                 Lifted the 60s Dies                           By Stephen Holden                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/arts/mu
                        sic/salonen-new-york-philharmonic-
2023-02-09   2023-02-10 review.html                                  Renditions Amid a Celebratory Mood            By Zachary Woolfe                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/arts/tele
                        vision/marc-maron-special-hbo-pinecone-
2023-02-09   2023-02-10 pony.html                                    This weekend I have                           By Margaret Lyons                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/arts/tele A Lethal Romantic Pulls Up Stakes Yet
2023-02-09   2023-02-10 vision/you-season-four.html                  Again                                         By Desiree Ibekwe                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/busines Credit Suisse Reports Its Biggest Loss Since
2023-02-09   2023-02-10 s/dealbook/credit-suisse-annual-loss.html    2008                                          By Michael J de la Merced        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/busines Activist Investor Ends Bid For Seat on Disney By Brooks Barnes and Lauren
2023-02-09   2023-02-10 s/disney-bob-iger-nelson-peltz.html          Board                                         Hirsch                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/busines
                        s/economy/fed-economy-recession-             Recession Worry Eases as Growth Shows
2023-02-09   2023-02-10 rebound.html                                 Resilience                                    By Jeanna Smialek                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/busines
                        s/energy-environment/general-motors-
2023-02-09   2023-02-10 globalfoundries-chips.html                   GM Strikes a Deal for Chips                   By Neal E Boudette               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/busines
2023-02-09   2023-02-10 s/free-speech-social-media-lawsuit.html      Case Will Test Effort to Fight Disinformation By Steven Lee Myers              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/busines
                        s/media/tiktok-misinformation-russia-        TikTok Discloses Ukraine Misinformation
2023-02-09   2023-02-10 ukraine.html                                 Efforts                                       By Tiffany Hsu                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/busines Big Brands Raising Prices as Consumers Still
2023-02-09   2023-02-10 s/pepsico-unilever-inflation.html            Spend                                         By Isabella Simonetti            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/busines                                                 By Matthew Goldstein and David
2023-02-09   2023-02-10 s/sam-bankman-fried-ftx-bail.html            Tighter Restrictions for FTX Founder          YaffeBellany                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/busines Southwest Messed Up Executive Tells
2023-02-09   2023-02-10 s/southwest-airlines-senate-hearing.html     Senators                                      By Niraj Chokshi                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/busines US Is Aiming to Curtail Tech Investments in By Ana Swanson and Lauren
2023-02-09   2023-02-10 s/us-china-investing-tech-biden.html         China                                         Hirsch                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/dining/j Jean Anderson Author Who Coaxed Shy
2023-02-09   2023-02-10 ean-anderson-dead.html                       Cooks Into Kitchen Dies at 93                 By Penelope Green                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/movies/
2023-02-09   2023-02-10 attachment-review.html                       Attachment                                    By Nicolas Rapold                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/movies/
2023-02-09   2023-02-10 cinema-sabaya-review.html                    Cinema Sabaya                                 By Beatrice Loayza               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/movies/
2023-02-09   2023-02-10 consecration-review.html                     Consecration                                  By Brandon Yu                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/movies/
2023-02-09   2023-02-10 hannah-ha-ha-review.html                     Hannah Ha Ha                                  By Claire Shaffer                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/movies/
2023-02-09   2023-02-10 huesera-the-bone-woman-review.html           What to Dread When Youre Expecting            By Natalia Winkelman             TX 9-278-914   2023-04-04



                                                                                 Page 4839 of 5793
                        https://www.nytimes.com/2023/02/09/movies/ Reigniting Old Flames And Dousing Them
2023-02-09   2023-02-10 somebody-i-used-to-know-review.html          Out                                         By Natalia Winkelman             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/movies/
2023-02-09   2023-02-10 sweetheart-review.html                       Sweetheart                                  By Teo Bugbee                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/movies/
2023-02-09   2023-02-10 the-blue-caftan-review.html                  The Blue Caftan                             By Devika Girish                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/movies/
2023-02-09   2023-02-10 the-civil-dead-review.html                   The Civil Dead                              By Jeannette Catsoulis           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/movies/
2023-02-09   2023-02-10 the-outwaters-review.html                    The Outwaters                               By Jeannette Catsoulis           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/nyregio New York City Searches for Struggling
2023-02-09   2023-02-10 n/dyslexia-programs-reading-schools.html     Readers One School at a Time                By Troy Closson                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/nyregio Suit Escalates New York Fight Over Judge
2023-02-09   2023-02-10 n/judge-lasalle-lawsuit.html                 Pick                                        By Luis FerrSadurn               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/nyregio New Jersey Pairs Police And Counselors in
2023-02-09   2023-02-10 n/new-jersey-police-mental-health.html       Bid To Avoid Deadly Force                   By Tracey Tully                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/opinion
2023-02-09   2023-02-10 /ron-desantis-democrats.html                 Liberals Can Learn Something From DeSantis By Pamela Paul                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/science
2023-02-09   2023-02-10 /spacex-starship-static-fire.html            SpaceX Tests Starship Engine                By Kenneth Chang                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/sports/b
                        asketball/kevin-durant-trade-phoenix-suns-   Nets Trade Durant the Last Remnant of Their
2023-02-09   2023-02-10 brooklyn-nets.html                           Superteam                                   By Tania Ganguli                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/sports/b At the NBAs Trade Deadline Power and
2023-02-09   2023-02-10 asketball/nba-trade-deadline.html            Intrigue Shift West                         By Tania Ganguli                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/sports/f Kansas City Fans Bring the Chop and the
2023-02-09   2023-02-10 ootball/chiefs-tomahawk-chop-protest.html Controversy That Goes With It                  By Nicholas BogelBurroughs       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/sports/f
2023-02-09   2023-02-10 ootball/nfl-disability-benefits-lawsuit.html Former Players Sue Over Disability Benefits By Ken Belson                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/sports/f
                        ootball/patrick-mahomes-super-bowl-          Husband Father Businessman Social Voice
2023-02-09   2023-02-10 maturity.html                                He Also Plays Quarterback                   By Joe Drape                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/sports/g Money and Drinks Flow Freely As PGA
2023-02-09   2023-02-10 olf/pga-phoenix-open-liv.html                Battles LIV Circuit                         By Alan Blinder                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/technol
                        ogy/podcasts-steve-bannon-war-room-          No 1 for Misinformation Bannon Show Study
2023-02-09   2023-02-10 misinformation.html                          Says                                        By Stuart A Thompson             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/us/alber Albert Okura 71 Chicken Man Who Preserved
2023-02-09   2023-02-10 t-okura-dead.html                            a Ghost Town on Route 66                    By Sam Roberts                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/us/cong House Blocks DC Bills Hinting at Rising
2023-02-09   2023-02-10 ress-washington-dc-laws.html                 Discord                                     By Campbell Robertson            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/us/flori
                        da-college-board-african-american-           Florida Consulted With College Board Over By Dana Goldstein Stephanie Saul
2023-02-09   2023-02-10 studies.html                                 Black Course                                and Anemona Hartocollis          TX 9-278-914   2023-04-04




                                                                               Page 4840 of 5793
                        https://www.nytimes.com/2023/02/09/us/hous House Issues Bipartisan Condemnation of
2023-02-09   2023-02-10 e-condemns-china-balloon.html               China Over Surveillance Craft Incident       By Karoun Demirjian              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/us/polit
                        ics/abortion-rights-biden-state-of-the-     Biden Addressed Abortion but Advocates
2023-02-09   2023-02-10 union.html                                  Wanted More                                  By Lisa Lerer                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/us/polit
                        ics/biden-florida-medicare-social-          Biden Warns About Social Security and
2023-02-09   2023-02-10 security.html                               Medicare Cuts                                By Michael D Shear               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/us/polit                                              By Edward Wong and Julian E
2023-02-09   2023-02-10 ics/china-spy-balloon-program.html          China Balloon Carried Tools To Reap Data     Barnes                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/us/polit With Legislative Prospects Dim Democrats
2023-02-09   2023-02-10 ics/democrats-schumer-laws.html             Plan to Highlight Passed Bills               By Carl Hulse                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/us/polit
2023-02-09   2023-02-10 ics/majid-khan-gitmo-prisoner.html          After 20 Years at Guantnamo a New Life       By Carol Rosenberg               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/us/polit Pence Gets Subpoena From Special Counsel     By Maggie Haberman and Glenn
2023-02-09   2023-02-10 ics/pence-subpoena-trump.html               In Jan 6 Investigation                       Thrush                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/us/stud Students With Disabilities Are Secretly
2023-02-09   2023-02-10 ents-disabilities-informal-removal.html     Removed From School                          By Erica L Green                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/us/supr Supreme Court Weighs Ethics Code for
2023-02-09   2023-02-10 eme-court-ethics-code.html                  Justices as Critics Push a Need for Change   By Adam Liptak                   TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/09/us/wea In Weaponization Inquiry GOP Airs Old
2023-02-09   2023-02-10 ponization-committee-house-republicans.html Grievances                                   By Luke Broadwater               TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/09/world/a South Africas Power Crisis Declared a
2023-02-09   2023-02-10 frica/south-africa-power-energy-crisis.html Disaster                                   By Lynsey Chutel               TX 9-278-914       2023-04-04
                        https://www.nytimes.com/2023/02/09/world/a Political Prisoners Sent To the US by
2023-02-09   2023-02-10 mericas/nicaragua-prisoner-release.html     Nicaragua                                  By Maria AbiHabib              TX 9-278-914       2023-04-04
                        https://www.nytimes.com/2023/02/09/world/a What Chinas Military Balloons Say About Its By Chris Buckley and Amy Chang
2023-02-09   2023-02-10 sia/china-spy-balloon-military.html         Spying Ambitions                           Chien                          TX 9-278-914       2023-04-04

                        https://www.nytimes.com/2023/02/09/world/a
2023-02-09   2023-02-10 sia/north-korea-parade-solid-fuel-missile.html North Korea Urges Preparedness for War    By Choe SangHun                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/09/world/e Russian Mercenary Group Says It Stopped
2023-02-09   2023-02-10 urope/russia-wagner-prisoners-ukraine.html Recruiting Prisoners to Fight in Ukraine     By Ivan Nechepurenko              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/world/e
2023-02-09   2023-02-10 urope/ukraine-war-kyiv-police.html         Drunks to Drones Life as a Beat Cop in Kyiv By Marc Santora                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/world/ No More Antakya Rebuilt City in Ruins
2023-02-09   2023-02-10 middleeast/earthquake-antakya-turkey.html Again                                         By Vivian Yee and Nimet Kirac     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/world/ Scope of Carnage Stuns a War Hospital The
2023-02-09   2023-02-10 middleeast/earthquake-syria-hospital.html  Bodies Have Not Stopped Coming               By Cora Engelbrecht               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/world/ UN Aid Trickles In to Syria but Residents Say By Cora Engelbrecht Hwaida Saad
2023-02-09   2023-02-10 middleeast/syria-earthquake-aid.html       It Is Too Little Too Late                    and Raja Abdulrahim               TX 9-278-914   2023-04-04




                                                                                 Page 4841 of 5793
                        https://www.nytimes.com/2023/02/09/your-
2023-02-09   2023-02-10 money/irs-state-tax-rebates.html            Millions Told To Hold Off Filing Taxes     By Tara Siegel Bernard            TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/09/movies/
2023-02-10   2023-02-10 your-place-or-mine-review.html              They Have a Humdrum Kind of Love           By Amy Nicholson                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/09/opinion
2023-02-10   2023-02-10 /culture-war-democrats-republicans.html     Who Are the Culture Warriors Not Democrats By Paul Krugman                   TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/09/opinion
                        /mainstream-media-credibility-objectivity-
2023-02-10   2023-02-10 journalism.html                             Journalists Cant Discard Objectivity       By Bret Stephens                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/09/sports/f
2023-02-10   2023-02-10 ootball/patrick-mahomes-nfl-mvp.html        Mahomes Defines Era With 2nd MVP Honor By Kris Rhim                          TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/09/sports/j Klecko Jets Animating Force Makes Hall of
2023-02-10   2023-02-10 ets-joe-klecko-pro-football-hall-of-fame.html Fame                                      By Gerald Eskenazi               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/09/theater/
2023-02-10   2023-02-10 pictures-from-home-review.html                Photographs Worth Thousands of Words      By Jesse Green                   TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/09/us/mem Court Cases in Doubt as Arrested Memphis By Jessica Jaglois and Emily
2023-02-10   2023-02-10 phis-police-scorpion-unit-tyre-nichols.html Officers Work Is Reviewed                    Cochrane                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/us/polit
2023-02-10   2023-02-10 ics/fetterman-hospitalized.html             Fetterman Doctors Rule Out 2nd Stroke        By Annie Karni                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/world/e                                               By Matina StevisGridneff and Marc
2023-02-10   2023-02-10 urope/zelensky-eu-parliament.html           Zelensky in EU Says Ukraines Fight Is Theirs Santora                           TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/10/insider/
2023-02-10   2023-02-10 oh-football-is-on-were-here-for-the-food.html Oh Football Is On Were Here for the Food By Times Insider Staff         TX 9-278-914        2023-04-04
                        https://www.nytimes.com/2023/02/10/movies/
2023-02-10   2023-02-10 at-midnight-review.html                       At Midnight                              By Ben Kenigsberg              TX 9-278-914        2023-04-04
                        https://www.nytimes.com/2023/02/10/world/ Another Quake Casualty Traditional Funeral
2023-02-10   2023-02-10 middleeast/turkey-earthquake-funerals.html Rites                                       By Ben Hubbard and Safak Timur TX 9-278-914        2023-04-04

                        https://www.nytimes.com/2023/01/24/travel/n
2023-01-24   2023-02-11 evada-avi-kwa-ame-national-monument.html The Place Where Shamans Dream                  By Alex Schechter                TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/01/31/travel/z
2023-01-31   2023-02-11 ambia-safari.html                            A Walk on the Wild Side in Zambia          By Patricia Leigh Brown          TX 9-278-914     2023-04-04
                        https://www.nytimes.com/interactive/2023/02/
2023-02-02   2023-02-11 02/travel/things-to-do-bangkok.html          36 Hours in Bangkok                        By FinnOlaf Jones                TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/03/busines Chinese Firms Spend Billions Building
2023-02-03   2023-02-11 s/china-mexico-trade.html                    Factories in Mexico                        By Peter S Goodman               TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/05/books/p
2023-02-05   2023-02-11 riscilla-gilman-memoir-critics-daughter.html Books as Ties To Bind a Family             By Penelope Green                TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/05/opinion YouTube Gave Me Everything Then I Grew
2023-02-05   2023-02-11 /elle-mills-youtube-quit.html                Up                                         By Elle Mills                    TX 9-278-914     2023-04-04




                                                                                Page 4842 of 5793
                        https://www.nytimes.com/2023/02/08/opinion
2023-02-08   2023-02-11 /india-modi-bbc-democracy.html             India Is Jettisoning Freedom and Tolerance     By Lydia Polgreen                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/opinion
2023-02-08   2023-02-11 /skiing-alps-climate-change-snow.html      We Are Skiing Straight to Hell                 By Paul Hockenos                    TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/09/arts/des
2023-02-09   2023-02-11 ign/vermeer-painter-rijksmuseum-review.html Its More Precious Than Those Pearls       By Jason Farago                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/arts/ho
2023-02-09   2023-02-11 gwarts-legacy-jk-rowling.html                In a Fantasy No Escape From Discord      By Julia Jacobs                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/nyregio Pigeon Dead After Being Dyed Pink in
2023-02-09   2023-02-11 n/pink-pigeon-flamingo-gender-reveal.html Animal Cruelty Case                         By Hurubie Meko                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/sports/r Ron Labinski Who Built Stadiums With Fans
2023-02-09   2023-02-11 on-labinski-dead.html                        in Mind Dies at 85                       By Richard Sandomir                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/arts/tele
                        vision/how-many-comics-does-it-take-to-joke-
2023-02-10   2023-02-11 about-a-dim-bulb.html                        At Their Brightest When Playing Dumb     By Jason Zinoman                        TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/09/books/h Publishing HarperCollins Workers Reach          By Alexandra Alter and Elizabeth
2023-02-10   2023-02-11 arper-collins-strike-tentative-agreement.html Deal to End Strike                           A Harris                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/nyregio Bad Checks Puppies and Expunged Charges By Grace Ashford and Michael
2023-02-10   2023-02-11 n/george-santos-checks-amish.html             for Santos                                   Gold                               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/arts/dan
                        ce/garth-fagan-archives-library-of-           Archives of Lion King Choreographer Go to
2023-02-10   2023-02-11 congress.html                                 the Library of Congress                      By Kalia Richardson                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/arts/des
                        ign/ronald-lauder-klimt-painting-             A Klimt Painting Is Restituted to Its Jewish
2023-02-10   2023-02-11 restitution.html                              Heirs                                        By Colin Moynihan                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/arts/mu
                        sic/linkin-park-meteora-chester-
2023-02-10   2023-02-11 bennington.html                               A Surprise Offering From Linkin Park         By Jeremy Gordon                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/arts/mu
                        sic/orchestra-of-st-lukes-carnegie-hall-
2023-02-10   2023-02-11 review.html                                   The Challenge of Schuberts Great Symphony By Oussama Zahr                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/busines
2023-02-10   2023-02-11 s/disney-world-florida-tax-board.html         Disney Loses Its Authority Of Tax Board      By Brooks Barnes                   TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/10/busines
2023-02-10   2023-02-11 s/economy/china-spy-balloon-sanctions.html US Curbs Sales of Tech To 6 Entities           By Ana Swanson                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/busines On Tap in Super Bowl Ads More Than Just
2023-02-10   2023-02-11 s/media/beer-ads-super-bowl.html           Budweiser                                      By Lora Kelley                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/busines
                        s/ntsb-american-airlines-jfk-runway-       American Airlines Pilots Involved in a Close
2023-02-10   2023-02-11 incident.html                              Call Refuse Recorded Interview                 By Peter Eavis                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/busines Russia Says It Will Cut Oil Output a
2023-02-10   2023-02-11 s/russian-oil-price-sanctions.html         Response to Western Sanctions                  By Stanley Reed                     TX 9-278-914   2023-04-04



                                                                                  Page 4843 of 5793
                        https://www.nytimes.com/2023/02/10/busines UK Avoids Recession But Recovery Is
2023-02-10   2023-02-11 s/uk-fourth-quarter-gdp-recession.html      Daunting                                     By Eshe Nelson                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/nyregio He Heads City Hall And Keeps Fighting It
2023-02-10   2023-02-11 n/eric-adams-rats-summons.html              Over Rat Summonses                           By Dana Rubinstein            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/nyregio Zoo Tracks Escaped Owl as He Samples City
2023-02-10   2023-02-11 n/flaco-owl-central-park-zoo.html           Life                                         By Ed Shanahan                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/sports/b Mets Throw Out the First Pitch of the Season
2023-02-10   2023-02-11 aseball/mets-super-bowl-commercial.html     in of All Places the Super Bowl              By David Waldstein            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/sports/f One Celebration the Game Will Lack The
2023-02-10   2023-02-11 ootball/nfl-black-coaches-hiring.html       Hiring of Black Coaches                      By Kurt Streeter              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/sports/f Its Never Been Easier to Place a Bet On the
2023-02-10   2023-02-11 ootball/super-bowl-betting.html             Big Game Even if Youre There                 By Victor Mather              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/sports/f
                        ootball/super-bowl-quarterback-mahomes-     Taking Different Routes to Their Sports      By Emmanuel Morgan and Kris
2023-02-10   2023-02-11 hurts.html                                  Pinnacle                                     Rhim                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/sports/s Doing Nothing a Team Records A
2023-02-10   2023-02-11 occer/bristol-city-penalty-kicks.html       Statistically Ridiculous Streak              By Daniel Victor              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/sports/s Kane Wins a Place in History but Without a
2023-02-10   2023-02-11 occer/harry-kane-tottenham.html             Trophy                                       By Rory Smith                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/sports/s Sports Betting Crimps Lifeline Tribes Rely   By David W Chen Mark Walker
2023-02-10   2023-02-11 ports-betting-native-american-tribes.html   On                                           and Kenneth P Vogel           TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/10/us/cons Pitching Benefits for Families From a Corner
2023-02-10   2023-02-11 ervatives-child-care-benefits-roe-wade.html of Conservatism                             By Dana Goldstein              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/idah Suspects Behavior Raised Concern Before      By Mike Baker and Nicholas
2023-02-10   2023-02-11 o-murders-kohberger-fired-wsu.html          Idaho Killings                              BogelBurroughs                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/ken- Texas Attorney General Will Pay 33 Million
2023-02-10   2023-02-11 paxton-texas-settlement.html                and Apologize to Aides                      By J David Goodman             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/polit
                        ics/ben-labolt-kate-bedingfield-white-      White House Announces New Director Of
2023-02-10   2023-02-11 house.html                                  Messaging                                   By Michael D Shear             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/polit New Details Outline Events in Bidens
2023-02-10   2023-02-11 ics/biden-documents-aides.html              Documents Case                              By Michael S Schmidt           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/polit Biden Says He Will Not Interview With Fox By Michael D Shear and Michael
2023-02-10   2023-02-11 ics/biden-super-bowl-fox.html               Ahead of the Super Bowl                     M Grynbaum                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/polit Democrats Hope BigTicket Bills Will Bolster
2023-02-10   2023-02-11 ics/democrats-biden-unions.html             Their Labor Support                         By Jonathan Weisman            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/polit Adapting to Congress and to Life After a
2023-02-10   2023-02-11 ics/john-fetterman-senate-stroke.html       Stroke                                      By Annie Karni                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/polit
                        ics/michael-gerson-memorial-compassionate- A Memorial to a Writer and to His
2023-02-10   2023-02-11 conservatism.html                           NowLonely Message of Compassion             By Peter Baker                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/polit Pence Home In Indiana Is Searched By the    By Maggie Haberman and Glenn
2023-02-10   2023-02-11 ics/pence-fbi-home-search.html              FBI                                         Thrush                         TX 9-278-914   2023-04-04




                                                                               Page 4844 of 5793
                        https://www.nytimes.com/2023/02/10/us/polit
                        ics/philadelphia-eagles-jill-biden-super-   Philly Girl First Lady to Cheer On Eagles at    By Michael D Shear and Katie
2023-02-10   2023-02-11 bowl.html                                   Super Bowl                                      Rogers                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/polit How US Has Stepped Up Its Case Against
2023-02-10   2023-02-11 ics/proud-boys-jan-6-sedition-trial.html    Proud Boys                                      By Alan Feuer and Zach Montague TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/polit DeSantis Calls for Justices to Revisit Ruling
2023-02-10   2023-02-11 ics/ron-desantis-news-media.html            on Defamation Suits                             By Ken Bensinger                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/10/us/polit                                              By Helene Cooper Julian E Barnes
2023-02-10   2023-02-11 ics/unidentified-object-shot-down-alaska.html Object Downed Above Alaska By the Military and Edward Wong                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/world/a Biden and Lula Discuss Their Tested
2023-02-10   2023-02-11 mericas/biden-lula-brazil-us.html             Democracies                                By Peter Baker and Jack Nicas      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/world/a China Finds Its Getting Harder to Dismiss
2023-02-10   2023-02-11 sia/china-spy-balloon.html                    Balloon Incident                           By Vivian Wang                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/world/e EU Lawmaker Arrested In Qatar Bribery
2023-02-10   2023-02-11 urope/eu-corruption-inquiry-arrest.html       Inquiry                                    By Monika Pronczuk                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/world/e
                        urope/kherson-mayor-halyna-luhova-ukraine- As Shells Fall in Kherson the Mayor Buries By Jeffrey Gettleman and Ivor
2023-02-10   2023-02-11 russia.html                                   Cleans Fixes and Feeds                     Prickett                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/world/e
                        urope/russia-putin-pardon-wagner-fighter-     Putin Used Secret Decree In Pardoning An   By Anatoly Kurmanaev and
2023-02-10   2023-02-11 prison.html                                   ExInmate                                   Ekaterina Bodyagina                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/world/e
                        urope/turkey-syria-earthquake-united-         Quake Death Toll Surpasses 23000 Amid      By Cora Engelbrecht Hwaida Saad
2023-02-10   2023-02-11 nations.html                                  Struggle to Get Aid to Victims             and Raja Abdulrahim                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/world/ Driver Rams Bus Stop in East Jerusalem
2023-02-10   2023-02-11 middleeast/jerusalem-car-attack.html          Killing 2                                  By Patrick Kingsley                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/10/world/ Volunteers Piece Together Makeshift Medical
2023-02-10   2023-02-11 middleeast/quake-hospitals-turkey-syria.html System In Turkish Disaster Zone          By Vivian Yee and Nimet Kirac         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/your-
2023-02-10   2023-02-11 money/retirement-401k-job-switching.html A New Option for Moving a Small 401k Plan By Ann Carrns                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/nyregio Trump Willing to Give DNA In Carroll Suit
2023-02-11   2023-02-11 n/trump-carroll-rape-suit-dna.html           Lawyer Says                              By Hurubie Meko                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/sports/r Busy Schedule of a Top Miler on the Track
2023-02-11   2023-02-11 unning-millrose-olli-hoare.html              and in the Air                           By Scott Cacciola                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/world/e Missiles Shower A Ukraine In Need Of
2023-02-11   2023-02-11 urope/russia-ukraine-missile-wave.html       Military Aid                             By Marc Santora                       TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/10/your- IRS Decides Most Special StateIssued
2023-02-11   2023-02-11 money/irs-state-payments-taxes.html         Payments Made in 2022 Will Not Be Taxable By Tara Siegel Bernard                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/health/s Suicide Rates Rose in 2021 Among Those Hit
2023-02-11   2023-02-11 uicide-rates-cdc.html                       by Covid                                   By Ellen Barry                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/03/books/r
2023-01-03   2023-02-12 eview/sam-allegra-goodman.html              The Climb                                  By Mary Pols                         TX 9-278-914   2023-04-04



                                                                                  Page 4845 of 5793
                        https://www.nytimes.com/2023/01/19/fashion
                        /weddings/mother-of-bride-groom-wedding- Making Sure Wedding Moms Dont Feel
2023-01-19   2023-02-12 shopping.html                               Overlooked                                 By Alix Wall                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/20/books/r
2023-01-20   2023-02-12 eview/the-great-escape-saket-soni.html      Exploitation Nation                        By Farah Stockman                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/22/books/p
2023-01-22   2023-02-12 aul-harding-this-other-eden.html            Profile Paul Harding                       By MJ Franklin                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/24/books/r
2023-01-24   2023-02-12 eview/children-of-the-state-jeff-hobbs.html Locked Up                                  By Lauren Sandler                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/01/24/books/r
2023-01-24   2023-02-12 eview/selby-wynn-schwartz-after-sappho.html The Missing Lines                          By Mattilda Bernstein Sycamore   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/arts/mu
2023-02-02   2023-02-12 sic/kelela-raven.html                       Lyrics to Scream in the Car to Work        By Jazmine Hughes                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/books/r
                        eview/master-slave-husband-wife-ilyon-      They Crossed Paths in Second Grade Now
2023-02-02   2023-02-12 woo.html                                    Theyre Best Sellers                        By Elisabeth Egan                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/fashion
2023-02-02   2023-02-12 /weddings/no-wedding-ring.html              An Enduring Commitment Ring or Not         By Candy Schulman                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/02/style/ce
2023-02-02   2023-02-12 iling-wallpaper.html                        No More Naked Ceilings Please              By Lia Picard                    TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/03/books/r
2023-02-03   2023-02-12 eview/an-assassin-in-utopia-susan-wels.html Sex and Violence                           By Mattie Kahn                   TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/04/books/r
2023-02-04   2023-02-12 eview/as-wallace-stevens-once-put-it-hi.html As Wallace Stevens Once Put It Hi         By Elisa Gabbert                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/04/style/ha
2023-02-04   2023-02-12 rry-styles-fans-beachwood-cafe.html          Harry Styles Ate Here Fans Flock          By Molly Creeden                 TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/06/arts/mu Hayley Williams Is Fueled by Tea and
2023-02-06   2023-02-12 sic/hayley-williams-paramore-favorites.html Thrifting                                  By Phoebe Reilly                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/magazi My Husband Wont Help Pay for My Kids
2023-02-06   2023-02-12 ne/tuition-finances-divorce-ethics.html      Tuition Should I Divorce Him              By Kwame Anthony Appiah          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/opinion What Its Like to Live Longer Than You
2023-02-06   2023-02-12 /cystic-fibrosis-treatment.html              Expected                                  By Daniela J Lamas               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/opinion How to Stop a Senator From Blocking a
2023-02-06   2023-02-12 /editorials/biden-nominations-senate.html    Federal Judge                             By The Editorial Board           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/ Walter Mosley Thinks America Is Getting
2023-02-06   2023-02-12 06/magazine/walter-mosley-interview.html     Dumber                                    By David Marchese                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/books/r
2023-02-07   2023-02-12 eview/skull-water-heinz-insu-fenkl.html      Feet in Two Worlds                        By Spencer Quong                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/books/r
2023-02-07   2023-02-12 eview/the-unfortunates-jk-chukwu.html        Thesis Defense                            By Zakiya Dalila Harris          TX 9-278-914   2023-04-04




                                                                                 Page 4846 of 5793
                        https://www.nytimes.com/2023/02/07/books/r
2023-02-07   2023-02-12 eview/western-lane-chetna-maroo.html       Echoes                                        By Ivy Pochoda          TX 9-278-914   2023-04-04
                                                                   A few weeks after she twisted her ankle the
                        https://www.nytimes.com/2023/02/07/magazi young girl had sudden excruciating pain in her
2023-02-07   2023-02-12 ne/dystonia-diagnosis.html                 foot It only got worse from there             By Lisa Sanders MD      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/magazi
                        ne/football-sunday-night-carrie-
2023-02-07   2023-02-12 underwood.html                             The Sunday Night Football Song                By Caity Weaver         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/magazi
2023-02-07   2023-02-12 ne/mieko-kawakami.html                     Body Language                                 By Joshua Hunt          TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/07/realesta
2023-02-07   2023-02-12 te/brooklyn-two-family-manhattan-beach.html Swapping Good Enough for Spectacular           By Tim McKeough       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/style/co Taking an Icy Plunge to Cure What Ails
2023-02-07   2023-02-12 ld-plunge.html                               Them                                          By Alyson Krueger     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/arts/des
                        ign/wangechi-mutu-sculpture-new-
2023-02-08   2023-02-12 museum.html                                  Extending Roots For a New Focus               By Aruna DSouza       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/books/r
                        eview/oscar-hammerstein-ii-and-the-invention
2023-02-08   2023-02-12 of-the-musical-laurie-winer.html             A Cockeyed Optimist                           By Brad Leithauser    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/health/l
                        indsay-clancy-child-murder-charges-          Mother Faces Charges in the Strangling
2023-02-08   2023-02-12 massachusetts.html                           Deaths of Her 3 Children                      By Ellen Barry        TX 9-278-914   2023-04-04
                                                                     My Sunday Rest The warmth and richness of
                        https://www.nytimes.com/2023/02/08/magazi menudo is a fortifying ritual to finish up the
2023-02-08   2023-02-12 ne/menudo-soup-recipe.html                   week or start a new one                       By Bryan Washington   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/magazi
                        ne/night-court-velma-that-90s-show-
2023-02-08   2023-02-12 reboots.html                                 Old Habits                                    By Elizabeth Nelson   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/magazi
2023-02-08   2023-02-12 ne/sza.html                                  Eclectic Ladyland                             By Danyel Smith       TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/08/nyregio
2023-02-08   2023-02-12 n/doom-loop-remote-work-pandemic-nyc.htmlUrban Doom Loop He Has Some Thoughts              By John Leland        TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/08/realesta 370000 Homes in Indiana Vermont and
2023-02-08   2023-02-12 te/home-prices-indiana-vermont-georgia.html Georgia                                        By Angela Serratore   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/style/in
2023-02-08   2023-02-12 heritance-division-parents-estate.html       Cheating Her Siblings                         By Philip Galanes     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/theater/ Some Like It Hot Taps the Sizzle Of the Jazz
2023-02-08   2023-02-12 some-like-it-hot-jazz-age.html               Age                                           By Darryn King        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/
                        08/magazine/domestic-terrorism-              The Paradox of Prosecuting Domestic
2023-02-08   2023-02-12 prosecution.html                             Terrorism                                     By James Verini       TX 9-278-914   2023-04-04



                                                                                 Page 4847 of 5793
                        https://www.nytimes.com/interactive/2023/02/ Its Time to Answer Your Questions About
2023-02-08   2023-02-12 08/sports/football/super-bowl-lvii.html      Super Bowl LVII                              By Ben Shpigel                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/busines
                        s/shari-redstone-les-moonves-cbs-                                                         By James B Stewart and Rachel
2023-02-09   2023-02-12 paramount.html                               The Redstone Family Drama                    Abrams                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/magazi
2023-02-09   2023-02-12 ne/john-hodgman-bird-watching.html           Bonus Advice From Judge John Hodgman         By John Hodgman                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/magazi                                                 By Nikki Wallschlaeger and Anne
2023-02-09   2023-02-12 ne/poem-lost-in-america.html                 Poem Lost in America                         Boyer                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/movies/
2023-02-09   2023-02-12 winnie-the-pooh-blood-honey-horror.html       This Winnie the Pooh Has a Nasty Attitude   By Darryn King                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/opinion
2023-02-09   2023-02-12 /despair-friendship-suicide.html             How Do You Serve A Friend in Despair         By David Brooks                 TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/09/opinion Going From Me to We The Hardest Part of
2023-02-09   2023-02-12 /relationship-identity-mindset-marriage.html Love                                      By Michal Leibowitz                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/opinion When the Authorities Put Trump Under a
2023-02-09   2023-02-12 /trump-mueller-ukraine-jan-6.html            Microscope                                By Carlos Lozada                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/realesta
2023-02-09   2023-02-12 te/the-best-cities-for-minimalists.html      Where Its Easiest to Spark Joy            By Michael Kolomatsky              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/sports/f
                        ootball/super-bowl-bet-spread-eagles-        Theyre Evenly Matched The OverUnder Is
2023-02-09   2023-02-12 chiefs.html                                  High And the Spread Is Close              By David Hill                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/style/pi For Pickleball Players Fashion Choices
2023-02-09   2023-02-12 ckleball-clothing-apparel-brands.html        Abound                                    By Emilia Petrarca                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/style/th
2023-02-09   2023-02-12 e-art-world-refashions-the-cowboy.html       The Cowboy Has Come Quite a Long Way      By Ruth La Ferla                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/world/a
2023-02-09   2023-02-12 sia/china-balloon-reaction.html              Across Asia Dismay Over USChina Clash     By Damien Cave                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/world/e
                        urope/england-church-gender-neutral-         Gender Term Used for God Is Considered By
2023-02-09   2023-02-12 god.html                                     Church                                    By Amanda Holpuch                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/                                           By David Gonzalez and
2023-02-09   2023-02-12 09/nyregion/live-music-nyc.html              The New York City Mixtape                 Photographs By Todd Heisler        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/
                        09/opinion/transgender-americans-focus-      These 12 Transgender Americans Would      By Patrick Healy and Adrian J
2023-02-09   2023-02-12 group.html                                   Love You to Mind Your Own Business        Rivera                             TX 9-278-914   2023-04-04
                                                                     They Didnt Need Fancy Amenities or a
                        https://www.nytimes.com/interactive/2023/02/ Garden but Closets Would Be Nice Which
2023-02-09   2023-02-12 09/realestate/condo-brooklyn-ny.html         Brooklyn Condo Did They Choose            By Joyce Cohen                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/style/hi
                        p-hop-style-history-fashion-institute-       Vivid Reflections on 50 Years of HipHop
2023-02-10   2023-02-12 technology.html                              Style                                     By Alex Vadukul                    TX 9-278-914   2023-04-04




                                                                                 Page 4848 of 5793
                        https://www.nytimes.com/2023/02/10/arts/dan
                        ce/hubbard-street-linda-denise-fisher-
2023-02-10   2023-02-12 harrell.html                                 Back Where She Started But at the Top       By Brian Seibert             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/arts/rus Baldwins Lawyers Say Manslaughter Charge     By Graham Bowley and Julia
2023-02-10   2023-02-12 t-manslaughter-statute-alec-baldwin.html     Was Based on Wrong Firearm Law              Jacobs                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/arts/tele
2023-02-10   2023-02-12 vision/billy-crudup-hello-tomorrow.html      Billy Crudup Plays The Long Game            By Alexis Soloski            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/arts/tele Eugene Lee Set Designer for Broadway and
2023-02-10   2023-02-12 vision/eugene-lee-dead.html                  SNL Is Dead at 83                           By Neil Genzlinger           TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/10/books/
2023-02-10   2023-02-12 my-last-innocent-year-daisy-alpert-florin.html My Last Innocent Year by Daisy Alpert Florin By Elisabeth Egan         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/books/r
2023-02-10   2023-02-12 eview/dating-apps-fiction.html                  When the Novel Swiped Right                 By Jennifer Wilson        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/books/r
2023-02-10   2023-02-12 eview/lois-lowry-the-windeby-puzzle.html        Body and Soul                               By Laura Amy Schlitz      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/books/r
2023-02-10   2023-02-12 eview/new-crime-fiction.html                    Bad Habits                                  By Sarah Weinman          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/books/r
                        eview/unscripted-james-stewart-rachel-
2023-02-10   2023-02-12 abrams.html                                     Big Shots Behaving Badly                    By Adam Davidson          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/busines Real Interest Rates Are Moving Up Dont
2023-02-10   2023-02-12 s/interest-rates-inflation-economy.html         Celebrate Yet                               By Jeff Sommer            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/nyregio
2023-02-10   2023-02-12 n/mask-mandate-hospitals-new-york.html          New York Drops Masking Rule for Hospitals By Lola Fadulu              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/nyregio
                        n/nypd-officer-spying-china-charges-            An NYPD Officer Accused of Spying for
2023-02-10   2023-02-12 dropped.html                                    China Struggles to Clear His Name           By Rebecca Davis OBrien   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/opinion
2023-02-10   2023-02-12 /trump-desantis-transgender-rights.html         No Dignity In This Kind Of America          By Jamelle Bouie          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/realesta
2023-02-10   2023-02-12 te/couples-separate-bedrooms.html               Love Together Sleep Apart                   By Ronda Kaysen           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/realesta
2023-02-10   2023-02-12 te/tiny-homes-housing-market-trends.html        Little Houses on the Horizon                By Julie Lasky            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/sports/b
                        asketball/nets-trade-kyrie-irving-kevin-durant- Goodbye Title Dreams The Nets Implosion
2023-02-10   2023-02-12 joe-tsai.html                                   Can Be Traced to the Top                    By Sopan Deb              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/style/an
                        gelique-sina-jose-cardona-crespo-
2023-02-10   2023-02-12 wedding.html                                    At the 19th Hole Waiting to Make Contact    By Valeriya Safronova     TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/10/style/co
2023-02-10   2023-02-12 dy-kolodziejzyk-kelsey-kreppel-wedding.html Private Moments for a Very Public Couple     By Tammy La Gorce            TX 9-278-914   2023-04-04




                                                                                 Page 4849 of 5793
                        https://www.nytimes.com/2023/02/10/style/eil For Old Acquaintances a NottoBeForgotten
2023-02-10   2023-02-12 een-fitzpatrick-robert-minondo-wedding.html Kiss                                       By Jenny Block                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/style/fl
2023-02-10   2023-02-12 ower-delivery-card-messages.html             Say It With Flowers And a Prewritten Note By Callie Holtermann              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/style/m After 14 Address Changes in 7 Years No
2023-02-10   2023-02-12 arc-beuttler-matthew-davis-wedding.html      Plans to Move                             By Vivian Ewing                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/style/m
                        odern-love-beauty-of-expiration-date-        Admiring the Beauty of ExpirationDate
2023-02-10   2023-02-12 dating.html                                  Dating                                    By Sarah Bevet                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/dr- Dennis OLeary Voice of Calm After Reagan
2023-02-10   2023-02-12 dennis-oleary-dead.html                      Was Shot Dies at 85                       By Sam Roberts                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/polit Workers Fighting Overdose Crisis Are
2023-02-10   2023-02-12 ics/harm-reduction-overdoses-iowa.html       Hanging by a Thread                       By Noah Weiland                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/rosly Roslyn Pope 84 Civil Rights Activist Her
2023-02-10   2023-02-12 n-pope-dead.html                             Appeal Galvanized a Movement              By Clay Risen                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/world/e
2023-02-10   2023-02-12 urope/amsterdam-red-light-cannabis.html      Pot Smoking Ban Blame Noisy Tourists      By Jenny Gross                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/world/
                        middleeast/earthquake-turkey-syria-toll-
2023-02-10   2023-02-12 aid.html                                     What We Know About the Disaster           By The New York Times             TX 9-278-914   2023-04-04
                                                                                                               By Leanne Abraham Agnes Chang
                        https://www.nytimes.com/interactive/2023/02/                                           Lauren Leatherby Scott Reinhard
                        10/world/middleeast/kahramanmaras-turkey- What the Earthquake Destroyed in the Heart Pablo Robles Ashley Wu and Julie
2023-02-10   2023-02-12 earthquake-damage.html                       of One Turkish City                       Walton Shaver                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/us/polit Trump Lawyer Who Handled MaraLago          By Maggie Haberman and Ben
2023-02-11   2023-02-12 ics/evan-corcoran-mar-a-lago.html            Search Appeared Before a Grand Jury       Protess                           TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/11/busines When Its Easy to Be a Landlord No One        By Conor Dougherty and Ben
2023-02-11   2023-02-12 s/economy/real-estate-market-landlords.html Wants to Sell                               Casselman                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/nyregio
                        n/how-a-spotify-storyteller-spends-her-
2023-02-11   2023-02-12 sundays.html                                Spotify Storyteller Is Often on the Move    By Alix Strauss                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/nyregio New York Didnt Dot the i A Marijuana Law     By Corey Kilgannon and Wesley
2023-02-11   2023-02-12 n/marijuana-legalization-law.html           Is Marred                                   Parnell                          TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/11/nyregio
2023-02-11   2023-02-12 n/restoration-brooklyn-housing-bed-stuy.html Tackling a Housing Crisis With Good Jobs   By Ginia Bellafante              TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/11/nyregio Times Square Killing Tests Push to Curb Gun
2023-02-11   2023-02-12 n/times-square-shooting-gun-violence-ny.html Violence                                  By Maria Cramer and Lola Fadulu TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/11/opinion
2023-02-11   2023-02-12 /joe-biden-2024.html                         Scranton Joe Is Ready to Go               By Maureen Dowd                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/11/opinion
2023-02-11   2023-02-12 /reading-kids-phonics.html                   Were Bad at Teaching Kids to Read         By Nicholas Kristof             TX 9-278-914     2023-04-04



                                                                                Page 4850 of 5793
                        https://www.nytimes.com/2023/02/11/opinion
2023-02-11   2023-02-12 /republicans-trump-biden-desantis.html      Will Trump and Biden Gang Up on DeSantis By Ross Douthat                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/opinion Watching and Listening to Sports Made Me
2023-02-11   2023-02-12 /sports-fandom-hypochondria.html            Who I Am                                   By Peter Wehner                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/opinion
2023-02-11   2023-02-12 /turkey-earthquake-orhan-pamuk.html         A Girl Trapped Under Rubble                By Orhan Pamuk                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/opinion
2023-02-11   2023-02-12 /ukraine-cold-winter-kharkiv.html           Fighting the Cold in Ukraine               By Emile Ducke                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/realesta
                        te/gas-stoves-electric-stoves-climate-      I Want to Swap Out My Stove Can the Coop
2023-02-11   2023-02-12 change.html                                 Board Stop Me                              By Ronda Kaysen                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/sports/f How a Philadelphia Rapper Gave the Team
2023-02-11   2023-02-12 ootball/eagles-lil-uzi-vert.html            the Soundtrack to Its Season               By Kris Rhim                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/style/da
2023-02-11   2023-02-12 ting-terms-guide-ghosting-rizz.html         Breadcrumbed Or Ghosted                    By Gina Cherelus                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/style/gr
2023-02-11   2023-02-12 ief-loss-sibling.html                       A Word To Fill The Void                    By Kyleigh Leddy                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/style/hu
2023-02-11   2023-02-12 sbands-take-wives-last-names.html           Flipping A Custom On Names                 By Rachel Simon                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/style/m
2023-02-11   2023-02-12 ultilingual-language-love.html              In a Pinch The Heart Translates            By Eric V Copage                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/technol Pills Rants and Odd TShirts Scrolling in an
2023-02-11   2023-02-12 ogy/bad-digital-ads.html                    Era of Junk Ads                            By Tiffany Hsu                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/us/lax- Plane and Bus Collide in LA Hurting Five
2023-02-11   2023-02-12 plane-bus-crash-american-airlines.html      Aboard Shuttle                             By Amanda Holpuch                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/us/polit
                        ics/unidentified-object-canada-alaska-
2023-02-11   2023-02-12 pentagon.html                               Object in Skies Over Canada Is Shot Down By Helene Cooper                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/us/wisc
                        onsin-tribe-lac-du-flambeau-road-           Barricaded Roads on Tribal Land And a
2023-02-11   2023-02-12 blockades.html                              Dispute Rooted in American History         By Mitch Smith                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/world/a
                        mericas/corruption-genaro-garcia-luna-      Trial of Mexican ExLawman Ripples Beyond
2023-02-11   2023-02-12 mexico.html                                 the Courtroom                              By Alan Feuer and Maria AbiHabib TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/world/a Hsing Yun 95 Monk and Builder of a Modern
2023-02-11   2023-02-12 sia/master-hsing-yun-dead.html              Brand of Buddhism in China                 By Tiffany May                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/world/e
                        urope/berlin-germany-elections-             DoOver Election Speaks to Chaos Felt in
2023-02-11   2023-02-12 dysfunction.html                            Berlin                                     By Christopher F Schuetze        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/world/e
                        urope/earthquake-turkey-erdogan-            Quake Response Testing Erdogan As
2023-02-11   2023-02-12 election.html                               Survivors Express Frustration              By Ben Hubbard                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/world/e Ukraine Rushes to Fix Infrastructure After
2023-02-11   2023-02-12 urope/russia-ukraine-drone-strikes.html     Wave of Russian Strikes                    By Cassandra Vinograd            TX 9-278-914   2023-04-04




                                                                              Page 4851 of 5793
                        https://www.nytimes.com/2023/02/11/world/e
                        urope/russia-wagner-group-prigozhin-       Wagners Chief Is Stepping Out From
2023-02-11   2023-02-12 putin.html                                 Shadows                                      By Anton Troianovski           TX 9-278-914     2023-04-04

                                                                                                                 By Ben Hubbard Hwaida Saad Raja
                        https://www.nytimes.com/2023/02/11/world/ As Public Anger Mounts Turkey Detains          Abdulrahim Safak Timur Steven
2023-02-11   2023-02-12 middleeast/turkey-syria-earthquake.html     Builders                                     Erlanger and Gulsin Harman      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/busines Young in Love and Learning How to Talk
2023-02-12   2023-02-12 s/couples-relationships-money.html          About Finances                               By Paulette Perhach             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/busines The Week in Business Microsofts Big Bet on
2023-02-12   2023-02-12 s/the-week-in-business-microsoft-ai.html    AI                                           By Marie Solis                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/insider/
                        a-spy-balloon-and-a-reporting-trip-to-      A Spy Balloon and a Reporting Trip Up in the
2023-02-12   2023-02-12 china.html                                  Air                                          By Edward Wong                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/12/nyregio In Manhattan BikePath Trial Considering     By Benjamin Weiser and Lola
2023-02-12   2023-02-12 n/saipove-manhattan-death-penalty-trial.html Ultimate Punishment                       Fadulu                          TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/12/realesta
                        te/domino-refinery-brooklyn-                 A Vision Emerges Inside the Domino
2023-02-12   2023-02-12 development.html                             Refinery                                  By Debra Kamin                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/12/sports/f
2023-02-12   2023-02-12 ootball/nfl-black-quarterbacks.html          Stolen Chances That Preceded An NFL First By Jenny Vrentas                TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/12/world/e A Cold War Over Fox Hunting Heats Up in
2023-02-12   2023-02-12 urope/fox-hunting-warwickshire-england.html the Countryside                          By Euan Ward                      TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/05/briefing
                        /menopause-women-science-hormone-           Struggling With Menopause and Eager to
2023-02-05   2023-02-13 therapy.html                                Talk                                     By Lauren Jackson                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/07/obituari
                        es/frances-ellen-watkins-harper-            Overlooked No More Frances Ellen Watkins
2023-02-07   2023-02-13 overlooked.html                             Harper Poet and Suffragist               By Ian Zack                       TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/07/your- Using Annuities to Hedge Your Retirement
2023-02-07   2023-02-13 money/retirement-annuities-investments.html Portfolio                                   By Tara Siegel Bernard         TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/08/travel/c How a Month of Major Winter Weather
2023-02-08   2023-02-13 alifornia-winter-storms-travel.html         Affected California Travel                  By Lauren Sloss                TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/09/arts/mu
2023-02-09   2023-02-13 sic/before-midnight-annie-mac.html          A Night in the Club Then Early to Bed       By Anna CodreaRado             TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/09/arts/mu
2023-02-09   2023-02-13 sic/laraaji-segue-to-infinity.html          A Pioneer Rediscovered                      By Jon Pareles                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/09/busines As Tech Cuts Back Layoffs Surprise New       By Emma Goldberg and Tripp
2023-02-09   2023-02-13 s/layoffs-parental-leave.html               Parents                                     Mickle                         TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/09/sports/f
                        ootball/super-bowl-groundskeeper-god-of-    The Guardian Of the Field In the Big Game
2023-02-09   2023-02-13 sod.html                                    All LVII Times                              By Ken Belson and Jenny Vrentas TX 9-278-914    2023-04-04



                                                                                Page 4852 of 5793
                        https://www.nytimes.com/2023/02/09/travel/
                        multicurrency-accounts-exchanging-          A Way to Fight Back on Overseas
2023-02-09   2023-02-13 money.html                                  Transaction Fees                           By Danielle Braff                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/upshot/                                             By Andrew Jacobs and Francesca
2023-02-09   2023-02-13 china-population-decline.html               Can China Reverse Its Population Decline   Paris                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/us/india After DNA Test 2 Charged With Murder In
2023-02-09   2023-02-13 na-cold-case-laurel-mitchell.html           1975 Killing of an Indiana Teenager        By Remy Tumin                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/arts/mu Lizzo and SZA Refresh Special and Five      By Jon Caramanica and Lindsay
2023-02-10   2023-02-13 sic/playlist-sza-lizzo-beyonce.html         More New Singles                           Zoladz                           TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/10/arts/tele Three British TV Imports That Are Worth a
2023-02-10   2023-02-13 vision/cunk-on-earth-lockwood-and-co.html Look                                          By Mike Hale                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/opinion
2023-02-10   2023-02-13 /china-politics-language.html                An Iron Grip Has Stunted Chinese Discourse By Mengyin Lin                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/sports/f
                        ootball/waste-management-phoenix-open-
2023-02-10   2023-02-13 super-bowl.html                              Perfect Storm Of Partying Golf Included    By Joe Drape and Doug Mills     TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/10/us/jinge A Reality Star Revisits Her Religious
2023-02-10   2023-02-13 r-duggar-vuolo-evangelical-christians.html  Upbringing                                 By Ruth Graham                   TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/11/arts/des
2023-02-11   2023-02-13 ign/photo-fraud-wendy-halsted-beard-fbi.html Rare Photos Vanished And Excuses Piled Up By Ryan Patrick Hooper           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/arts/mu
2023-02-11   2023-02-13 sic/brit-awards-harry-styles-gender.html     Downside to GenderNeutral Music Prize     By Alex Marshall                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/busines Can the NFLs Team Ownership Rules           By Lauren Hirsch Sarah Kessler
2023-02-11   2023-02-13 s/dealbook/nfl-teams-owners.html             Survive Huge Valuations                   and Bernhard Warner              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/busines Why Adanis Shocking Loss Hasnt Hurt Indias
2023-02-11   2023-02-13 s/india-adani-market.html                    Markets                                   By Alex Travelli                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/movies/
2023-02-11   2023-02-13 oscars-grammys-black-women.html              Does the Best Person Always Win           By Salamishah Tillet             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/opinion The Music Industry Is Not Ready for Bad
2023-02-11   2023-02-13 /bad-bunny-non-english-grammys.html          Bunnys Sazn                               By Yarimar Bonilla               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/sports/f A Skeptic Roams in the Glare of a Football
2023-02-11   2023-02-13 ootball/super-bowl-damar-hamlin.html         Paradise                                  By Kurt Streeter                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/world/e Solomon Perel a Jew Who Posed as a Nazi To
2023-02-11   2023-02-13 urope/solomon-perel-dead.html                Survive Dies at 97                        By Richard Sandomir              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/arts/mu
                        sic/gustavo-dudamel-new-york-
2023-02-12   2023-02-13 philharmonic.html                            A Maestro At a Crossroads                 By Javier C Hernndez             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/arts/mu Jrgen Flimm 81 Dies He Directed Theaters
2023-02-12   2023-02-13 sic/jurgen-flimm-dead.html                   Operas and Festivals                      By AJ Goldmann                   TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/12/arts/mu David Jolicoeur 54 Rapper Known as Trugoy
2023-02-12   2023-02-13 sic/trugoy-the-dove-dave-jolicoeur-dead.html the Dove and Member of De La Soul       By Ben Sisario                     TX 9-278-914   2023-04-04



                                                                                 Page 4853 of 5793
                        https://www.nytimes.com/2023/02/12/busines
                        s/media/crypto-super-bowl-commercials-
2023-02-12   2023-02-13 ads.html                                    Crypto Ads Are Out Nostalgia Is In          By Lora Kelley                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/opinion Bidens 46 Words About Israel at a Critical
2023-02-12   2023-02-13 /joe-biden-bibi-netanyahu-israel.html       Moment                                      By Thomas L Friedman               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/opinion
2023-02-12   2023-02-13 /men-purpose-respect.html                   Men Need Purpose More Than Respect          By David French                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/us/polit Sanders Career Gadfly Takes on Powerful
2023-02-12   2023-02-13 ics/bernie-sanders-help-committee.html      Role That Could Be His Last                 By Sheryl Gay Stolberg             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/us/polit Challenge for DeSantis When and How to      By Michael C Bender and Maggie
2023-02-12   2023-02-13 ics/desantis-trump-2024-president.html      Counterattack Trump                         Haberman                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/us/polit
                        ics/jack-smith-special-counsel-trump-       Special Counsel for Jan 6 and Documents     By Maggie Haberman Glenn
2023-02-12   2023-02-13 investigations.html                         Cases Is Moving Aggressively                Thrush and Alan Feuer              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/us/polit                                             By Julian E Barnes Helene Cooper
2023-02-12   2023-02-13 ics/us-shoots-down-object-michigan.html     Objects in Sky Cause Concern On the Ground and Edward Wong                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/world/a Scholar Suggests Mass Suicide for Japans Old
2023-02-12   2023-02-13 sia/japan-elderly-mass-suicide.html         Does He Mean It                             By Motoko Rich and Hikari Hida     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/world/e An Invasive Swarm of Mosaics Is Now Part
2023-02-12   2023-02-13 urope/paris-street-art-space-invader.html   of Pariss Aesthetic                         By Catherine Porter                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/world/e A Russian Legion Fights Against Its
2023-02-12   2023-02-13 urope/russian-legion-ukraine-war.html       Homeland                                    By Michael Schwirtz                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/12/world/e Russias Wagner Fighters Claim Village Near
2023-02-12   2023-02-13 urope/ukraine-russia-bakhmut-wagner.html Strategic City in Eastern Ukraine                 By Shashank Bengali             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/world/
                        middleeast/syria-turkey-earthquake-        For Syrian Refugees in Turkey Quake Is a        By Raja Abdulrahim and Emily
2023-02-12   2023-02-13 refugees.html                              Disaster Within a Disaster                      Garthwaite                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/world/ Amnesty Eased Building Codes Around              By Ben Hubbard Gulsin Harman
2023-02-12   2023-02-13 middleeast/turkey-syria-quake.html         Turkey                                          and Safak Timur                 TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/12/arts/mu A Dozen Hits and One Very Special Guest
2023-02-13   2023-02-13 sic/rihanna-super-bowl-halftime-review.html Star                                           By Jon Caramanica               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/arts/tele
                        vision/whats-on-tv-this-week-love-trip-paris-                                              By Kristen Bayrakdarian and
2023-02-13   2023-02-13 and-american-idol.html                        This Week on TV                              Danielle Cruz                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/nyregio Subway Ridership Rises But RiskAverse
2023-02-13   2023-02-13 n/nyc-subway-women-crime.html                 Women Are Reluctant to Return                By Ana Ley                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/sports/f Eagles Who Had Showed Few Flaws Sputter
2023-02-13   2023-02-13 ootball/eagles-super-bowl-hurts.html          as They Near the Finish Line                 By Ken Belson                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/us/polit
2023-02-13   2023-02-13 ics/covid-public-health-departments.html      In Mississippi Covid Millions Left Unspent   By Sharon LaFraniere            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/world/e
                        urope/china-europe-czech-republic-            Chinas Ties to Europe Built Over Years
2023-02-13   2023-02-13 ukraine.html                                  Unravel Amid War                             By Andrew Higgins               TX 9-278-914   2023-04-04



                                                                                 Page 4854 of 5793
                        https://www.nytimes.com/2023/01/30/science Helping Fins When Your Old Fishing Buddy
2023-01-30   2023-02-14 /dolphins-brazil-fishermen.html             Has a Snout and a Blowhole                   By Asher Elbein        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/arts/mu
2023-02-03   2023-02-14 sic/raye-my-21st-century-blues.html         A British Musician Finally Uninterrupted     By Simran Hans         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/science Seafood Lovers Found in a Portuguese Cave
2023-02-07   2023-02-14 /neanderthals-crab-portugal.html            Signs of a Neanderthal Crab Roast            By Kate Golembiewski   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/well/fa
2023-02-07   2023-02-14 mily/sex-talk-couples.html                  Discussing Sex With Your Partner             By Catherine Pearson   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/health/a
2023-02-08   2023-02-14 vian-flu-mink-h5n1.html                     The Risk of Bird Flus Wider Spread           By Emily Anthes        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/science Heavy Waddler Sixty Million Years Ago a
2023-02-08   2023-02-14 /giant-penguin-fossil.html                  Penguin the Size of an Offensive Lineman     By Jack Tamisiea       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/science Incalculable Phenomena This Dwarf Planets
2023-02-08   2023-02-14 /quaoar-rings-roche-limit.html              Ring Just Doesnt Add Up                      By Kenneth Chang       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/science To Play a Crucial Role In the Path to a
2023-02-09   2023-02-14 /covid-vaccine-kizzmekia-corbett.html       Vaccine                                      By Debra Kamin         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/well/eat
2023-02-09   2023-02-14 /dark-chocolate-metal-lead.html             Do I Need to Avoid Dark Chocolate Now        By Alice Callahan      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/busines Electric Vehicle Prices Are Closing In on Gas
2023-02-10   2023-02-14 s/electric-vehicles-price-cost.html         Cars                                         By Jack Ewing          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/movies/ A Charming Little Friend Returns to the
2023-02-10   2023-02-14 kids-movies-streaming.html                  Scene                                        By Dina Gachman        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/movies/
2023-02-10   2023-02-14 magic-mike-economic-anxiety.html            Gyrating Just to Stay Afloat                 By Esther Zuckerman    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/well/fa
2023-02-10   2023-02-14 mily/couples-arguments-fights.html          Explore Workarounds For Those Silly Fights By Jancee Dunn           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/books/g
2023-02-11   2023-02-14 eetanjali-shree-tomb-sand.html              Western Success Written in Hindi             By Alexandra Alter     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/health/c
2023-02-11   2023-02-14 ovid-pandemic-seniors.html                  The Pandemic Rolls On For a Certain Group By Paula Span             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/style/th How the Language of Therapy Took Over
2023-02-11   2023-02-14 erapy-speak-dating.html                     Dating                                       By Dani Blum           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/well/fa
2023-02-11   2023-02-14 mily/child-first-crush.html                 A Childs First Crush Is a Teachable Moment By Christina Caron       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/world/c Hazel McCallion 101 Forceful Mayor With
2023-02-11   2023-02-14 anada/hazel-mccallion-dead.html             36Year Run a Canadian Record                 By Clay Risen          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/arts/des Robert Geddes Visionary Architecture Dean
2023-02-13   2023-02-14 ign/robert-geddes-dead.html                 at Princeton Dies at 99                      By Fred A Bernstein    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/arts/des On the Road to an Art Fair With a Tortilla
2023-02-13   2023-02-14 ign/ruben-ochoa-frieze-los-angeles.html     Van                                          By Jori Finkel         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/arts/mu
2023-02-13   2023-02-14 sic/review-bach-collegium-japan.html        A Program Of Fitful Pleasures                By Oussama Zahr        TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/13/arts/mu
2023-02-13   2023-02-14 sic/sza-sos-billboard-chart-eight-weeks.html SZAs Album SOS Returns to No 1            By Ben Sisario           TX 9-278-914   2023-04-04



                                                                               Page 4855 of 5793
                        https://www.nytimes.com/2023/02/13/arts/mu
2023-02-13   2023-02-14 sic/trugoy-the-dove-de-la-soul-songs.html   Trugoy the Doves 10 Essential Songs          By Christopher R Weingarten     TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/13/busines
                        s/energy-environment/ford-catl-electric-    Ford Plans Battery Factory Using Chinese     By Neal E Boudette and Keith
2023-02-13   2023-02-14 vehicle-battery.html                        Technology                                   Bradsher                        TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/13/busines                                               By Maureen Farrell and Rob
2023-02-13   2023-02-14 s/hedge-fund-trader-pay.html                Where Pay Starts in Tens of Millions         Copeland                        TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/13/busines
                        s/media/disney-century-museum-              Disney Toasts 100 Years While Facing
2023-02-13   2023-02-14 exhibition.html                             Challenges In Business and Politics          By Brooks Barnes                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/health/t                                              By Azeen Ghorayshi and Roni
2023-02-13   2023-02-14 een-girls-sadness-suicide-violence.html     Teen Girls Report Record Levels of Sadness   Caryn Rabin                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/health/t                                              By Azeen Ghorayshi and Amber
2023-02-13   2023-02-14 iktok-tics-gender-tourettes.html            Out of the Grip of Tics                      Bracken                           TX 9-278-914   2023-04-04
                                                                                                                 By Karen Zraick Maria Cramer
                        https://www.nytimes.com/2023/02/13/nyregio Man Driving UHaul Truck Hits 9 in Brooklyn Hurubie Meko and Chelsia Rose
2023-02-13   2023-02-14 n/brooklyn-truck-hit-pedestrians.html       Killing 1                                    Marcius                           TX 9-278-914   2023-04-04
                                                                                                                 By Grace Ashford Alexandra
                        https://www.nytimes.com/2023/02/13/nyregio In the Tangle of Santos Campaign Filings a Berzon Ken Bensinger and Alyce
2023-02-13   2023-02-14 n/george-santos-campaign-money.html         36539908 Mystery                             McFadden                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/nyregio After Teenagers Suicide New Jersey            By Michael Rothfeld and Christina
2023-02-13   2023-02-14 n/nj-teen-suicide-bullying-school.html      Community Grapples With Bullying             Caron                             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/nyregio Prosecutors Seek Death For Bike Path          By Benjamin Weiser and Lola
2023-02-13   2023-02-14 n/saipov-bike-path-death-penalty.html       Terrorist At Penalty Phase Start             Fadulu                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/nyregio Ballys Pins Casino Bid on Removing One        By Dana Rubinstein and Stefanos
2023-02-13   2023-02-14 n/trump-ballys-casino-golf-course.html      Word Trump                                   Chen                              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/opinion Marjorie Taylor Greene Didnt Like What She
2023-02-13   2023-02-14 /biden-greene-fetterman-harel.html          Saw                                          By Gail Collins and Bret Stephens TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/opinion
2023-02-13   2023-02-14 /earthquake-natural-disaster.html           Lets Embrace Constructive Paranoia           By Jared Diamond                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/science
2023-02-13   2023-02-14 /astronomy-webb-leda2046648.html            That Little Dot Is a Lot Like Us             By Dennis Overbye                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/sports/f With Injured Ankle and Fiery Words
2023-02-13   2023-02-14 ootball/mahomes-super-bowl-ankle.html       Mahomes Fuels a Kansas City Rally            By Joe Drape                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/sports/f Season Is Over But the Story Lines Are Never
2023-02-13   2023-02-14 ootball/nfl-diversity-coaches-injuries.html Ending                                       By Ken Belson                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/sports/f
2023-02-13   2023-02-14 ootball/super-bowl-holding-call.html        Call Leaves Eagles Fans At Big Loss          By Victor Mather                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/sports/f
                        ootball/super-bowl-moments-chiefs-eagles- Yes You Watched Here Are Things You
2023-02-13   2023-02-14 rihanna.html                                Maybe Missed                                 By Mike Wilson                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/sports/f Ted Lerner Owner Who Brought Baseball
2023-02-13   2023-02-14 ootball/ted-lerner-dead.html                Glory to DC Dies at 97                       By Richard Goldstein              TX 9-278-914   2023-04-04




                                                                                Page 4856 of 5793
                        https://www.nytimes.com/2023/02/13/sports/n
                        caabasketball/keyontae-johnson-kansas-state- Two Years After Collapse on Court Johnson
2023-02-13   2023-02-14 nba.html                                      Has Rebirth With a New Team               By Adam Zagoria                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/sports/n South Carolina Reasserts Itself Atop Womens
2023-02-13   2023-02-14 caabasketball/south-carolina-lsu.html         Game With Win Over LSU                    By Adam Zagoria                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/sports/s
                        occer/champions-league-final-report-liverpool-
2023-02-13   2023-02-14 fans.html                                     Fans Peril Was Fault Of UEFA Report Says By Tariq Panja                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/technol A CEOs Desire to Do Good Meets Hard
2023-02-13   2023-02-14 ogy/salesforce-marc-benioff-pressure.html     Economic Reality                          By David Streitfeld             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/theater/
                        burt-bacharach-promises-promises-             For Bacharach One Broadway Hit Was
2023-02-13   2023-02-14 broadway.html                                 Enough                                    By Laurence Maslon              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/us/ap-
                        black-studies-course-college-board-                                                     By Anemona Hartocollis Dana
2023-02-13   2023-02-14 desantis.html                                 College Board Is Under Fire For AP Class  Goldstein and Stephanie Saul    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/us/lori- In Chicago Mayor Seeks Second Term Amid
2023-02-13   2023-02-14 lightfoot-chicago-mayor.html                  Turmoil                                   By Julie Bosman                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/us/polit
2023-02-13   2023-02-14 ics/architect-of-capitol-brett-blanton.html   Biden Fires Capitol Chief Of Facilities   By Stephanie Lai                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/13/us/polit In Control of House Republicans Create Their By Catie Edmondson and Annie
2023-02-13   2023-02-14 ics/republican-house-majority-divisions.html Own Gridlock                                Karni                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/us/polit Chicago Tests Out 500 a Month in
2023-02-13   2023-02-14 ics/universal-basic-income-chicago.html      Guaranteed Income                           By Jonathan Weisman            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/us/trum Georgia Judge to Release Part of Trump        By Danny Hakim and Richard
2023-02-13   2023-02-14 p-inquiry-report-georgia.html                Grand Jury Report                           Fausset                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/us/unite United Airlines Flight Departing From Maui
2023-02-13   2023-02-14 d-maui-flight.html                           Dived Some 1400 Feet Before Recovering      By Christine Chung             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/world/a Cambodias Leader Orders Closure of News
2023-02-13   2023-02-14 sia/cambodia-hun-sen-media.html              Outlet Building Power Before Vote           By Seth Mydans                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/world/a Scientist Eager To Scan Globe At 60000
2023-02-13   2023-02-14 sia/china-spy-balloon.html                   Feet                                        By Chris Buckley               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/world/e Kyivs Troops Get Crash Course on Polish
2023-02-13   2023-02-14 urope/leopard-tanks-poland-ukraine.html      Tanks as Russia Steps Up Advance            By Lara Jakes                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/world/e
                        urope/turkey-earthquake-construction-        Collapsed Buildings in Turkey Were Sold as By James Glanz and Ceylan
2023-02-13   2023-02-14 buildings.html                               Safe                                        Yeginsu                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/world/e Shortages Are Imperiling Efforts to Help      By Ben Hubbard Gulsin Harman
2023-02-13   2023-02-14 urope/turkey-syria-earthquake.html           Survivors                                   Hwaida Saad and Jenny Gross    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/world/e Sent Forth by Russia as Cannon Fodder Then
2023-02-13   2023-02-14 urope/ukraine-russia-prisoners.html          Captured by Ukraine                         By Andrew E Kramer             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/world/ Feeling Abandoned by the World in a            By Raja Abdulrahim and Emily
2023-02-13   2023-02-14 middleeast/earthquake-idlib-syria-aid.html   Stricken Corner of Syria                    Garthwaite                     TX 9-278-914   2023-04-04




                                                                                Page 4857 of 5793
                        https://www.nytimes.com/2023/02/13/world/
                        middleeast/israel-judicial-protests-        100000 Protest In Israel to Halt Court      By Patrick Kingsley and Isabel
2023-02-13   2023-02-14 netanyahu.html                              Overhaul                                    Kershner                           TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/13/busines Packed With Tourists Japan Returns to
2023-02-14   2023-02-14 s/japan-economy-gdp.html                    Economic Growth in 4th Quarter of 22        By Ben Dooley and Hisako Ueno      TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/13/opinion
2023-02-14   2023-02-14 /censorship-iranian-artist-macalester.html  The Censoring of an Iranian American Artist By Michelle Goldberg               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/13/opinion
                        /columnists/republicans-medicare-social-    The GOPs War on Medicare and Social
2023-02-14   2023-02-14 security.html                               Security                                    By Paul Krugman                    TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/13/us/polit US and China in Growing Diplomatic Crisis By Edward Wong David E Sanger
2023-02-14   2023-02-14 ics/ufo-spy-balloon-china.html              Over Spying Programs                        Julian E Barnes and Eric Schmitt   TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/13/world/e
                        urope/ukraine-russia-bakhmut-aid-           Ukraine Bars Aid Workers From Besieged
2023-02-14   2023-02-14 volunteers.html                             Bakhmut                                     By Andrew E Kramer                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/14/health/a
2023-02-14   2023-02-14 lcohol-binge-drinking-pill-naltrexone.html  A DecadesOld Pill To Treat Binge Drinking By Ted Alcorn                        TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/14/insider/
2023-02-14   2023-02-14 in-the-archives-finding-love-stories.html   In The Timess Archives Finding Love Stories By Megan DiTrolio                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/14/sports/s
                        occer/bayern-psg-champions-league-choupo- Patience Pays Off for a Bayern Munich
2023-02-14   2023-02-14 moting.html                                 Striker                                     By Rory Smith                      TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/14/technol
2023-02-14   2023-02-14 ogy/hearts-emojis-gen-z.html                How to Show Love Online                     By Sheera Frenkel                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/08/world/a Whats a Japanese Mobster to Do in            By Ben Dooley Hisako Ueno and
2023-02-08   2023-02-15 sia/japan-yakuza.html                       Retirement Join a Softball Team             Shiho Fukada                       TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/09/dining/
2023-02-09   2023-02-15 alleva-dairy-closing-nyc.html               A 130YearOld Shop Will Close Its Doors      By Christina Morales               TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/09/dining/
2023-02-09   2023-02-15 drinks/wines-under-20-dollars-inflation.html 20 Wines Under 20 Bargains Amid Inflation By Eric Asimov                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/dining/
2023-02-09   2023-02-15 winter-cabbage-recipe.html                   What It Turns Out Cabbage Is a Star          By Melissa Clark                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/dining/
2023-02-10   2023-02-15 easy-one-pot-squash-soup-recipe.html         Less Labor for the Same Great Flavor         By J Kenji LpezAlt                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/dining/
2023-02-10   2023-02-15 mardi-gras-fat-tuesday-food-traditions.html Celebrating All Things Rich and Sweet         By Matt Haines                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/arts/san Sandra Seacat 86 a Revered Acting Coach
2023-02-12   2023-02-15 dra-seacat-much-dead.html                    Who Helped Stars Discover Joy                By Neil Genzlinger                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/arts/dan
2023-02-13   2023-02-15 ce/marco-goecke-dog-poop.html                Dance Critic Attacked After Barbed Review By Alex Marshall                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/dining/f
2023-02-13   2023-02-15 ood-candles.html                             The Smell of Pasta Cooking Without the Pasta By Priya Krishna and Erica Gannett TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/movies/ Carlos Saura Director With No Fear or Peer
2023-02-13   2023-02-15 carlos-saura-dead.html                       In Spain Is Dead at 91                       By Neil Genzlinger                 TX 9-278-914   2023-04-04



                                                                                 Page 4858 of 5793
                        https://www.nytimes.com/2023/02/13/opinion
2023-02-13   2023-02-15 /have-more-sex-please.html                    For Societys Sake Have More Sex             By Magdalene J Taylor           TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/13/opinion
2023-02-13   2023-02-15 /nikki-haley-republican-party.html            Nikki Haley Had It All Then Threw It Away By Stuart Stevens                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/13/sports/s
2023-02-13   2023-02-15 occer/soccer-european-super-league.html       Soccer Is Stuck Any Ideas on How to Move It By Rory Smith                   TX 9-278-914    2023-04-04
                        https://www.nytimes.com/article/ohio-train- Chemicals Threaten Air Soil and Water
2023-02-13   2023-02-15 derailment.html                               Throughout Region                           By Christine Hauser             TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/13/busines Pick to Lead Bank of Japan Faces a Delicate
2023-02-14   2023-02-15 s/bank-of-japan-kazuo-ueda.html               Task                                        By Ben Dooley and Hisako Ueno   TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/14/arts/dan
2023-02-14   2023-02-15 ce/city-ballet-winter-season.html             Vintage Gems and Some Female Bonding        By Gia Kourlas                  TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/14/arts/des
                        ign/lindemann-hirst-koons-calder-collector-
2023-02-14   2023-02-15 auction.html                                  Selling Art When And How He Likes           By Robin Pogrebin               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/14/arts/des When Your Heart Breaks Send the Pieces
2023-02-14   2023-02-15 ign/museum-of-broken-relationships.html       Here                                        By Alex Marshall                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/14/arts/juli Julian Wasser Photographer of a Cool and
2023-02-14   2023-02-15 an-wasser-dead.html                           Feverish LA Dies at 89                      By Penelope Green               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/14/arts/lets-
2023-02-14   2023-02-15 make-a-rom-com-podcast.html                   Love Is Easy RomComs Are Arduous            By Alexis Soloski               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/14/books/r
                        eview-who-does-that-bitch-think-she-is-doris-
2023-02-14   2023-02-15 fish.html                                     Wearing the Wig Fiercely When It Was Risky By Alexandra Jacobs              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/14/busines
                        s/biden-lael-brainard-national-economic-                                                  By Jim Tankersley and Jeanna
2023-02-14   2023-02-15 council.html                                  Brainard Will Join Biden Team               Smialek                         TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/14/busines Inflation Cools But Prices Give Scant
2023-02-14   2023-02-15 s/economy/january-cpi-inflation-report.html Comfort                                      By Jeanna Smialek                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/busines
2023-02-14   2023-02-15 s/ford-f150-lightning-battery.html          Ford Halts Production Of EV Pickup           By Neal E Boudette                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/busines How Seniors Cope With Rising Costs More By Julie Creswell and Isabella
2023-02-14   2023-02-15 s/inflation-food-prices-seniors.html        Tuna and Beans Fewer Treats                  Simonetti                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/busines
2023-02-14   2023-02-15 s/markets-inflation-cpi.html                Fresh Inflation Complication Stirs the Pot   By Joe Rennison                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/busines Tesla Workers at a Factory in Buffalo Begin a
2023-02-14   2023-02-15 s/tesla-buffalo-union-autopilot.html        Campaign to Form a Union                     By Jack Ewing                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/climate
                        /ohio-train-derailment-chemical-spill-      Inquiry Into Spill From Derailment Is Only By Raymond Zhong and Catrin
2023-02-14   2023-02-15 health.html                                 Beginning                                    Einhorn                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/dining/ Black Chefs Aim to Restore New Orleanss
2023-02-14   2023-02-15 black-chefs-new-orleans-history.html        Hidden History                               By Brett Anderson and Rita Harper TX 9-278-914   2023-04-04




                                                                                Page 4859 of 5793
                        https://www.nytimes.com/2023/02/14/dining/j
                        upiter-review-rockefeller-center-pete-
2023-02-14   2023-02-15 wells.html                                    Charting a Distinct Orbit Around Italy     By Pete Wells               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/dining/ Bad Roman Offering Modern Italian Opens in
2023-02-14   2023-02-15 nyc-restaurant-news.html                      Columbus Circle                            By Florence Fabricant       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/dining/
                        where-should-the-covid-conscious-dine-its-all-For the CovidConscious Dining Out Is About
2023-02-14   2023-02-15 about-risk.html                               Risk                                       By Nikita Richardson        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/fashion
2023-02-14   2023-02-15 /a-watch-dealing-mogul-at-19.html             A watchdealing mogul at 19                 By Rachel Felder            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/fashion
2023-02-14   2023-02-15 /cartier-tank-francaise.html                  The Tank Franaise makeover                 By Ming Liu                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/fashion
2023-02-14   2023-02-15 /clock-harold-lloyd-silent-film.html          Connected to clocks                        By David Belcher            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/fashion
2023-02-14   2023-02-15 /moonswatch-balloon-stunt-britain.html        A MoonSwatch takes off                     By Robin Swithinbank        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/fashion
2023-02-14   2023-02-15 /watches-bulgari-antoine-pin.html             Bulgari wants to surprise clients          By Roberta Naas             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/fashion
                        /watches-erotic-themes-ulysse-nardin-
2023-02-14   2023-02-15 blancpain.html                                Pieces that show more than the time        By Kathleen Beckett         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/fashion
2023-02-14   2023-02-15 /watches-herve-schluchter-switzerland.html An atelier of his own                         By Anders Modig             TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/14/fashion
2023-02-14   2023-02-15 /watches-jaeger-le-coultre-vintage-resale.html For vintage watches a new line           By Victoria Gomelsky         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/fashion
2023-02-14   2023-02-15 /watches-montblanc-1858-iced-sea.html          A freshfaced best seller                 By Robin Swithinbank         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/movies/ Hugh Hudson 86 Force Behind Chariots of
2023-02-14   2023-02-15 hugh-hudson-dead.html                          Fire                                     By Richard Sandomir          TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/14/nyregio UHaul Driver Leaves Trail of Shattered Lives By Hurubie Meko and Wesley
2023-02-14   2023-02-15 n/brooklyn-uhaul-truck-rampage-death.html In Brooklyn Rampage                           Parnell                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/nyregio In His Fight Against Rats Adams Faces A 300
2023-02-14   2023-02-15 n/eric-adams-rats-summons.html              Fine                                        By Dana Rubinstein           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/nyregio Escaped Owl Shows He Can Survive The
2023-02-14   2023-02-15 n/flaco-owl-central-park-zoo.html           Same Cannot Be Said for His Prey            By Ed Shanahan               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/nyregio
                        n/housing-ny-hochul-massachusetts-          Hochuls Housing Plan Takes Solutions From
2023-02-14   2023-02-15 california.html                             Coast to Coast                              By Mihir Zaveri              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/science Flock of Thousands Went Mostly Unnoticed
2023-02-14   2023-02-15 /weather-balloons-stratosphere.html         Till Now                                    By William J Broad           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/sports/b Great Expectations Greet the Mets And Their
2023-02-14   2023-02-15 aseball/buck-showalter-mets.html            Payroll                                     By Tyler Kepner              TX 9-278-914   2023-04-04




                                                                                Page 4860 of 5793
                        https://www.nytimes.com/2023/02/14/sports/b
2023-02-14   2023-02-15 aseball/john-jaso.html                      No More Spring Trainings                    By David Gardner                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/technol
                        ogy/disinformation-moderation-social-       In Fight Against Disinformation The Front   By Steven Lee Myers and Nico
2023-02-14   2023-02-15 media.html                                  Line Is Being Thinned                       Grant                                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/technol
                        ogy/ftc-commissioner-resigns-christine-     GOP Critic of FTC Chair Quits Over Abuse
2023-02-14   2023-02-15 wilson.html                                 of Power                                    By Cecilia Kang                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/technol Twitters Slashed Work Force Is Hurting
2023-02-14   2023-02-15 ogy/twitter-china-elon-musk.html            Chinese Activists                           By Chang Che and Paul Mozur           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/theater/
2023-02-14   2023-02-15 jujamcyn-atg-broadway.html                  Broadway Landlords To Merge Operations By Michael Paulson                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/us/alex- Family Member Describes Odd Behavior by
2023-02-14   2023-02-15 murdaugh-wife-sister-proctor.html           Murdaugh                                    By Nicholas BogelBurroughs            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/us/colo Colorado Club Will Reopen After Attack That
2023-02-14   2023-02-15 rado-club-q-reopen.html                     Killed Five                                 By Christine Chung                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/us/mich
                        igan-state-shooting-students-gun-                                                       By Julie Bosman Sophia Lada
2023-02-14   2023-02-15 violence.html                               Violence Stalks Nations Youth On Grim Loop Tracey Tully and Patricia Mazzei       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/us/polit
                        ics/biden-pence-trump-congress-classified-  Administration to Brief Gang of Eight
2023-02-14   2023-02-15 files.html                                  Leaders on Mishandled Classified Files      By Charlie Savage                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/us/polit Democrats Pay Tribute To a LongServing
2023-02-14   2023-02-15 ics/dianne-feinstein-retire-senate.html     Peer Showing Memory Issues                  By Annie Karni                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/us/polit Pence to Oppose Federal Subpoena Seeking By Maggie Haberman and Glenn
2023-02-14   2023-02-15 ics/mike-pence-subpoena-jan-6.html          Testimony in Jan 6 Inquiry                  Thrush                                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/us/polit Firsts Flags and Reversals A Look at Haleys
2023-02-14   2023-02-15 ics/nikki-haley-career-background.html      Rsum                                        By Maggie Astor                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/us/polit Haley Is Running for President Challenging
2023-02-14   2023-02-15 ics/nikki-haley-president-trump.html        Trump                                       By Trip Gabriel                       TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/14/us/polit Bureau of Prisons to Close Detention Unit in
2023-02-14   2023-02-15 ics/thomson-bureau-of-prisons-illinois.html Illinois                                       By Glenn Thrush                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/us/polit
                        ics/trump-lawyer-classified-documents-      Prosecutors Seek to Hear From Trumps           By Alan Feuer Maggie Haberman
2023-02-14   2023-02-15 investigation.html                          Lawyer                                         and Ben Protess                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/us/polit 3 Objects Shot Down by US May Be               By Michael D Shear and Karoun
2023-02-14   2023-02-15 ics/ufo-balloons-flying-objects.html        Harmless                                       Demirjian                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/world/a                                                 By Maria AbiHabib Natalie
                        mericas/haiti-president-assassination-                                                     Kitroeff Frances Robles and Nick
2023-02-14   2023-02-15 americans.html                              US Arrests Four More Suspects in Haiti Plot    Madigan                            TX 9-278-914   2023-04-04
                                                                    Indian Tax Agents Raid BBC Offices After
                        https://www.nytimes.com/2023/02/14/world/a Authorities Try to Block Documentary
2023-02-14   2023-02-15 sia/india-bbc-tax-raid.html                 Critical of Modi                               By Mujib Mashal                    TX 9-278-914   2023-04-04




                                                                                 Page 4861 of 5793
                        https://www.nytimes.com/2023/02/14/world/a
2023-02-14   2023-02-15 sia/us-china-spy-balloon-ufo.html          To China Balloon Rift Is Sign of US Decline By David Pierson                           TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/14/world/a New Zealand Declares A Rare State Of         By Michael Levenson and Judson
2023-02-14   2023-02-15 ustralia/new-zealand-cyclone-gabrielle.html Emergency                                   Jones                                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/world/e
                        urope/camilla-crown-koh-i-noor-             Celebration For Charles Will Exclude Indian
2023-02-14   2023-02-15 diamond.html                                Jewel                                       By Mark Landler                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/world/e
2023-02-14   2023-02-15 urope/eu-gas-powered-cars-ban.html          EU to Ban New Cars Powered By Gasoline By Melissa Eddy                                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/world/e Serial Abuses Attributed To Greek Border     By Monika Pronczuk and Matina
2023-02-14   2023-02-15 urope/eu-greece-border-abuses.html          Guards                                      StevisGridneff                            TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/14/world/e Secretive Network Shuttles Antiwar Russians By Neil MacFarquhar and Alina
2023-02-14   2023-02-15 urope/russia-antiwar-dissidents-escape.html Fleeing to Freedom                         Lobzina                                    TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/14/world/e US Aid Worker Was Killed by Guided                 By Thomas GibbonsNeff and
2023-02-14   2023-02-15 urope/russian-attack-aid-worker-video.html Missile Video Shows                                Malachy Browne                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/world/e Pried Out Alive After 200 Hours in Quake           By Jason Horowitz and Gulsin
2023-02-14   2023-02-15 urope/turkey-earthquake-rescue.html            Rubble                                         Harman                              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/world/e As Bakhmut Wavers Allies of Kyiv Discuss By Steven Erlanger and Matthew
2023-02-14   2023-02-15 urope/ukraine-nato-allies-artillery.html       Plans for More Shells                          Mpoke Bigg                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/world/
                        middleeast/netanyahu-israel-judicial-overhaul- Israels Plan for Judicial Overhaul Divides the
2023-02-14   2023-02-15 religion.html                                  Religious Right                                By Patrick Kingsley                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/world/ Isolated in Shaken Villages and Resigned to By Vivian Yee Nimet Kirac and
2023-02-14   2023-02-15 middleeast/rural-turkey-earthquake.html        Make It on Their Own                           Sergey Ponomarev                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/world/t Resolve to Rebuild Transcends Brick and
2023-02-14   2023-02-15 urkey-earthquake-rebuild.html                  Mortar                                         By Michael Kimmelman                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/article/nigeria-       Why Nigerias Election Is So Crucial and
2023-02-14   2023-02-15 election.html                                  Unpredictable                                  By Ruth Maclean and Elian Peltier   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/health/ Climate Change Is Spreading Malaria Over
2023-02-15   2023-02-15 malaria-mosquitoes-climate-change.html         More and More of Africa                        By Apoorva Mandavilli               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/opinion Netanyahus Judicial Coup Could Destroy His
2023-02-15   2023-02-15 /bibi-netanyahu-israel.html                    StartUp Nation                                 By Thomas L Friedman                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/opinion
2023-02-15   2023-02-15 /china-balloon-ufo.html                        Is China Probing With Bayonets                 By Bret Stephens                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/theater/
                        cornelia-street-review-a-musical-with-local-
2023-02-15   2023-02-15 ambitions.html                                 Trying to Save a Homey Local Spot              By Alexis Soloski                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/us/dian Feinstein an Icon of the Senate Will Not Seek
2023-02-15   2023-02-15 ne-feinstein-career.html                       a New Term                                     By Shawn Hubler                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/us/polit A Candid Foreign Policy Primer From One
2023-02-15   2023-02-15 ics/bush-obama-memos.html                      President to the Next                          By Peter Baker                      TX 9-278-914   2023-04-04




                                                                                   Page 4862 of 5793
                        https://www.nytimes.com/2023/02/15/insider/
                        explaining-climate-change-with-a-little-tech- Explaining Climate Change With a Little
2023-02-15   2023-02-15 help.html                                     Help                                        By Josh Ocampo                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/well/mi Here to Help How to Tell if Your Brain Needs
2023-02-03   2023-02-16 nd/brain-break-focus-productivity.html        a Break                                     By AC Shilton                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/ In Chinas Covid Fog Deaths of Scholars Offer By Pablo Robles Vivian Wang and
2023-02-05   2023-02-16 05/world/asia/china-obits-covid.html          a Clue                                      Joy Dong                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/style/co
2023-02-11   2023-02-16 llina-strada-new-york-fashion-week.html       Your Inner Animal Unleashed                 By Vanessa Friedman             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/opinion
2023-02-12   2023-02-16 /modi-bbc-documentary-india.html              Indias Tradition of a Free is at Risk       By The Editorial Board          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/style/gr
2023-02-12   2023-02-16 eg-white-lotus-fashion-show.html              A White Lotus Star Steps on the Runway      By Jessica Testa                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/style/pr
                        oenza-schouler-eckhaus-latta-new-york-
2023-02-12   2023-02-16 fashion-week.html                             The Shock of Wearable Clothes               By Vanessa Friedman             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/style/m Hot and Unbothered at Magic Mikes Last
2023-02-13   2023-02-16 agic-mike-rowdy-screening.html                Dance                                       By Gina Cherelus                TX 9-278-914   2023-04-04
                                                                                                                  By Kurt Soller Sara Lieberman
                                                                                                                  Katherine McGrath Zoey Poll
                        https://www.nytimes.com/2023/02/13/t-                                                     Lindsey Tramuta and Thibault
2023-02-13   2023-02-16 magazine/paris-best-restaurants-food.html     People Places Things                        Montamat                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/movies/
2023-02-14   2023-02-16 oscar-nominees-luncheon-photos.html           Luminaries in a Stars Gravitational Pull    By Kyle Buchanan                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/arts/mu Florida College Objects to a Gay Singer and
2023-02-14   2023-02-16 sic/pensacola-college-kings-singers.html      Cancels a Concert                           By Javier C Hernndez            TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/14/arts/tele
2023-02-14   2023-02-16 vision/star-trek-picard-next-generation.html Its Yet Another Spin Around the Universe By Sopan Deb                      TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/14/books/r                                            By Elisabeth Egan and Erica
2023-02-14   2023-02-16 eview/library-public-local.html              Up Close Modern Libraries                Ackerberg                         TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/14/climate Built to Be Green Skyscraper Was Dated
2023-02-14   2023-02-16 /green-skyscraper-one-vanderbilt.html        From the Beginning                       By Ben Ryder Howe                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/14/opinion Barr and Durham Made a Mockery of Rules I
2023-02-14   2023-02-16 /merrick-garland-barr-durham.html            Wrote                                    By Neal K Katyal                  TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/14/style/co Witness the Fraying of the American
2023-02-14   2023-02-16 ach-elena-velez-new-york-fashion-week.html Wardrobe                                     By Vanessa Friedman             TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/14/style/sh
2023-02-14   2023-02-16 opping-vintage-bags.html                    How to Score a Vintage Handbag              By Marisa Meltzer               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/14/theater/
2023-02-14   2023-02-16 new-ohio-theater-closes.html                The New Ohio Theater Will Close             By Kalia Richardson             TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/14/world/e Italys HardRight Leader Softens Befuddling
2023-02-14   2023-02-16 urope/giorgia-meloni-italy.html             Backers Critics and EU                      By Jason Horowitz               TX 9-278-914     2023-04-04




                                                                                Page 4863 of 5793
                        https://www.nytimes.com/2023/02/15/arts/des
                        ign/dream-charter-school-bronx-ice-
2023-02-15   2023-02-16 factory.html                                 Rising From the Ruins in the Bronx          By Michael Kimmelman             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/arts/heb
2023-02-15   2023-02-16 rew-bible-auction-sothebys.html              A Bible Outlasting Methuselah               By Jennifer Schuessler           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/arts/ho Howard Bragman 66 A Publicist Who Shone
2023-02-15   2023-02-16 ward-bragman-dead.html                       In Times of Crisis Dies                     By Neil Genzlinger               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/arts/mu
                        sic/ukraine-lviv-national-philharmonic-
2023-02-15   2023-02-16 orchestra.html                               Sharing a Countrys Culture Amid Strife      By Javier C Hernndez             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/busines
                        s/energy-environment/tesla-electric-vehicle- Tesla Agrees to Open Some Fast Chargers to
2023-02-15   2023-02-16 chargers-biden.html                          Other Electric Vehicles                     By Jack Ewing                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/busines Bidens Pick to Lead IRS Defends 80 Billion
2023-02-15   2023-02-16 s/irs-daniel-werfel-hearing.html             Overhaul                                    By Alan Rappeport                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/busines
2023-02-15   2023-02-16 s/media/netflix-sports-documentaries.html    Netflix Pursues the Games Behind the Games By John Koblin and Alan Blinder   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/busines
2023-02-15   2023-02-16 s/missy-cummings-tesla-autopilot.html        A Warning Signal on SelfDriving Cars        By Cade Metz                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/busines US is Protecting 19 Trillion Rise in Debt by By Jim Tankersley and Alan
2023-02-15   2023-02-16 s/national-debt-biden.html                   2033                                        Rappeport                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/busines                                               By Jordyn Holman and Jeanna
2023-02-15   2023-02-16 s/retail-sales-january-inflation.html        In Reversal Retail Sales Surge Anew         Smialek                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/busines Inflation in the UK Declines Again to 101 but
2023-02-15   2023-02-16 s/uk-inflation-january.html                  Rising Food Prices Worsen a Crisis          By Eshe Nelson                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/climate World Bank President Dogged by Climate
2023-02-15   2023-02-16 /david-malpass-world-bank.html               Questions Will Leave a Year Early           By David Gelles                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/climate Chemicals To Produce Varnishes And
2023-02-15   2023-02-16 /ohio-train-fire-toxic-chemicals.html        Plastics                                    By Raymond Zhong                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/climate Scientists Get Close Look Beneath a Giant
2023-02-15   2023-02-16 /thwaites-antarctica-melting-robot.html      Ice Shelf Melting Near Antarctica           By Henry Fountain                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/health/ FDA Told Prescription Is Not Needed For
2023-02-15   2023-02-16 narcan-nalaxone-drug-stores.html             Narcan                                      By Jan Hoffman                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/movies/ Raquel Welch 82 Who Owned the Screen in a
2023-02-15   2023-02-16 raquel-welch-dead.html                       Tattered Bikini Dies                        By Anita Gates                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/nyregio Buffalo Gunman Gets Life In an Emotional By Jesse McKinley and Dan
2023-02-15   2023-02-16 n/buffalo-shooting-gunman-sentencing.html Hearing                                        Higgins                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/nyregio Adams Delivers Message to State Lawmakers By Luis FerrSadurn and Emma G
2023-02-15   2023-02-16 n/eric-adams-kathy-hochul-albany.html        City Needs More Money                       Fitzsimmons                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/nyregio House Ethics Watchdogs Are Asked to           By Grace Ashford Miriam Jordan
2023-02-15   2023-02-16 n/george-santos-marriage-immigration.html Investigate Santoss Marriage                   and Michael Gold                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/nyregio New York Senate Rejects Nominee for Chief
2023-02-15   2023-02-16 n/hector-lasalle-chief-judge-vote.html       Judge                                       By Luis FerrSadurn               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/nyregio Lawrence M McKenna 89 New York Judge in
2023-02-15   2023-02-16 n/lawrence-mckenna-dead.html                 HighProfile Cases                           By Sam Roberts                   TX 9-278-914   2023-04-04



                                                                                Page 4864 of 5793
                        https://www.nytimes.com/2023/02/15/nyregio
                        n/nj-ap-african-american-studies-high-      AP Course in Black Studies To Expand in
2023-02-15   2023-02-16 schools.html                                New Jersey                                  By Kimiko de FreytasTamura       TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/15/nyregio Judge Calls Trump Offer In Rape Suit A Stall
2023-02-15   2023-02-16 n/trump-carroll-rape-suit-dna.html          Tactic                                      By Hurubie Meko                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/15/opinion
2023-02-15   2023-02-16 /fertility-decline.html                     Are Men the Cause of the Fertility Decline  By Jessica Grose                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/15/opinion UFOs and Other Unsolved Mysteries of Our
2023-02-15   2023-02-16 /ufos-balloons-mysteries.html               Time                                        By Ross Douthat                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/15/sports/b The Yankees Start Their Season With an
2023-02-15   2023-02-16 aseball/frankie-montas-yankees.html         Instant Plot Twist                          By Tyler Kepner                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/15/sports/d Regional Cable Group May File Bankruptcy
2023-02-15   2023-02-16 iamond-sports-debt-interest.html            Putting Games in Peril                      By Kevin Draper                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/15/sports/s Game Turns Citys Way And the Season With
2023-02-15   2023-02-16 occer/arsenal-manchester-city.html          It                                          By Rory Smith                    TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/15/sports/s Man Citys Bruising Battle to Avoid Losing It
2023-02-15   2023-02-16 occer/manchester-city-premier-league.html    All                                         By Tariq Panja                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/style/gl
2023-02-15   2023-02-16 ossier-gen-z-make-up-skin-care.html          Glossier Moves to Extend Its Reach          By Rachel Strugatz                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/style/th
                        om-browne-rodarte-altuzarra-new-york-
2023-02-15   2023-02-16 fashion-week.html                            Fashion as Theory as Well as Theater        By Vanessa Friedman               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/technol FTX Pursues 400 Million From Obscure          By Matthew Goldstein and David
2023-02-15   2023-02-16 ogy/ftx-modulo-capital.html                  Hedge Fund                                  YaffeBellany                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/technol
2023-02-15   2023-02-16 ogy/lyft-financial-woes.html                 How Lyft Keeps Falling Ever Further Behind By Kellen Browning                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/technol Mistakes Mar AIPowered Search Engine
2023-02-15   2023-02-16 ogy/microsoft-bing-chatbot-problems.html     From Microsoft                              By Karen Weise                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/us/calif
                        ornia-monterey-park-shooting-dance-          Before the Gunfire Glittering Havens of     By Corina Knoll Isabelle Qian Ben
2023-02-15   2023-02-16 community.html                               Dance                                       Laffin and Li Qiang               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/us/nyu- Vice Chancellor Becomes First Woman to
2023-02-15   2023-02-16 president-linda-mills.html                   Lead NYU                                    By Stephanie Saul                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/us/ohio- Distrust Runs Deep in Ohio Town Where        By Campbell Robertson and Emily
2023-02-15   2023-02-16 train-derailment-anxiety.html                Freight Train Derailed                      Cochrane                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/us/polit Washingtons Views on Aerial Objects          By Edward Wong Julian E Barnes
2023-02-15   2023-02-16 ics/balloon-ufo-us-china.html                Continue to Evolve                          and Adam Entous                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/us/polit Race in California Reflects Fight for
2023-02-15   2023-02-16 ics/california-senator-feinstein-retire.html Democrats Future                            By Jazmine Ulloa                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/us/polit
                        ics/matt-gaetz-sex-trafficking-justice-      Justice Dept Wont File Charges In Gaetz
2023-02-15   2023-02-16 department.html                              SexTrafficking Inquiry                      By Glenn Thrush                   TX 9-278-914   2023-04-04




                                                                                Page 4865 of 5793
                        https://www.nytimes.com/2023/02/15/us/polit
                        ics/social-security-costs-biden-
2023-02-15   2023-02-16 republicans.html                            Its Hands Off Social Security As Costs Grow By Jim Tankersley                   TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/15/us/polit Theyre Trying to Topple Trump but Tiptoeing By Jonathan Weisman and Maggie
2023-02-15   2023-02-16 ics/trump-2024-republicans-nikki-haley.html Around Using His Name                         Haberman                          TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/15/world/a
                        mericas/garcia-luna-trial-mexico-           Credibility of Criminals Is Key for Jurors in
2023-02-15   2023-02-16 corruption.html                             Trial Of a Mexican Lawman                     By Alan Feuer and Nate Schweber   TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/15/world/a Inquiry Ends on Mystery Over Nerudas Death
2023-02-15   2023-02-16 mericas/pablo-neruda-death.html             Amid 1973 Chilean Turmoil                     By Jack Nicas                     TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/15/world/a Beijing Says The US Flew Spy Balloons Over
2023-02-15   2023-02-16 sia/china-spy-balloon-xinjiang-tibet.html   Xinjiang                                      By David Pierson                  TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/15/world/a
2023-02-15   2023-02-16 sia/kabul-afghanistan-greenzone-taliban.html A Green Zone Brought to Life By the Taliban By Christina Goldbaum              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/15/world/e Hans Modrow 95 Who Was One of East
2023-02-15   2023-02-16 urope/hans-modrow-dead.html                  Germanys Last Communist Leaders             By Christopher F Schuetze          TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/15/world/e
                        urope/nicola-sturgeon-scotland-              Scotlands First Minister Announces
2023-02-15   2023-02-16 resignation.html                             Resignation Leaving Sudden Vacuum           By Mark Landler and Jenny Gross    TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/15/world/e Ukrainian Air Force Shoots Down Six           By Neil MacFarquhar and Marc
2023-02-15   2023-02-16 urope/russian-balloons-ukraine.html          Russian Balloons Floating Over Kyiv         Santora                            TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/15/world/e
                        urope/thai-cave-rescue-soccer-captain-       Survivor of Flooded Cave Is Found Dead in By Isabella Kwai and Muktita
2023-02-15   2023-02-16 dead.html                                    His Room                                    Suhartono                          TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/15/world/e We Wont Leave Until Theyre Out Keeping           By Ben Hubbard Safak Timur and
2023-02-15   2023-02-16 urope/turkey-earthquake-rescue-vigils.html Vigil Amid Ruins in Turkey                       Emin Ozmen                     TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/15/world/e In Bleak Cemetery Sea of Crosses Signals         By Valerie Hopkins and Nanna
2023-02-15   2023-02-16 urope/wagner-russia-cemetery.html           Wars True Toll                                  Heitmann                       TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/15/world/
                        middleeast/israel-deport-citizens-          Israel to Deport Citizens Jailed and Paid for
2023-02-15   2023-02-16 terrorism.html                              Terrorism                                       By Patrick Kingsley             TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/15/world/                                                   By Raja Abdulrahim and
                        middleeast/turkey-syria-refugees-           Syrian Refugees Flock to Turkish Border in      Mohammad Haj Kadour for The
2023-02-15   2023-02-16 earthquake.html                             Hopes of Returning Home                         New York Times                  TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/15/us/chris-DA in Texas Drops Domestic Case Against
2023-02-16   2023-02-16 beard-ut-basketball.html                    ExCoach                                         By Eduardo Medina                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/us/mich Michigan Killings Ignite a Debate Over           By Julie Bosman Jesus Jimnez and
2023-02-16   2023-02-16 igan-state-shooting.html                    University Security                             James C McKinley Jr              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/us/ohio- Hundreds Turn Out to Demand Answers at          By Campbell Robertson and Emily
2023-02-16   2023-02-16 train-derailment-town-hall.html             Town Hall but Few Are Forthcoming               Cochrane                         TX 9-278-914   2023-04-04




                                                                                   Page 4866 of 5793
                        https://www.nytimes.com/2023/02/15/us/polit FBI Looked For Classified Documents At          By Adam Goldman and Glenn
2023-02-16   2023-02-16 ics/biden-documents-university-delaware.html University                                     Thrush                         TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/15/us/polit
                        ics/biden-trump-obama-physicals-doctors-     Nicotine Gum and Reflux What Comes To
2023-02-16   2023-02-16 health.html                                  Light From Presidential Physicals              By Zolan KannoYoungs           TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/15/world/e After Heavy Losses Doubts Emerge Anew
2023-02-16   2023-02-16 urope/russia-military-vuhledar-ukraine.html About Russias Might                             By Marc Santora                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/16/insider/ Solving Your Travel Nightmare Is His
2023-02-16   2023-02-16 tripped-up-seth-kugel.html                   Mission                                        By Sarah Bahr                  TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/16/style/kh
2023-02-16   2023-02-16 aite-cool-girl-catherine-holstein.html       Carrying Off That Nonchalant Vibe              By Jessica Testa               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/09/movies/
2023-02-09   2023-02-17 of-an-age-review.html                        A Boys Own Coming Out Story                    By Manohla Dargis              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/14/movies/
2023-02-14   2023-02-17 jethica-review.html                          Jethica                                        By Jeannette Catsoulis         TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/14/movies/
2023-02-14   2023-02-17 last-night-in-new-york-review.html           Last Night in New York                         By Glenn Kenny                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/14/movies/
2023-02-14   2023-02-17 marlowe-review-liam-neeson.html              Trials of a WornOut Gumshoe                    By AO Scott                    TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/14/us/ron- DeSantis Finds a New Liberal Target A
2023-02-14   2023-02-17 desantis-new-college-florida.html            Small College of Free Thinkers                 By Patricia Mazzei             TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/15/arts/dan Jacobs Pillow Plans to Present an Eclectic
2023-02-15   2023-02-17 ce/jacobs-pillow-2023-season.html            International Lineup                           By Rachel Sherman              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/15/world/e
                        urope/england-lostwithiel-doctor-music-
2023-02-15   2023-02-17 video.html                                   Breaking Into Song To Find a Doctor            By Euan Ward                   TX 9-278-914    2023-04-04
                        https://www.nytimes.com/interactive/2023/02/
                        15/world/asia/china-covid-death-                                                            By James Glanz Mara Hvistendahl
2023-02-15   2023-02-17 estimates.html                               How Deadly Was Chinas Covid Wave               and Agnes Chang                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/busines Protesting Chinese Retirees Demand Repeal        By Keith Bradsher Daisuke
2023-02-16   2023-02-17 s/wuhan-china-protests.html                  of Benefit Cuts                                Wakabayashi and Claire Fu       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/nyregio Developer Delays Plan To Renovate Penn
2023-02-16   2023-02-17 n/vornado-penn-station-project.html          Station                                        By Stefanos Chen               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/16/arts/des A Painters Ambitious And Complex Odes to
2023-02-16   2023-02-17 ign/derrick-adams-paintings.html             Joy                                            By Roberta Smith               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/16/arts/des
                        ign/ming-smith-photographer-museum-of-
2023-02-16   2023-02-17 modern-art.html                              Street Shots With Their Own Kind of Jazz       By Holland Cotter              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/16/arts/des
2023-02-16   2023-02-17 ign/orchid-show-botanical-garden.html        Celebrating the Orchid a Botanical Superstar   By Will Heinrich               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/16/arts/mu
                        sic/amiri-baraka-blues-people-
2023-02-16   2023-02-17 performance.html                             Blues People At the Apollo                     By Alan Scherstuhl             TX 9-278-914    2023-04-04



                                                                                  Page 4867 of 5793
                        https://www.nytimes.com/2023/02/16/arts/mu After Long Wait Her Opera Is Taking The
2023-02-16   2023-02-17 sic/kate-soper-romance-of-the-rose.html      Stage                                    By Seth Colter Walls            TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/16/arts/tele
2023-02-16   2023-02-17 vision/hello-tomorrow-review.html            Imagine It Really Is Only a Paper Moon   By James Poniewozik             TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/16/arts/tele
2023-02-16   2023-02-17 vision/make-or-break-the-exchange-kleo.html This Weekend I Have                         By Margaret Lyons               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/busines Judge Talks of Jail if FTX Founder Doesnt    By Rebecca Davis OBrien and
2023-02-16   2023-02-17 s/bankman-fried-crypto-fraud-bail.html       Curb Internet Use                          David YaffeBellany              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/busines
                        s/economy/marty-walsh-labor-secretary-       Labor Secretary Will Leave to Run NHL
2023-02-16   2023-02-17 nhl.html                                     Players Union                              By Noam Scheiber                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/busines                                              By Patricia Cohen and Liz
2023-02-16   2023-02-17 s/economy/ukraine-rebuilding.html            The Worlds Largest Construction Site       Alderman                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/busines Magic The Gathering Generates 1 Billion in
2023-02-16   2023-02-17 s/magic-the-gathering-hasbro.html            Sales for Hasbro                           By Gregory Schmidt              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/busines                                              By Jeremy W Peters and Katie
2023-02-16   2023-02-17 s/media/fox-dominion-lawsuit.html            Fox Stars Voiced Voter Fraud Doubts        Robertson                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/busines Shoichiro Toyoda Who Helped Turn Toyota
2023-02-16   2023-02-17 s/shoichiro-toyoda-dead.html                 Into a Global Force Dies at 97             By Ben Dooley                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/busines
2023-02-16   2023-02-17 s/tesla-buffalo-union.html                   Tesla Accused of Firing Union Backers      By Jack Ewing and Noam Scheiber TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/busines Tesla to Recall 362000 Cars For Safety Flaw
2023-02-16   2023-02-17 s/tesla-recall-full-self-driving.html        In Technology                              By Neal E Boudette              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/climate
2023-02-16   2023-02-17 /argentina-drought.html                      Drought in Argentina Not Linked to Warming By Henry Fountain               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/health/i Higher Bills Are Leading Americans to Delay
2023-02-16   2023-02-17 nflation-delayed-health-care.html            Medical Care                               By Reed Abelson                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/movies/
2023-02-16   2023-02-17 88-review.html                                                                       88 By Glenn Kenny                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/movies/
2023-02-16   2023-02-17 a-radiant-girl-review.html                   A Radiant Girl                             By Beatrice Loayza              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/movies/
                        ant-man-and-the-wasp-quantumania-            In This Case the Actors emAreem Small but
2023-02-16   2023-02-17 review.html                                  the Picture Is Big                         By Manohla Dargis               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/movies/
2023-02-16   2023-02-17 devils-peak-review.html                      Devils Peak                                By Brandon Yu                   TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/16/movies/
2023-02-16   2023-02-17 emily-review-bronte-wuthering-heights.html Taking a Bront To New Heights              By Manohla Dargis               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/16/movies/
2023-02-16   2023-02-17 hidden-blade-review.html                   Hidden Blade                               By Austin Considine             TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/16/movies/
2023-02-16   2023-02-17 lonesome-review.html                       Lonesome                                   By Teo Bugbee                   TX 9-278-914     2023-04-04




                                                                               Page 4868 of 5793
                        https://www.nytimes.com/2023/02/16/movies/                                                 By Jeannette Catsoulis Amy
2023-02-16   2023-02-17 oscar-nominated-short-films-review.html     BiteSize Tales of Sisters Sailors and Walruses Nicholson and Ben Kenigsberg   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/movies/
2023-02-16   2023-02-17 pacifiction-review.html                     Its Kind of a Thriller                         By AO Scott                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/movies/
2023-02-16   2023-02-17 sharper-review.html                         Sharper                                        By Nicolas Rapold              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/movies/
2023-02-16   2023-02-17 the-first-step-review.html                  The First Step                                 By Natalia Winkelman           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/movies/
2023-02-16   2023-02-17 unlocked-review.html                        Unlocked                                       By Robert Daniels              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/nyregio Hochul Back to Square One on Finding a Top
2023-02-16   2023-02-17 n/hochul-judge-lasalle.html                 Judge for New York                             By Luis FerrSadurn             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/opinion
2023-02-16   2023-02-17 /jk-rowling-transphobia.html                In Defense of JK Rowling                       By Pamela Paul                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/science Sandra Trehub 84 Pioneer in Field Now
2023-02-16   2023-02-17 /sandra-trehub-dead.html                    Known as the Psychology of Music               By Oliver Whang                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/sports/b
2023-02-16   2023-02-17 aseball/shohei-ohtani-angels.html           He Can Hit He Can Pitch Will He Walk           By James Wagner                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/sports/b Tim McCarver 81 AllStar Catcher and Hall of
2023-02-16   2023-02-17 aseball/tim-mccarver-dead.html              Fame Broadcaster Dies                          By Bruce Weber                 TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/16/sports/b Celtics Done With Udoka As Mazzulla Gets
2023-02-16   2023-02-17 asketball/ime-udoka-fired-joe-mazzulla.html the Job                                     By Sopan Deb                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/sports/s
                        kiing/mikaela-shiffrin-world-               Shiffrin Survives Misstep To Win the Giant
2023-02-16   2023-02-17 championships.html                          Slalom                                      By Victor Mather                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/sports/s
2023-02-16   2023-02-17 occer/canada-us-women-equal-pay.html        Canada Takes On US and Its Own Federation By Juliet Macur                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/technol Bings Chatbot Drew Me In and Creeped Me
2023-02-16   2023-02-17 ogy/bing-chatbot-microsoft-chatgpt.html     Out                                         By Kevin Roose                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/technol
2023-02-16   2023-02-17 ogy/bing-chatbot-transcript.html            Edited Excerpts From the Conversation       By Kevin Roose                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/technol Microsoft Says It Is Considering Constraints
2023-02-16   2023-02-17 ogy/microsoft-bing-chatbot-limits.html      on AI Technology                            By Karen Weise and Cade Metz      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/technol Chernobyl 20 Feverish Speculation After
2023-02-16   2023-02-17 ogy/ohio-train-derailment-chernobyl.html    Derailment Fire and Toxic Smoke             By Stuart A Thompson              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/technol
                        ogy/susan-wojcicki-youtube-ceo-step-
2023-02-16   2023-02-17 down.html                                   Departure Of Women In Big Tech Continues By Nico Grant                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/us/abor Abortion Bills Putting Doctors In Center Of
2023-02-16   2023-02-17 tion-bills-doctors.html                     Fray                                        By David W Chen                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/us/day- Care Worker Fed Children Melatonin Police
2023-02-16   2023-02-17 care-melatonin-indiana-children.html        Say                                         By Christine Chung                TX 9-278-914   2023-04-04




                                                                                 Page 4869 of 5793
                                                                    Suspect Who Admitted to Killings at
                        https://www.nytimes.com/2023/02/16/us/half- California Mushroom Farms Pleads Not          By Eliza Fawcett and Soumya
2023-02-16   2023-02-17 moon-bay-shooting-suspect-plea.html         Guilty                                        Karlamangla                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/us/polit Biden Says He Plans to Speak With Xi About
2023-02-16   2023-02-17 ics/biden-spy-balloon-ufo.html              Chinas Surveillance Craft                     By Peter Baker                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/us/polit President Is Fit to Hold Office Bidens Doctor By Michael D Shear and Lawrence
2023-02-16   2023-02-17 ics/bidens-physical-doctor.html             Says After a Physical                         K Altman                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/us/polit ExChurch Committee Aides Send Jordan an
2023-02-16   2023-02-17 ics/church-committee-jim-jordan.html        Open Letter                                   By Luke Broadwater              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/us/polit Fetterman Checks Into Hospital To Get
2023-02-16   2023-02-17 ics/john-fetterman-health.html              Treatment for Depression                      By Annie Karni                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/us/polit Proud Boys Want Trump As Witness At Their
2023-02-16   2023-02-17 ics/proud-boys-trump-subpoena-jan-6.html    Trial                                         By Alan Feuer                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/us/polit GOP Feuds As Scott Calls For a Review Of
2023-02-16   2023-02-17 ics/rick-scott-social-security.html         Medicare                                      By Carl Hulse                   TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/16/us/polit Cancellation Hints Justices May Scrap
2023-02-16   2023-02-17 ics/supreme-court-title-42-immigration.html Migrant Case                              By Adam Liptak                     TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/16/us/polit                                           By Danny Hakim and Richard
2023-02-16   2023-02-17 ics/trump-georgia-grand-jury-report.html    Georgia Panel Found Perjury In Trump Case Fausset                            TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/16/world/a New Zealand Faces Painful Recovery After
2023-02-16   2023-02-17 sia/new-zealand-cyclone.html                Storm                                     By Natasha Frost                   TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/16/world/a                                            By Ana Swanson and Chris
2023-02-16   2023-02-17 sia/spy-balloon-military-china.html         China Blends Private Firms With Military  Buckley                            TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/16/world/e                                               By Anatoly Kurmanaev and Marc
2023-02-16   2023-02-17 urope/belarus-lukashenko-ukraine-war.html Caveat Aside Belarus Would Wage War            Santora                         TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/16/world/e
                        urope/scotland-independence-nicola-        Scotlands Nationalists Are Without a Leader
2023-02-16   2023-02-17 sturgeon.html                              or a Clear Path Forward                       By Stephen Castle               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/16/world/e
2023-02-16   2023-02-17 urope/spain-gender-change.html             Medical Tests Waived for Gender Change        By Emma Bubola and Jos Bautista TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/16/world/e
                        urope/sturgeon-resignation-reaction-       Divide on Issue Parallels Divide on First
2023-02-16   2023-02-17 scotland.html                              Minister                                      By Megan Specia                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/16/world/
                        middleeast/syria-earthquake-assad-         Syrias Quake Helps Pariah Creep Back Onto
2023-02-16   2023-02-17 diplomacy.html                             World Stage                                   By Declan Walsh                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/article/scotland-  What to Know About Sturgeons Political
2023-02-16   2023-02-17 nicola-sturgeon.html                       Legacy and Her Nations Future                 By Isabella Kwai                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/live/2023/02/16/wo
                        rld/russia-ukraine-news/putin-says-more-
                        russians-are-applying-to-adopt-ukrainian-
2023-02-16   2023-02-17 children                                   More Russians Seek to Adopt Putin Says        By Carly Olson                  TX 9-278-914    2023-04-04




                                                                                Page 4870 of 5793
                        https://www.nytimes.com/2023/02/16/opinion America Should Be in the Middle of a
2023-02-17   2023-02-17 /america-schools-revolution.html            Schools Revolution                          By David Brooks                    TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/16/opinion
2023-02-17   2023-02-17 /education-desantis.html                    The Right Dont Need No Education            By Paul Krugman                    TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/16/theater/
2023-02-17   2023-02-17 the-wanderers-review.html                   Testing the Limits of Love and of Longing   By Jesse Green                     TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/16/us/mich Too Shocked to Move Professor Saw Gunman
2023-02-17   2023-02-17 igan-state-shooting-professor-berkey-hall.html Appear and Open Fire                        By Julie Bosman and Jesus Jimnez TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/16/us/polit Where Birth of a Nation Played in 1915 Biden
2023-02-17   2023-02-17 ics/biden-emmett-till.html                     Screens Till                                By Zolan KannoYoungs              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/us/polit Veteran Health Benefits Law Is Billions Over By Stephanie Lai and Jim
2023-02-17   2023-02-17 ics/burn-pits-veterans-budget-deficit.html     Its Budget                                  Tankersley                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/us/polit
                        ics/east-palestine-ohio-train-chemicals-                                                   By Sophie Wodzak Emily Cochrane
2023-02-17   2023-02-17 fema.html                                      EPAs Pledge For Ohio Town Is Met by Doubt and Lisa Friedman                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/world/e First Came Balloons From Moscow Then
2023-02-17   2023-02-17 urope/ukraine-russia-missile-attack.html       Came Missiles                               By Marc Santora                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/insider/
2023-02-17   2023-02-17 why-morioka-japan-answers.html                 A City That Enables Its Residents to Thrive By Craig Mod                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/world/e Recent Surge in Murders of Women Alarms
2023-02-17   2023-02-17 urope/spain-women-murders-protests.html        Spain                                       By Isabella Kwai and Jos Bautista TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/17/us/hurri Another Hurricane Ian Victim Found in Same
2023-01-17   2023-02-18 cane-ian-victim-found.html                     Florida County                              By Remy Tumin                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/busines After Quitting Single Mothers Tested and
2023-02-05   2023-02-18 s/quitting-single-moms-parents.html            Relieved                                    By Sejla Rizvic                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/travel/v
2023-02-07   2023-02-18 anlife-skiing-oregon.html                      Ski Getaway Starts With a Parking Space     By Heather Hansman                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/busines Now Hiring Savvy Interns Who Can Make
2023-02-12   2023-02-18 s/tiktok-interns.html                          TikTok Hits                                 By Sapna Maheshwari               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/12/opinion What Ive Learned From Working at a Mental
2023-02-12   2023-02-18 /health/mental-health-outreach.html            Health Hotline                              By Benedict Carey                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/arts/mu
2023-02-15   2023-02-18 sic/russia-today-opera-eugene-birman.html      What Is Russia Thinking                     By Andrew Dickson                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/arts/po
2023-02-15   2023-02-18 dcast-industry-spotify.html                    Podcasts Rise Hits Turbulence               By Reggie Ugwu                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/books/r
2023-02-15   2023-02-18 eview/books-democracy-capitalism.html          Sounding an Alarm Over Americas Values      By Jennifer Szalai                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/arts/dan
2023-02-16   2023-02-18 ce/goecke-dog-feces-critic.html                He Smeared Feces on a Critic And Lost a Job By Alex Marshall                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/arts/ma The Whitney Names Its First Latino Senior
2023-02-16   2023-02-18 rcela-guerrero-whitney.html                    Curator                                     By Robin Pogrebin                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/nyregio Margaret Heagarty 88 Champion For
2023-02-16   2023-02-18 n/margaret-heagarty-dead.html                  Childrens Health in Harlem                  By Sam Roberts                    TX 9-278-914   2023-04-04




                                                                                 Page 4871 of 5793
                        https://www.nytimes.com/2023/02/16/opinion
                        /author-auctions-joan-didion-andre-leon-talley
2023-02-16   2023-02-18 elizabeth-wurtzel.html                         Slouching Through an Estate Auction          By Carina Chocano              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/opinion When the Horseshoe Crabs Are Gone Well Be
2023-02-16   2023-02-18 /drug-safety-horsehoe-crab.html                in Trouble                                   By Deborah Cramer              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/theater/
2023-02-16   2023-02-18 cottage-broadway-jason-alexander.html          Jason Alexander Will Direct a Comedy         By Michael Paulson             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/world/c After Going Gray a News Anchor Found
2023-02-16   2023-02-18 anada/lisa-laflamme-ctv-anchor.html            Herself the Focus of the Story               By Norimitsu Onishi            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/arts/co
                        medy-specials-marc-maron-roseanne-
2023-02-17   2023-02-18 barr.html                                      Intricate Eccentric and Enraged              By Jason Zinoman               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/arts/mu
2023-02-17   2023-02-18 sic/review-new-york-philharmonic.html          Concerto Comes Complete With Video           By Zachary Woolfe              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/books/d Donald Spoto Biographer of Hitchcock and
2023-02-17   2023-02-18 onald-spoto-dead.html                          Many More Dies at 81                         By Neil Genzlinger             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/busines Star Banker Vanishes in China Stoking Fears
2023-02-17   2023-02-18 s/bao-fan-china-banker.html                    of Renewed Beijing Crackdown                 By Daisuke Wakabayashi         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/busines
2023-02-17   2023-02-18 s/child-labor-packers-sanitation.html          Minors Hired At Meat Plants Lead to Fines By Michael Levenson               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/busines
                        s/energy-environment/norfolk-southern-
2023-02-17   2023-02-18 derailment-safety.html                         Railroad Profit Rose Recently As Did Crashes By Peter Eavis and Mark Walker TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/busines CNN Anchor Is Rebuked For Remarks On             By Michael M Grynbaum and John
2023-02-17   2023-02-18 s/media/cnn-don-lemon-apology.html             Women                                        Koblin                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/busines                                                  By Joe Rennison and Jeanna
2023-02-17   2023-02-18 s/stock-market-economy.html                    Stocks Drop On Worries Over Rates            Smialek                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/canada- Sweeping Act by Trudeau Was Justified
2023-02-17   2023-02-18 trucker-protests-trudeau.html                  Judge Says                                   By Ian Austen                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/climate Biden to Restore Mercury Limits Weakened
2023-02-17   2023-02-18 /biden-epa-mercury-trump.html                  by Trump                                     By Coral Davenport             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/movies/
2023-02-17   2023-02-18 bafta-nominees-diversity.html                  Diversity of BAFTA nominees broadens         By Farah Nayeri                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/17/movies/
2023-02-17   2023-02-18 crouching-tiger-hidden-dragon-rerelease.html An Unlikely Masterpiece Still Flies High   By Brandon Yu                    TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/17/movies/
2023-02-17   2023-02-18 london-southbank-center-bafta.html           Londons other crown jewel                  By Ginanne Brownell              TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/17/movies/
                        winnie-the-pooh-blood-and-honey-
2023-02-17   2023-02-18 review.html                                  A Willy Nilly Killy Old Bear               By Kyle Turner                   TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/17/nyregio New York City Reaches a Tentative
2023-02-17   2023-02-18 n/adams-remote-work-dc37.html              Agreement With Its Largest Municipal Union By Emma G Fitzsimmons              TX 9-278-914     2023-04-04




                                                                                 Page 4872 of 5793
                        https://www.nytimes.com/2023/02/17/nyregio New York City Progressives Are Struggling to By Jeffery C Mays and Emma G
2023-02-17   2023-02-18 n/progressive-nyc.html                      Define Themselves                           Fitzsimmons                    TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/17/opinion A Portrait of Extravagant Cynicism at Fox
2023-02-17   2023-02-18 /fox-news-dominion.html                     News                                        By Michelle Goldberg           TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/17/sports/b A Photographer Swimming Around in a
2023-02-17   2023-02-18 ig-wave-surfing-sachi-cunningham.html       Cosmic Washing Machine                      By Bonnie Tsui                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/17/sports/g Judge Rules PGA Tour Can Depose Saudi
2023-02-17   2023-02-18 olf/liv-pga-saudi-influence.html            Wealth Funds Leader                         By Alan Blinder                TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/17/sports/g Woods at 47 Still Rehabbing Still Thirsting to
2023-02-17   2023-02-18 olf/tiger-woods-genesis-international-pga.html Win                                         By Alan Blinder               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/us/alex- Before Resting Their Case Prosecutors Say
2023-02-17   2023-02-18 murdaugh-trial-prosecution.html                Victims Found Murdaughs Pills               By Nicholas BogelBurroughs    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/us/hous Precious Housing Aid but a Frustrating
2023-02-17   2023-02-18 ing-voucher-search-los-angeles.html            Search                                      By Corina Knoll               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/us/law- The Future of the LSAT Cases for and
2023-02-17   2023-02-18 schools-lsat-requirement.html                  Against                                     By Jacey Fortin               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/us/mem A Question of Supervision in the Nichols         By Jessica Jaglois and Joseph
2023-02-17   2023-02-18 phis-police-tyre-nichols.html                  Case                                        Goldstein                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/us/polit US Is Concerned Beijing Has Edge At High By Edward Wong Eric Schmitt and
2023-02-17   2023-02-18 ics/china-us-balloons-ufo.html                 Altitudes                                   Julian E Barnes               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/us/polit Balloon Crisis Highlights Split in Chinas      By Eric Schmitt and Zach
2023-02-17   2023-02-18 ics/chinese-spy-balloon-debris.html            Leadership a Top Pentagon Official Says     Montague                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/us/polit On Entitlements Senator Bows To Reality
2023-02-17   2023-02-18 ics/rick-scott-social-security.html            Political if Not Fiscal                     By Carl Hulse                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/us/polit Senator Brings Message Of Unity Within a
2023-02-17   2023-02-18 ics/tim-scott-2024-president.html              GOP Thats Spoiling for a Fight              By Jonathan Weisman           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/us/shoo Six Are Killed in Series of Shootings in Rural By Eduardo Medina and McKenna
2023-02-17   2023-02-18 ting-tate-county-mississippi.html              Mississippi Officials Say                   Oxenden                       TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/17/us/trum Trump Not Exonerated and Other Takeaways By Richard Fausset and Danny
2023-02-17   2023-02-18 p-georgia-grand-jury-takeaways.html         From Georgias Special Grand Jury            Hakim                          TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/17/us/west- An Arrest in a 1985 Killing Stirs Memories
2023-02-17   2023-02-18 virginia-boy-murder.html                    for a Sister                                By Eduardo Medina              TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/17/world/a War in Ukraine Does Little to Change
2023-02-17   2023-02-18 frica/south-africa-russia-china.html        Relations Between Russia and South Africa By John Eligon                   TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/17/world/a
                        mericas/nicaragua-strips-citizenship-       Nicaragua Strips Hundreds of Citizenship In
2023-02-17   2023-02-18 dissidents.html                             Government Crackdown of Dissidents          By Alan Yuhas                  TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/17/world/e Without Many Weapons of Its Own
2023-02-17   2023-02-18 urope/luxembourg-weapons-ukraine-nato.html Luxembourg Plays the Middleman            By Lara Jakes                     TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/17/world/e
                        urope/macron-ukraine-russia-               Macron Urges More Support for Ukraine but
2023-02-17   2023-02-18 negotiations.html                          Also Emphasizes Negotiation               By Roger Cohen                    TX 9-278-914     2023-04-04



                                                                               Page 4873 of 5793
                        https://www.nytimes.com/2023/02/17/world/e With Northern Ireland Trade Deal Sunak
2023-02-17   2023-02-18 urope/sunak-northern-ireland-uk.html       Hopes to Quell Calls for Independence       By Mark Landler                    TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/17/world/e Allies Vow to Help Kyiv As Long as          By Michael Crowley Roger Cohen
2023-02-17   2023-02-18 urope/ukraine-russia-western-support.html   Necessary                                  Steven Erlanger and Erika Solomon TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/17/world/i Underground Base Signals Closer Ties For    By Christoph Koettl and Alexander
2023-02-17   2023-02-18 ran-air-force-base-jets.html                Russia and Iran                            Cardia                            TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/17/world/ As Turkey Crumbled This City Remained        By Cora Engelbrecht and Nimet
2023-02-17   2023-02-18 middleeast/erzin-turkey-earthquake.html     Intact                                     Kirac                             TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/17/your-
2023-02-17   2023-02-18 money/i-bonds-tax-refund.html               Should You Buy I Bonds With a Tax Refund   By Ann Carrns                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/technol Microsoft Cuts Conversations With Chatbot
2023-02-18   2023-02-18 ogy/microsoft-bing-chatbot-limits.html      To 5 Questions                             By Kalley Huang                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/us/polit Politicians Face Risks in Telling Of       By Sheryl Gay Stolberg and Ellen
2023-02-18   2023-02-18 ics/fetterman-mental-illness-stigma.html    Depression                                 Barry                              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/busines
2023-02-18   2023-02-18 s/crypto-crackdown-regulation.html          Regulators Crack Down On Crypto            By David YaffeBellany              TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/18/sports/a A StockCar Champion Finds His Way Back
2023-02-18   2023-02-18 utoracing/daytona-500-jimmie-johnson.html Just in Time for Daytona                       By Gregory Leporati              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2022/12/
                        02/arts/sight-and-sound-best-movies-of-all-                                              By Eric Grode Weiyi Cai Rumsey
2022-12-03   2023-02-19 time.html                                    What Makes a Movie the Greatest of All Time Taylor and Josh Williams         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/03/arts/sei                                              By Madeleine Morley and Peter
2023-01-03   2023-02-19 smology-raspberry-shake-earth.html           The Unheard Symphony Of the Planet          Fisher                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/24/books/r
2023-01-24   2023-02-19 eview-the-aftermath-baby-boom.html           Prophet of Boom                             By Alexandra Jacobs              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/24/books/r
                        eview/pirate-enlightenment-david-
2023-01-24   2023-02-19 graeber.html                                 The Buccaneer Base                          By Peter Frankopan               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/25/books/r
2023-01-25   2023-02-19 eview/against-the-world-tara-zahra.html      Globalization and Its Discontents           By Jennifer Szalai               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/05/books/r
2023-02-05   2023-02-19 eview/stone-blind-natalie-haynes.html        Medusas Turn                                By Lucinda Rosenfeld             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/t-
                        magazine/queer-baiting-harry-styles-bad-
2023-02-06   2023-02-19 bunny.html                                   The Imitation Game                          By Mark Harris                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/t-
                        magazine/spring-womens-fashion-
2023-02-06   2023-02-19 everyday.html                                These Clothes Were Made for Strutting       By Hanya Yanagihara              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/t-                                                    By Johnny Dufort and Carlos
2023-02-06   2023-02-19 magazine/spring-womens-fashion.html          Now and forever                             Nazario                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/books/r
2023-02-07   2023-02-19 eview/charmaine-craig-my-nemesis.html        Falling Out                                 By Esm Hogeveen                  TX 9-278-914   2023-04-04




                                                                               Page 4874 of 5793
                        https://www.nytimes.com/2023/02/07/books/r
2023-02-07   2023-02-19 eview/couplets-maggie-millner.html         Partners in Rhyme                          By Adrienne Raphel               TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/07/books/r
2023-02-07   2023-02-19 eview/lives-of-the-wives-carmela-ciararu.html Unhappily Married                       By Hermione Hoby                 TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/07/books/r
2023-02-07   2023-02-19 eview/your-driver-is-waiting-priya-guns.html Driven                                   By Camille Perri                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/07/t-
                        magazine/meringue-baking-pastry-                                                      By Aliza Abarbanel and Esther
2023-02-07   2023-02-19 dessert.html                                 A Cloud Made of Sugar                    Choi                             TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/07/t-                                                 By Kurt Soller and Jennifer
2023-02-07   2023-02-19 magazine/pictures-from-home-broadway.html Moving IMAGES                               Livingston                       TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/08/books/r
                        eview/the-declassification-engine-matthew-
2023-02-08   2023-02-19 connelly.html                              Paper Chase                                By Tim Weiner                    TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/08/t-
2023-02-08   2023-02-19 magazine/fashion-shiny-spring.html         Throwing Sparks                            By Tom Johnson and Hisato Tasaka TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/08/t-                                                 By Amanda Fortini and Kyoko
2023-02-08   2023-02-19 magazine/gloriosa-lily.html                Stranger Things                            Hamada                           TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/08/t-
2023-02-08   2023-02-19 magazine/whitney-houston-black-women.html Every Woman                                 By Emily Lordi                   TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/09/books/r
                        eview/how-to-sell-a-haunted-house-grady-
2023-02-09   2023-02-19 hendrix.html                               Boring Book Events Not for Grady Hendrix   By Elisabeth Egan                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/09/books/r
2023-02-09   2023-02-19 eview/new-historical-fiction.html          A Sense of Place                           By Alida Becker                  TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/09/t-
                        magazine/louboutin-portugal-vacation-                                                 By Ellie Pithers and Clment
2023-02-09   2023-02-19 home.html                                  nothing but blue skies                     Vayssieres                       TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/09/style/m
2023-02-10   2023-02-19 schf-big-red-boots.html                    Made for Walking If Youre Astro Boy        By Callie Holtermann             TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/10/t-                                                 By Ligaya Mishan Kyoko Hamada
2023-02-10   2023-02-19 magazine/restaurants-hostile-eating-out.html Fighting Over Dinner                     and Victoria PetroConroy          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/t-                                                 By Jennifer Livingston and Jordan
2023-02-10   2023-02-19 magazine/spring-shoes-bold-heels.html        Play It Up                               Boothe                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/style/be
2023-02-11   2023-02-19 yonce-renaissance-world-tour-fans.html       How Far to Go for Beyonc                 By Sandra E Garcia               TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/12/opinion An Experiment on the Economy Is About to
2023-02-12   2023-02-19 /economy-ira-infrastructure-clean-energy.html Begin                                   By Robinson Meyer                TX 9-278-914    2023-04-04




                                                                                 Page 4875 of 5793
                        https://www.nytimes.com/interactive/2023/02/ Childbirth Is Deadlier for Black Families
                        12/upshot/child-maternal-mortality-rich-     Even When Theyre Rich Expansive Study        By Sarah Kliff Claire Cain Miller
2023-02-12   2023-02-19 poor.html                                    Finds                                        and Larry Buchanan                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/13/arts/tele
2023-02-13   2023-02-19 vision/amrit-kaur-sex-lives-college-girls.html Amrit Kaur Likes Travel and Trashy Shows By Rachel Sherman                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/magazi My Friend Wont Leave Her Abusive Husband
2023-02-13   2023-02-19 ne/abusive-husband-ethics.html                 What Do I Do                              By Kwame Anthony Appiah              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/realesta
2023-02-13   2023-02-19 te/renters-mott-haven-bronx.html               She Left New York City but Wanted Back In By DW Gibson                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/t-
                        magazine/giorgio-armani-fashion-
2023-02-13   2023-02-19 photographs.html                               Giorgio Armani                            By Laura May Todd                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/t-
2023-02-13   2023-02-19 magazine/ostalgie-art-east-germany.html        Ghost Country                             By Evan Moffitt                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/technol
                        ogy/ai-art-generator-lensa-stable-             With AI Appropriating Their Style Some
2023-02-13   2023-02-19 diffusion.html                                 Artists Join the Resistance               By Kashmir Hill                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/arts/mu
2023-02-14   2023-02-19 sic/karol-g-manana-sera-bonito.html            Good Riddance Gives Way to Love           By Jon Pareles                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/books/r
                        eview/brutes-on-the-savage-side-dizz-tate-
2023-02-14   2023-02-19 tiffany-mcdaniel.html                          New Perspectives                          By Danya Kukafka                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/magazi
2023-02-14   2023-02-19 ne/falling-asleep-shipping-forecast.html       BBC Shipping Forecast                     By Grace Linden                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/magazi
2023-02-14   2023-02-19 ne/hayao-miyazaki-ghibli-park.html             Spirited Away                             By Sam Anderson                      TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/14/realesta
2023-02-14   2023-02-19 te/marlo-thomas-love-williams-sonoma.html A Life Bathed in Sunlight and Hospitality       By Joanne Kaufman                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/style/ph
                        arrell-williams-louis-vuitton-mens-creative-
2023-02-14   2023-02-19 director.html                                Louis Vuitton Turns to Pharrell Williams     By Elizabeth Paton and Guy Trebay TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/14/style/se Setting Couples on the Path to a Richer Sex
2023-02-14   2023-02-19 x-intimacy-coach.html                        Life                                         By Alix Strauss                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/t-                                                     By Lucie Rox and Jeanie
2023-02-14   2023-02-19 magazine/colorful-spring-fashion.html        The Bright Side                              AnnanLewin                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/t-
                        magazine/dorothee-meilichzon-paris-          The Discreet Charm of the Bourgeois          By Kurt Soller and Clment
2023-02-14   2023-02-19 apartment.html                               Apartment                                    Vayssieres                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/arts/mu
2023-02-15   2023-02-19 sic/met-opera-lohengrin-robert-wilson.html Greeted by Boos It Changed the Met Opera       By Zachary Woolfe                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/arts/mu
2023-02-15   2023-02-19 sic/wagner-lohengrin-fuhrer.html             Words to Explore Not Erase                   By Zachary Woolfe                   TX 9-278-914   2023-04-04




                                                                                  Page 4876 of 5793
                        https://www.nytimes.com/2023/02/15/briefing
2023-02-15   2023-02-19 /affirmative-action.html                    Affirmative Actions Fate Hinges on Its Past By David Leonhardt                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/magazi
2023-02-15   2023-02-19 ne/affirmative-action-supreme-court.html    The Undoing of Affirmative Action           By Emily Bazelon                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/magazi
2023-02-15   2023-02-19 ne/nba-dunk-contest.html                    No Contest                                  By Katie Heindl                   TX 9-278-914   2023-04-04
                                                                    All In A onepan dinner like this balanced
                        https://www.nytimes.com/2023/02/15/magazi paprika chicken dish is the perfect time to
2023-02-15   2023-02-19 ne/one-pan-paprika-chicken-recipe.html      play with textures                          By Yotam Ottolenghi               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/opinion
2023-02-15   2023-02-19 /black-cemeteries-restoration.html          Black Americans Deserve to Rest in Peace    By Greg Melville                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/opinion
2023-02-15   2023-02-19 /nikki-haley-president.html                 Could Haley Be Our Next President           By New York Times Opinion         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/realesta In Monmouth County a DowntoEarth Sweet
2023-02-15   2023-02-19 te/freehold-nj-monmouth-county.html         Spot                                        By Jill P Capuzzo                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/realesta
                        te/home-prices-new-jersey-minnesota-and-    950000 Homes in New Jersey Minnesota and
2023-02-15   2023-02-19 missouri.html                               Missouri                                    By Angela Serratore               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/realesta
2023-02-15   2023-02-19 te/houseplants-type-care.html               Boring A Houseplant Is an Opportunity       By Margaret Roach                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/style/ca
2023-02-15   2023-02-19 viar-kaspia-nyfw-party.html                 AList Crowd Devours a Coveted Delicacy      By Thessaly La Force              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/style/w
                        hat-should-i-do-about-a-neighbor-who-
2023-02-15   2023-02-19 verbally-abused-her-child.html              The PutDown Police                          By Philip Galanes                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/t-                                                   By Eviana Hartman Philip Cheung
2023-02-15   2023-02-19 magazine/ugly-plants-cactus-succulent.html The Lure of the Ugly                         and Bette Adams                   TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/15/theater/
2023-02-15   2023-02-19 hari-nef-parker-posey-seagull-chekhov.html Doubly Cool and Able to Connect            By Elisabeth Vincentelli            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/us/polit
                        ics/biden-documents-anita-dunn-bob-         Power Couple at Center of Bidens Inner
2023-02-15   2023-02-19 bauer.html                                  Circle Runs Point in Documents Case       By Katie Rogers and Glenn Thrush TX 9-278-914      2023-04-04
                        https://www.nytimes.com/2023/02/15/opinion
2023-02-16   2023-02-19 /ron-desantis-black-history.html            Ron DeSantiss Wicked Wisdom               By Charles M Blow                   TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/16/arts/tele
2023-02-16   2023-02-19 vision/party-down-is-back-did-you-rsvp.html Party Down Is Back Did You RSVP           By Alexis Soloski                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/books/r
                        eview/tami-charles-bryan-collier-we-are-here-
                        kwame-alexander-dare-coulter-an-american-
2023-02-16   2023-02-19 story.html                                    Why Black History Month Exists          By Nikole HannahJones               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/magazi
                        ne/judge-john-hodgman-gift-etiquette-
2023-02-16   2023-02-19 books.html                                    Bonus Advice From Judge John Hodgman    By John Hodgman                     TX 9-278-914   2023-04-04



                                                                                Page 4877 of 5793
                        https://www.nytimes.com/2023/02/16/magazi                                                By Magdalena Zurawski and Anne
2023-02-16   2023-02-19 ne/poem-dog-is-a-way-of-thinking.html       Poem                                         Boyer                             TX 9-278-914   2023-04-04
                                                                      songwriter Shane McAnally has been
                        https://www.nytimes.com/2023/02/16/magazi rewriting the sexual politics of mainstream
2023-02-16   2023-02-19 ne/shane-mcanally-country-music.html        country music                                By Carlo Rotella                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/nyregio
2023-02-16   2023-02-19 n/brooklyn-observant-jews.html              In Brooklyn Sabbath Expands                  By Joseph Berger                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/realesta
2023-02-16   2023-02-19 te/solar-energy-efficient-home.html         Saving Energy for a Cleaner Future           By Michael Kolomatsky             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/sports/b
                        asketball/luka-doncic-dallas-mavericks-all- Slowly but Surely Doncic Is Rising To the
2023-02-16   2023-02-19 star.html                                   NBAs Top                                     By Jonathan Abrams                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/style/ne
                        w-york-fashion-week-luar-tory-burch-
2023-02-16   2023-02-19 trends.html                                 New Elegance Far From the Plaza              By Vanessa Friedman               TX 9-278-914   2023-04-04
                                                                    An Age of MonstersEvery time the world is in
                        https://www.nytimes.com/2023/02/16/t-       trouble one creature takes root in the human
2023-02-16   2023-02-19 magazine/chimera-monsters.html              imagination the chimera Why                  By Aatish Taseer                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/16/t-
2023-02-16   2023-02-19 magazine/elizabeth-peyton-taylor-russell.html Elizabeth Peyton and Taylor Russell         By Jenny Comita                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/t-
2023-02-16   2023-02-19 magazine/market-report-fringe.html            Textured Trimmings                          By Mari Maeda and Yuji Oboshi    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/world/e Arne Treholt Diplomat Convicted Of Spying
2023-02-16   2023-02-19 urope/arne-treholt-dead.html                  for Soviets Dies at 80                      By Clay Risen                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/
                        16/realestate/athens-greece-apartment-        They Wanted to Live in Greece Full Time But
2023-02-16   2023-02-19 retirement.html                               What Would They Find for 300000             By Ronda Kaysen                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/arts/dan Rena Gluck 89 Who Helped Create Israels
2023-02-17   2023-02-19 ce/rena-gluck-dead.html                       PreEminent Dance Troupe                     By Brian Schaefer                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/arts/des
2023-02-17   2023-02-19 ign/thaddeus-mosley-photographer.html         At 96 Sculptor Gets His Moment in the Sun By Will Heinrich                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/busines The Rise of the Active Shooter Defense         By Michael Corkery and Zackary
2023-02-17   2023-02-19 s/active-shooter-industry-us.html             Industry                                    Canepari                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/busines
                        s/stock-market-interest-rates-federal-        An Uneasy Dance Between the Markets and
2023-02-17   2023-02-19 reserve.html                                  the Fed                                     By Jeff Sommer                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/nyregio
2023-02-17   2023-02-19 n/hepworth-farms-cannabis.html                Theyre Betting The Farm On Weed             By Elizabeth G Dunn              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/nyregio Clunky Municipal Funding Rules Impede a
2023-02-17   2023-02-19 n/sex-trafficking-charity-gems.html           Charitys Work                               By Ginia Bellafante              TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/17/opinion
2023-02-17   2023-02-19 /childhood-cancer-family-conversations.html Helping My Child Navigate the Impossible    By Sarah Wildman                   TX 9-278-914   2023-04-04




                                                                                Page 4878 of 5793
                        https://www.nytimes.com/2023/02/17/opinion
                        /desantis-florida-african-american-studies- Americas Long Tradition of Rewriting Black
2023-02-17   2023-02-19 black-history.html                          History                                      By Henry Louis Gates Jr         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/realesta
2023-02-17   2023-02-19 te/smart-home-devices.html                  A Curse of Undesirable Connections           By Anna Kod                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/sports/n The NCAA Faces Daunting Problems Of Its
2023-02-17   2023-02-19 caa-federal-court-athletes.html             Own Making                                   By Billy Witz                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/sports/s
                        occer/champions-league-premier-league-      Perhaps It Should Be Renamed the
2023-02-17   2023-02-19 chelsea.html                                NotSoPremier League                          By Rory Smith                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/style/hu
2023-02-17   2023-02-19 ggy-wuggy-poppy-playtime.html               Villain Leaps From a Game Into Little Arms   By Magdalene J Taylor           TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/17/style/je A Class Cut Short and a Relationship That
2023-02-17   2023-02-19 ssica-lopez-valerio-jorge-plaza-wedding.html Endured                                    By Ivy Manners                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/style/lis Still Like a Rolling Stone but Sounding a
2023-02-17   2023-02-19 a-smartt-kevin-gleeson-wedding.html          New Note                                   By Alix Wall                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/style/m
                        odern-love-must-we-feel-shame-over-
2023-02-17   2023-02-19 divorce.html                                 A LifeAffirming Connection Beyond the Mire By Samaiya Mushtaq               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/style/ne
2023-02-17   2023-02-19 w-york-fashion-week-street-style.html        The Streets Were Drenched With Gold        By Simbarashe Cha                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/t-
                        magazine/ferragamo-sandal-gancini-
2023-02-17   2023-02-19 clasp.html                                   First of its Kind Last of its Kind         By Lindsay Talbot                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/t-
                        magazine/terrence-zhou-bad-binch-                                                       By Megan Conway and Flora
2023-02-17   2023-02-19 tongtong.html                                Bad Binch TongTong                         Hanitijo                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/world/e Russian Mole Case in Germany Creates         By Erika Solomon Christopher F
2023-02-17   2023-02-19 urope/germany-russia-spies.html              Suspicions Far Beyond                      Schuetze and Julian E Barnes     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/
                        16/sports/spring-calendar-nba-mlb-march-
2023-02-17   2023-02-19 madness.html                                 The Sports Calendar Is Heating Up          By Sara Ziegler                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/movies/ Stella Stevens 84 Hollywood Bombshell Who
2023-02-18   2023-02-19 stella-stevens-dead.html                     Wanted More Dies                           By Clay Risen                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/us/los- Charged With Hate Crimes In Shootings at     By Maya King and Amanda
2023-02-18   2023-02-19 angeles-synagogues-shooting.html             Synagogues                                 Holpuch                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/arts/jeff-Art Fair Visitor Breaks 42000 Balloon Dog
2023-02-18   2023-02-19 koons-sculpture-broken-miami.html            Sculpture                                  By Amanda Holpuch                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/busines
2023-02-18   2023-02-19 s/coworker-strong-perfume.html               Overwhelmed by a Scented Colleague         By Roxane Gay                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/busines
                        s/fixing-social-security-and-medicare-where- A Standoff Over Social Security and
2023-02-18   2023-02-19 the-parties-stand.html                       Medicare                                   By Mark Miller                   TX 9-278-914   2023-04-04




                                                                                Page 4879 of 5793
                        https://www.nytimes.com/2023/02/18/busines Over 300000 Bottled Drinks From Starbucks
2023-02-18   2023-02-19 s/starbucks-vanilla-frappuccino-recall.html  Are Recalled                                  By McKenna Oxenden         TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/climate Biden Elevates 2 Climate Champions to Top By Coral Davenport and Jeanna
2023-02-18   2023-02-19 /biden-brainard-revesz-climate.html          Posts                                         Smialek                    TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/climate Climate Change Withers Cotton And Prices
2023-02-18   2023-02-19 /climate-change-cotton-tampons.html          Soar                                          By Coral Davenport         TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/nyregio
2023-02-18   2023-02-19 n/catalytic-converter-stolen.html            Beneath a Cars Chassis Lies a Thiefs Treasure By TM Brown                TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/nyregio 63000 Jobs Are Predicted in New York
2023-02-18   2023-02-19 n/new-york-cannabis-industry-jobs.html       Growth Industry Cannabis                      By Ashley Southall         TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/nyregio
2023-02-18   2023-02-19 n/sudsy-water-lachena-clark.html             Afternoon Tea and Plenty of Empathy           By Tammy La Gorce          TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/opinion
                        /biden-should-give-ukraine-what-it-needs-to-
2023-02-18   2023-02-19 win.html                                     Give Ukraine What It Needs to Win             By Nicholas Kristof        TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/opinion
2023-02-18   2023-02-19 /depression-teen-social.html                 Teenage Despair and Smartphones               By Ross Douthat            TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/opinion
2023-02-18   2023-02-19 /john-leguizamo.html                         Wooing a Latin Star KardashianStyle           By Maureen Dowd            TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/opinion
2023-02-18   2023-02-19 /trans-gender-missouri.html                  How Red States Are Attacking Families         By Megan K Stack           TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/opinion
2023-02-18   2023-02-19 /ukraine-biden.html                          Ukraine Deserves Steadfast Support            By The Editorial Board     TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/18/realesta Can a Neighbors Video Doorbell Zero In on
2023-02-18   2023-02-19 te/ring-doorbell-camera-aparments-nyc.html My Apartments Door                           By Ronda Kaysen               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/sports/s
                        kiing/mikaela-shiffrin-world-               Another Race for Shiffrin Another Medal for
2023-02-18   2023-02-19 championships.html                          Shiffrin But Its Not Another Gold           By Matthew Futterman          TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/18/style/ha A Handfasting Ceremony for Two or Three or
2023-02-18   2023-02-19 ndfasting-ceremony-polyamory-celtic.html    More                                       By Jenny Block                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/us/coas In Fraught Corner of Washington Classroom
2023-02-18   2023-02-19 t-guard-columbia-river-bar.html             With 40Foot Waves                          By Kirk Johnson and Ruth Fremson TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/us/polit Carter Enters Hospice Care at His Georgia
2023-02-18   2023-02-19 ics/jimmy-carter-hospice.html               Home                                       By Peter Baker                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/us/polit
                        ics/michigan-republicans-deperno-           Michigan GOP Installs Election Denier as
2023-02-18   2023-02-19 karamo.html                                 Leader                                     By Neil Vigdor                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/world/a Nigerias Young Voters Look Beyond Same
2023-02-18   2023-02-19 frica/nigeria-election-youth-obi.html       Old People                                 By Ruth Maclean                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/world/a
2023-02-18   2023-02-19 sia/north-korea-missile-launch.html         North Korea Fires LongRange Missile        By Choe SangHun                  TX 9-278-914   2023-04-04




                                                                               Page 4880 of 5793
                        https://www.nytimes.com/2023/02/18/world/e Blinken Rebukes Chinese Diplomat Over Spy By Michael Crowley and David E
2023-02-18   2023-02-19 urope/blinken-wang-china-balloon.html         Balloon                                    Sanger                             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/world/e
                        urope/chinese-official-us-balloon-response- Harris Says Russia Committed Crimes          By Michael Crowley and David E
2023-02-18   2023-02-19 ukraine-war.html                              Against Humanity                           Sanger                             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/world/e
                        urope/christian-atsu-dead-turkey-             Body of Player From Ghana Is Recovered In
2023-02-18   2023-02-19 earthquake.html                               Turkey                                     By Euan Ward                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/world/e UK Police Criticized for Exposing Missing
2023-02-18   2023-02-19 urope/uk-missing-woman-privacy.html           Womans Private Troubles                    By Megan Specia                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/world/e                                               By Lynsey Addario and Andrew E
2023-02-18   2023-02-19 urope/ukraine-teacher-combat.html             Trading Books for a Rifle                  Kramer                             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/world/
                        middleeast/turkey-earthquake-victims-         With a Million Left Homeless Turkey        By Cora Engelbrecht and Nimet
2023-02-18   2023-02-19 homeless.html                                 Struggles to Cope                          Kirac                              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/busines
                        s/the-week-in-business-ai-chatbot-            The Week in Business A Chatbot Yearns for
2023-02-19   2023-02-19 microsoft.html                                Existence                                  By Marie Solis                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/insider/
2023-02-19   2023-02-19 the-good-ship-ochs.html                       The Good Ship Ochs                         By David W Dunlap                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/nyregio
2023-02-19   2023-02-19 n/new-york-crime-elderly-safety.html          Killing Adds to Fears Of Older New Yorkers By Maria Cramer                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/opinion
2023-02-19   2023-02-19 /biden-campaign-2024-2020.html                What Biden Has Going for Him in 2024       By Ezra Klein                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/realesta The Next Hot Housing Market Is Out of This
2023-02-19   2023-02-19 te/metaverse-vr-housing-market.html           World                                      By Debra Kamin                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/style/lil-
2023-02-19   2023-02-19 nas-x-laquan-smith-fashion-week.html          The City Moves To a Steady Beat            By Denny Lee                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/us/bruc Sale of Beachfront Land Spurs Debate on
2023-02-19   2023-02-19 es-beach-sold-reparations.html                Reparations Goals                          By Clyde McGrady                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/us/covi As Covid19 Gripped US Death Swept             By Jennifer ValentinoDeVries and
2023-02-19   2023-02-19 d-prison-deaths.html                          Through Prison System                      Allie Pitchon                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/us/polit
2023-02-19   2023-02-19 ics/haley-campaign-gop-women.html             Run by Haley Is a Tightrope In the GOP     By Katie Glueck and Lisa Lerer     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/world/e Milans Duomo a HighMaintenance Icon for
2023-02-19   2023-02-19 urope/milan-italy-duomo-cathedral.html        637 Years Is Still Adored                  By Elisabetta Povoledo             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/arts/mu
2023-02-10   2023-02-20 sic/young-fathers-heavy-heavy.html            Still Subversive but Taking a Joyful Turn  By Alex Marshall                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/sports/
                        womens-basketball-coaches-cheryl-reeve-
2023-02-13   2023-02-20 janice-washington.html                        Weve Always Been Told That We Cant Do It By Joshua Needelman                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/technol
2023-02-13   2023-02-20 ogy/technology-spending-resilient.html        Spending on Technology Is Steadfast        By Steve Lohr                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/busines
2023-02-16   2023-02-20 s/shopping-malls-residences.html              Giving Living at the Mall a New Meaning    By Jordyn Holman                   TX 9-278-914   2023-04-04



                                                                                Page 4881 of 5793
                        https://www.nytimes.com/2023/02/16/technol Chatbots Are Not Sentient Heres How They
2023-02-16   2023-02-20 ogy/chatbots-explained.html                   Work                                        By Cade Metz                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/technol
                        ogy/personaltech/sony-playstation-vr2-
2023-02-16   2023-02-20 goggles.html                                  Do We Really Need VR Goggles                By Brian X Chen                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/article/presidents- Washington Lincoln and Mattress Sales How
2023-02-16   2023-02-20 day-lincoln-washington.html                   Presidents Day Has Kept Evolving            By Remy Tumin                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/
                        16/science/ufo-balloon-high-altitude-
2023-02-16   2023-02-20 objects.html                                  Spy Balloons UFOs What Else Is Up There By Eleanor Lutz                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/arts/mu
                        sic/playlist-feist-lana-del-rey-janelle-      Feists Electrifying Return and Seven More
2023-02-17   2023-02-20 monae.html                                    New Songs                                   By Jon Pareles and Lindsay Zoladz TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/arts/tele
                        vision/milo-ventimiglia-the-company-you-
2023-02-17   2023-02-20 keep.html                                     Giving Confidence Another Look              By Chris Vognar                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/busines
2023-02-17   2023-02-20 s/china-chatgpt-microsoft-openai.html         Why China Didnt Invent ChatGPT              By Li Yuan                        TX 9-278-914   2023-04-04
                                                                                                                  By David Sirota Rebecca Burns
                        https://www.nytimes.com/2023/02/17/opinion Over 1000 Trains Derail Each Year In           Julia Rock and Matthew
2023-02-17   2023-02-20 /ohio-train-derailment-safety-regulation.html America Lets Cut That Number                CunninghamCook                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/opinion
2023-02-17   2023-02-20 /presidents-day-george-washington.html        Washington Would Hate Presidents Day        By Alexis Coe                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/theater/
2023-02-17   2023-02-20 sarah-ruhl-letters-from-max.html              A Poets Death and a Teachers Mourning       By Kate Dwyer                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/dining/ William Greenberg Jr 97 New York Baker
2023-02-18   2023-02-20 william-greenberg-jr-dead.html                Who Built an Artisanal Dessert Empire       By Penelope Green                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/arts/des
2023-02-18   2023-02-20 ign/china-balloon-notebook-homer.html         Scenes of Beauty Amid Ocean Salvage         By Will Heinrich                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/arts/istv Istvan Banyai 73 Dies Illustrator Whose Work
2023-02-18   2023-02-20 an-banyai-dead.html                           Was Fodder for Covers                       By Alex Williams                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/18/busines Instead of a Digital Detox Try Taking Doable By Sarah Kessler and Bernhard
2023-02-18   2023-02-20 s/dealbook/digital-detox-social-media.html  Breaks                                      Warner                            TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/sports/n A Freshman Guard at Stanford Is on a
2023-02-18   2023-02-20 caabasketball/stanford-ryan-agarwal.html    Mission for India                           By Claire Fahy                    TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/world/ Syrian State Media Reports Deadly Strike in
2023-02-19   2023-02-20 middleeast/damascus-syria-airstrikes.html   Damascus                                    By Patrick Kingsley               TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/19/arts/geo
2023-02-19   2023-02-20 rge-washington-portrait-charles-peale.html   Washington Portrait Confirms Its Artist    By Ralph Blumenthal               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/19/arts/tele Richard Belzer 78 Comic and TV Sleuth
2023-02-19   2023-02-20 vision/richard-belzer-dead.html              Whose Character Popped Up Everywhere       By Alex Traub                     TX 9-278-914     2023-04-04




                                                                                 Page 4882 of 5793
                        https://www.nytimes.com/2023/02/19/busines
                        s/meta-facebook-instagram-verified-        Facebooks Parent Introduces Meta Verified A
2023-02-19   2023-02-20 accounts.html                              Monthly Subscription for Its Biggest Users  By Stacy Cowley                   TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/19/busines As Turkey Vote Nears Erdogan Hunts for
2023-02-19   2023-02-20 s/turkey-earthquake-economy-erdogan.html Solutions to Parallel Disasters               By Liz Alderman                   TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/19/crossw
2023-02-19   2023-02-20 ords/daily-puzzle-2023-02-20.html          A Monday Puzzle With a LateWeek Theme       By Deb Amlen                      TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/19/movies/
2023-02-19   2023-02-20 dga-oscars-daniel-kwan-daniel-scheinert.html Two Directors Share a Top Film Prize      By Kyle Buchanan                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/19/obituari Thomas Donahue Influential Leader of
2023-02-19   2023-02-20 es/thomas-donahue-dead.html                  Organized Labor Dies at 94                By Robert D McFadden              TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/19/opinion
2023-02-19   2023-02-20 /america-ukraine-war-russia.html             The US Cant Go Wobbly on Ukraine          By David French                   TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/19/sports/k A SixMonth 14Part Mission to Shatter One
2023-02-19   2023-02-20 ristin-harila-record.html                    of the Tallest Glass Ceilings on Earth    By David Gardner                  TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/19/us/mich On Police Radio Fear and False Alarms in      By Robin Stein Natalie Reneau
2023-02-19   2023-02-20 igan-state-shooting-audio-911.html          Hunt for Michigan State Gunman               Ishaan Jhaveri and Dmitriy Khavin TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/us/polit Top Staff Investigator Shares Lessons of the
2023-02-19   2023-02-20 ics/timothy-heaphy-jan-6-committee.html     Houses Jan 6 Inquiry                         By Luke Broadwater                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/world/a
                        mericas/colombia-venezuela-migrants-
2023-02-19   2023-02-20 refugees.html                               Despite Colombia Aid Venezuelans Go North By Genevieve Glatsky                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/world/e Schools Battle Influencers Misogynistic       By Emma Bubola and Isabella
2023-02-19   2023-02-20 urope/andrew-tate-uk-teachers.html          Claims                                       Kwai                              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/world/e A Dictators Shrine Becomes a Temple of
2023-02-19   2023-02-20 urope/tirana-albania-hoxha-pyramid.html     Hope for the Future                          By Andrew Higgins                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/world/e US Sees Serious Problem If China Gives
2023-02-19   2023-02-20 urope/ukraine-russia-war.html               Russia Arms                                  By Cassandra Vinograd             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/world/e                                               By Anton Troianovski Valerie
2023-02-19   2023-02-20 urope/ukraine-war-russia-putin.html         Year Into War Putins Nation Is SelfPortrait  Hopkins and Nanna Heitmann        TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/19/world/e
2023-02-19   2023-02-20 urope/us-china-weapons-russia-ukraine.html US Strives To Head Off A Global Rift        By Edward Wong                    TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/19/sports/b
                        aseball/anderson-comas-chicago-white-       Minor Leaguer For White Sox Says He Is
2023-02-20   2023-02-20 sox.html                                    Gay                                        By Benjamin Hoffman               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/19/us/polit Biden 24 Plans Familiar Pitch Opt for      By Peter Baker Reid J Epstein and
2023-02-20   2023-02-20 ics/biden-2024-campaign.html                Stability                                  Lisa Lerer                        TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/19/us/polit Distrustful Residents Seek Own Tests in
2023-02-20   2023-02-20 ics/east-palestine-toxic-chemicals-epa.html Derailment                                 By Emily Cochrane                 TX 9-278-914     2023-04-04




                                                                                 Page 4883 of 5793
                        https://www.nytimes.com/2023/02/20/arts/tele
                        vision/whats-on-tv-this-week-snowfall-naacp-
2023-02-20   2023-02-20 image-awards.html                            This Week on TV                         By Kristen Bayrakdarian             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/busines Behind a Fund Founders Exit A Deal to Add By Rob Copeland and Maureen
2023-02-20   2023-02-20 s/bridgewater-ray-dalio-retire.html          to His Billions                         Farrell                             TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/20/nyregio New York Medical Lab Tired and
2023-02-20   2023-02-20 n/sudden-deaths-overdoses-fentanyl-nyc.html Overstretched Copes With Drug Deaths           By Sharon Otterman            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/sports/k An Obscure Cousin of Basketball Lets Men
2023-02-20   2023-02-20 orfball-gender-equality.html                 and Women Play as Equals                      By Jer Longman                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/sports/s Transcendent Games and Athletes Are a
2023-02-20   2023-02-20 ports-and-spirituality.html                  Salve for Our Troubled Times                  By Kurt Streeter              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/us/keta Ketamine Treatment and Abuse Made Easier
2023-02-20   2023-02-20 mine-telemedicine.html                       by Telemedicine                               By Chris Hamby                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/article/france-
2023-01-31   2023-02-21 pension-strikes-macron-explainer.html        Cant Retire Until 64 Behind Furor in France   By Aurelien Breeden           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/03/well/liv
2023-02-03   2023-02-21 e/ozempic-wegovy-weight-loss.html            Ozempic Patients Face A Host of Challenges    By Dani Blum                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/well/liv
2023-02-07   2023-02-21 e/gel-manicures-uv-light-cancer.html         Are Gel Manicures Dangerous                   By Melinda Wenner Moyer       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/08/science
2023-02-08   2023-02-21 /orcas-sons-mothers.html                     Mooching Sons Sap Orca Moms                   By Elizabeth Preston          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/well/liv
                        e/norovirus-symptoms-treatment-
2023-02-10   2023-02-21 prevention.html                              Norovirus Rears Its Annoying Head             By Dani Blum                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/well/mi
                        nd/psychedelics-therapy-ketamine-mushrooms
2023-02-10   2023-02-21 risks.html                                   Psychedelics Show Promise With Caveats        By Dana G Smith               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/your-                                                   By Brian X Chen Emma Goldberg
2023-02-10   2023-02-21 money/layoffs-career-financial-advice.html Are Layoffs Imminent Heres How to Prepare       and Ron Lieber                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/ That Bright Flash in the Sky Came From        By Robin George Andrews and
2023-02-13   2023-02-21 13/science/meteor-explosion-asteroid.html    Space                                         Axel Boada                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/health/
2023-02-14   2023-02-21 doctors-medical-guidelines.html              A Major Time Crunch Looms Over Doctors        By Gina Kolata                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/science
2023-02-15   2023-02-21 /sound-own-voice-bone-conduction.html        Am I Hearing My Voice Or Someone Elses        By Veronique Greenwood        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/books/l
                        ight-pollution-impact-darkness-
2023-02-15   2023-02-21 manifesto.html                               Its Too Bright for Our Planets Own Good       By Lisa Abend                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/busines
2023-02-16   2023-02-21 s/retail-executives.html                     Retails Latest Supply Chain Problem CEOs      By Jordyn Holman              TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/16/science                                                 By Gabriel Popkin and Audra
2023-02-16   2023-02-21 /genetically-modified-trees-living-carbon.html Modifying Trees to Cool The World           Melton                        TX 9-278-914   2023-04-04




                                                                                 Page 4884 of 5793
                        https://www.nytimes.com/2023/02/17/science
2023-02-17   2023-02-21 /leonard-da-vinci-gravity.html              Leonardos Doodles Deconstruct Gravity     By William J Broad               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/17/well/liv
2023-02-17   2023-02-21 e/what-dentists-wish-you-knew.html          Facts That Your Dentist Wishes You Knew   By Jancee Dunn                   TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/books/j Jerrold Schecter Journalist 90 Brought
2023-02-18   2023-02-21 errold-schecter-dead.html                   Khrushchevs Memoirs to Light              By Sam Roberts                   TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/18/opinion
2023-02-18   2023-02-21 /artist-vision-sight.html                   When an Artist Loses His Sight            By Roger Rosenblatt              TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/19/arts/ret
2023-02-19   2023-02-21 urn-to-seoul-davy-chou-laure-badufle.html   Adoptees Purged Their Pain For a Film      By Matt Stevens                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/19/movies/ All Quiet on the Western Front Wins Big at
2023-02-20   2023-02-21 baftas-winners-2023.html                    the BAFTAs                                 By Alex Marshall                TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/20/arts/ale
2023-02-20   2023-02-21 c-baldwin-manslaughter-charge-rust.html     Prosecutors Downgrade Charges For Baldwin By Julia Jacobs                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/20/arts/ca
2023-02-20   2023-02-21 mbodia-gold-jewelry-royals-latchford.html   A Trove of Looted Gold Returns to Cambodia By Tom Mashberg                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/20/arts/mu
2023-02-20   2023-02-21 sic/christian-mcbride.html                  A Onetime Young Lion Still Roars           By Hank Shteamer                TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/20/arts/mu Huey Smith PianoPounding Ace Of New
2023-02-20   2023-02-21 sic/huey-piano-smith-dead.html              Orleans RampB Dies at 89                   By Jon Pareles                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/20/arts/mu
                        sic/kate-soper-romance-rose-opera-
2023-02-20   2023-02-21 review.html                                  In a Dream Garden Guidance on Love        By Zachary Woolfe               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/20/books/r Books by Dahl Are Rewritten Spurring
2023-02-20   2023-02-21 oald-dahl-books-changes.html                Outcry                                     By Derrick Bryson Taylor        TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/20/books/ Postcards From Over the Edge Inside a
2023-02-20   2023-02-21 will-sommer-trust-the-plan-qanon.html       Violent Fantasy                            By Dwight Garner                TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/20/busines Times Wins Polk Awards for News on
2023-02-20   2023-02-21 s/media/polk-awards-2022.html               Ukraine and Hasidic Schools                By Katie Robertson              TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/20/health/s Helping Stroke Patients Regain Movement in
2023-02-20   2023-02-21 troke-treatment-stimulation.html            Their Hands                                By Pam Belluck                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/20/nyregio In a New York City Park The List of Fauna
2023-02-20   2023-02-21 n/alligator-prospect-park-brooklyn.html     Includes One Very Chilly Alligator         By Katherine Rosman             TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/20/nyregio DeSantis Visits New York City as Part of     By Jonathan Weisman and Emma G
2023-02-20   2023-02-21 n/desantis-visit-nyc-philadelphia-chicago.html Tour Meant to Show He Is Tough on Crime Fitzsimmons                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/nyregio Hasidic Schools Tax Dollars And Conflicts of
2023-02-20   2023-02-21 n/kiryas-joel-hasidic-school-district.html     Interest                                 By Jay Root and Jonah Markowitz TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/20/opinion
2023-02-20   2023-02-21 /russia-ukraine-war.html                       The Problem With Russia Is Russia        By Oksana Zabuzhko               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/opinion
2023-02-20   2023-02-21 /trump-carlson-biden-2020-2024.html            Off to Crazy Town to Compete With Trump By Gail Collins and Bret Stephens TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/sports/u Competing for Ukraine While Wondering if
2023-02-20   2023-02-21 kraine-war-vladyslav-heraskevych.html          That Is the Best Way to Serve            By Matthew Futterman             TX 9-278-914   2023-04-04



                                                                               Page 4885 of 5793
                        https://www.nytimes.com/2023/02/20/technol Roger Schank Explorer of Minds Both Real
2023-02-20   2023-02-21 ogy/roger-c-schank-dead.html                and Virtual Dies at 76                      By Steve Lohr                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/technol Supreme Court Case to Focus On Law That
2023-02-20   2023-02-21 ogy/supreme-court-tech-section230.html      Shields Big Tech                            By David McCabe                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/theater/
2023-02-20   2023-02-21 shes-got-harlem-on-her-mind-review.html     1920s Harlem Brought to Life                By Maya Phillips                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/us/jack
2023-02-20   2023-02-21 son-mississippi-policing-plan.html          In Mississippi Racial Outrage At Court Plan By Michael Wines                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/us/polit                                             By David E Sanger and Anton
2023-02-20   2023-02-21 ics/biden-putin-ukraine-visit.html          A Challenge to Putin and His Worldview      Troianovski                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/us/polit US Aid Is Unwavering Biden Tells Zelensky By Marc Santora Peter Baker and
2023-02-20   2023-02-21 ics/biden-ukraine-visit.html                in Kyiv                                     Michael D Shear                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/us/polit
                        ics/chris-sununu-republican-president-                                                  By Matt Flegenheimer and Sophie
2023-02-20   2023-02-21 2024.html                                   Calling for Normalcy Sununu Eyes 2024 Bid Park                               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/us/polit Project Veritas Chief Out Amid Oversight    By Michael S Schmidt David A
2023-02-20   2023-02-21 ics/james-okeefe-project-veritas.html       Dispute                                     Fahrenthold and Adam Goldman     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/us/polit
                        ics/supreme-court-facebook-stalking-        When Do Creepy Facebook Messages Cross a
2023-02-20   2023-02-21 colorado.html                               Constitutional Line                         By Adam Liptak                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/us/polit About That UFO We Shot Down Um Never
2023-02-20   2023-02-21 ics/ufos-alaska-deadhorse.html              Mind                                        By Katie Rogers                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/well/nu Stress Burnout and Exhaustion Are Pushing
2023-02-20   2023-02-21 rses-burnout-pandemic-stress.html           Americas Nurses Out of Health Care          By Bradford Pearson              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/world/a The US Is Not Qualified To Issue Orders on
2023-02-20   2023-02-21 sia/china-russia-us-arms.html               Arms For Russia China Says                  By Chris Buckley                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/world/a Beijing Flexes And Philippines Turns to the
2023-02-20   2023-02-21 sia/philippines-china-us.html               US                                          By SuiLee Wee and Camille Elemia TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/world/a They Shared Life at Home and Death in a      By Jeffrey Gettleman and Ivor
2023-02-20   2023-02-21 sia/ukraine-russia-war-death.html           Trench                                      Prickett                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/world/e
                        urope/blinken-turkey-earthquake-            On Blinken Visit American Quake Relief
2023-02-20   2023-02-21 tensions.html                               Eases USTurkey Tensions                     By Michael Crowley               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/world/e With Surprise Visit Biden Bolsters Ukrainian
2023-02-20   2023-02-21 urope/kyiv-biden-visit.html                 Spirits                                     By Marc Santora                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/20/world/e UK Police Identify Body of Missing Woman By Isabella Kwai and Emma
2023-02-20   2023-02-21 urope/nicola-bulley-body-found.html        in Case That Spurred Privacy Debate      Bubola                             TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/20/world/e Another Deadly Temblor Shakes Traumatized By Gulsin Harman Safak Timur
2023-02-20   2023-02-21 urope/turkey-syria-earthquake.html         Area Still Struggling to Recover          Cora Engelbrecht and Ben Hubbard TX 9-278-914      2023-04-04
                        https://www.nytimes.com/2023/02/20/world/
                        middleeast/protest-jerusalem-judicial-     Protesters Rally in Jerusalem as Israels
2023-02-20   2023-02-21 overhaul.html                              Leaders Look to Reduce Power of Judges    By Isabel Kershner               TX 9-278-914      2023-04-04




                                                                               Page 4886 of 5793
                        https://www.nytimes.com/2023/02/20/us/polit Long Risky Night for Biden on Way to A       By Peter Baker and Michael D
2023-02-21   2023-02-21 ics/biden-kyiv-ukraine.html                 Besieged Kyiv                                Shear                             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/busines
2023-02-21   2023-02-21 s/austin-soco-south-congress.html           Upscale Growth Threatens Austins Weird        By David Montgomery              TX 9-278-914   2023-04-04
                                                                                                                  By Joe Rennison David
                        https://www.nytimes.com/2023/02/21/busines                                                YaffeBellany and Matthew
2023-02-21   2023-02-21 s/bankman-fried-altruism-jane-street.html    The Altruistic Beginnings of the FTX Debacle Goldstein                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/health/a
2023-02-21   2023-02-21 lcohol-soft-drinks-health-risk.html          Big Sodas Hard Turn                          By Ted Alcorn                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/science
2023-02-21   2023-02-21 /animals-wildlife-drugs.html                 Cocaine Bear Meet PillPopping Raccoon        By Emily Anthes                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/sports/s The Seller of Manchester United Will Be the
2023-02-21   2023-02-21 occer/manchester-united-sale.html            True Winner                                  By Tariq Panja                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/your-                                                  By Tara Siegel Bernard and Ron
2023-02-10   2023-02-22 money/layoffs-finance-money-tips.html        Life After Layoffs A Financial Guide         Lieber                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/dining/
2023-02-15   2023-02-22 crispy-roast-chicken-skin-recipe.html        If You Love Crispy Chicken Skin This Is It By Melissa Clark                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/dining/
2023-02-16   2023-02-22 orange-rolls-recipe.html                     The Citrusy Sister of Cinnamon Rolls         By Genevieve Ko                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/arts/mu Friedrich Cerha 96 Who Completed The
2023-02-17   2023-02-22 sic/friedrich-cerha-dead.html                Masterpiece of a Fellow Composer             By David Allen                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/dining/
2023-02-17   2023-02-22 sweet-sour-vegetable-soup-recipe.html        A Delicate Balance Of Sweet and Sour         By Yewande Komolafe              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/arts/tele
2023-02-20   2023-02-22 vision/richard-belzer.html                   Standup Was a Thrill When He Was Onstage By Jason Zinoman                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/opinion The Most Misunderstood President of the Last
2023-02-20   2023-02-22 /kai-bird-jimmy-carter-life.html             Century                                      By Kai Bird                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/arts/des
                        ign/joan-mitchell-vuitton-ads-copyright-
2023-02-21   2023-02-22 handbag.html                                 Copyright Dispute Over Ads for Vuitton       By Zachary Small                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/arts/mu
                        sic/gustavo-dudamel-press-conference-new-
2023-02-21   2023-02-22 york.html                                    For Maestro Its All Smiles In New York       By Javier C Hernndez             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/arts/mu SOS Is in Rarefied Air With 9th Week at No
2023-02-21   2023-02-22 sic/sza-nine-weeks-no-1.html                 1                                            By Ben Sisario                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/arts/tele Barbara Bosson 83 Hill Street Blues Star
2023-02-21   2023-02-22 vision/barbara-bosson-dead.html              Nominated for 5 Emmys in 5 Years             By Clay Risen                    TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/21/arts/tele A Role Taken In Desperation Is His Big
2023-02-21   2023-02-22 vision/chase-stokes-outer-banks-netflix.html Break                                       By Kalia Richardson               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/books/h HarperCollins Employees Return To the         By Kate Dwyer and Elizabeth A
2023-02-21   2023-02-22 arpercollins-strike-ends.html                Office After a 3Month Strike                Harris                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/books/r
                        eview-will-schwalbe-we-should-not-be-
2023-02-21   2023-02-22 friends.html                                 A Reader a Bromance and a Lifelong Bond     By Alexandra Jacobs               TX 9-278-914   2023-04-04



                                                                                 Page 4887 of 5793
                        https://www.nytimes.com/2023/02/21/busines Judge Hears Final Arguments in Shareholder
2023-02-21   2023-02-22 s/elon-musk-tesla-pay-suit.html            Lawsuit Over Musks Tesla Pay                  By Jack Ewing and Peter Eavis   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/busines
2023-02-21   2023-02-22 s/media/jen-psaki-msnbc.html               Psaki to Take an MSNBC Anchor Chair           By Michael M Grynbaum           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/busines Red McCombs Car Salesman Turned Media
2023-02-21   2023-02-22 s/red-mccombs-dead.html                    Magnate Is Dead at 95                         By Glenn Rifkin                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/busines United Airlines to Allow Children to Sit With
2023-02-21   2023-02-22 s/united-airlines-family-seat-fees.html    Family Without Fee                            By Amanda Holpuch               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/busines Walmart Warns Higher Prices Are Taking
2023-02-21   2023-02-22 s/walmart-earnings-consumers.html          Toll On Shoppers                              By Isabella Simonetti           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/climate
                        /california-storms-groundwater-aquifer-    In Parched California Rainwater Keeps
2023-02-21   2023-02-22 recharge.html                              Rushing Out to Sea                            By Raymond Zhong                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/climate Companies Rush to Invest in Sustainable
2023-02-21   2023-02-22 /united-sustainable-aviation-fuel.html     Aviation Fuel                                 By David Gelles                 TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/21/dining/
2023-02-21   2023-02-22 how-to-cook-perfect-rice-in-microwave.html For Flawless Rice Do the Unthinkable         By Priya Krishna                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/dining/
2023-02-21   2023-02-22 kjun-review-korean-cajun-food.html          Korean Flavors New Orleans Have Both        By Pete Wells                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/dining/r A Teacher Of Indian Cooking Takes On A
2023-02-21   2023-02-22 aghavan-iyer-indian-food-cancer.html        New Cause                                   By Kim Severson                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/21/dining/t
2023-02-21   2023-02-22 he-next-generation-of-new-york-diners.html New York Diners The Next Generation         By Nikita Richardson              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/health/ Mpox Poses Serious Risks To Patients With
2023-02-21   2023-02-22 mpox-hiv.html                               HIV                                        By Apoorva Mandavilli             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/nyregio Black Mayors of 4 Biggest US Cities Turn to By Emma G Fitzsimmons and
2023-02-21   2023-02-22 n/black-mayors.html                         One Another for Strength                   Jeffery C Mays                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/nyregio Sunbathing in Winter While the Ski Slopes
2023-02-21   2023-02-22 n/ny-warm-winter-weather.html               Melt                                       By Jesse McKinley                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/nyregio Deaths of 2 New York Teens Underscore
2023-02-21   2023-02-22 n/subway-surfing-new-york-death.html        Dangers of Subway Surfing                  By Joshua Needelman               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/opinion First They Screamed That They Were Still
2023-02-21   2023-02-22 /turkey-earthquake-search-rescue.html       Alive Now They Are Quiet                   By Naomi Cohen                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/science Paul Berg Who Won Nobel for a Milestone
2023-02-21   2023-02-22 /paul-berg-dead.html                        With DNA Dies at 96                        By Don R Hecker                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/sports/b
2023-02-21   2023-02-22 aseball/aaron-judge-yankees.html            What Can Judge Do for an Encore            By Benjamin Hoffman               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/sports/s
                        occer/real-madrid-liverpool-champions-      Real Madrid Leaves Liverpool Facing The
2023-02-21   2023-02-22 league.html                                 End of an Era                              By Rory Smith                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/theater/ Laurie Metcalf to Return to Broadway in a
2023-02-21   2023-02-22 grey-house-broadway.html                    Horror Story                               By Michael Paulson                TX 9-278-914   2023-04-04




                                                                                Page 4888 of 5793
                        https://www.nytimes.com/2023/02/21/theater/
2023-02-21   2023-02-22 review-leo-reich-literally-who-cares.html   Gen Z Gets Its Own Avatar                   By Naveen Kumar                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/us/bust Murdaughs Son Says Father Was Destroyed
2023-02-21   2023-02-22 er-murdaugh-alex-murdaugh-trial.html        by Murders                                  By Nicholas BogelBurroughs         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/us/goog Justices Seem To Favor Shield For Tech
2023-02-21   2023-02-22 le-supreme-court-youtube.html               Giants                                      By Adam Liptak                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/us/ohio-
2023-02-21   2023-02-22 epa-cleanup-norfolk-southern.html           EPA Orders Operator to Pay for Cleanup      By Campbell Robertson              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/us/polit Lee Antiwar Campaigner Joins Race for the   By Jazmine Ulloa and Reid J
2023-02-21   2023-02-22 ics/barbara-lee-senate-california.html      Senate                                      Epstein                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/us/polit
                        ics/david-cicilline-rhode-island-leaving-   Democrat To Exit Post Representing Rhode
2023-02-21   2023-02-22 congress.html                               Island                                      By Luke Broadwater                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/us/polit Judge Rejects Bid by Sept 11 Families to
2023-02-21   2023-02-22 ics/judge-sept-11-afghan-central-bank.html Seize Frozen Afghan Central Bank Funds       By Charlie Savage                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/21/us/polit Democrats Protest After McCarthy Gives Jan
2023-02-21   2023-02-22 ics/mccarthy-tucker-carlson-jan-6-video.html 6 Footage to Fox Host                       By Luke Broadwater                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/us/polit
                        ics/trump-campaign-spending-pac-lawyer-      Trumps PAC Spent 10 Million on His Legal
2023-02-21   2023-02-22 bills.html                                   Fees It May Have to Stop                    By Maggie Haberman                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/us/trum Georgia Jurors Advise Charges In Trump
2023-02-21   2023-02-22 p-georgia-grand-jury-indictments.html        Case                                        By Danny Hakim                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/us/verm Artist and School Spar Over Murals of
2023-02-21   2023-02-22 ont-law-art-slavery.html                     Slavery                                     By Jenna Russell                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/world/a Mexicos J Edgar Hoover Convicted of Taking
2023-02-21   2023-02-22 mericas/genaro-garcia-luna-guilty.html       Cartel Bribes                               By Alan Feuer and Nate Schweber   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/world/a
                        mericas/israel-mexico-extradition-tomas-     Israel Unlikely to Extradite Mexican Wanted By Ronen Bergman and Natalie
2023-02-21   2023-02-22 zeron.html                                   in Student Abductions                       Kitroeff                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/world/a Chinas Support for the Kremlin Hinders Its
2023-02-21   2023-02-22 sia/china-europe-russia-ukraine.html         Courtship of Europe                         By David Pierson                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/21/world/a Groups Fear Nuclear Tests Held by Kim Taint
2023-02-21   2023-02-22 sia/north-korea-nuclear-weapons-tests.html Region                                      By Choe SangHun                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/world/e Having Been Proved Right On Russia Poland
2023-02-21   2023-02-22 urope/poland-russia-ukraine.html           Savors Its New Influence in NATO            By Andrew Higgins                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/world/e Putins Move on Nuclear Treaty May Signal
2023-02-21   2023-02-22 urope/putin-new-start-treaty.html          End to Arms Control                         By David E Sanger                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/world/e Along Border Preparing for Offensive Likely By Andrew E Kramer and Maria
2023-02-21   2023-02-22 urope/ukraine-russia-shelling-kharkiv.html to Be Mounted Elsewhere                     Varenikova                          TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/21/world/e Wagner Military Chief Accuses Russian
2023-02-21   2023-02-22 urope/wagner-russia-military-prigozhin.html Army Commanders of Treason                  By Anatoly Kurmanaev               TX 9-278-914   2023-04-04




                                                                                Page 4889 of 5793
                        https://www.nytimes.com/2023/02/21/world/
                        middleeast/saudi-arabia-dissent-            In Saudi Arabia Single Tweet Can Lead to
2023-02-21   2023-02-22 crackdown.html                              Decades in Prison                          By Vivian Nereim               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/world/
                        middleeast/turkey-syria-earthquake-         Task for Weary Rescuers Only Deepens in
2023-02-21   2023-02-22 rescues.html                                Turkey                                     By Raja Abdulrahim             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/opinion
2023-02-22   2023-02-22 /do-mask-mandates-work.html                 Do Something Is Not Science                By Bret Stephens               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/opinion
2023-02-22   2023-02-22 /nikki-haley-republicans.html               The Fox Newsification of Nikki Haley       By Thomas L Friedman           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/theater/
2023-02-22   2023-02-22 a-bright-new-boise-review.html              Lost Souls Haunt This Store                By Jesse Green                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/us/bide
2023-02-22   2023-02-22 n-asylum-rules.html                         New Rule To Impose Crackdown On Asylum By Miriam Jordan                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/us/polit
                        ics/vivek-ramaswamy-presidential-candidate- Wealthy AntiWoke Activist and Entrepreneur
2023-02-22   2023-02-22 2024.html                                   Joins the 2024 Presidential Race           By Maggie Astor                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/21/us/sout Baptists Vote To Expel Saddleback
2023-02-22   2023-02-22 hern-baptists-saddleback-church-women.html Congregation                                 By Ruth Graham                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/world/e A Year In Biden Accuses Putin of Broad       By David E Sanger Michael D
2023-02-22   2023-02-22 urope/biden-putin-russia-ukraine.html       Atrocities                                  Shear and Anton Troianovski   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/dining/ Gair Serving Bar Snacks Charcuterie and
2023-02-22   2023-02-22 nyc-restaurant-news.html                    More Opens in Dumbo                         By Florence Fabricant         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/nyregio
                        n/how-i-became-the-metro-desks-owl-
2023-02-22   2023-02-22 reporter.html                               My Unexpected Turn on the Owl Beat          By Ed Shanahan                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/sports/b
                        asketball/boston-celtics-championship-      As They Pursue a Title the Celtics Have Run
2023-02-22   2023-02-22 expectations.html                           Out of Excuses                              By Sopan Deb                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/09/well/m Here to Help How to Handle the Heartache of
2023-01-09   2023-02-23 ove/sports-injury-recovery.html             a Sports Injury                             By Kells McPhillips           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/style/ra
2023-02-16   2023-02-23 quel-welch-sex-symbol.html                  Raquel Welch Was VaVaVoom Until the End By Rhonda Garelick                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/fashion Saying Goodbye to Fashions Rebel With a
2023-02-17   2023-02-23 /vivienne-westwood-memorial-photos.html Cause                                           By Elizabeth Paton            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/19/briefing
2023-02-19   2023-02-23 /asia-aging-popupulation.html               In Asia the Signs of Aging Societies        By Claire Moses               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/style/do
2023-02-20   2023-02-23 n-lemon-cnn-nikki-haley.html                Don Lemon and the Lessons of a Hoodie       By Vanessa Friedman           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/style/va
2023-02-20   2023-02-23 lentines-day-art-show.html                  Artwork by and for the Brokenhearted        By Gina Cherelus              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/style/yo
2023-02-20   2023-02-23 ko-ono-90-birthday.html                     Yoko Ono Guest of Honor                     By Jim Windolf                TX 9-278-914   2023-04-04




                                                                               Page 4890 of 5793
                        https://www.nytimes.com/2023/02/21/arts/des                                             By Graham Bowley and Tom
2023-02-21   2023-02-23 ign/yemen-looted-artifacts-smithsonian.html Repatriated Artifacts Will Shelter in Place Mashberg                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/arts/mu
2023-02-21   2023-02-23 sic/iris-dement-workin-on-a-world.html      An Infamous Angel Again Spreads Her Wings By Stephen Deusner           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/opinion Bidens Promises on Social Security and
2023-02-21   2023-02-23 /biden-social-security-medicare.html        Medicare Ignore Financial Reality           By Brian Riedl             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/opinion To Cut New York Housing Costs Ease
2023-02-21   2023-02-23 /housing-new-york-city.html                 Suburbs Zoning Laws                         By Mara Gay                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/style/bu
2023-02-21   2023-02-23 rberry-daniel-lee-london.html               A New Designer Reinvigorates Burberry       By Vanessa Friedman        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/theater/ Adrian Hall 95 Dies A Visionary Devoted To
2023-02-21   2023-02-23 adrian-hall-dead.html                       Regional Theaters                           By Neil Genzlinger         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/us/polit A House Seat For McClellan Is a Milestone
2023-02-22   2023-02-23 ics/jennifer-mcclellan-virginia.html        For Virginia                                By Maya King               TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/22/arts/dan
2023-02-22   2023-02-23 ce/joyce-theater-expands-east-village.html  Joyce Theater Will Expand to the East Village By Robin Pogrebin        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/arts/mu
2023-02-22   2023-02-23 sic/met-opera-2023-24-season.html           The Classic and the Contemporary at the Met By The New York Times      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/books/r
                        eview/win-every-argument-mehdi-hasan-say-
                        the-right-thing-kenji-yoshino-david-
2023-02-22   2023-02-23 glasgow.html                                When Opinions Clash Dig In Or Talk It Over By Jennifer Szalai          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/briefing Assessing the Biden Record as His Economic
2023-02-22   2023-02-23 /brian-deese-economy-biden.html             Team Transitions                              By David Leonhardt       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/busines Policymakers Still Grappling With Inflation
2023-02-22   2023-02-23 s/economy/inflation-fed-minutes.html        Fed Minutes Show                              By Jeanna Smialek        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/busines Labor Board Curbs Rules On Silencing
2023-02-22   2023-02-23 s/economy/nlrb-severance.html               ExEmployees                                   By Noam Scheiber         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/busines US Could Default on Its Debt as Early as This
2023-02-22   2023-02-23 s/economy/us-debt-limit.html                Summer a New Estimate Warns                   By Deborah B Solomon     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/busines
2023-02-22   2023-02-23 s/fan-bao-china-renaissance.html            Top Chinese Tech Broker Disappears            By Li Yuan               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/busines Lucid Steps Up Production As Supply Chains
2023-02-22   2023-02-23 s/lucid-electric-cars-earnings.html         Stabilize                                     By Jack Ewing            TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/22/climate PFAS Found In Wildlife Worldwide
2023-02-22   2023-02-23 /pfas-forever-chemicals-wildlife-animals.html Scientists Say                        By Catrin Einhorn              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/movies/ Chatbots Banality Is Eerier Than Any AI
2023-02-22   2023-02-23 ai-movies-microsoft-bing-robots.html          Movie                                 By AO Scott                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/movies/
2023-02-22   2023-02-23 hong-chau-the-whale-oscars.html               Between The Lines Finding Her Voice   By Kyle Buchanan               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/nyregio Democrats In Bid to Win House Bet On New
2023-02-22   2023-02-23 n/new-york-democrats-congress.html            York                                  By Nicholas Fandos             TX 9-278-914   2023-04-04



                                                                               Page 4891 of 5793
                        https://www.nytimes.com/2023/02/22/nyregio New York Wind Power Creates Jobs
2023-02-22   2023-02-23 n/new-york-wind-farm-rhode-island.html      Elsewhere                                  By Patrick McGeehan               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/nyregio
                        n/sarah-lawrence-sex-cult-pollok-
2023-02-22   2023-02-23 sentencing.html                             Sex Cults Lieutenant Receives Over 4 Years By Colin Moynihan                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/opinion Russian Troops Know They Mean Little to
2023-02-22   2023-02-23 /russia-army-ukraine.html                   Putin                                      By Dara Massicot                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/sports/b Patience Is a Virtue and for the Tigers a
2023-02-22   2023-02-23 aseball/detroit-tigers-scott-harris.html    Necessity                                  By Tyler Kepner                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/sports/h
2023-02-22   2023-02-23 igh-school-basketball-covid.html            Covid Changed Everything but the Rules     By Jenny Vrentas                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/style/lo
                        ndon-fashion-week-simone-rocha-richard-     Some Memorable Moments to Fill The
2023-02-22   2023-02-23 quinn.html                                  Notebook                                   By Elizabeth Paton                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/technol Arizona Leads Race Chasing 52 Billion In
2023-02-22   2023-02-23 ogy/arizona-chips-act-semiconductor.html    Microchip Support                          By Cecilia Kang                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/technol Giant Taiwanese Chip Maker Faces
2023-02-22   2023-02-23 ogy/tsmc-arizona-factory-tensions.html      SecondGuessing by Betting on US            By John Liu and Paul Mozur        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/theater/
                        medea-sohoplace-phaedra-national-
2023-02-22   2023-02-23 theater.html                                Sound and Fury Signifying Tragedy          By Matt Wolf                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/theater/ NeoNazi Protest Targeting Parade Is
2023-02-22   2023-02-23 parade-broadway-neo-nazi-protest.html       Condemned                                  By Julia Jacobs                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/cattl Feral Cattle Will Be Shot From Above to
2023-02-22   2023-02-23 e-shooting-new-mexico-helicopter.html       Cull Herd                                  By Christine Chung                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/colo Police Describe Bloody Scene After Colorado
2023-02-22   2023-02-23 rado-springs-shooting-court-hearing.html    Shooting                                   By Kelley Manley and Jesus Jimnez TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/jim The Hometown That Drew Carter Back Keeps
2023-02-22   2023-02-23 my-carter-hometown-plains-georgia.html      Vigil                                      By Rick Rojas and Nicole Craine TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/22/us/polit US Weighs Penalties For Evading Russia
2023-02-22   2023-02-23 ics/china-russia-sanctions.html             Bans                                       By Ana Swanson                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/polit Gaining Early Release For Abused Inmates
2023-02-22   2023-02-23 ics/federal-prisons-inmate-abuse.html       Is Possible but Difficult                  By Glenn Thrush                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/polit Trumps Daughter and SoninLaw Are           By Maggie Haberman and Michael
2023-02-22   2023-02-23 ics/jared-kushner-ivanka-trump-jan-6.html   Subpoenaed in Jan 6 Inquiry                S Schmidt                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/polit
                        ics/ohio-train-derailment-farms-            Fearing a Forever Scar on the Land Near a
2023-02-22   2023-02-23 chemicals.html                              Train Derailment                           By Emily Cochrane                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/polit ExProud Boy Says Group Wanted AllOut
2023-02-22   2023-02-23 ics/proud-boys-jan-6-trial.html             Revolution                                 By Zach Montague and Alan Feuer TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/22/us/polit
2023-02-22   2023-02-23 ics/supreme-court-death-penalty-arizona.html Supreme Court Rules for a Death Row Inmate By Adam Liptak                 TX 9-278-914     2023-04-04




                                                                               Page 4892 of 5793
                        https://www.nytimes.com/2023/02/22/us/polit A Look Into the Status Of 4 Criminal         By Alan Feuer Danny Hakim and
2023-02-22   2023-02-23 ics/trump-criminal-investigations-status.html Inquiries That Involve Trump               Ben Protess                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/polit In Ohio Trump Seeks Contrast With Biden on By Jazmine Ulloa Maggie
2023-02-22   2023-02-23 ics/trump-east-palestine-ohio-visit.html      Derailment                                 Haberman and Mark Walker        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/polit Sharing Tapes McCarthy Hits Rewind on Jan By Luke Broadwater and Jonathan
2023-02-22   2023-02-23 ics/tucker-carlson-jan-6-mccarthy.html        6                                          Swan                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/polit Democrats Make Strong Showing in
2023-02-22   2023-02-23 ics/wisconsin-supreme-court-race.html         Wisconsin Court Race                       By Reid J Epstein               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/supr Justices Hear Lawsuit Tying Twitter To
2023-02-22   2023-02-23 eme-court-twitter-terrorism.html              Terrorists                                 By Adam Liptak                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/taiw More Lawmakers Urge US To Expedite Arms
2023-02-22   2023-02-23 an-china-house-lawmakers.html                 to Taiwan                                  By Karoun Demirjian             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/world/a A Cash Crunch in Nigeria Causes Chaos
2023-02-22   2023-02-23 frica/nigeria-cash-shortage-election.html     Before an Election                         By Ruth Maclean                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/world/a Legal Win in South Korea For SameSex
2023-02-22   2023-02-23 sia/south-korea-lgbtq-law.html                Couples                                    By John Yoon                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/world/e Teacher Dies In Stabbing By Student In        By Catherine Porter and Tom
2023-02-22   2023-02-23 urope/france-teacher-stabbing.html            France                                     Nouvian                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/world/e
2023-02-22   2023-02-23 urope/poland-ukraine-war-refugees.html        Insular Poland Opens to Wave Of Newcomers By Andrew Higgins                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/world/e In a Blaring Celebration of the War Russia    By Valerie Hopkins and Nanna
2023-02-22   2023-02-23 urope/russia-ukraine-war-rally.html           Displays and Demands Unity                 Heitmann                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/world/e
                        urope/shamima-begum-uk-citizenship-           British Court Rebuffs ExISIS Brides Bid to
2023-02-22   2023-02-23 isis.html                                     Remain a Citizen                           By Megan Specia                 TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/22/world/e Want Olive Oil With Your Coffee Starbucks
2023-02-22   2023-02-23 urope/starbucks-olive-oil-coffee-italy.html Is Betting That Italians Will                By Elisabetta Povoledo          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/world/e Ukrainians Find Way to Strike Russian         By Marc Santora and Andrew E
2023-02-22   2023-02-23 urope/ukraine-mariupol.html                 Positions Deep Behind Enemy Lines            Kramer                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/world/
                        middleeast/west-bank-nablus-palestinians-   Israeli Raid on West Bank Kills at Least 10
2023-02-22   2023-02-23 killed.html                                 Palestinians and Wounds 100                  By Patrick Kingsley             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/opinion
2023-02-23   2023-02-23 /america-right-wing-censors.html            The Right Wings Battle for the Next Century By Charles M Blow                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/flori Gunman Kills 1 Then Returns to Scene to Kill By Eduardo Medina April Rubin
2023-02-23   2023-02-23 da-shooting-news.html                       2 More                                       and Christine Chung             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/world/a Mexico Shrinks Watchdog Role Over
2023-02-23   2023-02-23 mericas/mexico-election-law.html            Elections                                    By Natalie Kitroeff             TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/22/world/e Biden Bolsters NATO Alliances On East       By Michael D Shear David E
2023-02-23   2023-02-23 urope/biden-putin-russia-ukraine-allies.html Flank                                     Sanger and Anton Troianovski      TX 9-278-914   2023-04-04




                                                                                Page 4893 of 5793
                        https://www.nytimes.com/2023/02/17/arts/des
                        ign/manchester-museum-reopening-
2023-02-17   2023-02-24 diversity.html                              A Museum Pivots to Address Its Colonial Past By Farah Nayeri               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/17/world/e Eileen Sheridan 99 Who Paved the Path For
2023-02-17   2023-02-24 urope/eileen-sheridan-dead.html             Womens Cycling                               By Clay Risen                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/21/movies/
2023-02-21   2023-02-24 the-first-fallen-review.html                The First Fallen                             By Lisa Kennedy               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/22/arts/ric Rick Newman Whose Comedy Club Made
2023-02-22   2023-02-24 k-newman-dead.html                          Careers Is Dead at 81                        By Neil Genzlinger            TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/22/movies/
2023-02-22   2023-02-24 a-house-made-of-splinters-review.html       A House Made of Splinters                    By Nicolas Rapold             TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/22/movies/
2023-02-22   2023-02-24 chocolat-claire-denis.html                  ChildsEye View of French Colonialism         By J Hoberman                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/22/world/a Glria Maria 73 Who Broke Barriers for Black
2023-02-22   2023-02-24 mericas/gloria-maria-dead.html              Women in Brazilian TV News                   By Ana Ionova                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/22/health/ After Two Decades of Fewer Global Maternal
2023-02-23   2023-02-24 pregnancy-complications-death-who.html      Deaths Declines Have Stalled                 By Roni Caryn Rabin           TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/22/movies/
2023-02-23   2023-02-24 dancing-the-twist-in-bamako-review.html     Youth in Revolt and Disillusionment          By AO Scott                   TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/22/nyregio Alligator Rescued From a Brooklyn Park Is
2023-02-23   2023-02-24 n/alligator-prospect-park-bronx-zoo.html    Found to Have Swallowed a Stopper            By Katherine Rosman           TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/22/world/a
                        ustralia/peter-bol-doping-allegations-      Rocked by Doping Allegation a Rising Star
2023-02-23   2023-02-24 australia.html                              Maintains Innocence                          By Natasha Frost              TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/23/arts/ale Baldwin Pleads Not Guilty to Involuntary
2023-02-23   2023-02-24 c-baldwin-pleads-not-guilty.html            Manslaughter on Movie Set                    By Julia Jacobs               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/23/arts/des
                        ign/anne-imhof-exhibition-review-los-
2023-02-23   2023-02-24 angeles.html                                Dancing In the Ruins Of Emptiness            By Travis Diehl               TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/23/arts/des
2023-02-23   2023-02-24 ign/willie-cole-art-newark.html             Saved From Landfill By a Higher Calling      By Laura van Straaten         TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/23/arts/ma
2023-02-23   2023-02-24 rian-goodman-gallery-tribeca.html           Marian Goodman Relocates to TriBeCa          By Zachary Small              TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/23/arts/mu Bowie to Live On at VampA Museum in
2023-02-23   2023-02-24 sic/david-bowie-victoria-albert-museum.html London                                      By Remy Tumin                  TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/23/arts/mu
2023-02-23   2023-02-24 sic/lohengrin-met-opera-ukraine-russia.html Far From the Bolshoi Starting Up Again   By Joshua Barone                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/arts/mu
                        sic/nathalie-stutzmann-new-york-
2023-02-23   2023-02-24 philharmonic-review.html                    Welcome Guests Arrive Bearing Bold Works By Anastasia Tsioulcas              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/arts/mu
                        sic/r-kelly-sentenced-federal-child-sex-    Kellys Abuse Of Minors In 90s Adds To
2023-02-23   2023-02-24 crimes.html                                 Sentence                                 By Robert Chiarito and Julia Jacobs TX 9-278-914   2023-04-04



                                                                                 Page 4894 of 5793
                        https://www.nytimes.com/2023/02/23/arts/tele
                        vision/christoph-waltz-the-consultant-
2023-02-23   2023-02-24 amazon.html                                  Polite and SoftSpoken But With a Wry Edge By Elisabeth Vincentelli       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/arts/tele
                        vision/how-much-watching-time-do-you-have-
2023-02-23   2023-02-24 this-weekend.html                            This Weekend I Have                       By Margaret Lyons              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/arts/tele The Unbearable Sadness of the Sitcom
2023-02-23   2023-02-24 vision/party-down-review.html                Revival                                   By James Poniewozik            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/books/j John Macrae III 91 Publisher And Rights
2023-02-23   2023-02-24 ohn-macrae-iii-dead.html                     Champion Is Dead                          By Sam Roberts                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/busines Online Fall Ozy Founder Is Charged With     By Benjamin Mullin Katie
2023-02-23   2023-02-24 s/carlos-watson-ozy-arrested.html            Fraud                                     Robertson and Ben Protess      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/busines
                        s/economy/chip-makers-fight-federal-
2023-02-23   2023-02-24 money.html                                   US Funding Drives Rivals In Chip Wars     By Ana Swanson and Don Clark   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/busines Judge Scales Back Starbucks Ruling Limiting
2023-02-23   2023-02-24 s/economy/starbucks-union-ruling.html        Union Shield to One Store                 By Noam Scheiber               TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/23/busines
2023-02-23   2023-02-24 s/economy/ukraine-company-kormotech.html Thriving Through a Year of War            By Patricia Cohen                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/busines EU Bans TikTok From Employees Phones in
2023-02-23   2023-02-24 s/european-union-tik-tok.html              Latest Sign of Tension With China       By Monika Pronczuk                 TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/23/busines Flight Attendant Unions Split on Proposed
2023-02-23   2023-02-24 s/jetblue-spirit-airlines-merger-union-doj.html Merger Between JetBlue and Spirit       By Niraj Chokshi              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/busines New Details Emerge Regarding FTX             By Matthew Goldstein and
2023-02-23   2023-02-24 s/sam-bankman-fried-ftx.html                    Founders Unlawful Campaign Donations    Benjamin Weiser               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/busines
2023-02-23   2023-02-24 s/tech-startups-israel.html                     Tech Leaders in Israel Consider Leaving By David Segal                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/busines ExMastercard Chief Born in India Nominated By Alan Rappeport and Coral
2023-02-23   2023-02-24 s/world-bank-president-nomination.html          to World Bank                           Davenport                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/busines
2023-02-23   2023-02-24 s/yellen-ukraine-g20.html                       Yellen Calls for More Ukraine Support   By Alan Rappeport             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/climate US Solar Goal Stalled by Wait On Creaky
2023-02-23   2023-02-24 /renewable-energy-us-electrical-grid.html       Grid                                    By Brad Plumer                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/23/health/s Mixed Reactions as FDA Proposes That Soy
2023-02-23   2023-02-24 oy-almond-oat-milk-fda.html                 Oat and Almond Drinks Can Be Called Milk   By Andrew Jacobs               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/movies/
2023-02-23   2023-02-24 bruiser-review.html                         Bruiser                                    By Brandon Yu                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/movies/
2023-02-23   2023-02-24 gods-time-review.html                       Gods Time                                  By Glenn Kenny                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/movies/
2023-02-23   2023-02-24 juniper-review.html                         Juniper                                    By Beatrice Loayza             TX 9-278-914   2023-04-04




                                                                               Page 4895 of 5793
                        https://www.nytimes.com/2023/02/23/movies/
2023-02-23   2023-02-24 linoleum-review-rocket-plan.html            Linoleum                                     By Jeannette Catsoulis            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/movies/
2023-02-23   2023-02-24 my-happy-ending-review.html                 My Happy Ending                              By Ben Kenigsberg                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/movies/
2023-02-23   2023-02-24 yanagawa-review.html                        Yanagawa                                     By Beandrea July                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/nyregio
                        n/saipov-bike-path-terror-death-penalty-    Death Penalty Jury Hears From Victims of
2023-02-23   2023-02-24 trial.html                                  Manhattan Bike Path Attack                   By Lola Fadulu                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/nyregio Charges of Abuse at Sing Sing Spur US
2023-02-23   2023-02-24 n/sing-sing-beatings-investigation.html     Inquiry                                      By Benjamin Weiser                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/opinion Bidens Greatest Strength Is Also His Greatest
2023-02-23   2023-02-24 /biden-age-concern-re-election.html         Vulnerability                                By Katherine Miller               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/opinion
2023-02-23   2023-02-24 /ukraine-war.html                           The Breathtaking Waste of War                By Farah Stockman                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/science After Extended Delay Moderna Pays NIH For
2023-02-23   2023-02-24 /moderna-covid-vaccine-patent-nih.html      a Vaccine Technique                          By Benjamin Mueller               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/sports/c Living the Good Life on the Tour de
2023-02-23   2023-02-24 ycling/ashton-lambie-cycling.html           Whatever                                     By Kevin Draper                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/sports/s Change Remains The Only Constant As MLS
2023-02-23   2023-02-24 occer/mls-preview-2023.html                 Returns                                      By Victor Mather                  TX 9-278-914   2023-04-04
                                                                    Science Fiction Magazines Battle Flood of
                        https://www.nytimes.com/2023/02/23/technol ChatbotGenerated Stories and Theyre Not
2023-02-23   2023-02-24 ogy/clarkesworld-submissions-ai-sci-fi.html Very Good                                    By Michael Levenson               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/technol
                        ogy/personaltech/twitter-two-factor-        Why You Should Listen to Twitter on
2023-02-23   2023-02-24 authentication.html                         TwoFactor Authentication                     By Brian X Chen                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/us/alex-
2023-02-23   2023-02-24 murdaugh-murder-trial-testify.html          Murdaugh Tells Court He Lied But Didnt Kill By Nicholas BogelBurroughs         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/us/harv Weinstein Gets a 16Year Term for California
2023-02-23   2023-02-24 ey-weinstein-sentence-los-angeles.html      Sex Crimes                                   By Lauren Herstik                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/us/kent A Spiritual Revival Spontaneously in
2023-02-23   2023-02-24 ucky-revival-asbury-university.html         Kentucky                                     By Ruth Graham and Jesse Barber   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/us/polit ExArizona Official Buried Findings of No
2023-02-23   2023-02-24 ics/arizona-brnovich-election-fraud.html    Voter Fraud                                  By Neil Vigdor                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/us/polit Georgias Gun Laws Could Hurt Bid By          By Jonathan Weisman and Maya
2023-02-23   2023-02-24 ics/democratic-convention-guns.html         Atlanta to Host 2024 Convention              King                              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/us/polit Crisis for Ohio A Parade Route For
2023-02-23   2023-02-24 ics/east-palestine-politics.html            Politicians                                  By Jonathan Weisman               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/us/polit                                              By Alan Feuer and Maggie
2023-02-23   2023-02-24 ics/mike-pence-jan-6-special-counsel.html   Special Counsel Seeks to Make Pence Testify Haberman                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/us/polit
                        ics/ohio-train-east-palestine-ntsb-         Crew Tried to Stop Train Before It Derailed By Mark Walker and Emily
2023-02-23   2023-02-24 buttigieg.html                              Inquiry Finds                                Cochrane                          TX 9-278-914   2023-04-04




                                                                                Page 4896 of 5793
                        https://www.nytimes.com/2023/02/23/us/polit
                        ics/pakistani-brothers-guantanamo-          US Sends Home Brothers Held at Guantnamo
2023-02-23   2023-02-24 release.html                                Bay for Nearly 2 Decades                 By Carol Rosenberg                     TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/23/us/trum Trump Team Says Juror Poisoned Georgia    By Richard Fausset and Danny
2023-02-23   2023-02-24 p-legal-team-assails-georgia-inquiry.html   Case                                     Hakim                                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/23/world/a
2023-02-23   2023-02-24 sia/china-mine-inner-mongolia.html          Workers Dig To Rescue 53 Miners In China By Chang Che and John Liu              TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/23/world/e Prosecutor In France Describes Troubled   By Catherine Porter and Tom
2023-02-23   2023-02-24 urope/france-student-stabs-teacher.html     Teen                                     Nouvian                                TX 9-278-914     2023-04-04

                        https://www.nytimes.com/2023/02/23/world/e Another Prime Minister Gambles on Another
2023-02-23   2023-02-24 urope/rishi-sunak-northern-ireland-brexit.html Brexit Deal                                  By Stephen Castle                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/world/e
                        urope/ukraine-weapons-ammunition-              To Help Arm Ukraine Bulgarian Factories      By Thomas GibbonsNeff Justin
2023-02-23   2023-02-24 bulgaria.html                                  and Secret Task Forces                       Scheck and Boryana Dzhambazova TX 9-278-914      2023-04-04
                        https://www.nytimes.com/2023/02/23/world/
                        middleeast/turkish-builders-come-under-
                        intense-scrutiny-over-shoddy-                  Turkish Builders Under Intense Scrutiny Over By Ben Hubbard Elif Ince and
2023-02-23   2023-02-24 construction.html                              Shoddy Work                                  Safak Timur                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/live/2023/02/23/wo
                        rld/russia-ukraine-news/the-un-general-
                        assembly-votes-141-to-7-with-32-abstentions- UN Renews Insistence That Russia Recall
2023-02-23   2023-02-24 to-call-for-peace-in-ukraine                   Troops                                       By Farnaz Fassihi                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/busines Thomas H Lee Buyout Pioneer Who Took
2023-02-24   2023-02-24 s/thomas-lee-billionaire-dead.html             Over Snapple Dies at 78                      By Rob Copeland                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/movies/ He Died Ages Ago but Online Hes a
2023-02-24   2023-02-24 we-have-a-ghost-review.html                    Sensation                                    By Amy Nicholson                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/nyregio He Ruined Their Lives Attackers Father           By Lola Fadulu and Benjamin
2023-02-24   2023-02-24 n/saipov-father-testifies-death-penalty.html Testifies as Defense Seeks Life Term           Weiser                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/opinion
2023-02-24   2023-02-24 /desantis-ukraine-shimmy.html                  Lets All Do the DeSantis Shimmy              By David Brooks                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/opinion
2023-02-24   2023-02-24 /putin-ukraine-toughness.html                  Putin and the Rights ToughGuy Problem        By Paul Krugman                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/sports/o A Prominent Coach Is Suspended for Abuse
2023-02-24   2023-02-24 lympics/gymnastics-abuse-qi-han.html           Following Years of Complaints                By Juliet Macur                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/us/colo Judge Upholds Hate Charges In Rampage At
2023-02-24   2023-02-24 rado-springs-shooting-hate-crimes.html         Nightclub                                    By Kelley Manley and Jesus Jimnez TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/23/us/polit To Convince Allies US Decided Some           By Julian E Barnes and Adam
2023-02-24   2023-02-24 ics/intelligence-russia-us-ukraine-china.html Intelligence Shouldnt Be Secret            Entous                             TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/23/world/e Ukrainians Must Weigh Threats and Risks
2023-02-24   2023-02-24 urope/ukraine-war-anniversary.html            Daily                                      By Marc Santora                    TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/24/insider/
                        in-the-coldest-case-in-laramie-a-journalist-
2023-02-24   2023-02-24 returns-home.html                             A Cold Murder Case Pulls a Journalist Home By Josh Ocampo                     TX 9-278-914     2023-04-04



                                                                                 Page 4897 of 5793
                        https://www.nytimes.com/2023/02/24/us/polit The BidenZelensky Bond Strong After a          By Peter Baker and Andrew E
2023-02-24   2023-02-24 ics/biden-zelensky-ukraine-russia.html      Tense Start                                    Kramer                          TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/24/world/a Security Crises and Kidnappings Plague
2023-02-24   2023-02-24 frica/nigeria-election-kidnappings.html     Nigeria Ahead of Vote                          By Elian Peltier                TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/24/world/e
2023-02-24   2023-02-24 urope/ukraine-war-anniversary-photos.html What We Saw                                      By The New York Times           TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/10/travel/c
2023-02-10   2023-02-25 olombia-caribbean-food-chef.html             Savoring the Flavors of Caribbean Colombia    By Abbie Kozolchyk              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/14/travel/ Turning Museum Visits Into Ethical
2023-02-14   2023-02-25 museums-stolen-art.html                      Dilemmas                                      By Charly Wilder                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/interactive/2023/02/
2023-02-16   2023-02-25 16/travel/things-to-do-madrid.html           36 Hours in Madrid                            By Andrew Ferren                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/22/arts/tele
                        vision/murdaugh-murders-netfix-true-
2023-02-22   2023-02-25 crime.html                                   The Terroir of True Crime Documentaries       By Mike Hale                    TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/22/movies/
                        tirailleurs-african-troops-france-world-war-
2023-02-22   2023-02-25 i.html                                       The African Soldiers France Tried to Forget   By Roger Cohen                  TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/22/opinion Worry Less About Your Wagyu and More
2023-02-22   2023-02-25 /restaurant-workers-welfare-noma.html        About the Person Serving It to You            By Robyn Tse                    TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/23/arts/mu Tom Whitlock 68 Who CoWrote Top Gun
2023-02-23   2023-02-25 sic/tom-whitlock-dies.html                   Anthem                                        By Daniel Victor                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/23/opinion Feinstein Is Old Absolutely and an Absolute
2023-02-23   2023-02-25 /dianne-feinstein-retirement.html            Giant                                         By Frank Bruni                  TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/23/arts/ho Hogwarts Legacy Sells Well Amid Rowling
2023-02-24   2023-02-25 gwarts-legacy-sales-rowling.html             Controversy                                   By Julia Jacobs                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/24/arts/dan Recruiting Help to Grapple With Unsettling
2023-02-24   2023-02-25 ce/review-dean-moss-danspace.html            Tensions                                      By Siobhan Burke                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/24/arts/mu
                        sic/dave-brubeck-cantata-the-gates-of-
2023-02-24   2023-02-25 justice.html                                 A Fathers Sounds Beguile His Sons             By Zachary Woolfe               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/24/busines Thomas H Lee Kinder Gentler Corporate
2023-02-24   2023-02-25 s/dealbook/thomas-h-lee-dead.html            Raider Is Dead at 78                          By Rob Copeland                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/24/busines Measure of Inflation Speeds Up Muddling         By Jeanna Smialek and Ben
2023-02-24   2023-02-25 s/economy/inflation-spending-fed.html        Hope of Easy Recovery                         Casselman                       TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/24/busines After a Wartime Pivot Europe Is Weathering
2023-02-24   2023-02-25 s/europe-energy-crisis.html                  an Energy Crisis                              By Stanley Reed and Melissa Eddy TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/busines Cond Nast Sees Growth in Revenue but
2023-02-24   2023-02-25 s/media/conde-nast-revenue.html              Misses Target                                 By Katie Robertson              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/24/busines
2023-02-24   2023-02-25 s/media/nancy-dubuc-vice.html                Vices CEO To Leave Job After 5 Years          By Benjamin Mullin              TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/24/busines
2023-02-24   2023-02-25 s/stocks-sink-for-third-straight-week.html   Shares Sink for the Third Straight Week       By Joe Rennison                 TX 9-278-914    2023-04-04




                                                                                 Page 4898 of 5793
                        https://www.nytimes.com/2023/02/24/busines
2023-02-24   2023-02-25 s/us-europe-electric-car-subsidies-g20.html US Eyes Deals to Ease Trade Tensions         By Alan Rappeport              TX 9-278-914   2023-04-04
                                                                     A Dozen States Sue the FDA Seeking the
                        https://www.nytimes.com/2023/02/24/health/a Removal of Special Restrictions on an
2023-02-24   2023-02-25 bortion-pills-fda-lawsuit.html               Abortion Pill                               By Pam Belluck                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/movies/
2023-02-24   2023-02-25 cocaine-bear-review.html                     In These Woods the Bear Is Bad News         By Jason Zinoman               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/movies/
2023-02-24   2023-02-25 the-quiet-girl-us-ireland.html               In The Quiet Girl Healing Without Words     By Roisin Lanigan              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/nyregio Living Urban Legends Emerge From the
2023-02-24   2023-02-25 n/alligator-nyc.html                         Depths of New York City                     By Hurubie Meko                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/nyregio
                        n/seabrook-correction-officer-union-bribery-
2023-02-24   2023-02-25 early-release.html                           ExLeader Of Guards Is Granted His Release   By Benjamin Weiser             TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/24/nyregio Two Brothers Charged With Wage Theft
2023-02-24   2023-02-25 n/shabaj-brothers-new-york-wage-theft.html From Laborers in Manhattan                    By Jonah E Bromwich            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/nyregio
2023-02-24   2023-02-25 n/sick-sea-turtles-new-york.html            Rehabilitation Complete With Squid Snacks By Dodai Stewart and Anna Watts   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/opinion
2023-02-24   2023-02-25 /mike-pence-grand-jury.html                 Pence Should Drop His Dangerous Ploy         By J Michael Luttig            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/opinion Dont Let Politics Cloud Your View of Teen
2023-02-24   2023-02-25 /social-media-and-teen-depression.html      Depression                                   By Michelle Goldberg           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/sports/f In This Corner a YouTube Star and in This
2023-02-24   2023-02-25 ury-paul-fight-saudi.html                   Corner a Guy From Love Island                By Kevin Draper                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/sports/s
                        occer/newcastle-manchester-united-cup-      The SaudiFinanced Buzz in the Air of
2023-02-24   2023-02-25 final.html                                  Newcastle                                    By Rory Smith                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/sports/s Marathoners Mourn Spencer a Race Fan Who
2023-02-24   2023-02-25 pencer-boston-marathon-dog-obituary.html Inspired Boston                                 By Talya Minsberg              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/theater/
                        alexander-zeldin-love-park-avenue-
2023-02-24   2023-02-25 armory.html                                 Big Issues Riveting Narratives               By Elisabeth Vincentelli       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/theater/
2023-02-24   2023-02-25 obie-awards-english.html                    Obie Awards Honor English as Best Play       By Michael Paulson             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/us/alex- Prosecution Presses Murdaugh on Timeline
2023-02-24   2023-02-25 murdaugh-murder-trial-testimony.html        on Night of Two Murders                      By Nicholas BogelBurroughs     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/us/polit Toxic Train Wreck Puts TrumpBacked
2023-02-24   2023-02-25 ics/east-palestine-ohio-jd-vance.html       Senator From Ohio in Spotlight               By Jazmine Ulloa               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/world/a
2023-02-24   2023-02-25 frica/nigeria-election-vote-buying.html     Nigeria Arrest Ahead of Vote Points to Graft By Elian Peltier               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/world/a A Decade After a Deadly Derailment Some
2023-02-24   2023-02-25 mericas/canada-train-derailment.html        Wonder if Canadas Railroads Are Safe         By Ian Austen                  TX 9-278-914   2023-04-04




                                                                                Page 4899 of 5793
                        https://www.nytimes.com/2023/02/24/world/a In Ukraine Policy Paper China Repeats Old By Chris Buckley Steven Erlanger
2023-02-24   2023-02-25 sia/china-russia-ukraine-war.html          Themes and Protects Ties to Russia          and Edward Wong                TX 9-278-914      2023-04-04
                        https://www.nytimes.com/2023/02/24/world/a Mystery Solved Big Orb on Japanese Beach Is By Hisako Ueno Mike Ives and
2023-02-24   2023-02-25 sia/japan-buoy-sphere.html                 a Buoy                                      Alan Yuhas                     TX 9-278-914      2023-04-04
                        https://www.nytimes.com/2023/02/24/world/e
2023-02-24   2023-02-25 urope/basf-layoffs-germany.html            BASF Says It Plans to Cut 2600 Jobs         By Melissa Eddy                TX 9-278-914      2023-04-04

                        https://www.nytimes.com/2023/02/24/world/e If Theres a Rally Frances Protester in Chief Is
2023-02-24   2023-02-25 urope/france-protests-jean-baptiste-redde.html There Placard in Hand                       By Constant Mheut             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/world/e                                                 By Anton Troianovski Steven
2023-02-24   2023-02-25 urope/russia-ukraine-war-next-steps.html       Committed to a Win However It May Look Erlanger and Marc Santora          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/world/e Turks Desperate for Normalcy Are Finding By Cora Engelbrecht and Nimet
2023-02-24   2023-02-25 urope/turkey-earthquake-hardships.html         More Uncertainty                            Kirac                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/your- Bankers Are Suing Lawyers In Kentuckys
2023-02-24   2023-02-25 money/anti-esg-investing-kentucky.html         ESG Battle                                  By Ron Lieber                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/live/2023/02/24/wo
                        rld/russia-ukraine-zelensky-news/a-reluctant-
                        russian-soldier-predicts-one-day-this-will-be- Reluctant Russian Soldiers on Their Way to
2023-02-24   2023-02-25 over                                           the Front Lines                             By Valerie Hopkins            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/live/2023/02/24/wo
                        rld/russia-ukraine-zelensky-news/the-
                        emptying-of-kyivs-streets-drove-home-how- Haunting Encounters During a Year of War in
2023-02-24   2023-02-25 war-had-come-to-a-modern-european-city         Ukraine                                     By Andrew E Kramer            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/live/2023/02/24/wo
                        rld/russia-ukraine-zelensky-news/though-
                        ukrainians-remain-proud-and-committed-
2023-02-24   2023-02-25 cynicism-is-gaining-ground                     We Have Felt a Whiff of Freedom             By Carlotta Gall              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/live/2023/02/24/wo
                        rld/russia-ukraine-zelensky-news/through-fear-
2023-02-24   2023-02-25 and-sorrow-in-ukraine-bravery-prevails         First Disbelief Then Waves of Courage       By Marc Santora               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/us/polit Biden Reaffirms Support for Kyiv Promising
2023-02-25   2023-02-25 ics/biden-ukraine-russia.html                  Another 2 Billion in Aid                    By Michael D Shear            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/us/polit
                        ics/cia-torture-guantanamo-nashiri-            Doctor Denounces the CIAs Rectal Feeding of
2023-02-25   2023-02-25 doctor.html                                    Prisoners                                   By Carol Rosenberg            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/world/e Zelensky Pledges A Ukraine Victory As War By Marc Santora and Richard
2023-02-25   2023-02-25 urope/ukraine-russia-war-anniversary.html      Wears On                                    PrezPea                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/busines From TikTok Fame to 1099Ks Influencers
2023-02-25   2023-02-25 s/content-creators-viral-taxes.html            Navigate Tax Bills                          By Lora Kelley                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/25/climate Drought Is Killing Off Fish Birds And        By Henry Fountain and Mette
2023-02-25   2023-02-25 /salton-sea-colorado-river-drought-crisis.html Largest Lake in California               Lampcov                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/your-                                                By Tara Siegel Bernard and Ron
2023-02-25   2023-02-25 money/taxes-venmo-student-loans.html           Tax Changes to Know About                Lieber                           TX 9-278-914   2023-04-04




                                                                                Page 4900 of 5793
                        https://www.nytimes.com/interactive/2023/02/
                        25/business/media/fox-news-dominion-tucker- What Fox News Hosts Said Privately vs       By Stuart A Thompson Karen
2023-02-25   2023-02-25 carlson.html                                 Publicly About Voter Fraud                 Yourish and Jeremy W Peters    TX 9-278-914   2023-04-04
                                                                                                                By Hiromi Kawakami and
                        https://www.nytimes.com/2023/01/04/books/b Literary Destinations Read Your Way          translated by Allison Markin
2023-01-04   2023-02-26 ooks-tokyo-japan.html                      Through Tokyo                                Powell                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/24/books/r
2023-01-24   2023-02-26 eview/the-chinese-groove-kathryn-ma.html Coming to America                              By Scaachi Koul                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/01/27/books/r
2023-01-27   2023-02-26 eview/pamela-anderson-love-pamela.html     Tell All Again                               By Jessica Pressler            TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/04/books/r
2023-02-04   2023-02-26 eview/someone-elses-shoes-jojo-moyes.html Trading Places                               By Marshall Heyman              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/06/books/k
                        ira-yarmysh-incredible-events-womens-cell-
2023-02-06   2023-02-26 number-3.html                              Captive Mind                                By Dwight Garner                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/books/r
2023-02-07   2023-02-26 eview/a-hackers-mind-bruce-schneier.html   Beating the System                          By Dan Piepenbring              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/07/books/r
2023-02-07   2023-02-26 eview/culture-martin-puchner.html          Whats Mine Is Yours                         By Ismail Muhammad              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/09/books/r
                        eview/our-share-of-night-mariana-
2023-02-09   2023-02-26 enriquez.html                              Death Becomes Them                          By Danielle Trussoni            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/11/books/r
                        eview/writers-failure-joyce-melville-
2023-02-11   2023-02-26 boethius.html                              The Better You Write the More You Will Fail By Stephen Marche               TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/13/books/r
2023-02-13   2023-02-26 eview/richard-bausch-playhouse-review.html Call It Lying                                By Leah Hager Cohen            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/13/well/mi
2023-02-13   2023-02-26 nd/jay-shetty-book-8-rules-love.html         What Does Jay Shetty Know About Love       By Alisha Haridasani Gupta     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/14/books/
2023-02-14   2023-02-26 malcolm-harris-palo-alto.html                The Big Pivot                              By Gary Kamiya                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/books/r
2023-02-16   2023-02-26 eview/siddharth-kara-cobalt-red.html         Inside the List                            By Elisabeth Egan              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/nyregio The Fight for Open Spaces Gains a New
2023-02-16   2023-02-26 n/public-realm-officer-nyc.html              Champion                                   By Winnie Hu                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/style/tik The Freshly Unemployed Sent Reeling Land
2023-02-16   2023-02-26 tok-tech-layoffs.html                        on TikTok                                  By Alyson Krueger              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/books/r
                        eview/hosein-quintana-fernandez-
2023-02-17   2023-02-26 modiano.html                                 International Literature                   By Anderson Tepper             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/arts/tele Bringing a Tale Of Rock to Life On the
2023-02-18   2023-02-26 vision/daisy-jones-six-riley-keough.html     Screen                                     By Katherine Rosman            TX 9-278-914   2023-04-04




                                                                               Page 4901 of 5793
                        https://www.nytimes.com/2023/02/19/movies/
                        sal-piro-rocky-horror-picture-show-superfan- Sal Piro Superfan of The Rocky Horror
2023-02-19   2023-02-26 dies-at-72.html                              Picture Show Dies at 72                        By Richard Sandomir       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/arts/tele
2023-02-20   2023-02-26 vision/damson-idris-snowfall.html            Damson Idris Feels Terrific in a Tuxedo        By Kathryn Shattuck       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/magazi I Think My Friend Could Be Autistic Do I
2023-02-20   2023-02-26 ne/autism-friend-ethics.html                 Tell Her                                       By Kwame Anthony Appiah   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/
                        20/magazine/emma-chamberlain-                YouTube Made Emma Chamberlain a Star
2023-02-20   2023-02-26 interview.html                               Now Shes Leaving it Behind                     By David Marchese         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/magazi
2023-02-21   2023-02-26 ne/closing-credits-movies.html               End Credits                                    By Emma Kantor            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/magazi
2023-02-21   2023-02-26 ne/ian-fishback.html                         Ian Fishbacks American Nightmare               By CJ Chivers             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/movies/
2023-02-21   2023-02-26 rrr-song-naatu-naatu.html                    How Naatu Naatu Kicked Up Such a Storm By Nicolas Rapold                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/realesta
2023-02-21   2023-02-26 te/house-renovation-new-jersey.html          As Their Family Grew the Suburbs Beckoned By Tim McKeough                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/style/te
2023-02-21   2023-02-26 nnis-bracelets.html                          Tennis Essentials Racket and Bracelet          By Amelia Diamond         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/theater/
                        broadway-musicals-camelot-sweeney-todd-
2023-02-21   2023-02-26 here-lies-love.html                          A Touch of Star Quality or Too Much            By Jesse Green            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/arts/mu
                        sic/classical-music-gustavo-dudamel-mahler-
2023-02-22   2023-02-26 9.html                                       A Fresh Beginning and the End of an Era        By Zachary Woolfe         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/magazi
2023-02-22   2023-02-26 ne/congressional-dad-caucus.html             Pop Group                                      By Phillip Maciak         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/magazi
2023-02-22   2023-02-26 ne/new-york-democrats.html                   What the Hell Are We Even Doing                By Ross Barkan            TX 9-278-914   2023-04-04
                                                                     Hot Enough for Ya The fruity warmth of Thai
                                                                     chiles melds perfectly with the sweet tartness
                        https://www.nytimes.com/2023/02/22/magazi of fresh pineapple in this rollicking friedrice
2023-02-22   2023-02-26 ne/pineapple-fried-rice-recipe.html          dish                                           By Eric Kim               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/movies/
                        puss-in-boots-the-last-wish-visual-
2023-02-22   2023-02-26 influences.html                              Sparks That Set Off a Cats Wild Ride           By Sarah Bahr             TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/22/opinion One Year Inside a Radical New Approach to By Jeneen Interlandi and Donavon
2023-02-22   2023-02-26 /drug-crisis-addiction-harm-reduction.html  Americas Overdose Crisis                  Smallwood                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/opinion America Has Lost The War On Drugs What
2023-02-22   2023-02-26 /harm-reduction-public-health.html          Now                                       By The Editorial Board          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/realesta
                        te/home-prices-virginia-massachusetts-and- 23 Million Homes in Virginia Massachusetts
2023-02-22   2023-02-26 the-district-of-columbia.html               and the District of Columbia              By Angela Serratore             TX 9-278-914   2023-04-04



                                                                                Page 4902 of 5793
                        https://www.nytimes.com/2023/02/22/style/bl
2023-02-22   2023-02-26 undstone-boots.html                         Boots Made for Comfort and for Coveting   By Max Berlinger                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/22/style/m
2023-02-22   2023-02-26 arital-infidelity-confrontation.html        Manage Your Anger                         By Philip Galanes                TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/22/theater/
2023-02-22   2023-02-26 jessica-chastain-dolls-house-broadway.html Back on Broadway With Nothing to Prove     By Alexandra Alter                TX 9-278-914   2023-04-04
                                                                                                              By Steven McElroy Joshua Barone
                                                                                                              Siobhan Burke Jon Pareles Brian
                        https://www.nytimes.com/2023/02/22/theater/                                           Seibert Lindsay Zoladz and Roslyn
2023-02-22   2023-02-26 live-performances-nyc-spring.html            Live Performances                        Sulcas                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/polit In BlueCollar States Our Brand Is Pretty
2023-02-22   2023-02-26 ics/democrats-factory-towns-2024.html        Damaged Democrats Find                    By Katie Glueck                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/interactive/2023/02/
                        22/magazine/covid-pandemic-oral-             Three Years Into Covid We Still Dont Know By Jon Mooallem and Photographs
2023-02-22   2023-02-26 history.html                                 How to Talk About It                      by Ashley Gilbertson            TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/23/arts/mu
2023-02-23   2023-02-26 sic/jessye-norman-unreleased-recordings.html Rejected Albums Now Released              By Zachary Woolfe               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/23/books/l Linda King Newell 82 a Blacklisted Feminist
2023-02-23   2023-02-26 inda-king-newell-dead.html                   Scholar of Mormon History                 By Clay Risen                   TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/23/busines
2023-02-23   2023-02-26 s/elizabeth-koch-perception-box.html         Where Wealth Meets WooWoo                 By Brooks Barnes                TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/23/insider/ At Her Alma Mater a Reporter Covers a
2023-02-23   2023-02-26 msu-shooting-graduate-journalist.html        Shooting                                  By Sophia Lada                  TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/23/magazi
                        ne/judge-john-hodgman-splitting-the-bill-
2023-02-23   2023-02-26 tips.html                                    Bonus Advice From Judge John Hodgman      By John Hodgman                 TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/23/magazi
2023-02-23   2023-02-26 ne/poem-in-defense-of-nothing.html           Poem In Defense of Nothing                By Peter Gizzi and Anne Boyer   TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/23/realesta
2023-02-23   2023-02-26 te/single-tenants-apartments-rent.html       Alone and Paying the Price                By Michael Kolomatsky           TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/23/sports/s John Motson 77 BBCs Voice of Soccer for 50
2023-02-23   2023-02-26 occer/john-motson-dead.html                  Years                                     By Daniel Victor                TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/23/style/di Diesel Is Here to Show Us Why Designers
2023-02-23   2023-02-26 esel-glenn-martens-milan-fashion-week.html Matter                                       By Vanessa Friedman            TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/23/style/fu Californians Are Chill About Shedding Their
2023-02-23   2023-02-26 r-sales-california.html                      Fur                                        By Max Berlinger               TX 9-278-914    2023-04-04
                        https://www.nytimes.com/2023/02/23/style/lai When Something Borrowed Is the Wedding
2023-02-23   2023-02-26 ne-london-wedding-dress-rental.html          Dress                                      By Sadiba Hasan                TX 9-278-914    2023-04-04

                        https://www.nytimes.com/2023/02/23/style/lo
2023-02-23   2023-02-26 ndon-fashion-week-street-style-photos.html Punk Is What You Make It                   By Simbarashe Cha                TX 9-278-914    2023-04-04




                                                                               Page 4903 of 5793
                        https://www.nytimes.com/2023/02/23/theater/
2023-02-23   2023-02-26 fat-ham-james-ijames-broadway.html           Out of Friendship a Play Was Born           By Maya Phillips                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/theater/                                              By Alexis Soloski Laura
                        four-rising-theater-stars-to-watch-this-                                                 CollinsHughes Roslyn Sulcas and
2023-02-23   2023-02-26 spring.html                                  Four Artists Four Shows Many Memories       Rhoda Feng                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/ Seeking a Studio in Downtown Brooklyn for
                        23/realestate/studio-apartment-brooklyn-     Less Than 400000 She Was Surprised by the
2023-02-23   2023-02-26 ny.html                                      Options                                     By Debra Kamin                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/arts/dan
2023-02-24   2023-02-26 ce/bob-fosse-dancin-broadway.html            For Bob Fosses Dancin Feeling the Buzz      By Gia Kourlas and Yael Malka     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/arts/des
                        ign/tina-barney-book-kasmin-gallery-
2023-02-24   2023-02-26 photographer.html                            In the Beginning Alone With Her Camera      By Hilarie M Sheets               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/arts/mu
2023-02-24   2023-02-26 sic/delbert-anderson-trio-jazz.html          Improvising Jazz With Navajo Licks          By Michael Powell                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/books/r
                        eview/jerry-pinkney-dan-santat-graphic-
2023-02-24   2023-02-26 memoirs.html                                 Life Drawing                                By David Small                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/books/r
2023-02-24   2023-02-26 eview/new-romance-novels.html                Hot Books for Cold Days                     By Olivia Waite                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/movies/
2023-02-24   2023-02-26 paul-mescal-irish-baftas.html                Ireland Bursting Proud After RedCarpet Chat By Claire Fahy                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/nyregio
                        n/new-york-city-marijuana-law-               Some Are Panicking About Marijuana Are
2023-02-24   2023-02-26 enforcement.html                             They Right                                  By Ginia Bellafante               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/nyregio
2023-02-24   2023-02-26 n/newspaper-war-nyc.html                     Its a Newspaper War                         By John Leland                    TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/24/realesta
2023-02-24   2023-02-26 te/florida-condo-deconversions-lawsuit.html A Couple Fights the Forced Sale of a Condo   By Anna Kod                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/realesta
2023-02-24   2023-02-26 te/luxury-condo-wine-room.html              Just Drink In The Details                    By Alix Strauss                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/realesta
2023-02-24   2023-02-26 te/west-village-apartment-nyc.html          He Saw What It Could Be Not Its Limits       By Tim McKeough                   TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/24/sports/s A Greek Drama That Encompasses Virtually
2023-02-24   2023-02-26 occer/olympiacos-panathinaikos-greece.html Everything                                   By Rory Smith                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/sports/t US Colleges Are Training the Worlds Female
2023-02-24   2023-02-26 itle-ix-ncaa-olympics.html                   Olympians                                  By Alan Blinder                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/style/ali
2023-02-24   2023-02-26 son-zhuk-jay-parker-wedding.html             Home Is Where Their Hearts and Careers Are By Tammy La Gorce                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/style/be Where a Hurricane Hit Building Something
2023-02-24   2023-02-26 th-sharer-jay-goad-wedding.html              New                                        By Shannon Sims                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/style/ch With a Drone Instructor Letting Love Take
2023-02-24   2023-02-26 elsea-wilson-austin-brown-wedding.html       Flight                                     By Rosalie R Radomsky              TX 9-278-914   2023-04-04



                                                                                Page 4904 of 5793
                        https://www.nytimes.com/2023/02/24/style/he-A Good Match With or Without the Floppy
2023-02-24   2023-02-26 even-recommended-a-dentist.html              Hats                                          By Vivian Ewing             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/style/let
2023-02-24   2023-02-26 ting-go-of-her-ballet-dream.html             Excavating the Ruins of a Dream               By Alex Vadukul             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/style/m
                        odern-love-how-could-i-deny-him-             Skating Circles Around the Idea of
2023-02-24   2023-02-26 fatherhood.html                              Parenthood                                    By Rachel Heng              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/theater/
2023-02-24   2023-02-26 bad-cinderella-broadway.html                 In Bad Cinderella a Good Combination          By Sarah Bahr               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/us/east- Army of Lawyers and Star Power Descend on
2023-02-24   2023-02-26 palestine-ohio-residents-lawsuits.html       Ohio Town                                     By Campbell Robertson       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/health/c FDA Approves First AtHome Test for Flu and By Christina Jewett and Emily
2023-02-25   2023-02-26 ovid-flu-test-fda.html                       Covid                                         Anthes                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/sports/b Players Discover the Umpire Means It When
2023-02-25   2023-02-26 aseball/pitch-clock-manny-machado.html       He Says Play Ball                             By James Wagner             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/world/e Robert Hbras 97 Last Survivor of 1944 Nazi
2023-02-25   2023-02-26 urope/robert-hebras-dead.html                Massacre Dies                                 By Neil Genzlinger          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/busines
                        s/dealbook/warren-buffett-berkshire-hathaway Dismissing Major Losses Buffett Plays Long
2023-02-25   2023-02-26 letter-shareholders.html                     Game                                          By Michael J de la Merced   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/busines
2023-02-25   2023-02-26 s/economy/federal-reserve-powe.html          How the Fed Opened Pandoras Box               By Jeanna Smialek           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/busines At G20 Meeting Opposing Views on War
2023-02-25   2023-02-26 s/economy/janet-yellen-ukraine-g20.html      Deepen Divisions Among Major Economies By Alan Rappeport                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/busines Investing at the Last Moment Can Hurt Your
2023-02-25   2023-02-26 s/investing-taxes-ira-401k-penalty.html      Returns                                       By Jeff Sommer              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/nyregio
2023-02-25   2023-02-26 n/bjarke-ingels-architect.html               An Architect in Pursuit of Experiences        By Paige Darrah             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/opinion
                        /from-carter-to-mtg-what-a-peach-state-
2023-02-25   2023-02-26 plummet.html                                 From Carter to MTG A Peach State Plummet By Maureen Dowd                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/opinion
                        /religious-revival-christianity-asbury-
2023-02-25   2023-02-26 kentucky.html                                Predicting the Future of Religion             By Ross Douthat             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/opinion
                        /the-brave-man-whom-putin-wants-to-
2023-02-25   2023-02-26 kill.html                                    Putin Wants To Kill This Brave Man            By Nicholas Kristof         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/realesta My Neighbors Are Always Chatting Outside
2023-02-25   2023-02-26 te/noise-neighbors.html                      My Door Make Them Stop                        By Ronda Kaysen             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/style/sn
2023-02-25   2023-02-26 owboarding-brands-burton.html                Snow Sports At a Climate Crossroads           By Jasper Craven            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/technol
2023-02-25   2023-02-26 ogy/office-furniture-tech-companies.html     The Busy Furniture Hustlers of Silicon Valley By Erin Griffith            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/us/calif In California Town Floods Destroy              By Soumya Karlamangla and
2023-02-25   2023-02-26 ornia-flood-farms-central-valley.html        Farmworkers HardWon Idyll                     Viviana Hinojos             TX 9-278-914   2023-04-04



                                                                                Page 4905 of 5793
                        https://www.nytimes.com/2023/02/25/us/calif California Storm Produces Threats Rare and By Douglas Morino Vik Jolly and
2023-02-25   2023-02-26 ornia-weather-storm-snow-blizzard.html       Familiar                                    Neelam Bohra                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/us/polit Bipartisan Plans on China Face Political
2023-02-25   2023-02-26 ics/china-congress-spy-balloon-tech.html     Hurdles in Congress                         By Karoun Demirjian               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/us/unac
                        companied-migrant-child-workers-
2023-02-25   2023-02-26 exploitation.html                            Alone Underage and Exploited for Labor      By Hannah Dreier and Kirsten Luce TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/world/a After 8 Turbulent Years Nigerians Head to
2023-02-25   2023-02-26 frica/nigeria-presidential-election.html     Polls Desperate for Change                  By Ruth Maclean                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/world/e Albania Reeling From an Enormous
2023-02-25   2023-02-26 urope/albania-iran-nato-cyberattacks.html    Cyberattack Linked to Iran                  By Andrew Higgins                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/world/e
                        urope/china-belarus-leader-russia-           Beijing to Host Leader of Belarus Raising   By Marc Santora and Chris
2023-02-25   2023-02-26 ukraine.html                                 Concerns Over Ukraine                       Buckley                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/world/ Flaunting Hair Iranian Women Defy Hijab
2023-02-25   2023-02-26 middleeast/iran-women-hijab-hair.html        Law                                         By Farnaz Fassihi                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/busines
                        s/personal-finance-cognitive-bias-           Beware of the Tendencies That Lead a Wallet
2023-02-26   2023-02-26 retirement.html                              Astray                                      By Kristin Wong                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/busines
                        s/the-week-in-business-fraud-charges-ozy-    The Week in Business Fraud Charges for a
2023-02-26   2023-02-26 media-founder.html                           Media Founder                               By Marie Solis                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/nyregio
                        n/maimonides-medical-center-brooklyn-
2023-02-26   2023-02-26 hospital.html                                Who Is Behind the Attacks on This Hospital By Sharon Otterman                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/nyregio Bombing Became a Historical Footnote but
2023-02-26   2023-02-26 n/world-trade-center-1993.html               He Will Never Forget                        By Dan Barry                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/world/a Public Is Wary Of Chinas Push For Baby
2023-02-26   2023-02-26 sia/china-birth-rate.html                    Boom                                        By Nicole Hong and Zixu Wang      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/world/e Year of Conflict Has Left Europe Forever
2023-02-26   2023-02-26 urope/ukraine-russia-war.html                Changed                                     By Roger Cohen                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/
                        10/us/politics/house-republicans-            A Close Look at the Chaotic House           By Karen Yourish Danielle Ivory
2023-02-11   2023-02-27 lawmakers.html                               Republican Majority                         and Charlie Smart                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/interactive/2023/02/ How ChatGPT Could Embed a Watermark in
2023-02-17   2023-02-27 17/business/ai-text-detection.html           the Text It Generates                       By Keith Collins                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/world/e Chinese Electric Car Maker Takes on German
2023-02-21   2023-02-27 urope/byd-germany-electric-cars.html         Market                                      By Melissa Eddy                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/arts/des
                        ign/david-hockney-immersive-lightshow-
2023-02-22   2023-02-27 london.html                                  Immersed In the Art Of a Pioneer            By Alex Marshall                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/us/sacr A Beam of Hope for a Team And Its
2023-02-22   2023-02-27 amento-kings-beam.html                       Beleaguered City                            By Kellen Browning                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/arts/mu
2023-02-23   2023-02-27 sic/gina-birch-i-play-my-bass-loud.html      At 67 Time for Her First Solo Album         By Lindsay Zoladz                 TX 9-278-914   2023-04-04



                                                                                Page 4906 of 5793
                        https://www.nytimes.com/2023/02/23/busines Health Insurance in China The System and Its
2023-02-23   2023-02-27 s/china-health-insurance-explained.html     Changes                                     By Keith Bradsher                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/busines Chinas Cities Cut Health Benefits Drawing
2023-02-23   2023-02-27 s/china-health-insurance-protests.html      Protests                                    By Keith Bradsher                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/obituari Overlooked No More Clara Driscoll Designer
2023-02-23   2023-02-27 es/clara-driscoll-overlooked.html           of Visions in Glass for Tiffany             By Elaine Louie                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/books/
2023-02-24   2023-02-27 memoir-depression-luiz-schwarcz.html        Publishing Superstar Shares Private Torment By Sadie Stein                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/opinion The Truth About North Dakotas Attack on
2023-02-24   2023-02-27 /libraries-sex-books-north-dakota.html      Books                                       By Taylor Brorby                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/opinion Ukraine and Russia May Be Heading for a
2023-02-24   2023-02-27 /ukraine-russia-war-korea.html              CeaseFire                                   By Sergey Radchenko                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/24/theater/
2023-02-24   2023-02-27 mama-i-want-to-sing-40th-anniversary.html A Gospel Musicals Legacy and Revival            By Kalia Richardson              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/us/ama Former Soldier Charged With Killing
2023-02-24   2023-02-27 nda-gonzales-army-murder.html                 Pregnant Army Private 2 Decades Ago         By Michael Levenson              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/us/mon
                        terey-park-shooting-ballroom-dance-
2023-02-24   2023-02-27 community.html                                A Dance Halls Spirit Before the Massacre    By Corina Knoll                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/busines Toeing a Fine Line Between Fraud and the       By Lauren Hirsch Sarah Kessler
2023-02-25   2023-02-27 s/dealbook/company-puffing-fraud.html         More Defensible Puffery Doctrine            and Ravi Mattu                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/opinion
                        /the-price-of-risk-and-the-reward-of-joy-out- The Price of Risk and the Reward of Joy in
2023-02-25   2023-02-27 in-the-wild.html                              the Wild                                    By Rose George                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/sports/e The Best in the World at a Job That Requires
2023-02-25   2023-02-27 rik-sowinski-pacer.html                       Leaders to Quit                             By Scott Cacciola                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/world/e Tested and Tempered by War Zelensky Rises
2023-02-25   2023-02-27 urope/ukraine-zelensky-war.html               to the Moment                               By Andrew E Kramer               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/us/mich                                                By Sam Easter Claire Fahy and
2023-02-26   2023-02-27 igan-winter-storm-power-outage.html           In Michigan a Fifth Day Without Electricity McKenna Oxenden                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/26/arts/mu Returning to the Familiar With More Wisdom
2023-02-26   2023-02-27 sic/mitsuko-uchida-carnegie-hall-review.html and Clarity                              By Joshua Barone                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/busines Banker Who Vanished Is Said to Be Aiding
2023-02-26   2023-02-27 s/bao-fan-china-banker.html                  Inquiry                                  By David McCabe                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/busines Few Employers Outside of Tech Opt for      By Sydney Ember and Ben
2023-02-26   2023-02-27 s/economy/staffing-layoffs.html              Layoffs                                  Casselman                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/health/r Maternity Closures Leave Rural Areas in
2023-02-26   2023-02-27 ural-hospitals-pregnancy-childbirth.html     Lurch                                    By Roni Caryn Rabin                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/movies/ Tom Luddy a BehindtheScenes Authority in
2023-02-26   2023-02-27 tom-luddy-dead.html                          Cinema Is Dead at 79                     By Penelope Green                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/nyregio City Tells Youth Centers For Homeless the
2023-02-26   2023-02-27 n/homeless-drop-in-center-youth.html         Clients Must Never Sleep There           By Joshua Needelman                  TX 9-278-914   2023-04-04




                                                                                 Page 4907 of 5793
                        https://www.nytimes.com/2023/02/26/obituari James Abourezk the First Arab American
2023-02-26   2023-02-27 es/james-abourezk-dead.html                 Senator Is Dead at 92                       By Alex Traub                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/opinion
2023-02-26   2023-02-27 /fox-news-lies-dominion.html                Why Fox News Lied to Its Viewers            By David French                 TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/26/sports/b With Glory of 2016 Faded Cubs Stop
2023-02-26   2023-02-27 aseball/dansby-swanson-chicago-cubs.html Rebuilding And Begin Just Reloading          By Scott Miller                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/sports/b Plucky Marlins See New Rules as Way To
2023-02-26   2023-02-27 aseball/miami-marlins-luis-arraez.html      Create Havoc                              By Tyler Kepner                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/sports/b As Labor Deal Nears One Year Battle Lines
2023-02-26   2023-02-27 aseball/mlb-salary-cap.html                 Crop Up for the Next One                  By James Wagner                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/technol Why Do AI Bots Act Creepy And Lie Look
2023-02-26   2023-02-27 ogy/ai-chatbot-information-truth.html       in the Mirror                             By Cade Metz                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/theater/
2023-02-26   2023-02-27 black-odyssey-review.html                   Ancient Gods Modern Injustices            By Maya Phillips                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/us/aubu Remains of a Son Missing for 47 Years Are
2023-02-26   2023-02-27 rn-missing-student-kyle-clinkscales.html    Identified                                By Eduardo Medina                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/us/dilbe Newspapers Drop Dilbert Over Racism From
2023-02-26   2023-02-27 rt-newspapers-racism.html                   Creator                                   By Eduardo Medina                 TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/26/us/polit Student Loan Case Before Justices Poses
2023-02-26   2023-02-27 ics/biden-student-loans-supreme-court.html Question Who Can Sue                         By Adam Liptak                  TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/26/us/polit
2023-02-26   2023-02-27 ics/china-lab-leak-coronavirus-pandemic.html Energy Dept Suspects Virus Was From Lab By Julian E Barnes                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/us/polit
                        ics/marianne-williamson-2024-presidential-
2023-02-26   2023-02-27 campaign.html                                Williamson Plans to Run Again in 2024        By Maggie Astor               TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/us/polit
2023-02-26   2023-02-27 ics/russia-ukraine-peace.html                In Wartime Talk of Peace Adds to Fight       By Michael Crowley            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/world/a 100000 Hold Protest In Heart of Mexico City
2023-02-26   2023-02-27 mericas/mexico-protest-amlo.html             Over Election Reform                         By Natalie Kitroeff           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/world/a Eyes on the Target The Kung Fu Nuns Smash By Sameer Yasir and Saumya
2023-02-26   2023-02-27 sia/nepal-kung-fu-nuns.html                  Convention                                   Khandelwal                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/world/e Dozens Drown as Migrant Boat Breaks Up
2023-02-26   2023-02-27 urope/italy-migrant-boat.html                Near Italy                                   By Gaia Pianigiani            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/world/e Russian Diaspora Gathers In Protest of Putins
2023-02-26   2023-02-27 urope/russia-diaspora-protests.html          War                                          By Neil MacFarquhar           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/world/e
                        urope/uk-northern-ireland-protocol-rishi-                                                 By Mark Landler and Stephen
2023-02-26   2023-02-27 sunak.html                                   Britain Nears Deal on Northern Ireland Trade Castle                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/world/e Deadly Russian Artillery Strikes Reported in By Matthew Mpoke Bigg and
2023-02-26   2023-02-27 urope/ukraine-russia-strikes.html            Ukraines East and South                      Anton Troianovski             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/world/ At Least 1 Dead in West Bank as Settlers
2023-02-26   2023-02-27 middleeast/west-bank-israel-attack.html      Rampage After the Shooting of 2 Israelis     By Isabel Kershner            TX 9-278-914   2023-04-04



                                                                                Page 4908 of 5793
                        https://www.nytimes.com/2023/02/27/arts/tele
                        vision/whats-on-tv-this-week-true-lies-and-
2023-02-27   2023-02-27 black-girl-missing.html                      This Week on TV                               By Kristen Bayrakdarian          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/nyregio Where Can You Carry Guns Its a Legal
2023-02-27   2023-02-27 n/new-york-gun-rules-supreme-court.html      Jumble                                        By Jonah E Bromwich              TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/27/sports/b Neither Players Nor Pets Avoid The
2023-02-27   2023-02-27 asketball/nba-suns-dogs-payne-bridges.html Disruption A Trade Brings                       By Tania Ganguli                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/sports/t A Crash Course In Balancing Colleges and
2023-02-27   2023-02-27 ennis/shnaider-ncaa-nc-state.html            Pros                                          By Christopher Clarey            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/us/polit Indian Americans Are a Rising Force in
2023-02-27   2023-02-27 ics/indian-american-politicians.html         Politics                                      By Maggie Astor and Jill Cowan   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/article/northern-    Revising a Compromise That Made Few           By Stephen Castle Megan Specia
2021-10-13   2023-02-28 ireland-protocol-brexit.html                 Happy                                         and Peter Robins                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/10/science
2023-02-10   2023-02-28 /cockatoos-tool-use.html                     Did That Cockatoo Make a Knife                By Darren Incorvaia              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/15/well/mi Consistent Sleep Patterns May Protect Your
2023-02-15   2023-02-28 nd/sleep-schedule-heart-health.html          Heart                                         By Dani Blum                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/16/science
2023-02-16   2023-02-28 /auroras-jupiter-moons.html                  Jupiters Moons Have Auroras Too               By Robin George Andrews          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/17/well/m
2023-02-17   2023-02-28 ove/pelvic-floor-exercise-kegels.html        Muscles in Need of a Workout                  By Danielle Friedman             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/18/well/he
2023-02-18   2023-02-28 rpes-treatment-stigma.html                   Herpes Persists but Medical Support Falters   By Dani Blum                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/20/well/fa
2023-02-20   2023-02-28 mily/mental-health-teens-parents.html        How Parents Can Help Struggling Teenagers     By Melinda Wenner Moyer          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/science The False Fossil and Other Mistaken
2023-02-21   2023-02-28 /false-fossils-india-dickinsonia.html        Identities                                    By Joshua Sokol                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/well/liv
2023-02-21   2023-02-28 e/nasal-congestion-treatment.html            Why Am I So Congested All the Time            By Dani Blum                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/22/science Federal Funds Spur Cleanup of Lost Oil
2023-02-22   2023-02-28 /plugging-oil-wells.html                     Wells                                         By Will Peischel                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/arts/mu
2023-02-23   2023-02-28 sic/algiers-shook-review.html                Songs of Rage and Redemption                  By Jon Pareles                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/23/science
2023-02-23   2023-02-28 /earth-core-seismic-waves.html               Revealing Earths Innermost Secrets            By Kenneth Chang                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/24/world/e
2023-02-24   2023-02-28 urope/ukraine-war-global-impact.html         How Conflict Has Upended Lives Globally       By Matthew Mpoke Bigg            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/arts/tele
                        vision/liaison-vincent-cassel-and-eva-       Stars United by a Thriller And Perhaps
2023-02-25   2023-02-28 green.html                                   Destiny Too                                   By Elisabeth Vincentelli         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/movies/ French Film Takes Top Honor at Berlin
2023-02-25   2023-02-28 berlin-film-festival-winners.html            Festival                                      By Thomas Rogers                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/25/world/a Shinta Ratri 60 Fighter for Rights Of
2023-02-25   2023-02-28 sia/shinta-ratri-dead.html                   Transgender Women in Indonesia                By Seth Mydans                   TX 9-278-914   2023-04-04



                                                                                 Page 4909 of 5793
                        https://www.nytimes.com/2023/02/26/arts/des
2023-02-26   2023-02-28 ign/art-labor-child-care.html               Wanted A Discreet Drudge to Art            By Will Heinrich                       TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/health/s For Older People Anxiety Is Often
2023-02-26   2023-02-28 eniors-anxiety.html                         Overlooked                                 By Paula Span                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/movies/
2023-02-26   2023-02-28 sag-awards-winners-list.html                More Big Awards for Everything Everywhere By Kyle Buchanan                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/26/sports/j Taking On FullTime Boxer for First Time Is
2023-02-27   2023-02-28 ake-paul-tommy-fury-fight-result.html       Humbling Experience for Paul               By Morgan Campbell                     TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/27/arts/mu
2023-02-27   2023-02-28 sic/review-lohengrin-metropolitan-opera.html To the Rescue a Knight and His Chorus        By Zachary Woolfe                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/arts/mu
2023-02-27   2023-02-28 sic/sza-sos-billboard-chart.html             SZA Retains Her Hold On No 1                 By Ben Sisario                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/books/r
2023-02-27   2023-02-28 eview/ron-desantis-book.html                 Preaching Freedom but Gripping the Reins     By Jennifer Szalai                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/busines IRS Exemption for Rebates Carries Fiscal
2023-02-27   2023-02-28 s/economy/irs-forgo-taxes-payments.html      Cost                                         By Linda Qiu and Alan Rappeport     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/busines Musk Calls Media Racist As Dilbert Is          By Lora Kelley Michael M
2023-02-27   2023-02-28 s/elon-musk-dilbert.html                     Canceled                                     Grynbaum and Tiffany Hsu            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/busines
                        s/energy-environment/oil-gas-renewable-
2023-02-27   2023-02-28 energy-jobs.html                             Oil Industry Workers Flock to Renewables     By Clifford Krauss                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/busines
                        s/media/fox-news-dominion-rupert-            Murdoch Acknowledges Fox Hosts Endorsed By Jeremy W Peters and Katie
2023-02-27   2023-02-28 murdoch.html                                 Election Falsehoods                          Robertson                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/busines Vice Media Taps CoChiefs From Within the By Benjamin Mullin and Katie
2023-02-27   2023-02-28 s/media/vice-media-chief-executive.html      Company At Pivotal Time for Industry         Robertson                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/busines TD Bank to Pay 12 Billion in Ponzi Scheme
2023-02-27   2023-02-28 s/stanford-ponzi-scheme-settlement.html      Case                                         By Matthew Goldstein                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/busines
2023-02-27   2023-02-28 s/student-loan-debt-supreme-court.html       Stuck in Limbo As Justices Eye Students Debt By Stacy Cowley                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/climate Turkeys Quake Zone Could Offer Vital Clues
2023-02-27   2023-02-28 /turkey-syria-earthquakes-california.html    For Fault in California                      By Henry Fountain                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/movies/
                        film-the-living-record-of-our-memory-
2023-02-27   2023-02-28 review.html                                  A Race to Save Movies Legacy                 By Nicolas Rapold                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/opinion
                        /buttigieg-ohio-carter-teenagers-            This Is Not How Buttigieg Wanted to Visit
2023-02-27   2023-02-28 depression.html                              Ohio                                         By Gail Collins and Bret Stephens   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/opinion
2023-02-27   2023-02-28 /janet-yellen-ukraine-russia.html            American Economic Aid to Ukraine Is Vital By Janet L Yellen                      TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/science
2023-02-27   2023-02-28 /rats-rodents-trapping.html                  The War on Rats Is It Ethical                By Oliver Whang                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/sports/b Padres Plan Big Spending And Shortstops
2023-02-27   2023-02-28 aseball/san-diego-padres.html                Everywhere                                   By Scott Miller                     TX 9-278-914   2023-04-04



                                                                                 Page 4910 of 5793
                        https://www.nytimes.com/2023/02/27/sports/b
                        asketball/damian-lillard-71-points-
2023-02-27   2023-02-28 trailblazers.html                           No Ordinary 71Point Performance for Lillard By Victor Mather                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/sports/b Owners of Browns Agree To Buy Part of the By Tania Ganguli and Jenny
2023-02-27   2023-02-28 asketball/haslam-bucks-browns-sale.html     Bucks                                         Vrentas                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/sports/o Bob Richards 97 Vaulting Star Who Landed
2023-02-27   2023-02-28 lympics/bob-richards-dead.html              on Wheaties Box Dies                          By Robert D McFadden             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/sports/s Before France Hosts World It Tries to Get Its
2023-02-27   2023-02-28 occer/france-olympics-le-graet.html         Own House in Order                            By Tariq Panja and Tom Nouvian TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/27/us/bide US Announces a Crackdown on Migrant
2023-02-27   2023-02-28 n-child-labor.html                          Child Labor                                   By Hannah Dreier                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/us/chic Chicagos Mayor Faces Rivals on Both Right
2023-02-27   2023-02-28 ago-mayoral-election-lightfoot.html         and the Left                                  By Mitch Smith                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/us/nativ Crying Indian TV Ad That Targeted
2023-02-27   2023-02-28 e-american-pollution-ad.html                Pollution Retired as Outmoded                 By Emily Schmall                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/us/polit Bill Challenging DC Law Could Become a
2023-02-27   2023-02-28 ics/biden-congress-dc-crime-bill.html       SoftonCrime Test for Biden                    By Carl Hulse                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/us/polit
                        ics/chips-act-biden-commerce-                Funds to Bolster US ChipMaking Come          By Jim Tankersley and Ana
2023-02-27   2023-02-28 department.html                             With Catch                                    Swanson                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/us/polit Rep Slotkin of Michigan Enters Race for the
2023-02-27   2023-02-28 ics/elissa-slotkin-senate-michigan.html     Senate                                        By Katie Glueck                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/us/polit
                        ics/republican-presidential-candidates-new- The Money Is in New York Presidential         By Maggie Haberman and Nicholas
2023-02-27   2023-02-28 york.html                                   Hopefuls Look for Donors                      Fandos                           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/us/polit
                        ics/somalia-commandos-                                                                    By Eric Schmitt and Diana Zeyneb
2023-02-27   2023-02-28 counterterrorism.html                       US Commandos Advise Elite Somali Fighters Alhindawi                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/us/polit Law Covering Identify Theft Is Reviewed By
2023-02-27   2023-02-28 ics/supreme-court-identity-theft-law.html   the Court                                     By Adam Liptak                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/us/supr
2023-02-27   2023-02-28 eme-court-cfpb-consumer-watchdog.html       Justices Face Case to Limit A Watchdog        By Adam Liptak                   TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/27/world/a Dying Children and Frozen Livestock in       By Christina Goldbaum Yaqoob
2023-02-27   2023-02-28 sia/afghanistan-cold-malnutrition-crisis.html Brutal Afghan Winter                      Akbary and Kiana Hayeri          TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/27/world/a Blinken to Urge Distance From Russia In      By Edward Wong Anton
2023-02-27   2023-02-28 sia/blinken-china-russia-ukraine-war.html     Meetings Meant to Bolster Ukraine         Troianovski and Stanley Reed     TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/27/world/a
2023-02-27   2023-02-28 sia/china-react-covid-lab-leak.html           US Finding On Covid Draws Fire From China By David Pierson                 TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/27/world/a Indian Opposition Leader Faces Corruption
2023-02-27   2023-02-28 sia/india-manish-sisodia-arrest.html          Charges                                   By Sameer Yasir                  TX 9-278-914     2023-04-04
                        https://www.nytimes.com/2023/02/27/world/e Betty Boothroyd 93 a Barrier Breaker in
2023-02-27   2023-02-28 urope/betty-boothroyd-dead.html               Parliament                                By Daniel Victor                 TX 9-278-914     2023-04-04




                                                                                Page 4911 of 5793
                        https://www.nytimes.com/2023/02/27/world/e Migrant Deaths Off Italy Shine Light on      By Jason Horowitz and Gaia
2023-02-27   2023-02-28 urope/italy-migrants-shipwreck-europe.html Europes Broken Promises                      Pianigiani                        TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/world/e
2023-02-27   2023-02-28 urope/northern-lights-uk.html              Northern Lights Dazzle UK in Rare Show       By Emma Bubola                    TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/world/e Russian Offensive Sending Conscripts Into    By Andrew E Kramer and Tyler
2023-02-27   2023-02-28 urope/russia-offensive-ukraine.html        Heart of Battle                              Hicks                             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/world/e EU Trade Deal Seeks to Heal Brexit Rift on   By Mark Landler and Stephen
2023-02-27   2023-02-28 urope/uk-eu-northern-ireland.html          Northern Ireland                             Castle                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/world/e Biden Deploys Two Top Aides To Assist        By Marc Santora and Alan
2023-02-27   2023-02-28 urope/ukraine-yellen-blinken-russia.html   Kyiv                                         Rappeport                         TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/world/ Ahmed Qurei Palestinian Leader And Peace
2023-02-27   2023-02-28 middleeast/ahmed-qurei-dead.html           Negotiator Dies at 86                        By Isabel Kershner                TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/27/world/ Revenge Attacks After Killing of Two Israeli By Patrick Kingsley and Isabel
2023-02-27   2023-02-28 middleeast/israel-palestinians-west-bank.html Brothers Roil West Bank                   Kershner                          TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/world/ New Earthquake Hits Turkey Rattling           By Ben Hubbard and Gulsin
2023-02-27   2023-02-28 middleeast/turkey-earthquake.html             Devastated Region                         Harman                            TX 9-278-914   2023-04-04
                        https://www.nytimes.com/article/warrantless- Security Agencies and Congress Prepare For
2023-02-27   2023-02-28 surveillance-section-702.html                 Fight Over Expiring Surveillance Law      By Charlie Savage                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/opinion DeSantiss Apocalyptic Attack on Higher
2023-02-28   2023-02-28 /desantis-higher-education-bill.html          Education                                 By Michelle Goldberg              TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/opinion
                        /east-palestine-train-derailment-conspiracy-
2023-02-28   2023-02-28 theories.html                                 Conspiracy Theorizing Goes Off the Rails  By Paul Krugman                   TX 9-278-914   2023-04-04

                        https://www.nytimes.com/2023/02/27/theater/
2023-02-28   2023-02-28 elyria-review-atlantic-theater-company.html The Past Catches Up to Them Near Cleveland By Laura CollinsHughes             TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/theater/
                        the-sign-in-sidney-brusteins-window-bam-
2023-02-28   2023-02-28 review.html                                   The Sin of Apathy in a World Thats Wrong By Jesse Green                     TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/27/us/meat-Immigrants Reach 1 Million Settlement Over
2023-02-28   2023-02-28 plant-raid-immigrants-tennessee.html          Raid at a Meat Plant                      By Miriam Jordan                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/28/busines Drug Company Exploits a Safety Requirement
2023-02-28   2023-02-28 s/jazz-narcolepsy-avadel-patents.html         to Make Money                             By Rebecca Robbins                TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/28/insider/
2023-02-28   2023-02-28 george-santos-investigation.html              After Santoss Rsum Unraveled Now What     By Emmett Lindner                 TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/28/us/lori- Chicago Mayors Style Complicates Bid for
2023-02-28   2023-02-28 lightfoot-chicago-mayor.html                  Reelection                                By Julie Bosman                   TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/28/us/polit Plan to Alter How Trains Are Classified As
2023-02-28   2023-02-28 ics/congress-east-palestine-legislation.html  Hazardous                                 By Stephanie Lai                  TX 9-278-914   2023-04-04
                        https://www.nytimes.com/article/covid-origin- Amid Politically Fraught Debate A Split   By Sheryl Gay Stolberg Benjamin
2023-02-28   2023-02-28 lab-leak-china.html                           Persists on a Virus Origin                Mueller and Carl Zimmer           TX 9-278-914   2023-04-04
                        https://www.nytimes.com/2023/02/21/busines
2023-02-21   2023-03-01 s/hemp-construction-buildings.html            For Green Materials Builders Turn to Hemp By Kevin Williams                 TX 9-286-255   2023-05-02



                                                                                Page 4912 of 5793
                        https://www.nytimes.com/2023/02/22/dining/
2023-02-22   2023-03-01 buttery-roasted-fish-recipe.html            Weeknight Easy Julia Child Fancy         By Melissa Clark                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/24/dining/
2023-02-24   2023-03-01 beet-salad-chicken-lemon-pudding.html       With This Bright Dinner an Early Spring  By David Tanis                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/24/dining/
2023-02-24   2023-03-01 party-down-season-3.html                    Presenting Food Service With No Garnish  By Tejal Rao                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/25/opinion
2023-02-25   2023-03-01 /police-prisons-people-of-color.html        How Police Culture Has Reshaped America By Cristina Beltrn                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/26/science Ward B Stone 84 Wildlife Coroner Who Saw
2023-02-26   2023-03-01 /ward-stone-dead.html                       PCBs Danger to Humans                    By Sam Roberts                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/26/arts/dan
                        ce/four-dancers-promoted-at-new-york-city- Four Promoted to Principal Dancers at New
2023-02-27   2023-03-01 ballet.html                                 York City Ballet                         By Gia Kourlas                        TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/02/27/arts/dan Sleeping Beauty and the Need for a
2023-02-27   2023-03-01 ce/sleeping-beauty-new-york-city-ballet.html Reawakening                                   By Gia Kourlas                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/dining/
2023-02-27   2023-03-01 drinks/how-to-drink-sake.html                A Quick Intro To a Complex Beverage           By Eric Asimov                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/dining/
2023-02-27   2023-03-01 drinks/sake-brewery-us-japan.html            Sake Moves Into the American Mainstream       By Eric Asimov                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/world/a Hong Kong Will Drop Its Mandate On
2023-02-28   2023-03-01 sia/hong-kong-mask-mandate.html              Masks                                         By Tiffany May                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/arts/mu
2023-02-28   2023-03-01 sic/carnegie-hall-2023-2024-season.html      The Highlight Potential at Carnegie Hall      By The New York Times           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/arts/mu
                        sic/pink-floyd-dark-side-of-the-moon-50th-
2023-02-28   2023-03-01 anniversary.html                             Fifty Years and the Mood Still Hasnt Lifted   By Jon Pareles                  TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/02/28/arts/tele
2023-02-28   2023-03-01 vision/eugene-levy-the-reluctant-traveler.html Far Out Of His Comfort Zone                 By Anna Peele                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/books/p Penguin Random House Announces New
2023-02-28   2023-03-01 enguin-random-house-leadership.html            Leadership Team After Turbulent Time        By Elizabeth A Harris           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/busines
                        s/economy/biden-chips-semiconductor-                                                       By Ana Swanson and Jim
2023-02-28   2023-03-01 subsidies-aid.html                             Bidens Rules Aim to Shape US Business       Tankersley                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/busines The CHIPS Act Is About More Than Just
2023-02-28   2023-03-01 s/economy/chips-act-childcare.html             Chips                                       By Ana Swanson                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/busines
2023-02-28   2023-03-01 s/economy/julie-su-labor-secretary.html        Biden to Tap Next in Line For Labor Post    By Noam Scheiber                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/busines Japan Says 6 Companies Rigged Bids For
2023-02-28   2023-03-01 s/japan-olympics-dentsu.html                   Olympics                                    By Ben Dooley and Hisako Ueno   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/busines Supply Woes Sent Rivian To 68 Billion Loss
2023-02-28   2023-03-01 s/rivian-fourth-quarter-earnings.html          in 22                                       By Neal E Boudette              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/climate The Cultural and Partisan Divide Of Socially
2023-02-28   2023-03-01 /esg-climate-backlash.html                     Conscious Investing                         By David Gelles                 TX 9-286-255   2023-05-02



                                                                                  Page 4913 of 5793
                        https://www.nytimes.com/2023/02/28/dining/
2023-02-28   2023-03-01 how-to-make-beef-stew.html                  How to Make Great Beef Stew              By Julia Moskin                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/02/28/dining/ Rosette at Brooklyn Winery From the
2023-02-28   2023-03-01 nyc-restaurant-news.html                    Williamsburg Winemakers Opens            By Florence Fabricant            TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/02/28/dining/t Readers Recommend Their Favorite Cozy
2023-02-28   2023-03-01 he-cozy-restaurants-readers-love.html       Restaurants                              By Nikita Richardson             TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/02/28/dining/t
2023-02-28   2023-03-01 orrisi-restaurant-review.html               Over the Top and FineDrawn in Harmony    By Pete Wells                    TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/02/28/movies/
2023-02-28   2023-03-01 bernard-henri-levy-ukraine-documentary.html A Philosopher Chooses Action                By Dan Bilefsky                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/movies/ Walter Mirisch Producer of Films That Won
2023-02-28   2023-03-01 walter-mirisch-dead.html                    28 Oscars Dies at 101                       By Alex Williams                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/nyregio Recent Uptick in Whale Deaths Worries        By Tracey Tully and Winston
2023-02-28   2023-03-01 n/east-coast-whale-deaths.html              Scientists                                  ChoiSchagrin                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/opinion
2023-02-28   2023-03-01 /netanyahu-israel-palestinians-courts.html  Netanyahu Is Shattering Israeli Society     By Thomas L Friedman            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/opinion
2023-02-28   2023-03-01 /nigerian-elections-obi.html                My Countrys Democracy Is in a Fragile State By Chimamanda Ngozi Adichie     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/sports/b DeGrom Wants to Win and He Likes the
2023-02-28   2023-03-01 aseball/jacob-degrom-rangers.html           Rangers Vision                              By James Wagner                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/sports/h
2023-02-28   2023-03-01 ockey/jaromir-jagr-czech-extraliga.html     Why Jaromir Jagr Cant Quit Hockey           By David Waldstein              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/sports/s French Chief Steps Down But Retains Role in
2023-02-28   2023-03-01 occer/fff-le-graet-france.html              FIFA                                        By Tom Nouvian and Tariq Panja TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/02/28/technol FTX CoFounder Pleads Guilty in Fraud         By David YaffeBellany and
2023-02-28   2023-03-01 ogy/ftx-guilty-plea-fraud.html              Inquiry                                     Matthew Goldstein               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/technol                                              By Ryan Mac Mike Isaac and Kate
2023-02-28   2023-03-01 ogy/twitter-outages-elon-musk.html          Twitter Bugs Are Multiplying                Conger                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/theater/ My Neighbour Totoro Leads Olivier
2023-02-28   2023-03-01 oliver-noimnations-2023.html                Nominations                                 By Alex Marshall                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/us/charl Charles Pernasilice Long Haunted by
2023-02-28   2023-03-01 es-pernasilice-dead.html                    Violence at Attica Dies at 70               By Clay Risen                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/us/chic Chicago Mayor Loses ReElection Race Goes
2023-02-28   2023-03-01 ago-mayoral-election-lightfoot-vallas.html  to Runoff                                   By Julie Bosman and Mitch Smith TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/us/ohio- What We Know About the Ohio Train
2023-02-28   2023-03-01 train-derailment-east-palestine.html        Derailment and the Environmental Threat     By Jacey Fortin                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/us/polit
                        ics/abbe-lowell-hunter-biden-ivanka-trump- Lawyer Tied to Trump Is Now on Legal Team By Kenneth P Vogel Maggie
2023-02-28   2023-03-01 kushner.html                                Hired by Hunter Biden                       Haberman and Michael S Schmidt TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/02/28/us/polit Biden Says That GOP Will Attack Health
2023-02-28   2023-03-01 ics/biden-republicans-budget-cuts.html      Care                                        By Katie Rogers                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/us/polit
                        ics/biden-warrantless-surveillance-section- Biden Administration Asks Congress to
2023-02-28   2023-03-01 702.html                                    Reauthorize Warrantless Surveillance Law    By Charlie Savage               TX 9-286-255   2023-05-02



                                                                              Page 4914 of 5793
                        https://www.nytimes.com/2023/02/28/us/polit For the Rising Stars in the Republican Party By Lisa Lerer and Maggie
2023-02-28   2023-03-01 ics/cpac-republicans-trump.html             CPAC Is Losing Its Allure                     Haberman                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/us/polit DeSantis Expected to Visit Three Early
2023-02-28   2023-03-01 ics/desantis-primary-states.html            Primary States With His Florida Playbook      By Maggie Haberman               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/us/polit LowIncome Families Brace for the End of
2023-02-28   2023-03-01 ics/food-stamps-benefits-decrease.html      Extra Food Stamp Benefits                     By Linda Qiu                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/us/polit A Changed Carter Lifted Black Voters Then
2023-02-28   2023-03-01 ics/jimmy-carter-black-americans.html       They Lifted Him                               By Maya King and Richard Fausset TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/us/polit Justices Express Doubts on Relieft of Student
2023-02-28   2023-03-01 ics/student-loan-supreme-court-biden.html   Debt                                          By Adam Liptak                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/world/a Beijing Moves to Erase Shifting Covid
2023-02-28   2023-03-01 sia/china-covid-lab-leak.html               Policies From National Memory                 By Nicole Hong and Zixu Wang     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/world/a President of Belarus Visits China Setting Off
2023-02-28   2023-03-01 sia/china-russia-belarus.html               Multilateral NameCalling                      By David Pierson                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/world/a Wendys Plans to Enter Australia Another
2023-02-28   2023-03-01 ustralia/wendys-expansion-name.html         Wendy Is Already in the Country               By Natasha Frost                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/world/e Sunaks Hope Push Brexit to the Background
2023-02-28   2023-03-01 urope/uk-eu-sunak-brexit.html               of British Politics                           By Mark Landler                  TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/02/28/world/e Northern Ireland Deal Puts Charles on the
2023-02-28   2023-03-01 urope/uk-king-charles-northern-ireland.html Spot                                       By Mark Landler                   TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/02/28/world/e                                             By Erika Solomon Steven Erlanger
2023-02-28   2023-03-01 urope/ukraine-tanks.html                   Armies Pared Europe Lacks Tanks for Kyiv    and Christopher F Schuetze       TX 9-286-255      2023-05-02

                        https://www.nytimes.com/2023/02/28/world/ Netanyahus Control Of RightWing Coalition
2023-02-28   2023-03-01 middleeast/israel-netanyahu-government.html Appears to Be Weakening                     By Patrick Kingsley              TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/02/28/busines
2023-03-01   2023-03-01 s/media/fox-news-trump-break.html           Fox Struggled With Stance On Trump          By Jeremy W Peters               TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/02/28/nyregio Adamss View On Church And State Creates
2023-03-01   2023-03-01 n/eric-adams-religion-church.html           Stir                                        By Dana Rubinstein               TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/02/28/nyregio In Lawsuit Top Fire Chiefs Accuse            By Corey Kilgannon and Chelsia
2023-03-01   2023-03-01 n/fdny-laura-kavanagh-lawsuit.html          Commissioner of Unfair Demotions            Rose Marcius                     TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/02/28/opinion
2023-03-01   2023-03-01 /ukraine-war-biden-russia.html              Gratitude for Bidens Work in Ukraine        By Bret Stephens                 TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/02/28/sports/b
                        asketball/vanessa-bryant-kobe-helicopter-   Bryants Widow Settles Suit Over Crash
2023-03-01   2023-03-01 crash-lawsuit.html                          Photos for 2885 Million                     By Jonathan Abrams               TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/02/28/theater/ In This Chekhov Variation Its Moscow in the
2023-03-01   2023-03-01 the-seagull-woodstock-ny-review.html        Catskills                                   By Jesse Green                   TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/02/28/us/polit
                        ics/ukraine-congress-military-spending-     Lawmakers Question Pentagon Officials on
2023-03-01   2023-03-01 republicans-democrats.html                  Ukraine Funds Signaling New Concerns        By Karoun Demirjian              TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/02/28/world/a                                              By Edward Wong and Andrew
2023-03-01   2023-03-01 sia/blinken-russia.html                     Blinken Finds Some Leverage in Central Asia Higgins                          TX 9-286-255     2023-05-02



                                                                                Page 4915 of 5793
                        https://www.nytimes.com/2023/03/01/world/e Quake Survivors Move To Luxury Cruise           By Cora Engelbrecht Nimet Kirac
2023-03-01   2023-03-01 urope/turkey-quake-cruise-ship.html           Ship                                         and Sergey Ponomarev              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/23/arts/des
                        ign/philadelphia-museum-center-african-
2023-02-23   2023-03-02 art.html                                      Advancing Equity With an Art Center          By Robin Pogrebin                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/24/arts/chi
2023-02-24   2023-03-02 woniso-kaitano-macdowell-director.html        MacDowell Announces New Leader               By Maya Salam                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/24/dining/ Raymond Trollat 91 French Vigneron Who
2023-02-24   2023-03-02 drinks/raymond-trollat-dead.html              Made Hilly Region World Famous               By Eric Asimov                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/24/style/pr
2023-02-24   2023-03-02 ada-fendi-milan-fashion-week.html             Imagine and Deliver a New Uniform            By Vanessa Friedman               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/24/style/ru
2023-02-24   2023-03-02 ssia-ukraine-war-fashion.html                 Designers Create Small Acts of Resistance    By Elizabeth Paton                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/24/t-
                        magazine/blau-international-berlin-cornelius-
2023-02-24   2023-03-02 tittel-kundalini-yoga.html                    People Places Things                         By Gisela Williams                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/02/ Fear Anger Love See Ukrainians Texts From By Maria Varenikova and Gray
2023-02-24   2023-03-02 24/world/europe/ukraine-war-texts.html        the First Hours of War                       Beltran                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/25/style/te Can You Tell Me Just How Long Is
2023-02-25   2023-03-02 mporary-tattoos-ephemeral.html                Temporary                                    By Callie Holtermann              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/26/books/j
2023-02-26   2023-03-02 enny-jackson-pineapple-street.html            In a Plot Twist an Editor Turns Debut Author By Celia McGee                    TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/02/26/style/gu
2023-02-26   2023-03-02 cci-bottega-veneta-milan-fashion-week.html Enter the New Era of Stealth Wealth          By Vanessa Friedman                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/opinion
                        /a-war-with-china-would-reach-deep-into-    The Havoc That War With China Could
2023-02-27   2023-03-02 american-society.html                       Wreak                                       By Ross Babbage                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/opinion The Fate of the Okefenokee Swamp Is in
2023-02-27   2023-03-02 /okefenokee-swamp-georgia.html              Your Hands                                  By Margaret Renkl                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/style/sa
2023-02-27   2023-03-02 g-awards-red-carpet-fashion.html            Standouts at the Screen Actors Guild Awards By The Styles Desk                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/theater/
2023-02-27   2023-03-02 will-davis-rattlestick-director.html        Rattlestick Appoints Artistic Chief         By Michael Paulson                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/arts/des
                        ign/charleston-african-american-museum-     African American Museum Has New Opening
2023-02-28   2023-03-02 opening.html                                Date                                        By Zachary Small                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/arts/mu A Star Fiddlers High Lonesome And Unlikely
2023-02-28   2023-03-02 sic/michael-cleveland-fiddler.html          Life                                        By Grayson Haver Currin              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/opinion Scott Adams and the Durability of
2023-02-28   2023-03-02 /scott-adams-racism.html                    WhiteFlight Thinking                        By Charles M Blow                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/theater/
2023-02-28   2023-03-02 fall-river-fishing-review.html              Forty Whacks Then Just Wacky                By Maya Phillips                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/theater/
2023-02-28   2023-03-02 review-letters-from-max.html                A Sacrament of Grief Is Also a Comedy       By Laura CollinsHughes               TX 9-286-255   2023-05-02



                                                                                 Page 4916 of 5793
                        https://www.nytimes.com/2023/02/28/us/linda Linda Kasabian Lookout Who Testified
2023-03-01   2023-03-02 kasabian-dead.html                          Against Manson Is Dead at 73                By Neil Genzlinger               TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/01/arts/des Sothebys Sells Kandinsky Painting for 449
2023-03-01   2023-03-02 ign/kandinsky-auction-sothebys-christies.html Million at Auction in London                By Scott Reyburn                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/arts/mu
2023-03-01   2023-03-02 sic/de-la-soul-catalog-streaming.html         New Success Now Bittersweet                 By Ben Sisario                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/books/r Richard Anobile Who Chronicled The Marx
2023-03-01   2023-03-02 ichard-anobile-dead.html                      Brothers Is Dead at 76                      By Richard Sandomir              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/busines Chinas Factories Report Surge in Activity
2023-03-01   2023-03-02 s/china-factories-economy.html                After End of Lockdowns                      By Patricia Cohen                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/busines Deltas Pilots to Receive Raise of 34 Setting
2023-03-01   2023-03-02 s/delta-pilots-approve-contract.html          Standard in Airline Talks                   By Niraj Chokshi                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/busines
                        s/economy/starbucks-union-buffalo-            Judge Rebukes Starbucks For Labor Law
2023-03-01   2023-03-02 ruling.html                                   Violations                                  By Noam Scheiber                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/busines Digital Payment Not Cash Is King Across
2023-03-01   2023-03-02 s/india-digital-payments-upi.html             India                                       By Mujib Mashal and Hari Kumar TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/01/busines Eli Lilly Says It Will Cut Some of Its Insulin
2023-03-01   2023-03-02 s/insulin-price-cap-eli-lilly.html            Prices                                      By Rebecca Robbins               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/busines
2023-03-01   2023-03-02 s/tesla-musk-investors.html                   Tesla Plans Cheaper Car From Mexico         By Jack Ewing                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/busines In Britain You Can Buy 3 Tomatoes But No
2023-03-01   2023-03-02 s/uk-fruits-vegetables-shortage.html          More                                        By Jenny Gross                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/health/ Brokers Got Lavish Perks for Selling Costly
2023-03-01   2023-03-02 medicare-plans-elizabeth-warren.html          Medigap Insurance Report Says               By Reed Abelson                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/health/r FDA Panel Has Recommended Approval of 2
2023-03-01   2023-03-02 sv-vaccine-fda.html                           Vaccines for RSV in Older Adults            By Christina Jewett              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/movies/
2023-03-01   2023-03-02 brendan-fraser-oscar-the-whale.html           What Salvation Looks Like                   By Kyle Buchanan                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/nyregio Santoss First Bill Puts Him at Odds With His
2023-03-01   2023-03-02 n/george-santos-bill-salt.html                Party but May Woo Voters                    By Grace Ashford                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/nyregio                                                By Sean Piccoli Jonah E Bromwich
                        n/kellyanne-conway-stormy-daniels-trump- Conway Faces Questioning in Manhattan As Ben Protess and William K
2023-03-01   2023-03-02 inquiry.html                                  Inquiry Into Trump Money Escalates          Rashbaum                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/nyregio Repudiation for Term Latinx From Both Sides
2023-03-01   2023-03-02 n/latinx-connecticut-arkansas.html            of the Aisle                                By Sarah Maslin Nir              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/01/nyregio New York to Pay Millions to Protesters for
2023-03-01   2023-03-02 n/nypd-kettling-blm-protests-settlement.html Violent Kettling Arrests                   By Maria Cramer                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/01/nyregio NYPD Fails to Appear At City Council
2023-03-01   2023-03-02 n/nypd-unit-george-floyd-protests.html       Hearing On Disputed Police Unit            By Chelsia Rose Marcius          TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/01/nyregio Attackers Mother Fearing for Tired Son
2023-03-01   2023-03-02 n/sayfullo-saipov-trial-mother.html          Urged Him to Leave US                      By Lola Fadulu                   TX 9-286-255     2023-05-02




                                                                                Page 4917 of 5793
                        https://www.nytimes.com/2023/03/01/opinion
2023-03-01   2023-03-02 /editorials/and-child-care-for-all.html      And Child Care for All                    By Binyamin Appelbaum           TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/01/sports/b After Years of Waiting Veteran Executive
2023-03-01   2023-03-02 aseball/dana-brown-houston-astros.html       Gets a Shot                               By Tyler Kepner                 TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/01/sports/f Judge Says Flores Suit Can Proceed In the
2023-03-01   2023-03-02 ootball/brian-flores-discrimination-nfl.html Courts                                    By Ken Belson and Jenny Vrentas TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/01/sports/f Georgia Star Sought in Connection With     By Victor Mather and Emmanuel
2023-03-01   2023-03-02 ootball/jalen-carter-arrest-nfl-draft.html   Deadly Crash                              Morgan                          TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/01/sports/n
                        caabasketball/pete-maravich-antoine-davis- Another Week Another Career Scoring
2023-03-01   2023-03-02 detroit-mercy.html                           Record in Peril With Caveats              By Victor Mather                TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/01/technol
                        ogy/personaltech/tipping-defaults-digital-
2023-03-01   2023-03-02 payments.html                                How Tech Tips the Scales on Gratuities    By Brian X Chen                 TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/01/theater/
2023-03-01   2023-03-02 playwrights-cancel-shows.html                Shutting Down As a Means Of Standing Up By Michael Paulson                TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/01/us/alex- Taking Unusual Step Jury in Murdaugh Trial
2023-03-01   2023-03-02 murdaugh-jury-visit.html                     Visits the Crime Scene                    By Nicholas BogelBurroughs      TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/01/us/alex- Dont Let Him Fool You Prosecutor Says in
2023-03-01   2023-03-02 murdaugh-trial-closing-arguments.html        Closing                                   By Nicholas BogelBurroughs      TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/01/us/hom Shedding Light on Housing Crisis in Los
2023-03-01   2023-03-02 eless-student-los-angeles-housing.html       Angeles                                   By Corina Knoll                 TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/01/us/paul-
2023-03-01   2023-03-02 vallas-chicago-mayor-election.html           Shift in Mood Puts AlsoRan Ahead of Pack By Mitch Smith                   TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/01/us/polit
                        ics/chicago-mayor-republicans-democrats-     Chicago Reflects Democratic Split On      By Jonathan Weisman and Michael
2023-03-01   2023-03-02 trump.html                                   Public Safety                             C Bender                        TX 9-286-255      2023-05-02

                        https://www.nytimes.com/2023/03/01/us/polit Havana Syndrome Unlikely To Be Hostile        By Julian E Barnes and Adam
2023-03-01   2023-03-02 ics/havana-syndrome-intelligence-report.html Powers Fault                                 Entous                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/us/polit Witness for Prosecution at Proud Boys Trial
2023-03-01   2023-03-02 ics/proud-boys-jan-6-trial-bertino.html      Reveals Cases Complexities                   By Alan Feuer and Zach Montague TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/us/polit Bipartisan Rail Safety Bill Unveiled After
2023-03-01   2023-03-02 ics/senate-rail-safety-legislation.html      Ohio Crash                                   By Stephanie Lai                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/us/sirha California Panel Turns Down Parole for
2023-03-01   2023-03-02 n-sirhan-parole-robert-kennedy.html          Kennedy Assassin                             By Shawn Hubler                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/us/undo
2023-03-01   2023-03-02 cumented-immigrants-exodus-us.html           After Years in US Migrants Head Home         By Miriam Jordan                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/world/a Slaughter on Eve of Ethiopian Peace Draws      By Abdi Latif Dahir and Simon
2023-03-01   2023-03-02 frica/eritrea-ethiopia-tigray-war.html       WarCrimes Claims                             Marks                           TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/01/world/a A Nigerian Kingmaker Wins His
2023-03-01   2023-03-02 frica/nigeria-president-election-tinubu.html LongDesired Throne                     By Ruth Maclean and Elian Peltier TX 9-286-255       2023-05-02
                        https://www.nytimes.com/2023/03/01/world/e Finland on Cusp of Joining NATO But Most By Steven Erlanger and Andrew
2023-03-01   2023-03-02 urope/finland-nato-sweden.html               Likely Not With Sweden                 Higgins                           TX 9-286-255       2023-05-02



                                                                                 Page 4918 of 5793
                        https://www.nytimes.com/2023/03/01/world/e HighSpeed HeadOn Train Crash in Greece      By Niki Kitsantonis and Jason
2023-03-01   2023-03-02 urope/greece-train-crash.html              Kills Dozens                                Horowitz                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/world/e Maurizio Costanzo 84 Who Changed Italian
2023-03-01   2023-03-02 urope/maurizio-costanzo-dead.html          TV And Took On the Mafia                    By Gaia Pianigiani                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/world/e Trade Deal Poses Dilemma for Northern
2023-03-01   2023-03-02 urope/uk-northern-ireland.html             Irelands Unionists                          By Mark Landler                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/world/e Russian Forces Repeating Strategic Errors
2023-03-01   2023-03-02 urope/ukraine-russia-tanks.html            Lose Epic Tank Battle                       By Andrew E Kramer                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/world/ With Tensions Rising Police Use Force on Tel
2023-03-01   2023-03-02 middleeast/israel-protests-police.html     Aviv Protesters                             By Isabel Kershner                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/01/world/ Quake Wont Delay Turkeys Elections Says        By Ben Hubbard and Gulsin
2023-03-01   2023-03-02 middleeast/turkey-earthquake-elections.html Erdogan Whos Seeking 3rd Term                Harman                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/us/davi Police Leader Steps Down After Defeat Of
2023-03-02   2023-03-02 d-brown-lori-lightfoot-chicago-police.html    Lightfoot                                  By Julie Bosman                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/us/polit Senate Votes To Block ESG Rule For
2023-03-02   2023-03-02 ics/congress-esg-investment-rule.html         Investing                                  By Stephanie Lai                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/us/polit
                        ics/garland-senate-justice-department-trump- GOP Senators Fire a Barrage of Intense
2023-03-02   2023-03-02 biden.html                                    Questions at Garland                       By Glenn Thrush                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/us/polit Republicans Fault FAA Pick Over Short
2023-03-02   2023-03-02 ics/phil-washington-faa-nominee.html          Aviation Rsum                              By Mark Walker                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/us/polit
                        ics/student-loan-debt-supreme-court-executive Student Loan Case May Determine Reach of   By Michael D Shear and Adam
2023-03-02   2023-03-02 power.html                                    Presidential Powers                        Liptak                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/us/polit Supporrt Ebbing for Kyivs Fight as Money
2023-03-02   2023-03-02 ics/ukraine-russia-war-support-biden.html     Flows                                      By Peter Baker                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/world/e Blinken Bracing for G20 Clash Sees Zero
2023-03-02   2023-03-02 urope/blinken-g20-central-asia-trip.html      Evidence Putin Wants Talks                 By Edward Wong                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/world/e
                        urope/ukraine-russia-bakhmut-                 Ukraine Reinforces Embattled Bakhmut but   By Matthew Mpoke Bigg and
2023-03-02   2023-03-02 reinforcements.html                           the Purpose Is Unclear                     Edward Wong                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/world/ Attack Feared As Hundreds Of Schoolgirls
2023-03-02   2023-03-02 middleeast/iran-schoolgirls-poison.html       Fall Ill in Iran                           By Farnaz Fassihi               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/sports/o
2023-03-02   2023-03-02 lympics/jordan-stolz-speedskating.html        Dutch See US Teen As a Star And a Rival    By Kevin Draper                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/style/vo Battling Perception at the Helm of Vogue
2023-03-02   2023-03-02 gue-china-margaret-zhang.html                 China                                      By Elizabeth Paton              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/25/busines
2023-02-25   2023-03-03 s/japan-esports-school-refusal.html           Video Game School Lures Dropouts           By Ben Dooley and Hisako Ueno   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/busines
2023-02-28   2023-03-03 s/restaurant-reward-programs.html             Food Chains Raise Price of Loyalty         By Julie Creswell               TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/02/28/travel/e
2023-02-28   2023-03-03 urope-strikes-what-travelers-should-do.html Planning Ahead to Combat Europes Strikes     By Isabella Kwai                TX 9-286-255   2023-05-02



                                                                                Page 4919 of 5793
                        https://www.nytimes.com/2023/03/01/books/n In Like a Literary Lion 14 New Releases in
2023-03-01   2023-03-03 ew-march-books.html                        March                                         By Joumana Khatib                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/opinion My Liberal University Is Pushing Freethinkers
2023-03-01   2023-03-03 /campus-conservative-freethinkers.html     to the Right                                  By Adam S Hoffman                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/opinion Why Are Ketamine Ads Following Me
2023-03-01   2023-03-03 /ketamine-ads-depression-anxiety.html      Around the Internet                           By Jessica Grose                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/world/a
                        frica/david-mabuza-resignation-south-      No 2 Official In South Africa Has Resigned
2023-03-01   2023-03-03 africa.html                                Amid Scandal                                  By Lynsey Chutel                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/world/
                        middleeast/israel-palestinian-safe-house-  How an Israeli Raid Ended With Civilians      By Haley Willis Christiaan Triebert
2023-03-01   2023-03-03 raid.html                                  Killed and Wounded                            Hiba Yazbek and Patrick Kingsley TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/01/health/ Opioid Distributors Cleared of Liability to
2023-03-02   2023-03-03 opioid-victims-trial-georgia.html          Georgia Families Ravaged by Addiction         By Jan Hoffman                      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/02/arts/dan
2023-03-02   2023-03-03 ce/review-ohad-naharin-hora-batsheva.html They Sit and Stare Then Come at You            By Brian Seibert                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/des
                        ign/sassoons-jewish-museum-art-             Treasures Tell the Tale of a Merchant
2023-03-02   2023-03-03 exhibition.html                             Dynasty                                     By Jason Farago                    TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/des
2023-03-02   2023-03-03 ign/wangechi-mutu-new-museum.html           Taking a Journey To a Magical World          By Roberta Smith                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/mu Wayne Shorter Innovator During an Era of
2023-03-02   2023-03-03 sic/wayne-shorter-dead.html                 Change in Jazz Dies at 89                   By Nate Chinen                     TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/mu YoYo Ma Citing Casals Evokes Peace in an
2023-03-02   2023-03-03 sic/yo-yo-ma-peace.html                     Encore                                      By Javier C Hernndez               TX 9-286-255     2023-05-02
                                                                                                                By Max Lakin Jillian Steinhauer
                                                                                                                Travis Diehl John Vincler Martha
                                                                                                                Schwendener Blake Gopnik Will
                        https://www.nytimes.com/2023/03/02/arts/ne                                              Heinrich Dawn Chan and Jason
2023-03-02   2023-03-03 w-york-art-galleries.html                    Galleries                                  Farago                             TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/tele
2023-03-02   2023-03-03 vision/daisy-jones-and-the-six-review.html   Behind the 70s Music a Lot of Soap Opera   By Mike Hale                       TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/tele
                        vision/the-exhibit-mtv-on-my-block-
2023-03-02   2023-03-03 netflix.html                                 This Weekend I Have                        By Margaret Lyons                  TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/02/busines
2023-03-02   2023-03-03 s/economy/eurozone-inflation-february.html Prices in Eurozone Dip But Pressures Remain By Patricia Cohen                   TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/busines Free Beer a Few Days a Week Figuring Out By Emma Goldberg and Hilary
2023-03-02   2023-03-03 s/hybrid-work-from-home-office.html        the Hybrid Office                           Swift                               TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/busines
                        s/intimacy-coordinator-sex-scenes-film-    When OnScreen Heat Rises She Helps
2023-03-02   2023-03-03 jessica-steinrock.html                     Control the Temperature                     By Jennifer Harlan                  TX 9-286-255     2023-05-02




                                                                                 Page 4920 of 5793
                        https://www.nytimes.com/2023/03/02/busines
2023-03-02   2023-03-03 s/media/ron-desantis-murdoch-media.html    DeSantis Discovers Media Ally                 By Michael M Grynbaum            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/busines Leave Russia A Year Later Companies Cant
2023-03-02   2023-03-03 s/russia-companies-exit.html               or Wont                                       By Liz Alderman                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/movies/
2023-03-02   2023-03-03 a-little-white-lie-review.html             A Little White Lie                            By Jeannette Catsoulis           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/movies/
2023-03-02   2023-03-03 blueback-review.html                       Blueback                                      By Amy Nicholson                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/movies/
2023-03-02   2023-03-03 creed-iii-review-michael-b-jordan.html      The Past Returns Looking To Fight            By Manohla Dargis                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/movies/
2023-03-02   2023-03-03 gods-of-mexico-review.html                 Gods of Mexico                                By Ben Kenigsberg                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/movies/ A Mother Determined To Rescue Her
2023-03-02   2023-03-03 la-civil-review.html                       Daughter                                      By AO Scott                      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/02/movies/ This Jason Statham Vehicle Is on Cruise
2023-03-02   2023-03-03 operation-fortune-ruse-de-guerre-review.html Control                                     By Brandon Yu                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/movies/
2023-03-02   2023-03-03 palm-trees-and-power-lines-review.html       Bored Nave And Now Shes Prey                By Manohla Dargis                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/movies/
2023-03-02   2023-03-03 sanson-and-me-review.html                    Sansn and Me                                By Glenn Kenny                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/movies/
2023-03-02   2023-03-03 split-at-the-root-review.html                Split at the Root                           By Concepcin de Len              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/movies/
2023-03-02   2023-03-03 the-forger-review.html                       The Forger                                  By Natalia Winkelman             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/movies/
2023-03-02   2023-03-03 the-year-between-review.html                 The Year Between                            By Teo Bugbee                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/movies/
2023-03-02   2023-03-03 what-we-do-next-review.html                  What We Do Next                             By Beatrice Loayza               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/nyregio With Street Teams and Clubhouses Adams        By Andy Newman and Emma G
2023-03-02   2023-03-03 n/eric-adams-mental-illness-plan.html        Expands Help for Mentally Ill               Fitzsimmons                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/nyregio House Ethics Committee Opens an Inquiry       By Michael Gold and Grace
2023-03-02   2023-03-03 n/george-santos-ethics-investigation.html    Into Santos                                 Ashford                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/nyregio
                        n/hasidic-schools-ny-lawmakers-corporal-     Bills Push Corporal Punishment Ban in New   By Brian M Rosenthal and Eliza
2023-03-02   2023-03-03 punishment.html                              York Private Schools                        Shapiro                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/nyregio State Trooper Shot on Duty Near
2023-03-02   2023-03-03 n/state-trooper-shot-bill-pascrell-nj.html   Congressmans Home                           By Tracey Tully                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/opinion Ukraine Can Win Only if NATO Joins the
2023-03-02   2023-03-03 /ukraine-aid-united-states-nato.html         Fight                                       By Thomas Meaney                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/sports/a
                        utoracing/f1-mercedes-lewis-hamilton-
2023-03-02   2023-03-03 championship.html                            Mercedes moves on with changes              By Luke Smith                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/sports/a
2023-03-02   2023-03-03 utoracing/f1-rookie-drivers.html             On the starting line and ready to go        By Ian Parkes                    TX 9-286-255   2023-05-02



                                                                                Page 4921 of 5793
                        https://www.nytimes.com/2023/03/02/sports/a
2023-03-02   2023-03-03 utoracing/f1-team-executives-changes.html Same faces but in new places                   By Ian Parkes                 TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/sports/g Greta Andersen 95 Champion Who Braved
2023-03-02   2023-03-03 reta-andersen-dead.html                     Sharks and Waves                             By Penelope Green             TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/sports/n
                        caabasketball/emoni-bates-nba-              He Was Billed As the Next LeBron But Will
2023-03-02   2023-03-03 basketball.html                             Emoni Bates Make It at All                   By Billy Witz                 TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/sports/n LSUs SweetShooting TrashTalking Bayou
2023-03-02   2023-03-03 caabasketball/lsu-tigers-angel-reese.html   Barbie Is Not Sorry                          By Evan Easterling            TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/theater/
2023-03-02   2023-03-03 funny-girl-lea-michele-closing.html         After a Stars Boost Funny Girl to Close      By Michael Paulson            TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/theater/
2023-03-02   2023-03-03 love-review-park-avenue-armory.html         Desperate Characters Yearning for an Exit    By Jesse Green                TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/theater/ Global Nomads Have Once Again Arrived in
2023-03-02   2023-03-03 the-jungle-st-anns-warehouse.html           Brooklyn                                     By Rachel Sherman             TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/us/alex-
2023-03-02   2023-03-03 murdaugh-guilty.html                        Guilty Verdict For Murdaugh In Murder Trial By Nicholas BogelBurroughs     TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/us/colle
                        ge-park-mayor-resigns-child-sexual-         Maryland Mayor Quits Over Child Porn
2023-03-02   2023-03-03 abuse.html                                  Charges                                      By Michael Levenson           TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/us/okla
2023-03-02   2023-03-03 homa-texas-rivalry.html                     In Oklahoma Welcome Mat For Workers          By J David Goodman            TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/us/polit Bidens Cybersecurity Strategy Urges Stricter
2023-03-02   2023-03-03 ics/biden-cybersecurity-strategy.html       Mandates for Tech Companies                  By David E Sanger             TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/02/us/polit President Wont Veto GOP Effort To Block a
2023-03-02   2023-03-03 ics/biden-no-veto-dc-criminal-code.html     New DC Criminal Code                         By Carl Hulse                 TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/02/us/polit Ohio Residents Confront Railroad on          By Ida Lieszkovszky and Emily
2023-03-02   2023-03-03 ics/east-palestine-ohio-train-derailment.html Derailment                                 Cochrane                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/us/polit Lawsuit Against Trump Over Capitol Attack
2023-03-02   2023-03-03 ics/trump-jan-6-lawsuits.html                 Should Proceed Justice Dept Says           By Charlie Savage               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/us/tyre- The Lens of Tyre Nichols Bared a Citys Vivid
2023-03-02   2023-03-03 memphis-photos.html                           Soul                                       By Ava Sasani and Eliza Fawcett TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/world/a Trying to Salve Wounds In Africa France
2023-03-02   2023-03-03 frica/france-macron-africa.html               Vows To Change and Listen                  By Roger Cohen                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/world/c Migrants Surge at Canada Border Headed
2023-03-02   2023-03-03 anada/canada-migrants-immigration.html        North                                      By Norimitsu Onishi             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/world/e Deadly Train Crash Turns Holiday Trips Into
2023-03-02   2023-03-03 urope/greece-train-crash.html                 Tragedy for Young Greeks                   By Emma Bubola and Iliana Magra TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/world/e
                        urope/harry-meghan-frogmore-cottage-uk-       Harry and Meghan Are Told to Move Out Of
2023-03-02   2023-03-03 home.html                                     Frogmore Cottage                           By Mark Landler                 TX 9-286-255   2023-05-02




                                                                               Page 4922 of 5793
                        https://www.nytimes.com/2023/03/02/world/e
                        urope/manchester-arena-bombing-report-
2023-03-02   2023-03-03 ariana-grande.html                         UK Spy Agency Faulted on 17 Bombing          By Euan Ward                       TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/02/world/e                                               By Anatoly Kurmanaev Marc
2023-03-02   2023-03-03 urope/russia-ukraine-bryansk-incursion.html Kremlin Roused by Incursion Into Russia      Santora and Alan Yuhas            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/world/e Blinken Presses Russia Over War And Arms
2023-03-02   2023-03-03 urope/ukraine-blinken-lavrov-g20.html        Treaty                                      By Edward Wong                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/world/e A Mayor Disappeared but Questions of His By Michael Schwirtz and Ivor
2023-03-02   2023-03-03 urope/ukraine-kherson-mayor-russia.html      Loyalty Did Not                             Prickett                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/world/
                        middleeast/tunisia-president-migrants-       Tunisias President Vilifies SubSaharan
2023-03-02   2023-03-03 africa.html                                  Migrants                                    By Vivian Yee and Ahmed Ellali    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/nyregio City Jail Supervisor Strolled Away as Inmate
2023-03-03   2023-03-03 n/new-york-corrections-captain-trial.html    Hanged Himself Prosecutors Say              By Maria Cramer                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/opinion The Promise and Peril of Bidens Climate
2023-03-03   2023-03-03 /biden-climate-policy.html                   Policy                                      By Paul Krugman                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/us/polit
                        ics/house-weaponization-committee-jan-                                                   By Luke Broadwater and Adam
2023-03-03   2023-03-03 6.html                                       House Panel Witnesses Push Jan 6 Falsehoods Goldman                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/world/e Even Basic Safety System Wasnt Fully          By Monika Pronczuk and Sarah
2023-03-03   2023-03-03 urope/greece-rail-safety.html                Operational During Railway Disaster         Hurtes                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/insider/
                        searching-for-the-faces-of-child-migrant-    Searching for the Faces of Child Migrant
2023-03-03   2023-03-03 labor.html                                   Labor                                       By Hannah Dreier                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/us/polit
                        ics/buprenorphine-opioid-addiction-          More Doctors Can Now Offer Buprenorphine
2023-03-03   2023-03-03 treatment.html                               but Barriers Remain                         By Noah Weiland                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/18/nyregio
                        n/new-jersey-boardwalk-basketball-
2023-02-18   2023-03-04 scheme.html                                  Foul Play at the Midway                     By Dan Barry                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/02/ The West Tried to Isolate Russia It Didnt   By Josh Holder Lauren Leatherby
2023-02-23   2023-03-04 23/world/russia-ukraine-geopolitics.html     Work                                        Anton Troianovski and Weiyi Cai   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/24/arts/tele A Devilish Capitalist Manages to Make
2023-02-24   2023-03-04 vision/the-consultant-review.html            Mischief                                    By Mike Hale                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/24/travel/a
                        frican-american-skiers-snowboarders-
2023-02-24   2023-03-04 vail.html                                    2000 Black Skiers at a Magical Milestone    By Tariro Mzezewa                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/busines As Dollar Stores Proliferate Some
2023-03-01   2023-03-04 s/dollar-stores-rejected.html                Communities Say No                          By Michael Corkery                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/theater/
2023-03-01   2023-03-04 becomes-a-woman-review.html                  A Girl Grows Wise in Brooklyn               By Elisabeth Vincentelli          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/des
                        ign/egon-schiele-townscape-tefaf-
2023-03-02   2023-03-04 restoration.html                             A Schiele townscape will be restored        By Farah Nayeri                   TX 9-286-255   2023-05-02



                                                                                Page 4923 of 5793
                        https://www.nytimes.com/2023/03/02/arts/des
                        ign/hermitage-amsterdam-leiden-
2023-03-02   2023-03-04 collection.html                             A billionaire brings Rembrandt home         By Nina Siegal                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/des
2023-03-02   2023-03-04 ign/museum-ludwig-ursula-exhibition.html    A oncelost fantastical world                By Andrew Russeth               TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/02/arts/des
2023-03-02   2023-03-04 ign/nina-katchadourian-morgan-library.html The Space Serves Also as Subject and Object By Dawn Chan                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/des
2023-03-02   2023-03-04 ign/selling-family-silver.html              Selling the family silver                  By Ginanne Brownell              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/des
                        ign/shibunkakus-tefaf-maastricht-
2023-03-02   2023-03-04 nihongaa.html                               Putting a natural style front and center   By David Belcher                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/des
2023-03-02   2023-03-04 ign/tefaf-korean-art.html                   A spotlight for Korean art pioneers        By David Belcher                 TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/02/arts/des
2023-03-02   2023-03-04 ign/tefaf-maastricht-design-tom-postma.html How a city of art comes to life             By Sam Lubell                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/des
2023-03-02   2023-03-04 ign/tefaf-maastricht-fair.html              Nevertheless an art fair persists           By Ted Loos                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/des
2023-03-02   2023-03-04 ign/tefaf-museum-acquisitions.html          The art fair that curators love             By Ted Loos                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/des
2023-03-02   2023-03-04 ign/tefaf-nature-art.html                   Art rooted in nature in full bloom          By Keridwen Cornelius           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/movies/ Movies on Grave Topics With Room for
2023-03-02   2023-03-04 new-york-childrens-film-festival.html       Playfulness                                 By Laurel Graeber               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/opinion
                        /kamala-harris-vice-president-
2023-03-02   2023-03-04 expectations.html                           Give Harris the Credit She Is Due           By Donna Brazile                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/science
2023-03-02   2023-03-04 /jurassic-insect-discovered-arkansas.html   Lost Relic Reappears At Walmart             By Emily Schmall                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/mu
2023-03-03   2023-03-04 sic/wayne-shorter-songs.html                A Master of Sly Invention                   By Giovanni Russonello          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/arts/des Portraits of Elvis Erotica And Dreamlike
2023-03-03   2023-03-04 ign/elvis-outsider-art-fair-manhattan.html  Visions                                     By Will Heinrich                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/arts/jes Jesse Trevio 76 Chicano Artist Whose Muse
2023-03-03   2023-03-04 se-trevino-dead.html                        Was San Antonio Dies                        By Alex Williams                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/arts/mu
                        sic/new-york-philharmonic-march-to-
2023-03-03   2023-03-04 liberation-review.html                      Splendor With a Streak of Urgency           By Seth Colter Walls            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/arts/mu Steve Mackey 56 Bassist Who Helped
2023-03-03   2023-03-04 sic/steve-mackey-dead.html                  Transform the Britpop Band Pulp             By Alex Williams                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/arts/rus                                             By Alex Marshall and Javier C
2023-03-03   2023-03-04 sian-artists-war-peace.html                 Just How Welcome Are Russian Artists        Hernndez                        TX 9-286-255   2023-05-02




                                                                                Page 4924 of 5793
                        https://www.nytimes.com/2023/03/03/arts/tyr Aspiring Creativity Transcends a Fatal
2023-03-03   2023-03-04 e-nichols-photos-desert-x.html              Beating                                      By Jori Finkel                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/busines
2023-03-03   2023-03-04 s/alabama-miners-strike.html                2Year Mining Strike Ends Without a Deal      By Michael Corkery                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/busines
2023-03-03   2023-03-04 s/economy/world-bank-ajay-banga.html        For World Bank Pick Climate Is Key           By Alan Rappeport                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/busines
                        s/energy-environment/tesla-nuevo-leon-
2023-03-03   2023-03-04 mexico-factory.html                         Teslas Could Be Made in Mexico by 24         By Jack Ewing and Clifford Krauss TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/busines
                        s/media/fox-dominion-conservative-                                                       By Katie Robertson and Stuart A
2023-03-03   2023-03-04 media.html                                  RightWing News Media Mum on Fox              Thompson                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/movies/
                        michael-b-jordan-jonathan-majors-creed-     Facing the Bout Of a Lifetime With
2023-03-03   2023-03-04 iii.html                                    Teamwork                                     By Kyle Buchanan                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/nyregio
                        n/brooklyn-homicide-construction-           In Rare Conviction Brooklyn Contractor Is
2023-03-03   2023-03-04 worker.html                                 Guilty of Homicide in Workers Death          By Lola Fadulu                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/nyregio With Trumps Shadow Looming New York           By Jesse McKinley and Nicholas
2023-03-03   2023-03-04 n/ed-cox-new-york-gop.html                  GOP Splits Over Leader                       Fandos                            TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/03/nyregio Staten Island Man Sentenced to 18 Months in
2023-03-03   2023-03-04 n/jewish-attacks-hate-crime-staten-island.html Prison for Attacks on Jews in 2021 and 2022 By Colin Moynihan               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/nyregio
2023-03-03   2023-03-04 n/lirr-schedule-commuters.html                 Some LIRR Riders Now Face Mad Dashes        By Ana Ley                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/opinion
2023-03-03   2023-03-04 /alex-murdaugh-guilty-verdict.html             Murdaughs Quick Conviction Worries Me       By Farhad Manjoo                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/03/opinion A Warning for New Victims of
2023-03-03   2023-03-04 /east-palestine-ohio-derailment-michigan.html Environmental Catastrophe                By Vanessa Ogle                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/sports/b Want More Steals A Brewers Rookie Is Glad
2023-03-03   2023-03-04 aseball/garrett-mitchell-brewers.html         to Oblige                                By Tyler Kepner                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/sports/b Black Equestrians Plead for Helmets Thatll
2023-03-03   2023-03-04 lack-equestrians-helmets-safety.html          Fit                                      By McKenna Oxenden                  TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/03/sports/f
2023-03-03   2023-03-04 ootball/nfl-combine-steak-house-deals.html Deals Are on the Table Shrimp Cocktail Too By Kris Rhim                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/sports/h Kane Rangers New Megastar Lifts Hopes of
2023-03-03   2023-03-04 ockey/rangers-kane-nhl.html                 Contending for the Stanley Cup            By David Waldstein                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/technol
2023-03-03   2023-03-04 ogy/amazon-second-headquarters.html         Amazon Pauses Work On Campus In Virginia By Karen Weise and Lora Kelley        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/technol
                        ogy/artificial-intelligence-regulation-                                               By Cecilia Kang and Adam
2023-03-03   2023-03-04 congress.html                               AI Regulation Can Be Puzzle To Lawmakers Satariano                             TX 9-286-255   2023-05-02




                                                                                 Page 4925 of 5793
                        https://www.nytimes.com/2023/03/03/us/alex-                                            By Nicholas BogelBurroughs and
2023-03-03   2023-03-04 murdaugh-murder-sentencing.html             Life in Prison And a Rebuke For Murdaugh Jacey Fortin                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/us/polit President Had Cancerous Lesion Removed
2023-03-03   2023-03-04 ics/biden-cancer-lesion.html                From His Chest                             By Katie Rogers                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/us/polit FBI Cites Big Decrease In Warrantless
2023-03-03   2023-03-04 ics/fbi-queries-warrants-surveillance.html  Gathering Of Americans Messages            By Charlie Savage                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/us/polit
2023-03-03   2023-03-04 ics/jb-pritzker-democrats-biden.html        If Biden Decided Not to Run Would Pritzker By Jonathan Weisman              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/us/polit Biden May Soon Announce New Joint Chiefs
2023-03-03   2023-03-04 ics/joint-chiefs-milley-successor.html      Chairman                                   By Helene Cooper                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/us/polit Lawmakers Push Biden To Act on Child       By Hannah Dreier and Luke
2023-03-03   2023-03-04 ics/lawmakers-child-migrant-labor.html      Labor                                      Broadwater                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/us/polit
                        ics/medal-of-honor-black-vietnam-veteran-   Black Officer Recognized At Long Last For
2023-03-03   2023-03-04 paris-davis.html                            His Valor                                  By Zolan KannoYoungs             TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/03/us/polit For GOP a Way to Put Democrats In the Hot
2023-03-03   2023-03-04 ics/republicans-resolution-disapproval.html Seat on HotButton Issues                     By Carl Hulse                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/us/us-
2023-03-03   2023-03-04 news-rankings-law-schools.html              US News Mounts a Defense of Its Rankings By Anemona Hartocollis             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/world/a
2023-03-03   2023-03-04 sia/cambodia-kem-sokha-guilty.html          Leader of Opposition Sentenced in Cambodia By Seth Mydans                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/world/a China Is Increasingly Seen As Playing a
2023-03-03   2023-03-04 sia/china-diplomacy-beijing.html            Spoiler Role In Diplomatic Discussions       By Edward Wong                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/world/a
                        sia/south-korea-bullying-an-woo-jin-k-      Bullying Claims Overshadow Careers of
2023-03-03   2023-03-04 pop.html                                    Athletes and Stars in South Korea            By John Yoon and Mike Ives     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/world/a Thai Activists on Hunger Strike Are Close to
2023-03-03   2023-03-04 sia/thailand-hunger-strike.html             Death                                        By SuiLee Wee                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/world/e Explorers or Spies Albania Isnt Taking
2023-03-03   2023-03-04 urope/albania-russia-ukraine.html           Chances                                      By Andrew Higgins              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/world/e
                        urope/ales-bialiatski-belarus-nobel-peace-  Peace Prize Laureate Sentenced to 10 Years
2023-03-03   2023-03-04 prize.html                                  In a Belarusian Prison                       By Andrew Higgins              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/world/e
2023-03-03   2023-03-04 urope/greece-train-crash.html               Search of Train Crash Nears an End in Greece By Niki Kitsantonis            TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/03/world/e King Charles Plans Visits To Germany And
2023-03-03   2023-03-04 urope/king-charles-france-germany-visit.html France                                     By Jenny Gross                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/world/e EU Embraced Ukraine but a Lasting
2023-03-03   2023-03-04 urope/ukraine-eu-nato.html                   Relationship Will Be Complicated           By Steven Erlanger              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/world/
                        middleeast/iraq-currency-sanctions-          Currency Restrictions Frustrate Iraqis Who
2023-03-03   2023-03-04 economy.html                                 Need US Cash                               By Alissa J Rubin               TX 9-286-255   2023-05-02




                                                                                Page 4926 of 5793
                        https://www.nytimes.com/2023/03/03/your- Dont Shell Out for Concert Tickets Until You
2023-03-03   2023-03-04 money/concert-tickets-ticketmaster.html     Read This                                 By Ann Carrns                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/nyregio
2023-03-04   2023-03-04 n/fatal-overdoses-homicide.html             Two Fatal Overdoses Are Ruled Homicides By Liam Stack                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/us/polit US and Germany Keep Lock Step To Help
2023-03-04   2023-03-04 ics/biden-scholz-ukraine-china.html         Ukraine                                   By Katie Rogers                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/03/us/sout Intense Snowfall Isolates Residents and
2023-03-04   2023-03-04 hern-california-snow-trapped-residents.html Tourists in Southern California            By Jill Cowan and Vik Jolly   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/world/e Whats at Stake as Russian Forces Slowly
2023-03-04   2023-03-04 urope/bakhmut-ukraine-russia.html           Degrade Bakhmuts Defenses                  By Marc Santora               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/busines Inflation Squeeze Stokes Retailers Bleak
2023-03-04   2023-03-04 s/retail-inflation-sales.html               Outlook                                    By Jordyn Holman              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/world/e Making History and Vowing to Remake the
2023-03-04   2023-03-04 urope/elly-schlein-italy.html               Italian Left                               By Jason Horowitz             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/05/books/r
                        eview/ayobami-adebayo-a-spell-of-good-
2023-02-05   2023-03-05 things.html                                 Class Divide                               By Aamina Ahmad               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/06/books/r
2023-02-06   2023-03-05 eview-up-with-the-sun-thomas-mallon.html Louche Life                                   By Alexandra Jacobs           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/14/books/r
2023-02-14   2023-03-05 eview/the-applicant-nazli-koca.html         Dear Diary                                 By Shreya Chattopadhyay       TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/02/17/books/r
2023-02-17   2023-03-05 eview/walter-mosley-every-man-a-king.html The Rogue and the Noir                       By Daniel Nieh                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/20/books/r
                        eview/i-have-some-questions-for-you-rebecca-
2023-02-20   2023-03-05 makkai.html                                  Back to School                            By Hamilton Cain              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/02/21/books/r
2023-02-21   2023-03-05 eview/adam-zagajewski-true-life-poems.html Timeless                                    By Robert Pinsky              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/21/books/r
2023-02-21   2023-03-05 eview/jac-jemc-empty-theatre.html          Pomp and Circumstances                      By Katy Simpson Smith         TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/02/23/books/r
2023-02-23   2023-03-05 eview/23inside-the-list-marcia-davenport.html Inside the List                          By Tina Jordan                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/23/books/r
                        eview/an-autobiography-of-skin-lakiesha-
2023-02-23   2023-03-05 carr.html                                     Still Processing                         By Ladee Hubbard              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/24/books/r
2023-02-24   2023-03-05 eview/books-on-how-to-write.html              The Write Life                           By Judith Newman              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/24/magazi My Friend Is Dating a Murderer Should I Do
2023-02-24   2023-03-05 ne/dating-prisoner-ethics.html                Anything About It                        By Kwame Anthony Appiah       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/24/movies/
2023-02-24   2023-03-05 cocaine-bear-making-of.html                   DrugFueled Bear Steals the Movie         By Kathryn Shattuck           TX 9-286-255   2023-05-02



                                                                              Page 4927 of 5793
                        https://www.nytimes.com/2023/02/24/movies/
2023-02-24   2023-03-05 ricardo-darin-argentina-1985.html           Argentinas Irresistible Everyman             By Carlos Aguilar               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/24/style/sk
2023-02-24   2023-03-05 i-suits-vintage-80s-fashion.html            Hot Snowsuits Straight Out of the 80s        By Alyson Krueger               TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/02/26/books/r
2023-02-26   2023-03-05 eview/thomas-mann-new-selected-stories.html The Chaos Within                             By Colm Toibin                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/26/books/r
2023-02-26   2023-03-05 eview/wanderlust-reid-mitenbuler.html       The Land of Frozen Poop Chisels              By W M Akers                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/movies/ Andie MacDowell Is Still Scaling New
2023-02-27   2023-03-05 andie-macdowell-my-happy-ending.html        Heights                                      By Kathryn Shattuck             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/opinion
2023-02-27   2023-03-05 /biden-vice-president.html                  Voters Should Pick the Vice President        By Greg Craig                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/opinion
2023-02-27   2023-03-05 /syria-earthquake.html                      Biblical Devastation Political Tragedy       By Lydia Polgreen               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/realesta A Virtual Tour Leads a Family in Minnesota
2023-02-27   2023-03-05 te/renters-carroll-gardens-brooklyn.html    to Brooklyn                                  By Alix Strauss                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/style/br
2023-02-27   2023-03-05 ooklyn-couple-dating.html                   A Boyfriend Moment                           By Gina Cherelus                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/t-
2023-02-27   2023-03-05 magazine/bloomsbury-group-fashion.html      The Forever Muses                            By Kin Woo                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/t-
                        magazine/home-design-restoration-galicia-                                                By JS Marcus and Anthony
2023-02-27   2023-03-05 spain.html                                  First Do No Harm                             Cotsifas                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/t-
                        magazine/western-cowboy-mens-fashion-
2023-02-27   2023-03-05 spring.html                                 Like a Rhinestone Cowboy                     By Bon Duke and Jordan Boothe   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/interactive/2023/02/ Woody Harrelson Can Play Anyone Its Being
2023-02-27   2023-03-05 27/magazine/woody-harrelson-interview.html Himself Thats Hard                          By David Marchese                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/arts/dan
                        ce/mehdi-kerkouche-creteil-choreographic-
2023-02-28   2023-03-05 center.html                                  Making an Inaccessible Art Approachable   By Roslyn Sulcas                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/arts/mu
2023-02-28   2023-03-05 sic/100-gecs-10000-gecs.html                 The Hyperpop Duo 100 gecs Swerves Big     By Joe Coscarelli                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/magazi
2023-02-28   2023-03-05 ne/epitaphs-green-wood-cemetery.html         Epitaphs                                  By Joe Kloc                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/magazi
2023-02-28   2023-03-05 ne/louisville-police-department.html         Nobody Wants to Be the Worlds Villain     By Jamie Thompson                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/opinion
2023-02-28   2023-03-05 /joe-biden-hunter.html                       The Hunter Biden Problem                  By Ana Marie Cox                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/opinion
2023-02-28   2023-03-05 /lab-leak-energy-department-covid.html       This Debate Hasnt Made Us Safer           By David WallaceWells             TX 9-286-255   2023-05-02




                                                                                 Page 4928 of 5793
                        https://www.nytimes.com/2023/02/28/opinion
2023-02-28   2023-03-05 /processed-food-social-class-america.html   Prousts McNugget                              By Adrian J Rivera              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/opinion
                        /ron-desantis-public-education-house-bill-  1776 Is Not Just What DeSantis Wants It to
2023-02-28   2023-03-05 999.html                                    Be                                            By Jamelle Bouie                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/realesta
2023-02-28   2023-03-05 te/kitchen-cabinets.html                    Kitchen Cabinets in All Their Complexity      By Tim McKeough                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/style/mi
2023-02-28   2023-03-05 lan-fashion-week-streetwear.html            What Our Brands Say About Us                  By Simbarashe Cha               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/t-
                        magazine/mens-fashion-shorts-long-                                                        By Michael Hauptman and Sasha
2023-02-28   2023-03-05 coats.html                                  Highs and Lows                                Kelly                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/t-
2023-02-28   2023-03-05 magazine/pink-bags-shoes-fashion.html       A Touch of Pink                               By Mari Maeda and Yuji Oboshi   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/t-
                        magazine/sofa-couch-scarpa-pesce-
2023-02-28   2023-03-05 bellini.html                                Couch kings                                   By Alice NewellHanson           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/arts/des
                        ign/appropriation-warhol-renaissance-
2023-03-01   2023-03-05 copyright.html                              The Mona Lisa Predicted The Brillo Box        By Blake Gopnik                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/arts/des
                        ign/digital-art-copyright-marvel-panini-    Artists Find Their Work Copied by Big
2023-03-01   2023-03-05 wizards.html                                Brands                                        By Matt Stevens                 TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/01/arts/des
2023-03-01   2023-03-05 ign/warhol-prince-goldsmith-museums.html For a Warhol Prince A Final Ruling Nears         By Colin Moynihan               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/arts/mu To Judge Similar Songs Courts Parse Their
2023-03-01   2023-03-05 sic/copyright-sheeran-gaye.html             DNA                                           By Ben Sisario                  TX 9-286-255   2023-05-02
                                                                    Seaworthy The briny umami of pasta with
                        https://www.nytimes.com/2023/03/01/magazi colatura di alici comes straight from the
2023-03-01   2023-03-05 ne/colatura-bottarga-pasta-recipe.html      Amalfi Coast                                  By Ligaya Mishan                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/magazi
2023-03-01   2023-03-05 ne/evt-stroke-treatment.html                The EVT Revolution                            By Eva Holland                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/magazi
                        ne/what-does-workplace-tiktok-look-like-
2023-03-01   2023-03-05 during-layoffs-it-gets-weird.html           Post Office                                   By Lora Kelley                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/nyregio He Took Shoes Off 20 Years Ago He Hasnt
2023-03-01   2023-03-05 n/barefoot-living-no-shoes-joe-deruvo.html Put Them Back On                               By Katherine Rosman             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/opinion
2023-03-01   2023-03-05 /lori-lightfoot-chicago.html                Lightfoots Spectacular Fall                   By Charles M Blow               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/realesta
2023-03-01   2023-03-05 te/port-chester-ny-housing.html             This Tiny Little Village Has a Lot Going On   By Lisa Prevost                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/realesta
2023-03-01   2023-03-05 te/tropical-plants-edible-garden.html       Botanical Bonus Ornamental and Delicious      By Margaret Roach               TX 9-286-255   2023-05-02



                                                                                 Page 4929 of 5793
                        https://www.nytimes.com/2023/03/01/style/ch
2023-03-01   2023-03-05 ild-support-family-members.html              Deadbeat Grandson                          By Philip Galanes                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/style/di
2023-03-01   2023-03-05 or-saint-laurent-paris-fashion-week.html     True French Connection                     By Vanessa Friedman             TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/01/t-                                                   By Nick Haramis Robbie Lawrence
2023-03-01   2023-03-05 magazine/silvia-venturini-fendi.html         A BlurredLine                              and Hisato Tasaka               TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/01/t-
                        magazine/valentin-loellmann-garden-                                                     By Gisela Williams and Kasia
2023-03-01   2023-03-05 design.html                                  The Secret Garden                          Gatkowska                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/theater/
2023-03-01   2023-03-05 the-lonely-few-lauren-patten.html            Love Blooms in a Dive Bar                  By Robert Ito                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/us/whis
2023-03-01   2023-03-05 key-fungus-jack-daniels-tennessee.html       Whiskey Fungus Coats A Tennessee Town      By Michael Levenson                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/tele
2023-03-02   2023-03-05 vision/chris-chalk-perry-mason.html          Time for a Bigger Role and a Deep Breath   By Chris Vognar                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/busines Once the Fun Money Starts to Flow Its Hard
2023-03-02   2023-03-05 s/spending-money-debt-pandemic.html          to Stop It                                 By Lauren Larson                   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/02/magazi
2023-03-02   2023-03-05 ne/judge-john-hodgman-gaelic-college.html Bonus Advice From Judge John Hodgman           By John Hodgman                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/magazi                                                By Daniel Borzutzky and Anne
2023-03-02   2023-03-05 ne/poem-1022.html                            Poem                                        Boyer                             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/nyregio
2023-03-02   2023-03-05 n/hotel-pennsylvania-nyc.html                A Grand Building Vanishes                   By Dan Barry                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/opinion
2023-03-02   2023-03-05 /magic-science-ufo-ai.html                   The Return Of the Magicians                 By Ross Douthat                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/opinion
2023-03-02   2023-03-05 /nikki-haley-president.html                  Nikki Haleys Serene Hypocrisy               By Pamela Paul                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/realesta
2023-03-02   2023-03-05 te/moving-cost.html                          The Challenges of Changing Places           By Michael Kolomatsky             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/style/dr
                        ies-van-noten-balmain-paris-fashion-
2023-03-02   2023-03-05 week.html                                    A Season For Intimate Encounters            By Vanessa Friedman               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/style/su
2023-03-02   2023-03-05 stainability-wedding.html                    On Their Big Day a Smaller Carbon Footprint By Sadiba Hasan                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/t-
2023-03-02   2023-03-05 magazine/craig-green-fashion.html            Craig Green                                 By Emilia Petrarca                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/t-                                                    By DAngelo Lovell Williams and
2023-03-02   2023-03-05 magazine/spring-mens-relaxed-fashion.html Easy Does It                                   Ian Bradley                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/t-                                                    By Susan Dominus Collier Schorr
2023-03-02   2023-03-05 magazine/willem-dafoe.html                   Man in Motion                               and Jay Massacret                 TX 9-286-255   2023-05-02
                                                                     They Wanted a TwoBedroom in Queens for
                        https://www.nytimes.com/interactive/2023/03/ 500000 Dishwasher Optional Which Option
2023-03-02   2023-03-05 02/realestate/apartment-house-queens-ny.html Did They Buy                                By Joyce Cohen                    TX 9-286-255   2023-05-02




                                                                                Page 4930 of 5793
                        https://www.nytimes.com/2023/03/02/opinion
2023-03-03   2023-03-05 /politics-art-beauty.html                   The Power of Art in a Political Age        By David Brooks         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/arts/des Rafael Violy Architect Who Built Landmarks
2023-03-03   2023-03-05 ign/rafael-vinoly-dead.html                 Across Globe Dies at 78                    By Fred A Bernstein     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/arts/des
                        ign/voyeurism-arne-svenson-photographer- A Cameras Uninvited Gaze Produced
2023-03-03   2023-03-05 danziger.html                               Unsettling Beauty                          By Arthur Lubow         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/arts/mu
2023-03-03   2023-03-05 sic/adam-tendler-inheritances.html          His Fathers Death a Legacy in Music        By Adam Tendler         TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/03/books/r
                        eview/daniel-nayeri-the-many-assassinations-
2023-03-03   2023-03-05 of-samir-the-seller-of-dreams.html           Peddling Stories on the Silk Road           By Aditi Sriram       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/busines Though Depriving Yourself Can Also
2023-03-03   2023-03-05 s/shopping-spending-retirement.html          Backfire                                    By Juli Fraga         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/nyregio Flaco the Owl Free and on a Learning Curve
2023-03-03   2023-03-05 n/flaco-owl-central-park-nyc.html            for Survival                                By Michiko Kakutani   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/nyregio
2023-03-03   2023-03-05 n/outdoor-dining-sheds-nyc.html              Dining Debate Rages as Food Aid Sinks       By Ginia Bellafante   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/opinion The Truth About the Censorship of Roald
2023-03-03   2023-03-05 /roald-dahl-books-changes.html               Dahl                                        By Matthew Walther    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/realesta Significant Sales Of Old Townhouses and
2023-03-03   2023-03-05 te/luxury-real-estate-sales-nyc.html         New Condominiums                            By Vivian Marino      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/realesta Excuse After Excuse Black and Latino
2023-03-03   2023-03-05 te/real-estate-developers-black-latino.html  Developers Struggle To Expand               By Colette Coleman    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/science
2023-03-03   2023-03-05 /chernobyl-dogs-dna.html                     Gene Study Spotlights Chernobyls Stray Dogs By Emily Anthes       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/science Justin O Schmidt 75 Entomologist Who Was
2023-03-03   2023-03-05 /justin-o-schmidt-dead.html                  Known as King of Sting                      By Richard Sandomir   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/03/sports/s When Teams Struggle Sometimes the System
2023-03-03   2023-03-05 occer/liverpool-manchester-united-napoli.html Is to Blame                             By Rory Smith            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/sports/t With Indian Wells Days Away Djokovic
2023-03-03   2023-03-05 ennis/djokovic-alcaraz-indian-wells.html      Hopes for a Miracle                     By Matthew Futterman     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/style/a
                        mrit-malothra-aaron-dornbrand-lo-
2023-03-03   2023-03-05 wedding.html                                  From Adventure Buddies to Life Partners By Sadiba Hasan          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/style/be
2023-03-03   2023-03-05 verly-pham-brett-lynch-wedding.html           Making an Exception to a Dating Rule    By Robbie Spencer        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/style/da
2023-03-03   2023-03-05 sha-zhukovas-oligarch-russia-art.html         Dasha Zhukovas PostOligarch Life        By Caitlin Moscatello    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/style/eil
2023-03-03   2023-03-05 een-kelly-going-mental-podcast.html           Deeper Layers of a Life Lived Online    By Ezra Marcus           TX 9-286-255   2023-05-02




                                                                                Page 4931 of 5793
                        https://www.nytimes.com/2023/03/03/style/m
                        arissa-larochelle-julio-lopez-wedding-      A Proposal and a Wedding Well Suited for
2023-03-03   2023-03-05 gma.html                                    TV                                              By Tammy La Gorce         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/style/m
2023-03-03   2023-03-05 odern-love-i-gave-her-my-only-olive.html    Some Situations Bear Fruit but Not This One     By Henry Carroll          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/style/ni
                        co-norena-ariana-rueda-wedding-succulent- In Spain a Taste of Love and a Change of
2023-03-03   2023-03-05 bite.html                                   Heart                                           By Valeriya Safronova     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/t-                                                       By Adam Bradley Dominic
2023-03-03   2023-03-05 magazine/black-literary-canon.html          The New Black Cannon                            Chambers and Tajh Rust    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/t-
2023-03-03   2023-03-05 magazine/forgotten-rediscovered-art.html    The Comebacks                                   By Hanya Yanagihara       TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/03/t-
2023-03-03   2023-03-05 magazine/gucci-equestrian-shoulder-bag.html Gucci Gets Back in the Saddle                    By Lindsay Talbot        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/movies/ Tom Sizemore Intense Actor With a Troubled
2023-03-04   2023-03-05 tom-sizemore-dead.html                           Life Is Dead at 61                          By Richard Sandomir      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/busines The Heirs to Dilbert Emerge on TikTok and
2023-03-04   2023-03-05 s/dilbert-tiktok-office-humor.html               Instagram                                   By Lora Kelley           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/busines In Congress Socially Responsible Has
2023-03-04   2023-03-05 s/esg-socially-responsible-investing.html        Become Political                            By Jeff Sommer           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/busines
                        s/roxane-gay-work-friend-boss-
2023-03-04   2023-03-05 boundaries.html                                  Your Bosss Bathrobe Is Not Office Attire    By Roxane Gay            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/health/
2023-03-04   2023-03-05 bempedoic-acid-statin-cholesterol.html           Statin Substitute Cuts Heart Attack Risk    By Gina Kolata           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/health/t
2023-03-04   2023-03-05 ricuspid-valve-clip-leakage.html                 New Ways to Fix Hearts Forgotten Valve      By Gina Kolata           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/insider/
                        a-times-tv-critic-feels-authenticity-is-his-top-
2023-03-04   2023-03-05 responsibility.html                              Intrigued by Zombies in Fear of SelfEditing By Josh Ocampo           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/nyregio
2023-03-04   2023-03-05 n/angie-valentino-makeup-artist.html             Recharging With Mantras and Maple Syrup By Andrew Cotto              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/nyregio
                        n/pamela-smart-husband-killing-                  Woman at Center of Sensational 1990 Murder
2023-03-04   2023-03-05 clemency.html                                    Case Now Seeks Mercy                        By Corey Kilgannon       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/opinion Florida Is Trying To Take Away the
2023-03-04   2023-03-05 /desantis-florida-free-speech-bill.html          American Right to Speak Freely              By The Editorial Board   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/04/opinion
2023-03-04   2023-03-05 /venezuelan-migrants-border-la-bestia.html Migrants Risk It All on the Death Train    By Oscar B Castillo             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/realesta
                        te/the-odors-from-the-restaurant-downstairs- What Can I Do About the Odors Wafting Up
2023-03-04   2023-03-05 are-ruining-my-life.html                     From Downstairs                          By Ronda Kaysen                 TX 9-286-255   2023-05-02




                                                                                   Page 4932 of 5793
                        https://www.nytimes.com/2023/03/04/sports/b Coaches Log Overtime as Baseball Goes on
2023-03-04   2023-03-05 aseball/pitch-clock-coaches.html            the Clock                                    By Adam Elder                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/sports/b Morant to Be Away From Grizzlies at Least 2
2023-03-04   2023-03-05 asketball/ja-morant-grizzlies-video.html    Games                                        By Sopan Deb                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/style/he
2023-03-04   2023-03-05 rmes-bags-resale-used.html                  My Love of Your Bag Is Conditional           By Marisa Meltzer               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/us/abor Roes Fall Turns North Carolina Into
2023-03-04   2023-03-05 tion-north-carolina.html                    Destination                                  By Kate Kelly                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/us/cop-                                               By Sean Keenan and Joseph
2023-03-04   2023-03-05 city-atlanta-police-training.html           In the Woods A Flashpoint Over Policing      Goldstein                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/us/kent Storms and Tornadoes Sweep the South
2023-03-04   2023-03-05 ucky-tennessee-alabama-storms.html          Killing at Least 12 and Knocking Out Power By Amanda Holpuch                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/us/polit The Conways One a Trump Loyalist and One
2023-03-04   2023-03-05 ics/george-kellyanne-conway-divorce.html    a Critic Are Planning to Divorce             By Annie Karni                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/us/polit
                        ics/marianne-williamson-presidential-       Williamson Announces Bid for 2024
2023-03-04   2023-03-05 campaign.html                               Presidency Pushing Biden to Declare          By Reid J Epstein               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/us/polit Calling Arizona Inside the Panic That Roiled
2023-03-04   2023-03-05 ics/panic-fox-news-2020-election.html       Fox                                          By Peter Baker                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/us/polit Visiting Syria Top General Says US Troops
2023-03-04   2023-03-05 ics/syria-milley-isis-kurds-troops.html     Are Still Needed to Counter ISIS             By Helene Cooper                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/us/polit Trump Prepares For Long Fight As Rivals      By Shane Goldmacher Michael C
2023-03-04   2023-03-05 ics/trump-desantis-cpac-2024.html           Loom                                         Bender and Maggie Haberman      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/world/a After Covid Missteps China Lays Out Vision
2023-03-04   2023-03-05 sia/china-congress-xi-jinping.html          For Revived Economy                          By Chang Che                    TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/04/world/a Provincial Governor Shot Dead In an Attack
2023-03-04   2023-03-05 sia/provincial-governor-shot-philippines.html in the Philippines                        By Jason Gutierrez               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/world/a A Couples Risqu Posts Test Singapores
2023-03-04   2023-03-05 sia/singapore-telegram-couple.html            Limits When It Comes to Sex               By SuiLee Wee                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/world/a Mass Shooting in Thailand Tore Through
2023-03-04   2023-03-05 sia/thailand-daycare-massacre.html            Generations                               By Ryn Jirenuwat and SuiLee Wee TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/04/world/e Greeks Say Government Should Share Blame
2023-03-04   2023-03-05 urope/greek-crash-station-manager-court.html for a Deadly Train Crash                   By Emma Bubola                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/world/e
                        urope/shahida-raza-pakistani-soccer-         Migrants Shipwreck Near Italy Claimed
2023-03-04   2023-03-05 shipwreck-italy.html                         Professional Athlete From Pakistan         By Salman Masood and Mike Ives   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/world/e EU Diplomat Sees a New Beginning in the
2023-03-04   2023-03-05 urope/uk-eu-northern-ireland.html            UK                                         By Stephen Castle                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/world/e Above Ukraines Front Lines Whirring Relics By Carlotta Gall and Daniel
2023-03-04   2023-03-05 urope/ukraine-helicopters-russia.html        Battle On                                  Berehulak                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/world/e Fight for Bakhmut Turns Into a War for Vital
2023-03-04   2023-03-05 urope/ukraine-russia-war-bakhmut.html        Roads                                      By Andrew E Kramer               TX 9-286-255   2023-05-02




                                                                               Page 4933 of 5793
                        https://www.nytimes.com/2023/03/04/world/ In West Bank New Armed Groups Emerge            By Patrick Kingsley and Hiba
2023-03-04   2023-03-05 middleeast/west-bank-lions-den.html          and LongDormant Ones Stir                    Yazbek                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/                                              By Madeleine Schwartz Malika
                        03/magazine/notre-dame-cathedral-acoustics- The Quest to Restore Notre Dames Glorious Khurana Mika Grndahl and Yuliya
2023-03-04   2023-03-05 sound.html                                   Sound                                        ParshinaKottas                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/us/polit                                               By Michael C Bender Maggie
2023-03-05   2023-03-05 ics/donald-trump-campaign-2024.html          Trump Seeks to Block Pence From Testifying Haberman and Shane Goldmacher     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/us/polit Wrong on New Yorks Murder Rate on
2023-03-05   2023-03-05 ics/fact-check-trump-cpac.html               Afghanistan on Windmills and More            By Linda Qiu                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/busines
2023-03-05   2023-03-05 s/media/movie-theaters-ticket-prices.html    Suspense at the Movies What a Seat Will Cost By Brooks Barnes                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/busines Who Are You At the Office Couch Koala Or By Emma Goldberg and Aaron
2023-03-05   2023-03-05 s/office-work-personality.html               Cubicle Cat                                  Krolik                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/busines
2023-03-05   2023-03-05 s/remote-work-personality-tests.html         The Value Of Looking Beyond The Rsum         By Emma Goldberg                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/busines
                        s/the-week-in-business-battle-esg-           The Week in Business The Escalating Battle
2023-03-05   2023-03-05 congress.html                                Over ESG                                     By Marie Solis                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/insider/
2023-03-05   2023-03-05 patrolling-the-times.html                    Patrolling The Times                         By David W Dunlap               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/nyregio New York Drivers Make Electric Car
2023-03-05   2023-03-05 n/electric-vehicles-cars-nyc.html            Conversion                                   By Robin Shulman Ageros         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/us/put- Ohio Island Loves Ice Fishing but Somethings By Campbell Robertson and
2023-03-05   2023-03-05 in-bay-ohio-ice.html                         Missing Now                                  Madeleine Hordinski             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/us/repu Amid Trump Inquiry GOP Seeks Oversight of By Richard Fausset and Danny
2023-03-05   2023-03-05 blicans-district-attorneys-trump.html        Georgia Prosecutors                          Hakim                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/02/
                        10/headway/homelessness-mental-health-       30 People Tell Us What Homelessness Is       Interviews by Susan Shain and
2023-02-10   2023-03-06 us.html                                      Really Like                                  Aidan Gardiner                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/busines
2023-02-28   2023-03-06 s/economy/ukraine-war-animals.html           Longer Stays in Ukraines Animal Shelters     By Patricia Cohen               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/busines How Young People Save Living With Mom
2023-03-01   2023-03-06 s/adults-living-home-parents-saving.html     and Dad                                      By Isabella Simonetti           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/travel/f Sick of Flying Coach Try an Auction Bid For
2023-03-01   2023-03-06 rugal-travel-airline-auctions.html           a FirstClass Seat                            By Elaine Glusac                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/books/p
2023-03-02   2023-03-06 hillis-wheatley-david-waldstreicher.html     Book Tries To Put a Poet Into Context        By Jennifer Schuessler          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/theater/
2023-03-02   2023-03-06 public-obscenities-review.html               Mixing Business and Pleasure in a Quest      By Juan A Ramrez                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/busines Bernadette Carey Smith 83 Helped Pave Path
2023-03-03   2023-03-06 s/media/bernadette-carey-smith-dead.html     at The Times                                 By Neil Genzlinger              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/movies/
2023-03-03   2023-03-06 the-holly-review.html                        An Activist Both Tragic And Heroic           By Nicolas Rapold               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/theater/ Lechery and Gullible Innocence Make Toxic
2023-03-03   2023-03-06 1-1-review.html                              Bedfellows                                   By Naveen Kumar                 TX 9-286-255   2023-05-02



                                                                               Page 4934 of 5793
                                                                                                                 By Andrew Ross Sorkin Ravi
                                                                                                                 Mattu Bernhard Warner Sarah
                        https://www.nytimes.com/2023/03/04/busines Buffett Makes His Case In TrillionDollar      Kessler Michael J de la Merced
2023-03-04   2023-03-06 s/biden-buffett-debate-share-buybacks.html Debate Over Stock Buybacks                    Lauren Hirsch and Ephrat Livni       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/opinion
                        /credit-card-rewards-points-poor-interchange- Credit Card Points Are Being Paid For by the
2023-03-04   2023-03-06 fees.html                                     Poor                                          By Chenzi Xu and Jeffrey Reppucci TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/us/mich Its Disgusting Scammers Swoop In to Exploit
2023-03-04   2023-03-06 igan-state-shooting-fundraising-scam.html     Mass Shootings                                By Emily Schmall                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/us/penn
2023-03-04   2023-03-06 sylvania-woman-found-puerto-rico.html         Woman Missing for 3 Decades Is Found          By Eduardo Medina                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/climate
                        /united-nations-treaty-oceans-                Nations Agree on Language for Historic
2023-03-05   2023-03-06 biodiversity.html                             Treaty to Protect Ocean Life                  By Catrin Einhorn                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/world/a China Sets a PostCovid Agenda With Xi            By Chris Buckley Keith Bradsher
2023-03-05   2023-03-06 sia/china-xi-jinping-congress.html            Aiming for Growth and Power                   Vivian Wang and Chang Che         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/arts/dan
2023-03-05   2023-03-06 ce/review-agua-pina-bausch.html               Whimsical Work Loses Some Luster              By Gia Kourlas                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/arts/mu
2023-03-05   2023-03-06 sic/norma-la-traviata-met-oper-review.html Two Sopranos Two Very Different Impacts By Zachary Woolfe                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/arts/mu
2023-03-05   2023-03-06 sic/sza-sos-tour-review.html                  In Command Floating Above It All              By Jon Caramanica                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/arts/tele
2023-03-05   2023-03-06 vision/chris-rock-netflix.html                 Rocks Revenge Live and Imperfect             By Jason Zinoman                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/busines
                        s/gun-parts-identity-theft-buy-now-pay-       Tale of Gun Parts Identity Theft and the Ease
2023-03-05   2023-03-06 later.html                                    of Buy Now Pay Later                          By Matthew Goldstein              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/crossw
2023-03-05   2023-03-06 ords/daily-puzzle-2023-03-06.html             A Puzzle That Lets Nature Take Its Course     By Rachel Fabi                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/movies/ Ricou Browning 93 Raised Goose Bumps as
2023-03-05   2023-03-06 ricou-browning-dead.html                      the Gill Man                                  By Neil Genzlinger                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/nyregio OcasioCortez May Have Broken House Ethics
2023-03-05   2023-03-06 n/aoc-met-gala-house-ethics.html              Rules                                         By Sharon Otterman                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/obituari Judy Heumann Who Fueled a Revolution in
2023-03-05   2023-03-06 es/judy-heumann-dead.html                     Disability Rights Dies at 75                  By Alex Traub                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/opinion
2023-03-05   2023-03-06 /national-divorce-civil-war.html              Take Threats of National Divorce Seriously By David French                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/opinion
                        /tar-cate-blanchett-conductors-classical-
2023-03-05   2023-03-06 music.html                                    Why Are Conductors Upset About Tr             By John Mauceri                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/sports/a Verstappen Dominates in a NotSoGrand
2023-03-05   2023-03-06 utoracing/formula-1-race-bahrain.html         Season Opening                                By Andrew Das and Josh Katz       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/sports/b Madduxes Make Teaching Pitchers A
2023-03-05   2023-03-06 aseball/greg-mike-maddux-rangers.html         Laughing Matter                               By Scott Miller                   TX 9-286-255   2023-05-02




                                                                                 Page 4935 of 5793
                        https://www.nytimes.com/2023/03/05/sports/b Failing to Land Judge and Correa Giants
2023-03-05   2023-03-06 aseball/michael-conforto-giants.html        Focus on Whom They Have                      By James Wagner                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/05/sports/j Jerry Richardson ExNFL Player Who
2023-03-05   2023-03-06 erry-richardson-dead.html                   Founded Panthers Dies at 86                  By Ken Belson                    TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/05/sports/n
                        caabasketball/hansel-enmanuel-northwestern-
2023-03-05   2023-03-06 state.html                                  An Ordinary Player Whos Anything But         By Billy Witz                    TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/05/sports/o
                        lympics/jordan-stolz-speedskating-world-
2023-03-05   2023-03-06 championships.html                          Wisconsin Teenager Dazzles the Dutch         By Kevin Draper                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/05/sports/u Unfinished Business Leaves a Dark Cloud
2023-03-05   2023-03-06 fc-jon-jones-ciryl-gane-ngannou.html        Over Joness UFC Championship                 By Emmanuel Morgan               TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/05/technol                                               By Adam Satariano Cade Metz and
                        ogy/artificial-intelligence-breast-cancer-                                               Akos Stiller For The New York
2023-03-05   2023-03-06 detection.html                              Deploying AI To Find Cancer Doctors Miss Times                                TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/05/us/mari With Mock Battles Marines Prepare for a
2023-03-05   2023-03-06 nes-china-pacific.html                      Pacific Island Fight                         By John Ismay                    TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/05/us/ohio- Second Train Derails in Ohio Raising New     By Eduardo Medina and Claire
2023-03-05   2023-03-06 train-derailment.html                       Safety Concerns                              Fahy                             TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/05/us/polit Voting Rights Still Under Assault Biden Says
2023-03-05   2023-03-06 ics/biden-voting-rights-selma.html          on Selma Anniversary                         By Katie Rogers                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/05/us/polit
                        ics/house-republicans-budget-travel-        House Committee Budgets Swell as             By Annie Karni and Catie
2023-03-05   2023-03-06 campaign.html                               Republicans Plan Road Shows                  Edmondson                        TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/05/us/polit Presidency Not in the Plans Of Maryland
2023-03-05   2023-03-06 ics/larry-hogan-president-not-running.html  ExGovernor                                   By Maggie Astor                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/05/us/ron- Allies in Florida Are Set to Enact DeSantis
2023-03-05   2023-03-06 desantis-florida-legislature.html           Agenda                                       By Patricia Mazzei               TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/05/us/tenn Tennessee Law Creates Doubts Over Drag        By Rick Rojas Emily Cochrane Ava
2023-03-05   2023-03-06 essee-law-drag-shows.html                   Shows                                        Sasani and Michael Paulson       TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/05/world/a
2023-03-05   2023-03-06 sia/ukraine-south-korea-arms.html           With Caution South Korea Arms Globe          By Choe SangHun                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/05/world/c
                        anada/toronto-restaurants-immigration-      Strip Malls Hold a Treasure Trove of
2023-03-05   2023-03-06 multiculturalism.html                       Multicultural Cuisine                        By Norimitsu Onishi              TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/05/world/e
2023-03-05   2023-03-06 urope/trench-warfare-ukraine-frontline.html Life on the Farthest Edge of the Front Line    By Tyler Hicks and Marc Santora TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/05/world/e Russian Forces Attack Bakhmut From 3            By Matthew Mpoke Bigg Vivek
2023-03-05   2023-03-06 urope/ukraine-russia-war-bakhmut.html       Angles as Battle Intensifies                   Shankar and Andrew E Kramer      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/world/ Does Easing Sanctions for Quake Relief Help
2023-03-05   2023-03-06 middleeast/us-syria-assad-sanctions.html    Syria or alAsssad                              By Raja Abdulrahim               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/us/atlan
2023-03-06   2023-03-06 ta-cop-city-protests.html                   Protesters Burn Vehicles at Police Center Site By Sean Keenan and Eliza Fawcett TX 9-286-255   2023-05-02




                                                                                Page 4936 of 5793
                        https://www.nytimes.com/2023/03/06/arts/tele
                        vision/whats-on-tv-this-week-perry-mason-
2023-03-06   2023-03-06 and-the-oscars.html                          This Week on TV                              By Shivani Gonzalez                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/busines Youre Now a Manager Forget About
2023-03-06   2023-03-06 s/economy/managers-overtime-pay.html         Overtime Pay                                 By Noam Scheiber                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/nyregio In New York Facing Eviction And Finding
2023-03-06   2023-03-06 n/homelessness-housing-voucher.html          Help Lacking                                 By Mihir Zaveri                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/sports/p Slap Fighting Brazenly Ignores Dangers to
2023-03-06   2023-03-06 ower-slap-league-dana-white.html             Brain                                        By Kurt Streeter                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/us/polit Governing by Grievance The MAGAfication
2023-03-06   2023-03-06 ics/north-idaho-college-republicans.html     of North Idaho College                       By Charles Homans                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/world/e Nearly Encircled Ukrainian Troops Push         By Carlotta Gall and Daniel
2023-03-06   2023-03-06 urope/ukraine-bakhmut-battle.html            Back                                         Berehulak                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/25/well/mi While Youre at Rest REM Sleep Gets to
2023-02-25   2023-03-07 nd/rem-sleep-benefits.html                   Work                                         By Carolyn Todd                    TX 9-286-255   2023-05-02

                        https://www.nytimes.com/interactive/2023/02/                                              By Tristan Spinski and Josephine
2023-02-28   2023-03-07 28/science/nature-winter-snow-photos.html How Nature Comes Alive in the Winter            Sedgwick                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/science Ancient DNA Reveals History of
2023-03-01   2023-03-07 /dna-hunter-gatherers-europe.html            HunterGatherers                              By Carl Zimmer                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/well/eat
2023-03-01   2023-03-07 /olive-oil-health-benefits.html              Does That Latte Need a Shot of Olive Oil     By Dani Blum                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/well/eat
2023-03-01   2023-03-07 /statins-supplements-cholesterol.html        Can I Skip Statins and Just Take Supplements By Dana G Smith                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/01/well/m
2023-03-01   2023-03-07 ove/strength-exercises-aging.html            Five Exercises to Keep You Going             By Connie Chang                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/health/c Premature Births Fell During Lockdowns
2023-03-02   2023-03-07 ovid-premature-birth.html                    Study Finds                                  By Elizabeth Preston               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/science
2023-03-02   2023-03-07 /hubble-spacex-starlink.html                 Invasion of the Celestial Photobombers       By Shannon Hall                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/arts/gor Gordon Pinsent 92 Actor Known For Playing
2023-03-04   2023-03-07 don-pinsent-dead.html                        TwinkleEyed Rogues                           By Ian Austen                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/busines                                                By Jason Karaian and Jeanna
2023-03-04   2023-03-07 s/economy/premium-prices-inflation.html      May I Interest You in Something Pricier      Smialek                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/opinion
                        /ford-tesla-bluecruise-self-driving-remote-  A 120YearOld Company Is Leaving Tesla in
2023-03-04   2023-03-07 work.html                                    the Dust                                     By Ezra Dyer                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/arts/dan
                        ce/review-awilda-sterling-duprey-lacks-      Lively Conversation Between Forces of
2023-03-05   2023-03-07 criticality.html                             Nature                                       By Brian Seibert                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/books/a
2023-03-05   2023-03-07 lice-winn-novel-memoriam.html                The School Paper As War Journal              By Elizabeth A Harris              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/us/exxo US Sues Exxon Mobil Over Nooses
2023-03-05   2023-03-07 n-lawsuit-nooses-louisiana.html              Discovered At a Louisiana Refinery           By Emily Schmall                   TX 9-286-255   2023-05-02




                                                                                 Page 4937 of 5793
                        https://www.nytimes.com/2023/03/05/theater/
2023-03-06   2023-03-07 the-trees-review-playwrights-horizons.html Staying Put as the World Turns                  By Elisabeth Vincentelli           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/us/turb
2023-03-06   2023-03-07 ulence-passenger-death.html                 Passenger In Small Jet Is Killed In Turbulence By Livia AlbeckRipka               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/world/a South Korea Concedes on Bitter War Dispute
2023-03-06   2023-03-07 sia/south-korea-japan-forced-labor.html     Prioritizing Relations With Japan              By Choe SangHun                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/arts/des
2023-03-06   2023-03-07 ign/desert-x-biennial-palm-springs.html     Making Social Justice Paramount                By Jori Finkel                     TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/06/arts/mu Gary Rossington Original Guitarist for Lynyrd
2023-03-06   2023-03-07 sic/gary-rossington-dead-lynyrd-skynyrd.html Skynyrd Dies at 71                           By Neil Genzlinger                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/arts/mu
                        sic/morgan-wallen-one-thing-at-a-time-       A Country Superstars Big and Predictable
2023-03-06   2023-03-07 review.html                                  Return                                       By Jon Pareles                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/arts/mu
2023-03-06   2023-03-07 sic/tod-machover-overstory-overture.html     In Their Opera The Forest Is the Chorus      By Thomas May                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/arts/tele
                        vision/review-history-of-the-world-part-
2023-03-06   2023-03-07 ii.html                                      Humanitys Past Ripe for Further Ridicule     By James Poniewozik                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/busines JetBlue Says It Expects Justice Dept Lawsuit
2023-03-06   2023-03-07 s/jetblue-spirit-merger.html                 Over Merger With Spirit Airlines             By Niraj Chokshi                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/busines
                        s/toblerone-chocolate-switzerland-           As Toblerone Shifts Production a Swiss Peak
2023-03-06   2023-03-07 matterhorn.html                              Will Disappear From Packaging                By Jenny Gross                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/nyregio New York Mayor Tells Shoppers to Drop
2023-03-06   2023-03-07 n/eric-adams-theft-masks-nyc.html            Masks When Entering Stores                   By Liam Stack                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/nyregio                                                By Kate Christobek Ben Protess
                        n/hope-hicks-trump-manhattan-                Trump Aide Meets With Manhattan DA as        Jonah E Bromwich and William K
2023-03-06   2023-03-07 prosecutors.html                             Inquiry Intensifies                          Rashbaum                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/nyregio City Shortage Of Workers Hurts Service
2023-03-06   2023-03-07 n/nyc-workers-hiring-vacancies.html          Report Says                                  By Jeffery C Mays                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/opinion
2023-03-06   2023-03-07 /chicago-crime-democrats-masks.html          Lightfoots Wipeout Is a Lesson for Democrats By Gail Collins and Bret Stephens   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/sports/b Future Arrives For the Orioles And He Goes
2023-03-06   2023-03-07 aseball/adley-rutschman-orioles.html         Right to the Top                             By Tyler Kepner                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/sports/b
                        aseball/czech-republic-world-baseball-       A Big League Slugger Looms This Czech        By David Waldstein and Nina
2023-03-06   2023-03-07 classic.html                                 Firefighter Is Ready                         Riggio                              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/sports/b Flailing LowBudget Team Turns To
2023-03-06   2023-03-07 aseball/kansas-city-royals.html              Successful Ones for Its Leadership           By Tyler Kepner                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/sports/n
                        caabasketball/pac12-tournament-washington- Pac12 Celebrates Parity on the Court Off It
2023-03-06   2023-03-07 state-ucla.html                              Big Adjustments Are Looming                  By Billy Witz                       TX 9-286-255   2023-05-02




                                                                                  Page 4938 of 5793
                        https://www.nytimes.com/2023/03/06/sports/t
                        ennis/djokovic-biden-miami-open-covid-      Push to Get Djokovic Into the US Goes as Far
2023-03-06   2023-03-07 vaccine.html                                as the White House                           By Matthew Futterman             TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/06/style/m Author Settles His Defamation Lawsuit
2023-03-06   2023-03-07 edia-men-list-settlement-moira-donegan.html Against Originator of Media Men List        By Jessica Testa                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/06/technol Biden Considers Backing TikTok Oversight
2023-03-06   2023-03-07 ogy/white-house-congress-on-tiktok.html     Bill                                        By David McCabe                   TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/06/theater/
2023-03-06   2023-03-07 the-outsiders-review-la-jolla-playhouse.html Singing While They Stay Gold               By Alexis Soloski                 TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/06/travel/a
2023-03-06   2023-03-07 irlines-family-seating-dashboard.html        A New Dashboard Simplifies Family Travel   By Isabella Kwai                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/06/us/alex- Not Knowing Is the Worst Thing Brother of
2023-03-06   2023-03-07 murdaugh-brother-randy.html                  Murdaugh Says                              By Nicholas BogelBurroughs       TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/06/us/polit                                             By Sheryl Gay Stolberg and Emily
2023-03-06   2023-03-07 ics/bird-flu-vaccine-chickens.html           US Considers Bird Flu Shots For Chickens   Anthes                           TX 9-286-255      2023-05-02

                        https://www.nytimes.com/2023/03/06/us/polit Bipartisan Votes Helped to Feed Escalating
2023-03-06   2023-03-07 ics/federal-debt-republicans-democrats.html Debt                                            By Jim Tankersley               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/us/polit US Contests Mexican Ban On Genetically
2023-03-06   2023-03-07 ics/mexico-ban-us-corn.html                      Altered Corn                               By Ana Swanson and Linda Qiu    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/us/polit In Hearing About Jan 6 Video Prosecutors
2023-03-06   2023-03-07 ics/proud-boys-trial-jan-6-videos.html           Say Rioters Were Tools of Proud Boys       By Alan Feuer and Zach Montague TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/us/polit
                        ics/starbucks-bernie-sanders-howard-             Sanders Sets Vote to Open Labor Inquiry Of
2023-03-06   2023-03-07 schultz.html                                     Starbucks                                  By Stephanie Lai                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/us/polit
                        ics/supreme-court-major-questions-               The Curious Rise of a Court Doctrine That
2023-03-06   2023-03-07 doctrine.html                                    Threatens Bidens Agenda                    By Adam Liptak                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/us/polit TrumpLinked Lawyer for Jan 6 Witness Faces
2023-03-06   2023-03-07 ics/trump-lawyer-ethics-jan-6.html               Call for Disbarment                        By Charlie Savage               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/world/a
                        sia/india-caste-discrimination-dalit-journalist- Giving Voice to the Oppressed a Journalist
2023-03-06   2023-03-07 mooknayak.html                                   Takes Aim at Caste Injustices              By Karan Deep Singh             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/world/e
                        urope/belarus-opposition-leader-                 Exiled Opposition Leader Is Sentenced in
2023-03-06   2023-03-07 tsikhanouskaya.html                              Belarus                                    By Matthew Mpoke Bigg           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/world/e
2023-03-06   2023-03-07 urope/estonia-election.html                      Estonia Chief Backing Kyiv Is Reelected    By Andrew Higgins               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/world/e One Russians Path From Quiet Life to             By Neil MacFarquhar and Milana
2023-03-06   2023-03-07 urope/russia-soldier-casualties.html             Trenches                                   Mazaeva                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/world/
                        middleeast/erdogan-turkey-election-              Opposition Rival Looks to Unseat Turkeys   By Ben Hubbard and Gulsin
2023-03-06   2023-03-07 kilicdaroglu.html                                Leader                                     Harman                          TX 9-286-255   2023-05-02



                                                                                Page 4939 of 5793
                        https://www.nytimes.com/2023/03/06/world/ Currency Plunges Deepening Irans Economic
2023-03-06   2023-03-07 middleeast/iran-economy-currency-rial.html Crisis                                   By Vivian Yee                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/world/ Israeli Military Has Misgivings On Court  By Ronen Bergman and Patrick
2023-03-06   2023-03-07 middleeast/israel-military-judiciary.html  Plan                                     Kingsley                               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/opinion
                        /city-walkability-culture-wars-conspiracy- City Life Culture Wars and Conspiracy
2023-03-07   2023-03-07 theories.html                              Theories                                 By Paul Krugman                        TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/06/us/polit US Said to Weigh Reviving Detention Of        By Eileen Sullivan and Zolan
2023-03-07   2023-03-07 ics/biden-immigration-family-detention.html Migrant Families                              KannoYoungs                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/us/polit
2023-03-07   2023-03-07 ics/jan-6-capitol-attack-fugitives.html       Defendant Disappears Before Trial Over Riot By Alan Feuer                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/us/texa Denied Abortions Five Women in Texas Sue
2023-03-07   2023-03-07 s-abortion-ban-suit.html                      Over States Ban                             By Kate Zernike                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/world/e Do Not Withdraw From Bakhmut Kyivs Top
2023-03-07   2023-03-07 urope/bakhmut-ukraine-russia-siege.html       Generals Advise Zelensky                    By Andrew E Kramer               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/busines
                        s/norfolk-southern-derailment-east-palestine-                                             By Peter Eavis Mark Walker and
2023-03-07   2023-03-07 regulation.html                               Gaps in Rules Let Railroads Define Safety   Niraj Chokshi                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/health/ Alternatives to Testing Drugs on Animals
2023-03-07   2023-03-07 drug-animals-testing.html                     Take Shape                                  By Emily Anthes                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/insider/
2023-03-07   2023-03-07 spring-training.html                          Spring Games Count for a Reporter           By Terence McGinley              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/01/dining/r
2023-03-01   2023-03-08 achel-antonoff-pasta-puffer-winter-coat.html Low in Carbs but Very Conspicuous              By Priya Krishna               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/dining/f
2023-03-03   2023-03-08 ood-toys.html                                In the Toy Kitchen Learning Is on the Menu     By Christina Morales           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/dining/
2023-03-03   2023-03-08 spring-winter-vegetarian-soups.html          Vegetarian Soups for Winter Into Spring        By Melissa Clark               TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/03/theater/
2023-03-03   2023-03-08 hercules-review-paper-mill-playhouse.html A Disney Hero Tries To Go the Distance            By Juan A Ramrez               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/arts/cha
2023-03-06   2023-03-08 im-grade-yiddish-novelist.html              The Other Yiddish Novelist                      By Joseph Berger               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/arts/des David Lance Goines Whose Prints Were All
2023-03-06   2023-03-08 ign/david-lance-goines-dead.html            Over Berkeley Dies at 77                        By Penelope Green              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/06/arts/mu SpanishLanguage Album Is Making Chart
2023-03-06   2023-03-08 sic/karol-g-manana-sera-bonito-billboard.html History                                       By Ben Sisario                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/arts/mu
                        sic/vienna-philharmonic-christian-thielemann-
2023-03-06   2023-03-08 carnegie-hall.html                            Tending the Classics With a Perfect Partner   By Zachary Woolfe              TX 9-286-255   2023-05-02




                                                                                   Page 4940 of 5793
                        https://www.nytimes.com/2023/03/06/dining/
2023-03-06   2023-03-08 drinks/designer-luxury-ice.html              If Just Frozen Isnt Enough Try Luxury Ice By Becky Hughes                  TX 9-286-255        2023-05-02
                        https://www.nytimes.com/2023/03/06/dining/
2023-03-06   2023-03-08 drinks/how-to-make-specialty-ice.html        Mold the Future of Specialty Drinks       By The New York Times            TX 9-286-255        2023-05-02
                        https://www.nytimes.com/2023/03/06/technol Gen Z Is Mystified My Instagram Posts Are By Kalley Huang and Sheera
2023-03-06   2023-03-08 ogy/gen-z-instagram-facebook.html            Also on Facebook                          Frenkel                          TX 9-286-255        2023-05-02
                        https://www.nytimes.com/2023/03/06/theater/ The Film Studio A24 Buys the Cherry Lane
2023-03-06   2023-03-08 a24-cherry-lane.html                         Theater                                   By Michael Paulson               TX 9-286-255        2023-05-02
                        https://www.nytimes.com/2023/03/06/us/calif Chain Installers Are in Demand In Snowy
2023-03-06   2023-03-08 ornia-tire-chain-installers.html             Sierra                                    By Eliza Fawcett                 TX 9-286-255        2023-05-02
                        https://www.nytimes.com/interactive/2023/03/
2023-03-06   2023-03-08 06/climate/california-zombie-forests.html    Mapping Californias Zombie Forests        By Elena Shao                    TX 9-286-255        2023-05-02
                        https://www.nytimes.com/2023/03/06/science Japanese Rocket Is Destroyed During Test    By Michael Roston Ben Dooley and
2023-03-07   2023-03-08 /japan-rocket-h3-launch.html                 Flight                                    Hisako Ueno                      TX 9-286-255        2023-05-02
                        https://www.nytimes.com/2023/03/07/arts/des
                        ign/david-chipperfield-pritzker-prize-
2023-03-07   2023-03-08 architecture.html                            Design Thats Normal Over Novel            By Robin Pogrebin                TX 9-286-255        2023-05-02
                        https://www.nytimes.com/2023/03/07/arts/mu
2023-03-07   2023-03-08 sic/woman-conductor-claire-gibault.html      Battling a gender barrier                 By Farah Nayeri                  TX 9-286-255        2023-05-02
                        https://www.nytimes.com/2023/03/07/arts/tele
2023-03-07   2023-03-08 vision/the-last-of-us-craig-mazin.html       Breaking Free to Redefine Himself         By John Koblin                   TX 9-286-255        2023-05-02
                        https://www.nytimes.com/2023/03/07/books/o
2023-03-07   2023-03-08 scar-wars-academy-awards-history.html        This Fellow Oscar Inspires Two More Tomes By Alexandra Jacobs              TX 9-286-255        2023-05-02

                        https://www.nytimes.com/2023/03/07/busines Biden Will Seek Increase in Tax as Medicare By Jim Tankersley and Margot
2023-03-07   2023-03-08 s/biden-budget-medicare-tax-increase.html     Fix                                           SangerKatz                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/busines Fed Sees Rates Pushing Higher Than
2023-03-07   2023-03-08 s/economy/fed-powell-interest-rates.html      Expected                                      By Jeanna Smialek                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/busines
                        s/economy/federal-reserve-inflation-interest- If Central Bank Seems to Be Acting Coy Its to
2023-03-07   2023-03-08 rates.html                                    Keep Its Options Open                         By Jeanna Smialek                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/busines Musk Says Twitters Finances Are Improving
2023-03-07   2023-03-08 s/elon-musk-twitter-finances.html             Though Glitches Are on the Rise               By Ryan Mac                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/busines Awash in Asphalt and Mindful of Societal
2023-03-07   2023-03-08 s/fewer-parking-spots.html                    Woes Cities Rethink Parking Needs             By Jane Margolies                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/busines
                        s/justice-department-jetblue-spirit-          Justice Dept Sues to Block JetBlues Bid to
2023-03-07   2023-03-08 merger.html                                   Acquire Spirit Airlines                       By Niraj Chokshi                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/busines
                        s/ntsb-norfolk-southern-safety-               NTSB Will Investigate Norfolk Southerns
2023-03-07   2023-03-08 investigation.html                            Safety Practices After Rail Accidents         By Mark Walker and Peter Eavis   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/busines                                                  By Maureen Farrell Benjamin
2023-03-07   2023-03-08 s/wework-softbank-investors-debt.html         WeWork Seeks Cash For Stability               Mullin and Peter Eavis           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/climate Senates Lonely Voice on Warming Gains a
2023-03-07   2023-03-08 /sheldon-whitehouse-climate-senator.html      Powerful Perch                                By Coral Davenport               TX 9-286-255   2023-05-02



                                                                                  Page 4941 of 5793
                        https://www.nytimes.com/2023/03/07/dining/f Why Is a Reuben Called a Reuben A Linguist
2023-03-07   2023-03-08 ood-words-etymology.html                      Takes a Look                               By Kim Severson                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/dining/ Principe From Two NoMad Alumni Opens in
2023-03-07   2023-03-08 nyc-restaurant-news.html                      SoHo                                       By Florence Fabricant           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/dining/
2023-03-07   2023-03-08 okiboru-restaurant-review.html                Wait Pay Dip Slurp and Walk Out Happy      By Pete Wells                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/dining/
                        where-to-celebrate-your-birthday-in-your-30s-
2023-03-07   2023-03-08 and-more-reader-questions.html                Big Events and That Certain Sandwich Roll By Nikita Richardson             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/health/l Gastrointestinal Problems Are Linked to Long
2023-03-07   2023-03-08 ong-covid-stomach-pain-acid-reflux.html       Covid                                      By Pam Belluck                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/movies/
2023-03-07   2023-03-08 all-quiet-on-the-western-front-oscars.html    Could All Quiet Sneak In as Best Picture   By Jason Bailey                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/nyregio To Address Migrant Surge New York City Is
2023-03-07   2023-03-08 n/migrant-crisis-nyc.html                     Creating A New Agency and Center           By Jeffery C Mays               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/nyregio
                        n/sayfullo-saipov-death-penalty-bike-path-    Lawyers Argue Over Death Penalty for       By Lola Fadulu and Benjamin
2023-03-07   2023-03-08 attacks.html                                  BikePath Attacker                          Weiser                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/opinion
2023-03-07   2023-03-08 /joe-biden-medicare.html                      My Plan to Extend Medicare                 By Joseph R Biden Jr            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/opinion Rikers Is Already Awful and Its Worse if
2023-03-07   2023-03-08 /rikers-island-transgender.html               Youre Trans                                By Dana Wax                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/opinion A Trench Is a Place With a Special Energy I
2023-03-07   2023-03-08 /ukraine-war-trench-frontline.html            Should Know                                By Yegor Firsov                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/science
2023-03-07   2023-03-08 /moon-time-zone.html                          Call for Order as Moonshots Multiply       By Claire Fahy                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/sports/f Giants Quarterbacks ProveIt Year Earns Him
2023-03-07   2023-03-08 ootball/giants-daniel-jones-contract.html     a Guaranteed 82 Million                    By Emmanuel Morgan              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/sports/s
                        occer/chelsea-dortmund-champions-             Chelsea Manages to Rescue Its Manager for
2023-03-07   2023-03-08 league.html                                   Now                                        By Rory Smith                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/sports/s
                        occer/liverpool-tickets-champions-league-
2023-03-07   2023-03-08 final.html                                    Refunds Offered For Crush At Final         By Andrew Das and Tariq Panja   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/sports/t Womens Tour Hoping to Close Cash Gap
2023-03-07   2023-03-08 ennis/wta-cvc.html                            Gets 150 Million Infusion                  By Christopher Clarey           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/us/okla Oklahoma Votes Down Recreational
2023-03-07   2023-03-08 homa-marijuana-ballot.html                    Marijuana Despite Embrace of Medical Use By J David Goodman                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/us/polit
                        ics/ben-savage-boy-meets-world-california- Sitcom Star Seeks to Fill Schiffs Seat In
2023-03-07   2023-03-08 congress.html                                 Congress                                   By Derrick Bryson Taylor        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/us/polit South Korean President Invited by Biden to
2023-03-07   2023-03-08 ics/biden-south-korea-state-visit.html        US                                         By Katie Rogers                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/us/polit Hearing on Covids Origins Promises Politics By Sheryl Gay Stolberg and
2023-03-07   2023-03-08 ics/covid-lab-leak-house-hearing.html         and Substance                              Benjamin Mueller                TX 9-286-255   2023-05-02



                                                                                Page 4942 of 5793
                        https://www.nytimes.com/2023/03/07/us/polit Moodys Warns DebtLimit Fight Poses
2023-03-07   2023-03-08 ics/debt-default-economy.html               Dangers to US Economy                        By Jim Tankersley                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/us/polit Some GOPLed States Leaving Bipartisan
2023-03-07   2023-03-08 ics/gop-voter-registration-fraud-eric.html  Group That Tends to Voter Rolls              By Neil Vigdor                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/us/polit Pitching Debt Limit as Leverage in Culture
2023-03-07   2023-03-08 ics/josh-brecheen-oklahoma-debt.html        Fight                                        By Catie Edmondson                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/us/polit
                        ics/nord-stream-pipeline-sabotage-                                                       By Adam Entous Julian E Barnes
2023-03-07   2023-03-08 ukraine.html                                Clues Emerge In Bid to Solve Pipeline Attack and Adam Goldman                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/us/polit Justices Hint At Passing On a Pair Of Big
2023-03-07   2023-03-08 ics/supreme-court-voting-immigration.html Cases                                          By Adam Liptak                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/us/polit Trump Vow of Retribution Foretells a 2nd     By Maggie Haberman and Shane
2023-03-07   2023-03-08 ics/trump-2024-president.html               Term of Spite                                Goldmacher                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/world/a
                        frica/eritrea-almaz-negash-african-
2023-03-07   2023-03-08 diaspora.html                               We all rise together                         By Eilene Zimmerman               TX 9-286-255   2023-05-02
                                                                                                                 By Natalie Kitroeff Maria
                        https://www.nytimes.com/2023/03/07/world/a 2 Americans Taken in Mexico Are Found         AbiHabib Jack Nicas and Jacey
2023-03-07   2023-03-08 mericas/americans-kidnapped-mexico.html     Dead 2 Are Found Alive                       Fortin                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/world/a Spying by Mexico Raises Fears of Military     By Natalie Kitroeff and Ronen
2023-03-07   2023-03-08 mericas/mexico-military-surveillance.html   State                                        Bergman                           TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/07/world/a
2023-03-07   2023-03-08 sia/architect-kellogg-india-girls-school.html An architect who is designing for good    By Shivani Vora                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/world/a
2023-03-07   2023-03-08 sia/bangladesh-rohingya-camp-fire.html        Fire Adds to Woes of Rohingya Exiles      By Saif Hasnat and Alex Travelli   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/world/a Chinas Leader With Rare Bluntness Accuses
2023-03-07   2023-03-08 sia/china-us-xi-jinping.html                  the US of Containment                     By Keith Bradsher                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/world/a A Pakistani responding to Pakistans dire
2023-03-07   2023-03-08 sia/pakistan-humanitarian-aid-baloch.html     needs                                     By Claudia Dreifus                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/world/e A Clash on Pensions and What It Is to Be
2023-03-07   2023-03-08 urope/france-retirement-macron.html           French                                    By Catherine Porter                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/07/world/e More Than a Million Strike but a Stalemate   By Catherine Porter and Aurelien
2023-03-07   2023-03-08 urope/macron-france-retirement-protests.html With Macron Hardens                        Breeden                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/world/e
                        urope/matt-hancock-whatsapp-uk-covid-        Juicy Nuggets but No Surprises About UK
2023-03-07   2023-03-08 lockdowns.html                               Covid Policy                               By Mark Landler                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/world/e
                        urope/moldova-president-maia-sandu-
2023-03-07   2023-03-08 russia.html                                  In Moldova a leader with a war next door   By Celestine Bohlen                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/07/world/e
2023-03-07   2023-03-08 urope/russia-timchenko-meduza-putin.html Evading Putins censorship                      By Alison Smale                    TX 9-286-255   2023-05-02




                                                                                Page 4943 of 5793
                        https://www.nytimes.com/2023/03/07/world/e British Plan Tries to Stop Crossings by Small
2023-03-07   2023-03-08 urope/uk-migration-asylum.html              Boats                                        By Megan Specia                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/world/e
                        urope/ukraine-zaporizhzhia-nuclear-power- Nuclear Plant May Be Left Inoperable By
2023-03-07   2023-03-08 plant.html                                  Russians                                     By Matthew Mpoke Bigg             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/world/
                        middleeast/iraq-lloyd-austin-us-invasion-
2023-03-07   2023-03-08 anniversary.html                            US Defense Secretary Visits Baghdad          By Alissa J Rubin                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/world/
                        middleeast/israel-judiciary-compromise-     Secret Talks Seek Accord On Picking Israeli
2023-03-07   2023-03-08 meetings.html                               Judges                                       By Patrick Kingsley               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/world/ 6 Palestinians Killed in Israeli Raid in West
2023-03-07   2023-03-08 middleeast/west-bank-israel-raid.html       Bank                                         By Isabel Kershner                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/article/cop-city-   The Plan Behind Cop City And Why Critics
2023-03-07   2023-03-08 atlanta-protests.html                       Oppose It                                    By Adeel Hassan and Sean Keenan TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/07/busines Messages Shed Light On Debate At Fox          By Jeremy W Peters and Katie
2023-03-08   2023-03-08 s/media/fox-dominion-2020-election.html     News                                         Robertson                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/busines Walgreens Under Fire for Not Offering
2023-03-08   2023-03-08 s/walgreens-abortion-pill.html              Abortion Pill in 21 States                   By Pam Belluck and Julie Creswell TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/nyregio ExOfficers Plead Guilty For Abusing Sick
2023-03-08   2023-03-08 n/rikers-officers-sick-leave-fraud.html     Leave                                        By Ed Shanahan                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/opinion American Jews You Have to Choose Sides on
2023-03-08   2023-03-08 /benjamin-netanyahu-israel-protests.html    Israel                                       By Thomas L Friedman              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/sports/b
2023-03-08   2023-03-08 aseball/cuba-world-baseball-classic.html    Some Defectors Can Play For Cuba             By James Wagner                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/technol FTC Steps Up Investigation of Twitter Data By Kate Conger Ryan Mac and
2023-03-08   2023-03-08 ogy/ftc-twitter-investigation-privacy.html  Practices and Seeks Musks Testimony          David McCabe                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/us/flori Florida Aims To Prohibit Abortions At Six    By David W Chen and Patricia
2023-03-08   2023-03-08 da-abortion-ban-republicans.html            Weeks                                        Mazzei                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/us/polit
2023-03-08   2023-03-08 ics/missouri-gun-law.html                   Law to Block Gun Control Ruled Illegal       By Glenn Thrush                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/us/repu Republicans Split Over Carlsons False         By Luke Broadwater and Stephanie
2023-03-08   2023-03-08 blicans-tucker-carlson-jan-6.html           Portrayal of Jan 6 While Police Condemn It Lai                                 TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/07/world/e Bakhmut Is Mercenary Groups Last Stand       By Andrew E Kramer and Anatoly
2023-03-08   2023-03-08 urope/bakhmut-ukraine-russia-wagner.html Ukraine Claims                                 Kurmanaev                      TX 9-286-255       2023-05-02
                        https://www.nytimes.com/2023/03/08/insider/
                        in-western-ukraine-far-from-the-battlefield-
2023-03-08   2023-03-08 but-not-the-war.html                         Far From the Battlefield but Not the War   By Megan Specia                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/08/world/e Kyiv Is Running Out of Shells So Fast EU
2023-03-08   2023-03-08 urope/ukraine-eu-shells-ammunition.html      Proposes Buying Them Directly              By Steven Erlanger               TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/01/t-
                        magazine/sahadis-middle-eastern-new-york- A Cornerstone of Middle Eastern Comfort
2023-03-01   2023-03-09 grocery.html                                 Food in Brooklyn                           By Reggie Nadelson               TX 9-286-255     2023-05-02




                                                                                 Page 4944 of 5793
                        https://www.nytimes.com/2023/03/02/style/ev
                        erything-everywhere-all-at-once-props-
2023-03-02   2023-03-09 auction.html                                 Everything Everywhere All Up for Auction    By Callie Holtermann          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/books/ Maryse Cond Still Cant Resist The Call to
2023-03-06   2023-03-09 maryse-conde-books.html                      Write                                       By Anderson Tepper            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/opinion Bolsonaro May Be Gone but Brazil Is Still
2023-03-06   2023-03-09 /brazil-military-bolsonaro.html              Under Threat                                By Vanessa Barbara            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/opinion The Party of Family Values Should Truly
2023-03-06   2023-03-09 /republican-family-policy.html               Value Families                              By Patrick T Brown            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/style/ba
2023-03-06   2023-03-09 lenciaga-paris.html                          Balenciaga Avoids the Noise                 By Vanessa Friedman           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/style/da
2023-03-06   2023-03-09 ting-men-with-podcasts.html                  On Dating Apps Podcast Bros Find Dead Air   By Gina Cherelus              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/style/pa
2023-03-06   2023-03-09 ris-shopping-guide.html                      Buy Something in Paris Then Brag            By Marisa Meltzer             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/theater/
2023-03-06   2023-03-09 the-best-we-could-mtc-review.html            Directions for the Whole Family to Follow   By Naveen Kumar               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/
                        06/upshot/balancing-budget-painful-spending- The Programs Youd Have to Cut to Balance    By Alicia Parlapiano Margot
2023-03-06   2023-03-09 cuts.html                                    the Budget                                  SangerKatz and Josh Katz      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/opinion
2023-03-07   2023-03-09 /tennessee-drag-bill-lgbtq.html              Tennessee and the AntiDrag Race             By Charles M Blow             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/arts/des
2023-03-07   2023-03-09 ign/rafael-vinoly-architecture-music.html    Approaching Architecture as Arpeggio        By David Rockwell             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/arts/mu David Lindley 78 a Master of Strings Who
2023-03-07   2023-03-09 sic/david-lindley-dead.html                  Was Sought After by Rocks Elite             By Alex Williams              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/07/arts/rad
2023-03-07   2023-03-09 iolab-new-hosts-lulu-miller-latif-nasser.html Radiolab Hosts Tweak a Trailblazing Show By Reggie Ugwu                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/arts/tele
2023-03-07   2023-03-09 vision/mash-chatgpt-alan-alda.html            Is ChatGPT Painless You Be the Judge         By Julia Jacobs             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/movies/
2023-03-07   2023-03-09 irreversible-anniversary.html                 Twenty Years Later Irreversible Still Shocks By Beatrice Loayza          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/style/lo Trying On the Concept of Clothing That Can
2023-03-07   2023-03-09 uis-vuitton-loewe-hermes-paris.html           Be Worn                                      By Vanessa Friedman         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/style/pa
2023-03-07   2023-03-09 ris-fashion-week-streetwear.html              Memories And Trends                          By Simbarashe Cha           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/health/
2023-03-08   2023-03-09 preterm-birth-drug-makena-fda.html            Company Shelves Preterm Birth Drug           By Christina Jewett         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/theater/
                        crumbs-from-the-table-of-joy-review-
2023-03-08   2023-03-09 nottage.html                                  A ComingofAge Complete With Big Dreams By Laura CollinsHughes            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/arts/ban Books Revisiting the Americas Troubled Past
2023-03-08   2023-03-09 croft-prize-winners.html                      Are Honored                                  By Jennifer Schuessler      TX 9-286-255   2023-05-02




                                                                                 Page 4945 of 5793
                        https://www.nytimes.com/2023/03/08/arts/des
2023-03-08   2023-03-09 ign/whitney-weinberg-rothkopf-director.html Whitney Selects Director                       By Robin Pogrebin         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/books/i Ian Falconer the Creator of Olivia the
2023-03-08   2023-03-09 an-falconer-dead.html                       Energetic Piglet Dies at 63                    By Neil Genzlinger        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/busines
                        s/economy/fed-chair-inflation-interest-
2023-03-08   2023-03-09 rates.html                                  Closer Look At Remarks By Fed Chief            By Jeanna Smialek         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/busines US and Europe Seek New Trade Deal to            By Ana Swanson and Alan
2023-03-08   2023-03-09 s/economy/us-europe-climate.html            Resolve Climate Dispute                        Rappeport                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/busines Carlsons Texts Reveal a Private Contempt
2023-03-08   2023-03-09 s/media/tucker-carlson-trump.html           For Trump I Hate Him Passionately              By Katie Robertson        TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/08/busines White House Rejects Claims From Carlson
2023-03-08   2023-03-09 s/media/white-house-tucker-carlson-fox.html As Shameful                                    By Michael M Grynbaum     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/busines Swiss Bankers Are Charged With Aiding
2023-03-08   2023-03-09 s/swiss-bankers-putin-russia.html            Putin Ally                                    By Nick CummingBruce      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/fashion
2023-03-08   2023-03-09 /cartier-la-dona-watches.html                Of Cartier and crocodiles                     By Nazanin Lankarani      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/fashion The tale of a clock and the family that cares
2023-03-08   2023-03-09 /clock-san-miguel-de-allende-mexico.html     for it                                        By Janelle Conaway        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/fashion
2023-03-08   2023-03-09 /paris-fashion-week-trends-feathers.html     This Favorite Just Might Take Flight          By Elizabeth Paton        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/fashion
                        /watch-wonder-woman-kross-studio-
2023-03-08   2023-03-09 switzerland.html                             Wonder watch                                  By Kathleen Beckett       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/fashion
2023-03-08   2023-03-09 /watches-1960s-omega-tag-heuer.html          With watches the 60s sizzle                   By Anders Modig           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/fashion
2023-03-08   2023-03-09 /watches-daily-grail-website.html            This website wants to have fun                By Rachel Felder          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/fashion
2023-03-08   2023-03-09 /watches-decorative-tools-switzerland.html   Adding flair to watchmaking tools             By Vivian Morelli         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/fashion
                        /watches-fp-journe-young-talent-competition-
2023-03-08   2023-03-09 switzerland.html                             And the winner is                             By Vivian Morelli         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/fashion
2023-03-08   2023-03-09 /watches-hamilton-switzerland.html           A busy year so far                            By Ming Liu               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/fashion
                        /watches-patcharavipa-bodiratnangkura-
2023-03-08   2023-03-09 london.html                                  New life for old watches                      By Kathleen Beckett       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/fashion
2023-03-08   2023-03-09 /watches-swap-meets-oslo-norway.html         Watch fans warm to swap meets                 By Penelope Colston       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/fashion
2023-03-08   2023-03-09 /watches-tag-heuer-switzerland.html          An innovator with influence                   By Anders Modig           TX 9-286-255   2023-05-02




                                                                                  Page 4946 of 5793
                        https://www.nytimes.com/2023/03/08/fashion
2023-03-08   2023-03-09 /watches-takashi-murakami-hublot.html       This Hublot is all smiles                  By Nazanin Lankarani            TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/08/fashion
2023-03-08   2023-03-09 /women-watches-collectors.html              What do women want on their wrists         By Rachel Felder                TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/08/fashion
2023-03-08   2023-03-09 /womens-black-watches.html                  The little black watch is big              By Kathleen Beckett             TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/08/health/i Opioids Most Common Cause of Child
2023-03-08   2023-03-09 nfant-opioid-fatal-deaths.html              Poisoning                                  By Christine Chung              TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/08/movies/ Bert I Gordon Auteur of Mutant Monster
2023-03-08   2023-03-09 bert-gordon-dead.html                       Movies Is Dead at 100                      By Robert D McFadden            TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/08/nyregio City Eyes Public Housing Open Spaces for
2023-03-08   2023-03-09 n/affordable-housing-nycha.html             New Buildings                              By Mihir Zaveri                 TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/08/nyregio
                        n/bronx-emt-yadira-arroyo-jose-gonzalez-    Bronx Man Convicted in Emergency Medical By Chelsia Rose Marcius and Liset
2023-03-08   2023-03-09 verdict.html                                Workers Death                              Cruz                            TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/08/nyregio
                        n/doud-opioids-pharmaceutical-executive-    Drug Wholesalers Chief Is Sentenced to
2023-03-08   2023-03-09 sentenced.html                              Prison For Opioid Conspiracy               By Colin Moynihan               TX 9-286-255     2023-05-02
                                                                                                               By Dana Rubinstein Emma G
                        https://www.nytimes.com/2023/03/08/nyregio                                             Fitzsimmons and William K
2023-03-08   2023-03-09 n/frank-carone-adams-lobby.html             From City Hall To Consulting For Landlords Rashbaum                        TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/08/nyregio Council Speaker Offers A Pathway for New
2023-03-08   2023-03-09 n/ny-city-council-rikers-budget-adams.html York At Odds With the Mayors                  By Emma G Fitzsimmons           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/nyregio New York Raises Uber Drivers Pay After
2023-03-08   2023-03-09 n/uber-driver-raises-rates-ny.html          Bigger Increase Was Blocked                  By Ana Ley                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/sports/b With Power All the Rage This Hitter Goes the
2023-03-08   2023-03-09 aseball/ty-france-seattle-mariners.html     Other Way                                    By Scott Miller                 TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/08/sports/n Gonzaga Storms Into March With a New
2023-03-08   2023-03-09 caabasketball/gonzaga-ncaa-tournament.html Look and the Same Goal                   By Billy Witz                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/sports/n
                        caabasketball/jim-boeheim-syracuse-coach- Boeheim Out at Syracuse After 47 Seasons
2023-03-08   2023-03-09 out.html                                    and Five Final Fours                    By Adam Zagoria and Billy Witz       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/sports/n
                        caabasketball/merrimack-nec-championship- Conference Champs But Still Being Made To
2023-03-08   2023-03-09 ncaa-tournament.html                        Sit This Dance Out                      By Adam Zagoria                      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/08/technol ChatGPT Convulses Big Tech With Its         By Tripp Mickle Cade Metz and
2023-03-08   2023-03-09 ogy/chatbots-disrupt-internet-industry.html Promise and Its Peril                      Nico Grant                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/technol The Perils of Working on the Bosss Pet      By Karen Weise Nico Grant and
2023-03-08   2023-03-09 ogy/tech-big-bets-layoffs.html              Project                                    Mike Isaac                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/alex- Years of Power and Influence And a Lengthy By Richard Fausset and Nicholas
2023-03-08   2023-03-09 murdaugh-murders-south-carolina.html        List of Victims                            BogelBurroughs                    TX 9-286-255   2023-05-02




                                                                               Page 4947 of 5793
                        https://www.nytimes.com/2023/03/08/us/bide President Is Expected to Detail Nearly 3
2023-03-08   2023-03-09 n-deficit-reduction.html                    Trillion in Deficit Reduction Measures      By Jim Tankersley                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/polit Arizona Sues After County Picks Partisan To
2023-03-08   2023-03-09 ics/arizona-sues-cochise-county.html        Run Voting                                  By Neil Vigdor                    TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/08/us/polit Progress Stalls for Black Women Trying to
2023-03-08   2023-03-09 ics/black-women-senate-governor-house.html Achieve Higher Office                          By Jazmine Ulloa                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/polit Intelligence Chief Warns of Chinas Efforts to By Julian E Barnes and Edward
2023-03-08   2023-03-09 ics/china-us-intelligence-report.html         Expand Power at US Expense                  Wong                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/polit Hearing on Covids Origins Opens With          By Sheryl Gay Stolberg and
2023-03-08   2023-03-09 ics/covid-lab-leak-house-hearing.html         Arguments for Lab Leak Theory               Benjamin Mueller                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/polit
                        ics/house-republicans-deficit-budget-         In a Test for McCarthy House Republicans    By Carl Hulse and Catie
2023-03-08   2023-03-09 biden.html                                    Prepare Deep Cuts in Aid                    Edmondson                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/polit American Jewish Leaders Sharply Criticize By Michael Crowley and Ruth
2023-03-08   2023-03-09 ics/israel-judicial-overhaul.html             Israeli Plan to Curb Judiciary              Graham                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/polit
                        ics/louisville-police-breonna-taylor-justice- Louisville Police Rife With Abuse Justice
2023-03-08   2023-03-09 dept.html                                     Dept Says                                   By Glenn Thrush                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/polit Aide Drops Anonymity In Lawsuit Over
2023-03-08   2023-03-09 ics/matt-schlapp-carlton-huffman.html         Groping                                     By Michael C Bender             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/polit Pentagon Blocks Giving Hague Court
2023-03-08   2023-03-09 ics/pentagon-war-crimes-hague.html            Evidence of Possible Russian War Crimes     By Charlie Savage               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/polit
                        ics/saudi-guantanamo-bay-al-sharbi-           US Military Repatriates Saudi Held At Cuba
2023-03-08   2023-03-09 transfer.html                                 Base                                        By Carol Rosenberg              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/polit Who Donates to Trump Not His Top
2023-03-08   2023-03-09 ics/trump-aides-donations.html                Advisers                                    By Michael C Bender             TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/08/us/polit Memphis Delays Release of More Findings in By Jessica Jaglois and Emily
2023-03-08   2023-03-09 ics/tyre-nichols-footage-release-memphis.html Nichols Case                                 Cochrane                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/polit
                        ics/warner-classified-documents-wiretap-
2023-03-08   2023-03-09 law.html                                      Senator Ties Classified Files to Wiretap Law By Charlie Savage              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/08/world/a India Is Arming Villagers In Restive Kashmir
2023-03-08   2023-03-09 sia/kashmir-village-defense-committees.html Region                                      By Showkat Nanda and Atul Loke    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/world/a Nepal Bans Solo Treks in National Parks
2023-03-08   2023-03-09 sia/nepal-solo-trekking-ban.html            Flustering Adventurers                      By Jenny Gross                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/world/a Georgina Beyer 65 New Zealand Lawmaker
2023-03-08   2023-03-09 ustralia/georgina-beyer-dead.html           Was Openly Transgender                      By Natasha Frost                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/world/e Macron Calls for Enshrining Right to
2023-03-08   2023-03-09 urope/abortion-france-macron.html           Abortion in the French Constitution         By Roger Cohen                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/world/e Adidas Is Stuck With 13 Billion in Yeezy
2023-03-08   2023-03-09 urope/adidas-earnings-yeezy.html            Sneakers                                    By Melissa Eddy                   TX 9-286-255   2023-05-02



                                                                                 Page 4948 of 5793
                        https://www.nytimes.com/2023/03/08/world/e Georgian Protests Reflect Deeper Fears of    By Ivan Nechepurenko and Andrew
2023-03-08   2023-03-09 urope/georgia-protests-russia.html         Russia 15 Years After Invasion               Higgins                         TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/08/world/e Greek Official Promises To Improve Train
2023-03-08   2023-03-09 urope/greece-train-crash-railway-safety.html Safety                                     By Niki Kitsantonis              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/busines                                              By Nicholas Confessore and Jim
2023-03-09   2023-03-09 s/media/tucker-carlson-fox-trump.html        Fox GOP And Trump A Quandary               Rutenberg                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/busines California Cuts Off Walgreens Over Stance
2023-03-09   2023-03-09 s/walgreens-california-abortion.html         on Abortion Pill                           By Katie Robertson               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/opinion
2023-03-09   2023-03-09 /trump-desantis-president-election.html      The Courage to Be Dull                     By Gail Collins                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/polit
                        ics/afghanistan-withdrawal-house-            Tearful Angry Testimony on Afghan
2023-03-09   2023-03-09 hearing.html                                 Evacuation in House GOP Inquiry            By Karoun Demirjian              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/polit
                        ics/data-breach-health-marketplace-          Health Insurance Hack Exposes Data of
2023-03-09   2023-03-09 congress.html                                Congress Members and Staff                 By Luke Broadwater               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/polit Senate Votes to Block DC Crime Law
2023-03-09   2023-03-09 ics/senate-dc-crime-law.html                 Sending Bill to President After Reversal   By Carl Hulse                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/us/san- 4 Found Dead in Homes After California
2023-03-09   2023-03-09 bernardino-snow-storm-deaths.html            Snowstorm                                  By Jill Cowan                    TX 9-286-255   2023-05-02
                                                                                                                By Maria AbiHabib Natalie
                        https://www.nytimes.com/2023/03/08/world/a Mexicans Questioning Response to             Kitroeff Zolan KannoYoungs and
2023-03-09   2023-03-09 mericas/mexico-kidnapping-americans.html Kidnapping                                     Oscar Lopez                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/world/e US Official Doubts Moscow Has the            By Julian E Barnes Anatoly
2023-03-09   2023-03-09 urope/ukraine-russia-bakhmut.html          Firepower to Keep Advancing                  Kurmanaev and Richard PrezPea    TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/09/insider/ Two Sports Many Climbs in the Czech
2023-03-09   2023-03-09 two-sports-two-stories-too-many-climbs.html Republic                                    By David Waldstein               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/style/is
2023-03-09   2023-03-09 amaya-ffrench-beauty.html                   The Beauty Worlds New Queen of Weird        By Rachel Strugatz               TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/09/style/mi
2023-03-09   2023-03-09 chelle-obama-christy-rilling-fashion-line.html Michelle Obamas Secret Style Weapon      By Ruth La Ferla                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/live/2023/03/09/us/ Budget by Biden Tosses Gauntlet at Feet of
2023-03-09   2023-03-09 biden-budget-tax-news/biden-budget-gop         GOP                                      By Jim Tankersley                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/arts/mu A Subtle Dutch Taste Thats Been Hard to
2023-03-02   2023-03-10 sic/simeon-ten-holt-minimalism.html            Export                                   By Hugh Morris                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/arts/des Before You Make It Big Youve Got to Pay the
2023-03-08   2023-03-10 ign/artist-job-blanton-museum.html             Bills                                    By Travis Diehl                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/movies/
2023-03-08   2023-03-10 scream-vi-review.html                          More Meta Commentary in a Scary Movie    By Jason Zinoman                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/movies/
2023-03-08   2023-03-10 therapy-dogs-review.html                       Therapy Dogs                             By Brandon Yu                    TX 9-286-255   2023-05-02




                                                                                Page 4949 of 5793
                        https://www.nytimes.com/2023/03/08/opinion The EPA Has Failed the People of East
2023-03-08   2023-03-10 /east-palestine-ohio-epa-dioxin.html       Palestine                                       By Judith Enck          TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/08/technol
2023-03-08   2023-03-10 ogy/personaltech/old-ios-android-apps.html Some New Tricks for Old Apps                By J D Biersdorfer          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/arts/dan
                        ce/keely-garfield-invisible-project-
2023-03-09   2023-03-10 skirball.html                                Frontline Trauma Set Loose in Dance       By Gia Kourlas              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/arts/dan The Joyce Aims to Bring Great Joy This
2023-03-09   2023-03-10 ce/the-joyce-theater-summer-season.html      Summer                                    By Rachel Sherman           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/arts/des Eugene Kohn 92 Architect Who Redrew
2023-03-09   2023-03-10 ign/eugene-kohn-dead.html                    Skylines Across Globe Dies                By Paul Goldberger          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/arts/des
                        ign/pictures-from-home-larry-sultan-yancy- Turning the Tables and His Lens on His
2023-03-09   2023-03-10 richardson.html                              Parents                                   By Arthur Lubow             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/arts/mu As Legacy of Elvis Is Rekindled the Family
2023-03-09   2023-03-10 sic/elvis-presley-estate-dispute.html        Fights Over His Estate                    By Matt Stevens             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/arts/tele
                        vision/spy-among-friends-name-of-god-
2023-03-09   2023-03-10 netflix.html                                 This Week I Have                          By Margaret Lyons           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/busines
2023-03-09   2023-03-10 s/media/academy-awards-broadcast.html        For Oscars A Reboot Again                 By Brooks Barnes            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/busines
                        s/media/lachlan-murdoch-fox-news-            Lachlan Murdoch Defends Fox Newss Chief
2023-03-09   2023-03-10 dominion.html                                Executive Amid Defamation Suit            By Michael M Grynbaum       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/busines Politico Executive Editor Is Stepping Down
2023-03-09   2023-03-10 s/media/politico-dafna-linzer.html           Amid Disagreement Over Editorial Strategy By Katie Robertson          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/busines Terse Emails By Murdoch Are Window On
2023-03-09   2023-03-10 s/media/rupert-murdoch-fox-news.html         Empire                                    By Jeremy W Peters          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/busines
                        s/roger-ng-goldman-sachs-1mdb-               ExGoldman Banker Gets 10 Years in 1MDB
2023-03-09   2023-03-10 sentenced.html                               Scandal                                   By Matthew Goldstein        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/health/a Common Diseases Could Erase Africas Gains
2023-03-09   2023-03-10 frica-diabetes-hypertension-cancer.html      in Life Expectancy                        By Stephanie Nolen          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/health/ FDA Will Require Dense Breast Disclosures
2023-03-09   2023-03-10 dense-breast-fda-mammogram.html              at Facilities                             By Gina Kolata              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/09/health/e After Derailment Health Fears in an Ohio
2023-03-09   2023-03-10 ast-palestine-derailment-health-issues.html Town                                           By Emily Baumgaertner   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/health/s
                        yphilis-chlamydia-gonorrhea-                Antibiotic After Sex Cuts Risk of Infections
2023-03-09   2023-03-10 doxycycline.html                            For Some Studies Show                          By Apoorva Mandavilli   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/movies/
                        champions-review-following-the-
2023-03-09   2023-03-10 playbook.html                               This Basketball Coach Has Issues               By Ben Kenigsberg       TX 9-286-255   2023-05-02



                                                                                  Page 4950 of 5793
                        https://www.nytimes.com/2023/03/09/movies/
2023-03-09   2023-03-10 luther-the-fallen-sun-review.html          Crime Theater of the Absurd               By Jeannette Catsoulis          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/movies/
2023-03-09   2023-03-10 oscars-predictions.html                    Predicting Everything and Much More       By Kyle Buchanan                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/movies/
2023-03-09   2023-03-10 punch-review.html                          Punch                                     By Kyle Turner                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/movies/
2023-03-09   2023-03-10 rewind-play-review-thelonious-monk.html    Rewind amp Play                           By Lisa Kennedy                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/movies/
2023-03-09   2023-03-10 stonewalling-review.html                   Adrift and Nave Whats Her Market Value    By Manohla Dargis               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/movies/
2023-03-09   2023-03-10 the-magic-flute-review.html                The Magic Flute                           By Glenn Kenny                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/movies/ Topol Who Thrived as a FarFromRich Man in
2023-03-09   2023-03-10 topol-dead.html                            Fiddler Dies at 87                        By Margalit Fox                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/movies/
2023-03-09   2023-03-10 unicorn-wars-review.html                   Unicorn Wars                              By Beatrice Loayza              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/nyregio Florida Law Dean Appointed President at
2023-03-09   2023-03-10 n/barnard-college-laura-rosenbury.html     Barnard College                           By Liam Stack                   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/09/nyregio Man 35 Is Exonerated After 18 Years in
2023-03-09   2023-03-10 n/brooklyn-exoneration-sheldon-thomas.html Prison On a Misidentification              By Hurubie Meko                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/nyregio Budget Routes 12 Billion To New York
2023-03-09   2023-03-10 n/gateway-subway-biden-budget.html           Transit Projects                         By Patrick McGeehan            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/nyregio
                        n/trump-potential-criminal-charges-          DA Signaling Trump Is Likely To Be       By William K Rashbaum Ben
2023-03-09   2023-03-10 bragg.html                                   Charged                                  Protess and Jonah E Bromwich   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/opinion
                        /jimmy-carter-made-me-a-better-
2023-03-09   2023-03-10 american.html                                Carter Made Me a Better American         By Jennifer Finney Boylan      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/sports/b
                        aseball/mike-trout-usa-world-baseball-       Trout Wanted In And Other Stars Soon
2023-03-09   2023-03-10 classic.html                                 Followed                                 By Tyler Kepner                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/sports/b After the NBA JR Smith Was Lost Golf
2023-03-09   2023-03-10 asketball/jr-smith-golf.html                 Became His Guide                         By Jonathan Abrams             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/sports/n
                        caabasketball/georgetown-villanova-big-east- Ewing Era at Georgetown Comes to
2023-03-09   2023-03-10 tournament-patrick-ewing.html                Dispiriting End                          By Adam Zagoria                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/09/sports/s Facing Player Revolt France Fires Coach
2023-03-09   2023-03-10 occer/france-corinne-diacre-world-cup.html Instead                                    By Andrew Das                  TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/09/us/mich Michigan Democrats Pass A Liberal Agenda By Mitch Smith and Ernesto
2023-03-09   2023-03-10 igan-democrats-right-to-work-lgbtq-guns.html in Hours                               Londoo                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/us/new No Charges for First Grader Who Shot
2023-03-09   2023-03-10 port-news-school-shooting.html               Teacher in Virginia                    By Christine Hauser              TX 9-286-255   2023-05-02



                                                                                Page 4951 of 5793
                        https://www.nytimes.com/2023/03/09/us/polit Australia to Buy NuclearPowered Subs From By Damien Cave and Edward
2023-03-09   2023-03-10 ics/australia-nuclear-submarines-china.html US in a Deal to Counter China               Wong                             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/us/polit In 68 Trillion Budget Biden Seeks to Tax
2023-03-09   2023-03-10 ics/biden-budget.html                        Rich And Increase Social Aid               By Jim Tankersley                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/us/polit Trump Aims to Reenlist Evangelicals but
2023-03-09   2023-03-10 ics/evangelicals-republicans-trump.html      Landscape Has Changed                      By Charles Homans                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/us/polit
2023-03-09   2023-03-10 ics/fbi-surveillance-darin-lahood.html       Lawmaker Accuses FBI of Targeting Him      By Charlie Savage                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/us/polit While Fetterman Gets Care His Office Keeps
2023-03-09   2023-03-10 ics/fetterman-senate-walter-reed.html        Humming Along                              By Annie Karni                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/us/polit
2023-03-09   2023-03-10 ics/irs-commissioner-daniel-werfel.html      Senate Backs Werfel to Lead Troubled IRS By Alan Rappeport                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/us/polit
2023-03-09   2023-03-10 ics/jenna-ellis-trump-2020-election.html     Trump Lawyer Admits to Lies About Election By Alan Feuer                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/us/polit
                        ics/ohio-derailment-norfolk-southern-senate- Railway CEO Pressed By Senators for        By Stephanie Lai Mark Walker and
2023-03-09   2023-03-10 hearing.html                                 Answers                                    Peter Eavis                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/us/polit White Supremacist Propaganda Soared Last
2023-03-09   2023-03-10 ics/white-supremacist-propaganda.html        Year Report Finds                          By Alan Feuer                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/world/a
                        frica/cyclone-freddy-mozambique-             LongLasting Cyclone Leaves Trail of Death
2023-03-09   2023-03-10 madagascar.html                              As It Swirls Between Madagascar and Africa By Lynsey Chutel                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/world/a Nigeria Delays State Elections by a Week     By Elian Peltier and Oladeinde
2023-03-09   2023-03-10 frica/nigeria-state-elections.html           Amid Presidential Vote Controversy         Olawoyin                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/world/a
                        mericas/mexico-americans-kidnapping-         Five Men Had Note Blaming Them for Attack By Natalie Kitroeff and Maria
2023-03-09   2023-03-10 letter.html                                  in Mexico                                  AbiHabib                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/world/a Philippines Is Running Jeepneys Off the
2023-03-09   2023-03-10 sia/philippines-jeepney.html                 Road                                       By Jason Gutierrez               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/world/e Protests Quiet as Georgia Rescinds
2023-03-09   2023-03-10 urope/georgia-protests-russia.html           RussianStyle Law                           By Ivan Nechepurenko             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/world/e
2023-03-09   2023-03-10 urope/hamburg-shooting.html                  Deadly Mass Shooting in Germany            By Christopher F Schuetze        TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/09/world/e                                                 By John Ismay Matthew Mpoke
2023-03-09   2023-03-10 urope/hypersonic-missiles-russia-ukraine.html Missiles Used In Big Attack Are a Surprise   Bigg and Andrew E Kramer      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/09/world/e                                               By Valerie Hopkins and Georgy
2023-03-09   2023-03-10 urope/shaman-putin-russia-ukraine-war.html A Pop Star Is Singing the Kremlins Song       Birger                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/world/
                        middleeast/israel-judicial-protests-       Thousands in Israel Protest Court Overhaul as
2023-03-09   2023-03-10 netanyahu.html                             US Defense Chief Visits                       By Patrick Kingsley             TX 9-286-255   2023-05-02




                                                                                  Page 4952 of 5793
                        https://www.nytimes.com/2023/03/09/busines Investors Worry Over Stability of Silicon
2023-03-10   2023-03-10 s/silicon-valley-bank-investors-worry.html  Valley Bank a Linchpin of Tech Finance       By Erin Griffith and Rob Copeland TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/opinion The SelfDestructive Effects of Progressive
2023-03-10   2023-03-10 /progressive-sadness.html                   Sadness                                      By David Brooks                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/09/opinion
2023-03-10   2023-03-10 /republican-biden-budget-plan.html          Budget Wars This Time Is Different           By Paul Krugman                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/09/sports/f
                        ifa-soccer-fox-bribery-trial-hernan-lopez-  ExFox Employee Guilty In Broadcast Bribe
2023-03-10   2023-03-10 convicted.html                              Case                                         By Ken Bensinger                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/09/theater/ Over 100 Years Old but Its Here Right on
2023-03-10   2023-03-10 a-dolls-house-review-jessica-chastain.html  Time                                         By Jesse Green                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/09/theater/
2023-03-10   2023-03-10 dark-disabled-stories-public-theater.html   When the World Isnt Built for You            By Laura CollinsHughes           TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/09/us/calif In the Tahoe Region Residents Race to Push
2023-03-10   2023-03-10 ornia-snow-roofs-lake-tahoe.html            Feet of Snow Off Roofs Ahead of Rain         By Alex Hoeft and Eliza Fawcett TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/09/us/louis For Louisville Residents Report on Police    By Kevin Williams Michael Wines
2023-03-10   2023-03-10 ville-police-doj-breonna-taylor.html        Abuses Is Painful but No Surprise            and Rick Rojas                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/09/us/polit
2023-03-10   2023-03-10 ics/biden-centrist.html                     A Move to Recapture Centrist Identity        By Peter Baker                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/09/us/polit
                        ics/jan-6-prisoners-republican-             Heeding Calls From Right GOP Lawmakers
2023-03-10   2023-03-10 investigation.html                          Investigate Treatment of Jan 6 Detainees     By Luke Broadwater               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/09/us/polit Saudi Arabia Offers A Price to Normalize     By Michael Crowley Vivian
2023-03-10   2023-03-10 ics/saudi-arabia-israel-united-states.html  Relations With Israel                        Nereim and Patrick Kingsley      TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/09/us/san- Coroner Taking Another Look at 8 Deaths in
2023-03-10   2023-03-10 bernardino-snow-deaths.html                 Southern California Mountains                By Shawn Hubler and Jill Cowan   TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/09/world/e Russia Fires Hypersonic Missiles In Largest
2023-03-10   2023-03-10 urope/russia-ukraine-missile-hypersonic.html Air Assault in Weeks                        By Andrew E Kramer               TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/10/busines
2023-03-10   2023-03-10 s/economy/russia-nuclear-energy-ukraine.html Russias OneStop Nuclear Shop                By Patricia Cohen                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/10/insider/ A Voyeuristic Look at Hollywood and Its
2023-03-10   2023-03-10 investigating-hollywoods-fixer.html          Fixer                                       By Rachel Abrams                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/10/movies/
2023-03-10   2023-03-10 chang-can-dunk-review.html                   Chang Can Dunk                              By Calum Marsh                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/02/20/travel/b
2023-02-20   2023-03-11 uenos-aires-restaurants-chefs.html           In Buenos Aires Plenty to Savor             By Nora Walsh                    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/02/22/travel/l                                              By Danielle Pergament and Mary
2023-02-22   2023-03-11 ondon-joshua-bell-recommendations.html       Joshua Bells London Step by Step            Turner                           TX 9-286-255    2023-05-02
                                                                                                                 By Alan Rappeport Adam Perez
                        https://www.nytimes.com/interactive/2023/02/                                             Megan Lovallo Marisa Schwartz
2023-02-26   2023-03-11 26/us/printing-money-treasury.html           How to Print Money                          Taylor and Rebecca Lieberman     TX 9-286-255    2023-05-02




                                                                                Page 4953 of 5793
                        https://www.nytimes.com/interactive/2023/03/
2023-03-02   2023-03-11 02/travel/things-to-do-rio-de-janeiro.html     36 Hours in Rio de Janeiro                 By Jack Nicas                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/books/t
2023-03-04   2023-03-11 ime-jenny-odell-.html                          Desynchronizing Our Watches                By Elizabeth A Harris             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/opinion The Beautiful and Terrifying Arrival of an
2023-03-06   2023-03-11 /climate-change-early-spring.html              Early Spring                               By Margaret Renkl                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/dining/j Joseph Zucchero 69 Whose Mr Beef in
2023-03-07   2023-03-11 oseph-zucchero-dead-the-bear.html              Chicago Inspired FXs The Bear              By Mike Ives and Jesus Jimnez     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/arts/mu
                        sic/steven-swartz-next-board-chief-of-lincoln- At Lincoln Center a New Board Chief With
2023-03-09   2023-03-11 center.html                                    Similar Vision                             By Javier C Hernndez              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/arts/pri
2023-03-09   2023-03-11 ze-papers.html                                 Long Overdue Letters See the Light at Last By Bryn Stole                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/arts/rar For Rare Book Librarians Its Gloves Off
2023-03-09   2023-03-11 e-books-white-gloves.html                      Seriously                                  By Jennifer Schuessler            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/movies/
2023-03-09   2023-03-11 65-review-adam-driver.html                     Trouble With Interplanetary Travel         By AO Scott                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/busines
                        s/china-peoples-congress-financial-            Why China Is Tightening Its Oversight of
2023-03-10   2023-03-11 regulation.html                                Banking and Tech Sectors                   By Keith Bradsher and Chang Che   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/obituari Robert Blake Baretta Star Acquitted in Wifes
2023-03-10   2023-03-11 es/robert-blake-dead.html                      Murder Dies at 89                          By Douglas Martin                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/world/a Xi Grabs Reins of Third Term Focusing on       By Chris Buckley and Keith
2023-03-10   2023-03-11 sia/xi-economy-us-rivalry.html                 Rivalry With US                            Bradsher                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/arts/dan
                        ce/review-jordan-demetrius-lloyd-
2023-03-10   2023-03-11 danspace.html                                  No Move Is Left To Chance                  By Brian Seibert                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/arts/des
                        ign/chinati-foundation-director-caitlin-
2023-03-10   2023-03-11 murray.html                                    Chinati Foundation Picks a New Director    By Zachary Small                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/arts/des
                        ign/valparaiso-museum-paintings-sale-
2023-03-10   2023-03-11 okeeffe.html                                   Art Worth Millions and Dorms in Poor Shape By Kalia Richardson               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/arts/mu
                        sic/michael-tilson-thomas-new-york-
2023-03-10   2023-03-11 philharmonic.html                              Two Solemn Works Not Without Some Joy By Anastasia Tsioulcas                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/arts/mu
                        sic/prokofiev-war-and-peace-munich-
2023-03-10   2023-03-11 review.html                                    A Tolstoy Adaptation Has New Relevance     By Joshua Barone                  TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/10/busines
2023-03-10   2023-03-11 s/economy/jobs-report-february-2023.html   Labor Market Keeps Riding Its Hot Streak     By Lydia DePillis                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/busines Mixed Signals on Jobs Complicate Fed
2023-03-10   2023-03-11 s/economy/jobs-report-fed-inflation.html   Choice                                       By Jeanna Smialek                   TX 9-286-255   2023-05-02




                                                                                Page 4954 of 5793
                        https://www.nytimes.com/2023/03/10/busines
2023-03-10   2023-03-11 s/media/bet-bidders.html                    Group Black Is a Suitor To Buy BET          By Benjamin Mullin                 TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/10/busines
                        s/media/the-messenger-jimmy-
2023-03-10   2023-03-11 finkelstein.html                            ExHill Owner Plans Media StartUp            By Benjamin Mullin                 TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/10/busines
2023-03-10   2023-03-11 s/silicon-valley-bank-stock.html            US Takes Over Crucial Lender In Tech Worl   By Emily Flitter and Rob Copeland TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/10/busines
2023-03-10   2023-03-11 s/stock-market-jobs-report.html             Bank Failure Sends a Jolt To Markets        By Joe Rennison                    TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/10/health/f Nasal Spray for Migraines Receives FDA
2023-03-10   2023-03-11 da-nasal-spray-migraines.html               Approval                                     By Christina Jewett                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/nyregio The Climate Problem of Aging Apartment        By Stefanos Chen and Winston
2023-03-10   2023-03-11 n/greenhouse-gas-law-nyc.html               Buildings                                    ChoiSchagrin                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/nyregio                                               By Michael Gold and Grace
2023-03-10   2023-03-11 n/santos-atm-skimming.html                  Santos Tied To a Scheme With ATMs            Ashford                             TX 9-286-255   2023-05-02
                                                                                                                 By Ben Protess William K
                        https://www.nytimes.com/2023/03/10/nyregio Cohen Likely to Testify Before a Grand Jury Rashbaum Jonah E Bromwich and
2023-03-10   2023-03-11 n/trump-bragg-cohen-indictment.html         A Bad Sign for Trump                         Maggie Haberman                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/opinion
2023-03-10   2023-03-11 /masks-work-cochrane-study.html             In Fact the Science Is Clear That Masks Work By Zeynep Tufekci                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/opinion For Asian Film Stars a Triumph 100 Years in
2023-03-10   2023-03-11 /oscars-asian-hollywood-history.html        the Making                                   By Katie Gee Salisbury              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/science Francisco Ayala 88 an Evolutionary Biologist
2023-03-10   2023-03-11 /francisco-ayala-dead.html                  Who Defended Darwins Theory                  By Cornelia Dean                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/sports/b Team Israel Leans In On David and Goliath
2023-03-10   2023-03-11 aseball/israel-world-baseball-classic.html  Story                                        By David Waldstein                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/sports/b Things Are Underway in Asia Get Caught Up
2023-03-10   2023-03-11 aseball/world-baseball-classic.html         on the Early Action                          By Benjamin Hoffman                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/technol Silicon Valley StartUps Feel Chaos Of Bank
2023-03-10   2023-03-11 ogy/silicon-valley-bank-fallout.html        Run                                          By Erin Griffith                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/theater/
2023-03-10   2023-03-11 misty-arinze-kene-the-shed-review.html      Restless Rhythms of a Hostile City           By Naveen Kumar                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/us/calif New Round of Storms Has Californians on      By Eliza Fawcett Corina Knoll and
2023-03-10   2023-03-11 ornia-storm-snow-flooding.html              the Move Again                               Viviana Hinojos                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/us/polit Bidens Budget Has Not a Whisper Of His
2023-03-10   2023-03-11 ics/biden-budget-social-security.html       Plan to Save Social Security                 By Jim Tankersley                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/us/polit Biden Yet to Revisit Issue Of Presidential
2023-03-10   2023-03-11 ics/biden-presidential-immunity.html        Immunity                                     By Charlie Savage                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/us/polit
                        ics/biden-von-der-leyen-ukraine-russia-     Biden and EU Leader Seek Common Ground By Ana Swanson Zolan
2023-03-10   2023-03-11 ev.html                                     on Trade and Ukraine                         KannoYoungs and Alan Rappeport TX 9-286-255        2023-05-02
                        https://www.nytimes.com/2023/03/10/us/polit A Little Bit Awkward but Still Getting
2023-03-10   2023-03-11 ics/desantis-iowa.html                      Applause                                     By Michael C Bender                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/us/polit Gains for Border Policies Are Greeted by
2023-03-10   2023-03-11 ics/migrants-asylum-biden-mexico.html       Criticism                                    By Eileen Sullivan and Steve Fisher TX 9-286-255   2023-05-02



                                                                                 Page 4955 of 5793
                        https://www.nytimes.com/2023/03/10/us/polit
                        ics/redistricting-states-democrats-          A FullTime Battle Looms Over Congressional
2023-03-10   2023-03-11 republicans.html                             Maps                                         By Reid J Epstein               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/world/a
                        mericas/mexico-cartels-kidnapping-           Crime Cartels in Mexico Live by Unwritten By Maria AbiHabib and Natalie
2023-03-10   2023-03-11 americans.html                               Rule Leave Americans Alone                   Kitroeff                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/world/a
                        mericas/russia-argentina-pregnant-women-     Pregnant Russians Looking to Escape
2023-03-10   2023-03-11 citizenship.html                             Kremlins War Are Giving Birth in Argentina By Natalie Alcoba                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/world/e A Decorated Soldier Beloved by Ukrainians
2023-03-10   2023-03-11 urope/da-vinci-funeral-ukraine.html          Is Killed Near Bakhmut                       By Marc Santora                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/world/e
                        urope/france-britain-macron-sunak-           After Years of Sour Relations UK And         By Mark Landler and Constant
2023-03-10   2023-03-11 migrants.html                                France Look for a Fresh Start                Mheut                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/world/e
                        urope/germany-shooting-jehovahs-             In Germany Authorities Got a Tip Before      By Christopher F Schuetze and
2023-03-10   2023-03-11 witnesses.html                               Attack                                       Melissa Eddy                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/world/e Traute Lafrenz 103 Who Joined Resistance
2023-03-10   2023-03-11 urope/traute-lafrenz-page-dead.html          Against Nazis Is Dead                        By Alan Cowell                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/world/
                        middleeast/israel-judicial-reform-           Social Rifts Spread Over Decades at the Root
2023-03-10   2023-03-11 netanyahu.html                               of Israels Judicial Crisis                   By Patrick Kingsley             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/world/ For Israel Saudi Deal With Iran Undermines
2023-03-10   2023-03-11 middleeast/israel-saudi-iran.html            Its Hopes of Isolating Tehran                By Patrick Kingsley             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/world/
                        middleeast/saudi-arabia-iran-deal-           What a Deal Between Longtime Regional        By Ben Hubbard and Shashank
2023-03-10   2023-03-11 explained.html                               Rivals Means for the Middle East             Bengali                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/world/
                        middleeast/saudi-arabia-iran-reestablish-
2023-03-10   2023-03-11 ties.html                                    Saudis Revive Ties With Iran Aided by China By Vivian Nereim                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/your-
2023-03-10   2023-03-11 money/check-fraud-protection.html            Mailer Beware Check Fraud Is on the Rise     By Ann Carrns                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/
                        10/climate/buildings-carbon-dioxide-         A Huge City Polluter Buildings Heres a
2023-03-10   2023-03-11 emissions-climate.html                       Surprising Fix                               By Brad Plumer                  TX 9-286-255   2023-05-02

                        https://www.nytimes.com/interactive/2023/03/ How 31 Presidential Budgets Compared With By Josh Katz Alicia Parlapiano and
2023-03-10   2023-03-11 10/upshot/presidential-budgets-reality.html  Reality                                    Margot SangerKatz                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/sports/n
                        caabasketball/alabama-murder-                A Victory and a Murder Indictment Make for
2023-03-11   2023-03-11 indictment.html                              a Strange Day for Alabama                  By Billy Witz                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/us/san- In San Bernardino Mountains Coping With
2023-03-11   2023-03-11 bernardino-mountains-snow-storm.html         Devastating Snow                           By Tim Arango                     TX 9-286-255   2023-05-02




                                                                                 Page 4956 of 5793
                        https://www.nytimes.com/2023/03/11/world/
                        middleeast/palestinians-israel-tech-          Navigating the Dueling Realities of Tel Aviv
2023-03-11   2023-03-11 workers.html                                  and the West Bank                              By Patrick Kingsley              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/01/29/books/r
2023-01-29   2023-03-12 eview/maame-jessica-george.html               A QuarterLife Crisis                           By Elisabeth Egan                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/article/best-colette-
2023-02-06   2023-03-12 books.html                                    The Essentials Colette                         By Sadie Stein                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/07/books/r
2023-02-07   2023-03-12 eview/maylis-de-kerangal-eastbound.html       Strangers on a Train                           By Ken Kalfus                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/07/books/r
                        eview/when-trying-to-return-home-jennifer-
2023-02-07   2023-03-12 maritza-mccauley.html                         Family Ties                                    By Amil Niazi                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/13/books/p
2023-02-13   2023-03-12 riscilla-gilman-critics-daughter.html         Opposites Detract                              By Dwight Garner                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/14/books/r
2023-02-14   2023-03-12 eview/ben-okri-dangerous-love.html            Unyielding Forces                              By Zachary Lazar                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/21/books/r
2023-02-21   2023-03-12 eview/sink-joseph-earl-thomas.html            A Black American Boyhood                       By Bryan Washington              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/21/books/r
                        eview/the-curse-of-the-marquis-de-sade-joel-
2023-02-21   2023-03-12 warner.html                                   Debauchery on a Roll                           By Kevin Birmingham              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/25/books/r
2023-02-25   2023-03-12 eview/hardinge-newitz-marske.html             Exploring the Wilds                            By Amal ElMohtar                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/27/books/r
                        eview/the-queen-of-dirt-island-donal-
2023-02-27   2023-03-12 ryan.html                                     Mothers and Child                              By Amy Bloom                     TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/02/28/books/r
                        eview/what-napoleon-could-not-do-
                        dyscalculia-a-country-you-can-leave-dk-nnuro
2023-02-28   2023-03-12 camonghne-felix-asale-angel-ajani.html       New Lives                                       By Angela Lashbrook              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/books/r
2023-03-02   2023-03-12 eview/oscars-hollywood-books.html            Inside the List                                 By Elisabeth Egan                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/movies/ Asian Nominees and the Oscars Its Very
2023-03-02   2023-03-12 oscar-nominees-asian-americans.html          Beautiful to Be Here                            By Robert Ito and Justin J Wee   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/interactive/2023/03/ Asian Actors Have Been Underrepresented at
2023-03-02   2023-03-12 02/movies/oscars-asian-actors-history.html   the Oscars For Decades Heres the History    By KK Rebecca Lai                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/arts/pie Pierre Apraxine 88 Who Had an Eye for
2023-03-04   2023-03-12 rre-apraxine-dead.html                       Remarkable Photos Dies                      By Randy Kennedy                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/arts/mu
2023-03-06   2023-03-12 sic/saint-levant-from-gaza-with-love.html    Sexy Music Is Personal and Political        By Jon Caramanica                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/arts/tele
                        vision/tyler-james-williams-abbott-          For Tyler James Williams Gold Brightens the
2023-03-06   2023-03-12 elementary.html                              World                                       By Kathryn Shattuck                  TX 9-286-255   2023-05-02



                                                                                   Page 4957 of 5793
                        https://www.nytimes.com/2023/03/06/realesta
2023-03-06   2023-03-12 te/e-bikes-fires-danger.html                 The Menace in the Hallway                  By Joyce Cohen                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/ Paul Ryan Says Even MAGA Diehards
2023-03-06   2023-03-12 06/magazine/paul-ryan-interview.html         Believe Trump Cant Win in 2024             By David Marchese              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/arts/dan
2023-03-07   2023-03-12 ce/collective-leadership-in-dance.html       Communal Ethos Enters Boardroom            By Margaret Fuhrer             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/busines Judy Blume Was Always Here Hollywood
2023-03-07   2023-03-12 s/media/judy-blume-hollywood.html            Just Noticed                               By Nicole Sperling             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/magazi
2023-03-07   2023-03-12 ne/china-spying-intellectual-property.html   Spy Games                                  By Yudhijit Bhattacharjee      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/07/magazi
2023-03-07   2023-03-12 ne/los-angeles-walking-rosecrans-avenue.html Rosecrans Avenue                         By Rosecrans Baldwin             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/world/a Duong Tuong 90 Brought Readers In Vietnam
2023-03-07   2023-03-12 sia/duong-tuong-dead.html                    Magic of Western Works                   By Seth Mydans                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/
                        07/opinion/jewish-americans-focus-           What These 13 Jewish Americans Are Proud By Adrian J Rivera and Allison
2023-03-07   2023-03-12 group.html                                   of and Afraid Of                         Benedikt                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/arts/des
2023-03-08   2023-03-12 ign/tommy-kha-photography.html               Near Graceland Photos With Mom           By Michael Adno                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/books/r
                        eview/ellen-oh-you-are-here-connecting-
2023-03-08   2023-03-12 flights.html                                 Why Hadnt I Been Able to Say Something   By Dave Kim                      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/08/magazi Medley Magic The comforting cheesy charm
2023-03-08   2023-03-12 ne/chicken-casserole-recipe.html            of chicken doria invites improvisation      By Bryan Washington            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/magazi
2023-03-08   2023-03-12 ne/oscars-campaign.html                     Hidden Figures                              By Irina Aleksander            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/magazi
2023-03-08   2023-03-12 ne/police-black-men-bystanders.html         Full Stop                                   By Brooke Jarvis               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/nyregio New York City to Expand Black Studies in
2023-03-08   2023-03-12 n/black-asian-american-studies-nyc.html     Schools                                     By Troy Closson                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/realesta
                        te/home-prices-michigan-rhode-island-       14 Million Homes in Michigan Rhode Island
2023-03-08   2023-03-12 oregon.html                                 and Oregon                                  By Angela Serratore            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/realesta
                        te/william-kennedy-house-legs-diamond-      If These Walls in Albany Could Talk They
2023-03-08   2023-03-12 albany.html                                 Would Tell of Murder                        By Julie Lasky                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/style/cl
2023-03-08   2023-03-12 utter-messy-room-tiktok-instagram.html      Proof of Life The Messy Room                By Callie Holtermann           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/style/fi
2023-03-08   2023-03-12 nancial-assistance-family-members.html      Attaching Strings                           By Philip Galanes              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/theater/
2023-03-08   2023-03-12 sweeney-todd-sondheim-josh-groban.html      Sweeney Todd Cuts a Larger Figure           By Rob WeinertKendt            TX 9-286-255   2023-05-02




                                                                               Page 4958 of 5793
                        https://www.nytimes.com/2023/03/09/arts/des
2023-03-09   2023-03-12 ign/janny-baek-ceramics-korea.html          FreeForm Functional Vessels                By Jane Margolies                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/arts/des
2023-03-09   2023-03-12 ign/products-events-people.html             Panorama                                   By The New York Times               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/busines The Struggle With Inflation Has the Markets
2023-03-09   2023-03-12 s/fed-inflation-powell-stock-market.html    on Edge                                    By Jeff Sommer                      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/09/magazi
2023-03-09   2023-03-12 ne/judge-john-hodgman-kids-swearing.html Bonus Advice From Judge John Hodgman               By John Hodgman                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/magazi
2023-03-09   2023-03-12 ne/poem-form.html                           Poem form                                       By Ryan Eckes                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/magazi
                        ne/poverty-by-america-matthew-
2023-03-09   2023-03-12 desmond.html                                Why is poverty in America so intractable        By Matthew Desmond             TX 9-286-255   2023-05-02
                                                                    The man began having episodes of
                        https://www.nytimes.com/2023/03/09/magazi uncontrollable sweating roughly once a month
2023-03-09   2023-03-12 ne/sweating-seizures-diagnosis.html         Was this male menopause                         By Lisa Sanders MD             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/nyregio                                                  By Maria Clara Cobo and Todd
2023-03-09   2023-03-12 n/phantom-opera-orchestra.html              In the Pit a Future Without Phantom             Heisler                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/opinion
2023-03-09   2023-03-12 /american-health-care-hospitals.html        The Solution to Profits Over Patients Is a Vote By Ricardo Nuila               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/opinion We All Depend on Someone Lets Celebrate
2023-03-09   2023-03-12 /art-of-dependence.html                     That                                            By Alissa Quart                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/opinion
2023-03-09   2023-03-12 /english-literature-study-decline.html      How to Get Kids to Hate English                 By Pamela Paul                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/realesta
2023-03-09   2023-03-12 te/movie-homes.html                         Hmmm That Home Rings a Bell                     By Michael Kolomatsky          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/sports/b Jean Faut 98 Professional Pitcher Who Was
2023-03-09   2023-03-12 aseball/jean-faut-dies.html                 in a League of Her Own                          By Richard Sandomir            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/style/bl
2023-03-09   2023-03-12 ack-designers.html                          Putting Black Design in a Spotlight             By Charlene Prempeh            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/style/bl
2023-03-09   2023-03-12 ack-home-interior-design.html               Interior Identity                               By Alexandra Lange             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/style/de
2023-03-09   2023-03-12 signers-wallpaper-cultural-history.html     Walls That Speak                                By Aileen Kwun                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/style/de
2023-03-09   2023-03-12 signers.html                                Theres No Muse Like Home                        By Whitney Mallett             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/style/fa A Memorable Collection Of Looks and
2023-03-09   2023-03-12 shion-week-moments.html                     Visionaries                                     By The Styles Desk             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/style/fu
2023-03-09   2023-03-12 rniture-designers-african-diaspora.html     Names to Know                                   By Julie Lasky                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/style/in
2023-03-09   2023-03-12 digenous-architect-chris-cornelius.html     An Indigenous Architects Path                   By Matt Shaw                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/style/w
2023-03-09   2023-03-12 edding-traditions-gender-inclusivity.html   Wedding Ceremonies as AllGender Events          By Sadiba Hasan                TX 9-286-255   2023-05-02



                                                                                 Page 4959 of 5793
                        https://www.nytimes.com/interactive/2023/03/ Would 650000 Buy a House in San Diego
2023-03-09   2023-03-12 09/realestate/san-diego-houses-homes.html    One Couple Tested Their Budget                By Debra Kamin           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/arts/mu
2023-03-10   2023-03-12 sic/berghain-berlin-classical-music.html     Transcendence and Inspiration in Techno       By Jeffrey Arlo Brown    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/busines When Health Plans Change Not Everyone Is
2023-03-10   2023-03-12 s/medicare-advantage-retirement-nyc.html     Happy                                         By Mark Miller           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/nyregio
                        n/eric-adams-friends-petrosyants-federal-
2023-03-10   2023-03-12 case.html                                    Adams Pals Still Owe Thousands In US Case By Michael Rothfeld          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/nyregio
                        n/frankenstein-apartments-and-crippled-      Why New York Is So Expensive Right Now
2023-03-10   2023-03-12 libraries-is-this-new-york-citys-future.html Hint It Isnt Taxes                            By Ginia Bellafante      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/nyregio Malachy McCourt Still Has a Few Stories
2023-03-10   2023-03-12 n/malachy-mccourt.html                       Left to Tell                                  By Laurie Gwen Shapiro   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/nyregio
2023-03-10   2023-03-12 n/sara-carpenter-nypd-jan-6-guilty.html      ExOfficer Is Convicted For Her Role On Jan 6 By Hurubie Meko           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/nyregio
                        n/victor-rivera-nyc-homeless-shelter-        Real Estate Broker Pleads Guilty in Scheme to
2023-03-10   2023-03-12 scheme.html                                  Profit From New York City Shelters            By Amy Julia Harris      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/opinion
2023-03-10   2023-03-12 /erdogan-turkey-earthquake.html              Will This Earthquake Be Erdogans Undoing By Lydia Polgreen             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/opinion
2023-03-10   2023-03-12 /porn-conversations.html                     My Year of Talking About Porn                 By Polly Barton          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/opinion
2023-03-10   2023-03-12 /republican-woke-focus.html                  The Rights Obsession With Wokeness            By Michelle Goldberg     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/opinion Could This Man Shape the Future Of the
2023-03-10   2023-03-12 /thomas-massie-republican-party.html         GOP                                           By James Pogue           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/realesta
                        te/apartment-life-magazine-instagram-baby- Many Decades Later Some Truths Havent
2023-03-10   2023-03-12 boomer.html                                  Faded Away                                    By Julie Lasky           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/realesta
2023-03-10   2023-03-12 te/duluth-minnesota-climate-change.html      A Refuge of Sorts for the Climate Conscious By Debra Kamin             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/realesta
                        te/exclusive-adrienne-vittadini-central-     A Designers Home on Central Park Where the
2023-03-10   2023-03-12 park.html                                    Views Always Dictated the Dcor                By Vivian Marino         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/sports/b
                        aseball/nelson-cruz-dominican-republic-      Who Built the Dominican Dream Team Its
2023-03-10   2023-03-12 wbc.html                                     DH                                            By James Wagner          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/sports/s BarcelonaenSeine Just Doesnt Work PSG
2023-03-10   2023-03-12 occer/psg-messi-mbappe.html                  Recognizes                                    By Rory Smith            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/style/co
                        lin-farrell-sweaters-the-banshees-of-
2023-03-10   2023-03-12 inisherin.html                               Is It Just Another Jumper Not Exactly         By Lou Stoppard          TX 9-286-255   2023-05-02




                                                                                 Page 4960 of 5793
                        https://www.nytimes.com/2023/03/10/style/co Getting Started Just as the World Was
2023-03-10   2023-03-12 urtney-smith-andrew-fede-wedding.html       Shutting Down                               By Alix Wall                     TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/10/style/kh First Dating Websites Then an Assist From
2023-03-10   2023-03-12 ushboo-chaudhary-param-gupta-wedding.html Destiny                                       By Sadiba Hasan                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/style/ki
                        rsten-erwin-ricardo-kozuchowicz-            A More Secure Future Courtesy of a Green
2023-03-10   2023-03-12 wedding.html                                Card                                        By Vivian Ewing                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/style/m No Love Is Wasted Even on Those With
2023-03-10   2023-03-12 odern-love-no-love-is-ever-wasted.html      Googly Eyes                                 By Kerry Egan                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/style/na
2023-03-10   2023-03-12 talia-petrzela-fitness.html                 A Scholar Caught Up in Pop Culture          By Katherine Rosman              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/10/style/no They Met on Instagram and Took Off on
2023-03-10   2023-03-12 ra-achmaoui-khalid-alherani-wedding.html    TikTok                                      By Sadiba Hasan                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/style/re
2023-03-10   2023-03-12 d-carpet-oscars-dijanna-mulhearn.html       How to Read the Oscars Red Carpet           By Guy Trebay                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/technol
2023-03-10   2023-03-12 ogy/facial-recognition-stores.html          Some Are Scanning for Hints of Trouble      By Kashmir Hill                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/us/barb Barbara Bryant First Woman to Lead Census
2023-03-10   2023-03-12 ara-bryant-dead.html                        Bureau Dies at 96                           By Neil Genzlinger               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/us/car- Epidemic of Car Thefts Has Link to Viral
2023-03-10   2023-03-12 thefts-kia-challenge-tiktok.html            Videos                                      By Tim Arango and Jacey Fortin   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/us/krist Now He Must Pay Sentenced to 25 Years to    By Eduardo Medina and Johnny
2023-03-10   2023-03-12 in-smart-paul-flores-murder-sentence.html   Life for 1996 Murder of College Student     Diaz                             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/climate Administration Said to Support Alaska
2023-03-11   2023-03-12 /biden-willow-oil-alaska.html               Drilling                                    By Lisa Friedman                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/us/polit
                        ics/dc-hack-data-congress-health-           Data Breach in Washington Affects More
2023-03-11   2023-03-12 marketplace.html                            Than 56000                                  By Luke Broadwater               TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/11/busines                                            By Kurtis Lee and Liliana
2023-03-11   2023-03-12 s/economy/farmworkers-ufw-california.html Can Unions Still Grow in Californias Fields Michelena                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/climate                                            By Max Bearak and Giacomo
2023-03-11   2023-03-12 /green-hydrogen-energy.html                The HighTech Gamble on Green Hydrogen dOrlando                                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/nyregio
2023-03-11   2023-03-12 n/complex-aria-hughes.html                 Food and a Film on a Walk Through Harlem By Gina Cherelus                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/nyregio New Jersey Governor Sets His Sights Beyond
2023-03-11   2023-03-12 n/phil-murphy-new-jersey.html              Term Limits and Trenton                    By Tracey Tully                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/opinion Who Benefits From Confrontation With
2023-03-11   2023-03-12 /china-us-relationship.html                China                                      By The Editorial Board             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/opinion
2023-03-11   2023-03-12 /tom-cruise-maverick.html                  My Life With Tom Cruise                    By Nathan Englander                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/opinion
2023-03-11   2023-03-12 /trump-social-security-haley-pence.html    Trump Has A Real Knack For Promises        By Ross Douthat                    TX 9-286-255   2023-05-02



                                                                                 Page 4961 of 5793
                        https://www.nytimes.com/2023/03/11/realesta How Can We Get Our Coop Building To
2023-03-11   2023-03-12 te/food-delivery-apartment-buildings.html   Restore DoortoDoor Deliveries                By Ronda Kaysen                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/sports/s
                        kiing/shiffrin-stenmark-world-cup-          Shiffrin Still Only 27 Sets Record for World
2023-03-11   2023-03-12 record.html                                 Cup Victories Heres How                      By Bill Pennington                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/style/m
2023-03-11   2023-03-12 el-brooks-comedian.html                     A Timeless Comedian Making History Part II By Maureen Dowd                      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/11/technol Banks Sudden Collapse Sets Off                 By David YaffeBellany Erin
2023-03-11   2023-03-12 ogy/silicon-valley-bank-crypto-investing.html FingerPointing Across the Tech Industry     Griffith and Mike Isaac           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/us/new- In New England Heating Costs Make a Hard
2023-03-11   2023-03-12 england-heating-costs-oil.html                Winter Harder                               By Jenna Russell                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/us/polit
                        ics/desantis-andrew-warren-liberal-           Inside DeSantiss Machinations To Remove an By Alexandra Berzon and Ken
2023-03-11   2023-03-12 prosecutor.html                               Elected Prosecutor                          Bensinger                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/us/polit
2023-03-11   2023-03-12 ics/saudi-arabia-iran-china-biden.html        US Sidelined In Mideast Pact Led by Beijing By Peter Baker                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/world/a Activists Flight Reveals Widening Repression
2023-03-11   2023-03-12 frica/algeria-activist-escape.html            in PostUprising Algeria                     By Constant Mheut                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/world/a
                        frica/south-africa-ramaphosa-farm-
2023-03-11   2023-03-12 burglary.html                                 Watchdog Clears South African Leader        By John Eligon                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/world/a In Argentina 1985 Path to Justice Remains
2023-03-11   2023-03-12 mericas/argentina-1985-dictatorship.html      Alive                                       By Natalie Alcoba                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/world/a Chinas Xi Cultivates Global Image in
2023-03-11   2023-03-12 sia/china-saudi-arabia-iran-us.html           Brokering New Agreement                     By David Pierson                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/world/e Qatar Invested Millions in Courting UN         By Rebecca R Ruiz and Sarah
2023-03-11   2023-03-12 urope/qatar-world-cup-ilo-labor.html          Agency                                      Hurtes                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/world/e In Bakhmut Battle Russia Pushes Front Line
2023-03-11   2023-03-12 urope/russia-ukraine-war-bakhmut.html         to the West Analysts Say                    By Cassandra Vinograd             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/world/e                                                By Michael Schwirtz Stanislav
2023-03-11   2023-03-12 urope/ukraine-farms-mines.html                In BombSown Fields Fears of Deadly Harvest Kozliuk and Ivor Prickett          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/us/calif Rain Eases in California but the Damage       By Viviana Hinojos Adeel Hassan
2023-03-12   2023-03-12 ornia-storm-rain-flood-monterey.html          Endures                                     and Vik Jolly                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/busines
                        s/media/fox-news-dominion-lawsuit-            How Fox Hopes To Win in Court After
2023-03-12   2023-03-12 evidence.html                                 Setbacks                                    By Jeremy W Peters                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/busines
                        s/the-week-in-business-fox-news-anchors-      The Week in Business Fox News Anchors
2023-03-12   2023-03-12 private-messages.html                         Private Messages                            By Marie Solis                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/insider/
                        a-column-that-listens-for-whats-not-being-
2023-03-12   2023-03-12 said.html                                     What Business Executives Really Mean        By Nell Gallogly                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/sports/n For the Men a Dominant Conference and for
2023-03-12   2023-03-12 caabasketball/selection-sunday.html           the Women a Dominant Team                   By Adam Zagoria                   TX 9-286-255   2023-05-02



                                                                                Page 4962 of 5793
                        https://www.nytimes.com/2023/03/12/us/trum LittleKnown Lawyer a Trump Ally Draws        By Danny Hakim and Richard
2023-03-12   2023-03-12 p-georgia-lawyer-robert-cheeley.html         Scrutiny in Georgia                        Fausset                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/world/
2023-03-12   2023-03-12 middleeast/earthquake-turkey-missing.html Turkeys Effort to Find Traces of Loved Ones By Ben Hubbard and Safak Timur TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/busines
                        s/amalgamated-bank-president-priscilla-sims-
2023-03-07   2023-03-13 brown.html                                   Unconventionality ServesAs a Guide for CEO By Alina Tugend              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/08/opinion
2023-03-08   2023-03-13 /india-kashmir-modi-media-censorship.html Modis Final Assault on Indias Press Freedom By Anuradha Bhasin            TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/09/theater/ For Demonstrators The Ultimate Stage Is the
2023-03-09   2023-03-13 france-protests-retirement-macron.html      Streets of Paris                            By Laura Cappelle           TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/09/us/rebe Rebecca Blank Who Redefined Poverty in
2023-03-09   2023-03-13 cca-blank-dead.html                         America Dies at 67                          By Alex Traub               TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/10/arts/des
2023-03-10   2023-03-13 ign/new-york-brooklyn-libraries-lifelines.html Even Amid Deficits Libraries Are Priceless   By Michael Kimmelman    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/10/obituari Overlooked No More Dilys Winn Who
2023-03-10   2023-03-13 es/dilys-winn-overlooked.html                  Brought Murder and Mystery to Manhattan      By Allyson McCabe       TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/10/travel/tr
2023-03-10   2023-03-13 ipped-up-vacation-rental-credit.html           When a Wildfire Causes Cancellation          By Seth Kugel           TX 9-286-255    2023-05-02
                        https://www.nytimes.com/article/china-         Starting His Third Term Chinas President
2023-03-10   2023-03-13 leaders-xi-jinping.html                        Names His New Leadership Team                By Vivian Wang          TX 9-286-255    2023-05-02
                        https://www.nytimes.com/article/ohio-train- How the Ohio Train Derailment and Its
2023-03-10   2023-03-13 derailment-timeline.html                       Aftermath Unfolded                           By Christine Hauser     TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/11/opinion Haley Has the Perfect Presidential Rsum It
2023-03-11   2023-03-13 /nikki-haley.html                              Might Not Matter                             By Jessica Grose        TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/11/sports/b
                        asketball/ja-morant-memphis-gun-               Morants Choices Matter In Arenas Far
2023-03-11   2023-03-13 violence.html                                  Beyond Sports                                By Kurt Streeter        TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/11/sports/f Bud Grant 95 Dies Hall of Fame Coach For
2023-03-11   2023-03-13 ootball/bud-grant-dead.html                    Minnesota Vikings                            By Ken Belson           TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/11/technol Extremely Online Clientele May Have Been
2023-03-11   2023-03-13 ogy/silicon-valley-bank-failure-lessons.html Part of Silicon Valley Bank Failure            By Kevin Roose          TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/11/us/navy-
2023-03-11   2023-03-13 ship-confederate-robert-smalls.html          2 Navy Ships Will Receive New Names            By Emily Schmall        TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/11/us/pled
                        ge-allegiance-teacher-shove-south-           School Sued After Scuffle Over Pledge Of
2023-03-11   2023-03-13 carolina.html                                Allegiance                                     By Amanda Holpuch       TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/12/arts/mu
2023-03-12   2023-03-13 sic/adam-tendler-inheritances-review.html    An Inheritance Inspires a Reward               By Seth Colter Walls    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/12/briefing
2023-03-12   2023-03-13 /spring-books.html                           Sunny With a Chance of Good Reads              By Lauren Jackson       TX 9-286-255    2023-05-02




                                                                                   Page 4963 of 5793
                        https://www.nytimes.com/2023/03/12/busines Regulators Move to Protect Funds New Bank By Jeanna Smialek and Alan
2023-03-12   2023-03-13 s/janet-yellen-silicon-valley-bank.html    Failure                                   Rappeport                          TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/12/busines Saudi Aramco Posts Record Profit as Fossil
2023-03-12   2023-03-13 s/saudi-aramco-record-earnings-profit.html  Fuels Remain Essential                       By Stanley Reed                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/climate Banks Collapse Leaves Climate StartUps at
2023-03-12   2023-03-13 /silicon-valley-bank-climate.html           Risk                                         By David Gelles                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/fashion
2023-03-12   2023-03-13 /jewelry-1920s-1930s-movie-glamour.html     Reprising Greta Garbo                        By David Belcher                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/fashion
                        /jewelry-archives-cartier-boucheron-
2023-03-12   2023-03-13 paris.html                                  Finding inspiration in the archives          By Milena Lazazzera              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/fashion
2023-03-12   2023-03-13 /jewelry-chaumet-archives-paris.html        Chaumets passion for history                 By Nazanin Lankarani             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/fashion
                        /jewelry-craftsmanship-le-doc-collective-                                                By Tina IsaacGoiz and Dmitry
2023-03-12   2023-03-13 paris.html                                  A creative hive in Paris                     Kostyukov                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/fashion
2023-03-12   2023-03-13 /jewelry-cross-diana-madonna-1980s.html     The return of the cross                      By Tanya Dukes                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/fashion
2023-03-12   2023-03-13 /jewelry-desert-rose-qatar.html             The desert rose of Qatar                     By David Belcher                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/fashion
                        /jewelry-georgian-era-buckingham-palace-
2023-03-12   2023-03-13 london.html                                 Georgian jewelry showed the love             By Susanne Fowler                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/fashion
2023-03-12   2023-03-13 /jewelry-luz-camino-madrid.html             Jewelry with a focus on nature               By Jill Newman                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/fashion
2023-03-12   2023-03-13 /jewelry-marie-lichtenberg-paris.html       Recognizable if only to a few                By Rachel Felder                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/fashion
2023-03-12   2023-03-13 /jewelry-tiaras-coronation-london.html      The great British blingoff                   By Annabel Davidson              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/fashion                                               By Victoria Gomelsky and Rebecca
2023-03-12   2023-03-13 /jewelry-tucson-gem-shows-arizona.html      Brilliance in the desert                     Noble                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/health/t Judge in Abortion Pill Case Is Said to Delay
2023-03-12   2023-03-13 exas-abortion-pills-lawsuit.html            Public Notice for Hearing                    By Katie Benner and Pam Belluck TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/12/movies/
2023-03-12   2023-03-13 oscars-winners-list.html                    2023 Oscar Winners                           By Gabe Cohn                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/nyregio MillionDollar Staircase Adds New Face Ruth By Grace Ashford and Cindy
2023-03-12   2023-03-13 n/ruth-bader-ginsburg-albany.html           Bader Ginsburg                               Schultz                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/opinion
                        /newsom-desantis-walgreens-                 Culture Wars Are Coming for Your Rights
2023-03-12   2023-03-13 constitution.html                           and Theirs                                   By David French                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/sports/b Jesus Alou 80 Who With 2 Brothers Formed
2023-03-12   2023-03-13 aseball/jesus-alou-dead.html                the Giants Outfield in a 63 Game             By Richard Goldstein             TX 9-286-255   2023-05-02




                                                                               Page 4964 of 5793
                        https://www.nytimes.com/2023/03/12/sports/n In a WideOpen Mens Field the Questions
2023-03-12   2023-03-13 caabasketball/ncaa-tournament-seedings.html Abound From Top to Bottom                      By Billy Witz                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/sports/n
                        caabasketball/perfect-bracket-ncaa-          On a Quest for Perfection With Odds of 1 in 9
2023-03-12   2023-03-13 tournament.html                              Quintillion                                   By Andrew Keh                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/sports/o Pat McCormick 92 Olympic Diver Who Won
2023-03-12   2023-03-13 lympics/pat-mccormick-dead.html              Gold                                          By Frank Litsky                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/technol
2023-03-12   2023-03-13 ogy/deepfakes-cheapfakes-videos-ai.html      Fake Videos Just Got Easier For Everyone      By Stuart A Thompson              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/us/polit
2023-03-12   2023-03-13 ics/mike-pence-donald-trump-gridiron.html Pence Says That History Will Judge Trump By Jonathan Weisman                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/world/a Restoring the Glory of Carnival With Heart
2023-03-12   2023-03-13 frica/angola-carnival.html                   and a Shoestring Budget                       By John Eligon and Gulshan Khan   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/world/a Alcohol Ban for Aboriginal Australians
2023-03-12   2023-03-13 ustralia/alice-springs-alcohol.html          Returns So Do Questions                       By Yan Zhuang                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/world/e Turmoil Engulfs BBC After Soccer Icon
2023-03-12   2023-03-13 urope/gary-lineker-bbc.html                  Meets a Political Divide                      By Mark Landler                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/world/e
2023-03-12   2023-03-13 urope/swiss-neutrality-russia-ukraine.html   Neutral Status In Time of War Tests the Swiss By Erika Solomon                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/world/e                                                 By Matthew Mpoke Bigg Carlotta
2023-03-12   2023-03-13 urope/ukraine-russia-kupiansk.html           Kyiv Seeking to Evacuate a Town It Controls Gall and Oleksandr Chubko           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/world/
2023-03-12   2023-03-13 middleeast/saudi-iran-china.html             In SaudiIran Thaw a Potential WinWinWin By Vivian Nereim                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/arts/tele
                        vision/oscars-academy-awards-ceremony-
2023-03-13   2023-03-13 broadcast.html                               Nothing Unexpected To See Here Folks          By Mike Hale                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/sports/n
                        caabasketball/womens-ncaa-tournament-        Top Seed South Carolina May See Hungry
2023-03-13   2023-03-13 selection.html                               Rivals in Womens Tournament                   By Kris Rhim                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/arts/tele
                        vision/whats-on-tv-this-week-lucky-hank-and-                                               By Kristen Bayrakdarian and
2023-03-13   2023-03-13 the-hours.html                               This Week on TV                               Hannah Fidelman                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/busines The Business of AIBased Hiring Is No Sure
2023-03-13   2023-03-13 s/ai-hiring-jobs.html                        Thing                                         By Steve Lohr                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/movies/
                        oscars-everything-everywhere-all-at-
2023-03-13   2023-03-13 once.html                                    Everything Everywhere Is Biggest Winner       By Brooks Barnes                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/opinion
                        /international-world/putin-ukraine-nuclear-
2023-03-13   2023-03-13 weapons.html                                 Is Arms Control Just a Fantasy                By Serge Schmemann                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/13/sports/n Some Bad Advice on Making Your Bracket
2023-03-13   2023-03-13 caabasketball/ncaa-bracket-pool-advice.html Picks                                        By Victor Mather                    TX 9-286-255   2023-05-02




                                                                                 Page 4965 of 5793
                        https://www.nytimes.com/2023/03/13/us/drug- Deal on Opioids Hinders Access To Other   By Christina Jewett and Ellen
2023-03-13   2023-03-13 limits-adhd-depression.html                 Drugs                                     Gabler                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/us/polit
2023-03-13   2023-03-13 ics/biden-budget-deficits-strategy.html     In Budget Talks Biden Rejects Obamas Path By Jim Tankersley                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/13/us/upen
2023-03-13   2023-03-13 n-law-professor-racism-freedom-speech.html In Toxic Professors Speech a Test of Tenure   By Vimal Patel                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/
                        12/sports/natural-selection-snowboarding-
2023-03-13   2023-03-13 travis-rice.html                             Ride to Survive                             By Matt Ruby                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/25/science What Frozen Saltwater Tells Us of Alien
2023-02-25   2023-03-14 /space/salty-ice-moons.html                  Moons                                       By Kenneth Chang              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/
2023-03-01   2023-03-14 01/science/china-mars-rover-nasa.html        What Happened to Chinas Mars Rover          By Kenneth Chang              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/02/science Bad Vibrations Whats Using Vocal Fry in
2023-03-02   2023-03-14 /dolphins-whales-vocal-fry.html              Oceans Lots of Dolphins and Whaaaaales      By Sam Jones                  TX 9-286-255   2023-05-02

                        https://www.nytimes.com/interactive/2023/03/ Where Restrictions on Abortion Pills Could By Allison McCann and Amy
2023-03-02   2023-03-14 02/us/abortion-pill-lawsuit-mifepristone.html Matter Most in the US                     Schoenfeld Walker              TX 9-286-255   2023-05-02
                                                                      Royal Freeloaders For These Impostor Ant
                        https://www.nytimes.com/2023/03/03/science Queens Real Work Is Entirely Out of the
2023-03-03   2023-03-14 /queen-ant-impostors.html                     Question                                  By Rebecca Dzombak             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/well/fa Breast Pumps Bacteria And a Note of
2023-03-03   2023-03-14 mily/breast-pumps-bacteria-infection.html     Caution                                   By Catherine Pearson           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/well/fa                                              By Paula Span and Sara Naomi
2023-03-03   2023-03-14 mily/grandfather-grandparent-how-to.html      Raising a Generation of Cool Grandpas     Lewkowicz                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/well/liv Avoiding the Doctor Is a Trouble Spot for
2023-03-03   2023-03-14 e/men-doctor-visits.html                      Men                                       By Jancee Dunn                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/04/science The Chunky Dunkleosteus This TunaLike
2023-03-04   2023-03-14 /chunky-dunk-fossil.html                      Brute Is No Chicken of the Sea            By Jack Tamisiea               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/science
2023-03-07   2023-03-14 /female-mice-hormones.html                    Challenging A Sex Bias In the Lab         By Azeen Ghorayshi             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/well/ca
2023-03-07   2023-03-14 nnabis-weed-sleep-aid.html                    Is Cannabis Good or Bad for Sleep         By Hannah Seo                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/science
                        /room-temperature-superconductor-ranga-
2023-03-08   2023-03-14 dias.html                                     New Superconductor Sows Hope and Doubts By Kenneth Chang                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/well/m
2023-03-09   2023-03-14 ove/gym-workout-anxiety-fears.html            How to Train to Beat Gymtimidation        By Amanda Loudin               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/science
2023-03-10   2023-03-14 /canada-tornadoes-technology.html             Where the Tornadoes Are Tough to Track    By Oliver Whang                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/article/svb-silicon-
2023-03-10   2023-03-14 valley-bank-explainer.html                    How 2 Banks Collapsed in 3 Days           By Vivian Giang                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/sports/f Otis Taylor 80 Receiver Who Helped Kansas
2023-03-11   2023-03-14 ootball/otis-taylor-dead.html                 City Pull a Super Bowl Shocker            By Richard Sandomir            TX 9-286-255   2023-05-02



                                                                                Page 4966 of 5793
                        https://www.nytimes.com/2023/03/11/arts/ma Mary Bauermeister 88 Creator And Nurturer
2023-03-11   2023-03-14 ry-bauermeister-dead.html                    of Daring Art Dies                          By Will Heinrich               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/books/
2023-03-11   2023-03-14 mia-couto-mozambique-books.html              A Voice of Mozambique Chapter and Verse By Jacob Judah                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/arts/des Smithsonian Names Head Of Womens
2023-03-13   2023-03-14 ign/smithsonian-director-nancy-yao.html      History Center                              By Zachary Small               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/arts/fbi-
2023-03-13   2023-03-14 art-crime-team.html                          FBI Team On the Trail Of Art Crime          By Matt Stevens                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/arts/mu
2023-03-13   2023-03-14 sic/solomon-handel-carnegie-hall.html        A Handel Oratorio Filled With Lyrical Grace By Zachary Woolfe              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/arts/tele
2023-03-13   2023-03-14 vision/the-last-of-us-season-finale.html     The Viewer Became A Player                  By James Poniewozik            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/books/k Kenzaburo Oe NobelWinning Critic of
2023-03-13   2023-03-14 enzaburo-oe-dead.html                        Postwar Japan Dies at 88                    By Daniel Lewis                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/busines Chinese Premier Aims To Inject Confidence By Keith Bradsher and Chris
2023-03-13   2023-03-14 s/china-premier-li-qiang.html                In Faltering Economy                        Buckley                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/busines
2023-03-13   2023-03-14 s/china-premier-xi-jinping.html              As Xi Hovers China Premier Chases Growth By Keith Bradsher and Chang Che   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/13/busines Banking Tumult May Push Fed To Move
2023-03-13   2023-03-14 s/economy/federal-reserve-interest-rates.html Cautiously on Rates                        By Jeanna Smialek              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/busines                                               By Jeanna Smialek and Alan
2023-03-13   2023-03-14 s/economy/svb-bailout-questions.html          Quick Action Also Carries Inherent Risks   Rappeport                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/busines
                        s/media/a24-oscars-everything-everywhere-
2023-03-13   2023-03-14 the-whale.html                                Indie Studio Triumphs by Going Its Own Way By Nicole Sperling             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/busines Ziff Davis to Buy Lifehacker the Internets    By Mike Isaac and Benjamin
2023-03-13   2023-03-14 s/media/lifehacker-ziff-davis.html            Guide to Everything                        Mullin                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/busines
2023-03-13   2023-03-14 s/oscars-viewers-ratings.html                 Academy Awards Draws 187 Million Viewers By John Koblin and Brooks Barnes TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/busines California Court Mostly Upholds a 2020
2023-03-13   2023-03-14 s/prop-22-upheld-california.html              Ballot Measure on Gig Work                 By Kellen Browning             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/busines Bank Stocks Skid Despite US Moves To          By Stacy Cowley Rob Copeland
2023-03-13   2023-03-14 s/regional-bank-stocks.html                   Calm Markets                               and Anupreeta Das              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/busines
                        s/signature-silicon-valley-bank-dodd-frank-
2023-03-13   2023-03-14 regulation.html                               Oversight Was Eased Before Failures        By David Enrich                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/climate Left With Few Options Biden Freely
2023-03-13   2023-03-14 /willow-biden-oil-climate.html                Approves Alaska Drilling Project           By Lisa Friedman               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/movies/
2023-03-13   2023-03-14 academy-awards-oscars-critics.html            An Ordinary Night How Reassuring           By AO Scott and Manohla Dargis TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/movies/
2023-03-13   2023-03-14 oscars-best-worst.html                        Highlights Won the Night                   By Stephanie Goodman           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/nyregio Raids Bulldozers and a Tribe at War With
2023-03-13   2023-03-14 n/cayuga-nation-tribe-new-york.html           Itself                                     By Jesse McKinley              TX 9-286-255   2023-05-02



                                                                              Page 4967 of 5793
                        https://www.nytimes.com/2023/03/13/nyregio Hochul Ends Plan to Build A Rail Link to La
2023-03-13   2023-03-14 n/laguardia-lga-airtrain.html              Guardia                                     By Patrick McGeehan                   TX 9-286-255   2023-05-02
                                                                                                               By Ben Protess Kate Christobek
                        https://www.nytimes.com/2023/03/13/nyregio ExFixer for Trump Testifies as Grand Jury   William K Rashbaum and Jonah E
2023-03-13   2023-03-14 n/michael-cohen-trump-grand-jury.html      Indictment in Hush Money Case Seems Near Bromwich                                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/nyregio Fatal Police Shooting in New Jersey Sparks
2023-03-13   2023-03-14 n/nj-police-shooting-najee-seabrooks.html  Call for Justice Dept Inquiry               By Tracey Tully                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/nyregio BikePath Attacker Will Serve Life In Prison By Benjamin Weiser and Lola
2023-03-13   2023-03-14 n/sayfullo-saipov-death-penalty.html       as Jury Deadlocks on Death                  Fadulu                                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/13/opinion
2023-03-13   2023-03-14 /elizabeth-warren-silicon-valley-bank.html  These Bank Failures Were Entirely Avoidable By Elizabeth Warren                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/opinion
2023-03-13   2023-03-14 /silicon-valley-bank-lehman-bailout.html    Silicon Valley Bank Isnt Lehman                By Paul Krugman                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/opinion
2023-03-13   2023-03-14 /tucker-carlson-joe-biden-budget.html       Carlson Is No Less Dangerous as a Hypocrite By Gail Collins and Bret Stephens    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/sports/b                                                By James Wagner and Saul
2023-03-13   2023-03-14 aseball/world-baseball-classic-miami.html   Latin Americas Big Dance                       Martinez                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/sports/n
                        caabasketball/underdogs-marquette-tyler-    Picked to Finish Poorly These Teams Can
2023-03-13   2023-03-14 kolek.html                                  Look Down on Doubters                          By Adam Zagoria                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/sports/s Shiffrin Hires Coach With Aim of Lifting
2023-03-13   2023-03-14 kiing/shiffrin-harjo-world-cup.html         Women                                          By Bill Pennington                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/sports/s
                        occer/usmnt-gregg-berhalter-                Berhalter Is Cleared to Potentially Regain Job
2023-03-13   2023-03-14 investigation.html                          as the US Mens Coach                           By Juliet Macur                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/technol Collapse Shows Vulnerabilities Of Tech
2023-03-13   2023-03-14 ogy/silicon-valley-image.html               Sector                                         By Erin Griffith and Mike Isaac   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/theater/
2023-03-13   2023-03-14 dear-world-city-center-encores.html         A Conductor Arrives Bearing a Curiosity        By Joshua Barone                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/us/max- Jury Awards 61 Million to Parents of Student
2023-03-13   2023-03-14 gruver-lsu-hazing-death-lawsuit.html        Who Died After Hazing at LSU                   By Livia AlbeckRipka              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/us/mcc Discharged McConnell Now Heads For
2023-03-13   2023-03-14 onnell-hospital-rehab.html                  Rehab                                          By Carl Hulse                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/us/polit
                        ics/erika-moritsugu-white-house-aapi-       White House Asian American Liaison Juggles
2023-03-13   2023-03-14 liaison.html                                Celebrations and Crises                        By Stephanie Lai                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/us/polit Hate Crimes Rose 12 in 2021 but the Figure Is
2023-03-13   2023-03-14 ics/hate-crimes-increase-2021.html          Likely Much Higher                             By Glenn Thrush                   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/13/us/polit House Republicans Quietly Halt Investigation By Luke Broadwater and Jonathan
2023-03-13   2023-03-14 ics/house-trump-finances-investigation.html Into Trumps Finances                         Swan                            TX 9-286-255       2023-05-02
                                                                    Nashville Sues to Block a State Law That
                        https://www.nytimes.com/2023/03/13/us/polit Would Cut the Size of Its Metro Council in
2023-03-13   2023-03-14 ics/nashville-council-lawsuit.html          Half                                         By Emily Cochrane               TX 9-286-255       2023-05-02



                                                                                 Page 4968 of 5793
                        https://www.nytimes.com/2023/03/13/us/polit
                        ics/nuclear-submarine-deal-australia-       Biden Unveils Landmark Submarine Deal         By Michael D Shear and Edward
2023-03-13   2023-03-14 britain.html                                With Australia and Britain                    Wong                              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/us/polit To Put Brakes on DeSantiss Momentum
2023-03-13   2023-03-14 ics/trump-iowa-desantis.html                ExPresident Visits the Same City in Iowa      By Michael C Bender               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/us/polit Gavel Passes to New Judge Overseeing Grand
2023-03-13   2023-03-14 ics/trump-judge-james-boasberg.html         Jury In Federal Trump Inquiry                 By Charlie Savage                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/us/polit
2023-03-13   2023-03-14 ics/ukraine-war-refugees.html               Many Ukrainians in US Get a Reprieve          By Eileen Sullivan                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/world/a Dozens Killed As a Cyclone Lashes Africa By Golden Matonga and Lynsey
2023-03-13   2023-03-14 frica/cyclone-freddy-africa-dead.html       For 35 Days                                   Chutel                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/world/e BBCs Top Sports Host to Return From
2023-03-13   2023-03-14 urope/gary-lineker-bbc-return-motd.html     Suspension After Staff Revolt                 By Mark Landler                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/world/e An International Court Is Said to Plan 2 War
2023-03-13   2023-03-14 urope/icc-war-crimes-russia-ukraine.html    Crimes Cases Against Russia                   By Marlise Simons                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/world/e 10 Years On Pope Francis Faces Challenges
2023-03-13   2023-03-14 urope/pope-francis-catholic-church.html     From the Right and the Left                   By Jason Horowitz                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/world/e For Russias Elite A Wartime Haven              By Anton Troianovski and Andrea
2023-03-13   2023-03-14 urope/russia-dubai-ukraine-war.html         Materializes in Dubai                         DiCenzo                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/world/e Russian Attacks Yield Little but Casualties in By Marc Santora Matthew Mpoke
2023-03-13   2023-03-14 urope/russia-ukraine-attacks-donbas.html    Wide Arc of Ukraines East                     Bigg and Richard PrezPea          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/world/
                        middleeast/a-female-mossad-agents-treasure- An Israeli Spy Who Roamed In Plain Sight
2023-03-13   2023-03-14 trove-of-photos.html                        Behind a Lens                                 By Ronen Bergman                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/your-                                                  By Ron Lieber and Tara Siegel
2023-03-13   2023-03-14 money/fdic-banks-svb.html                   How Does the Bank Protect Your Money          Bernard                           TX 9-286-255   2023-05-02

                        https://www.nytimes.com/live/2023/03/13/bus
                        iness/silicon-valley-bank/shares-of-smaller-
                        banks-take-a-beating-helping-lower-investors-
2023-03-13   2023-03-14 expectations-of-more-interest-rate-increases Shares of Smaller Banks Take a Beating     By Joe Rennison                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/opinion Abortion Foes Want to Make Women Afraid
2023-03-14   2023-03-14 /abortion-lawsuit-texas.html                  to Get Help From Friends                  By Michelle Goldberg                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/sports/b
2023-03-14   2023-03-14 aseball/trevor-bauer-japan.html               As MLB Season Nears Bauer Heads to Japan By Scott Miller                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/theater/
2023-03-14   2023-03-14 review-the-coast-starlight.html               Rueful Strangers on a Train               By Alexis Soloski                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/health/e
2023-03-14   2023-03-14 nd-of-life-care-hospice.html                  Aggressive Care Still Common at Lifes End By Paula Span                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/health/
2023-03-14   2023-03-14 heart-brain-time.html                         The Perception of Time in a Heartbeat     By Ellen Barry                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/science
2023-03-14   2023-03-14 /donkeys-genetics-archaeology.html            Its Worth Braying About                   By Franz Lidz and Samuel Aranda     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/sports/s Not Groomed for Stardom but the Look
2023-03-14   2023-03-14 occer/khvicha-kvaratskhelia-napoli.html       Comes Natural                             By Rory Smith                       TX 9-286-255   2023-05-02



                                                                                Page 4969 of 5793
                        https://www.nytimes.com/2023/03/14/us/polit Trumps 2016 Rivals Show No Interest in         By Reid J Epstein and Maggie
2023-03-14   2023-03-14 ics/trump-opponents.html                    Another Challenge for 2024                     Haberman                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/dining/
2023-03-08   2023-03-15 colcannon-st-patricks-day.html              An Eggy Riff On an Irish Classic               By Melissa Clark               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/dining/t
2023-03-10   2023-03-15 op-chef-season-20.html                      Inside the Top Chef Industrial Complex         By Brett Anderson              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/theater/
                        pericles-review-shakespeare-target-
2023-03-11   2023-03-15 margin.html                                 A Prince Tumbles Into a Royal Scandal          By Laura CollinsHughes         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/opinion
2023-03-12   2023-03-15 /international-world/taiwan-china.html      An Unpopular Idea Resurfaces in Taiwan         By Farah Stockman              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/arts/mu
2023-03-13   2023-03-15 sic/review-verdi-falstaff-met-opera.html    Noble Subtleties Fit for a Kingdom             By Oussama Zahr                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/dining/ Distinctive Wines Rise From Deep
2023-03-13   2023-03-15 drinks/originality-wines-ambition.html      Convictions                                    By Eric Asimov                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/dining/r
2023-03-13   2023-03-15 ed-beans-rice-new-orleans.html              A Love of Beans Goes Beyond the Plate          By Kayla Stewart               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/sports/o Dick Fosbury 76 Jumper Whose Flop Flipped
2023-03-13   2023-03-15 lympics/dick-fosbury-dead.html              His Sport on Its Head                          By Alex Traub                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/sports/b Joe Pepitone a Yankee Who Played And
2023-03-14   2023-03-15 aseball/joe-pepitone-dead.html              Partied With Gusto Dies at 82                  By Bruce Weber                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/theater/
2023-03-14   2023-03-15 how-to-defend-yourself-review.html          Learning to Fight Back and All That It Entails By Maya Phillips               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/arts/des
2023-03-14   2023-03-15 ign/lucas-museum-of-narrative-art.html      Lucas Museum Not Quite Hyperdrive              By Adam Nagourney              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/arts/mu
2023-03-14   2023-03-15 sic/hilary-hahn-violin-practice.html        She Can Practice Practically Anywhere          By David Allen                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/books/a Amy Schwartz 68 Childrens Author Who
2023-03-14   2023-03-15 my-schwartz-dead.html                       Found the Wondrous in the Mundane              By Neil Genzlinger             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/books/e A Ticket to Meet the KPop Star of Her
2023-03-14   2023-03-15 sther-yi-y-n.html                           Fantasies                                      By Alexandra Jacobs            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/books/h
2023-03-14   2023-03-15 ello-beautiful-ann-napolitano.html          Oprahs Call Transforms Another Life            By Elisabeth Egan              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/14/busines
2023-03-14   2023-03-15 s/boeing-dreamliner-order-saudi-arabia.html Saudis Put in Big Order for Boeing 787s       By Niraj Chokshi                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/busines
                        s/buffalo-wild-wings-boneless-wings-        Illinois Man Sues Buffalo Wild Wings Chain
2023-03-14   2023-03-15 lawsuit.html                                Over Boneless Wings Products                  By Derrick Bryson Taylor        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/busines To Rein In Banks Xi Gives His Party More       By Daisuke Wakabayashi and
2023-03-14   2023-03-15 s/china-xi-jinping-banks.html               Say Over Policy                               Claire Fu                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/busines Novo Nordisk Will Cut the Sticker Price of
2023-03-14   2023-03-15 s/novo-nordisk-insulin-price.html           Insulin by 70                                 By Rebecca Robbins              TX 9-286-255   2023-05-02




                                                                                 Page 4970 of 5793
                        https://www.nytimes.com/2023/03/14/busines After Days Of Dread Bank Sector Can
2023-03-14   2023-03-15 s/regional-banks-stock-western-alliance.html Breathe                                      By Rob Copeland               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/busines
2023-03-14   2023-03-15 s/silicon-valley-bank-gregory-becker.html    Failed Lender Mixed Hubris And Missteps      By Maureen Farrell            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/busines US Is Said to Open Inquiry Into Collapse Of By Matthew Goldstein and Katie
2023-03-14   2023-03-15 s/silicon-valley-bank-investigation.html     California Bank                              Benner                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/busines
2023-03-14   2023-03-15 s/stock-market-today.html                    Wall Street Rises on Relief Over Banks       By Joe Rennison               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/busines
                        s/volkswagen-electric-vehicles-batteries-
2023-03-14   2023-03-15 investment.html                              Volkswagen Points 193 Billion at EVs         By Melissa Eddy               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/climate EPA to Strictly Limit Toxic PFAS Chemicals
2023-03-14   2023-03-15 /epa-water-pfas-chemicals.html               In Drinking Water                            By Lisa Friedman              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/dining/ Anto Korean Fine Dining to Open in the East
2023-03-14   2023-03-15 nyc-restaurant-news.html                     50s                                          By Florence Fabricant         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/dining/t
                        atiana-restaurant-review-kwame-              This Celebratory Chef Knows Whats Going
2023-03-14   2023-03-15 onwuachi.html                                On                                           By Pete Wells                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/dining/t Lincoln Center the Land Of New Dining
2023-03-14   2023-03-15 he-lincoln-center-comeback.html              Options                                      By Nikita Richardson          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/dining/
2023-03-14   2023-03-15 zero-waste-cooking.html                      ZeroWaste Cooking Practical and Joyful       By Tejal Rao                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/health/ HIV Program Has Saved Millions Over Two
2023-03-14   2023-03-15 pepfar-hiv.html                              Decades                                      By Apoorva Mandavilli         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/insider/
2023-03-14   2023-03-15 svb-bank-failure-fed-economy.html            An Uncertain Juncture in the Economy         By Megan DiTrolio             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/movies/
                        everything-everywhere-spring-release-
2023-03-14   2023-03-15 oscars.html                                  Early Arrivals Can Capture The Big Prize     By Sarah Bahr                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/nyregio
                        n/correction-captain-rebecca-hillman-        Jail Captain Convicted of Negligent Homicide By Maria Cramer and Wesley
2023-03-14   2023-03-15 verdict.html                                 in the Hanging Death of an Inmate            Parnell                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/nyregio Santos Files Candidacy Papers for 2024
2023-03-14   2023-03-15 n/george-santos-2024-candidate.html          Enabling Him to Raise and Spend Money        By Michael Gold               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/nyregio Even a City Councilman Learns Its Hard to
2023-03-14   2023-03-15 n/housing-market-nyc-chi-osse.html           Find A New York Apartment                    By Mihir Zaveri               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/obituari Patricia Schroeder Lawmaker Who Elevated
2023-03-14   2023-03-15 es/pat-schroeder-dead.html                   Women Is Dead at 82                          By Katharine Q Seelye         TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/14/opinion
2023-03-14   2023-03-15 /benjamin-netanyahu-israel-putin-russia.html Why Bad Things Happen to Bad Leaders        By Thomas L Friedman           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/opinion
2023-03-14   2023-03-15 /svb-bank-bailout.html                       How to Make This the Last Banking Bailout   By The Editorial Board         TX 9-286-255   2023-05-02




                                                                                Page 4971 of 5793
                        https://www.nytimes.com/2023/03/14/science
                        /race-genetics-research-national-           Avoid Race As Category In Research Report
2023-03-14   2023-03-15 academies.html                              Urges                                       By Carl Zimmer                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/sports/b
                        aseball/tim-anderson-world-baseball-        An Infielder Wants the Moment And Then
2023-03-14   2023-03-15 classic.html                                Seizes It                                   By Tyler Kepner                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/sports/g The Pros Are Hitting Balls Way Too Far
2023-03-14   2023-03-15 olf/driving-distance-usga-rules.html        Some Say It Has to Stop                     By Alan Blinder                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/sports/n
                        caabasketball/indiana-women-ncaa-           Indiana Women Claim LongSought Spotlight
2023-03-14   2023-03-15 tournament.html                             in Bid to Crash the Final Four              By Adam Zagoria                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/sports/s Did You Like Last Years World Cup Youll
2023-03-14   2023-03-15 occer/2026-world-cup-format.html            Get Even More of It in 2026                 By Tariq Panja                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/sports/t Alcaraz Is Back To the Delight Of a
2023-03-14   2023-03-15 ennis/carlos-alcaraz-indian-wells.html      Tournament                                  By Matthew Futterman              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/sports/t For Players and Coaches at Indian Wells Its By Christopher Clarey and Michael
2023-03-14   2023-03-15 ennis/indian-wells-lawn.html                All About the Lawn                          Owens                             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/technol
2023-03-14   2023-03-15 ogy/ai-funding-boom.html                    A Funding Frenzy Is Enveloping AI StartUps By Erin Griffith and Cade Metz     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/technol In Meta Plan For Layoffs 10000 Jobs Are
2023-03-14   2023-03-15 ogy/meta-facebook-layoffs.html              Targeted                                    By Mike Isaac                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/technol In Pushing Frontiers of AI StartUp Sets Its
2023-03-14   2023-03-15 ogy/openai-gpt4-chatgpt.html                Sights on Reasoning                         By Cade Metz                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/technol All the Ways GPT4 Is Impressive But Still
2023-03-14   2023-03-15 ogy/openai-new-gpt4.html                    Flawed                                      By Cade Metz and Keith Collins    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/us/ohio-
                        train-derailment-norfolk-southern-          Ohio Attorney General Files Suit Against
2023-03-14   2023-03-15 lawsuit.html                                Norfolk Southern Over Train Derailment      By Campbell Robertson             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/us/polit Dont Call It a Bailout The US Is Haunted by
2023-03-14   2023-03-15 ics/bailout-biden-financial-crisis.html     the 2008 Crisis                             By Peter Baker                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/us/polit Framing Collapse as Culture War Partisans   By Jonathan Weisman and Stuart A
2023-03-14   2023-03-15 ics/bank-collapse-train-derailment.html     Blame Woke Banks                            Thompson                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/us/polit
                        ics/biden-guns-background-checks-monterey- Biden Issues Executive Order to Strengthen
2023-03-14   2023-03-15 park.html                                   Gun Background Checks                       By Michael D Shear                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/us/polit Aide Helping Trump Navigate Legal Peril     By Maggie Haberman Alan Feuer
2023-03-14   2023-03-15 ics/boris-epshteyn-trump-lawyer.html        Also Under Scrutiny                         and Jesse McKinley                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/14/us/polit Moving Quickly to Avert a Financial       By Alan Rappeport Lauren Hirsch
2023-03-14   2023-03-15 ics/inside-silicon-valley-bank-rescue.html  Avalanche                                 Jeanna Smialek and Jim Tankersley TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/14/us/polit                                           By Jonathan Swan and Maggie
2023-03-14   2023-03-15 ics/ron-desantis-ukraine-republicans.html   DeSantis View on Ukraine Upsets Hawks     Haberman                          TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/14/us/polit Russia Warplane Downs US Drone Over
2023-03-14   2023-03-15 ics/russia-us-drone-black-sea.html          Black Sea                                 By Eric Schmitt                   TX 9-286-255     2023-05-02




                                                                               Page 4972 of 5793
                        https://www.nytimes.com/2023/03/14/us/pyth In Florida Invasive Pythons Make Their Way
2023-03-14   2023-03-15 ons-florida-invasive-species.html          North                                        By Patricia Mazzei                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/us/seaw and to the South a Giant Mass of Seaweed     By Livia AlbeckRipka and Emily
2023-03-14   2023-03-15 eed-blob-florida-mexico.html               Threatens to Stink Up Beaches                Schmall                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/us/well Rifts Appear at Wellesley Over Whether to
2023-03-14   2023-03-15 esley-college-trans-nonbinary.html         Admit Transgender Men                        By Vimal Patel                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/well/m Told Illness Was in Her Head Scientist
2023-03-14   2023-03-15 arlena-fejzo-hyperemesis-gravidarum.html   Hunted for the Truth                         By Alice Callahan                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/world/a                                              By Abdi Latif Dahir and Arlette
2023-03-14   2023-03-15 frica/oil-pipeline-uganda-tanzania.html    Uganda Oil Rush Threatens Natural Treasures Bashizi                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/world/e Who Was Leonardos Mother A Novelist Has
2023-03-14   2023-03-15 urope/leonardo-da-vinci-mother-book.html   Evidence She Was Enslaved                    By Elisabetta Povoledo            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/world/e Macron Faces a Day of Decision in His
2023-03-14   2023-03-15 urope/macron-france-retirement-age.html    Attempt to Reshape France                    By Roger Cohen                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/world/e Polish Activist Convicted Of Giving Abortion
2023-03-14   2023-03-15 urope/poland-abortion-pills-verdict.html   Pills                                        By Monika Pronczuk                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/14/world/e Russias Mercenary Chief Prepares Ground for
2023-03-14   2023-03-15 urope/prigozhin-wagner-russia-bakhmut.html Political Advance                              By Anatoly Kurmanaev           TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/14/world/e                                                By Sergey Ponomarev and Ivan
2023-03-14   2023-03-15 urope/russians-georgia-armenia-war.html     Finding Hope In New Homes                     Nechepurenko                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/14/world/e Months After Its Troops Abandoned Kherson By Marc Santora and Eric
2023-03-14   2023-03-15 urope/ukraine-war-kherson.html              Russia Steps Up Shelling There                Nagourney                      TX 9-286-255    2023-05-02
                        https://www.nytimes.com/live/2023/03/14/bus
                        iness/svb-banks-inflation-economy-news/cpi-                                               By Jeanna Smialek and Joe
2023-03-14   2023-03-15 inflation-federal-reserve                   Bank Turmoil And Price Data Challenge Fed Rennison                           TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/14/us/calif In Relentless Storms Californias Aging
2023-03-15   2023-03-15 ornia-storm-pajaro-levee.html               Levees Are Failing                            By Tim Arango and Shawn Hubler TX 9-286-255    2023-05-02
                                                                    Its Not the First Disaster for the Man Tapped
                        https://www.nytimes.com/2023/03/15/busines to Sort Out What Remains of Silicon Valley
2023-03-15   2023-03-15 s/tim-mayopoulos-silicon-valley-bank.html Bank                                            By Emily Flitter               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/02/22/well/liv
2023-02-22   2023-03-16 e/hospice-care.html                         Here to Help How Does Hospice Care Work By Dana G Smith                      TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/07/t-       Reflecting the Infinite Number of Ways of
2023-03-07   2023-03-16 magazine/black-books-plays-poems.html       Being Black in America                        By Adam Bradley                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/08/world/a Ans Westra 86 Incisive Chronicler Of Social
2023-03-08   2023-03-16 sia/ans-westra-dead.html                    Changes in New Zealand                        By Natasha Frost               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/09/style/bo This BORG Isnt an Alien or an ExTennis
2023-03-09   2023-03-16 rg-drinking-tiktok.html                     Player                                        By Madison Malone Kircher      TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/10/movies/
2023-03-10   2023-03-16 scream-vi-subway-scene.html                 A Murderer Armed With a MetroCard             By Esther Zuckerman            TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/10/style/ve Versace Makes the Most of a StarStudded
2023-03-10   2023-03-16 rsace-fashion-show-oscars.html              Weekend                                       By Jessica Testa               TX 9-286-255    2023-05-02




                                                                                Page 4973 of 5793
                        https://www.nytimes.com/2023/03/13/arts/des Artworks on Abortion Removed From
2023-03-13   2023-03-16 ign/idaho-abortion-lewis-clark-college.html Display                                     By Brian Boucher                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/13/style/br
2023-03-13   2023-03-16 eakup-art.html                              After Heartbreak They Got Creative          By Gina Cherelus                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/13/style/os
2023-03-13   2023-03-16 car-fashion-marketing.html                  Oscars Fashion Beyond Marketing             By Vanessa Friedman               TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/14/books/a Stolen Lives Unlocking The Stories In the
2023-03-14   2023-03-16 lexa-hagerty-still-life-bones-book.html     Bones                                       By Benjamin P Russell             TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/14/books/j John Jakes 90 Dies Made America Love
2023-03-14   2023-03-16 ohn-jakes-dead.html                         Historical Melodramas                       By Robert D McFadden              TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/14/busines
2023-03-14   2023-03-16 s/britain-retirees-return-to-work-covid.html   Early Retirees Reject Britains Rallying Cry By Eshe Nelson                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/opinion Give Up the Fantasy of Solving the Border
2023-03-14   2023-03-16 /immigration-border-crisis-asylum.html        Crisis                                       By Dara Lind                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/style/la
2023-03-14   2023-03-16 verne-cox-oscars.html                         Finding the Human Side Below the Surface By Jessica Testa                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/world/a Jiang Yanyong 91 Who Helped Expose
2023-03-14   2023-03-16 sia/jiang-yanyong-dead.html                   Chinas SARS Crisis Dies                      By Amy Qin                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/arts/rus Rust Prosecutor Steps Down After Challenge
2023-03-15   2023-03-16 t-andrea-reeb-special-prosecutor.html         by Baldwin                                   By Julia Jacobs                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/nyregio
                        n/jan-6-princeton-student-assault-
2023-03-15   2023-03-16 charges.html                                  Student 21 Is Charged In Assault On Capitol By Ed Shanahan                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/arts/tele
2023-03-15   2023-03-16 vision/extrapolations-scott-z-burns.html      Dramatizing Some Inconvenient Truths         By Chris Vognar                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/books/r Tracing the Path of the Far Right From Then
2023-03-15   2023-03-16 eview/birchers-matthew-dallek.html            to Now                                       By Jennifer Szalai               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/busines
                        s/canadian-pacific-kansas-city-southern-      Canadian Railroad Is Allowed To Acquire a
2023-03-15   2023-03-16 merger.html                                   US Competitor                                By Niraj Chokshi and Mark Walker TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/busines Beleaguered Credit Suisse Reaches Out For a By Michael J de la Merced and
2023-03-15   2023-03-16 s/credit-suisse-shares-saudi.html             Lifeline                                     Maureen Farrell                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/busines Richard Rosenberg 92 Who Helped Pull Bank
2023-03-15   2023-03-16 s/dealbook/richard-rosenberg-dead.html        of America From the Brink in the 90s         By Ephrat Livni                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/busines
                        s/economy/silicon-valley-bank-federal-reserve                                              By Jeanna Smialek and Emily
2023-03-15   2023-03-16 regulation.html                               Fed and Lawmakers Eye Stricter Rules         Flitter                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/busines Goldman Scrutinized Over Silicon Valley         By Andrew Ross Sorkin and
2023-03-15   2023-03-16 s/goldman-svb-silicon-valley-bank.html        Bank Deal                                    Lauren Hirsch                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/busines Desperate for Workers Britain Expands Child
2023-03-15   2023-03-16 s/jeremy-hunt-uk-budget-economy.html          Care as Incentive                            By Eshe Nelson                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/busines Shards of Failed Bank Are for Sale but No       By Rob Copeland and Maureen
2023-03-15   2023-03-16 s/silicon-valley-bank-auction.html            One Is Buying Yet                            Farrell                          TX 9-286-255   2023-05-02



                                                                                Page 4974 of 5793
                        https://www.nytimes.com/2023/03/15/busines Bank Fears Go Global As Markets Convulse
2023-03-15   2023-03-16 s/stocks-today.html                         Over Lurking Hazards                       By Joe Rennison and Jason Karaian TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/climate States Must Clean Up Their Smokestacks For
2023-03-15   2023-03-16 /epa-states-pollution-smog.html             Those Downwind EPA Announces               By Coral Davenport                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/climate Huge Starfish Added to List Of Wildlife At
2023-03-15   2023-03-16 /sunflower-sea-star-endangered.html         High Risk                                  By Catrin Einhorn                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/health/a Judge Asks if He Has Power to Remove       By Pam Belluck and Allison
2023-03-15   2023-03-16 bortion-pills-texas-lawsuit.html            Abortion Pill From the Market              McCann                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/insider/ Coming Face to Face With Privacy and
2023-03-15   2023-03-16 facial-recognition-scan-nyc.html            Technology                                 By Kashmir Hill                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/movies/
2023-03-15   2023-03-16 michelle-yeoh-oscars-next.html              Dont Let an Oscar Become a SendOff         By Kyle Buchanan                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/nyregio Pandemic Data Cited as Sign City Splits Too
2023-03-15   2023-03-16 n/child-abuse-pandemic.html                 Many Families                              By Andy Newman                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/nyregio Santos Scrutinized Over 19 Million Yacht    By Rebecca Davis OBrien and
2023-03-15   2023-03-16 n/george-santos-yacht.html                  Deal                                       William K Rashbaum                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/nyregio Exiled Chinese Financier Is Charged in New By Benjamin Weiser and Michael
2023-03-15   2023-03-16 n/guo-wengui-billionaire-charged.html       York With Conspiracy                       Forsythe                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/nyregio 3 Men Are Charged With Selling Untraceable
2023-03-15   2023-03-16 n/nyc-men-charged-ghost-guns.html           Guns in New York                           By Hurubie Meko                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/nyregio Street Parking Permits And Taxes on
2023-03-15   2023-03-16 n/parking-permit-budget-ny.html             Wealthy Shape Battle in Albany             By Luis FerrSadurn                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/nyregio                                             By Jonah E Bromwich William K
                        n/stormy-daniels-bragg-trump-               Porn Star Meets With Prosecutors As Trump Rashbaum Nate Schweber and Kate
2023-03-15   2023-03-16 indictment.html                             Investigation Nears End                    Christobek                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/opinion
2023-03-15   2023-03-16 /donald-trump-prosecution.html              Trump Must Be Prosecuted                   By Charles M Blow                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/opinion
2023-03-15   2023-03-16 /kamala-harris-2024.html                    The Kamala Dilemma                         By Gail Collins                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/opinion
                        /silicon-valley-bank-rescue-glass-steagall-
2023-03-15   2023-03-16 act.html                                    The Bank Rescues Just Changed Capitalism By Roger Lowenstein                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/science First Commercially Built Spacesuit for
2023-03-15   2023-03-16 /nasa-moon-suit-astronauts.html             NASAs Artemis Astronauts Is Unveiled       By Kenneth Chang                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/sports/b At 39 Cabrera Hopes to Kick Off His
2023-03-15   2023-03-16 aseball/miguel-cabrera-venezuela.html       Farewell Tour With a Championship          By James Wagner                   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/15/sports/b NBA Hands Down EightGame Suspension to
2023-03-15   2023-03-16 asketball/ja-morant-suspended-grizzlies.html Morant for Gun Video                  By Tania Ganguli                    TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/15/sports/b Top NBA Prospects Are Skipping College
2023-03-15   2023-03-16 asketball/nba-draft-ncaa-tournament.html     But Not the Stardom                   By David Gardner                    TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/15/sports/s With an Iron Grip on FIFA Infantino
2023-03-15   2023-03-16 occer/gianni-infantino-fifa-president.html   Continues to Extend His Reach         By Tariq Panja                      TX 9-286-255     2023-05-02




                                                                               Page 4975 of 5793
                        https://www.nytimes.com/2023/03/15/style/st-
                        patricks-day-sobriety-non-alcoholic-
2023-03-15   2023-03-16 drinks.html                                  A Toast to St Patrick Alcohol Optional     By Alyson Krueger                 TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/15/technol
2023-03-15   2023-03-16 ogy/gpt-4-artificial-intelligence-openai.html AI Model Takes Leap For Good Or for Ill   By Kevin Roose                    TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/15/technol
                        ogy/siri-alexa-google-assistant-artificial-   Alexa and Siri Frittered Away Their Big   By Brian X Chen Nico Grant and
2023-03-15   2023-03-16 intelligence.html                             Lead in the AI Race                       Karen Weise                       TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/15/us/blac In Chicago Black Voters Seek a Path on
2023-03-15   2023-03-16 k-voters-chicago-mayor-policing-crime.html Fighting Crime                               By Julie Bosman                   TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/15/us/calif
                        ornia-snowstorm-san-bernardino-robert-      A Dying Wife and 10 Feet of Snow in His
2023-03-15   2023-03-16 rice.html                                   Way                                         By Corina Knoll                   TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/15/us/hum
2023-03-15   2023-03-16 an-rights-campaign-alphonso-david.html      Rights Group Settles Lawsuit With ExHead    By Aishvarya Kavi                 TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/15/us/polit Biden Looks to Bolster Support Among
2023-03-15   2023-03-16 ics/biden-seniors-health-care.html          Seniors With Health Care Focus              By Michael D Shear                TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/15/us/polit Senate Confirms Garcetti as Ambassador to
2023-03-15   2023-03-16 ics/eric-garcetti-senate-nomination-india.html India After a TwoYear Fight                  By Annie Karni and Shawn Hubler TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/us/polit
                        ics/fulbright-fellowship-language-education-
2023-03-15   2023-03-16 department.html                                For Fulbright Native Tongue May Be Minus By Erica L Green                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/us/polit Russias Offensive in Ukraine Could Include By Julian E Barnes David E Sanger
2023-03-15   2023-03-16 ics/russia-hackers-cyber-ukraine.html          Cyberattacks                                 and Marc Santora                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/us/polit
                        ics/silicon-valley-bank-collapse-woke-fact-
2023-03-15   2023-03-16 check.html                                     Wokeness Is Blamed For Collapse of Bank      By Linda Qiu                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/us/polit
2023-03-15   2023-03-16 ics/trump-desantis-ethics-complaint.html       Trump Allies Report DeSantis to Ethics Panel By Michael C Bender             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/us/polit Wisconsin Conservative Court Candidate
2023-03-15   2023-03-16 ics/wisconsin-supreme-court.html               Faces Formidable TV Ad Gap                   By Reid J Epstein               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/world/a Blinken Calls for Accountability on Atrocities By Michael Crowley and Declan
2023-03-15   2023-03-16 frica/blinken-abiy-ethiopia.html               in Ethiopia                                  Walsh                           TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/15/world/a Eccentric Japanese YouTuber Is Kicked Out
2023-03-15   2023-03-16 sia/japan-parliament-youtuber-expelled.html of Parliament                               By Tiffany May and Hisako Ueno    TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/15/world/e French Protesters Rally On Eve of Pension
2023-03-15   2023-03-16 urope/france-strike-pension.html            Vote                                        By Constant Mheut                 TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/15/world/e
                        urope/garbage-strike-france-pension-        Macrons Plan Leads Garbage Workers and
2023-03-15   2023-03-16 retirement-macron.html                      Others to Raise a Stink                     By Catherine Porter               TX 9-286-255     2023-05-02




                                                                                  Page 4976 of 5793
                        https://www.nytimes.com/2023/03/15/world/e In a Tiny Hungarian Village a Big Fight Over
2023-03-15   2023-03-16 urope/hungary-china-battery-plant.html         a Chinese Plant                           By Andrew Higgins                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/world/e Italy Orders Retrial of 2 Americans Convicted
2023-03-15   2023-03-16 urope/italy-americans-police-killing.html      of Killing Officer                        By Elisabetta Povoledo            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/world/e 1600YearOld Coffin May Hold Clues to the
2023-03-15   2023-03-16 urope/uk-roman-burial-leeds.html               End of Roman Britain                      By Jenny Gross                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/world/e Teachers Join Wave of Public Service Strikes
2023-03-15   2023-03-16 urope/uk-teachers-strike.html                  as Britain Unveils Budget                 By Megan Specia                   TX 9-286-255   2023-05-02
                                                                                                                 By Marc Santora Eric Schmitt
                        https://www.nytimes.com/2023/03/15/world/e As Ammunition Dwindles Ukraines Allies        Valerie Hopkins and Ivan
2023-03-15   2023-03-16 urope/ukraine-allies-weapons-russia.html       Promise More Weapons                      Nechepurenko                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/world/ Black Sea Has Long Stood as Flashpoint         By Ben Hubbard and Gulsin
2023-03-15   2023-03-16 middleeast/black-sea-ukraine-war.html          Between Russia and the West               Harman                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/world/ Israel Kills Bomb Suspect Near Border Of       By Patrick Kingsley Ronen
2023-03-15   2023-03-16 middleeast/israel-lebanon-bomber.html          Lebanon                                   Bergman and Isabel Kershner       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/
                        15/climate/seaweed-plastic-climate-                                                      By Somini Sengupta and Chang W
2023-03-15   2023-03-16 change.html                                    Seaweed Is Having Its Moment in the Sun   Lee                               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/live/2023/03/16/wo
                        rld/russia-ukraine-news/drone-russia-black- US Officials Choose Words With Care on
2023-03-15   2023-03-16 sea                                            Drone Episode                             By Eric Schmitt                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/live/2023/03/16/wo
                        rld/russia-ukraine-news/pentagon-chief-russia- Defense Secretary Speaks to Moscow About
2023-03-15   2023-03-16 drone-incident                                 Drone                                     By Helene Cooper and Eric Schmitt TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/sports/n On Eve of Tournament Fourth Alabama
2023-03-16   2023-03-16 caabasketball/alabama-shooting.html            Player Is Placed at Shooting              By Billy Witz                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/technol US Pushes for Sale Of TikTok to Resolve       By David McCabe and Cecilia
2023-03-16   2023-03-16 ogy/tiktok-biden-pushes-sale.html              National Security Fears                   Kang                              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/theater/
2023-03-16   2023-03-16 the-harder-they-come-review.html               Innocence Lost to a Reggae Beat           By Jesse Green                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/health/c Covid Is Severely Aggravating Americas
2023-03-16   2023-03-16 ovid-pregnancy-death.html                      Maternal Health Crisis                    By Roni Caryn Rabin               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/health/c What Women Need to Know About
2023-03-16   2023-03-16 ovid-pregnancy-protection.html                 Pregnancy and Covid                       By Roni Caryn Rabin               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/
                        15/sports/ncaabasketball/bracket-help-ncaa- Hey Bing Help Me Overcome My Fear of
2023-03-16   2023-03-16 ai.html                                        College Basketball                        By Sarah Lyall                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/busines What Happens To College Towns When
2023-03-13   2023-03-17 s/economy/college-towns-economy.html           Colleges Start to Shrink                  By Lydia DePillis                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/busines Masatoshi Ito 98 Who Covered Japan With
2023-03-13   2023-03-17 s/masatoshi-ito-dead.html                      Thousands of Convenience Stores           By Ben Dooley                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/movies/
                        lumiere-an-actress-destined-to-be-in-the-
2023-03-14   2023-03-17 light.html                                     An Actress Destined to Be in the Light    By J Hoberman                     TX 9-286-255   2023-05-02




                                                                                Page 4977 of 5793
                        https://www.nytimes.com/2023/03/14/opinion Working Remotely Is Less Healthy Than You
2023-03-14   2023-03-17 /wfh-return-to-office-health.html           Think                                     By Jordan Metzl                    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/15/arts/dan Lynn Seymour 83 Acclaimed Ballerina and a
2023-03-15   2023-03-17 ce/lynn-seymour-dead.html                   Dramatic Force Dies                       By Alastair Macaulay               TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/15/arts/mu Bobby Caldwell 71 SingerSongwriter Whose
2023-03-15   2023-03-17 sic/bobby-caldwell-dead.html                Career Spanned Decades and Genres          By Alex Williams                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/15/opinion Qatargate Is a Spectacular Scandal and a
2023-03-15   2023-03-17 /european-parliament-qatargate.html         Warning to Europe                          By Alexander Clapp                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/15/us/fran Frank T Griswold III 85 Is Dead
2023-03-15   2023-03-17 k-t-griswold-iii-dead.html                  BridgeBuilding Episcopal Bishop            By Sam Roberts                    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/15/world/a Japan Hosts South Koreas Leader in Tokyo as By Motoko Rich and Choe
2023-03-15   2023-03-17 sia/south-korea-japan-relations.html        Sides Mend Strained Ties                   SangHun                           TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/16/arts/dan
2023-03-16   2023-03-17 ce/maqoma-sibisi-broken-chord.html          A Forgotten Story Speaks to the Present    By Roslyn Sulcas                  TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/16/arts/dan
2023-03-16   2023-03-17 ce/review-parsons-dance-joyce-theater.html Young Members And a New Voice                By Brian Seibert                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/16/arts/des
2023-03-16   2023-03-17 ign/asia-week-new-york-fair.html             Your Asia Week Tour Begins Here            By Will Heinrich                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/16/arts/des
2023-03-16   2023-03-17 ign/gerhard-richter-zwirner-gallery.html     Move In Close to Decipher How and Why      By Roberta Smith                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/16/arts/des
2023-03-16   2023-03-17 ign/kehinde-wiley-de-young-museum.html       A Chapel for Mourning                      By Dionne Searcey                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/16/arts/rep
                        atriation-native-american-cultural-          Tribes Weigh the Future of Plundered
2023-03-16   2023-03-17 heritage.html                                Trophies                                   By Julia Jacobs and Kayla Gahagan TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/arts/tele
                        vision/dominique-fishback-swarm-
2023-03-16   2023-03-17 amazon.html                                  Warm Tender Sincere And Scary              By LeighAnn Jackson              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/16/arts/tele
                        vision/how-much-watching-time-do-you-have-
2023-03-16   2023-03-17 this-weekend.html                            This Weekend I Have                        By Margaret Lyons                TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/16/arts/tele
2023-03-16   2023-03-17 vision/lucky-hank-review-bob-odenkirk.html And His Second Novel Is a Blank Page         By James Poniewozik              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/16/busines Europes Central Bank Sticks to a HalfPoint
2023-03-16   2023-03-17 s/ecb-interest-rates-inflation.html          Rise                                       By Eshe Nelson                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/16/busines
                        s/economy/interest-rates-silicon-valley-
2023-03-16   2023-03-17 bank.html                                    Low Rates Are Over Now What                By Jeanna Smialek                TX 9-286-255    2023-05-02
                                                                                                                By Rob Copeland Lauren Hirsch
                        https://www.nytimes.com/2023/03/16/busines Biggest US Banks Put Up 30 Billion to        Alan Rappeport and Maureen
2023-03-16   2023-03-17 s/first-republic-bank-sale.html            Rescue Lender                                Farrell                          TX 9-286-255    2023-05-02




                                                                                Page 4978 of 5793
                        https://www.nytimes.com/2023/03/16/busines Yellen Says Contagion Worries Prompted
2023-03-16   2023-03-17 s/janet-yellen-stabilize-banking-system.html Government Action                            By Alan Rappeport               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/busines                                                By Sapna Maheshwari and David
2023-03-16   2023-03-17 s/media/tiktok-buyer-biden.html              Wanted A Buyer For TikTok                    McCabe                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/busines
2023-03-16   2023-03-17 s/stock-market-today.html                    First Republics Reprieve Lifts the Markets   By Joe Rennison                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/climate
                        /spirit-mountain-avi-kwa-ame-national-       Nevadas Spirit Mountain To Be National
2023-03-16   2023-03-17 monument.html                                Monument                                     By Coral Davenport              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/health/ A TickBorne Disease Is on the Rise in the
2023-03-16   2023-03-17 babesiosis-tick-disease-northeast.html       Northeast the CDC Reports                    By Emily Anthes                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/health/f FDA Advisers Endorse Paxlovid Paving the      By Carl Zimmer and Christina
2023-03-16   2023-03-17 da-paxlovid-covid.html                       Way for Full Approval                        Jewett                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/movies/
2023-03-16   2023-03-17 boston-strangler-review.html                 Boston Strangler                             By Jeannette Catsoulis          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/movies/
2023-03-16   2023-03-17 drylongso-review.html                        Drylongso                                    By Lisa Kennedy                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/movies/
2023-03-16   2023-03-17 full-river-red-review.html                   Full River Red                               By Brandon Yu                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/movies/
2023-03-16   2023-03-17 inside-review-willem-dafoe.html              Stunned Thief Meets An HGTV Nightmare        By Amy Nicholson                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/movies/
2023-03-16   2023-03-17 money-shot-the-pornhub-story-review.html Money Shot The Pornhub Story                     By Natalia Winkelman            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/movies/
                        review-pinball-the-man-who-saved-the-
2023-03-16   2023-03-17 game.html                                    Pinball The Man Who Saved the Game           By Glenn Kenny                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/movies/
2023-03-16   2023-03-17 rimini-review.html                           This Singer Wont Leave the Building          By Beatrice Loayza              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/movies/
2023-03-16   2023-03-17 rodeo-review.html                            Rodeo                                        By Beatrice Loayza              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/movies/
2023-03-16   2023-03-17 shazam-fury-of-the-gods-review.html          The Question of Identity Still Lingers       By Amy Nicholson                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/movies/
                        the-innocent-review-a-heist-with-a-french-
2023-03-16   2023-03-17 accent.html                                  The Innocent                                 By Claire Shaffer               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/movies/
2023-03-16   2023-03-17 the-magicians-elephant-review.html           The Magicians Elephant                       By Devika Girish                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/movies/
2023-03-16   2023-03-17 the-spirit-of-45-review.html                 The Spirit of 45                             By Ben Kenigsberg               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/movies/
2023-03-16   2023-03-17 wildflower-review.html                       Wildflower                                   By Teo Bugbee                   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/16/nyregio New Jerseys Top Election Watchdog Claims
2023-03-16   2023-03-17 n/election-law-nj-murphy.html              Murphy Tried to Force His Resignation    By Tracey Tully                       TX 9-286-255   2023-05-02



                                                                                 Page 4979 of 5793
                        https://www.nytimes.com/2023/03/16/nyregio
                        n/madison-square-garden-liquor-             Owner of Madison Square Garden Put a Tail By Dana Rubinstein and Corey
2023-03-16   2023-03-17 investigator.html                           on a State Liquor Investigator               Kilgannon                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/nyregio
                        n/ny-lawmaker-pressured-to-resign-after-    Lawmaker Pressured to Quit After
2023-03-16   2023-03-17 sexual-misconduct-allegations.html          Misconduct Allegations                       By Luis FerrSadurn              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/nyregio                                               By Jesse McKinley and Maggie
2023-03-16   2023-03-17 n/republicans-roger-stone-ny.html           Maga amp Martinis                            Haberman                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/opinion Three and a Half Myths About the Bank
2023-03-16   2023-03-17 /bank-bailout.html                          Bailouts                                     By Paul Krugman                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/opinion
2023-03-16   2023-03-17 /pledge-allegiance-south-carolina.html      I Pledge Allegiance to My Conscience         By Pamela Paul                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/sports/b Celebration Hurts the Mets Daz Will Miss the
2023-03-16   2023-03-17 aseball/edwin-diaz-injured.html             Season                                       By James Wagner                 TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/16/sports/n Thursdays March Madness Delivers Two
2023-03-16   2023-03-17 caabasketball/march-madness-thursday.html New Cinderellas                                By The New York Times           TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/16/sports/n A Princeton Passers Skills Recall the Legacy
2023-03-16   2023-03-17 caabasketball/princeton-ncaa-tournament.html of a Beloved Departed Coach                 By Scott Miller                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/sports/n
                        caafootball/jalen-carter-plea-crash-
2023-03-16   2023-03-17 georgia.html                                 Georgia Star Avoids Jail In Car Crash       By Kris Rhim                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/sports/s Upon Reelection FIFA President Vows to
2023-03-16   2023-03-17 occer/infantino-fifa-president.html          Increase Womens Pay                         By Tariq Panja                  TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/16/technol As AI Roils Silicon Valley Microsoft and
2023-03-16   2023-03-17 ogy/microsoft-google-ai-tools-businesses.html Google Find Use in Daily Tools             By Karen Weise and Nico Grant   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/technol After 16 Years at Helm Twitchs Chief Says
2023-03-16   2023-03-17 ogy/twitchs-ceo-resigns.html                  He Is Stepping Down                        By Kellen Browning              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/theater/
2023-03-16   2023-03-17 dear-world-review-encores.html                Stridently Marching In Front               By Juan A Ramrez                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/16/us/flori
2023-03-16   2023-03-17 da-textbooks-african-american-history.html Florida Reedits A New Subject Social Studies By Sarah Mervosh                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/us/hous Republicans Ramping Up Investigation Of
2023-03-16   2023-03-17 e-gop-biden-family.html                     the Bidens                                  By Luke Broadwater               TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/16/us/nort North Dakota Supreme Court Blocks
2023-03-16   2023-03-17 h-dakota-abortion-ban.html                  Abortion Ban Saying Constitution Protects It By Ava Sasani and David W Chen TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/16/us/polit Florida Sued Over Signature Mandate for
2023-03-16   2023-03-17 ics/florida-lawsuit-voter-registration.html New Voters                                   By Neil Vigdor                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/16/us/polit In Iowa Harris Says Attack on Abortion Pill
2023-03-16   2023-03-17 ics/iowa-kamala-harris-abortion.html        Threatens Health Care                        By Zolan KannoYoungs           TX 9-286-255    2023-05-02




                                                                                 Page 4980 of 5793
                        https://www.nytimes.com/2023/03/16/us/polit Attack on US Drone by Russian Jets Is Seen
2023-03-16   2023-03-17 ics/russia-drone-black-sea.html              in 42Second Pentagon Video                   By Eric Schmitt and Helene Cooper TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/us/polit Chemical Bans Pose Challenge To Tech
2023-03-16   2023-03-17 ics/toxic-chemicals-biden-epa.html           Growth                                       By Eric Lipton                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/us/polit
                        ics/trump-indictment-stormy-daniels-         With Indictment Possible Trump Team Plans
2023-03-16   2023-03-17 bragg.html                                   Attack                                       By Maggie Haberman                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/world/a In China an Answer to ChatGPT Has an
2023-03-16   2023-03-17 sia/china-baidu-chatgpt-ernie.html           Underwhelming Debut                          By Chang Che and John Liu         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/world/a Indonesia Court Sentences Officer And          By SuiLee Wee and Dera Menra
2023-03-16   2023-03-17 sia/indonesia-soccer-verdict.html            Acquits 2 Others in Stampede                 Sijabat                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/world/e In France Opposition Parties Vow To Fight By Catherine Porter and Constant
2023-03-16   2023-03-17 urope/france-pension-protests.html           Pension Change Together                      Mheut                             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/world/e On Italys Coast Empathy and Frustration
2023-03-16   2023-03-17 urope/italy-migrants-tragedy.html            After a Migrant Tragedy                      By Gaia Pianigiani                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/world/e Macron Decree Alters Pensions As Rage
2023-03-16   2023-03-17 urope/macron-france-pension.html             Builds                                       By Roger Cohen                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/world/e
                        urope/poland-russia-spy-weapon-              Poland Says It Has Broken Up a Ring Of
2023-03-16   2023-03-17 shipments.html                               Spies and Saboteurs Aiding Russia            By Andrew Higgins                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/world/e
2023-03-16   2023-03-17 urope/uk-ban-tiktok.html                     Britain Bans Official Phones From TikTok     By Stephen Castle                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/world/e AllOut Defense of Bakhmut Depletes Ukraine By Thomas GibbonsNeff Lara
2023-03-16   2023-03-17 urope/ukraine-ammunition-bakhmut.html        Arsenal for Spring                           Jakes and Eric Schmitt            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/world/e Poland Soon to Transfer 4 Warplanes to
2023-03-16   2023-03-17 urope/ukraine-poland-planes.html             Ukraine In First Such Western Aid            By Andrew Higgins and Lara Jakes TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/16/world/
                        middleeast/israel-judges-netanyahu-          An Effort to Resolve Israels Impasse Stalls
2023-03-16   2023-03-17 compromise.html                              On How to Pick Judges                        By Patrick Kingsley               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/live/2023/03/16/wo
                        rld/russia-ukraine-news/white-house-has-no-
                        plans-to-send-warplanes-to-kyiv-despite-     US Still Has No Plans to Send Kyiv
2023-03-16   2023-03-17 polish-pledge-to-provide-fighter-jets        Warplanes                                    By Lara Jakes                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/sports/n
                        caabasketball/princeton-arizona-upset-march- Having Been Here No 15 Princeton Does That
2023-03-17   2023-03-17 madness.html                                 Again                                        By Scott Miller                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/theater/
2023-03-17   2023-03-17 parade-review-leo-frank.html                  Love and Antisemitism Sharing the Limelight By Jesse Green                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/insider/
                        to-tyre-nichols-memphis-was-a-city-of-       The Life Behind a Camera and the City in
2023-03-17   2023-03-17 light.html                                   Front                                        By Vivian Ewing                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/sports/n Purdue Shops Local by Necessity and Stays By Noah Weiland and Lee
2023-03-17   2023-03-17 caabasketball/zach-edey-purdue.html          Successful by Design                         Klafczynski                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/travel/c                                               By Will Higginbotham and Max
2023-02-28   2023-03-18 s-lewis-oxford-narnia.html                   Enter a Portal to Narnia and Middleearth     Miechowski                        TX 9-286-255   2023-05-02



                                                                                Page 4981 of 5793
                        https://www.nytimes.com/2023/03/14/arts/mu
2023-03-14   2023-03-18 sic/jazz-at-lincoln-center-season.html         Next for Jazz at Lincoln Center            By Julia Jacobs            TX 9-286-255       2023-05-02
                        https://www.nytimes.com/2023/03/16/arts/mu
                        sic/jean-yves-thibaudet-michael-feinstein-two-
2023-03-16   2023-03-18 pianos.html                                    Jazzed To Play His Next Encore             By Joshua Barone           TX 9-286-255       2023-05-02
                        https://www.nytimes.com/2023/03/16/arts/mu
2023-03-16   2023-03-18 sic/piotr-beczala-lohengrin-met-opera.html     Secrets to His Lohengrin Golf and Feedback By Javier C Hernndez       TX 9-286-255       2023-05-02
                        https://www.nytimes.com/2023/03/16/arts/mu
2023-03-16   2023-03-18 sic/taylor-swift-eras-tour-tickets-fans.html   In Need of a Ticket A Miracle or Both      By Joe Coscarelli          TX 9-286-255       2023-05-02
                        https://www.nytimes.com/2023/03/16/busines Diplomatic Dispute Becomes Grape Growers By Claire Fu Daisuke Wakabayashi
2023-03-16   2023-03-18 s/china-wine-australia.html                    Crisis                                     and Adam Ferguson          TX 9-286-255       2023-05-02
                        https://www.nytimes.com/2023/03/16/nyregio NYPD Commissioner Mostly Rejects
2023-03-16   2023-03-18 n/nypd-discipline-recommendations.html         Requests to Punish Officers                By Maria Cramer            TX 9-286-255       2023-05-02

                        https://www.nytimes.com/2023/03/16/opinion I Worry That Pregnant Women Will Die If
2023-03-16   2023-03-18 /medical-exceptions-abortion-tennessee.html Tennessees Abortion Law Doesnt Change      By Sarah Osmundson               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/16/opinion
                        /willow-oil-project-alaska-climate-         How Much of a Climate Betrayal Is the
2023-03-16   2023-03-18 change.html                                 Willow Oil Project                         By David WallaceWells            TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/16/theater/ Final Sondheim Musical to Be Staged in New
2023-03-16   2023-03-18 sondheim-musical-bunuel-shed.html           York This Fall                             By Michael Paulson               TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/17/arts/des
2023-03-17   2023-03-18 ign/museums-relabel-art-ukraine-russian.html Defending Ukraines Heritage                 By Robin Pogrebin              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/arts/des
                        ign/norman-rockwell-drawings-white-house- Works of Rockwell Long at the White House
2023-03-17   2023-03-18 dispute.html                                 Tear a Family Apart                         By Colin Moynihan              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/arts/mu Jim Gordon 77 Top Rock Drummer Who
2023-03-17   2023-03-18 sic/jim-gordon-dead.html                     CoWrote Layla With Clapton                  By Richard Sandomir            TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/arts/mu
2023-03-17   2023-03-18 sic/u2-songs-of-surrender.html               U2 Revisits Its Past in the Name of What    By Jon Pareles                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/arts/tele Lance Reddick Star of The Wire and John     By Michael Levenson and Neil
2023-03-17   2023-03-18 vision/lance-reddick-dead.html               Wick Is Dead at 60                          Genzlinger                     TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/arts/tele The Flip Side of Atlanta More Horror Less
2023-03-17   2023-03-18 vision/swarm-review.html                     Comedy                                      By Mike Hale                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/arts/tic Ticketmaster to Issue Refunds for Fees After
2023-03-17   2023-03-18 ketmaster-cure-ticket-refund.html            the Cure Object                             By Amanda Holpuch              TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/17/busines Bank Stocks Resume Slide As Relief Over     By Joe Rennison Jason Karaian and
2023-03-17   2023-03-18 s/banks-crisis-first-republic-credit-suisse.html Rescue Fades                          Rich Barbieri                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/busines Biden Wants Bank Leaders To Pay Back For    By Jim Tankersley and Emily
2023-03-17   2023-03-18 s/economy/biden-banks-ceo-pay.html               Failures                              Flitter                           TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/17/busines Banking Crisis Fans Fears Recession Will
2023-03-17   2023-03-18 s/economy/economy-banks-recession.html     Strike US                                   By Ben Casselman                 TX 9-286-255    2023-05-02



                                                                                Page 4982 of 5793
                        https://www.nytimes.com/2023/03/17/busines First Republic Seeks to Sell Shares of Itself to By Lauren Hirsch and Rob
2023-03-17   2023-03-18 s/first-republic-stake-sale.html           Get Cash                                         Copeland                       TX 9-286-255   2023-05-02
                                                                   CNNs PrimeTime Experiment Part of the
                        https://www.nytimes.com/2023/03/17/busines Networks Plan for Reinvention Starts Off         By Michael M Grynbaum and John
2023-03-17   2023-03-18 s/media/cnn-ratings-primetime.html         Slow                                             Koblin                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/busines After a Wild Week What Are Markets Saying
2023-03-17   2023-03-18 s/stock-markets-economy-banks.html         About the World                                  By Joe Rennison and Ella Koeze TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/busines A Plan to Ease Student Loan Burdens for
2023-03-17   2023-03-18 s/student-loan-program.html                Borrowers                                        By Ann Carrns                  TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/17/busines In the Wake Of SVB Failure Parent Files For By Lauren Hirsch and Matthew
2023-03-17   2023-03-18 s/svb-silicon-valley-bank-bankruptcy.html   Bankruptcy                                   Goldstein                        TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/busines WeWork Reaches a Debt Restructuring Deal
2023-03-17   2023-03-18 s/wework-softbank-debt-deal.html            With SoftBank                                By Vikas Bajaj                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/health/c Genetic Data May Link Covid To Market
2023-03-17   2023-03-18 ovid-origins-who.html                       Dogs                                         By Benjamin Mueller              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/nyregio
                        n/kings-college-manhattan-possible-         A Struggling Evangelical College Urges
2023-03-17   2023-03-18 closing.html                                Students to Apply Elsewhere                  By Liam Stack                    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/nyregio Fatal Standoff in Paterson Renews Debate on
2023-03-17   2023-03-18 n/najee-seabrooks-patterson-police-nj.html  How Police Handle People in Distress         By Maria Cramer and Tracey Tully TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/nyregio When Fish Need Homes She Opens Her
2023-03-17   2023-03-18 n/new-york-city-fish-rescue.html            Tanks                                        By Sarah Maslin Nir              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/opinion
                        /jay-clayton-gary-cohn-regulation-silicon-  Partisan Bickering Could Endanger Americas
2023-03-17   2023-03-18 valley-bank.html                            Banking System                               By Jay Clayton and Gary Cohn     TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/sports/b New Manager Wants White Sox To Sweat
2023-03-17   2023-03-18 aseball/pedro-grifol-white-sox.html         the Details                                  By Tyler Kepner                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/sports/h Bruins Have One Goal in Mind and It Isnt the
2023-03-17   2023-03-18 ockey/boston-bruins-nhl.html                SingleSeason Wins Record                     By David Waldstein               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/sports/n Ionas Season Ends Will Its Noted Coach Stay
2023-03-17   2023-03-18 caabasketball/iona-rick-pitino.html         On or Move Up                                By Adam Zagoria                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/sports/n The Shortest Team in Division I Knocks Out
2023-03-17   2023-03-18 caabasketball/march-madness-friday.html     TopSeeded Purdue                             By The New York Times            TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/sports/n
                        caabasketball/ncaa-womens-basketball-       UConn Out to Prove That if Not a Dynasty
2023-03-17   2023-03-18 uconn.html                                  Its Still Not a Dinosaur                     By Remy Tumin                    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/sports/t Shrivers Very Personal Fight to End Coaches
2023-03-17   2023-03-18 ennis/pam-shriver-wta-sex-abuse.html        Sexual Abuse of Players                      By Matthew Futterman             TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/technol Cozy Tech Ties Helped a Bank Thrive and       By Erin Griffith Mike Isaac and
2023-03-17   2023-03-18 ogy/svb-tech-start-ups.html                 Fall                                         Sheera Frenkel                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/technol YouTube Lifts Ban Put on Trumps Account
2023-03-17   2023-03-18 ogy/trump-youtube-account.html              After Jan 6                                  By Nico Grant                    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/technol Twitters Talks Over Licensing Music Stalled By Ryan Mac Ben Sisario and Kate
2023-03-17   2023-03-18 ogy/twitters-music-elon-musk.html           Under Musk                                   Conger                           TX 9-286-255    2023-05-02



                                                                                Page 4983 of 5793
                        https://www.nytimes.com/2023/03/17/theater/
2023-03-17   2023-03-18 fish-in-a-tree-dyslexia.html                Drawing Audiences Into a Childs Dyslexia   By Laurel Graeber               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/us/nort
2023-03-17   2023-03-18 h-charleston-police-killing.html            Chief Remakes a Force One Reform at a Time By Audra D S Burch              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/us/polit Biden Celebrates St Patricks Day by
2023-03-17   2023-03-18 ics/biden-st-patricks-day.html              Confirming a Trip to Ireland               By Michael D Shear              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/us/polit Prosecution Completes Its Lengthy
2023-03-17   2023-03-18 ics/proud-boys-jan-6-trial.html             Presentation In Trial of Proud Boys        By Alan Feuer and Zach Montague TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/17/us/polit US Opens Review After Owner of TikTok      By Glenn Thrush and Sapna
2023-03-17   2023-03-18 ics/tik-tok-spying-justice-dept.html        Admits Mishandling Data                    Maheshwari                      TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/17/us/polit Trump Did Not Properly Account for Several
2023-03-17   2023-03-18 ics/trump-gifts.html                        Foreign Gifts House Democrats Say           By Michael S Schmidt            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/us/polit Judge Says Trump Lawyer Must Testify in     By Alan Feuer and Maggie
2023-03-17   2023-03-18 ics/trump-lawyer-testify-documents.html     Documents Inquiry                           Haberman                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/world/a JapanKorea Relations Are Improving But       By Motoko Rich and Choe
2023-03-17   2023-03-18 sia/japn-south-korea-relations.html         Require a Delicate Balancing Act            SangHun                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/world/a In Myanmar Experts Say Atrocities Are
2023-03-17   2023-03-18 sia/myanmar-killings-monastery.html         Increasing As Army Faces Pressure           By Richard C Paddock            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/world/a Hunt Widens For Canister With Isotope In     By Muktita Suhartono and John
2023-03-17   2023-03-18 sia/thailand-radioactive-canister-lost.html Thailand                                    Yoon                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/world/a China Wades Into Russias War Hoping to       By David Pierson Anatoly
2023-03-17   2023-03-18 sia/xi-jinping-china-putin-russia-war.html  Play Part of Peacemaker                     Kurmanaev and Marc Santora      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/world/a Chinas Leader to Visit Putin Under Shadow
2023-03-17   2023-03-18 sia/xi-putin-ukraine-jets.html              of a War Crimes Warrant                     By Alan Yuhas                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/world/e National Assembly Weighs Macron
2023-03-17   2023-03-18 urope/france-pension-macron.html            NoConfidence Vote Amid Revolts              By Aurelien Breeden             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/world/e A World Court Accuses Putin Of War
2023-03-17   2023-03-18 urope/icc-putin-ukraine-war.html            Crimes                                      By Mark Landler                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/world/e
                        urope/turkey-erdogan-finland-nato-          Finlands NATO Bid Endorsed by Turkey But
2023-03-17   2023-03-18 sweden.html                                 Sweden Is Denied                            By Steven Erlanger              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/world/
                        middleeast/abdelrahman-elgendy-egypt-       Describing Years of Living as a Political
2023-03-17   2023-03-18 prison.html                                 Prisoner in a Squalid Cairo Jail            By Aida Alami                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/world/
                        middleeast/israel-judicial-protests-        In Israel Protests Large And Small Aided by
2023-03-17   2023-03-18 whatsapp.html                               App                                         By Isabel Kershner              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/sports/n
                        caabasketball/fairleigh-dickinson-purdue-   Little Fairleigh Dickinson Becomes a Giant
2023-03-18   2023-03-18 upset.html                                  Killer                                      By Noah Weiland                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/us/wyo Wyoming Becomes the First State to Outlaw
2023-03-18   2023-03-18 ming-abortion-pills-ban.html                Pills for Medical Abortion                  By David W Chen and Pam Belluck TX 9-286-255   2023-05-02




                                                                              Page 4984 of 5793
                        https://www.nytimes.com/2023/03/18/sports/n Father Knows Best It Has Worked Out for
2023-03-18   2023-03-18 caabasketball/villanova-maddy-siegrist.html Villanovas Siegrist                       By Kris Rhim          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/your- After a Week of Turmoil Has Anything
2023-03-18   2023-03-18 money/bank-failures-finance-goals.html      Changed                                   By Ron Lieber         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/01/22/books/r
                        eview/tsitsi-dangarembga-black-and-
2023-01-22   2023-03-19 female.html                                 Personal and Political                    By Ismail Muhammad    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/04/books/r
2023-02-04   2023-03-19 eview/bff-christie-tate.html                Missed Connections                        By Lisa Selin Davis   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/07/books/r
2023-02-07   2023-03-19 eview/stealing-margaret-verble.html         Boarding School Hell                      By Susan Straight     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/11/books/r
                        eview/i-keep-my-exoskeletons-to-myself-
2023-02-11   2023-03-19 marisa-crane.html                           Unbalanced                                By Lydia Kiesling     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/15/books/s Literary Destinations Read Your Way
2023-02-15   2023-03-19 ao-paulo-brazil-books.html                  Through So Paulo                          By Paulo Scott        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/18/books/r
2023-02-18   2023-03-19 eview/zig-zag-boy-tanya-frank.html          Doing Something Else                      By Beth Macy          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/23/arts/po Turning Climate Anxiety Into Action and
2023-02-23   2023-03-19 dcasts-climate-change.html                  Optimism                                  By Emma Dibdin        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/books/r
                        eview-paradise-now-karl-lagerfeld-william-
2023-02-28   2023-03-19 middleton.html                              By Design                                 By Alexandra Jacobs   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/02/28/books/r
2023-02-28   2023-03-19 eview/empress-of-the-nile-lynne-olson.html Tomb Raider                                By Joshua Hammer      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/28/books/r
2023-02-28   2023-03-19 eview/john-sayles-jamie-macgillivray.html  Tides of History                           By Alex Preston       TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/02/28/books/r
2023-02-28   2023-03-19 eview/madame-restell-by-jennifer-wright.html The Abortionist of Fifth Avenue          By Joanna Scutts      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/fashion
                        /weddings/chatbot-wedding-vows-chatgpt-
2023-03-03   2023-03-19 ai.html                                      Writing Your Wedding Vows AI Can Help    By Tammy LaGorce      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/06/books/r
2023-03-06   2023-03-19 eview/new-thrillers-peter-swanson.html       Murder on the Books                      By Sarah Lyall        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/books/r
2023-03-07   2023-03-19 eview/leila-aboulela-river-spirit.html       Troubled Waters                          By Megha Majumdar     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/books/r
2023-03-07   2023-03-19 eview/new-poetry-collections.html            Poetry                                   By Stephanie Burt     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/realesta
2023-03-07   2023-03-19 te/georgetown-home-renovation.html           The Home Was Decrepit And Perfect        By Tim McKeough       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/books/r
2023-03-09   2023-03-19 eview/new-audiobooks.html                    Longevity Bliss and Inspiration          By Sebastian Modak    TX 9-286-255   2023-05-02



                                                                               Page 4985 of 5793
                        https://www.nytimes.com/2023/03/09/books/r Julia Bartz Wrote a Thriller Then She Found
2023-03-09   2023-03-19 eview/the-writing-retreat-julia-bartz.html Her Voice                                   By Elisabeth Egan            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/books/s Suzy McKee Charnas 83 an Author Known
2023-03-10   2023-03-19 uzy-mckee-charnas-dead.html                for Feminist Science Fiction                By Richard Sandomir          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/magazi Our Granddaughter Is Rude and Ungrateful
2023-03-10   2023-03-19 ne/thank-you-notes-ethics.html             What Can We Do                              By Kwame Anthony Appiah      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/11/arts/tele
2023-03-11   2023-03-19 vision/brett-goldstein-ted-lasso-hercules.html A Few Choice Words on His Way Out             By Jeremy Egner        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/12/movies/
2023-03-12   2023-03-19 adam-brody-shazam.html                         Adam Brody Is a Fan of Naps and NPR           By Kathryn Shattuck    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/books/r
                        eview/poverty-by-america-matthew-
2023-03-13   2023-03-19 desmond.html                                   Down and Out in Paradise                      By Alec MacGillis      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/realesta
                        te/renters-forest-hills-los-angeles-homeless-
2023-03-13   2023-03-19 shelters.html                                  After Years in Shelters a Studio of His Own   By DW Gibson           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/arts/dan
                        ce/bronislava-nijinska-les-noces-ballet-
2023-03-14   2023-03-19 west.html                                      Time to Reconsider Bronislava Nijinska        By Marina Harss        TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/14/arts/tele
2023-03-14   2023-03-19 vision/melanie-lynskey-yellowjackets.html    Drawn to the Turbulence Within                  By Alexis Soloski      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/magazi
2023-03-14   2023-03-19 ne/black-evangelicals.html                   Black Evangelical and Torn                      By Caleb Gayle         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/magazi
2023-03-14   2023-03-19 ne/emily-kohrs-trump-juror.html              Just Us                                         By Charles Homans      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/magazi
2023-03-14   2023-03-19 ne/old-wives-tales.html                      Old Wives Tales                                 By Hillary Brenhouse   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/14/opinion The Barstool Bro Divide Warping
2023-03-14   2023-03-19 /barstool-social-conservatives-abortion.html Conservatism                                    By Jane Coaston        TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/14/opinion
2023-03-14   2023-03-19 /silicon-valley-bank-republicans-woke.html The Boys Who Cried Woke                     By Jamelle Bouie             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/realesta
                        te/eboni-k-williams-and-her-harlem-jewel-   Imagine if Josephine Baker Lived in Harlem
2023-03-14   2023-03-19 box.html                                    Today                                      By Joanne Kaufman            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/style/pa
2023-03-14   2023-03-19 ris-hilton-memoir.html                      Life Not So Simple                         By Shane ONeill              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/style/sa The Annoying Roommate Is Slaying on
2023-03-14   2023-03-19 brina-brier-tiktok.html                     TikTok                                     By Alexandra Jacobs          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/us/gun- A Sudden Need for Experts on Weapons of
2023-03-14   2023-03-19 law-1791-supreme-court.html                 1791                                       By Shawn Hubler              TX 9-286-255   2023-05-02




                                                                                   Page 4986 of 5793
                                                                                                                 By Margaux Laskey Andy
                                                                                                                 Rementer Krysten Chambrot Kim
                        https://www.nytimes.com/interactive/2023/03/                                             Gougenheim Rebecca Lieberman
2023-03-14   2023-03-19 14/dining/kid-friendly-recipes.html          24 KidFriendly Recipes                      and Shannon Lin                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/
                        14/magazine/ukraine-soldiers-psychiatric-    I Live in Hell The Psychic Wounds of        Photographs by Antoine dAgata
2023-03-14   2023-03-19 hospital.html                                Ukraines Soldiers                           and Text by Ellen Barry            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/ This Isnt What Millennial Middle Age Was
2023-03-14   2023-03-19 14/opinion/middle-age-millennials.html       Supposed to Look Like                       By Jessica Grose                   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/15/magazi Reconsider the Cabbage With the right love
2023-03-15   2023-03-19 ne/cabbage-rolls-recipe.html                and the right recipe it can be a star vegetable By Yotam Ottolenghi             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/magazi
2023-03-15   2023-03-19 ne/cfcs-inventor.html                       The Man Who Broke the World                     By Steven Johnson               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/movies/
                        helen-mirren-lucy-liu-shazam-fury-of-the-
2023-03-15   2023-03-19 gods.html                                   Tapping Their Inner Villainous Goddess          By Elisabeth Vincentelli        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/realesta A Small but Elegant Town With Friendly
2023-03-15   2023-03-19 te/clinton-new-jersey.html                  People                                          By Jill P Capuzzo               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/realesta
                        te/home-prices-texas-virginia-and-          900000 Homes in Texas Virginia and
2023-03-15   2023-03-19 minnesota.html                              Minnesota                                       By Angela Serratore             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/realesta
2023-03-15   2023-03-19 te/no-dig-gardening-vegetables.html         Rather Than Plowing Soil Try Just Tickling It By Margaret Roach                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/sports/n
                        caabasketball/shoni-schimmel-basketball-
2023-03-15   2023-03-19 domestic-violence.html                      Once an Inspiration But Now Facing Trial        By Jer Longman                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/style/ch
2023-03-15   2023-03-19 ildren-divorce-stepparents.html             A Daughters Distaste                            By Philip Galanes               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/style/na
2023-03-15   2023-03-19 sa-axiom-new-spacesuit.html                 What to Wear to the Moon                        By Vanessa Friedman             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/theater/
2023-03-15   2023-03-19 marilyn-maye-carnegie-hall.html             Shes Having Another Big Moment                  By Melissa Errico               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/arts/mu Lewis Spratlan Who Took Long Road to
2023-03-16   2023-03-19 sic/lewis-spratlan-dead.html                Music Pulitzer Dies at 82                       By Neil Genzlinger              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/arts/mu
2023-03-16   2023-03-19 sic/melting-ice-music.html                  Melting Ice Is Music to Some Ears               By Grayson Haver Currin         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/magazi
2023-03-16   2023-03-19 ne/judge-john-hodgman-military-time.html    Bonus Advice From Judge John Hodgman            By John Hodgman                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/magazi
2023-03-16   2023-03-19 ne/poem-all-things-now-remind-me.html       Poem                                            By Diane Seuss and Anne Boyer   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/opinion Photographing 20 Years Of War in Iraq
2023-03-16   2023-03-19 /iraq-war-20-photojournalism.html           Taught Me The Limits of Journalism              By Moises Saman                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/opinion How to Fix Our Health Care System After the
2023-03-16   2023-03-19 /pandemic-recovery-primary-care.html        Pandemic                                        By Atul Gawande                 TX 9-286-255   2023-05-02



                                                                                 Page 4987 of 5793
                        https://www.nytimes.com/2023/03/16/opinion
2023-03-16   2023-03-19 /poverty-abolition-united-states.html        America Is in a Disgraced Class of Its Own By Matthew Desmond      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/opinion
2023-03-16   2023-03-19 /trump-desantis-lose.html                    PostTucker Conservatives Have Arrived      By David Brooks         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/realesta
2023-03-16   2023-03-19 te/highest-property-taxes.html               Some Feel the Bite Others a Nibble         By Michael Kolomatsky   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/style/gi
2023-03-16   2023-03-19 rls-show-hbo-lena-dunham.html                Watching From a Safe Distance              By Callie Holtermann    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/us/hike Two Hikers Swept to Their Deaths by Flash
2023-03-16   2023-03-19 rs-dead-buckskin-gulch-utah.html             Flood in a Treacherous Utah Canyon         By Christine Hauser     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/ They Went to the Top of Manhattan to Find
                        16/realestate/manhattan-2-bedroom-apartment-Two Bedrooms and a View Which Option
2023-03-16   2023-03-19 parks.html                                   Did They Choose                            By Joyce Cohen          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/arts/des
                        ign/arthur-simms-artist-assemblage-karma- Nothing Is Lost When Inspiration Washes
2023-03-17   2023-03-19 gallery.html                                 Ashore                                     By Yinka Elujoba        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/arts/mu
                        sic/american-opera-directors-ted-huffman-
2023-03-17   2023-03-19 lydia-steier-rb-schlather.html               US Directors Renew Operas In Europe        By AJ Goldmann          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/arts/mu Jerry Samuels 84 Songwriter Who Recorded a
2023-03-17   2023-03-19 sic/jerry-samuels-dead.html                  Strange and Successful Hit                 By Neil Genzlinger      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/17/books/r
                        eview/sister-rosetta-tharpe-charnelle-pinkney-
2023-03-17   2023-03-19 barlow-tonya-bolden-r-gregory-christie.html The Original Soul Sister                      By Chris Raschka      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/busines Open a Retirement Plan but Dont Leave It in
2023-03-17   2023-03-19 s/401k-ira-balances-retirement.html            Limbo                                      By Charlotte Cowles   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/busines
                        s/federal-reserve-markets-mortgages-inflation-
2023-03-17   2023-03-19 interest-rates.html                            Will the Fed Keep Tightening as Banks Fail By Jeff Sommer        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/movies/
2023-03-17   2023-03-19 film-critic-ao-scott.html                      Critic Critique Thyself                    By AO Scott           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/nyregio
2023-03-17   2023-03-19 n/radio-man-autograph-hunters.html             Tuned In to the Frequency of the Stars     By Drew Schwartz      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/realesta
                        te/europe-homes-sale-americans-lisbon-
2023-03-17   2023-03-19 barcelona.html                                 Looking for the American Dream in Europe By Ronda Kaysen         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/sports/b
                        asketball/boston-celtics-jaylen-brown-         Celtics Breakout Star Raises His Game
2023-03-17   2023-03-19 activism-kanye-west.html                       Especially Off the Court                   By Sopan Deb          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/sports/s Twin Brothers Now Rivals Spar In the Dutch
2023-03-17   2023-03-19 occer/ajax-feyenoord-jurrien-timber.html       League                                     By Rory Smith         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/style/gr
2023-03-17   2023-03-19 ace-fooden-michael-correy-wedding.html         Three Dates and Then a Commitment          By Tammy La Gorce     TX 9-286-255   2023-05-02




                                                                                 Page 4988 of 5793
                        https://www.nytimes.com/2023/03/17/style/ka
2023-03-17   2023-03-19 tie-travis-david-ruttura-wedding.html       Conjuring Spirits and Evicting a Dead Rat   By Vivian Ewing                 TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/17/style/m
                        odern-love-here-lie-the-bickersons-side-by- Here Lie the Bickersons Side by Side for
2023-03-17   2023-03-19 side-for-all-eternity.html                  Eternity                                    By Robin Eileen Bernstein       TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/17/style/ni
2023-03-17   2023-03-19 ka-beamon-marc-vanschaick-wedding.html Only Friends Until the Visit to Fenway Park      By Shannon Sims                 TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/17/style/pa
2023-03-17   2023-03-19 lm-beach-private-clubs.html                 Where 250000 Gets You Dinner                By Holly Peterson               TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/17/style/to Going to the Fire Department but Not
2023-03-17   2023-03-19 mika-anderson-michael-greene-wedding.html Dousing the Flames                             By Sadiba Hasan                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/us/mass In Massachusetts Right to Be Rude at Public
2023-03-17   2023-03-19 achusetts-public-meeting-discourse.html     Meetings Is Protected                        By Jenna Russell                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/us/polit US Airlines Banned From Russian Airspace
2023-03-17   2023-03-19 ics/russia-us-airlines-ukraine.html         Seek Same Limits on Rivals                   By Kate Kelly and Mark Walker    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/world/e Simone Segouin Teenage Fighter In French
2023-03-17   2023-03-19 urope/simone-segouin-dead.html              Resistance Dies at 97                        By Richard Sandomir              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/world/ For Iran Saudi Dtente May Alleviate Tensions
2023-03-17   2023-03-19 middleeast/iran-saudi-arabia.html           In Region and at Home                        By Farnaz Fassihi and Vivian Yee TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/busines
                        s/roxane-gay-work-advice-work-
2023-03-18   2023-03-19 wardrobe.html                               Their Body Their Choice of Underwear         By Roxane Gay                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/busines A Bank Fails and the Clock Is Ticking for a
2023-03-18   2023-03-19 s/silicon-valley-bank-collapse.html         StartUp                                      By Emma Goldberg                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/busines
2023-03-18   2023-03-19 s/zoom-friends-socializing.html             If You Miss Gallery View Youre Not Alone By Issie Lapowsky and Gili Benita TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/18/climate
2023-03-18   2023-03-19 /japan-winter-strawberries-greenhouse.html Behind Allure Of Sweet Fruit Is a Bitter Fact By Hiroko Tabuchi                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/nyregio Raise a Glass to the Nightlife Mayor as She
2023-03-18   2023-03-19 n/ariel-palitz-nyc-nightlife.html           Departs                                      By Dodai Stewart                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/nyregio
2023-03-18   2023-03-19 n/bird-species-nyc-climate-change.html      Shifting Weather Patterns Bring New Birds By Camille Baker                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/nyregio
2023-03-18   2023-03-19 n/lgbtq-nyc-shelter-trinity.html            Play Then Work With an Eager Helper          By Jane Margolies                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/opinion
2023-03-18   2023-03-19 /cancer-brain-mind-body.html                Can I Fight Cancer With Mere Thought         By David J Linden                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/opinion
2023-03-18   2023-03-19 /modi-india.html                            Beware Of Modis Popularity                   By Nicholas Kristof              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/opinion Three Ways the Financial World Has Gone
2023-03-18   2023-03-19 /svb-banks-change.html                      TopsyTurvy                                   By Ezra Klein                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/opinion
2023-03-18   2023-03-19 /trans-teen-suicide-judaism.html            Everyone Is a Created Being of Their Own     By Elliot Kukla                  TX 9-286-255   2023-05-02




                                                                                 Page 4989 of 5793
                        https://www.nytimes.com/2023/03/18/opinion
2023-03-18   2023-03-19 /woke-definition.html                       Trying to Define a Label                   By Ross Douthat                     TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/18/opinion How the World Bank Can Help Countries
2023-03-18   2023-03-19 /world-bank-climate-change.html             Hurt by Climate Change                     By The Editorial Board              TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/18/realesta My Tenant Left With Unpaid Bills How Can I
2023-03-18   2023-03-19 te/failure-to-pay-rent.html                 Recover the Money                          By Ronda Kaysen                     TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/18/sports/b Cuban Teams Visit to Miami Stirs a
2023-03-18   2023-03-19 aseball/cuba-world-baseball-classic.html    Communitys Complicated Emotions            By James Wagner                     TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/18/sports/n No 1 Kansas Ousted No 15 Princeton Rolls to
2023-03-18   2023-03-19 caabasketball/march-madness-saturday.html Round of 16                                   By The New York Times              TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/18/sports/n Yes There Were Upsets but They Seemed
2023-03-18   2023-03-19 caabasketball/march-madness-upsets.html     Like Something More                         By Scott Miller                    TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/18/sports/n Fairleigh Dickinsons Upset of Purdue Has
2023-03-18   2023-03-19 caabasketball/who-is-fairleigh-dickinson.html People Asking Who Are These Guys             By Adam Zagoria                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/style/fa
2023-03-18   2023-03-19 shion-shows-coats.html                        This Falls Coats Long and Strong             By The Styles Desk                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/style/je
2023-03-18   2023-03-19 annette-walls.html                            A Life of Sifting Through Facts and Fables   By Jim Windolf                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/us/polit In Bankruptcy A Fabulist Finds A Hiding        By Elizabeth Williamson and Emily
2023-03-18   2023-03-19 ics/alex-jones-bankruptcy.html                Place                                        Steel                             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/us/polit For McCarthy and Biden A Collision Course
2023-03-18   2023-03-19 ics/biden-mccarthy-relationship.html          Is Set                                       By Katie Rogers and Annie Karni TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/18/us/polit A Retired Black Prosecutors Quest for
2023-03-18   2023-03-19 ics/black-prosecutor-name-omission.html       Recognition                                  By Trip Gabriel                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/us/polit
                        ics/jimmy-carter-october-surprise-iran-       43Year Secret of Sabotage Mission to Subvert
2023-03-18   2023-03-19 hostages.html                                 Carter Is Revealed                           By Peter Baker                    TX 9-286-255   2023-05-02
                                                                                                                   By Maggie Haberman Jonah E
                        https://www.nytimes.com/2023/03/18/us/polit Trump Says His Arrest Is Imminent and Calls Bromwich Ben Protess Alan Feuer
2023-03-18   2023-03-19 ics/trump-indictment-arrest-protests.html     for Protests Echoing Jan 6                   and William K Rashbaum            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/world/a In Pakistan Chaos as ExPrime Minister           By Christina Goldbaum and Salman
2023-03-18   2023-03-19 sia/imran-khan-pakistan-court.html            Attempts a Court Appearance                  Masood                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/world/c
                        anada/trudeau-canada-china-election-          Claims of Chinese Election Meddling Put
2023-03-18   2023-03-19 meddling.html                                 Prime Minister on Defensive                  By Ian Austen                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/world/e Pushing Pension Bill Macron Now Faces
2023-03-18   2023-03-19 urope/macron-pension-future.html              Frances Wrath Alone                          By Roger Cohen                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/world/e Russia Signals Intention To Deport More         By Marc Santora and Emma
2023-03-18   2023-03-19 urope/putin-arrest-warrant-children.html      Children                                     Bubola                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/world/e As War Drags On Usually Stoic Faces
2023-03-18   2023-03-19 urope/ukraine-emotional-toll-crying.html      Dissolve in Tears                            By Jeffrey Gettleman              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/world/e Day After Warrant a Defiant Putin Visits        By Shashank Bengali and Victoria
2023-03-18   2023-03-19 urope/ukraine-grain-deal-un-russia.html       Crimea                                       Kim                               TX 9-286-255   2023-05-02



                                                                                 Page 4990 of 5793
                        https://www.nytimes.com/2023/03/18/world/ Lost Hopes Haunt Iraqis 2 Decades After
2023-03-18   2023-03-19 middleeast/iraq-war-20th-anniversary.html Invasion                                      By Alissa J Rubin                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/18/world/ A Night of Thunderous Blasts Followed By
2023-03-18   2023-03-19 middleeast/iraq-war-photos-us-military.html Years of Fighting and Endless Grief    By The New York Times                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/world/ Two Decades Later a Question Remains Why
2023-03-18   2023-03-19 middleeast/iraq-war-reason.html             Did the US Invade                      By Max Fisher                         TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/18/sports/n
2023-03-19   2023-03-19 caabasketball/fairleigh-dickinson-upset.html For Fairleigh Dickinson Small Is Beautiful By Noah Weiland                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/busines
2023-03-19   2023-03-19 s/week-in-business-banking-crisis.html       The Week in Business A Banking Crisis      By Marie Solis                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/insider/
2023-03-19   2023-03-19 the-ad-in-the-first-amendment.html           The Ad in the First Amendment              By David W Dunlap                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/insider/
                        with-empathy-a-writer-searches-for-the-      A Block in Phoenix a Tension Point in
2023-03-19   2023-03-19 tension-points-in-america.html               America                                    By Megan DiTrolio                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/nyregio For a Monastery Brooklyn Becomes Too
2023-03-19   2023-03-19 n/carmelite-nuns-brooklyn.html               Much                                       By Kaya Laterman                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/style/w
                        hat-nicky-hilton-and-other-patrons-wore-to-
2023-03-19   2023-03-19 art-parties.html                             Camping Treats And Party Finery            By Denny Lee                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/us/phoe A Homeless Camp Crisis At a Sandwich
2023-03-19   2023-03-19 nix-businesses-homelessness.html             Shops Door                                 By Eli Saslow and Todd Heisler   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/movies/
2023-03-09   2023-03-20 lukas-gage-you-white-lotus.html              Lukas Gage Aims to Please And Surprise     By Ashley Spencer                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/arts/mu Spot 71 Record Producer Who Helped Punk
2023-03-11   2023-03-20 sic/spot-record-producer-dead.html           Evolve From Garages to the Airwaves        By Alex Williams                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/busines
2023-03-14   2023-03-20 s/mass-timber-universities.html              Campuses Showcase Mass Timbers Potential By Lisa Prevost                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/sports/s Super Bowl Of Norway A Bacchanal In the By Nathaniel Herz and David B
2023-03-14   2023-03-20 kiing/holmenkollen-norway-diggins.html       Woods                                      Torch                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/
                        14/climate/extreme-weather-climate-          How Can We Measure Droughts and Deluges
2023-03-14   2023-03-20 change.html                                  Weigh the Planet                           By Mira Rojanasakul              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/arts/dan A Melting Pot of Artists Will Step Into New
2023-03-15   2023-03-20 ce/vail-dance-festival-season.html           Works                                      By Roslyn Sulcas                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/arts/ph Phyllida Barlow 78 Dies Sculptor of Large
2023-03-15   2023-03-20 yllida-barlow-dead.html                      Works That Made a Statement                By Nana Asfour                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/busines
2023-03-16   2023-03-20 s/media/tv-prime-time-afternoons.html        For TV News Prime Time Comes Early         By Michael M Grynbaum            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/travel/c
                        hatgpt-artificial-intelligence-travel-       ChatGPT Can Change How We Plan Trips
2023-03-16   2023-03-20 vacation.html                                But Still Has a Ways to Go                 By Julie Weed                    TX 9-286-255   2023-05-02




                                                                                Page 4991 of 5793
                        https://www.nytimes.com/2023/03/17/arts/arti
2023-03-17   2023-03-20 st-email-scam.html                           Fake Buyers Are Phishing In Art World       By Zachary Small              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/headwa
                        y/spray-bottle-clorox-plastic-refillable-    Brands Ditch the Plastic Waste To Bring You
2023-03-17   2023-03-20 recycle.html                                 a Greener Cleaner                           By Susan Shain                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/theater/ During Rehearsal Learning the Show Would
2023-03-17   2023-03-20 room-broadway-postponed.html                 Never Go On                                 By Julia Jacobs               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/us/jim- Jim Mellen 87 an Original Member of the
2023-03-17   2023-03-20 mellen-dead.html                             Radical Activist Group the Weathermen       By Alex Williams              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/arts/mu Polito Vega New York Radios King of Salsa
2023-03-18   2023-03-20 sic/polito-vega-dead.html                    Is Dead at 84                               By Sam Roberts                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/arts/mu
2023-03-18   2023-03-20 sic/taylor-swift-eras-tour-review.html       Tracing the Tracks of Her Career            By Jon Caramanica             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/opinion Tradition Tradition and the Memory of Topol
2023-03-18   2023-03-20 /topol-tevye-fiddler-tradition.html          on the Roof                                 By Sarah Wildman              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/sports/g With 100 Miles 60 Hours and 40 Athletes Its
2023-03-18   2023-03-20 ary-cantrell-barkley-marathons.html          the Barkley Marathon                        By Jared Beasley              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/us/kent University to Pay 14 Million in Wrestler
2023-03-18   2023-03-20 ucky-university-wrestler-settlement.html     Death Case                                  By Amanda Holpuch             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/us/polit Iowa an Afterthought In the 2024 GOP Race
2023-03-18   2023-03-20 ics/republicans-2024-iowa.html               Its as Crucial as Ever                      By Trip Gabriel               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/arts/mu
                        sic/new-york-philharmonic-turangalila-
2023-03-19   2023-03-20 symphonie-review.html                        Jaap van Zweden Lets Messiaen Explode       By Zachary Woolfe             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/arts/mu
                        sic/ukrainian-contemporary-music-festival- Despite the Gloom of War a Festival
2023-03-19   2023-03-20 review.html                                  Celebrates Ukraines Soul                    By Oussama Zahr               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/busines After Swooping In to Bet on Swiss Rescue
2023-03-19   2023-03-20 s/credit-suisse-investors-hedge-funds.html   Deal Hedge Funds See Mixed Results          By Joe Rennison               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/busines Fed Caught Wing Of Banks Issues Before
2023-03-19   2023-03-20 s/economy/fed-silicon-valley-bank.html       Collapse                                    By Jeanna Smialek             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/busines Federal Reserve and Global Central Banks
                        s/economy/federal-reserve-banks-dollar-      Act to Ensure Institutions Have Access to
2023-03-19   2023-03-20 access.html                                  Dollars                                     By Jeanna Smialek             TX 9-286-255   2023-05-02
                                                                                                                 By Michael J de la Merced
                        https://www.nytimes.com/2023/03/19/busines UBS Agrees To Purchase Credit Suisse To Maureen Farrell and Andrew Ross
2023-03-19   2023-03-20 s/ubs-credit-suisse.html                     Ease Fears                                  Sorkin                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/crossw
2023-03-19   2023-03-20 ords/daily-puzzle-2023-03-20.html            A Crossword That Offers Food for Thought By Deb Amlen                     TX 9-286-255   2023-05-02
                                                                                                                 By Ben Protess William K
                        https://www.nytimes.com/2023/03/19/nyregio Critic of Cohen Could Testify To Grand Jury Rashbaum Jonah E Bromwich and
2023-03-19   2023-03-20 n/trump-indictment-costello-cohen.html       In Trump Case                               Maggie Haberman               TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/19/nyregio A Porn Actress a Payoff and Trump on the
2023-03-19   2023-03-20 n/trump-stormy-daniels-felony-charges.html Brink                                      By Michael Rothfeld              TX 9-286-255   2023-05-02



                                                                               Page 4992 of 5793
                        https://www.nytimes.com/2023/03/19/opinion
2023-03-19   2023-03-20 /bill-gates-pandemic-preparedness-covid.html Fight Pandemics the Way We Fight Fires     By Bill Gates                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/opinion My Dangerous Lonely Life in Myanmars
2023-03-19   2023-03-20 /myanmar-military-coup-resistance.html       Resistance                                 By Nan Lin                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/opinion
2023-03-19   2023-03-20 /teen-adult-depression-anxiety.html          Are Kids Anxious Because Their Parents Are By David French                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/sports/a
2023-03-19   2023-03-20 utoracing/f1-saudi-grand-prix-results.html   Red Bull Goes 12 With Prez First This Time By Andrew Das and Josh Katz        TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/19/sports/n Fairleigh Dickinson Denied in Quest for More
2023-03-19   2023-03-20 caabasketball/march-madness-sunday.html     Milestones                                   By The New York Times             TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/19/sports/n Sharing an Arena Two Top Seeds Get to Size
2023-03-19   2023-03-20 caabasketball/sweet-16-houston-alabama.html Up Their Competition                         By Billy Witz                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/us/covi Florida Hospital Shaken By Politics Over
2023-03-19   2023-03-20 d-florida-sarasota-memorial-hospital.html   Covid                                        By Patricia Mazzei                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/us/polit Hostile Politics Shaped Search Of Virus      By Sheryl Gay Stolberg and
2023-03-19   2023-03-20 ics/covid-origins-lab-leak-politics.html    Origin                                       Benjamin Mueller                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/us/polit DeSantis Is Urged to End Silence on          By Jonathan Swan and Maggie
2023-03-19   2023-03-20 ics/desantis-trump-indictment.html          Indictment                                   Haberman                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/us/polit Haley and Scott Reach Out to Same Donors
2023-03-19   2023-03-20 ics/haley-scott-south-carolina.html         and Same Voters in South Carolina            By Maya King                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/us/polit                                              By Edward Wong and Steven
2023-03-19   2023-03-20 ics/russia-china-putin-xi.html              Xi Brokering Ukraine Peace West Is Skeptical Erlanger                          TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/19/us/polit Dispute Erupts at UN Agency for Seabed
2023-03-19   2023-03-20 ics/seabed-mining-metals-united-nations.html Mining                                     By Eric Lipton                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/us/polit Potential Charges Circling the Former
2023-03-19   2023-03-20 ics/trump-investigations.html                President                                  By Charlie Savage                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/world/a To Thwart Wagner Group US Shares Security
2023-03-19   2023-03-20 frica/chad-russia-wagner.html                Intelligence With Chad                     By Declan Walsh                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/world/a Short on Food North Korea Has Troops
2023-03-19   2023-03-20 sia/north-korea-kim-jong-un-food.html        Planting Crops                             By Choe SangHun                    TX 9-286-255   2023-05-02
                                                                                                                By Matthew Mpoke Bigg Ivan
                        https://www.nytimes.com/2023/03/19/world/e Putin Ignores War Crimes Charge and Visits Nechepurenko and Andrs R
2023-03-19   2023-03-20 urope/putin-mariupol-crimea-ukraine.html     Mariupol a City Razed in Early Battles     Martnez                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/world/e After Era of Global Britain Bluster a
2023-03-19   2023-03-20 urope/rishi-sunak-global-britain.html        Pragmatic Prime Minister Strikes Deals     By Mark Landler                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/world/e This Hell Is Close Combat Casualties Soar in
2023-03-19   2023-03-20 urope/russia-bakhmut-ukraine.html            the Fight for Bakhmut                      By Carlotta Gall                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/world/ As War Shook Iraq Iran Emerged as the Big
2023-03-19   2023-03-20 middleeast/iraq-war-iran.html                Winner                                     By Vivian Yee and Alissa J Rubin   TX 9-286-255   2023-05-02




                                                                                Page 4993 of 5793
                        https://www.nytimes.com/2023/03/19/world/
                        middleeast/israel-palestinian-ramadan-       Israelis and Palestinians Meet to Decrease By Isabel Kershner and Patrick
2023-03-19   2023-03-20 violence.html                                Tensions Ahead of Ramadan                  Kingsley                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/world/ Syrias Leader Long Rejected on World Stage By Vivian Nereim and Hwaida
2023-03-19   2023-03-20 middleeast/syria-assad-uae.html              Makes an Official Visit to the UAE         Saad                             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/theater/
2023-03-20   2023-03-20 dancin-broadway-review.html                  When a Wiggle Says a Whole Lot             By Jesse Green                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/arts/tele
                        vision/whats-on-tv-this-week-dr-tony-fauci-
2023-03-20   2023-03-20 and-the-mark-twain-prize.html                This Week on TV                            By Kristen Bayrakdarian          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/nyregio
                        n/douglass-mackey-twitter-misinformation- Trial of 2016 Election Troll to Open Testing
2023-03-20   2023-03-20 trial.html                                   Limits of Online Speech                    By Colin Moynihan and Alan Feuer TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/sports/c
2023-03-20   2023-03-20 ommanders-manchester-united-sale.html        A Winner and a Loser Which Is Worth More By Ken Belson and Kevin Draper TX 9-286-255       2023-05-02
                        https://www.nytimes.com/2023/03/20/sports/n
                        caabasketball/indiana-hoosiers-teri-moren-   88YearOld Superfan At Every Indiana Game
2023-03-20   2023-03-20 dad.html                                     Couldnt Ask for More                       By Talya Minsberg                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/sports/o
                        lympics/jennifer-fox-sexual-abuse-the-       Sex Abuse Accusation Names a Rowing
2023-03-20   2023-03-20 tale.html                                    Legend                                     By Juliet Macur                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/us/polit
2023-03-20   2023-03-20 ics/iraq-20-years.html                       Iraq Missteps Retain Power To Haunt US     By Robert Draper                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/us/polit As Law Closes In Trump Rallies Allies to
2023-03-20   2023-03-20 ics/trump-indictment-republicans.html        Take Our Nation Back                       By Maggie Haberman               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/world/
2023-03-20   2023-03-20 middleeast/iraq-war-anniversary-youth.html The Scars Of Stolen Childhoods               By Joao Silva and Alissa J Rubin TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/02/24/science
2023-02-24   2023-03-21 /dinosaur-sounds-fossils.html                Researchers Examine How to Speak Dinosaur By Carolyn Wilke                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/05/science
2023-03-05   2023-03-21 /sunflower-sea-stars-urchins.html            A Rescue Proposal for the Oceans Forest    By Nicholas Bakalar              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/science
2023-03-08   2023-03-21 /keanu-reeves-fungus.html                    A Killing Mission Worthy of John Wick      By Emily Schmall                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/08/well/liv
                        e/shigella-bacteria-stomach-bug-             DrugResistant Shigella Has Scientists
2023-03-08   2023-03-21 antibiotics.html                             Worried                                    By Dana G Smith                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/arts/mu
2023-03-10   2023-03-21 sic/nia-archives-drum-and-bass.html          Bringing Women Front and Center            By Alex Marshall                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/11/science Looking Beyond the Web for a Good Place to
2023-03-11   2023-03-21 /candy-striper-spiders.html                  Eat                                        By Lesley Evans Ogden            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/science For Black Widows a Brown Cousin Is the
2023-03-13   2023-03-21 /brown-widows-black-widows.html              Real Killer                                By Asher Elbein                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/well/fa
2023-03-13   2023-03-21 mily/introverts-friendship.html              What Friendship Means to an Introvert      By Catherine Pearson             TX 9-286-255   2023-05-02




                                                                               Page 4994 of 5793
                        https://www.nytimes.com/2023/03/14/well/liv
2023-03-14   2023-03-21 e/allergy-fatigue-symptoms.html             Are Allergies Making Me Tired                 By Hannah Seo                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/science
2023-03-15   2023-03-21 /audubon-society-name-change.html           Audubon Societys Decision Divides Birders     By Jesus Jimnez               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/theater/ Along the Thames Luck Is Once Again a
2023-03-15   2023-03-21 guys-and-dolls-bridge-theatre-london.html   Lady                                          By Matt Wolf                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/well/liv Is It Safe to Get Neck Manipulation by a
2023-03-15   2023-03-21 e/neck-manipulation-chiropractor.html       Chiropractor                                  By Dana G Smith               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/well/m
2023-03-15   2023-03-21 ove/hiit-workout-beginner.html              Get Ready to Work Very Hard                   By Amanda Loudin              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/movies/
2023-03-17   2023-03-21 rye-lane.html                               The Charms of a Changing London               By Precious Adesina           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/books/c
2023-03-18   2023-03-21 atherine-lacey-biography-of-x.html          Profiling an Artist Who Never Existed         By Joumana Khatib             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/arts/dan A Work of 1000 Ideas All of Them Jammed
2023-03-19   2023-03-21 ce/paris-opera-ballet-pit-review.html       Onstage                                       By Roslyn Sulcas              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/19/dining/ Cruz Miguel Ortz Cuadra 67 Puerto Ricos
2023-03-20   2023-03-21 cruz-miguel-ortiz-cuadra-dead.html          Meal Maven Dies                               By Christina Morales          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/arts/dan Stuart Hodes 98 Dancer Who Felt Unearthly
2023-03-20   2023-03-21 ce/stuart-hodes-dead.html                   Joy Beside Martha Graham                      By Brian Seibert              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/arts/mu
                        sic/international-contemporary-ensemble-
2023-03-20   2023-03-21 review.html                                 Putting the Multi in Multitalented            By Seth Colter Walls          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/arts/mu
2023-03-20   2023-03-21 sic/kelsea-ballerini.html                   Ambition Without Apology                      By Melena Ryzik               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/arts/mu
                        sic/morgan-wallen-one-thing-billboard-
2023-03-20   2023-03-21 chart.html                                  Wallen Holds at No 1                          By Ben Sisario                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/arts/mu Three Convicted in Murder Of Rapper
2023-03-20   2023-03-21 sic/xxxtentacion-murder-verdict.html        XXXTentacion Will Face Life in Prison         By Joe Coscarelli             TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/20/busines
2023-03-20   2023-03-21 s/economy/fed-inflation-bank-collapses.html Bank Woes Complicate Fed Strategy             By Jeanna Smialek             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/busines On Lifeline Lender Slips Even Closer To the    By Rob Copeland and Maureen
2023-03-20   2023-03-21 s/first-republic-bank.html                  Brink                                         Farrell                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/busines Fueling Israels Court Overhaul 2 Libertarian   By David Segal and Isabel
2023-03-20   2023-03-21 s/israel-judges-kohelet.html                Men From Queens                               Kershner                      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/20/busines Economy Reeling Sri Lanka Secures 3 Billion By Skandha Gunasekara and Alex
2023-03-20   2023-03-21 s/sri-lanka-international-monetary-fund.html Rescue Loan From IMF                       Travelli                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/climate Earth Is Nearing The Tipping Point For A Hot
2023-03-20   2023-03-21 /global-warming-ipcc-earth.html              Future                                     By Brad Plumer                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/dining/r Sleepy Oklahoma Town Is Now Abuzz
2023-03-20   2023-03-21 eba-mcentire-atoka-oklahoma.html             Thanks to Reba McEntire                    By Priya Krishna                TX 9-286-255   2023-05-02




                                                                                 Page 4995 of 5793
                        https://www.nytimes.com/2023/03/20/nyregio
2023-03-20   2023-03-21 n/alvin-bragg-trump-indictment.html        Political Furor Awaiting DA In Trump Case By Jonah E Bromwich                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/nyregio Grand Jury Hears Lawyer Who Assails Star By Ben Protess Sean Piccoli and
2023-03-20   2023-03-21 n/costello-cohen-trump-grand-jury.html     Witness                                   Kate Christobek                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/nyregio
                        n/new-jersey-high-school-woman-            Woman Pleads Not Guilty to Using Fake ID
2023-03-20   2023-03-21 student.html                               to Get Into High School                   By Tracey Tully                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/nyregio Bus Company Ends Service To New York
2023-03-20   2023-03-21 n/nj-nyc-decamp-bus.html                   Citing Covid                              By Hurubie Meko                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/nyregio New York City Officials Devise Security   By William K Rashbaum Jonah E
2023-03-20   2023-03-21 n/trump-arrest-indictment-nypd.html        Plans For Likely Trump Arrest             Bromwich and Alan Feuer              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/opinion Americans Have Mostly Forgotten the Iraq
2023-03-20   2023-03-21 /iraq-war-20th-anniversary.html            War I Havent                              By Lulu GarciaNavarro                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/20/opinion
2023-03-20   2023-03-21 /ron-desantis-trump-silicon-valley-bank.html Never Mind About DeSantis                  By Gail Collins and Bret Stephens TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/opinion
2023-03-20   2023-03-21 /tiktok-ban-big-tech-china.html              Fixing TikTok Wont Fix the Real Problem    By Julia Angwin                   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/20/science
2023-03-20   2023-03-21 /yellowstone-indigenous-people-obsidian.html Humanitys Tool Shed                      By Jim Robbins                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/sports/b A BehindthePlatesEye View of a Generation
2023-03-20   2023-03-21 aseball/stephen-vogt-pitchers.html           of Pitchers                              By Tyler Kepner                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/sports/b
                        aseball/world-baseball-classic-final-
2023-03-20   2023-03-21 preview.html                                 For US Team This Is a Lot of Fun         By James Wagner                     TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/20/sports/n Another No 1 Done 9thSeeded Miami Ousts
2023-03-20   2023-03-21 caabasketball/march-madness-monday.html Indiana to Reach Round of 16                     By The New York Times            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/sports/n
                        caabasketball/mississippi-stanford-womens-
2023-03-20   2023-03-21 basketball.html                             A Sign of Hope In an Upset Of a No 1 Seed By Kurt Streeter                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/sports/n St Johns Hires Pitino TwoTime NCAA
2023-03-20   2023-03-21 caabasketball/rick-pitino-st-johns.html     Champ to Be New Coach                        By Adam Zagoria                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/sports/t Alcaraz Is No 1 Again but Hes Still Awaiting
2023-03-20   2023-03-21 ennis/alacraz-indian-wells-miami.html       His Sternest Test                            By Christopher Clarey            TX 9-286-255   2023-05-02
                                                                    Amazon Announces Its Plans to Lay Off 9000
                        https://www.nytimes.com/2023/03/20/technol Corporate and Tech Workers by the End of
2023-03-20   2023-03-21 ogy/amazon-layoffs.html                     April                                        By Karen Weise                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/technol                                               By David YaffeBellany and Erin
2023-03-20   2023-03-21 ogy/crypto-rebranding-marketing.html        Crypto Seeks A Fresh Start                   Griffith                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/technol Inside the Frenzied 3 Months That Could
2023-03-20   2023-03-21 ogy/fox-news-dominion-texts.html            Prove Costly for Fox                         By Jeremy W Peters               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/theater/
2023-03-20   2023-03-21 review-the-good-john-proctor.html           Girlhood BFFs in a Prequel to The Crucible By Naveen Kumar                    TX 9-286-255   2023-05-02



                                                                                Page 4996 of 5793
                        https://www.nytimes.com/2023/03/20/us/carb
                        on-dioxide-ethanol-underground-             Unlikely Alliances Forged Over a Novel        By Mitch Smith and Alyssa
2023-03-20   2023-03-21 midwest.html                                Pipeline                                      Schukar                          TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/20/us/polit Bidens First Veto Comes Amid a Flurry of
2023-03-20   2023-03-21 ics/biden-first-veto-esg.html               Signings                                      By Katie Rogers                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/us/polit White House Warns of Effects of Climate       By Jim Tankersley and Christopher
2023-03-20   2023-03-21 ics/climate-change-federal-spending.html    Change on Spending                            Flavelle                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/us/polit DeSantis Ending Silence Criticizes District   By Maggie Haberman and Jonathan
2023-03-20   2023-03-21 ics/desantis-trump-indictment.html          Attorney                                      Swan                              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/us/polit Bush Wont Engage In SecondGuessing At
2023-03-20   2023-03-21 ics/george-w-bush-iraq-war.html             Least Not Publicly                            By Peter Baker                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/20/us/polit In Africa An American Held Hostage Is         By Eric Schmitt and Adam
2023-03-20   2023-03-21 ics/hostage-jeffery-woodke-freed.html       Released                                      Goldman                          TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/20/us/polit House GOP Defending Trump Targets Bragg By Annie Karni and Luke
2023-03-20   2023-03-21 ics/house-republicans-trump-indictment.html Ahead of Expected Indictment                   Broadwater                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/us/polit Four Convicted of Obstruction on Jan 6 in
2023-03-20   2023-03-21 ics/oath-keepers-jan-6-convicted.html        Final Oath Keepers Trial                      By Alan Feuer and Zach Montague TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/20/us/polit
                        ics/supreme-court-video-testimony-           Video Testimony From Covid Era Faces
2023-03-20   2023-03-21 confrontation-clause.html                    Constitutional Test at Supreme Court          By Adam Liptak                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/us/polit                                                By Shane Goldmacher and Alan
2023-03-20   2023-03-21 ics/trump-protests-indictment-gop.html       Republicans Divided Over Call for Protests Feuer                               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/us/trum Trumps Lawyers File Motion to Suppress
2023-03-20   2023-03-21 ps-georgia-special-grand-jury.html           Grand Jury Report                             By Richard Fausset               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/world/a In Somalia Over 43000 Have Died In
2023-03-20   2023-03-21 frica/somalia-drought-death-famine.html      Drought                                       By Abdi Latif Dahir              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/world/a Old Car Batteries From US Are Making            By Steve Fisher and Alejandro
2023-03-20   2023-03-21 mericas/car-batteries-lead-mexico.html       Mexican Workers Sick                          Cegarra                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/world/a How Ukraine Conflict Has Drawn China And
2023-03-20   2023-03-21 sia/china-russia-ties.html                   Russia Together                               By Nicole Hong                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/world/a
                        sia/india-punjab-internet-shutdown-amritpal- Punjab Security Forces Hunt a Sikh Separatist
2023-03-20   2023-03-21 singh.html                                   Amid Insurgency Fears                         By Sameer Yasir and Suhasini Raj TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/world/a Australia Moves to Ban Nazi Salute After
2023-03-20   2023-03-21 ustralia/melbourne-nazi-salute.html          Transgender Rights Rally                      By Natasha Frost                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/world/e European Union Officials Agree on Plan To
2023-03-20   2023-03-21 urope/eu-ukraine-artillery-aid.html          Speed More Artillery Shells to Kyiv           By Steven Erlanger               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/world/e
                        urope/france-no-confidence-macron-           Macrons Government Survives but Faces
2023-03-20   2023-03-21 retirement.html                              Frances Wrath Over Pensions                   By Roger Cohen                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/world/e Meta Managers Phone Was Targeted by
2023-03-20   2023-03-21 urope/greece-spyware-hacking-meta.html       Greek Spy Agency                              By Matina StevisGridneff         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/world/e                                                 By Valerie Hopkins Chris Buckley
2023-03-20   2023-03-21 urope/putin-xi-russia-china.html             On Russia Trip Xi Celebrates Tie With Putin and Anton Troianovski              TX 9-286-255   2023-05-02



                                                                                  Page 4997 of 5793
                        https://www.nytimes.com/2023/03/20/world/
                        middleeast/israel-judicial-overhaul-         Israeli Leaders Plan to Start Judicial Overhaul
2023-03-20   2023-03-21 changes.html                                 by April Stoking Anger                          By Patrick Kingsley                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/article/los-angeles- Strike by Staff Members Could Close Schools By Kurtis Lee and Soumya
2023-03-20   2023-03-21 school-strike.html                           in Los Angeles                                  Karlamangla                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/
2023-03-20   2023-03-21 19/us/carbon-capture.html                    How Does Carbon Capture Work                    By Eden Weingart                   TX 9-286-255   2023-05-02
                                                                     Fox News Producer Says She Was Set Up in
                        https://www.nytimes.com/2023/03/20/busines Dominion Case Citing Misogyny at the              By Nicholas Confessore and Katie
2023-03-21   2023-03-21 s/media/fox-news-abby-grossberg.html         Company                                         Robertson                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/nyregio Teenage Driver in Crash That Killed 5
2023-03-21   2023-03-21 n/deadly-crash-teen-driver-new-york.html     Children Didnt Have License Officials Say       By Ed Shanahan                     TX 9-286-255   2023-05-02
                                                                                                                     By Shane Goldmacher Maggie
                        https://www.nytimes.com/2023/03/20/us/polit For the GOP a Looming Trump Indictment           Haberman Jonathan Swan and
2023-03-21   2023-03-21 ics/trump-indictment-gop.html                Takes Center Stage                              Annie Karni                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/health/c
2023-03-21   2023-03-21 ovid-cdc.html                                Political Meddling and the Pandemic             By Apoorva Mandavilli              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/health/s
                        urgeon-general-adolescents-mental-           Intensified Focus on Adolescent Mental
2023-03-21   2023-03-21 health.html                                  Health                                          By Matt Richtel                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/insider/
2023-03-21   2023-03-21 amplifier-newsletter.html                    A Music Newsletter Nostalgic for the Mixtape By Josh Ocampo                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/us/polit
                        ics/james-comer-republican-oversight-        Republicans Investigations Chief Embraces By Jonathan Swan and Luke
2023-03-21   2023-03-21 biden.html                                   Role of Biden Antagonist                        Broadwater                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/theater/
2023-03-07   2023-03-22 great-british-bakeoff-musical.html           Butter Eggs and Salty Double Entendres          By Matt Wolf                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/dining/
2023-03-15   2023-03-22 butter-shrimp-recipe.html                    Scampi Without The Garlic Gasp                  By Melissa Clark                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/dining/
2023-03-16   2023-03-22 bone-in-chicken.html                         The Secret to Flavor Its in the Bones           By Genevieve Ko                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/dining/
2023-03-17   2023-03-22 easy-carrot-cake-recipe.html                 Carrot Cake Chocolate and Grating Optional By Yewande Komolafe                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/dining/t
2023-03-17   2023-03-22 avern-thin-crust-pizza-chicago.html          Its a Snap to Make a Pizza That Crackles        By J Kenji LpezAlt                 TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/19/books/r Maybe Its Not So Bad When the Internet Is
2023-03-19   2023-03-22 eview/meganets-david-auerbach-review.html Down                                             By Alexandra Jacobs                  TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/20/arts/tele
2023-03-20   2023-03-22 vision/zoe-chao-party-down-afterparty.html Swinging From Joy To Panic                      By Coralie Kraft                     TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/20/busines As Lithium Price Drops Electric Cars Get
2023-03-20   2023-03-22 s/lithium-prices-falling-electric-vehicles.html Cheaper                                    By Jack Ewing and Clifford Krauss TX 9-286-255      2023-05-02




                                                                                  Page 4998 of 5793
                        https://www.nytimes.com/2023/03/20/dining/r
2023-03-21   2023-03-22 amadan-recipes-somalia.html                  Ramadan Recipes to Break the Fast         By Ifrah F Ahmed                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/20/theater/
                        drinking-in-america-review-men-in-a-cracked- Alone Onstage With a Whole Crew of
2023-03-21   2023-03-22 mirror.html                                  Characters                                By Laura CollinsHughes           TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/arts/and ExProsecutor In Rust Case Linked Task To
2023-03-21   2023-03-22 rea-reeb-alec-baldwin.html                   Campaign                                  By Julia Jacobs                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/arts/mu
2023-03-21   2023-03-22 sic/heinali-kyiv-eternal-ukraine.html        Capturing The Sounds Of Kyiv              By Jason Farago                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/arts/mu
                        sic/new-york-philharmonic-2023-24-           What Awaits in the Philharmonics New
2023-03-21   2023-03-22 season.html                                  Season                                    By The New York Times            TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/arts/mu Virginia Zeani Soaring Soprano Famed for
2023-03-21   2023-03-22 sic/virginia-zeani-dead.html                 Versatility Dies at 97                    By Jonathan Kandell              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/books/p Patrick French 56 Historian of India and
2023-03-21   2023-03-22 atrick-french-dead.html                      Unsparing Biographer of Naipaul           By Neil Genzlinger               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/busines
2023-03-21   2023-03-22 s/amazon-labor-union.html                    Price of Prevailing Over a Giant          By Noam Scheiber                 TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/21/busines An Effort to Insure Deposits Over 250000
2023-03-21   2023-03-22 s/economy/banks-insurance-deposit-cap.html Percolates on Capitol Hill                  By Jeanna Smialek                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/busines
                        s/economy/silicon-valley-bank-fed-         Powell on Spot For Monitoring Of Failed
2023-03-21   2023-03-22 oversight.html                             Bank                                        By Jeanna Smialek                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/busines
2023-03-21   2023-03-22 s/markets-stocks-banks.html                Markets Rally Ahead of the Feds Meeting     By Jason Karaian and Joe Rennison TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/busines
                        s/media/fox-news-dominion-voting-          Judge Weighs Quick Ruling In Dominion V
2023-03-21   2023-03-22 lawsuit.html                               Fox News                                    By Katie Robertson               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/busines
                        s/office-production-studios-content-
2023-03-21   2023-03-22 creation.html                              When Content Creation Goes InHouse          By Jane Margolies                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/busines
2023-03-21   2023-03-22 s/regional-banks-depositors-fears.html     Small Banks Say the Panic Is Subsiding      By Stacy Cowley                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/busines Beijing Keeps Russians Stockpiled With      By Paul Mozur Aaron Krolik and
2023-03-21   2023-03-22 s/russia-china-drones-ukraine-war.html     Drones Testing US Crackdown                 Keith Bradsher                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/busines Yellen Says US Is Ready To Backstop Small
2023-03-21   2023-03-22 s/yellen-banking-system-svb.html           Banks                                       By Alan Rappeport                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/climate Biden Sets Aside Lands Rich in Native
2023-03-21   2023-03-22 /biden-monument-spirit-mountain.html       History and Nature                          By Coral Davenport               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/climate A Rocking Chair Rebellion Seniors Call on
2023-03-21   2023-03-22 /climate-change-protests-oil-banks.html    Banks to Dump Big Oil                       By Cara Buckley                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/dining/
2023-03-21   2023-03-22 drinks/aperol-producers-us.html            Time to Pucker Up Bitters Are Booming       By Molly Fitzpatrick             TX 9-286-255    2023-05-02




                                                                               Page 4999 of 5793
                        https://www.nytimes.com/2023/03/21/dining/
2023-03-21   2023-03-22 how-to-read-a-menu.html                         How to Read a Menu Like a Food Critic By Nikita Richardson            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/dining/
2023-03-21   2023-03-22 kebab-aur-sharab-review-indian.html             Choosing From Three Pages of Kebabs   By Pete Wells                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/nyregio Bloombergs New 5 Million Cause Helping
2023-03-21   2023-03-22 n/bloomberg-hochul-tv-ads.html                  Hochuls Budget Goals                  By Nicholas Fandos              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/nyregio Goodbye La Guardia Train Hello 500 Million
2023-03-21   2023-03-22 n/la-guardia-airport-bus.html                   Bus Line                              By Patrick McGeehan             TX 9-286-255   2023-05-02
                                                                                                              By Ben Protess Jonah E Bromwich
                        https://www.nytimes.com/2023/03/21/nyregio Possible Case Against Trump Would Hinge William K Rashbaum and Kate
2023-03-21   2023-03-22 n/trump-indictment-legal-theory.html            on Untested Strategy                  Christobek                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/nyregio
2023-03-21   2023-03-22 n/we-love-nyc-logo.html                         New Yorkers Dont Love Their Logo Back By Dodai Stewart                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/opinion
                        /20-years-on-i-dont-regret-supporting-the-iraq-
2023-03-21   2023-03-22 war.html                                        I Dont Regret Supporting the Iraq War By Bret Stephens                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/opinion Everything Everywhere Will Change All at
2023-03-21   2023-03-22 /artificial-intelligence-chatgpt.html           Once                                  By Thomas L Friedman            TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/21/opinion
2023-03-21   2023-03-22 /mike-pence-donald-trump-indictment.html Republican Sycophancy Is Back in Style     By Jamelle Bouie                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/opinion When Oligarchs Dodge Sanctions Target
2023-03-21   2023-03-22 /russian-oligarchs-wealth-managers.html    Their Money Managers                     By Brooke Harrington              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/science Wuhan Market Report Found Genetic Traces
2023-03-21   2023-03-22 /covid-raccoon-dogs-wuhan-market.html      of Virus and Animals                     By Benjamin Mueller               TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/21/sports/b Yes They Are Tall No They Do Not Play
2023-03-21   2023-03-22 asketball/tall-basketball-march-madness.html Basketball                                 By Scott Cacciola             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/sports/b Willis Reed Who Used Guts to Lead the
2023-03-21   2023-03-22 asketball/willis-reed-dead.html              Knicks To Glory Is Dead at 80              By Harvey Araton              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/sports/h Fanatics Adds NHL Player Jerseys To Its
2023-03-21   2023-03-22 ockey/nhl-jerseys-fanatics-adidas.html       Growing Roster of Pro Sports               By Ken Belson                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/sports/n
                        caabasketball/march-madness-uconn-
2023-03-21   2023-03-22 clingan.html                                 A UConn Sub Changes the Game Every Time By Adam Zagoria                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/technol
2023-03-21   2023-03-22 ogy/google-bard-chatbot.html                 With Bard Google Pulls AI Trigger          By Nico Grant and Cade Metz   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/technol
2023-03-21   2023-03-22 ogy/google-bard-guide-test.html              What Bard Can Do And What It Cant          By Cade Metz                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/theater/
2023-03-21   2023-03-22 devito-rebeck-roundabout-broadway.html       Danny and Lucy DeVito Head to Broadway By Michael Paulson                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/theater/
2023-03-21   2023-03-22 hang-time-review-zora-howard.html            Conversations in the Dark                  By Maya Phillips              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/theater/
2023-03-21   2023-03-22 life-of-pi-tiger-puppet.html                 Puppetry So Lifelike Even Death Looks Real By Laura CollinsHughes        TX 9-286-255   2023-05-02



                                                                               Page 5000 of 5793
                        https://www.nytimes.com/2023/03/21/us/calif Swamped by Heavy Rains Buried Under
2023-03-21   2023-03-22 ornia-atmospheric-river-photos.html         Snow                                       By Eliza Fawcett               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/us/irvo- Video Shows Man Pinned to Floor Until He By Campbell Robertson and
2023-03-21   2023-03-22 otieno-virginia-police-video.html           Died                                       Christine Hauser               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/us/laus Los Angeles Schools Shut As Workers Go on By Corina Knoll Kurtis Lee and
2023-03-21   2023-03-22 d-strike-los-angeles-schools.html           Strike Parents Are Scrambling              Ana FacioKrajcer               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/us/polit Pulling Plug on TikTok Is a Complicated    By David E Sanger David McCabe
2023-03-21   2023-03-22 ics/biden-tiktok-challenges.html            Task But Fear of Risks Grows               and Sapna Maheshwari           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/us/polit
                        ics/biden-white-house-medals-arts-          Biden Hosts Parade of Stars Singers and a
2023-03-21   2023-03-22 humanities.html                             Veep Dignitary                             By Peter Baker                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/us/polit DeSantis Doubling Down Raises Questions
2023-03-21   2023-03-22 ics/desantis-trump-piers-morgan.html        About Trumps Character                     By Maggie Haberman             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/us/polit John Jenrette Jr 86 Congressman Toppled In
2023-03-21   2023-03-22 ics/john-jenrette-jr-dead.html              Abscam Sting Dies                          By Richard Sandomir            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/us/polit
                        ics/republican-retreat-trump-mccarthy-      At Policy Event House GOP Cant Help
2023-03-21   2023-03-22 florida.html                                Changing Subject to Trump                  By Annie Karni                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/us/polit Circus Continues For Trump Legal Woes
2023-03-21   2023-03-22 ics/trump-2024-campaign-indictment.html     Resurrect Old Habits                       By Michael C Bender            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/us/polit Magical Thinking and PerpWalk Fixation as By Michael C Bender and Maggie
2023-03-21   2023-03-22 ics/trump-pending-indictment.html           Trump Awaits Indictment                    Haberman                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/us/polit Possible Charges Against Former President
2023-03-21   2023-03-22 ics/trump-prosecutorial-discretion.html     Put Focus on Prosecutorial Discretion      By Charlie Savage              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/us/polit
                        ics/ukraine-russia-war-crimes-justice-      US Justice Dept Is Helping Kyiv Pursue War
2023-03-21   2023-03-22 dept.html                                   Crimes by Russians                         By Glenn Thrush                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/us/polit In Wisconsin Court Race A Hostile Cultural
2023-03-21   2023-03-22 ics/wisconsin-supreme-court-debate.html     Clash                                      By Reid J Epstein              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/world/a 8FootTall Mystery Trump Portrait Goes
2023-03-21   2023-03-22 mericas/trump-painting-missing.html         Missing                                    By Maria AbiHabib              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/21/world/a                                         By Isayen Herrera Frances Robles
2023-03-21   2023-03-22 mericas/venezuela-economy-wealth-gap.html In Venezuela Economys Up But Not for All and Adriana Loureiro Fernandez     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/world/e
                        urope/boris-johnson-parliament-lockdown-   UK ExPrime Minister Says He Misled
2023-03-21   2023-03-22 parties-uk.html                            Parliament Over Lockdown Parties        By Mark Landler                    TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/21/world/e Offering No Apologies Macron Weathers
2023-03-21   2023-03-22 urope/france-macron-protests-retirement.html Pension Crisis                           By Roger Cohen                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/world/e Damning Report Finds London Police Force
2023-03-21   2023-03-22 urope/london-met-police-report.html          Is Sexist Racist and Homophobic          By Megan Specia                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/world/e Its Forces Under Siege Ukraine Hits
2023-03-21   2023-03-22 urope/ukraine-russia-crimea.html             RussianHeld Crimea                       By Marc Santora                 TX 9-286-255   2023-05-02




                                                                              Page 5001 of 5793
                        https://www.nytimes.com/2023/03/21/world/e
                        urope/ukrainian-soldiers-us-patriot-         Ukrainians Prove Quick Study in Patriot
2023-03-21   2023-03-22 missiles.html                                Missile Training                                By Eric Schmitt                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/world/e                                                   By Valerie Hopkins and Chris
2023-03-21   2023-03-22 urope/xi-putin-russia-china-ukraine.html     Xi and Putin Tighten Bond Against West          Buckley                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/world/
                        middleeast/israel-west-bank-settlements-     Israel Votes to Scrap Law Barring Settlers at
2023-03-21   2023-03-22 settlers.html                                Four West Bank Sites                            By Isabel Kershner               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/world/
                        middleeast/saudi-arabia-us-frees-saad-       US Dual Citizen Freed From Saudi Arabian
2023-03-21   2023-03-22 almadi.html                                  Jail                                            By Vivian Nereim                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/article/donald-      What Could Come Next After Grand Jury           By William K Rashbaum and Jonah
2023-03-21   2023-03-22 trump-indictment-arrest.html                 Votes                                           E Bromwich                      TX 9-286-255    2023-05-02
                        https://www.nytimes.com/live/2023/03/21/wo
                        rld/russia-ukraine-news/despite-the-war-in-
                        ukraine-nato-members-are-not-meeting-their-
2023-03-21   2023-03-22 military-spending-targets                    Few in NATO Designate 2 For Military            By Steven Erlanger               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/reader-
                        center/in-duluth-real-estate-collides-with-
2023-03-22   2023-03-22 climate.html                                 A Reporter Follows the Climate to Duluth        By Debra Kamin                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/03/arts/tele
2023-03-03   2023-03-23 vision/a-spy-among-friends.html              A Betrayal Both Personal and International      By Roslyn Sulcas                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/well/mi
2023-03-10   2023-03-23 nd/health-podcasts.html                      Here to Help Health Podcasts Worth a Listen     By Jancee Dunn                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/t-        On Broadway A Singer Burrows Into Her
2023-03-15   2023-03-23 magazine/micaela-diamond-parade.html         Jewish Identity                                 By Nancy Coleman                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/t-        Artists Questionnaire I Dont Know What Is
2023-03-16   2023-03-23 magazine/tauba-auerbach-art.html             Being Creative and Whats Not                    By Julia Felsenthal              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/us/gaur
2023-03-16   2023-03-23 av-gupta-fashion-designer.html               From Zero to Infinity on Many Red Carpets       By Sandra E Garcia               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/us/oreg In Oregon a RuralUrban Divide Brings Talk
2023-03-18   2023-03-23 on-secession-greater-idaho.html              of Secession                                    By Mike Baker and Hilary Swift   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/style/jer In Designers Farewell Moschino Loses
2023-03-20   2023-03-23 emy-scott-leaves-moschino.html               Laughs                                          By Vanessa Friedman              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/style/m Your Romantic Red Flags Raised for All to
2023-03-20   2023-03-23 arie-faustin-why-are-you-single.html         See                                             By Gina Cherelus                 TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/21/arts/des Judge Dismisses Suit Over Ownership of 147
2023-03-21   2023-03-23 ign-nft-quantum-lawsuit-dismiss-mccoy.html Million NFT                                 By Zachary Small                       TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/21/busines With Interest Rates on Rise Swedens Home
2023-03-21   2023-03-23 s/sweden-housing-prices-interest-rates.html Prices Dive                                      By Eshe Nelson                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/style/ru
                        pert-murdoch-engagement-succession-         At Succession Party Talk of Murdoch
2023-03-21   2023-03-23 party.html                                  Betrothed at 92                                  By Callie Holtermann             TX 9-286-255   2023-05-02



                                                                                  Page 5002 of 5793
                        https://www.nytimes.com/2023/03/21/us/elect Warren Boroson 88 Who Polled Psychiatrists
2023-03-21   2023-03-23 ions/warren-boroson-dead.html               on Goldwaters Mental Health                By Sam Roberts                     TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/21/sports/b The Perfect Ending for Japans Perfect
2023-03-22   2023-03-23 aseball/japan-usa-world-baseball-classic.html Performance                               By James Wagner                   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/22/arts/des
2023-03-22   2023-03-23 ign/amir-fallah-iran-art-basel-hong-kong.html An artist feels the pull of his origins   By Farah Nayeri                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/arts/des
2023-03-22   2023-03-23 ign/art-basel-hong-kong-2023.html             A grand reopening in person               By Ted Loos                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/arts/des
                        ign/artists-stanislava-pinchuk-jakkai-
2023-03-22   2023-03-23 siributr.html                                 Exploring the quest for a safer life      By Keridwen Cornelius             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/arts/des
2023-03-22   2023-03-23 ign/hong-kong-galleries-new.html              New galleries shake up old ways           By Christy Choi                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/arts/des
2023-03-22   2023-03-23 ign/hong-kong-museum-m-plus.html              A different kind of museum                By Ted Loos                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/arts/des
                        ign/komal-shah-women-artists-art-basel-hong-
2023-03-22   2023-03-23 kong.html                                     Raising the profiles of female artists    By Hilarie M Sheets               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/arts/des A new exhibit creates a space for people to
2023-03-22   2023-03-23 ign/michele-chu-hong-kong.html                feel                                      By Tiffany May                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/arts/des
                        ign/proyectos-monclova-art-basel-hong-
2023-03-22   2023-03-23 kong.html                                     A century of Mexican creativity           By Ray Mark Rinaldi               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/arts/des
                        ign/victor-ehikhamenor-art-basel-hong-
2023-03-22   2023-03-23 kong.html                                     Inspired by history and humor             By Ginanne Brownell               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/arts/mu
                        sic/borealis-experimental-music-festival-                                               By Jennifer Gersten and David B
2023-03-22   2023-03-23 norway.html                                   Immersed in the Experimental              Torch                             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/arts/tele
2023-03-22   2023-03-23 vision/daily-show-guest-host.html             That Rotation Keep It Rotating            By Jason Zinoman                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/books/q Questlove Now Has A Publishing Imprint To
2023-03-22   2023-03-23 uestlove-books-publishing-imprint.html        Call His Very Own                         By Alexandra Alter                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/books/r
                        eview/bottoms-up-and-the-devil-laughs-kerry-
2023-03-22   2023-03-23 howley.html                                   Seeking Who We Are                        By Jennifer Szalai                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/busines With Latest Wave of Virus Ebbed China        By Nicole Hong and Alexandra
2023-03-22   2023-03-23 s/china-mrna-covid-vaccine.html               Approves Its First mRNA Covid Shots       Stevenson                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/busines
2023-03-22   2023-03-23 s/faa-airlines-near-misses.html               FAA Addresses Near Misses on Runways      By Amanda Holpuch                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/busines Fed Raises Rates And Keeps an Eye On
2023-03-22   2023-03-23 s/federal-reserve-interest-rates-banks.html   Bank Turmoil                              By Jeanna Smialek                 TX 9-286-255   2023-05-02




                                                                                 Page 5003 of 5793
                        https://www.nytimes.com/2023/03/22/busines
                        s/germany-eu-climate-combustion-           Germany Pushing EU For Exemption to Build By Melissa Eddy and Erika
2023-03-22   2023-03-23 engines.html                               SyntheticFuel Vehicles                      Solomon                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/busines Fox Argues Top Executives Werent Involved
2023-03-22   2023-03-23 s/media/fox-executives-dominion.html       in Voter Fraud Reports                      By Katie Robertson               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/busines PacWest Bank Taps Credit Lines to Offset 20
2023-03-22   2023-03-23 s/pacwest-bank-credit.html                 Drop in Deposits                            By Lauren Hirsch                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/busines
2023-03-22   2023-03-23 s/stock-markets-rates-fed-decision.html    Markets Skid After Fed Raises Rates Again By Joe Rennison                    TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/22/busines Bank Crisis Could Cast Pall Over
2023-03-22   2023-03-23 s/svb-signature-commercial-real-estate.html Commercial Real Estate Market                By Matthew Goldstein           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/busines After 3Month Slide Inflation Rate in the UK
2023-03-22   2023-03-23 s/uk-inflation-february.html                Rises Again to 104                           By Eshe Nelson                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/climate Japans Spa Culture Is Clinging To a Powerful By Hiroko Tabuchi and Chang W
2023-03-22   2023-03-23 /japan-hot-springs-geothermal-energy.html   Source of Energy                             Lee                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/health/ Baring Beethovens Secrets With Snips of
2023-03-22   2023-03-23 beethoven-death-dna-hair.html               DNA                                          By Gina Kolata                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/health/
2023-03-22   2023-03-23 drug-shortages.html                         Surgeon Calls Drug Shortages a Tragedy       By Christina Jewett            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/health/ Bidens Plan to Cut Billions in Medicare Fraud By Reed Abelson and Margot
2023-03-22   2023-03-23 medicare-insurance-fraud.html               Ignites a Lobbying Frenzy                    SangerKatz                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/movies/
2023-03-22   2023-03-23 inside-movie-feature-one-set.html           Alone Onscreen Start to Finish               By Carlos Aguilar              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/22/nyregio Brooklyn Students Connect With Course
2023-03-22   2023-03-23 n/ap-african-american-studies-brooklyn.html Banned in Florida                          By Troy Closson                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/nyregio New York Audubon Chapter Rejects Name
2023-03-22   2023-03-23 n/audubon-name-change-nyc.html              Over Racism                                By Winnie Hu                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/nyregio                                             By Nicholas Fandos and David
2023-03-22   2023-03-23 n/jamaal-bowman-tiktok.html                 A Lonely Progressive Voice Defends TikTok McCabe                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/nyregio
                        n/michael-cohen-donald-trump-               From Cleaning Trumps Messes To Defying By Maggie Haberman Ben Protess
2023-03-22   2023-03-23 indictment.html                             Him                                        and Jonah E Bromwich             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/nyregio
                        n/scorpion-girl-christine-buloski-staten-   Staten Islands Scorpion Girl Is Identified
2023-03-22   2023-03-23 island.html                                 Prompting Search for Daughter              By Maria Cramer                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/opinion
2023-03-22   2023-03-23 /india-barefoot-college.html                Cant Read Heres a Barefoot College for You By Nicholas Kristof              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/22/opinion NIMBYs Threaten a Plan to Build More
2023-03-22   2023-03-23 /new-york-housing-crisis-kathy-hochul.html Suburban Housing                           By Mara Gay                       TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/22/opinion Sex Lies and Trump Things Are Getting
2023-03-22   2023-03-23 /trump-indictment-sex-stormy-daniels.html  Stormy                                     By Gail Collins                   TX 9-286-255   2023-05-02



                                                                               Page 5004 of 5793
                        https://www.nytimes.com/2023/03/22/opinion An ExPresident May Be Prosecuted and
2023-03-22   2023-03-23 /trump-indictment.html                      America Faces a Test                       By Charles M Blow               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/22/science Math Whiz Awarded Abel Prize for Applying
2023-03-22   2023-03-23 /abel-prize-math-luis-caffarelli.html       Equations to RealLife Problems             By Kenneth Chang                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/22/science Raphael Mechoulam the Father of Cannabis
2023-03-22   2023-03-23 /raphael-mechoulam-dead.html                Research Dies at 92                        By Alex Williams                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/22/sports/b
                        aseball/shohei-ohtani-world-baseball-
2023-03-22   2023-03-23 classic.html                                Transcendent Athlete Transforms an Event   By Tyler Kepner                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/22/sports/g World Golf Championships Are Fading as
2023-03-22   2023-03-23 olf/world-championships-match-play.html     New Circuit Is Rising                      By Alan Blinder                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/22/style/ba
2023-03-22   2023-03-23 llet-flats.html                             Trend Pirouette The Return of Ballet Flats By Marisa Meltzer               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/22/technol Crypto Entrepreneur and Celebrity Promoters
2023-03-22   2023-03-23 ogy/justin-sun-sec-crypto.html              He Recruited Face SEC Charges              By David YaffeBellany           TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/22/technol Turing Award to CoInventor Of Ethernet Still
2023-03-22   2023-03-23 ogy/turing-award-bob-metcalfe-ethernet.html Standard For Connecting Computers           By Cade Metz                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/theater/ Stage Adaptation of the TV Series Smash
2023-03-22   2023-03-23 smash-broadway.html                         Prepares for Broadway                       By Michael Paulson              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/travel/h
2023-03-22   2023-03-23 ong-kong-art-basel-guide.html               An inside view on living like a local       By Christy Choi                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/us/bran
                        don-johnson-chicago-mayor-runoff-           Union Support Helps ExTeacher Rise in
2023-03-22   2023-03-23 teachers.html                               Chicago Mayoral Race                        By Mitch Smith                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/us/covi Why The Times Is Turning to CDC Covid        By Wilson Andrews and Lisa
2023-03-22   2023-03-23 d-data-cdc.html                             Data                                        Waananen Jones                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/us/la- LA Schools Strike and Parents Say They Get
2023-03-22   2023-03-23 schools-strike.html                         It                                          By Kurtis Lee and Jill Cowan    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/us/polit High Stakes for Biden as the Fed Tries to
2023-03-22   2023-03-23 ics/biden-federal-reserve.html              Walk a Tightrope                            By Jim Tankersley               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/us/polit                                             By Maggie Haberman and Jonathan
2023-03-22   2023-03-23 ics/desantis-putin-ukraine-russia.html      DeSantis Calls Putin Criminal Over War      Swan                            TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/22/us/polit Chew Toy for Dogs Provokes a Spirited
2023-03-22   2023-03-23 ics/jack-daniels-dog-toy-supreme-court.html Argument at the US Supreme Court           By Adam Liptak                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/22/us/polit
                        ics/jerome-powell-janet-yellen-bank-                                                   By Alan Rappeport Jim Tankersley
2023-03-22   2023-03-23 regulations.html                            Policymakers To Consider Tighter Rules     and Lauren Hirsch                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/22/us/polit Former Iran Hostages Divided on Carter
2023-03-22   2023-03-23 ics/jimmy-carter-american-hostages-iran.html Legacy and a Sabotage Claim                 By Michael Levenson           TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/22/us/polit Michigan to Be First State in Decades to End
2023-03-22   2023-03-23 ics/michigan-union-repeal.html               Measure That Hurt Unions                    By Jonathan Weisman           TX 9-286-255    2023-05-02




                                                                                Page 5005 of 5793
                        https://www.nytimes.com/2023/03/22/us/polit Norfolk Southern CEO Pledges Financial
2023-03-22   2023-03-23 ics/norfolk-southern-ceo-congress.html      Support                                    By Stephanie Lai and Mark Walker TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/us/polit
2023-03-22   2023-03-23 ics/organ-transplants-biden.html            Organ Transplant System Is Facing Reform By Sheryl Gay Stolberg             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/us/polit
                        ics/trump-lawyer-classified-documents-      Court Orders a Trump Lawyer to Hand Over By Alan Feuer Ben Protess and
2023-03-22   2023-03-23 investigation.html                          Records to Prosecutors                     Maggie Haberman                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/world/a Uganda Passes AntiGay Bill With Penalties
2023-03-22   2023-03-23 frica/uganda-lgtbq-anti-gay-law.html        Up to Death                                By Abdi Latif Dahir              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/world/a Besieged Police Cede Most of Haitis Capital By Andre Paultre and Chris
2023-03-22   2023-03-23 mericas/haiti-police-gang-violence.html     to Gangs                                   Cameron                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/world/a Xis Brotherly Hug With Putin Its Us Against
2023-03-22   2023-03-23 sia/china-xi-putin-ukraine.html             the Americans                              By Chris Buckley                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/world/e
                        urope/boris-johnson-inquiry-uk-
2023-03-22   2023-03-23 parliament.html                             Johnson Under Oath Swears I Did Not Lie    By Stephen Castle                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/world/e Citing Jan 6 Riot Macron Says He Wont       By Roger Cohen and Aurelien
2023-03-22   2023-03-23 urope/macron-pension-law-protests.html      Tolerate Violent Excesses                  Breeden                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/world/e Prince William Visits Poland To Extol
2023-03-22   2023-03-23 urope/prince-william-poland-ukraine.html    Troops Aiding Ukraine                      By Anushka Patil                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/world/e Paris Protests On Pensions Take On Hint Of
2023-03-22   2023-03-23 urope/protesters-france-paris-macron.html   Menace                                     By Catherine Porter              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/world/e
                        urope/russia-ukraine-social-media-          She Posted Online of War in Ukraine Then
2023-03-22   2023-03-23 crackdown.html                              She Faced Prison                           By Valerie Hopkins               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/world/e UK Lawmakers Approve Key Element of
2023-03-22   2023-03-23 urope/uk-brexit-stormont-brake.html         Northern Ireland Trade Deal                By Megan Specia                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/world/e
                        urope/uk-depleted-uranium-putin-            Britain Defends Move to Supply Shells With
2023-03-22   2023-03-23 ukraine.html                                Depleted Uranium                           By Daniel Victor and John Ismay TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/22/world/e Zelensky Visits Soldiers Near Front at      By Marc Santora Valerie Hopkins
2023-03-22   2023-03-23 urope/zelensky-bakhmut-ukraine.html         Bakhmut                                    Enjoli Liston and Victoria Kim   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/23/sports/n Sin City Spring Break Once Unimaginable
2023-03-23   2023-03-23 caabasketball/ncaa-tournament-las-vegas.html Now NCAA Reality                          By Billy Witz                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/23/sports/s For Qatars Champs Back to Work Means
2023-03-23   2023-03-23 occer/argentina-world-cup.html               Back to Earth                             By Rory Smith                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/23/style/lu The Mens Luxury Market Isnt What You
2023-03-23   2023-03-23 xury-mens-clothing-resale.html               Think                                     By Jon Caramanica              TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/10/books/n
2023-03-10   2023-03-24 ew-fiction-books-spring-2023.html            22 Works of Fiction to Read This Spring   By Kate Dwyer                  TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/10/books/n
2023-03-10   2023-03-24 ew-nonfiction-books-spring-2023.html         Ah the Tomes Are in Bloom                 By J Howard Rosier             TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/16/world/a                                             By Brent McDonald Ainara
2023-03-16   2023-03-24 mericas/peru-protests-police.html            Lethal Force In Peru Protests             Tiefenthler and James Surdam   TX 9-286-255     2023-05-02



                                                                                Page 5006 of 5793
                        https://www.nytimes.com/2023/03/17/world/e As Dreams of Peace Wither Nightmares
2023-03-17   2023-03-24 urope/ukraine-war-dream-survey.html        Flourish in Ukraines Sleep                   By Maria Varenikova           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/busines
                        s/harmon-bed-bath-and-beyond-              Chaos and Despair for Harmon Workers
2023-03-20   2023-03-24 liquidation.html                           Liquidating Their Stores                     By Jordyn Holman              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/movies/
2023-03-21   2023-03-24 kubrick-by-kubrick-review.html             A Master Director in Front of the Camera     By Ben Kenigsberg             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/opinion
                        /ncaa-march-madness-college-athlete-       The NCAA Ensures the Biggest Losers Are
2023-03-21   2023-03-24 compensation.html                          the Players                                  By Bomani Jones               TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/22/arts/des
2023-03-22   2023-03-24 ign/rare-coin-returned-greece-eid-mar.html   Rare Coin Is Returned to Greece             By Tom Mashberg              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/nyregio Cause of Death Is Still Being Sought as 8
2023-03-22   2023-03-24 n/dolphins-dead-new-jersey-shore.html        More Dolphins Wash Up in New Jersey         By Eduardo Medina            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/opinion
                        /international-world/us-china-russia-        The US Is No Longer an Indispensable
2023-03-22   2023-03-24 ukraine.html                                 Mediator                                    By Trita Parsi               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/theater/ With Each Letter Lies and Secrets Are Peeled
2023-03-22   2023-03-24 the-hunting-gun-review.html                  Away                                        By Laura CollinsHughes       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/us/polit The DeSantis Foreign Policy Hard Power but By Jonathan Swan Maggie
2023-03-22   2023-03-24 ics/ron-desantis-foreign-policy.html         With a High Bar                             Haberman and Kitty Bennett   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/world/e Centuries of Jesuit Work Shine Through
2023-03-22   2023-03-24 urope/asteroid-names-jesuits.html            Names Written in Stars                      By Elisabetta Povoledo       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/world/
2023-03-22   2023-03-24 middleeast/aqsa-mosque-jerusalem.html        Sacred Work Earthly Frustrations            By Raja Abdulrahim           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/us/jack Where Water Is Leaking By the Millions of
2023-03-23   2023-03-24 son-mississippi-water-crisis.html            Gallons A Day With Little Action            By Sarah Fowler              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/arts/des
2023-03-23   2023-03-24 ign/denmark-artists-met.html                 Blending the Real and the Ideal             By Holland Cotter            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/arts/des
2023-03-23   2023-03-24 ign/patrisse-cullors-noe-olivas-artists.html When the Spiritual Is Also Political        By Jonathan Griffin          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/arts/ho
2023-03-23   2023-03-24 over-beverly-gage-book-prize.html            Hoover Biography Wins History Book Prize By Jennifer Schuessler          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/arts/mu Fuzzy Haskins 81 Who Helped Create PFunk
2023-03-23   2023-03-24 sic/fuzzy-haskins-dead.html                  Music Dies                                  By Neil Genzlinger           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/arts/mu
2023-03-23   2023-03-24 sic/pierre-boulez-derive-2.html              The Human Side Of a Masters Music           By David Allen               TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/23/arts/tele
2023-03-23   2023-03-24 vision/succession-yellowjackets-up-here.html This Weekend I Have                        By Alexis Soloski             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/arts/tele
2023-03-23   2023-03-24 vision/toheeb-jimoh-ted-lasso.html           His Character Keeps Growing He Does Too    By Precious Adesina           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/busines Bank of England Raises Rates Again As
2023-03-23   2023-03-24 s/bank-of-england-rates-inflation.html       Inflation Persists                         By Eshe Nelson                TX 9-286-255   2023-05-02



                                                                                Page 5007 of 5793
                        https://www.nytimes.com/2023/03/23/busines US Charges Crypto Fugitive Held Abroad
2023-03-23   2023-03-24 s/do-kwon-arrested-crypto.html               With Fraud                                   By David YaffeBellany        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/busines US Rules Against Amazon For Restricting
2023-03-23   2023-03-24 s/economy/amazon-labor-union-nlrb.html       Employees From Access to Warehouses          By Noam Scheiber             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/busines Amid Financial Turmoil Banks Are
                        s/economy/federal-reserve-discount-          Borrowing More From the Fed Heres What to By Jeanna Smialek and Joe
2023-03-23   2023-03-24 window.html                                  Know                                         Rennison                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/busines TikTok Sets Time Limits Teens Blow Past
2023-03-23   2023-03-24 s/tiktok-screen-time.html                    Them                                         By Sapna Maheshwari          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/health/a Autism Rate In Children Rises Again To
2023-03-23   2023-03-24 utism-children-diagnosis.html                One in 36                                    By Emily Anthes              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/health/l Analysis Reveals the Biggest Risk Factors for
2023-03-23   2023-03-24 ong-covid-risk-factors.html                  Long Covid                                   By Pam Belluck               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/movies/
2023-03-23   2023-03-24 a-good-person-review-zach-braff.html         Trying to Look Up After Hitting Rock Bottom By Brandon Yu                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/movies/
2023-03-23   2023-03-24 ithaka-review.html                           Ithaka                                       By Amy Nicholson             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/movies/ Are You His Enemy Its Been Nice Knowing
2023-03-23   2023-03-24 john-wick-chapter-4-keanu-reeves.html        You                                          By Manohla Dargis            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/movies/
                        nam-june-paik-moon-is-the-oldest-tv-
2023-03-23   2023-03-24 review.html                                  Nam June Paik Moon Is the Oldest TV          By Nicolas Rapold            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/movies/
2023-03-23   2023-03-24 petite-solange-review.html                   Petite Solange                               By Natalia Winkelman         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/movies/
2023-03-23   2023-03-24 reggie-review.html                           Taking a Look Back At Baseball and More      By Glenn Kenny               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/movies/
2023-03-23   2023-03-24 the-five-devils-review.html                  The Five Devils                              By Beatrice Loayza           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/movies/ A Search for the Lovely Bones of an Unloved
2023-03-23   2023-03-24 the-lost-king-review.html                    King                                         By Jeannette Catsoulis       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/movies/
2023-03-23   2023-03-24 the-worst-ones-review.html                   The Worst Ones                               By Lisa Kennedy              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/movies/
2023-03-23   2023-03-24 tori-and-lokita-review-dardenne.html         Precarious Lives in Exile in an Unkind World By Manohla Dargis            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/movies/
2023-03-23   2023-03-24 walk-up-review.html                          Walk Up                                      By Austin Considine          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/movies/
                        what-the-hell-happened-to-blood-sweat-tears- What the Hell Happened to Blood Sweat
2023-03-23   2023-03-24 review.html                                  amp Tears                                    By Calum Marsh               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/nyregio
2023-03-23   2023-03-24 n/abdullah-el-faisal-sentenced.html          New York Judge Gives ISIS Backer 18 Years By Colin Moynihan               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/nyregio Prosecutor in Trump Payoff Case Rebuffs        By Luke Broadwater Jonah E
2023-03-23   2023-03-24 n/bragg-trump-jordan-congress.html           GOP Demand for Files                         Bromwich and Ben Protess     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/nyregio
2023-03-23   2023-03-24 n/nyc-hotels-homeless-shelters.html          Hotels Absorb Migrant Influx And Bill City By Karen Zraick                TX 9-286-255   2023-05-02



                                                                                Page 5008 of 5793
                        https://www.nytimes.com/2023/03/23/opinion Liberal Professors Can Help Rescue the
2023-03-23   2023-03-24 /conservative-college-students.html        Republican Party                             By Jon A Shields                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/opinion
2023-03-23   2023-03-24 /dolls-house-ibsen-feminism.html           Women Are Still Stuck in A Dolls House       By Pamela Paul                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/science The First 3D Printed Rocket Fails Shortly
2023-03-23   2023-03-24 /relativity-space-launch-terran.html       After Its Launch                             By Oliver Whang                     TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/23/sports/b Keep Your Eye on Two Young Pitchers in the
2023-03-23   2023-03-24 aseball/triston-mckenzie-logan-gilbert.html American League                            By Tyler Kepner                      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/23/sports/b Seeking Redemption Morant Makes Return
2023-03-23   2023-03-24 asketball/ja-morant-memphis-grizzlies.html With Hint of Defiance                        By Tania Ganguli                    TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/23/sports/n At the Garden New York Players Lead
2023-03-23   2023-03-24 caabasketball/march-madness-thursday.html Kansas State UConn Advances                 By Adam Zagoria and Scott Miller TX 9-286-255        2023-05-02
                        https://www.nytimes.com/2023/03/23/sports/s A Champion Says Its Her Last Year And She
2023-03-23   2023-03-24 occer/ali-krieger-nwsl.html                 Wants to Go Out a Winner                  By Victor Mather                 TX 9-286-255        2023-05-02

                        https://www.nytimes.com/2023/03/23/technol Beijing Pushes Back on TikTok Sale
2023-03-23   2023-03-24 ogy/biden-tiktok-options.html              Narrowing Options for Biden Administration By David McCabe and Chang Che TX 9-286-255           2023-05-02
                        https://www.nytimes.com/2023/03/23/technol Swiping at China Lawmakers Grill Leader of By Cecilia Kang David McCabe
2023-03-23   2023-03-24 ogy/tiktok-hearing-congress-china.html     TikTok                                     and Sapna Maheshwari          TX 9-286-255           2023-05-02
                        https://www.nytimes.com/2023/03/23/technol
                        ogy/utah-social-media-law-tiktok-
2023-03-23   2023-03-24 instagram.html                             Utah Limits Social Media For Youths        By Natasha Singer             TX 9-286-255           2023-05-02

                        https://www.nytimes.com/2023/03/23/us/antis Hate Crimes Against Jews Hit a High Last
2023-03-23   2023-03-24 emitism-anti-defamation-league-report.html Year                                         By Ruth Graham                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/us/irvo- Despite Tragedies Virginias Handling Of     By Campbell Robertson and
2023-03-23   2023-03-24 otieno-virginia-mental-health.html          Mental Health Crises Found Lacking          Neelam Bohra                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/us/mari Marisol Malaret 73 Television Host And
2023-03-23   2023-03-24 sol-malaret-dead.html                       Puerto Ricos First Miss Universe            By Alex Williams                    TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/23/us/mem In Memphis Car Seizures Are a Lucrative and
2023-03-23   2023-03-24 phis-police-vehicle-seizures-forfeiture.html Punishing Police Tactic                    By Jessica Jaglois and Mike Baker   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/us/polit
2023-03-23   2023-03-24 ics/alvin-bragg-george-soros-trump.html      How Bragg And Soros Are Linked             By Linda Qiu                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/us/polit
                        ics/congress-republicans-banks-debt-         Parties Are on a Collision Course Over a
2023-03-23   2023-03-24 limit.html                                   Twofold Economic Threat                    By Carl Hulse                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/us/polit
2023-03-23   2023-03-24 ics/jan-6-nancy-pelosi-riley-williams.html   ThreeYear Term for Storming Pelosis Office By Zach Montague                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/us/polit Lake Loses Again as Arizona Court Turns
2023-03-23   2023-03-24 ics/kari-lake-arizona-supreme-court.html     Down Appeal                                By Neil Vigdor                      TX 9-286-255   2023-05-02




                                                                                 Page 5009 of 5793
                        https://www.nytimes.com/2023/03/23/us/polit Man at Core of Jan 6 Conspiracy Theory
2023-03-23   2023-03-24 ics/ray-epps-jan-6-fox-tucker-carlson.html   Demands Retraction From Foxs Carlson         By Alan Feuer                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/us/polit
                        ics/republicans-inflation-federal-reserve-   Fed Chair Undercuts Republicans On
2023-03-23   2023-03-24 powell.html                                  Inflation                                    By Jim Tankersley                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/us/polit                                               By Maggie Haberman Alan Feuer
                        ics/trump-documents-special-counsel-grand- Court Action Underscores Peril for Trump in Ben Protess and William K
2023-03-23   2023-03-24 jury.html                                    Documents Investigation                      Rashbaum                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/us/polit
                        ics/trump-investigations-justice-department- Trump Inquiries Pose Stress Test For Justice By Glenn Thrush and Adam
2023-03-23   2023-03-24 garland-bragg.html                           System                                       Goldman                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/us/polit
                        ics/tyre-nichols-police-officers-            Tennessee Moves to Banish Officers From      By Emily Cochrane and Jessica
2023-03-23   2023-03-24 decertified.html                             Law Enforcement After Deadly Beating         Jaglois                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/us/polit Deal Allows US and Canada to Divert
2023-03-23   2023-03-24 ics/us-canada-asylum-seekers.html            Asylum Seekers                               By Michael D Shear and Ian Austen TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/us/terro Training West Africa to Fight Terrorists by
2023-03-23   2023-03-24 rism-africa-commandos-flintlock.html         Land and Sea                                 By John Ismay and Kenny Holston TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/23/world/a Trudeau Reluctant to Send His Military to
2023-03-23   2023-03-24 mericas/haiti-canada-us.html                 Calm the Chaos in Haiti                      By Ian Austen                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/world/a Leader of Indian Party Opposing Modi Gets 2
2023-03-23   2023-03-24 sia/india-gandhi-modi-defamation.html        Years in Prison in Defamation Case           By Karan Deep Singh               TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/23/world/c Immigration Adds 1 Million To Population Of
2023-03-23   2023-03-24 anada/canada-record-population-growth.html Canada                                      By Vjosa Isai                       TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/23/world/e
                        urope/france-pension-strikes-retirement-                                               By Catherine Porter and Aurelien
2023-03-23   2023-03-24 age.html                                   Clashes in France as Pension Anger Persists Breeden                             TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/23/world/e UKs Season of Strikes May Be Nearing Its
2023-03-23   2023-03-24 urope/uk-strike-labor.html                 End                                         By Megan Specia                     TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/23/world/e
                        urope/ukraine-kherson-world-bank-          Zelensky Visits Kherson as Report Puts      By Enjoli Liston Victoria Kim and
2023-03-23   2023-03-24 rebuild.html                               Rebuild Cost at 411 Billion                 Monika Pronczuk                     TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/23/world/e Tank Crews Impatient For New Gear From      By Carlotta Gall and Daniel
2023-03-23   2023-03-24 urope/ukraine-tanks-abrams-russia.html     West                                        Berehulak                           TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/23/world/                                              By Patrick Kingsley and Isabel
2023-03-23   2023-03-24 middleeast/israel-netanyahu-protests.html  Israeli Leader Wont Give Up On Court Plan Kershner                              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/busines                                             By Matthew Goldstein David
2023-03-24   2023-03-24 s/ftx-gabe-bankman-fried.html              Fraternal Turn to FTX Inquiry               YaffeBellany and Lora Kelley        TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/climate
2023-03-24   2023-03-24 /montana-youth-climate-lawsuit.html        In Climate Suit Its Young People vs Montana By David Gelles                     TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/24/health/c Experts Seek More Data As They Weigh the
2023-03-24   2023-03-24 ovid-booster-older-immunocompromised.html Need For Another Virus Booster             By Apoorva Mandavilli                 TX 9-286-255    2023-05-02




                                                                                Page 5010 of 5793
                        https://www.nytimes.com/2023/03/24/sports/n
                        caa-basketball-tournament-new-jersey-       Hoops Hotbed With Attitude From Trenton
2023-03-24   2023-03-24 princeton.html                              To Hackensack                             By David Waldstein               TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/24/sports/n
                        caabasketball/caitlin-clark-iowa-           A True Hawkeye Iowas Sharpshooter
2023-03-24   2023-03-24 shooting.html                               Redefines Heave                           By Kris Rhim                     TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/24/sports/n Houston Title Hopes Recall Rise and Fall Of
2023-03-24   2023-03-24 caabasketball/houston-phi-slama-jama.html Phi Slama Jama                                By Andrew Keh                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/theater/
2023-03-24   2023-03-24 bad-cinderella-review-broadway.html          Shattering Glass Ceilings and Slippers     By Jesse Green                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/07/travel/ At Six Wellness Retreats HighTech
2023-03-07   2023-03-25 wellness-retreats.html                       Treatments                                 By Nora Walsh                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/09/travel/e
2023-03-09   2023-03-25 ncountering-another-jamaica.html             Jamaica Beyond the AllInclusive Resorts    By Charlie BrinkhurstCuff        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/opinion
                        /colorado-river-lake-powell-glen-canyon-     The Colorado Is Drying Up But Nobody
2023-03-20   2023-03-25 dam.html                                     Wants to Talk About the Giant Blobs of Mud By Dale Maharidge                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/arts/just Prosecutors Drop Charges Against Former
2023-03-22   2023-03-25 in-roiland-charges.html                      Rick and Morty Star                        By Julia Jacobs                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/busines
                        s/media/ai-chatbots-right-wing-              Conservatives Aim to Build A Chatbot of    By Stuart A Thompson Tiffany Hsu
2023-03-22   2023-03-25 conservative.html                            Their Own                                  and Steven Lee Myers             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/technol William A Wulf 83 Who Helped Pave the
2023-03-22   2023-03-25 ogy/william-a-wulf-dead.html                 Way to the Internet Dies                   By Cornelia Dean                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/books/f
                        ilippo-bernardini-unpublished-manuscripts- Book Manuscript Thief Will Avoid Prison
2023-03-23   2023-03-25 deported.html                                Time                                       By Elizabeth A Harris            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/busines Under Xi China Is Distancing Itself From
2023-03-23   2023-03-25 s/china-xi-jinping-russia-putin.html         Nations That Helped It Rise                By Li Yuan                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/opinion
                        /saule-omarova-bank-regulation-golden-       A Golden Share Could Prevent Banking
2023-03-23   2023-03-25 share.html                                   Crises                                     By Saule Omarova                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/sports/b Two Young Pitchers Who Could Capture The
2023-03-23   2023-03-25 aseball/zac-gallen-logan-webb.html           NL Cy Young                                By Tyler Kepner                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/sports/n
                        caabasketball/south-carolina-laeticia-       Gamecocks Multitalented Star Scholar
2023-03-23   2023-03-25 amihere.html                                 Activist and Evangelist of the Game        By Jer Longman                   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/23/theater/
2023-03-23   2023-03-25 jeremy-o-harris-writers-residency-italy.html Freedom To Pursue A New Muse             By Elisabetta Povoledo           TX 9-286-255     2023-05-02

                        https://www.nytimes.com/2023/03/24/arts/dan
2023-03-24   2023-03-25 ce/92nd-street-y-renovated-dance-space.html Storied Home of Dance Gives It More Space By Brian Seibert                 TX 9-286-255     2023-05-02




                                                                               Page 5011 of 5793
                        https://www.nytimes.com/2023/03/24/arts/des
                        ign/alberto-ibarguen-retiring-knight-
2023-03-24   2023-03-25 foundation.html                              He Could Have Played It Safe but Didnt    By Brett Sokol                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/arts/des
                        ign/hammer-museum-ann-philbin-los-
2023-03-24   2023-03-25 angeles.html                                 The Hammer Museums Long Emergence         By Adam Nagourney              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/arts/des Howard Brandston 87 a Designer Of Lighting
2023-03-24   2023-03-25 ign/howard-brandston-dead.html               for Global Landmarks                      By Sam Roberts                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/arts/mu
                        sic/new-york-philharmonic-st-matthew-
2023-03-24   2023-03-25 passion-review.html                          It Was a Passion To Remember              By Joshua Barone               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/arts/tele
2023-03-24   2023-03-25 vision/succession-recap-season-3.html        Now Which Rat Will Win the Race           By Jennifer Vineyard           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/busines Investigations Firm Says China Detained
2023-03-24   2023-03-25 s/china-business-company-raid.html           Workers                                   By Keith Bradsher              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/busines Cryptocurrency Fugitive Led Public Life on By David YaffeBellany John Yoon
2023-03-24   2023-03-25 s/crypto-do-kwon-terraform-labs.html         the Run                                   and Karoun Demirjian           TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/24/busines Support Grows to Have Russia Pay to Rebuild
2023-03-24   2023-03-25 s/economy/ukraine-seize-russian-assets.html Ukraine Amid Concerns From US Officials By Patricia Cohen                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/busines
                        s/energy-environment/lg-battery-factory-       LG to Spend 55 Billion on Battery Factory in
2023-03-24   2023-03-25 arizona.html                                   Arizona                                      By Niraj Chokshi         TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/busines
                        s/treasury-market-swings-economic-             Bonkers Bond Trading May Be Recession
2023-03-24   2023-03-25 signal.html                                    Signal                                       By Joe Rennison          TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/climate Tighter Air Rules Could Help People of Color
2023-03-24   2023-03-25 /air-pollution-pm25-health-effects.html        the Most                                     By Elena Shao            TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/health/f Scopes Said To Be Safer For Patients Have
2023-03-24   2023-03-25 da-duodenoscopes.html                          Flaws                                        By Roni Caryn Rabin      TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/health/i Californias Plan for LowerCost Insulin May
2023-03-24   2023-03-25 nsulin-prices-california.html                  Be Undercut                                  By Benjamin Ryan         TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/nyregio
2023-03-24   2023-03-25 n/fentanyl-test-strips-nyc.html                A 1 Strip Is Bringing Fentanyl Out Of Hiding By Sharon Otterman       TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/opinion
                        /international-world/france-protests-pensions-
2023-03-24   2023-03-25 macron.html                                    In France the Damage Cant Be Undone          By Cole Stangler         TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/sports/n An Elite 8 Will Have a New Look Zero No 1
2023-03-24   2023-03-25 caabasketball/march-madness-friday.html        Seeds                                        By The New York Times    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/theater/
2023-03-24   2023-03-25 arden-of-faversham-review.html                 Law and Order Elizabethan Style              By Juan A Ramrez         TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/us/polit Name of Army Base Changed to That of a
2023-03-24   2023-03-25 ics/army-base-pickett-barfoot.html             Native American                              By Chris Cameron         TX 9-286-255    2023-05-02




                                                                                 Page 5012 of 5793
                        https://www.nytimes.com/2023/03/24/us/polit
                        ics/desantis-travel-records-florida-        Florida Legislators Move to Shield the Travel
2023-03-24   2023-03-25 republicans.html                            Records of DeSantis                           By Nick Corasaniti             TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/24/us/polit Touchstone for Far Right Turns Campaign
2023-03-24   2023-03-25 ics/donald-trump-waco-branch-davidians.html Stop                                         By Charles Homans               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/us/polit Pentagons Push to Restock Arms Hits
2023-03-24   2023-03-25 ics/military-weapons-ukraine-war.html       Roadblock                                    By Eric Lipton                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/us/polit
2023-03-24   2023-03-25 ics/parents-bill-of-rights-act.html         Split House Passes Measure on Schools Issues By Annie Karni                  TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/24/us/polit Iranian Attacks on Coalition Bases in Syria
2023-03-24   2023-03-25 ics/syria-us-contractor-killed-iran-drone.html Raises Tensions Anew                       By Eric Schmitt                TX 9-286-255    2023-05-02
                                                                                                                  By Maggie Haberman Jonah E
                        https://www.nytimes.com/2023/03/24/us/polit Trump Raises Attack Level Office of DA        Bromwich and William K
2023-03-24   2023-03-25 ics/trump-bragg-indictment-protests.html    Gets a Threat                                 Rashbaum                       TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/us/polit
                        ics/trump-mark-meadows-executive-privilege- Trump Aides Must Testify in Election Case     By Maggie Haberman and Alan
2023-03-24   2023-03-25 jan-6.html                                  Judge Rules                                   Feuer                          TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/us/prou Court Documents Reveal A New FBI
2023-03-24   2023-03-25 d-boys-fbi-informants.html                  Informant Among the Proud Boys                By Alan Feuer and Zach Montague TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/us/tenn Tennessee Refused 88 Million and HIV
2023-03-24   2023-03-25 essee-hiv-funding.html                      Groups Are Alarmed                            By Ava Sasani                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/us/trum
2023-03-24   2023-03-25 p-alvin-bragg-republicans-house.html        Republicans Strain Limits Of Oversight        By Charlie Savage              TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/24/world/a Rwanda Agrees to Release Hotelier Who        By Abdi Latif Dahir and Declan
2023-03-24   2023-03-25 frica/rwanda-paul-rusesabagina-release.html Inspired Film On 94 Genocide From Jail      Walsh                             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/world/a Beijing Denies Pressuring Companies Like
2023-03-24   2023-03-25 sia/china-tiktok-spying-denial.html         TikTok to Spy for China                     By Chang Che                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/world/a
2023-03-24   2023-03-25 sia/india-gandhi-modi.html                  In Fast Stroke Modis Backers Banish Gandhi By Alex Travelli and Suhasini Raj TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/world/a
                        sia/north-korea-underwater-nuclear-         North Korea Says It Tested Attack Drone For
2023-03-24   2023-03-25 drone.html                                  Seaports                                    By Choe SangHun                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/world/a After Fleeing War for Paradise They Wore     By SuiLee Wee and Muktita
2023-03-24   2023-03-25 sia/russia-ukraine-bali-visa.html           Out Their Welcome                           Suhartono                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/world/a An Australian Community Full of Rage as Its By Yan Zhuang and Michaela
2023-03-24   2023-03-25 ustralia/australia-river-fish-deaths.html   River Chokes on Mass of Dead Fish           Skovranova                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/world/c Biden Makes First Trip to Canada
2023-03-24   2023-03-25 anada/biden-trudeau-meeting.html            Celebrating an Inseparable Bond             By Michael D Shear and Ian Austen TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/world/e
                        urope/biden-icc-russian-war-crimes-         Senators Urge That Evidence Of War Crimes
2023-03-24   2023-03-25 ukraine.html                                Is Sent to Court                            By Charlie Savage                 TX 9-286-255   2023-05-02




                                                                                  Page 5013 of 5793
                        https://www.nytimes.com/2023/03/24/world/e Macron Draws Anger Not Just for Law But
2023-03-24   2023-03-25 urope/france-macron-crisis.html            for His MonarchLike Disposition             By Roger Cohen and Liz Alderman TX 9-286-255       2023-05-02

                        https://www.nytimes.com/2023/03/24/world/e After Dark Protests Over Frances Pension Bill
2023-03-24   2023-03-25 urope/france-protests-macron-pensions.html Devolve Into Vandalism                        By Constant Mheut and James Hill TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/world/e
                        urope/russian-antiwar-protester-           A PropagandistTurnedProtester Rejects
2023-03-24   2023-03-25 ovsyannikova.html                          Moscows Version of War                        By Constant Mheut                TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/24/world/e Both Moscow and Kyiv Hold Fast to                By Shashank Bengali and Anton
2023-03-24   2023-03-25 urope/ukraine-russia-bakhmut-wagner.html Bakhmut                                            Troianovski                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/world/e                                                  By David Guttenfelder and Eric
2023-03-24   2023-03-25 urope/ukraine-war-amputees.html            Path to Heal Has a Stop In the US                Nagourney                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/world/
                        middleeast/israel-netanyahu-judicial-      Israels Military Fears Impact of Judicial Crisis By Patrick Kingsley and Ronen
2023-03-24   2023-03-25 overhaul.html                              on Battlefield Readiness                         Bergman                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/us/los- Los Angeles Schools Reach Tentative Deal By Corina Knoll Adeel Hassan and
2023-03-25   2023-03-25 angeles-schools-strike-deal.html           With Union                                       Shawn Hubler                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/us/migr 2 Migrants Dead and 13 More Ill in Texas
2023-03-25   2023-03-25 ants-dead-train-uvalde-texas.html          Officials Say                                    By Edgar Sandoval              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/25/sports/n Coach Provides the Yin To Auriemmas Yang
2023-03-25   2023-03-25 caabasketball/chris-dailey-uconn-coach.html And Some Levity Too                         By Remy Tumin                     TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/sports/n
                        caabasketball/ncaa-tournament-madison-        In the East Regional Theyre Dancing Where
2023-03-25   2023-03-25 square-garden.html                            the Lights Are Brightest                  By Adam Zagoria                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/02/09/books/s
2023-02-09   2023-03-26 terling-karat-gold-isabel-waidner.html        On Trial                                  By Matt Bell                      TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/02/28/books/r
2023-02-28   2023-03-26 eview/we-are-electric-sally-adee.html         Charged Up                                By Simon Winchester               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/01/books/5
                        0-years-on-wisconsin-death-trip-still-haunts-
2023-03-01   2023-03-26 and-inspires.html                             Essay Wisconsin Death Trip 50 Years On    By Dwight Garner                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/03/books/r
                        eview/margaret-atwood-old-babes-in-the-
2023-03-03   2023-03-26 wood.html                                     More Notes From the Future                By Rebecca Makkai                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/interactive/2023/03/
                        05/nyregion/election-asians-voting-           Where New Yorks Asian Neighborhoods
2023-03-06   2023-03-26 republicans-nyc.html                          Shifted to the Right                      By Jason Kao                      TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/08/well/fa
                        mily/boundaries-family-nedra-glover-          Here to Help How to Set Boundaries With a
2023-03-08   2023-03-26 tawwab.html                                   Difficult Family Member                   By Catherine Pearson              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/interactive/2023/03/
                        08/world/asia/afghanistan-taliban-                                                      By Christina Goldbaum and Kiana
2023-03-08   2023-03-26 women.html                                    Loss Piles on Loss for Afghan Women       Hayeri                            TX 9-286-255    2023-05-02



                                                                                Page 5014 of 5793
                        https://www.nytimes.com/2023/03/13/books/r
                        eview/kunstlers-in-paradise-cathleen-
2023-03-13   2023-03-26 schine.html                                Mixed Blessings                                By Kim Hubbard                  TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/13/books/r
2023-03-13   2023-03-26 eview/take-what-you-need-idra-novey.html Its Complicated                                  By Sarah Moss                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/13/t-
2023-03-13   2023-03-26 magazine/yann-nury-loft.html                No Reservations                               By Kurt Soller and David Chow  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/14/t-                                                     By Jenny Comita Mari Maeda and
2023-03-14   2023-03-26 magazine/jewish-pastries.html               Unorthodox                                    Yuji Oboshi and Linda Heiss    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/14/t-
                        magazine/spring-fashion-unexpected-evening-                                               By Tho de Gueltzl and Ronald
2023-03-14   2023-03-26 wear.html                                   Turn It Up                                    Burton III                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/15/t-                                                     By Hussein Omar and Simon
2023-03-15   2023-03-26 magazine/cairo-mansion-bayt-yakan.html      A House in hiding                             Watson                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/books/r
2023-03-16   2023-03-26 eview/new-crime-mystery-books.html          Ripple Effects                                By Sarah Weinman                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/16/books/r
2023-03-16   2023-03-26 eview/she-is-a-haunting-trang-thanh-tran.html Inside the List                             By Elisabeth Egan               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/busines Golf at 3 pm Tuesday Its the Afternoon Fun
2023-03-16   2023-03-26 s/afternoon-fun-economy.html                  Economy                                     By Emma Goldberg                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/t-
2023-03-16   2023-03-26 magazine/gold-metal-clutches-bags.html        Gold Metal Bags                             By Mari Maeda and Yuji Oboshi   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/16/t-
2023-03-16   2023-03-26 magazine/noh-mask-makers-women.html           A NEW FACE                                  By Hannah Kirshner and Bon Duke TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/style/ch
2023-03-17   2023-03-26 loe-flower-pianist-popsical-liberace.html     Eliminating Elitism Is Part of Her Plan     By Alex Vadukul                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/t-
2023-03-17   2023-03-26 magazine/josh-kline.html                      The Last Laugh                              By Zo Lescaze                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/18/realesta
                        te/appraisal-racial-discrimination-
2023-03-18   2023-03-26 cincinnati.html                               Appraisal Questions And Questions of Race   By Debra Kamin                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/arts/tele
2023-03-20   2023-03-26 vision/lauren-ambrose-yellowjackets.html      Lauren Ambrose Works at Staying Grateful    By Rachel Sherman               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/books/r
                        eview/three-novels-where-love-takes-center-
2023-03-20   2023-03-26 stage.html                                    The Shortlist Novels About Love             By Alyssa Songsiridej           TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/20/magazi
2023-03-20   2023-03-26 ne/women-friendships-travel-morocco.html My Brilliant Strangers                           By Caity Weaver                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/opinion
2023-03-20   2023-03-26 /multiverse-danger.html                     The Multiverse Nearly Ruined My Life          By SI Rosenbaum                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/realesta
2023-03-20   2023-03-26 te/prison-parole-housing-shelters.html      Out of Prison Searching for a Place to Live   By John J Lennon                TX 9-286-255   2023-05-02



                                                                                  Page 5015 of 5793
                        https://www.nytimes.com/2023/03/20/style/ch
2023-03-20   2023-03-26 erry-blossom-trackers.html                  For Cherry Blossoms a Big Fan Base             By Marie Solis                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/20/t-
2023-03-20   2023-03-26 magazine/ramdane-touhami-paris-home.html Making His Mark                                   By Nancy Hass and Franois Halard TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/t-                                                      By Jessica Madavo and Delphine
2023-03-20   2023-03-26 magazine/spring-fashion-sweaters.html       STRINGS attached                               Danhier                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/world/e 80 Years After World War II Pilot Saved
2023-03-20   2023-03-26 urope/wwii-pilot-remains-identified.html    Crew His Remains Are Found                     By Eduardo Medina               TX 9-286-255    2023-05-02

                        https://www.nytimes.com/interactive/2023/03/
2023-03-20   2023-03-26 20/magazine/colin-koopman-interview.html Your Data Is Diminishing Your Freedom             By David Marchese               TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/21/arts/tele
2023-03-21   2023-03-26 vision/matthew-macfadyen-succession.html A Punching Bag Turns Into a Power Player          By Sarah Lyall                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/magazi                                                  By Jon Mooallem and Andrea
2023-03-21   2023-03-26 ne/battle-oranges-italy.html                 Beaten to a Pulp                              Frazzetta                       TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/magazi
2023-03-21   2023-03-26 ne/taxi-whistling-recommendation.html        TaxiWhistling                                 By Jon Gluck                    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/magazi
2023-03-21   2023-03-26 ne/travel-show-celebrities.html              Lucky Star                                    By Nicholas Cannariato          TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/realesta
2023-03-21   2023-03-26 te/grocery-store-home-seattle.html           Creative Comfort In Aisle 3                   By Tim McKeough                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/t-
2023-03-21   2023-03-26 magazine/design-objects-home.html            Object Lessons                                By Hanya Yanagihara             TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/21/t-
2023-03-21   2023-03-26 magazine/lake-como-italy-villa-taroni.html   THE Wonder Cabinet                            By Nancy Hass and Henry Bourne TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/21/theater/
2023-03-21   2023-03-26 shucked-musical-broadway.html                Getting From Moonshine to Corn                By Rob Tannenbaum               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/interactive/2023/03/ Listen to Us What These 12 Kids Want          By Adrian J Rivera and Ariel
2023-03-21   2023-03-26 21/opinion/teen-youth-focus-group.html       Adults to Know                                Kaminer                         TX 9-286-255    2023-05-02
                                                                     All Rise These uniquely layered pillowy
                        https://www.nytimes.com/2023/03/22/magazi biscuits get a caramelized crust from a bit of
2023-03-22   2023-03-26 ne/buttermilk-sugar-biscuits-recipe.html     extra sugar                                   By Eric Kim                     TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/22/magazi
2023-03-22   2023-03-26 ne/maze-tourism.html                         Paradise Lost                                 By Ingrid Rojas Contreras       TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/22/magazi
2023-03-22   2023-03-26 ne/playa-zipolite-nude-beach-mexico.html     Into the Waves                                By Jenna Wortham                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/22/movies/
2023-03-22   2023-03-26 john-wick-friends.html                       For LoneWolf Killer a Whole Pack of Pals      By Robert Ito                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/22/opinion
                        /republican-nomination-trump-
2023-03-22   2023-03-26 indictment.html                              The Politics Of a Trump Indictment            By Ross Douthat                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/22/realesta
                        te/medieval-manor-england-
2023-03-22   2023-03-26 buckinghamshire.html                         Blood Toil Tears and Sweat at an Old Manor    By Ben West                     TX 9-286-255    2023-05-02



                                                                                 Page 5016 of 5793
                        https://www.nytimes.com/2023/03/22/style/fr
2023-03-22   2023-03-26 eud-psychoanalysis.html                     Back to the Couch With Freud                 By Joseph Bernstein             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/style/ne
2023-03-22   2023-03-26 w-relationship-loan.html                    Giving Him Credit                            By Philip Galanes               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/t-
2023-03-22   2023-03-26 magazine/marco-de-vincenzo.html             Marco De Vincenzo                            By Laura May Todd               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/t-
                        magazine/poufs-ottomans-living-room-
2023-03-22   2023-03-26 furniture.html                              Poufs                                        By Mari Maeda and Yuji Oboshi   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/theater/
2023-03-22   2023-03-26 aaron-sorkin-camelot-broadway.html          Camelot Gets The Aaron Sorkin Treatment      By Michael Paulson              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/us/hous
2023-03-22   2023-03-26 ton-zoo-tortoise-babies.html                Endangered Tortoise Is A FirstTime Dad at 90 By McKenna Oxenden              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/arts/des
                        ign/art-pennsylvania-museums-african-
2023-03-23   2023-03-26 american-rising-sun-democracy.html          Is the Sun Rising or Setting on Democracy    By Hilarie M Sheets             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/fashion Exchanging Vows and Announcing a
2023-03-23   2023-03-26 /weddings/wedding-baby-bump-reveal.html Pregnancy                                        By Perri Ormont Blumberg        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/magazi
                        ne/judge-john-hodgman-scattergories-
2023-03-23   2023-03-26 typing.html                                 Bonus Advice From Judge John Hodgman         By John Hodgman                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/magazi                                                By Anthony Robinson and Anne
2023-03-23   2023-03-26 ne/poem-88-days.html                        Poem 88 Days                                 Boyer                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/nyregio Is 70 MPH the New 65 New York Might
2023-03-23   2023-03-26 n/new-york-70-mph-speed-limit.html          Raise Limit                                  By Jesse McKinley               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/opinion
2023-03-23   2023-03-26 /cold-war-china-chips.html                  A Cold War With China Has Begun              By David Brooks                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/realesta
2023-03-23   2023-03-26 te/building-vs-buying-a-house.html          A New Home From the Ground Up                By Michael Kolomatsky           TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/23/style/so
2023-03-23   2023-03-26 fia-coppola-daughter-tiktok-romy-mars.html Rebel With a Video                          By Callie Holtermann              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/style/tik
2023-03-23   2023-03-26 tok-stars-capitol-hill.html                  TikTok Turns to Its Stars to Lobby        By Madison Malone Kircher         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/t-
2023-03-23   2023-03-26 magazine/breitling-premier-watch.html        First of its Kind Last of its Kind        By Lindsay Talbot                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/t-
                        magazine/nicholas-obeid-greenwich-
2023-03-23   2023-03-26 village.html                                 A Sanctuary                               By Nick Marino and David Chow     TX 9-286-255   2023-05-02

                        https://www.nytimes.com/interactive/2023/03/ Seeking the Spirited Mystical Jamaica      Photographs by Naila Ruechel and
2023-03-23   2023-03-26 23/magazine/jamaica-travel-christianity.html Tourists Dont See                          Text by Nicole DennisBenn        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/ A Couple Decided to Swap Their Family
                        23/realestate/home-thousand-oaks-southern- Home in Pennsylvania for a California Rental
2023-03-23   2023-03-26 california.html                              Which One Did They Choose                  By Livia AlbeckRipka             TX 9-286-255   2023-05-02



                                                                                  Page 5017 of 5793
                        https://www.nytimes.com/2023/03/23/world/a
                        mericas/missing-trump-portrait-found-        Missing Trump Portrait Is Found in a Hotel   By Maria AbiHabib and Ana Maria
2023-03-24   2023-03-26 florida.html                                 Basement Near Some Old Yoga Mats             Hanssen                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/arts/mu
2023-03-24   2023-03-26 sic/alisa-weilerstein-fragments-cellist.html Music Broken Into Fragments Then United      By David Allen                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/books/r
                        eview/nature-and-nurture-picture-books-about-
2023-03-24   2023-03-26 grandparents-who-garden.html                 Nature and Nurture                           By Uri Shulevitz               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/books/r
2023-03-24   2023-03-26 eview/the-prophetic.html                     Essay One The Prophetic                      By Ayana Mathis                TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/24/busines
2023-03-24   2023-03-26 s/inflation-federal-reserve-interest-rates.html Feds Inflation Target May Be Too Low      By Jeff Sommer                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/busines Jacqueline Gold Retailer Who Tapped Into
2023-03-24   2023-03-26 s/jacqueline-gold-dead.html                     Libido Of Women Is Dead at 62             By Neil Genzlinger             TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/nyregio
2023-03-24   2023-03-26 n/east-village-history-townhouse.html           The Tales 64 East 7th Could Tell          By John Leland                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/nyregio
2023-03-24   2023-03-26 n/hart-island-cemetery-park.html                A Potters Field as a Public Park          By Corey Kilgannon             TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/nyregio
2023-03-24   2023-03-26 n/tom-sachs-nike.html                           Should Helpers Suffer for an Artists Sake By Ginia Bellafante            TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/opinion The Dangerous Race to Put More Children to
2023-03-24   2023-03-26 /editorials/arkansas-child-labor.html           Work                                      By The Editorial Board         TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/opinion
                        /international-world/ellsberg-nuclear-war-
2023-03-24   2023-03-26 ukraine.html                                    Daniel Ellsbergs Life Among Secrets       By Alex Kingsbury              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/opinion
2023-03-24   2023-03-26 /ron-desantis-bush-cheney-trump.html            DeSantis Is a BushCheney Republican       By Jamelle Bouie               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/opinion Theres More to Silicon Valley Than
2023-03-24   2023-03-26 /silicon-valley-loudmouth-vcs.html              Loudmouth VCs                             By Farhad Manjoo               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/realesta
2023-03-24   2023-03-26 te/small-tiny-home-mount-washington.html Winning an Uphill Battle for an Edgy Home By Tim McKeough                       TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/sports/s
                        occer/womens-champions-league-                  In a German Factory Town Assembling an
2023-03-24   2023-03-26 wolfsburg.html                                  Unsung Power                              By Rory Smith                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/style/ai- We Need to Talk But First Ill Consult a Chat
2023-03-24   2023-03-26 chatgpt-advice-relationships.html               Bot                                       By Alyson Krueger              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/style/an Their Home Base Is Wherever They Are
2023-03-24   2023-03-26 na-spelman-peter-prix-wedding.html              Together                                  By Sadiba Hasan                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/style/ha After Musical Chairs Plenty of Room for
2023-03-24   2023-03-26 nnah-sellinger-basil-azim-wedding.html          Romance                                   By Rosalie R Radomsky          TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/style/ils Despite a Language Barrier an Instant
2023-03-24   2023-03-26 on-goncalves-yasar-sakman-wedding.html          Connection                                By Tammy La Gorce              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/style/je Sending a Care Package to Keep Their Love
2023-03-24   2023-03-26 nnifer-walters-clark-palicka-wedding.html       Alive                                     By John Otis                   TX 9-286-255    2023-05-02



                                                                                 Page 5018 of 5793
                        https://www.nytimes.com/2023/03/24/style/m
2023-03-24   2023-03-26 odern-love-second-date.html                Our Second Date Was Statistically Abnormal By Sarah Allred                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/t-
2023-03-24   2023-03-26 magazine/monumental-black-art.html         Taking Up Space                            By Emily Lordi                   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/24/us/polit Israeli Turmoil Tests Bidens Complex Ties
2023-03-24   2023-03-26 ics/israel-biden-netanyahu-relationship.html With Netanyahu                             By Katie Rogers                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/technol Gordon E Moore 94 Intel CoCreator and        By Holcomb B Noble and Katie
2023-03-25   2023-03-26 ogy/gordon-moore-dead.html                   Silicon Chip Soothsayer Dies               Hafner                         TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/24/us/fire- Explosion at Pennsylvania Chocolate Factory By David DeKok Amanda Holpuch
2023-03-25   2023-03-26 chocolate-factory-west-reading.html         Leaves at Least Two Dead and Five Missing and Michael Levenson            TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/24/us/polit Guilty Plea In Haiti Case Over Killing Of
2023-03-25   2023-03-26 ics/rodolphe-jaar-jovenel-moise-plot.html   ExLeader                                    By Zach Montague              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/arts/mu
2023-03-25   2023-03-26 sic/irish-music-lankum-lisa-oneill.html     Sounds of Ireland Revived and Reimagined By Will Hermes                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/busines
                        s/family-business-retirement-succession-    When Your Career Has Been the Familys
2023-03-25   2023-03-26 millennials.html                            Business                                    By Martha C White             TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/busines
                        s/the-lure-of-the-made-in-america-sales-
2023-03-25   2023-03-26 pitch.html                                  An Importer Revamps to Be Made in America By Peter S Goodman              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/busines
2023-03-25   2023-03-26 s/uaw-autoworkers-union-election.html       Insurgent Wins Bid for UAW Presidency       By Neal E Boudette            TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/nyregio OcasioCortez Posts Video On TikTok to
2023-03-25   2023-03-26 n/aoc-tiktok-ban-video.html                 Oppose Ban                                  By Nicholas Fandos            TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/nyregio
                        n/can-cannabis-class-help-the-industry-     Wary Growers Go to New York Cannabis
2023-03-25   2023-03-26 legalize-growers-are-doubtful.html          Class                                       By Wesley Parnell             TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/opinion The Adderall Shortage Reflects Bad Drug
2023-03-25   2023-03-26 /adderall-shortage-drug-policy.html         Policy                                      By Maia Szalavitz             TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/opinion
2023-03-25   2023-03-26 /elon-musk-town-muskville-texas.html        Welcome to Muskville Texas                  By Binyamin Appelbaum         TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/opinion
                        /great-salt-lake-drought-utah-climate-      I Am Haunted By What Ive Seen At Great      By Terry Tempest Williams and
2023-03-25   2023-03-26 change.html                                 Salt Lake                                   Fazal Sheikh                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/opinion
2023-03-25   2023-03-26 /india-education-human-trafficking.html     Human Trafficking vs a Mothers Love         By Nicholas Kristof           TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/opinion Whatever the Problem Its Probably Solved by
2023-03-25   2023-03-26 /walking-hiking-spring.html                 Walking                                     By Andrew McCarthy            TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/realesta I Plan to Buy a Coop Then a Piano Am I
2023-03-25   2023-03-26 te/co-op-boards-ethics-pianos.html          Obligated to Tell the Board                 By Ronda Kaysen               TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/25/sports/n Loss Keeps UConn Out of Final Four for First
2023-03-25   2023-03-26 caabasketball/march-madness-saturday.html Time Since 2007                                By The New York Times         TX 9-286-255   2023-05-02



                                                                                Page 5019 of 5793
                        https://www.nytimes.com/2023/03/25/sports/n Long Before Her Team Beat Stanford She
2023-03-25   2023-03-26 caabasketball/mississippi-coach-yo.html     Said Im Hot                                   By Kurt Streeter                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/sports/s
2023-03-25   2023-03-26 kiing/shiffrin-diggins-us-women.html        US Goal To Develop Talent Beyond 2 Stars      By Matthew Futterman              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/style/ex Sweating Out the Application Process to
2023-03-25   2023-03-26 clusive-gym-memberships.html                Work Out                                      By Danielle Braff                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/us/polit Lawmakers Tour Washington Jail Where Jan
2023-03-25   2023-03-26 ics/dc-jail-tour-jan-6-defendants.html      6 Defendants Are Held                         By Luke Broadwater                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/us/polit
                        ics/mitch-mcconnell-released-inpatient-     McConnell Is Back at Home After Release
2023-03-25   2023-03-26 rehab.html                                  From Rehab                                    By Stephanie Lai                  TX 9-286-255   2023-05-02
                                                                                                                  By Rick Rojas Sarah Kramer
                        https://www.nytimes.com/2023/03/25/us/torn At Least 24 Die as Tornadoes Wreck Rural       Ozbun Emily Cochrane and
2023-03-25   2023-03-26 ado-mississippi-storms-dead.html           South                                          Richard Fausset                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/world/a Hotel Rwanda Dissident Released From
2023-03-25   2023-03-26 frica/paul-rusesabagina-rwanda.html        Prison After Two and a Half Years              By Abdi Latif Dahir               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/world/a Sorcery in Mexico City A Japanese Green        By Elda Cant and Marian
2023-03-25   2023-03-26 mericas/mexico-city-jacarandas.html        Thumbs Purple Legacy                           Carrasquero                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/world/a Asias Militaries Expand as Fears Of Conflict
2023-03-25   2023-03-26 sia/asia-china-military-war.html           Rise                                           By Damien Cave and Chang W Lee TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/25/world/c Migrants Rush Into Canada Ahead of
2023-03-25   2023-03-26 anada/migrants-border-asylum.html          Deadline                                       By Jane Gottlieb and Ian Austen   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/25/world/e Pope Strengthens Law On Abuse
2023-03-25   2023-03-26 urope/pope-francis-sexual-abuse-minors.html Accountability                              By Jason Horowitz                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/world/e Long Battle for Bakhmut Could Be Stabilized By Matthew Mpoke Bigg and
2023-03-25   2023-03-26 urope/ukraine-russia-bakhmut.html           Ukrainian Commander Says                    Victoria Kim                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/world/e                                              By Justin Scheck and Thomas
2023-03-25   2023-03-26 urope/volunteers-us-ukraine-lies.html       US Volunteers Add to Chaos On Battlefield GibbonsNeff                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/world/e
                        urope/who-will-take-care-of-italys-older-   Who Will Take Care of Italys Older People
2023-03-25   2023-03-26 people-robots-maybe.html                    Maybe Robots                                By Jason Horowitz                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/world/
                        middleeast/israel-defense-minister-opposes-
2023-03-25   2023-03-26 judicial-plan.html                          Defense Chief Calls on Israel To Delay Plan By Patrick Kingsley                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/busines
2023-03-26   2023-03-26 s/esther-perel-couples-therapy.html         Her Brand Your Bedroom And Beyond           By Sarah Lyall                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/busines
                        s/the-week-in-business-tiktok-in-the-hot-
2023-03-26   2023-03-26 seat.html                                   The Week in Business TikTok in the Hot Seat By Marie Solis                      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/26/insider/
2023-03-26   2023-03-26 the-word-tattoo-in-new-york-times-ink.html The Word Tattoo in New York Times Ink          By Sarah Diamond                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/nyregio
2023-03-26   2023-03-26 n/saw-lady-subways-nyc.html                 The Saw Lady Has No Time to Sleep In          By Nancy A Ruhling                TX 9-286-255   2023-05-02



                                                                                 Page 5020 of 5793
                        https://www.nytimes.com/2023/03/26/sports/b From the Pariah of Wall Street To the Mets By Matt Flegenheimer and Kate
2023-03-26   2023-03-26 aseball/steve-cohen-mets-new-york.html       Beloved Billionaire                            Kelly                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/sports/n
                        caabasketball/creighton-san-diego-state-     For a Pair of Brothers Itll Be Another Reunion
2023-03-26   2023-03-26 brothers.html                                Where One Goes Home                            By Billy Witz                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/style/w
                        hat-evan-mock-wore-to-his-kombucha-
2023-03-26   2023-03-26 party.html                                   Evan Mocks Kombucha Party                      By Denny Lee                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/04/06/magazi                                                   By Kevin Dupzyk and Christopher
2023-04-06   2023-03-26 ne/peeps-factory.html                        A World of Marshmallow Magic                   Payne                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/obituari Overlooked No More Lilian Lindsay Britains
2023-03-21   2023-03-27 es/lilian-lindsay-overlooked.html            First Female Dentist                           By Seth Mydans                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/article/wga-writers- Why Theres Talk of Strike For Writers in
2023-03-21   2023-03-27 strike-hollywood.html                        Hollywood                                      By John Koblin and Brooks Barnes TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/sports/b
                        asketball/joe-dumars-pistons-nba-            A Pistons Bad Boy Punishes Players Who Are
2023-03-22   2023-03-27 suspensions.html                             Not on Best Behavior                           By Jonathan Abrams               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/arts/resi Technology Is a Player in Video Game
2023-03-23   2023-03-27 dent-evil-4-dead-space-remake.html           Remakes                                        By Zachary Small                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/books/b Efforts Double to Ban Books in Schools and By Alexandra Alter and Elizabeth
2023-03-23   2023-03-27 ook-ban-2022.html                            Libraries                                      A Harris                         TX 9-286-255   2023-05-02
                                                                     LA Mansions Going for a Bargain as Sellers
                        https://www.nytimes.com/2023/03/23/realesta Rush to Avoid a New Transfer Tax About to
2023-03-23   2023-03-27 te/mansion-tax-los-angeles.html              Take Effect                                    By Debra Kamin                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/sports/f Moves That Show Which Pieces Are Seen as
2023-03-23   2023-03-27 ootball/nfl-free-agents.html                 Most Valuable                                  By Mike Tanier                   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/23/technol Traveling With Your Phone Has an Easier
2023-03-23   2023-03-27 ogy/personaltech/esim-sim-cards-travel.html Option Now                                    By Brian X Chen                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/arts/tele Two Conspiracy Thrillers With 24 in Their
2023-03-24   2023-03-27 vision/rabbit-hole-night-agent-review.html   DNA                                          By Mike Hale                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/books/j John Woods 80 Who Translated Works of
2023-03-24   2023-03-27 ohn-woods-dead.html                          Thomas Mann and Others Into English          By Richard Sandomir                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/opinion
2023-03-24   2023-03-27 /tiktok-ban-first-amendment.html             A TikTok Ban What About Free Speech          By Jameel Jaffer                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/opinion                                                By Yuval Harari Tristan Harris and
2023-03-24   2023-03-27 /yuval-harari-ai-chatgpt.html                If We Dont Master AI It Will Master Us       Aza Raskin                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/theater/
2023-03-24   2023-03-27 review-sancocho.html                         Sisters in the Kitchen Peel Away the Traumas By Alexis Soloski                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/us/greg- Greg Wittine Who Sought Change For
2023-03-24   2023-03-27 wittine-dead.html                            Disabled Boy Scouts Dies at 67               By Alex Traub                      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/25/busines The Banking Industrys GoTo Adviser Is        By Lauren Hirsch Joe Rennison
2023-03-25   2023-03-27 s/dealbook/rodge-cohen-banking-crisis.html Trying to Clean Up a Crisis                  Ephrat Livni and Sarah Kessler     TX 9-286-255     2023-05-02




                                                                                 Page 5021 of 5793
                        https://www.nytimes.com/2023/03/25/busines I Took Over My Fathers Finances at 25 The
2023-03-25   2023-03-27 s/young-caregivers-money-management.html Lessons Were HardWon                           By Samantha Chencharik        TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/opinion On Succession the Logan Family Business Is
2023-03-25   2023-03-27 /succession-family-trauma.html              Trauma                                      By Emily St James             TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/sports/r Ready to Stop Holding Other Peoples Secrets
2023-03-25   2023-03-27 unning-goucher-longest-race.html            A Stars Push for Change                     By Talya Minsberg             TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/us/illeg Gun Thieves Turn to an Easy Target Parked
2023-03-25   2023-03-27 al-guns-parked-cars.html                    Cars                                        By Richard Fausset            TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/25/us/npr- NPR Cuts 10 Percent of Staff and Stops
2023-03-25   2023-03-27 layoffs-podcasts.html                       Producing 4 Podcasts                        By McKenna Oxenden            TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/25/world/a Illegal Gold Rush Poisons Indigenous People By Jack Nicas and Victor
2023-03-25   2023-03-27 mericas/brazil-amazon-indigenous-tribe.html in Amazon Haven                            Moriyama                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/world/a Honduras Ends Taiwan Ties in Favor of       By Amy Chang Chien and Emiliano
2023-03-26   2023-03-27 sia/taiwan-honduras-china-relations.html    China in a Blow to US Efforts              Rodrguez Mega                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/arts/des
                        ign/tribeca-art-gallery-markus-dochantschi-
2023-03-26   2023-03-27 architect.html                              His Soft White Cube Is Conquering TriBeCa By Zachary Small                 TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/26/arts/mu
2023-03-26   2023-03-27 sic/proxmity-lyric-opera-chicago-review.html Seeking Connections For Triptych        By Zachary Woolfe                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/26/arts/mu Scott Johnson 70 Dies Embraced Complexity
2023-03-26   2023-03-27 sic/scott-johnson-dead.html                   Working as Composer                    By Steve Smith                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/26/fashion
                        /watch-museums-omega-longines-
2023-03-26   2023-03-27 switzerland.html                              5 watch museums to visit               By Ming Liu                      TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/26/fashion
                        /watches-armani-parmigiani-fleurier-
2023-03-26   2023-03-27 switzerland.html                              A fashionable upgrade                  By Milena Lazazzera              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/26/fashion
                        /watches-breguet-swatch-group-
2023-03-26   2023-03-27 switzerland.html                              The focus is on the watch              By Victoria Gomelsky             TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/26/fashion
                        /watches-digital-future-edouard-meylan-miles-
2023-03-26   2023-03-27 fisher.html                                   Exploring watches digital future       By Victoria Gomelsky             TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/26/fashion
2023-03-26   2023-03-27 /watches-eoniq-hong-kong.html                 A Made in Hong Kong watch              By Daisann McLane                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/26/fashion
2023-03-26   2023-03-27 /watches-hotels-switzerland.html              Best hotels for watch lovers           By Ming Liu                      TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/26/fashion
2023-03-26   2023-03-27 /watches-jean-claude-biver-switzerland.html Keeping it in the family                  By Anders Modig                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/26/fashion
2023-03-26   2023-03-27 /watches-workforce-switzerland.html         Heres why you cant buy that great watch   By Roberta Naas                 TX 9-286-255    2023-05-02



                                                                                Page 5022 of 5793
                        https://www.nytimes.com/2023/03/26/opinion
2023-03-26   2023-03-27 /donald-trump-waco-rally-speech.html          Trumps Movement Now Commands Him            By David French                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/sports/n
                        caabasketball/march-madness-sunday-           With Final Free Throw San Diego State
2023-03-26   2023-03-27 men.html                                      Reaches Final Four                          By Noah Weiland and Billy Witz TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/26/technol Apples Newest Product Is Nearly Here Some
2023-03-26   2023-03-27 ogy/apple-augmented-reality-dissent.html      Employees Are Far From Excited              By Tripp Mickle and Brian X Chen TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/technol Twitter Says Source Code Was Leaked on the
2023-03-26   2023-03-27 ogy/twitter-source-code-leak.html             Internet                                    By Ryan Mac and Kate Conger      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/us/dela
2023-03-26   2023-03-27 ware-river-latex-chemical-spill.html          Toxic Spill Flows Toward Delaware River     By Emily Schmall                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/us/polit
                        ics/faa-nominee-withdraws-phillip-
2023-03-26   2023-03-27 washington.html                               Biden Pick to Lead the FAA Withdraws        By Mark Walker                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/us/polit UN Experts Protest To US Over Health Care
2023-03-26   2023-03-27 ics/un-guantanamo-bay-health-care.html        For Detainees in Cuba                       By Carol Rosenberg               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/us/ro- In California Lee Gets Help From Khanna In
2023-03-26   2023-03-27 khanna-barbara-lee-senate-california.html     Senate Run                                  By E Justin Swanson              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/world/a In China a Surplus of Single Men Means
2023-03-26   2023-03-27 sia/china-crackdown-bride-prices.html         Bride Prices Are Up                         By Nicole Hong and Zixu Wang     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/world/e Putin Declares He Might Position Nuclear       By Anton Troianovski Vivek
2023-03-26   2023-03-27 urope/russia-ukraine-putin-belarus.html       Weapons in Belarus Soon                     Shankar and Andrew Higgins       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/world/e Heroes or Still Convicts A Rift In Russia Over
2023-03-26   2023-03-27 urope/wagner-fighters-burial-russia.html      Dead Fighters                               By Neil MacFarquhar              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/world/
                        middleeast/judiciary-overhaul-benjamin-       Netanyahu Fires Minister Opponents Unleash
2023-03-26   2023-03-27 netanyahu-israel-parliament.html              Anger                                       By Patrick Kingsley              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/live/2023/03/26/us/
                        tornado-mississippi/rescuers-are-looking-for- Grief and Gratitude After a Tornado         By Rick Rojas Eduardo Medina
2023-03-26   2023-03-27 survivors-heres-what-to-know                  Devastates the Deep South                   Emily Cochrane and Anushka Patil TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/sports/n
                        caabasketball/march-madness-sunday-
2023-03-27   2023-03-27 women.html                                    LSU Makes Its First Final Four Since 2008   By Talya Minsberg and Kris Rhim TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/26/theater/
                        sweeney-todd-broadway-review-josh-
2023-03-27   2023-03-27 groban.html                                   The Barber Is Back on the Menu              By Jesse Green                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/arts/tele
                        vision/whats-on-tv-this-week-riverdale-royal-
2023-03-27   2023-03-27 crackers.html                                 This Week on TV                             By Hannah Fidelman               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/busines As Banking Worries Swirl EU Is Confident
2023-03-27   2023-03-27 s/eu-banks-deutsche-bank.html                 Yet Wary                                    By Eshe Nelson                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/crossw
2023-03-27   2023-03-27 ords/wordle-review-answer-646.html            Five Guesses One Addition to a Vocabulary By Kim Severson                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/fashion
2023-03-27   2023-03-27 /watch-tag-heuer-zenith-iwc-geneva.html       Eyes are on Geneva                          By Robin Swithinbank             TX 9-286-255   2023-05-02



                                                                                Page 5023 of 5793
                        https://www.nytimes.com/2023/03/27/fashion Watches and Wonders Geneva has more time
2023-03-27   2023-03-27 /watches-and-wonders-geneva.html            for fans                                By Nazanin Lankarani       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/fashion Panerai targets women and Rolex with the
2023-03-27   2023-03-27 /watches-panerai-radiomir-return.html       Radiomirs return                        By Robin Swithinbank       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/fashion
2023-03-27   2023-03-27 /watches-zenith-pilot-line-switzerland.html Zeniths love letter to flight           By Nazanin Lankarani       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/nyregio Blow for Poor New Yorkers as Pandemic
2023-03-27   2023-03-27 n/food-stamps-snap-nyc.html                 Food Aid Ends                           By Emma G Fitzsimmons      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/nyregio Brooklyn Roots Then Big Law Shaped
2023-03-27   2023-03-27 n/hakeem-jeffries-profile.html              Jeffries                                By Nicholas Fandos         TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/27/nyregio Tribes Relations With Hochul Wither in a
2023-03-27   2023-03-27 n/kathy-hochul-native-americans-graves.html Clash Over Graves                          By Jay Root             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/sports/b A Critic of the Sport Finds a New Listener
2023-03-27   2023-03-27 aseball/joe-kelly-rob-manfred-book.html      The Chief of the Sport                    By Tyler Kepner         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/sports/b With Rule Changes a Timeless Game Is
2023-03-27   2023-03-27 aseball/rob-manfred-mlb-new-rules.html       Speeding Up                               By Tyler Kepner         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/article/mass-        130 US Mass Shootings This Year by One
2023-01-24   2023-03-28 shootings-2023.html                          Count                                     By The New York Times   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/10/well/fa
2023-03-10   2023-03-28 mily/sex-women-cancer-treatment.html         As Cancer Ruins Sex Lives Silence         By Catherine Pearson    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/science
2023-03-17   2023-03-28 /animal-cafes-japan-endangered.html          The Owl at the Next Table                 By Rachel Nuwer         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/17/well/m
2023-03-17   2023-03-28 ove/walking-exercise.html                    Feel Better By Walking                    By Jancee Dunn          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/20/well/co
                        lon-colorectal-cancer-symptoms-              Colon Cancer Risk Rising Among Young
2023-03-20   2023-03-28 screening.html                               Adults                                    By Trisha Pasricha      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/21/science
2023-03-21   2023-03-28 /volcanoes-smoke-rings-vapor.html            Trying to Decipher Volcanic Smoke Rings   By Carolyn Wilke        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/science
2023-03-22   2023-03-28 /astronomy-oumuamua-comet.html               Was a Mystery Visitor A Comet After All   By Dennis Overbye       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/well/liv
2023-03-22   2023-03-28 e/cortisol-stress-hormone.html               The Stress Hormone That Worries So Many By Dani Blum              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/arts/mu
2023-03-23   2023-03-28 sic/myke-towers-la-vida-es-una.html          More To Sing Along With                   By Cat Cardenas         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/science
2023-03-23   2023-03-28 /science-museums-online-collections.html     Big Museums Survey Natural History Troves By Carl Zimmer          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/well/mi
2023-03-23   2023-03-28 nd/anxiety-night-sleep.html                  Why Do I Feel More Anxious at Night       By Kiera Carter         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/arts/dan
                        ce/review-sara-baras-alma-flamenco-festival- Memorable Views While Riding in a Star
2023-03-24   2023-03-28 new-york.html                                Vehicle                                   By Brian Seibert        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/arts/mu
2023-03-24   2023-03-28 sic/renee-fleming-nixon-in-china-paris.html Fleming Channels a First Lady              By Ben Miller           TX 9-286-255   2023-05-02



                                                                              Page 5024 of 5793
                        https://www.nytimes.com/2023/03/24/arts/tele
2023-03-24   2023-03-28 vision/up-here-hulu-musical-robert-lopez.html Energetically Taking On the Episodic Musical By Elisabeth Vincentelli      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/health/s Income Gap Becomes a PhysicalActivity
2023-03-24   2023-03-28 ports-physical-education-children.html        Divide                                       By Matt Richtel               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/nyregio
                        n/the-lawmaker-whos-a-fan-and-defender-of-
2023-03-24   2023-03-28 tiktok.html                                   TikToks Unofficial Defender in Washington By James Barron                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/24/travel/h Hotels That Paused Daily Room Cleaning Are
2023-03-24   2023-03-28 otels-end-daily-cleaning.html                 Not Unpausing                                By Danielle Braff             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/health/ Among Patient Needs A Medical Escort
2023-03-25   2023-03-28 medical-escorts-seniors.html                  Home                                         By Paula Span                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/science
2023-03-25   2023-03-28 /archaeology-ancient-rome-tomb.html           Death Nails in Tomb Reveal Occult Practice By Franz Lidz                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/us/polit October Surprises and the Tawdry Tradition
2023-03-25   2023-03-28 ics/trump-october-surprise.html               of Suppressing Them                          By Jonathan Weisman           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/movies/
                        little-lionsgate-soars-to-the-top-with-john-
2023-03-26   2023-03-28 wick-ticket-sales.html                        Small Studio Huge Hit John Wick              By Brooks Barnes              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/26/opinion China Keeps Proving Financial Doomsayers
2023-03-26   2023-03-28 /china-finance-banking-evergrande-crisis.html Wrong                                       By Zhiwu Chen                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/26/sports/b Hes Here Yanks Move Top Prospect To the
2023-03-26   2023-03-28 aseball/anthony-volpe-yankees.html            Front                                       By Tyler Kepner                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/
                        25/sports/ncaabasketball/caitlin-clark-                                                   By Kris Rhim Bedel Saget and
2023-03-26   2023-03-28 iowa.html                                     Caitlin Clark Is Everywhere                 Marco Hernandez                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/arts/dan
                        ce/review-south-korean-dance-troupe-
2023-03-27   2023-03-28 bereishit.html                                Mixing Physical Risks and Daunting Tasks    By Siobhan Burke               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/arts/mu Bobbi Ercoline 73 Who Embodied Peace and
2023-03-27   2023-03-28 sic/bobbi-ercoline-dead.html                  Love in a Woodstock Hug                     By Alex Traub                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/arts/mu
                        sic/lana-del-rey-did-you-know-that-theres-a-
2023-03-27   2023-03-28 tunnel-under-ocean-blvd-review.html           Into the Deeps Without Leaving the Shallows By Lindsay Zoladz              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/books/
2023-03-27   2023-03-28 matthew-guterl-skinfolk.html                  A Noahs Ark Of a Family                     By Casey Schwartz              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/busines US Says Binance Hides Crypto Trading           By Emily Flitter and Matthew
2023-03-27   2023-03-28 s/binance-cftc-lawsuit.html                   Activity                                    Goldstein                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/busines Nations in Debt Seek Out China As Last
2023-03-27   2023-03-28 s/china-loans-bailouts-debt.html              Resort                                      By Keith Bradsher              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/busines The Holey Clog Is Transcending Pandemic
2023-03-27   2023-03-28 s/crocs-sales.html                            Chic                                        By Jordyn Holman               TX 9-286-255   2023-05-02




                                                                                  Page 5025 of 5793
                        https://www.nytimes.com/2023/03/27/busines
                        s/economy/fed-silicon-valley-bank-            In Silicon Valley Bank Collapse Officials Cite By Jeanna Smialek and Emily
2023-03-27   2023-03-28 mismanagement.html                            Mismanagement                                  Flitter                             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/busines
                        s/economy/world-bank-lost-decade-             World Bank Warns of Lost Decade for the
2023-03-27   2023-03-28 growth.html                                   Economy                                        By Alan Rappeport                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/busines
                        s/media/fox-news-fires-producer-              Fox News Fires Producer Who Accused
2023-03-27   2023-03-28 coercion.html                                 Network Of Coercion and More                   By Katie Robertson                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/busines FamilyRun Bank to Buy SVB In a
2023-03-27   2023-03-28 s/silicon-valley-bank-first-citizens.html     GovernmentBacked Deal                          By Lauren Hirsch                    TX 9-286-255   2023-05-02
                                                                      United Auto Workers Usher In a New Era of
                        https://www.nytimes.com/2023/03/27/busines Union Leadership Eager to Fight for Contract
2023-03-27   2023-03-28 s/united-auto-workers-shawn-fain.html         Gains                                          By Neal E Boudette                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/nyregio
                        n/anthony-broadwater-alice-sebold-wrongful- New York State Will Pay 55 Million To Man
2023-03-27   2023-03-28 conviction.html                               Exonerated in Authors Rape                     By Ed Shanahan and Karen Zraick     TX 9-286-255   2023-05-02
                                                                      New Jersey Attorney General Seizes
                        https://www.nytimes.com/2023/03/27/nyregio DaytoDay Control Of Troubled Paterson
2023-03-27   2023-03-28 n/nj-attorney-general-paterson-police.html    Police                                         By Tracey Tully                     TX 9-286-255   2023-05-02
                                                                                                                     By William K Rashbaum Kate
                        https://www.nytimes.com/2023/03/27/nyregio Former National Enquirer Publisher Testifies Christobek Ben Protess and Jonah
2023-03-27   2023-03-28 n/trump-grand-jury-witness-indictment.html Again in Trump HushMoney Inquiry                  E Bromwich                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/opinion The Crisis in Israel Has a Distinctly American
2023-03-27   2023-03-28 /israel-netanyahu-judiciary-protests.html     Flavor                                         By Aron Heller                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/opinion
2023-03-27   2023-03-28 /trump-bragg-waco-biden-medicare.html         Trump Would Like a Word                        By Gail Collins and Bret Stephens   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/science Human Power to Process Cues May Be Next
2023-03-27   2023-03-28 /ai-machine-learning-chatbots.html            Frontier for Bots                              By Oliver Whang                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/sports/f
                        ootball/kansas-city-chiefs-chiefsaholic-wolf- BigSpending NFL Superfan Charged With
2023-03-27   2023-03-28 costume.html                                  Robbing a Bank Goes Missing                    By Kevin Draper                     TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/27/sports/n Belief Overcomes All Hurdles Creating a
2023-03-27   2023-03-28 caabasketball/mens-final-four-preview.html Final Four That Strains Credulity           By Billy Witz                             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/sports/s Senator Seeking Details Of Schools Betting
2023-03-27   2023-03-28 ports-gambling-universities.html            Deals                                      By Kevin Draper                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/technol Founders of Lyft Will Step Down Amid
2023-03-27   2023-03-28 ogy/lyft-founders-resign.html               Layoffs and Disappointing Bottom Line      By Kellen Browning                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/technol StartUp Funding Was Cooling Collapse
2023-03-27   2023-03-28 ogy/silicon-valley-bank-start-ups.html      Brought a Bigger Chill                     By Erin Griffith                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/theater/
2023-03-27   2023-03-28 dia-y-noche-review.html                     A Pair of Opposites Unafraid to Intertwine By Elisabeth Vincentelli                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/us/glad Gladys Kessler Judge Who Curbed Deceptive
2023-03-27   2023-03-28 ys-kessler-dead.html                        Tobacco Ads Dies at 85                     By Richard Sandomir                       TX 9-286-255   2023-05-02



                                                                                   Page 5026 of 5793
                        https://www.nytimes.com/2023/03/27/us/imm
                        igration-republicans-border-alejandro-
2023-03-27   2023-03-28 mayorkas.html                             At Border GOP Takes Aim at Mayorkas           By Karoun Demirjian               TX 9-286-255   2023-05-02
                                                                                                                By Emily Cochrane Ben Shpigel
                        https://www.nytimes.com/2023/03/27/us/nash Heavily Armed Assailant Kills 6 at School in Michael Levenson and Jesus
2023-03-27   2023-03-28 ville-shooting-covenant-school.html         Nashville                                   Jimnez                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/us/polit
2023-03-27   2023-03-28 ics/biden-israel-netanyahu.html             Biden Administration Put Pressure on Israel By David E Sanger                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/us/polit Biden Limits Agencies Use Of a Class Of
2023-03-27   2023-03-28 ics/biden-spyware-executive-order.html      Spyware                                     By Mark Mazzetti                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/us/polit In Chicago Mayors Race Police Union
2023-03-27   2023-03-28 ics/chicago-mayor-race.html                 Squares Off Against Citys Teachers          By Jonathan Weisman               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/us/polit
2023-03-27   2023-03-28 ics/drone-strike-base-syria.html            US Holds Off on More Airstrikes in Syria    By Eric Schmitt                   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/27/us/polit North Carolina Becomes 40th State to Expand
2023-03-27   2023-03-28 ics/north-carolina-medicaid-expansion.html Medicaid                                       By Sheryl Gay Stolberg          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/us/supr Supreme Court Weighs Free Speech
2023-03-27   2023-03-28 eme-court-immigration-free-speech.html       Challenge To an Immigration Law              By Adam Liptak                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/us/supr Court Agrees To Hear Case On Disability
2023-03-27   2023-03-28 eme-court-maine-disability.html              And Hotels                                   By Adam Liptak                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/world/a Harris Looks to Deepen US Bond With            By Zolan KannoYoungs and Abdi
2023-03-27   2023-03-28 frica/kamala-harris-visit.html               Africa Promising a New Path                  Latif Dahir                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/world/a Taiwans ExPresident Visits China in Trip
2023-03-27   2023-03-28 sia/taiwan-china-ma-visit.html               Studied for Clues on Ties                    By Chris Horton                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/world/e Bidens Trip to Belfast Is Igniting Concerns By Mark Landler and Michael D
2023-03-27   2023-03-28 urope/biden-ireland-trip-king-charles.html   About Slighting King                         Shear                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/world/e Transit Strike Brings Commutes to a Halt in
2023-03-27   2023-03-28 urope/germany-transport-strike.html          Germany                                      By Christopher F Schuetze       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/world/e
                        urope/scotland-snp-new-leader-humza-         Scotlands Top Party Reeling From Splits
2023-03-27   2023-03-28 yousaf.html                                  Picks New Head                               By Stephen Castle               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/world/e
2023-03-27   2023-03-28 urope/ukraine-giant-plane-mriya.html         Restoring The Pride Of Ukraine Stirs Dissent By Andrew E Kramer              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/world/e
                        urope/un-ukraine-zaporizhzhia-nuclear-       UN Official Heads to Ukraine Nuclear Plant
2023-03-27   2023-03-28 plant.html                                   as Safety Fears Grow                         By Matthew Mpoke Bigg           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/world/ Netanyahu Delays Bid To Overhaul Judiciary By Patrick Kingsley Isabel
2023-03-27   2023-03-28 middleeast/israel-judiciary-protests.html    As Turmoil Grips Israel                      Kershner and Eric Nagourney     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/world/
2023-03-27   2023-03-28 middleeast/israel-netanyahu-courts.html      A Leaders Balancing Act Proves Shaky         By Patrick Kingsley             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/interactive/2023/03/                                              By Mark Abramson and Adeel
2023-03-27   2023-03-28 27/us/california-flood-photos.html           The Scramble to Save Californias Heartland Hassan                            TX 9-286-255   2023-05-02




                                                                               Page 5027 of 5793
                        https://www.nytimes.com/2023/03/27/sports/n Tenacity Puts S Carolina in 3rd Straight Final
2023-03-28   2023-03-28 caabasketball/march-madness-monday.html Four                                               By Kris Rhim and Talya Minsberg   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/us/torn After Tragedy a Town Embarks on a Long          By Rick Rojas and Sarah Kramer
2023-03-28   2023-03-28 ado-storms-mississippi-rolling-fork.html    Path to Recovery                               Ozbun                             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/busines                                                 By Noam Scheiber and Julie
2023-03-28   2023-03-28 s/starbucks-howard-schultz-senate.html      Labor Hearing Focuses On Starbucks ExCEO Creswell                                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/science This Einstein Was a Math Puzzle to Be
2023-03-28   2023-03-28 /mathematics-tiling-einstein.html           Solved                                         By Siobhan Roberts                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/22/busines Eternal Search for a Public Bathroom
2023-03-22   2023-03-29 s/public-restrooms-bathrooms-us-city.html    Solution                                    By Jen A Miller                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/22/dining/
2023-03-22   2023-03-29 drinks/2021-german-kabinett-riesling.html    A Leap Backward for Kabinett Rieslings      By Eric Asimov                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/arts/irel Incentive Program Offers Artists A Means to
2023-03-23   2023-03-29 and-basic-income-artists.html                Create                                      By Alex Marshall                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/dining/
2023-03-23   2023-03-29 passover-egg-recipe.html                     This Egg and Onion Dish Always Has a Place By Joan Nathan                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/dining/
2023-03-23   2023-03-29 pineapple-ham-recipes.html                   Pineapple and Ham A Perfect Union           By Eric Kim                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/dining/r
2023-03-23   2023-03-29 estaurant-supply-store-deals.html            What to Buy There                           By Christina Morales                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/23/dining/r
2023-03-23   2023-03-29 estaurant-supply-store.html                  Shop as if Youre a Chef                     By Christina Morales                TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/24/arts/tele Taking Great Expectations Down Darker
2023-03-24   2023-03-29 vision/great-expectations-steven-knight.html Alleys                                      By Roslyn Sulcas                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/arts/mu
2023-03-27   2023-03-29 sic/morgan-wallen-billboard-chart.html       One Thing at a Time Is No 1 Again           By Ben Sisario                      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/27/arts/tele
2023-03-27   2023-03-29 vision/yellowjackets-creators-interview.html Outsiders Write Their Way In               By Chris Vognar                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/dining/t
2023-03-27   2023-03-29 omb-sweeping-day-food.html                   Fading Feasts of Tomb Sweeping Day         By Clarissa Wei                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/nyregio New Yorks Mayor Proposes a Composting
2023-03-27   2023-03-29 n/composting-mandate.html                    Mandate for Yard Waste                     By Emma G Fitzsimmons                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/opinion The Solution to Our Worker Shortage Isnt
2023-03-27   2023-03-29 /child-labor-laws.html                       Child Labor                                By Terri Gerstein                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/arts/cou
2023-03-28   2023-03-29 rbet-nazi-restitution-cambridge.html         A Looted Courbet To Be Returned            By Julia Jacobs                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/arts/em Emily Fisher Landau Theft Victim Turned Art
2023-03-28   2023-03-29 ily-fisher-landau-dead.html                  Patron Dies at 102                         By Joseph Giovannini                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/arts/mu
2023-03-28   2023-03-29 sic/bitches-brew-london-brew.html            Bitches Brew Infused With a Taste of Stout By Marcus J Moore                    TX 9-286-255   2023-05-02




                                                                                 Page 5028 of 5793
                        https://www.nytimes.com/2023/03/28/arts/mu
                        sic/lise-davidsen-rosenkavalier-met-opera-
2023-03-28   2023-03-29 review.html                                A Radiant Soprano Rises and Shines            By Joshua Barone                   TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/28/arts/mu
2023-03-28   2023-03-29 sic/philip-glass-phelim-mcdermott-music.html Never Meet Your Hero His Didnt Disappoint   By Zachary Woolfe                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/books/b Bill Zehme 64 Author Who Showed
2023-03-28   2023-03-29 ill-zehme-dead.html                          Celebrities Were Human After All            By Sam Roberts                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/busines
2023-03-28   2023-03-29 s/alibaba-china-e-commerce.html              Alibaba Says It Will Split Into 6 Units     By Daisuke Wakabayashi             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/busines
2023-03-28   2023-03-29 s/china-local-finances-debt.html             Chinas Cities Splurge and Debt Piles Up     By Li Yuan                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/busines Labor Department Cites Dollar General as a
2023-03-28   2023-03-29 s/dollar-general-osha-fines.html             Severe Violator of Safety Standards         By Michael Corkery                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/busines
                        s/economy/jobs-ai-artificial-intelligence-
2023-03-28   2023-03-29 chatgpt.html                                 For Workers Promise of AI Is a Threat Too   By Lydia DePillis and Steve Lohr   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/busines
2023-03-28   2023-03-29 s/economy/svb-banks-fed-hearing.html         Fed Blames Executives For SVB Fall          By Jeanna Smialek                  TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/28/busines Biden Faces Rebukes For Skipping Congress
2023-03-28   2023-03-29 s/economy/us-japan-battery-trade-deal.html In Japan Trade Deal                          By Ana Swanson                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/busines Prosecutors Raid Frances Biggest Banks in a
2023-03-28   2023-03-29 s/france-bank-raid-tax-fraud.html          Widening Tax Fraud Investigation             By Liz Alderman                     TX 9-286-255   2023-05-02
                                                                   New Indictment Charges BankmanFried With
                        https://www.nytimes.com/2023/03/28/busines Bribery in a 40 Million Payoff to Chinese
2023-03-28   2023-03-29 s/ftx-sam-bankman-fried-bribery.html       Officials                                    By Matthew Goldstein                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/dining/
2023-03-28   2023-03-29 croissant-types.html                       Layers of Innovation                         By Julia Moskin                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/dining/ The Atoboy Team Returns With Seoul Salon
2023-03-28   2023-03-29 nyc-restaurant-news.html                   in Koreatown                                 By Florence Fabricant               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/health/ Access to Narcan May Get Easier but Price Is
2023-03-28   2023-03-29 narcan-otc-price.html                      a Hurdle                                     By Jan Hoffman                      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/28/health/ Hospitals See a Spike in Children Who Tried
2023-03-28   2023-03-29 pediatric-mental-health-hospitalizations.html to Harm Themselves a Study Finds         By Ellen Barry                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/nyregio
                        n/mta-congestion-pricing-pollution-           MTA Could Put Millions Toward Fighting
2023-03-28   2023-03-29 bronx.html                                    Pollution                                By Ana Ley                           TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/28/opinion
2023-03-28   2023-03-29 /israel-protest-bibi-netanyahu-democracy.html In Israel Democracy Still Holds            By Bret Stephens                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/opinion
2023-03-28   2023-03-29 /israel-protests-benjamin-netanyahu.html      Netanyahu Cannot Be Trusted                By Thomas L Friedman               TX 9-286-255   2023-05-02




                                                                                  Page 5029 of 5793
                        https://www.nytimes.com/2023/03/28/sports/b What Us Worry Mets Lose Daz But Not All
2023-03-28   2023-03-29 aseball/mets-season-preview.html            Hope                                         By Tyler Kepner                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/sports/f
                        ootball/lamar-jackson-aaron-rodgers-        Cliffhangers in the Dueling Quarterback
2023-03-28   2023-03-29 trade.html                                  Dramas                                       By Victor Mather                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/sports/n South Carolina Returns to Final Four to Find
2023-03-28   2023-03-29 caabasketball/womens-final-four.html        a Different Cast of Challengers              By Kris Rhim                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/sports/o
                        lympics/ioc-russia-belarus-paris-           Athletes From Russia and Belarus May Get a
2023-03-28   2023-03-29 olympics.html                               Path to Qualification                        By Tariq Panja                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/technol After Drubbing Defending TikTok Chief         By Sapna Maheshwari and Kalley
2023-03-28   2023-03-29 ogy/tiktok-users-defend-app.html            Goes Viral                                   Huang                             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/us/adna Court Reinstates Conviction For Serial        By Michael Levenson and Abbie
2023-03-28   2023-03-29 n-syed-serial-conviction-reinstated.html    Podcast Subject                              VanSickle                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/us/geor George Nassar 86 Killer Who Heard
2023-03-28   2023-03-29 ge-nassar-dead.html                         Confession in Boston Strangler Case          By Richard Sandomir               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/us/mexi US Border Policies Create Volatile Logjam in By Miriam Jordan and Edgar
2023-03-28   2023-03-29 co-border-migrants-shelters.html            Mexico                                       Sandoval                          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/us/nash Nashville in Anguish After Horror Strikes     By Emily Cochrane Eliza Fawcett
2023-03-28   2023-03-29 ville-shooting-victims.html                 Haven                                        Jesus Jimnez and Rick Rojas       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/us/polit
                        ics/alejandro-mayorkas-senate-hearing-      Taking Aim at Biden Republicans Jab Chief
2023-03-28   2023-03-29 republicans.html                            Of Homeland Security                         By Karoun Demirjian               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/us/polit
2023-03-28   2023-03-29 ics/biden-democracy-summit.html             Defending Democracy When Turmoil Reigns By Michael Crowley                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/us/polit Biden Puts Spotlight On Economic Package
2023-03-28   2023-03-29 ics/biden-economy.html                      Ahead of 2024 Race                           By Katie Rogers                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/us/polit Biden Says He Is Powerless To Act on Guns
2023-03-28   2023-03-29 ics/biden-guns-congress.html                by Himself                                   By Michael D Shear                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/us/polit
                        ics/chris-christie-donald-trump-            Christie Weighing a 2024 Presidential Run
2023-03-28   2023-03-29 republicans.html                            Takes Aim at Trump in New Hampshire          By Trip Gabriel                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/us/polit Hospitals at Risk As State Rejects Medicaid
2023-03-28   2023-03-29 ics/mississippi-medicaid-hospitals.html     Funds                                        By Sharon LaFraniere              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/us/polit In Setback to Trump Judge Says Pence Must By Alan Feuer and Maggie
2023-03-28   2023-03-29 ics/pence-testify-jan-6-grand-jury.html     Testify to Jan 6 Grand Jury                  Haberman                          TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/28/us/polit Judge Signals Impatience With Lack of
2023-03-28   2023-03-29 ics/september-11-plea-deal-guantanamo.html Progress Into Plea Talks for 911 Suspects    By Carol Rosenberg                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/us/polit
                        ics/state-dept-tribunal-ukraine-war-                                                    By Glenn Thrush and Charlie
2023-03-28   2023-03-29 crimes.html                                 US Seeks Joint Court to Try Russian Leaders Savage                             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/us/polit As Money Pours Into Court Race Wisconsin
2023-03-28   2023-03-29 ics/wisconsin-supreme-court-race.html       Looms as Bellwether                         By Reid J Epstein                  TX 9-286-255   2023-05-02




                                                                                Page 5030 of 5793
                        https://www.nytimes.com/2023/03/28/us/rand Randall Robinson Catalyst in Fight Against
2023-03-28   2023-03-29 all-robinson-dead.html                     Apartheid Dies at 81                             By Sam Roberts                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/world/a Harris Stops to Visit Former Slave Port
2023-03-28   2023-03-29 frica/kamala-harris-ghana-slavery.html     Connecting Grim History to the Present    By Zolan KannoYoungs              TX 9-286-255      2023-05-02
                                                                                                             By Roco Gallegos Natalie Kitroeff
                        https://www.nytimes.com/2023/03/28/world/a                                           Emiliano Rodrguez Mega and
2023-03-28   2023-03-29 mericas/mexico-fire-ciudad-juarez.html     Desperation At the Border Then a Blaze    Simon Romero                      TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/28/world/e Amid Ruins and Explosions Some Ukrainians By Yousur AlHlou and Masha
2023-03-28   2023-03-29 urope/avdiivka-ukraine.html                Refuse to Leave Home                      Froliak                           TX 9-286-255      2023-05-02

                        https://www.nytimes.com/2023/03/28/world/e Resurgent Protests Leave France Caught in a
2023-03-28   2023-03-29 urope/france-protests-pensions-macron.html Tense Impasse                                    By Aurelien Breeden           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/world/e KnifeWielding Attacker Kills 2 Women at
                        urope/ismaili-muslim-center-lisbon-            Muslim Center in Portugal Before Police
2023-03-28   2023-03-29 attack.html                                    Arrest Him                                   By Emma Bubola                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/world/e Charles Drops French Visit From His Trip
2023-03-28   2023-03-29 urope/king-charles-germany-visit.html          To Continent                                 By Jenny Gross                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/world/e
                        urope/king-charles-look-alikes-                For Impersonators of a Prince Its Good to
2023-03-28   2023-03-29 impersonators.html                             Finally Be the King                          By Jenny Gross                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/world/e A Childs Drawing a Fathers Antiwar Posts
2023-03-28   2023-03-29 urope/russia-repression-children.html          and Russias Latest Orphan                    By Valerie Hopkins            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/world/e Why Pictures of Artillery Tanks and Planes
2023-03-28   2023-03-29 urope/ukraine-cards-nato-weapons.html          Replace Kings Queens and Jacks               By Lara Jakes                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/world/e
                        urope/ukraine-zaporizhzhia-nuclear-plant-      Torture Interrogations And Nuclear Perils
2023-03-28   2023-03-29 grossi.html                                    Insider Tells of Abuses At RussianHeld Plant By Marc Santora               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/world/
                        middleeast/israel-netanyahu-judicial-          Israeli Government and Opposition Open
2023-03-28   2023-03-29 overhaul.html                                  Talks Toward a Compromise                    By Patrick Kingsley           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/world/ Behind the Protests in Israel Fears of Drifting
2023-03-28   2023-03-29 middleeast/israel-protests-netanyahu.html      Away From Democracy                          By Emily Bazelon              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/theater/
                        according-to-the-chorus-review-backstage-      What Happens Backstage Is Now Front and
2023-03-29   2023-03-29 truths.html                                    Center                                       By Elisabeth Vincentelli      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/insider/
                        after-earthquake-a-turkish-journalist-debates-
2023-03-29   2023-03-29 leaving-home.html                              In Turkey Debating Whether to Leave or Stay By Nimet Kirac                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/sports/r As Regional Sports Networks Collapse How
2023-03-29   2023-03-29 egional-sports-networks-bankruptcy.html        Will You Watch Your Team                     By Kevin Draper               TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/23/t-                                                       By Nick Haramis and Laurent
2023-03-23   2023-03-30 magazine/harry-nuriev-apartment-design.html People Places Things                            Kronental                     TX 9-286-255   2023-05-02




                                                                                   Page 5031 of 5793
                        https://www.nytimes.com/2023/03/24/style/ru
2023-03-24   2023-03-30 pert-murdoch-engaged-ann-lesley-smith.html Advantage the Male Billionaire in His 90s    By Rhonda Garelick          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/25/style/su
2023-03-25   2023-03-30 ccession-gerri-j-smith-cameron.html           An Eye Roll Worth Following               By Penelope Green           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/style/iv Ivan Bart Changed the Notion of Whats
2023-03-27   2023-03-30 an-bart-img-models.html                       Beautiful                                 By Chantal Fernandez        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/style/th Their Last First Date Wasnt a Minute Too
2023-03-27   2023-03-30 e-moment-they-knew.html                       Soon                                      By Gina Cherelus            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/27/theater/
                        james-brown-wore-curlers-review-yasmina- A Transformative Moment For One Celine
2023-03-27   2023-03-30 reza.html                                     Dion Fan                                  By AJ Goldmann              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/arts/ann Ann Wilson Last Survivor of an Influential
2023-03-28   2023-03-30 wilson-dead.html                              Art Scene Dies at 91                      By Alex Williams            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/arts/tele
2023-03-28   2023-03-30 vision/rob-lowe-unstable.html                 Transforming Mockery Into Comedy          By Alexis Soloski           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/busines
                        s/chief-corporate-women-networking-           Is Amassing Power for Corporate Women a
2023-03-28   2023-03-30 club.html                                     Worthy Goal in Itself                     By Emma Goldberg            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/style/bi
2023-03-28   2023-03-30 g-shoulders-trend.html                        The Great Shoulder Resurgence of 2023     By Vanessa Friedman         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/28/world/a In Myanmar Junta Voids 40 Parties Opposing
2023-03-29   2023-03-30 sia/myanmar-election.html                     It                                        By SuiLee Wee               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/arts/mu
                        sic/john-luther-adams-vespers-of-the-blessed-
2023-03-29   2023-03-30 earth.html                                    A Composer Praying for the Earth in Music By David Allen              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/arts/wal Walter Cole 92 Who Earned Record As the
2023-03-29   2023-03-30 ter-cole-dead.html                            Worlds Oldest Drag Performer              By Penelope Green           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/books/d DM Thomas 88 Author of Surprise Hit White
2023-03-29   2023-03-30 m-thomas-dead.html                            Hotel Is Dead                             By William Grimes           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/books/j Julie Anne Peters 71 Who Wrote Novels for
2023-03-29   2023-03-30 ulie-anne-peters-dead.html                    Queer Youth That Caused a Stir            By Neil Genzlinger          TX 9-286-255   2023-05-02
                                                                      UBS Brings Back a Former Chief Executive
                        https://www.nytimes.com/2023/03/29/busines to Manage Its Takeover of Troubled Credit
2023-03-29   2023-03-30 s/dealbook/ubs-ceo-ermotti.html               Suisse                                    By Michael J de la Merced   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/busines
                        s/economy/howard-schultz-starbucks-union- Longtime Starbucks Chief Spars With the
2023-03-29   2023-03-30 senate.html                                   Party That Once Embraced Him              By Noam Scheiber            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/busines Macys Shuffles Top Leadership Chief to
2023-03-29   2023-03-30 s/macys-tony-spring-jeff-gennette.html        Leave                                     By Jordyn Holman            TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/29/busines By Shuttering Marvel Entertainment Disney
2023-03-29   2023-03-30 s/media/disney-marvel-ike-perlmutter.html  Also Sheds an Irascible Gadfly              By Brooks Barnes             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/busines Trump Returns to Fox News and Receives a
2023-03-29   2023-03-30 s/media/trump-fox-desantis-hannity.html    Chilly Reception From Fox News              By Michael M Grynbaum        TX 9-286-255   2023-05-02



                                                                                Page 5032 of 5793
                        https://www.nytimes.com/2023/03/29/climate A Tiny Nations Move on Climate Change
2023-03-29   2023-03-30 /united-nations-vanuatu.html               Wins Applause at the UN                          By Somini Sengupta     TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/29/dining/
2023-03-29   2023-03-30 craftsmanship-confectionery-kyoto-japan.html In Japan onebite works of art                  By Vivian Morelli      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/fashion
2023-03-29   2023-03-30 /craftsmanship-aluminum-jewelry.html         The allure of aluminum                         By Amy Elliott         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/fashion
2023-03-29   2023-03-30 /craftsmanship-book-lei-hawaii.html          The loving legacy of a renaissance lei maker   By Victoria Gomelsky   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/fashion
                        /craftsmanship-leather-whitaker-malem-
2023-03-29   2023-03-30 london.html                                  Helping heroes look super                      By Mark C OFlaherty    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/fashion
2023-03-29   2023-03-30 /craftsmanship-macrame.html                  Macram makes a comeback                        By Melanie Abrams      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/fashion
2023-03-29   2023-03-30 /craftsmanship-paper-flowers-london.html     Flowers that never die                         By Jessica Bumpus      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/fashion
                        /craftsmanship-silver-ndidi-ekubia-
2023-03-29   2023-03-30 manchester-england.html                      A calling made of silver                       By Annabel Davidson    TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/29/fashion
2023-03-29   2023-03-30 /craftsmanship-tartan-registry-scotland.html How to design your own tartan              By Susanne Fowler          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/fashion
2023-03-29   2023-03-30 /craftsmanship-tartan-scotland.html          Tartan explodes the grid                   By Susanne Fowler          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/fashion
                        /exhibition-georgian-era-rihanna-lizzo-
2023-03-29   2023-03-30 london.html                                  Fashion fit for royalty                    By Rachel Felder           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/health/c
                        ovid-vaccine-astra-zeneca-women-heart-       Study Raises Concern on Covid Vaccine Used
2023-03-29   2023-03-30 risk.html                                    Outside US                                 By Apoorva Mandavilli      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/health/ Answers to 10 Questions About Narcan a
2023-03-29   2023-03-30 narcan-naloxone-opioids-questions.html       Medical Fire Extinguisher                  By Jan Hoffman             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/health/ FDA Will Make AntiOpioid Drug Widely
2023-03-29   2023-03-30 narcan-over-the-counter.html                 Available                                  By Jan Hoffman             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/movies/
2023-03-29   2023-03-30 john-wick-4-action-scene.html                All That Action Step by Step by Step       By Esther Zuckerman        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/movies/
2023-03-29   2023-03-30 new-directors-new-films-festival.html        PostAwards Season A Place to Recharge      By Manohla Dargis          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/nyregio Court Lifts Ban on Legal Weed Shops in
2023-03-29   2023-03-30 n/cannabis-licenses-marijuana.html           Brooklyn Buffalo and Beyond                By Ashley Southall         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/nyregio
2023-03-29   2023-03-30 n/flatiron-building-buyer.html               190 Million Bidder Defaults on Flatiron    By Corey Kilgannon         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/nyregio In Rare Show of Force House Democrats
2023-03-29   2023-03-30 n/hochul-renewable-energy-aoc.html           Pressure Hochul on Climate Bill            By Grace Ashford           TX 9-286-255   2023-05-02




                                                                                  Page 5033 of 5793
                        https://www.nytimes.com/2023/03/29/nyregio Indictments Issued in Deaths of Men Drugged By Liam Stack and Chelsia Rose
2023-03-29   2023-03-30 n/indictments-nyc-gay-bars-homicide.html    at Manhattan Gay Bars and Robbed            Marcius                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/nyregio Lawyers Diary Supports His SelfDefense
2023-03-29   2023-03-30 n/james-ray-murder-trial-montclair.html     Claim                                       By Tracey Tully                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/nyregio Hochul Seeks Help From Suburbs to Fix New By Mihir Zaveri Luis FerrSadurn
2023-03-29   2023-03-30 n/nyc-suburbs-homes-hochul.html             Yorks Housing Crisis                        and Michael D Regan             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/nyregio Smart Who Plotted With a Teen Lover To
2023-03-29   2023-03-30 n/pamela-smart-husband-killing.html         Kill Her Husband Loses a Parole Bid         By Corey Kilgannon              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/opinion A Ban on a Film Is a Ban on American
2023-03-29   2023-03-30 /florida-school-disney-ruby-bridges.html    History                                     By Charles M Blow               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/opinion
2023-03-29   2023-03-30 /india-economic-growth.html                 Can India Change the World                  By Nicholas Kristof             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/opinion                                              By Sylvia Ryerson and Judah
2023-03-29   2023-03-30 /kentucky-prison-flood.html                 They Need Flood Relief Not Another Prison Schept                            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/sports/b
2023-03-29   2023-03-30 aseball/atlanta-braves-matt-olson.html      Feeling the Pull to Play at Home in Atlanta By James Wagner                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/sports/b The Stars Have Aligned As a New Season
2023-03-29   2023-03-30 aseball/opening-day-starters.html           Begins                                      By Benjamin Hoffman             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/sports/f A Story of Zero Interest The NFL Alters Its
2023-03-29   2023-03-30 ootball/number-0-nfl-jerseys.html           Uniform Policy                              By Victor Mather                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/sports/n
                        caabasketball/uconn-adama-sanogo-           Hes Fasting by Day And Leading UConn In
2023-03-29   2023-03-30 ramadan.html                                Scoring by Night                            By Scott Miller                 TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/29/sports/n The Equity Gap Is Closing but the Path
2023-03-29   2023-03-30 caabasketball/womens-basketball-equity.html Forward Is Uncharted                         By Billy Witz                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/sports/s
2023-03-29   2023-03-30 occer/china-soccer.html                     In China Billions Spent on a Withering Dream By Tariq Panja                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/sports/s On Cusp of World Cup France Hires New
2023-03-29   2023-03-30 occer/herve-renard-france-world-cup.html    Coach                                        By Tom Nouvian                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/sports/s
                        ports-betting-universities-pointsbet-       University and Gambling Firm End Their
2023-03-29   2023-03-30 caesars.html                                Deal                                         By Kevin Draper                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/style/g Court Sense Using a Wardrobe as a Tool for
2023-03-29   2023-03-30 wyneth-paltrow-trial-outfits.html           Persuasion                                   By Vanessa Friedman            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/technol                                               By Kellen Browning and Chang
2023-03-29   2023-03-30 ogy/activision-netease-china-breakup.html   In a Breakup Over China Gamers Pay           Che                            TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/29/technol Tech Leaders Urge a Pause in AI Citing           By Cade Metz and Gregory
2023-03-29   2023-03-30 ogy/ai-artificial-intelligence-musk-risks.html Profound Risks to Society                    Schmidt                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/technol
                        ogy/personaltech/ai-chatgpt-google-bard-       In Battle of the Bots Human Assistants Are
2023-03-29   2023-03-30 assistant.html                                 the Real Losers                              By Brian X Chen             TX 9-286-255   2023-05-02




                                                                                   Page 5034 of 5793
                        https://www.nytimes.com/2023/03/29/technol The Owner Of TikTok Is Pushing A New         By Sapna Maheshwari and
2023-03-29   2023-03-30 ogy/tiktok-lemon8-content-creators.html     App                                         Madison Malone Kircher          TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/theater/ Be Wary of the Beasts They May Want
2023-03-29   2023-03-30 drive-your-plow-review-complicite.html      Revenge                                     By Houman Barekat               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/theater/
2023-03-29   2023-03-30 tashnuva-anan-public-obscenities.html       Making So Many Crucial Journeys             By Maya Salam                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/us/kent Kentucky Legislature Overrides Governors     By Campbell Robertson and
2023-03-29   2023-03-30 ucky-anti-transgender-bill.html             Veto of AntiTransgender Bill                Ernesto Londoo                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/us/polit Bidens Public Clash With Netanyahu Had      By Katie Rogers and Michael
2023-03-29   2023-03-30 ics/biden-netanyahu-confrontation.html      Been Brewing for Years                      Crowley                         TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/us/polit Congress Votes to Roll Back Biden
2023-03-29   2023-03-30 ics/congress-biden-clean-water-rule.html    Administrations Water Protections           By Carl Hulse                   TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/us/polit
                        ics/congress-iraq-war-powers-               Decades Later Senate Votes to Repeal Iraq
2023-03-29   2023-03-30 authorization.html                          Combat Authorizations                       By Karoun Demirjian             TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/us/polit
                        ics/house-republicans-debt-limit-budget-    House GOP Faces Internal Headwinds as It
2023-03-29   2023-03-30 biden.html                                  Prepares Its Budget Plan                    By Catie Edmondson              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/us/polit Democrats Holding the Reins in a Deeply
2023-03-29   2023-03-30 ics/michigan-democrats-whitmer.html         Divided Michigan Test Their Mettle          By Katie Glueck                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/us/polit In Washington a Shared Shrug at Gun Control
2023-03-29   2023-03-30 ics/nashville-shooting-gop-action.html      Despite Mass Shootings                      By Annie Karni                  TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/us/polit
2023-03-29   2023-03-30 ics/republicans-young-voters-college.html   GOP Setbacks In Limiting Voters             By Neil Vigdor                  TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/29/us/polit Justices and Federal Judges Must Disclose
2023-03-29   2023-03-30 ics/supreme-court-trips-gifts-disclosures.html Travel and Gifts Under New Ethics Rules   By Abbie VanSickle              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/us/polit Justice System Is Weaponized Trump Says      By Michael S Schmidt and Maggie
2023-03-29   2023-03-30 ics/trump-justice-system-weaponized.html       Without Irony                             Haberman                        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/us/richa Acolyte of the Left Aims to Kill RaceBased
2023-03-29   2023-03-30 rd-kahlenberg-affirmative-action.html          College Admission                         By Anemona Hartocollis         TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/us/supr
                        eme-court-mercenary-confrontation-             One Confession 2 Suspects And Balancing
2023-03-29   2023-03-30 clause.html                                    Constitution                              By Adam Liptak                 TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/29/world/a Football Yankees Basketball Yankees
2023-03-29   2023-03-30 mericas/yankees-caps-brazil.html           Brazilians Dont Care They Just Want the Cap By Jack Nicas                    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/world/a With a Pliant Judiciary Modi Tightens His   By Mujib Mashal Suhasini Raj and
2023-03-29   2023-03-30 sia/modi-india-gandhi-judiciary.html       Grip on India                               Karan Deep Singh                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/world/a In US Visit Taiwans Leader Balances         By Amy Chang Chien and Chris
2023-03-29   2023-03-30 sia/taiwan-president-us-china.html         Alliance Against Angering Beijing           Horton                           TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/29/world/e Amsterdam Acts to Repel UK Tourists Who
2023-03-29   2023-03-30 urope/amsterdam-uk-tourists-stay-away.html Go Nuts                                 By Claire Moses                      TX 9-286-255    2023-05-02




                                                                                 Page 5035 of 5793
                        https://www.nytimes.com/2023/03/29/world/e EU Leaders Keep Beijing on Itinerary Despite By Steven Erlanger and Matina
2023-03-29   2023-03-30 urope/china-european-union-us.html         Pressure by US to Pick Sides                 StevisGridneff                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/world/e
                        urope/interpreter-israel-protests-
2023-03-29   2023-03-30 netanyahu.html                             How Israeli Protests Forced a Change         By Amanda Taub                   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/world/e
                        urope/king-charles-camilla-visit-          Germans Welcome Charles In His First         By Christopher F Schuetze and
2023-03-29   2023-03-30 germany.html                               Travel as King                               Jenny Gross                      TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/world/e Pope Francis Hospitalized After Tests Find By Jason Horowitz and Elisabetta
2023-03-29   2023-03-30 urope/pope-francis-hospital-tests.html     Infection                                    Povoledo                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/world/e Ukraine Vows To Evict Monks And Priests
2023-03-29   2023-03-30 urope/ukraine-russia-orthodox-monks.html   In Monastery                                 By Matthew Mpoke Bigg            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/world/e Battered RustBelt Industry Drives the
2023-03-29   2023-03-30 urope/ukraine-steel-plants-war.html        Resistance                                   By Finbarr OReilly               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/world/e UN Inspector Warns Both Sides Are Massing
2023-03-29   2023-03-30 urope/ukraine-zaporizhzhia-fighting.html   Near Nuclear Plant                           By Matthew Mpoke Bigg            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/29/world/a                                              By Simon Romero Natalie Kitroeff
2023-03-30   2023-03-30 mericas/fire-mexico-migrants.html          Mexico Treats Border Deaths As Homicides and Eileen Sullivan                  TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/30/sports/n Student Pep Bands Keep the School Spirit
2023-03-30   2023-03-30 caabasketball/pep-bands-march-madness.html Flowing and the Arenas Rocking               By Talya Minsberg               TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/30/style/str
2023-03-30   2023-03-30 eet-style-hair-inspiration.html              Interesting Hair Is All Around You         By Simbarashe Cha                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/us/guo-                                              By Michael Forsythe and Benjamin
2023-03-30   2023-03-30 wengui-china.html                            Fall of Mogul From Empire To a Jail Cell   Weiser                           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/live/2023/03/30/nyr
                        egion/trump-indictment-news/trump-
2023-03-27   2023-03-31 indictment-2024-election                     ExPresidents 2024 Hopes in Limbo           By Maggie Haberman              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/28/opinion
                        /how-can-we-be-a-country-that-does-this-to- Judge America by the Number of Small
2023-03-28   2023-03-31 our-children.html                            Coffins It Tolerates                       By Esau McCaulley               TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/29/arts/des
2023-03-29   2023-03-31 ign/aura-rosenberg-artist-pioneer-space.html Heres How to Be Seriously Playful          By Travis Diehl                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/movies/
2023-03-29   2023-03-31 im-an-electric-lampshade-review.html         Im an Electric Lampshade                   By Teo Bugbee                   TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/29/world/a Indonesia Loses a Soccer Event Over Protests
2023-03-29   2023-03-31 sia/indonesia-israel-world-cup-soccer.html  Against Israel                              By SuiLee Wee and Victor Mather TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/us/nash After Mass Shootings Republicans Push        By Mike Baker Serge F Kovaleski
2023-03-30   2023-03-31 ville-gun-laws.html                         Harder to Curb Limits on Guns               and Glenn Thrush                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/29/us/polit
                        ics/ron-desantis-donald-trump-crime-        DeSantis Leans Into ToughonCrime Image to By Maggie Haberman and Jonathan
2023-03-30   2023-03-31 2024.html                                   Take On Trump in 2024                       Swan                            TX 9-286-255    2023-05-02




                                                                                 Page 5036 of 5793
                        https://www.nytimes.com/2023/03/30/arts/dan Sharing Maori Stories Through Pulsating
2023-03-30   2023-03-31 ce/review-atamira-dance-new-zealand.html Motion                                              By Brian Seibert       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/arts/des
2023-03-30   2023-03-31 ign/gego-guggenheim-review.html                   Her Sculptural DNA Twining for All to See By Holland Cotter       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/arts/ma
                        rk-russell-piano-playing-political-satirist-dies- Mark Russell 90 PianoPlaying Political
2023-03-30   2023-03-31 at-90.html                                        Satirist for 6 Decades Dies                By Robert D McFadden   TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/arts/mu
2023-03-30   2023-03-31 sic/boygenius-the-record-review.html              A Trio Returns Confident and Connected     By Jon Pareles         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/arts/mu
                        sic/review-new-york-philharmonic-lara-
2023-03-30   2023-03-31 malkki.html                                       Two Soloists Form a ManyTentacled Creature By Zachary Woolfe      TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/30/arts/tele
2023-03-30   2023-03-31 vision/lost-kitchen-my-kind-of-country.html This Weekend I Have                       By Margaret Lyons             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/books/n A Roundup of Titles Coming to Shelves in
2023-03-30   2023-03-31 ew-books-april.html                          April                                    By Joumana Khatib             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/busines Bonuses Drop For Workers On Wall Street As
2023-03-30   2023-03-31 s/banker-bonuses-fall.html                   Deals Slow                               By Lauren Hirsch              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/busines Before DeSantiss Board Took Over Disney
2023-03-30   2023-03-31 s/disney-world-ron-desantis.html             Reined It In                             By Brooks Barnes              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/busines
                        s/jamie-dimon-silicon-valley-bank-                                                    By Rob Copeland and Maureen
2023-03-30   2023-03-31 collapse.html                                Once Again Its Dimon To the Rescue       Farrell                       TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/busines
                        s/media/publishers-chatbots-search-
2023-03-30   2023-03-31 engines.html                                 Publishers Gird for Threat From AI       By Katie Robertson            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/busines BankmanFried Pleads Not Guilty To an       By David YaffeBellany and
2023-03-30   2023-03-31 s/sam-bankman-fried-charges.html             Additional Set of Charges                Matthew Goldstein             TX 9-286-255   2023-05-02
                                                                     Studies Tie Common Childhood Viruses to
                        https://www.nytimes.com/2023/03/30/health/c Hepatitis Cases That Puzzled Doctors Last
2023-03-30   2023-03-31 hildren-hepatitis-adenovirus.html            Year                                     By Emily Anthes               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/movies/
2023-03-30   2023-03-31 a-thousand-and-one-review.html               An Unbending Will Meets a Shifting City  By Manohla Dargis             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/movies/
                        dungeons-and-dragons-honor-among-thieves-
2023-03-30   2023-03-31 review.html                                  Brainstorming And on a Roll              By Amy Nicholson              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/movies/
2023-03-30   2023-03-31 enys-men-review.html                         Enys Men                                 By Jeannette Catsoulis        TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/movies/
2023-03-30   2023-03-31 giraffe-review.html                          Giraffe                                  By Nicolas Rapold             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/movies/ Imagining the Indian The Fight Against
2023-03-30   2023-03-31 imagining-the-indian-review.html             Native American Mascoting                By Natalia Winkelman          TX 9-286-255   2023-05-02




                                                                                 Page 5037 of 5793
                        https://www.nytimes.com/2023/03/30/movies/
2023-03-30   2023-03-31 kill-boksoon-review.html                   Kill Boksoon                                By Robert Daniels                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/movies/ Jumping on a RomCom Tour of South
2023-03-30   2023-03-31 rye-lane-review.html                       London                                      By Claire Shaffer                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/movies/
2023-03-30   2023-03-31 smoking-causes-coughing-review.html        Smoking Causes Coughing                     By Elisabeth Vincentelli         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/movies/
2023-03-30   2023-03-31 space-oddity-review.html                   Space Oddity                                By Ben Kenigsberg                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/movies/
2023-03-30   2023-03-31 spinning-gold-review.html                  Spinning Gold                               By Lisa Kennedy                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/movies/
2023-03-30   2023-03-31 tetris-review.html                         The Game Behind the Game                    By Jeannette Catsoulis           TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/movies/
2023-03-30   2023-03-31 the-line-review.html                       The Line                                    By Beatrice Loayza               TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/nyregio
2023-03-30   2023-03-31 n/indictment-meaning-trump-arrest.html     Usual Booking Likely to Look Anything But   By William K Rashbaum            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/nyregio Online Grudges Fuel Surge of Teen Murder
2023-03-30   2023-03-31 n/nyc-teen-murder-rate.html                Across New York City                        By Hurubie Meko                 TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/30/nyregio Officers Quickly Shoot a Mentally Ill Man   By Hurubie Meko and Brittany
2023-03-30   2023-03-31 n/nypd-shooting-mental-health.html         and His Family Asks Why                     Kriegstein                      TX 9-286-255    2023-05-02
                                                                                                               By Ben Protess Jonah E Bromwich
                                                                                                               William K Rashbaum Kate
                        https://www.nytimes.com/2023/03/30/nyregio                                             Christobek Nate Schweber and
2023-03-30   2023-03-31 n/trump-indictment-hush-money-charges.html Trump Indicted                              Sean Piccoli                    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/30/nyregio
2023-03-30   2023-03-31 n/trump-investigation-timeline.html        A FiveYear Inquiry                          By Jonah E Bromwich              TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/30/nyregio
2023-03-30   2023-03-31 n/vermont-deputy-caselnova-charged-ny.html Deputy Is Charged In Gunfight In New York By Ed Shanahan                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/opinion
2023-03-30   2023-03-31 /campus-free-speech-duncan.html              The Biggest Loss on Campus Listening       By Pamela Paul                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/opinion Patriotism Matters Especially in Times Like
2023-03-30   2023-03-31 /patriotism-america-gen-z.html              These                                       By David Brooks                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/opinion
2023-03-30   2023-03-31 /trump-indicted.html                        Even a President Should Be Held Accountable By The Editorial Board          TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/sports/b Mets Opening Luck Continues But So Does
2023-03-30   2023-03-31 aseball/mets-marlins-opening-day.html       Their Rash of Injuries                      By James Wagner                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/sports/b                                             By Tyler Kepner and Hiroko
2023-03-30   2023-03-31 aseball/yankees-giants-opening-day.html     So Far New York Is Undefeated               Masuike                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/sports/b
                        asketball/nba-union-collective-             Bargaining Deadline Will Test Recent Labor
2023-03-30   2023-03-31 bargaining.html                             Peace in NBA                                By Tania Ganguli                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/sports/o Tokyo Scandal Fallout Snarls Sapporos Hopes
2023-03-30   2023-03-31 lympics/sapporo-winter-games.html           of Landing 2030 Games                       By Ben Dooley and Hisako Ueno   TX 9-286-255   2023-05-02




                                                                               Page 5038 of 5793
                        https://www.nytimes.com/2023/03/30/technol Musk Rebuffed in Attempt To Meet With
2023-03-30   2023-03-31 ogy/elon-musk-ftc-chair.html                FTC Chair                                      By David McCabe and Kate Conger TX 9-286-255     2023-05-02
                        https://www.nytimes.com/2023/03/30/us/cens Immigration Tripled in 22 In Big Cities As      By Robert Gebeloff Dana Goldstein
2023-03-30   2023-03-31 us-immigration-large-counties.html          Some Fled                                      and Stefanos Chen                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/us/fort- 9 Soldiers Killed After Helicopters Collide
2023-03-30   2023-03-31 campbell-helicopter-crash-kentucky.html     During Training Over Kentucky                  By Mike Ives and Jenny Gross     TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/30/us/gwy
2023-03-30   2023-03-31 neth-paltrow-trial-verdict.html             Paltrow Found Not Liable in Ski Crash Trial    By Remy Tumin                    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/30/us/las- Gambler Who Killed 60 Was Angry at              By Serge F Kovaleski and Mike
2023-03-30   2023-03-31 vegas-shooting-gunman.html                  Treatment By Casinos FBI Reveals               Baker                            TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/30/us/polit
2023-03-30   2023-03-31 ics/biden-banks-crisis.html                 Biden Plan Would Rein In Some Banks            By Jim Tankersley                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/30/us/polit Tax Prep Industry Fights White House Plan
2023-03-30   2023-03-31 ics/biden-irs-overhaul-taxes.html           for Free Digital Tax Filing                    By Alan Rappeport                TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/30/us/polit                                                By Jonathan Swan and Maggie
2023-03-30   2023-03-31 ics/desantis-dustin-carmack-adviser.html    ExChief of Staff Joins Campaign as Adviser     Haberman                         TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/30/us/polit House Passes Energy Bill Pushed by GOP         By Stephanie Lai and Coral
2023-03-30   2023-03-31 ics/gop-energy-bill.html                    Taking Aim at Climate Laws                     Davenport                        TX 9-286-255    2023-05-02

                        https://www.nytimes.com/2023/03/30/us/polit Judge Overrules Obamacare Provision For      By Sheryl Gay Stolberg and Reed
2023-03-30   2023-03-31 ics/obamacare-texas-preventive-care-aca.html Free Preventive Care Like Screenings        Abelson                          TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/30/us/polit Aggressive Defense in Proud Boys Sedition
2023-03-30   2023-03-31 ics/proud-boys-jan-6-trial-defense.html      Trial Is Scaled Back                        By Alan Feuer and Zach Montague TX 9-286-255       2023-05-02
                        https://www.nytimes.com/2023/03/30/us/polit 6 US Troops Are Injured In Brain After Syria
2023-03-30   2023-03-31 ics/troops-syria-brain-injuries.html         Strikes                                     By Helene Cooper                 TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/30/us/polit A Nation Finds Itself on a Path Never
2023-03-30   2023-03-31 ics/trump-indictment-democracy.html          Traveled                                    By Peter Baker                   TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/30/world/a
2023-03-30   2023-03-31 mericas/bolsonaro-returns-brazil.html        Bolsonaro Ends Exile And Returns To Brazil By Andr Spigariol                 TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/30/world/a
                        mericas/mexico-arrests-migration-center-                                                 By Natalie Kitroeff and Emiliano
2023-03-30   2023-03-31 fire.html                                    Mexico Arrests 5 in Migrant Center Fire     Rodrguez Mega                    TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/30/world/a Under the Taliban the Days of Good Hearty
2023-03-30   2023-03-31 sia/food-afghanistan-taliban.html            Meals Are Gone                              By Hannah Beech                  TX 9-286-255      2023-05-02

                        https://www.nytimes.com/2023/03/30/world/c Multiple Police Missteps Cited in Canadas
2023-03-30   2023-03-31 anada/inquiry-police-deadliest-shooting.html Deadliest Shooting Rampage                    By Ian Austen                    TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/30/world/e
                        urope/bankers-putin-friend-russia-           4 Bankers Convicted of Letting a Putin Ally
2023-03-30   2023-03-31 switzerland.html                             Deposit Millions Into Swiss Bank Accounts     By Nick CummingBruce             TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/30/world/e Macron Unveils Water Plan as He Tries To
2023-03-30   2023-03-31 urope/france-macron-water.html               Move Past Unrest Over Pension Law             By Aurelien Breeden              TX 9-286-255    2023-05-02
                        https://www.nytimes.com/2023/03/30/world/e
                        urope/russia-wsj-reporter-detained-          Kremlin Claims Reporter Was Caught            By Daniel Victor and Michael M
2023-03-30   2023-03-31 gershkovich.html                             RedHanded But Doesnt Give Details             Grynbaum                         TX 9-286-255    2023-05-02



                                                                                  Page 5039 of 5793
                        https://www.nytimes.com/2023/03/30/world/e Ukrainians in Hidden Command Post Near
2023-03-30   2023-03-31 urope/ukraine-bakhmut-russia.html          Bakhmut Are Confident                            By Carlotta Gall                  TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/world/e
                        urope/vatican-repudiates-doctrine-of-      Vatican Repudiates Doctrine of Discovery
2023-03-30   2023-03-31 discovery-colonization.html                Used to Justify Colonization                     By Elisabetta Povoledo            TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/30/world/ Days After Firing Netanyahus Defense                By Patrick Kingsley and Ronen
2023-03-30   2023-03-31 middleeast/israel-yoav-gallant-netanyahu.html Minister Is Still on the Job                    Bergman                         TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/31/world/e
2023-03-30   2023-03-31 urope/russia-putin-gershkovich-arrest.html     With an Arrest the Kremlin Seals Its Isolation By Anton Troianovski            TX 9-286-255   2023-05-02
                        https://www.nytimes.com/live/2023/03/31/nyr
                        egion/trump-indicted/this-is-the-sordid-story-
2023-03-30   2023-03-31 behind-the-hush-money-deal                     From Sordid Affair To HushMoney Deal           By Michael Rothfeld             TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/nyregio At MaraLago Trumps Camp Is Caught Off
2023-03-31   2023-03-31 n/trump-mar-a-lago.html                        Guard by His Indictment                        By Maggie Haberman              TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/30/theater/
2023-03-31   2023-03-31 life-of-pi-review.html                         A Boy And a Tiger Finding Their Way            By Alexis Soloski               TX 9-286-255   2023-05-02

                        https://www.nytimes.com/2023/03/30/us/polit Top Republicans Rush to Defend the              By Michael C Bender and Maggie
2023-03-31   2023-03-31 ics/trump-indicted-republican-response.html Defendant                                       Haberman                       TX 9-286-255      2023-05-02
                        https://www.nytimes.com/2023/03/30/world/e Gaining Turkeys Assent Finland Clears Last
2023-03-31   2023-03-31 urope/finland-nato-turkey.html               Hurdle to Join NATO                            By Steven Erlanger                TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/31/insider/
2023-03-31   2023-03-31 thomas-gibbons-neff-marine.html              A Former Marine Reports on the Front Lines     By Emmett Lindner                 TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/31/movies/
2023-03-31   2023-03-31 murder-mystery-2-review.html                 Murder Mystery 2                               By Brandon Yu                     TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/31/sports/n
                        caabasketball/south-carolina-womens-         Staley Is a Dream Merchant And Business Is
2023-03-31   2023-03-31 basketball-dawn-staley.html                  Good                                           By Jer Longman                    TX 9-286-255   2023-05-02
                        https://www.nytimes.com/2023/03/14/travel/n
2023-03-14   2023-04-01 ew-hotels.html                               Six Hotels Ideal for a Spring Getaway          By Stephanie Rosenbloom           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/20/travel/p
2023-03-20   2023-04-01 enang-malaysia-george-town.html              A Jewel Box Packed With Color and Spice        By Simon Elegant                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/opinion I Am Going Blind and I Now Find It
2023-03-28   2023-04-01 /embracing-blindness-disability.html         Strangely Exhilarating                         By Edward Hirsch                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/arts/tele
2023-03-29   2023-04-01 vision/extrapolations-climate-change.html    Urgency Cant Be Optional                       By James Poniewozik               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/opinion
2023-03-29   2023-04-01 /guns-supreme-court.html                     How Far Will the Court Go to Arm America       By Linda Greenhouse               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/arts/dan
                        ce/jenny-schlenzka-performance-space-new- Performance Space New York Executive to
2023-03-30   2023-04-01 york.html                                    Step Down                                      By Brian Seibert                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/arts/des
                        ign/nan-goldin-marian-goodman-gagosian-
2023-03-30   2023-04-01 gallery.html                                 An Artist Is Joining Gagosian For a Lift       By Zachary Small                  TX 9-292-487   2023-06-01



                                                                                   Page 5040 of 5793
                        https://www.nytimes.com/2023/03/30/arts/me                                               By Tom Mashberg and Graham
2023-03-30   2023-04-01 t-museum-statue-seized.html                   A Roman Emperor Is Seized From the Met     Bowley                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/arts/mu
2023-03-30   2023-04-01 sic/classical-music-albums-march.html         Five Classical Albums to Listen to Now     By The New York Times            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/opinion America Can Choose Not to Have a Cold War
2023-03-30   2023-04-01 /china-us-cold-war.html                       With China                                 By Jacob Dreyer                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/sports/i For an Athlete of Iron Being Human Proved A
2023-03-30   2023-04-01 ronwoman-kona-chelsa-sodaro.html              Grueling Challenge                         By Matthew Futterman             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/us/nebr Conflict Over Transgender Care Brings
2023-03-30   2023-04-01 aska-filibuster-transgender-bills.html        Statehouse to a Standstill                 By Ernesto Londoo                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/us/polit                                              By Jonathan Swan Kate Kelly
                        ics/jared-kushner-qatar-united-arab-          Kushner Firm Benefits From Bonds Forged In Maggie Haberman and Mark
2023-03-30   2023-04-01 emirates.html                                 Wealthy Kingdoms                           Mazzetti                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/live/2023/03/31/wo
                        rld/russia-ukraine-news/sweden-nato-turkey- Even as Turkey Relents on Finlands NATO
2023-03-30   2023-04-01 hungary                                       Bid Erdogan and Orban Still Block Sweden By Steven Erlanger                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/upshot/ Snappy Opening Day Suggests the Changes
2023-03-31   2023-04-01 baseball-opening-pitch-clock.html             Are Working Just Fine                      By Francesca Paris               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/arts/dan
                        ce/review-national-ballet-of-canada-city-
2023-03-31   2023-04-01 center.html                                   A Northern Trip From Light to Dark         By Gia Kourlas                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/arts/mu
2023-03-31   2023-04-01 sic/russia-china-culture.html                 Russia Seeks New Stages For Its Artists    By Javier C Hernndez             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/arts/mu
2023-03-31   2023-04-01 sic/tao-of-glass-skirball-review.html         A Composer Seen Through Fractals           By Joshua Barone                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/busines Big Profits Draw Scrutiny From Europes
2023-03-31   2023-04-01 s/company-profit-inflation-europe.html        Central Banks                              By Eshe Nelson                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/busines Feds Preferred Inflation Gauge Cooled to 5 in
2023-03-31   2023-04-01 s/economy/pce-inflation-february.html         February the Lowest Reading Since 2021     By Jeanna Smialek                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/busines
                        s/economy/silicon-valley-bank-federal-reserve
2023-03-31   2023-04-01 supervision.html                              Rollback Mattered in a Banks Demise        By Jeanna Smialek                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/busines
                        s/energy-environment/electric-vehicles-
2023-03-31   2023-04-01 treasury-tax-credits.html                     Fewer EVs Will Qualify For Credits         By Ana Swanson and Jack Ewing    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/busines                                               By Jeremy W Peters and Katie
2023-03-31   2023-04-01 s/fox-dominion-defamation-case.html           Big Setback For Fox News In Lawsuit        Robertson                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/busines Huawei Reports Plunge in Profits After
2023-03-31   2023-04-01 s/huawei-annual-earnings-2022.html            Sanctions                                  By Chang Che                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/busines After a Brief Respite The Trump Show Makes
2023-03-31   2023-04-01 s/media/trump-indictment-media.html           Its Return                                 By Michael M Grynbaum            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/busines Report Warns Slower Economic Growth Is        By Alan Rappeport and Margot
2023-03-31   2023-04-01 s/social-security-trust-fund-medicare.html    Widening Shortfalls in the Safety Net      SangerKatz                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/busines How Big Tech Camouflaged Wall Streets
2023-03-31   2023-04-01 s/tech-stocks-sp-500.html                     Crisis                                     By Joe Rennison and Eli Murray   TX 9-292-487   2023-06-01



                                                                                Page 5041 of 5793
                                                                    California Extends Aggressive Turn Toward
                        https://www.nytimes.com/2023/03/31/climate Electric Vehicles to the Sales of Heavy
2023-03-31   2023-04-01 /california-electric-trucks-emissions.html  Trucks                                    By Coral Davenport              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/health/ Rules That Limit Overbilling in Medicare   By Margot SangerKatz and Reed
2023-03-31   2023-04-01 medicare-overbilling-insurance.html         Will Be Phased In Over Time               Abelson                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/nyregio
                        n/douglass-mackey-trial-twitter-
2023-03-31   2023-04-01 misinformation.html                         Conviction in a Bid to Cost Clinton Votes By Colin Moynihan               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/nyregio Bail Law Divides New York as Budget
2023-03-31   2023-04-01 n/hochul-budget-bail-law.html               Deadline Looms                            By Luis FerrSadurn              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/nyregio
2023-03-31   2023-04-01 n/how-indictments-work-us.html              How Indictment Process Works in the US    By Maria Cramer                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/opinion The Rule of Law Now Depends on
2023-03-31   2023-04-01 /trump-indictment-rule-of-law.html          Republicans                               By David French                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/realesta
2023-03-31   2023-04-01 te/architecture-golf-homes.html             What the sport means to 4 architects      By Mark Ellwood                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/realesta
2023-03-31   2023-04-01 te/ben-cowan-dewar-golf-developer.html      The course whisperer                      By Michael Croley               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/realesta
2023-03-31   2023-04-01 te/design-golf-homes.html                   Focusing on the design inside the house   By Shivani Vora                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/realesta
2023-03-31   2023-04-01 te/farms-golf-communities.html              Bringing the farm closer to the table     By Shivani Vora                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/realesta
2023-03-31   2023-04-01 te/golf-resort-extreme-activities.html      A round of surfing anyone                 By Nora Walsh                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/31/realesta
2023-03-31   2023-04-01 te/luxury/lake-como-milan-golf-courses.html Golf enhances Italian real estate           By Shivani Vora               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/realesta
2023-03-31   2023-04-01 te/oman-muscat-al-mouj-golf.html            Hospitality and sunshine in Oman            By David Belcher              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/realesta
2023-03-31   2023-04-01 te/scotland-golf-archerfield-house.html     Coastal life beckons in Scotland            By Rachel Chaundler           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/sports/b Minor League Salaries Set To Double Under
2023-03-31   2023-04-01 aseball/minor-league-union.html             New Deal                                    By David Waldstein            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/sports/h A Possible RivalryonHudson Series Is Enough
2023-03-31   2023-04-01 ockey/rangers-devils-nhl-playoffs.html      to Get Bad Blood Boiling                    By David Waldstein            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/sports/s Even a Hotly Desired Midfielder Wouldnt Fix
2023-03-31   2023-04-01 occer/liverpool-manchester-city.html        Liverpool                                   By Rory Smith                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/sports/t Players From Russia and Belarus Can
2023-03-31   2023-04-01 ennis/wimbledon-russia-belarus.html         Compete but Under Neutral Banners           By Matthew Futterman          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/style/su Suzanne Rheinstein 77 A Designer Who
2023-03-31   2023-04-01 zanne-rheinstein-dead.html                  Paired History and Beauty Dies              By Penelope Green             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/technol Little Evidence That Bank Failures Shifted
2023-03-31   2023-04-01 ogy/bitcoin-banks-crisis.html               Tide on Bitcoin                             By David YaffeBellany         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/technol ChatGPT Is Banned in Italy as Regulators
2023-03-31   2023-04-01 ogy/chatgpt-italy-ban.html                  Cite Privacy Concerns                       By Adam Satariano             TX 9-292-487   2023-06-01



                                                                               Page 5042 of 5793
                        https://www.nytimes.com/2023/03/31/technol
2023-03-31   2023-04-01 ogy/google-pichai-ai.html                    Google Chief Opens Up About AI             By Kevin Roose                   TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/03/31/technol
                        ogy/personaltech/twitter-blue-check-         Navigating Blue Check Apocalypse On
2023-03-31   2023-04-01 musk.html                                    Twitter                                    By Brian X Chen and Ryan Mac     TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/03/31/theater/
                        white-girl-in-danger-michael-r-jackson-soap-
2023-03-31   2023-04-01 operas.html                                  From Soaps to White Girl in Danger        By Maya Phillips                  TX 9-292-487     2023-06-01
                                                                                                               By Gwen Moritz McKenna
                        https://www.nytimes.com/2023/03/31/us/mid                                              Oxenden Livia AlbeckRipka and
2023-03-31   2023-04-01 west-storms-flood-weather.html              Deadly Storms Strike the Midwest and South Mike Ives                         TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/03/31/us/milit One Senator Is Holding Up Promotions Over
2023-03-31   2023-04-01 ary-abortion-promotions-blocked.html        Militarys Abortion Policy                  By Karoun Demirjian               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/03/31/us/min Minneapolis Agrees to Make Major Changes
2023-03-31   2023-04-01 neapolis-police-reform-agreement.html       in Policing                                By Ernesto Londoo                 TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/03/31/us/nash After Shooting Nashville Grieves and Ponders
2023-03-31   2023-04-01 ville-shooting-guns-transgender-rights.html Its Divisions                                 By Richard Fausset             TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/03/31/us/peter Peterson Zah 85 First President of the Navajo
2023-03-31   2023-04-01 son-zah-dead.html                           Nation                                        By Neil Genzlinger             TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/03/31/us/polit Biden Tours Damage From Deadly
2023-03-31   2023-04-01 ics/biden-mississippi-tornado-damage.html   Mississippi Tornado                           By Michael D Shear             TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/03/31/us/polit Biden Finds Best Thing to Say About a Rival
2023-03-31   2023-04-01 ics/biden-response-trump-indictment.html    Is Nothing at All                             By Katie Rogers                TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/03/31/us/polit Democrats Feeling Joy And Anxiety About
2023-03-31   2023-04-01 ics/democrats-trump-indictment-reaction.html Case                                       By Katie Glueck and Reid J Epstein TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/31/us/polit US Sues Norfolk Southern Over Ohio Train
2023-03-31   2023-04-01 ics/east-palestine-chemical-spill-lawsuit.html Derailment                            By Glenn Thrush                     TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/03/31/us/polit Fetterman Checks Out Of Hospital After
2023-03-31   2023-04-01 ics/john-fetterman-hospital-depression.html Care                                        By Annie Karni                   TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/03/31/us/polit                                             By Michael Crowley Ivan
                        ics/russia-evan-gershkovich-arrest-wsj-     Charge Complicates Effort to Free US        Nechepurenko and Anton
2023-03-31   2023-04-01 reporter.html                               Journalist                                  Troianovski                      TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/03/31/us/polit For Some GOP Voters Fatigue Slows Rush to
2023-03-31   2023-04-01 ics/trump-indictment-republican-voters.html Back ExPresident                          By Trip Gabriel and Maya King      TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/03/31/us/polit Trump Gets Ready For Arraignment So Does By James C McKinley Jr and Jonah
2023-03-31   2023-04-01 ics/trump-indictment-surrender-protests.html New York                                  E Bromwich                     TX 9-292-487        2023-06-01
                        https://www.nytimes.com/2023/03/31/world/a Olympian Jailed for Murder Is Denied Parole
2023-03-31   2023-04-01 frica/oscar-pistorius-parole.html            From Prison                               By John Eligon                 TX 9-292-487        2023-06-01




                                                                                Page 5043 of 5793
                        https://www.nytimes.com/2023/03/31/world/a Hunting Gold Tiny and Wriggly In Taiwans By Lam Yik Fei Amy Chang Chien
2023-03-31   2023-04-01 sia/taiwan-eels.html                        Waters                                     and Tiffany May                  TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/03/31/world/e
2023-03-31   2023-04-01 urope/eurozone-inflation.html               Inflation Rate In Eurozone Keeps Falling   By Melissa Eddy                  TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/03/31/world/e Kremlins Allies Weigh Whether to Welcome
2023-03-31   2023-04-01 urope/icc-putin-south-africa.html           Putin a Wanted Man                         By Anushka Patil and John Eligon TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/03/31/world/e In France Anger at Government Burns Well By Catherine Porter and Andrea
2023-03-31   2023-04-01 urope/macron-france-bordeaux.html           Beyond Paris                               Mantovani                        TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/03/31/world/e She May Be Finlands Political Rock Star But By Johanna Lemola and Steven
2023-03-31   2023-04-01 urope/marin-finland-election-political.html She Could Lose Her Job on Sunday           Erlanger                         TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/03/31/world/e Pope Francis Able to Leave The Hospital On By Gaia Pianigiani and Elisabetta
2023-03-31   2023-04-01 urope/pope-francis-hospital-release.html    Saturday                                   Povoledo                         TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/03/31/world/e
                        urope/russia-ukraine-recruitment-           Call for Recruits After Winter of Intense  By Jeffrey Gettleman and Alan
2023-03-31   2023-04-01 military.html                               Fighting and Heavy Casualties              Yuhas                            TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/03/31/world/e                                                 By Anatoly Kurmanaev Ekaterina
2023-03-31   2023-04-01 urope/ukraine-convicts-russian-prisons.html The 5Nation Odyssey of Ukrainian Criminals Bodyagina and Ivan Nechepurenko TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/03/31/world/ In Israels Three Crises FarRight Contradiction
2023-03-31   2023-04-01 middleeast/israel-smotrich-protests.html        Is a Common Thread                         By Patrick Kingsley            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/world/t Trump Indictment Is First In US but Not
2023-03-31   2023-04-01 rump-world-leaders-indicted.html                Globally                                   By Richard PrezPea             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/your-
2023-03-31   2023-04-01 money/credit-card-comparison.html               Comparing Credit Cards May Get Easier      By Ann Carrns                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/your- Why Schwab a Financial Giant Got Swept Up
2023-03-31   2023-04-01 money/schwab-bank-failure-panic.html            in the Regional Banking Crisis             By Tara Siegel Bernard         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/live/2023/03/31/nyr
                        egion/trump-indicted/ivanka-trump-after-
                        hours-of-silence-issues-a-muted-statement-i-
2023-03-31   2023-04-01 love-my-father                                  Ivanka Trumps Support Is Muted             By Maggie Astor and Kate Kelly TX 9-292-487   2023-06-01
                        https://www.nytimes.com/live/2023/03/31/nyr
                        egion/trump-indicted/mcconnell-is-among-
                        few-high-profile-republicans-to-stay-silent-on-
2023-03-31   2023-04-01 trumps-indictment                               Some Top Republicans Are Not Speaking Out By Neil Vigdor                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/sports/n
2023-04-01   2023-04-01 caabasketball/lsu-virginia-tech-score.html      Late Push Puts LSU in Its First Title Game By Remy Tumin                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/01/sports/n Florida Atlantic Makes Winning in Paradise
2023-04-01   2023-04-01 caabasketball/florida-atlantic-final-four.html More Than Just a Motto                  By Adam Zagoria                  TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/01/sports/n Given Second Chance Aztec Men Dont Plan
2023-04-01   2023-04-01 caabasketball/san-diego-state.html             On Letting Go Easily                    By Scott Miller                  TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/01/us/polit
                        ics/saudi-arabia-nuclear-biden-                Saudis Seeking Nuclear Power On Own     By Edward Wong Vivian Nereim
2023-04-01   2023-04-01 administration.html                            Terms                                   and Kate Kelly                   TX 9-292-487     2023-06-01




                                                                               Page 5044 of 5793
                        https://www.nytimes.com/2023/04/01/us/polit GOPs Defense Reveals Quandary Of Coming By Michael C Bender and Maggie
2023-04-01   2023-04-01 ics/trump-desantis-republicans-2024.html     Election                                  Haberman                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/world/e A Young Refugees Path to a Career of Caring
2023-04-01   2023-04-01 urope/britain-asylum-doctor-arian.html       Began With a Gift                         By Megan Specia               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2022/12/21/books/e Literary Destinations Read Your Way
2022-12-21   2023-04-02 dinburgh-books-maggie-ofarrell.html          Through Edinburgh                         By Maggie OFarrell            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/07/books/c
2023-03-07   2023-04-02 onfidence-rafael-frumkin.html                Smooth Operators                          By Jake Nevins                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/07/books/r
2023-03-07   2023-04-02 eview/monica-youn-from-from-poems.html Trick Mirrors                                   By Joyelle McSweeney          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/07/books/r
                        eview/the-odyssey-of-phillis-wheatley-david-
2023-03-07   2023-04-02 waldstreicher.html                           Poetic Justice                            By Kerri Greenidge            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/08/books/r
                        eview/we-were-once-a-family-roxanna-
2023-03-08   2023-04-02 asgarian.html                                Unaccountable                             By Jennifer Szalai            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/13/books/e
2023-03-13   2023-04-02 leanor-catton-birnam-wood.html               Turf War                                  By Dwight Garner              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/13/books/r
                        eview/the-dog-of-the-north-elizabeth-
2023-03-13   2023-04-02 mckenzie.html                                On the Road With Grandma                  By Erin Somers                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/19/arts/mu
2023-03-19   2023-04-02 sic/depeche-mode-memento-mori.html           They Survived Grunge Now This             By Alex Pappademas            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/20/arts/po Why Certain Groups Have a Sinister
2023-03-20   2023-04-02 dcasts-cults-nxivm-manson.html               Attraction                                By Emma Dibdin                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/20/books/r
2023-03-20   2023-04-02 eview/new-romance-novels.html                Sweet Treats                              By Olivia Waite               TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/23/special-
2023-03-23   2023-04-02 series/bradford-boobis-painter-cult-lim.html Painter WouldBe Cult Leader and Mystery       By Joshua Needelman       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/24/books/r
2023-03-24   2023-04-02 eview/jennifer-hershey-inside-the-list.html  Meet the Editor Behind a Slew of Best Sellers By Elisabeth Egan         TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/24/books/r
2023-03-24   2023-04-02 eview/sarah-maslin-nir-the-flying-horse.html Joy Ride                                   By Jane Smiley               TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/27/arts/tele Kristin Chenoweth Has a Dark Thought or
2023-03-27   2023-04-02 vision/kristin-chenoweth-schmigadoon.html Two                                         By Sarah Bahr                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/27/opinion AI Is Being Built by People Who Think It
2023-03-27   2023-04-02 /ai-chatgpt-chatbots.html                    Might Destroy Us                         By David WallaceWells          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/27/opinion Theres Only One College Rankings List That
2023-03-27   2023-04-02 /problem-college-rankings.html               Matters                                  By Frank Bruni                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/27/realesta Their Search Kept Pace With Their
2023-03-27   2023-04-02 te/renters-flatbush-brooklyn.html            Relationship                             By Alix Strauss                TX 9-292-487   2023-06-01




                                                                                 Page 5045 of 5793
                        https://www.nytimes.com/2023/03/27/style/fa After the Runway Treating Clothes Like
2023-03-27   2023-04-02 shion-archiving-clothes-storage.html        Works of Art                             By Christopher Barnard            TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/27/travel/8-
2023-03-27   2023-04-02 places-to-dazzle-the-grandkids-in-florida.html Florida Dull How to Dazzle The Grandkids By Beth Harpaz                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/27/travel/b Art Culture And a Puppy That Blooms Not
2023-03-27   2023-04-02 asque-country-spain-family-travel.html         Boring                                     By Andrew Ferren             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/27/travel/f On the Coast Of California A Lighthouse Of
2023-03-27   2023-04-02 amily-hostel-california-lighthouse.html        Your Own                                   By Bonnie Tsui               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/03/
2023-03-27   2023-04-02 27/magazine/keyu-jin-interview.html            Can the US See the Truth About China       By David Marchese            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/03/ We Talked to 10 Graduates About Their
2023-03-27   2023-04-02 27/opinion/college-choice-regrets.html         College Regrets                            By Gus Wezerek               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/arts/mu
2023-03-28   2023-04-02 sic/bertoia-sounding-sculptures.html           Siblings Vie to Nurture an Artists Legacy  By Grayson Haver Currin      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/magazi
2023-03-28   2023-04-02 ne/elder-child-care-millennials.html           The Care Crunch                            By Jaeah Lee                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/magazi
2023-03-28   2023-04-02 ne/quarantine-hotel-vacation.html              Staycations                                By Pico Iyer                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/nyregio Plan B Emerges for the Renovation of Penn By Dana Rubinstein and Stefanos
2023-03-28   2023-04-02 n/penn-station-hochul-nyc.html                 Station                                    Chen                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/opinion
2023-03-28   2023-04-02 /parents-rights-republicans-florida.html       Beware the Hecklers Veto                   By Jamelle Bouie             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/realesta
2023-03-28   2023-04-02 te/window-blinds-coverings.html                Enhance the Windows to Your Homes Soul By Tim McKeough                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/style/fu
2023-03-28   2023-04-02 de-dinner-experience-nude.html                 An Appetite for Nothing at All             By Madeleine Aggeler         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/travel/g
2023-03-28   2023-04-02 randparent-trip-africa.html                    A Love For Africa That Spans Generations By Lynn Sherr                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/travel/
2023-03-28   2023-04-02 multigenerational-trips-how-to.html            How to Create A Vacation All Can Enjoy     By Julie Weed                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/us/polit
                        ics/artificial-intelligence-2024-              A Campaign Aide Didnt Write That Email AI
2023-03-28   2023-04-02 campaigns.html                                 Wrote It                                   By Shane Goldmacher          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/magazi
2023-03-29   2023-04-02 ne/abbott-elementary-lesson.html               New School                                 By Niela Orr                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/magazi
2023-03-29   2023-04-02 ne/birth-death-tally.html                      Making Everyone Count                      By Jeneen Interlandi         TX 9-292-487   2023-06-01
                                                                       Humble Luxury The flavors in a bowl of
                        https://www.nytimes.com/2023/03/29/magazi South American sopa de man are soulful and
2023-03-29   2023-04-02 ne/sopa-de-mani-recipe.html                    steadying                                  By Ligaya Mishan             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/nyregio
                        n/connecticut-vermont-medical-assisted-        Vermont Reviews Access To Its Aid in Dying
2023-03-29   2023-04-02 death.html                                     Law                                        By Lola Fadulu               TX 9-292-487   2023-06-01




                                                                                Page 5046 of 5793
                        https://www.nytimes.com/2023/03/29/opinion As a Doctor I Know Being Ready to Die Is an
2023-03-29   2023-04-02 /how-to-accept-death.html                  Illusion                                    By Sunita Puri                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/29/opinion
2023-03-29   2023-04-02 /nashville-shooting-governor-response.html An Open Letter to Governor Lee             By Margaret Renkl               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/realesta
2023-03-29   2023-04-02 te/cucumber-melons-varieties.html           Its a Cucumber Melon and Its Delicious    By Margaret Roach               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/realesta
                        te/home-prices-washington-new-mexico-       2 Million Homes in Washington New Mexico
2023-03-29   2023-04-02 massachusetts.html                          and Massachusetts                         By Angela Serratore             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/realesta
2023-03-29   2023-04-02 te/tiktok-peoria-illinois.html              Bargain Hunters Answer a TikTok Challenge By Anna Kod                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/realesta
2023-03-29   2023-04-02 te/wallkill-ny-homes-hudson-valley.html     This Pastoral Hamlet Is Cheerfully Unhip  By Karen Angel                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/style/lo
2023-03-29   2023-04-02 go-design-fashion-brands.html               When in Doubt Try Tweaking the Logo       By Aileen Kwun                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/style/m Word of Mouth Propels a Love Story to New
2023-03-29   2023-04-02 ating-norman-rush.html                      Fans                                      By Marie Solis                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/style/sp
2023-03-29   2023-04-02 litting-check-with-boss.html                Upon Further Review                       By Philip Galanes               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/theater/
2023-03-29   2023-04-02 peter-pan-goes-wrong-broadway.html          Humor That Hangs by a Thread              By Alexis Soloski               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/travel/a Go Ahead Take the Kids With You To
2023-03-29   2023-04-02 dult-resorts-family-kids.html               Mykonos                                   By Debra Kamin                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/world/a Yang Bingyi 96 Who Put Soup Dumplings on
2023-03-29   2023-04-02 sia/yang-bing-yi-dead.html                  the Map                                   By Tiffany May                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/interactive/2023/03/
2023-03-29   2023-04-02 29/travel/family-vacation-travel-photos.html Seeing the World Through Kids Eyes        By Derek M Norman              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/magazi
                        ne/judge-john-hodgman-on-office-candy-bowl
2023-03-30   2023-04-02 etiquette.html                               Bonus Advice From Judge John Hodgman      By John Hodgman                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/magazi
2023-03-30   2023-04-02 ne/poem-the-life-of-sun-ra.html              Poem The Life of Sun Ra                   By Cedar Sigo and Anne Boyer   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/magazi
2023-03-30   2023-04-02 ne/umpires-replay-cameras.html               Out of Their League                       By Devin Gordon                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/movies/
                        teyana-taylor-interview-a-thousand-and-
2023-03-30   2023-04-02 one.html                                     Teyana Taylor Has a Story to Tell         By Barbara Chai                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/nyregio
2023-03-30   2023-04-02 n/nyc-subway-station-agents-booths.html      Subway Workers Come Out of the Booth      By Ana Ley                     TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/30/opinion
2023-03-30   2023-04-02 /president-trump-indictment-democracy.html A Failed Indictment Is Better Than None     By Nicholas Kristof            TX 9-292-487   2023-06-01




                                                                                Page 5047 of 5793
                        https://www.nytimes.com/2023/03/30/opinion                                              By Michelle Goldberg and
2023-03-30   2023-04-02 /wisconsin-supreme-court-election.html        The Most Important Election Of the Year   Madeleine Hordinski        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/realesta
2023-03-30   2023-04-02 te/home-buying-budget.html                    Where So Costly Isnt So Common            By Michael Kolomatsky      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/travel/g
                        eorgia-former-soviet-republic-family-         Skiing Wine Gelato Whats Not to Like In
2023-03-30   2023-04-02 vacation.html                                 Georgia                                   By Jeffrey Gettleman       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/03/ Seeking a Studio on the East Side of
                        30/realestate/manhattan-studio-apartment-east-Manhattan for 600000 These Were Her
2023-03-30   2023-04-02 side.html                                     Options                                   By Debra Kamin             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/arts/des
2023-03-31   2023-04-02 ign/lois-dodd-bruce-museum-artist.html        Her Largest Show Long Deserved            By Hilarie M Sheets        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/arts/mu Keith Reid 76 Who Wrote the Words To Most
2023-03-31   2023-04-02 sic/keith-reid-dead.html                      Procol Harum Songs Is Dead                By Alex Williams           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/arts/roy Royston Ellis Bridge Between the Beat Poets
2023-03-31   2023-04-02 ston-ellis-dead.html                          and the Beatles Is Dead at 82             By Alex Williams           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/books/r
                        eview/m-t-anderson-elf-dog-and-owl-
2023-03-31   2023-04-02 head.html                                     Wonder Dog                                By Lev Grossman            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/busines The Fed Might Be Doing Too Much All at
2023-03-31   2023-04-02 s/federal-reserve-inflation-banks.html        Once                                      By Jeff Sommer             TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/31/health/ How a Federal Judges Ruling on Obamacare
2023-03-31   2023-04-02 obamacare-coverage-preventive-care-aca.html Could Change Health Insurance                  By Sarah Kliff          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/insider/
2023-03-31   2023-04-02 kids-travel-photographs.html                As a Child What Did I Get From Travel          By Stephen Hiltner      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/nyregio
2023-03-31   2023-04-02 n/defense-lawyer-bribe-sdny.html            Two Charged in CashforClients Operation        By Hurubie Meko         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/nyregio Starting Over After Years in Prison A
2023-03-31   2023-04-02 n/mass-incarceration-ny.html                Compassionate Path                             By Ginia Bellafante     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/opinion
2023-03-31   2023-04-02 /ai-chatgpt-jobs-economy.html               AI Cant Remake the Economy Overnight           By Paul Krugman         TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/31/opinion
2023-03-31   2023-04-02 /federal-reserve-inflation-jerome-powell.html The Feds War on Inflation Is a Class War     By Bryce Covert         TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/31/opinion The Solution to Israels Crisis Is in Americas
2023-03-31   2023-04-02 /israel-protests-united-states-constitution.html Constitution                              By Yuval Levin          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/realesta
2023-03-31   2023-04-02 te/first-time-home-buyer-retirement.html         A Starter Home Later in Life              By Debra Kamin          TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/31/sports/n As Womens Sports Surge in Popularity The
2023-03-31   2023-04-02 caabasketball/womens-final-four-tv-deal.html Money Follows                                 By Kurt Streeter        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/sports/t They Moved Paradise and Some Are Still
2023-03-31   2023-04-02 ennis/miami-open-dolphins-stadium.html       Unhappy About It                              By Matthew Futterman    TX 9-292-487   2023-06-01



                                                                                  Page 5048 of 5793
                        https://www.nytimes.com/2023/03/31/style/90
2023-03-31   2023-04-02 s-con.html                                  Millennials Pay for a Dose of Nostalgia      By Madeleine Aggeler      TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/03/31/style/al
                        exandra-howard-brandon-von-tobel-
2023-03-31   2023-04-02 wedding.html                                Mom Im Telling You Shes the One              By Vivian Ewing           TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/03/31/style/a A Masquerade That Turned Out to Be
2023-03-31   2023-04-02 mi-modi-amit-raj-wedding.html               Something Real                               By Rosalie R Radomsky     TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/03/31/style/ca Head Over Heels With or Without
2023-03-31   2023-04-02 itlin-reichel-kristy-graziano-wedding.html  Somersaults                                  By Alix Wall              TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/03/31/style/e At the Virtual Meeting Her Screen Spilled a
2023-03-31   2023-04-02 mily-liu-jake-klinker-wedding.html          Secret                                       By Sadiba Hasan           TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/03/31/style/fi Cant Find Romance Maybe Its Across the
2023-03-31   2023-04-02 nding-love-romance-abroad.html              Ocean                                        By Sadiba Hasan           TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/03/31/style/kr
2023-03-31   2023-04-02 b-nyc-store.html                            An Invitation to Explore Inside              By Guy Trebay             TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/03/31/style/m With Hope and a Sense of Purpose to Guide
2023-03-31   2023-04-02 odern-love-relationship-climate-change.html Them                                       By Alison Kaplan             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/style/za
2023-03-31   2023-04-02 ck-bia-drake-olivia-rodrigo-dj.html          From Music for Fun To a Business Plan     By Ilana Kaplan              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/technol Hidden Technology Put the Wrong Person in
2023-03-31   2023-04-02 ogy/facial-recognition-false-arrests.html    Jail                                      By Kashmir Hill and Ryan Mac TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/technol
2023-03-31   2023-04-02 ogy/sam-altman-open-ai-chatgpt.html          Hes Not Worried But He Knows You Are By Cade Metz                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/travel/b
2023-03-31   2023-04-02 udget-family-travel.html                     Ways to Save When Taking A Family Trip By Elaine Glusac                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/travel/f
2023-03-31   2023-04-02 amily-vacation-spending.html                 How Much Did Your Family Vacation Cost By Christine Chung              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/us/polit A Top Biden Economist Departs After Record
2023-03-31   2023-04-02 ics/cecilia-rouse-biden-economy.html         Jobs Creation                             By Jim Tankersley            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/03/                                           By Julia Rothman and Shaina
2023-03-31   2023-04-02 31/business/hair-loss-treatments.html        The Last Strand Lets Talk About Hair Loss Feinberg                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/03/
                        31/sports/ncaabasketball/locker-room-        When Every Win Means Water Water
2023-03-31   2023-04-02 celebrations-water-pour.html                 Everywhere                                By Andrew Keh                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/nyregio How the DA Resurrected The Case Against By Jonah E Bromwich Ben Protess
2023-04-01   2023-04-02 n/alvin-bragg-trump-investigation.html       Trump                                     and William K Rashbaum       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/us/polit
2023-04-01   2023-04-02 ics/tennessee-drag-law.html                  Judge Pauses Law Limiting Drag Shows      By Emily Cochrane            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/arts/tele
2023-04-01   2023-04-02 vision/beef-netflix-steven-yeun.html         In Beef Road Rage and More                By Robert Ito                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/nyregio
2023-04-01   2023-04-02 n/street-lab-open-streets-nyc.html           Hey Kids Go Play in the Street Really     By Winnie Hu                 TX 9-292-487   2023-06-01




                                                                                Page 5049 of 5793
                                                                                                                   By William K Rashbaum Maggie
                        https://www.nytimes.com/2023/04/01/nyregio Attack Delay Repeat Trump Is Sure to Turn to Haberman Charlie Savage and
2023-04-01   2023-04-02 n/trump-bragg-legal-defense-strategy.html    Favored Legal Strategy                        Jonah E Bromwich                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/opinion
2023-04-01   2023-04-02 /israel-protests-netanyahu.html              The Fight for Israels Democracy Continues By The Editorial Board                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/opinion In This Locker Room the Arc of Fitness Is
2023-04-01   2023-04-02 /locker-rooms-swimming-pools.html            Long                                          By Bonnie Tsui                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/opinion
2023-04-01   2023-04-02 /trump-indictment-2024-desantis.html         What Hasnt Changed For DeSantis               By Ross Douthat                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/opinion Will Biden Be the Next ExPresident to Face
2023-04-01   2023-04-02 /trump-prosecution-precedent.html            Indictment                                    By Ankush Khardori                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/realesta
                        te/landlord-sold-the-building-what-are-your- What Rights Does a Renter Have When the
2023-04-01   2023-04-02 rights.html                                  Landlord Sells the Building                   By Ronda Kaysen                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/sports/b
                        asketball/nba-collective-bargaining-         NBA and Its Players Agree to a Tentative
2023-04-01   2023-04-02 agreement.html                               7Year Deal                                    By Tania Ganguli                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/sports/n
                        caabasketball/iowa-south-carolina-final-     End of an Era Iowa Stops South Carolinas
2023-04-01   2023-04-02 four.html                                    Winning Streak at 42                          By Jer Longman                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/style/th
                        e-last-days-of-becketts-a-smoky-new-york- He Opened His Doors and Creativity Walked
2023-04-01   2023-04-02 literary-salon.html                          In                                            By Alex Vadukul                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/us/polit A Candidate Indicted And Running for
2023-04-01   2023-04-02 icians-indicted-trump-rick-perry.html        Office Trump Isnt the First One               By Richard Fausset                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/us/polit Message Log Shows FBI Scramble to Gather
2023-04-01   2023-04-02 ics/fbi-jan-6-investigation-proud-boys.html Evidence on Proud Boys                         By Alan Feuer                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/us/polit BacktoBack Legal Rebukes for Trump and
2023-04-01   2023-04-02 ics/trump-fox-news-court-cases.html          Fox News                                      By Jonathan Weisman               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/us/polit Another Trump Scandal Made for Salacious
2023-04-01   2023-04-02 ics/trump-indictment-scandals.html           Headlines                                     By Dan Barry                      TX 9-292-487   2023-06-01
                                                                                                                   By Dan Simmons Jessica Jaglois
                        https://www.nytimes.com/2023/04/01/us/theat One Killed as Storm Collapses Roof at Illinois Robert Chiarito Farrah Anderson
2023-04-01   2023-04-02 er-roof-collapse-belvidere-illinois.html     Theater                                       and Mitch Smith                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/world/a Eye on Taiwan Beijing Dissects War in
2023-04-01   2023-04-02 sia/china-russia-ukraine-war.html            Ukraine                                       By Chris Buckley                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/world/a A Village Populated By Jobless Elephants        By Muktita Suhartono and Ulet
2023-04-01   2023-04-02 sia/thailand-elephants-tourism-debate.html   With Too Little to Eat                        Ifansasti                         TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/01/world/e
2023-04-01   2023-04-02 urope/paris-electrict-scooter-referendum.html Paris Vote on Scooters Green Hero or Menace By Tom Nouvian                    TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/01/world/e Pope Returns To Vatican After 3 Days In        By Gaia Pianigiani and Elisabetta
2023-04-01   2023-04-02 urope/pope-leaves-hospital.html               Hospital                                    Povoledo                          TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/01/world/e Vicar Charged With Supporting Russia as        By Matthew Mpoke Bigg and Yurii
2023-04-01   2023-04-02 urope/russia-ukraine-war-east.html            Fighting Escalates in the East              Shyvala                           TX 9-292-487    2023-06-01



                                                                                 Page 5050 of 5793
                        https://www.nytimes.com/2023/04/01/world/e As Sea Levels Rise the Savior of Venice May By Jason Horowitz Emma Bubola
2023-04-01   2023-04-02 urope/venice-mose-flooding.html               Also Be Its Curse                        and Laetitia Vancon                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/world/
                        middleeast/israel-netanyahu-ben-gvir-national-Israelis Feud Over FarRight Proposal to  By Patrick Kingsley Ronen
2023-04-01   2023-04-02 guard.html                                    Create a New National Guard              Bergman and Hiba Yazbek            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/04/
2023-04-01   2023-04-02 01/opinion/ukraine-kyiv-war.html              What We Had to Lose                      By Zhenya Oliinyk                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/sports/n
                        caabasketball/san-diego-state-buzzer-
2023-04-02   2023-04-02 beater.html                                   The Top Dog Among Two Underdogs          By Andrew Keh                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/busines
2023-04-02   2023-04-02 s/roxane-gay-work-advice-birthdays.html       This Is the Workplace Not Junior High    By Roxane Gay                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/busines
2023-04-02   2023-04-02 s/silicon-valley-bank-takeover.html           The Week in Business A Bank Takeover     By Marie Solis                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/insider/
2023-04-02   2023-04-02 an-unlikely-champion.html                     An Unlikely Champion                     By David W Dunlap                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/nyregio
2023-04-02   2023-04-02 n/the-hat-shop-nyc.html                       Atop Her List Taking the Hat for a Walk  By Nancy A Ruhling                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/02/sports/n With Colleges Now in the NIL Era a Rabid
2023-04-02   2023-04-02 caabasketball/nil-deals-ncaa-tournament.html Miami Fan Takes It to Another Level        By Kris Rhim                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/us/chic School Crisis Fixer Vies to Lead Chicago in By Mitch Smith and Matthew
2023-04-02   2023-04-02 ago-mayor-election-education.html            Changed Political Era                      Rosenberg                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/us/chic The View From Four Wards as Chicago Sets By Julie Bosman and Jamie Kelter
2023-04-02   2023-04-02 ago-mayor-election-neighborhoods.html        Out to Pick a Mayor                        Davis                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/world/
                        middleeast/no-more-blank-checks-saudi-       As Saudis Gain Sway Aid for Allies Is No
2023-04-02   2023-04-02 arabia-clamps-down-on-regional-aid.html      Longer a Blank Check                       By Vivian Nereim and Vivian Yee   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/27/world/e
2023-03-27   2023-04-03 urope/germany-chips-subsidies.html           Chips Wont Come Cheap for Germany          By Melissa Eddy                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/books/d Dubravka Ugresic 73 Novelist Who Wrote of
2023-03-28   2023-04-03 ubravka-ugresic-dead.html                    Dislocation                                By Neil Genzlinger                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/busines
                        s/economy/remote-work-measure-
2023-03-30   2023-04-03 surveys.html                                 Number of Remote Workers Is Debated        By Emma Goldberg                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/movies/ Michael Blackwood 88 Documentarian Who
2023-03-30   2023-04-03 michael-blackwood-dead.html                  Captured Artists at Work on Film           By Richard Sandomir               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/opinion
                        /governor-newsom-new-plan-san-quentin-       San Quentin Could Be the Future of Prisons
2023-03-30   2023-04-03 prison-rehabilitation.html                   in America                                 By Bill Keller                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/arts/tele
2023-03-31   2023-04-03 vision/comedy-specials-mae-martin.html       Four Specials Punch Above Their Weight     By Jason Zinoman                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/movies/
2023-03-31   2023-04-03 tetris-game-boy-nintendo.html                How Tetris Captivated Us All               By Morgan Shaver                  TX 9-292-487   2023-06-01




                                                                               Page 5051 of 5793
                        https://www.nytimes.com/2023/03/31/opinion
2023-03-31   2023-04-03 /new-york-ticker-tape-parades-names.html     The Wrongs We Cannot Erase                By Kevin Baker                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/opinion
2023-03-31   2023-04-03 /tiktok-ban.html                             A Much Smarter Way to Take On TikTok      By Farhad Manjoo                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/arts/tele
2023-04-01   2023-04-03 vision/transatlantic-varian-fry.html         Wartime Valor With a Dapper Touch         By Roger Cohen                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/busines While Regional Banks May Not Be Too Big By Joe Nocera and Michael J de la
2023-04-01   2023-04-03 s/dealbook/regional-banks-economy.html       to Fail They Are No Less Valuable         Merced                               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/busines
                        s/small-business/small-business-banking-     How Small Businesses Can Take Precautions
2023-04-01   2023-04-03 tips.html                                    To Secure Their Assets                    By Amy Haimerl                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/opinion State Legislators Have No Role in Trans
2023-04-01   2023-04-03 /trans-healthcare-law.html                   Health Care                               By Marci L Bowers                    TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/01/sports/n As the Final Four Finishes a Parallel Transfer
2023-04-01   2023-04-03 caabasketball/final-four-transfer-portal.html Season Plays Out for Recruiters              By Billy Witz and Adam Zagoria   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/us/mar Margot Stern Strom Who Traced the Roots
2023-04-01   2023-04-03 got-stern-strom-dead.html                     Of Racism Dies at 81                         By Richard Sandomir              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/sports/a
                        utoracing/australian-grand-prix-results-      Steering Past Chaos Verstappen Cruises To
2023-04-02   2023-04-03 f1.html                                       Win in Melbourne                             By Andrew Das and Josh Katz      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/arts/mu
2023-04-02   2023-04-03 sic/alisa-weilerstein-fragments-review.html A Less Predictable Cello Recital               By Oussama Zahr                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/arts/mu
2023-04-02   2023-04-03 sic/apple-music-classical-streaming.html      Apple Takes On Classical Music               By Javier C Hernndez             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/arts/mu
                        sic/john-luther-adams-vespers-of-the-blessed- Composing With a Sense of Urgency and
2023-04-02   2023-04-03 earth-review.html                             Devotion                                     By Joshua Barone                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/arts/mu Ryuichi Sakamoto OscarWinning Japanese
2023-04-02   2023-04-03 sic/ryuichi-sakamoto-dead.html                Composer Is Dead at 71                       By William Robin                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/books/s
2023-04-02   2023-04-03 arah-bakewell-humanly-possible.html           For Her Nothing Human Is Alien               By Jennifer Schuessler           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/busines
                        s/media/evan-gershkovich-wsj-reporter-        Jailed Reporter Hoped to Bridge the Gap
2023-04-02   2023-04-03 russia.html                                   Between Russia and the US                    By Katie Robertson               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/busines Railroads Push for Profits Blamed for Safety By Peter Eavis Mark Walker and
2023-04-02   2023-04-03 s/norfolk-southern-railroad-safety.html       Failures                                     Niraj Chokshi                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/busines
2023-04-02   2023-04-03 s/opec-plus-oil-production.html               OPEC Plus Says Itll Cut Oil Output           By Clifford Krauss               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/busines Tesla Sales Climb as Price Cuts And Tax
2023-04-02   2023-04-03 s/tesla-first-quarter-electric-car-sales.html Credits Provide Push                         By Jack Ewing                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/busines
2023-04-02   2023-04-03 s/trump-truth-social-spac.html                A Rush to Seal a Media Deal Tied to Trump By Matthew Goldstein                TX 9-292-487   2023-06-01




                                                                                 Page 5052 of 5793
                        https://www.nytimes.com/2023/04/02/crossw
2023-04-02   2023-04-03 ords/daily-puzzle-2023-04-03.html         A Crossword That May Sound Familiar         By Rachel Fabi                   TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/02/nyregio
2023-04-02   2023-04-03 n/manhattan-gay-bars-drugging-murders.html Arrest Is Made in Murders of Gay Men          By Liam Stack                 TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/02/nyregio Some Ukrainian Refugees See Welcome Mats
2023-04-02   2023-04-03 n/ukraine-refugees-homeless.html              Pulled Back                                By Kimiko de FreytasTamura    TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/02/sports/b In Sengas Mets Debut Learning Curve Is
2023-04-02   2023-04-03 aseball/kodai-senga-mets.html                 Steep But Forkball Is Steeper              By James Wagner               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/02/sports/b I Felt Like I Was at Warp Speed Baseball
2023-04-02   2023-04-03 aseball/pitch-clock-new-rules.html            Adapts to New Era                          By Tyler Kepner               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/02/sports/n
                        caabasketball/lsu-championship-angel-reese- Louisiana State Takes the Title With a
2023-04-02   2023-04-03 caitlin-clark.html                            Commanding Win                             By Kris Rhim                  TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/02/sports/n
                        caabasketball/womens-basketball-caitlin-clark-Womens Deep Talent Pool Highlights a
2023-04-02   2023-04-03 angel-reese.html                              Conundrum Few Spots in the WNBA            By Remy Tumin and Kris Rhim   TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/02/sports/t After Indian Wells and Miami Intrigue Awaits
2023-04-02   2023-04-03 ennis/miami-open.html                         at Top of Tour                             By Matthew Futterman          TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/02/us/nash How Nashville Prepared For a Day That It
2023-04-02   2023-04-03 ville-uvalde-shooting-preparation.html        Hoped It Would Never Endure                By Emily Cochrane             TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/02/us/polit Former Governor of Arkansas Announces Hes
2023-04-02   2023-04-03 ics/asa-hutchinson-president-campaign.html Joining the GOP Presidential Field          By Jonathan Weisman               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/us/polit Congo Asks US to Ease Penalty in Mining
2023-04-02   2023-04-03 ics/dan-gertler-biden-congo-sanctions.html  Graft                                      By Eric Lipton and Dionne Searcey TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/us/polit Democrats Run on Abortion Even for Offices
2023-04-02   2023-04-03 ics/democrats-abortion-mayor.html           Without a Say                              By Reid J Epstein                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/us/polit US Blacklisted a Spyware Firm But Secretly By Mark Mazzetti and Ronen
2023-04-02   2023-04-03 ics/nso-contract-us-spy.html                the Two Had a Deal                         Bergman                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/us/polit
2023-04-02   2023-04-03 ics/trump-indictment.html                   An Appetite For Attention Good or Bad      By Peter Baker                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/us/stor Central US Is Expecting More Storms On
2023-04-02   2023-04-03 m-tornadoes-forecast-weather-tx-il.html     Tuesday                                    By Jesus Jimnez                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/us/tular Lake That Was Drained Wreaks Revenge in a By Soumya Karlamangla and
2023-04-02   2023-04-03 e-lake-california-storms.html               California Valley                          Shawn Hubler                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/world/a
2023-04-02   2023-04-03 sia/forest-fire-seoul.html                  Forest Fire Breaks Out in Seoul            By Jin Yu Young                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/world/a Calmly Walking Tightrope Between US and By John Liu Amy Chang Chien
2023-04-02   2023-04-03 sia/taiwan-president-tsai-ing-wen.html      China                                      Chris Horton and Paul Mozur       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/world/e
                        urope/blinken-evan-gershkovich-lavrov-      In Call With Lavrov Blinken Demands
2023-04-02   2023-04-03 griner.html                                 Release of Detained American Journalist    By Emma Bubola                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/world/e To Russia a Rescuer of Children To Ukraine
2023-04-02   2023-04-03 urope/maria-lvova-belova-russia.html        She Is a Kidnapper                         By Valerie Hopkins                TX 9-292-487   2023-06-01



                                                                               Page 5053 of 5793
                        https://www.nytimes.com/2023/04/02/world/e Pope Out of Hospital Thanks Palm Sunday       By Jason Horowitz and Elisabetta
2023-04-02   2023-04-03 urope/pope-francis-palm-sunday.html        Crowds                                        Povoledo                           TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/02/world/e Russian Military Blogger Who Backed           By Ivan Nechepurenko and Anatoly
2023-04-02   2023-04-03 urope/russian-military-blogger-explosion.html Invasion Is Killed in St Petersburg        Kurmanaev                        TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/02/world/e Finlands Prime Minister Is Toppled in         By Steven Erlanger and Johanna
2023-04-02   2023-04-03 urope/sanna-marin-finland-election.html       Election                                   Lemola                           TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/02/world/e For Leaders Abroad the Prospect of a Trump
2023-04-02   2023-04-03 urope/trump-indictment-world-leaders.html Revival Is EverPresent                      By Mark Landler                       TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/02/world/e Shelling Kills 6 as Assault Stalls in Ukraines By Matthew Mpoke Bigg Maria
2023-04-02   2023-04-03 urope/ukraine-russia-un-security-council.html East                                        Varenikova and Ivan Nechepurenko TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/02/world/
                        middleeast/israel-national-guard-ben-         In FarRight Win Israel To Start National
2023-04-02   2023-04-03 gvir.html                                     Guard                                       By Patrick Kingsley              TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/02/sports/n
2023-04-03   2023-04-03 caabasketball/lsu-kim-mulkey.html             Colorful Divisive Mulkey Wins 4th Title     By Jer Longman                   TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/03/arts/tele
                        vision/whats-on-tv-this-week-la-frontera-and-
2023-04-03   2023-04-03 the-english-patient.html                      This Week on TV                             By Kristen Bayrakdarian          TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/03/health/s DrugResistant Bacteria Linked To Eyedrops By Christina Jewett and Andrew
2023-04-03   2023-04-03 uperbug-eyedrops-blindness.html               Can Easily Spread                           Jacobs                           TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/03/sports/g The Legitimacy of LIV Golf May Hang on the
2023-04-03   2023-04-03 olf/masters-liv-pga.html                      Majors                                      By Alan Blinder                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/03/sports/g
                        olf/masters-woods-mickelson-johnson-          Augusta Buzzes Over Changes And the
2023-04-03   2023-04-03 liv.html                                      Return of Mickelson                         By Alan Blinder                  TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/03/sports/n
                        caabasketball/uconn-san-diego-state-national- A Coach and Players Unlikely Courses To
2023-04-03   2023-04-03 championship-preview-calcaterra.html          Opposite Sides of the Final Game           By Billy Witz                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/sports/s
                        an-diego-state-lamont-butler-winning-         Travails Trail the Old Soul Who Shot the
2023-04-03   2023-04-03 shot.html                                     Buzzer Beater for San Diego State          By Billy Witz                   TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/03/us/dona As Arrest Nears Trump Is Seeing Political     By Maggie Haberman and Jonathan
2023-04-03   2023-04-03 ld-trump-indicted-new-york.html               Gains                                      Swan                            TX 9-292-487      2023-06-01

                        https://www.nytimes.com/2023/03/15/science Not a Big Stretch In a New Study Sticking
2023-03-15   2023-04-04 /dinosaur-neck-mamenchisaurus-china.html Their Necks Out a Little Farther                By Jack Tamisiea                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/17/science
                        /seadragons-breeding-new-england-
2023-03-17   2023-04-04 aquarium.html                               After a Long Wait Baby Sea Dragons           By Remy Tumin                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/21/well/liv
2023-03-21   2023-04-04 e/cleaning-disinfectant-bleach-risks.html   There Isnt a Need To Disinfect So Much       By Dana G Smith                    TX 9-292-487   2023-06-01



                                                                                 Page 5054 of 5793
                        https://www.nytimes.com/2023/03/23/science SlowMotion Seasons Icy Planet Starts to
2023-03-24   2023-04-04 /uranus-climate-hubble.html                 Show A Lighter Shade of Pale               By Kenneth Chang              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/24/science
2023-03-24   2023-04-04 /goblin-shark-plastic-toy.html              Shark Researchers Took the Bait            By Annie Roth                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/24/well/fa
2023-03-24   2023-04-04 mily/weed-cannabis-parents-teens.html       How to Talk to Teenagers About Cannabis    By Catherine Pearson          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/27/science
2023-03-27   2023-04-04 /elephants-bees-buzzbox.html                To Save Elephants All Buzz No Kill         By Rachel Nuwer               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/27/well/m
2023-03-27   2023-04-04 ove/fitness-test.html                       Measure Fitness Without a Scale            By Dana G Smith               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/science Upward Mobility Why Lightning Rods Just
2023-03-28   2023-04-04 /lightning-rod-video.html                   Cant Wait for Lightning to Strike          By Nicholas Bakalar           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/well/liv
2023-03-28   2023-04-04 e/nap-benefits-sleep-loss.html              Can a Nap Make Up for a Bad Night of Sleep By Jyoti Madhusoodanan        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/science DNA Confirms Oral History of the Swahili
2023-03-29   2023-04-04 /ancient-swahili-dna.html                   People                                     By Elie Dolgin                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/well/m
2023-03-30   2023-04-04 ove/running-shoes.html                      Do You Have to Buy Fancy Running Shoes By Cindy Kuzma                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/world/a
                        mericas/colombia-february-christmas-        For 200 Years a Town Has Celebrated        By Jar F Coll and Genevieve
2023-03-30   2023-04-04 quinamayo.html                              Christmas in February                      Glatsky                       TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/31/arts/des
2023-03-31   2023-04-04 ign/gilbert-and-george-museum-london.html True Storytellers of London Open a Museum By Alex Marshall                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/arts/des
                        ign/portrait-of-omai-getty-national-portrait-
2023-03-31   2023-04-04 gallery.html                                  An Innovative Joint Venture in Art    By Alex Marshall                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/movies/
2023-03-31   2023-04-04 adam-sandler-murder-mystery-2.html            Adam Sandler Digs Deeper              By Calum Marsh                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/movies/ Making Sense of the Dungeons amp Dragons
2023-03-31   2023-04-04 dungeons-and-dragons-movie-guide.html         Film                                  By Calum Marsh                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/31/well/liv Heres How to Navigate The Unwinding of
2023-03-31   2023-04-04 e/medicaid-health-insurance-eligibility.html Medicaid                                   By Dani Blum                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/arts/dan
2023-04-02   2023-04-04 ce/review-beth-gill-bard.html                A Precise Everyday Surrealist              By Brian Seibert             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/briefing
2023-04-02   2023-04-04 /donald-trump-indictment-arrest.html         Big Week for an Angry Rattled Trumpworld   By David Leonhardt           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/opinion Ending Your Pets Life Was the Right
2023-04-02   2023-04-04 /pets-life-cats-dogs-guilt.html              Decision So Why Do You Feel So Guilty      By Karen Fine                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/arts/mu Seymour Stein 80 Who Signed Madonna and
2023-04-03   2023-04-04 sic/seymour-stein-dead.html                  Many Others Dies                           By Ben Sisario               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/arts/ma
2023-04-03   2023-04-04 rabar-sudama-sculpture-tons.html             Jumbo Rocks Come Alive In a New Space      By Rebecca J Ritzel          TX 9-292-487   2023-06-01




                                                                               Page 5055 of 5793
                        https://www.nytimes.com/2023/04/03/arts/mu
2023-04-03   2023-04-04 sic/morgan-wallen-billboard-chart.html       Top Album Belongs To Wallen              By Ben Sisario              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/arts/mu At 150 Rachmaninoff Still Hasnt Lost His
2023-04-03   2023-04-04 sic/rachmaninoff-150-kirill-gerstein.html    Step                                     By Joshua Barone            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/busines
                        s/economy/noncompete-clauses-broadcast-
2023-04-03   2023-04-04 news.html                                    How TV News Anchors Workers              By Lydia DePillis           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/busines Endeavor and WWE Join Forces for
2023-04-03   2023-04-04 s/endeavor-tko-wwe-ufc.html                  LiveCombat Tag Team                      By Benjamin Mullin          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/busines GeneSequencing Company Ordered to Divest
2023-04-03   2023-04-04 s/ftc-illumina-grail-divest.html             Acquisition                              By Steve Lohr               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/busines General Motors Reports Raise in Quarterly
2023-04-03   2023-04-04 s/general-motors-auto-sales.html             Sales Citing a Robust Demand             By Neal E Boudette          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/busines
                        s/media/ron-desantis-disney-world-           DeSantis And Disney Clash Anew Over
2023-04-03   2023-04-04 florida.html                                 Control                                  By Brooks Barnes            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/busines
2023-04-03   2023-04-04 s/oil-prices-opec-cut.html                   OPEC Cuts Send Price Of Oil Up           By Stanley Reed             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/busines Tesla to Pay Worker 32 Million for Racist
2023-04-03   2023-04-04 s/tesla-racist-treatment-jury-award.html     Treatment                                By Niraj Chokshi            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/climate A Fishing Ban Looks Certain as California  By Catrin Einhorn and Max
2023-04-03   2023-04-04 /salmon-fishery-closed-california.html       Salmon Stocks Crash                      Whittaker                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/fashion
                        /clocks-sothebys-jaeger-lecoultre-
2023-04-03   2023-04-04 switzerland.html                             Interest in clocks is growing            By Milena Lazazzera         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/fashion
2023-04-03   2023-04-04 /purnell-watches-paris-st-germain.html       A pitch perfect match                    By Nazanin Lankarani        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/fashion
2023-04-03   2023-04-04 /watches-china-covid-zenith-breitling.html   Making up for lost time in China         By Victoria Gomelsky        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/fashion
2023-04-03   2023-04-04 /watches-collection-categories.html          5 types for the savvy collector          By Carol Besler             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/fashion
2023-04-03   2023-04-04 /watches-collectors-hype.html                Discovering hidden gems                  By Vivian Morelli           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/fashion
                        /watches-iwc-schaffhausen-christoph-grainger-
2023-04-03   2023-04-04 herr.html                                    Capturing a retro energy                 By Robin Swithinbank        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/fashion
2023-04-03   2023-04-04 /watches-leather-goods-milan.html            Bits of leather shape an industry        By Kerry Olsen              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/fashion
                        /watches-phillips-patek-philippe-china-last-
2023-04-03   2023-04-04 emperor.html                                 The last emperors watch                  By Simon De Burton          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/fashion
2023-04-03   2023-04-04 /watches-pim-koeslag-the-netherlands.html Making sense of the world                   By Anders Modig             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/health/ New Outbreaks in Africa Raise Alarms About
2023-04-03   2023-04-04 marburg-outbreak-vaccine-treatment.html      Marburg a Deadly Cousin of Ebola         By Stephanie Nolen          TX 9-292-487   2023-06-01



                                                                              Page 5056 of 5793
                        https://www.nytimes.com/2023/04/03/nyregio In Trump Return New York Awaits Historic
2023-04-03   2023-04-04 n/adams-trump-nyc.html                       Moment                                    By Corey Kilgannon                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/nyregio
                        n/nyc-gay-bars-drugging-murders-             3 Held in Drugging Murders And Robberies
2023-04-03   2023-04-04 charges.html                                 at Gay Bars                               By Liam Stack                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/nyregio Court Tosses Conviction For Rape Citing
2023-04-03   2023-04-04 n/rape-conviction-new-york-court.html        Delay In Seeking a Warrant                By Maria Cramer                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/nyregio University That Banned LGBTQ Club Faces
2023-04-03   2023-04-04 n/yeshiva-university-ny-public-funds.html    Scrutiny                                  By Liam Stack                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/opinion
2023-04-03   2023-04-04 /red-state-life-expectancy-death.html        Understanding the Red State Death Trip    By Paul Krugman                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/opinion
                        /trump-indictment-nashville-biden-           To Boldly Go Where No President Has Gone
2023-04-03   2023-04-04 manchin.html                                 Before                                    By Gail Collins and Bret Stephens   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/opinion
                        /why-dutch-farmers-turned-their-flag-upside- Why Dutch Farmers Turned Their Flag
2023-04-03   2023-04-04 down.html                                    Upside Down                               By Ben Coates                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/science Moon Mission Will Include An Astronaut
2023-04-03   2023-04-04 /artemis-ii-moon-canada.html                 From Canada                               By Vjosa Isai                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/science
2023-04-03   2023-04-04 /nasa-artemis-ii-moon.html                   51 Years Later Diverse Crew Aims for Moon By Kenneth Chang                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/sports/b Todays Padres From Poorhouse To the
2023-04-03   2023-04-04 aseball/san-diego-padres.html                Penthouse                                 By Scott Miller                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/sports/b
                        asketball/golden-state-warriors-denver-
2023-04-03   2023-04-04 nuggets.html                                 The Warriors Leave Their Game Home        By Scott Cacciola                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/sports/g A Champ Who Joined LIV Isnt Looking Back
2023-04-03   2023-04-04 olf/masters-bubba-watson-liv.html            In Anger or in Regret                     By Alan Blinder                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/sports/n
                        caabasketball/pac-12-conference-             As Conferences Shuffle San Diego State
2023-04-03   2023-04-04 realignment.html                             Seems to Hold Cards                       By Billy Witz                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/sports/n
                        caabasketball/womens-basketball-march-       For Womens Game This Moment Is Just a
2023-04-03   2023-04-04 madness.html                                 Point on a Path of Success                By Talya Minsberg                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/03/sports/s Chelsea Ran Up the Bill and Its Coach Paid
2023-04-03   2023-04-04 occer/chelsea-graham-potter-todd-boehly.html the Price                                 By Tariq Panja                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/technol Twitter Warned Of Unchecking Instead a Dog
2023-04-03   2023-04-04 ogy/twitter-blue-check-elon-musk.html        Replaced a Bird                           By Kate Conger and Ryan Mac         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/theater/
2023-04-03   2023-04-04 yes-i-can-say-that-review.html               Making Us Laugh and Think a Little Too    By Laura CollinsHughes              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/us/arizo
2023-04-03   2023-04-04 na-rancher-migrant-death.html                Death and Murky Justice on Arizona Ranch By Jack Healy                        TX 9-292-487   2023-06-01




                                                                                Page 5057 of 5793
                        https://www.nytimes.com/2023/04/03/us/haml
                        ine-university-prophet-president-fayneese-  College President at Center Of Islam Debate
2023-04-03   2023-04-04 miller.html                                 Is Retiring                                 By Vimal Patel                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/us/polit
                        ics/desantis-defamation-libel-laws-         DeSantis Push to Limit Press Angers
2023-04-03   2023-04-04 florida.html                                RightWing Media                             By Ken Bensinger                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/us/polit
                        ics/donald-trump-nypd-arraignment-jan-      Police Dont Expect Repeat Of Jan 6 but      By Glenn Thrush Alan Feuer and
2023-04-03   2023-04-04 6.html                                      Theyre Alert                                Adam Goldman                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/us/polit Millions at Risk Of Soon Losing Their
2023-04-03   2023-04-04 ics/medicaid-enrollment-pandemic.html       Medicaid                                    By Noah Weiland                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/us/polit Super PAC For Governor Has Raised 30
2023-04-03   2023-04-04 ics/super-pac-desantis.html                 Million                                     By Maggie Haberman               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/us/solit Does a Prisoner in Solitary Have a Right to
2023-04-03   2023-04-04 ary-confinement-prisoners-exercise.html     Outdoor Exercise                            By Adam Liptak                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/03/world/a The Secretive Quest to Free The Hero of      By Declan Walsh Michael D Shear
2023-04-03   2023-04-04 frica/hotel-rwanda-rusesabagina-kagame.html Hotel Rwanda                                and Abdi Latif Dahir            TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/03/world/a Woman Guilty of Abuse At an Orthodox
2023-04-03   2023-04-04 sia/malka-leifer-australia-sexual-abuse.html School                                     By Yan Zhuang                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/world/a North Koreans Trapped Inside Russia and
2023-04-03   2023-04-04 sia/north-korea-human-rights.html            China Toil for the Government              By Choe SangHun                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/03/world/e Influencer Is Placed Under House Arrest After
2023-04-03   2023-04-04 urope/andrew-tate-house-arrest-romania.html Being Released From Jail in Romania          By Jenny Gross                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/03/world/e Assassinated War Blogger Was an Influential
2023-04-03   2023-04-04 urope/blogger-tatarsky-russia-ukraine.html Figure In a ProRussia Movement              By Ivan Nechepurenko              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/world/e
                        urope/hashim-thaci-kosovo-war-crimes-      War Crimes Trial Begins for Kosovos
2023-04-03   2023-04-04 tribunal.html                              ExLeader                                    By Marlise Simons                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/world/e Paris Has Spoken and It Hates Electric
2023-04-03   2023-04-04 urope/paris-electric-scooters-ban.html     Scooters                                    By Tom Nouvian                    TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/03/world/e Russia Detains a Suspect in a Killing and    By Anton Troianovski Anatoly
2023-04-03   2023-04-04 urope/russia-bombing-ukraine-war.html      Shifts the Blame to Ukraine                  Kurmanaev and Ivan Nechepurenko TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/03/world/e Ukraine Prepares Assault With Fresh          By Andrew E Kramer and Mauricio
2023-04-03   2023-04-04 urope/ukraine-war-counteroffensive.html    Weapons but Weary Troops                     Lima                            TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/03/world/e Strange Days at United Nations as Russia
2023-04-03   2023-04-04 urope/un-security-council-russia.html      Takes the Helm of the Security Council       By Farnaz Fassihi                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/fashion
2023-04-04   2023-04-04 /watches-id-geneve-switzerland.html        The mission Create the most circular watch   By Robin Swithinbank             TX 9-292-487   2023-06-01




                                                                                Page 5058 of 5793
                        https://www.nytimes.com/2023/04/04/fashion
                        /watches-patek-philippe-vacheron-constantin-
2023-04-04   2023-04-04 switzerland.html                             Watch wonders never cease                   By Robin Swithinbank             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/science
                        /bison-hunt-yellowstone-native-                                                          By Jim Robbins and Michael
2023-04-04   2023-04-04 americans.html                               Culling and Concerns                        Hanson                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/us/polit Wisconsins High Drama For Supreme Court
2023-04-04   2023-04-04 ics/wisconsin-supreme-court-election.html    Seat                                        By Reid J Epstein                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/dining/
2023-03-30   2023-04-05 crispy-tofu-recipe.html                      For the Crispiest Tofu Go With Milanese     By David Tanis                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/technol                                               By Paul Mozur and Adam
2023-03-30   2023-04-05 ogy/police-surveillance-tech-dubai.html      Inside Policing Tools That Change The Game Satariano                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/arts/des
                        ign/gerhard-richter-neue-nationalgalerie-    A Gerhard Richter Show Finds a Home for
2023-03-31   2023-04-05 berlin-modern.html                           Now                                         By Catherine Hickley             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/dining/
2023-03-31   2023-04-05 gochujang.html                               So Much More Than a Condiment               By Eric Kim                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/movies/
2023-03-31   2023-04-05 blood-sweat-tears-1970-tour.html             A Hit Band Broken by an IllAdvised Tour     By Alan Light                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/dining/
2023-04-01   2023-04-05 drinks/lesbian-bars-los-angeles.html         In Los Angeles New Life For the Lesbian Bar By Tejal Rao                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/opinion
                        /humanities-liberal-arts-policy-higher-      Colleges Should Be More Than Just
2023-04-02   2023-04-05 education.html                               Vocational Schools                          By Bret C Devereaux              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/arts/mu
                        sic/emahoy-tsegue-maryam-guebrou-            Emahoy TseguMaryam Gubrou 99 Nun
2023-04-03   2023-04-05 dead.html                                    Whose Music Seeped Into the Soul            By Neil Genzlinger               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/climate                                               By Raymond Zhong and Erin
2023-04-03   2023-04-05 /california-storms-snowpack.html             Blessing or Threat in Californias Snowpack Schaff                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/dining/ Australias Hot Cross Bun Season Comes
2023-04-03   2023-04-05 hot-cross-buns-australia.html                Early                                       By Doosie Morris                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/dining/
2023-04-03   2023-04-05 matzo-brei-passover-recipe.html              A Matzo Brei Thats Different                By Melissa Clark                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/opinion
                        /guardianship-britney-spears-decision-                                                   By Emily Largent Andrew Peterson
2023-04-03   2023-04-05 making.html                                  A Better Alternative to Guardianship        and Jason Karlawish              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/us/polit
2023-04-03   2023-04-05 ics/biden-free-trade.html                    Allies Irked With Biden Over Trade          By Ana Swanson                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/world/e Nigel Lawson Who Reshaped Economy
2023-04-03   2023-04-05 urope/nigel-lawson-dead.html                 Under Thatcher Dies at 91                   By Alan Cowell                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/03/sports/n All Distractions Aside Connecticut Completes
2023-04-04   2023-04-05 caabasketball/uconn-wins-championship.html Its March to the Title                        By Billy Witz                  TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/04/arts/des Art and Antique Sales Climb Above PreCovid
2023-04-04   2023-04-05 ign/ubs-art-basel-report-art-market.html    Level                                        By Scott Reyburn               TX 9-292-487     2023-06-01



                                                                                Page 5059 of 5793
                        https://www.nytimes.com/2023/04/04/arts/mu
2023-04-04   2023-04-05 sic/ruston-kelly-the-weakness.html           Rebuilding As a Way To Survive Turmoil       By Melena Ryzik                TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/04/arts/tele
                        vision/grease-prequel-rise-of-the-pink-
2023-04-04   2023-04-05 ladies.html                                  Theyre Not Sandra Dee And Proud of It        By Elisabeth Vincentelli       TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/04/busines US Accuses Entrepreneur Of Defrauding
2023-04-04   2023-04-05 s/charlie-javice-jpmorgan-fraud.html         JPMorgan                                     By Ron Lieber                  TX 9-292-487    2023-06-01
                                                                     At Wake for Credit Suisse Apologies From
                        https://www.nytimes.com/2023/04/04/busines Officials and Recriminations From
2023-04-04   2023-04-05 s/dealbook/credit-suisse-shareholders.html   Shareholders                                 By Michael J de la Merced      TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/04/busines
                        s/dealbook/jamie-dimon-letter-bank-          Effects of Banking Crisis Will Be Felt for
2023-04-04   2023-04-05 crisis.html                                  Years Dimon Tells Shareholders               By Lauren Hirsch               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/04/busines Labor Markets CoolDown Continued as
2023-04-04   2023-04-05 s/economy/february-jolts-jobs-report.html    Openings Fell                                By Lora Kelley                 TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/04/busines
2023-04-04   2023-04-05 s/media/johnson-johnson-talc-settlement.html Jamp J Offers Talc Payout 89 Billion        By Tiffany Hsu                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/04/busines Regulation TikTok Is Penalized In Britain for
2023-04-04   2023-04-05 s/media/tiktok-fine-uk-kids-privacy.html     Data Misuse                                 By Natasha Singer               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/04/busines China Strikes Back With Review of US Chip
2023-04-04   2023-04-05 s/micron-china-investigation.html            Maker                                       By Chang Che and John Liu       TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/04/busines
2023-04-04   2023-04-05 s/renewable-energy-farms-agriculture.html  New Cash Crop for American Farmers Energy By Keith Schneider                  TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/04/busines Bay Area Expansion Team Draws a Record
2023-04-04   2023-04-05 s/us-womens-soccer-league-investment.html Price for the US Womens Soccer League           By Lauren Hirsch               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/04/dining/i
                        ntroduce-your-teens-to-new-york-restaurants- Introduce Your Teens to the City and Its
2023-04-04   2023-04-05 theyll-thank-you-later.html                  Restaurants                                  By Nikita Richardson           TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/04/dining/
2023-04-04   2023-04-05 milk-dairy-industry-gen-z.html               Got Milk For This Generation Maybe Not       By Kim Severson                TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/04/dining/ Carriage House Complete With Butter
2023-04-04   2023-04-05 nyc-restaurant-news.html                     Candles Opens in the West Village            By Florence Fabricant          TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/04/health/a
2023-04-04   2023-04-05 lcohol-health-effects.html                   No Benefits To Alcohol Study Finds           By Roni Caryn Rabin            TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/04/movies/
2023-04-04   2023-04-05 air-movie-review.html                        Custom High Tops and Game Changers           By Manohla Dargis               TX 9-292-487   2023-06-01
                                                                                                                  By Jonah E Bromwich William K
                        https://www.nytimes.com/2023/04/04/nyregio                                                Rashbaum Ben Protess and Maggie
2023-04-04   2023-04-05 n/trump-arraignment-felony-charges.html    Trump Charged With 34 Felonies                 Haberman                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/nyregio Pivotal Question When Is Hush Money a
2023-04-04   2023-04-05 n/trump-hush-money-charges.html            Crime                                          By Michael Rothfeld            TX 9-292-487    2023-06-01




                                                                                  Page 5060 of 5793
                        https://www.nytimes.com/2023/04/04/nyregio In Crowds Outside Court Anger and Oddity     By Michael Wilson and Christopher
2023-04-04   2023-04-05 n/trump-rally-protests-nyc.html             Collide                                     Maag                              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/opinion
                        /donald-trump-alvin-bragg-indictment-       We Finally Know the Case Against Trump      By Karen Friedman Agnifilo and
2023-04-04   2023-04-05 charges.html                                and It Is Strong                            Norman Eisen                     TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/04/opinion
2023-04-04   2023-04-05 /putin-russia-evan-gershkovich.html         Putin Should Have Read Evan Gershkovich     By Bret Stephens                 TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/04/sports/g LIV Schisms Effect on Rankings Has Events
2023-04-04   2023-04-05 olf/masters-official-world-ranking-liv.html Lost in the Weeds Too                       By Alan Blinder                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/04/sports/g                                             By Bill Pennington and
2023-04-04   2023-04-05 olf/masters-tiger-woods.html                Still a Presence if No Longer a Threat      Photographs by Doug Mills        TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/04/sports/n
2023-04-04   2023-04-05 caabasketball/march-madness-takeaways.html What We Learned From a Month Of Madness By The New York Times                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/sports/n Was Calamari Scapegoated In a
2023-04-04   2023-04-05 caabasketball/uconn-calamari.html           Championship Run                              By Andrew Keh                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/technol Next Big Leap for AI Tech Instant Videos on
2023-04-04   2023-04-05 ogy/runway-ai-videos.html                   Command                                       By Cade Metz                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/theater/
                        oscar-isaac-rachel-brosnahan-hansberry-
2023-04-04   2023-04-05 broadway.html                               A Broadway Surprise Fresh From BAM            By Michael Paulson              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/us/elect
                        ions/chicago-mayor-election-brandon-        County Commissioner Is Elected Mayor of
2023-04-04   2023-04-05 johnson.html                                Chicago                                       By Mitch Smith                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/us/polit Even as Biden Has Oval Office Predecessor By Peter Baker and Michael D
2023-04-04   2023-04-05 ics/biden-trump-arraignment.html            Has the Spotlight                             Shear                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/us/polit Behind Indictment Right Wing Sees a           By Jonathan Weisman and Andrew
2023-04-04   2023-04-05 ics/george-soros-bragg-trump.html           Familiar Villain in Soros                     Higgins                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/us/polit                                               By Maggie Haberman and Jonathan
2023-04-04   2023-04-05 ics/trump-arraignment-mood-strategy.html    Seemingly Defiant But Probably Anxious        Swan                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/us/polit Trump Calls for Protests but Supporters Spurn
2023-04-04   2023-04-05 ics/trump-arraignment-protests.html         a Repeat of Jan 6                             By Charles Homans               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/us/polit FDA Plans to Approve Additional Covid         By Noah Weiland and Sharon
2023-04-04   2023-04-05 ics/updated-covid-booster-fda.html          Booster For the Most Vulnerable               LaFraniere                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/world/a 7 Tourists Die in Avalanche In Snowy Indian
2023-04-04   2023-04-05 sia/avalanche-india-himalayas-dead.html     Himalayas                                     By Karan Deep Singh             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/world/a Australian City Installs a Custom Sprinkler
2023-04-04   2023-04-05 ustralia/melbourne-bat-showers.html         System to Save Bats                           By Natasha Frost                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/world/e
                        urope/evan-gershkovich-wall-street-journal- Covering a Reporter As Their Own Voices
2023-04-04   2023-04-05 russia.html                                 Are Being Suppressed                          By Anton Troianovski            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/world/e NATO Formally Adds Finland Delivering a
2023-04-04   2023-04-05 urope/finland-nato-russia-ukraine.html      Poke in Putins Eye                            By Steven Erlanger              TX 9-292-487   2023-06-01




                                                                               Page 5061 of 5793
                        https://www.nytimes.com/2023/04/04/world/e Italys Premier Returns To Her Rightist Roots
2023-04-04   2023-04-05 urope/italy-surrogacy-same-sex-couples.html Pushing Surrogacy Ban                        By Jason Horowitz                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/world/e Train Derails in the Netherlands Killing at   By Claire Moses John Yoon and
2023-04-04   2023-04-05 urope/netherlands-train-derailment.html      Least One                                   Emma Bubola                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/world/e
                        urope/russias-commissioner-for-childrens-
                        rights-seeks-to-portray-war-crimes-          Russias Commissioner for Childrens Rights
2023-04-04   2023-04-05 accusations-as-false.html                    Says War Crimes Accusations Are a Farce     By Valerie Hopkins                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/world/e Near Bakhmut Death Is Delivered Remotely
2023-04-04   2023-04-05 urope/ukraine-bakhmut-russia-drones.html     and Witnessed Live on Video                 By Andrew E Kramer                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/article/russia-      Killing of Blogger Could Intensify a        By Anatoly Kurmanaev and Ivan
2023-04-04   2023-04-05 blogger-explosion.html                       Crackdown on Dissent                        Nechepurenko                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/article/trump-                                                   By Ben Protess and Jonah E
2023-04-04   2023-04-05 charges-falsifying-business-records.html     A Look at the Charges Against Trump         Bromwich                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/theater/
2023-04-05   2023-04-05 shucked-review-broadway.html                 Broadway and the Boonies Meet               By Jesse Green                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/us/polit In a Case of Falsified Records Exploring the
2023-04-05   2023-04-05 ics/trump-bookkeeping-fraud-taxes.html       Paths to a Felony                           By Charlie Savage                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/us/polit
                        ics/trump-speech-arraignment-mar-a-          In Short Speech Trump Rails Against         By Michael C Bender and Maya
2023-04-05   2023-04-05 lago.html                                    Inquiries                                   King                                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/us/polit
                        ics/wisconsin-supreme-court-                 Liberal Wins Wisconsin Court Race in
2023-04-05   2023-04-05 protasiewicz.html                            Victory for Abortion Rights Backers         By Reid J Epstein                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/insider/
                        a-fitness-writer-breaks-a-sweat-for-work-
2023-04-05   2023-04-05 underground.html                             A Fitness Writer Breaks a Sweat on the Job By John Otis                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/sports/g
                        olf/masters-course-design-golf-ball-         Tired of Hearing About LIV Then Lets Talk
2023-04-05   2023-04-05 changes.html                                 About the Future of the Ball                By Alan Blinder                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/world/e
                        urope/eu-china-embassador-russia-fu-                                                     By Matina StevisGridneff and
2023-04-05   2023-04-05 cong.html                                    BeijingMoscow Ties Misread Diplomat Says Steven Erlanger                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/world/e French President Hopes China Can Press
2023-04-05   2023-04-05 urope/france-macron-china-visit.html         Russia to End War in Ukraine                By Roger Cohen                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/03/                                             By Muyi Xiao Ishaan Jhaveri
                        20/science/chinese-space-balloon-                                                        Eleanor Lutz Christoph Koettl and
2023-03-20   2023-04-06 incident.html                                Tracking the Chinese Balloon From Space     Julian E Barnes                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/27/t-
                        magazine/olivia-villanti-chava-mexico-city-
2023-03-27   2023-04-06 dinner.html                                  People Places Things                        By Michael Snyder                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/31/movies/
2023-03-31   2023-04-06 measures-of-men-germany-colonialsim.html Facing Another German Genocide                  By Thomas Rogers                    TX 9-292-487   2023-06-01



                                                                                 Page 5062 of 5793
                        https://www.nytimes.com/2023/03/31/style/m
2023-03-31   2023-04-06 organ-maher-photography.html               She Gets Them Because Shes One of Them         By Jon Caramanica                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/t-
2023-03-31   2023-04-06 magazine/alex-newell-shucked.html          From Shucked a Powerful Voice                  By Nancy Coleman                    TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/02/opinion The Last of Us Is Right Our Warming Planet
2023-04-02   2023-04-06 /the-last-of-us-fungus-climate-change.html     Is a Petri Dish                             By Neil Vora                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/books/c
                        lassic-novels-revisions-agatha-christie-roald- Readers Torn by Push to Revise Classics for By Alexandra Alter and Elizabeth
2023-04-03   2023-04-06 dahl.html                                      Modern Sensibilities                        A Harris                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/busines
2023-04-03   2023-04-06 s/media/netflix-marketing.html                 Netflixs Strategy More Bang for Its Buck    By Nicole Sperling                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/dining/r Raghavan Iyer 61 Who Got America To Give
2023-04-03   2023-04-06 aghavan-iyer-dies.html                         Indian Cooking a Try at Home                By Kim Severson                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/style/ba Still in the Cradle but Ready to Rock Social
2023-04-03   2023-04-06 by-social-media-handle.html                    Media                                       By Kate Lindsay                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/style/br
2023-04-03   2023-04-06 ooke-shields-pretty-baby.html                  Brooke Shields and Beautys Curse            By Rhonda Garelick                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/arts/dah Digital Books You Bought Altered Before
2023-04-04   2023-04-06 l-christie-stine-kindle-edited.html            Your Very Eyes                              By Reggie Ugwu                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/busines Bing Newcomb 79 ETrade CoFounder And
2023-04-04   2023-04-06 s/dealbook/bing-newcomb-dead.html              Philanthropist                              By Sam Roberts                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/busines As KPop Eyes Global Growth Korean Fans
2023-04-04   2023-04-06 s/sm-entertainment-kakao-hybe-kpop.html        Feel Cast Aside                             By John Yoon                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/opinion Brooke Shields Social Media and the Publics
2023-04-04   2023-04-06 /brooke-shields.html                           Gaze                                        By Jessica Grose                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/style/tik
2023-04-04   2023-04-06 tok-final-exams.html                           A Lesson on Going Viral Did Just That       By Madison Malone Kircher          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/theater/ No Need to Lead When You Can Sing and
2023-04-04   2023-04-06 berlusconi-a-new-musical-review.html           Dance                                       By Houman Barekat                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/us/polit
                        ics/guantanamo-appeals-court-due-              Appeals Court Punts on Question Of Due      By Charlie Savage and Carol
2023-04-04   2023-04-06 process.html                                   Process at Guantnamo                        Rosenberg                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/arts/dan
2023-04-05   2023-04-06 ce/balanchine-feminism-ballet.html             Freedom and Feminism in Ballet              By Gia Kourlas                     TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/05/arts/dan
2023-04-05   2023-04-06 ce/review-kyle-abraham-joyce-theater.html Cunningham and Love Are in the Air              By Gia Kourlas                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/arts/tele
2023-04-05   2023-04-06 vision/beef-review.html                      Mapping Out Anger in Different Directions    By James Poniewozik                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/arts/tele For Once Donald Trump Did Not Enjoy the
2023-04-05   2023-04-06 vision/donald-trump-arraignment.html         Show                                         By James Poniewozik                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/books/s
2023-04-05   2023-04-06 tinging-fly-irish-literature.html            Top Irish Writers Are Starting Here          By Max Ufberg                       TX 9-292-487   2023-06-01




                                                                                  Page 5063 of 5793
                        https://www.nytimes.com/2023/04/05/busines End of GasEngine Camaro Opens a New
2023-04-05   2023-04-06 s/camaro-gm-electric-vehicles.html         Door for Muscle Cars                             By Lawrence Ulrich            TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/05/busines UBS Chiefs See Risks in Takeover of Credit
2023-04-05   2023-04-06 s/dealbook/ubs-investors-credit-suisse.html Suisse                                         By Michael J de la Merced      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/busines
                        s/energy-environment/ohio-electric-vehicles- Ohio Races to Retool for Electric Car         By Jack Ewing and Maddie
2023-04-05   2023-04-06 jobs.html                                    Revolution                                    McGarvey                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/busines
2023-04-05   2023-04-06 s/forbes-richest-list-france.html            France Leads the List Of the Global Ultrarich By Liz Alderman                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/busines Klaus Teuber Who Created the Board Game
2023-04-05   2023-04-06 s/klaus-teuber-dead.html                     Catan Is Dead at 70                           By Neil Genzlinger             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/busines Neal Boenzi Top Times Photographer for
2023-04-05   2023-04-06 s/media/neal-boenzi-dead.html                Four Decades Dies at 97                       By Richard Sandomir            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/busines
                        s/media/rupert-murdoch-testify-fox-dominion-
2023-04-05   2023-04-06 trial.html                                   Murdochs Can Be Forced to Testify at Trial By Katie Robertson                TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/05/busines In Policy Shift Twitter Calls NPR
2023-04-05   2023-04-06 s/npr-twitter-label-state-affiliated-media.html StateAffiliated Media                       By Lora Kelley                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/busines
2023-04-05   2023-04-06 s/tech-internship-application-grind.html        Trying to Level the Playing Field in Tech   By Natasha Singer             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/climate EPA to Tighten Limits On Power Plant
2023-04-05   2023-04-06 /epa-mercury-coal-plants.html                   Emissions                                   By Lisa Friedman              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/nyregio Hochul Pulls Back on Her Push to Alter           By Grace Ashford and Dana
2023-04-05   2023-04-06 n/hochul-climate-law.html                       Landmark Climate Act                        Rubinstein                    TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/05/nyregio Problems Riddle Program to Ease
2023-04-05   2023-04-06 n/ny-housing-voucher-program-problems.html Homelessness Advocates Say                    By Mihir Zaveri                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/opinion
2023-04-05   2023-04-06 /trump-arraignment-speech-maralago.html     The Incredible Shrinking Defendant           By Charles M Blow                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/opinion
2023-04-05   2023-04-06 /trump-charges-presumed-innocent.html       Do Critics of Trumps Indictment Have a Point By Nicholas Kristof              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/sports/g
                        olf/masters-augusta-national-course-        The More You Play It The More You            By Alan Blinder Doug Mills and
2023-04-05   2023-04-06 guide.html                                  Understand It                                Chris ORiley                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/sports/g
2023-04-05   2023-04-06 olf/masters-players-to-watch.html           The players to watch at Augusta National     By Michael Arkush                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/sports/g
2023-04-05   2023-04-06 olf/trevor-immelman-cbs.html                From the green to the screen                 By Michael Arkush                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/sports/s
                        occer/gerard-pique-barcelona-kings-         Former Barcelona Star Seeks to Reinvent The
2023-04-05   2023-04-06 league.html                                 Sport He Loves                               By Rory Smith                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/style/ho These Sports Shoes Are Big Bulky and
2023-04-05   2023-04-06 kas-fashion.html                            Trending                                     By Reyhan Harmanci               TX 9-292-487   2023-06-01



                                                                                    Page 5064 of 5793
                        https://www.nytimes.com/2023/04/05/technol A University Seeks a Silicon Valley
2023-04-05   2023-04-06 ogy/bowie-hbcu-tech-intern-pipeline.html      Workaround for Interns                    By Natasha Singer                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/technol
                        ogy/personaltech/event-planning-apps-         How to Digitally Brainstorm Your Next Big
2023-04-05   2023-04-06 tools.html                                    Event                                     By J D Biersdorfer                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/theater/ Just for Us Comedian to Bring His Show to
2023-04-05   2023-04-06 alex-edelman-broadway.html                    Broadway                                  By Michael Paulson                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/us/cath Clergy in Baltimore Archdiocese Abused
2023-04-05   2023-04-06 olic-church-abuse-baltimore.html              Hundreds of Children Report Finds         By Ruth Graham                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/us/chic Focus on Field Work Rallied Voters to Tip
2023-04-05   2023-04-06 ago-mayor-election-brandon-johnson.html       Close Election                            By Julie Bosman and Mitch Smith TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/05/us/chic Voters in Largely Liberal Chicago Elect
2023-04-05   2023-04-06 ago-voters-mayor-election.html                Progressive as Next Mayor                 By Julie Bosman                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/us/polit A Natural Schmoozer Bidens Israel Envoy Is
2023-04-05   2023-04-06 ics/ambassador-israel-thomas-nides.html       at the Center of the Storm                By Michael Crowley                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/us/polit
                        ics/chicago-mayor-election-democrats-         Campaign May Become A Blueprint for
2023-04-05   2023-04-06 crime.html                                    Democrats                                 By Jonathan Weisman                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/us/polit
                        ics/house-republicans-bragg-subpoena-         GOP Vows to Grill Bragg Then Weighs How By Luke Broadwater and Jonathan
2023-04-05   2023-04-06 trump.html                                    Exactly                                   Swan                               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/us/polit First Ladys Technical Foul Results in a
2023-04-05   2023-04-06 ics/jill-biden-lsu-iowa-white-house.html      Reminder on to Whom Go the Spoils         By Katie Rogers                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/us/polit McCarthy Meets With Taiwans Leader as       By Karoun Demirjian and Chris
2023-04-05   2023-04-06 ics/mccarthy-tsai-taiwan-china.html           Strife Grows With China                   Buckley                            TX 9-292-487   2023-06-01
                                                                      Haley Raises Over 11 Million to Start Her
                        https://www.nytimes.com/2023/04/05/us/polit 2024 Campaign Outpacing Trump in the
2023-04-05   2023-04-06 ics/nikki-haley-2024-president.html           Same Period                               By Rebecca Davis OBrien            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/us/polit Pence Wont Appeal Ruling Compelling         By Maggie Haberman and Alan
2023-04-05   2023-04-06 ics/pence-jan-6-testimony.html                Testimony to Jan 6 Grand Jury Aide Says   Feuer                              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/us/polit
                        ics/robert-kennedy-jr-presidential-run-       Kennedy Jr Fauci Critic Files to Run For
2023-04-05   2023-04-06 2024.html                                     President                                 By Trip Gabriel                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/us/polit
                        ics/sutherland-springs-mass-shooting-justice- Justice Dept Makes 1445 Million Deal With
2023-04-05   2023-04-06 dept.html                                     Victims of Texas Church Massacre          By Glenn Thrush                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/us/polit
                        ics/tennessee-house-democrats-expulsion-gun- Tennessee House Poised to Expel Members
2023-04-05   2023-04-06 control.html                                  for Gun Control Protest                   By Emily Cochrane                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/us/polit Democrats Defection Cements GOP Control
2023-04-05   2023-04-06 ics/tricia-cotham-north-carolina.html         of North Carolina Legislature             By Nick Corasaniti and Neil Vigdor TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/us/polit Trump and Allies Focus on Political Upsides By Maggie Haberman Michael C
2023-04-05   2023-04-06 ics/trump-campaign-indictment.html            of a Criminal Case                        Bender and Jonathan Swan           TX 9-292-487   2023-06-01




                                                                                Page 5065 of 5793
                        https://www.nytimes.com/2023/04/05/us/polit
                        ics/trumps-charges-republicans-             Political World Weighs Fallout Of Trump   By Jonathan Weisman Katie
2023-04-05   2023-04-06 democrats.html                              Case                                      Glueck and Jazmine Ulloa        TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/us/polit
                        ics/wisconsin-supreme-court-abortion-
2023-04-05   2023-04-06 protasiewicz.html                           PostRoe Lift In Wisconsin Fuels the Left  By Reid J Epstein               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/world/a
                        sia/jacinda-ardern-new-zealand-             Climate Change Isnt a Hypothetical Ardern
2023-04-05   2023-04-06 resignation.html                            Says in a Farewell to Parliament          By Natasha Frost                TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/world/a The Legacy of a Black American Who Fought
2023-04-05   2023-04-06 ustralia/john-joseph-eureka-stockade.html   for Australias Rights                     By Damien Cave                  TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/world/e Macron Says Hell Urge Xi to Act as
2023-04-05   2023-04-06 urope/macron-xi-china-ukraine.html          Peacemaker                                By Roger Cohen                  TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/05/world/e Husband Of ExLeader Of Scotland Is
2023-04-05   2023-04-06 urope/nicola-sturgeon-husband-arrested.html Arrested                                 By Stephen Castle                TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/05/world/e Polish Party Attacks Show Criticizing John
2023-04-05   2023-04-06 urope/poland-election-pope-john-paul-ii.html Paul II                                  By Andrew Higgins               TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/05/world/e A Common Foe Binds Ukraine Tight to
2023-04-05   2023-04-06 urope/russia-ukraine-zelensky-poland.html  Poland                                    By Andrew Higgins                TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/05/world/e African Students Who Fled Ukraine See
2023-04-05   2023-04-06 urope/ukraine-african-students-europe.html Dreams at Risk                              By Monika Pronczuk               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/world/ Israeli Police Raid Jerusalem Mosque         By Raja Abdulrahim and Patrick
2023-04-05   2023-04-06 middleeast/aqsa-mosque-jerusalem.html        Arresting Hundreds                        Kingsley                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/04/
                        05/sports/golf/liv-golf-trump-mohammed-bin-                                            By Alan Blinder Kevin Draper and
2023-04-05   2023-04-06 salman.html                                  The World of LIV Golf                     Guilbert Gates                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/world/e Russia Accused of Spreading Propaganda via
2023-04-06   2023-04-06 urope/russia-un-security-council.html        UN Security Council Meeting               By Farnaz Fassihi                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/insider/
2023-04-06   2023-04-06 tracking-chinese-balloon.html                A BirdsEye View of the Chinese Balloon    By Josh Ocampo                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/sports/g DeChambeau Once Golfs Future Looks for
2023-04-06   2023-04-06 olf/masters-bryson-dechambeau-liv.html       Past Form                                 By Bill Pennington               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/sports/g Two Rival Tours Meet in Peace on Hallowed
2023-04-06   2023-04-06 olf/masters-pga-liv.html                     Ground                                    By Alan Blinder                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/us/polit
                        ics/food-stamps-house-republicans-farm-      House GOP Plan to Cut Food Stamps Faces a
2023-04-06   2023-04-06 bill.html                                    Fight                                     By Catie Edmondson               TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/06/world/a Democracy Seems Distant as Generals
2023-04-06   2023-04-06 frica/sudan-generals-coup-civilian-rule.html Squabble                                By Declan Walsh                  TX 9-292-487     2023-06-01




                                                                              Page 5066 of 5793
                        https://www.nytimes.com/2023/03/31/movies/ Basketball War and Sleepaway Camp in
2023-03-31   2023-04-07 documentaries-streaming.html                 Earlier Times                                By Ben Kenigsberg              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/movies/
2023-03-31   2023-04-07 quentin-dupieux-comedy-clips.html            5 Films That Inspire A Fan of the Bizarre    By Nicolas Rapold              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/arts/mu
                        sic/thomas-bangalter-daft-punk-
2023-04-03   2023-04-07 mythologies.html                             Hes Truly Human After All                    By Zachary Woolfe              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/movies/
2023-04-03   2023-04-07 pretty-baby-brooke-shields-review.html       Pretty Baby Brooke Shields                   By Natalia Winkelman           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/travel/p Hoping to Travel Abroad Passport
2023-04-03   2023-04-07 assport-processing-wait-times.html           Applications Face a Processing Backlog       By Isabella Kwai               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/movies/
2023-04-04   2023-04-07 country-gold-review.html                     Country Gold                                 By Glenn Kenny                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/movies/
2023-04-04   2023-04-07 living-with-chucky-review.html               Living With Chucky                           By Erik Piepenburg             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/arts/sett The Creator of Catan Transformed Games
2023-04-05   2023-04-07 lers-of-catan-klaus-teuber.html              And Then Us                                  By Alan Yuhas                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/arts/the-
2023-04-05   2023-04-07 exhibit-work-of-art.html                     Lights Camera Easel The Artist as Contestant By Travis Diehl                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/movies/
                        lewis-capaldi-how-im-feeling-now-
2023-04-05   2023-04-07 review.html                                  Lewis Capaldi How Im Feeling Now             By Chris Azzopardi             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/movies/
2023-04-05   2023-04-07 the-super-mario-bros-movie-review.html       They Left the Pizazz in Another Castle       By Calum Marsh                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/05/nyregio Tel Aviv Plan Of Columbia Is Criticized By
2023-04-05   2023-04-07 n/columbia-university-tel-aviv-campus.html Faculty                                        By Liam Stack                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/nyregio
                        n/michael-k-williams-death-irvin-cartagena- Heroin Pusher Who Sold Wire Actor a Fatal
2023-04-05   2023-04-07 drug-guilty.html                             Dose Admits Guilt in a Plea Deal             By Karen Zraick                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/nyregio                                                By Jonah E Bromwich and Nate
2023-04-05   2023-04-07 n/trump-court-arraignment.html               Inside the Courtroom at the Arraignment      Schweber                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/us/idah Idaho Targets Minors Going Out of State For
2023-04-06   2023-04-07 o-out-of-state-abortions-minors-ban.html     Abortions                                    By David W Chen                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/world/a Down Under Italian Sisters Keep Heritage
2023-04-06   2023-04-07 ustralia/passata-day.html                    Alive                                        By Peter Di Sisto              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/arts/des
                        ign/sarah-sze-guggenheim-sculpture-
2023-04-06   2023-04-07 timelapse.html                               Sarah Sze and the Art of Tracking Time       By Martha Schwendener          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/arts/eliz Elizabeth de Cuevas 94 Sculptor With a Flair
2023-04-06   2023-04-07 abeth-de-cuevas-dead.html                    for the Monumental Dies                      By Alex Williams               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/arts/tele
                        vision/the-crossover-disney-jury-duty-
2023-04-06   2023-04-07 freevee.html                                 This Weekend I Have                          By Margaret Lyons              TX 9-292-487   2023-06-01




                                                                                Page 5067 of 5793
                        https://www.nytimes.com/2023/04/06/busines
2023-04-06   2023-04-07 s/airbus-china-double-production.html      Airbus To Double Production In China         By Liz Alderman                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/busines
                        s/chinese-officials-defend-tiktok-on-                                                   By Sapna Maheshwari and Steven
2023-04-06   2023-04-07 twitter.html                               TikToks Strident Defenders Chinese Officials Lee Myers                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/busines Empty Office Space Is Just One Sign Of a
2023-04-06   2023-04-07 s/commercial-real-estate-lending.html      Huge Hurdle                                  By Ephrat Livni                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/busines
2023-04-06   2023-04-07 s/economy/irs-tax-treasury.html            IRS Rolls Out Plan to Revise Tax Collection By Alan Rappeport                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/busines
                        s/energy-environment/ukraine-russia-war-   With Russias Exit Norway Emerges As
2023-04-06   2023-04-07 europe-energy.html                         Energy Champion of Europe                    By Stanley Reed                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/busines
                        s/media/national-enquirer-hush-money-      No More Hush Money Payments at National
2023-04-06   2023-04-07 trump.html                                 Enquirer Its New Owner Says                  By Benjamin Mullin               TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/06/climate Proposed EPA Rule to Curb Toxic Emissions By Coral Davenport and Lisa
2023-04-06   2023-04-07 /biden-toxic-pollutants-chemical-plants.html From Plants                                Friedman                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/climate
                        /oil-gas-drilling-investment-worldwide-      Even as Nations Push Renewables Oil and
2023-04-06   2023-04-07 willow.html                                  Gas Projects Come Roaring Back             By Max Bearak                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/movies/
2023-04-06   2023-04-07 alan-pakula-going-for-truth-review.html      Alan Pakula Going for Truth                By Lisa Kennedy                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/movies/
2023-04-06   2023-04-07 chupa-review.html                            Chupa                                      By Concepcin de Len              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/movies/
2023-04-06   2023-04-07 how-to-blow-up-a-pipeline-review.html        In the Oil Fields Fueling a Thriller       By Ben Kenigsberg                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/movies/
2023-04-06   2023-04-07 joyland-review-pakistan.html                 Gossip Is an Enemy That Never Gives Up     By Amy Nicholson                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/movies/
2023-04-06   2023-04-07 on-a-wing-and-a-prayer-review.html           On a Wing And a Prayer                     By Teo Bugbee                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/movies/
2023-04-06   2023-04-07 paint-review.html                            Parody of Entitlement Inspired by Bob Ross By Jeannette Catsoulis           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/movies/
2023-04-06   2023-04-07 praise-this-review.html                      Praise This                                By Brandon Yu                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/movies/
                        ride-on-review-jackie-chan-back-on-the-
2023-04-06   2023-04-07 horse.html                                   Ride On                                    By Brandon Yu                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/movies/
2023-04-06   2023-04-07 sam-now-review.html                          Sam Now                                    By Nicolas Rapold                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/movies/ Sculptures Can Be Shaped But Life Isnt Quite
2023-04-06   2023-04-07 showing-up-review-michelle-williams.html So Easy                                        By Manohla Dargis                TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/06/nyregio Retired Police Officer Who Shared Cell With
2023-04-06   2023-04-07 n/briarcliff-manor-police-officer-murder.html Epstein Is Found Guilty in Murder of 4   By Karen Zraick                   TX 9-292-487   2023-06-01



                                                                               Page 5068 of 5793
                        https://www.nytimes.com/2023/04/06/nyregio Man Trump Condemned as a Teen Wishes
2023-04-06   2023-04-07 n/central-park-five-yusef-salaam-trump.html Him a Fair Trial                            By Jeffery C Mays                 TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/06/nyregio Jane LaTour 76 an Activist and Writer Who
2023-04-06   2023-04-07 n/jane-latour-dead.html                     Fought for Women in Labor Unions            By John Leland                    TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/06/nyregio Trump Judges Dilemma Whether to Muzzle       By Jonah E Bromwich William K
2023-04-06   2023-04-07 n/trump-case-judge-juan-merchan.html        the Former President                        Rashbaum and Kate Christobek      TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/06/opinion
2023-04-06   2023-04-07 /christopher-buckley-trump-indictment.html Eight Years in Trump Prison                    By Christopher Buckley            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/opinion
                        /online-advertising-privacy-data-surveillance- If Somethings Advertised to You Online You
2023-04-06   2023-04-07 consumer-quality.html                          Probably Shouldnt Buy It                   By Julia Angwin                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/opinion
2023-04-06   2023-04-07 /putins-energy-natural-gas.html                Russias Energy Offensive Has Failed        By Paul Krugman                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/opinion
2023-04-06   2023-04-07 /trump-indictment.html                         The Indictment Alone Is Karmic Justice     By Pamela Paul                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/science Scientists See Bronze Age In New Light It
2023-04-06   2023-04-07 /psychedelics-bronze-age.html                  Was Trippy                                 By Andrew Jacobs                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/sports/b
                        asketball/domantas-sabonis-sacramento-         Star Gilds Family Legacy and Leads Kings
2023-04-06   2023-04-07 kings.html                                     Out of Irrelevance                         By Sopan Deb                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/sports/g Arbitration Panel Says The European Tour
2023-04-06   2023-04-07 olf/liv-golf-masters-europe.html               Can Punish LIV Golfers                     By Alan Blinder                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/sports/g Could Have Been Better Could Have Been
2023-04-06   2023-04-07 olf/masters-tiger-woods-first-round.html       Worse                                      By Bill Pennington and Doug Mills TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/sports/ World Championship Will Proceed Without
2023-04-06   2023-04-07 world-chess-championship.html                  the Worlds Best Player                     By Dylan Loeb McClain             TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/06/technol
2023-04-06   2023-04-07 ogy/dominion-voting-mike-lindell-trump.html As Dominion Sues Attacks Continue            By Stuart A Thompson             TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/06/theater/
2023-04-06   2023-04-07 review-grief-colin-campbell.html            Aching Loss With Laughter and Tears          By Brittani Samuel               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/06/us/polit
2023-04-06   2023-04-07 ics/child-poverty-immigrants.html           For Immigrants Barriers to Aid Hurt Children By Jason DeParle                 TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/06/us/polit Revelations About Justice Thomas Prompt
2023-04-06   2023-04-07 ics/clarence-thomas-luxury-trips-ethics.html Calls for Tighter Ethics Rules             By Zach Montague                  TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/06/us/polit US Admits It Didnt Exit Afghanistan Soon
2023-04-06   2023-04-07 ics/evacuations-afghanistan-war-biden.html Enough                                    By Katie Rogers                      TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/06/us/polit
                        ics/house-republicans-subpoena-pomerantz- House GOP Subpoenas New York Prosecutor
2023-04-06   2023-04-07 bragg.html                                  Who Quit Over Trump Inquiry              By Luke Broadwater                   TX 9-292-487     2023-06-01




                                                                                Page 5069 of 5793
                        https://www.nytimes.com/2023/04/06/us/polit
                        ics/mccarthy-republican-divisions-debt-     After Months in Majority House GOP Still
2023-04-06   2023-04-07 ceiling.html                                Lacks Unity on Spending Plans               By Jonathan Swan and Annie Karni TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/06/us/polit Pentagon Investigating Leak of Classified
2023-04-06   2023-04-07 ics/ukraine-war-plan-russia.html            War Plans Circulating on Social Media       By Helene Cooper and Eric Schmitt TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/us/polit
                        ics/wisconsin-chicago-election-             Lessons From Wisconsin and Chicago
2023-04-06   2023-04-07 takeaways.html                              Elections                                   By Maggie Astor                  TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/06/us/supr
2023-04-06   2023-04-07 eme-court-transgender-girl-school-sports.html Justices Rule in Favor Of Transgender Runner By Adam Liptak                TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/06/us/trans
                        gender-athletes-title-ix-biden-                                                            By Sarah Mervosh Remy Tumin
2023-04-06   2023-04-07 adminstration.html                            Trans Athletes Facing Limits In Biden Plan and Ava Sasani                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/06/us/virgi Virginia Closes the Door From Prison to the
2023-04-06   2023-04-07 nia-youngkin-voting-former-felons.html        Polls                                        By Michael Wines              TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/06/world/a Indian Textbooks Are Purged of Material
2023-04-06   2023-04-07 sia/india-textbooks-changes.html              Rejected by Modis Party                      By Suhasini Raj               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/06/world/a Politics Complicate Chinese Reaction to US By Chris Buckley and Amy Chang
2023-04-06   2023-04-07 sia/taiwan-mccarthy-china.html                Visit by Taiwans President                   Chien                         TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/06/world/e
                        urope/france-minister-playboy-marlene-        Storm Rises Over a French Ministers Clothed
2023-04-06   2023-04-07 schiappa.html                                 Playboy Shoot                                By Catherine Porter           TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/06/world/e French Union Demonstrations Over Pension
2023-04-06   2023-04-07 urope/france-protests-pensions-macron.html Law Continue                                 By Aurelien Breeden              TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/06/world/e Berlusconi Has Infection That Is Tied To   By Elisabetta Povoledo and Gina
2023-04-06   2023-04-07 urope/italy-silvio-berlusconi-leukemia.html Leukemia                                  Kolata                             TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/06/world/e
                        urope/northern-ireland-good-friday-         Tortured Past Underlies Northern Irelands
2023-04-06   2023-04-07 peace.html                                  Peace                                     By Mark Landler                    TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/06/world/e Xi and Macron Urge Ukraine Peace Talks
2023-04-06   2023-04-07 urope/xi-macron-ukraine-russia.html         But the Path Is Murky                     By Roger Cohen                     TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/06/world/ Saudi and Iranian Foreign Ministers Meet in
2023-04-06   2023-04-07 middleeast/saudi-arabia-iran-meeting.html   Beijing as China Brokers a Thaw           By Vivian Nereim                   TX 9-292-487    2023-06-01
                        https://www.nytimes.com/live/2023/04/06/wo
                        rld/israel-lebanon-rockets-news/lebanon-    Militias in Lebanon Send a Barrage of     By Patrick Kingsley and Ronen
2023-04-06   2023-04-07 rockets-israel                              Rockets Into Israel                       Bergman                            TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/06/insider/
                        on-deadline-decoding-the-trump-
2023-04-07   2023-04-07 indictment.html                             On Deadline Decoding the Trump Indictment By Sarah Bahr                      TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/06/sports/g On Day One Augusta Takes It Easy on the
2023-04-07   2023-04-07 olf/masters-first-round.html                Field                                     By Alan Blinder and Doug Mills     TX 9-292-487    2023-06-01




                                                                                Page 5070 of 5793
                        https://www.nytimes.com/2023/04/06/technol
                        ogy/twitter-lawyer-resigns-christian-       Senior Twitter Lawyer Is Said to Have
2023-04-07   2023-04-07 dowell.html                                 Resigned the Latest of Several Departures    By Ryan Mac and Kate Conger   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/theater/
                        the-wife-of-willesden-review-zadie-
2023-04-07   2023-04-07 smith.html                                  A Chaucerian Tale Just Cantering Along       By Alexis Soloski             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/us/tenn 2 Democrats Expelled in Tennessee Power       By Emily Cochrane and Eliza
2023-04-07   2023-04-07 essee-house-democrats-expelled.html         Play                                         Fawcett                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/busines Wages May Not Be Inflations Cause but
2023-04-07   2023-04-07 s/economy/wages-prices.html                 Theyre the Focus of the Cure                 By Talmon Joseph Smith        TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/07/sports/t Unvarnished View of Beckers Journey From
2023-04-07   2023-04-07 ennis/boris-becker-boom-documentary.html Centre Court to the Cell Block               By Matthew Futterman             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/15/travel/b
2023-03-15   2023-04-08 elgrade-bar-scene.html                      Belgrade a New Cocktail Capital of Europe By David Farley                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/22/travel/i
2023-03-22   2023-04-08 ndependent-barbados.html                    An Independent State of Mind in Barbados  By Shannon Sims                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/28/technol
2023-03-28   2023-04-08 ogy/ai-chatbots-chatgpt-bing-bard-llm.html How does ChatGPT really work                  By Kevin Roose                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/technol
2023-03-29   2023-04-08 ogy/ai-chatbots-hallucinations.html        What makes AI chatbots go wrong               By Cade Metz                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/30/technol
2023-03-30   2023-04-08 ogy/ai-chatbot-chatgpt-uses-work-life.html   How should I use AI chatbots like ChatGPT   By Kevin Roose                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/03/
2023-03-30   2023-04-08 30/travel/things-to-do-panama-city.html      36 Hours in Panama City Panama              By Freda Moon                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/technol
2023-03-31   2023-04-08 ogy/ai-chatbots-benefits-dangers.html        Whats the future for AI                     By Cade Metz                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/03/opinion What Would Happen if Female Athletes Got
2023-04-03   2023-04-08 /women-sports.html                           The Mythology Treatment They Deserve       By Kate Fagan                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/opinion
                        /nashville-school-shooting-country-music-gun-
2023-04-05   2023-04-08 violence.html                                Country Music Can Help Reform Gun Culture By Ketch Secor                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/sports/g The PimentoCheese Sandwiches Dont Change
2023-04-05   2023-04-08 olf/masters-course-augusta-national.html     But the Course Does                        By Paul Sullivan               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/theater/
2023-04-05   2023-04-08 a-little-life-ivo-van-hove-london.html       Misery Loves Company A Lot                 By Matt Wolf                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/article/airplane-    Fasten Your Seatbelts What to Bear in Mind
2023-04-05   2023-04-08 turbulence.html                              About Bumpy Flights                        By Christine Chung             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/04/
2023-04-05   2023-04-08 05/arts/design/picasso-death.html            Picasso Love Him or Hate Him               By Deborah Solomon             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/opinion
2023-04-06   2023-04-08 /trump-ivanka-indictment.html                Ivanka Trump Is Pained                     By Frank Bruni                 TX 9-292-487   2023-06-01



                                                                                 Page 5071 of 5793
                        https://www.nytimes.com/2023/04/06/dining/ Mimi Sheraton 97 Adventurer And Critic for
2023-04-07   2023-04-08 mimi-sheraton-dead.html                     The Times Dies                              By Robert D McFadden               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/arts/dan Bodies Entangle As a World Spins And
2023-04-07   2023-04-08 ce/review-faye-driscoll-weathering.html     Transforms                                  By Siobhan Burke                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/arts/des
                        ign/juan-de-pareja-met-museum-velasquez-
2023-04-07   2023-04-08 painter.html                                A Subject Emerges as Artist                 By Jason Farago                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/arts/mu An OldSchool Diva Returns To the
2023-04-07   2023-04-08 sic/angela-gheorghiu-met-opera.html         Metropolitan Opera                          By Zachary Woolfe                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/busines Davids Bridal Feeling Strained Is Said to    By Lauren Hirsch and Jordyn
2023-04-07   2023-04-08 s/dealbook/davids-bridal-bankruptcy.html    Consider 2nd Bankruptcy                     Holman                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/busines
                        s/economy/biden-jobs-report-                Jobs Report Boosts Bidens Economic Pitch
2023-04-07   2023-04-08 unemployment.html                           but Inflation Still Nags                    By Jim Tankersley                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/busines
                        s/economy/march-jobs-report-                Feds Rate Moves Have Curbed Job Creation
2023-04-07   2023-04-08 unemployment.html                           and Wage Growth                             By Lydia DePillis                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/busines To Draw Moviegoers Amazon Heads to
2023-04-07   2023-04-08 s/media/amazon-air-movies-theaters.html     Theaters                                    By Nicole Sperling                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/busines
                        s/media/russia-journalists-evan-
2023-04-07   2023-04-08 gershkovich.html                            In Russia Arrest Chills Journalists         By Michael M Grynbaum              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/climate
2023-04-07   2023-04-08 /electric-cars-biden-climate.html           Bidens Risky Sprint To an Electric Future   By Coral Davenport                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/health/a Judge Nullifies FDAs Approval Of Abortion
2023-04-07   2023-04-08 bortion-pills-ruling-texas.html             Pill                                        By Pam Belluck                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/health/ Colin McCord 94 Who Pushed Smoking Ban
2023-04-07   2023-04-08 dr-colin-mccord-dead.html                   and Fat Limits in New York City             By Sam Roberts                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/movies/
2023-04-07   2023-04-08 kelly-reichardt-actors-showing-up.html      A Dedicated Cast for a Determined Director By Esther Zuckerman                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/movies/ One Confident Leap Helps Overcome All
2023-04-07   2023-04-08 kids-movies-streaming.html                  Indecision                                  By Dina Gachman                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/movies/ It Bombed in 1993 For a New Generation Its a
2023-04-07   2023-04-08 super-mario-bros-bob-hoskins-1993.html      Hit                                         By Darryn King                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/nyregio Pawn in Iran Kidnap Plot Is Sentenced to
2023-04-07   2023-04-08 n/iran-kidnapping-plot-sentencing.html      Four Years                                  By Colin Moynihan                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/nyregio Life Expectancy for New York City Residents
2023-04-07   2023-04-08 n/nyc-covid-deaths.html                     Fell 46 Years in 2020                       By Joseph Goldstein                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/sports/b Walks and Homers Lift Mets to Sweet Home
2023-04-07   2023-04-08 aseball/mets-home-opener.html               Opener                                      By Tyler Kepner and Hilary Swift   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/07/sports/g Moving as He Wants to the Top of the
2023-04-07   2023-04-08 olf/masters-brooks-koepka-rory-mcilroy.html Leaderboard                                 By Alan Blinder and Doug Mills     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/sports/g A Relaxed McIlroy Never Quite Clicks And
2023-04-07   2023-04-08 olf/masters-rory-mcilroy.html               Misses the Cut                              By Bill Pennington and Doug Mills TX 9-292-487    2023-06-01



                                                                                Page 5072 of 5793
                        https://www.nytimes.com/2023/04/07/sports/u A Popular Champion Is Seeking Redemption
2023-04-07   2023-04-08 fc-287-adesanya-pereira.html                For His IllTimed Slip                          By Emmanuel Morgan                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/style/sa Lawsuit Accuses a Former Associate of
2023-04-07   2023-04-08 ra-ziff-fabrizio-lombardo-rape.html         Harvey Weinstein of Rape                       By Vanessa Friedman                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/technol AI Race Leads Tech Giants to Take Ethics
2023-04-07   2023-04-08 ogy/ai-chatbots-google-microsoft.html       Risks                                          By Nico Grant and Karen Weise      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/technol
2023-04-07   2023-04-08 ogy/twitter-substack-elon-musk.html         Twitter Acts To Halt Rival In Substack         By Kate Conger and Ryan Mac        TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/07/theater/                                                By Dan Bilefsky and Jeremy
2023-04-07   2023-04-08 dmitry-krymov-russia-ukraine-director.html Russian Theater Director Is Reborn              Fassler                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/us/bob- Fatal Stabbing Stirs Outrage Over Lawless
2023-04-07   2023-04-08 lee-san-francisco-crime.html                San Francisco                                  By Kate Conger and Shawn Hubler TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/07/us/polit On China US and Europe Take Different
2023-04-07   2023-04-08 ics/china-us-europe.html                    Tacks                                          By Edward Wong                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/us/polit
                        ics/clarence-thomas-supreme-court-          Disclosures Not Needed Thomas Says He
2023-04-07   2023-04-08 travel.html                                 Was Told                                       By Abbie VanSickle               TX 9-292-487     2023-06-01
                                                                                                                   By Helene Cooper Julian E Barnes
                        https://www.nytimes.com/2023/04/07/us/polit                                                Eric Schmitt and Thomas
2023-04-07   2023-04-08 ics/classified-documents-leak.html          Another Batch Of Secret Files Lands Online     GibbonsNeff                      TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/07/us/polit
2023-04-07   2023-04-08 ics/dc-appeals-court-jan-6-prosecutions.html Small Victory for Justice Dept in Jan 6 Cases By Alan Feuer                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/us/polit End Run on Debt Limit Itd Be Far From a
2023-04-07   2023-04-08 ics/debt-ceiling-discharge-petition.html     Sprint                                        By Carl Hulse and Jeanna Smialek   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/us/polit In South Carolina Democrats Do Battle Over
2023-04-07   2023-04-08 ics/south-carolina-democrats.html            a Way Forward                                 By Maya King                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/us/polit
                        ics/texas-judge-matthew-kacsmaryk-abortion- For Texas Judge in Abortion Case a Life
2023-04-07   2023-04-08 pill.html                                    Shaped by Conservative Causes                 By Abbie VanSickle                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/07/us/polit Officials Began Work on Protections on Day
2023-04-07   2023-04-08 ics/transgender-athletes-schools-title-ix.html 1                                           By Katie Rogers                 TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/07/us/polit                                                By Glenn Thrush Danny Hakim
2023-04-07   2023-04-08 ics/trump-georgia-justice-department.html      US Prosecutors Face Challenges in Georgia   and Adam Goldman                TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/07/us/polit Trump Had Wanted Activist Who Targets          By Maggie Haberman and Jonathan
2023-04-07   2023-04-08 ics/trump-laura-loomer.html                    Muslims                                     Swan                            TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/07/us/tenn
2023-04-07   2023-04-08 essee-house-democrats-jones-pearson.html       Pair in Tennessee May Soon Be Back          By Eliza Fawcett and Rick Rojas    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/world/a
                        frica/south-africa-gupta-brothers-corruption- UAE Denies Extradition of the Gupta
2023-04-07   2023-04-08 uae-dubai.html                                 Brothers in South Africa Corruption Case    By John Eligon                     TX 9-292-487   2023-06-01




                                                                                 Page 5073 of 5793
                        https://www.nytimes.com/2023/04/07/world/a
                        mericas/mexico-military-killings-nuevo-                                               By Maria AbiHabib Galia Garca
2023-04-07   2023-04-08 laredo.html                                Killings Expose Military As Threat         Palafox and Alejandro Cegarra   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/world/a Taliban Bar Women From UN Threatening a
2023-04-07   2023-04-08 sia/afghanistan-united-nations-women.html Lifeline                                    By Christina Goldbaum           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/world/a
                        sia/baptist-minister-myanmar-prison-       Baptist Minister in Myanmar Gets 6Year
2023-04-07   2023-04-08 coup.html                                  Prison Term                                By Richard C Paddock            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/world/a Chinese Rail Over Chained Woman Jail
2023-04-07   2023-04-08 sia/china-chained-woman-sentencing.html    Terms                                      By Vivian Wang and Joy Dong     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/world/a Macron Wraps Up His Visit to China but Few By Keith Bradsher and David
2023-04-07   2023-04-08 sia/macron-xi-jinping-china-france.html    Strides Are Seen on War                    Pierson                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/world/e Opposition Leader in UK Tightens His Grip
2023-04-07   2023-04-08 urope/keir-starmer-labour-party-uk.html    on Party                                   By Stephen Castle               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/world/e
                        urope/nord-stream-pipeline-sabotage-       Suspicions Grow but May Stay Quiet as Nord
2023-04-07   2023-04-08 theories.html                              Stream Blast Is Still Unsolved             By Erika Solomon                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/world/e
                        urope/pope-good-friday-procession-         Cold Weather Means Pope Wont Attend
2023-04-07   2023-04-08 weather.html                               Procession                                 By Gaia Pianigiani              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/world/
                        middleeast/israel-palestinians-gaza-       Tensions Ebb in South Lebanon but Rise in By Patrick Kingsley and Isabel
2023-04-07   2023-04-08 lebanon.html                               West Bank and Israel                       Kershner                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/your- What to Do With Your Tax Refund Save for
2023-04-07   2023-04-08 money/tax-refund-tips.html                 Emergencies                                By Ann Carrns                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/article/title-ix-  Explaining the New Rule on Transgender
2023-04-07   2023-04-08 transgender-athletes-school-sports.html    Athletes                                   By Remy Tumin                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/world/a
                        mericas/maria-mercedes-coroy-indigenous- After Marvel Blockbuster Indigenous Actress
2023-04-08   2023-04-08 roots.html                                 Holds Fast to Maya Roots                   By Julia Lieblich               TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/08/your-                                             By Tara Siegel Bernard and Ron
2023-04-08   2023-04-08 money/bank-account-suspicious-activity.html No Answers When Banks Cut You Off        Lieber                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/05/books/r
2023-03-05   2023-04-09 eview/osamu-dazai-tiktok.html               Roving Eye Osamu Dazai TikTok Star       By Andrew Martin                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/06/books/r
2023-03-06   2023-04-09 eview/owen-king-the-curator.html            After the Fall                           By Dexter Palmer                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/07/books/r
2023-03-07   2023-04-09 eview/dirty-tricks-department-john-lisle.html War Is a Science                       By Ben Macintyre                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/07/books/r
2023-03-07   2023-04-09 eview/eliane-brum-banzeiro-okoto.html         Logging Out                            By William Atkins                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/07/books/r
                        eview/love-at-six-thousand-degrees-maki-
2023-03-07   2023-04-09 kashimada.html                                Atomic Memory                          By Jane Hu                       TX 9-292-487   2023-06-01



                                                                                  Page 5074 of 5793
                        https://www.nytimes.com/2023/03/11/books/r
2023-03-11   2023-04-09 eview/hello-beautiful-ann-napolitano.html  Crossover Step                                By Bruce Holsinger        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/11/books/r
2023-03-11   2023-04-09 eview/the-collaborators-ian-buruma.html    Heroes or Villains                            By Lesley M M Blume       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/14/books/r
2023-03-14   2023-04-09 eview/judith-herman-truth-repair.html      Acknowledgment Apology and Amends             By Christine Kenneally    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/19/books/r
2023-03-19   2023-04-09 eview/wandering-souls-cecile-pin.html      A Story About Stories                         By Eric Nguyen            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/24/arts/mu
2023-03-24   2023-04-09 sic/everything-but-the-girl-fuse.html      A 24Year Silence Ends With a Bang             By Jon Pareles            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/technol
                        ogy/carlos-moreno-15-minute-cities-        Plan to Unclog Cities Attracts an Unwanted
2023-03-28   2023-04-09 conspiracy-theories.html                   Crowd                                         By Tiffany Hsu            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/books/r
2023-03-30   2023-04-09 eview/i-will-find-you-harlan-coben.html    Inside the List                               By Elisabeth Egan         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/books/r
2023-03-30   2023-04-09 eview/new-historical-fiction-books.html    Real People Reimagined                        By Alida Becker           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/books/r
2023-03-30   2023-04-09 eview/sophomore-books.html                 Sophomore Books                               By Leigh Haber            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/books/r
2023-03-31   2023-04-09 eview/isabella-hammad-enter-ghost.html     The Plays the Thing                           By Lily Meyer             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/31/magazi My Husband No Longer Wants Sex Do I
2023-03-31   2023-04-09 ne/divorce-sex-affair-ethics.html          Divorce Him                                   By Kwame Anthony Appiah   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/01/books/r
2023-04-01   2023-04-09 eview/the-long-reckoning-george-black.html The Things They Left Behind                   By Elizabeth D Samet      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/magazi
2023-04-01   2023-04-09 ne/yellowjackets-showtime.html             Into the Woods                                By Lydia Kiesling         TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/01/arts/tele Heidi Gardner Loves Jack Black and
2023-04-02   2023-04-09 vision/heidi-gardner-saturday-night-live.html Brownies                                   By Chris Kornelis         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/opinion
                        /refugees-migration-mexico-fire-turkey-
2023-04-03   2023-04-09 earthquake.html                               When the Sanctuaries Are Prisons           By Lydia Polgreen         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/style/fl
2023-04-03   2023-04-09 oraluce-lighting-brooklyn.html                A Lamp Shop Glows in Brooklyn              By Anna Grace Lee         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/style/vi
2023-04-03   2023-04-09 ntage-wedding-dress-brides.html               Brides Say Yes to Vintage Dresses          By Jessica Testa          TX 9-292-487   2023-06-01

                        https://www.nytimes.com/interactive/2023/04/ A Psychedelics Pioneer Takes the Ultimate
2023-04-03   2023-04-09 03/magazine/roland-griffiths-interview.html Trip                                         By David Marchese         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/magazi
2023-04-04   2023-04-09 ne/insect-removal.html                       BugView                                     By Mike Pearl             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/magazi
2023-04-04   2023-04-09 ne/poland-eu-ukraine-war.html                Polands War on Two Fronts                   By Elisabeth Zerofsky     TX 9-292-487   2023-06-01



                                                                                 Page 5075 of 5793
                        https://www.nytimes.com/2023/04/04/nyregio A Garage Sale Too Big to Miss Too Bad That
2023-04-04   2023-04-09 n/stacy-london-garage-sale-brooklyn.html    You Did                                     By Dodai Stewart              TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/04/opinion As Baseball Season Begins Its Almost a
2023-04-04   2023-04-09 /major-league-baseball-pitch-clock.html     New Game                                    By Steve Kettmann             TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/04/opinion What an AR15 Owner Sees in Every Single
2023-04-04   2023-04-09 /nashville-shooting-guns.html               Place He Goes                               By Matthew Walther            TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/04/realesta
2023-04-04   2023-04-09 te/scotland-minimalist-house.html           A Minimalist House to Keep the World at Bay By Tim McKeough               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/04/style/pe You Have a Head for Fun but Organization Is
2023-04-04   2023-04-09 rsonal-lives-calendars-spreadsheets.html    a Struggle                                  By Madeleine Aggeler          TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/04/style/tr
2023-04-04   2023-04-09 ump-indictment-wedding-manhattan.html       Trump Arraigned 43 Couples Wed              By Sadiba Hasan               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/04/theater/
                        john-kander-broadway-new-york-new-
2023-04-04   2023-04-09 york.html                                   A Major Chord Undiminished                  By Jesse Green                TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/books/r
2023-04-05   2023-04-09 eview/sulaiman-addonia-mother.html          Who Is My Reader                            By Sulaiman Addonia           TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/magazi Breakfast All Day Vietnamese b n takes steak
2023-04-05   2023-04-09 ne/bo-ne-recipe.html                        and eggs to a whole new place               By Bryan Washington           TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/magazi
                        ne/how-to-blow-up-a-pipeline-terrorism-
2023-04-05   2023-04-09 climate-change.html                         Time Bomb                                   By Peter C Baker              TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/magazi
2023-04-05   2023-04-09 ne/la-school-pandemic.html                  What does it mean to move on                By Meg Bernhard               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/movies/
2023-04-05   2023-04-09 air-jordan-sneaker.html                     Following In These Footsteps                By Calum Marsh                TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/opinion A Historic Prosecution Is Also A Legal
2023-04-05   2023-04-09 /trump-bragg-indictment.html                Embarrassment                               By Jed Handelsman Shugerman   TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/opinion Trumps Day of Martyrdom Didnt Go Quite as
2023-04-05   2023-04-09 /trump-charges-conspiracy.html              He Expected                                 By David Firestone            TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/realesta Why Its Better to Plant Leeks and
2023-04-05   2023-04-09 te/edible-wild-plants-ramps.html            Coneflowers                                 By Margaret Roach             TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/style/de
2023-04-05   2023-04-09 mentia-boyfriend-wife.html                  A Complicated Grief                         By Philip Galanes             TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/style/e
2023-04-05   2023-04-09 mily-name-popularity.html                   Where Everybody Knows Your Name             By Emilia Petrarca            TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/style/va
2023-04-05   2023-04-09 nderpump-rules-boys-lie.html                With New Sweats Shes Getting the Last Word By Krystie Lee Yandoli         TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/theater/
                        thanksgiving-play-larissa-fasthorse-        The Pageantry Of WellMeaning White
2023-04-05   2023-04-09 broadway.html                               People                                      By Julia Jacobs               TX 9-292-487     2023-06-01

                        https://www.nytimes.com/interactive/2023/04/ Four Opinion Writers on Trumps Indictment By Michelle Cottle Ross Douthat
2023-04-05   2023-04-09 05/opinion/trump-indictment-roundtable.html and the Borderlands of Illegality          Lydia Polgreen and Carlos Lozada TX 9-292-487   2023-06-01




                                                                              Page 5076 of 5793
                        https://www.nytimes.com/2023/04/06/arts/des                                               By Jason Farago Will Heinrich
2023-04-06   2023-04-09 ign/picasso-influence-artists.html          A Lingering Influence                         Roberta Smith and Yinka Elujoba    TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/06/arts/des
2023-04-06   2023-04-09 ign/picasso-museums-nyc-paris-madrid.html Six Shows To See This Year                      By Gabe Cohn                       TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/06/busines
2023-04-06   2023-04-09 s/retirement-social-security-student-loans.html Juggling Money In Money Out as They Age   By Elizabeth Harris                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/climate Alaskas Pristine Wilderness Opens to Oil       By Lisa Friedman Clifford Krauss
2023-04-06   2023-04-09 /willow-alaska-oil-biden.html                   Boom                                      and Erin Schaff                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/magazi
2023-04-06   2023-04-09 ne/fox-dominion-jan-6.html                      Outfoxed                                  By Jim Rutenberg                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/06/magazi
2023-04-06   2023-04-09 ne/judge-john-hodgman-muesli-worms.html Bonus Advice From Judge John Hodgman               By John Hodgman                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/magazi                                                  By Stacy Szymaszek and Anne
2023-04-06   2023-04-09 ne/poem-the-privilege-of-thinking.html      Poem                                           Boyer                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/magazi She constantly felt the need to clear her throat
                        ne/wheezing-idiopathic-subglottic-stenosis- Then she started to feel winded on stairs What
2023-04-06   2023-04-09 diagnosis.html                              was going on                                   By Lisa Sanders MD                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/nyregio At Brooklyn Navy Yard a Lab for
2023-04-06   2023-04-09 n/brooklyn-navy-yard-green-tech.html        PlanetSaving Tech                              By Winnie Hu                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/nyregio New York Considers Outlawing
2023-04-06   2023-04-09 n/weight-discrimination-law-nyc.html        Discrimination Based on Weight                 By Emma G Fitzsimmons             TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/06/opinion Its Not Deaths of Despair Its Deaths of
2023-04-06   2023-04-09 /deaths-life-expectancy-guns-children.html   Children                                     By David WallaceWells              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/opinion The Benefits of a Nave Reading of the
2023-04-06   2023-04-09 /easter-christian-tradition.html             Gospels                                      By Ross Douthat                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/opinion Evan Gershkovichs Arrest Is Further
2023-04-06   2023-04-09 /evan-gershkovich-wsj-reporter.html          Evidence of Putins Brutality                 By The Editorial Board             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/realesta
2023-04-06   2023-04-09 te/millennial-homeowner-majority.html        Giving Another Generation the Keys           By Michael Kolomatsky              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/style/sp A Seat at the Bar Without All the
2023-04-06   2023-04-09 orts-bra-oregon-ncaa-womens-sports.html      Mansplaining                                 By Katie C Reilly                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/04/ They Had 350000 and a Dream to Live
2023-04-06   2023-04-09 06/realestate/06hunt-denlinger.html          Together Could They Make It in Manhattan     By Joyce Cohen                     TX 9-292-487   2023-06-01

                        https://www.nytimes.com/interactive/2023/04/ The US Built a EuropeanStyle Welfare State By Claire Cain Miller and Alicia
2023-04-06   2023-04-09 06/upshot/pandemic-safety-net-medicaid.html Its Largely Over                            Parlapiano                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/arts/dan
2023-04-07   2023-04-09 ce/tiktok-dance-evolution.html               TikTok Creators Made Us Feel Like Dancing By Margaret Fuhrer                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/arts/mu
2023-04-07   2023-04-09 sic/concert-ticket-prices.html               Concert Seats A Pricey Mess Angering Fans By Ben Sisario                        TX 9-292-487   2023-06-01




                                                                                 Page 5077 of 5793
                        https://www.nytimes.com/2023/04/07/arts/mu                                            By Samantha Ege and Douglas
2023-04-07   2023-04-09 sic/florence-price-music.html                Still Emerging Decades On                Shadle                            TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/07/arts/mu Nora Forster 80 German Heiress And Wife of
2023-04-07   2023-04-09 sic/nora-forster-dead.html                   Sex Pistols Frontman                     By Alex Williams                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/07/arts/tele Harry Lorayne a Dazzling Master of Total
2023-04-07   2023-04-09 vision/harry-lorayne-dead.html               Recall Is Dead at 96                     By Margalit Fox                   TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/07/books/r
                        eview/bea-wolf-zach-weinersmith-boulet-
2023-04-07   2023-04-09 mulysses-oyvind-torseter.html                Classics Rock                            By Sarah Boxer                    TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/07/busines
2023-04-07   2023-04-09 s/6-tips-for-better-meetings.html            Six Tips for Better Meetings             By Alyson Krueger                 TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/07/busines
                        s/economy-markets-recession-federal-         We May Be Headed for What the Fed Wont
2023-04-07   2023-04-09 reserve.html                                 Name                                     By Jeff Sommer                    TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/07/busines How to Stamp Out Meetings That Go On and
2023-04-07   2023-04-09 s/office-meetings-time.html                  On and On                                By Alyson Krueger                 TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/07/nyregio                                              By Katherine Rosman and Justin J
2023-04-07   2023-04-09 n/new-york-shun-lee-chinese-restaurants.html A Restaurant Name Not to Be Trifled With   Wee                              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/opinion
                        /abortion-rights-wisconsin-elections-        The Abortion Ban Backlash Is Freaking
2023-04-07   2023-04-09 republicans.html                             Republicans Out                            By Michelle Goldberg            TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/07/opinion
                        /heres-where-college-students-reveal-what- College Students Have Something
2023-04-07   2023-04-09 they-truly-care-about.html                   Unexpected to Say                          By Jonathan Malesic             TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/07/opinion
                        /the-wondrous-connections-between-           The Hidden Connections Between Math and
2023-04-07   2023-04-09 mathematics-and-literature.html              Literature                                 By Sarah Hart                   TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/07/realesta
2023-04-07   2023-04-09 te/home-buyers-sellers-disappointment.html The Pursuit Resumes                          By Ronda Kaysen                 TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/07/realesta Wizardry Helps to Fit 250 Plants in 350
2023-04-07   2023-04-09 te/plants-small-homes-apartments.html       Square Feet                                 By Julie Lasky                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/07/realesta
                        te/upper-east-side-quadruplex-condo-        March Brought the Years Biggest Sale So Far
2023-04-07   2023-04-09 sale.html                                   Along With Reduced Prices                   By Vivian Marino                TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/07/sports/b A Cardinals Outfielder Grinds His Way to
2023-04-07   2023-04-09 aseball/lars-nootbaar-japan-cardinals.html  International Stardom                       By Brad Lefton                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/07/sports/s Back to the Future Messi and Barcelona
2023-04-07   2023-04-09 occer/lionel-messi-barcelona.html           Consider a Remarriage                       By Rory Smith                   TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/07/style/a Beyond the Friend Zone and Onto the Same
2023-04-07   2023-04-09 my-cheng-robert-hall-wedding.html           Page                                        By Sadiba Hasan                 TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/07/style/ca They Connected Instantly The Dogs Needed
2023-04-07   2023-04-09 triona-duncan-sarah-palmisano-wedding.html More Time                                    By Tammy LaGorce                TX 9-292-487    2023-06-01



                                                                               Page 5078 of 5793
                        https://www.nytimes.com/2023/04/07/style/ki
2023-04-07   2023-04-09 yona-carswell-alison-wynn-wedding.html      A Premonition and Then a Double Proposal    By Tiana Randall                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/style/m
2023-04-07   2023-04-09 odern-love-chatgpt-ai-chatbot.html          Seduced by a Charming Chatbot               By Anita M Harris                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/style/sa
                        mantha-weinstein-philip-della-noce-
2023-04-07   2023-04-09 wedding.html                                Their Romance Took a While to Develop       By Jenny Block                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/us/polit Blurring Lines Between Legal Defense and
2023-04-07   2023-04-09 ics/trump-campaign-indictment.html          2024 Campaign                               By Michael C Bender               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/world/a China Begins 3 Days of Military Drills       By Chris Buckley Amy Chang
2023-04-08   2023-04-09 sia/china-taiwan-military-exercises.html    Around Taiwan to Send Stern Warning         Chien and Vivian Wang             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/climate EPA to Offer Stringent New Rules Meant to
2023-04-08   2023-04-09 /biden-electric-cars-epa.html               Drive Up Electric Car Sales                 By Coral Davenport                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/nyregio It Was Just a Bench So Why Do I Miss It So
2023-04-08   2023-04-09 n/cowgirl-west-village.html                 Much                                        By Melinda Hansen                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/opinion
2023-04-08   2023-04-09 /aging-queerness.html                       To Grow Old and Gay                         By Cris Beam                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/opinion
2023-04-08   2023-04-09 /aids-pepfar-bush.html                      On AIDS Bush Was A Hero                     By Nicholas Kristof               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/opinion
2023-04-08   2023-04-09 /fire-department-laura-kavanagh.html        A Tale of Fire and Ice                      By Maureen Dowd                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/08/opinion
2023-04-08   2023-04-09 /street-scenes-from-trumps-arraignment.html Among The Trump Crowds                      By Jason Nocito                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/realesta How Do I Find the Best Broker To Help Me
2023-04-08   2023-04-09 te/finding-broker.html                      Sell My Condo                               By Ronda Kaysen                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/sports/g Koepka Adds to Lead but Its the Weather     By Alan Blinder Bill Pennington
2023-04-08   2023-04-09 olf/masters-cut-woods-weather.html          That Dominates at Augusta                   and Doug Mills                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/sports/g Everyone Knows the Jacket but What About
2023-04-08   2023-04-09 olf/masters-trophy-green-jacket.html        the Trophy                                  By Alan Blinder and Doug Mills    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/sports/s
2023-04-08   2023-04-09 occer/soccer-swanson-world-cup.html         Top Scorer for the US Injures Her Knee      By Jer Longman                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/technol
                        ogy/leaked-pentagon-documents-twitter-      Secret US Documents Are Still Being
2023-04-08   2023-04-09 discord.html                                Circulated On Social Media Why              By Ryan Mac and Kellen Browning TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/08/us/mia Miami Beach Wants to Tame Spring Break
2023-04-08   2023-04-09 mi-beach-spring-break-curfew.html           for Good                                    By Patricia Mazzei                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/us/polit Abortion Pill Cases Are Likely to Go to     By Abbie VanSickle and Pam
2023-04-08   2023-04-09 ics/abortion-pill-supreme-court.html        Justices                                    Belluck                           TX 9-292-487   2023-06-01

                                                                                                                By Julian E Barnes Helene Cooper
                        https://www.nytimes.com/2023/04/08/us/polit US Has Deeply Pierced Russia Security       Thomas GibbonsNeff Michael
2023-04-08   2023-04-09 ics/leaked-documents-russia-ukraine-war.html Apparatus                                  Schwirtz and Eric Schmitt        TX 9-292-487    2023-06-01




                                                                               Page 5079 of 5793
                        https://www.nytimes.com/2023/04/08/us/polit DeSantiss Rich War Chest Obscures Hurdles
2023-04-08   2023-04-09 ics/ron-desantis-2024-fundraising-trump.html Ahead                                    By Rebecca Davis OBrien            TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/08/us/trum Georgia Looms Next for Trump After New     By Richard Fausset and Danny
2023-04-08   2023-04-09 p-georgia-election-fani-willis.html          York                                     Hakim                              TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/08/world/a In an Icy Mountain Pass Travelers Count On   By Christina Goldbaum Yaqoob
2023-04-08   2023-04-09 sia/afghanistan-generosity-sabzak-pass.html Him to Save the Day                         Akbary and Kiana Hayeri          TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/08/world/a China Rejects WHOs Claims That It Hid
2023-04-08   2023-04-09 sia/china-covid-data-who.html               Wuhan Data on Pandemics Possible Origins    By Vivian Wang                   TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/08/world/a French Diplomacy Undercuts American
2023-04-08   2023-04-09 sia/macron-xi-france-china.html             Efforts to Rein In China                    By Roger Cohen                   TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/08/world/e Benjamin B Ferencz 103 Last Surviving
2023-04-08   2023-04-09 urope/benjamin-b-ferencz-dead.html          Nuremberg Prosecutor Dies                   By Robert D McFadden            TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/08/world/e                                              By Matthew Mpoke Bigg and Yurii
2023-04-08   2023-04-09 urope/russia-ukraine-war.html               Moscow Plans to Clear Civilians in South    Shyvala                         TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/08/world/e Long After It Sank A Swedish Warship
2023-04-08   2023-04-09 urope/sweden-vasa-warship-woman.html        Yields More Secrets                         By Remy Tumin                    TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/08/world/e Taking Their Children Back From the           By Carlotta Gall Oleksandr Chubko
2023-04-08   2023-04-09 urope/ukrainian-children-mothers-russia.html Russians                                    and Daniel Berehulak              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/world/
                        middleeast/rockets-lebanon-hamas-hezbollah- Strikes on Israel From Lebanon Point to      By Patrick Kingsley Ronen
2023-04-08   2023-04-09 israel.html                                  Deeper HamasHezbollah Ties                  Bergman and Hwaida Saad           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/world/
                        middleeast/us-submarine-middle-east-         US Sent Sub to Middle East To Deter Iran    By Farnaz Fassihi Ronen Bergman
2023-04-08   2023-04-09 iran.html                                    Amid Tensions                               and Eric Schmitt                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/busines
                        s/the-week-in-business-opec-oil-
2023-04-09   2023-04-09 production.html                              The Week in Business Cuts to Oil Production By Marie Solis                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/busines                                               By Kellen Browning and Mark
2023-04-09   2023-04-09 s/uber-eats-door-dash-delivery-tips.html     388 in Sushi A 20 Tip                       Abramson                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/insider/
2023-04-09   2023-04-09 how-it-looks-to-come-of-age.html             How It Looks to Come of Age Now             By Isabella Paoletto              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/nyregio
2023-04-09   2023-04-09 n/donna-lieberman-aclu-nyu.html              Among Her Loves Free Speech and Family By Alix Strauss                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/style/br
2023-04-09   2023-04-09 ooke-shields-party-dress-galas.html          A Ball Here A Gala There                    By Denny Lee                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/us/nash Nashville Shattered and Mourning Prepares to
2023-04-09   2023-04-09 ville-easter.html                            Gather for Easter                           By Ruth Graham                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/us/stanf
2023-04-09   2023-04-09 ord-law-school-free-speech.html              Stanford Furor Exposes Snags Of Free Speech By Vimal Patel                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/world/e Ireland Plans Warm Welcome for Most Irish
2023-04-09   2023-04-09 urope/biden-ireland-visit.html               US President in Years                       By Ed OLoughlin                   TX 9-292-487   2023-06-01




                                                                                Page 5080 of 5793
                        https://www.nytimes.com/2023/03/27/busines
2023-03-27   2023-04-10 s/xi-jinping-he-lifeng-china-economy.html  Xi Loyalist Leading Chinas Economy             By Keith Bradsher               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/27/nyregio
                        n/the-mystery-of-beethovens-skull-remains-
2023-03-27   2023-04-10 unsolved.html                              The Unsolved Mystery of Beethovens Skull       By James Barron                 TX 9-292-487   2023-06-01
                                                                                                                  By Amy Schoenfeld Walker
                        https://www.nytimes.com/interactive/2023/04/                                              Jonathan Corum Malika Khurana
2023-04-01   2023-04-10 01/health/abortion-pill-safety.html          Are Abortion Pills Safe Heres the Evidence   and Ashley Wu                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/travel/a Help My Dog Was Rejected By the Airline
2023-04-05   2023-04-10 irlines-flying-with-dogs-cats.html           Because of a Rule That Doesnt Exist          By Seth Kugel                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/interactive/2023/04/                                            By Josh Holder and Marco
2023-04-06   2023-04-10 06/world/europe/russia-offensive-maps.html How Russias Offensive Ran Aground            Hernandez                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/busines Where Was That Really Made DNA Uncloaks
2023-04-07   2023-04-10 s/economy/ai-tech-dna-supply-chain.html       Supply Chains                             By Ana Swanson                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/technol
2023-04-07   2023-04-10 ogy/elon-musk-twitter-changes.html            At Twitter Big Ambitions Cosmetic Changes By Kate Conger                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/theater/
                        hamnet-royal-shakespeare-company-anne-
2023-04-07   2023-04-10 hathaway.html                                 Shakespeares Wife Takes Center Stage      By Andrew Dickson                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/theater/ A Chatty Tech Device Tries to Be Family and
2023-04-07   2023-04-10 smart-review-ai-in-the-living-room.html       More                                      By Naveen Kumar                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/world/e Brexit Brings High Anxiety To Sellers Of     By Stephen Castle and Andrew
2023-04-07   2023-04-10 urope/brexit-uk-seafood.html                  Shellfish                                 Testa                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/busines
                        s/dealbook/work-from-the-office-get-laid-off- Work a Few Days From the Office Then Head By Sarah Kessler Lauren Hirsch
2023-04-08   2023-04-10 at-home.html                                  Home to Be Laid Off                       and Michael J de la Merced        TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/08/health/ Uncertainties Abound After Conflicting
2023-04-08   2023-04-10 mifepristone-abortion-pills-ruling-judges.html Rulings                                By Pam Belluck                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/movies/ Bill Butler 101 Cinematographer Who Helped
2023-04-08   2023-04-10 bill-butler-dead.html                          Jaws Terrify Beaches Dies              By John Anderson                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/obituari Overlooked No More Alice Ball Chemist
2023-04-08   2023-04-10 es/alice-ball-overlooked.html                  Who Created a Treatment for Leprosy    By Delthia Ricks                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/sports/o Athletes Are Challenging the Status Quo
2023-04-08   2023-04-10 lympics/running-uniforms-evolution.html        Through Dress and Dialogue             By Nell Gallogly                    TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/08/sports/s Wrexham Is the Subject but Its Foil Also Has
2023-04-08   2023-04-10 occer/welcome-to-wrexham-notts-county.html a Story to Tell                               By Rory Smith                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/us/bike- Cycling Champion Dies In San Francisco
2023-04-08   2023-04-10 crash-ethan-boyes-san-francisco.html        Collision                                    By Remy Tumin                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/us/polit
                        ics/protests-trump-tennessee-chicago-       Young Peoples Activism Sends Out Political
2023-04-08   2023-04-10 wisconsin.html                              Shockwaves                                   By Jonathan Weisman              TX 9-292-487   2023-06-01




                                                                                 Page 5081 of 5793
                        https://www.nytimes.com/2023/04/08/us/polit Trumps Restless Search For Another Roy     By Maggie Haberman and Jonathan
2023-04-08   2023-04-10 ics/trump-indictment-lawyers.html           Cohn                                       Swan                            TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/08/world/e
                        urope/wagner-group-pentagon-documents-      Leaked Documents From the Pentagon Show
2023-04-08   2023-04-10 russia.html                                 Wagners FarReaching Influence              By Michael Schwirtz             TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/08/us/polit
                        ics/greg-abbott-pardon-daniel-perry-        Man Guilty Of Killing A Protester May Go
2023-04-09   2023-04-10 texas.html                                  Free                                       By Eduardo Medina               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/09/arts/ma
2023-04-09   2023-04-10 rilyn-minter-lgdr-gallery.html              An Artist Repels And Resonates             By Robin Pogrebin               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/09/arts/mu
                        sic/review-ainadamar-golijov-detroit-
2023-04-09   2023-04-10 opera.html                                  Straddling Time With Blurry Ease           By Zachary Woolfe               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/09/arts/mu
                        sic/terence-blanchard-champion-met-
2023-04-09   2023-04-10 opera.html                                  Champion Gets in Shape                     By Seth Colter Walls            TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/09/books/i
2023-04-09   2023-04-10 rma-terry-mcdonell-memoir.html              For a Literary Mans Man Mother Knew Best By Alexandra Jacobs               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/09/busines
                        s/media/super-mario-bros-movie-theaters-
2023-04-09   2023-04-10 kids.html                                   Mario Film Ignites Hope For Recovery       By Brooks Barnes                TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/09/climate World Banks New Chief Will Be Pressed to By David Gelles and Alan
2023-04-09   2023-04-10 /world-bank-ajay-banga.html                 Pivot Toward Climate Action                Rappeport                       TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/09/obituari Craig Breedlove Racer Who Was Fastest
2023-04-09   2023-04-10 es/craig-breedlove-dead.html                Man On Earth Dies at 86                    By Alex Traub                   TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/09/opinion
2023-04-09   2023-04-10 /donald-trump-2024-campaign.html            How to Make Trump Go Away                  By Frank Luntz                  TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/09/opinion The Case for Staying Married to a Spouse
2023-04-09   2023-04-10 /marriage-divorce-hatred.html               You Cannot Stand                           By Frimet Goldberger            TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/09/sports/b Hobie Landrith 93 Major League Catcher
2023-04-09   2023-04-10 aseball/hobie-landrith-dead.html            Who Became the First New York Met          By Richard Goldstein            TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/09/sports/g In 30th Masters Appearance Mickelsons Best
2023-04-09   2023-04-10 olf/masters-mickelson-liv.html              Final Round                                By Bill Pennington              TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/09/sports/g
2023-04-09   2023-04-10 olf/masters-winner-jon-rahm.html            A Clear Day for Rahm                       By Alan Blinder and Doug Mills  TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/09/sports/g Pain Catches Up to Woods Forcing Him to
2023-04-09   2023-04-10 olf/tiger-woods-withdraws-koepka-rahm.html Withdraw Without Resuming Play               By Alan Blinder                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/sports/u Regaining His Crown And Stemming Tide Of
2023-04-09   2023-04-10 fc-287-israel-adesanya.html                 Losses by Big Stars                         By Emmanuel Morgan               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/us/new- New Mexico Is Losing a Form of Spanish
2023-04-09   2023-04-10 mexico-spanish.html                         Spoken Nowhere Else                         By Simon Romero and Desiree Rios TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/us/polit
                        ics/leaked-documents-ukrainian-air-         Leaked Files Say Kyivs Air Shield May Be in By Helene Cooper Michael
2023-04-09   2023-04-10 defense.html                                Peril                                       Schwirtz and Thomas GibbonsNeff TX 9-292-487    2023-06-01



                                                                               Page 5082 of 5793
                        https://www.nytimes.com/2023/04/09/us/polit
2023-04-09   2023-04-10 ics/leaked-pentagon-documents-ukraine.html A Disclosure With Fallout In Real Time         By David E Sanger                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/09/us/polit
2023-04-09   2023-04-10 ics/medicaid-expansion-north-carolina.html In N Carolina GOP Signals Medicaid Shift       By Sheryl Gay Stolberg            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/world/a                                                By Natalie Kitroeff and Daniele
2023-04-09   2023-04-10 mericas/el-salvador-gangs.html              At a Price El Salvador Stamps Out Its Gangs   Volpe                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/world/c
2023-04-09   2023-04-10 anada/canada-police-confessions.html        When the Crime Boss Is Really a Mountie       By Vjosa Isai                     TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/09/world/e Europe Is Scrambling To Get Artillery Shells
2023-04-09   2023-04-10 urope/europe-shells-ukraine-ammunition.html For Ukraines Military                        By Lara Jakes                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/world/e Along Ukraines Lines Of Supply to Bakhmut
2023-04-09   2023-04-10 urope/ukraine-bakhmut-roads.html             Victory in a Standstill                     By Andrew E Kramer                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/busines
                        s/elon-musk-tesla-shanghai-battery-
2023-04-10   2023-04-10 factory.html                                 Tesla May Build Battery Factory in Shanghai By Keith Bradsher                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/arts/tele
                        vision/whats-on-tv-this-week-waco-the-
2023-04-10   2023-04-10 aftermath-and-the-hummingbird-effect.html This Week on TV                                By Kristen Bayrakdarian            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/health/a Abortion Drug Ruling Could Bring Chaos       By Christina Jewett and Pam
2023-04-10   2023-04-10 bortion-pill-fda.html                        To FDAs Authority                           Belluck                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/nyregio New York City Offers Free Preschool Why
2023-04-10   2023-04-10 n/nyc-free-preschool-prek.html               Are 30000 Spots Empty                       By Troy Closson and Ral Vilchis    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/opinion Bidens Trip to Northern Ireland and the
2023-04-10   2023-04-10 /biden-northern-ireland.html                 Power of Diplomacy                          By The Editorial Board             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/sports/a-Surfers Are Seeing Revered Waves Vanish as
2023-04-10   2023-04-10 case-of-the-disappearing-waves.html          Coastlines Shift                            By Michael Adno                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/technol AI Threatens Lawyers Weve Heard This
2023-04-10   2023-04-10 ogy/ai-is-coming-for-lawyers-again.html      Before                                      By Steve Lohr                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/world/e
                        urope/northern-ireland-good-friday-          After 25 Years a Muted Peace in Northern    By Andrew Testa and Mark
2023-04-10   2023-04-10 photos.html                                  Ireland                                     Landler                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/03/
2023-03-27   2023-04-11 26/well/mind/gun-violence-shootings.html     Gun Violence Has Changed Us                 By Christina Caron                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/science Sweet as Sugar Cockroaches Werent in the
2023-03-28   2023-04-11 /cockroach-sex-mutation.html                 Mood So Evolution Came to the Rescue        By Bethany Brookshire              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/science Dinosaur Depictions They Want to Give T
2023-03-30   2023-04-11 /lips-tyrannosaurus-rex-dinosaur.html        Rex Some Lip                                By Jack Tamisiea                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/science Distress Signals Even Potted Plants Arent Shy
2023-03-30   2023-04-11 /plant-sounds-stress.html                    About Airing Their Complaints               By Darren Incorvaia                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/30/world/e From Space Darkness Underscores Ukraines By William J Broad Sarah Kerr
2023-03-30   2023-04-11 urope/ukraine-satellite-darkness.html        Misery                                      Marc Santora and Tim Wallace       TX 9-292-487   2023-06-01




                                                                                 Page 5083 of 5793
                        https://www.nytimes.com/2023/04/04/well/eat
2023-04-04   2023-04-11 /tofu-health-benefits.html                  Is Tofu Good for You                        By Alice Callahan             TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/04/science Mammalian MacGYVERS Revenge of the
2023-04-05   2023-04-11 /goats-camels-outsiders.html                Outsiders Shunned Goats Solve Problems      By Veronique Greenwood        TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/05/science
2023-04-05   2023-04-11 /nasa-artemis-astronauts-moon.html          Better Late Than Never For These Astronauts By Kenneth Chang              TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/05/well/mi Many Reputed Benefits From an Ancient
2023-04-05   2023-04-11 nd/ashwagandha-supplement-benefits.html      Herb                                       By Dani Blum                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/well/or
2023-04-06   2023-04-11 al-health-hygiene.html                       Oral Hygiene Is Crucial to Health          By Hannah Seo                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/arts/mu James Bowman 81 Countertenor With a Rare
2023-04-07   2023-04-11 sic/james-bowman-dead.html                   Skill That Inspired Composers              By Neil Genzlinger              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/health/
2023-04-07   2023-04-11 vet-pet-health-telemedicine.html             The Virtual Vet Visit                      By Emily Anthes                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/busines As AI Images Improve Can We Believe Our By Tiffany Hsu and Steven Lee
2023-04-08   2023-04-11 s/media/ai-generated-images.html             Eyes                                       Myers                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/health/
2023-04-08   2023-04-11 mortgage-loan-credit-score-financials.html   A Great Credit Score But Denied a Mortgage By Paula Span                   TX 9-292-487   2023-06-01
                                                                     The Pope Having a Beer at Burning Man How
                        https://www.nytimes.com/2023/04/08/technol Francis Became the Favored Muse of AI
2023-04-08   2023-04-11 ogy/ai-photos-pope-francis.html              Artists                                    By Kalley Huang                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/us/polit Mel King Dies at 94 His Boston Campaign
2023-04-08   2023-04-11 ics/mel-king-dead.html                       Eased Racial Tensions                      By Richard Sandomir             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/arts/tele
2023-04-10   2023-04-11 vision/brian-cox-succession.html             Brian Cox On That Succession Plot Twist    By Austin Considine             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/busines Bitcoin Devours Energy and Others Pay a      By Gabriel JX Dance Tim Wallace
2023-04-10   2023-04-11 s/bitcoin-mining-electricity-pollution.html  Price                                      and Zach Levitt                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/busines Fox Settles In Lawsuit For Defamation Of
2023-04-10   2023-04-11 s/fox-news-venezuela-dominion.html           Businessman                                By Maureen Farrell              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/arts/al- Al Jaffee Whose Wit Added Wrinkles to
2023-04-10   2023-04-11 jaffee-dead.html                             Mads Back Page Dies at 102                 By Neil Genzlinger              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/arts/des
                        ign/met-museum-satterwhite-baghramian-
2023-04-10   2023-04-11 commission.html                              The Met Spotlight Shines on Two Artists    By Ted Loos                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/arts/ger
2023-04-10   2023-04-11 many-museums-silver.html                     Museums Return Silver Lost to Nazis        By Milton Esterow               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/arts/mu
                        sic/morgan-wallen-five-weeks-billboard-      Morgan Wallen Extends His Stay Atop the
2023-04-10   2023-04-11 chart.html                                   Album Chart                                By Ben Sisario                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/arts/mu
                        sic/solange-saint-heron-eldorado-ballroom-
2023-04-10   2023-04-11 bam-review.html                              Joy and Pain Raising the Roof              By Giovanni Russonello          TX 9-292-487   2023-06-01




                                                                               Page 5084 of 5793
                        https://www.nytimes.com/2023/04/10/arts/tele
2023-04-10   2023-04-11 vision/succession-roy-family-episode-3.html For the Roy Kids Things Get Real             By James Poniewozik              TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/10/books/r
2023-04-10   2023-04-11 eview/minor-notes-bennett-mccarthy.html      Unsung Black Poets Revived and Amplified By Dwight Garner                    TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/10/busines China Has Reopened to Travelers But Its Still
2023-04-10   2023-04-11 s/china-tourism.html                         Not Easy to Get There                       By Nicole Hong and Chang Che     TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/10/busines
2023-04-10   2023-04-11 s/economy/bank-economy-credit-crunch.html Loan Squeeze Raises Fears Of Slowdown           By Jeanna Smialek                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/busines A Social App for Gamers Finds Itself at the
2023-04-10   2023-04-11 s/what-is-discord-pentagon-leak.html        Center Of a Controversy Again                 By Kellen Browning                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/health/a Drug Executives Condem Ruling On Abortion By Pam Belluck and Christina
2023-04-10   2023-04-11 bortion-ruling-pharma-executives.html       Pill                                          Jewett                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/nyregio LeftLeaning Judge Picked For New Yorks
2023-04-10   2023-04-11 n/hochul-chief-judge.html                   Top Court                                     By Luis FerrSadurn                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/nyregio Faculty Members Strike At Rutgers
2023-04-10   2023-04-11 n/rutgers-strike.html                       Disrupting Classes and Research               By Liam Stack and Wesley Parnell TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/10/opinion
                        /clarence-thomas-harlan-crow-donald-        Clarence Thomas Decided Against the
2023-04-10   2023-04-11 trump.html                                  Staycation                                    By Gail Collins and Bret Stephens TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/opinion
2023-04-10   2023-04-11 /fda-mifepristone.html                      The Abortion Pill Decision Is Dangerous       By Joshua M Sharfstein            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/opinion
2023-04-10   2023-04-11 /succession-logan-wealth.html               The Cold Truth at the Heart of Succession     By Michelle Goldberg              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/opinion
                        /the-meaning-of-an-awesome-employment- The Meaning of an Awesome Employment
2023-04-10   2023-04-11 report.html                                 Report                                        By Paul Krugman                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/science More Girls Are Being Diagnosed With
2023-04-10   2023-04-11 /autism-rate-girls.html                     Autism                                        By Azeen Ghorayshi                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/sports/b Making Brewers Matter Is Counsells Civic
2023-04-10   2023-04-11 aseball/craig-counsell-brewers.html         Duty                                          By Tyler Kepner                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/sports/b After Gantlet of Time Zones and Piled
2023-04-10   2023-04-11 aseball/toronto-blue-jays.html              Laundry Blue Jays Are Finally Home            By Scott Miller                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/sports/b Boston Is No 1 Pick Capping Long Journey
2023-04-10   2023-04-11 asketball/aliyah-boston-wnba-draft.html     From the Virgin Islands                       By Kris Rhim                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/sports/b A Redesign Sought To Build Drama And Its
2023-04-10   2023-04-11 asketball/nba-play-in-tournament.html       Working                                       By Tania Ganguli                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/sports/b
2023-04-10   2023-04-11 asketball/wnba-draft-marketing-race.html    WNBA Puts On An Unsettling Face               By Kurt Streeter                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/sports/h With Record Set The Bruins Turn To a Bigger
2023-04-10   2023-04-11 ockey/boston-bruins-nhl.html                Goal                                          By David Waldstein                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/sports/s
                        occer/benfica-champions-league-inter-       Benfica Is the Master of the Sale but at What
2023-04-10   2023-04-11 milan.html                                  Cost to Its Ambitions                         By Rory Smith                     TX 9-292-487   2023-06-01



                                                                                Page 5085 of 5793
                        https://www.nytimes.com/2023/04/10/technol The Justice Department Recently Looked Into
2023-04-10   2023-04-11 ogy/twitter-lawsuit-justice-department.html Twitter                                     By Kate Conger and Ryan Mac       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/us/fire-
2023-04-10   2023-04-11 fishing-boat-puget-sound.html               ShelterinPlace Order Lifted After Fire      By Christine Hauser               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/us/flori DeSantis Seeks Tightest Clamp On
2023-04-10   2023-04-11 da-desantis-immigration.html                Immigration in the Country                  By Miriam Jordan                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/us/jack State Overhaul in Mississippi Capital
2023-04-10   2023-04-11 son-mississippi-crime-police.html           Deepens Discord                             By Michael Wines                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/us/louis Gunman Kills 4 Louisville Bank CoWorkers By Kevin Williams Amanda
2023-04-10   2023-04-11 ville-kentucky-shooting.html                on Livestream                               Holpuch and Campbell Robertson    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/us/polit Biden Says He Plans to Run For President
2023-04-10   2023-04-11 ics/biden-2024-election-running.html        Again in 2024                               By Reid J Epstein                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/us/polit Clues Left Online May Aid Inquiry Into      By Julian E Barnes Eric Schmitt
2023-04-10   2023-04-11 ics/classified-documents-leak.html          Intelligence Leaks Officials Say            and Helene Cooper                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/us/polit
                        ics/nashville-council-tennessee-lawmaker-   Nashville Council Votes To Return
2023-04-10   2023-04-11 jones.html                                  Lawmaker Expelled From House                By Emily Cochrane                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/us/polit Trump Appeals To Block Pence From
2023-04-10   2023-04-11 ics/trump-appeal-pence-grand-jury.html      Testifying To Grand Jury                    By Alan Feuer                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/us/polit Trump Misses FEC Deadline to Report
2023-04-10   2023-04-11 ics/trump-campaign-fec-filing.html          Finances                                    By Shane Goldmacher               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/us/sena
                        te-democrats-supreme-court-clarence-        Senate Judiciary Committee Promises Hearing
2023-04-10   2023-04-11 thomas.html                                 Into Ethics of Supreme Court                By Carl Hulse                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/us/supr For Conservative Justices Upholding Abortion
2023-04-10   2023-04-11 eme-court-abortion-pill-fda.html            Pill Ruling Is No Sure Thing                By Adam Liptak                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/us/virgi Parent of Boy In Shooting Of Teacher Is
2023-04-10   2023-04-11 nia-school-shooting-mother-charged.html     Charged                                     By Jacey Fortin                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/world/a Lengthy Prison Sentences For Leading
2023-04-10   2023-04-11 sia/china-activists-prison.html             Chinese Activists                           By Vivian Wang                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/world/a For 3rd Day China Brandishes Military Might By Chris Buckley Amy Chang
2023-04-10   2023-04-11 sia/china-military-exercises-taiwan.html    in Exercises Near Taiwan                    Chien and Lam Yik Fei             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/world/a The Dalai Lama Apologizes For an Exchange
2023-04-10   2023-04-11 sia/dalai-lama-boy.html                     With a Boy                                  By Sameer Yasir                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/world/e Biden Must Tread Rocky Path in Belfast
2023-04-10   2023-04-11 urope/biden-belfast-northern-ireland.html   Before Tending His Irish Roots              By Mark Landler                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/world/e Italy Reports Busy Days For Rescues Of
2023-04-10   2023-04-11 urope/italy-migrants-rescue.html            Migrants                                    By Isabella Kwai                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/world/e Warsaw and Kyiv Strike a Deal Over a
2023-04-10   2023-04-11 urope/poland-ukraine-grain-protests.html    Surplus of Grain After Protests in Poland   By Andrew Higgins                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/10/world/e A Painstaking Search For Lethal Surprises
2023-04-10   2023-04-11 urope/russia-booby-traps-ukraine-war.html  Hidden in the Grass                         By Andrew E Kramer                 TX 9-292-487   2023-06-01




                                                                                Page 5086 of 5793
                        https://www.nytimes.com/2023/04/10/world/ Netanyahu Reverses Firing of the Israeli       By Patrick Kingsley and Hiba
2023-04-10   2023-04-11 middleeast/israel-netanyahu-gallant.html     Defense Minister                            Yazbek                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/world/ A Beloved Pastime in Syria Is Now a Perilous
2023-04-10   2023-04-11 middleeast/syria-truffles-war.html           Venture                                     By Raja Abdulrahim             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/article/leaked-      A Guide to the Latest Classified Document
2023-04-10   2023-04-11 documents-ukraine-russia-war.html            Leak                                        By Eric Nagourney              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/nyregio Bragg Calls the Judiciary Committees Plans
2023-04-11   2023-04-11 n/bragg-manhattan-house-hearing.html         for a Manhattan Hearing a Political Stunt   By Ed Shanahan                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/nyregio                                               By Winnie Hu and Joshua
2023-04-11   2023-04-11 n/e-bike-fire-queens-fatal.html              2 Young People Killed in Fire From EBike    Needelman                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/theater/ A Playwrights Soap Opera Digest Springs to
2023-04-11   2023-04-11 review-white-girl-in-danger.html             Life                                        By Jesse Green                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/us/polit
                        ics/biden-good-friday-agreement-             Global Power Struggles Signal An End to an
2023-04-11   2023-04-11 diplomacy.html                               Era of Diplomacy                            By Peter Baker                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/busines
                        s/energy-environment/cars-electric-vehicles- A Test for Automakers Meeting Bidens
2023-04-11   2023-04-11 epa.html                                     Deadline                                    By Neal E Boudette             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/health/a
2023-04-11   2023-04-11 eds-defibrillator-cardiac-arrest.html        A Lifesaver Thats Scarce and Costly         By Gina Kolata                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/insider/
2023-04-11   2023-04-11 gun-violence-readers.html                    We Asked Americans About Gun Violence By Emmett Lindner                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/science
2023-04-11   2023-04-11 /artificial-intelligence-body-robots.html    Can Intelligence Be Separated From the Body By Oliver Whang                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/world/a In China Young Workers Ditch Prestige Jobs
2023-04-11   2023-04-11 sia/china-youth-employment.html              for Manual Gigs                             By Vivian Wang and Zixu Wang   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/dining/
                        drinks/sonoma-napa-valley-restaurants-
2023-04-06   2023-04-12 wine.html                                    Napa and Sonoma With Value in Mind          By Eric Asimov                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/dining/
                        how-to-make-simple-roast-chicken-
2023-04-06   2023-04-12 french.html                                  A French Accent On Roast Chicken            By Melissa Clark               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/theater/ When Celebrities Sling Mud Its Fertile Soil
2023-04-06   2023-04-12 wagatha-christie-play.html                   for Drama                                   By Isabella Kwai               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/dining/
2023-04-07   2023-04-12 drinks/dirty-martini-recipe.html             Theres No OneSizeFitsAll Dirty Martini      By Rebekah Peppler             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/dining/
2023-04-07   2023-04-12 easy-eid-lunch-recipes.html                  Festive Dishes for an Easy Eid Lunch        By Zainab Shah                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/dining/t
2023-04-07   2023-04-12 ofu.html                                     Tofu Shows Its Range Well Beyond the Block By Andrea Nguyen                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/movies/ Banned at Home A Pakistani Film Is Lauded
2023-04-07   2023-04-12 joyland-pakistan.html                        Abroad                                      By Carlos Aguilar              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/world/a Indias Tiger Population Rebounds After Near
2023-04-09   2023-04-12 sia/india-tiger-conservation-success.html    Collapse                                    By Hari Kumar                  TX 9-292-487   2023-06-01




                                                                               Page 5087 of 5793
                        https://www.nytimes.com/2023/04/10/arts/dan Jennifer Muller 78 a Choreographer With
2023-04-10   2023-04-12 ce/jennifer-muller-dead.html                Humanity and Joy on Her Mind                 By Claudia Bauer                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/arts/mi
2023-04-10   2023-04-12 chael-lerner-dead.html                      Michael Lerner 81 Actor in Barton Fink       By Lauren McCarthy                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/arts/mu
2023-04-10   2023-04-12 sic/stephen-hough-enough.html               A Pianists Memoir Is Serious Yet Playful     By Hugh Morris                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/arts/my Myriam Ullens 70 a Baroness Charitable
2023-04-10   2023-04-12 riam-ullens-dead.html                       Across the Globe Dies                        By Alex Traub                      TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/10/briefing                                               By David Leonhardt and Claire
2023-04-10   2023-04-12 /evan-gershkovich-jailed-russia-reporter.html A Reporter Dedicated to Russias Whole Story Moses                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/dining/
                        disneyland-disney-world-restaurants-
2023-04-10   2023-04-12 food.html                                     A Taste for Magic                           By Tejal Rao                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/science Elephant in Berlin Taught Herself to Peel
2023-04-10   2023-04-12 /elephant-banana-peel.html                    Bananas if the Fruit and Time Are Ripe      By Emily Anthes                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/world/ Can Saudi Arabias Restart With Iran End         By Vivian Nereim and Shuaib
2023-04-10   2023-04-12 middleeast/yemen-peace-talks.html             Years of Fighting in Yemen                  Almosawa                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/arts/car Carl Fischer 98 Whose Esquire Covers Drew
2023-04-11   2023-04-12 l-fischer-dead.html                           Reverence and Rage Dies                     By Neil Genzlinger                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/arts/des
2023-04-11   2023-04-12 ign/mo-ostin-art-auction-sothebys.html        Music Executives Art Goes to Auction        By Bernard Mokam                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/arts/fak
                        e-basquiat-paintings-orlando-barzman-         Auctioneer Helped Create Fake Artworks
2023-04-11   2023-04-12 plea.html                                     Shown As Basquiats in Orlando               By Matt Stevens and Brett Sokol   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/11/arts/mu
2023-04-11   2023-04-12 sic/alison-goldfrapp-the-love-invention.html Chameleon Musician Embraces The Clubs       By Rich Juzwiak                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/arts/mu
                        sic/review-champion-blanchard-met-
2023-04-11   2023-04-12 opera.html                                   The Thrill and Agony of Victory             By Zachary Woolfe                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/arts/ver Helping People of Color Gain a Foothold in
2023-04-11   2023-04-12 ge-recruitment-art-industry.html             the Art World                               By Zachary Small                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/busines Bitcoin Remains on Top Gaining 80 This
2023-04-11   2023-04-12 s/dealbook/bitcoin-price.html                Year                                        By Bernhard Warner                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/busines                                               By Kellen Browning and Stuart A
2023-04-11   2023-04-12 s/discord-leaked-military-documents.html     Posting Rude Memes and Pentagon Secrets     Thompson                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/busines California Stung As Vital Sectors Suffer
2023-04-11   2023-04-12 s/economy/california-economy.html            Setbacks                                    By Kurtis Lee                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/busines
                        s/economy/desantis-federal-reserve-
2023-04-11   2023-04-12 powell.html                                  Fed Sniping Is Effective For DeSantis       By Jeanna Smialek and Linda Qiu    TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/11/busines
2023-04-11   2023-04-12 s/economy/imf-world-economic-outlook.html IMF Sees Global Risk Of Slowdown               By Alan Rappeport                  TX 9-292-487   2023-06-01



                                                                                 Page 5088 of 5793
                        https://www.nytimes.com/2023/04/11/busines Fox News Faces Setback As Judge Limits
2023-04-11   2023-04-12 s/fox-news-dominion-trial.html              Options In Defamation Lawsuit              By Jeremy W Peters                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/busines HBO and Discovery to Combine in Max
2023-04-11   2023-04-12 s/media/max-streaming-warner-hbo.html       Service                                    By John Koblin                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/busines
2023-04-11   2023-04-12 s/mental-health-addiction-care.html         Expanding Care For Mental Health           By Joe Gose and Michelle Litvin TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/11/busines Media Trailblazer in Publishing To Manage
2023-04-11   2023-04-12 s/the-guardian-us-dana-canedy.html          Guardian US                                By Benjamin Mullin                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/climate
2023-04-11   2023-04-12 /colorado-river-water-cuts-drought.html     US Has Plan To Allot Water From Key River By Christopher Flavelle            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/dining/ New Dining Delights Are Closer Than You
2023-04-11   2023-04-12 philadelphia-restaurants-weekend.html       Think                                      By Nikita Richardson              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/dining/r
                        estaurant-review-marcus-samuelsson-hav-and-
2023-04-11   2023-04-12 mar.html                                    Seafood Mermaids and an Ocean of Ideas     By Pete Wells                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/health/
2023-04-11   2023-04-12 misoprostol-abortion.html                   Pill in Series Can Be Used On Its Own      By Pam Belluck                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/nyregio                                             By Jonah E Bromwich Maggie
                        n/bragg-lawsuit-jim-jordan-trump-           Bragg Sues Congressman to Bar Interference Haberman Ben Protess and William
2023-04-11   2023-04-12 indictment.html                             in Trump Case                              K Rashbaum                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/nyregio Harlem Man Out on Bail Is Charged In 2      By Chelsia Rose Marcius and Liset
2023-04-11   2023-04-12 n/easter-killings-arrest.html               Killings                                   Cruz                              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/nyregio
2023-04-11   2023-04-12 n/nyc-mta-transit-improvements.html         5 Experts Weigh In On Future Of Transit    By Ana Ley                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/nyregio Robotic Dogs Will Return To New York As
2023-04-11   2023-04-12 n/nypd-digidog-robot-crime.html             Police Tool                                By Dana Rubinstein                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/nyregio
                        n/patrick-lynch-police-benevolent-          After 6 Terms Combative President Of New
2023-04-11   2023-04-12 association.html                            York Police Union Will Bow Out             By Corey Kilgannon                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/opinion
                        /columnists/tennessee-house-nashville-
2023-04-11   2023-04-12 shooting.html                               The Next Season of America Looks Brutal    By Tressie McMillan Cottom        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/opinion
2023-04-11   2023-04-12 /military-budget-democrats.html             Liberals Have a Blind Spot on Defense      By Bret Stephens                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/opinion
2023-04-11   2023-04-12 /tennessee-justin-house-expulson.html       An Undemocratic Power Play in Tennessee By The Editorial Board               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/sports/h Even in Exile Baffert Remains King Of the
2023-04-11   2023-04-12 orse-racing/bob-baffert-horse-racing.html   Sport Of Kings                             By Joe Drape                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/sports/s The Shadow of Abuse Looms Over a World
2023-04-11   2023-04-12 occer/ireland-soccer-abuse.html             Cup Team                                   By Jer Longman                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/theater/
2023-04-11   2023-04-12 covid-vortex-anxiety-opera-review.html      First Gloom Zoom and Then a New Bloom      By Elisabeth Vincentelli          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/us/charl A Driver in Formula 1 Asks Fans for Some
2023-04-11   2023-04-12 es-leclerc-address-fans-f1.html             Space                                      By Derrick Bryson Taylor          TX 9-292-487   2023-06-01




                                                                               Page 5089 of 5793
                        https://www.nytimes.com/2023/04/11/us/louis Body Cam Shows Ambush of Louisville       By Kevin Williams Nicholas
2023-04-11   2023-04-12 ville-shooting-gunman.html                  Officers by Gunman                        BogelBurroughs and Tim Arango             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/us/migr Children Born in US Among Those Separated
2023-04-11   2023-04-12 ant-family-separations-citizens.html        From Parents at Border                    By Miriam Jordan                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/us/okla Oklahoma Considers Nations First Religious By Sarah Mervosh and Ruth
2023-04-11   2023-04-12 homa-catholic-charter-school.html           Charter School                            Graham                                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/us/polit Some in GOP Urge Flexibility With
2023-04-11   2023-04-12 ics/abortion-republicans-elections.html     Abortion                                  By Jonathan Weisman                       TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/11/us/polit Eye on Swing States Democrats Choose             By Katie Glueck and Shane
2023-04-11   2023-04-12 ics/chicago-2024-democratic-convention.html Chicago for 24 Convention                        Goldmacher                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/us/polit Eccentric Billionaire Justices JetSetting Pal Is
2023-04-11   2023-04-12 ics/clarence-thomas-harlan-crow.html        Put in Rare Spotlight                            By Abbie VanSickle                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/us/polit
                        ics/congress-trump-biden-classified-        Classified Documents Are Provided To             By Karoun Demirjian and Julian E
2023-04-11   2023-04-12 documents.html                              Congress                                         Barnes                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/us/polit US Attempts to Tamp Down Anger Over
2023-04-11   2023-04-12 ics/document-leak-pentagon.html             Leaks                                            By Michael Crowley                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/us/polit New Pressure to End Old Senate Practice
2023-04-11   2023-04-12 ics/senate-biden-judicial-picks.html        After Mississippi Judicial Pick Is Blocked       By Carl Hulse                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/world/a At Least 100 Are Killed By Airstrike In
2023-04-11   2023-04-12 sia/myanmar-airstrike.html                  Myanmar                                          By Richard C Paddock               TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/11/world/c Leadership of Trudeau Foundation Quits
2023-04-11   2023-04-12 anada/trudeau-foundation-leaders-resign.html Amid Furor Over 2016 Chinese Donation         By Ian Austen                        TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/11/world/e French Police Face Criticism for Crackdown
2023-04-11   2023-04-12 urope/france-police-pension-protests.html   on Protests Against Pension Overhaul       By Constant Mheut                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/world/e After Being Feted by Xi in China Macron Is
2023-04-11   2023-04-12 urope/macron-china-allies.html              Roasted By His Allies                      By Roger Cohen                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/world/e New Law Would Make It More Difficult for By Ivan Nechepurenko Neil
2023-04-11   2023-04-12 urope/russia-military-draft-ukraine.html    Russians to Evade the Draft                MacFarquhar and Vjosa Isai               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/world/e Despite Bombings and Bitter Cold Ukraine Is
2023-04-11   2023-04-12 urope/ukraine-war-infrastructure.html       Up and Running                             By Marc Santora                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/world/
                        middleeast/jerusalem-aqsa-mosque-           Despite Fears Palestinians Gather to Break
2023-04-11   2023-04-12 ramadan.html                                Ramadan Fast                               By Raja Abdulrahim                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/sports/b NBA Cites Economy for Hiring Freeze and
2023-04-12   2023-04-12 asketball/nba-budget-cuts.html              Cutbacks                                   By Sopan Deb                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/theater/
2023-04-12   2023-04-12 regretfully-so-the-birds-are-review.html    Being Asian When Dads a Snowman            By Maya Phillips                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/sports/f Ahead of the Draft A Few Things Are
2023-04-12   2023-04-12 ootball/nfl-draft-trends.html               Already Obvious                            By Mike Tanier                           TX 9-292-487   2023-06-01




                                                                                  Page 5090 of 5793
                        https://www.nytimes.com/2023/04/12/technol
                        ogy/meta-layoffs-employees-                 Mass Layoffs and Absentee Bosses Lead to a
2023-04-12   2023-04-12 management.html                             Morale Crisis at Meta                       By Sheera Frenkel and Mike Isaac    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/world/a Indonesias Youths Adopt A Stricter Form of
2023-04-12   2023-04-12 sia/indonesia-muslim-hijrah-youth.html      Islam                                       By SuiLee Wee                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/22/well/fa Here to Help How to Talk to Your Kids
2023-03-22   2023-04-13 mily/ai-chatgpt-parents-children.html       About AI Chatbots                           By Christina Caron                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/style/ru
                        pert-murdoch-ann-lesley-smith-              The TwoWeek Fiance Whom We Hardly
2023-04-05   2023-04-13 engagement.html                             Knew                                        By Jacob Bernstein                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/05/style/mi
2023-04-05   2023-04-13 elle-organics-rosemary-hair-oil.html        Popular Demand or Influencer Appropriation By Sandra E Garcia                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/climate
2023-04-07   2023-04-13 /climate-change-tv.html                     Can Climate Change Make for Good TV         By Manuela Andreoni                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/movies/ Real or Imagined Microaggressions Take
2023-04-07   2023-04-13 international-movies-streaming.html         Their Toll                                  By Devika Girish                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/07/t-
2023-04-07   2023-04-13 magazine/anna-winger-berlin-lunch.html      People Places Things                        By Gisela Williams                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/style/eg
2023-04-08   2023-04-13 g-freezing-procedure-travel.html            Have Eggs Will Travel To Freeze Them        By Alyson Krueger                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/style/ea
2023-04-10   2023-04-13 ster-parade-manhattan-fashion.html          A Holy Day For Hat People                   By Simbarashe Cha                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/style/m HampM Makes It Easier to Dress Like a Pop
2023-04-10   2023-04-13 ugler-h-and-m-collaboration.html            Diva                                        By Guy Trebay                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/arts/des
2023-04-11   2023-04-13 ign/albers-milan-design-week.html           Object lessons from a famed artistic couple By Ray Mark Rinaldi                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/arts/des
                        ign/cristian-mohaded-furniture-loro-
2023-04-11   2023-04-13 piana.html                                  An Argentine designer rocks the boulders    By Ray Mark Rinaldi                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/arts/des
2023-04-11   2023-04-13 ign/milan-triennale.html                    Every third years the charm                 By Stephen Treffinger               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/arts/des
2023-04-11   2023-04-13 ign/paola-navone-exhibition.html            Winning a design lottery                    By Whitney Mallett                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/arts/viv Vivan Sundaram 79 Dies Made Indias
2023-04-11   2023-04-13 an-sundaram-dead.html                       Political Climate His Muse                  By Holland Cotter                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/opinion
                        /clarence-thomas-supreme-court-abe-
2023-04-11   2023-04-13 fortas.html                                 Theres a Precedent for Ousting a Justice    By Adam Cohen                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/us/noxu Sexual Abuse Beatings and an Untouchable
2023-04-11   2023-04-13 bee-mississippi-sheriffs-abuse.html         Sheriff                                     By Ilyssa Daly and Jerry Mitchell   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/us/polit Biden in Northern Ireland Lauds Peace Amid By Michael D Shear and Katie
2023-04-11   2023-04-13 ics/biden-belfast-ireland-visit.html        Tension                                     Rogers                              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/us/polit
                        ics/democratic-national-convention-         The Midwest Reflects America but Thats Just By Reid J Epstein and Shane
2023-04-11   2023-04-13 chicago.html                                One of Its Appeals for the DNC              Goldmacher                          TX 9-292-487   2023-06-01



                                                                                Page 5091 of 5793
                        https://www.nytimes.com/2023/04/11/us/polit
                        ics/tim-scott-president-exploratory-        Scott Forms Committee To Explore His         By Maya King and Shane
2023-04-12   2023-04-13 committee.html                              Chances For a Presidential Run               Goldmacher                      TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/arts/joh Founding Son Inspires Avett Brothers Bass
2023-04-12   2023-04-13 n-quincy-adams-crawford-podcast.html        Player                                       By Jennifer Schuessler          TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/arts/mu Rita Indiana the Agitator Revels in Ancestral
2023-04-12   2023-04-13 sic/rita-indiana-tu-nombre-verdadero.html   Energies                                     By Isabelia Herrera             TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/books/a Anne Perry Crime Writer With Her Own Dark
2023-04-12   2023-04-13 nne-perry-dead.html                         Tale Is Dead at 84                           By Anita Gates                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/busines
2023-04-12   2023-04-13 s/china-sodium-batteries.html               China Pioneers Novel Batteries Using Sodium By Keith Bradsher                TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/12/busines Fed Officials Fretted Bank Turmoil Could
2023-04-12   2023-04-13 s/economy/fed-minutes-rate-increases.html  Have Serious Consequences                      By Jeanna Smialek              TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/busines Inflation Cools A Hopeful Sign On a Long
2023-04-12   2023-04-13 s/inflation-fed-rates.html                 Road                                           By Jeanna Smialek              TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/busines Alicia C Shepard 69 Who Defended NPR in
2023-04-12   2023-04-13 s/media/alicia-shepard-dead.html           Fraught Debate About Torture                   By Richard Sandomir            TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/12/busines                                                By Katie Robertson and Jeremy W
2023-04-12   2023-04-13 s/media/fox-dominion-trial-sanctioned.html Judge Imposes Sanction Against Fox News        Peters                          TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/12/busines Losing HBO From Name Max App Seeks
2023-04-12   2023-04-13 s/media/max-warner-new-streaming-app.html Broader Appeal                                  By John Koblin                 TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/12/busines Vox Media Is Spinning Off NowThis Its Viral
2023-04-12   2023-04-13 s/media/vox-nowthis-accelerate-change.html Politics Site                                 By Benjamin Mullin              TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/busines NPR Is Quitting Twitter Over Government       By Lora Kelley and Katie
2023-04-12   2023-04-13 s/npr-twitter-suspension.html               Funded Label                                 Robertson                       TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/climate EPA Seeks Rules to Pump Up Sales of
2023-04-12   2023-04-13 /biden-electric-cars-epa.html               Electric Cars                                By Coral Davenport              TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/health/j
                        uul-vaping-settlement-new-york-             Juul Reaches 462 Million Settlement in Suits By Christina Jewett and Julie
2023-04-12   2023-04-13 california.html                             by New York and Other States                 Creswell                        TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/health/t Sedative for Animals Named As Emerging
2023-04-12   2023-04-13 ranq-dope-xylazine.html                     Drug Threat                                  By Jan Hoffman                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/movies/
2023-04-12   2023-04-13 air-movie-sonny-vaccaro-matt-damon.html     Air Floats an Idea Share the Profits         By Marc Tracy                   TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/movies/
2023-04-12   2023-04-13 sick-of-myself-review.html                  Whats Her Story Anyway                       By Beatrice Loayza              TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/movies/
2023-04-12   2023-04-13 the-plains-review-road-to-somewhere.html    One Mans Commute Seen From the Back Seat By Ben Kenigsberg                   TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/movies/
2023-04-12   2023-04-13 tommy-guns-review.html                      Innocent Brutal And Prepared for War         By Natalia Winkelman            TX 9-292-487    2023-06-01




                                                                                 Page 5092 of 5793
                        https://www.nytimes.com/2023/04/12/nyregio New York Welcomes Abortion Seekers From
2023-04-12   2023-04-13 n/abortions-out-of-state-nyc.html            Out of State                                  By Lola Fadulu                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/nyregio
                        n/cornell-student-assembly-trigger-          As Cornell Firmly Rejects Push for Trigger
2023-04-12   2023-04-13 warnings.html                                Warnings FreeSpeech Debate Shifts             By Katherine Rosman              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/nyregio A Maestro Is Picked to Solve New Yorks Rat
2023-04-12   2023-04-13 n/rat-czar-kathleen-corradi.html             Infestation                                   By Jeffery C Mays                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/nyregio Trump Asks for Delay of Trial in Suit
2023-04-12   2023-04-13 n/trump-e-jean-carroll-lawsuit-delay.html    Accusing Him of Rape                          By Benjamin Weiser               TX 9-292-487   2023-06-01
                                                                                                                   By Maggie Haberman Ben Protess
                        https://www.nytimes.com/2023/04/12/nyregio Suing Cohen Trump Claims He Spread              William K Rashbaum and Jonah E
2023-04-12   2023-04-13 n/trump-michael-cohen-lawsuit.html           Falsehoods                                    Bromwich                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/opinion
2023-04-12   2023-04-13 /aging-politics-biden.html                   90 Has Become the New 60                      By Gail Collins                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/opinion
2023-04-12   2023-04-13 /china-usa-war-avoid.html                    How to Avoid a War With China                 By Nicholas Kristof              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/opinion Bidens Chances in 2024 Political Pros
2023-04-12   2023-04-13 /joe-biden-reelection-chances.html           Weigh In                                      By Charles M Blow                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/sports/a
                        cmilan-napoli-champions-league-quarterfinal- Out of the Mists of Italys Past a Tantalizing
2023-04-12   2023-04-13 first-leg.html                               Vision of the Future                          By Andrew Das                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/sports/b
2023-04-12   2023-04-13 aseball/sweeper-pitch-yankees.html           A Sweeping Change Comes to Baseball           By Tyler Kepner                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/sports/h
2023-04-12   2023-04-13 orse-racing/grand-national-horse-race.html   The Worlds Most Unpredictable Race            By Victor Mather                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/style/ju
2023-04-12   2023-04-13 stin-jones-tennessee-white-suit.html         The Lasting Power of the White Suit           By Vanessa Friedman              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/technol
                        ogy/personaltech/vo2max-smartwatches-        Fitness Data on Your Smartwatch May Be
2023-04-12   2023-04-13 fitness-accuracy.html                        Wrong and Yet Very Right                      By Brian X Chen                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/technol Montana Battle Is Setting Stage For TikTok
2023-04-12   2023-04-13 ogy/tiktok-ban-montana.html                  Ban                                           By David McCabe                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/theater/ Ariana DeBose to Return As Tonys Host This
2023-04-12   2023-04-13 tony-awards-host-ariana-debose.html          Year                                          By Michael Paulson               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/us/dem Democratic States Move to Stockpile
2023-04-12   2023-04-13 ocratic-states-abortion-pills.html           Abortion Pills After Texas Ruling on FDA      By David W Chen and Ava Sasani   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/us/justi Second Expelled Democrat Is Sent Back to
2023-04-12   2023-04-13 n-pearson-tennessee-house-vote.html          Legislature                                   By Emily Cochrane                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/us/nort N Dakota Bars Transgender Girls From
2023-04-12   2023-04-13 h-dakota-trans-women-girls-sports-ban.html Female Teams                                    By David W Chen                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/us/polit
                        ics/2024-republican-presidential-            On the 24 Trail Before the Campaign Is
2023-04-12   2023-04-13 campaigns.html                               Official                                      By Jonathan Weisman              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/us/polit For Abortion Pill Case Several Paths Could By Abbie VanSickle and Pam
2023-04-12   2023-04-13 ics/abortion-pill-ruling-explainer.html      Lead to the Supreme Court                     Belluck                          TX 9-292-487   2023-06-01



                                                                                Page 5093 of 5793
                        https://www.nytimes.com/2023/04/12/us/polit Ignoring Detractors Chicago Embraces Its
2023-04-12   2023-04-13 ics/chicago-democratic-convention.html      Comeback                                     By Jonathan Weisman               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/us/polit
                        ics/republican-primary-debate-              GOP Picks Fox News to Host Partys First
2023-04-12   2023-04-13 milwaukee.html                              Debate of the 2024 Presidential Primary      By Shane Goldmacher               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/us/polit
                        ics/trump-map-classified-documents-justice- One Thread in Inquiry About Classified Files By Maggie Haberman Adam
2023-04-12   2023-04-13 department.html                             Is Said to Involve Map                       Goldman and Alan Feuer            TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/12/us/polit Ukraine Needs South Korean Shells Polands By Julian E Barnes and Adam
2023-04-12   2023-04-13 ics/ukraine-weapons-poland-south-korea.html Prime Minister Says                          Entous                           TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/us/rich
2023-04-12   2023-04-13 mond-indiana-recycling-plant-fire.html      Industrial Fire in Indiana May Burn for Days By Johnny Diaz                   TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/us/texa Texas Jurys Verdict Is Scrutinized in Killing
2023-04-12   2023-04-13 s-daniel-perry-pardon-jury.html             of Protester                                 By J David Goodman               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/world/a A Problem for Ukraine Countries Like Brazil
2023-04-12   2023-04-13 mericas/brazil-ukraine-weapons.html         Wont Sell It Weapons                         By Andr Spigariol and Jack Nicas TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/world/e Backed Into a Corner in Bakhmut as Costs      By Andrew E Kramer and Mauricio
2023-04-12   2023-04-13 urope/bakhmut-ukraine-russia.html           and Casualties Mount                         Lima                             TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/world/e
                        urope/northern-ireland-good-friday-         In West Belfast Two Sides United in
2023-04-12   2023-04-13 anniversary.html                            Hardship                                     By Megan Specia                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/12/world/e
                        urope/prince-harry-king-charles-            Prince Harry Plans to Attend The Coronation
2023-04-12   2023-04-13 coronation.html                             Meghan Doesnt                                By Remy Tumin                    TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/12/world/ Israels President Is Optimistic About Judicial By Patrick Kingsley and Ronen
2023-04-12   2023-04-13 middleeast/herzog-israel-court-overhaul.html Compromise                                  Bergman                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/theater/
2023-04-13   2023-04-13 fat-ham-review.html                          Hamlets Angst Minus Some Tragedy            By Jesse Green                    TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/12/us/polit
2023-04-13   2023-04-13 ics/feinstein-senate-judiciary-committee.html Feinstein Steps Away From Judiciary          By Annie Karni                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/busines
2023-04-13   2023-04-13 s/media/fox-dominion-libel-trial.html         Dominion Case Could Reshape Libel Law        By Michael M Grynbaum           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/us/tenn
2023-04-13   2023-04-13 essee-house-republicans.html                  In Statehouses Nobody to Put On the Brakes   By Michael Wines                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/world/a In Japan a Plea for Action To Aid Those in
2023-04-13   2023-04-13 sia/china-japan-spying-espionage.html         China Jails                                  By Ben Dooley and Hisako Ueno   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/arts/des
                        ign/chinese-photography-1990s-
2023-04-12   2023-04-14 hirshhorn.html                                Chinese Political Anguish Made Physical      By Arthur Lubow                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/arts/mu Video Game Soundtrack Is Declared A
2023-04-12   2023-04-14 sic/super-mario-bros-daddy-yankee.html        Treasure                                     By Jennifer Schuessler          TX 9-292-487   2023-06-01




                                                                                 Page 5094 of 5793
                        https://www.nytimes.com/2023/04/12/movies/
2023-04-12   2023-04-14 beau-is-afraid-review-ari-aster.html         Its All Right Ma Im Only Unraveling         By Manohla Dargis               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/opinion My Son Was Addicted and Refused
2023-04-12   2023-04-14 /addiction-treatment.html                    Treatment We Needed More Options            By David Sheff                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/science Virginia Norwood 96 Who Created Satellite
2023-04-12   2023-04-14 /space/virginia-norwood-dead.html            Imaging System Dies                         By Dylan Loeb McClain           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/world/a Expansion Of Military Meets Pride Of
2023-04-12   2023-04-14 mericas/guam-chamorro-military.html          Chamorro                                    By Damien Cave                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/world/e In Land of His Heritage Biden Is Comin        By Katie Rogers and Michael D
2023-04-12   2023-04-14 urope/biden-ireland-heritage.html            Home                                        Shear                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/arts/des
                        ign/cecily-brown-metropolitan-museum-
2023-04-13   2023-04-14 painter.html                                 A Critic Admits She Was Wrong               By Roberta Smith                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/arts/des
                        ign/gallery-bushwick-international-
2023-04-13   2023-04-14 objects.html                                 Is It a Work of Art A Chair or Both         By Will Heinrich                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/arts/lad
2023-04-13   2023-04-14 y-gaga-arts-commission.html                  Members Named To Arts Board                 By Jennifer Schuessler          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/arts/mu Fleeting Moments of Comfort in Uncertain
2023-04-13   2023-04-14 sic/feist-multitudes-review.html             Times                                       By Jon Pareles                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/arts/mu
2023-04-13   2023-04-14 sic/heartbeat-opera-lady-m-tosca.html        Surgically Altered Macbeth and Tosca        By Oussama Zahr                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/arts/tele
                        vision/barry-the-good-mothers-
2023-04-13   2023-04-14 rennervations.html                           This Weekend I Have                         By Margaret Lyons               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/arts/tele
2023-04-13   2023-04-14 vision/jane-goodall-apple-tv-series.html     Brought to You by Jane Goodall              By Laurel Graeber               TX 9-292-487   2023-06-01
                                                                     New Comic Book Publisher Sees Artists as
                        https://www.nytimes.com/2023/04/13/busines Partners Offering a Bigger Slice of the
2023-04-13   2023-04-14 s/comic-books-creators-dstlry.html           Financial Pie                               By George Gene Gustines         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/busines
2023-04-13   2023-04-14 s/earnings-reports-stock-market.html         Expectations For Earnings Deteriorate       By Joe Rennison                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/busines
2023-04-13   2023-04-14 s/media/fox-dominon-judge-davis.html         Fox Lawsuit Is Also a Trial For the Judge   By Katie Robertson              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/busines Harry Potter Will Become TV Series Despite
2023-04-13   2023-04-14 s/media/harry-potter-tv-show-max.html        Authors Recent Controversy                  By Derrick Bryson Taylor        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/busines
                        s/media/misinformation-2020-election-        Fewer Voters Visited Untrustworthy Sites In
2023-04-13   2023-04-14 study.html                                   2020 Study Finds                            By Tiffany Hsu                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/climate                                               By Coral Davenport and Neal E
2023-04-13   2023-04-14 /electric-vehicles-biden-epa.html            Challenges Could Stall Bidens EV Revolution Boudette                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/climate
2023-04-13   2023-04-14 /flash-drought-warming.html                  Droughts Coming On Faster Study Finds       By Raymond Zhong                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/fashion Mary Quant 93 Designer Known as Mother of
2023-04-13   2023-04-14 /mary-quant-dead.html                        the Miniskirt Dies                          By Penelope Green               TX 9-292-487   2023-06-01



                                                                                Page 5095 of 5793
                        https://www.nytimes.com/2023/04/13/health/a
2023-04-13   2023-04-14 bortion-pill-ruling-appeal.html             2 New Rulings Muddy Waters Over Abortion By Pam Belluck and Adam Liptak      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-14 blind-willow-sleeping-woman-review.html     Blind Willow Sleeping Woman              By Claire Shaffer                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-14 de-humani-corporis-fabrica-review.html      Journeys Inside The Human Body           By Nicolas Rapold                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-14 everything-went-fine-review.html            Everything Went Fine                     By Devika Girish                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-14 hilma-review.html                           Hilma                                    By Amy Nicholson                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-14 honorable-men-review.html                   Honorable Men                            By Ben Kenigsberg                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-14 human-flowers-of-flesh-review.html          Human Flowers Of Flesh                   By Natalia Winkelman                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-14 mafia-mamma-review.html                     Running Away to Join the Family Business By Jeannette Catsoulis              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-14 one-true-loves-movie-review.html            One True Loves                           By Brandon Yu                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-14 passion-review.html                         Passion                                  By Austin Considine                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-14 personality-crisis-one-night-only-review.html Personality Crisis One Night Only         By Lisa Kennedy                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-14 rare-objects-review.html                      Rare Objects                              By Calum Marsh                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/ Exit Interview With the Vampire Worst Boss
2023-04-13   2023-04-14 renfield-review-dracula-nicolas-cage.html     Ever                                      By Manohla Dargis                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-14 suzume-review-makoto-shinkai.html             Girl on a Mythical Mission                By Maya Phillips                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-14 the-lost-weekend-a-love-story-review.html     The Lost Weekend A Love Story             By Glenn Kenny                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-14 wild-life-review.html                         Their Land Is Our Land                    By Amy Nicholson                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/nyregio
                        n/trump-carroll-lawsuit-hoffman-              LinkedIn CoFounder Funds Suit Alleging    By Benjamin Weiser and Charlie
2023-04-13   2023-04-14 linkedin.html                                 Trump Rape                                Savage                           TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/13/nyregio Trump Is Questioned in New York Fraud       By Ben Protess Jonah E Bromwich
2023-04-13   2023-04-14 n/trump-letitia-james-deposition.html      Case                                        and William K Rashbaum          TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/opinion
                        /how-immigrants-are-saving-the-
2023-04-13   2023-04-14 economy.html                               Immigrants Are Helping to Save the Economy By Paul Krugman                  TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/opinion Springsteen Seinfeld and What This Countrys
2023-04-13   2023-04-14 /springsteen-seinfeld-shows.html           Been Missing                                By Pamela Paul                  TX 9-292-487     2023-06-01




                                                                               Page 5096 of 5793
                        https://www.nytimes.com/2023/04/13/opinion People Are Fleeing to Red States Are They
2023-04-13   2023-04-14 /sun-belt-migration.html                    Better                                    By David Brooks                 TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/science
2023-04-13   2023-04-14 /astronomy-black-holes.html                 Famed Image Of Black Hole Is Sharper Now By Dennis Overbye                TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/sports/b A 42 Homestand And the GoGo Mets Hit the
2023-04-13   2023-04-14 aseball/mets-homestand-padres.html          Road Running                              By Tyler Kepner                 TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/sports/b The Rays Feel Good About Their Game and
2023-04-13   2023-04-14 aseball/tampa-bay-rays-win-streak.html      at 130 They Should                        By David Waldstein              TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/sports/f
                        ootball/washington-commanders-sale-dan-     Snyder Agrees to Sell Commanders for 6    By Ken Belson and Katherine
2023-04-13   2023-04-14 snyder.html                                 Billion                                   Rosman                          TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/sports/t The WTA Returns to China Lifting Its
2023-04-13   2023-04-14 ennis/wta-china-peng-shuai.html             Suspension of Lucrative Tournaments       By Christopher Clarey           TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/theater/
                        television-review-cameron-darwin-
2023-04-13   2023-04-14 bossert.html                                TV Affiliate Making Do                    By Juan A Ramrez                TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/us/bob- Tech Consultant Arrested in the Killing Of By Sharon LaFraniere Shawn
2023-04-13   2023-04-14 lee-cash-app-killing.html                   Cash App Creator in San Francisco         Hubler and Thomas Fuller        TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/us/flori Florida Lawmakers Pass SixWeek Abortion By Patricia Mazzei David W Chen
2023-04-13   2023-04-14 da-six-week-abortion-ban.html               Ban One of Strictest in US                and Alexandra Glorioso          TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/13/us/polit Biden Plans to Expand Health Care Coverage
2023-04-13   2023-04-14 ics/biden-health-care-daca-immigrants.html For DACA Immigrants                          By Zolan KannoYoungs          TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/us/polit
                        ics/cia-torture-guantanamo-saudi-detainee-
2023-04-13   2023-04-14 nashiri.html                                Court Reenacts CIA Interrogation Tactics    By Carol Rosenberg            TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/us/polit
                        ics/clarence-thomas-harlan-crow-real-       Thomas Failed to Disclose Real Estate Deal
2023-04-13   2023-04-14 estate.html                                 With Conservative Texas Billionaire         By Abbie VanSickle            TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/us/polit In Florida DeSantis Allies Warn Not to Back
2023-04-13   2023-04-14 ics/desantis-trump-endorsements.html        Trump                                       By Jonathan Weisman           TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/13/us/polit Changes in Handling of Intelligence Helped By Helene Cooper Julian E Barnes
2023-04-13   2023-04-14 ics/documents-leak-security-clearance.html Set the Stage for Recent Leaks              and Eric Schmitt                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/us/polit Testimony Advances Federal Election Case
2023-04-13   2023-04-14 ics/donald-trump-investigation.html         Against ExPresident                        By Alan Feuer and Glenn Thrush TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/us/polit FBI Feared Lawmaker Was Target of Foreign
2023-04-13   2023-04-14 ics/fbi-darin-lahood.html                   Intelligence Operation                     By Charlie Savage                TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/13/us/polit Senators Are Ailing and the Senate Is
2023-04-13   2023-04-14 ics/senate-illnesses-mcconnell-feinstein.html Crawling                               By Carl Hulse and Annie Karni    TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/us/polit
                        ics/trump-bragg-district-attorneys-new-york- Trump Vows to Investigate Democratic
2023-04-13   2023-04-14 georgia.html                                  District Attorneys                     By Alan Feuer                    TX 9-292-487     2023-06-01




                                                                                Page 5097 of 5793
                        https://www.nytimes.com/2023/04/13/us/polit Once Shocking US Spying on Allies Draws
2023-04-13   2023-04-14 ics/us-spying-allies.html                   Only a Global Shrug                            By Michael Crowley                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/world/a How Putin Became a Hero By Permeating           By Elian Peltier Adam Satariano
2023-04-13   2023-04-14 frica/russia-africa-disinformation.html     African TV                                     and Lynsey Chutel                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/world/a 2 Arrested After Squirting Water at Hong
2023-04-13   2023-04-14 sia/hong-kong-songkran-water-arrests.html   Kong Police                                    By Tiffany May                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/world/a South Korean Actress 26 Is Found Dead in
2023-04-13   2023-04-14 sia/south-korea-jung-chae-yull-dead.html    Her Home                                     By Jin Yu Young                   TX 9-292-487     2023-06-01
                                                                                                                 By Haley Willis Thomas
                                                                                                                 GibbonsNeff Aric Toler Christiaan
                        https://www.nytimes.com/2023/04/13/world/d Airman Arrested By FBI Over Leak of Secrets Triebert Julian E Barnes and
2023-04-13   2023-04-14 ocuments-leak-leaker-identity.html            on War                                     Malachy Browne                    TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/world/e Addressing Irish Parliament Biden Thanks      By Michael D Shear and Katie
2023-04-13   2023-04-14 urope/biden-ireland-ukraine-speech.html       Nation for Backing Ukraine                 Rogers                            TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/world/e
                        urope/france-pension-protests-constitutional- Protests Continue in France as Pension Law
2023-04-13   2023-04-14 council.html                                  Nears Final Hurdle                         By Aurelien Breeden               TX 9-292-487     2023-06-01

                                                                                                                   By Aric Toler Christiaan Triebert
                        https://www.nytimes.com/2023/04/13/world/e                                                 Haley Willis Malachy Browne
2023-04-13   2023-04-14 urope/jack-teixeira-pentagon-leak.html     Love of Games and Guns in Forum                 Michael Schwirtz and Riley Mellen TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/world/e Northern Ireland Shows How Hard It Is to
2023-04-13   2023-04-14 urope/northern-ireland-peace-deal.html     End a Conflict                             By Amanda Taub                      TX 9-292-487      2023-06-01
                                                                                                              By Anton Troianovski Aric Toler
                        https://www.nytimes.com/2023/04/13/world/e Papers Portray Deep Divisions Over Ukraine Julian E Barnes Christiaan Triebert
2023-04-13   2023-04-14 urope/russia-intelligence-leaks.html       in the Kremlin                             and Malachy Browne                  TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/13/world/e Seeking Visibility Popes Commission on Sex
2023-04-13   2023-04-14 urope/vatican-sex-abuse-rome.html          Abuse Gets a New Home                      By Jason Horowitz                   TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/13/world/ After Shunning Assad for Years the Arab     By Vivian Nereim Raja
2023-04-13   2023-04-14 middleeast/assad-syria-middle-east.html    World Changes Its Tune                     Abdulrahim and Edward Wong          TX 9-292-487      2023-06-01

                        https://www.nytimes.com/2023/04/13/sports/b Nova to the Knicks Two College Buddies
2023-04-14   2023-04-14 asketball/knicks-playoffs-jalen-brunson.html Pursue Another Title                          By Tania Ganguli                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/theater/
2023-04-14   2023-04-14 review-camelot.html                            The Sword Is Still Stuck in the Stone       By Jesse Green                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/insider/
                        on-the-tiktok-beat-trends-dance-with-national-
2023-04-14   2023-04-14 security.html                                  Where Trends Dance With National Security   By Josh Ocampo                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/movies/
                        the-last-kingdom-seven-kings-must-die-
2023-04-14   2023-04-14 review.html                                    The Last Kingdom Seven Kings Must Die       By Robert Daniels                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/us/justi Following a Legacy of Resistance in            By Clyde McGrady Emily
2023-04-14   2023-04-14 n-pearson-justin-jones-tennessee.html          Tennessee                                   Cochrane and Jon Cherry           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/us/texa Voucher Movement Hits Obstacles in Rural
2023-04-14   2023-04-14 s-school-vouchers.html                         Texas                                       By J David Goodman                TX 9-292-487   2023-06-01



                                                                                 Page 5098 of 5793
                        https://www.nytimes.com/2023/04/14/world/e Germany Is Shutting Down Its Last 3 Nuclear By Melissa Eddy and Erika
2023-04-14   2023-04-14 urope/germany-nuclear-power-plants.html      Reactors                                  Solomon                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/03/                                           By Emily Badger and Larry
2023-03-11   2023-04-15 11/upshot/office-conversions.html            Heres How to Solve a 25Story Rubiks Cube Buchanan                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/travel/c
2023-04-01   2023-04-15 alifornia-arizona-spring-wildflowers.html    A Bumper Crop of Blooming Wildflowers     By Lauren Sloss                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/travel/c Enjoying a Leisurely Meal at 90 Miles an
2023-04-06   2023-04-15 entral-europe-trains-dining.html             Hour                                      By Evan Rail                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/09/books/ Mara Kodama 86 Who Protected The Legacy
2023-04-09   2023-04-15 maria-kodama-dead.html                       of a Titan of Literature                  By Neil Genzlinger              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/arts/kw Kwame Brathwaite 85 Photographer Who
2023-04-12   2023-04-15 ame-brathwaite-dead.html                     Made Black Beautiful Dies                 By Alex Williams                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/arts/tele
                        vision/waco-anniversary-netflix-             In Two New Series A National Tragedy Gets
2023-04-12   2023-04-15 showtime.html                                a Human Face                              By Chris Vognar                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/04/ Why the West Got Buried in Snow While the
2023-04-12   2023-04-15 12/us/snow-winter-2023.html                  East Got Little                           By Zach Levitt and Elena Shao   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/arts/tele
                        vision/the-last-thing-he-told-me-reese-
2023-04-13   2023-04-15 witherspoon.html                             Expansion of the Witherspoon TV Universe By Mike Hale                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/books/b Book Ban Battle Wont Close Texas County By David Montgomery and
2023-04-13   2023-04-15 ook-bans-libraries-texas-llano.html          Libraries                                 Alexandra Alter                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/movies/
2023-04-13   2023-04-15 cannes-film-festival-lineup-2023.html        Anderson and Haynes To Compete at Cannes By Alex Marshall                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/opinion Your Email Does Not Constitute My
2023-04-13   2023-04-15 /email-time-work-stress.html                 Emergency                                 By Adam Grant                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/science Ship Lifts Off To Research 3 Icy Moons Near
2023-04-13   2023-04-15 /juice-jupiter-launch-esa.html               Jupiter                                   By Jonathan OCallaghan          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/world/a North Korea Says It Launched a SolidFuel
2023-04-14   2023-04-15 sia/north-korea-missile-launch.html          ICBM for the First Time                   By Choe SangHun                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/arts/dan
                        ce/nina-ananiashvili-state-ballet-of-
2023-04-14   2023-04-15 georgia.html                                 Shes Putting Her Own Spin On a Master     By Gia Kourlas                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/arts/dan
                        ce/review-ayodele-casel-new-york-city-
2023-04-14   2023-04-15 center.html                                  Ayodele Casel Shares the Floor            By Siobhan Burke                TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/14/arts/dis
2023-04-14   2023-04-15 abled-people-streaming-performances.html    An Accessible Window May Soon Be Closing By Neelam Bohra and Wendy Lu      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/arts/ed Edward Koren 87 Whose Cartoon Creatures
2023-04-14   2023-04-15 ward-koren-dead.html                        Poked Fun at People Dies                 By Robert D McFadden              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/busines Killing of Entrepreneur Provokes Fierce
2023-04-14   2023-04-15 s/bob-lee-tech-reaction-san-francisco.html  Debate Over Policies on Crime            By Cade Metz and Ryan Mac         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/busines If Its Domestic and Electric Chinas Car
2023-04-14   2023-04-15 s/china-shanghai-auto-show.html             Buyers Want to Own It                    By Keith Bradsher                 TX 9-292-487   2023-06-01



                                                                               Page 5099 of 5793
                        https://www.nytimes.com/2023/04/14/busines Pressure Mounts on China To Offer Countries
2023-04-14   2023-04-15 s/economy/china-debt-relief.html            Relief                                       By Alan Rappeport             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/busines
                        s/economy/economy-jobs-inflation-           Economic Data May Be Hiding A Coming
2023-04-14   2023-04-15 recession.html                              Dip                                          By Ben Casselman              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/busines Largest US Banks Report Big Profits Despite By Rob Copeland and Stacy
2023-04-14   2023-04-15 s/jpmorgan-citi-wells-fargo-earnings.html   Turmoil                                      Cowley                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/health/ Study Shows A Racial Bias In Drug Tests At
2023-04-14   2023-04-15 black-mothers-pregnancy-drug-testing.html Hospitals                                      By Roni Caryn Rabin           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/movies/
2023-04-14   2023-04-15 the-popes-exorcist-review.html              Two Priests Walk Into a Genre MashUp         By Elisabeth Vincentelli      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/nyregio Mobsters Son Receives Life Sentence for
2023-04-14   2023-04-15 n/anthony-zottola-mobster-murder.html       Orchestrating Fathers Murder                 By Colin Moynihan             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/nyregio View of Neighborhood Divides Times Square
2023-04-14   2023-04-15 n/casino-times-square-opposition.html       Over Casino Proposal                         By Dana Rubinstein            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/opinion
                        /dominion-fox-news-supreme-court-           Finding Fox News Liable Will Be Hard and
2023-04-14   2023-04-15 sullivan.html                               Thats a Good Thing                           By Jeff Kosseff               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/opinion
2023-04-14   2023-04-15 /transgender-wisconsin-schools.html         Republicans Trans Panic Isnt Working         By Lydia Polgreen             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/science Medical Termination of Pregnancies Was        By Ruth Igielnik and Andrew
2023-04-14   2023-04-15 /mifepristone-abortion-polls.html           Little Known to Americans                    Fischer                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/sports/b
                        aseball/lauren-underwood-jackie-robinson-   Thousands of Students Carry the Legacy of
2023-04-14   2023-04-15 foundation.html                             No 42 Far Beyond the Ballpark                By David Waldstein            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/sports/b
2023-04-14   2023-04-15 asketball/dallas-mavericks-fined.html       NBA Fines Dallas 750000 for Tanking          By Victor Mather              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/sports/b
                        asketball/miles-bridges-suspended-domestic- Hornets Player Is Suspended After Domestic
2023-04-14   2023-04-15 violence-charlotte-hornets.html             Violence Plea                                By Sopan Deb                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/sports/b Its That Sweet Spot Where Everything Is Hard
2023-04-14   2023-04-15 oston-marathon-desiree-linden.html          and You Go On                                By Matthew Futterman          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/sports/f
                        ootball/daniel-snyder-washington-           Snyder Finally Gives Fans What They Want
2023-04-14   2023-04-15 commanders.html                             His Exit                                     By Jenny Vrentas              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/sports/k You Can Run as Fast As the Worlds Fastest
2023-04-14   2023-04-15 ipchoge-boston-marathon-pace.html           For Maybe 20 Seconds                         By Scott Cacciola             TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/14/sports/s The Secret Behind the Premier Leagues
2023-04-14   2023-04-15 occer/brighton-chelsea-premier-league.html Smartest Team                                Tariq Panja                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/technol Lawmakers in Montana Become First in the
2023-04-14   2023-04-15 ogy/montana-tiktok-ban-passed.html          US to Approve a Ban of TikTok               By David McCabe                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/theater/
2023-04-14   2023-04-15 phantom-of-the-opera-closing-fans.html      Record Run Is at an End                     By Michael Paulson             TX 9-292-487   2023-06-01




                                                                                Page 5100 of 5793
                        https://www.nytimes.com/2023/04/14/theater/ Embracing A Spectacle Big Feelings And      By Joshua Barone Alexis Soloski
2023-04-14   2023-04-15 the-phantom-of-the-opera-legacy-critics.html Chills                                     and Elisabeth Vincentelli         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/us/desa In Pitch to Young Evangelicals a PlainSpoken
2023-04-14   2023-04-15 ntis-evangelicals-2024-election.html         Vow to Wage a War on Woke                  By Ruth Graham                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/us/polit A Dilemma for DeSantis How to Appeal to
2023-04-14   2023-04-15 ics/desantis-trump-republican-voters.html    Voters Evenly Split Over Trump             By Michael C Bender               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/us/polit Sweeping New Charges Brought Against El By Benjamin Weiser and Alan
2023-04-14   2023-04-15 ics/el-chapo-sons-fentanyl-charges.html      Chapos Sons in Fentanyl Indictments        Feuer                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/us/polit
                        ics/jack-teixeira-classified-documents-      Suspect In Leaks Faces 2 Charges Over
2023-04-14   2023-04-15 leak.html                                    Documents                                  By Michael Crowley                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/us/polit
                        ics/jared-bernstein-council-of-economic-     Top Economists From GOP Show Support
2023-04-14   2023-04-15 advisers.html                                For Biden Pick                             By Jim Tankersley                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/us/polit Pompeo Wont Seek the GOP Nomination for
2023-04-14   2023-04-15 ics/mike-pompeo-president-2024.html          President                                  By Maggie Astor                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/14/us/polit Facing Tough Race Montana Republicans Try
2023-04-14   2023-04-15 ics/montana-election-bill-senate-tester.html to Change the Rules                       By Nick Corasaniti              TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/14/us/polit 2024 GOP Hopefuls Embrace Gun Politics at
2023-04-14   2023-04-15 ics/nra-guns-republicans-2024.html           an NRA Event                              By Katie Glueck                 TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/14/us/polit Alito Preserves Access Briefly To Abortion
2023-04-14   2023-04-15 ics/supreme-court-abortion-pill.html         Pill                                      By Adam Liptak                  TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/14/us/supr Court Ruling Smooths Path To Challenge
2023-04-14   2023-04-15 eme-court-administrative-state.html          Agency Power                              By Adam Liptak                  TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/14/world/e In Ireland Biden Is Statesman and Family    By Katie Rogers and Michael D
2023-04-14   2023-04-15 urope/biden-ireland-ancestry.html            Historian Calling for Hope and Courage    Shear                           TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/14/world/e Surviving the Meltdown and a Russian
2023-04-14   2023-04-15 urope/chernobyl-russia-ukraine-war.html      Invasion                                  By Marc Santora and Emile Ducke TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/14/world/e A Former Parisian Finds Her Goats
2023-04-14   2023-04-15 urope/france-goats-vineyards.html            Enchanting Her Neighbors Dont             By Catherine Porter             TX 9-292-487      2023-06-01

                        https://www.nytimes.com/2023/04/14/world/e As French Continue to Seethe Macrons
2023-04-14   2023-04-15 urope/macron-pension-retirement-ruling.html Pension Plan Clears Key Legal Test            By Aurelien Breeden             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/world/e
                        urope/northern-ireland-schools-good-friday- Peace Endures in Belfast but the School Day   By Megan Specia and Andrew
2023-04-14   2023-04-15 agreement.html                              Is Still Deeply Divided                       Testa                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/your-
2023-04-14   2023-04-15 money/funeral-homes-prices-online.html      Funeral Homes May Soon Put Prices Online      By Ann Carrns                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/article/bud-light-
2023-04-14   2023-04-15 boycott.html                                Illuminating A Bud Light Controversy          By Amanda Holpuch               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/article/dan-snyder- A Timeline of Snyders Tumultuous
2023-04-14   2023-04-15 washington-commanders-key-moments.html Washington Commanders Tenure                       By Kris Rhim and Ken Belson     TX 9-292-487   2023-06-01




                                                                                 Page 5101 of 5793
                        https://www.nytimes.com/2023/04/14/nyregio Governor Paid 2 Million For Help on Her
2023-04-15   2023-04-15 n/hochul-consultants-state-of-state.html    Speeches                                     By Nicholas Fandos and Jay Root   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/sports/b Kemp Faces Assault Count In Shooting Last
2023-04-15   2023-04-15 asketball/shawn-kemp-shooting.html          Month                                        By Tania Ganguli                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/us/miss Missouri Places Restrictions On Transgender
2023-04-15   2023-04-15 ouri-transgender-health-care.html           Treatments                                   By David W Chen                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/us/polit Biden Says He Will Announce 2024 Plans
2023-04-15   2023-04-15 ics/biden-2024-campaign.html                Relatively Soon                              By Maggie Astor                   TX 9-292-487   2023-06-01
                                                                                                                 By Michael C Bender Eric Lipton
                        https://www.nytimes.com/2023/04/14/us/polit New Disclosure Offers Glimpse at Trumps      Matthew Goldstein and Ken
2023-04-15   2023-04-15 ics/trump-personal-financial-disclosure.html PostPresidency Dealings                     Bensinger                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/world/a Lula and Xi Meet in China With Ukraine a
2023-04-15   2023-04-15 sia/brazil-china-russia-ukraine.html           Focal Point                            By Keith Bradsher                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/nyregio Plan to Create Habitat Destroys Tract of
2023-04-15   2023-04-15 n/new-jersey-destroyed-bird-habitat.html       Forest                                 By Christopher Maag                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/world/ Religious Pop Star Singing of Faith Moves
2023-04-15   2023-04-15 middleeast/israel-music-ishay-ribo.html        Secular Israel                         By Patrick Kingsley                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/your- Looking for College Data Parents Built These
2023-04-15   2023-04-15 money/college-cost-data-tools.html             Tools                                  By Ron Lieber                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/02/04/books/r
                        eview/michael-walzer-struggle-for-decent-
2023-02-04   2023-04-16 politics.html                                  Unpack Your Adjectives                 By James Traub                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/02/07/books/r
2023-02-07   2023-04-16 eview/bryce-andrews-holding-fire.html          Heavy Weapon                           By Bill Heavey                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/02/12/books/r
                        eview/the-american-way-helene-stapinski-
2023-02-12   2023-04-16 bonnie-siegler.html                            Living the Dream                       By Julie Klam                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/02/14/books/r
2023-02-14   2023-04-16 eview/the-laughter-sonora-jha.html             Academic Probation                     By Rafael Frumkin                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/07/books/r
2023-03-07   2023-04-16 eview/jenny-odell-saving-time.html             Tick Tock                              By Tatiana Schlossberg               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/13/books/r
                        eview/brother-sister-enter-the-forest-richard-
2023-03-13   2023-04-16 mirabella.html                                 Family Reunion                         By Christopher Bollen                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/21/books/r
                        eview/benjamin-banneker-and-us-rachel-
2023-03-21   2023-04-16 jamison-webster.html                           A Book of Life                         By Jess Row                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/21/books/r
2023-03-21   2023-04-16 eview/flux-jinwoo-chong.html                   Time Jump                              By Laird Hunt                        TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/24/books/r
2023-03-24   2023-04-16 eview/romantic-comedy-curtis-sittenfeld.html Happily Ever After or Not                   By Scaachi Koul                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/movies/
2023-03-28   2023-04-16 ari-aster-beau-is-afraid-midsommar.html      Humor Creeps Through the Horror             By Joshua Rothkopf                TX 9-292-487   2023-06-01




                                                                                Page 5102 of 5793
                        https://www.nytimes.com/2023/03/29/books/r
2023-03-29   2023-04-16 eview/humanly-possible-sarah-bakewell.html Oh the Humanity                               By Jennifer Szalai                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/arts/tele
2023-04-03   2023-04-16 vision/hot-ones-youtube-show.html            Still Winging It 300 Episodes Later         By Maya Salam                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/03/nyregio
2023-04-03   2023-04-16 n/jasmine-porter-murder-bronx.html           With New Eyes a Cold Case Is Reopened       By Chelsia Rose Marcius            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/books/r
                        eview/angie-thomas-nic-blake-and-the-
2023-04-04   2023-04-16 remarkables-the-manifestor-prophecy.html     The Gift to Be Free                         By Veronica Chambers               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/books/r
2023-04-04   2023-04-16 eview/spoken-word-joshua-bennett.html        Open Mic                                    By Tas Tobey                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/books/r
                        eview/the-peking-express-james-
2023-04-04   2023-04-16 zimmerman.html                               The Great Train Robbery                     By Paul Theroux                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/books/r
2023-04-06   2023-04-16 eview/the-longest-race-kara-goucher.html     Inside the List                             By Elisabeth Egan                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/style/la Ready or Not Were Going to Have a Wedding
2023-04-06   2023-04-16 st-minute-weddings.html                      Now                                         By Alix Strauss                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/08/arts/mu
2023-04-08   2023-04-16 sic/ann-margret-born-to-be-wild.html         Its AnnMargrets Rock n Roll Dream           By Jim Farber                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/arts/mu
                        sic/jascha-heifetz-attacked-in-jerusalem-in-
2023-04-10   2023-04-16 1953.html                                    Mystery Wrapped Around a Violin Sonata      By Sarah Weinman                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/arts/tele
2023-04-10   2023-04-16 vision/sherri-shepherd.html                  Sherri Shepherd Is Skating Through Life     By Kathryn Shattuck                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/opinion
2023-04-10   2023-04-16 /trump-feud-ron-desantis.html                The DeSantis Model                          By Sam AdlerBell                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/realesta
                        te/renters-upper-west-side-facebook-         Finding the Perfect Apartment Through
2023-04-10   2023-04-16 instagram.html                               Algorithm                                   By DW Gibson                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/style/ca
2023-04-10   2023-04-16 rs-touch-screens.html                        Is That a TV on the Dashboard               By Lawrence Ulrich                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/arts/tele
                        vision/the-marvelous-mrs-maisel-final-
2023-04-11   2023-04-16 season.html                                  Marvelous Mrs Maisel Takes Its Final Curtsy By Alexis Soloski and Heather Sten TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/magazi
2023-04-11   2023-04-16 ne/air-movie-blackberry-cheetos.html         The Thing                                   By Zachary Siegel                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/magazi
2023-04-11   2023-04-16 ne/dogsitting-rich-new-york.html             Dogsitting                                  By Amy X Wang                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/magazi
2023-04-11   2023-04-16 ne/return-to-office-consultants.html         Meet the Office Whisperers                  By Emma Goldberg                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/nyregio Punching Through the Hidden and the
2023-04-11   2023-04-16 n/emile-griffith-boxer-champion.html         Haunting                                    By Corey Kilgannon                 TX 9-292-487   2023-06-01




                                                                                Page 5103 of 5793
                        https://www.nytimes.com/2023/04/11/nyregio                                             By Tammy La Gorce and Michelle
2023-04-11   2023-04-16 n/geese-control-border-collies.html         Wild Goose Chases Are His Specialty        Gustafson                      TX 9-292-487           2023-06-01
                        https://www.nytimes.com/2023/04/11/realesta
                        te/jamila-norman-homegrown-urban-
2023-04-11   2023-04-16 farming.html                                Recycling Offers Plenty of Room for Growth By Joanne Kaufman              TX 9-292-487           2023-06-01
                        https://www.nytimes.com/2023/04/11/realesta
2023-04-11   2023-04-16 te/spring-cleaning-tradition.html           The Enduring Rite of Spring                By Derrick Bryson Taylor       TX 9-292-487           2023-06-01
                        https://www.nytimes.com/2023/04/11/style/le
2023-04-11   2023-04-16 e-tilghman-influencer.html                  Shining Bright and Then Burning Out Online By Mattie Kahn                 TX 9-292-487           2023-06-01

                        https://www.nytimes.com/2023/04/11/theater/
2023-04-11   2023-04-16 sean-hayes-good-night-oscar-broadway.html Sean Hayes Mines His Piano Past                 By Dave Itzkoff                     TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/12/arts/tele
2023-04-12   2023-04-16 vision/love-is-blind-netflix-reality-show.html Inside the HopeFilled Pods of Love Is Blind By Julia Jacobs and Matt Stevens   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/magazi
2023-04-12   2023-04-16 ne/flexible-work-home.html                     You Call This Flexible Work                 By Fred Turner                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/magazi Playing the Hits Spinach herbs and feta come
2023-04-12   2023-04-16 ne/spinach-herbs-feta-recipe.html              together in classic Ottolenghi style        By Yotam Ottolenghi                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/realesta
                        te/800000-homes-in-idaho-texas-and-
2023-04-12   2023-04-16 oregon.html                                    800000 Homes in Idaho Texas and Oregon      By Angela Serratore                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/realesta A Town With a Familiar Name and a Homey
2023-04-12   2023-04-16 te/affordable-housing-springfield-nj.html      Vibe                                        By Kathleen Lynn                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/realesta
2023-04-12   2023-04-16 te/pineapple-lily-plant.html                   Oh the Leaves on Those Pineapple Lilies     By Margaret Roach                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/style/e Emo Prom Was Open to All No Slow
2023-04-12   2023-04-16 mo-prom-brooklyn.html                          Dancing Required                            By Callie Holtermann               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/style/m
2023-04-12   2023-04-16 ood-board-world.html                           Its Your World And Welcome to It            By Eve Peyser                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/style/m
                        y-husband-is-obese-can-i-refuse-to-buy-him-
2023-04-12   2023-04-16 fattening-snacks.html                          Junk Food Quandary                          By Philip Galanes                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/theater/
2023-04-12   2023-04-16 jodie-comer-prima-facie-killing-eve.html       In Her First Stage Role Flying Solo         By Alexis Soloski                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/us/stud Its Rock Science Fifth Grader Spots Error in
2023-04-12   2023-04-16 ent-textbook-mistake.html                      Textbook                                    By Amanda Holpuch                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/world/a A Panda Homecoming Said to Be Long              By Tiffany May and Christine
2023-04-12   2023-04-16 sia/panda-china-memphis-zoo-ya-ya.html         Overdue By Worried Activists                Hauser                             TX 9-292-487   2023-06-01

                        https://www.nytimes.com/interactive/2023/04/
2023-04-12   2023-04-16 12/magazine/flexible-work-remote-jobs.html What Do People Do All Day                      By Malia Wollan                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/arts/dan
2023-04-13   2023-04-16 ce/miguel-gutierrez.html                     An Artist Of Ordered Excess                  By Siobhan Burke                    TX 9-292-487   2023-06-01




                                                                                  Page 5104 of 5793
                        https://www.nytimes.com/2023/04/13/arts/dan Pierre Lacotte 91 Dancer Historian and
2023-04-13   2023-04-16 ce/pierre-lacotte-dead.html                  Choreographer Who Helped Nureyev Defect By Neil Genzlinger                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/arts/leo Leonard Abrams 68 Chronicler Of 1980s Art
2023-04-13   2023-04-16 nard-abrams-dead.html                        Explosion Is Dead                          By Alex Williams                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/magazi
2023-04-13   2023-04-16 ne/gig-jobs-apps.html                        WhenYour Boss Is an App                    By Lauren Hilgers                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/magazi
                        ne/judge-john-hodgman-cheating-pub-          Bonus Advice From Judge John Hodgman
2023-04-13   2023-04-16 trivia.html                                  Illustration by Louise Zergaeng Pomeroy    By John Hodgman                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/magazi
2023-04-13   2023-04-16 ne/poem-on-jasmine.html                      Poem On Jasmine                            By Verity Spott and Anne Boyer   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/nyregio I Really Do Believe That Safety Is a Civil
2023-04-13   2023-04-16 n/damian-williams-southern-district.html     Right                                      By Benjamin Weiser               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/nyregio As Office Market Craters Support for Plan to By Matthew Haag and Stefanos
2023-04-13   2023-04-16 n/midtown-offices-penn-station.html          Remake Penn Station Withers                Chen                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/realesta
2023-04-13   2023-04-16 te/most-popular-neighborhoods-us.html        What We Can Learn From Zillow              By Michael Kolomatsky            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/sports/b
                        asketball/michael-jordan-retirement-         It Turns Out That Jordan Was an Activist
2023-04-13   2023-04-16 activism.html                                After All                                  By Harvey Araton                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/style/la-
2023-04-13   2023-04-16 children-parties.html                        How Much for Out of This World             By Molly Creeden                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/technol
                        ogy/heritage-auctions-vintage-
2023-04-13   2023-04-16 videocassettes.html                          What Wont People Buy In a Bid For the Past By David Streitfeld              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/travel/v Visa Backlog Makes Wait To Visit US Even
2023-04-13   2023-04-16 isa-mexico-brazil-colombia-india.html        Longer                                     By Saurabh Datar                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/04/
                        13/realestate/three-bedroom-house-           Exploring the Lakes of Minneapolis With
2023-04-13   2023-04-16 minneapolis.html                             350000 Could She Afford Three Bedrooms By Mitch Smith                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/arts/des
                        ign/peter-halley-day-glo-color-80s-
2023-04-14   2023-04-16 karma.html                                   Peter Halleys DayGlo 80s Show              By Max Lakin                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/books/r
2023-04-14   2023-04-16 eview/gavriel-savit-come-see-the-fair.html   A Medium and Her Message                   By Laurel Snyder                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/books/r
                        eview/science-fiction-fantasy-books-fawcett-
2023-04-14   2023-04-16 utomi-carey.html                             No Tongues to Speak                        By Amal ElMohtar                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/busines Despite Odds Stock Pickers Couldnt Beat the
2023-04-14   2023-04-16 s/stock-market-2022.html                     Market                                     By Jeff Sommer                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/nyregio The Valuable Message Behind Laws Against
2023-04-14   2023-04-16 n/body-shaming-discrimination-ny.html        Body Shaming                               By Ginia Bellafante              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/opinion
2023-04-14   2023-04-16 /china-america-relationship.html             What Are America and China Fighting About By Thomas L Friedman              TX 9-292-487   2023-06-01



                                                                                Page 5105 of 5793
                        https://www.nytimes.com/2023/04/14/opinion
                        /editorials/clarence-thomas-trips-supreme-  The Highest Court Has the Governments
2023-04-14   2023-04-16 court.html                                  Lowest Ethical Standards                    By The Editorial Board               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/opinion
                        /harlan-crow-clarence-thomas-gifts-
2023-04-14   2023-04-16 collections.html                            Not Just Another Billionaire                By Jamelle Bouie                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/realesta
                        te/apartment-design-aesthetic-tiktok-       Apartment Rehabs That Rake In the Likes and
2023-04-14   2023-04-16 instagram.html                              the Cash                                    By Victoria M Walker                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/realesta
2023-04-14   2023-04-16 te/slow-spring-cleaning.html                A Gentler Alternative to Spring Cleaning    By Daisy Jones                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/sports/s Everyone Wants to Fix Soccer No One Agrees
2023-04-14   2023-04-16 occer/soccer-rules.html                     How                                         By Rory Smith                        TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/14/style/ki
2023-04-14   2023-04-16 a-zalewski-michael-sin-suarez-wedding.html A Knowledge of Grease 2 Couldnt Hurt         By Ivy Manners                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/style/kit When the Kitten Lady Met the Cat
2023-04-14   2023-04-16 ten-lady-cat-photographer-wedding.html         Photographer                             By Shannon Sims                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/style/lu
2023-04-14   2023-04-16 cinda-williams-memoir.html                     Lucinda Williams Shares Tales and Fears  By Penelope Green                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/style/mi She Proposed a New Act as Broadway
2023-04-14   2023-04-16 cki-abraham-alex-grayson-wedding.html          Shuttered                                By Tammy La Gorce                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/style/m
                        odern-love-narcissist-how-to-fall-out-of-love-
2023-04-14   2023-04-16 with-yourself.html                             A New Outlook Leads to a Change of Heart By Adam Fletcher                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/style/su
                        lwhasoo-korean-beauty-metropolitan-            A Partnership Rooted in Beauty Ephemeral
2023-04-14   2023-04-16 museum.html                                    and Eternal                              By Thessaly La Force                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/style/ta Setting the Right Mood With Help From
2023-04-14   2023-04-16 ylor-swift-eras-wedding.html                   Taylor Swift                             By Shannon Sims                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/world/a Billy Waugh 93 Unparalleled Godfather of the
2023-04-14   2023-04-16 sia/billy-waugh-dead.html                      Green Berets Dies                        By Richard Sandomir                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/interactive/2023/04/ How Electrifying Everything Became a Key       By Nadja Popovich and Brad
2023-04-14   2023-04-16 14/climate/electric-car-heater-everything.html Climate Solution                             Plumer                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/us/phila Thieves in Philadelphia Didnt Take a Dime
2023-04-15   2023-04-16 delphia-dimes-stolen-truck.html                They Took 2 Million of Them                  By Eduardo Medina                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/world/a
                        sia/japan-prime-minister-blast-fumio-          Blast Forces Japan Leader To Evacuate Site   By Motoko Rich Hikari Hida and
2023-04-15   2023-04-16 kishida.html                                   of Speech                                    Mike Ives                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/busines Is Israeli Public Television The Rights Next
2023-04-15   2023-04-16 s/israel-government-public-television.html     Target                                       By David Segal                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/busines Announcing the End of Faking It in Silicon
2023-04-15   2023-04-16 s/silicon-valley-fraud.html                    Valley                                       By Erin Griffith                 TX 9-292-487   2023-06-01




                                                                                  Page 5106 of 5793
                        https://www.nytimes.com/2023/04/15/insider/
2023-04-15   2023-04-16 the-phantom-of-the-opera-employees.html     Phantom Will Go On in Their Memories        By Sarah Bahr                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/nyregio
2023-04-15   2023-04-16 n/hochul-budget-director-investigation.html Budget Chiefs Exit Prompts an Inquiry       By Jay Root                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/nyregio
2023-04-15   2023-04-16 n/shoplifting-arrests-nyc.html              Sticky Fingers 327 Shoplifters 6000 Arrests By Hurubie Meko                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/opinion
2023-04-15   2023-04-16 /desantis-2024.html                         Why DeSantis Has to Run Next Year           By Ross Douthat                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/opinion
2023-04-15   2023-04-16 /fox-news-dominion-murdoch.html             When the Mad Lead the Blind                 By Maureen Dowd                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/opinion What a Girls Goat Teaches Us About Our
2023-04-15   2023-04-16 /goat-girl-slaughtered-california.html      Food                                        By Nicholas Kristof              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/realesta
                        te/my-landlord-lives-below-me-and-hates-    My Landlord Lives Beneath Me And Hates
2023-04-15   2023-04-16 noise-what-should-i-do.html                 Noise What Should I Do                      By Anna Kod                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/us/frien 10 Years After Bombing Wrestling With
2023-04-15   2023-04-16 d-boston-marathon-bomber.html               Betrayal                                    By Jenna Russell                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/us/jack- A National Guard Airman With Limited        By Dave Philipps Jenna Russell
2023-04-15   2023-04-16 teixeira-pentagon-leak.html                 Responsibilities and a Lot of Access        Jacey Fortin and Haley Willis    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/us/mich 1 Dead and Others Sickened From Fungus at
2023-04-15   2023-04-16 igan-mill-blastomycosis-fungus.html         Paper Mill                                  By Remy Tumin                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/us/polit
                        ics/glenn-youngkin-2024-presidential-       Virginias Youngkin Puts Potential 2024
2023-04-15   2023-04-16 run.html                                    Presidential Campaign on Hold               By Trip Gabriel                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/us/polit Onetime Model Is Sentenced For Jan 6 Attack
2023-04-15   2023-04-16 ics/romance-novel-model-jan-6.html          on Officers                                 By Eduardo Medina                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/us/polit
2023-04-15   2023-04-16 ics/tim-scott-president-2024.html           Eyeing 24 Scott Tries Positivity With GOP   By Maya King                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/world/a
2023-04-15   2023-04-16 frica/khartoum-sudan-fighting.html          Generals Feud Sets Off Battles Around Sudan By Declan Walsh                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/world/a
                        sia/why-chinas-leader-hasnt-called-the-     China Leaves Ukraine Wondering Do They
2023-04-15   2023-04-16 president-of-ukraine.html                   Still Have a Relationship                   By Vivian Wang                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/world/e                                              By Anton Troianovski Andrew E
                        urope/pentagon-document-leaks-ukraine-                                                  Kramer Erika Solomon and Eric
2023-04-15   2023-04-16 war.html                                    Leaked Intel Altered Little In Strategies   Schmitt                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/world/e A Media Backlash in Poland Set Off by a
2023-04-15   2023-04-16 urope/poland-suicide-radio-szczecin.html    Suicide                                     By Andrew Higgins                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/world/e Death Toll From Russian Attack on Orthodox
2023-04-15   2023-04-16 urope/ukraine-russia-war-sloviansk.html     Good Friday Climbs to 11                    By Matthew Mpoke Bigg            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/world/
                        middleeast/orthodox-easter-holy-            A Monastery Where Calm Is Not a Given
2023-04-15   2023-04-16 sepulcher.html                              Even at Easter                              By Hiba Yazbek                   TX 9-292-487   2023-06-01




                                                                               Page 5107 of 5793
                        https://www.nytimes.com/interactive/2023/04/
                        15/sports/boston-marathon-bombing-           The Meaning of the Boston Marathon Finish   By Talya Minsberg and Matthew
2023-04-15   2023-04-16 finish.html                                  Line Then and Now                           Futterman                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/nyregio Santos Received 5300 in Donations and         By Grace Ashford and Michael
2023-04-16   2023-04-16 n/george-santos-campaign-donations.html      Reports Refunding More                      Gold                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/busines Trying to Save for a Down Payment And
2023-04-16   2023-04-16 s/retirement-mortgage-down-payment.html      Retirement at the Same Time                 By Lisa Rabasca Roepe           TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/16/busines
2023-04-16   2023-04-16 s/roxane-gay-work-advice-office-crush.html When Cupids Arrow Strikes Dont Panic          By Roxane Gay                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/busines
                        s/the-week-in-business-inflation-
2023-04-16   2023-04-16 economy.html                                The Week in Business Moderating Inflation    By Marie Solis                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/nyregio
2023-04-16   2023-04-16 n/literie-candle-nyc.html                   A Candle Seller Sniffs Out Inspiration       By Alix Strauss                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/reader-
2023-04-16   2023-04-16 center/nyt-front-page-proposal.html         A FrontPage Proposal                         By David W Dunlap               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/sports/b
                        asketball/denver-nuggets-playoffs-          The Best Franchise Never to Win a
2023-04-16   2023-04-16 history.html                                Championship Tries Again                     By John Branch                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/style/co A Beauty Treatment Promised to Zap Fat It
2023-04-16   2023-04-16 olsculpting-side-effect-risks.html          Left Some Disfigured                         By Anna Kod                     TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/16/us/polit How Transgender Issues Became A New         By Adam Nagourney and Jeremy W
2023-04-16   2023-04-16 ics/transgender-conservative-campaign.html Rallying Cry for the Right                   Peters                         TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/16/us/scie Kids Cant Read and the Education
2023-04-16   2023-04-16 nce-of-reading-literacy-parents.html        Establishment Faces a Revolt                By Sarah Mervosh               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/16/world/
                        middleeast/turkey-elections-erdogan-        Turkish Opposition Leader Positions Himself By Ben Hubbard and Gulsin
2023-04-16   2023-04-16 kilicdaroglu.html                           as Erdogans Polar Opposite                  Harman                         TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/12/books/d
2023-04-12   2023-04-17 avid-grann-the-wager.html                   Shipwreck Survival And a Quest for Truth    By Alexandra Alter             TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/12/busines Gourmet Dog Foods Perk Up Ears Of
2023-04-12   2023-04-17 s/human-grade-dog-food.html                 Humans but Will Fido Dig In                 By Julie Creswell              TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/12/dining/
                        appointment-trader-nyc-restaurant-          This Website Can Snag Exclusive
2023-04-12   2023-04-17 reservations.html                           Reservations for a Price                    By Christina Morales           TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/12/opinion
                        /international-world/singapore-autocracy-
2023-04-12   2023-04-17 democracy.html                              Lessons on Leadership From Singapore        By Farah Stockman              TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/12/world/e Companies In Germany Strengthen Ties to
2023-04-12   2023-04-17 urope/germany-china-trade.html              China                                       By Melissa Eddy                TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/13/arts/rac Rachel Pollack 77 Writer And Transgender
2023-04-13   2023-04-17 hel-pollack-dead.html                       Activist Who Made Comic Heroine             By George Gene Gustines        TX 9-292-487     2023-06-01




                                                                                Page 5108 of 5793
                        https://www.nytimes.com/2023/04/13/theater/
                        hamnet-review-royal-shakespeare-
2023-04-13   2023-04-17 comapny.html                                 Putting Shakespeare In a Domestic Light     By Houman Barekat                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/us/polit
                        ics/silicon-valley-bank-widespread-          Silicon Valley Bank Collapse Could Have Set
2023-04-13   2023-04-17 failure.html                                 Off Cascading Series of Failures            By Jim Tankersley                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/arts/dan
                        ce/review-gregory-maqoma-cion-joyce-
2023-04-14   2023-04-17 theater.html                                 Grief and Mourning Delivered With Vitality By Roslyn Sulcas                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/arts/des
                        ign/asia-society-prophet-muhammad-
2023-04-14   2023-04-17 images.html                                  Museum Will Stop Blurring Image             By Zachary Small                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/movies/
                        how-to-blow-up-a-pipeline-behind-the-
2023-04-14   2023-04-17 scenes.html                                  An Action Louder Than Words                 By Nicolas Rapold                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/nyregio
2023-04-14   2023-04-17 n/new-york-city-rats.html                    Dear Rat Czar Of New York Hear Our Eeks By Dodai Stewart                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/theater/ Keith Johnstone 90 Who Championed Truth
2023-04-14   2023-04-17 keith-johnstone-dead.html                    on the Stage via Improvisation              By Neil Genzlinger                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/busines
                        s/dealbook/artificial-intelligence-          In an AI Era the Stakes Are High for Rules  By Ephrat Livni Lauren Hirsch and
2023-04-15   2023-04-17 copyright.html                               Regarding Intellectual Property             Sarah Kessler                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/sports/b From Suburbs to Fenway The Ups the Downs
2023-04-15   2023-04-17 oston-marathon-route-map.html                And That Citgo Sign                         By Matthew Futterman              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/style/he Hedda Kleinfeld Schachter 99 Who Made
2023-04-15   2023-04-17 dda-kleinfeld-schachter-dead.html            Brides Dreams Come True Dies                By Penelope Green                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/us/tulsa-
2023-04-15   2023-04-17 race-massacre-murders-dna.html               In Tulsa Clues to Massacre Victims Emerge By Lauren McCarthy                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/arts/des
                        ign/lauren-halsey-met-roof-garden-
2023-04-16   2023-04-17 monument.html                                Up on the Roof an Afrofuturist Temple       By Holland Cotter                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/arts/mu
                        sic/andras-schiff-new-york-philharmonic-
2023-04-16   2023-04-17 review.html                                  Artist in Residence Wears Two Hats          By Joshua Barone                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/busines Edward H Meyer Who Built an Ad Agency
2023-04-16   2023-04-17 s/edward-h-meyer-dead.html                   Into an Empire Dies at 96                   By Alex Williams                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/busines
2023-04-16   2023-04-17 s/media/fox-news-dominion-trial.html         Fox News Goes on Trial For Falsities        By Jeremy W Peters                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/crossw
2023-04-16   2023-04-17 ords/daily-puzzle-2023-04-17.html            A Crossword Puzzle With Something to Say By Deb Amlen                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/opinion
                        /free-speech-campus-universities-promising- There Are Promising Signs for Free Speech
2023-04-16   2023-04-17 news.html                                    on Campuses                                 By David French                   TX 9-292-487   2023-06-01




                                                                                Page 5109 of 5793
                        https://www.nytimes.com/2023/04/16/opinion
                        /second-and-third-generation-storytellers-are-
2023-04-16   2023-04-17 telling-the-story-of-the-holocaust-now.html A New Generation of Holocaust Storytellers   By Daphne Kalotay           TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/16/sports/b Humans and Canines Alike Gather In Tribute
2023-04-16   2023-04-17 oston-marathon-dog-spencer-retrievers.html to the Therapy Dog of Mile 3                By Talya Minsberg             TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/16/sports/h One Way for a WorldClass Racer to Speed Up By Talya Minsberg and Scott
2023-04-16   2023-04-17 ellen-obiri-boston-marathon.html            Slow Down                                  Cacciola                      TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/16/sports/o Hes Built for Speed and Facing a Course
2023-04-16   2023-04-17 lympics/eliud-kipchoge-boston-marathon.html Thats Famous for Sapping It                  By Matthew Futterman        TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/16/technol
2023-04-16   2023-04-17 ogy/google-search-engine-ai.html            Googles Fight To Stay Ahead Of Bings AI      By Nico Grant               TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/16/us/birth Shooting at 16th Birthday Party Leaves at  By Amanda Holpuch and Claire
2023-04-16   2023-04-17 day-party-shooting-dadeville-alabama.html Least 4 Dead in Alabama                      Fahy                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/us/lake- A CenturyOld Mystery Of a Lost Lumber
2023-04-16   2023-04-17 superior-shipwrecks.html                     Fleet Surfaces From Superior              By Remy Tumin                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/us/polit How Jordan a Trump Ally Wrestled His Way
2023-04-16   2023-04-17 ics/jim-jordan-trump.html                    to Power                                  By Luke Broadwater             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/us/shoo 2 Are Killed and 4 Injured In Another
2023-04-16   2023-04-17 ting-louisville-park.html                    Louisville Attack                         By Eduardo Medina              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/us/supe
2023-04-16   2023-04-17 rbloom-california.html                       From Heavy Showers to Awash in Flowers    By Jill Cowan                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/us/supr
                        eme-court-religious-freedom-postal-          Deliveries on Sabbath Supreme Court to
2023-04-16   2023-04-17 worker.html                                  Weigh A Postal Workers Plaint             By Adam Liptak                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/world/a In Sudan Dream Of a Democracy Becomes       By Declan Walsh and Abdi Latif
2023-04-16   2023-04-17 frica/sudan-civil-war-khartoum.html          Dimmer                                    Dahir                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/world/a Killing on Live TV Renews Alarm in India    By Mujib Mashal Hari Kumar and
2023-04-16   2023-04-17 sia/atiq-ahmed-shot-india.html               Over Slide Toward Extrajudicial Violence  Sameer Yasir                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/world/a
2023-04-16   2023-04-17 sia/japan-shodoshima-yokai.html              Putting A Face On What Spooks You         By Motoko Rich and Hikari Hida TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/world/e
                        urope/16-ukraine-kyiv-easter-celebrations-   Under the Shadow of War Kyiv Celebrates   By Brendan Hoffman and Matthew
2023-04-16   2023-04-17 war.html                                     Orthodox Easter Traditions                Mpoke Bigg                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/world/e
                        urope/hungary-poland-grain-imports-                                                    By Matthew Mpoke Bigg Vivek
2023-04-16   2023-04-17 ukraine.html                                 EU Rebukes Members Who Ban Kyivs Grain Shankar and Enjoli Liston         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/world/e Before Joining the Battle Ukrainian Men Are
2023-04-16   2023-04-17 urope/ukraine-soldiers-freeze-sperm.html     Freezing Sperm                            By Emma Bubola                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/arts/tele
                        vision/whats-on-tv-this-week-amityville-an-
2023-04-17   2023-04-17 origin-story-and-revengineers.html           This Week on TV                           By Kristen Bayrakdarian        TX 9-292-487   2023-06-01



                                                                                Page 5110 of 5793
                        https://www.nytimes.com/2023/04/17/busines What There Is to Know About Dominion The
2023-04-17   2023-04-17 s/media/dominion-fox-lawsuit.html           Voting Machine Company Suing Fox        By Tiffany Hsu                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/sports/b
                        aseball/vancouver-canadians-minor-          Heaven Is a Ballpark in Vancouver but a By Kurt Streeter and Alana
2023-04-17   2023-04-17 league.html                                 Heater Might Help                       Paterson                                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/17/sports/s
2023-04-17   2023-04-17 ailing/geography-les-voiles-de-st-barth.html Hold tight and plan to get soaked               By Kimball Livingston           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/sports/s
2023-04-17   2023-04-17 ailing/les-voiles-de-st-barth.html           A sailboat race with a French flair             By David Schmidt                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/sports/s
2023-04-17   2023-04-17 ailing/slyngstad-brothers-st-barth.html      Brotherly love has its limits when racing       By David Schmidt                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/us/polit As Stumping Starts Its Beginning to Look
2023-04-17   2023-04-17 ics/2024-presidential-campaign-trail.html    Like 2024                                       By Maggie Astor                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/us/uval Slowly Remarkably Healing a Year After            By Edgar Sandoval and Tamir
2023-04-17   2023-04-17 de-shooting-survivors.html                   Uvalde                                          Kalifa                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/world/a Runaway Inflation in Pakistan Hinders             By Zia urRehman and Christina
2023-04-17   2023-04-17 sia/pakistan-economy-ramadan.html            Ramadan Celebrations                            Goldbaum                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/29/well/m
2023-03-29   2023-04-18 ove/run-diaphragmatic-breathing.html         Powering Your Run With Better Breathing         By Hannah Seo                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/well/mi How Do You Know if Youre Addicted to
2023-04-10   2023-04-18 nd/weed-addiction.html                       Weed                                            By Dana G Smith                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/11/well/liv Why does my neck look as if its aging twice
2023-04-11   2023-04-18 e/aging-neck-face-skin.html                   as fast as the rest of me What can I do about it By Hannah Seo                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/11/well/liv
                        e/ozempic-mounjaro-weight-loss-
2023-04-11   2023-04-18 diabetes.html                                 A Challenger to Ozempic Emerges                  By Dani Blum                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/well/liv
                        e/weathering-health-racism-
2023-04-12   2023-04-18 discrimination.html                           Weathering and the Racial Divide                 By Alisha Haridasani Gupta    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/books/ Meir Shalev Whose Novels Found Humor in
2023-04-13   2023-04-18 meir-shalev-dead.html                         Israeli Life Is Dead at 74                       By Joseph Berger              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/science
2023-04-15   2023-04-18 /astronomy-mars-atlas.html                    I Had Never Seen Mars Like This                  By Kenneth Chang              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/arts/mu
                        sic/boston-modern-orchestra-project-carnegie- Celebrating at Carnegie Hall by Strutting
2023-04-16   2023-04-18 hall.html                                     Their Stuff                                      By Seth Colter Walls          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/briefing Following the Digital Trail to the Leak
2023-04-16   2023-04-18 /pentagon-leak-suspect.html                   Suspect                                          By Mark Scheffler             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/obituari Ahmad Jamal Jazz Titan Who Made Piano
2023-04-16   2023-04-18 es/ahmad-jamal-jazz-dead.html                 Sing With Silence Dies at 92                     By Eric Grode                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/16/theater/
2023-04-16   2023-04-18 phantom-of-the-opera-final-performance.html Cheers and Tears for Phantom of the Opera        By Michael Paulson              TX 9-292-487   2023-06-01



                                                                                    Page 5111 of 5793
                        https://www.nytimes.com/2023/04/17/arts/am
2023-04-17   2023-04-18 erican-prison-writing-archive.html         Upfront About Life Behind Bars             By Patricia Leigh Brown          TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/17/arts/dan City Ballet Details 75th Anniversary
2023-04-17   2023-04-18 ce/new-york-city-ballet-75th-anniversary.html Celebration                             By Javier C Hernndez             TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/17/arts/mu
2023-04-17   2023-04-18 sic/buggles-trevor-horn-tour.html             The Buggles Have Returned Down by One   By Rob Tannenbaum                TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/17/arts/mu Frank Ocean Resurfaces to Headline at      By Joe Coscarelli and Alex
2023-04-17   2023-04-18 sic/coachella-frank-ocean.html                Coachella                               Marshall                         TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/17/arts/mu Lincoln Center Is Bringing Back Its Outdoor
2023-04-17   2023-04-18 sic/lincoln-center-summer-programming.html Summer Festival                             By Javier C Hernndez            TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/17/arts/mu
                        sic/morgan-wallen-billboard-chart-sixth-
2023-04-17   2023-04-18 week.html                                  Wallens Chart Streak Keeps Going            By Ben Sisario                  TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/17/books/
                        mack-mccormick-robert-johnson-
2023-04-17   2023-04-18 biography.html                             Writer and Subject Find a Crossroads        By Dwight Garner                TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/17/busines                                             By Claire Fu and Daisuke
2023-04-17   2023-04-18 s/china-electric-vehicle-prices.html       Electric Vehicle Price Wars Break Out       Wakabayashi                     TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/17/busines Davids Bridal Files for Bankruptcy for      By Jordyn Holman and Lauren
2023-04-17   2023-04-18 s/davids-bridal-bankruptcy.html            Second Time in Five Years                   Hirsch                          TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/17/busines US Brands Gain Edge With Tax Breaks for
2023-04-17   2023-04-18 s/electric-vehicles-tax-credits.html       EVs                                         By Jack Ewing                   TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/17/busines Fox News Disputes Possible Damages Ahead By Jeremy W Peters and Katie
2023-04-17   2023-04-18 s/fox-dominion-trial-delay.html            of Defamation Trial                         Robertson                       TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/17/busines Writers Guild Approves Strike as Shutdown
2023-04-17   2023-04-18 s/media/hollywood-writers-strike-vote.html Looms                                        By John Koblin and Brooks Barnes TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/busines DeSantis Aims to Override Disneys Latest Jab
2023-04-17   2023-04-18 s/ron-desantis-disney-world-florida.html   at Him                                       By Brooks Barnes                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/climate Toxic Chemicals Crisscross US As Rail
2023-04-17   2023-04-18 /train-fire-palestine-plastics-pvc.html    Freight                                      By HIROKO TABUCHI                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/nyregio Latest Nominee for New Yorks Top Judge       By Luis FerrSadurn and Grace
2023-04-17   2023-04-18 n/chief-judge-rowan-wilson.html            Clears Panel Paving Way for Confirmation     Ashford                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/nyregio 2 Arrested Over Activities For China in      By William K Rashbaum and
2023-04-17   2023-04-18 n/fbi-chinese-police-outpost-nyc.html      Manhattan                                    Karen Zraick                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/nyregio                                              By Michael Gold and Grace
2023-04-17   2023-04-18 n/george-santos-running-re-election.html   Santos Announces a Bid for ReElection        Ashford                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/nyregio State Expected to Force Schools to Drop
2023-04-17   2023-04-18 n/ny-mascots.html                          Native Mascots                               By Jesse McKinley                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/nyregio Judge Rejects Trump Request To Delay Trial
2023-04-17   2023-04-18 n/trump-rape-trial-e-jean-carroll.html     In Rape Case                                 By Benjamin Weiser               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/opinion
2023-04-17   2023-04-18 /imf-debt-crisis-china.html                How to Avoid Another Global Debt Crisis      By The Editorial Board           TX 9-292-487   2023-06-01



                                                                               Page 5112 of 5793
                        https://www.nytimes.com/2023/04/17/opinion
                        /leaked-documents-desantis-biden-
2023-04-17   2023-04-18 budget.html                                Just a Few Top Secrets Among Friends        By Gail Collins and Bret Stephens TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/opinion
2023-04-17   2023-04-18 /plutocrats-power-trump.html               Plutocratic Power and Its Perils            By Paul Krugman                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/science
                        /astronomy-starlink-spacex-kuiper-
2023-04-17   2023-04-18 amazon.html                                Turning Satellites To Their Advantage       By Lyndie Chiou                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/17/sports/b Its Always Been and Will Always Be More
2023-04-17   2023-04-18 oston-marathon-running-10-years-later.html Than Just a Race                             By Matthew Futterman             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/sports/e Proving Anything Can Happen Across 262
2023-04-17   2023-04-18 vans-chebet-and-hellen-obiri-win.html       Miles                                       By Scott Cacciola                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/sports/r Robert Trotman 82 Swim Coach For Black
2023-04-17   2023-04-18 obert-trotman-dead.html                     and Hispanic Children                       By Richard Sandomir              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/sports/s FIFA Silenced One World Cup Protest but
2023-04-17   2023-04-18 occer/womens-world-cup-lgbt-saudi.html      Will It Do the Same This Year               By Tariq Panja                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/theater/
                        laura-linney-and-jessica-hecht-summer-
2023-04-17   2023-04-18 1976.html                                   Its Like Being In A Romance Of Sorts        By Alexis Soloski                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/us/jayla Ohio Grand Jury Declines to Charge Officers By Michael Levenson and Jesus
2023-04-17   2023-04-18 nd-walker-akron-grand-jury-decision.html    in Death of Black Motorist                  Jimnez                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/us/mexi Fatal Ordeal After Taking Wrong Turn In
2023-04-17   2023-04-18 co-kidnapping-medical-tourism.html          Mexico                                      By Jacey Fortin                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/17/us/polit GOP Critics Take Aim at Bragg at New York By Luke Broadwater and Jonah E
2023-04-17   2023-04-18 ics/house-republicans-alvin-bragg-crime.html Hearing                                    Bromwich                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/us/polit
                        ics/house-republicans-hearing-bragg-         Data Shows New York Crime Is Down After By Luke Broadwater and Hurubie
2023-04-17   2023-04-18 manhattan.html                               a Covid Spike                              Meko                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/us/polit Biden Feeling Little Pressure SlowWalks His By Shane Goldmacher and Reid J
2023-04-17   2023-04-18 ics/is-joe-biden-running-2024.html           Way to a 2024 Run                          Epstein                          TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/17/us/polit US Builds War Crimes Case After Americans By Katie Benner and Adam
2023-04-17   2023-04-18 ics/justice-department-syria-war-crimes.html Execution in Syria                       Goldman                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/us/polit McCarthy Calls for Spending Caps to Raise By Catie Edmondson and Jim
2023-04-17   2023-04-18 ics/mccarthy-debt-ceiling-increase.html      Debt Ceiling                             Tankersley                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/us/polit Migrant Children Worked As US Ignored
2023-04-17   2023-04-18 ics/migrant-child-labor-biden.html           Warnings                                 By Hannah Dreier                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/us/polit Committee Filings Show DoubleCounted
2023-04-17   2023-04-18 ics/nikki-haley-money.html                   Money Inflated Haleys Campaign Haul      By Rebecca Davis OBrien            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/us/polit Vaccine Opponent From Kennedy Family
2023-04-17   2023-04-18 ics/robert-f-kennedy-jr-vaccines.html        Will Challenge Biden                     By Sheryl Gay Stolberg             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/us/ralp                                            By Livia AlbeckRipka Patrick
2023-04-17   2023-04-18 h-yarl-kansas-city-shooting.html             Man Who Shot Teen on Porch Faces Charges LaForge and Christine Hauser       TX 9-292-487   2023-06-01



                                                                               Page 5113 of 5793
                        https://www.nytimes.com/2023/04/17/us/theo
                        dore-mccarrick-cardinal-sex-assault-       Former Roman Catholic Cardinal 92 Faces
2023-04-17   2023-04-18 wisconsin.html                             Second Sexual Assault Complaint              By Ruth Graham                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/world/a                                              By Abdi Latif Dahir and Declan
2023-04-17   2023-04-18 frica/sudan-khartoum-fighting.html         Sudan Hospitals Offer No Refuge              Walsh                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/world/a Chinese Hydropower Worker Is Arrested
2023-04-17   2023-04-18 sia/pakistan-china-blasphemy.html          Under Pakistans Strict Blasphemy Laws        By Salman Masood                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/world/e Airbus and Air France Acquitted in 2009
2023-04-17   2023-04-18 urope/airbus-air-france-brazil-crash.html  Crash                                        By Aurelien Breeden               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/world/e CEO of German Media Giant Axel Springer
                        urope/axel-springer-ceo-apologizes-for-    Apologizes for Remarks Exposed by Rival
2023-04-17   2023-04-18 remarks.html                               Paper                                        By Melissa Eddy                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/world/e Macron Sees Lingering Ire But Upholds        By Roger Cohen and Aurelien
2023-04-17   2023-04-18 urope/france-macron-speech-pension.html    Pension Law                                  Breeden                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/world/e Russian Critic of Ukraine War Gets 25Year    By Anton Troianovski and Ivan
2023-04-17   2023-04-18 urope/kara-murza-russia-prison.html        Prison Term                                  Nechepurenko                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/world/e NATO Turns Proactive After Russian
2023-04-17   2023-04-18 urope/nato-russia-ukraine-war.html         Atrocities                                   By Steven Erlanger                TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/17/world/e US Envoy Visits Reporter Facing Spying
2023-04-17   2023-04-18 van-gershkovich-russia-us-ambassador.html Charges                                     By Cassandra Vinograd               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/your- Schwab Profits Beat Forecasts Despite a Drop
2023-04-17   2023-04-18 money/charles-schwab-deposits-profit.html In Deposits                                 By Tara Siegel Bernard              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/live/2023/04/17/sci
                        ence/spacex-starship-launch/spacex-has-     Valve Glitch Scrubs Liftoff Of Megarocket
2023-04-17   2023-04-18 scrubbed-mondays-launch-attempt             From SpaceX                               By Kenneth Chang                    TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/18/science                                                 By Dennis Overbye and Marcos
2023-04-18   2023-04-18 /astronomy-telescopes-magellan-chile.html    A Galactic Lookout                            Zegers                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/science
                        /space/astronomy-observatories-              Star Light Star Bright but Then There Are the
2023-04-18   2023-04-18 telescopes.html                              Birds                                         By Dennis Overbye              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/sports/h Rangers and Devils A Snarly Tussle Prepares
2023-04-18   2023-04-18 ockey/rangers-devils-nhl-playoffs.html       to Add Some Playoff Heat                      By David Waldstein             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/dining/ Cheesy Crunchy Baked Tofu With a Vegan
2023-04-12   2023-04-19 crispy-baked-tofu-recipe.html                Twist                                         By Melissa Clark               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/dining/
                        drinks/superbueno-east-village-agave-mexican
2023-04-12   2023-04-19 american-bar.html                            Feeling the Energy Of Mexican Culture         By Robert Simonson             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/dining/
2023-04-13   2023-04-19 corn-broadway-show-shucked.html               Corn Is a Star On Broadway                   By Priya Krishna               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/04/
                        13/us/abortion-pill-order-online-            Inside the Online Market for Overseas
2023-04-13   2023-04-19 mifepristone.html                            Abortion Pills                                By Allison McCann              TX 9-292-487   2023-06-01




                                                                                Page 5114 of 5793
                        https://www.nytimes.com/2023/04/14/dining/
2023-04-14   2023-04-19 drinks/chartreuse-shortage.html             Why Is There a Chartreuse Shortage          By Becky Cooper                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/dining/
2023-04-14   2023-04-19 pretzel-recipe.html                         A Delightful Treat With a Few Twists        By Samantha Seneviratne             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/dining/r
2023-04-14   2023-04-19 olex-egg-wrap-breakfast-recipe.html         Its Time to Try a Rolex for Breakfast       By Yewande Komolafe                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/dining/
2023-04-15   2023-04-19 baobab-fare-restaurant-detroit.html         Detroit Success by Way of Burundi           By Amy Haimerl                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/opinion
2023-04-16   2023-04-19 /gay-men-mpox.html                          Gay Men Saved Us From Mpox                  By Ina Park and Dan Savage          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/dining/
2023-04-17   2023-04-19 crumbl-cookies.html                         Crumbl Divides Cookie Lovers                By Priya Krishna                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/dining/
2023-04-17   2023-04-19 drinks/american-single-malt-whiskey.html    Red White Blue and Brown                    By Clay Risen                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/opinion
2023-04-17   2023-04-19 /kevin-mccarthy-house.html                  Speaker McCarthy Is Feeling the Heat        By Michelle Cottle                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/opinion A Man Once Reviled by Trump Is Running
2023-04-17   2023-04-19 /yusef-salaam-harlem-trump.html             for Office in Harlem                        By Mara Gay                         TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/17/world/a
2023-04-17   2023-04-19 mericas/guatemala-fire-victims-juarez.html Agony in Guatemala Over Killed Migrants By Daniele Volpe and Elda Cant           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/busines With Zero Covid Behind It Chinas Economy
2023-04-18   2023-04-19 s/china-gdp-q1-2023.html                     Strengthens                                By Keith Bradsher                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/arts/dan
                        ce/virginia-johnson-dance-theater-of-
2023-04-18   2023-04-19 harlem.html                                  Once Again Its Her Time To Bow Out         By Gia Kourlas                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/arts/des
2023-04-18   2023-04-19 ign/uta-atlanta-art-scene-destination.html   Making Atlanta A Hub For Art               By Tariro Mzezewa                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/arts/mu
2023-04-18   2023-04-19 sic/elisir-met-opera-review.html             TimeStopping Debut for Tenor               By Oussama Zahr                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/arts/nat
                        ional-endowment-for-the-humanities-          A Wide Range of Recipients For 356 Million
2023-04-18   2023-04-19 grants.html                                  in Grants                                  By Sarah Bahr                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/arts/tele
2023-04-18   2023-04-19 vision/keri-russell-the-diplomat.html        A Sleeper Agent Switches Sides             By Alexis Soloski                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/arts/tele
                        vision/menendez-brothers-menudo-roy-         ExMenudo Singer Says Menendezes Father
2023-04-18   2023-04-19 rossello-documentary.html                    Raped Him                                  By Matt Stevens                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/books/i Subversive Novels Lead A Booker Prize
2023-04-18   2023-04-19 nternational-booker-prize-shortlist.html     Shortlist                                  By Alex Marshall                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/busines
2023-04-18   2023-04-19 s/apple-stores-india-tim-cook.html           Apple Opens Its First Store Within India   By Alex Travelli and Suhasini Raj   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/busines
2023-04-18   2023-04-19 s/concert-halls-live-entertainment.html      Out of the Shadow of Stadiums              By Amy Zipkin                       TX 9-292-487   2023-06-01




                                                                                Page 5115 of 5793
                        https://www.nytimes.com/2023/04/18/busines As Possible Debt Limit Standoff Nears Wall
2023-04-18   2023-04-19 s/economy/debt-limit-wall-street.html      Street Shrugs                              By Jim Tankersley                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/busines                                            By Ana Swanson and Matina
2023-04-18   2023-04-19 s/economy/us-russia-chips-sanctions.html   How Russia Overcomes Tech Blockade         StevisGridneff                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/busines Goldman Sachs Keeps Shedding Its Offerings
2023-04-18   2023-04-19 s/goldman-sachs-1q-2023-earnings.html      For Consumers                              By Rob Copeland                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/18/busines Fox And Dominion Abruptly Settle For 7875   By Jeremy W Peters and Katie
2023-04-18   2023-04-19 s/media/fox-dominion-defamation-settle.html Million                                    Robertson                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/busines
2023-04-18   2023-04-19 s/media/netflix-dvds-earnings.html          Netflix to Soon Send Its Last DVDs         By Nicole Sperling              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/dining/ Mischa From Alex Stupak of Empelln Opens
2023-04-18   2023-04-19 nyc-restaurant-news.html                    in Midtown East                            By Florence Fabricant           TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/18/dining/r
2023-04-18   2023-04-19 estaurant-review-mam-vietnamese-food.html Keeping You on the Edge of Your Seat         By Pete Wells                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/18/dining/
2023-04-18   2023-04-19 where-to-eat-nyc-big-group-large-party.html When a Group Text Simply Isnt Enough       By Nikita Richardson            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/health/c 2nd Booster Shot Approved For Americans 65
2023-04-18   2023-04-19 ovid-booster-shots-seniors.html             and Up                                     By Christina Jewett             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/health/c People Who Had Covid May Have Higher
2023-04-18   2023-04-19 ovid-diabetes.html                          Risk Of Developing Diabetes                By Roni Caryn Rabin             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/nyregio New Yorks Leaders on Left Challenge
2023-04-18   2023-04-19 n/eric-adams-budget-progressive-nyc.html    Adamss Budget                              By Emma G Fitzsimmons           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/nyregio Details Emerge in Deadly New York Shooting By Jesse McKinley Hurubie Meko
2023-04-18   2023-04-19 n/kaylin-gillis-ny-shooting.html            of Woman in Wrong Driveway                 and Jay Root                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/nyregio New Yorks Weary Delivery Workers Lose
2023-04-18   2023-04-19 n/nyc-delivery-workers-breaks.html          Their Only Place to Rest                   By Dodai Stewart                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/nyregio Parking Garage Collapses Killing 1 in Lower
2023-04-18   2023-04-19 n/nyc-parking-garage-collapse.html          Manhattan                                  By Ed Shanahan                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/nyregio With Confirmation of Chief Judge New Yorks
2023-04-18   2023-04-19 n/rowan-wilson-ny-chief-judge.html          Top Court Tilts Back to the Left           By Luis FerrSadurn              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/nyregio Justices Let New Jersey Leave Docks Pact
2023-04-18   2023-04-19 n/waterfront-organized-crime-nyc-nj.html    With New York                              By Patrick McGeehan             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/opinion Brazen Criminals Demoralized Cops More
2023-04-18   2023-04-19 /crime-policing-chicago.html                Crime                                      By Bret Stephens                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/sports/b Oakland As Fans Have a Novel Plan for a
2023-04-18   2023-04-19 aseball/oakland-athletics-boycott.html      Boycott Show Up                            By Benjamin Hoffman             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/sports/e Kipchoges SixthPlace Finish Sparks All
2023-04-18   2023-04-19 liud-kipchoge-boston-marathon.html          Kinds of Angst                             By Scott Cacciola               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/sports/f Bills Hamlin Is Cleared To Return To
2023-04-18   2023-04-19 ootball/damar-hamlin-bills-return.html      Football                                   By Emmanuel Morgan              TX 9-292-487   2023-06-01




                                                                              Page 5116 of 5793
                        https://www.nytimes.com/2023/04/18/sports/s
                        occer/chelsea-real-madrid-champions-
2023-04-18   2023-04-19 league.html                                 A Disrupter Leads Chelsea to a Dark Place     By Rory Smith                   TX 9-292-487   2023-06-01
                                                                    Reddits Sprawling Content Is Fodder for the
                        https://www.nytimes.com/2023/04/18/technol Likes of ChatGPT But Reddit Wants to Be
2023-04-18   2023-04-19 ogy/reddit-ai-openai-google.html            Paid                                          By Mike Isaac                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/theater/
2023-04-18   2023-04-19 emilie-du-chatelet-review.html              Which Matters More Loving or Knowing          By Rhoda Feng                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/us/credi Reports Accuse Credit Suisse of Impeding
2023-04-18   2023-04-19 t-suisse-nazis.html                         Hunt for Accounts Linked to Nazis             By Charlie Savage               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/us/polit With Order Biden Seeks To Cut Costs Of
2023-04-18   2023-04-19 ics/biden-executive-order-child-care.html   Child Care                                    By Michael D Shear              TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/18/us/polit Pentagon Details a Review of Policies for
2023-04-18   2023-04-19 ics/pentagon-leak-classified-documents.html Handling Classified Information            By John Ismay and Eric Schmitt     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/us/polit
                        ics/republicans-dianne-feinstein-           Republicans Block Effort To Name Feinstein
2023-04-18   2023-04-19 judiciary.html                              FillIn                                     By Annie Karni                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/us/polit
                        ics/republicans-mark-green-mayorkas-        GOP Congressman Tells Donors Panel Will
2023-04-18   2023-04-19 impeachment.html                            Move to Impeach Homeland Security Chief By Karoun Demirjian                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/us/polit Glued to Trump After a Rupture With        By Matt Flegenheimer Maggie
2023-04-18   2023-04-19 ics/susie-wiles-trump-desantis.html         DeSantis                                   Haberman and Michael C Bender      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/us/polit The GOPs Fiscal Hawks Fly Far Away From
2023-04-18   2023-04-19 ics/trump-desantis-deficit.html             Deficit Fights                             By Jonathan Weisman                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/us/ralp Struggling to Understand A Shooting in
2023-04-18   2023-04-19 h-yarl-shooting-suspect-charges.html        Kansas City                                By Mitch Smith and Julie Bosman    TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/18/us/supr Supreme Court Seems Ready to Add
2023-04-18   2023-04-19 eme-court-religious-workers-protections.html Protections for Religious Workers            By Adam Liptak                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/us/trum                                                By Danny Hakim and Richard
2023-04-18   2023-04-19 p-georgia-lawyer-fani-willis.html            Defense Under Fire in Atlanta Trump Case     Fausset                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/world/a Generals Fail to Observe CeaseFire as          By Abdi Latif Dahir and Elian
2023-04-18   2023-04-19 frica/sudan-khartoum-ceasefire.html          Fighting Intensifies in Sudan                Peltier                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/world/a Mexicos Lasting Embrace of a Potent and        By Natalie Kitroeff and Ronen
2023-04-18   2023-04-19 mericas/pegasus-spyware-mexico.html          Notorious Spying Tool                        Bergman                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/world/a G7 Diplomats Display Unified Front on
2023-04-18   2023-04-19 sia/blinken-g7-russia-china.html             Russia and China                             By Edward Wong                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/world/a
2023-04-18   2023-04-19 sia/fire-beijing-hospital.html               21 Killed in a Beijing Hospital Fire         By Chris Buckley                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/world/a On Nepal Peak A Climber Dies And 1
2023-04-18   2023-04-19 sia/himalayas-climbing-death.html            Vanishes                                     By Bhadra Sharma                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/world/a Indias High Court Hears SameSex Marriage
2023-04-18   2023-04-19 sia/india-court-same-sex-marriage.html       Case                                         By Karan Deep Singh             TX 9-292-487   2023-06-01




                                                                                 Page 5117 of 5793
                        https://www.nytimes.com/2023/04/18/world/e The Wrong Mr Kozlov Regular People
2023-04-18   2023-04-19 urope/eu-sanctions-russia-ukraine-names.html Tangled in Sanctions                        By Monika Pronczuk               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/world/e Freddie Scappaticci Who Was Said To Spy
2023-04-18   2023-04-19 urope/freddie-scappaticci-dead.html           for Britain in the IRA Dies                By Alan Cowell                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/world/e Famous Name With Unglamorous Job for the
2023-04-18   2023-04-19 urope/northern-ireland-joe-kennedy.html       US in Northern Ireland                     By Mark Landler                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/world/e
                        urope/wsj-reporter-evan-gershkovich-moscow-US Journalist To Stay Locked In Moscow        By Ivan Nechepurenko and Anton
2023-04-18   2023-04-19 court-detention.html                          Jail                                       Troianovski                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/world/ Tunisian Officials Arrest a Key Opposition
2023-04-18   2023-04-19 middleeast/tunisia-ghannouchi-arrest.html     Leader                                     By Vivian Yee                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/technol                                               By Jim Rutenberg and Katie
2023-04-19   2023-04-19 ogy/fox-news-dominion-settlement.html         Networks Deal Avoids a Fight But Not Scars Robertson                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/theater/
2023-04-19   2023-04-19 plays-for-the-plague-year-review.html         A Soundtrack of Our PandemicEra Lives      By Maya Phillips                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/us/polit
2023-04-19   2023-04-19 ics/biden-tax-return.html                     Returns Reveal Bidens Paid 170000 in Taxes By Michael D Shear               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/world/e
                        urope/zelensky-putin-kherson-ukraine-         Zelensky and Putin Meet With Troops in     By Ivan Nechepurenko Matthew
2023-04-19   2023-04-19 russia.html                                   Dueling Shows of Strength                  Mpoke Bigg and Victoria Kim      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/insider/
                        a-break-in-a-bronx-cold-case-sends-a-reporter-Break in a Cold Case Sends a Reporter
2023-04-19   2023-04-19 back-to-the-beginning.html                    Searching                                  By Chelsia Rose Marcius          TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/19/us/polit Progressives Momentum Masks Internal
2023-04-19   2023-04-19 ics/progressives-moderates-democrats.html Tensions                                      By Jazmine Ulloa and Lisa Lerer   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/style/be
2023-04-13   2023-04-20 real-app.html                               Reality Is Setting In for Reality           By Callie Holtermann              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/t-
2023-04-13   2023-04-20 magazine/max-hooper-schneider.html          Death Metal Muse                            By Travis Diehl                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/movies/ A Director and Rock Band Redraw Animes
2023-04-14   2023-04-20 suzume-makoto-shinkai-radwimps.html         Contours                                    By Carlos Aguilar                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/style/wi
2023-04-14   2023-04-20 ld-life-movie-kris-tompkins.html            Trading One Patagonia for Another           By Nadav Gavrielov                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/opinion
2023-04-15   2023-04-20 /true-crime-crisis.html                     What Happened to the True in True Crime     By Sarah Weinman                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/arts/glo Gloria Dea 100 Magician Who Was Likely
2023-04-18   2023-04-20 ria-dea-dead.html                           the First To Play a Las Vegas Casino        By Neil Genzlinger                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/arts/mu The Cabaret 54 Below Enters a New Era as a
2023-04-18   2023-04-20 sic/54-below-nonprofit.html                 Nonprofit                                   By Elysa Gardner                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/briefing Thomass Acceptance of Gifts and the
2023-04-18   2023-04-20 /clarence-thomas-gifts.html                 Supreme Courts Credibility                  By David Leonhardt                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/movies/
2023-04-18   2023-04-20 16mm-film-anniversary.html                  Happy 100th Birthday 16Millimeter Film      By Devika Girish                  TX 9-292-487   2023-06-01



                                                                               Page 5118 of 5793
                        https://www.nytimes.com/2023/04/18/opinion
                        /geoengineering-climate-change-technology-
2023-04-18   2023-04-20 africa.html                                  Africa Is Not Your Climate Laboratory        By Chukwumerije Okereke           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/style/m
2023-04-18   2023-04-20 arcelling-hair-style.html                    Put a Crimp in It The Marcel Wave Returns By Ruth La Ferla                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/us/okla
                        homa-governor-stitt-officials-               Secret Recording Prompts Calls for Officials
2023-04-18   2023-04-20 resignations.html                            to Resign                                    By Michael Levenson               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/us/polit                                               By Sheryl Gay Stolberg and Noah
2023-04-18   2023-04-20 ics/covid-vaccines-uninsured.html            Free Covid Shots for Uninsured Are Planned Weiland                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/arts/dan
                        ce/review-martha-graham-company-
2023-04-19   2023-04-20 joyce.html                                   Pushing 100 but With a Youthful Tilt         By Brian Seibert                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/arts/mu
2023-04-19   2023-04-20 sic/danish-string-quartet-prism.html         A Kind of Mastery Through Indirection        By David Allen                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/arts/mu
2023-04-19   2023-04-20 sic/kali-uchis-red-moon-in-venus.html        Complicated And Staying That Way             By Jon Pareles                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/arts/mu
                        sic/national-symphony-carnegie-hall-
2023-04-19   2023-04-20 review.html                                  Symphony Spotlights The Forward Thinker By Anastasia Tsioulcas                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/arts/tele Blair Tindall 63 Who Divulged Classical
2023-04-19   2023-04-20 vision/blair-tindall-dead.html               Musics Seamy Side Dies                       By Neil Genzlinger                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/arts/tele
2023-04-19   2023-04-20 vision/fox-news-settlement.html              Everybody Knows What Fox News Is Now By James Poniewozik                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/arts/tele
2023-04-19   2023-04-20 vision/mrs-davis-review.html                 A Braver New World                           By James Poniewozik               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/busines Leon Levine Who Made a Billion One Dollar
2023-04-19   2023-04-20 s/leon-levine-dead.html                      at a Time Dies at 85                         By Alex Traub                     TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/19/busines Win Lose or Draw Making Sense of a
2023-04-19   2023-04-20 s/media/dominion-fox-news-settlement.html Settlement                                By Tiffany Hsu                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/busines
                        s/media/fox-dominion-settlement-           For Some Critics of Fox News Outcome Was
2023-04-19   2023-04-20 murdoch.html                               a Split Decision                         By Michael M Grynbaum                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/19/busines Assaults are likely to continue on a landmark
2023-04-19   2023-04-20 s/nyt-sullivan-dominion-first-amendment.html Supreme Court ruling that protects the media By David Enrich                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/busines DeSantis Appointees Are Vowing to Void
2023-04-19   2023-04-20 s/ron-desantis-disney-world.html             Disney Agreement                             By Brooks Barnes                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/19/busines
2023-04-19   2023-04-20 s/shanghai-auto-show-electric-vehicles.html Car Show Flaunts Chinas Switch to Electric By Keith Bradsher                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/busines Suit Is Settled But New Ones On Vote Claims
2023-04-19   2023-04-20 s/smartmatic-fox-dominion-lawsuits.html     Are on the Way                             By Lora Kelley                       TX 9-292-487   2023-06-01




                                                                                 Page 5119 of 5793
                        https://www.nytimes.com/2023/04/19/busines Teslas Quarterly Profit Drops After a Series
2023-04-19   2023-04-20 s/teslas-earnings-first-quarter.html        of Price Cuts                               By Peter Eavis and Jack Ewing    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/busines Inflation in UK Falls but Not as Far as
2023-04-19   2023-04-20 s/uk-inflation-march.html                   Expected                                    By Eshe Nelson and Isabella Kwai TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/health/a Abortion Pill Maker Sues FDA to Shield
2023-04-19   2023-04-20 bortion-pill-genbiopro-mifepristone.html    Drug if a Court Orders It Off the Market    By Pam Belluck                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/health/c US Approves A New Round Of Boosters For
2023-04-19   2023-04-20 ovid-boosters-seniors.html                  65 and Up                                   By Apoorva Mandavilli            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/nyregio Adams Backs Free Buses But Idea Faces
2023-04-19   2023-04-20 n/free-buses-nyc.html                       Difficulties                                By Winnie Hu and Asmaa Elkeurti TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/19/nyregio Judge Rules Lawmakers May Ask                By Jonah E Bromwich and Kate
2023-04-19   2023-04-20 n/judge-bragg-jordan-trump-inquiry.html     ExProsecutor About Trump Inquiry            Christobek                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/nyregio Garage That Collapsed Killing One Was Due By Patrick McGeehan and Hurubie
2023-04-19   2023-04-20 n/nyc-garage-collapse.html                  for Inspection This Year                    Meko                             TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/19/nyregio New York May Pay Up to 53 Million to
2023-04-19   2023-04-20 n/rikers-settlement-solitary-confinement.html Pretrial Detainees Wrongly Isolated at Rikers By Chelsia Rose Marcius    TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/19/opinion
2023-04-19   2023-04-20 /fox-dominion-john-birch-society.html         Fox News Helped Break the American Right By Matthew Dallek               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/19/opinion
2023-04-19   2023-04-20 /orange-socks-older-age.html                  The Sartorial Side to Freedom                 By Charles M Blow          TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/19/sports/b Mets Pitchers Battle Time And Then the
2023-04-19   2023-04-20 aseball/max-scherzer-mets.html                Umpires Weigh In                              By Scott Miller            TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/19/sports/j A Runner Hitches a Ride Claims a Trophy
2023-04-19   2023-04-20 oasia-zakrzewski-ultramarathon-cheating.html and Calls It a Miscommunication           By Victor Mather                TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/19/sports/s
                        occer/manchester-city-bayern-champions-      In a LowKey Way Manchester City Has Its
2023-04-19   2023-04-20 league.html                                  Eyes on the Prizes                        By Rory Smith                   TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/19/technol
                        ogy/personaltech/tiktok-twitter-facebook-
2023-04-19   2023-04-20 social.html                                  Social Media As We Knew It Is Long Gone By Brian X Chen                   TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/19/us/calif When Schwarzenegger Shows Up You Know
2023-04-19   2023-04-20 ornia-potholes-arnold-schwarzenegger.html The Potholes Are Bad                         By Shawn Hubler                 TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/19/us/polit
2023-04-19   2023-04-20 ics/abortion-pill-supreme-court.html         Justices Delay Case on Abortion           By Abbie VanSickle              TX 9-292-487     2023-06-01
                                                                                                               By Maggie Haberman Shane
                        https://www.nytimes.com/2023/04/19/us/polit Biden Summons Big Donors As 2024           Goldmacher Katie Glueck and
2023-04-19   2023-04-20 ics/biden-donors-2024.html                   Campaign Nears                            Rebecca Davis OBrien            TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/19/us/polit Special Counsel Seems Focused on Trumps By Alan Feuer and Maggie
2023-04-19   2023-04-20 ics/boris-epshteyn-special-counsel.html      Legal Team                                Haberman                        TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/19/us/polit
                        ics/china-nuclear-weapons-russia-arms-                                                 By David E Sanger William J
2023-04-19   2023-04-20 treaties.html                                A 3Way Nuclear Rivalry Upends US Strategy Broad and Chris Buckley         TX 9-292-487     2023-06-01




                                                                                  Page 5120 of 5793
                        https://www.nytimes.com/2023/04/19/us/polit As Lawmakers Fretted Over Banking Turmoil
2023-04-19   2023-04-20 ics/congress-stock-trading-banks.html       They Also Shed Shares                     By Kate Kelly                  TX 9-292-487        2023-06-01
                        https://www.nytimes.com/2023/04/19/us/polit Potential Rivals See Way to Hit DeSantis
2023-04-19   2023-04-20 ics/desantis-disney-gop.html                Over Feud With Disney                     By Maggie Haberman             TX 9-292-487        2023-06-01
                        https://www.nytimes.com/2023/04/19/us/polit
                        ics/desantis-iowa-new-hampshire-south-      Moves by ProDeSantis PAC Hint at Likely   By Shane Goldmacher and Maggie
2023-04-19   2023-04-20 carolina.html                               2024 Run                                  Haberman                       TX 9-292-487        2023-06-01

                        https://www.nytimes.com/2023/04/19/us/polit Whats Next in the Leaked Documents Case   By Glenn Thrush and Julian E
2023-04-19   2023-04-20 ics/jack-teixeira-leaked-documents-case.html and How Is This Leaker Case Different    Barnes                            TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/19/us/polit Progressives Plan a Nationwide Push to
2023-04-19   2023-04-20 ics/progressives-supreme-court-changes.html Overhaul the Supreme Court                By Carl Hulse                     TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/19/us/polit Kennedy Officially Opens His Campaign for
2023-04-19   2023-04-20 ics/robert-kennedy-presidential-run.html    President                                 By Trip Gabriel                   TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/19/us/polit Watchdog Says Taliban May Be Using US
2023-04-19   2023-04-20 ics/us-aid-taliban-congress-afghanistan.html Funds                                   By Karoun Demirjian                TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/19/us/stan The SelfDefense Laws That May Be in Focus
2023-04-19   2023-04-20 d-your-ground-laws-states.html               After Two Shootings                     By Adeel Hassan                    TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/19/us/supr Justices Let Texas Inmate Seek Testing For
2023-04-19   2023-04-20 eme-court-rodney-reed-texas-death-row.html DNA                                          By Adam Liptak                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/us/supr Turkish Bank Scandal Prompts Mixed Ruling
2023-04-19   2023-04-20 eme-court-turkish-bank-halkbank.html        By the Supreme Court                        By Adam Liptak                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/us/yarl- Suspects in Shootings After Wrong Turns     By Julie Bosman Mitch Smith Jesse
2023-04-19   2023-04-20 gillis-shooting-missouri-ny.html            Appear in Court Hundreds of Miles Apart     McKinley and Jay Root             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/world/a Fragile CeaseFire in Sudan Makes Escape      By Declan Walsh Elian Peltier and
2023-04-19   2023-04-20 frica/sudan-fighting-ceasefire.html         Hard for Desperate Civilians                Cora Engelbrecht                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/world/a Girding for War Rival Generals Talked of
2023-04-19   2023-04-20 frica/sudan-war-army-paramilitary.html      Peace                                       By Declan Walsh                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/world/a Hospital Fire Is Beijings Deadliest in Years By Claire Fu Daisuke Wakabayashi
2023-04-19   2023-04-20 sia/beijing-changfeng-hospital-fire.html    With Toll at 29                             and Vivian Wang                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/world/a
2023-04-19   2023-04-20 sia/china-population-india.html             Shrinking Population In China Affects All   By Nicole Hong                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/world/a India Grows With a Goal Take On Chinas
2023-04-19   2023-04-20 sia/india-china-population.html             Economy                                     By Mujib Mashal and Alex Travelli TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/world/a New Zealanders Rethink Kids CatKilling
2023-04-19   2023-04-20 ustralia/new-zealand-cat-hunt.html          Contest                                     By Yan Zhuang                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/world/c Big Strike In Canada May Cripple Some
2023-04-19   2023-04-20 anada/canada-federal-workers-strike.html    Services                                    By Ian Austen                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/world/e US Defense Chief Urges Swedens Quick
2023-04-19   2023-04-20 urope/nato-sweden-ukraine-austin.html       Admission to NATO                           By Helene Cooper                  TX 9-292-487   2023-06-01




                                                                               Page 5121 of 5793
                                                                                                                 By Carlotta Gall Oleksandr Chubko
                        https://www.nytimes.com/2023/04/19/world/e Brutal Weapon Haunts Ukraine Russias          Dyma Shapoval and Daniel
2023-04-19   2023-04-20 urope/ukraine-russia-donbas-propaganda.html Words                                        Berehulak                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/world/ Settler Attacks Put a Palestinian Town in Fear
2023-04-19   2023-04-20 middleeast/west-bank-settler-attacks.html    of Extinction                               By Raja Abdulrahim                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/04/ Will This Be the Indian Century Four Key
2023-04-19   2023-04-20 19/world/asia/india-china-population.html    Questions                                   By Alex Travelli and Weiyi Cai    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/sports/b
                        asketball/draymond-green-golden-state-       Green Has Fire But He Could Burn The
2023-04-20   2023-04-20 warriors.html                                House Down Too                              By Tania Ganguli                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/theater/
2023-04-20   2023-04-20 peter-pan-goes-wrong-review.html             Flying High and Falling Hard                By Jesse Green                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/us/polit House GOP Immigration Agenda Faces Stiff By Karoun Demirjian and Luke
2023-04-20   2023-04-20 ics/gop-immigration-house.html               Odds                                        Broadwater                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/fashion Coach Is Attempting to Stitch Together a New
2023-04-20   2023-04-20 /coach-coachtopia-sustainable-fashion.html Market                                        By Elizabeth Paton                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/insider/
                        why-solving-climate-change-is-not-an-issue- Solving Climate Change Is Not Succeed or
2023-04-20   2023-04-20 where-we-succeed-or-fail.html                Fail                                        By Josh Ocampo                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/style/tif
2023-04-20   2023-04-20 fany-fifth-avenue-store.html                 The New Tiffany Unboxed With a Splash       By Alex Vadukul                   TX 9-292-487   2023-06-01
                                                                                                                 By Anjali Singhvi Bedel Saget KK
                        https://www.nytimes.com/interactive/2023/03/                                             Rebecca Lai Yuliya ParshinaKottas
                        22/world/middleeast/turkey-earthquake-       See One Historic Turkish Street Before and Sergey Ponomarev and Jeremy
2023-03-23   2023-04-21 antakya.html                                 After the Earthquakes                       White                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/26/briefing
2023-03-26   2023-04-21 /turkey-earthquake.html                      In the Ruin and Rubble Documenting History By Ashley Wu                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/world/e
2023-04-19   2023-04-21 urope/edinburgh-pink-door.html               A Doors Pink Paint Job Sparks a Hullabaloo By Lauren McCarthy                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/theater/ Todd Haimes 66 Who Rescued The
2023-04-20   2023-04-21 todd-haimes-dead.html                        Roundabout Theater Dies                     By Michael Paulson                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/arts/ale Prosecutors to Dismiss Charges Against       By Graham Bowley and Julia
2023-04-20   2023-04-21 c-baldwin-charges-dropped-rust.html          Baldwin in Rust Shooting                    Jacobs                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/arts/dan
2023-04-20   2023-04-21 ce/dance-theater-of-harlem-review.html       A Troupe Returns to Sparkling Form          By Brian Seibert                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/arts/des
2023-04-20   2023-04-21 ign/chryssa-neon-sculptor-dia-chelsea.html  A Pioneering Poet of Light and Letters     By Max Lakin                      TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/20/arts/des
2023-04-20   2023-04-21 ign/jaune-quick-to-see-smith-whitney-art.html An Artist Who Asks What American Means   By Jillian Steinhauer             TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/20/arts/des
2023-04-20   2023-04-21 ign/lgdr-gallery-art-butts.html               Giving Backsides Upfront Billing         By Jason Farago                   TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/20/arts/jes Jessica Burstein 76 Photographer Who
2023-04-20   2023-04-21 sica-burstein-dead.html                       Captured Quintessential New York         By Richard Sandomir               TX 9-292-487     2023-06-01



                                                                                 Page 5122 of 5793
                        https://www.nytimes.com/2023/04/20/arts/tele
                        vision/slip-algiers-america-single-drunk-
2023-04-20   2023-04-21 female.html                                  This Weekend I Have                       By Margaret Lyons               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/20/books/a
2023-04-20   2023-04-21 i-novels-stephen-marche.html                 Author and AI Become One                  By Elizabeth A Harris           TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/20/busines A Web Pioneer BuzzFeed News Will Shut       By Benjamin Mullin and Katie
2023-04-20   2023-04-21 s/buzzfeed-news-shut-down.html               Down                                      Robertson                       TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/20/busines Gucci Raid Is the Latest Act in the EUs
2023-04-20   2023-04-21 s/dealbook/gucci-raid-antitrust.html         Growing Antitrust Scrutiny of Fashion     By Elizabeth Paton              TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/20/busines Discontented Franchisees Seek A Bigger Say
2023-04-20   2023-04-21 s/economy/franchise-regulation.html          in Their Business                         By Lydia DePillis               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/20/busines Bidens Choice for Labor Secretary Is Facing
2023-04-20   2023-04-21 s/economy/julie-su-labor-secretary.html      an Uphill Battle                          By Noam Scheiber                TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/20/busines
2023-04-20   2023-04-21 s/economy/yellen-us-china-relationship.html Yellen Calls for China To Work With the US By Ana Swanson                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/20/busines Facebook Users Can Claim Part Of Settlement
2023-04-20   2023-04-21 s/facebook-settlement-apply.html            For Data Access                            By Jenny Gross                  TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/20/busines                                              By Steven Lee Myers Tiffany Hsu
2023-04-20   2023-04-21 s/media/fox-dominion-misinformation.html Foxs Setback Isnt Muffling Voting Myths        and Stuart A Thompson           TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/busines                                           By Jeremy W Peters Jim Rutenberg
2023-04-20   2023-04-21 s/media/fox-news-dominion-settlement.html Hard Lines In Fox Suit Suddenly Softened   and Katie Robertson              TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/20/climate In 500 Million Pledge Biden Hopes to Slow By Lisa Friedman and Manuela
2023-04-20   2023-04-21 /biden-amazon-deforestation-climate.html   Deforestation in Brazil                   Andreoni                         TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/20/climate NOAA Outlook Shows Respite For California
2023-04-20   2023-04-21 /noaa-spring-outlook-california.html       After Icy Storms                          By Raymond Zhong                 TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/20/dining/ Top Boston Restaurateur Is Accused of
2023-04-20   2023-04-21 barbara-lynch-boston-workplace-abuse.html Workplace Abuse                               By Julia Moskin                TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/20/health/ Deadly Results As People Take Drug for
2023-04-20   2023-04-21 xylazine-tranq-animals.html                Horses                                       By Jan Hoffman                 TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/20/movies/ Dance and Music Propel A Fractured Classic
2023-04-20   2023-04-21 carmen-review-benjamin-millepied.html      Tale                                         By Joshua Barone               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/20/movies/
2023-04-20   2023-04-21 chevalier-review.html                      Rocking the Court While Black                By Lisa Kennedy                TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/20/movies/
2023-04-20   2023-04-21 dry-ground-burning-review.html             Feminist Gangsters Brazilian Style           By Beatrice Loayza             TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/20/movies/
2023-04-20   2023-04-21 guy-ritchies-the-covenant-review.html      Repairing a Broken Promise                   By Amy Nicholson               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/20/movies/ The Young Adult Author Who Went There
2023-04-20   2023-04-21 judy-blume-forever-review.html             First                                        By Claire Shaffer              TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/20/movies/
2023-04-20   2023-04-21 little-richard-i-am-everything-review.html Contradictory Glory Tutti Frutti and All     By Ben Kenigsberg              TX 9-292-487    2023-06-01



                                                                               Page 5123 of 5793
                        https://www.nytimes.com/2023/04/20/movies/
2023-04-20   2023-04-21 other-peoples-children-review.html          Intoxicating Love With a Sobering Turn     By Manohla Dargis              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/movies/
2023-04-20   2023-04-21 plan-75-review.html                         Plan 75                                    By Nicolas Rapold              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/movies/
2023-04-20   2023-04-21 quasi-review.html                           Quasi                                      By Brandon Yu                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/movies/
2023-04-20   2023-04-21 somewhere-in-queens-review.html             Somewhere in Queens                        By Glenn Kenny                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/movies/
2023-04-20   2023-04-21 trenque-lauquen-review.html                 Finding Liberation In Being Truly Lost     By Devika Girish               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/movies/
2023-04-20   2023-04-21 twilight-review.html                        Twilight                                   By Teo Bugbee                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/nyregio Court Blocks Jordans Bid To Question        By Jonah E Bromwich and Luke
2023-04-20   2023-04-21 n/bragg-jordan-trump-pomerantz.html         ExProsecutor                               Broadwater                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/nyregio State Budget Collects Dust While Albany
2023-04-20   2023-04-21 n/late-budget-new-york.html                 Argues Policy                              By Grace Ashford               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/nyregio Could Rents in New York City Increase by 16
2023-04-20   2023-04-21 n/rent-stabilized-apartments-nyc.html       Percent Its Unlikely                       By Mihir Zaveri                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/opinion
2023-04-20   2023-04-21 /abortion-pill-case-supreme-court.html      A Brazen Attack on Americans Health        By Jack Resneck Jr             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/opinion
2023-04-20   2023-04-21 /american-capitalism-good.html              The Power of American Capitalism           By David Brooks                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/opinion
2023-04-20   2023-04-21 /anorexia-eating-disorder-girls.html        The Troublesome Persistence of Anorexia    By Pamela Paul                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/opinion
2023-04-20   2023-04-21 /manufacturing-biden-trump.html             Making Manufacturing Greater Again         By Paul Krugman                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/science Fiery Finish but Useful Data in 4Minute
2023-04-20   2023-04-21 /spacex-launch-explosion-elon-musk.html     Flight                                     By Kenneth Chang               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/sports/b
                        aseball/oakland-athletics-stadium-las-      Athletics Say They Have New Home In Las By David Waldstein and Benjamin
2023-04-20   2023-04-21 vegas.html                                  Vegas                                      Hoffman                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/sports/b
2023-04-20   2023-04-21 aseball/shohei-ohtani-bo-jackson.html       You Dont Know Bo but Ohtani Might          By Tyler Kepner                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/sports/s As Napoli Nears a Title a Proudly
2023-04-20   2023-04-21 occer/napoli-serie-a-scudetto.html          Superstitious City Starts to Believe       By Rory Smith                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/sports/t A Nagging Injury Leaves Nadal At Risk of
2023-04-20   2023-04-21 ennis/nadal-injury-french-open.html         Missing the French Open                    By Matthew Futterman           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/technol Twitter Begins Erasing From Accounts Check
2023-04-20   2023-04-21 ogy/twitter-blue-check-marks.html           Marks That Verify User Identity            By Kate Conger                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/us/bud- Bud Shuster 91 Who Was Pennsylvanias
2023-04-20   2023-04-21 shuster-dead.html                           Unabashed Asphalt King of Congress         By Sam Roberts                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/us/desa Florida Death Penalty Bar to Become Lowest
2023-04-20   2023-04-21 ntis-death-penalty-florida.html             in Nation                                  By Patricia Mazzei             TX 9-292-487   2023-06-01




                                                                             Page 5124 of 5793
                        https://www.nytimes.com/2023/04/20/us/polit Biden Is Expected to Choose Cancer Surgeon
2023-04-20   2023-04-21 ics/biden-monica-bertagnolli-nih.html       to Lead National Institutes of Health      By Sheryl Gay Stolberg               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/us/polit IRS Official Is Said to Claim Political    By Michael S Schmidt and Luke
2023-04-20   2023-04-21 ics/hunter-biden-investigation-irs.html     Favoritism in Hunter Biden Investigation   Broadwater                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/us/polit Moves by Israel Open a Divide With US
2023-04-20   2023-04-21 ics/israel-democrats-jews.html              Jews                                       By Jonathan Weisman                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/us/polit Justice Dept Presses Local Courts to Curb
2023-04-20   2023-04-21 ics/justice-dept-courts-fines.html          Fines and Fees That Further Penalize the Poor By Glenn Thrush                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/us/polit
                        ics/mike-lindell-arbitration-case-5-        MyPillow Founder Must Pay 5 Million As
2023-04-20   2023-04-21 million.html                                Part of His Prove Me Wrong Contest            By Neil Vigdor                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/us/polit
                        ics/repatriation-prisoner-guantanamo-       Repatriation of an Algerian Prisoner Leaves
2023-04-20   2023-04-21 bakush.html                                 30 at Guantnamo Down From 660 in 2003         By Carol Rosenberg                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/us/polit GOP Bill on Debt Limit Comes With             By Madeleine Ngo Catie
2023-04-20   2023-04-21 ics/republican-debt-limit-bill.html         Conditions                                    Edmondson and Jim Tankersley      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/us/polit
                        ics/republican-president-2024-heritage-                                                   By Jonathan Swan and Maggie
2023-04-20   2023-04-21 foundation.html                             Like LinkedIn but for GOP Staff Only          Haberman                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/us/polit
                        ics/republicans-unspent-covid-money-debt- House GOP Considers Rescinding Unspent By Catie Edmondson and
2023-04-20   2023-04-21 limit.html                                  Covid Money as Part of Its Fiscal Plan        Madeleine Ngo                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/us/polit Richard Riordan Mayor of an Uneasy Los
2023-04-20   2023-04-21 ics/richard-riordan-dead.html               Angeles Is Dead at 92                         By Katie Hafner                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/us/polit Senate Democrats Invite Chief Justice to
2023-04-20   2023-04-21 ics/roberts-testify-supreme-court-ethics.html Testify on Ethics                             By Carl Hulse                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/us/polit
2023-04-20   2023-04-21 ics/transgender-athlete-ban-bill.html         House Approves AntiTransgender Sports Bill By Annie Karni                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/us/polit                                                 By Michael C Bender and Annie
2023-04-20   2023-04-21 ics/trump-desantis-2024.html                  Calls Notes and Visits For Trump Its Personal Karni                           TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/us/wro As Guns and Anger Flow Tiny Missteps        By Jack Healy Glenn Thrush Eliza
2023-04-20   2023-04-21 ng-house-shootings-guns.html               Turn Tragic                                Fawcett and Susan C Beachy         TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/20/world/a                                            By Helene Cooper Elian Peltier and
2023-04-20   2023-04-21 frica/sudan-us-evacuation-marines.html     US Is Gearing to Evacuate Embassy in Sudan Farnaz Fassihi                     TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/20/world/a We Will Hunt You Gay Ugandans Flee
2023-04-20   2023-04-21 frica/uganda-anti-gay-bill-lgbtq.html      Harsh LGBTQ Law                            By Abdi Latif Dahir                TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/20/world/a
2023-04-20   2023-04-21 sia/xi-china-us.html                       Xi Mocks US As He Warms To Its Friends By David Pierson                       TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/20/world/a Tiny Town Is Packed for an Event It Didnt
2023-04-20   2023-04-21 ustralia/solar-eclipse.html                Put On a Total Solar Eclipse               By Natasha Frost                   TX 9-292-487      2023-06-01




                                                                                 Page 5125 of 5793
                        https://www.nytimes.com/2023/04/20/world/e Italys Senate Approves Crackdown On
2023-04-20   2023-04-21 urope/italy-immigration-crackdown.html     Migrants Put Forward by Meloni              By Gaia Pianigiani            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/world/e Ukraines Trapped Grain Is Freed but Europes
2023-04-20   2023-04-21 urope/ukraine-grain-imports-ban.html       Farmers Are Rankled                         By Patricia Cohen             TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/world/e The War Has Influenced Social Media
2023-04-20   2023-04-21 urope/ukraine-social-media-influencers.html Influencers                                   By Matthew Mpoke Bigg      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/world/ Stampede in Yemen Kills 78 After a Crowd
2023-04-20   2023-04-21 middleeast/yemen-stampede-ramadan.html       Converges to Receive Holiday Donations       By Vivian Nereim           TX 9-292-487   2023-06-01
                                                                     Two Days After Dominion Settlement
                        https://www.nytimes.com/2023/04/20/busines Lachlan Murdoch Drops Libel Suit Against
2023-04-21   2023-04-21 s/lachlan-murdoch-crikey-lawsuit.html        News Site                                    By Katie Robertson         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/movies/
2023-04-21   2023-04-21 ghosted-review.html                          Ghosted                                      By Calum Marsh             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/sports/b
2023-04-21   2023-04-21 aseball/max-scherzer-suspended.html          MLB Gives Scherzer A 10Game Suspension By Scott Miller                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/theater/
                        thanksgiving-play-review-larissa-            Carving Up the Turkey And Our Nations
2023-04-21   2023-04-21 fasthorse.html                               Myths                                        By Jesse Green             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/movies/
2023-04-21   2023-04-21 a-tourists-guide-to-love-review.html         A Tourists Guide to Love                     By Elisabeth Vincentelli   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/world/
                        middleeast/eid-ramadan-gaza-                 Men Dutifully Give Gifts for Eid Even if It
2023-04-21   2023-04-21 palestinians.html                            Means Going Into Debt                        By Raja Abdulrahim         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/travel/
2023-04-10   2023-04-22 medieval-jewish-england.html                 On the Trail of Englands Lost Jewish Past    By Richard Rubin           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/arts/pay
2023-04-14   2023-04-22 ano-china-artist.html                        New York Artist Shaped by China              By Siddhartha Mitter       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/travel/ Exploring Picasso in the City Where He Was
2023-04-14   2023-04-22 malaga-spain-picasso.html                    Born                                         By Andrew Ferren           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/realesta
2023-04-17   2023-04-22 te/japan-empty-houses.html                   Japans Empty Homes Are Selling for Cheap By Tim Hornyak                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/opinion In Taiwan Friends Are Starting to Turn
2023-04-18   2023-04-22 /taiwan-china-war-us.html                    Against Each Other                           By Yingtai Lung            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/arts/mu
2023-04-19   2023-04-22 sic/ai-drake-the-weeknd-fake.html            Its a Hit Is It Real or Is It AI             By Joe Coscarelli          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/arts/tele Relationships Are at Stake Everywhere She
2023-04-19   2023-04-22 vision/the-diplomat-review.html              Turns                                        By Mike Hale               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/opinion
2023-04-19   2023-04-22 /editorials/fox-news-settlement.html         The Journalism Lesson of the Fox News Case By David Firestone           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/technol
                        ogy/ivan-sutherland-superconducting-         Tech Pioneer Sees Way for US to Lead on
2023-04-19   2023-04-22 chips.html                                   Chips                                        By John Markoff            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/travel/p For the Best Deal on Airfare Consider a Price
2023-04-19   2023-04-22 rice-guarantees-google-flights.html          Freeze                                       By Elaine Glusac           TX 9-292-487   2023-06-01



                                                                                 Page 5126 of 5793
                        https://www.nytimes.com/2023/04/20/arts/mu
2023-04-20   2023-04-22 sic/new-york-philharmonic-asia-tour.html   Philharmonic Plans Diplomatic Asia Tour      By Javier C Hernndez             TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/movies/
2023-04-20   2023-04-22 guy-ritchies-the-covenant-movie-titles.html Dont Wait for Credits The Names in the Title By Leah Greenblatt              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/opinion
2023-04-20   2023-04-22 /dont-say-gay-bill-florida.html             Dont Say Gay Will Harm Young People          By Nathaniel Frank              TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/sports/b At 7 Feet and 280 Pounds He Dribbles Like a
2023-04-20   2023-04-22 asketball/joel-embiid-philadelphia-76ers.html Guard                                      By Scott Cacciola               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/arts/ale Back to Work On Rust Set After Charges Are By Julia Jacobs and Graham
2023-04-21   2023-04-22 c-baldwin-rust-montana.html                   Dropped                                    Bowley                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/arts/dan Poised for Change at a Company Where
2023-04-21   2023-04-22 ce/dance-theater-of-harlem-dancers.html       Dancers of Color Feel at Home              By Charmaine Patricia Warren    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/arts/mu
2023-04-21   2023-04-22 sic/danish-string-quartet-review.html         Danish Strings Knot Old and New            By Joshua Barone                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/busines
                        s/energy-environment/volkswagen-battery-
2023-04-21   2023-04-22 canada.html                                   Canada Outbids US for Volkswagen Plant     By Ian Austen                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/busines
2023-04-21   2023-04-22 s/lyft-layoffs.html                           Lyft Plans To Cut Costs With Layoffs       By Kellen Browning              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/busines Price Increases Pad Procter amp Gambles
2023-04-21   2023-04-22 s/procter-gamble-3q-2023-earnings.html        Profits                                    By Lora Kelley                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/climate
2023-04-21   2023-04-22 /biden-environmental-justice.html             Environmental Justice Office Created       By Lisa Friedman                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/movies/
                        carmen-millepied-paul-mezcal-melissa-         A Choreographer Puts His View of Carmen in
2023-04-21   2023-04-22 barrera.html                                  Motion                                     By Roslyn Sulcas                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/movies/
2023-04-21   2023-04-22 evil-dead-rise-review.html                    This Time Its Splatter In the City         By Jason Zinoman                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/nyregio                                               By Grace Ashford and Nicholas
2023-04-21   2023-04-22 n/nancy-marks-santos-treasurer.html           ExSantos Aide Also Traveled A Murky Path Fandos                            TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/21/nyregio Commissioner to Decide Penalty for Police By Maria Cramer and Chelsia Rose
2023-04-21   2023-04-22 n/nypd-jeffrey-maddrey-keechant-sewell.html Chief                                       Marcius                       TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/21/nyregio
2023-04-21   2023-04-22 n/police-shooting-bronx-morrisania.html     Officer Shoots Bronx Man in Mental Distress By Lola Fadulu                TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/21/opinion Lets Protect Children at Least as Well as We
2023-04-21   2023-04-22 /gun-control-hunting.html                   Protect Ducks                               By Dan Ashe                   TX 9-292-487      2023-06-01

                        https://www.nytimes.com/2023/04/21/sports/b A Brief History of Ball Doctoring Denials
2023-04-21   2023-04-22 aseball/ball-doctoring-history-scherzer.html Excuses and Knowing Winks                 By Benjamin Hoffman               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/sports/f
                        ootball/nfl-suspensions-gambling-lions-      NFL Suspends 5 Players for Gambling and 3
2023-04-21   2023-04-22 commanders.html                              Are Out Indefinitely                      By Jenny Vrentas                  TX 9-292-487   2023-06-01



                                                                                Page 5127 of 5793
                        https://www.nytimes.com/2023/04/21/sports/g Seeking to Be Known for More Than Decisive
2023-04-21   2023-04-22 ervonta-davis-boxing.html                   Wins and Personal Missteps                 By Kris Rhim                      TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/21/technol
2023-04-21   2023-04-22 ogy/twitter-media-labels.html               Twitter Drops State Label For Media        By Michael Levenson               TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/21/us/21na After Boycotting Elite Schools Criticize New
2023-04-21   2023-04-22 t-us-news-rankings-law-medical-school.html Rankings                                     By Anemona Hartocollis           TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/21/us/charl Charles Stanley 90 Atlanta Pastor Who
2023-04-21   2023-04-22 es-stanley-dead.html                        Preached to the World Dies                  By Richard Sandomir              TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/21/us/conn One Dead as Tanker Explodes in
2023-04-21   2023-04-22 ecticut-goldstar-bridge-explosion-i-95.html ChainReaction Wreck                          By Liam Stack and Remy Tumin TX 9-292-487       2023-06-01
                        https://www.nytimes.com/2023/04/21/us/flori Ship Was Solution to Migrant Crisis With
2023-04-21   2023-04-22 da-migrants-ship-desantis.html              One Small Problem                            By Frances Robles                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/us/polit Biden Is Historically Coy About Meeting the
2023-04-21   2023-04-22 ics/biden-public-appearances-media.html     Press                                        By Michael D Shear               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/us/polit At Town Hall A Teenager Puts Christie Into a
2023-04-21   2023-04-22 ics/chris-christie-trump-election.html      Corner                                       By Trip Gabriel                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/us/polit GOP Debt Bill Focuses Largely On Fossil
2023-04-21   2023-04-22 ics/debt-ceiling-energy-policy.html         Fuels                                        By Jim Tankersley                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/us/polit Greeting Friendly Crowd After Week of
2023-04-21   2023-04-22 ics/desantis-trump-2024.html                Unwelcome News                               By Nicholas Nehamas              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/us/polit                                              By Aric Toler Malachy Browne and
2023-04-21   2023-04-22 ics/jack-teixeira-leaks-russia-ukraine.html Pentagon Leak Began Earlier Than Thought Julian E Barnes                      TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/21/us/polit Plan Promotes Medicaid For Treating Inmates
2023-04-21   2023-04-22 ics/prisons-opioid-addiction-treatment.html With Opioid Addictions                      By Noah Weiland                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/21/us/polit Red Cross Sounds Alarm Over Health Of
2023-04-21   2023-04-22 ics/red-cross-gitmo-health.html             Detainees                                   By Carol Rosenberg               TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/21/us/polit Justices For Now Safeguard Access To
2023-04-21   2023-04-22 ics/supreme-court-abortion-pill-access.html Abortion Pills                               By Abbie VanSickle              TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/21/us/polit US to Send Land Mines From the 60s To
2023-04-21   2023-04-22 ics/ukraine-weapons-land-mines.html         Ukraine                                      By John Ismay                   TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/21/us/trum Aides Testify Trump Knew Of Breaches In       By Richard Fausset and Danny
2023-04-21   2023-04-22 p-voting-software-2020-election.html        Vote Data                                    Hakim                           TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/21/world/a Sudans Warring Generals Ignore Calls for
2023-04-21   2023-04-22 frica/sudan-fighting-cease-fire-eid.html    CeaseFire at Ramadans End                    By Abdi Latif Dahir             TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/21/world/a Former Peruvian President Arrested in
2023-04-21   2023-04-22 lejandro-toledo-peru-corruption.html        Corruption Case                              By Bianca Padr Ocasio           TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/21/world/e                                               By Matina StevisGridneff Koba
2023-04-21   2023-04-22 urope/belgium-geel-psychiatric-care.html    Room Board and Love as Mental Health Care Ryckewaert and Ilvy Njiokiktjien   TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/21/world/e
                        urope/germany-1972-munich-olympics-         Berlin Names Panel of Experts to Investigate
2023-04-21   2023-04-22 attacks.html                                1972 Attack at the Munich Olympics           By Erika Solomon                TX 9-292-487    2023-06-01



                                                                               Page 5128 of 5793
                        https://www.nytimes.com/2023/04/21/world/e Decades After a Paris Synagogue Attack a
2023-04-21   2023-04-22 urope/paris-synagogue-bombing.html         Verdict                                     By Constant Mheut                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/world/e
                        urope/russia-wagner-group-hiv-prisoners-   Russian Prisoners Choose to Fight to Get
2023-04-21   2023-04-22 ukraine.html                               Lifesaving Drugs                            By Andrew E Kramer                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/world/e Deputy Prime Minister Quits After UK        By Mark Landler and Stephen
2023-04-21   2023-04-22 urope/uk-raab-resigns-bullying.html        Inquiry Into Bullying Scandal               Castle                              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/world/e Pentagon Delivers Tanks Quicker Than
2023-04-21   2023-04-22 urope/us-ukraine-tanks-jets.html           Expected But Refuses to Send Jets           By Helene Cooper                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/your-
2023-04-21   2023-04-22 money/cd-bank-interest-rates.html          Rates on CDs May Be Nearing the Peak        By Ann Carrns                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/us/abor After the Supreme Court Ruling Relief
2023-04-22   2023-04-22 tion-pill-supreme-court-reactions.html     Disappointment and Vows to Keep Fighting    By Ava Sasani                       TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/22/climate                                              By Cara Buckley and Jamie Kelter
2023-04-22   2023-04-22 /menominee-forest-sustainable-earth-day.html Who Will Harvest the Giving Forests Bounty Davis                              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/world/e German Judge Takes an Unapologetic Stand
2023-04-22   2023-04-22 urope/germany-legal-marijuana-judge.html     Against Cannabis Laws                      By Christopher F Schuetze          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/your-
2023-04-22   2023-04-22 money/sofi-student-loans-lawsuit.html        Why SoFi Is Telling Students to Pay Up     By Ron Lieber                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/20/books/c
2023-03-20   2023-04-23 atherine-lacey-biography-of-x.html           Alternate Reality                          By Dwight Garner                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/21/books/r
2023-03-21   2023-04-23 eview/walk-the-walk-neil-gross.html          Blue Review                                By Rosa Brooks                     TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/03/27/books/r
2023-03-27   2023-04-23 eview/tanya-poems-brenda-shaughnessy.html She Contains Multitudes                      By Amy Gerstler                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/27/books/r
2023-03-27   2023-04-23 eview/the-new-earth-jess-row.html           Dysfunction Junction                       By Leah Greenblatt                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/28/books/r
2023-03-28   2023-04-23 eview/adas-room-sharon-dodua-otoo.html      Reincarnations                             By Annalisa Quinn                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/books/b
2023-04-02   2023-04-23 lanche-dubois-nancy-schoenberger.html       Beyond the Kindness of Strangers           By Alexandra Jacobs                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/02/books/r
                        eview/a-fever-in-the-heartland-timothy-
2023-04-02   2023-04-23 egan.html                                   House of the Dragon                        By Jeff Shesol                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/04/books/r
2023-04-04   2023-04-23 eview/natural-beauty-ling-ling-huang.html   Under the Skin                             By Jazmine Hughes                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/06/style/so Why Do People Love This Tiny Doll With
2023-04-06   2023-04-23 nny-angels-dolls-tiktok.html                Wings                                      By Shane ONeill                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/books/r
2023-04-13   2023-04-23 eview/above-ground-clint-smith.html         Inside the List                            By Elisabeth Egan                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/13/style/es From SelfTaught Designer to SoughtAfter
2023-04-13   2023-04-23 e-azenabor-grembowski-bridal-designer.html Couturier                                   By Ivy Manners                      TX 9-292-487   2023-06-01



                                                                                Page 5129 of 5793
                        https://www.nytimes.com/2023/04/14/books/r
2023-04-14   2023-04-23 eview/the-wager-david-grann.html             Hell on the High Seas                        By Jennifer Szalai       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/magazi
2023-04-14   2023-04-23 ne/courts-power-government.html              Supreme Dilemma                              By Emily Bazelon         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/arts/mu
2023-04-15   2023-04-23 sic/joy-oladokun-proof-of-life.html          Joy Oladokuns Therapeutic FolkPop            By Marissa R Moss        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/15/style/m
2023-04-15   2023-04-23 arissa-zappas-perfume-museum-sex.html        The Loss of Innocence Is in the Air          By Trey Taylor           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/16/arts/tele
2023-04-16   2023-04-23 vision/anthony-carrigan-barry-hbo.html       A CharacterBuilding Experience               By Alexis Soloski        TX 9-292-487   2023-06-01

                        https://www.nytimes.com/interactive/2023/04/
2023-04-16   2023-04-23 16/nyregion/brooklyn-bridge-restoration.html The Brooklyn Bridge Gets a Facial            By Winnie Hu             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/arts/mu
2023-04-17   2023-04-23 sic/seal-30-anniversary-tour.html             Seals Imagination Is Sparked by ChatGPT     By Jeremy Gordon         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/opinion
2023-04-17   2023-04-23 /adolf-eichmann-tv-trial.html                 Adolf Eichmanns CloseUp                     By Tom Hurwitz           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/arts/des
2023-04-18   2023-04-23 ign/frank-auerbach.html                       Still Striving For an Image Thats Perfect   By Elizabeth Fullerton   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/arts/mu
                        sic/met-opera-peter-gelb-yannick-nezet-
2023-04-18   2023-04-23 seguin.html                                   The Mets Big Bet on Contemporary Opera      By Javier C Hernndez     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/books/r
2023-04-18   2023-04-23 eview/greek-lessons-han-kang.html             Speechless                                  By Idra Novey            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/books/r
                        eview/new-novels-about-family-ties-and-their-
2023-04-18   2023-04-23 many-hazards.html                             New Novels                                  By Mike Peed             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/magazi
2023-04-18   2023-04-23 ne/birdcast-birding.html                      BirdCast                                    By Ty Burr               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/magazi
2023-04-18   2023-04-23 ne/stan-culture-tv.html                       Fan Service                                 By Tomi Obaro            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/magazi
2023-04-18   2023-04-23 ne/twitter-dying.html                         What Was Twitter Anyway                     By Willy Staley          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/nyregio New York Is a Hellscape Republicans Say A
2023-04-18   2023-04-23 n/nyc-crime-republicans.html                  Cabby Told Them So                          By Ginia Bellafante      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/opinion
2023-04-18   2023-04-23 /global-crisis-future.html                    We Dont Know What Will Happen Next          By Jerome Roos           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/opinion
2023-04-18   2023-04-23 /heart-transplant-donor.html                  My Donor Heart And I Will Die Soon          By Amy Silverstein       TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/18/realesta
2023-04-18   2023-04-23 te/small-house-renovation-arlington-va.html How Much Color Can a House Display            By Tim McKeough          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/style/na
2023-04-18   2023-04-23 p-dress-hill-house.html                     A New Wedding Line With Cheekiness            By Emma Grillo           TX 9-292-487   2023-06-01




                                                                                 Page 5130 of 5793
                        https://www.nytimes.com/interactive/2023/din
2023-04-18   2023-04-23 ing/best-nyc-restaurants.html                The 100 Best Restaurants in New York City By Pete Wells                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/arts/kyl An Ancient Cups BitbyBit Rebirth And the By Graham Bowley and Tom
2023-04-19   2023-04-23 ix-cup-greek-metropolitan-museum.html        Story Thats Behind It                         Mashberg                    TX 9-292-487   2023-06-01
                                                                     Chance It The best thing on the menu can be a
                        https://www.nytimes.com/2023/04/19/magazi sleeper like citrusglazed turnips from a New
2023-04-19   2023-04-23 ne/citrus-glazed-turnips-recipe.html         Orleans seafood favorite                      By Eric Kim                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/magazi
2023-04-19   2023-04-23 ne/mark-bradford-art.html                    The Shadow and the Act                        By Ismail Muhammad          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/nyregio New Yorks Food Scraps Get Digested to
2023-04-19   2023-04-23 n/nyc-composting-food-waste.html             Make Gas for Homes                            By Robin Shulman Ageros     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/opinion
                        /oklahoma-bombing-oj-simpson-merrick-
2023-04-19   2023-04-23 garland.html                                 The Cost of Merrick Garlands Silence          By Jeffrey Toobin           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/opinion I Am Increasingly Ambivalent About My
2023-04-19   2023-04-23 /tiktok-mental-health.html                   Autism Diagnosis                              By Emma Camp                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/realesta
2023-04-19   2023-04-23 te/container-garden-ideas.html               Tips to Help Contain Your Enthusiasm          By Margaret Roach           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/style/st
2023-04-19   2023-04-23 udent-loan-co-signer.html                    Debt in the Family                            By Philip Galanes           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/style/ta
2023-04-19   2023-04-23 ylor-swift-mania.html                        Swifties Go to Great Lengths for a Sweatshirt By Madison Malone Kircher   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/theater/
2023-04-19   2023-04-23 chita-rivera-memoir.html                     Chita Rivera Is Finally Looking Back          By Juan A Ramrez            TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/19/us/terra Case of the Ugly Sweater And a Stolen Clay
2023-04-19   2023-04-23 cotta-thumb-trial-philadelphia-museum.html Thumb                                          By Mike Ives                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/health/
2023-04-20   2023-04-23 doctor-death-astrazeneca-covid-vaccine.html UK Mans Death Tied To Reaction to Vaccine By Michael Levenson              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/magazi
2023-04-20   2023-04-23 ne/judge-john-hodgman-nude-aging.html       Bonus Advice From Judge John Hodgman      By John Hodgman                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/magazi
                        ne/poem-i-want-something-other-than-                                                  By Lewis Freedman and Anne
2023-04-20   2023-04-23 time.html                                   Poem I Want Something Other Than Time     Boyer                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/magazi
2023-04-20   2023-04-23 ne/sandy-hook-mass-shooting-scenes.html     What Cant Be Unseen                       By Jay Kirk                      TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/movies/
2023-04-20   2023-04-23 are-you-there-god-its-me-margaret-film.html Once Banned But Now Adapted                   By Melena Ryzik              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/nyregio                                                By Corey Kilgannon and Dar
2023-04-20   2023-04-23 n/diamond-district-jewelers.html            TikTok Feuds in the Diamond District          Yaskil                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/opinion What Are the Plastic Particles In Our Bodies
2023-04-20   2023-04-23 /microplastics-health-environment.html      Doing to Us                                   By Mark OConnell             TX 9-292-487   2023-06-01




                                                                                 Page 5131 of 5793
                        https://www.nytimes.com/2023/04/20/opinion
                        /studying-learning-students-teachers-       There Are Better Ways to Study That Will
2023-04-20   2023-04-23 school.html                                 Last You a Lifetime                           By Daniel T Willingham           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/realesta
2023-04-20   2023-04-23 te/home-maintenance-costs.html              Maintenance Costs Are on the Rise             By Michael Kolomatsky            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/realesta
2023-04-20   2023-04-23 te/home-office-train-washington.html        When the Office Itself Makes a Commute        By Tim McKeough                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/sports/l                                               By David Segal and Paulo Nunes
2023-04-20   2023-04-23 imerick-hurling-nickie-quaid.html           A New Juggernaut in an Ancient Irish Sport    Dos Santos                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-       Anna Deavere Smith playwright and actress
                        magazine/anna-deavere-smith-michela-marino AND Michela Marino Lerman tap dancer
2023-04-20   2023-04-23 lerman.html                                 musician and choreographer                    By Maya Phillips                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-
                        magazine/bernardine-evaristo-lynette-       Bernardine Evaristo Writer and Lynette
2023-04-20   2023-04-23 linton.html                                 Linton Playwright and Director                By Jess Cole                     TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/t-       Danai Gurira actress and playwright and
2023-04-20   2023-04-23 magazine/danai-gurira-dominique-thorne.html Dominique Thorne actress                      By Nancy Coleman                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/t-     Denyce Graves Opera Singer and Director and
2023-04-20   2023-04-23 magazine/denyce-graves-symone-harcum.html Symone Harcum Opera Singer                  By Constance CR White                TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/t-        Emily Watson actress and AIsling Franciosi
2023-04-20   2023-04-23 magazine/emily-watson-aisling-franciosi.html actress                                      By Jessica Testa                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-
                        magazine/gabriela-camara-monica-lopez-       Gabriela Cmara chefand Monica Lpez
2023-04-20   2023-04-23 santiago.html                                Santiago chef                                By Michael Snyder                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-
                        magazine/gina-prince-bythewood-thuso-        Gina PrinceBythewood Screenwriter and
2023-04-20   2023-04-23 mbedu.html                                   director and Thuso Mbedu Actress             By Kate Guadagnino               TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/t-      Graciela Iturbide photographer and Maya
2023-04-20   2023-04-23 magazine/graciela-iturbide-maya-goded.html Goded photographer                          By Michael Snyder                   TX 9-292-487   2023-06-01
                                                                   Mouna Soualem actress The Night of the 12th
                        https://www.nytimes.com/2023/04/20/t-      2022 Hiam Abbass actress Succession 201823
                        magazine/hiam-abbass-succession-           and filmmaker Lina Soualem actress and
2023-04-20   2023-04-23 daughters.html                             filmmaker Their Algeria 2020                By Chlo Ashby                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-
                        magazine/howardena-pindell-melissa-        Howardena Pindell painter and Melissa Cody
2023-04-20   2023-04-23 cody.html                                  textile artist                              By Sandra E Garcia                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-
2023-04-20   2023-04-23 magazine/imogen-binnie-sybil-lamb.html     Imogen Binnie writer Nevada 2013            By Coco Romack                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-
                        magazine/irene-neuwirth-geraldine-         Geraldine Neuwirth painter Irene Neuwirth
2023-04-20   2023-04-23 jewelry.html                               jewelry designer                            By Ella RileyAdams                  TX 9-292-487   2023-06-01



                                                                                 Page 5132 of 5793
                                                                     Jahanara Nares multidisciplinary artist Zarina
                                                                     Nares audiovisual artistJamie Nares
                        https://www.nytimes.com/2023/04/20/t-        multidisciplinary artist Sasha DouglasNares
2023-04-20   2023-04-23 magazine/jamie-nares-daughters.html          not pictured photographer and textile artist   By Julia Halperin       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-        Madhur Jaffrey Actress and Writer and
                        magazine/japanese-breakfast-madhur-          Michelle Zauner aka Japanese Breakfast
2023-04-20   2023-04-23 jaffrey.html                                 SingerSongwriter and Writer                    By Jason Chen           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-
                        magazine/jeanette-winterson-eleanor-         Jeanette Winterson writer and Eleanor Shearer
2023-04-20   2023-04-23 shearer.html                                 writer                                        By Chlo Ashby            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-        Joy Harjo Poet and Writer and Layli Long
2023-04-20   2023-04-23 magazine/joy-harjo-layli-long-soldier.html   Soldier poet and Writer                       By Constance CR White    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-
                        magazine/juliette-lewis-sophie-thatcher-    Juliette Lewis singersongwriter and Actress
2023-04-20   2023-04-23 yellowjackets.html                          and Sophie Thatcher Actress                     By Ella RileyAdams      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-       Joan Baez SingerSongwriter and Visual Artist
2023-04-20   2023-04-23 magazine/lana-del-rey-joan-baez.html        and Lana Del Rey SingerSongwriter               By Nick Haramis         TX 9-292-487   2023-06-01
                                                                    Diane Ladd actress Alice Doesnt Live Here
                        https://www.nytimes.com/2023/04/20/t-       Anymore 1974 Laura Dern actress Marriage
2023-04-20   2023-04-23 magazine/laura-dern-diane-ladd.html         Story 2019                                      By Kate Guadagnino      TX 9-292-487   2023-06-01
                                                                    Laurie Simmons photographer and
                        https://www.nytimes.com/2023/04/20/t-       filmmakerLena Dunham writer director and
2023-04-20   2023-04-23 magazine/lena-dunham-laurie-simmons.html actor Girls 201217                                 By Kate Guadagnino      TX 9-292-487   2023-06-01
                                                                    Lynn Nottage playwright screenwriter and
                                                                    librettist of This House 2024 Ruby Aiyo
                        https://www.nytimes.com/2023/04/20/t-       Gerber poet nonfiction writer and librettist of
2023-04-20   2023-04-23 magazine/lynn-nottage-ruby-aiyo-gerber.html This House                                      By Constance CR White   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-       Margaret Atwood writerand Mona Awad
2023-04-20   2023-04-23 magazine/margaret-atwood-mona-awad.html writer                                              By Kate Guadagnino      TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/t-      Margaret Cho comedian and actress and
2023-04-20   2023-04-23 magazine/margaret-cho-atsuko-okatsuka.html Atsuko Okatsuka comedian                        By Juan A Ramrez         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-      Maria Grazia Chiuri Fashion Designer And
2023-04-20   2023-04-23 magazine/maria-grazia-chiuri-zadie-xa.html Zadie Xa Interdisciplinary Artist               By Laura May Todd        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-
                        magazine/marina-abramovic-sondra-          Marina Abramovi Conceptual Artistand
2023-04-20   2023-04-23 radvanovsky.html                           Sondra Radvanovsky Opera Singer                 By Zoey Poll             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-      Marlee Matlin actress and Teyana Taylor
2023-04-20   2023-04-23 magazine/marlee-matlin-teyana-taylor.html singersongwriter and actress                     By Jenny Comita          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-      Mira Nair Filmmaker and Aneeth Arora
2023-04-20   2023-04-23 magazine/mira-nair-aneeth-arora.html       Textile Maker and Fashion Designer              By Esha Mahajan          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-
2023-04-20   2023-04-23 magazine/naomi-watts-elle-fanning.html     Naomi Watts actressandElle Fanning actress      By Ella RileyAdams       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-      For Two Playwrights a Connection That
2023-04-20   2023-04-23 magazine/paula-vogel-sarah-ruhl.html       Began When One Made the Other Cry               By Nancy Coleman         TX 9-292-487   2023-06-01



                                                                                 Page 5133 of 5793
                        https://www.nytimes.com/2023/04/20/t-       Rita Dove poet and writer and Safiya Sinclair
2023-04-20   2023-04-23 magazine/rita-dove-safiya-sinclair.html     poet and writer                               By Jess Cole           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-       Ruth Rogers Chef and Nina Raine Playwright
2023-04-20   2023-04-23 magazine/ruth-rogers-nina-raine.html        and Director                                  By Kate Guadagnino     TX 9-292-487   2023-06-01
                                                                    Cheryl James AND Sandra Denton Aka
                        https://www.nytimes.com/2023/04/20/t-       SaltNPepa MUSICIANSand ISSA RAE
2023-04-20   2023-04-23 magazine/salt-n-pepa-issa-rae.html          Actress PRODUCER and screenwriter             By Sandra E Garcia     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-
                        magazine/sharon-d-clarke-alexia-            Sharon D Clarke actress and alexia Khadime
2023-04-20   2023-04-23 khadime.html                                actress                                    By Kate Guadagnino        TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/t-       Shirin Neshat Visual Artist and Filmmaker
2023-04-20   2023-04-23 magazine/shirin-neshat-emel-mathlouthi.html and Emel Mathlouthi Singersongwriter         By Sandra E Garcia      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-
2023-04-20   2023-04-23 magazine/sigrid-nunez-weike-wang.html       Sigrid Nunez writer and Weike Wang writer By Kate Guadagnino         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-       Tourmaline visual artistand Xoi Pham
2023-04-20   2023-04-23 magazine/tourmaline-xoai-pham.html          multidisciplinary artist                     By Coco Romack          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-       Ulla Johnson Fashion Designer and Raven
2023-04-20   2023-04-23 magazine/ulla-johnson-raven-leilani.html    Leilani writer                               By Ella RileyAdams      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-
                        magazine/wangechi-mutu-priscilla-           Wangechi Mutu Multimedia artist and
2023-04-20   2023-04-23 aleman.html                                 Priscilla Aleman Multimedia artist           By Kate Guadagnino      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/t-       Wu Tsang Multidisciplinary Artist and Klein
2023-04-20   2023-04-23 magazine/wu-tsang-klein.html                Musician and Filmmaker                       By Coco Romack          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/us/polit
                        ics/republicans-electability-trump-         DeSantiss Electability Pitch Wobbles Despite
2023-04-20   2023-04-23 desantis.html                               GOP Losses Under Trump                       By Shane Goldmacher     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/world/a
                        mericas/missing-americans-mexico-coast-     Search Halted For 3 Missing On Sailing Trip
2023-04-20   2023-04-23 guard.html                                  From Mexico                                  By Johnny Diaz          TX 9-292-487   2023-06-01

                        https://www.nytimes.com/interactive/2023/04/ Seeking a Fresh Start in Connecticut In a
2023-04-20   2023-04-23 20/realestate/connecticut-house-condo.html House or a Condo                              By Lisa Prevost         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/arts/dan                                              By Gia Kourlas and OK
2023-04-21   2023-04-23 ce/pageant-dance-space-brooklyn.html         Exploring Space Right in Brooklyn           McCausland              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/arts/dan Valda Setterfield 88 Star in Postmodern
2023-04-21   2023-04-23 ce/valda-setterfield-dead.html               Dance Firmament Dies                        By Alastair Macaulay    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/books/r
                        eview/dave-eggers-the-eyes-and-the-
2023-04-21   2023-04-23 impossible-brian-selznick-big-tree.html      The Essence of Life on Earth                By Nicola Davies        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/books/r
2023-04-21   2023-04-23 eview/new-crime-fiction.html                 Brave Dames and Moody Detectives            By Sarah Weinman        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/busines
                        s/economy/arthur-burns-inflation-paul-
2023-04-21   2023-04-23 volcker.html                                 Americas Inflation Antihero Gets a Makeover By Jeanna Smialek       TX 9-292-487   2023-06-01



                                                                                Page 5134 of 5793
                        https://www.nytimes.com/2023/04/21/busines Why Money Market Funds Are Now Leading
2023-04-21   2023-04-23 s/money-market-funds.html                  the Pack                               By Jeff Sommer                TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/21/busines
2023-04-21   2023-04-23 s/prenup-agreement-divorce-insurance.html Prenups Can Serve as a Vital Protection  By Caitlin Kelly             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/nyregio Let the Climate Games Begin Really They
2023-04-21   2023-04-23 n/earth-day-energetic-game.html            Could Help                              By Alyson Krueger            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/opinion Already ChatGPT Is Changing How I Do My
2023-04-21   2023-04-23 /chatgpt-journalism.html                   Job                                     By Farhad Manjoo             TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/21/opinion The Gravest Threats to Campus Speech Come
2023-04-21   2023-04-23 /free-speech-campus-states-not-students.html From States                             By Christina Paxson        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/opinion
                        /republicans-abortion-guns-big-
2023-04-21   2023-04-23 government.html                              Republicans Dont Hate Big Government    By Jamelle Bouie           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/realesta
2023-04-21   2023-04-23 te/actors-temporary-housing.html             Reliable Digs For Distant Gigs          By Joanne Kaufman          TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/21/realesta In Harlem a 19thCentury Home Thats
2023-04-21   2023-04-23 te/harlem-townhouse-sale-jenette-kahn.html Playfully Modern Inside                       By Vivian Marino       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/sports/b On a Champions Road to a Title the Road Is a
2023-04-21   2023-04-23 asketball/warriors-kings-game-3.html        Problem                                      By Kris Rhim           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/sports/s The Champions League Ventures Down
2023-04-21   2023-04-23 occer/champions-league-semifinals.html      Memory Lane                                  By Rory Smith          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/style/ca
                        ssidy-benn-and-marcini-grosvenor-           Living Apart Is a Challenge They Plan to
2023-04-21   2023-04-23 wedding.html                                Overcome                                     By Jenny Block         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/style/je
                        ssica-schoenfeld-zachary-sperling-          Couple Embrace Their Happy Place in
2023-04-21   2023-04-23 wedding.html                                Colorado                                     By Nia Decaille        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/style/ki Sometimes You Just Know This Is the One
2023-04-21   2023-04-23 m-france-paul-green-wedding.html            Right Away                                   By Tammy LaGorce       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/style/m
2023-04-21   2023-04-23 edia-layoffs-emma-choi-npr.html             College and a Media Job Both Over            By Callie Holtermann   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/style/m The Hot Vax Summer That Lived Up to Its
2023-04-21   2023-04-23 egan-oconnor-omar-elsayed-wedding.html      Hype                                         By Sadiba Hasan        TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/21/style/m Couples Therapist Heal Your Own
2023-04-21   2023-04-23 odern-love-couples-therapist-heal-thyself.html Relationship                              By Tonya Lester        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/style/st
2023-04-21   2023-04-23 ephanie-turner-paul-kremer-wedding.html        The Spilled Beer Was Nothing to Cry About By Vivian Ewing        TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/21/us/polit Top FAA Official Says He Will Depart as
2023-04-22   2023-04-23 ics/faa-leader-billy-nolen-resigns.html     Agency Faces Safety and Staffing Challenges By Mark Walker          TX 9-292-487   2023-06-01




                                                                                Page 5135 of 5793
                        https://www.nytimes.com/2023/04/22/busines
2023-04-22   2023-04-23 s/crypto-blockchain-tracking-chainalysis.html The Crypto Detectives Are Cleaning Up  By David YaffeBellany                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/busines
2023-04-22   2023-04-23 s/decarb-bros-climate-change.html             Do You Even Decarbonize Bro            By Nell Gallogly                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/climate New EPA Limits Target Emissions At Power By Coral Davenport and Lisa
2023-04-22   2023-04-23 /epa-power-plants-pollution.html              Plants                                 Friedman                                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/fashion
                        /weddings/new-york-bridal-fashion-            Finding That Perfect Look Or Maybe a
2023-04-22   2023-04-23 week.html                                     Variety                                By Ivy Manners                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/opinion
2023-04-22   2023-04-23 /american-shootings-guns.html                 A Gun at Home Makes Murder More Likely By Nicholas Kristof                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/opinion
2023-04-22   2023-04-23 /anti-abortion-florida-billboards.html        What Haunts Floridas Highways          By Damon Winter                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/opinion
2023-04-22   2023-04-23 /biden-challenger-2024.html                   Will Biden Face a Challenger           By Ross Douthat                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/opinion
2023-04-22   2023-04-23 /desantis-trump-2024.html                     DeSantiss Puddin Head Campaign         By Maureen Dowd                         TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/22/opinion
2023-04-22   2023-04-23 /earth-day-climate-change-meat-vegan.html Fix Your Diet Save The Planet                  By Peter Singer                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/opinion Biden Should Take Voters Concerns About
2023-04-22   2023-04-23 /editorials/biden-age.html                  Age Seriously                                By The Editorial Board              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/opinion
2023-04-22   2023-04-23 /the-fearful-verses-of-tucker-carlson.html  Tucker Carlson Doom Poet                     By Hart Seely                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/realesta The Elevator Is Down Again Can We Get
2023-04-22   2023-04-23 te/elevator-broken-senior-citizens.html     Out of Our Lease                             By Anna Kod                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/sports/b Another Weekend Another Historic Field In
2023-04-22   2023-04-23 oston-marathon-women.html                   Womens Marathon                              By Talya Minsberg                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/22/sports/f Suspensions Show How NFL Sends Mixed By Jenny Vrentas Ken Belson and
2023-04-22   2023-04-23 ootball/nfl-gambling-betting-suspensions.html Message on Betting                           Kevin Draper                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/style/ki As a Coronation Approaches the Merch
2023-04-22   2023-04-23 ng-charles-souvenirs.html                     Comes Fast                                   By Chris Mandle                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/theater/ Barry Humphries Dame Edna to You Possums
2023-04-22   2023-04-23 barry-humphries-dead.html                     Is Dead at 89                                By Margalit Fox                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/us/calif In California Uncle Fuzzy and the Gang
2023-04-22   2023-04-23 ornia-gold-prospectors.html                   Scoop Up Flood Gold                          By Thomas Fuller and Jim Wilson   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/us/polit
                        ics/abortion-politics-2024-republicans-       Almost a Year After Roe Reversal Abortion Is
2023-04-22   2023-04-23 democrats.html                                the Center of 2024 Races                     By Katie Glueck                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/22/us/polit
2023-04-22   2023-04-23 ics/supreme-court-abortion-pill-roe-wade.html Ruling on Pill Puts Prudence Above Power   By Adam Liptak                      TX 9-292-487   2023-06-01




                                                                                 Page 5136 of 5793
                        https://www.nytimes.com/2023/04/22/us/polit Tennessee GOP Exits Legislative Session
2023-04-22   2023-04-23 ics/tennessee-republicans-gun-control.html  Early Punting on Gun Issue                 By Emily Cochrane               TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/22/us/polit Arms From West Fall Short of Kyivs Needs
2023-04-22   2023-04-23 ics/ukraine-western-weapons-supplies.html Leak Reveals                                 By Lara Jakes and John Ismay    TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/22/world/a                                           By Charlie Savage Michael D Shear
2023-04-22   2023-04-23 frica/sudan-fighting.html                  Evacuations Imperiled Amid Chaos in Sudan Elian Peltier and Declan Walsh    TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/22/world/a
2023-04-22   2023-04-23 frica/sudan-war-international-relations.html External Forces Pushed Sudan Toward a War By Declan Walsh                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/world/a
                        ustralia/ww2-pows-shipwreck-japan-
2023-04-22   2023-04-23 australia.html                               A Japanese Ship Torpedoed in 1942 Is Found By Mike Ives                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/world/c
                        anada/indigenous-languages-mohawk-           Cracking the Rosetta Stone of a Dying
2023-04-22   2023-04-23 canada.html                                  Language in Canada                         By Ian Austen                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/world/e Ukraine Bans The Naming Of Locations In By Jeffrey Gettleman and Olha
2023-04-22   2023-04-23 urope/zelensky-russian-ban-ukraine.html      Russian                                    Kotiuzhanska                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/busines
                        s/the-week-in-business-fox-news-
2023-04-23   2023-04-23 dominion.html                                The Week in Business A Trial With a Twist By Marie Solis                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/health/s
                        acklers-opioids-national-academies-          Group That Advises US on Opioids Took
2023-04-23   2023-04-23 science.html                                 Millions From Sacklers                     By Christina Jewett            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/insider/
2023-04-23   2023-04-23 t-magazine-female-artists.html               Creativity Backward and Forward in Time    By Vivian Ewing                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/insider/
                        yellow-plus-blue-one-answer-so-many-         Word Through The Times Tracing How One
2023-04-23   2023-04-23 meanings.html                                Word Has Changed Throughout Our Report By Sarah Diamond                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/nyregio
2023-04-23   2023-04-23 n/maneesh-goyal-sona-temple-bar.html         Lots of Family Time for a Restaurateur     By Kaya Laterman               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/style/ch
2023-04-23   2023-04-23 ampion-met-opera-new-museum-gala.html        Knockout Styles For a Premiere             By Katie Van Syckle            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/style/su
2023-04-23   2023-04-23 preme-los-angeles-sunset-boulevard.html      Supreme Rolls to the Sunset Strip          By Max Berlinger               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/us/uva- Alumnus Fights Diversity Effort From the
2023-04-23   2023-04-23 diversity-board-bert-ellis.html              Inside                                     By Stephanie Saul              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/world/e
                        urope/italy-climate-drought-da-vinci-ferry-  Leonardos Ferry Left High and Dry in a
2023-04-23   2023-04-23 imbersago.html                               Warming Climate                            By Jason Horowitz              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/01/world/e The Happiest Country Says Joy Is             By Penelope Colston and Jake
2023-04-01   2023-04-24 urope/finland-happiness-optimism.html        Complicated                                Michaels                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/10/crossw
2023-04-10   2023-04-24 ords/games-digits-beta.html                  How The Times Puts New Games to the Test By Deb Amlen                     TX 9-292-487   2023-06-01



                                                                                Page 5137 of 5793
                        https://www.nytimes.com/2023/04/13/busines
                        s/economy-black-women-labor-union-janelle- Black Women Best Lifting Up the
2023-04-13   2023-04-24 jones.html                                  Marginalized Through Economic Mobility         By Lydia DePillis                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/17/arts/ber Bernice Rose 87 Curator Who Recognized
2023-04-17   2023-04-24 nice-rose-dead.html                         and Elevated the Art of Drawing                By Carol Vogel                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/nyregio John J Doherty a Sanitation Stalwart for a
2023-04-18   2023-04-24 n/john-j-doherty-dead.html                  HalfCentury Dies at 84                         By Sam Roberts                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/arts/mu Celebrating Tito Puente as the King of Latin
2023-04-19   2023-04-24 sic/tito-puente-centennial.html             Music                                          By Ed Morales                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/us/polit
                        ics/farmer-suicide-depression-wisconsin-    A Farmers Suicide Compels His Widow To
2023-04-19   2023-04-24 rural.html                                  Fight for Others                               By Elizabeth Williamson          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/books/h Helen Barolini Author And Feminist
2023-04-20   2023-04-24 elen-barolini-dead.html                     Chronicler Of Italians Dies at 97              By Alex Williams                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/20/busines
2023-04-20   2023-04-24 s/electric-vehicle-tax-credits-consumers.html Credits and Debits of EV Shopping            By Lawrence Ulrich               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/movies/
                        evil-dead-rise-interview-alyssa-sutherland-and
2023-04-21   2023-04-24 lily-sullivan.html                             Actresses Find Joy In Evil Experience       By Erik Piepenburg               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/travel/
2023-04-21   2023-04-24 missed-flights-rules-advice.html               Help Spirit Airlines Left Us in Guatemala   By Seth Kugel                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/arts/irel
2023-04-22   2023-04-24 and-blindboy-podcast.html                      Under the Bag a Podcaster Is an Open Book   By Rachel Connolly               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/books/b Florida at Center of Debate as School Book      By Patricia Mazzei Elizabeth A
2023-04-22   2023-04-24 ook-ban-florida.html                           Bans Surge Nationally                       Harris and Alexandra Alter       TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/22/busines One StartUp Thinks Text Messages Could Be By Andrew Ross Sorkin Ephrat
2023-04-22   2023-04-24 s/dealbook/text-messages-community.html    Next Social Media                         Livni and Sarah Kessler                TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/22/busines
2023-04-22   2023-04-24 s/media/fox-news-dominion-settlement.html After Lawsuit Fox Is Unlikely To See Change By Jeremy W Peters                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/health/t Many States Try to Limit Gender Care for
2023-04-22   2023-04-24 ransgender-adults-treatment-bans.html       Adults                                    By Azeen Ghorayshi                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/nyregio
                        n/co-ed-swim-class-stuyvesant-high-
2023-04-22   2023-04-24 school.html                                 Muslim Students Balk At Coed Swim Classes By Troy Closson                       TX 9-292-487   2023-06-01
                                                                    Overlooked No More Elizabeth Wagner Reed
                        https://www.nytimes.com/2023/04/22/obituari Who Resurrected Legacies of Women in
2023-04-22   2023-04-24 es/elizabeth-wagner-reed-overlooked.html    Science                                   By Rachel May                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/opinion Religion Has Friends in High Places Within
2023-04-22   2023-04-24 /supreme-court-religion.html                Americas Judiciary                        By Linda Greenhouse                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/sports/b
2023-04-22   2023-04-24 asketball/nhl-nba-playoffs-new-york.html    In New York Fans Party Like Its 1994      By David Waldstein                    TX 9-292-487   2023-06-01




                                                                                  Page 5138 of 5793
                        https://www.nytimes.com/2023/04/22/us/polit Biden in 2024 Older Voters Say Hes Fine to
2023-04-22   2023-04-24 ics/biden-2024-campaign-seniors.html        Oh God                                       By Katie Glueck                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/us/polit While DeSantis Faces Sharp Scrutiny Trump
2023-04-22   2023-04-24 ics/desantis-trump-republicans.html         Is Still Graded on a Curve                   By Maggie Haberman                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/world/e
                        urope/russia-technocrats-putin-ukraine-     Government Workers Are Enabling Putins
2023-04-22   2023-04-24 war.html                                    War                                          By Anatoly Kurmanaev               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/arts/dan
2023-04-23   2023-04-24 ce/review-ballet-de-lorraine.html           A Ballet Company Engages the Past            By Gia Kourlas                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/arts/des
                        ign/russian-museums-after-
2023-04-23   2023-04-24 impressionism.html                          A Canvas Curtain Descends                    By Alex Marshall                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/23/arts/mu
2023-04-23   2023-04-24 sic/julius-eastman-wild-up-92nd-street-y.html Giving a Black Queer Composer His Due        By Seth Colter Walls             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/arts/mu
                        sic/la-boheme-yannick-nezet-seguin-met-
2023-04-23   2023-04-24 opera-review.html                             Star Treatment for an Old Standby            By Zachary Woolfe                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/busines Bed Bath Chain To Start Process Of Closing By Jordyn Holman and Lauren
2023-04-23   2023-04-24 s/bed-bath-beyond-bankruptcy.html             Shop                                         Hirsch                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/busines                                                 By Benjamin Mullin John Koblin
2023-04-23   2023-04-24 s/media/jeff-shell-nbc-comcast.html           CEO Leaving NBCUniversal After an Inquiry and Nicole Sperling                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/nyregio Prospective Menthol Ban Divides Black
2023-04-23   2023-04-24 n/menthol-ban-black-smokers.html              Leaders                                      By Luis FerrSadurn               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/opinion
2023-04-23   2023-04-24 /guns-shootings-stand-your-ground.html        Gun Idolatry Is Destroying the Case for Guns By David French                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/opinion
2023-04-23   2023-04-24 /sudan-violence-conflict.html                 The Violence in Sudan Is Partly Our Fault    By Jacqueline Burns              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/sports/b Guerrero a Blue Jays Superstar Thrives on
2023-04-23   2023-04-24 aseball/vladimir-guerrero-jr-yankees.html     Bronx Cheers                                 By Tyler Kepner                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/sports/d Davis Floors Garcia But His Legal Troubles
2023-04-23   2023-04-24 avis-garcia.html                              Make the Future Unclear                      By Morgan Campbell               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/sports/s In Marathon Debut a Track Star Falls Behind
2023-04-23   2023-04-24 ifan-hassan-london-marathon.html              Stops and Wins                               By Andrew Das                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/sports/s A Spanish Team Endures on a Toehold in         By James Montague and Samuel
2023-04-23   2023-04-24 occer/cueta-soccer-migrants.html              Africa                                       Aranda                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/us/bide Biden is Opening Legal Pathways For
2023-04-23   2023-04-24 n-immigration-humanitarian-parole.html        Immigration                                  By Miriam Jordan                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/us/kans In Kansas City Wrong Door Shooting Renews
2023-04-23   2023-04-24 as-city-shooting-race.html                    Questions About Racism                       By Mitch Smith                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/us/naac NAACP Suit Takes Aim At 2 New                   By Neelam Bohra and Eliza
2023-04-23   2023-04-24 p-mississippi-reeves-lawsuit.html             Mississippi Laws                             Fawcett                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/us/polit
                        ics/iowa-faith-freedom-coalition-trump-
2023-04-23   2023-04-24 pence.html                                    Republican NoShows Loom Large in Iowa        By Jonathan Weisman              TX 9-292-487   2023-06-01



                                                                                 Page 5139 of 5793
                        https://www.nytimes.com/2023/04/23/us/repu New GOP Tactic Keep Abortion Off the             By Kate Zernike and Michael
2023-04-23   2023-04-24 blicans-abortion-voting.html               Ballot                                           Wines                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/world/a
                        frica/sudan-evacuation-american-embassy-   Exodus in Sudan After US Ushers Envoys to        By Declan Walsh Charlie Savage
2023-04-23   2023-04-24 diplomats.html                             Safety                                           and Eric Schmitt                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/world/a
2023-04-23   2023-04-24 sia/myanmar-election-official-killed.html  Men on Bike Kill Myanmar Election Official       By Richard C Paddock             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/world/e                                                  By Mara Hvistendahl and Benjamin
2023-04-23   2023-04-24 urope/chinese-censorship-covid.html        China Censors Are Thwarting Covid Science        Mueller                          TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/23/world/e Kyiv Accuses Russian Soldiers of Evacuating By Jeffrey Gettleman and Olha
2023-04-23   2023-04-24 urope/ukraine-russia-kherson.html            Civilians From Territory Near Kherson      Kotiuzhanska                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/world/
                        middleeast/israel-memorial-day-independence-A Deep Political Rift Is Overshadowing
2023-04-23   2023-04-24 day.html                                     Israels Observances                        By Isabel Kershner                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/theater/
2023-04-24   2023-04-24 prima-facie-review-jodie-comer.html           She Makes The Case And Finds It Difficult By Jesse Green                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/arts/tele
                        vision/whats-on-tv-this-week-tom-jones-and-                                             By Kristen Bayrakdarian and
2023-04-24   2023-04-24 couples-therapy.html                         This Week on TV                            Taylor Robinson                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/busines Staying Home and Missing Benefits of the     By Emma Goldberg and Ben
2023-04-24   2023-04-24 s/remote-work-feedback.html                  Office                                     Casselman                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/sports/b
                        asketball/nba-crypto-arena-lakers-clippers-  Extreme Makeover Home Arena Edition        By Tania Ganguli and Mark
2023-04-24   2023-04-24 kings.html                                   Night After Night in LA                    Abramson                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/sports/b
                        asketball/sacramento-kings-warriors-nba-     Sacramento Finally Has a Season Worth
2023-04-24   2023-04-24 playoffs.html                                Clanging About                             By Kurt Streeter                     TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/24/world/e For Early Signs of a Destroyed Villages          By Andrew E Kramer Maria
2023-04-24   2023-04-24 urope/ukraine-villages-ritual-cemeteries.html Revival Look to the Cemetery                  Varenikova and Mauricio Lima     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/well/m
2023-04-12   2023-04-25 ove/kettlebells-weight-training.html          Ring In Exercise With Kettlebells             By Hilary Achauer                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/13/well/eat 2 States Weigh Bans on Common Food
2023-04-13   2023-04-25 /food-additive-ban.html                       Additives                                     By Dana G Smith                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/14/well/liv Take Steps to Minimize Risk as Strep Cases
2023-04-14   2023-04-25 e/strep-throat-symptoms-tests.html            Rise                                          By Dani Blum                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/well/liv
2023-04-18   2023-04-25 e/arthritis-prevention-symptoms.html          Is Arthritis Avoidable                        By Jyoti Madhusoodanan           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/arts/mu
2023-04-19   2023-04-25 sic/tobias-rahim-danish-pop.html              A Danish Pop Star Wants to Go Global          By Alex Marshall                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/science Turning Gray When Busy Stem Cells Tire
2023-04-19   2023-04-25 /gray-hair-stem-cells.html                    Hair Begins to Lose Its Color                 By Kate Golembiewski             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/well/ad
2023-04-19   2023-04-25 ult-allergies.html                            Adult Allergies Defy Scientific Explanation   By Hannah Seo                    TX 9-292-487   2023-06-01



                                                                                  Page 5140 of 5793
                        https://www.nytimes.com/2023/04/20/arts/lor Loren Cameron Who Put Transgender Beauty
2023-04-20   2023-04-25 en-cameron-dead.html                         Into Focus Dies at 63                     By Penelope Green                TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/20/arts/tele
                        vision/daisy-may-cooper-am-i-being-
2023-04-20   2023-04-25 unreasonable.html                            Good Friend Bad Marriage And Laughs       By Simran Hans                   TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/20/science Plenty of Rest on Land Short Naps
2023-04-20   2023-04-25 /elephant-seals-sleep-dive.html              Underwater                                By Annie Roth                    TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/20/science Parental Cannibalism Under Pressure Some
2023-04-20   2023-04-25 /salamander-dads-cannibals.html              Male Salamanders Consume Their Young      By Elie Dolgin                   TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/21/movies/
                        horror-breastfeeding-barbarian-infinity-
2023-04-21   2023-04-25 pool.html                                    A Tender Maternal Act Subverted to Horror By Kyle MacNeill                 TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/21/us/spac After Rocket Launch a Town Is Covered in
2023-04-21   2023-04-25 ex-rocket-dust-texas.html                    Dust                                      By Livia AlbeckRipka             TX 9-292-487     2023-06-01

                        https://www.nytimes.com/interactive/2023/04/
2023-04-21   2023-04-25 21/science/parrots-video-chat-facetime.html Polly Wants a Video Chat                     By Emily Anthes                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/health/s They Know Your Face Maybe Not Your
2023-04-22   2023-04-25 eniors-acquaintances-happiness.html          Name                                        By Paula Span                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/insider/
2023-04-22   2023-04-25 coolsculpting-investigation.html             Digging Into a Popular FatZapping Procedure By Anna Kod                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/arts/mu
                        sic/review-hamburg-philharmonic-state-
2023-04-23   2023-04-25 orchestra-carnegie-hall.html                 After a Long Absence an Ambitious Return By Anastasia Tsioulcas              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/world/e                                               By Yousur AlHlou and Masha
2023-04-23   2023-04-25 urope/soldier-ukraine-russia-war.html        Evacuating Wounded And Trying To Endure Froliak                              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/arts/dan
                        ce/review-kathy-westwater-chocolate-
2023-04-24   2023-04-25 factory.html                                 Thrown Off Balance To Teeter and Flail      By Siobhan Burke                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/arts/des
2023-04-24   2023-04-25 ign/museum-met-guard-art.html                Making Art by Day Guarding It by Night      By Robin Pogrebin                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/arts/tele
2023-04-24   2023-04-25 vision/len-goodman-dead.html                 Len Goodman 78 Star Judge of Dancing        By Jenny Gross                   TX 9-292-487   2023-06-01
                                                                     Apple Prevails in Appeal of Epic Games App
                        https://www.nytimes.com/2023/04/24/busines Store Suit as Panel Says It Didnt Violate
2023-04-24   2023-04-25 s/apple-epic-games-appeal.html               Antitrust Law                               By Kellen Browning               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/busines
                        s/bed-bath-beyond-customers-                                                             By Jordyn Holman Lora Kelley and
2023-04-24   2023-04-25 bankruptcy.html                              A Scramble To Use Up All Those Coupons Lauren Hirsch                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/busines Britain and the Netherlands Agree on a North
                        s/britain-netherlands-north-sea-power-       Sea Power Link in Step Toward Countering
2023-04-24   2023-04-25 link.html                                    Russia                                      By Stanley Reed                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/busines
                        s/david-solomon-goldman-sachs-               Not Just a DJ Chief of Goldman Sachs Also
2023-04-24   2023-04-25 discovery.html                               Dabbles in Luxury Real Estate               By Emily Flitter                 TX 9-292-487   2023-06-01



                                                                               Page 5141 of 5793
                        https://www.nytimes.com/2023/04/24/busines In Credit Suisses Final Days 69 Billion Raced
2023-04-24   2023-04-25 s/dealbook/credit-suisse-withdrawals.html   for the Exit                                 By Michael J de la Merced        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/busines                                               By Maureen Farrell and Rob
2023-04-24   2023-04-25 s/economy/first-republic-earnings.html      Lender Loses 102 Billion In Deposits         Copeland                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/busines                                               By Michael M Grynbaum John
2023-04-24   2023-04-25 s/media/don-lemon-cnn.html                  Lemon Out At CNN He Says He Is Stunned Koblin and Benjamin Mullin             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/busines
                        s/media/michael-schumacher-ai-fake-         German Magazine Editor Loses Job Over
2023-04-24   2023-04-25 interview.html                              Faked Driver Interview                       By Amanda Holpuch                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/busines Sudden Exit Of Host Stuns People Close To By Jonathan Swan and Maggie
2023-04-24   2023-04-25 s/media/trump-tucker-carlson-fox.html       Trump                                        Haberman                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/busines                                               By Jeremy W Peters Katie
                        s/media/tucker-carlson-fox-news-            Fox News Ousts Carlson a Voice Of the Far Robertson and Michael M
2023-04-24   2023-04-25 dismissal.html                              Right                                        Grynbaum                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/busines
                        s/nbcuniversal-jeff-shell-sexual-           NBCUniversal Fired CEO After Complaint
2023-04-24   2023-04-25 harassment.html                             Of Harassment                                By Benjamin Mullin               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/busines Local Banks Claim Crisis Is Contained Fears By Jason Karaian and Stacy
2023-04-24   2023-04-25 s/regional-banks-crisis.html                Persist                                      Cowley                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/climate For Young Voters Biden Backing Willow
2023-04-24   2023-04-25 /willow-biden-climate-voters.html           Drilling Casts Long Shadow                   By Lisa Friedman                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/health/j
2023-04-24   2023-04-25 udith-herman-trauma.html                    From Pain Perspective                        By Ellen Barry                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/nyregio Coming Soon to Governors Island A 700         By Emma G Fitzsimmons and Dana
2023-04-24   2023-04-25 n/climate-hub-governors-island.html         Million Living Laboratory                    Rubinstein                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/nyregio 2 NYPD Officers Killed A Man Who Had a By Maria Cramer and Chelsia Rose
2023-04-24   2023-04-25 n/nypd-officer-shooting-discipline.html     Knife Will They Be Fired                     Marcius                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/nyregio Amid Legal Onslaught Trump Faces a Suit
2023-04-24   2023-04-25 n/trump-e-jean-carroll-trial.html           Accusing Him of Rape                         By Benjamin Weiser               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/opinion
2023-04-24   2023-04-25 /biden-trump-desantis-abortion.html         Biden Has Something Hed Like to Tell You By Gail Collins and Bret Stephens TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/24/opinion
                        /hillary-clinton-debt-ceiling-republican-   The GOPs DebtCeiling Games Threaten
2023-04-24   2023-04-25 dollar.html                                 National Security                            By Hillary Clinton               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/opinion
2023-04-24   2023-04-25 /new-york-city-affordability-housing.html   Whats the Matter With New York               By Paul Krugman                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/opinion
2023-04-24   2023-04-25 /tucker-carlson-fox-news-dominion.html      Justice for Tucker Carlson                   By Michelle Goldberg             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/science
2023-04-24   2023-04-25 /chess-games-adolescents.html               Addicted to Playing Chess Its All by Design By Matt Richtel                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/science
2023-04-24   2023-04-25 /leafcutter-ants-museum-insectarium.html    Making 500000 Ants Feel Right at Home        By Emily Anthes and Todd Heisler TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/24/sports/b With New Stadium As Can Be Winner Again
2023-04-24   2023-04-25 aseball/las-vegas-athletics-rob-manfred.html Commissioner Says                      By Benjamin Hoffman                 TX 9-292-487     2023-06-01



                                                                               Page 5142 of 5793
                        https://www.nytimes.com/2023/04/24/sports/b
2023-04-24   2023-04-25 asketball/ime-udoka-houston-rockets.html    Udoka Is Set To Be Coach For Rockets       By Sopan Deb                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/sports/f
                        ootball/aaron-rodgers-jets-green-bay-
2023-04-24   2023-04-25 packers.html                                Jets Finally Get Their New No 12           By Kris Rhim                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/sports/o Herb Douglas 101 Olympic Medalist Inspired
2023-04-24   2023-04-25 lympics/herb-douglas-dead.html              by Encounter With Jesse Owens              By Frank Litsky                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/sports/s
                        occer/wrexham-promoted-ryan-reynolds-rob- What Comes Next When Wrexham Takes Its
2023-04-24   2023-04-25 mcelhenney.html                             Show to a Larger Stage                     By Victor Mather                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/theater/
2023-04-24   2023-04-25 dame-edna-broadway.html                     Lots of Egomania And Lots of Laughs        By Ben Brantley                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/theater/ Megan Terry 90 Dies A Feminist Innovator
2023-04-24   2023-04-25 megan-terry-dead.html                       Of the Rock Musical                        By Anita Gates                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/us/breo A New Role for the Detective Who Killed     By Kevin Williams and Nicholas
2023-04-24   2023-04-25 nna-taylor-police-officer-kentucky.html     Breonna Taylor                             BogelBurroughs                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/24/us/elect Court to Weigh Officials Right To Block
2023-04-24   2023-04-25 ed-officials-social-media-supreme-court.html Critics On Social Sites                   By Adam Liptak                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/24/us/polit What a Scalia Memo Says About Thomass
2023-04-24   2023-04-25 ics/antonin-scalia-clarence-thomas.html      Free Travels                              By Adam Liptak                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/24/us/polit Bidens Complex Bid Defending His Record
2023-04-24   2023-04-25 ics/biden-2024-campaign.html                 and Warning of Trump                      By Michael D Shear              TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/24/us/polit Despite Doubts Democrats Look to Biden for
2023-04-24   2023-04-25 ics/biden-2024-democrats.html                24                                        By Shane Goldmacher             TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/24/us/polit Guantnamo Prosecutor Is Seeking a 2025
2023-04-24   2023-04-25 ics/guantanamo-trial-bali-bombing.html       Trial In the Bali Bombing Case            By Carol Rosenberg              TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/24/us/polit
                        ics/justice-dept-cryptocurrency-north-       4 Indicted For Assisting North Korea In
2023-04-24   2023-04-25 korea.html                                   Scheme                                    By Glenn Thrush                 TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/24/us/polit Closing Arguments Underway in Sedition
2023-04-24   2023-04-25 ics/proud-boys-jan-6-sedition-trial.html     Trial                                     By Alan Feuer                   TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/24/us/polit Rice Will Step Down Next Month as Bidens By Zolan KannoYoungs and Eileen
2023-04-24   2023-04-25 ics/susan-rice-biden.html                    Domestic Policy Adviser                   Sullivan                        TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/24/us/polit
                        ics/trump-senate-endorsement-                Influential GOP Senator Endorses Trump    By Jonathan Swan Shane
2023-04-24   2023-04-25 fundraising.html                             2024 Bid                                  Goldmacher and Maggie Haberman TX 9-292-487     2023-06-01
                                                                                                               By Julian E Barnes Eric Schmitt
                        https://www.nytimes.com/2023/04/24/us/polit                                            Adam Entous and Thomas
2023-04-24   2023-04-25 ics/ukraine-russia-war-spring-offensive.html Battle Looms And for Kyiv Immense Risks GibbonsNeff                       TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/24/us/trum Atlanta Prosecutor Sets A Timetable to      By Richard Fausset and Danny
2023-04-24   2023-04-25 p-investigation-georgia.html                 Decide On Charges for Trump               Hakim                           TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/24/world/a
                        frica/burkina-faso-military-killings-         Scores Killed in Burkina Faso By Men in
2023-04-24   2023-04-25 civilians.html                               Military Uniforms                         By Elian Peltier                TX 9-292-487    2023-06-01



                                                                               Page 5143 of 5793
                        https://www.nytimes.com/2023/04/24/world/a
                        frica/kenya-pastor-good-news-international- Kenyan Pastor Encouraged Starving Deaths
2023-04-24   2023-04-25 church.html                                 Police Say                                  By Cora Engelbrecht              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/world/a Civilians Fleeing Sudan May Strain           By Abdi Latif Dahir and Lynsey
2023-04-24   2023-04-25 frica/sudan-war-civilians.html              Resources in Neighboring Countries          Chutel                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/world/a
2023-04-24   2023-04-25 sia/china-chatbots-ai.html                  Chinese Chatbots Must Toe Party Line        By Chang Che                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/world/a Editor at Communist Party Paper Accused of
2023-04-24   2023-04-25 sia/china-journalist-dong-yuyu.html         Espionage                                   By Vivian Wang                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/world/a DeSantis a Foreign Policy Enigma Praises     By Motoko Rich and Nicholas
2023-04-24   2023-04-25 sia/ron-desantis-japan.html                 USJapan Ties                                Nehamas                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/world/a With Election Looming Thailands Most         By SuiLee Wee and Muktita
2023-04-24   2023-04-25 sia/thailand-shinawatra-election.html       Polarizing Family Rises Again               Suhartono                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/world/e
                        urope/belgium-miller-high-life-             Cans of Miller High Life Champagne of Beers
2023-04-24   2023-04-25 champagne.html                              Crushed by European Regulators              By Emma Bubola                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/24/world/e China Tries to Curb Harm From Envoys
2023-04-24   2023-04-25 urope/china-ambassador-soviet-states.html  Gaffe                                       By Steven Erlanger                TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/24/world/e Russia Uses Post at UN To Flip Ukraine
2023-04-24   2023-04-25 urope/russia-un-security-council-lavrov.html Narrative                                   By Farnaz Fassihi               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/article/tree-of-life- Selection of Jury Begins In Synagogue
2023-04-24   2023-04-25 shooting-trial.html                           Massacre                                   By Campbell Robertson           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/busines
                        s/media/tucker-carlson-fox-news-dismissed-
2023-04-25   2023-04-25 controversy.html                              A Pundit Rose By Drawing In Trump Voters By Nicholas Confessore            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/theater/
2023-04-25   2023-04-25 good-night-oscar-review-sean-hayes.html       The Jangled Nerves of a Nations Id         By Jesse Green                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/health/a
2023-04-25   2023-04-25 frica-vaccine-independence.html               Africas Vaccine Ambitions                  By Stephanie Nolen              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/sports/f Trying to Go Beyond the Stats a League
2023-04-25   2023-04-25 ootball/nfl-draft-coverage-criticism.html     Realizes It Sometimes Goes Too Far         By Ken Belson                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/world/e Allies Took In Ukraines Grain as Theirs Piled
2023-04-25   2023-04-25 urope/ukraine-grain-deal-romania.html         Up                                         By Andrew Higgins               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/dining/
2023-04-20   2023-04-26 blue-cocktails-nyc.html                       Bars Give Blue Cocktails the Green Light   By Robert Simonson              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/dining/
2023-04-20   2023-04-26 dog-menus-restaurants.html                    Begging for Treats Ask for the Dog Menu    By Christina Morales            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/dining/
2023-04-20   2023-04-26 mustard-oil.html                              Mustard Oils Heightened Profile            By Priya Krishna                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/dining/
2023-04-21   2023-04-26 bulgogi-recipe.html                           Classic Korean Dish Easy Spring Dinner     By Melissa Clark                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/article/how-to-
2023-04-21   2023-04-26 freeze-food-freezer-meals.html                Some Cold Hard Facts on Freezing Food      By Genevieve Ko                 TX 9-292-487   2023-06-01



                                                                                Page 5144 of 5793
                        https://www.nytimes.com/2023/04/23/world/e Own an Island But Not A House on Said
2023-04-23   2023-04-26 urope/barlocco-island-scotland-sale.html      Island                                        By Remy Tumin                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/arts/mu
2023-04-24   2023-04-26 sic/baby-rose-through-and-through.html        Some Nina Simone a Little Bit of Soul         By Jon Pareles                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/dining/
                        drinks/cru-love-wine-hip-hop-jermaine-
2023-04-24   2023-04-26 stone.html                                    The Worlds of Wine and HipHop Connect         By Eric Asimov                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/dining/l
2023-04-24   2023-04-26 os-angeles-doughnuts.html                     In Los Angeles No Holes Barred                By Tejal Rao                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/opinion
                        /fast-fashion-apparel-worker-conditions-rana- Your 1274 Shirt Was Made Possible by
2023-04-24   2023-04-26 plaza.html                                    Poverty                                       By E Benjamin Skinner             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/theater/
2023-04-24   2023-04-26 breathless-review.html                        A Clotheshorse Has a Very Full Stable         By Laura CollinsHughes            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/opinion
2023-04-25   2023-04-26 /tucker-carlson-fox-news-murdoch.html         The Tragedy of Fox News                       By Bret Stephens                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/us/abor
2023-04-25   2023-04-26 tion-ban-north-dakota.html                    North Dakota Enacts Strict Ban on Abortion    By Ava Sasani                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/us/ap- College Board Will Redevelop AP                   By Dana Goldstein and Stephanie
2023-04-25   2023-04-26 african-american-studies-college-board.html Curriculum On Black History                     Saul                              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/dan
                        ce/alexei-ratmansky-mariinsky-pharaohs-
2023-04-25   2023-04-26 daughter.html                                 Russias Cultural War And a Ballet Stars Art   By Javier C Hernndez              TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/25/arts/dan In a Whimsical Garden Hints of Love and
2023-04-25   2023-04-26 ce/review-douglas-dunn-garden-party.html     Loss                                          By Gia Kourlas                     TX 9-292-487   2023-06-01
                                                                     South Africa as well as the Live Aid conHarry
                        https://www.nytimes.com/2023/04/25/arts/mu Belafonte Force in Music and Civil Rights
2023-04-25   2023-04-26 sic/harry-belafonte-dead.html                Dies at 96                                    By Peter Keepnews                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/mu Charismatic Folk Hero Knew How to Reach
2023-04-25   2023-04-26 sic/harry-belafonte-singer-activist.html     And Teach People                              By Wesley Morris                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/rus Fake Guns and Watchful Eyes As Filming of
2023-04-25   2023-04-26 t-alec-baldwin-montana.html                  Rust Resumes                                  By Julia Jacobs                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/tele
2023-04-25   2023-04-26 vision/john-mulaney-netflix-baby-j.html      The John Mulaney You Didnt Know               By Jason Zinoman                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/busines FDA Gives Conditional Approval of the First
2023-04-25   2023-04-26 s/biogen-fda-als-drug.html                   Drug for a Rare Type of ALS                   By Rebecca Robbins                 TX 9-292-487   2023-06-01
                                                                     2 AnheuserBusch Executives on Leave After
                        https://www.nytimes.com/2023/04/25/busines Bud Light Promotion With Transgender            By Amanda Holpuch and Julie
2023-04-25   2023-04-26 s/bud-light-dylan-mulvaney.html              Influencer                                    Creswell                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/busines In Another Step Toward Reopening China
2023-04-25   2023-04-26 s/china-travel-covid-test.html               Terminates a Covid Test for Travelers         By Vivian Wang                     TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/25/busines
2023-04-25   2023-04-26 s/economy/chips-commerce-department.html Plan to Fund New Chips Is Outlined                 By Ana Swanson and Don Clark      TX 9-292-487   2023-06-01



                                                                                  Page 5145 of 5793
                        https://www.nytimes.com/2023/04/25/busines
2023-04-25   2023-04-26 s/electric-vehicles-design-centers.html    Overhaul for Auto Design Centers                By Patrick Sisson and Sarah Rice   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/busines First Republics Stock Experiences 50 Drop       By Maureen Farrell and Jeanna
2023-04-25   2023-04-26 s/first-republic-bank-stock-price.html     After Refusal of Queries                        Smialek                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/busines General Motors Profits Fall as Costs Rise for
2023-04-25   2023-04-26 s/gm-earnings-first-quarter.html           Consumers                                       By Neal E Boudette                 TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/25/busines Anchors Choose Same Lawyer To Navigate
2023-04-25   2023-04-26 s/media/carlson-lemon-lawyer-freedman.html Network Exits                                By Katie Robertson                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/busines Microsoft Beats Forecasts Even as Economy
2023-04-25   2023-04-26 s/microsoft-quarterly-earnings.html         Slows                                       By Kellen Browning                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/climate Places Spared By High Heat Most at Risk A
2023-04-25   2023-04-26 /extreme-heat-waves.html                    Study Finds                                 By Raymond Zhong                      TX 9-292-487   2023-06-01
                                                                    Bon Apptit Editor Resigns Will Rejoin Simon
                        https://www.nytimes.com/2023/04/25/dining/ amp Schuster to Lead 37 Ink an Imprint She By Julia Moskin and Elizabeth A
2023-04-25   2023-04-26 bon-appetit-editor-dawn-davis-resigns.html Founded                                      Harris                                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/dining/ Mad Cdric Vongerichtens Follow Up to
2023-04-25   2023-04-26 nyc-restaurant-news.html                    Wayan Opens in NoLIta                       By Florence Fabricant                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/dining/
2023-04-25   2023-04-26 queens-corona-plaza-food-vendors.html       Building a Haven of Flavors                 By Priya Krishna                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/dining/
                        where-to-find-wheelchair-accessible-dining-
2023-04-25   2023-04-26 and-more-reader-questions.html              Advice on Accessible Dining and New Spaces By Nikita Richardson                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/nyregio 50 Percent Of Families Priced Out Of the
2023-04-25   2023-04-26 n/affordable-housing-nyc.html               City                                        By Eliza Shapiro                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/nyregio Alton H Maddox Jr 77 Unapologetic Lawyer
2023-04-25   2023-04-26 n/alton-maddox-dead.html                    In Brawley Hoax Dies                        By Clyde Haberman                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/nyregio DAs Back Limiting Window for Discovery By Jonah E Bromwich Hurubie
2023-04-25   2023-04-26 n/discovery-laws-ny.html                    Requests                                    Meko and Grace Ashford                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/nyregio New York City and State Tangle Over Sleep
2023-04-25   2023-04-26 n/homeless-shelter-sleep-ban.html           Ban at Homeless Centers                     By Dana Rubinstein                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/nyregio
2023-04-25   2023-04-26 n/office-landlords-nyc.html                 Office Market In Dire Straits In Manhattan By Matthew Haag                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/nyregio Prosecutors Seek to Restrict Trumps Access By Jonah E Bromwich William K
2023-04-25   2023-04-26 n/trump-bragg-gag-order.html                to Evidence                                 Rashbaum and Ben Protess              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/nyregio Trump Rape Trial Begins as Jury Hears Two By Benjamin Weiser Lola Fadulu
2023-04-25   2023-04-26 n/trump-rape-trial-e-jean-carroll.html      Very Different Accounts                     and Kate Christobek                   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/25/opinion
2023-04-25   2023-04-26 /kamala-harris-joe-biden-2024-reelection.html Kamala Harris Really Matters in 2024     By Thomas L Friedman                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/opinion The Importance of E Jean Carrolls Lawsuit
2023-04-25   2023-04-26 /trump-metoo-sexual-assault-lawsuit.html      Against Trump                            By Deborah Tuerkheimer                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/science A Japanese Spacecraft Likely Crashed During
2023-04-25   2023-04-26 /ispace-moon-lander-japan.html                a Moon Landing Attempt                   By Kenneth Chang                       TX 9-292-487   2023-06-01




                                                                                 Page 5146 of 5793
                        https://www.nytimes.com/2023/04/25/sports/b With Less Kick Yankees Torres Regains
2023-04-25   2023-04-26 aseball/gleyber-torres-yankees.html           Form                                    By Matt Martell                   TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/25/sports/b
                        asketball/kevon-looney-golden-state-warriors-
2023-04-25   2023-04-26 yoga-joga.html                                Leaning on Yoga During the Postseason   By Scott Cacciola                 TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/25/sports/b
                        asketball/lebron-james-20-20-lakers-          Twenty Years Into His Career James
2023-04-25   2023-04-26 grizzlies.html                                Registers Another First                 By Tania Ganguli                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/25/sports/n With Transfer Portal Open Stability Is a
2023-04-25   2023-04-26 caafootball/transfer-portal-colorado.html     Thing of the Past                       By Billy Witz                     TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/25/technol
2023-04-25   2023-04-26 ogy/alphabet-quarterly-earnings.html          Web Search Sparks Sales For Alphabet    By Nico Grant                     TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/25/technol Cable News Turns Page After Hosts Are Let
2023-04-25   2023-04-26 ogy/tucker-carlson-don-lemon.html             Go                                      By Jim Rutenberg                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/25/theater/
2023-04-25   2023-04-26 the-shark-is-broken-jaws-broadway.html        You Simply Cant Keep A Good Shark Down By Michael Paulson                 TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/25/us/arizo Home Cooking Becomes a HotButton Issue in
2023-04-25   2023-04-26 na-tamales-katie-hobbs-veto.html              Arizona Politics                        By Jack Healy                     TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/25/us/mon Montana Lawmakers Clash on Health Care
2023-04-25   2023-04-26 tana-transgender-zooey-zephyr-arrests.html For Transgender Youth                      By Jim Robbins and Jacey Fortin   TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/25/us/neil- Law Firm Chief Bought Property From
2023-04-25   2023-04-26 gorsuch-property-sale.html                    Gorsuch                                 By Charlie Savage                 TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/25/us/polit
2023-04-25   2023-04-26 ics/biden-re-election.html                    Liabilities Yes But Solid Footholds     By Jonathan Weisman               TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/25/us/polit View of Record Depends On Which Way You
2023-04-25   2023-04-26 ics/biden-record-presidential-campaign.html Look                                          By Peter Baker                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/us/polit Biden Declares 2024 Bid Possible Rematch in
2023-04-25   2023-04-26 ics/biden-running-2024-president.html       Sight                                         By Peter Baker                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/us/polit
                        ics/bud-light-boycott-politics-             Outcry Over Inclusive Beer Ad Points to Peril
2023-04-25   2023-04-26 republicans.html                            for Big Business                              By Charles Homans              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/us/polit
                        ics/isis-leader-killed-kabul-airport-       US Says Head of ISIS Cell That Bombed         By Karoun Demirjian and Eric
2023-04-25   2023-04-26 bombing.html                                Kabul Airport Is Dead                         Schmitt                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/us/polit
                        ics/republicans-debt-limit-spending-cuts-
2023-04-25   2023-04-26 biden.html                                  In GOP Messaging Savings Is the New Cuts By Catie Edmondson                  TX 9-292-487   2023-06-01
                                                                    Major GOP Donor Casts Doubt on
                        https://www.nytimes.com/2023/04/25/us/polit Commitment to DeSantis Amid Policy            By Maggie Haberman and Rebecca
2023-04-25   2023-04-26 ics/ron-desantis-ken-griffin-2024.html      Qualms                                        Davis OBrien                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/us/polit Group Expands Efforts to Find Abducted
2023-04-25   2023-04-26 ics/ukraine-missing-children.html           Children                                      By Julian E Barnes             TX 9-292-487   2023-06-01




                                                                               Page 5147 of 5793
                        https://www.nytimes.com/2023/04/25/us/polit
                        ics/who-is-julie-chavez-rodriguez-biden-2024- New Campaign Manager Has Earned Bidens
2023-04-25   2023-04-26 campaign.html                                 Trust                                   By Katie Glueck                    TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/25/us/was Washington Becomes Ninth State to Ban       By Mike Baker and Nicholas
2023-04-25   2023-04-26 hington-gun-control-bill.html                 Sales of AR15Style Semiautomatic Rifles BogelBurroughs                     TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/25/world/a Gunfire in Sudans Capital Tests USBrokered
2023-04-25   2023-04-26 frica/sudan-fighting-cease-fire.html          CeaseFire                               By Abdi Latif Dahir                TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/25/world/a Icy Greeting in Colombia For Venezuelan      By Julie Turkewitz and Mie Hoejris
2023-04-25   2023-04-26 mericas/venezuela-juan-guaido-colombia.html Dissident                                   Dahl                               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/world/a Blasts Buckle Police Station In Pakistan 15 By Salman Masood and Zia
2023-04-25   2023-04-26 sia/pakistan-swat-blasts.html               Are Killed                                  urRehman                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/world/e
                        urope/prince-william-harry-hacking-         Murdochs News Group Paid Huge Settlement
2023-04-25   2023-04-26 murdoch.html                                to Prince Court Filing Shows                By Mark Landler                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/world/ Israels Memorial Day Marked by Tears and
2023-04-25   2023-04-26 middleeast/israel-memorial-day.html         Shouting Matches                            By Isabel Kershner                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/sports/b
                        asketball/adam-silver-miles-bridges-
2023-04-26   2023-04-26 suspension.html                             Silver Defends Discipline for Bridges       By Shauntel Lowe                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/theater/
2023-04-26   2023-04-26 summer-1976-review-laura-linney.html        As Children Play Moms Clash                 By Laura CollinsHughes             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/world/e
2023-04-26   2023-04-26 urope/russia-dissent-crackdown.html         Pleading to Overturn Russian Dissent Law    By Ivan Nechepurenko               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/insider/
2023-04-26   2023-04-26 reporting-on-sudan.html                     War Has Just Erupted Sudden Strife in Sudan By Terence McGinley                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/sports/f
                        ootball/nfl-draft-jalen-carter-georgia-     A Prospects Legal Issue And a Good Long
2023-04-26   2023-04-26 crash.html                                  Look                                        By Kris Rhim                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/technol                                              By David YaffeBellany Emily
2023-04-26   2023-04-26 ogy/binance-crypto-crackdown.html           Storm Clouds Gather For Binance and Crypto Flitter and Matthew Goldstein       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/polit Bidens 2024 Reelection Campaign Road Map By Reid J Epstein and Shane
2023-04-26   2023-04-26 ics/biden-2024-campaign.html                All Tortoise No Hare                        Goldmacher                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/polit Bidens Focus on Nuclear Deterrence as South By David E Sanger and Choe
2023-04-26   2023-04-26 ics/biden-korea-nuclear-weapons.html        Korean Leader Visits                        SangHun                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/style/ca
2023-04-12   2023-04-27 roline-rose-art-of-forgetting.html          What an Indie Singer Does Before a Show     By Marie Solis                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/style/so
2023-04-21   2023-04-27 uth-asian-muslims-eid-al-fitr.html          As Ramadan Ends the Celebrations Begin      By Sadiba Hasan                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/busines
2023-04-22   2023-04-27 s/flood-damage-home-costs.html              The Hidden Costs of Disaster                By Colleen Hagerty                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/world/a Bruce Haigh 77 Envoy Who Covertly
2023-04-23   2023-04-27 frica/bruce-haigh-dead.html                 Assisted Fight Against Apartheid            By Alan Cowell                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/style/lo
2023-04-24   2023-04-27 ve-wedding-guest-ad-brooklyn.html           He Posted His Dating Profile On Posts       By Gina Cherelus                   TX 9-292-487   2023-06-01



                                                                                Page 5148 of 5793
                        https://www.nytimes.com/2023/04/24/style/ta
2023-04-24   2023-04-27 ylor-swift-eras-tour-looks.html              The Many Many Looks of Taylor Swift        By Vanessa Friedman               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/dan
2023-04-25   2023-04-27 ce/bobbi-jene-smith-lamama-moves.html        Fraught Romances And Stormy Families       By Siobhan Burke                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/des
2023-04-25   2023-04-27 ign/collectors-patrons-public.html           A woman on a mission                       By Laura Rysman                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/des
2023-04-25   2023-04-27 ign/qatar-culture-sheikha-mayassaa.html      Heritage as a bridge to arts future        By David Belcher                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/des
2023-04-25   2023-04-27 ign/women-leadership-museums.html            A wave of women in top jobs                By Ted Loos                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/dut The Dutch Are Making Collaboration Files
2023-04-25   2023-04-27 ch-files-accused-nazi-collaborators.html     Public                                     By Nina Siegal                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/une
2023-04-25   2023-04-27 sco-world-heritage-site.html                 A blessing or a curse                      By Ginanne Brownell               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/books/ Michael Denneny Visionary Promoter of Gay
2023-04-25   2023-04-27 michael-denneny-dead.html                    Literature Dies at 80                      By Richard Sandomir               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/opinion
2023-04-25   2023-04-27 /harry-belafonte.html                        The Belafonte Speech That Changed My Life By Charles M Blow                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/sports/f
2023-04-25   2023-04-27 ootball/anthony-richardson-nfl-draft.html    His Throws Can Reach The Sky Can He        By Emmanuel Morgan                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/style/co Its the Joy of Nix Turned Down but Ready to
2023-04-25   2023-04-27 llege-rejection-parties.html                 Party                                      By Danielle Braff                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/us/ken- Ken Potts 102 Oldest Known Survivor From
2023-04-25   2023-04-27 potts-dead.html                              Bombed Ship at Pearl Harbor                By Sam Roberts                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/arts/des
                        ign/africa-center-iweala-uzodinma-           A Bold Mission Aims to Link Two
2023-04-26   2023-04-27 harlem.html                                  Continents                                 By Dionne Searcey                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/arts/mu In New York Premieres an Ensemble Is
2023-04-26   2023-04-27 sic/bostony-symphony-carnegie-hall.html      Unleashed                                  By Oussama Zahr                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/arts/mu
2023-04-26   2023-04-27 sic/harry-belafonte-songs.html               Belafonte the Singer Chose an Eclectic Mix By Jon Pareles                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/arts/mu
2023-04-26   2023-04-27 sic/jelly-roll-whitsitt-chapel.html          Jelly Roll Reinvents Himself In Nashville  By Alan Light                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/arts/tele
2023-04-26   2023-04-27 vision/love-and-death.html                   When the Killer Brings a Casserole         By Alexis Soloski                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/books/e
                        l-pintor-childrens-books-antiquarian-book-                                              By Claire Moses and Elizabeth A
2023-04-26   2023-04-27 fair.html                                    Sunny Childrens Books Made in Dark Times Harris                              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/books/r
                        eview/the-ugly-history-of-beautiful-things-
2023-04-26   2023-04-27 katy-kelleher.html                           In the Eye of the Beholder Hope and Guilt  By Jennifer Szalai                TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/26/busines Dealmakers Complain of Regulators           By Lazaro Gamio and Lauren
2023-04-26   2023-04-27 s/dealbook/when-megamergers-fall-apart.html Unpredictability                           Hirsch                             TX 9-292-487   2023-06-01




                                                                                Page 5149 of 5793
                        https://www.nytimes.com/2023/04/26/busines
2023-04-26   2023-04-27 s/disney-desantis-board-florida.html       Disney Sues DeSantis Claiming Retaliation     By Brooks Barnes                TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/busines                                               By Rob Copeland and Maureen
2023-04-26   2023-04-27 s/first-republic-bank.html                 Bank Flails As It Seeks A Lifeline            Farrell                         TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/busines
                        s/media/tucker-carlson-dominion-fox-       Carlsons Texts Ignited a Crisis For Fox       By Jim Rutenberg Jeremy W Peters
2023-04-26   2023-04-27 news.html                                  Chiefs                                        and Michael S Schmidt            TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/26/busines Economists Message To Britons You Are
2023-04-26   2023-04-27 s/uk-poorer-inflation-bank-of-england.html Worse Off Accept It                        By Eshe Nelson                     TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/climate Carbon Capture a Technology Some Doubt Is
2023-04-26   2023-04-27 /carbon-capture-power-plants.html           in for a Boost                            By Brad Plumer                     TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/dining/ Emily Meggett 90 Dies Wrote the Book for
2023-04-26   2023-04-27 emily-meggett-dead.html                     Gullah Geechee Cooks                      By Christina Morales               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/health/ In Early Days Of Pandemic An Old Vaccine
2023-04-26   2023-04-27 bcg-vaccine-covid.html                      Came Up Short                             By Roni Caryn Rabin                TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/health/ Kaiser Plans An Acquisition To Broaden
2023-04-26   2023-04-27 kaiser-permanente-geisinger.html            Nonprofit Care                            By Reed Abelson                    TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/nyregio In Vivid Detail Trump Accuser Tells Her    By Benjamin Weiser Lola Fadulu
2023-04-26   2023-04-27 n/carroll-trump-trial-testimony.html        Story                                     Kate Christobek and Karen Zraick   TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/nyregio                                            By Dana Rubinstein and Nicholas
2023-04-26   2023-04-27 n/film-subsidies-tax-credit-ny.html         Blockbuster For Movies Tax Breaks         Fandos                             TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/nyregio                                            By Emma G Fitzsimmons and
2023-04-26   2023-04-27 n/library-cuts-nyc.html                     Libraries In New York Are Spared New Cuts Jeffery C Mays                     TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/nyregio Community Newspaper Was Planning Last
2023-04-26   2023-04-27 n/montclair-local-newspaper-fire.html       Edition Until the Press Caught Fire       By Corey Kilgannon                 TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/nyregio City Farmers Market Workers Prepared to
2023-04-26   2023-04-27 n/nyc-farmers-market-union.html             Form Union                                By Liam Stack                      TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/nyregio 2 Leaders of We Build the Wall Group
2023-04-26   2023-04-27 n/wall-building-scam-trump-allies.html      Sentenced for Channeling Cash to Selves   By Colin Moynihan                  TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/opinion Bidens Biggest Advantage Has Nothing to Do
2023-04-26   2023-04-27 /joe-biden-2024-reelection-win.html         With Anything Hes Done                    By Lis Smith                       TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/opinion Russians Are Still Asking Questions About
2023-04-26   2023-04-27 /russia-putin-dictatorship-book.html        Whats Next                                By Alexander Baunov                TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/opinion Even Carlson Is Less Powerful Than Fox
2023-04-26   2023-04-27 /tucker-carlson-fox-don-lemon-cnn.html      News                                      By Brian Stelter                   TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/sports/b Rockets Introduce Udoka as Coach Asking
2023-04-26   2023-04-27 asketball/ime-udoka-houston-rockets.html    Fans to Look Past Misconduct              By Sopan Deb                       TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/26/sports/b Former Teammates Finding Their Way
2023-04-26   2023-04-27 asketball/kevin-durant-russell-westbrook.html Without Each Other                         By Kris Rhim                    TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/26/sports/f A Barefoot Rodgers Joins the Jets And Says
2023-04-26   2023-04-27 ootball/aaron-rodgers-jets.html               All the Right Things                       By Emmanuel Morgan              TX 9-292-487    2023-06-01




                                                                                Page 5150 of 5793
                        https://www.nytimes.com/2023/04/26/sports/s
                        occer/manchester-city-arsenal-premier-      The Relentless and Inevitable March Toward
2023-04-26   2023-04-27 league.html                                 the Title                                  By Rory Smith                       TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/26/style/cl
2023-04-26   2023-04-27 aire-ptak-cookbook-meghan-markle.html       Yes Let Them Eat Her Cakes                 By Emilia Petrarca                  TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/26/style/fl
2023-04-26   2023-04-27 orence-pugh-pierpaolo-piccioli-met-gala.html The Partnership Driving a Fashion Campaign By Vanessa Friedman                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/technol Meta Returns to Growth After Struggling
2023-04-26   2023-04-27 ogy/meta-quarterly-earnings.html                With Falling Revenue                       By Mike Isaac                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/technol UK Blocks Microsofts Acquisition of             By David McCabe and Kellen
2023-04-26   2023-04-27 ogy/microsoft-activision-uk.html                Activision                                 Browning                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/calif Officials in California Reconsider Boycotts of
2023-04-26   2023-04-27 ornia-republican-state-travel-boycotts.html     RepublicanLed States                       By Jill Cowan                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/okla Oklahoma Panel Declines To Spare Death
2023-04-26   2023-04-27 homa-clemency-richard-glossip.html              Row Prisoner                               By Nicholas BogelBurroughs        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/polit President Downplays Concerns Over Age in
2023-04-26   2023-04-27 ics/biden-downplays-concerns-age.html           Race Saying He Has Job to Finish           By Katie Rogers                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/polit
                        ics/biden-fact-check-grandfather-approval-      Since 2024 Kickoff Missing Context on
2023-04-26   2023-04-27 ratings-jobs.html                               Deficit                                    By Linda Qiu                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/polit Biden Vows End of North Korean Regime if
2023-04-26   2023-04-27 ics/biden-south-korea-state-visit.html          It Attacks US or Allies                    By Peter Baker and David E Sanger TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/polit House Approves Debt Ceiling Bill Setting By Catie Edmondson and Carl
2023-04-26   2023-04-27 ics/debt-limit-vote-republicans.html            Up Clash                                   Hulse                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/polit
2023-04-26   2023-04-27 ics/desantis-disney-republicans.html            When DeSantis Took On the Mouse It Roared By Charles Homans                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/polit West Virginia Governor to Enter Race for
2023-04-26   2023-04-27 ics/jim-justice-joe-manchin-senate.html         Manchins Senate Seat                       By Maggie Astor                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/polit Leaked Document Reflects Persistent
2023-04-26   2023-04-27 ics/leaked-documents-putin-health.html          Speculation About Putins WellBeing         By Michael Crowley                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/polit In Bipartisan Bill Senators Urge Supreme
2023-04-26   2023-04-27 ics/senate-bill-supreme-court-ethics.html       Court to Adopt an Ethics Code              By Abbie VanSickle                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/polit Court Weighs State Profit Tied to Debt Of
2023-04-26   2023-04-27 ics/supreme-court-condo-taxes.html              Taxpayer                                   By Adam Liptak                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/polit Trump Wants Justice Dept Off Documents         By Alan Feuer and Luke
2023-04-26   2023-04-27 ics/trump-classified-documents.html             Inquiry                                    Broadwater                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/zooe Montana House Bars Transgender Lawmaker By Jim Robbins Remy Tumin and
2023-04-26   2023-04-27 y-zephyr-transgender-montana-house.html         From Chamber Floor                         Jacey Fortin                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/world/a
                        frica/boat-sinks-in-mediterranean-and-at-least- Rubber Boat Sinks in Sea 55 Migrants Die
2023-04-26   2023-04-27 55-people-drown.html                            Off Libya                                  By Emma Bubola                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/world/a South Africa Is Sending Mixed Signals on
2023-04-26   2023-04-27 frica/south-africa-icc-ramaphosa.html           ICC                                        By John Eligon                    TX 9-292-487   2023-06-01




                                                                                 Page 5151 of 5793
                        https://www.nytimes.com/2023/04/26/world/a Mystery of Deposed Dictators Whereabouts
2023-04-26   2023-04-27 frica/sudan-dictator-bashir.html           Adds to the Crisis in Sudan                  By Abdi Latif Dahir              TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/26/world/a Chinese Officials Detain a TaiwanBased
2023-04-26   2023-04-27 sia/china-taiwan-publisher-detained.html   Publisher                                    By Amy Chang Chien               TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/26/world/a
2023-04-26   2023-04-27 sia/india-women-cricket.html               In India Its Their Turn for BigLeague Dreams By Mujib Mashal and Atul Loke    TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/26/world/a Despite Chinas Pressure Manila Warms to US
2023-04-26   2023-04-27 sia/philippines-us-military.html           With Big Joint Exercise                      By SuiLee Wee                    TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/26/world/a Singapore Executes Man In a Thin Cannabis
2023-04-26   2023-04-27 sia/singapore-execution-cannabis.html      Case                                         By Yan Zhuang                    TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/26/world/e Navalny Says He Is Facing New Charges Of
2023-04-26   2023-04-27 urope/aleksei-navalny-new-charge.html      Terrorism                                    By Ivan Nechepurenko             TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/26/world/e
2023-04-26   2023-04-27 urope/bishops-synod-meeting.html           A Closer Look at the Synod of Bishops        By Gaia Pianigiani               TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/26/world/e Germany Deems Youth Wing of FarRight
2023-04-26   2023-04-27 urope/germany-afd-youth-wing-extremist.html Party an Extremist Group                     By Erika Solomon                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/world/e
                        urope/germany-review-viessmann-carrier-heat Germany Will Review Carriers Purchase of
2023-04-26   2023-04-27 pumps.html                                  Heat Pump Maker                              By Melissa Eddy                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/world/e A Town Wrestles With Its Dark Past Nazis
2023-04-26   2023-04-27 urope/poland-russia-borne-sulinowo.html     and Soviets                                  By Andrew Higgins                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/world/e
                        urope/pope-women-vote-bishops-              Pope Gives Women a Vote in Influential       By Jason Horowitz and Elisabetta
2023-04-26   2023-04-27 meeting.html                                Bishops Meeting                              Povoledo                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/world/e Rocket Flew High and Far Then Landed In a
2023-04-26   2023-04-27 urope/sweden-norway-rocket.html             Dispute                                      By Isabella Kwai                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/world/e Xi and Zelensky Talk at Last With Words       By David Pierson Marc Santora and
2023-04-26   2023-04-27 urope/ukraine-xi-zelensly-talks.html        Chosen Carefully                             Vivian Wang                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/world/ Iranian Cleric Is Fatally Shot By a Guard In
2023-04-26   2023-04-27 middleeast/iran-cleric-killing.html         a Bank                                       By Farnaz Fassihi                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/theater/
2023-04-27   2023-04-27 new-york-new-york-review-broadway.html Presenting the Big Apple Without Much Bite By Elisabeth Vincentelli                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/trans Efforts to Ban Treatments For Transition See
2023-04-27   2023-04-27 gender-policies-missouri-kansas.html        Setbacks                                     By Mitch Smith                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/climate Effects of Climate Change Intensify in
2023-04-27   2023-04-27 /horn-of-africa-somalia-drought.html        Parched East Africa Study Finds              By Raymond Zhong                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/fashion
2023-04-27   2023-04-27 /anna-wintour-karl-lagerfeld.html           Threads of a Friendship                      By Vanessa Friedman               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/insider/
2023-04-27   2023-04-27 fox-news-dominion-coverage.html             The Trial That Was Over Before It Began      By Katie Robertson                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/movies/
2023-04-25   2023-04-28 centurion-the-dancing-stallion-review.html  Centurion The Dancing Stallion               By Natalia Winkelman              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/movies/
2023-04-25   2023-04-28 the-oak-film-forum.html                     A PostCommunist Pinwheel                     By J Hoberman                     TX 9-292-487   2023-06-01



                                                                                Page 5152 of 5793
                        https://www.nytimes.com/2023/04/26/briefing Telegram App Is Blocked Across Brazil
2023-04-26   2023-04-28 /brazil-telegram-ban.html                  After Attacks                            By Andr Spigariol                 TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/26/movies/
                        wynonna-judd-between-hell-and-hallelujah-
2023-04-26   2023-04-28 review.html                                Wynonna Judd Between Hell and Hallelujah By Chris Azzopardi                TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/26/technol                                          By Steven Lee Myers Sheera
2023-04-26   2023-04-28 ogy/twitter-verification-problems.html     Trustworthy Twitter Label Sows Doubts    Frenkel and Tiffany Hsu           TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/26/nyregio Harlem Businesses File Suit to Stop a
2023-04-27   2023-04-28 n/ny-harlem-recreational-marijuana-suit.html Cannabis Dispensary                        By Ashley Southall              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/us/polit A State Dinner With Pie Minus Whiskey and
2023-04-27   2023-04-28 ics/biden-state-dinner-south-korea.html      Rye                                        By Peter Baker                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/des
                        ign/brazil-women-artist-exhibition-shiva-    Tackling Inequality but Resisting Feminist
2023-04-27   2023-04-28 gallery.html                                 Label                                      By Jill Langlois                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/des
2023-04-27   2023-04-28 ign/georgia-okeeffe-moma-review.html         For Georgia OKeeffe a History of Repeating By Roberta Smith                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/des The Turner Prizes Shortlist Includes Black
2023-04-27   2023-04-28 ign/turner-prize-shortlist.html              Portraiture                                By Alex Marshall                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/mu Sheeran Wielding an Acoustic Guitar Takes
2023-04-27   2023-04-28 sic/ed-sheeran-testifies-guitar-trial.html   the Stand in a Copyright Lawsuit           By Ben Sisario                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/mu
                        sic/les-arts-florissants-carnegie-hall-
2023-04-27   2023-04-28 review.html                                  Les Arts Florissants Returns to New York   By Zachary Woolfe               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/mu
                        sic/yannick-nezet-seguin-met-opera-                                                     By Javier C Hernndez and Landon
2023-04-27   2023-04-28 costumes.html                                His Clothes of Many Colors                 Nordeman                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/ne
2023-04-27   2023-04-28 w-york-antiquarian-book-fair.html            Nourishment for Bibliomaniacs and Browsers By Jennifer Schuessler          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/tele
2023-04-27   2023-04-28 vision/citadel-amazon.html                   Grab Your Passport This Show Is Traveling By Chris Vognar                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/tele
                        vision/couples-therapy-showtime-rough-
2023-04-27   2023-04-28 diamonds.html                                This Weekend I Have                        By Margaret Lyons               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/tele Jerry Springer 79 Whose Outrageous Talk
2023-04-27   2023-04-28 vision/jerry-springer-dead.html              Show Set New Lows Dies                     By Neil Genzlinger              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/busines US Consulting Firm Bain Is Latest Target of By Daisuke Wakabayashi and Keith
2023-04-27   2023-04-28 s/bain-china.html                            Chinese Crackdown                          Bradsher                        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/busines
2023-04-27   2023-04-28 s/china-banker-crackdown.html                China Takes On Bankers in Corruption Drive By Claire Fu                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/busines
                        s/economy/fed-powell-russia-prank-zelensky- Internet Video Shows Fed Chair Tricked by
2023-04-27   2023-04-28 video.html                                   Russian Pranksters                         By Jeanna Smialek               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/busines Economy Grows At Slower Pace Spending
2023-04-27   2023-04-28 s/economy/gdp-q1-economy.html                Surges                                     By Ben Casselman                TX 9-292-487   2023-06-01



                                                                              Page 5153 of 5793
                        https://www.nytimes.com/2023/04/27/busines                                               By Jeanna Smialek and Christine
2023-04-27   2023-04-28 s/economy/what-causes-inflation.html       Causes Shift But Inflation Is Still High      Zhang                             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/busines
                        s/energy-environment/russias-gas-exports-  Russias Vital Gas Exports Could Fall by 50 in
2023-04-27   2023-04-28 2023.html                                  2023                                          By Stanley Reed                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/busines
                        s/media/nbcuniversal-future-jeff-shell-    Shock Firing Brings Issues About NBC To       By Benjamin Mullin and John
2023-04-27   2023-04-28 fired.html                                 the Fore                                      Koblin                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/busines
                        s/media/newsmax-fox-ratings-tucker-        Newsmax Ratings Rise After Carlsons Exit at
2023-04-27   2023-04-28 carlson.html                               Fox                                           By Michael M Grynbaum             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/climate Climate Shocks Force Small Farmers to
2023-04-27   2023-04-28 /malawi-farmers-agriculture.html           Reinvent                                      By Somini Sengupta                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/movies/
                        are-you-there-god-its-me-margaret-
2023-04-27   2023-04-28 review.html                                The Trials of a Sixth Grader                  By Lisa Kennedy                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/movies/
2023-04-27   2023-04-28 big-george-foreman-review.html             This Tale Owns a Glass Jaw                    By Glenn Kenny                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/movies/
2023-04-27   2023-04-28 broadway-review.html                       Broadway                                      By Kelli Weston                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/movies/
2023-04-27   2023-04-28 clock-review.html                          Clock                                         By Elisabeth Vincentelli          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/movies/
2023-04-27   2023-04-28 four-quartets-review.html                  Four Quartets                                 By Teo Bugbee                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/movies/
2023-04-27   2023-04-28 freaks-vs-the-reich-review.html            Freaks vs the Reich                           By Nicolas Rapold                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/movies/
2023-04-27   2023-04-28 nuclear-now-review.html                    Nuclear Now                                   By Brandon Yu                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/movies/
2023-04-27   2023-04-28 polite-society-review.html                 Fists of Fury Unleashed At a Wedding          By Amy Nicholson                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/movies/
2023-04-27   2023-04-28 rmn-review-cristian-mungiu.html            A Skeptical Portrait of Concerned Citizens    By Manohla Dargis                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/movies/ Into Gratuitous Violence This Protagonist Is
2023-04-27   2023-04-28 sisu-review.html                           for You                                       By Calum Marsh                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/movies/
2023-04-27   2023-04-28 the-eight-mountains-review-italy.html      Boys to Men as the Years Rush By              By Manohla Dargis                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/movies/
2023-04-27   2023-04-28 the-end-of-sex-review.html                 The End of Sex                                By Beatrice Loayza                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/movies/
2023-04-27   2023-04-28 the-restless-review.html                   The Restless                                  By Claire Shaffer                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/movies/
2023-04-27   2023-04-28 those-who-remained-review.html             Those Who Remained                            By Ben Kenigsberg                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/nyregio DAs Abruptly Retract A Proposal to Change By Jonah E Bromwich and Grace
2023-04-27   2023-04-28 n/discovery-prosecutors-evidence-ny.html   States Discovery Law                          Ashford                           TX 9-292-487   2023-06-01




                                                                                Page 5154 of 5793
                        https://www.nytimes.com/2023/04/27/nyregio New York City Could Add 14 Charters To     By Troy Closson and Luis
2023-04-27   2023-04-28 n/nyc-charter-schools.html                 Schools                                    FerrSadurn                        TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/27/nyregio Failure of Push To Add Homes Deepens       By Luis FerrSadurn and Mihir
2023-04-27   2023-04-28 n/nyc-housing-crisis.html                  Crisis                                     Zaveri                            TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/27/nyregio A Peacock On the Lam Draws Eyes In the     By Chelsia Rose Marcius and Liset
2023-04-27   2023-04-28 n/peacock-escape-bronx-zoo.html            Bronx                                      Cruz                              TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/27/nyregio A Tense Day for Trumps Accuser as Shes     By Benjamin Weiser Lola Fadulu
2023-04-27   2023-04-28 n/trump-e-jean-carroll-rape-trial.html     CrossExamined                              Hurubie Meko and Kate Christobek TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/27/opinion
2023-04-27   2023-04-28 /biden-trump-soul-america-election-2024.html Biden and the Struggle for Americas Soul   By David Brooks                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/opinion Confederate Tributes Are Losing Their Patron
2023-04-27   2023-04-28 /fort-lee-renaming.html                      Saint                                      By Brent Staples                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/opinion
                        /microsoft-activision-ftc-antitrust-grail-
2023-04-27   2023-04-28 eu.html                                      The US Is Outsourcing Policy to Europe     By Jay Clayton and Gary D Cohn   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/opinion
2023-04-27   2023-04-28 /netflix-streaming-dvd-dot-com.html          Heres Looking at You DVDcom                By Pamela Paul                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/sports/b
2023-04-27   2023-04-28 asketball/knicks-heat-nba-playoffs.html      Knicks vs Heat A True Playoff Fight        By Victor Mather                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/sports/b
                        asketball/nba-basketball-fouls-suspensions- Their Reputations Precede Them And That
2023-04-27   2023-04-28 reputations.html                             Can Become a Problem                       By Andrew Keh                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/sports/f
                        ootball/lamar-jackson-ravens-contract-       Ravens and Jackson Resolve Their
2023-04-27   2023-04-28 extension.html                               Differences With FiveYear Extension        By Jenny Vrentas                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/sports/f Where Award Shows Hallmark Dramas and
2023-04-27   2023-04-28 ootball/nfl-draft-broadcast-viewers.html     Reality TV Meet                            By Elena Bergeron                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/sports/ Griner Says It Hurts to See Reporter Facing
2023-04-27   2023-04-28 wnba-brittney-griner.html                    What She Endured                           By Kris Rhim                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/technol Its GoGo Days Over Amazon Grows a Little
2023-04-27   2023-04-28 ogy/amazon-quarterly-earnings.html           And Wall Street Shrugs                     By David Streitfeld              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/technol                                              By Cade Metz Ryan Mac and Kate
2023-04-27   2023-04-28 ogy/elon-musk-ai-openai.html                 Musks Stance on AI Its Tricky              Conger                           TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/27/technol FBI Searches Home of a Former Top          By Matthew Goldstein and David
2023-04-27   2023-04-28 ogy/ftx-ryan-salame-sam-bankman-fried.html Executive at FTX                           YaffeBellany                       TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/27/technol Regulators Have New Focus in Assessing     By David McCabe and Kellen
2023-04-27   2023-04-28 ogy/regulation-tech-microsoft-activision.html Tech Deals The Future                   Browning                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/technol Revenue Declines as Snap Struggles With Ad
2023-04-27   2023-04-28 ogy/snap-revenue-first-quarter.html           Slump                                   By Erin Griffith                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/theater/
2023-04-27   2023-04-28 irish-repertory-theater-letters-series.html   For Inherent Drama Open Others Letters  By Laura CollinsHughes             TX 9-292-487   2023-06-01



                                                                               Page 5155 of 5793
                        https://www.nytimes.com/2023/04/27/us/amn Amnesty International Buried Report on Its
2023-04-27   2023-04-28 esty-international-report-ukraine-russia.html Criticism of Ukraine                          By Charlie Savage                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/us/carol Carolyn Bryant Donham 88 Dies Her Words
2023-04-27   2023-04-28 yn-bryant-donham-dead.html                    Doomed Emmett Till                            By Margalit Fox                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/us/mon Montana Transgender Legislator Is Working By Jim Robbins Mike Baker and
2023-04-27   2023-04-28 tana-trans-legislature-zephyr.html            From a Capitol Hallway                        Jacey Fortin                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/us/polit The Tiny Elite Circle Of Senior Officials
2023-04-27   2023-04-28 ics/biden-aides.html                          Guiding Biden 2024                            By Reid J Epstein and Katie Glueck TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/us/polit
2023-04-27   2023-04-28 ics/biden-debt-ceiling.html                   For President Crucial Choice On Debt Limit By Jim Tankersley                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/us/polit Biden Administration Moves to Limit Flow of
2023-04-27   2023-04-28 ics/biden-migration-title-42.html             Migrants Coming Across US Border              By Michael Crowley                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/us/polit
                        ics/daines-mcconnell-trump-senate-            Daines Endorsement Reflects Senate
2023-04-27   2023-04-28 republicans.html                              Republicans Conflicted Alliance With Trump By Jonathan Swan and Carl Hulse TX 9-292-487         2023-06-01
                        https://www.nytimes.com/2023/04/27/us/polit After Stumbles at Home DeSantis Heads           By Jonathan Weisman Patrick
2023-04-27   2023-04-28 ics/desantis-israel.html                      Abroad to Find His Footing                    Kingsley and Nicholas Nehamas      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/us/polit The Real Battle Over the Debt Limit Is Still to
2023-04-27   2023-04-28 ics/house-debt-limit.html                     Come                                          By Carl Hulse                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/us/polit
                        ics/house-republicans-immigration-bill-       GOP Advances Its Border Security Bill After
2023-04-27   2023-04-28 migrants.html                                 Months of Feuding and Revisions               By Karoun Demirjian                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/us/polit Airman Accused of Leak Has a Troubling
2023-04-27   2023-04-28 ics/jack-teixeira-leaks.html                  History                                       By Glenn Thrush                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/us/polit Pence Testifies Before Grand Jury on Trumps
2023-04-27   2023-04-28 ics/pence-grand-jury-trump.html               Efforts to Retain Power                       By Maggie Haberman                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/us/polit
                        ics/sanctions-russia-intelligence-iran-evan-  US Imposes Sanctions on Russias Intelligence
2023-04-27   2023-04-28 gershkovich.html                              Agency for Its Role in Detaining Americans By Michael D Shear                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/us/polit
2023-04-27   2023-04-28 ics/schumer-judge-shopping-texas.html         Schumer Calls for End of JudgeShopping        By Abbie VanSickle                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/world/a
                        frica/sudan-khartoum-paramilitary-            Terrified of the New Neighbors Roaming        By Lynsey Chutel and Abdi Latif
2023-04-27   2023-04-28 fighters.html                                 Sudans Capital                                Dahir                              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/world/a
                        sia/australia-new-zealand-migrants-           Australia Swings Open a LongShut Door for
2023-04-27   2023-04-28 citizenship.html                              New Zealanders Seeking Citizenship            By Natasha Frost                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/world/a
                        sia/un-security-council-condemns-             UN Security Council Condemns Talibans
2023-04-27   2023-04-28 taliban.html                                  Treatment of Women                            By Farnaz Fassihi                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/world/e
                        urope/hungary-habsburg-ambassador-            A Scion of Emperors An Envoy to the Pope
2023-04-27   2023-04-28 vatican.html                                  And an Anime Fan                              By Jason Horowitz                  TX 9-292-487   2023-06-01




                                                                                 Page 5156 of 5793
                        https://www.nytimes.com/2023/04/27/world/e
                        urope/macron-toussaint-louverture-         Macron Honors Haitian Revolutionary but        By Constant Mheut and Catherine
2023-04-27   2023-04-28 speech.html                                Leaves Much Unsaid                             Porter                            TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/27/world/e Under Attack Ukrainian Troops Hope             By Michael Schwirtz and Stanislav
2023-04-27   2023-04-28 urope/ukraine-russia-battlefield-vuhledar.html Western Arms Can Turn Tide                 Kozliuk                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/world/e In Almost Every Kitchen in Ukraine A
2023-04-27   2023-04-28 urope/ukraine-soledar-salt.html                Symbol of What War Has Stolen              By Marc Santora                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/nyregio New York Plans Changes in Bail and Wages       By Luis FerrSadurn and Grace
2023-04-28   2023-04-28 n/budget-minimum-wage-bail.html                in 229 Billion Budget Deal                 Ashford                           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/us/polit Members of Afghan Female Tactical Platoon     By Luke Broadwater and Ava
2023-04-28   2023-04-28 ics/female-afghan-soldiers-us.html             Fight to Stay in America                   Sasani                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/us/polit Trump Says He May Not Debate Rivals In
2023-04-28   2023-04-28 ics/trump-republican-primary-debates.html      Primaries                                  By Neil Vigdor                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/insider/
2023-04-28   2023-04-28 seeking-clarity-amid-confrontation.html        Seeking Clarity Amid Confrontation         By Emmett Lindner                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/movies/
2023-04-28   2023-04-28 peter-pan-wendy-review.html                    Girl Power Takes Over Neverland            By Amy Nicholson                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/12/travel/b
2023-04-12   2023-04-29 argain-lodges-near-parks.html                  Rustic Comfort                             By Elaine Glusac                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/travel/l
2023-04-20   2023-04-29 ondon-charles-coronation-tour.html             Follow in the Footsteps of a Future King   By Sarah Lyall                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/busines Gail Christian 83 Correspondent Who Broke
2023-04-22   2023-04-29 s/media/gail-christian-dead.html               Barriers in TV News                        By Alex Williams                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/books/e Coloring the Gray Areas With Irony and
2023-04-24   2023-04-29 ric-vuillard-an-honorable-exit.html            Outrage                                    By Tobias Grey                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/arts/mu April Stevens 93 Singer Of Pop Hit Deep
2023-04-26   2023-04-29 sic/april-stevens-dead.html                    Purple                                     By Daniel E Slotnik               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/arts/mu
2023-04-26   2023-04-29 sic/jai-paul-live-review.html                  Hes Back Following A Decade Of Silence     By Jon Caramanica                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/arts/tele
2023-04-26   2023-04-29 vision/fatal-attraction-review.html            This Time Empathy For a Stalker            By Mike Hale                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/opinion Moms Are Still Subsidizing Dads Extra
2023-04-26   2023-04-29 /remote-work-moms-dads.html                    Leisure Time                               By Jessica Grose                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/26/opinion
2023-04-26   2023-04-29 /value-college-degree-higher-education.html The Education Divide Can Be Bridged         By Christopher Zara                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/des
                        ign/heidi-horten-jewelry-christies-nazi-     Jewelry Up for Auction Tarnished by a Nazi
2023-04-27   2023-04-29 era.html                                     Past                                       By Zachary Small                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/des Jane Davis Doggett 93 Showed Which Way to
2023-04-27   2023-04-29 ign/jane-davis-doggett-dead.html             Go                                         By Neil Genzlinger                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/tele
2023-04-27   2023-04-29 vision/the-jerry-springer-show.html          Reality TVs Virtuosic Ringmaster           By James Poniewozik                 TX 9-292-487   2023-06-01




                                                                                Page 5157 of 5793
                        https://www.nytimes.com/2023/04/27/busines Stew Leonard Sr 93 Founder of Disneyland
2023-04-27   2023-04-29 s/stew-leonard-sr-dead.html                 Of Dairy Stories Dies                        By Sam Roberts                 TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/27/opinion
2023-04-27   2023-04-29 /joe-biden-reelection-economy.html          Biden and the Not So Bad Economy             By Paul Krugman                TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/27/sports/b Dick Groat Hoops Whiz Turned Star
2023-04-27   2023-04-29 aseball/dick-groat-dead.html                Shortstop Is Dead at 92                      By Richard Goldstein           TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/28/arts/dan
                        ce/harrison-ball-retiring-new-york-city-
2023-04-28   2023-04-29 ballet.html                                 At 30 Exiting City Ballet                    By Gia Kourlas                 TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/28/arts/dan
                        ce/review-shamel-pitts-boxing-dance-        A Boxing Ring Encounter Morphs From Duel
2023-04-28   2023-04-29 nyla.html                                   to Duet                                      By Brian Seibert               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/28/arts/mu
                        sic/emile-griffith-champion-metropolitan-
2023-04-28   2023-04-29 opera.html                                  Fusing Brutality and Passion at the Met      By Victor Mather               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/28/arts/mu
2023-04-28   2023-04-29 sic/new-york-philharmonic-review.html       A Rising Star Debuts With the Philharmonic By Seth Colter Walls             TX 9-292-487    2023-06-01
                                                                    Ben amp Jerrys Paves Way for Union at
                        https://www.nytimes.com/2023/04/28/busines Vermont Store the First Location in the US to
2023-04-28   2023-04-29 s/ben-jerrys-union-burlington-vermont.html Organize                                      By Noam Scheiber               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/28/busines
                        s/economy/fed-silicon-valley-bank-failure-  Federal Reserve Criticizes Itself On Bank
2023-04-28   2023-04-29 review.html                                 Failure                                      By Jeanna Smialek              TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/28/busines Fed Reports Illuminate An Economy Still      By Ben Casselman and Jeanna
2023-04-28   2023-04-29 s/economy/inflation-fed-wages-prices.html  Uneven                                       Smialek                         TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/28/busines Exxon and Chevron Report Modest Profits as
2023-04-28   2023-04-29 s/energy-environment/oil-exxon-chevron.html Fuel Prices Ease                          By Clifford Krauss                TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/28/busines Signs of Modest Growth Indicate the
2023-04-28   2023-04-29 s/eurozone-economic-growth-01-percent.html Eurozone Economy May Avoid Recession         By Liz Alderman                 TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/28/busines New Lyft CEO Lays Out Vision and Tells
2023-04-28   2023-04-29 s/lyft-return-to-office.html                Workers to Return to the Office             By Kellen Browning               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/busines                                              By John Koblin Brooks Barnes and
2023-04-28   2023-04-29 s/media/hollywood-writers-strike.html       Can Hollywood Go Off Script                 Nicole Sperling                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/busines                                              By Emily Flitter Jeanna Smialek
2023-04-28   2023-04-29 s/takeaways-bank-failures.html              Plenty of Concerns Not a Lot of Urgency     and Alan Rappeport               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/climate Hardier Brew African Farmers Bet on
2023-04-28   2023-04-29 /coffee-liberica-uganda.html                ClimateResistant Coffee                     By Somini Sengupta              TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/28/jobs/bla Unemployment Gap Between Black and
2023-04-28   2023-04-29 ck-unemployment-rate-nyc.html               White New Yorkers Widening Data Finds       By Stefanos Chen                TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/28/nyregio New York to Ban Natural Gas In Newly
2023-04-28   2023-04-29 n/gas-stove-ban-ny.html                     Constructed Buildings                       By Liam Stack                   TX 9-292-487    2023-06-01




                                                                                Page 5158 of 5793
                        https://www.nytimes.com/2023/04/28/opinion Jerry Springer Taught America How to
2023-04-28   2023-04-29 /jerry-springer-show-dead.html               Misbehave on Camera                          By Jane Coaston                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/science US Is Wiring Ukraine With Radiation Sensors
2023-04-28   2023-04-29 /ukraine-nuclear-radiation-sensors.html      to Identify Atomic Signatures                By William J Broad                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/sports/b
                        asketball/nba-playoffs-trae-young-jaylen-
2023-04-28   2023-04-29 brown-mikal-bridges.html                     Stars Rise As Does Pressure They Face        By Sopan Deb                       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/sports/f Each New York Team Settled on a Defender
2023-04-28   2023-04-29 ootball/jets-giants-nfl-draft.html           With Its First Selection                     By Victor Mather                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/sports/f Do You Think Round 1 Had No Surprises
2023-04-28   2023-04-29 ootball/nfl-draft-recap-picks.html           Just Ask Will Levis                          By Mike Tanier                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/technol Interest Builds Over Bluesky A Social Site
2023-04-28   2023-04-29 ogy/what-is-bluesky.html                     Akin to Twitter                              By Sheera Frenkel                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/us/alito- Alito Says in Interview He Didnt Leak Ruling
2023-04-28   2023-04-29 supreme-court-abortion-leak.html             But Has Idea Who Did                         By Adam Liptak                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/us/bend-The Homeless Man Who Once Was the
2023-04-28   2023-04-29 oregon-mayor-homeless.html                   Mayor                                        By Mike Baker                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/us/gun-
2023-04-28   2023-04-29 laws-colorado.html                           In Colorado 3 New Laws Restrict Guns         By Adeel Hassan                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/us/mon
2023-04-28   2023-04-29 tana-trans-gianforte.html                    Montana Bans Transgender Care for Minors By Jim Robbins and Jacey Fortin        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/us/nort
2023-04-28   2023-04-29 h-carolina-supreme-court-gerrymander.html State Justices Help to Notch Partisan Wins      By Michael Wines                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/us/polit
                        ics/2022-report-national-security-           Report Shows Small Rise In Domestic
2023-04-28   2023-04-29 surveillance.html                            Surveillance After 3 Years of Declines       By Charlie Savage                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/us/polit Florida Bill Clears Potential Presidential    By Nicholas Nehamas and Patricia
2023-04-28   2023-04-29 ics/desantis-florida-legislature.html        Roadblock for DeSantis                       Mazzei                             TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/28/us/polit Hearings for Military Court Based at
2023-04-28   2023-04-29 ics/guantanamo-war-court-remote.html        Guantnamo Stream From a Room in Virginia By Carol Rosenberg                      TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/28/us/polit Prosecutors in Jan 6 Case Take a Closer Look By Maggie Haberman Alan Feuer
2023-04-28   2023-04-29 ics/jan-6-prosecutors-trump-fund-raising.html at Trumps FundRaising                      and Jonathan Swan                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/us/polit
                        ics/mccarthy-republicans-right-wing-debt-
2023-04-28   2023-04-29 ceiling.html                                  McCarthys Deals With Far Right Carry Risks By Catie Edmondson                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/us/polit
2023-04-28   2023-04-29 ics/pence-2024-campaign-trump.html            Pence Cant Hide From Trumps Legal Woes By Jonathan Weisman                     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/us/polit
                        ics/republican-campaign-contributions-        GOP Leaders Balk at WinRed Plan to Raise
2023-04-28   2023-04-29 winred.html                                   Web Donations Fee                          By Shane Goldmacher                 TX 9-292-487   2023-06-01
                                                                                                                 By Declan Walsh Eric Schmitt
                        https://www.nytimes.com/2023/04/28/world/a US Begins Evacuating American Civilians       Edward Wong and Abdi Latif
2023-04-28   2023-04-29 frica/sudan-cease-fire.html                   From Sudan Taking 300 by Bus               Dahir                               TX 9-292-487   2023-06-01



                                                                                 Page 5159 of 5793
                        https://www.nytimes.com/2023/04/28/world/a A Surreal Life Inside the Buffer Between the
2023-04-28   2023-04-29 sia/dmz-panmunjom-joint-duty-officer.html Two Koreas                                    By Choe SangHun                  TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/28/world/e
                        urope/bbc-chairman-resigns-richard-        BBC Chairman Resigns Over Role in Loan
2023-04-28   2023-04-29 sharp.html                                 Deal                                         By Mark Landler                  TX 9-292-487     2023-06-01
                        https://www.nytimes.com/2023/04/28/world/e EU to Extend Tariff Waiver for Ukraines
2023-04-28   2023-04-29 urope/eu-ukraine-grain-tariff.html         Grain Despite Protests and Food Bans         By Matina StevisGridneff         TX 9-292-487     2023-06-01
                                                                                                                By Anatoly Kurmanaev Christopher
                        https://www.nytimes.com/2023/04/28/world/e We Were Taught to Learn From Pain            F Schuetze and Ekaterina
2023-04-28   2023-04-29 urope/germany-soviet-war-monuments.html Germans Retain Red Army Memorials               Bodyagina                        TX 9-292-487     2023-06-01

                        https://www.nytimes.com/2023/04/28/world/e Goddess as Influencer Italian Tourism Agency
2023-04-28   2023-04-29 urope/italy-tourism-campaign-backlash.html Is Mocked for Campaign                         By Elisabetta Povoledo           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/world/e Pope Pays a Visit to Hungary to Orbans         By Jason Horowitz and Elisabetta
2023-04-28   2023-04-29 urope/pope-francis-hungary.html              Delight                                      Povoledo                         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/world/e
2023-04-28   2023-04-29 urope/russia-ukraine-missile-uman.html       Russia Revives Deadly Strikes Upon Civilians By Marc Santora                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/world/e Record Heat Envelops Spain Bringing
2023-04-28   2023-04-29 urope/spain-heat-wave.html                   Summers High Temperatures in MidSpring By Constant Mheut                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/your- Forgot to File Your 2019 Taxes You Can Still
2023-04-28   2023-04-29 money/taxes-refund-2019.html                 Get Your Refund                              By Ann Carrns                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/nyregio Lawmakers to Scale Back Bail Overhaul          By Jesse McKinley Grace Ashford
2023-04-29   2023-04-29 n/bail-reform-ny.html                        Citing Crime and Voter Criticism             and Hurubie Meko                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/nyregio Hochul Arrives at Budget Deal With Wish
2023-04-29   2023-04-29 n/hochul-budget-ny.html                      List Largely Unfilled                        By Grace Ashford                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/us/min Minnesota Lawmakers Vote to Legalize
2023-04-29   2023-04-29 nesota-marijuana-legalize.html               Recreational Marijuana Use                   By Ernesto Londoo                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/us/polit
                        ics/white-house-correspondents-dinner-biden- Biden Is Ready for Encore At Correspondents
2023-04-29   2023-04-29 guests.html                                  Dinner                                       By Katie Rogers                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/29/busines
                        s/media/writers-guild-hollywood-ai-          As Artificial Intelligence Evolves
2023-04-29   2023-04-29 chatgpt.html                                 Screenwriters and Actors See a Threat        By Noam Scheiber and John Koblin TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/29/your- Comparison Shopping for Colleges Is Tricky
2023-04-29   2023-04-29 money/colleges-cost-comparisons.html         Business                                     By Ron Lieber                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/01/18/books/b Literary Destinations Read Your Way
2023-01-18   2023-04-30 oston-books-paul-theroux.html                Through Boston                               By Paul Theroux                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/23/books/r
                        eview/all-the-knowledge-in-the-world-simon-
2023-03-23   2023-04-30 garfield.html                                Everything Everywhere in One Big Book        By Jing Tsu                      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/03/26/books/h
2023-03-26   2023-04-30 ow-not-to-kill-yourself-clancy-martin.html   NearDeath Experiences                        By Alexandra Jacobs              TX 9-292-487   2023-06-01




                                                                                Page 5160 of 5793
                        https://www.nytimes.com/2023/03/28/books/r
2023-03-28   2023-04-30 eview/the-great-reclamation-rachel-heng.html We Cant Fish Forever                        By Jenny Tinghui Zhang   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/14/movies/
2023-04-14   2023-04-30 de-humani-corporis-fabrica-filmmakers.html Going Inside Without Being Too Intrusive      By Ben Kenigsberg        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/18/books/r
                        eview/gravity-and-center-sonnets-henri-
2023-04-18   2023-04-30 cole.html                                  The Shape of Thoughts                         By Daisy Fried           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/19/books/r
2023-04-19   2023-04-30 eview/ordinary-notes-christina-sharpe.html Pieces of Mind                                By Jennifer Szalai       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/books/e
                        oghan-walls-the-gospel-of-orla-jade-song-
                        chlorine-chrysalis-anna-metcalfe-american-
2023-04-20   2023-04-30 mermaid-julia-langbein.html                The Shortlist Debut Novels                    By Claire Luchette       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/20/books/r For Kate Morton a Change of Perspective
2023-04-20   2023-04-30 eview/homecoming-kate-morton.html          Changed Everything                            By Elisabeth Egan        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/21/magazi
2023-04-21   2023-04-30 ne/dead-ringers-rachel-weisz.html          Brainchild                                    By Alexandra Kleeman     TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/21/magazi
2023-04-21   2023-04-30 ne/indian-matchmaking-season-3-netflix.html Bad Match                                    By Iva Dixit             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/22/arts/mu
2023-04-22   2023-04-30 sic/jessie-ware-that-feels-good.html         Jessie Ware Saves Your Recommendations      By Caryn Ganz            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/books/r
                        eview/the-rediscovery-of-america-ned-
2023-04-23   2023-04-30 blackhawk.html                               Native Land                                 By Alan Taylor           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/opinion
2023-04-23   2023-04-30 /bird-flu.html                               Why Are Dead Birds Falling From the Sky     By David Quammen         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/23/style/ro
                        ller-skates-white-claws-and-a-broken-
2023-04-23   2023-04-30 wrist.html                                   A Writer Resets After a Broken Wrist        By Allie Rowbottom       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/arts/tele
2023-04-24   2023-04-30 vision/lizzy-caplan-fatal-attraction.html    Sympathy for a Stalker                      By Alexis Soloski        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/opinion
2023-04-24   2023-04-30 /addiction-free-will.html                    Do Addicts Have Free Will                   By Maia Szalavitz        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/realesta The Boldface Listing Isnt Bringing In the
2023-04-24   2023-04-30 te/ivana-trump-townhouse-nyc.html            Buyers                                      By Jacob Bernstein       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/24/realesta She Loved the City but Her Children Needed
2023-04-24   2023-04-30 te/rental-new-rochelle-new-york.html         Space                                       By Alix Strauss          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/04/ The Queen of Twitch Wonders What Turns
2023-04-24   2023-04-30 24/magazine/pokimane-twitch.html             Teenage Fans Into Trolls                    By David Marchese        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/dan
                        ce/trisha-brown-dance-company-judith-
2023-04-25   2023-04-30 sanchez-ruiz.html                            Moving Relentlessly Toward a Vision         By Gia Kourlas           TX 9-292-487   2023-06-01



                                                                                Page 5161 of 5793
                        https://www.nytimes.com/2023/04/25/arts/des                                              By Michael Kimmelman and Peter
2023-04-25   2023-04-30 ign/gilder-center-natural-history-museum.html A Joyful Space Sets The Stage for Wonder   Fisher                         TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/des
2023-04-25   2023-04-30 ign/guitar-frist-museum.html                  Riffing on the Guitar                      By Tanya Mohn                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/des
                        ign/jessica-ware-insects-american-museum-
2023-04-25   2023-04-30 natural-history.html                          Whats Not to Love                          By Alina Tugend                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/des
2023-04-25   2023-04-30 ign/keith-haring-broad-museum.html            Taking Keith Haring Seriously              By Robin Pogrebin               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/des
2023-04-25   2023-04-30 ign/museum-accessibility.html                 Making Art Accessible for All              By Katherine Bouton             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/des
2023-04-25   2023-04-30 ign/museums-local-growth.html                 Looking Locally                            By Michael Janofsky             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/des
                        ign/richard-avedon-portraits-american-
2023-04-25   2023-04-30 west.html                                     A Return Trip West                         By Chris Colin                  TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/25/arts/des
2023-04-25   2023-04-30 ign/selby-gardens-louis-comfort-tiffany.html Bringing Tiffanys Creations to Life         By Joseph B Treaster            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/des
2023-04-25   2023-04-30 ign/walker-pacita-abad-minneapolis.html      Coloring in the Margins                     By Alex V Cipolle               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/arts/har Belafonte on His Art and Activism and
2023-04-25   2023-04-30 ry-belafonte-music-activism-politics.html    American Racism                             By The New York Times           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/magazi
2023-04-25   2023-04-30 ne/childhood-memories-floor-plans.html       Floor Plans                                 By Phoebe Chen                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/opinion
2023-04-25   2023-04-30 /abortion-republicans-referendums.html       Republicans Are Changing the Rules          By Jamelle Bouie                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/opinion
2023-04-25   2023-04-30 /hong-kong-protest-china-beijing.html        Hong Kongs Memory Is Being Erased           By Louisa Lim                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/realesta
2023-04-25   2023-04-30 te/foyer-decor-ideas.html                    The Importance of Making a Grand Entrance   By Tim McKeough                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/style/tw                                              By Callie Holtermann and Lora
2023-04-25   2023-04-30 itter-check-marks.html                       A Status Symbol Fades Into the Blue         Kelley                          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/25/well/liv Biden Would End a Second Term at 86
2023-04-25   2023-04-30 e/biden-president-age-health-2024.html       Could His Brain and Body Keep Up            By Melinda Wenner Moyer         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/04/ Dr Fauci Looks Back Something Clearly
2023-04-25   2023-04-30 24/magazine/dr-fauci-pandemic.html           Went Wrong                                  By David WallaceWells           TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/26/arts/des
2023-04-26   2023-04-30 ign/beatrix-potter-peter-rabbit-science.html More Than Peter Rabbits Creator             By Tanya Mohn                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/arts/des
2023-04-26   2023-04-30 ign/chazen-museum-emancipation.html          An Alternative to Removal                   By Siddhartha Mitter            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/arts/des
2023-04-26   2023-04-30 ign/museums-artist-in-residence.html         A New Role for Artists in Residence         By John Hanc                    TX 9-292-487   2023-06-01



                                                                                 Page 5162 of 5793
                        https://www.nytimes.com/2023/04/26/arts/des
2023-04-26   2023-04-30 ign/museums-death-afterlife.html                Death as a Lively Subject                By Laurel Graeber               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/arts/des
                        ign/new-york-historical-society-children-
2023-04-26   2023-04-30 democracy-lessons.html                          An Early Lesson in Democracy             By Alina Tugend                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/arts/fas
2023-04-26   2023-04-30 hion-podcasts.html                              Fashion Advice Put Front and Center      By Emma Dibdin                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/arts/ko
2023-04-26   2023-04-30 mar-melamid-zimmerli.html                       Back Together for Now                    By Sophia Kishkovsky            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/books/r
                        eview/garth-williams-the-rabbits-wedding-
2023-04-26   2023-04-30 banned-books.html                               Banned Bunnies                           By Cynthia Greenlee             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/magazi
2023-04-26   2023-04-30 ne/cheescake-bars-dudamel.html                  Cheesecake Fit for a Maestro             By Ligaya Mishan                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/magazi The Woman Shaping a Generation of Black
2023-04-26   2023-04-30 ne/christina-sharpe-black-literature.html       Thought                                  By Jenna Wortham                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/nyregio He Helps New Yorks Governor Call the Shots By Nicholas Fandos and Jeffery C
2023-04-26   2023-04-30 n/adam-sullivan-hochul-adviser.html             From Colorado                            Mays                            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/opinion What Harry Belafonte Did for Martin Luther
2023-04-26   2023-04-30 /harry-belafonte-mlk-phone-call.html            King Jr                                  By Jonathan Eig                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/opinion
                        /tree-of-life-synagogue-jewish-tradition-death- Why Jewish Tradition Rejects the Death
2023-04-26   2023-04-30 penalty.html                                    Penalty                                  By Beth Kissileff               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/realesta A Beach Town Thats Pretty but Not
2023-04-26   2023-04-30 te/east-lyme-connnecticut-homes.html            Pretentious                              By Lisa Prevost                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/realesta
                        te/home-prices-georgia-maryland-                450000 Homes in Georgia Maryland and
2023-04-26   2023-04-30 washington.html                                 Washington                               By Angela Serratore             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/realesta
                        te/how-to-grow-dahlias-a-ceramist-has-some-
2023-04-26   2023-04-30 advice-for-you.html                             How to Grow Dahlias The Ceramist Knows By Margaret Roach                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/style/al A Former Slaughterhouse Becomes a
2023-04-26   2023-04-30 cova-slaughterhouse-showroom.html               Showroom                                 By Aileen Kwun                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/style/bo
2023-04-26   2023-04-30 yfriend-summer-plans.html                       When Youre Plan B                        By Philip Galanes               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/26/theater/
                        justin-cooley-kimberly-akimbo-
2023-04-26   2023-04-30 broadway.html                                   From a Theater Kid in Kansas to Broadway By Michael Paulson              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/04/ American Road Deaths Show an Alarming
2023-04-26   2023-04-30 26/opinion/road-deaths-racial-gap.html          Racial Gap                               By Adam Paul Susaneck           TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/27/arts/des
2023-04-27   2023-04-30 ign/amon-carter-museum-emancipation.html Reimagining Freedom                          By David Kaufman                   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/des
2023-04-27   2023-04-30 ign/buffalo-art-museum.html                 A Museum Reborn                           By Hilarie M Sheets                TX 9-292-487   2023-06-01



                                                                               Page 5163 of 5793
                        https://www.nytimes.com/2023/04/27/arts/des
2023-04-27   2023-04-30 ign/ellsworth-kelly-jack-shear-donation.html Honoring an Artist by Donating His Work   By Ted Loos             TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/des
2023-04-27   2023-04-30 ign/jr-artist-parrish-art-museum.html        Brightening the Montauk Highway           By Hilarie M Sheets     TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/27/arts/des
2023-04-27   2023-04-30 ign/museums-exhibitions-spring-summer.html Travel the World                             By Lauren Messman      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/des
2023-04-27   2023-04-30 ign/new-york-city-museum.html                Celebrating a Century                      By Jane L Levere       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/des
                        ign/photography-judith-joy-ross-
2023-04-27   2023-04-30 philadelphia.html                            Photographing Everyday Life                By Ted Loos            TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/arts/tele
                        vision/white-house-plumbers-hbo-             Shining a Bit More Light On a Dark Time in
2023-04-27   2023-04-30 watergate.html                               America                                    By Adam Nagourney      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/books/r The Middle Ages Had Horses We Have
2023-04-27   2023-04-30 eview/new-military-history-books.html        Computer Chips                             By Thomas E Ricks      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/fashion
                        /weddings/new-york-one-day-officiant-law- Today and Today Only I Can Pronounce Thee
2023-04-27   2023-04-30 marriage.html                                Wed                                        By Sadiba Hasan        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/magazi
                        ne/judge-john-hodgman-eating-street-
2023-04-27   2023-04-30 candy.html                                   Bonus Advice From Judge John Hodgman       By John Hodgman        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/magazi
2023-04-27   2023-04-30 ne/poem-pour-la-cgt.html                     Poem                                       By Rod Smith           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/nyregio Is Your Purchase What You Thought It
2023-04-27   2023-04-30 n/class-action-lawsuits-nyc.html             Would Be                                   By Britta Lokting      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/opinion
2023-04-27   2023-04-30 /avoid-cliches.html                          A Litany of Clichs                         By Michael Massing     TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/27/opinion
2023-04-27   2023-04-30 /britain-conservative-party-coronation.html How Britain Became A Tory Nation           By Samuel Earle         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/opinion
2023-04-27   2023-04-30 /donald-trump-justice.html                  Are We Making an Example of Trump          By Katherine Miller     TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/realesta
2023-04-27   2023-04-30 te/the-hottest-us-rental-markets.html       Where Renters Are Looking                  By Michael Kolomatsky   TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/27/style/jo
2023-04-27   2023-04-30 an-didion-party-new-york-public-library.html Moving Past the Joan Didion Myth          By Alex Vadukul         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/style/m
2023-04-27   2023-04-30 aggie-smith-poet.html                        The Divorce Memoir as Salvation           By Sarah Lyall          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/27/style/ti
2023-04-27   2023-04-30 me-100-gala-save-venice.html                 Lots of People We Want to Know            By Katie Van Syckle     TX 9-292-487   2023-06-01




                                                                                Page 5164 of 5793
                        https://www.nytimes.com/2023/04/27/world/e Unmarried So Was Jesus Church of England
2023-04-27   2023-04-30 urope/church-england-jesus-single.html       Points Out                                  By Lauren McCarthy       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/interactive/2023/04/
                        27/realestate/mexico-playa-del-carmen-       Two Americans Take a Chance in Playa del
2023-04-27   2023-04-30 apartment.html                               Carmen Mexico Which Condo Did They Buy By Debra Kamin                TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/arts/des
2023-04-28   2023-04-30 ign/isaac-julien-tate-britain.html           Activist With an Eye for Beauty             By Elizabeth Fullerton   TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/arts/gre
                        ek-monastery-kosinitza-mansucripts-          Lost Antiquities Found Collecting Dust in
2023-04-28   2023-04-30 looted.html                                  Office                                      By Colin Moynihan        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/arts/ja James Harithas 90 Art Museum Director And
2023-04-28   2023-04-30 mes-harithas-dead.html                       Influential Force                           By Alex Williams         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/arts/mu Mark Stewart Fiery Frontman For the Pop
2023-04-28   2023-04-30 sic/mark-stewart-dead.html                   Group Dies at 62                            By Alex Williams         TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/books/r Rabbi Harold S Kushner 88 Reassuring
2023-04-28   2023-04-30 abbi-harold-s-kushner-dead.html              BestSelling Author Dies                     By Sam Roberts           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/books/r
2023-04-28   2023-04-30 eview/a-history-of-burning-janika-oza.html From the Ashes                                By S Kirk Walsh          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/books/r
2023-04-28   2023-04-30 eview/new-romance-novels.html                Game Set and Match                          By Olivia Waite          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/busines Fast Money and Faded Hope in Chinas
2023-04-28   2023-04-30 s/china-livestreaming-ecommerce.html         Shopping Craze                              By Vivian Wang           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/busines Stretch Limos Rides to Red Carpets and
2023-04-28   2023-04-30 s/limo-service-decline.html                  Proms Are Gone Like the Dodo Bird           By Jesus Jimnez          TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/busines If a Recession Hits Patient Investors Can
2023-04-28   2023-04-30 s/recession-stock-market-investing.html      Bounce Back                                 By Jeff Sommer           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/health/ Bilingualism May Stave Off Dementia Study
2023-04-28   2023-04-30 bilingualism-memory-dementia.html            Suggests                                    By Jaya Padmanabhan      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/health/ Breast Cancer Risk Is Seen When Tissue
2023-04-28   2023-04-30 breast-cancer-density.html                   Stays Denser                                By Roni Caryn Rabin      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/health/ Institute Members Want Answers on Sacklers
2023-04-28   2023-04-30 national-academies-sacklers.html             Funds                                       By Christina Jewett      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/magazi The Most Dangerous Person in the World Is
2023-04-28   2023-04-30 ne/randi-weingarten-teachers-unions.html     Randi Weingarten                            By Jonathan Mahler       TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/nyregio Funding Plan From Albany Helps MTA Avert
2023-04-28   2023-04-30 n/mta-fare-hike-budget.html                  a Crisis                                    By Ana Ley               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/nyregio Trying to Change the World and Their Bosses
2023-04-28   2023-04-30 n/nonprofits-unions.html                     Minds                                       By Julie Satow           TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/nyregio
2023-04-28   2023-04-30 n/traffic-deaths-nyc-vision-zero.html        On the Deadliest Streets of New York        By Ginia Bellafante      TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/opinion Private Equity Is Gutting America and Getting
2023-04-28   2023-04-30 /private-equity.html                         Away With It                                By Brendan Ballou        TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/28/opinion
2023-04-28   2023-04-30 /tucker-carlson-fox.html                     We Are Not Rid Of Tucker Carlson            By Jason Zengerle        TX 9-292-487   2023-06-01




                                                                                 Page 5165 of 5793
                        https://www.nytimes.com/2023/04/28/realesta
2023-04-28   2023-04-30 te/fake-books-decor.html                    Fake Books Are a Real Trend                 By Anna Kod                   TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/28/sports/b A Former AllStar Wants One Last Shot at the By Noah Gittell and Hiroko
2023-04-28   2023-04-30 aseball/daniel-murphy-long-island-ducks.html Majors                                     Masuike                       TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/28/sports/s Kane Reaches a Fork in the Road and Hell
2023-04-28   2023-04-30 occer/harry-kane-tottenham-liverpool.html    Have to Take It                            By Rory Smith                 TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/28/style/all
2023-04-28   2023-04-30 ie-mitchell-kyle-carlock-wedding.html        Celebrating One Date and Canceling Another By Jenny Block                TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/28/style/ga
                        il-joseph-friends-david-schwimmer-modern-
2023-04-28   2023-04-30 love.html                                    After 20 Years Time to Stop Asking Why     By Samantha Joseph            TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/28/style/jh
                        anae-bonnick-patrick-mcdonnell-              When Broadway Dimmed Their Love Began
2023-04-28   2023-04-30 wedding.html                                 to Shine                                   By Valeriya Safronova         TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/28/style/ni Falling in Love Months Before Meeting Face
2023-04-28   2023-04-30 ck-matcheck-and-lori-hu-wedding.html         to Face                                    By Rosalie R Radomsky         TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/28/style/si
2023-04-28   2023-04-30 mon-halliday-michelle-bryant-wedding.html After the Nude Spa a Shift in the Relationship By Steven Moity               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/29/arts/mu
2023-04-29   2023-04-30 sic/don-giovanni-met-opera.html             The Pains and Privileges of Don Giovanni     By Joshua Barone              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/29/busines US Intends to Take Over Faltering Bank and By Lauren Hirsch Maureen Farrell
2023-04-29   2023-04-30 s/first-republic-seizure-fdic.html          Sell It Before Monday                        and Jeanna Smialek            TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/29/busines Preparing Your Will With Good Friends in
2023-04-29   2023-04-30 s/friends-wills-inheritance-beneficiary.html Mind                                       By Sara Murphy                TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/29/busines
2023-04-29   2023-04-30 s/media/denver-airport.html                  The Demon Horse Of Denver                  By Tiffany Hsu                TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/29/fashion
2023-04-29   2023-04-30 /karl-lagerfeld-chanel-fendi-hm.html         Fashion Remade With Irreverence            By Vanessa Friedman           TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/29/opinion Biden Can Close the Legal Black Hole at
2023-04-29   2023-04-30 /guantanamo-bay-prison-biden.html            Guantnamo                                  By The Editorial Board        TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/29/opinion
2023-04-29   2023-04-30 /journalism-newsroom.html                    Requiem for the Newsroom                   By Maureen Dowd               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/29/opinion
2023-04-29   2023-04-30 /sat-college.html                            Can College Meritocracy Survive            By Ross Douthat               TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/29/realesta A Nuisance Ice Cream Truck Spoils Our
2023-04-29   2023-04-30 te/ice-cream-truck-noise.html                Perch How Do We Fight Back                 By Ronda Kaysen               TX 9-292-487    2023-06-01

                        https://www.nytimes.com/2023/04/29/sports/r After Losing His Legs A Ukrainian ExSoldier
2023-04-29   2023-04-30 unning-prosthetics-artem-moroz-ukraine.html Keeps the Will to Run                       By Jennie Coughlin            TX 9-292-487    2023-06-01
                        https://www.nytimes.com/2023/04/29/style/ko
2023-04-29   2023-04-30 rean-men-perm.html                          Korean Waves Whet an Appetite for Curls     By Wilson Wong                TX 9-292-487    2023-06-01




                                                                                Page 5166 of 5793
                        https://www.nytimes.com/2023/04/29/us/calif California Rule Would Ban Sale of Diesel   By Neelam Bohra and Coral
2023-04-29   2023-04-30 ornia-diesel-truck-sale-ban.html            Trucks                                     Davenport                        TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/29/us/door Man Who Crashed Into Teens Is Found Guilty
2023-04-29   2023-04-30 bell-prank-california-guilty.html           of Murder                                  By Lauren McCarthy               TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/29/us/polit With Biden Seeking Reelection Black Voters
2023-04-29   2023-04-30 ics/black-voters-biden-2024.html            Frustration Brews                          By Maya King and Reid J Epstein TX 9-292-487       2023-06-01
                        https://www.nytimes.com/2023/04/29/us/shoo Gunman Sought After Killing 5 Inside Texas By Maria Jimenez Moya Eduardo
2023-04-29   2023-04-30 ting-texas-san-jacinto.html                 Home                                       Medina and Jesus Jimnez          TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/29/world/a Sudan Conflict Reignites Civil War Fears in
2023-04-29   2023-04-30 frica/sudan-darfur-war.html                 Darfur                                     By Elian Peltier                 TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/29/world/a South Korean Leaders Visit to US Gets
2023-04-29   2023-04-30 sia/yoon-biden-south-korea.html             Chillier Reviews at Home                   By Choe SangHun                  TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/29/world/e
                        urope/london-pearly-kings-queens-           Carrying On a Waning Way of Life With
2023-04-29   2023-04-30 cockney.html                                Pearly Duds and a Cockney Accent           By Megan Specia                  TX 9-292-487      2023-06-01
                        https://www.nytimes.com/2023/04/29/world/e Russia Ties Crimea Fire To Enemy Drone
2023-04-29   2023-04-30 urope/russia-ukraine-war-crimea-fire.html   Strike                                     By Marc Santora and Victoria Kim TX 9-292-487      2023-06-01

                        https://www.nytimes.com/2023/04/29/world/e                                                 By Michael Schwirtz and David
2023-04-29   2023-04-30 urope/ukraine-russia-counteroffensive.html Fighting Back in a Very Personal War            Guttenfelder                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/29/world/e
                        urope/wrexham-afc-wales-reynolds-          LongSuffering Town In Wales Finally Gets
2023-04-29   2023-04-30 mcelhenney.html                            Its Hollywood Ending                            By Euan Ward                    TX 9-292-487   2023-06-01

                        https://www.nytimes.com/2023/04/30/busines
2023-04-30   2023-04-30 s/roxane-gay-work-advice-office-pets.html   Do I Have to Put Up With Barking Dogs           By Roxane Gay                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/30/busines The Week in Business HighProfile Media
2023-04-30   2023-04-30 s/the-week-in-business-media-firings.html   Ousters                                         By Marie Solis                 TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/30/crossw A Crossword Puzzle That Walks on the Wild
2023-04-30   2023-04-30 ords/daily-puzzle-2023-05-01.html           Side                                            By Sam Corbin                  TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/30/insider/
2023-04-30   2023-04-30 allan-siegal-standards.html                 The Color of Style                              By David W Dunlap              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/30/insider/
2023-04-30   2023-04-30 marriage-officiant-legal.html               Im Not Sure if I Can Announce You Married By Megan DiTrolio                    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/30/nyregio
2023-04-30   2023-04-30 n/peter-gelb-keri-lynn-wilson.html          Hot or Cold Pasta or Not Always in Tune         By Tammy La Gorce              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/30/nyregio
2023-04-30   2023-04-30 n/secret-penthouse-artist-studio.html       Lofty Ideas Still Thrive In a Haven For Artists By Dodai Stewart               TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/30/nyregio
2023-04-30   2023-04-30 n/veteran-nightmares-nazi.html              Speaking of the War at Long Last                By Michael Wilson              TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/30/us/supr As a Law School Grows So Do Perks for
2023-04-30   2023-04-30 eme-court-scalia-law-school.html            Justices                                        By Steve Eder and Jo Becker    TX 9-292-487   2023-06-01
                        https://www.nytimes.com/2023/04/30/world/a Brazilian Group Occupies Land Unused by          By Jack Nicas and Maria
2023-04-30   2023-04-30 mericas/brazil-land-occupation.html         Rich                                            Magdalena Arrllaga             TX 9-292-487   2023-06-01




                                                                                  Page 5167 of 5793
                        https://www.nytimes.com/2023/04/22/world/e Elisabeth Kopp 86 First Woman on Council
2023-04-22   2023-05-01 urope/elisabeth-kopp-dead.html               Governing Switzerland                     By Neil Genzlinger               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/24/obituari H Dale Hemmerdinger 78 Who Guided MTA
2023-04-24   2023-05-01 es/h-dale-hemmerdinger-dead.html             Through the Recession in 2008             By Sam Roberts                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/25/arts/mu
2023-04-25   2023-05-01 sic/tim-hecker-no-highs.html                 Both Master and Critic of Ambient Music   By Grayson Haver Currin          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/25/travel/ti In Egypt Leave a Tip in the Loo and Other
2023-04-25   2023-05-01 pping-travel-vacation.html                   Guidelines to Gratuities                  By Elaine Glusac                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/27/arts/tele
                        vision/somebody-somewhere-mike-
2023-04-27   2023-05-01 hagerty.html                                 Navigating a RealLife Plot Twist          By Alexis Soloski                TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/04/27/theater/
2023-04-27   2023-05-01 the-knight-of-the-burning-pestle-review.html A Heroic Grocer Wielding His Trusty Tools By Alexis Soloski                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/28/arts/des
                        ign/kline-whitney-notebook-work-labor-                                                   By Jason Farago and Emma
2023-04-28   2023-05-01 art.html                                     A Jolting View Of Work and Life             Goldberg                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/28/arts/mu
2023-04-28   2023-05-01 sic/u2-medical-treatment.html                U2 Shaped His Life and Then Helped Save It By Theodore Kim                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/28/briefing
                        /pandemic-school-closures-randi-             Justices Slavery Question Highlights Thorny
2023-04-28   2023-05-01 weingarten.html                              Future Of Affirmative Action                By David Leonhardt             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/28/busines
2023-04-28   2023-05-01 s/food-inflation-prices.html                 Cutting Back as Food Costs Go Up Up Up      By Lora Kelley                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/28/opinion Were Thinking About Nuclear Waste All
2023-04-28   2023-05-01 /climate-change-nuclear-waste.html           Wrong                                       By Madison Hilly               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/28/theater/ Charles Hull 92 Who Introduced Young
2023-04-28   2023-05-01 charles-hull-dead.html                       Audiences to the Theater                    By Daniel E Slotnik            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/29/busines
                        s/dealbook/should-uninsured-deposits-get-a- Should Uninsured Deposits Get a Warning      By Andrew Ross Sorkin Lauren
2023-04-29   2023-05-01 warning-label.html                           Label                                       Hirsch and Sarah Kessler       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/29/busines Its HomeBuying Season Why Are Sellers
2023-04-29   2023-05-01 s/spring-housing-market.html                 Recoiling                                   By Gregory Schmidt             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/29/nyregio George Santos Knows Hes the Butt of the
2023-04-29   2023-05-01 n/george-santos-washington.html              Joke Now Hes Embracing It                   By Nicholas Fandos             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/29/nyregio Rape Case Puts Trump in Legal Jeopardy but By Jonah E Bromwich Benjamin
2023-04-29   2023-05-01 n/trump-carroll-rape-case-election.html      in Race Hes Thriving                        Weiser and Lola Fadulu         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/29/opinion
2023-04-29   2023-05-01 /bud-light-sales.html                        Shopping for WokeFree Beer Read This        By Matthew Walther             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/29/science Report Cites Unknowns in Early Covid
2023-04-29   2023-05-01 /raccoon-dogs-wuhan-market.html              Spread                                      By Benjamin Mueller            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/29/sports/f
2023-04-29   2023-05-01 ootball/nfl-draft-picks-results.html         The Whys Of Whom Teams Selected             By Mike Tanier                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/29/science SpaceX Rocket Struggled to SelfDestruct as It
2023-04-30   2023-05-01 /elon-musk-spacex-starship.html              Spun Out of Control Hurling Debris          By Kenneth Chang               TX 9-299-029   2023-07-03



                                                                               Page 5168 of 5793
                        https://www.nytimes.com/2023/04/30/books/s
                        he-wrote-frankly-about-divorce-and-suffered-
2023-04-30   2023-05-01 the-consequences.html                           Time to Reconsider A Classic ExWife      By Alexandra Jacobs             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/busines Echoes of History in the New Push to Restrict By Kashmir Hill and Natasha
2023-04-30   2023-05-01 s/aclu-free-speech-online.html                  What Young People Can View               Singer                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/busines
2023-04-30   2023-05-01 s/louisiana-kids-age-porn-law.html              Child Shields May Remake The Internet    By Natasha Singer               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/busines
2023-04-30   2023-05-01 s/media/hollywood-writers-strike.html           Hollywood Is Bracing For a Strike        By Brooks Barnes                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/nyregio Amid Scrutiny Top Adviser For Hochul Steps By Nicholas Fandos and Jeffery C
2023-04-30   2023-05-01 n/adam-sullivan-resignation-hochul.html         Down                                     Mays                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/nyregio One Year After Shooting Victims Agony
2023-04-30   2023-05-01 n/brooklyn-subway-shooting-victims.html         Endures                                  By Karen Zraick                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/nyregio Elite School Admits to Failure After Suicide By Benjamin Weiser and Tracey
2023-04-30   2023-05-01 n/lawrenceville-school-suicide.html             of a Bullied Student                     Tully                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/obituari
                        es/dr-leroy-carhart-fierce-defender-of-abortion Dr LeRoy Carhart 81 a Fierce Champion of
2023-04-30   2023-05-01 rights-dies-at-81.html                          Abortion Rights Dies                     By Alex Traub                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/obituari Jerry Mander Who Promoted Nonprofits in
2023-04-30   2023-05-01 es/jerry-mander-dead.html                       Ads Dies at 86                           By Richard Sandomir             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/opinion Disney v DeSantis How Strong Is the
2023-04-30   2023-05-01 /disney-desantis-florida-lawsuit.html           Companys Lawsuit                         By David French                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/opinion We Still Need to Know How Well Masking
2023-04-30   2023-05-01 /masks-pandemic.html                            Works                                    By Jennifer B Nuzzo             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/sports/a
                        utoracing/f1-azerbaijan-grand-prix-             Prez Secures Second Victory as Red Bull
2023-04-30   2023-05-01 results.html                                    Dominates Again                          By Andrew Das and Josh Katz     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/sports/b
2023-04-30   2023-05-01 aseball/meiji-jingu-stadium-japan.html          The Fate of Japans House That Ruth Built By Joshua Mellin                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/sports/b
                        asketball/golden-state-warriors-stephen-curry-
2023-04-30   2023-05-01 sacramento-kings.html                           Currys No 1 Game 7 Lifts Warriors        By Scott Cacciola               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/sports/b Knicks Take First Blow in Throwback Battle
2023-04-30   2023-05-01 asketball/knicks-miami-heat-game-1.html         With Heat                                By Tania Ganguli                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/sports/d Chinas First Crown In TopLevel Chess
2023-04-30   2023-05-01 ing-liren-chess-world-championship.html         Thrills the Country                      By Dylan Loeb McClain           TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/04/30/sports/h Leafs Finally Give Fans Something to Ahonk
2023-04-30   2023-05-01 ockey/toronto-maple-leafs-nhl-playoffs.html About                                       By Shawna Richer                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/us/leak
2023-04-30   2023-05-01 s-teixeira-drones-intelligence.html         Arrest in Leaks Shows Spread Of Secret Data By John Ismay                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/us/mari Federal Recruiters Easing Rules As Marijuana
2023-04-30   2023-05-01 juana-drugs-federal-jobs.html               Gains Acceptance                            By Ernesto Londoo                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/us/polit Biden Given a Chance to Mock Fox News       By Peter Baker and Katie
2023-04-30   2023-05-01 ics/biden-fox-carlson-cnn-lemon.html        Embraces It                                 Robertson                        TX 9-299-029   2023-07-03



                                                                                Page 5169 of 5793
                        https://www.nytimes.com/2023/04/30/us/san- Grocery Closure Reflects San Franciscos      By Thomas Fuller and Sharon
2023-04-30   2023-05-01 francisco-whole-foods-crime-economy.html Woes                                           LaFraniere                        TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/04/30/us/texa Dragnet Continues for Man Sought in Fatal    By Maria Jimenez Moya Livia
2023-04-30   2023-05-01 s-shooting-manhunt-victims.html             Shooting of 5 in Texas                      AlbeckRipka and Eduardo Medina TX 9-299-029      2023-07-03
                        https://www.nytimes.com/2023/04/30/world/a
2023-04-30   2023-05-01 frica/sudan-hospitals-doctors-fighting.html Health Care System In Sudan Is Collapsing   By Lynsey Chutel                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/04/30/world/a Fuel Shortage Batters Cuba May Day Fest Is By Emiliano Rodrguez Mega and
2023-04-30   2023-05-01 mericas/cuba-workers-parade-canceled.html Canceled                                     Ed Augustin                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/world/a 11 Are Dead In North India After Mysterious
2023-04-30   2023-05-01 sia/gas-leak-punjab-india-dead.html        Gas Leak                                    By Sameer Yasir                    TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/04/30/world/e Crimea Depot Attack Was Prelude To Spring
2023-04-30   2023-05-01 urope/biden-gershkovich-russia-ukraine.html Offensive Ukraine Says                    By Matthew Mpoke Bigg               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/world/e A Crowning Is Coming Among Britons
2023-04-30   2023-05-01 urope/charles-coronation-mood.html          Apathy Reigns                             By Mark Landler                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/world/e Pope Says Hes Working on Secret Mission of
2023-04-30   2023-05-01 urope/pope-francis-hungary.html             Peace in Ukraine                          By Jason Horowitz                   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/04/30/world/e Refusing to Wage War for Russia And Paying
2023-04-30   2023-05-01 urope/russia-military-deserters-ukraine.html Price                                    By Neil MacFarquhar                 TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/04/30/world/a
2023-05-01   2023-05-01 mericas/paraguay-election-santiago-pena.html Paraguay Keeps a RightWing Party in Power By Jack Nicas and Laurence Blair   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/arts/tele
                        vision/whats-on-tv-this-week-a-small-light-                                            By Kristen Bayrakdarian and
2023-05-01   2023-05-01 and-the-met-gala.html                        This Week on TV                           Taylor Robinson                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/us/polit
                        ics/biden-trump-independent-voters-arizona- These Voters May Hold the Key to a Biden
2023-05-01   2023-05-01 2024.html                                    Reelection                                By Trip Gabriel                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/world/ The Double Life Of Britains Spy in Irans     By Farnaz Fassihi and Ronen
2023-05-01   2023-05-01 middleeast/british-spy-execution-iran.html   Regime                                    Bergman                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/bu
                        siness/bank-failures-svb-first-republic-     3 Failed Banks This Year Were Bigger Than By Karl Russell and Christine
2023-03-11   2023-05-02 signature.html                               25 That Crumbled in 2008                  Zhang                              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/07/science When Did Tasmanian Tigers Actually
2023-04-07   2023-05-02 /tasmanian-tiger-sightings.html              Disappear                                 By Joshua Rapp Learn               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/17/well/m
2023-04-17   2023-05-02 ove/yoga-benefits.html                       Room for Everyone on the Mat              By Melinda Wenner Moyer            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/22/science Deadly Aroma This Predators Secret Weapon
2023-04-22   2023-05-02 /pitcher-plants-insects-sents.html           A Perfume With a Punch                    By Veronique Greenwood             TX 9-299-029   2023-07-03




                                                                                Page 5170 of 5793
                        https://www.nytimes.com/2023/04/23/well/eat                                               By Rachel Rabkin Peachman and
2023-04-23   2023-05-02 /healthy-breakfast.html                     Secrets of a Healthy Breakfast Dont Skip It   Bobbi Lin for The New York Times TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/24/well/liv Experts Are Optimistic Over Low Covid
2023-04-24   2023-05-02 e/covid-cases-deaths-spring.html            Rates                                         By Dana G Smith                 TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/04/25/science You Can Leave Your Hat On Why
2023-04-25   2023-05-02 /goldfish-brain-computer-navigation.html     Researchers Turned A Goldfish Into a Cyborg By Kate Golembiewski             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/25/science Identity Crisis The Martian Origins of a
2023-04-25   2023-05-02 /mars-deimos-moon-photos.html                Martian Moon                                  By Jonathan OCallaghan         TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/25/science
2023-04-25   2023-05-02 /rosalind-franklin-dna.html                  Essay Extends Debate Over DNA Discovery By Emily Anthes                      TX 9-299-029    2023-07-03
                                                                     I was just diagnosed with irritable bowel
                        https://www.nytimes.com/2023/04/25/well/ibs syndrome Am I destined to deal with its
2023-04-25   2023-05-02 symptoms-treatment-cure.html                 symptoms forever or is there a cure           By Alice Callahan              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/26/arts/mu Karl Berger 88 Jazzman Who Freed The
2023-04-26   2023-05-02 sic/karl-berger-dead.html                    Minds of Musicians for Decades                By Jon Pareles                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/26/science A Darker View Taking a More Expansive
2023-04-26   2023-05-02 /astronomy-black-hole-m87.html               Look At an EverMoreFamiliar Black Hole        By Dennis Overbye              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/27/books/j
                        udy-blume-are-you-there-its-me-margaret-
2023-04-27   2023-05-02 movie.html                                   We Are All Margarets                          By Elisabeth Egan              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/27/science
2023-04-27   2023-05-02 /genetics-dna-mammals.html                   The Secrets To Mammals Cool Things            By Emily Anthes                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/27/science
2023-04-27   2023-05-02 /human-dna-genomes.html                      Exploring What Binds A Family Tree            By Carl Zimmer                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/27/theater/
2023-04-27   2023-05-02 welcome-to-clowntown-review.html             Fun With Balloon Animals                      By Maya Phillips               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/27/well/liv
2023-04-27   2023-05-02 e/period-ovulation-pain-relief.html          The Mysteries of Ovulation Pain               By Alisha Haridasani Gupta     TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/28/arts/des
2023-04-28   2023-05-02 ign/tate-modern-karin-hindsbo.html           Tate Modern Names Its New Director            By Alex Marshall               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/28/arts/tele
2023-04-28   2023-05-02 vision/a-small-light-review.html             Another Side of the Anne Frank Story          By Mike Hale                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/28/arts/tele
                        vision/robin-thede-black-lady-sketch-
2023-04-28   2023-05-02 show.html                                    Black Lady on a Mission                       By LeighAnn Jackson            TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/28/opinion
                        /john-roberts-clarence-thomas-supreme-       The Polite Disdain of the Chief Justice Finds
2023-04-28   2023-05-02 court.html                                   a Target                                      By Jamelle Bouie               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/28/theater/
2023-04-28   2023-05-02 harmony-broadway-manilow-musical.html        Manilows Musical Is BroadwayBound             By Michael Paulson             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/01/arts/des A Dare for Art Students Embrace the
2023-05-01   2023-05-02 ign/ai-art-class.html                        Machines                                      By Zachary Small               TX 9-299-029    2023-07-03




                                                                                  Page 5171 of 5793
                        https://www.nytimes.com/2023/05/01/arts/mu
2023-05-01   2023-05-02 sic/abdul-wadud-by-myself.html             Into the Stratosphere On a Bold Solo Flight By Hank Shteamer                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/books/a
2023-05-01   2023-05-02 idan-marchine-death-of-an-author.html      A Human Wrote This Review                   By Dwight Garner                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/busines FDIC Recommends That Congress Broaden
2023-05-01   2023-05-02 s/fdic-bank-insurance-proposals.html       Bank Insurance for Businesses               By Alan Rappeport                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/busines Both Relief and Jitters As JPMorgan         By Maureen Farrell Matthew
2023-05-01   2023-05-02 s/first-republic-jpmorgan-fdic.html        Acquires Troubled First Republic            Goldstein and Lauren Hirsch            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/busines What to Know About the Forced Sale of First
2023-05-01   2023-05-02 s/first-republic-stock-deposits-sale.html  Republic                                    By Lora Kelley                         TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/01/busines
2023-05-01   2023-05-02 s/first-republics-regional-banks-crisis.html Problems Stood Out in Unsteady Sector        By Stacy Cowley                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/busines Times Asks Judge to Rule On Redactions By
2023-05-01   2023-05-02 s/media/fox-dominion-redactions.html         Fox News                                     By Jeremy W Peters                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/busines Super Mario Bros Movie Reaches 1 Billion at
2023-05-01   2023-05-02 s/media/super-mario-bros-movie.html          the Box Office                               By Nicole Sperling                  TX 9-299-029   2023-07-03
                                                                     Vice Once Valued at 57 Billion Is Said to Be
                        https://www.nytimes.com/2023/05/01/busines Headed for Bankruptcy as It Struggles to Find By Lauren Hirsch and Benjamin
2023-05-01   2023-05-02 s/media/vice-bankruptcy.html                 a Buyer                                      Mullin                              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/busines
2023-05-01   2023-05-02 s/stock-bonds-first-republic.html            Markets Shrug Off First Republic Failure     By Joe Rennison                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/health/a Study Finds Sharp Increase In Emergency
2023-05-01   2023-05-02 dolescents-mental-health-hospitals.html      Room Visits By Youth in Mental Distress      By Matt Richtel                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/nyregio New Hospital In Brooklyn Is Resistant To
2023-05-01   2023-05-02 n/coney-island-hospital-hurricane.html       Flooding                                     By Sharon Otterman                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/nyregio Hoping for a Root Canal 5 Million New
2023-05-01   2023-05-02 n/ny-medicaid-dental-settlement.html         Yorkers Get More Dental Care                 By Andy Newman                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/nyregio
                        n/trump-carroll-rape-suit-cross-             Trump Lawyer Digs at Inconsistencies With By Lola Fadulu Kate Christobek
2023-05-01   2023-05-02 examination.html                             Accusers Past Statements                     and Benjamin Weiser                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/opinion This Is Why Politicians Like to Change the
2023-05-01   2023-05-02 /biden-trump-harris-2024.html                Subject                                      By Gail Collins and Bret Stephens   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/opinion
2023-05-01   2023-05-02 /e-jean-carroll-trial.html                   Questions Not to Ask a Rape Accuser          By Jessica Bennett                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/science
2023-05-01   2023-05-02 /ai-speech-language.html                      AI to Read Your Mind Is Up Next             By Oliver Whang                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/science
2023-05-01   2023-05-02 /ancient-romans-coin-drains.html             Ancients Treasures Caught in the Drain       By Franz Lidz                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/sports/b
2023-05-01   2023-05-02 aseball/padres-giants-mexico-city.html       MLB in Mexico City A Party Out of Thin Air By James Wagner                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/sports/b Knicks Fans Making Most Of a Moment Long By Kris Rhim and Gabriela
2023-05-01   2023-05-02 asketball/nba-knicks-fans.html               Awaited                                      Bhaskar                             TX 9-299-029   2023-07-03




                                                                                 Page 5172 of 5793
                        https://www.nytimes.com/2023/05/01/sports/h
                        ockey/bergeron-boston-bruins-nhl-           A Shocking Upset And the Possible End For
2023-05-01   2023-05-02 playoffs.html                               an Icon of Boston                         By David Waldstein                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/sports/o Ralph Boston Who Leaped 27 Feet and
2023-05-01   2023-05-02 lympics/ralph-boston-dead.html              Landed in History Dies at 83              By Glenn Rifkin                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/technol
                        ogy/ai-google-chatbot-engineer-quits-       He Warns of Risks From AI He Helped
2023-05-01   2023-05-02 hinton.html                                 Create                                    By Cade Metz                         TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/01/technol                                               By Adam Satariano and Paul
2023-05-01   2023-05-02 ogy/israel-palestine-facial-recognition.html Israel Tech Automates Apartheid Critics Say Mozur                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/us/new- Mayor Tangled In Chronic Woes Of New
2023-05-01   2023-05-02 orleans-latoya-cantrell-recall.html          Orleans                                     By Rick Rojas and Katy Reckdahl   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/us/polit                                              By Trip Gabriel and Luke
2023-05-01   2023-05-02 ics/ben-cardin-maryland-senate-seat.html     Cardin Senator of Maryland to Step Down     Broadwater                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/us/polit Bidens Meeting With Marcos Aims to Send a
2023-05-01   2023-05-02 ics/biden-marcos-philippines-china.html      Message to China                            By Katie Rogers                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/us/polit                                              By Alan Rappeport and Jim
2023-05-01   2023-05-02 ics/debt-limit-date-janet-yellen.html        America May Default By June 1 Yellen Says Tankersley                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/us/polit White House Weighs 2 Nominations That        By Jeanna Smialek and Jim
2023-05-01   2023-05-02 ics/federal-reserve-nominations-biden.html   Would Shake Up Fed Leadership               Tankersley                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/us/polit Inslee Washingtons Governor Says He Wont
2023-05-01   2023-05-02 ics/jay-inslee-washington-governor.html      Seek Reelection                             By Reid J Epstein                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/us/polit Kentuckys Governor Race Is Splintering
2023-05-01   2023-05-02 ics/kentucky-governor-cameron-craft.html     Republicans                                 By Nick Corasaniti                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/us/polit
2023-05-01   2023-05-02 ics/prison-guards-teachers-staff.html        Staff Shortage At US Prisons Reaches Crisis By Glenn Thrush                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/us/polit UN Body Demands Release Of Man From
2023-05-01   2023-05-02 ics/un-gitmo-abu-zubaydah.html               Guantnamo                                   By Carol Rosenberg                TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/01/us/polit White House to End Most Covid Vaccine           By Michael D Shear and Noah
2023-05-01   2023-05-02 ics/us-covid-vaccine-mandates.html          Mandates the Source of Intense Political Strife Weiland                        TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/01/us/supr Court Case Could Limit Regulations On
2023-05-01   2023-05-02 eme-court-business-regulation-agencies.html Business                                 By Charlie Savage                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/us/zooe Transgender Lawmaker Sues After Being
2023-05-01   2023-05-02 y-zephyr-montana-lawsuit.html               Ousted                                   By Jacey Fortin                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/world/a Sudans Main Seaport Is Packed With Crowds By Ruth Maclean and Vivian
2023-05-01   2023-05-02 frica/port-sudan-evacuation.html            Seeking Ships to Safety                  Nereim                                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/world/a Thai Police Officials ExWife Charged in   By Muktita Suhartono and Yan
2023-05-01   2023-05-02 sia/thailand-poisoning-murder.html          Poisoning Deaths                         Zhuang                                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/world/a Pacific Alliance With a Long and
2023-05-01   2023-05-02 sia/us-philippines-alliance.html            Complicated History                      By Isabella Kwai                      TX 9-299-029   2023-07-03




                                                                                 Page 5173 of 5793
                        https://www.nytimes.com/2023/05/01/world/e
                        urope/france-protests-pension-law-may-     Lasting Fury Over Pension Reform Energizes
2023-05-01   2023-05-02 day.html                                   May Day Rallies in France                   By Constant Mheut                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/world/e A Dutch Quest for Buried Nazi Treasure
2023-05-01   2023-05-02 urope/netherlands-buried-treasure.html     Comes Up Short                              By Claire Moses                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/world/e As Signs Point to Counteroffensive Kyiv and
2023-05-01   2023-05-02 urope/russia-ukraine-war.html              Moscow Step Up Attacks                      By Marc Santora                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/01/world/e Looking for Coronation Enthusiasm Not in
2023-05-01   2023-05-02 urope/scotland-king-charles-coronation.html Scotland                                   By Stephen Castle                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/world/e
                        urope/ukraine-mud-counteroffensive-          In Ukraine Fighting the Muck Under Their
2023-05-01   2023-05-02 weapons.html                                 Feet                                      By Michael Schwirtz              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/world/ McCarthy Offers to Host Netanyahu for        By Patrick Kingsley and Karoun
2023-05-01   2023-05-02 middleeast/mccarthy-netanyahu-us.html        Meetings With Congress Members            Demirjian                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/nyregio New York May Protect Burial Sites For
2023-05-02   2023-05-02 n/ny-hochul-native-graves.html               Natives                                   By Jay Root                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/science
2023-05-02   2023-05-02 /ai-creativity-paintbot.html                 Building a Machine With an Artistic Side  By Oliver Whang                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/26/dining/
                        kenji-lopez-alts-favorite-breakfast-changua-
2023-04-26   2023-05-03 columbian-bread-egg-soup.html                Bready Cheesy and Not for All Tastes      By J Kenji LpezAlt               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/26/dining/
2023-04-26   2023-05-03 vegetarian-steak-dinner-recipes.html         A Steak Dinner With Vegetarians in Mind   By David Tanis                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/27/dining/
2023-04-27   2023-05-03 what-is-coronation-chicken-recipe.html       The History Behind Coronation Chicken     By Melissa Clark                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/28/dining/
2023-04-28   2023-05-03 bread-basket-bread-course-restaurants.html No Longer an Afterthought in a Basket       By Rachel Sugar                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/28/movies/
                        polite-society-nida-manzoor-ritu-arya-priya-
2023-04-28   2023-05-03 kansara.html                                 Where Martial Arts and Jane Austen Meet   By Elisabeth Vincentelli         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/30/world/e Sculpture Immortalizes Norways Beloved
2023-04-30   2023-05-03 urope/freya-walrus-statue-norway.html        Freya                                     By Lauren McCarthy               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/arts/tele
2023-05-01   2023-05-03 vision/a-small-light-anne-frank.html         An Ordinary Woman With Immense Courage By Claire Moses                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/arts/yvo Yvonne Jacquette 88 Who Took Her Painting
2023-05-01   2023-05-03 nne-jacquette-dead.html                      To Another Level Dies                     By Neil Genzlinger               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/books/n
2023-05-01   2023-05-03 ew-may-books.html                            So Youre Looking for a New Book to Read By Joumana Khatib                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/dining/
2023-05-01   2023-05-03 south-korean-pastry-chefs.html               Desserts Without Borders                  By Elyse Inamine                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/sports/s
2023-05-01   2023-05-03 occer/paris-fc-soccer.html                   The Other Team in Paris Tries Harder      By Tariq Panja and James Hill    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/arts/mu Gordon Lightfoot Wistful Poet With a Flurry
2023-05-02   2023-05-03 sic/gordon-lightfoot-dead.html               of 70s Pop Hits Dies at 84                By William Grimes                TX 9-299-029   2023-07-03



                                                                               Page 5174 of 5793
                        https://www.nytimes.com/2023/05/02/arts/mu
2023-05-02   2023-05-03 sic/dvorak-rusalka-lascala.html              Rusalka comes to Milan                        By David Belcher    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/arts/mu
                        sic/gordon-lightfoot-edmund-fitzgerald-      For a Tragic Tale That Climbed the Charts the
2023-05-02   2023-05-03 song.html                                    Legend Lives On                               By Mike Ives        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/arts/mu
2023-05-02   2023-05-03 sic/gordon-lightfoot-songs.html              10 Songs That Fans Cherish                    By Rob Tannenbaum   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/arts/mu
2023-05-02   2023-05-03 sic/lascala-opera-streaming.html             Live from La Scala                            By Rebecca Schmid   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/arts/mu
2023-05-02   2023-05-03 sic/lascala-renovation-architect.html        La Scalas 21stcentury update                  By Sam Lubell       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/arts/mu
2023-05-02   2023-05-03 sic/rachmaninoff-vespers-steven-fox.html     A Sacred Choice for a Birthday Celebration By James R Oestreich   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/arts/tele
                        vision/king-charles-coronation-television-
2023-05-02   2023-05-03 streaming.html                               Spectacle Splendor and a Soap Opera           By Alan Cowell      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/busines More Signs In Latest Data Of Slowdown In
2023-05-02   2023-05-03 s/economy/economy-jobs-jolts.html            Job Market                                    By Sydney Ember     TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/02/busines After Bank Turmoil All Eyes Turn to Feds
2023-05-02   2023-05-03 s/economy/federal-reserve-interest-rates.html Announcement on Rates                     By Jeanna Smialek      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/busines
                        s/economy/manufacturing-recession-            After Rebound Factories in US Fall Into
2023-05-02   2023-05-03 economy.html                                  Slump                                     By Lydia DePillis      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/busines Explaining the Debt Limit And Its Role in
2023-05-02   2023-05-03 s/economy/us-debt-ceiling.html                Borrowing                                 By Alan Rappeport      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/busines Data Is Mixed on Eurozone Inflation as
2023-05-02   2023-05-03 s/eurozone-inflation-april.html               Officials Weigh a Rate Increase           By Melissa Eddy        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/busines Ford Motor Made 18 Billion As Shortage of
2023-05-02   2023-05-03 s/ford-motor-earnings-q1.html                 Parts Eased                               By Neal E Boudette     TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/02/busines
2023-05-02   2023-05-03 s/jpmorgan-first-republic-jamie-dimon.html JPMorgan A Savior Once Again                 By Emily Flitter       TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/02/busines Media Chief Used Role to Press for Sex
2023-05-02   2023-05-03 s/media/hadley-gamble-jeff-shell-fired.html Anchor Says                               By Benjamin Mullin       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/busines Hollywood Writers Go on Strike And
2023-05-02   2023-05-03 s/media/late-shows-writers-strike.html      LateNight Shows Go Dark                   By John Koblin           TX 9-299-029   2023-07-03
                                                                    Trump to End a Long Boycott and Appear on
                        https://www.nytimes.com/2023/05/02/busines CNN Signaling to Fox News That He Has
2023-05-02   2023-05-03 s/media/trump-cnn-fox.html                  Options                                   By Jeremy W Peters       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/busines
2023-05-02   2023-05-03 s/shein-fast-fashion.html                   Shein Pours On The Charm                  By Jordyn Holman         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/busines
2023-05-02   2023-05-03 s/stocks-banks-economy.html                 Market Dips on Bank and Economy Fears     By Joe Rennison          TX 9-299-029   2023-07-03



                                                                                Page 5175 of 5793
                        https://www.nytimes.com/2023/05/02/busines Ubers Revenue Up 29 as US RideHailing
2023-05-02   2023-05-03 s/uber-earnings-revenue.html                Recovers From Pandemic Slump                  By Kellen Browning              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/busines Floridas Suit Against Disney Claims Back
2023-05-02   2023-05-03 s/walt-disney-world-ron-desantis.html       Room Dealing                                  By Brooks Barnes                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/dining/
2023-05-02   2023-05-03 harlem-shakes-black-culture.html            Celebrating Black Culture With a Full Plate   By Kayla Stewart                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/dining/ A Meal Fit for a Monarch With Ideas About
2023-05-02   2023-05-03 king-charles-coronation-food-quiche.html    Food                                          By Kim Severson                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/dining/ Margot French Fare With a Twist Opens in
2023-05-02   2023-05-03 nyc-restaurant-news.html                    Fort Greene Brooklyn                          By Florence Fabricant           TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/dining/r
2023-05-02   2023-05-03 estaurant-review-naro.html                  Taste the Elements of a Creative Journey      By Pete Wells                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/dining/t
                        he-restaurant-recipes-we-just-have-to-
2023-05-02   2023-05-03 have.html                                   The Restaurant Recipes You Want to Cook       By Nikita Richardson            TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/health/
2023-05-02   2023-05-03 hpv-vaccine-dose.html                       In One Dose 3 Years of HPV Protection         By Apoorva Mandavilli           TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/nyregio
2023-05-02   2023-05-03 n/adams-migrants-asylum-nyc.html            Migrant Influx Poses Test for Adams           By Jeffery C Mays               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/nyregio Rent in New York City Could Soon Increase
2023-05-02   2023-05-03 n/nyc-rent-stabilized-increase.html         by 2 to 5 Percent                             By Mihir Zaveri                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/nyregio Man Dies After Fight on New York Train In      By Maria Cramer and Chelsia Rose
2023-05-02   2023-05-03 n/subway-chokehold-death.html               Which He Was Placed in Chokehold              Marcius                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/nyregio Friend Takes Stand to Testify About Call       By Kate Christobek Benjamin
2023-05-02   2023-05-03 n/trump-carroll-rape-lawsuit.html           After Attack                                  Weiser and Lola Fadulu           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/nyregio Carroll and Trumps Lawyer Duel in
2023-05-02   2023-05-03 n/trump-rape-trial-carroll-tacopina.html    CrossExamination                              By Lola Fadulu                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/opinion Lets Not Move Fast With AI and Break
2023-05-02   2023-05-03 /ai-tech-climate-change.html                Things                                        By Thomas L Friedman            TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/opinion Lula Isnt Trying to Make Brazil a Pariah Hes
2023-05-02   2023-05-03 /brazil-lula-china-russia.html              Just Being Pragmatic                          By Vanessa Barbara              TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/02/opinion Amending the Constitution Could Start With
2023-05-02   2023-05-03 /equal-rights-amendment-constitution.html   the ERA                                       By Kate Shaw and Julie C Suk    TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/opinion
2023-05-02   2023-05-03 /republican-ukraine-russia.html             The Curious Case Against Defending Ukraine By Bret Stephens                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/sports/b Harden Reaches Back Into His Past to Lift the
2023-05-02   2023-05-03 asketball/james-harden-76ers-celtics.html   Sixers                                        By Victor Mather                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/sports/s
                        occer/infantino-womens-world-cup-           FIFA Chief Threatens European TV Blackout
2023-05-02   2023-05-03 blackout.html                               Of Womens World Cup                           By Tariq Panja and Andrew Das   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/sports/t
2023-05-02   2023-05-03 ennis/serena-williams-pregnant.html         Williams Not Retired Is Pregnant              By Victor Mather                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/sports/t Positive Doping Test Creates a Soap Opera In
2023-05-02   2023-05-03 riathlon-doping-collin-chartier.html        an Insular World                              By Matthew Futterman            TX 9-299-029    2023-07-03



                                                                                Page 5176 of 5793
                        https://www.nytimes.com/2023/05/02/technol
                        ogy/google-youtube-disinformation-climate- Ad Spots Validate Climate Lies Google           By Nico Grant and Steven Lee
2023-05-02   2023-05-03 change.html                                 Critics Say                                    Myers                              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/theater/
2023-05-02   2023-05-03 tony-award-nominees-list.html               Tony Awards Nominations 2023                   By Rachel Sherman and Gabe Cohn TX 9-299-029      2023-07-03
                        https://www.nytimes.com/2023/05/02/theater/
                        tony-awards-nominations-some-like-it-
2023-05-02   2023-05-03 hot.html                                    Some Like It Hot Tops Tonys List               By Michael Paulson                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/theater/
2023-05-02   2023-05-03 tony-nominations-snubs-surprises.html       The Surprises And Snubs                        By Scott Heller and Alexis Soloski TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/anth
2023-05-02   2023-05-03 ropology-library-berkeley.html              Protest Is a Fight for Humanities in an AI Age By Tim Arango                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/davi
2023-05-02   2023-05-03 s-stabbings-college.html                    College Town Is Convulsed By Stabbings         By Shawn Hubler                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/mon Judge Rejects Montana Legislators Bid to
2023-05-02   2023-05-03 tana-zooey-zephyr-transgender.html          Return to Chamber                              By Jacey Fortin                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/okla Mother and 3 Teens Said to Be Among 7
2023-05-02   2023-05-03 homa-bodies-missing-jesse-mcfadden.html     Found Dead in Oklahoma                         By Edgar Sandoval                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/polit                                                By Helene Cooper and Zolan
2023-05-02   2023-05-03 ics/biden-troops-border.html                Biden to Send 1500 Troops To the Border        KannoYoungs                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/polit House Democrats Deploy Secret Weapon to
2023-05-02   2023-05-03 ics/debt-limit-discharge-petition.html      Push DebtLimit Increase                        By Carl Hulse                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/polit
2023-05-02   2023-05-03 ics/debt-limit-us-constitution.html         Is Debt Limit Constitutional Debate Is On      By Jim Tankersley                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/polit
2023-05-02   2023-05-03 ics/desantis-travel-records-bill.html       Florida Tries to Hide DeSantiss Travel         By Nick Corasaniti                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/polit
                        ics/supreme-court-ethics-judiciary-         Retired Judge Calls for New Ethics Rules for
2023-05-02   2023-05-03 hearing.html                                Supreme Court Justices                         By Abbie VanSickle                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/polit
                        ics/supreme-court-john-paul-stevens-        Justices Private Papers Open Window Into
2023-05-02   2023-05-03 papers.html                                 Supreme Court                                  By Adam Liptak                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/polit Trump Focused on Rivals and Feuds Is Likely By Maggie Haberman and Jonathan
2023-05-02   2023-05-03 ics/trump-republican-primary-debates.html   to Sit Out Early Debate                        Swan                               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/texa Suspect Arrested in Massacre That Killed 5 in
2023-05-02   2023-05-03 s-shooting-rural-guns.html                  Rural Texas                                    By J David Goodman                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/world/a Sudans Warring Generals Agree to 7Day
2023-05-02   2023-05-03 frica/sudan-fighting-refugees-un.html       Truce South Sudan Says                         By Abdi Latif Dahir                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/world/a
                        sia/korea-us-comfort-women-sexual-          South Korea Created a Brutal Sex Trade for
2023-05-02   2023-05-03 slavery.html                                American Soldiers                              By Choe SangHun and Jean Chung TX 9-299-029       2023-07-03
                        https://www.nytimes.com/2023/05/02/world/a Historical Vertigo in Bidens Embrace of a
2023-05-02   2023-05-03 sia/marcos-biden-philippines-china.html     Dictators Son                                  By SuiLee Wee                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/world/a Australia Aims to Stamp Out Vaping With
2023-05-02   2023-05-03 ustralia/australia-vape-ban.html            Sweeping Regulations                           By Remy Tumin                      TX 9-299-029   2023-07-03



                                                                                 Page 5177 of 5793
                        https://www.nytimes.com/2023/05/02/world/e Berlin Faces Up To Russia Spies It Long
2023-05-02   2023-05-03 urope/germany-russian-spies.html             Ignored                                       By Erika Solomon                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/world/e For King Charless Coronation a Fancy Fish
2023-05-02   2023-05-03 urope/king-charles-lamprey-pie.html          Pie Without the Fish                          By Jenny Gross                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/world/e Russia Tightens Pressure on Civilians in
2023-05-02   2023-05-03 urope/russia-ukraine-civilians.html          Occupied Areas                                By Marc Santora                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/world/e
                        urope/world-press-freedom-day-sulzberger- Role of Press Under Attack Sulzberger Warns By Daniel Victor and Christopher
2023-05-02   2023-05-03 gershkovich.html                             at UN                                         Mele                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/world/h How Prisoners Use Fasting To Gain Worlds
2023-05-02   2023-05-03 unger-strikes-explainer.html                 Attention                                     By Cora Engelbrecht              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/world/
                        middleeast/palestinian-hunger-strike-khader-
2023-05-02   2023-05-03 adnan-dies.html                              Palestinian Detainee Dies After Hunger Strike By Raja Abdulrahim               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/article/debt-limit- Amendment Has History Of Becoming Focus
2023-05-02   2023-05-03 14th-amendment.html                          of Suits                                      By Linda Qiu                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/busines
                        s/media/tucker-carlson-text-message-white-                                                 By Jeremy W Peters Michael S
2023-05-03   2023-05-03 men.html                                     The Text That Got Carlson Dismissed           Schmidt and Jim Rutenberg        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/mem No Charges For ExOfficer In the Killing Of
2023-05-03   2023-05-03 phis-officer-taser-tyre-nichols.html         Nichols                                       By Emily Cochrane                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/utah- Abortion Clinics in Utah Are Kept Open by
2023-05-03   2023-05-03 abortion-clinics.html                        Judge                                         By David W Chen                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/insider/
2023-05-03   2023-05-03 it-happened-online-newsletter.html           Enjoying or Suffering the Internet Read This By Emmett Lindner                 TX 9-299-029   2023-07-03
                                                                                                                   By Charanna Alexander Vanessa
                                                                                                                   Friedman Sandra E Garcia Emma
                                                                                                                   Grillo Callie Holtermann Anna
                                                                                                                   Grace Lee Louis Lucero II Shane
                                                                                                                   ONeill Elizabeth Paton Anthony
                        https://www.nytimes.com/interactive/2023/sty                                               Rotunno Marie Solis Alex Vadukul
2023-04-13   2023-05-04 le/king-charles-coronation.html              A Coronation FAQ                              and Wilson Wong                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/21/t-
2023-04-21   2023-05-04 magazine/laurel-kratochvila-bread.html       People Places Things                          By Gisela Williams               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/28/style/al
2023-04-29   2023-05-04 exandra-auder-viva-memoir.html               Life With Mom at the Chelsea Hotel            By Penelope Green                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/arts/joh John Stobart Painter Of Seafaring Scenes In
2023-05-01   2023-05-04 n-stobart-dead.html                          Detail Dies at 93                             By Alex Williams                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/arts/tele
2023-05-01   2023-05-04 vision/movie-tv-book-adaptations.html        Adapt or Perish                               By James Poniewozik              TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/01/opinion
2023-05-01   2023-05-04 /catholic-school-closing-guardian-angel.html Schools Like This One Need to Stay Open    By Tim Wu                         TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/01/world/a Keshub Mahindra 99 Billionaire Who Built
2023-05-01   2023-05-04 sia/keshub-mahindra-dead.html                an Industrial Behemoth                     By Daniel E Slotnik               TX 9-299-029     2023-07-03



                                                                                Page 5178 of 5793
                        https://www.nytimes.com/2023/05/02/arts/des
2023-05-02   2023-05-04 ign/arts-education-necessary.html               Mindexpanding value of the arts             By Ginanne Brownell             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/arts/des
2023-05-02   2023-05-04 ign/global-challenges-activism.html             Can the arts help us face todays challenges By Farah Nayeri                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/arts/des
2023-05-02   2023-05-04 ign/painter-kami-portraits-florence.html        A contemporary motif in a Renaissance city By Farah Nayeri                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/arts/des
2023-05-02   2023-05-04 ign/vandalizing-art-protests.html               Is damaging art a fair way to protest       By Farah Nayeri                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/arts/mu
                        sic/drone-opera-general-dynamics-               A Drone Opera Brought to You by General
2023-05-02   2023-05-04 washington.html                                 Dynamics                                    By Javier C Hernndez            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/fashion
                        /met-gala-best-fashion-photos-doja-cat-lil-nas-
2023-05-02   2023-05-04 x.html                                          Variations on a Theme And Slight Deviations By The Styles Desk              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/fashion
                        /met-gala-cocktail-party-naomi-campbell-kate-
2023-05-02   2023-05-04 moss.html                                       Muses Abound at the Met Gala Cocktail Party By Sandra E Garcia              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/opinion
2023-05-02   2023-05-04 /sudan-civil-war.html                           The US Cannot Allow Sudan to Fail           By Lydia Polgreen               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/style/m
2023-05-02   2023-05-04 et-gala-fashion.html                            A Red Carpet Sprinkled With Easter Eggs     By Vanessa Friedman             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/style/su Blood a Liter or Just a Drop Is a Potent
2023-05-02   2023-05-04 ccession-lukas-matsson-blood.html               Symbol                                      By Gina Cherelus                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/theater/
2023-05-02   2023-05-04 alex-newell-tony-nomination.html                And the Standing Os Keep on Coming          By Sarah Bahr                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/theater/
2023-05-02   2023-05-04 dancin-closes-broadway-tonys.html               Dancin Will Close This Month                By Michael Paulson              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/theater/ Robert Patrick Groundbreaking Playwright of
2023-05-02   2023-05-04 robert-patrick-dead.html                        Gay Life Dies at 85                         By Penelope Green               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/tou- Last Officer In Floyd Case Is Convicted For
2023-05-02   2023-05-04 thao-verdict-george-floyd-death.html            Abetting                                    By Amanda Holpuch               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/fashion First the Met Gala but Then Off to the           By Jacob Bernstein and Sadiba
2023-05-03   2023-05-04 /met-gala-after-parties.html                    AfterParties                                Hasan                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/nyregio                                                  By Luis FerrSadurn and Grace
2023-05-03   2023-05-04 n/budget-hochul-bail-housing.html               A State Budgets Effect on New Yorkers Lives Ashford                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/us/texa Police Say Wife Helped Man Avoid Capture
2023-05-03   2023-05-04 s-shooting-suspect-arrested.html                in Texas Killings                           By J David Goodman              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/arts/dan
                        ce/christopher-wheeldon-new-york-city-ballet-
2023-05-03   2023-05-04 gala-schoenberg.html                            Inspired by Music A New Work Emerges        By Roslyn Sulcas                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/arts/mu
                        sic/carlos-henriquez-jazz-at-lincoln-
2023-05-03   2023-05-04 center.html                                     A Catcher Covers Latin and Jazz Bases       By Ed Morales                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/arts/mu
2023-05-03   2023-05-04 sic/charles-iii-coronation-music.html           The Music That Made Kings and Queens        By Imani Danielle Mosley        TX 9-299-029   2023-07-03



                                                                                  Page 5179 of 5793
                        https://www.nytimes.com/2023/05/03/arts/mu
                        sic/rock-roll-hall-fame-willie-nelson-missy- Rock Hall of Fame Reveals The Inductees for
2023-05-03   2023-05-04 elliott.html                                 2023                                        By Joe Coscarelli                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/books-
                        review/tucker-carlson-text-message-          What Carlsons Text Message Says About His
2023-05-03   2023-05-04 whiteness.html                               Code of Whiteness                           By AO Scott                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/books/r
2023-05-03   2023-05-04 eview/homegrown-jeffrey-toobin.html          Tracing an Angry Path to Trumpism           By Jennifer Szalai                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/busines Bidens Pick Is Confirmed As New Leader Of
2023-05-03   2023-05-04 s/ajay-banga-world-bank.html                 World Bank                                  By Alan Rappeport                    TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/03/busines For Short Seller Icahn Structure Is PonziLike
2023-05-03   2023-05-04 s/dealbook/ichan-hindenburg-short-seller.html Stock Tumbles                                By Michael J de la Merced          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/busines
                        s/diesel-emissions-scandal-audi-rupert-       ExChief at Audi Will Plead Guilty To Role in
2023-05-03   2023-05-04 stadler.html                                  Diesel Emissions Scandal                     By Jack Ewing and Melissa Eddy     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/busines
                        s/economy/russia-ukraine-war-defense-         War Leading Europe to Divert Its Social      By Patricia Cohen and Liz
2023-05-03   2023-05-04 spending.html                                 Spending to Defense                          Alderman                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/busines Billionaire Investor Buys Epsteins Private
2023-05-03   2023-05-04 s/epstein-islands-sale.html                   Caribbean Islands for 60 Million             By Matthew Goldstein               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/busines Business Fervor for Climate Plan Is Driving By Jim Tankersley and Brad
2023-05-03   2023-05-04 s/ira-climate-tax-breaks-biden.html           Up Cost to Taxpayers                         Plumer                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/busines
                        s/media/writers-strike-los-angeles-picket-    Outside Hollywood Studios Writers Make       By Brooks Barnes and Nicole
2023-05-03   2023-05-04 lines.html                                    Their Case                                   Sperling                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/busines
                        s/what-to-know-ahead-of-the-fed-              Fed Raises Rates Above 5 Percent Highest
2023-05-03   2023-05-04 meeting.html                                  Since 07                                     By Jeanna Smialek                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/climate Forecasters Say El Nio Is Returning Bringing
2023-05-03   2023-05-04 /el-nino-extreme-weather-2024.html            Higher Global Temperatures                   By Elena Shao                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/climate Emirati Chief Of UN Talks Urges Focus On
2023-05-03   2023-05-04 /un-climate-oil-uae-al-jaber.html             Emissions                                    By Max Bearak                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/health/a Clinical Trial Finds Alzheimers Drug Can
2023-05-03   2023-05-04 lzheimers-drug-eli-lilly-trial.html           Slow Its Progress                            By Gina Kolata                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/health/r FDA Says Older Adults Can Receive RSV
2023-05-03   2023-05-04 sv-vaccine-fda-adults.html                    Shots                                        By Christina Jewett                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/nyregio Hochuls ExAdviser Has History of                By Nicholas Fandos and Jeffery C
2023-05-03   2023-05-04 n/adam-sullivan-hochul-harassment.html        Harassment Claims Against Him                Mays                               TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/03/nyregio Trumps Suit Targeting The Times Is
2023-05-03   2023-05-04 n/donald-trump-new-york-times-lawsuit.html Dismissed                                      By Liam Stack                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/nyregio Trumps Lawyer Says He Wont Call Any            By Lola Fadulu Benjamin Weiser
2023-05-03   2023-05-04 n/e-jean-carroll-trump-rape-trial.html     Defense Witnesses                              and Kate Christobek                 TX 9-299-029   2023-07-03




                                                                                 Page 5180 of 5793
                        https://www.nytimes.com/2023/05/03/nyregio City Envisions Moving Smelly Trash Off
2023-05-03   2023-05-04 n/garbage-containers-nyc-adams.html         Sidewalks and Into Bins                     By Emma G Fitzsimmons           TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/nyregio HoteltoHousing Project Moving Forward in
2023-05-03   2023-05-04 n/nyc-hotel-conversion-housing.html         City                                        By Mihir Zaveri                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/nyregio Chokehold Death of Man on New York City      By Maria Cramer and Chelsia Rose
2023-05-03   2023-05-04 n/nyc-subway-chokehold-death.html           Subway Is Ruled a Homicide                  Marcius                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/opinion
2023-05-03   2023-05-04 /biden-trump-third-party-2024.html          Repulsed by Biden vs Trump Tough            By Gail Collins                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/opinion Carlson White Men and the Lynch Mob
2023-05-03   2023-05-04 /tucker-carlson-mob-mentality.html          Mentality                                   By Charles M Blow               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/sports/b How a Cuban Defector Rescued the Greatest
2023-05-03   2023-05-04 aseball/el-duque-yankees-book.html          Team Ever                                   By Jack Curry                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/sports/b
                        asketball/warriors-lakers-game-1-nba-       Joining Ranks of Lakers Dominant Big Men
2023-05-03   2023-05-04 playoffs.html                               Davis Becomes the Anchor                    By Tania Ganguli                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/sports/h
2023-05-03   2023-05-04 ockey/new-jersey-devils-nhl-playoffs.html   The Young Devils Are Zipping Along          By David Waldstein              TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/03/sports/o Tori Bowie 32 Sprinter With Three Olympic
2023-05-03   2023-05-04 lympics/tori-bowie-dead.html                Medals and a 100Meter World Title           By Daniel E Slotnik             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/sports/s The Offers Pour In As Argentina Books Its
2023-05-03   2023-05-04 occer/lionel-messi-argentina.html           Friendly Schedule                           By Rory Smith                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/sports/s After a Marriage Of Convenience A Messi
2023-05-03   2023-05-04 occer/lionel-messi-suspension-psg.html      Divorce                                     By Tariq Panja                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/style/co
2023-05-03   2023-05-04 rset-hoodie-sweatshirt.html                 Constriction Meets Comfort Clothing         By Jessica Testa                TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/03/technol A Twitter Founder Aims Posts and Money at
2023-05-03   2023-05-04 ogy/dorsey-musk-twitter-bluesky-nostr.html Musk                                         By Kate Conger                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/technol
                        ogy/facebook-meta-ftc-data-ban-             FTC Seeking Blanket Ban on Metas Use of
2023-05-03   2023-05-04 instagram.html                              Young Users Data                            By Natasha Singer               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/technol
                        ogy/personaltech/ai-chatbot-pi-emotional-
2023-05-03   2023-05-04 support.html                                My Emotional Support Chatbot                By Erin Griffith                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/technol Photo Apps With AI Go Far Beyond Fixing
2023-05-03   2023-05-04 ogy/personaltech/photo-editing-apps.html    Red Eyes                                    By J D Biersdorfer              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/us/atlan Atlanta Shooting Leaves One Dead and 4      By Sean Keenan Eduardo Medina
2023-05-03   2023-05-04 ta-shooting.html                            Injured                                     Remy Tumin and Johnny Diaz      TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/us/how Howard Trustees Pick Provost Of Case
2023-05-03   2023-05-04 ard-university-president-ben-vinson.html    Western To Be President                     By Vimal Patel                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/us/polit                                             By Shane Goldmacher and Coral
2023-05-03   2023-05-04 ics/biden-auto-workers-endorsement.html     UAW Will Hold Off Backing Biden             Davenport                       TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/us/polit Former NFL Player Will Challenge Cruz For
2023-05-03   2023-05-04 ics/colin-allred-ted-cruz-texas-senate.html Texas Senate Seat                           By J David Goodman              TX 9-299-029    2023-07-03



                                                                               Page 5181 of 5793
                        https://www.nytimes.com/2023/05/03/us/polit In Blow to DeSantis Bills to Curb Press
2023-05-03   2023-05-04 ics/desantis-florida-defamation-bills.html    Shields Are Shelved                         By Ken Bensinger               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/us/polit
                        ics/house-republicans-debt-limit-biden-       The Republicans Being Courted to Defect on
2023-05-03   2023-05-04 democrats.html                                the Debt Limit                              By Catie Edmondson             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/us/polit ExFBI Agent Is Charged With Inciting Jan 6
2023-05-03   2023-05-04 ics/jan-6-former-fbi-agent.html               Mob                                         By Adam Goldman and Alan Feuer TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/us/polit Election Denier in Nevada Is Making a Run
2023-05-03   2023-05-04 ics/jim-marchant-senate-nevada.html           for Senate                                  By Neil Vigdor                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/us/polit Congress and Biden Clash Over Chinese Solar
2023-05-03   2023-05-04 ics/senate-tariffs-chinese-solar-panels.html  Panels                                      By Ana Swanson                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/us/polit How a US Plan for Democracy In Sudan          By Edward Wong Michael Crowley
2023-05-03   2023-05-04 ics/us-sudan-democracy-war.html               Ended in a Hasty Exit                       and Declan Walsh               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/us/us-
2023-05-03   2023-05-04 history-test-scores.html                      History and Civics Test Scores Are Dropping By Sarah Mervosh               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/world/a Flooding and Landslides Kill Over 120 in       By Arafat Mugabo and Emma
2023-05-03   2023-05-04 frica/rwanda-floods-death-count.html          Rwanda                                      Bubola                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/world/a
                        mericas/bolsonaro-brazil-police-covid-vaccine Bolsonaro Home Raided in Vaccine Cards      By Flvia Milhorance and Ana
2023-05-03   2023-05-04 cards.html                                    Case                                        Ionova                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/world/a Bikini Atoll Leaders Blew Through Millions
2023-05-03   2023-05-04 sia/bikini-atoll-resettlement-fund.html       From US                                     By Pete McKenzie               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/world/e
                        urope/coronation-charles-monarchy-            In One City Age Is Key In Thoughts On
2023-05-03   2023-05-04 bristol.html                                  Monarchy                                    By Megan Specia                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/world/e Dusting Off Royal Relics for a King Prizing
2023-05-03   2023-05-04 urope/king-charles-coronation-royal.html      Tradition and Change                        By Mark Landler                TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/03/world/e Secret Mission for Peace in Ukraine May
2023-05-03   2023-05-04 urope/pope-francis-russia-ukraine-peace.html Show Limits of Francis Influence          By Jason Horowitz                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/world/e
                        urope/roman-protasevich-belarus-             Belarus Activist Arrested in Ruse Gets
2023-05-03   2023-05-04 sentenced.html                               8Year Term                                By Neil MacFarquhar               TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/03/world/e                                              By Anton Troianovski and Haley
2023-05-03   2023-05-04 urope/russia-kremlin-drone-explosions.html Allegations Fly After 2 Blasts Above Kremlin Willis                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/world/e Boy Kills 8 Children and a Guard at His
2023-05-03   2023-05-04 urope/serbia-school-shooting.html          School in Serbia                             By Cora Engelbrecht              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/world/e
                        urope/shootings-worldwide-statistics-
2023-05-03   2023-05-04 serbia.html                                Rare Kind Of Violence Outside US             By Jenny Gross                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/world/e Britains New Voter ID Rule Raises Fears of
2023-05-03   2023-05-04 urope/uk-voter-id-laws.html                Lower Turnout                                By Stephen Castle                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/world/ A Golden Opportunity For Some to Flee
2023-05-03   2023-05-04 middleeast/sudan-refugee-evacuation.html   Sudan                                        By Vivian Nereim                 TX 9-299-029   2023-07-03



                                                                                Page 5182 of 5793
                        https://www.nytimes.com/live/2023/05/03/wo
                        rld/russia-ukraine-kremlin-drone-news/the-us-
                        will-send-an-additional-300-million-in-       300 Million in Aid for Kyiv Takes From US
2023-05-03   2023-05-04 military-aid-to-ukraine                       Stockpiles                                   By Michael Crowley     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/insider/
                        chasing-conspiracy-theories-at-the-denver-
2023-05-04   2023-05-04 airport.html                                  Chasing Conspiracy Theories at the Airport By Sarah Bahr            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/25/arts/po British Political Landscape Attracts a
2023-04-25   2023-05-05 d-save-the-uk.html                            Transplant Idea                              By Desiree Ibekwe      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/27/sports/b John Underwood 88 Sportswriter Who
2023-04-27   2023-05-05 aseball/john-underwood-dead.html              Collaborated With the Greats                 By Richard Sandomir    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/movies/
                        king-charles-the-boy-who-walked-alone-
2023-05-02   2023-05-05 review.html                                   King Charles the Boy Who Walked Alone        By Glenn Kenny         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/theater/
2023-05-02   2023-05-05 helen-park-kpop-tony-nomination.html          KPOP Composer Feels Encouraged               By Kalia Richardson    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/theater/
2023-05-02   2023-05-05 jodie-comer-tony-nomination.html              Every Night She Goes on a Journey            By Alexis Soloski      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/arts/dan
                        ce/review-judith-sanchez-ruiz-trisha-brown-
2023-05-03   2023-05-05 dance-company.html                            A New Voice With a Family Resemblance        By Brian Seibert       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/arts/des In the Age of AI Counteracting Nostalgias
2023-05-03   2023-05-05 ign/ai-makes-nostalgic-images.html            Allure                                       By Travis Diehl        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/movies/
2023-05-03   2023-05-05 guardians-of-the-galaxy-vol-3-review.html     Getting the Intergalactic Band Back Together By Maya Phillips       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/opinion
2023-05-03   2023-05-05 /king-charles-coronation.html                 For King for Country and for Spectacle       By Hannah Rose Woods   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/us/polit Pamela Timmins 85 Press Secretary to
2023-05-03   2023-05-05 ics/pamela-timmins-dead.html                  Jacqueline Kennedy in White House            By Neil Genzlinger     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/arts/dan
                        ce/constantine-p-cavafy-archive-of-
2023-05-04   2023-05-05 desire.html                                   A Poet Hero of the Past Whose Time Is Now By Anastasia Tsioulcas    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/arts/des
                        ign/daniel-lind-ramos-moma-ps1-catastroprhe-
2023-05-04   2023-05-05 art.html                                      Amid Catastrophe Collective Strength         By Holland Cotter      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/arts/des
                        ign/karl-lagerfeld-metropolitan-museum-of-
2023-05-04   2023-05-05 art-costume-institute-review.html             The Mets Fine Line on Lagerfeld              By Vanessa Friedman    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/arts/dor Dorothy Bohm 98 Who Tried to Show the
2023-05-04   2023-05-05 othy-bohm-dead.html                           Good in Life Is Dead                         By Daniel E Slotnik    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/arts/mu
                        sic/ed-sheeran-marvin-gaye-copyright-trial- Sheeran Hit Didnt Copy Gayes Lets Get It On
2023-05-04   2023-05-05 verdict.html                                  Jury Finds                                   By Ben Sisario         TX 9-299-029   2023-07-03




                                                                                Page 5183 of 5793
                        https://www.nytimes.com/2023/05/04/arts/tele
                        vision/silo-the-articulate-hour-ultimate-
2023-05-04   2023-05-05 cowboy-showdown.html                           This Weekend I Have                        By Margaret Lyons             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/books/ Wolfgang Schivelbusch 81 Scholar Who
2023-05-04   2023-05-05 wolfgang-schivelbusch-dead.html                Feasted on Brainteasers Dies               By Sam Roberts                TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/busines
                        s/apples-slowdown-eases-but-sluggish-          Apple Slowdown Eases But Sluggish Demand
2023-05-04   2023-05-05 demand-hurts-results.html                      Weighs Down Results                        By Kellen Browning            TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/busines Beer Giant to Refocus Marketing After Stir
2023-05-04   2023-05-05 s/bud-light-transgender-promotion.html         Over Transgender Ad                        By Julie Creswell             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/busines British Banking Giant Fights to Stay in One
                        s/dealbook/hsbc-ping-an-shareholders-          Piece as Top Shareholder Pushes for Global
2023-05-04   2023-05-05 agm.html                                       Revamp                                     By Michael J de la Merced     TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/busines
                        s/economy/recession-fed-powell-interest-rates-
2023-05-04   2023-05-05 jobs.html                                      Powells Bet On Inflation Defy History      By Jeanna Smialek             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/busines Europes Central Bank Raises Rates Again and
2023-05-04   2023-05-05 s/european-central-bank-interest-rate.html     Signals It Might Not Be Done               By Eshe Nelson                TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/04/busines                                               By Rob Copeland Joe Rennison and
2023-05-04   2023-05-05 s/regional-banks-stock-price-pacwest.html  Falling Shares Are Convulsing Smaller Banks Matthew Goldstein                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/busines Shells Profit at 96 Billion Despite a Drop in
2023-05-04   2023-05-05 s/shell-1q-earnings-oil-gas.html           Oil Prices                                    By Stanley Reed                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/04/busines God Save the King And the Economy While
2023-05-04   2023-05-05 s/uk-economy-king-charles-coronation.html Youre at It                                     By Eshe Nelson                TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/canada- Canadas Public Servants Strike Ends Without
2023-05-04   2023-05-05 federal-government-workers-strike.html      Remote Work Deal                              By Ian Austen                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/health/c Covid19 Dropped to 4th as a Leading Cause
2023-05-04   2023-05-05 ovid-deaths-2022.html                       of Death in the US in 2022                    By Roni Caryn Rabin           TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/health/ WHO Dismisses Lead Covid Origins
2023-05-04   2023-05-05 who-covid-sexual-misconduct.html            Investigator Over Sexual Misconduct           By Emily Anthes               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/movies/
2023-05-04   2023-05-05 anxious-nation-review.html                  Anxious Nation                                By Natalia Winkelman          TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/movies/
2023-05-04   2023-05-05 chile-76-review.html                        Domestic Unease Put in Perspective            By Teo Bugbee                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/movies/
                        david-hammons-the-melt-goes-on-forever-
2023-05-04   2023-05-05 review.html                                 Selling Snowballs and Other Artistic Pursuits By Wesley Morris              TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/movies/
2023-05-04   2023-05-05 queens-of-the-qing-dynasty-review.html      Queens of the Qing Dynasty                    By Beatrice Loayza            TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/movies/
2023-05-04   2023-05-05 riceboy-sleeps-review.html                  Riceboy Sleeps                                By Brandon Yu                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/movies/ Bearing Witness to Suffering as the War in
2023-05-04   2023-05-05 slava-ukraini-review.html                   Ukraine Goes On                               By Ben Kenigsberg             TX 9-299-029     2023-07-03



                                                                                 Page 5184 of 5793
                        https://www.nytimes.com/2023/05/04/movies/
2023-05-04   2023-05-05 unrest-review.html                         Unrest                                     By Amy Nicholson                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/movies/
2023-05-04   2023-05-05 whats-love-got-to-do-with-it-review.html   Whats Love Got to Do With It               By Jeannette Catsoulis           TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/movies/
2023-05-04   2023-05-05 you-can-live-forever-review.html           You Can Live Forever                       By Elisabeth Vincentelli         TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/nyregio In Deposition Trump Says Vulgar Tape Was By Benjamin Weiser Lola Fadulu
2023-05-04   2023-05-05 n/e-jean-carroll-trump-rape-trial.html     True                                       and Kate Christobek              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/nyregio                                            By Nicholas Fandos and Jeffery C
2023-05-04   2023-05-05 n/hochul-adam-sullivan-harassment.html     Hochul Acknowledges Not Vetting Adviser Mays                                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/nyregio Subway Killing Both Stuns City And Divides By Emma G Fitzsimmons and
2023-05-04   2023-05-05 n/jordan-neely-death-subway-nyc.html       It                                         Maria Cramer                     TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/nyregio
                        n/new-jersey-trooper-breastfeeding-first-  New Jerseys First Lady Made Trooper Pump
2023-05-04   2023-05-05 lady.html                                  Milk in Filth Suit Says                    By Tracey Tully                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/nyregio No Arrest in Subway Chokehold Death and By Hurubie Meko Chelsia Rose
2023-05-04   2023-05-05 n/subway-chokehold-arrest-decision.html    Many Ask Why                               Marcius and Jonah E Bromwich     TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/nyregio Trump Case Reveals Challenges of           By Jonah E Bromwich Ben Protess
2023-05-04   2023-05-05 n/trump-bragg-trial-date.html              Prosecuting a President                    and William K Rashbaum           TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/04/opinion
2023-05-04   2023-05-05 /biden-administration-debt-republican.html  Doing Whatever It Takes on Debt          By Paul Krugman                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/opinion Making Someone Uncomfortable Can Now
2023-05-04   2023-05-05 /jordan-neely-killed.html                   Get You Killed                           By Roxane Gay                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/opinion
2023-05-04   2023-05-05 /science-evidence-merits.html               Let Science Be Science                   By Pamela Paul                   TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/sports/a
2023-05-04   2023-05-05 labama-baseball-coach-fired.html            Coach Fired After Bets Are Flagged       By Victor Mather                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/sports/b
2023-05-04   2023-05-05 aseball/justin-verlander-mets.html          Behind Verlander Mets Dont Lose Badly    By Benjamin Hoffman              TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/04/sports/b Oakland Faces A Devastating Future Without
2023-05-04   2023-05-05 aseball/oakland-athletics-fans-las-vegas.html Pro Sports                               By David Waldstein               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/sports/b The Rays Are Better Than Everyone In
2023-05-04   2023-05-05 aseball/tampa-bay-rays.html                   Every Way                                By Tyler Kepner                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/sports/c
                        hess-cheating-hans-niemann-magnus-            Was It Cheating Chess Federation Says We By David Segal and Dylan Loeb
2023-05-04   2023-05-05 carlsen.html                                  Must Wait                                McClain                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/sports/f
                        ootball/nfl-women-james-bonta-                NFLs Treatment of Female Employees Is    By Katherine Rosman and Ken
2023-05-04   2023-05-05 investigation.html                            Under Investigation                      Belson                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/sports/h
                        orse-racing/kentucky-derby-horse-racing-      Lord Miles Is Scratched After Two of His
2023-05-04   2023-05-05 deaths.html                                   Trainers Other Horses Die                By Joe Drape and Melissa Hoppert TX 9-299-029   2023-07-03




                                                                              Page 5185 of 5793
                        https://www.nytimes.com/2023/05/04/sports/h
                        orse-racing/racehorses-breeding-kentucky-    For Top Horses the Real Money Is in
2023-05-04   2023-05-05 derby.html                                   Retirement                                   By Joe Drape                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/technol White House Pushes Tech To Put Limits On
2023-05-04   2023-05-05 ogy/us-ai-research-regulation.html           AI Risks                                     By David McCabe                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/theater/
2023-05-04   2023-05-05 hong-kong-mississippi-review.html            Something About the Blues Just Pulls Him In By Naveen Kumar                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/theater/
2023-05-04   2023-05-05 oliver-review-encores-city-center.html       Delightful Tunes Lighten a Grim Tale         By Jesse Green                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/travel/fl Dogs and Cats on a Plane Pets Get FirstClass
2023-05-04   2023-05-05 ying-pets-private-jets.html                  Treatment                                    By Christine Chung                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/us/abor In Test of Supermajority North Carolina
2023-05-04   2023-05-05 tion-ban-north-carolina.html                 Legislature Passes 12Week Abortion Ban       By David W Chen and Kate Kelly TX 9-299-029       2023-07-03
                        https://www.nytimes.com/2023/05/04/us/andr Jury Acquits Gillum a Onetime DeSantis         By Alexandra Glorioso and Patricia
2023-05-04   2023-05-05 ew-gillum-desantis-verdict.html              Rival of Lying to the FBI                    Mazzei                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/us/davi
2023-05-04   2023-05-05 s-stabbings-arrest-california.html           ExStudent Arrested in California Stabbings By Shawn Hubler                      TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/04/us/kim Embattled St Louis Prosecutor to Resign After
2023-05-04   2023-05-05 berly-gardner-st-louis-prosecutor-resigns.html Criticism and Effort to Remove Her       By Mitch Smith                     TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/us/los- Los Angeles Cant Forget P22 the Celebrity
2023-05-04   2023-05-05 angeles-mountain-lion-p22.html                 Mountain Lion                            By Jill Cowan                      TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/us/mon In Montana One Family Fuels An Unblinking
2023-05-04   2023-05-05 tana-conservatism-zephyr-regier.html           Shift to the Right                       By Mike Baker and Jacey Fortin     TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/us/polit Four Possible Options for Biden in the Debt
2023-05-04   2023-05-05 ics/biden-debt-limit.html                      Limit Crisis                             By Jim Tankersley                  TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/04/us/polit Friend of Thomas Defends His Failure to
2023-05-04   2023-05-05 ics/clarence-thomas-harlan-crow-tuition.html Disclose a Donors Tuition Payments         By Charlie Savage                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/us/polit Congressman To Spend Big In Senate Bid
2023-05-04   2023-05-05 ics/david-trone-maryland-senate-race.html    In Maryland                                By Luke Broadwater                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/us/polit 4 Proud Boys Convicted of Seditious
2023-05-04   2023-05-05 ics/jan-6-proud-boys-sedition.html           Conspiracy in Pivotal Jan 6 Case           By Alan Feuer and Zach Montague TX 9-299-029        2023-07-03
                        https://www.nytimes.com/2023/05/04/us/polit
                        ics/senate-immigration-expulsion-            Senators Make Push to Extend Quick
2023-05-04   2023-05-05 authority.html                               Expulsion of Migrants                      By Karoun Demirjian                TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/us/polit                                             By Maggie Haberman Adam
                        ics/trump-documents-subpoenas-justice-       Insider Witness In Case of Trump And       Goldman Alan Feuer Ben Protess
2023-05-04   2023-05-05 department.html                              Secret Files                               and Michael S Schmidt              TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/us/polit Nichols Died Of Injuries To His Head        By Emily Cochrane and Jessica
2023-05-04   2023-05-05 ics/tyre-nichols-autopsy.html                Autopsy Says                               Jaglois                            TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/us/texa Sued for Helping a Friend Obtain An
2023-05-04   2023-05-05 s-man-suing-ex-wife-abortion.html            Abortion 2 Women Sue Back                  By Emily Bazelon                   TX 9-299-029     2023-07-03




                                                                                 Page 5186 of 5793
                        https://www.nytimes.com/2023/05/04/world/a South Africa Allows Russian Cargo Plane
2023-05-04   2023-05-05 frica/south-africa-russia-plane-sanctions.html Under US Sanctions to Land at Base     By Lynsey Chutel and John Eligon TX 9-299-029      2023-07-03
                        https://www.nytimes.com/2023/05/04/world/a 6 Teachers Among 8 Killed in Pair of       By Salman Masood and Zia
2023-05-04   2023-05-05 sia/pakistan-school-shootings.html             Pakistan Attacks                       urRehman                         TX 9-299-029      2023-07-03
                        https://www.nytimes.com/2023/05/04/world/e Belgrade Is Consumed With Grief for 9 Dead By Constant Mheut and Vladimir
2023-05-04   2023-05-05 urope/belgrade-school-shooting.html            In a School Shooting                   Zivojinovic                      TX 9-299-029      2023-07-03

                        https://www.nytimes.com/2023/05/04/world/e
2023-05-04   2023-05-05 urope/kremlin-drone-explosions-analysis.html Kremlin Blasts Were Real The Rest Is Hazy   By Michael Schwirtz              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/world/e Turkeys Ruinous Mix of Greed and              By Ceylan Yeginsu Rebecca R Ruiz
2023-05-04   2023-05-05 urope/turkey-earthquake-corruption.html      Corruption                                  and Nimet Kirac                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/world/e
                        urope/zelensky-ukraine-hague-                In The Hague Zelensky Renews Call to        By Christopher F Schuetze and
2023-05-04   2023-05-05 netherlands.html                             Prosecute Russia for Its War Crimes         Victoria Kim                    TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/world/ Little Choice But to Make the Exhausting
2023-05-04   2023-05-05 middleeast/sudan-refugees-egypt.html         Journey to Egypt                            By Vivian Yee                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/us/polit
                        ics/joint-chiefs-chairman-charles-q-brown-
2023-05-05   2023-05-05 milley.html                                  Biden to Name New Top Military Officer      By Helene Cooper                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/insider/
2023-05-05   2023-05-05 why-the-horse-racing-beat-goes-on.html       Why the Horse Racing Beat Goes On           By Terence McGinley             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/nyregio Survey Shows 1 in 4 New Yorkers Lost at
2023-05-05   2023-05-05 n/new-york-covid-losses.html                 Least 3 Loved Ones to Covid                 By Sharon Otterman              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/18/travel/s
2023-04-18   2023-05-06 uva-fiji.html                                In Fiji Seeking Out a Citys Complexity      By Tom Downey                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/26/travel/b                                              By Dorothy Spears and Alexis
2023-04-26   2023-05-06 irding-in-ecuador.html                       Bears Binoculars and BucketList Birds       Rockman                         TX 9-299-029    2023-07-03
                        https://www.nytimes.com/interactive/2023/04/
2023-04-27   2023-05-06 27/travel/things-to-do-philadelphia.html     36 Hours in Philadelphia                    By Ingrid K Williams            TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/01/busines At a Transylvania Guesthouse Anyone Can
2023-05-01   2023-05-06 s/king-charles-romania-guest-house.html      Live Like a King Well One Specific King     By David Segal                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/arts/mu
2023-05-02   2023-05-06 sic/lauren-daigle.html                       A Music Star Enters a Bigger Galaxy         By Rob Tannenbaum               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/arts/mu
2023-05-02   2023-05-06 sic/shed-sonic-sphere.html                   A Modernist Dream To Rise at the Shed       By Joshua Barone                TX 9-299-029    2023-07-03

                        https://www.nytimes.com/interactive/2023/05/ Is It a Lake or a Battery A New Kind of     By Mira Rojanasakul and Max
2023-05-02   2023-05-06 02/climate/hydroelectric-power-energy.html Hydropower Is Spreading Fast                  Bearak                          TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/opinion
2023-05-03   2023-05-06 /ai-lina-khan-ftc-technology.html            The US Needs to Regulate AI                 By Lina M Khan                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/arts/kin Under the Reign Of a New King Culture
2023-05-04   2023-05-06 g-charles-culture.html                       Ascends                                     By Alex Marshall                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/busines Foreign Businesses Wary of State Control      By Daisuke Wakabayashi Chris
2023-05-04   2023-05-06 s/china-foreign-business-security.html       Even as China Reopens                       Buckley and Keith Bradsher      TX 9-299-029    2023-07-03



                                                                                Page 5187 of 5793
                        https://www.nytimes.com/2023/05/04/opinion
2023-05-04   2023-05-06 /china-us-world-order.html                  Even China Doesnt Believe Its Own Bluster      By Jessica Chen Weiss            TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/sports/b
                        asketball/pat-riley-once-front-and-center-
2023-05-04   2023-05-06 reigns-in-the-background.html               Riley Now Reigns From the Background           By Harvey Araton                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/theater/
2023-05-05   2023-05-06 shadow-land-review-play.html                What the Storm Washes Away                     By Naveen Kumar                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/world/e                                                 By Constant Mheut John Yoon Joe
2023-05-05   2023-05-06 urope/serbia-shooting.html                  Serbia Is Shaken by 2nd Massacre               Orovic and Jenny Gross          TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/bru Bruce McCall 87 Satirical Artist Who
2023-05-05   2023-05-06 ce-mccall-illustrator-dead.html             Conjured a Retrofuture Dies                    By William Grimes                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/dan
                        ce/review-city-ballet-christopher-wheeldon-
2023-05-05   2023-05-06 alysa-pires.html                            Turbulence Surging Amid Flow                   By Brian Seibert                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/dan
                        ce/review-miguel-gutierrez-i-as-another-
2023-05-05   2023-05-06 bac.html                                    Moving to the Rhythm of Why and Where          By Gia Kourlas                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/des
2023-05-05   2023-05-06 ign/cultural-emergency-response.html        An ambulance for artifacts                     By Farah Nayeri                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/des
2023-05-05   2023-05-06 ign/guggenheim-women-artists.html           Honoring women and their art                   By Ted Loos                      TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/des
2023-05-05   2023-05-06 ign/immersive-art-exhibits.html             Is immersive art spellbinding or forgettable   By Christy Choi                  TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/05/arts/des
2023-05-05   2023-05-06 ign/lalannes-furniture-tefaf-mitterrand.html Highlighting furnitures wild side             By Nazanin Lankarani             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/des
2023-05-05   2023-05-06 ign/ownership-art-museums.html               Art ownership reconsidered                    By Farah Nayeri                  TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/05/arts/des
2023-05-05   2023-05-06 ign/park-avenue-armory-tefaf-new-york.html Gilded Age ambitions and modern marvels         By Liz Robbins                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/des
2023-05-05   2023-05-06 ign/tefaf-jorge-pardo.html                  For this bar it wasnt last call after all      By Liz Robbins                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/des
2023-05-05   2023-05-06 ign/tefaf-korean-art.html                   Exploring a movement in Korean art             By David Belcher                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/des
2023-05-05   2023-05-06 ign/tefaf-new-york.html                     TEFAF New York finds its niche                 By Ted Loos                      TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/mu
                        sic/ed-sheeran-marvin-gaye-copyright-
2023-05-05   2023-05-06 trial.html                                  What Sheerans Victory Means                    By Ben Sisario                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/mu
2023-05-05   2023-05-06 sic/new-york-philharmonic-review.html       Hearty Applause From the Stage                 By Oussama Zahr                  TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/05/books/b
2023-05-05   2023-05-06 est-british-monarchy-coronation-books.html A Royal Reading List                            By Tina Jordan and Elisabeth Egan TX 9-299-029   2023-07-03



                                                                                  Page 5188 of 5793
                        https://www.nytimes.com/2023/05/05/busines
2023-05-05   2023-05-06 s/bank-stocks-rebound.html                  Bank Shares Rise as Jobs Data Lifts Markets By Joe Rennison                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/busines
2023-05-05   2023-05-06 s/disney-ron-desantis.html                  DeSantis Signs Law Escalating Disney Feud By Brooks Barnes                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/busines Job Growth Keeps Vigor A Wrinkle For the
2023-05-05   2023-05-06 s/economy/jobs-report-april.html            Fed                                         By Lydia DePillis               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/busines Wages Climb at Steady Pace As Officials
2023-05-05   2023-05-06 s/economy/wages-fed-inflation.html          Wrestle Inflation                           By Jeanna Smialek               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/busines
2023-05-05   2023-05-06 s/ftc-kochava-location-data.html            Judge Dismisses Lawsuit Over Location Data By Natasha Singer                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/busines                                              By Jeremy W Peters and Benjamin
2023-05-05   2023-05-06 s/media/tucker-carlson-tv-fox-news.html     Fox Contract Limits Moves For Carlson       Mullin                          TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/climate Scientists Say Climate Change Was a Factor
2023-05-05   2023-05-06 /heat-wave-spain-morocco.html               In Spain Heat                               By Raymond Zhong                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/health/c CDC Set to Scale Back How It Tracks the
2023-05-05   2023-05-06 dc-covid-tracking.html                      Virus                                       By Apoorva Mandavilli           TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/health/c WHO Ends Global Emergency for Covid but
2023-05-05   2023-05-06 ovid-who-emergency-end.html                 Cautions Threat Isnt Over                   By Stephanie Nolen              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/health/ Director of CDC As a Virus Raged Is          By Apoorva Mandavilli and Noah
2023-05-05   2023-05-06 walensky-cdc-resignation.html               Stepping Down                               Weiland                         TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/05/nyregio Officials Still Investigating Subway          By Maria Cramer Hurubie Meko
2023-05-05   2023-05-06 n/jordan-neely-chokehold-death-subway.html Chokehold Killing                             and Amelia Nierenberg          TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/nyregio
2023-05-05   2023-05-06 n/troy-patterson-nypd-funeral.html          Sendoff for Police Officer Shot 33 Years Ago By Sarah Maslin Nir            TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/opinion
2023-05-05   2023-05-06 /covid-pandemic-emergency-over.html         The End of the Pandemic Emergency Is Now By David WallaceWells              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/opinion
2023-05-05   2023-05-06 /dianne-feinstein-senate.html               Dianne Feinstein Has to Act                  By The Editorial Board         TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/science Magnetic Changes Allow the Northern Lights
2023-05-05   2023-05-06 /northern-lights.html                       to Dip South                                 By April Rubin                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/sports/c A Boxer Comes Home for a Fight a
2023-05-05   2023-05-06 anelo-alvarez-fight.html                    Celebration and a Little Bit of a Jolt       By Morgan Campbell             TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/05/sports/h
2023-05-05   2023-05-06 orse-racing/kentucky-derby-horse-picks.html Who Will Win the Derby                     By Joe Drape and Melissa Hoppert TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/05/sports/s Spanish Clubs Secrets To Steady Success
2023-05-05   2023-05-06 occer/osasuna-real-madrid-copa-del-rey.html System and Structure                       By Rory Smith                    TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/sports/s
                        occer/portland-youth-soccer-transgender-
2023-05-05   2023-05-06 coach.html                                  A Place to Play Became a Place to Belong   By Kurt Streeter and Mason Trinca TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/technol Governor Is Latest Target Of Conspiracy
2023-05-05   2023-05-06 ogy/ron-desantis-conspiracy-theorists.html  Theorists                                  By Stuart A Thompson             TX 9-299-029    2023-07-03




                                                                                Page 5189 of 5793
                        https://www.nytimes.com/2023/05/05/theater/ Laura Pels 92 Devoted Supporter Who Helped
2023-05-05   2023-05-06 laura-pels-dead.html                        Nonprofits Stage Productions               By Daniel E Slotnik                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/05/theater/
                        the-sign-in-sidney-brusteins-window-
2023-05-05   2023-05-06 review.html                                 An Unwieldy Yet Incisive Play Revival      By Laura CollinsHughes              TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/05/us/gerr
                        ymander-maps-north-carolina-supreme-        Some Judges Say the Courts Cant Police
2023-05-05   2023-05-06 court.html                                  Gerrymanders                               By Michael Wines                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/05/us/jeffr Bard College President Defends Visits With
2023-05-05   2023-05-06 ey-epstein-leon-botstein-bard-college.html  Epstein to Seek a Donation                 By Vimal Patel                      TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/05/us/polit
                        ics/ai-military-war-nuclear-weapons-russia- AIs Potential on the Battlefield Alarms US
2023-05-05   2023-05-06 china.html                                  Defense Experts                            By David E Sanger                   TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/05/us/polit After Jan 6 Sedition Convictions Threats
2023-05-05   2023-05-06 ics/jan-6-sedition-proud-boys-far-right.html From FarRight Remain                       By Alan Feuer                      TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/05/us/polit Biden Taps Longtime Adviser As Domestic
2023-05-05   2023-05-06 ics/neera-tanden-biden.html                  Policy Leader                              By Michael D Shear                 TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/05/us/polit
2023-05-05   2023-05-06 ics/peter-schwartz-jan-6-rioter-sentenced.html Attacker Gets 14 Years For Role in Jan 6 Riot By Alan Feuer and Zach Montague TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/us/polit
2023-05-05   2023-05-06 ics/ramaswamy-speeches.html                    Five Bold Promises From Campaign Trail        By Jonathan Weisman             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/us/polit Saudi Arabia To Host Talks About Terms Of By Edward Wong and Abdi Latif
2023-05-05   2023-05-06 ics/sudan-generals-peace-talks.html            Sudan Deal                                    Dahir                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/us/polit
                        ics/supreme-court-ethics-rules-justice-thomas- Ethics Reforms For the Justices May Be
2023-05-05   2023-05-06 crow.html                                      Thorny                                        By Charlie Savage               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/us/polit Families at Work and Play Beneath Toxic
2023-05-05   2023-05-06 ics/toxic-chemicals-restrictions-biden.html    Clouds                                        By Eric Lipton                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/us/polit Smooth Talker Who Says Trump Didnt Go
2023-05-05   2023-05-06 ics/vivek-ramaswamy.html                       Far Enough                                    By Jonathan Weisman             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/us/supr Justices Stay Death Penalty For Prisoner In
2023-05-05   2023-05-06 eme-court-richard-glossip-execution.html       Oklahoma                                      By Adam Liptak                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/us/trans Florida Bars Young People From Care To
2023-05-05   2023-05-06 gender-care-ban-florida-ron-desantis.html      Transition                                    By Patricia Mazzei              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/us/trum Fake Electors In Georgia Reach Deals For
2023-05-05   2023-05-06 p-georgia-election-investigation.html          Immunity                                      By Danny Hakim                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/world/e
                        urope/belgium-iraq-terrorism-suspect-          Belgian Authorities Arrest Suspect in Iraq    By Emma Bubola and Alissa J
2023-05-05   2023-05-06 arrested.html                                  Bombings                                      Rubin                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/world/e
2023-05-05   2023-05-06 urope/coronation-british-realms.html           ExColonies Moving to Cut Ties With Crown By Damien Cave                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/world/e
2023-05-05   2023-05-06 urope/dnipro-river-ukraine-photos.html         The Dnipro River an Axis of Life and Death By Nicole Tung and Marc Santora TX 9-299-029      2023-07-03



                                                                                 Page 5190 of 5793
                        https://www.nytimes.com/2023/05/05/world/e Stinging Losses for Conservative Party in   By Stephen Castle and Mark
2023-05-05   2023-05-06 urope/england-election-results.html        Englands Local Elections                    Landler                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/world/e Venerable Seat of Power In Need of Sprucing
2023-05-05   2023-05-06 urope/king-charles-coronation-chair.html   Up                                          By Derrick Bryson Taylor     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/world/e A Series of Blasts and Leadership Rifts Put
2023-05-05   2023-05-06 urope/russia-ukraine-war.html              Russia on Edge                              By Neil MacFarquhar          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/world/e A Look at Gun Violence in a Nation Awash
2023-05-05   2023-05-06 urope/serbia-gun-violence.html             With Weapons                                By Cora Engelbrecht          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/world/e
                        urope/uk-king-charles-coronation-          As a King Is Crowned Some Britons Ask
2023-05-05   2023-05-06 identity.html                              Why the Monarchy Still Persists             By Sarah Lyall               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/world/
                        middleeast/aharon-barak-israel-judicial-   A LongRetired Justice Draws the Noisy
2023-05-05   2023-05-06 overhaul.html                              Disapproval of Israels Right                By Patrick Kingsley          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/world/ Iran Is Pressuring Businesses To Enforce     By Vivian Yee and Leily
2023-05-05   2023-05-06 middleeast/iran-hijab-law-businesses.html  Wearing of Hijabs                           Nikounazar                   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/05/world/ Palestinians Demand Israel Return The Body
2023-05-05   2023-05-06 middleeast/israel-palestine-adnan-body.html of a Prominent Prisoner                     By Raja Abdulrahim          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/your- How to Save Money on Auto Insurance as
2023-05-05   2023-05-06 money/car-insurance-rates.html                 Rates Rise                               By Ann Carrns               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/live/2023/05/05/wo
                        rld/king-charles-coronation/coronation-police- A High Police Presence Is Set for London
2023-05-05   2023-05-06 security-london                                Streets                                  By Megan Specia             TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/06/us/polit DeSantis Sets Sights on Wisconsin a 2024   By Nicholas Nehamas and
2023-05-06   2023-05-06 ics/desantis-wisconsin-2024-president.html Battleground                                Alexandra Glorioso           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/live/2023/05/06/spo
                        rts/kentucky-derby-picks-results-           What to Watch Safest Prediction Is
2023-05-06   2023-05-06 news/kentucky-derby-watch                   Unpredictability                           By Melissa Hoppert           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/02/19/books/r
2023-02-19   2023-05-07 eview/homestead-melinda-moustakis.html      North to Alaska                            By Claire Luchette           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/02/23/books/r
2023-02-23   2023-05-07 eview/colin-winnette-users.html             Dream It and Its Yours                     By Jessamine Chan            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/03/12/books/r
                        eview/livia-manera-sambuy-in-search-of-
2023-03-12   2023-05-07 amrit-kaur.html                             Cloaked in Mystery                         By Akemi Johnson             TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/03/16/books/r
2023-03-16   2023-05-07 eview/still-life-with-bones-alexa-hagerty.html Stories From Beyond the Grave           By Ariel Dorfman             TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/03/18/books/r
2023-03-18   2023-05-07 eview/the-peoples-hospital-ricardo-nuila.html Health and Human Services                By Linda Villarosa           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/03/21/books/r
2023-03-21   2023-05-07 eview/the-undertow-jeff-sharlet.html          Right Turn                               By Joseph ONeill             TX 9-299-029   2023-07-03



                                                                                  Page 5191 of 5793
                        https://www.nytimes.com/2023/04/03/books/r
                        eview/sam-shepard-biography-robert-
2023-04-03   2023-05-07 greenfield.html                            Expressing the Unsaid                       By Dwight Garner                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/07/books/r
2023-04-07   2023-05-07 eview/bruno-schulz-benjamin-balint.html    The Tangled Afterlife                       By Joshua Cohen                 TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/04/09/books/r
2023-04-09   2023-05-07 eview/johannes-lichtman-calling-ukraine.html Foreign Exchange                        By Sophie Pinkham                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/10/books/r
2023-04-10   2023-05-07 eview/the-weight-jeff-boyd.html              Under Pressure                          By Mateo Askaripour               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/23/books/
2023-04-23   2023-05-07 monsters-review-claire-dederer.html          Good Art Bad People                     By Alexandra Jacobs               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/23/books/r
                        eview/michael-farris-smith-salvage-this-
2023-04-23   2023-05-07 world.html                                   Stormy Weather                          By John Brandon                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/04/ Lawmakers Want to Ban TikTok Heres What By Kalley Huang Alexandra Eaton
2023-04-26   2023-05-07 25/business/tiktok-ban.html                  Users Say Is at Stake                   and Shane ONeill                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/27/books/r
2023-04-27   2023-05-07 eview/lebron-jeff-benedict.html              Inside the List                         By Elisabeth Egan                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/28/books/r
                        eview/the-last-catastrophe-allegra-hyde-the-
                        archivists-daphne-kalotay-the-house-of-love-
2023-04-28   2023-05-07 and-prayer-tova-reich.html                   The Shortlist Story Collections         By Gwen E Kirby                   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/04/29/style/st Trying to Earn the Boots at a PopUp
2023-04-29   2023-05-07 ud-country-line-dancing-two-step-class.html HonkyTonk                                  By Paul McAdory                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/arts/des
                        ign/joel-coen-lee-friedlander-book-
2023-05-01   2023-05-07 photography.html                            Capturing a Photographers World            By Arthur Lubow                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/arts/mu
                        sic/billy-corgan-smashing-pumpkins-
2023-05-01   2023-05-07 favorites.html                              Billy Corgan Loves Art Deco and Synths     By Hank Shteamer                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/arts/oli
2023-05-01   2023-05-07 ver-encores.html                            This Oliver Owns the Harsh Life            By Sarah Bahr                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/magazi
2023-05-01   2023-05-07 ne/kyrsten-sinema-independent.html          Kyrsten Sinemas Last Stand                 By Robert Draper                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/opinion
2023-05-01   2023-05-07 /georgia-trump.html                         Georgias Hot Mess Is Headed Your Way       By Michelle Cottle              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/magazi
2023-05-02   2023-05-07 ne/annie-ernaux-delphine-de-vigan.html      A Shock of Recognition                     By Rachel Cusk                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/magazi
2023-05-02   2023-05-07 ne/gwyneth-paltrow-trial-concussions.html   Ill Repute                                 By Mireille Silcoff             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/sports/b Mike Shannon Who Was a Lifelong St Louis
2023-05-02   2023-05-07 aseball/mike-shannon-dead.html              Cardinal Dies at 83                        By Richard Sandomir             TX 9-299-029   2023-07-03




                                                                               Page 5192 of 5793
                        https://www.nytimes.com/2023/05/02/style/pa
2023-05-02   2023-05-07 ssive-house-brownstone-carroll-gardens.html An Aggressive Passive Redesign             By Stephen Wallis          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/ How Do We Ensure an AI Future That
2023-05-02   2023-05-07 02/magazine/ai-gary-marcus.html              Allows for Human Thriving                 By David Marchese          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/arts/des
2023-05-03   2023-05-07 ign/design-fabrics-environment.html          A Study of Earth and Fire                 By Stephen Treffinger      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/magazi
                        ne/aleksandar-vucic-veljko-belivuk-
2023-05-03   2023-05-07 serbia.html                                  The President and The Gangsters           By Robert F Worth          TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/03/magazi Chicken Egg Rice The simplicity of oyakodon
2023-05-03   2023-05-07 ne/chicken-egg-rice-bowl-recipe.html        presents a particular kind of magic       By Bryan Washington         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/movies/
                        will-poulter-guardians-of-the-galaxy-vol-3-
2023-05-03   2023-05-07 adam-warlock.html                           Just Getting Used to Superhero Status     By Kyle Buchanan            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/nyregio
                        n/mental-health-intensive-mobile-                                                     By Andy Newman and Hiroko
2023-05-03   2023-05-07 treatment.html                              Someone in Their Corner                   Masuike                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/opinion Why So Many Americans Are Feeling More
2023-05-03   2023-05-07 /chronic-pain-america-working-class.html    Pain                                      By Nicholas Kristof         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/opinion
2023-05-03   2023-05-07 /jezebel-gawker-buzzfeed-ben-smith.html     Where the New Digital Media Age Began     By Ben Smith                TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/03/opinion How Donald Trump and Tucker Carlson
2023-05-03   2023-05-07 /tucker-carlson-ukraine-trump-desantis.html Upended the GOP                            By Rosie Gray              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/realesta
                        te/home-prices-minnesota-rhode-island-        625000 Homes in Minnesota Rhode Island
2023-05-03   2023-05-07 kentucky.html                                 and Kentucky                             By Angela Serratore        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/realesta
2023-05-03   2023-05-07 te/no-mow-may-lawn-meadow.html                Spare the Mower and Raise a Meadow       By Margaret Roach          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/realesta
                        te/spiegelworld-circus-ghost-town-california-
2023-05-03   2023-05-07 nipton.html                                   When the Circus Came to a Ghost Town     By Debra Kamin             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/style/ar
2023-05-03   2023-05-07 chitect-emilio-ambasz-design.html             A GreenArchitecture Pioneer              By Matt Shaw               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/style/be
2023-05-03   2023-05-07 be-buell.html                                 A Rock n Roll Muse Sings Her Own Song    By George Gurley           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/style/ch
2023-05-03   2023-05-07 ildren-guilt-parents-divorce.html             I Saw What Dad Did                       By Philip Galanes          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/style/de
2023-05-03   2023-05-07 sign-questions.html                           A Life Less Toxic                        By Stephen Treffinger      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/style/ka
2023-05-03   2023-05-07 ty-hessel.html                                Art and a Female Gaze                    By Dayna Evans             TX 9-299-029   2023-07-03




                                                                                Page 5193 of 5793
                        https://www.nytimes.com/2023/05/03/style/le
2023-05-03   2023-05-07 d-lights-improving.html                     LED Lights Keep Improving                     By Arlene Hirst              TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/03/style/mi
2023-05-03   2023-05-07 sha-japanwala-pakistani-artist-bodies.html     Shame Has Become Her Area of Expertise    By Aamina Inayat Khan           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/style/po
2023-05-03   2023-05-07 lo-tournaments-florida.html                    Blini and Ros on the Polo Field           By Holly Peterson               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/style/se
2023-05-03   2023-05-07 attle-homeless-tiny-homes.html                 Thinking Small                            By Jane Margolies               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/arts/des Domestic Design For an International Fair An
2023-05-04   2023-05-07 ign/products-events-people.html                AllAmerican Nucleus                       By The New York Times           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/arts/des
2023-05-04   2023-05-07 ign/turning-ashes-and-sand-into-art.html       Turning Ashes and Sand Into Art           By Jane Margolies               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/arts/tele
2023-05-04   2023-05-07 vision/city-on-fire.html                       When a Dark New York Burned Bright        By Austin Considine             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/climate
                        /an-irish-abbey-where-the-grass-is-always-
2023-05-04   2023-05-07 warmer.html                                    The Grass Is Always Warmer                By Sarah Archer and Karen Cox   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/magazi
                        ne/celine-chanel-gucci-superfake-
2023-05-04   2023-05-07 handbags.html                                  Superfake Inc                             By Amy X Wang and Grant Cornett TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/magazi
2023-05-04   2023-05-07 ne/john-hodgman-goodbye-kisses.html            Bonus Advice From Judge John Hodgman      By John Hodgman                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/magazi
2023-05-04   2023-05-07 ne/poem-i-want-to-wake-up.html                 Poem                                      By Bhanu Kapil and Anne Boyer TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/nyregio For Some Budding Entrepreneurs a 20000
2023-05-04   2023-05-07 n/nyc-boss-up.html                             Boost                                     By Winnie Hu                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/nyregio Double Parking or Littering While Wealthy
2023-05-04   2023-05-07 n/nyc-fines-income.html                        May Mean Higher New York City Fines       By Eliza Shapiro                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/opinion
2023-05-04   2023-05-07 /gen-z-adulthood.html                          What Our Toxic Culture Does to the Young By David Brooks                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/opinion We Desperately Need A New Electrical Grid
2023-05-04   2023-05-07 /nepa-permitting-reform.html                   Heres How to Make It Happen               By The Editorial Board          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/opinion
                        /silicon-valley-bank-first-republic-financial- The Banking Crisis May Just Be Getting
2023-05-04   2023-05-07 crisis.html                                    Started                                   By Amit Seru                    TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/04/realesta
2023-05-04   2023-05-07 te/most-expensive-neighborhoods-nyc.html Where New York Homes Cost the Most               By Michael Kolomatsky        TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/realesta
2023-05-04   2023-05-07 te/net-zero-house-california.html            As Green as It Gets                          By Zahid Sardar              TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/04/style/in-
                        the-digital-age-wedding-film-photography-has Even in the Digital Era Weddings Stand Out
2023-05-04   2023-05-07 a-resurgence.html                            on Film                                      By Emma Grillo               TX 9-299-029     2023-07-03




                                                                                 Page 5194 of 5793
                        https://www.nytimes.com/2023/05/04/us/dem Countrys Youngest State Party Leader Takes
2023-05-04   2023-05-07 ocrats-north-carolina-anderson-clayton.html BlueCollar Blueprint to Democrats             By Andrew Trunsky             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/                                              By Zachary Small and Rumsey
2023-05-04   2023-05-07 04/arts/zelda-nintendo-history.html           How The Legend of Zelda Changed the Game Taylor                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/
                        04/realestate/houses-hudson-valley-catskills- Finding That Hudson Valley Gem for About
2023-05-04   2023-05-07 ny.html                                       500000 Which House Would You Choose         By Karen Angel                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/busines Katie Cotton 57 Media Vice President at
2023-05-05   2023-05-07 s/katie-cotton-dead.html                      Apple Who Had Jobss Back                    By Richard Sandomir           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/mu
2023-05-05   2023-05-07 sic/mo-willems-opera-kennedy-center.html      Emotional Arias Acquire a Dose of Silliness By David Allen                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/books/e
2023-05-05   2023-05-07 dward-burtynsky-african-studies.html          Up Close BirdsEye View                      By Erica Ackerberg            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/books/r
2023-05-05   2023-05-07 eview/new-books-friendship-kids.html          It Takes Two                                By Sergio Ruzzier             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/books/r
2023-05-05   2023-05-07 eview/new-historical-fiction.html             Dark Shadows Dark Times                     By Alida Becker               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/busines
2023-05-05   2023-05-07 s/roger-lee-layoffs.html                      The Bearer of 450000 Pieces of Bad News     By Lora Kelley                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/nyregio
2023-05-05   2023-05-07 n/carroll-trump-rape-trial.html               A Fabulous Facade Masks Submerged Pain By Ginia Bellafante                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/nyregio Available for Lease in Manhattan A Record
2023-05-05   2023-05-07 n/nyc-office-space-vacancy-rates.html         94 Million Square Feet of Office Space      By Matthew Haag               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/opinion
                        /constitutional-amendments-supreme-
2023-05-05   2023-05-07 court.html                                    Somethings Got to Give                      By Jamelle Bouie              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/opinion
                        /depression-misery-psychiatry-mental-
2023-05-05   2023-05-07 health.html                                   How Miserable Are We Supposed to Be         By Huw Green                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/opinion
2023-05-05   2023-05-07 /hiroshima-japan-trees.html                   Hiroshimas Silent Survivors                 By Will Matsuda               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/realesta Amy Schumers Riverview Penthouse
2023-05-05   2023-05-07 te/amy-schumer-nyc-penthouse-sale.html        Wrapped by Terraces Sells for 13 Million    By Vivian Marino              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/realesta
2023-05-05   2023-05-07 te/gray-floors-home-design-trends.html        Seeing Red                                  By Anna Kod                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/realesta
2023-05-05   2023-05-07 te/los-angeles-multifamily-housing.html       A Sunny Lab for Residential Experiments     By Julie Lasky                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/sports/a Annual 93000Mile 20Country Relay Race
2023-05-05   2023-05-07 utoracing/formula-1-travel.html               That Fans Dont See                          By Patricia Mazzei            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/sports/s For PSG More Points Than RC Lens Has But
2023-05-05   2023-05-07 occer/psg-lens-ligue-1.html                   Much Less Fun                               By Rory Smith                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/style/be Down Under Sharing Alma Maters From Way
2023-05-05   2023-05-07 thany-ryan-andrew-jones-wedding.html          Back                                        By Nell Gallogly              TX 9-299-029   2023-07-03




                                                                                Page 5195 of 5793
                        https://www.nytimes.com/2023/05/05/style/fe
2023-05-05   2023-05-07 rdinand-habsburg-royal-racecar-driving.html Hes a Prince but Without a Throne            By Alyson Krueger                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/style/lui
2023-05-05   2023-05-07 s-correa-ronald-corning-wedding.html         Meeting by Accident but Soon Inseparable    By Jenny Block                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/style/m
                        odern-love-disability-seeking-a-lover-not-a-
2023-05-05   2023-05-07 nurse.html                                   Ready Willing and Able for a Relationship   By Alicia Loh                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/style/pe A Perfectly Fine Plan A Except for All Those
2023-05-05   2023-05-07 ter-walters-ray-quintero-wedding.html        Bees                                        By Rosalie R Radomsky             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/style/ra For a Perpetual Bridesmaid a Match So Worth
2023-05-05   2023-05-07 chel-liverman-jeremy-crane-wedding.html      the Wait                                    By Tammy LaGorce                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/us/elect Roy Saltman 90 Who Warned About
2023-05-05   2023-05-07 ions/roy-saltman-dead.html                   Hanging Chads Is Dead                       By Sam Roberts                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/us/nh- Old Man of the Mountain Gone 20 Years Still
2023-05-05   2023-05-07 old-man-mountain-rocks-collapse.html         Captivates                                  By Jenna Russell and John Tully   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/us/polit
                        ics/alabama-sewage-discrimination-justice-
2023-05-05   2023-05-07 dept.html                                    Alabama Violated Rights in Sewage Case      By Linda Qiu                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/us/unde
                        rwater-cemetery-hospital-dry-tortugas-
2023-05-05   2023-05-07 florida.html                                 Under Sea Off Florida 1800s Cemetery        By Livia AlbeckRipka              TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/05/world/a Braving Street Battles in Sudan 2 Taxi
2023-05-05   2023-05-07 frica/sudan-fighting-evacuations-rescue.html Drivers Rescue Dozens of Stranded People  By Declan Walsh                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/world/e New Image For Camilla Before Title And
2023-05-05   2023-05-07 urope/queen-camilla-image.html               Crown                                     By Megan Specia                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/sports/s A Teams Finest Moment Is Also Somberly Its
2023-05-06   2023-05-07 t-francis-tennis-athletic-program.html       Last                                      By Victor Mather                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/arts/dan
                        ce/brandenburg-city-ballet-jerome-
2023-05-06   2023-05-07 robbins.html                                 Witnessing One Last Blast Of Brilliance   By Roslyn Sulcas                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/arts/mu
                        sic/lewis-capaldi-broken-by-desire-to-be-
2023-05-06   2023-05-07 heavenly-sent.html                           A Master Of Tearjerkers And Quips         By Jon Caramanica                   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/06/busines
2023-05-06   2023-05-07 s/dealbook/berkshire-hathaway-earnings.html Berkshire Reports a Big Jump in Earnings     By Michael J de la Merced         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/fashion
                        /coronation-fashion-kate-middleton-jill-biden- Queen Camilla Princess Catherine and
2023-05-06   2023-05-07 katy-perry.html                                Clothes Full of Meaning                   By Vanessa Friedman               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/nyregio Exploring the Mystery of the Female Bob
2023-05-06   2023-05-07 n/connie-converse-nyc.html                     Dylan                                     By Howard Fishman                 TX 9-299-029   2023-07-03




                                                                                 Page 5196 of 5793
                        https://www.nytimes.com/2023/05/06/opinion
                        /are-anti-trump-republicans-doomed-to-repeat-
2023-05-06   2023-05-07 2016.html                                     Is the GOP Doomed to Repeat 2016            By Ross Douthat                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/opinion Something More Dangerous Than Hate
2023-05-06   2023-05-07 /fear-speech-social-media.html                Speech                                      By Julia Angwin                    TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/06/opinion
2023-05-06   2023-05-07 /omaha-jacob-gardner-james-scurlock.html    A Tragedy in Omaha                            By Joe Sexton                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/opinion
2023-05-06   2023-05-07 /supremely-arrogant.html                    Supremely Arrogant                            By Maureen Dowd                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/opinion Not Having Children Is a Choice Women
2023-05-06   2023-05-07 /women-without-children-history.html        Have Always Made                              By Peggy ODonnell Heffington       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/realesta
                        te/can-my-building-force-me-to-use-its-     Can My Building Force Me to Use Its
2023-05-06   2023-05-07 preferred-moving-company.html               Preferred Moving Company                      By Ronda Kaysen                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/sports/b
                        asketball/nba-lebron-james-stephen-         Like Michael Jackson and Prince They
2023-05-06   2023-05-07 curry.html                                  Command the Crowd                             By Sopan Deb                   TX 9-299-029       2023-07-03
                                                                                                                  By Mary Beth Gahan Adam
                        https://www.nytimes.com/2023/05/06/us/allen-At Least 8 Are Killed After Gunfire Erupts at Goldman Remy Tumin Claire Fahy
2023-05-06   2023-05-07 mall-texas-shooting.html                    a Crowded Texas Mall                          and Lauren McCarthy            TX 9-299-029       2023-07-03

                        https://www.nytimes.com/2023/05/06/us/cold- An American Killer Led A Secret Life in
2023-05-06   2023-05-07 case-john-damon-william-leslie-arnold.html Australia                                       By Jesus Jimnez                   TX 9-299-029   2023-07-03
                                                                                                                   By Aric Toler Robin Stein Glenn
                        https://www.nytimes.com/2023/05/06/us/polit                                                Thrush Riley Mellen and Ishaan
2023-05-06   2023-05-07 ics/jack-teixeira-leaks-discord-messages.html Guns and Plots Filled the Chats Of an Airman Jhaveri                           TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/06/world/a India Moves To End Fight After Dozens Are
2023-05-06   2023-05-07 sia/ethnic-clashes-indias-manipur-state.html Killed                                       By Alex Travelli and Suhasini Raj TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/06/world/e A Crowning Moment With Medieval Pomp
2023-05-06   2023-05-07 urope/charles-king-coronation.html           and Modern Twists                            By Mark Landler                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/world/e                                                By Neil MacFarquhar and Anton
2023-05-06   2023-05-07 urope/russia-prilepin-bombing.html           Car Bombing Said to Target Russian Writer    Troianovski                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/world/e Serbia Reckons With Gun Culture After
2023-05-06   2023-05-07 urope/serbia-shootings-gun-reckoning.html BacktoBack Mass Shootings                       By Constant Mheut                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/06/world/e As Putin Bides His Time a Pressured Ukraine By Paul Sonne and Andrew E
2023-05-06   2023-05-07 urope/ukraine-counteroffensive-russia.html Faces a Ticking Clock                       Kramer                           TX 9-299-029        2023-07-03
                        https://www.nytimes.com/2023/05/06/world/e Ukraine Says It Hit Russias Most            By Marc Santora Eric Schmitt and
2023-05-06   2023-05-07 urope/ukraine-russia-war-patriot.html      Sophisticated Missile                       John Ismay                       TX 9-299-029        2023-07-03
                        https://www.nytimes.com/2023/05/06/busines California Task Force Calls For Billions in
2023-05-07   2023-05-07 s/economy/california-reparations.html      Reparations To Eligible Black Residents     By Kurtis Lee                    TX 9-299-029        2023-07-03




                                                                                 Page 5197 of 5793
                        https://www.nytimes.com/2023/05/06/sports/h
                        orse-racing/mage-kentucky-derby-            15to1 Shot Prevails In a Race Shadowed By
2023-05-07   2023-05-07 winner.html                                 Death and Doubt                                By Joe Drape                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/busines
2023-05-07   2023-05-07 s/ai-chatbot-messaging-work.html            Turning Over Her Office Inbox to AI            By Emma Goldberg                 TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/07/busines Liz Holmes Wants You to Forget About
2023-05-07   2023-05-07 s/elizabeth-holmes-theranos-interview.html Elizabeth                                   By Amy Chozick                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/busines The Week in Business The 10th Straight Rate
2023-05-07   2023-05-07 s/federal-reserve-interest-rates.html       Increase                                   By Marie Solis                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/insider/
                        new-york-intensive-mobile-treatment-        In New York City Making the Invisible
2023-05-07   2023-05-07 teams.html                                  Visible                                    By Andy Newman                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/insider/
2023-05-07   2023-05-07 whats-the-meaning-of-buzz.html              Whats the Meaning of Buzz                  By Sarah Diamond                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/nyregio
2023-05-07   2023-05-07 n/ato-essandoh-the-diplomat.html            Listening to LPs Learning Trees Names      By Tammy La Gorce                    TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/07/style/gu
2023-05-07   2023-05-07 cci-amy-sacco-central-park-hat-lunch.html    Creativity Reigns Inside and Out              By Emma Grillo                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/07/style/ha                                                By Miya Lee and Brendan George
2023-05-07   2023-05-07 waii-merrie-monarch-festival-hula.html       Hula the Heartbeat of Hawaii Beats On         Ko                             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/07/us/sout
2023-05-07   2023-05-07 h-carolina-abortion-ban.html                 Sister Senators Unite to Block Abortion Ban   By Kate Zernike                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/us/title- At the Border Officials Brace for a New       By Miriam Jordan and Michael D
2023-05-07   2023-05-07 42-border-migrants.html                      Surge                                         Shear                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/world/a I See No Future Sherpas Abandon Jobs They       By Bhadra Sharma and Mujib
2023-05-07   2023-05-07 sia/sherpas-everest.html                     Made Famous                                   Mashal                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/world/
                        middleeast/israel-divisions-judicial-        A Valley Divided Ever Deeper Over Israels
2023-05-07   2023-05-07 overhaul.html                                Future                                        By Patrick Kingsley              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/28/busines
                        s/small-business-owners-champion-pizza-      Sharing Personal Stories Is a Risk That
2023-04-28   2023-05-08 rethink-ice-cream.html                       Sometimes Pays Off                            By Nina Roberts                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/busines
2023-05-01   2023-05-08 s/ai-chatbots-hallucination.html             When Chatbots Hallucinate                     By Karen Weise and Cade Metz     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/nyregio
                        n/you-need-100000-a-year-just-to-get-by-     You Can Make It There if You Make Six
2023-05-01   2023-05-08 here.html                                    Figures                                       By James Barron                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/technol If Some Dangers Posed by AI Are Already
2023-05-01   2023-05-08 ogy/ai-problems-danger-chatgpt.html          Here Then What Lies Ahead                     By Cade Metz                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/busines                                                 By Elizabeth Paton and Keith
2023-05-02   2023-05-08 s/china-luxury-spending.html                 Spending On Luxury Up in China                Bradsher                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/theater/
2023-05-02   2023-05-08 audra-mcdonald-tony-nomination.html          Still Finding True Joy Onstage                By Sarah Bahr                    TX 9-299-029   2023-07-03



                                                                                 Page 5198 of 5793
                        https://www.nytimes.com/2023/05/04/busines China Is Deleting Poverty One Video at a
2023-05-04   2023-05-08 s/china-censorship-poverty.html              Time                                       By Li Yuan                     TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/dan A Choreographer in Conversation With James
2023-05-05   2023-05-08 ce/review-liz-roche-yes-and-yes.html         Joyce                                      By Siobhan Burke               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/des Visions of Divine Madness From a Brazilian
2023-05-05   2023-05-08 ign/bispo-do-rosario-brazilian-artist.html   Artist                                     By Roberta Smith               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/tele
                        vision/yellowjackets-sophie-nelisse-episode-
2023-05-05   2023-05-08 6.html                                       Off the Screen A Pickier Eater             By Kalia Richardson            TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/tele
2023-05-05   2023-05-08 vision/yellowstone-final-season.html         Yellowstone Plans End And Sequel           By Marc Tracy                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/05/opinion The US Has a Legal Duty to Those Seeking
2023-05-05   2023-05-08 /title-42-immigration-usa.html               Refuge                                     By Alejandra Oliva             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/05/theater/ Melting Furniture and a Shark in the Living
2023-05-05   2023-05-08 dimanche-review.html                         Room                                       By Alexis Soloski              TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/06/arts/mu Menahem Pressler 99 Who Helped Found
2023-05-06   2023-05-08 sic/menahem-pressler-dead.html               Beaux Arts Trio Dies                       By Robert D McFadden           TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/06/busines
2023-05-06   2023-05-08 s/dealbook/bank-crisis-shadow-banks.html     Shadow Banks Step Into a Lending Vacuum By Lauren Hirsch                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/busines Newton N Minow FCC Chief Who
2023-05-06   2023-05-08 s/media/newton-n-minow-dead.html             Denounced Television Dies at 97            By Robert D McFadden             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/opinion
2023-05-06   2023-05-08 /house-of-lords-boris-johnson-britain.html   An Inconvenient Problem for His Majesty    By Christopher Caldwell          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/sports/e She Wants to Show Black Competitors They
2023-05-06   2023-05-08 rika-kemp-marathon-boston.html               Belong Too                                 By Matthew Futterman             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/us/back Michigan School District Bans Backpacks for
2023-05-06   2023-05-08 pack-ban-flint-schools.html                  Safety                                     By Lauren McCarthy               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/us/polit Backers Getting Restless As DeSantis Weighs
2023-05-07   2023-05-08 ics/ron-desantis-wisconsin.html              Run                                        By Nicholas Nehamas              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/arts/des
                        ign/vanished-murals-from-the-empire-state-
2023-05-07   2023-05-08 building-rediscovered.html                   Empire State Building Murals Resurface     By Eve M Kahn                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/arts/mu
                        sic/review-don-giovanni-mozart-met-
2023-05-07   2023-05-08 opera.html                                   Embracing Mozarts Supernatural Side        By Zachary Woolfe                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/arts/tele
2023-05-07   2023-05-08 vision/the-glory-netflix-south-korea.html    The Glory Inspires Investment              By Jin Yu Young and Matt Stevens TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/busines Ire Over Twitter Letting Images Spread
2023-05-07   2023-05-08 s/media/texas-shooting-video-twitter.html    Online                                     By Benjamin Mullin               TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/07/nyregio How 2 Mens Disparate Paths Led to a Killing By Michael Wilson and Andy
2023-05-07   2023-05-08 n/jordan-neely-daniel-penny-nyc-subway.html on the Subway                              Newman                          TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/07/nyregio Counties Snub Adams Plan To Put Migrants
2023-05-07   2023-05-08 n/rockland-migrants-shelter-nyc.html        in Suburbs                                 By Stefanos Chen                TX 9-299-029     2023-07-03



                                                                               Page 5199 of 5793
                                                                                                                 By Ben Protess Kate Christobek
                        https://www.nytimes.com/2023/05/07/nyregio Braggs Pursuit of Common Charge Keeps         Jonah E Bromwich William K
2023-05-07   2023-05-08 n/trump-indictment-bragg-strategy.html      Trump Lawyers Guessing                       Rashbaum and Sean Piccoli         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/obituari Don January 93 Winner of the 1967 PGA
2023-05-07   2023-05-08 es/don-january-dead.html                    Championship                                 By Richard Goldstein              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/obituari Vida Blue 73 Who Became Hottest Player in
2023-05-07   2023-05-08 es/vida-blue-dead.html                      Baseball as a Rookie With the As             By Alex Traub                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/opinion
2023-05-07   2023-05-08 /debt-limit.html                            Why I Changed My Mind on the Debt Limit By Laurence H Tribe                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/opinion Carlsons Malign Influence Over the Christian
2023-05-07   2023-05-08 /tucker-carlson-christian-right.html        Right                                        By David French                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/sports/a Its Verstappens Turn as Red Bull Team
2023-05-07   2023-05-08 utoracing/miami-grand-prix-results.html     Remains Unbeaten                             By Andrew Das and Josh Katz       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/sports/b
                        aseball/andrew-mccutchen-pittsburgh-        A Stars Second Act Helps The Pirates Flip
2023-05-07   2023-05-08 pirates.html                                the Script                                   By Tyler Kepner                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/sports/b
2023-05-07   2023-05-08 aseball/baseball-dodgers-reparations.html   The Echoes of Pain in Chavez Ravine          By Jesus Jimnez                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/sports/b
                        asketball/76ers-celtics-game-4-james-       With 76ers Losing Their Grasp Harden Seizes
2023-05-07   2023-05-08 harden.html                                 Control                                      By Scott Cacciola                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/sports/b Jamess Son Commits to USC in a First for His
2023-05-07   2023-05-08 asketball/bronny-lebron-james-usc.html      Family                                       By Adam Zagoria                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/sports/c After Homecoming Celebration lvarez Turns
2023-05-07   2023-05-08 anelo-alvarez.html                          His Thoughts to Retribution                  By Morgan Campbell                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/sports/f Star Tight End Adds Empowering Chapter To By Emmanuel Morgan and
2023-05-07   2023-05-08 ootball/darren-waller-giants-music.html     a Musical Legacy                             Gabriella AngottiJones            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/sports/h
                        orse-racing/kentucky-derby-churchill-downs- 7 Horses Dead Zero Responsibility Taken and
2023-05-07   2023-05-08 horse-deaths.html                           a Moment Tarnished                           By Joe Drape                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/us/car- Driver Plows Into Migrants Killing Seven      By Edgar Sandoval and Vernica G
2023-05-07   2023-05-08 pedestrians-brownsville-texas.html          And Hurting 10                               Crdenas                           TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/07/us/polit Bidens Approval Numbers Are Bleak New
2023-05-07   2023-05-08 ics/biden-approval-numbers-re-election.html Poll Shows                                   By Maggie Astor                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/us/polit
                        ics/child-labor-immigration-democrats-      Mired in Immigration Fight Congress Stalls   By Karoun Demirjian and Hannah
2023-05-07   2023-05-08 republicans-biden.html                      on Child Labor Debate                        Dreier                         TX 9-299-029      2023-07-03
                                                                                                                 By J David Goodman Adam
                        https://www.nytimes.com/2023/05/07/us/texa A New Massacre But Texas Shuns Gun            Goldman Edgar Sandoval and
2023-05-07   2023-05-08 s-allen-shooting-gun-control.html          Constraints                                   David Montgomery               TX 9-299-029      2023-07-03
                        https://www.nytimes.com/2023/05/07/world/a
2023-05-07   2023-05-08 sia/south-korea-japan-kishida-yoon.html    A New Era in JapanSouth Korea Relations       By Choe SangHun                   TX 9-299-029   2023-07-03




                                                                                 Page 5200 of 5793
                        https://www.nytimes.com/2023/05/07/world/a South Korea and Japan Evade Fraught History By Choe SangHun and Motoko
2023-05-07   2023-05-08 sia/south-korea-japan-summit-apology.html To Develop Deeper Ties                       Rich                               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/07/world/c Did Beijing Help Mayor of Vancouver Win
2023-05-07   2023-05-08 anada/ken-sim-vancouver-china.html         His Election                                By Dan Bilefsky                    TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/07/world/e Lavish Trappings Outstrip The Modern
2023-05-07   2023-05-08 urope/coronation-charles-modern-old.html   Flourishes                                  By Sarah Lyall                     TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/07/world/e A Coronation and an Election Leave a
2023-05-07   2023-05-08 urope/king-charles-coronation-uk.html      Restless UK in a Waiting Room               By Mark Landler                    TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/07/world/e Dutch Police Arrest 154 Soccer Fans Singing
2023-05-07   2023-05-08 urope/netherlands-ajax-antisemitism.html   Antisemitic Songs and Chants Before a Match By Claire Moses                    TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/07/world/e Wagner Chief Appears To Drop Pullout        By Neil MacFarquhar Matthew
2023-05-07   2023-05-08 urope/russia-ukraine-crimea.html           Threat                                      Mpoke Bigg and Andrs R Martnez     TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/07/world/e                                             By Jeffrey Gettleman and Finbarr
2023-05-07   2023-05-08 urope/ukraine-frontline-russia-war.html    The Resolved And Resilient Return Home      OReilly                            TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/07/world/ Arab League Votes to Readmit Syria Ending
2023-05-07   2023-05-08 middleeast/arab-league-syria.html          Nearly 12Year Suspension                    By Vivian Yee                      TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/07/your-
2023-05-07   2023-05-08 money/mortgage-fees-credit-score-rules.html Clearing Up Confusion Over Fees               By Tara Siegel Bernard           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/article/texas-mall-
2023-05-07   2023-05-08 shooting-allen.html                            How Tragedy At Mall In Texas Unfolded      By The New York Times            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/arts/tele
                        vision/sam-now-jeopardy-masters-what-to-
2023-05-08   2023-05-08 watch.html                                     This Week on TV                            By Kristen Bayrakdarian          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/busines Lengthy Strike Looks Likely for Hollywood
2023-05-08   2023-05-08 s/media/writers-strike-hollywood.html          Writers                                    By Brooks Barnes and John Koblin TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/nyregio
                        n/stewart-hotel-long-term-resident-            Old Hotel Sees Migrant Boom While Resident By Dan Barry and Photographs By
2023-05-08   2023-05-08 eviction.html                                  Faces Eviction                             Kirsten Luce                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/world/a Fatal Hospital Fire Puts Spotlight on Chinas
2023-05-08   2023-05-08 sia/china-hospital-fire-elderly.html           Shortage of Elder Care                     By Vivian Wang and Joy Dong      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/live/2023/05/08/wo
                        rld/russia-ukraine-bakhmut-wagner-news/the-
                        dnipro-river-vital-to-ukraine-now-serves-as-a-
2023-05-08   2023-05-08 front-line-in-the-war                          The Dnipro River an Axis of Life and Death By Marc Santora and Nicole Tung TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/04/25/well/liv
2023-04-25   2023-05-09 e/melatonin-gummies-mislabeled-sleep.html Melatonin Products Are Often Mislabeled      By Dani Blum                       TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/26/movies/
2023-04-26   2023-05-09 nicolas-cage-renfield-performance.html      He Sinks Teeth Into Every Role             By Erik Piepenburg                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/27/busines
                        s/economy/office-buildings-banks-           Owners Of Offices Scramble For Loans To    By Matthew Goldstein Julie
2023-04-27   2023-05-09 economy.html                                Hang On                                    Creswell and Peter Eavis           TX 9-299-029    2023-07-03



                                                                                Page 5201 of 5793
                                                                   Orbital Surprise Dwarf Planet Had One
                        https://www.nytimes.com/2023/04/27/science Impossible Ring Then Astronomers Found
2023-04-27   2023-05-09 /quaoar-rings-kuiper-belt.html             Another                                        By Kenneth Chang             TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/04/28/well/liv
2023-04-28   2023-05-09 e/menopause-symptoms-work-women.html Menopauses High Cost for Working Women               By Alisha Haridasani Gupta   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/28/well/m
2023-04-28   2023-05-09 ove/weekend-only-workout.html               A WeekendOnly Exercise Plan                   By Danielle Friedman         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/science If Dark Energy Brings About the End What
2023-05-02   2023-05-09 /end-of-universe.html                       Then                                          By Dennis Overbye            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/theater/ For Micaela Diamond a Mix of Hope and
2023-05-02   2023-05-09 micaela-diamond-tony-nomination.html        Relief                                        By Matt Stevens              TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/02/well/mi
2023-05-02   2023-05-09 nd/loneliness-isolation-surgeon-general.html Steps to Address the Loneliness Health Crisis By Christina Caron          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/health/l
2023-05-04   2023-05-09 ong-telomeres-age-longevity.html             Link to a Long Life Is Only a Tall Tale       By Gina Kolata              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/science
2023-05-04   2023-05-09 /anhinga-brooklyn-devil-bird.html            The Devil Bird Lands in New York              By James Crugnale           TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/04/us/lanc Cannibalistic Fish Living Near the Ocean
2023-05-04   2023-05-09 etfish-oregon-beaches.html                  Floor But Now Popping Up on the West Coast By Lauren McCarthy              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/science
2023-05-05   2023-05-09 /termite-kings.html                         All Hail the King of the Termites             By Elizabeth Preston         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/theater/
                        nataki-garrett-oregon-shakespeare-          Oregon Shakespeare Festival Artistic Director
2023-05-05   2023-05-09 festival.html                               to Step Down                                  By Michael Paulson           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/well/eat What Happens to My Body When I Eat Spicy
2023-05-05   2023-05-09 /spicy-food-body-health.html                Food                                          By Trisha Pasricha           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/us/otc-
2023-05-06   2023-05-09 hearing-aids-young-users.html               Refashioning Hearing Aids                     By Neelam Bohra              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/theater/ Adam Brace 43 Who Helped Comics
2023-05-07   2023-05-09 adam-brace-dead.html                        Transform StandUp Into Stage Shows            By Richard Sandomir          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/arts/bui
2023-05-08   2023-05-09 lding-a-better-colonial-williamsburg.html   Telling Early Americas Whole Story            By Jennifer Schuessler       TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/08/arts/dan
2023-05-08   2023-05-09 ce/review-juliana-may-family-happiness.html Calm Traumas and Choral Dream Songs           By Brian Seibert             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/arts/des
                        ign/moma-ps1-new-director-connie-
2023-05-08   2023-05-09 butler.html                                 MoMA PS1 Chooses New Director                 By Robin Pogrebin            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/arts/mu
2023-05-08   2023-05-09 sic/ed-sheeran-subtract-review.html         He Took Sorrow And Made a Song                By Jon Pareles               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/arts/mu Grace Bumbry 86 Whose Voice Soared Past
2023-05-08   2023-05-09 sic/grace-bumbry-dead.html                  Operas Barriers Dies                          By Alex Williams             TX 9-299-029   2023-07-03



                                                                                  Page 5202 of 5793
                        https://www.nytimes.com/2023/05/08/arts/mu
2023-05-08   2023-05-09 sic/long-play-festival-bang-on-a-can.html     Festival Follows an Inspired Path to the Top By Seth Colter Walls              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/busines
                        s/economy/the-fed-commercial-real-
2023-05-08   2023-05-09 estate.html                                   Fed Wary Over Commercial Real Estate         By Jeanna Smialek                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/busines
                        s/energy-environment/norway-electric-         Norway Blazes Trail to an Electric Vehicle
2023-05-08   2023-05-09 vehicles.html                                 Future                                       By Jack Ewing                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/busines
2023-05-08   2023-05-09 s/fdic-bank-regulators-svb.html               A Brain Drain Is Hurting the FDIC            By Alan Rappeport                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/busines
                        s/media/archibald-ramsey-john-pulitzer-prize-
2023-05-08   2023-05-09 alabama.html                                  Prize Shared By a Father And a Son           By Benjamin Mullin                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/busines AP and The Times Earn Pulitzers for Ukraine
2023-05-08   2023-05-09 s/media/pulitzer-prize-2023.html              War Coverage                                 By Katie Robertson                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/busines 2023 Pulitzer Prizes A Full List of Winners
2023-05-08   2023-05-09 s/pulitzer-prize-winners.html                 and Finalists                                By The New York Times             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/climate Study Finds Cost to Plug Wells In Gulf of
2023-05-08   2023-05-09 /gulf-of-mexico-oil-wells-plug.html           Mexico Is 30 Billion                         By Hiroko Tabuchi                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/health/
2023-05-08   2023-05-09 primary-care-doctors-consolidation.html       Insurers Add Primary Care To Portfolios      By Reed Abelson                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/health/ Wait and Watch Urged In More Prostate
2023-05-08   2023-05-09 prostate-cancer-screening.html                Cases                                        By Paula Span                     TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/08/nyregio New Jersey Political Boss to Step Aside After
2023-05-08   2023-05-09 n/george-norcross-iii-new-jersey-politics.html Decades of Power                           By Tracey Tully                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/nyregio New York Scrambles To Find Enough Space
2023-05-08   2023-05-09 n/migrants-shelter-flatiron-nyc.html           To House Migrants                          By Dana Rubinstein                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/nyregio Small Shops Face Gloom With Rents On the
2023-05-08   2023-05-09 n/small-businesses-rent-hikes-nyc.html         Rise                                       By Stefanos Chen                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/nyregio
                        n/trump-carroll-rape-trial-jury-               Jury to Weigh Rape Allegations After Trump By Benjamin Weiser Lola Fadulu
2023-05-08   2023-05-09 deliberations.html                             Refused to Testify                         Kate Christobek and Karen Zraick   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/opinion Are Republicans Serious About Averting a
2023-05-08   2023-05-09 /biden-republicans-debt-ceiling.html           Debt Crisis                                By The Editorial Board             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/opinion
2023-05-08   2023-05-09 /deficit-republicans-debt-limit.html           The Cowardice of the Deficit Scolds        By Paul Krugman                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/opinion
2023-05-08   2023-05-09 /international-world/putin-russia.html         The Everyday Repression of Putins Rule     By Serge Schmemann                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/opinion
2023-05-08   2023-05-09 /timothy-mcveigh-mass-shootings.html           Timothy McVeighs Dreams Are Coming True By Michelle Goldberg                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/08/science Dark Lord of Literature Tolkiens Sauron Has
2023-05-08   2023-05-09 /sauron-butterfly-species.html             Genus of Butterflies Named in His Honor     By Chris Stanford                     TX 9-299-029   2023-07-03




                                                                                 Page 5203 of 5793
                        https://www.nytimes.com/2023/05/08/sports/b
2023-05-08   2023-05-09 aseball/vida-blue-oakland-athletics.html    When Vida Was the Word That Said Wow         By Tyler Kepner                     TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/08/sports/b Because of Him Signs of Lakers Resurgence
2023-05-08   2023-05-09 asketball/nba-los-angeles-lakers-playoffs.html Were Always There                         By Tania Ganguli                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/sports/s
                        occer/milan-inter-champions-league-
2023-05-08   2023-05-09 semifinal.html                                 A Return to Glory Isnt Like Old Times     By Rory Smith                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/sports/ The Fur Flies And Shines And Curls And
2023-05-08   2023-05-09 westminster-dog-show-photos.html               Dazzles                                   By Calla Kessler and Desiree Rios TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/08/theater/
                        ars-nova-jenny-steingart-jon-steingart-
2023-05-08   2023-05-09 anniversary.html                               Born of Grief A Theater Endures           By Robin Pogrebin                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/us/bro Driver Who Fatally Struck Migrants Is
2023-05-08   2023-05-09 wnsville-migrant-crash-george-alvarez.html Charged                                       By Edgar Sandoval                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/us/phoe Phoenix Will Start Clearing Encampment
2023-05-08   2023-05-09 nix-homeless-encampment-the-zone.html          That Has Become a National Flashpoint     By Jill Cowan                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/us/polit Biden Casts Himself as the Trump Beater
2023-05-08   2023-05-09 ics/biden-2024-polls.html                      Polls Suggest Thats No Sure Thing         By Peter Baker                      TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/08/us/polit In Debt Limit Talks Biden and Republicans
2023-05-08   2023-05-09 ics/biden-mccarthy-debt-limit-meeting.html Start Far Apart                                By Jim Tankersley                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/us/polit
2023-05-08   2023-05-09 ics/biden-trump-immigration-title-42.html     Immigration Places Biden On Tightrope       By Michael D Shear                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/us/polit
                        ics/flight-delays-cancellations-compensation- Biden Seeks Compensation For Disruptions to
2023-05-08   2023-05-09 biden.html                                    Flights                                     By Mark Walker                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/us/polit End of PandemicEra Health Order Has
2023-05-08   2023-05-09 ics/title-42-immigration-border.html          Implications for Americas Southern Border By Eileen Sullivan                   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/08/us/polit RightWing Push For Voting Limits Avoids       By Nick Corasaniti and Alexandra
2023-05-08   2023-05-09 ics/voting-laws-restrictions-republicans.html Spotlight                                   Berzon                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/us/rona Ronald Steel Prolific Critic of US Strategy in
2023-05-08   2023-05-09 ld-steel-dead.html                            Cold War Dies at 92                         By Robert D McFadden               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/us/texa Lawmakers Advance Bill Raising Age to
2023-05-08   2023-05-09 s-legislature-gun-control.html                Purchase Rifle                              By J David Goodman                 TX 9-299-029   2023-07-03
                                                                                                                  By Alan Feuer Adam Goldman
                        https://www.nytimes.com/2023/05/08/us/texa                                                Neelam Bohra and Livia
2023-05-08   2023-05-09 s-mall-shooting-mauricio-garcia.html          After Texas Shooting Searching for a Motive AlbeckRipka                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/world/a Catastrophic Congo Flooding Kills More
2023-05-08   2023-05-09 frica/congo-flooding.html                     Than 400 People                             By Emma Bubola                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/world/a Chinese Diplomat Urges US to Reflect Deeply
2023-05-08   2023-05-09 sia/china-us-meeting.html                     to Get Bond Back on Track                   By David Pierson                   TX 9-299-029   2023-07-03




                                                                                 Page 5204 of 5793
                        https://www.nytimes.com/2023/05/08/world/a At Least 22 People Are Dead After Boat
2023-05-08   2023-05-09 sia/india-kerala-boat-capsized-accident.html Capsizes in India                         By Sameer Yasir                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/08/world/c Fires Have Burned Nearly 1 Million Acres In
2023-05-08   2023-05-09 anada/canada-alberta-wildfires.html          Western Canada Forcing Evacuations        By Remy Tumin                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/08/world/e Chinas Investment in Europe Runs on
2023-05-08   2023-05-09 urope/battery-factories-china-evs.html       Batteries                                 By Melissa Eddy                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/08/world/e
                        urope/george-berkeley-trinity-college-       Dublin Library Removes Name Of an
2023-05-08   2023-05-09 dublin.html                                  Enslaver                                  By Ed OLoughlin                 TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/08/world/e Fearing Attacks and Perhaps Unrest Russia
2023-05-08   2023-05-09 urope/russia-victory-day-celebrations.html   Scales Back Victory Day Events              By Neil MacFarquhar            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/world/e Ukraines Attack Drones Homemade Cheap
2023-05-08   2023-05-09 urope/ukraine-russia-attack-drones.html      and Lethal                                  By Andrew E Kramer             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/world/e
                        urope/zaporizhzhia-ukraine-russia-           Chaos as Evacuation Of Civilians Is Ordered By Marc Santora and Anna
2023-05-08   2023-05-09 evacuations.html                             In Southern Ukraine                         Lukinova                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/ What Would the GOP Plan Actually Do to the By Margot SangerKatz and Alicia
2023-05-08   2023-05-09 08/upshot/federal-budget-republicans.html    Budget                                      Parlapiano                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/
2023-05-08   2023-05-09 08/us/debt-limit-congress-yellen.html        We Hit the Debt Limit What Happens Now By Jeanna Smialek and Ashley Wu TX 9-299-029       2023-07-03
                        https://www.nytimes.com/2023/05/08/us/texa Wounded Boy 6 Lost Parents and Brother In By Ruth Graham Jesus Jimnez and
2023-05-09   2023-05-09 s-mall-shooting-victims.html                 Massacre at Outlets                         Mary Beth Gahan                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/busines Manga Fans Can Get Fix On Same Day As in
2023-05-09   2023-05-09 s/viz-media-manga.html                       Japan                                       By George Gene Gustines        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/science                                               By Emiliano Rodrguez Mega and
2023-05-09   2023-05-09 /mexico-horses-vetirinary-care.html          A Rural Lifeline                            Victor J Blue                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/09/sports/s Striker Will Never Know He Wasnt Best in
2023-05-09   2023-05-09 triker-samoyed-westminster-dog-show.html Show                                           By Sarah Lyall                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/movies/
2023-05-02   2023-05-10 beau-is-afraid-mariah-carey.html            When Indie Movies Feature Excellent Music   By Leah Greenblatt             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/03/dining/
2023-05-03   2023-05-10 vegetarian-spring-lasagna-recipe.html       Turn Your Pasta Primavera Into a Lasagna    By Melissa Clark               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/dining/
2023-05-04   2023-05-10 drinks/best-boxed-wines.html                Thinking Inside the Box for Quality Wines   By Eric Asimov                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/arts/joh John Olsen 95 Who Used Explosions Of
2023-05-05   2023-05-10 n-olsen-dead.html                           Color to Transform Australian Art           By Yan Zhuang                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/dining/
2023-05-05   2023-05-10 saltfish-recipe-trinidadian-women.html      A Family United by a Trinidadian Recipe     By Brigid Ransome Washington   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/05/dining/
2023-05-05   2023-05-10 waffle-recipes-easy-breakfast-ideas.html    Behold the Simple Pleasure of Waffles       By Yewande Komolafe            TX 9-299-029    2023-07-03




                                                                               Page 5205 of 5793
                        https://www.nytimes.com/2023/05/06/books/s
                        cholastic-book-racism-maggie-tokuda-                                                       By Alexandra Alter and Elizabeth
2023-05-06   2023-05-10 hall.html                                    Delete Race Remarks An Author Says No         A Harris                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/upshot/ Black Womens Stories of Mistreatment            By Claire Cain Miller and Sarah
2023-05-06   2023-05-10 black-births-maternal-mortality.html         During Childbirth                             Kliff                              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/world/e Judith Miller Invaluable Member of Antiques
2023-05-06   2023-05-10 urope/judith-miller-dead.html                Roadshow Dies at 71                           By Penelope Green                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/arts/des
                        ign/king-charles-coronation-portrait-hugo-
2023-05-08   2023-05-10 burnand.html                                 For Photographers a Crowning Feat             By Alex Marshall                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/arts/mu
                        sic/rhiannon-giddens-michael-abels-pulitzer- A Love Letter to America Earns a Pulitzer for
2023-05-08   2023-05-10 prize-for-music-omar.html                    Music                                         By Joshua Barone                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/dining/                                                 By Brett Anderson and Adam
2023-05-08   2023-05-10 arizona-drought-garden-produce.html          Feeding a Region As Water Runs Out            Riding                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/opinion
2023-05-08   2023-05-10 /succession-shiv-tom.html                    On Succession Marriage Reveals Its Sting      By Pamela Paul                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/busines Chinas Raids of Foreign Firms Have Roots in By David Pierson and Daisuke
2023-05-09   2023-05-10 s/capvision-china-espionage-law.html         National Security                             Wakabayashi                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/technol BankmanFried Fighting Fraud Charges             By David YaffeBellany and
2023-05-09   2023-05-10 ogy/sam-bankman-fried-defense.html           Blames FTXs Law Firm                          Matthew Goldstein                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/us/polit Scott Passes On Chance To Criticize Bidens
2023-05-09   2023-05-10 ics/tim-scott-2024-biden.html                Age                                           By Maya King                       TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/08/world/c Retaliation After Canada Expels Envoy        By Yonette Joseph and Vivek
2023-05-09   2023-05-10 anada/china-diplomat-expelled-canada.html From China                                    Shankar                               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/world/
                        middleeast/israel-airstrikes-islamic-jihad- Israeli Airstrikes Kill at Least 13 in Gaza By Isabel Kershner and Raja
2023-05-09   2023-05-10 gaza.html                                   Palestinians Say                            Abdulrahim                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/arts/des
                        ign/getty-pacific-standard-time-art-        The Getty Funds a 17 Million Artistic
2023-05-09   2023-05-10 exhibitions.html                            Collaboration                               By Jori Finkel                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/arts/me The Met Makes a Plan to Review Its Vast      By Robin Pogrebin and Graham
2023-05-09   2023-05-10 t-museum-looted-art.html                    Collections for Looted Art                  Bowley                                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/arts/mu
2023-05-09   2023-05-10 sic/standing-on-the-corner.html             A Collective That Wont Be Pinned Down       By Mike Rubin                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/arts/mu
                        sic/yunchan-lim-new-york-philharmonic-
2023-05-09   2023-05-10 rachmaninoff.html                           Impressing Everyone but Himself             By Javier C Hernndez                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/busines
2023-05-09   2023-05-10 s/boeing-ryanair-737-max.html               Ryanair Orders 150 Big Planes From Boeing By Niraj Chokshi                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/busines Anchor Leaving CNBC After Accusing Chief
2023-05-09   2023-05-10 s/cnbc-hadley-gamble.html                   of Harassment                               By Benjamin Mullin                    TX 9-299-029   2023-07-03




                                                                                  Page 5206 of 5793
                        https://www.nytimes.com/2023/05/09/busines
                        s/dealbook/goldman-sachs-discrimination-   Goldman to Pay 215 Million to Settle Gender
2023-05-09   2023-05-10 lawsuit.html                               Suit                                        By Michael J de la Merced        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/busines Wall Street Seems Unfazed As XDate on
2023-05-09   2023-05-10 s/markets-investors-debt-ceiling.html      Debt Looms                                  By Joe Rennison                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/busines
                        s/media/fox-earnings-dominion-tucker-
2023-05-09   2023-05-10 carlson.html                               Dominion Settlement Pushes Fox to Net Loss By Michael M Grynbaum             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/busines Carlson Announces Plan For a Program on By Jeremy W Peters Benjamin
2023-05-09   2023-05-10 s/media/tucker-carlson-twitter-show.html   Twitter                                     Mullin and Ryan Mac              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/busines US Loses Key Patent Case on Rights to
2023-05-09   2023-05-10 s/prep-hiv-aids-gilead.html                HIVPrevention Drugs                         By Rebecca Robbins               TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/09/busines Falling Oil Prices Cause Saudi Aramco Profit
2023-05-09   2023-05-10 s/saudi-aramco-q1-earnings.html            To Slip 19 in First Quarter to 319 Billion   By Stanley Reed                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/climate Ecuador Strikes DebtforNature Deal to
2023-05-09   2023-05-10 /galapagos-ecuador-debt-nature.html        Protect the Galpagos                         By Catrin Einhorn               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/dining/ To Find the Citys Best Pizzas Look for the
2023-05-09   2023-05-10 pizza-pop-ups-nyc.html                     PopUps                                       By Pete Wells                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/health/ Mammograms Are Now Urged Beginning at
2023-05-09   2023-05-10 breast-cancer-mammograms.html              40                                           By Roni Caryn Rabin             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/health/
2023-05-09   2023-05-10 mammograms-frequency-women.html            What to Know About the New Advice            By Roni Caryn Rabin             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/health/ FDA Is Considering OvertheCounter Sales Of
2023-05-09   2023-05-10 otc-birth-control-pill.html                a Birth Control Pill                         By Pam Belluck                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/nyregio                                              By Michael Gold William K
2023-05-09   2023-05-10 n/george-santos-federal-charges.html       Santos Expected To Face Charges              Rashbaum and Grace Ashford      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/nyregio
                        n/jordan-neely-anthony-mcgaff-chokehold- Fatal Chokehold on Subway Resembles 2022 By Maria Cramer and Nicholas
2023-05-09   2023-05-10 death.html                                 Case but With No Arrest                      BogelBurroughs                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/nyregio Jurors Considered 3 Types of Battery Rape
2023-05-09   2023-05-10 n/jury-trump-carroll-verdict-options.html  Abuse and Forcible Touching                  By Lola Fadulu                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/nyregio
                        n/project-veritas-settlement-employees-    Project Veritas Settles 2 Suits Over Its
2023-05-09   2023-05-10 workplace.html                             Treatment of Its Staff                       By Colin Moynihan               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/nyregio New York City Is Overhauling How Schools
2023-05-09   2023-05-10 n/reading-nyc-schools.html                 Teach Reading                                By Troy Closson                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/nyregio
                        n/trump-carroll-trial-sexual-abuse-        Jury FInds Trump Sexually Abused Carroll in By Benjamin Weiser Lola Fadulu
2023-05-09   2023-05-10 defamation.html                            1990s                                        and Kate Christobek             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/opinion There Are Good Reasons for Biden to Ignore
2023-05-09   2023-05-10 /biden-mccarthy-debt-ceiling.html          the Debt Ceiling                             By Robert Hockett               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/opinion
2023-05-09   2023-05-10 /putin-ukraine-war.html                    Putin Is the Worlds Most Dangerous Fool      By Thomas L Friedman            TX 9-299-029   2023-07-03




                                                                               Page 5207 of 5793
                        https://www.nytimes.com/2023/05/09/sports/b
                        aseball/chris-rowley-mlb-union-law-          A Former Cadet Enlists in a Fight To Reform
2023-05-09   2023-05-10 school.html                                  the Minor Leagues                           By Scott Miller                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/09/sports/b
                        asketball/golden-state-warriors-los-angeles-
2023-05-09   2023-05-10 lakers-playoffs.html                         The Core Looks Old And Help Is Scarce       By Sopan Deb                     TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/09/sports/f Joe Kapp Dies at 85 Tenacious Passer Led
2023-05-09   2023-05-10 ootball/joe-kapp-dead.html                   Vikings to Super Bowl                       By Richard Goldstein             TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/09/sports/h Forte Once the Favorite in the Derby Failed a
2023-05-09   2023-05-10 orse-racing/forte-kentucky-derby-doping.html Drug Test in September                       By Joe Drape                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/09/sports/s
                        occer/manchester-city-real-madrid-champions-
2023-05-09   2023-05-10 league-semifinal.html                        Getting Physical in the Semifinal            By Rory Smith                   TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/09/technol When Apple Weather Fails There Are Several
2023-05-09   2023-05-10 ogy/apple-weather-app-outage.html            Alternatives                                 By Jesus Jimnez                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/09/technol In Tech Cold War Rural Telecoms Struggle to
2023-05-09   2023-05-10 ogy/cellular-china-us-zte-huawei.html        Purge Chinese Gear                           By Cecilia Kang                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/09/theater/
                        playwrights-horizons-season-michael-r-
2023-05-09   2023-05-10 jackson.html                                 Playwrights Horizons Plans an Eclectic Mix By Rachel Sherman                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/09/theater/
                        review-racism-echoes-through-time-in-the-
2023-05-09   2023-05-10 ripple.html                                  Ugly Echoes Across Time                      By Laura CollinsHughes          TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/09/travel/a
                        irline-compensation-flight-delays-           New Plan Would Compensate Travelers for By Ainara Tiefenthler and Ceylan
2023-05-09   2023-05-10 cancellations.html                           Delayed Flights                              Yeginsu                         TX 9-299-029     2023-07-03
                                                                     Florida Rejects Dozens of Social Studies
                        https://www.nytimes.com/2023/05/09/us/desa Textbooks and Forces Revisions in Several      By Sarah Mervosh and Dana
2023-05-09   2023-05-10 ntis-florida-social-studies-textbooks.html   Others                                       Goldstein                       TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/09/us/may- May Day Protests in Puerto Rico Reflect
2023-05-09   2023-05-10 day-puerto-rico-protest.html                 Economy in Decline                           By Laura N Prez Snchez          TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/09/us/polit Biden and McCarthy Talk Debt Getting          By Peter Baker Jim Tankersley and
2023-05-09   2023-05-10 ics/biden-mccarthy-debt-limit-meeting.html Nowhere                                        Catie Edmondson                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/us/polit
                        ics/clarence-thomas-harlan-crow-senate-     Senate Democrats Seek List of Gifts to
2023-05-09   2023-05-10 democrats.html                              Justices                                      By Carl Hulse                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/us/polit
2023-05-09   2023-05-10 ics/fbi-russia-malware.html                 Spying Tool Of Russians Dismantled US Says By Charlie Savage                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/us/polit Feinstein Returns to the Senate Restoring the
2023-05-09   2023-05-10 ics/feinstein-returns-senate.html           Democrats Majority                            By Annie Karni                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/us/polit Cheney Goes Back on Attack With
2023-05-09   2023-05-10 ics/liz-cheney-trump-ad.html                AntiTrump Ad on TV                            By Jonathan Weisman               TX 9-299-029   2023-07-03




                                                                                Page 5208 of 5793
                        https://www.nytimes.com/2023/05/09/us/polit For a Spy Chief Wide Influence Wielded
2023-05-09   2023-05-10 ics/william-burns-cia-biden.html            Subtly                                       By Robert Draper                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/us/texa Texas Prepares Its Response to an Expected
2023-05-09   2023-05-10 s-border-enforcement-abbott.html            Migrant Surge at the Border                  By J David Goodman               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/world/a Mainlanders Are Back in Town So Are Old
2023-05-09   2023-05-10 sia/hong-kong-china-tourists.html           Tensions                                     By David Pierson and Olivia Wang TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/world/a Pakistans Ousted Leader Is Arrested on        By Christina Goldbaum and Salman
2023-05-09   2023-05-10 sia/imran-khan-arrest-pakistan.html         Corruption Charges                           Masood                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/world/a LinkedIn Opts To Pare Down China Presence
2023-05-09   2023-05-10 sia/linkedin-layoffs-china-microsoft.html   Amid Adversity                               By Chang Che                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/world/c Leaving Behind All They Own as Wildfires By Ian Austen Amber Bracken and
2023-05-09   2023-05-10 anada/wildfires-alberta-evacuation.html     Ravage Canada                                Vjosa Isai                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/world/e Chinas Diplomatic Tour of Europe Is           By Steven Erlanger and Erika
2023-05-09   2023-05-10 urope/china-eu-russia-ukraine-war.html      Disrupted by Beijings Ties to Moscow         Solomon                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/world/e In Turkey Many Voters Insist Erdogan Is the
2023-05-09   2023-05-10 urope/turkey-election-erdogan.html          Only Choice                                  By Ben Hubbard and Safak Timur TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/09/world/e UK Police Regret Some Coronation Arrests By Megan Specia and Emma
2023-05-09   2023-05-10 urope/uk-police-coronation-arrests.html     Made With Broad Protest Law                  Bubola                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/world/ Armed Group At the Center Of a FlareUp In
2023-05-09   2023-05-10 middleeast/islamic-jihad-israel-gaza.html   Violence                                     By Raja Abdulrahim               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/article/imran-khan-                                              By Christina Goldbaum and
2023-05-09   2023-05-10 pakistan.html                               How Cricket Star Rose To Challenge Military Matthew Mpoke Bigg                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/busines CNN Town Hall Featuring Trump Reignites a
2023-05-10   2023-05-10 s/cnn-trump-town-hall.html                  Debate                                       By Michael M Grynbaum            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/insider/
2023-05-10   2023-05-10 wga-writers-strike-explained.html           Hollywoods Latest Cliffhanger Explained      By Josh Ocampo                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/opinion
2023-05-10   2023-05-10 /trump-campaign-cnn-townhall.html           The MAGA King Back in Prime Time             By Michelle Cottle               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/style/ke Royals or Races Celebratory Spirit Comes Out
2023-05-07   2023-05-11 ntucky-derby-hat-coronation.html            on Top                                       By The Styles Desk               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/science Stanley Deser Who Created the Theory of
2023-05-08   2023-05-11 /stanley-deser-dead.html                    Supergravity Dies at 92                      By Kenneth Chang                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/style/an
                        nabel-sabina-meschke-pennies-from-
2023-05-08   2023-05-11 heaven.html                                 These Sisters Finish Each Others Punchlines By Anna Grace Lee                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/style/w
2023-05-08   2023-05-11 omen-dating-apps-summer-off.html            Giving Dating Apps the Summer Off            By Gina Cherelus                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/arts/mu
                        sic/matthias-pintscher-kansas-city-
2023-05-09   2023-05-11 symphony.html                               Pintscher to Direct Kansas City Symphony     By Javier C Hernndez             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/arts/mu
                        sic/michelle-wu-mayor-boston-               Bostons Mayor Trades City Hall for the
2023-05-09   2023-05-11 symphony.html                               Concert Hall                                 By David Allen                   TX 9-299-029   2023-07-03




                                                                               Page 5209 of 5793
                        https://www.nytimes.com/2023/05/09/arts/mu Morgan Wallen Postpones 14 Shows After
2023-05-09   2023-05-11 sic/morgan-wallen-postpones-concerts.html Vocal Cord Injury                               By Ben Sisario                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/busines
2023-05-09   2023-05-11 s/adaptive-reuse-schools-real-estate.html   Why Your Campus Has a Smokestack              By Patrick Sisson               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/nyregio John Roland 81 News Legend at Fox 5 New
2023-05-09   2023-05-11 n/john-roland-dead.html                     York                                          By Sam Roberts                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/style/e- E Jean Carroll Clothes and Credibility on the
2023-05-09   2023-05-11 jean-carroll-courtroom-style.html           Stand                                         By Vanessa Friedman             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/style/m Pet Project Answers the Call for Mall Anchor
2023-05-09   2023-05-11 all-rats-animal-shelters.html               Stores                                        By Claudia Rosenbaum            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/theater/ This Signals to Iranians That Our Stories
2023-05-09   2023-05-11 sanaz-toossi-pulitzer-prize-english.html    Matter                                        By Michael Paulson              TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/09/world/e
2023-05-09   2023-05-11 urope/arman-soldin-afp-killed-bakhmut.html Rocket Kills French Journalist Near Bakhmut By Anushka Patil                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/sports/ Good Dogs All But Only One Can Be the       By Andrew Das Sarah Lyall and
2023-05-10   2023-05-11 westminster-best-in-show-buddy-holly.html Best                                         Kris Rhim                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/arts/dan
                        ce/review-nrityagram-chitrasena-joyce-
2023-05-10   2023-05-11 theater.html                                 SCurves Asymmetries and Invocations       By Brian Seibert                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/arts/des As a Nike Deal Slips Away An Artist Airs
2023-05-10   2023-05-11 ign/tom-sachs-nike-workplace.html            His Regrets                               By Zachary Small                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/arts/mu
2023-05-10   2023-05-11 sic/graham-nash-now.html                     A Few More Songs Before He Goes           By Grayson Haver Currin            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/arts/mu
                        sic/helsinki-philharmonic-carnegie-hall-
2023-05-10   2023-05-11 review.html                                  At Carnegie Another Night for the Finnish By Joshua Barone                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/arts/mu
2023-05-10   2023-05-11 sic/rita-lee-dead.html                       Rita Lee 75 Brazils Queen of Rock         By Alex Williams                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/arts/tele
2023-05-10   2023-05-11 vision/a-spy-among-friends.html              International Flair In Every Corner       By Mike Hale                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/arts/tele
                        vision/writers-strike-artificial-
2023-05-10   2023-05-11 intelligence.html                            For Vast TV Menus Machines Rule           By James Poniewozik                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/busines Offering Clues About How the Government
2023-05-10   2023-05-11 s/biden-debt-ceiling.html                    Might Avoid Default                       By Jim Tankersley                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/10/busines After ShortSellers Report Icahns Firm Faces   By Maureen Farrell and Matthew
2023-05-10   2023-05-11 s/carl-icahn-hindenburg-research-inquiry.html Inquiry                                    Goldstein                        TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/10/busines
2023-05-10   2023-05-11 s/economy/cpi-inflation-april-economy.html Inflation Slows But Data Hints Its Still Sticky By Jeanna Smialek              TX 9-299-029   2023-07-03




                                                                                 Page 5210 of 5793
                        https://www.nytimes.com/2023/05/10/busines
                        s/media/defamation-suit-fox-nina-          New Lawsuit Signals Continued Legal Threat By Jim Rutenberg and Steven Lee
2023-05-10   2023-05-11 jankowicz.html                             to Fox                                     Myers                              TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/10/busines Disney Cuts Streaming Loss As Revenue
2023-05-10   2023-05-11 s/media/walt-disney-company-earnings.html From TV Tanks                                By Brooks Barnes                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/busines The Times Adds 190000 Digital Subscribers
2023-05-10   2023-05-11 s/new-york-times-1q-2023-earnings.html      Amid a Slump in Advertising                By Benjamin Mullin                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/climate In Climate TradeOff Biden Backs Manchins
2023-05-10   2023-05-11 /biden-manchin-fossil-fuel-permits.html     Fossil Fuel Permitting Plan                By Lisa Friedman                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/fashion 15 Fashion Triumphs From Cannes Over the
2023-05-10   2023-05-11 /cannes-film-festival-red-carpet.html       Decades                                    By Vanessa Friedman               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/health/f The Pill Takes A Step Toward Simpler
2023-05-10   2023-05-11 da-otc-birth-control-pill.html              Access                                     By Pam Belluck                    TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/10/health/ Pancreatic Cancer Vaccine Using Messenger
2023-05-10   2023-05-11 pancreatic-cancer-vaccine-mrna.html         RNA Shows Promise in Small Trial             By Benjamin Mueller             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/movies/
                        lindsay-lohan-jamie-lee-curtis-freaky-
2023-05-10   2023-05-11 friday.html                                 20 Years On a Comedy Proves Ageless          By Nadine Zylberberg            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/movies/
2023-05-10   2023-05-11 ruben-ostlund-cannes-film-festival.html     Ruben Ostlunds uncomfortable truths          By AJ Goldmann                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/nyregio
                        n/covid-public-health-emergency-end-        Some Free Services Will Continue in New
2023-05-10   2023-05-11 nyc.html                                    York City                                    By Sharon Otterman              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/nyregio Adams Says Killing of Homeless Man on         By Maria Cramer and Jeffery C
2023-05-10   2023-05-11 n/eric-adams-jordan-neely-speech.html       Subway Never Should Have Happened            Mays                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/nyregio Santos is Indicted As Inquiry Claims 3        By Grace Ashford and Michael
2023-05-10   2023-05-11 n/george-santos-indictment-arrest.html      Finance Schemes                              Gold                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/nyregio New Yorks Leaders Spar Over Relocating        By Dana Rubinstein Luis
2023-05-10   2023-05-11 n/migrants-rockland-county-nyc.html         Migrants                                     FerrSadurn and Jeffery C Mays   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/nyregio                                               By Benjamin Weiser and Lola
2023-05-10   2023-05-11 n/trump-carroll-truth-social.html           Former President Posts AfterAction Diatribes Fadulu                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/opinion                                               By Gwen Nally and Mary Hamil
2023-05-10   2023-05-11 /black-cleopatra-netflix.html               Cleopatra Was Black but Not How You Think Gilbert                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/opinion Trumps Jury Verdict Implicates the Nations
2023-05-10   2023-05-11 /e-jean-carroll-donald-trump-verdict.html   Moral Core                                   By David French                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/opinion Santos Pushed Campaign Money Abuse Past
2023-05-10   2023-05-11 /george-santos-money-campaign.html          the Usual Line                               By David Firestone              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/opinion
2023-05-10   2023-05-11 /trump-biden-age.html                       The Panic Over Bidens Age Is Manufactured By Charles M Blow                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/sports/n
                        caabasketball/bob-huggins-west-virginia-    A Pay Cut but Huggins Keeps His Job at West
2023-05-10   2023-05-11 suspension.html                             Virginia Despite Homophobic Slurs            By Adam Zagoria                 TX 9-299-029   2023-07-03




                                                                                Page 5211 of 5793
                        https://www.nytimes.com/2023/05/10/sports/s
2023-05-10   2023-05-11 car-swim-arizona.html                       The 40Mile Freestyle                        By Adam Skolnick                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/sports/s
                        occer/acmilan-inter-milan-champions-league- In the Undercard Italian Rivals Have Their
2023-05-10   2023-05-11 semifinal-first-leg.html                    Moments                                     By Rory Smith                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/sports/t Italian Open Lags Behind Other Events in
2023-05-10   2023-05-11 ennis/women-men-prize-money.html            Closing the Pay Gap for Women               By Matthew Futterman             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/style/qu Even a Fictional Coronation Requires
2023-05-10   2023-05-11 een-charlotte-bridgerton-costumes.html      Majestic Attire                             By Callie Holtermann             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/t-
2023-05-10   2023-05-11 magazine/fever-ray.html                     People Places Things                        By Lindsay Zoladz                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/technol Facing a Challenger Google Makes Gains
2023-05-10   2023-05-11 ogy/google-ai-products.html                 With Its AI Products                        By Nico Grant                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/technol Deft Moves Help Google Make Gains On 2
2023-05-10   2023-05-11 ogy/personaltech/pixel-7a-review.html       Fronts                                      By Brian X Chen                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/theater/ Out of Fracture Trying to Conjure Something
2023-05-10   2023-05-11 the-habit-of-art-review.html                Whole                                       By Laura CollinsHughes           TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/10/travel/h
2023-05-10   2023-05-11 idden-camera-cruise-ship-bathroom-fbi.html FBI Says Man Hid Camera in Ships Toilet     By Ceylan Yeginsu                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/us/chic Immigrant Influx Strains OpenArmed
2023-05-10   2023-05-11 ago-migrants-title-42.html                  Chicago                                    By Julie Bosman                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/us/geor Georgia Drops Bid to Remove Lawyer in       By Richard Fausset and Danny
2023-05-10   2023-05-11 gia-trump-fani-willis-investigation.html    Election Case                              Hakim                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/us/heat Heather Armstrong Queen of the Mommy
2023-05-10   2023-05-11 her-armstrong-dead.html                     Bloggers Is Dead at 47                     By Alex Williams                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/us/miss Missouri Lawmakers Pass a Bill to Ban
2023-05-10   2023-05-11 ouri-transgender-minors-ban.html            Transition Care for Transgender Minors     By Mitch Smith                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/us/phoe Fear and Hope as Phoenix Dismantles the
2023-05-10   2023-05-11 nix-homeless-camp-the-zone.html             Zone a Homeless Camp                       By Jack Healy                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/us/polit Biden to Welcome Modi With State Dinner in
2023-05-10   2023-05-11 ics/biden-modi-state-dinner.html            June                                       By Michael D Shear                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/us/polit Previous Fights Steeling Biden On Debt
2023-05-10   2023-05-11 ics/biden-obama-debt-limit.html             Talks                                      By Katie Rogers                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/us/polit
                        ics/biden-republican-moderates-mike-        Biden Tries to Win Over GOP Moderates in By Peter Baker and Nicholas
2023-05-10   2023-05-11 lawler.html                                 Standoff                                   Fandos                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/us/polit As Covid Emergency Ends the US Shifts To a By Sheryl Gay Stolberg and Noah
2023-05-10   2023-05-11 ics/covid-public-health-emergency.html      Peacetime Mode                             Weiland                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/us/polit
                        ics/hunter-biden-house-republicans-         4Month GOP Inquiry Finds No Evidence of
2023-05-10   2023-05-11 report.html                                 Wrongdoing by President                    By Luke Broadwater                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/us/polit
2023-05-10   2023-05-11 ics/mayorkas-title-42-migrants-border.html US Issues A Warning To Migrants             By Aishvarya Kavi                 TX 9-299-029   2023-07-03




                                                                               Page 5212 of 5793
                        https://www.nytimes.com/2023/05/10/us/polit GOP Leaders Stand Firm In Backing Indicted
2023-05-10   2023-05-11 ics/mccarthy-george-santos-congress.html    Santos                                     By Annie Karni                    TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/10/us/polit Surge at Border Attests to Overwhelmed
2023-05-10   2023-05-11 ics/title-42-border-history-immigration.html Outdated System                              By Eileen Sullivan               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/us/polit 5 Million Verdict By a Jury Is Harder For     By Maggie Haberman and Jonathan
2023-05-10   2023-05-11 ics/trump-carroll-verdict-campaign.html      Trump to Spin                                Swan                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/world/a Trapped in Khartoum With Dwindling             By Abdi Latif Dahir and Cora
2023-05-10   2023-05-11 frica/khartoum-sudan-fighting.html           Supplies as Sudans Battle Rages On           Engelbrecht                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/world/a Mexicos Relaxed Migration Policy Triples the
2023-05-10   2023-05-11 mericas/mexico-migrants-us-border.html       Traffic Toward the US                        By James Fredrick                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/world/a                                                By Alejandro Cegarra and Natalie
2023-05-10   2023-05-11 mericas/migrants-beast-train-mexico.html     Aboard The Beast                             Kitroeff                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/world/a In a State Election Modi Seems More Popular
2023-05-10   2023-05-11 sia/india-karnataka-election.html            Than Hindu Nationalism                       By Mujib Mashal and Hari Kumar TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/10/world/a
2023-05-10   2023-05-11 sia/pakistan-military-protests.html          Protesters in Pakistan Turn Against Military By Christina Goldbaum            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/world/e German Distrust of China Holds Up Sister
2023-05-10   2023-05-11 urope/germany-china-sister-cities.html       City Plan                                    By Christopher F Schuetze        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/world/e
                        urope/mountain-brienz-switzerland-           Threat of Lethal Landslide Forces Evacuation
2023-05-10   2023-05-11 evacuation.html                              of a Swiss Village                           By Christopher F Schuetze        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/world/e Ukrainian Forces Push Back Russian Lines in By Carlotta Gall Anatoly
2023-05-10   2023-05-11 urope/ukraine-russia-bakhmut.html            Embattled Bakhmut                            Kurmanaev and Traci Carl         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/world/e Death Is Everywhere In OnceJubilant City
2023-05-10   2023-05-11 urope/ukraine-russia-kherson-killing.html    Seen as Sign of Hope                         By Jeffrey Gettleman             TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/10/world/ If Cleopatra Was Black Then Is Egypt
2023-05-10   2023-05-11 middleeast/cleopatra-netflix-race-egypt.html African Not Just in Geography              By Vivian Yee                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/10/world/
                        middleeast/fruit-roll-ups-smuggle-israel-    To Satisfy a Sweet Tooth Smugglers Head to
2023-05-10   2023-05-11 tiktok.html                                  Israel                                     By Lauren McCarthy               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/10/world/ Militants Fire Rockets Far Into Israel as
2023-05-10   2023-05-11 middleeast/israel-gaza-airstrikes.html       Airstrikes Continue                        By Isabel Kershner               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/10/world/ Guardsman Opens Fire At Synagogue In
2023-05-10   2023-05-11 middleeast/tunisia-shooting-synagogue.html Tunisia                                      By Vivian Yee                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/live/2023/05/10/us/
                        trump-cnn-town-hall/trump-is-set-to-face-    Trump Repeats False Election Claims at CNN
2023-05-10   2023-05-11 questions-from-the-audience                  Event                                      By Jonathan Weisman              TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/10/nyregio Officials Loosen Shelter Rules As City Runs By Emma G Fitzsimmons and
2023-05-11   2023-05-11 n/nyc-right-to-shelter-migrants.html         Short of Housing                           Andy Newman                      TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/10/us/varsi 2 Parents Convictions Overturned In
2023-05-11   2023-05-11 ty-blues-convictions-college.html            University Admissions Scandal              By Anemona Hartocollis           TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/11/arts/mu From Singing in Bunkers to Eurovisions       By Marc Santora and Alex
2023-05-11   2023-05-11 sic/tvorchi-ukraine-eurovision.html          Dazzle                                     Marshall                         TX 9-299-029     2023-07-03



                                                                                Page 5213 of 5793
                        https://www.nytimes.com/2023/05/11/insider/
2023-05-11   2023-05-11 miriam-jordan-immigration.html               On the Border on the Cusp of Change          By Terence McGinley                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/style/h-
2023-05-11   2023-05-11 and-m-collaborations.html                    HampM Makes Collaborations Work              By Jessica Testa                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/busines
                        s/energy-environment/backup-power-           With Blackouts More Common Backup
2023-05-06   2023-05-12 generators-climate-change.html               Power Is a New Class Divide                  By Ivan Penn and Peter Eavis       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/opinion My Book Is About Sexual Abuse Its Not
2023-05-07   2023-05-12 /sexual-assualt-book-ban.html                Pornography                                  By Patricia McCormick              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/opinion Gun Control Is No Longer a Partisan Issue in
2023-05-08   2023-05-12 /tennessee-gov-lee-gun-reform.html           Tennessee                                    By Margaret Renkl                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/science Theodor Diener 102 Scientist Who Found the
2023-05-08   2023-05-12 /theodor-diener-dead.html                    Tiniest of Infectious Agents                 By Daniel E Slotnik                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/movies/
2023-05-09   2023-05-12 dealing-with-dad-review.html                 Dealing With Dad                             By Calum Marsh                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/arts/mu Bow Before Beyonc the New Queen of
2023-05-10   2023-05-12 sic/beyonce-renaissance-tour-opener.html     Sweden                                       By Alex Marshall and Ben Sisario   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/arts/sa Sam Gross Cartoonist Who Stayed True to
2023-05-10   2023-05-12 m-gross-dead.html                            Himself Is Dead at 89                        By Daniel E Slotnik                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/busines China Resists a Property Tax Even as Cities
2023-05-10   2023-05-12 s/china-property-tax.html                    Suffer                                       By Keith Bradsher                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/health/a
                        ddiction-treatment-buprenorphine-            Addiction Drug Is Underprescribed Especially
2023-05-10   2023-05-12 suboxone.html                                for Black Patients Study Says                By Jan Hoffman                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/arts/dan
                        ce/review-jerome-robbins-brandenburg-city-
2023-05-11   2023-05-12 ballet.html                                  Journey Reaches A Satisfying Point           By Gia Kourlas                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/arts/des
2023-05-11   2023-05-12 ign/independent-fair-review.html             An Upgrade in Inclusivity                    By Martha Schwendener              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/arts/des
2023-05-11   2023-05-12 ign/may-art-fairs-new-york-city.html         A Spring Frenzy of Offerings                 By Rachel Sherman                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/arts/des
2023-05-11   2023-05-12 ign/picasso-becoming-picasso.html            Fearsomely Talented but Not Yet Worldly      By Roberta Smith                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/arts/des
2023-05-11   2023-05-12 ign/tefaf-new-york-art-fair-review.html      Park Avenue Armory In a Worldly Overflow By Will Heinrich                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/arts/des
2023-05-11   2023-05-12 ign/van-gogh-cypresses-met-museum.html       Majesty and Mystery in the Cypresses         By Deborah Solomon                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/arts/mu
                        sic/review-yunchan-lim-piano-
2023-05-11   2023-05-12 philharmonic.html                            A Teen Piano Star Arrives in New York        By Zachary Woolfe                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/arts/tele
                        vision/documentary-now-netflix-great-
2023-05-11   2023-05-12 american-baking-show.html                    This Weekend I Have                          By Margaret Lyons                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/books/b BTS Plans To Publish Oral History Of the
2023-05-11   2023-05-12 ts-book-beyond-the-story.html                Group                                        By Kate Dwyer                      TX 9-299-029   2023-07-03



                                                                                 Page 5214 of 5793
                        https://www.nytimes.com/2023/05/11/busines
2023-05-11   2023-05-12 s/bank-of-england-interest-rates-uk.html      Bank of England Raises Rates and Outlook    By Eshe Nelson                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/busines
                        s/economy/biden-republicans-debt-limit-       Talks on Debt Are Delayed As the Sides      By Carl Hulse Jim Tankersley and
2023-05-11   2023-05-12 meeting.html                                  Pursue a Deal                               Alan Rappeport                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/busines CNN Asserts Trump Event Was Service To         By Michael M Grynbaum and
2023-05-11   2023-05-12 s/media/cnn-donald-trump-chris-licht.html     the Public                                  Benjamin Mullin                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/busines MTV News Which Kept A Generation
2023-05-11   2023-05-12 s/media/mtv-news-layoffs.html                 Informed Ends Its 4Decade Run               By Remy Tumin                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/busines                                                By John Koblin and Nicole
2023-05-11   2023-05-12 s/media/netflix-writers-strike.html           Writers Find Their Villain Its Netflix      Sperling                        TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/busines PacWest Bank Sheds Billions In Deposits as
2023-05-11   2023-05-12 s/pacwest-bank-market-turmoil.html            Stock Tumbles                               By Rob Copeland                 TX 9-299-029    2023-07-03
                                                                      Peloton Shares Slide After It Recalls Two
                        https://www.nytimes.com/2023/05/11/busines Million Exercise Bikes Over Seat Posts That
2023-05-11   2023-05-12 s/peloton-recall-exercise-bikes.html          Break                                       By Lora Kelley                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/climate White House Pitches 1st Emissions Limits
2023-05-11   2023-05-12 /epa-power-plants-pollution.html              On Existing Plants                          By Coral Davenport              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/health/c As US Covid Emergency Ends Monitoring
2023-05-11   2023-05-12 ovid-sewage-wastewater-data.html              Shifts to the Sewers                        By Emily Anthes                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/health/f Blood Donors To No Longer Be Screened
2023-05-11   2023-05-12 da-blood-donations-gay-bisexual-men.html By Sexuality                                     By Christina Jewett             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/movies/ When Geeks Clash With Suits Theyre All
2023-05-11   2023-05-12 blackberry-review.html                        Thumbs                                      By Jeannette Catsoulis          TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/movies/ They Ditched the Books and Kept the High
2023-05-11   2023-05-12 book-club-the-next-chapter-review.html        Jinks                                       By Amy Nicholson                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/movies/
2023-05-11   2023-05-12 fools-paradise-review.html                    Fools Paradise                              By Nicolas Rapold               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/movies/
                        it-aint-over-review-yogi-berra-
2023-05-11   2023-05-12 documentary.html                              Accidental Zen Master And Star Ballplayer   By Glenn Kenny                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/movies/
2023-05-11   2023-05-12 limmensita-review-roman-holiday.html          Limmensit                                   By Beatrice Loayza              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/movies/
2023-05-11   2023-05-12 monica-review.html                            A Delicate Dance Toward Reconciliation      By Teo Bugbee                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/movies/
                        still-a-michael-j-fox-movie-review-hiding-in-
2023-05-11   2023-05-12 plain-sight.html                              TimeTraveling Through Curveballs            By Ben Kenigsberg               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/movies/
                        the-starling-girl-review-as-the-spirit-
2023-05-11   2023-05-12 moves.html                                    The Starling Girl                           By Natalia Winkelman            TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/movies/
2023-05-11   2023-05-12 unfinished-business-review.html               Unfinished Business                         By Elisabeth Vincentelli        TX 9-299-029    2023-07-03




                                                                                 Page 5215 of 5793
                        https://www.nytimes.com/2023/05/11/nyregio
                        n/daniel-penny-charges-jordan-neely-subway-                                            By Jonah E Bromwich Hurubie
2023-05-11   2023-05-12 death.html                                  Subway Rider To Be Charged For Chokehold Meko and Andy Newman               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/nyregio Carroll May Sue Trump Over His CNN          By Benjamin Weiser Lola Fadulu
2023-05-11   2023-05-12 n/e-jean-carroll-trump-defamation.html      Diatribe                                   and Kate Christobek              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/nyregio Lawmaker Settles StolenCheck Case in Brazil By Grace Ashford and Leonardo
2023-05-11   2023-05-12 n/george-santos-brazil-checks.html          Paying a Sum of Close to 5000              Coelho                           TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/nyregio Prosecutors Paint Santos As Grifter
2023-05-11   2023-05-12 n/george-santos-future.html                 Highlighting Record of Lies and Cons       By Nicholas Fandos               TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/11/nyregio Counties Balk as Adams Sends Incoming         By Dana Rubinstein and
2023-05-11   2023-05-12 n/title-42-nyc-migrants-orange-rockland.html Migrants                                    Christopher Maag                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/nyregio New York City Council Approves a Bill to
2023-05-11   2023-05-12 n/weight-discrimination-nyc.html             Ban Weight Discrimination                   By Emma G Fitzsimmons           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/opinion
2023-05-11   2023-05-12 /columnists/biden-debt-ceiling.html          The Second Phase of the Biden Presidency    By David Brooks                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/opinion Even if Erdogan Loses the Election Turkey Is
2023-05-11   2023-05-12 /turkey-election-erdogan.html                in Trouble                                  By Cihan Tugal                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/sports/b The Games Best Hitter Doesnt Hit It
2023-05-11   2023-05-12 aseball/luis-arraez-miami-marlins.html       Particularly Far or Even Hard               By Benjamin Hoffman             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/sports/f
2023-05-11   2023-05-12 ootball/nfl-schedule-2023.html               The NFL Broadens Its Broadcast Ambitions By Emmanuel Morgan                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/sports/h
                        orse-racing/horse-racing-doping-kentucky-    Trainer of Onetime Derby Favorite Forte Is
2023-05-11   2023-05-12 derby.html                                   Suspended in Doping Case                    By Joe Drape                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/technol Musk Said to Be in Talks to Hire Executive as By Benjamin Mullin Ryan Mac and
2023-05-11   2023-05-12 ogy/elon-musk-ceo-twitter.html               Twitters New CEO                            Tiffany Hsu                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/theater/
2023-05-11   2023-05-12 bad-cinderella-broadway-closing.html         Bad Cinderella Will Close On Broadway       By Michael Paulson              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/theater/
2023-05-11   2023-05-12 monsoon-wedding-musical-mira-nair.html       The Rains Will Fall Very Soon in Brooklyn By Juan A Ramrez                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/us/bide More Advertising and an App Are Among US By Miriam Jordan and Eileen
2023-05-11   2023-05-12 n-title-42-border-migrants.html              Preparations for an Influx                  Sullivan                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/us/covi As Covid Crisis Ends Victims Kin Are
2023-05-11   2023-05-12 d-deaths-pandemic.html                       Ambivalent                                  By Julie Bosman                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/us/polit Very Substantial Downturn If US Defaults
2023-05-11   2023-05-12 ics/debt-limit-yellen-14th-amendment.html    Yellen Warns                                By Alan Rappeport               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/us/polit In Virginia Judge Rejects Limit on Age To
2023-05-11   2023-05-12 ics/handgun-age-virginia-judge.html          Buy Guns                                    By Glenn Thrush                 TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/11/us/polit House Passes Stringent Border Security
2023-05-11   2023-05-12 ics/house-republicans-immigration-bill.html Legislation                                 By Karoun Demirjian             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/us/polit
                        ics/supreme-court-fraud-albany-percoco-     Justices Toss Fraud Convictions in Albany   By Adam Liptak and Luis
2023-05-11   2023-05-12 ciminelli.html                              Scandals                                    FerrSadurn                      TX 9-299-029    2023-07-03



                                                                                 Page 5216 of 5793
                                                                                                                By Shane Goldmacher Jonathan
                        https://www.nytimes.com/2023/05/11/us/polit Trump Lays Out 2ndTerm Vision Wrecking      Swan Maggie Haberman and
2023-05-11   2023-05-12 ics/trump-2024-cnn-town-hall.html           Norms                                       Stephanie Lai                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/11/us/polit Trump Takes Stances on Jan 6 Pardons and
2023-05-11   2023-05-12 ics/trump-cnn-townhall-policy.html          Migrant Children                            By Neil Vigdor                   TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/11/us/polit Trump Suggests He Knowingly Took            By Alan Feuer and Maggie
2023-05-11   2023-05-12 ics/trump-documents-white-house.html        Government Papers                           Haberman                         TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/11/us/polit
                        ics/vulnerable-republicans-debt-limit-      Republicans in Swing Districts Stuck in
2023-05-11   2023-05-12 fight.html                                  Middle of Debt Debate                       By Catie Edmondson               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/11/us/supr Supreme Court Upholds California Law on
2023-05-11   2023-05-12 eme-court-california-pigs.html              Animal Cruelty                              By Adam Liptak                   TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/11/us/the-
2023-05-11   2023-05-12 border-in-photos.html                       Dire Moments and Lonely Hours               By The New York Times            TX 9-299-029     2023-07-03
                                                                                                                By Miriam Jordan Michael D Shear
                        https://www.nytimes.com/2023/05/11/us/title- Pressure Rises Along the Border and in     Maria AbiHabib and Simon
2023-05-11   2023-05-12 42-border-migrants.html                      Washington                                 Romero                           TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/11/world/a Sudans Clashing Forces Sign Pact to Allow    By Declan Walsh and Michael
2023-05-11   2023-05-12 frica/sudan-fighting-negotiations.html       Aid In                                     Crowley                          TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/11/world/a US Ambassador Says South Africa Sent
2023-05-11   2023-05-12 frica/us-south-africa-russia-weapons.html    Arms and Ammunition to Russia              By John Eligon                   TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/11/world/a A Wave Driven by Factors Beyond US           By Natalie Kitroeff and Julie
2023-05-11   2023-05-12 mericas/title-42-migration-us-border.html    Control                                    Turkewitz                        TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/11/world/a                                              By Christina Goldbaum and Salman
2023-05-11   2023-05-12 sia/pakistan-imran-khan.html                 Pakistans Top Court Orders Khans Release   Masood                           TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/11/world/e
2023-05-11   2023-05-12 urope/22-women-murder-europe-police.html 22 Murdered Women But None Has a Name By Derrick Bryson Taylor                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/world/e
                        urope/justin-welby-uk-immigration-            Archbishop Speaks Out On UK Immigration
2023-05-11   2023-05-12 archbishop-canterbury.html                    Plan                                       By Mark Landler                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/world/e                                               By Carlotta Gall Shashank Bengali
                        urope/ukraine-russia-counteroffensive-        Zelensky Says Equipment Gaps Make It Too Lara Jakes and Matthew Mpoke
2023-05-11   2023-05-12 zelensky.html                                 Soon for a Counteroffensive                Bigg                              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/world/ CeaseFire Talks Stall as Israel Assassinates 2
2023-05-11   2023-05-12 middleeast/israel-gaza.html                   More Militants                             By Isabel Kershner                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/world/
                        middleeast/turkey-erdogan-election-kemal-     Hopes Dim for Swift Victory After a
2023-05-11   2023-05-12 kilicdaroglu.html                             Challenger Pulls Out                       By Ben Hubbard                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/article/prince-harry-
2023-05-11   2023-05-12 uk-privacy-lawsuits.html                      The Prince vs the British Press            By Jenny Gross                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/movies/
2023-05-12   2023-05-12 the-mother-review.html                        Instinctively Maternal and Deadly          By Lisa Kennedy                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/insider/
2023-05-12   2023-05-12 dog-reporting-is-no-fluffy-subject.html       Dog Reporting Is No Fluffy Subject         By Sarah Lyall                    TX 9-299-029   2023-07-03



                                                                                Page 5217 of 5793
                        https://www.nytimes.com/2023/05/12/movies/
2023-05-12   2023-05-12 crater-review-a-rocking-road-trip.html     Crater                                      By Brandon Yu                     TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/12/sports/f How a Gritty Quarterback Paved the Way for
2023-05-12   2023-05-12 ootball/joe-kapp-nfl-lawsuit-free-agency.html Free Agency                              By Ken Belson                     TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/12/sports/o
2023-05-12   2023-05-12 lympics/paris-olympics-seine-cleanup.html    Taking a Dip In the Seine Deserves a Medal By Catherine Porter and James Hill TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/24/travel/a The Stars Do Align for a Writers Personal
2023-04-24   2023-05-13 laska-solar-return-trip-astrology.html       Journey                                    By Mya Guarnieri                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/01/travel/r
2023-05-01   2023-05-13 ome-sacred-places.html                       Sacred Ground Traces of Romes Many Faiths By David Laskin and Martin Pauer TX 9-299-029      2023-07-03
                        https://www.nytimes.com/2023/05/03/busines
                        s/energy-environment/denmark-wind-power- A Pioneer in Wind Power Is Back in StartUp
2023-05-03   2023-05-13 stiesdal.html                                Mode                                       By Stanley Reed                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/
2023-05-04   2023-05-13 04/travel/things-to-do-asheville.html        36 Hours in Asheville NC                   By Shayla Martin                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/arts/mu Don Sebesky 85 Helped Broaden Jazzs
2023-05-06   2023-05-13 sic/don-sebesky-dead.html                    Audience and Won Grammys and Tonys         By Neil Genzlinger                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/07/opinion The Drug That Saves Lives Even if Its Never
2023-05-07   2023-05-13 /narcan-drug-opioid.html                     Used                                       By Elizabeth Spiers                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/arts/ufo-
2023-05-10   2023-05-13 podcasts-tenderfoot-kardashian.html           UFO Podcast Feeds On Success              By Reggie Ugwu                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/us/texa Stung by Defeat Texas GOP Focuses on Blue
2023-05-10   2023-05-13 s-election-laws-houston-harris-county.html   Stronghold                                 By J David Goodman                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/arts/tele
                        vision/jackie-zeman-dead-general-
2023-05-11   2023-05-13 hospital.html                                Jacklyn Zeman 70 of General Hospital       By Christine Hauser                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/nyregio Fred Siegel 78 Urban Historian And a Former
2023-05-11   2023-05-13 n/fred-siegel-dead.html                      Liberal Is Dead                            By Sam Roberts                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/opinion America Is Forgetting the Lessons of the
2023-05-11   2023-05-13 /covid-pandemic-emergency-lessons.html       Covid Health Emergency                     By Jeneen Interlandi               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/arts/des SI Newhouse Auction Draws a Muted           By Zachary Small and Robin
2023-05-12   2023-05-13 ign/si-newhouse-auction-christies.html       Response                                   Pogrebin                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/theater/ A 17thCentury Play Speaks To the Presents
2023-05-12   2023-05-13 tartuffe-review-moliere.html                 Hypocrisy                                  By Alexis Soloski                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/arts/mu
2023-05-12   2023-05-13 sic/eurovision-2023-how-to-watch.html        Eurovision At Your Fingertips              By Elisabeth Vincentelli           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/arts/mu In England A Contest To Celebrate
2023-05-12   2023-05-13 sic/eurovision-liverpool-ukraine.html        Ukrainians                                 By Alex Marshall                   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/12/arts/mu
2023-05-12   2023-05-13 sic/los-angeles-opera-placido-domingo.html In LA Theyre Singing a New Song             By Adam Nagourney                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/12/busines Britains Economy Ekes Out Growth in First
2023-05-12   2023-05-13 s/britain-economy-1q-gdp.html              Quarter                                     By Eshe Nelson                    TX 9-299-029     2023-07-03



                                                                                Page 5218 of 5793
                        https://www.nytimes.com/2023/05/12/busines CEOs Rethink China Operations After Arrests By Daisuke Wakabayashi Ana
2023-05-12   2023-05-13 s/china-anti-espionage-law.html            of Consultants                              Swanson and Lauren Hirsch       TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/busines
                        s/economy/fed-nominees-kugler-             Biden Picks Two Economists For Top
2023-05-12   2023-05-13 jefferson.html                             Positions at the Fed                        By Jeanna Smialek               TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/12/busines
2023-05-12   2023-05-13 s/media/last-hollywood-writers-strike.html  2007 Strike Shook Up Hollywood              By Nicole Sperling             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/busines China Recalls 11 Million Teslas Over Braking
2023-05-12   2023-05-13 s/tesla-recall-china.html                   Risks                                       By Jenny Gross and Claire Fu   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/movies/
2023-05-12   2023-05-13 hypnotic-review.html                        A Twisty Ambitious Thriller                 By Glenn Kenny                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/movies/
                        james-gunn-guardians-of-the-galaxy-vol-
2023-05-12   2023-05-13 3.html                                      A Long Journey To an Epiphany               By Kyle Buchanan               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/nyregio Man Is Charged With Manslaughter Over        By Jonah E Bromwich Hurubie
2023-05-12   2023-05-13 n/daniel-penny-arrest-jordan-neely.html     Subway Chokehold Death                      Meko and Nate Schweber         TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/nyregio New York City Congestion Pricing Plan
2023-05-12   2023-05-13 n/new-york-city-congestion-pricing.html     Proposes Discounts for Neediest Drivers     By Ana Ley                     TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/nyregio Federal Inquiry Into Menendez Prompts
2023-05-12   2023-05-13 n/robert-menendez-inquiry-subpoena.html     Subpoena For Another New Jersey Senator     By Tracey Tully                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/opinion
2023-05-12   2023-05-13 /allen-texas-shooting.html                  The Myth of the Lone Wolf Latino            By Cecilia Mrquez              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/opinion My Mother Returned From World War II a
2023-05-12   2023-05-13 /women-ww2-redcross-clubmobile.html         Changed Person                              By Luis Alberto Urrea          TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/science Scientists Trace Mystery Egg And Find New
2023-05-12   2023-05-13 /demon-shark-new-species-australia.html     Shark Species                               By Lauren McCarthy             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/sports/b
2023-05-12   2023-05-13 aseball/shane-mcclanahan-rays.html          McClanahan of the Rays Best of the Best     By Tyler Kepner                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/sports/b Tatum Digs a Hole For Boston but Buries
2023-05-12   2023-05-13 asketball/jayson-tatum-boston-celtics.html  Some 3s and the 76ers                       By Scott Cacciola              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/sports/f
                        ootball/washington-commanders-sale-josh- Snyders Confirm Plan for Sale of Team To a
2023-05-12   2023-05-13 harris.html                                 Group Headed by the 76ers Owner             By Ken Belson                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/technol Former ByteDance Executive Accuses           By Thomas Fuller and Sapna
2023-05-12   2023-05-13 ogy/tiktok-bytedance-lawsuit-china.html     TikToks Parent Company of Lawlessness       Maheshwari                     TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/12/technol To Turn Around Twitter Musk Looks to an      By Tiffany Hsu Sapna Maheshwari
2023-05-12   2023-05-13 ogy/yaccarino-twitter-ceo-musk.html        Advertising Expert                           Benjamin Mullin and Ryan Mac    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/us/covi Covid Cautions Continue for Some Even as
2023-05-12   2023-05-13 d-emergency-end.html                       the Federal Emergency Ends                   By Campbell Robertson          TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/us/el- Quarrel Helped Tangle Hunt for El Chapos
2023-05-12   2023-05-13 chapo-sons-fentanyl-charges.html           Sons                                         By Alan Feuer                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/12/us/hodd Hodding Carter III 88 Crusading Editor and
2023-05-12   2023-05-13 ing-carter-dead.html                       Presidential Aide Dies                       By Robert D McFadden           TX 9-299-029    2023-07-03



                                                                                Page 5219 of 5793
                        https://www.nytimes.com/2023/05/12/us/polit Labor Victory in South With a Vote to
2023-05-12   2023-05-13 ics/clean-energy-unions.html                Unionize                                    By Jonathan Weisman               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/12/us/polit US Faces Significant Risk of Running Out of
2023-05-12   2023-05-13 ics/debt-ceiling-x-date.html                Cash in June                                By Alan Rappeport                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/12/us/polit
2023-05-12   2023-05-13 ics/garret-graves-debt-limit.html           GOP Assistant Coach Hopeful of Debt Talks By Annie Karni                      TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/12/us/polit GOP Already Pressing Immigration as Core
2023-05-12   2023-05-13 ics/immigration-politics-2024-election.html Issue of 2024 Election                       By Trip Gabriel and Reid J Epstein TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/us/polit A Look at the Nonprofit Propping Up the
2023-05-12   2023-05-13 ics/leonard-leo-marble-freedom-trust.html    Right                                       By Rebecca Davis OBrien            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/us/polit Biden Policy To Spur Solar Is Called Lax On By Ana Swanson Alan Rappeport
2023-05-12   2023-05-13 ics/solar-tax-credits.html                   China                                       and Ivan Penn                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/us/polit Surge At Border As US Endeavors To Control By Eileen Sullivan and Michael D
2023-05-12   2023-05-13 ics/title-42-expires-border-migrants.html    Flow                                        Shear                              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/us/polit Prosecutor Has Declined GOP Query About
2023-05-12   2023-05-13 ics/trump-case-pomerantz-deposition.html     Trump                                       By Luke Broadwater                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/us/polit Where is the AntiTrump Republican
2023-05-12   2023-05-13 ics/trump-republican-primary.html            Candidate                                   By Trip Gabriel                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/us/polit Spring Offensive Could Set Stage for         By Edward Wong and Michael
2023-05-12   2023-05-13 ics/ukraine-russia-war-talks.html            Diplomacy With Russia US Says               Crowley                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/us/polit
2023-05-12   2023-05-13 ics/wendy-sherman-diplomat-retire.html       Deputy Secretary of State Set to Retire     By Edward Wong                     TX 9-299-029   2023-07-03
                                                                                                                 By Soumya Karlamangla Edgar
                        https://www.nytimes.com/2023/05/12/us/title-                                             Sandoval Miriam Jordan and Simon
2023-05-12   2023-05-13 42-migrants.html                             A Rule Expires But the Limbo Is Hardly Over Romero                             TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/12/world/a Dangers Await Migrants Forced to Leave the
2023-05-12   2023-05-13 mericas/migrants-deported-us-mexico.html   US                                            By Maria AbiHabib                TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/12/world/a Chinese Dissident Receives EightYear Prison
2023-05-12   2023-05-13 sia/china-dissident-guo-sentenced.html     Sentence                                      By Chris Buckley                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/12/world/a In China Economy May Come Second to
2023-05-12   2023-05-13 sia/china-xi-security-economy.html         Security                                      By David Pierson                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/12/world/a Rap Star Engineer Mayor Revamping Life in By Emily Schmall and Bhadra
2023-05-12   2023-05-13 sia/nepal-kathmandu-mayor-balen.html       Kathmandu                                     Sharma                           TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/12/world/a Close Election in Thailand Becomes a Vote By SuiLee Wee and Muktita
2023-05-12   2023-05-13 sia/thailand-election-monarchy.html        on the Role of the Monarchy                   Suhartono                        TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/12/world/e Iran Releases Two Citizens Of France From
2023-05-12   2023-05-13 urope/iran-french-citizens-release.html    Detention                                     By Aurelien Breeden              TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/12/world/e Serbia Offers an Amnesty for Illegal Firearms By Cora Engelbrecht and Joe
2023-05-12   2023-05-13 urope/serbia-shooting-guns-amnesty.html    and Thousands Are Collected                   Orovic                           TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/12/world/e Kyivs Advance Near Bakhmut Exposes Rifts By Marc Santora and Andrew E
2023-05-12   2023-05-13 urope/ukraine-bakhmut-russia.html          Among Russian Forces                          Kramer                           TX 9-299-029     2023-07-03




                                                                                Page 5220 of 5793
                        https://www.nytimes.com/2023/05/12/world/e
                        urope/ukraine-weapons-tracking-             Kyivs Soldiers Risk Their Lives to Keep US
2023-05-12   2023-05-13 corruption.html                             Weapons Off Black Market                     By Lara Jakes                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/world/ Erdogans Fierce Power Leaves Him
2023-05-12   2023-05-13 middleeast/turkey-election-erdogan.html     Vulnerable                                   By Ben Hubbard                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/your- Special Financing for Health Care May Be
2023-05-12   2023-05-13 money/medical-care-credit-cards.html        More Costly                                  By Ann Carrns                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/sports/b
                        asketball/knicks-eliminated-playoffs-miami- Knicks Promising Playoff Run Ends in
2023-05-13   2023-05-13 heat.html                                   Narrow Loss to the Heat                      By Kris Rhim                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/sports/o After the Boom In Sports Bets Come
2023-05-13   2023-05-13 nline-sports-gambling-regulations.html      Controls                                     By Eric Lipton and Kevin Draper   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/13/your-
2023-05-13   2023-05-13 money/parents-student-loans-forgiveness.html Gift to Mom Eliminating Her Old Debt        By Ron Lieber                  TX 9-299-029      2023-07-03
                        https://www.nytimes.com/article/armenia-     Explaining the Fight Between Armenia and    By Matthew Mpoke Bigg and Ivan
2022-09-24   2023-05-14 azerbaijan-clashes.html                      Azerbaijan and the Stakes                   Nechepurenko                   TX 9-299-029      2023-07-03
                        https://www.nytimes.com/2023/02/25/books/r
2023-02-25   2023-05-14 eview/the-exceptions-kate-zernike.html       Battling the Lab Rats                       By Bonnie Garmus                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/02/26/books/r
                        eview/lilianas-invincible-summer-cristina-
2023-02-26   2023-05-14 rivera-garza.html                            The Language of Violence                    By Katherine Dykstra              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/03/07/books/r
                        eview/the-god-of-endings-jacqueline-
2023-03-07   2023-05-14 holland.html                                 The Vampire Diary                           By Fran Hoepfner                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/03/13/books/r
2023-03-13   2023-05-14 eview/our-best-intentions-vibhuti-jain.html  Truth and Injustice                         By Jen Doll                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/03/14/books/r
                        eview/how-to-think-like-a-woman-regan-
2023-03-14   2023-05-14 penaluna.html                                Does Philosophy Have a Woman Problem        By Becca Rothfeld                 TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/03/21/books/r
2023-03-21   2023-05-14 eview/guardians-of-the-valley-dean-king.html Tree Huggers                                By Lyndsie Bourgon                TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/04/01/books/p
2023-04-01   2023-05-14 icasso-the-foreigner-annie-cohen-solal.html The Pariah of Paris                          By Holland Cotter                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/02/books/r
                        eview/fernanda-melchor-this-is-not-
2023-04-02   2023-05-14 miami.html                                  Restless Spirits                             By William T Vollmann             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/21/books/r
2023-04-21   2023-05-14 eview/adam-sternbergh-eden-test.html        How to Save a Marriage                       By Flynn Berry                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/24/books/a
2023-04-24   2023-05-14 va-chin-mott-street.html                    Kindred Souls                                By Dwight Garner                  TX 9-299-029   2023-07-03




                                                                                Page 5221 of 5793
                        https://www.nytimes.com/2023/04/28/books/c
                        hain-gang-all-stars-nana-kwame-adjei-
2023-04-28   2023-05-14 brenyah.html                               To the Death                                  By Giri Nathan               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/01/t-
2023-05-01   2023-05-14 magazine/sleep-rest-protest-art.html       Let It Lie                                    By Julia Halperin            TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/02/books/r
                        eview/covenant-of-water-abraham-
2023-05-02   2023-05-14 verghese.html                              Family Medicine                               By Andrew Solomon            TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/02/realesta
2023-05-02   2023-05-14 te/melbourne-australia-house-courtyard.html An 18thCentury Twist for Today               By Tim McKeough              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/04/books/r
                        eview/maggie-smith-you-could-make-this-
2023-05-04   2023-05-14 place-beautiful.html                        Maggie Smiths Muse Is Central Ohio           By Elisabeth Egan            TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/04/books/r
2023-05-04   2023-05-14 eview/nancy-hale-the-prodigal-women.html The Forgotten Fiction of a Jazz Age Feminist By Kate Bolick                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/books/r
2023-05-04   2023-05-14 eview/stuck-in-a-rut-youre-not-alone.html   Stuck in a Rut Youre Not Alone             By Judith Newman                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/t-
                        magazine/croquembouche-pastry-dessert-
2023-05-04   2023-05-14 baking.html                                 Tower of Power                             By Ella RileyAdams              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/t-                                                  By Alex Huanfa Cheng and Jordan
2023-05-04   2023-05-14 magazine/pink-summer-fashion.html           Fine and Dandy                             Boothe                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/magazi A Banana Peel Has Made Me Question My
2023-05-05   2023-05-14 ne/marriage-dispute-ethics.html             Marriage Whos Right                        By Kwame Anthony Appiah         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/style/ch
2023-05-05   2023-05-14 atgpt-ai-stylist-fashion.html               Closet Calculations From a Stodgy Aide     By Emma Grillo                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/t-       One extraordinary and totally nonessential
                        magazine/artist-studio-design-long-         space This month An Artists Studio on Long
2023-05-05   2023-05-14 island.html                                 Island                                     By Kurt Soller and Angela Hau   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/05/t-                                                  By Michael Snyder and Ruy
2023-05-05   2023-05-14 magazine/mariana-schmidt-sao-paulo.html     SpareRooms                                 Teixeira                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/06/movies/
2023-05-06   2023-05-14 diane-keaton-tips-book-club.html            Diane Keaton Likes a Messy Comedy          By Chris Kornelis               TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/06/style/bo Reviving a Campus Tradition That Has
2023-05-06   2023-05-14 de-aujla-senior-cords-purdue-university.html Ridges                                      By Christopher Barnard       TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/08/movies/
2023-05-08   2023-05-14 yogi-berra-documentary.html                  Going to Bat For a Rare Gem In the Majors   By Lorne Manly               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/08/opinion
2023-05-08   2023-05-14 /spoilers-succession-science.html            Im Going to Spoil Your Favorite TV Show     By AnnaLisa Cohen            TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/08/realesta After a Breakup a New Space Serves as a
2023-05-08   2023-05-14 te/artist-renter-bushwick-brooklyn.html      Blank Slate                                 By Anna Kod                  TX 9-299-029    2023-07-03




                                                                                 Page 5222 of 5793
                        https://www.nytimes.com/2023/05/08/t-
2023-05-08   2023-05-14 magazine/food-texture-eating.html            Taste The Feeling                             By Ligaya Mishan and Esther Choi TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/t-
2023-05-08   2023-05-14 magazine/omar-apollo-willy-chavarria.html    Willy Chavarria and Omar Apollo               By Juan A Ramrez                 TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/09/arts/dan
2023-05-09   2023-05-14 ce/ballet-dancers-archives-patricia-wilde.html The Pirouettes They Left Behind             By Meryl Cates                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/arts/des
2023-05-09   2023-05-14 ign/counterpublic-st-louis-public-art.html     Art to Get Carried Away With                By Siddhartha Mitter             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/magazi
2023-05-09   2023-05-14 ne/dementia-mother.html                        The Dementia Paradox                        By Katie Engelhart               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/magazi
2023-05-09   2023-05-14 ne/frank-ocean-coachella.html                  Raw Feed                                    By Jenn Pelly                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/magazi
2023-05-09   2023-05-14 ne/lurking-online.html                         Lurking Online                              By Elise Craig                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/opinion
2023-05-09   2023-05-14 /allen-texas-shooting-guns.html                A GunFilled America                         By Jamelle Bouie                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/opinion
                        /hard-decision-making-uncertainty-robert-e- When Faced With a Tough Choice I Pull Out
2023-05-09   2023-05-14 rubin.html                                     My Notepad                                  By Robert E Rubin                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/opinion
2023-05-09   2023-05-14 /russia-war-ukraine-nuclear.html               Putin Is Fighting and Losing His Last War   By Timothy Snyder                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/opinion
                        /urban-gardens-rewilding-cities-
2023-05-09   2023-05-14 biodiversity.html                              Let the City Grow Wild                      By Ben Wilson                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/realesta
                        te/maestro-bradley-cooper-leonard-
2023-05-09   2023-05-14 bernstein.html                                 Where a Maestro and Father Held Court       By Joanne Kaufman                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/realesta Some Succession Apartments Are Now for
2023-05-09   2023-05-14 te/succession-apartments-sale.html             Sale                                        By Ronda Kaysen                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/t-
2023-05-09   2023-05-14 magazine/marin-montagut-paris-home.html The Time Traveler                                  By Nancy Hass and Ilyes Griyeb   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/us/polit Finding Her Place Among HardRight House
2023-05-09   2023-05-14 ics/nancy-mace.html                            Republicans                                 By Annie Karni                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/arts/mu Chris Strachwitz 91 Who Dug Up the Roots
2023-05-10   2023-05-14 sic/chris-strachwitz-dead.html                 of American Music Dies                      By Alex Traub                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/magazi
                        ne/buffalo-shooting-barbara-massey-
2023-05-10   2023-05-14 mapps.html                                     Theres No Forgiveness For That Ever         By Jazmine Hughes                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/magazi
                        ne/spring-asparagus-recipe-coconut-            Yotam Ottolenghi Celebrates Spring With
2023-05-10   2023-05-14 sprinkle.html                                  Asparagus                                   By Yotam Ottolenghi              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/nyregio Lighting the Way for a Proposed Manhattan
2023-05-10   2023-05-14 n/new-york-casino-midtown.html                 Casino                                      By Stefanos Chen                 TX 9-299-029   2023-07-03




                                                                                 Page 5223 of 5793
                        https://www.nytimes.com/2023/05/10/opinion Republicans Are Putting Our Standard of
2023-05-10   2023-05-14 /biden-mccarthy-debt-ceiling-dollar.html    Living at Risk                              By Mike Lofgren                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/realesta
2023-05-10   2023-05-14 te/garden-compost.html                      Patience Is the Right Approach to Compost By Margaret Roach                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/realesta
                        te/home-prices-pennsylvania-california-and- 14 Million Homes in Pennsylvania California
2023-05-10   2023-05-14 virginia.html                               and Virginia                                By Angela Serratore              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/style/gr The Pomp and Customization of Graduation
2023-05-10   2023-05-14 aduation-cap-decorating-design.html         Caps                                        By Rachel Simon                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/style/pr
2023-05-10   2023-05-14 enup-resentment.html                        Say No to a Prenup                          By Philip Galanes                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/t-                                                   By Maggie Shipstead and Anthony
2023-05-10   2023-05-14 magazine/atacama-desert-chile-travel.html   Dust to Dust                                Cotsifas                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/t-                                                   By Hanya Yanagihara and Kyoko
2023-05-10   2023-05-14 magazine/japan-cats-travel.html             Hello Kitties                               Hamada                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/t-
                        magazine/norway-svalbard-travel-                                                        By Taymour Soomro and Scott
2023-05-10   2023-05-14 darkness.html                               Darkness Visible                            Conarroe                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/t-
2023-05-10   2023-05-14 magazine/travel-extremes-discomfort.html    The Case for Discomfort                     By Hanya Yanagihara              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/theater/
2023-05-10   2023-05-14 annaleigh-ashford-sweeney-todd.html         In Sweeney Todd a Role Thats Filling        By Alexis Soloski                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/theater/                                             By Jesse Green Elisabeth
2023-05-10   2023-05-14 broadway-dance-choreography.html            Choreographers Shape New Shows              Vincentelli and Brian Seibert    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/theater/
2023-05-10   2023-05-14 j-harrison-ghee-some-like-it-hot.html       J Harrison Ghee Wont Be Boxed In            By Robin Pogrebin                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/theater/ Victoria Clark Rediscovered The Beauty Her
2023-05-10   2023-05-14 kimberly-akimbo-victoria-clark.html         Voice Owned                                 By Laura CollinsHughes           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/theater/
                        tony-awards-2023-broadway-critics-
2023-05-10   2023-05-14 picks.html                                  Who Will and Should Win                     By Jesse Green and Maya Phillips TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/theater/
                        tony-awards-2023-shucked-parade-fat-ham- How Broadway Transforms Ideas Into
2023-05-10   2023-05-14 sweeney-todd-dolls-house.html               Spectacles                                  By Michael Paulson               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/us/polit Bidens Sluggish Start Worries Democrats but By Reid J Epstein and Shane
2023-05-10   2023-05-14 ics/biden-2024-campaign.html                Aides Insist All Is Well                    Goldmacher                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/world/a David Miranda 37 A Gay Rights Activist
2023-05-10   2023-05-14 mericas/david-miranda-dead.html             Who Helped Snowden                          By Flvia Milhorance              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/arts/mu
                        sic/bailey-zimmerman-religiously-the-
2023-05-11   2023-05-14 album.html                                  A Modern Country Star in a Hybrid Mold      By Jon Caramanica                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/briefing Abortion Access Wins Elections but          By David Leonhardt and Lyna
2023-05-11   2023-05-14 /abortion-access-ballots-us-elections.html  Advocates Cant Agree on a Strategy          Bentahar                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/busines Kemal Dervis Who Helped Turkey Avert
2023-05-11   2023-05-14 s/kemal-dervis-dead.html                    Economic Disaster Dies at 74                By Neil Genzlinger               TX 9-299-029   2023-07-03



                                                                               Page 5224 of 5793
                        https://www.nytimes.com/2023/05/11/magazi
                        ne/judge-john-hodgman-dead-fiance-
2023-05-11   2023-05-14 dinner.html                                  Bonus Advice From Judge John Hodgman        By John Hodgman                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/magazi
                        ne/poem-the-world-is-breaking-in-flowers-the-Poem The World Is Breaking in Flowers the By Precious Okoyomon and Anne
2023-05-11   2023-05-14 breath-of-things.html                        Breath of Things                            Boyer                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/nyregio Cemetery Raises Fears Of Environmental
2023-05-11   2023-05-14 n/mikvah-cemetery-rockland-county.html       Wreck For New Jersey Neighbors              By Tracey Tully                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/realesta
2023-05-11   2023-05-14 te/square-footage-rent-economy.html          Where 1500 in Rent Feels Roomiest           By Michael Kolomatsky             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/sports/t Yes Its a Rackets World but Can They
2023-05-11   2023-05-14 ennis/pickleball-platform-tennis-padel.html Coexist                                      By Christopher Clarey             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/style/pa Pickleball vs Padel Provides Another Example
2023-05-11   2023-05-14 del-pickleball.html                          of American Exceptionalism                  By Amelia Nierenberg              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/t-
                        magazine/margaret-bakke-friends-                                                         By Alice NewellHanson and Jared
2023-05-11   2023-05-14 artspace.html                                Joy Ride                                    Soares                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/t-
2023-05-11   2023-05-14 magazine/reptile-skins-bags-shoes.html       Stylish Skins                               By Mari Maeda and Yuji Oboshi     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/us/polit Lessons From This Pandemic to Be Ready for By Sheryl Gay Stolberg and Noah
2023-05-11   2023-05-14 ics/covid-response-lessons.html              the Next                                    Weiland                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/us/us- Top Schools Are Familiar in Rankings That
2023-05-11   2023-05-14 news-rankings-law-medical-schools.html       Rankle                                      By Stephanie Saul                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/world/e                                               By Anton Troianovski and Jack
2023-05-11   2023-05-14 urope/dubai-russia-cars-export.html          Russian Elites Still Obtaining Luxury Goods Ewing                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/
                        11/realestate/one-bedroom-apartment-astoria- Two FirstTime Buyers Find Their Nest in
2023-05-11   2023-05-14 queens.html                                  Queens Which Option Did They Choose         By Joyce Cohen                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/
                        11/smarter-living/wirecutter/how-to-apply-
2023-05-11   2023-05-14 sunscreen.html                               How to Properly Apply Sunscreen             By Rose Maura Lorre               TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/12/books/r
                        eview/gary-d-schmidt-the-labors-of-hercules-
2023-05-12   2023-05-14 beal-brandon-hobson-the-storyteller.html     Labors of Love                              By John Schwartz                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/books/t
                        hree-new-story-collections-make-place-a-
2023-05-12   2023-05-14 protagonist.html                             Story Collections                           By Justin Taylor                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/busines Dispute Over Debt Ceiling Raises Risks for
2023-05-12   2023-05-14 s/debt-ceiling-bonds-costs.html              US Bonds                                    By Jeff Sommer                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/busines
                        s/retirement-entrepreneurs-social-
2023-05-12   2023-05-14 security.html                                In the Pursuit of Security Try a Solo Gig   By Mark Miller                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/nyregio Fears About Density Complicate a Housing
2023-05-12   2023-05-14 n/nyc-suburbs-affordable-housing.html        Crisis                                      By Ginia Bellafante               TX 9-299-029   2023-07-03



                                                                                 Page 5225 of 5793
                        https://www.nytimes.com/2023/05/12/nyregio Subway Killing Fuels Scrutiny of Polices    By Ana Ley and Chelsia Rose
2023-05-12   2023-05-14 n/police-subway-jordan-neely-nyc.html       Presence                                   Marcius                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/opinion
2023-05-12   2023-05-14 /covid-lab-safety.html                      The Viral Threat That Hasnt Gone Away      By Zeynep Tufekci                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/realesta It Takes a Little Effort to Make It Look
2023-05-12   2023-05-14 te/colin-king-coffee-table-tips.html        Effortless                                 By Tim McKeough                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/realesta As the Beaches of Malibu Beckon Rosie
2023-05-12   2023-05-14 te/rosie-odonnell-penthouse-listing.html    ODonnell Lists Her Manhattan Penthouse     By Vivian Marino                 TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/12/realesta
2023-05-12   2023-05-14 te/single-mother-households-co-living.html Mommunes Single Mothers Join Forces       By Debra Kamin                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/science Bernadine Strik 60 Who Discovered Ways to
2023-05-12   2023-05-14 /bernadine-strik-dead.html                  Improve Blueberry Harvests               By Daniel E Slotnik                TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/12/sports/s English Soccer Its Not All About Hooligans
2023-05-12   2023-05-14 occer/premier-league-manchester-city.html    Anymore                                   By Rory Smith                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/style/all Swept Up in a Clear Case of Manifestation
2023-05-12   2023-05-14 ison-flynn-jeffrey-hood-wedding.html         Destiny                                   By Jenny Block                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/style/an After a Dating Hiatus Embracing Something
2023-05-12   2023-05-14 de-flower-veronica-savage-wedding.html       New                                       By Louise Rafkin                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/style/jo
2023-05-12   2023-05-14 e-fay-dan-garness-wedding.html               On the Roof One Question After Another    By Rosalie R Radomsky            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/style/m
                        odern-love-mothers-day-alcoholism-
2023-05-12   2023-05-14 estrangement.html                            With Words a Stranger Grows More Familiar By Caitlin McCormick             TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/12/style/st Was the Proposal Too Corny Doesnt Look
2023-05-12   2023-05-14 ephanie-korbely-rohit-kalkur-wedding.html Like It                                       By Sadiba Hasan                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/style/th
2023-05-12   2023-05-14 ere-are-no-universal-salves.html              There Are No Universal Salves             By Heather Havrilesky           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/t-                                                   By Keizo Kitajima and Suzanne
2023-05-12   2023-05-14 magazine/edgy-classic-fashion.html            Look Sharp                                Koller                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/t-
2023-05-12   2023-05-14 magazine/manolo-blahnik-ossie-sandal.html Manolo Blahnik Turns Over an Old Leaf         By Lindsay Talbot               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/theater/ Writers Guild Nixes Waiver For Broadcast Of By Michael Paulson and John
2023-05-12   2023-05-14 writers-strike-tony-awards.html               the Tonys                                 Koblin                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/us/polit
                        ics/immigration-courts-delays-migrants-title- Judge Shortage Bogging Down Asylum
2023-05-12   2023-05-14 42.html                                       Process                                   By Zolan KannoYoungs            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/arts/mu Sweden Wins Eurovision as UK Hosts a         By Alex Marshall and Maria
2023-05-13   2023-05-14 sic/eurovision-2023-final-sweden.html         Party Celebrating Ukraine                 Varenikova                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/arts/mu
2023-05-13   2023-05-14 sic/gustavo-dudamel-recordings.html           A Maestro Divined From the Vinyl          By David Allen                  TX 9-299-029   2023-07-03




                                                                                Page 5226 of 5793
                        https://www.nytimes.com/2023/05/13/busines The DEI Movement Picks Up a Word
2023-05-13   2023-05-14 s/diversity-equity-inclusion-belonging.html Belonging                                    By Jennifer Miller             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/busines
2023-05-13   2023-05-14 s/media/formula-1-logan-sargeant.html        The Florida Man Of Formula 1                By Michael M Grynbaum          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/fashion Lavish Indian Weddings Are Back and Bigger
2023-05-13   2023-05-14 /weddings/indian-weddings.html               Than Ever                                   By Praachi Raniwala            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/nyregio Puttin on the Spritz The Citys Last OldSchool By Corey Kilgannon and Juan
2023-05-13   2023-05-14 n/brooklyn-seltzer-boys.html                 Works                                       Arredondo                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/opinion The Pandemic May Be Over but Soft Pants
2023-05-13   2023-05-14 /soft-hard-pants.html                        Are Forever                                 By David Mack                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/opinion
2023-05-13   2023-05-14 /trump-desantis-town-hall.html               Trumps Lesson for the News Media            By Ross Douthat                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/opinion
2023-05-13   2023-05-14 /trump-town-hall-cnn.html                    No Playing Ostrich With Trump               By Maureen Dowd                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/opinion
2023-05-13   2023-05-14 /water-shortage-west.html                    One Almond 32 Gallons Of Water              By Nicholas Kristof            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/realesta
                        te/when-packages-go-missing-can-tenants-     When Packages Go Missing Can Tenants
2023-05-13   2023-05-14 check-the-surveillance-tapes.html            Check Security Videos                       By Ronda Kaysen                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/sports/b
                        asketball/golden-state-warriors-los-angeles- Rout by Lakers Starts Golden State Summer
2023-05-13   2023-05-14 lakers.html                                  On an Uncertain Note                        By Sopan Deb                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/style/m Fans Adopt a Mother as the Spirit Moves
2023-05-13   2023-05-14 other-internet-slang-lgbtq.html              Them                                        By Ben Kesslen                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/style/to
                        m-bishop-chicago-international-miniatures-
2023-05-13   2023-05-14 show.html                                    Huge Obsession for Tiny Things              By Emma Orlow and Evan Jenkins TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/us/abor North Carolina Governor Vetoes 12Week
2023-05-13   2023-05-14 tion-north-carolina-governor-veto.html       Abortion Ban                                By Kate Kelly                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/us/polit Black Students on a Biden Disconnect and     By Zolan KannoYoungs and Kyna
2023-05-13   2023-05-14 ics/biden-howard-black-voters.html           Their Generational Shift                    Uwaeme                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/us/polit
                        ics/biden-howard-commencement-black-         At Howard Commencement Biden Warns of By Peter Baker and Zolan
2023-05-13   2023-05-14 voters.html                                  Sinister Forces Threatening Racial Progress KannoYoungs                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/us/polit Border Rule Change Highlights Immigration By Katie Glueck and Zolan
2023-05-13   2023-05-14 ics/democrats-immigration-title-42.html      Debate Among Democrats                      KannoYoungs                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/us/polit DeSantis Bruised by Missteps Is Limping to By Shane Goldmacher Maggie
2023-05-13   2023-05-14 ics/desantis-trump-2024.html                 the Starting Line                           Haberman and Jonathan Swan     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/us/polit
2023-05-13   2023-05-14 ics/immigration-border-laws-congress.html Asylum Debate Snarls Deal on Immigration By Karoun Demirjian                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/us/san-
2023-05-13   2023-05-14 diego-homelessness.html                      The Struggle to Save Abdul                  By Eli Saslow and Erin Schaff  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/world/a Modis Party Loses a State Election in the
2023-05-13   2023-05-14 sia/india-modi-elections.html                South Giving Hope to Indias Opposition      By Mujib Mashal and Hari Kumar TX 9-299-029   2023-07-03



                                                                              Page 5227 of 5793
                        https://www.nytimes.com/2023/05/13/world/a Long a Scourge in India Witch Hunting Lives
2023-05-13   2023-05-14 sia/india-witch-hunting.html               On                                          By Suhasini Raj                TX 9-299-029            2023-07-03
                        https://www.nytimes.com/2023/05/13/world/c
                        anada/canada-most-photographed-house-      From Most Photographed to Most Likely
2023-05-13   2023-05-14 demolition.html                            Leveled                                     By Michael Levenson            TX 9-299-029            2023-07-03
                        https://www.nytimes.com/2023/05/13/world/e Prospect of Erdogan Loss Raises Global      By Steven Erlanger and Anatoly
2023-05-13   2023-05-14 urope/erdogan-turkey-russia.html           Stakes in Election                          Kurmanaev                      TX 9-299-029            2023-07-03
                        https://www.nytimes.com/2023/05/13/world/e
2023-05-13   2023-05-14 urope/rome-fava-beans-favism.html          A Time to Both Savor And Fear Fava Beans By Jason Horowitz                 TX 9-299-029            2023-07-03
                        https://www.nytimes.com/2023/05/13/world/e
                        urope/ukraine-germany-zelensky-            Germany Shows Ukraine Support With Major By Erika Solomon and Christopher
2023-05-13   2023-05-14 weapons.html                               Move                                        F Schuetze                     TX 9-299-029            2023-07-03

                        https://www.nytimes.com/2023/05/13/world/e Zelensky Meets With Pope as Kyivs Troops
2023-05-13   2023-05-14 urope/zelensky-pope-francis-ukraine-war.html Advance Near Bakhmut                            By Jason Horowitz                 TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/13/world/ Israel and Islamic Jihad Agree to Pause
2023-05-13   2023-05-14 middleeast/israel-islamic-jihad-violence.html Fighting                                       By Isabel Kershner                TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/14/busines
2023-05-14   2023-05-14 s/roxane-gay-work-advice-office-gifts.html You Dont Have to Pay for Her Happy Day            By Roxane Gay                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/busines
2023-05-14   2023-05-14 s/the-week-in-business-trump-cnn.html         The Week in Business Trump on TV               By Marie Solis                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/busines
                        s/whats-the-point-of-your-20s-ask-the-patron- A Voice of Reason to Guide You Through
2023-05-14   2023-05-14 saint-of-striving-youth.html                  Your 20s                                       By Emma Goldberg                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/insider/ At 94 a Lifetime of Stories and Still More to
2023-05-14   2023-05-14 milton-esterow.html                           Tell                                           By Emmett Lindner                 TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/14/insider/
2023-05-14   2023-05-14 platform-agnostic-for-nearly-100-years.html Platform Agnostic for Nearly 100 Years             By David W Dunlap               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/nyregio
2023-05-14   2023-05-14 n/jon-alpert.html                              Still Throwing Jabs and Fighting City Hall      By Alix Strauss                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/nyregio
2023-05-14   2023-05-14 n/sunset-park-street-vendors-protest.html      Politics and Pozole in a Battle for Sunset Park By John Leland and Lexi Parra   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/style/sp
2023-05-14   2023-05-14 ring-fashion-street-style.html                 Spring Dressing Isnt Impossible                 By Simbarashe Cha               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/us/polit Renaming a Military Base Honors the Family
2023-05-14   2023-05-14 ics/fort-benning-renamed-fort-moore.html       Unit                                            By Arin Yoon                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/world/a Lured to Their Graves by Promises of
2023-05-14   2023-05-14 frica/kenya-christian-cult-deaths.html         Salvation                                       By Andrew Higgins               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/busines
                        s/creative-directors-marketing-free-richardson-Two Creative Titans Share a Deep Faith In
2023-05-08   2023-05-15 phil-cho-compound.html                         Being Authentic                                 By Justin Baek                  TX 9-299-029   2023-07-03




                                                                                    Page 5228 of 5793
                                                                     Overlooked No More James Sakoda Whose
                        https://www.nytimes.com/2023/05/08/obituari Wartime Internment Inspired a Social Science By Elizabeth Landau and Ben
2023-05-08   2023-05-15 es/james-sakoda-overlooked.html              Tool                                        Klemens                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/arts/des
                        ign/venice-architecture-biennale-lesley-      A New View On Race Space And
2023-05-09   2023-05-15 lokko.html                                   Architecture                                By Patricia Leigh Brown       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/technol Growing Trade Restrictions Force New
2023-05-11   2023-05-15 ogy/china-us-chip-controls.html              Business Plans And Altered Supply Chains    By Chang Che and John Liu     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/technol A Company That Is Crucial To the Security of
2023-05-11   2023-05-15 ogy/taiwan-tsmc-microchips.html              an Island Faces a Shortage of Engineers     By John Liu and Paul Mozur    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/technol A HurdleFilled Race To Make Computer
2023-05-11   2023-05-15 ogy/us-chiplets-tech.html                    Chips                                       By Don Clark                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/arts/tele
2023-05-12   2023-05-15 vision/seinfeld-finale-anniversary.html      Years Later Seinfeld Resonates              By Maya Salam                 TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/12/arts/zel Aiming for the Sky Tears of the Kingdom
2023-05-12   2023-05-15 da-tears-kingdom-aonuma-fujibayashi.html Goes Vertical                                  By Zachary Small               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/books/y
2023-05-12   2023-05-15 ellowface-rf-kuang.html                     Biting the World That Feeds Her             By Alexandra Alter             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/busines Mike Pride 76 New Hampshire Editor Who
2023-05-12   2023-05-15 s/media/mike-pride-dead.html                Transformed a Newspaper Dies                By Sam Roberts                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/movies/
2023-05-12   2023-05-15 chris-messina-air.html                      Chris Messina Takes Flight                  By Calum Marsh                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/opinion
2023-05-12   2023-05-15 /texas-renewable-energy.html                Will Texas Blow Up Its Clean Energy Miracle By Michael E Webber            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/theater/
2023-05-12   2023-05-15 brokeback-mountain-play.html                No Matter the Forum The Tale Is a Tragedy By Douglas Greenwood             TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/12/theater/
2023-05-12   2023-05-15 jeremy-strong-broadway-enemy-people.html Jeremy Strong to Star In Enemy of the People By Michael Paulson               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/theater/
2023-05-12   2023-05-15 new-york-theater-workshop-season.html        An Artistic Director Embraces Risk         By Julia Jacobs                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/theater/
2023-05-12   2023-05-15 the-beautiful-lady-review.html               On the Cusp of Revolution Lets Sing It Out By Elisabeth Vincentelli       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/travel/tr
2023-05-12   2023-05-15 avel-insurance-advice.html                   Help Insurance Wont Cover a Canceled Tour By Seth Kugel                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/article/cyclone-     Myanmar and Bangladesh Sidestep Worst of By John Yoon Judson Jones Jin Yu
2023-05-12   2023-05-15 mocha-bangladesh-myanmar.html                Cyclone                                    Young and Saif Hasnat          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/nyregio NJ Lawyer Found Guilty Of Murdering His
2023-05-13   2023-05-15 n/james-ray-murder-trial-montclair.html      Girlfriend                                 By Tracey Tully                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/busines A Biden Goal and a Rule in Europe Getting By Bernhard Warner and Sarah
2023-05-13   2023-05-15 s/dealbook/passenger-rights-europe.html      Paid If Your Flights Delayed               Kessler                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/fashion Slava Zaitsev 85 Dies A SovietEra Couturier
2023-05-13   2023-05-15 /slava-zaitsev-dead.html                     Who Dressed the Elite                      By Penelope Green              TX 9-299-029   2023-07-03




                                                                                Page 5229 of 5793
                        https://www.nytimes.com/2023/05/13/movies/ Pema Tseden 53 Tibetan Author and
2023-05-13   2023-05-15 pema-tseden-dead.html                      Filmmaker Who Eluded Chinese Censors         By Tiffany May                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/13/nyregio Homeless Man on Citys Radar Years Before
2023-05-13   2023-05-15 n/jordan-neely-top-50-mental-illness.html  Death on Subway                              By Andy Newman                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/13/nyregio Play Inspired by College Sex Cult Hits Close
2023-05-13   2023-05-15 n/sarah-lawrence-sex-cult-play-runts.html  to Home                                      By Corey Kilgannon                TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/13/sports/r The View of Road Races From the Back of
2023-05-13   2023-05-15 unning-races-back-of-the-pack-slowest.html the Pack                                     By Jennie Coughlin                TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/13/sports/o
2023-05-14   2023-05-15 lympics/tori-bowie-death-funeral.html       Sprinters Hometown Mourns Sudden Death By Talya Minsberg                      TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/14/busines Baby Boomers Leaving Behind Riches Still By Talmon Joseph Smith and Karl
2023-05-14   2023-05-15 s/economy/wealth-generations.html           Mostly for the Rich                         Russell                           TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/14/crossw
2023-05-14   2023-05-15 ords/daily-puzzle-2023-05-15.html           Small Clues That Dont Come Up Short         By Sam Corbin                     TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/14/nyregio
                        n/daniel-penny-jordan-neely-                On the Right Help for Man Charged in
2023-05-14   2023-05-15 conservative.html                           Chokehold Death                             By Maria Cramer                   TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/14/nyregio Adams Says Hes a Progressive New Yorks
2023-05-14   2023-05-15 n/eric-adams-conservative-migrants.html     Left Begs to Differ                         By Emma G Fitzsimmons             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/14/opinion
2023-05-14   2023-05-15 /debt-limit-constitution.html               Ignoring the Debt Limit Would Be Dangerous By Michael W McConnell             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/14/opinion A Preventable Tragedy on New Yorks
2023-05-14   2023-05-15 /jordan-neely-killing-subway.html           Subway                                      By David French                   TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/14/opinion
2023-05-14   2023-05-15 /sudan-medicine-doctors.html                In Conflict Real Heroes Stay Behind         By Farah Stockman                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/14/sports/b
                        asketball/ja-morant-memphis-grizzlies-      Morant Suspended from Grizzlies for Posting
2023-05-14   2023-05-15 suspended-gun-video.html                    Possible New Gun Video                      By Tania Ganguli                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/14/sports/b
                        asketball/jayson-tatum-boston-celtics-      Tatum Erupts for 51 a Game 7 Record as
2023-05-14   2023-05-15 philadelphia-76ers.html                     Boston Knocks Out Philadelphia              By Scott Cacciola                 TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/14/sports/s When Your Champions League Dream Runs
2023-05-14   2023-05-15 occer/shakhtar-donetsk-ukraine-soccer.html Through a War Zone                            By Tariq Panja                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/us/polit
                        ics/desantis-impresses-in-iowa-showing-up-an DeSantis Charms Iowa Besting an Absent      By Nicholas Nehamas and Maggie
2023-05-14   2023-05-15 absent-trump.html                            Trump                                       Haberman                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/us/polit
2023-05-14   2023-05-15 ics/immigration-legislation-congress.html    Tracing 2 Decades of Failure on Immigration By Karoun Demirjian                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/us/polit
                        ics/military-proxy-niger-somalia-human-      Pentagon Not Required to Vet Foreign Proxy
2023-05-14   2023-05-15 rights.html                                  Forces for Human Rights Violations          By Charlie Savage and Eric Schmitt TX 9-299-029   2023-07-03




                                                                                Page 5230 of 5793
                        https://www.nytimes.com/2023/05/14/us/polit
                        ics/nikki-haley-republicans-federal-abortion- Haley Declines to Endorse A Federal Ban on
2023-05-14   2023-05-15 ban.html                                       Abortions                                     By Maggie Astor                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/us/polit Its Been a Tumultuous Week What Does It
2023-05-14   2023-05-15 ics/trump-biden-election.html                  Tell Us About 2024                            By Jonathan Weisman                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/world/a Thai Voters Overwhelmingly Back Two               By SuiLee Wee and Muktita
2023-05-14   2023-05-15 sia/thailand-election-results.html             Opposition Parties Rejecting Military         Suhartono                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/world/a
2023-05-14   2023-05-15 sia/thailands-election-issues.html             In Thailand a Referendum on Tradition         By SuiLee Wee                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/world/e Ukraine Makes Gains in Suburbs as
2023-05-14   2023-05-15 urope/bakhmut-ukraine-battle.html              Relentless Shelling Pummels Bakhmut           By Marc Santora and Tyler Hicks    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/world/e
                        urope/turkey-erdogan-presidential-             In Turkey Vote Erdogan Fails To Get           By Ben Hubbard and Gulsin
2023-05-14   2023-05-15 election.html                                  Majority                                      Harman                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/world/e Zelensky Visits Germany Praising Weapons
2023-05-14   2023-05-15 urope/ukraine-zelensky-berlin.html             Pledge and Pushing for Jets                   By Erika Solomon                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/world/
                        middleeast/israel-gaza-fighting-cease-         CeaseFire but No Resolution of the Conflict
2023-05-14   2023-05-15 fire.html                                      Between Gaza and Israel                       By Patrick Kingsley                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/us/migr Title 42 is Gone but Not the Conditions
2023-05-15   2023-05-15 ants-condition-title-42-ends.html              Driving Migrants to the US                    By Miriam Jordan                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/arts/tele
                        vision/whats-on-tv-this-week-ghosts-of-beirut-                                               By Taylor Robinson and Kristen
2023-05-15   2023-05-15 and-the-secrets-of-hillsong.html               This Week on TV                               Bayrakdarian                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/busines
                        s/energy-environment/trinidad-tobago-climate-Trinidad Faces Warmer Wetter Weather
2023-05-15   2023-05-15 change.html                                    Spurring Debate Over Its Fossil Fuel Use      By Clifford Krauss                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/busines
                        s/energy-environment/trinidad-tobago-gas-      Island Nation Strives to Go Green but Oil and
2023-05-15   2023-05-15 oil.html                                       Gas Come First                                By Clifford Krauss                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/sports/b
                        asketball/victor-wembanyama-nba-draft-         Sure Thing In the Draft Is Reliable In
2023-05-15   2023-05-15 lottery.html                                   Adversity                                     By Tania Ganguli                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/us/nort North Carolina Faces Veto Fight On Abortion
2023-05-15   2023-05-15 h-carolina-abortion-veto-roy-cooper.html       Bill                                          By Kate Kelly                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/world/a Massacre of Chinese Gold Miners Puts New
2023-05-15   2023-05-15 sia/china-africa-miners-wagner.html            Pressure on Beijing                           By Nicole Hong and Elian Peltier   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/
                        15/upshot/migrations-college-super-            Coastal Cities Priced Out LowWage Workers By Emily Badger Robert Gebeloff
2023-05-15   2023-05-15 cities.html                                    Now College Graduates Are Leaving Too         and Josh Katz                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/03/science
2023-05-03   2023-05-16 /star-eating-planet.html                       Glimpse of a Planet Being Gobbled Up          By Becky Ferreira                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/science Around a Dazzling Star Wreaths of Cosmic
2023-05-08   2023-05-16 /fomalhaut-star-webb-telescope.html            Chaos                                         By Robin George Andrews            TX 9-299-029   2023-07-03




                                                                                  Page 5231 of 5793
                        https://www.nytimes.com/2023/05/08/well/fa
2023-05-08   2023-05-16 mily/teens-sleep-insomnia.html              Proper Rest for Teenagers Is a Real Challenge By Catherine Pearson             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/well/ski
2023-05-09   2023-05-16 n-tags-removal.html                         How Do I Get Rid of Skin Tags                 By Melinda Wenner Moyer          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/busines                                                By Jordyn Holman and Kalley
2023-05-10   2023-05-16 s/live-shopping-us.html                     Online Shopping Comes to Life                 Huang                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/science Scientists Map a More Diverse Human
2023-05-10   2023-05-16 /pangenome-human-dna-genetics.html          Genome                                        By Elie Dolgin                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/well/liv
2023-05-10   2023-05-16 e/birth-control-pill-otc.html               Mini Contraceptive Pill Explaining a Proposal By Alisha Haridasani Gupta       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/10/well/m
2023-05-10   2023-05-16 ove/fitness-influencers.html                How to Evaluate An Exercise Influencer        By Danielle Friedman             TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/11/theater/
2023-05-11   2023-05-16 daddy-marion-siefert-review-odeon-paris.html Deep Into the Internets Darkest Corners       By Laura Cappelle               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/arts/mu Thomas Stacy 84 Who Made the English
2023-05-12   2023-05-16 sic/thomas-stacy-dead.html                   Horn Sing Like a Human Voice                  By Neil Genzlinger              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/movies/
                        with-monica-trace-lysette-is-ready-for-
2023-05-12   2023-05-16 more.html                                    To Be Seen As More Than Trans                 By Erik Piepenburg              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/science
2023-05-12   2023-05-16 /astronomy-black-hole.html                   Telescopes Capture A Singular Cosmic Blast By Dennis Overbye                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/science
2023-05-12   2023-05-16 /saturn-moons-jupiter.html                   Saturns Moons Knock Jupiter Off Its Pedestal By Jonathan OCallaghan           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/well/mi
                        nd/postpartum-depression-treatment-
2023-05-12   2023-05-16 symptoms.html                                More Help for Women at a Tough Time           By Dana G Smith                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/theater/
2023-05-13   2023-05-16 the-cotillion-review.html                    Dressed Up for a Party But Reality Intervenes By Maya Phillips                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/busines Bill Oesterle 57 Who Improved Homes
2023-05-14   2023-05-16 s/bill-oesterle-dead.html                    Through Angies List Dies                      By Daniel E Slotnik             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/movies/
2023-05-14   2023-05-16 michael-j-fox-interview.html                 A Stars Film Clips Help Illustrate His Story By Robert Ito                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/sports/b Don Denkinger 86 a Precise Umpire
2023-05-14   2023-05-16 aseball/don-denkinger-dead.html              Remembered for One Very Big Mistake           By Richard Goldstein            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/us/polit Philadelphia Democrats Face Primary For
2023-05-14   2023-05-16 ics/philadelphia-mayor-democratic-.html      Mayor                                         By Katie Glueck                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/
                        14/us/politics/scam-robocalls-donations-     How to Raise 89 Million in Small Donations By David A Fahrenthold Tiff Fehr
2023-05-14   2023-05-16 policing-veterans.html                       and Make It Disappear                         and Charlie Smart               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/arts/des
                        ign/christies-jewelry-sale-202-million-      Despite Nazi Shadow Christies Jewelry Sale
2023-05-15   2023-05-16 record.html                                  Sets Record                                   By Zachary Small                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/arts/des
2023-05-15   2023-05-16 ign/frieze-new-york.html                     Popping up in an art hub                      By Ted Loos                     TX 9-299-029   2023-07-03



                                                                                Page 5232 of 5793
                        https://www.nytimes.com/2023/05/15/arts/des
2023-05-15   2023-05-16 ign/liao-wen-frieze-new-york.html            Capturing the agony and ecstasy of life      By Andrew Russeth               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/arts/des
2023-05-15   2023-05-16 ign/roe-wade-frieze-new-york.html            Framing a turbulent era                      By Keridwen Cornelius           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/arts/des
2023-05-15   2023-05-16 ign/tracey-rose-queens-museum.html           From one discovery to another                By PierreAntoine Louis          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/arts/fria
2023-05-15   2023-05-16 rs-club-last-call.html                       Haven of Cigars and Laughs Seeks a Savior By Julia Jacobs                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/arts/mu
                        sic/boston-symphony-chad-smith-los-angeles- Chad Smith Hired to Lead the Boston
2023-05-15   2023-05-16 philharmonic.html                            Symphony                                     By Javier C Hernndez            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/arts/mu
                        sic/stranger-love-los-angeles-
2023-05-15   2023-05-16 philharmonic.html                            It Happens Just One Night                    By Zachary Woolfe               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/arts/tele
2023-05-15   2023-05-16 vision/succession-election.html              Democracy Goes Up In Smoke                   By James Poniewozik             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/books/h
                        enry-threadgill-easily-slip-into-another-    Vietnam Transformed How He Heard the
2023-05-15   2023-05-16 world.html                                   World                                        By Dwight Garner                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/busines
                        s/economy/russia-airlines-sanctions-         USMade Technology Flows to Russia Despite By Ana Swanson and Niraj
2023-05-15   2023-05-16 ukraine.html                                 Global Sanctions on the Nation               Chokshi                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/busines
                        s/economy/san-francisco-fed-silicon-valley- Fed Ties to SVB Chief Attracts Scrutiny to
2023-05-15   2023-05-16 bank.html                                    CenturyOld Setup                             By Jeanna Smialek               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/busines
                        s/media/philadelphia-inquirer-               Possible Cyberattack Disrupts Print
2023-05-15   2023-05-16 cyberattack.html                             Operations at The Philadelphia Inquirer      By Michael Levenson             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/busines Once Soaring Vice Media Now Faces              By Lauren Hirsch and Benjamin
2023-05-15   2023-05-16 s/media/vice-bankruptcy.html                 Bankruptcy                                   Mullin                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/busines
                        s/media/writers-strike-nbc-upfronts-
2023-05-15   2023-05-16 week.html                                    Striking Writers Disrupt TVs Big Ad Event By John Koblin                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/health/a Alzheimers Was Delayed By Mutation Study
2023-05-15   2023-05-16 lzheimers-mutation-gene.html                 Finds                                        By Gina Kolata                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/insider/
                        finding-order-in-a-thicket-of-nonprofit-
2023-05-15   2023-05-16 data.html                                    Finding Order in a Thicket of Nonprofit Data By Tiff Fehr                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/movies/
2023-05-15   2023-05-16 cannes-film-festival-what-to-see.html        The Annual Holy Pilgrimage to Cannes         By Kyle Buchanan                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/nyregio City Fines Mayors Team For Violating
2023-05-15   2023-05-16 n/adams-campaign-fines-violations.html       Finance Rules                                By Dana Rubinstein              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/opinion Why Are Americans So Negative About the
2023-05-15   2023-05-16 /americans-negative-economy.html             Economy                                      By Paul Krugman                 TX 9-299-029   2023-07-03




                                                                                Page 5233 of 5793
                        https://www.nytimes.com/2023/05/15/opinion                                                By Mitchell Abidor and Miguel
2023-05-15   2023-05-16 /france-macron-le-pen.html                   Protests in France Are Lifting the Far Right Lago                                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/opinion
2023-05-15   2023-05-16 /trump-cnn-biden-jordan-neely.html          Trump Cannot Be Unseen                        By Gail Collins and Bret Stephens   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/science
2023-05-15   2023-05-16 /environmental-dna-ethics-privacy.html      A DNA Quandary                                By Elizabeth Anne Brown             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/sports/b What We Have Learned After a Quarter of the
2023-05-15   2023-05-16 aseball/mets-yankees.html                   Season                                        By Benjamin Hoffman                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/sports/b Amid the Current Playoffs a Lottery That
2023-05-15   2023-05-16 asketball/nba-draft-lottery.html            Could Help Shape Future Ones                  By Victor Mather                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/sports/d Doyle Brunson Colorful Cowboy Atop the
2023-05-15   2023-05-16 oyle-brunson-dead.html                      World of Poker Dies at 89                     By Kathleen McElroy                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/sports/g Thomas Returns As a Champion Not as a
2023-05-15   2023-05-16 olf/pga-championship-justin-thomas.html     Winner                                        By Bill Pennington                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/technol
2023-05-15   2023-05-16 ogy/eu-microsoft-activision-blizzard.html   EU Clears Acquisition Of Activision           By Adam Satariano                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/theater/ Having Fun With a Tragedy Can Be a
2023-05-15   2023-05-16 romeo-and-juliet-review.html                Cautionary Tale                               By Alexis Soloski                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/us/chic
                        ago-mayor-brandon-johnson-policing-         New Mayors Mission Lift Chicago From Its
2023-05-15   2023-05-16 migrants.html                               Pandemic Funk                                 By Julie Bosman and Mitch Smith     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/us/hertz Hertz Apologizes After Denying Service to
2023-05-15   2023-05-16 puerto-rico-american-passport.html          Puerto Rican Man                              By Christine Hauser                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/us/polit Contours of a Possible Deal Emerge in Debt By Zolan KannoYoungs and Catie
2023-05-15   2023-05-16 ics/biden-debt-limit-talks.html             Limit Talks                                   Edmondson                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/us/polit A Cancer Surgeon and Patient Is Bidens
2023-05-15   2023-05-16 ics/biden-monica-bertagnolli-nih.html       Choice to Lead NIH                            By Sheryl Gay Stolberg              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/us/polit Biden Promotes Quality Careers Minus a
2023-05-15   2023-05-16 ics/biden-working-class-voters.html         Degree                                        By Zolan KannoYoungs                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/us/polit Man With Bat Hurts 2 Aides At Lawmakers By Luke Broadwater Remy Tumin
2023-05-15   2023-05-16 ics/connolly-staffers-attacked.html         Virginia Office                               and Stephanie Lai                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/us/polit
2023-05-15   2023-05-16 ics/election-denial-republicans.html        How Election Denial Hurt GOP in 2022          By Nick Corasaniti                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/us/polit The IRS Acknowledges Black Americans
2023-05-15   2023-05-16 ics/irs-black-americans-tax-audit.html      Face Audits at a Higher Rate                  By Alan Rappeport                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/us/polit 16 Crucial Words That Went Missing From a
2023-05-15   2023-05-16 ics/qualified-immunity-supreme-court.html Landmark Civil Rights Law                       By Adam Liptak                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/us/polit
                        ics/supreme-court-south-carolina-voting-    Justices Will Weigh Racial Bias Allegations
2023-05-15   2023-05-16 map.html                                    in South Carolina Map                         By Adam Liptak                      TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/15/us/polit Supreme Court Will Wade Into Fight on
2023-05-15   2023-05-16 ics/supreme-court-trump-hotel-records.html Trump Hotel                              By Adam Liptak                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/us/polit                                         By Charlie Savage Glenn Thrush
2023-05-15   2023-05-16 ics/trump-russia-investigation-durham.html Durham Slams FBI as Biased In Trump Case Adam Goldman and Katie Benner             TX 9-299-029   2023-07-03



                                                                                 Page 5234 of 5793
                        https://www.nytimes.com/2023/05/15/well/eat
2023-05-15   2023-05-16 /sweeteners-weight-loss-who.html            WHO Warns Against Artificial Sweeteners    By April Rubin                  TX 9-299-029          2023-07-03
                        https://www.nytimes.com/2023/05/15/world/a
                        mericas/mexico-obrador-presidential-plane- Mexicos Lavish Presidential Jet Now Belongs
2023-05-15   2023-05-16 tajikistan.html                             to Tajikistan                              By Jesus Jimnez                 TX 9-299-029          2023-07-03
                        https://www.nytimes.com/2023/05/15/world/a
                        mericas/paraguay-election-colorado-         Chicken Noodles and Cash Paying for Votes By Jack Nicas and Mara Magdalena
2023-05-15   2023-05-16 party.html                                  in Paraguay                                Arrllaga                        TX 9-299-029          2023-07-03
                        https://www.nytimes.com/2023/05/15/world/a China Sentences US Citizen To Life Term for
2023-05-15   2023-05-16 sia/china-american-spy-prison.html          Espionage                                  By Chang Che and Olivia Wang    TX 9-299-029          2023-07-03

                        https://www.nytimes.com/2023/05/15/world/a Cyclone Leaves Thousands Homeless in
2023-05-15   2023-05-16 sia/cyclone-mocha-bangladesh-myanmar.html Bangladesh and Myanmar                     By Saif Hasnat and Suhasini Raj          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/world/a As Japan Unmasks Coach Is Giving Lessons
2023-05-15   2023-05-16 sia/japan-covid-smiling-lessons.html       in Smiling                                By Hisako Ueno and Mike Ives             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/world/a In Japan Abuse Claims Spur Apology At Pop
2023-05-15   2023-05-16 sia/johnny-kitagawa-abuse-apology.html     Firm                                      By Hisako Ueno and Yan Zhuang            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/world/a
                        sia/thailand-election-results-coalition-   Thai Election Winner Organizes Coalition  By SuiLee Wee and Muktita
2023-05-15   2023-05-16 government.html                            Challenging the Junta                     Suhartono                                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/world/e
                        urope/netflix-diplomat-keri-russell-       At the Real Embassy an American
2023-05-15   2023-05-16 london.html                                Ambassadors Life Is No Spy Thriller       By Mark Landler                          TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/15/world/e Zelenskys European Tour Ends in Britain
2023-05-15   2023-05-16 urope/ukraine-war-zelensky-foreign-aid.html With a Promise of More Arms                  By Mark Landler                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/world/e Sending a Message With Their Bombs And
2023-05-15   2023-05-16 urope/ukrainian-rocket-messages.html        on Them Too                                  By Maria Varenikova                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/world/
                        middleeast/palestine-displacement-israel-   In a First the UN Commemorates the
2023-05-15   2023-05-16 un.html                                     Displacement of Palestinians                 By Farnaz Fassihi and Hiba Yazbek TX 9-299-029      2023-07-03

                        https://www.nytimes.com/2023/05/15/world/
2023-05-15   2023-05-16 middleeast/turkey-election-polls-erdogan.html Erdogans Grip on Power Loosens but It Holds By Ben Hubbard                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/world/e
                        urope/belarus-president-lukashenko-           Lukashenko Is Absent And Rumors Are
2023-05-15   2023-05-16 photo.html                                    Growing                                     By Andrew Higgins                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/live/2023/05/15/wo
                        rld/russia-ukraine-news/ukraine-claims-       Advances Near Bakhmut Pressure Russian      By Marc Santora Carlotta Gall and
2023-05-15   2023-05-16 further-advances-around-bakhmut               Troops                                      Oleksandr Chubko                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/opinion
2023-05-16   2023-05-16 /christian-nationalism-election-2024.html     Christian Nationalism Will Dominate in 2024 By Michelle Goldberg                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/theater/ Tony Awards Broadcast Can Proceed After By Michael Paulson and John
2023-05-16   2023-05-16 agreement-tony-awards-writers-strike.html     Striking Writers Union Agrees               Koblin                              TX 9-299-029   2023-07-03




                                                                                 Page 5235 of 5793
                        https://www.nytimes.com/2023/05/15/us/polit Pence Looks Toward 24 Run Pitching           By Jonathan Swan Maggie
2023-05-16   2023-05-16 ics/pence-2024-preparations.html            Himself as a Classical Conservative          Haberman and Shane Goldmacher TX 9-299-029        2023-07-03
                        https://www.nytimes.com/2023/05/16/science
2023-05-16   2023-05-16 /archaeology-ancient-egypt-hands.html       To Victors Severed Hands                     By Franz Lidz                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/science
2023-05-16   2023-05-16 /condors-zoos-breeding.html                 Tricking Expectant Condors and Proud of It   By Emily Anthes                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/sports/g A Giant of the Game With His Mind on the
2023-05-16   2023-05-16 olf/jack-nicklaus-pga-championship.html     Future                                       By Alan Blinder                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/us/polit Fears of Chaos At Border Ease As Arrivals
2023-05-16   2023-05-16 ics/biden-border-restrictions-lifted.html   Ebb                                          By Michael D Shear               TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/10/dining/
2023-05-10   2023-05-17 asparagus-recipes-soup-pasta-grain-bowl.html Six Weeks of Bright Green Delight           By Melissa Clark                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/11/dining/
2023-05-11   2023-05-17 clear-ice-book-camper-english.html           A Quest for Transparent Cocktail Ice        By Robert Simonson               TX 9-299-029     2023-07-03

                        https://www.nytimes.com/interactive/2023/05/ Who Gets In A Guide to Americas Chaotic    By Natalie Kitroeff Christine Zhang
2023-05-11   2023-05-17 11/world/americas/mexico-border-routes.html Border Rules                                Miriam Jordan and Eileen Sullivan TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/12/dining/
2023-05-12   2023-05-17 chino-latino-food-nyc-tiktok.html            Lo Mein and Ropa Vieja Sharing a Menu      By Christina Morales                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/article/how-to-cook-
2023-05-12   2023-05-17 salmon-crispy-skin.html                      For Perfect Salmon Add Salt and Wait       By J Kenji LpezAlt                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/sports/t Owen Davidson 79 Volley Virtuoso Who
2023-05-14   2023-05-17 ennis/owen-davidson-dead.html                Won 8 Majors With Billie Jean King         By Alex Traub                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/us/snap Chonkosaurus Will Crawl His Way Right Into
2023-05-14   2023-05-17 ping-turtle-chicago-chonkosaurus.html        Your Heart                                 By Eduardo Medina                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/arts/mu
                        sic/morgan-wallen-one-thing-at-a-time-10-    Morgan Wallen Continues to Extend His Stay
2023-05-15   2023-05-17 weeks-billboard.html                         Atop the Charts                            By Ben Sisario                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/books/a
2023-05-15   2023-05-17 nne-berest-the-postcard.html                 Inviting Ghosts Into Her Home              By Laura Cappelle                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/dining/
                        churros-ice-cream-athletic-brewing-          To Lick A New Crunchy Cone Comes Rolling
2023-05-15   2023-05-17 radler.html                                  Into Town                                  By Florence Fabricant               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/dining/
2023-05-15   2023-05-17 outdoor-griddle-flattop-grill.html           The Grill No This Is a Job for the Griddle By Steven Raichlen                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/dining/r Whose Pocket Is That Service Charge Going
2023-05-15   2023-05-17 estaurant-service-charges.html               Into                                       By Priya Krishna                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/nyregio
2023-05-15   2023-05-17 n/nyc-reading-curriculum.html                In New York City a New Lesson on Reading By James Barron                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/arts/des German Court Convicts Five Men for 100
2023-05-16   2023-05-17 ign/green-vault-jewel-heist.html             Million Jewel Heist                        By Christopher F Schuetze           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/arts/mu She Is Turning Small Moments Into Big
2023-05-16   2023-05-17 sic/hannah-jadagu-aperture.html              Songs                                      By Jon Pareles                      TX 9-299-029   2023-07-03




                                                                                  Page 5236 of 5793
                        https://www.nytimes.com/2023/05/16/arts/ste
2023-05-16   2023-05-17 ven-wright-comedy-books.html                Deadpan Humor Ripens Into a Novel           By Jason Zinoman               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/books/a Amy Silverstein Who Chronicled A Life of
2023-05-16   2023-05-17 my-silverstein-dead.html                    Three Hearts Dies at 59                     By Alex Williams               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/books/
                        michael-lewis-ftx-bankman-fried-going-
2023-05-16   2023-05-17 infinite.html                               A Book Evolves as a Tycoons Empire Burns    By Alexandra Alter             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/busines US Sues to Block Amgens 278 Billion
2023-05-16   2023-05-17 s/amgen-horizon-therapeutics-lawsuit.html   Takeover of Horizon                         By Rebecca Robbins             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/busines
                        s/media/disney-world-ron-desantis-
2023-05-16   2023-05-17 lawsuit.html                                Disney Argues DeSantis Suit Was Nullified   By Brooks Barnes               TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/16/busines SVB Chief Puts Blame On Anyone But
2023-05-16   2023-05-17 s/silicon-valley-bank-becker-testimony.html Himself                                     By Rob Copeland                TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/16/busines Strippers Reach an Accord With a California
2023-05-16   2023-05-17 s/strippers-union-labor.html               Club Paving the Way for Unionization          By Noam Scheiber and Ava Sasani TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/busines Musk Warns Tesla Investors Of Challenging
2023-05-16   2023-05-17 s/tesla-shareholder-annual-meeting.html    Year Ahead                                    By Jack Ewing                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/busines
                        s/wells-fargo-shareholder-class-action-    Wells Fargo to Pay 1 Billion To Settle
2023-05-16   2023-05-17 settlement.html                            Shareholders Suit                             By John Yoon                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/climate In Concession From Biden Gas Pipeline Gets
2023-05-16   2023-05-17 /biden-mountain-valley-pipeline.html       Permit                                        By Lisa Friedman                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/dining/
2023-05-16   2023-05-17 hbo-succession-food.html                   Hungry for Power but Little Appetite for Food By Tejal Rao                    TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/16/dining/ Jaffa Cocktail Raw Bar From the Laser Wolf
2023-05-16   2023-05-17 nyc-restaurant-news.html                    Team Opens at the Hoxton in Williamsburg By Florence Fabricant             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/dining/t
2023-05-16   2023-05-17 obala-oaxacan-food-bronx.html               Follow the Details From Oaxaca to the Bronx By Pete Wells                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/dining/
2023-05-16   2023-05-17 watertok-tiktok-recipes.html                When Water Needs a Recipe                   By Amelia Nierenberg           TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/16/dining/
2023-05-16   2023-05-17 where-vegetarians-are-always-welcome.html Where Vegetarians Are Always Welcome       By Nikita Richardson              TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/health/c Many American Women Are Afraid of Giving
2023-05-16   2023-05-17 hildbirth-fear-women.html                   Birth                                    By Roni Caryn Rabin               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/movies/
                        strange-way-life-pedro-pascal-ethan-
2023-05-16   2023-05-17 hawke.html                                  Almodvars Answer to the Western          By Kyle Buchanan                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/nyregio                                           By Jeffery C Mays and Nicholas
2023-05-16   2023-05-17 n/richardson-jordan-harlem-council.html     Harlem Socialist Wont Seek 2nd Term      Fandos                            TX 9-299-029     2023-07-03




                                                                               Page 5237 of 5793
                        https://www.nytimes.com/2023/05/16/nyregio Indictment Says Rapper Bankrolled Gang
2023-05-16   2023-05-17 n/sheff-g-drill-rapper-charged.html          Killings                                     By Hurubie Meko                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/opinion On Immigration Biden Should OutTrump
2023-05-16   2023-05-17 /biden-trump-border-policy.html              Trump                                        By Thomas L Friedman           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/opinion Firearms Classes Taught Me a Dangerous
2023-05-16   2023-05-17 /firearms-guns-america-safety.html           Lesson                                       By Harel Shapira               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/opinion
2023-05-16   2023-05-17 /israel-75th-anniversary.html                At 75 Israel Has Plenty to Celebrate         By Bret Stephens               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/sports/b
                        asketball/becky-hammon-las-vegas-aces-       WNBA Suspends a Coach for Her Comments By Shauntel Lowe and Talya
2023-05-16   2023-05-17 dearica-hamby-pregnancy.html                 About a Players Pregnancy                    Minsberg                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/sports/f In Potential ShakeUp ExUFC Champion Joins
2023-05-16   2023-05-17 rancis-ngannou-pfl.html                      a Rival Company                              By Emmanuel Morgan             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/sports/g After a Meltdown at the Masters McIlroy
2023-05-16   2023-05-17 olf/rory-mcilroy-pga-championship.html       Hopes to Quiet His Doubters                  By Alan Blinder                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/sports/s
                        occer/champions-league-score-inter-          Inter Milan Usually on the Brink Improbably
2023-05-16   2023-05-17 milan.html                                   Advances to the Final                        By Rory Smith and Andrew Das   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/technol
2023-05-16   2023-05-17 ogy/microsoft-ai-human-reasoning.html        Microsoft Says New AI Nears Human Insight By Cade Metz                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/technol
                        ogy/openai-altman-artificial-intelligence-
2023-05-16   2023-05-17 regulation.html                              The Most Important Man in Tech Right Now By Cecilia Kang                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/us/abor Why a 150YearOld Lewdness Law Is Key to
2023-05-16   2023-05-17 tion-comstock-act.html                       the Abortion Pill Battle                     By Emily Bazelon               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/us/nort New Limit On Abortion Is Upheld In N
2023-05-16   2023-05-17 h-carolina-abortion-ban.html                 Carolina                                     By Kate Kelly                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/us/oreg Oregon Senators Face Reelection Ban After a
2023-05-16   2023-05-17 on-legislators-boycott.html                  Prolonged Boycott                            By Mike Baker                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/us/polit Abortion Pill Case Will Be Heard by Most
2023-05-16   2023-05-17 ics/abortion-pill-fifth-circuit-appeals.html Conservative Court in US                     By Abbie VanSickle             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/us/polit
                        ics/biden-manchin-inflation-reduction-       Manchin Clashes With Biden Officials Over
2023-05-16   2023-05-17 act.html                                     Climate Law                                  By Luke Broadwater             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/us/polit No Deal on Debt Limit For Biden and GOP By Zolan KannoYoungs and Catie
2023-05-16   2023-05-17 ics/biden-mccarthy-debt-ceiling.html         But Signs of Hope Arise                      Edmondson                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/us/polit Biden Vetoes Legislation to Reinstate Tariffs
2023-05-16   2023-05-17 ics/biden-solar-tariffs-veto.html            on Some Solar Panels                         By Zolan KannoYoungs           TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/16/us/polit
2023-05-16   2023-05-17 ics/durham-report-conservative-reaction.html In Report the Right Finds What It Needs    By Jonathan Weisman              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/us/polit
2023-05-16   2023-05-17 ics/george-santos-expel-congress.html        Vote to Expel Santos Pushed By Democrats   By Annie Karni                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/us/polit Intruder Found Inside Home Of National
2023-05-16   2023-05-17 ics/jake-sullivan-intruder-home.html         Security Adviser                           By Eileen Sullivan               TX 9-299-029   2023-07-03



                                                                                Page 5238 of 5793
                        https://www.nytimes.com/2023/05/16/us/polit
                        ics/kentucky-governor-gop-primary-          McConnell Ally Will Face Beshear for
2023-05-16   2023-05-17 cameron.html                                Kentucky Governor                           By Nick Corasaniti                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/16/us/polit
2023-05-16   2023-05-17 ics/rachael-rollins-massachusetts-resign.html Massachusetts US Attorney Is Resigning   By Glenn Thrush                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/us/polit US Officials Who Cast Doubt on Hunter
2023-05-16   2023-05-17 ics/republicans-hunter-biden-laptop.html      Bidens Laptop Face Questions             By Luke Broadwater                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/us/polit
                        ics/sanctions-tech-espionage-china-           New Task Force Brings Charges Citing the
2023-05-16   2023-05-17 russia.html                                   Theft Of Tech Secrets                    By Ana Swanson                     TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/us/polit GOP Focuses On Rare Stories Of Trans
2023-05-16   2023-05-17 ics/transgender-care-detransitioners.html     Regret                                   By Maggie Astor                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/us/polit Without Carlson at Fox Far Right Loses a
2023-05-16   2023-05-17 ics/tucker-carlson-far-right.html             Foothold in the Mainstream               By Charles Homans                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/us/san- Eyeing Reparations to Reverse a Black
2023-05-16   2023-05-17 francisco-reparations.html                    Exodus                                   By Tim Arango                      TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/world/a Sudans War Sends a Fresh Wave of Refugees
2023-05-16   2023-05-17 frica/chad-sudan-conflict.html                From Darfur to Chad                      By Elian Peltier and Yagazie Emezi TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/world/a
                        mericas/elperiodico-guatemala-                Another Setback for Guatemalas Brittle
2023-05-16   2023-05-17 newspaper.html                                Democracy                                By Jody Garca and Elda Cant        TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/16/world/a Cambodia Disqualifies Challengers From
2023-05-16   2023-05-17 sia/cambodia-election-candlelight-party.html Ballot                                      By Seth Mydans                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/world/a Seoul Wants More Babies Just Not in Public
2023-05-16   2023-05-17 sia/korea-no-kids-zones.html                 Places                                      By Jin Yu Young                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/world/e Putins War Ensnarled in Setbacks and          By Paul Sonne and Anton
2023-05-16   2023-05-17 urope/putin-russia-military-prigozhin.html   Disunity                                    Troianovski                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/world/e
                        urope/russia-ukraine-peace-ramaphosa-        Six Leaders From Africa Plan Mission For
2023-05-16   2023-05-17 africa.html                                  Peace                                       By Lynsey Chutel                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/world/e Ukraine Taking More Territory on the Edges
2023-05-16   2023-05-17 urope/ukraine-russia-bakhmut.html            of Bakhmut                                  By Marc Santora                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/world/e
                        urope/ukraine-russia-hypersonic-kinzhal-     Hypersonic Russian Missiles Were Shot
2023-05-16   2023-05-17 patriot.html                                 Down Over Kyiv Officials Say                By Victoria Kim and Eric Schmitt   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/world/
                        middleeast/executions-2022-amnesty-          Executions Across Globe Are Highest In Five
2023-05-16   2023-05-17 international.html                           Years                                       By Cora Engelbrecht                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/world/
                        middleeast/turkey-election-opposition-       Facing Runoff Turkeys Opposition Struggles By Ben Hubbard Safak Timur and
2023-05-16   2023-05-17 erdogan.html                                 to Chart Winning Path                       Gulsin Harman                      TX 9-299-029   2023-07-03




                                                                                Page 5239 of 5793
                        https://www.nytimes.com/2023/05/16/sports/b
                        asketball/nba-draft-lottery-victor-         San Antonio Wins Chance to Draft a Highly
2023-05-17   2023-05-17 wembanyama.html                             Anticipated Prospect                         By Sopan Deb                    TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/16/theater/ Longtime Bond Cemented by a Basketball
2023-05-17   2023-05-17 king-james-review.html                      Star                                         By Juan A Ramrez                TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/17/busines
2023-05-17   2023-05-17 s/burning-man-geothermal-plant-nevada.html A Geothermal Feud Draws In Burning Man        By Arielle Paul                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/17/health/ Drug Shortages Spur Rationing To Critically
2023-05-17   2023-05-17 drug-shortages-cancer.html                  Ill                                          By Christina Jewett             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/17/opinion
2023-05-17   2023-05-17 /tunisia-president-saied.html               A Tragedy Is Unfolding in Tunisia            By Nadia Marzouki               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/17/sports/g Late Bloomer Finally Finds A Spot Among
2023-05-17   2023-05-17 olf/pga-championship-steven-alker.html      The Elite                                    By Alan Blinder                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/17/us/polit After Years of Political Hype the Durham
2023-05-17   2023-05-17 ics/durham-report-trump-russia.html         Inquiry Failed to Deliver                    By Charlie Savage               TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/17/world/a
2023-05-17   2023-05-17 frica/south-africa-johannesburg-mayor.html A Revolving Door for Mayors                   By John Eligon and Lynsey Chutel TX 9-299-029   2023-07-03
                        https://www.nytimes.com/live/2023/05/17/wo
                        rld/russia-ukraine-news/ukraine-diary-a-
                        rebuilding-effort-brings-together-ukrainians- Rebuilding Villages and Bringing Young and
2023-05-17   2023-05-17 from-across-generations                       Old Together in Ukraine                    By Nicole Tung                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/09/books/r
2023-05-09   2023-05-18 eview/dennis-lehane-small-mercies.html        About Hate and Hope in Boston              By Janet Maslin                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/climate
2023-05-11   2023-05-18 /jigar-shah-climate-biden.html                A Solar Guru Greenlights Green Loans       By Brad Plumer and Lisa Friedman TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/style/ge
2023-05-11   2023-05-18 n-z-wholesome.html                            To Gen Z the World Needs Wholesome         By Sadiba Hasan                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/12/t-
2023-05-12   2023-05-18 magazine/fly-by-jing-diaspora-co-dinner.html People Places Things                        By Jean Trinh                   TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/13/busines
2023-05-13   2023-05-18 s/divorce-retirement-savings-planning.html Rebuilding Finances After Divorce             By Lela Nargi                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/15/arts/tele
2023-05-15   2023-05-18 vision/succession-alan-ruck.html             Succession Star Ready To Depart             By Finn Cohen                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/15/nyregio                                               By Patrick McGeehan and Asmaa
2023-05-15   2023-05-18 n/nyc-garage-collapse.html                   A Crumbling New York Garage Collapsed       Elkeurti                        TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/15/opinion Sure You Achieved but What Did You
2023-05-15   2023-05-18 /youth-achievement-happiness.html            Accomplish                                  By Adam Gopnik                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/15/style/ch
2023-05-15   2023-05-18 loe-sevigny-clothes-sale.html                When a Star Sells Her Old Clothes           By John Ortved                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/15/style/m
2023-05-15   2023-05-18 artha-stewart-sports-illustrated-cover.html  A Saucy Recipe for Reinvention              By Ruth La Ferla                TX 9-299-029    2023-07-03



                                                                                 Page 5240 of 5793
                        https://www.nytimes.com/2023/05/15/theater/ Its Political Poignant and It Might Even Be a
2023-05-15   2023-05-18 antigone-in-the-amazon-review.html          Play                                          By Laura Cappelle               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/arts/16 Journalist Masha Gessen Resigns From PEN
2023-05-16   2023-05-18 pen-masha-gessen-ukraine.html               America Board                                 By Jennifer Schuessler          TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/16/arts/pri                                               By Lauren Herstik and Matt
2023-05-16   2023-05-18 scilla-presley-riley-keough-elvis-estate.html Dispute Settled Over Presley Family Trust   Stevens                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/arts/ral Ralph Lee Father of Puppets and a New York
2023-05-16   2023-05-18 ph-lee-dead.html                              Parade Is Dead at 87                        By Neil Genzlinger              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/arts/tele Bill Saluga 85 the Comedic Wiseguy You
2023-05-16   2023-05-18 vision/bill-saluga-dead.html                  Can Call Ray or Jay or Johnny               By Richard Sandomir             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/busines
                        s/energy-environment/electric-vehicle-
2023-05-16   2023-05-18 delivery-vans.html                            Electric Work Vans Find Eager Buyers        By Neal E Boudette              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/opinion
2023-05-16   2023-05-18 /breast-cancer-screening.html                 Earlier Screening Yes Overtreatment No      By Mehra Golshan                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/style/wr Picketing With More Than a Contract on
2023-05-16   2023-05-18 iters-strike-romance.html                     Their Minds                                 By Gina Cherelus                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/arts/des
2023-05-17   2023-05-18 ign/sothebys-auctions-art.html                Magritte and Klimt Stand Out at Sothebys    By Zachary Small                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/us/polit
                        ics/desantis-kelly-craft-kentucky-            DeSantiss LastMinute Support in Kentucky Is By Nicholas Nehamas and Shane
2023-05-17   2023-05-18 governor.html                                 No Help                                     Goldmacher                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/arts/des Relics Redo Is Powering A Synergy Of
2023-05-17   2023-05-18 ign/powerhouse-art-factory-brooklyn.html      Artists                                     By Hilarie M Sheets             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/arts/mu
2023-05-17   2023-05-18 sic/carlos-simon-composer.html                Hes Busy Doing Honest Work                  By David Allen                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/arts/old Hebrew Bible Seen as Historic Fetches Price
2023-05-17   2023-05-18 est-bible-sothebys.html                       Near a Record                               By Jennifer Schuessler          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/books/b Florida District Is Sued Over Banning Books By Elizabeth A Harris and
2023-05-17   2023-05-18 an-florida-school-lawsuit-pen.html            From School Libraries                       Alexandra Alter                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/busines Robert E Lucas Jr 85 Economist Who
2023-05-17   2023-05-18 s/economy/robert-e-lucas-jr-dead.html         Challenged Keyness Theories                 By Sam Roberts                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/busines Fresh Off Trump Event Collins Is Picked to
2023-05-17   2023-05-18 s/media/cnn-kaitlan-collins.html              Host Coveted CNN Program                    By Michael M Grynbaum           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/busines For Gen Z Playing Influencer Comes
2023-05-17   2023-05-18 s/tiktok-influencers-gen-z.html               Naturally                                   By Sapna Maheshwari             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/climate EPA Announces Crackdown on Toxic Coal
2023-05-17   2023-05-18 /epa-coal-ash-landfills.html                  Ash From Landfills                          By Lisa Friedman                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/climate Heat Expected To Set Records In Next 5
2023-05-17   2023-05-18 /record-heat-forecast.html                    Years                                       By Brad Plumer                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/movies/
2023-05-17   2023-05-18 johnny-depp-cannes.html                       Depp Views Hollywood From a Safe Distance By Kyle Buchanan                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/nyregio Republicans in the House Stall the Effort to
2023-05-17   2023-05-18 n/george-santos-vote-expulsion.html           Expel Santos                                By Michael Gold                 TX 9-299-029   2023-07-03



                                                                                 Page 5241 of 5793
                                                                                                               By Chelsia Rose Marcius Mark
                        https://www.nytimes.com/2023/05/17/nyregio Harry Meghan and the Frenzy That Follows Landler Hurubie Meko and Michael
2023-05-17   2023-05-18 n/harry-meghan-car-chase.html              Their Every Move                            M Grynbaum                    TX 9-299-029         2023-07-03
                        https://www.nytimes.com/2023/05/17/nyregio
2023-05-17   2023-05-18 n/jordan-neely-killing-bystanders-nyc.html Uneasy Questions for Chokehold Witnesses By Chelsia Rose Marcius          TX 9-299-029         2023-07-03
                        https://www.nytimes.com/2023/05/17/nyregio
                        n/marijuana-mother-child-removed-          She Smoked Weed Legally City Took Her
2023-05-17   2023-05-18 lawsuit.html                               Baby                                        By Andy Newman                TX 9-299-029         2023-07-03
                        https://www.nytimes.com/2023/05/17/nyregio Operator Of Limo Firm In Fatal Crash Is
2023-05-17   2023-05-18 n/ny-limo-accident-verdict.html            Convicted                                   By Jesse McKinley             TX 9-299-029         2023-07-03
                        https://www.nytimes.com/2023/05/17/nyregio Facing BikePath Killer Victims Say Their    By Benjamin Weiser and Lola
2023-05-17   2023-05-18 n/saipov-sentencing-bike-path-killer.html  Piece                                       Fadulu                        TX 9-299-029         2023-07-03
                        https://www.nytimes.com/2023/05/17/opinion Republicans Want to Use the Debt Ceiling to
2023-05-17   2023-05-18 /debt-ceiling-republicans-poor.html        Inflict Cruelty on the Poor                 By David Firestone            TX 9-299-029         2023-07-03
                        https://www.nytimes.com/2023/05/17/opinion
2023-05-17   2023-05-18 /trump-desantis-2024.html                  Trump and DeSantis Loved Each Other Once By Gail Collins                  TX 9-299-029         2023-07-03

                        https://www.nytimes.com/2023/05/17/sports/b
2023-05-17   2023-05-18 aseball/hinchliffe-stadium-new-jersey.html  Reviving a Negro Leagues Monument            By Gary Phillips                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/17/sports/b
                        asketball/denver-nuggets-los-angeles-       Is This the Year the Nuggets Finally Pan Out
2023-05-17   2023-05-18 lakers.html                                 in the Postseason                            By Tania Ganguli                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/17/sports/b
                        asketball/ja-morant-memphis-grizzlies-gun- Silver Shocked by Morant Video as League
2023-05-17   2023-05-18 video.html                                  and Grizzlies Sort Out Discipline            By Sopan Deb                     TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/17/sports/b In Relentless Race For WNBA Talent The
2023-05-17   2023-05-18 asketball/wnba-liberty-joe-clara-wu-tsai.html Liberty Fly High                           By Kurt Streeter                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/17/sports/g
2023-05-17   2023-05-18 olf/curtis-strange-oak-hill.html              Move over Ben                              By Michael Arkush                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/sports/g Justice Department Interviews Top Stars as   By Alan Blinder Lauren Hirsch and
2023-05-17   2023-05-18 olf/liv-pga-antitrust-phil-mickelson.html     Part of an Antitrust Inquiry               Kevin Draper                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/sports/g Marlene Bauer Hagge 89 the Last of the
2023-05-17   2023-05-18 olf/marlene-bauer-hagge-dead.html             LPGAs Founders Dies                        By Richard Goldstein             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/17/sports/g
2023-05-17   2023-05-18 olf/pga-championship-oak-hill-guide.html      How Oak Hill Was Returned to Its Roots     By Alan Blinder                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/17/sports/g
2023-05-17   2023-05-18 olf/pga-championship-oak-hill.html            The enduring paradox of Oak Hill           By Paul Sullivan                 TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/17/sports/g
2023-05-17   2023-05-18 olf/pga-championship-schedule-oak-hill.html New schedule prompted new moves              By Liz Robbins                   TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/17/sports/s
                        occer/manchester-city-real-madrid-uefa-     Stakes at the Highest Manchester City Rises
2023-05-17   2023-05-18 champions-league-semifinal-second-leg.html Higher Toward a Prize                        By Rory Smith                     TX 9-299-029    2023-07-03



                                                                                 Page 5242 of 5793
                        https://www.nytimes.com/2023/05/17/us/cher
2023-05-17   2023-05-18 elle-parker-philadelphia-mayor-primary.html Milestone Vote In Philadelphia              By Campbell Robertson             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/hous Democrats Pushing for Debt Limit Vote if
2023-05-17   2023-05-18 e-democrats-petition-debt-limit-vote.html    Talks Fail                                 By Carl Hulse                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/idah Suspect Indicted in Fatal Stabbing of 4
2023-05-17   2023-05-18 o-murder-kohberger-indictment.html           University of Idaho Students               By Mike Baker                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/jack In Florida Upset Democrat Wins Jacksonville
2023-05-17   2023-05-18 sonville-mayor-donna-deegan.html             Mayor Race                                 By Patricia Mazzei                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/mcc Speaker Finally Gets a Seat At the Presidents
2023-05-17   2023-05-18 arthy-biden-debt-ceiling.html                Table                                      By Carl Hulse                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/polit Appeals Court Seems Ready to Curtail Access By Abbie VanSickle and Pam
2023-05-17   2023-05-18 ics/abortion-pill-case-arguments.html        to Abortion Pill                           Belluck                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/polit
                        ics/biden-debt-ceiling-shalanda-young-steve- Biden Picks 2 Negotiators To Meet With
2023-05-17   2023-05-18 ricchetti.html                               Republicans                                By Madeleine Ngo                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/polit Biden Says Hes Confident US Will Avert
2023-05-17   2023-05-18 ics/biden-debt-limit-default.html            Catastrophic Default                       By Zolan KannoYoungs              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/polit Yet Another Crisis Only Complicates
2023-05-17   2023-05-18 ics/biden-japan-debt-limit.html              Diplomacy Abroad                           By Peter Baker                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/polit DeSantis Signs Stack of RightWing Bills in By Nicholas Nehamas and Patricia
2023-05-17   2023-05-18 ics/desantis-bills-trans-rights.html         Prelude to 2024 Entrance                   Mazzei                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/polit US Drug Overdose Toll Neared 110000 in
2023-05-17   2023-05-18 ics/drug-overdose-deaths.html                2022                                       By Noah Weiland                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/polit US Attorneys Misconduct Extensive
2023-05-17   2023-05-18 ics/rachael-rollins-ethics-violations.html   Watchdogs Say                              By Glenn Thrush                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/polit Justices Wont Block Illinois Laws On Rifle
2023-05-17   2023-05-18 ics/supreme-court-gun-laws-illinois.html     Sales                                      By Adam Liptak                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/polit
                        ics/trump-lawyer-timothy-parlatore-          Trumps Lawyer Quits His Defense Team in By Alan Feuer and Maggie
2023-05-17   2023-05-18 resigns.html                                 Special Counsel Inquiries                  Haberman                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/world/a
                        mericas/ecuador-president-dissolves-         Facing Impeachment Proceedings Ecuadors By Julie Turkewitz and Genevieve
2023-05-17   2023-05-18 congress.html                                President Dissolves Congress               Glatsky                           TX 9-299-029   2023-07-03
                                                                     China Fines Comedy Firm 2 Million After
                        https://www.nytimes.com/2023/05/17/world/a Standup Comic Compared the Military to
2023-05-17   2023-05-18 sia/china-comedy-2-million-fine.html         Stray Dogs                                 By Chang Che and Olivia Wang      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/world/a In Japan Religious Right Has Sway on Gay
2023-05-17   2023-05-18 sia/japan-same-sex-marriage.html             Rights                                     By Motoko Rich and Hikari Hida    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/world/a Eyeing China Taiwan Opposition Party Picks
2023-05-17   2023-05-18 sia/taiwan-china-kmt-election.html           Moderate for President                     By John Liu and Paul Mozur        TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/17/world/a Shortening Bidens Asia Trip Undermines US
2023-05-17   2023-05-18 ustralia/biden-pacific-papua-new-guinea.html Goals in Region                         By Damien Cave                       TX 9-299-029   2023-07-03




                                                                               Page 5243 of 5793
                        https://www.nytimes.com/2023/05/17/world/e
                        urope/french-resistance-execution-german-  French Resistance Fighter Discloses Mass
2023-05-17   2023-05-18 pow.html                                   Execution of POWs                            By Constant Mheut                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/17/world/e
2023-05-17   2023-05-18 urope/italy-flooding-emilia-romagna.html   Catastrophic Flooding In Italy Leaves 8 Dead By Elisabetta Povoledo             TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/17/world/e Conservatives Feel Voters Wrath in English
2023-05-17   2023-05-18 urope/tories-england-blue-wall-elections.html Heartlands                                   By Stephen Castle                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/world/e
                        urope/ukraine-f-16-biden-netherlands-         Ukraines Allies Spar Over a Push To Send
2023-05-17   2023-05-18 britain.html                                  F16 Jets                                     By Lara Jakes and Eric Schmitt    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/world/e
                        urope/ukraine-russia-bakhmut-                 Small Advance Kindles Hopes For Kyiv
2023-05-17   2023-05-18 counteroffensive.html                         Forces                                       By Marc Santora and Tyler Hicks TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/17/world/e Kyiv and Moscow Agree On Grain Shipping By Matthew Mpoke Bigg and
2023-05-17   2023-05-18 urope/ukraine-russia-grain-black-sea.html     Deal                                         Gulsin Harman                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/world/
                        middleeast/turkey-runoff-election-sinan-      3rdPlace Finisher Is Courted for Swing Role
2023-05-17   2023-05-18 ogan.html                                     in Turkeys Presidential Runoff               By Ben Hubbard and Safak Timur TX 9-299-029      2023-07-03
                        https://www.nytimes.com/2023/05/17/us/polit 3 FBI Agents Stripped Of Security Clearances
2023-05-18   2023-05-18 ics/fbi-security-clearance-jan-6.html         Over Jan 6 Concerns                          By Alan Feuer                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/texa Texas Bans Medical Care For Minors In           By David Montgomery and J David
2023-05-18   2023-05-18 s-transgender-care-ban-children.html          Transition                                   Goodman                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/busines A Scramble to Fill the Gaps Left by Bed Bath
2023-05-18   2023-05-18 s/bed-bath-beyond-bankruptcy.html             amp Beyond                                   By Jordyn Holman                  TX 9-299-029   2023-07-03
                                                                      Stellantis Warns That British Carmakers Will
                        https://www.nytimes.com/2023/05/18/busines Struggle to Compete as the World Embraces
2023-05-18   2023-05-18 s/stellantis-uk-auto-industry-cars.html       EVs                                          By Stanley Reed                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/insider/ Seeing Opportunity or Its Absence
2023-05-18   2023-05-18 talmon-joseph-smith-interview.html            Everywhere                                   By Terence McGinley               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/style/ali An Alternative Aesthetic That Subverts
2023-05-18   2023-05-18 yahcore-y2k-aliyah-bah.html                   Expectations                                 By Sandra E Garcia                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/style/ca Tracing the Runways Steps All the Way to
2023-05-18   2023-05-18 nnes-film-style-fashion.html                  Cannes                                       By Vanessa Friedman               TX 9-299-029   2023-07-03
                                                                                                                   By Martha Schwendener Travis
                        https://www.nytimes.com/2023/05/03/arts/des                                                Diehl Will Heinrich Max Lakin and
2023-05-03   2023-05-19 ign/nyc-art-galleries-may.html                Galleries                                    Blake Gopnik                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/movies/
                        anna-nicole-smith-you-dont-know-me-
2023-05-16   2023-05-19 review.html                                   Anna Nicole Smith You Dont Know Me           By Calum Marsh                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/movies/
2023-05-16   2023-05-19 giving-birth-to-a-butterfly-review.html       Giving Birth To a Butterfly                  By Beatrice Loayza                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/arts/kus Taking On the Infinite Again With a Sly
2023-05-17   2023-05-19 ama-zwirner-infinity-mirrored-room.html       Wink                                         By Will Heinrich                  TX 9-299-029   2023-07-03




                                                                                 Page 5244 of 5793
                        https://www.nytimes.com/2023/05/17/arts/mu
2023-05-17   2023-05-19 sic/kassa-overall-animals.html              Drummer Makes Pressure His Ally                 By Marcus J Moore           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/arts/rus
2023-05-17   2023-05-19 t-prosecutors-alec-baldwin.html             More Tests Sought on Rust Gun                   By Julia Jacobs             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/movies/
                        queenmaker-the-making-of-an-it-girl-
2023-05-17   2023-05-19 review.html                                 Queenmaker The Making of an It Girl             By Glenn Kenny              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/nyregio Famous Central Park Hawk Is Said to Have
2023-05-17   2023-05-19 n/pale-male-hawk.html                       Died at 32 But Some Birders Doubt It            By Dodai Stewart            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/opinion Call Me Square but Facts Show The Error of
2023-05-17   2023-05-19 /marijuana-legalization-disaster.html       Legalizing Weed                                 By Ross Douthat             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/science Digital Imaging Project of the Titanic Shows
2023-05-17   2023-05-19 /titanic-shipwreck-3d-images.html           the Shipwreck in Stunning Detail                By April Rubin              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/leon- Epstein Funds Paid Fees To President Of
2023-05-17   2023-05-19 botstein-bard-college-jeffrey-epstein.html  Bard                                            By Vimal Patel              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/wiza Minnesota Man Is Charged In Theft of 2
2023-05-17   2023-05-19 rd-of-oz-ruby-slippers-terry-martin.html    Famous Shoes                                    By Michael Levenson         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/busines Bank Agrees On Payout To Victims Of
2023-05-18   2023-05-19 s/deutsche-bank-jeffrey-epstein.html        Epstein                                         By Matthew Goldstein        TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/18/arts/dan
2023-05-18   2023-05-19 ce/review-gibney-company-joyce-theater.html Mining a TooFamiliar Contemporary Mode          By Gia Kourlas              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/arts/des
2023-05-18   2023-05-19 ign/frieze-fair-shed-art.html               Easier to Visit And Tougher To Ignore           By Holland Cotter           TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/18/arts/des
2023-05-18   2023-05-19 ign/touria-el-glaoui-1-54-african-art-fair.html Geography And Visibility                    By Seph Rodney              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/arts/mu
                        sic/die-zauberflote-simon-mcburney-             Winds Whisper And the Birds Sing Its Kind
2023-05-18   2023-05-19 metropolitan-opera.html                         of Magical                                  By Elisabeth Vincentelli    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/arts/tele
2023-05-18   2023-05-19 vision/shea-serrano-primo-freevee.html          Writing Comic Home Truths                   By Chris Vognar             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/busines
2023-05-18   2023-05-19 s/default-debt-what-happens-next.html           If the US Defaults Then What                By Joe Rennison             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/busines
2023-05-18   2023-05-19 s/disney-ron-desantis-florida.html              Disney Opts Not to Build In Florida         By Brooks Barnes            TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/18/busines G7s Price Cap on Russian Oil Seems to Have
2023-05-18   2023-05-19 s/economy/g7-biden-oil-price-cap-russia.html Worked                                     By Jim Tankersley               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/busines Holmess Bid To Remain Free on Bail Is
2023-05-18   2023-05-19 s/elizabeth-holmes-jail-restitution.html     Rejected                                   By Lora Kelley                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/busines Thiel Is the Latest Billionaire Said to Have By Matthew Goldstein and Ryan
2023-05-18   2023-05-19 s/jeffrey-epstein-peter-thiel.html           Met With a Disgraced Financier             Mac                             TX 9-299-029   2023-07-03




                                                                                  Page 5245 of 5793
                        https://www.nytimes.com/2023/05/18/busines                                               By Sapna Maheshwari and David
2023-05-18   2023-05-19 s/media/tiktok-ban-free-speech-montana.html In Montana Legal Fight On TikTok             McCabe                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/busines Sam Zell 81 Tycoon Whose Big Newspaper
2023-05-18   2023-05-19 s/sam-zell-dead.html                        Venture Went Bust Dies                       By Robert D McFadden            TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/18/busines Regulators Rebut the Claims of Silicon Valley By Emily Flitter and Alan
2023-05-18   2023-05-19 s/silicon-valley-bank-becker-regulators.html Banks ExCEO                                 Rappeport                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/busines Walmart Raises Its Outlook as Shoppers Look
2023-05-18   2023-05-19 s/walmart-earnings-1q-2023.html              for Bargains Amid Inflation                 By Jordyn Holman                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/health/ Jynneos Jab Is Effective On Mpox Studies
2023-05-18   2023-05-19 mpox-jynneos.html                            Say                                         By Emily Anthes                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/health/r RSV Vaccine for Infants Is Closer to
2023-05-18   2023-05-19 sv-vaccine-infants-fda.html                  Approval                                    By Christina Jewett             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/health/ Unions Accuse Hospital Group of Wielding
2023-05-18   2023-05-19 unions-nurses-upmc-antitrust.html            Clout Against Workers                       By Reed Abelson                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/movies/
2023-05-18   2023-05-19 butterfly-vision-review.html                 Butterfly Vision                            By Natalia Winkelman            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/movies/
                        cannes-maiwenn-johnny-depp-steve-
2023-05-18   2023-05-19 mcqueen.html                                 At Cannes Star Power and Progress           By Manohla Dargis               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/movies/
2023-05-18   2023-05-19 come-out-fighting-review.html                Come Out Fighting                           By Calum Marsh                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/movies/
2023-05-18   2023-05-19 fast-x-review.html                           Carbon Neutral Probably Not                 By Wesley Morris                TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/18/movies/
2023-05-18   2023-05-19 master-gardener-review-paul-schrader.html A Man Tends His Garden With Help               By Manohla Dargis               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/movies/
                        moon-garden-review-malice-in-
2023-05-18   2023-05-19 wonderland.html                            Moon Garden                                   By Amy Nicholson                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/movies/
2023-05-18   2023-05-19 museum-of-the-revolution-review.html       Museum Of the Revolution                      By Natalia Winkelman            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/movies/
2023-05-18   2023-05-19 sanctuary-review.html                      A Racy RomCom Takes Dark Twists               By Jeannette Catsoulis          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/movies/
2023-05-18   2023-05-19 stay-awake-review.html                     Stay Awake                                    By Claire Shaffer               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/movies/
                        the-cow-who-sang-a-song-into-the-future-
2023-05-18   2023-05-19 review.html                                The Cow Who Sang A Song Into the Future       By Brandon Yu                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/movies/
2023-05-18   2023-05-19 the-night-of-the-12th-review.html          The Night of the 12th                         By Nicolas Rapold               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/movies/
2023-05-18   2023-05-19 the-taking-review.html                     The Taking                                    By Concepcin de Len             TX 9-299-029   2023-07-03




                                                                                 Page 5246 of 5793
                        https://www.nytimes.com/2023/05/18/movies/
2023-05-18   2023-05-19 white-building-review.html                 White Building                              By Austin Considine               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/18/movies/
2023-05-18   2023-05-19 white-men-cant-jump-review.html            How About the Best Two Out of Three         By Glenn Kenny                    TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/18/nyregio New Rule Would Ban Trash Bags To Curb
2023-05-18   2023-05-19 n/garbage-trash-restaurants-bodegas-nyc.html Rats                                         By Emma G Fitzsimmons            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/nyregio In New York City Outrage Over the Options
2023-05-18   2023-05-19 n/migrant-housing-shelters-nyc.html          for Housing Migrants                         By Liam Stack and Jeffery C Mays TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/opinion
                        /columnists/cultural-revolution-china-
2023-05-18   2023-05-19 censor.html                                  The Decade That China Cannot Delete          By Pamela Paul                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/opinion
2023-05-18   2023-05-19 /japan-united-states-china-military.html     Japan Needs to Finally Get Off the Sidelines By Jennifer Lind                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/opinion
                        /supreme-court-clarence-thomas-
2023-05-18   2023-05-19 corruption.html                              The Supreme Court Has a Corruption Problem By Randall D Eliason               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/opinion
2023-05-18   2023-05-19 /workplace-drug-tests.html                   Workplace Testing Makes No Sense             By Kevin F Boehnke               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/sports/b
                        asketball/miami-heat-playoffs-undrafted-     Heat See Value in Players Snubbed in the
2023-05-18   2023-05-19 players.html                                 Draft and Willing to Do Anything             By Scott Cacciola                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/sports/b
2023-05-18   2023-05-19 asketball/wnba-season-2023.html              New Faces New Rules And a Heralded Return By Sara Ziegler                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/sports/g
                        olf/pga-championship-bryson-                 Quite a Bit Lighter DeChambeau Regains His
2023-05-18   2023-05-19 dechambeau.html                              Form                                         By Bill Pennington               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/sports/g Ferocious Oak Hill Bares Its Teeth and the
2023-05-18   2023-05-19 olf/pga-championship-first-round.html        Players Grin and Bear It                     By Alan Blinder                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/sports/l Larry Mahan Who Was Called The Elvis of
2023-05-18   2023-05-19 arry-mahan-dead.html                         Rodeo Is Dead at 79                          By Alex Williams                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/sports/s US Cities Vie to Land Title Match For 26
2023-05-18   2023-05-19 occer/world-cup-2026-final-site.html         Cup                                          By Victor Mather                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/sports/t A Roland Garros Without Nadal Perish the
2023-05-18   2023-05-19 ennis/nadal-future-french-open.html          Thought                                      By Christopher Clarey            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/technol
2023-05-18   2023-05-19 ogy/ai-meta-open-source.html                 Metas Big AI Giveaway                        By Cade Metz and Mike Isaac      TX 9-299-029   2023-07-03
                                                                     OpenAI Releases an iPhone Version of Its
                        https://www.nytimes.com/2023/05/18/technol ChatGPT App That Responds to Voice
2023-05-18   2023-05-19 ogy/openai-chatgpt-iphone.html               Commands                                     By Cade Metz                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/technol                                                By Kate Conger Ryan Mac and
2023-05-18   2023-05-19 ogy/twitter-microsoft-misusing-data.html     Twitter Says Microsoft Improperly Used Data Cade Metz                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/technol                                                By Steven Lee Myers and Kellen
2023-05-18   2023-05-19 ogy/video-games-extremism.html               Extremism at Home in Gamer Chat Rooms        Browning                         TX 9-299-029   2023-07-03




                                                                                Page 5247 of 5793
                        https://www.nytimes.com/2023/05/18/us/jerio South Carolina Searching For Inmate
2023-05-18   2023-05-19 d-price-south-carolina-prison.html             Released Early                            By Rick Rojas                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/us/polit
                        ics/antisemitism-jews-israel-deborah-lipstadt- Preaching Tolerance Abroad As Hatred
2023-05-18   2023-05-19 biden.html                                     Surges at Home                            By Elizabeth Williamson           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/us/polit Lawmakers Considering More Security for
2023-05-18   2023-05-19 ics/congress-security-connolly.html            Offices After Attack on Workers           By Stephanie Lai                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/us/polit Catastrophic Default Day Is Nearing But
2023-05-18   2023-05-19 ics/debt-ceiling-xdate.html                    Yellen Cant Say Precisely When            By Alan Rappeport                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/us/polit
                        ics/democrats-work-requirements-debt-          Liberals Balking As Biden Weighs GOP Debt
2023-05-18   2023-05-19 limit.html                                     Offer                                     By Catie Edmondson                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/us/polit Biden and Me DeSantis Privately Tells        By Maggie Haberman Jonathan
2023-05-18   2023-05-19 ics/desantis-2024-presidential-bid.html        Donors Trump Cant Win                     Swan and Nicholas Nehamas         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/us/polit Ailing Senator Also Sustained Brain
2023-05-18   2023-05-19 ics/feinstein-illness-shingles-senate.html     Swelling                                  By Annie Karni and Carl Hulse     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/us/polit Mark Gietzen 69 Who Was a Zealous Leader
2023-05-18   2023-05-19 ics/mark-gietzen-dead.html                     in the AntiAbortion Movement              By Alex Traub                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/us/polit Supreme Court Delivers 2 Wins To Tech
2023-05-18   2023-05-19 ics/supreme-court-google-twitter-230.html      Giants                                    By Adam Liptak                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/us/polit Taking On the FBI GOP Lawmakers Allied
2023-05-18   2023-05-19 ics/trump-fbi-thibault-election.html           With Trump Single Out ExAgent             By Adam Goldman                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/us/polit                                              By Karoun Demirjian Edward
2023-05-18   2023-05-19 ics/ukraine-spending-congress.html             US Accounting Revision Frees Up Billions  Wong and Eric Schmitt             TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/18/us/supr States Case On Migration Is Dismissed By
2023-05-18   2023-05-19 eme-court-title-42-immigration-measure.html Justices                                    By Adam Liptak                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/us/supr Supreme Court Rules Against Warhol in
2023-05-18   2023-05-19 eme-court-warhol-copyright.html             Copyright Case                              By Adam Liptak                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/us/tikto Young Users of Video Platform Contend With By Jacey Fortin Eliza Fawcett and
2023-05-18   2023-05-19 k-ban-montana-reaction.html                 Global Politics                             Jim Robbins                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/world/a Sudans War Can Take Several Paths Aside
2023-05-18   2023-05-19 frica/sudan-war-military-scenarios.html     From Peace Theyre Abysmal                   By Declan Walsh                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/world/a
                        mericas/colombia-plane-crash-amazon-        Colombia Unsure About Fate Of 4 Children in By Genevieve Glatsky and Jack
2023-05-18   2023-05-19 children.html                               Plane Crash                                 Nicas                              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/world/a China Kicks Off a Summit of Its Own To
2023-05-18   2023-05-19 sia/china-central-asia-g7.html              Strengthen Ties With Central Asia           By Nicole Hong                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/world/a Ukraine and China Top G7 Agenda Along
2023-05-18   2023-05-19 sia/g7-ukraine-artificial-intelligence.html With a New Threat AI                        By David E Sanger                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/18/world/a Myanmar Cyclone Victims Beg for Supplies
2023-05-18   2023-05-19 sia/myanmar-cyclone-mocha.html             to Survive As Junta Stands in the Way     By Richard C Paddock                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/world/a Singapore Again Imposes Death Penalty For
2023-05-18   2023-05-19 sia/singapore-marijuana-execution.html     Marijuana                                 By John Yoon                          TX 9-299-029   2023-07-03



                                                                                Page 5248 of 5793
                        https://www.nytimes.com/2023/05/18/world/e As Russia Fires Missiles at Kyiv a Blast     By Andrew E Kramer and Matthew
2023-05-18   2023-05-19 urope/crimea-train-russia-missiles.html    Derails a Freight Train in Crimea            Mpoke Bigg                     TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/18/world/e Ukraines Desire for F16s Strengthening Air
2023-05-18   2023-05-19 urope/fighter-jet-f16-ukraine.html         Defense                                      By Lara Jakes                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/world/e A Royal Paradox Harry and Meghan Seek
2023-05-18   2023-05-19 urope/harry-meghan-paparazzi-media.html    Privacy as Well as Publicity                 By Mark Landler                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/world/e Does a Charred Ruin Mark the Site of an
2023-05-18   2023-05-19 urope/poland-vikings-wolin-jomsborg.html Elusive Viking City                            By Andrew Higgins               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/world/e Englands Water Companies Vow to
2023-05-18   2023-05-19 urope/uk-england-sewage.html               Modernize Sewers                             By Isabella Kwai                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/world/e Chief Justice of Ukraine Faces Charges In
2023-05-18   2023-05-19 urope/ukraine-bribery-supreme-court.html   Corruption Case as Inquiry Expands           By Carlotta Gall                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/world/e Robbed of Joy Ukraines Teens Laugh to
2023-05-18   2023-05-19 urope/ukraine-teenagers-war.html           Keep From Weeping                            By Andrew E Kramer              TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/18/world/ Israeli Parade Through Jerusalem Pushes        By Patrick Kingsley and Hiba
2023-05-18   2023-05-19 middleeast/israel-march-jerusalem-day.html Tensions Further                              Yazbek                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/world/                                                By Vivian Nereim and Raja
2023-05-18   2023-05-19 middleeast/syria-assad-arab-league.html          Long Isolated Syria Rejoins Arab League Abdulrahim                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/article/ivory-billed- Experts Strive to Prove This Bird Actually
2023-05-18   2023-05-19 woodpecker.html                                  Does Exist                              By Catrin Einhorn              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/dining/l
                        os-angeles-restaurant-horses-marital-battle-liz-
2023-05-19   2023-05-19 johnson-will-aghajanian.html                     Famed Chef Spouses Swap Claims of Abuse By Julia Moskin                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/nyregio Outdoor Dining Is Here To Stay in New York
2023-05-19   2023-05-19 n/outdoor-dining-law-nyc.html                    City                                    By Emma G Fitzsimmons          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/arts/tele
2023-05-19   2023-05-19 vision/secrets-of-hillsong-xo-kitty.html         This Weekend I Have                     By Margaret Lyons              TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/19/insider/ An Early Start With One of the Last Bagel
2023-05-19   2023-05-19 15-hours-on-the-job-with-a-bagel-roller.html Rollers                                    By Sarah Bahr                   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/19/sports/b At the End of Griners Ordeal A Changing
2023-05-19   2023-05-19 asketball/brittney-griner-wnba-season.html   WNBA Awaits                                By Jonathan Abrams              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/us/polic Body Cameras a Powerful Tool Are Not Worn
2023-05-19   2023-05-19 e-body-cameras-atlanta-cop-city.html         by All Police Forces                       By Sean Keenan                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/02/travel/li
2023-05-02   2023-05-20 ncoln-nebraska-mari-sandoz.html              Greenwich Village on the Prairie           By Carson Vaughan               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/opinion
2023-05-14   2023-05-20 /mothers-day-stepmother.html                 A New Mother an Old Mother a Love Story By Rachel Louise Snyder            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/opinion Remembering 2 Things Will Prepare You for
2023-05-15   2023-05-20 /letter-to-graduates-hope-despair.html       Every Challenge Ahead                      By Margaret Renkl               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/opinion
2023-05-16   2023-05-20 /randall-dale-adams-judicial-system.html     Justice Long Denied Ensured by Prosecutors By Lisa Belkin                  TX 9-299-029   2023-07-03




                                                                                 Page 5249 of 5793
                        https://www.nytimes.com/interactive/2023/05/ Whats a President to Do When a Nations
2023-05-16   2023-05-20 16/headway/indonesia-nusantara-jakarta.html Capital Is Sinking Move It                  By Hannah Beech                   TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/17/arts/des
2023-05-17   2023-05-20 ign/dynasty-handbag-titanic-depression.html A Buoyant Spirit Upends an Unsinkable Tale By Melena Ryzik                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/18/arts/blo
2023-05-18   2023-05-20 g-era-podcast-drake.html                    Resurrecting Rap Media History              By Reggie Ugwu                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/18/arts/mu
2023-05-18   2023-05-20 sic/paul-simon-seven-psalms-review.html     The Sound of Silence No Its a Ticking Clock By Jon Pareles                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/18/sports/b After Dodgers Rescind a Groups Pride Night
2023-05-18   2023-05-20 aseball/dodgers-pride-night.html            Invitation Others Drop Out in Protest       By Scott Miller                   TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/18/sports/b In His Cameo Stints At Short Betts Looks As
2023-05-18   2023-05-20 aseball/mookie-betts-dodgers-shortstop.html if Hed Never Left It                        By Scott Miller                   TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/18/sports/f Why Do Some Players in the NFL Get CTE
2023-05-18   2023-05-20 ootball/pittsburgh-sports-brain-bank.html   While Others Do Not                         By Ken Belson                     TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/18/technol                                              By Tiffany Hsu and Steven Lee
2023-05-18   2023-05-20 ogy/ai-chat-gpt-detection-tools.html        AI Spurs An Industry To Detect It           Myers                             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/18/arts/18s
2023-05-19   2023-05-20 alman-rushdie-pen-america.html              Rushdie Appears at PEN Gala                 By Jennifer Schuessler            TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/19/arts/des
2023-05-19   2023-05-20 ign/greece-election-parthenon-marbles.html Politics and the Fate of the Parthenon Marbles By Alex Marshall                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/arts/des Family Disputes Sothebys Provenance in Art
2023-05-19   2023-05-20 ign/sothebys-provenance-nazi-art.html          Case                                       By Colin Moynihan                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/arts/des
                        ign/warhol-prince-supreme-court-               Warhol Ruling Sets Up Creativity vs
2023-05-19   2023-05-20 copyright.html                                 Commerce                                   By Blake Gopnik                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/arts/mu                                                By Alex Marshall and Alex
2023-05-19   2023-05-20 sic/andy-rourke-the-smiths-dead.html           Andy Rourke 59 Bassist for Smiths          Williams                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/busines China Says 1 in 5 Young People Is
2023-05-19   2023-05-20 s/china-youth-unemployment.html                Unemployed                                 By Claire Fu                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/busines Morgan Stanley CEO Says He Will Step
2023-05-19   2023-05-20 s/james-gorman-morgan-stanley-ceo.html         Down Within a Year                         By Rob Copeland                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/busines
                        s/jetblue-american-northeast-alliance-justice-
2023-05-19   2023-05-20 department.html                                Judge Halts Partnership Of 2 Airlines      By Joe Rennison and Niraj Chokshi TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/busines VW Sells Russian Operations Including an
2023-05-19   2023-05-20 s/volkswagen-russia-factory.html               Assembly Plant                             By Melissa Eddy                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/movies/
                        harrison-ford-indiana-jones-dial-of-destiny-
2023-05-19   2023-05-20 cannes.html                                    Bidding a Teary Goodbye to Indiana Jones   By Kyle Buchanan                  TX 9-299-029   2023-07-03




                                                                                Page 5250 of 5793
                        https://www.nytimes.com/2023/05/19/nyregio
                        n/houghton-university-employees-
2023-05-19   2023-05-20 pronouns.html                              Line in Email Signature Stirs Heated Debate   By Liam Stack                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/nyregio At a Somber Funeral in Harlem Demands for     By Maria Cramer and Hurubie
2023-05-19   2023-05-20 n/jordan-neely-funeral-al-sharpton.html    Accountability                                Meko                              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/nyregio Rev Timothy Keller 72 Is Dead Pioneering
2023-05-19   2023-05-20 n/the-rev-tim-keller-dead.html             Manhattan Evangelist                          By Sam Roberts                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/nyregio Perjury Charge Considered Against Trump       By William K Rashbaum Ben
2023-05-19   2023-05-20 n/weisselberg-trump-bragg-perjury.html     Lieutenant                                    Protess and Jonah E Bromwich      TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/19/science NASA Picks Blue Origins Blue Moon Lander
2023-05-19   2023-05-20 /nasa-artemis-moon-bezos-blue-origin.html for Artemis V Mission                       By Kenneth Chang                 TX 9-299-029       2023-07-03
                        https://www.nytimes.com/2023/05/19/sports/d
2023-05-19   2023-05-20 ead-horses-kentucky-derby.html              A Requiem For 7 Thoroughbreds             By Joe Drape                     TX 9-299-029       2023-07-03
                        https://www.nytimes.com/2023/05/19/sports/e
2023-05-19   2023-05-20 xpert-picks-preakness.html                  Who Will Win The 148th Preakness          By Joe Drape and Melissa Hoppert TX 9-299-029       2023-07-03
                        https://www.nytimes.com/2023/05/19/sports/f
                        ootball/jim-brown-cleveland-browns-         Revered for Dominance And His Willingness
2023-05-19   2023-05-20 retirement.html                             To Just Walk Away                         By Ken Belson and Jenny Vrentas TX 9-299-029        2023-07-03
                        https://www.nytimes.com/2023/05/19/sports/f Jim Brown Football Great and Civil Rights
2023-05-19   2023-05-20 ootball/jim-brown-dead.html                 Activist Dies at 87                       By Richard Goldstein             TX 9-299-029       2023-07-03

                        https://www.nytimes.com/2023/05/19/technol
                        ogy/ai-generated-content-discovered-on-news- Content Generated By AI Found On News
2023-05-19   2023-05-20 sites-content-farms-and-product-reviews.html Sites                                       By Stuart A Thompson              TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/19/technol Chinas Tech Giants Signal Start of Bumpy
2023-05-19   2023-05-20 ogy/alibaba-baidu-tencent-q1-earnings.html Recovery                                     By Chang Che                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/theater/ A Group of Broken Souls Longs for a Repair
2023-05-19   2023-05-20 the-fears-review.html                       Shop                                        By Maya Phillips                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/us/abor A OneTwo Win for Conservatives in
2023-05-19   2023-05-20 tion-transgender-bill-nebraska.html         Nebraska                                    By Ernesto Londoo                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/us/feins Promise by Governor Complicates the Plan To By Thomas Fuller and Shane
2023-05-19   2023-05-20 tein-newsom-senate-california.html          Replace a Senator                           Goldmacher                         TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/19/us/polit Reported Death of Migrant Girl 8 in          By Eileen Sullivan and Emiliano
2023-05-19   2023-05-20 ics/8-year-old-migrant-died-border.html     Detention Raises Concerns on Border Policy   Rodrguez Mega                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/us/polit As Prospect of Armageddon Lingers G7
2023-05-19   2023-05-20 ics/biden-hiroshima-memorial.html           Leaders Visit Hiroshima                      By Peter Baker                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/us/polit To Counter Chinas Manufacturing Power G7     By Jim Tankersley and Ana
2023-05-19   2023-05-20 ics/biden-industrial-policy.html            Countries Borrow Its Playbook                Swanson                           TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/19/us/polit DC Police Lieutenant Charged With Leaking
2023-05-19   2023-05-20 ics/dc-police-shane-lamond-proud-boys.html Information to Proud Boys Leader           By Alan Feuer and Zach Montague TX 9-299-029        2023-07-03




                                                                                Page 5251 of 5793
                        https://www.nytimes.com/2023/05/19/us/polit In Worst Case It Wont Matter Who Was to
2023-05-19   2023-05-20 ics/debt-ceiling-economy.html               Blame                                        By Carl Hulse                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/us/polit A Whiplash Day of Debt Limit Negotiations
2023-05-19   2023-05-20 ics/debt-limit-gop-biden.html               Ends Without Any Progress                    By Catie Edmondson               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/us/polit
                        ics/dianne-feinstein-older-lawmakers-       After So Many Years at the Levers of Power a
2023-05-19   2023-05-20 senate.html                                 Struggle to Let Go                           By Annie Karni                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/us/polit
                        ics/fbi-violated-surveillance-program-      Court Finds That FBI Violated Rules
2023-05-19   2023-05-20 rules.html                                  Guiding Surveillance Program                 By Charlie Savage                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/us/polit No Label Centrists Plan ThirdParty Run in
2023-05-19   2023-05-20 ics/no-labels-president-manchin.html        2024                                         By Jonathan Weisman              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/us/polit
                        ics/ron-desantis-retail-campaign-new-       In Key State New Strategy With a Move To
2023-05-19   2023-05-20 hampshire.html                              the Middle                                   By Nicholas Nehamas              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/us/polit Man Accused of Posting Secrets Will Stay     By Alicia Napierkowski and Glenn
2023-05-19   2023-05-20 ics/teixeira-detention-hearing.html         Behind Bars Before Trial                     Thrush                           TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/19/us/polit South Carolina Republican Expected to       By Jonathan Swan and Maggie
2023-05-19   2023-05-20 ics/tim-scott-republican-president-2024.html Announce Bid                               Haberman                         TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/19/us/polit A Vocal GOP Minority Pledges It Will
2023-05-19   2023-05-20 ics/ukraine-republican-skeptics.html         Complicate More Aid for Ukrainians         By Robert Draper                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/19/world/a
2023-05-19   2023-05-20 frica/sudan-us-embassy-passports.html        Fleeing Envoys Trap Sudanese In a War Zone By Declan Walsh                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/19/world/a Poetry Gleaned From Darkness And Lots of
2023-05-19   2023-05-20 sia/korea-poet-hwang-cats.html               Fur                                        By Mike Ives                     TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/19/world/a Fallen Leader From Britain Visits Taiwan
2023-05-19   2023-05-20 sia/liz-truss-taiwan-tsai.html               Roiling China                              By Chris Buckley                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/19/world/a He Won Thailands Votes But Will He Get to
2023-05-19   2023-05-20 sia/thailand-pita-limjaroenrat-election.html Lead                                       By SuiLee Wee                    TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/19/world/c
                        anada/canada-wildfire-alberta-british-       Wildfires Scorch Alberta Creating Panic in
2023-05-19   2023-05-20 columbia.html                                Canada                                     By Dan Bilefsky                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/19/world/e You Are Not Welcome Protests as Russia
2023-05-19   2023-05-20 urope/georgia-direct-flights-russia.html     Resumes Air Travel With Georgia            By Ivan Nechepurenko             TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/19/world/e Inundated by Downpours Northern Italy Faces By Elisabetta Povoledo and Gaia
2023-05-19   2023-05-20 urope/italy-floods-emilia-romagna-rain.html Landslides and Power Outages               Pianigiani                        TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/19/world/e Biden Will Allow Allies To Deliver F16s To By David E Sanger Jim Tankersley
2023-05-19   2023-05-20 urope/ukraine-f-16s-biden-russia.html      Ukraine                                    Michael Crowley and Eric Schmitt TX 9-299-029      2023-07-03

                        https://www.nytimes.com/2023/05/19/world/e At Arab League Event Zelensky Asks for
2023-05-19   2023-05-20 urope/zelensky-arab-league-saudi-arabia.html Help From Russian Partners                By Vivian Nereim                  TX 9-299-029    2023-07-03




                                                                                Page 5252 of 5793
                        https://www.nytimes.com/2023/05/19/world/ Plump Visitor Brings a Chill Vibe at a Tense
2023-05-19   2023-05-20 middleeast/israel-jaffa-monk-seal.html      Time                                         By Patrick Kingsley            TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/19/your-
                        money/interest-rates-federal-student-
2023-05-19   2023-05-20 loans.html                                  Federal Student Loans Likely to Rise         By Ann Carrns                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/19/sports/g
                        olf/pga-championship-second-round-          Course Yields Few Opportunities but
2023-05-20   2023-05-20 leaders.html                                Rewards Them Well                            By Alan Blinder                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/20/busines
2023-05-20   2023-05-20 s/ai-financial-advice-chatgpt.html          Would You Take AIs Money Advice              By Paulette Perhach            TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/20/sports/g An Eye on the Sky FineTunes the Action on
2023-05-20   2023-05-20 olf/pga-championship-weather.html           the Course Below                             By Alan Blinder and Doug Mills  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/us/polit                                              By Alexandra Berzon and Rebecca
2023-05-20   2023-05-20 ics/desantis-private-jets-donors.html       Donors Help DeSantis Stay Frequent Flier     Davis OBrien                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/03/07/books/r
2023-03-07   2023-05-21 eview/in-memoriam-alice-winn.html           In the Trenches                              By Hugh Ryan                   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/03/07/books/r
2023-03-07   2023-05-21 eview/womb-leah-hazard.html                 Uterine Education                            By Christina Cauterucci        TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/03/books/r
2023-04-03   2023-05-21 eview/seventy-times-seven-alex-mar.html     The Meaning of Forgiveness                   By Kathryn Miles               TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/04/15/books/r
2023-04-15   2023-05-21 eview/stalking-shakespeare-lee-durkee.html Good Will Hunting                             By Dominic Dromgoole           TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/15/books/t
2023-04-15   2023-05-21 ale-of-genji-japan-women.html               Essay Lasting Literature                     By Motoko Rich                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/18/books/r
2023-04-18   2023-05-21 eview/julia-lee-biting-the-hand.html        Matters of Becoming                          By Jean Chen Ho                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/18/books/r
2023-04-18   2023-05-21 eview/kantika-elizabeth-graver.html         A Sephardic Family Odyssey                   By Ayten Tartici               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/19/books/r
2023-04-19   2023-05-21 eview/the-best-minds-jonathan-rosen.html    Forking Paths                                By Alexandra Jacobs            TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/04/25/books/r
2023-04-25   2023-05-21 eview/nicholas-binge-ascension.html         Magic Mountain                               By Lincoln Michel              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/10/books/r
2023-05-10   2023-05-21 eview/paved-paradise-henry-grabar.html      America Land of the Free Parking             By Jennifer Szalai             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/10/realesta Increasingly Diverse and Not Far From the
2023-05-10   2023-05-21 te/lyndhurst-nj-houses-condos.html          City                                         By Jill P Capuzzo              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/books/r
                        eview/the-way-of-the-bear-anne-
2023-05-11   2023-05-21 hillerman.html                              Inside the List                              By Elisabeth Egan              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/11/fashion
                        /weddings/bridal-designer-nontraditional-   Designing a Powerful Look for Your
2023-05-11   2023-05-21 wedding-looks.html                          Wedding Day                                  By Alix Strauss                TX 9-299-029    2023-07-03




                                                                                Page 5253 of 5793
                        https://www.nytimes.com/2023/05/12/busines
                        s/airbnb-short-term-rental-discrimination-  ExAirbnb Evangelist Crusades for Affordable
2023-05-12   2023-05-21 housing.html                                Housing                                     By Martha C White                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/12/magazi
2023-05-12   2023-05-21 ne/jordan-neely-video.html                  Quiet Now                                   By Ismail Muhammad                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/arts/sa
2023-05-13   2023-05-21 mantha-irby-quietly-hostile.html            Samantha Irby Is Into Evanston Ill          By Dina Gachman                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/13/style/mi
2023-05-13   2023-05-21 llennial-earnest-parenting.html             The Earnest Parent In the Era of Instagram  By Caitlin Moscatello             TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/14/arts/des
2023-05-14   2023-05-21 ign/matthew-barney-secondary-football.html Matthew Barney Back in the Game               By Siddhartha Mitter             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/14/realesta
                        te/american-express-centurion-lounge-        The Right Card Unlocks the Door to an Urban
2023-05-14   2023-05-21 nyc.html                                     Haven                                       By Victoria M Walker             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/opinion
2023-05-15   2023-05-21 /title-42-border-immigration.html            Immigrants Love Is Unrequited               By Karla Cornejo Villavicencio   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/realesta
2023-05-15   2023-05-21 te/coast-england-homes-eroding.html          Coastal Erosion Bites English Homeowners By Rachel Chaundler                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/ What If Instead of Trying to Manage Your
2023-05-15   2023-05-21 15/magazine/jenny-odell-interview.html       Time You Set It Free                        By David Marchese                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/arts/dan
2023-05-16   2023-05-21 ce/bobs-dance-shop-flash-bobs.html           Its a Party and Everyones Invited           By Margaret Fuhrer               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/arts/mu
                        sic/claire-chase-flute-density-carnegie-
2023-05-16   2023-05-21 hall.html                                    Flute in Hand Claire Chase Has Big Goals    By Joshua Barone                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/magazi
2023-05-16   2023-05-21 ne/bilingual-editions.html                   Bilingual Editions                          By Hasan Altaf                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/magazi
2023-05-16   2023-05-21 ne/couples-therapy-orna-guralnik.html        Domestic Disturbance                        By Orna Guralnik                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/magazi
2023-05-16   2023-05-21 ne/does-therapy-work.html                    Does Therapy Work                           By Susan Dominus                 TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/16/magazi
2023-05-16   2023-05-21 ne/hereditary-spherocytosis-diagnosis.html Why Was This Patient Turning So Yellow        By Lisa Sanders MD               TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/16/nyregio
2023-05-16   2023-05-21 n/indian-child-welfare-act-supreme-court.html Born Navajo and Raised in New Jersey      By Gabrielle Glaser               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/nyregio
                        n/undocumented-immigrants-organ-              Organ Transplant Hurdles for Undocumented
2023-05-16   2023-05-21 transplants.html                              Immigrants                                By Joseph Goldstein               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/opinion Prison Did Not Prepare Me for the Horrors of
2023-05-16   2023-05-21 /sunday/abuse-jail-prison.html                County Jail                               By Christopher Blackwell          TX 9-299-029   2023-07-03




                                                                                 Page 5254 of 5793
                        https://www.nytimes.com/2023/05/16/style/g
                        wyneth-paltrow-celebrity-trial-
2023-05-16   2023-05-21 merchandise.html                             You Watched the Trial Now Buy the Merch By Andrew Zucker                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/arts/tele
2023-05-17   2023-05-21 vision/grief-stand-up-comedy.html            You Will Cry Until You Laugh                By Jason Zinoman                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/magazi
2023-05-17   2023-05-21 ne/cocktail-order.html                       The Secret to Mastering Your Cocktail Order By Eric Kim                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/magazi
2023-05-17   2023-05-21 ne/suicide-teens.html                        The Darkest Time                            By Maggie Jones                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/movies/
                        julia-louis-dreyfus-you-hurt-my-feelings-
2023-05-17   2023-05-21 nicole-holofcener.html                       Sharing a Sensibility and a New Movie       By Nicole Sperling                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/opinion The Courts Should Be More Political Not
2023-05-17   2023-05-21 /north-carolina-courts-democracy.html        Less                                        By Jedediah BrittonPurdy          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/opinion
2023-05-17   2023-05-21 /wildfires-smoke-pollution-distance.html     Theres No Escape From Wildfire Smoke        By David WallaceWells             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/realesta
                        te/home-prices-georgia-maryland-             325000 Homes in Georgia Maryland and
2023-05-17   2023-05-21 arkansas.html                                Arkansas                                    By Angela Serratore               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/style/st
2023-05-17   2023-05-21 epchildren-wills-estates.html                Angry About a Will                          By Philip Galanes                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/theater/
2023-05-17   2023-05-21 grey-house-broadway-laurie-metcalf.html      They All Share a Certain Nightmare          By Elisabeth Vincentelli          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/us/keith An Insiders View of an Officers Murder
2023-05-17   2023-05-21 ellison-book-chauvin-trial.html              Conviction in the Floyd Case                By Julie Bosman                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/
2023-05-17   2023-05-21 17/magazine/therapists-confess.html          What Your Therapist Doesnt Tell You         By Amy X Wang                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/arts/mu
2023-05-18   2023-05-21 sic/killer-mike-michael.html                 The Tracks of Killer Mikes Tears            By Joe Coscarelli                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/books/r
2023-05-18   2023-05-21 eview/new-memoirs.html                       Memoirs                                     By Kim Hubbard                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/magazi
2023-05-18   2023-05-21 ne/judge-john-hodgman-coatrack.html          Bonus Advice From Judge John Hodgman        By John Hodgman                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/magazi                                                By Julian Talamantez Brolaski and
2023-05-18   2023-05-21 ne/poem-wild-and-blue.html                   Poem wild and blue                          Anne Boyer                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/magazi Leaving Therapy Made It Possible To Imagine
2023-05-18   2023-05-21 ne/quit-therapy.html                         Going Back                                  By Carina del Valle Schorske      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/magazi
2023-05-18   2023-05-21 ne/somatic-therapy.html                      Let the Body Do The Talking                 By Daniel Bergner                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/magazi
2023-05-18   2023-05-21 ne/therapy-black-men.html                    Therapy Was Not Something Black Boys Did By Ismail Muhammad                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/opinion The Earthquake Changed Turkey but Change
2023-05-18   2023-05-21 /turkey-election-erdogan.html                Is Complicated                              By Naomi Cohen                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/realesta
2023-05-18   2023-05-21 te/no-fee-rental-apartment.html              NoFee Rentals in New York City              By Michael Kolomatsky             TX 9-299-029   2023-07-03



                                                                                Page 5255 of 5793
                        https://www.nytimes.com/2023/05/18/style/ari
                        ana-madix-tom-sandoval-vanderpump-
2023-05-18   2023-05-21 rules.html                                   When Scandal Broke She Held Together        By Krystie Lee Yandoli            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/style/ce
2023-05-18   2023-05-21 ntury-21-nyc-reopening.html                  Gathering for the Dawn of a New Century 21 By Emma Grillo                     TX 9-299-029   2023-07-03
                                                                     Four Bedrooms for 275000 An Upstate
                        https://www.nytimes.com/interactive/2023/05/ Couple Hoped to Find a Family Home to
2023-05-18   2023-05-21 18/realestate/18hunt-fingerlakes.html        Grow In                                     By Michele Lerner                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/books/r
2023-05-19   2023-05-21 eview/books-about-sleepaway-camp.html        Dear Mom Camp Is Nothing Like I Expected By Elisabeth Egan                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/busines Amazon Is Everywhere and That Makes It
2023-05-19   2023-05-21 s/amazon-union-choke-points.html             Vulnerable                                  By Noam Scheiber                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/busines
2023-05-19   2023-05-21 s/media/corner-office-john-fithian.html      The Movies a Marketplace of Free Ideas      By Nicole Sperling                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/busines
                        s/stock-markets-debt-ceiling-risks-default-  Risk of a Debt Default and What the Markets
2023-05-19   2023-05-21 bonds.html                                   Say                                         By Jeff Sommer                    TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/19/nyregio Democrat Finds His Voice His Targets Dont
2023-05-19   2023-05-21 n/jamaal-bowman-marjorie-taylor-greene.html Like It At Republicans Expense               By Nicholas Fandos                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/nyregio                                               By Alysia Santo Joseph Neff and
2023-05-19   2023-05-21 n/ny-prison-guards-brutality-fired.html       In NY Prisons Few Are Fired For Brutality  Tom Meagher                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/nyregio Shermane Billingsley 78 Guarded the Stork
2023-05-19   2023-05-21 n/shermane-billingsley-dead.html              Clubs Legacy for Nearly 6 Decades          By Sam Roberts                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/opinion Bathrooms Are Where People Are Most
2023-05-19   2023-05-21 /anti-trans-bathroom-laws-florida.html        Vulnerable                                 By Lydia Polgreen                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/opinion GOP Leaders Must Hold Santos Accountable
2023-05-19   2023-05-21 /george-santos-expulsion.html                 For Deceiving Voters                       By The Editorial Board            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/opinion My Daughters Future Was Taken From Her
2023-05-19   2023-05-21 /grief-childhood-cancer.html                  and From Us                                By Sarah Wildman                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/opinion What Is Lost When Music Gets Cleaned Up
2023-05-19   2023-05-21 /music-perfection-flaws.html                  Too Much                                   By Warren Zanes                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/opinion Our Endless Absurd Quest To Get the Very
2023-05-19   2023-05-21 /ratings-rankings-culture.html                Best                                       By Rachel Connolly                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/opinion
                        /republican-legislatures-abortion-trangender-
2023-05-19   2023-05-21 education.html                                The Four Freedoms According to Republicans By Jamelle Bouie                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/19/realesta
2023-05-19   2023-05-21 te/weir-greenhouse-rebuild-brooklyn-nyc.html From 1880s Brooklyn a Greenhouse Returns By John Freeman Gill                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/science Deaths of Cheetahs From Africa Complicate
2023-05-19   2023-05-21 /india-cheetah-deaths.html                   Indias Reintroduction Plan                By Hari Kumar and Sameer Yasir      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/sports/b
2023-05-19   2023-05-21 asketball/ja-morant-gilbert-arenas.html      Their Cautionary Tales for Morant on Guns By Sopan Deb                        TX 9-299-029   2023-07-03




                                                                                Page 5256 of 5793
                        https://www.nytimes.com/2023/05/19/sports/s Superstar Billy Graham 79 Dies Model of the
2023-05-19   2023-05-21 uperstar-billy-graham-dead.html              Buff Blond Wrestler                          By Richard Sandomir             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/style/do One Call and Many Virtual Dates Later Its a
2023-05-19   2023-05-21 nald-brown-jennifer-kizza-wedding.html       Match                                        By Nia Decaille                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/style/ka
2023-05-19   2023-05-21 itlin-green-andrew-macrae-wedding.html       She Warmed Up to Him After Burning Man By Rosalie R Radomsky                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/style/ke
                        ith-jefferson-constance-ejismekwu-
2023-05-19   2023-05-21 wedding.html                                 Tacos Travel and Plenty of Time Together     By Mekita Rivas                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/style/m
                        odern-love-affair-therapy-spectacular-
2023-05-19   2023-05-21 betrayal.html                                Facing the Fallout of a Spectacular Betrayal By Samantha Silva               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/style/sa Episodes of The Office Solidified Their
2023-05-19   2023-05-21 miyyah-ali-krystal-ramseur-wedding.html      Connection                                   By Valeriya Safronova           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/us/dian In Feinsteins Home State Mixed Views on
2023-05-19   2023-05-21 ne-feinstein-california-voters.html          Her Fitness                                  By Thomas Fuller                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/us/trum Hints of August Timeline In Georgia Trump By Richard Fausset and Danny
2023-05-19   2023-05-21 p-georgia-fani-willis.html                   Inquiry                                      Hakim                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/arts/tele
2023-05-20   2023-05-21 vision/platonic-seth-rogen-rose-byrne.html   When Midlife Crises Collide                  By Chris Vognar                 TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/20/busines
2023-05-20   2023-05-21 s/lionel-harris-brownie-blendz-the-shop.html Inside the Lives of Influencer Barbers       By Kurtis Lee                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/nyregio In New York Driving High Is On the Rise
2023-05-20   2023-05-21 n/marijuana-driving-nyc.html                 Arrests Are Not                              By Corey Kilgannon              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/nyregio Two Bodies Found in City Rivers Are            By Hurubie Meko and Asmaa
2023-05-20   2023-05-21 n/missing-boys-bodies-rivers-nyc.html        Identified as Missing Boys                   Elkeurti                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/nyregio
                        n/new-york-new-jersey-connecticut-suburbs-
2023-05-20   2023-05-21 traffic-deaths.html                          In the Suburbs Cars Reign and Safety Suffers By Christine Negroni            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/nyregio
2023-05-20   2023-05-21 n/nyc-eric-adams-migrants.html               The Mayors Shifting Plans for Migrants       By Ginia Bellafante             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/nyregio
                        n/tenement-buildings-immigrants-gilded-
2023-05-20   2023-05-21 age.html                                     Recalling a Rascal From the Gilded Age       By Julie Besonen                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/nyregio
                        n/the-good-even-saintly-ship-dorothy-        The Good Perhaps Even Saintly Ship Dorothy
2023-05-20   2023-05-21 day.html                                     Day                                          By Dan Barry and Todd Heisler   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/opinion
2023-05-20   2023-05-21 /classical-music.html                        Classical Crescendo                          By Maureen Dowd                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/opinion                                                By Megan K Stack and Mike
2023-05-20   2023-05-21 /el-paso-border-expo.html                    Fear Is For Sale on The Border               Osborne                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/opinion
2023-05-20   2023-05-21 /sierra-leone-deworming.html                 How to Change a Life for 50 Cents            By Nicholas Kristof             TX 9-299-029   2023-07-03




                                                                                 Page 5257 of 5793
                        https://www.nytimes.com/2023/05/20/opinion
2023-05-20   2023-05-21 /writers-strike-hollywood.html              Can the Strike Save Hollywood                 By Ross Douthat                TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/20/realesta
                        te/no-pet-policy-emotional-support-         How Do NoPet Policies Apply To Emotional
2023-05-20   2023-05-21 animal.html                                 Support Animals                               By Ronda Kaysen                TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/20/sports/f On the Gridiron or Off He Always Turned
2023-05-20   2023-05-21 ootball/jim-brown-death-legacy.html         Upfield                                       By Kurt Streeter               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/20/sports/o Racers Bids Are More Than Name Tags But
2023-05-20   2023-05-21 lympics/running-bibs.html                   They May Be Unnecessary Burdens               By Nell Gallogly               TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/20/sports/s For Manchester City an Inevitable Ascent to
2023-05-20   2023-05-21 occer/manchester-city-premier-league.html   Invincible                                    By Rory Smith                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/20/style/th
2023-05-20   2023-05-21 e-sanctuary-roosevelt-island.html           Take the Tram to Matrimony                    By Alex Vadukul                TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/20/us/haw Desert Provides A New Paradise For
2023-05-20   2023-05-21 aii-las-vegas-migration.html                Hawaiians                                     By Eliza Fawcett and Hana Asano TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/20/us/polit Biden Voices Optimism On Reaching Debt
2023-05-20   2023-05-21 ics/biden-debt-limit.html                   Deal                                          By Peter Baker                 TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/20/us/polit Criticizing Biden Adams Diverges From        By Reid J Epstein Dana Rubinstein
2023-05-20   2023-05-21 ics/eric-adams-biden-democrats.html         Democrats                                    and Zolan KannoYoungs             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/us/polit Former Lawyer for Trump Details Legal        By Alan Feuer and Maggie
2023-05-20   2023-05-21 ics/parlatore-trump-lawyer-conflict.html    Team Turmoil                                 Haberman                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/us/polit Zelensky Appears at the G7 to Deliver a
2023-05-20   2023-05-21 ics/zelensky-g7-japan.html                  Personal Plea for Help                       By David E Sanger and Peter Baker TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/world/a Behind the Scenes Leaders Wrangle Over        By Motoko Rich Lisa Friedman and
2023-05-20   2023-05-21 sia/climate-fossil-fuels-g7.html            Ambitious Climate Commitments                Jim Tankersley                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/world/a Biden Is Not Alone in Lacking Support at
2023-05-20   2023-05-21 sia/g7-leaders-biden.html                   Home So Are 6 Other Leaders                  By Peter Baker                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/world/e In FloodStricken Area of Italy Residents Fear By Gaia Pianigiani and Elisabetta
2023-05-20   2023-05-21 urope/italy-floods-emilia-romagna.html      This Wont Be the Last of It                  Povoledo                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/world/e Clawing Back Another Inch Near Bakhmut
2023-05-20   2023-05-21 urope/ukraine-bakhmut.html                  Over 3 Bloody Days                           By Marc Santora and Tyler Hicks TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/20/world/e Bakhmut Fell Russian Says in a Disputed
2023-05-20   2023-05-21 urope/ukraine-russia-bakhmut-war.html       Claim                                        By Marc Santora                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/live/2023/05/20/wo
                        rld/russia-ukraine-news/heres-why-biden-
2023-05-20   2023-05-21 reversed-course-on-ukraines-f-16-request    Why Biden Shifted on Need for F16s           By David E Sanger                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/live/2023/05/20/wo
                        rld/russia-ukraine-news/the-wagner-founder-
                        claims-bakhmut-has-been-captured-ukraine-
2023-05-20   2023-05-21 denies-the-claim                            Putin Ally Declares Bakhmut Taken            By Marc Santora                   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/20/sports/b A Baffert Horse Wins on the Same Day That
2023-05-21   2023-05-21 affert-national-treasure-wins-preakness.html Another Is Fatally Injured               By Joe Drape                       TX 9-299-029     2023-07-03



                                                                                 Page 5258 of 5793
                        https://www.nytimes.com/2023/05/20/sports/g Koepka With Solid Golf Game and Mind
2023-05-21   2023-05-21 olf/pga-championship-brooks-koepka.html      Game Leads After 3 Rounds                    By Alan Blinder and Desiree Rios TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/busines The Week in Business An Attempt to Ban
2023-05-21   2023-05-21 s/the-week-in-business-ban-tiktok.html       TikTok                                       By Marie Solis                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/insider/
                        a-history-of-record-in-the-newspaper-of-     A History of Record in the Newspaper of
2023-05-21   2023-05-21 record.html                                  Record                                       By Sarah Diamond                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/insider/
                        a-reporter-who-puts-herself-into-
2023-05-21   2023-05-21 perspective.html                             A Reporter Who Puts Herself Into Perspective By Susan Dominus                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/nyregio
2023-05-21   2023-05-21 n/mariana-velasquez.html                     A Food Stylist Hunts for Ideas and Pastries  By Julia Bozzone                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/sports/g A New York State Courses Debt to Sherwood By Bill Pennington and Desiree
2023-05-21   2023-05-21 olf/oak-hill-pga-championship.html           Forest and Mount Vernon                      Rios                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/style/fla
2023-05-21   2023-05-21 mingo-estate.html                            In California a Home for Radical Pleasure    By Marisa Meltzer                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/style/m
2023-05-21   2023-05-21 oma-ps1-gala-ali-wong-dwayne-wade.html       Coastal Views Set the Scenes                 By Emma Grillo and Max Berlinger TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/world/a                                                By Julie Turkewitz and Federico
2023-05-21   2023-05-21 mericas/darien-gap-afghan-migration.html     Stranded Afghans Risk Crossing a Jungle      Rios                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/world/a Envoys Call for Equality In Japan Riles the
2023-05-21   2023-05-21 sia/rahm-emanuel-japan-gay-rights.html       Right                                        By Motoko Rich                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/world/e Zelensky Visit Buoys Support From G7           By Peter Baker Motoko Rich and
2023-05-21   2023-05-21 urope/biden-g7-ukraine-japan.html            Heads                                        David E Sanger                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/world/e
                        urope/greece-elections-migrants-
2023-05-21   2023-05-21 mitsotakis.html                              A Migration Enforcer Europe Can Live With By Jason Horowitz                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/live/2023/05/21/wo
                        rld/russia-ukraine-news/wagners-chief-says-
                        bakhmut-was-captured-but-the-ukrainian-      Bakhmut Fell Russian Says in a Disputed
2023-05-21   2023-05-21 military-says-thats-not-so                   Claim                                        By Marc Santora                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/26/crossw A Game With Layers of Patterns and
2023-04-26   2023-05-22 ords/tiles-game-tips-tricks.html             Difficulty                                   By Robert Vinluan                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/ny George Santos Lost His Job The Lies Charges By Michael Gold and Grace
2023-05-13   2023-05-22 region/george-santos-lies-charges.html       and Questions Remaining                      Ashford                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/arts/gu
2023-05-17   2023-05-22 ggenheim-picasso-dog.html                    A Secret Is Lurking In a Painting By Picasso By Jesus Jimnez                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/sports/b
                        asketball/victor-wembanyama-san-antonio-
2023-05-17   2023-05-22 spurs.html                                   What Wembanyama Could Do for the Spurs By Kris Rhim                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/sports/o After Kill Shot to Eye An Athlete Restarts
2023-05-18   2023-05-22 lympics/olympics-wrestler-injury.html        Life                                         By Jer Longman                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/world/a Gary Prado Salmn 84 Army Officer Who Led
2023-05-18   2023-05-22 mericas/gary-prado-salmon-dead.html          Hunt That Captured Guevara                   By Richard Sandomir              TX 9-299-029   2023-07-03




                                                                                Page 5259 of 5793
                        https://www.nytimes.com/2023/05/19/arts/mu
2023-05-19   2023-05-22 sic/donna-summer-auction.html                Selling Treasures Of a Disco Queen          By Julia Jacobs                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/arts/nak
2023-05-19   2023-05-22 ed-standup-comedy.html                       When Comics Face The Naked Truth            By Jason Zinoman                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/arts/tele
2023-05-19   2023-05-22 vision/happy-valley-review.html              A Heros Journey in Three Seasons            By Mike Hale                        TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/19/nyregio Bill Perkins 74 Defender of Harlem
2023-05-19   2023-05-22 n/bill-perkins-dead.html                   Community in City Council and State Senate By Sam Roberts                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/opinion Office Workers Dont Hate the Office They
2023-05-19   2023-05-22 /elon-musk-remote-work.html                Hate the Commute                           By Farhad Manjoo                       TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/19/opinion The Wrong Way to Cut New York Citys
2023-05-19   2023-05-22 /new-york-city-budget-cut-eric-adams.html Budget                                         By Mara Gay                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/sports/t No Place Else Id Rather Be A Genteel Sport
2023-05-19   2023-05-22 ennis/ncaa-championships.html                 Reveals Its WWE Side                       By Matthew Futterman                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/us/polit US Semiconductor Boom Faces Shortage of
2023-05-19   2023-05-22 ics/semiconductor-worker-shortage.html        Workers                                    By Madeleine Ngo                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/well/ro Robin Guenther 68 Architect Who Designed
2023-05-19   2023-05-22 bin-guenther-dead.html                        Green Health Care Facilities               By Penelope Green                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/arts/des
2023-05-20   2023-05-22 ign/plastic-venice-biennale.html              Exploring peace with plastic               By Ted Loos                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/arts/des
2023-05-20   2023-05-22 ign/venice-biennale-africa.html               Voices and energy from Africa              By Sam Lubell                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/arts/mu
                        sic/review-gustavo-dudamel-new-york-
2023-05-20   2023-05-22 philharmonic-classical-music.html             Maestro Mahler A Moment                    By Zachary Woolfe                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/books/ Martin Amis 73 Dies Author Set an Acid Eye
2023-05-20   2023-05-22 martin-amis-dead.html                         On Modern Excesses                         By Dwight Garner                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/busines
                        s/dealbook/the-optimists-guide-to-artificial- The Optimists Guide to AI And Its Value in
2023-05-20   2023-05-22 intelligence-and-work.html                    the Workplace                              By Sarah Kessler and Ephrat Livni   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/busines
                        s/disney-world-star-wars-galactic-            Disney Plans To Shut Hotel In a Galaxy Far
2023-05-20   2023-05-22 starcruiser.html                              Far Away                                   By Lauren McCarthy                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/busines Why Is Inflation So Stubborn The Car Market By Lydia DePillis and Jeanna
2023-05-20   2023-05-22 s/economy/car-prices-inflation.html           Is a Big Reason                            Smialek                             TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/20/busines The Likely Economic Cost Of Flirting With     By Lydia DePillis and Ben
2023-05-20   2023-05-22 s/economy/debt-limit-default-economy.html Default                                        Casselman                           TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/20/busines At The Messenger a Fledgling News Site One
2023-05-20   2023-05-22 s/the-messenger-news-startup.html          Editor Quits as Tempers Flare Over Strategy By Benjamin Mullin                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/technol ESports Were the Future Now Theirs Is
2023-05-20   2023-05-22 ogy/e-sports-revenue-video-gaming.html     Uncertain                                   By Kellen Browning                    TX 9-299-029   2023-07-03



                                                                                 Page 5260 of 5793
                        https://www.nytimes.com/2023/05/20/world/d How Decoupling From China Evolved Into
2023-05-21   2023-05-22 ecoupling-china-de-risking.html             the More Moderate Term DeRisking            By Damien Cave                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/arts/des
2023-05-21   2023-05-22 ign/njideka-akunyili-crosby-zwirner.html    Rising Rapidly But Not In a Rush            By Robin Pogrebin             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/arts/mu
                        sic/magic-flute-mozart-metropolitan-
2023-05-21   2023-05-22 opera.html                                  Making A Flute More Magical                 By Oussama Zahr               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/busines Miffed China Bans Chips Made in US By
2023-05-21   2023-05-22 s/china-ban-microchips-micron.html          Micron                                      By Chang Che                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/busines
                        s/economy/minerals-electric-cars-           The US Needs Minerals for Electric Cars So
2023-05-21   2023-05-22 batteries.html                              Does Everyone Else                          By Ana Swanson                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/busines Ubers DEI Chief Placed On Leave After an
2023-05-21   2023-05-22 s/uber-bo-young-lee-suspended.html          Uproar                                      By Kellen Browning            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/obituari Gloria Molina 74 Trailblazing Politician In
2023-05-21   2023-05-22 es/gloria-molina-dead.html                  California Dies                             By Neil Genzlinger            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/opinion
2023-05-21   2023-05-22 /21french-ukraine-f16-fighters.html         Ukraine Needs Those F16 Fighters            By David French               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/opinion The Gun Background Check System Is a
2023-05-21   2023-05-22 /guns-fbi-backgound-nics.html               False Promise                               By Gordon Witkin              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/sports/b
                        asketball/denver-nuggets-los-angeles-       For Denver a Strong Supporting Cast Is as
2023-05-21   2023-05-22 lakers.html                                 Important as the Star Players               By Tania Ganguli              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/sports/g
2023-05-21   2023-05-22 olf/pga-championship-brooks-koepka.html     Koepkas Back Winning PGA Crown              By Alan Blinder               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/sports/g An Everyman Is Hailed as a King And Then By Bill Pennington and Desiree
2023-05-21   2023-05-22 olf/pga-championship-michael-block.html     Delivers an Ace                             Rios                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/sports/h A Close Bout Sets Up Intriguing Lightweight
2023-05-21   2023-05-22 aney-lomachenko-boxing.html                 Matchups                                    By Morgan Campbell            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/technol Minnesota Senate Passes Bill to Guarantee
2023-05-21   2023-05-22 ogy/minnesota-uber-lyft-gig-work.html       Uber and Lyft Drivers Minimum Wage          By Kellen Browning            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/theater/
                        an-american-tail-jewishness-
2023-05-21   2023-05-22 antisemitism.html                           An American Tail Takes the Stage            By Marc Tracy                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/us/mich In Boston a Push for Big Changes Faces
2023-05-21   2023-05-22 elle-wu-boston-mayor.html                   Major Pushback                              By Jenna Russell              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/us/naac NAACP Issues Florida Travel Advisory
2023-05-21   2023-05-22 p-florida-travel-advisory-desantis.html     Joining Latino and LGBTQ Groups             By Jesus Jimnez               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/us/polit Biden and McCarthy Set to Resume            By Jim Tankersley and Catie
2023-05-21   2023-05-22 ics/biden-debt-limit.html                   Negotiations on Debt Ceiling                Edmondson                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/us/polit
                        ics/start-ups-weapons-pentagon-             Pentagon Is Slow At Signing Deals With
2023-05-21   2023-05-22 procurement.html                            Innovators                                  By Eric Lipton                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/us/polit
2023-05-21   2023-05-22 ics/tim-scott-black-republicans.html        Scott Will Test Black Progress Within GOP By Maya King                    TX 9-299-029   2023-07-03



                                                                               Page 5261 of 5793
                        https://www.nytimes.com/2023/05/21/world/a In Sudan Parties Agree To CeaseFire For 7
2023-05-21   2023-05-22 frica/sudan-ceasefire.html                 Days                                          By Abdi Latif Dahir             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/world/a How Did an Obscure City Become Chinas
2023-05-21   2023-05-22 sia/zibo-barbecue.html                     Hottest Spot Barbecue                         By Vivian Wang                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/21/world/e Greeces Governing Party Leads Vote but
2023-05-21   2023-05-22 urope/greece-elections-new-democracy.html Leader May Force Second Contest                By Niki Kitsantonis             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/world/e Even if Bakhmut Is Taken Ukraine Could
2023-05-21   2023-05-22 urope/russia-bakhmut-battle-ukraine.html     Still Use It to Tie Up Russia               By Andrew E Kramer              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/world/e Moscow Sanctions Perceived Trump
2023-05-21   2023-05-22 urope/russia-sanctions-trump.html            Adversaries                                 By Peter Baker                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/world/e
2023-05-21   2023-05-22 urope/ukraine-f16-air-force.html             Why the F16 Was Such a Priority for Kyiv    By Carlotta Gall                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/live/2023/05/21/wo
                        rld/russia-ukraine-news/the-us-believes-
                        ukraine-has-the-equipment-it-needs-for-a-    Counteroffensive Capability Delivered US
2023-05-21   2023-05-22 counteroffensive                             Says                                        By Julian E Barnes              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/sports/b
                        rittney-griner-first-game-phoenix-release-   Griners WNBA Return Is Hailed as a Day of
2023-05-22   2023-05-22 russia.html                                  Joy                                         By Kris Rhim                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/sports/
                        wnba-superteams-draft-rookies-waived-        Liberty Superteam Has Stacked Roster But    By Talya Minsberg and Monique
2023-05-22   2023-05-22 cut.html                                     Few Rookies                                 Jaques                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/arts/tele
                        vision/whats-on-tv-this-week-succession-
2023-05-22   2023-05-22 finale-and-starry-rom-coms.html              This Week on TV                             By Shivani Gonzalez             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/sports/b
                        asketball/nikoa-jokic-denver-nuggets-game- Surrounded by FastTwitch Action Jokics
2023-05-22   2023-05-22 4.html                                       Slow Roll Dominates                         By Kurt Streeter                TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/22/world/e In France Clanging Cookware Hounds
2023-05-22   2023-05-22 urope/france-pension-protest-saucepans.html Macron                                      By Constant Mheut                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/27/science Flaming Out Why Are Insects Drawn to Light
2023-04-27   2023-05-23 /moths-to-a-flame-insects-light.html        The Answer Isnt Easy to See                 By Joshua Sokol                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/04/28/science Peculiar Pollinators Fruitarian Frogs Give
2023-04-28   2023-05-23 /frogs-pollination-fruits.html              Flowers a JumpStart                         By Sofia Quaglia                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/04/well/eat What Ultraprocessed Foods Can Do to the
2023-05-04   2023-05-23 /ultraprocessed-food-mental-health.html     Brain                                       By Sally Wadyka                  TX 9-299-029   2023-07-03
                                                                    Original Spin To Study Lifes Origins
                        https://www.nytimes.com/2023/05/10/science Creating Some Snowflakes To See How They
2023-05-10   2023-05-23 /yeast-evolution-cells-snowflakes.html      Evolve                                      By Veronique Greenwood           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/science
                        /hammerhead-sharks-breath-cold-             Deep Divers Down in the Frigid Depths These
2023-05-11   2023-05-23 temperature.html                            Sharks Hold Their Breaths                   By Darren Incorvaia              TX 9-299-029   2023-07-03




                                                                                Page 5262 of 5793
                        https://www.nytimes.com/2023/05/12/well/liv
2023-05-12   2023-05-23 e/hot-flash-menopause-treatment.html        A New Option for Treating Hot Flashes        By Alisha Haridasani Gupta   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/15/well/liv
2023-05-15   2023-05-23 e/eyesight-vision-habits.html               Tips and Untruths About Eyesight             By Hannah Seo                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/science
2023-05-16   2023-05-23 /condors-bird-flu-vaccines.html             A Vaccine to Protect California Condors      By Emily Anthes              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/well/liv
2023-05-16   2023-05-23 e/tongue-scraping-benefits.html             Are There Any Benefits to Tongue Scraping    By Hannah Seo                TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/17/well/m
2023-05-17   2023-05-23 ove/tennis-elbow-treatment-prevention.html Easing the Pain Of Tennis Elbow               By Amanda Loudin             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/travel/a As Demand Is Increasing First Class Is
2023-05-18   2023-05-23 irlines-expanding-business-first-class.html Expanding                                    By Julie Weed                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/movies/
                        white-men-cant-jump-woody-harrelson-
2023-05-19   2023-05-23 wesley-snipes.html                          Delivering a Master Class in Talking Smack   By Calum Marsh               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/science
2023-05-19   2023-05-23 /behavior-music-sadness.html                Sad Songs Say So Much About Connection       By Oliver Whang              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/health/e Relocating Is a Monumental Task for Many
2023-05-20   2023-05-23 lderly-move-managers.html                   Seniors                                      By Paula Span                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/theater/ James de Jongh 80 Playwright Who Told
2023-05-20   2023-05-23 james-de-jongh-dead.html                    Stories of Slavery Dies                      By Neil Genzlinger           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/movies/
                        helmut-berger-actor-known-for-his-work-with-Helmut Berger 78 Actor and Muse to the
2023-05-21   2023-05-23 visconti-dies-at-78.html                    Italian Neorealist Director Visconti         By Richard Sandomir          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/science Whats the Next Number This Database
2023-05-21   2023-05-23 /math-puzzles-integer-sequences.html        Knows                                        By Siobhan Roberts           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/obituari C Boyden Gray Lawyer for Republican
2023-05-22   2023-05-23 es/c-boyden-gray-dead.html                  Establishment Dies at 80                     By Alex Traub                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/arts/bli
2023-05-22   2023-05-23 zzard-diffusion-ai-video-games.html         AIs Help Enlisted For Video Games            By Shannon Liao              TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/22/arts/des
2023-05-22   2023-05-23 ign/venice-architecture-biennale-review.html Africa Meets Whats Next In Venice           By Christopher Hawthorne     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/arts/mu
                        sic/dave-matthews-band-walk-around-the-
2023-05-22   2023-05-23 moon-review.html                             A GrownUp View Of Love and Dread            By Jon Pareles               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/arts/mu Linda Lewis 72 Singer With Impressive
2023-05-22   2023-05-23 sic/linda-lewis-dead.html                    Range And Musical Versatility               By Alex Williams             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/arts/mu
                        sic/review-stranger-love-los-angeles-
2023-05-22   2023-05-23 philharmonic.html                            Six Hours of Ambition and Magnitude         By Joshua Barone             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/arts/wa
2023-05-22   2023-05-23 rhol-prince-decision-copyright.html          Copyright Decision Reverberates             By Matt Stevens              TX 9-299-029   2023-07-03




                                                                                Page 5263 of 5793
                        https://www.nytimes.com/2023/05/22/books/b Students Rights at Issue in School Book        By Elizabeth A Harris and
2023-05-22   2023-05-23 ook-banning-education-civil-rights.html      Removals                                     Alexandra Alter                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/books/j
2023-05-22   2023-05-23 ames-campbell-nb-by-jc.html                  The Literary World Scrutinized and Skewered By Dwight Garner                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/busines
                        s/biore-tiktok-cecilee-max-school-           Bior and Influencer Apologize for Invoking
2023-05-22   2023-05-23 shooting.html                                School Shooting                              By Amanda Holpuch                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/busines Meta Is Fined 13 Billion Over EU Privacy
2023-05-22   2023-05-23 s/meta-facebook-eu-privacy-fine.html         Rules                                        By Adam Satariano                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/busines Chinas Ban on Micron Escalates Microchip
2023-05-22   2023-05-23 s/micron-technology-china-ban.html           War                                          By Paul Mozur and John Liu          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/busines Fed Survey Indicates Inflation Is Taking A
2023-05-22   2023-05-23 s/more-americans-struggling-inflation.html   Toll on Americans                            By Ben Casselman                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/busines An Oil Refiner in Europe Looks To Manure
2023-05-22   2023-05-23 s/oil-refiner-manure-greener-future.html     for a Greener Future                         By Stanley Reed                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/climate To Save A River 3 States Agree To Curtail
2023-05-22   2023-05-23 /colorado-river-deal.html                    Use                                          By Christopher Flavelle             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/health/c Study Locates Brain Activity That Signifies
2023-05-22   2023-05-23 hronic-pain-brain-signals.html               Chronic Pain                                 By Priyanka Runwal                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/nyregio Carroll Seeks Damages for ExPresidents
2023-05-22   2023-05-23 n/carroll-trump-cnn-defamation.html          Insults on CNN                               By Benjamin Weiser                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/nyregio Thousands of Hotel Vacancies Remain in
2023-05-22   2023-05-23 n/hotel-nyc-migrants.html                    New York City Despite Migrant Arrivals       By Matthew Haag                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/nyregio He Freed an Innocent Man From Prison and It
2023-05-22   2023-05-23 n/jay-salpeter-martin-tankleff-case.html     Ruined His Life                              By Ed Shanahan                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/nyregio US Employers Look to Britain For               By Sharon Otterman and Yana
2023-05-22   2023-05-23 n/menopause-women-work.html                  MenopauseFriendly Ideas                      Paskova                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/nyregio
                        n/resident-doctors-strike-elmhurst-hospital- Resident Doctors Go on Strike at Elmhurst in
2023-05-22   2023-05-23 nyc.html                                     Queens                                       By Joseph Goldstein                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/opinion Texas Tortures Pregnant Women Who Need
2023-05-22   2023-05-23 /abortion-law-texas-lawsuit.html             Care                                         By Michelle Goldberg                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/opinion The Republican Presidential Plot Is
2023-05-22   2023-05-23 /biden-scott-desantis-trump-haley.html       Thickening                                   By Gail Collins and Bret Stephens   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/opinion
2023-05-22   2023-05-23 /tim-keller-death.html                       Tim Keller Taught Me About Joy               By David Brooks                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/opinion
2023-05-22   2023-05-23 /work-from-home-commuting-gdp.html           Working From Home and the Meaning of Life By Paul Krugman                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/sports/b Anthony Retires After 19 Seasons and 28289
2023-05-22   2023-05-23 asketball/carmelo-anthony-retires.html       Points                                       By Sopan Deb                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/sports/b
                        asketball/jimmy-butler-miami-heat-boston- A Smiling SoulCrusher Has the Heat One
2023-05-22   2023-05-23 celtics.html                                 Win From the Finals                          By Scott Cacciola                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/sports/r Rick Wolff 71 Player Editor Writer
2023-05-22   2023-05-23 ick-wolff-dead.html                          Psychological Coach and Radio Host           By Daniel E Slotnik                 TX 9-299-029   2023-07-03



                                                                                 Page 5264 of 5793
                        https://www.nytimes.com/2023/05/22/sports/s Pelted With Slurs a Star Calls Racism Normal
2023-05-22   2023-05-23 occer/vinicius-junior-racism-tebas.html       in Spain                                      By Tariq Panja                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/technol Huge Chip Research Site To Land in Silicon
2023-05-22   2023-05-23 ogy/applied-materials-silicon-valley.html     Valley                                        By Don Clark                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/technol TikTok Fights Prohibition In Montana With By David McCabe and Sapna
2023-05-22   2023-05-23 ogy/tiktok-montana-ban-lawsuit.html           Lawsuit                                       Maheshwari                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/us/brya No Plea Made By Suspect In the Killing Of 4 By Mike Baker and Nicholas
2023-05-22   2023-05-23 n-kohberger-idaho-murders.html                in Idaho                                      BogelBurroughs                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/us/polit Biden Foresees Thaw With China Even as G7
2023-05-22   2023-05-23 ics/biden-china-g7.html                       Rattles Beijing                               By Peter Baker and David E Sanger TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/us/polit Carper Says Hell Retire After 4 Terms In the
2023-05-22   2023-05-23 ics/carper-delaware-retirement.html           Senate                                        By Luke Broadwater                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/us/polit Debt Limit Negotiators Debate Spending          By Alan Rappeport and Catie
2023-05-22   2023-05-23 ics/debt-limit-spending-caps.html             Caps                                          Edmondson                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/us/polit
                        ics/desantis-trump-older-voters-prescription- DeSantis Courts Older Voters With Message By Alexandra Glorioso and
2023-05-22   2023-05-23 drugs.html                                    on Drug Costs                                 Nicholas Nehamas                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/us/polit Justice Dept Under Trump Extended Clinton
2023-05-22   2023-05-23 ics/fbi-clinton-foundation.html               Inquiry                                       By Adam Goldman                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/us/polit
                        ics/mccarthy-biden-meeting-debt-limit-        Still Far Apart Leaders Express Confidence in By Catie Edmondson and Katie
2023-05-22   2023-05-23 talks.html                                    Ability to Avert Default                      Rogers                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/us/polit Judge Delays Decision On Writings of
2023-05-22   2023-05-23 ics/nashville-shooter-journals.html           Shooter                                       By Emily Cochrane                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/us/polit With Positive Theme and Much Cash on            By Jonathan Weisman and Maya
2023-05-22   2023-05-23 ics/tim-scott-2024-campaign-trump.html        Hand Scott Joins GOP Race                     King                              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/us/polit Information Is Sought on Trumps Foreign         By Alan Feuer Maggie Haberman
2023-05-22   2023-05-23 ics/trump-records-foreign-deals.html          Deals                                         and Ben Protess                   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/22/us/uval                                               By Edgar Sandoval J David
2023-05-22   2023-05-23 de-shooting-anniversary-families-guns.html After a Year of Agony Uvalde Is Fractured     Goodman and Tamir Kalifa           TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/22/world/a At Least 19 Dead After Horrific Blaze In
2023-05-22   2023-05-23 mericas/guyana-school-fire.html            Dorm of a Guyana Boarding School              By Genevieve Glatsky               TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/22/world/a Spying Scandal In Mexico Goes Right to the By Natalie Kitroeff and Ronen
2023-05-22   2023-05-23 mericas/mexico-spying-pegasus-israel.html Top                                         Bergman                               TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/22/world/a Manilas Historic Post Office Destroyed in
2023-05-22   2023-05-23 sia/manila-fire-post-office-philippines.html Fire                                        By Jason Gutierrez                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/22/world/e An Influencer Thought He Was Above the
2023-05-22   2023-05-23 urope/andrew-tate-arrest-romania.html        Law Romania Proved Him Wrong                By Andrew Higgins                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/22/world/e                                               By Michael Schwirtz and Marc
2023-05-22   2023-05-23 urope/bakhmut-russia-ukraine-retreat.html    Bakhmut Falls To the Kremlin What Is Won    Santora                            TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/22/world/e Why Did One SaltMining Town Come to
2023-05-22   2023-05-23 urope/bakhmut-ukraine-war.html               Symbolize an Invasion                       By Thomas GibbonsNeff              TX 9-299-029     2023-07-03



                                                                                 Page 5265 of 5793
                        https://www.nytimes.com/2023/05/22/world/e A City Is Destroyed by a Long and Bloody
2023-05-22   2023-05-23 urope/bakhmut-ukraine.html                 Battle                                         By Tyler Hicks and Marc Santora    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/world/e
                        urope/belarus-protasevich-activist-                                                       By Matthew Mpoke Bigg and Ivan
2023-05-22   2023-05-23 pardon.html                                In Belarus Activist Gets A Pardon              Nechepurenko                   TX 9-299-029       2023-07-03

                        https://www.nytimes.com/2023/05/22/world/e                                                By Valerie Hopkins and Riley
2023-05-22   2023-05-23 urope/belgorod-russia-ukraine-fighting.html Attackers Strike Border Towns in Russia       Mellen                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/world/e
                        urope/greece-migrants-video-eu-              Greece Asked To Investigate Its Handling Of
2023-05-22   2023-05-23 investigation.html                           Migrants                                     By Matina StevisGridneff           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/world/e
                        urope/northern-ireland-uk-sinn-fein-         Sinn Fein Surges in Local Elections
2023-05-22   2023-05-23 elections.html                               Highlighting Divisions                       By Mark Landler                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/world/
                        middleeast/erdogan-endorsement-sinan-        Turkeys 3rdPlace Finisher to Support Erdogan By Ben Hubbard and Gulsin
2023-05-22   2023-05-23 ogan.html                                    in the Presidential Runoff Election          Harman                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/ The Colorado River Is Shrinking See Whats
2023-05-22   2023-05-23 22/climate/colorado-river-water.html         Using All the Water                          By Elena Shao                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/health/ Tanzania Strains to Save Girls From Cervical
2023-05-23   2023-05-23 hpv-vaccine-tanzania.html                    Cancer                                       By Stephanie Nolen                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/science                                                By Jennie Erin Smith and Charlie
2023-05-23   2023-05-23 /huntingtons-disease-colombia.html           The Forgotten                                Cordero                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/theater/
2023-05-23   2023-05-23 monsoon-wedding-review.html                  An Arranged Marriage of Musical Styles       By Jesse Green                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/17/dining/r
2023-05-17   2023-05-24 oasted-shrimp-cocktail-recipe.html           Better Shrimp Cocktail Is Just a Dip Away    By Melissa Clark                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/dining/
2023-05-18   2023-05-24 drinks/weed-wine.html                        Weed Wines Clandestine Allure                By Eric Asimov                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/18/dining/
2023-05-18   2023-05-24 make-ahead-salads.html                       Kick Off Summer With Breezy Salads           By Kay Chun                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/movies/
2023-05-19   2023-05-24 fastx-furious-vin-diesel.html                Furious and Furiouser Examining the Feuds By Calum Marsh                        TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/19/opinion AI May One Day Make War Decisions Be
2023-05-19   2023-05-24 /artificial-intelligence-military-nuclear.html Afraid                                 By Peter Coy                           TX 9-299-029   2023-07-03
                                                                                                              By Matina StevisGridneff Sarah
                        https://www.nytimes.com/2023/05/19/world/e Greece Is Caught on Video Leaving Migrants Kerr Kassie Bracken and Nimet
2023-05-19   2023-05-24 urope/greece-migrants-abandoned.html       Adrift                                     Kirac                                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/20/busines In Mykonos a Sinister Side To a Luxury         By Liz Alderman and Niki
2023-05-20   2023-05-24 s/mykonos-greece-construction-tourism.html Building Boom                                  Kitsantonis                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/movies/
                        master-gardener-paul-schrader-joel-edgerton-
2023-05-21   2023-05-24 oscar-isaac-ethan-hawke.html                 Sin and Redemption One Man at a Time         By Esther Zuckerman                TX 9-299-029   2023-07-03



                                                                                 Page 5266 of 5793
                        https://www.nytimes.com/2023/05/22/arts/des                                               By Robin Pogrebin and Zachary
2023-05-22   2023-05-24 ign/art-auction-week-five-takeaways.html      After Lots Of Auctions Some Lessons         Small                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/arts/mu
                        sic/morgan-wallen-11-weeks-billboard-         With 11 Weeks at No 1 Morgan Wallen Joins
2023-05-22   2023-05-24 chart.html                                    an Elite Club                               By Ben Sisario                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/arts/tele
2023-05-22   2023-05-24 vision/tv-female-rage-beef.html               On TV They Are All the Rage                 By Maya Phillips                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/dining/
2023-05-22   2023-05-24 dallas-luxury-restaurants.html                Dinings New Boom Town                       By Priya Krishna                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/dining/r
2023-05-22   2023-05-24 estaurant-qr-code-menu.html                   The QRCode Menu Is Shown the Door           By Amelia Nierenberg             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/opinion
2023-05-22   2023-05-24 /birth-control-over-the-counter-fda.html      Getting a Birth Control Pill Should Be Easy By Eric Reinhart                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/sports/r Rick Hoyt 61 Wheelchair Racer Backed by
2023-05-22   2023-05-24 ick-hoyt-dead.html                            His Father Every Inch of the Way            By Talya Minsberg                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/sports/s Buddy Melges Leonardo da Vinci Of
2023-05-22   2023-05-24 ailing/buddy-melges-dead.html                 American Sailing Is Dead at 93              By Chris Museler                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/theater/
2023-05-22   2023-05-24 bees-and-honey-review.html                    The Rhythms of a Love Are Sweet and Sticky By Naveen Kumar                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/us/calif Shes Out to Save Rare Wildflowers But First
2023-05-22   2023-05-24 ornia-wildflower-hunt.html                    She Has to Find Them                        By Jill Cowan and Daniel Dorsa   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/sports/b Dodgers Reverse Course and Again Invite a
2023-05-23   2023-05-24 aseball/dodgers-pride-night.html              Gay Rights Group to Pride Night             By Benjamin Hoffman              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/sports/b
                        asketball/denver-nuggets-los-angeles-lakers- Nuggets Sweep Belies Their Claim of Being
2023-05-23   2023-05-24 sweep.html                                    Underdogs                                   By Tania Ganguli                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/arts/mu
                        sic/memphis-gospel-elizabeth-king-elder-jack-
2023-05-23   2023-05-24 ward.html                                     A Startling Gospel Revival in Memphis       By Stephen Deusner               TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/23/arts/mu
2023-05-23   2023-05-24 sic/orchestra-classical-music-attendance.html Empty Orchestra Seats Start to Fill Up     By Zachary Woolfe                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/books/i
2023-05-23   2023-05-24 nternational-booker-prize-time-shelter.html Time Shelter Wins International Booker Prize By Alex Marshall                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/busines FAA Allots 100 Million For Prevention Of
2023-05-23   2023-05-24 s/faa-airports-100-million.html               Accidents                                  By Niraj Chokshi                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/23/busines
2023-05-23   2023-05-24 s/jobs-protections-artificial-intelligence.html Shield Urged For Workers Hurt by AI          By Emma Goldberg              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/busines
                        s/media/buzzfeed-botatouille-chatbot-           BuzzFeed in an Effort to Ride the AI Wave
2023-05-23   2023-05-24 food.html                                       Introduces a Free Recipe Chatbot Botatouille By Benjamin Mullin            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/climate Study Shows Devastating Heat Risk in
2023-05-23   2023-05-24 /blackout-heat-wave-danger.html                 Phoenix                                      By Michael Levenson           TX 9-299-029   2023-07-03




                                                                                  Page 5267 of 5793
                        https://www.nytimes.com/2023/05/23/dining/
                        dont-travel-on-memorial-day-weekend-try-    You Noticed It Now Is the Time to Check It
2023-05-23   2023-05-24 new-restaurants-instead.html                Out                                         By Nikita Richardson            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/dining/
                        house-brooklyn-restaurant-review-pete-
2023-05-23   2023-05-24 wells.html                                  A Tokyo Tasting Counter Alights in Brooklyn By Pete Wells                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/dining/r
                        estaurant-yuu-omakase-brooklyn-restaurant- Restaurant Yuu an Omakase With a French
2023-05-23   2023-05-24 opening.html                                Approach Opens in Brooklyn                  By Florence Fabricant           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/health/s
                        urgeon-general-social-media-mental-         Advisory Says Teens Face Risk On Social By Matt Richtel Catherine Pearson
2023-05-23   2023-05-24 health.html                                 Sites                                       and Michael Levenson            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/nyregio
                        n/nyc-affordable-housing-lotteries-         Do New Yorks Affordable Housing Lotteries
2023-05-23   2023-05-24 segregation.html                            Fuel Segregation                            By Mihir Zaveri                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/nyregio AllBlack School of 1800s Receives Landmark
2023-05-23   2023-05-24 n/nyc-segregated-school-landmark.html       Status                                      By Lola Fadulu                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/nyregio Adams Seeks To Reduce Citys Role As a
2023-05-23   2023-05-24 n/right-to-shelter-nyc.html                 Shelter                                     By Jeffery C Mays               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/nyregio
                        n/subway-attack-woman-pushed-               Man Charged With Shoving Woman Into
2023-05-23   2023-05-24 manhattan.html                              Train                                       By Ed Shanahan                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/nyregio Trial in Manhattan Criminal Case Against
2023-05-23   2023-05-24 n/trump-trial-date.html                     Trump Is Set for March 2024                 By Jonah E Bromwich             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/opinion
2023-05-23   2023-05-24 /supreme-court-criticism-reform.html        Fixing the Supreme Court Through Criticism By Stephen I Vladeck             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/opinion
                        /vivek-ramaswamy-election-2024-republican-
2023-05-23   2023-05-24 nomination.html                             Another Businessman Wants to Run America By Katherine Miller                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/sports/b Meet the Former Mets Who Are Managing In
2023-05-23   2023-05-24 aseball/mets-japan-managers.html            a Japanese League                           By Brad Lefton                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/sports/s
                        occer/vincent-kompany-burnley-premier-
2023-05-23   2023-05-24 league.html                                 The Next Star Coach Is Biding His Time      By Rory Smith                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/technol                                              By David YaffeBellany and
2023-05-23   2023-05-24 ogy/ftx-evidence-sam-bankman-fried.html      FTX Case Amasses Mountains Of Evidence Matthew Goldstein                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/theater/ The Tonys Will Go On Thanks to a Deal
2023-05-23   2023-05-24 tony-awards-wga-strike-playwrights.html     Brokered by Playwrights                     By Michael Paulson              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/us/illin 1997 Minors Abused in Catholic Church
2023-05-23   2023-05-24 ois-catholic-church-sex-abuse.html          Illinois Says                               By Ruth Graham                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/us/polit                                             By Noah Weiland and Benjamin
2023-05-23   2023-05-24 ics/biden-debt-ceiling-covid.html           White House Tries to Shield Virus Money     Mueller                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/us/polit US Faces High Risk of Default in Early June
2023-05-23   2023-05-24 ics/debt-limit-default-xdate-report.html    Report Says                                 By Alan Rappeport               TX 9-299-029   2023-07-03




                                                                              Page 5268 of 5793
                                                                                                                  By Shane Goldmacher Maggie
                        https://www.nytimes.com/2023/05/23/us/polit DeSantis to Announce His 2024 Bid During a Haberman Ryan Mac and Nicholas
2023-05-23   2023-05-24 ics/desantis-elon-musk-twitter.html         Twitter Talk With Musk                        Nehamas                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/us/polit Trump Rival Floats Idea 72 Majority On the
2023-05-23   2023-05-24 ics/desantis-supreme-court.html             Court                                         By Nicholas Nehamas            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/us/polit
                        ics/harlan-crow-clarence-thomas-judiciary-  GOP Donor Refuses Senate Request to See
2023-05-23   2023-05-24 committee.html                              Thomas Gift Receipts                          By Carl Hulse                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/us/polit Arizona Judge Tosses Lakes 2022 Election
2023-05-23   2023-05-24 ics/kari-lake-lawsuit-thrown-out.html       Suit Saying Her Claims Dont Clear the Bar     By Neil Vigdor                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/us/polit
                        ics/mccarthy-democrats-republicans-debt-                                                  By Catie Edmondson and Luke
2023-05-23   2023-05-24 limit-deal.html                             GOP Speaker Is Negotiating On a Tightrope Broadwater                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/us/polit Man Detained After Crash Into White House
2023-05-23   2023-05-24 ics/truck-crash-white-house.html            Barriers                                      By Eileen Sullivan             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/us/polit
                        ics/us-navy-iran-ship-seizures-strait-of-   US Steps Up Patrols in Strait of Hormuz After
2023-05-23   2023-05-24 hormuz.html                                 Iran Seizes Oil Tankers                       By Eric Lipton                 TX 9-299-029   2023-07-03
                                                                    South Carolina Senate Passes 6Week
                        https://www.nytimes.com/2023/05/23/us/sout Abortion Ban After Filibuster by 5 Women
2023-05-23   2023-05-24 h-carolina-abortion-ban.html                Fails                                         By Kate Zernike and Ava Sasani TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/us/tho Court Backs High School In Virginia on
2023-05-23   2023-05-24 mas-jefferson-high-school-admissions.html Admissions                                      By Stephanie Saul              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/world/a Bleak Choices for Women Giving Birth in        By Cora Engelbrecht and Abdi
2023-05-23   2023-05-24 frica/sudan-war-pregnant-women.html         WarTorn Sudan                                 Latif Dahir                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/world/a
                        mericas/mexico-president-spying-            Mexicos President Says He Told Official Not By Natalie Kitroeff and Ronen
2023-05-23   2023-05-24 pegasus.html                                to Worry About Being Spied On                 Bergman                        TX 9-299-029   2023-07-03
                                                                    Australian TV Host Takes Leave After Racist
                        https://www.nytimes.com/2023/05/23/world/a Reaction to His Remarks on the UK
2023-05-23   2023-05-24 sia/australia-stan-grant.html               Coronation                                    By Yan Zhuang                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/world/a China and Russia Tighten Embrace To Fend By David Pierson and Chris
2023-05-23   2023-05-24 sia/china-g7-russia-us.html                 Off West                                      Buckley                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/world/a                                                By Bhadra Sharma and Sameer
2023-05-23   2023-05-24 sia/sherpas-everest-competition.html        Its a Rivalry Only Sherpas Could Have         Yasir                          TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/23/world/e
2023-05-23   2023-05-24 urope/belarus-roman-protasevich-pardon.html From Dissident Hero to a Pardoned Villain    By Andrew Higgins             TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/23/world/e Russian Judge Extends the Detention of an
2023-05-23   2023-05-24 urope/evan-gershkovich-russia-hearing.html American Journalist Accused of Spying         By Roger Cohen                TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/23/world/e Court Rejects Princes Bid To Pay for Police
2023-05-23   2023-05-24 urope/prince-harry-security-uk.html        Protection                                    By Mark Landler               TX 9-299-029     2023-07-03




                                                                                Page 5269 of 5793
                        https://www.nytimes.com/2023/05/23/world/e Attacks on Russian Territory Could Pose a        By Andrew E Kramer Valerie
2023-05-23   2023-05-24 urope/russia-belgorod-ukraine-attacks.html      New Threat to Moscow                        Hopkins and Michael Schwirtz      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/world/e
                        urope/uk-immigration-student-dependent-         UK Clamping Down on Visas for Students
2023-05-23   2023-05-24 visas.html                                      Kin                                         By Stephen Castle                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/world/e
2023-05-23   2023-05-24 urope/ukraine-f16-training.html                 F16s Could Be Ready Sooner Than Expected By Lara Jakes                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/world/
                        middleeast/turkey-election-economy-             Victor in Turkey Will Win an Economy at the
2023-05-23   2023-05-24 president.html                                  Edge of Crisis                              By Ben Hubbard                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/article/madeleine- New Search Puts Case of Missing UK Girl
2023-05-23   2023-05-24 mccann-search.html                              Back in Spotlight                           By Emma Bubola                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/busines
                        s/media/new-york-times-news-guild-              Times Reaches Contract Deal With
2023-05-24   2023-05-24 contract.html                                   Newsroom Union After 2 Years                By Katie Robertson                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/insider/
2023-05-24   2023-05-24 wine-critic-eric-asimov-nyt.html                For a Wine Critic Experience Ages Well      By Josh Ocampo                    TX 9-299-029   2023-07-03
                                                                                                                    By Troy Closson Olivia Bensimon
                        https://www.nytimes.com/2023/05/24/nyregio New York Teens Resent Social Media and           Wesley Parnell and Michael D
2023-05-24   2023-05-24 n/social-media-teenagers-health-nyc.html        Efforts To Officially Take It Away          Regan                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/us/polit Group Plans 200 Million Drive To Propel         By Shane Goldmacher Jonathan
2023-05-24   2023-05-24 ics/ron-desantis-2024-super-pac.html            DeSantis Past Trump                         Swan and Maggie Haberman          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/ After Uvalde a Cemetery Anchors Families of Photographs and Text by Tamir
2023-05-24   2023-05-24 23/us/uvalde-families-cemetery.html             Victims                                     Kalifa                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/11/arts/tele Why We Still Want To Be in Interrogation
2023-05-11   2023-05-25 vision/homicide-life-on-the-street.html         Three Decades Later                         By Saul Austerlitz                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/style/be
2023-05-19   2023-05-25 zos-yacht-koru.html                             A Schooner Thats Fit for a Gazillionaire    By Kevin Koenig                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/t-
                        magazine/mahjong-club-chinatown-
2023-05-19   2023-05-25 tournament.html                                 People Places Things                        By Jason Chen                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/books/f Writers Shift of Focus From Suffering to
2023-05-22   2023-05-25 ires-in-the-dark-kay-redfield-jamison.html      Healing                                     By Casey Schwartz                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/movies/
                        scorsese-dicaprio-de-niro-killers-of-the-flower
2023-05-22   2023-05-25 moon.html                                       A Film Is Flipped To Touch Its Soul         By Kyle Buchanan                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/style/ro Where Future Monarchs Learn to Be Social
2023-05-22   2023-05-25 yalty-princesses-atlantic-college.html          Butterflies                                 By Elizabeth Paton                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/arts/tele Asian American Culture Gets the Disney
2023-05-23   2023-05-25 vision/american-born-chinese-review.html        Treatment                                   By Mike Hale                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/movies/
2023-05-23   2023-05-25 michelle-yeoh-cannes.html                       A Little Too Emotional                      By Kyle Buchanan                  TX 9-299-029   2023-07-03




                                                                                 Page 5270 of 5793
                        https://www.nytimes.com/2023/05/23/style/af 10 Words From the African American English
2023-05-23   2023-05-25 rican-american-english-oxford-dictionary.html Dictionary                               By Sandra E Garcia                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/world/e Two Groups Of Russians Are Fighting For
2023-05-23   2023-05-25 urope/free-russia-legion-ukraine.html         Ukraine                                  By Michael Schwirtz               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/us/polit
                        ics/trump-lawyers-meeting-garland-special- Trump Lawyers Ask to Meet Garland Over
2023-05-24   2023-05-25 counsel.html                                  Investigations                           By Maggie Haberman                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/arts/dan Rites of Spring Made More Nuanced for
2023-05-24   2023-05-25 ce/review-dada-masilo-the-sacrifice.html      Today                                    By Siobhan Burke                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/arts/mu Bill Lee 94 Bassist and Composer For Son
2023-05-24   2023-05-25 sic/bill-lee-dead.html                        Spike Lees Films Is Dead                 By Robert D McFadden              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/arts/mu
2023-05-24   2023-05-25 sic/gabriella-smith-composer.html             A Composer At Home In Nature             By Joshua Barone                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/arts/mu A Bold Volunteer On the AI Frontier Hears
2023-05-24   2023-05-25 sic/grimes-ai-songs.html                      the Future                               By Joe Coscarelli                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/arts/mu Tina Turner 83 Rock Queen Whose Voice
2023-05-24   2023-05-25 sic/tina-turner-dead.html                     and Legs Wouldnt Quit Dies               By William Grimes                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/arts/mu                                             By Michael Levenson and April
2023-05-24   2023-05-25 sic/tina-turner-death-reactions.html          Heartfelt Tributes To a Showstopper      Rubin                             TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/24/busines
2023-05-24   2023-05-25 s/artificial-intelligence-regulation-openai.html AI Needs a Watchdog ChatGPT Creators Say By Gregory Schmidt             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/busines US Credit Rating May Fall Even With a Brief
2023-05-24   2023-05-25 s/debt-default-credit-ratings.html               Default                                  By Joe Rennison                TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/24/busines Semafor Raises 19 Million To Replace Crypto
2023-05-24   2023-05-25 s/media/semafor-funding-bankman-fried.html Funding                                       By Benjamin Mullin              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/busines Global Group Takes On Threat of
2023-05-24   2023-05-25 s/researchers-study-misinformation.html    Misinformation                                By Steven Lee Myers             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/busines UK Inflation Slowed in April But Remains
2023-05-24   2023-05-25 s/uk-inflation-april.html                  Stubbornly High                               By Eshe Nelson                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/climate
2023-05-24   2023-05-25 /bahamas-climate-change.html               In the Bahamas a race to adapt                By David Gelles                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/climate
2023-05-24   2023-05-25 /seagrass-climate-change.html              A powerful tool just below the surface        By Tatiana Schlossberg          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/climate
2023-05-24   2023-05-25 /spanish-village-climate-change.html       Innovation in a Spanish village               By Rachel Chaundler             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/nyregio Tentative Deal Ends Strike By Queens
2023-05-24   2023-05-25 n/doctors-strike-elmhurst-hospital.html    Hospital Doctors                              By Joseph Goldstein             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/nyregio
                        n/eric-adams-homeless-jessica-katz-        Housing Chief Quits Amid Homelessness         By Mihir Zaveri and Jeffery C
2023-05-24   2023-05-25 resigns.html                               Crisis                                        Mays                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/nyregio Fetty Wap to Serve 6 Years In Prison for Drug
2023-05-24   2023-05-25 n/fetty-wap-sentenced.html                 Trafficking                                   By Karen Zraick                 TX 9-299-029   2023-07-03



                                                                                 Page 5271 of 5793
                        https://www.nytimes.com/2023/05/24/nyregio
                        n/nypd-police-commissioner-sewell-          Commissioner Seeks Discipline for Top        By Maria Cramer and Chelsia Rose
2023-05-24   2023-05-25 maddrey.html                                NYPD Officer                                 Marcius                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/opinion All Americans Have the Right to Dress as
2023-05-24   2023-05-25 /anti-drag-laws-anti-trans-law-suits.html   They Wish                                    By Kate Redburn                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/opinion
2023-05-24   2023-05-25 /desantis-republicans.html                   A Flood of Unprepared Presidential Hopefuls By Charles M Blow                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/opinion
2023-05-24   2023-05-25 /education-revolution-sierra-leone.html     On the Front Line of an Education Revolution By Nicholas Kristof              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/opinion
                        /feinstein-senate-judiciary-resignation-
2023-05-24   2023-05-25 age.html                                    No Time Like the Present Senator Feinstein By Gail Collins                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/sports/o
                        lympics/2026-olympics-milan-cortina-andrea- MilanCortinas Chief Has Seen the Future And
2023-05-24   2023-05-25 varnier.html                                It Sprawls                                   By Andrew Das                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/technol In Sputtering Livestream An Echo of
2023-05-24   2023-05-25 ogy/elon-musk-desantis-twitter.html         Twitters Woes                                By Ryan Mac                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/technol
                        ogy/inside-how-tiktok-shares-user-data-     How TikTok Shares User Data Alarming         By Sapna Maheshwari and Ryan
2023-05-24   2023-05-25 lark.html                                   Even Its Employees                           Mac                              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/technol
                        ogy/personaltech/what-to-know-about-        Unglue Children From Their Screens Believe
2023-05-24   2023-05-25 limiting-your-childs-screen-time.html       It or Not Parents Have Some Options          By Brian X Chen                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/theater/
2023-05-24   2023-05-25 demons-review-keelay-gipson.html            Grief Is A Thing With Fur                    By Maya Phillips                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/upshot/ For One Group of Teens Social Media Is a
2023-05-24   2023-05-25 social-media-lgbtq-benefits.html            Lifeline                                     By Claire Cain Miller            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/us/gun-
2023-05-24   2023-05-25 control-laws-uvalde.html                    No End to National Division Over Gun Policy By Shaila Dewan                   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/24/us/navy-Navy Destroyer Sunk in World War II
2023-05-24   2023-05-25 destroyer-abele-world-war-ii-okinawa.html Discovered Off Okinawa                        By John Ismay                   TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/24/us/polit One Year After the Attack Biden Implores
2023-05-24   2023-05-25 ics/biden-uvalde-anniversary-gun-control.html Congress To Stop the Next Uvalde            By Peter Baker                TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/24/us/polit Floridas First Lady in Vital Role Helping Her
2023-05-24   2023-05-25 ics/casey-desantis-strategy.html              Husband Connect                             By Katie Glueck               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/24/us/polit
                        ics/charles-q-brown-nominated-joint-          President to Nominate Air Force General as
2023-05-24   2023-05-25 chiefs.html                                   Chairman of the Joint Chiefs of Staff       By Helene Cooper              TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/24/us/polit ChinaTied Malware Hits Systems in Guam Is
2023-05-24   2023-05-25 ics/china-guam-malware-cyber-microsoft.html Taiwan the Real Target                    By David E Sanger                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/24/us/polit
2023-05-24   2023-05-25 ics/debt-ceiling-deal-federal-spending.html US Debt Talks May Not Alter Spending Path By Jim Tankersley                 TX 9-299-029     2023-07-03



                                                                                Page 5272 of 5793
                        https://www.nytimes.com/2023/05/24/us/polit Marathon Session of Debt Talks Ends With By Carl Hulse and Catie
2023-05-24   2023-05-25 ics/debt-limit-mccarthy-biden.html          No Deal Near                                Edmondson                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/us/polit Fed Officials Were Split Over Raising Rates
2023-05-24   2023-05-25 ics/federal-reserve-minutes.html            Again                                       By Madeleine Ngo                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/us/polit Jan 6 Rioter Seen at Desk Of Speaker Is
2023-05-24   2023-05-25 ics/jan-6-barnett-sentence.html             Sentenced                                   By Alan Feuer and Zach Montague TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/us/polit
                        ics/ron-desantis-2024-presidential-         Hot Mic Dead Air And Eventually DeSantis By Nicholas Nehamas and Shane
2023-05-24   2023-05-25 election.html                               Speaks                                      Goldmacher                      TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/24/us/polit Amassing Power DeSantis Maximized Might
2023-05-24   2023-05-25 ics/ron-desantis-florida-governor-power.html of Governors Office                         By Patricia Mazzei             TX 9-299-029   2023-07-03
                                                                                                                 By Julian E Barnes Adam Entous
                        https://www.nytimes.com/2023/05/24/us/polit                                              Eric Schmitt and Anton
2023-05-24   2023-05-25 ics/ukraine-kremlin-drone-attack.html        US Suspects Kyiv in Attack At the Kremlin Troianovski                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/us/polit Yellen Warns of Missed US Payments and
2023-05-24   2023-05-25 ics/yellen-debt-limit.html                   Very Tough Choices                          By Alan Rappeport              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/us/texa Intraparty Showdown Escalates Among Texas By J David Goodman and David
2023-05-24   2023-05-25 s-ken-paxton-speaker-drunk.html              Republican Leaders                          Montgomery                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/us/texa Bill to Put Ten Commandments in Texas
2023-05-24   2023-05-25 s-ten-commandments-legislature.html          Schools Fails                               By J David Goodman             TX 9-299-029   2023-07-03
                                                                                                                 By Josie Moyer MarVic
                        https://www.nytimes.com/2023/05/24/us/typh Typhoon Pummels Guam Leaving Thousands Cagurangan Mike Ives and Derrick
2023-05-24   2023-05-25 oon-mawar-guam.html                          in Dark                                     Bryson Taylor                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/us/uval
2023-05-24   2023-05-25 de-shooting-fallout.html                     A Year After a Massacre What Has Changed By Edgar Sandoval                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/world/a Perus Security Forces Face Little Scrutiny As
2023-05-24   2023-05-25 mericas/peru-protests-killings.html          Protesters Die                              By Mitra Taj and Marco Garro   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/world/a
2023-05-24   2023-05-25 sia/china-comedy-music-crackdown.html        In China a Crackdown on Comedy and Music By Vivian Wang                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/world/a A Bird in Hand in Miami Ruffles Feathers in
2023-05-24   2023-05-25 sia/new-zealand-kiwi-miami-zoo.html          New Zealand                                 By Natasha Frost               TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/24/world/a Officer Used Stun Gun Woman 95 Later
2023-05-24   2023-05-25 ustralia/clare-nowland-police-stun-gun.html Died                                       By Natasha Frost               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/24/world/e
                        urope/france-short-haul-flights-            Vaunted French Ban on Short Domestic
2023-05-24   2023-05-25 emissions.html                              Flights Is a Pale Shade of Green           By Aurelien Breeden            TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/24/world/e Orcas Have Been Battering Boats in Southern
2023-05-24   2023-05-25 urope/orcas-sink-boats-spain.html           Europe Puzzled Scientists Say              By Isabella Kwai               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/24/world/e Russias Likely Strategy After Bakhmut
2023-05-24   2023-05-25 urope/russia-bakhmut-war-what-next.html     Defense                                    By Thomas GibbonsNeff          TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/24/world/ Netanyahus Budget May Risk His FreeMarket
2023-05-24   2023-05-25 middleeast/israel-netanyahu-budget.html     Legacy                                     By Patrick Kingsley            TX 9-299-029     2023-07-03




                                                                              Page 5273 of 5793
                        https://www.nytimes.com/live/2023/05/25/wo
                        rld/russia-ukraine-news/a-us-aircraft-carrier-
                        visits-oslo-in-a-show-of-strength-aimed-at-
2023-05-24   2023-05-25 russia                                         US Military Might On Display in Norway   By Henrik Pryser Libell         TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/24/us/nash Families Win Ruling on Nashville Attackers
2023-05-25   2023-05-25 ville-covenant-school-shooter-writings.html Journals                                     By Emily Cochrane              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/us/polit
2023-05-25   2023-05-25 ics/ron-desantis-fact-check.html             Assessing the Claims DeSantis Made in Bid By Linda Qiu                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/world/e After Attack on Russian Soil Raiders Taunt By Andrew E Kramer and Valerie
2023-05-25   2023-05-25 urope/russia-border-attack-ukraine.html      Kremlin                                     Hopkins                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/insider/
2023-05-25   2023-05-25 third-wheel.html                             A Reporter Wants to Be Your Third Wheel     By Emma Grillo                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/sports/b After Suspension Padres Superstar Seeks
2023-05-25   2023-05-25 aseball/fernando-tatis-padres.html           Redemption                                  By Scott Miller                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/style/el
2023-05-25   2023-05-25 ena-velez-fashion.html                       Clinging to a Precarious Fashion Dream      By Jessica Testa               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/style/m
2023-05-25   2023-05-25 ary-tyler-moore-documentary-review.html      She Smiled and Doors Opened                 By Rhonda Garelick             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/us/polit Push by US to Stitch Together Cities Long
2023-05-25   2023-05-25 ics/biden-removing-highways.html             Severed by Highways                         By Mark Walker                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/article/typhoon-     Heading for the Philippines A Super Typhoon
2023-05-21   2023-05-26 mawar.html                                   Intensifies                                 By The New York Times          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/busines
                        s/economy/unions-starbucks-apple-rei-trader- Union Organizers Say Companies Are
2023-05-22   2023-05-26 joes.html                                    Retaliating                                 By Noam Scheiber               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/busines Moving Away From Processing Lithium in        By Natasha Frost and Matthew
2023-05-23   2023-05-26 s/australia-lithium-refining.html            China                                       Abbott                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/movies/ Ray Stevenson 58 Actor in Thor Whose
2023-05-23   2023-05-26 ray-stevenson-dead.html                      Breakthrough Occurred in Rome               By Neil Genzlinger             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/movies/
2023-05-23   2023-05-26 victim-suspect-review.html                   VictimSuspect                               By Natalia Winkelman           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/arts/des
                        ign/avedon-photography-gagosian-             For Photographers 100th a Display of 220
2023-05-24   2023-05-26 review.html                                  Prints                                      By Arthur Lubow                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/busines Indian Billionaires Stock Is Now Back on the
2023-05-24   2023-05-26 s/adani-stock-price.html                     Upswing                                     By Alex Travelli               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/movies/
2023-05-24   2023-05-26 force-of-circumstance-moma.html              Faux Thriller Is in a Way a Triumph         By J Hoberman                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/movies/ Kenneth Anger 96 Filmmaker Who Left a Pop
2023-05-24   2023-05-26 kenneth-anger-dead.html                      Culture Legacy Dies                         By Dennis Lim                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/movies/
2023-05-24   2023-05-26 little-mermaid-review-halle-bailey.html      Remake Finds Its Feet but Loses Its Bubbles By Wesley Morris               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/nyregio Nicholas Gray 86 Who Founded A New York
2023-05-24   2023-05-26 n/nicholas-gray-dead.html                    Hot Dog Mecca Dies                          By Alex Traub                  TX 9-299-029   2023-07-03



                                                                                 Page 5274 of 5793
                        https://www.nytimes.com/2023/05/24/opinion
2023-05-24   2023-05-26 /ron-desantis-republican-primary.html        The DeSantis Campaign Is Puzzling             By Frank Bruni                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/opinion Theres an Alternative to Smartphones for
2023-05-24   2023-05-26 /social-media-smartphones.html               Tweens                                        By Jessica Grose                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/sports/b Its About Time New Rules Are a Runaway
2023-05-24   2023-05-26 aseball/mlb-new-rules-pitch-clock.html       Success                                       By Tyler Kepner                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/us/polit
                        ics/ron-desantis-campaign-announcement-      Technical Snags on Twitter Drag Down
2023-05-24   2023-05-26 twitter.html                                 DeSantiss Campaign Kickoff                    By Matt Flegenheimer               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/world/e Rolf Harris 93 British Entertainer Who
2023-05-24   2023-05-26 urope/rolf-harris-dead.html                  Sexually Abused Young Girls                   By Euan Ward                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/ How New Rules Turned Back the Clock on
2023-05-24   2023-05-26 24/upshot/up-baseball-metrics.html           Baseball                                      By Ben Blatt and Francesca Paris   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/arts/dan
                        ce/danceafrica-brooklyn-academy-of-music- A Golden Inner Light Arrives By Way Of
2023-05-25   2023-05-26 golden-ghana.html                            Ghana                                         By Gia Kourlas and Nate Palmer     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/arts/des
                        ign/langston-hughes-elmer-brown-exhibition-
2023-05-25   2023-05-26 cleveland.html                               What Happened to a Book Deferred              By Erik Piepenburg                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/arts/des
                        ign/richard-mayhew-painter-gallery-
2023-05-25   2023-05-26 review.html                                  A Lifetime Spent Looking Around               By Jonathan Griffin                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/arts/mu
                        sic/gustavo-dudamel-to-resign-from-paris-
2023-05-25   2023-05-26 opera.html                                   Conductor to Resign From the Paris Opera      By Javier C Hernndez               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/arts/mu
2023-05-25   2023-05-26 sic/pavel-kolesnikov-piano.html              A Rare Visit Reveals a Pianists Personality   By Joshua Barone                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/arts/mu
2023-05-25   2023-05-26 sic/salvatore-sciarrino-opera.html           When Love Takes Aim At a Monster              By Jeffrey Arlo Brown              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/arts/tele
                        vision/succession-soundtrack-classical-
2023-05-25   2023-05-26 music.html                                   TV Earworm Fit for a Concert Hall             By Joshua Barone                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/arts/tur Reorienting Turkeys Culture for His Own
2023-05-25   2023-05-26 key-election-erdogan-culture.html            Ends                                          By Jason Farago                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/busines
                        s/dealbook/nvidia-outlook-artificial-        Rising AI Demand Lifts Nvidia Toward
2023-05-25   2023-05-26 intelligence.html                            TrillionDollar Valuation                      By Bernhard Warner                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/busines The Economy In Germany Has Entered A
2023-05-25   2023-05-26 s/german-economy-q1-gdp.html                 Recession                                     By Melissa Eddy                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/busines
2023-05-25   2023-05-26 s/jpmorgan-jeffrey-epstein.html              Epstein Suit Could Cost JPMorgan              By Matthew Goldstein               TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/25/busines                                                 By Jordyn Holman and Julie
2023-05-25   2023-05-26 s/target-pride-lgbtq-companies-backlash.html Pride Month Presents Risk For Brands          Creswell                           TX 9-299-029   2023-07-03




                                                                                  Page 5275 of 5793
                        https://www.nytimes.com/2023/05/25/climate
2023-05-25   2023-05-26 /arctic-squirrels-climate-change.html      Squirrels Find Arctic Dating Scene a Bit Cold By Mlissa Godin              TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/movies/
2023-05-25   2023-05-26 about-my-father-review.html                About My Father                               By Glenn Kenny               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/movies/
2023-05-25   2023-05-26 being-mary-tyler-moore-review.html         Being Mary Tyler Moore                        By Amy Nicholson             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/movies/
2023-05-25   2023-05-26 cannes-film-festival-highlights.html       At Cannes Female Desire Comes to Fore         By Manohla Dargis            TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/movies/
2023-05-25   2023-05-26 influencer-review.html                     Influencer                                    By Brandon Yu                TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/movies/
2023-05-25   2023-05-26 kandahar-review.html                       Kandahar                                      By Elisabeth Vincentelli     TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/movies/
2023-05-25   2023-05-26 the-attachment-diaries-review.html         The Attachment Diaries                        By Jeannette Catsoulis       TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/movies/
2023-05-25   2023-05-26 the-wind-and-the-reckoning-review.html     The Wind amp the Reckoning                    By Concepcin de Len          TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/25/movies/
2023-05-25   2023-05-26 the-wrath-of-becky-review-teenage-riot.html The Wrath of Becky                           By Jeannette Catsoulis       TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/movies/
2023-05-25   2023-05-26 unclenching-the-fists-review.html           Unclenching the Fists                        By Beatrice Loayza           TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/movies/
2023-05-25   2023-05-26 we-might-as-well-be-dead-review.html        We Might as Well Be Dead                     By Teo Bugbee                TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/movies/
2023-05-25   2023-05-26 white-balls-on-walls-review.html            White Balls on Walls                         By Lisa Kennedy              TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/movies/
2023-05-25   2023-05-26 will-o-the-wisp-review.html                 Imagining That the Royals Still Reign        By Amy Nicholson             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/movies/
2023-05-25   2023-05-26 you-hurt-my-feelings-review.html            Welcome to the Little White Lie Club         By Wesley Morris             TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/25/nyregio Man in Subway Killing Is Said to Plan to     By Jonah E Bromwich and Michael
2023-05-25   2023-05-26 n/daniel-penny-jordan-neely-grand-jury.html Speak To Manhattan Grand Jury               Wilson                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/nyregio
                        n/new-jersey-police-officer-                Officer Indicted in Death of Man Who Called
2023-05-25   2023-05-26 manslaughter.html                           911 for Help                                By Tracey Tully                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/nyregio Criminal Trial Of Bannon Is Scheduled For
2023-05-25   2023-05-26 n/steve-bannon-trial-date.html              Next May                                    By Jonah E Bromwich             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/nyregio
                        n/subway-attack-woman-shoved-
2023-05-25   2023-05-26 manhattan.html                              After Subway Attack a Scary Journey to Heal By Hurubie Meko                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/opinion
                        /columnists/affirmative-action-stephen-     A 1991 Book Was Stunningly Prescient
2023-05-25   2023-05-26 carter.html                                 About Affirmative Action                    By Pamela Paul                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/opinion
2023-05-25   2023-05-26 /debt-us-biden.html                         US Debt The Bad the Weak and the Ugly       By Paul Krugman                 TX 9-299-029   2023-07-03



                                                                                 Page 5276 of 5793
                        https://www.nytimes.com/2023/05/25/sports/a
                        utoracing/charles-leclerc-arthur-leclerc-
2023-05-25   2023-05-26 monaco-grand-prix.html                      The Leclerc brothers are back in Monaco     By Phillip Horton                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/sports/a
2023-05-25   2023-05-26 utoracing/f1-advertising-racecars.html      More ads with every turn                    By Ian Parkes                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/sports/a
2023-05-25   2023-05-26 utoracing/f1-ferrari-frederic-vasseur.html  Ferraris work in progress                   By Ian Parkes                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/sports/b Gritty Finish by Runner Becomes an
2023-05-25   2023-05-26 ou-samnang-cambodian-runner-rain.html       Inspiration                                 By Sun Narin and Mike Ives        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/sports/g The Inextricable Link Between LIV Golf and
2023-05-25   2023-05-26 olf/donald-trump-liv-golf.html              Trump                                       By Alan Blinder and Doug Mills    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/technol Microsoft Calls for Rules To Minimize Risks
2023-05-25   2023-05-26 ogy/microsoft-ai-rules-regulation.html      of AI                                       By David McCabe                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/technol Bill to Provide Set Pay Scale To Gig Drivers
2023-05-25   2023-05-26 ogy/minnesota-veto-gig-workers.html         Is Thrown Out                               By Kellen Browning                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/technol
                        ogy/ron-desantis-twitter-spaces-live-       Exploding Melon Drew More Views Than
2023-05-25   2023-05-26 stream.html                                 DeSantiss Twitter Event                     By Ryan Mac and Tiffany Hsu       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/theater/
2023-05-25   2023-05-26 sorry-for-your-loss-grief-audible.html      Nobody Wants What They Have In Common By Laura CollinsHughes                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/us/navy-SEAL Trainers Enabled Perils Navy
2023-05-25   2023-05-26 report-seal-course-kyle-mullen.html         Concedes                                    By Dave Philipps                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/25/us/polit Silence Is Complicity Biden Unveils a US
2023-05-25   2023-05-26 ics/biden-antisemitism-plan-hate-crimes.html Plan to Fight Antisemitism                   By Elizabeth Williamson         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/us/polit
                        ics/biden-joint-chiefs-nominee-charles-q-    Biden Praises Joint Chiefs of Staff Nominee
2023-05-25   2023-05-26 brown.html                                   as a TopNotch Strategist                     By Peter Baker and John Ismay   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/us/polit Military Spending Fuels the Ongoing Budget
2023-05-25   2023-05-26 ics/debt-limit-military-spending.html        Debate                                       By Jim Tankersley               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/us/polit A Candidate Pivots to Traditional             By Nicholas Nehamas Maggie
2023-05-25   2023-05-26 ics/desantis-2024-campaign-twitter.html      Campaigning                                  Astor and Alan Blinder          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/us/polit FentanylRelated Drug Penalties May Become
2023-05-25   2023-05-26 ics/fentanyl-bill-house.html                 Permanent                                    By Karoun Demirjian             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/us/polit
                        ics/mar-a-lago-trump-classified-             MaraLago Worker Told Prosecutors He          By Alan Feuer and Maggie
2023-05-25   2023-05-26 documents.html                               Helped Move Boxes Into Storage Room          Haberman                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/us/polit
                        ics/oath-keepers-stewart-rhodes-
2023-05-25   2023-05-26 sentenced.html                               Militia Leader Given 18 Years For Jan 6 Role By Alan Feuer                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/us/polit Lawmakers Near Deal to Increase the Debt      By Jim Tankersley and Catie
2023-05-25   2023-05-26 ics/republicans-debt-limit-talks-biden.html  Ceiling                                      Edmondson                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/us/polit Court Hearings In Sept 11 Case Could
2023-05-25   2023-05-26 ics/sept-11-hearings.html                    Resume Despite Issues                        By Carol Rosenberg              TX 9-299-029   2023-07-03




                                                                                 Page 5277 of 5793
                        https://www.nytimes.com/2023/05/25/us/polit                                               By Jonathan Swan Shane
2023-05-25   2023-05-26 ics/takeaways-desantis-2024-twitter.html    Five Takeaways From a Rocky 2024 Debut Goldmacher and Maggie Haberman TX 9-299-029            2023-07-03
                        https://www.nytimes.com/2023/05/25/us/polit Ideological Battle Shapes Up Between Trump By Jonathan Swan Maggie
2023-05-25   2023-05-26 ics/trump-desantis-policy-clash.html        and DeSantis                                  Haberman and Nicholas Nehamas TX 9-299-029      2023-07-03
                        https://www.nytimes.com/2023/05/25/us/supr Justices Rule Keeping Profit From Tax Sales
2023-05-25   2023-05-26 eme-court-condo-taxes.html                  Is Not Legal                                  By Adam Liptak                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/us/supr High Court Decision Limits EPAs Power
2023-05-25   2023-05-26 eme-court-epa-water-pollution.html          Over Wetlands                                 By Adam Liptak                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/us/texa Uncharted Waters in Texas As Legislative
2023-05-25   2023-05-26 s-paxton-impeachment.html                   Panel Urges That Paxton Be Impeached          By J David Goodman               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/world/a
                        frica/rwanda-genocide-fugitive-             On the Run for Decades a Fugitive of
2023-05-25   2023-05-26 kayishema.html                              Rwandas Genocide Is Finally Caught            By Lynsey Chutel                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/world/a 3 Are Dead In an Attack Called Rare For
2023-05-25   2023-05-26 sia/japan-shooting-stabbing-nakano.html     Japan                                         By Isabella Kwai and Hisako Ueno TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/world/a Singer Inspired Australias Unofficial National
2023-05-25   2023-05-26 ustralia/australia-tina-turner-nutbush.html Dance                                         By Yan Zhuang                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/world/e What Does Russias Success in Bakhmut
2023-05-25   2023-05-26 urope/bakhmut-ukraine-russia-war.html       Mean for the Wider War                        By Cora Engelbrecht              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/world/e Man Arrested After Crash Into Downing
2023-05-25   2023-05-26 urope/downing-street-car-crash.html         Street Gates                                  By Megan Specia                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/world/e
                        urope/portugal-madeleine-mccann-missing- Search Linked to Missing UK Girl Is Over in
2023-05-25   2023-05-26 child.html                                  Portugal                                      By Megan Specia                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/world/e Russia Deploys SovietEra Bombs to Thwart By Jeffrey Gettleman and Eric
2023-05-25   2023-05-26 urope/russia-ukraine-soviet-bombs.html      Ukraines Defenses                             Schmitt                          TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/25/world/e Swiss Town Mourns a LargerThanLife
2023-05-25   2023-05-26 urope/tina-turner-switzerland-kusnacht.html Neighbor                                       By Christopher F Schuetze     TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/world/e
2023-05-25   2023-05-26 urope/uk-migration.html                      Brexit Failed To Curtail Migration To the UK By Stephen Castle              TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/world/e Russias Wagner Force Says It Is Withdrawing By Ivan Nechepurenko and Marc
2023-05-25   2023-05-26 urope/ukraine-war-wagner-russia.html         From a Battered City                          Santora                       TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/theater/
2023-05-26   2023-05-26 primary-trust-review.html                    Whos That Lonely Man There in the Corner By Naveen Kumar                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/25/us/what-
                        is-seditious-conspiracy-insurrection-        The Rare and Distinct Crime of Seditious
2023-05-26   2023-05-26 treason.html                                 Conspiracy                                    By Charlie Savage             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/26/arts/tele
                        vision/somebody-somewhere-finale-
2023-05-26   2023-05-26 prehistoric-planet.html                      This Weekend I Have                           By Margaret Lyons             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/26/insider/
2023-05-26   2023-05-26 new-york-times-datelines.html                Stalwart of Credibility Gets a Digital Update By Mathew Brownstein          TX 9-299-029     2023-07-03




                                                                                Page 5278 of 5793
                        https://www.nytimes.com/2023/05/08/travel/e                                             By Kevin Faingnaert and Anna
2023-05-08   2023-05-27 l-rocio-pilgrimage-spain.html               Riding Along on Spains El Roco Pilgrimage   Hart                            TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/17/opinion The Lies Mothers Tell Their Children and
2023-05-17   2023-05-27 /motherhood-lessons-children-parenting.html Themselves                                  By Elise Loehnen                TX 9-299-029     2023-07-03
                        https://www.nytimes.com/interactive/2023/05/
2023-05-18   2023-05-27 18/travel/things-to-do-buenos-aires.html     36 Hours in Buenos Aires                   By Maria Cramer                 TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/21/opinion Not Every Pandemic Needs Someone to
2023-05-21   2023-05-27 /the-next-pandemic-blame.html                Blame                                      By Daniela J Lamas              TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/05/22/busines Strikes Delays And Lost Bags How to Survive
2023-05-22   2023-05-27 s/airlines-faa-summer-travel-meldtown.html Your Vacation                                   By Niraj Chokshi               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/busines NBCUniversal Hires Hollywood Outsider to
2023-05-22   2023-05-27 s/media/mike-cavanagh-nbcuniversal.html       Tamp Down the Drama                          By Benjamin Mullin             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/world/e The Devastating Battle for Bakhmut in           By The New York Times and Marc
2023-05-23   2023-05-27 urope/bakhmut-photos-ukraine.html             Photographs                                  Santora                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/arts/mu
2023-05-24   2023-05-27 sic/tina-turner-songs.html                    A Singers Essential Tunes                    By Ben Sisario                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/arts/tele
                        vision/the-idol-lily-rose-depp-the-weeknd-sam
2023-05-24   2023-05-27 levinson.html                                 HBO Calls The Idol Sleazy You Be the Judge By Kyle Buchanan                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/books/o Decades Old No Problem Publisher Makes
2023-05-24   2023-05-27 ld-books-out-of-print-open-road.html          Bet on Forgotten Titles                      By Elizabeth A Harris          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/movies/
2023-05-24   2023-05-27 wes-anderson-asteroid-city.html               A Director Observes A Blueprint              By Kyle Buchanan               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/theater/
                        work-hard-have-fun-make-history-              Ideas Collide Without Really Coming
2023-05-24   2023-05-27 review.html                                   Together                                     By Laura CollinsHughes         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/us/robe Robert J Zimmer 75 Who Protected Free
2023-05-24   2023-05-27 rt-zimmer-dead.html                           Speech on Campus Dies                        By Sam Roberts                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/arts/mu
2023-05-25   2023-05-27 sic/james-acaster.html                        Music to Comedy And Back Again               By Desiree Ibekwe              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/arts/mu
2023-05-25   2023-05-27 sic/tina-turner.html                          Tornado Treasure Tina Turner                 By Wesley Morris               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/travel/s With high ticket prices flexibility is key and
2023-05-25   2023-05-27 ummer-airfares.html                           booking early will still save money          By Elaine Glusac               TX 9-299-029   2023-07-03
                                                                      Plan around the peak times for longhaul
                        https://www.nytimes.com/2023/05/25/travel/s flights and try to steer clear of problem
2023-05-25   2023-05-27 ummer-airports.html                           destinations                                 By Shannon Sims                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/travel/s Strikes Delays And Lost Bags How to Survive
2023-05-25   2023-05-27 ummer-delays-and-cancellations.html           Your Vacation                                By Christine Chung             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/travel/s Here are some programs and apps to help
2023-05-25   2023-05-27 ummer-security-lines.html                     speed your way through checkpoints           By Shannon Sims                TX 9-299-029   2023-07-03




                                                                                Page 5279 of 5793
                        https://www.nytimes.com/2023/05/25/travel/s Across Europe workers are staging walkouts
2023-05-25   2023-05-27 ummer-strikes-europe.html                    and the turmoil will continue all summer      By Ceylan Yeginsu               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/nyregio
                        n/senator-menendez-investigation-luxury-     Menendez Investigation Is Said to Include     By Tracey Tully and William K
2023-05-26   2023-05-27 gifts.html                                   Queries Regarding Luxury Gifts                Rashbaum                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/arts/des
2023-05-26   2023-05-27 ign/darren-bader-artist-sells-practice.html  You Can Be an Artist This One                 By Brian Boucher                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/arts/mu
2023-05-26   2023-05-27 sic/celine-dion-cancels-tour.html            Celine Dion Cancels the Rest of Her Tour      By Maya Salam                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/arts/mu
                        sic/claire-chase-density-kitchen-carnegie-   The Perfect Harmony of a Flute Family
2023-05-26   2023-05-27 hall.html                                    Gathering                                     By Seth Colter Walls            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/arts/mu
                        sic/review-new-york-philharmonic-chick-      A Trombone Slides Into the Philharmonic
2023-05-26   2023-05-27 corea-trombone-concerto.html                 Spotlight                                     By Anastasia Tsioulcas          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/arts/tele Ed Ames 95 a Singing Sensation Who
2023-05-26   2023-05-27 vision/ed-ames-dead.html                     Became a Familiar Face on TV                  By Dennis Hevesi                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/arts/tele
2023-05-26   2023-05-27 vision/succession-finale-questions.html      Before the Succession Finale Five Questions By Jennifer Vineyard              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/books/b Literature as Defiance in an Era of
2023-05-26   2023-05-27 urhan-sonmez-turkey-erdogan.html             Nationalism                                   By Jason Farago                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/busines Lazard Names ExObama Aide As Successor
2023-05-26   2023-05-27 s/dealbook/lazard-ceo-orszag.html            To Its CEO                                    By Lauren Hirsch                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/busines                                                 By Joe Rennison and Alan
2023-05-26   2023-05-27 s/economy/debt-limit-default.html            Preparing for Default There Is No Playbook Rappeport                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/busines Gasoline prices a source of pain last year have
                        s/energy-environment/oil-gasoline-prices-    come way down Some travelers are saving
2023-05-26   2023-05-27 summer.html                                  hundreds of dollars                           By Clifford Krauss              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/busines
2023-05-26   2023-05-27 s/hyundai-lg-georgia-battery-plant.html      Hyundai Plans Georgia Plant Along With LG By Ivan Penn                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/busines Yellen Expects US Will Run Out of Cash by
2023-05-26   2023-05-27 s/yellen-treasury-x-date-us-debt.html        June 5                                        By Alan Rappeport               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/canada- A Conservative Stronghold In Canada May
2023-05-26   2023-05-27 alberta-election-conservative-party.html     Be Divided By a Turn to the Far Right         By Ian Austen and Amber Bracken TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/fashion
2023-05-26   2023-05-27 /crown-jewels-history-london.html            For jewels a fuller backstory                 By Susanne Fowler               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/fashion
2023-05-26   2023-05-27 /jewelry-art-nouveau-exhibition-paris.html   Art Nouveau and beyond                        By Rachel Felder                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/fashion
2023-05-26   2023-05-27 /jewelry-bernard-delettrez.html              A long journey to jewelry                     By Jessica Bumpus               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/fashion
2023-05-26   2023-05-27 /jewelry-color-black.html                    The darker side                               By Kathleen Beckett             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/fashion
2023-05-26   2023-05-27 /jewelry-daniel-hourde-paris.html            From sculpture to rings                       By Kathleen Beckett             TX 9-299-029   2023-07-03



                                                                                Page 5280 of 5793
                        https://www.nytimes.com/2023/05/26/fashion
2023-05-26   2023-05-27 /jewelry-facial-piercings.html             Jewelry to accent the face                      By Alexandra Cheney            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/fashion
2023-05-26   2023-05-27 /jewelry-insect-motifs.html                Dont squish these bugs                          By Victoria Gomelsky           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/fashion
2023-05-26   2023-05-27 /jewelry-maria-callas.html                 An opera diva and her gems                      By David Belcher               TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/26/fashion                                                 By Vivian Morelli and Andrew
2023-05-26   2023-05-27 /jewelry-mikimoto-cultured-pearls-japan.html Turning sand to shimmer                       Faulk                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/fashion
2023-05-26   2023-05-27 /jewelry-mourning.html                       A modern take on mourning                     By Abigail R Esman             TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/26/fashion
2023-05-26   2023-05-27 /jewelry-romilly-saumarez-smith-london.html A designers helping hands                      By Rachel Garrahan             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/fashion
2023-05-26   2023-05-27 /jewelry-shells.html                        Feeling the spirit of the sea                  By Jill Newman                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/fashion
2023-05-26   2023-05-27 /jewelry-technology-sales.html              Goodbye showroom Hello WhatsApp                By Sarah RoyceGreensill        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/fashion
2023-05-26   2023-05-27 /jewelry-technology-vicenza-italy.html      Heritage with a heart of gold                  By Victoria Gomelsky           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/nyregio More and More Teenagers Are Coming to
2023-05-26   2023-05-27 n/nyc-marijuana-kids-schools.html           School High Teachers Say                       By Ashley Southall             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/nyregio In New York City a Ban on Weight and
2023-05-26   2023-05-27 n/weight-discrimination-law-nyc.html        Height Discrimination Is Signed Into Law       By Emma G Fitzsimmons          TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/26/opinion
2023-05-26   2023-05-27 /contributors/succession-finale-ending.html Will Succession Get Its Ending Right           By Theresa Rebeck              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/opinion More Immigrants Now Come to the US the
2023-05-26   2023-05-27 /us-asylum-lottery-border.html              Right Way                                      By Dara Lind                   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/26/science Experts Say Japanese Moon Lander Crashed
2023-05-26   2023-05-27 /moon-crash-japan-ispace.html               Because of a Mistake in Its Software           By Kenneth Chang               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/sports/b A Restless Franchise Has Yet Another
2023-05-26   2023-05-27 aseball/oakland-athletics-las-vegas.html    Stadium Deal                                   By Benjamin Hoffman            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/sports/b
                        asketball/boston-celtics-miami-heat-marcus- Celtics Sparkplug Helps Team Forgo
2023-05-26   2023-05-27 smart.html                                  Foregone Conclusion                            By Scott Cacciola              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/sports/b
                        asketball/los-angeles-lakers-lebron-james-  James May Be Asking for a Quick Fix but
2023-05-26   2023-05-27 retire.html                                 Those Often Fail                               By Tania Ganguli               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/sports/s Chance of a Lifetime or at Least of a Decade
2023-05-26   2023-05-27 occer/dortmund-bayern-bundesliga.html       in the Bundesliga                              By Rory Smith                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/sports/t
2023-05-26   2023-05-27 ennis/alexander-zverev-interview.html       High drama on court and off                    By Cindy Shmerler              TX 9-299-029   2023-07-03




                                                                                 Page 5281 of 5793
                        https://www.nytimes.com/2023/05/26/sports/t
2023-05-26   2023-05-27 ennis/coaching-tennis-matches.html          Adjusting to coaching during matches         By Stuart Miller                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/sports/t
                        ennis/french-open-alexander-zverev-
2023-05-26   2023-05-27 injury.html                                 How do you come back from that               By Cindy Shmerler               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/us/colle Application Tool Will Let Colleges Hide
2023-05-26   2023-05-27 ge-admissions-race-common-app.html          Students Race on Forms                       By Anemona Hartocollis          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/us/india Indiana Reprimands Doctor Who Provided
2023-05-26   2023-05-27 na-doctor-abortion-reprimand.html           Abortion to 10YearOld                        By Ava Sasani                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/us/ken- The Rights Love Helps a Texas Official in a
2023-05-26   2023-05-27 paxton-texas.html                           Bind                                         By J David Goodman              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/us/polit Treasury Balance Looks Like Petty Cash to
2023-05-26   2023-05-27 ics/cash-us-treasury-billionaires.html      Moguls                                       By Linda Qiu                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/us/polit Frantic Negotiations Late Nights and No Deal By Katie Rogers and Luke
2023-05-26   2023-05-27 ics/debt-ceiling-negotiations.html          on Americas Debt                             Broadwater                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/us/polit
                        ics/debt-limit-default-mccarthy-mcconnell-
2023-05-26   2023-05-27 biden-congress.html                         A Lot Left to Do and Not Much Time to Do It By Carl Hulse                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/us/polit                                              By Nicholas Nehamas Alexandra
2023-05-26   2023-05-27 ics/desantis-florida-donations.html         Raising Scrutiny in Soliciting Donations     Berzon and Jonathan Swan        TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/26/us/polit A Tax Incentive Opens the Door For
2023-05-26   2023-05-27 ics/employee-retention-credit-tax-fraud.html Fraudsters                                  By Alan Rappeport               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/us/polit Feds Preferred Inflation Measure Inched      By Madeleine Ngo and Ben
2023-05-26   2023-05-27 ics/inflation-april-federal-reserve.html     Higher in April                             Casselman                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/us/polit Many Americans Suddenly Losing Medicaid
2023-05-26   2023-05-27 ics/medicaid-coverage-pandemic-loss.html     Access                                      By Noah Weiland                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/us/polit Russian Public Appears to Be Souring On
2023-05-26   2023-05-27 ics/russia-public-opinion-ukraine-war.html   War Casualties an Analysis Shows            By Julian E Barnes              TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/26/us/polit
2023-05-26   2023-05-27 ics/sedition-oath-keepers-stewart-rhodes.html Sedition Case Offers Nation Accountability By Alan Feuer                   TX 9-299-029   2023-07-03
                                                                      Tom Sawyer 77 Congressman Who
                        https://www.nytimes.com/2023/05/26/us/polit Challenged 1990 Census Undercount and Got
2023-05-26   2023-05-27 ics/tom-sawyer-dead.html                      Results                                    By Sam Roberts                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/us/quee FBI Papers Detail Threat To Monarch On US
2023-05-26   2023-05-27 n-fbi-assassination-plot-us.html              Trip                                       By Derrick Bryson Taylor        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/us/sout
2023-05-26   2023-05-27 h-carolina-abortion-ban.html                  Judge Halts Abortion Ban In S Carolina     By Ava Sasani                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/us/texa A Culmination of Years Of Official            By Jacey Fortin and J David
2023-05-26   2023-05-27 s-ken-paxton-background.html                  Complaints And Legal Proceedings           Goodman                         TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/26/world/a Drawing Lots of Enemies While Protecting
2023-05-26   2023-05-27 mericas/colombia-peace-leyner-palacios.html Colombias Peace                              By Silvana Paternostro          TX 9-299-029   2023-07-03




                                                                                 Page 5282 of 5793
                        https://www.nytimes.com/2023/05/26/world/e
                        urope/belgium-students-hazing-                18 Students in Belgium Sentenced in 2018   By Matina StevisGridneff and Koba
2023-05-26   2023-05-27 sentencing.html                               Death Involving Hazing Ritual              Ryckewaert                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/world/e Strongman Steadily Built Up Power Through
2023-05-26   2023-05-27 urope/erdogan-career-turkey.html              Jail Term Protests and a Coup              By Alan Yuhas                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/world/e Belgian Aid Worker and Iranian Diplomat
2023-05-26   2023-05-27 urope/iran-belgium-prisoner-swap.html         Freed in a Prisoner Swap                   By Cora Engelbrecht               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/world/e German Police Investigate Musician for
2023-05-26   2023-05-27 urope/roger-waters-berlin-nazi.html           Wearing NaziLike Costumes                  By Christopher F Schuetze         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/world/e Russia Hits Medical Center as Both Sides
2023-05-26   2023-05-27 urope/russia-ukraine-hospital-missile.html    Increase LongRange Strikes                 By Marc Santora                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/world/e
                        urope/the-leader-of-a-russian-group-involved-
                        in-a-border-incursion-is-described-by-        FarRight Russian Militia Aiding Kyivs Army
2023-05-26   2023-05-27 watchdogs-as-a-neo-nazi.html                  Makes for Worrisome Ally                   By Valerie Hopkins                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/world/e On Campaign Trail Erdogan Entices His Base By Ben Hubbard and Gulsin
2023-05-26   2023-05-27 urope/turkey-erdogan-election.html            and Bashes His Rivals                      Harman                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/world/e Model for Future Security In Cold Wars
2023-05-26   2023-05-27 urope/ukraine-nato-germany.html               Diplomacy                                  By Steven Erlanger                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/your-
2023-05-26   2023-05-27 money/college-savings-plans-inflation.html College Savings Plans See More Deposits       By Ann Carrns                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/03/05/books/r
2023-03-05   2023-05-28 eview/sabrina-orah-mark-happily.html          Ever After                                 By Lauren LeBlanc                 TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/03/13/books/r
2023-03-13   2023-05-28 eview/playing-god-mary-jo-mcconahay.html Church and State                              By Noah Feldman                   TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/03/18/books/r
2023-03-18   2023-05-28 eview/the-nursery-szilvia-molnar.html      Metamorphosis                               By Claire Dederer                 TX 9-299-029     2023-07-03

                        https://www.nytimes.com/2023/03/25/books/r
2023-03-25   2023-05-28 eview/this-bird-has-flown-susanna-hoffs.html RockStar Romance                          By Beatriz Williams               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/03/26/books/r
2023-03-26   2023-05-28 eview/victor-lavalle-lone-women.html          Borne Secret                             By Chanelle Benz                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/04/07/books/r
2023-04-07   2023-05-28 eview/courting-india-nandini-das.html         Clash of Civilizations                   By Abhishek Kaicker               TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/04/10/books/r
2023-04-10   2023-05-28 eview/nine-black-robes-joan-biskupic.html     The New News at the New Court            By Sam Tanenhaus                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/04/11/books/r
2023-04-11   2023-05-28 eview/a-madmans-will-gregory-may.html         Free at Last                             By Ilyon Woo                      TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/04/11/books/r
                        eview/the-secret-diaries-of-charles-ignatius-
2023-04-11   2023-05-28 sancho.html                                   A Picaresque Life                        By Thomas Mallon                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/04/24/books/r
2023-04-24   2023-05-28 eview/dennis-lehane-small-mercies.html        Common Enemies                           By J Courtney Sullivan            TX 9-299-029     2023-07-03




                                                                                Page 5283 of 5793
                        https://www.nytimes.com/2023/05/08/books/
2023-05-08   2023-05-28 mlk-biography-jonathan-eig.html               The Making of a New MLK Biography            By Benjamin P Russell             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/08/books/t
                        he-new-definitive-biography-of-martin-luther-
2023-05-08   2023-05-28 king-jr.html                                  The Content of His Character                 By Dwight Garner                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/16/realesta
                        te/puget-sound-washington-architecture-
2023-05-16   2023-05-28 house.html                                    Designed to Make New Memories                By Tim McKeough                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/books/r
                        eview/julia-and-the-shark-kiran-millwood-
2023-05-19   2023-05-28 hargrave-simon-sort-of-says-erin-bow.html Lost and Found at Sea and in Space               By Erin Entrada Kelly             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/books/r
                        eview/the-covenant-of-water-abraham-
2023-05-19   2023-05-28 verghese.html                                 Inside the List                              By Elisabeth Egan                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/19/realesta
2023-05-19   2023-05-28 te/one-bedroom-house-design.html              Youre Welcome To Stop By You Cant Stay By Tim McKeough                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/fashion
2023-05-20   2023-05-28 /weddings/haircut-at-wedding-brides.html      Right After the I Do Saying Yes to a Haircut By Allison Duncan                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/movies/
2023-05-20   2023-05-28 ben-kingsley-daliland.html                    Ben Kingsley Didnt Want Godot to End         By Kathryn Shattuck               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/opinion
                        /wyoming-republicans-christian-
2023-05-21   2023-05-28 nationalism.html                              In Wyoming Autonomy Is Now in Peril          By Susan Stubson                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/21/style/th
2023-05-22   2023-05-28 e-two-michael-rovners.html                    My Double Is a Lot Like Me                   By Michael Rovner                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/arts/tele
2023-05-22   2023-05-28 vision/happy-valley.html                      Seven Years On the Past Still Isnt Past      By Imogen WestKnights             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/nyregio Blue Wall Inside State Prisons Protects         By Joseph Neff Alysia Santo and
2023-05-22   2023-05-28 n/ny-state-prison-guards-abuse.html           Abusive Guards                               Tom Meagher                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/realesta
2023-05-22   2023-05-28 te/renters-seasonal-hamptons.html             Living in a Resort Town but Just Getting By By DW Gibson                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/technol
2023-05-22   2023-05-28 ogy/ai-photo-labels-google-apple.html         AI Giants Fear Cringeworthy Errors           By Nico Grant and Kashmir Hill    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/ Want to Live Longer and Healthier Peter Attia
2023-05-22   2023-05-28 22/magazine/peter-attia-interview.html        Has a Plan                                   By David Marchese                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/arts/des
2023-05-23   2023-05-28 ign/entheon-chapel-sacred-mirrors.html        Creating a Sanctuary for Psychedelic Art     By Noah Eckstein                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/magazi
2023-05-23   2023-05-28 ne/gerard-butler-movies.html                  Middle Man                                   By Soraya Roberts                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/magazi
2023-05-23   2023-05-28 ne/uvalde-parents.html                        Grieving in Public                           By Jaeah Lee                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/magazi                                                  By Francesca Mari and Luca
2023-05-23   2023-05-28 ne/vienna-social-housing.html                 The Renters Utopia                           Locatelli                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/23/movies/ Leon Ichaso 74 Latino Filmmaker Who
2023-05-23   2023-05-28 leon-ichaso-dead.html                         Explored Assimilation and Exile              By Neil Genzlinger                TX 9-299-029   2023-07-03



                                                                                 Page 5284 of 5793
                        https://www.nytimes.com/2023/05/23/nyregio A Dive Bars Last Call Proves to Be a Rallying
2023-05-23   2023-05-28 n/montauk-liars-dive-bars.html              Cry                                          By Alyson Krueger                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/23/realesta
2023-05-23   2023-05-28 te/montauk-ny-trailers-homes.html           In an East End Trailer Park Riding High      By Anna Kod                      TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/23/realesta
2023-05-23   2023-05-28 te/outdoor-lighting-yard-patio.html         Adding Lights Increases Magic                By Tim McKeough                  TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/23/theater/
2023-05-23   2023-05-28 arian-moayed-succession-a-dolls-house.html A Homelands Trauma Reverberates                By Laura CollinsHughes          TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/24/magazi
2023-05-24   2023-05-28 ne/filipino-milk-candy-recipe.html          The Shortcut to Homemade Milk Candy           By Ligaya Mishan                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/24/movies/
                        cillian-murphy-oppenheimer-christopher-
2023-05-24   2023-05-28 nolan.html                                  The Man With Oppenheimer Eyes                 By Roslyn Sulcas                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/24/movies/
2023-05-24   2023-05-28 halle-bailey-little-mermaid.html            Connecting With Her Inner Ariel               By Kalia Richardson              TX 9-299-029   2023-07-03
                                                                                                                  By Erik Piepenburg Devika Girish
                        https://www.nytimes.com/2023/05/24/movies/                                                Elisabeth Vincentelli Robert
2023-05-24   2023-05-28 most-anticipated-genre-summer-movies.html Films to Make You Laugh Cry or Tremble          Daniels and Dina Gachman         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/movies/
2023-05-24   2023-05-28 summer-movies-2023.html                      The Listings                                 By Ben Kenigsberg               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/24/nyregio Millionaire vs Billionaire in a SoHo Coop
2023-05-24   2023-05-28 n/dalio-soho-apartment-feud.html             Battle                                       By Katherine Rosman             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/24/realesta
2023-05-24   2023-05-28 te/garden-plants-piet-oudolf.html            Create a Landscape Like the High Line        By Margaret Roach               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/24/realesta 27 Million Homes in New York Florida and
2023-05-24   2023-05-28 te/million-dollar-homes.html                 Michigan                                     By Angela Serratore             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/24/realesta A Westchester Village That Tries to Live Up
2023-05-24   2023-05-28 te/pleasantville-ny-homes-schools-art.html   to Its Name                                  By Anne Mancuso                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/24/realesta
2023-05-24   2023-05-28 te/yachts-north-fork-long-island.html        A Battle for the Soul of the North Fork      By Debra Kamin                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/24/style/ca
2023-05-24   2023-05-28 sey-desantis-fashion.html                    The Strategic Fashioning of Casey DeSantis   By Vanessa Friedman             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/24/style/pa
2023-05-24   2023-05-28 dma-lakshmi-taste-the-nation.html            Shes Leaving the Stilettos at Home           By Thessaly La Force            TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/24/style/ra
2023-05-24   2023-05-28 cial-slur-joke.html                          Racial Slur Bombs                            By Philip Galanes               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/24/style/tin
2023-05-24   2023-05-28 a-turner-photos.html                         Tina Turner A Life in Photos                 By Jacob Bernstein              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/25/arts/mu Pete Brown 82 Poet Who Wrote the Lyrics
2023-05-25   2023-05-28 sic/pete-brown-dead.html                     To Creams Hits Dies                          By Richard Sandomir             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/25/briefing To Understand the 24 Race Remember the
2023-05-25   2023-05-28 /ron-desantis.html                           Scaffle Vote                                 By David Leonhardt              TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/25/busines
2023-05-25   2023-05-28 s/sherry-lehmann.html                        The Mystery Of the Missing Bottles           By James B Stewart              TX 9-299-029    2023-07-03



                                                                                Page 5285 of 5793
                        https://www.nytimes.com/2023/05/25/magazi
                        ne/judge-john-hodgman-on-eating-
2023-05-25   2023-05-28 mayonnaise.html                              Bonus Advice From Judge John Hodgman        By John Hodgman                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/magazi
2023-05-25   2023-05-28 ne/poem-ladies-of-the-sarasota-sewer.html    Poem Ladies of the Sarasota Sewer           By Jackie Wang and Anne Boyer     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/magazi
2023-05-25   2023-05-28 ne/vermeer-beauty-brutality.html             Reframing Vermeer                           By Teju Cole                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/nyregio Snag in Citys Reading Overhaul May Be
2023-05-25   2023-05-28 n/nyc-public-schools-reading.html            Educators                                   By Troy Closson                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/opinion
                        /college-students-monks-mental-health-smart-
2023-05-25   2023-05-28 phones.html                                  Universities Meet Monasteries               By Molly Worthen                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/opinion To Keep Plastic Out of Oceans Start With
2023-05-25   2023-05-28 /river-plastic-ocean.html                    Rivers                                      By Boyan Slat                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/opinion
2023-05-25   2023-05-28 /ron-desantis-scorecard.html                 What Kind of President Would DeSantis Be By New York Times Opinion            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/opinion
2023-05-25   2023-05-28 /supreme-court-ethics-act.html               Who Can Rein In the Supreme Court           By The Editorial Board            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/realesta Workers Continue to Be Priced Out of
2023-05-25   2023-05-28 te/hamptons-affordable-housing.html          Housing                                     By Heather Senison                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/realesta
                        te/homes-for-sale-in-connecticut-and-new-                                                By Alicia Napierkowski and Anne
2023-05-25   2023-05-28 york.html                                    Homes for Sale in Connecticut and New York Mancuso                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/realesta
2023-05-25   2023-05-28 te/housing-market-nyc.html                   Homes for Sale in Manhattan and Queens      By Heather Senison                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/realesta
                        te/where-are-the-most-profitable-beach-
2023-05-25   2023-05-28 houses.html                                  Sun Shore and Some High Rents               By Michael Kolomatsky             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/us/polit
                        ics/hakeem-jeffries-debt-limit-crisis-       As Debt Crisis Looms Jeffries Gets Trial by
2023-05-25   2023-05-28 democrats.html                               Fire                                        By Carl Hulse                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/world/e
2023-05-25   2023-05-28 urope/uk-record-immigration.html             Migration to Britain Reached a High in 2022 By Megan Specia                   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/interactive/2023/05/ A New Lease on Life Leads to a New House
2023-05-25   2023-05-28 25/realestate/sag-harbor-hamptons-home.html in the Hamptons                              By Debra Kamin                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/arts/dan
                        ce/sor-juana-ballet-hispanico-michelle-
2023-05-26   2023-05-28 manzanales.html                              The Mystery And Majesty Of Sor Juana        By Marina Harss                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/arts/mu Mary Turner Pattiz 76 Sultry Rock DJ During
2023-05-26   2023-05-28 sic/mary-turner-pattiz-dead.html             FMs Heyday Dies                             By Penelope Green                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/arts/tele
2023-05-26   2023-05-28 vision/succession-finale.html                In Succession Troubles of Rich Are Ours Too By James Poniewozik               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/busines
2023-05-26   2023-05-28 s/markets-debt-ceiling.html                  Todays Calm Markets May Be Deceptive        By Jeff Sommer                    TX 9-299-029   2023-07-03



                                                                                Page 5286 of 5793
                        https://www.nytimes.com/2023/05/26/nyregio
2023-05-26   2023-05-28 n/equinox-settlement-discrimination.html    Juries Weigh the Emotional Costs of Bias        By Ginia Bellafante             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/26/nyregio Is Sleeping Outside Legal In New York Yes
2023-05-26   2023-05-28 n/nyc-homeless-camp-bill-of-rights.html     and No                                          By Andy Newman                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/26/opinion
2023-05-26   2023-05-28 /birds-freedom.html                          Birds Show Us What It Means To Be Free         By Christian Cooper             TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/26/opinion The Unfinished Exodus Of Ethiopias
2023-05-26   2023-05-28 /ethiopian-jews-israel.html                 Remaining Jews                                  By Bret Stephens and Ofir Berman TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/opinion The Threat to Freedom Is Coming From the
2023-05-26   2023-05-28 /freedom-states-rights.html                 States                                          By Jamelle Bouie                TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/26/opinion                                                  By Eleni Schirmer and Louise
2023-05-26   2023-05-28 /student-debt-relief.html                   Theres No Case Against Student Debt Relief      Seamster                        TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/26/realesta
2023-05-26   2023-05-28 te/hamptons-summer-housing-costs.html       Where the Cool Kids No Longer Go                By Anna Kod                     TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/26/realesta
2023-05-26   2023-05-28 te/little-ram-oyster-long-island.html       Oyster Farm Living Is the Life for Them         By Heather Senison              TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/26/sports/s Premier League Presses For Decision on
2023-05-26   2023-05-28 occer/premier-league-relegation-everton.html Everton                                        By Tariq Panja                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/26/style/m
                        odern-love-thats-why-i-picked-a-younger-
2023-05-26   2023-05-28 man.html                                     Another Loss Another Trip to Paradise          By Conrad Gregory               TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/26/style/na At First They Kept Their Distance Almost
2023-05-26   2023-05-28 talie-warther-ryan-dols-wedding.html         Too Well                                       By Jenny Block                  TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/26/style/sh
                        aina-shealy-benjamin-glickstein-             Among an Abundance of Bens He Was the
2023-05-26   2023-05-28 wedding.html                                 Best Bet                                       By Alix Wall                    TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/26/style/tri Their Union Felt Like a Love Letter to Black
2023-05-26   2023-05-28 stan-thompson-tyla-wade-wedding.html         Culture                                        By Sadiba Hasan                 TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/26/style/vi
2023-05-26   2023-05-28 cmar-flores-cullen-heater-wedding.html       Distant Travels to Be Together                 By John Otis                    TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/26/world/a Police in South Korea Arrest Man After Jet
2023-05-26   2023-05-28 sia/plane-door-open-asiana.html              Door Opening                                   By John Yoon                    TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/26/world/a
                        sia/vietnam-noodle-vendor-jailed-salt-       Activist Jailed In Vietnam For Mocking
2023-05-26   2023-05-28 bae.html                                     Leaders Meal                                   By Mike Ives and Chau Doan      TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/27/arts/mu
2023-05-27   2023-05-28 sic/conductor-thomas-guggeis-profile.html    Plenty of Grace Under Pressure                 By Joshua Barone                TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/27/busines 401k Accounts Are Becoming Inflation
2023-05-27   2023-05-28 s/401k-hardship-withdrawals-retirement.html Buffers                                         By Martha C White               TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/27/busines US Reaches Trade Deal But Industry Has
2023-05-27   2023-05-28 s/economy/biden-indo-pacific-trade-deal.html Doubts                                         By Ana Swanson                  TX 9-299-029    2023-07-03




                                                                                  Page 5287 of 5793
                        https://www.nytimes.com/2023/05/27/busines
2023-05-27   2023-05-28 s/gig-work-uber-lyft-writers-strike.html    Hustle Till It Hurts Gig Works Luster Dims   By Kellen Browning                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/busines Defamation Suit Missteps A Fox News           By Jim Rutenberg Michael S
2023-05-27   2023-05-28 s/media/fox-news-dominion-voting.html       Debacle                                      Schmidt and Jeremy W Peters         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/busines Looking to Add Revenue Netflix Cracks
2023-05-27   2023-05-28 s/media/netflix-streaming-password.html     Down on Password Sharing                     By Nicole Sperling                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/opinion
2023-05-27   2023-05-28 /ai-screenplays-scripts.html                Scripts Generated By AI Get Me Rewrite       By Paul Rudnick                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/opinion
2023-05-27   2023-05-28 /desantis-musk-twitter.html                 The Internet Can Be A Trap                   By Ross Douthat                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/opinion Dont Kill Frankenstein With Real
2023-05-27   2023-05-28 /english-humanities-ai.html                 Frankensteins at Large                       By Maureen Dowd                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/opinion
2023-05-27   2023-05-28 /prizes-culture-art.html                    What Prizes Mean and What They Dont          By Roger Rosenblatt                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/realesta My Apartment Is Infested With Bugs How
2023-05-27   2023-05-28 te/tenant-rights-pest-infestation.html      Do I Make My Landlord Fix It                 By Ronda Kaysen                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/sports/b
2023-05-27   2023-05-28 asketball/nba-playoffs-sneakers.html        Sticky Pads Heal the Soles of the NBA        By Kris Rhim                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/style/su
2023-05-27   2023-05-28 mmer-house-search.html                      Your Summer House A Friend Magnet            By Alyson Krueger                   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/27/us/miss An 11YearOld Boy Called 911 A Police           By McKenna Oxenden and Jessica
2023-05-27   2023-05-28 issippi-11-year-old-boy-police-shooting.html Officer Shot Him in the Chest                Jaglois                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/us/polit
                        ics/kamala-harris-west-point-                Harris Addresses Graduates at West Point the
2023-05-27   2023-05-28 commencement.html                            First Woman to Do So                         By Peter Baker                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/us/polit                                               By J David Goodman James
                        ics/ken-paxton-texas-attorney-general-                                                    Dobbins and Nicholas
2023-05-27   2023-05-28 impeached.html                               Texass Paxton Is Impeached By Big Margin BogelBurroughs                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/us/polit
                        ics/reparations-democrats-black-                                                          By Trip Gabriel Maya King Kurtis
2023-05-27   2023-05-28 americans.html                               Reparations Put Democrats In a Quandary      Lee and Shawn Hubler               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/us/polit Yellens Warnings Went Unheeded Leaving
2023-05-27   2023-05-28 ics/yellen-debt-limit.html                   Her to Address the Fallout                   By Alan Rappeport                  TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/27/world/a                                             By Norimitsu Onishi and Nasuna
2023-05-27   2023-05-28 mericas/indigenous-canada-hudson-bay.html A Conciliatory Gesture Or Just an Empty Gift StuartUlin                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/world/a As Covid Infections Increase China Declines
2023-05-27   2023-05-28 sia/china-covid-lockdowns-economy.html     to Bring Back Lockdowns                     By Chris Buckley                      TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/27/world/a Indian Official Drains Reservoir to Find
2023-05-27   2023-05-28 sia/indian-official-drains-dam-lost-phone.html Phone                                     By Sameer Yasir and Mike Ives       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/world/a For Some Veterans Free Care Is a 5Hour
2023-05-27   2023-05-28 sia/micronesia-veterans-health-care.html       Flight Away                               By Pete McKenzie                    TX 9-299-029   2023-07-03




                                                                                 Page 5288 of 5793
                        https://www.nytimes.com/2023/05/27/world/e In Germany Easing a Path to Citizenship
2023-05-27   2023-05-28 urope/german-citizenship-changes.html       Comes With a Fight                          By Christopher F Schuetze        TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/27/world/e In Sodden Italian Region Taste of Whats to
2023-05-27   2023-05-28 urope/italy-floods-emilia-romagna.html      Come                                        By Elisabetta Povoledo           TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/27/world/e
2023-05-27   2023-05-28 urope/ukraine-tanks-counteroffensive.html   Counteroffensive Near Ukraine Leader Says By Marc Santora and Eric Schmitt   TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/27/us/polit Agreement Is Reached To Increase Debt Limit By Jim Tankersley Catie
2023-05-28   2023-05-28 ics/debt-ceiling-deal.html                  With Cuts in Spending                       Edmondson and Luke Broadwater    TX 9-299-029    2023-07-03
                        https://www.nytimes.com/2023/05/28/health/ Risk to Mothers Lasts a Full Year After
2023-05-28   2023-05-28 pregnancy-childbirth-deaths.html            Childbirth                                  By Roni Caryn Rabin              TX 9-299-029    2023-07-03

                        https://www.nytimes.com/2023/05/28/insider/
2023-05-28   2023-05-28 an-emblem-of-globe-spanning-ambition.html An Emblem of GlobeSpanning Ambition            By David W Dunlap                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/insider/
                        how-the-editor-of-sunday-routine-spends-her- How the Sunday Routine Editor Spends Her
2023-05-28   2023-05-28 sundays.html                                 Sundays                                     By Josh Ocampo                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/nyregio
2023-05-28   2023-05-28 n/david-dubal-piano.html                     The Amazing Adventures of a Piano Man       By Simi Horwitz                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/nyregio Despite Hochuls Pledge Her Policies Have
2023-05-28   2023-05-28 n/hochul-delaware-north.html                 Helped Her Husbands Company                 By Jay Root                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/nyregio
2023-05-28   2023-05-28 n/zouheir-louhaichy-balthazar.html           Coffee Tea and Triathlons for a Matre D     By Tammy La Gorce                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/sports/t Behind the Favorite In the French Open A
2023-05-28   2023-05-28 ennis/french-open-carlos-alcaraz.html        Candy Executive                             By Matthew Futterman             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/style/mi
2023-05-28   2023-05-28 chelle-matland-succession-costume.html       Stealth Wealth and Bare Feet on Succession By Guy Trebay                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/style/sa A Breezy Ethos Makes Anywhere Feel Like a
2023-05-28   2023-05-28 lt-life-clothes.html                         Beach                                       By Maggie Lange                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/us/hous In Provincetown a Matchmaker Whose Prize
2023-05-28   2023-05-28 ing-crisis-provincetown-rent.html            Catch Is a Home                             By Jenna Russell and Sophie Park TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/us/polit Large Retinue of Aides Keeps Feinstein
2023-05-28   2023-05-28 ics/feinstein-senate-staff.html              Going                                       By Annie Karni                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/world/e
                        urope/andrei-medvedev-wagner-russia-         Russian Deserters Flight to Norway Presents By Anatoly Kurmanaev and Henrik
2023-05-28   2023-05-28 norway-ukraine.html                          Dilemma for Host                            Pryser Libell                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/style/av
2023-05-29   2023-05-28 oiding-sun-sunscreen-skincare.html           Beware of the Sun and Its Punishing Glare   By Madeleine Aggeler             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/07/06/magazi Zippers Up Helmets On Meet the Kids Who By Scott Rossi and Maria Jimenez
2023-07-06   2023-05-28 ne/kids-go-kart-racing.html                  Race GoKarts                                Moya                             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/ The Digital Fragments We Leave Behind       By Hanna Ingber and Leo
2023-05-03   2023-05-29 02/business/digital-remembrances.html        After Death                                 Dominguez                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/travel/s Flight Attendant Shares Her 12 Etiquette
2023-05-24   2023-05-29 ummer-travel-etiquette.html                  Rules For Summer Traveling                  By Kristie Koerbel               TX 9-299-029   2023-07-03




                                                                               Page 5289 of 5793
                        https://www.nytimes.com/2023/05/25/sports/h
                        orse-racing/horse-racing-breakdown-         Why Breaking a Leg Results in Euthanasia for
2023-05-25   2023-05-29 euthanasia.html                             Most Racehorses                              By Victor Mather               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/technol Some Magic Words to Get The Best From a
2023-05-25   2023-05-29 ogy/ai-chatbot-chatgpt-prompts.html         Chatbot                                      By Brian X Chen                TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/25/technol Entrepreneur Is on Mission To Show AI Can
2023-05-25   2023-05-29 ogy/reid-hoffman-artificial-intelligence.html Do Good                                   By Erin Griffith                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/arts/tele
                        vision/stand-up-specials-memorial-day-
2023-05-26   2023-05-29 weekend.html                                  Whats So Funny StandUps                   By Jason Zinoman                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/books/g
                        abrielle-zevin-tomorrow-and-tomorrow-and-
2023-05-26   2023-05-29 tomorrow.html                                 For Her Book a High Score                 By Alexandra Alter              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/busines Predawn Picketing by Writers Brings Some     By Nicole Sperling and John
2023-05-26   2023-05-29 s/media/writers-strike-picket-lines.html      Hollywood Productions to a Halt           Koblin                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/movies/
                        the-little-mermaid-differences-live-
2023-05-26   2023-05-29 action.html                                   A Little Mermaid Refreshed for Today      By Sarah Bahr                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/theater/
2023-05-26   2023-05-29 bernardas-daughters-review.html               Five Women Grieve Over Father and Home    By Brittani Samuel              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/us/winn
2023-05-26   2023-05-29 ie-the-pooh-school-shooting-book.html         Winnie the Pooh Says Run Hide Fight       By Jesus Jimnez                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/arts/mu Ingrid Haebler Pianist With a Mastery of
2023-05-27   2023-05-29 sic/ingrid-haebler-dead.html                  Mozart                                    By Neil Genzlinger              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/arts/mu
2023-05-27   2023-05-29 sic/taylor-swift-eras-tour-new-jersey.html    Taylor Swift Touches Down in New Jersey   By Matt Stevens                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/movies/
                        cannes-palme-dor-winner-anatomy-of-a-
2023-05-27   2023-05-29 fall.html                                     Anatomy of a Fall Wins at Cannes          By Manohla Dargis               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/nyregio So Have You Heard the One About the
2023-05-27   2023-05-29 n/avianca-airline-lawsuit-chatgpt.html        Lawyer Using AI                           By Benjamin Weiser              TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/27/obituari Overlooked No More Sultan Khan Untrained
2023-05-27   2023-05-29 es/sultan-khan-overlooked.html              Chess Player Who Became a Champion          By Dylan Loeb McClain           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/us/colo
                        rado-student-mexican-flag-sash-             Judge Rules That Graduate Cannot Wear A
2023-05-27   2023-05-29 graduation.html                             Flag Sash                                   By Lauren McCarthy              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/us/stanl Stanley Engerman 87 Scholar Who Disputed
2023-05-27   2023-05-29 ey-engerman-dead.html                       Views on Slavery Dies                       By Richard Sandomir             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/world/e                                              By Anton Troianovski and Paul
2023-05-27   2023-05-29 urope/russia-putin-ukraine-war.html         Putins Tactic For Winning Keep Waiting      Sonne                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/world/e Russia Launches Record Barrage of Drones     By Marc Santora and Andrs R
2023-05-28   2023-05-29 urope/russia-drone-attack-kyiv.html         Kyiv Fends Them Off                         Martnez                         TX 9-299-029   2023-07-03




                                                                                Page 5290 of 5793
                        https://www.nytimes.com/2023/05/28/arts/mu
2023-05-28   2023-05-29 sic/henry-threadgill-composer.html           A Composer Who Is Always Ready to Soar By Seth Colter Walls                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/arts/tele George Maharis 94 Heartthrob of 60s TV On
2023-05-28   2023-05-29 vision/george-maharis-dead.html              Route 66 Is Dead                           By Anita Gates and Alex Traub    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/crossw
2023-05-28   2023-05-29 ords/daily-puzzle-2023-05-29.html            A Scheme With a Theme for the Taking       By Sam Corbin                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/opinion
2023-05-28   2023-05-29 /desantis-trump-2024.html                    Holding Out for a Hero in the GOP          By Michelle Cottle               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/opinion
2023-05-28   2023-05-29 /frenemies-relationships-health.html         Frenemies May Be Hazardous to Your Health By Adam Grant                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/opinion
2023-05-28   2023-05-29 /gop-masculinity-twitter-hawley.html         The Right Is All Wrong About Masculinity   By David French                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/opinion
2023-05-28   2023-05-29 /memorial-day-honor.html                     Many More Deserve Honor on Memorial Day By Kayla M Williams                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/sports/a Rain Falls but Verstappens Dominance Is Not
2023-05-28   2023-05-29 utoracing/monaco-grand-prix-results.html     Dampened                                   By Andrew Das and Josh Katz      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/sports/b Miami Is in Trouble in Game 7 Against
2023-05-28   2023-05-29 asketball/miami-heat-game-6.html             Bostons Escape Artists                     By Scott Cacciola                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/sports/s
                        occer/everton-premier-league-leeds-          Everton Keeps Place in Premier League
2023-05-28   2023-05-29 leicester.html                               Pending OffField Events                    By Rory Smith                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/sports/t
                        ennis/french-open-kostyuk-sabalenka-
2023-05-28   2023-05-29 ukraine.html                                 A Handshake Disagreement Spurred by War By Matthew Futterman                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/us/fung North Mexico Has 2 Clinics Tied to Surge Of
2023-05-28   2023-05-29 al-meningitis-outbreak-mexico.html           Meningitis                                 By Amanda Holpuch                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/us/polit
2023-05-28   2023-05-29 ics/biden-debt-limit-deal.html               Biden Seeks To Woo Allies On Debt Deal     By Peter Baker                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/us/polit With Debt Limit Deal in Hand McCarthy and By Luke Broadwater and Chris
2023-05-28   2023-05-29 ics/debt-ceiling-deal-biden-mccarthy.html    Biden Turn to Selling It                   Cameron                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/us/polit Tennessee Law Sows Fear Among Drag
2023-05-28   2023-05-29 ics/tennessee-drag-pride-month.html          Artists Before Pride Month                 By Emily Cochrane                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/us/polit
                        ics/trump-republican-presidential-           Trump May Get the Crowd He Needs in the By Shane Goldmacher Jonathan
2023-05-28   2023-05-29 candidates.html                              2024 Race                                  Swan and Maggie Haberman         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/us/texa Before Impeachment Rift Among Republicans
2023-05-28   2023-05-29 s-republicans-ken-paxton-legislature.html    Was Building in Texas                      By J David Goodman               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/us/texa Texas Legislatures Voting Bills Target
2023-05-28   2023-05-29 s-voting-laws-harris-county.html             Elections in a Democratic Stronghold       By J David Goodman               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/world/a Sudans War Robbed Us of Our Art and Our
2023-05-28   2023-05-29 frica/sudan-war-khartoum-artists.html        Peace                                      By Abdi Latif Dahir              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/world/a At Least 3 Are Killed in Clashes On the
2023-05-28   2023-05-29 sia/afghanistan-iran-border-clashes.html     IranianAfghan Border                       By Christina Goldbaum            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/world/a Modi Opens Indias New Parliament Building
2023-05-28   2023-05-29 sia/india-parliament.html                    as Opposition Leaders Boycott              By Mujib Mashal and Hari Kumar   TX 9-299-029   2023-07-03



                                                                               Page 5291 of 5793
                        https://www.nytimes.com/2023/05/28/world/e In a Germany Uncertain About Its Refugees
2023-05-28   2023-05-29 urope/germany-refugee-elected-mayor.html One Rises to Mayor                           By Erika Solomon                  TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/28/world/ Erdogan Secures A Runoff Victory To Stay in
2023-05-28   2023-05-29 middleeast/edorgan-election-turkey.html    Power                                      By Ben Hubbard                    TX 9-299-029     2023-07-03

                        https://www.nytimes.com/interactive/2023/05/ How to Open a National Park for the Summer By Erin Schaff Linda Qiu Marisa
2023-05-28   2023-05-29 26/us/open-national-park.html                Season                                     Schwartz Taylor and Sean Catangui TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/29/arts/dan
2023-05-29   2023-05-29 ce/new-york-city-ballet-dancer-standouts.html New York City Ballet Breezy Yet Strong        By Gia Kourlas              TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/29/arts/tele
                        vision/whats-on-tv-this-week-the-idol-and-
2023-05-29   2023-05-29 dave.html                                     This Week on TV                               By Shivani Gonzalez         TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/29/nyregio New York Could Purge Some Criminal
2023-05-29   2023-05-29 n/clean-slate-act-ny.html                     Records                                       By Grace Ashford            TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/29/sports/b
                        asketball/miami-heat-boston-celtics-blow-
2023-05-29   2023-05-29 series-lead.html                              Who Has Come Back After Being Down 30 By Victor Mather                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/29/us/anti-
                        semitic-attacks-jewish-secure-community-      After Tree of Life Attack Tracking Threats in
2023-05-29   2023-05-29 network.html                                  US                                            By Campbell Robertson       TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/29/world/a In Populous India a State Is Offering Cash to
2023-05-29   2023-05-29 sia/india-fertility-rate.html                 Encourage More Babies                         By Sameer Yasir             TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/16/science Inklings of an Antidote To Deadly
2023-05-16   2023-05-30 /death-cap-mushroom.html                      Mushrooms                                     By Alla Katsnelson          TX 9-299-029     2023-07-03
                        https://www.nytimes.com/interactive/2023/05/ Can the World Make an Electric Car Battery By Agnes Chang and Keith
2023-05-16   2023-05-30 16/business/china-ev-battery.html             Without China                                 Bradsher                    TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/17/arts/tele
                        vision/damon-lindelhof-soo-hugh-tv-           Two Television Showrunners on Creative
2023-05-17   2023-05-30 series.html                                   Short Circuits                                By Reggie Ugwu              TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/17/science Strange Sea Creature Turns the Tide on a
2023-05-17   2023-05-30 /first-animals-comb-jellies.html              Debate                                        By Carl Zimmer              TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/17/science A Studys New Twist on How the First
2023-05-17   2023-05-30 /human-origins-africa.html                    Humans Evolved                                By Carl Zimmer              TX 9-299-029     2023-07-03
                                                                      An Imperfect Mimic This Spider Does
                        https://www.nytimes.com/2023/05/17/science Impressions But Not So Anyone Would
2023-05-17   2023-05-30 /jumping-spider-mimic-ant.html                Notice                                        By Sam Jones                TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/22/science Permian Powerhouse A SaberToothed
2023-05-22   2023-05-30 /saber-tooth-fossil-south-africa.html         Predator Was the T rex of Its Time            By Jeanne Timmons           TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/22/well/mi How the Arts Can Benefit Your Mental
2023-05-22   2023-05-30 nd/art-mental-health.html                     Health                                        By Christina Caron          TX 9-299-029     2023-07-03
                                                                      Hidden History Using Modern Medical
                        https://www.nytimes.com/2023/05/23/science Technology To Unlock Secrets in Medieval
2023-05-23   2023-05-30 /medieval-books-hidden-manuscripts.html       Books                                         By Katherine Kornei         TX 9-299-029     2023-07-03



                                                                                Page 5292 of 5793
                                                                    Is there a way to cure my constipation without
                        https://www.nytimes.com/2023/05/23/well/eat taking laxatives or prescription medications
2023-05-23   2023-05-30 /constipation-treatment-laxatives.html      every day                                      By Trisha Pasricha                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/magazi
2023-05-24   2023-05-30 ne/american-born-chinese-disney.html        The Discomfort Artist                          By Jamie Fisher                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/science How Technology Helps A Paralyzed Man
2023-05-24   2023-05-30 /paralysis-brain-implants-ai.html           Walk                                           By Oliver Whang                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/science Deceptive Rodent All This Time a Mouse Has
2023-05-24   2023-05-30 /spiny-mouse-armor-tail.html                Been Hiding Its Armor                          By Asher Elbein                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/well/m
2023-05-24   2023-05-30 ove/hiking-guide-beginners.html             A Hike Is More Than a Walk                     By Danielle Friedman               TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/25/busines Onscreen Sexism Hasnt Gone Away She Has
2023-05-25   2023-05-30 s/geena-davis-hollywood-sexism-gender.html the Data                                       By Chris Colin                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/technol
2023-05-25   2023-05-30 ogy/ai-hiring-law-new-york.html              City Moves To Regulate Use of AI For Hiring By Steve Lohr                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/interactive/2023/05/
                        25/well/mind/black-mental-health-police-     The Toll of Police Violence on Black Peoples By Patia Braithwaite and Tiffanie
2023-05-25   2023-05-30 violence.html                                Mental Health                                Graham                              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/movies/
2023-05-26   2023-05-30 the-machine-review-bert-kreischer.html       Gone to Seed With Some Seedy Company         By Glenn Kenny                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/nyregio New York Citys Lifeguard Shortage Is Worse By Corey Kilgannon Dana
2023-05-27   2023-05-30 n/nyc-lifeguard-shortage-unions.html         Than Ever                                    Rubinstein and Calla Kessler        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/27/sports/b Anthony Is No Longer a Player but Hes
2023-05-27   2023-05-30 asketball/carmelo-anthony-nyc.html           Always New York                              By Kris Rhim                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/climate Hes Remaking the Climate Debate From
2023-05-28   2023-05-30 /ricky-revesz-oira-regulation-biden.html     Within                                       By Coral Davenport                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/opinion
                        /artificial-intelligence-thinking-minds-     Beyond the Matrix Theory of the Human
2023-05-28   2023-05-30 concentration.html                           Mind                                         By Ezra Klein                       TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/science Ian Hacking 87 Dies A OneMan Institute Of
2023-05-28   2023-05-30 /ian-hacking-dead.html                       Scientific Wisdom                            By Alex Williams                    TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/28/arts/tele
2023-05-29   2023-05-30 vision/sarah-goldberg-barry-series-finale.html Barely Surviving A Morality Tale         By Alexis Soloski                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/arts/tele
2023-05-29   2023-05-30 vision/succession-finale.html                  Succession Is Over Why Did We Care       By Alexis Soloski                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/arts/mu
2023-05-29   2023-05-30 sic/club-ebony.html                            Where Bluesmen Could Be at Ease          By Jim Beaugez                        TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/arts/tele
2023-05-29   2023-05-30 vision/shows-like-succession.html              What to Watch Now That the Roys Are Gone By Margaret Lyons                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/books/b
                        inyavanga-wainaina-how-to-write-about-         A Provocateurs Legacy Shapes African
2023-05-29   2023-05-30 africa.html                                    Writing                                  By Anderson Tepper                    TX 9-299-029   2023-07-03




                                                                                  Page 5293 of 5793
                        https://www.nytimes.com/2023/05/29/busines
2023-05-29   2023-05-30 s/cathay-pacific-hong-kong.html             Asian Airline Is Struggling To Recover    By Tiffany May                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/insider/
                        a-van-gogh-still-life-and-a-head-spinning-  Still Life Leads to a HeadSpinning Rabbit
2023-05-29   2023-05-30 rabbit-hole.html                            Hole                                      By Sarah Bahr                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/movies/
2023-05-29   2023-05-30 alan-menken-little-mermaid.html             Learning to Embrace His Disney Fame       By Sarah Bahr                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/nyregio Fears of Mpox Outbreak Lead to Renewed     By Sharon Otterman and Liam
2023-05-29   2023-05-30 n/mpox-cases-nyc.html                       Calls To Be Fully Vaccinated              Stack                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/opinion The Real Reason Your Groceries Are Getting
2023-05-29   2023-05-30 /inflation-groceries-pricing-walmart.html   So Expensive                              By Stacy Mitchell              TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/29/opinion The Supreme Court Is Crippling
2023-05-29   2023-05-30 /supreme-court-congress-environment.html Environmental Protections Where Is Congress By Jim Murphy                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/science On Heels of Mars Success UAE Eyes the
2023-05-29   2023-05-30 /uae-asteroid-mission.html                 Asteroid Belt                             By Kenneth Chang                TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/29/sports/b Succession Has Ending A Triple Play Could
2023-05-29   2023-05-30 aseball/tom-bill-wambsganss-succession.html Spoil                                       By Benjamin Hoffman          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/sports/b In Third but With an Increasingly Healthy
2023-05-29   2023-05-30 aseball/yankees-rotation.html               Edge                                        By Tyler Kepner              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/sports/t Playing Two of the Best Isnt a Real Good
2023-05-29   2023-05-30 ennis/french-open-alcaraz-djokovic.html     Time Or a Long Time Either                  By Matthew Futterman         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/sports/t A Budding Big Three Are Locked in Battle
2023-05-29   2023-05-30 ennis/french-open-women.html                While Dominating the Field                  By Matthew Futterman         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/us/afgh Afghan Women Who Aided US Troops Live
2023-05-29   2023-05-30 an-war-refugees.html                        in Uncertainty in America                   By Ava Sasani                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/us/polit The Debt Limit Deal Where 136 Billion in    By Jim Tankersley and Alan
2023-05-29   2023-05-30 ics/debt-ceiling-agreement.html             Cuts Will Come From                         Rappeport                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/us/polit Strong Economy Is Likely to Bear Debt Deals
2023-05-29   2023-05-30 ics/debt-ceiling-economy.html               Cuts                                        By Jim Tankersley            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/us/polit New Debt Ceiling Agreement Includes
2023-05-29   2023-05-30 ics/debt-limit-deal-food-stamps.html        Stricter Work Rules for Food Stamps         By Linda Qiu                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/us/polit
                        ics/north-dakota-teen-death-right-wing-     How Small Towns Tragedy Fueled a Rush to By Charles Homans and Ken
2023-05-29   2023-05-30 trump.html                                  Rage                                        Bensinger                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/us/polit
                        ics/supreme-court-high-school-              Justices Could Consider High School
2023-05-29   2023-05-30 admissions.html                             Admissions                                  By Adam Liptak               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/us/texa
2023-05-29   2023-05-30 s-dei-program-ban.html                      In Texas Lawmakers Ban DEI At Colleges By Audra D S Burch                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/us/tina-
2023-05-29   2023-05-30 turner-hometown-tennessee-nutbush.html      A Town Remembers Its Anna Mae               By Rick Rojas                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/world/a Uganda Passes an AntiGay Law That Includes
2023-05-29   2023-05-30 frica/uganda-anti-gay-bill.html             the Death Penalty                           By Abdi Latif Dahir          TX 9-299-029   2023-07-03



                                                                               Page 5294 of 5793
                        https://www.nytimes.com/2023/05/29/world/a China Confirms Timeline For Crewed Moon
2023-05-29   2023-05-30 sia/china-space-moon-2030.html             Landing                                    By Vivian Wang                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/world/a Sex and Power Brought to Fore In Japan
2023-05-29   2023-05-30 sia/japan-sexual-harassment-women.html     Court                                      By Motoko Rich and Hikari Hida      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/world/a The Vanishing van Gogh A 62 Million        By Michael Forsythe Isabelle Qian
2023-05-29   2023-05-30 sia/van-gogh-china-buyer.html              Mystery                                    Muyi Xiao and Vivian Wang           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/world/e
2023-05-29   2023-05-30 urope/erdogan-turkey-sweden-nato.html      Erdogan Gains Space to Offer Allies a Hand By Steven Erlanger                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/world/e Russian Barrage Tests Kyivs Defense System By Marc Santora and Natalia
2023-05-29   2023-05-30 urope/kyiv-attack-ukraine-russia.html      As Residents Scramble                      Yermak                              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/world/e Spains Leader Calls Snap Election After    By Emma Bubola and Jason
2023-05-29   2023-05-30 urope/spain-snap-election.html             Regional Losses for His Party              Horowitz                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/world/e Ukraine Sees New Virtue in Wind Power
2023-05-29   2023-05-30 urope/ukraine-russia-wind-power.html       Which Missiles Cant Damage as Easily       By Maria Varenikova                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/world/ Key Impressions From Turkeys Presidential
2023-05-29   2023-05-30 middleeast/turkey-election-takeaways.html  Election                                   By Ben Hubbard                      TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/health/
2023-05-30   2023-05-30 heart-attack-polygenic-risk-score.html     Too Soon for Heart Drugs                   By Gina Kolata                      TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/30/science
2023-05-30   2023-05-30 /ai-chatbots-language-learning-models.html Getting Chatbots to Be More Chatty          By Oliver Whang                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/us/polit As Christie Considers Presidential Run His
2023-05-30   2023-05-30 ics/chris-christie-2024-election.html         Supporters Form a Super PAC              By Maggie Haberman                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/us/polit
                        ics/guantanamo-classified-secrets-indonesia-
2023-05-30   2023-05-30 bali-bombing.html                             State Secrets Delay Cases At War Court   By Carol Rosenberg                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/20/opinion For People to Really Know Us We Must
2023-05-20   2023-05-31 /the-case-for-obligation.html                 Show Up                                  By Brad Stulberg                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/dining/
2023-05-24   2023-05-31 strawberry-dessert-recipes.html               Ways to Make Strawberries Even Tastier   By Melissa Clark                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/24/nyregio
2023-05-24   2023-05-31 n/brooklyn-bridge-140-years.html              A Message Written in Stone and Steel     By James Barron                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/25/busines Once a Symbol of Chinas Growth Now a Sign By Daisuke Wakabayashi and
2023-05-25   2023-05-31 s/china-housing-crisis-nanchang.html          of a Housing Crisis                      Claire Fu                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/article/how-to-grill-
2023-05-25   2023-05-31 chicken.html                                  The Summery Scent of Charred Chicken     By Genevieve Ko                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/busines Franchising Failures Raise Questions About
2023-05-26   2023-05-31 s/burgerim-ftc-franchise.html                 Regulatory Protections                   By Michael Corkery                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/26/dining/
2023-05-26   2023-05-31 chile-con-queso-new-mexico.html               For a Chile Con Queso Like No Other      By Maggie Hennessy                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/28/arts/mu
                        sic/gustavo-dudamel-new-york-                                                          By James Estrin and Javier C
2023-05-28   2023-05-31 photographs.html                              Hugs and Mahler for Gustavo Dudamel      Hernndez                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/books/r A Cold War Affair Born of Chaos and
2023-05-29   2023-05-31 eview/kairos-jenny-erpenbeck.html             Control                                  By Dwight Garner                   TX 9-299-029   2023-07-03



                                                                               Page 5295 of 5793
                        https://www.nytimes.com/2023/05/29/theater/ About DNA Discovery and Giving a Scientist
2023-05-29   2023-05-31 rosalind-franklin-double-helix-musical.html Her Due                                     By Lauren Rosenfield             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/sports/b Heat Reach the Finals the Hard Way Which Is
2023-05-30   2023-05-31 asketball/miami-heat-boston-celtics.html      How They Like to Do Things                By Scott Cacciola                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/29/world/e
                        urope/ukraine-kherson-torture-detention-      Shocks Beatings and Mock Executions in
2023-05-30   2023-05-31 centers.html                                  Kherson                                   By Carlotta Gall                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/arts/mu
                        sic/tyshawn-sorey-be-holding-
2023-05-30   2023-05-31 philadelphia.html                             A Magic Midair Moment on a New Court      By Seth Colter Walls             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/arts/tele
                        vision/succession-jeremy-strong-kendall-
2023-05-30   2023-05-31 roy.html                                      Fulfilled by a Thwarted Succession        By Alexis Soloski                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/busines
                        s/economy/inflation-companies-profits-higher- Big Companies Keep Prices Up To Save      By Talmon Joseph Smith and Joe
2023-05-30   2023-05-31 prices.html                                   Profits                                   Rennison                         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/climate Testing New York Apartments To Measure
2023-05-30   2023-05-31 /gas-stove-pollution-danger.html              Risk of Gas Stoves                        By Hiroko Tabuchi                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/climate Debt Deal Gives Green Light to Controversial By Coral Davenport and Brad
2023-05-30   2023-05-31 /mountain-valley-pipe.html                    Pipeline                                  Plumer                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/dining/ The Migrant Kitchen Expands to Central
2023-05-30   2023-05-31 nyc-restaurant-news.html                      Parks Ballfields                          By Florence Fabricant            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/dining/r Trying To Make Diners Glad They Said Lets
2023-05-30   2023-05-31 estaurant-prices-service.html                 Eat Out                                   By Kim Severson                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/dining/r
2023-05-30   2023-05-31 estaurant-review-juqi-peking-duck.html        Delivering Us From Our Duck Deficit       By Pete Wells                    TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/dining/
                        where-to-find-family-style-dining-and-more-
2023-05-30   2023-05-31 reader-questions.html                         Places to Go Whole Hog or Fish or Fowl    By Nikita Richardson             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/health/s
2023-05-30   2023-05-31 acklers-purdue-liability-bankruptcy.html      Court Shields Opioid Giant From Claims    By Jan Hoffman                   TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/nyregio Man Charged In the Killing Of an Official In
2023-05-30   2023-05-31 n/eunice-dwumfour-killing-arrest-nj.html      New Jersey                                By Ed Shanahan                   TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/30/nyregio After Years of Abuse Latest Police Killing   By Christopher Maag and Bryan
2023-05-30   2023-05-31 n/paterson-police-department-takeover.html Was Last Straw                               Anselm                           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/opinion First Pass the Debt Limit Deal Then Find a
2023-05-30   2023-05-31 /editorials/debt-limit-deal-crisis.html     Way to End the Drama                        By The Editorial Board           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/opinion
2023-05-30   2023-05-31 /red-cross-ukraine-russia.html              On Humanitys Side in a Divided World        By Mirjana Spoljaric             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/opinion
2023-05-30   2023-05-31 /turkey-election-erdogan-trump.html         Turkeys Election Is a Warning About Trump   By Bret Stephens                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/sports/b The Celtics Fall Short Again and the Path
2023-05-30   2023-05-31 asketball/celtics-nba-playoffs-miami.html   Ahead Is Murky                              By Sopan Deb                     TX 9-299-029   2023-07-03



                                                                               Page 5296 of 5793
                        https://www.nytimes.com/2023/05/30/sports/g A Professional Debut a Long Time in the
2023-05-30   2023-05-31 olf/rose-zhang-lpga-stanford.html           Making                                       By Alan Blinder               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/sports/h
                        orse-racing-veterinary-summit-churchill-    Kentucky Regulators Meet to Review Horse
2023-05-30   2023-05-31 downs-horse-deaths.html                     Deaths                                       By Joe Drape                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/sports/t Russian Teenagers Could Provide The Sports
2023-05-30   2023-05-31 ennis/french-open-andreeva-russia.html      Next Great Sister Act                        By Matthew Futterman          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/technol AI Poses Risk of Extinction Tech Leaders
2023-05-30   2023-05-31 ogy/ai-threat-warning.html                  Warn                                         By Kevin Roose                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/technol
2023-05-30   2023-05-31 ogy/elizabeth-holmes-theranos-prison.html   Prison Starts For Founder Of Theranos        By Erin Griffith              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/theater/
                        good-bones-exclusion-here-there-are-        In a City of Monuments History Lives
2023-05-30   2023-05-31 blueberries.html                            Onstage                                      By Jesse Green                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/theater/ Robin Wagner Savvy Set Designer Who Won
2023-05-30   2023-05-31 robin-wagner-dead.html                      3 Tonys Is Dead at 89                        By Richard Sandomir           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/us/debt- While Debt Bill Goes to House A Revolt       By Carl Hulse and Catie
2023-05-30   2023-05-31 limit-bill-house-rules-committee.html       Brews                                        Edmondson                     TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/us/iowa-Demolition of Collapsed Building Is Halted By John Peragine Mitch Smith and
2023-05-30   2023-05-31 building-collapse.html                      With People Still Missing                    Amanda Holpuch                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/us/pitts At Trial Reliving Horror In a Pittsburgh
2023-05-30   2023-05-31 burgh-synagogue-trial.html                  Synagogue                                    By Campbell Robertson         TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/us/polit Focus on Cuts Threatens Plan to Aid Chip
2023-05-30   2023-05-31 ics/chips-act-science-funding.html          Sector                                       By Madeleine Ngo              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/us/polit DeSantis Rallies in Iowa Hoping It           By Shane Goldmacher and
2023-05-30   2023-05-31 ics/desantis-iowa.html                      Slingshots Him Past Trump in 2024 Race       Nicholas Nehamas              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/us/polit DeSantis Wading Into the DebtCeiling Fight
2023-05-30   2023-05-31 ics/desantis-trump-debt-ceiling.html        Puts Pressure on Trump                       By Jonathan Weisman           TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/us/polit Student Loans Set to Resume Under Terms Of
2023-05-30   2023-05-31 ics/student-loan-payments-biden-debt.html   Debt Deal                                    By Michael D Shear            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/us/polit Taiwan Envoy Says Success Vs Russians Is
2023-05-30   2023-05-31 ics/taiwan-ambassador-ukraine-china.html    Important                                    By Edward Wong                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/us/rosal Former First Lady Rosalynn Carter Is Said to By Michael Levenson and Dani
2023-05-30   2023-05-31 ynn-carter-dementia.html                    Suffer From Dementia                         Blum                          TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/world/a
                        mericas/alberta-canada-conservative-        Voters Reduce Majority Of Alberta
2023-05-30   2023-05-31 election.html                               Conservatives                                By Ian Austen                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/world/a                                               By Choe SangHun and Motoko
2023-05-30   2023-05-31 sia/north-korea-satellite.html              North Korean Rocket Alarms Neighbors         Rich                          TX 9-299-029   2023-07-03

                        https://www.nytimes.com/2023/05/30/world/e Erdogans Enthusiastic Power Base Devout    By Ben Hubbard Safak Timur and
2023-05-30   2023-05-31 urope/erdogan-turkey-election-women.html Conservative Women                           Elif Ince                      TX 9-299-029     2023-07-03
                        https://www.nytimes.com/2023/05/30/world/e
                        urope/financial-times-nick-cohen-          A British Reporter Had a Big MeToo Scoop
2023-05-30   2023-05-31 guardian.html                              Her Editor Killed It                       By Jane Bradley                 TX 9-299-029    2023-07-03



                                                                              Page 5297 of 5793
                        https://www.nytimes.com/2023/05/30/world/e Ugly Fight Over a Climate Bill Exposes         By Erika Solomon and Melissa
2023-05-30   2023-05-31 urope/germany-climate-coalition.html         Cracks in the German Coalition               Eddy                            TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/world/e
                        urope/kosovo-serbia-nato-peacekeeper-        Time of Rising Tensions In Kosovo and
2023-05-30   2023-05-31 clashes.html                                 Serbia                                       By Cora Engelbrecht             TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/world/e
                        urope/moscow-drone-strike-russia-            Stung by Drones Moscow Becomes a Nervous By Anatoly Kurmanaev Ivan
2023-05-30   2023-05-31 ukraine.html                                 Target                                       Nechepurenko and Eric Nagourney TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/world/e Venice Learns What Turned Grand Canal
2023-05-30   2023-05-31 urope/venice-canal-green-water.html          Green                                        By Jesus Jimnez                 TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/30/world/ UN Moves Ahead With a Plan To Avert an
2023-05-30   2023-05-31 middleeast/yemen-oil-tanker-spill.html       Oil Spill Off Yemen                          By Vivian Nereim                TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/31/busines
2023-05-31   2023-05-31 s/movie-theater-upgrade-pandemic.html        Movie Theater Owners Want You Back           By Jane Margolies               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/31/nyregio Wine at Wegmans Never in New York if
2023-05-31   2023-05-31 n/liquor-law-wine-supermarkets.html          Liquor Store Owners Get Their Way            By Luis FerrSadurn              TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/31/sports/d Hamlins Return to Practice Appears Close to
2023-05-31   2023-05-31 amar-hamlin-bills-off-season.html            Normal                                       By Dan Higgins                  TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/31/us/polit Unanswered Question Could the 14th
2023-05-31   2023-05-31 ics/14th-amendment-debt-ceiling.html         Amendment Defuse Debt Fights                 By Alan Rappeport               TX 9-299-029   2023-07-03
                        https://www.nytimes.com/2023/05/22/style/tr
2023-05-22   2023-06-01 oy-vincent-tommi-vincent.html                His Football Card Didnt Get in the Way       By Gina Cherelus                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/23/style/ne
2023-05-23   2023-06-01 w-orleans-jazz-fest-bayouwear.html           If Hawaiian Shirts Are Too Subtle for You    By Shannon Sims                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/25/t-
2023-05-25   2023-06-01 magazine/busayo-dinner-party.html            People Places Things                         By Camille Okhio                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/27/opinion
2023-05-27   2023-06-01 /africa-homosexuality-illegal.html           When Your Sexuality Is a Crime               By Nicholas Kristof             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/27/us/amer Exploring the Emotional Toll of Police
2023-05-27   2023-06-01 ica-police-violence.html                     Violence                                     By Tiffanie Graham              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/28/arts/tele
2023-05-29   2023-06-01 vision/barry-finale.html                     Actors Killers Theyre A Lot Alike            By James Poniewozik             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/arts/dan
                        ce/brian-henry-andrea-miller-joyce-
2023-05-30   2023-06-01 theater.html                                 An Inventive Dancer Lights a Path to Healing By Brian Seibert                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/arts/tele Record Number of Viewers For the
2023-05-30   2023-06-01 vision/succession-finale-ratings-hbo.html    Succession Finale                            By John Koblin                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/busines
2023-05-30   2023-06-01 s/europe-food-prices-inflation.html          Why Are Food Prices So High in Europe        By Eshe Nelson                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/style/ca
2023-05-30   2023-06-01 nnes-red-carpet-best-worst.html              Dressing Up For the Cameras At Cannes        By The Styles Desk              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/style/ge
2023-05-30   2023-06-01 ena-rocero-horse-barbie.html                 She Rewrote the Trans Narrative              By Shane ONeill                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/theater/ Broadway Musicians Object to David Byrnes
2023-05-30   2023-06-01 here-lies-love-david-byrne-musicians.html    Here Lies Love                               By Michael Paulson              TX 9-304-143   2023-08-01



                                                                               Page 5298 of 5793
                        https://www.nytimes.com/2023/05/30/arts/mu Juan Carlos Formell 59 Buoyant Heir of a
2023-05-31   2023-06-01 sic/juan-carlos-formell-dead.html          Cuban Musical Legacy Dies                     By Alex Williams                 TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/31/arts/mu Rising and Raging a BassBaritone Returns to
2023-05-31   2023-06-01 sic/flying-dutchman-review-met-opera.html Shore                                          By Oussama Zahr                  TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/31/arts/mu
                        sic/julia-wolfe-unearth-new-york-
2023-05-31   2023-06-01 philharmonic.html                          She Balances Both the Politics And the Poetry By David Allen                   TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/31/arts/mu                                               By Adam Nagourney Joshua
2023-05-31   2023-06-01 sic/los-angeles-philharmonic-dudamel.html A Change of Key Jars Music Lovers              Barone and Javier C Hernndez     TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/31/arts/mu
                        sic/queen-freddie-mercury-bohemian-
2023-05-31   2023-06-01 rhapsody.html                              Mongolian Rhapsody A Rock WhatIf              By Alex Marshall                 TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/05/31/arts/tele
2023-05-31   2023-06-01 vision/ted-lasso-phil-dunster-jamie-tartt.html Showboat Then Leader in Assists          By Calum Marsh                    TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/31/busines Adidas Sheds Yeezy Gear To Aid AntiHate
2023-05-31   2023-06-01 s/adidas-yeezy-kanye-west.html                 Groups                                   By Melissa Eddy                   TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/31/busines US Will Require New Cars To Have
2023-05-31   2023-06-01 s/automatic-braking-cars.html                  Automatic Brakes                         By Neal E Boudette                TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/05/31/busines
2023-05-31   2023-06-01 s/economy/jobs-layoffs-openings-jolts.html Rising Job Openings Defy Cooling Trend       By Talmon Joseph Smith            TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/31/busines
                        s/energy-environment/europe-battery-factory-
2023-05-31   2023-06-01 subisidies.html                              US Battery Subsidies Put Allies on Edge    By Jack Ewing and Melissa Eddy    TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/31/busines India Is Scrapping Its Largest Bill in
2023-05-31   2023-06-01 s/india-2000-rs-rupee-notes.html             September The Race Is On to Spend It       By Sameer Yasir and Mike Ives     TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/05/31/busines
2023-05-31   2023-06-01 s/jpmorgan-jeffrey-epstein-depositions.html JPMorgan Denies Fault For Epstein            By Matthew Goldstein               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/busines Walmart Raises Pay for Some Druggists and
2023-05-31   2023-06-01 s/walmart-pay-pharmacists-opticians.html    Opticians                                    By Jordyn Holman                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/busines Amazon Employees Connect Over Working
2023-05-31   2023-06-01 s/work-home-return-office-amazon.html       From Home                                    By Emma Goldberg                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/climate
                        /climate-change-insurance-wildfires-                                                     By Christopher Flavelle Jill Cowan
2023-05-31   2023-06-01 california.html                             Climate Crises Force Insurers To Recalculate and Ivan Penn                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/dining/j                                              By Brett Anderson and Julia
2023-05-31   2023-06-01 ames-beard-restaurants-investigation.html   When Chefs Are Honored and Investigated      Moskin                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/health/c How to Cut Death Rates For Women Give
2023-05-31   2023-06-01 ash-transfer-deaths-women.html              Cash                                         By Apoorva Mandavilli              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/health/f Pfizer RSV Vaccine Gets Approval for Older
2023-05-31   2023-06-01 da-rsv-vaccine-older-adults.html            Adults                                       By Christina Jewett                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/health/s Sacklers Given Shield In a Ruling That Holds
2023-05-31   2023-06-01 ackler-family-immunity-opioids.html         Implications for Many                        By Jan Hoffman                     TX 9-304-143   2023-08-01



                                                                                 Page 5299 of 5793
                        https://www.nytimes.com/2023/05/31/nyregio Trial Opens for ExNYPD Sergeant Accused
2023-05-31   2023-06-01 n/nypd-china-agents-stalking-trial.html     of Doing Chinas Bidding                     By Karen Zraick                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/nyregio
2023-05-31   2023-06-01 n/sue-altman-tom-kean-new-jersey.html       New Jersey Democrat Seeks Keans Seat        By Tracey Tully                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/nyregio Trump Seeks New Judge For HushMoney          By William K Rashbaum and Ben
2023-05-31   2023-06-01 n/trump-trial-judge-juan-merchan.html       Case                                        Protess                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/opinion
2023-05-31   2023-06-01 /biden-mccarthy-debt-ceiling-deal.html      4 Questions About the Debt Ceiling Deal     By Ezra Klein                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/opinion Mississippi Is Offering Lessons for America
2023-05-31   2023-06-01 /mississippi-education-poverty.html         on Education                                By Nicholas Kristof             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/sports/b Cable Group Relinquishes Padre Games To
2023-05-31   2023-06-01 aseball/mlb-padres-broadcasts.html          the League                                  By Benjamin Hoffman             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/sports/s Chelsea Parts Ways With Executive Who Is
2023-05-31   2023-06-01 occer/chelsea-workplace-harassment.html     Accused of Bullying                         By Tariq Panja                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/sports/t Djokovic Inserts Himself Into Another Fiery
2023-05-31   2023-06-01 ennis/french-open-djokovic-kosovo.html      Controversy                                 By Matthew Futterman            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/style/fa
                        shion-high-inside-new-yorks-semi-secret-
2023-05-31   2023-06-01 school-for-style.html                       Stylish Statements From the Student Body    By Alex Vadukul                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/technol Amazon Agrees to Pay 25 Million to Settle
                        ogy/amazon-25-million-childrens-            Charges It Violated the Online Privacy of
2023-05-31   2023-06-01 privacy.html                                Children                                    By Natasha Singer               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/technol
                        ogy/personaltech/social-media-
2023-05-31   2023-06-01 alternatives.html                           Ditch the Crowd With a Private Social Space By J D Biersdorfer              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/theater/
2023-05-31   2023-06-01 new-york-city-center-encores.html           Pal Joey and More Coming to City Center     By Sarah Bahr                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/us/gre- Shorter GRE Test Will Be Offered as
2023-05-31   2023-06-01 test-shorter-graduate-school.html           Relevance Dwindles                          Stephanie Saul                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/us/nucl A Poisonous Cold War Remnant That Still
2023-05-31   2023-06-01 ear-waste-cleanup.html                      Escapes a Solution                          By Ralph Vartabedian            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/us/okla Top Oklahoma Court Blocks 2 Laws
2023-05-31   2023-06-01 homa-supreme-court-abortion-bans.html       Restricting Abortion                        By Jacey Fortin                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/us/polit
                        ics/aid-ukraine-ammunition-drones-          Biden Fortifies Kyivs Offensive With New
2023-05-31   2023-06-01 artillery.html                              Aid Of 300 Million                          By Helene Cooper                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/us/polit House Passes Bill to Dodge Default in
2023-05-31   2023-06-01 ics/debt-ceiling-house-vote.html            Bipartisan Vote                             By Catie Edmondson              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/us/polit DeSantis Takes Pokes at Trump But           By Shane Goldmacher and
2023-05-31   2023-06-01 ics/desantis-trump-2024.html                Cautiously                                  Nicholas Nehamas                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/us/polit
                        ics/hunter-biden-bruen-justice-             Top Courts Ruling on Guns May Void Biden By Glenn Thrush and Michael S
2023-05-31   2023-06-01 department.html                             Sons Case                                   Schmidt                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/us/polit Data Making Phenomena Tough to ID NASA
2023-05-31   2023-06-01 ics/nasa-ufo-hearing.html                   Says                                        By Julian E Barnes              TX 9-304-143   2023-08-01



                                                                              Page 5300 of 5793
                        https://www.nytimes.com/2023/05/31/us/polit
2023-05-31   2023-06-01 ics/obama-oral-history.html                 Inside Look at the Obama Presidency            By Peter Baker                  TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/31/us/polit MaraLago Workers Are Said to Be                By Alan Feuer Maggie Haberman
2023-05-31   2023-06-01 ics/security-footage-trump-documents.html Questioned About Security Footage                and Ben Protess                 TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/31/us/polit Aides From Trump White House Are
                        ics/trump-aides-subpoenaed-special-         Subpoenaed in Firing of an Election Security   By Maggie Haberman and Jonathan
2023-05-31   2023-06-01 counsel.html                                Expert                                         Swan                            TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/31/us/polit Trump on Tape Talking of Secret Document       By Maggie Haberman Jonathan
2023-05-31   2023-06-01 ics/trump-tape-document.html                He Had After Leaving Office                    Swan and Alan Feuer             TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/31/us/texa Texas State Senator Could Help Decide Fate
2023-05-31   2023-06-01 s-senator-angela-paxton.html                of Her Embattled Husband                       By J David Goodman              TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/31/world/a Sudans Army Suspends CeaseFire Talks
2023-05-31   2023-06-01 frica/sudan-army-cease-fire-talks.html      Stalling Efforts to Deliver Aid to Millions    By Abdi Latif Dahir            TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/05/31/world/a Protest by Olympians Exposes Indias             By Mujib Mashal Hari Kumar and
2023-05-31   2023-06-01 sia/india-wrestler-protest.html             Dwindling Tolerance for Dissent                Sameer Yasir                   TX 9-304-143      2023-08-01

                        https://www.nytimes.com/2023/05/31/world/a Pakistans Courts Emerge As Discrete              By Christina Goldbaum and Salman
2023-05-31   2023-06-01 sia/pakistan-courts-challenge-military.html   Political Force And Challenger to Military    Masood                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/world/a Seoul Awoke to Order Prepare to Evacuate It By Choe SangHun Victoria Kim
2023-05-31   2023-06-01 sia/south-korea-alert.html                    Was a False Alarm                             and Jin Yu Young                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/world/e Blinken Tours NATOs North as Risks Loom
2023-05-31   2023-06-01 urope/blinken-arctic-nato-russia.html         Large in Arctic Region                        By Steven Erlanger               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/world/e
                        urope/germany-left-wing-activist-attacks-far-
2023-05-31   2023-06-01 right.html                                    Leftists Convicted in Attacks on Far Right    By Christopher F Schuetze        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/world/e
                        urope/ireland-fishing-quotas-                 Ireland Fears Loss of Its Fishing Industry a  By Megan Specia and Finbarr
2023-05-31   2023-06-01 decommissioning.html                          Way of Life                                   OReilly                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/world/e Russia Denounces Wests Refusal to Condemn
2023-05-31   2023-06-01 urope/russia-moscow-drone-attack.html         Drone Strike on Moscow                        By Anatoly Kurmanaev             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/world/e Sunak Still Shadowed By Flubs and Scandals
2023-05-31   2023-06-01 urope/sunak-johnson-truss-economy.html        Of His 2 Predecessors                         By Mark Landler                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/world/e
2023-05-31   2023-06-01 urope/uk-honeybee-swarms.html                 Swarming Keeps UK Beekeepers Busy             By Isabella Kwai                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/world/
                        middleeast/israel-gaza-precision-strikes-     The Civilian Anguish Behind Israels Precision By Raja Abdulrahim and Samar
2023-05-31   2023-06-01 civilians.html                                Strikes                                       Abu Elouf                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/world/
                        middleeast/turkey-erdogan-gay-rights-         Erdogans Win Heightens Fears Of               By Ben Hubbard Elif Ince Safak
2023-05-31   2023-06-01 lgbt.html                                     Homophobia                                    Timur and Sergey Ponomarev       TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/31/world/ UAE Says It Is Spurning Maritime Force Led
2023-05-31   2023-06-01 middleeast/uae-us-iran-maritime-security.html by the US                              By Vivian Nereim                      TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/01/sports/b For Best Playoff Performance the Floppy
2023-06-01   2023-06-01 asketball/nba-playoffs-flopping.html          Goes To                                By Kurt Streeter                      TX 9-304-143     2023-08-01



                                                                                 Page 5301 of 5793
                        https://www.nytimes.com/2023/06/01/style/ba
2023-06-01   2023-06-01 lenciaga-cannes-comeback.html                Balenciagas Uncanceling Strategy Is Working By Vanessa Friedman              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/style/m The Mustache Is Back in Its Many
2023-06-01   2023-06-01 ustaches.html                                Incarnations                                By Shira Telushkin               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/arts/mu
2023-05-30   2023-06-02 sic/zamrock-witch-zango.html                 A Sole Survivor Carries On With Positivity By Jim Farber                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/busines Chinas Grads Struggle to Find Work Xi
2023-05-30   2023-06-02 s/china-youth-unemployment.html              Shrugs                                      By Li Yuan                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/arts/des
                        ign/iiu-susiraja-artist-moma-ps1-body-       Shes Not Afraid To Make You Feel
2023-05-31   2023-06-02 image.html                                   Uncomfortable                               By Roberta Smith                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/arts/ki
2023-05-31   2023-06-02 m-cattrall-and-just-like-that-season-2.html  Samantha Resurfaces Fleetingly              By Julia Jacobs                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/arts/pri Plenty of Events to Celebrate Strength and
2023-05-31   2023-06-02 de-month-events-nyc.html                     Solidarity                                  By Erik Piepenburg               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/busines Has ChickfilA Gone Woke Conservatives Say
2023-05-31   2023-06-02 s/chick-fil-a-woke-dei.html                  Its DEI Policy Proves It Has                By Jesus Jimnez                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/movies/
2023-05-31   2023-06-02 reality-review.html                          Examining A Most Unusual Suspect            By Amy Nicholson                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/us/polit
                        ics/kevin-mccarthy-debt-limit-               For McCarthy the Debt Limit Deal Is a Mixed
2023-06-01   2023-06-02 republicans.html                             Bag                                         By Carl Hulse                    TX 9-304-143   2023-08-01
                                                                                                                 By Max Lakin Travis Diehl Martha
                                                                                                                 Schwendener Holland Cotter Jason
                        https://www.nytimes.com/2023/06/01/arts/des                                              Farago Roberta Smith and Will
2023-06-01   2023-06-02 ign/arts-design-nyc-art-galleries-june.html  Galleries                                   Heinrich                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/arts/des
                        ign/hannah-gadsby-brooklyn-museum-
2023-06-01   2023-06-02 picasso.html                                 Funny Well Thats Problematic                By Jason Farago                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/arts/des
2023-06-01   2023-06-02 ign/warhol-peter-brant-foundation-art.html   The Smothering Effect of Admiration         By Blake Gopnik                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/arts/des
                        ign/whitney-museum-sells-breuer-building-
2023-06-01   2023-06-02 sothebys.html                                Sothebys Buys the Whitneys Breuer Building By Robin Pogrebin                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/arts/mu Billy Joels Madison Square Garden Run to
2023-06-01   2023-06-02 sic/billy-joel-ending-msg-residency.html     End in 2024                                 By Ben Sisario                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/arts/tele
                        vision/how-much-watching-time-do-you-have-
2023-06-01   2023-06-02 this-weekend.html                            This Weekend I Have                         By Margaret Lyons                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/arts/tele
2023-06-01   2023-06-02 vision/summer-tv-shows.html                  30 Shows to Watch This Season               By Mike Hale                     TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/01/books/e-
2023-06-01   2023-06-02 jean-carroll-mary-trump-romance-novel.html A Romance Novel With No Politics           By Alexandra Alter                TX 9-304-143     2023-08-01




                                                                               Page 5302 of 5793
                        https://www.nytimes.com/2023/06/01/books/n
2023-06-01   2023-06-02 ew-books-summer-june.html                  Volumes for an Endless Literary Summer        By Joumana Khatib                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/busines Large Commercial Jet Is a Milestone for
2023-06-01   2023-06-02 s/china-comac-c919-boeing.html             China                                         By Niraj Chokshi and Tiffany May TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/busines
                        s/economy/supreme-court-strikes-
2023-06-01   2023-06-02 teamsters.html                             Justices Rule Law Doesnt Shield Union         By Noam Scheiber                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/busines Europes Inflation Falls to 61 Its Lowest in
2023-06-01   2023-06-02 s/eurozone-inflation-may.html              More Than a Year                              By Liz Alderman                  TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/01/climate                                             By Christopher Flavelle and Jack
2023-06-01   2023-06-02 /arizona-phoenix-permits-housing-water.html Eye on Water Arizona Caps New Housing Healy                                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/health/l Utah Is Driving Push to Fill Void on LGBTQ
2023-06-01   2023-06-02 gbtq-suicide-data.html                      Suicide Data                               By Azeen Ghorayshi                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/movies/
2023-06-01   2023-06-02 after-sherman-review.html                   After Sherman                              By Lisa Kennedy                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/movies/
2023-06-01   2023-06-02 concerned-citizen-review.html               Concerned Citizen                          By Ben Kenigsberg                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/movies/
2023-06-01   2023-06-02 falcon-lake-review.html                     Falcon Lake                                By Beatrice Loayza                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/movies/ Pulling Back the Curtain on a Cinematic
2023-06-01   2023-06-02 lynch-oz-review.html                        Fixation                                   By Manohla Dargis                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/movies/
2023-06-01   2023-06-02 padre-pio-review.html                       Padre Pio                                  By Glenn Kenny                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/movies/ Remembering Yesterday While Reaching for
2023-06-01   2023-06-02 past-lives-review.html                      Tomorrow                                   By Manohla Dargis                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/movies/
2023-06-01   2023-06-02 rise-review.html                            Rise                                       By Natalia Winkelman               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/movies/
2023-06-01   2023-06-02 shooting-stars-review.html                  Shooting Stars                             By Brandon Yu                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/movies/
                        spider-man-across-the-spider-verse-
2023-06-01   2023-06-02 review.html                                 To Web Spinners There Is No End            By Maya Phillips                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/movies/
2023-06-01   2023-06-02 the-boogeyman-review.html                   The Boogeyman                              By Jeannette Catsoulis             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/nyregio Airbnb Sues New York City Over Limits
2023-06-01   2023-06-02 n/airbnb-sues-nyc-rentals.html              On Rentals                                 By Mihir Zaveri                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/nyregio Adamss Lively Stories Dont Always Check
2023-06-01   2023-06-02 n/eric-adams-life-stories-nyc.html          Out                                        By Emma G Fitzsimmons              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/nyregio Stony Brook to Get 500 Million Thanks to
2023-06-01   2023-06-02 n/stony-brook-university-gift.html          ExProfessor and Alumna                     By Liam Stack                      TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/01/opinion
2023-06-01   2023-06-02 /college-admissions-affirmative-action.html Lets Smash the College Admissions Process    By David Brooks                  TX 9-304-143   2023-08-01




                                                                                  Page 5303 of 5793
                        https://www.nytimes.com/2023/06/01/opinion Political Correctness Used to Be Funny Now
2023-06-01   2023-06-02 /columnists/political-correctness-1990s.html Its No Joke                                  By Pamela Paul                TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/01/opinion
                        /debt-ceiling-republicans-kevin-
2023-06-01   2023-06-02 mccarthy.html                                The Case of the Disappearing Debt Disaster   By Paul Krugman               TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/01/opinion
                        /international-world/haiti-crisis-foreign-    I Never Thought Id Plead for the World to
2023-06-01   2023-06-02 intervention.html                            Send Soldiers to Haiti                       By Jean W Pape                TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/01/science With Improved Einstein Puzzlers Settle a
2023-06-01   2023-06-02 /puzzles-mathematics-tiling.html             DecadesOld Math Problem                      By Siobhan Roberts            TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/01/sports/h
                        orse-racing/churchill-downs-horse-racing-    Churchill Downs Updates Policies To Keep
2023-06-01   2023-06-02 deaths.html                                  Unsound Horses Off Track                     By Joe Drape                  TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/01/sports/t
2023-06-01   2023-06-02 ennis/french-open-fans.html                  A Love Game Unconditionally                  By Matthew Futterman          TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/01/technol
                        ogy/meta-privacy-lawsuit-district-of-        DC Judge Dismisses Privacy Suit Against
2023-06-01   2023-06-02 columbia.html                                Meta                                         By Cecilia Kang               TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/01/theater/ Sing Memory An Alicia Keys Musical
2023-06-01   2023-06-02 alicia-keys-musical-hells-kitchen.html       Inspired by Her Life                         By Michael Paulson            TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/01/us/amit Amitai Etzioni 94 Who Envisioned Society
2023-06-01   2023-06-02 ai-etzioni-dead.html                         Built on Community Is Dead                   By Robert D McFadden          TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/01/us/mia With Miamis City Hall in Turmoil Its Mayor
2023-06-01   2023-06-02 mi-francis-suarez-city-hall-trial.html       Weighs a 2024 Run                            By Patricia Mazzei            TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/01/us/polit
                        ics/biden-air-force-academy-                 Biden Makes Case for Global Alliances in
2023-06-01   2023-06-02 commencement.html                            Military Academy Address                     By Michael D Shear            TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/01/us/polit President Tripped and Fell During Air Force
2023-06-01   2023-06-02 ics/biden-fall-air-force-commencement.html Graduation                                     By Michael D Shear              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/us/polit ExOfficial In N Carolina Is Biden Pick For By Sheryl Gay Stolberg and
2023-06-01   2023-06-02 ics/biden-mandy-cohen-cdc.html               the CDC                                      Apoorva Mandavilli              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/us/polit
                        ics/biden-mccarthy-debt-ceiling-deal-who-    Dont Spike the Ball Early How Biden
2023-06-01   2023-06-02 won.html                                     Negotiated His Way to a Debt Deal            By Peter Baker                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/us/polit China Invests In Collecting Intelligence That
2023-06-01   2023-06-02 ics/china-us-open-source-intelligence.html   Is Public                                    By Julian E Barnes              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/us/polit Senate on Verge Of Ending Crisis Over Debt
2023-06-01   2023-06-02 ics/debt-limit-senate.html                   Limit                                        By Carl Hulse                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/us/polit In New Hampshire an Irked DeSantis Bristles
2023-06-01   2023-06-02 ics/desantis-press-angry.html                at a Reporter Are You Blind                  By Nicholas Nehamas             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/us/polit
                        ics/oath-keepers-jan-6-seditious-conspiracy- 2 From Oath Keepers Militia Are Sentenced
2023-06-01   2023-06-02 sentences.html                               for Seditious Conspiracy                     By Zach Montague and Alan Feuer TX 9-304-143   2023-08-01



                                                                                 Page 5304 of 5793
                        https://www.nytimes.com/2023/06/01/us/polit
                        ics/political-nonprofits-fund-raising-      FundRaising By Nonprofits Is Scrutinized By By David A Fahrenthold William K
2023-06-01   2023-06-02 fraud.html                                  the US                                      Rashbaum and Tiff Fehr           TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/01/us/polit Racism as Narrative Not an Issue for GOP    By Jonathan Weisman and Trip
2023-06-01   2023-06-02 ics/republicans-race-scott-haley.html       Candidates of Color                         Gabriel                          TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/01/us/polit US Sanctions Are Imposed On Sudans          By Helene Cooper and Declan
2023-06-01   2023-06-02 ics/sanctions-sudan-military.html           Warring Factions                            Walsh                            TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/01/us/polit
2023-06-01   2023-06-02 ics/trump-desantis-cuomo-covid-florida.html On DeSantis Trump and Cuomo Agree            By Katie Glueck                   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/01/us/polit His Own Words Could Haunt Trump in         By Maggie Haberman Jonathan
2023-06-01   2023-06-02 ics/trump-recording-documents-evidence.html Documents Inquiry                          Swan and Alan Feuer                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/us/spell
2023-06-01   2023-06-02 ing-bee-marie-bolden-medal-search.html      Searching for Medal From 1908 Spelling Bee By Livia AlbeckRipka                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/world/a Jail for Opposition Leader Prompts Senegal
2023-06-01   2023-06-02 frica/senegal-ousmane-sonko.html            Protests                                   By Elian Peltier                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/world/a Thaw in Relationship Of US and China Is
2023-06-01   2023-06-02 sia/china-us-relations-thaw.html            Fraught and Halting                        By Nicole Hong                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/world/a Decorated as a Hero but Now Hes Tied to
2023-06-01   2023-06-02 ustralia/ben-roberts-smith-war-crimes.html  War Crimes                                 By Yan Zhuang                       TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/01/world/e UK Government Wont Hand Over Copies Of
2023-06-01   2023-06-02 urope/boris-johnson-texts-covid-inquiry.html Johnsons CovidEra Texts to Committee      By Mark Landler                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/world/e
                        urope/russia-missiles-mother-daughter-       Russian Missiles Kill 3 in Kyiv Including By Marc Santora and Anatoly
2023-06-01   2023-06-02 kyiv.html                                    Mother and 9YearOld Girl                  Kurmanaev                           TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/01/world/e
2023-06-01   2023-06-02 urope/ukraine-kyiv-air-defense-russia.html We Have No Days Off Ukraines Air Defenses By Marc Santora                       TX 9-304-143   2023-08-01
                                                                   Western Leaders Meeting in Norway and
                        https://www.nytimes.com/2023/06/01/world/e Moldova Debate Future Ukraine Ties to
2023-06-01   2023-06-02 urope/ukraine-nato-russia.html             NATO                                      By Michael Crowley                    TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/01/world/ Conflict With Israels Far Right Over Gay
2023-06-01   2023-06-02 middleeast/jerusalem-gay-pride-parade.html Rights Shrouds a Pride Parade                 By Isabel Kershner                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/your-
2023-06-01   2023-06-02 money/student-loan-payment-restart.html      What to Do If You Have Student Bills        By Tara Siegel Bernard            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/05/ The Big Part of the Debt Ceiling Deal       By Margot SangerKatz and Alicia
2023-06-01   2023-06-02 31/upshot/debt-ceiling-side-deals.html       Congress Isnt Talking About                 Parlapiano                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/sports/b
                        asketball/adam-silver-nba-finals-ja-
2023-06-02   2023-06-02 morant.html                                  League to Wait on Morant Decision           By Scott Cacciola                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/theater/
2023-06-02   2023-06-02 review-grey-house.html                       Talk About an Extreme Case of Cabin Fever   By Jesse Green                    TX 9-304-143   2023-08-01



                                                                                Page 5305 of 5793
                        https://www.nytimes.com/2023/06/01/us/polit
2023-06-02   2023-06-02 ics/debt-limit-spending-cuts.html           Houses Plan Holds Threat Of More Cuts       By Catie Edmondson                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/live/2023/06/01/us/
                        debt-ceiling-senate-vote/the-debt-limit-fight- For McCarthy the Debt Limit Deal Is a Mixed
2023-06-02   2023-06-02 left-mccarthy-with-victories-and-wounds        Bag                                         By Carl Hulse                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/11/travel/p
2023-05-11   2023-06-03 alm-springs-spa-travel-retreats.html           Putting the Springs Back in Palm Springs    By Abbie Kozolchyk              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/19/theater/ Songs Punctuate a BareBones Twist to a
2023-05-19   2023-06-03 brokeback-mountain.html                        Celebrated Tale                             By Matt Wolf                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/23/travel/g
2023-05-23   2023-06-03 uatemala-joyce-maynard-hotel.html              A Novelist Falls in Love With a Country     By Joyce Maynard                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/05/
2023-05-25   2023-06-03 25/travel/things-to-do-vancouver.html          36 Hours in Vancouver                       By Remy Scalza                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/us/bria Brian Shul Fighter Pilot Who Flew Worlds
2023-05-30   2023-06-03 n-shul-dead.html                               Fastest Plane Dies at 75                    By Sam Roberts                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/arts/mu These Punks Are Back Long After The
2023-05-31   2023-06-03 sic/be-your-own-pet-mommy.html                 Burnout                                     By Marissa R Moss               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/arts/mu
                        sic/jonathon-heyward-mostly-mozart-festival-
2023-05-31   2023-06-03 orchestra.html                                 Mostly Mozart Names Heyward as Conductor By Javier C Hernndez               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/movies/
                        the-little-mermaid-daveed-diggs-
2023-05-31   2023-06-03 awkwafina.html                                 Insight From a Gull and a Crab              By Leah Greenblatt              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/opinion Irans Campaign Against Dissent Cant Silence
2023-05-31   2023-06-03 /toomaj-salehi-iran.html                       a Jailed Rappers Message                    By Holly Dagres                 TX 9-304-143   2023-08-01
                                                                                                                   By Christiaan Triebert Blacki
                        https://www.nytimes.com/interactive/2023/05/ Fake Signals and American Insurance How a Migliozzi Alexander Cardia Muyi
2023-05-31   2023-06-03 30/world/asia/russia-oil-ships-sanctions.html Dark Fleet Moves Russian Oil                 Xiao and David Botti            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/arts/ma
2023-06-01   2023-06-03 rtha-hodes-my-hijacking.html                   Vivid Memories of a Child Hostage           By Jennifer Schuessler          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/busines                                                 By Sarah Kliff and Jessica
2023-06-01   2023-06-03 s/allina-health-hospital-debt.html             Medical Group Cuts Off Those Carrying Debt SilverGreenberg                  TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/01/opinion
2023-06-01   2023-06-03 /wga-hollywood-writers-strike-unions.html  To Me the Writers Strike Is About Respect    By Ron Currie                      TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/01/theater/
2023-06-01   2023-06-03 prayer-for-the-french-republic-broadway.html A Provocative Play Heads to Broadway       By Michael Paulson                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/01/theater/
2023-06-01   2023-06-03 tyne-daly-liev-schreiber-doubt-broadway.html A Revival Of Doubt Arrives Next Year       By Michael Paulson                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/world/a Eusebius McKaiser 44 Activist Who Eyed
2023-06-01   2023-06-03 frica/eusebius-mckaiser-dead.html            Apartheids Legacy                          By Alan Cowell                     TX 9-304-143   2023-08-01




                                                                                Page 5306 of 5793
                        https://www.nytimes.com/2023/06/01/busines Judge in Disney Case Steps Aside but Blasts
2023-06-02   2023-06-03 s/disney-desantis-judge-mark-walker.html    DeSantiss Lawyers                            By Brooks Barnes                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/busines
                        s/media/netflix-executive-compensation-     Netflix Shareholders Vote To Reject Pay
2023-06-02   2023-06-03 vote.html                                   Packages                                     By Nicole Sperling               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/us/polit Agency Failed Migrant Girl Before Death
2023-06-02   2023-06-03 ics/child-migrant-death.html                Inquiry Says                                 By Eileen Sullivan               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/arts/ily Ilya Kabakov Artist Who Depicted Grimness
2023-06-02   2023-06-03 a-kabakov-dead.html                         With Wit Is Dead at 89                       By Penelope Green                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/02/arts/mu
2023-06-02   2023-06-03 sic/foo-fighters-but-here-we-are-review.html Left Shaken But Still Standing              By Lindsay Zoladz                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/arts/mu
                        sic/review-julia-wolfe-unearth-new-york-
2023-06-02   2023-06-03 philharmonic.html                            Partly Hidden Amid the Crowd                By Seth Colter Walls             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/arts/tin Power in Turners Story of Abuse Inspired     By Christine Hauser Lauren
2023-06-02   2023-06-03 a-turner-domestic-violence-survivors.html    Generations of Women                        McCarthy and Remy Tumin          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/busines
2023-06-02   2023-06-03 s/china-stocks-hang-seng-csi-300.html        Investors Have Gone Sour on Chinas Stocks   By Vivek Shankar                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/02/busines New President of World Bank Faces Pressure
2023-06-02   2023-06-03 s/economy/ajay-banga-world-bank.html       to Shift Focus To Fighting Climate Change  By Alan Rappeport                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/busines
                        s/economy/federal-reserve-jobs-interest-
2023-06-02   2023-06-03 rates.html                                 Fed Officials May Hold Rates Steady        By Jeanna Smialek                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/busines Job Growth In the US Was Robust Last
2023-06-02   2023-06-03 s/economy/jobs-report-may-2023.html        Month                                      By Sydney Ember                     TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/02/busines Missed Regulatory Goals Cost GM and
2023-06-02   2023-06-03 s/gm-stellantis-fines-cars-fuel-economy.html Stellantis 364 Million                      By Neal E Boudette               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/busines Harvey Pitt 78 SEC Chief Who Resigned
2023-06-02   2023-06-03 s/harvey-pitt-dead.html                      Amid Scandals                               By Rob Copeland                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/busines NPR Executive Named Editor Of USA
2023-06-02   2023-06-03 s/media/terence-samuel-usa-today.html        Today                                       By Katie Robertson               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/busines As the Price of Oil Declines OPEC Plus May
2023-06-02   2023-06-03 s/oil-prices-opec-plus.html                  Consider Further Production Cuts            By Stanley Reed                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/busines Three Chemical Companies to Pay Over 1        By Ben Casselman Ivan Penn and
2023-06-02   2023-06-03 s/pfas-pollution-settlement.html             Billion in Public Water Suits               Matthew Goldstein                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/02/busines
2023-06-02   2023-06-03 s/teenagers-2023-summer-job-market.html    Strong Summer Job Market Awaits Teens       By Ann Carrns                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/climate Biden Administration Blocks Drilling Around
2023-06-02   2023-06-03 /chaco-canyon-biden-protection.html        Native American Site                        By Coral Davenport                 TX 9-304-143   2023-08-01




                                                                                Page 5307 of 5793
                        https://www.nytimes.com/2023/06/02/nyregio Buffalos Response to Deadly Blizzard Had
2023-06-02   2023-06-03 n/buffalo-blizzard-emergency-response.html Many Failures Researchers Find                    By Hurubie Meko and Lola Fadulu TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/02/nyregio Elite Schools In New York Show Gaps In
2023-06-02   2023-06-03 n/stuyvesant-high-school-black-students.html Diversity                                       By Troy Closson                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/opinion
2023-06-02   2023-06-03 /fresh-air-fund.html                             In the Rural Stillness a Lasting Epiphany   By The Editorial Board         TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/opinion
2023-06-02   2023-06-03 /trump-hannity-fox-town-hall.html                A Peek Behind the MAGA Curtain              By David French                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/realesta
                        te/luxury/riverfront-real-estate-south-carolina-
2023-06-02   2023-06-03 lowcountry.html                                  Rolling on South Carolinas rivers           By Michael Croley              TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/realesta
2023-06-02   2023-06-03 te/turkey-waterfront-homes.html                  A boom in Turkish waterfront homes          By Shivani Vora                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/sports/b
                        asketball/denver-nuggets-miami-heat-game- Playing for a Trophy As Well as Finally A
2023-06-02   2023-06-03 1.html                                           Little Respect                              By Tania Ganguli               TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/02/sports/c An Undefeated Fighter Sets Aside Friendship
2023-06-02   2023-06-03 laressa-shields-maricela-cornejo-fight.html With the Goal of Dominating Her Sport       By Morgan Campbell                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/sports/h
                        orse-racing/churchill-downs-deaths-         Churchill Downs to Halt Racing Amid Horse
2023-06-02   2023-06-03 horseracing.html                            Death Inquiry                               By Joe Drape                        TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/sports/n Alabama Basketball Manager Says He Not
2023-06-02   2023-06-03 caabasketball/shooting-alabama.html         Player Was at Fatal Shooting                By Steve Eder                       TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/02/sports/s
2023-06-02   2023-06-03 occer/barcelona-champions-league-final.html Intellectual Volunteer Perfectionist Star    By Rory Smith               TX 9-304-143           2023-08-01
                        https://www.nytimes.com/2023/06/02/sports/s
                        occer/saudi-soccer-messi-benzema-           Saudis Offer a Torrent of Cash To Attract    By Tariq Panja and Ahmed Al
2023-06-02   2023-06-03 ronaldo.html                                Soccers Superstars                           Omran                       TX 9-304-143           2023-08-01
                        https://www.nytimes.com/2023/06/02/sports/t Sabalenka Discomfited by Ukraine Questions
2023-06-02   2023-06-03 ennis/french-open-sabalenka-ukraine.html    Skips News Conference                        By Matthew Futterman        TX 9-304-143           2023-08-01
                        https://www.nytimes.com/2023/06/02/technol Apple Is Stepping Into the Metaverse Will     By Kellen Browning and Mike
2023-06-02   2023-06-03 ogy/apple-metaverse-vr.html                 Anyone Want to Follow                        Isaac                       TX 9-304-143           2023-08-01
                        https://www.nytimes.com/2023/06/02/theater/
2023-06-02   2023-06-03 todd-haimes-theater-broadway.html           Haimess Name to Go On a Theater              By Michael Paulson          TX 9-304-143           2023-08-01
                        https://www.nytimes.com/2023/06/02/theater/
2023-06-02   2023-06-03 tori-sampson-this-land-was-made.html        Drawing On Roots Of Black Power              By Naveen Kumar             TX 9-304-143           2023-08-01
                        https://www.nytimes.com/2023/06/02/us/atlan Atlanta Prosecutors Contact Consultant Firms By Danny Hakim and Richard
2023-06-02   2023-06-03 ta-prosecutors-trump-campaign.html          for the Trump Campaign                       Fausset                     TX 9-304-143           2023-08-01
                        https://www.nytimes.com/2023/06/02/us/dev- Spelling Champion Outlasts Competition by By Remy Tumin Maria Cramer and
2023-06-02   2023-06-03 shah-scripps-spelling-bee-winner.html       Not Sweating the Schwa                       Maggie Astor                TX 9-304-143           2023-08-01




                                                                                    Page 5308 of 5793
                        https://www.nytimes.com/2023/06/02/us/gua In Guam Thousands Still in Dark After
2023-06-02   2023-06-03 m-typhoon-mawar.html                        Typhoon                                       By Josie Moyer and Jacey Fortin   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/us/polit Biden Praises Budget Deal in Oval Office
2023-06-02   2023-06-03 ics/biden-debt.html                         Address                                       By Michael D Shear                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/02/us/polit US Will Try to Bring China Into Arms          By Julian E Barnes and David E
2023-06-02   2023-06-03 ics/china-arms-control-nuclear-weapons.html Control Talks and Work on a Deal for AI       Sanger                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/us/polit
                        ics/classified-documents-trump-              Trumps Lawyers Unable to Find File He        By Alan Feuer and Maggie
2023-06-02   2023-06-03 recording.html                               Mentioned in Interview                       Haberman                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/us/polit
                        ics/debt-ceiling-bill-national-debt-
2023-06-02   2023-06-03 growth.html                                  Deal Suggests Future Deficit Will Be Worse   By Jim Tankersley                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/us/polit
                        ics/nikki-haley-husband-michael-national-    Haleys Husband to Deploy On a Guard Tour
2023-06-02   2023-06-03 guard.html                                   in Africa                                    By Neil Vigdor                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/us/polit
                        ics/oath-keepers-sentences-sedition-capitol-
2023-06-02   2023-06-03 riot.html                                    Two More Oath Keepers Sentenced              By Zach Montague                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/us/polit Pence Wont Face Charges In Documents          By Maggie Haberman and Glenn
2023-06-02   2023-06-03 ics/pence-documents-doj.html                 Investigation                                Thrush                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/us/polit Republican Party Outlines Eligibility Rules
2023-06-02   2023-06-03 ics/republican-debate-criteria.html          for First Debate                             By Katie Glueck                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/us/polit HighProfile Senate Race May Get Celebrity
2023-06-02   2023-06-03 ics/steve-garvey-senate.html                 Name As Garvey Weighs a Bid                  By Neil Vigdor                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/well/m For This Runner There Is No Shame in
2023-06-02   2023-06-03 ove/martinus-evans-slow-af-run-club.html     Bringing Up the Rear                         By Danielle Friedman              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/world/a Social Media Blocked And Troops Deployed
2023-06-02   2023-06-03 frica/senegal-ousmane-sonko.html             In Capital of Senegal                        By Elian Peltier                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/world/a Body Parts Are Linked To Search For
2023-06-02   2023-06-03 mericas/remains-mexico-call-center.html      Workers                                      By Emiliano Rodrguez Mega         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/world/a Trains Derail in India Setting Off a Frantic   By Mike Ives Mujib Mashal and
2023-06-02   2023-06-03 sia/india-train-accident-odisha.html         Rescue Effort                                Dan Bilefsky                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/world/e In Finland NATOs Newest Member Blinken
2023-06-02   2023-06-03 urope/finland-nato-blinken.html              Makes a List of Putins Failures              By Michael Crowley                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/02/world/e Evacuations in Russia as Kyiv Reckons With     By Thomas GibbonsNeff and
2023-06-02   2023-06-03 urope/kyiv-shelter-russia-evacuations.html Deaths Near Bomb Shelter                       Natalia Yermak                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/world/e After Mass Shootings in Serbia Few Are
2023-06-02   2023-06-03 urope/serbia-shootings-gun-control.html    Ready to Give Up Their Guns                    By Andrew Higgins                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/world/e
                        urope/ukraine-war-premature-birth-         As Fighting Drags On Doctors Warn of an
2023-06-02   2023-06-03 pregnancy.html                             Increase in Premature Births                   By Maria Varenikova               TX 9-304-143   2023-08-01




                                                                                Page 5309 of 5793
                        https://www.nytimes.com/2023/06/02/world/
                        middleeast/narges-mohammadi-iran-political- An Iranian Voice for Freedom Carries
2023-06-02   2023-06-03 prisoner.html                               Beyond a Prisons Walls                   By Farnaz Fassihi       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/busines It Hurts So Good Cringe Comedy Goes Viral
2023-06-03   2023-06-03 s/tiktok-cringe-creators-money.html         Online                                   By Kate Ryan            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/03/04/books/r
                        eview/the-farewell-tour-stephanie-
2023-03-04   2023-06-04 clifford.html                               Sunset                                   By Amanda Eyre Ward     TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/03/14/books/r A Body a CoverUp and a Dangerous Quest in
2023-03-14   2023-06-04 eview/christopher-bollen-lost-americans.html Cairo                                   By David Gordon         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/03/14/books/r
2023-03-14   2023-06-04 eview/walking-practice-dolki-min.html        CrashLanded                             By Megan Milks          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/03/15/books/ Literary Destinations Read Your Way
2023-03-15   2023-06-04 miami-florida-books.html                     Through Miami                           By Jonathan Escoffery   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/03/23/books/r
                        eview/the-adventures-of-amina-al-sirafi-
2023-03-23   2023-06-04 shannon-chakraborty.html                     Seafaring                               By Tochi Onyebuchi      TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/04/04/books/r
2023-04-04   2023-06-04 eview/chad-williams-the-wounded-world.html Unfinished Business                       By Matthew Delmont      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/04/06/books/r
                        eview/george-vi-and-elizabeth-sally-bedell-
2023-04-06   2023-06-04 smith.html                                  Royal Wedding                            By Caroline Weber       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/04/11/books/r
                        eview/life-and-other-love-songs-anissa-
2023-04-11   2023-06-04 gray.html                                   How to Mourn                             By Carole V Bell        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/04/11/books/r
2023-04-11   2023-06-04 eview/once-upon-a-prime-sarah-hart.html     Beautiful Expressions                    By Jordan Ellenberg     TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/04/11/books/r
2023-04-11   2023-06-04 eview/the-blazing-world-jonathan-healey.html Plagues and Passion                     By David Cressy         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/04/16/books/
                        my-cousin-maria-schneider-vanessa-
2023-04-16   2023-06-04 schneider.html                               The Aftermath                           By Thessaly La Force    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/04/16/books/r
2023-04-16   2023-06-04 eview/invisibility-gregory-gbur.html         Hidden Power                            By Nathaniel Rich       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/04/17/books/c
2023-04-17   2023-06-04 hita-rivera-memoir.html                      National Treasure                       By Bob Morris           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/04/22/books/l
2023-04-22   2023-06-04 ucinda-williams-memoir.html                  Rearview Mirror                         By Jon Pareles          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/04/22/books/r
2023-04-22   2023-06-04 eview/in-the-orchard-eliza-minot.html        Little Things                           By Jessamine Chan       TX 9-304-143   2023-08-01




                                                                                 Page 5310 of 5793
                        https://www.nytimes.com/2023/04/29/books/r
2023-04-29   2023-06-04 eview/the-half-moon-mary-beth-keane.html Phases                                         By Janice YK Lee            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/04/30/books/r
2023-04-30   2023-06-04 eview/traffic-ben-smith.html               Gold Rush Days                               By Virginia Heffernan       TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/01/books/r
2023-05-01   2023-06-04 eview/his-majestys-airship-s-c-gwynne.html Hot Air                                      By John Lancaster           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/01/books/r
2023-05-01   2023-06-04 eview/justin-cronin-ferryman.html          Brave New World                              By Chelsea Leu              TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/02/books/r
2023-05-02   2023-06-04 eview/homebodies-tembe-denton-hurst.html Do Over                                        By Sarah Thankam Mathews    TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/02/books/t
2023-05-02   2023-06-04 he-story-of-art-without-men-katy-hessel.html New Light                                  By Tiana Reid               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/07/books/t
                        om-hanks-the-making-of-another-major-
2023-05-07   2023-06-04 motion-picture-masterpiece.html              Inside Hollywood                           By Alexandra Jacobs         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/10/books/r
2023-05-10   2023-06-04 eview/emma-cline-the-guest.html              Romance                                    By Liska Jacobs             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/13/books/r
2023-05-13   2023-06-04 eview/bathysphere-book-brad-fox.html         Under the Sea                              By W M Akers                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/16/books/r
2023-05-16   2023-06-04 eview/anne-berest-the-postcard.html          Sender Unknown                             By Julie Orringer           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/article/neil-gaiman-
2023-05-17   2023-06-04 books.html                                   The Essentials Neil Gaiman                 By J D Biersdorfer          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/19/books/i
2023-05-19   2023-06-04 vy-pochoda-sing-her-down.html                Showdown                                   By Alexis Schaitkin         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/20/books/r
2023-05-20   2023-06-04 eview/john-banville-the-lock-up.html         Outsiders Within                           By Dan Fesperman            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/23/books/r
2023-05-23   2023-06-04 eview/wild-things-laura-kay.html             Village People                             By Casey McQuiston          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/23/opinion Tim Scott Would Make a Heckuva VP
2023-05-23   2023-06-04 /tim-scott-scorecard.html                    Candidate                                  By New York Times Opinion   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/24/books/r
2023-05-24   2023-06-04 eview/genealogy-of-a-murder-lisa-belkin.html Broken Branches                              By Robert Kolker          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/25/style/so At Some Bachelorette Parties Its Just a Party
2023-05-25   2023-06-04 lo-bachelorette-trip.html                    of One                                       By Stephanie Cain         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/26/books/n From Subatomic Particles to the Cosmos and
2023-05-26   2023-06-04 ew-audiobooks.html                           Every Bird in Between                        By Sebastian Modak        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/26/books/r To Be Enjoyed in a State of Repose Preferably
2023-05-26   2023-06-04 eview/beach-reads.html                       Near Water                                   By Mary Pols              TX 9-304-143   2023-08-01




                                                                                Page 5311 of 5793
                        https://www.nytimes.com/2023/05/26/books/r
2023-05-26   2023-06-04 eview/new-crime-books.html                 Crime amp Mystery                            By Sarah Weinman                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/26/books/r
2023-05-26   2023-06-04 eview/new-historical-fiction-novels.html   Historical Fiction                           By Alida Becker                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/26/books/r
2023-05-26   2023-06-04 eview/new-horror-books.html                Horror                                       By Danielle Trussoni               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/26/books/r
2023-05-26   2023-06-04 eview/new-romance-novels.html              Romance                                      By Olivia Waite                    TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/26/books/r
2023-05-26   2023-06-04 eview/new-science-fiction-fantasy-books.html Science Fiction and Fantasy                By Amal ElMohtar                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/26/books/r This 50000 Watch Kills Its Wearers by
2023-05-26   2023-06-04 eview/new-thrillers.html                     Slicing Their Wrists                       By Sarah Lyall                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/27/arts/des
2023-05-27   2023-06-04 ign/04judith-joy-ross-arts-leisure.html      Encounters With Ordinary Lives             By Arthur Lubow                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/27/arts/tele
2023-05-27   2023-06-04 vision/lexi-underwood-cruel-summer.html      Lexi Underwood Is Ready to Meditate        By Kathryn Shattuck                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/29/arts/tele
                        vision/succession-matthew-macfadyen-
2023-05-29   2023-06-04 nicholas-braun-tom-and-greg.html             Reflecting on a Succession Bromance        By Alexis Soloski                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/busines
                        s/roxane-gay-work-advice-work-retreat-
2023-05-30   2023-06-04 photos.html                                  Do I Really Have to Be in a Group Photo    By Roxane Gay                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/magazi
2023-05-30   2023-06-04 ne/california-effect.html                    The Long Arm of the Law                    By Conor Dougherty                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/magazi California Builds the Future for Good and
2023-05-30   2023-06-04 ne/california-future.html                    Bad Whats Next                             By Laila Lalami                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/magazi
2023-05-30   2023-06-04 ne/housing-berkeley-yimby-fight.html         Whose Backyard is it Really                By Daniel Duane                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/theater/
2023-05-30   2023-06-04 emilio-sosa-costume-design.html              Broadways HardestWorking Man               By Darryn King                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/theater/
2023-05-30   2023-06-04 lorna-courtney-juliet-broadway-tonys.html    A Long Commute Leads to Stardom            By Elisabeth Vincentelli           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/05/ How 11 Skeptical Biden Voters Feel About   By Patrick Healy Adrian J Rivera
2023-05-30   2023-06-04 30/opinion/biden-voters-focus-group.html     His ReElection Bid                         and Kristen Soltis Anderson        TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/31/magazi
2023-05-31   2023-06-04 ne/ai-start-up-accelerator-san-francisco.html Silicon ValleySreincration                By Yiren Lu                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/magazi
2023-05-31   2023-06-04 ne/california-floods-droughts.html            Between Drought and Deluge                By Brooke Jarvis                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/movies/
2023-05-31   2023-06-04 greta-lee-past-lives.html                     How to Be a Star by Holding Back          By Robert Ito                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/nyregio Nonprofit Agencies Threaten to Evict
2023-05-31   2023-06-04 n/nyc-evictions-supportive-housing.html       Vulnerable Tenants                        By Stefanos Chen                   TX 9-304-143   2023-08-01




                                                                                Page 5312 of 5793
                        https://www.nytimes.com/2023/05/31/realesta
2023-05-31   2023-06-04 te/gardens-animal-communication-sound.html Cultivating the Littlest Voices in Your Terrain By Margaret Roach               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/realesta 900000 Homes in New Hampshire Colorado
2023-05-31   2023-06-04 te/homes-new-hampshire-colorado-dc.html       and the District of Columbia                 By Angela Serratore             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/science
                        /donor-bodies-medical-school-                 Honoring the Body Donors Who Are a
2023-05-31   2023-06-04 appreciation.html                             Medical Students First Patient               By April Rubin                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/style/be
2023-05-31   2023-06-04 rriez-vintage-plus-size.html                  A Vintage Store Thats Curated for Curves     By Anna Grace Lee               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/style/co At the Bar Hemingway in Paris a Clean Dirty
2023-05-31   2023-06-04 lin-field-bar-hemingway-ritz-paris.html       Exit                                         By Dana Thomas                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/style/fa
2023-05-31   2023-06-04 mily-vacation-costs.html                      A Family Travel Plan                         By Philip Galanes               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/magazi
2023-06-01   2023-06-04 ne/fresno-politics-poverty.html               Growing Injustice Growing Dissent            By Mark Arax                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/magazi
2023-06-01   2023-06-04 ne/latino-mall-los-angeles.html               Latinidads Return                            By Hctor Tobar and Deb Leal     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/movies/
                        spider-man-across-the-spider-verse-
2023-06-01   2023-06-04 influences.html                               Inspiration From Other Dimensions            By Carlos Aguilar               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/nyregio In Safe Space Planting the Seeds for an
2023-06-01   2023-06-04 n/alice-austen-house-queer-garden.html        Inclusive Culture                            By Alyson Krueger               TX 9-304-143   2023-08-01
                                                                                                                   By Andrew Schwartz and Aubrey
                        https://www.nytimes.com/2023/06/01/opinion                                                 Trinnaman for The New York
2023-06-01   2023-06-04 /california-water-drought-climate-change.html Californias Snowmelt Is a Beautiful Thing    Times                           TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/01/opinion Men Have Lost Their Way Josh Hawley Has
2023-06-01   2023-06-04 /hawley-reeves-bly-men-mascculinity.html    Some Thoughts                              By Carlos Lozada                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/opinion
2023-06-01   2023-06-04 /verbs-language-instruction.html            Verbs Are Where the Action Is              By John McWhorter                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/realesta
2023-06-01   2023-06-04 te/100-million-homes-beyonce-jay-z.html     Pop Megastars Join a Rarefied Group        By Debra Kamin                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/realesta
2023-06-01   2023-06-04 te/houses-sale-mexico-horses.html           Houses With Horses Are the Draw in Mexico By Sarah Maslin Nir                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/style/dy
2023-06-01   2023-06-04 kes-to-watch-out-for-audible.html           A Lesbian Comic Strip Returns in a New Era By Maggie Lange                     TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/01/style/w
                        hen-the-neighbors-dont-share-your-vision-and-
2023-06-01   2023-06-04 that-vision-involves-transformers-statues.html Not Exactly Pink Yard Flamingos          By Noreen Malone                   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/01/upshot/ Millennials Arent an Exception They Have
2023-06-01   2023-06-04 millennials-polling-politics-republicans.html Moved to the Right                        By Nate Cohn                       TX 9-304-143   2023-08-01




                                                                                  Page 5313 of 5793
                        https://www.nytimes.com/2023/06/01/us/pent Military Halts Drag Events On Bases After
2023-06-01   2023-06-04 agon-drag-show-air-force.html                Criticism                                 By Amanda Holpuch                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/world/e A Boat Full of Spies a Deadly Storm and a   By Elisabetta Povoledo and Ronen
2023-06-01   2023-06-04 urope/spy-deaths-boat-italy.html             Flurry of Theories                        Bergman                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        01/realestate/nyc-apartments-east-harlem-    Heading Uptown With 250000 and Some
2023-06-01   2023-06-04 bronx.html                                   Hope Could They Afford a Coop             By Debra Kamin                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/arts/dan
2023-06-02   2023-06-04 ce/alicia-graf-mack-juilliard.html           Connections Create Great Art              By Brian Seibert                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/arts/mu Cynthia Weil Whose Soaring Lyrics Made
2023-06-02   2023-06-04 sic/cynthia-weil-dead.html                   Baby Boomers Feel Dies at 82              By Alex Williams                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/arts/mu Kaija Saariaho 70 Dies A Trailblazing
2023-06-02   2023-06-04 sic/kaija-saariaho-dead.html                 Composer With an Explorers Spirit         By Joshua Barone                TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/02/books/r
                        eview/calling-the-moon-aida-salazar-yamile-
2023-06-02   2023-06-04 saied-mendez-code-red-joy-mccullough.html Period Fiction                              By Anna Holmes                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/books/r A Biography Sheds Light on an Unknown
2023-06-02   2023-06-04 eview/into-the-amazon-larry-rohter.html     Brazilian Hero                            By Rachel Slade                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/busines                                            By Michael Corkery and Andrea
2023-06-02   2023-06-04 s/dollar-general-ebony-virginia.html        Battling A Store Bucking A Trend          Bruce                            TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/busines The Best Haven in a Storm Even a
2023-06-02   2023-06-04 s/treasuries-safe-debt-crisis.html          Manufactured One                          By Jeff Sommer                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/nyregio
2023-06-02   2023-06-04 n/cuny-law-speech-mohammed.html             Fanning the Embers After a Fiery Speech   By Ginia Bellafante              TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/nyregio
2023-06-02   2023-06-04 n/north-to-shore-festival.html              Could the Next Bonnaroo Be in New Jersey By Tammy La Gorce                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/opinion
2023-06-02   2023-06-04 /ai-coding.html                             Maybe We Dont Need To Learn to Code       By Farhad Manjoo                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/opinion
                        /compulsory-mental-health-care-             Theres a Reason So Many People Quit
2023-06-02   2023-06-04 medication.html                             Antipsychotic Drugs                       By Daniel Bergner                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/opinion In India an Epidemic of Gang Rape Fear and
2023-06-02   2023-06-04 /india-women-rape.html                      Complicity                                By Vidya Krishnan                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/opinion
2023-06-02   2023-06-04 /republicans-safety-net-medicaid.html       The GOPs Obsession With Work              By Jamelle Bouie                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/opinion The Views on The View Have Grown
2023-06-02   2023-06-04 /the-view-television-show.html              Narrower                                  By Megan K Stack                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/realesta
2023-06-02   2023-06-04 te/lady-of-guadalupe-little-spain.html      Little Spain Is All but Gone              By John Freeman Gill             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/realesta
                        te/rupert-murdoch-central-park-             Rupert Murdoch Closes on Another Bachelor
2023-06-02   2023-06-04 apartment.html                              Pad Paying Above List Price               By Vivian Marino                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/realesta
2023-06-02   2023-06-04 te/small-home-maplewood-nj.html             A Little Place Thats Growing on Them      By Julie Lasky                   TX 9-304-143    2023-08-01



                                                                               Page 5314 of 5793
                        https://www.nytimes.com/2023/06/02/realesta A TriBeCa Loft Refuge to an Architect and
2023-06-02   2023-06-04 te/tribeca-loft-sale-rafael-vinoly.html     His Piano Goes on the Market                  By Vivian Marino               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/style/ah
2023-06-02   2023-06-04 mad-maksoud-josef-perou-wedding.html        The Dress Code Was Fly and Gay                By Sadiba Hasan                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/02/style/je
2023-06-02   2023-06-04 ssica-carter-altman-ross-uhrich-wedding.html Love Strikes and the Chicken Stew Smolders By Valeriya Safronova            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/style/ka In a Game of Charades Taking One Clue to
2023-06-02   2023-06-04 tie-schad-adam-purdy-wedding.html            Heart                                      By Rosalie R Radomsky            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/style/m
                        odern-love-sexual-assault-slap-that-changed- Emerging From the Crowd Her Boundaries
2023-06-02   2023-06-04 everything.html                              Intact                                     By Ariella Steinhorn             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/02/style/st For Two Star Debaters Very Little to Argue
2023-06-02   2023-06-04 ephanie-spies-andrew-markoff-wedding.html About                                          By Vivian Ewing                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/style/tre
2023-06-02   2023-06-04 nds-new-york-design-fair.html                EyeTurning Moments by Design                By Aileen Kwun                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/technol Don Bateman 91 Engineer And Pioneer Who
2023-06-02   2023-06-04 ogy/don-bateman-dead.html                    Invented A Cockpit Warning System           By Richard Sandomir             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/us/cath Hundreds of Perpetrators And Thousands of
2023-06-02   2023-06-04 olic-church-sex-abuse-investigations.html    Victims                                     By Ruth Graham                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/us/cop- Crackdown on Cop City Protests Targets Bail
2023-06-02   2023-06-04 city-atlanta-protests.html                   Fund                                        By Rick Rojas and Sean Keenan   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/us/haiti- Man Gets Life in Prison In Killing of Haiti
2023-06-02   2023-06-04 moise-assassination-conspiracy.html          Leader                                      By Chris Cameron                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/arts/mu Works From Her Seductive if Sometimes
2023-06-03   2023-06-04 sic/kaija-saariaho-music-playlist.html       Forbidding World                            By Zachary Woolfe               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/busines Brands Rush to Align With Older TikTok
2023-06-03   2023-06-04 s/older-creators-tiktok-brands.html          Creators                                    By Julie Weed                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/nyregio
2023-06-03   2023-06-04 n/syracuse-interstate-81.html                Heated Debate Over a Highway                By Jim Zarroli                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/opinion My Father Taught Me the Benefits of a Little
2023-06-03   2023-06-04 /homelessness-debt-florida.html              Delusion                                    By Beth Raymer                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/opinion
2023-06-03   2023-06-04 /jackie-kennedy.html                         Jackie on My Mind                           By Maureen Dowd                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/opinion
2023-06-03   2023-06-04 /kevin-mccarthy-house-speaker.html           McCarthy Has a Superpower                   By Ross Douthat                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/opinion
2023-06-03   2023-06-04 /postcard-holocaust.html                     What It Means To Be a Witness               By Sarah Wildman                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/03/opinion
2023-06-03   2023-06-04 /sierra-leone-progress-health-children.html Sierra Leone Is Giving Me Hope                By Nicholas Kristof            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/opinion States Are Stifling the Voices Of Cities and
2023-06-03   2023-06-04 /texas-preemption-bill.html                 Their Voters                                  By The Editorial Board         TX 9-304-143   2023-08-01




                                                                                 Page 5315 of 5793
                        https://www.nytimes.com/2023/06/03/realesta
                        te/our-live-in-super-is-retiring-should-we-hire- Our LiveIn Super Is Retiring Do We Have to
2023-06-03   2023-06-04 another-or-contract-it-out.html                  Hire a New One                               By Andy Newman                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/sports/b Hot Dodgers and Yankees Are Eager for
2023-06-03   2023-06-04 aseball/dodgers-yankees.html                     Whats Next                                   By Scott Miller                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/sports/b
                        asketball/nikola-jokic-denver-nuggets-nba-       Colorado Gives a Full Embrace to Jokic an
2023-06-03   2023-06-04 finals.html                                      Elusive Star                                 By Sopan Deb                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/sports/t Inside the Walls of Court Tennis Its Mostly
2023-06-03   2023-06-04 ennis/french-open-real-court.html                About Mind Games                             By James Hill                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/style/ho                                                   By Chantel Tattoli and Marko
2023-06-03   2023-06-04 rezu-pottery-ceramics-romania.html               Modern Appetites Jostle Traditional Potters Risovic                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/style/su
2023-06-03   2023-06-04 mmer-predictions-branding.html                   What Are You Calling Your Summer             By Callie Holtermann             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/us/polit The White Houses DebtCeiling Strategy Was
2023-06-03   2023-06-04 ics/biden-debt-ceiling-deal.html                 to Win in the Fine Print                     By Jim Tankersley                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/us/polit Tennessee AntiDrag Law Is Ruled
2023-06-03   2023-06-04 ics/tennessee-drag-ruling.html                   Unconstitutional                             By Emily Cochrane                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/us/polit
                        ics/trump-lawyers-classified-documents-          Trump Lawyers Notes Could Be a Key in the By Alan Feuer Ben Protess and
2023-06-03   2023-06-04 corcoran.html                                    Classified Documents Inquiry                 Maggie Haberman                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/world/a                                                    By Chris Buckley Damien Cave
2023-06-03   2023-06-04 sia/china-us-tensions-singapore.html             Patrols Near China Will Go On US Says        and David Pierson                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/world/a Toll Nears 300 In 3Way Crash Of India              By Sameer Yasir Mujib Mashal and
2023-06-03   2023-06-04 sia/india-train-crash.html                       Trains                                       Hari Kumar                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/world/e                                                    By Neil MacFarquhar and Milana
2023-06-03   2023-06-04 urope/russia-schools-military-war.html           A Is for Army In Russia War Is Part of Class Mazaeva                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/world/e Car Bombing in South Shows Reach of                By Thomas GibbonsNeff and
2023-06-03   2023-06-04 urope/ukraine-russia-war-car-bomb.html           Conflict                                     Anatoly Kurmanaev                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/03/world/ Egyptian Officer Kills 3 Israeli Soldiers at
2023-06-03   2023-06-04 middleeast/israel-egypt-border-shootings.html Border but Armies Differ on Details      By Isabel Kershner             TX 9-304-143            2023-08-01
                        https://www.nytimes.com/2023/06/04/arts/mu
2023-06-04   2023-06-04 sic/ian-bostridge-tenor.html                  Musics Fuzzy Boundaries of Identity      By Ian Bostridge               TX 9-304-143            2023-08-01
                        https://www.nytimes.com/2023/06/04/busines
2023-06-04   2023-06-04 s/jeff-zucker-cnn-chris-licht.html            Jeff Zucker Just Wont Let CNN Go Already By Benjamin Mullin             TX 9-304-143            2023-08-01
                        https://www.nytimes.com/2023/06/04/busines Zuckers Now On the Hunt For Investment
2023-06-04   2023-06-04 s/jeff-zucker-redbird-imi.html                Opportunities                            By Benjamin Mullin             TX 9-304-143            2023-08-01
                        https://www.nytimes.com/2023/06/04/insider/
2023-06-04   2023-06-04 from-flowing-water-to-flowing-data.html       From Flowing Water to Flowing Data       By Sarah Diamond               TX 9-304-143            2023-08-01
                        https://www.nytimes.com/2023/06/04/insider/
2023-06-04   2023-06-04 why-we-write-explainers-an-explainer.html How We Write Explainer Articles Explained By Sarah Bahr                     TX 9-304-143            2023-08-01
                        https://www.nytimes.com/2023/06/04/nyregio How One Neighborhood in Brooklyn Policed
2023-06-04   2023-06-04 n/brooklyn-brownsville-no-police.html         Itself for Five Days                     By Maria Cramer and Amir Hamja TX 9-304-143            2023-08-01




                                                                                 Page 5316 of 5793
                        https://www.nytimes.com/2023/06/04/nyregio
2023-06-04   2023-06-04 n/sarah-kaufman.html                       Desk Duty MusicMaking and TikTok             By Alix Strauss                    TX 9-304-143     2023-08-01
                                                                                                                By Peter Baker Michael D Shear
                        https://www.nytimes.com/2023/06/04/us/polit Spry Diplomat With a Stiff Gait Aging       Katie Rogers and Zolan
2023-06-04   2023-06-04 ics/biden-president-age-2024.html                Leaders Complex Reality                KannoYoungs                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/us/state- In Statehouses New Laws Show A Deeper
2023-06-04   2023-06-04 legislatures-opposite-agendas.html               Divide                                     By Mitch Smith                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/world/a For Women in Mauritania Divorce Is Cause By Ruth Maclean and Laura
2023-06-04   2023-06-04 frica/mauritania-divorce-parties.html            for Joy Not Sorrow                         Boushnak                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/world/c                                                  By Norimitsu Onishi and Nasuna
2023-06-04   2023-06-04 anada/canada-military-arctic-climate.html        Relying on Those Who Know the Arctic Best StuartUlin                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/live/2023/06/04/wo
                        rld/india-train-crash/here-is-the-latest-on-the- Toll Nears 300 In 3Way Crash Of India      By Sameer Yasir Mujib Mashal and
2023-06-04   2023-06-04 deadly-train-crash-in-india                      Trains                                     Suhasini Raj                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/27/opinion New Immigrants Are Changing American
2023-05-27   2023-06-05 /american-spanish-language.html                  Spanish                                    By Ilan Stavans                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/arts/dan                                                 By Gia Kourlas and Angelo Silvio
2023-05-30   2023-06-05 ce/subway-dancing.html                           A Subway Platform Is His Dance Stage       Vasta For The New York Times     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/arts/des
2023-06-01   2023-06-05 ign/kirac-michel-houllebecq.html                 True Artists Or Just Trolls                By Nina Siegal                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/arts/mu
                        sic/hipgnosis-documentary-squaring-the-
2023-06-01   2023-06-05 circle.html                                       The Studio That Made Pink Floyds Pig Fly By Mark Yarm                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/theater/ New York Public Library Lands a Theatrical
2023-06-01   2023-06-05 george-c-wolfe-archives.html                     Archive                                    By Julia Jacobs                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/arts/deb
2023-06-02   2023-06-05 orah-levy-august-blue.html                       Author Finds Fun In a Doppelgnger          By Simran Hans                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/arts/mu Redd Holt 91 Funky Drummer on The In
2023-06-02   2023-06-05 sic/redd-holt-dead.html                          Crowd and Other Instrumental Hits          By Alex Traub                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/busines
                        s/economy/turkey-economy-erdogan-                Turkeys Lira Is Cratering As Erdogan Stays
2023-06-02   2023-06-05 inflation.html                                   Course                                     By Patricia Cohen                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/climate How the Debt Limit Deal Addresses Climate By Manuela Andreoni and Brad
2023-06-02   2023-06-05 /permitting-reform-debt-ceiling.html             Goals                                      Plumer                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/dining/
                        miami-heat-nba-finals-flanigans-seafood-bar- Cant Stand the Heat Then Skip These Bars
2023-06-02   2023-06-05 and-grill-florida.html                           During Miami Games                         By Christina Morales             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/technol
2023-06-02   2023-06-05 ogy/ai-photo-editing.html                        How to Use AI to Create Stunning Photos    By Brian X Chen                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/travel/u
2023-06-02   2023-06-05 nited-refundable-tickets-flights.html            United Airlines and Red Tape               By Seth Kugel                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/us/tho Judge Thomas Buergenthal 89 Holocaust
2023-06-02   2023-06-05 mas-buergenthal-dead.html                        Survivor as a Child Dies                   By Sam Roberts                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/busines New Questions About Liability for Artificial By Ephrat Livni Sarah Kessler and
2023-06-03   2023-06-05 s/who-is-liable-for-ai-creations.html            Intelligence Creations                     Ravi Mattu                       TX 9-304-143   2023-08-01



                                                                                 Page 5317 of 5793
                        https://www.nytimes.com/2023/06/03/sports/h
                        ockey/nhl-outdoor-game-new-york-            An NHL Outdoor Doubleheader Is Coming to
2023-06-03   2023-06-05 meadowlands.html                            MetLife Stadium                              By David Waldstein               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/sports/t The 19YearOld Has Some Valuable Lessons
2023-06-03   2023-06-05 ennis/french-open-gauff-andreeva.html       To Give the 16YearOld                        By Matthew Futterman             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/us/polit 5 Takeaways From DeSantiss Barnstorming
2023-06-03   2023-06-05 ics/desantis-campaign-speech.html           Tour of EarlyVoting States                   By Nicholas Nehamas              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/us/polit Lack of Indian Blood Deprives Black Citizens By Chris Cameron and Mark
2023-06-03   2023-06-05 ics/freedmen-mcgirt-ruling-oklahoma.html    of Tribal Justice                            Walker                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/us/trans Texas Law Bans Care For Minors In
2023-06-03   2023-06-05 gender-care-bill-abbott-texas.html          Transition                                   By Jacey Fortin                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/world/a Vigilantes Make Streets in Haiti Calm Yet By Frances Robles and Andre
2023-06-03   2023-06-05 mericas/haiti-crime-gangs-vigilantes.html   Uneasy                                       Paultre                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/world/a
2023-06-03   2023-06-05 sia/rainbow-flags-china-lgbtq.html          Gay Activists Losing Hope In Xis China       By Nicole Hong and Zixu Wang     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/world/e                                               By Valerie Hopkins and Anatoly
2023-06-03   2023-06-05 urope/belgorod-russia-ukraine-war.html      Wars Horrors Eat Into Russian Border Region Kurmanaev                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/us/polit 8 Republican Hopefuls Road Test Their
2023-06-04   2023-06-05 ics/republicans-iowa-voters.html            Appeal With Iowas Split Voters               By Jonathan Weisman              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/arts/dan
2023-06-04   2023-06-05 ce/ballet-hispanico-sor-juana-review.html   Love Unravels a Mexican Enigma               By Brian Seibert                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/arts/mu
2023-06-04   2023-06-05 sic/kaija-saariaho-composer.html            Kaija Saariahos Luminous Legacy              By Susanna Mlkki                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/busines Allstate Stopped Selling New Policies On
2023-06-04   2023-06-05 s/allstate-insurance-california.html        Homes and Condos in California               By Ryan Mac                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/busines
2023-06-04   2023-06-05 s/media/chuck-todd-meet-the-press.html      Todd to Quit Talk Show On NBC                By Benjamin Mullin               TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/04/busines Updating Disney Classics Isnt for the Faint of
2023-06-04   2023-06-05 s/media/disney-sean-bailey-live-action.html Heart                                         By Brooks Barnes                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/04/busines Hollywood Directors Union Reaches Deal
2023-06-04   2023-06-05 s/media/hollywood-directors-guild-deal.html With Studios                              By John Koblin                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/busines
2023-06-04   2023-06-05 s/oil-prices-opec-plus.html                 Output Cut To Halt Slide In Oil Prices    By Stanley Reed                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/health/r Rectal Cancer Patients May No Longer Need
2023-06-04   2023-06-05 ectal-cancer-radiation-treatment.html       To Undergo Radiation                      By Gina Kolata                      TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/04/opinion
2023-06-04   2023-06-05 /ozempic-weight-loss-addictions-desire.html What Ozempic Reveals About Desire           By Maia Szalavitz                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/04/opinion Air Travel Could Become Even More
2023-06-04   2023-06-05 /summer-air-travel-jetblue-spirit-airlines.html Miserable                               By Bill Saporito                  TX 9-304-143   2023-08-01




                                                                                Page 5318 of 5793
                        https://www.nytimes.com/2023/06/04/sports/a
                        utoracing/f1-spanish-grand-prix-tv-time-    With Verstappen Romping a 23 Finish Is a    By Victor Mather Josh Katz and
2023-06-04   2023-06-05 results.html                                Win of Sorts                                Andrew Das                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/sports/b Remembering When Baseball Was His
2023-06-04   2023-06-05 aseball/bill-greason-negro-leagues.html     Calling                                     By Louie Lazar                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/sports/b
2023-06-04   2023-06-05 aseball/mets-hall-of-fame.html              Leaving Their Mark On Mets Honestly         By Tyler Kepner                  TX 9-304-143   2023-08-01
                                                                    Even in Shieldss String of Dominant
                        https://www.nytimes.com/2023/06/04/sports/c Performances the Wins Havent Been
2023-06-04   2023-06-05 laressa-shields-boxing.html                 Knockouts                                   By Morgan Campbell               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/theater/
                        review-in-love-science-a-meet-cute-becomes- When a MeetCute Is Turned Into a Medical
2023-06-04   2023-06-05 a-medical-mystery.html                      Mystery                                     By Naveen Kumar                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/us/mich As a Missouri Man Awaits Execution Some
2023-06-04   2023-06-05 ael-tisius-jurors-death-penalty.html        Jurors Express Regret                       By Julie Bosman                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/us/migr California Officials Investigating Private   By Shawn Hubler Nicholas
2023-06-04   2023-06-05 ants-california-church-texas.html           Flight of 16 Migrants to Sacramento         Nehamas and Emily Cochrane       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/us/polit UN Rebukes US Torture Of Saudi Man At
2023-06-04   2023-06-05 ics/un-guantanamo-torture.html              Cuba Base                                   By Carol Rosenberg               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/world/a                                              By Damien Cave David Pierson and
2023-06-04   2023-06-05 sia/china-us-security-ships.html            China and US Lay Out Rival Visions for Asia Chris Buckley                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/world/a
2023-06-04   2023-06-05 sia/india-rail-money-safety.html            Rail Funding In India Put Upkeep Last       By Alex Travelli                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/world/a Investigators Consider Mechanical and        By Sameer Yasir Mujib Mashal and
2023-06-04   2023-06-05 sia/india-train-crash.html                  Human Error in India Train Disaster         Suhasini Raj                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/world/a Marking the Tiananmen Massacre in a Hong
2023-06-04   2023-06-05 sia/tiananmen-square-massacre-china.html    Kong Stripped of Dissent                    By Tiffany May                   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/04/world/c A Pacifist Sect From Russia Is Shaken by
2023-06-04   2023-06-05 anada/canada-doukhobors-ukraine-war.html War and Modern Life                          By Dan Bilefsky                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/world/e In Poland Crowds Protest Ruling
2023-06-04   2023-06-05 urope/poland-warsaw-protests.html          Conservative Party                         By Andrew Higgins                  TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/04/world/e Explosions Reported in Southern Ukraine as By Matthew Mpoke Bigg Anatoly
2023-06-04   2023-06-05 urope/zelensky-ukraine-counter-attack.html Sides Test Each Others Defenses               Kurmanaev and Vivek Shankar     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/world/ Query Into Attack That Left 3 Israeli Soldiers
2023-06-04   2023-06-05 middleeast/israel-border-attack.html         Dead                                        By Isabel Kershner              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/arts/tele
                        vision/whats-on-tv-burden-of-proof-tony-
2023-06-05   2023-06-05 awards.html                                  This Week on TV                             By Kristen Bayrakdarian         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/opinion
2023-06-05   2023-06-05 /trump-iowa-campaign.html                    Trump Wants to Party Like Its 1776          By Michelle Cottle              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/sports/t A Superstar of French Tennis Returns to His By Matthew Futterman and James
2023-06-05   2023-06-05 ennis/french-open-yannick-noah.html          Stage in a Different Way                    Hill                            TX 9-304-143   2023-08-01




                                                                                Page 5319 of 5793
                        https://www.nytimes.com/article/christie-   GOP Field Balloons 3 More to Hop Into 24
2023-06-05   2023-06-05 pence-burgum-2024-announce-president.html Race                                         By Trip Gabriel             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/article/bird-
2023-05-18   2023-06-06 watching-citizen-science.html               Birding With a Mission                     By The New York Times       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/26/well/liv Ways to Give Your Feet A Break This
2023-05-26   2023-06-06 e/feet-health-summer.html                   Summer                                     By Jancee Dunn              TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/26/well/mi
2023-05-26   2023-06-06 nd/ketamine-ect-treatment-depression.html  Ketamine Is Promising In Depression Study   By Christina Caron          TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/26/well/m For a Better Workout Try Tricking Your
2023-05-26   2023-06-06 ove/exercise-workout-motivation-brain.html Brain                                       By Connie Chang             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/well/liv
2023-05-30   2023-06-06 e/water-filter-bacteria-pfas.html            How Much Can a Water Filter Do            By Dana G Smith             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/well/mi
                        nd/binge-eating-disorder-symptoms-           A Most Common Yet Little Understood
2023-05-31   2023-06-06 treatment.html                               Disorder                                  By Dani Blum                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/arts/bill-New Lawsuit Accuses Cosby Of Sexual
2023-06-01   2023-06-06 cosby-lawsuit-sexual-assault.html            Assault in 1969                           By Graham Bowley            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/climate An Avian Murder Case on a Quiet Back
2023-06-02   2023-06-06 /bird-nest-sparrows.html                     Porch                                     By Daryln Brewer Hoffstot   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/science
2023-06-02   2023-06-06 /birds-birdwatching-outdoors.html            Theyre So Fun to Watch                    By Camille Baker            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/movies/
2023-06-03   2023-06-06 christian-petzold-germany-tribeca.html       Christian Petzold makes German films      By AJ Goldmann              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/movies/
2023-06-03   2023-06-06 documentaries-years-tribeca.html             The mixed blessings of the long view      By Nicolas Rapold           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/movies/
2023-06-03   2023-06-06 maestra-women-conductors-tribeca.html        Shining a light on female conductors      By Farah Nayeri             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/movies/
2023-06-03   2023-06-06 new-york-city-movies-tribeca.html            Movies that capture New York              By Mekado Murphy            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/movies/
2023-06-03   2023-06-06 rock-hudson-tribeca-festival.html            A movie star from a different era         By David Belcher            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/movies/ This year more women are in the directors
2023-06-03   2023-06-06 women-directors-tribeca-festival.html        chair                                     By Ray Mark Rinaldi         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/science
2023-06-03   2023-06-06 /bird-flight-evolution.html                  Charting the Long Countdown to Takeoff    By Carl Zimmer              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/arts/des
2023-06-04   2023-06-06 ign/benin-bronzes-nigeria-ownership.html     Art Restitution Gets a Curveball          By Alex Marshall            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/books/r
2023-06-04   2023-06-06 eview-lucky-dogs-helen-schulman.html         The Spy the Actress and Sexual Politics   By Alexandra Jacobs         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/busines Wall Street Takes a Dim View of French
2023-06-04   2023-06-06 s/france-fitch-debt-rating.html              Finances as Pressures on Macron Mount     By Liz Alderman             TX 9-304-143   2023-08-01




                                                                                Page 5320 of 5793
                        https://www.nytimes.com/2023/06/04/health/ Bird Flu Research Can Be a Day at an Icky
2023-06-04   2023-06-06 birds-flu-h5n1.html                             Beach                                     By Emily Anthes                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/sports/t
2023-06-04   2023-06-06 ennis/french-open-alcaraz-djokovic.html         A Showdown Long Awaited Is Nearly Here By Matthew Futterman                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/us/oreg A Breakdown in a Year of Feuding
2023-06-04   2023-06-06 on-legislature-republican-walkout.html          Legislatures                              By Mike Baker                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/us/utah- In Utah Scriptures and Sarcasm Enter The
2023-06-04   2023-06-06 bible-book-ban.html                             Debate Over What Books to Outlaw          By Jacey Fortin                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/sports/b
                        aseball/roger-craig-teacher-of-an-era-defining- Roger Craig 93 World Series Champion And
2023-06-05   2023-06-06 pitch-is-dead-at-93.html                        Guru of Pitch That Defined the 80s        By Richard Goldstein               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/world/a Woman Convicted in Four Childrens Deaths
2023-06-05   2023-06-06 ustralia/kathleen-folbigg-pardon.html           Is Freed                                  By Yan Zhuang                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/arts/dia Persuading Gamers To Slay Monsters In Hell
2023-06-05   2023-06-06 blo-iv-blizzard-forever-game.html               Forever                                   By Brian X Chen                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/arts/mu
2023-06-05   2023-06-06 sic/jenny-lewis-joyall.html                     Jenny Lewis Keeps Finding the Magic       By Melena Ryzik                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/arts/mu
                        sic/new-jersey-symphony-classical-
2023-06-05   2023-06-06 music.html                                      For a Big Birthday Celebrating At Home    By Zachary Woolfe                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/arts/mu
                        sic/taylor-swift-no-1-morgan-wallen-            Morgan Wallen Streak Ends As Taylor Swift
2023-06-05   2023-06-06 billboard.html                                  Tops Charts                               By Ben Sisario                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/books/a Ama Ata Aidoo 81 Ghanaian Writer On
2023-06-05   2023-06-06 ma-ata-aidoo-dead.html                          Struggles and Strength of Women           By Alex Williams                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/busines                                                By John Koblin and Benjamin
2023-06-05   2023-06-06 s/media/chris-licht-cnn-crisis.html             CNN Chief Faces Crisis And Turmoil        Mullin                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/busines
2023-06-05   2023-06-06 s/media/gannett-journalists-walk-out.html       Hundreds of Gannett Journalists Walk Out  By Katie Robertson                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/busines                                                By Matthew Goldstein Emily Flitter
2023-06-05   2023-06-06 s/sec-binance-charges.html                      SECs Suit Jolts World of Crypto           and David YaffeBellany             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/busines
2023-06-05   2023-06-06 s/stocks-bull-market.html                       Bear Market Nears an End As Bulls Lurk    By Joe Rennison                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/climate                                                By Catrin Einhorn and Bryan
2023-06-05   2023-06-06 /american-kestrel.html                          Somethings Happening to American Kestrels Anselm                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/dining/ Andrew Bellucci 59 Pizza Prophet Derailed
2023-06-05   2023-06-06 andrew-bellucci-dead.html                       By Criminal Past Dies                     By Pete Wells                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/nyregio
                        n/chris-christie-donald-trump-2024-new-         New Jersey Ponders Christies Chances as
2023-06-05   2023-06-06 jersey.html                                     2024 Trump Slayer                         By Tracey Tully                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/nyregio Fare Evasion Has MTA Rethinking
2023-06-05   2023-06-06 n/mta-fare-evasion.html                         Enforcement                               By Ana Ley                         TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/05/nyregio NYPD AntiCrime Units Still Stopping People
2023-06-05   2023-06-06 n/nypd-anti-crime-units-training-tactics.html Illegally Report Shows                  By Corey Kilgannon                   TX 9-304-143     2023-08-01



                                                                                 Page 5321 of 5793
                        https://www.nytimes.com/2023/06/05/nyregio New York State Trooper Is Charged in Killing
2023-06-05   2023-06-06 n/trooper-charged-james-huber-killing.html in Buffalo of Unarmed Man After a Chase      By Ed Shanahan                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/opinion
2023-06-05   2023-06-06 /biden-trump-desantis-irs.html             Blessings to You Chris Christie              By Gail Collins and Bret Stephens   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/opinion
2023-06-05   2023-06-06 /employment-exploitation-unions.html       Loving a Job Doesnt Pay the Bills            By Simone Stolzoff                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/opinion
2023-06-05   2023-06-06 /the-idol-hbo-show-backlash.html           The First Big TV Show of the Backlash Era By Michelle Goldberg                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/opinion The Eyes of the World Are Upon Ukraines
2023-06-05   2023-06-06 /ukraine-war-d-day.html                    Armed Forces                                 By Paul Krugman                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/science
                        /ancient-humans-homo-naledi-buried-        Ancient Relatives Of Humans Buried Dead
2023-06-05   2023-06-06 dead.html                                  Theory Says                                  By Carl Zimmer                      TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/05/sports/b Stars Injured Toe May Test Yanks
2023-06-05   2023-06-06 aseball/aaron-judge-yankees-injured-list.html AllHandsonDeck Success                    By Scott Miller                     TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/05/sports/b Finally Making 3s Gave Heat More Than an
2023-06-05   2023-06-06 asketball/heat-nuggets-playoffs-game-2.html Outside Chance                              By Sopan Deb                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/sports/t Aiming for the Top and to Pull Up His
2023-06-05   2023-06-06 ennis/french-open-tsitsipas-murray.html     Brother                                     By Matthew Futterman                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/05/technol Apples 3500 Headset Mixes Real With
2023-06-05   2023-06-06 ogy/apple-headset-virtual-reality-wwdc.html Virtual                                     By Kellen Browning                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/technol
2023-06-05   2023-06-06 ogy/twitter-ad-sales-musk.html              Musk Era Has Ravaged Twitter Ads            By Ryan Mac and Tiffany Hsu         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/us/iowa-All 3 Men Missing in Collapse of Iowa
2023-06-05   2023-06-06 building-collapse-missing.html              Building Are Found Dead Officials Say       By Mitch Smith                 TX 9-304-143        2023-08-01
                        https://www.nytimes.com/2023/06/05/us/migr Second Chartered Plane Carrying Latin        By Shawn Hubler Edgar Sandoval
2023-06-05   2023-06-06 ants-plane-sacramento-california.html       American Migrants Arrives in Sacramento     and Nicholas Nehamas           TX 9-304-143        2023-08-01

                        https://www.nytimes.com/2023/06/05/us/miss Missouri Says Execution Will Proceed After
2023-06-05   2023-06-06 ouri-governor-execution-michael-tisius.html Jurors Waver on Death Sentence               By Julie Bosman                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/us/okla
                        homa-first-religious-charter-school-in-the- Charter School Based on Faith Is Approved In
2023-06-05   2023-06-06 us.html                                     Oklahoma                                     By Sarah Mervosh                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/us/polit Biden Invites US Allies To Washington for
2023-06-05   2023-06-06 ics/biden-ukraine-denmark.html              Talks On Giving Aid to Kyiv                  By Katie Rogers                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/us/polit
                        ics/chris-sununu-wont-run-president-        New Hampshires Republican Governor Says
2023-06-05   2023-06-06 2024.html                                   He Wont Run for President                    By Maggie Astor                    TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/05/us/polit
2023-06-05   2023-06-06 ics/cornel-west-2024-candidate-president.html West Announces ThirdParty Presidential Bid By Maggie Astor                    TX 9-304-143   2023-08-01



                                                                                Page 5322 of 5793
                        https://www.nytimes.com/2023/06/05/us/polit GOP in Escalation Vows to Hold Director Of By Luke Broadwater and Adam
2023-06-05   2023-06-06 ics/house-republicans-fbi-wray-contempt.html FBI in Contempt                           Goldman                          TX 9-304-143       2023-08-01
                        https://www.nytimes.com/2023/06/05/us/polit Pence Files Paperwork To Seek the
2023-06-05   2023-06-06 ics/pence-2024-president-candidate.html      Presidency                                By Maggie Haberman               TX 9-304-143       2023-08-01
                        https://www.nytimes.com/2023/06/05/us/polit In Chat With Musk Kennedy Pushes           By Reid J Epstein Alyce McFadden
2023-06-05   2023-06-06 ics/robert-f-kennedy-jr-twitter-2024.html    RightWing Ideas and Misinformation        and Linda Qiu                    TX 9-304-143       2023-08-01
                        https://www.nytimes.com/2023/06/05/us/polit Blinken to Talk to Saudi Arabia About
2023-06-05   2023-06-06 ics/saudi-arabia-israel-biden.html           Normalizing the Kingdoms Ties to Israel   By Edward Wong                   TX 9-304-143       2023-08-01

                        https://www.nytimes.com/2023/06/05/us/polit Schools Get Mixed Grades for Use of Covid
2023-06-05   2023-06-06 ics/schools-stimulus-covid-pandemic-aid.html Aid                                          By Madeleine Ngo                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/us/polit Scott Defends Racial Views In Interview On
2023-06-05   2023-06-06 ics/tim-scott-racism-the-view.html           The View                                     By Jonathan Weisman               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/us/polit
                        ics/trump-justice-dept-classified-                                                        By Alan Feuer Maggie Haberman
2023-06-05   2023-06-06 documents.html                               Trumps Lawyers Meet With the Justice Dept Glenn Thrush and Jonathan Swan TX 9-304-143         2023-08-01
                        https://www.nytimes.com/2023/06/05/us/polit Justices Agree To Hear Case With Trump In
2023-06-05   2023-06-06 ics/trump-too-small-supreme-court.html       Trademark                                    By Adam Liptak                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/us/polit War Crossing Border No Longer Worries         By Helene Cooper Eric Schmitt and
2023-06-05   2023-06-06 ics/ukraine-attacks-inside-russia.html       Administration                               Julian E Barnes                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/us/robe Robert Hanssen Double Agent Who Sold
2023-06-05   2023-06-06 rt-hanssen-spy-dead.html                     Secrets to Moscow Dies at 79                 By Peter Baker                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/world/a Scores of Afghan Schoolgirls Poisoned          By Christina Goldbaum and Najim
2023-06-05   2023-06-06 sia/afghanistan-girls-school-poison.html     Officials Suspect                            Rahim                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/world/a In Rare Media Victory Hong Kong Overturns
2023-06-05   2023-06-06 sia/hong-kong-bao-choy-appeal.html           Conviction of Reporter                       By Tiffany May                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/world/a In India Train Service Is Restored to the Rail By Hari Kumar Isabella Kwai and
2023-06-05   2023-06-06 sia/india-train-crash.html                   Station at the Site of a Deadly Crash        Sameer Yasir                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/world/a New Zealand Grants Ardern Its 2nd Highest
2023-06-05   2023-06-06 sia/jacinda-ardern-dame-new-zealand.html     Honor Dame                                   By Natasha Frost                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/world/e Kyiv Walks Fine Line As Fighters Embrace
2023-06-05   2023-06-06 urope/nazi-symbols-ukraine.html              Use of Nazi Symbols                          By Thomas GibbonsNeff             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/world/e ForProfit College in UK Made Millions by
2023-06-05   2023-06-06 urope/oxford-business-college.html           Promising Students Money                     By Emma Bubola                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/world/e
                        urope/poland-eu-rule-of-law-judicial-        FlareUp Over Judicial Overhaul in Poland
2023-06-05   2023-06-06 overhaul.html                                Reignites Feud With European Union           By Andrew Higgins                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/world/e                                                By Andrew E Kramer Thomas
                        urope/ukraine-war-counteroffensive-          US Officials Detect Signs Of Kyivs           GibbonsNeff Julian E Barnes and
2023-06-05   2023-06-06 russia.html                                  Counteroffensive                             Eric Schmitt                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/world/                                                 By Raja Abdulrahim and Hwaida
2023-06-05   2023-06-06 middleeast/syria-refugees-assad.html         Going Home to Syria Isnt an Option           Saad                              TX 9-304-143   2023-08-01




                                                                                Page 5323 of 5793
                                                                      Trump Asks Judge to Stop Carrolls
                        https://www.nytimes.com/2023/06/05/nyregio Defamation Case Based on Jurys Verdict on
2023-06-06   2023-06-06 n/trump-e-jean-carroll-defamation-case.html Assault                                    By Benjamin Weiser            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/theater/ Two Addicted Souls Adrift in an Ocean of
2023-06-06   2023-06-06 days-of-wine-and-roses-review.html            Booze                                    By Laura CollinsHughes        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/theater/
2023-06-06   2023-06-06 the-comeuppance-review.html                   A Bigger Even Chillier Big Chill         By Jesse Green                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/busines
                        s/media/eric-spofford-new-hampshire-public- Broken Windows Lawsuits And a Journalists
2023-06-06   2023-06-06 radio.html                                    Ordeal                                   By David Enrich               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/insider/
                        another-debt-limit-fight-in-the-halls-of-the-
2023-06-06   2023-06-06 capitol.html                                  A 12000Step Tango With Debt Default      By Carl Hulse                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/nyregio Roadblocks Piling Up For Cannabis Retailers
2023-06-06   2023-06-06 n/ny-marijuana-failing-rollout.html           Prioritized by New York                  By Ashley Southall            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/science
2023-06-06   2023-06-06 /ancient-egypt-birds.html                     In Ancient Egypt Plumages Preserved      By Franz Lidz                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/science
2023-06-06   2023-06-06 /birdsong-music.html                          Birds Sing but Are They Making Music     By Marlowe Starling           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/sports/t
2023-06-06   2023-06-06 ennis/losers.html                             In Their Failures We Relate to Ours      By Kurt Streeter              TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/06/world/e DDays Renowned Beaches Face a New
2023-06-06   2023-06-06 urope/d-days-beaches-climate-change.html   Onslaught Rising Sea Levels                   By Catherine Porter         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/world/e Longtime Target of the Tabloids Is Getting    By Mark Landler and Megan
2023-06-06   2023-06-06 urope/prince-harry-hacking-lawsuit.html    His Day in Court                              Specia                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/article/new-york-
2023-06-06   2023-06-06 city-birding.html                          Where to Look For the Birds                   By Dodai Stewart            TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/31/busines
2023-05-31   2023-06-07 s/co-working-spaces-corporate-workers.html Is This the Future of CoWorking               By Roy Furchgott            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/31/dining/r
2023-05-31   2023-06-07 hubarb-roasted-salmon-recipe.html           A SweetTart Salmon Ready in No Time          By Melissa Clark            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/dining/
                        how-to-grill-chicken-salmon-pork-chops-
2023-06-02   2023-06-07 steak.html                                  Put the Grill in Heavy Rotation              By Steven Raichlen          TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/02/dining/l
2023-06-02   2023-06-07 os-angeles-pop-up-market-filipino-food.html Filipino Vendors Conjure Up a Dining Oasis   By Tejal Rao                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/obituari Peter Simonischek 76 Actor With a Hulking
2023-06-04   2023-06-07 es/peter-simonischek-dead.html              Grandeur                                     By Penelope Green           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/opinion There Are Better Ways to Solve a Housing
2023-06-04   2023-06-07 /new-york-housing-migrants.html             Crisis                                       By Mara Gay                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/04/technol
2023-06-04   2023-06-07 ogy/voting-machines-election-deniers.html   Conspiracy No Concern Over Voting            By Stuart A Thompson        TX 9-304-143   2023-08-01



                                                                                Page 5324 of 5793
                        https://www.nytimes.com/2023/06/05/arts/des Just Where Were You Hanging Out Late With
2023-06-05   2023-06-07 ign/vermeer-rijksmuseum-exhibition.html     Vermeer                                   By Nina Siegal                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/books/a
                        ni-kayode-somtochukwu-and-then-he-sang-a-
2023-06-05   2023-06-07 lullaby.html                                From Poor in Nigeria To the Global Stage  By Elizabeth A Harris          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/dining/
2023-06-05   2023-06-07 drinks/wine-cultural-identity.html          Autocrats and the Culture of Wine         By Eric Asimov                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/dining/ Gay Riot at a Doughnut Shop A Legend Has
2023-06-05   2023-06-07 gay-riot-los-angeles-doughnut-shop.html     Holes                                     By Erik Piepenburg             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/05/opinion
2023-06-05   2023-06-07 /debt-ceiling-economy-cost-taxpayers.html  Everyone Will Pay for the Debt Standoff    By Betsey Stevenson            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/upshot/ Wave of Laws Regulating Life For Young
2023-06-05   2023-06-07 trans-laws-republicans-states.html         Transgender People                         By Francesca Paris             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/05/us/davi Revered for His Compassion He Met a
2023-06-05   2023-06-07 d-breaux-stabbing-compassion-california.html Sudden Cruel End                         By Corina Knoll                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/05/busines Actors Vote to Authorize Strike While
2023-06-06   2023-06-07 s/media/hollywood-actors-strike-vote.html   Writers Continue Picketing                   By Nicole Sperling          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/arts/dan
                        ce/review-yoshiko-chuma-shockwave-
2023-06-06   2023-06-07 delay.html                                  Nodding to the Past But Hurtling Forward     By Siobhan Burke            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/arts/fra Franoise Gilot Artist Who Shone Despite
2023-06-06   2023-06-07 ncoise-gilot-dead.html                      Picassos Shadow Dies at 101                  By Alan Riding              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/arts/mu
2023-06-06   2023-06-07 seum-directors-challenges.html              Leading A Museum Isnt Only About Art         By Robin Pogrebin           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/arts/mu Astrud Gilberto Gently Swaying Voice On
2023-06-06   2023-06-07 sic/astrud-gilberto-dead.html               Girl From Ipanema Is Dead at 83              By Jim Farber               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/arts/mu 6 Essential Tracks by a Brazilian Singer With
2023-06-06   2023-06-07 sic/astrud-gilberto-playlist.html           a Wistful Resonance                          By Jon Pareles              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/arts/mu
                        sic/john-mellencamp-orpheus-
2023-06-06   2023-06-07 descending.html                             Where Theres Smoke Theres Mellencamp         By Rob Tannenbaum           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/arts/mu
2023-06-06   2023-06-07 sic/new-york-philharmonic-geffen-hall.html Wresting the Best From Geffen Hall            By Zachary Woolfe           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/busines
                        s/dealbook/sequoia-capital-split-china-     Sequoia Makes China and India Units
2023-06-06   2023-06-07 india.html                                  Independent                                  By Lauren Hirsch            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/busines World Bank Is Projecting Slow Growth
2023-06-06   2023-06-07 s/economy/world-bank-projections.html       Across Globe                                 By Alan Rappeport           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/busines Carlson Puts 1st Episode Of New Show On By Katie Robertson and Jeremy W
2023-06-06   2023-06-07 s/media/tucker-carlson-twitter-show.html    Twitter                                      Peters                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/busines Merck Sues the Government Over Negotiable
2023-06-06   2023-06-07 s/merck-medicare-drug-prices.html           Drug Prices                                  By Rebecca Robbins          TX 9-304-143   2023-08-01



                                                                               Page 5325 of 5793
                        https://www.nytimes.com/2023/06/06/busines                                           By Matthew Goldstein Ephrat Livni
2023-06-06   2023-06-07 s/sec-coinbase-lawsuit-cryptocurrency.html SEC Sues Coinbase Keeping Heat On Crypto and Emily Flitter                  TX 9-304-143          2023-08-01
                        https://www.nytimes.com/2023/06/06/climate Arctic May Lose Nearly All Summer Sea Ice
2023-06-06   2023-06-07 /arctic-sea-ice-melting.html               as Early as 2030s                         By Raymond Zhong                  TX 9-304-143          2023-08-01

                        https://www.nytimes.com/2023/06/06/dining/f
2023-06-06   2023-06-07 oul-witch-restaurant-review-east-village.html A Thrilling Italian Spirit in the East Village By Pete Wells                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/dining/ Casa Lever in the Lever House on Park
2023-06-06   2023-06-07 nyc-restaurant-news.html                      Avenue Gets a Refresh                          By Florence Fabricant            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/dining/t
                        hese-hotel-restaurants-dont-only-cater-to-
2023-06-06   2023-06-07 tourists.html                                 The Boutique Hotel Restaurant Steps It Up      By Becky Hughes                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/movies/ Pride Month Is Honored At the Tribeca
2023-06-06   2023-06-07 tribeca-festival-movies-lgbtq-pride.html      Festival                                       By Kyle Turner                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/nyregio Actor Settles Lawsuit That Accused Him of
2023-06-06   2023-06-07 n/cuba-gooding-jr-rape-trial.html             Rape to Avoid Standing Trial                   By Colin Moynihan                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/nyregio Santos Loses Court Ruling On Identifying          By Nicholas Fandos and Grace
2023-06-06   2023-06-07 n/george-santos-bail.html                     Guarantors                                     Ashford                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/nyregio 316 Cases Tied to Convicted NYPD Officers
2023-06-06   2023-06-07 n/nypd-cases-nyc.html                         Are Tossed                                     By Hurubie Meko                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/opinion Do Republican States Really Care About
2023-06-06   2023-06-07 /republican-voter-fraud-eric.html             Election Integrity                             By Jesse Wegman                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/opinion
2023-06-06   2023-06-07 /ukraine-russia-war-end.html                  Envisioning an Endgame for Ukraine             By Bret Stephens                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/sports/s
                        occer/karim-benzema-saudi-arabai-al-          Fixture at Real Madrid Becomes The Latest By Tariq Panja Ahmed Al Omran
2023-06-06   2023-06-07 ittihad.html                                  Saudi Sports Prize                             and Andrew Das                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/sports/t Tension Overshadows the Tennis Between
2023-06-06   2023-06-07 ennis/french-open-sabalenka-ukraine.html      Sabalenka and Svitolina                        By Matthew Futterman             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/technol Why I Cant Bet Against Apples MixedReality
2023-06-06   2023-06-07 ogy/apple-mixed-reality-vision-pro.html       Prowess                                        By Kevin Roose                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/technol
                        ogy/personaltech/apple-vision-pro-headset-
2023-06-06   2023-06-07 try.html                                      Would You Spend 3500 On This                   By Brian X Chen                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/theater/
                        miriam-silverman-sign-in-sidney-brusteins-
2023-06-06   2023-06-07 window.html                                   An Actress Unafraid Of the Dark                By Rachel Sherman                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/atlan Atlanta Approves New Training Center After
2023-06-06   2023-06-07 ta-cop-city-funding-vote.html                 16Hour Council Meeting                         By Sean Keenan and Rick Rojas    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/cana                                                   By Jesus Jimnez Derrick Bryson
2023-06-06   2023-06-07 da-wildfires-us-smoke-air-quality.html        Canada Fires Darken Skies Around US            Taylor and Judson Jones          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/colu                                                   By Stephanie Saul and Anemona
2023-06-06   2023-06-07 mbia-university-us-news-rankings.html         Columbia Opts Out Of Rankings                  Hartocollis                      TX 9-304-143   2023-08-01




                                                                                  Page 5326 of 5793
                        https://www.nytimes.com/2023/06/06/us/flori Dispute Takes Deadly Turn With Gunshot
2023-06-06   2023-06-07 da-mother-shooting-stand-your-ground.html Through Door                                    By Christine Hauser               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/flori Judge Agrees With Families On Florida Ban By Rick Rojas and Azeen
2023-06-06   2023-06-07 da-transgender-health-care-ban.html         Of Gender Care                                Ghorayshi                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/migr Prosecuting Transporters Of Migrants on
2023-06-06   2023-06-07 ants-desantis-legal.html                    Flights May Prove Challenging                 By Edgar Sandoval                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/polit
                        ics/chris-christie-2024-presidential-       Christie Begins His 2nd Presidential          By Trip Gabriel and Maggie
2023-06-06   2023-06-07 candidate.html                              Campaign                                      Haberman                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/polit In It to Win It Maybe But Certainly to Defeat
2023-06-06   2023-06-07 ics/chris-christie-donald-trump-2024.html   A Former Ally Trump                           By Shane Goldmacher               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/polit Florida Confirms Arranging the Relocation of By Nicholas Nehamas and Shawn
2023-06-06   2023-06-07 ics/desantis-florida-migrant-flights.html   Migrants to California                        Hubler                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/polit Man Convicted of a Nonviolent Crime Can
2023-06-06   2023-06-07 ics/gun-law-nonviolent-crime-court.html     Own a Firearm an Appeals Court Rules          By Glenn Thrush                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/polit
                        ics/houston-environmental-racism-justice-   Justice Dept Reaches Cleanup Deal With
2023-06-06   2023-06-07 dept.html                                   Houston After Civil Rights Investigation      By Glenn Thrush                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/polit
                        ics/mark-meadows-testified-trump-grand-      Chief of Staff For Trump Has Testified To    By Jonathan Swan Michael S
2023-06-06   2023-06-07 jury.html                                   Grand Jury                                    Schmidt and Maggie Haberman       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/polit                                               By Karoun Demirjian Annie Karni
2023-06-06   2023-06-07 ics/mccarthy-republicans.html               Right Grinds House to Halt Over Debt Deal and Kate Kelly                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/polit
                        ics/nord-stream-pipeline-attack-            US Agencies Were Warned Of Kyiv Raid On
2023-06-06   2023-06-07 intelligence.html                           Pipeline                                      By Julian E Barnes                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/06/us/polit Seeking to Do What No Vice President Has
2023-06-06   2023-06-07 ics/pence-trump-presidential-campaign.html Ever Done                                    By Peter Baker                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/polit Grand Jury in Florida Has Role in Documents By Alan Feuer Maggie Haberman
2023-06-06   2023-06-07 ics/trump-florida-grand-jury.html           Case                                        and Ben Protess                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/polit Trumps Stand to Gain From Golf Tours
2023-06-06   2023-06-07 ics/trump-liv-golf-saudi-arabia.html        Merger                                      By Eric Lipton                      TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/06/world/a Bolsonaro to Face Trial Over Vote Fraud
2023-06-06   2023-06-07 mericas/bolsonaro-trial-brazil-election.html Claims                                     By Jack Nicas                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/world/e After Months of Outrage Demonstrations
2023-06-06   2023-06-07 urope/france-pension-plan-protests.html      Wane Over French Pension Reform            By Constant Mheut                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/world/e Long a Target Harry Takes On Tabloids in     By Mark Landler and Megan
2023-06-06   2023-06-07 urope/prince-harry-court-testimony.html      Court                                      Specia                              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/world/e During a Royal Fight the Tabloids Have
2023-06-06   2023-06-07 urope/uk-media-prince-harry-hacking.html     Changed Some of Their Ways                 By Stephen Castle                   TX 9-304-143   2023-08-01




                                                                                Page 5327 of 5793
                                                                                                                  By Andrew E Kramer Marc Santora
                        https://www.nytimes.com/2023/06/06/world/e Destroyed Dam Thrusts Ukraine Into New         Haley Willis and Thomas
2023-06-06   2023-06-07 urope/ukraine-dam-destroyed-flood.html      Crisis                                        GibbonsNeff                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/world/e Downstream Taking Flight As the Water          By Marc Santora and Evelina
2023-06-06   2023-06-07 urope/ukraine-dam-witnesses.html            Keeps Rising                                  Riabenko                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/world/e Internal Explosion Most Likely Breached        By James Glanz Marc Santora and
2023-06-06   2023-06-07 urope/ukraine-kakhovka-dam-russia.html      Dam Experts Say                               Richard PrezPea                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/sports/g
2023-06-07   2023-06-07 olf/pga-tour-liv-merger-saudi-arabia.html   Golf Gets Jolt As Rival Tours Form Alliance   By Alan Blinder                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/06/theater/ A VodkaSpiked Horror Show With Space
2023-06-07   2023-06-07 wet-brain-review.html                       Aliens in the Mix                             By Laura CollinsHughes         TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/07/insider/
2023-06-07   2023-06-07 a-crackdown-on-gay-rights-is-codified.html A Crackdown on Gay Rights Is Codified          By Terence McGinley            TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/07/sports/b Want Leadership The Heat and the Nuggets
2023-06-07   2023-06-07 asketball/leadership-finals-butler-jokic.html Provide Different Styles                     By Tania Ganguli              TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/07/sports/c
                        arl-lewis-houston-coach-ncaa-track-           Lewis a NineTime Gold Medalist Has a Big
2023-06-07   2023-06-07 championships.html                            Goal Where It All Began                      By Kris Rhim                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/05/31/style/te
2023-05-31   2023-06-08 d-lasso-masculinity.html                      Ted Lasso and the Appeal of Soft Masculinity By Elamin Abdelmahmoud        TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/01/t-
2023-06-01   2023-06-08 magazine/pork-ham-restaurants.html            People Places Things                         By Ella Quittner              TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/02/style/m Very Smart Very Rich And Getting Very
2023-06-02   2023-06-08 ark-zuckerberg-workout.html                   Tough                                        By Joseph Bernstein           TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/05/sports/o Jim Hines 76 Olympian Was First to Sprint
2023-06-05   2023-06-08 lympics/jim-hines-dead.html                   100 Meters in Under 10 Seconds               By Daniel E Slotnik           TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/05/t-
                        magazine/perfume-desert-southwest-
2023-06-05   2023-06-08 fragrance.html                                The Scent of Desert Solitaire                By Caitie Kelly               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/06/arts/mu
                        sic/apollo-theater-new-president-michelle-    Apollo Theater Names Michelle Ebanks Its
2023-06-06   2023-06-08 ebanks.html                                   Chief                                        By Sarah Bahr                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/06/arts/mu
                        sic/lincoln-center-renovation-plan-western- Lincoln Center Plans a Major Remake on Its
2023-06-06   2023-06-08 edge.html                                     West Edge                                    By Javier C Hernndez          TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/06/health/r
2023-06-06   2023-06-08 onnie-cummins-dead.html                       Ronnie Cummins 76 Organic Food Activist By Richard Sandomir                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/06/style/ap
2023-06-06   2023-06-08 ple-vision-pro-vr-headset.html                Envision What You Might Look Like            By Vanessa Friedman           TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/06/style/cr
2023-06-06   2023-06-08 uise-shows-chanel-dior-louis-vuitton.html     These Put the Show in Fashion Show           By Vanessa Friedman           TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/06/style/s
2023-06-06   2023-06-08 mall-fires-rebecca-may-johnson.html           A Writer Who Aims to Blow Up the Kitchen By Maggie Lange                   TX 9-304-143    2023-08-01



                                                                                Page 5328 of 5793
                        https://www.nytimes.com/2023/06/06/style/th
2023-06-06   2023-06-08 e-idol-jennie-blackpink.html                On The Idol She Steals the Show             By Wilson Wong                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/theater/
2023-06-06   2023-06-08 review-being-mr-wickham.html                Up Onstage a Spinoff Of Pride and Prejudice By Rhoda Feng                      TX 9-304-143   2023-08-01

                        https://www.nytimes.com/interactive/2023/06/
2023-06-06   2023-06-08 06/sports/tennis/french-open-clay-courts.html Canvas of Clay                              By Pete Kiehart                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/arts/mu Hearing the Call To Place Music In a New
2023-06-07   2023-06-08 sic/cisco-swank-more-better.html              Light                                       By Marcus J Moore                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/arts/mu George Winston 74 Whose Music Soothed
2023-06-07   2023-06-08 sic/george-winston-dead.html                  With Its Serenity Is Dead                   By Neil Genzlinger               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/arts/pat- Pat Cooper Who Spared No One From His
2023-06-07   2023-06-08 cooper-dead.html                              Comedic Spears Dies at 93                   By Daniel E Slotnik              TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/07/arts/per Bloomberg Leads Perelman Center To the
2023-06-07   2023-06-08 elman-performing-arts-center-bloomberg.html Finish Line                                   By Robin Pogrebin                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/books/r Spurning Elitism In Support Of
2023-06-07   2023-06-08 eview/regime-change-patrick-deneen.html       Aristopopulism                              By Jennifer Szalai               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/busines                                                By Emily Flitter and Matthew
2023-06-07   2023-06-08 s/binance-cash-bank-accounts.html             SEC Details How Binance Moved Billions      Goldstein                        TX 9-304-143   2023-08-01
                                                                      Government Avoided Default but 1 Trillion
                        https://www.nytimes.com/2023/06/07/busines Borrowing Binge Looms After Debt Limit         By Alan Rappeport and Joe
2023-06-07   2023-06-08 s/economy/debt-ceiling-borrowing-binge.html StandOff                                      Rennison                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/busines
                        s/energy-environment/saudi-arabia-russia-oil- Oil Alliance Of Russians And Saudis Shows   By Clifford Krauss and Anatoly
2023-06-07   2023-06-08 opec-plus.html                                Strain                                      Kurmanaev                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/busines Hong Kong Seeks to Halt Online Play of
2023-06-07   2023-06-08 s/hong-kong-google.html                       Protest Anthem                              By Chang Che                   TX 9-304-143     2023-08-01
                                                                                                                  By John Koblin Benjamin Mullin
                        https://www.nytimes.com/2023/06/07/busines                                                Michael M Grynbaum and James B
2023-06-07   2023-06-08 s/media/chris-licht-cnn.html               13 Months In CNNs Leader Is Pushed Out         Stewart                        TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/07/busines A Media Mogul Finds He Has to Hit the Reset
2023-06-07   2023-06-08 s/media/cnn-david-zaslav-chris-licht.html  Button at CNN                               By Benjamin Mullin                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/busines In Move to Restructure Los Angeles Times
2023-06-07   2023-06-08 s/media/los-angeles-times-layoffs.html     Plans To Cut 10 of Newsroom                 By Katie Robertson                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/busines
                        s/media/universal-premium-video-on-
2023-06-07   2023-06-08 demand.html                                New Strategy Works Well For Universal       By Brooks Barnes                    TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/07/busines Coinbase and Binance Suits Reveal SEC on
2023-06-07   2023-06-08 s/sec-lawsuit-crytocurrency-explainer.html Offensive                                      By Ephrat Livni                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/busines For the Last 18 Months Its Been One Crisis
2023-06-07   2023-06-08 s/timeline-chris-licht-cnn.html            After Another at CNN                           By Gregory Schmidt               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/busines
2023-06-07   2023-06-08 s/turkey-lira-erdogan.html                 Turkeys Lira At New Low In Exchange            By Patricia Cohen                TX 9-304-143   2023-08-01



                                                                                 Page 5329 of 5793
                        https://www.nytimes.com/2023/06/07/climate An Endangered Porpoise Is Hanging On
2023-06-07   2023-06-08 /vaquitas.html                               Study Shows                                  By Catrin Einhorn               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/movies/
2023-06-07   2023-06-08 tribeca-festival-movie-picks.html            A Film Festival With a Story to Tell         By Natalia Winkelman            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/nyregio Innovating Maestro of Pizza Dough Is
2023-06-07   2023-06-08 n/andrew-bellucci-pizza-funeral.html         Remembered in Fitting Style                  By Christopher Maag             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/nyregio Adams Owns Brooklyn Apartment He Keeps
2023-06-07   2023-06-08 n/eric-adams-apartment.html                  Saying He Sold                               By Dana Rubinstein              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/nyregio New York City Seeks to Help Patients
2023-06-07   2023-06-08 n/hospital-costs-bills-transparency.html     Unravel the Mystery of Hospital Costs        By Emma G Fitzsimmons           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/nyregio Some Strange Days in a Place That Has Seen
2023-06-07   2023-06-08 n/nyc-wildfire-smoke-scenes.html             It All                                       By Michael Wilson               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/opinion
2023-06-07   2023-06-08 /pride-lgbtq-laws.html                       Yes Were in an LGBTQ State of Emergency By Charles M Blow                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/opinion
2023-06-07   2023-06-08 /republicans-2024-election-trump.html        The Republican Silly Season Has Begun        By Gail Collins                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/opinion As Smoke Darkens the Sky the Future
2023-06-07   2023-06-08 /smoke-air-quality-new-york-canada.html      Becomes Clear                                By David WallaceWells           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/opinion Remembering a Massacre That China Keeps
2023-06-07   2023-06-08 /tiananmen-square-chinese-massacre.html      Trying to Erase                              By Nicholas Kristof             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/sports/b Judge Lands on the Injured List With a Small
2023-06-07   2023-06-08 aseball/aaron-judge-yankees.html             but Pesky Ailment                            By Tyler Kepner                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/sports/b                                               By Benjamin Hoffman and Tyler
2023-06-07   2023-06-08 aseball/yankees-game-postponed.html          Yankees Postponed Because of Hazardous Air Kepner                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/sports/g Saudi Arabia Made The PGA an Offer It
2023-06-07   2023-06-08 olf/liv-pga-tour-saudi-arabia.html           Couldnt Refus                                By Kurt Streeter                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/sports/g LIVs Biggest Foe Faces the Realities of Saudi
2023-06-07   2023-06-08 olf/mcilroy-pga-tour-liv-merger.html         Money                                        By Alan Blinder                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/sports/s
2023-06-07   2023-06-08 occer/lionel-messi-inter-miami-mls.html      A Major League Coup                          By Andrew Das and Rory Smith    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/style/be
2023-06-07   2023-06-08 ige-flag-tiktok-dating.html                  Eating Ants Thats Fine                       By Callie Holtermann            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/technol
                        ogy/crypto-firms-start-looking-abroad-as-us-
2023-06-07   2023-06-08 cracks-down.html                             Facing Heat Crypto Firms Look Abroad         By David YaffeBellany           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/technol Senators Say TikTok Chief May Have Misled
2023-06-07   2023-06-08 ogy/tiktok-congress-user-data.html           Congress                                     By Sapna Maheshwari             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/theater/
2023-06-07   2023-06-08 this-land-was-made-review.html               An Ambitious Mystery in Bits and Pieces      By Jesse Green                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/theater/
                        united-palace-tony-awards-washington-                                                     By Darryn King and Gioncarlo
2023-06-07   2023-06-08 heights.html                                 Peek Inside a Temple To Imagination          Valentine                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/us/elect ExState Senator Claims Win In Denvers
2023-06-07   2023-06-08 ions/denver-mayor-mike-johnston.html         Mayoral Race                                 By Jacey Fortin                 TX 9-304-143   2023-08-01




                                                                                Page 5330 of 5793
                        https://www.nytimes.com/2023/06/07/us/iowa-                                              By Mitch Smith Ann Hinga Klein
2023-06-07   2023-06-08 building-collapse-warning-signs.html        Before Iowa Collapse Alarm and Warnings and John Peragine                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/us/louis
2023-06-07   2023-06-08 iana-transgender-health-care-ban.html       Louisiana Passes Bill That Limits Trans Care By Rick Rojas                    TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/07/us/park Former Florida Deputy on Trial for Not      By Jane Musgrave and Matthew
2023-06-07   2023-06-08 land-school-shooting-trial-scot-peterson.html Confronting Parkland Gunman              Rosenberg                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/us/polit DeSantis Bets Provocation Is Winning
2023-06-07   2023-06-08 ics/desantis-migrant-flights-outrage.html     Strategy                                 By Shane Goldmacher                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/us/polit
                        ics/doug-burgum-2024-presidential-            North Dakota Governor Joins Growing 24   By Jonathan Weisman and Nick
2023-06-07   2023-06-08 campaign.html                                 Race                                     Corasaniti                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/us/polit Businessman And Actor Are Charged In Jan 6
2023-06-07   2023-06-08 ics/jan-6-rioter-insecticide.html             Riot                                     By Alan Feuer                      TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/07/us/polit Conservative Wing Maintains Grip on House
2023-06-07   2023-06-08 ics/mccarthy-house-republicans-mutiny.html in Rebuke of McCarthy                       By Annie Karni                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/us/polit
2023-06-07   2023-06-08 ics/pence-announcement-analysis.html        Despite GOP Shift Pence Grasps His Beliefs By Jonathan Swan                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/us/polit Pence Denounces Trump As Reckless on Jan
2023-06-07   2023-06-08 ics/pence-trump-2024-announcement.html      6                                          By Jonathan Swan                   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/07/us/polit Blaming California And Bidens Policy For
2023-06-07   2023-06-08 ics/ron-desantis-border-migrant-flights.html Migrant Flights                           By Nicholas Nehamas                TX 9-304-143   2023-08-01
                                                                                                               By Alan Feuer Maggie Haberman
                        https://www.nytimes.com/2023/06/07/us/polit Documents Case Targeting Trump             William K Rashbaum and Glenn
2023-06-07   2023-06-08 ics/trump-documents-florida-grand-jury.html Notification Says                          Thrush                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/us/supr
                        eme-court-thomas-alito-financial-           Justices Thomas and Alito Delay Releasing
2023-06-07   2023-06-08 disclosures.html                            Financial Disclosure Forms                   By Abbie VanSickle               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/world/a A Dystopian Nightmare Unfolds in Sudans       By Abdi Latif Dahir and Cora
2023-06-07   2023-06-08 frica/war-sudan-darfur-region.html          Battered Darfur                              Engelbrecht                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/world/a                                               By Dan Bilefsky Liam Stack and
2023-06-07   2023-06-08 mericas/canada-wildfires.html               Northern Fires Spread Smoke And Anxiety Vjosa Isai                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/world/e Europeans Dont See China as an Adversary a
2023-06-07   2023-06-08 urope/europe-russia-china-poll.html         Poll Finds                                   By Steven Erlanger               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/world/e Pope Resting In Hospital After Surgery On
2023-06-07   2023-06-08 urope/pope-francis-hospital-surgery.html    Hernia                                       By Elisabetta Povoledo           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/world/e
                        urope/prince-harry-testimony-tabloid-       Challenging Tabloids Harry Has His Say for 2 By Stephen Castle and Megan
2023-06-07   2023-06-08 trial.html                                  Days on the Stand                            Specia                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/world/e SunakBiden Meeting on AI Is Likely to
2023-06-07   2023-06-08 urope/sunak-biden-britain.html              Revert to Ukraine                            By Mark Landler                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/world/e Thousands Flee as Dam Catastrophe Swamps By Andrew E Kramer Paul Sonne
2023-06-07   2023-06-08 urope/ukraine-dam-flood-war.html            Towns on the Front Line                      and Victoria Kim                 TX 9-304-143   2023-08-01



                                                                                Page 5331 of 5793
                        https://www.nytimes.com/2023/06/07/world/e It Just Keeps Coming Ravaged By Ukraine        By Andrew E Kramer Maria
2023-06-07   2023-06-08 urope/ukraine-kherson-flooding.html          War Then by a Flood                          Varenikova and Mauricio Lima      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/world/ Saudi Arabias LIV Golf Deal Adds to             By Vivian Nereim and Ahmed Al
2023-06-07   2023-06-08 middleeast/us-saudi-arabia-liv-golf.html     Winning Streak That Transcends Sports        Omran                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/live/2023/06/07/wo
                        rld/russia-ukraine-news/a-russian-woman-
                        imprisoned-in-belarus-after-being-arrested-
                        with-her-dissident-boyfriend-has-been-
2023-06-07   2023-06-08 pardoned                                     Belarus Frees ExGirlfriend Of ExActivist     By Valerie Hopkins                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/insider/
                        talking-trash-in-a-city-overflowing-with-
2023-06-08   2023-06-08 it.html                                      Talking Trash in a City Overflowing With It By Josh Ocampo                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/style/ag
2023-06-08   2023-06-08 gressive-inline-skating-rollerblading.html   Adrenaline Rush At the Skate Park            By Max Berlinger and Ben Pier     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/us/polic Years Later Prosecutors Revisit Police
2023-06-08   2023-06-08 e-killings-charges.html                      Killings Charges Are Rare                    By Eliza Fawcett and Tim Arango   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/movies/
2023-06-05   2023-06-09 apes-together-strong-review.html             Apes Together Strong                         By Glenn Kenny                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/movies/
                        all-man-review-international-male-a-
2023-06-06   2023-06-09 wishbook-on-many-levels.html                 All Man The International Male Story         By Elisabeth Vincentelli          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/world/e How Ukraine Choreographs the Perilous Task
2023-06-06   2023-06-09 urope/ukraine-trench-warfare.html            of Storming Russias Trenches                 By Andrew E Kramer                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/arts/dan
                        ce/martha-graham-company-announces-
2023-06-07   2023-06-09 celebrations-for-100th-anniversary.html      Milestone for a Pioneering Troupe            By Rachel Sherman                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/arts/tele John Beasley 79 LateBlooming Actor Known
2023-06-07   2023-06-09 vision/john-beasley-dead.html                for Playing Dignified Men                    By Alex Williams                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/arts/tele
                        vision/the-ultimatum-queer-love-finale-
2023-06-07   2023-06-09 netflix.html                                 Familiar Dating Drama in a Television Rarity By Trish Bendix                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/arts/tele
2023-06-07   2023-06-09 vision/tucker-carlson-twitter.html           The Paranoid Style in Carlsons Home Office By James Poniewozik                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/movies/ Hollywood Dreams amp Nightmares The
2023-06-07   2023-06-09 hollywood-dreams-nightmares-review.html Robert Englund Story                              By Erik Piepenburg                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/us/polit Congress Is Hiring Tough Job Middling Pay
2023-06-07   2023-06-09 ics/architect-capitol.html                   and 535 Bosses                               By Elizabeth Williamson           TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/08/arts/des Latin American Artists Reinvent Their
2023-06-08   2023-06-09 ign/cisneros-moma-art-gift-latin-america.html Histories                                 By Holland Cotter                   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/08/arts/des
2023-06-08   2023-06-09 ign/richard-mosse-film-amazon-brazil.html Bearing Witness to Paradise Being Plundered By Jonathan Griffin                   TX 9-304-143   2023-08-01




                                                                                Page 5332 of 5793
                        https://www.nytimes.com/2023/06/08/arts/mu
                        sic/aja-monet-when-the-poems-do-what-they-
2023-06-08   2023-06-09 do.html                                      She Turned Outspoken Into Spoken Word      By Marcus J Moore             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/arts/mu Season and Era Come to an End at the Met
2023-06-08   2023-06-09 sic/met-opera-season.html                    Opera                                      By Zachary Woolfe             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/arts/tele
                        vision/maitreyi-ramakrishnan-never-have-i-
2023-06-08   2023-06-09 ever-final-season.html                       Shes Done With School on TV Anyway         By Nancy Coleman              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/arts/tele
2023-06-08   2023-06-09 vision/the-architect-muster-dogs.html        This Weekend I Have                        By Margaret Lyons             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/busines What Recession Economys Resilience Poses
2023-06-08   2023-06-09 s/economy/us-economy-inflation-fed.html      Questions for the Fed                      By Jeanna Smialek             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/busines
2023-06-08   2023-06-09 s/eurozone-recession-economy.html            Price Shocks Sent Eurozone Into Recession By Liz Alderman                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/busines
                        s/general-motors-tesla-electric-vehicles-    Tesla Will Open Its Charging Network to
2023-06-08   2023-06-09 charging.html                                GMs Electric Vehicles                      By Jack Ewing                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/busines Louisiana Bill Requires Parental Consent for
2023-06-08   2023-06-09 s/louisiana-consent-minors-online.html       Youths Online Accounts                     By Natasha Singer             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/busines
2023-06-08   2023-06-09 s/media/cnn-chris-licht-cable-news.html      A High Bar For CNN Balance                 By Jim Rutenberg              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/busines CNN Tries to Change the Channel From         By Benjamin Mullin and John
2023-06-08   2023-06-09 s/media/cnn-chris-licht-chaos.html           WalltoWall Chaos                           Koblin                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/busines A Closer Look at the 4 People Running the
2023-06-08   2023-06-09 s/media/cnn-interim-leaders.html             Cable Network Now                          By Katie Robertson            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/busines Richard E Snyder 90 Who Helped Transform
2023-06-08   2023-06-09 s/media/richard-e-snyder-dead.html           Simon amp Schuster Dies                    By Sam Roberts                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/climate
                        /canada-wildfires-smoke-extreme-             Heat and Wildfires Herald Season of
2023-06-08   2023-06-09 weather.html                                 Extremes                                   By Somini Sengupta            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/health/t But a Small Study Suggests An Ingredient
2023-06-08   2023-06-09 aurine-supplements-aging.html                Can Slow Aging                             By Elie Dolgin                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/movies/
2023-06-08   2023-06-09 a-woman-escapes-review.html                  A Woman Escapes                            By Nicolas Rapold             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/movies/
2023-06-08   2023-06-09 aloners-review.html                          Aloners                                    By Brandon Yu                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/movies/
2023-06-08   2023-06-09 american-pain-review.html                    American Pain                              By Natalia Winkelman          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/movies/
2023-06-08   2023-06-09 blue-jean-review.html                        No Privacy Found in the Girls Locker Room By Teo Bugbee                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/movies/
2023-06-08   2023-06-09 brooklyn-45-review.html                      Brooklyn 45                                By Jeannette Catsoulis        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/movies/
2023-06-08   2023-06-09 daliland-review-salvador-dali.html           Navigating a Landscape Filled With Vipers By Manohla Dargis              TX 9-304-143   2023-08-01




                                                                               Page 5333 of 5793
                        https://www.nytimes.com/2023/06/08/movies/ Creating Crunch Fat and TongueTingling
2023-06-08   2023-06-09 flamin-hot-review.html                     Taste                                         By Lisa Kennedy                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/movies/
2023-06-08   2023-06-09 persian-lessons-review.html                Persian Lessons                               By Beatrice Loayza             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/movies/
2023-06-08   2023-06-09 scarlet-review.html                        In Wake Of War A Family Endures               By Manohla Dargis              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/movies/
                        the-angry-black-girl-and-her-monster-      Death Transforms Her as Gun Violence Hits
2023-06-08   2023-06-09 review.html                                Home                                          By Kelli Weston                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/08/movies/ Yet Another Demolition Derby Among
2023-06-08   2023-06-09 transformers-rise-of-the-beasts-review.html Robots                                      By Amy Nicholson                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/movies/
2023-06-08   2023-06-09 users-review-brave-new-world.html           Users                                       By Devika Girish                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/nyregio New York City Will Mandate Composting By
2023-06-08   2023-06-09 n/food-composting-nyc.html                  Residents                                   By Dana Rubinstein              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/nyregio Democratic Legislators Fail to Reach Deal on
2023-06-08   2023-06-09 n/housing-good-cause-eviction.html          New Yorks Housing Crisis                    By Luis FerrSadurn              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/nyregio The Lawyer Who Relied on ChatGPT             By Benjamin Weiser and Nate
2023-06-08   2023-06-09 n/lawyer-chatgpt-sanctions.html             Explains Himself It Was Awkward             Schweber                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/nyregio Retail Workers Are Left Out of New York
2023-06-08   2023-06-09 n/new-york-city-loses-retail-jobs.html      Citys Covid Recovery                        By Stefanos Chen                TX 9-304-143   2023-08-01
                                                                    Legal Battle Could Give New York
                        https://www.nytimes.com/2023/06/08/nyregio Democrats a New Chance to Tilt District
2023-06-08   2023-06-09 n/redistricting-democrats-lawsuit-ny.html   Maps                                        By Nicholas Fandos              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/nyregio Head of Rikers Hides Jails Violence and
2023-06-08   2023-06-09 n/rikers-island-jail-report.html            Dysfunction Monitor Claims                  By Hurubie Meko                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/opinion
2023-06-08   2023-06-09 /christie-townhall-trump.html               I Loved Christies Debut Thats Bad for Him By Michelle Goldberg              TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/08/opinion
2023-06-08   2023-06-09 /milligan-roberts-court-voting-right-act.html Chief Justice Roberts Throws a Curveball   By Richard L Hasen             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/opinion
2023-06-08   2023-06-09 /new-york-campaign-finance.html               A Perversion of Campaign Finance Reform    By The Editorial Board         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/opinion
2023-06-08   2023-06-09 /wildfires-smoke-climate-crisis.html          Orange Skies Red Alerts and the Future     By Paul Krugman                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/science Wild Mammals Roamed Widely When
2023-06-08   2023-06-09 /anthropause-pandemic-animals.html            Pandemic Corralled People                  By Emily Anthes                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/08/sports/b Down 21 Miami Needs to Slow Denvers
2023-06-08   2023-06-09 asketball/jamal-murray-denver-nuggets.html DoubleBarreled Offense                       By Tania Ganguli                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/sports/s
                        occer/champions-league-final-inter-         A Reckoning Awaits So Inter Milan Plays for
2023-06-08   2023-06-09 milan.html                                  Now                                         By Rory Smith and Tariq Panja   TX 9-304-143   2023-08-01




                                                                                 Page 5334 of 5793
                        https://www.nytimes.com/2023/06/08/sports/t Many Have Endeavored To Dethrone
2023-06-08   2023-06-09 ennis/french-open-alcaraz-djokovic.html     Djokovic Now Its Alcarazs Turn             By Matthew Futterman               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/sports/t
                        ennis/french-open-women-swiatek-
2023-06-08   2023-06-09 muchova.html                                An Unseeded but Not Unheralded Finalist    By Matthew Futterman               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/technol
2023-06-08   2023-06-09 ogy/mark-zuckerberg-meta.html               Zuckerberg Lays Out Road Map For Meta      By Mike Isaac                      TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/blac Black Families Seek Redress for Land Seized
2023-06-08   2023-06-09 k-americans-family-land-reparations.html    Through Eminent Domain                     By Audra D S Burch                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/dog- Justices Rule Against Toy Resembling
2023-06-08   2023-06-09 toy-jack-daniels-supreme-court.html         Liquor Bottle                              By Adam Liptak                     TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/pat- Pat Robertson Who Reshaped US Politics
2023-06-08   2023-06-09 robertson-dead.html                         From Pulpit Dies at 93                     By Douglas Martin                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/pat- Robertsons Vision Became a Blueprint Of
2023-06-08   2023-06-09 robertson-religious-right-politics.html     Political Power for the Religious Right    By Elizabeth Dias                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/polit
                        ics/biden-sunak-economy-ukraine-ai-         Biden and Sunak Affirm US and British
2023-06-08   2023-06-09 trade.html                                  Support For Ukraine for Long Haul          By Katie Rogers                    TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/polit
                        ics/blinken-saudi-arabia-crown-prince-      US Effort to Woo Saudis Is Capped by       By Edward Wong and Vivian
2023-06-08   2023-06-09 biden.html                                  Blinken Trip                               Nereim                             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/polit
2023-06-08   2023-06-09 ics/desantis-deepfakes-trump-fauci.html     Fake Images DeSantis Goes After Trump      By Nicholas Nehamas                TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/08/us/polit Hes Running for President Even Backers Are
2023-06-08   2023-06-09 ics/doug-burgum-republican-candidates.html Baffled                                     By Jonathan Weisman                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/polit
                        ics/kevin-mccarthy-house-republicans-
2023-06-08   2023-06-09 mutiny.html                                 Facing Tough Choices After a Mutiny        By Carl Hulse                      TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/08/us/polit Court Ruling Is a Victory For Activists In
2023-06-08   2023-06-09 ics/supreme-court-voting-rights-alabama.html Alabama                                     By Nick Corasaniti and Rick Rojas TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/us/polit
                        ics/trump-classified-documents-              Trump Tries to Undermine Documents          By Alan Feuer and Maggie
2023-06-08   2023-06-09 prosecutors.html                             Inquiry in a Familiar Strategy              Haberman                         TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/polit Heres Where Other Inquiries Into Trumps      By Ben Protess Alan Feuer and
2023-06-08   2023-06-09 ics/trump-criminal-investigations.html       Activities Stand                            Danny Hakim                      TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/supr Court Narrows the Reach Of 2004 Identity
2023-06-08   2023-06-09 eme-court-identity-theft-law.html            Theft Law                                   By Charlie Savage                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/supr Justices in Unexpected Move Rule Map
2023-06-08   2023-06-09 eme-court-voting-rights-act-alabama.html     Denied Black Voters                         By Adam Liptak                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/texa Texas to Place a Floating Wall Between US     By J David Goodman and Edgar
2023-06-08   2023-06-09 s-abbott-border-wall.html                    and Mexico                                  Sandoval                         TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/voti Decision Gives the Voting Rights Act a
2023-06-08   2023-06-09 ng-rights-act-supreme-court.html             Tenuous New Lease on Life                   By Michael Wines                 TX 9-304-143    2023-08-01



                                                                                 Page 5335 of 5793
                        https://www.nytimes.com/2023/06/08/world/a                                            By Declan Walsh and Abdi Latif
2023-06-08   2023-06-09 frica/ethiopia-us-food-aid.html            US Halts Food Aid to Ethiopia Due to Theft Dahir                            TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/world/a Behind a Rare Clash a Fight Over Faith in
2023-06-08   2023-06-09 sia/china-mosques-dome-crackdown.html      China                                      By Vivian Wang                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/world/e France Shocked by Stabbing Critically
2023-06-08   2023-06-09 urope/france-stabbing-annecy.html          Injuring 4 Children                        By Aurelien Breeden              TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/world/e
                        urope/montenegro-president-djukanovic-     Decrypted Messages Helped Doom Leader of
2023-06-08   2023-06-09 messages.html                              CrimeFilled Nation                         By Andrew Higgins                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/world/e
                        urope/pope-francis-abdominal-surgery-      Day of Rest For Francis After Surgery On
2023-06-08   2023-06-09 recovery.html                              Abdomen                                    By Elisabetta Povoledo           TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/world/e Ukraine Starts Drive to Regain Occupied    By Eric Schmitt and Andrew E
2023-06-08   2023-06-09 urope/ukraine-offensive-russia.html        Area                                       Kramer                           TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/world/e Clashes Heighten Anxiety For Those in      By Carlotta Gall and Oleksandr
2023-06-08   2023-06-09 urope/ukraine-russia-border.html           Border Areas                               Chubko                           TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/08/world/e Zelensky Visits Flood Zone Where Residents By Marc Santora and Maria
2023-06-08   2023-06-09 urope/zelensky-ukraine-flood-dam-russia.html See Horror Float By                      Varenikova                       TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/09/world/c They Sought a Tranquil Land but Had to Flee
2023-06-08   2023-06-09 anada/quebec-canada-wildfires-locations.html an Inferno                                By Norimitsu Onishi             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        08/sports/what-to-watch-champions-
2023-06-08   2023-06-09 league.html                                  The Sports to Watch This Weekend          By Victor Mather                TX 9-304-143    2023-08-01

                        https://www.nytimes.com/live/2023/06/08/us/                                              By Alan Feuer Maggie Haberman
                        trump-indictment-documents/justice-                                                      William K Rashbaum and Ben
2023-06-08   2023-06-09 department-charges-trump-in-documents-case Trump is Indicted Over Classified Files       Protess                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/us/polit Chinas Plan for Potential Spy Base in Cuba   By Karoun Demirjian and Edward
2023-06-09   2023-06-09 ics/china-spy-cuba-station.html             Raises Alarm in the US                       Wong                           TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/08/us/polit
2023-06-09   2023-06-09 ics/trump-clinton-classified-documents.html A Potent Issue In 2016 Turns Into a Problem By Peter Baker                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/arts/des
2023-06-09   2023-06-09 ign/lagos-nigeria-moma-photography.html     A Landscape of Organized Chaos              By Yinka Elujoba               TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/09/busines Energy Drinks Are Surging So Are Their
2023-06-09   2023-06-09 s/prime-monster-energy-drinks-caffeine.html Caffeine Levels                              By Julie Creswell             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/insider/ The Tony Awards and a Reporter Go Off
2023-06-09   2023-06-09 tony-awards-writers-strike.html             Script                                       By Mathew Brownstein          TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/sports/b A Gimmick No More the Zone Is Crucial to
2023-06-09   2023-06-09 asketball/miami-heat-zone-defense.html      the Heats Success                            By Scott Cacciola             TX 9-304-143    2023-08-01




                                                                                 Page 5336 of 5793
                        https://www.nytimes.com/2023/06/09/sports/h
                        orse-racing/09baffert-pletcher-horse-        For Good or for Ill Two Tarnished Princes
2023-06-09   2023-06-09 racing.html                                  Rule the Sport of Kings                    By Joe Drape                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/theater/ Kimberly Akimbo and Leopoldstadt Look
2023-06-09   2023-06-09 tony-awards-predictions.html                 Like Favorites                             By Michael Paulson              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/us/polit                                             By Alan Feuer Maggie Haberman
                        ics/trump-indictment-charges-documents-                                                 William K Rashbaum and Ben
2023-06-09   2023-06-09 justice-department.html                      Trump is Indicted Over Classified Files    Protess                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/29/travel/t
2023-05-29   2023-06-10 okyo-restaurants-bars-guide.html             In Tokyo Seeing Some Old Familiar Places By Tom Downey                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/30/travel/e A Journey Across London on the Elizabeth
2023-05-30   2023-06-10 lizabeth-line-london.html                    Line                                       By Mark Vanhoenacker            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/opinion The Supreme Court Is Wrong About Andy
2023-06-05   2023-06-10 /supreme-court-andy-warhol.html              Warhol                                     By Richard Meyer                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/arts/tele The Iron Sheik Evil Champ In Wrestlings
2023-06-08   2023-06-10 vision/iron-sheik-dead.html                  Hall of Fame                               By Daniel E Slotnik             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/arts/tele
2023-06-08   2023-06-10 vision/joan-rivers-archive.html              Finding a New Home For All of Joans Jokes By Jason Zinoman                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/busines
2023-06-08   2023-06-10 s/ai-literacy-schools-amazon-alexa.html      Students Learn the ABCs of AI              By Natasha Singer               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/busines Automated chatbot tutors carry educational
2023-06-08   2023-06-10 s/khan-ai-gpt-tutoring-bot.html              promise but they make mistakes             By Natasha Singer               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/busines In Chats Tutor Bots Offer Lessons and
2023-06-08   2023-06-10 s/khanmigo-tutor-chat.html                   Whimsy                                     By Natasha Singer               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/movies/ Barry Newman 92 Star of the Cult Film
2023-06-08   2023-06-10 barry-newman-dead.html                       Vanishing Point and a TV Legal Drama       By Alex Traub                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/opinion Casey DeSantis Is Your Obsession Jill Bidens
2023-06-08   2023-06-10 /desantis-biden-casey-jill.html              Mine                                       By Frank Bruni                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/opinion
                        /smoke-air-quality-what-started-the-
2023-06-08   2023-06-10 wildfire.html                                Friends Dont Let Friends Set Fires         By Clare Frank                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/sports/a
2023-06-08   2023-06-10 utoracing/24-hours-le-mans-toyota.html       Crashing Toyotas Le Mans party             By Alex Kalinauckas             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/08/sports/a
2023-06-08   2023-06-10 utoracing/24-hours-lemans-anniversary.html A century of innovation                      By Phillip Horton               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/sports/a
2023-06-08   2023-06-10 utoracing/nascar-le-mans-24-hours.html      NASCAR brings the noise                     By Ian Parkes                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/us/ai-
                        chatbot-tessa-eating-disorders-             Wellness Chatbot Is Taken Offline After
2023-06-08   2023-06-10 association.html                            Distributing Problematic Eating Advice      By Lauren McCarthy              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/arts/mu
                        sic/juilliard-fires-professor-accused-of-
2023-06-09   2023-06-10 sexually-harassing-students.html            Juilliard Professor Fired Over Misconduct   By Javier C Hernndez            TX 9-304-143   2023-08-01




                                                                                 Page 5337 of 5793
                        https://www.nytimes.com/2023/06/08/opinion The Greater Trumps Opposition the Greater
2023-06-09   2023-06-10 /trump-indicted.html                            His Support as a Martyr                     By Damon Linker            TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/polit
                        ics/jack-smith-special-counsel-trump-           An Unflinching Special Counsel Familiar
2023-06-09   2023-06-10 indictment.html                                 With BoldType Cases                         By Glenn Thrush            TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/us/polit James G Watt 85 Dies Secretary Who Favored
2023-06-09   2023-06-10 ics/james-watt-dead.html                        Developing Wilderness                       By Robert D McFadden       TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/arts/dan
2023-06-09   2023-06-10 ce/lotto-royale-river-to-river-festival.html    Private Performances in Public Places       By Gia Kourlas             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/arts/des
                        ign/hannah-gadsby-picasso-brooklyn-museum-
2023-06-09   2023-06-10 debate.html                                     Picasso Show Achieved Its Goal              By Robin Pogrebin          TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/arts/des
                        ign/hiroshi-sugimoto-point-of-infinity-san-
2023-06-09   2023-06-10 francisco.html                                  A Reach for Infinity From High on a Hill    By Jori Finkel             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/arts/mu
                        sic/review-john-luther-adams-become-            Taking a Sonic Journey to a Different Place
2023-06-09   2023-06-10 desert.html                                     on Earth                                    By Joshua Barone           TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/arts/mu
                        sic/russian-pianist-speaks-out-against-the-war-
2023-06-09   2023-06-10 polina-osetinskaya.html                         A Pianist Caught in the Middle              By Javier C Hernndez       TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/09/busines Binance Stops Accepting US Dollars What It
2023-06-09   2023-06-10 s/binanceus-new-rules-trading-dollars.html  Means for Customers                          By David YaffeBellany         TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/busines China Prods People to Save Less and Spend
2023-06-09   2023-06-10 s/china-bank-deposit-rate-cuts.html         More                                         By Daisuke Wakabayashi        TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/busines Tax Credits For Energy May Strain
2023-06-09   2023-06-10 s/economy/energy-tax-credits.html           Applicants                                   By Lydia DePillis             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/busines
                        s/economy/wedding-engagement-rings-                                                      By Jeanna Smialek and Jason
2023-06-09   2023-06-10 economy.html                                Get Engaged Economy Tells A Story of No      Karaian                       TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/climate That Orange Sky You Might See It More
2023-06-09   2023-06-10 /wildfires-canada.html                      Often                                        By Somini Sengupta            TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/health/ Harald zur Hausen 87 Nobel Winner Who
2023-06-09   2023-06-10 harald-zur-hausen-dead.html                 Found Cause of a Cancer Dies                 By Emily Anthes                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/nyregio Were New York Leaders Prepared for the        By Emma G Fitzsimmons and Luis
2023-06-09   2023-06-10 n/adams-hochul-response-air-quality.html    Smoke                                        FerrSadurn                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/nyregio Santos Appeals Order to Reveal Who Put Up     By Grace Ashford and Michael
2023-06-09   2023-06-10 n/santos-bail-family-appeal.html            Bail Money                                   Gold                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/sports/b In South Florida A Packed Calendar Is
2023-06-09   2023-06-10 asketball/heat-panthers-south-florida.html  Reason to Cheer                              By Ken Belson                 TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/09/sports/o Oklahoma Caps RecordBreaking Season With
2023-06-09   2023-06-10 klahoma-softball-national-championship.html 3rd Straight Championship                By Evan Easterling                TX 9-304-143    2023-08-01




                                                                                 Page 5338 of 5793
                        https://www.nytimes.com/2023/06/09/sports/o Win 2 NCAA Titles in 25 Minutes Thats One
2023-06-09   2023-06-10 lympics/britton-wilson-ncaa-track.html      Runners Plan for the Day                    By Victor Mather                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/sports/s
                        occer/champions-league-final-manchester-    No Stranger Than Fiction Manchester City Is
2023-06-09   2023-06-10 city.html                                   Just Too Good                               By Rory Smith                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/sports/t Just One Match Away From Passing Nadal
2023-06-09   2023-06-10 ennis/french-open-alcaraz-djokovic.html     and in His Own Bailiwick                    By Matthew Futterman                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/theater/ Seeking Connections While Searching for
2023-06-09   2023-06-10 deep-blue-sound-review.html                 Whales                                      By Elisabeth Vincentelli                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/us/arizo Arizonas Boom Towns Ponder Growth Amid
2023-06-09   2023-06-10 na-water-development-desert.html            a Water Shortage                            By Jack Healy                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/us/nate- Real Estate Investor Linked to Impeachment By Edgar Sandoval and David
2023-06-09   2023-06-10 paul-paxton-arrest.html                     of Texas Attorney General Is Jailed         Montgomery                              TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/09/us/polit FBI Said to Investigate Political Contributions By Adam Goldman and Mark
2023-06-09   2023-06-10 ics/fbi-spy-ring-political-contributions.html Of RightWing Spy Ring                         Mazzetti                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/us/polit House Republicans Rally Behind Trump And
2023-06-09   2023-06-10 ics/republicans-trump-indictment.html         Help to Spread His False Narrative            By Luke Broadwater                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/us/polit
                        ics/trump-documents-judge-aileen-             Case Lands in Hands of Judge Who Earlier
2023-06-09   2023-06-10 cannon.html                                   Ruled for Trump                               By Charlie Savage                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/us/polit
                        ics/trump-indictment-documents-               Evidence a Presidents Actions Were More       By Alan Feuer and Maggie
2023-06-09   2023-06-10 handling.html                                 Overt Than Known                              Haberman                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/us/polit
                        ics/trump-indictment-lawyers-trusty-          Two of Trumps Lawyers Resign Following By Maggie Haberman and Alan
2023-06-09   2023-06-10 rowley.html                                   Indictment                                    Feuer                               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/us/polit An Uneasy Task for GOP Rivals Defend the
2023-06-09   2023-06-10 ics/trump-republicans-polls-2024.html         Man Leading the Polls                         By Shane Goldmacher                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/us/polit
                        ics/walt-nauta-trump-documents-               For a Loyal Aide An Indictment Alongside
2023-06-09   2023-06-10 indictment.html                               Trump                                         By Maggie Haberman                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/us/polit
                        ics/whats-next-trump-documents-               Arraignment Could Mirror His First One In By Adam Goldman and Charlie
2023-06-09   2023-06-10 indictment.html                               New York                                      Savage                              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/world/a                                                  By Suhasini Raj Alex Travelli and
2023-06-09   2023-06-10 sia/india-manipur-conflict.html               Longstanding Dispute Boils Into War in India Saumya Khandelwal                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/world/a
2023-06-09   2023-06-10 sia/sherpa-rescue-mount-everest.html          Sherpa Saves Climber In Distress on Everest By Amanda Holpuch                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/world/a In Thailand Defamation Lawsuits Can Make
2023-06-09   2023-06-10 sia/thailand-defamation-lawsuits.html         Free Speech Costly for Critics                By SuiLee Wee                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/world/c
2023-06-09   2023-06-10 anada/canada-firefighting-capacity.html       Cutbacks in Fire Prevention Haunt Canada      By Vjosa Isai and Ian Austen        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/world/e Johnson Resigns From British Parliament          By Stephen Castle and Mark
2023-06-09   2023-06-10 urope/boris-johson-resigns.html               After LockdownParty Investigation             Landler                             TX 9-304-143   2023-08-01



                                                                                  Page 5339 of 5793
                        https://www.nytimes.com/2023/06/09/world/e
2023-06-09   2023-06-10 urope/brussels-palace-of-justice.html      Unraveling a Tangle Of Belgian Architecture By Sarah Hurtes                      TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/world/e Macron Meets Victims and Backpack Hero
2023-06-09   2023-06-10 urope/france-stabbing-backpack-hero.html   After Stabbing Attack in South France       By Aurelien Breeden                  TX 9-304-143    2023-08-01
                                                                   US Intelligence Officials Say Tehran Is
                        https://www.nytimes.com/2023/06/09/world/e Deepening Its Military Partnership With     By Julian E Barnes and Christoph
2023-06-09   2023-06-10 urope/iran-russia-drone-factory.html       Moscow                                      Koettl                               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/world/e In Serbia Strongman Under Fire Hails
2023-06-09   2023-06-10 urope/serbia-kosovo-protests-vucic.html    Himself as Defender of Nation               By Andrew Higgins                    TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/world/e Dams Destruction Reshapes the Front Line
2023-06-09   2023-06-10 urope/ukraine-dam-flooding-fighting.html   but Not the Arc of the Battle               By Andrew E Kramer                   TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/09/world/e Fierce Combat Rages as Ukraine Tries to          By Andrew E Kramer and Eric
2023-06-09   2023-06-10 urope/ukraine-russia-battle-zaporizhzhia.html Retake RussianHeld Territory                  Schmitt                         TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/your-
                        money/venmo-cash-app-paypal-payment-          Money in Your Venmo Account Isnt
2023-06-09   2023-06-10 apps.html                                     Protected                                     By Ann Carrns                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/us/polit
                        ics/desantis-north-carolina-trump-            DeSantis Treads Lightly On Issue of Trump     By Nicholas Nehamas and Jonathan
2023-06-10   2023-06-10 indictment.html                               Charge                                        Weisman                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/us/polit
                        ics/trump-indictment-charges-classified-                                                    By Glenn Thrush Maggie
2023-06-10   2023-06-10 documents.html                                Trump Put US at Risk Indictment Says          Haberman and Alan Feuer         TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/10/sports/h
                        orse-racing/expert-picks-who-will-win-the-
2023-06-10   2023-06-10 belmont-stakes.html                           Wholl Win at Belmont                          By Joe Drape and Melissa Hoppert TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/sports/h
2023-06-10   2023-06-10 orse-racing/secretariat-triple-crown.html     50 Years Later Secretariats Legend Rolls On   By Melissa Hoppert              TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/10/us/polit In a Counteroffensive Defining Success          By Julian E Barnes and Steven
2023-06-10   2023-06-10 ics/ukraine-counteroffensive-russia.html      Varies                                        Erlanger                        TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/03/25/books/r One Cannot Explain It With Words The
2023-03-25   2023-06-11 eview/babi-yar-anatoly-kuznetsov.html         Holocaust by Bullets                          By Jennifer Wilson              TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/04/08/books/r
2023-04-08   2023-06-11 eview/ab-yehoshua-only-daughter.html          Value Judgment                                By Shay K Azoulay               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/04/28/movies/
2023-04-28   2023-06-11 jim-gaffigan-peter-pan-wendy.html             Quiet Jim Gaffigan Might Be Napping           By Chris Kornelis               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/05/02/books/r
2023-05-02   2023-06-11 eview/max-porter-shy.html                     Tune In Drop Out                              By Hermione Hoby                TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/05/09/books/r
2023-05-09   2023-06-11 eview/the-lost-sons-of-omaha-joe-sexton.html Twisted Tragedy                                By Andy Kroll                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/05/15/books/b
2023-05-15   2023-06-11 erlin-bea-setton.html                        Windows                                        By Jenny Wu                     TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/05/16/books/r
2023-05-16   2023-06-11 eview/yellowface-rf-kuang.html               A ReWriters Life                               By Amal ElMohtar                TX 9-304-143    2023-08-01



                                                                                  Page 5340 of 5793
                        https://www.nytimes.com/2023/05/19/style/sa
2023-05-19   2023-06-11 ri-exhibit-design-museum-london.html        The Sari and Its Many Variations            By Phyllida Jay                   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/21/books/r
2023-05-21   2023-06-11 eview-the-late-americans-brandon-taylor.html Town Gown and Down                         By Alexandra Jacobs               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/22/books/r
2023-05-22   2023-06-11 eview/martin-amis.html                       An Appraisal Martin Amis                   By AO Scott                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/23/books/r
                        eview/built-from-the-fire-victor-
2023-05-23   2023-06-11 luckerson.html                               Out of the Ashes                           By Marcia Chatelain               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/24/books/r
                        eview/women-we-buried-women-we-burned-
2023-05-24   2023-06-11 rachel-louise-snyder.html                    Prodigal Daughter                          By Jennifer Szalai                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/25/books/r
                        eview/luis-alberto-urrea-good-night-
2023-05-25   2023-06-11 irene.html                                   Doughnut Dollies                           By Nell Freudenberger             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/30/books/r
2023-05-30   2023-06-11 eview/last-call-at-coogans-jon-michaud.html Where Everybody Knew Your Name              By Tim Sultan                     TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/30/books/r New Story Collections on Lifes Absurdities
2023-05-30   2023-06-11 eview/suzuki-mccombs-heiny-heighton.html and Pains                                      By Jen Vafidis                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/books/r
                        eview/the-eyes-and-the-impossible-dave-
2023-06-01   2023-06-11 eggers.html                                   Inside the List                           By Elisabeth Egan                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/magazi
                        ne/tim-robinson-i-think-you-should-
2023-06-03   2023-06-11 leave.html                                    Th e Virtuoso of Cringe                   By Sam Anderson                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/arts/arti
2023-06-03   2023-06-11 ficial-intelligence-podcasts.html             Make Sense of AI With Human Help          By Emma Dibdin                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/arts/tele
                        vision/the-idol-the-weeknd-sam-levinson-lily-
2023-06-03   2023-06-11 rose-depp.html                                Headfirst Into Our Cultural Inferno       By Manohla Dargis                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/realesta Recalling a Journey of Inspiration and
2023-06-05   2023-06-11 te/rent-apartments-living-brooklyn.html       Frustration                               By Alix Strauss                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/theater/
                        tony-awards-nominees-portraits-                                                         By Thea Traff Michael Paulson
2023-06-05   2023-06-11 broadway.html                                 Why They Act Its Intoxicating             Julia Jacobs and Amanda Webster   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/arts/mu
2023-06-06   2023-06-11 sic/hardcore-music-diversity.html             Hardcore Punk Has a Different Look        By Hank Shteamer                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/magazi
2023-06-06   2023-06-11 ne/danish-butter-cookie-india-canada.html     Danish Cookie Tins                        By Raksha Vasudevan               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/magazi
2023-06-06   2023-06-11 ne/vice-president-gaffes.html                 Word Cloud                                By Paul McAdory                   TX 9-304-143   2023-08-01




                                                                                Page 5341 of 5793
                        https://www.nytimes.com/2023/06/06/nyregio
2023-06-06   2023-06-11 n/bike-bus-cycling.html                     Attention Drivers Make Way for the Bike Bus By John Surico            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/opinion Saudi Arabia and Israel Are Reinventing
2023-06-06   2023-06-11 /israel-saudi-arabia.html                   Themselves                                    By Thomas L Friedman    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/opinion
2023-06-06   2023-06-11 /roberts-court-glacier-labor-workers.html   The Court Is Hostile to US Workers            By Jamelle Bouie        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/realesta
                        te/bonnie-milligan-upper-west-side-         A Reflection of Where Shes From and Where
2023-06-06   2023-06-11 apartment.html                              She Is                                        By Joanne Kaufman       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/style/hb
2023-06-06   2023-06-11 o-the-idol-80s-sleaze-genre.html            Reviving the Erotic Thriller                  By Steven Kurutz        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/us/casa- The Refries That Bind A Cavernous Cantina By Matt Richtel and David
2023-06-06   2023-06-11 bonita-restaurant.html                      Returns                                       Williams                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/arts/dan
2023-06-07   2023-06-11 ce/dance-class-california-prisons.html      Freed Bodies in a Place of Confinement        By Brian Seibert        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/magazi
2023-06-07   2023-06-11 ne/bad-credit-repair.html                   The High Cost of Bad Credit Scores            By Mya Frazier          TX 9-304-143   2023-08-01
                                                                    Wherever Whenever A chorizo taquito perfect
                        https://www.nytimes.com/2023/06/07/magazi in its simplicity can be whatever you want it
2023-06-07   2023-06-11 ne/chorizo-taquitos-recipe.html             to be                                         By Bryan Washington     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/magazi The patients symptoms suggested she had
                        ne/long-covid-symptoms-                     long Covid But could that suspicion cloud the
2023-06-07   2023-06-11 hyperthyroidism.html                        doctors vision                                By Lisa Sanders MD      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/nyregio City Sues Queens Library Architects Over
2023-06-07   2023-06-11 n/queens-library-lawsuit-ada.html           Accessibility                                 By Lola Fadulu          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/opinion
                        /resistance-black-advancement-affirmative- To Understand Affirmative Action Debates
2023-06-07   2023-06-11 action.html                                 Look to the Past                              By Randall Kennedy      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/opinion
2023-06-07   2023-06-11 /wildfire-smoke-air-quality-viruses.html    Air Quality Is the Issue Of Our Time          By Linsey Marr          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/realesta
                        te/700000-homes-texas-california-           700000 Homes in Texas California and
2023-06-07   2023-06-11 massachusetts.html                          Massachusetts                                 By Angela Serratore     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/realesta
                        te/andre-leon-talley-home-white-plains-     This Style Makers Sanctuary Goes on the
2023-06-07   2023-06-11 ny.html                                     Market                                        By Joyce Cohen          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/realesta
2023-06-07   2023-06-11 te/meditation-garden.html                   Mindfulness as a Vital Sign of Growth         By Margaret Roach       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/realesta The Forever Town Where You Buy a House
2023-06-07   2023-06-11 te/midland-park-nj-houses.html              and Stay                                      By Jay Levin            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/sports/g The Alliance of LIV Golf and the PGA Tour
2023-06-07   2023-06-11 olf/pga-liv-golf-merger.html                Heres What to Know                            By Kevin Draper         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/style/ap
2023-06-07   2023-06-11 ple-autocorrect-ducking.html                Apple Admits Duck Isnt What You Typed         By Callie Holtermann    TX 9-304-143   2023-08-01




                                                                               Page 5342 of 5793
                        https://www.nytimes.com/2023/06/07/style/co-
2023-06-07   2023-06-11 parent-drinking-problem.html                 The Problem Drinker                         By Philip Galanes               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/us/san- Scientists Offer Reason for a Sleepy San
2023-06-08   2023-06-11 andreas-fault-researchers.html               Andreas Fault                               By Thomas Fuller                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/magazi
                        ne/judge-john-hodgman-simulation-            Judge John Hodgman on the Probability Were
2023-06-08   2023-06-11 probability.html                             Living in a Simulation                      By John Hodgman                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/magazi
2023-06-08   2023-06-11 ne/merlin-sheldrake-fungi.html               The Miracle Beneath Our Feet                By Jennifer Kahn                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/magazi                                                By Rae Armantrout and Anne
2023-06-08   2023-06-11 ne/poem-preparedness.html                    Preparedness                                Boyer                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/movies/
2023-06-08   2023-06-11 the-blackening-behind-the-scenes.html        Not Dying First and Getting the Last Laugh By Kelli Weston                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/nyregio                                               By Richard Schiffman and Erin
2023-06-08   2023-06-11 n/feral-cats-nyc.html                        What to Do About the Citys Feral Cats       Schaff                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/opinion
2023-06-08   2023-06-11 /third-party-president-election-2024.html    We Dont Need a Third Presidential Candidate By David Brooks                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/realesta
2023-06-08   2023-06-11 te/construction-cranes-buildings.html        Crane Use Points to Shift in Need           By Kalia Richardson             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/style/th
2023-06-08   2023-06-11 e-drunken-canal-byline-media.html            A Digital Window Into the Downtown Scene By Cara Schacter                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/us/carr Carroll Cooley 87 Detective Behind Miranda
2023-06-08   2023-06-11 oll-cooley-dead.html                         Case                                        By Richard Sandomir             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        08/realestate/upper-west-side-apartments-    Seeking an Upper West Side Home That the
2023-06-08   2023-06-11 manhattan.html                               Children Want to Visit                      By Joyce Cohen                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/arts/des
2023-06-09   2023-06-11 ign/gary-simmons-mca-chicago-artist.html     The Haunting of Gary Simmons                By Ted Loos                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/books/r
2023-06-09   2023-06-11 eview/counting-books-for-children.html       Counting on Conversation                    By Amy Alznauer                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/books/r
2023-06-09   2023-06-11 eview/new-crime-books-june.html              Bloodlines                                  By Sarah Weinman                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/busines Market Bubbles Bank Runs And the Feds
2023-06-09   2023-06-11 s/bernanke-banks-inflation-ai.html           Structural Flaw                             By Jeff Sommer                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/busines William E Spriggs 68 Economist Who
2023-06-09   2023-06-11 s/william-spriggs-dead.html                  Pushed for Racial Justice Dies              By Ben Casselman                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/nyregio
2023-06-09   2023-06-11 n/new-york-focus.html                        Young Voices Fill a Journalistic Void       By Ginia Bellafante             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/nyregio New York Lawmakers Pass Clean Slate Act By Luis FerrSadurn and Grace
2023-06-09   2023-06-11 n/ny-legislature-2023-session.html           as Legislative Session Fizzles to an End    Ashford                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/opinion Starring in Parade Has Taught Me About Hate
2023-06-09   2023-06-11 /parade-hate-hope-broadway.html              and Hope                                    By Micaela Diamond              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/opinion
2023-06-09   2023-06-11 /trump-indictment-documents.html             The Justice Department Had No Choice        By The Editorial Board          TX 9-304-143   2023-08-01




                                                                                Page 5343 of 5793
                        https://www.nytimes.com/2023/06/09/opinion
2023-06-09   2023-06-11 /trump-indictment-evidence.html             Indicting Was the Right Call               By David French                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/opinion                                             By Norman Eisen Andrew
2023-06-09   2023-06-11 /trump-indictment-jack-smith.html           How Jack Smith Can Win His Case            Weissmann and Joyce Vance      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/realesta
2023-06-09   2023-06-11 te/bathtubs-backyard-outdoors.html          Soaking Up Suds and Sun                    By Lia Picard                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/realesta Cheaper Cozier Mix Things Up to Cover the
2023-06-09   2023-06-11 te/rug-layering-sizes-tips.html             Floor                                      By Tim McKeough                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/sports/s
                        occer/lionel-messi-karim-benzema-saudi-     Saudi Arabia Tries To Buy Prestige And May
2023-06-09   2023-06-11 arabia.html                                 Succeed                                    By Rory Smith                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/style/ab Keeping Themselves and Everyone Else
2023-06-09   2023-06-11 by-barr-jed-feiman-wedding.html             Laughing                                   By Rosalie R Radomsky          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/style/ba
                        chelor-sydney-lotuaco-nick-wehby-           No Final Rose on Bachelor but Now a Bridal
2023-06-09   2023-06-11 wedding.html                                Bouquet                                    By Jenny Block                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/style/be
2023-06-09   2023-06-11 lles-and-chimes-female-pinball.html         Its Not Your Fathers Arcade                By Peter Kujawinski            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/style/ga
2023-06-09   2023-06-11 y-pride-candles.html                        Spirit of Gay Pride in the Air             By Madison Malone Kircher      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/style/m
                        odern-love-what-if-i-hadnt-been-there-to-   Huddled Together Bracing for the Daily
2023-06-09   2023-06-11 catch-them.html                             Storm                                      By Desiree Cooper              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/style/sa At an AlmostFirst Date No Sparks and Some
2023-06-09   2023-06-11 rah-berkman-philip-dinner-wedding.html      Snoozing                                   By Jenny Block                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/style/so Sharing the Call for Service and a Life
2023-06-09   2023-06-11 fia-gross-michael-haft-wedding.html         Together                                   By Alix Wall                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/style/w When the Honeymoon Suite Is Just for
2023-06-09   2023-06-11 edding-night-sex.html                       Sleeping                                   By Allison Hope                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/technol Their Crypto Fund Collapsed Overnight They
2023-06-09   2023-06-11 ogy/three-arrows-cryto-bali.html            Went to Bali                               By David YaffeBellany          TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/09/us/polit                                           By Michael D Shear and Reid J
2023-06-09   2023-06-11 ics/biden-trump-indictment-documents.html On Trump Indictment Biden Stays Silent      Epstein                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/us/polit New Border Chief Named As Policies Face
2023-06-09   2023-06-11 ics/border-patrol-chief-biden.html          Scrutiny                                  By Eileen Sullivan              TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/09/sports/b Blue Jays Cut Player Who Defended His
2023-06-10   2023-06-11 aseball/toronto-blue-jays-anthony-bass.html Posting of AntiQueer Video on Instagram   By Jesus Jimnez                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/world/a
                        mericas/missing-colombian-children-
2023-06-10   2023-06-11 found.html                                  4 Children Survive 40 Days in Jungle      By Genevieve Glatsky            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/arts/mu
2023-06-10   2023-06-11 sic/ai-classical-music.html                 Roll Over Beethoven Again                 By Garrett Schumann             TX 9-304-143   2023-08-01




                                                                                Page 5344 of 5793
                        https://www.nytimes.com/2023/06/10/busines
2023-06-10   2023-06-11 s/ai-jobs-work.html                        Fears About AI Could Be Warranted or Not       By Sarah Kessler                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/10/busines
2023-06-10   2023-06-11 s/economy/mortgage-rates-real-estate.html  The Hot New Thing Is a Loan From 2021          By Conor Dougherty               TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/10/busines A 22YearOld Homeowner It Took a Little
2023-06-10   2023-06-11 s/scratch-off-lottery-ticket-home-sales.html Luck                                         By Sydney Bean                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/nyregio One Last Job 60Somethings With Mob Ties
2023-06-10   2023-06-11 n/men-robberies-nyc-organized-crime.html     Charged in Jewel Heists                      By Ed Shanahan                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/opinion
2023-06-10   2023-06-11 /animal-rights-movement-welfare.html         The Revolution On Your Plate                 By Nicholas Kristof              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/opinion
                        /climate-change-planting-trees-grasslands-   When Chopping Down Trees Can Help the        By Robert Langellier and Terra
2023-06-10   2023-06-11 biodiversity.html                            Environment                                  Fondriest                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/opinion
                        /federal-investment-green-energy-global-     Can Federal Investment Persuade America      By Binyamin Appelbaum and Reva
2023-06-10   2023-06-11 warming.html                                 To Go Green                                  Keller                         TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/10/opinion Harry Is a More Interesting Prince Than We
2023-06-10   2023-06-11 /prince-harry-court.html                     Deserve                                      By Tanya Gold                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/opinion
2023-06-10   2023-06-11 /trump-indicted-jack-smith.html              Trump Is a Victim Of His Own Sleaze          By Maureen Dowd                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/opinion
2023-06-10   2023-06-11 /ufos-government.html                        Does the US Hide UFOs                        By Ross Douthat                  TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/10/realesta How Do I Force a Developer to Finish
2023-06-10   2023-06-11 te/construction-work-apartment-building.html Construction Work in Common Areas            By Ronda Kaysen                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/sports/a For the First Time a Horse Trained by a
2023-06-10   2023-06-11 rcangelo-belmont-stakes-2023.html            Woman Wins a Triple Crown Race               By Joe Drape                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/sports/b The Heat Say They Love Adversity They
2023-06-10   2023-06-11 asketball/miami-heat-denver-nuggets.html     Must Be Ecstatic Now                         By Scott Cacciola                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/sports/c Who Raises the Trophy First Often Its Some
2023-06-10   2023-06-11 hampionship-trophy-team-owners.html          Guy in a Suit                                By Andrew Keh                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/sports/t After a ThreeSet Struggle the Queen of Clay
2023-06-10   2023-06-11 ennis/french-open-swiatek-muchova.html       Continues Her Reign                          By Matthew Futterman             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/style/ch Cheryl Hiness Unexpected Role Running
2023-06-10   2023-06-11 eryl-hines-robert-f-kennedy-jr.html          Mate                                         By Caitlin Moscatello            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/technol
2023-06-10   2023-06-11 ogy/ai-humanity.html                         How Could AI Destroy Humanity                By Cade Metz                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/us/idah How Detectives Broke a Logjam In Four
2023-06-10   2023-06-11 o-university-murder-investigation.html       Student Deaths in Idaho                      By Mike Baker                  TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/10/us/polit China Is Said to Operate Cuba Spy Base        By Karoun Demirjian and Edward
2023-06-10   2023-06-11 ics/china-spy-base-cuba.html                 Since 19                                     Wong                           TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/10/us/polit Appeals Panel Limits the Judge In a USS
2023-06-10   2023-06-11 ics/guantanamo-judge-cole-case.html          Cole Bombing Case                            By Carol Rosenberg               TX 9-304-143   2023-08-01



                                                                                 Page 5345 of 5793
                        https://www.nytimes.com/2023/06/10/us/polit
                        ics/judge-aileen-cannon-trump-              Trump Appointee Was Randomly Assigned to
2023-06-10   2023-06-11 documents.html                              Case Clerk Says                          By Charlie Savage                    TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/10/us/polit Kaczynski Died by Suicide Prompting
2023-06-10   2023-06-11 ics/kaczynski-unabomber-suicide-prison.html Questions of Prison Security                By Glenn Thrush                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/us/polit
2023-06-10   2023-06-11 ics/pride-event-biden-lgbtq-rights.html     Biden Commits to Protecting LGBTQ Rights By Katie Rogers                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/us/polit Unanswered in the Indictment Why Did        By Maggie Haberman and Alan
2023-06-10   2023-06-11 ics/trump-documents-charges-motive.html     Trump Hoard Documents                       Feuer                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/us/polit
                        ics/trump-documents-indictment-             US Justice System Put on Trial As Trump
2023-06-10   2023-06-11 democracy.html                              Denounces the Rule of Law                   By Peter Baker                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/us/polit Trump Heads to GOP Conventions for His      By Jonathan Swan Maggie
2023-06-10   2023-06-11 ics/trump-georgia-north-carolina.html       First Public Remarks PostIndictment         Haberman and Nicholas Nehamas     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/world/a
                        mericas/colombia-children-rescue-plane-
2023-06-10   2023-06-11 crash.html                                  4 Children Survive 40 Days in the Jungle    By Genevieve Glatsky              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/world/a
                        mericas/colombia-dijon-mustard-
2023-06-10   2023-06-11 shortage.html                               No Dijon In Colombia That Just Wont Cut It By Genevieve Glatsky               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/world/a
                        ustralia/trump-indictment-world-            Global Reaction to Trumps Latest Legal Woes
2023-06-10   2023-06-11 reactions.html                              Ranges From Outrage to Eye Rolls            By Damien Cave                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/world/e
                        urope/boris-johnson-resigns-uk-             Johnsons Comeback Hopes in UK May Be
2023-06-10   2023-06-11 parliament.html                             Dimmer Than He Thinks                       By Mark Landler                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/world/e
2023-06-10   2023-06-11 urope/ukraine-counteroffensive.html         Kyiv Targeting Russias Lines For Weakness By Andrew E Kramer                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/world/e Ukraines Leader Signals The Counterattack Is
2023-06-10   2023-06-11 urope/ukraine-russia-dam-fighting.html      On                                          By Marc Santora                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/article/canada-
2023-06-10   2023-06-11 wildfires-what-to-know.html                 What to Know About the Canadian Wildfires By Dan Bilefsky and Ian Austen      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/live/2023/06/10/spo
                        rts/man-city-inter-milan-champions-
                        league/manchester-city-is-europes-champion- Resistance Is Futile as Manchester City
2023-06-10   2023-06-11 at-last                                     Completes a Treble                          By Rory Smith                     TX 9-304-143   2023-08-01
                                                                                                                By Michael S Schmidt Alan Feuer
                        https://www.nytimes.com/2023/06/10/us/polit Trump Backers Unleash Wave of Violent       Maggie Haberman and Adam
2023-06-11   2023-06-11 ics/trump-supporter-violent-rhetoric.html   Threats Worrying Some Analysts              Goldman                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/insider/
2023-06-11   2023-06-11 hands-bound-but-still-reporting.html        Hands Bound but Still Reporting             By David W Dunlap                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/insider/
                        thousands-of-bylines-to-his-name-and-one- Many Bylines to His Name and One Thats
2023-06-11   2023-06-11 thats-not.html                              Not                                         By Christopher Clarey             TX 9-304-143   2023-08-01



                                                                               Page 5346 of 5793
                        https://www.nytimes.com/2023/06/11/nyregio
2023-06-11   2023-06-11 n/inside-broadway-michael-presser.html      Broadway and Baseball Are Often on Tap        By Tammy La Gorce             TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/11/style/ep
2023-06-11   2023-06-11 isode-a-skating-affair.html                 Sensing That Your Marriage Is on Thin Ice     By Jessica Stolzberg          TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/11/us/supr California Vote Exposed a Divide Amid          By Michael Powell and Ilana
2023-06-11   2023-06-11 eme-court-affirmative-action.html           Democrats                                     Marcus                        TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/11/world/ On Trial for Reporting on a Death That          By Vivian Yee and Leily
2023-06-11   2023-06-11 middleeast/iran-protests-journalists-trial.html Fueled a Revolt                           Nikounazar                    TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/30/technol
2023-05-30   2023-06-12 ogy/shoggoth-meme-ai.html                       This Meme Symbolizes State of AI          By Kevin Roose                TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/04/opinion
2023-06-04   2023-06-12 /einstein-disinformation.html                   Einstein and a Theory of Disinformation   By Benyamin Cohen             TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/06/opinion
2023-06-06   2023-06-12 /climate-change-biofuels-corn-ethanol.html A Climate Solution Thats Bad for the Climate By Michael Grunwald             TX 9-304-143     2023-08-01

                        https://www.nytimes.com/interactive/2023/06/ The Grand Canyon a Cathedral to Time Is
2023-06-06   2023-06-12 06/climate/grand-canyon-colorado-river.html Losing Its River                              By RAYMOND ZHONG              TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/07/movies/ Teenage Fans Homage Becomes Movie
2023-06-07   2023-06-12 spider-man-across-the-spider-verse-lego.html Reality                                    By Carlos Aguilar                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/technol They Fled San Francisco The AI Boom
2023-06-07   2023-06-12 ogy/ai-san-francisco-tech-industry.html      Pulled Them Back                           By Erin Griffith                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/arts/tele
2023-06-08   2023-06-12 vision/jury-duty-freevee.html                Guy Is Duped Audience Goes Wild            By Calum Marsh                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/opinion Oklahoma Breaches the Wall Between
2023-06-08   2023-06-12 /oklahoma-church-state-religion.html         Church and State                           By David French                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/theater/
2023-06-08   2023-06-12 under-the-radar-public-theater.html          Under the Radar Festival Is Dropped        By Alexis Soloski                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/travel/h A New Website Can Help Travelers Find the
2023-06-08   2023-06-12 otel-booking-websites.html                   Cheapest Hotel Room                        By Elaine Glusac                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/arts/hel Helen Thorington 94 Brought Sonic Art to
2023-06-09   2023-06-12 en-thorington-dead.html                      Airwaves                                   By Alex Williams                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/arts/tele Anger Over a Comedians Malaysia Joke
2023-06-09   2023-06-12 vision/jocelyn-chia-malaysia-joke.html       Escalates Into a Diplomatic Incident       By Marc Tracy                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/obituari Overlooked No More Lou Sullivan Author
2023-06-09   2023-06-12 es/lou-sullivan-overlooked.html              and Transgender Activist                   By Megan Milks                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/technol Using AI to Automate the Dreaded Office
2023-06-09   2023-06-12 ogy/ai-meeting-assistant.html                Meeting                                    By Brian X Chen                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/theater/
2023-06-09   2023-06-12 the-hook-waterfront-museum.html              The Hook Finds A Fitting Setting           By Rose Adams                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/busines Tennis Basketball Baseball Speculation Turns By Lauren Hirsch and Michael J de
2023-06-10   2023-06-12 s/dealbook/saudi-sports-investing.html       to the Saudis Next Sports Bet              la Merced                         TX 9-304-143   2023-08-01




                                                                                   Page 5347 of 5793
                        https://www.nytimes.com/2023/06/10/opinion Its Not Just Men and Boys Who Are
2023-06-10   2023-06-12 /forgotten-girls-women.html                Struggling                                  By Jessica Grose                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/10/sports/g How Secrecy Cigars and Italy Nuptials      By Alan Blinder Lauren Hirsch
2023-06-10   2023-06-12 olf/pga-liv-merger-monahan-rumayyan.html Brought PGA Tour and LIV Together             Kevin Draper and Kate Kelly     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/us/ted- Theodore J Kaczynski Boy Genius Turned
2023-06-10   2023-06-12 kaczynski-dead.html                         Unabomber Dies at 81                       By Alex Traub                   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/10/world/e Thunberg Declares End to School Strikes She
2023-06-10   2023-06-12 urope/greta-thunberg-graduates-activism.html Graduated But Mission Continues             By Remy Tumin                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/world/
                        middleeast/saudi-leader-prince-
2023-06-10   2023-06-12 mohammed.html                                Censure of Saudi Leader Turns to Handshakes By Ben Hubbard                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/11/arts/dan
2023-06-11   2023-06-12 ce/review-ballet-tech-kids-dance-joyce.html Lighting Up the Stage With Potential        By Gia Kourlas                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/arts/mu
2023-06-11   2023-06-12 sic/joni-mitchell-gorge-concert.html        Returning to the Stage As Golden as Ever    By Lindsay Zoladz              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/arts/mu
2023-06-11   2023-06-12 sic/sono-fest-brooklyn-ethan-iverson.html   Jazz and Classical Mingle at a New Festival By Seth Colter Walls           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/books/r Holding a Mirror Up to the Entertainment
2023-06-11   2023-06-12 eview/burn-it-down-maureen-ryan.html        Industry                                    By Alexandra Jacobs            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/busines
                        s/media/unabomber-manifesto-ethics-         Unabombers Manifesto Was Published in
2023-06-11   2023-06-12 journalism.html                             1995 The Debate Still Roils                 By Lydia DePillis              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/crossw
2023-06-11   2023-06-12 ords/daily-puzzle-2023-06-12.html           A Crossword Thats a Bit of a Mouthful       By Sam Corbin                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/movies/ Jessie Maple 86 Dies Black Filmmaker Broke
2023-06-11   2023-06-12 jessie-maple-dead.html                      Barriers in Tough Fields                    By Daniel E Slotnik            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/nyregio
                        n/new-york-firefighter-drowns-jersey-       Firefighter Drowns in NJ Trying to Save His
2023-06-11   2023-06-12 shore.html                                  Daughter                                    By Chelsia Rose Marcius        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/nyregio
                        n/randy-cox-new-haven-police-45-            Man Left Paralyzed in Police Encounter Gets
2023-06-11   2023-06-12 million.html                                45 Million Settlement                       By Ana Ley                     TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/11/nyregio Adams Criticized on Deals for Film Studio     By Matthew Haag and Dana
2023-06-11   2023-06-12 n/soccer-stadium-film-studio-adams-nyc.html and Soccer Stadium                           Rubinstein                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/science Owen Gingerich 93 Who Delved Into the
2023-06-11   2023-06-12 /space/owen-gingerich-dead.html             Cosmos and Saw God Dies                      By Neil Genzlinger            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/sports/t Collapsing to the Clay Djokovic Stands Alone
2023-06-11   2023-06-12 ennis/french-open-men-djokovic-ruud.html at Last                                         By Matthew Futterman          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/us/dead-Thousands of Dead Fish Wash Ashore in
2023-06-11   2023-06-12 fish-texas-climate-change.html              Texas                                        By Chris Cameron              TX 9-304-143   2023-08-01




                                                                                Page 5348 of 5793
                        https://www.nytimes.com/2023/06/11/us/phila Officials Weigh Options After Part of I95
2023-06-11   2023-06-12 delphia-i-95-collapse-vehicle-fire.html     Collapses in Philadelphia                   By Amanda Holpuch              TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/11/us/polit Notes by Trumps Own Lawyer Gave a Road By Maggie Haberman Alan Feuer
2023-06-11   2023-06-12 ics/trump-indictment-m-evan-corcoran.html Map to Prosecutors                            and Ben Protess                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/us/polit The GOP Field Faces a Choice Law and        By Jonathan Weisman and Ken
2023-06-11   2023-06-12 ics/trump-indictment-republicans.html       Order or Loyalty                            Bensinger                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/us/polit From a Post in the White House Mess to      By Alan Feuer Maggie Haberman
2023-06-11   2023-06-12 ics/walt-nauta-trump-documents.html         Charges Alongside Trump                     and Jonathan Swan                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/world/a In India Train Crash Most to Die Were the    By Sameer Yasir Mujib Mashal and
2023-06-11   2023-06-12 sia/india-train-crash.html                  Poor                                        Hari Kumar                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/world/a A Dinosaur Fossil Frenzy in Australia Theyre
2023-06-11   2023-06-12 ustralia/australia-dinosaur-fossil.html     Bloody Everywhere                           By Yan Zhuang                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/world/e Scotlands ExLeader Is Arrested in Financial
2023-06-11   2023-06-12 urope/nicola-sturgeon-scotland-arrest.html  Inquiry                                     By Stephen Castle                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/world/e Ukraine Claims Territorial Gains Though
2023-06-11   2023-06-12 urope/ukraine-counteroffensive.html         Slight in Counteroffensive                  By Andrew E Kramer               TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/11/world/e Everything Will Die Ukraines Reservoir
2023-06-11   2023-06-12 urope/ukraine-dam-reservoir-explosion.html Towns Face Extinction                        By Carlotta Gall               TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/11/theater/
                        tony-awards-kimberly-akimbo-
2023-06-12   2023-06-12 leopoldstadt.html                            Gathering to Honor Broadways Best          By Michael Paulson             TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/arts/tele
                        vision/tv-this-week-how-do-you-measure-a-
2023-06-12   2023-06-12 year-project-runway.html                     This Week on TV                            By Shivani Gonzalez            TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/12/busines Hot Inflation Could Make A Fed Pause
2023-06-12   2023-06-12 s/economy/fed-interest-rates-inflation.html ShortLived                                  By Jeanna Smialek              TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/nyregio The Neighbor No One Told Him About A         By Jesse McKinley and Lauren
2023-06-12   2023-06-12 n/love-canal-toxic-homes.html               Former Toxic Waste Site                     Petracca                       TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/sports/b 47 Years Later a Second Chance for the
2023-06-12   2023-06-12 asketball/denver-nuggets-1976.html          Nuggets to Finally Win It All               By Tania Ganguli               TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/world/a
2023-06-12   2023-06-12 sia/china-coast-guard.html                  Beijing Uses Coast Guard Like a Navy        By Damien Cave                 TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/17/science Monoliths Reveal Worlds Oldest
2023-05-17   2023-06-13 /ancient-architecture-desert-kites.html     Architectural Plans                         By Priyanka Runwal             TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/19/science Anxious Arachnids This Spider Looks
2023-05-19   2023-06-13 /joro-spiders.html                          Frightening But It May Be a ScaredyCat      By Kate Golembiewski           TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/05/25/science Jumpy Cephalopods Studying a Snoozing
2023-05-25   2023-06-13 /octopus-nightmare-dream.html               Octopus And Encountering a Nightmare        By Carolyn Wilke               TX 9-304-143     2023-08-01
                                                                    SlowMotion Rodents Cant Wait for
                        https://www.nytimes.com/2023/05/25/science Suspended Animation Maybe Mice Could
2023-05-25   2023-06-13 /ultrasound-brain-hibernation-mice.html     Speed Things Up                             By Veronique Greenwood         TX 9-304-143     2023-08-01




                                                                                 Page 5349 of 5793
                        https://www.nytimes.com/2023/06/01/science A Clearer View XRay Vision Uncovers
2023-06-01   2023-06-13 /ichthyosaur-fossil-x-ray.html             Identity of Fossil Flattened by Time         By Jack Tamisiea                  TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/01/well/m
2023-06-01   2023-06-13 ove/menstrual-cycle-syncing-exercise.html Questions Surround Cycle Syncing              By Alisha Haridasani Gupta        TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/02/well/m Simply Strolling Offers A Chance to Be
2023-06-02   2023-06-13 ove/walking-workout-awe-mental-health.html Amazed                                        By Jancee Dunn                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/03/well/mi What Effective Psychedelic Treatment Looks
2023-06-03   2023-06-13 nd/psychedelic-therapy.html                 Like                                         By Dana G Smith                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/06/opinion                                               By Jaroslaw Kuisz and Karolina
2023-06-06   2023-06-13 /poland-ukraine-west-nato.html              Poland Isnt the Friend the West Thinks It Is Wigura                           TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/06/science
2023-06-06   2023-06-13 /cats-birth-control.html                    Birth Control for Cats Through Gene Therapy By Alla Katsnelson                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/06/well/ha
2023-06-06   2023-06-13 ir-wash-daily.html                          Is It Bad to Wash Your Hair Every Day        By Jancee Dunn                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/07/science Parker Probe Provides Deep Dive Into Solar
2023-06-07   2023-06-13 /sun-solar-wind.html                        Wind                                         By Kenneth Chang                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/07/technol
2023-06-07   2023-06-13 ogy/sam-altman-ai-regulations.html          AI Leader Is Courting Washington             By Cecilia Kang                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/07/well/eat
2023-06-07   2023-06-13 /berberine-weight-loss-ozempic.html         Natures Ozempic Warrants Caution             By Dani Blum                     TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/08/books/l
2023-06-08   2023-06-13 iterary-festivals-calabash-jamaica.html     Celebrating Literature on a Jamaican Beach By Anderson Tepper                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/arts/lgb Six LGBTQ Graphic Novels for Your Pride
2023-06-09   2023-06-13 tq-pride-comics-graphic-novels.html         Month Reading List                           By George Gene Gustines          TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/theater/
                        david-byrne-here-lies-love-broadway-
2023-06-09   2023-06-13 musicians-union.html                        Here Lies Love Settles With Musicians Union By Michael Paulson                TX 9-304-143    2023-08-01

                        https://www.nytimes.com/interactive/2023/06/ See What Canadian Wildfire Smoke Looked
2023-06-09   2023-06-13 09/us/air-quality-smoke-cities-canada-us.html Like in 8 Places This Week                   By KK Rebecca Lai and Jon Huang TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/health/ Nonprofit Hospice Care Appears to Have
2023-06-10   2023-06-13 hospice-profits.html                          Upper Hand                                   By Paula Span                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/opinion DeSantis Has a Theory About the Weak and
2023-06-11   2023-06-13 /desantis-trump-power-2024.html               the Strong                                   By Ezra Klein                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/sports/b Batters Battered The Risky Art Of Standing
2023-06-11   2023-06-13 aseball/pete-alonso-hit-by-pitch.html         Still                                        By Matt Martell                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/theater/
2023-06-11   2023-06-13 tony-award-winners.html                       2023 Tony Award Winners                      By Rachel Sherman               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/arts/dan
                        ce/flamenco-vivo-carlota-santana-turns-       Castanets Forever Carlota Santanas Troupe Is
2023-06-12   2023-06-13 40.html                                       40                                           By Brian Seibert                TX 9-304-143   2023-08-01




                                                                                Page 5350 of 5793
                        https://www.nytimes.com/2023/06/12/arts/mu
                        sic/review-adriana-mater-saariaho-san-     Revisiting a Composer Just Days After Her
2023-06-12   2023-06-13 francisco.html                             Death                                       By Joshua Barone                 TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/arts/mu
2023-06-12   2023-06-13 sic/tribeca-festival-podcasts.html         At Tribeca A Red Carpet For Podcasts        By Reggie Ugwu                   TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/12/busines Soros Succession Plan Goes Into Motion as
2023-06-12   2023-06-13 s/dealbook/george-soros-alex-foundation.html Son Takes Reins                           By Michael J de la Merced        TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/busines
2023-06-12   2023-06-13 s/glory-to-hong-kong-injunction.html         Delay in ProtestSong Ruling in Hong Kong By Tiffany May and Chang Che      TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/busines
                        s/jpmorgan-settlement-jeffrey-epstein-
2023-06-12   2023-06-13 victims.html                                 Epsteins Bank To Pay Victims Of Sex Abuse By Matthew Goldstein             TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/12/busines                                              By Jeremy W Peters and Benjamin
2023-06-12   2023-06-13 s/media/fox-news-tucker-carlson-twitter.html Fox News Tells Carlson To Halt Show        Mullin                          TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/busines
                        s/media/fred-ryan-publisher-washington-      Washington Post Publisher Resigns in His   By Benjamin Mullin and Katie
2023-06-12   2023-06-13 post.html                                    10th Year                                  Robertson                       TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/busines Golden Globes Are Sold The Foreign Press
2023-06-12   2023-06-13 s/media/golden-globes-sale.html              Group Behind Them Is Dead                  By Brooks Barnes                TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/busines
                        s/media/reddit-subreddit-blackout-           Reddit Communities Go Dark to Protest Apps
2023-06-12   2023-06-13 protest.html                                 Pricing Plan                               By Michael Levenson             TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/12/busines Latest WeWork Chief Quits Raising
2023-06-12   2023-06-13 s/wework-softbank-sandeep-mathrani.html      Questions of Viability                    By Maureen Farrell and Peter Eavis TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/climate After Their Horns Are Shaved Off Black
2023-06-12   2023-06-13 /black-rhinos-horns.html                     Rhinos Are Racked by Timidity             By Rachel Nuwer                  TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/health/
2023-06-12   2023-06-13 doctors-chatgpt-artificial-intelligence.html AIs Helping Hand                          By Gina Kolata                   TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/nyregio Franz Leichter Albany Lawmaker With
2023-06-12   2023-06-13 n/franz-s-leichter-dead.html                 Lasting Impact Dies at 92                 By Joseph Berger                 TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/nyregio Sewell the First Woman to Lead The NYPD     By Maria Cramer and Chelsia Rose
2023-06-12   2023-06-13 n/keechant-sewell-resign-nypd.html           Is Going to Resign                        Marcius                          TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/12/nyregio New York Delivery Workers Are Getting a
2023-06-12   2023-06-13 n/nyc-delivery-workers-minimum-wage.html Bump in Pay                                   By Stefanos Chen                 TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/opinion
2023-06-12   2023-06-13 /climate-change-farm-bill-farmers.html       We Can Reduce Farmings Climate Impact     By Robert B Semple Jr            TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/opinion Speaking of Forest Fires Lets Talk About
2023-06-12   2023-06-13 /trump-indictment-wildfires-smoke.html      Trump                                      By Gail Collins and Bret Stephens TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/12/sports/b
                        aseball/subway-series-yankees-mets-
2023-06-12   2023-06-13 pitching.html                               Subway Series Attracts Eyes To the Arms    By Benjamin Hoffman              TX 9-304-143     2023-08-01



                                                                               Page 5351 of 5793
                        https://www.nytimes.com/2023/06/12/sports/g
                        olf/pga-liv-merger-monahan-al-              Will the Mergers Strange Bedfellows Find a
2023-06-12   2023-06-13 rumayyan.html                               Way to Work Together                         By John Branch                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/sports/g The Defending Champ Like Everyone Else Is
2023-06-12   2023-06-13 olf/us-open-fitzpatrick-smith-pga-liv.html  Feeling Confused                             By Bill Pennington                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/sports/s Mbapp Plans to Leave PSG Next Year and a
2023-06-12   2023-06-13 occer/kylian-mbappe-psg.html                Bidding War May Loom                         By Tariq Panja                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/technol
2023-06-12   2023-06-13 ogy/diablo-iv-video-game-sales.html         Blizzard Devilishly Marks a Sales Milestone By Mike Isaac                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/technol                                               By David McCabe and Kellen
2023-06-12   2023-06-13 ogy/ftc-sue-microsoft-activision-deal.html  FTC Sues To Stop Deal For Activision         Browning                           TX 9-304-143   2023-08-01
                                                                                                                 By Jesse Green Maya Phillips
                                                                                                                 Elisabeth Vincentelli Laura
                        https://www.nytimes.com/2023/06/12/theater/                                              CollinsHughes Alexis Soloski and
2023-06-12   2023-06-13 tony-awards-best-worst-moments.html         The Best and Worst at Theaters Biggest Night Sarah Bahr                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/theater/
2023-06-12   2023-06-13 tony-awards-writers-strike-wga.html         With Script or Not a Little Undramatic       By Jesse Green                     TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/12/us/deja- Guilty Plea From Mother Whose Child Shot
2023-06-12   2023-06-13 taylor-guilty-virginia-richneck-shooting.html Teacher                                    By Jacey Fortin                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/us/i-95- Body Is Found as Philadelphia Drivers Are    By Jon Hurdle and Campbell
2023-06-12   2023-06-13 collapse-philadelphia-commute.html            Forced to Detour                           Robertson                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/us/judg Judge Appointed by Defendant Will Wield
2023-06-12   2023-06-13 e-aileen-cannon-trump-trial.html              Control of Trials Pacing and Direction     By Charlie Savage                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/us/mon Landmark Trial Begins In Climate Change
2023-06-12   2023-06-13 tana-youth-climate-trial.html                 Suit By Young Montanans                    By Mike Baker                      TX 9-304-143   2023-08-01
                                                                      They Found a Million Pennies Now This
                        https://www.nytimes.com/2023/06/12/us/one- Family in California Needs Someone to Take
2023-06-12   2023-06-13 million-pennies-los-angeles.html              Them                                       By Lauren McCarthy                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/us/polit Root Canal Forces Biden to Push Back
2023-06-12   2023-06-13 ics/biden-root-canal.html                     Meeting on Ukraine With Alliance Chief     By Zolan KannoYoungs               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/us/polit After Indictment Republicans Leap to Revive
2023-06-12   2023-06-13 ics/hillary-clintons-emails-trump.html        the Clinton Email Controversy              By Reid J Epstein and Katie Glueck TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/us/polit HardRight Legislators Offer McCarthy a Brief
2023-06-12   2023-06-13 ics/house-republicans-mccarthy.html           Reprieve                                   By Annie Karni                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/us/polit In Other Prosecutions Under Espionage Act A By Michael D Shear and Adam
2023-06-12   2023-06-13 ics/trump-espionage-act.html                  Warning to Trump                           Goldman                            TX 9-304-143   2023-08-01
                                                                                                                 By Charlie Savage Maggie
                        https://www.nytimes.com/2023/06/12/us/polit Trump in Florida for 1st Court Appearance    Haberman and Nicholas
2023-06-12   2023-06-13 ics/trump-florida-court-appearance.html       Related to Arraignment                     BogelBurroughs                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/us/polit                                              By Shane Goldmacher Maggie
2023-06-12   2023-06-13 ics/trump-indictment-strategy.html            Framing Case to GOP As a Battle With Biden Haberman and Jonathan Swan         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/us/polit Trump Has Several Options for Fighting       By Alan Feuer Maggie Haberman
2023-06-12   2023-06-13 ics/trump-legal-documents.html                Charges but They Might Face Challenges     and Ben Protess                    TX 9-304-143   2023-08-01




                                                                                Page 5352 of 5793
                        https://www.nytimes.com/2023/06/12/us/supr
                        eme-court-guns-domestic-violence-          Justices May Hear Case on Guns and
2023-06-12   2023-06-13 orders.html                                Domestic Abuse                              By Adam Liptak                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/us/trum On Trumps Turf Volatile Politics Means a    By Nick Madigan Vernica
2023-06-12   2023-06-13 p-voters-florida-jury.html                 Complex Jury Pool                           Zaragovia and Richard Fausset     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/world/a Protests Turn Deadly In Senegal Leaving     By Elian Peltier and Carmen Abd
2023-06-12   2023-06-13 frica/senegal-protests.html                Over a Dozen Dead                           Ali                               TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/12/world/a US Lawmakers Ask White House to Punish
2023-06-12   2023-06-13 frica/south-africa-russia-us-lawmakers.html South Africa for Supporting Russia         By John Eligon                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/world/e
                        urope/guardian-nick-cohen-sexual-           The Guardian Apologizes and Details
2023-06-12   2023-06-13 harassment.html                             Reforms in Handling Sex Abuse Cases        By Jane Bradley                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/world/e
2023-06-12   2023-06-13 urope/italy-berlusconi-career.html          Drawn to the Spotlight Flattering or Not   By Alan Yuhas                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/world/e Drills In Europe Deliver Message For The
2023-06-12   2023-06-13 urope/nato-exercises-germany.html           Kremlin                                    By Lara Jakes                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/world/e                                             By Roger Cohen and Nanna
2023-06-12   2023-06-13 urope/russia-war-belgorod.html              Russian Town Nearly Gutted Along Border    Heitmann                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/world/e
                        urope/scotland-independence-nicola-         Despite Financial Inquiry Movement For
2023-06-12   2023-06-13 sturgeon.html                               Scottish Independence Carries On           By Stephen Castle                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/world/e Silvio Berlusconi Showman of Italian        By Jason Horowitz and Rachel
2023-06-12   2023-06-13 urope/silvio-berlusconi-dead.html           Government Dies at 86                      Donadio                           TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/12/world/e Allies and Enemies Alike Extend Praise For
2023-06-12   2023-06-13 urope/silvio-berlusconi-death-reaction.html Media Mogul and ExPrime Minister           By Elisabetta Povoledo            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/world/e Berlusconi Changed Italy Whether for Better
2023-06-12   2023-06-13 urope/silvio-berlusconi-italy.html          or Worse Is Open to Debate                 By Jason Horowitz                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/12/world/e Kyiv Claims Small Advances in
2023-06-12   2023-06-13 urope/ukraine-counteroffensive-russia.html Counteroffensive but No Breakthroughs      By Andrew E Kramer                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/world/e After a SixYear Hiatus the US Will Rejoin
2023-06-12   2023-06-13 urope/us-china-unesco.html                 UNESCO in July Agency Says                 By Aurelien Breeden                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/world/
                        middleeast/benjamin-netanyahu-trial-yair-  Political Rivals Testimony Drops Hollywood
2023-06-12   2023-06-13 lapid.html                                 Mention Livening Netanyahus Trial          By Patrick Kingsley                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/world/
                        middleeast/saudi-china-investment-         Saudi Arabia and China Flaunt Growing Ties
2023-06-12   2023-06-13 forum.html                                 at an Investment Forum                     By Vivian Nereim                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/world/a                                            By Emiliano Rodrguez Mega and
2023-06-13   2023-06-13 mericas/cuba-oswaldo-paya-death.html       Report Blames Cuba for a Dissidents Death Frances Robles                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/science
2023-06-13   2023-06-13 /archaeology-ancient-rome-medicine.html    Old Roman Medicine Wasnt So Pleasant       By Franz Lidz                      TX 9-304-143   2023-08-01




                                                                               Page 5353 of 5793
                        https://www.nytimes.com/2023/06/02/dining/
2023-06-02   2023-06-14 wedding-cake-recipe.html                        This Wedding Gift Beats an Air Fryer            By Natasha Pickowicz              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/article/easy-lemon-
2023-06-07   2023-06-14 tart-recipe.html                                Easy Lemon Tart With a Timesaving Twist By Melissa Clark                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/dining/f
2023-06-09   2023-06-14 lamin-hot-cheetos-movie.html                    A Missing Ingredient of Flamin Hot Truth        By Tejal Rao                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/movies/ Looking Through A Mens Catalog Buying
2023-06-09   2023-06-14 international-male-notebook.html                Nothing                                         By Erik Piepenburg                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/us/polit Move to Miami Came With Risk For                    By Adam Goldman and Charlie
2023-06-09   2023-06-14 ics/trump-indictment-venue-miami.html           Prosecutors                                     Savage                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/climate An Ambitious Plan to Quench Arizonas                 By Christopher Flavelle and
2023-06-10   2023-06-14 /arizona-desalination-water-climate.html        Thirst                                          Adriana Zehbrauskas               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/sports/b Edward Stack 88 President of Baseball Hall
2023-06-10   2023-06-14 aseball/edward-stack-dead.html                  Who Helped Shut Door on Rose                    By Richard Sandomir               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        09/us/politics/trump-indictment-documents-                                                      By Eleanor Lutz Charlie Smart and
2023-06-10   2023-06-14 mar-a-lago.html                                 Where Documents Were Found at MaraLago Mika Grndahl                               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/arts/me
2023-06-11   2023-06-14 lissa-etheridge-broadway.html                   Etheridge Show Will Come To Broadway            By Julia Jacobs                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/opinion
2023-06-11   2023-06-14 /affirmative-action-supreme-court.html          White Women Should Pay It Forward               By Shira A Scheindlin             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/technol
                        ogy/silicon-valley-confronts-the-idea-that-the- The Singularity Is Here Or Is It Silicon Valley
2023-06-11   2023-06-14 singularity-is-here.html                        Nears a Tipping Point                           By David Streitfeld               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/arts/hea Lacking Heads Sculptures Keep Experts on
2023-06-12   2023-06-14 dless-statues-museums.html                      Toes                                            By Graham Bowley                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/arts/tele Encountering a Killer and Responding With a
2023-06-12   2023-06-14 vision/based-on-a-true-story-review.html        Twist                                           By James Poniewozik               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/arts/tele TV Viewership of the Tony Awards Rises to
2023-06-12   2023-06-14 vision/tony-awards-ratings.html                 43 Million                                      By John Koblin                    TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/12/books/b
2023-06-12   2023-06-14 eyond-this-harbor-rose-styron-memoir.html She Opened Her Door And Mind To Others            By Celia McGee                      TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/books/e BestSelling Author Delays a New Novel She        By Elizabeth A Harris and
2023-06-12   2023-06-14 lizabeth-gilbert-book-russia.html           Set in Siberia                                  Alexandra Alter                     TX 9-304-143     2023-08-01
                        https://www.nytimes.com/article/juneteenth-
2023-06-12   2023-06-14 recipes-food.html                           For Juneteenth Recipes in Scarlet               By Millie Peartree                  TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/12/arts/tele Wheel of Fortune Will Spin Without Pat
2023-06-13   2023-06-14 vision/pat-sajak-retire-wheel-of-fortune.html Sajak in 2024                             By Jesus Jimnez                  TX 9-304-143            2023-08-01
                        https://www.nytimes.com/2023/06/12/arts/tele Treat Williams 71 Dynamic Star Of Hair and
2023-06-13   2023-06-14 vision/treat-williams-dead.html               Everwood Is Dead                          By Neil Genzlinger and Mike Ives TX 9-304-143            2023-08-01
                        https://www.nytimes.com/2023/06/12/sports/b
                        asketball/denver-nuggets-miami-heat-nba-      The Journey Was Long But the Nuggets End
2023-06-13   2023-06-14 finals.html                                   It With an NBA Title                      By Tania Ganguli                 TX 9-304-143            2023-08-01



                                                                                   Page 5354 of 5793
                        https://www.nytimes.com/2023/06/12/us/unab For Unabombers Victims Reflections and
2023-06-13   2023-06-14 omber-kaczynski-victims.html               Closure                                       By Anna Betts                   TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/13/arts/dan
2023-06-13   2023-06-14 ce/hydro-parade-metropolitan-museum.html Dancers Tap Museums Fluid Energy              By Gia Kourlas                    TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/arts/dan
                        ce/van-cleef-arpels-bring-dance-festival-to-
2023-06-13   2023-06-14 new-york.html                                A New Dance Fest for New York             By Javier C Hernndez              TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/arts/kan
                        dinsky-painting-german-bank-jewish-          Panel Says Painting Belongs With Jewish
2023-06-13   2023-06-14 heirs.html                                   Heirs                                     By Catherine Hickley              TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/arts/mu
2023-06-13   2023-06-14 sic/paul-mccartney-ai-beatles-song.html      McCartney Says Last Beatles Song Uses AI By Derrick Bryson Taylor           TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/books/c Cormac McCarthy 89 Literary Loner in a
2023-06-13   2023-06-14 ormac-mccarthy-dead.html                     Dark World Is Dead                        By Dwight Garner                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/briefing
2023-06-13   2023-06-14 /democrats-elections-poll.html               Democrats Mission Win the BlueCollar Vote By David Leonhardt                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/busines Yellen Tells House Panel US Needs To
2023-06-13   2023-06-14 s/economy/janet-yellen-china.html            Bolster Economic Ties With China          By Alan Rappeport                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/busines
2023-06-13   2023-06-14 s/food-prices-inflation-may.html             As Inflation Cools Food Gets Pricier      By Madeleine Ngo                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/busines New Report Makes Case For Increases To Be
2023-06-13   2023-06-14 s/may-consumer-price-index.html              Paused                                    By Jeanna Smialek                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/busines Inflation Forces Britain to Brace For High
2023-06-13   2023-06-14 s/uk-interest-rates-inflation.html           Rates                                     By Eshe Nelson                    TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/dining/f
2023-06-13   2023-06-14 athers-day-dad-food.html                     Dad Is Leaving the Grill in the Dust      By J J Goode                      TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/dining/ Sartianos Replaces Mercer Kitchen in the
2023-06-13   2023-06-14 nyc-restaurant-news.html                     Mercer Hotel                              By Florence Fabricant             TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/13/dining/r
2023-06-13   2023-06-14 estaurant-review-wylie-dufresne-pizzeria.html Reinvented Pizza Falls a Little Short      By Pete Wells                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/nyregio NYPD Commissioner Kept Her Plans Quiet        By Chelsia Rose Marcius Maria
2023-06-13   2023-06-14 n/keechant-sewell-nypd-resignation.html       as She Prepared to Depart                  Cramer and William K Rashbaum   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/nyregio Rikers Monitor Rebukes Citys Jails Chief in
2023-06-13   2023-06-14 n/rikers-hearing-doc.html                     Hearing and Pushes for Transparency        By Jonah E Bromwich             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/opinion
2023-06-13   2023-06-14 /berlusconi-italy-trump.html                  Before Trump There Was Berlusconi          By Mattia Ferraresi             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/opinion
2023-06-13   2023-06-14 /trump-indictment-documents.html              Lock Him Up                                By Bret Stephens                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/sports/b In Defeat the Heat Prove the Value Of
2023-06-13   2023-06-14 asketball/miami-heat-nba-finals.html          Patience                                   By Scott Cacciola               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/13/sports/g
2023-06-13   2023-06-14 olf/us-open-pga-liv-merger.html               Questions Abound A Week After a Quake      By Alan Blinder and Kevin Draper TX 9-304-143   2023-08-01




                                                                                Page 5355 of 5793
                        https://www.nytimes.com/2023/06/13/sports/g
2023-06-13   2023-06-14 olf/us-open-tiger-woods.html                Woods Is Absent But Far From Forgotten     By Bill Pennington               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/sports/o
                        lympics/tori-bowie-death-childbirth-        Difficulties In Childbirth Claimed Life Of
2023-06-13   2023-06-14 pregnant.html                               Olympian                                   By Talya Minsberg                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/sports/s Mbapps Decision to Split With Club Widens
2023-06-13   2023-06-14 occer/mbappe-psg-real-madrid.html           Into a War of Words                        By Tariq Panja                   TX 9-304-143   2023-08-01
                                                                    Judge Urges SEC to Compromise With         By Ephrat Livni David
                        https://www.nytimes.com/2023/06/13/technol Binance So the Exchange Can Continue US YaffeBellany and Matthew
2023-06-13   2023-06-14 ogy/binance-sec-cryptocurrency.html         Operations                                 Goldstein                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/us/polit
                        ics/e-jean-carroll-trump-defamation-        Judge to Allow New Comments In Carroll
2023-06-13   2023-06-14 lawsuit.html                                Suit                                       By Benjamin Weiser               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/us/polit
                        ics/house-resolution-evan-gershkovich-paul- House Demands Release of American
2023-06-13   2023-06-14 whelan.html                                 Reporter                                   By Karoun Demirjian              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/us/polit Actions of GOP Rebels Upend Rules of
2023-06-13   2023-06-14 ics/house-rules-republicans.html            House                                      By Carl Hulse                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/us/polit GOP Rivals Showing More Willingness to     By Neil Vigdor and Shane
2023-06-13   2023-06-14 ics/nikki-haley-tim-criticize-trump.html    Criticize Trumps Actions                   Goldmacher                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/us/polit CIA Admonished Kyiv Against Pipeline       By Julian E Barnes and Michael
2023-06-13   2023-06-14 ics/nord-stream-pipeline-ukraine-cia.html   Attack                                     Schwirtz                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/us/polit Momentous Scene in Miaimi as Trump Pleads By Glenn Thrush Nicholas
2023-06-13   2023-06-14 ics/trump-arraignment-documents.html        Not Guilty                                 Nehamas and Eileen Sullivan      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/us/polit Prosecutor And Trump Cross Paths
2023-06-13   2023-06-14 ics/trump-arraignment-miami-court.html      Wordlessly                                 By Glenn Thrush                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/us/polit Trump and Aide Arent Allowed To Discuss By Maggie Haberman and Alan
2023-06-13   2023-06-14 ics/trump-nauta-indictment.html             Case                                       Feuer                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/us/polit US Soldiers Hurt in Syria Represented An
2023-06-13   2023-06-14 ics/us-soldiers-injured-syria.html          Elite Unit                                 By Eric Schmitt                  TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/13/us/sout                                          By Elizabeth Dias and Ruth
2023-06-13   2023-06-14 hern-baptist-movement-women-pastors.html Baptists Push To Bar Women From Ministry Graham                                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/world/a Over 100 Die As Boat Sinks After Wedding
2023-06-13   2023-06-14 frica/nigeria-wedding-boat-capsize.html    In Nigeria                               By Elian Peltier and Ismail Alfa    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/world/a
                        mericas/colombia-children-amazon-jungle-   Children Rescued in Colombia Jungle Had  By Julie Turkewitz and Genevieve
2023-06-13   2023-06-14 survivors.html                             Fled Recruitment by Armed Group          Glatsky                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/world/a For Abandoned Wives in Punjab Life Is a
2023-06-13   2023-06-14 sia/india-brides-women.html                Dark Dungeon                             By Sameer Yasir                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/world/e Man Arrested in Britain After a Spree of By Cora Engelbrecht and David
2023-06-13   2023-06-14 urope/nottingham-uk-incident-deaths.html   Violence                                 Cole                                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/world/e Hitting Back Russia Fights To Recapture
2023-06-13   2023-06-14 urope/russia-ukraine-putin.html            Donbas Land                              By Andrew E Kramer                  TX 9-304-143   2023-08-01




                                                                               Page 5356 of 5793
                        https://www.nytimes.com/2023/06/13/world/e                                                 By Elisabetta Povoledo and Gaia
2023-06-13   2023-06-14 urope/silvio-berlusconi-italy.html           Once Again Berlusconi Seizes Italys Attention Pianigiani                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/world/e Sentencing for PillsbyMail Abortion Opens a
2023-06-13   2023-06-14 urope/uk-abortion-prison-sentence.html       Heated Debate in Britain                      By Emma Bubola                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/world/e Every Block Is Another Battle for the Cyborgs By Jeffrey Gettleman and Finbarr
2023-06-13   2023-06-14 urope/ukraine-russia-war-marinka.html        in Ukraines East                              OReilly                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/world/ Egypts Leader Opens Limited Dialogue With
2023-06-13   2023-06-14 middleeast/egypt-opposition-talks.html       Opposition                                    By Vivian Yee                     TX 9-304-143   2023-08-01
                                                                                                                   By Nikita Richardson Umi Syam
                                                                                                                   Martn Gonzlez Gmez Becky
                                                                                                                   Hughes Sara Bonisteel Pete Wells
                        https://www.nytimes.com/interactive/2023/din                                               Priya Krishna Florence Fabricant
2023-06-13   2023-06-14 ing/new-york-summer-food-map.html            Where to Eat in New York City This Summer Eric Asimov and Alexa Weibel          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/opinion Trump Thrives in a Broken System Hell Get
2023-06-14   2023-06-14 /trump-indictment-presidency.html            Us There Soon                                 By Thomas L Friedman              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/us/polit
                        ics/trump-indictment-documents-fact-         Trumps Take on His Classified Documents
2023-06-14   2023-06-14 check.html                                   Case                                          By Linda Qiu                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/busines Affordable Housing Shortage Keeps
2023-06-14   2023-06-14 s/affordable-housing-developers.html         Widening                                      By Patrick Sisson                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/insider/
2023-06-14   2023-06-14 a-meteorologist-weathers-the-storm.html      A Meteorologist Weathers Storms and Smoke By Emmett Lindner                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/nyregio The Mayors Rapidly Dwindling                    By Dana Rubinstein Jeffery C Mays
2023-06-14   2023-06-14 n/eric-adams-keechant-sewell.html            Administration                                and Emma G Fitzsimmons            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/sports/b ExTeammates Add Extra Buzz to Subway
2023-06-14   2023-06-14 aseball/verlander-cole-yankees-mets.html     Series                                        By Matt Martell                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/technol AI Can Add 44 Trillion Worldwide Report
2023-06-14   2023-06-14 ogy/generative-ai-global-economy.html        Says                                          By Yiwen Lu                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/us/polit Allies Pressure Biden to Establish Timetable By David E Sanger and Steven
2023-06-14   2023-06-14 ics/biden-nato-ukraine.html                  for Ukraine to Join NATO                      Erlanger                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/us/polit Democrats Greet Charges With Mix of Glee By Reid J Epstein Anjali Huynh
2023-06-14   2023-06-14 ics/democrats-trump-indictment.html          and Gloom                                     and Alyce McFadden                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/your-
                        money/affordable-homeowners-
2023-06-14   2023-06-14 insurance.html                               How to Save On Coverage In Fire Areas         By Tara Siegel Bernard            TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/07/t-
2023-06-07   2023-06-15 magazine/rick-lowe-project-row-houses.html People Places Things                          By Adam Bradley                   TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/11/arts/dan
2023-06-11   2023-06-15 ce/review-royal-ballet-wayne-mcgregor.html Movement Music and Set All Interacting        By Roslyn Sulcas                  TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/style/go Dressed to Kill and Having a WeekendLong
2023-06-12   2023-06-15 vernors-ball-weather.html                   Ball                                         By Wilson Wong                    TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/style/to After the Tonys It Was Time to Present the
2023-06-12   2023-06-15 ny-awards-after-party.html                  Party                                        By Sarah Bahr and Nancy Coleman TX 9-304-143       2023-08-01



                                                                                 Page 5357 of 5793
                        https://www.nytimes.com/2023/06/13/arts/des
2023-06-13   2023-06-15 ign/art-fairs-cologne-gendai.html            The many lives of art fairs                   By Ted Loos                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/arts/des
2023-06-13   2023-06-15 ign/istanbul-modern-renzo-piano.html         Modern rooms with water views                 By David Belcher                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/arts/des
                        ign/met-museum-trains-monuments-men-
2023-06-13   2023-06-15 ukraine.html                                 The Battle to Save Ukraines Cultural Heritage By Zachary Small                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/arts/des
2023-06-13   2023-06-15 ign/mexico-city-lago-algo.html               A design landmark now something else          By Ray Mark Rinaldi              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/arts/elv
2023-06-13   2023-06-15 is-trust-priscilla-presley-riley-keough.html Presley Trust Dispute Is Settled              By Matt Stevens                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/arts/mu From Jewish Kid To Latin Music Recording
2023-06-13   2023-06-15 sic/harvey-averne-latin-music.html           Giant                                         By Jessica Lipsky                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/arts/tele
2023-06-13   2023-06-15 vision/pat-sajak-wheel-of-fortune.html       Tranquillity At the Center Of the Wheel       By James Poniewozik              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/books/c                                                 By The New York Times Books
2023-06-13   2023-06-15 ormac-mccarthy-best-books.html               Stories of Misfits and the Apocalypse         Staff                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/sports/g A Seismic Merger Between Two Rivals Roils
2023-06-13   2023-06-15 olf/liv-pga-tour-washington.html             Lawmakers                                     By Alan Blinder and Kevin Draper TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/style/m A HighEnd Handbag Smaller Than a Grain of
2023-06-13   2023-06-15 schf-microscopic-handbag.html                Salt                                          By Callie Holtermann             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/13/sports/h In Just Six Seasons Vegas Cashes In a Stanley
2023-06-14   2023-06-15 ockey/nhl-stanley-cup-knights-panthers.html Cup Title                                     By Ken Belson                  TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/13/us/curr Councilman In LA Faces Accusations Of
2023-06-14   2023-06-15 en-price-los-angeles-corruption.html        Corruption                                    By Jill Cowan                  TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/13/us/polit Some Birthday He Grumbles After His           By Shane Goldmacher and Maggie
2023-06-14   2023-06-15 ics/trump-indictment-2024-campaign.html     Arraignment                                   Haberman                       TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/14/arts/joh John Romita Sr 93 Defined or Refined Marvel By Derrick Bryson Taylor and
2023-06-14   2023-06-15 n-romita-sr-dead.html                       Comics Heroes and Villains                    George Gene Gustines           TX 9-304-143      2023-08-01

                        https://www.nytimes.com/2023/06/14/arts/mu
2023-06-14   2023-06-15 sic/american-ballet-theater-chief-resigns.html Ballet Theater Chief Resigns Suddenly    By Javier C Hernndez              TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/14/arts/mu
2023-06-14   2023-06-15 sic/el-ultimo-sueno-san-francisco-opera.html In Full Voice A City Resounds               By Joshua Barone                 TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/14/arts/per
2023-06-14   2023-06-15 elman-performing-arts-center.html            OpeningSeason Offerings on Three Stages     By Robin Pogrebin                TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/14/books/r
2023-06-14   2023-06-15 eview/cormac-mccarthy.html                   Riding Into a BloodRed Sunset               By AO Scott                      TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/14/books/r
2023-06-14   2023-06-15 obert-gottlieb-dead.html                     Editor to a Whos Who of 20thCentury Writers By Robert D McFadden             TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/14/busines
2023-06-14   2023-06-15 s/amazon-union-uk.html                       A Union Bid at Amazon Stalls in Britain     By Eshe Nelson                   TX 9-304-143     2023-08-01




                                                                                  Page 5358 of 5793
                        https://www.nytimes.com/2023/06/14/busines Bud Light Loses Perch As Top Seller After
2023-06-14   2023-06-15 s/bud-light-lgbtq-backlash.html            Boycott                                       By J Edward Moreno              TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/busines With Economic Upswing Japan Is Luring
2023-06-14   2023-06-15 s/japan-stock-markets.html                 Investors                                     By Vivek Shankar                TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/14/busines Screen Alert on Fox News Calls Biden a
2023-06-14   2023-06-15 s/media/fox-news-biden-dictator-trump.html Wannabe Dictator                              By Mike Ives                    TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/busines The Worlds Demand for Oil Is Predicted to
2023-06-14   2023-06-15 s/oil-demand-slowing.html                   Sharply Slow                                 By Stanley Reed                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/busines
                        s/what-to-know-about-the-feds-meeting-      In Bid for Time Fed Ends String Of Raising
2023-06-14   2023-06-15 today.html                                  Rates                                        By Jeanna Smialek               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/climate
2023-06-14   2023-06-15 /enriched-uranium-nuclear-russia-ohio.html Despite War Paying Russia For Uranium         By Max Bearak                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/nyregio
                        n/daniel-penny-jordan-neely-chokehold-      Grand Jury Indicts Man In Subway Choking
2023-06-14   2023-06-15 indicted.html                               Death                                        By Jonah E Bromwich             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/nyregio
2023-06-14   2023-06-15 n/new-york-sewer-concert.html               From a Sewer Beautiful Music                 By Dodai Stewart                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/opinion
2023-06-14   2023-06-15 /donald-trump-indictment.html               The Impossible Task of Defending Trump       By Jesse Wegman                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/opinion LGBTQ Americans as a New Class of
2023-06-14   2023-06-15 /transgender-florida.html                   Political Refugees                           By Charles M Blow               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/opinion
2023-06-14   2023-06-15 /trump-prison-convicted.html                A President Governing From Behind Bars       By Nicholas Kristof             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/science Roger Payne 88 Who Saved Whales That
2023-06-14   2023-06-15 /roger-payne-dead.html                      Serenaded World Dies                         By Sam Roberts                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/sports/b
2023-06-14   2023-06-15 aseball/oakland-las-vegas-athletics.html    Its Almost Over in Oakland                   By Benjamin Hoffman             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/sports/b After Years of Hype a Matchup Where the
2023-06-14   2023-06-15 oxing-crawford-spence.html                  Best Are Fighting the Best                   By Emmanuel Morgan              TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/sports/g
2023-06-14   2023-06-15 olf/corey-pavin-us-open.html                The right club for the win                   By Michael Arkush               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/sports/g
                        olf/us-open-2023-los-angeles-country-club-
2023-06-14   2023-06-15 par-threes.html                             Beautiful Yes Simple Not so much             By Liz Robbins                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/sports/g
                        olf/us-open-los-angles-country-club-course- A Pro Talks You Through the Course Its
2023-06-14   2023-06-15 guide.html                                  Tough                                        By Alan Blinder and Meg Oliphant TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/14/sports/g
2023-06-14   2023-06-15 olf/usopen-usga-monahan-whan-liv-pga.html USGA Steadfast About Shorter Tee Shots        By Alan Blinder and Kevin Draper TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/style/gh
2023-06-14   2023-06-15 erardo-guarducci-sant-ambroeus.html         Where the Fine Dining Is Like Show Business By Ruth La Ferla                 TX 9-304-143    2023-08-01




                                                                                Page 5359 of 5793
                        https://www.nytimes.com/2023/06/14/style/je
2023-06-14   2023-06-15 nsen-huang-nvidia-leather-jackets.html      Silicon Valley Has a New Style Star        By Vanessa Friedman                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/technol Europeans Take Major Step Toward
2023-06-14   2023-06-15 ogy/europe-ai-regulation.html               Regulating AI                              By Adam Satariano                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/technol EU Adds Google Charges Targeting Its Ad
2023-06-14   2023-06-15 ogy/google-antitrust-european-union.html    Dominance                                  By Adam Satariano                  TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/14/technol
2023-06-14   2023-06-15 ogy/google-class-action-settlement-claim.html How to Claim Money Google May Owe You By Orlando Mayorquin                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/technol Music Publishers Seek 250 Million In
2023-06-14   2023-06-15 ogy/music-twitter-lawsuit-elon-musk.html      Copyright Suit Against Twitter             By Ben Sisario and Ryan Mac       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/theater/
2023-06-14   2023-06-15 come-for-me-review.html                       She Confidently Overshares Jokes Included By Elisabeth Vincentelli           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/theater/
2023-06-14   2023-06-15 william-jackson-harper-primary-trust.html     Taking His Part To Heart                   By Alexis Soloski                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/us/polit House Kills Attempt to Formally Censure
2023-06-14   2023-06-15 ics/adam-schiff-censure.html                  Schiff                                     By Karoun Demirjian               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/us/polit
                        ics/aileen-cannon-judge-trump-                                                           By Michael S Schmidt and Charlie
2023-06-14   2023-06-15 documents.html                                Judges Record In Trump Case Raises Concern Savage                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/us/polit US and Iran Quietly Discussing A Deal to     By Michael Crowley Farnaz Fassihi
2023-06-14   2023-06-15 ics/biden-iran-nuclear-program.html           Ease Nuclear Tensions                      and Ronen Bergman                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/us/polit Blinken Plans Trip to China That Balloon
2023-06-14   2023-06-15 ics/blinken-china-visit.html                  Had Scrubbed                               By Edward Wong                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/us/polit
                        ics/francis-suarez-2024-election-             Miami Mayor Enters Presidential Race       By Maggie Astor and Patricia
2023-06-14   2023-06-15 republican.html                               Joining a Crowded GOP Field                Mazzei                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/us/polit How the Next Few Months May Unfold as the By Alan Feuer and Maggie
2023-06-14   2023-06-15 ics/next-steps-trump-documents-case.html      Defendant Pursues the Presidency           Haberman                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/us/polit
2023-06-14   2023-06-15 ics/trump-donations-indictment.html           Trump Raises 66 Million After Indictment   By Anjali Huynh                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/us/polit
2023-06-14   2023-06-15 ics/trump-indictment-biden.html               Trump Tries to Shift Spotlight to Biden    By Michael D Shear                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/14/us/polit Coverage of Case Leaves GOP Rivals With a By Jonathan Swan and Jonathan
2023-06-14   2023-06-15 ics/trump-indictment-republican-rivals.html Question Remember Us                          Weisman                         TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/us/polit
                        ics/trump-lawyers-witnesses-nauta-          Trumps Allies May Be Prosecutions             By Alan Feuer Maggie Haberman
2023-06-14   2023-06-15 corcoran.html                               Witnesses                                     and Glenn Thrush                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/us/polit Bipartisan Support for Fortifying Kyiv Erodes
2023-06-14   2023-06-15 ics/us-ukraine-spending.html                in Washington                                 By Karoun Demirjian             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/us/sout Southern Baptists Vote to Expand Restrictions By Ruth Graham and Elizabeth
2023-06-14   2023-06-15 hern-baptist-women-pastors-ouster.html      on Women                                      Dias                            TX 9-304-143    2023-08-01




                                                                                Page 5360 of 5793
                        https://www.nytimes.com/2023/06/14/world/a
                        mericas/jose-ruben-zamora-journalist-      A Journalist Who Exposed Corruption Is Sent By Emiliano Rodrguez Mega and
2023-06-14   2023-06-15 guatemala.html                             to Jail                                      Jody Garca                       TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/world/a With Visit by Abbas China Courts Prestige as
2023-06-14   2023-06-15 sia/china-mahmoud-abbas-xi-jinping.html    a Mediator                                   By Vivian Wang                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/world/a Droves in Pakistan Switch Parties Amid       By Salman Masood and Christina
2023-06-14   2023-06-15 sia/pakistan-imran-khan-defection.html     Crackdown                                    Goldbaum                         TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/world/a South Korea Turns Scraps From Food Into
2023-06-14   2023-06-15 sia/south-korea-food-waste.html            Fuel                                         By John Yoon and Chang W Lee     TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/14/world/e
                        urope/boris-johnson-rishi-sunak-house-of-  JohnsonSunak Feud Injures House of Lords
2023-06-14   2023-06-15 lords.html                                 Both Men and Their Party                     By Stephen Castle                TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/14/world/e Germany Adopts a National Security Strategy By Steven Erlanger and Christopher
2023-06-14   2023-06-15 urope/germany-national-security-strategy.html Critics Call It Weak                     F Schuetze                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/world/e At Least 79 Die as Migrants Boat Sinks Near By Niki Kitsantonis and Cora
2023-06-14   2023-06-15 urope/greece-migrants-boat-sank.html          Greece                                   Engelbrecht                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/world/e Israels Judicial Crisis Resurfaces as Talks
2023-06-14   2023-06-15 urope/israel-judicial-crisis-netanyahu.html   Abruptly Halt                            By Patrick Kingsley                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/world/e No Charges For Israelis In the Death Of a By Patrick Kingsley and Hiba
2023-06-14   2023-06-15 urope/israel-palestinians-idf.html            Detainee                                 Yazbek                             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/14/world/e Popular UK TV Anchor Quits Amid Sex
2023-06-14   2023-06-15 urope/uk-phillip-schofield-this-morning.html Scandal                                  By Stephen Castle                TX 9-304-143      2023-08-01
                        https://www.nytimes.com/article/ukraine-     Ukrainian Forces Are on the Attack but
2023-06-14   2023-06-15 counteroffensive-what-to-know.html           Measuring Their Success Is Difficult     By Helene Cooper                 TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/14/climate Supporting Biden Despite Broken Climate
2023-06-15   2023-06-15 /environmental-groups-endorse-biden.html     Promises                                 By Lisa Friedman                 TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/14/us/wild Unhealthy Haze Drapes Minnesota as Smoke
2023-06-15   2023-06-15 fire-smoke-minnesota.html                    Drifts In From Canada                    By Anna Betts and Ernesto Londoo TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/15/insider/
2023-06-15   2023-06-15 15liv-pga-deal.html                          Ahead of the US Open an Unlikely Pairing By Sarah Bahr                    TX 9-304-143      2023-08-01

                        https://www.nytimes.com/2023/06/15/science More Threatened Red Knot Shorebirds Are
2023-06-15   2023-06-15 /red-knots-jersey-shorebird-threatened.html Seen on Jersey Shore Beaches               By Jon Hurdle                     TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/15/style/eli
2023-06-15   2023-06-15 russell-linnetz-clothing-fashion-designer.html So Many Ways to Tell His Stories        By Jessica Testa                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/15/us/polit Trump Supporters Avoid Conflict in Miami
2023-06-15   2023-06-15 ics/trump-protests-proud-boys.html             Despite Calls for Retribution           By Alan Feuer                     TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/books/f
2023-06-09   2023-06-16 iction-summer-books.html                       Fiction                                 By Kate Dwyer                     TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/09/books/n                                             By Joumana Khatib and Neima
2023-06-09   2023-06-16 onfiction-summer-books.html                    Nonfiction                              Jahromi                           TX 9-304-143    2023-08-01




                                                                               Page 5361 of 5793
                        https://www.nytimes.com/2023/06/12/arts/des
2023-06-12   2023-06-16 ign/noah-horowitz-art-basel.html             Art Basels New Chief Is All About the Brand By Scott Reyburn             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/arts/tele
                        vision/based-on-a-true-story-kaley-cuoco-
2023-06-13   2023-06-16 chris-messina.html                           Murder He Wrote He Also Committed It        By Jennifer Vineyard         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/movies/
                        cormac-mccarthy-film-adaptations-            Hollywood Ended Up Being A Country for
2023-06-13   2023-06-16 stream.html                                  This Master                                 By Chris Vognar              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/movies/
2023-06-13   2023-06-16 horseplay-review.html                        Horseplay                                   By Kyle Turner               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/opinion Shiny Happy People Fundamentalism and
2023-06-13   2023-06-16 /shiny-happy-people.html                     Seeking Certainty                           By David French              TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/14/arts/dan
2023-06-14   2023-06-16 ce/petronio-residency-center-to-close.html  Artist Residency to Close After SixYear Run By Siobhan Burke              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/arts/des
2023-06-14   2023-06-16 ign/mark-bradford-artist-hauser-wirth.html  Predators Prowl in Paper Jungles            By John Vincler               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/arts/kev Kevin Spacey Facing Trial in London Plans a
2023-06-14   2023-06-16 in-spacey-trial-uk.html                     Return to Acting                            By Christopher Kuo            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/busines                                              By Jordyn Holman and Thomas
2023-06-14   2023-06-16 s/westfield-mall-sf.html                    Urban Centers Stagger as Retailers Flee     Fuller                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/health/ New Drugs Can Treat Obesity But Stigma Is a
2023-06-14   2023-06-16 obesity-drugs-wegovy-ozempic.html           Different Story                             By Gina Kolata                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/movies/ Oh Therere a Few Speed Bumps Along the
2023-06-14   2023-06-16 the-flash-review-ezra-miller.html           Way                                         By Manohla Dargis             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/14/opinion Leaving Trumps Fate to 12 Ordinary Citizens
2023-06-14   2023-06-16 /donald-trump-indictment-florida-jurors.html Is Genius                                 By Deborah Pearlstein          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/science Ocean on Moon of Saturn Has Ingredients for
2023-06-14   2023-06-16 /enceladus-phosphorus-life.html              Life                                      By Katrina Miller              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/sports/f Jim Turner 82 Whose Foot Backed Up
2023-06-14   2023-06-16 ootball/jim-turner-dead.html                 Namaths Mouth as the Jets Won It All      By Alex Traub                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/world/e
                        urope/ukraine-russia-war-occupied-
2023-06-14   2023-06-16 village.html                                 Crude Scrawls Reveal Minds Of Occupiers   By Thomas GibbonsNeff          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/busines
                        s/economy/west-coast-dock-workers-           West Coast Dockworkers Reach a Deal With
2023-06-15   2023-06-16 contract.html                                Ports                                     By Kurtis Lee                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/theater/
2023-06-15   2023-06-16 a-simulacrum-review-lucas-hnath.html         Sleight of Hand but Deconstructed         By Maya Phillips               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/us/lond
2023-06-15   2023-06-16 on-breed-san-francisco-mayor.html            Mayor Discusses San Franciscos Struggles  By Thomas Fuller               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/arts/des
                        ign/bob-thompson-52-walker-michael-
2023-06-15   2023-06-16 rosenfeld.html                               One Great Artist Seen in Two Parts        By Roberta Smith               TX 9-304-143   2023-08-01



                                                                                Page 5362 of 5793
                        https://www.nytimes.com/2023/06/15/arts/des
                        ign/patterson-new-york-botanical-garden-
2023-06-15   2023-06-16 review-vultures.html                        Amid the Flowers Lurks a Provocative Flock By Will Heinrich              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/arts/mu Feeling Heat From Biden Ticket Giants Yield By Ben Sisario and Zolan
2023-06-15   2023-06-16 sic/live-nation-ticketmaster-junk-fees.html on Fees                                    KannoYoungs                   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/15/arts/tele
2023-06-15   2023-06-16 vision/righteous-gemstones-john-early.html This Weekend I Have                          By Margaret Lyons            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/busines Is Beyonc Effect Spiking Swedens Inflation
2023-06-15   2023-06-16 s/beyonce-inflation-sweden.html              Some Say So                                By Eshe Nelson               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/busines European Bank Lifts Rates And Indicates It
2023-06-15   2023-06-16 s/ecb-interest-rates-europe.html             Isnt Done                                  By Eshe Nelson               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/busines Bipartisan Proposals Would Hit ECommerce
2023-06-15   2023-06-16 s/ecommerce-shein-us-china-trade.html        Like Fast Fashion                          By Jordyn Holman             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/15/busines As USChina Ties Sour Chinese Brands Seek
2023-06-15   2023-06-16 s/economy/china-business-tiktok-shein.html Space From Beijing                             By Ana Swanson             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/busines
                        s/elizabeth-holmes-theranos-victim-        Holmes Says She Cant Make 250 Payments to
2023-06-15   2023-06-16 payments.html                              Theranos Victims                               By Amanda Holpuch          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/busines Maker of Pyrex And Instant Pot Eyes
2023-06-15   2023-06-16 s/instant-brands-bankruptcy.html           Protection                                     By Jesus Jimnez            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/busines
2023-06-15   2023-06-16 s/sam-bankman-fried-charges.html           US Withdraws Some Charges In FTX Case By David YaffeBellany               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/busines Some Starbucks Are Banning Pride Dcor          By Remy Tumin and Amanda
2023-06-15   2023-06-16 s/starbucks-pride-decorations.html         Union Says                                     Holpuch                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/climate Mays Ocean Temperatures Are the Hottest on
2023-06-15   2023-06-16 /oceans-global-warming.html                Record                                         By Delger Erdenesanaa      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/fashion
2023-06-15   2023-06-16 /calendar-watches.html                     The cultural ties of time                      By Carol Besler            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/fashion
                        /the-simple-reasons-for-collecting-
2023-06-15   2023-06-16 complicated-watches.html                   The simple appeal of complicated watches       By Anders Modig Davin      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/fashion
                        /watches-american-indian-silver-
2023-06-15   2023-06-16 accessories.html                           An abiding accessory                           By Janelle Conaway         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/fashion
2023-06-15   2023-06-16 /watches-artificial-intelligence.html      A tentative embrace of artificial intelligence By Victoria Gomelsky       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/fashion
2023-06-15   2023-06-16 /watches-daniel-roth-switzerland.html      The return of Daniel Roth the brand            By Anders Modig Davin      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/fashion
2023-06-15   2023-06-16 /watches-suzanne-wong-lydia-winters.html   A superhero cape for the wrist                 By Victoria Gomelsky       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/fashion
2023-06-15   2023-06-16 /watches-yachts-richard-mille.html         A human adventure                              By Ming Liu                TX 9-304-143   2023-08-01




                                                                               Page 5363 of 5793
                        https://www.nytimes.com/2023/06/15/fashion
2023-06-15   2023-06-16 /watchtime-new-york-trade-fair.html          A watch fair readies for more            By Kathleen Beckett      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/health/f Panel Advises Next Vaccine Should Target
2023-06-15   2023-06-16 da-covid-vaccine-boosters-xbb.html           One Variant                              By Christina Jewett      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/health/ Health Insurance Is Hard To Use Americans
2023-06-15   2023-06-16 health-insurance-medical-bills.html          Report                                   By Reed Abelson          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/movies/
2023-06-15   2023-06-16 asteroid-city-review-wes-anderson.html       Forget Realism Heres Magic               By Manohla Dargis        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/movies/
                        cadejo-blanco-review-negotiating-guatemalan-
2023-06-15   2023-06-16 street-life.html                             Cadejo Blanco                            By Concepcin de Len      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/movies/
2023-06-15   2023-06-16 elemental-review.html                        Sparks Fly In Pixars Latest Feature      By Amy Nicholson         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/movies/
2023-06-15   2023-06-16 extraction-2-review.html                     Wake Up and Go Back to Sleep             By Robert Daniels        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/movies/
2023-06-15   2023-06-16 happers-comet-review.html                    Happers Comet                            By Ben Kenigsberg        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/movies/ Two Murders Vex A Distracted Cop And a
2023-06-15   2023-06-16 maggie-moores-review.html                    Small Town                               By Jeannette Catsoulis   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/movies/
2023-06-15   2023-06-16 nobodys-hero-review.html                     Nobodys Hero                             By Beatrice Loayza       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/movies/ Holiday Weekend Ruined by Killer With
2023-06-15   2023-06-16 the-blackening-review.html                   Race Issues                              By Lisa Kennedy          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/nyregio
2023-06-15   2023-06-16 n/de-blasio-fine.html                        De Blasio Owes City 475000 Over Security By Michael Gold          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/nyregio
                        n/michael-olson-rape-charges-14-year-        Finance Executive Accused of Raping
2023-06-15   2023-06-16 old.html                                     14YearOld in Midtown Hotel               By Jonah E Bromwich      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/nyregio Brooklyn Jury Weighs Fate Of 3 Accused of
2023-06-15   2023-06-16 n/nypd-china-stalking-trial.html             Stalking Family on Behalf of China       By Karen Zraick          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/nyregio Tour Boat That Tipped Over in a Cavern Was
2023-06-15   2023-06-16 n/tour-boat-capsized-lockport-cave.html      Unregulated                              By Ed Shanahan           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/opinion
2023-06-15   2023-06-16 /columnists/time-technology.html             This May Not Take as Long as You Think   By Pamela Paul           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/opinion
2023-06-15   2023-06-16 /trump-indictment-president.html             I Wont Let Trump Invade My Brain         By David Brooks          TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/15/sports/b The Scuffling Mets Will Take the Win Warts
2023-06-15   2023-06-16 aseball/brandon-nimmo-mets-yankees.html and All                                          By Tyler Kepner       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/sports/b Future Pros and Plenty of Contenders As the
2023-06-15   2023-06-16 aseball/mens-college-world-series.html      College World Series Begins                  By Victor Mather      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/sports/c As Test Matches Lose Their Global Standing
2023-06-15   2023-06-16 ricket/ashes-england-australia-cricket.html The Ashes Carries On                         By Mike Jakeman       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/sports/f Homer Jones Fast and Feared Receiver for the
2023-06-15   2023-06-16 ootball/homer-jones-dead.html               Giants Is Dead at 82                         By Bruce Weber        TX 9-304-143   2023-08-01



                                                                                Page 5364 of 5793
                        https://www.nytimes.com/2023/06/15/sports/g Beware the Barranca Where Errant Shots and
2023-06-15   2023-06-16 olf/us-open-barranca-lacc.html              Hacking Duffers Disappear                    By Bill Pennington               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/theater/ She Was an Unnervingly Energizing Presence
2023-06-15   2023-06-16 glenda-jackson-theater-appraisal.html       at Every Age                                 By Ben Brantley                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/theater/
2023-06-15   2023-06-16 the-doctor-review-juliet-stevenson.html     What the Physician Was Unable to Cure        By Jesse Green                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/us/child States Adopt Tax Credits For Children As US
2023-06-15   2023-06-16 tax-credits-pandemic-colorado.html          Yields                                       By Dana Goldstein                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/us/los- Abbott Buses Migrants Including Children
2023-06-15   2023-06-16 angeles-migrants-texas.html                 From Texas to LA                             By Jill Cowan and Shawn Hubler   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/us/nativ Court Ruling Delivers Mix Of Surprise And By Simon Romero and Jan
2023-06-15   2023-06-16 e-american-supreme-court-reaction.html      Elation                                      Hoffman                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/us/pitts Jury Conferring in First Phase of Pittsburgh By Campbell Robertson and Jon
2023-06-15   2023-06-16 burgh-synagogue-trial.html                  Synagogue Trial                              Moss                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/us/polit Biden Hosts an Event Full of Zest and Cheese
2023-06-15   2023-06-16 ics/biden-flamin-hot-screening.html         Dust                                         By Zolan KannoYoungs             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/us/polit
                        ics/border-customs-immigrant-child-         Border Official Is Reassigned After a Child
2023-06-15   2023-06-16 death.html                                  Dies in Custody                              By Eileen Sullivan               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/us/polit
2023-06-15   2023-06-16 ics/congress-spending-debt-limit.html       Lawmakers Plunge Into Bitter Spending Fight By Carl Hulse                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/us/polit
                        ics/jack-teixeira-indicted-document-        Jury Indicts Airman Who Posted Secret Files
2023-06-15   2023-06-16 leaks.html                                  Online on Six Counts                         By Glenn Thrush                  TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/15/us/polit Gorsuchs Opinions Show Allegiance to Tribal
2023-06-15   2023-06-16 ics/neil-gorsuch-supreme-court-opinions.html Rights                                     By Adam Liptak                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/us/polit
                        ics/russian-ransomware-cyberattack-clop-     Russian Group Breaches Federal Agencies
2023-06-15   2023-06-16 moveit.html                                  Data                                       By Zach Montague                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/us/polit A PackRat President Prized His Boxes of     By Maggie Haberman Alan Feuer
2023-06-15   2023-06-16 ics/trump-documents-boxes.html               Papers                                     and Michael S Schmidt             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/15/us/polit                                             By Jonathan Swan Charlie Savage
2023-06-15   2023-06-16 ics/trump-indictment-justice-department.html Trump Allies Plan to Stifle Justice Dept   and Maggie Haberman             TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/15/us/supr
                        eme-court-native-american-children-          Supreme Court Rules for Tribes On
2023-06-15   2023-06-16 tribes.html                                  Adoption Law                               By Abbie VanSickle                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/us/surfs Surfside Condos Pool Deck Had a Severe
2023-06-15   2023-06-16 ide-condo-collapse-investigation.html        Deficiency Collapse Investigators Say      By Mike Baker                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/world/a
                        frica/kenya-cult-survivors-suicide-          Cult Survivors Still Refusing to Eat Are   By Mohamed Ahmed and Abdi
2023-06-15   2023-06-16 charges.html                                 Charged With Attempted Suicide             Latif Dahir                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/world/a Darfur Chief Is Killed Escalating Sudan
2023-06-15   2023-06-16 frica/sudan-darfur-governor-killing.html     Battle                                     By Declan Walsh                   TX 9-304-143   2023-08-01



                                                                                 Page 5365 of 5793
                        https://www.nytimes.com/2023/06/15/world/a
                        sia/india-wrestling-harassment-brij-bhushan-
2023-06-15   2023-06-16 sharan-singh.html                            Former Wrestling Chief Is Charged in India   By Sameer Yasir                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/world/a
2023-06-15   2023-06-16 sia/north-korea-missile-test-launch.html     North Korea Fires Two Ballistic Missiles     By Choe SangHun                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/world/a Thailand FrontRunner Facing Election
2023-06-15   2023-06-16 sia/thailand-pita-investigation.html         Inquiry                                      By SuiLee Wee                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/world/a Behind a Birthday Wish Putin and Xi Share
2023-06-15   2023-06-16 sia/xi-putin-china-russia.html               Delicate Bonds                               By Chris Buckley and Paul Sonne   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/15/world/c
2023-06-15   2023-06-16 anada/highway-crash-carberry-manitoba.html 15 in Canada Die in Crash On Highway           By Vjosa Isai                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/world/e
                        urope/boris-johnson-report-covid-lockdown- Johnson Misled Parliament About Parties
2023-06-15   2023-06-16 parties-uk.html                            Committee Says                                 By Stephen Castle                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/15/world/e Two Leaders Accused of Flouting Rules One
2023-06-15   2023-06-16 urope/boris-johnson-trump-conservatives.html Lost Party Support                         By Mark Landler                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/world/e Glenda Jackson 87 OscarWinning Actress
2023-06-15   2023-06-16 urope/glenda-jackson-dead.html               Turned Politician Dies                     By Benedict Nightingale             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/world/e
2023-06-15   2023-06-16 urope/pope-francis-hospital.html             Pope Leaving Hospital After 9Day Stay      By Elisabetta Povoledo              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/world/e Small Costly Advances Still Seen as
2023-06-15   2023-06-16 urope/ukraine-counteroffensive.html          Promising                                  By Marc Santora                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/world/e In Liberated Villages Lethal Threats Lurk at By Andrew E Kramer and David
2023-06-15   2023-06-16 urope/ukraine-recapures-villages.html        Every Turn                                 Guttenfelder                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
2023-06-15   2023-06-16 15/sports/what-to-watch-us-open.html         The Sports to Watch This Weekend           By Victor Mather                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/sports/g Hometown Star Hopes For a Breakthrough On
2023-06-16   2023-06-16 olf/us-open-max-homa.html                    a Major Stage                              By Alan Blinder                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/sports/g
2023-06-16   2023-06-16 olf/us-open-rickie-fowler.html               A Record Twice Removed                     By Bill Pennington                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/movies/
2023-06-16   2023-06-16 stan-lee-review.html                         Stan Lee                                   By Amy Nicholson                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/us/sout At the Southern Baptist Convention a Call to By Elizabeth Dias and Ruth
2023-06-16   2023-06-16 hern-baptist-women-pastors-church.html       Enforce Biblical Gender Roles              Graham                              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/04/ 35 Ways Real People Are Using AI Right     By Francesca Paris and Larry
2023-04-14   2023-06-17 14/upshot/up-ai-uses.html                    Now                                        Buchanan                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/05/                                            By Ben Hubbard Anjali Singhvi
                        11/world/europe/turkey-earthquake-apartment-Why One Upscale Apartment Building          James Glanz Mika Grndahl Elif
2023-05-11   2023-06-17 building-collapse.html                       Became a Death Trap                        Ince Beril Eski and Safak Timur     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/travel/b Beach Wheelchairs Make Summer Fun
2023-06-07   2023-06-17 each-wheelchairs-disabled-travel.html        Accessible                                 By Karen Angel                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/opinion The Solving of a Joan Didion Mystery Tells
2023-06-08   2023-06-17 /joan-didion-mystery-rfk.html                Us A Lot About Our Own Troubled Era        By Timothy Denevi                   TX 9-304-143   2023-08-01



                                                                                 Page 5366 of 5793
                        https://www.nytimes.com/2023/06/09/movies/
2023-06-09   2023-06-17 flamin-hot-true-story.html                  Based on a True Snack Story Kind Of       By Sarah Bahr                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/09/travel/i
2023-06-09   2023-06-17 schia-italy.html                            Where Zeus Put His Foot Down              By Ondine Cohane              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/arts/des
                        ign/outsider-architecure-catalonia-jo-farb-
2023-06-12   2023-06-17 hernandez.html                              Outsider Architects Get Inside Help       By Nicholas Casey             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/busines Ivan Menezes 63 Chief Executive Who Made
2023-06-14   2023-06-17 s/ivan-menezes-dead.html                    Fusty Johnnie Walker Cool                 By Daniel E Slotnik           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/sports/b Relievers Journey From Discard to Silver
2023-06-14   2023-06-17 aseball/evan-phillips-dodgers.html          Bullet                                    By Tyler Kepner               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/arts/mu
                        sic/horace-tapscott-pan-afrikan-peoples-
2023-06-15   2023-06-17 arkestra.html                               A Jazz Pioneer Is Celebrated in a New Set By Marcus J Moore             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/arts/mu
                        sic/rammstein-singer-sexual-assault-        Accusations Against Rammsteins Frontman
2023-06-15   2023-06-17 accusations.html                            Under Investigation                       By Christopher F Schuetze     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/climate Schools Encourage 7YearOlds to Fix Climate
2023-06-15   2023-06-17 /climate-education-schools-children.html    Change Not Fear It                        By Cara Buckley               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/theater/ JacobsJenkins and Vogel Headed to Second
2023-06-15   2023-06-17 jacobs-jenkins-vogel-broadway.html          Stage                                     By Michael Paulson            TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/15/us/bill- Nine Women Accuse Cosby Of Assault In
2023-06-15   2023-06-17 cosby-sexual-assault-janice-dickinson.html  Nevada                                       By Mike Ives               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/theater/
2023-06-16   2023-06-17 the-whitney-album-soho-rep-review.html      Employing a Play to Remake a Painful Past    By Naveen Kumar            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/arts/dan
                        ce/bam-plans-a-smaller-next-wave-
2023-06-16   2023-06-17 festival.html                               BAM Plans Smaller Next Wave Festival         By Rachel Sherman          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/arts/des Business Is Mixed Inside the Bustle At Art
2023-06-16   2023-06-17 ign/art-basel.html                          Basel                                        By Scott Reyburn           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/arts/mu
                        sic/grammy-awards-top-categories-8-
2023-06-16   2023-06-17 nominees.html                               Grammy Nomination Changes                    By Ben Sisario             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/arts/mu
2023-06-16   2023-06-17 sic/orchestra-diversity.html                Diversity Improves But Not For All           By Javier C Hernndez       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/books/c Carol Higgins Clark 66 Is Dead Mystery
2023-06-16   2023-06-17 arol-higgins-clark-dead.html                Writer Like Her Mother                       By Neil Genzlinger         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/busines Prince Harry And Meghan Exit Deal With
2023-06-16   2023-06-17 s/archewell-spotify-meghan-harry.html       Spotify                                      By Derrick Bryson Taylor   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/busines US National Debt Tops 32 Trillion for First
2023-06-16   2023-06-17 s/economy/federal-debt-32-trillion.html     Time                                         By Alan Rappeport          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/busines
2023-06-16   2023-06-17 s/economy/ups-union-workers-strike.html     UPS Workers Authorize Union to Call Strike   By Noam Scheiber           TX 9-304-143   2023-08-01




                                                                                Page 5367 of 5793
                        https://www.nytimes.com/2023/06/16/busines 3 Men Charged In Vandalism That Targeted
2023-06-16   2023-06-17 s/media/nhpr-attacks-arrests.html          Journalists                               By David Enrich                    TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/16/busines
                        s/media/tucker-carlson-producers-leave-    Fallout Continues at Fox News as 2 of
2023-06-16   2023-06-17 fox.html                                   Carlsons ExProducers Exit                 By Katie Robertson                 TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/16/busines Famed Wine Store Faces A Criminal
2023-06-16   2023-06-17 s/sherry-lehmann-wine-investigation.html   Investigation                             By James B Stewart                 TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/16/busines Stock Rally Raises Debate Over What Will
2023-06-16   2023-06-17 s/stocks-bull-bear-forecast.html           Come Next                                 By Joe Rennison                    TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/16/nyregio
                        n/nusrat-choudhury-muslim-federal-         Senate Confirms First Muslim Woman For
2023-06-16   2023-06-17 judge.html                                 Federal Judge Position in New York        By Lola Fadulu                     TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/16/nyregio Missing Man Was Killed Police Say in Plot
2023-06-16   2023-06-17 n/steven-kraft-murder-arrests.html         by His ExWife and Her Husband             By Erin Nolan                      TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/16/opinion
2023-06-16   2023-06-17 /conservatives-muslims-lgbtq.html          From Demonizing Muslims to Wooing Them By Michelle Goldberg                  TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/16/opinion
2023-06-16   2023-06-17 /poverty-low-income-cash-tax-program.html An Investment in Families Is Not a Handout   By Binyamin Appelbaum            TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/16/sports/b
                        asketball/ja-morant-grizzlies-suspended-    Morant Videos Clash With NBA Advocacy
2023-06-16   2023-06-17 nba.html                                    on Gun Safety                              By Sopan Deb and Tania Ganguli   TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/16/sports/b
                        asketball/michael-jordan-charlotte-hornets-
2023-06-16   2023-06-17 sale.html                                   Jordan Sale Of Hornets Is Planned          By Sopan Deb and Tania Ganguli   TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/16/sports/c Rider in Tour de Suisse Dies After Fall Into
2023-06-16   2023-06-17 ycling/cyclist-dies-tour-de-suisse-crash.html Ravine During Alpine Descent               By Victor Mather                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/sports/g LA Country Club Is Yielding Lots of Birdies
2023-06-16   2023-06-17 olf/us-open-brooks-koepka.html                and Not Everyone Likes It                  By Alan Blinder                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/sports/g Memory of Mothers Words Inspires an
2023-06-16   2023-06-17 olf/us-open-wyndham-clark.html                UpandComer                                 By Bill Pennington               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/sports/s Search for New Coach for Mens National
2023-06-16   2023-06-17 occer/gregg-berhalter-world-cup.html          Team Settles on Old One                    By Andrew Keh                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/technol
                        ogy/meta-virtual-reality-headset-children-    Meta to Lower Age for Use Of Its VR        By Mike Isaac Adam Satariano and
2023-06-16   2023-06-17 safety.html                                   Headset to 10                              Natasha Singer                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/theater/
2023-06-16   2023-06-17 good-vibrations-irish-arts-center.html        Belfasts Punk Oasis                        By Elisabeth Vincentelli         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/theater/ LA Theater Group Cutting Staff and
2023-06-16   2023-06-17 los-angeles-center-theater-group.html         Productions                                By Adam Nagourney                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/us/dani Daniel Ellsberg Who Leaked the Pentagon
2023-06-16   2023-06-17 el-ellsberg-dead.html                         Papers Is Dead at 92                       By Robert D McFadden             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/us/defu
2023-06-16   2023-06-17 nd-police-minneapolis.html                    How the Defund the Police Movement Failed By Ernesto Londoo                 TX 9-304-143   2023-08-01



                                                                               Page 5368 of 5793
                        https://www.nytimes.com/2023/06/16/us/doj- Police in Minneapolis Blatantly Disregarded By Ernesto Londoo Glenn Thrush
2023-06-16   2023-06-17 report-minneapolis-police.html              Civil Rights US Says                       Mitch Smith and Dan Simmons        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/us/india Federal Judge in Indiana Mostly Blocks Ban
2023-06-16   2023-06-17 na-transgender-care-ban.html                on Transition Medical Care for Minors      By Mitch Smith                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/us/iowa-Split Iowa Supreme Court Blocks 6Week
2023-06-16   2023-06-17 abortion-supreme-court.html                 Abortion Ban                               By David W Chen                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/us/pitts Gunman Guilty in Pittsburgh Synagogue      By Campbell Robertson and Jon
2023-06-16   2023-06-17 burgh-synagogue-shooting-verdict.html       Killings                                   Moss                               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/us/polit In Call for Gun Law Biden Says Children    By Zolan KannoYoungs and
2023-06-16   2023-06-17 ics/biden-gun-control-laws.html             Feel Same Stress as Soldiers               Michael Corkery                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/us/polit Being ExGovernor and ExAlly Of Trump       By Nick Corasaniti and Alexandra
2023-06-16   2023-06-17 ics/chris-christie-business.html            Has Profited Christie                      Berzon                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/us/polit Biden Ready To Appoint New Director Of the
2023-06-16   2023-06-17 ics/mandy-cohen-cdc-director.html           CDC                                        By Noah Weiland                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/us/polit Republicans Scold Blinken For Taking Trip
2023-06-16   2023-06-17 ics/republicans-blinken-china.html          to China                                   By Karoun Demirjian                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/us/polit Court Papers Hint Trump Could Face More
2023-06-16   2023-06-17 ics/trump-documents-case.html               Cases                                      By Alan Feuer                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/us/polit Special Counsel Aims to Dodge Distractions
2023-06-16   2023-06-17 ics/trump-documents-jack-smith.html         in Trump Case                              By Glenn Thrush                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/us/racis
2023-06-16   2023-06-17 m-navy-philadelphia-15.html                 A Final Victory for the Philadelphia 15    By John Ismay                      TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/16/world/a A Lifetime of Hospitality Disrupted by War in
2023-06-16   2023-06-17 frica/sudan-war-khartoum-acropole-hotel.html Sudan                                       By Matina StevisGridneff        TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/world/a Blinken Heads to China as Suspicion and
2023-06-16   2023-06-17 sia/blinken-china-us-xi.html                 Hostility Await                             By Vivian Wang                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/world/c Minutes From Destination A Crash Took
2023-06-16   2023-06-17 anada/manitoba-car-crash-canada.html         Their Lives                                 By Kim Wheeler and Dan Bilefsky TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/16/world/e Johnson Out of Parliament Is Welcomed Back
2023-06-16   2023-06-17 urope/boris-johnson-daily-mail-column.html by Former Employer                         By Mark Landler                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/world/e New Coalition Pushes Finland Firmly to     By Emma Bubola and Johanna
2023-06-16   2023-06-17 urope/finland-finns-party.html             Right                                      Lemola                              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/world/e                                            By Jason Horowitz and Niki
2023-06-16   2023-06-17 urope/greece-migrant-boat-disaster.html    Migrants Fear Shocking Toll In Shipwreck   Kitsantonis                         TX 9-304-143   2023-08-01
                                                                   A Smiling Pope Returns to the Vatican to
                        https://www.nytimes.com/2023/06/16/world/e Recover After His Surgery at a Hospital in
2023-06-16   2023-06-17 urope/pope-francis-hospital.html           Rome                                       By Elisabetta Povoledo              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/world/e
                        urope/putin-russia-ukraine-                Speaking at Economic Forum Putin Says
2023-06-16   2023-06-17 counteroffensive.html                      Kyivs Counteroffensive Has No Chance       By Neil MacFarquhar                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/16/world/e A Broken Dam a Flood And a Path to          By Andrew E Kramer and Maria
2023-06-16   2023-06-17 urope/ukraine-flood-rescue-dam-island.html Freedom                                     Varenikova                         TX 9-304-143   2023-08-01



                                                                               Page 5369 of 5793
                        https://www.nytimes.com/2023/06/16/world/e
                        urope/ukraine-russia-african-peace-        As African Leaders Talk Of Peace in Kyiv
2023-06-16   2023-06-17 mission.html                               Russia Sends a Missile Barrage             By John Eligon              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/world/e
                        urope/ukraine-zaporizhzhia-nuclear-power- Dam Breach Poses No Imminent Risk to
2023-06-16   2023-06-17 plant-dam.html                             Nuclear Plant the UN Says                  By Matthew Mpoke Bigg       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/world/e
                        urope/woman-dead-attack-neuschwanstein- Two Are Pushed Off Cliff Near a Castle in
2023-06-16   2023-06-17 castle.html                                Bavaria                                    By Christopher F Schuetze   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/your-
2023-06-16   2023-06-17 money/overdraft-fees-banks.html            The Scourge of Overdraft Fees Is Fading    By Ann Carrns               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/busines
                        s/dealbook/crispin-odey-asset-             British Investor and His Hedge Fund Are
2023-06-17   2023-06-17 management.html                            Rocked by Sex Assault Allegations          By Michael J de la Merced   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/04/04/books/r
2023-04-04   2023-06-18 eview/house-of-cotton-monica-brashears.html Its a Living                              By MJ Franklin              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/04/18/books/r
                        eview/symphony-of-secrets-brendan-
2023-04-18   2023-06-18 slocumb.html                                Crescendo                                 By Alyssa Cole              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/02/books/r
2023-05-02   2023-06-18 eview/taking-care-sarah-digregorio.html     Healing the Unsung Healers                By Christie Watson          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/11/books/r
2023-05-11   2023-06-18 eview/kevin-powers-line-in-the-sand.html    Murder Most Complicated                   By Chris Offutt             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/16/books/r
2023-05-16   2023-06-18 eview/glassworks-olivia-wolfgang-smith.html Refracted                                 By Eleanor Dunn             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/16/books/r
2023-05-16   2023-06-18 eview/thinning-blood-leah-myers.html        Native Daughter                           By Maud Newton              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/17/books/r
                        eview/the-shadow-docket-stephen-
2023-05-17   2023-06-18 vladeck.html                                Spotlight                                 By Jennifer Szalai          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/21/books/r
                        eview/dorothy-sayers-whose-body-at-
2023-05-21   2023-06-18 100.html                                    Essay Classic Crime                       By Sarah Weinman            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/23/books/r
                        eview/brave-the-wild-river-melissa-
2023-05-23   2023-06-18 sevigny.html                                Adventure Time                            By Deborah Blum             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/23/books/r
2023-05-23   2023-06-18 eview/cleopatras-daughter-jane-draycott.html Mummy Dearest                            By Shadi BartschZimmer      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/24/books/r
2023-05-24   2023-06-18 eview/john-wray-gone-to-the-wolves.html      For Those About to Rock                  By Sarah Gerard             TX 9-304-143   2023-08-01




                                                                                Page 5370 of 5793
                        https://www.nytimes.com/2023/05/30/books/r
                        eview/siddhartha-deb-light-at-the-end-of-the-
2023-05-30   2023-06-18 world.html                                    An Outsiders History of India              By Abraham Verghese              TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/30/realesta House Poor American Homeowners Now
2023-05-30   2023-06-18 te/homeowners-house-poor-affordability.html Exceed 27                                    By Debra Kamin                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/02/books/r
2023-06-02   2023-06-18 eview/sa-cosby-all-the-sinners-bleed.html    Psycho Killer Yall                          By Stephen King                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/realesta How to Keep a Home Protected Against
2023-06-05   2023-06-18 te/home-insurance-disasters.html             Disaster                                    By Ronda Kaysen                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/books/r
                        eview/between-two-moons-aisha-abdel-
2023-06-06   2023-06-18 gawad.html                                   Muslim After 911                            By Nina LaCour                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/books/r
2023-06-06   2023-06-18 eview/fire-weather-john-vaillant.html        Towering Infernos                           By David Enrich                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/books/r
2023-06-06   2023-06-18 eview/paul-goldberg-dissident.html           Whack in the USSR                           By Caleb Crain                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/travel/tr Around the World in 80 Days At 80Plus and
2023-06-07   2023-06-18 avel-the-world.html                          Theyre Not Stopping                         By Jennifer Harlan               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/books/r
                        eview/the-book-of-charlie-david-von-         David Von Drehle Looked Both Ways Then
2023-06-08   2023-06-18 drehle.html                                  Met His Latest Subject                      By Elisabeth Egan                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/10/arts/tele
2023-06-10   2023-06-18 vision/saycon-sengbloh-wonder-years.html     Saycon Sengbloh Steeps in the Coziness     By Chris Kornelis                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/magazi
2023-06-10   2023-06-18 ne/spanish-spy-villarejo.html                The Spy Who Called Me                      By Nicholas Casey                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/upshot/
                        artificial-intelligence-nuclear-weapons-     Danger Danger Are These Warnings for AI or By Ian Prasad Philbrick and Tom
2023-06-10   2023-06-18 quiz.html                                    Nuclear Weapons                            WrightPiersanti                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/11/opinion The Discord Leaks Were Worrisome but Not
2023-06-11   2023-06-18 /discord-leaks.html                          Revelatory                                 By Serge Schmemann                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/magazi
2023-06-12   2023-06-18 ne/mrbeast-youtube.html                      The Willy Wonka of YouTube                 By Max Read                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/opinion He Has Nothing Else An Appraisal of Trump
2023-06-12   2023-06-18 /donald-trump-2024.html                      the Candidate                              By New York Times Opinion         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/opinion
2023-06-12   2023-06-18 /editorials/desantis-superpac.html           DeSantis Finds a New Set Of Laws to Ignore By David Firestone                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/12/realesta                                             By DieuNalio Chry and Christina
2023-06-12   2023-06-18 te/little-haiti-miami.html                   This Place Is in Deep Trouble              Morales                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/books/r
2023-06-13   2023-06-18 eview/new-fiction-cuffy-makhene-lee.html     The Shortlist Debut Fiction                By Laura Warrell                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/magazi
2023-06-13   2023-06-18 ne/old-magazines.html                        Old Magazines                              By Brian Dillon                   TX 9-304-143   2023-08-01




                                                                                  Page 5371 of 5793
                        https://www.nytimes.com/2023/06/13/magazi
2023-06-13   2023-06-18 ne/working-netflix-obama.html              Over Time                                  By Robin KaiserSchatzlein             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/movies/ Jacques Rozier Last of the French New Wave
2023-06-13   2023-06-18 jacques-rozier-dead.html                   Directors Dies at 96                       By Alex Williams                      TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/13/movies/ Under Scrutiny An RRated Genre Shifts on
2023-06-13   2023-06-18 sex-comedies-no-hard-feelings-joy-ride.html the Fly                                       By Leah Greenblatt                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/opinion
2023-06-13   2023-06-18 /trump-indictment-republicans.html           Republicans Have Made Their Choice           By Jamelle Bouie                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/realesta
2023-06-13   2023-06-18 te/nantucket-home-renovation.html            Leaving LA to Work From Massachusetts        By Tim McKeough                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/style/da
2023-06-13   2023-06-18 d-influencers.html                           Dadfluencers or Fathers With Followings      By Charlotte Cowles               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/theater/
                        juliet-stevenson-the-doctor-park-avenue-     Back With The Doctor This Time in New
2023-06-13   2023-06-18 armory.html                                  York                                         By Roslyn Sulcas                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/arts/mu                                                By Ben Barzilai and Christopher
2023-06-14   2023-06-18 sic/battle-rap.html                          Battle Rap Soldiers                          Lee                               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/arts/tele
                        vision/danny-mcbride-the-righteous-
2023-06-14   2023-06-18 gemstones.html                               Is He Close to His Character                 By Austin Considine               TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/14/books/r
                        eview/the-good-enough-job-simone-stolzoff-
2023-06-14   2023-06-18 all-the-gold-stars-rainesford-stauffer.html  Off the Clock                                By Emma Goldberg                  TX 9-304-143   2023-08-01
                                                                     Down the Rabbit Hole Familiar ingredients
                        https://www.nytimes.com/2023/06/14/magazi peppers eggplants tomatoes lay the
2023-06-14   2023-06-18 ne/zaalouk-tahini-recipe.html                foundation for experimentation               By Yotam Ottolenghi               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/nyregio Remembering a Revolution That So Many
2023-06-14   2023-06-18 n/bangladesh-veterans-new-york.html          Forget                                       By Alex Traub                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/opinion
2023-06-14   2023-06-18 /rfk-jr-biden.html                           Hes No Jack Kennedy                          By Michelle Cottle                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/opinion
2023-06-14   2023-06-18 /texas-green-revolution-fossil-fuels.html    Green Power Prevails Inch by Inch in Texas   By David WallaceWells             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/realesta
2023-06-14   2023-06-18 te/garden-music-playlist.html                Treasure These Tunes as You Till and Tend    By Margaret Roach                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/realesta
                        te/million-dollar-homes-florida-new-york-    18 Million Homes in Florida New York and
2023-06-14   2023-06-18 tennessee.html                               Tennessee                                    By Angela Serratore               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/style/ca
2023-06-14   2023-06-18 re-of-elderly-parents.html                   InLaws and Expenses                          By Philip Galanes                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/style/lip
2023-06-14   2023-06-18 readers-celebrities-tiktok.html              Revealing Stars Whispered Chats              By Steven Kurutz                  TX 9-304-143   2023-08-01




                                                                                 Page 5372 of 5793
                        https://www.nytimes.com/2023/06/14/style/sl For Better or for Worse and That Includes
2023-06-14   2023-06-18 utty-vegan-pinky-cole-atlanta-wedding.html Cheesesteaks                                By Tammy La Gorce            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/article/spotted-
2023-06-14   2023-06-18 lanternflies-nyc.html                        Lanternflies Are Back Get Ready to Stomp  By Asmaa Elkeurti            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
2023-06-14   2023-06-18 14/magazine/iran-women-protests.html         Dreaming of a New Iran                    By Farnaz Fassihi            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/arts/des To Help Return Stolen Picasso He Needed
2023-06-15   2023-06-18 ign/stolen-picasso-boston.html               Dad                                       By Dan Barry                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/magazi
2023-06-15   2023-06-18 ne/doctors-moral-crises.html                 Standard of Care                          By Eyal Press                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/magazi
                        ne/judge-john-hodgman-on-cooking-with-a-
2023-06-15   2023-06-18 dirty-pan.html                               Bonus Advice From Judge John Hodgman      By John Hodgman              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/magazi
                        ne/poem-from-listen-to-the-golden-boomerang
2023-06-15   2023-06-18 return.html                                  Poem                                      By CAConrad and Anne Boyer   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/nyregio An Artist Sows Good Luck and Bad on the
2023-06-15   2023-06-18 n/felix-morelo-chalk-circles.html            Sidewalks                                 By Amelia Nierenberg         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/opinion The Rise and Fall of a Political Influence
2023-06-15   2023-06-18 /ftx-bankman-fried-washington.html           Empire                                    By Ben Terris                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/opinion
2023-06-15   2023-06-18 /trump-berlusconi.html                       Hes a Major Movie Star Never Heard Of Him By Frank Bruni               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/realesta
2023-06-15   2023-06-18 te/gen-z-home-buying.html                    Gen Z Buyers Ready to Make a Move         By Kalia Richardson          TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/15/realesta                                           By Anne Mancuso and Alicia
2023-06-15   2023-06-18 te/housing-market-near-new-york-city.html Homes for Sale in New York and Connecticut Napierkowski                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/realesta
2023-06-15   2023-06-18 te/housing-market-nyc.html                   Homes for Sale in New York City          By Heather Senison            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/world/e Irma Capece Minutolo 87 Singer And Partner
2023-06-15   2023-06-18 urope/irma-capece-minutolo-dead.html         to Exiled Egyptian King                  By Alex Williams              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        15/realestate/los-angeles-mount-washington- Two Lifelong Floridians Bolted for Los
2023-06-15   2023-06-18 homes.html                                   Angeles but What Could They Afford       By Livia AlbeckRipka          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/arts/des
                        ign/tuan-andrew-nguyen-vietnam-new-
2023-06-16   2023-06-18 museum-video.html                            Memories and Other Bombshells            By Frank Rose                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/books/r
2023-06-16   2023-06-18 eview/new-psychological-thrillers.html       Clues and Conundrums                     By Sarah Lyall                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/16/books/r
2023-06-16   2023-06-18 eview/picture-books-about-alone-time.html Alone Together                                 By Julie Danielson         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/busines
2023-06-16   2023-06-18 s/bull-bear-market-investors.html          Is It a Bull or a Bear Or Does It Even Matter By Jeff Sommer             TX 9-304-143   2023-08-01



                                                                                 Page 5373 of 5793
                        https://www.nytimes.com/2023/06/16/busines No Uber No Lyft Neighbors Driving
2023-06-16   2023-06-18 s/ev-ride-sharing-volunteers.html          Neighbors                                   By Patricia Leigh Brown           TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/busines Richard Severo 90 a Times Reporter Involved
2023-06-16   2023-06-18 s/media/richard-severo-dead.html           in an Internal Clash Over a Book            By Sam Roberts                    TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/16/busines
2023-06-16   2023-06-18 s/retirement-long-term-care-insurance.html  The Looming Burden Of LongTerm Care           By Mark Miller                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/busines                                                By Tiffany Hsu and Sapna
2023-06-16   2023-06-18 s/titanic-tiktok-misinformation.html        The Titanic Truthers of TikTok                Maheshwari                     TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/health/t
2023-06-16   2023-06-18 estosterone-therapy-heart-risk-men.html     Heart Safety in Testosterone Therapy          By Roni Caryn Rabin            TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/opinion
2023-06-16   2023-06-18 /cancer-treatment-disparities.html          Are We Learning To Outrun Cancer              By Kate Pickert                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/opinion
2023-06-16   2023-06-18 /hidden-juneteenth-history.html             Juneteenth Is Different Out West              By Tiya Miles                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/opinion Joining NATO Wont Keep Ukraine Safe
2023-06-16   2023-06-18 /nato-ukraine-russia-peace.html             From Russia                                   By Stephen Wertheim            TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/realesta Little by Little a Tiny Cabin Turns Into an
2023-06-16   2023-06-18 te/cabin-washington-orcas-island.html       Island Retreat                                By Tim McKeough                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/realesta
2023-06-16   2023-06-18 te/los-angeles-privacy-hedges.html          A Leafy and Private Status Symbol             By Debra Kamin                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/sports/n Its a New Broadcast World Can the NCAA
2023-06-16   2023-06-18 caa-college-sports-media-rights-espn.html   Take Advantage                                By Billy Witz                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/sports/s
2023-06-16   2023-06-18 occer/luciano-spalletti-jack-grealish.html  A Victorious Coach Does the Unthinkable       By Rory Smith                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/style/de Under Orange Skies Starting a New Life
2023-06-16   2023-06-18 anna-arthur-grey-cohen-wedding.html         Together                                      By Sadiba Hasan                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/style/fa Celebrating a Relationship Worth Fighting
2023-06-16   2023-06-18 y-leshner-andrew-ousley-wedding.html        For                                           By Alix Strauss                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/style/ho
2023-06-16   2023-06-18 w-my-father-and-i-drew-a-new-life.html      How My Father and I Drew a New Life           By Brian Frazer                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/style/jo
2023-06-16   2023-06-18 nathan-gold-diana-ming-wedding.html         A Big Family Just Got a Little Bigger         By Alix Strauss                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/style/ju The Couples Wedding Outfits Definitely Not
2023-06-16   2023-06-18 anita-cardenas-ryan-murray-wedding.html     Dior                                          By Shane ONeill                TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/16/style/ny
2023-06-16   2023-06-18 c-fashion-spike-lee-greta-lizzy-caplan.html Stars Sparkle For the Arts                    By Emma Grillo and Sadiba Hasan TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/style/th
                        ey-were-not-looking-for-anything-serious-   Not Looking for Anything Serious or So It
2023-06-16   2023-06-18 surprise.html                               Seemed                                        By Rosalie R Radomsky          TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/us/min Since Floyds Murder Minneapolis and Its
2023-06-16   2023-06-18 neapolis-police-george-floyd.html           Police Have Come Under Scrutiny               By Adeel Hassan                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/16/world/ In Tunisia Mourning HardFought Freedom
2023-06-16   2023-06-18 middleeast/tunisia-press-freedom.html       Rapidly Slipping Away                         By Vivian Yee                  TX 9-304-143    2023-08-01



                                                                                Page 5374 of 5793
                        https://www.nytimes.com/2023/06/17/arts/dan
                        ce/american-ballet-theater-like-water-for-
2023-06-17   2023-06-18 chocolate-wheeldon.html                     A Contemporary Romance Onstage             By Marina Harss                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/arts/mu
                        sic/muti-chicago-symphony-classical-
2023-06-17   2023-06-18 music.html                                  Stepping Down Tiptoeing Back               By Zachary Woolfe                  TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/17/busines                                             By Ana Swanson and David
2023-06-17   2023-06-18 s/economy/china-united-states-business.html Modest Hopes as Blinken Heads to China     McCabe                             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/17/nyregio City Council Election in Harlem Tests the
2023-06-17   2023-06-18 n/harlem-city-council-primary-election.html Limits of Progressive Politics             By Jeffery C Mays                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/opinion
                        /ted-kaczynski-silvio-berlusconi-cormac-
2023-06-17   2023-06-18 mccarthy.html                               3 Models Of Masculine Rebellion            By Ross Douthat                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/opinion
2023-06-17   2023-06-18 /to-jail-or-not-to-jail.html                To Jail or Not to Jail                     By Maureen Dowd                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/opinion
2023-06-17   2023-06-18 /trump-conservatives-liberals.html          In the Age of Trump Its Hard to Be Humble By Nicholas Kristof                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/realesta
2023-06-17   2023-06-18 te/e-commerce-secondhand-furniture.html     Beloved Furniture Gets a BrandNew Life     By Alix Strauss                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/realesta Our Super Smokes in His Office Can the
2023-06-17   2023-06-18 te/smoking-apartment-building-rules.html    Residents Put a Stop to It                 By Andy Newman                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/sports/c 3 Teams Leave Tour de Suisse After the
2023-06-17   2023-06-18 ycling/gino-mader-tour-de-suisse.html       Death of a Cyclist                         By Andrew Das                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/sports/g The Golfers on the PGA Tour Were Heard
2023-06-17   2023-06-18 olf/us-open-liv-golf-pga-players.html       Until They Werent                          By Alan Blinder                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/sports/n
                        caabasketball/bob-huggins-charged-west-     Huggins Veteran Basketball Coach Faces DUI
2023-06-17   2023-06-18 virginia.html                               Charge in Pennsylvania                     By Claire Fahy and Santul Nerkar   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/style/ba
2023-06-17   2023-06-18 ggu-tiktok-gen-z.html                       Their Popularity Is in the Bag             By Kasia Pilat                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/us/bran                                             By Richard Fausset and Chase
2023-06-17   2023-06-18 son-missouri-motor-scooters.html            In Branson Freedom Comes on Two Wheels Castor                                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/us/cons Consent Decrees Bring Changes and
2023-06-17   2023-06-18 ent-decrees-police-reform.html              Questions                                  By Shaila Dewan                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/us/i-95- Stretch of I95 Will Reopen In Two Weeks
2023-06-17   2023-06-18 reopen-pennsylvania.html                    Governor Says                              By Colbi Edmonds                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/us/polit
                        ics/biden-again-has-union-support-but-the-  He Has Union Leaders Vote Now to Win
2023-06-17   2023-06-18 unions-look-different-this-time.html        Over Membership                            By Reid J Epstein                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/us/polit Haley Misleads on Abortion Trans Youth and
2023-06-17   2023-06-18 ics/nikki-haley-fack-check.html             Government Policy                          By Linda Qiu                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/us/polit
2023-06-17   2023-06-18 ics/trump-ramaswamy-indictment.html         A LongShot Candidate Defends His Opponent By Jonathan Weisman                 TX 9-304-143   2023-08-01



                                                                                Page 5375 of 5793
                        https://www.nytimes.com/2023/06/17/world/a Militants Kill Dozens at Uganda School Then
2023-06-17   2023-06-18 frica/uganda-school-attack.html             Flee Toward Congo                          By Abdi Latif Dahir              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/world/a Unstoppable Massive Canadian Blazes Test By Norimitsu Onishi and Renaud
2023-06-17   2023-06-18 mericas/canada-wildfires-season.html        Foreign Firefighters                       Philippe                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/world/a The Taliban Runs on WhatsApp Theres Just By Christina Goldbaum and
2023-06-17   2023-06-18 sia/taliban-whatsapp-afghanistan.html       One Problem                                Safiullah Padshah                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/world/e Russia Learns Firepower Alone Is Not        By Thomas GibbonsNeff Julian E
2023-06-17   2023-06-18 urope/russia-ukraine-war-tactics.html       Enough                                     Barnes and Natalia Yermak        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/world/e As Floodwaters Recede Authorities Are
2023-06-17   2023-06-18 urope/ukraine-dam-flood-disease.html        Bracing For Outbreaks of Disease           By Megan Specia                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/us/polit
                        ics/ron-desantis-nevada-republican-         DeSantis Asks Nevada Voters To Ditch a
2023-06-18   2023-06-18 primary.html                                Culture of Losing                          By Neil Vigdor                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/busines Failures of Globalization Shatter LongHeld
2023-06-18   2023-06-18 s/economy/global-economy-us-china.html      Beliefs                                    By Patricia Cohen                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/busines
2023-06-18   2023-06-18 s/kyle-roche-crypto-leaks-satoshi.html      Who Was Out to Get This Man                By John Carreyrou                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/busines
2023-06-18   2023-06-18 s/roxane-gay-lgbtq-work.html                Pride Is Priceless but Its Better Paid     By Roxane Gay                    TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/18/insider/
2023-06-18   2023-06-18 jonah-markowitz-photographer-brooklyn.html In Brooklyn Curiosity Became a Commitment By John Otis                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/insider/
2023-06-18   2023-06-18 pride-word-meaning.html                       A Word That Became a Point of Pride       By Sarah Diamond                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/nyregio
2023-06-18   2023-06-18 n/suburbs-new-york-city-tension.html          New York City And Suburbs A Rift Widens By Jesse McKinley                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/nyregio
                        n/universal-hip-hop-museum-rocky-
2023-06-18   2023-06-18 bucano.html                                   Pancakes Boomboxes and Emails             By Tammy LaGorce                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/style/lo
                        uis-vuitton-menswear-pharrell-williams-louis-
2023-06-18   2023-06-18 vuittons.html                                 Shaking Things Up From Inside the Castle  By Jon Caramanica               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/us/polit Family in Tow DeSantis Winks At the Age     By Nicholas Nehamas and Ruth
2023-06-18   2023-06-18 ics/ron-desantis-age.html                     Gap                                       Igielnik                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/07/movies/
2023-06-07   2023-06-19 cinecitta-studios-rome-filmmaking.html        The Stars Are Shooting Again on the Tiber By Elisabetta Povoledo          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/books/l
2023-06-10   2023-06-19 atin-american-science-fiction.html            SciFi Rides A Notable New Wave            By Emily Hart                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/arts/tele
2023-06-14   2023-06-19 vision/full-monty.html                        This Time The Clothes Stay On             By Simran Hans                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/busines Do You Want Us to Even Exist
2023-06-14   2023-06-19 s/western-alliance-regional-banks.html        SoulSearching for Smaller Banks           By Rob Copeland                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/climate UN Summit On Climate At a Home Of Big
2023-06-14   2023-06-19 /oil-fossil-fuel-climate-cop28.html           Oil                                       By Max Bearak                   TX 9-304-143   2023-08-01




                                                                               Page 5376 of 5793
                        https://www.nytimes.com/2023/06/14/opinion Let Natures Best Carbon Absorbers Do Their
2023-06-14   2023-06-19 /climate-change-trees-global-warming.html Job                                           By Roger Worthington              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/opinion
2023-06-14   2023-06-19 /parking-cars-donald-shoup.html              A Fight Over Parking Spaces Is a Good Idea By Peter Coy                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/arts/mu
                        sic/anthony-braxton-experiments-in-
2023-06-16   2023-06-19 opera.html                                   Music That Comes With a Punch Line         By Seth Colter Walls              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/arts/tele A Testy FanFavorite Oxford Detective Makes
2023-06-16   2023-06-19 vision/endeavour-final-season-review.html    a Solid Exit                               By Mike Hale                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/busines
2023-06-16   2023-06-19 s/amazon-freevee-judge-judy.html             Judge Judy Expands Fief On Amazon          By Brooks Barnes                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/us/the- The Rev C Welton Gaddy Defender of
2023-06-16   2023-06-19 rev-c-welton-gaddy-dead.html                 ChurchState Divide Dies at 81              By Neil Genzlinger                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/busines Murky Frontier of Rules For the Space
2023-06-17   2023-06-19 s/dealbook/space-industry-laws.html          Industry                                   By Ephrat Livni and Sarah Kessler TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/nyregio Jack McNally 89 Detective Helped Solve
2023-06-17   2023-06-19 n/jack-mcnally-dead.html                     Famed Jewel Heist                          By Daniel E Slotnik               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/nyregio What a Commissioners Abrupt Departure        By Maria Cramer and Chelsia Rose
2023-06-17   2023-06-19 n/keechant-sewell-nypd.html                  Says About the NYPD Under Adams            Marcius                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/opinion My Church Was Part of the Slave Trade This
2023-06-17   2023-06-19 /catholic-church-slave-trade.html            Has Not Shaken My Faith                    By Rachel L Swarns                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/style/da Elite Rose Breeder Gives Black Gardener His
2023-06-17   2023-06-19 vid-austin-roses-danny-clarke.html           Flowers                                    By Remy Tumin                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/technol Binance Reaches Deal With SEC To Continue By David YaffeBellany and
2023-06-17   2023-06-19 ogy/binance-shutdown-sec-crypto.html         Operations in the US                       Matthew Goldstein                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/us/bear- Black Bear Kills Man at His Arizona Home in
2023-06-17   2023-06-19 attack-arizona.html                          Highly Uncommon Attack                     By Remy Tumin                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/us/min
                        neapolis-voices-justice-department-          Minneapolis Reckoning With Conduct of      By Ernesto Londoo and Dan
2023-06-17   2023-06-19 report.html                                  Police                                     Simmons                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/us/polit
                        ics/biden-saudi-arabia-israel-palestine-     US in Long Shot Seeks Saudi Deal With      By Mark Mazzetti Ronen Bergman
2023-06-17   2023-06-19 nuclear.html                                 Netanyahu                                  Edward Wong and Vivian Nereim TX 9-304-143       2023-08-01

                        https://www.nytimes.com/2023/06/17/us/polit
2023-06-17   2023-06-19 ics/birth-control-dobbs-clarence-thomas.html Contraception Is Next Battle At State Level By Sheryl Gay Stolberg         TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/17/world/a Blinken Faces Clashing Agendas and Maybe By Edward Wong and David
2023-06-17   2023-06-19 sia/blinken-xi-china.html                    Xi in China                                 Pierson                        TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/17/movies/
                        angela-bassett-how-stella-got-her-groove-    Angela Bassett on How Stella Got Her
2023-06-18   2023-06-19 back.html                                    Groove Back 25 Years Later                  By Kalia Richardson            TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/17/sports/g A BiteSize Challenge Makes the Worlds Best
2023-06-18   2023-06-19 olf/us-open-15th-shortest-hole.html          Players Queasy                              By Bill Pennington             TX 9-304-143     2023-08-01




                                                                               Page 5377 of 5793
                        https://www.nytimes.com/2023/06/18/busines Poor Opening for Elemental Raises Doubts
2023-06-18   2023-06-19 s/pixar-elemental-the-flash-box-office.html About Pixar on the Big Screen                 By Brooks Barnes                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/opinion The Justices Finally Get the Right Balance on
2023-06-18   2023-06-19 /us-supreme-court-voting-rights.html        Voting Rights                                 By David French                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/sports/a
                        utoracing/f1-canadian-grand-prix-tv-        Verstappen Leader of 224 Straight Laps Wins
2023-06-18   2023-06-19 results.html                                4th in a Row                                  By Andrew Das and Josh Katz       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/sports/b In Season of Stumbles The Cardinals Still See
2023-06-18   2023-06-19 aseball/oliver-marmol-cardinals.html        Opportunities Ahead                           By Tyler Kepner                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/sports/s Saudis Hire a Soccer Superstar To Polish
2023-06-18   2023-06-19 occer/lionel-messi-saudi-arabia.html        Their Realms Image                            By Karim Zidan and Tariq Panja    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/theater/
                        light-in-the-piazza-encores-asian-
2023-06-18   2023-06-19 american.html                               Casting a Piazza in an Asian American Light By Matt Stevens                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/us/calif After Winter Deluge California Rivers Grow
2023-06-18   2023-06-19 ornia-rivers-safety-currents.html           Dangerous to Use                              By Jill Cowan                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/us/illin 23 Are Shot And 1 Dies At Juneteenth          By Amanda Holpuch and Emma
2023-06-18   2023-06-19 ois-mass-shooting.html                      Celebration                                   Bubola                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/us/neva In Nevada Killing Crickets Before Theyre in
2023-06-18   2023-06-19 da-mormon-crickets-elko.html                Your Hair                                     By Eduardo Medina                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/us/polit Biden Focuses on Business of Governing Not
2023-06-18   2023-06-19 ics/biden-trump-contrast.html               Trump                                         By Zolan KannoYoungs              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/world/a In Uganda Attack Boys Burned in Beds and
2023-06-18   2023-06-19 frica/uganda-school-attack.html             Girls Hacked by Machetes                      By Abdi Latif Dahir               TX 9-304-143   2023-08-01
                                                                    Northern India Endures a Heat Wave and a
                        https://www.nytimes.com/2023/06/18/world/a Wave of Deaths as a Possible Link Is
2023-06-18   2023-06-19 sia/india-heat-death.html                   Pondered                                      By Alex Travelli and Hari Kumar   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/world/a Seeking Drug Rehab Indonesians Were
2023-06-18   2023-06-19 sia/indonesia-slavery-drugs.html            Enslaved                                      By Richard C Paddock              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/world/e Pope Thanks WellWishers After Leaving the
2023-06-18   2023-06-19 urope/pope-vatican-hospital.html            Hospital                                      By Elisabetta Povoledo            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/world/e
                        urope/ukraine-strike-russian-ammunition-    Kyiv Makes Small Gain in South Russian        By Matthew Mpoke Bigg and Neil
2023-06-18   2023-06-19 dump.html                                   Official Says in Intense Fight                MacFarquhar                       TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/18/world/ Dutch Exhibit Links Egypt to Africa Ire Boils
2023-06-18   2023-06-19 middleeast/egypt-african-dutch-museum.html Over in Egypt                                By Vivian Yee                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/world/
                        middleeast/israel-west-bank-settlements-   Israel Eases Rules for Settlements in West
2023-06-18   2023-06-19 rules.html                                 Bank                                         By Isabel Kershner                  TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/18/sports/g In Los Angeles Newcomer Wins for Best
2023-06-19   2023-06-19 olf/us-open-wyndham-clark-rory-mcilroy.html Score                                       By Alan Blinder                     TX 9-304-143   2023-08-01




                                                                                Page 5378 of 5793
                        https://www.nytimes.com/2023/06/19/arts/tele
                        vision/whats-on-tv-this-week-below-the-belt-
2023-06-19   2023-06-19 and-a-juneteenth-celebration.html            This Week on TV                          By Kristen Bayrakdarian             TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/19/insider/
2023-06-19   2023-06-19 climate-change-new-jersey-schools.html       In a Classroom Lessons on Climate Change By Josh Ocampo                      TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/19/nyregio Brooklyns Juneteenth Red Velvet Cake and a
2023-06-19   2023-06-19 n/brooklyn-juneteenth-food-festival.html     Slice of History                         By Dodai Stewart                    TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/19/sports/b
2023-06-19   2023-06-19 asketball/nba-draft-preview.html             Below Wembanyama But Not in the Shadows By David Gardner                     TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/19/sports/b
                        asketball/tyrell-terry-basketball-mental-
2023-06-19   2023-06-19 health.html                                  I Cant Continue This Fight Any Longer    By Jonathan Abrams                  TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/19/us/polit
2023-06-19   2023-06-19 ics/early-mail-voting-republicans-trump.html GOP Grudgingly Embraces Voting by Mail By Neil Vigdor                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/us/polit                                               By Ronen Bergman Adam
2023-06-19   2023-06-19 ics/russia-spy-assassination.html            Russia Sought To Kill Defector In US in 2020 Goldman and Julian E Barnes       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/world/a
                        mericas/argentina-inflation-peso-            As the Peso Plunges Argentines Go Out to
2023-06-19   2023-06-19 restaurants.html                             Feast                                        By Natalie Alcoba and Sarah Pabst TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/world/e
                        urope/ukraine-weapons-howitzers-             Some Donated Weapons Are Scrapped for
2023-06-19   2023-06-19 contracts.html                               Parts                                        By Justin Scheck and Lara Jakes   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/06/science Virgin Crocodile Birth Seen for the First
2023-06-06   2023-06-20 /crocodile-virgin-birth-parthenogenesis.html Time                                       By Veronique Greenwood            TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/08/well/mi
2023-06-08   2023-06-20 nd/gratitude-health-benefits.html            Be Grateful Say So Its Good for You        By Christina Caron                TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/09/science Apollo 11s Quarantine Inadequate Study
2023-06-09   2023-06-20 /nasa-moon-quarantine.html                   Says                                       By Sarah Scoles                   TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/09/well/m
                        ove/walk-talk-social-connections-
2023-06-09   2023-06-20 conversation.html                            Take a Walk Have a Talk                    By Jancee Dunn                  TX 9-304-143       2023-08-01
                                                                                                                By Emily Baumgaertner Jason Kao
                                                                                                                Eleanor Lutz Josephine Sedgwick
                        https://www.nytimes.com/interactive/2023/06/ Noise Could Take Years Off Your Life Heres Rumsey Taylor Noah Throop and
2023-06-09   2023-06-20 09/health/noise-exposure-health-impacts.html How                                        Josh Williams                   TX 9-304-143       2023-08-01

                        https://www.nytimes.com/2023/06/10/well/m
2023-06-10   2023-06-20 ove/boxing-workout-strength-endurance.html Put More Punch Into Your Workout           By Rachel Fairbank                  TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/12/well/liv
                        e/perimenopause-periods-menstrual-          Your Friends May Not Have Mentioned Flash
2023-06-12   2023-06-20 cycle.html                                  Periods                                   By Alisha Haridasani Gupta          TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/13/opinion
2023-06-13   2023-06-20 /media-layoffs-journalism-internet.html     The Tragic Decline of Free News           By Lydia Polgreen                   TX 9-304-143     2023-08-01



                                                                                 Page 5379 of 5793
                        https://www.nytimes.com/2023/06/13/well/w Why Do Women Have More Sleep Issues
2023-06-13   2023-06-20 omen-sleep-issues-hormones.html             Than Men                                  By Lisa L Lewis                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/science
2023-06-14   2023-06-20 /ibm-quantum-computing.html                 Quantum Computing Could Begin a New Era By Kenneth Chang                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/14/us/nois
2023-06-14   2023-06-20 e-san-diego-health-effects.html             A Team in Search of PeaceRattling Noise   By Soumya Karlamangla                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/busines
2023-06-15   2023-06-20 s/economy/oregon-idaho-marijuana.html       A Boom in Oregon Spurs Envy in Idaho      By Kurtis Lee                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/busines Architects Are Turning to AI to Help
2023-06-15   2023-06-20 s/workplace-design-zhai-ai.html             Reimagine Office Spaces                   By Farah Nayeri                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/technol
                        ogy/personaltech/travel-booking-junk-       Beware the Great Deal on Travel Junk Fees
2023-06-15   2023-06-20 fees.html                                   Often Hide Until Checkout                 By Brian X Chen                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/arts/dan
                        ce/pina-bausch-dance-company-new-           Pina Bauschs Dance Company Steps Toward
2023-06-16   2023-06-20 season.html                                 a New Era                                 By Roslyn Sulcas                     TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/16/arts/des
2023-06-16   2023-06-20 ign/nachume-miller-flood-exhibition-art.html Unboxing An Artists Legacy                 By Rachel Sherman                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/movies/
2023-06-16   2023-06-20 the-flash-ezra-miller.html                   The Flash Survives Its Vexed Star          By Sarah Bahr                      TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/16/movies/ How the Newest Transformers Throws a 90s
2023-06-16   2023-06-20 transformers-rise-of-the-beasts-nostalgia.html HipHop Party                             By Robert Daniels                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/technol
                        ogy/how-to-use-ai-as-a-shopping-
2023-06-16   2023-06-20 assistant.html                                 How to Make AI Your Personal Shopper     By Brian X Chen                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/health/c
2023-06-17   2023-06-20 ovid-ventilation-air-quality.html              The New War on Bad Air                   By Emily Anthes                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/opinion Taylor Swift Has Rocked My Psychiatric
2023-06-17   2023-06-20 /taylor-swift-mental-health.html               Practice                                 By Suzanne GarfinkleCrowell        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/well/m
2023-06-17   2023-06-20 ove/exercise-heat-humidity.html                If Its Humid Workouts Need to Change     By Danielle Friedman               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/books/s
                        askia-hamilton-poet-who-edited-another-poets Saskia Hamilton 56 Acclaimed Poet Who
2023-06-18   2023-06-20 letters-dies-at-56.html                        Edited Letters of Another Poet           By Neil Genzlinger                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/busines Hometown Papers Face Reprisals for
2023-06-18   2023-06-20 s/newspapers-public-notices.html               Covering the News                        By Emily Flitter                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/nyregio An Ally of Adamss for 40 Years Agitates      By Brian M Rosenthal and Jeffery
2023-06-18   2023-06-20 n/ingrid-lewis-martin-adams.html               From Inside City Hall                    C Mays                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/nyregio A 5750aMonth Brooklyn Apartment Has a
2023-06-18   2023-06-20 n/vegan-tenants-landlord-ny.html               Smell Test                               By Andy Newman                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/obituari Donald Triplett Autisms Case 1 and a Beacon
2023-06-18   2023-06-20 es/donald-triplett-dead.html                   of Hope Dies at 89                       By Alex Traub                      TX 9-304-143   2023-08-01




                                                                                 Page 5380 of 5793
                        https://www.nytimes.com/2023/06/18/us/polit
                        ics/daniel-ellsberg-espionage-act-pentagon-
2023-06-18   2023-06-20 papers.html                                 At 90 Ellsberg Tried To Get Prosecuted Again By Charlie Savage                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/sports/g McIlroys Lament Not Much Wrong Not
2023-06-19   2023-06-20 olf/us-open-rory-mcilroy.html               Enough Right                                 By Bill Pennington               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/world/a                                               By Edward Wong and David
2023-06-19   2023-06-20 sia/blinken-china-xi-diplomacy.html         Blinken and Xi Begin a Thaw If Just a Little Pierson                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/arts/am
2023-06-19   2023-06-20 sterdam-boom-chicago-comedy-club.html       American Comics Flourish in a Dutch Club By Nina Siegal                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/arts/dan
2023-06-19   2023-06-20 ce/river-to-river-festival.html             Gliding Away and Not Just From Clothing      By Brian Seibert                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/books/r
2023-06-19   2023-06-20 eview/western-fiction-race-gender.html      Novelists Reimagine The Old West             By Celia McGee                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/busines For China No Easy Fix As Recovery Hits a      By Keith Bradsher Daisuke
2023-06-19   2023-06-20 s/economy/china-economy-stimulus.html       Wall                                         Wakabayashi and Claire Fu        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/movies/
2023-06-19   2023-06-20 take-care-of-maya-review.html               The Trauma Of a Family Torn Apart            By Natalia Winkelman             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/nyregio Sentencing Days Away ExLawyer Dies in
2023-06-19   2023-06-20 n/james-ray-montclair-dead.html             Cell                                         By Tracey Tully                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/opinion                                               By Anupam B Jena and Christopher
2023-06-19   2023-06-20 /nutrition-science.html                     The Science of What We Eat Is Failing Us     M Worsham                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/science
2023-06-19   2023-06-20 /medicine-eponyms-nazis.html                Doing Nazis Bidding Yet Honored by Science By Rachel E Gross                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/sports/b Paul on Journey to Honor Grandfather Amid
2023-06-19   2023-06-20 asketball/chris-paul-phoenix-suns.html      Twist in NBA Path                            By Sopan Deb                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/technol
                        ogy/gop-disinformation-researchers-2024-                                                 By Steven Lee Myers and Sheera
2023-06-19   2023-06-20 election.html                               GOP Strikes At Researchers Into Deception Frenkel                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/us/bart- With Commuters Scarce Transit Agencies Try
2023-06-19   2023-06-20 san-francisco-california.html               New Enticements                              By Soumya Karlamangla            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/us/blac Building a New Holiday and Cowboy             By Brent Lewis and Eduardo
2023-06-19   2023-06-20 k-rodeo-oregon-juneteenth.html              Tradition                                    Medina                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/us/desa
2023-06-19   2023-06-20 ntis-newsom-california.html                 DeSantis Raises Cash In California           By Shawn Hubler                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/us/miss Tornado Kills at Least 1 in Mississippi as
2023-06-19   2023-06-20 issippi-tornado.html                        Heat Spikes                                  By Derrick Bryson Taylor         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/us/polit
2023-06-19   2023-06-20 ics/rfk-jr-biden-democrats.html             Kennedy Campaign Is a Headache for Biden By Reid J Epstein                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/world/a
                        sia/pakistan-mourning-greece-migrant-       Pakistan Says At Least 104 Of Its Citizens   By Christina Goldbaum and Salman
2023-06-19   2023-06-20 ship.html                                   Died at Sea                                  Masood                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/world/c
                        anada/submersible-titanic-missing-          Submersible Craft With 5 Aboard Vanishes By Jesus Jimnez Jenny Gross
2023-06-19   2023-06-20 search.html                                 on Way to the Titanic                        Emma Bubola and Alan Yuhas       TX 9-304-143   2023-08-01




                                                                               Page 5381 of 5793
                        https://www.nytimes.com/2023/06/19/world/e Johnson Is Rebuked By Parliament in Vote      By Mark Landler and Stephen
2023-06-19   2023-06-20 urope/boris-johnson-parliament-uk.html     On Partygate Scandal                          Castle                          TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/19/world/e Berlin and Beijing Try A Reset of Relations
2023-06-19   2023-06-20 urope/germany-china-relations.html         With New Calculations                         By Erika Solomon and Nicole Hong TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/19/world/e Greece Criticized For Not Helping Migrants By Jason Horowitz Matina
2023-06-19   2023-06-20 urope/greece-migrants-ship-sinking.html    at Sea                                      StevisGridneff and Niki Kitsantonis TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/world/e A New Trial For Navalny Could Pile On
2023-06-19   2023-06-20 urope/navalny-russia-new-trial.html        Years in Jail                               By Neil MacFarquhar                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/world/e Can Worlds Fair Bring New Life To Eternal
2023-06-19   2023-06-20 urope/rome-2030-expo-worlds-fair.html      City                                        By Jason Horowitz                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/world/e Far Right Secures a Foothold in Spanish
2023-06-19   2023-06-20 urope/spain-far-right-vox.html             Cities                                      By Constant Mheut                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/world/e Digging Up Old Graves to Make Way for a By Megan Specia and Brendan
2023-06-19   2023-06-20 urope/ukraine-soldier-funerals-lviv.html   Stream of Bodies                            Hoffman                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/world/ Five Palestinians Including 15YearOld Boy
2023-06-19   2023-06-20 middleeast/israel-west-bank-raid.html      Are Killed in Israeli Raid in the West Bank By Isabel Kershner                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/climate Himalayan Glaciers Shrinking at Faster Pace
2023-06-20   2023-06-20 /himalayas-melting-water-source.html       Researchers Find                            By Delger Erdenesanaa               TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/19/us/polit Trump Discusses Tape In Documents Case In By Maggie Haberman Alan Feuer
2023-06-20   2023-06-20 ics/trump-classified-document-fox-news.html Interview With Fox                           and Jonathan Swan                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/nyregio OcasioCortez Taking HandsOff Approach In
2023-06-20   2023-06-20 n/aoc-endorsement-nyc-council.html          Down Election Year                           By Nicholas Fandos                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/nyregio Brooklyn School Pioneers Unified Program to
2023-06-20   2023-06-20 n/ps-15-red-hook-brooklyn.html              Teach Children With Disabilities             By Troy Closson and Jackie Molloy TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/sports/b The Busy Job Of Preparing For a Moment On
2023-06-20   2023-06-20 asketball/scoot-henderson-nba-draft.html    the Stage                                    By Jonathan Abrams                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/us/polit Trump Ties Money and Politics Into Oman
2023-06-20   2023-06-20 ics/trump-real-estate-deal-oman.html        Deal                                         By Eric Lipton                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/opinion
                        /encryption-messaging-privacy-signal-
2023-06-13   2023-06-21 whatsapp.html                               A Rare Bulwark of Digital Privacy Is at Risk By Julia Angwin                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/article/meatballs-
2023-06-14   2023-06-21 tomato-sauce-recipe.html                    Summer Meatballs With Light Bright Sauce By Melissa Clark                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/dining/
                        drinks/carlo-mondavi-monarch-electric-
2023-06-15   2023-06-21 tractor.html                                A Vineyard Move to Drive Pollution Away By Eric Asimov                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/well/mi Here to Help How to Stay Calm During a
2023-06-15   2023-06-21 nd/flight-turbulence-anxiety.html           Bumpy Flight                                 By Christina Caron                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/dining/ After A Messy Meltdown Aiming To Rise
2023-06-16   2023-06-21 ample-hills-creamery-brooklyn.html          Again                                        By Julia Moskin                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/dining/
2023-06-16   2023-06-21 egusi-nigerian-soup-recipe.html             Why Egusi Is More Than Just a Great Soup By Yewande Komolafe                   TX 9-304-143   2023-08-01




                                                                                Page 5382 of 5793
                        https://www.nytimes.com/article/mentaiko-
2023-06-16   2023-06-21 pasta-recipe.html                             Memories for Breakfast and Beyond          By J Kenji LpezAlt              TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/18/arts/lisl- Lisl Steiner Photographer Who Peered Into
2023-06-18   2023-06-21 steiner-dead.html                             Stars Souls Dies at 95                     By Alex Williams                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/19/arts/mu Max Morath Pianist Of Ragtime Soaked In
2023-06-19   2023-06-21 sic/max-morath-dead.html                      Sepia Dies at 96                           By Robert D McFadden            TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/19/dining/
2023-06-19   2023-06-21 hawaii-local-food.html                        Its All Hawaiian Broadly Speaking          By Elyse Inamine                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/19/movies/
2023-06-19   2023-06-21 sasha-calle-the-flash-supergirl.html          One Superheros Secret Origin               By Brandon Yu                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/19/opinion Cormac McCarthy Had a Remarkable Career
2023-06-19   2023-06-21 /cormac-mccarthy-publishing.html              It Couldnt Happen Now                      By Dan Sinykin                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/19/us/vega
2023-06-19   2023-06-21 s-tropicana-casino-closing.html               Another Relic of Old Las Vegas May Vanish By Livia AlbeckRipka             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/19/busines
2023-06-20   2023-06-21 s/china-loan-prime-rates.html                 As the West Zigs China Zags With Rate Cuts By Keith Bradsher               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/arts/fin
2023-06-20   2023-06-21 al-fantasy-xvi-square-enix.html               Final Fantasy Takes On Old Foe             By Brian X Chen                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/arts/mu
2023-06-20   2023-06-21 sic/busoni-piano-concerto.html                A Composers Tough Work Is Worth It         By David Allen                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/arts/tele
                        vision/ebon-moss-bachrach-the-bear-season-
2023-06-20   2023-06-21 2.html                                        He Excels at Being Lovably Obnoxious       By Melena Ryzik                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/arts/tele Paxton Whitehead 85 a Tony Nominee Who
2023-06-20   2023-06-21 vision/paxton-whitehead-dead.html             Played Unfunny Roles for Laughs            By Daniel E Slotnik             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/arts/tele
2023-06-20   2023-06-21 vision/secret-invasion-review.html            Marvel Assembly Line Revives an Old Model By Mike Hale                     TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/books/b                                               By Elizabeth A Harris and
2023-06-20   2023-06-21 ook-bans-florida-tango-makes-three.html       Floridas Book Ban Draws a Lawsuit          Alexandra Alter                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/busines Alibaba Boss Moves Aside And 2
2023-06-20   2023-06-21 s/alibaba-daniel-zhang-joseph-tsai.html       CoFounders Step Up                         By Chang Che                    TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/busines Estimating Their Worth Before an Offer Is
2023-06-20   2023-06-21 s/job-search-salary-ranges.html               Made                                       By H Claire Brown               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/busines Gannett Is Suing Google Accusing It of
2023-06-20   2023-06-21 s/media/gannett-google-lawsuit.html           Dominating the Digital Ad Market           By Katie Robertson              TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/20/busines Thousands of Reddit Communities Stay Dark
2023-06-20   2023-06-21 s/media/reddit-moderators-api-protest.html as Policy Protest Continues               By Michael Levenson                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/dining/
2023-06-20   2023-06-21 black-owned-restaurants-bed-stuy.html      The BlackOwned Restaurants of BedStuy     By Nikita Richardson                TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/20/dining/
2023-06-20   2023-06-21 okdongsik-korea-town-restaurant-review.html Prolonged WellBeing in a Short Menu          By Pete Wells                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/health/a New York Passes Bill to Let Doctors Mail
2023-06-20   2023-06-21 bortion-shield-law-new-york.html            Abortion Pills to States With Bans           By Pam Belluck and Emily Bazelon TX 9-304-143   2023-08-01



                                                                                 Page 5383 of 5793
                        https://www.nytimes.com/2023/06/20/movies/
2023-06-20   2023-06-21 jonathan-majors-court-appearance.html      Trial Date Is Set for Jonathan Majors       By Matt Stevens                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/nyregio Unwarranted Covid Relief Flowed to New
2023-06-20   2023-06-21 n/nj-covid-money.html                      Jersey Fishery Businesses Official Says     By Elise Young                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/nyregio Fire Near Chinatown That Began at Shop      By Hurubie Meko Chelsia Rose
2023-06-20   2023-06-21 n/nyc-chinatown-fire.html                  Selling EBikes Kills 4                      Marcius Winnie Hu and Ellen Yan TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/20/nyregio 3 Convicted of Harassing New Jersey Family
2023-06-20   2023-06-21 n/verdict-china-spying-trial.html          on Behalf of the Chinese Government        By Karen Zraick                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/opinion
                        /robert-kennedy-democrat-president-        Take Bobby Kennedy Jr Seriously Not
2023-06-20   2023-06-21 2024.html                                  Literally                                  By Bret Stephens                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/opinion
2023-06-20   2023-06-21 /taylor-swift-economics.html               Is Taylor Swift Underpaid                  By Paul Krugman                   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/20/sports/b In Homage to Mays and the Negro Leagues
2023-06-20   2023-06-21 aseball/rickwood-field-giants-cardinals.html MLB Heads to Birmingham                   By David Waldstein               TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/20/sports/b One More Chorus Of Humm Baby For a
2023-06-20   2023-06-21 aseball/roger-craig-dodgers-mets-giants.html Baseball Lifer                               By Scott Miller               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/sports/f This high school coach eliminated fullcontact
                        ootball/cte-study-concussions-brain-         practices A new study on CTE suggests that By Ken Belson and Benjamin
2023-06-20   2023-06-21 tackle.html                                  may be the right approach                    Mueller                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/sports/s Chelsea Sale Proceeds Have Yet to Reach
2023-06-20   2023-06-21 occer/chelsea-sale-ukraine.html              Ukraine War Victims                          By Tariq Panja                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/20/theater/
2023-06-20   2023-06-21 a-simulacrum-steve-cuiffo-lucas-hnath.html Nothing to Hide Up His Sleeves              By Alexis Soloski                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/theater/
2023-06-20   2023-06-21 cabaret-review-barrington-stage.html        A Musical Revival At War With Itself       By Jesse Green                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/us/arka Judge Dismisses Ban in Arkansas For
2023-06-20   2023-06-21 nsas-transgender-care-ban.html              Gender Care                                By Rick Rojas and Emily Cochrane TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/us/miss Rescuers Step Up Search for Craft Missing
2023-06-20   2023-06-21 ing-titanic-submersible-search.html         Near Titanics Wreckage                     By Jenna Russell                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/us/ocea                                             By Nicholas BogelBurroughs Jenny
2023-06-20   2023-06-21 ngate-titanic-missing-submersible.html      Company Was Warned Of Potential Dangers    Gross and Anna Betts             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/us/polit
                        ics/federal-policy-on-homelessness-becomes- Policy to Fight Homelessness Becomes a
2023-06-20   2023-06-21 new-target-of-the-right.html                Target of the Right                        By Jason DeParle                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/20/us/polit                                             By Michael S Schmidt and Adam
2023-06-20   2023-06-21 ics/hunter-biden-plea-deal-tax-charges.html Hunter Biden Likely to Avoid Prison in Deal Entous                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/us/polit For Biden His Sons Troubles Are Painful
2023-06-20   2023-06-21 ics/joe-biden-hunter-plea-deal.html         Personally and Politically                  By Peter Baker                  TX 9-304-143   2023-08-01




                                                                               Page 5384 of 5793
                        https://www.nytimes.com/2023/06/20/us/polit Abortion Views Are Risky Turf On GOP
2023-06-20   2023-06-21 ics/republicans-abortion.html               Trail                                       By Katie Glueck                TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/20/us/polit Trial Judge Puts Documents Case On Speedy By Alan Feuer Maggie Haberman
2023-06-20   2023-06-21 ics/trump-classified-documents-trial-date.html Path                                    and Charlie Savage              TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/20/us/verm Vermonts Homeless Are Forced From Hotels
2023-06-20   2023-06-21 ont-homeless-pandemic-aid.html                 as Covid Aid Ends                       By Jenna Russell                TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/20/world/a Between US and China Two Takes on a         By David Pierson and Edward
2023-06-20   2023-06-21 sia/china-blinken-xi-economy.html              Rivalry                                 Wong                            TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/20/world/e In Romania An Influencer Is Accused Of
2023-06-20   2023-06-21 urope/andrew-tate-romania.html                 Trafficking                             By Isabella Kwai                TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/20/world/e EU Proposes Strategy Aimed at Blocking
2023-06-20   2023-06-21 urope/eu-china-economic-strategy.html          Chinas Access to Economic Secrets       By Matina StevisGridneff        TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/20/world/e
                        urope/foreign-spies-germany-serious-           German Spy Agency Report Says China and
2023-06-20   2023-06-21 threat.html                                    Russia Are After Its Secrets            By Erika Solomon                TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/20/world/e As German Worries About Future Rise
2023-06-20   2023-06-21 urope/germany-far-right-afd-comeback.html FarRight Party Surges                         By Erika Solomon               TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/20/world/e
                        urope/paris-2024-olympics-corruption-raid- French Police Search Paris 2024 Olympics
2023-06-20   2023-06-21 france.html                                Offices in Two Corruption Investigations     By Aurelien Breeden            TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/20/world/e
2023-06-20   2023-06-21 urope/rome-julius-caesar-assassination.html A Tourist Site Rises From Where Caesar Fell By Elisabetta Povoledo         TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/20/world/e
                        urope/russia-drones-kyiv-lviv-ukraine-      Predawn Drone Attack By Russia Targets      By Cassandra Vinograd and
2023-06-20   2023-06-21 war.html                                    Kyiv                                        Victoria Kim                   TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/20/world/e Hidden Horrors of Russian Treatment of       By Carlotta Gall and Daniel
2023-06-20   2023-06-21 urope/russia-ukraine-pows-abuse.html        POWs                                        Berehulak                      TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/20/world/ Palestinian Gunmen Kill 4 Israelis in West
2023-06-20   2023-06-21 middleeast/israelis-attacked-west-bank.html Bank                                        By Patrick Kingsley              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/busines Top Producer Poised to Leave Netflix for
2023-06-21   2023-06-21 s/media/ryan-murphy-disney.html             Disney                                      By John Koblin and Brooks Barnes TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/us/polit Garlands Distance From Hunter Biden Inquiry
2023-06-21   2023-06-21 ics/merrick-garland-hunter-biden.html       Fails to Quell Critics                      By Glenn Thrush                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/insider/
2023-06-21   2023-06-21 public-birding-project.html                 Our Plan to Attract a Flock of Birders      By Alan Burdick and Elaine Chen TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/15/t-
2023-06-15   2023-06-22 magazine/aperitivo-milan-dinner-party.html People Places Things                         By Laura May Todd                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/theater/
2023-06-16   2023-06-22 romeo-and-juliet-toheeb-jimoh.html          Overly Familiar But Still Fresh             By Matt Wolf                     TX 9-304-143   2023-08-01




                                                                                Page 5385 of 5793
                        https://www.nytimes.com/interactive/2023/06/ The Places Most Affected by Remote           By Emily Badger Robert Gebeloff
2023-06-17   2023-06-22 17/upshot/17migration-patterns-movers.html Workers Moves Around the Country               and Josh Katz                   TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/19/opinion The Homes of Lowndes County Ala Are
2023-06-19   2023-06-22 /environmental-racism-justice.html           Waiting                                      By Nick Tabor                    TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/19/style/la
2023-06-19   2023-06-22 s-culturistas-culture-awards.html            This Award Show Ramps Up the Silly           By Callie Holtermann             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/19/style/lu
2023-06-19   2023-06-22 be-sex-packaging-design.html                 Lube Too Chic for the Sock Drawer            By Gina Cherelus                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/arts/mu Elton John Denounces AntiLGBTQ
2023-06-20   2023-06-22 sic/elton-john-lgbtq-rights.html             Legislation                                  By Maya Salam                    TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/movies/ Filmmakers Obsession Feeds Mystique of
2023-06-20   2023-06-22 james-cameron-titanic.html                   Deep                                         By Alex Marshall                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/nyregio
2023-06-20   2023-06-22 n/the-suburbs-dont-love-new-york.html        The Suburbs May Not Love New York City       By James Barron                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/opinion
                        /wildfire-smoke-minneapolis-canada-          Were Watching the Sky as We Know It
2023-06-20   2023-06-22 fires.html                                   Disappear                                    By Paul Bogard                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/sports/b Technology and the Ban on Shifts Help
2023-06-20   2023-06-22 aseball/mlb-groundskeepers-grass.html        Grounds Crews Create Fields of Dreams        By David Waldstein               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/sports/s
2023-06-20   2023-06-22 occer/us-womens-world-cup-roster.html        US Will Bring A Mixed Bag Of Experience      By Juliet Macur                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/style/ja Governors Island Lawn Party Revisits the
2023-06-20   2023-06-22 zz-age-lawn-party.html                       Jazz Age                                     By Alex Vadukul                  TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/20/style/w
                        hat-happens-when-you-get-so-influential-that- If Success Stifles Creativity Its Time to
2023-06-20   2023-06-22 youre-bored-by-your-own-aesthetic.html        Refresh                                     By Maureen OConnor               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/theater/ TonyWinning Shows Got Box Office Boost        By Michael Paulson and
2023-06-20   2023-06-22 tony-awards-broadway-box-office.html          After Awards Night                          Christopher Kuo                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/20/sports/b
                        asketball/victor-wembanyama-yankees-first- How Does the NBAs Top Prospect Get to
2023-06-21   2023-06-22 pitch.html                                    Yankee Stadium By Subway                    By Tania Ganguli and Desiree Rios TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/arts/des
2023-06-21   2023-06-22 ign/mini-mall-flushing-art-asia.html          This Is New York Citys Latest Art Gallery   By Aruna DSouza                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/21/books/j Julie Garwood a BestSelling Romance
2023-06-21   2023-06-22 ulie-garwood-dead.html                        Novelist Is Dead at 78                      By Neil Genzlinger               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/21/books/r
                        eview/plunder-brendan-ballou-these-are-the-
                        plunderers-gretchen-morgenson-joshua-         Pushing Businesses Into Bankruptcy in the
2023-06-21   2023-06-22 rosner.html                                   Name of Efficiency                          By Jennifer Szalai               TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/21/busines After a Lull SoftBanks Chief Says He Wants
2023-06-21   2023-06-22 s/dealbook/softbanks-masayoshi-son-ai.html the Company To Lead the AI Revolution      By Michael J de la Merced            TX 9-304-143    2023-08-01




                                                                                 Page 5386 of 5793
                        https://www.nytimes.com/2023/06/21/busines
                        s/economy/powell-inflation-federal-
2023-06-21   2023-06-22 reserve.html                               Powell Sees Trek Ahead On Inflation          By Jeanna Smialek               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/busines
                        s/economy/student-loan-payments-debt-      As PandemicEra Programs End Problems for
2023-06-21   2023-06-22 economy.html                               the Economy Loom                             By Lydia DePillis               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/busines
2023-06-21   2023-06-22 s/economy/us-inflation-fed.html            Inflation Fight Looking Bright But Isnt Over By Jeanna Smialek               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/busines
                        s/media/academy-awards-best-picture-       To Win Oscars Top Prize Films Will Need to
2023-06-21   2023-06-22 eligibility.html                           Be In the Theaters for Longer                By Nicole Sperling              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/busines
                        s/media/alito-propublica-wall-street-      Justices Reply To ProPublica In Rival Paper
2023-06-21   2023-06-22 journal.html                               Stirs Criticism                              By Katie Robertson              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/busines
                        s/media/daniel-ellsberg-pentagon-papers-
2023-06-21   2023-06-22 nyt.html                                   War Leaker Had Tension With Times            By Benjamin Mullin              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/busines Emmys May Be Delayed Because of Writers
2023-06-21   2023-06-22 s/media/emmy-awards-writers-strike.html    Strike                                       By John Koblin                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/busines UK Inflation Rate Remains Stuck at a Painful
2023-06-21   2023-06-22 s/uk-inflation-may.html                    87                                           By Eshe Nelson                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/climate Endangered Species Act to Be Strengthened By Lisa Friedman and Catrin
2023-06-21   2023-06-22 /biden-endangered-species-act.html         Reversing TrumpEra Policies                  Einhorn                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/movies/
                        wes-anderson-asteroid-city-camera-
2023-06-21   2023-06-22 moves.html                                 Filmmakers Agile Master Of Ingenuity         By Melena Ryzik                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/nyregio Back in Albany To Vote on Bills For Hot      By Luis FerrSadurn and Grace
2023-06-21   2023-06-22 n/assembly-convictions-ny.html             Issues                                       Ashford                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/nyregio A Note Before Stretching Yoga Means to
2023-06-21   2023-06-22 n/narendra-modi-yoga-united-nations.html   Unite                                        By Sarah Maslin Nir             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/nyregio Property Taxes Could Be Cut in Half For
2023-06-21   2023-06-22 n/property-tax-cut-new-jersey.html         Older New Jersey Homeowners                  By Tracey Tully                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/21/nyregio New Yorkers in RentStabilized Homes Face a By Mihir Zaveri and Olivia
2023-06-21   2023-06-22 n/rent-stabilized-apartment-homes-rise.html Rise in Prices                            Bensimon                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/opinion
2023-06-21   2023-06-22 /senate-nomination-holds.html               The High Price of Petulance in the Senate By David Firestone                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/science Thriving Life And Danger On the Floor Of
2023-06-21   2023-06-22 /alvin-submersible-ocean.html               the Ocean                                 By William J Broad                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/sports/b Rangers Catcher Finds a Way to Illegally
2023-06-21   2023-06-22 aseball/rangers-padres-block-plate.html     Block the Plate From Behind It            By Benjamin Hoffman               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/sports/b At This Basketball Camp They Dish Hot
2023-06-21   2023-06-22 asketball/nba-broadcasting-camp.html        Takes                                     By Sopan Deb and Allison Zaucha   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/style/mi
2023-06-21   2023-06-22 lan-fashion-week-men.html                   Refined Touches Restore the Magic         By Guy Trebay                     TX 9-304-143   2023-08-01



                                                                                Page 5387 of 5793
                        https://www.nytimes.com/2023/06/21/technol Amazon Traps Users in Service Regulator
2023-06-21   2023-06-22 ogy/ftc-amazon-prime-lawsuit.html           Says                                     By David McCabe                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/theater/
                        britney-spears-once-upon-a-one-more-
2023-06-21   2023-06-22 time.html                                   Musical Aims To Wow Britney And Her Fans By Julia Jacobs                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/theater/
2023-06-21   2023-06-22 good-vibrations-review.html                 SnarlFree Punk Rebellion in Belfast      By Laura CollinsHughes               TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/21/upshot/ Child Care Disruptions Could Come Quickly By Claire Cain Miller Alicia
2023-06-21   2023-06-22 child-care-daycare-disruptions.html         as Safety Net Funding Nears an End          Parlapiano and Madeleine Ngo      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/us/affir Inside the Lives Changed by Affirmative
2023-06-21   2023-06-22 mative-action-student-experiences.html      Action                                      By Amy Harmon                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/us/lab- LabGrown Meat Is Approved for Sale in the
2023-06-21   2023-06-22 grown-meat-sale-approval.html               United States                               By Linda Qiu                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/us/naep-13YearOlds in US Record Lowest Test Scores
2023-06-21   2023-06-22 test-results-education.html                 in Decades                                  By Dana Goldstein                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/us/okla Heat and Storms Threaten a Battered          By Edgar Sandoval and Judson
2023-06-21   2023-06-22 homa-heat-power.html                        Oklahoma                                    Jones                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/us/polit Airman Pleads Not Guilty to Federal Charges By Beth Treffeisen and Glenn
2023-06-21   2023-06-22 ics/airman-jack-teixeira-leaks-case.html    in Leaks Case                               Thrush                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/us/polit During Modis Visit Biden Plans to Focus on
2023-06-21   2023-06-22 ics/biden-modi-visit.html                   Common Interests                            By Peter Baker and Mujib Mashal   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/21/us/polit Declassified Data on Covids Origins Is Said
2023-06-21   2023-06-22 ics/covid-pandemic-lab-leak-intelligence.html to Be Inconclusive                         By Julian E Barnes               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/us/polit Rioter Who Assaulted Police Officer on Jan 6
2023-06-21   2023-06-22 ics/daniel-rodriguez-jan-6-sentence.html      Is Sentenced to More Than 12 Years         By Glenn Thrush and Alan Feuer   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/us/polit
                        ics/fbi-analyst-prison-classified-            ExAnalyst Sent to Prison For Removing FBI By Adam Goldman and Traci
2023-06-21   2023-06-22 documents.html                                Files                                      Angel                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/us/polit RepublicanLed House Censures Schiff for
2023-06-21   2023-06-22 ics/house-censures-adam-schiff.html           Role in Trump Investigation                By Luke Broadwater               TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/21/us/polit Special Counsel Who Sought a Deep State
2023-06-21   2023-06-22 ics/john-durham-special-counsel-russia.html Plot Shares Muted Results                     By Charlie Savage               TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/21/us/polit Alito Defends Using Billionaires Jet Then
2023-06-21   2023-06-22 ics/justice-alito-luxury-travel-fishing-trip.html Judging Cases Involving Him             By Adam Liptak                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/us/polit                                               By Jonathan Swan Maggie
                        ics/justice-department-republicans-trump-         For GOP Candidates Justice Dept         Haberman Charlie Savage and
2023-06-21   2023-06-22 investigations.html                               Independence Is No Sure Thing           Jonathan Weisman                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/us/polit
2023-06-21   2023-06-22 ics/senate-abortion-bills.html                    Highlighting GOPs AntiAbortion Stance   By Annie Karni                  TX 9-304-143   2023-08-01




                                                                                  Page 5388 of 5793
                                                                                                                By Katrina Miller Nicholas
                        https://www.nytimes.com/2023/06/21/us/titan- Undersea Noises Become Focus of Search for BogelBurroughs and James C
2023-06-21   2023-06-22 undersea-noises.html                         Submersible                                McKinley Jr                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/world/a
2023-06-21   2023-06-22 sia/india-modi-radio-mann-ki-baat.html       On the Radio A Softer Modi Soothes India   By Mujib Mashal                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/world/a Hopes for Better Life End With a Sinking In By Christina Goldbaum and Zia
2023-06-21   2023-06-22 sia/pakistan-greek-migrants-ship.html        the Mediterranean                          urRehman                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/world/a South Korea to Eliminate Hard Problems on
2023-06-21   2023-06-22 sia/south-korea-csat-questions.html          Exam                                       By Jin Yu Young                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/world/e Haim Roet 90 Who Recited Names Of
2023-06-21   2023-06-22 urope/haim-roet-dead.html                    Victims Killed in the Holocaust            By Daniel E Slotnik              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/world/e Another Migrants Boat Sinks Off African
2023-06-21   2023-06-22 urope/spain-migrants-canary-islands.html     Coast                                      By Constant Mheut                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/21/world/e Dam Disaster Renders Sea Off Limits For
2023-06-21   2023-06-22 urope/ukraine-odesa-mines-beaches-dam.html Odesa                                          By Marc Santora                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/world/e
                        urope/ukraine-russia-messaging-
2023-06-21   2023-06-22 expectations.html                            Kyiv Battles Another Foe Impatience          By Cassandra Vinograd          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/world/e Western Allies Pledge Billions Toward the
2023-06-21   2023-06-22 urope/ukraine-war-recovery.html              Reconstruction of Ukraine                    By Mark Landler                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/world/e Superyacht Rescued Migrants And Worlds         By Jason Horowitz and Matina
2023-06-21   2023-06-22 urope/yacht-migrant-rescue-greece.html       Met in a Dire Sea                            StevisGridneff                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/world/ As Drought Chokes Iran Some Chase the Last By Vivian Yee and Leily
2023-06-21   2023-06-22 middleeast/iran-drought-water-climate.html Drops of Water                                 Nikounazar                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/world/
                        middleeast/west-bank-settlement-palestinian- Killing Spurs Wave of Attacks on Palestinian
2023-06-21   2023-06-22 israeli-violence.html                        Towns                                        By Patrick Kingsley            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/article/andrew-tate- Online Influencer Is Formally Indicted in
2023-06-21   2023-06-22 romania-charges.html                         Romania                                      By Isabella Kwai               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/theater/ The Radio DJ Who Was Vilified As a Public
2023-06-22   2023-06-22 rock-and-roll-man-review.html                Enemy                                        By Elisabeth Vincentelli       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/us/ai- Schumers Path to Tackling AI Includes
2023-06-22   2023-06-22 regulation-schumer-congress.html             Education and Prioritization                 By Karoun Demirjian            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/opinion
2023-06-22   2023-06-22 /narendra-modi-india-democracy.html          Modis India Isnt What It Seems               By Maya Jasanoff               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/style/ho Away From Ibiza in a Place That Welcomes
2023-06-22   2023-06-22 tel-corazon-majorca-spain.html               Bare Feet                                    By Elizabeth Paton             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/08/arts/des The Barbershop Is Haven and Artistic
2023-06-08   2023-06-23 ign/hurvin-anderson-barbershop.html          Inspiration                                  By Precious Adesina            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/books/r
                        obert-plunket-my-search-for-warren-
2023-06-16   2023-06-23 harding.html                                 HasBeen but Back on the Literary Map         By Alexandra Alter             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/arts/dan Magda Saleh 79 Egyptian Ballerina Who
2023-06-20   2023-06-23 ce/magda-saleh-dead.html                     Wanted Everyone to Experience Ballet         By Anna Kisselgoff             TX 9-304-143   2023-08-01



                                                                                Page 5389 of 5793
                        https://www.nytimes.com/2023/06/20/movies/
2023-06-20   2023-06-23 sublime-review.html                        Sublime                                      By Erik Piepenburg                 TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/20/movies/
2023-06-20   2023-06-23 surrounded-review.html                     Surrounded                                   By Glenn Kenny                     TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/21/busines Black Womens Hair Care A Market Long
2023-06-21   2023-06-23 s/unilever-black-women-hair-products.html Undervalued                                    By Jordyn Holman                  TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/21/health/f
2023-06-21   2023-06-23 entanyl-overdose-crisis.html                 Punitive Laws Over Fentanyl Renew a Fight By Jan Hoffman                      TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/21/movies/
2023-06-21   2023-06-23 no-hard-feelings-review.html                 Wet and Wild With Heart                     By Glenn Kenny                    TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/21/opinion
2023-06-21   2023-06-23 /cloning-science-fraud.html                  How a Cloning Fraud Reinvented Himself      By David Cyranoski                TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/21/opinion
2023-06-21   2023-06-23 /digital-archives-memory.html                Our Collective Digital Memory Is Not Secure By Nanna Bonde Thylstrup          TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/21/us/mata Tornado Ravages Town in Texas Panhandle By Edgar Sandoval and Lucinda
2023-06-22   2023-06-23 dor-texas-tornado-colorado-storm.html        Killing at Least 4                          Holt                              TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/22/arts/des
                        ign/hokusai-boston-museum-fine-arts-
2023-06-22   2023-06-23 review.html                                  How Hokusais Art Crashed Over the World By Jason Farago                       TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/22/arts/des
2023-06-22   2023-06-23 ign/lefferts-historic-house.html             Remnants of Slavery in Old New York         By Laurel Graeber                 TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/22/arts/des
                        ign/sheila-pepe-madison-square-park-
2023-06-22   2023-06-23 crochet.html                                 Like SpiderWoman With a Crochet Hook        By Hilarie M Sheets               TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/22/arts/tele
2023-06-22   2023-06-23 vision/im-a-virgo-review.html                Artful Propaganda In a Big Package          By James Poniewozik               TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/22/arts/tele
2023-06-22   2023-06-23 vision/swedish-death-cleaning-peacock.html This Weekend I Have                             By Margaret Lyons                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/busines
                        s/3m-settlement-forever-chemicals-           3M Reaches Settlement In Lawsuits With        By Lisa Friedman and Vivian
2023-06-22   2023-06-23 lawsuit.html                                 Cities                                        Giang                             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/busines
                        s/economy/bank-of-england-interest-rates-    Britains Central Bank Raises Interest Rates A
2023-06-22   2023-06-23 inflation.html                               Surprise Half Point                           By Eshe Nelson                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/busines
                        s/economy/shein-temu-forced-labor-           Congress Signals ForcedLabor Concerns With
2023-06-22   2023-06-23 china.html                                   Chinese Shopping Sites                        By Ana Swanson and Claire Fu      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/busines
                        s/energy-environment/ford-battery-plants-
2023-06-22   2023-06-23 loan.html                                    US Lends Ford Billions For Batteries          By Jack Ewing and Clifford Krauss TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/22/busines
2023-06-22   2023-06-23 s/media/turner-classic-movies-layoffs.html TCM Cuts Leave Fans Feeling Rage             By Brooks Barnes                   TX 9-304-143     2023-08-01



                                                                                 Page 5390 of 5793
                        https://www.nytimes.com/2023/06/22/busines Amid Scrutiny TikTok Shakes Up Its
2023-06-22   2023-06-23 s/tiktok-leadership-shake-up-v-pappas.html Leadership as Its Future Remains in Flux  By Sapna Maheshwari          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/climate
2023-06-22   2023-06-23 /marine-wildlife-protection-study.html      MarineProtected Areas May Benefit Locals By Delger Erdenesanaa        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/climate Pacific Northwest Heat Wave Prompts 15
2023-06-22   2023-06-23 /oregon-lawsuit-heat-dome.html              Billion Lawsuit                          By David Gelles              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/health/e ECigarette Use By Young People Slowed in
2023-06-22   2023-06-23 cigarette-sales-cdc-vaping.html             2022 After Big Surge                     By Christina Jewett          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/health/ Wyoming Judge Temporarily Blocks Ban On
2023-06-22   2023-06-23 wyoming-abortion-pill-ban.html              Abortion Pills a Week Before Its Start   By Pam Belluck               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/movies/
2023-06-22   2023-06-23 2023-sundance-festival-short-films.html     Many Voices With a Lot to Say Concisely  By Nicolas Rapold            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/movies/
                        desperate-souls-dark-city-midnight-cowboy-
2023-06-22   2023-06-23 review.html                                 Everybodys Still Talkin                  By Ben Kenigsberg            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/movies/
2023-06-22   2023-06-23 god-is-a-bullet-review.html                 God Is a Bullet                          By Jeannette Catsoulis       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/movies/
2023-06-22   2023-06-23 here-is-better-review.html                  Here Is Better                           By Brandon Yu                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/movies/
2023-06-22   2023-06-23 ill-show-you-mine-review.html               Ill Show You Mine                        By Lisa Kennedy              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/movies/
2023-06-22   2023-06-23 revoir-paris-review-alice-winocour.html     Recovering Fragments of Memory           By Manohla Dargis            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/movies/
2023-06-22   2023-06-23 the-country-club-review.html                The Country Club                         By Calum Marsh               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/movies/
2023-06-22   2023-06-23 the-stroll-review-documentary.html          Take a Walk in Their Shoes               By Devika Girish             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/nyregio
2023-06-22   2023-06-23 n/darcel-clark-tess-cohen-bronx-da.html     Bronx DA Faces a Challenge From the Left By Lola Fadulu               TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/22/nyregio Club Killings and Robberies Were Done With
2023-06-22   2023-06-23 n/deadly-druggings-robberies-manhattan.html Drugs and Brute Force Police Say          By Maria Cramer             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/nyregio Santos Was Bailed Out By His Father and    By Michael Gold and Grace
2023-06-22   2023-06-23 n/george-santos-bail.html                   Aunt                                      Ashford                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/nyregio
2023-06-22   2023-06-23 n/lawyers-chatgpt-schwartz-loduca.html      Lawyers Fined for Citing Cases AI Made Up By Benjamin Weiser          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/opinion Brian Kemp Refuses to Be a MAGAverse
2023-06-22   2023-06-23 /brian-kemp-georgia.html                    Troll                                     By Michelle Cottle          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/opinion
2023-06-22   2023-06-23 /dodgers-lgbtq-controversy.html             The Age of Spectacle Is Upon Us           By David Brooks             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/science Henry Petroski Whose Books Decoded
2023-06-22   2023-06-23 /henry-petroski-dead.html                   Engineering Is Dead at 81                 By Richard Sandomir         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/sports/b As the NBA Turns Paul Headed to Golden
2023-06-22   2023-06-23 asketball/chris-paul-warriors-wizards.html  State and Poole to Washington             By Sopan Deb                TX 9-304-143   2023-08-01



                                                                              Page 5391 of 5793
                        https://www.nytimes.com/2023/06/22/sports/n After Lengthy Investigation ExLSU Coach
2023-06-22   2023-06-23 caabasketball/will-wade-lsu-coach.html      Suspended for 10 Games                        By Billy Witz                    TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/22/technol Microsoft Could Abandon Its Deal With         By Kellen Browning and David
2023-06-22   2023-06-23 ogy/microsoft-activision-federal-hearing.html Activision                                 McCabe                         TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/22/theater/ Mormon Stars Will Return to Broadway in
2023-06-22   2023-06-23 gad-rannells-gutenberg-broadway.html          Gutenberg                                  By Michael Paulson             TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/22/theater/
2023-06-22   2023-06-23 the-light-in-the-piazza-review.html           When It Comes to Love Theyre Outsiders     By Naveen Kumar                TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/22/us/cens Americans Median Age Reached a Record
2023-06-22   2023-06-23 us-median-age.html                            High                                       By Dana Goldstein              TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/22/us/i-95- I95 Collapse In Philadelphia Leads the State
2023-06-22   2023-06-23 collapse-philadelphia-repairs.html            To Hasten Fixes                            By Colbi Edmonds               TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/22/us/polit Report Cites Over 350 AntiLGBTQ Incidents
2023-06-22   2023-06-23 ics/anti-lgbtq-report-adl-glaad.html          in 11 Months                               By Maggie Astor                TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/22/us/polit For Modis Visit Abundant Pomp And No
2023-06-22   2023-06-23 ics/biden-modi-state-visit.html               Friction                                   By Peter Baker                 TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/22/us/polit DeSantis Dodges Question on Potentially
2023-06-22   2023-06-23 ics/desantis-trump.html                       Endorsing Trump as Nominee                 By Nicholas Nehamas            TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/22/us/polit A Divided House Votes to Start Inquiry Into By Annie Karni and Luke
2023-06-22   2023-06-23 ics/house-biden-impeachment-vote.html         Biden Impeachment                          Broadwater                     TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/22/us/polit Hunter Biden Used Fathers Name to Pressure By Luke Broadwater and Michael S
2023-06-22   2023-06-23 ics/hunter-biden-joe-business-deal.html       Associate in 17 Documents Show             Schmidt                        TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/22/us/polit
                        ics/supreme-court-navajo-nation-colorado-     Supreme Court Rules Against Navajo Nation
2023-06-22   2023-06-23 river-water.html                              in Water Rights Case                       By Adam Liptak                 TX 9-304-143      2023-08-01

                        https://www.nytimes.com/2023/06/22/us/polit NTSB Releases Papers Related to Ohio
2023-06-22   2023-06-23 ics/train-derailment-east-palestine-ntsb.html Derailment                                  By Mark Walker and Peter Eavis   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/us/polit Trump Trial Jurors Likely to Come From        By Maggie Haberman Jonathan
2023-06-22   2023-06-23 ics/trump-trial-documents-florida-jury.html Counties He Won Twice                         Swan and Alan Feuer              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/us/polit
2023-06-22   2023-06-23 ics/white-house-state-dinners.html            The Delicate Politics of the State Dinner   By Zolan KannoYoungs             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/us/polit
                        ics/will-hurd-republican-presidential-        Calling Trump Lawless Hurd Joins GOP
2023-06-22   2023-06-23 candidate-2024.html                           Field                                       By Neil Vigdor                   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/22/us/polit North Korean Defector Finds Audience on
2023-06-22   2023-06-23 ics/yeonmi-park-north-korea-republicans.html Right                                        By Charles Homans                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/us/texa
2023-06-22   2023-06-23 s-paxton-impeachment-rules.html              Paxtons Wife Can Have Say Without Vote       By J David Goodman               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/world/a
                        mericas/mexico-electoral-bill-supreme-       Mexicos Supreme Court Strikes Down the
2023-06-22   2023-06-23 court.html                                   Presidents Bid to Remake Election Laws       By Emiliano Rodrguez Mega        TX 9-304-143   2023-08-01




                                                                                   Page 5392 of 5793
                        https://www.nytimes.com/2023/06/22/world/a Blast at Restaurant in Northwest China Kills
2023-06-22   2023-06-23 sia/china-barbecue-restaurant-explosion.html at Least 31                                By Chris Buckley                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/world/a In Seoul Grim Memories Linger at the Foot of
2023-06-22   2023-06-23 sia/south-korea-hostel-seoul-kcia.html       a Mountain                                 By Lauretta Charlton             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/world/e Belarus Is Quickly Becoming a Vassal State
2023-06-22   2023-06-23 urope/belarus-russia-lukashenko.html         of Russia                                  By Valerie Hopkins               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/world/e
                        urope/crimea-bridge-attack-ukraine-          Bridge Link To Crimea Is Damaged By        By Cassandra Vinograd and Ivan
2023-06-22   2023-06-23 russia.html                                  Missiles                                   Nechepurenko                     TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/22/world/e Paris Climate Summit Seeks Financial
2023-06-22   2023-06-23 urope/paris-climate-economy-conference.html Reforms to Confront a Crisis                   By Catherine Porter           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/world/e Explosion and Fire in Paris Injure Dozens
2023-06-22   2023-06-23 urope/paris-fire-explosion.html               Some Badly                                   By Aurelien Breeden           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/world/e
                        urope/russia-evan-gershkovich-wall-street-    Russian Court Denies American Reporters
2023-06-22   2023-06-23 journal.html                                  Bid to Be Freed Until Trial                  By Valerie Hopkins            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/world/
                        middleeast/erdogan-turkey-interest-rates-     Turkey Raises Interest Rates As Erdogan
2023-06-22   2023-06-23 economy.html                                  Shifts Course                                By Ben Hubbard                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/world/
                        middleeast/west-bank-violence-deaths-israeli- From Model for Mideast Peace To Site of
2023-06-22   2023-06-23 palestinian.html                              Frequent Bloodshed                           By Isabel Kershner            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
2023-06-22   2023-06-23 22/sports/what-to-watch-womens-pga.html       The Sports to Watch This Weekend             By Victor Mather              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/sports/b
                        asketball/victor-wembanyama-spurs-nba-
2023-06-23   2023-06-23 draft.html                                    The Spurs Pick the Next Big Thing            By Tania Ganguli              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/theater/
2023-06-23   2023-06-23 once-upon-a-one-more-time-review.html         Cinderella Liberated Again                   By Elisabeth Vincentelli      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/us/titan 5 Die in Quest To See Titanic Debris
2023-06-23   2023-06-23 ic-missing-submarine-implosion.html           Reveals                                      By Jenna Russell              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/insider/
                        a-dance-critic-visits-an-extraordinary-
2023-06-23   2023-06-23 stage.html                                    A Dance Critic Before an Unlikely Stage      By Brian Seibert              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/movies/
2023-06-23   2023-06-23 the-perfect-find-review.html                  Dating the Bosss Son Better Keep It Secret   By Elisabeth Vincentelli      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/movies/
2023-06-23   2023-06-23 worlds-best-review.html                       Worlds Best                                  By Amy Nicholson              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/25/books/r
                        eview/a-day-with-no-words-tiffany-
2023-05-25   2023-06-24 hammond.html                                  Inside the List                              By Elisabeth Egan             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/travel/l Where Being Gay Is Illegal Travel Is
2023-06-06   2023-06-24 gbtq-vactation-gay-rights.html                Complicated                                  By Ainara Tiefenthler         TX 9-304-143   2023-08-01



                                                                                  Page 5393 of 5793
                        https://www.nytimes.com/2023/06/13/travel/a
2023-06-13   2023-06-24 rtificial-intelligence-travel-adviser-milan.html AI vs Human Planning a Visit to Milan    By Ceylan Yeginsu                  TX 9-304-143   2023-08-01
                                                                                                                  By James Glanz Marc Santora
                        https://www.nytimes.com/interactive/2023/06/                                              Pablo Robles Haley Willis Lauren
                        16/world/europe/ukraine-kakhovka-dam-        Why the Evidence Suggests Russia Blew Up Leatherby Christoph Koettl and
2023-06-16   2023-06-24 collapse.html                                the Kakhovka Dam                             Dmitriy Khavin                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/climate                                                By Somini Sengupta and Julfikar
2023-06-18   2023-06-24 /coal-electricity-bangladesh.html            Costly New Coal Plant Without Coal to Burn Ali Manik                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/opinion America Could Learn From This Sports Talk
2023-06-20   2023-06-24 /undisputed-bayless-sharpe.html              Show                                         By Matthew Walther                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/opinion
2023-06-21   2023-06-24 /american-freedom-after-dobbs.html           The Shaky Bargain Between Citizen and State By Katherine Miller                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/technol
2023-06-22   2023-06-24 ogy/china-cloud-computing-concern.html       Cloud Giants From China Worry US             By David McCabe                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/arts/do
                        uglas-latchford-antiquities-trafficker-      Accused Art Traffickers Estate to Forfeit 12 By Graham Bowley and Tom
2023-06-22   2023-06-24 daughter.html                                Million                                      Mashberg                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/arts/ken
2023-06-22   2023-06-24 nedy-center-honors.html                      Kennedy Center Honorees Take Stock           By Christopher Kuo                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/arts/mu Dr Luke and Kesha Settle Defamation
2023-06-22   2023-06-24 sic/kesha-dr-luke-settle-lawsuit.html        Lawsuit                                      By Joe Coscarelli                  TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/22/arts/mu
2023-06-22   2023-06-24 sic/peso-pluma-regional-mexican-music.html Mexican Music Finds More Ears                     By Jon Pareles                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/arts/mu Teresa Taylor 60 Drummer for Butthole
2023-06-22   2023-06-24 sic/teresa-taylor-dead.html                 Surfers and a Face of Generation X               By Alex Williams                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/arts/rus ExArmorer On Rust Set Will Face New
2023-06-22   2023-06-24 t-armorer-new-charge.html                   Charge                                           By Julia Jacobs                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/opinion
2023-06-22   2023-06-24 /justice-alito-propublica.html              Alito Doesnt Want to Hear Your Criticism         By Jesse Wegman                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/us/hami Hamish Harding 58 Tycoon and Explorer Of
2023-06-22   2023-06-24 sh-harding-dead.html                        Seas and Sky Dies                                By Alex Williams                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/us/stoc Stockton Rush 61 CEO Of Ocean Tour
2023-06-22   2023-06-24 kton-rush-dead.html                         Company                                          By Sam Roberts                  TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/22/world/a Shahzada Dawood 48 Father and               By Christina Goldbaum and Emma
2023-06-22   2023-06-24 sia/shahzada-dawood-titan-submersible.html Businessman                                 Bubola                           TX 9-304-143        2023-08-01
                        https://www.nytimes.com/2023/06/22/busines JPMorgans Settlement Sets No Cap or
2023-06-23   2023-06-24 s/jpmorgan-jeffrey-epstein.html            Minimum on Epstein Victims Claims           By Matthew Goldstein             TX 9-304-143        2023-08-01
                        https://www.nytimes.com/2023/06/22/us/guat In Guatemalas Election Some Candidates Lost By Simon Romero Natalie Kitroeff
2023-06-23   2023-06-24 emala-presidential-election.html           Before a Single Vote Was Cast               and Jody Garca                   TX 9-304-143        2023-08-01

                        https://www.nytimes.com/2023/06/23/arts/dan
2023-06-23   2023-06-24 ce/like-water-for-chocolate-ballet-review.html Plot Manages to Cast Ballet in a Minor Role   By Gia Kourlas                  TX 9-304-143   2023-08-01



                                                                                    Page 5394 of 5793
                        https://www.nytimes.com/2023/06/23/arts/dan
2023-06-23   2023-06-24 ce/robert-gottlieb-ballet.html              Devoted To Books And Also To Ballet        By Alastair Macaulay             TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/23/arts/mu
2023-06-23   2023-06-24 sic/met-orchestra-carnegie-hall-review.html This Lear Freshens Shakespeare             By Zachary Woolfe                TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/23/arts/mu
2023-06-23   2023-06-24 sic/sonic-sphere-shed.html                  Music Takes a New Shape                    By Javier C Hernndez             TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/23/busines Toys Inspired By Baby Shark Are Recalled
2023-06-23   2023-06-24 s/baby-shark-bath-toy-recall.html           After Injuries                             By Rebecca Carballo              TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/23/busines The Daily Beast Is No Longer for Sale the
2023-06-23   2023-06-24 s/daily-beast-sale-talks-end.html           Chairman of Its Parent Company Says        By Benjamin Mullin               TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/23/busines Starbucks Union Plans To Strike at 150 Stores By J Edward Moreno and Noam
2023-06-23   2023-06-24 s/economy/starbucks-strike-pride-union.html Over Pride Dcor Rules                        Scheiber                       TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/23/busines
                        s/media/meta-google-canada-news-facebook- Canada Forces Big Tech to Pay News Outlets
2023-06-23   2023-06-24 instagram.html                              for Linking to Articles                      By Mike Ives                   TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/23/busines
2023-06-23   2023-06-24 s/stock-market-fed.html                     Investors Take Pause Ending Market Rally     By Joe Rennison                TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/23/nyregio US Charges 4 Chinese Firms With Selling       By Benjamin Weiser and Karen
2023-06-23   2023-06-24 n/china-fentanyl-companies-charged.html     Chemicals to Make Fentanyl                   Zraick                         TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/23/nyregio Rikers Island Officer Faked Suicide            By Jonah E Bromwich and Hurubie
2023-06-23   2023-06-24 n/correction-officer-suicide-prevention.html Prevention Training for 74 Guards DA Says Meko                               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/nyregio A Moguls Pitch to Build A Casino in
2023-06-23   2023-06-24 n/manhattan-casino-larry-silverstein.html    Manhattan Its All About Location             By Dana Rubinstein              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/nyregio How Many Zeros Would It Take to Keep
2023-06-23   2023-06-24 n/trump-e-jean-carroll-lawsuit-money.html    Trump From Insulting Carroll                 By Benjamin Weiser              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/opinion
2023-06-23   2023-06-24 /abortion-supreme-court-dobbs.html           Might the AntiAbortion Justices Have Regrets By Linda Greenhouse             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/sports/b In a LateNight Show in Brooklyn Hoop
2023-06-23   2023-06-24 asketball/nba-draft-last-pick.html           Dreams Can Come True                         By Sopan Deb and Hiroko Masuike TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/23/sports/s US to Host TuneUp for the World Cup That
2023-06-23   2023-06-24 occer/2025-club-world-cup-united-states.html Includes Some Top European Clubs        By Victor Mather                   TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/23/sports/ If You Can Outrun The Green Flashes Youll
2023-06-23   2023-06-24 wavelights-track-records-pace.html           Set a Record                            By Ben Bloom                       TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/23/technol Reddits Chief Says Hes Ready for It to Grow
2023-06-23   2023-06-24 ogy/reddit-moderators-users-api-protest.html Up                                        By Mike Isaac                    TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/23/technol The Celebrity Super Connector Who Brought By David YaffeBellany and Erin
2023-06-23   2023-06-24 ogy/sam-bankman-fried-celebrity-friends.html Big Names to FTX                        Griffith                           TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/23/theater/
2023-06-23   2023-06-24 alex-edelman-just-for-us.html                Doubts Induce Laughs                    By Jason Zinoman                   TX 9-304-143     2023-08-01



                                                                               Page 5395 of 5793
                        https://www.nytimes.com/2023/06/23/theater/
2023-06-23   2023-06-24 one-woman-show-review-liz-kingsman.html A Messy Life Served Up As Satire               By Jason Zinoman                  TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/23/theater/ The Great Marriage Broker of Musical
2023-06-23   2023-06-24 sheldon-harnick-appraisal.html              Theaters Golden Years                      By Jesse Green                    TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/23/theater/ Sheldon Harnick 99 Who Wrote Lyrics for
2023-06-23   2023-06-24 sheldon-harnick-dead.html                   Fiddler on the Roof Dies                   By Robert Berkvist                TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/23/us/arizo Arizona Governor Prevents Local Prosecution
2023-06-23   2023-06-24 na-governor-prosecutors-abortion-law.html of Abortion Providers                          By Jack Healy                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/flori Judge Blocks Florida Law That Restricts Drag
2023-06-23   2023-06-24 da-drag-shows-ruling.html                   Shows                                        By Patricia Mazzei                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/mar Margaret Gilleo 84 Whose Yard Sign Became
2023-06-23   2023-06-24 garet-gilleo-dead.html                      a FreeSpeech Beacon Dies                     By Daniel E Slotnik               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/paul- PaulHenri Nargeolet 77 Specialist on Titanic
2023-06-23   2023-06-24 henri-nargeolet-dead.html                   Wreck                                        By Alex Williams                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/polit Biden Slams Abortion Bans Warns That
2023-06-23   2023-06-24 ics/biden-abortion.html                     Privacy Is Next                              By Peter Baker                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/polit
                        ics/garland-irs-weiss-hunter-biden-                                                      By Glenn Thrush Michael S
2023-06-23   2023-06-24 investigation.html                          Garland Rebuts GOPs Claims Of Interference Schmidt and Luke Broadwater         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/polit Far Right Tucks Divisive Issues In Funding
2023-06-23   2023-06-24 ics/house-republicans-spending-bills.html   Bills                                        By Catie Edmondson                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/polit
                        ics/michael-roman-trump-jan-6-jack-         ExTrump Campaign Official in Talks to        By Alan Feuer and Maggie
2023-06-23   2023-06-24 smith.html                                  Cooperate in Jan 6 Inquiry                   Haberman                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/polit Kyivs WesternTrained Brigades Join Fight
2023-06-23   2023-06-24 ics/ukraine-military-training.html          Hoping to Turn the Tide                      By Helene Cooper and Eric Schmitt TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/scot Justices Take Narrow View Of an
2023-06-23   2023-06-24 us-free-speech-immigration.html             Immigration Law                              By Adam Liptak                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/stoc Submersible Company Founder Chased            By Shawn Hubler Nicholas
2023-06-23   2023-06-24 kton-rush-oceangate-titanic-sub.html        Dream Despite Warnings                       BogelBurroughs and Anna Betts     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/supr
                        eme-court-confession-confrontation-         Justices Permit Confessions By Associates In
2023-06-23   2023-06-24 clause.html                                 Joint Trials                                 By Charlie Savage                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/supr
2023-06-23   2023-06-24 eme-court-immigration-biden.html            Immigration Win For White House              By Adam Liptak                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/texa
2023-06-23   2023-06-24 s-heat-solar-energy.html                    OilRich Texas Turns to Sun That Is Baking It By J David Goodman                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/titan Scouring the Ocean Floor For Answers to a
2023-06-23   2023-06-24 ic-debris-field-sub.html                    Disaster                                     By Jacey Fortin                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/world/a Honoring an Ousted Leader With Flowers
2023-06-23   2023-06-24 sia/aung-san-suu-kyi-myanmar.html           Gets Scores Arrested in Myanmar              By Richard C Paddock              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/world/a Modis Visits Abroad Help to Bolster His
2023-06-23   2023-06-24 sia/modi-india-us-visit-g20.html            Image                                        By Mujib Mashal                   TX 9-304-143   2023-08-01



                                                                                Page 5396 of 5793
                        https://www.nytimes.com/2023/06/23/world/e
                        urope/london-lord-mayor-westminster-hamza- Walking Among Elites While Living In the
2023-06-23   2023-06-24 taouzzale.html                             Projects                                    By Saskia Solomon            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/world/e NATOs Air Defender Exercises Focus on
2023-06-23   2023-06-24 urope/nato-aircraft-defense-exercises.html Synchronizing Systems Across Nations        By Lara Jakes                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/world/e Pope Meets With Artists To Promote
2023-06-23   2023-06-24 urope/pope-sistine-chapel-artists.html     Harmony                                     By Elisabetta Povoledo       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/world/e
                        urope/russia-prigozhin-putin-war-          Wagner Chief Accused Of Fomenting a Coup By Anton Troianovski and Ivan
2023-06-23   2023-06-24 ukraine.html                               Putting Russia on Edge                      Nechepurenko                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/world/e To Escape Combat Citizens Recall a Conflict
2023-06-23   2023-06-24 urope/ukraine-restaurant.html              From Decades Past                           By Patricia Cohen            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/world/ Shipment of Needed Aid Finally Reaches
2023-06-23   2023-06-24 middleeast/us-aid-syria-camp.html          Camp Near US Base in Syria                  By Raja Abdulrahim           TX 9-304-143   2023-08-01

                        https://www.nytimes.com/interactive/2023/06/ One Year 61 Clinics How Dobbs Changed the By Allison McCann and Amy
2023-06-23   2023-06-24 22/us/abortion-clinics-dobbs-roe-wade.html Abortion Landscape                          Schoenfeld Walker            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/polit Intelligence Agencies Remain Divided Over
2023-06-24   2023-06-24 ics/covid-lab-leak-wuhan-report.html          Theory That Covid Came From Lab          By Julian E Barnes           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/busines Large Rate Increase Draws More Criticism Of
2023-06-24   2023-06-24 s/bank-of-england-inflation.html              Bank of England                          By Eshe Nelson               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/busines
                        s/economy/francesca-gino-harvard-
2023-06-24   2023-06-24 dishonesty.html                               Researcher Is Accused Of Fakery          By Noam Scheiber             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/article/sierra-leone- Voters in Sierra Leone Weigh Educational
2023-06-24   2023-06-24 election.html                                 and Fiscal Issues                        By Elian Peltier             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/03/03/books/r
2023-03-03   2023-06-25 eview/camilo-jose-cela-the-hive.html          The Hive by Camilo Jos Cela              By Adrian Nathan West        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/03/14/books/r
2023-03-14   2023-06-25 eview/yan-lianke-heart-sutra.html             Twist of Faith                           By Randy Boyagoda            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/04/10/books/r
2023-04-10   2023-06-25 eview/charleston-susan-crawford.html          In Deep Water                            By Emily Raboteau            TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/09/books/r
2023-05-09   2023-06-25 eview/500-miles-of-father-son-bonding.html Men in Motion                            By Gregory Cowles               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/09/books/r
2023-05-09   2023-06-25 eview/our-migrant-souls-hector-tobar.html  Feet in Two Worlds                       By Francisco Cant               TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/05/15/books/r
2023-05-15   2023-06-25 eview/vaudine-england-fortunes-bazaar.html Bridges                                  By Thomas Dyja                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/05/20/books/t
2023-05-20   2023-06-25 he-adult-bronwyn-fischer.html              Off Campus                               By Daisy Lafarge                TX 9-304-143   2023-08-01




                                                                                Page 5397 of 5793
                        https://www.nytimes.com/2023/05/28/books/r
                        eview/lucky-girl-the-skin-and-its-girl-ghost-
                        girl-banana-irene-muchemi-ndiritu-sarah-
2023-05-28   2023-06-25 cypher-wiz-wharton.html                       Novels of Identity                         By Mary Pols               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/01/books/t
2023-06-01   2023-06-25 he-elissas-samantha-leach.html                Caught in the Web                          By Domenica Ruta           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/03/books/r
2023-06-03   2023-06-25 eview/messalina-honor-cargill-martin.html     Scandal                                    By Timothy Farrington      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/05/books/r
2023-06-05   2023-06-25 eview/be-mine-richard-ford.html               One More for the Road                      By Dwight Garner           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/books/r
                        eview/lady-tans-circle-of-women-lisa-
2023-06-06   2023-06-25 see.html                                      Social Network                             By Katherine J Chen        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/10/books/r
                        eview/you-cant-stay-here-forever-katherine-
2023-06-10   2023-06-25 lin.html                                      Revenge Travel                             By Michelle Ruiz           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/books/r
                        eview/everything-all-at-once-steph-
2023-06-15   2023-06-25 catudal.html                                  Inside the List                            By Elisabeth Egan          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/fashion
                        /weddings/disco-weddings-70s-                 Exchanging Vows and Then Partying Like Its
2023-06-15   2023-06-25 inspiration.html                              1979                                       By Perri Ormont Blumberg   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/realesta
                        te/hamptons-brown-harris-stevens-racial-
2023-06-15   2023-06-25 bias.html                                     Former Agent Wins Racial Bias Ruling       By Colette Coleman         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/arts/tele
2023-06-17   2023-06-25 vision/andrew-koji-warrior-hbo-max.html       Where Andrew Koji Finds His Flow           By Kathryn Shattuck        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/magazi
2023-06-17   2023-06-25 ne/lorrie-moore-novel.html                    You Might as Well Choose Art               By Dan Kois                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/upshot/ Social Media Is Said to Harm Teens but
2023-06-17   2023-06-25 social-media-teen-mental-health.html          Proving It Is Hard                         By Claire Cain Miller      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/ Samantha Irby Says Its OK to Hate Your
2023-06-18   2023-06-25 18/magazine/samantha-irby-interview.html      Body                                       By David Marchese          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/arts/dan
                        ce/gaby-diaz-so-you-think-you-can-
2023-06-19   2023-06-25 dance.html                                    The Rise of a Swiss Army Knife             By Margaret Fuhrer         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/magazi
2023-06-19   2023-06-25 ne/im-a-virgo-boots-riley.html                Tall Tale                                  By Phillip Maciak          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/realesta The Road to New York Is Paved With
2023-06-19   2023-06-25 te/renters-little-italy-manhattan.html        OneMonth Stays                             By Debra Kamin             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/theater/ A New Gatsby Brings the Past Back Yet
2023-06-19   2023-06-25 great-gatsby-immersive-nyc.html               Again                                      By Alexis Soloski          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/travel/a-
                        walk-in-sydney-sea-bushland-and-city-
2023-06-19   2023-06-25 views.html                                    Sydney Australia                           By Caroline Clements       TX 9-304-143   2023-08-01



                                                                                Page 5398 of 5793
                        https://www.nytimes.com/2023/06/19/travel/d
2023-06-19   2023-06-25 isabled-hikers-park-guide.html               Trail Guide for Disabled Hikers            By Syren Nagakyrie        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/travel/l
2023-06-19   2023-06-25 ong-walk-exercise.html                       Feeling Youre Part of the Scenery          By Erin Vivid Riley       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/travel/
2023-06-19   2023-06-25 marrakesh-medina-walking-tour.html           Marrakesh Morocco                          By Seth Sherwood          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/travel/p
2023-06-19   2023-06-25 aris-travel-gardens-parks.html               Paris France                               By Christine Chitnis      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/travel/s
2023-06-19   2023-06-25 eoul-city-wall.html                          City Hikes Six Routes to Try               By Victoria Kim           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/travel/s
2023-06-19   2023-06-25 ingapore-geylang-food-tour.html              Getting a Taste Of Singapore               By Christine Chung        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/travel/s
2023-06-19   2023-06-25 t-louis-african-american-trail.html          St Louis Missouri                          By Ron Stodghill          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/travel/tr
2023-06-19   2023-06-25 ail-walking-gear.html                        Stock Up on Gear                           By Stephanie Pearson      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/travel/
2023-06-19   2023-06-25 wales-walking-ystrad-fflur.html              A Land of Legends in Wales                 By Matthew Yeomans        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/travel/
2023-06-19   2023-06-25 walking-tour-nyc-history.html                Old New York on Foot                       By Russell Shorto         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/travel/
2023-06-19   2023-06-25 walking-travel-cities.html                   What It Means to Be a Flneur               By Stephanie Rosenbloom   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/travel/z
2023-06-19   2023-06-25 adar-croatia-old-town.html                   Zadar Croatia                              By Alex Crevar            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/arts/tele
                        vision/john-corbett-aidan-and-just-like-
2023-06-20   2023-06-25 that.html                                    Reprising Role That He Once Turned Down By Alexis Soloski            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/magazi
2023-06-20   2023-06-25 ne/hotel-bars.html                           Hotel Bars                                 By John Cotter            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/realesta
2023-06-20   2023-06-25 te/outdoor-kitchen.html                      Outdoor Kitchens Dont Have to Be Difficult By Tim McKeough           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/style/yo
                        wie-hotel-philadelphia-shannon-
2023-06-20   2023-06-25 maldonado.html                               A Hotel That Started as a Gift Shop        By Shannon Eblen          TX 9-304-143   2023-08-01

                        https://www.nytimes.com/interactive/2023/06/
2023-06-20   2023-06-25 20/opinion/breaking-bad-zeynep-tufekci.html How Breaking Bad Explains America         By Zeynep Tufekci           TX 9-304-143   2023-08-01

                        https://www.nytimes.com/interactive/2023/06/
2023-06-20   2023-06-25 20/opinion/carlos-lozada-the-great-brain.html How The Great Brain Explains America    By Carlos Lozada            TX 9-304-143   2023-08-01

                        https://www.nytimes.com/interactive/2023/06/
2023-06-20   2023-06-25 20/opinion/charles-blow-rappers-delight.html How Rappers Delight Explains America     By Charles M Blow           TX 9-304-143   2023-08-01




                                                                                Page 5399 of 5793
                        https://www.nytimes.com/interactive/2023/06/
                        20/opinion/david-brooks-blind-willie-johnson- How Dark Was the Night Cold Was the
2023-06-20   2023-06-25 song.html                                     Ground Explains America                By David Brooks              TX 9-304-143   2023-08-01

                        https://www.nytimes.com/interactive/2023/06/
2023-06-20   2023-06-25 20/opinion/david-french-arrival-movie.html How Arrival Explains America              By David French              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
2023-06-20   2023-06-25 20/opinion/ezra-klein-her-movie.html         How Her Explains America                By Ezra Klein                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        20/opinion/gail-collins-the-most-of-nora-    How The Most of Nora Ephron Explains
2023-06-20   2023-06-25 ephron.html                                  America                                 By Gail Collins              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
2023-06-20   2023-06-25 20/opinion/great-gatsby-ross-douthat.html    How The Great Gatsby Explains America   By Ross Douthat              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        20/opinion/jamelle-bouie-first-reformed-
2023-06-20   2023-06-25 movie.html                                   How First Reformed Explains America     By Jamelle Bouie             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/interactive/2023/06/
2023-06-20   2023-06-25 20/opinion/lydia-polgreen-survivor-tv.html   How Survivor Explains America           By Lydia Polgreen            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        20/opinion/maureen-dowd-invasion-of-the- How Invasion of the Body Snatchers Explains
2023-06-20   2023-06-25 body-snatchers.html                          America                                 By Maureen Dowd              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        20/opinion/michelle-goldberg-susan-faludi-
2023-06-20   2023-06-25 backlash.html                                How Backlash Explains America           By Michelle Goldberg         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        20/opinion/nicholas-kristof-horatio-alger-
2023-06-20   2023-06-25 ragged-dick.html                             How Ragged Dick Explains America        By Nicholas Kristof          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        20/opinion/pamela-paul-hazard-of-new-        How A Hazard of New Fortunes Explains
2023-06-20   2023-06-25 fortunes.html                                America                                 By Pamela Paul               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
2023-06-20   2023-06-25 20/opinion/pulp-fiction-bret-stephens.html   How Pulp Fiction Explains America       By Bret Stephens             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
2023-06-20   2023-06-25 20/opinion/south-park-farhad-manjoo.html     How South Park Explains America         By Farhad Manjoo             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        20/opinion/ted-lasso-tressie-mcmillan-
2023-06-20   2023-06-25 cottom.html                                  How Ted Lasso Explains America          By Tressie McMillan Cottom   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/nyregio Citys New Housing Strategy Starts With
2023-06-21   2023-06-25 n/public-housing-demolish.html               Demolition                              By Mihir Zaveri              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/arts/mu
2023-06-21   2023-06-25 sic/dolby-atmos.html                         Theres a New Sound in Town              By Bob Mehr                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/books/r
2023-06-21   2023-06-25 eview/book-bans-humanities-ai.html           The Reading Crisis                      By AO Scott                  TX 9-304-143   2023-08-01




                                                                                Page 5400 of 5793
                        https://www.nytimes.com/2023/06/21/magazi
2023-06-21   2023-06-25 ne/fish-tacos-recipe.html                    These Fish Tacos Couldnt Be More Brilliant By Eric Kim                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/nyregio
2023-06-21   2023-06-25 n/e-bike-lithium-battery-fires-nyc.html      A Crisis Zone for EBike Battery Fires      By Winnie Hu                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/realesta A Friendly Hartford Suburb With Grand
2023-06-21   2023-06-25 te/glastonbury-connecticut.html              Historic Homes                             By Lisa Prevost                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/realesta
2023-06-21   2023-06-25 te/sick-dying-plant-treatment.html           These Doctors Focus on Sick Plants         By Margaret Roach                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/style/ch
2023-06-21   2023-06-25 ild-name-gender.html                         Childs Request                             By Philip Galanes                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/style/gy Glam and Goop at a Gwyneth Paltrow Drag
2023-06-21   2023-06-25 wneth-paltrow-goop-drag-show.html            Show                                       By Madison Malone Kircher         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/style/so A Glassware Artist Teams Up With Solange
2023-06-21   2023-06-25 lange-knowles-jason-mcdonald-glass.html      Knowles                                    By Christine JeanBaptiste         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        21/magazine/dark-side-of-the-rainbow-pink-
2023-06-21   2023-06-25 floyd-wizard-of-oz.html                      Pink Floyd The Wizard of Oz and Me         By Charlie Savage                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/magazi                                               By Christopher Cox and Spencer
2023-06-22   2023-06-25 ne/california-dams.html                      The TrillionGallon Question                Lowell                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/magazi
                        ne/judge-john-hodgman-on-moving-spiders-
2023-06-22   2023-06-25 inside-the-house.html                        Bonus Advice From Judge John Hodgman       By John Hodgman                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/magazi
2023-06-22   2023-06-25 ne/poem-conditions-for-retention.html        Poem Conditions for Retention              By Jennifer Nelson and Anne Boyer TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/opinion
2023-06-22   2023-06-25 /biden-modi-meeting.html                     The India Quandary                         By The Editorial Board            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/realesta
2023-06-22   2023-06-25 te/nyc-apartments-rent.html                  Scoping Out the Citys Popular Areas        By Michael Kolomatsky             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/science Firouz Naderi 77 a NASA Scientist Who Led
2023-06-22   2023-06-25 /space/firouz-naderi-dead.html               Multiple Missions to Mars                  By Farnaz Fassihi                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/style/ba
2023-06-22   2023-06-25 rbie-margot-robbie-body-double.html          The Surreal World Of a Barbie Double       By Alexis Benveniste              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        22/nyregion/century-building-roslyn-
2023-06-22   2023-06-25 schlansky.html                               At 100 Shes Queen of the Century           By Tammy LaGorce                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        22/opinion/dobbs-abortion-kansas-focus-      What Nine Women in Kansas Wish People      By Adrian J Rivera Lauren Kelley
2023-06-22   2023-06-25 group.html                                   Realized About Abortion                    and Kristen Soltis Anderson       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        22/realestate/three-bedroom-apartment-       A Family Trio Starts a New Chapter in the
2023-06-22   2023-06-25 nyc.html                                     City Where Could They Find Three Bedrooms By Debra Kamin                     TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/23/arts/des At Slave Port New Museum Is Tribute to
2023-06-23   2023-06-25 ign/charleston-african-american-museum.html AfroAtlantic Journey                      By Holland Cotter                 TX 9-304-143     2023-08-01




                                                                                Page 5401 of 5793
                        https://www.nytimes.com/2023/06/23/arts/des Moving Dripping Oozing Creations Its All
2023-06-23   2023-06-25 ign/mire-lee-black-sun-new-museum.html      About Guts                                   By Andrew Russeth              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/arts/mu
2023-06-23   2023-06-25 sic/claudio-abbado-conductor.html           Egalitarian Conductor Shared Musics Spirit By David Allen                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/arts/mu Times Carousel Carried a Singer Back to Her By Lindsay Zoladz and Justin J
2023-06-23   2023-06-25 sic/joni-mitchell-concert-photos.html       Fans                                         Wee                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/books/r
2023-06-23   2023-06-25 eview/childrens-books-divorce.html          When Parents Go Their Separate Ways          By Jennifer Hubert Swan        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/books/r
2023-06-23   2023-06-25 eview/new-romance-books.html                Jars of Serotonin                            By Olivia Waite                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/books/r
2023-06-23   2023-06-25 eview/planta-sapiens-paco-calvo.html        Seeing Green                                 By Temple Grandin              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/busines Yes There Are Compelling Alternatives to
2023-06-23   2023-06-25 s/stocks-bonds-money-market-funds.html      Stocks                                       By Jeff Sommer                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/nyregio
2023-06-23   2023-06-25 n/brooklyn-queens-expressway-repair.html    High Costs of a Dependence on Trucks         By Ginia Bellafante            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/nyregio With Videos Appealing to the Eyes of the
2023-06-23   2023-06-25 n/mitigation-videos.html                    Law                                          By Karen Zraick                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/opinion
2023-06-23   2023-06-25 /trump-presidency-business-owner.html       Trump Believes the Presidency Is His         By Jamelle Bouie               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/sports/s Things Change and That Can Be Hard on
2023-06-23   2023-06-25 occer/transfer-window-signings.html         Some Teams                                   By Rory Smith                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/style/al After 6 Months at the Gym Finally Seeing Eye
2023-06-23   2023-06-25 exis-bittar-jack-miner-wedding.html         to Eye                                       By Rachel Felder               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/style/ja
                        cqueline-coleman-robert-crapsey-
2023-06-23   2023-06-25 wedding.html                                Someone to Make the Wine Taste Even Better By Tammy LaGorce                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/style/ka A Risky Text Helped JumpStart Their
2023-06-23   2023-06-25 rina-rodriguez-andrew-levin-wedding.html    Relationship                                 By Sadiba Hasan                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/style/ka First a Key to the Apartment Then to Her
2023-06-23   2023-06-25 terina-jeng-jocelyn-ueng-wedding.html       Heart                                        By Hilary Sheinbaum            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/style/m Whos That Knocking at Her Door That Cute
2023-06-23   2023-06-25 eechka-marcelin-ian-patrick-wedding.html    Guy                                          By Rosalie R Radomsky          TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/23/style/m Memories Overflow on One Final Trip
2023-06-23   2023-06-25 odern-love-greece-loss-last-shopping-list.html Together                                   By Amalia Melis               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/style/nb
2023-06-23   2023-06-25 a-draft-best-dressed.html                      Bold Uniforms for the Game Within a Game   By Vanessa Friedman           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/travel/d
2023-06-23   2023-06-25 olomites-hiking-running-travel.html            Adrenaline and Altitude                    By Christopher Solomon        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/travel/s
2023-06-23   2023-06-25 hikoku-pilgrimage-japan.html                   88 Temples 750 Miles Untold Gifts          By Marta Giaccone             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/23/us/hurri Officers Decertified 18 Years After Katrina
2023-06-23   2023-06-25 cane-katrina-bridge-shootings-louisiana.html Shootings                                    By Remy Tumin                 TX 9-304-143   2023-08-01



                                                                                 Page 5402 of 5793
                        https://www.nytimes.com/2023/06/23/us/polit Far Right Promotes a
2023-06-23   2023-06-25 ics/jan-6-trump.html                         ThroughtheLookingGlass Narrative on Jan 6 By Robert Draper          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/polit Trump Rivals Make Case On Abortion to His
2023-06-23   2023-06-25 ics/pence-republicans-abortion-ban.html      Right                                     By Shane Goldmacher       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/roe- Abortion Views Shifted in Polls After Roes
2023-06-23   2023-06-25 v-wade-abortion-views.html                   End                                       By Kate Zernike           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/world/e 5 Deaths at Sea Gripped World Hundreds
2023-06-23   2023-06-25 urope/titan-sub-greek-migrant-boat.html      Didnt                                     By Richard PrezPea        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
2023-06-23   2023-06-25 23/realestate/barbie-dreamhouse.html         Barbie Her House and the American Dream By Anna Kod                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/us/polit Prosecutors Seek a Later Date for Trump
2023-06-24   2023-06-25 ics/trump-documents-trial-delay.html         Documents Trial                           By Glenn Thrush           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/busines
2023-06-24   2023-06-25 s/ai-generated-explicit-images.html          In AI the Race to Block Child Predators   By Issie Lapowsky         TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/24/busines
2023-06-24   2023-06-25 s/meghan-trainor-made-you-look-tiktok.html Meghan Trainor Made You Look                By Sapna Maheshwari       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/insider/
                        living-in-a-barbie-world-through-the-
2023-06-24   2023-06-25 decades.html                                A Barbie World Reflects the Real World     By Mathew Brownstein      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/movies/
                        john-williams-indiana-jones-dial-of-        John Williams on Highlights Of His
2023-06-24   2023-06-25 destiny.html                                Cinematic Scores                           By Darryn King            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/nyregio In New York Primaries Challenge to
2023-06-24   2023-06-25 n/ny-primaries-democrats.html               Democrats Is Coming From the Right         By Jeffery C Mays         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/opinion Coming Out Late and Finding New Life in
2023-06-24   2023-06-25 /coming-out-late-life.html                  Midlife                                    By Charles M Blow         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/opinion
2023-06-24   2023-06-25 /hunter-biden-addiction.html                The Lesson of The Saga of Hunter Biden     By Nicholas Kristof       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/opinion
2023-06-24   2023-06-25 /rfk-jr-joe-rogan-debate.html               Go Ahead Debate Robert F Kennedy Jr        By Ross Douthat           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/opinion
2023-06-24   2023-06-25 /save-turner-classic-movies.html            SOS Keep TCM Afloat                        By Maureen Dowd           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/realesta What Can You Learn From a Decade Of
2023-06-24   2023-06-25 te/real-estate-housing-advice.html          Answering Strangers Questions              By Ronda Kaysen           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/sports/b A Cuban Boxer Now in the US Gets Ready By Morgan Campbell and Todd
2023-06-24   2023-06-25 oxing-cuba-andy-cruz.html                   For Stardom                                Heisler                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/style/ha A Jewish Folk Song Is Now the Life of Any
2023-06-24   2023-06-25 va-nagila-bars-clubs-sports-events.html     Party                                      By Alyson Krueger         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/us/abor For Women in AntiAbortion Groups
2023-06-24   2023-06-25 tion-roe-v-wade-pro-life-women.html         Anniversary Is Celebratory and Reflective  By Ruth Graham            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/us/h-lee H Lee Sarokin 94 Judge Who Freed Hurricane
2023-06-24   2023-06-25 sarokin-dead.html                           Carter Is Dead                             By Joseph P Fried         TX 9-304-143   2023-08-01




                                                                              Page 5403 of 5793
                        https://www.nytimes.com/2023/06/24/us/polit
                        ics/biden-republicans-abortion-roe-v-       White House Has Limited Set of Tools in     By Katie Rogers and Zolan
2023-06-24   2023-06-25 wade.html                                   Battle Over Abortion Rights                 KannoYoungs                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/us/polit After Backlash a Tennessee Pride Festival
2023-06-24   2023-06-25 ics/franklin-tennessee-pride.html           Has a Different Feel                        By Emily Cochrane                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/us/polit Mutiny Leads to Dreams Of a PostPutin
2023-06-24   2023-06-25 ics/us-russia-putin.html                    Russia                                      By Peter Baker                   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/24/us/san- 3 San Antonio Officers Charged With Murder
2023-06-24   2023-06-25 antonio-police-shooting-murder-charges.html in Shooting                               By Colbi Edmonds                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/world/a Extreme Floods and Heat in China Ravage
2023-06-24   2023-06-25 sia/extreme-weather-china-food.html         Farms                                     By Nicole Hong                     TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/24/world/c Investigators Examine Ship That Tugged
2023-06-24   2023-06-25 anada/polar-prince-titan-newfoundland.html The Titan                                     By Ian Austen                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/world/e Greek Youths Shaped by the Debt Crisis Plan By Jason Horowitz and Niki
2023-06-24   2023-06-25 urope/greece-election-youths.html             to Vote for Stability                      Kitsantonis                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/world/e Fugitive Crypto Founder Threw Montenegros
2023-06-24   2023-06-25 urope/montenegro-do-kwon-crypto.html          Election Into Disarray                     By Andrew Higgins               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/world/e Wagner Boss Was Always Willing To Get         By Anatoly Kurmanaev and Kyle
2023-06-24   2023-06-25 urope/prigozhin-russia-wagner-putin.html      His Hands Dirty for Putin                  Crichton                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/world/e
2023-06-24   2023-06-25 urope/putin-prigozhin-wagner.html             Putin Sought Chaos And He Found It         By Anton Troianovski            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/world/e Wagner Calls Off Threat To March On
2023-06-24   2023-06-25 urope/russia-wagner-prigozhin.html            Russia Capital                             By Paul Sonne                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/world/e US Suspected Prigozhin Had Plans to Take By David E Sanger and Julian E
2023-06-24   2023-06-25 urope/us-intel-prigozhin-warning.html         Action Against Military in Russia          Barnes                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/world/
                        middleeast/israel-netanyahu-corruption-       The Producer of Pretty Woman Who Could
2023-06-24   2023-06-25 milchan.html                                  Bring Down Netanyahu                       By Isabel Kershner              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/world/
                        middleeast/saudi-arabia-christian-            When Saudis Invited Visitors They Didnt    By Vivian Nereim and Iman
2023-06-24   2023-06-25 tourists.html                                 Expect Christians                          AlDabbagh                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/live/2023/06/24/wo
                        rld/russia-wagner-prigozhin-ukraine-news/the-
                        ugly-personal-feud-between-russias-defense-
                        ministry-and-putins-chef-has-roots-in-the-                                               By Anushka Patil and Anatoly
2023-06-24   2023-06-25 battle-for-bakhmut                            Feud With Putins Chef Has Roots in Bakhmut Kurmanaev                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/busines Financial Planning Takes An LGBTQ
2023-06-25   2023-06-25 s/queer-lgbtq-financial-planning.html         Perspective                                By Sara Youngblood Gregory      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/insider/
2023-06-25   2023-06-25 pentagon-papers-times-solidarity.html         A Badge of Solidarity                      By David W Dunlap               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/nyregio
2023-06-25   2023-06-25 n/ryan-castalia-sure-we-can.html              Cans Hoops and Therapeutic Theater         By Alix Strauss                 TX 9-304-143   2023-08-01




                                                                                 Page 5404 of 5793
                        https://www.nytimes.com/2023/06/25/realesta Hot Pink Moves Into Interior Design in a Bold
2023-06-25   2023-06-25 te/barbiecore-home-decor-interior-design.html Way                                         By Lia Picard                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/sports/f
                        ootball/luke-kuechly-retired-football-        Loving the Game But Taking Note Of Brain
2023-06-25   2023-06-25 concussions.html                              Trauma                                      By Ken Belson                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/style/da
                        nish-midcentury-modern-furniture-             Theres No Journey Too Far for Midcentury
2023-06-25   2023-06-25 lanoba.html                                   Furniture                                   By Chantel Tattoli                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/style/rh
2023-06-25   2023-06-25 ony-jenna-lyons.html                          After a Pivot Another Chance for a Big Life By Jessica Testa                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/us/fenta
2023-06-25   2023-06-25 nyl-murder-charge.html                        An Overdose CPR and Then a Murder Charge By Eli Saslow and Erin Schaff        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/style/fli
2023-06-26   2023-06-25 pping-out.html                                Done With Scrolling Time for a Flip Phone By Liana Satenstein                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/08/12/movies/
2023-08-12   2023-06-25 fassbinders-world-a-refuge-for-outcasts.html Sketchpad                                 By Nathan Gelgud                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/busines
2023-06-20   2023-06-26 s/return-to-office-remote-work.html          Perks Rise As Offices Push RTO            By Emma Goldberg                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/movies/ How Elemental Breathed Life Into Fire Water
2023-06-21   2023-06-26 elemental-design.html                        Earth and Air                             By Mekado Murphy                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/books/b Bookforum to Relaunch in August After
2023-06-22   2023-06-26 ooksupdate/bookforum-the-nation.html         Months of Closure                         By Kate Dwyer                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/movies/
2023-06-22   2023-06-26 the-mother-and-the-whore.html                From 1973 a Threesome and Then Some       By J Hoberman                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/22/opinion Reparations Should Be an End Not a
2023-06-22   2023-06-26 /reparations-race-housing.html               Beginning                                 By John McWhorter                    TX 9-304-143   2023-08-01

                        https://www.nytimes.com/interactive/2023/06/ How India Profits From Its Neutrality in the   By Lazaro Gamio Leanne Abraham
2023-06-22   2023-06-26 22/business/india-russia-oil.html            Ukraine War                                    Ana Swanson and Alex Travelli  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/23/busines
2023-06-23   2023-06-26 s/economy/china-russia-ammunition.html       China Sent Gunpowder To Russia                 By Ana Swanson and John Ismay   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/climate Power Grids Teeter As Heat Drives Up Use
2023-06-23   2023-06-26 /texas-heat-power-grid.html                  Of AirConditioning                             By Manuela Andreoni             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/magazi
                        ne/golden-age-medicine-biomedical-           Samantha Irby Says Its OK to Hate Your
2023-06-23   2023-06-26 innovation.html                              Body                                           By David WallaceWells           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/opinion Its Not Possible to Win an Argument With
2023-06-23   2023-06-26 /rfk-jr-joe-rogan.html                       Kennedy                                        By Farhad Manjoo                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/sports/b With Slugging or Not Rays and Guardians
2023-06-23   2023-06-26 aseball/rays-guardians-home-runs.html        Focus on What Works                            By Scott Miller                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/technol
2023-06-23   2023-06-26 ogy/ai-chatbot-life-coach.html               Its Not Just a Chatbot Its a Life Coach        By Brian X Chen                 TX 9-304-143   2023-08-01




                                                                                   Page 5405 of 5793
                        https://www.nytimes.com/2023/06/23/travel/ti
2023-06-23   2023-06-26 tan-sub-oceangate-adventure-travel.html      Titan Tragedy Sheds Light on Risky Travel By Christine Chung               TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/24/arts/pau Paul Ickovic Photographer as Vibrant as
2023-06-24   2023-06-26 l-ickovic-dead.html                          Streets He Roamed Dies at 79              By Penelope Green                TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/24/busines
                        s/dealbook/extreme-travel-is-inspiring-new- The Growing Industry Of Adventure Tourism By Ephrat Livni Ravi Mattu and
2023-06-24   2023-06-26 types-of-insurance.html                      Inspires New Insurance                    Michael J de la Merced           TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/24/opinion
2023-06-24   2023-06-26 /the-bear-fx-grief.html                      The Bear Understands My Grief             By Chris Vognar                  TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/24/sports/b
                        asketball/victor-wembanyama-san-antonio- San Antonio Goes All In on a Franchise
2023-06-24   2023-06-26 spurs.html                                   Savior                                    By Santul Nerkar                 TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/24/us/worl A Dog Likened to a Hairy Hippopotamus Is
2023-06-24   2023-06-26 ds-ugliest-dog-contest.html                  Named the Best Among the Ugliest          By Eduardo Medina                TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/24/us/mon Montana Derailment Sends at Least 7 Freight
2023-06-25   2023-06-26 tana-train-derailment-yellowstone.html       Cars Into the Yellowstone River           By Eduardo Medina                TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/24/us/polit Trump Burnishes Judicial Record at
2023-06-25   2023-06-26 ics/trump-abortion-evangelicals.html        Evangelical Conference This Guy Ended Roe By Neil Vigdor                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/arts/des
2023-06-25   2023-06-26 ign/art-virtual-reality-shed-sakamoto.html  Despite It All Death Is Transcended          By Max Lakin                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/arts/des
2023-06-25   2023-06-26 ign/philip-schuyler-statue-removed.html     In Albany A Statue Comes Down                By Jesse McKinley                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/arts/mu
2023-06-25   2023-06-26 sic/meredith-monk-80-indras-net.html        Meredith Monk Remains Herself                By Joshua Barone                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/books/r
2023-06-25   2023-06-26 eview/self-made-tara-isabella-burton.html   A Breezy History of Personal Branding        By Alexandra Jacobs              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/climate In Bangladesh Seeing the Woes Water
2023-06-25   2023-06-26 /bangladesh-water-floods.html               Produces                                     By Somini Sengupta               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/crossw
2023-06-25   2023-06-26 ords/daily-puzzle-2023-06-26.html           A Picky Puzzle With Answers to Match         By Sam Corbin                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/movies/
2023-06-25   2023-06-26 the-twilight-zone-the-movie-accident.html   Twilight Zone And the Deaths That Scarred It By Jason Bailey                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/nyregio Sent From the Street to a Hospital They May
2023-06-25   2023-06-26 n/mentally-ill-homeless-nyc.html            Finally Get a Home                           By Andy Newman                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/nyregio Jubilation and Resolve At New York Pride
2023-06-25   2023-06-26 n/nyc-pride-march.html                      March                                        By Liam Stack and Michael Wilson TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/obituari Overlooked No More Dolores Alexander
2023-06-25   2023-06-26 es/dolores-alexander-overlooked.html        Feminist Journalist and Activist             By Nina Siegal                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/obituari Harry Markowitz Nobel Winner Who
2023-06-25   2023-06-26 es/harry-m-markowitz-dead.html              Rewrote Stock Strategy Dies at 95            By Robert D Hershey Jr           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/opinion The Legal Foundation of Womens Sports Is
2023-06-25   2023-06-26 /womens-sports-under-fire.html              Under Fire                                   By David French                  TX 9-304-143   2023-08-01




                                                                               Page 5406 of 5793
                        https://www.nytimes.com/2023/06/25/sports/b After Going Pro Thompson Twins Must Split By David Gardner and Maansi
2023-06-25   2023-06-26 asketball/amen-ausar-thompson-twins.html    Apart                                       Srivastava                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/technol
                        ogy/ai-elections-disinformation-                                                        By Tiffany Hsu and Steven Lee
2023-06-25   2023-06-26 guardrails.html                             Many Seeking Limits on AI In Campaigns      Myers                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/us/club- As Colorado Shooter Faces Trial Victims
2023-06-25   2023-06-26 q-survivors-colorado-springs-.html          Struggle Over Aid Fund                      By Jack Healy and Kelley Manley TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/us/julia Remains Are Found Where Actor
2023-06-25   2023-06-26 n-sands-search-california-remains.html      Disappeared                                 By Amanda Holpuch               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/us/pitts
                        burgh-synagogue-shooting-trial-death-       Jury to Begin Weighing Death Penalty in New
2023-06-25   2023-06-26 penalty.html                                Phase of Pittsburgh Synagogue Trial         By Campbell Robertson           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/us/polit Trump Diverts Donated Funds To Pay His      By Shane Goldmacher and Maggie
2023-06-25   2023-06-26 ics/trump-donations-legal-fees.html         Bills                                       Haberman                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/us/polit With Future of Wagner in Doubt Ukraine      By Julian E Barnes and Thomas
2023-06-25   2023-06-26 ics/wagner-future-ukraine-war.html          Looks to Take Advantage of the Chaos        GibbonsNeff                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/us/texa Scorching Days Become Part of Texas          By David Montgomery and Maria
2023-06-25   2023-06-26 s-heat-wave.html                            Routine                                     Jimenez Moya                    TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/25/world/a Voter Apathy and Violence Cloud
2023-06-25   2023-06-26 mericas/guatemala-presidential-election.html Presidential Election in Guatemala       By Jody Garca and Simon Romero TX 9-304-143      2023-08-01
                        https://www.nytimes.com/2023/06/25/world/a Taiwans MeToo Wave Is Set Off by a Netflix
2023-06-25   2023-06-26 sia/taiwan-harassment-metoo.html             Hit                                      By Amy Chang Chien             TX 9-304-143      2023-08-01

                        https://www.nytimes.com/2023/06/25/world/e Big Winner of KremlinWagner Clash The
2023-06-25   2023-06-26 urope/belarus-lukashenko-russia-wagner.html Dictator Next Door                            By Valerie Hopkins          TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/25/world/e
                        urope/greece-election-kyriakos-             Conservatives Earn Resounding Win In
2023-06-25   2023-06-26 mitsotakis.html                             Greece Taking a Clear Majority                By Niki Kitsantonis         TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/25/world/e
2023-06-25   2023-06-26 urope/pope-vatican-girl.html                Pope Offers Prayers for Vatican Girl          By Elisabetta Povoledo      TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/25/world/e
                        urope/russia-putin-prigozhin-wagner-        In World Putin Built Illusion Confusion And
2023-06-25   2023-06-26 ukraine.html                                an Untamed Beast                              By Roger Cohen              TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/25/world/e
                        urope/russia-putin-wagner-prigozhin-        After Armed Rebellion Is Thwarted Kremlin
2023-06-25   2023-06-26 rebellion.html                              Leaders Stay Out of Sight                     By Neil MacFarquhar         TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/25/world/e
2023-06-25   2023-06-26 urope/russia-war-putin-wagner-prigozhin.html How Revolt Undermines Putins Grip            By Anton Troianovski        TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/25/world/
                        middleeast/netanyahu-milchan-corruption-     Billionaire Spy Takes the Stand At a Fraud
2023-06-25   2023-06-26 trial.html                                   Trial For Netanyahu                          By Isabel Kershner          TX 9-304-143     2023-08-01




                                                                                  Page 5407 of 5793
                        https://www.nytimes.com/2023/06/26/arts/tele
2023-06-26   2023-06-26 vision/whats-on-tv-this-week.html            This Week on TV                              By Kristen Bayrakdarian          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/busines
                        s/economy/housing-market-construction-       Feds Efforts Start to Slip In Market For
2023-06-26   2023-06-26 cost.html                                    Housing                                      By Jeanna Smialek                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/busines                                                By Peter S Goodman and Adriana
2023-06-26   2023-06-26 s/suriname-china-imf.html                    The Geopolitical Debt Vise                   Loureiro Fernandez               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/health/c For Lack of 15 and 23 Cancer Drugs Lives
2023-06-26   2023-06-26 ancer-drugs-shortage.html                    Are at Risk                                  By Christina Jewett              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/nyregio
                        n/india-walton-zeneta-everhart-buffalo-      HighProfile Primary Tests Political Power Of By Jesse McKinley and Dan
2023-06-26   2023-06-26 election.html                                Buffalos Black Vote                          Higgins                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/nyregio
                        n/west-park-presbyterian-church-             Congregants Want Historic Church Sold
2023-06-26   2023-06-26 manhattan.html                               Famous New Yorkers Want It Saved             By Mihir Zaveri                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/sports/t Athletes Try to Turn The Trek to the Oval
2023-06-26   2023-06-26 rack-field-fashion.html                      Into a Catwalk Strut                         By Talya Minsberg                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/world/c
2023-06-26   2023-06-26 anada/canada-child-care-fees.html            Canadas Goal Day Care for Less Than 10       By Vjosa Isai                    TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/06/science Ghoulish Gulls Seabirds With a Taste for
2023-06-06   2023-06-27 /whales-gulls-argentina.html               Flesh Threaten Southern Right Whale Calves By Annie Roth                        TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/08/science A Streaky Surprise Our Local Black Hole
2023-06-08   2023-06-27 /astronomy-cosmos-black-hole.html           Serves Up An Awe Moment for Astronomers By Dennis Overbye                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/13/science Scared Into an Early Grave These Flies Age
2023-06-13   2023-06-27 /fruit-flies-death-aging.html               Faster After Witnessing Death              By Darren Incorvaia                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/15/health/
2023-06-15   2023-06-27 neuroprotective-cpr-plunger.html            How a Plunger Improved CPR                 By Joanne Silberner                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/16/well/wa
2023-06-16   2023-06-27 lking-workout.html                          From Walk To Workout                       By Jancee Dunn                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/17/well/liv
2023-06-17   2023-06-27 e/sunburn-treatment.html                    Advice for Soothing a Bad Sunburn          By Dana G Smith                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/busines An Attack on Inflation Sends Housing
2023-06-19   2023-06-27 s/new-zealand-housing-prices.html           Reeling                                    By Natasha Frost                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/19/well/fa
2023-06-19   2023-06-27 mily/kids-summer-boredom.html               Let Children Get Bored Its Good for Them   By Catherine Pearson                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/20/well/m
2023-06-20   2023-06-27 ove/tai-chi-workout.html                    Tai Chi Is Exercise for the Brain and Body By Cindy Kuzma                      TX 9-304-143   2023-08-01
                                                                    Spotting an Advantage The Secret Power of
                        https://www.nytimes.com/2023/06/21/science Color Variance On the Wings of Monarch
2023-06-21   2023-06-27 /monarch-butterflies-spots-wings.html       Butterflies                                By Kate Golembiewski                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/21/well/ere FDA Approves Gel to Treat Erectile          By Dani Blum and Alisha
2023-06-21   2023-06-27 ctile-dysfunction-treatment-eroxon-gel.html Dysfunction                                 Haridasani Gupta                   TX 9-304-143   2023-08-01



                                                                                Page 5408 of 5793
                        https://www.nytimes.com/2023/06/22/sports/f Bob Brown 81 Hall of Fame Lineman Who
2023-06-22   2023-06-27 ootball/sports-bob-brown-dead.html          Bulldozed the Meanest Defenders              By Richard Sandomir               TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/23/arts/des
2023-06-23   2023-06-27 ign/national-portrait-gallery-fundraising.html Finding New Ways to Fund British Art        By Alex Marshall                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/health/ Researching the Reasons Behind Gun
2023-06-23   2023-06-27 gun-violence-psychology.html                   Purchases                                   By Roni Caryn Rabin             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/science
2023-06-23   2023-06-27 /room-temperature-superconductor.html          New Study Bolsters Superconductor Claim By Kenneth Chang                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/well/mi
                        nd/anxiety-screening-symptoms-
2023-06-23   2023-06-27 treatment.html                                 Spot Anxiety Disorders With a Few Questions By Christina Caron              TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/24/climate
2023-06-24   2023-06-27 /fungi-merlin-sheldrake-climate-change.html Can fungal networks help save our existence By Tatiana Schlossberg             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/climate
                        /tiny-bundles-of-hope-critically-endangered-
2023-06-24   2023-06-27 turtles-hatch-in-myanmar.html                In Myanmar Tiny Bundles of Hope            By Delger Erdenesanaa              TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/24/opinion The Republican Field Has No Appetite
2023-06-24   2023-06-27 /republicans-2024-climate-change-base.html Beyond Red Meat                              By Jamelle Bouie                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/24/science
2023-06-24   2023-06-27 /human-embryos-lab-models-fertility.html     Coaxing Cells to Mimic Human Embryos       By Carl Zimmer                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/obituari Rita Reif 94 Columnist On Antiques and
2023-06-25   2023-06-27 es/rita-reif-dead.html                       Auctions                                   By Neil Genzlinger                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/science
2023-06-25   2023-06-27 /malaria-mosquitoes-zambia.html              A Scent Smorgasbord for Malaria Mosquitoes By Emily Anthes                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/arts/mu Jesse McReynolds Bluegrass Duos Frontman
2023-06-26   2023-06-27 sic/jesse-mcreynolds-dead.html               for 55 Years Dies at 93                    By Bill FriskicsWarren             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/theater/
2023-06-26   2023-06-27 invisible-review.html                        Lost in the Shuffle Of the Good and Bad    By Laura CollinsHughes             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/arts/des
2023-06-26   2023-06-27 ign/asia-society-director-nakamori.html      Asia Society Museum Names a New Director By Zachary Small                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/arts/des At a German Museum With Russian Trustees
2023-06-26   2023-06-27 ign/berlin-airlift-karlshorst-museum.html    Teamwork Is Tense                          By Catherine Hickley               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/arts/mu
2023-06-26   2023-06-27 sic/kelly-clarkson-chemistry-review.html     She Gets It Right When Love Goes Wrong     By Lindsay Zoladz                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/arts/mu
2023-06-26   2023-06-27 sic/morgan-wallen-billboard-chart.html       Morgan Wallens New No 1 Streak             By Joe Coscarelli                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/arts/tele
2023-06-26   2023-06-27 vision/the-bear-review.html                  Stepping Up to the Dinner Plate            By James Poniewozik                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/books/g                                              By Alexandra Alter and Elizabeth
2023-06-26   2023-06-27 oodreads-review-bombing.html                 When Goodreads Is Bad News For Authors A Harris                               TX 9-304-143   2023-08-01




                                                                                 Page 5409 of 5793
                        https://www.nytimes.com/2023/06/26/busines
                        s/dealbook/formula-1-deal-ryan-reynolds-       Deal for Formula 1 Team Reflects Growing
2023-06-26   2023-06-27 alpine.html                                    US Interest in the Sport                     By Lauren Hirsch                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/busines In Poorer Countries Obesity Can Be Seen By
2023-06-26   2023-06-27 s/economy/obesity-wealth-uganda.html           Banks as a Signal of Creditworthiness        By Patricia Cohen                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/busines
                        s/media/jesse-watters-tucker-carlson-fox-      Carlson Slot On Fox News Is Awarded To
2023-06-26   2023-06-27 news.html                                      Watters                                      By Jeremy W Peters                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/busines
                        s/publishers-clearing-house-dark-patterns-     Publishers Clearing House Settles Suit
2023-06-26   2023-06-27 lawsuit.html                                   Brought by FTC                               By J Edward Moreno                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/climate
2023-06-26   2023-06-27 /rainstorms-hidden-flood-risk.html             Bigger Deluges Threaten Pipes Across the US By Raymond Zhong                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/health/c US Vaccine Program Flush With Cash but          By Benjamin Mueller Noah
2023-06-26   2023-06-27 ovid-vaccines-nextgen.html                     Short on Key Details                         Weiland and Carl Zimmer             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/nyregio Diwali Is Set to Become A New York School
2023-06-26   2023-06-27 n/diwali-school-holiday-nyc.html               Holiday                                      By Troy Closson                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/nyregio
                        n/kamala-harris-stonewall-inn-lgbtq-           Harris Reassures LGBTQ Community of
2023-06-26   2023-06-27 rights.html                                    Partys Support                               By Liam Stack                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/nyregio Plan to Reduce Traffic in Manhattan Clears
2023-06-26   2023-06-27 n/nyc-congestion-pricing.html                  Its Last Hurdle                              By Ana Ley                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/nyregio Richard Ravitch Rescuer of Citys Subways
2023-06-26   2023-06-27 n/richard-ravitch-dead.html                    and Finances Dies at 89                      By Sam Roberts                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/opinion
                        /international-world/putin-russia-             Prigozhin and the Infamous History of Failed
2023-06-26   2023-06-27 uprising.html                                  Russian Revolts                              By Serge Schmemann                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/opinion
                        /supreme-court-affirmative-action-presidential
2023-06-26   2023-06-27 race.html                                      While We Wait for the Supreme Court          By Gail Collins and Bret Stephens   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/science
2023-06-26   2023-06-27 /3-body-problem-nuclear-china.html             The Terror of Threes                         By William J Broad                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/science John Goodenough Who Changed World With
2023-06-26   2023-06-27 /john-goodenough-dead.html                     Lithium Ions Dies at 100                     By Robert D McFadden                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/sports/b Back Where He Belongs via Staten Island and
2023-06-26   2023-06-27 aseball/julio-teheran-brewers.html             Mexico                                       By Tyler Kepner                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/sports/b Mets Featuring Priciest Roster Arent Getting
2023-06-26   2023-06-27 aseball/mets-phillies-showalter.html           Moneys Worth                                 By James Wagner                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/sports/o
                        lympics/belgium-hurdles-jolien-                Thrower Becomes a Hurdler to Aid Her
2023-06-26   2023-06-27 boumkwo.html                                   Country                                      By Andrew Das and Claire Moses      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/technol
2023-06-26   2023-06-27 ogy/ai-health-care-documentation.html          AI Outshines In Health Care At Paperwork By Steve Lohr                           TX 9-304-143   2023-08-01




                                                                                  Page 5410 of 5793
                        https://www.nytimes.com/2023/06/26/technol
                        ogy/personaltech/google-pixel-fold-        Googles New Pixel Phone Makes the Case for
2023-06-26   2023-06-27 review.html                                Foldables                                  By Brian X Chen                      TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/26/theater/
2023-06-26   2023-06-27 review-the-gospel-according-to-heather.html The Messiah Has Homeroom                     By Elisabeth Vincentelli          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/us/club- Killer in Colorado LGBTQ Club Shooting
2023-06-26   2023-06-27 q-shooting-colorado-springs-court.html      Pleads Guilty and Is Sentenced to Life       By Jack Healy and Kelley Manley   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/us/idah Prosecutors Seek Death Penalty for Suspect in By Nicholas BogelBurroughs and
2023-06-26   2023-06-27 o-murders-kohberger-death-penalty.html      Cruel University of Idaho Murders Case       Mike Baker                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/us/polit Bidenomics as a Catchphrase To Propel a
2023-06-26   2023-06-27 ics/biden-economy-voters.html               Presidential Campaign                        By Michael D Shear                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/us/polit Biden and Putin Deliver Dueling Messages on
2023-06-26   2023-06-27 ics/biden-putin-russia-mutiny.html          the Mutiny in Russia                         By David E Sanger                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/us/polit Guantnamo Conditions Are Inhuman and
2023-06-26   2023-06-27 ics/gitmo-prisoners-united-nations.html     Degrading UN Report Says                     By Carol Rosenberg                TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/26/us/polit DeSantis Calls for Deadly Force Against     By J David Goodman and Nicholas
2023-06-26   2023-06-27 ics/ron-desantis-border-drug-traffickers.html Suspected Drug Traffickers                Nehamas                         TX 9-304-143      2023-08-01

                        https://www.nytimes.com/2023/06/26/us/polit Openly Transgender Lawmaker Aims for
2023-06-26   2023-06-27 ics/sarah-mcbride-transgender-congress.html Congress                                    By Anjali Huynh                    TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/26/us/polit Judge Denies Governments Request to Seal
2023-06-26   2023-06-27 ics/trump-witness-list.html                 List of Witnesses in Trump Documents Case By Alan Feuer                        TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/26/us/scot- ExOfficer Awaits Jurys Decision Over
2023-06-26   2023-06-27 peterson-parkland-school-shooting-trial.html Parkland Shooting Response                 By Patricia Mazzei                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/26/us/supr Supreme Court Steps Aside In Louisiana
2023-06-26   2023-06-27 eme-court-louisiana-redistricting-map.html Maps Challenge                               By Emily Cochrane                  TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/26/us/texa Teen and Stepfather Die on Hike in Big Bend By Jacey Fortin and Mary Beth
2023-06-26   2023-06-27 s-heat-hiker-deaths.html                    National Park During a Texas Heat Wave     Gahan                               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/us/uber-
2023-06-26   2023-06-27 shooting-texas-mexico.html                  Fearing Abduction Uber Rider Kills Driver  By Remy Tumin                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/world/a
                        mericas/guatemala-election-runoff-          Amid Malaise Guatemala Election Goes to
2023-06-26   2023-06-27 arevalo.html                                Runoff                                     By Jody Garca and Simon Romero      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/world/a Pakistan Army Punishes 18 For Role in Khan By Salman Masood and Christina
2023-06-26   2023-06-27 sia/pakistan-military-imran-khan.html       Protests                                   Goldbaum                            TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/26/world/a They Ride and Wrangle Like Texans 8000
2023-06-26   2023-06-27 sia/philippines-rodeo-masbate-cowboys.html Miles Away                                   By Jes Aznar and Mike Ives         TX 9-304-143   2023-08-01




                                                                                Page 5411 of 5793
                        https://www.nytimes.com/2023/06/26/world/e German FarRight Party To Take Control of
2023-06-26   2023-06-27 urope/germany-afd-far-right.html           District                                    By Christopher F Schuetze        TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/26/world/e Voters in Greece Look Past a Multitude of   By Niki Kitsantonis and Jason
2023-06-26   2023-06-27 urope/greece-election-mitsotakis.html      Sins                                        Horowitz                         TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/26/world/e Yes Hes an Autocrat But Putin Still Needs
2023-06-26   2023-06-27 urope/prigozhin-putin-mutiny.html          His Backers Loyalty                         By Amanda Taub                   TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/26/world/e An Angry Putin Asserts Russians Are Still
2023-06-26   2023-06-27 urope/russia-wagner-prigozhin-ukraine.html United                                         By Valerie Hopkins              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/world/e
                        urope/sarah-ferguson-breast-cancer-          Duchess of York Reveals Surgery for Breast
2023-06-26   2023-06-27 surgery.html                                 Cancer                                       By Claire Moses                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/world/e A Counteroffensive Gets Off to a Halting       By Andrew E Kramer Eric Schmitt
2023-06-26   2023-06-27 urope/ukraine-counteroffensive.html          Start                                        and David Guttenfelder          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/world/
                        middleeast/building-collapse-alexandria-     14Story Building Collapses In Egypt Injuring
2023-06-26   2023-06-27 egypt.html                                   at Least 4                                   By Emma Bubola                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/sports/g Major Details Yet to Be Settled in SaudiPGA
2023-06-27   2023-06-27 olf/pga-tour-liv-golf-merger-details.html    Deal                                         By Alan Blinder                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/theater/
2023-06-27   2023-06-27 just-for-us-review.html                      Nerf Nazis And Other Big Jokes               By Jesse Green                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/busines
                        s/energy-environment/tesla-gm-ford-charging- Tesla Comes Out on Top In the Battle For
2023-06-27   2023-06-27 electric-vehicles.html                       Chargers                                     By Jack Ewing                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/climate Tree Loss Is Escalating In Key Tropical
2023-06-27   2023-06-27 /trees-tropical-forests-deforestation.html   Forests                                      By Manuela Andreoni             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/insider/
2023-06-27   2023-06-27 best-walks.html                              To Let Your Mind Roam Travel on Foot         By Sarah Bahr                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/us/polit The Vast Biotech Fortune Behind               By Jonathan Weisman Rebecca
2023-06-27   2023-06-27 ics/vivek-ramaswamy-wealth.html              Ramaswamys Presidential Bid                  Robbins and Maureen Farrell     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/world/e
                        urope/ireland-rewilding-deforestation-       Bringing the Wilderness Back to Irelands
2023-06-27   2023-06-27 ecology.html                                 Storied Countryside                          By Ed OLoughlin                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/world/e A Freelance Russian Warlord Took One Final By Paul Sonne and Anatoly
2023-06-27   2023-06-27 urope/prigozhin-wagner-russia-putin.html     Stab at Power                                Kurmanaev                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/interactive/2023/06/
                        16/world/europe/russian-anti-war-            Decoding the Antiwar Messages of Miniature
2023-06-16   2023-06-28 protesters.html                              Protesters in Russia                         By Marco Hernandez              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/18/opinion
2023-06-18   2023-06-28 /whole-life-movement-polarization.html       You Cant Protect Some Life and Not Others By Tish Harrison Warren            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/21/theater/ Its Old School Machismo Versus Male
2023-06-21   2023-06-28 dear-england-review-national-theater.html    Vulnerability                                By Houman Barekat               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/article/best-summer-
2023-06-21   2023-06-28 dessert-recipes.html                         Transform Pints Into Summer Classics         By Melissa Clark                TX 9-304-143   2023-08-01




                                                                               Page 5412 of 5793
                        https://www.nytimes.com/2023/06/22/dining/
2023-06-22   2023-06-28 pepper-steak-recipe.html                    A StirFry That Will Convert the Skeptics      By Eric Kim                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/dining/
2023-06-23   2023-06-28 asian-american-breweries.html               Doors Open for Asian American Brewers         By TM Brown                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/nyregio Don Harold Unstoppable Sneak Who Saved
2023-06-25   2023-06-28 n/don-harold-dead.html                      Subway Cars Dies at 91                        By Richard Sandomir        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/25/us/calif Last Year It Was Farmland Now Its a Vast      By Shawn Hubler and Mark
2023-06-25   2023-06-28 ornia-storms-tulare-lake.html               Lake                                          Abramson                   TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/26/arts/des
2023-06-26   2023-06-28 ign/h-art-museum-hermitage-amsterdam.html So Long Russia Welcome New Partners         By Nina Siegal                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/crossw Connecting the Dots on the Making of a
2023-06-26   2023-06-28 ords/new-game-connections.html               Game                                     By Wyna Liu                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/dining/
2023-06-26   2023-06-28 buffet-restaurants-us.html                   Coming Back for Seconds                  By Kim Severson                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/theater/ Brooklyn Academy of Music Lays Off 13
2023-06-26   2023-06-28 brooklyn-academy-of-music-layoffs.html       Percent of Its Staff                     By Matt Stevens                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/us/gua Isolated Guam Is a Litmus Test Over         By David W Chen and Noriko
2023-06-26   2023-06-28 m-abortion.html                              Abortions                                Hayashi                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/26/us/polit Audio Undermines Trumps Assertion He Did By Maggie Haberman and Alan
2023-06-27   2023-06-28 ics/trump-documents-tape-audio.html          Not Have Classified Document             Feuer                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/arts/des 1084 Million Sale Sets Auction Record for
2023-06-27   2023-06-28 ign/klimt-lady-with-a-fan-auction.html       Klimt                                    By Scott Reyburn               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/arts/mu
2023-06-27   2023-06-28 sic/shahzad-ismaily.html                     Hes Just Sneakily emThereem              By Grayson Haver Currin        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/arts/tele
2023-06-27   2023-06-28 vision/swagger-season-2.html                 How Swagger Raised Its Game              By Calum Marsh                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/arts/tele
                        vision/unicorn-warriors-eternal-genndy-
2023-06-27   2023-06-28 tartakovsky.html                             Ranking the Tartakovsky Canon            By Maya Phillips               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/busines
                        s/christine-lagarde-inflation-central-       Inflation Proves Persistent as It Moves
2023-06-27   2023-06-28 banks.html                                   Through Eurozone Economy                 By Eshe Nelson                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/busines
                        s/data-centers-internet-infrastructure-
2023-06-27   2023-06-28 development.html                             Powering the Cloud Takes Up More Ground By Miranda S Spivack            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/busines James Crown 70 Leader In the Corporate
2023-06-27   2023-06-28 s/james-crown-dead.html                      World And a Key Obama Donor              By Daniel E Slotnik            TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/27/busines Lordstown Motors the WouldBe Tesla of
2023-06-27   2023-06-28 s/lordstown-motors-bankruptcy-foxconn.html Pickup Trucks Files for Bankruptcy             By Neal E Boudette         TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/27/busines
2023-06-27   2023-06-28 s/media/ryan-seacrest-wheel-of-fortune.html Seacrest Is Picked to Host Wheel of Fortune   By John Koblin             TX 9-304-143   2023-08-01




                                                                                 Page 5413 of 5793
                        https://www.nytimes.com/2023/06/27/busines Starbucks Will Offer Clearer Guidelines on
2023-06-27   2023-06-28 s/starbucks-union-pride-decorations.html    Store Decorations After Pride Clash           By J Edward Moreno               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/busines Major Trucking Company Faces Possible
2023-06-27   2023-06-28 s/yellow-trucking-bailout-teamsters.html    Bankruptcy                                    By Alan Rappeport                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/climate
                        /economic-growth-environment-                                                             By Lydia DePillis and Manuela
2023-06-27   2023-06-28 conservation.html                           A Path to Preserving Growth and Planet        Andreoni                         TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/dining/f Food Near Forest Hills Stadium to Fuel Up
2023-06-27   2023-06-28 orest-hills-stadium-restaurants-food.html   for Fun                                       By Nikita Richardson             TX 9-304-143    2023-08-01
                                                                    Nasrins Kitchen Offers Persian Cuisine Just
                        https://www.nytimes.com/2023/06/27/dining/ Steps From Bergdorf Goodman and Tiffany
2023-06-27   2023-06-28 nyc-restaurant-news-openings.html           Co                                            By Florence Fabricant            TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/dining/r
                        estaurant-review-superiority-burger-east-
2023-06-27   2023-06-28 village.html                                Wouldnt It Be Cool to Be an Original          By Pete Wells                    TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/dining/
2023-06-27   2023-06-28 simple-bbq-sauce-recipes.html               Tasty Tangy 3Ingredient Barbecue Sauces       By Steven Raichlen               TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/movies/
2023-06-27   2023-06-28 casa-susanna-documentary.html               Revisiting a Haven for CrossDressers          By Nicolas Rapold                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/movies/ Julian Sands Who Played a Poet a Warlock
2023-06-27   2023-06-28 julian-sands-dead.html                      and a King Dies at 65                         By Richard Sandomir             TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/27/nyregio Court Tosses New Yorks Civil Case Against      By Jonah E Bromwich Ben Protess
2023-06-27   2023-06-28 n/ivanka-trump-fraud-case-ny.html           Ivanka Trump                                  and William K Rashbaum          TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/27/nyregio Report Finds Negligence At Manhattan           By Glenn Thrush and Benjamin
2023-06-27   2023-06-28 n/jeffrey-epstein-death-report.html         Facility Where Epstein Died                   Weiser                          TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/27/nyregio Classrooms In New York Will Require Breath
2023-06-27   2023-06-28 n/mindful-breathing-nyc-public-schools.html Work                                      By Troy Closson                      TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/nyregio Reversing Decision Court Approves
2023-06-27   2023-06-28 n/soho-garden-senior-housing.html           Affordable Housing at Public Garden       By Mihir Zaveri                      TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/opinion
2023-06-27   2023-06-28 /putin-russia-ukraine.html                  Dr No and the Danger of Russian Disorder  By Thomas L Friedman                 TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/opinion Prigozhins Mutiny Against Putins Reign of
2023-06-27   2023-06-28 /russia-putin-prigozhin-ukraine.html        Lies                                      By Bret Stephens                     TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/opinion The Supreme Court Just Made Elections
2023-06-27   2023-06-28 /scotus-saved-democracy.html                Safer From Trumpist Chicanery             By David French                      TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/sports/b An AllStar Game With No Yankees It Has
2023-06-27   2023-06-28 aseball/gerrit-cole-yankees-all-star.html   Happened but Rarely                       By Benjamin Hoffman                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/sports/b The Pursuit Of the Unreachable Is Why We
2023-06-27   2023-06-28 aseball/luis-arraez-400-ted-williams.html   Watch                                     By Kurt Streeter                     TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/27/sports/g Think the PGASaudi Agreement Is a Done        By Alan Blinder Lauren Hirsch and
2023-06-27   2023-06-28 olf/pga-tour-liv-golf-merger-obstacles.html Deal Think Again                              Kevin Draper                      TX 9-304-143   2023-08-01




                                                                                 Page 5414 of 5793
                        https://www.nytimes.com/2023/06/27/sports/t
                        ennis/wta-women-pay-equity-prize-           Pay Equity Is Officially Coming to Tennis
2023-06-27   2023-06-28 money.html                                  Eventually                                By Matthew Futterman                       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/theater/ GenderFluid Treatment for a Shakespeare
2023-06-27   2023-06-28 richard-shakespeare-disability-female.html  Classic                                   By Rhoda Feng                              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/us/bish Knoxville Bishop Resigns Amid Lawsuits and
2023-06-27   2023-06-28 op-richard-stika-resigns-vatican.html       Turmoil                                   By Ruth Graham                             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/27/us/heat- Heat Wave Expands From Texas Into               By Marie Elizabeth Oliver Carmen
2023-06-27   2023-06-28 wave-forecast-texas-southeast.html          Southeast                                       K Sisson and David Montgomery TX 9-304-143          2023-08-01
                        https://www.nytimes.com/2023/06/27/us/mass Facing Her Sons Killer What Can a Mother
2023-06-27   2023-06-28 shootings-victim-impact-statements.html     Say                                             By Jack Healy                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/us/mid Chicago in an Acrid Haze From Canadian
2023-06-27   2023-06-28 west-chicago-smoke-air-quality.html         Wildfires                                       By Julie Bosman                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/us/polit Pitch to a Northern Crowd Is Mostly All         By Jenna Russell Jonathan Swan
2023-06-27   2023-06-28 ics/desantis-new-hampshire-town-hall.html About Florida                                     and Nicholas Nehamas                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/us/polit Hunter Biden Isnt Hiding Making Some
2023-06-27   2023-06-28 ics/hunter-biden-democrats.html             Democrats Uneasy                                By Peter Baker                       TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/27/us/polit Garland Facing Fresh Questions On Bidens By Glenn Thrush and Michael S
2023-06-27   2023-06-28 ics/irs-official-justice-dept-hunter-biden.html Son                                            Schmidt                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/us/polit
                        ics/supreme-court-first-amendment-              Supreme Court Puts First Amendment Limits
2023-06-27   2023-06-28 colorado.html                                   on Bans to Online Threats                      By Adam Liptak                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/us/polit
                        ics/supreme-court-state-legislature-            Court Rules State Control Of US Voting Has
2023-06-27   2023-06-28 elections.html                                  Limits                                         By Adam Liptak                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/us/polit                                                    By Jonathan Swan Maggie
                        ics/trump-desantis-new-hampshire-               DeSantis Taking On Trump in New                Haberman Trip Gabriel and Shane
2023-06-27   2023-06-28 campaign.html                                   Hampshire but It Is an Uphill Climb            Goldmacher                        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/us/scho
2023-06-27   2023-06-28 ol-police-resource-officers.html                School Officers Return In a Reversal of Policy By Tim Arango                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/us/supr Justices Allow Unusual Law In Suits Against By Abbie VanSickle and Adam
2023-06-27   2023-06-28 eme-court-corporations-lawsuits.html            Corporations                                   Liptak                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/world/a
                        mericas/children-rescue-plane-crash-            Indigenous Guardsmen Become Colombias By Genevieve Glatsky and Julie
2023-06-27   2023-06-28 colombia.html                                   Unexpected Heroes                              Turkewitz                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/world/e EU Border Agencys Internal Report Suggests
2023-06-27   2023-06-28 urope/greece-migrants-eu.html                   Ending Operations in Greece                    By Monika Pronczuk                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/world/e Suggestions of Pizzas Past in a Pompeii
2023-06-27   2023-06-28 urope/pizza-mural-pompeii.html                  Fresco                                         By Elisabetta Povoledo            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/world/e
                        urope/prigozhin-russia-wagner-what-we-          Charges Dropped but Future Is Uncertain for
2023-06-27   2023-06-28 know.html                                       Wagners Leader and Fighters                    By Matthew Mpoke Bigg             TX 9-304-143   2023-08-01




                                                                                   Page 5415 of 5793
                        https://www.nytimes.com/2023/06/27/world/e
                        urope/prince-harry-phone-hacking-          Closing Remarks Begin In Prince Harry
2023-06-27   2023-06-28 lawsuit.html                               Lawsuit                                        By Emma Bubola                  TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/27/world/e After Uprising Kremlin Allies Public Support
2023-06-27   2023-06-28 urope/russia-putin-prigozhin-china-allies.html and Private Doubts                       By Mark Landler               TX 9-304-143        2023-08-01
                        https://www.nytimes.com/2023/06/27/world/e In Viral Vandal Moment Defacing the
2023-06-27   2023-06-28 urope/tourist-carves-colosseum-rome.html       Colosseum                                By Elisabetta Povoledo        TX 9-304-143        2023-08-01
                        https://www.nytimes.com/2023/06/27/sports/g PGA Tour Board Meets Hoping To Stabilize By Alan Blinder Kevin Draper and
2023-06-28   2023-06-28 olf/pga-tour-board-liv-saudi-merger.html       Amid the Turbulence                      Lauren Hirsch                 TX 9-304-143        2023-08-01

                        https://www.nytimes.com/2023/06/27/us/polit Russian General Knew Rebellion Was            By Julian E Barnes Helene Cooper
2023-06-28   2023-06-28 ics/russian-general-prigozhin-rebellion.html Imminent                                     and Eric Schmitt                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/world/e
                        urope/prigozhin-putin-lukashenko-                                                         By Anton Troianovski and Valerie
2023-06-28   2023-06-28 wagner.html                                  Putin Recasts A Bold Mutiny As His Victory   Hopkins                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/busines
2023-06-28   2023-06-28 s/china-jobs-age-discrimination-35.html      In China Fearing the Curse of 35             By Li Yuan                      TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/28/world/e
                        urope/german-defense-minister-pistorius-     Germany Plans More Prominent Global Role
2023-06-28   2023-06-28 stronger-geopolitical-role.html              Its Defense Minister Says                    By Erika Solomon                 TX 9-304-143   2023-08-01
                                                                                                                  By Kurt Soller Liz Brown Rose
                                                                                                                  Courteau Kate Guadagnino Sara
                                                                                                                  Holdren Brian Keith Jackson Evan
                        https://www.nytimes.com/2023/06/22/t-                                                     Moffitt Miguel Morales Tomi
                        magazine/queer-postwar-books-plays-                                                       Obaro Coco Romack Michael
2023-06-22   2023-06-29 poems.html                                   People Places Things                         Snyder and June Thomas           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/23/arts/des
2023-06-23   2023-06-29 ign/factory-aviva-studios-manchester.html    Huge Arts Space Opens in Britain           By Hugh Morris                    TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/24/fashion
                        /why-hunter-britains-best-known-wellie-fell- Can an American Company Save a Very
2023-06-24   2023-06-29 from-grace.html                              British Boot                               By Elizabeth Paton                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/26/opinion
                        /international-world/west-bank-israel-       West Bank Settlers Are Playing a Very Long
2023-06-26   2023-06-29 palestine.html                               Game                                       By Ori Nir                        TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/arts/mu Bobby Osborne Mandolinist Who Flouted
2023-06-27   2023-06-29 sic/bobby-osborne-dead.html                  Bluegrass Convention Dies at 91            By Bill FriskicsWarren            TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/arts/tele A Retro Thriller Aims to Subvert
2023-06-27   2023-06-29 vision/hijack-idris-elba.html                Expectations                               By Chris Vognar                   TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/busines
                        s/energy-environment/marthas-vineyard-wind-
2023-06-27   2023-06-29 farm-massachusetts.html                      Winds Of Change Coming To the Coast        By Stanley Reed and Ivan Penn     TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/27/busines
                        s/media/tiktok-ban-montana-lawsuit-          As Creators Sue Montana Its TikTok Footing
2023-06-27   2023-06-29 funding.html                                 the Bill                                   By Sapna Maheshwari               TX 9-304-143    2023-08-01



                                                                                Page 5416 of 5793
                        https://www.nytimes.com/2023/06/27/health/t Suicide Risk of Transgender People Is
2023-06-27   2023-06-29 ransgender-suicide-risk-denmark.html         Documented                                 By Azeen Ghorayshi               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/movies/
2023-06-27   2023-06-29 out-of-sight-peacock-streaming.html          A Movie That Christened Stars              By Jason Bailey                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/nyregio Trump Case In New York Is Unlikely To Be
2023-06-27   2023-06-29 n/trump-criminal-case-hush-money-ny.html Moved                                          By Jonah E Bromwich              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/style/lar Affection and Ire At a Memorial For Larry
2023-06-27   2023-06-29 ry-kramer-memorial.html                      Kramer                                     By Jacob Bernstein               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/style/m
2023-06-27   2023-06-29 ackenzie-thomas-tiktok-diaries.html          Shes Won Fame for Her Shame                By Anna Kod                      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/style/m Marc Jacobs Had a Show ChatGPT Was
2023-06-27   2023-06-29 arc-jacobs-show.html                         Invited                                    By Vanessa Friedman              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/us/polit MaraLago Isnt the Only Trump Club in Focus By Alan Feuer Maggie Haberman
2023-06-27   2023-06-29 ics/trump-investigation-bedminster.html      in the Documents Case                      and Jonathan Swan                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/us/trans A Closer Look at Legislation On Transgender
2023-06-27   2023-06-29 gender-laws-states.html                      Issues                                     By Adeel Hassan                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/arts/des
                        ign/moms-liberty-museum-american-
2023-06-28   2023-06-29 revolution.html                              Museum Criticized For Housing Event        By Jennifer Schuessler           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/arts/mu
2023-06-28   2023-06-29 sic/rap-mixtape-websites-datpiff.html        Preserving HipHops Digital History         By Brian Josephs                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/28/arts/tele
2023-06-28   2023-06-29 vision/molly-gordon-the-bear-season-2.html More Than the Girl Next Door                By Alexis Soloski                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/28/busines Citing Inflation Central Bankers Expect More
2023-06-28   2023-06-29 s/central-bankers-expect-rate-increases.html Rate Hikes                                 By Eshe Nelson                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/busines
2023-06-28   2023-06-29 s/china-exports-economy.html                 Could Beijing Export Its Way Out of a Dip By Keith Bradsher                 TX 9-304-143   2023-08-01
                                                                     With a Crackdown on Membership Sharing
                        https://www.nytimes.com/2023/06/28/busines Costco Is Eliminating a Popular Shopping
2023-06-28   2023-06-29 s/costco-membership-sharing.html             Secret                                     By Lauren McCarthy               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/busines Shifting Its Business Model DoorDash Says It
2023-06-28   2023-06-29 s/doordash-hourly-wage-option.html           Will Let Drivers Opt for Hourly Pay        By Kellen Browning               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/busines
                        s/economy/biden-administration-ai-chips-                                                By Ana Swanson David McCabe
2023-06-28   2023-06-29 china.html                                   US May Cut Chinas Path To AI Chips         and Michael Crowley              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/busines Rash of Disrupted Flights Stirs Worries in   By Niraj Chokshi and Christine
2023-06-28   2023-06-29 s/july-fourth-travel-airlines.html           LeadUp To Busy Holiday Weekend             Chung                            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/busines Chiefs of Microsoft and Activision Testify
2023-06-28   2023-06-29 s/microsoft-activision-ceo-testify.html      That Merger Would Benefit Consumers        By Kellen Browning               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/busines
2023-06-28   2023-06-29 s/overstock-bed-bath-beyond.html             Overstock Sees a Future As Bed Bath        By Jordyn Holman                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/busines Largest Banks In US Passed Stress Tests The
2023-06-28   2023-06-29 s/stress-test-banks-federal-reserve.html     Fed Says                                   By Emily Flitter                 TX 9-304-143   2023-08-01



                                                                               Page 5417 of 5793
                        https://www.nytimes.com/2023/06/28/climate The Earths Axis Is Shifting and Were the
2023-06-28   2023-06-29 /groundwater-earth-spin-axis.html          Reason                                        By Raymond Zhong            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/climate Climate Change Is Quickening the Pace for By Raymond Zhong and Delger
2023-06-28   2023-06-29 /heat-smoke-climate-change.html            Fires and Heat                                Erdenesanaa                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/climate In New Study More Rain And Threats Than
2023-06-28   2023-06-29 /mountains-extreme-rain-less-snow.html     Thought                                       By Delger Erdenesanaa       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/climate A New Study Tracks Smoke Pollution Back
2023-06-28   2023-06-29 /tracing-wildfire-smoke-health.html        to Individual Wildfires of Origin             By Delger Erdenesanaa       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/movies/
2023-06-28   2023-06-29 kevin-spacey-sexual-assault-trial.html     Assault Trial Begins for Spacey               By Alex Marshall            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/nyregio Marine Pleads Not Guilty to Charges in
2023-06-28   2023-06-29 n/daniel-penny-jordan-neely-subway.html    Subway Killing                                By Jonah E Bromwich         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/nyregio Official Convicted in Tainted School Food
2023-06-28   2023-06-29 n/eric-goldstein-somma-chicken.html        Case                                          By Colin Moynihan           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/nyregio
                        n/gynecologist-sexual-assault-sentencing-  In Court 11 Women Confront Abusive Former
2023-06-28   2023-06-29 victims.html                               Gynecologist                                  By Hurubie Meko             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/nyregio
                        n/ny-attorney-general-nursing-homes-       Nursing Homes Defrauded Taxpayers of 83
2023-06-28   2023-06-29 fraud.html                                 Million Lawsuit Says                          By Erin Nolan               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/nyregio A Woeful Milestone 100000 People in New
2023-06-28   2023-06-29 n/nyc-homeless-shelter-population.html     York Homeless Shelters                        By Andy Newman              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/nyregio Private Firm Says Its Vision for Penn Station By Stefanos Chen and Dana
2023-06-28   2023-06-29 n/nyc-penn-station-plan.html               Redesign Would Save 1 Billion                 Rubinstein                  TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/28/nyregio New York City Grand Jury Refuses to Indict
2023-06-28   2023-06-29 n/nyc-subway-stabbing-charges-dropped.html Passenger In Fatal Subway Stabbing            By Hurubie Meko             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/nyregio Trump Countersues Carroll Claiming That
2023-06-28   2023-06-29 n/trump-e-jean-carroll-lawsuit.html         She Defamed Him This Time                    By Benjamin Weiser          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/nyregio In Harlem and Beyond City Election Points to
2023-06-28   2023-06-29 n/yusef-salaam-new-york-city-council.html a Generational Power Shift                     By Jeffery C Mays           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/opinion A Tiny Joyous Revolt Against the Tyranny of
2023-06-28   2023-06-29 /eid-celebration.html                       Time                                         By Romaissaa Benzizoune     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/opinion
2023-06-28   2023-06-29 /putin-mbs-saudi-arabia-biden.html          The Wannabe Putin in Saudi Arabia            By Nicholas Kristof         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/opinion
2023-06-28   2023-06-29 /rfk-jr-president-2024.html                 This Campaign Is Not About You               By Gail Collins             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/sports/b Arizona Rookie Has Five Tools And Is
2023-06-28   2023-06-29 aseball/corbin-carroll-diamondbacks.html    Looking To Add More                          By Tyler Kepner             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/sports/b
2023-06-28   2023-06-29 aseball/minnesota-twins-playoffs.html       Mired in Mediocrity With a Shot at the Title By Victor Mather            TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/sports/b
2023-06-28   2023-06-29 aseball/steven-cohen-mets.html              Mets Owner Resists Impulsive Changes         By Matt Martell             TX 9-304-143   2023-08-01




                                                                               Page 5418 of 5793
                        https://www.nytimes.com/2023/06/28/sports/f
                        ootball/lloyd-howell-demaurice-smith-       Business Executive to Lead NFL Players
2023-06-28   2023-06-29 nflpa.html                                  Union                                       By Ken Belson                  TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/28/sports/o
2023-06-28   2023-06-29 lympics/simone-biles-return.html            Biles Signals Return Perhaps for 24 Games   By Jer Longman                 TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/28/sports/s FIFA Appears Poised to Allow Rainbow
2023-06-28   2023-06-29 occer/rainbow-armbands-fifa-world-cup.html Armbands at the Womens World Cup               By Tariq Panja               TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/28/style/an
2023-06-28   2023-06-29 d-just-like-that-fashion.html               Hide It or Flaunt It Two Sides of a Gold Coin By Vanessa Friedman          TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/28/style/m
                        enswear-paris-fashion-shows-city-of-light-
2023-06-28   2023-06-29 camera-action.html                          Everything Is Open for Debate                 By Guy Trebay                TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/28/style/pa
2023-06-28   2023-06-29 ris-milan-fashion-week-men-street-style.html Basic Mens Wear Deconstructed              By Simbarashe Cha              TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/28/theater/
2023-06-28   2023-06-29 originality-steve-cuiffo-derek-delgaudio.html Is Being Original A Worthy Desire         By Jason Zinoman               TX 9-304-143     2023-08-01
                        https://www.nytimes.com/2023/06/28/theater/ Shes Sold on Making Theater More
2023-06-28   2023-06-29 victoria-bailey-tdf-tkts.html                 Accessible                                By Michael Paulson             TX 9-304-143     2023-08-01

                        https://www.nytimes.com/2023/06/28/us/cana SmokeFilled Air Engulfs Midwest Then
2023-06-28   2023-06-29 da-wildfire-smoke-air-quality-midwest.html Heads East                                   By Julie Bosman                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/us/fede Even With 100 New Judges Confirmed
2023-06-28   2023-06-29 ral-judges-appointed.html                   Progressives Want to Pick Up the Pace       By Carl Hulse                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/us/heat- Misery Engulfs the South As Oppressive Heat By Marie Elizabeth Oliver Stacey
2023-06-28   2023-06-29 wave-temperatures-forecast.html             Spreads                                     Cato and Livia AlbeckRipka       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/us/kent
                        ucky-tennessee-transgender-bans-            Judges Block Bans on Transgender Care for
2023-06-28   2023-06-29 blocked.html                                Minors in Kentucky and Tennessee            By Anna Betts and Emily Cochrane TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/us/polit                                             By Michael D Shear and Jim
2023-06-28   2023-06-29 ics/biden-speech-economy-chicago.html       Biden in Campaign Mode Lauds the Economy Tankersley                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/us/polit DeSantiss TaxpayerFunded Excursion By       By Neil Vigdor and Nicholas
2023-06-28   2023-06-29 ics/desantis-texas-helicopter-finance.html  Helicopter in Texas Draws Scrutiny          Nehamas                          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/us/polit Giuliani Voluntarily Spoke to Jan 6         By Ben Protess Alan Feuer and
2023-06-28   2023-06-29 ics/giuliani-jan-6-investigation.html       Prosecutors                                 Maggie Haberman                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/us/polit Lowell Weicker 92 Maverick Connecticut
2023-06-28   2023-06-29 ics/lowell-weicker-dead.html                Senator and Governor Dies                   By Kirk Johnson                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/us/polit Condemning Censorship Kennedy Draws
2023-06-28   2023-06-29 ics/rfk-democrats-election.html             Support From Unlikely Coalition             By Rebecca Davis OBrien          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/us/texa In Texas Power Battle May Wipe Out Water By Mary Beth Gahan J David
2023-06-28   2023-06-29 s-heat-water-breaks.html                    Breaks                                      Goodman and David Montgomery TX 9-304-143       2023-08-01




                                                                                 Page 5419 of 5793
                        https://www.nytimes.com/2023/06/28/world/a Paraguays 500Mile Ferryboat May Be Making By Jack Nicas and Mara Magdalena
2023-06-28   2023-06-29 mericas/aquidaban-paraguay-river-boat.html Its Final Runs                                Arrllaga                         TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/28/world/a In India Desperation As Best Jobs Draw        By Alex Travelli Hari Kumar and
2023-06-28   2023-06-29 sia/india-workforce-economy.html           Horde                                         Atul Loke                        TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/28/world/a Citizens of South Korea Just Got a Little
2023-06-28   2023-06-29 sia/south-korea-age.html                   Younger                                       By Amanda Holpuch                TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/28/world/c
                        anada/canada-wildfires-smoke-us-air-       Air Quality In the US Is Worsening With
2023-06-28   2023-06-29 quality.html                               Smoke                                         By Dan Bilefsky                  TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/28/world/e Ben Helfgott 93 Holocaust Survivor Who
2023-06-28   2023-06-29 urope/ben-helfgott-dead.html               Became Olympic Weight Lifter                  By Richard Sandomir              TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/28/world/e
                        urope/france-police-shooting-paris-        French Police Kill Teen Driver During Traffic By Aurelien Breeden and Constant
2023-06-28   2023-06-29 nanterre.html                              Stop Igniting Protests                        Mheut                            TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/28/world/e Putin Signaling Plan to Punish Allies of
2023-06-28   2023-06-29 urope/putin-prigozhin-russia.html          Rebel                                         By Anton Troianovski             TX 9-304-143    2023-08-01
                        https://www.nytimes.com/2023/06/28/world/e
                        urope/russia-rebellion-prigozhin-1917-     Prigozhins Mutiny Has Uncanny CenturyOld
2023-06-28   2023-06-29 kornilov.html                              Echoes                                        By Anatoly Kurmanaev             TX 9-304-143    2023-08-01

                        https://www.nytimes.com/2023/06/28/world/e Night Out for Dinner Turns Deadly as Missile By Natalia Yermak Dzvinka
2023-06-28   2023-06-29 urope/ukraine-restaurant-russian-missile.html Strike Kills at Least 11                      Pinchuk and Mauricio Lima      TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/world/ti                                                 By Remy Tumin and Rebecca
2023-06-28   2023-06-29 tan-submersible-debris-recovered.html          Titan Remains Are Recovered For Inspection Carballo                         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/science
                        /astronomy-gravitational-waves-
2023-06-29   2023-06-29 nanograv.html                                  Black Hole Pairs Hum Across the Universe By Katrina Miller                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/theater/
                        review-this-hamlet-under-the-stars-is-no-walk-
2023-06-29   2023-06-29 in-the-park.html                               Interior Drama Staged Outside                By Jesse Green                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/insider/
                        the-reverberations-of-pain-and-its-
2023-06-29   2023-06-29 dismissal.html                                 The Reverberations of Pain and Its Dismissal By Emmett Lindner              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/arts/mu Robert Black 67 Bass Virtuoso and a Founder
2023-06-27   2023-06-30 sic/robert-black-dead.html                     of the Bang on a Can AllStars                By William Robin               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/movies/ Frederic Forrest 86 Actor Best Known for
2023-06-27   2023-06-30 frederic-forrest-dead.html                     Apocalypse Now and The Rose                  By Neil Genzlinger             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/movies/
2023-06-27   2023-06-30 sin-la-habana-review.html                      Sin la Habana                                By Claire Shaffer              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/movies/
                        taylor-macs-24-decade-history-of-popular-      Taylor Macs 24Decade History of Popular
2023-06-27   2023-06-30 music-review.html                              Music                                        By Elisabeth Vincentelli       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/27/nyregio Migrant Women in New York See Future in
2023-06-27   2023-06-30 n/migrant-women-construction-jobs.html         Unexpected Career                            By Stefanos Chen and Ana Ley   TX 9-304-143   2023-08-01



                                                                                 Page 5420 of 5793
                        https://www.nytimes.com/2023/06/28/movies/
2023-06-28   2023-06-30 anthem-review.html                           Anthem                                       By Devika Girish         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/movies/
                        indiana-jones-and-the-dial-of-destiny-
2023-06-28   2023-06-30 review.html                                  Unwrinkled or Not Forever Battling the Nazis By Manohla Dargis        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/movies/
                        rock-hudson-all-that-heaven-allowed-
2023-06-28   2023-06-30 review.html                                  A Stars Dual Life Doubly Complex             By Calum Marsh           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/movies/
2023-06-28   2023-06-30 run-rabbit-run-review.html                   Run Rabbit Run                               By Jeannette Catsoulis   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/28/theater/ Heartbroken Oh Just Ping Me if You Need
2023-06-28   2023-06-30 grief-hotel-liza-berkenmeier.html            Me                                           By Brittani Samuel       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/arts/apr April Kingsley 82 Dies Curator Who
2023-06-29   2023-06-30 il-kingsley-dead.html                        Embraced Underappreciated Artists            By Neil Genzlinger       TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/arts/dan
2023-06-29   2023-06-30 ce/joyce-theater-season.html                 New Joyce Season Features 2 Debuts           By Rachel Sherman        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/arts/des
                        ign/africa-fashion-brooklyn-museum-music-
2023-06-29   2023-06-30 photography.html                             With New Freedoms Came New Flair             By Seph Rodney           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/arts/des
                        ign/icp-photograpy-and-intimacy-
2023-06-29   2023-06-30 exhibition.html                              Cameras Peer Deep Into Inscrutable Hearts    By Arthur Lubow          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/arts/des
                        ign/jc-leyendecker-the-arrow-collar-man-who-
2023-06-29   2023-06-30 hid-a-radical-idea.html                      Male Beauty as an Illustrators Calling Card By Blake Gopnik           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/arts/des
2023-06-29   2023-06-30 ign/ken-jacobs-experimental-films.html       Storefront Windows Morph Into Theaters       By Travis Diehl          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/arts/mu
2023-06-29   2023-06-30 sic/olivia-dean-messy-review.html            On Her Debut LP Already Pushing Ahead        By Jon Pareles           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/arts/mu
2023-06-29   2023-06-30 sic/queer-revolutionary-utopian-opera.html   A Queer Classic Now Onstage With Music       By Ben Miller            TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/29/arts/mu Tchaikovsky Competition Normally Rousing
2023-06-29   2023-06-30 sic/tchaikovsky-competition-putin-war.html Is Diminished by War                     By Javier C Hernndez           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/arts/tele Marvin Kitman 93 Who Twitted TV
2023-06-29   2023-06-30 vision/marvin-kitman-dead.html               Networks for 35 Years Is Dead          By Sam Roberts                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/29/arts/tele
2023-06-29   2023-06-30 vision/tour-de-france-unchained-netflix.html This Weekend I Have                          By Margaret Lyons        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/busines Retailers Are Awash in Bud Light As
2023-06-29   2023-06-30 s/bud-light-sales.html                       RightWing Boycott Takes Toll                 By Julie Creswell        TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/busines Economy Grew At Hotter Pace Than
2023-06-29   2023-06-30 s/economy/economy-q1-gdp.html                Expected                                     By Ben Casselman         TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/busines
2023-06-29   2023-06-30 s/economy/fed-powell-rates.html              Slower Interest Rate Increases to Continue   By Jeanna Smialek        TX 9-304-143   2023-08-01



                                                                                  Page 5421 of 5793
                        https://www.nytimes.com/2023/06/29/busines End Sought To Loophole That Allows
2023-06-29   2023-06-30 s/economy/russia-oil-imports-ban.html      Russian Oil                                 By Ana Swanson                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/busines
                        s/europe-inflation-wages-corporate-        Inflation Impetus in the Eurozone Moves
2023-06-29   2023-06-30 profits.html                               From Profits to Wages                       By Eshe Nelson                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/busines National Geographic Lays Off More Writers
2023-06-29   2023-06-30 s/media/national-geographic-layoffs.html   and Other Staff                             By Jesus Jimnez                   TX 9-304-143   2023-08-01
                                                                   Three Are Charged With Illegally Trading
                        https://www.nytimes.com/2023/06/29/busines Ahead of Trumps Social Media Platform
2023-06-29   2023-06-30 s/trump-media-merger.html                  Merger                                      By Matthew Goldstein              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/busines VW Replaces Audi Chief Amid Pressure to
2023-06-29   2023-06-30 s/volkswagen-audi-chief-executive.html     Electrify                                   By Melissa Eddy                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/climate Punishing Heat And Smoky Air Take Lethal
2023-06-29   2023-06-30 /heat-wave-wildfires-canada-climate.html   Toll                                        By Somini Sengupta                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/movies/
2023-06-29   2023-06-30 as-far-as-i-can-walk-review.html           As Far as I Can Walk                        By Brandon Yu                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/movies/
2023-06-29   2023-06-30 every-body-review.html                     Every Body                                  By Teo Bugbee                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/movies/
2023-06-29   2023-06-30 in-the-company-of-rose-review.html         In the Company Of Rose                      By Glenn Kenny                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/movies/
2023-06-29   2023-06-30 millie-lies-low-review.html                Millie Lies Low                             By Ben Kenigsberg                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/movies/ Getting Medieval On Oppressors All Jokes
2023-06-29   2023-06-30 nimona-review.html                         Aside                                       By Amy Nicholson                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/movies/
2023-06-29   2023-06-30 prisoners-daughter-review.html             Prisoners Daughter                          By Kelli Weston                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/movies/
2023-06-29   2023-06-30 ruby-gillman-teenage-kraken-review.html    Ruby Gillman Teenage Kraken                 By Natalia Winkelman              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/movies/
2023-06-29   2023-06-30 the-passengers-of-the-night-review.html    Shes Trying to Write Act II of Her Life     By Manohla Dargis                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/movies/
                        umberto-eco-a-library-of-the-world-        Celebrating the Travels Of a Literary
2023-06-29   2023-06-30 review.html                                GlobeTrotter                                By Nicolas Rapold                 TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/nyregio
                        n/air-quality-smoke-canada-wildfires-      Largely Sparing New York Smoke Intrudes on
2023-06-29   2023-06-30 nyc.html                                   Lives And Lungs in the Midwest              By Liam Stack                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/nyregio Consultant Gets 24 Years In Plot to Kill an
2023-06-29   2023-06-30 n/caddle-galdieri-murder-for-hire-nj.html  Associate                                   By Tracey Tully and Ed Shanahan   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/nyregio Democrats to Use Equal Rights Push to Raise
2023-06-29   2023-06-30 n/equal-rights-amendment-ny.html           Turnout                                     By Dana Rubinstein                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/nyregio
                        n/new-york-mayor-city-council-budget-      Mayor and Council Reach Budget Deal That By Dana Rubinstein and Emma G
2023-06-29   2023-06-30 deal.html                                  Spares City Libraries but Not Rikers Island Fitzsimmons                       TX 9-304-143   2023-08-01




                                                                               Page 5422 of 5793
                        https://www.nytimes.com/2023/06/29/opinion
                        /affirmative-action-supreme-court-
2023-06-29   2023-06-30 harvard.html                                Harvard Undermined Itself                    By David French                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/opinion Why Biden Isnt Getting the Credit He
2023-06-29   2023-06-30 /biden-economy-inflation-plan.html          Deserves                                     By David Brooks                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/opinion The DecadesLong Fight to Dismantle
2023-06-29   2023-06-30 /supreme-court-affirmative-action.html      Affirmative Action                           By Jerome Karabel                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/sports/b
                        aseball/domingo-german-yankees-perfect-     So Much Excitement and Pressure for a
2023-06-29   2023-06-30 game.html                                   Pitcher With His Ups and Downs               By Evan Easterling               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/sports/b
                        aseball/perfect-game-domingo-german-
2023-06-29   2023-06-30 larsen.html                                 The Perfect Game Strikes Like Lightning      By Tyler Kepner                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/sports/c Thats How They Roll A Primer on the Stars
2023-06-29   2023-06-30 ycling/tour-de-france-tv-preview.html       Story Lines and Stages                       By Kevin Draper                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/sports/f The NFL Hands Down More Suspensions to By Elena Bergeron and Emmanuel
2023-06-29   2023-06-30 ootball/nfl-player-suspension-betting.html  Players Who Placed Bets on Football          Morgan                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/sports/n Big Change in Recruiting Paying Attention to
2023-06-29   2023-06-30 caabasketball/ncaa-recruiting.html          High School                                  By Billy Witz                    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/technol                                               By Ryan Mac Tiffany Hsu and
2023-06-29   2023-06-30 ogy/twitter-ceo-linda-yaccarino.html        Twitters New Chief Eases Into Hot Seat       Benjamin Mullin                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/theater/
2023-06-29   2023-06-30 the-great-gatsby-review.html                Borne Back Ceaselessly Into the Jazz Age     By Maya Phillips                 TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/29/us/affir
2023-06-29   2023-06-30 mative-action-college-admissions-future.html Admissions Could Be Even More Subjective By Anemona Hartocollis              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/us/hom Homeless Population of LA Increased by 9 in
2023-06-29   2023-06-30 elessness-los-angeles.html                   One Year                                   By Jill Cowan                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/us/ohio- A 60 Million Bribe A 13 Billion Bailout A
2023-06-29   2023-06-30 speaker-bribery.html                         20Year Prison Term                         By Michael Wines                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/us/park Jury Acquits Florida Deputy Who Failed to
2023-06-29   2023-06-30 land-shooting-scot-peterson-verdict.html     Confront Parkland Gunman                   By Patricia Mazzei                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/us/polit For High School Students on the Cusp Of     By Jenna Russell Jacey Fortin
2023-06-29   2023-06-30 ics/affirmative-action-students.html         College a Ruling Raises Uncertainty        Beverly Ford and Emily Cataneo    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/us/polit                                             By Jonathan Weisman and Reid J
2023-06-29   2023-06-30 ics/biden-economy-republicans.html           A Bidenomics Bind May Vex the GOP          Epstein                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/us/polit
                        ics/biden-supreme-court-affirmative-         This Is Not a Normal Court Biden Asserts
2023-06-29   2023-06-30 action.html                                  After Its Ruling                           By Michael D Shear                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/us/polit                                             By Julian E Barnes Eric Schmitt
2023-06-29   2023-06-30 ics/biden-ukraine-russia-rebellion.html      US Urged Kyiv Restraint During Mutiny      and Anton Troianovski             TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/us/polit The Senates Feinstein Question Is Political
2023-06-29   2023-06-30 ics/dianne-feinstein-senate.html             and Institutional                          By Carl Hulse                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/us/polit Koch Network Raises More Than 70 Million By Maggie Haberman Jonathan
2023-06-29   2023-06-30 ics/koch-network-trump-2024.html             In Effort to Sink Trump                    Swan and Shane Goldmacher         TX 9-304-143   2023-08-01



                                                                                Page 5423 of 5793
                        https://www.nytimes.com/2023/06/29/us/polit
2023-06-29   2023-06-30 ics/moms-for-liberty-republicans.html         Moms for Liberty Draws GOP Contenders         By Jonathan Weisman              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/us/polit
                        ics/supreme-court-admissions-affirmative-
2023-06-29   2023-06-30 action-harvard-unc.html                       Justices Rule Against Affirmative Action      By Adam Liptak                   TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/us/polit
                        ics/supreme-court-religion-sabbath-postal-                                                  By Abbie VanSickle and Adam
2023-06-29   2023-06-30 worker.html                                   Court Expands Protections Based on Faith      Liptak                           TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/world/a Old Deal With De Beers Has Botswana
2023-06-29   2023-06-30 frica/botswana-diamonds-de-beers.html         Mulling a Divorce                             By John Eligon and Joao Silva    TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/world/a
                        frica/central-african-republic-wagner-africa-                                               By Elian Peltier and Raja
2023-06-29   2023-06-30 syria.html                                    Can Kremlin Tame Wagner in Africa             Abdulrahim                       TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/29/world/a In These Corners of Kabul Western Influences By Christina Goldbaum and Jim
2023-06-29   2023-06-30 sia/kabul-afghanistan-western-influence.html Live On                                    Huylebroek                           TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/29/world/a South Korea Braces for Deadly Monsoons
2023-06-29   2023-06-30 sia/south-korea-monsoon-death.html          Potentially the Heaviest in 80 or More Years    By Jin Yu Young                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/world/c
                        anada/canada-stabbing-university-
2023-06-29   2023-06-30 waterloo.html                               Man Accused Of Stabbing 3 In Classroom          By Christine Hauser              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/world/e Teens Killing Revives Conversation on Race
2023-06-29   2023-06-30 urope/france-nahel-m-protests.html          Power and Identity                              By Catherine Porter              TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/world/e
                        urope/prigozhin-shoigu-gerasimov-surovikin- Revolt in Russia Does Not Bring Reform to
2023-06-29   2023-06-30 russia-military.html                        Army                                            By Neil MacFarquhar              TX 9-304-143   2023-08-01
                                                                                                                    By Ivan Nechepurenko Valerie
                        https://www.nytimes.com/2023/06/29/world/e As Putin Poses for Selfies US Says Russian       Hopkins Helene Cooper Julian E
2023-06-29   2023-06-30 urope/russia-putin-wagner-ukraine.html     General May Be Detained                          Barnes and Eric Schmitt          TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/world/e Pinch of Rising Prices Is Felt by All of Britain
2023-06-29   2023-06-30 urope/uk-royals-finances-charles.html      Including Its Monarch                            By Mark Landler                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/world/e Court Rejects UK Plan to Fly Refugees to
2023-06-29   2023-06-30 urope/uk-rwanda-migrants-unlawful.html     Rwanda                                           By Stephen Castle                TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/world/
                        middleeast/israel-west-bank-settlements-   How and Why Israel Is Pushing to Expand
2023-06-29   2023-06-30 expansion.html                             West Bank Settlements                            By Isabel Kershner               TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/world/
                        middleeast/quran-burning-stockholm-        Muslim World Is Outraged After Sweden            By Alissa J Rubin and Isabella
2023-06-29   2023-06-30 sweden.html                                Quran Burning                                    Kwai                             TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/29/your-
2023-06-29   2023-06-30 money/colleges-prices-affirmative-action.html For Diversity In Academia Price Clarity       By Ron Lieber                    TX 9-304-143   2023-08-01




                                                                                   Page 5424 of 5793
                        https://www.nytimes.com/2023/06/29/us/polit
                        ics/black-justices-affirmative-action-thomas-
2023-06-30   2023-06-30 jackson.html                                  Black Justices Spar Over Decision        By Abbie VanSickle                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/29/world/e Unrest in Streets Over Teens Killing Renews
2023-06-30   2023-06-30 urope/police-shooting-france-macron.html      Pressure on Macron                       By Roger Cohen                      TX 9-304-143   2023-08-01

                        https://www.nytimes.com/2023/06/30/busines Reliance on LIBOR a Tarnished InterestRate
2023-06-30   2023-06-30 s/end-of-libor.html                          Benchmark Is Coming to an End                By Joe Rennison                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/30/insider/
                        tracking-what-happened-to-abortion-providers
2023-06-30   2023-06-30 after-the-dobbs-decision.html                Finding the Clinics That Closed After Dobbs By Sarah Bahr                     TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/30/nyregio                                                By Michael Wilson Matthew Haag
2023-06-30   2023-06-30 n/nyc-homeless-shelters-migrants.html        City Hits Milestone With 100000 in Shelters and Mihir Zaveri                  TX 9-304-143   2023-08-01
                        https://www.nytimes.com/2023/06/06/theater/ What Its Like to Inhabit The Role of Putin in
2023-06-06   2023-07-01 will-keen-patriots-putin.html                Patriots                                     By Alex Marshall                 TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/12/travel/s The Road Less Traveled Leads to Tasty
2023-06-12   2023-07-01 ilicon-valley-south-bay-wine-vineyards.html Wines                                        By Laura M Holson                 TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/14/movies/
2023-06-14   2023-07-01 miles-ahead-the-exiles-streaming-movies.html Some Films Flying Under the Radar           By Jason Bailey                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/20/travel/ At Ease in the Land of Knights and Rainbow
2023-06-20   2023-07-01 malta-europride-gay-lgbtq.html               Flags                                       By Alexander Lobrano              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/25/opinion
                        /the-pittsburgh-gunman-didnt-just-kill-11-   By Killing 11 Jews He Killed Something Else
2023-06-25   2023-07-01 jews-he-killed-a-minyan.html                 Too                                         By Mark Oppenheimer               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/arts/jeff
                        rion-aubry-injured-louis-armstrong-
2023-06-29   2023-07-01 center.html                                  Assemblyman Injured at Armstrong Center     By Christopher Kuo                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/arts/mu
                        sic/supremes-cindy-birdsong-                                                             By Julia Jacobs and Christopher
2023-06-29   2023-07-01 conservatorship.html                         When Motowns Glamour Wore Off               Petkanas                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/busines This Broadcast TV Genre Continues to Thrive
2023-06-29   2023-07-01 s/media/tv-game-shows-thrive.html            GME SHWS                                    By John Koblin                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/opinion
2023-06-29   2023-07-01 /columnists/moral-panic.html                 Do Not Panic Its Just a Moral Panic         By Pamela Paul                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/us/chris Christine King Farris 95 Sister of Martin
2023-06-29   2023-07-01 tine-king-farris-dead.html                   Luther King Jr and Promoter of His Legacy By Alex Traub                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/us/heat- Accurate HeatRelated Death Toll Could
2023-06-29   2023-07-01 wave-deaths.html                             Remain Unclear for Weeks                    By Anushka Patil                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/us/polit
                        ics/trump-documents-indictment-              Trump Investigation Continues After         By Alan Feuer and Maggie
2023-06-29   2023-07-01 subpoenas.html                               Indictment as Grand Jury Issues Subpoenas Haberman                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/us/texa Surviving Texas Heat in Prisons Without
2023-06-29   2023-07-01 s-prisons-heat.html                          AirConditioning                             By J David Goodman                TX 9-317-107   2023-09-01



                                                                                 Page 5425 of 5793
                        https://www.nytimes.com/2023/06/30/arts/rus
2023-06-30   2023-07-01 t-armorer-cocaine.html                      Rust Case Prosecutors Add Details              By Julia Jacobs                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/30/arts/tele
2023-06-30   2023-07-01 vision/john-early-now-more-than-ever.html Giving StandUp the Old RazzleDazzle              By Jason Zinoman                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/arts/tele Its Easy to Reach a Verdict on What Is Bad    By James Poniewozik Wesley
2023-06-30   2023-07-01 vision/the-idol-finale.html                  Television                                    Morris and Lindsay Zoladz         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/busines                                                 By Joe Rennison and J Edward
2023-06-30   2023-07-01 s/earnings-wall-street-economy.html          Wall Street Is Feeling Optimistic             Moreno                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/busines Diversity in Workplace Could Next Face
2023-06-30   2023-07-01 s/economy/hiring-affirmative-action.html     Limits                                        By Noam Scheiber                  TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/30/busines Key Measure Of Inflation Falls Giving Slack By Jeanna Smialek and Ben
2023-06-30   2023-07-01 s/economy/inflation-may-federal-reserve.html to Fed                                     Casselman                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/busines Inflation Slows In Eurozone But Pressures On
2023-06-30   2023-07-01 s/eurozone-inflation.html                    Price Persist                              By Patricia Cohen                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/busines French Newsroom Strikes to Protest New
2023-06-30   2023-07-01 s/jdd-.html                                  FarRight Editor                            By Liz Alderman                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/busines Joseph Pedott 91 Dies Ad Executive Who
2023-06-30   2023-07-01 s/joseph-pedott-dead.html                    Made Zany Chia Pets a Craze                By Alex Traub                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/busines
                        s/media/abby-grossberg-fox-news-             Fox News Agrees to Pay ExProducer 12
2023-06-30   2023-07-01 settlement.html                              Million                                    By Katie Robertson                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/30/busines The Student Loan Borrowers Who Will              By Ron Lieber and Tara Siegel
2023-06-30   2023-07-01 s/student-loans-borrowers-supreme-court.html Continue to Struggle                           Bernard                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/busines
                        s/united-airlines-delayed-canceled-          United Airlines Begins to Right Itself After a By Niraj Chokshi and Christine
2023-06-30   2023-07-01 flights.html                                 Rash of Delays and Cancellations               Chung                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/movies/ Alan Arkin 89 Comic Actor Who Also Had a By Robert Berkvist and Peter
2023-06-30   2023-07-01 alan-arkin-dead.html                         Flair for Drama Dies                           Keepnews                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/movies/ Prosecutor Calls Kevin Spacey a Sexual Bully
2023-06-30   2023-07-01 kevin-spacey-trial.html                      as Trial Opens                                 By Alex Marshall                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/nyregio Santos Makes Appearance Briefly in Federal By Michael Gold and Grace
2023-06-30   2023-07-01 n/george-santos-court-appearance.html        Court                                          Ashford                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/nyregio Michael Horodniceanu 78 Who Oversaw
2023-06-30   2023-07-01 n/michael-horodniceanu-dead.html             Gigantic New York City Transit Jobs            By Daniel E Slotnik              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/nyregio Double Blow To New York First Smoke Then
2023-06-30   2023-07-01 n/nyc-bugs-gnats.html                        Swarms                                         By Christine Hauser              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/nyregio Many Yeshivas Breaking Law City                  By Eliza Shapiro and Brian M
2023-06-30   2023-07-01 n/nyc-hasidic-yeshivas-education.html        Concludes                                      Rosenthal                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/nyregio Public Package Lockers Aim To Ease
2023-06-30   2023-07-01 n/nyc-package-lockers-delivery.html          Congestion On New York City Streets            By Winnie Hu                     TX 9-317-107   2023-09-01




                                                                                  Page 5426 of 5793
                        https://www.nytimes.com/2023/06/30/nyregio
                        n/nypd-interim-commissioner-caban-         Interim Commissioner For NYPD Is Named By Dana Rubinstein Hurubie Meko
2023-06-30   2023-07-01 sewell.html                                As Sewell Gets Sendoff                     and Maria Cramer            TX 9-317-107          2023-09-01
                        https://www.nytimes.com/2023/06/30/opinion Christians and Drag Queens Both Defend the
2023-06-30   2023-07-01 /christians-and-drag-queens.html           First Amendment                            By David French             TX 9-317-107          2023-09-01

                        https://www.nytimes.com/2023/06/30/sports/b Facing His Former Team a New Yorker Who
2023-06-30   2023-07-01 aseball/harrison-bader-yankees-cardinals.html Is Thriving Back Home                     By Matt Martell                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/06/30/sports/b
                        aseball/john-montgomery-ward-perfect-         A 19thCentury Pioneer of Perfection and a
2023-06-30   2023-07-01 game.html                                     Whole Lot More                            By Benjamin Hoffman            TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/06/30/sports/e In a CostCutting Measure ESPN Announces
2023-06-30   2023-07-01 spn-layoffs.html                              Layoffs Of OnAir Personalities            By Claire Fahy                 TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/06/30/sports/g Senators Thwarted in Assembling Witness
2023-06-30   2023-07-01 olf/liv-pga-greg-norman-senate-hearing.html List on Merger                            By Alan Blinder and Kevin Draper TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/06/30/theater/ Playwrights Put America Onstage Warts and
2023-06-30   2023-07-01 the-democracy-project-federal-hall.html     All                                       By Alexis Soloski                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/06/30/us/affir
                        mative-action-diversity-college-            Education Will Change After Court Ends
2023-06-30   2023-07-01 education.html                              Policy                                    By Stephanie Saul                TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/06/30/us/air- Rains Will Bring Respite From a Smoky Haze By Christopher Maag and Derrick
2023-06-30   2023-07-01 quality-wildfires-smoke-forecast.html       Thats Draped Large Portions of the US        Bryson Taylor                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/heat-
                        wave-temperatures-forecast-texas-           Holiday Weekend To Give No Break From        By Emily Cochrane and Judson
2023-06-30   2023-07-01 california.html                             Heats Peril                                  Jones                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/india Indiana Supreme Court Rules a NearTotal
2023-06-30   2023-07-01 na-abortion-ban-upheld.html                 Ban on Abortion Is Constitutional            By Kate Zernike                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/polit
                        ics/affirmative-action-college-admissions-  More Weight for Essays And Less for SAT
2023-06-30   2023-07-01 supreme-court.html                          Scores Expect a Process to Shift             By Stephanie Saul               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/polit Afghanistan Exit Report Urges Worst Case
2023-06-30   2023-07-01 ics/afghan-war-report.html                  Thinking                                     By Michael Crowley              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/polit Courts Decision Unravels A Signature Plan of
2023-06-30   2023-07-01 ics/biden-student-loans.html                Bidens                                       By Michael D Shear              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/polit Judge to Decide Whether CIA Tortures Taint
2023-06-30   2023-07-01 ics/guantanamo-cole-bombing.html            Stretched to Guantnamo                       By Carol Rosenberg              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/polit
                        ics/supreme-court-gun-laws-domestic-        Court Will Consider Domestic Violence In
2023-06-30   2023-07-01 violence.html                               Major Guns Case                              By Adam Liptak and Glenn Thrush TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/polit DeSantis and Trump Take Pitches to Rally Of
2023-06-30   2023-07-01 ics/trump-desantis-moms-for-liberty.html    Mothers Group                                By Anjali Huynh                 TX 9-317-107   2023-09-01




                                                                               Page 5427 of 5793
                        https://www.nytimes.com/2023/06/30/us/stud
                        ent-loan-forgiveness-supreme-court-
2023-06-30   2023-07-01 biden.html                                 Justices Say No To Student Loan Relief     By Adam Liptak                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/supr Web Designer Wins Right To Turn Away       By Abbie VanSickle and Adam
2023-06-30   2023-07-01 eme-court-same-sex-marriage.html           Gay People                                 Liptak                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/texa Texas Saw Bump in Births After Abortion
2023-06-30   2023-07-01 s-abortion-births-study.html               Ban Began                                  By J David Goodman               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/ukra A Human Rights Group Accuses Ukraine
2023-06-30   2023-07-01 ine-land-mines-report.html                 Troops of Using Prohibited Land Mines      By John Ismay                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/30/world/a Brazil Bars Bolsonaro From Office for Fraud
2023-06-30   2023-07-01 mericas/bolsonaro-brazil-banned-office.html Claims                                     By Jack Nicas                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/world/a Cambodian Rulers Facebook Goes Dark After
2023-06-30   2023-07-01 sia/cambodia-hun-sen-meta-facebook.html     Meta Spat                                  By Mike Ives and Sun Narin      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/world/a A Batik Designer Weaves Modernity Into an
2023-06-30   2023-07-01 sia/indonesia-batik-fashion-obin.html       Ancient Tradition                          By Hannah Beech                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/world/e Bracing for More Unrest Macron Urges
2023-06-30   2023-07-01 urope/france-police-shooting-unrest.html    Parents to Keep Youths at Home             By Aurelien Breeden             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/world/e
                        urope/france-police-traffic-stop-shooting-
2023-06-30   2023-07-01 law.html                                    French Police Lack Training On Gun Rules By Constant Mheut                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/world/e
2023-06-30   2023-07-01 urope/france-riots-police-shooting.html     Killing Splits France Into Rival Camps     By Roger Cohen                  TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/30/world/e Kremlin Shrugs at Revolt as It Strips        By Ivan Nechepurenko and
2023-06-30   2023-07-01 urope/kremlin-prigozhin-wagner-ukraine.html Prigozhins Holdings                         Cassandra Vinograd             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/world/e
2023-06-30   2023-07-01 urope/poland-russia-spy-suspect.html        Athlete Spied For Moscow Poland Says        By Cora Engelbrecht            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/world/e In Ruined Town Resolved to Stay Until the By Tyler Hicks Megan Specia and
2023-06-30   2023-07-01 urope/russia-war-avdiivka-ukraine.html      End                                         Galle Girbes                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/your-
2023-06-30   2023-07-01 money/retiree-health-care-costs.html        Despite Help Retiree Medical Costs Are High By Ann Carrns                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/louis Louisianas Governor Vetoes
2023-07-01   2023-07-01 iana-transgender-care-ban-minors.html       GenderTransitionCare Ban                    By Rick Rojas                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/polit US Coast Guard Apologizes For Sexual        By Karoun Demirjian and John
2023-07-01   2023-07-01 ics/coast-guard-sexual-assault.html         Assault Coverups                            Ismay                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/opinion
2023-07-01   2023-07-01 /france-protests-nahel-m.html               France Is on Fire                           By Harrison Stetler            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/sports/t To Tune Up for This Major Go to a Lavish
2023-07-01   2023-07-01 ennis/wimbledon-boodles.html                Garden Party                                By Matthew Futterman           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/04/07/books/
                        mario-de-andrade-macunaima-apprentice-
2023-04-07   2023-07-02 tourist.html                                Revisited Mrio de Andrade                   By Lucas Iberico Lozada        TX 9-317-107   2023-09-01




                                                                               Page 5428 of 5793
                        https://www.nytimes.com/2023/05/02/books/r
2023-05-02   2023-07-02 eview/thomas-melle-world-at-my-back.html Moments of Clarity                              By Rob Doyle                       TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/05/09/books/r
2023-05-09   2023-07-02 eview/juan-gabriel-vasquez-retrospective.html Rear Window                                By Michael Wood                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/05/09/books/r
2023-05-09   2023-07-02 eview/professor-schiffs-guilt-agur-schiff.html Rocking the Boat                          By Ruth Margalit                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/05/16/books/r
                        eview/miquel-de-palol-garden-of-seven-
2023-05-16   2023-07-02 twilights.html                                 Inside Story                              By Dustin Illingworth              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/05/20/books/r
2023-05-20   2023-07-02 eview/javier-marias-tomas-nevinson.html        Spy Next Door                             By Benjamin Markovits              TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/05/22/books/r
2023-05-22   2023-07-02 eview/machado-de-assis-dom-casmurro.html Dom Casmurro by Machado de Assis                By Benjamin Moser                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/05/26/books/r
2023-05-26   2023-07-02 eview/mild-vertigo-mieko-kanai.html          Quiet Revelations                           By Claire Oshetsky                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/05/27/books/r
                        eview/domenico-starnone-house-on-via-
2023-05-27   2023-07-02 gemito.html                                  Dreams From My Father                       By Christopher Sorrentino          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/05/29/arts/gui Carving a Legacy in Search of a Memorable    By Joshua Needelman and Sasha
2023-05-29   2023-07-02 tar-making-freeman-vines-craft.html          Sound                                       Arutyunova                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/06/
                        01/style/university-texas-austin-wesley-     At This Texas Campus Ministry Inclusive
2023-06-01   2023-07-02 students-methodist.html                      Love Is the Mission                         By Eli Durst and Jennifer Harlan   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/06/books/o
2023-06-06   2023-07-02 wlish-dorothy-tse.html                       Parable of the Professor                    By Louisa Lim                      TX 9-317-107   2023-09-01

                        https://www.nytimes.com/interactive/2023/06/
2023-06-07   2023-07-02 07/us/major-supreme-court-cases-2023.html The Major Supreme Court Decisions in 2023 By Adam Liptak and Eli Murray           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/19/books/r
2023-06-19   2023-07-02 eview/translations-of-seamus-heaney.html     More Than Beowulf                      By Tess Taylor                          TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/22/books/r Kristin Harmel Helped Build the Village That
2023-06-22   2023-07-02 eview/the-paris-daughter-kristin-harmel.html Sustained Her                                By Elisabeth Egan                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/22/style/br
2023-06-22   2023-07-02 idal-swimsuits.html                          Fitting a Bathing Suit Into Your Wedding Day By Alix Strauss                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/23/arts/tele
2023-06-23   2023-07-02 vision/im-a-virgo.html                       OldSchool Movie Magic Reappears              By Reggie Ugwu                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/24/fashion
                        /weddings/meteorologist-wedding-             Want to Avoid a Rainy Ceremony He Can
2023-06-24   2023-07-02 weather.html                                 Assist                                       By Stephanie Cain                 TX 9-317-107   2023-09-01




                                                                                  Page 5429 of 5793
                        https://www.nytimes.com/2023/06/24/movies/
2023-06-24   2023-07-02 sterling-k-brown.html                      Sterling K Brown Stretches Past Randall     By Kathryn Shattuck                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/25/books/r
                        eview/the-road-to-the-city-natalia-
2023-06-25   2023-07-02 ginzburg.html                              Broken Dreams                               By Naomi Huffman                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/26/movies/
2023-06-26   2023-07-02 freaks-disability-representation.html      How a 1932 Movie Represents Disability      By Nicolas Rapold                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/26/opinion
2023-06-26   2023-07-02 /flamin-hot-propaganda.html                Flamin Hot Is So Bad It Burns               By Adrian J Rivera                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/26/opinion
2023-06-26   2023-07-02 /the-lottery-fiction.html                  We Need Fiction That Disturbs Us            By Ruth Franklin                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/26/realesta French Montana Lists His Southern California
2023-06-26   2023-07-02 te/french-montana-los-angeles-mansion.html Mansion for 2275 Million                      By Debra Kamin                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/26/realesta New Yorkers Are Bingeing in Comfort This
2023-06-26   2023-07-02 te/living-room-tv-dining.html                Summer                                      By Stacey Lastoe                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/06/
2023-06-26   2023-07-02 26/magazine/ukraine-war-childhood.html       A Boys Life on the Front Lines              By Lynsey Addario                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/27/arts/mu
                        sic/anohni-my-back-was-a-bridge-for-you-to-
2023-06-27   2023-07-02 cross.html                                   Anohni Isnt Afraid of the Darkness          By Jenn Pelly                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/27/books/r
2023-06-27   2023-07-02 eview/new-historical-fiction.html            Over the Wall                               By Alida Becker                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/27/busines                                               By Matt Flegenheimer and Jeremy
2023-06-27   2023-07-02 s/greg-gutfeld-fox-news.html                 The Merry Troll of Fox News                 W Peters                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/27/magazi
2023-06-27   2023-07-02 ne/ai-ads-commercials.html                   Spot Off                                    By Mac Schwerin                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/27/magazi
2023-06-27   2023-07-02 ne/learn-chinese-calligraphy.html            Calligraphy                                 By Jerrine Tan                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/27/opinion
2023-06-27   2023-07-02 /republicans-crime-guide.html                The Republican Definition of a Crime        By David Firestone                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/27/realesta
                        te/marblehead-massachusetts-homes-
2023-06-27   2023-07-02 renovation.html                              Atop Their Renovation Wish List A Fire Pole By Tim McKeough                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/27/upshot/ FDA Wants to Regulate Misleading Prenatal
2023-06-27   2023-07-02 prenatal-testing-misleading-fda.html         Tests                                       By Sarah Kliff                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/28/arts/mu
                        sic/women-pregnancy-opera-classical-         Pregnant Opera Singers Perform a Delicate
2023-06-28   2023-07-02 music.html                                   Dance                                       By Corinna da FonsecaWollheim     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/28/books/r
                        eview/constance-garnett-russia-revolution-
2023-06-28   2023-07-02 translation.html                             The Agitator Translator                     By Jennifer Wilson                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/28/books/r
2023-06-28   2023-07-02 eview/iliad-translations.html                Up Close Exit Hector Again and Again        By Emily Wilson                   TX 9-317-107   2023-09-01




                                                                                Page 5430 of 5793
                        https://www.nytimes.com/2023/06/28/books/r
                        eview/translating-childrens-picture-
2023-06-28   2023-07-02 books.html                                   When a Word Is Worth a Thousand Pictures By Daniel Hahn                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/28/magazi
2023-06-28   2023-07-02 ne/marcos-witts.html                         The Breathe of God                         By Marcela Valdes                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/28/magazi Churn Back Time Built on strawberry soda
2023-06-28   2023-07-02 ne/sherbet-recipe.html                       and JellO this sherbet is a taste of youth By Ligaya Mishan                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/28/nyregio Hochuls Casino Deal With the Seneca Nation
2023-06-28   2023-07-02 n/hochul-casino-rochester-senecas.html       Backfires in Albany                        By Jay Root                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/28/nyregio
2023-06-28   2023-07-02 n/richard-ravitch-unions-fiscal-crisis.html  With a Savior Gone a Chasm Widens          By Ginia Bellafante              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/28/realesta
2023-06-28   2023-07-02 te/clematis-flowers.html                     Make Your Clematis Last All Season         By Margaret Roach                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/28/style/bl
2023-06-28   2023-07-02 ank-street-coffee-slate-cafe.html            Blank Street vs Blank Slate Coffee         By Callie Holtermann             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/28/style/fri
2023-06-28   2023-07-02 endship-husband-sperm-donor.html             Donor Material                             By Philip Galanes                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/28/us/migr The Migrants Who Now Call Marthas
2023-06-28   2023-07-02 ants-desantis-marthas-vineyard.html          Vineyard Home                              By Edgar Sandoval and Matt Cosby TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/magazi
                        ne/judge-john-hodgman-on-playing-
2023-06-29   2023-07-02 monopoly.html                                Bonus Advice From Judge John Hodgman       By John Hodgman                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/magazi
2023-06-29   2023-07-02 ne/poem-from-inventory-iii.html              Poem                                       By Dionne Brand and Anne Boyer TX 9-317-107     2023-09-01

                                                                    A Mothers Worst Nightmare Federal law has
                        https://www.nytimes.com/2023/06/29/magazi put thousands of women on antiaddiction
                        ne/pregnant-women-medication-               medications into an impossible bind Give up
2023-06-29   2023-07-02 suboxonbabies.html                          your treatment or risk losing your child      By Shoshana Walter           TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/06/29/nyregio
2023-06-29   2023-07-02 n/nyc-tick-diseases-species.html            Here Come Those Bloodthirsty Ticks Again      By Joseph Goldstein          TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/06/29/opinion
                        /photography-multiple-sclerosis-chronic-    My Body Is a Clock Portraits Of Chronic
2023-06-29   2023-07-02 care.html                                   Care                                          By Sara J Winston            TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/06/29/realesta
2023-06-29   2023-07-02 te/home-prices-costs.html                   The True Price of Homeownership               By Michael Kolomatsky        TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/06/29/style/an
2023-06-29   2023-07-02 d-just-like-that-fashion.html               Bags Full of Nostalgia                        By The Styles Desk           TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/06/29/style/ra For This Designer of Bridal Wear Slow Is
2023-06-29   2023-07-02 hul-mishra-wedding-clothes.html             Beautiful                                     By Sadiba Hasan              TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/06/29/style/ro
2023-06-29   2023-07-02 ller-coaster-arie-force-one-atlanta.html    The Next Roller Coaster High Is Here          By Mekado Murphy             TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/06/29/style/se IV Drips for When You Cant Be Down for a
2023-06-29   2023-07-02 lf-care/iv-drips-hangover-cures.html        Day                                           By Amelia Nierenberg         TX 9-317-107     2023-09-01




                                                                                Page 5431 of 5793
                        https://www.nytimes.com/interactive/2023/06/ Two Sisters Try Living Together Again in
2023-06-29   2023-07-02 29/realestate/washington-dc-homes.html       Washington Who Gets the Bigger Bedroom     By Michele Lerner        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/arts/ja
2023-06-30   2023-07-02 mes-barnor-dia-ghana.html                    Picturing Ghanas Rise At Home and Abroad   By Aruna DSouza          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/books/r
                        eview/vieira-junior-fonseca-nettel-
2023-06-30   2023-07-02 pasaribu.html                                Literature in Translation                  By Anderson Tepper       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/busines David Gilmour 91 an Entrepreneur Who Put
2023-06-30   2023-07-02 s/david-gilmour-dead.html                    Fiji Water in Square Bottles               By Richard Sandomir      TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/30/busines Payday Just Keeps Getting Sweeter if Youre
2023-06-30   2023-07-02 s/executive-compensation-highest-pay.html the Boss                                         By Jeff Sommer        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/opinion
2023-06-30   2023-07-02 /artificial-intelligence-danger.html          The Risk From AI Isnt Just Existential       By Evgeny Morozov     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/opinion What Frederick Douglass Knew That Trump
2023-06-30   2023-07-02 /birthright-citizenship-trump-desantis.html   and DeSantis Dont                            By Jamelle Bouie      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/opinion
                        /editorials/supreme-court-affirmative-action-
2023-06-30   2023-07-02 decision.html                                 The Supreme Court Upends Equal Protection By The Editorial Board   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/opinion
2023-06-30   2023-07-02 /putin-prigozhin-russia.html                  Putin Is No Longer in Control of His Country By Mikhail Zygar      TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/30/opinion
2023-06-30   2023-07-02 /robert-f-kennedy-jr-coalition-supporters.html The Coalition of the Distrustful         By Michelle Goldberg     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/realesta Renters Attraction Lockers Full of
2023-06-30   2023-07-02 te/apartment-rentals-sharing-economy.html Borrowable Perks                              By Julie Lasky           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/realesta
2023-06-30   2023-07-02 te/union-city-new-jersey-houses.html           Stunning Vistas and Eyesores             By Caren Lissner         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/realesta
                        te/william-lauder-park-ave-nyc-                Este Lauder Chairman Buys Another Park
2023-06-30   2023-07-02 apartment.html                                 Avenue Coop Is He Thinking Duplex        By Vivian Marino         TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/30/sports/b Led by a Dominican Rookie the Reds Are on
2023-06-30   2023-07-02 aseball/elly-de-la-cruz-cincinnati-reds.html the Rise                                   By David Waldstein       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/sports/p A Sport Played With Paddles Can Generate By Andrew Keh and Alyssa
2023-06-30   2023-07-02 ickleball-noise-complaints-lawsuits.html     Quite a Racket                             Schukar                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/sports/s Pondering the Concept of Multiclub Which Is
2023-06-30   2023-07-02 occer/club-networks-manchester-city.html     Not a Sandwich                             By Rory Smith            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/style/is Several Unofficial Dates and Then Real
2023-06-30   2023-07-02 abella-reyes-andrew-sublett-wedding.html     Romance                                    By Jenny Block           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/style/la They Went From a Mom Friendship to a Life
2023-06-30   2023-07-02 uren-pariani-kate-schatz-wedding.html        Together                                   By Louise Rafkin         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/style/m
2023-06-30   2023-07-02 odern-love-married-to-a-stranger.html        Reticence Conceals the Lives of a Stranger By Belle Burden          TX 9-317-107   2023-09-01




                                                                                 Page 5432 of 5793
                        https://www.nytimes.com/2023/06/30/style/sa Connecting Over Coffee and Now Selling It
2023-06-30   2023-07-02 hra-nguyen-erics-kun-wedding.html           Too                                             By Tammy LaGorce                  TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/30/style/sy
2023-06-30   2023-07-02 dney-berger-elan-cooperman-wedding.html Like Mr and Mrs Met but More LevelHeaded By Nell Gallogly                             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/flori Rip Currents in Gulf Have Claimed 11 Lives
2023-06-30   2023-07-02 da-rip-current-deaths.html                  Heres How to Escape                        By Remy Tumin                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/us/peg- Peg Yorkin 96 Who Helped Bring the
2023-06-30   2023-07-02 yorkin-dead.html                            Abortion Pill to the US Dies               By Penelope Green                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/world/a
                        frica/paul-rusesabagina-hotel-rwanda-       No One Can Silence Me Hotel Rwanda Hero
2023-06-30   2023-07-02 interview.html                              Speaks Out on His Captivity                By Abdi Latif Dahir                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/30/us/okla No Charges for Sheriff Taped Making
2023-07-01   2023-07-02 homa-sheriff-killing-journalists-lynching.html Offensive Comments                           By John Yoon                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/busines
2023-07-01   2023-07-02 s/ceo-pay-worker-salary.html                   Does It Help to Know What CEOs Earn          By Sarah Kessler                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/nyregio
2023-07-01   2023-07-02 n/nyc-summer-shade.html                        Something New Under the Sun More Shade       By Jane Margolies                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/nyregio Eyeing Legacy Murphy Signs 54 Billion
2023-07-01   2023-07-02 n/phil-murphy-new-jersey-budget.html           Budget                                       By Tracey Tully and Elise Young   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/opinion
2023-07-01   2023-07-02 /british-royals-king-charles.html              Long Live the King                           By Nicholas Kristof               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/opinion
2023-07-01   2023-07-02 /chris-christie-florida-trump.html             Jersey Boy Takes On Florida Man              By Maureen Dowd                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/opinion
                        /constitutional-amendments-american-
2023-07-01   2023-07-02 history.html                                   How to Stave Off Constitutional Extinction   By Jill Lepore                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/01/opinion
2023-07-01   2023-07-02 /john-roberts-supreme-court-statesman.html John Roberts Conservative Statesman              By Ross Douthat                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/opinion I Know What Draws People to the Deep
2023-07-01   2023-07-02 /ocean-exploration.html                     Ocean                                           By Fabien Cousteau                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/opinion
2023-07-01   2023-07-02 /supreme-court-gay-303-creative.html        States Can Still Protect LGBTQ Consumers        By Aaron Tang                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/realesta
                        te/renters-insurance-building-              Should I Add My Building Manager To My
2023-07-01   2023-07-02 management.html                             Renters Insurance Policy                        By Andy Newman                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/style/pa The Rise and Uncertain Future Of a
2023-07-01   2023-07-02 per-magazine-history.html                   Downtown Institution                            By John Ortved                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/us/affir Ability to Pay Tuition Is Often First Hurdle    By Sarah Mervosh and Troy
2023-07-01   2023-07-02 mative-action-students.html                 For Unseen Students                             Closson                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/us/bide Tighter Limits on Drone Strikes Need Biden
2023-07-01   2023-07-02 n-drone-strikes.html                        Approval Out of War Zones                       By Charlie Savage                 TX 9-317-107   2023-09-01




                                                                                   Page 5433 of 5793
                        https://www.nytimes.com/2023/07/01/us/heat- Beating Heat Wave Is Even Harder With         By Emily Cochrane and Bryan
2023-07-01   2023-07-02 wave-south.html                               Drums                                       Tarnowski                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/us/polit DeSantiss Video Attacks Trump on LGBTQ By Nicholas Nehamas and Maggie
2023-07-01   2023-07-02 ics/desantis-video-lgbtq-trump.html           Issues                                      Haberman                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/us/polit Hunter Biden and the Politics Of Paternity in
2023-07-01   2023-07-02 ics/hunter-biden-daughter-arkansas.html       the Medias Glare                            By Katie Rogers               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/us/polit
                        ics/richard-haass-biden-trump-foreign-        Foreign Policy Veteran Says Real Threat Is
2023-07-01   2023-07-02 policy.html                                   Us                                          By Peter Baker                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/us/polit
                        ics/supreme-court-affirmative-action-student- Recent Rulings Could Help Democrats Win
2023-07-01   2023-07-02 loans-democrats-2024.html                     Over Voters                                 By Jonathan Weisman           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/us/supr In Court Rulings The Chief Justice Exhibits By Adam Liptak and Alicia
2023-07-01   2023-07-02 eme-court-liberal-conservative.html           His Sway                                    Parlapiano                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/01/us/weis Prosecutor Defends Integrity Of Query Into   By Glenn Thrush Luke Broadwater
2023-07-01   2023-07-02 s-hunter-biden-letter.html                 Presidents Son                               and Michael S Schmidt           TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/01/us/wor From Dodger Stadium To Docks LA Workers By Shawn Hubler Kurtis Lee and
2023-07-01   2023-07-02 kers-labor-unions-los-angeles-california.html Are Flexing Union Muscle               Jill Cowan                       TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/01/world/a In the US Trump Is Running In Brazil
2023-07-01   2023-07-02 mericas/trump-bolsonaro-brazil-us.html        Bolsonaro Was Barred                   By Jack Nicas                    TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/01/world/a
2023-07-01   2023-07-02 sia/wagner-uprising-china-russia.html         Mutiny Tests Chinas Bond With Russia   By David Pierson and Olivia Wang TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/01/world/e                                           By Matina StevisGridneff and
2023-07-01   2023-07-02 urope/greece-migrant-ship.html                How Greece Failed a Migrant Ship       Karam Shoumali                   TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/01/world/e Anger and Tension at Teenagers Funeral in
2023-07-01   2023-07-02 urope/nahel-funeral-france-protests.html      Mosque and No Officers in Sight        By Roger Cohen                   TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/01/world/e Paris Suburb Grapples With Deep Resentment
2023-07-01   2023-07-02 urope/paris-shooting-protests-violence.html Toward Police                                By Constant Mheut              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/world/e Mutiny Provided Peek at a PostPutin Russia Is
2023-07-01   2023-07-02 urope/putin-russia-wagner-rebellion.html    the Window Still Open                        By Paul Sonne                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/world/e Ukraine Says It Is Prepared For Attacks From
2023-07-01   2023-07-02 urope/russia-ukraine-war.html               Belarus                                      By Megan Specia                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/busines Shirt Maker Has Patriotism Down to a
2023-07-02   2023-07-02 s/american-made-t-shirts-july-4th.html      USAMade Tee                                  By Jordyn Holman               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/busines
2023-07-02   2023-07-02 s/roxane-gay-work-friend-advice.html        What to Say When You Want to Say No          By Roxane Gay                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/insider/
2023-07-02   2023-07-02 literary-translation.html                   A Literary Disappearing Act in Full View     By Katherine J Igoe            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/insider/
2023-07-02   2023-07-02 the-naming-of-gaming-and-its-history.html   The Naming of Gaming and Its History         By Sarah Diamond               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/nyregio
2023-07-02   2023-07-02 n/henry-street-toddrick-brockington.html    A Mentor Who Works to Stay Mindful           By Tammy LaGorce               TX 9-317-107   2023-09-01



                                                                                Page 5434 of 5793
                        https://www.nytimes.com/2023/07/02/nyregio An Elite School a Suicide And a Question of
2023-07-02   2023-07-02 n/saint-anns-suicide.html                    Blame                                      By John Leland                   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/02/world/a Japans Native Ainu Fight for a Last Vestige
2023-07-02   2023-07-02 sia/japan-ainu-fishing.html                  of Their Identity                          By Motoko Rich and Hikari Hida   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/interactive/2023/04/ Let Us Show You How GPT Works Using
2023-04-27   2023-07-03 26/upshot/gpt-from-scratch.html              Jane Austen                                By Aatish Bhatia                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/27/upshot/ Public Opinion on China May Complicate
2023-06-27   2023-07-03 us-china-cold-war.html                       Conflict                                   By Ian Prasad Philbrick          TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/28/health/a Religious Freedom Is Invoked In Fight
2023-06-28   2023-07-03 bortion-religious-freedom.html               Against Abortion Bans                      By Pam Belluck                   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/28/insider/
2023-06-28   2023-07-03 in-a-young-face-the-price-of-war.html        A Boy 11 Faces Realities of the Front Line By Terence McGinley              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/28/opinion A Myth About Innovation May Have Doomed
2023-06-28   2023-07-03 /titanic-titan-oceangate-innovation.html     the Titan                                  By Naomi Oreskes                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/28/us/us-
2023-06-28   2023-07-03 coast-guard-aaron-carotta-rescue.html        Coast Guard Rescues Man Lost in Pacific    By Mike Ives                     TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/29/busines PR Campaign by Shein Ends in a Backlash      By Jordyn Holman and Sapna
2023-06-29   2023-07-03 s/shein-influencers-backlash.html            Online                                     Maheshwari                       TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/06/29/opinion I Prepped Elite College Applicants Heres
2023-06-29   2023-07-03 /college-admissions-affirmative-action.html How the Race Game Is Played                     By Tyler Austin Harper        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/travel/j
2023-06-29   2023-07-03 etline-customer-service.html                    Help A Travel Agency Wont Give Refunds By Seth Kugel                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/arts/des
2023-06-30   2023-07-03 ign/diva-victoria-and-albert-museum.html        Just What Is a Diva Fabulous For Starters   By Imogen WestKnights         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/arts/mu
                        sic/playlist-olivia-rodrigo-bad-bunny-fall-out-                                             By Jon Pareles Giovanni
2023-06-30   2023-07-03 boy.html                                        New Songs Here Are a Few                    Russonello and Lindsay Zoladz TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/movies/ Alan Arkin Achieved Greatness in Glengarry
2023-06-30   2023-07-03 alan-arkin-glengarry-glen-ross.html             Glen Ross                                   By Jason Bailey               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/movies/
2023-06-30   2023-07-03 nimona-nd-stevenson-profile.html                Emerging Identity From Page to Screen       By Robert Ito                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/style/m
2023-06-30   2023-07-03 s-rachel-youtube-videos.html                    In Her Neighborhood Its Very Wonderful Too By McKenna Oxenden             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/technol
2023-06-30   2023-07-03 ogy/ai-chatbot-study-aid.html                   AI Can Aid Cheating Its Better for Studying By Brian X Chen               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/live/2023/06/30/wo
                        rld/russia-ukraine-news/the-cyberwar-has-
                        expanded-rapidly-beyond-ukraine-and-russia-
2023-06-30   2023-07-03 new-data-shows                                  Cyberwar Expands Rapidly                    By Anushka Patil              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/books/t TikToks BestSeller Power Gives Its Parent an By Elizabeth A Harris and
2023-07-01   2023-07-03 iktok-book-publishing-bytedance.html            Idea                                        Alexandra Alter               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/busines
                        s/dealbook/fourth-of-july-fireworks-            Fireworks Have a Splashy New Competitor By Lauren Hirsch and Michael J de
2023-07-01   2023-07-03 drones.html                                     This 4th of July Drone Shows                la Merced                     TX 9-317-107   2023-09-01



                                                                               Page 5435 of 5793
                        https://www.nytimes.com/2023/07/01/busines Central Bankers See Persistent Inflation And
2023-07-01   2023-07-03 s/economy/central-banks-inflation.html      More Uncertainty                              By Eshe Nelson                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/busines To Fight Data Scraping Twitter Limits
2023-07-01   2023-07-03 s/twitter-rate-limit-elon-musk.html         Number Of Posts Users Can View                By Eduardo Medina and Ryan Mac TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/01/sports/f
                        ootball/nfl-gambling-suspensions-           The NFLs Harsh Betting Penalties Put the      By Santul Nerkar and Emmanuel
2023-07-01   2023-07-03 integrity.html                              Ideal of Integrity to the Test                Morgan                          TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/01/sports/n A MediaRights Muddle Stifles San Diego
2023-07-01   2023-07-03 caafootball/college-football-realignment.html State                                       By Billy Witz                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/sports/t
2023-07-01   2023-07-03 ennis/wimbledon-artist-program.html           Not all the artistry is on the court        By Shira Springer               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/technol
                        ogy/elon-musk-mark-zuckerberg-cage-
2023-07-01   2023-07-03 match.html                                    The Billionaire Brawlers                    By Ryan Mac and Mike Isaac      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/us/darr Darren Drozdov 54 Wrestler Paralyzed in a
2023-07-01   2023-07-03 en-drozdov-dead.html                          Ring Accident                               By Rebecca Carballo             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/us/polit
2023-07-01   2023-07-03 ics/trump-pickens-independence-day.html       Trump Attacks Biden at Fourth of July Event By Michael Gold                 TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/01/world/e King Apologizes for the Netherlands Role in
2023-07-01   2023-07-03 urope/netherlands-king-slavery-apology.html the Slave Trade                            By Claire Moses                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/01/us/prou Proud Boys Fined After Removing Sign at
2023-07-02   2023-07-03 d-boys-black-lives-matter-church-sign.html Black Church                                By Lauren McCarthy                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/arts/mu Robert Sherman 90 Genial Pillar of Radio In
2023-07-02   2023-07-03 sic/robert-sherman-dead.html               New York Is Dead                            By Richard Sandomir                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/arts/mu
2023-07-02   2023-07-03 sic/sonic-sphere-shed-igor-levit.html      At a Sonic Sphere Trying to Step Up         By Zachary Woolfe                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/busines Frank Field Weathercaster With 100 Chance
2023-07-02   2023-07-03 s/media/frank-field-dead.html              of Expertise Dies at 100                    By Richard Goldstein               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/busines
2023-07-02   2023-07-03 s/tesla-q2-sales-deliveries.html           Tesla Sales Are Up 10 As Perks Fuel Demand By Jack Ewing                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/climate Climate Laggard Plans Fast Shift As
2023-07-02   2023-07-03 /michigan-climate-change.html              Damage Grows                                By Coral Davenport                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/fashion
2023-07-02   2023-07-03 /costume-jewelry-exhibition-scotland.html  Bringing the bling                          By Susanne Fowler                  TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/02/fashion
2023-07-02   2023-07-03 /high-jewelry-boucheron-claire-choisne.html How about a Boucheron gem for your hoodie By Tina IsaacGoiz                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/fashion
2023-07-02   2023-07-03 /high-jewelry-presentations-paris.html      High jewelry takes a road trip            By Tina IsaacGoiz                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/fashion
2023-07-02   2023-07-03 /jewelry-andre-chervin-exhibition.html      A jewelers labors of love                 By Amy Elliott                      TX 9-317-107   2023-09-01




                                                                                 Page 5436 of 5793
                        https://www.nytimes.com/2023/07/02/fashion
2023-07-02   2023-07-03 /jewelry-chaumet-buccellati-paris.html       Creations inspired by works from the past    By Tina IsaacGoiz                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/fashion
2023-07-02   2023-07-03 /jewelry-heart-shape-gems.html               For heart shapes lots of love                By Ming Liu                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/fashion
2023-07-02   2023-07-03 /jewelry-metal-alloy-allergies.html          Relieving seasonal allergies                 By Kathleen Beckett               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/fashion
2023-07-02   2023-07-03 /jewelry-roseate-pearls.html                 For the love of pearls                       By Rachel Felder                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/fashion
2023-07-02   2023-07-03 /jewelry-rubies-mozambique.html              Is Mozambique the new ruby star              By Nazanin Lankarani              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/fashion Jon Haggins 79 Designer Who Recreated
2023-07-02   2023-07-03 /jon-haggins-dead.html                       Himself Through Ups and Downs                By Penelope Green                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/france- Hijab Ban and a Killing Bare Frances
2023-07-02   2023-07-03 nahel-soccer-hijab.html                      Divisions                                    By Catherine Porter               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/nyregio Harlem Oasis Is the Scene Of a Killing Of a By Katherine Rosman and Chelsia
2023-07-02   2023-07-03 n/fatal-shooting-riverbank-park.html         Teenager                                     Rose Marcius                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/opinion
                        /half-the-police-force-quit-crime-
2023-07-02   2023-07-03 dropped.html                                 Half the Police Force Quit but Crime Dropped By Radley Balko                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/sports/a
                        utoracing/f1-time-tv-results-austrian-grand- Verstappen Didnt Lead Every Lap but He Did
2023-07-02   2023-07-03 prix.html                                    Win His 5th Straight                         By Andrew Das and Josh Katz       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/sports/o
                        lympics/caeleb-dressel-swimming-mental-      A Champion Returns to the Pool Slower but
2023-07-02   2023-07-03 health.html                                  Determined to Compete Again                  By Jenny Vrentas                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/sports/t
2023-07-02   2023-07-03 ennis/wimbledon-andy-murray.html             Andy Murray Isnt Ready To Let Go Yet         By Matthew Futterman              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/us/affir A Black Family Split On What a Key Ruling
2023-07-02   2023-07-03 mative-action-black-family.html              On Admissions Means                          By Audra D S Burch                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/us/affir
                        mative-action-university-of-california-      With the End of Affirmative Action a Push
2023-07-02   2023-07-03 davis.html                                   for a New Tool Adversity Scores              By Stephanie Saul                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/us/balti At Least 2 Dead and 28 Wounded in             By Donna Owens and Amanda
2023-07-02   2023-07-03 more-shooting.html                           Baltimore Shooting                           Holpuch                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/us/chic Soggy Days in Chicago Dampen the               By Mitch Smith and Jamie Kelter
2023-07-02   2023-07-03 ago-nascar-race.html                         Reception For NASCARs Debut                  Davis                             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/us/hous House Republicans Push Deep Cuts To            By Catie Edmondson Carl Hulse
2023-07-02   2023-07-03 e-republicans-spending.html                  Spending Bills They Rarely Back              and Alicia Parlapiano             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/us/los- Los Angeles Hotel Workers Go on Strike As
2023-07-02   2023-07-03 angeles-hotel-workers-strike.html            Tourists Arrive for the Summer Rush          By Jill Cowan and Kurtis Lee      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/us/nort Roller Coaster Is Shut Down After Large
2023-07-02   2023-07-03 h-carolina-roller-coaster-closed.html        Crack Is Spotted                             By Orlando Mayorquin              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/us/polit
2023-07-02   2023-07-03 ics/north-carolina-voting-rights.html        GOP Primed To Curb Voting In N Carolina By Nick Corasaniti                     TX 9-317-107   2023-09-01




                                                                                Page 5437 of 5793
                        https://www.nytimes.com/2023/07/02/us/titan- A Dream Voyage A Slow Descent And Then       By John Branch and Christina
2023-07-02   2023-07-03 submersible-passengers.html                  Debris                                       Goldbaum                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/world/a Day of Fireworks Thrills Australias Last
2023-07-02   2023-07-03 sia/australia-fireworks-territory-day.html   Frontier                                     By Yan Zhuang                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/world/e                                                By Emma Bubola and Vivek
2023-07-02   2023-07-03 urope/france-protests-arrest.html            French Mayors Targeted in Violent Protests   Shankar                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/world/e Russian Forces Strike Kyiv In Overnight
2023-07-02   2023-07-03 urope/russia-ukraine-drone-attack.html       Drone Attacks                                By Cassandra Vinograd             TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/02/world/e In Small Victory Signs of Slog Ahead in        By Thomas GibbonsNeff Yurii
2023-07-02   2023-07-03 urope/ukraine-russia-counteroffensive.html Ukrainians Counteroffensive                    Shyvala and David Guttenfelder    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/world/e
                        urope/urban-explorers-and-accused-spies-
2023-07-02   2023-07-03 chafe-in-legal-limbo-in-albania.html         Urban Explorers or Russian Agents            By Isabella Kwai                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/busines Yellen to Visit China in Attempt to Smooth By Alan Rappeport and Keith
2023-07-03   2023-07-03 s/janet-yellen-china-visit.html              Technological and Security Strains           Bradsher                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/arts/tele
                        vision/tv-shows-july-4-fireworks-
2023-07-03   2023-07-03 moonshine.html                               This Week on TV                              By Shivani Gonzalez               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/nyregio For Many Migrants Clock Is Working Against
2023-07-03   2023-07-03 n/migrants-asylum-nyc.html                   Them                                         By Hurubie Meko and Ral Vilchis   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/sports/t Bahhh Humbug To How We Define AllTime
2023-07-03   2023-07-03 ennis/greatest-athlete-of-all-time.html      Greatness                                    By Kurt Streeter                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/technol Russia Building A Vast Industry Of Spying By Aaron Krolik Paul Mozur and
2023-07-03   2023-07-03 ogy/russia-ukraine-surveillance-tech.html    Tools                                        Adam Satariano                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/03/us/blac
2023-06-03   2023-07-04 k-americans-headway-race-progress.html       Looking Backward and Forward at Progress By Matthew Thompson                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/13/science Ancient Slasher This Dolphin Had Teeth Only
2023-06-14   2023-07-04 /dolphin-tusks-fossil.html                   a Dentist Could Love                         By Jack Tamisiea                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/16/science Grinding Down Discovering the Sad Story
2023-06-16   2023-07-04 /rhynchosaurs-teeth-jaws-fossil.html         Behind a Fossils Grin                        By Freda Kreier                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/18/science Crunchy Diet A RaccoonLike Bear With an
2023-06-18   2023-07-04 /bear-raccoon-otter-fossil.html              OtterLike Appetite                           By Carolyn Wilke                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/19/science Losing Their Heads Long Necks and Longer
2023-06-19   2023-07-04 /fossil-neck-decapitated.html                Odds on Making It to Retirement              By Asher Elbein                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/21/well/eat
2023-06-21   2023-07-04 /ozempic-food-noise.html                     Drugs to Help Quiet Food Noise               By Dani Blum                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/23/well/m
2023-06-23   2023-07-04 ove/walk-microadventure.html                 Oh All the Places You Will Find              By Jancee Dunn                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/24/busines
                        s/energy-environment/north-sea-green-energy- Making the North Sea the Largest Green
2023-06-24   2023-07-04 wind.html                                    Energy Plant                                 By Stanley Reed                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/26/books/r
                        eview/the-lottery-75th-anniversary-shirley-
2023-06-26   2023-07-04 jackson.html                                 75 Years After The Lottery the Chills Linger By Scott Heller                   TX 9-317-107   2023-09-01



                                                                                Page 5438 of 5793
                        https://www.nytimes.com/2023/06/26/well/liv
2023-06-26   2023-07-04 e/excessive-sweating-treatment.html           Keeping the Sweat in Check                 By Melinda Wenner Moyer         TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/27/health/ US Records First Local Malaria Cases Since
2023-06-27   2023-07-04 us-malaria-mosquitoes.html                    2003                                       By Emily Anthes                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/27/well/liv
2023-06-27   2023-07-04 e/wake-up-before-alarm-clock.html             Why Do I Wake Up Right Before My Alarm     By Melinda Wenner Moyer         TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/28/well/m
2023-06-28   2023-07-04 ove/alcohol-exercise-workout.html             Can You Combine Booze and Exercise         By Danielle Friedman            TX 9-317-107    2023-09-01
                        https://www.nytimes.com/interactive/2023/06/
                        28/technology/ai-detection-midjourney-stable-                                            By Stuart A Thompson and Tiffany
2023-06-28   2023-07-04 diffusion-dalle.html                          How Easy Is It to Fool AIDetection Tools   Hsu                              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/06/
                        28/world/europe/ukraine-counteroffensive-                                                By Thomas GibbonsNeff Josh
2023-06-28   2023-07-04 obstacles.html                                21 Miles of Obstacles                      Holder and Marco Hernandez      TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/28/us/chris-Chris Printup 42 Whose Fashion Label
2023-06-29   2023-07-04 printup-spanto-dead.html                      Honored LA                                 By Livia AlbeckRipka            TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/29/health/a
2023-06-29   2023-07-04 ir-quality-pandemic-wildfires.html            How Safe Is the Air in Your Office         By Emily Anthes                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/29/science
2023-06-29   2023-07-04 /neutrinos-milky-way-map.html                 A Ghostly Map Of the Milky Way             By Kenneth Chang                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/29/well/eat
2023-06-29   2023-07-04 /low-fodmap-diet-ibs.html                     A Phased Plan for Some Digestive Woes      By Alice Callahan               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/30/movies/ Rubbish Gothic Horror And Unpredictable
2023-06-30   2023-07-04 international-movies-streaming.html           Kids                                       By Devika Girish                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/06/30/movies/ Power of Activism Shares the Frame With
2023-06-30   2023-07-04 intersex-documentary.html                     Intersex Lives                             By Melena Ryzik                 TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/06/30/opinion Undoing Affirmative Action May Not End
2023-06-30   2023-07-04 /affirmative-action-supreme-court-repeal.html Here                                       By Darren Walker                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/01/arts/mu
2023-07-01   2023-07-04 sic/jakub-hrusa-royal-opera.html              Keeping quality in mind                    By Rebecca Schmid               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/01/arts/mu
2023-07-01   2023-07-04 sic/london-tours-opera-classical.html         Touring the worlds of classical music      By Farah Nayeri                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/01/arts/mu
2023-07-01   2023-07-04 sic/opera-verdi-don-carlo-london.html         Woman to woman Its complicated             By David Belcher                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/01/science
2023-07-01   2023-07-04 /consciousness-theories.html                  Two Theories of Consciousness Square Off   By Carl Zimmer                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/01/science
2023-07-01   2023-07-04 /spacex-euclid-launch.html                    Hubble and Webb Youve Got Company          By Katrina Miller               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/01/sports/s
2023-07-01   2023-07-04 occer/psg-attack-diallo-hamraoui.html         The Mystery That Haunts A World Cup        By Tariq Panja                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/01/upshot/
2023-07-01   2023-07-04 american-cities-office-conversion.html        How Cities Are Getting In Own Way          By Emily Badger                 TX 9-317-107    2023-09-01




                                                                                 Page 5439 of 5793
                        https://www.nytimes.com/2023/07/02/busines
                        s/lithium-mining-automakers-electric-      Lithium Scarcity Has Carmakers Scrambling
2023-07-02   2023-07-04 vehicles.html                              Into Mining Industry                         By Clifford Krauss and Jack Ewing TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/science
2023-07-02   2023-07-04 /ai-mathematics-machine-learning.html      A Complex Equation                           By Siobhan Roberts                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/world/ Israel Launches Major Air Attack In The
2023-07-03   2023-07-04 middleeast/israel-west-bank-jenin.html     West Bank                                    By Isabel Kershner                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/arts/am
2023-07-03   2023-07-04 erica-250-anniversary-1776.html            It Could Get Messy Before the Cake Is Served By Jennifer Schuessler            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/arts/mu
                        sic/george-benjamin-picture-a-day-like-
2023-07-03   2023-07-04 this.html                                  New Opera On Pursuing Happiness              By Hugh Morris                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/arts/mu
2023-07-03   2023-07-04 sic/julie-byrne-the-greater-wings.html     After a Loss Resuming Her Ascent             By Quinn Moreland                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/arts/mu
                        sic/morgan-wallen-billboard-chart-15-      Morgan Wallen Album Tops Chart for 15th
2023-07-03   2023-07-04 weeks.html                                 Week                                         By Ben Sisario                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/busines
2023-07-03   2023-07-04 s/car-repairs-electric-vehicles.html       Higher Tech Raises Cost To Fix Cars          By Lawrence Ulrich                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/busines Disney Fears Broadsides As DeSantis
2023-07-03   2023-07-04 s/disney-ron-desantis-criticism.html       Campaigns                                    By Brooks Barnes                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/busines
2023-07-03   2023-07-04 s/saudi-arabia-russia-oil-cuts.html        Saudi Arabia and Russia To Extend Oil Cuts By Stanley Reed                     TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/03/busines SPAC Connected to Trumps Media Business
2023-07-03   2023-07-04 s/trump-media-spac-merger.html             Says It Has Reached a Deal With Regulators By Matthew Goldstein              TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/03/health/ Blood Test Detects Risk For Women In
2023-07-03   2023-07-04 pregnancy-preeclampsia-test.html           Pregnancy                                  By Roni Caryn Rabin               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/03/nyregio Anthony Bouza Police Official Who Shunned
2023-07-03   2023-07-04 n/anthony-bouza-dead.html                  Status Quo Dies at 94                      By Sam Roberts                    TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/03/nyregio
2023-07-03   2023-07-04 n/new-jersey-judge-gary-wilcox-tiktok.html Judge Faces Hearing Over TikTok Videos      By Tracey Tully                  TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/03/opinion Biden and the Economy Perception Versus
2023-07-03   2023-07-04 /biden-economy-inflation-unemployment.html Reality                                     By Paul Krugman                  TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/03/opinion
2023-07-03   2023-07-04 /biden-trump-supreme-court.html             Its Not the Nations Unhappiest Birthday    By Gail Collins and Bret Stephens TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/03/opinion
2023-07-03   2023-07-04 /july-fourth-patriotism-douglass.html       Americas Outstanding Promissory Note       By Esau McCaulley                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/03/sports/b New York to Have Much Smaller AllStar
2023-07-03   2023-07-04 aseball/mets-yankees-all-stars.html         Game Presence This Season                  By Benjamin Hoffman              TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/03/sports/h
                        orse-racing/baffert-kentucky-derby-         Churchill Downs Citing Lack of Trust
2023-07-03   2023-07-04 suspension.html                             Extends Bafferts Suspension Through 2024   By Joe Drape                     TX 9-317-107     2023-09-01



                                                                               Page 5440 of 5793
                        https://www.nytimes.com/2023/07/03/sports/t 2 Generations of Pros Sharing Long Journey By Matthew Futterman and Jane
2023-07-03   2023-07-04 ennis/wimbledon-ben-bryan-shelton.html      Aimed Toward the Top                       Stockdale                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/sports/t Djokovic Is Ready to Keep Wiping Away
2023-07-03   2023-07-04 ennis/wimbledon-novak-djokovic.html         Obstacles to Milestones                    By David Waldstein                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/sports/t Venus Williams Typifies the Ravages Of Age
2023-07-03   2023-07-04 ennis/wimbledon-venus-williams.html         and the Drive to Defy Them                 By Matthew Futterman                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/sports/u An Ultramarathoner Who Has Learned That
2023-07-03   2023-07-04 ltramarathon-mental-illness.html            Its Perfectly OK To Not Finish the Race    By Rebecca Byerly                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/us/balti Hail of Gunfire Leaves a Baltimore         By Kayla Guo and Nicholas
2023-07-03   2023-07-04 more-shooting-block-party.html              Neighborhood Shattered                     BogelBurroughs                      TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/03/us/harv Harvard Faces Complaint Over Legacy
2023-07-03   2023-07-04 ard-alumni-children-affirmative-action.html Admissions                                  By Stephanie Saul                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/us/polit
                        ics/-2023-07-02-us-politics-republicans-    Who Will and Who Wont Sign GOP Loyalty
2023-07-03   2023-07-04 pledge-nominee-trump.html                   Pledge to Debate                            By Maggie Astor                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/us/polit Number of Migrants Crossing Southern
2023-07-03   2023-07-04 ics/migrants-mexico-border.html             Border Is Down                              By Eileen Sullivan                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/us/polit Kennedy Gets 10 Million For Challenge To
2023-07-03   2023-07-04 ics/rfk-jr-fundraising.html                 President                                   By Rebecca Davis OBrien            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/us/polit Light Shows Protests and Spy Games Assail
2023-07-03   2023-07-04 ics/russia-embassy-ukraine-war.html         Russias Embassy                             By Michael Crowley                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/us/polit
                        ics/same-sex-marriage-document-supreme-     Critics Are Questioning a Seemingly Fake
2023-07-03   2023-07-04 court.html                                  Document in a Recent Gay Rights Case        By Adam Liptak                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/us/secti Republicans Pose Threat To a Surveillance
2023-07-03   2023-07-04 on-702-spying.html                          Tool Prized by Spy Agencies                 By Karoun Demirjian                TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/03/us/univ
2023-07-03   2023-07-04 ersity-of-chicago-whiteness-free-speech.html Has a Line Been Crossed                      By Vimal Patel                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/world/e
                        urope/france-nanterre-unrest-nahel-          Unrest Eases in France Nearly a Week After a
2023-07-03   2023-07-04 merzouk.html                                 Fatal Police Shooting                        By Aurelien Breeden              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/world/e Prigozhin Is Still Popular After His Failed
2023-07-03   2023-07-04 urope/prigozhin-ukraine-war-poll.html        Rebellion                                    By Anatoly Kurmanaev             TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/03/world/e Hidden Toll of Missile Strikes and Those
2023-07-03   2023-07-04 urope/ukraine-war-psychologists-ptsd.html  Who Race to Help                             By Megan Specia                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/world/e
                        urope/ukraine-writer-kramatorsk-victoria-
2023-07-03   2023-07-04 amelina.html                               Ukrainian Writer Dies After a Strike         By Cassandra Vinograd              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/world/e
                        urope/ukraine-zaporizhzhia-nuclear-        A City Wont Let the Real Possibility of a    By Jeffrey Gettleman and Finbarr
2023-07-03   2023-07-04 plant.html                                 Radioactive Cloud Ruin Its Day               OReilly                            TX 9-317-107   2023-09-01




                                                                                 Page 5441 of 5793
                        https://www.nytimes.com/2023/07/03/world/ Theyre Mad About Tuna But Foreigners Get
2023-07-03   2023-07-04 middleeast/tunisia-tuna-fish.html          Most of Their Catch                     By Vivian Yee                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/technol Meta Takes On Twitter Directly With New
2023-07-04   2023-07-04 ogy/meta-app-twitter.html                  App                                     By Mike Isaac                           TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/04/technol Foreign Investors Pour Money Into Samsungs
2023-07-04   2023-07-04 ogy/samsung-artificial-intelligence.html    AI Venture But It Faces Stiff Competition  By Chang Che                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/theater/ On School Stages Politics Plays a Leading
2023-07-04   2023-07-04 school-plays-politics.html                  Role                                       By Michael Paulson                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/us/para A Year After July 4 Shooting Big Gatherings
2023-07-04   2023-07-04 des-safety-highland-park-anniversary.html   Are Cause for Anxiety                      By Julie Bosman                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/24/climate Despite Wide Resistance London Tries to
2023-06-24   2023-07-05 /london-ulez-air-pollution.html             Expand Plan to Reduce Air Pollution        By Farah Nayeri                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/25/opinion
2023-06-25   2023-07-05 /darfur-sudan-war-genocide.html             Death and Displacement Return to Darfur    By Lydia Polgreen                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/27/opinion
                        /st-louis-downtown-doom-loop-pandemic-      RedState Policies Intensify a Blue Citys
2023-06-27   2023-07-05 return-to-office.html                       Struggles                                  By Kevin McDermott                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/28/dining/
2023-06-28   2023-07-05 best-easy-cherry-pie-recipe.html            Cherry Pie as Sweet or Sour as You Like    By Melissa Clark                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/28/technol                                                By Adam Satariano and Kashmir
2023-06-28   2023-07-05 ogy/facial-recognition-shoplifters-britain.html Facial Recognition and British Shoppers   Hill                             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/books/r                                                By The New York Times Books
2023-06-29   2023-07-05 eview/new-july-books.html                       The Latest Reading for Summers Heat       Staff                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/dining/
2023-06-29   2023-07-05 drinks/sherry-country-spanish-wine.html         Wines of the Future Look to the Past      By Eric Asimov                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/dining/
2023-06-29   2023-07-05 drinks/tinto-de-verano-recipe.html              A Surprising Sipper Made for Summer       By Rebekah Peppler               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/06/
                        29/video/ukraine-russia-frontline-              Its a Struggle Against Death Ukrainian    By Yousur AlHlou Masha Froliak
2023-06-29   2023-07-05 hospital.html                                   Combat Medics Race to Save Lives          and Ben Laffin                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/dining/
2023-06-30   2023-07-05 goodbye-plastic-wrap.html                       Goodbye Old Friend                        By Jenny Ziomek                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/dining/r Next Up for a Roman Culinary Empire The
2023-06-30   2023-07-05 oscioli-rome-nyc-pastas.html                    New World                                 By Julia Moskin                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/technol
2023-07-01   2023-07-05 ogy/amazon-alexa-irish.html                     How Alexa Was Taught Irish Brogue         By Bernhard Warner               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/arts/mu Paul Justman 74 Whose Film Was an Ode to
2023-07-03   2023-07-05 sic/paul-justman-dead.html                      the Unsung Heroes of Motown               By Alex Williams                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/books/r In Putins Handling of Media Echoes of
2023-07-03   2023-07-05 ed-hotel-alan-philps-moscow.html                Stalinist Era                             By Lesley M M Blume              TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/03/busines Climates Toll On Economy Is Being Felt By
2023-07-03   2023-07-05 s/economy/canada-wildfires-economy.html Canada                                       By Lydia DePillis                     TX 9-317-107   2023-09-01



                                                                                 Page 5442 of 5793
                        https://www.nytimes.com/2023/07/03/climate Bringing Cash to the Poor Before Disaster
2023-07-03   2023-07-05 /cash-disaster-relief.html                  Strikes                                      By Somini Sengupta                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/dining/
                        best-texas-bbq-restaurants-new-                                                          By Brett Anderson and Priya
2023-07-03   2023-07-05 generation.html                             The Best Barbecue In Texas Now               Krishna                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/dining/
2023-07-03   2023-07-05 sandwiches.html                             Secrets to an Excellent Sandwich             By Eric Kim                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/dining/t
2023-07-03   2023-07-05 exas-bbq.html                               A Golden Age in Texas Barbecue               By Brett Anderson                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/science Dr Susan Love Who Shifted Fight Against
2023-07-03   2023-07-05 /dr-susan-love-dead.html                    Breast Cancer Dies at 75                     By Margalit Fox                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/03/sports/c Smart Play or Cheating England Fumes Over
2023-07-03   2023-07-05 ricket/england-australia-ashes-dispute.html   a Call                                       By Victor Mather                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/world/e
                        urope/evan-gershkovich-russia-us-             Russia and US in Talks About Prisoner        By Anatoly Kurmanaev Michael
2023-07-03   2023-07-05 ambassador.html                               Exchange                                     Crowley and Gabriela S Pessoa   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/arts/chr
2023-07-04   2023-07-05 isties-jewelry-sale-nazi-holocaust.html       A Gem Sales Nazi Stain Lingers for Christies By Zachary Small                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/arts/des
2023-07-04   2023-07-05 ign/black-artists-bias-ai.html                Black Artists See Clear Bias in AI           By Zachary Small                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/arts/mu
                        sic/olivia-rodrigo-vampire-taylor-swift-dear- In Song Taking a Big Bite Out of Former
2023-07-04   2023-07-05 john.html                                     Paramours                                    By Jon Caramanica               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/arts/mu
                        sic/tamar-kali-sea-island-symphony-lincoln-
2023-07-04   2023-07-05 center.html                                   A Symphony and an Ancestral Story            By Tim Greiving                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/arts/tele
2023-07-04   2023-07-05 vision/silo-finale-graham-yost.html           Where Screens Are the Enemy Or Are They By Jennifer Vineyard                 TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/04/busines Native Plants Go Wild at the Office As
2023-07-04   2023-07-05 s/corporate-landscaping-native-plants.html  Companies Shift Their Priorities              By Jane Margolies                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/busines In Visit to China Yellen Will Face Host of     By Alan Rappeport Keith Bradsher
2023-07-04   2023-07-05 s/economy/janet-yellen-china.html           Tensions                                      and Ana Swanson                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/busines                                                By Steven Lee Myers and David
2023-07-04   2023-07-05 s/federal-judge-biden-social-media.html     Judge Restricts US Pressuring Of Social Sites McCabe                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/busines EU Court Rejects Metas Appeal on How It
2023-07-04   2023-07-05 s/meta-germany-data.html                    Harvests Users Data                           By Adam Satariano                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/dining/r
2023-07-04   2023-07-05 estaurant-review-rafs-nyc.html              Carrying a Torch for Sprawling Food           By Pete Wells                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/dining/
                        where-to-celebrate-a-city-hall-wedding-and- Youre in New York but Feeling a Little
2023-07-04   2023-07-05 more-reader-questions.html                  French                                        By Nikita Richardson             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/france- Facing Swift and Harsh Justice After Taking By Catherine Porter and Juliette
2023-07-04   2023-07-05 riots-arrests-police-shooting.html          Part in French Protests                       GuronGabrielle                   TX 9-317-107   2023-09-01



                                                                                 Page 5443 of 5793
                        https://www.nytimes.com/2023/07/04/nyregio Lightning a Downpour and 62 Hot Dogs Are
2023-07-04   2023-07-05 n/nathans-hot-dog-contest.html              No Match for the Man Known as Jaws          By Liam Stack                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/opinion
2023-07-04   2023-07-05 /abortion-dobbs-doctors-story.html          Abortion Stories Matter                     By Christine Henneberg            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/sports/c CTE Found for First Time In a Female Pro
2023-07-04   2023-07-05 te-female-athlete-heather-anderson.html     Athlete                                     By Victor Mather                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/sports/g The Defending Champion Knows It Wont Be
2023-07-04   2023-07-05 olf/minjee-lee-us-womens-open.html          Easy at Pebble Beach                        By Alan Blinder                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/sports/t Alcaraz Proves An Apt Pupil Of a Master Of
2023-07-04   2023-07-05 ennis/wimbledon-murray-alacraz.html         Grass Courts                                By Matthew Futterman              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/us/five- Mass Shooting Leaves 5 Dead in Philadelphia By Campbell Robertson Jon Hurdle
2023-07-04   2023-07-05 people-dead-philaldelphia-shooting.html     A Suspect Is in Custody                     and Joel Wolfram                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/us/fort- 3 Are Killed as Several Gunmen Fire Into    By Jenny Gross and Derrick Bryson
2023-07-04   2023-07-05 worth-shooting.html                         Crowd Police in Fort Worth Say              Taylor                            TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/04/us/high Walk in Highland Park Honors Victims One
2023-07-04   2023-07-05 land-park-parade-shooting-anniversary.html Year After Parade Tragedy                    By Mitch Smith                   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/04/us/la- Your Hotel Room Is Ready Dont Mind the
2023-07-04   2023-07-05 hotel-workers-strike.html                   Picket Line Outside                         By Jill Cowan and Seth Gilbert   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/04/us/polit GOP Finds It Hard to Tie Biden to Culture
2023-07-04   2023-07-05 ics/biden-abortion-lgbtq-issues.html        Wars                                        By Reid J Epstein                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/04/us/polit Trumps Rivals Spend Fourth of July Courting By Jazmine Ulloa and Jonathan
2023-07-04   2023-07-05 ics/republicans-july-fourth-parades.html    Primary Voters at Parades                   Weisman                          TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/04/us/polit Powder Found At White House Is Determined
2023-07-04   2023-07-05 ics/white-house-cocaine-white-substance.html To Be Cocaine                                By Katie Rogers                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/04/us/repu GOP Rift Grows as Some See Risks in Trying
2023-07-04   2023-07-05 blicans-biden-inquiry.html                   to Impeach President                         By Karoun Demirjian            TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/04/world/a Vietnam Bans Barbie Movie Over South
2023-07-04   2023-07-05 sia/barbie-vietnam-south-china-sea.html      China Sea Map                                By Jin Yu Young                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/04/world/a Hong Kong Sets Bounty For Dissidents
2023-07-04   2023-07-05 sia/hong-kong-bounties-dissidents.html       Overseas                                     By Tiffany May                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/04/world/a Japan Cleared to Release Water From            By Motoko Rich and Choe
2023-07-04   2023-07-05 sia/japan-fukushima-water-iaea.html          Fukushima                                    SangHun                        TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/04/world/a                                                By David Pierson Anatoly
2023-07-04   2023-07-05 sia/putin-xi-modi-shanghai-summit.html       Show of Unity Only Illustrates Rival Agendas Kurmanaev and Sameer Yasir     TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/04/world/e Amsterdam Tries to Dim the Glare on Its
2023-07-04   2023-07-05 urope/amsterdam-red-light-district-ban.html RedLight District                              By Claire Moses               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/04/world/e
                        urope/chechnya-journalist-assault-                                                         By Victoria Kim and Anatoly
2023-07-04   2023-07-05 milashina.html                              Investigative Journalist Is Beaten in Chechnya Kurmanaev                     TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/04/world/e Putin Focuses on His Survival Scrambling to
2023-07-04   2023-07-05 urope/russia-putin-prigozhin.html           CoupProof Rule                                 By Anton Troianovski          TX 9-317-107    2023-09-01




                                                                                 Page 5444 of 5793
                        https://www.nytimes.com/2023/07/04/world/ Rockets Launch From Gaza as West Bank           By Isabel Kershner and Aaron
2023-07-04   2023-07-05 middleeast/israel-jenin-west-bank-raid.html Raid Nears Final Stages                       Boxerman                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/world/ A West Bank Bastion of Defiance Is a Deep
2023-07-04   2023-07-05 middleeast/jenin-history-west-bank.html      Thorn in Israels Side                        By Isabel Kershner             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/live/2023/07/04/wo
                        rld/russia-ukraine-news/russia-moscow-drone-
2023-07-04   2023-07-05 attacks                                      Drone Attack Near Moscow Is Intercepted      By Victoria Kim                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/busines Flat Company Structures Sound Appealing
2023-07-05   2023-07-05 s/flat-structure-companies.html              But Do They Work                             By Charlie BrinkhurstCuff      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/sports/t
                        ennis/wimbledon-rybakina-sabalenka-          Rybakina Swats Away Nerves as the Field
2023-07-05   2023-07-05 swiatek.html                                 Pursues the Favorites                        By David Waldstein             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/26/t-
                        magazine/sally-saul-venus-over-
2023-06-26   2023-07-06 manhattan.html                               People Places Things                         By Coco Romack                 TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/27/well/mi A Look at Life in the Throes Of Postpartum
2023-06-27   2023-07-06 nd/postpartum-depression-mental-health.html Depression                                By Catherine Pearson               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/well/fa Here to Help How to Help Teens Cut Back on
2023-06-29   2023-07-06 mily/social-media-usage-teens.html          Social Media                              By Catherine Pearson               TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/30/movies/ Time Is Running Out for These Titles on
2023-06-30   2023-07-06 netflix-expiring-july-skyfall-streaming.html Netflix                                      By Jason Bailey                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/sports/t
2023-07-01   2023-07-06 ennis/cameron-norrie-wimbledon.html          Great Expectations Are Following Norrie      By Cindy Shmerler              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/opinion
2023-07-03   2023-07-06 /iran-cuba-usa-partnerships.html             Americas Foes Are Joining Forces             By Peter Beinart               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/opinion
                        /tennessee-trans-lgbtq-health-records-
2023-07-03   2023-07-06 vanderbilt.html                              Tell Me There Isnt a Witch Hunt in Tennessee By Margaret Renkl              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/style/th Ignoring a Relationships Red Flags for the
2023-07-03   2023-07-06 e-idol.html                                  Thrill                                       By Gina Cherelus               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/style/up In France Upcycling Has Come Fully Into
2023-07-03   2023-07-06 cycled-couture-fashion-renaissance.html      Style                                        By Dana Thomas                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/style/wi
2023-07-03   2023-07-06 mbledon-gucci-tennis.html                    On the Court Serving Up a New Fashion Spin By Jessica Testa                 TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/04/arts/des
2023-07-04   2023-07-06 ign/david-adjaye-architect-sexual-assault.html Architect Quits Roles Amid Accusations      By Alex Marshall              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/busines
2023-07-04   2023-07-06 s/india-space-startups.html                    StartUps Help India Rekindle Space Passions By Alex Travelli              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/science Edward Fredkin 88 an Innovator With a
2023-07-04   2023-07-06 /edward-fredkin-dead.html                      Limitless Imagination Dies                  By Alex Williams              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/science Missed Mondays Supermoon Get Ready for
2023-07-04   2023-07-06 /supermoon-buck-moon-photos.html               Another Shot                                By Derrick Bryson Taylor      TX 9-317-107   2023-09-01



                                                                                 Page 5445 of 5793
                        https://www.nytimes.com/2023/07/04/style/as
2023-07-04   2023-07-06 trology-co-star-ai.html                     Like Zoltar With an AI Helper                 By Saam Niami                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/us/polit The Frequent Fliers of Congress Seek Faster   By Kate Kelly Mark Walker and
2023-07-04   2023-07-06 ics/dca-long-distance-flights.html          Ways Home                                     Ella Koeze                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/arts/mu
                        sic/blackbraid-native-american-black-       An Indigenous Musician Delivers Intense
2023-07-05   2023-07-06 metal.html                                  Tunes                                         By Elisabeth Vincentelli        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/books/g
2023-07-05   2023-07-06 eorgi-gospodinov.html                       The Past Beckons Ominously                    By Thomas Rogers                TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/05/busines
2023-07-05   2023-07-06 s/economy/federal-reserve-meeting-june.html Not All at Fed Wanted Hold On Rate Rise       By Jeanna Smialek               TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/05/busines
2023-07-05   2023-07-06 s/economy/nokian-tyres-finland-romania.html Political Security Is a New Corporate Priority By Patricia Cohen              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/busines Cost of Financial Trauma A Distorted View
2023-07-05   2023-07-06 s/financial-trauma-spending-debt.html       of Money                                       By Juli Fraga                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/busines NewCar Sales Take Off As Chip Shortage
2023-07-05   2023-07-06 s/general-motors-auto-sales.html            Eases                                          By Neal E Boudette             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/busines German Government Plans to Slash Spending
2023-07-05   2023-07-06 s/germany-budget-spending.html              on Everything but the Military                 By Melissa Eddy                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/busines
                        s/media/disinformation-researchers-judge-   Disinformation Researchers Fret About          By Tiffany Hsu and Stuart A
2023-07-05   2023-07-06 restrictions.html                           Fallout From Judges Order                      Thompson                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/busines
                        s/media/gq-david-zaslav-warner-bros-        GQ Removes Article Calling Media Leader
2023-07-05   2023-07-06 discovery.html                              Most Hated                                     By Benjamin Mullin             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/climate Wind Farm Off East Coast Is Approved by
2023-07-05   2023-07-06 /wind-farm-new-jersey-coast.html            Regulators                                     By Lisa Friedman               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/health/ Private Medicare Plans Offer Few
2023-07-05   2023-07-06 medicare-mental-health-shortage.html        Psychiatrists Study Finds                      By Reed Abelson                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/health/ US Officials Urging 3Shot Regimen in Fall to
2023-07-05   2023-07-06 vaccines-rsv-covid-flu.html                 Avoid a Tripledemic                            By Apoorva Mandavilli          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/movies/
2023-07-05   2023-07-06 andrew-ridgeley-wham.html                   When Wham Made It Big                          By Erik Piepenburg             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/nyregio After 29 Years of Marriage Former Mayor
2023-07-05   2023-07-06 n/de-blasio-marriage-chirlane-mccray.html   and His Wife Are Separating                    By Matt Flegenheimer           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/nyregio A Split Second a Shot A Life Forever
2023-07-05   2023-07-06 n/paterson-shooting-paralyzed.html          Changed By an Officers Bullet                  By Tracey Tully                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/nyregio Salaam Triumphs in Harlem After a Heated
2023-07-05   2023-07-06 n/yusef-salaam-harlem-city-council.html     Primary Race                                   By Jeffery C Mays              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/opinion
2023-07-05   2023-07-06 /supreme-court-affirmative-action.html      Justices Enshrine Racial Imbalance             By Charles M Blow              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/opinion
2023-07-05   2023-07-06 /utility-bills-clean-energy.html            Youve Been Paying to Block Green Energy By David Pomerantz                    TX 9-317-107   2023-09-01



                                                                                  Page 5446 of 5793
                        https://www.nytimes.com/2023/07/05/sports/g Michelle Wie West Takes One Last Swipe At
2023-07-05   2023-07-06 olf/michelle-wie-west-us-womens-open.html the Brass Ring                              By Alan Blinder                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/sports/s PSG Gives Mbapp an Ultimatum Sign a New
2023-07-05   2023-07-06 occer/mbappe-paris-st-germain.html          Contract or Leave                         By Tariq Panja                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/style/gu
2023-07-05   2023-07-06 ram-gvasalia-vetements.html                 A Big Dream Shifts Into Overdrive         By Vanessa Friedman                 TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/05/technol
2023-07-05   2023-07-06 ogy/personaltech/summer-weather-apps.html A Checklist for Summer Weather                   By J D Biersdorfer             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/technol
2023-07-05   2023-07-06 ogy/threads-app-meta-twitter-killer.html    Instagram Unveils Rival To Twitter             By Mike Isaac                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/theater/
                        fisher-center-at-bard-college-arts-
2023-07-05   2023-07-06 incubator.html                               After 20 Years Still Breaking New Ground      By Jennifer Schuessler         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/theater/ This Radical Visionary Knows How to
2023-07-05   2023-07-06 sarah-benson-soho-rep.html                  Entertain Too                                  By Elisabeth Vincentelli       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/us/phila
                        delphia-shooting-suspect-kimbrady-          Suspect Charged With Killing 5 In              By Joel Wolfram and Campbell
2023-07-05   2023-07-06 carriker.html                               Philadelphia Mass Shooting                     Robertson                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/us/polit
                        ics/biden-sweden-prime-minister-nato-       In Oval Office Support for Sweden in Its Bid   By Katie Rogers and Michael
2023-07-05   2023-07-06 turkey.html                                 for Membership in NATO                         Crowley                        TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/05/us/polit Pentagon Review Faults Oversight of
2023-07-05   2023-07-06 ics/classified-information-leak-pentagon.html Classified Information                       By Eric Schmitt                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/us/polit Prosecutors in Jan 6 Trial Face Conspiracy
2023-07-05   2023-07-06 ics/conspiracy-theories-jan-6-trial.html      Theories                                     By Alan Feuer                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/us/polit De Santis Misstep by Misstep Struggles to
2023-07-05   2023-07-06 ics/desantis-campaign-president.html          Cut Trumps Lead                              By Nicholas Nehamas            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/us/texa Sentencing Hearing Begins for Man Who           By Erin Coulehan and Edgar
2023-07-05   2023-07-06 s-el-paso-gunman-sentencing.html              Pleaded Guilty to El Paso Massacre           Sandoval                       TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/05/world/a A Drone and a Crane Save the Day as China
2023-07-05   2023-07-06 sia/china-asia-flooding-building-collapse.html Faces Floods and a Heat Wave                By Mike Ives and Olivia Wang   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/05/world/a
2023-07-05   2023-07-06 sia/china-dissident-blog-program-think.html Was Her Husband a Famed Dissident Blogger By Vivian Wang                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/world/a
                        sia/north-korea-spy-satellite-useless-      Seoul Mocks Spy Satellite From North As
2023-07-05   2023-07-06 failure.html                                Primitive                                   By Choe SangHun                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/world/e Suit Seeks Answers on Iranian Missile Strike
2023-07-05   2023-07-06 urope/iran-ukraine-airlines-hague.html      on Airliner                                 By Marlise Simons                 TX 9-317-107   2023-09-01




                                                                                 Page 5447 of 5793
                        https://www.nytimes.com/2023/07/05/world/e Charles Is Crowned Again but This Time Its
2023-07-05   2023-07-06 urope/king-charles-scotland-coronation.html in a Less Friendly Setting                  By Mark Landler                  TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/05/world/e                                              By Thomas GibbonsNeff and
2023-07-05   2023-07-06 urope/russia-ukraine-prisoner-interview.html Russian Tells Of Enlistment Then Capture   Natalia Yermak                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/05/world/e He Defaced the Colosseum Not Realizing Its
2023-07-05   2023-07-06 urope/tourist-colosseum-rome-apology.html Really Old                                    By Elisabetta Povoledo           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/world/e
                        urope/ukraine-strike-makiivka-russia-        Ukraine Hits a City Occupied by Russia
2023-07-05   2023-07-06 war.html                                     Igniting a Huge Blast                      By Cassandra Vinograd            TX 9-317-107   2023-09-01
                                                                                                                By Ronen Bergman Patrick
                        https://www.nytimes.com/2023/07/05/world/ Israeli Researcher Captive in Iraq of Militia Kingsley Alissa J Rubin and Adam
2023-07-05   2023-07-06 middleeast/iraq-iran-elizabeth-tsurkov.html Linked to Iran                              Goldman                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/world/
                        middleeast/israel-military-jenin-            Solution Seems No Closer After Attack
2023-07-05   2023-07-06 palestinians.html                            Analysts Say                               By Isabel Kershner               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/world/
                        middleeast/israel-withdraws-jenin-west-      Israel Says It Has Withdrawn From West     By Isabel Kershner and Aaron
2023-07-05   2023-07-06 bank.html                                    Bank City After Deadly Raid                Boxerman                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/world/
                        middleeast/young-palestinians-west-          West Bank Teenagers Write Their Last       By Raja Abdulrahim and Hiba
2023-07-05   2023-07-06 bank.html                                    Words                                      Yazbek                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/live/2023/07/05/wo
                        rld/russia-ukraine-news/the-zaporizhzhia-
                        nuclear-power-plant-has-for-months-been-the- Nuclear Watchdog Seeks Access to Plant at
2023-07-05   2023-07-06 focus-of-global-concern                      Center of RussiaUkraine FingerPointing     By Matthew Mpoke Bigg            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/sports/t
                        ennis/wimbledon-canada-fernandez-raonic- After Myriad Injuries And Other Setbacks
2023-07-06   2023-07-06 andreescu-shapovalov.html                    Canada Is on the Rise                      By Matthew Futterman             TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/05/us/polit                                               By Alan Feuer and Maggie
2023-07-06   2023-07-06 ics/mar-a-lago-search-warrant-affidavit.html More Details For Trump Case In Palm Beach Haberman                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/us/polit Disinformation Vs Free Speech A New           By Michael D Shear and David
2023-07-06   2023-07-06 ics/social-media-ruling-government.html      Frontier                                     McCabe                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/busines For ExPrisoners SecondChance Jobs Can Be
2023-07-06   2023-07-06 s/economy/jobs-hiring-after-prison.html      Hard to Come By                              By Talmon Joseph Smith         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/insider/
2023-07-06   2023-07-06 restaurant-critic-the-bear-succession.html   Onscreen Food for Thought and Interpretation By Josh Ocampo                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/style/st From Blog Posts to Front Row at Fashion
2023-07-06   2023-07-06 yle-not-com-beka-gvishiani.html              Shows                                        By Jessica Iredale             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/sports/t Fifty Years Ago the Top Players in the Mens
2023-07-01   2023-07-07 ennis/wimbledon-boycott-players.html         Game Decided to Sit Out                      By Cindy Shmerler              TX 9-317-107   2023-09-01




                                                                                Page 5448 of 5793
                        https://www.nytimes.com/2023/07/03/arts/des
                        ign/michael-snow-the-school-shainman-
2023-07-03   2023-07-07 gallery.html                                 LongTerm Focus on Time and Perception     By Martha Schwendener           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/arts/mu Peter Brtzmann 82 Saxophonist Who Shook
2023-07-03   2023-07-07 sic/peter-brotzmann-dead.html                Jazz Traditions Dies                      By Mike Rubin                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/arts/des
                        ign/director-smithsonian-womens-history-     New Smithsonian Director Withdraws From
2023-07-05   2023-07-07 withdraws.html                               Role                                      By Julia Jacobs                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/arts/mu Coco Lee 48 Best Known for Songs From
2023-07-05   2023-07-07 sic/coco-lee-dead.html                       Crouching Tiger and Mulan                 By Lauren McCarthy              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/busines                                             By Karl Russell and Jeanna
2023-07-05   2023-07-07 s/economy/inflation-global.html              A Global Battle to Rein In Prices         Smialek                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/movies/
2023-07-05   2023-07-07 wham-review-documentary.html                 All Smiles and Few Questions Asked        By Wesley Morris                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/world/e Viral Video Renews Spotlight On the Chief
2023-07-05   2023-07-07 urope/rabbi-ukraine-viral-russia.html        Rabbi in Ukraine                          By Cassandra Vinograd           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/arts/dan
2023-07-06   2023-07-07 ce/bintou-dembele-avignon-festival.html      From the Street To Opera Houses           By Laura Cappelle               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/arts/des
                        ign/doyle-lane-weed-pots-kordansky-          Vessels That Contain a Potters Sublime
2023-07-06   2023-07-07 gallery.html                                 Vision                                    By Roberta Smith                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/arts/des
                        ign/signals-how-video-transformed-the-world-
2023-07-06   2023-07-07 moma.html                                    In Screens We Trust And Distrust          By Jason Farago                 TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/06/arts/mu Navigate Among The Continents Arias and
2023-07-06   2023-07-07 sic/opera-streaming-amazon-prime-video.html Divas                                      By Seth Colter Walls            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/arts/tele
2023-07-06   2023-07-07 vision/insecure-netflix-streaming.html       This Weekend I Have                       By Margaret Lyons               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/busines As Great Resignation Ends Can Workers
2023-07-06   2023-07-07 s/economy/jobs-great-resignation.html        Retain Clout                              By Ben Casselman                TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/06/busines Labor Market Is Cooling Off But Millions of
2023-07-06   2023-07-07 s/economy/jolts-jobs-openings-layoffs.html Jobs Remain                                 By J Edward Moreno              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/busines
2023-07-06   2023-07-07 s/janet-yellen-china-treasury.html          Yellens Task Bolster Links With Beijing    By Alan Rappeport               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/busines
                        s/media/nbcuniversal-cavanagh-              NBCUniversals New Leader Overhauls Top By Benjamin Mullin and Nicole
2023-07-06   2023-07-07 executives.html                             Ranks                                      Sperling                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/climate Goal Is Set on Emissions From Shipping Net
2023-07-06   2023-07-07 /cargo-ship-emissions-agreement.html        Zero                                       By Max Bearak                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/climate Globally the Heat Hasnt Just Been Scalding
2023-07-06   2023-07-07 /climate-change-record-heat.html            Its Setting Records                        By Brad Plumer and Elena Shao   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/health/a Abortion Using Pills May Be Safe After 12
2023-07-06   2023-07-07 bortion-misoprostol.html                    Weeks                                      By Roni Caryn Rabin             TX 9-317-107   2023-09-01



                                                                               Page 5449 of 5793
                        https://www.nytimes.com/2023/07/06/health/a
2023-07-06   2023-07-07 lzheimers-leqembi-medicare.html             FDA Widens Access to Drug For Alzheimers By Pam Belluck                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/movies/
2023-07-06   2023-07-07 amanda-review.html                          Amanda                                        By Beatrice Loayza               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/movies/
2023-07-06   2023-07-07 biosphere-review.html                       Its the End of the Earth and They Caused It By Amy Nicholson                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/movies/
2023-07-06   2023-07-07 joy-ride-review.html                        Sex and Drugs And KPop Too                    By Elisabeth Vincentelli         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/movies/
2023-07-06   2023-07-07 once-upon-a-time-in-uganda-review.html      Once Upon a Time in Uganda                    By Robert Daniels                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/movies/
2023-07-06   2023-07-07 the-league-review.html                      The League                                    By Ben Kenigsberg                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/movies/
2023-07-06   2023-07-07 the-lesson-review.html                      The Lesson                                    By Jeannette Catsoulis           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/movies/
2023-07-06   2023-07-07 the-out-laws-review.html                    The OutLaws                                   By Glenn Kenny                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/movies/
2023-07-06   2023-07-07 the-youtube-effect-review.html              The YouTube Effect                            By Natalia Winkelman             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/nyregio Orthodox Men Outnumber Others in New
2023-07-06   2023-07-07 n/adams-jews-orthodox.html                  York Mayors Jewish Advisory Council           By Dana Rubinstein               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/nyregio Treasured Photograph or Prop Made to Match
2023-07-06   2023-07-07 n/mayor-adams-photo-venable-fake.html       Mayors Story                                  By Emma G Fitzsimmons            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/nyregio
                        n/newark-ship-firefirefighters-new-         Two Firefighters Are Killed in Blaze Aboard By Tracey Tully Mike Ives and
2023-07-06   2023-07-07 jersey.html                                 Cargo Ship at Port Newark                     Elise Young                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/nyregio New York City Shootings Are Down
2023-07-06   2023-07-07 n/shootings-nyc-crime.html                  Compared With 2022s Tally                     By Hurubie Meko                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/nyregio 4 Food Delivery Companies Sue New York
2023-07-06   2023-07-07 n/uber-minimum-wage-lawsuit-nyc.html        City Over Minimum Pay Law                     By Kellen Browning and Ana Ley   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/opinion
2023-07-06   2023-07-07 /columnists/colleen-hoover.html             These Books Are All About You Only Better By Pamela Paul                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/opinion
2023-07-06   2023-07-07 /new-york-mets-mlb-fans.html                Why I Still Love the New York Mets            By David Brooks                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/opinion
2023-07-06   2023-07-07 /robert-kennedy-jr-silicon-valley.html      The Rich Are Crazier Than You and Me          By Paul Krugman                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/opinion Xi May Be Souring on His Best Most Intimate
2023-07-06   2023-07-07 /xi-putin-relationship-china.html           Friend                                        By Ryan Hass                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/sports/c
                        ycling/tour-de-france-pogacar-              A Battle Intensifies Between 2 Titans After 2
2023-07-06   2023-07-07 vingegaard.html                             Punishing Days in the Pyrenees                By Victor Mather                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/sports/t Those Who Stand And Wait Can Get To
2023-07-06   2023-07-07 ennis/wimbledon-queue.html                  Watch Serves                                  By David Waldstein               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/sports/t Kenin Rediscovers Her Fighting Form With a
2023-07-06   2023-07-07 ennis/wimbledon-sofia-kenin.html            Second Win                                    By David Waldstein               TX 9-317-107   2023-09-01




                                                                                Page 5450 of 5793
                        https://www.nytimes.com/2023/07/06/technol FBI Searched Home of Founder Of the Crypto By David YaffeBellany and Ryan
2023-07-06   2023-07-07 ogy/jesse-powell-kraken-crypto-fbi.html    Exchange Kraken                            Mac                               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/06/technol
2023-07-06   2023-07-07 ogy/threads-downloads-twitter.html         For Millions Threads App Is Instant Hit    By Mike Isaac                     TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/06/technol Hyping the Crypto Rush Only to Lose        By Erin Griffith and David
2023-07-06   2023-07-07 ogy/tom-brady-crypto-ftx.html              Millions                                   YaffeBellany                      TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/06/theater/
2023-07-06   2023-07-07 avignon-festival-aix-en-provence-festival.html Glamorous Festivals Put Poverty Onstage   By Laura Cappelle                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/theater/ Disco and a Dictatorship Brewing a
2023-07-06   2023-07-07 here-lies-love-background.html                 Combustible Mix                           By Sarah Bahr                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/theater/
2023-07-06   2023-07-07 here-lies-love-filipino-history.html           Emotionally Invested In a Nations Story   By Melena Ryzik                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/us/che
2023-07-06   2023-07-07 mical-weapons-stockpile.html                   Toxic Arsenal Nears Its End Decades Later By Dave Philipps and John Ismay TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/06/us/los- LAs Hotel Workers to Strike in Waves for a
2023-07-06   2023-07-07 angeles-hotel-strike.html                      Living Wage                               By Jill Cowan                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/us/ohio- In Ohio Inching Toward Ballot Issue on
2023-07-06   2023-07-07 abortion-rights-ballot.html                    Abortion Rights                           By Kate Zernike                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/us/polit
2023-07-06   2023-07-07 ics/biden-south-carolina.html                  Biden Says Agenda Transcends Red and Blue By Katie Rogers                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/us/polit Biden Considers Giving Ukraine Disputed      By David E Sanger and Eric
2023-07-06   2023-07-07 ics/biden-ukraine-cluster-bombs.html           Arms                                      Schmitt                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/us/polit
                        ics/clarence-thomas-supreme-court-amul-        A Judges New Book Comes to the Defense
2023-07-06   2023-07-07 thapar.html                                    Of Justice Thomas                         By Carl Hulse                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/us/polit Trump Election Lawyer Retires to Avoid
2023-07-06   2023-07-07 ics/lin-wood-trump-attorney.html               Sanctions                                 By Anjali Huynh                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/us/polit Kennedys Penchant For Misinformation
2023-07-06   2023-07-07 ics/rfk-conspiracy-theories-fact-check.html    Stretches Back Years                      By Anjali Huynh                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/us/walt- Trump Aide Enters Plea Of Not Guilty In
2023-07-06   2023-07-07 nauta-trump-documents.html                     Files Case                                By Alan Feuer                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/us/wisc Governors Edit Raises Funding Cap Until
2023-07-06   2023-07-07 onsin-school-funding-400-years.html            2425                                      By Sarah Mervosh                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/world/a 120Degree Heat Bakes and Broils The City of
2023-07-06   2023-07-07 mericas/hermosillo-mexico-heat.html            Sun                                       By Cesar Rodriguez and Elda Cant TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/06/world/e German Businesses That Bet on China Seek
2023-07-06   2023-07-07 urope/germany-china-business-economy.html Out a Plan B                              By Erika Solomon                TX 9-317-107         2023-09-01
                        https://www.nytimes.com/2023/07/06/world/e At Least 6 Are Killed in Russian Missile By Cassandra Vinograd and Andrs
2023-07-06   2023-07-07 urope/lviv-missile-strike.html             Strike on Lviv                           R Martnez                       TX 9-317-107         2023-09-01

                        https://www.nytimes.com/2023/07/06/world/e Pieces of Munich Synagogue Destroyed on
2023-07-06   2023-07-07 urope/munich-synagogue-hitler-germany.html Hitlers Orders Are Found in River          By Christopher F Schuetze         TX 9-317-107     2023-09-01




                                                                               Page 5451 of 5793
                        https://www.nytimes.com/2023/07/06/world/e
                        urope/prigozhin-russia-belarus-              Prigozhin Is in Russia Living as a Free Man
2023-07-06   2023-07-07 lukashenko.html                              Belaruss Leader Says                          By Valerie Hopkins                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/world/e Ruble Tumbles to Worst Lows Since Early
                        urope/ruble-prigozhin-mutiny-russia-         Weeks of War Rattling Confidence Among
2023-07-06   2023-07-07 economy.html                                 Russians                                      By Paul Sonne                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/world/
                        middleeast/iyad-al-hallaq-officer-acquitted-
2023-07-06   2023-07-07 israel.html                                  Officer Acquitted in Palestinians Killing     By Aaron Boxerman                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/06/world/ Swedish Entry to NATO Is Still Losing by a       By Ben Hubbard and Steven
2023-07-06   2023-07-07 middleeast/nato-summit-sweden-turkey.html Score of 29 For and 2 Against                    Erlanger                            TX 9-317-107   2023-09-01

                        https://www.nytimes.com/interactive/2023/07/
2023-07-06   2023-07-07 06/sports/what-to-watch-tour-de-france.html The Sports to Watch This Weekend                By Victor Mather                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/us/polit Donor Haul Sets DeSantis As Top Rival To By Rebecca Davis OBrien and
2023-07-07   2023-07-07 ics/desantis-fund-raising-trump-2024.html    Trump                                          Nicholas Nehamas                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/26/travel/u
2023-06-26   2023-07-08 mbria-by-train.html                          A Journey by Train Into Italys Striking Center By Perri Klass                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/27/travel/s
2023-06-27   2023-07-08 ize-inclusive-tours.html                     No More FOMO for PlusSize Travelers            By Carla Sosenko                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/06/
                        29/travel/things-to-do-marthas-vineyard-
2023-06-29   2023-07-08 massachusetts.html                           36 Hours on Marthas Vineyard                   By Remy Tumin                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/movies/
2023-06-30   2023-07-08 best-movies-2023-so-far.html                 Some of the Best Films of 2023 So Far          By The New York Times              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/technol
                        ogy/ai-chatbots-misinformation-free-         Chatbots Without Guardrails Open Next
2023-07-02   2023-07-08 speech.html                                  Round of AI Debate                             By Stuart A Thompson               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/07/
                        03/opinion/for-most-college-students-        For Most College Students Affirmative Action By Richard Arum Mitchell L
2023-07-03   2023-07-08 affirmative-action-was-not-enough.html       Was Never Enough                               Stevens and Quoctrung Bui          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/opinion A Country Confronts Its History of
2023-07-05   2023-07-08 /germany-africa-west.html                    Colonialism                                    By Anna Sauerbrey                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/arts/des                                                 By Robin Pogrebin and Alex
2023-07-06   2023-07-08 ign/david-adjaye-architect-allegation.html   Institutions Cutting Ties With Architect       Marshall                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/arts/mu Members of Eagles Decide Not to Take It
2023-07-06   2023-07-08 sic/eagles-final-tour.html                   Easy                                           By Ben Sisario                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/nyregio Years of Service Brought To a Final Fateful
2023-07-06   2023-07-08 n/port-newark-firefighters.html              Blaze                                          By Michael Wilson                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/opinion
2023-07-06   2023-07-08 /maga-america-trump.html                     The Rage and Joy of MAGA America               By David French                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/us/trans                                                 By Ernesto Londoo Azeen
2023-07-06   2023-07-08 gender-health-care-bans.html                 To Fight State Limits on Trans Care or to Flee Ghorayshi and Jamie Kelter Davis   TX 9-317-107   2023-09-01




                                                                                  Page 5452 of 5793
                        https://www.nytimes.com/2023/07/06/theater/
2023-07-07   2023-07-08 uncle-vanya-review.html                     Confidences by Candlelight                     By Laura CollinsHughes           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/us/calif Democrats Seek Inquiry Into Migrant
2023-07-07   2023-07-08 ornia-texas-migrants-federal-inquiry.html   Transfers                                      By Shawn Hubler                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/us/polit Casey DeSantis Makes a Solo Appearance in
2023-07-07   2023-07-08 ics/casey-desantis-iowa-campaigning.html    Iowa in Support of Parents Rights              By Lisa Lerer                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/world/a
2023-07-07   2023-07-08 sia/pakistan-india-game-arrest.html         Gamers Affair Across Border Ends in Prison     By Hari Kumar and Mujib Mashal TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/07/arts/law Lawrence Turman 96 Producer Who Spotted
2023-07-07   2023-07-08 rence-turman-dead.html                      a Winner in The Graduate                       By Neil Genzlinger               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/arts/mu
2023-07-07   2023-07-08 sic/wolf-biermann-exhibition-berlin.html    His Music Bridged Germanys Divide              By Christopher F Schuetze        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/busines Top Regulators in China Fine Ant Group
2023-07-07   2023-07-08 s/alibaba-ant-group-fine.html               Nearly 1 Billion                               By Claire Fu                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/busines
2023-07-07   2023-07-08 s/economy/jobs-report-june.html             Slowdown Continues But US Adds Jobs            By Talmon Joseph Smith           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/busines Even After Solid Payrolls Report Fed Is Still   By Jeanna Smialek and Joe
2023-07-07   2023-07-08 s/economy/june-payrolls-report-fed.html     Expected to Raise Rates                        Rennison                         TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/07/busines Rivalry Between US and China by the
2023-07-07   2023-07-08 s/economy/us-china-relationship-facts.html Numbers                                         By Ana Swanson                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/busines                                                 By Jordyn Holman and J Edward
2023-07-07   2023-07-08 s/ups-strike-retail-shippers.html           Looming Strike Spurs Supply Chain Woes         Moreno                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/busines Yellen Visiting Beijing Criticizes Chinas       By Alan Rappeport and Keith
2023-07-07   2023-07-08 s/yellen-china-companies-meetings.html      Treatment of US Companies                      Bradsher                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/climate Hunters Kill Suggests Wolves May Be             By Catrin Einhorn and Tristan
2023-07-07   2023-07-08 /coyote-wolf-killed-new-york.html           Returning to Northeast                         Spinski                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/health/s
                        yphilis-epidemic-antibiotic-shortage-       Shortage of Crucial Antibiotic Used to Treat
2023-07-07   2023-07-08 pfizer.html                                 Syphilis Could Worsen US Epidemic              By Benjamin Ryan                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/movies/
                        patrick-wilson-insidious-the-red-door-
2023-07-07   2023-07-08 conjuring.html                              Directors Chair Is a Thrill                    By Beatrice Loayza               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/nyregio As Ship Burns a New Worry Keeping It
2023-07-07   2023-07-08 n/cargo-ship-fire-new-jersey.html           Afloat                                         By Tracey Tully and Erin Nolan   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/07/nyregio Six Indicted Over Claims of Illegal Donations By Dana Rubinstein William K
2023-07-07   2023-07-08 n/eric-mayor-adams-campaign-donation.html to Adamss 2021 Campaign                        Rashbaum and Susan C Beachy        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/nyregio Beyond the Stone Lions a Less Intimidating
2023-07-07   2023-07-08 n/ny-public-library.html                   Lair                                          By Winnie Hu                       TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/07/sports/a
2023-07-07   2023-07-08 utoracing/f1-mercedes-car-performance.html Making changes for the better                   By Ian Parkes                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/sports/a
2023-07-07   2023-07-08 utoracing/f1-power-units-2026.html          Working toward 2026                            By Phillip Horton                TX 9-317-107   2023-09-01



                                                                                  Page 5453 of 5793
                        https://www.nytimes.com/2023/07/07/sports/a
                        utoracing/silverstone-f1-british-grand-
2023-07-07   2023-07-08 prix.html                                   A storied track looks to continue its tale     By Alex Kalinauckas             TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/07/sports/b Bridges Will Rejoin Hornets After Felony
2023-07-07   2023-07-08 asketball/miles-bridges-charlotte-hornets.html Domestic Violence Plea Deal               By Shauntel Lowe                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/sports/t
                        ennis/wimbledon-doubles-austin-                From the Singles Cellar to the Doubles
2023-07-07   2023-07-08 krajicek.html                                  Penthouse                                 By Matthew Futterman              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/sports/u In Flyweights Success UFC Sees a Chance To
2023-07-07   2023-07-08 fc-brandon-moreno.html                         Expand Its Reach                          By Emmanuel Morgan                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/technol Twitter Sues Wall St Law Firm Over a 90
2023-07-07   2023-07-08 ogy/twitter-sues-wachtell-lipton.html          Million Payment                           By Ryan Mac and Lauren Hirsch     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/balti Teen Is Held In Connection With Attack In
2023-07-07   2023-07-08 more-shooting-arrest-pleas.html                Baltimore                                 By Michael Levenson               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/el- El Paso Mass Shooter Sentenced for Federal
2023-07-07   2023-07-08 paso-walmart-shooting-sentencing.html          Hate Crimes                               By Edgar Sandoval                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/polit Ethics Panel Says Giuliani Should Lose Law
2023-07-07   2023-07-08 ics/giuliani-law-license-dc-bar.html           License                                   By Alan Feuer                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/polit NATOs Newest Border With Russia Is Quiet
2023-07-07   2023-07-08 ics/russia-finland-nato-border.html            Now but Finland Is Wary                   By Michael Crowley                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/polit 24 Hopefuls Join Threads But 3 Names Are
2023-07-07   2023-07-08 ics/threads-twitter-politicians.html           Missing                                   By Anjali Huynh                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/polit
2023-07-07   2023-07-08 ics/trump-iowa-rally.html                      Trump Dogs DeSantis About Farming in Iowa By Lisa Lerer                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/polit
2023-07-07   2023-07-08 ics/ukraine-cluster-munitions-biden.html       Biden to Send Ukraine Arms Allies Oppose By Katie Rogers and Eric Schmitt   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/spec Special Counsel Inquiries Into Trump Cost at
2023-07-07   2023-07-08 ial-counsel-inquiries-trump-cost.html          Least 54 Million                          By Charlie Savage                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/supr In First Term Jackson Doesnt Waste Any
2023-07-07   2023-07-08 eme-court-ketanji-brown-jackson.html           Time Drawing Her Own Lines                By Adam Liptak                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/wisc In Wisconsin Judge Allows Challenge to
2023-07-07   2023-07-08 onsin-abortion-lawsuit.html                    Abortion Law to Proceed                   By Mitch Smith                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/world/a
                        frica/jerusalema-nomcebo-zikode-south-         A Cry for Help Finds a Beat and Becomes a
2023-07-07   2023-07-08 africa.html                                    Global Hit                                By Lynsey Chutel                  TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/07/world/a
2023-07-07   2023-07-08 sia/barbie-blackpink-vietnam-philippines.html The Barbie Ban Whats This All About Ken      By Mike Ives                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/world/a Indian Opposition Leader Loses Plea to Stay
2023-07-07   2023-07-08 sia/india-gandhi-modi-court.html              Defamation Conviction                        By Sameer Yasir                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/world/a
2023-07-07   2023-07-08 sia/india-train-crash-arrests.html            India Arrests Railway Staff For June Crash   By Mujib Mashal and Hari Kumar TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/07/world/a US Prods China To Keep Waging Fentanyl          By David Pierson Edward Wong
2023-07-07   2023-07-08 sia/us-china-fentanyl.html                    Battle                                       and Olivia Wang                TX 9-317-107    2023-09-01



                                                                                   Page 5454 of 5793
                        https://www.nytimes.com/2023/07/07/world/a Yan Mingfu Who Tried to End Tiananmen
2023-07-07   2023-07-08 sia/yan-mingfu-dead.html                   Peacefully Dies at 91                      By Chris Buckley                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/07/world/c Canadian Court Rules ThumbsUp Emoji Is a
2023-07-07   2023-07-08 anada/canada-thumbs-up-emoji-contract.html Contract Agreement                       By Michael Levenson                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/07/world/e Belarus Gives Tour of an Empty Base to     By Valerie Hopkins and Nanna
2023-07-07   2023-07-08 urope/belarus-wagner-base-lukashenko.html Show Wagner Fighters Arent There            Heitmann                            TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/07/world/e Dutch Government Collapses Over Migration
2023-07-07   2023-07-08 urope/dutch-government-collapses.html       Policy Stalemate Prompting Fall Vote       By Claire Moses and Dan Bilefsky   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/world/e As Donations Flag Ukraine Troops Do Their By Megan Specia and Thomas
2023-07-07   2023-07-08 urope/raising-money-ukraine-war.html        Own FundRaising                            GibbonsNeff                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/world/
                        middleeast/palestinians-west-bank-          PostRaid Palestinians Are Left With Mounds
2023-07-07   2023-07-08 frustration.html                            Of Rubble and Despair                      By Hiba Yazbek and Ben Hubbard     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/your-
2023-07-07   2023-07-08 money/cancelling-subscriptions-ftc.html     Managing Online Subscriptions              By Ann Carrns                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/clust Small Grenades on Clusters Often Fail to
2023-07-08   2023-07-08 er-weapons-duds-ukraine.html                Detonate Imperiling Civilians              By John Ismay                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/polit Trump Asked About an IRS Inquiry of FBI
2023-07-08   2023-07-08 ics/trump-kelly-irs-fbi-strozk-page.html    Officials                                  By Michael S Schmidt               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/polit
2023-07-08   2023-07-08 ics/vivek-ramaswamy-wealth-plane.html       A Critic of Woke Investing Profits From It By Trip Gabriel                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/08/busines
2023-07-08   2023-07-08 s/economy/us-china-chips-janet-yellen.html Geopolitics Challenges Chipmakers            By Ana Swanson                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/busines
                        s/the-guardian-slavery-manchester-cotton-   Top UK Newspaper Confronts Its Central
2023-07-08   2023-07-08 capital.html                                Role in Slave Trade                         By David Segal                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/health/c
2023-07-08   2023-07-08 hildren-drowning-deaths.html                Efforts to Prevent Drownings Falter         By Emily Baumgaertner             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/sports/b Among the League Leaders Only in Profligate
2023-07-08   2023-07-08 aseball/mets-padres.html                    Spending and in Desperation                 By Scott Miller                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/03/18/books/r
2023-03-18   2023-07-09 eview/commitment-mona-simpson.html          Doing the Work                              By Elisabeth Egan                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/03/21/books/r
2023-03-21   2023-07-09 eview/sebastian-barry-old-gods-time.html    Always a Detective                          By Andrew Miller                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/05/13/books/r
2023-05-13   2023-07-09 eview/undaunted-brooke-kroeger.html         From FrontPage Girls to Newsroom Leaders By Jane Kamensky                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/05/17/books/l
2023-05-17   2023-07-09 os-angeles-books.html                       Read Your Way Through Los Angeles           By Hctor Tobar                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/05/17/books/r
2023-05-17   2023-07-09 eview/lincolns-god-joshua-zeitz.html        Using His Religion                          By Ted Widmer                     TX 9-317-107   2023-09-01




                                                                               Page 5455 of 5793
                        https://www.nytimes.com/2023/05/28/books/s
2023-05-28   2023-07-09 ybil-50th-anniversary.html                 Essay Sybil 50 Years Later                   By Alexandra Jacobs      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/05/30/books/r
                        eview/deep-as-the-sky-red-as-the-sea-rita-
2023-05-30   2023-07-09 chang-eppig.html                           Chinas Pirate Queen                          By E Lily Yu             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/05/31/books/r
                        eview/fancy-bear-goes-phishing-scott-
2023-05-31   2023-07-09 shapiro.html                               Harmful Hacks                                By Jennifer Szalai       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/03/books/r
                        eview/the-wind-knows-my-name-isabel-
2023-06-03   2023-07-09 allende.html                               History Repeats                              By Lauren Fox            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/05/books/r
2023-06-05   2023-07-09 eview/chaos-kings-scott-patterson.html     Capital Gains                                By Marie Solis           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/06/books/r
2023-06-06   2023-07-09 eview/everythings-fine-cecilia-rabess.html At Odds                                      By Angela Lashbrook      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/08/books/r
2023-06-08   2023-07-09 eview/the-mythmakers-keziah-weir.html      SelfDiscovery                                By Jean Hanff Korelitz   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/11/books/r
2023-06-11   2023-07-09 eview/to-name-the-bigger-lie-sarah-viren.html The Plight of the PostTruth Memoirist       By Claire Dederer      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/12/books/r
                        eview/lorrie-moore-i-am-homeless-if-this-is-
2023-06-12   2023-07-09 not-my-home.html                              In Love and Undead                          By Dwight Garner       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/06/
                        26/nyregion/nyc-dms-messages-signs-
2023-06-26   2023-07-09 graffiti.html                                 DMs From New York City                      By Dodai Stewart       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/28/nyregio How Congestion Pricing in Manhattan Might
2023-06-28   2023-07-09 n/congestion-pricing-nyc.html                 Work                                        By Ana Ley             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/books/r
                        eview/my-friend-anne-frank-hannah-pick-       She Played Hopscotch With Anne Frank Her
2023-06-29   2023-07-09 goslar.html                                   Story Will Live On Too                      By Elisabeth Egan      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/nyregio Getting Out This Summer Your Comfort Zone
2023-06-29   2023-07-09 n/new-york-day-trips.html                     Included                                    By Joshua Needelman    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/arts/mu
2023-07-01   2023-07-09 sic/boy-george-favorites.html                 Boy George Hangs His Hat on the Colorful By Jeremy Gordon          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/style/an
2023-07-01   2023-07-09 ya-firestone-paris-tours.html                 Her Tailored Tours Make Paris a Perfect Fit By Chantel Tattoli     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/07/
                        02/magazine/phoebe-waller-bridge-indiana- Phoebe WallerBridges Great Indiana Jones
2023-07-02   2023-07-09 jones-interview.html                          Adventure                                   By David Marchese      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/arts/po
2023-07-03   2023-07-09 dcasts-emotional-health.html                  Summer Escapism As Close as a Headset       By Emma Dibdin         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/realesta
2023-07-03   2023-07-09 te/dementia-villages-senior-living.html       Safe Harbors Amid the Tempest of Dementia By Joann Plockova        TX 9-317-107   2023-09-01




                                                                                Page 5456 of 5793
                        https://www.nytimes.com/2023/07/03/realesta Giving New York a Try and Leaving the Rest
2023-07-03   2023-07-09 te/new-york-apartment-renting-chelsea.html to Fate                                     By Lia Picard                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/arts/mu
2023-07-04   2023-07-09 sic/william-byrd-400-anniversary.html        An Essential Composer Resonates           By Hugh Morris                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/arts/mu
2023-07-04   2023-07-09 sic/william-byrd-composers-influence.html Under His Influence                          By David Allen                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/magazi
2023-07-04   2023-07-09 ne/maggie-harrison-wine-antica-terra.html    Vine Art                                  By Alex Halberstadt             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/magazi
2023-07-04   2023-07-09 ne/unintentional-asmr-videos.html            Unintentional ASMR                        By Eliza Brooke                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/nyregio                                             By Bernard Mokam and Gabriela
2023-07-04   2023-07-09 n/edenwald-bronx-basketball.html             OnceNeglected Court That Feels Like Home Bhaskar                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/opinion
                        /declaration-independence-antislavery-
2023-07-04   2023-07-09 movement.html                                Americas Other Founders                   By Jamelle Bouie                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/opinion
2023-07-04   2023-07-09 /recession-data-inflation-musk.html          No the Economic Data Isnt Being Faked     By Paul Krugman                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/realesta California Wildfires Point Her in a New
2023-07-04   2023-07-09 te/lorraine-toussaint-hudson-valley.html     Direction                                 By Joanne Kaufman               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/style/fr
2023-07-04   2023-07-09 eckle-tattoos-microblading.html              Pippi Need Not Apply                      By Sarah Bahr                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/technol Lewis Branscomb 96 Who Championed
2023-07-04   2023-07-09 ogy/lewis-branscomb-dead.html                Science From Space Race to the Internet   By Daniel E Slotnik             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/us/nativ Bisons Return Refreshes Native American
2023-07-04   2023-07-09 e-american-tribes-bison.html                 Rituals                                   By Mike Ives                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/arts/tele
                        vision/the-horror-of-dolores-roach-justina-
2023-07-05   2023-07-09 machado-aaron-mark.html                      The Empanadas Are Just to Die For         By Erik Piepenburg              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/books/r
2023-07-05   2023-07-09 eview/new-crime-novels.html                  Caper Crew                                By Sarah Weinman                TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/05/books/r
2023-07-05   2023-07-09 eview/the-deepest-map-laura-trethewey.html In Too Deep                               By Simon Winchester               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/busines
                        s/artificial-intelligence-power-data-      In Age of AI Techs Little Guys Need Big
2023-07-05   2023-07-09 centers.html                               Friends                                   By Cade Metz                      TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/05/magazi
2023-07-05   2023-07-09 ne/democratic-national-committee-2024.html The DNC Has a Primary Problem             By Ross Barkan                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/magazi
2023-07-05   2023-07-09 ne/melon-salad-recipe.html                 This Melon Salad Is Pure Pleasure         By Bryan Washington               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/nyregio
2023-07-05   2023-07-09 n/yusef-salaam-city-council.html           A Political Boost Toward Poetic Justice   By Ginia Bellafante               TX 9-317-107   2023-09-01




                                                                                Page 5457 of 5793
                        https://www.nytimes.com/2023/07/05/opinion
2023-07-05   2023-07-09 /debt-crisis.html                           America Is Living on Borrowed Money             By The Editorial Board           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/realesta
                        te/formal-landscaping-native-garden-
2023-07-05   2023-07-09 stoneleigh.html                             Native Species and Landscaping Potential        By Margaret Roach                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/realesta
                        te/hanover-township-nj-apartments-
2023-07-05   2023-07-09 houses.html                                 Welcomed Back to a FamilyOriented Place         By Jill P Capuzzo                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/style/ex
2023-07-05   2023-07-09 tramarital-affair-social-interactions.html  After an Affair                                 By Philip Galanes                TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/05/theater/
2023-07-05   2023-07-09 the-cottage-broadway-jason-alexander.html Throwback Play Feminist Twist                     By Laura CollinsHughes           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/us/deat
2023-07-05   2023-07-09 h-benefits-fraud-california.html            He Hid Moms 90 Death to Take Benefits           By Orlando Mayorquin             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/magazi
                        ne/judge-john-hodgman-password-
2023-07-06   2023-07-09 sharing.html                                Bonus Advice From Judge John Hodgman            By John Hodgman                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/magazi
2023-07-06   2023-07-09 ne/poem-time-of-tyranny-49.html             Poem                                            By Lyn Hejinian and Anne Boyer   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/magazi This Was No Ordinary Sunburn What Was
2023-07-06   2023-07-09 ne/solar-urticaria-diagnosis.html           Wrong                                           By Lisa Sanders MD               TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/06/magazi
2023-07-06   2023-07-09 ne/the-french-connection-edit-racial-slur.html Clean Cut                                    By Niela Orr                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/movies/
                        joy-ride-beef-shortcomings-asian-              Liberated From Narrative Boxes Asian
2023-07-06   2023-07-09 americans.html                                 American Stories Blossom                     By Matt Stevens                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/nyregio Hudson Tunnel Project to Get 69 Billion in
2023-07-06   2023-07-09 n/nyc-penn-station-tunnel-gateway.html         US Transit Grant                             By Patrick McGeehan              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/nyregio Long Island Steps Up Patrols For Sharks
2023-07-06   2023-07-09 n/shark-bites-safety-long-island.html          After a Few Bites                            By Lauren McCarthy               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/realesta
2023-07-06   2023-07-09 te/home-prices-inflation.html                  Signs of Hope in a Tight US Market           By Michael Kolomatsky            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/style/ca Welcome to the Age of the Celebrity Cage
2023-07-06   2023-07-09 ge-match-fight.html                            Match                                        By Joseph Bernstein              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/style/ha
                        ppy-together-yet-still-indifferent-about-      With or Without Marriage License a Perfect
2023-07-06   2023-07-09 marriage.html                                  Match                                        By Tammy LaGorce                 TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/06/world/a Two Americans Crusade to Save the        By Ruth Maclean Collins Chilumba
2023-07-06   2023-07-09 frica/zambia-conservation-delia-owens.html Elephants                                Sampa and Gulshan Khan           TX 9-317-107           2023-09-01
                        https://www.nytimes.com/2023/07/06/world/e Winnie Ewing 93 Who Pushed for Scotlands
2023-07-06   2023-07-09 urope/winnie-ewing-dead.html               Independence Is Dead                     By Clay Risen                    TX 9-317-107           2023-09-01




                                                                                  Page 5458 of 5793
                        https://www.nytimes.com/interactive/2023/07/
                        06/realestate/manhattan-one-bedroom-           Mulling Manhattan OneBedrooms Prewar
2023-07-06   2023-07-09 apartment.html                                 Charm or Modern Amenities                By Joyce Cohen                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/arts/des
                        ign/herzog-and-de-meuron-royal-
2023-07-07   2023-07-09 academy.html                                   This Time the Architects Are on Exhibit  By Christopher Hawthorne         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/books/r
                        eview/national-spelling-bee-zaila-avant-garde-
2023-07-07   2023-07-09 macnolia-cox.html                              How Do You Spell Discrimination          By Cynthia Greenlee              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/busines Take a Look at the Stocks Leading the Market
2023-07-07   2023-07-09 s/cruise-lines-stock-market.html               Now                                      By Jeff Sommer                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/busines
                        s/gen-x-in-charge-companies-chief-
2023-07-07   2023-07-09 executives.html                                Gen X Has Moved Into the Executive Suite By Emma Goldberg                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/magazi                                               By Sarah A Topol and Glenna
2023-07-07   2023-07-09 ne/guam-american-military.html                 The America That Americans Forget        Gordon                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/nyregio
2023-07-07   2023-07-09 n/army-counselor-gold-star-fraud.html          Adviser Duped Gold Star Families US Says By Hurubie Meko                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/nyregio
2023-07-07   2023-07-09 n/nyc-gateway-tunnel.html                      New Manhattan Tunnel May Lift Economy By Patrick McGeehan                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/realesta
2023-07-07   2023-07-09 te/modern-farmhouse-suburbs.html               The Modern Farmhouse Is Here to Stay     By Ronda Kaysen                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/sports/b Teammates From LSU Could Become Picks 1
2023-07-07   2023-07-09 aseball/mlb-draft-skenes-crews.html            and 2                                    By Benjamin Hoffman              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/sports/b Chance of Magic Traded for Ruthless
2023-07-07   2023-07-09 aseball/mlb-draft.html                         Efficiency                               By Tyler Kepner                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/sports/g PGA Chief Expects to End Medical Leave
2023-07-07   2023-07-09 olf/jay-monahan-pga-tour-liv.html              Soon Though Not Before Senate Hearing    By Alan Blinder and Kevin Draper TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/sports/s Through It All Ukraine Keeps Playing and
2023-07-07   2023-07-09 occer/ukraine-shevchenko-soccer.html           Hoping                                   By Rory Smith                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/style/br Will I Marry You First Some Questions of My
2023-07-07   2023-07-09 ooke-rinehart-tom-sinnott-wedding.html         Own                                      By Valeriya Safronova            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/style/mi
2023-07-07   2023-07-09 chelle-evans-eric-koch-wedding.html            In a Hospital Bed Popping the Question   By Jenny Block                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/style/m
                        odern-love-kissing-a-fellow-janitor-amid-the- Time to Claim Romance Amid the Discard
2023-07-07   2023-07-09 trash.html                                     Bins                                     By Elizabeth Endicott            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/style/m After a Hurricane Presenting a Rainbow
2023-07-07   2023-07-09 olly-gaebe-leila-bozorg-wedding.html           Fabric Ring                              By Rosalie R Radomsky            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/style/sa
2023-07-07   2023-07-09 rah-matteson-kelly-winget-wedding.html         An Algorithm Brought Them Together       By Tammy LaGorce                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/idah Debate Over Plan to Raze Scene of Idaho      By Mike Baker and Nicholas
2023-07-07   2023-07-09 o-murders-house-demolition.html                Murders                                  BogelBurroughs                   TX 9-317-107   2023-09-01




                                                                               Page 5459 of 5793
                        https://www.nytimes.com/2023/07/07/us/seaw The Blob That Threatened Florida   Is
2023-07-07   2023-07-09 eed-blob-florida-sargassum-shrinking.html  Disappearing                                 By Livia AlbeckRipka              TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/07/world/e
2023-07-07   2023-07-09 urope/milan-italy-retirement-home-fire.html Fire Kills 6 at Retirement Home in Milan    By Elisabetta Povoledo            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/busines
                        s/energy-environment/janet-yellen-beijing-  Yellen Urges Beijing to Aid Developing      By Alan Rappeport Lisa Friedman
2023-07-08   2023-07-09 climate.html                                Countries Climate Battle                    and Keith Bradsher                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/arts/dan
                        ce/cassandra-trenary-american-ballet-
2023-07-08   2023-07-09 theater.html                                Striving to Be as Human as Possible         By Gia Kourlas                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/arts/mu Peter Nero Pianist Who Soared for Nearly Six
2023-07-08   2023-07-09 sic/peter-nero-dead.html                    Decades Is Dead at 89                       By Robert D McFadden              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/busines
2023-07-08   2023-07-09 s/affordable-trip-vacation-budget.html      So Youre Going on a Trip You Cant Afford By Paulette Perhach                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/busines How Chinas Debt Rose And Why It May Cost
2023-07-08   2023-07-09 s/china-debt-explained.html                 Poor Nations the Most                       By Keith Bradsher                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/busines
2023-07-08   2023-07-09 s/uri-geller-magic-deep-fakes.html          The Magic Worlds 50Year Grudge              By David Segal                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/insider/
2023-07-08   2023-07-09 pictures-guam-military.html                 Weeks on Guam With Troops and Its People By Glenna Gordon                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/nyregio
                        n/gotham-taxidermy-divya-
2023-07-08   2023-07-09 anantharaman.html                           Teaching Others the Art of Taxidermy        By Arielle Domb                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/nyregio Four Killed Outside Albany In Early Morning
2023-07-08   2023-07-09 n/upstate-new-york-fatal-fire.html          House Fire                                  By Hurubie Meko                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/08/opinion
2023-07-08   2023-07-09 /carry-on-packing-airlines-lost-luggage.html Dont Even Think About Checking A Bag       By David Mack                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/opinion
2023-07-08   2023-07-09 /heat-texas-climate.html                     A Glimpse of Our Very Hot Future           By Jeff Goodell                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/opinion
2023-07-08   2023-07-09 /hunter-biden-child.html                     Its Seven Grandkids Mr President           By Maureen Dowd                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/opinion
2023-07-08   2023-07-09 /ukraine-war-amputees.html                   Minus a Limb But Stalwart                  By Nicholas Kristof               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/realesta
                        te/whats-the-best-way-to-buy-my-rental-      We Want to Buy the Condo We Rent Whats
2023-07-08   2023-07-09 condo-from-the-landlord.html                 the Best Way to Go About It                By Jill Terreri Ramos             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/sports/b Nikki McCrayPenson 51 Standout Basketball
2023-07-08   2023-07-09 asketball/nikki-mccray-penson-dead.html      Player and College Coach                   By Richard Sandomir               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/sports/s
                        occer/megan-rapinoe-retirement-world-        Keeping in Character Rapinoe Announces Her
2023-07-08   2023-07-09 cup.html                                     Retirement Is Near                         By Juliet Macur and Claire Fahy   TX 9-317-107   2023-09-01




                                                                                Page 5460 of 5793
                        https://www.nytimes.com/2023/07/08/sports/t For Some the Grass Is Always Greener On the
2023-07-08   2023-07-09 ennis/wimbledon-grass-all-england-club.html Other Side of the Net                       By Matthew Futterman               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/style/fo A Doomsaying Theory Resonates in Pop
2023-07-08   2023-07-09 urth-turning-pop-culture.html               Culture                                     By Steven Kurutz                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/style/gi
2023-07-08   2023-07-09 rl-dinner.html                              Why Cook When You Can Nibble                By Jessica Roy                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/style/i-
2023-07-08   2023-07-09 was-a-peachys-puffs-girl.html               My 60s California Dream in 1998             By Carmel Breathnach               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/style/m
2023-07-08   2023-07-09 att-rife-tiktok-comedian.html               Making Them Laugh and Swoon                 By Steven Kurutz                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/us/cess
2023-07-08   2023-07-09 na-plane-crash-california.html              6 Die in California Crash of Cessna Jet     By Lauren McCarthy                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/us/heat- Rising Temperatures Could Bring More Than
2023-07-08   2023-07-09 wave-older-people.html                      Misery for Seniors                          By Shannon Sims and Rick Rojas     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/us/man In Sweltering South Florida The Succulent     By Patricia Mazzei and James
2023-07-08   2023-07-09 go-season-miami.html                        Mango Is King                               Jackman                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/us/polit Tennessee Ban on Transgender Care Can
2023-07-08   2023-07-09 ics/transgender-care-ban-tennessee.html     Take Effect Appeals Panel Says              By Emily Cochrane                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/us/polit                                             By Shane Goldmacher Jonathan
2023-07-08   2023-07-09 ics/trump-desantis-iowa-governor.html       Signs Emerge Iowa Governor Has a Favorite Swan and Maggie Haberman             TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/08/world/c
2023-07-08   2023-07-09 anada/beyonce-toronto-renaissance-tour.html Giddiness and Gridlock For Beyonc Weekend By Vjosa Isai                        TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/08/world/e From Saving Lives in Ukraine to Scraping By
2023-07-08   2023-07-09 urope/doctors-ukraine-war-refugees-uk.html in Britain                                     By Euan Ward                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/world/e
                        urope/netherlands-refugees-government-       Dutch Crisis Shows Power of Migration        By Matina StevisGridneff and
2023-07-08   2023-07-09 collapse.html                                Politics                                     Claire Moses                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/world/e On the Wars 500th Day A Deadly Russian         By Cassandra Vinograd Thomas
2023-07-08   2023-07-09 urope/russia-ukraine-war.html                Attack                                       GibbonsNeff and Natalia Yermak   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/world/e As Bucha Physically Rebuilds Pain Lingers By Megan Specia and Oleksandr
2023-07-08   2023-07-09 urope/ukraine-bucha.html                     Beneath the Surface                          Chubko                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/article/netherlands-
                        government-collapse-explained-mark-          An Irreconcilable Split Over Asylum Policies
2023-07-08   2023-07-09 rutte.html                                   Topples a Government                         By Claire Moses                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/nyregio
2023-07-09   2023-07-09 n/yusef-salaam-nyc-crime-politics.html       Primary Win Shows Shift in Politics of Crime By Corey Kilgannon               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/style/cr
2023-07-09   2023-07-09 op-top-men.html                              Mens Middles Are No Longer Under Cover By Emma Grillo                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/us/clare Thomas Joined Elite Club And Courts Door By Abbie VanSickle and Steve
2023-07-09   2023-07-09 nce-thomas-horatio-alger-association.html    Opened                                       Eder                             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/us/miss Hoping for a Silver Lining After a Tornado in
2023-07-09   2023-07-09 issippi-delta-tornado-poverty.html           the Delta                                    By Rick Rojas and Emily Kask     TX 9-317-107   2023-09-01



                                                                                Page 5461 of 5793
                        https://www.nytimes.com/2023/07/09/us/vive
                        k-ramaswamy-hindu-republican-                Ramaswamy Leans Into His Hindu Faith to
2023-07-09   2023-07-09 christianj.html                              Court Christian Voters                    By Ruth Graham                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/world/a For North Koreans in China Path to Freedom
2023-07-09   2023-07-09 sia/north-korea-china-defectors.html         Is More Perilous Yet                      By Choe SangHun                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/world/e Visiting the Pantheon Now Requires a Fee
2023-07-09   2023-07-09 urope/italy-pantheon-tickets.html            Not to Mention Patience                   By Elisabetta Povoledo              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/travel/fl
2023-06-30   2023-07-10 orida-tourism-advisories-desantis.html       Florida Tourism Seems Unhurt by Politics  By Tariro Mzezewa                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/05/technol As Businesses Quickly Find Uses for AI Tech
2023-07-05   2023-07-10 ogy/business-ai-technology.html              Companies Rush to Offer Products          By Yiwen Lu                         TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/07/arts/des
2023-07-07   2023-07-10 ign/penn-station-renovation-proposals.html A Horizon of Hope At Penn Station             By Michael Kimmelman              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/dining/ Evva Hanes Baker 90 Her Moravian Cookies
2023-07-07   2023-07-10 evva-hanes-dead.html                        Became World Famous                          By Kim Severson                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/movies/ A Family Curse Unfolds With Peekaboo
2023-07-07   2023-07-10 insidious-the-red-door-review.html          Shocks                                       By Jason Zinoman                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/obituari Overlooked No More Hannie Schaft
2023-07-07   2023-07-10 es/hannie-schaft-overlooked.html            Resistance Fighter During World War II       By Claire Moses                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/07/opinion
2023-07-07   2023-07-10 /black-dancer-american-ballet-theater.html  See My Dancing Not My Skin Color              By Gabe Stone Shayer             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/busines
                        s/dealbook/zuckerberg-meta-threads-                                                       By Ephrat Livni Ravi Mattu and
2023-07-08   2023-07-10 antitrust.html                              Twitter Rival Threads Raises Antitrust Issues Lauren Hirsch                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/busines
                        s/student-loans-college-admissions-supreme- Answers to Your Questions About Paying for By Ron Lieber and Tara Siegel
2023-07-08   2023-07-10 court.html                                  College                                       Bernard                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/realesta
                        te/sexual-harassment-assault-real-estate-   Dangerous Work but Little Help For Women
2023-07-08   2023-07-10 agents.html                                 Selling Real Estate                           By Debra Kamin                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/sports/b
                        asketball/victor-wembanyama-summer-         Top Pick Finds Bright Lights Big
2023-07-08   2023-07-10 league.html                                 Expectations                                  By Tania Ganguli                 TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/08/sports/t Speed Precision and Grit The Ballet of the   By David Waldstein and Jane
2023-07-08   2023-07-10 ennis/wimbledon-rain-delays-court-crew.html Rain Crews                                   Stockdale                         TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/08/us/affir Worries Persist for Asian Americans After the
2023-07-08   2023-07-10 mative-action-asian-american-students.html Ruling on Affirmative Action                   By Anemona Hartocollis           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/us/affir Helping Readers Confront Changes In Path to By Stephanie Saul and Anemona
2023-07-08   2023-07-10 mative-action-women-gender-gap.html         College                                       Hartocollis                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/us/jame James F Dobbins Leading Authority On
2023-07-08   2023-07-10 s-f-dobbins-dead.html                       Nation Building Is Dead at 81                 By Clay Risen                    TX 9-317-107   2023-09-01



                                                                                  Page 5462 of 5793
                        https://www.nytimes.com/2023/07/08/world/e
                        urope/far-right-parties-are-rising-to-power-
2023-07-08   2023-07-10 around-europe-is-spain-next.html                  As Spain Votes Far Right Plans Leap Forward By Jason Horowitz         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/arts/mu
                        sic/aix-festival-picture-a-day-like-this-friends-
2023-07-09   2023-07-10 between-revolutions.html                          The Pursuit and Embodiment of Happiness     By Joshua Barone          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/arts/mu Aretha Franklins Heirs Battle Over Singers
2023-07-09   2023-07-10 sic/aretha-franklin-will-couch.html               Will                                        By Julia Jacobs           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/arts/mu
                        sic/beyonce-renaissance-world-tour-
2023-07-09   2023-07-10 review.html                                       Still Spectacular and Seeking Perfection    By Lindsay Zoladz         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/books/r
2023-07-09   2023-07-10 eview/the-vegan-andrew-lipstein.html              Finance Bro Becomes One With Animals        By Alexandra Jacobs       TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/09/busines Executives At Joele Frank Leave to Start
2023-07-09   2023-07-10 s/dealbook/advisory-firms-joele-frank.html  Own PR Firm                                By Lauren Hirsch                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/busines On Trip to Beijing Yellen Meets Newest
2023-07-09   2023-07-10 s/janet-yellen-china-trip.html              Officials and Softens Tone                 By Keith Bradsher                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/busines No Policy Shifts But Yellens Trip Opens a   By Alan Rappeport and Keith
2023-07-09   2023-07-10 s/janet-yellen-china-us.html                Dialogue                                   Bradsher                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/busines Henry Kamm Journalist Dies at 98 He
2023-07-09   2023-07-10 s/media/henry-kamm-dead.html                Covered the World for The Times            By Robert D McFadden             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/crossw
2023-07-09   2023-07-10 ords/daily-puzzle-2023-07-10.html           To Solve a Crossword Follow Your Instincts By Sam Corbin                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/nyregio Heavy Flooding in Hudson Valley Kills 1 and By Eduardo Medina Livia
2023-07-09   2023-07-10 n/flooding-west-point-orange-county.html    Leaves Several Missing                     AlbeckRipka and Jesse McKinley   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/nyregio Fire Aboard Ship Is Contained Coast Guard
2023-07-09   2023-07-10 n/port-newark-ship-fire.html                Says                                       By Maria Cramer                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/nyregio
                        n/scooter-gunman-charged-brooklyn-          Gunman on Scooter Is Charged With Murder By Chelsia Rose Marcius Maria
2023-07-09   2023-07-10 queens.html                                 in a Shooting Spree                        Cramer and Nate Schweber         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/opinion
2023-07-09   2023-07-10 /christian-right.html                       Who Truly Threatens the Church             By David French                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/opinion The Roberts Courts New Constitutional
2023-07-09   2023-07-10 /supreme-court-conservative-agenda.html     World                                      By Linda Greenhouse              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/sports/a Verstappen Tops a Very British Podium for
2023-07-09   2023-07-10 utoracing/f1-british-grand-prix.html        His 6th Straight Win                       By Andrew Das and Josh Katz      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/sports/b
                        aseball/tigers-combined-no-hitter-          Combined NoHitters Are the Future
2023-07-09   2023-07-10 verlander.html                              Verlander Longs for the Past               By Scott Miller                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/sports/c
                        ycling/tour-de-france-pogacar-              Conquering an Old Volcano Pogacar Presses
2023-07-09   2023-07-10 vingegaard.html                             Vingegaard                                 By Victor Mather                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/sports/s
2023-07-09   2023-07-10 occer/megan-rapinoe-highlights.html         The Best Moments Of Megan Rapinoe          By Claire Fahy                   TX 9-317-107   2023-09-01



                                                                                   Page 5463 of 5793
                        https://www.nytimes.com/2023/07/09/sports/s For Rapinoe on the Bench a California
2023-07-09   2023-07-10 occer/uswnt-rapinoe-world-cup-wales.html     SendOff Before a Final World Cup          By Claire Fahy                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/sports/t
2023-07-09   2023-07-10 ennis/wimbledon-chris-eubanks.html           Eubanks Has Paved Journey In Details      By Matthew Futterman            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/us/polit
                        ics/nikki-haley-2024-new-hampshire-          In Rural New Hampshire Haley Looks to
2023-07-09   2023-07-10 primary.html                                 Catch On                                  By Maya King                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/us/saha Saharan Dust Is Drifting Toward South
2023-07-09   2023-07-10 ra-dust-florida.html                         Florida                                   By Rebecca Carballo             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/world/a Number of Migrants at Border Plunges as     By Simon Romero Miriam Jordan
2023-07-09   2023-07-10 mericas/border-mexico-us-migrants.html       Mexico Helps to Stem Flow                 and Emiliano Rodrguez Mega      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/world/e
                        urope/bbc-presenter-suspended-teenager-      BBC Suspends Staff Member Amid Sexual
2023-07-09   2023-07-10 pictures.html                                Image Scandal                             By Chris Cameron                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/world/e
                        urope/nato-germany-lithuania-russia-ukraine- NATO Works to Strengthen Its Defenses
2023-07-09   2023-07-10 war.html                                     Along Its Eastern Flank                   By Steven Erlanger              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/world/e Shifting From Europe Pope Names Cardinals
2023-07-09   2023-07-10 urope/pope-francis-cardinals.html            From Across the Globe                     By Elisabetta Povoledo          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/world/e Azov Commanders Released by Turkey Are
2023-07-09   2023-07-10 urope/ukraine-war-prisoners-azov.html        Celebrated as War Heroes in Lviv          By Matthew Mpoke Bigg           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/us/heat-                                            By John Washington Anna Betts
2023-07-10   2023-07-10 southwest-arizona.html                       More Heat Is Coming for a Baked Southwest and Maria Jimenez Moya          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/arts/tele
                        vision/whats-on-tv-this-week-what-we-do-in-
                        the-shadows-and-barbie-dreamhouse-
2023-07-10   2023-07-10 challenge.html                               This Week on TV                           By Shivani Gonzalez             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/busines
                        s/media/fox-news-defamation-ray-epps-tucker-A Brewing Defamation Lawsuit Could Be      By Jeremy W Peters and Alan
2023-07-10   2023-07-10 carlson.html                                 Foxs Next Dominion                        Feuer                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/nyregio With Offices Abandoned the Furniture Finds
2023-07-10   2023-07-10 n/office-furniture-nyc.html                  Itself Out of a Job                       By Stefanos Chen                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/sports/b
                        aseball/oakland-as-relocation-all-star-
2023-07-10   2023-07-10 game.html                                    AllStars to Cheer And Also a Sport to Boo By Kurt Streeter                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/sports/ They Landed a Majestic Marlin Almost All of
2023-07-10   2023-07-10 marlin-fishing-disqualified.html             It Anyway                                 By Brandon Sneed                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/us/polit Blockade Over Abortion Policy Threatens
2023-07-10   2023-07-10 ics/tuberville-abortion-joint-chiefs.html    Top Military Promotions                   By Karoun Demirjian             TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/10/your- How Bidens Second Swing at Student Debt
2023-07-10   2023-07-10 money/biden-student-loans-cancellation.html Might Look                                By Ron Lieber                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/28/science Fish Tricks A Peek Behind the Magic of a
2023-06-28   2023-07-11 /cuttlefish-camouflage.html                 Cuttlefishs Vanishing Act                 By Veronique Greenwood           TX 9-317-107   2023-09-01



                                                                               Page 5464 of 5793
                        https://www.nytimes.com/2023/06/28/science
2023-06-28   2023-07-11 /planet-star-halla-beakdu.html                  A Planet That Escaped Fiery Doom            By Becky Ferreira               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/science Animal Attraction Its Not Just Your
2023-06-30   2023-07-11 /ticks-static-electricity.html                  Imagination You Really Are a Tick Magnet By Darren Incorvaia                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/well/mi
2023-06-30   2023-07-11 nd/dopamine-brain-behavior.html                 How Dopamine Influences Behavior            By Dana G Smith                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/01/science For Paleoanthropology Cannibalism Can Be
2023-07-01   2023-07-11 /archaeology-hominids-cannibalism.html          Clickbait                                   By Franz Lidz                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/well/m
2023-07-03   2023-07-11 osquito-bites-humans-repellent.html             Why Do Mosquitoes Like Me So Much           By Dani Blum                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/04/well/liv
2023-07-04   2023-07-11 e/gum-disease-prevention-treatment.html         An Illness Taking Hold in Many Mouths       By Melinda Wenner Moyer         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/health/a
2023-07-06   2023-07-11 nimals-agriculture-disease-spillover.html       Risk Seen in US Animal Industries           By Emily Anthes                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/nyregio Jack Goldstein 74 Who Warded Off
2023-07-06   2023-07-11 n/jack-goldstein-dead.html                      Wrecking Balls at Broadway Theaters         By Richard Sandomir             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/well/m
                        ove/clumsiness-coordination-sports-
2023-07-06   2023-07-11 exercise.html                                   The Uncoordinated Athlete                   By Jenny Marder                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/world/e
2023-07-06   2023-07-11 urope/britain-eton-college-changes.html         At Eton Tradition And a Hint Of Evolution   By Emma Bubola                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/arts/mu
                        sic/playlist-taylor-swift-speak-now-better-than A Taylor Rerelease a Posthumous Find and By Jon Pareles Giovanni
2023-07-07   2023-07-11 revenge.html                                    More New Music                              Russonello and Lindsay Zoladz   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/movies/
2023-07-07   2023-07-11 kids-movies-streaming.html                      Embark on a Journey With Warm Feelings      By Dina Gachman                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/us/linco                                                 By Johnny Diaz and Christine
2023-07-07   2023-07-11 ln-letter-civil-war-sold.html                   Lincoln Letter Sells at Auction             Hauser                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/well/eat
2023-07-07   2023-07-11 /cottage-cheese-health-benefits.html            The Curds Are Back                          By Dani Blum                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/well/mi Practicing Gratitude Can Be a Gift to
2023-07-07   2023-07-11 nd/gratitude-letters-journals-tips.html         Yourself                                    By Christina Caron              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/science Flightless Find Missing Wings on Alien
2023-07-08   2023-07-11 /wingless-beetle-alien.html                     Beetle Pose an Evolutionary Mystery         By Sofia Quaglia                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/health/s
2023-07-09   2023-07-11 eniors-substance-abuse.html                     Substance Abuse Rises Among Older People By Paula Span                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/sports/b
                        aseball/sean-murphy-jonah-heim-                 As Good at the Plate as They Are Behind the
2023-07-09   2023-07-11 catchers.html                                   Plate                                       By Scott Miller                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/us/mass
2023-07-09   2023-07-11 achusetts-overdue-book-119-years.html           A Book Is Returned To a Library In the End By Orlando Mayorquin             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/09/world/e
                        urope/this-paris-suburb-burned-before-has-      17 Years After Suburb Of Paris Burned Rage
2023-07-09   2023-07-11 anything-changed.html                           Engulfs Streets Again                       By Constant Mheut               TX 9-317-107   2023-09-01




                                                                                  Page 5465 of 5793
                        https://www.nytimes.com/2023/07/10/arts/des
2023-07-10   2023-07-11 ign/new-art-education-approach-chicago.html As Art Colleges Close a Museum Has an Idea By Zachary Small                 TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/10/arts/mu
2023-07-10   2023-07-11 sic/review-ted-hearne-farming-caramoor.html All the Information Worth Singing About     By Zachary Woolfe                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/arts/wri Writers Guild Calls Out Producer Who Defies
2023-07-10   2023-07-11 ters-strike-ryan-murphy-productions.html    Strike                                      By Matt Stevens                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/books/o
                        ppenheimer-american-prometheus-sherwin-
2023-07-10   2023-07-11 bird.html                                   A Biography 25 Years in the Making          By Andy Kifer                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/busines
                        s/economy/amazon-union-lawsuit-christian- Amazon Union Dissidents Challenge Its
2023-07-10   2023-07-11 smalls.html                                 Leadership                                  By Noam Scheiber                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/busines
                        s/economy/michael-barr-banking-regulations- Feds Vice Chair Suggests Bank Regulation    By Jeanna Smialek Emily Flitter
2023-07-10   2023-07-11 fed.html                                    Changes                                     and Rob Copeland                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/busines
                        s/media/the-new-york-times-sports-          The New York Times Plans To Disband Its By Katie Robertson and John
2023-07-10   2023-07-11 department.html                             Sports Desk                                 Koblin                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/climate Extreme Weather Fueled by Climate Change
2023-07-10   2023-07-11 /climate-change-extreme-weather.html        Is New Normal                               By David Gelles                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/climate Heat Waves in Europe Killed 61000 in 2022
2023-07-10   2023-07-11 /heat-waves-europe-deaths.html              Researchers Estimate                        By Delger Erdenesanaa             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/nyregio Benno Schmidt Jr Reforming Leader at Yale
2023-07-10   2023-07-11 n/benno-schmidt-jr-dead.html                and CUNY Dies at 81                         By Clay Risen                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/nyregio                                              By Liam Stack Jesse McKinley and
2023-07-10   2023-07-11 n/flooding-ny-vermont-new-england.html      Storm Ravages Hudson Valley And Vermont Kristin Chapman                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/nyregio Judge Should Weigh Contempt Charges Over By Chelsia Rose Marcius and
2023-07-10   2023-07-11 n/rikers-island-monitor-nyc.html            Rikers Monitor Says                         Hurubie Meko                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/opinion The Flawed Moral Logic of Sending Cluster
2023-07-10   2023-07-11 /cluster-munitions-ukraine-biden.html       Munitions to Ukraine                        By The Editorial Board            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/opinion
                        /ron-desantis-doesnt-know-whether-hes-
2023-07-10   2023-07-11 coming-or-going.html                        DeSantis Is No Trump or Boebert or          By Gail Collins and Bret Stephens TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/opinion
                        /socialism-workers-participation-labor-
2023-07-10   2023-07-11 market.html                                 No Socialism Isnt Making Americans Lazy By Paul Krugman                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/sports/b A Master Class That Can Often Leave
2023-07-10   2023-07-11 aseball/all-star-game.html                  AllStars StarStruck                         By Tyler Kepner                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/sports/g PGA Set to Learn Congress Doesnt Play
2023-07-10   2023-07-11 olf/pga-tour-liv-saudi-senate-hearing.html  PattyCake With Sports                       By Alan Blinder and Kevin Draper TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/10/sports/t Where Electronic Eye Stills Takes Back Seat
2023-07-10   2023-07-11 ennis/wimbledon-line-judges-hawkeye.html To the Human Eye                               By Matthew Futterman            TX 9-317-107     2023-09-01



                                                                               Page 5466 of 5793
                        https://www.nytimes.com/2023/07/10/technol                                              By Adam Satariano Monika
2023-07-10   2023-07-11 ogy/us-eu-data-privacy-deal.html            US and EU Seal a Deal on Sharing Data       Pronczuk and David McCabe        TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/10/theater/ Hope and a Title Role for a BrushedOff
2023-07-10   2023-07-11 malvolio-review.html                        Character                                   By Laura CollinsHughes           TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/10/us/calif Hilltop Homes Collapse Into Canyon After
2023-07-10   2023-07-11 ornia-collapsed-homes-palos-verdes.html     Epic Storms Lash Los Angeles County         By Corina Knoll and Shawn Hubler TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/10/us/calif Man in California Pleads Guilty to Murder
2023-07-10   2023-07-11 ornia-fentanyl-murder-conviction.html       After Fentanyl Death of a 15YearOld         By Michael Corkery               TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/10/us/heat- More Heat and Less Respite Is Expected in   By Jacey Fortin and David
2023-07-10   2023-07-11 wave-southwest.html                         the Southwest                               Montgomery                       TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/10/us/phila Philadelphia Police Detail Botched Shooting By Joel Wolfram and Campbell
2023-07-10   2023-07-11 delphia-shooting-police-response.html       Response                                    Robertson                        TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/10/us/polit US Holds Out Hand to China Trying to Avert By Edward Wong Keith Bradsher
2023-07-10   2023-07-11 ics/biden-china-diplomacy.html              Confrontation                               and Alan Rappeport               TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/10/us/polit Shared Connections for Two Men Late to the By Zolan KannoYoungs and Mark
2023-07-10   2023-07-11 ics/biden-king-charles.html                 Top                                         Landler                          TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/10/us/polit Prosecutor Rebuts IRS Account on Hunter
2023-07-10   2023-07-11 ics/david-weiss-hunter-biden-irs.html       Biden Case                                  By Glenn Thrush                  TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/10/us/polit Actor Enters Senate Race In Michigan From
2023-07-10   2023-07-11 ics/hill-harper-senate-michigan.html        the Left                                    By Jazmine Ulloa                 TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/10/us/polit Gymnasts Abuser Is Said To Be Stabbed in
2023-07-10   2023-07-11 ics/larry-nassar-stabbing-prison.html       Prison                                      By Glenn Thrush                  TX 9-317-107      2023-09-01

                        https://www.nytimes.com/2023/07/10/us/polit Erdogan Agrees To Back Sweden In Joining     By David E Sanger Steven Erlanger
2023-07-10   2023-07-11 ics/nato-biden-ukraine.html                 NATO                                         Ben Hubbard and Lara Jakes        TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/10/us/polit Haley Raises 73 Million Showing Strength
2023-07-10   2023-07-11 ics/nikki-haley-fundraising-2024.html       With Small Donors                            By Rebecca Davis OBrien          TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/10/us/polit Texas State Senator Joins Democratic Field
2023-07-10   2023-07-11 ics/roland-gutierrez-texas-ted-cruz.html    Seeking to Unseat Cruz                       By J David Goodman               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/10/world/a
2023-07-10   2023-07-11 sia/china-marriage-rate.html                In China Marriage Gets a Cold Shoulder       By Nicole Hong and Zixu Wang     TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/10/world/a Lethal Landslides and Monsoon Flooding
2023-07-10   2023-07-11 sia/india-monsoon-flooding-landslides.html Inundates India                               By Sameer Yasir and Hari Kumar   TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/10/world/e
                        urope/iceland-earthquake-volcano-
2023-07-10   2023-07-11 eruption.html                              New Eruption Of Volcano In Iceland            By Orlando Mayorquin             TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/10/world/e
                        urope/mark-rutte-netherlands-prime-        Dutch Leader Stepping Down Gave a Small       By Matina StevisGridneff and
2023-07-10   2023-07-11 minister.html                              Country Sway in EU                            Claire Moses                     TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/10/world/e Tentacles of Wagner Business Empire May       By Elian Peltier Ivan Nechepurenko
2023-07-10   2023-07-11 urope/prigozhin-empire-wagner-group.html Reach Beyond Moscows Control                    and Raja Abdulrahim                TX 9-317-107   2023-09-01




                                                                                Page 5467 of 5793
                        https://www.nytimes.com/2023/07/10/world/e Rebel Leaders Met With Putin At the
2023-07-10   2023-07-11 urope/putin-prigozhin-meeting-wagner.html Kremlin                                      By Paul Sonne                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/world/e 86 Migrants Are Rescued On a Journey From
2023-07-10   2023-07-11 urope/spain-migrant-ship-rescue.html        Africa                                     By Isabella Kwai              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/world/e
                        urope/ukraine-poland-volhynia-massacre-     Brutal Past Complicates Polands Welcome to
2023-07-10   2023-07-11 history.html                                Ukrainian Refugees                         By Andrew Higgins             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/world/e                                             By Melissa Eddy and Patrick
2023-07-10   2023-07-11 urope/ukraine-war-arctic-circle.html        Distant War Chills the Arctic Circle       Junker                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/world/
                        middleeast/israel-government-overhaul-      Israels Right Moves Ahead With Limits On
2023-07-10   2023-07-11 explained.html                              Judiciary                                  By Patrick Kingsley           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/sports/b
                        ob-huggins-claims-he-never-resigned-from-
2023-07-11   2023-07-11 west-virginia.html                          Huggins Claims That He Never Resigned      By Santul Nerkar              TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/10/sports/p Northwestern Fires Coach After Allegations
2023-07-11   2023-07-11 at-fitzgerald-northwestern-fired-hazing.html of Widespread Hazing Among Players         By Eduardo Medina            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/us/polit GOP Candidate Offers 20 Gift Cards for 1
2023-07-11   2023-07-11 ics/doug-burgum-donations-debate.html        Donations                                  By Anjali Huynh              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/busines Actors Union Could Soon Join Writers on a
2023-07-11   2023-07-11 s/media/actors-sag-strike-hollywood.html     Strike If a Deal Is Not Reached            By Nicole Sperling           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/health/c
2023-07-11   2023-07-11 hildhood-abuse-memory.html                   Memories Haunt Victims of Abuse            By Ellen Barry               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/insider/
2023-07-11   2023-07-11 real-estate-sexual-harassment.html           In Real Estate Women Bring a Reckoning     By Josh Ocampo               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/science
2023-07-11   2023-07-11 /menhaden-chesapeake-bay-fishing.html        Plenty of Fish in the Sea if Not Every Bay By Jon Hurdle                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/science
2023-07-11   2023-07-11 /us-canada-mining-pollution.html             Minings Threat to Water                    By Jim Robbins               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/sports/t No Matter How Far Apart Pegula and Her
2023-07-11   2023-07-11 ennis/wimbledon-jessica-pegula.html          Mother Share a Journey of Strength         By David Waldstein           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/us/readi
2023-07-11   2023-07-11 ng-math-test-scores-education-nwea.html      PandemicEra Learning Gaps Are Not Closing By Sarah Mervosh              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/dining/
2023-07-06   2023-07-12 easy-summer-recipes-dinner-party.html        A NearEffortless Summer Dinner Party       By David Tanis               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/dining/ In Georgia Summer Without Peaches Is Not
2023-07-06   2023-07-12 georgia-without-peaches-summer.html          So Sweet                                   By Kim Severson              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/dining/
2023-07-07   2023-07-12 masa-best-tortillas-gorditas-tetela.html     Fresh Masa Unlocks Mexican Flavors         By Rick A Martnez            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/health/s Sue Johanson Sex Talk Host Armed With
2023-07-07   2023-07-12 ue-johanson-dead.html                        Facts and Toys Dies at 92                  By Penelope Green            TX 9-317-107   2023-09-01




                                                                               Page 5468 of 5793
                        https://www.nytimes.com/2023/07/10/arts/mu
2023-07-10   2023-07-12 sic/madonna-celebration-tour-postponed.html Madonna Postpones Her Celebration Tour         By Ben Sisario               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/arts/sar Sarah Silverman Joins Suit Against OpenAI
2023-07-10   2023-07-12 ah-silverman-lawsuit-openai-meta.html           and Meta                                   By Zachary Small             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/arts/tele
2023-07-10   2023-07-12 vision/tv-twitter-end-of-an-era.html            A Frenetic Loop Loses Steam                By James Poniewozik          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/dining/
2023-07-10   2023-07-12 best-vegan-ice-cream.html                       PlantBased Ice Creams Keep Getting Better By Christina Morales          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/upshot/ Who Employs the Specialist You Use              By Reed Abelson and Margot
2023-07-10   2023-07-12 private-equity-doctors-offices.html             Increasingly Its a Private Equity Firm     SangerKatz                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/us/jame James W Lewis 76 Suspect in Deaths From
2023-07-10   2023-07-12 s-lewis-tylenol-poisonings-dead.html            CyanideLaced Tylenol in 1982               By Michael Levenson          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/us/llino A Stolen Spiritual Legacys Bumpy Road
2023-07-10   2023-07-12 is-state-museum-kenya-artifacts.html            Home                                       By Rebecca Carballo          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/arts/des
                        ign/climate-protests-museums-sentences-
2023-07-11   2023-07-12 art.html                                        When Protesters Take Aim at Art            By Zachary Small             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/arts/mu
2023-07-11   2023-07-12 sic/aix-en-provence-festival-france.html        Ups and Downs at AixenProvence Festival    By Joshua Barone             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/arts/mu Jury Rules That Pages Found in Couch Are By Ben Sisario and Ryan Patrick
2023-07-11   2023-07-12 sic/aretha-franklin-will-couch.html             Franklins Will                             Hooper                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/arts/mu
2023-07-11   2023-07-12 sic/taylor-swift-ticketmaster-france.html       Taylor Swift Concert Sales Stop in France  By Ben Sisario               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/automo
2023-07-11   2023-07-12 biles/collectibles/classic-car-shows.html       Taking a spin through some shows           By Norman Mayersohn          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/automo
                        biles/collectibles/classic-cars-auction-prices-
2023-07-11   2023-07-12 domestic-foreign.html                           Classic car collectors have Eurovision     By Rob Sass                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/automo
                        biles/collectibles/vintage-mercedes-pebble-
2023-07-11   2023-07-12 beach.html                                      A college project bound for Pebble Beach   By Rob Sass                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/briefing As Migration Rates Rise Global Backlash
2023-07-11   2023-07-12 /global-migration.html                          Spreads                                    By David Leonhardt           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/busines
2023-07-11   2023-07-12 s/bank-of-america-fine.html                     Junk Fees Cost Bank of America 150 Million By Emily Flitter             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/busines Nonprofit Is Set to Buy More Than 20 Papers
2023-07-11   2023-07-12 s/media/maine-newspapers-nonprofit.html         From Maine Publisher                       By Katie Robertson           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/busines A Film About Child Trafficking Takes On
2023-07-11   2023-07-12 s/sound-of-freedom-trafficking.html             Blockbusters                               By Marc Tracy                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/climate Is This the Epoch of Man Evidence Is at the
2023-07-11   2023-07-12 /anthropocene-epoch-crawford-lake.html          Bottom a Canadian Lake                     By Raymond Zhong             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/climate Study Details the Climate Change Down           By Raymond Zhong and Jamie
2023-07-11   2023-07-12 /chicago-underground-heat.html                  Below                                      Kelter Davis                 TX 9-317-107   2023-09-01




                                                                               Page 5469 of 5793
                        https://www.nytimes.com/2023/07/11/climate                                                By Christopher Flavelle and Rick
2023-07-11   2023-07-12 /climate-change-floods-preparedness.html     Floods Expose Failure to Meet Climate Threat Rojas                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/dining/
                        creative-flavors-classic-sundaes-and-        These Hot Ice Cream Spots Will Keep You
2023-07-11   2023-07-12 exceptional-soft-serve.html                  Cool                                         By Nikita Richardson             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/dining/
                        hainan-chicken-house-restaurant-sunset-park-
2023-07-11   2023-07-12 review-pete-wells.html                       The Chef Wanted a Simple Malaysian Place By Pete Wells                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/dining/
2023-07-11   2023-07-12 pie-shop-chicago-south-side.html             This Pie Shop Serves More Than Dessert       By Kayla Stewart                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/movies/
                        mission-impossible-dead-reckoning-part-one-
2023-07-11   2023-07-12 review.html                                  Its Another Giddy Thriller Of the Absurd     By Manohla Dargis                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/nyregio Bannon Is Ordered to Pay Firm That Got His
2023-07-11   2023-07-12 n/bannon-lawyers-trump.html                  Pardon                                       By Hurubie Meko                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/nyregio Fatal Cargo Ship Fire in Port Newark Is
2023-07-11   2023-07-12 n/new-jersey-cargo-ship-fire.html            Extinguished More Than Five Days Later       By Patrick McGeehan              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/nyregio Presidency Doesnt Shield Trump From
2023-07-11   2023-07-12 n/trump-carroll-lawsuit.html                 Carroll Suit Justice Dept Says               By Benjamin Weiser               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/opinion Speech We Loathe Is Speech We Must
2023-07-11   2023-07-12 /biden-covid-misinformation.html             Defend                                       By Bret Stephens                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/opinion
                        /hochul-supreme-court-domestic-
2023-07-11   2023-07-12 violence.html                                Another Threat to Domestic Abuse Survivors By Kathy Hochul                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/opinion                                                By Grey Anderson and Thomas
2023-07-11   2023-07-12 /nato-summit-vilnius-europe.html             NATO Isnt What It Says It Is                 Meaney                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/opinion The US Reassessment of Netanyahu Has
2023-07-11   2023-07-12 /netanyahu-israel-judiciary.html             Begun                                        By Thomas L Friedman             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/sports/b Forget the Diamond Players Now Focus On a
2023-07-11   2023-07-12 aseball/immaculate-grid.html                 9Square Grid                                 By Tyler Kepner                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/sports/b
2023-07-11   2023-07-12 asketball/nba-con-summer-league.html         When Branding Abounds Who Needs Games By Sopan Deb                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/sports/g PGA Official Says Saudis Could Invest More
2023-07-11   2023-07-12 olf/senate-hearing-pga-liv-saudi.html        Than 1 Billion in Merged Tours               By Alan Blinder and Kevin Draper TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/11/sports/t Harry Styles Will Have to Wait Svitolinas
2023-07-11   2023-07-12 ennis/wimbledon-elina-svitolina-ukraine.html Improbable Run Continues                   By Matthew Futterman             TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/11/technol Judge Nixes FTC Delay Of Purchase By         By Kellen Browning David
2023-07-11   2023-07-12 ogy/microsoft-activision-deal-ftc.html       Microsoft                                  McCabe and Karen Weise           TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/11/technol
                        ogy/threads-zuckerberg-meta-google-          Overnight Success of Twitter Rival Threads
2023-07-11   2023-07-12 plus.html                                    May Yet Slip Away                          By Mike Isaac                    TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/11/theater/ London Revival of Cabaret Plans a Broadway
2023-07-11   2023-07-12 cabaret-london-to-broadway.html              Run                                        By Michael Paulson               TX 9-317-107     2023-09-01




                                                                                Page 5470 of 5793
                        https://www.nytimes.com/2023/07/11/us/lesli 53 Years On Parole Given To a Killer For
2023-07-11   2023-07-12 e-van-houten-charles-manson-parole.html       Manson                                    By Derrick Bryson Taylor       TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/11/us/phoe In Phoenix Heat Becomes a Brutal Test of
2023-07-11   2023-07-12 nix-heat-wave.html                            Endurance                                 By Jack Healy                  TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/11/us/polit Virologists Deny to Panel That Fauci Swayed By Sheryl Gay Stolberg and
2023-07-11   2023-07-12 ics/covid-lab-leak-fauci.html                 Report Against Lab Leak Theory            Benjamin Mueller               TX 9-317-107     2023-09-01
                                                                                                                By Nicholas Nehamas Rebecca
                        https://www.nytimes.com/2023/07/11/us/polit DeSantis Vows Effort To Finance Campaign Davis OBrien and Shane
2023-07-11   2023-07-12 ics/desantis-donations-trump.html             Wont Resort to Tricks                     Goldmacher                     TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/11/us/polit
                        ics/gal-luft-hunter-biden-indictment-justice- Man Alleged To Have Data On Bidens Is
2023-07-11   2023-07-12 department.html                               Indicted                                  By Glenn Thrush                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/11/us/polit Schumer Wants Courts to Eliminate
2023-07-11   2023-07-12 ics/schumer-judge-selection-texas.html        SingleJudge Divisions                     By Abbie VanSickle             TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/11/us/polit Trump Bid to Delay Florida Trial Poses Key By Alan Feuer and Maggie
2023-07-11   2023-07-12 ics/trump-documents-trial-postponement.html Early Test for Judge                       Haberman                        TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/11/us/polit Picking Fights in Iowa Trump Risks            By Shane Goldmacher and Maggie
2023-07-11   2023-07-12 ics/trump-kim-reynolds-iowa.html            Alienating Potential Allies for 2024 Caucuses Haberman                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/us/redis Utahs Supreme Court Weighs State
2023-07-11   2023-07-12 tricting-map-utah-salt-lake-city.html       Gerrymandering Case                           By Michael Wines               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/us/writ During a Strike a Hollywood Diner Becomes
2023-07-11   2023-07-12 ers-strike-hollywood-diner.html             a Different Kind of Writers Room              By Corina Knoll                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/world/a Its Been Like Hell Sudan City at Crux of
2023-07-11   2023-07-12 frica/sudan-war.html                        Wars New Phase                                By Abdi Latif Dahir            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/world/a
                        frica/uganda-president-crimes-against-      Ugandan Leader and Son Accused of Crimes
2023-07-11   2023-07-12 humanity.html                               Against Humanity                              By Abdi Latif Dahir            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/world/a Japan Lifts Restroom Restriction for Trans
2023-07-11   2023-07-12 sia/japan-transgender-supreme-court.html    Woman                                         By Motoko Rich and Hikari Hida TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/world/a Unusually Heavy Rain Brings Floods and
2023-07-11   2023-07-12 sia/japan-weather-rain-floods.html          Landslides in Japan                           By John Yoon and Hisako Ueno   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/world/a North Korea Issues Threats Before Visit By
2023-07-11   2023-07-12 sia/north-korea-us-submarine.html           US Sub                                        By Choe SangHun                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/world/e US Wary of Giving Kyiv LongRange Missiles
2023-07-11   2023-07-12 urope/atacms-missiles-ukraine-us.html       Even as Allies Provide Them                   By Lara Jakes                  TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/11/world/e Second Claim Of Abuse Puts New Pressure
2023-07-11   2023-07-12 urope/bbc-presenter-photos-dating-app.html On the BBC                                 By Mark Landler                  TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/11/world/e Blessings Are Part of Brewerys Bottling
2023-07-11   2023-07-12 urope/england-trappist-beer.html           Routine                                    By Stephen Castle                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/11/world/e Erdogans Reversal on Sweden Signals        By Ben Hubbard and Zolan
2023-07-11   2023-07-12 urope/erdogan-sweden-nato-allies.html      Mending of Turkish Ties With West          KannoYoungs                      TX 9-317-107     2023-09-01




                                                                               Page 5471 of 5793
                        https://www.nytimes.com/2023/07/11/world/e                                                By Johanna Lemola and Aaron
2023-07-11   2023-07-12 urope/riikka-purra-sweden-racist-posts.html Finnish Deputy Voices Regret for Racist Posts Boxerman                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/world/e
                        urope/russia-ukraine-counteroffensive-                                                    By Andrew E Kramer and David
2023-07-11   2023-07-12 trenches.html                               Russia Leaves Rotting Bodies And Old Socks Guttenfelder                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/world/e Without Details NATO Vows to Add               By Steven Erlanger David E Sanger
2023-07-11   2023-07-12 urope/ukraine-nato-summit-biden.html        Ukraine Someday                               and Lara Jakes                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/world/
                        middleeast/israel-protests-judicial-        Thousands Protest After Israeli Government
2023-07-11   2023-07-12 overhaul.html                               Moves on Judicial Reform                      By Patrick Kingsley               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/us/polit Republicans Press Culture War Fights on
2023-07-12   2023-07-12 ics/defense-bill-republicans.html           Defense Bill Imperiling Its Passage           By Karoun Demirjian               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/us/verm As Floodwaters Recede the Optimism of
2023-07-12   2023-07-12 ont-flooding-damage-rescues.html            Many Vermonters Is Retreating Too             By Jenna Russell                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/busines
2023-07-12   2023-07-12 s/england-high-street-retail-recovery.html  How to Fix Main Street                        By Eshe Nelson                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/insider/ From 400 Feet Above a Problem Becomes
2023-07-12   2023-07-12 lake-okeechobee-photography.html            Clear                                         By Terence McGinley               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/sports/c In the Mountains Of Colombia Cycling Takes
2023-07-12   2023-07-12 ycling/tour-de-france-colombia.html         Center Stage                                  By James Wagner                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/us/polit As Energy Transition Ramps Up Fossil Fuel
2023-07-12   2023-07-12 ics/coal-gas-workers-transition.html        Workers May Be Left Behind                    By Madeleine Ngo                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/26/technol Tutoring Bots Get a Tryout in Newark
2023-06-26   2023-07-13 ogy/newark-schools-khan-tutoring-ai.html    Classrooms                                    By Natasha Singer                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/style/ha What Men Should Know Before Dyeing Their
2023-07-06   2023-07-13 ir-dye-gray-men-de-blasio.html              Hair                                          By Frank Rojas                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/06/t-
2023-07-06   2023-07-13 magazine/paris-dinner-party-we-are-ona.html People Places Things                        By Julia Sherman                  TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/08/sports/o With War as Backdrop Russian Sports
2023-07-08   2023-07-13 lympics/russia-ukraine-olympics-fencing.html Drama Deepens in the US                    By Jer Longman                    TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/09/opinion A Psychedelic Holds Promise for Cult
2023-07-09   2023-07-13 /ketamine-cults-nxivm.html                   Survivors                                  By Maia Szalavitz                 TX 9-317-107     2023-09-01
                        https://www.nytimes.com/interactive/2023/07/
                        09/magazine/robert-downey-jr-interview-
2023-07-09   2023-07-13 oppenheimer.html                             Robert Downey Jrs PostMarvel Balancing Act By David Marchese                 TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/10/style/m
2023-07-10   2023-07-13 agnolia-pearl-clothing.html                  A Designer Puts Tear Into Wear             By Kayleen Schaefer               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/10/style/pa
2023-07-10   2023-07-13 ris-couture-fashion-shows.html               Heads on a Swivel To Take It All In        By Simbarashe Cha                 TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/11/arts/brit Britney Spears Memoir Is Planned for
2023-07-11   2023-07-13 ney-spears-memoir.html                       October                                    By Julia Jacobs                   TX 9-317-107     2023-09-01




                                                                                Page 5472 of 5793
                        https://www.nytimes.com/2023/07/11/arts/tele New Host Of Top Chef Had a Taste Of
2023-07-11   2023-07-13 vision/top-chef-kristen-kish-new-host.html     Victory                                      By Matt Stevens            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/health/c Coronavirus Spread to Deer And Among
2023-07-11   2023-07-13 oronavirus-deer-zoonotic.html                  Them US Says                                 By Emily Anthes            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/movies/ Ellen Hovde 97 Who Helped Shape A Cult
2023-07-11   2023-07-13 ellen-hovde-dead.html                          Classic Dies                                 By Neil Genzlinger         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/opinion
                        /cambodia-elections-hun-sen-hun-manet-         Some of the Worst Troll Armies Are Gaining
2023-07-11   2023-07-13 facebook.html                                  Ground                                       By Samuel Woolley          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/style/du
2023-07-11   2023-07-13 chess-podcast-belvoir-castle-rutland.html      Gotta Save the Castle Start a Podcast        By Elizabeth Paton         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/us/iowa-Iowa Lawmakers Send Restrictive 6Week
2023-07-11   2023-07-13 republicans-special-session.html               Abortion Bill to the Governor                By Mitch Smith             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/world/e
                        urope/miss-netherlands-rikkie-valerie-         Trans Woman Wins Crown To Represent
2023-07-11   2023-07-13 kolle.html                                     Netherlands                                  By Claire Moses            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/technol
2023-07-12   2023-07-13 ogy/lina-khan-ftc-strategy.html                FTC Losses Raise Doubts On Strategy          By Cecilia Kang            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/arts/dan
2023-07-12   2023-07-13 ce/review-pilobolus-joyce-theater.html         Time to Celebrate a Belated 50th Anniversary By Gia Kourlas             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/arts/em
2023-07-12   2023-07-13 my-nominations-hbo-succession.html             Succession Grabs Most Emmy Nominations John Koblin                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/arts/mu
                        sic/toshi-reagon-parable-of-the-sower-lincoln-
2023-07-12   2023-07-13 center-opera.html                              Singing Through Dystopia                     By Salamishah Tillet       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/arts/tele
                        vision/emmy-nominations-snubs-                 Some Inexplicable BoxChecking on Voter
2023-07-12   2023-07-13 surprises.html                                 Ballots                                      By Mike Hale               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/arts/tele
2023-07-12   2023-07-13 vision/emmy-nominees-list-2023.html            2023 Emmy Nominees                           By Rachel Sherman          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/arts/tele
                        vision/full-circle-steven-soderbergh-ed-
2023-07-12   2023-07-13 solomon.html                                   Collaborative Effort Reshapes Full Circle    By Elisabeth Vincentelli   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/arts/the-
2023-07-12   2023-07-13 shed-ceo-meredith-max-hodges.html              The Shed Announces Next Chief Executive By Robin Pogrebin               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/books/r
2023-07-12   2023-07-13 eview/milan-kundera-books.html                 Erotic Meets Subversive In Kunderas Work By Dwight Garner               TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/12/busines Slowing Costs Offer Relief To Consumers
2023-07-12   2023-07-13 s/economy/inflation-economy-fed-rates.html and the Fed                                 By Jeanna Smialek               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/busines Gerald C Meyers 94 Is Dead CEO Paved Way
2023-07-12   2023-07-13 s/gerald-c-meyers-dead.html                for the SUV                                 By Neal E Boudette              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/busines As Disney Struggles Igers Reign Is Extended
2023-07-12   2023-07-13 s/media/disney-bob-iger.html               Through 2026                                By Brooks Barnes                TX 9-317-107   2023-09-01




                                                                                   Page 5473 of 5793
                                                                   Prime a Drink Fueled by YouTube Influencers
                        https://www.nytimes.com/2023/07/12/busines And a Load of Caffeine Is Drawing a
2023-07-12   2023-07-13 s/prime-drink-fda-caffeine.html            Backlash                                    By Chang Che                    TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/12/busines                                              By Alan Feuer and Jeremy W
2023-07-12   2023-07-13 s/ray-epps-fox-tucker-carlson-lawsuit.html  Fox News Faces Another Defamation Suit      Peters                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/busines Wall Streets Recession Warning Is Flashing
2023-07-12   2023-07-13 s/recession-yield-curve-rates.html          but Some Wonder if Its Wrong                By Joe Rennison                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/climate EPA Proposes Stricter Rules on the Removal
2023-07-12   2023-07-13 /epa-lead-dust-homes.html                   of LeadBased Paint Dust                     By Coral Davenport               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/climate European Lawmakers Pass Nature Restoration By Monika Pronczuk and Catrin
2023-07-12   2023-07-13 /europe-nature-restoration-law.html         Bill After Bitter Fight                     Einhorn                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/climate In Florida an Ocean as Hot as Bath Water Is
2023-07-12   2023-07-13 /florida-ocean-temperatures-reefs.html      Threatening the Coral Reefs                 By Catrin Einhorn and Elena Shao TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/climate West Virginia Pipeline Is Halted Amid
2023-07-12   2023-07-13 /mountain-valley-pipeline-courts.html       Conflict                                    By Coral Davenport               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/climate A Coat of Paint May Hold a Key To a Cool
2023-07-12   2023-07-13 /white-paint-climate-cooling.html           Planet                                      By Cara Buckley                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/health/ Bias Imperils Black Women In Pregnancy UN By Emily Baumgaertner and Farnaz
2023-07-12   2023-07-13 maternal-deaths-americas-un.html            Finds                                       Fassihi                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/health/t ER Visits for Teenage Girls Surged During
2023-07-12   2023-07-13 een-girls-depression-suicide.html           Pandemic                                    By Ellen Barry                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/nyregio New Price Tag to Fix Citys Public Housing
2023-07-12   2023-07-13 n/nyc-housing-authority-nycha.html          Almost 80 Billion                           By Mihir Zaveri                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/nyregio Officials Say Adams Idled As Smoke Crisis
2023-07-12   2023-07-13 n/wildfire-smoke-nyc-response.html          Escalated                                   By Michael Gold                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/opinion
2023-07-12   2023-07-13 /gun-violence-mass-shooting.html            We Cant Just Shoot Our Way Out of This      By Gail Collins                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/opinion
2023-07-12   2023-07-13 /nato-putin-ukraine-baltics.html            What the Experts Say About Managing Putin By Nicholas Kristof                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/science Otter With a Penchant For Hanging 10 Is
2023-07-12   2023-07-13 /sea-otter-surfboard.html                   Taking Surfboards in California             By Annie Roth                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/sports/b On Night Filled With Stars ExCastoff Shines
2023-07-12   2023-07-13 aseball/elias-diaz-all-star-game.html       Most of All                                 By Tyler Kepner                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/sports/g
2023-07-12   2023-07-13 olf/scottish-open-course.html               The tournaments notoriety rises             By Paul Sullivan                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/sports/g
2023-07-12   2023-07-13 olf/scottish-open-players.html              5 players to watch in Scotland              By Michael Arkush                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/sports/g
2023-07-12   2023-07-13 olf/xander-schauffele-scottish-open.html    Looking for a return to form                By Paul Sullivan                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/style/da Upstart Catchphrase Puts I Heart NY on
2023-07-12   2023-07-13 ddys-little-meatball.html                   Notice                                      By Anna Kod                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/style/su In This Therapy Sometimes Clothes Come
2023-07-12   2023-07-13 rrogate-partners.html                       Off                                         By Gina Cherelus                 TX 9-317-107   2023-09-01




                                                                               Page 5474 of 5793
                        https://www.nytimes.com/2023/07/12/technol
2023-07-12   2023-07-13 ogy/personaltech/meta-threads-review.html How Threads Stacks Up Against Twitter          By Brian X Chen and Mike Isaac     TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/12/theater/
2023-07-12   2023-07-13 the-whos-tommy-goodman-chicago.html          Tommy the Resurrection                      By Julia Jacobs                    TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/12/us/idah University of Idaho Pauses Demolition of
2023-07-12   2023-07-13 o-murders-house-demolition.html              Murder Site                                 By Nicholas BogelBurroughs         TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/12/us/jerio After Months on the Run Murderer Released
2023-07-12   2023-07-13 d-price-south-carolina-fugitive-arrest.html  in Secret Deal Is Caught                    By Rick Rojas                      TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/12/us/park Judge in Florida to Allow Reenactment of
2023-07-12   2023-07-13 land-school-shooting-re-enactment.html       Shooting                                    By Patricia Mazzei                 TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/12/us/polit
                        ics/agriculture-department-emissions-
2023-07-12   2023-07-13 climate.html                                 US to Track Emissions From Agriculture      By Linda Qiu                       TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/12/us/polit
                        ics/china-state-department-emails-microsoft-                                             By Julian E Barnes and Edward
2023-07-12   2023-07-13 hack.html                                    Hackers From China Penetrated US Emails     Wong                               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/12/us/polit
                        ics/christopher-wray-fbi-house-judiciary-    Director Defends the FBI To Combative       By Adam Goldman and Glenn
2023-07-12   2023-07-13 committee.html                               House Panel                                 Thrush                             TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/12/us/polit FarRight Republicans Seek to Defund
2023-07-12   2023-07-13 ics/defense-bill-republicans-ukraine-war.html Ukraine                                     By Karoun Demirjian                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/us/polit                                               By Nicholas Nehamas and Maggie
2023-07-12   2023-07-13 ics/desantis-fox-news-rupert-murdoch.html DeSantis Is Facing A Tougher Fox News           Haberman                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/us/polit
2023-07-12   2023-07-13 ics/desantis-trump-iowa-debates.html          DeSantis Hits Trump for Skipping Iowa Event By Nicholas Nehamas                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/us/polit
                        ics/georgia-democrat-republican-mesha-        Party Switch By Democrat Makes History In
2023-07-12   2023-07-13 mainor.html                                   Georgia                                     By Neil Vigdor                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/us/polit A Warning for Democrats GOP Led in
2023-07-12   2023-07-13 ics/republicans-democrats-2024-pew.html       Midterm Turnout                             By Reid J Epstein and Ruth Igielnik TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/world/a
                        frica/mozambique-manuel-chang-extradite- ExMozambique Official Sent to US to Face
2023-07-12   2023-07-13 south-africa.html                             Charges in 2 Billion Loan Scam              By John Eligon                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/world/a Violence Reigns As Drug Cartels Rise in        By Julie Turkewitz and Victor
2023-07-12   2023-07-13 mericas/ecuador-drug-cartels.html             Ecuador                                     Moriyama                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/world/e Biden Braces NATO for Slog Against             By David E Sanger and Zolan
2023-07-12   2023-07-13 urope/biden-nato-lithuania-ukraine.html       Russia                                      KannoYoungs                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/world/e BBC Says Person Who Was Suspended Is
2023-07-12   2023-07-13 urope/huw-edwards-bbc-police.html             Top News Anchor                             By Mark Landler                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/world/e Milan Kundera 94 Dies Czech Author Gave
2023-07-12   2023-07-13 urope/milan-kundera-dead.html                 Comical Flair to Despair                    By Daniel Lewis                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/world/e Despite a Show of Unity at the NATO
2023-07-12   2023-07-13 urope/nato-summit-ukraine-biden.html          Summit Divisions Remain                     By Steven Erlanger                  TX 9-317-107   2023-09-01



                                                                                 Page 5475 of 5793
                        https://www.nytimes.com/2023/07/12/world/e
                        urope/sergei-surovikin-russian-general-
2023-07-12   2023-07-13 missing.html                                      Fate of Chiefs Has Shaken Russias Army         By Paul Sonne                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/world/e On the Front Line of a War Over Bullfighting
2023-07-12   2023-07-13 urope/spain-bullfights.html                       Traditions                                     By Jason Horowitz                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/world/
                        middleeast/israel-judicial-protests-              Israel Judicial Plan Fuels Fears of Salami
2023-07-12   2023-07-13 explained.html                                    Tactics                                        By Isabel Kershner                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/world/
                        middleeast/mahmoud-abbas-jenin-israel-            Palestinian Leader Visits City Israel Targeted By Patrick Kingsley and Hiba
2023-07-12   2023-07-13 palestinian-authority.html                        in 2Day Raid                                   Yazbek                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/us/verm Urgent Call in Vermont for Better                     By Jenna Russell Richard Beaven
2023-07-13   2023-07-13 ont-flooding-tropical-storm-irene.html            Preparedness                                   and Hilary Swift                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/insider/
                        schools-out-but-education-news-churns-
2023-07-13   2023-07-13 on.html                                           Schools Out but Education News Churns On By Mathew Brownstein                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/sports/t These Ushers Have a Mission Disarm With By David Waldstein and Jane
2023-07-13   2023-07-13 ennis/wimbledon-military-stewards.html            Charm                                          Stockdale                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/sports/t
                        ennis/wimbledon-svitolina-vondrousova-            A Smasher and a Slicer Round Out the
2023-07-13   2023-07-13 jabeur-sabalenka.html                             Semifinals                                     By David Waldstein                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/us/polit                                                      By Alan Rappeport and Ana
2023-07-13   2023-07-13 ics/us-china-investment-restrictions.html         Beijing Wary Of US Curbs On Investing          Swanson                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/climate Lessons Learned in Covering the Climate
2023-07-07   2023-07-14 /somini-sengupta-climate-forward.html             Crisis                                         By Somini Sengupta                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/technol
                        ogy/what-to-know-chatgpt-code-                    ChatGPTs New Code Interpreter Feature Is
2023-07-11   2023-07-14 interpreter.html                                  Big Step Forward in Data Analysis              By Yiwen Lu                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/us/ruth- Ruth Fitzpatrick 90 Leader Who Pushed the
2023-07-11   2023-07-14 fitzpatrick-dead.html                             Vatican to Ordain Women                        By Richard Sandomir               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/arts/kn
2023-07-12   2023-07-14 ow-your-enemy-lawsuit.html                        Suit Dropped Against LeftWing Podcast          By Jennifer Schuessler            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/arts/mu
                        sic/finnish-official-cello-solo-for-ukraine-irks- From Finland a Musical Show of Support for
2023-07-12   2023-07-14 russia.html                                       Ukraine                                        By Javier C Hernndez              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/movies/
2023-07-12   2023-07-14 sound-of-freedom-review.html                      Sound of Freedom                               By Glenn Kenny                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/opinion
2023-07-12   2023-07-14 /syria-refugees-turkey.html                       Scapegoated by Everyone Wanted by No One By Joshua Levkowitz                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/theater/
                        carolina-bianchi-avignon-noiva-boa-noite-
2023-07-12   2023-07-14 cinderella.html                                   Sexual Trauma Revisited Onstage                By Laura Cappelle                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/world/e
                        urope/naples-artwork-michelangelo-pistoletto- Vandal Sets Fire to Public Artwork by One of
2023-07-12   2023-07-14 fire.html                                         Italys Top Living Artists                      By Elisabetta Povoledo            TX 9-317-107   2023-09-01



                                                                                    Page 5476 of 5793
                        https://www.nytimes.com/2023/07/12/arts/des
2023-07-13   2023-07-14 ign/apocalypse-anxiety-the-musical.html        Songs to Accompany A Global Apocalypse       By Kim Crdova                   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/13/arts/des
                        ign/call-it-dance-puppetry-or-sculpture-it-is- Sculpture or Puppetry 600 Strings Are
2023-07-13   2023-07-14 eerily-beautiful.html                          Attached                                     By Dawn Chan                    TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/13/arts/des
2023-07-13   2023-07-14 ign/pepon-osorio-new-museum.html               An Artists Wounded Heart                     By Holland Cotter               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/13/arts/des
2023-07-13   2023-07-14 ign/spider-man-jeff-koons-art.html             When SpiderMan Met Jeff Koons                By Max Lakin                    TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/13/arts/tele
                        vision/full-circle-max-goliath-wilt-
2023-07-13   2023-07-14 chamberlain.html                               This Weekend I Have                          By Margaret Lyons               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/13/arts/tele
                        vision/lola-tung-the-summer-i-turned-          The Actress Grows Up As Does Her
2023-07-13   2023-07-14 pretty.html                                    Character                                    By Christopher Kuo              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/13/arts/tele
2023-07-13   2023-07-14 vision/video-games-moma.html                   The Firewall Between Players and Designers   By Zachary Small                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/13/books/ Mary Ann Hoberman 92 Dies Enticed
2023-07-13   2023-07-14 mary-ann-hoberman-dead.html                    Children With Rhymes                         By Neil Genzlinger              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/13/busines
                        s/celsius-cryptocurrency-founder-                                                           By David YaffeBellany and
2023-07-13   2023-07-14 arrested.html                                  Founder of Crypto Firm Celsius Is Arrested   Matthew Goldstein               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/13/busines Ripple Scores Win for Crypto in Its Battle
2023-07-13   2023-07-14 s/crypto-ripple-ruling.html                    With Regulators                              By David YaffeBellany           TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/13/busines
2023-07-13   2023-07-14 s/germany-china-trade.html                     Germany Warns of Dependence on China         By Melissa Eddy                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/13/busines Carlo Vittorini 94 Longtime Publisher Who
2023-07-13   2023-07-14 s/media/carlo-vittorini-dead.html              Helped Parades Circulation Soar              By Richard Sandomir              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/busines                                                  By Brooks Barnes John Koblin and
2023-07-13   2023-07-14 s/media/sag-aftra-writers-strike.html          2nd Strike Grinds Studios to a Halt          Nicole Sperling                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/busines Oil Prices Creep Higher After Cuts Led by
2023-07-13   2023-07-14 s/oil-prices-saudi-arabia-russia.html          Saudis                                       By Stanley Reed                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/13/busines Price Increases by Pepsico Lead to a Big
2023-07-13   2023-07-14 s/pepsico-earnings-2q-2023.html                Jump in Profits                              By J Edward Moreno              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/13/busines Texas Banning of TikTok Is Challenged as a
2023-07-13   2023-07-14 s/texas-tiktok-ban-challenge.html              Threat To Academic Freedom                   By Sapna Maheshwari             TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/13/busines Treasury Taps Architect Of Sanctions to
2023-07-13   2023-07-14 s/treasury-andrea-gacki-financial-crimes.html Direct Financial Crimes Team                  By Alan Rappeport               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/13/climate Republicans Assail Kerrys Climate Strategy
2023-07-13   2023-07-14 /kerry-climate-china-republicans.html         Before Talks With China                       By Lisa Friedman                TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/13/climate Leaks Can Make Natural Gas as Bad for the
2023-07-13   2023-07-14 /natural-gas-leaks-coal-climate-change.html Climate as Coal New Research Says               By HIROKO TABUCHI               TX 9-317-107    2023-09-01




                                                                                  Page 5477 of 5793
                        https://www.nytimes.com/2023/07/13/health/a Aspartame Could Cause Cancer WHO
2023-07-13   2023-07-14 spartame-cancer-who-sweetener.html          Agency Says                               By Christina Jewett              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/health/
2023-07-13   2023-07-14 otc-birth-control-pill.html                 FDA Approves Selling Of Pill Over Counter By Pam Belluck                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/13/movies/ The Last Witnesses Of Abrupt Carnage In a
2023-07-13   2023-07-14 20-days-in-mariupol-review-ukraine-war.html Martyred City                                By Jason Farago               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/movies/
2023-07-13   2023-07-14 afire-review.html                             Hes Bad Company but in a Good Way          By Manohla Dargis             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/movies/
2023-07-13   2023-07-14 bird-box-barcelona-review.html                Bird Box Barcelona                         By Jeannette Catsoulis        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/movies/
2023-07-13   2023-07-14 black-ice-review.html                         Black Ice                                  By Nicolas Rapold             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/movies/
2023-07-13   2023-07-14 earth-mama-review-savanah-leaf.html           A Mothers Struggle To Reunite Her Family By Manohla Dargis               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/movies/
2023-07-13   2023-07-14 final-cut-review.html                         Japanese ZomCom Gets a French Remake       By Beatrice Loayza            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/movies/
2023-07-13   2023-07-14 gray-matter-review.html                       Gray Matter                                By Elisabeth Vincentelli      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/movies/
                        have-you-got-it-yet-the-story-of-syd-barrett- Have You Got It Yet The Story of Syd
2023-07-13   2023-07-14 and-pink-floyd-review.html                    Barrett and Pink Floyd                     By Glenn Kenny                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/movies/
2023-07-13   2023-07-14 lakota-nation-vs-united-states-review.html    Lakota Nation vs United States             By Concepcin de Len           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/movies/
2023-07-13   2023-07-14 the-five-demands-review.html                  The Five Demands                           By Claire Shaffer             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/movies/ Attempting Journeys to the Centers of Their
2023-07-13   2023-07-14 the-miracle-club-review.html                  Lives                                      By Lisa Kennedy               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/movies/ Into the Woods for Line Readings and Poison
2023-07-13   2023-07-14 theater-camp-review.html                      Ivy                                        By Amy Nicholson              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/movies/
2023-07-13   2023-07-14 two-tickets-to-greece-review.html             Two Tickets to Greece                      By Ben Kenigsberg             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/nyregio
                        n/housing-vouchers-ny-council-eric-           New York Council Votes To Override         By Jeffery C Mays and Mihir
2023-07-13   2023-07-14 adams.html                                    Housing Veto                               Zaveri                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/nyregio
                        n/new-rochelle-police-shooting-jarrell-       Man in New Rochelle Is Shot Dead by Police
2023-07-13   2023-07-14 garris.html                                   After Report of Stolen Fruit               By Erin Nolan                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/nyregio
2023-07-13   2023-07-14 n/redistricting-democrats-ny.html             Court Orders Map Redraw In New York        By Nicholas Fandos            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/opinion Human Beings Are Soon Going to Be
2023-07-13   2023-07-14 /ai-chatgpt-consciousness-hofstadter.html     Eclipsed                                   By David Brooks               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/opinion Democrats Its OK to Talk About Hunter
2023-07-13   2023-07-14 /biden-hunter-joe-trump.html                  Biden                                      By Frank Bruni                TX 9-317-107   2023-09-01




                                                                                Page 5478 of 5793
                        https://www.nytimes.com/2023/07/13/opinion JudgeShopping Shouldnt Decide Online
2023-07-13   2023-07-14 /federal-judge-biden-social-media.html      Speechs Fate                                 By Kate Klonick                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/science Evelyn M Witkin 102 Who Discovered How
2023-07-13   2023-07-14 /evelyn-m-witkin-dead.html                  DNA Repairs Itself Dies                      By Clay Risen                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/sports/b As Judge Prepares To Return Yankees Hold
2023-07-13   2023-07-14 aseball/aaron-judge-yankees-defense.html    Their Breath                                 By Scott Miller                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/sports/b The Mets Hope to Keep This Thing Afloat but
2023-07-13   2023-07-14 aseball/mets-second-half.html               the Ship Is Leaky                            By Scott Miller                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/sports/g PGA Tour and Saudi Fund Drop Key Part of By Alan Blinder Lauren Hirsch and
2023-07-13   2023-07-14 olf/pga-tour-liv-saudi-merger-deal.html     Deal                                         Kevin Draper                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/sports/o
                        lympics/gabby-douglas-gymnastics-
2023-07-13   2023-07-14 comeback.html                               Douglas a Trailblazer Announces Her Return By Claire Fahy                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/sports/t Mens Semifinalists Decide to Embrace Their
2023-07-13   2023-07-14 ennis/wimbledon-alcaraz-medvedev.html       Vulnerability                                By Matthew Futterman            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/sports/t Although Svitolinas Charmed Run Has Ended By David Waldstein and Jane
2023-07-13   2023-07-14 ennis/wimbledon-svitolina-ukraine.html      Her Twin Causes Endure                       Stockdale                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/technol FTC Opens Inquiry Into The Security Of
2023-07-13   2023-07-14 ogy/chatgpt-investigation-ftc-openai.html   OpenAI                                       By Cecilia Kang and Cade Metz   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/technol FTCs Chair Criticized Over Antitrust Case
2023-07-13   2023-07-14 ogy/ftc-lina-khan-hearing.html              Losses                                       By Cecilia Kang                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/us/calif Data Science Algebra II A Math Test In
2023-07-13   2023-07-14 ornia-math-data-science-algebra.html        California                                   By Amy Harmon                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/us/pitts
                        burgh-synagogue-trial-gunman-death-         Pittsburgh Synagogue Shooter Is Eligible for By Jon Moss and Campbell
2023-07-13   2023-07-14 penalty.html                                Death Penalty                                Robertson                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/us/polit
                        ics/biden-supreme-court-rulings-court-      Biden Resists Pressure To Slam Supreme
2023-07-13   2023-07-14 packing.html                                Court And Just Raps Rulings                  By Michael D Shear              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/us/polit
                        ics/butcher-jan-6-sentence-kyle-            Butcher Gets Seven Years After Attacks On
2023-07-13   2023-07-14 fitzsimons.html                             Jan 6                                        By Alan Feuer and Zach Montague TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/us/polit
                        ics/cbp-border-migrants-immigration-el-
2023-07-13   2023-07-14 paso.html                                   Created After 911 Agency Has New Pressures By Eileen Sullivan                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/us/polit White House Cocaine Inquiry Is Closed
2023-07-13   2023-07-14 ics/cocaine-white-house.html                Without Any Suspects                         By Eileen Sullivan              TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/13/us/polit Women in Congress Put Equal Rights
2023-07-13   2023-07-14 ics/democrats-equal-rights-amendment.html Amendment Back on the Agenda                By Annie Karni                   TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/13/us/polit
2023-07-13   2023-07-14 ics/georgia-jail-death-investigation.html   Georgia Jail Scrutinized After a Death    By Linda Qiu                     TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/13/us/polit House Votes to Revoke Military
2023-07-13   2023-07-14 ics/house-republicans-defense-bill.html     AbortionAccess Guarantee                  By Karoun Demirjian              TX 9-317-107     2023-09-01




                                                                                 Page 5479 of 5793
                        https://www.nytimes.com/2023/07/13/us/polit                                           By Michael S Schmidt and Maggie
2023-07-13   2023-07-14 ics/kushner-grand-jury-trump.html           Jan 6 Inquiry Asks if Trump Admitted Loss Haberman                        TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/13/us/polit ProTrump Super PAC Made Unusual 155000 By Shane Goldmacher and Maggie
2023-07-13   2023-07-14 ics/melania-trump-payment.html              Payment to His Wife                       Haberman                        TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/13/us/polit
                        ics/prosecutors-trump-documents-trial-      Prosecutors Ask Judge To Dismiss Trump
2023-07-13   2023-07-14 delay.html                                  Filing                                    By Alan Feuer                   TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/13/us/polit Infighting and Bigotry Claims Test Latino
2023-07-13   2023-07-14 ics/puerto-rico-statehood-lulac.html        Civil Rights Group                        By Jazmine Ulloa                TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/13/us/polit Bipartisan Measure Aims to Force
2023-07-13   2023-07-14 ics/ufo-records-schumer.html                Declassification of UFO Records           By Julian E Barnes              TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/13/us/texa This Was a Different Kind of Heat In Texas
2023-07-13   2023-07-14 s-heat-deaths-webb-county.html              Its Getting More Deadly                   By J David Goodman              TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/13/world/a Mass Grave With Dozens of Bodies
2023-07-13   2023-07-14 frica/mass-grave-darfur-sudan.html          Uncovered in Sudan UN Says                By Abdi Latif Dahir             TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/13/world/a
                        mericas/guatemala-election-party-           Election in Guatemala Is Thrown Into      By Jody Garca Emiliano Rodrguez
2023-07-13   2023-07-14 suspended.html                              Turmoil                                   Mega and Simon Romero           TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/13/world/a China Envoy And Blinken Meet to Knit
2023-07-13   2023-07-14 sia/china-us-blinken-wang-diplomacy.html    Frayed Ties                               By David Pierson                TX 9-317-107      2023-09-01

                        https://www.nytimes.com/2023/07/13/world/a Desperate Rush for Safety in Delhi As
2023-07-13   2023-07-14 sia/delhi-flooding-evacuations-monsoon.html Flooding Engulfs Northern India          By Sameer Yasir and Hari Kumar      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/world/a
                        sia/thailand-prime-minister-pita-           Thai Opposition Leader Loses a Bid to    By Mike Ives and Muktita
2023-07-13   2023-07-14 limjaroenrat.html                           Govern                                   Suhartono                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/world/e
                        urope/bbc-huw-edwards-saturation-
2023-07-13   2023-07-14 coverage.html                               BBC Scandal Causes A Long Look Inward    By Mark Landler                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/world/e
                        urope/biden-nato-cold-war-russia-
2023-07-13   2023-07-14 ukraine.html                                Bidens Words Add to Echoes From Cold War By David E Sanger                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/13/world/e                                                By Paul Sonne and Anatoly
2023-07-13   2023-07-14 urope/russia-generals-ukraine-turmoil.html     Fired Russian General Denounces His Bosses Kurmanaev                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/world/e Pledge of Unwavering Support for Ukraine
2023-07-13   2023-07-14 urope/ukraine-biden-nato-support.html          Has a Hitch US Elections                   By Zolan KannoYoungs           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/article/actors-strike-
2023-07-13   2023-07-14 why.html                                       What to Know About Hollywoods Shutdown By Matt Stevens                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/busines What Does Chinas New Chatbot Say When
2023-07-14   2023-07-14 s/baidu-ernie-openai-chatgpt-chinese.html      Asked About Taiwan                         By Chang Che and Olivia Wang   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/14/busines
2023-07-14   2023-07-14 s/farmers-homeowners-insurance-florida.html Claims Rise Forcing Cuts By Insurer        By Emily Flitter                  TX 9-317-107   2023-09-01




                                                                                Page 5480 of 5793
                        https://www.nytimes.com/2023/07/03/travel/p
2023-07-03   2023-07-15 rue-leith-gbbs-road-trip.html                Prue Leiths Great American Road Trip       By Prue Leith                    TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/05/travel/a
2023-07-05   2023-07-15 zores-sao-miguel-island.html                 Verdant Enchantments of a Volcanic Isle    By Amy Thomas                    TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/11/busines                                              By Peter Eavis Mark Walker and
2023-07-11   2023-07-15 s/blocked-rail-crossings-congress.html       Blocked Rails Blocked Reforms              Niraj Chokshi                    TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/11/busines Local Officials Have Few Options for Snarled
2023-07-11   2023-07-15 s/trains-blocked-crossings-options.html      Trains                                     By Niraj Chokshi                 TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/12/arts/tele
                        vision/emmy-awards-categories-drama-                                                    By James Poniewozik and Margaret
2023-07-12   2023-07-15 comedy.html                                  Is It a Crying Shame Or a Laughing Matter  Lyons                            TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/12/movies/ In a Paradoxical Double Feature Bombs Meet
2023-07-12   2023-07-15 barbie-oppenheimer-double-feature.html       Bombshells                                 By Christopher Kuo               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/12/movies/
                        tubi-cinnamon-murder-city-black-noir-        Tubi Is Rewriting the Rules of Black Indie
2023-07-13   2023-07-15 cinema.html                                  Movies                                     By Nicolas Rapold                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/12/us/texa Texas AampM Brought In a New Director Of
2023-07-13   2023-07-15 s-a-m-kathleen-mcelroy.html                  Journalism It Quickly Backpedaled          By Stephanie Saul                TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/13/arts/frie
2023-07-13   2023-07-15 ze-acquires-armory-show-expo-chicago.html LondonBased Frieze Acquiring US Fairs          By Robin Pogrebin                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/busines
                        s/media/fran-drescher-screen-actors-                                                     By John Koblin and Nicole
2023-07-13   2023-07-15 guild.html                                   Sitcom Queen In New Role Strike Leader      Sperling                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/nyregio As Politicians Cry Crisis Migrants Get A      By Christopher Maag Ral Vilchis
2023-07-13   2023-07-15 n/migrants-nyc-politics.html                 Toehold                                     and Christopher Lee               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/opinion
                        /floods-vermont-new-york-heat-climate-
2023-07-13   2023-07-15 change.html                                  Theres No Escaping Climate Chaos            By Jonathan Mingle                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/opinion
2023-07-13   2023-07-15 /haiti-biden-administration-us.html          The US Still Can Do Whats Right for Haiti   By Jake Johnston                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/opinion
2023-07-13   2023-07-15 /twitter-new-right.html                      Twitter and the New Rights Theory of Power By David French                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/sports/s Drilling for Stars Saudis Cause Chaos In the By Rory Smith Tariq Panja and
2023-07-13   2023-07-15 occer/saudi-soccer.html                      Transfer Market                             Ahmed Al Omran                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/sports/t
                        ennis/wimbledon-womens-final-vondrousova- Women Outside the Big 3 Who Both Rely on
2023-07-13   2023-07-15 jabeur.html                                  Finesse                                     By Matthew Futterman              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/us/air-
                        force-general-sexual-assault-lawsuit-        US Will Pay 975000 Over Sex Assault Claims
2023-07-13   2023-07-15 settlement.html                              Against Air Force General                   By Michael Levenson               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/arts/mu Andr Watts 77 Trailblazing Superstar in
2023-07-14   2023-07-15 sic/andre-watts-dead.html                    Classical Music Is Dead                     By Javier C Hernndez              TX 9-317-107   2023-09-01




                                                                                Page 5481 of 5793
                        https://www.nytimes.com/2023/07/14/arts/mu
                        sic/jay-z-book-of-hov-brooklyn-public-
2023-07-14   2023-07-15 library.html                               JayZ Tours His Life And So Can You              By Joe Coscarelli               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/arts/mu
2023-07-14   2023-07-15 sic/notre-dame-de-paris-musical.html       An Unexpected Love Affair                       By Sarah Bahr                   TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/14/arts/mu
2023-07-14   2023-07-15 sic/salzburg-festival-andre-schuen-figaro.html A naturalborn baritone                   By AJ Goldmann                     TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/arts/mu
2023-07-14   2023-07-15 sic/salzburg-festival-greek-passion.html       An explosive story freshly relevant      By Rebecca Schmid                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/arts/sal
2023-07-14   2023-07-15 zburg-brecht-chalk-circle.html                 Bertolt Brecht still pushes boundaries   By David Belcher                   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/busines Aspartame Is Probably Here to Stay Despite a
2023-07-14   2023-07-15 s/aspartame-drinks-reaction.html               Cancer Warning                           By Julie Creswell                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/busines
                        s/economy/jpmorgan-citgroup-wells-fargo- 3 Major Banks Earn Big Profits That Exceed By Rob Copeland and Stacy
2023-07-14   2023-07-15 earnings.html                                  Expectations                             Cowley                             TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/busines As Markets Grind Away Analysts See Bright By Joe Rennison and J Edward
2023-07-14   2023-07-15 s/investors-markets-earnings-season.html       Future                                   Moreno                             TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/14/busines Strike Bars Actors From Plugging Films at
2023-07-14   2023-07-15 s/media/actors-strike-movie-promotion.html Premieres or Festivals                          By Nicole Sperling              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/busines Actors Picket From Coast to Coast as Strike
2023-07-14   2023-07-15 s/media/actors-strike-picket-lines.html    Gets Started                                    By Corina Knoll and Matt Stevens TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/busines Education Dept Eliminates 39 Billion in
2023-07-14   2023-07-15 s/student-loan-forgiveness.html            Student Debt                                    By Stacy Cowley                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/busines
2023-07-14   2023-07-15 s/uaw-contract-talks.html                  UAW Talks Quite Likely To Be Testy              By Neal E Boudette              TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/14/busines US Virgin Islands Seeks 190 Million From
2023-07-14   2023-07-15 s/virgin-islands-jpmorgan-jeffrey-epstein.html JPMorgan in Epstein Lawsuit                 By Matthew Goldstein            TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/climate Worms Havent Lived in the Arctic Since the
2023-07-14   2023-07-15 /invasive-worms-arctic-environment.html        Last Ice Age But Now Theyre Back            By Sofia Quaglia                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/movies/ Kevin Spacey Says He Didnt Abuse His
2023-07-14   2023-07-15 kevin-spacey-trial.html                        Position of Power                           By Alex Marshall                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/movies/
2023-07-14   2023-07-15 theater-camp-ben-platt-molly-gordon.html       Hey Kids They Put On a Show                 By Alexis Soloski               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/nyregio                                                 By Nicholas Fandos Michael Gold
2023-07-14   2023-07-15 n/george-santos-campaign-money.html            Santos Used Donations to Pay Himself Back   and Grace Ashford               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/nyregio An Inquiry That Dates To a Grisly Find in
2023-07-14   2023-07-15 n/gilgo-beach-killings-timeline.html           2010                                        By Lola Fadulu                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/nyregio Quiet Gilgo Beach Was a Place of Murders
2023-07-14   2023-07-15 n/gilgo-beach-murders-fear.html                and Mayhem                                  By Christopher Maag             TX 9-317-107    2023-09-01




                                                                                 Page 5482 of 5793
                        https://www.nytimes.com/2023/07/14/nyregio                                                 By Maria Cramer William K
                        n/gilgo-beach-murders-long-island-          Pizza Crusts Helped Police Identify Suspect in Rashbaum Joseph Goldstein and
2023-07-14   2023-07-15 suspect.html                                Unsolved Killings                              Corey Kilgannon                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/nyregio
2023-07-14   2023-07-15 n/gilgo-beach-victims.html                  Victims From Northeast All in Their Mid20s By Hurubie Meko                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/nyregio ExNew York Resident Is Sentenced to Life in
2023-07-14   2023-07-15 n/isis-mirsad-kandic-sentenced.html         Prison for Helping ISIS                        By Colin Moynihan               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/opinion Dont Let Big Tech Hide What It Is Doing to
2023-07-14   2023-07-15 /big-tech-european-union-journalism.html    Us                                             By Julia Angwin                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/science India Keen to Overcome 2019 Crash
2023-07-14   2023-07-15 /india-moon-launch-chandrayaan-3.html       Launches Robotic Lunar Mission                 By Kenneth Chang and Hari Kumar TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/sports/a After 140 Wins as an Amateur a Lightweight
2023-07-14   2023-07-15 ndy-cruz-boxing.html                        Starts Over                                    By Morgan Campbell              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/sports/c
                        ycling/pogacar-vingegaard-tour-de-
2023-07-14   2023-07-15 france.html                                 Pogacar Is Gaining On Leader In France         By Victor Mather                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/sports/n NCAA Gives Tennessee 8 Million Fine for
2023-07-14   2023-07-15 caafootball/tennessee-fine.html             Skirting Rules but Not a Bowl Ban              By Santul Nerkar                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/sports/t
                        ennis/wimbledon-novak-djokovic-sinner-
2023-07-14   2023-07-15 alcaraz.html                                The Eagerly Anticipated and the Unexpected By Matthew Futterman                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/technol Restrictions On Social Media For Biden Staff
2023-07-14   2023-07-15 ogy/biden-social-media-order.html           Are Paused                                     By David McCabe and Steve Lohr TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/14/theater/
2023-07-14   2023-07-15 public-theater-layoffs.html                 Public Theater Trims Its Staff                 By Michael Paulson              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/us/iowa-An Iowa Ban On Abortions After 6 Weeks
2023-07-14   2023-07-15 abortion-ban-law.html                       Becomes Law                                    By Colbi Edmonds                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/us/polit Biden and DNC Raise 72 Million Much More
2023-07-14   2023-07-15 ics/biden-fundraising-trump-dnc.html        Than GOP Candidates                            By Reid J Epstein               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/us/polit Republicans Ram Divisive Measure to House
2023-07-14   2023-07-15 ics/defense-bill-house-ndaa.html            Victory                                        By Karoun Demirjian             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/us/polit Pence Collects Just 12 Million Aides Say a     By Reid J Epstein and Maggie
2023-07-14   2023-07-15 ics/mike-pence-fundraising.html             Worrying Sign for His 2024 Campaign            Haberman                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/us/polit Pence Takes Opportunity to Address Jan 6
2023-07-14   2023-07-15 ics/pence-iowa-jan-6.html                   With Iowa Voters                               By Trip Gabriel                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/us/polit
2023-07-14   2023-07-15 ics/republicans-abortion-election.html      A Narrow Win Could Backfire On the GOP By Annie Karni                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/us/polit
                        ics/republicans-iowa-tucker-carlson-        Talk Derailed By Carlson With Attacks On
2023-07-14   2023-07-15 ukraine.html                                Ukraine                                        By Jonathan Weisman             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/us/polit
                        ics/trump-organization-classified-                                                         By Ben Protess Maggie Haberman
2023-07-14   2023-07-15 documents.html                              Warning of Charges in Documents Case           and Alan Feuer                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/us/polit Ukraine Receives Cluster Munitions but Arms
2023-07-14   2023-07-15 ics/ukraine-war-cluster-munitions.html      May Not Tilt Counteroffensive                  By Eric Schmitt                 TX 9-317-107   2023-09-01



                                                                                Page 5483 of 5793
                        https://www.nytimes.com/2023/07/14/us/texa Cherished SpringFed Respite From the
2023-07-14   2023-07-15 s-heat-austin-barton-springs.html            Sizzling Texas Sun                         By David Montgomery           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/us/trum Trump Seeks Order to Halt Investigation In
2023-07-14   2023-07-15 p-georgia-election-investigation.html        Georgia                                    By Danny Hakim                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/world/e Europe Is Struggling to Adapt to Extreme
2023-07-14   2023-07-15 urope/europe-heat-wave-italy.html            Heat                                       By Gaia Pianigiani            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/world/e
                        urope/france-bastille-day-fireworks-         Heat Wave and Unrest Cancel Fireworks
2023-07-14   2023-07-15 cancelled.html                               Shows For Frances Bastille Day             By Constant Mheut             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/world/e Acquittal of a Janitor Accused of Touching a
2023-07-14   2023-07-15 urope/italy-assault-case-10-seconds.html     Student Fuels Outrage in Italy             By Elisabetta Povoledo        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/world/e Merging a Comic With Technology to Regain By Aurelien Breeden and Dmitry
2023-07-14   2023-07-15 urope/pone-als-france-voice.html             a Signature Sound                          Kostyukov                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/world/e Putin Sidelines Prigozhin and Insists Wagner
2023-07-14   2023-07-15 urope/putin-wagner-prigozhin-ukraine.html Troops Can Keep Fighting                      By Ivan Nechepurenko          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/world/e Forgotten Villages of Ukraine Empty Ruined By Thomas GibbonsNeff Natalia
2023-07-14   2023-07-15 urope/ukraine-war-villages-destroyed.html    and Overgrown                              Yermak and Mauricio Lima      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/world/
                        middleeast/israel-judicial-overhaul-         Unions and Reserves Vow To Renew Their
2023-07-14   2023-07-15 strikes.html                                 Resistance To Court Overhaul in Israel     By Patrick Kingsley           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/your-
2023-07-14   2023-07-15 money/water-bills-tips.html                  What to Do About Rising Water Bills        By Ann Carrns                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/us/polit
                        ics/presidential-election-fundraising-money- What to Watch in the 2024 Money Wars as a
2023-07-15   2023-07-15 2024.html                                    Big Deadline Arrives                       By Rebecca Davis OBrien       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/03/28/books/r
2023-03-28   2023-07-16 eview/skinfolk-matthew-pratt-guterl.html     Blended Family                             By Chlo Cooper Jones          TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/03/28/books/r
                        eview/the-human-origins-of-beatrice-porter-
2023-03-28   2023-07-16 and-other-essential-ghosts-soraya-palmer.html Storytime                             By Ingrid Rojas Contreras         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/03/31/books/r
2023-03-31   2023-07-16 eview/a-living-remedy-nicole-chung.html       Family Loss                           By Gabrielle Glaser               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/04/08/books/r
                        eview/this-isnt-going-to-end-well-daniel-
2023-04-08   2023-07-16 wallace.html                                  The Divided Self                      By Michael Greenberg              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/04/20/books/r
                        eview/good-girls-anorexia-hadley-
2023-04-20   2023-07-16 freeman.html                                  Trigger Warnings                      By Casey Schwartz                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/04/30/books/r
2023-04-30   2023-07-16 eview/gina-apostol-la-tercera.html            Native Tongues                        By Hari Kunzru                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/05/14/books/o
                        rphan-bachelors-fae-myenne-ng-meet-me-
2023-05-14   2023-07-16 tonight-in-atlantic-city-jane-wong.html       Memoirs of Chinese American Hunger    By Qian Julie Wang                TX 9-317-107   2023-09-01




                                                                                Page 5484 of 5793
                        https://www.nytimes.com/2023/05/19/books/r
                        eview/santi-elijah-holley-an-amerikan-
2023-05-19   2023-07-16 family.html                                Nothing to Lose but Chains                    By Michael P Jeffries            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/05/23/books/r
2023-05-23   2023-07-16 eview/elliot-ackerman-halcyon.html         Fulcrum of History                            By Stephen Markley               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/05/books/r
2023-06-05   2023-07-16 eview/my-hijacking-martha-hodes.html       Flight Status                                 By Ruth Margalit                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/06/books/r
2023-06-06   2023-07-16 eview/katie-williams-my-murder.html        Life After Death                              By Dan Chaon                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/06/books/r
2023-06-06   2023-07-16 eview/review-elliot-page-pageboy.html      HardWon Happiness                             By Gina Chua                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/12/books/g
2023-06-12   2023-07-16 irlfriend-on-mars-deborah-willis.html      For Real                                      By Alex Beggs                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/interactive/2023/06/ For Black Debutantes in Detroit Cotillion Is By Miranda Barnes and Charlie
2023-06-15   2023-07-16 15/style/black-debutante-balls-cotillion.html More Than a Ball                             BrinkhurstCuff                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/18/books/r
                        eview/by-all-means-available-michael-
2023-06-18   2023-07-16 vickers.html                                  Quiet American                               By Andrew J Bacevich           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/21/us/beau
                        ty-2-the-streetz-los-angeles-tiktok-
2023-06-21   2023-07-16 instagram.html                                Food and a Salon for the Homeless            By Joshua Needelman            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/27/books/r
2023-06-27   2023-07-16 eview/russia-ukraine-war-new-books.html       War Stories                                  By Thomas E Ricks              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/29/books/r
                        eview/the-heat-will-kill-you-first-jeff-
2023-06-29   2023-07-16 goodell.html                                  Hot Mess                                     By Jennifer Szalai             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/style/fal
2023-06-30   2023-07-16 l-out-boy-we-didnt-start-the-fire.html        Stirring the Embers                          By Frank Rojas                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/books/r
                        eview/no-ordinary-assignment-jane-
2023-07-06   2023-07-16 ferguson.html                                 Facing Battles                               By Elizabeth Becker            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/06/books/r
2023-07-06   2023-07-16 eview/sixty-one-chris-paul.html               Chris Paul Knows All About the Cycle of Life By Elisabeth Egan              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/books/r
                        eview/forgiving-imelda-marcos-nathan-go-
                        dreaming-home-lucian-childs-a-quitters-
2023-07-07   2023-07-16 paradise-elysha-chang.html                    Complicated Families                         By Kia Corthron                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/07/realesta
2023-07-07   2023-07-16 te/outdoor-table-setting.html                 Alfresco Dining Freshened Up With Style      By Tim McKeough                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/movies/
2023-07-08   2023-07-16 pom-klementieff-mission-impossible.html       Pom Klementieff Likes to Fall From the Sky By Sarah Bahr                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/08/style/w Where Those Cans Behind the Car Came
2023-07-08   2023-07-16 hy-do-couples-tie-cans-to-wedding-cars.html From                                         By Alix Strauss                  TX 9-317-107   2023-09-01



                                                                                 Page 5485 of 5793
                        https://www.nytimes.com/2023/07/10/arts/tele
                        vision/timothy-olyphant-justified-city-
2023-07-10   2023-07-16 primeval.html                                Happily in His Comfort Zone                   By Jeremy Egner           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/opinion
                        /climate-change-swimming-clean-rivers-heat- A Citys Joy Cooling Off In a River Cleaned By Paul Hockenos and Sandra
2023-07-10   2023-07-16 waves.html                                   and Reclaimed                                 Singh                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/article/no-cook-
2023-07-10   2023-07-16 recipes.html                                 Dont Cook                                     By Krysten Chambrot       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/arts/des
                        ign/paige-powell-brigid-berlin-warhol-
2023-07-11   2023-07-16 basquiat.html                                Artists as Much as Acolytes                   By Arthur Lubow           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/books/r
                        eview/alice-and-martin-provensen-the-truth-
2023-07-11   2023-07-16 about-max.html                               The Inner Life of a Cat                       By Leonard S Marcus       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/magazi
2023-07-11   2023-07-16 ne/greta-gerwig-barbie.html                  Plastic Fantastic                             By Willa Paskin           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/magazi
2023-07-11   2023-07-16 ne/pedro-martinez-writing-baseball.html      Pedro Martinez                                By Will Harrison          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/style/tra
2023-07-11   2023-07-16 dio-radio-stations.html                      Listeners Tune In to Buy Sell Barter and Bond By Sarah Baird            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/technol Existential Dread It Comes Standard With the
2023-07-11   2023-07-16 ogy/anthropic-ai-claude-chatbot.html         Product                                       By Kevin Roose            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/arts/dan
                        ce/seoul-metropolitan-dance-theater-lincoln-
2023-07-12   2023-07-16 center.html                                  A Modern Spin On Korean Moves                 By Brian Seibert          TX 9-317-107   2023-09-01
                                                                     A Family Heirloom After three generations
                        https://www.nytimes.com/2023/07/12/magazi fried zucchini takes its final form in a
2023-07-12   2023-07-16 ne/fried-zucchini-pasta-recipe.html          caperfilled pasta                             By Yotam Ottolenghi       TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/12/magazi
2023-07-12   2023-07-16 ne/royal-soldier-fainting-climate-change.html Clarion Call                              By Jon Mooallem              TX 9-317-107   2023-09-01
                                                                      Inside the Biden administrations brazen
                        https://www.nytimes.com/2023/07/12/magazi highstakes battle with China over
2023-07-12   2023-07-16 ne/semiconductor-chips-us-china.html          semiconductors                            By Alex W Palmer             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/nyregio
                        n/nyc-eviction-tina-dupuy-sheila-             The Woman Next Door Has Some Memories
2023-07-12   2023-07-16 sullivan.html                                 to Share                                  By Michael Wilson            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/opinion
2023-07-12   2023-07-16 /floods-vermont-heat-fires.html               Yes Global Warming Is Accelerating        By David WallaceWells        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/opinion
                        /woke-capitalism-diversity-lgbt-companies-
2023-07-12   2023-07-16 pride.html                                    The Puny Power of Woke Capitalism         By Lydia Polgreen            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/realesta
                        te/million-dollar-homes-kentucky-texas-       11 Million Homes in Kentucky Texas and
2023-07-12   2023-07-16 pennsylvania.html                             Pennsylvania                              By Angela Serratore          TX 9-317-107   2023-09-01



                                                                               Page 5486 of 5793
                        https://www.nytimes.com/2023/07/12/realesta
2023-07-12   2023-07-16 te/succulent-alpine-garden.html              Its Kind of Like a Little Theater on the Patio By Margaret Roach                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/style/fri
2023-07-12   2023-07-16 ends-trip-vacation-exclusion.html            The Fifth Wheel                                By Philip Galanes                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/theater/
2023-07-12   2023-07-16 maggie-siff-orpheus-descending.html          Revival Dares to View Treatment of Outsiders By Sarah Bahr                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/us/polit Candidate Trying to Gain Altitude Flies         By Jonathan Weisman and Ann
2023-07-12   2023-07-16 ics/asa-hutchinson-iowa.html                 Below Radar                                    Hinga Klein                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/opinion
2023-07-13   2023-07-16 /tommy-tuberville-white-nationalism.html     Whitewashing White Nationalism                 Charles M Blow                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/books/ Minnie Bruce Pratt 76 Activist Celebrated
2023-07-13   2023-07-16 minnie-bruce-pratt-dead.html                 Poet and Target of Conservatives               By Penelope Green                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/busines                                                  By Daisuke Wakabayashi and Jin
2023-07-13   2023-07-16 s/media/netflix-korea-asia-drama.html        Global Domination Begins at Home               Yu Young                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/magazi
                        ne/judge-john-hodgman-on-wedding-dj-
2023-07-13   2023-07-16 problems.html                                Bonus Advice From Judge John Hodgman           By John Hodgman                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/magazi
2023-07-13   2023-07-16 ne/poem-peridots-of-kings.html               Poem                                           By Alice Notley and Anne Boyer     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/magazi
2023-07-13   2023-07-16 ne/us-soccer-cindy-parlow-cone.html          Knowing the Score                              By Bruce Schoenfeld                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/movies/
2023-07-13   2023-07-16 margot-robbie-ryan-gosling-barbie.html       Barbie and Kens Psyches Unboxed                By Nicole Sperling                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/nyregio
2023-07-13   2023-07-16 n/pickleball-war-central-park.html           Two Sports Connected by Squabbling             By Allie Conti and Lanna Apisukh   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/13/opinion
2023-07-13   2023-07-16 /india-us-diplomacy-china-biden-modi.html The Illusion of a USIndia Partnership           By Arundhati Roy                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/opinion
2023-07-13   2023-07-16 /paul-krugman-soft-landing-inflation.html    Everythings Coming Up Soft Landing           By Paul Krugman                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/realesta
2023-07-13   2023-07-16 te/where-energy-is-most-affordable.html      In Search of an Affordable Location          By Michael Kolomatsky                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/style/an Halloween Chic From Catwoman to Helen
2023-07-13   2023-07-16 d-just-like-that-fashion.html                Gurley Brown                                 By The Styles Desk                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/07/ One Parent Two Teenagers and a
                        13/realestate/oakland-bay-area-three-bedroom-ThreeBedroom House Would Her Budget Be
2023-07-13   2023-07-16 california.html                              Enough                                       By Mark Kreidler                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/us/fire- Fire Kills Dozens of Animals at Florida
2023-07-14   2023-07-16 animals-killed-florida.html                  Refuge                                       By Livia AlbeckRipka                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/arts/mu
                        sic/louis-langree-conductor-mostly-mozart-
2023-07-14   2023-07-16 cincinnati.html                              Undersung Runs End on a High Note            By Joshua Barone                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/arts/mu Rick Froberg 55 Singer and Guitarist Who
2023-07-14   2023-07-16 sic/rick-froberg-dead.html                   Was Best Known for Urgent Howl               By Mike Rubin                        TX 9-317-107   2023-09-01




                                                                                  Page 5487 of 5793
                        https://www.nytimes.com/2023/07/14/busines Returns Arent as Fabulous as They May
2023-07-14   2023-07-16 s/stock-market-returns.html                Appear                                      By Jeff Sommer                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/nyregio AI Wrote Housing Bill But Critics Wonder
2023-07-14   2023-07-16 n/ai-ny-housing-bill.html                  Why                                         By Grace Ashford                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/nyregio Respect for a Candid Emotionally Risky      By Sharon Otterman and Olivia
2023-07-14   2023-07-16 n/de-blasio-mccray-separation.html         Separation                                  Bensimon                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/nyregio
2023-07-14   2023-07-16 n/mayors-new-york-city.html                Will There Ever Be Another Popular Mayor    By Ginia Bellafante                 TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/14/opinion
2023-07-14   2023-07-16 /britain-conservatives-tories-elections.html Britains Conservatives Are Imploding      By Michelle Goldberg                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/opinion
2023-07-14   2023-07-16 /supreme-court-ethics.html                   What Smells Off At the Court              By Michael Ponsor             TX 9-317-107         2023-09-01
                        https://www.nytimes.com/2023/07/14/opinion If Loneliness Is an Epidemic How Do We      By Eleanor Cummins and Andrew
2023-07-14   2023-07-16 /treating-loneliness.html                    Treat It                                  Zaleski                       TX 9-317-107         2023-09-01
                        https://www.nytimes.com/2023/07/14/realesta
2023-07-14   2023-07-16 te/cabin-restoration-ontario-canada.html     Big Enough for Him and the Dog Too        By Tim McKeough                     TX 9-317-107   2023-09-01
                                                                                                               By Gina Ryder and Photographs
                        https://www.nytimes.com/2023/07/14/realesta                                            and additional reporting by Karen
2023-07-14   2023-07-16 te/live-in-super-apartment.html             His Job Is a Family Affair                 Dias                                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/sports/j John Uelses 85 Marine And First PoleVaulter
2023-07-14   2023-07-16 ohn-uelses-dead.html                        To Clear 16 Feet Is Dead                     By Frank Litsky and Alex Traub    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/sports/s
                        occer/when-you-cant-believe-what-youre-
2023-07-14   2023-07-16 seeing.html                                 Come for the Games Stay for the Story        By Rory Smith                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/style/ch Spinning Vinyl and Enjoying a Marathon
2023-07-14   2023-07-16 loe-louvouezo-nasir-qadree-wedding.html     First Date                                   By Rosalie R Radomsky             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/style/fo                                              By Penelope Green and Balarama
2023-07-14   2023-07-16 lly-tree-arboretum-east-hampton-ny.html     Trees Tell Tales if Youre Willing to Listen  Heller                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/style/jo Eight Years Later Making a Second First Date
2023-07-14   2023-07-16 seph-jones-isaac-archuleta-wedding.html     Work                                         By Sadiba Hasan                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/style/m
2023-07-14   2023-07-16 odern-love-latex-fetish-second-skin.html    A Pathway Toward Appreciating His Skins By Preston Gyuwon So                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/14/style/na After Leaving Dating App Finding a Match
2023-07-14   2023-07-16 talie-amrossi-peter-rosenberg-wedding.html on Twitter                                  By Emma Grillo                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/style/sh A New Life and a New Name Both Inspired
2023-07-14   2023-07-16 ira-catlin-morgan-keith-wedding.html        by Nature                                  By Jenny Block                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/upshot/ In Midterms a Slice of Swing Voters Went
2023-07-14   2023-07-16 midterm-election-puzzle-voters.html         Democratic in Key Races                    By Nate Cohn                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/world/ Poisonings From Alcohol Rise in Iran         By Farnaz Fassihi and Leily
2023-07-14   2023-07-16 middleeast/iran-alcohol-deaths.html         Despite a Ban                              Nikounazar                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/world/a
2023-07-15   2023-07-16 sia/south-korea-floods-rain.html            South Korea Reels From Monsoon Rains       By John Yoon and Jin Yu Young       TX 9-317-107   2023-09-01




                                                                                Page 5488 of 5793
                        https://www.nytimes.com/2023/07/15/busines In Hollywood the Strikes Are Just Part of a
2023-07-15   2023-07-16 s/media/hollywood-strikes.html             Greater Economic Problem                      By Brooks Barnes             TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/15/climate Kerry Visits Beijing as Worlds 2 Biggest
2023-07-15   2023-07-16 /us-china-climate-talks.html               Polluters Restart Climate Talks               By Lisa Friedman             TX 9-317-107    2023-09-01
                                                                                                                 By Katie Thomas Jessica
                        https://www.nytimes.com/2023/07/15/health/a Patients Lost Limbs as Doctors and Health    SilverGreenberg and Robert
2023-07-15   2023-07-16 therectomy-peripheral-artery-disease.html   Care Giants Prospered                        Gebeloff                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/nyregio
                        n/gilgo-beach-serial-killer-rex-            Time Altered the Biased View of a Serial
2023-07-15   2023-07-16 heuermann.html                              Killers Victims as Only Escorts             By Robert Kolker               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/nyregio
2023-07-15   2023-07-16 n/koho-yamamoto-sumi-e.html                 As the Years Pass Artistry Doesnt Ebb       By Kaya Laterman               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/opinion
2023-07-15   2023-07-16 /do-we-have-a-right-to-beauty.html          The Right to Be Beautiful                   By Sushma Subramanian          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/opinion
2023-07-15   2023-07-16 /migrant-slave-ship-disaster-poem.html      Those Still in the Water                    By Amanda Gorman               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/opinion
2023-07-15   2023-07-16 /russian-speakers-ukraine-putin.html        How to Break A Country                      By Nicholas Kristof            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/opinion
2023-07-15   2023-07-16 /writers-actors-strike.html                 Watch Out for the Fake Tom Cruise           By Maureen Dowd                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/realesta
                        te/rent-controlled-vs-rent-stabilized-how-  My Apartment Is RentControlled How Much
2023-07-15   2023-07-16 much-can-a-landlord-charge.html             Can My Rent Be Raised                       By Jill Terreri Ramos          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/sports/b
                        aseball/eric-bach-gay-baseball-             A Gay Broadcaster Climbs the Ladder But Its
2023-07-15   2023-07-16 announcer.html                              Been Lonely                                 By Zach Buchanan               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/sports/s
2023-07-15   2023-07-16 occer/lionel-messi-inter-miami-mls.html     Messi Joins Inter Miami Through 25 Season By Andrew Das and Victor Mather TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/15/sports/t Jabeur Has to Settle for a Hug From a
2023-07-15   2023-07-16 ennis/ons-jabeur-wimbledon.html             Princess                                    By David Waldstein             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/sports/t
                        ennis/wimbledon-carlos-alcaraz-             With Youths Impatience Hoping for His Best
2023-07-15   2023-07-16 djokovic.html                               Moment                                      By David Waldstein             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/sports/t
                        ennis/wimbledon-championship-jabeur-        A Formerly Improbable Wimbledon
2023-07-15   2023-07-16 vondrousova.html                            Champion                                    By Matthew Futterman           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/style/ba
2023-07-15   2023-07-16 rbie-doll-style-fashion-accessories.html    What Makes Barbie Barbie                    By Louis Lucero II             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/style/cr
2023-07-15   2023-07-16 ohns-disease-food-network.html              She Was Wasting Away With Rachael Ray       By Annie Tressler              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/style/ne
2023-07-15   2023-07-16 w-furby-design.html                         Furbys Had Some Work Done                   By Maggie Lange                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/technol
                        ogy/artificial-intelligence-models-chat-                                                By Sheera Frenkel and Stuart A
2023-07-15   2023-07-16 data.html                                   Creators Lead Data Rebellion To Protest AI Thompson                        TX 9-317-107   2023-09-01



                                                                                 Page 5489 of 5793
                        https://www.nytimes.com/2023/07/15/us/melv Melvin Wulf 95 Lawyer Who Transformed
2023-07-15   2023-07-16 in-wulf-dead.html                           the ACLU Is Dead                            By Richard Sandomir             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/us/polit With Centrist Platform No Labels Pushes     By Jonathan Weisman and Luke
2023-07-15   2023-07-16 ics/no-labels-presidential-run.html         Cause and Latent ThirdParty Bid             Broadwater                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/us/texa They Just Think Its Baseball but Weird In    By J David Goodman and Meridith
2023-07-15   2023-07-16 s-cricket.html                              Texas an Unlikely Craze for Cricket         Kohut                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/world/a
                        mericas/canada-china-election-              Beijing Targets Canada Critics From
2023-07-15   2023-07-16 interference.html                           Overseas                                    By Norimitsu Onishi             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/world/e A Love Both for Horses And a Dying Way of By Mary Turner and Eric
2023-07-15   2023-07-16 urope/appleby-horse-fair.html               Life                                        Nagourney                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/world/e
                        urope/poland-migrant-workers-               Poland May Oppose Migrants but 6000 Asian
2023-07-15   2023-07-16 immigration.html                            Workers Are Welcome                         By Andrew Higgins               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/world/e Zelensky Defends Pace Of Attack as Toll
2023-07-15   2023-07-16 urope/russia-ukraine-war-weapons.html       Mounts                                      By Cassandra Vinograd           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/world/
                        middleeast/israel-reservists-resignations-  Reservists in Israel Threaten to Resign If  By Ronen Bergman and Patrick
2023-07-15   2023-07-16 judiciary.html                              Judicial Plan Proceeds                      Kingsley                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/world/
2023-07-15   2023-07-16 middleeast/netanyahu-hospital.html          Netanyahu Is Rushed To Hospital For Testing By Patrick Kingsley             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/busines
2023-07-16   2023-07-16 s/roxane-gay-work-advice.html               MyBossMadeMePostThisStupidJobListing        By Roxane Gay                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/16/climate As Climate Shocks Multiply Theres No Place
2023-07-16   2023-07-16 /climate-geodesic-dome-house.html           Like a Dome to Withstand Weather Disasters By Christopher Flavelle        TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/16/insider/
2023-07-16   2023-07-16 hot-trends-hotter-temperatures.html         Hot Trends Hotter Temperatures              By Sarah Diamond              TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/16/insider/
2023-07-16   2023-07-16 metropolitan-diary-commenters.html          A Faceless Community that Feels Like Family By Nancy Wartik               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/16/style/g-
2023-07-16   2023-07-16 string-thong-trend.html                     GStrings and Thongs at Play for Every Body By Mya Guarnieri               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/16/style/wi
2023-07-16   2023-07-16 mbledon-fashion-style.html                  Turning Heads Along the Courts              By Simbarashe Cha             TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/16/us/detr 10 Years After Filing for Bankruptcy Detroit
2023-07-16   2023-07-16 oit-bankruptcy-anniversary.html             Has a Long ToDo List                        By Mitch Smith                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/16/world/e Vast Fields Full Of Mines Hinder Ukraines
2023-07-16   2023-07-16 urope/ukraine-russia-land-mines.html        Forces                                      By Andrew E Kramer            TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/11/travel/s One Travelers Tales of Hotel Tech Show
2023-07-11   2023-07-17 mart-tech-hotel-room.html                   Difficulties of Smart Rooms                 By Amy Tara Koch              TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/13/busines
2023-07-13   2023-07-17 s/banana-republic-home-goods-furniture.html Home Dcor Joins Lineup At Outfitter        By Jordyn Holman               TX 9-317-107     2023-09-01




                                                                                Page 5490 of 5793
                        https://www.nytimes.com/2023/07/14/arts/dan
                        ce/review-rennie-harris-nuttin-but-a-
2023-07-14   2023-07-17 word.html                                    Storytelling With Subtlety and Groove       By Brian Seibert                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/arts/tele
                        vision/goliath-wilt-chamberlain-bill-        To Be Giant and Gifted but Not Without
2023-07-14   2023-07-17 walton.html                                  Issues                                      By Mike Hale                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/busines
                        s/canary-wharf-banks-departure-
2023-07-14   2023-07-17 redevelopment.html                           Where Banking Isnt Enough                   By Isabella Kwai                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/movies/
2023-07-14   2023-07-17 five-action-movies-to-stream-now.html        Theres No Shortage Of Bad Guys Here         By Robert Daniels                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/movies/
                        henry-czerny-mission-impossible-
2023-07-14   2023-07-17 kittridge.html                               His Mission Impossibly Good Sneering        By Kyle Buchanan                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/opinion
2023-07-14   2023-07-17 /electric-vehicles-toyota-hybrids.html       We May Not Be Ready for an AllEV World By Peter Coy                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/theater/
2023-07-14   2023-07-17 the-saviour-theater-review.html              Trauma and Its Gravitational Pull           By Rhoda Feng                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/us/holly Los Angeles Faces Blows To Economy And
2023-07-14   2023-07-17 wood-los-angeles-economy.html                Hearts                                      By Shawn Hubler                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/books/ Marga Minco 103 Whose Spare Prose
2023-07-15   2023-07-17 marga-minco-dead.html                        Conveyed the Enormity of the Holocaust      By Nina Siegal                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/busines                                               By Ephrat Livni Bernhard Warner
                        s/dealbook/deep-sea-mining-energy-           Why DeepSea Mining Is the Next              Ravi Mattu and Michael J de la
2023-07-15   2023-07-17 transition.html                              Battleground in the Energy Transition       Merced                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/busines The Red Berets Are Out US Tourists Stream
2023-07-15   2023-07-17 s/economy/inflation-travel-economy.html      Back to France                              By Jeanna Smialek                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/nyregio Suspect in Gilgo Beach Killings Led a Life of By Andy Newman and Nate
2023-07-15   2023-07-17 n/rex-heuermann-gilgo-beach-killings.html    Chaos and Control                           Schweber                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/opinion
2023-07-15   2023-07-17 /social-media-threads-twitter-reddit.html    Social Media Will Never Be the Same         By Sriram Krishnan               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/science Everett I Mendelsohn 91 Who Linked Science
2023-07-15   2023-07-17 /everett-mendelsohn-dead.html                and Society                                 By Neil Genzlinger               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/us/alab Alabama Woman Who Went Missing After
2023-07-15   2023-07-17 ama-missing-woman.html                       911 Call Is Found                           By Eduardo Medina                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/us/flori
2023-07-15   2023-07-17 da-state-guard-desantis.html                 Florida Guard Loses Recruits Amid Turmoil By Frances Robles                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/us/polit
                        ics/ukraine-leopards-bradleys-               After Heavy Losses Ukrainians Paused To By Lara Jakes Andrew E Kramer
2023-07-15   2023-07-17 counteroffensive.html                        Rethink Strategy                            and Eric Schmitt                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/us/verm
2023-07-15   2023-07-17 ont-flood-ludlow.html                        Angry Vermont River Upends Their Dreams By Jenna Russell                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/us/polit DeSantis Spends and Pence Lags 5             By Rebecca Davis OBrien and Reid
2023-07-16   2023-07-17 ics/desantis-pence-trump-fundraising.html    Takeaways From 2024 Filings                 J Epstein                        TX 9-317-107   2023-09-01




                                                                               Page 5491 of 5793
                        https://www.nytimes.com/2023/07/16/arts/mu Jane Birkin Dies at 76 Actress Who Inspired
2023-07-16   2023-07-17 sic/jane-birkin-dead.html                    An Equally Chic Bag                         By Constant Mheut and Alex Traub TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/arts/mu
                        sic/review-semele-munich-bayerische-         Lucid Sexy New Staging For a Handel
2023-07-16   2023-07-17 staatsoper.html                              Oratorio                                    By Joshua Barone                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/arts/tele
                        vision/hollywood-strike-background-
2023-07-16   2023-07-17 actors.html                                  In This Standoff All of Us Are Extras       By James Poniewozik              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/busines
2023-07-16   2023-07-17 s/janet-yellen-india-g20.html                Speed Debt Relief Yellen Urges Rich Nations By Alan Rappeport                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/busines
                        s/media/mission-impossible-tom-cruise-box- Box Office for Cruises Film Is Solid but Lags
2023-07-16   2023-07-17 office.html                                  Behind Industrys Lofty Expectations         By Brooks Barnes                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/busines Sally Kempton 80 Rising Journalism Star
2023-07-16   2023-07-17 s/media/sally-kempton-dead.html              Turned Swami Is Dead                        By Penelope Green                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/busines United and Pilots Reach Deal To Increase Pay
2023-07-16   2023-07-17 s/united-airlines-pilots-contract.html       by Up to 40                                 By Ivan Penn                     TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/16/movies/
2023-07-16   2023-07-17 hollywood-strikes-film-festivals-oscars.html Strikes Could Hurt Fall Film Festivals      By Kyle Buchanan                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/nyregio Arrest in Killings Bears Out A DecadeOld
2023-07-16   2023-07-17 n/rex-heuermann-gilgo-beach-killings.html    Prediction                                  By Hurubie Meko and Erin Nolan   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/opinion
2023-07-16   2023-07-17 /reduce-maternal-mortality-strategies.html   More Mothers Are Dying and Its Preventable By Veronica GillispieBell         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/opinion
2023-07-16   2023-07-17 /the-bear-fx.html                            The Bear and the Need for a Place to Belong By David French                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/sports/a
                        ndy-cruz-pro-boxing-debut-juan-carlos-       In Professional Debut a Cuban Fighter Shows
2023-07-16   2023-07-17 burgos.html                                  He Is Quickly Learning the Ropes            By Morgan Campbell               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/sports/s
2023-07-16   2023-07-17 occer/england-world-cup-lionnesses.html      Smooth Ride For England Hits Bumps          By Ella Braidwood                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/sports/s
2023-07-16   2023-07-17 occer/julie-ertz-uswnt-world-cup.html        How Julie Ertz Got Her Game Back            By Claire Fahy                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/16/sports/s As Game Grows Fresh Nations Leap Into The
2023-07-16   2023-07-17 occer/womens-world-cup-vietnam-uswnt.html Limelight                                   By Jer Longman and Linh Pham        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/sports/t
2023-07-16   2023-07-17 ennis/alcaraz-djokovic-wimbledon.html       This Time Djokovic Is Not Invincible      By David Waldstein                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/sports/t
                        ennis/wimbledon-carlos-alcaraz-novak-       In Front of Royalty Alcaraz Captures the
2023-07-16   2023-07-17 djokovic.html                               Crown                                     By Matthew Futterman                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/us/gold- In Kentucky Gold Coins In Cornfield Fuel
2023-07-16   2023-07-17 coins-kentucky.html                         Legend                                    By Chris Cameron                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/us/penn Deadly Flash Floods Hit Suburbs of
2023-07-16   2023-07-17 sylvania-flooding-family.html               Philadelphia                              By Anna Betts and Elise Young       TX 9-317-107   2023-09-01



                                                                                Page 5492 of 5793
                        https://www.nytimes.com/2023/07/16/us/phoe Firefighters in Phoenix Battle Extreme Heat
2023-07-16   2023-07-17 nix-arizona-heat-firefighters.html         Without the Flames                             By Jack Healy                   TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/16/us/polit Alabama Faces Deadline To Redraw Voting By Emily Cochrane and Michael
2023-07-16   2023-07-17 ics/alabama-congressional-voting-map.html Map After a Court Surprise                     Wines                            TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/16/us/polit Small Donations Are Still Sluggish for Biden
2023-07-16   2023-07-17 ics/biden-fundraising-2024.html             Campaign                                     By Reid J Epstein                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/16/us/polit Decision on Kennedy Files Leaves Some
2023-07-16   2023-07-17 ics/biden-jfk-assassination-papers.html     Unsatisfied                                  By Peter Baker                   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/16/us/polit Four Prisoners Are Said to Test Positive in
2023-07-16   2023-07-17 ics/guantanamo-bay-covid.html               Reemergence of Covid at Guantnamo Bay        By Carol Rosenberg               TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/16/us/polit Democrats In Senate Set the Pace In           By Maya King and Rebecca Davis
2023-07-16   2023-07-17 ics/senate-democrats-2024-fundraising.html Donations                                      OBrien                         TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/16/world/e
                        urope/black-sea-grain-deal-deadline-        As Another Grain Deal Deadline Nears          By Matthew Mpoke Bigg Anatoly
2023-07-16   2023-07-17 looms.html                                  Russia Says It May Back Out Again             Kurmanaev and Vivek Shankar     TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/16/world/e
2023-07-16   2023-07-17 urope/uk-nhs-crisis.html                    After 75 Years Health Service In UK Teeters   By Mark Landler                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/16/world/
                        middleeast/iraq-dissent-free-speech-social-
2023-07-16   2023-07-17 media.html                                  Social Media Rules Muffle Iraqi Voices        By Alissa J Rubin               TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/16/world/ After an Overnight Hospital Stay Netanyahu
2023-07-16   2023-07-17 middleeast/israel-netanyahu-hospital.html    Is Said to Be in Excellent Condition         By Isabel Kershner              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/16/arts/tele
                        vision/tim-baltz-the-righteous-gemstones-    A Milquetoast Changed Forever In One
2023-07-17   2023-07-17 naked-fight-scene.html                       Moment                                       By Austin Considine             TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/16/sports/s
2023-07-17   2023-07-17 occer/world-cup-maori-names.html             New Zealand Is Embracing Maori Names         By Natasha Frost                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/17/arts/tele
                        vision/whats-on-tv-this-week-below-deck-and-
2023-07-17   2023-07-17 fifa-womens-world-cup.html                   This Week on TV                              By Shivani Gonzalez             TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/17/busines                                                By Benjamin Mullin Brooks Barnes
2023-07-17   2023-07-17 s/media/hollywood-actors-writers-strikes.html Studios Dread Remaining Idle Past Labor Day and Nicole Sperling              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/insider/
                        is-the-future-of-twitter-hanging-by-
2023-07-17   2023-07-17 threads.html                                  Is the Future of Twitter Hanging by Threads By Josh Ocampo                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/nyregio Will New York Police Unions New Boss
2023-07-17   2023-07-17 n/patrick-hendry-nyc-police-union.html        Follow Precursors Fiery Lead                By Chelsia Rose Marcius          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/sports/p A Long Shining River of Verse Flowing From By John Branch and Adam
2023-07-17   2023-07-17 oet-rower-wang-ping.html                      a Rower and Writer                          Stoltman                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/sports/s A Bigger Field Means a Bigger Pool of
2023-07-17   2023-07-17 occer/womens-world-cup-favorites.html         Contenders                                  By Rory Smith                    TX 9-317-107   2023-09-01



                                                                                Page 5493 of 5793
                        https://www.nytimes.com/2023/07/17/us/polit Trump and Allies Seeking Vast Increase of By Jonathan Swan Charlie Savage
2023-07-17   2023-07-17 ics/trump-plans-2025.html                   His Power                                     and Maggie Haberman                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/world/e Violent Policing Livid Protesters Zero         By Catherine Porter and Constant
2023-07-17   2023-07-17 urope/france-riots-police-poor.html         Changes                                       Mheut                              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/article/trump-      Sharing Secret Evidence Raises Risky Legal
2023-06-19   2023-07-18 classified-documents-evidence.html          Issues                                        By Charlie Savage                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/science
2023-07-10   2023-07-18 /silence-sound-hear.html                    Silence Is a Sound That Can Be Heard          By Bethany Brookshire              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/well/eat
2023-07-10   2023-07-18 /sugar-cancer.html                          Cancer Doesnt Really Have a Sweet Tooth       By Connie Chang                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/well/liv
                        e/hormone-therapy-menopause-dementia-
2023-07-10   2023-07-18 alzheimers.html                             Menopause Treatments And Alzheimers Risk By Alisha Haridasani Gupta              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/science
2023-07-11   2023-07-18 /moon-hot-spot-granite.html                 Hot Spot Is Found On Far Side of Moon         By Kenneth Chang                   TX 9-317-107   2023-09-01
                                                                    Ive been stressed out at work lately and have
                                                                    noticed that my hair is thinning and clumping
                        https://www.nytimes.com/2023/07/11/well/str in the shower Is it true that stress can make
2023-07-11   2023-07-18 ess-hair-loss.html                          your hair fall out                            By Melinda Wenner Moyer            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/science
                        /nasa-webb-telescope-one-year-
2023-07-12   2023-07-18 anniversary.html                            The Webbs Year of Cosmic Wonder               By Katrina Miller                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/well/eat
2023-07-12   2023-07-18 /glucose-blood-sugar-monitors.html          Who Should Track Their Glucose Levels         By Dana G Smith                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/12/well/m                                                By Hilary Achauer and Zack
2023-07-12   2023-07-18 ove/full-body-workout-pool-exercises.html  The ChestDeep Water Workout                   Wittman                             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/headwa A CovidEra Program in Philadelphia Is Still
2023-07-13   2023-07-18 y/philadelphia-tenants-eviction.html       Preventing Evictions                          By Aidan Gardiner                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/science Birds Are Building Nests From AntiBird
2023-07-13   2023-07-18 /magpies-birds-nests.html                  Spikes                                        By Emily Anthes                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/science
2023-07-14   2023-07-18 /archaeology-sloths-human-migration.html   When Were We Here Ask the Sloth Bones         By Franz Lidz                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/nyregio New York Is Using 11 Billion to Become
2023-07-15   2023-07-18 n/ny-flooding-climate-change.html          More Weather Resistant                        By Hilary Howard                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/technol
2023-07-15   2023-07-18 ogy/ai-inventor-patents.html               Can AI Be an Inventor                         By Steve Lohr                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/arts/mu
2023-07-16   2023-07-18 sic/jane-birkin-french-icon.html           Made in England Forged in France              By Elisabeth Vincentelli            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/nyregio
                        n/new-york-city-subways-air-
2023-07-16   2023-07-18 conditioning.html                          Riders Keep Their Cool in a Hell on Wheels    By Lola Fadulu                      TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/16/science Why Scientists Are Debating Mammal
2023-07-16   2023-07-18 /mammals-fossils-southern-hemisphere.html Origins                                        By Anthony Ham                      TX 9-317-107   2023-09-01



                                                                                 Page 5494 of 5793
                        https://www.nytimes.com/2023/07/17/arts/des
                        ign/chisholm-monument-sculpture-
2023-07-17   2023-07-18 approved.html                               City Approves Design For Chisholm Statue By Zachary Small                   TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/17/arts/des
                        ign/shelby-white-the-met-antiquities-                                                  By Graham Bowley and Tom
2023-07-17   2023-07-18 investigation.html                          A Trustees Collection Unsettles the Met    Mashberg                         TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/17/arts/elt
2023-07-17   2023-07-18 on-john-kevin-spacey.html                   Elton John Testifies At Trial              By Alex Marshall                 TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/17/arts/mu
2023-07-17   2023-07-18 sic/harriet-goldberg-hold-music-song.html   Her Career Is Happily On Hold              By Sal Cataldi                   TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/17/arts/mu
                        sic/taylor-swift-speak-now-billboard-chart-
2023-07-17   2023-07-18 record.html                                 Speak Now Is Taylor Swifts 12th No 1 Album By Ben Sisario                   TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/17/books/b Illuminating And Chronicling The Loss of
2023-07-17   2023-07-18 ooksupdate/country-blind-andrew-leland.html Sight                                        By Robert Ito                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/books/h Harry G Frankfurt a Philosopher Eager to Cut
2023-07-17   2023-07-18 arry-g-frankfurt-dead.html                  the Bull Dies at 94                          By James Ryerson                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/briefing Finally a Positive Milestone Covid Is Now an
2023-07-17   2023-07-18 /covid.html                                 Ordinary Illness                             By David Leonhardt               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/busines As It Struggles China Indicates A New
2023-07-17   2023-07-18 s/china-economy.html                        Openness                                     By Keith Bradsher                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/busines
                        s/economy/jerome-powell-job-market-         Jobs Have Roared Back But Is Trend
2023-07-17   2023-07-18 employment.html                             Sustainable                                  By Jeanna Smialek                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/busines
                        s/ford-f150-lightning-electric-vehicle-     EV Prices Fall as Automakers Raise
2023-07-17   2023-07-18 prices.html                                 Production                                   By Neal E Boudette               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/busines Politico CoFounder to Take Executive          By Benjamin Mullin and Katie
2023-07-17   2023-07-18 s/john-harris-editor-politico.html          Editorial Position                           Robertson                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/health/a Early Start of Drug Slows Alzheimers Study
2023-07-17   2023-07-18 lzheimers-drug-donanemab.html               Indicates                                    By Pam Belluck                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/health/r RSV Shot Is Approved For Infants And
2023-07-17   2023-07-18 sv-infants-fda.html                         Toddlers                                     By Christina Jewett              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/movies/
2023-07-17   2023-07-18 oppenheimer-imax-christopher-nolan.html     For Some Films Go Big or Go Home             By Marc Tracy                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/nyregio
                        n/edward-caban-latino-police-commissioner-
2023-07-17   2023-07-18 ny.html                                     Latino Is Chosen As NYPD Leader              By Maria Cramer and Karen Zraick TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/nyregio
                        n/former-new-york-city-buildings-chief-     ExBuildings Chief Is Likely To Be Charged By William K Rashbaum and Jonah
2023-07-17   2023-07-18 bribery.html                                in New York                                  E Bromwich                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/nyregio Democrats Prepare Push To Censure
2023-07-17   2023-07-18 n/george-santos-censure-democrats.html      Congressman                                  By Nicholas Fandos               TX 9-317-107   2023-09-01




                                                                               Page 5495 of 5793
                        https://www.nytimes.com/2023/07/17/nyregio Federal Prosecutor Urges Rikers Island        By Benjamin Weiser and Jonah E
2023-07-17   2023-07-18 n/rikers-island-federal-takeover.html      Takeover                                      Bromwich                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/opinion
2023-07-17   2023-07-18 /house-republicans-mccarthy.html           Its Getting Really Awkward for McCarthy       By Michelle Cottle                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/opinion
2023-07-17   2023-07-18 /israel-racist-state-pramila-jayapal.html  The Hysteria Over Jayapals Racist State Gaffe By Michelle Goldberg              TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/17/opinion Oppenheimer Shows the Danger of
2023-07-17   2023-07-18 /kai-bird-oppenheimer-christopher-nolan.html Politicizing Science                       By Kai Bird                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/opinion
2023-07-17   2023-07-18 /weather-climate-politics-republican.html    We Should Politicize the Weather           By Paul Krugman                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/science
2023-07-17   2023-07-18 /texas-fossils-museums-paleontology.html     A Dream Fit for Texas                      By Asher Elbein and Nina Riggio    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/17/sports/b
2023-07-17   2023-07-18 aseball/carl-erskine-buck-oneil-award.html  Last of the Boys of Summer                  By Tyler Kepner                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/17/sports/b Facing the Greats And Still Happy To Talk
2023-07-17   2023-07-18 aseball/carl-erskine-musial-aaron-mays.html About It                                    By Tyler Kepner                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/sports/b In No 1 Overall WNBA Pick Stars See a Star
2023-07-17   2023-07-18 asketball/aliyah-boston-wnba-rookie.html    in the Making                               By Claire Fahy                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/sports/f
                        ootball/saquon-barkley-contract-extension-  Giants and Barkley Fail to Reach LongTerm
2023-07-17   2023-07-18 giants.html                                 Deal Clouding the Future                    By Elena Bergeron                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/us/iowa-Iowa Judge Temporarily Suspends Recent
2023-07-17   2023-07-18 abortion-ban-suspended.html                 Abortion Legislation                        By Colbi Edmonds                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/us/lione Messi Claims the Hearts And the Menus of
2023-07-17   2023-07-18 l-messi-miami.html                          Miami                                       By Patricia Mazzei                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/us/mur Civil Settlement Reached In 2019 Boating
2023-07-17   2023-07-18 daugh-mallory-beach-settlement.html         Death Linked to Murdaughs Son               By Nicholas BogelBurroughs         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/us/polit DeSantis Seeks to Burnish His ProIsrael
2023-07-17   2023-07-18 ics/desantis-israel-biden.html              Credentials                                 By Jazmine Ulloa                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/us/polit
                        ics/diplomatic-nominees-blocked-            Blinken Says Senate Delay On Nominees
2023-07-17   2023-07-18 blinken.html                                Risks Security                              By Michael Crowley                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/us/polit House Committee Targets UC Berkeley
2023-07-17   2023-07-18 ics/house-committee-berkeley-china.html     Program for Ties to China                   By Ana Swanson                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/us/polit Ramaswamy Releases List Of Potential Court
2023-07-17   2023-07-18 ics/ramaswamy-judges-supreme-court.html Picks                                           By Maggie Haberman                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/us/polit Democrats Plan to Press Supreme Court
2023-07-17   2023-07-18 ics/senate-supreme-court-ethics.html        Ethics Rules                                By Carl Hulse                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/us/polit Trumps Judges Religious Ties and NRA
2023-07-17   2023-07-18 ics/trump-judges-religion-nra.html          Memberships                                 By Adam Liptak                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/world/a Spared From Russian Shells but Part of Kyivs By Jeffrey Gettleman and Finbarr
2023-07-17   2023-07-18 sia/chernivtsi-western-ukraine-aid.html     War Effort                                  OReilly                            TX 9-317-107   2023-09-01



                                                                                Page 5496 of 5793
                        https://www.nytimes.com/2023/07/17/world/a
                        sia/china-foreign-minister-qin-gang-        Chinas Foreign Minister Falls Off Radar for By Chris Buckley and David
2023-07-17   2023-07-18 absent.html                                 Weeks And Beijing Isnt Talking              Pierson                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/world/a Time Is Slipping Away Kerry Warns During
2023-07-17   2023-07-18 sia/john-kerry-china-climate.html           Climate Talks With Beijing                  By Lisa Friedman                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/world/e European Union Deal Gives Tunisia Millions
2023-07-17   2023-07-18 urope/eu-tunisia-migrant-deal.html          To Stem Migrant Flow                        By Monika Pronczuk               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/world/e
                        urope/europe-heat-wildfire-spain-canary-    Amid Heat Wave Canary Islands Fire Forces
2023-07-17   2023-07-18 islands.html                                Thousands to Flee                           By Constant Mheut                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/world/e                                              By Marc Santora Neil MacFarquhar
2023-07-17   2023-07-18 urope/russia-ukraine-crimea-bridge.html     Blasts Damage A Vital Bridge In Russias War and Haley Willis                 TX 9-317-107   2023-09-01
                                                                                                                By Matthew Mpoke Bigg Ivan
                        https://www.nytimes.com/2023/07/17/world/e Russia Halts Ukraine Grain Deal That         Nechepurenko Liz Alderman and
2023-07-17   2023-07-18 urope/ukraine-grain-deal-russia-war.html    Relieved World Food Shortage                Farnaz Fassihi                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/world/
                        middleeast/biden-herzog-netanyahu-          Biden Invites Netanyahu to US Easing        By Michael D Shear and Patrick
2023-07-17   2023-07-18 israel.html                                 Tensions                                    Kingsley                         TX 9-317-107   2023-09-01
                                                                    After a Brief Pause Iran Resumes Policing
                        https://www.nytimes.com/2023/07/17/world/ Women Who Defy the Conservative Dress         By Vivian Yee and Leily
2023-07-17   2023-07-18 middleeast/iran-women-protests-hijab.html   Code                                        Nikounazar                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/us/cong Democrats Rift Over Israel Flares Before
2023-07-18   2023-07-18 ress-israel-democrats.html                  Visit by Herzog Its President               By Karoun Demirjian              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/insider/
                        a-mothers-precious-few-words-and-my-
2023-07-18   2023-07-18 own.html                                    A Mothers Few Words and My Own              By Jack Healy                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/world/a Modi Enthralls Indian Diaspora Creating Both
2023-07-18   2023-07-18 sia/india-diaspora.html                     Buzz and Worry                              By Damien Cave                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/nyregio
2023-07-12   2023-07-19 n/penn-station-plan-kimmelman.html          Can a New Plan Improve Penn Station         By James Barron                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/article/no-churn-
2023-07-12   2023-07-19 salted-caramel-ice-cream-recipe.html        Salted Caramel Ice Cream Without the Churn By Melissa Clark                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/dining/
                        drinks/aspartame-artificial-sweetener-free- A Breakup With Diet Soda The Glass Is Half
2023-07-13   2023-07-19 drinks.html                                 Full                                        By Melissa Clark                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/dining/
2023-07-13   2023-07-19 drinks/new-french-wine-book.html            Taking a Fresh Look at French Wine          By Eric Asimov                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/dining/
2023-07-13   2023-07-19 martini.html                                Whats Gotten Into Martinis Lately           By Becky Hughes                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/dining/
                        easy-vegetarian-recipes-everyday-
2023-07-14   2023-07-19 produce.html                                Vegetarian Dishes Embrace Pantry Staples    By Hetty Lui McKinnon            TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/15/world/a Carlos Alberto Montaner 80 Fierce Critic of
2023-07-15   2023-07-19 mericas/carlos-alberto-montaner-dead.html  Castro                                        By Clay Risen                 TX 9-317-107     2023-09-01



                                                                                Page 5497 of 5793
                        https://www.nytimes.com/2023/07/16/busines
                        s/energy-environment/electric-vehicles-
2023-07-16   2023-07-19 backup-power.html                            When the Truck Powers the Home            By Ivan Penn                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/opinion My Brave Friend Kidnapped in Iraq Deserves
2023-07-16   2023-07-19 /elizabeth-tsurkov-kidnapping-iraq.html      the Worlds Support                        By Rachel Sharansky Danziger       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/sports/f CR Roberts 87 Unstoppable Rusher In
2023-07-16   2023-07-19 ootball/cr-roberts-dead.html                 Breakthrough Against Segregation          By Richard Sandomir                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/07/                                           By Molly Cook Escobar Rachel
                        16/us/politics/campaign-finance-july-        Which Presidential Candidates Are Leading Shorey Charlie Smart and Christine
2023-07-16   2023-07-19 2023.html                                    the 2024 Money Race                       Zhang                              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/arts/tele
2023-07-17   2023-07-19 vision/justified-city-primeval-review.html   High Noon in Detroit for a Cool Lawman    By Mike Hale                       TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/17/arts/tele
2023-07-17   2023-07-19 vision/secret-invasion-ben-mendelsohn.html Loyalty and Morphing in the Marvel Universe By Christopher Kuo               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/17/dining/
2023-07-17   2023-07-19 personal-chef-beyonce-lizzo-tour.html        Concert Tour Cooking Goes Healthy         By Soo Youn                      TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/17/nyregio Beverly Moss Spatt 99 Relentless Rescuer of
2023-07-17   2023-07-19 n/beverly-moss-spatt-dead.html               City Landmarks Dies                       By Robert D McFadden             TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/17/opinion America Cant Build a Green Economy
2023-07-17   2023-07-19 /america-china-clean-energy.html             Without China                             By Robinson Meyer                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/17/opinion
                        /hubert-humphrey-1948-convention-meaning-
2023-07-17   2023-07-19 today.html                                   Humphreys 1948 Triumph Resonates Today By Samuel G Freedman                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/17/us/oreg Bodies of Women Discovered in Oregon Are
2023-07-17   2023-07-19 on-women-deaths.html                         Linked to One Another Police Say          By Jesus Jimnez                  TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/17/us/polit Politicians Disagree on Details At a Third
2023-07-18   2023-07-19 ics/no-labels-manchin-huntsman-event.html Partys Soft Launch                              By Jonathan Weisman           TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/18/arts/des
                        ign/honor-titus-gagosian-artist-king-
2023-07-18   2023-07-19 charles.html                                 From Punk To Portraits To Gagosian           By Robin Pogrebin             TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/18/arts/des
                        ign/museum-of-the-city-of-new-york-names-
2023-07-18   2023-07-19 new-president.html                           City Museum Announces New Leader             By Sarah Bahr                 TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/18/arts/tele The Boys Arent Here and Theres Bitterness to
2023-07-18   2023-07-19 vision/creamerie-review.html                 Spare                                        By Mike Hale                  TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/18/busines
2023-07-18   2023-07-19 s/air-taxi-faa.html                          Air Taxis May Finally Get Clearance to Fly By Niraj Chokshi                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/18/busines Angelo Mozilo Leader of Lender In 2008
2023-07-18   2023-07-19 s/angelo-mozilo-dead.html                    Housing Bust Dies at 84                      By Tara Siegel Bernard        TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/18/busines Higher Interest Rates Propel Jump in Profit
2023-07-18   2023-07-19 s/bank-of-america-earnings.html              For Bank of America                          By Stacy Cowley               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/18/busines Europes Power Grid Holds Up Against a
2023-07-18   2023-07-19 s/europe-heat-power-grid-electricity.html    Draining Heat Wave                           By Stanley Reed               TX 9-317-107     2023-09-01



                                                                                 Page 5498 of 5793
                                                                         Chief Executive of Gucci Is Out Amid
                        https://www.nytimes.com/2023/07/18/busines Declining Sales and a ShakeUp of Leadership By Elizabeth Paton and Vanessa
2023-07-18   2023-07-19 s/gucci-ceo-leaves-kering.html                   at Kering                                   Friedman                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/busines Actors and Studios Remain Far Apart on
2023-07-18   2023-07-19 s/media/hollywood-actors-strike.html             Major Issues                                By John Koblin                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/busines Though Actors and Writers Strike Directors
2023-07-18   2023-07-19 s/media/hollywood-strikes-directors.html         Signed a Contract                           By Nicole Sperling               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/dining/
                        exploring-the-restaurants-of-greenpoints-little- Culinary Highlights of Greenpoints Little
2023-07-18   2023-07-19 tokyo.html                                       Tokyo                                       By Nikita Richardson             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/dining/r Alligator Pear Brings Tempura Gator Bites
2023-07-18   2023-07-19 estaurant-openings-nyc.html                      and New Orleans Cooking to Chelsea          By Florence Fabricant            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/dining/r
2023-07-18   2023-07-19 estaurant-review-mischa-pete-wells.html          This 29 Hot Dog Knows a Few Tricks          By Pete Wells                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/movies/
2023-07-18   2023-07-19 barbie-oppenheimer-box-office.html               Summer Showdown At the Box Office           By Brooks Barnes                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/nyregio Adams Turns to Real Estate Leaders For His By Emma G Fitzsimmons and
2023-07-18   2023-07-19 n/adams-real-estate-donors.html                  2025 Campaign FundRaising                   Nicholas Fandos                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/nyregio First Hispanic Police Commissioner Has Deep By Maria Cramer and Corey
2023-07-18   2023-07-19 n/edward-caban-nypd-commissioner.html            Roots in the NYPD                           Kilgannon                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/nyregio The Public Life of the Family of a Murder
2023-07-18   2023-07-19 n/gilgo-beach-rex-heuermann-wife.html            Suspect                                     By Corey Kilgannon               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/nyregio Hochul Issues Series of Executive Orders          By Mihir Zaveri and Luis
2023-07-18   2023-07-19 n/housing-crisis-421a-hochul.html                Meant to Address the Housing Crisis         FerrSadurn                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/nyregio
                        n/judge-criticizes-new-york-city-on-             Judge Rebukes New York City On Jails        By Jonah E Bromwich and
2023-07-18   2023-07-19 rikers.html                                      Safety                                      Benjamin Weiser                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/nyregio                                                   By Maria Cramer and Wesley
2023-07-18   2023-07-19 n/teen-shooting-brooklyn.html                    Boy 15 Is Fatally Shot Near Brooklyn School Parnell                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/sports/c
2023-07-18   2023-07-19 ycling/tour-de-france-vingegaard.html            Time Trial Gives a Big Boost to a Dane      By Victor Mather                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/sports/g
2023-07-18   2023-07-19 olf/british-open-cameron-smith.html              Defending Champion Wants the Jug Back       By Alan Blinder                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/technol Meta Unveils Its New AI With Pledge To
2023-07-18   2023-07-19 ogy/meta-ai-open-source.html                     Share It                                    By Mike Isaac and Cade Metz      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/technol
2023-07-18   2023-07-19 ogy/openai-chatgpt-facial-recognition.html       New Worries That Chatbot Reads Faces        By Kashmir Hill                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/theater/ Artistic Director of HERE To Depart After
2023-07-18   2023-07-19 kristin-marting-here-artistic-director.html      30 Years                                    By Rachel Sherman                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/us/illin
2023-07-18   2023-07-19 ois-cash-bail-ruling.html                        Illinois Ruling Ends the Use Of Cash Bail   By Mitch Smith                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/us/phoe Milestone Sears Phoenix At Least 110              By Jacey Fortin and Mary Beth
2023-07-18   2023-07-19 nix-heat-record.html                             Degrees 19 Days in a Row                    Gahan                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/us/polit Biden Greets One Israeli Leader Masking          By Michael D Shear and Patrick
2023-07-18   2023-07-19 ics/biden-israel-netanyahu-herzog.html           Tensions With Another                       Kingsley                         TX 9-317-107   2023-09-01



                                                                                  Page 5499 of 5793
                        https://www.nytimes.com/2023/07/18/us/polit House Votes Resoundingly to Back Israel
2023-07-18   2023-07-19 ics/house-vote-israel-democrats-jayapal.html Rebuking Democratic Critics                   By Karoun Demirjian            TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/18/us/polit
                        ics/michigan-attorney-general-charges-false- Michigan Charges 16 in a Plot To Push Fake    By Danny Hakim Alexandra
2023-07-18   2023-07-19 electors.html                                Electors in 2020                              Berzon and Maggie Astor        TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/18/us/polit Struggling in Polls DeSantis Defends His       By Jonathan Weisman and Maya
2023-07-18   2023-07-19 ics/ron-desantis-cnn-south-carolina.html     Campaign                                      King                           TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/18/us/polit US Blacklists 2 Spyware Firms at the Center
2023-07-18   2023-07-19 ics/spyware-blacklist-israel-us.html         of a Political Scandal in Greece              By Mark Mazzetti               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/18/us/polit
                        ics/target-letter-trump-obstruction-fraud-   Target Letter to Trump Raises Odds of
2023-07-18   2023-07-19 charges.html                                 Charges In Jan 6 Investigation                By Charlie Savage              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/18/us/polit Super PAC Backing Scott Plans a 40 Million
2023-07-18   2023-07-19 ics/tim-scott-tv-ads.html                    Ad Buy                                        By Shane Goldmacher            TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/18/us/polit Clash on Timing of Trial In Classified Files
2023-07-18   2023-07-19 ics/trump-classified-documents-case.html     Case                                     By Alan Feuer                       TX 9-317-107    2023-09-01
                                                                                                              By Maggie Haberman Glenn
                        https://www.nytimes.com/2023/07/18/us/polit Trump Expecting Indictment Soon Over Ties Thrush Adam Goldman and Alan
2023-07-18   2023-07-19 ics/trump-jan-6-target-letter.html          to Jan 6                                  Feuer                               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/18/us/yello 2 Women Are Attacked by Bison During
2023-07-18   2023-07-19 wstone-bison-woman-gored.html               Visits to National Parks                  By Chang Che                        TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/18/world/a As South Africa Struggles Mandela Goes          By Lynsey Chutel and Gulshan
2023-07-18   2023-07-19 frica/nelson-mandela-day-south-africa.html From Hero to Scapegoat                          Khan                           TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/18/world/a As Beijing Broils Kerry Pushes China on         By Vivian Wang and Lisa
2023-07-18   2023-07-19 sia/china-heat-kerry.html                  Climate                                         Friedman                       TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/18/world/a N Korea Arrests American Who Ran Across         By Choe SangHun Michael D Shear
2023-07-18   2023-07-19 sia/north-korea-detained-american.html     Border                                          John Ismay and Edward Wong      TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/18/world/a US NuclearCapable Sub Visits a South
2023-07-18   2023-07-19 sia/south-korea-us-nuclear-submarine.html  Korean Port                                 By Choe SangHun                    TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/18/world/e
                        urope/asylum-seekers-uk-barge-bibby-       Asylum Seekers UK Backers and Opponents
2023-07-18   2023-07-19 stockholm.html                             Unite in Fury                               By Megan Specia                    TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/18/world/e
                        urope/boris-johnson-uxbridge-by-           Buffoon or Lovable Rogue Byelection Looms
2023-07-18   2023-07-19 election.html                              to Fill His Seat                            By Stephen Castle                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/18/world/e LowestPaid Europeans Fare Worst in the Heat
2023-07-18   2023-07-19 urope/heat-workers-europe-italy.html       Reflecting a Deep Divide                    By Emma Bubola                     TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/18/world/e
                        urope/king-charles-rent-increases-         As Landlord In Past Year King Charles
2023-07-18   2023-07-19 income.html                                Raked It In                                 By Jane Bradley                    TX 9-317-107    2023-09-01




                                                                                 Page 5500 of 5793
                                                                                                                By Marc Santora Ivan
                        https://www.nytimes.com/2023/07/18/world/e Russia Strikes Ukraine Port As Grain Deal Is Nechepurenko and Matthew Mpoke
2023-07-18   2023-07-19 urope/russia-barrage-odesa-grain-bridge.html Suspended                                  Bigg                           TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/18/world/e Spanish Vote Threatens Efforts to Recover    By Constant Mheut and Samuel
2023-07-18   2023-07-19 urope/spain-franco-victims-recover.html      Francos Victims                            Aranda                         TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/18/world/e On the Battlefields Haunting Echoes of World
2023-07-18   2023-07-19 urope/ukraine-world-war-ii.html              War II                                     By Andrew E Kramer             TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/18/world/e Heat Waves Stifle 3 Continents as Climate
2023-07-18   2023-07-19 xtreme-heat-wave-us-europe-asia.html         Change Warms the Globe                     By Alan Yuhas                  TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/18/world/
2023-07-18   2023-07-19 middleeast/egypt-patrick-zaki-jailed.html    Egyptian Is Sentenced for Fake News        By Vivian Yee                  TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/18/world/
                        middleeast/israel-protests-judicial-         Israelis Renew Protests Against Legal
2023-07-18   2023-07-19 overhaul.html                                Overhaul                                   By Patrick Kingsley            TX 9-317-107     2023-09-01
                        https://www.nytimes.com/interactive/2023/07/ How Canadas Record Wildfires Got So Bad
2023-07-18   2023-07-19 18/climate/canada-record-wildfires.html      So Fast                                    By Nadja Popovich              TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/18/busines
2023-07-19   2023-07-19 s/actors-strike-film-exemptions.html         39 Indie Works May Proceed Despite Strike By Brooks Barnes                TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/18/theater/
2023-07-19   2023-07-19 orpheus-descending-review-maggie-siff.html Playing Down the Melodrama                  By Elisabeth Vincentelli          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/sports/g Twenty Years Later Overnight Sensation
2023-07-19   2023-07-19 olf/british-open-ben-curtis.html            Enjoys the Quiet Life                      By Alan Blinder                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/19/sports/s
2023-07-19   2023-07-19 occer/womens-world-cup-soccer-torn-acl.html The Curse Stalking Womens Soccer           By Rory Smith                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/10/t-       You Just Might Say the Renaissance Is
2023-07-10   2023-07-20 magazine/renaissance-art-fashion-film.html Having a Renaissance                        By Rachel Wetzler                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/arts/des
                        ign/dance-sculpture-brendan-fernandes-      A Fresh Blend That Pairs Dance With
2023-07-14   2023-07-20 william-edmondson.html                      Sculpture                                  By Precious Adesina               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/busines
2023-07-14   2023-07-20 s/uruguay-china-trade.html                  Uruguay Has a Beef and Its Not With China By Peter S Goodman                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/movies/ Looking at Games In Which Only The Ball
2023-07-14   2023-07-20 sam-pollard-interview-the-league.html       Was White                                  By Robert Daniels                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/well/de Here to Help How to Avoid Hunching at Your
2023-07-14   2023-07-20 sk-hunching-ergonomics-back-pain.html       Desk                                       By Jancee Dunn                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/style/ja
2023-07-16   2023-07-20 ne-birkin-birkin-bag-style-icon.html        For Decades an Exemplar of Effortless Chic By Guy Trebay                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/style/cu
2023-07-17   2023-07-20 rlfest-nyc.html                             Celebrating Black Roots at Curlfest        By Frank Rojas and Brian Fraser   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/style/m
2023-07-17   2023-07-20 argot-robbie-barbie-premiere-outfits.html   This Barbie Is Now On Strike               By The Styles Desk                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/style/pi
2023-07-17   2023-07-20 nkydoll-social-media-livestream.html        PinkyDolls Voices Charm the Internet       By Madison Malone Kircher         TX 9-317-107   2023-09-01



                                                                                Page 5501 of 5793
                        https://www.nytimes.com/2023/07/18/books/s Stephen M Silverman 71 Journalist And
2023-07-18   2023-07-20 tephen-m-silverman-dead.html                Biographer of Stage and Screen              By Richard Sandomir           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/busines Blessing and Boogeyman Advertisers
2023-07-18   2023-07-20 s/media/ai-advertising.html                 Embrace AI                                  By Tiffany Hsu and Yiwen Lu   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/movies/
2023-07-18   2023-07-20 barbie-movie-review.html                    On the Road With a Living Doll              By Manohla Dargis             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/style/su
2023-07-18   2023-07-20 mmer-fashion-eric-rohmer.html               Summer Love in the Style of Eric Rohmer     By Sarah Rosen                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/theater/ Can Revisions Save Miss Saigon for the 21st
2023-07-18   2023-07-20 miss-saigon.html                            Century                                     By Houman Barekat             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/world/a
2023-07-18   2023-07-20 ustralia/yiddish-melbourne-australia.html   No Oy Needed Yiddish Thrives in Oystralye By Natasha Frost                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/world/e Facing Arrest Putin Will Skip August Travel
2023-07-18   2023-07-20 urope/putin-south-africa.html               To South Africa                             By John Eligon                TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/18/opinion
2023-07-19   2023-07-20 /biden-netanyahu-supreme-court-protests.html Biden to Netanyahu Slow Down                  By Thomas L Friedman       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/opinion As Fake Electors Face Charges                   By Norman Eisen and Ryan
2023-07-19   2023-07-20 /trump-false-electors-michigan.html          Accountability Seems Closer                   Goodman                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/world/a
2023-07-19   2023-07-20 sia/kissinger-china-defense.html             Kissinger 100 Gets Accolades In China Visit   By Vivian Wang             TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/19/arts/des Propaganda and an Ambiguous Message Are
2023-07-19   2023-07-20 ign/josh-kline-komar-melamid-review.html Both on View                                 By Travis Diehl                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/arts/des
                        ign/philip-guston-national-gallery-         A Show Confronts Evil Yet the Friction
2023-07-19   2023-07-20 washington.html                             Lingers                                   By Aruna DSouza                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/arts/mu Jerry Bradley 83 Record Executive Put
2023-07-19   2023-07-20 sic/jerry-bradley-dead.html                 Outlaw Country Music on the Map           By Bill FriskicsWarren          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/busines UK Inflation Rate Slows To 79 Offering
2023-07-19   2023-07-20 s/britain-inflation-june.html               Relief As Fuel Prices Decline             By Eshe Nelson                  TX 9-317-107   2023-09-01
                                                                    Carvana Used Car Dealer Reaches Agreement
                        https://www.nytimes.com/2023/07/19/busines to Restructure Debt With Most of Its       By Neal E Boudette and Joe
2023-07-19   2023-07-20 s/carvana-apollo-debt-restructuring.html    Bondholders                               Rennison                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/busines
                        s/dealbook/skims-kim-kardashian-            FastStarting Skims a Kardashian Apparel
2023-07-19   2023-07-20 fundraise.html                              Company Is Now Worth 4 Billion            By Michael J de la Merced       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/busines Recession Worries Are Waning But Dont Pop By Ben Casselman and Jeanna
2023-07-19   2023-07-20 s/economy/economy-soft-landing.html         the Cork Just Yet                         Smialek                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/busines Enforcement Fed Hits Deutsche Bank With
2023-07-19   2023-07-20 s/federal-reserve-deutsche-bank-fine.html   186 Million Fine                          By Matthew Goldstein            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/busines Struggling Goldman Reports a Steep Drop in
2023-07-19   2023-07-20 s/goldman-sachs-profit.html                 Quarterly Profit                          By Rob Copeland                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/busines Automobiles Jaguar Land Rover Owner Eyes
2023-07-19   2023-07-20 s/jaguar-land-rover-tata-battery-plant.html English Battery Plant                     By Stanley Reed                 TX 9-317-107   2023-09-01



                                                                                 Page 5502 of 5793
                        https://www.nytimes.com/2023/07/19/busines Students Use Newspapers To Generate Real
2023-07-19   2023-07-20 s/media/college-newspapers.html            Change                                      By Katie Robertson               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/19/busines Upbeat Earnings for Netflix Amid Backdrop
2023-07-19   2023-07-20 s/media/netflix-earnings.html              of Strikes                                  By Nicole Sperling               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/19/busines Microsoft and Activision Delay Deal to Work
2023-07-19   2023-07-20 s/microsoft-activision-deal-delay-uk.html  Out Regulatory Issues                       By Karen Weise                   TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/19/busines Price Cuts Spur Demand And Tesla Turns a
2023-07-19   2023-07-20 s/tesla-second-quarter-electric-vehicles.html Profit                                    By Jack Ewing                   TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/19/climate Heat Records Are Broken In Places Across
2023-07-19   2023-07-20 /global-heat-records-july.html                the Globe                                 By Elena Shao                   TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/19/climate US and China on Climate How the Worlds
2023-07-19   2023-07-20 /us-china-climate-issues.html                 Two Largest Polluters Stack Up            By Lisa Friedman                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/19/dining/ King Salmons Fall Imperils Alaskan Way of
2023-07-19   2023-07-20 alaska-king-salmon-orcas.html                 Life                                      By Julia OMalley                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/19/health/ Insurers Deny Medical Care for the Poor At
2023-07-19   2023-07-20 health-insurance-medicaid-denials.html        AboveAverage Rates Report Finds           By Reed Abelson                 TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/19/insider/
                        reporting-in-yiddish-without-speaking-        Reporting in Yiddish Without Speaking
2023-07-19   2023-07-20 yiddish.html                                  Yiddish                                   By Natasha Frost                TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/19/nyregio Families of Other Gilgo Beach Victims         By Hurubie Meko Erin Nolan and
2023-07-19   2023-07-20 n/gilgo-beach-murders-victims-charges.html Endure a Painful Wait                         Ellen Yan                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/nyregio New York City To Discourage Asylum
2023-07-19   2023-07-20 n/migrants-shelter-nyc-adams.html              Seekers                                   By Jeffery C Mays                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/nyregio New York City Subway and Bus Fares Are
2023-07-19   2023-07-20 n/mta-subway-fare-hikes.html                   Going Up for First Time in 8 Years        By Ana Ley                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/nyregio New York Schools Ordered To Fix Issues in
2023-07-19   2023-07-20 n/nyc-schools-special-education.html           Special Ed                                By Troy Closson                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/nyregio Case Citing Hush Money Will Remain In NY
2023-07-19   2023-07-20 n/trump-hush-money-case-court.html             Court                                     By Jonah E Bromwich              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/opinion
2023-07-19   2023-07-20 /joe-manchin-no-labels.html                    Manchin Has a Lot of Explaining to Do     By Gail Collins                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/opinion Trumps Indictments Dont Relieve the
2023-07-19   2023-07-20 /trump-indictment.html                         Anxiety                                   By Charles M Blow                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/science Questions About a University Leaders Work By Oliver Whang and Benjamin
2023-07-19   2023-07-20 /tessier-lavigne-resignation-research.html     First Emerged in 2015                     Mueller                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/sports/b
                        aseball/randy-bass-alex-ramirez-japan-hall-of- Japans Hall of Fame Goes Global With
2023-07-19   2023-07-20 fame.html                                      Induction of ForeignBorn Stars            By Brad Lefton                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/sports/g
2023-07-19   2023-07-20 olf/british-open-royal-liverpool-guide.html    The Course Is Tricky Then Theres the Wind By Alan Blinder and Jin Yu Young TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/sports/g
2023-07-19   2023-07-20 olf/british-open-weather.html                  The one thing organizers cant control     By Paul Sullivan                 TX 9-317-107   2023-09-01




                                                                               Page 5503 of 5793
                        https://www.nytimes.com/2023/07/19/sports/g
2023-07-19   2023-07-20 olf/nick-price-british-open.html            Nick Prices most thrilling win               By Michael Arkush                  TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/19/sports/g
2023-07-19   2023-07-20 olf/players-to-watch-at-the-british-open.html 5 players to watch at Royal Liverpool         By Michael Arkush                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/style/sp
2023-07-19   2023-07-20 orty-and-rich-emily-oberg.html                Her Personal and Business Aspirations Merge By Jessica Testa                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/technol US Seeks To Sharpen Tools to Stop Tech           By Cecilia Kang and David
2023-07-19   2023-07-20 ogy/guidelines-tech-mergers-antitrust.html    Mergers                                       McCabe                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/theater/
2023-07-19   2023-07-20 broadwaycon-diversity-panels.html             Cheering On Inclusive Theater                 By Sarah Bahr                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/us/flori
2023-07-19   2023-07-20 da-ocean-temperatures-swimmers.html           Staying Cool in Florida Not Even at the Beach By Patricia Mazzei                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/us/israe Israeli President Highlights Bonds With US
2023-07-19   2023-07-20 l-herzog-congress-biden.html                  Amid Dismay                                   By Karoun Demirjian               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/us/jame James Reston Jr 82 Author With a Hand In
2023-07-19   2023-07-20 s-reston-jr-dead.html                         Nixon Apology Dies                            By Sam Roberts                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/us/miss A Sheriff Unscathed Despite Sex Abuse            By Ilyssa Daly Jerry Mitchell and
2023-07-19   2023-07-20 issippi-sheriff-sexual-abuse.html             Claims                                        Rory Doyle                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/us/polit IRS WhistleBlowers Allege Bias in the
2023-07-19   2023-07-20 ics/irs-hunter-biden-whistle-blowers.html     Hunter Biden Investigation                    By Luke Broadwater                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/us/polit                                                 By Maggie Haberman Adam
                        ics/trump-charges-civil-rights-law-voting-    Potential Trump Charges Center on Civil       Goldman Charlie Savage and Alan
2023-07-19   2023-07-20 fraud.html                                    Rights Law Used in Voter Fraud Cases          Feuer                             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/us/polit Another Possible Indictment but Republicans By Shane Goldmacher and Maggie
2023-07-19   2023-07-20 ics/trump-indictment-republicans.html         Just Shrug                                    Haberman                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/us/polit Trump Screens Sound of Freedom A Film
2023-07-19   2023-07-20 ics/trump-sound-of-freedom.html               Popular With Conservatives                    By Anjali Huynh                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/us/stanf Stanford President Quits Over Flaws Found in
2023-07-19   2023-07-20 ord-president-resigns-tessier-lavigne.html    His Research                                  By Stephanie Saul                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/us/texa Officers Voice Concerns Over Aggressive          By Edgar Sandoval Jay Root and J
2023-07-19   2023-07-20 s-border-migrants-abbott.html                 Tactics at the Border in Texas                David Goodman                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/world/a Dermot Doran Priest Who Rallied Aid for
2023-07-19   2023-07-20 frica/dermot-doran-dead.html                  Biafran Airlift Is Dead at 88                 By Clay Risen                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/world/a
                        sia/auckland-new-zealand-shooting-world-                                                    By Juliet Macur Andrew Das and
2023-07-19   2023-07-20 cup.html                                      Shooter Kills At Least 2 Marring World Cup Yan Zhuang                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/world/a Data Briefly Hinted at Chinas Hidden Covid By Muyi Xiao Mara Hvistendahl
2023-07-19   2023-07-20 sia/china-covid-data-toll.html                Toll                                          and James Glanz                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/world/a                                                  By Lisa Friedman Chris Buckley
2023-07-19   2023-07-20 sia/xi-china-climate-kerry.html               Climate Talks With US Fail To Sway China and Keith Bradsher                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/world/e Kremlin Warns it Will Enforce Naval              By Marc Santora Matthew Mpoke
2023-07-19   2023-07-20 urope/russia-ukraine-odesa-port.html          Blockade                                      Bigg and Joe Rennison             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/world/e Spain Facing a Future of Drought Turns to
2023-07-19   2023-07-20 urope/spain-drought-acequias.html             Medieval Solutions                            By Constant Mheut                 TX 9-317-107   2023-09-01



                                                                                 Page 5504 of 5793
                        https://www.nytimes.com/2023/07/19/world/e Sunak Vows to Fix Britain But Economic
2023-07-19   2023-07-20 urope/sunak-uk-economy-inflation.html      Cracks Grow                                    By Mark Landler and Eshe Nelson TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/19/world/e Troops Personal Battle To Liberate
2023-07-19   2023-07-20 urope/ukraine-counteroffensive-soldiers.html Hometowns                                    By Maria Varenikova               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/world/ Imprisoned Two Activists Win Pardons
2023-07-19   2023-07-20 middleeast/egypt-detainee-pardons.html       From elSisi                                  By Vivian Yee                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/world/ Protests Simmer Across Israel Ahead of
2023-07-19   2023-07-20 middleeast/israel-protests.html              Speech to US Congress                        By Isabel Kershner                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/sports/s
2023-07-20   2023-07-20 occer/sam-kerr-australia-world-cup.html      Australias New Queen                         By Rory Smith                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/sports/g Designed by God Links Golf in All Its
2023-07-20   2023-07-20 olf/british-open-royal-liverpool-links.html  Windswept Glory                              By Michael Bamberger              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/us/polit Being on the Trail and on Trial May Be a Tall
2023-07-20   2023-07-20 ics/trump-trials-2024-campaign.html          Order for Trump                              By Charlie Savage                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/theater/
2023-07-13   2023-07-21 avignon-festival.html                        French Festival Focuses Timidly on English By Laura Cappelle                   TX 9-317-107   2023-09-01
                                                                                                                  By Helmuth Rosales William J
                        https://www.nytimes.com/interactive/2023/07/ The Maverick Design Choices That May         Broad Eleanor Lutz and Bedel
2023-07-14   2023-07-21 14/us/titan-submersible-implode-design.html Have Doomed Titan                             Saget                             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/movies/
2023-07-17   2023-07-21 unknown-cave-of-bones-review.html            Unknown Cave of Bones                        By Brandon Yu                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/theater/
2023-07-18   2023-07-21 back-and-forth-review.html                   A CovidEra CatchUp Over a Game of Catch By Brittani Samuel                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/busines New StudentDebt Relief Could Cost 475
2023-07-19   2023-07-21 s/biden-student-loans-repayment.html         Billion                                      By Stacy Cowley                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/climate Lawyers Novel Tactics Put BullsEye on Big
2023-07-19   2023-07-21 /climate-lawsuit-puerto-rico.html            Oil                                          By David Gelles and Erin Schaff   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/19/movies/
2023-07-19   2023-07-21 oppenheimer-review-christopher-nolan.html Creator and Destroyer                           By Manohla Dargis                 TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/19/opinion Whats Next After OvertheCounter Birth
2023-07-19   2023-07-21 /birth-control-pills-opill-over-the-counter.html Control Pills                               By Daniel Grossman             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/opinion
2023-07-19   2023-07-21 /legalization-sex-trade.html                     When Children Are Bought and Sold           By Nicholas Kristof            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/us/lilli- Lilli Vincenz a Trailblazer in the Gay Rights
2023-07-19   2023-07-21 vincenz-dead.html                                Movement Dies at 85                         By Alex Williams               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/busines
                        s/google-artificial-intelligence-news-           Google Is Testing an AI Tool That Can Write By Benjamin Mullin and Nico
2023-07-20   2023-07-21 articles.html                                    News Articles                               Grant                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/world/ Swedish Embassy Is Stormed Over Quran              By Isabella Kwai and Raja
2023-07-20   2023-07-21 middleeast/iraq-sweden-embassy.html              Burnings                                    Abdulrahim                     TX 9-317-107   2023-09-01




                                                                                  Page 5505 of 5793
                        https://www.nytimes.com/2023/07/20/arts/des
2023-07-20   2023-07-21 ign/edward-kaprov-ukraine-photographs.html Shooting on the Front Lines                    By Carlotta Gall            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/arts/des From an Informal Map Grows A Vast Festival
2023-07-20   2023-07-21 ign/new-york-art-weekend-nada.html            on the Hudson                               By Will Heinrich            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/arts/tele
2023-07-20   2023-07-21 vision/minx-season-2-starz-review.html        Exploring Hidden Corners Of the 70s         By James Poniewozik         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/arts/tele
2023-07-20   2023-07-21 vision/praise-petey-miracle-workers.html      This Weekend I Have                         By Margaret Lyons           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/books/ Martha Saxton 77 Historian Who Explored
2023-07-20   2023-07-21 martha-saxton-dead.html                       the Lives of a Wide Range of Women          By Clay Risen               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/busines Best Place for Jobs in Artificial Intelligence
                        s/ai-jobs-bay-area-brookings-institution-     The San Francisco Bay Area of Course a
2023-07-20   2023-07-21 report.html                                   Study Says                                  By Steve Lohr               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/busines
2023-07-20   2023-07-21 s/airlines-profits-summer-travel.html         Air Travel And Profits Stay Strong          By Niraj Chokshi            TX 9-317-107   2023-09-01
                                                                      AMC Theater Chain Ending a Contentious
                        https://www.nytimes.com/2023/07/20/busines Experiment Will Stop Charging for Better
2023-07-20   2023-07-21 s/amc-movie-theaters-ticket-prices.html       Seats                                       By Brooks Barnes            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/busines Heat Waves Deepen Chinas Dependence on
2023-07-20   2023-07-21 s/china-coal-climate-change.html              Coal                                        By Keith Bradsher           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/busines
2023-07-20   2023-07-21 s/dealbook/blackstone-trillion.html           Blackstone Milestone 1 Trillion In Assets   By Michael J de la Merced   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/busines
                        s/economy/writers-strike-hollywood-gig-
2023-07-20   2023-07-21 work.html                                     How TV Writing Became a DeadEnd Job         By Noam Scheiber            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/busines Dick Biondi 90 Wild and Goofy FastTalking
2023-07-20   2023-07-21 s/media/dick-biondi-dead.html                 Star of Top 40 Radio                        By Richard Sandomir         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/busines Tesla Wants to Double the Size Of Its
2023-07-20   2023-07-21 s/tesla-germany-assembly-plant.html           German Assembly Plant                       By Melissa Eddy             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/climate Administration Moves to Raise the Cost of
2023-07-20   2023-07-21 /biden-drilling-federal-lands.html            Drilling on Federal Lands                   By Coral Davenport          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/climate
2023-07-20   2023-07-21 /hottest-june-in-history-noaa.html            This June Is Hottest On Record Since 1850 By Delger Erdenesanaa         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/climate
                        /justice40-pollution-environmental-           Biden Plan Wont Fix Racial Gap in Air
2023-07-20   2023-07-21 justice.html                                  Quality Study Says                          By Delger Erdenesanaa       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/health/t Tornado Strikes Pfizer Site Amid US Drug
2023-07-20   2023-07-21 ornado-pfizer-drug-shortage.html              Shortages                                   By Christina Jewett         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/movies/
2023-07-20   2023-07-21 bawaal-review.html                            Bawaal                                      By Beatrice Loayza          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/movies/
2023-07-20   2023-07-21 glitch-the-rise-fall-of-hq-trivia-review.html Glitch The Rise amp Fall Of HQ Trivia       By Calum Marsh              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/movies/
2023-07-20   2023-07-21 return-to-dust-review.html                    Return to Dust                              By Austin Considine         TX 9-317-107   2023-09-01



                                                                                 Page 5506 of 5793
                        https://www.nytimes.com/2023/07/20/movies/
2023-07-20   2023-07-21 stephen-curry-underrated-review.html          Stephen Curry Underrated                 By Ben Kenigsberg                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/movies/
2023-07-20   2023-07-21 streetwise-review.html                        Streetwise                               By Glenn Kenny                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/movies/
2023-07-20   2023-07-21 the-deepest-breath-review.html                The Deepest Breath                       By Natalia Winkelman               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/movies/
                        the-venture-bros-radiant-is-the-blood-of-the- The Venture Bros Radiant Is the Blood Of
2023-07-20   2023-07-21 baboon-heart-review.html                      the Baboon Heart                         By Danielle Dowling                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/movies/
2023-07-20   2023-07-21 they-cloned-tyrone-review.html                Is It an Invasion of the Body Copiers    By Robert Daniels                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/movies/
2023-07-20   2023-07-21 while-we-watched-review.html                  While We Watched                         By Devika Girish                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/nyregio A Polygon and a Chevy How the Gilgo Beach By William K Rashbaum Joseph
2023-07-20   2023-07-21 n/gilgo-beach-serial-killer.html              Suspect Was Found                        Goldstein and Johnny Milano        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/nyregio
                        n/nypd-george-floyd-protesters-               New York to Pay Record 137 Million Over
2023-07-20   2023-07-21 settlement.html                               Police Actions at Protests               By Colin Moynihan                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/opinion
                        /american-economny-europe-
2023-07-20   2023-07-21 triumphalism.html                             Beware the New American Triumphalism     By Paul Krugman                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/20/opinion
2023-07-20   2023-07-21 /columnists/2024-election-biden-trump.html The Presidential Rematch Nobody Wants        By Pamela Paul                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/sports/b Surprising Teams Revived by Phenoms Are
2023-07-20   2023-07-21 aseball/corbin-carroll-elly-de-la-cruz.html Colliding in Cincinnati                     By Zach Buchanan                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/sports/f Strange Feeling Pervades Jets Camp A Lot of
2023-07-20   2023-07-21 ootball/aaron-rodgers-jets-camp.html        Positivity Around Here                      By Santul Nerkar                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/sports/f
                        ootball/dan-snyder-mary-jo-white-           After Investigation Snyder Faces 60 Million
2023-07-20   2023-07-21 investigation.html                          Fine                                        By Ken Belson and Jenny Vrentas   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/sports/f
                        ootball/washington-commanders-josh-harris- NFL Approves Sale Of the Commanders And
2023-07-20   2023-07-21 dan-snyder.html                             the Owners Exit                             By Ken Belson                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/sports/g
                        olf/british-open-fleetwood-lamprecht-       2 Georgia Tech Men Age 50 and Age 22
2023-07-20   2023-07-21 cink.html                                   Dodge Bunkers Maze                          By Alan Blinder                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/technol
                        ogy/an-ai-supercomputer-whirs-to-life-
2023-07-20   2023-07-21 powered-by-giant-computer-chips.html        Supersizing Computers And Chips             By Yiwen Lu                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/technol Kevin Mitnick 59 Computer Hacker Turned
2023-07-20   2023-07-21 ogy/kevin-mitnick-dead-hacker.html          Expert Dies                                 By Alex Traub                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/us/crim Survey of US Cities Shows Nearly 10 Drop in
2023-07-20   2023-07-21 e-data-homicides.html                       Homicides                                   By Tim Arango                     TX 9-317-107   2023-09-01




                                                                               Page 5507 of 5793
                        https://www.nytimes.com/2023/07/20/us/phoe In Phoenix These Scorching Days The AC
2023-07-20   2023-07-21 nix-heat-wave-air-conditioner.html          Guys Are Essential Workers                   By Jack Healy                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/us/polit
2023-07-20   2023-07-21 ics/biden-trump-indictments.html            Bidens Taunts Target Trump Not Charges       By Reid J Epstein              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/us/polit US Official Says Hack Is Espionage By
2023-07-20   2023-07-21 ics/china-hacking-official-email.html       Chinese                                      By Julian E Barnes             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/us/polit Bipartisan Boost To Airline Travel Passes
2023-07-20   2023-07-21 ics/faa-air-travel-planes-congress.html     the House                                    By Kayla Guo                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/us/polit Kennedy Denies Bigotry After Conspiratorial
2023-07-20   2023-07-21 ics/rfk-jr-vaccines-house-hearing.html      Video                                        By Sheryl Gay Stolberg         TX 9-317-107   2023-09-01
                                                                    Supreme Court Ethics Bill Passes Senate
                        https://www.nytimes.com/2023/07/20/us/polit Committee but GOP Vows It Will Go No
2023-07-20   2023-07-21 ics/senate-supreme-court-ethics-rules.html  Further                                      By Carl Hulse                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/us/polit
2023-07-20   2023-07-21 ics/texas-eric-voter-integrity-group.html   Texas Will Leave Voting Integrity Group      By Neil Vigdor                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/us/polit Trump Grand Jury Proceedings in              By Alan Feuer and Maggie
2023-07-20   2023-07-21 ics/trump-jan-6-court-washington.html       Washington Delay a Jan 6 Verdict             Haberman                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/us/polit One Obstruction Count Cited in Trump
2023-07-20   2023-07-21 ics/trump-jan-6-obstruction-charge.html     Inquiry Faces Scrutiny by Court              By Alan Feuer                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/world/a Kenya Stares Into Abyss As Crises Come to a
2023-07-20   2023-07-21 frica/kenya-protests-tax-hikes.html         Boil                                         By Declan Walsh                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/world/a Stranded Along Tunisias Borders Migrants
2023-07-20   2023-07-21 frica/tunisia-african-migrants.html         Wait for Death                               By Vivian Yee                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/world/a
                        mericas/maya-city-yucatan-archaeology-      Ruin of Maya City Is Discovered In Empty
2023-07-20   2023-07-21 ocomtun.html                                Zone of the Yucatn                           By Alan Yuhas                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/world/a Wary of Biden China Courts Old Friends Like By David Pierson Vivian Wang and
2023-07-20   2023-07-21 sia/china-kissinger-visit-us.html           Kissinger Instead                            Edward Wong                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/world/a 10 Killed in India Landslide 100 Trapped
2023-07-20   2023-07-21 sia/india-flood-maharashtra-monsoon.html    Under Rubble                                 By Sameer Yasir and Hari Kumar TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/world/a Video of Assault Goes Viral Spotlighting
2023-07-20   2023-07-21 sia/india-manipur-video-woman.html          Ethnic Conflict                              By Suhasini Raj                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/world/a North Korea Silent on US Soldier Who
2023-07-20   2023-07-21 sia/north-korea-soldier-king.html           Crossed Border                               By Choe SangHun                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/world/e
2023-07-20   2023-07-21 urope/heat-elderly.html                     Hotter Europe Poses a Threat To Older Adults By Gaia Pianigiani             TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/20/world/e Germany Turns to Siestas to Ease a Feverish
2023-07-20   2023-07-21 urope/heat-wave-siesta-spain-germany.html Summer                                       By Constant Mheut              TX 9-317-107     2023-09-01
                                                                                                               By Michael D Shear Neil
                        https://www.nytimes.com/2023/07/20/world/e Russia Hits Grain Ports In What US Calls a MacFarquhar and James C
2023-07-20   2023-07-21 urope/russia-ukraine-ports-mines.html      Ruse                                        McKinley Jr                    TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/20/world/e Theme Park in Spain Runs on Selective
2023-07-20   2023-07-21 urope/spain-history-puy-du-fou.html        History Its All the Rage                    By Constant Mheut              TX 9-317-107     2023-09-01




                                                                              Page 5508 of 5793
                        https://www.nytimes.com/2023/07/20/world/e In Kyiv Children With Cancer Fight a War
2023-07-20   2023-07-21 urope/ukraine-children-cancer-war.html       Within a War                                  By Megan Specia             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/live/2023/07/21/wo
                        rld/russia-ukraine-news/erdogan-putin-grain- Despite Grain Deal Collapse Putin and
2023-07-20   2023-07-21 ukraine                                      Erdogan Maintain Ties                         By Safak Timur              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/theater/ Dictator Boogie The Imelda Marcos Disco
2023-07-21   2023-07-21 here-lies-love-review-david-byrne.html       Inferno                                       By Jesse Green              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/insider/
2023-07-21   2023-07-21 barbie-oppenheimer-critic.html               Big Weekend for an Industry Built on Crises   By Josh Ocampo              TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/21/sports/s This US Team Is One for the Ages All the
2023-07-21   2023-07-21 occer/womens-world-cup-us-team-age.html Ages                                               By Juliet Macur             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/movies/ So Many Hands Writing but Whos The True
2023-07-12   2023-07-22 the-lesson-richard-e-grant.html             Author                                         By Carlos Aguilar           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/travel/
2023-07-12   2023-07-22 whale-sharks-ningaloo-australia.html        Rekindling a Mojo for the Open Road            By Damien Cave              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/travel/r 5 Restaurants in Naples That Go Beyond
2023-07-14   2023-07-22 estaurants-naples-italy.html                Pizza                                          By Seth Sherwood            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/opinion                                                 By Liran Einav and Amy
2023-07-18   2023-07-22 /universal-health-care.html                 We Dont Have the Health Care We Pay For        Finkelstein                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/opinion My City Has Run Out of Fresh Water Will
2023-07-19   2023-07-22 /drinking-water-montevideo.html             Yours Be Next                                  By Guillermo Garat          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/opinion
2023-07-19   2023-07-22 /language-gender-pronoun-baltimore.html     Yo an Entirely New GenderNeutral Pronoun       By John McWhorter           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/sports/c
                        ycling/tour-de-france-leader-yellow-        Its an Honor To Wear This Jersey Its Also
2023-07-19   2023-07-22 jersey.html                                 Kind of A Pain                                 By Pete Kiehart             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/us/steve Steve Pieters 70 Gay Pastor Whose Words
2023-07-19   2023-07-22 pieters-dead.html                           Changed Hearts Dies                            By Neil Genzlinger          TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/20/technol The Crypto Crash Told in a Voice Both           By David YaffeBellany and
2023-07-20   2023-07-22 ogy/ftx-caroline-ellison-bankman-fried.html Personal And Pained                            Matthew Goldstein           TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/20/theater/
2023-07-20   2023-07-22 broadway-pink-contract-stagehand-deal.html Agreement Averts Strike on Broadway         By Julia Jacobs                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/theater/ Carlin Glynn 83 a Stage Actress Who Turned
2023-07-20   2023-07-22 carlin-glynn-dead.html                      Helping Out Into a Tony                    By Neil Genzlinger              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/theater/
2023-07-20   2023-07-22 how-to-dance-in-ohio-broadway.html          Dancing Toward Their Big Debut             By Michael Paulson              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/science
                        /trinity-nuclear-test-atomic-bomb-          Analysis Finds Fallout Spread Much Farther
2023-07-21   2023-07-22 oppenheimer.html                            Than Experts Thought                       By Lesley M M Blume             TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/20/world/e                                              By Mark Landler and Stephen
2023-07-21   2023-07-22 urope/uk-elections-sunak-conservatives.html Bad Night at the Polls For UK Conservatives Castle                         TX 9-317-107   2023-09-01



                                                                                 Page 5509 of 5793
                        https://www.nytimes.com/2023/07/21/arts/ben
2023-07-21   2023-07-22 edict-arnold-medal-west-point-andre.html    Uncovering An Heirloom From History       By Christopher Kuo               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/21/arts/clo
2023-07-21   2023-07-22 ned-tyrone-juel-taylor.html                 SciFi Stereotypes and Satire              By Reggie Ugwu                   TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/21/arts/des
2023-07-21   2023-07-22 ign/buddhist-art-india-metropolitan-met.html Buddhist Works Beauty Beyond Belief        By Holland Cotter                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/arts/mu
                        sic/teatro-nuovo-donizetti-poliuto-ricci-
2023-07-21   2023-07-22 crispino.html                                Finding Thrills in Homogeneity             By Oussama Zahr                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/arts/mu Tony Bennett 96 Who Left His Heart on the
2023-07-21   2023-07-22 sic/tony-bennett-dead.html                   Stage Dies                                 By Bruce Weber                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/arts/mu He Didnt Chase Listeners He Let Them Come
2023-07-21   2023-07-22 sic/tony-bennett-pop-career.html             to Him                                     By Jon Pareles                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/briefing
                        /microsoft-activision-ftc-corporate-         With Federal Reins Loose Big Business Gets
2023-07-21   2023-07-22 concentration.html                           Bigger                                     By German Lopez                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/busines
                        s/dealbook/luxury-kering-activist-           Kering Is Under Pressure After Executive   By Michael J de la Merced and
2023-07-21   2023-07-22 investor.html                                ShakeUp                                    Elizabeth Paton                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/busines GOP Eyes Fords Deal On Batteries With
2023-07-21   2023-07-22 s/economy/ford-china-battery-catl.html       Chinese                                    By Ana Swanson and Jack Ewing TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/21/busines
2023-07-21   2023-07-22 s/glory-to-hong-kong-injunction.html         Hong Kong to Rule on Protest Song Ban      By Tiffany May                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/busines
                        s/leon-black-settlement-jeffrey-epstein-
2023-07-21   2023-07-22 claims.html                                  Black Settled Epstein Case For Millions    By Matthew Goldstein             TX 9-317-107   2023-09-01
                                                                     ESPN Is Said to Talk With Pro Sports
                        https://www.nytimes.com/2023/07/21/busines Leagues About Taking Minority Stake in       By Benjamin Mullin Lauren Hirsch
2023-07-21   2023-07-22 s/media/espn-talks-nfl-mlb-nba.html          Network                                    and Kevin Draper                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/busines Switzerland of All Places Now Has to Import
2023-07-21   2023-07-22 s/swiss-cheese-import-export.html            Cheese                                     By Claire Moses                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/climate Vegans Make Smaller Mark On the Planet
2023-07-21   2023-07-22 /diet-vegan-meat-emissions.html              Than Others                                By Cara Buckley                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/nyregio New Study of Algae to Focus on Sickly Green
2023-07-21   2023-07-22 n/algae-morningside-park-pond.html           Pond in Morningside Park                   By Hurubie Meko                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/nyregio Couple Charged in Cryptocurrency Case
2023-07-21   2023-07-22 n/bitfinex-heist-laundering-plea-deal.html   Reach a Plea Deal                          By Ed Shanahan                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/nyregio Cohen Agrees to Settle Lawsuit Over Fees He By Ben Protess Jonah E Bromwich
2023-07-21   2023-07-22 n/michael-cohen-trump-org-lawsuit.html       Filed Against the Trump Organization       and Kate Christobek              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/nyregio New Jersey Files Lawsuit Over Congestion
2023-07-21   2023-07-22 n/nj-congestion-pricing-nyc-lawsuit.html     Pricing                                    By Ana Ley                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/nyregio The Actors Strike Dims a Bright Spot For
2023-07-21   2023-07-22 n/sag-aftra-strike-workers-nyc.html          New York City                              By Stefanos Chen                 TX 9-317-107   2023-09-01




                                                                               Page 5510 of 5793
                        https://www.nytimes.com/2023/07/21/opinion Barbie Has Never Been a Great Symbol but
2023-07-21   2023-07-22 /barbie-movie-culture.html                  Shes an Excellent Mirror                   By Andi Zeisler                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/science Ancient Soil Sample Implies Greenland Hasnt
2023-07-21   2023-07-22 /climate-greenland-ice-sheet.html           Always Been Covered by Ice                 By Emily Anthes                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/sports/g
                        olf/british-open-mcilroy-harman-            Harman Last a PGA Tour Winner in 2017
2023-07-21   2023-07-22 fleetwood.html                              Matches a 36Hole Open Record               By Alan Blinder                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/sports/s Messis Impact From 1 Million Instagram
2023-07-21   2023-07-22 occer/messi-inter-miami.html                Followers to 11 Million                    By James Wagner                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/technol Lots of Disagreement on How to Regulate
2023-07-21   2023-07-22 ogy/ai-united-states-regulation.html        FastChanging Technology                    By Cecilia Kang                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/theater/
2023-07-21   2023-07-22 dakin-matthews-shakespeare-camelot.html     In Wings of Camelot Shakespearean Spells   By Christopher Kuo                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/us/alab Over Dissent Court Allows An Execution In
2023-07-21   2023-07-22 ama-inmate-execution-scotus.html            Alabama                                    By Adam Liptak                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/us/judg MildMannered but Firm Jurist Allays Early
2023-07-21   2023-07-22 e-cannon.html                               Doubts                                     By Robert Draper                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/us/min Minneapolis Loosens Enforcement of Laws
2023-07-21   2023-07-22 neapolis-mayor-psychedelics.html            on Psychedelics                            By Ernesto Londoo                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/us/polit Pressed by Biden Big Tech Agrees to AI     By Michael D Shear Cecilia Kang
2023-07-21   2023-07-22 ics/ai-regulation-biden.html                Rules                                      and David E Sanger                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/us/polit Alabama Republicans Push District Map
2023-07-21   2023-07-22 ics/alabama-congress-district-map.html      Democrats Say Wont Hold Up                 By Emily Cochrane                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/us/polit
                        ics/biden-admiral-lisa-franchetti-navy-     Admiral Set to Be First Woman to Lead the
2023-07-21   2023-07-22 chief.html                                  US Navy                                    By John Ismay                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/us/polit Biden Makes CIA Director Member of the
2023-07-21   2023-07-22 ics/cia-director-burns-cabinet.html         Cabinet Again                              By Michael D Shear                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/us/polit
                        ics/paul-friedrichs-white-house-pandemic-   ExGeneral To Be Leader Of New Office On
2023-07-21   2023-07-22 office.html                                 Pandemic                                   By Sheryl Gay Stolberg            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/us/polit
                        ics/trump-classified-documents-trial-date-  Trump Florida Trial Is Set For May After
2023-07-21   2023-07-22 cannon.html                                 Primaries                                  By Alan Feuer                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/us/secti Filing Is Likely to Amplify Criticism of
2023-07-21   2023-07-22 on-702-surveillance-fbi.html                Wiretap Law                                By Charlie Savage                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/us/texa Texas AampM President Resigns Amid          By Nicholas BogelBurroughs and
2023-07-21   2023-07-22 s-a-m-president-resigns.html                Pushback Over Diversity                    Remy Tumin                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/world/a
                        mericas/sujin-kim-chinguamiga-mexico-                                                  By Elda Cant and Marian
2023-07-21   2023-07-22 korea.html                                  Huge in Mexico Struggling With Mom         Carrasquero                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/world/a
                        sia/india-tomatoes-shortages-climate-
2023-07-21   2023-07-22 change.html                                 India Struggles With a Tomato Shortage     By Hari Kumar and Mujib Mashal    TX 9-317-107   2023-09-01




                                                                               Page 5511 of 5793
                        https://www.nytimes.com/2023/07/21/world/a
                        sia/record-heat-wave-flooding-climate-      Intense Heat and Torrential Rains Spread     By Gerry Mullany Delger
2023-07-21   2023-07-22 change.html                                 Climate Chaos Around the World               Erdenesanaa and Aaron Boxerman     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/world/c RecordSetting Blazes Push Canada to Rethink
2023-07-21   2023-07-22 anada/canada-wildfire-fighting.html         Its Wildfire Approach                        By Norimitsu Onishi                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/world/e Amsterdam Has Message For Cruises Party Is
2023-07-21   2023-07-22 urope/amsterdam-cruise-ships.html           Over                                         By Isabella Kwai                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/world/e Celebrating Milestones In Education Despite
2023-07-21   2023-07-22 urope/mariupol-university-ukraine.html      The Interruption of War                      By Valerie Hopkins                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/world/e Russia Raises Interest Rates In Bid to Cool   By Neil MacFarquhar and Anatoly
2023-07-21   2023-07-22 urope/russia-interest-rate-inflation.html   War Economy                                  Kurmanaev                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/world/e Criticism of Political Allies Dominates Spain
2023-07-21   2023-07-22 urope/spain-election-partners.html          Election                                     By Jason Horowitz                  TX 9-317-107   2023-09-01
                                                                                                                 By Ivan Nechepurenko Farnaz
                        https://www.nytimes.com/2023/07/21/world/e                                               Fassihi Victoria Kim and Richard
2023-07-21   2023-07-22 urope/ukraine-russia-grain-shipping.html    Russia Continues Attacks On Grain            PrezPea                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/world/
                        middleeast/israel-judicial-plan-reservists- Israeli Air Reservists Threaten to Walk Out By Patrick Kingsley and Ronen
2023-07-21   2023-07-22 netanyahu.html                              Widening a Political Crisis                  Bergman                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/world/
                        middleeast/israel-supreme-court-            Israel Is Torn by Debate Over How Much
2023-07-21   2023-07-22 netanyahu.html                              Power To Allow Supreme Court                 By Patrick Kingsley                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/your-
2023-07-21   2023-07-22 money/savings-financial-goals-july.html     Check In on Your Savings Goal                By Ann Carrns                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/sp
                        orts/soccer/womens-world-cup-prize-         Why US Players Will Get the Most Prize
2023-07-21   2023-07-22 money.html                                  Money Even if They Lose                      By Allison McCann                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/busines
2023-07-22   2023-07-22 s/economy/ups-teamsters-strike.html         UPS Contract Talks Go Down to the Wire       By Noam Scheiber                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/03/14/books/r
2023-03-14   2023-07-23 eview/the-real-work-adam-gopnik.html        The Apprentice                               By Adam Thirlwell                  TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/04/17/books/r
2023-04-17   2023-07-23 eview/the-forgotten-girls-monica-potts.html Girls Interrupted                           By Rachel Louise Snyder             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/04/18/books/r
2023-04-18   2023-07-23 eview/julia-argy-the-one.html               Reality Bites                               By Julia May Jonas                  TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/04/19/books/h
2023-04-19   2023-07-23 oney-baby-mine-laura-dern-diane-ladd.html Walking and Talking                           By Mary Laura Philpott              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/04/25/books/r
2023-04-25   2023-07-23 eview/affinities-brian-dillon.html          Ways of Seeing                              By Claire Messud                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/05/10/books/r
                        eview/when-the-heavens-went-on-sale-ashlee-
2023-05-10   2023-07-23 vance.html                                  The Capitalists Space Race                  By Mark Gimein                      TX 9-317-107   2023-09-01




                                                                                 Page 5512 of 5793
                        https://www.nytimes.com/2023/05/19/books/r
                        eview/for-the-love-of-mars-matthew-
2023-05-19   2023-07-23 shindell.html                              The Martian Chronicles                        By Alec NevalaLee                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/04/books/r
                        eview/battle-of-ink-and-ice-darrell-
2023-06-04   2023-07-23 hartman.html                               Cold Calculations                             By Joe Pompeo                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/18/books/r
2023-06-18   2023-07-23 eview/the-sullivanians-alexander-stille.html Cult of Domesticity                         By Alexandra Jacobs              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/19/books/r
                        eview/beyond-the-shores-tamara-j-
2023-06-19   2023-07-23 walker.html                                     Traveling While Black                    By Chad Williams                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/26/books/r
                        eview/bodily-functions-bathroom-
2023-06-26   2023-07-23 literature.html                                 Essay The Big Necessity                  By Dwight Garner                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/08/books/r
2023-07-08   2023-07-23 eview/sarah-rose-etter-ripe.html                Black Hole                               By Alexandra Chang               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/realesta
2023-07-11   2023-07-23 te/hamptons-house-james-bond.html               A Hamptons Home Fit for a Bond Villain   By Tim McKeough                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/books/r
                        eview/in-these-four-story-collections-feminist-
2023-07-12   2023-07-23 horror-abounds.html                             Story Collections                        By Kate Folk                     TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/13/books/r
2023-07-13   2023-07-23 eview/crook-manifesto-colson-whitehead.html Simple as Do Re Mi                           By Walter Mosley                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/books/r
2023-07-13   2023-07-23 eview/jon-klassen-the-skull.html             The Dean of Deadpan Finds His Muse          By Ransom Riggs                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/books/r
                        eview/white-house-by-the-sea-kate-           I Scream You Scream the Kennedys Scream
2023-07-13   2023-07-23 storey.html                                  for Ice Cream                               By Elisabeth Egan                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/arts/mu
2023-07-14   2023-07-23 sic/dead-and-company-final-tour.html         Longer and Stranger Than Ever Imagined      By Marc Tracy and Peter Fisher   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/14/movies/
                        two-filmmakers-two-dramas-and-the-pain-of- Moviemakers Put Focus On Foster Care
2023-07-14   2023-07-23 the-foster-care-system.html                  System                                      By Salamishah Tillet             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/arts/tele
                        vision/tiffany-haddish-haunted-mansion-
2023-07-15   2023-07-23 afterparty.html                              Tiffany Haddish Wants to Dance Every Day    By Chris Kornelis                TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/15/books/r
2023-07-15   2023-07-23 eview/the-good-ones-novel-polly-stewart.html Unfortunate Choices                         By Sarah Lyall                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/style/so A Persian Wedding Custom With a Modern
2023-07-15   2023-07-23 freh-aghd-persian-wedding-custom.html        Twist                                       By Jenny Block                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/16/realesta Navigating the Path Toward Better Home
2023-07-16   2023-07-23 te/home-accessible-tips-wheelchair.html      Accessibility                               By Jaclyn Greenberg              TX 9-317-107   2023-09-01



                                                                                  Page 5513 of 5793
                        https://www.nytimes.com/2023/07/17/magazi
                        ne/tom-cruise-mission-impossible-
2023-07-17   2023-07-23 interview.html                             Mission Improbable                             By Caity Weaver                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/opinion
2023-07-17   2023-07-23 /public-libraries-book-bans-lgbt.html      What Book Bans Mean for a Public Library       By Emily St James               TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/17/realesta Opening a Bookshop and Now Living Above
2023-07-17   2023-07-23 te/book-store-apartment-rent-brooklyn.html It                                               By DW Gibson                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/theater/
2023-07-17   2023-07-23 basketball-theater-off-broadway.html           Playwrights With Hoop Dreams                 By Sopan Deb                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/magazi
2023-07-18   2023-07-23 ne/celebrity-lesbian-fan-fiction.html          RealLife Fan Fiction                         By Emmeline Clein             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/magazi
2023-07-18   2023-07-23 ne/wikipedia-ai-chatgpt.html                   Moment of Truth                              By Jon Gertner                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/opinion
2023-07-18   2023-07-23 /china-usa-relations-books-war.html            A Look Back at Our Future War With China By Carlos Lozada                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/style/bit
2023-07-18   2023-07-23 sy-von-muffling-and-just-like-that.html        And Just Like That She Stole the Show        By Christopher Barnard        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/style/g
                        wyneth-paltrow-goop-gucci-party-parrish-
2023-07-18   2023-07-23 gala.html                                      Summer Outings On Long Island                By Katie Van Syckle           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/arts/des
                        ign/baeza-bus-art-shelter-los-angeles-chicago- Migration Works Unveiled Through Bus Stop
2023-07-19   2023-07-23 new-york.html                                  Galleries                                    By Jori Finkel                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/busines                                                  By Julia Rothman and Shaina
2023-07-19   2023-07-23 s/college-graduates-job-market.html            Working 9 to 5 Hopefully                     Feinberg                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/magazi
2023-07-19   2023-07-23 ne/break-point-netflix-tennis.html             Full Court                                   By Jake Nevins                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/magazi
2023-07-19   2023-07-23 ne/tomato-sandwich-recipe.html                 The Sandwich Southerners Wait for All Year By Eric Kim                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/nyregio
2023-07-19   2023-07-23 n/hudson-river-swim-lewis-pugh.html            Swimming the Hudson All 315 Miles of It      By Jesse McKinley             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/opinion
2023-07-19   2023-07-23 /putin-prigozhin-military-russia.html          All Is Not Well on the Russian Front Lines   By Dara Massicot              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/realesta
                        te/860000-homes-california-missouri-marthas-
2023-07-19   2023-07-23 vineyard.html                                                                        860000 By Angela Serratore           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/realesta
2023-07-19   2023-07-23 te/hudson-valley-esopus-ny.html                Outdoor Offerings Amid the Stealth Wealth By Karen Angel                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/style/sl
2023-07-19   2023-07-23 eeping-in-separate-bedrooms.html               Sleeping Separately                          By Philip Galanes             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/us/flori A Towns Rabbit Dilemma Grows
2023-07-19   2023-07-23 da-town-rescues-rabbits.html                   Exponentially Worse                          By Lauren McCarthy            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/arts/tele
2023-07-20   2023-07-23 vision/twisted-metal.html                      Players in a Dangerous Game                  By Chris Vognar               TX 9-317-107   2023-09-01



                                                                                  Page 5514 of 5793
                        https://www.nytimes.com/2023/07/20/magazi
                        ne/family-genetics-frontotemporal-
2023-07-20   2023-07-23 dementia.html                                The Vanishing Family                        By Robert Kolker              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/magazi
2023-07-20   2023-07-23 ne/judge-john-hodgman-subway-lines.html      Bonus Advice From Judge John Hodgman        By John Hodgman               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/magazi                                                By Brandon Shimoda and Anne
2023-07-20   2023-07-23 ne/poem-the-desert.html                      Poem                                        Boyer                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/nyregio
                        n/gilgo-beach-rex-heuermann-home-            Macabre Fascination Draws Tourists to the   By Corey Kilgannon and Nate
2023-07-20   2023-07-23 tourists.html                                Gilgo Beach Suspects House                  Schweber                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/opinion
                        /inflation-pandemic-wages-                   Dont Let Inflation Eclipse a Government
2023-07-20   2023-07-23 unemployment.html                            Triumph                                     By Bryce Covert               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/opinion
2023-07-20   2023-07-23 /no-labels-election-2024.html                The Strange Unseriousness of No Labels      By Katherine Miller           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/realesta
2023-07-20   2023-07-23 te/mold-homes-apartments-nyc.html            Tracking Reports of Mold in New York        By Michael Kolomatsky         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/style/gr Gov Barbie The Real Deal Embraces the
2023-07-20   2023-07-23 etchen-whitmer-barbie.html                   Comparison                                  By Mattie Kahn                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/style/jo
2023-07-20   2023-07-23 hn-mayer-dead-and-company.html               The Many Faces of John Mayer                By Alex Beggs                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/style/w To Find That Perfect Look a Bridal Stylist
2023-07-20   2023-07-23 edding-bridal-stylist.html                   May Help                                    By Ivy Manners                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/07/
                        20/realestate/two-bedroom-bedford-           With Just a 5 Percent Down Payment What
2023-07-20   2023-07-23 stuyvesant.html                              Would 650000 Buy in BedStuy                 By Debra Kamin                TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/21/arts/dan A Bolognese Folk Piece Revived With a
2023-07-21   2023-07-23 ce/polka-chinata-alessandro-sciarroni.html  New Spin                                     By Brian Seibert              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/arts/mu Joo Donato Brazilian Musician Of Many
2023-07-21   2023-07-23 sic/joao-donato-dead.html                   Genres Is Dead at 88                         By Jon Pareles                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/busines
                        s/economy/renters-caucus-elected-
2023-07-21   2023-07-23 representatives-who-rent.html               Does Your Representative Also Pay Rent       By Conor Dougherty            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/busines
2023-07-21   2023-07-23 s/fed-inflation-recession.html              Can Inflation Be Cured Without a Recession   By Jeff Sommer                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/busines
2023-07-21   2023-07-23 s/gen-z-cirque-du-soleil.html               Is Gen Z Down to Clown                       By Emma Goldberg              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/insider/ Breaking With the News One Breath at a
2023-07-21   2023-07-23 meditation-zen-breaking-news.html           Time                                         By Patrick LaForge            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/nyregio The Class Rage in the Heart of the Gilgo
2023-07-21   2023-07-23 n/rex-heuermann-gilgo-beach.html            Beach Suspect                                By Ginia Bellafante           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/nyregio San Francisco Tony Bennetts Heart Never
2023-07-21   2023-07-23 n/tony-bennett-new-york.html                Left New York                                By James Barron               TX 9-317-107   2023-09-01




                                                                                 Page 5515 of 5793
                        https://www.nytimes.com/2023/07/21/opinion
                        /abby-phillip-political-legacy-jesse-      America Still Doesnt Understand Jesse
2023-07-21   2023-07-23 jackson.html                               Jackson                                     By Abby D Phillip             TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/21/opinion
2023-07-21   2023-07-23 /brexit-disaster.html                      The Disaster No One Wants To Talk About     By Michelle Goldberg          TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/21/opinion
                        /culture/west-virginia-strike-coal-miner-  The Coal Miners Army Refuses to Stay        By Cassady Rosenblum and Aaron
2023-07-21   2023-07-23 history.html                               Buried                                      Blum                           TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/21/opinion
2023-07-21   2023-07-23 /starbucks-union-strikes-labor-movement.html This Is How The Bosses Win                By Megan K Stack              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/21/realesta
2023-07-21   2023-07-23 te/yoko-ono-dakota-apartment-nyc.html        Yoko and the Dakota Inseparable           By Anna Kod                   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/21/sports/b
                        aseball/fred-mcgriff-scott-rolen-hall-of-    This Years Class Shows the Shift In How
2023-07-21   2023-07-23 fame.html                                    Players Are Valued                        By Tyler Kepner               TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/21/style/an The Pandemic Era Match That Turned Into
2023-07-21   2023-07-23 drew-gilmoor-nicholas-leddy-wedding.html More                                          By Sanam Yar                  TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/21/style/ke
2023-07-21   2023-07-23 lley-carter-moreno-mccalpin-wedding.html Whole Foods or Not Its a Dream Come True By Tammy LaGorce                   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/21/style/m
                        odern-love-transgender-father-called-me-
2023-07-21   2023-07-23 it.html                                     A Lively Relationship Between Him and They By Rachel Noah Matlow         TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/21/style/so
                        phia-wang-marcus-brittain-fleming-          On a First Date Putting the Crossword Puzzle
2023-07-21   2023-07-23 wedding.html                                Away                                         By Anna Grace Lee           TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/21/style/w Words on the Street Theres a Strike in
2023-07-21   2023-07-23 ga-sag-strike-merch.html                    Progress                                     By Jessica Roy              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/21/us/cath Catherine BurksBrooks 83 Force Among the
2023-07-21   2023-07-23 erine-burks-brooks-dead.html                Freedom Riders Dies                          By Penelope Green           TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/21/us/jame James B Zagel 82 Federal Judge Who Sent
2023-07-21   2023-07-23 s-b-zagel-dead.html                         Illinois Governor to Prison                  By Sam Roberts              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/21/us/trum Trump and Allies Wait For Word From
2023-07-21   2023-07-23 p-georgia-investigation-indictment.html     Georgia On Expected Indictment               By Danny Hakim              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/22/arts/mu
2023-07-22   2023-07-23 sic/orfeo-santa-fe-opera.html               An Irreverent Yet Respectful Take on Orfeo By David Allen                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/22/nyregio
2023-07-22   2023-07-23 n/marc-rebillet-we-outside.html             Scoping Out People Is Part of His Plan       By Lia Miller               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/22/opinion
2023-07-22   2023-07-23 /hearing-aging-deafness.html                The Birds Are Singing but Not for Me         By David George Haskell     TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/22/opinion
2023-07-22   2023-07-23 /israel-military-aid.html                   Does Israel Need So Much Aid                 By Nicholas Kristof         TX 9-317-107    2023-09-01




                                                                                 Page 5516 of 5793
                        https://www.nytimes.com/2023/07/22/opinion
2023-07-22   2023-07-23 /sanctions-biden-venezuela.html             Fixing Sanctions                             By The Editorial Board          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/opinion
2023-07-22   2023-07-23 /the-stagnation-of-ron-desantis.html        The Stagnation of Ron DeSantis               By Ross Douthat                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/opinion
2023-07-22   2023-07-23 /trump-jack-smith.html                      Liar in Chiefs Moment Of Truth               By Maureen Dowd                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/realesta
                        te/how-can-i-force-my-co-op-board-to-fix-a- How Can I Force My Coop Board To Fix a
2023-07-22   2023-07-23 ceiling-leak.html                           Recurring Ceiling Leak                       By Jill Terreri Ramos           TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/22/sports/g
2023-07-22   2023-07-23 olf/british-open-rahm-scheffler-mcilroy.html Rahm Roars but Then Harman Storms Back      By Alan Blinder                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/sports/s A Coaching Veteran Tries to Mend a
2023-07-22   2023-07-23 occer/france-herve-renard-world-cup.html     Fractured French Squad                      By Tariq Panja                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/sports/s
2023-07-22   2023-07-23 occer/lionel-messi-miami-mls.html            Soccer Arrives In America Again             By Rory Smith                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/sports/s In a Dazzling Debut on the Biggest Stage
2023-07-22   2023-07-23 occer/world-cup-usa-sophia-smith.html        Smith Finds a Way                           By Juliet Macur                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/style/ho
2023-07-22   2023-07-23 w-to-with-john-wilson-hbo.html               Visions of How To                           By Callie Holtermann            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/style/qu
2023-07-22   2023-07-23 iet-luxury-wealth-status.html                Extreme Wealth Speaks in Hushed Tones       By Guy Trebay                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/22/us/kidn After Using Handmade Sign A Kidnapped
2023-07-22   2023-07-23 apped-girl-help-me-sign-texas-california.html Girl Is Rescued                              By Rebecca Carballo           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/us/meli When Mental Health Crisis Ends in a Police
2023-07-22   2023-07-23 ssa-perez-police-shooting-san-antonio.html Shooting                                        By Colbi Edmonds              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/us/polit Lawyers Say Assisting Those in Border
2023-07-22   2023-07-23 ics/biden-asylum-policies-border.html         Custody Is Almost Impossible                 By Eileen Sullivan            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/us/polit Pence Misleads on Fiscal Policy Abortion and
2023-07-22   2023-07-23 ics/fact-checking-mike-pence.html             Military Spending                            By Linda Qiu                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/us/polit
                        ics/marie-gluesenkamp-perez-democrats-        Price of Bucking Her Party Is a Flood of Bad
2023-07-22   2023-07-23 student-loans.html                            Reviews                                      By Annie Karni                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/us/polit DeSantiss Flip on Vaccine Had Steep Cost for By Sharon LaFraniere Patricia
2023-07-22   2023-07-23 ics/ron-desantis-covid.html                   Florida                                      Mazzei and Albert Sun         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/us/polit The Question After Every Mass Shooting
2023-07-22   2023-07-23 ics/sandy-hook-nashville-shooting.html        How Much Do We Deserve to Know               By Elizabeth Williamson       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/us/polit
                        ics/tim-scott-republican-voters-donors-iowa- Republicans Like Him But Do They Like Him
2023-07-22   2023-07-23 new-hampshire-trump-desantis.html             Enough                                       By Maya King                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/us/prid They Checked Out Books to Hide the Pride It
2023-07-22   2023-07-23 e-books-library-protest.html                  Did the Opposite                             By Jill Cowan                 TX 9-317-107   2023-09-01




                                                                                 Page 5517 of 5793
                        https://www.nytimes.com/2023/07/22/world/a
                        mericas/venezuela-oil-energy-              Oil Industry Venezuelas Failing Lifeline      By Isayen Herrera Sheyla Urdaneta
2023-07-22   2023-07-23 environment.html                           Turns More Lethal                             and Adriana Loureiro Fernandez    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/world/a
                        sia/japan-coal-renewable-energy-           In Japan a Push for Clean Coal Using
2023-07-22   2023-07-23 ammonia.html                               Ammonia Brings Criticism                      By Motoko Rich and Hikari Hida   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/22/world/e Some in Belarus Still Live in Fear For Past   By Valerie Hopkins and Nanna
2023-07-22   2023-07-23 urope/belarus-lukashenko-repression.html   Dissent                                       Heitmann                         TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/22/world/e Greece Rescues Hundreds From Island as
2023-07-22   2023-07-23 urope/greece-fires-rhodes-evacuation.html  Fires Near Coastal Villages                   By Niki Kitsantonis              TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/22/world/e Zelensky Pushes to Reopen Grain Corridor As
2023-07-22   2023-07-23 urope/russia-ukraine-war-grain-deal.html     Tensions Rise Over Collapsed Agreement      By Valerie Hopkins               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/22/world/e
2023-07-22   2023-07-23 urope/spains-election-extremes.html          Spains Divide Has Far Right Poised to Rise By Jason Horowitz                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/22/world/ A Story of Arab Loss Comes to Life at a
2023-07-22   2023-07-23 middleeast/arab-loss-art-kibbutz-israel.html Kibbutz in Israel 75 Years Later            By Isabel Kershner               TX 9-317-107    2023-09-01
                                                                                                                 By Colbi Edmonds Nicholas
                        https://www.nytimes.com/2023/07/22/us/texa Bungled Hiring Exposes Big Rift at Texas      BogelBurroughs and Marina
2023-07-23   2023-07-23 s-a-m-journalism-diversity.html              AampM                                       Trahan Martinez                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/23/nyregio
2023-07-23   2023-07-23 n/chuck-close-painting-sothebys.html         Long Lost Work by an Art Star Maybe         By John Leland                   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/23/sports/g Wales Has a Prince but It Has Never Hosted
2023-07-23   2023-07-23 olf/british-open-wales.html                  the Open                                    By Alan Blinder                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/23/sports/s Just by Getting Here Moroccos Team Has       By Aida Alami and Monique
2023-07-23   2023-07-23 occer/womens-world-cup-morocco.html          Won                                         Jaques                           TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/23/style/an
2023-07-23   2023-07-23 n-roth-costume-designer.html                 Hollywoods Tireless Secret Weapon           By Maureen Dowd                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/23/style/ye
2023-07-23   2023-07-23 s-shaun-cassidy-is-still-dreamy.html         Keeping Those Fangirl Flames Flickering     By Lily Burana                   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/23/us/polit
                        ics/medicare-drug-price-negotiations-        Drug Industry Fights to Block Talks on      By Sheryl Gay Stolberg and
2023-07-23   2023-07-23 lawsuits.html                                Prices                                      Rebecca Robbins                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/23/us/san- Mayoral Challengers Surface Early in San      By Thomas Fuller and Shawn
2023-07-23   2023-07-23 francisco-mayor-election.html                Francisco                                   Hubler                           TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/31/books/r
2023-07-31   2023-07-23 eview/christendom-peter-heather.html         Getting Medieval                            By Paul Elie                     TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/18/travel/fi Younger People See Cruises As Less Costly
2023-07-18   2023-07-24 rst-time-cruise-passengers.html              Travel Option                               By Ceylan Yeginsu                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/20/opinion
2023-07-20   2023-07-24 /gay-trans-lgbt-americans.html               The Number of LGBTQ People Is Rising So By Jane Coaston                      TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/20/travel/tr
2023-07-20   2023-07-24 avel-company-bankruptcy.html                 Help I Booked a Tour but the Company Failed By Seth Kugel                    TX 9-317-107    2023-09-01




                                                                                 Page 5518 of 5793
                        https://www.nytimes.com/interactive/2023/07/
                        20/us/roe-dobbs-abortion-networks-                                                         By Kate Kelly and Marisa Schwartz
2023-07-20   2023-07-24 services.html                                  A Year of Upheaval on Abortions Front Lines Taylor                            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/arts/mu
2023-07-21   2023-07-24 sic/tony-bennett-lady-gaga.html                Two Masters of Reinvention                  By Lindsay Zoladz                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/arts/tele
                        vision/special-ops-lioness-review-zoe-saldana- Woman Hear Her Roar in a Counterterrorism
2023-07-21   2023-07-24 taylor-sheridan.html                           Thriller                                    By Mike Hale                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/busines
                        s/media/hollywood-strikes-power-
2023-07-21   2023-07-24 brokers.html                                   A Hollywood Ending Eludes an Industry       By Brooks Barnes                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/climate A Giant Cambodian Stingray May Help Save
2023-07-21   2023-07-24 /giant-stingray-mekong-river.html              Her Home River                              By Rachel Nuwer                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/obituari Overlooked No More Lily Parr Dominant
2023-07-21   2023-07-24 es/lily-parr-overlooked.html                   British Soccer Player                       By Jacob Meschke                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/us/desa DeSantis Faces Criticism Over Floridas
2023-07-21   2023-07-24 ntis-florida-black-history-standards.html      Standards for Black History                 By Sarah Mervosh                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/movies/
2023-07-22   2023-07-24 barbenheimer-strike.html                       After Barbenheimer Many Reasons to Worry By Kyle Buchanan                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/busines
2023-07-22   2023-07-24 s/china-private-enterprise.html                Entrepreneurs Arent Buying Chinas Pep Talk By Li Yuan                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/busines
                        s/dealbook/extreme-heat-climate-               Extreme Heat Waves Show Need for Climate By Bernhard Warner Michael J de
2023-07-22   2023-07-24 investment.html                                Adaptation                                  la Merced and Lauren Hirsch       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/busines                                                 By Rebecca Robbins and Sheryl
2023-07-22   2023-07-24 s/gilead-hiv-drug-tenofovir.html               Drug Delayed To Pad Profits For Its Maker Gay Stolberg                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/sports/g
                        olf/british-open-mcilroy-fleetwood-            Before Sons Drove Greens Mothers Drove
2023-07-22   2023-07-24 woods.html                                     Everywhere                                  By Michael Bamberger              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/sports/s The Real Power of Super Shoes Could Be
2023-07-22   2023-07-24 uper-shoes-training.html                       Supercharged Training                       By Amby Burfoot                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/technol
2023-07-22   2023-07-24 ogy/ai-regulation-white-house.html             Assessing Techs 8 Promises on AI            By Kevin Roose                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/us/mike Mike Reynolds Grieving Father Behind a
2023-07-22   2023-07-24 reynolds-dead.html                             ThreeStrikes Law Dies at 79                 By Clay Risen                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/world/a
                        sia/no-opposition-no-choice-cambodias-         Cambodias Ruling Party Declares Landslide
2023-07-22   2023-07-24 election-paves-way-for-dynastic-rule.html      Win                                         By Seth Mydans                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/world/c
                        anada/nova-scotia-floods-evacuations-power- In Canada Four Missing After Floods Wreak
2023-07-22   2023-07-24 outages.html                                   Havoc                                       By Rebecca Carballo               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/world/e Richard Barancik 98 the Last of a Unit That
2023-07-22   2023-07-24 urope/richard-barancik-dead.html               Rescued Treasures Stolen by the Nazis       By Richard Sandomir               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/arts/mu How Tony Bennett Helped Promote Civil
2023-07-23   2023-07-24 sic/tony-bennett-civil-rights.html             Rights                                      By Julia Jacobs                   TX 9-317-107   2023-09-01



                                                                                 Page 5519 of 5793
                        https://www.nytimes.com/2023/07/23/busines
2023-07-23   2023-07-24 s/elon-musk-twitter-logo.html              X Will Replace Twitters Bird Musk Declares   By Noam Scheiber and Ryan Mac   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/crossw No Shame in the Mark of a Monday
2023-07-23   2023-07-24 ords/daily-puzzle-2023-07-24.html          Crossword                                    By Sam Corbin                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/fashion
2023-07-23   2023-07-24 /form-watches-bulgari-chanel.html          A category all their own                     By Kathleen Beckett             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/fashion
                        /pendant-watches-bulgari-jaeger-
2023-07-23   2023-07-24 lecoultre.html                             Pendant watches swing back in style          By Roberta Naas                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/fashion
2023-07-23   2023-07-24 /singapore-watches-collectors.html         A new universe in Singapore                  By Melanie Abrams               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/fashion
2023-07-23   2023-07-24 /watch-auction-susy-dyson.html             A 1920s wristwatch with a story              By Jessica Bumpus               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/fashion
                        /watch-brand-clubs-maurice-lacroix-
2023-07-23   2023-07-24 japan.html                                 An affinity for watch clubs                  By Vivian Morelli               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/fashion
2023-07-23   2023-07-24 /watches-box-neville-ofarrell-ireland.html A watchs handmade home                       By Sandra Jordan                TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/23/fashion
2023-07-23   2023-07-24 /watches-fp-journe-competition-winner.html A students prize                             By Vivian Morelli               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/fashion
                        /watches-louis-vuitton-tambour-jean-
2023-07-23   2023-07-24 arnault.html                               LV watches move upmarket                     By Anders Modig Davin           TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/23/fashion
2023-07-23   2023-07-24 /watches-production-prices-switzerland.html Fewer watches higher prices                 By Robin Swithinbank            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/fashion
2023-07-23   2023-07-24 /watches-stolen-lost-richemont.html         Lost your watch                             By Victoria Gomelsky            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/movies/
2023-07-23   2023-07-24 barbie-fans-outfits.html                    Pretty Devoted in Pink                      By Christopher Kuo              TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/23/movies/
2023-07-23   2023-07-24 barbie-oppenheimer-box-office-numbers.html Barbie Powers Past Box Office Predictions     By Brooks Barnes               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/nyregio Lawsuits Ask If Big Tech Is to Blame For
2023-07-23   2023-07-24 n/google-meta-buffalo-shooting.html         Massacre                                     By Jesse McKinley              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/opinion
2023-07-23   2023-07-24 /israel-biden.html                          Only You Can Save Israel Now Mr Biden        By Thomas L Friedman           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/opinion Can Jelly Roll Heal the Broken Soul of
2023-07-23   2023-07-24 /jelly-roll-country-music-addiction.html    America                                      By Crispin Sartwell            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/opinion
2023-07-23   2023-07-24 /ukraine-war-russia.html                    What I Learned in Ukraine                    By Bret Stephens               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/sports/b
                        aseball/fred-mcgriff-scott-rolen-hall-of-   WellTraveled Stars Find Their Forever Roster
2023-07-23   2023-07-24 fame.html                                   in Cooperstown                               By Tyler Kepner                TX 9-317-107   2023-09-01



                                                                                Page 5520 of 5793
                        https://www.nytimes.com/2023/07/23/sports/c
2023-07-23   2023-07-24 ycling/vingegaard-tour-de-france.html        Vingegaard Confirms Win Birthed in the Alps By Kevin Draper                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/sports/g
2023-07-23   2023-07-24 olf/british-open-brian-harman.html           Putting First Major to Bed                   By Alan Blinder                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/theater/ Theater in America Is Facing a Crisis as
2023-07-23   2023-07-24 regional-theater-crisis.html                 Many Stages Go Dark                          By Michael Paulson               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/us/alab Alabama Firefighter Dies After Station Is
2023-07-23   2023-07-24 ama-firefighter-dead-shot.html               Attacked                                     By Chris Cameron                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/us/cheri Cheri Pies 73 Beacon For Lesbians on Paths
2023-07-23   2023-07-24 pies-dead.html                               To Parenthood Is Dead                        By Alex Williams                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/us/emm President to Name National Monument for
2023-07-23   2023-07-24 ett-till-monument-biden.html                 Emmett Till and His Mother                   By Anna Betts                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/us/louis Louisianas Governor Vetoed a Raft of
                        iana-edwards-conservative-politics-          Conservative Bills What Happens When Hes
2023-07-23   2023-07-24 election.html                                Out                                          By Rick Rojas                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/us/phila In Philadelphia City Pools Bring Joy At Least
2023-07-23   2023-07-24 delphia-pools-closed.html                    the Ones That Opened                         By Elise Young                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/us/polit Governor to Reboot Campaign to Control        By Shane Goldmacher and Maggie
2023-07-23   2023-07-24 ics/desantis-campaign-reboot.html            Messaging and Costs                          Haberman                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/us/polit Pacific Seabed Mining Is Delayed as
2023-07-23   2023-07-24 ics/pacific-seabed-mining-delayed.html       Regulator Works on Finalizing Rules          By Eric Lipton                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/us/polit
                        ics/trump-investigations-jack-smith-justice- Cost of Scrutinizing Trump Continues to      By Glenn Thrush Ben Protess Alan
2023-07-23   2023-07-24 department.html                              Grow                                         Feuer and Adam Goldman           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/us/polit
2023-07-23   2023-07-24 ics/us-israel-biden-netanyahu.html           US Navigates Turbulent Ties To a Close Ally By Peter Baker and Lisa Lerer     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/world/e Wildfires on Greek Island Force Thousands to
2023-07-23   2023-07-24 urope/greece-fires-evacuation.html           Scramble for Refuge                          By Niki Kitsantonis              TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/23/world/e Deadly Russian Missile Strikes Hit Cathedral By Valerie Hopkins and Vivek
2023-07-23   2023-07-24 urope/odesa-cathedral-missile.html         and Apartment Buildings in Odesa             Shankar                          TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/23/world/e
                        urope/spanish-election-inconclusive-       Spains Voters Reject Far Right but Deny
2023-07-23   2023-07-24 results.html                               Either Centrist Party a Majority             By Jason Horowitz                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/23/world/e                                              By Thomas GibbonsNeff Natalia
                        urope/weary-soldiersunreliable-munitions-  Depleted Troops Unreliable Munitions Kyivs Yermak Dzvinka Pinchuk Yurii
2023-07-23   2023-07-24 ukraines-many-challenges.html              Obstacles in the East                        Shyvala and Mauricio Lima        TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/23/world/                                               By Vivian Yee and Leily
2023-07-23   2023-07-24 middleeast/iran-heat-water.html            As Drought Intensifies Iran Bakes            Nikounazar                       TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/23/world/
                        middleeast/israel-government-vote-         Parliament Set To Vote in Israel On Judicial
2023-07-23   2023-07-24 netanyahu.html                             Bill                                         By Patrick Kingsley              TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/24/arts/mu
                        sic/parsifal-augmented-reality-bayreuth-
2023-07-24   2023-07-24 rift.html                                  At Bayreuth a Rift Emerges                   By Thomas Rogers                 TX 9-317-107     2023-09-01



                                                                                Page 5521 of 5793
                        https://www.nytimes.com/2023/07/24/arts/tele
                        vision/whats-on-tv-this-week-the-righteous-
2023-07-24   2023-07-24 gemstones-heels.html                         This Week on TV                            By Shivani Gonzalez               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/sports/h Playing Hockey Into Their 80s With Laughter
2023-07-24   2023-07-24 ockey/senior-hockey-snoopy.html              and Metal Hips                             By Andrew Keh and Bryan Meltz     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/theater/
2023-07-24   2023-07-24 back-to-the-future-broadway.html             Time to Rev Up the DeLorean                By Dave Itzkoff                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/11/well/eat Raw Milk May Be Legal But the Risks
2023-07-11   2023-07-25 /raw-milk-risks.html                         Remain                                     By Dani Blum                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/12/science Hidden Killer SaberTooth Cats and Dire
2023-07-12   2023-07-25 /saber-tooth-cats-dire-wolves-joints.html    Wolves Carried a Disease in Their Bones    By Miriam Fauzia                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/science Not So Hot Break Out the Smores This Star
2023-07-13   2023-07-25 /brown-dwarf-campfire-star.html              Is Cooler Than a Campfire                  By Kate Golembiewski              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/science An Electric View Lightning Can Strike but It
2023-07-13   2023-07-25 /lightning-esa-weather-satellite.html        Cant Hide From a New Satellite             By Nicholas Bakalar               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/well/mi
2023-07-13   2023-07-25 nd/988-suicide-crisis-hotline.html           An Update on the 988 Suicide Hotline       By Christina Caron                TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/14/world/e
2023-07-14   2023-07-25 urope/crystal-palace-dinosaurs-london.html In a Calm London Park Dinosaurs Carry On By Claire Moses                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/07/                                            By Charlie Savage Jared Soares
                        14/us/national-archives-documents-           How to Preserve Priceless Documents at the Marisa Schwartz Taylor and Sean
2023-07-14   2023-07-25 preservation.html                            National Archives                          Catangui                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/sports/a Formula 1 Tries a New Approach to Bringing
2023-07-15   2023-07-25 utoracing/f1-academy-women.html              More Women Into the Series                 By Ian Parkes                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/us/dino Bones Galore At Dinosaur Park Maybe Not A
2023-07-15   2023-07-25 saur-fossils-maryland.html                   Totally Unexpected Discovery               By Rebecca Carballo               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/15/well/liv
2023-07-15   2023-07-25 e/sunscreen-aging-skin-care.html             Sunscreen Is Your Best AntiAging Weapon By Dana G Smith                      TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/17/science
2023-07-17   2023-07-25 /benjamin-franklin-counterfeit-currency.html Benjamin Franklins War on Fake Currency    By Veronique Greenwood            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/17/well/oz
2023-07-17   2023-07-25 empic-wegovy-risks-older.html                WeightLoss Drugs And Older Patients        By Dani Blum                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/article/marathon-
2023-07-17   2023-07-25 training-running.html                        Foundations Built for the Long Run         By Amanda Loudin                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/science
2023-07-18   2023-07-25 /dinosaur-fossil-fighting-mammal.html        Mammal vs Dinosaur In a Fossilized Fight   By Kate Golembiewski              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/technol
                        ogy/personaltech/ai-chatgpt-bing-            AI Bots Are So Much Better When You Use
2023-07-20   2023-07-25 directions.html                              This Little Tip                            By Brian X Chen                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/well/liv
2023-07-20   2023-07-25 e/heat-illness-safety-older-people.html      Heats a Risk For Seniors                   By Dana G Smith                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/theater/
2023-07-21   2023-07-25 flex-review.html                             Finding Their Rhythms On the Court and Off By Naveen Kumar                   TX 9-317-107   2023-09-01



                                                                                Page 5522 of 5793
                        https://www.nytimes.com/2023/07/21/world/e
                        urope/bavaria-gold-coins-suspects-
2023-07-21   2023-07-25 arrested.html                                4 Charged in Theft of Ancient Gold Coins     By Michael Levenson                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/busines As Drought Plagues the US Breweries Are
2023-07-22   2023-07-25 s/beer-recycled-wastewater.html              Making Beer From Recycled Wastewater         By Claire Fahy                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/busines                                                By Benjamin Mullin and Katie
2023-07-22   2023-07-25 s/media/jeff-bezos-washington-post.html      Bezos Takes Renewed Interest in His Post     Robertson                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/health/c
2023-07-22   2023-07-25 hatbot-medical-mystery-diagnosis.html        ER Mystery Ask Dr Chatbot for a Diagnosis By Gina Kolata                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/arts/dan
                        ce/dorrance-dance-mythili-prakash-jacobs-
2023-07-23   2023-07-25 pillow.html                                  Flashy and Skilled With Shoes or Without     By Brian Seibert                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/arts/tele
2023-07-23   2023-07-25 vision/futurama-reboot-review.html           Back to the Future Fans Know and Love        By Mike Hale                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/health/s The Number That Should Guide Health
2023-07-23   2023-07-25 eniors-life-expectancy.html                  Choices                                      By Paula Span                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/opinion
2023-07-23   2023-07-25 /latinos-hollywood-representation.html       Where Are the Latinos in Hollywood           By Arlene Dvila                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/us/polit Former GOP Aides Help Facilitate
2023-07-23   2023-07-25 ics/whistle-blower-biden.html                Congressional Investigations                 By Luke Broadwater                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/arts/aar
2023-07-24   2023-07-25 on-rodgers-new-york-jets.html                Aaron Rodgers Makes A Splash                 By Wesley Morris                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/arts/dan
                        ce/american-ballet-theater-summer-
2023-07-24   2023-07-25 season.html                                  American Ballet Theater Looks to the Future By Gia Kourlas                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/arts/ger
2023-07-24   2023-07-25 mans-return-kandinsky-to-heirs.html          Kandinsky Painting to Be Returned to Family By Catherine Hickley                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/arts/mu
2023-07-24   2023-07-25 sic/barbie-indigo-girls-closer-to-fine.html  The Indigo Girls Bring Barbie Closer to Fine By Trish Bendix                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/arts/mu
2023-07-24   2023-07-25 sic/madame-butterfly-asian-creators.html     Geishas Tale of Heartbreak Seen Anew         By Javier C Hernndez                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/automo Reeves Callaway Turbocharger of Cars Up to
2023-07-24   2023-07-25 biles/reeves-callaway-dead.html              254 MPH Dies at 75                           By Neil Genzlinger                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/books/r Short Stories Reveal the Bizarre Within the
2023-07-24   2023-07-25 eview/steven-millhauser-disruptions.html     Mundane                                      By Dwight Garner                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/busines
                        s/barbie-oppenheimer-weekend-box-            Barbie and Oppenheimer Make Big Box
2023-07-24   2023-07-25 office.html                                  Office Numbers                               By Jason Karaian and Karl Russell   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/busines Cable Company Altice USA May Sell Its          By Lauren Hirsch and Benjamin
2023-07-24   2023-07-25 s/dealbook/altice-cheddar-news-sale.html     Cheddar News                                 Mullin                              TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/24/busines
2023-07-24   2023-07-25 s/economy/labor-supply-federal-reserve.html Can Flood Of Workers Continue                By Jeanna Smialek                    TX 9-317-107   2023-09-01




                                                                                 Page 5523 of 5793
                        https://www.nytimes.com/2023/07/24/busines
                        s/ubs-fined-nearly-400-million-credit-suisse- UBS Is Fined 387 Million For a Mess at
2023-07-24   2023-07-25 archegos.html                                 Credit Suisse                               By Rob Copeland                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/opinion
                        /biden-trump-ukraine-oppenheimer-
2023-07-24   2023-07-25 strikes.html                                  Theres No Escaping Trump                    By Gail Collins and Bret Stephens TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/opinion
2023-07-24   2023-07-25 /hunger-barbie-taylor-swift.html              The Hunger Fed by Barbie and Taylor Swift   Michelle Goldberg                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/opinion
2023-07-24   2023-07-25 /new-york-congestion-charge.html              An Act of Vehicular NIMBYism                By Paul Krugman                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/science
2023-07-24   2023-07-25 /avi-loeb-extraterrestrial-life.html          Deep Dive for Alien Life Turns Divisive     By Katrina Miller                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/sports/s Saudi Team Makes Offer of 332 Million In a
2023-07-24   2023-07-25 occer/kylian-mbappe-saudi-arabia.html         Bid for Mbapp                               By Tariq Panja and Rory Smith    TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/sports/s
                        occer/world-cup-norway-lise-klaveness-        An Outcast Voice For Fixing FIFA From the
2023-07-24   2023-07-25 fifa.html                                     Inside                                      By Tariq Panja                   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/technol Bye Twitter And Hello X Musk Begins
2023-07-24   2023-07-25 ogy/twitter-x-elon-musk.html                  Rebranding                                  By Ryan Mac and Tiffany Hsu      TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/us/arizo Contentious but Popular Arizonas Private
2023-07-24   2023-07-25 na-private-school-vouchers.html               School Voucher Plan Grows Fast              By Sarah Mervosh                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/us/mia Police Chief in Hospital After Shooting
2023-07-24   2023-07-25 mi-dade-freddy-ramirez-injured.html           Himself                                     By Patricia Mazzei               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/us/polit Predictably Summers New Political             By Matt Flegenheimer and Marc
2023-07-24   2023-07-25 ics/barbie-movie-newsom-gaetz.html            Flashpoint Is Wrapped in Pink               Tracy                            TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/us/polit IRS Ends Surprise Visits To Homes and
2023-07-24   2023-07-25 ics/irs-surprise-visits.html                  Businesses                                  By Alan Rappeport                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/us/polit Trucker With Flagpole At Capitol Gets 4
2023-07-24   2023-07-25 ics/jan-6-flagpole-sentence.html              Years                                       By Alan Feuer                    TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/24/us/polit OneTerm Senator Enters Race for Governors
2023-07-24   2023-07-25 ics/kelly-ayotte-new-hampshire-governor.html Office                                        By Anjali Huynh                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/us/polit
                        ics/republican-presidential-debate-trump-    Republicans Are Holding a Debate but Who
2023-07-24   2023-07-25 candidates.html                              Will Be Onstage                               By Jonathan Weisman             TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/us/texa
                        s-migrants-border-rio-grande-justice-
2023-07-24   2023-07-25 department.html                              Justice Dept Sues Texas Over Floating Barrier By J David Goodman              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/world/a Nigerians Buckle Under Painful Cuts Meant By Ismail Alfa Elian Peltier and
2023-07-24   2023-07-25 frica/nigeria-tinubu-crisis.html             to Eventually Revive Economy                  Nelson CJ                       TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/world/a Chinese Outraged After Roof Collapse At
2023-07-24   2023-07-25 sia/china-gym-roof-collapse-qiqihar.html     Gym Kills Girls on Volleyball Team            By Keith Bradsher               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/24/world/e
                        urope/greece-wildfires-evacuation-rhodes-    As Rhodes Burns Wildfires Take Hold on
2023-07-24   2023-07-25 corfu-evia.html                              Two More Greek Islands                        By Niki Kitsantonis             TX 9-317-107    2023-09-01



                                                                                 Page 5524 of 5793
                        https://www.nytimes.com/2023/07/24/world/e
                        urope/greta-thunberg-fined-climate-        Sweden Fines Thunberg For Protest Blocking By Christina Anderson and Emma
2023-07-24   2023-07-25 sweden.html                                Traffic                                    Bubola                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/world/e
2023-07-24   2023-07-25 urope/macron-france-riots.html             Macron After Unrest Aims for Order First   By Aurelien Breeden              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/world/e                                            By Matthew Mpoke Bigg Andrew
                        urope/russia-danube-port-ukraine-romania-  Russia Hits Danube Port Escalating Grain   Higgins Andrs R Martnez Haley
2023-07-24   2023-07-25 attack.html                                Attacks                                    Willis and Tiffany May           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/world/e
2023-07-24   2023-07-25 urope/spain-election-vox-party.html        Bucking Polls Spain Rebukes FarRight Party By Jason Horowitz                TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/24/world/e
2023-07-24   2023-07-25 urope/ukraine-unburied-dead-cemetery.html No Arlington No Burial Some Ukrainians Say By Cassandra Vinograd          TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/24/world/                                            By Cora Engelbrecht and Emily
2023-07-24   2023-07-25 middleeast/iran-women-girls-leave.html      Leaving Iran To Give Girls A Better Life Garthwaite                     TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/24/world/
                        middleeast/israel-judiciary-reasonableness- As Israel Churns Lawmakers Pass Court    By Isabel Kershner Aaron
2023-07-24   2023-07-25 netanyahu.html                              Overhaul                                 Boxerman and Richard PrezPea   TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/24/world/
                        middleeast/israel-netanyahu-judiciary-
2023-07-24   2023-07-25 analysis.html                               Netanyahu Ushers In a Precarious New Era By Patrick Kingsley            TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/24/theater/
2023-07-25   2023-07-25 the-cottage-review-broadway.html            The Aim Is High The Stakes Are Low       By Jesse Green                 TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/25/busines
                        s/economy/technology-companies-office-      Tech Firms That Lifted New York Are Now By Julie Creswell Peter Eavis
2023-07-25   2023-07-25 space.html                                  Having to Scale Back                     Emma Goldberg and Matthew Haag TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/25/busines He Paid Epstein for Advice Should It Be
2023-07-25   2023-07-25 s/leon-black-jeffrey-epstein-senate.html    Taxed as a Gift                          By Matthew Goldstein           TX 9-317-107      2023-09-01

                        https://www.nytimes.com/2023/07/25/climate Researchers Tie July Heat Waves to Climate
2023-07-25   2023-07-25 /us-europe-heat-waves-climate-change.html Change                                       By Delger Erdenesanaa           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/health/s                                            By Emily Anthes and Maddie
2023-07-25   2023-07-25 wine-flu-pigs-agriculture.html              Snouts Out Risks Up                        McGarvey                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/nyregio Water Unsafe to Drink at East Ramapo Public
2023-07-25   2023-07-25 n/east-ramapo-school-water.html             Schools                                    By Lola Fadulu                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/opinion                                             By Jesse Wegman and David
2023-07-18   2023-07-26 /supreme-court-big-decisions.html           Presenting the 2023 SCOTUS Awards          Firestone                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/busines
                        s/economy/pandemic-labor-market-            Debunking Myths Of the Job Market In the By Jeanna Smialek and Ben
2023-07-19   2023-07-26 myths.html                                  Pandemic                                   Casselman                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/article/easy-pesto-
2023-07-19   2023-07-26 orzo-recipe.html                            A Meal Thats Practically a Miracle on Ice  By Melissa Clark                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/dining/
2023-07-20   2023-07-26 drinks/vermouth.html                        Pause to Honor the Vermouth Hour           By Eric Asimov                  TX 9-317-107   2023-09-01




                                                                              Page 5525 of 5793
                        https://www.nytimes.com/2023/07/20/dining/
2023-07-20   2023-07-26 new-zealand-real-fruit-ice-cream.html       Frozen Fruity and Flashy                   By Priya Krishna                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/dining/
2023-07-21   2023-07-26 saag-shrimp-recipe.html                     Putting Leafy Greens on a Pedestal         By Yewande Komolafe                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/article/baguette-
2023-07-21   2023-07-26 recipe.html                                 Voil The Freshest Baguette                 By Claire Saffitz                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/arts/mu A Compelling Take on a Tyrants Relationship
2023-07-23   2023-07-26 sic/henri-viii-bard-opera.html              Woes                                       By Zachary Woolfe                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/23/opinion
2023-07-23   2023-07-26 /climate-heat-deaths-poverty.html           Heat Deaths Arent Just About Temperature By Tish Harrison Warren              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/arts/mu Controversy Over a Song Pushes It Up the
2023-07-24   2023-07-26 sic/jason-aldean-small-town-billboard.html  Pop Chart                                  By Ben Sisario                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/books/l
                        ara-love-hardin-memoir-many-lives-mama-
2023-07-24   2023-07-26 love.html                                   A Ghostwriters Own Stark Tale              By Elisabeth Egan                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/busines
2023-07-24   2023-07-26 s/media/tv-strikes-series-delays.html       Strikes Mean Game Shows And Reruns         By John Koblin                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/dining/l
2023-07-24   2023-07-26 emon-bars.html                              Life Lessons in a Tender and Tangy Treat   By Genevieve Ko                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/dining/
                        williamsburg-nyc-puerto-rican-social-
2023-07-24   2023-07-26 club.html                                   Her Social Club Is Here to Stay            By Christina Morales               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/arts/des Curators Needed Patience of Buddha To
2023-07-25   2023-07-26 ign/buddhist-art-india-met.html             Assemble Show                              By Rachel Sherman                  TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/25/arts/tele
2023-07-25   2023-07-26 vision/dirty-pictures-from-a-revolution.html The Sexual Revolutions Hopeful Start      By Alexis Soloski                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/arts/tele
2023-07-25   2023-07-26 vision/jim-gaffigan-dark-pale.html           A Pro Twist On That Vanilla Image         By Jason Zinoman                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/books/b Booksellers Publishers And Authors Fighting By Alexandra Alter and Elizabeth
2023-07-25   2023-07-26 ook-banning-texas-lawsuit.html               Texas Limits on Books                     A Harris                           TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/25/busines Global Economy Shows Resilience Although By Alan Rappeport Eshe Nelson
2023-07-25   2023-07-26 s/economy/imf-world-economic-outlook.html Serious Threats Linger                     and Jeanna Smialek                TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/25/busines
                        s/economy/russia-ukraine-grain-danube-river- With Danube Port Attack Russia Tightens
2023-07-25   2023-07-26 reni.html                                    Grip on Ukraines Grain Exports          By Jenny Gross and Patricia Cohen TX 9-317-107      2023-09-01

                        https://www.nytimes.com/2023/07/25/busines UPS Reaches Agreement With Union To
2023-07-25   2023-07-26 s/economy/ups-teamsters-contract-strike.html Raise Pay                                 By Noam Scheiber                   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/25/busines GMs Electric Vehicle Rollout Delayed by
2023-07-25   2023-07-26 s/general-motors-electric-vehicles-profits.html Slow Battery Production                 By Neal E Boudette                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/busines Microsoft Revenue Climbs 8 to 562 Billion in
2023-07-25   2023-07-26 s/microsoft-earnings.html                       the Latest Quarter                      By Karen Weise                    TX 9-317-107   2023-09-01



                                                                                Page 5526 of 5793
                        https://www.nytimes.com/2023/07/25/busines
2023-07-25   2023-07-26 s/pacwest-deal-banc-of-california.html     Regional Bank In California Faces Takeover By Rob Copeland                        TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/25/busines
2023-07-25   2023-07-26 s/pan-gongsheng-peoples-bank-of-china.html China Puts Fixer In to Run Central Bank         By Keith Bradsher                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/25/climate
2023-07-25   2023-07-26 /atlantic-ocean-tipping-point.html           Atlantic Nears Tipping Point Scientists Say   By Raymond Zhong                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/25/dining/i
                        n-search-of-new-york-citys-most-elusive-hot-
2023-07-25   2023-07-26 dog.html                                     Hot Dogs From Purebreds to Rescued Strays     By Nikita Richardson              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/25/dining/r
2023-07-25   2023-07-26 estaurant-openings-nyc.html                  Off the Menu                                  By Florence Fabricant             TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/25/dining/r
                        estaurant-review-potluck-club-lower-east-
2023-07-25   2023-07-26 side.html                                    So Youre Looking for a Good Time              By Pete Wells                     TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/25/movies/ Venice Film Festival Is Expected to Be
2023-07-25   2023-07-26 venice-film-festival-actors-strike.html      Largely Unscathed by Strikes                  By Alex Marshall                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/25/nyregio
                        n/gilgo-beach-suspect-279-weapon-            Gilgo Beach Suspects Home Held a              By Corey Kilgannon and Nate
2023-07-25   2023-07-26 seized.html                                  279Weapon Arsenal and a Vault                 Schweber                          TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/25/nyregio
                        n/manhattan-gynecologist-sexual-abuse-       Gynecologist Gets 20 Years in Sexual Abuse
2023-07-25   2023-07-26 hadden.html                                  of Patients                                   By Hurubie Meko                   TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/25/nyregio Man Sentenced to 30 Months in Overdose
2023-07-25   2023-07-26 n/michael-k-williams-death-sentencing.html Death of Wire Actor                             By Maria Cramer                   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/25/nyregio Jails Chief Criticized for Lack Of Clarity on
2023-07-25   2023-07-26 n/rikers-island-jail-chief-molina.html      Rikers Problems                                By Jan Ransom                     TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/25/nyregio
                        n/shea-trump-border-wall-fraud-             Businessman Gets 5 Years Over Scheme To
2023-07-25   2023-07-26 sentencing.html                             Fund Wall                                      By Colin Moynihan                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/25/opinion
2023-07-25   2023-07-26 /israel-supreme-court.html                  Israels SelfInflicted Wound                    By Bret Stephens                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/25/sports/f Johnny Lujack Who Won Heisman and 3
2023-07-25   2023-07-26 ootball/johnny-lujack-dead.html             Titles With Irish Dies at 98                   By Richard Goldstein              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/25/sports/n
                        caabasketball/bronny-james-cardiac-arrest-  Bronny James the Superstars 18YearOld Son      By Tania Ganguli Billy Witz and
2023-07-25   2023-07-26 lebron.html                                 Is Stable After Cardiac Arrest                 Gina Kolata                       TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/25/sports/s
2023-07-25   2023-07-26 occer/paris-soccer-tournaments.html         A Continental Competition in Paris             By Catherine Porter and James Hill TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/technol
                        ogy/alphabet-google-earnings-second-
2023-07-25   2023-07-26 quarter.html                                Alphabet Surpasses Forecasts                   By Nico Grant                     TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/25/technol
2023-07-25   2023-07-26 ogy/snap-snapchat-earnings.html             Snaps Sales Fall Yet Again Amid Ad Woes        By Yiwen Lu                       TX 9-317-107    2023-09-01



                                                                                 Page 5527 of 5793
                        https://www.nytimes.com/2023/07/25/theater/
                        barrington-stage-company-williamstown-      Two Strong Stories During Theaters Tough
2023-07-25   2023-07-26 theater-festival.html                       Times                                      By Laura CollinsHughes          TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/25/us/ohio- Ohio Voters Will Have Say On Abortion
2023-07-25   2023-07-26 abortion-rights-amendment.html              Amendment But There May Be Hurdles         By Kate Zernike                 TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/25/us/polit Federal Judge Blocks Biden Administrations By Miriam Jordan and Eileen
2023-07-25   2023-07-26 ics/biden-asylum-policy-immigration.html    Asylum Policy                              Sullivan                        TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/25/us/polit
2023-07-25   2023-07-26 ics/biden-democracy-autocracy.html          Biden Defense Of Democracy Varies by Ally By Peter Baker                   TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/25/us/polit
2023-07-25   2023-07-26 ics/biden-dog-commander-secret-service.html Emails Report List of Attacks By Bidens Dog By Zolan KannoYoungs           TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/25/us/polit Bergdahls Dishonorable Status And
2023-07-25   2023-07-26 ics/bowe-bergdahl-conviction-overturned.html Conviction Are Vacated                     By Charlie Savage              TX 9-317-107     2023-09-01
                                                                                                                By Shane Goldmacher Maggie
                        https://www.nytimes.com/2023/07/25/us/polit DeSantis Campaign Staff Is Said to Be Cut   Haberman Jonathan Swan and
2023-07-25   2023-07-26 ics/desantis-campaign-staff-cuts.html       by a Third                                  Nicholas Nehamas               TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/25/us/polit Biden Dedicates Monument to Emmett Till
2023-07-25   2023-07-26 ics/emmett-till-national-monument-biden.html and His Mother                             By Erica L Green              TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/25/us/polit
                        ics/harvard-admissions-civil-rights-         Legacy Admission At Harvard Faces Federal By Michael D Shear and Anemona
2023-07-25   2023-07-26 inquiry.html                                 Inquiry                                    Hartocollis                   TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/25/us/polit Jan 6 Investigators Still Digging With      By Alan Feuer and Maggie
2023-07-25   2023-07-26 ics/jan-6-indictment-decision.html           Decision on an Indictment Ahead            Haberman                      TX 9-317-107      2023-09-01
                        https://www.nytimes.com/2023/07/25/us/polit First Lady Takes the 2024 Campaign to Paris
2023-07-25   2023-07-26 ics/jill-biden-paris-unesco.html             in Another Overseas Appeal                 By Katie Rogers               TX 9-317-107      2023-09-01

                        https://www.nytimes.com/2023/07/25/us/polit Freedom Caucus Ouster Of Greene Shows       By Annie Karni Robert Draper and
2023-07-25   2023-07-26 ics/majorie-taylor-green-freedom-caucus.html Crisis In Identity on Far Right            Luke Broadwater                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/us/polit Senate Votes to Restrict Chinas Buying US
2023-07-25   2023-07-26 ics/senate-china-farmland-investment.html    Farms                                      By Karoun Demirjian              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/us/polit Trump Plans To Give Back Ancient Coins
2023-07-25   2023-07-26 ics/trump-israel-antiquities.html            From Israel                                By Anjali Huynh                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/us/tenn Rule Narrows Path for Felons To Vote Again
2023-07-25   2023-07-26 essee-voting-felons.html                     In Tennessee                               By Michael Wines                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/world/a
                        mericas/mexico-missing-students-             Military Lies Stymie Panel In Abduction Of
2023-07-25   2023-07-26 investigation.html                           Students                                   By Emiliano Rodrguez Mega        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/world/a Chinas Foreign Minister Out of View for      By Chris Buckley and David
2023-07-25   2023-07-26 sia/qin-gang-china-foreign-minister.html     Weeks Is Abruptly Replaced                 Pierson                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/world/a Taliban Shut Beauty Salons One of Last
2023-07-25   2023-07-26 sia/taliban-beauty-salons-afghanistan.html   Public Spaces for Afghan Women             By Christina Goldbaum            TX 9-317-107   2023-09-01




                                                                                Page 5528 of 5793
                        https://www.nytimes.com/2023/07/25/world/e
2023-07-25   2023-07-26 urope/ales-pushkin-dead.html               Ales Pushkin Imprisoned Artist Dies at 57    By Alex Williams                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/25/world/e 8 Are Convicted in 2016 Brussels Terror
2023-07-25   2023-07-26 urope/brussels-terror-attacks-trial-2016.html Bombings 6 May Get Life in Prison         By Monika Pronczuk                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/world/e This Is Inhumanity Missile Strike on Odesa   By Valerie Hopkins and Emile
2023-07-25   2023-07-26 urope/odesa-cathedral-ukraine-attack.html     Cathedral Stuns City                      Ducke                               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/world/e Marriage in Ukraine Has Become a Casualty
2023-07-25   2023-07-26 urope/ukraine-war-divorce.html                Too                                       By Jeffrey Gettleman                TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/25/world/ 34 Die as Wildfires and Soaring Heat Rock
2023-07-25   2023-07-26 middleeast/algeria-wildfires-heat-wave.html Algeria                                       By Rachid Sekkai and Vivian Yee   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/world/ Israeli Protesters Are Hit By the Shock of
2023-07-25   2023-07-26 middleeast/israel-judiciary-opposition.html Defeat                                        By Isabel Kershner                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/world/
                        middleeast/israel-supreme-court-judicial-   Israeli Court Weighs Its Response to Judicial
2023-07-25   2023-07-26 overhaul-netanyahu.html                     Law                                           By Emily Bazelon                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/world/
                        middleeast/netanyahu-israel-court-judicial- Opposing Sides Plan for Next Battles Over
2023-07-25   2023-07-26 overhaul.html                               Israels Court Overhaul                        By Patrick Kingsley               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/live/2023/07/25/wo
                        rld/russia-ukraine-news/russia-military-    Russia Moves to Raise Top Age for
2023-07-25   2023-07-26 service-age                                 Conscripts                                    By Ivan Nechepurenko              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/busines Influencers Turn Down Thousands to Protect By Sapna Maheshwari and
2023-07-26   2023-07-26 s/media/actors-strike-influencers.html      Hollywood Dreams                              Madison Malone Kircher            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/reader-
                        center/energy-sources-alternatives-power-   An Energy Correspondent Hunts for
2023-07-26   2023-07-26 electric.html                               Alternatives                                  By Ivan Penn                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/sports/s Why Im Rooting for Haitis Tenacious
2023-07-26   2023-07-26 occer/haiti-womens-world-cup.html           Grenadiers                                    By Kurt Streeter                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/style/ac
2023-07-20   2023-07-27 tors-strike-red-carpet-fashion.html         Ripples From a Strike Touch Fashions World By Vanessa Friedman                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/movies/
2023-07-21   2023-07-27 oppenheimer-cast-real-life.html             Whos Who in Oppenheimer A Guide               By Christopher Kuo                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/t-
                        magazine/mendel-goldberg-fabrics-
2023-07-21   2023-07-27 bridgerton.html                             People Places Things                          By Reggie Nadelson                TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/23/theater/ New York New York Will End Its Broadway
2023-07-23   2023-07-27 new-york-new-york-broadway-closing.html Run                                           By Michael Paulson                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/opinion
2023-07-24   2023-07-27 /social-media-influencer-restaurants.html    The 21stCentury Shakedown of Restaurants By Karen Stabiner                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/style/all
2023-07-24   2023-07-27 pinked-out.html                              Pink Is Everywhere Can It Please Go Away By Vanessa Friedman                   TX 9-317-107   2023-09-01




                                                                                Page 5529 of 5793
                        https://www.nytimes.com/2023/07/24/style/si
2023-07-24   2023-07-27 ngles-party-chaotic-singles.html             A Singles Party Where Chaos Is the Point   By Gina Cherelus                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/nyregio
                        n/pete-davidson-reckless-driving-community- Fire Dept Community Service Is Likely for
2023-07-25   2023-07-27 service.html                                 Pete Davidson                              By Ed Shanahan                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/movies/
2023-07-25   2023-07-27 greta-gerwig-barbie-movie.html               The Director Behind a Way Existential Doll By Kyle Buchanan                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/style/ny
2023-07-25   2023-07-27 c-bodypainting-day.html                      Sporting Paint Instead of Clothes          By Callie Holtermann                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/arts/kev
2023-07-26   2023-07-27 in-spacey-verdict-not-guilty.html            Kevin Spacey Is Acquitted In London        By Alex Marshall                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/arts/mu
                        sic/review-mostly-mozart-langree-amir-
2023-07-26   2023-07-27 elsaffar.html                                After Decades Mostly Mozart Faces a Reset By Seth Colter Walls                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/arts/mu Sinead OConnor 56 Outspoken Singer Who
2023-07-26   2023-07-27 sic/sinead-oconnor-dead.html                 Endured Scorn Dies                         By Ben Sisario and Joe Coscarelli   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/arts/mu
2023-07-26   2023-07-27 sic/wagner-parsifal-bayreuth-review.html     Wagner and CuttingEdge Technology Again By Zachary Woolfe                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/busines
                        s/credit-markets-uncertainty-interest-       Corporate Debt Was Cheap But Economy       By Joe Rennison and Jeanna
2023-07-26   2023-07-27 rates.html                                   May Pay Price                              Smialek                             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/busines
                        s/dealbook/joe-lewis-tottenham-insider-      Tottenham Hotspur Owner Is Charged in US
2023-07-26   2023-07-27 trading.html                                 With Insider Trading                       By Michael J de la Merced           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/busines
                        s/energy-environment/electric-vehicles-fast-
2023-07-26   2023-07-27 chargers-automakers.html                     Plan to Double Total of Fast Chargers      By Jack Ewing                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/busines
2023-07-26   2023-07-27 s/fed-meeting-interest-rate-powell.html      Fed Lifts Rates And Has Door Open for More By Jeanna Smialek                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/busines Major Brands Keep Raising Prices
2023-07-26   2023-07-27 s/food-prices-fed-inflation.html             Complicating Feds Inflation Fight          By J Edward Moreno                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/busines Gap Inspired by Barbie Hires a Leader of
2023-07-26   2023-07-27 s/gap-ceo-mattel-barbie.html                 Mattel In a Bid for a Makeover             By Jordyn Holman                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/busines NatWest Banks Chief Resigns Amid a
2023-07-26   2023-07-27 s/natwest-ceo-nigel-farage.html              Political Storm in Britain                 By Eshe Nelson                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/busines How the Regional Banks Managed to Get
2023-07-26   2023-07-27 s/regional-banks.html                        Healthy                                    By Emily Flitter                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/busines White House Assails Fox News Over Hosts
2023-07-26   2023-07-27 s/white-house-fox-news-holocaust.html        Holocaust Remarks                          By Jeremy W Peters                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/health/a For Healthy Older People Aspirin May Be
2023-07-26   2023-07-27 spirin-bleeding-stroke-heart-attack.html     More Risky Than Helpful                    By Emily Baumgaertner               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/health/ Wastewater Proves Useful In Tracking Covid
2023-07-26   2023-07-27 wastewater-covid-coronavirus.html            Cases                                      By Emily Anthes                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/movies/ Bo Goldman 90 Who Adapted Cuckoos Nest
2023-07-26   2023-07-27 bo-goldman-dead.html                         for Film Is Dead                           By Neil Genzlinger                  TX 9-317-107   2023-09-01



                                                                                 Page 5530 of 5793
                        https://www.nytimes.com/2023/07/26/nyregio                                              By Lola Fadulu and Amanda
2023-07-26   2023-07-27 n/crane-collapse-nyc-hudson-yards.html      Manhattan Crane Collapse Injures 11         Holpuch                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/nyregio Restaurateur Who Bribed Politicians Gets
2023-07-26   2023-07-27 n/restauraunt-bribery-new-york.html         Four Years                                  By Karen Zraick                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/opinion
2023-07-26   2023-07-27 /trump-indictments-prosecution.html         How to Know When a Prosecution Is Political By Jesse Wegman                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/science US Plans Nuclear Rocket for Faster Trip to
2023-07-26   2023-07-27 /nasa-nuclear-rocket-darpa.html             Mars                                        By Kenneth Chang                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/science Looming Retraction Casts Shadow Over
2023-07-26   2023-07-27 /ranga-dias-retraction-physics.html         Physics Field                               By Kenneth Chang                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/sports/b Hiding From the Yips Will Only Make It
2023-07-26   2023-07-27 aseball/yips-eileen-canney-linnehan.html    Worse                                       By David Waldstein               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/sports/g
2023-07-26   2023-07-27 olf/players-evian-championship.html         5 players to watch at Evian                 By Michael Arkush                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/sports/n Bronny James Is in Stable Condition What to
2023-07-26   2023-07-27 caabasketball/bronny-james-status.html      Know About His Cardiac Arrest               By Claire Fahy                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/sports/p
2023-07-26   2023-07-27 reparing-for-the-evian-championship.html    A consistent but quirky course              By Paul Sullivan                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/technol
2023-07-26   2023-07-27 ogy/meta-earnings-second-quarter.html       Meta Profit Climbs 16 In Quarter            By Mike Isaac                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/technol Internet Censorship By Russia Has Soared     By Paul Mozur Adam Satariano
2023-07-26   2023-07-27 ogy/russia-censorship-ukraine-war.html      30Fold During War                           and Aaron Krolik                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/theater/
2023-07-26   2023-07-27 ato-blankson-wood-hamlet.html               Playing Hamlet in a World on Fire           By Juan A Ramrez                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/us/affir
                        mative-action-college-admissions-           For Colleges Affirmative Action Ruling Goes By Anemona Hartocollis and Amy
2023-07-26   2023-07-27 harvard.html                                Beyond Race                                 Harmon                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/us/heat- Blistering Heat and Wildfire Smoke Spread
2023-07-26   2023-07-27 wave-air-quality-smoke-midwest.html         Misery Across the Midwest                   By Julie Bosman                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/us/polit
                        ics/airplane-bathrooms-disabilities-        US Moves to Improve Airplane Bathrooms for
2023-07-26   2023-07-27 accessibility.html                          People With Disabilities                    By Mark Walker                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/us/polit Biden Orders Evidence of Russian War
2023-07-26   2023-07-27 ics/biden-russia-war-crimes-hague.html      Crimes Be Shared With Hague Court           By Charlie Savage                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/us/polit
2023-07-26   2023-07-27 ics/giuliani-georgia-election-workers.html  Poll Workers Get Retraction From Giuliani By Alan Feuer                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/us/polit Sudden Obstacle Delays Plea Deal For Bidens By Glenn Thrush Michael S
2023-07-26   2023-07-27 ics/hunter-biden-plea-deal-charges.html     Son                                         Schmidt and Chris Cameron        TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/26/us/polit Understanding Factors Behind Dip in       By Michael D Shear Julie
2023-07-26   2023-07-27 ics/immigration-illegal-border-crossings.html Migrants Entering US Illegally          Turkewitz and Edgar Sandoval       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/us/polit The Purposely Private Days of Melania
2023-07-26   2023-07-27 ics/melania-trump-2024-campaign.html          Trump                                   By Lisa Lerer and Katie Rogers     TX 9-317-107   2023-09-01




                                                                                Page 5531 of 5793
                        https://www.nytimes.com/2023/07/26/us/polit
                        ics/mitch-mcconnell-freezes-news-           McConnell Suffers Health Episode During
2023-07-26   2023-07-27 conference.html                             News Conference                             By Carl Hulse                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/us/polit Asked About Abortion Haley Talks Instead of
2023-07-26   2023-07-27 ics/nikki-haley-abortion.html               Consensus                                   By Jazmine Ulloa                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/us/polit Trump Voters Renounce Him In Tactical Ads
2023-07-26   2023-07-27 ics/trump-ads-iowa.html                     Targeting Iowa                              By Lisa Lerer                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/us/polit Alien Crafts At a Hearing Leaders Let
2023-07-26   2023-07-27 ics/ufo-hearing.html                        Questions Fly                               By Helene Cooper                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/us/texa Texas Border Tactics Test Limits of States
2023-07-26   2023-07-27 s-greg-abbott-border-migrants.html          Power                                       By J David Goodman               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/world/a
                        frica/niger-military-coup-president-        Military in Niger Declares Coup After       By Omar Hama Saley Elian Peltier
2023-07-26   2023-07-27 bazoum.html                                 Presidential Guard Detains Bazoum           and Declan Walsh                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/world/a War Brought Putin Closer to Africa but Now
2023-07-26   2023-07-27 frica/putin-africa-russia-war.html          It Is Pushing Them Apart                    By Declan Walsh and Paul Sonne TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/26/world/a
                        sia/india-monsoon-global-warming-travel-    Monsoons Fury Sours the Romance Of
2023-07-26   2023-07-27 tourism.html                                Traveling in Indias Rainy Season            By Suhasini Raj                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/world/a                                              By Chang W Lee and Choe
2023-07-26   2023-07-27 sia/korea-dmz-north-south-border.html       70 Years of Truce Along the Korean DMZ      SangHun                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/world/e A FarRight Surge Is Shaking Up Germanys
2023-07-26   2023-07-27 urope/germany-afd-cdu-far-right.html        Conservatives                               By Catie Edmondson               TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/26/world/e In Britain Trump Ally Stokes Feud With
2023-07-26   2023-07-27 urope/natwest-nigel-farage-coutts-bank.html Bank                                       By Mark Landler                 TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/26/world/e Main Thrust of Ukraines Offensive Is        By Eric Schmitt Matthew Mpoke
2023-07-26   2023-07-27 urope/ukraine-counteroffensive.html         Underway US Officials Say                  Bigg and Carlotta Gall          TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/26/world/e                                             By Marc Santora and Finbarr
2023-07-26   2023-07-27 urope/ukraine-russia-offensive-northeast.html They Shoot Without Stopping              OReilly                         TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/26/world/e Greek Tourisms Future Is Clouded by the     By Emma Bubola and Niki
2023-07-26   2023-07-27 urope/wildfires-greece-tourism.html           Heat                                     Kitsantonis                     TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/26/world/
                        middleeast/israel-supreme-court-judicial-     Israels Supreme Court Will Review        By Patrick Kingsley and Aaron
2023-07-26   2023-07-27 overhaul-netanyahu.html                       Netanyahus Judicial Overhaul             Boxerman                        TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/27/busines
2023-07-27   2023-07-27 s/energy-environment/israel-gas-europe.html In Israel Chevron Sees a Path to Europe    By Stanley Reed and Ofir Berman TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/27/insider/ For Perspective a Reporter Heads to the
2023-07-27   2023-07-27 hudson-river-lewis-pugh.html                Clouds                                     By Jesse McKinley               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/27/opinion
                        /lindsey-graham-elizabeth-warren-big-tech- We Have a Way for Congress to Rein In Big   By Lindsey Graham and Elizabeth
2023-07-27   2023-07-27 regulation.html                             Tech                                       Warren                          TX 9-317-107     2023-09-01




                                                                               Page 5532 of 5793
                        https://www.nytimes.com/2023/07/27/sports/f Barkley Shows Up in Camp and the Giants
2023-07-27   2023-07-27 ootball/saquon-barkley-giants.html          Breathe a Sigh of Relief                     By Emmanuel Morgan               TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/27/style/ai
2023-07-27   2023-07-27 me-leon-dore-nyc.html                       Clothes for a New Kind of Gentleman          By Jon Caramanica                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/27/us/polit Fight With Harvard Is Political Winner and
2023-07-27   2023-07-27 ics/biden-legacy-admissions-harvard.html    Policy BandAid                               By Reid J Epstein                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/27/world/e Italys FarRight Leader Has Knack for
2023-07-27   2023-07-27 urope/biden-meloni-italy-white-house.html   Centrism                                     By Jason Horowitz                TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/14/arts/des
2023-07-14   2023-07-28 ign/african-royalty-tate-modern.html        African Royals Complicated And Splendid      By Precious Adesina              TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/23/busines
2023-07-23   2023-07-28 s/modelo-bud-light.html                     How Modelo Dethroned Bud Light               By J Edward Moreno               TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/24/us/gretc After 48 Years of Mystery ExChurch Minister
2023-07-24   2023-07-28 hen-harrington-cold-case-david-zandstra.html Faces Charges in Pennsylvania Girls Murder By Jesus Jimnez                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/07/ Study of Elite College Admissions Data
                        24/upshot/ivy-league-elite-college-          Suggests Being Very Rich Is Its Own        By Aatish Bhatia Claire Cain Miller
2023-07-24   2023-07-28 admissions.html                              Qualification                              and Josh Katz                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/arts/mu Nobody Forgets A Daring Moment On
2023-07-26   2023-07-28 sic/sinead-oconnor-snl-pope.html             Television                                 By Jon Caramanica                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/arts/sim Simpson Kalisher 96 Photographer Who
2023-07-26   2023-07-28 pson-kalisher-dead.html                      Captured Urban Grit Dies                   By Sam Roberts                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/climate 101 Reading In Sea Water Record or Not
2023-07-26   2023-07-28 /florida-100-degree-water.html               Raises Alarms                              By Hiroko Tabuchi                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/movies/
                        annihilation-support-the-girls-streaming-    A Sly Comedy Wild West Drama And a Last
2023-07-26   2023-07-28 movies.html                                  Role                                       By Jason Bailey                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/nyregio A Closer Look Into Santoss Schemes to Get
2023-07-26   2023-07-28 n/george-santos-money-donors.html            Rich Through Politics                      By Grace Ashford                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/us/mia Speaking of Miami The Spanglish There May
2023-07-26   2023-07-28 mi-dialect-english-spanish.html              Be a Dialect Bro                           By Patricia Mazzei                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/world/a Nearly 100 Pilot Whales Huddled in Waters
2023-07-26   2023-07-28 sia/australia-whales-stranded-beach.html     Off Australia Before a Fatal Mass Beaching By Yan Zhuang                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/world/e
                        urope/uk-conservatives-green-policy-         In Britain a Commitment to Green Policy Is By Mark Landler and Stephen
2023-07-26   2023-07-28 ulez.html                                    Tested by an Election Win                  Castle                              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/arts/des
2023-07-27   2023-07-28 ign/edvard-munch-clark-art-institute.html    Pastoral Locales Awaiting Exploration      By Roberta Smith                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/arts/des Launching a Time Capsule of Human
2023-07-27   2023-07-28 ign/lunar-codex-time-capsule-moon.html       Creativity                                 By J D Biersdorfer                  TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/27/arts/des Heading North The Weekend Scene Offers
2023-07-27   2023-07-28 ign/weekend-art-exhibitions-outside-nyc.html Much Breadth                               By Zachary Small                  TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/27/arts/mu Officials Say Artists Death Is Not Viewed As
2023-07-27   2023-07-28 sic/sinead-oconnor-cause-of-death.html       Suspicious                                 By Alex Marshall                  TX 9-317-107     2023-09-01



                                                                                 Page 5533 of 5793
                        https://www.nytimes.com/2023/07/27/arts/tele
                        vision/how-to-with-john-wilson-season-
2023-07-27   2023-07-28 3.html                                       Spelunking Lifes Rabbit Holes              By James Poniewozik     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/arts/tele
2023-07-27   2023-07-28 vision/this-fool-last-call.html              This Weekend I Have                        By Esther Zuckerman     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/busines
2023-07-27   2023-07-28 s/ai-chatgpt-safety-research.html            Its Easy To Thwart AI Safety               By Cade Metz            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/busines Citigroup Finds Indirect Ties To Slavery In
2023-07-27   2023-07-28 s/citigroup-slavery-history.html             Predecessors                               By Emily Flitter        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/busines
2023-07-27   2023-07-28 s/ecb-interest-rates-europe.html             High Inflation Causes ECB To Raise Rates By Eshe Nelson            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/busines Optimism on Soft Landing Could Prove
2023-07-27   2023-07-28 s/economy/fed-economy-soft-landing.html      Premature                                  By Jeanna Smialek       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/busines US Economy Grows As Recession Again
2023-07-27   2023-07-28 s/economy/us-economy-gdp-q2.html             Fails to Materialize                       By Ben Casselman        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/busines Fords Profit Jumps in Second Quarter Despite
2023-07-27   2023-07-28 s/ford-motor-second-quarter-earnings.html    Big Loss on EVs                            By Neal E Boudette      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/busines
                        s/sam-bankman-fried-campaign-finance-        BankmanFried Prosecutors Drop Campaign By David YaffeBellany and
2023-07-27   2023-07-28 charge.html                                  Finance Count                              Matthew Goldstein       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/busines Shell Reports Lower Earnings as Energy
2023-07-27   2023-07-28 s/shell-earnings-q2.html                     Prices Ease                                By Stanley Reed         TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/27/busines Volkswagen Seeks Edge In the Chinese
2023-07-27   2023-07-28 s/volkswagen-china-delivery-forecast.html  Market                                    By Melissa Eddy            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/climate Regulators Approve New Rules to Speed
2023-07-27   2023-07-28 /electric-grid-ferc-bottleneck.html        Clean Energy Projects                     By Brad Plumer             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/climate
2023-07-27   2023-07-28 /july-heat-hottest-month.html              Warmest Month Ever It Could Be This One   By Raymond Zhong           TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/27/movies/
2023-07-27   2023-07-28 bobi-wine-the-peoples-president-review.html Bobi Wine The Peoples President          By Glenn Kenny             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/movies/
2023-07-27   2023-07-28 el-agua-review.html                         El Agua                                  By Devika Girish           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/movies/
2023-07-27   2023-07-28 happiness-for-beginners-review.html         Happiness For Beginners                  By Claire Shaffer          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/movies/
2023-07-27   2023-07-28 haunted-mansion-review.html                 Fear the Branding but Not the Ghosts     By Manohla Dargis          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/movies/
2023-07-27   2023-07-28 kokomo-city-review.html                     Intimate Stories of Tough Lives          By Teo Bugbee              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/movies/
2023-07-27   2023-07-28 north-circular-review.html                  North Circular                           By Ben Kenigsberg          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/movies/
2023-07-27   2023-07-28 susie-searches-review.html                  Susie Searches                           By Natalia Winkelman       TX 9-317-107   2023-09-01




                                                                                 Page 5534 of 5793
                        https://www.nytimes.com/2023/07/27/movies/
2023-07-27   2023-07-28 talk-to-me-review.html                     Tender Horror Haunted by Melancholy           By Jeannette Catsoulis              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/movies/
2023-07-27   2023-07-28 the-beanie-bubble-review.html              Crazy Capitalism The Beanie Baby Story        By Calum Marsh                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/movies/
2023-07-27   2023-07-28 the-beasts-review.html                     The Beasts                                    By Beatrice Loayza                  TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/27/movies/
2023-07-27   2023-07-28 the-first-slam-dunk-review-style-points.html The First Slam Dunk                          By Calum Marsh                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/movies/
2023-07-27   2023-07-28 the-unknown-country-review.html               The Unknown Country                         By Lisa Kennedy                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/movies/ The Endless Absurdities Of Life on a
2023-07-27   2023-07-28 war-pony-review.html                          Reservation                                 By Amy Nicholson                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/movies/
2023-07-27   2023-07-28 zoey-102-review.html                          Zoey 102                                    By Brandon Yu                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/opinion
                        /christopher-rufo-diversity-desantis-florida- University DEI Efforts Work Against Liberal
2023-07-27   2023-07-28 university.html                               Education                                   By Christopher F Rufo              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/opinion
2023-07-27   2023-07-28 /elon-musk-twitter-x.html                     Whats in a Name The MuskTwitter Edition By Paul Krugman                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/opinion
2023-07-27   2023-07-28 /israel-saudi-arabia-biden.html               Biden Is Weighing a Big Middle East Deal    By Thomas L Friedman               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/opinion
2023-07-27   2023-07-28 /taiwan-women-metoo.html                      Women in Taiwan Are Tired of Being Nice By Vickie Wang                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/sports/b A Subway Series Split Leaves 2 Subpar
2023-07-27   2023-07-28 aseball/yankees-mets.html                     Teams Subdued                               By Tyler Kepner                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/sports/n
                        caabasketball/lebron-james-bronny-james-      Bronny James Leaves Hospital His Father
2023-07-27   2023-07-28 cardiac-arrest.html                           Works Out With Young Star                   By Adam Zagoria                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/sports/s A Flash of Anger and Then a Flash of
2023-07-27   2023-07-28 occer/us-netherlands-lindsey-horan.html       Brilliance                                  By Juliet Macur                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/technol
2023-07-27   2023-07-28 ogy/facebook-instagram-algorithms.html        The Algorithm Isnt the Only Issue           By Mike Isaac and Sheera Frenkel   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/theater/
2023-07-27   2023-07-28 loves-labors-lost-review.html                 Shakespeare With a Rock Chaser              By Jesse Green                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/theater/
                        summer-theater-festivals-upstate-
2023-07-27   2023-07-28 berkshires.html                               Whats on Stages Amid Verdant Hills          By Laura CollinsHughes             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/us/capit FlagpoleWielding Man Is Convicted of
2023-07-27   2023-07-28 ol-riot-jan-6-chad-barrett-jones.html         Interrupting Process to Certify an Election By Chang Che                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/us/heat- Oppressive Heat Spreads to Northeast Putting By Jenna Russell Erin Nolan and
2023-07-27   2023-07-28 weather-northeast-philadelphia-nyc.html       Millions More in Danger                     Judson Jones                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/us/mem
2023-07-27   2023-07-28 phis-police-civil-rights-investigation.html   Memphis Faces Broad Inquiry Over Policing By Rick Rojas                        TX 9-317-107   2023-09-01




                                                                                 Page 5535 of 5793
                        https://www.nytimes.com/2023/07/27/us/migr Labor Dept Condemns National Surge in
2023-07-27   2023-07-28 ant-child-labor.html                       Exploitation of Child Workers                 By Hannah Dreier                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/us/oxfo Michigan Weighs How Long To Keep Teen
2023-07-27   2023-07-28 rd-michigan-shooting-crumbley.html         Killer in Prison                              By Mitch Smith                      TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/27/us/polit Biden Moves to Help With Swelter but        By Erica L Green and Lisa
2023-07-27   2023-07-28 ics/biden-heat-climate-change.html          Congress Remains Hostile to Climate Action Friedman                              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/us/polit Italys Prime Minister Gets Friendly Welcome
2023-07-27   2023-07-28 ics/biden-italy-meloni-white-house.html     in US From a OnceWary Biden                 By Peter Baker                       TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/27/us/polit As DeSantis Debuts Leaner Hungrier           By Jonathan Swan Maggie
2023-07-27   2023-07-28 ics/desantis-campaign-donors-finances.html Campaign in Iowa Donors Note Private Jets     Haberman and Shane Goldmacher TX 9-317-107         2023-09-01
                        https://www.nytimes.com/2023/07/27/us/polit Shutdown Anticipated After the House GOP
2023-07-27   2023-07-28 ics/house-republicans-spending.html         Stalls on Spending Bill                      By Carl Hulse                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/us/polit Judge in Biden Case Shocked Everyone but
2023-07-27   2023-07-28 ics/judge-hunter-biden.html                 Not Those Who Know Her                       By Abbie VanSickle                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/us/polit
                        ics/mcconnell-freeze-health-senate-         Physical Health Aside McConnells Political
2023-07-27   2023-07-28 republicans.html                            Status Is Quietly Declining                  By Annie Karni and Carl Hulse       TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/27/us/polit Supreme Courts Side Hustle Millions Worth By Steve Eder Abbie VanSickle
2023-07-27   2023-07-28 ics/supreme-court-justices-book-deals.html  of Book Deals                                and Elizabeth A Harris              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/us/polit
                        ics/trump-documents-carlos-de-oliveira-     US Alleges Push At Trumps Club To Erase By Alan Feuer Maggie Haberman
2023-07-27   2023-07-28 charged.html                                Footage                                      and Glenn Thrush                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/us/polit Legal Team Said to Meet With Inquiry Into By Maggie Haberman Alan Feuer
2023-07-27   2023-07-28 ics/trump-jan-6-special-counsel.html        Election                                     Ben Protess and Glenn Thrush        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/us/supr Supreme Court Clears Way for Pipeline         By Adam Liptak and Abbie
2023-07-27   2023-07-28 eme-court-mountain-valley-pipeline.html     Environmentalists Fought                     VanSickle                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/us/tree-
2023-07-27   2023-07-28 of-life-synagogue-death-penalty.html        Sharing Pain of Massacre Split on Punishment By Campbell Robertson               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/world/a Takeover Threatens To Erase a Nations
2023-07-27   2023-07-28 frica/niger-coup-president-bazoum.html      HardWon Gains                                By Aaron Boxerman                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/world/a After a Coup Nigers Ousted Leader Vows        By Declan Walsh Elian Peltier and
2023-07-27   2023-07-28 frica/niger-coup.html                       Democracy Will Win                           Eric Schmitt                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/world/a Beijing Bristles at Queries Over ExForeign
2023-07-27   2023-07-28 sia/china-qin-gang-foreign-ministry.html    Minister                                     By David Pierson                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/world/a The Korean War In Photos 70 Years After the
2023-07-27   2023-07-28 sia/korean-war-armistice-anniversary.html   Truce                                        By Choe SangHun                     TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/27/world/a South Korea Observes Armistice Anniversary
2023-07-27   2023-07-28 sia/korean-war-truman-statue-armistice.html With a Truman Statue                       By Choe SangHun                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/world/e                                             By Anton Troianovski Declan
2023-07-27   2023-07-28 urope/russia-africa-summit-putin.html       Putin Woos African Nations With Free Grain Walsh and Lynsey Chutel               TX 9-317-107   2023-09-01




                                                                                 Page 5536 of 5793
                        https://www.nytimes.com/2023/07/27/world/e Grief in the Small Irish Village Where a
2023-07-27   2023-07-28 urope/sinead-oconnor-irish-village.html        Singer Sought Sanctuary                    By Megan Specia                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/world/e
2023-07-27   2023-07-28 urope/uk-royal-swans.html                      In Royal Swan Census a Worrisome Dive      By Claire Moses                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/world/e UK Sanctions on Russian Oligarchs Appear to
2023-07-27   2023-07-28 urope/uk-russia-sanctions.html                 Hurt on Paper Only                         By Jane Bradley                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/world/e
                        urope/ukraine-counteroffensive-russia-         SteppedUp Assault on Enemy Grinds Forward By Marc Santora and Richard
2023-07-27   2023-07-28 putin.html                                     but Scale Is Unclear                       PrezPea                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/world/
                        middleeast/netanyahu-corruption-israel-        Netanyahus Allies Signal A Way to Disrupt
2023-07-27   2023-07-28 attorney-general.html                          His Trial                                  By Patrick Kingsley              TX 9-317-107   2023-09-01
                                                                       Senate Shirks Debates Over Abortion Access
                        https://www.nytimes.com/2023/07/27/us/polit and Ukraine Aid to Pass 886 Billion Defense
2023-07-28   2023-07-28 ics/senate-passes-bipartisan-defense-bill.html Bill                                       By Karoun Demirjian              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/insider/
2023-07-28   2023-07-28 regional-theater-crisis.html                   72 Regional Theaters One Shared Crisis     By Sarah Bahr                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/28/world/e A Lonely Voice for Change Until Her
2023-07-28   2023-07-28 urope/sinead-oconnor-changed-ireland.html Country Changed With Her                        By Ed OLoughlin                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/06/
                        09/us/trump-indictment-document-             The Trump Classified Documents Indictment
2023-06-09   2023-07-29 annotated.html                               Annotated                                    By Charlie Savage                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/travel/a
2023-07-18   2023-07-29 laska-food-trucks.html                       Seeking the True Taste of Alaska Try a Truck By Elaine Glusac                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/travel/g Celebrating Miyazaki Movie Magic at Ghibli
2023-07-19   2023-07-29 hibli-park-miyazaki-japan-totoro.html        Park                                         By Mike Ives                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/busines
2023-07-25   2023-07-29 s/extended-stay-hotels.html                  Hotel Operators Make a Bet on Longer Stays By Martha C White                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/movies/
2023-07-26   2023-07-29 barbie-movie-set-design.html                 Heres How to Bring a Dreamhouse to Life      By Kyle Buchanan                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/opinion North and South Korea Drift Farther Apart
2023-07-26   2023-07-29 /north-south-korea-unification-war.html      Every Day                                    By Haeryun Kang                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/world/a JPop Idol Takes Leap of Faith to Embrace His
2023-07-26   2023-07-29 sia/japan-gay-j-pop-shinjiro-atae.html       Sexuality                                    By Motoko Rich and Hikari Hida   TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/26/arts/mu
2023-07-27   2023-07-29 sic/10-essential-songs-by-sinead-oconnor.html Essential Songs By Sinead OConnor          By Jon Pareles                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/arts/zwi David Zwirner Pivots on Plans For a New
2023-07-27   2023-07-29 rner-changes-chelsea-gallery-plan.html        Chelsea Art Gallery                        By Robin Pogrebin                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/opinion A ChristianNationalistTinged Assault on
2023-07-27   2023-07-29 /desantis-slavery.html                        Black History                              By Charles M Blow                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/arts/des
                        ign/jeffrey-gibson-venice-biennale-           Indigenous US Artist Is Selected for the
2023-07-27   2023-07-29 indigenous.html                               Venice Biennale                            By Zachary Small                  TX 9-317-107   2023-09-01



                                                                                 Page 5537 of 5793
                        https://www.nytimes.com/2023/07/27/arts/mu
                        sic/chief-xian-atunde-adjuah-bark-out-thunder-
2023-07-27   2023-07-29 roar-out-lightning-review.html                Building a Musical Bridge to a Deep Heritage By Giovanni Russonello       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/arts/mu
2023-07-27   2023-07-29 sic/sinead-oconnor-ireland.html               Her Defiance Was Ahead of Its Time           By Una Mullally              TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/27/busines Unions Pitch In to Recruit for Public Sector
2023-07-27   2023-07-29 s/economy/local-government-jobs-unions.html Jobs                                          By Lydia DePillis             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/health/l Louise Levy 112 Longtime Subject in a
2023-07-27   2023-07-29 ouise-levy-dead.html                        Genetic Study of Human Longevity              By Richard Sandomir           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/movies/
                        day-after-trinity-oppenheimer-
2023-07-27   2023-07-29 documentary.html                            New Fans for Old Film About Oppenheimer       By Marc Tracy                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/nyregio OConnor Condemned Abuse in the Church
2023-07-27   2023-07-29 n/sinead-oconnor-childhood-abuse.html       America Wasnt Ready                           By Liam Stack                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/opinion
                        /columnists/citi-bike-karen-white-
2023-07-27   2023-07-29 woman.html                                  The Impossible Bind of the Karen Label        By Pamela Paul                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/sports/f
2023-07-27   2023-07-29 ootball/garrett-wilson-jets.html            A Jets Star Who Helped to Lure a Superstar    By Jonathan Abrams            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/technol Quixotic Quest to Turn X Into an Everything
2023-07-27   2023-07-29 ogy/elon-musk-x-everything-app.html         App                                           By Ryan Mac                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/theater/ Two Selected to Join Leadership Team at
2023-07-27   2023-07-29 soho-rep-eric-ting-caleb-hammons.html       Soho Rep                                      By Sarah Bahr                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/arts/mu Randy Meisner a Founding Member of the
2023-07-28   2023-07-29 sic/randy-meisner-dead.html                 Eagles Is Dead at 77                          By Alex Williams              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/busines Sony Delays Movie Releases as Strike by
2023-07-28   2023-07-29 s/actors-strike-movies.html                 Actors Union Upends Publicity Plans           By Brooks Barnes              TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/28/busines Bank of Japan Edges Toward Letting Rates
2023-07-28   2023-07-29 s/bank-of-japan-flexible-yield-control.html Rise                                          By Ben Dooley                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/busines Colombians Face a Brush With Death Half a
2023-07-28   2023-07-29 s/colombia-ukraine-russia-war.html          World Away                                    By Gabriela S Pessoa          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/busines
                        s/energy-environment/exxon-chevron-oil-     Energy Exxon Reports Downturn In
2023-07-28   2023-07-29 earnings.html                               2ndQuarter Earnings                           By Santul Nerkar              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/busines Judge Rejects Hong Kongs Bid To Ban a
2023-07-28   2023-07-29 s/glory-to-hong-kong-injunction.html        Protest Song Online                           By Tiffany May                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/busines Economic Data Swelling Hopes Of Soft           By Ben Casselman and Jeanna
2023-07-28   2023-07-29 s/inflation-consumer-fed.html               Landing                                       Smialek                       TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/28/busines Emmy Awards Postponed by Actors and
2023-07-28   2023-07-29 s/media/emmy-awards-postponed-strikes.html Writers Strikes                                By John Koblin                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/busines On Wall Street Gloomy Feeling Is Tough to
2023-07-28   2023-07-29 s/stock-market-bears.html                  Sell                                           By Joe Rennison               TX 9-317-107   2023-09-01



                                                                                 Page 5538 of 5793
                        https://www.nytimes.com/2023/07/28/climate A New Proposal Could Change Fuel
2023-07-28   2023-07-29 /biden-fuel-economy-rules.html              Economy Rules                                By Coral Davenport               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/movies/
2023-07-28   2023-07-29 kevin-spacey-career-roles.html              After a Trial Hollywood Deliberates          By Alex Marshall and Maya Salam TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/nyregio Extra Water a Dry Shirt New Yorkers Cope
2023-07-28   2023-07-29 n/extreme-heat-new-york-city.html           With the Heat                                By Sarah Maslin Nir and Ang Li   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/nyregio Apartments In Skyline Rents Closer To
2023-07-28   2023-07-29 n/nyc-apartments-world-trade-center.html    Ground                                       By Stefanos Chen                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/sports/a
2023-07-28   2023-07-29 utoracing/aston-martin-formula-1.html       Winning races then selling cars              By Lawrence Ulrich               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/sports/a
2023-07-28   2023-07-29 utoracing/f1-brad-pitt.html                 A new F1 movie starring Brad Pitt            By Ian Parkes                    TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/28/sports/a
2023-07-28   2023-07-29 utoracing/formula-1-owners-investments.html Its a new day for Formula 1                   By Phillip Horton               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/sports/s
                        occer/womens-world-cup-tv-deal-
2023-07-28   2023-07-29 australia.html                              TV Deal Makes Games Hard to See for Hosts By Tariq Panja                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/sports/s A HighStakes Title Bout Thats Rich in
2023-07-28   2023-07-29 pence-vs-crawford.html                      Everything but Trash Talk                     By Morgan Campbell              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/technol
2023-07-28   2023-07-29 ogy/google-robots-ai.html                   With the Aid of AI Googles Robots Get Smart By Kevin Roose                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/theater/ Pamela Blair 73 Cast Member In Original
2023-07-28   2023-07-29 pamela-blair-dead.html                      Chorus Line Dies                              By Richard Sandomir             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/us/afric
                        an-american-history-standards-florida-task- Whos Writing New Rules For Teaching
2023-07-28   2023-07-29 force.html                                  Black History                                 By Sarah Mervosh                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/us/polit
                        ics/aids-relief-pepfar-abortion-            Popular AIDS Program Faces Threat as GOP
2023-07-28   2023-07-29 republicans.html                            Seeks Limits on Abortion                      By Sheryl Gay Stolberg          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/us/polit
                        ics/biden-hunter-navy-joan-roberts-         President Acknowledges Granddaughter in       By Katie Rogers and Michael S
2023-07-28   2023-07-29 grandchild.html                             Arkansas for the First Time                   Schmidt                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/us/polit Biden Approves Overhaul of the Military
2023-07-28   2023-07-29 ics/biden-military-sexual-assault.html      Code to Curb Sexual Assaults                  By Michael D Shear              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/us/polit Hugh Carter Jr 80 Aide to Cousin the
2023-07-28   2023-07-29 ics/hugh-carter-jr-dead.html                President                                     By Neil Genzlinger              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/us/polit
                        ics/john-fetterman-pennsylvania-            After Health Scares Fetterman Is Adjusting to
2023-07-28   2023-07-29 interview.html                              Life in the Senate                            By Annie Karni                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/us/polit DeSantis Takes Swing at Rival Suddenly on
2023-07-28   2023-07-29 ics/tim-scott-desantis-florida-slavery.html Rise                                          By Nicholas Nehamas             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/us/polit Scotts Campaign Has Mysteriously Spent        By Rebecca Davis OBrien and
2023-07-28   2023-07-29 ics/tim-scott-money-campaign-funds.html     Millions                                      Alexandra Berzon                TX 9-317-107   2023-09-01




                                                                                 Page 5539 of 5793
                        https://www.nytimes.com/2023/07/28/us/polit Old Trump Habit Is Seen at Heart Of New    By Michael S Schmidt and Maggie
2023-07-28   2023-07-29 ics/trump-charges-obstruction.html          Charges                                    Haberman                        TX 9-317-107         2023-09-01
                        https://www.nytimes.com/2023/07/28/us/unc- North Carolina Trustees Vote to Bar Race as
2023-07-28   2023-07-29 affirmative-action-supreme-court.html       Consideration in Hiring or Admissions      By Mitch Smith                  TX 9-317-107         2023-09-01
                        https://www.nytimes.com/2023/07/28/world/a General Claims Power After Niger Coup       By Elian Peltier and Omar Hama
2023-07-28   2023-07-29 frica/niger-coup-general-omar-tchiani.html  Constitution Is Suspended                  Saley                           TX 9-317-107         2023-09-01
                        https://www.nytimes.com/2023/07/28/world/a Tokyo Shifts In Response To Challenge From
2023-07-28   2023-07-29 sia/japan-military-white-paper.html         Beijing                                    By Ben Dooley                   TX 9-317-107         2023-09-01
                        https://www.nytimes.com/2023/07/28/world/a Race for Quantum Tech Is Testing US
2023-07-28   2023-07-29 ustralia/quantum-technology-aukus.html      Alliances                                  By Damien Cave                  TX 9-317-107         2023-09-01
                        https://www.nytimes.com/2023/07/28/world/e Fire Aboard Cargo Ship Off Coast of the
2023-07-28   2023-07-29 urope/cargo-ship-fire-cars.html             Netherlands Is Still Burning Officials Say By Claire Moses                 TX 9-317-107         2023-09-01

                        https://www.nytimes.com/2023/07/28/world/e                                                By Marc Santora and Anton
2023-07-28   2023-07-29 urope/missiles-ukraine-russia-taganrog.html In a Reversal Missiles Crash Within Russia Troianovski                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/world/e Europe Looks for Ways To Bill Kremlin for By Monika Pronczuk and Eshe
2023-07-28   2023-07-29 urope/ukraine-russia-assets.html              War                                         Nelson                             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/world/
                        middleeast/israelis-relocate-netanyahu-       Ire Over FarRight Law Is Fueling Escape
2023-07-28   2023-07-29 overhaul.html                                 Plans                                       By Roni Caryn Rabin                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/world/
                        middleeast/lebanese-bank-depositors-          Bank Collapse Has Lebanese Making
2023-07-28   2023-07-29 robbery.html                                  Withdrawals by Force                        By Raja Abdulrahim                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/world/
                        middleeast/netanyahu-judicial-overhaul-       Netanyahu Defends Judicial Overhaul and
2023-07-28   2023-07-29 israel.html                                   Hints of More to Come                       By Aaron Boxerman                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/article/sweden-       Devotion to Free Speech Clashes With        By Aaron Boxerman and Isabella
2023-07-28   2023-07-29 denmark-quran-burnings.html                   Burnings Of Holy Texts in Sweden            Kwai                               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/busines
                        s/bailout-trucking-firm-yellow-yrc-
2023-07-29   2023-07-29 shutdown.html                                 Trucking Firm Shutting Down After a Bailout By Alan Rappeport                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/us/polit Aging Leaders Raise A Tough Question How
2023-07-29   2023-07-29 ics/mcconnell-feinstein-biden-age.html        Old Is Too Old                              By Lisa Lerer and Reid J Epstein   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/us/portl A Homeless Crisis Is a Test of Portlands
2023-07-29   2023-07-29 and-oregon-fentanyl-homeless.html             Identity                                    By Michael Corkery                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/05/31/books/p
                        aul-rudnick-farrell-covington-and-the-limits-
2023-05-31   2023-07-30 of-style.html                                 The Male Gaze                               By R Eric Thomas                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/02/books/r
2023-06-02   2023-07-30 eview/henry-hoke-open-throat.html             The Cougars Tale                            By MarieHelene Bertino             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/04/books/r
2023-06-04   2023-07-30 eview/deborah-levy-august-blue.html           Changing Her Tune                           By Corinna da FonsecaWollheim      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/04/books/r
2023-06-04   2023-07-30 eview/such-kindness-andre-dubus.html          Lose and Live                               By Isaac Fitzgerald                TX 9-317-107   2023-09-01




                                                                                 Page 5540 of 5793
                        https://www.nytimes.com/2023/06/10/books/r
2023-06-10   2023-07-30 eview/mozart-in-motion-patrick-mackie.html Mozarts Enlightenment                        By Anthony Tommasini     TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/12/books/r
2023-06-12   2023-07-30 eview/wannabe-pop-culture-aisha-harris.html PopCultural Identity                        By Elamin Abdelmahmoud   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/13/books/r
                        eview/most-tolerant-little-town-rachel-louise-
2023-06-13   2023-07-30 martin.html                                    White Riot                               By Samuel G Freedman     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/13/books/r
2023-06-13   2023-07-30 eview/peace-adzo-medie-nightbloom.html         Indebted                                 By Gaiutra Bahadur       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/14/books/r
                        eview/what-an-owl-knows-jennifer-
2023-06-14   2023-07-30 ackerman.html                                  Give a Hoot                              By Jennifer Szalai       TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/06/15/books/r
2023-06-15   2023-07-30 eview/anya-von-bremzen-national-dish.html Famous Foods                                  By Irina Dumitrescu      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/22/books/r
2023-06-22   2023-07-30 eview/animal-spirits-jackson-lears.html     Vitality Signs                              By Sarah E Igo           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/23/books/r
                        eview/white-house-by-the-sea-kate-
2023-06-23   2023-07-30 storey.html                                 Camelot Compound                            By Louis Bayard          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/24/books/r
2023-06-24   2023-07-30 eview/banyan-moon-thao-thai.html            Family Matters                              By Kayla Maiuri          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/06/30/books/r
                        eview/bridget-joness-diary-helen-
2023-06-30   2023-07-30 fielding.html                               Lost in Time                                By Elisabeth Egan        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/02/books/r
                        eview/the-exhibitionist-charlotte-
2023-07-02   2023-07-30 mendelson.html                              Married to an Art Monster                   By Alexandra Jacobs      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/03/books/r
2023-07-03   2023-07-30 eview/the-light-room-kate-zambreno.html     Life on the Inside                          By Eleanor Henderson     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/18/realesta
2023-07-18   2023-07-30 te/overnight-guests-bedroom-space.html      Room for Guests With No Guest Room          By Tim McKeough          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/books/r
2023-07-19   2023-07-30 eview/new-romance-books.html                Cant Buy Me Love                            By Olivia Waite          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/books/r
2023-07-20   2023-07-30 eview/the-in-between-hadley-vlahos.html     Inside the List                             By Elisabeth Egan        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/20/movies/
2023-07-20   2023-07-30 christopher-nolan-oppenheimer.html          Pitting Brilliance Against Navet            By Dennis Overbye        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/21/books/r
                        eview/how-to-love-your-daughter-hila-
2023-07-21   2023-07-30 blum.html                                   Missing Person                              By Flynn Berry           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/movies/
2023-07-24   2023-07-30 cary-elwes-mission-impossible.html          Cary Elwes Melts for Nirvana and a Poodle   By Chris Kornelis        TX 9-317-107   2023-09-01



                                                                                 Page 5541 of 5793
                        https://www.nytimes.com/2023/07/24/nyregio Whats Going On That Was a Pretty Easy
2023-07-24   2023-07-30 n/commute-new-york-hybrid-work.html         Commute                                   By Kaya Laterman              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/opinion
2023-07-24   2023-07-30 /ron-desantis-campaign.html                 Can a Reboot Save the DeSantis Campaign   By Michelle Cottle            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/24/style/nu
2023-07-24   2023-07-30 metal-gen-z.html                            A New Generation Bonds With Nu Metal      By Jasmine Li                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/magazi
2023-07-25   2023-07-30 ne/covid-start.html                         Points of Origin                          By David Quammen              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/magazi
                        ne/pots-postural-orthostatic-tachycardia-
2023-07-25   2023-07-30 syndrome.html                               Water Aerobics                            By Jenn Shapland              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/nyregio
                        n/community-garden-bronx-climate-           In the Bronx Making Every Piece of Land   By David Gonzalez and Jos A
2023-07-25   2023-07-30 change.html                                 Matter                                    Alvarado Jr                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/opinion
2023-07-25   2023-07-30 /barbie-movie-faludi-feminism.html          Watching Barbie With a Famous Feminist    By Jessica Bennett            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/opinion Our Oppenheimer Moment The Creation of
2023-07-25   2023-07-30 /karp-palantir-artificial-intelligence.html AI Weapons                                By Alexander C Karp           TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/25/style/po
2023-07-25   2023-07-30 lo-hamptons-longhouse-reserve-fashion.html Horses and Hats In the Hamptons             By Katie Van Syckle          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/theater/
2023-07-25   2023-07-30 the-shark-is-broken-shaw.html               Dad Was in Jaws He Plays Dad               By Dave Itzkoff              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/arts/mu Britpop Returns Even as Britain Lags a Bit
2023-07-26   2023-07-30 sic/britpop-blur-pulp.html                  Behind                                     By Alex Marshall             TX 9-317-107   2023-09-01
                                                                    The Old Ways A hummus recipe first written
                        https://www.nytimes.com/2023/07/26/magazi down hundreds of years ago has an enduring
2023-07-26   2023-07-30 ne/ancient-hummus-recipe.html               simplicity                                 By Ligaya Mishan             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/magazi
2023-07-26   2023-07-30 ne/right-to-roam-england.html               The Great Trespass                         By Brooke Jarvis             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/magazi
2023-07-26   2023-07-30 ne/the-bear-chicago.html                    Open City                                  By Nicholas Cannariato       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/opinion
2023-07-26   2023-07-30 /legacy-college-admissions.html             The Real Admissions Scandal                By Nicholas Kristof          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/realesta Six Ways to Help Stem Climate Change at
2023-07-26   2023-07-30 te/homeowne-climate-change-tips.html        Home                                       By Debra Kamin               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/realesta
                        te/pawpaw-persimmon-trees-lawn-
2023-07-26   2023-07-30 alternative.html                            Out of the Lawn Into the Food Forest       By Margaret Roach            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/style/i-
                        am-estranged-from-my-toxic-mother-should-i-
2023-07-26   2023-07-30 go-on-her-birthday-trip.html                In a Familial Fix                          By Philip Galanes            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/style/si
                        mon-ateba-white-house-today-news-           Why Wont Simon Ateba Stop All That
2023-07-26   2023-07-30 africa.html                                 Shouting                                   By Joseph Bernstein          TX 9-317-107   2023-09-01



                                                                               Page 5542 of 5793
                        https://www.nytimes.com/2023/07/27/arts/mu
2023-07-27   2023-07-30 sic/treemonisha-scott-joplin-productions.html Reimagining Scott Joplins Treemonisha      By Zachary Woolfe                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/busines Bill Geddie 68 Creator Of Talk Show The
2023-07-27   2023-07-30 s/media/bill-geddie-dead.html                 View And Interview Specials                By Richard Sandomir                 TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/27/fashion Mending a Hole in the Wedding Gown
2023-07-27   2023-07-30 /weddings/bridal-seamstresses-demand.html Business                                       By Shannon Sims                     TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/27/magazi
2023-07-27   2023-07-30 ne/judge-john-hodgman-on-wordle-hints.html Bonus Advice From Judge John Hodgman          By John Hodgman                     TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/27/magazi
2023-07-27   2023-07-30 ne/poem-my-life-in-the-new-millennium.html Poem                                            By Joshua Clover and Anne Boyer   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/magazi
2023-07-27   2023-07-30 ne/shane-mccrae-kidnapped-poetry.html         Whats Past is Prologue                       By Wyatt Mason                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/movies/ Julian Barry Who Made Lenny Bruce Into
2023-07-27   2023-07-30 julian-barry-dead.html                        Lenny Is Dead at 92                          By Alex Traub                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/nyregio
                        n/hudson-valley-abandoned-buildings-          Reinventing Forgotten Old Buildings North of
2023-07-27   2023-07-30 businesses.html                               the City                                     By Sal Cataldi                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/opinion
2023-07-27   2023-07-30 /drowning-public-pools-america.html           Why We Need More Public Pools                By Mara Gay                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/realesta
                        te/high-interest-rates-and-low-savings-could-
2023-07-27   2023-07-30 put-renovations-on-hold.html                  Shaky Finances Delay Renovations             By Michael Kolomatsky             TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/27/style/th
2023-07-27   2023-07-30 e-life-and-death-of-a-punk-rock-warhol.html The Life and Death of a Punk Rock Warhol By Alex Vadukul                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/upshot/ Legacy Status Confers a Greater Edge at     By Claire Cain Miller and Aatish
2023-07-27   2023-07-30 ivy-league-legacy-admissions.html            Many Top Schools                          Bhatia                                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/us/butte Government Wants You to Mail in Dead
2023-07-27   2023-07-30 rfly-moths-dead-mail.html                    Butterflies in the Name of Science        By Chang Che                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/us/larry-Four Decades Later a Teenage Victim of the
2023-07-27   2023-07-30 eyler-victim-keith-bibbs-identified.html     Highway Killer Is Finally Identified      By Jesus Jimnez                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/07/ Two Empty Nesters Strive to Come Up With
                        27/realestate/bloomington-indiana-           a Down Payment Which House Could They
2023-07-27   2023-07-30 houses.html                                  Buy                                       By Mitch Smith                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/arts/dan
                        ce/choreographer-mark-morris-as-
2023-07-28   2023-07-30 teacher.html                                 School Is in Session Mr Morris Teaching   By Alastair Macaulay                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/books/j Jean Fagan Yellin Who Traced Former Slaves
2023-07-28   2023-07-30 ean-fagan-yellin-dead.html                   Story Dies at 92                          By Sam Roberts                        TX 9-317-107   2023-09-01




                                                                                 Page 5543 of 5793
                        https://www.nytimes.com/2023/07/28/books/r
                        eview/a-good-house-for-children-kate-collins-
                        i-will-greet-the-sun-again-khashayar-j-
                        khabushani-all-night-pharmacy-ruth-
2023-07-28   2023-07-30 madievsky.html                                Debut Novels                               By Betsy Bonner                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/books/r
                        eview/bruce-handy-children-picture-book-
2023-07-28   2023-07-30 author.html                                   Late to the Reading Circle                 By Bruce Handy                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/books/r
                        eview/schoenberg-why-he-matters-harvey-
2023-07-28   2023-07-30 sachs.html                                    Moses and Arnold                           By John Adams                   TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/busines Social Securitys CostofLiving Raise Is Likely
2023-07-28   2023-07-30 s/social-security-cola-medicare.html          to Be 3                                    By Mark Miller                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/nyregio
2023-07-28   2023-07-30 n/new-york-brooklyn-blue-zones.html           ShangriLa Rises in Brooklyn                By Jane Margolies               TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/nyregio
                        n/rex-heuermann-gilgo-beach-high-             In School Gilgo Beach Suspect Was          By Corey Kilgannon and Nate
2023-07-28   2023-07-30 school.html                                   Everybodys Punching Bag                    Schweber                        TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/opinion
                        /desantis-slavery-florida-curriculum-
2023-07-28   2023-07-30 history.html                                  Where History Goes To Die                  By Jamelle Bouie                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/opinion
2023-07-28   2023-07-30 /hunter-biden-impeachment.html                The Coming Biden Impeachment Farce         By Michelle Goldberg            TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/opinion
2023-07-28   2023-07-30 /new-york-city-metro-ravitch.html             The Life and Death of American Cities      By Nicole Gelinas               TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/28/opinion
2023-07-28   2023-07-30 /uyghur-china-internment-authoritarian.html Let Our Tragedy Be a Lesson                  By Tahir Hamut Izgil            TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/realesta
2023-07-28   2023-07-30 te/duck-ledges-remote-island-maine.html     One Woman Finds an Island of Her Own         By Steven Kurutz                TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/28/realesta
2023-07-28   2023-07-30 te/mr-blandings-dream-house-75-years.html Mr Blandings and the Suburban Nightmare        By Julie Lasky                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/sports/b The Lost and Perhaps Future Art Of Fouling
2023-07-28   2023-07-30 aseball/foul-balls.html                     Off the Ball on Purpose                      By Zach Buchanan                TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/28/sports/n Accusations of Abuse and Racism Plague
2023-07-28   2023-07-30 caafootball/northwestern-sports-hazing.html Northwestern                                 By Dana Goldstein and Billy Witz TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/style/ch
                        ristena-pyle-rosemary-kalonaros-
2023-07-28   2023-07-30 wedding.html                                After an Elevator Ride Things Picked Up      By Chloe Anello                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/style/je
                        nnifer-ziegler-rebecca-woodfork-
2023-07-28   2023-07-30 wedding.html                                A Recipe for Love Add Water and Sunlight     By Valeriya Safronova           TX 9-317-107    2023-09-01




                                                                                Page 5544 of 5793
                        https://www.nytimes.com/2023/07/28/style/m He Asked About Love Lets Dance First She
2023-07-28   2023-07-30 arissa-bergmann-retta-abraham-wedding.html Said                                              By Vivian Ewing             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/style/m
                        odern-love-wanting-more-than-thank-you-
2023-07-28   2023-07-30 next.html                                  Wanting More Than Thank You Next                  By Jenny Gorelick           TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/28/style/za A Shared Culture and Cricket Lead to 650
2023-07-28   2023-07-30 breen-khan-hamza-choudery-wedding.html Guests                                                By Sanam Yar                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/world/e
                        urope/europe-heat-buildings-air-
2023-07-28   2023-07-30 conditioning.html                           Relying on AgeOld Ways to Stay Cool              By Jenny Gross              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/world/a Australia to Accelerate Making Missiles for
2023-07-29   2023-07-30 ustralia/australia-us-missile-export.html   US                                               By Damien Cave              TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/29/arts/des
2023-07-29   2023-07-30 ign/beverly-buchanan-land-art-georgia.html Masterpiece Vanishing Into the Marsh              By Siddhartha Mitter        TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/29/arts/tele
2023-07-29   2023-07-30 vision/heartstopper-kit-connor-joe-locke.html These Two Put the Heart In Heartstopper        By Erik Piepenburg          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/busines
2023-07-29   2023-07-30 s/retail-therapy-breakup-budget.html          Budgeting to Rein In Splurging After a Split   By Lauren Larson            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/busines Scouting Out The Next Wave Of Robot               By Ben Ryder Howe and Nic
2023-07-29   2023-07-30 s/robots-workers-future.html                  Workers                                        Antaya                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/busines Trader Joes Recalls Four Products Over
2023-07-29   2023-07-30 s/trader-joes-recall-rocks.html               Insects and Rocks                              By Rebecca Carballo         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/nyregio
2023-07-29   2023-07-30 n/boss-molly-bourbon-kate-rosante.html        A Bourbon Lover Likes a Splash of Water        By Alix Strauss             TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/29/nyregio School District Will Pay 91 Million to Settle a
2023-07-29   2023-07-30 n/new-jersey-student-suicide-settlement.html Suit Over a Suicide                           By Hurubie Meko               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/opinion Jane Austens English Countryside Is Not
2023-07-29   2023-07-30 /british-countryside-working-class.html      Mine                                          By Rebecca Smith              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/opinion Todays Superpower Is Doing One Thing at a
2023-07-29   2023-07-30 /do-one-thing-at-a-time-management.html      Time                                          By Oliver Burkeman            TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/opinion
                        /journalism-foreign-correspondents-
2023-07-29   2023-07-30 atrocities.html                              War Reporters Are As Important as Ever        By Lydia Polgreen             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/opinion
2023-07-29   2023-07-30 /tim-scott-desantis-trump.html               With DeSantis Reeling What About Scott        By Ross Douthat               TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/29/pageon
2023-07-29   2023-07-30 eplus/mississippi-open-secrets-records.html Open Secrets Lay in a Pile of Records            By Ilyssa Daly              TX 9-317-107   2023-09-01




                                                                                   Page 5545 of 5793
                        https://www.nytimes.com/2023/07/29/realesta
                        te/my-55-community-is-discriminating-       Single Owners May Bring Guests But Not
2023-07-29   2023-07-30 against-me-what-power-do-i-have.html        Married Owners Is That Legal                  By Jill Terreri Ramos              TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/29/sports/s
                        occer/savannah-demelo-uswnt-world-          For This Rookies World Cup Trial by Fire
2023-07-29   2023-07-30 cup.html                                    Shes Just Being Herself                       By Andrew Das                      TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/29/style/da
2023-07-29   2023-07-30 ve-matthews-band-dmb.html                   Peak Season for a Devoted Fan Base            By Perri Ormont Blumberg           TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/29/style/th
2023-07-29   2023-07-30 e-joy-of-driving-after-12-years-in-prison.html Seeing Freedom on the Road Ahead           By Aaron M Kinzer                  TX 9-317-107     2023-09-01
                        https://www.nytimes.com/2023/07/29/technol
                        ogy/mike-masnick-techdirt-internet-            A Reassuring Voice on Tech In a World of
2023-07-29   2023-07-30 future.html                                    Upheaval                                   By Kashmir Hill                    TX 9-317-107     2023-09-01

                        https://www.nytimes.com/2023/07/29/us/polit Administration Presses Ahead With Effort to By Peter Baker and Ronen
2023-07-29   2023-07-30 ics/biden-israel-saudi-arabia-negotiations.html Broker IsraeliSaudi Accord                    Bergman                          TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/us/polit
                        ics/china-malware-us-military-bases-                                                          By David E Sanger and Julian E
2023-07-29   2023-07-30 taiwan.html                                     US Is Hunting A Time Bomb China Malware Barnes                                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/us/polit Congressman Is Weighing Primary Run
2023-07-29   2023-07-30 ics/dean-phillips-biden-2024.html               Against Biden                                 By Reid J Epstein                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/us/polit
                        ics/trump-desantis-republican-presidential-     Trump and DeSantis Share Stage for the First
2023-07-29   2023-07-30 iowa-caucus.html                                Time in Iowa                                  By Shane Goldmacher              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/us/texa In Sweltering Border Towns Water Cutoffs
2023-07-29   2023-07-30 s-heat-colonias.html                            Add to Misery                                 By Edgar Sandoval                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/us/trum Refund Request Shows Burden on PAC                 By Maggie Haberman and Shane
2023-07-29   2023-07-30 p-pac-legal-fees.html                           Paying Trumps Legal Fees                      Goldmacher                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/world/a From Coast to Coast a Corridor of Coups
2023-07-29   2023-07-30 frica/africa-coups-niger.html                   Creates Chaos in Africa                       By Declan Walsh                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/world/a
                        mericas/colombia-gustavo-petro-son-             Arrest of His Son Poses Test For President of
2023-07-29   2023-07-30 arrested.html                                   Colombia                                      By Genevieve Glatsky             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/world/e
2023-07-29   2023-07-30 urope/italy-greece-wildfires-heat.html          Fires and Heat Create Hellish Summer in Italy By Jason Horowitz                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/world/e                                                    By Valerie Hopkins and Emile
2023-07-29   2023-07-30 urope/odesa-ukraine-war.html                    Destruction in Odesa Stokes Fury at Russia Ducke                               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/world/e Russia Strikes Grain Terminal Extending
2023-07-29   2023-07-30 urope/russia-ukraine-war-grain.html             Campaign Against Ukraines Ports               By Marc Santora and Victoria Kim TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/world/
                        middleeast/israel-reservists-judicial-          In Israel Reservists Resign From Military In By Patrick Kingsley and Ronen
2023-07-29   2023-07-30 overhaul.html                                   Protest of New Law                            Bergman                          TX 9-317-107   2023-09-01




                                                                                  Page 5546 of 5793
                        https://www.nytimes.com/2023/07/29/sports/b Trading Scherzer Mets Pivot From Spending
2023-07-30   2023-07-30 aseball/max-scherzer-trade-mets-rangers.html Their Way Into Oblivion                  By Tyler Kepner                       TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/world/
                        middleeast/iraq-water-crisis-                                                         By Alissa J Rubin and Bryan
2023-07-30   2023-07-30 desertification.html                         Mesopotamia Once Verdant Is Running Dry Denton                                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/busines
2023-07-30   2023-07-30 s/were-in-the-era-of-the-top-gun-ceo.html    Were in the Era of the Top Gun CEO       By Emma Goldberg                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/insider/
2023-07-30   2023-07-30 a-word-that-never-goes-out-of-style.html     A Word That Never Goes Out of Style      By Sarah Diamond                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/nyregio New York Plan Was Deceptive Migrants
2023-07-30   2023-07-30 n/migrants-albany-docgo.html                 Claim                                    By Jay Root                           TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/style/m
2023-07-30   2023-07-30 ontecito-california.html                     The Land of Milk Honey and Fine Cashmere By Amy Larocca                        TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/us/polit Lawmakers Files Reveal Secret History of
2023-07-30   2023-07-30 ics/nra-congress-firearms.html               NRA                                      By Mike McIntire                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/world/e Gritty and Steamy TV Melodrama Has Italian
2023-07-30   2023-07-30 urope/italy-television-mare-fuori.html       Fans in a Frenzy                         By Jason Horowitz                     TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/12/books/b
2023-07-12   2023-07-31 ooksupdate/tibetan-literature-tibetwrites.html Establishing A Brotherhood Across Tibetans By Tenzin D Tsagong               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/13/climate
2023-07-13   2023-07-31 /surviving-extreme-heat.html                   Living in Phoenix an OpenAir Furnace       By David Gelles                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/22/busines
                        s/student-loan-payments-restart-personal-
2023-07-22   2023-07-31 finance.html                                   From Pause to Pay On Student Loans         By Jacqui Germain                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/interactive/2023/07/ Watch Amateurs Race Against the Tour de
2023-07-23   2023-07-31 23/upshot/tour-de-france-amateurs.html         Frances Top Climbers Sort Of               By KK Rebecca Lai and Ben Blatt   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/25/sports/h
                        ockey/rocky-wirtz-chicago-blackhawks-          Rocky Wirtz 70 Owner of Chicagos NHL       By Richard Sandomir and Evan
2023-07-26   2023-07-31 dead.html                                      Team Through Glory and a Scandal           Easterling                        TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/26/sports/g
2023-07-26   2023-07-31 olf/natalie-gulbis-evian-championship.html The Thrill and Relief of Winning             By Michael Arkush                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/26/travel/fl How to Navigate Flight Cancellations and
2023-07-26   2023-07-31 ight-cancellation-delays-tips.html           Delays                                     By Christine Chung                  TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/27/arts/dan
2023-07-27   2023-07-31 ce/alvin-aileys-65th-anniversary-season.html Ailey Announces Lineup                     By Rachel Sherman                   TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/opinion
2023-07-27   2023-07-31 /small-towns-tolerance.html                  Try Tolerance in a Small Town              By David French                     TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/27/technol
2023-07-27   2023-07-31 ogy/threads-twitter-celebrities.html         Quantifying Star Power Of Threads          By Yiwen Lu                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/28/arts/dan
2023-07-28   2023-07-31 ce/ken-dance-barbie-movie.html               Kens Big Moment Bursts With Emotion        By Gia Kourlas                      TX 9-317-107   2023-09-01



                                                                                 Page 5547 of 5793
                        https://www.nytimes.com/2023/07/28/arts/kat
2023-07-28   2023-07-31 amari-damacy-keita-takahashi.html           In the Shadow of His Creation                By Zachary Small                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/books/ Mari Ruti 59 Scholar of Sexuality Whose
2023-07-28   2023-07-31 mari-ruti-dead.html                         Books Changed Lives Dies                     By Neil Genzlinger              TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/28/busines Mastercard Moves to Block the Use of Debit
2023-07-28   2023-07-31 s/mastercard-debit-cannabis-transactions.html Cards at Cannabis Shops                 By Derrick Bryson Taylor           TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/opinion History Shows Mandatory Minimums Dont
2023-07-28   2023-07-31 /fentanyl-mandatory-drug-sentences.html       End Drug Epidemics                      By Maia Szalavitz                  TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/28/opinion
2023-07-28   2023-07-31 /sinead-oconnor-meaning-death-ireland.html What Sinead OConnor Meant to Ireland          By Susan McKay                  TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/opinion Delayed Justice for Survivors of the Tulsa
2023-07-28   2023-07-31 /tulsa-race-massacre-reparations.html       Race Massacre                                By Victor Luckerson             TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/28/theater/
2023-07-28   2023-07-31 summer-stock-review.html                    From Film to Stage Getting Happy Again       By Elisabeth Vincentelli        TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/29/arts/mu
                        sic/sinead-oconnor-prince-nothing-compares-
2023-07-29   2023-07-31 2-u.html                                    The Story Behind A Covers Success            By Christopher Kuo              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/29/busines
                        s/dealbook/affirmative-action-legacy-       Legacy Admissions Mean More Than             By Sarah Kessler Bernhard Warner
2023-07-29   2023-07-31 admissions.html                             FundRaising                                  and Ephrat Livni                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/29/health/e Tricky Questions and Surprising Answers
2023-07-29   2023-07-31 bikes-safety-regulation.html                About an Increasingly Popular Vehicle        By Matt Richtel                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/29/health/e Teenagers Accidents Expose the Risks of
2023-07-29   2023-07-31 bikes-safety-teens.html                     EBikes                                       By Matt Richtel                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/29/sports/t Sidelined for 2 Years Brady Is Now Healthy
2023-07-29   2023-07-31 ennis/jennifer-brady-citi-open.html         And Trying a Return                          By Christopher Clarey           TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/29/world/c
                        anada/canada-wildfires-indigenous-          In FireRavaged Canada Indigenous Suffer      By Brent McDonald Matt Joycey
2023-07-29   2023-07-31 communities.html                            Most                                         and Ben Laffin                  TX 9-317-107    2023-09-01

                        https://www.nytimes.com/2023/07/30/arts/mu
2023-07-30   2023-07-31 sic/hillary-simms-american-brass-quintet.html Shes Continuing A Legacy in Heels          By Javier C Hernndez            TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/30/busines
                        s/johnson-johnson-talc-baby-powder-           Judge Rejects JampJ Bid to Curb Talc
2023-07-30   2023-07-31 lawsuit.html                                  Liabilities                                By Nicole Sperling              TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/30/busines
                        s/media/haunted-mansion-disney-box-           Haunted Mansion Extends Disneys Box
2023-07-30   2023-07-31 office.html                                   Office Gloom                               By Brooks Barnes                TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/30/sports/b Want to Trade a Catcher Its a Complicated
2023-07-30   2023-07-31 aseball/catchers-trading-deadline.html        Move                                       By Matt Martell                 TX 9-317-107    2023-09-01
                        https://www.nytimes.com/2023/07/30/sports/b The Rangers Finally Atop Their Division
2023-07-30   2023-07-31 aseball/texas-rangers-max-scherzer.html       Make Moves to Stay There                   By Scott Miller                 TX 9-317-107    2023-09-01




                                                                                 Page 5548 of 5793
                        https://www.nytimes.com/2023/07/30/sports/s
2023-07-30   2023-07-31 occer/megan-rapinoe-uswnt.html              Sitting Out Is Not Easy For Rapinoe          By Juliet Macur                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/sports/t
                        erence-crawford-errol-spence-boxing-        Crawford Reaches His Summit With Decisive
2023-07-30   2023-07-31 title.html                                  Win Over Spence                              By Morgan Campbell               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/technol                                               By Steven Lee Myers and Kellen
2023-07-30   2023-07-31 ogy/russia-propaganda-video-games.html      Russia Takes Propaganda Into Gaming          Browning                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/us/hom What Happens After the Homeless Camps
2023-07-30   2023-07-31 eless-camp-oakland-california.html          Are Cleared                                  By Livia AlbeckRipka             TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/us/polit Carbon Pipelines Local Issue in Iowa Rise to
2023-07-30   2023-07-31 ics/iowa-pipelines-trump.html               Presidential Agenda                          By Jonathan Weisman              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/us/polit Haley Makes NutsandBolts Promises on the
2023-07-30   2023-07-31 ics/nikki-haley-stump-speech.html           Trail                                        By Jazmine Ulloa                 TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/30/us/polit A Cast of Minor Characters Emerges to Play By Alan Feuer Maggie Haberman
2023-07-30   2023-07-31 ics/trump-documents-de-oliveira-nauta.html Key Roles in the Trump Case                   and Ben Protess                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/world/a West African Countries Push Niger to Undo
2023-07-30   2023-07-31 frica/west-africa-niger-coup.html           Coup                                         By Declan Walsh                  TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/world/a Modi Looks Away as Ethnic Violence Brings
2023-07-30   2023-07-31 sia/india-manipur-modi.html                 Chaos to Northeast India                     By Mujib Mashal and Suhasini Raj TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/world/a Blast at Political Rally in Pakistan Kills at By Christina Goldbaum and Zia
2023-07-30   2023-07-31 sia/pakistan-rally-explosion.html           Least 43                                     urRehman                         TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/world/e
                        urope/moscow-drone-attacks-russia-                                                       By Andrs R Martnez and Anton
2023-07-30   2023-07-31 ukraine.html                                Russia Says Kyiv Fired Drones at Moscow      Troianovski                      TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/world/e Excavation in Rome Turns Up What May Be
2023-07-30   2023-07-31 urope/rome-nero-theater.html                Neros Theater                                By Elisabetta Povoledo           TX 9-317-107   2023-09-01

                        https://www.nytimes.com/2023/07/30/world/e Grinding Counteroffensive Hands Ukraine a
2023-07-30   2023-07-31 urope/ukraine-counteroffensive-russia.html Flash of Success                               By Carlotta Gall                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/30/world/ Democracy May Hang On Israeli Courts
2023-07-30   2023-07-31 middleeast/israel-court-democracys.html      Move                                         By Emily Bazelon                TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/31/arts/tele
                        vision/whats-on-tv-this-week-run-the-burbs-
2023-07-31   2023-07-31 and-the-trial.html                           This Week on TV                              By Gabe Cohn                    TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/31/busines
                        s/energy-environment/austria-natural-gas-    EU Is Fleeing Russian Gas but Austria Is
2023-07-31   2023-07-31 russia.html                                  Hooked                                       By Patricia Cohen               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/31/climate
2023-07-31   2023-07-31 /heat-labor-productivity-climate.html        Extreme Heat Is Costly Drain On Productivity By Coral Davenport              TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/31/health/e Motorcycle for Children EBike Maker Blurs
2023-07-31   2023-07-31 bikes-super73-motorcycles.html               Lines                                        By Matt Richtel                 TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/31/us/polit
                        ics/2024-poll-nyt-siena-trump-               Trump Far Ahead In the GOP Race Despite
2023-07-31   2023-07-31 republicans.html                             Charges                                      By Shane Goldmacher             TX 9-317-107   2023-09-01



                                                                                Page 5549 of 5793
                        https://www.nytimes.com/2023/07/31/us/polit                                              By Mark Mazzetti Ronen Bergman
2023-07-31   2023-07-31 ics/nso-spy-tool-landmark-fbi.html          FBI Financed Use of Spy Tool US Outlawed     and Adam Goldman               TX 9-317-107   2023-09-01
                        https://www.nytimes.com/2023/07/19/busines For Workers in Some Fields AIs Threat Is
2023-07-19   2023-08-01 s/call-center-workers-battle-with-ai.html   Already Here                                 By Emma Goldberg              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/19/science
2023-07-19   2023-08-01 /explosions-black-holes-lfbots.html         Explosions in Space Are Blowing Minds        By Jonathan OCallaghan        TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/07/20/well/liv
2023-07-20   2023-08-01 e/air-quality-heat-flooding-safety-check.html Navigating the Weather Hazards of Summer   By Alisha Haridasani Gupta    TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/21/theater/ Art Centered on a Recent Tragedy Touches
2023-07-21   2023-08-01 grenfell-fire-national-theater.html           Raw Nerves                                 By Alex Marshall              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/22/well/m
2023-07-22   2023-08-01 ove/heat-exercise-work-out-safety.html        Stay Safe Exercising In the Heat           By Melinda Wenner Moyer       TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/24/well/liv
2023-07-24   2023-08-01 e/tick-lyme-disease.html                      Life With and After TickBorne Diseases     By Dana G Smith               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/25/nyregio
                        n/are-tech-companies-liable-for-buffalos-     Pursuing Accountability Despite Legal
2023-07-25   2023-08-01 racist-massacre-families-say-yes.html         Challenges                                 By James Barron               TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/07/25/science A Pregnant Pause For Creature With 200Year
2023-07-25   2023-08-01 /bowhead-whales-pregnancy.html             Life Span a Baby Takes Its Time Arriving   By Miriam Fauzia                 TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/07/26/science Hard Evidence The History of Diamonds
2023-07-26   2023-08-01 /kimberlite-diamonds-volcano-eruptions.html Goes Way Back and Way Down                   By Maya WeiHaas               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/26/science A 150MillionYearOld Tale Of a Pancaked
2023-07-26   2023-08-01 /turtle-pancake-fossil.html                 Turtle Fossil                                By Asher Elbein               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/26/well/liv
2023-07-26   2023-08-01 e/wellness-products-false-claims.html       How to Separate Science From Scam            By Rina Raphael               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/28/arts/des What We Do With Body Hair Speaks
2023-07-28   2023-08-01 ign/hair-paris.html                         Volumes                                      By Rosa Lyster                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/28/arts/mu
2023-07-28   2023-08-01 sic/taylor-swift-earthquake-seattle-.html   Fans Shake Shake and Cause a Swift Quake     By Chang Che                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/28/movies/
2023-07-28   2023-08-01 international-movies-streaming.html         Theyve Got Troubles Some of Them Real        By Devika Girish              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/29/science Scientists Revive Two Roundworms That
                        /roundworm-nematodes-siberia-               Were Encased in Siberian Permafrost for
2023-07-29   2023-08-01 permafrost.html                             46000 Years                                  By Orlando Mayorquin          TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/30/arts/sun SunRay Kelley EarthLoving Builder of
2023-07-30   2023-08-01 ray-kelley-dead.html                        Otherworldly Homes Dies at 71                By Penelope Green             TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/30/opinion
                        /international-world/oppenheimer-nuclear-   What Oppenheimer Doesnt Tell You About
2023-07-30   2023-08-01 bomb-cancer.html                            the Trinity Test                             By Tina Cordova               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/30/science
                        /childbirth-evolution-obstetrical-
2023-07-30   2023-08-01 dilemma.html                                Doubts Complicate Obstetrical Dilemma        By Carl Zimmer                TX 9-325-179    2023-10-02



                                                                                Page 5550 of 5793
                        https://www.nytimes.com/2023/07/30/us/insid
                        e-the-party-switch-that-blew-up-north-      Inside the Party Switch That Blew Up Politics
2023-07-30   2023-08-01 carolina-politics.html                      in North Carolina                              By Kate Kelly and David Perlmutt   TX 9-325-179   2023-10-02
                                                                                                                   By Emily Cochrane Amy Harmon
                        https://www.nytimes.com/2023/07/30/us/polit                                                Anemona Hartocollis and Anna
2023-07-30   2023-08-01 ics/legacy-admissions-college-alumni.html   Alumni Grapple With Legacy Admissions          Betts                              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/30/sports/s In for the First Time and Set to Compete for a
2023-07-31   2023-08-01 occer/womens-world-cup-parity.html          Long Time                                      By Rory Smith                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/arts/pau Paul Reubens Zany Peewee Whose Routine
2023-07-31   2023-08-01 l-reubens-pee-wee-herman-dead.html          Was a Scream Dies at 70                        By Neil Genzlinger                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/07/31/arts/tele
2023-07-31   2023-08-01 vision/pee-wees-playhouse-paul-reubens.html This Playhouse Made the Ridiculous Sublime By James Poniewozik                    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/07/31/books/s
2023-07-31   2023-08-01 usan-casey-book-ocean-the-underworld.html Shes Under The Sea Way Under                    By Alexandra Alter                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/busines British Government Signals Support for Oil
2023-07-31   2023-08-01 s/britain-drilling-north-sea.html          and Gas Exploration in North Sea               By Stanley Reed                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/busines Chinas Plan To Stimulate An Increase In
2023-07-31   2023-08-01 s/china-economy-consumer-stimulus.html     Spending                                       By Keith Bradsher                   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/07/31/busines Slight Economic Expansion in Europe as
2023-07-31   2023-08-01 s/europe-gdp-inflation-economic-growth.html Inflation Eases                            By Melissa Eddy                    TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/07/31/busines
                        s/media/actors-strike-bob-hearts-abishola-
2023-07-31   2023-08-01 pay.html                                    To Aid Shows Networks Cut Pay for Actors By Nicole Sperling                   TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/07/31/climate
                        /coral-reefs-heat-florida-ocean-            Moving Floridas Coral Ashore to Halt
2023-07-31   2023-08-01 temperatures.html                           Extinction                                 By Catrin Einhorn and Jason Gulley TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/07/31/health/
2023-07-31   2023-08-01 portland-oregon-drugs.html                  A Drug Users Paradise                      By Jordan Gale and Jan Hoffman TX 9-325-179           2023-10-02
                        https://www.nytimes.com/2023/07/31/movies/
                        oppenheimer-asteroid-city-mushroom-
2023-07-31   2023-08-01 cloud.html                                  A Symbol Evoking Both Pride And Fear       By Nicolas Rapold                  TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/07/31/nyregio Dorothy Tapper Goldman 78 Sold Rare Copy
2023-07-31   2023-08-01 n/dorothy-tapper-goldman-dead.html          of Constitution                            By Sam Roberts                     TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/07/31/nyregio Nowhere to Put Migrants New York Mayor By Emma G Fitzsimmons and Jay
2023-07-31   2023-08-01 n/migrants-sleeping-roosevelt-hotel.html    Says                                       Root                               TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/07/31/nyregio Congestion Fares From Midtown Drivers
2023-07-31   2023-08-01 n/nyc-mta-subway-upgrade.html               Could Be Used to Upgrade the Subway        By Ana Ley                         TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/07/31/nyregio Gay Man Is Fatally Stabbed At a Gas Station By Maria Cramer and Wesley
2023-07-31   2023-08-01 n/stabbing-gas-station-brooklyn.html        in Brooklyn                                Parnell                            TX 9-325-179       2023-10-02

                        https://www.nytimes.com/2023/07/31/opinion
2023-07-31   2023-08-01 /goldilocks-and-the-bidenomics-bears.html  The Goldilocks Recovery                        By Paul Krugman                     TX 9-325-179   2023-10-02



                                                                                 Page 5551 of 5793
                        https://www.nytimes.com/2023/07/31/opinion
2023-07-31   2023-08-01 /joe-biden-hunter-family.html               The Biden Family Drama Is Far From Over      By Gail Collins and Bret Stephens TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/opinion
2023-07-31   2023-08-01 /radicalization-republican-party.html       The Radicalization of the Young Right        By Michelle Goldberg             TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/31/science
                        /new-york-botanical-garden-
2023-07-31   2023-08-01 diazgranados.html                           Amid the Foliage Hes Right at Home           By Jennie Erin Smith             TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/31/sports/f
                        ootball/nfl-conduct-policy-deshaun-
2023-07-31   2023-08-01 watson.html                                 NFL Toughens Sexual Assault Punishments      By Jenny Vrentas                 TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/07/31/sports/s In Elite Soccer Risking Career To Be a
2023-07-31   2023-08-01 occer/womens-world-cup-mothers-ertz.html Mother                                          By Juliet Macur                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/31/technol
                        ogy/twitter-x-center-for-countering-digital- Twitter Sends A Legal Threat To a Monitor
2023-07-31   2023-08-01 hate.html                                    Of Hate Speech                              By Sheera Frenkel and Ryan Mac   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/31/theater/
2023-07-31   2023-08-01 liz-kingsman-one-woman-show.html             Boldly Committed to Sly Satire              By Elisabeth Vincentelli         TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/31/upshot/ With Unshakable Base Trump May Be Hard
2023-07-31   2023-08-01 poll-trump-republican-primary.html           to Beat in Primaries                        By Nate Cohn                     TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/31/us/phoe Phoenixs Month in Hell 31 Days of Extreme
2023-07-31   2023-08-01 nix-heat-july.html                           Heat Tests a City                           By Jack Healy                    TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/31/us/pitts
                        burgh-synagogue-deliberations-death-         Synagogue Murders Trial Jury to Begin
2023-07-31   2023-08-01 penalty.html                                 Weighing Death Penalty                      By Campbell Robertson            TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/31/us/polit
                        ics/carlos-de-oliveira-trump-documents-
2023-07-31   2023-08-01 case.html                                    Trump Property Manager Released on Bond     By Patricia Mazzei and Alan Feuer TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/us/polit With His Economic Plan DeSantis Takes On
2023-07-31   2023-08-01 ics/desantis-economic-proposal.html          Elites                                      By Nicholas Nehamas              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/31/us/polit
                        ics/fbi-warantless-surveillance-section-     Panel Recommends That Congress Narrow
2023-07-31   2023-08-01 702.html                                     FBIs Use of a Database of Intercepts        By Charlie Savage                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/31/us/polit Biden Repeatedly Joined Calls With Sons
2023-07-31   2023-08-01 ics/hunter-biden-devon-archer.html           Associates Former Partner Testifies         By Luke Broadwater               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/31/us/trum Georgia Judge Rebuffs Request to Stop         By Richard Fausset and Danny
2023-07-31   2023-08-01 p-georgia-prosecutor-election.html           Inquiry                                     Hakim                            TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/31/well/liv
2023-07-31   2023-08-01 e/utis-little-known-facts.html               Wet Bathing Suits and Other UTI Myths       By Alisha Haridasani Gupta       TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/31/world/a US Nurse and Her Child Are Kidnapped as
2023-07-31   2023-08-01 mericas/haiti-kidnapping-nurse.html          Violence Resurges in Haitian Capital        By Emiliano Rodrguez Mega        TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/07/31/world/a Heavy Rains and Flooding Thrash Beijing at
2023-07-31   2023-08-01 sia/china-rain-beijing-flooding-typhoon.html Least 2 Are Dead                         By Chris Buckley                    TX 9-325-179    2023-10-02




                                                                                Page 5552 of 5793
                        https://www.nytimes.com/2023/07/31/world/a ISIS Affiliate Says It Was Behind Attack on
2023-07-31   2023-08-01 sia/pakistan-bombing-isis.html             Pakistan Rally                                By Christina Goldbaum              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/07/31/world/e Putins Lavish War Spending Makes
2023-07-31   2023-08-01 urope/russia-war-economy.html              Economists Nervous                            By Anatoly Kurmanaev               TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/07/31/world/e Saudi Arabia To Host Talks On Kyiv Plan To
2023-07-31   2023-08-01 urope/saudi-arabia-ukraine-peace-talks.html End War                                       By Vivian Nereim                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/world/e In Ukraines Attacks Inside Russia Small        By Marc Santora and Ivan
2023-07-31   2023-08-01 urope/ukraine-russia-drone-strikes.html      Strikes Hold Big Ambitions                   Nechepurenko                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/world/
                        middleeast/lebanon-palestine-refugee-        At Least 11 Die in Clashes at Palestinian    By Raja Abdulrahim and Hwaida
2023-07-31   2023-08-01 camp.html                                    Refugee Camp in Lebanon                      Saad                                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/world/
                        middleeast/yariv-levin-israel-judicial-law-  Its Seen as Netanyahus Judicial Overhaul but
2023-07-31   2023-08-01 netanyahu.html                               His Justice Minister Is Leading Way          By Patrick Kingsley                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/interactive/2023/07/
2023-07-31   2023-08-01 31/world/asia/myanmar-military.html          The Country That Bombs Its Own People        By Haley Willis and Weiyi Cai       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/us/bide Biden Cancels Space Command Move to
2023-08-01   2023-08-01 n-space-force-alabama-colorado.html          Alabama Amid Senator Dispute                 By Karoun Demirjian                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/science Gatherers Got Game Women Were Hunters
2023-08-01   2023-08-01 /anthropology-women-hunting.html             Too                                          By Katrina Miller                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/us/polit Biden Shores Up Partys Support But Passion By Reid J Epstein Ruth Igielnik and
2023-08-01   2023-08-01 ics/biden-trump-poll.html                    Sags                                         Camille Baker                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/article/a-sheet-pan-
2023-07-26   2023-08-02 chicken-corn-recipe.html                     The Pan May Be Flat but the Meal Is Not      By Melissa Clark                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/27/dining/
2023-07-27   2023-08-02 drinks/madrid-wine-bars-restaurants.html     Madrids Relaxed Spots for Great Wine         By Eric Asimov                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/27/dining/
2023-07-27   2023-08-02 summer-dinner-party-recipes.html             Summer Dinner Party Made Easy                By Genevieve Ko                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/30/opinion
2023-07-30   2023-08-02 /butterfly-hunting-attention.html            It Was Never Just About the Butterflies      By Lewis Hyde                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/30/opinion
2023-07-30   2023-08-02 /donald-trump-new-hampshire.html             Will Trump Cost the GOP New Hampshire        By Michelle Cottle                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/arts/tele                                              By Livia AlbeckRipka and Lauren
2023-07-31   2023-08-02 vision/angus-cloud-dead.html                 Angus Cloud 25 Fan Favorite on Euphoria      McCarthy                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/busines Rising Burden For Mexicans In the US A
2023-07-31   2023-08-02 s/strong-peso-mexico-remittances.html        Strong Peso                                  By J Edward Moreno                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/dining/
2023-07-31   2023-08-02 darkroom-restaurants.html                    Restaurants Revel in Radiating Red           By Ella Quittner                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/movies/
2023-07-31   2023-08-02 pee-wee-herman-paul-reubens.html             Weirdly Wonderful Joy and Fun                By Jason Zinoman                    TX 9-325-179   2023-10-02
                                                                                                                  By Christiaan Triebert Haley Willis
                        https://www.nytimes.com/2023/07/31/world/e Ukraine Racing to Expand Drone Strikes on Yelyzaveta Kovtun and Alexander
2023-07-31   2023-08-02 urope/ukraine-drone-strikes-russia.html      Russia Analysis Shows                        Cardia                              TX 9-325-179   2023-10-02




                                                                                 Page 5553 of 5793
                        https://www.nytimes.com/2023/07/31/arts/tele
                        vision/paul-reuben-pee-wee-herman-movies-
2023-08-01   2023-08-02 tv-shows.html                                Paul Reubens Going Beyond The Bow Tie       By Elisabeth Vincentelli       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/us/polit Trumps PAC Is Nearly Broke After Paying      By Maggie Haberman Shane
2023-08-01   2023-08-02 ics/trump-pac-filing.html                    Large Legal Bills                           Goldmacher and Jonathan Swan   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/arts/dan
2023-08-01   2023-08-02 ce/david-hallberg-australian-ballet.html     Still a Ballet Star but Now as a Director   By Roslyn Sulcas               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/arts/des
                        ign/museums-raise-admission-fees-
2023-08-01   2023-08-02 guggenheim.html                              How Much Is Too Much To See Art             By Zachary Small               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/arts/mu
2023-08-01   2023-08-02 sic/bayreuth-festival-wagner.html            Riding on Tradition and Experimentation     By Zachary Woolfe              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/books/b New Voices Dominate Booker Prize
2023-08-01   2023-08-02 ooker-prize-longlist.html                    Nominations                                 By Alex Marshall               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/busines BP Reports Sharp Dip in Earnings as Oil
2023-08-01   2023-08-02 s/bp-lower-earnings-oil-prices.html          Prices Slide                                By Stanley Reed                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/busines
                        s/economy/jolts-jobs-openings-layoffs-       Less Job Turnover Signals Cooling Labor
2023-08-01   2023-08-02 quits.html                                   Market                                      By Santul Nerkar               TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/01/busines Solar Sector Ever Murkier On Its Ties With
2023-08-01   2023-08-02 s/economy/solar-xinjiang-china-report.html China                                         By Ana Swanson and Ivan Penn   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/busines United States Credit Rating Takes Hit After   By Alan Rappeport and Joe
2023-08-01   2023-08-02 s/fitch-downgrade-us-credit-rating.html     Debt Standoff                                Rennison                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/climate
2023-08-01   2023-08-02 /incandescent-light-bulb-ban-leds.html      End of Era For Bulbs Of Edison               By Hiroko Tabuchi              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/dining/
2023-08-01   2023-08-02 diamond-crystal-kosher-salt.html            A Restaurant Staple Aims for Home Chefs      By Marnie Hanel                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/dining/r Yemen Caf a Brooklyn Standby Expands to
2023-08-01   2023-08-02 estaurant-openings-nyc.html                 Staten Island                                By Florence Fabricant          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/dining/r
                        estaurant-review-artesano-peruvian-
2023-08-01   2023-08-02 tribeca.html                                Peruvian Cuisine Elaborately Composed        By Pete Wells                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/dining/
2023-08-01   2023-08-02 soup-salad-recipe-heat-wave.html            A Dog Days Menu Thats Pretty Chill           By David Tanis                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/dining/
2023-08-01   2023-08-02 where-to-eat-met-museum.html                Serving Up Answers to Readers Questions      By Nikita Richardson           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/fashion Edward Sexton 80 Wizardly Tailor For
2023-08-01   2023-08-02 /mens-style/edward-sexton-dead.html         Lennon Jagger and Twiggy Dies                By Penelope Green              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/nyregio In Gilgo Beach Killings Evidence Includes
2023-08-01   2023-08-02 n/gilgo-beach-murders-suspect-court.html    2500 Pages of Documents and Pictures         By Chelsia Rose Marcius        TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/01/nyregio A Senators New Wife and Her Old Friends
2023-08-01   2023-08-02 n/nadine-menendez-federal-investigation.html Draw Prosecutors Attention                  By Tracey Tully                TX 9-325-179   2023-10-02




                                                                                 Page 5554 of 5793
                        https://www.nytimes.com/2023/08/01/nyregio Migrants Desperate for Shelter Swamp a City
2023-08-01   2023-08-02 n/nyc-migrants-homelessness.html           Obliged to Give It                          By Andy Newman                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/01/nyregio
                        n/sheila-oliver-dead-nj-lieutenant-        New Jerseys Trailblazing Lieutenant
2023-08-01   2023-08-02 governor.html                              Governor Is Dead                            By Tracey Tully                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/01/opinion
2023-08-01   2023-08-02 /oregon-drug-failure.html                  The HardDrug Decriminalization Disaster     By Bret Stephens               TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/01/opinion
2023-08-01   2023-08-02 /religion-schools-constitution-oklahoma.html This Charter School Is Unconstitutional   By Rachel Laser                TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/01/science Lackss Family Settles Lawsuit With Firm
2023-08-01   2023-08-02 /henrietta-lacks-cells-lawsuit-settlement.html That Used Her Cells                     By Amanda Holpuch              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/01/sports/b
                        aseball/justin-verlander-trade-astros-         What Goes Around Comes Around Mets
2023-08-01   2023-08-02 mets.html                                      Send Verlander Away                     By Tyler Kepner                TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/01/sports/g Woods Joins PGA Tour Board in Concession By Kevin Draper Alan Blinder and
2023-08-01   2023-08-02 olf/tiger-woods-pga-tour-golf.html          to Players Demands Over Saudi Pact          Lauren Hirsch                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/sports/s
                        occer/us-women-soccer-fans-watch-
2023-08-01   2023-08-02 parties.html                                So a Bunch of Soccer Fans Walk Into a Bar By Claire Fahy                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/sports/s
2023-08-01   2023-08-02 occer/uswnt-megan-rapinoe.html              For the US Team That Was a Close One        By Juliet Macur                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/technol Uber Posts a Rise in Revenue Despite a
2023-08-01   2023-08-02 ogy/uber-quarterly-earnings.html            Slowdown in Growth                          By Yiwen Lu                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/theater/
                        amour-stage-adaptation-review-michael-
2023-08-01   2023-08-02 haneke.html                                 Palme dOr Winner Is Adapted for the Stage By AJ Goldmann                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/theater/ An Uptown Matriarchs Inner Family
2023-08-01   2023-08-02 lets-call-her-patty-review.html             Workings                                    By Naveen Kumar                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/theater/
                        the-half-god-of-rainfall-review-            Golden State Warrior Whose Dunks Roar
2023-08-01   2023-08-02 basketball.html                             Like Thunder                                By Juan A Ramrez               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/travel/e
2023-08-01   2023-08-02 urope-tourism-taxes.html                    European Cities Pile On Tourist Taxes       By Paige McClanahan            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/us/gun-
                        laws-private-sales-background-checks-       US to Bring a New Law to Bear On            By Serge F Kovaleski and Glenn
2023-08-01   2023-08-02 armslist.html                               Unchecked Private Gun Sales                 Thrush                         TX 9-325-179   2023-10-02
                                                                    School Bus Travels Across the Country
                        https://www.nytimes.com/2023/08/01/us/mass Connecting Families of Mass Shooting
2023-08-01   2023-08-02 shooting-bus-tour-oliver.html               Victims                                     By Mike Baker                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/us/polit President Enjoys a Winning Streak of Strong By Jim Tankersley and Ben
2023-08-01   2023-08-02 ics/biden-economy-bidenomics.html           Reports on Economic Data                    Casselman                      TX 9-325-179   2023-10-02




                                                                                  Page 5555 of 5793
                        https://www.nytimes.com/2023/08/01/us/polit                                               By Maggie Haberman Shane
                        ics/desantis-campaign-finance-donation-super- Heavy Spending by Allies As DeSantis Slides Goldmacher Jonathan Swan and
2023-08-01   2023-08-02 pac.html                                      in Polls                                    Nicholas Nehamas                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/us/polit Ban of Incandescent Bulbs Reignites
2023-08-01   2023-08-02 ics/incandescent-bulb-ban-led-biden.html      Regulatory Debate                           By Katie Rogers                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/us/polit
                        ics/jack-smith-trump-indictment-              Special Counsel Took On Job With High       By Glenn Thrush Adam Goldman
2023-08-01   2023-08-02 investigations.html                           Speed and Intensity                         and Michael S Schmidt               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/us/polit In Michigan A Trump Ally Gets Charged         By Neil Vigdor Alexandra Berzon
2023-08-01   2023-08-02 ics/matt-deperno-michigan-trump.html          With Felonies                               and Nick Corasaniti                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/us/polit Montanas Bipartisan Senators Become
2023-08-01   2023-08-02 ics/steve-daines-jon-tester-montana.html      Combatants on the Campaign Trail            By Carl Hulse                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/us/polit
                        ics/trump-charged-jan-6-election-             Whats at Stake Essence of American
2023-08-01   2023-08-02 democracy.html                                Democracy                                   By Peter Baker                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/us/polit Trump Charged With Destabilizing Lies in 3 By Alan Feuer and Maggie
2023-08-01   2023-08-02 ics/trump-indicted-election-jan-6.html        Conspiracies to Overturn His Defeat         Haberman                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/us/polit Schemes to Rig an Election and Falsely Claim
2023-08-01   2023-08-02 ics/trump-indictment-charges-jan-6.html       a Victory                                   By Charlie Savage                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/us/polit
                        ics/trump-indictment-election-co-             CoConspirators Are Unnamed But
2023-08-01   2023-08-02 conspirators.html                             Descriptions Sprinkle Clues                 By Alan Feuer                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/us/polit More Republicans Say Trump Has Committed By Ruth Igielnik and Maggie
2023-08-01   2023-08-02 ics/trump-republicans-poll-crimes.html        Crimes                                      Haberman                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/us/trum Sheriff in Georgia Says Trump Wont Get         By Richard Fausset and Danny
2023-08-01   2023-08-02 p-indictment-georgia.html                     Special Treatment                           Hakim                               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/world/a Europeans Evacuate Niger Amid Risk of          By Declan Walsh Elian Peltier and
2023-08-01   2023-08-02 frica/niger-coup-mali-burkina-faso.html       Wider Conflict                              Dionne Searcey                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/world/a Senegal Voids Political Party And Protests By Elian Peltier and Dionne
2023-08-01   2023-08-02 frica/senegal-protests-sonko.html             Turn Deadly                                 Searcey                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/world/a Mexican Cartels Fight the Drug War With        By Simon Romero and Emiliano
2023-08-01   2023-08-02 mericas/mexico-cartels-trucks.html            Monster Trucks                              Rodrguez Mega                       TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/01/world/a In Myanmar Junta Lowers Prison Term For
2023-08-01   2023-08-02 sia/aung-san-suu-kyi-pardon-myanmar.html ExLeader                                        By SuiLee Wee                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/world/a Ethnic Violence on Rise In Modis Divided
2023-08-01   2023-08-02 sia/india-hindu-muslim-violence.html       India                                         By Alex Travelli and Hari Kumar      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/world/a 11 Women Pooled Money for a 3 Lottery
2023-08-01   2023-08-02 sia/india-kerala-lottery-jackpot.html      Ticket They Won 12 Million                    By Suhasini Raj and Mike Ives        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/world/a In NuclearScarred Japan Barbenheimer
2023-08-01   2023-08-02 sia/japan-barbenheimer.html                Memes Provoke Anger                           By Ben Dooley and Hisako Ueno        TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/01/world/e Live Bombs from Wars Past Delay Germanys
2023-08-01   2023-08-02 urope/germany-gas-terminal-munitions.html EnergyIndependent Future                  By Catie Edmondson                        TX 9-325-179   2023-10-02




                                                                                 Page 5556 of 5793
                        https://www.nytimes.com/2023/08/01/world/e With Drone Attacks in Moscow Ukraine          By Ivan Nechepurenko Alina
2023-08-01   2023-08-02 urope/moscow-drone-attack-ukraine.html     Sends a Message Russia Is Not Safe            Lobzina and Victoria Kim          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/world/e Fear Grips Transgender Russians As War        By Neil MacFarquhar and Georgy
2023-08-01   2023-08-02 urope/russia-transgender-ban.html          Intensifies a Crackdown                       Birger                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/world/e UK Alcohol Taxes Aim to Keep Pubs Open
2023-08-01   2023-08-02 urope/uk-alcohol-levies.html               and Votes Flowing                             By Stephen Castle                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/01/world/e Danube Ports a Lifeline for Ukraine Come
2023-08-01   2023-08-02 urope/ukraine-grain-danube-ports-russia.html Under Russian Threat                          By Marc Santora                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/world/e
                        urope/venice-unesco-world-heritage-danger- UNESCO Recommends a Wary Venice to Its
2023-08-01   2023-08-02 list.html                                     Endangered List                              By Emma Bubola                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/world/ Spiraling Temperatures Force Iran to Shut
2023-08-01   2023-08-02 middleeast/iran-heat-shutdown.html            Down                                         By Farnaz Fassihi               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/live/2023/08/01/us/
                        trump-indictment-jan-6/federal-charges-do-
2023-08-01   2023-08-02 not-bar-trump-from-running-for-president      No Clean Record Needed for a Run             By Charlie Savage               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/busines As Strike Ends At Paris Paper Fight Goes On
2023-08-02   2023-08-02 s/jdd-france-newspaper-strike.html            Over New Boss                                By Liz Alderman                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/insider/
2023-08-02   2023-08-02 hollywood-actors-strike.html                  Actors Strike and Hollywoods Future in Focus By Josh Ocampo                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/27/t-
2023-07-27   2023-08-03 magazine/summer-party-hats.html               Crafting with T The Art of the Party Hat     By Coco Romack                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/28/t-                                                      By Oliver Strand and Monica
2023-07-28   2023-08-03 magazine/nonalcoholic-home-bar-guide.html Creating the BuzzFree Home Bar                   Khemsurov                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/style/be                                                By Callie Holtermann and Amir
2023-07-31   2023-08-03 yonce-renaissance-tour-fan-looks.html         Theyre All Aboard the Beyonc Express         Hamja                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/style/do
                        nt-worry-hes-all-right-according-to-at-least- In Online Dating Distrust and Verifying
2023-07-31   2023-08-03 one-woman.html                                Potential Mates                              By Gina Cherelus                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/arts/fdr-
2023-08-01   2023-08-03 library.html                                  FDRs Library Takes a Hard Look at Race       By Jennifer Schuessler          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/arts/tele
2023-08-01   2023-08-03 vision/paul-reubens-personal.html             Inside Peewee a Quiet Man                    By Dave Itzkoff                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/opinion
                        /commander-biden-dog-biting-german-
2023-08-01   2023-08-03 shepherd.html                                 The StressedOut Life of a Biter in Chief     By Alexandra Horowitz           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/science NASAs Voyager 2 Is Out of Touch but Still
2023-08-01   2023-08-03 /nasa-voyager-2-communication.html            Out There                                    By Katrina Miller               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/style/m
2023-08-01   2023-08-03 aisel-costume-designer.html                   A Creator of Wearable Worlds                 By Rhonda Garelick              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/style/on Its Not Too Late to Buy a Great OnePiece
2023-08-01   2023-08-03 e-piece-swimsuits.html                        Swimsuit                                     By Laura Reilly                 TX 9-325-179   2023-10-02




                                                                                 Page 5557 of 5793
                        https://www.nytimes.com/2023/08/01/style/ta
                        ylor-sade-vertigo-hot-girl-summer-
2023-08-01   2023-08-03 necklace.html                               The Chill Necklace for a Hot Girl Summer By Sophia Herring                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/01/world/e In London a FourStory Stairway to Nowhere
2023-08-01   2023-08-03 urope/stairwell-auction-25k-pounds.html     Fetches 32000 at Auction                 By Claire Moses                     TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/01/us/disn Florida Board Ends Programs For DEI in the
2023-08-02   2023-08-03 ey-world-dei-programs-desantis-florida.html Disney District                           By Anna Betts                      TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/02/arts/dan His Flapping Captures The Flopping Of
2023-08-02   2023-08-03 ce/tiktok-pinegrove-shuffle.html            Summer                                    By Gia Kourlas                     TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/02/arts/mu
                        sic/crowds-throwing-objects-at-             As Objects Fly Audiences Take Starring
2023-08-02   2023-08-03 musicians.html                              Roles                                     By Jon Caramanica                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/02/arts/mu
                        sic/nina-simone-blues-for-mama-             Nina Simone Ahead of the Curve but Always
2023-08-02   2023-08-03 newport.html                                on the Mark                               By Salamishah Tillet               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/02/arts/mu
2023-08-02   2023-08-03 sic/review-braxton-trillium-x-prague.html   An American Work Finds a Place in Prague By Seth Colter Walls                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/02/books/l Lois Libien 87 the Dear Abby of Household
2023-08-02   2023-08-03 ois-libien-dead.html                        Cleaning                                  By Sam Roberts                     TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/02/busines Downgrade Of US Debt May Not Stall            By Joe Rennison and Alan
2023-08-02   2023-08-03 s/economy/fitch-credit-rating-downgrade.html Borrowing                                   Rappeport                       TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/02/busines
                        s/media/atlantic-washington-week-jeffrey-    The Atlantics Top Editor To Host PBS News
2023-08-02   2023-08-03 goldberg.html                                Show                                        By Benjamin Mullin              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/02/busines
                        s/media/clooney-streep-actors-strike-        AList Stars Lead the Effort To Support
2023-08-02   2023-08-03 donations.html                               Striking Actors                             By Brooks Barnes                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/02/busines How ESPN Went From Disneys Financial          By Kevin Draper and Brooks
2023-08-02   2023-08-03 s/media/espn-disney.html                     Engine to Its Problem                       Barnes                          TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/02/busines Told to Pay Meta Begins Blocking News To
2023-08-02   2023-08-03 s/media/meta-news-in-canada.html             Canadians                                   By Katie Robertson              TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/02/busines
2023-08-02   2023-08-03 s/media/writers-guild-hollywood-strike.html Studios Shift In Bid to Talk With Writers    By Brooks Barnes and John Koblin TX 9-325-179   2023-10-02
                                                                    Researchers Brace for the New Normal
                        https://www.nytimes.com/2023/08/02/health/c Respiratory Season as Covid Cases Tick
2023-08-02   2023-08-03 ovid-rise.html                              Upward                                       By Apoorva Mandavilli           TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/02/health/l Florida Seen As Hot Spot For Leprosy
2023-08-02   2023-08-03 eprosy-florida.html                         Scientists Say                               By Apoorva Mandavilli           TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/02/movies/
2023-08-02   2023-08-03 barbenheimer-barbie-vs-oppenheimer.html     Barbenheimer Isnt a Contest But if It Were   By Kyle Buchanan                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/02/movies/ With Talk to Me a Leap From YouTube to
2023-08-02   2023-08-03 talk-to-me-directors-interview.html         Theaters                                     By Andy Crump                   TX 9-325-179    2023-10-02



                                                                                 Page 5558 of 5793
                        https://www.nytimes.com/2023/08/02/nyregio
2023-08-02   2023-08-03 n/covid-cases-hospitalizations-new-york.html Covid Cases Are On Rise In New York         By Joseph Goldstein               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/nyregio
                        n/giuliani-co-conspirator-trump-             Prosecutor Mayor Lawyer for Trump
2023-08-02   2023-08-03 indictment.html                              Giulianis New Title CoConspirator 1         By Jonah E Bromwich               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/nyregio As States Tackle Reading Crisis in Schools
2023-08-02   2023-08-03 n/reading-crisis-new-york-state.html         New York Lags                               By Troy Closson                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/opinion
                        /columnists/trump-indictment-2020-
2023-08-02   2023-08-03 election.html                                This Legal Filing Is a MustRead             By Charles M Blow                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/opinion
2023-08-02   2023-08-03 /jack-smith-trump-indictment.html            What Makes Jack Smiths Case So Smart        By Randall D Eliason              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/opinion A President Accused of Betraying His
2023-08-02   2023-08-03 /trump-jan-6-indictment.html                 Country                                     By The Editorial Board            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/science Alan Roland 93 Dies Psychoanalyst
2023-08-02   2023-08-03 /alan-roland-psychoanalyst-dead.html         Cautioned Against Western Bias              By Neil Genzlinger                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/sports/b One Team Is Targeting 2025 The Other Is
2023-08-02   2023-08-03 aseball/mets-yankees-trade-deadline.html     Lost                                        By Tyler Kepner                   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/02/sports/b Rays Teetered for a Month But Their Belief
2023-08-02   2023-08-03 aseball/tampa-bay-rays-trade-deadline.html Is Unshakable                                 By Matt Martell                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/sports/b In Politics Players and Owners Pull in
2023-08-02   2023-08-03 asketball/adam-silver-nba-politics.html     Opposite Directions                          By Sopan Deb                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/technol
2023-08-02   2023-08-03 ogy/personaltech/self-publish-e-book.html   A Story to Tell SelfPublish Your EBook       By J D Biersdorfer                TX 9-325-179   2023-10-02
                                                                    Appeals Court Further Limits Abortion
                        https://www.nytimes.com/2023/08/02/us/gua Access on Guam by Requiring an InPerson
2023-08-02   2023-08-03 m-abortion-ruling.html                      Doctor Visit                                 By David W Chen                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/us/lizzo-Former Tour Dancers Accuse Lizzo of
2023-08-02   2023-08-03 dancers-lawsuit-harassment.html             Harassment and Hostile Work Environment      By Lauren McCarthy                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/us/pitts
                        burgh-synagogue-shooting-trial-robert-      Gunman Is Condemned to Death For Killing     By Campbell Robertson and
2023-08-02   2023-08-03 bowers.html                                 11 Inside a Synagogue                        Nicholas BogelBurroughs           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/us/polit All Clear at the Capitol But Not Before      By Luke Broadwater and Annie
2023-08-02   2023-08-03 ics/capitol-senate-active-shooter.html      Moments Of Panic and a Manhunt               Karni                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/us/polit Pences Journey From Key Ally To Key          By Shane Goldmacher Maggie
2023-08-02   2023-08-03 ics/mike-pence-trump-indictment.html        Witness                                      Astor and Luke Broadwater         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/us/polit FundRaising for Kennedys Campaign Draws      By Kate Kelly and Rebecca Davis
2023-08-02   2023-08-03 ics/rfk-jr-donors.html                      From a Most Unusual Coalition                OBrien                            TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/02/us/polit
2023-08-02   2023-08-03 ics/stanley-woodward-trump-documents.html Prosecutors Question Loyalties Of Lawyer     By Glenn Thrush and Alan Feuer TX 9-325-179        2023-10-02
                        https://www.nytimes.com/2023/08/02/us/polit Judge Known for Tough Sentences in Capitol
2023-08-02   2023-08-03 ics/tanya-chutkan-trump-judge.html          Riot                                       By Charlie Savage and Alan Feuer TX 9-325-179      2023-10-02



                                                                                Page 5559 of 5793
                        https://www.nytimes.com/2023/08/02/us/polit                                               By Jonathan Swan and Maggie
2023-08-02   2023-08-03 ics/trump-fox-news-indictment.html          Dinner With Executives at Fox News            Haberman                           TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/02/us/polit 6 Unnamed CoConspirators in Limbo for         By Alan Feuer Luke Broadwater
2023-08-02   2023-08-03 ics/trump-indictment-co-conspirators.html   Now                                           and Ben Protess                    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/02/us/polit In the Court of Public Opinion Trump Relies
2023-08-02   2023-08-03 ics/trump-indictment-hunter-biden.html      on a Whataboutism Defense                     By Peter Baker                     TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/02/us/polit First Amendment is Likely Linchpin of         By Michael S Schmidt and Maggie
2023-08-02   2023-08-03 ics/trump-indictment-lies-vs-free-speech.html Trump Defense                               Haberman                           TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/02/us/polit
                        ics/ukraine-troops-counteroffensive-          Ukrainian Troops Trained by the West
2023-08-02   2023-08-03 training.html                                 Stumble                                     By Eric Schmitt and Helene Cooper TX 9-325-179      2023-10-02
                                                                      LeftLeaning Wisconsin Groups Challenge
                        https://www.nytimes.com/2023/08/02/us/polit Political Maps Amid Shift on States Supreme
2023-08-02   2023-08-03 ics/wisconsin-maps-protasiewicz.html          Court                                       By Nick Corasaniti                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/02/world/a
                        mericas/justin-trudeau-separate-wife-sophie-
2023-08-02   2023-08-03 gregoire.html                                 Trudeau Splits From His Wife After 18 Years By Norimitsu Onishi and Vjosa Isai TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/02/world/a Xi Abruptly Shakes Up Chinas Nuclear Force
2023-08-02   2023-08-03 sia/china-nuclear-shakeup.html                Signaling Trouble at the Top                By Chris Buckley                   TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/02/world/c Switched as Newborns Two Canadians
2023-08-02   2023-08-03 anada/canada-men-switched-at-birth.html       Discover Their Roots at Age 67              By Norimitsu Onishi                TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/02/world/e Organizers Want Summer On Seine Sans           By Juliette GuronGabrielle and
2023-08-02   2023-08-03 urope/paris-olympics-booksellers.html         Booksellers                                 Jenny Gross                        TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/02/world/e Pope Looks to Youth Day as Opportunity to
2023-08-02   2023-08-03 urope/pope-francis-portugal-youth-day.html Energize Churchs Future                        By Jason Horowitz                  TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/02/world/e As Russia Strikes Ports Ukraines Farmers
2023-08-02   2023-08-03 urope/russia-ukraine-grain-exports.html    Scramble to Sell Grain                         By Valerie Hopkins                 TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/02/world/e                                                   By Carlotta Gall Oleksandr Chubko
2023-08-02   2023-08-03 urope/ukraine-war-casualties-wounded.html Under Fire and Understaffed Ukraines Medics and Emile Ducke                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/world/
                        middleeast/iran-heat-shutdown-power-        A Sudden Heat Holiday in Iran but Residents By Vivian Yee and Leily
2023-08-02   2023-08-03 grid.html                                   Arent Buying It                                  Nikounazar                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/world/
                        middleeast/shikma-bressler-israel-judicial- The Face of the Struggle In Israel Is a Particle
2023-08-02   2023-08-03 protests.html                               Physicist                                        By Isabel Kershner                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/busines Riders Fret After the Maker of Pricey Dutch
2023-08-03   2023-08-03 s/vanmoof-bankruptcy-ebikes.html            EBikes Goes Bust                                 By Claire Moses                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/insider/
                        covering-the-womens-world-cup-takes-        Covering the Womens World Cup Takes
2023-08-03   2023-08-03 stamina-and-coffee.html                     Coffee                                           By Emmett Lindner                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/nyregio New York Nearing Desperation Stage in
2023-08-03   2023-08-03 n/nyc-migrant-homeless-crisis.html          Homeless Crisis                                  By Nicole Hong                    TX 9-325-179   2023-10-02



                                                                                 Page 5560 of 5793
                        https://www.nytimes.com/2023/08/03/technol
2023-08-03   2023-08-03 ogy/twitter-x-tweets-elon-musk.html         So What Do We Call That Bird App Now       By Kate Conger                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/us/polit Trump Set to Make Familiar Trip to Court
2023-08-03   2023-08-03 ics/trump-courthouse-election.html          This Time in Washington                    By Glenn Thrush                   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/02/busines
2023-08-02   2023-08-04 s/larry-fink-saudi-arabia-oil-blackrock.html BlackRock Takes Hits From Left And Right By Maureen Farrell                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/movies/
                        teenage-mutant-ninja-turtles-mutant-mayhem-
2023-08-02   2023-08-04 review.html                                  Up From the Sewers in Search of Acceptance By Maya Phillips                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/opinion
2023-08-02   2023-08-04 /trump-meritocracy-educated.html             What if Were the Bad Guys Here               By David Brooks                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/theater/ Spamalot Will Transfer From Kennedy Center
2023-08-02   2023-08-04 spamalot-revival-broadway.html               to Broadway This Fall                        By Michael Paulson             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/books/p Simon amp Schuster Suitors Turn to the Final By Benjamin Mullin Elizabeth A
2023-08-03   2023-08-04 aramount-sale-simon-schuster.html            Chapter                                      Harris and Lauren Hirsch       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/world/a
2023-08-03   2023-08-04 sia/yoo-hyuk-kee-south-korea-ferry.html      Scion Tied to Ferry Disaster Is Extradited   By John Yoon                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/arts/des
2023-08-03   2023-08-04 ign/blaise-cendrars-morgan-library.html      A Modernist Match Of Poetry and Painting     By Jason Farago                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/arts/des
                        ign/louis-armstrong-center-queens-jason-
2023-08-03   2023-08-04 moran-historic-buildings.html                Satchmos Wonderful World                     By Melena Ryzik                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/arts/mu
2023-08-03   2023-08-04 sic/john-wilson-sinfonia-of-london.html      Understanding the Logistics Within the Score By Hugh Morris                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/03/arts/mu Without His Lights It Wouldnt Be A Phish
2023-08-03   2023-08-04 sic/phish-lighting-designer-chris-kuroda.html Show                                      By Marc Tracy                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/arts/tele
2023-08-03   2023-08-04 vision/fisk-netflix-la-law-amazon.html        This Weekend I Have                       By Margaret Lyons                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/arts/tele
                        vision/the-lost-flowers-of-alice-hart-
2023-08-03   2023-08-04 review.html                                   A Reminder of the Right Kind of Melodrama By Mike Hale                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/busines Yeezy Sales Are a Boon For Adidas And
2023-08-03   2023-08-04 s/adidas-sale-yeezy-ye.html                   Charity                                   By Melissa Eddy                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/busines
2023-08-03   2023-08-04 s/apple-revenue.html                          Sales Down But Apple Lifts Profit         By Tripp Mickle                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/busines Bank of England Raises Rates to Their
2023-08-03   2023-08-04 s/bank-of-england-interest-rates.html         Highest Point Since 2008                  By Eshe Nelson                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/busines Fall in Sales of Bud Light Puts Dent in Beer
2023-08-03   2023-08-04 s/bud-light-sales-decline.html                Maker                                     By J Edward Moreno               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/busines                                              By Jeanna Smialek and Ben
2023-08-03   2023-08-04 s/economy/economy-good-news.html              Maybe Just Maybe Good News Is Good        Casselman                        TX 9-325-179   2023-10-02




                                                                                Page 5561 of 5793
                        https://www.nytimes.com/2023/08/03/busines
                        s/energy-environment/saudi-arabia-oil-      Saudi Arabia Extends Cut In Oil Production
2023-08-03   2023-08-04 production-cut.html                         by Month                                   By Clifford Krauss             TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/busines If AI Tells a Lie About You What Can You
2023-08-03   2023-08-04 s/media/ai-defamation-lies-accuracy.html    Do Not Much                                By Tiffany Hsu                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/health/a
                        ap-gender-affirming-care-evidence-          Doctors Back Youth Gender Treatments but
2023-08-03   2023-08-04 review.html                                 Call for Review of Data                    By Azeen Ghorayshi             TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/movies/
2023-08-03   2023-08-04 a-compassionate-spy-review.html             Sometimes The Spies Arent So Reluctant     By Jeannette Catsoulis         TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/movies/
2023-08-03   2023-08-04 brother-review.html                         Brother                                    By Brandon Yu                  TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/movies/
2023-08-03   2023-08-04 charm-circle-review.html                    Charm Circle                               By Nicolas Rapold              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/movies/
2023-08-03   2023-08-04 dreamin-wild-review.html                    Dreamin Wild                               By Claire Shaffer              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/movies/
2023-08-03   2023-08-04 klondike-review.html                        Klondike                                   By Ben Kenigsberg              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/movies/
                        lady-killer-the-strange-mister-victor-
2023-08-03   2023-08-04 review.html                                 From France Poetic and Feverish Realism    By Beatrice Loayza             TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/movies/
2023-08-03   2023-08-04 meg-2-the-trench-review.html                 See the Shark Can You Jump It             By Calum Marsh                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/movies/
2023-08-03   2023-08-04 our-body-review.html                        Our Body                                   By Lisa Kennedy                TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/movies/ In This Love Story Misery Seeks Lots of
2023-08-03   2023-08-04 passages-review.html                        Company                                    By Amy Nicholson               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/movies/ Hes Finally Coming of Age And Its a Mighty
2023-08-03   2023-08-04 shortcomings-review.html                    Struggle                                   By Devika Girish               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/movies/
2023-08-03   2023-08-04 what-comes-around-review.html               What Comes Around                          By Natalia Winkelman           TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/nyregio A Professor Is Said to Lure Three Women To
2023-08-03   2023-08-04 n/el-salvador-professor-rape-bronx.html     Rape Them                                  By Lola Fadulu                 TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/03/nyregio Manhattan Prosecutor Is Targeting            By Jonah E Bromwich and William
2023-08-03   2023-08-04 n/eric-adams-manhattan-da-investigation.html Associates In the Mayors Circle            K Rashbaum                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/nyregio Outdoor Dining Is Likely Here to Stay In New
2023-08-03   2023-08-04 n/outdoor-dining-nyc.html                    York City but With New Rules               By Emma G Fitzsimmons           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/nyregio
2023-08-03   2023-08-04 n/rudy-giuliani-audio-remarks-lawsuit.html Awkward Remarks in Suit Against Giuliani By Jonah E Bromwich                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/03/opinion
2023-08-03   2023-08-04 /barbie-brand-movies-american-dream.html The Brand Stories of Our Lives           By Pamela Paul                      TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/opinion So Much for Miami Becoming the New New
2023-08-03   2023-08-04 /columnists/miami-finance-new-york.html    York                                   By Paul Krugman                     TX 9-325-179     2023-10-02



                                                                                Page 5562 of 5793
                        https://www.nytimes.com/2023/08/03/opinion
                        /editorials/new-york-city-immigrant-          Mayor Adams Turns His Back on Immigrants
2023-08-03   2023-08-04 shelters.html                                 and His Citys Legacy                       By Mara Gay                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/sports/b
2023-08-03   2023-08-04 oxing-seniesa-estrada.html                    A Writers Split Decision on the Fight Game By Kurt Streeter and Erin Schaff TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/sports/f
                        ootball/football-hall-of-fame-induction-      Helping Greats Of Pro Football Cut to the
2023-08-03   2023-08-04 speeches.html                                 Chase                                      By Ken Belson                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/sports/o
                        rlando-magics-political-donation-is-alarming- Players Union Criticizes Orlando for Its
2023-08-03   2023-08-04 players-union-says.html                       Donation to DeSantis PAC                   By Sopan Deb                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/sports/s At 36 Messi Is Thriving as He Finds Wide
2023-08-03   2023-08-04 occer/lionel-messi-inter-miami.html           Open Spaces in North America               By Victor Mather                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/sports/s Spain Survived a Revolt Then Boredom Next
2023-08-03   2023-08-04 occer/womens-world-cup-spain.html             Challenge Switzerland                      By Rory Smith                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/technol Amazon Posts 11 Rise in Revenue as Growth
2023-08-03   2023-08-04 ogy/amazon-revenue.html                       Improves                                   By David Streitfeld              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/theater/
2023-08-03   2023-08-04 cat-kid-comic-club-review.html                Big Imaginations Swim in a Tiny Pool       By Laurel Graeber                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/us/affir Group That Helped Topple Affirmative
2023-08-03   2023-08-04 mative-action-military-academies.html         Action Takes Aim at Military Academies     By Anemona Hartocollis           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/us/flori Florida Effectively Banned AP Psychology
2023-08-03   2023-08-04 da-ap-psychology-courses.html                 College Board Says                         By Sarah Mervosh                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/us/jose Fighting to Keep a Patch of Hilton Head in    By Rebecca Carballo and Amanda
2023-08-03   2023-08-04 phine-wright-hilton-head-snoop-dogg.html      the Family                                 Holpuch                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/us/pitts
                        burgh-synagogue-shooting-death-               Families Confront Synagogue Shooter at His By Nicholas BogelBurroughs Jon
2023-08-03   2023-08-04 sentence.html                                 Sentencing                                 Moss and Campbell Robertson      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/us/polit
                        ics/biden-fitch-credit-downgrade-             Why White House Pushed Back Against
2023-08-03   2023-08-04 recession.html                                Credit Downgrade                           By Jim Tankersley                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/us/polit
2023-08-03   2023-08-04 ics/indictment-trump-jan-6-violence.html      The Charges Notably Absent in the Case     By Alan Feuer                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/us/polit
2023-08-03   2023-08-04 ics/navy-sailors-spy-china.html               2 Navy Sailors Helped China Charges Allege By Adam Goldman and Jill Cowan TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/03/us/polit Pence Says Trump Pressured Him Essentially
2023-08-03   2023-08-04 ics/pence-trump-election-jan-6.html           to Overturn Election                       By Maggie Haberman               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/us/polit Trump In Shadow Of Capitol Issues A Not      By Glenn Thrush and Charlie
2023-08-03   2023-08-04 ics/trump-arraignment-court.html              Guilty Plea                                Savage                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/us/polit Campaign Seeks to Use Politics as Veto Over
2023-08-03   2023-08-04 ics/trump-indictment-election-2024.html       the Justice System                         By Lisa Lerer and Reid J Epstein TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/us/polit
2023-08-03   2023-08-04 ics/trump-indictment-fact-check.html          Correcting the Claims Of Trumps Allies     By Linda Qiu                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/us/texa Texas AampM Admits It Bungled The Hiring
2023-08-03   2023-08-04 s-am-mcelroy-settlement.html                  of a Black Professor                       By Stephanie Saul                TX 9-325-179   2023-10-02



                                                                               Page 5563 of 5793
                        https://www.nytimes.com/2023/08/03/us/texa Body Found Near Buoys Texas Set in Rio     By J David Goodman and Edgar
2023-08-03   2023-08-04 s-border-buoys-bodies.html                 Grande                                     Sandoval                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/us/trum Jury to Draw From Pool of Residents That
2023-08-03   2023-08-04 p-jan-6-jury-washington.html               Remembers Capitol Attack Well              By Amy Qin                     TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/03/world/a Colombia And Guerillas Start to Abide By
2023-08-03   2023-08-04 mericas/colombia-eln-rebels-cease-fire.html CeaseFire                                 By Genevieve Glatsky           TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/03/world/a Australia Will Return Three Sculptures
2023-08-03   2023-08-04 sia/australia-cambodia-looted-sculptures.html Originally Trafficked Out of Cambodia    By Natasha Frost              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/world/a Seiichi Morimura 90 Who Exposed Japanese
2023-08-03   2023-08-04 sia/seiichi-morimura-dead.html                Wartime Atrocities Dies                  By Richard Sandomir           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/world/a Heat Sickens Hundreds at Scout Gathering in
2023-08-03   2023-08-04 sia/south-korea-heat-scout-jamboree.html      South Korea                              By John Yoon                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/world/a Car Rampage And Stabbing Near Seoul
2023-08-03   2023-08-04 sia/south-korea-seoul-stabbing.html           Injures 14                               By John Yoon                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/world/c
                        anada/meta-facebook-news-feed-                Refusing to Pay for Content Meta Blocks
2023-08-03   2023-08-04 removed.html                                  News Articles From Canadian Platforms    By Vjosa Isai                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/03/world/e Protesters Scale British Prime Ministers Roof
2023-08-03   2023-08-04 urope/sunak-greenpeace-protest-britain.html Over Oil Drilling Decision                   By Isabella Kwai           TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/03/world/e Ukrainians Shun Church Seen as a Kremlin By Matthew Mpoke Bigg and Yurii
2023-08-03   2023-08-04 urope/ukraine-orthodox-church.html          Tool                                         Shyvala                    TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/03/world/e Russias ProWar Bloggers Clash as Some
2023-08-03   2023-08-04 urope/ukraine-war-russia-bloggers.html      Point Fingers and Say Traitor                By Valeriya Safronova      TX 9-325-179    2023-10-02
                        https://www.nytimes.com/article/niger-coup-
2023-08-03   2023-08-04 military-explainer.html                     Not Another Coup As Usual                    By Declan Walsh            TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/03/theater/ The DeLorean Lands Differently on
2023-08-04   2023-08-04 back-to-the-future-review-broadway.html     Broadway                                     By Jesse Green             TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/03/us/polit Bidens Asylum Restrictions Can Continue
2023-08-04   2023-08-04 ics/biden-asylum-appeal.html                Court Says                                   By Michael D Shear         TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/04/insider/
                        hip-hop-50-years-later-still-a-love-
2023-08-04   2023-08-04 language.html                               HipHop 50 Years Later Still a Love Language By Emmett Lindner           TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/04/us/polit
2023-08-04   2023-08-04 ics/trump-iowa-poll.html                    Poll Shows Slimmer Lead for Trump in Iowa By Jonathan Weisman           TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/19/travel/l
2023-07-19   2023-08-05 os-angeles-metro-subway.html                Even in LA You Can Take the A Train          By Elaine Glusac           TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/07/25/travel/s
2023-07-25   2023-08-05 tockholm-archipelago.html                   Exploring Stockholms Archipelago             By Ingrid K Williams       TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/01/books/n Three FirstRate Writers and Their Second
2023-08-01   2023-08-05 aoise-dolan-megan-nolan-nicole-flattery.html Books                                    By Imogen WestKnights          TX 9-325-179   2023-10-02




                                                                                Page 5564 of 5793
                        https://www.nytimes.com/2023/08/01/busines
2023-08-01   2023-08-05 s/divvy-homes-housing-rent.html            Problems With RenttoOwn                   By Matthew Goldstein               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/opinion What Covid The Cheesy Cruise Makes a Big
2023-08-01   2023-08-05 /cruise-travel-covid.html                  Comeback                                  By Ezra Dyer                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/arts/mu
                        sic/jason-aldean-small-town-newjeans-      Jason Aldeans Small Town Hits No 1 on
2023-08-02   2023-08-05 billboard.html                             Billboard Chart                           By Ben Sisario                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/opinion
2023-08-02   2023-08-05 /health/coal-mining-black-lung-silica.html Coal Mining Is Getting More Dangerous     By Drew A Harris                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/movies/
2023-08-03   2023-08-05 air-bud-world-pup-soccer-world-cup.html    New Fans for the 1999 World Cup Stars     By Claire Fahy                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/opinion
2023-08-03   2023-08-05 /mike-pence-january-6-trump-2024.html      Pence Knows What Hes Getting Himself Into By Katherine Miller                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/science Finding the Descendants Of Enslaved Black
2023-08-03   2023-08-05 /catoctin-african-americans-dna.html       People                                    By Carl Zimmer                     TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/03/theater/ The Notebook Musical Is Coming to
2023-08-03   2023-08-05 the-notebook-broadway-nicholas-sparks.html Broadway                                       By Sarah Bahr                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/arts/ope
                        ra-star-david-daniels-guilty-plea-sexual-    Opera Singer And Husband Plead Guilty In By Dianna Wray and Javier C
2023-08-04   2023-08-05 assault.html                                 Sex Crime                                    Hernndez                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/arts/tele The Images Are Artificial The Fear of the
2023-08-04   2023-08-05 vision/actors-strike-digital-replicas.html   Actors Is Real                               By Marc Tracy                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/arts/tele Mark Margolis 83 Actor and Scene Stealer
2023-08-04   2023-08-05 vision/mark-margolis-dead.html               from Breaking Bad Dies                       By Alex Williams              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/arts/tele
2023-08-04   2023-08-05 vision/the-lincoln-lawyer-netflix.html       Attorney for the Defense Ever on the Road    By Elisabeth Vincentelli      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/busines Billionaire Parts With the Group Behind
2023-08-04   2023-08-05 s/arthur-dantchik-kohelet-israel.html        Israels Judicial Overhaul                    By David Segal                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/busines Shares of Icahn Enterprises Tank After It Cuts
2023-08-04   2023-08-05 s/carl-icahn-shares-dividend.html            Dividend                                     By Maureen Farrell            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/busines China Pitches Minor Mode for Phones To Cut
2023-08-04   2023-08-05 s/china-smartphone-minor-mode.html           Down on Childrens Screen Time                By Yan Zhuang and Siyi Zhao   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/busines
2023-08-04   2023-08-05 s/economy/jobs-report-july-2023.html         US Adds 187000 Jobs As Cooling Continues By Lydia DePillis                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/busines William H Dilday Jr 85 First Black Man To
2023-08-04   2023-08-05 s/media/william-dilday-jr-dead.html          Manage a Television Station in the US        By Clay Risen                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/04/climate Biden Is Expected to Permanently Block       By Coral Davenport and Lisa
2023-08-04   2023-08-05 /biden-grand-canyon-mining-monument.html Mining at the Grand Canyon                     Friedman                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/climate GOP Blueprint for 25 Gutting Climate
2023-08-04   2023-08-05 /republicans-climate-project2025.html      Progress                                     By Lisa Friedman                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/health/ FDA Approves the First Pill To Aid
2023-08-04   2023-08-05 postpartum-depression-pill-fda.html        Postpartum Depression                        By Pam Belluck                  TX 9-325-179   2023-10-02




                                                                                Page 5565 of 5793
                        https://www.nytimes.com/2023/08/04/health/
                        weight-loss-drugs-obesity-wegovy-             Poll Shows Why So Few Use a Drug For
2023-08-04   2023-08-05 ozempic.html                                  Obesity                                   By Gina Kolata                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/movies/
                        thanks-to-carol-burnett-and-dolly-parton-new- An Obscure Film Gets New Life Thanks to
2023-08-04   2023-08-05 life-for-a-1988-film.html                     Mom                                       By Ben Kenigsberg                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/nyregio
                        n/adams-challenger-progressive-               Progressives Begin Hunt for Champion To   By Emma G Fitzsimmons Nicholas
2023-08-04   2023-08-05 democrats.html                                Beat Eric Adams                           Fandos and Jeffery C Mays      TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/04/nyregio                                              By Maria Cramer and Nate
2023-08-04   2023-08-05 n/gilgo-beach-killings-human-remains.html Remains Near Gilgo Beach Are Identified       Schweber                       TX 9-325-179       2023-10-02

                        https://www.nytimes.com/2023/08/04/nyregio Fatally Stabbed Dancer Found a Community By Maria Cramer and Wesley
2023-08-04   2023-08-05 n/oshae-sibley-dancer-stabbed-lgbtq-nyc.html That Saw Him Thrive                          Parnell                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/nyregio
                        n/union-square-kai-cenat-twitch-                                                          By Ed Shanahan and Wesley
2023-08-04   2023-08-05 giveaway.html                                YouTube Stunt Causes Union Square Chaos Parnell                               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/opinion The Critical Vote Republicans Are Hoping
2023-08-04   2023-08-05 /ohio-abortion-referendum.html               You Wont Notice                              By Michelle Goldberg             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/sports/j Deciding Its Time to Quit Ironman
2023-08-04   2023-08-05 an-frodeno-us-open-retirement.html           Competitions and Enjoy Riskier Sports        By Matthew Futterman             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/sports/s Paris in Her Sights Biles Is Set to Return To
2023-08-04   2023-08-05 imone-biles-return.html                      Elite Competition                            By Carla Correa                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/sports/s
                        occer/womens-world-cup-knockout-round-       Field Has Thinned Yet Number of Contenders
2023-08-04   2023-08-05 preview.html                                 Has Grown                                    By Rory Smith                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/sports/s
2023-08-04   2023-08-05 occer/womens-world-cup-uswnt.html            For US Its Time To Walk The Walk             By Juliet Macur                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/technol
2023-08-04   2023-08-05 ogy/google-search-monopoly-judge.html        Judge Limits Scope of Trial Vs Google        By David McCabe and Nico Grant   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/theater/                                               By Lisa Kennedy and Shelby
2023-08-04   2023-08-05 body-positivity-theater-camp.html            Open Without Being Judged                    Knowles                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/us/davi
                        s-california-stabbings-mental-               Man Charged in California Stabbings Is
2023-08-04   2023-08-05 competency.html                              Found Incompetent to Stand Trial             By Shawn Hubler                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/us/flori New Florida Immigration Rules Start to Strain
2023-08-04   2023-08-05 da-immigration-law-businesses.html           Some Businesses                              By Miriam Jordan                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/us/miss Court Rejects Ban on Voting For Felons In
2023-08-04   2023-08-05 issippi-felon-voting-ban.html                Mississippi                                  By Michael Wines                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/us/pitts
                        burgh-synagogue-shooting-antisemitism-       Experts Say Extreme Views Held by Killer
2023-08-04   2023-08-05 bowers.html                                  Are Widespread                               By Campbell Robertson            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/us/polit Rising Tide Lifts All Boats but So Far Not
2023-08-04   2023-08-05 ics/biden-approval-rating.html               Bidens                                       By Peter Baker                   TX 9-325-179   2023-10-02




                                                                                Page 5566 of 5793
                        https://www.nytimes.com/2023/08/04/us/polit Christie Meets With Zelensky in Kyiv
2023-08-04   2023-08-05 ics/chris-christie-zelensky-ukraine-visit.html Signaling His Support Ahead of 2024        By Charles Homans                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/us/polit DeSantis Contradicts Trump On Claims of       By Nicholas Nehamas and Lisa
2023-08-04   2023-08-05 ics/desantis-trump-election-2020.html          Election Theft                             Lerer                              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/us/polit Pence Struggles Trying to Warn Yet Lure
2023-08-04   2023-08-05 ics/pence-2024-presidential-campaign.html Voters                                          By Matt Flegenheimer               TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/04/us/polit Trump Indictment Presents New Obstacle to
2023-08-04   2023-08-05 ics/trump-house-budget-fbi-republicans.html Avoiding a Shutdown                           By Carl Hulse                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/world/a Nigers Coup Leaders Cut Ties With France
2023-08-04   2023-08-05 frica/niger-president-coup-us.html          Detained Leader Says Hes a Hostage            By Elian Peltier                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/world/a Anger Builds in China as Areas Are
2023-08-04   2023-08-05 sia/china-flood-beijing-rain.html           Deliberately Flooded to Save Beijing          By Keith Bradsher                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/world/a India Court Clears Way for Opposition
2023-08-04   2023-08-05 sia/india-rahul-gandhi-defamation.html      Leaders Return to Parliament                  By Alex Travelli                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/world/a
                        sia/sunil-jaglan-india-haryana-womens-      A Father Battles Prenatal Testing To Target
2023-08-04   2023-08-05 rights.html                                 Girls                                         By Sameer Yasir                    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/04/world/e Greece Says It Will Limit Daily Visitors To    By Niki Kitsantonis and Isabella
2023-08-04   2023-08-05 urope/greece-acropolis-tourism-europe.html Acropolis                                      Kwai                               TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/04/world/e New 19Year Prison Term For Navalny Who         By Paul Sonne and Valeriya
2023-08-04   2023-08-05 urope/navalny-putin-opposition-verdict.html Called His Case a Life Sentence               Safronova                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/world/e Russian Ship Damaged at Sea Shows Reach        By Marc Santora and Christiaan
2023-08-04   2023-08-05 urope/ukraine-drone-russian-ship.html       of Ukraines Naval Drones                      Triebert                           TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/04/world/e After Catastrophe of Dams Destruction a    By Jeffrey Gettleman and Finbarr
2023-08-04   2023-08-05 urope/ukraine-kakhovka-dam-artifacts.html Trove of Artifacts Is Revealed              OReilly                                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/world/e
                        urope/young-catholics-pope-francis-          Young Catholics Together Even if Not in
2023-08-04   2023-08-05 portugal.html                                Agreement                                By Jason Horowitz                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/sports/n
                        caafootball/pac-12-oregon-washington-big-ten EverShrinking Pac12 Loses Oregon and
2023-08-05   2023-08-05 big-12.html                                  Washington to the Big Ten                By Billy Witz                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/us/polit Testimony Rejects Claims Of Wrongdoing by
2023-08-05   2023-08-05 ics/biden-devon-archer-testimony.html        Bidens                                   By Luke Broadwater                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/technol Big Tech Rallies and Channels Its New
2023-08-05   2023-08-05 ogy/tech-nvidia-chips.html                   Momentum Into AI                         By Tripp Mickle                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/us/polit                                           By Alan Feuer Ben Protess and
2023-08-05   2023-08-05 ics/trump-charges-lawyer-conflicts.html      Entanglements Are Shadowing Trumps Team Maggie Haberman                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/world/e                                            By Mara Hvistendahl David A
                        urope/neville-roy-singham-china-             Rich US Leftist Linked to Web Of Global  Fahrenthold Lynsey Chutel and
2023-08-05   2023-08-05 propaganda.html                              Chinese Propaganda                       Ishaan Jhaveri                         TX 9-325-179   2023-10-02



                                                                                 Page 5567 of 5793
                        https://www.nytimes.com/2023/04/25/books/r
                        eview/wonder-boy-angel-au-yeung-david-
2023-04-25   2023-08-06 jeans.html                                  The Dark Side                               By Ellen Barry                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/04/26/books/r
                        eview/knowing-what-we-know-simon-
2023-04-26   2023-08-06 winchester.html                             What Do You Know                            By Peter Sagal                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/04/29/books/r
2023-04-29   2023-08-06 eview/birth-rebecca-grant.html              Maternal Feelings                           By Judith Warner                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/05/11/books/r
2023-05-11   2023-08-06 eview/tc-boyle-blue-skies.html              Coastal Disturbances                        By Matt Bell                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/05/12/books/s
2023-05-12   2023-08-06 teven-wright-harold.html                    A Lot on His Mind                           By Michael Ian Black            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/05/15/books/c
2023-05-15   2023-08-06 lose-to-home-michael-magee.html             Back to Belfast                             By Eli Cranor                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/05/15/special- Remixing Black Culture in a Kaleidoscope of By Joshua Needelman and Sasha
2023-05-15   2023-08-06 series/quilting-textiles-bisa-butler.html   Fabric                                      Arutyunova                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/03/books/r
2023-06-03   2023-08-06 eview/the-whispers-ashley-audrain.html      Red Hot Mamas                               By Ivy Pochoda                  TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/06/06/books/r
2023-06-06   2023-08-06 eview/countries-of-origin-javier-fuentes.html Homecoming Homegoing                       By Patrick Nathan              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/08/books/r
                        eview/you-have-to-be-prepared-to-die-before-
2023-06-08   2023-08-06 you-can-begin-to-live-paul-kix.html           A HighStakes Gamble in Birmingham          By Jefferson Cowie             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/13/books/r
                        eview/my-stupid-intentions-bernardo-
2023-06-13   2023-08-06 zannoni.html                                  Weasel Words                               By Lydia Millet                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/13/books/r
                        eview/revolutionary-spring-christopher-
2023-06-13   2023-08-06 clark.html                                    The Only Revolutions That Matter           By Alexander Zevin             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/18/books/r
                        eview/fat-time-and-other-stories-jeffery-
2023-06-18   2023-08-06 renard-allen.html                             A Wrinkle in Time                          By Randy Boyagoda              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/01/books/r
                        eview/theory-of-everything-else-dan-
2023-07-01   2023-08-06 schreiber.html                                Stranger Things                            By Dan Piepenbring             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/10/books/r
2023-07-10   2023-08-06 eview/hope-andrew-ridker.html                 Nosedive                                   By Cathi Hanauer               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/18/arts/mu How Do You Tell the Story of 50 Years of
2023-07-18   2023-08-06 sic/hip-hop-50th-anniversary.html             HipHop                                     By Jon Caramanica              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/18/books/r Can a Poem Be Too Short It Depends on the
2023-07-18   2023-08-06 eview/new-poetry-short-poems.html             Poem and the Reader                        By Elisa Gabbert               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/25/style/ge
2023-07-25   2023-08-06 n-x-elon-musk-new-logo.html                   X The Brand the Generation and Elon Musk   By Stella Bugbee               TX 9-325-179   2023-10-02




                                                                                Page 5568 of 5793
                        https://www.nytimes.com/2023/07/26/style/be Use These Fans to Keep Cool Or to Channel
2023-07-26   2023-08-06 st-hand-fans.html                           Beyonc                                    By Hilary Reid                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/27/books/r
                        eview/27insidethelist-sager-the-only-one-   How Does a Prolific Author Deal With Cold
2023-07-27   2023-08-06 left.html                                   Feet                                      By Elisabeth Egan               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/28/books/r
2023-07-28   2023-08-06 eview/new-historical-fiction.html           Minor Characters                          By Alida Becker                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/28/books/r
                        eview/pageboy-elliot-page-what-the-dead-
                        know-barbara-butcher-the-forgotten-girls-
2023-07-28   2023-08-06 monica-potts.html                           Reliable Narrators                        By Sebastian Modak              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/29/fashion
                        /weddings/germany-plate-smashing-wedding- Celebrating a Bride and Grooms First Broken
2023-07-29   2023-08-06 tradition.html                              Plates                                    By Alix Strauss                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/29/nyregio Where Wildflowers Grow the Nights Are
2023-07-29   2023-08-06 n/connecticut-firefly-sanctuary.html        Alight                                    By Amelia Nierenberg            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/30/books/r
2023-07-30   2023-08-06 eview/daniel-kraus-whalefall.html           Belly of the Beast                        By Sarah Lyall                  TX 9-325-179   2023-10-02

                        https://www.nytimes.com/interactive/2023/07/ Alok VaidMenon Is Fighting for Trans
2023-07-30   2023-08-06 29/magazine/alok-vaid-menon-interview.html Ordinariness                               By David Marchese               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/movies/ Zach Galifianakis Tunes In to Radio and
2023-07-31   2023-08-06 zach-galifianakis-beanie-bubble.html         Nature                                   By Chris Kornelis               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/opinion Womens Weak Language Is a Source of
2023-07-31   2023-08-06 /women-language-work.html                    Strength                                 By Adam Grant                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/realesta Bored by the Bay Area They Escaped to New
2023-07-31   2023-08-06 te/renters-bay-area-nyc-move.html            York                                     By Lia Picard                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/magazi
2023-08-01   2023-08-06 ne/lady-wray-breakup-song.html               Piece of Me                              By Brontez Purnell              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/nyregio                                            By Julie Besonen and Lanna
2023-08-01   2023-08-06 n/sardis-bartender-joe-petrsoric.html        Last Call for a Sardis Veteran           Apisukh                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/opinion
2023-08-01   2023-08-06 /fear-crime-rates.html                       Does Fear of Crime Fuel More Crime       By Neil Gross                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/realesta Weekend Getaway Full of Family and
2023-08-01   2023-08-06 te/jose-llana-hamptons.html                  Memories                                 By Joanne Kaufman               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/us/hike Hot Summer Turns Deadly For Hikers in the
2023-08-01   2023-08-06 rs-heat-deaths.html                          Southwest                                By Jacey Fortin                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/01/style/pa
2023-08-02   2023-08-06 ul-reubens-pee-wee-herman-pinky-lee.html Peewees Precursor Had a Similar Style            By Guy Trebay               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/arts/rog Roger Sprung 92 Godfather Of Progressive
2023-08-02   2023-08-06 er-sprung-dead.html                          Bluegrass Music                              By Alex Williams            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/books/a
                        is-inroads-in-publishing-touch-off-fear-and- AIs Inroads in Publishing Touch Off Fear and By Elizabeth A Harris and
2023-08-02   2023-08-06 creativity.html                              Creativity                                   Alexandra Alter             TX 9-325-179   2023-10-02



                                                                                 Page 5569 of 5793
                        https://www.nytimes.com/2023/08/02/magazi
2023-08-02   2023-08-06 ne/ct-scan-body.html                      Gut Check                                    By BD McClay                    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/02/magazi
2023-08-02   2023-08-06 ne/ghali-italy-migrants.html              Bring the Noise                              By Alia Malek                   TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/02/magazi
2023-08-02   2023-08-06 ne/the-best-chilaquiles-youve-ever-had.html The Best Chilaquiles Youve Ever Had        By Bryan Washington             TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/02/opinion
                        /philadelphia-photography-youth-rec-                                                   By Adrian Eli Ren and Airea D
2023-08-02   2023-08-06 centers.html                                 Where Fun Is Every Childs Birthright      Matthews                        TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/02/realesta A Quiet Shoreline Town With Relatively Low
2023-08-02   2023-08-06 te/old-saybrook-connecticut.html             Taxes                                     By Lisa Prevost                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/02/style/rel
2023-08-02   2023-08-06 ationship-gift-giving.html                   Share Your Thoughts                       By Philip Galanes               TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/02/style/ro
2023-08-02   2023-08-06 ger-federer-is-having-fun-in-retirement.html Roger Federer Is Winning Retirement        By Alyson Krueger                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/style/sa For Striking Actors Cameo Makes a
2023-08-02   2023-08-06 g-aftra-strike-cameo.html                    Comeback                                   By Perri Ormont Blumberg         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/us/presi
2023-08-02   2023-08-06 dential-signatures-lost-card.html            8 Presidents Signed It And He Lost It      By Michael Levenson              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/world/t
2023-08-02   2023-08-06 rump-indictments-prosecution.html            A Trump Turning Point History Isnt So Sure By Amanda Taub                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/arts/des Myron Goldfinger 90 Architect of
2023-08-03   2023-08-06 ign/myron-goldfinger-dead.html               Monumental Modernist Homes Dies            By Clay Risen                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/books/r
                        eview/childrens-book-authors-creator-        In an Open Loft in Gowanus Six Authors and By Elizabeth A Harris and
2023-08-03   2023-08-06 loft.html                                    Artists Collaborate and Commune            Adrianna Glaviano                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/busines Richard O Simpson Nations First Consumer
2023-08-03   2023-08-06 s/richard-o-simpson-dead.html                Safety Chief Dies at 93                    By Sam Roberts                   TX 9-325-179   2023-10-02
                                                                     In the Decade Since Xi Jinping Came to
                                                                     Power Some Chinese Writers Have Tried to
                        https://www.nytimes.com/2023/08/03/magazi Capture the everyday Realities that the
2023-08-03   2023-08-06 ne/chinese-literature-censorship.html        Government Hides                           By Han Zhang                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/magazi
                        ne/judge-john-hodgman-on-getting-a-
2023-08-03   2023-08-06 colonoscopy.html                             Bonus Advice From Judge John Hodgman       By John Hodgman                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/magazi
2023-08-03   2023-08-06 ne/poem-powerless-self-judgement.html        Poem Powerless SelfJudgement               By Will Alexander and Anne Boyer TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/nyregio
2023-08-03   2023-08-06 n/fire-truck-chasers-gangs-nyc.html          After Fires Cleanups Entangled In Menace   By Michael Wilson                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/opinion
2023-08-03   2023-08-06 /prison-music-redemption.html                The Sound Of Redemption                    By Maurice Chammah               TX 9-325-179   2023-10-02




                                                                               Page 5570 of 5793
                        https://www.nytimes.com/2023/08/03/opinion
                        /trump-indictment-civil-rights-
2023-08-03   2023-08-06 reconstruction.html                          The Power Of a Law From 1870               By Ian Bassin and Kristy Parker TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/realesta
2023-08-03   2023-08-06 te/rent-increase-us.html                     Up and Down but Smaller Increases          By Michael Kolomatsky           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/science A Physics Breakthrough Or a Frenzy for
2023-08-03   2023-08-06 /lk-99-superconductor-ambient.html           Naught                                     By Kenneth Chang                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/style/jel JellO Shots Bring the Jiggle Back to the
2023-08-03   2023-08-06 lo-shots-cocktails-bars.html                 Cocktail                                   By Alyson Krueger               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/us/feins For Ailing Feinstein Family Fortune Is Root
2023-08-03   2023-08-06 tein-husband-estate-family-fortune.html      Of a Bitter Legal Fight                    By Tim Arango and Shawn Hubler TX 9-325-179    2023-10-02
                        https://www.nytimes.com/interactive/2023/08/
                        03/realestate/apartment-harlem-morningside- Seeking a Perch Above Central Park for Less
2023-08-03   2023-08-06 heights-nyc.html                             Than 800000 Which Option Did They Choose By Joyce Cohen                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/interactive/2023/08/
2023-08-03   2023-08-06 03/style/birding-blind-low-vision.html       Birds Are My Eyesight                      By Alexandra Marvar             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/books/j Julia Scully 94 Acclaimed Photo Editor and
2023-08-04   2023-08-06 ulia-scully-dead.html                        Writer                                     By Richard Sandomir             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/books/r
                        eview/paul-bunyan-the-invention-of-an-
2023-08-04   2023-08-06 american-legend-noah-van-sciver.html         Tall Tale                                  By Patricia Nelson Limerick     TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/04/busines
2023-08-04   2023-08-06 s/private-equity-public-pension-funds.html    The Hidden Risks in Public Pension Funds By Jeff Sommer                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/04/nyregio
2023-08-04   2023-08-06 n/new-york-crime-bernhard-goetz.html          Why Our Fears Exceed the Crime Stats     By Ginia Bellafante            TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/04/opinion Our Beech Tree Can Teach Us About the
2023-08-04   2023-08-06 /climate-change-future-normal.html            Possibility of the Future                By Elizabeth Rush              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/04/opinion
2023-08-04   2023-08-06 /conspiracy-theory-qanon.html                 How QAnon Broke Conspiracy Culture       By Annie Kelly                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/04/opinion The Supreme Court Is Conservative Not
2023-08-04   2023-08-06 /sunday/supreme-court-conservative.html       MAGA                                     By David French                TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/04/opinion Donald Trumps Way of Speaking Defies All
2023-08-04   2023-08-06 /trump-indictment-fraud.html                  Logic                                    By Michael Wolff               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/04/opinion
                        /trump-indictment-jeffrey-clark-insurrection-
2023-08-04   2023-08-06 act.html                                      What Trumps Indictment Reveals           By Jamelle Bouie               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/04/realesta
2023-08-04   2023-08-06 te/mortgage-rates-increase.html               MortgageRate Envy Youre Not Alone        By Ronda Kaysen                TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/04/realesta A Whisper Listing Shouts in a 52 Million
2023-08-04   2023-08-06 te/soho-west-village-penthouses.html          Deal in Lower Manhattan                  By Vivian Marino               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/04/science Hellooooo Voyager 2 Answers LongDistance
2023-08-04   2023-08-06 /nasa-voyager-2-contact.html                  Shout                                    By Katrina Miller              TX 9-325-179     2023-10-02




                                                                                Page 5571 of 5793
                        https://www.nytimes.com/2023/08/04/sports/b
                        aseball/japan-high-school-tournament-       In Japan the Soundtrack for a Sport Youth and
2023-08-04   2023-08-06 song.html                                   Summer                                        By Brad Lefton                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/style/an How Sure of Love 100 Percent and Then
2023-08-04   2023-08-06 ne-huntington-tyler-depatis-wedding.html    Some                                          By Anna Grace Lee               TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/04/style/ch The Unlikely RunIn That Blossomed Into
2023-08-04   2023-08-06 ristopher-reynolds-john-hewitt-wedding.html More                                        By Aamina Khan                    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/04/style/ka Was It a Job Interview or a Date She Soon
2023-08-04   2023-08-06 therine-maher-ashutosh-upreti-wedding.html Found Out                                    By Rosalie R Radomsky             TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/04/style/m
2023-08-04   2023-08-06 odern-love-muslim-christian-relationship.html Above All Sharing a Faith in Each Other   By Istiaq Mian                    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/04/style/oli To Seal the Deal Bringing Out the
2023-08-04   2023-08-06 via-amitrano-nicholas-vazquez-wedding.html Tupperware                                   By Jenny Block                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/technol
                        ogy/the-chip-titan-whose-lifes-work-is-at-the- A Chip Titan Can No Longer Stay Offstage
2023-08-04   2023-08-06 center-of-a-tech-cold-war.html                 In a Tech War                            By Paul Mozur and John Liu        TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/04/us/polit
2023-08-04   2023-08-06 ics/trump-indictment-jack-smith-charges.html Layered Case In Indictment Reduces Risk   By Charlie Savage                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/us/flori In a Reversal AP Psychology May Be Taught
2023-08-05   2023-08-06 da-ap-psychology.html                        in Florida                                By Sarah Mervosh                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/us/texa Judge Clarifies Exceptions to Abortion Bans
2023-08-05   2023-08-06 s-abortion-ban-lawsuit-ruling.html           in Texas                                  By Kate Zernike                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/arts/mu A Tour That Shook the Earth And a Star on
2023-08-05   2023-08-06 sic/taylor-swift-eras-tour.html              Top of the World                          By Ben Sisario                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/busines
                        s/womens-magazines-facebook-social-
2023-08-05   2023-08-06 media.html                                   Now Whos Going to Tell Me What to Wear By Sapna Maheshwari                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/magazi
                        ne/loudoun-county-bathroom-sexual-
2023-08-05   2023-08-06 assault.html                                 The Battle of Loudoun County              By Charles Homans                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/nyregio Their Food Is Hailed They Want the Right to
2023-08-05   2023-08-06 n/corona-plaza-street-food-vendors.html      Sell It                                   By Stefanos Chen and Ral Vilchis   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/nyregio Teen Is Charged With Hate Crime in Killing
2023-08-05   2023-08-06 n/oshae-sibley-stabbing-charges.html         of Dancer                                 By Hurubie Meko                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/nyregio
2023-08-05   2023-08-06 n/summerstage-erika-elliott.html             Her Day Starts Well Before the Shows Do   By Alix Strauss                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/opinion Will AI Make Me More Independent Is That
2023-08-05   2023-08-06 /blindness-ai-technology.html                Good                                      By Andrew Leland                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/opinion
2023-08-05   2023-08-06 /hog-farming-secret-video.html               The Truth About Your Bacon                By Nicholas Kristof                TX 9-325-179   2023-10-02



                                                                                  Page 5572 of 5793
                        https://www.nytimes.com/2023/08/05/opinion What New York City Needs to Defy the Odds
2023-08-05   2023-08-06 /new-york-city-immigration-housing.html     Again                                      By The Editorial Board             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/opinion
2023-08-05   2023-08-06 /personalized-medicine-genes.html           Personalized Medicines False Promise       By James Tabery                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/opinion
2023-08-05   2023-08-06 /trump-2024-strategy-campaign.html          Opposing Trump PostIndictments             By Ross Douthat                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/opinion
2023-08-05   2023-08-06 /trump-coup-indict-trial.html               CoupCoupCaChoo TrumpStyle                  By Maureen Dowd                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/realesta In a Coop Building Who Should Pay To Fix a
2023-08-05   2023-08-06 te/co-op-apartment-repairs.html             Problem With the Plumbing                  By Jill Terreri Ramos              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/sports/s
                        occer/world-cup-australia-womens-           Finally Australians Share the Triumphs Of
2023-08-05   2023-08-06 sports.html                                 Womens Sports                              By Natasha Frost                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/style/i-
2023-08-05   2023-08-06 put-on-lipstick-for-this.html               I Chose to Put On Lipstick for All This    By Rebecca Anne Nguyen             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/us/clare
2023-08-05   2023-08-06 nce-thomas-rv-anthony-welters.html          How a Justice Came to Own A Luxury RV By Jo Becker and Julie Tate             TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/05/us/polit Prosecutors Seek Protective Order Over      By Alan Feuer and Maggie
2023-08-05   2023-08-06 ics/jack-smith-trump-threat-social-media.html Evidence                                  Haberman                          TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/05/us/polit On Campaign Trail Difficulty Avoiding Talk By Lisa Lerer and Nicholas
2023-08-05   2023-08-06 ics/republicans-presidential-race-trump.html of Trumps Latest Charges                  Nehamas                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/world/a Waning Influence for France the Colonizer
2023-08-05   2023-08-06 frica/niger-coup-france-west-africa.html     That Stayed in West Africa                By Elian Peltier                   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/05/world/a 7 Arrested Over Threats Of Attacks Around
2023-08-05   2023-08-06 sia/arrests-copycat-threats-south-korea.html Seoul                                       By John Yoon                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/world/a Khan Sentenced to Prison in Pakistan Most     By Salman Masood and Christina
2023-08-05   2023-08-06 sia/imran-khan-pakistan-arrested.html        Likely Ending His Comeback Bid              Goldbaum                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/world/a
                        sia/rooftopping-trend-remi-lucidi-hong-                                                  By Mike Ives Juliette
2023-08-05   2023-08-06 kong.html                                    Stunning Photographs With Very High Risks GuronGabrielle and Tiffany May     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/world/a                                               By Marc Santora and Christiaan
2023-08-05   2023-08-06 sia/russia-ukraine-crimea-attack.html        Russian Oil Tanker Hit By a Ukrainian Drone Triebert                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/world/a
                        sia/scout-jamboree-heat-wave-south-
2023-08-05   2023-08-06 korea.html                                   Heat Is Forcing Scouts to Leave Jamboree    By John Yoon                     TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/05/world/e Ukrainians Dispirited as Pope Fails to Rebuke
2023-08-05   2023-08-06 urope/pope-francis-fatima-ukraine-russia.html Russia at World Youth Day                  By Jason Horowitz                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/world/e Man of the People Jolted by a Mutiny Putin
2023-08-05   2023-08-06 urope/putin-russia-war-mutiny-crowd.html      Works the Crowds                           By Paul Sonne                    TX 9-325-179   2023-10-02




                                                                                Page 5573 of 5793
                        https://www.nytimes.com/2023/08/05/world/e Ukraine Begins a New Diplomatic Push to         By Marc Santora Vivian Nereim
2023-08-05   2023-08-06 urope/ukraine-war-saudi-arabia-russia.html Try to Weaken Russia                            and David Pierson               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/world/
                        middleeast/israel-two-pools-religious-      An Israeli City Where Opposing Views Swim By Patrick Kingsley and Gabby
2023-08-05   2023-08-06 secular.html                                Side by Side                                   Sobelman                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/world/
                        middleeast/palestinian-shooting-israel-tel- Israeli Guard Is Shot Dead After Settler Kills
2023-08-05   2023-08-06 aviv.html                                   Palestinian                                    By Patrick Kingsley             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/health/s Sleepaway Camp Staples Sun Fun Games and By Ellen Barry and Brittainy
2023-08-06   2023-08-06 ummer-camp-mental-health.html               Now Therapy                                    Newman                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/insider/ A Real Estate Reporter Interested in Interest
2023-08-06   2023-08-06 mortgage-rate-envy.html                     Envy                                           By Josh Ocampo                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/reader-
2023-08-06   2023-08-06 center/oppenheimer-william-laurence.html    An Ambiguous Account                           By David W Dunlap               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/us/cape- Battle Over Shacks in the Sand No Electricity
2023-08-06   2023-08-06 cod-dune-shacks.html                        but Kerouac Was Here                           By Jenna Russell                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/us/puls For Pulse Massacre Survivors New Push for
2023-08-06   2023-08-06 e-shooting-building-complaints.html         Answers                                        By Frances Robles               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/opinion
                        /will-my-daughter-inherit-my-eating-        A Legacy I Dont Want to Pass Down to My
2023-07-31   2023-08-07 disorder.html                               Daughter                                       By Jillian Weinberger           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/movies/
2023-08-01   2023-08-07 cinema-therapy-barbie-oppenheimer.html      On the Big Screen And on the Couch             By Gabe Cohn                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/busines Passion for Your Job May Not Be Essential
2023-08-03   2023-08-07 s/work-passion-overrated.html               For Successful Career                          By Alina Tugend                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/arts/dan
                        ce/here-lies-love-annie-b-parson-
2023-08-04   2023-08-07 choreography.html                           This Musical Dictates Your Moves               By Brian Seibert                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/arts/mu Russian Soprano Fired by Met Opera Files
2023-08-04   2023-08-07 sic/anna-netrebko-sues-met-opera.html       Suit                                           By Javier C Hernndez            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/arts/mu Singer Leny Andrade 80 the First Lady of
2023-08-04   2023-08-07 sic/leny-andrade-dead.html                  Brazilian Jazz Dazzled the Greats              By Alex Williams                TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/04/arts/tele
2023-08-04   2023-08-07 vision/winning-time-season-2-lakers-hbo.html A Dynasty Returns Artistic License Does Too By Tania Ganguli                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/busines
                        s/economy/nevada-economy-las-vegas-          The Recovery Left Nevada Behind Can the
2023-08-04   2023-08-07 jobs.html                                    State Change Its Luck                       By Kurtis Lee                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/technol
2023-08-04   2023-08-07 ogy/tsmc-mark-liu.html                       Chip Maker Keeps Roots In Taiwan            By John Liu and Paul Mozur        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/busines Analyst Who Was 1st to Slash US LongTerm By Sarah Kessler Lauren Hirsch
2023-08-05   2023-08-07 s/dealbook/fitch-us-credit-rating.html       Credit Rating Feels Vindicated              and Michael J de la Merced        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/busines Wells Fargo Customer Deposits Vanish After
2023-08-05   2023-08-07 s/wells-fargo-missing-deposits.html          a Technical Issue                           By Orlando Mayorquin              TX 9-325-179   2023-10-02



                                                                                 Page 5574 of 5793
                        https://www.nytimes.com/2023/08/05/nyregio For Adams Raising the Flags of Myriad
2023-08-05   2023-08-07 n/eric-adams-flags.html                     Countries Hits a Political Sweet Spot         By Dana Rubinstein     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/obituari Charles J Ogletree Jr 70 Is Dead At Harvard
2023-08-05   2023-08-07 es/charles-j-ogletree-jr-dead.html          Law a Voice for Justice                       By Clay Risen          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/opinion
2023-08-05   2023-08-07 /trump-jan-6-trial-tv.html                  Let the World See the Jan 6 Trial             By Steven Brill        TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/05/sports/ Among the Fastest Ever But Still Missing a
2023-08-05   2023-08-07 marie-josee-ta-lou-world-championships.html Gold                                          By Kris Rhim           TX 9-325-179   2023-10-02
                                                                    Florence Berger Professor 83 A Sense of
                        https://www.nytimes.com/2023/08/05/style/fl Human Chemistry Shaped Years of
2023-08-05   2023-08-07 orence-berger-dead.html                     Matchmaking                                   By Sam Roberts         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/us/austi Too Many Police An Uneasy Alliance in
2023-08-05   2023-08-07 n-police-texas-state-troopers.html          Austin                                        By J David Goodman     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/us/cybe Cyberattack Sabotages Medical Sites In Four
2023-08-05   2023-08-07 rattack-hospitals-california.html           States                                        By Rebecca Carballo    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/us/polit
                        ics/huntsville-space-command-colorado-      Rocket City Suddenly Finds Itself on the
2023-08-05   2023-08-07 springs.html                                Outside Looking In                            By Emily Cochrane      TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/05/world/a
                        frica/henri-konan-bedie-ivory-coast-president- Henri Konan Bdi 89 Overthrown in a Coup In
2023-08-05   2023-08-07 deposed-in-a-coup-dies-at-89.html              Ivory Coast Is Dead                          By Clay Risen        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/sports/o
                        lympics/simone-biles-gymnastics-us-            Biles Returns to Elite Competition With Her
2023-08-06   2023-08-07 classic.html                                   Customary Winning Form                       By Maggie Astor      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/world/a
2023-08-06   2023-08-07 sia/south-korea-stabbing-car-death.html        Woman Dies After Rampage In South Korea By Jin Yu Young           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/arts/dan Mourning and Celebration at the Bessie
2023-08-06   2023-08-07 ce/bessie-awards-lincoln-center.html           Awards                                       By Rachel Sherman    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/arts/mu
2023-08-06   2023-08-07 sic/santa-fe-opera-orfeo.html                  At Santa Fe Opera Whats Old Is New           By Joshua Barone     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/busines In US First False Arrest By Face Scan Of a
2023-08-06   2023-08-07 s/facial-recognition-false-arrest.html         Woman                                        By Kashmir Hill      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/busines
2023-08-06   2023-08-07 s/uaw-auto-workers-contract.html               Auto Union Is Preparing For a Fight          By Neal E Boudette   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/crossw
2023-08-06   2023-08-07 ords/daily-puzzle-2023-08-07.html              Besting a Beastly and Frightfully Fun Puzzle By Sam Corbin        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/movies/ Barbie Hits 1 Billion at Box Office Studio
2023-08-06   2023-08-07 barbie-1-billion-box-office.html               Says                                         By Brooks Barnes     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/nyregio
                        n/serial-killers-gilgo-beach-rex-              Gilgo Beach Case Highlights a Storied but
2023-08-06   2023-08-07 heuermann.html                                 Declining Peril Serial Killers               By Hurubie Meko      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/opinion The Upside of Climate Chaos Skiing in
2023-08-06   2023-08-07 /california-skiing-climate-change.html         August                                       By Daniel Duane      TX 9-325-179   2023-10-02



                                                                                  Page 5575 of 5793
                        https://www.nytimes.com/2023/08/06/sports/b
                        asketball/basketball-players-union-         The Jacksons Proudly Carrying the Union
2023-08-06   2023-08-07 jackson.html                                Label                                      By Tania Ganguli                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/sports/s Soccers Favorite Headband Is Actually a
2023-08-06   2023-08-07 occer/headband-pre-wrap-uswnt.html          Wrap for Ankles                            By Claire Fahy                    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/06/sports/s As Rapinoe Exits Her Legacy Is Felt Far
2023-08-06   2023-08-07 occer/megan-rapinoe-womens-world-cup.html Beyond Soccer                                  By Jer Longman                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/sports/s
                        occer/us-sweden-penalty-shots-womens-world
2023-08-06   2023-08-07 cup.html                                    How the US Was Eliminated Shot by Shot       By Juliet Macur                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/sports/s
                        occer/womens-world-cup-netherlands-south- Topping South Africa Netherlands Advances
2023-08-06   2023-08-07 africa.html                                 To the Quarterfinals                         By Rory Smith                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/technol
                        ogy/elon-musk-mark-zuckerberg-cage-         Momentum for a Billionaires Cage Match
2023-08-06   2023-08-07 match.html                                  Fades                                        By Mike Isaac                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/us/calif Judge Held in Connection With Killing of His
2023-08-06   2023-08-07 ornia-judge-arrest-wife-murder.html         Wife                                         By Eduardo Medina               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/us/polit DeSantis Ramps Up Retail Politics in Iowa
2023-08-06   2023-08-07 ics/desantis-iowa-wedding-2024.html         Seeing a Path There                          By Nicholas Nehamas             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/us/polit
2023-08-06   2023-08-07 ics/rfk-campaign-kennedy-family.html        Kennedys Bid For Presidency Jolts Camelot By Peter Baker                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/us/polit Trump Lawyer Describes the Effort to         By Luke Broadwater and Maggie
2023-08-06   2023-08-07 ics/trump-lawyer-pence-truth-social.html    Overturn the 2020 Election as Aspirational   Astor                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/us/polit Attacks on Wokeness Falling Flat With GOP
2023-08-06   2023-08-07 ics/woke-republicans-poll.html              Voters                                       By Jonathan Weisman             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/world/a War Mediation or Silence Deadline Passes By Elian Peltier and Omar Hama
2023-08-06   2023-08-07 frica/niger-coup-deadline.html              for Leaders of a Coup in Niger               Saley                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/world/a Despite Mini Release Barbie Film Becomes
2023-08-06   2023-08-07 sia/china-barbie-women-feminism.html        A Sleeper Hit in China                       By Vivian Wang and Siyi Zhao    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/world/a Train Derails in Pakistan Killing at Least 30 By Salman Masood and Zia
2023-08-06   2023-08-07 sia/pakistan-train-derails.html             and Injuring More                            urRehman                        TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/06/world/e In Lawsuit Swiss Women Say Being
2023-08-06   2023-08-07 urope/heat-wave-older-women-lawsuit.html Protected From Warming Is a Right             By Isabella Kwai                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/world/e Desire Behind Putins War Wider Conflict     By Roger Cohen and Nanna
2023-08-06   2023-08-07 urope/putins-forever-war.html              With West                                   Heitmann                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/world/e
                        urope/ukraine-war-expands-beyond-          As War in Ukraine Grinds On Fighting        By Matthew Mpoke Bigg Vivek
2023-08-06   2023-08-07 battlefields.html                          Expands to New Battlefields                 Shankar and Anushka Patil         TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/06/world/ Egypts Poorly Funded Schools Empty Out as
2023-08-06   2023-08-07 middleeast/egypt-public-schools-tutoring.html Parents Pivot to Tutors               By Vivian Yee                        TX 9-325-179   2023-10-02




                                                                                Page 5576 of 5793
                        https://www.nytimes.com/2023/08/07/arts/tele
                        vision/whats-on-tv-this-week-outlander-and-
2023-08-07   2023-08-07 hard-knocks.html                             This Week on TV                              By Shivani Gonzalez              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/nyregio
                        n/congestion-pricing-phil-murphy-new-        Trash Talk Across the Hudson In a
2023-08-07   2023-08-07 jersey.html                                  Congestion Pricing Fight                     By Tracey Tully                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/26/health/c
2023-07-26   2023-08-08 ancer-self-destruct.html                     A Key to Making Cancers SelfDestruct         By Gina Kolata                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/26/well/mi Questions About a Supposed Alternative to
2023-07-26   2023-08-08 nd/kratom-health-risks.html                  Opioids                                      By Dani Blum                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/27/health/a
2023-07-27   2023-08-08 lpha-gal-ticks-meat-allergy.html             MeatAllergy Cases Linked to Ticks Rise       By Emily Anthes                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/27/science Cosmic Mirror Titanium Clouds Engulf
2023-07-27   2023-08-08 /space/titanium-clouds-exoplanet.html        NeptuneLike Planet                           By Katrina Miller                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/28/well/liv
                        e/water-contamination-beach-safety-
2023-07-28   2023-08-08 swimming.html                                Is That Water Safe to Swim In                By Melinda Wenner Moyer          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/28/world/a
2023-07-28   2023-08-08 ustralia/the-state-of-womens-soccer.html     Professionalization Playing Out at World Cup By Yan Zhuang                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/well/liv
2023-07-31   2023-08-08 e/women-alcohol-deaths.html                  AlcoholRelated Deaths Rising for Women       By Dani Blum                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/books/u
2023-08-01   2023-08-08 yghur-memoir-tahir-izgil.html                The Toll of a Life Spent Under a Heavy Hand By Tiffany May                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/science Jellyfish Fossil Squishy Way Back but Rock
2023-08-01   2023-08-08 /oldest-jellyfish-fossil.html                Hard Ever Since                              By Jack Tamisiea                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/well/liv
2023-08-01   2023-08-08 e/menopause-hair-loss.html                   Is Menopause Changing My Hair                By Alisha Haridasani Gupta       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/well/m
2023-08-01   2023-08-08 ove/workout-fitness-over-40.html             Adjusting Workouts As You Age                By Danielle Friedman             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/climate                                                By Delger Erdenesanaa and Leanne
2023-08-02   2023-08-08 /antarctic-sea-ice-record-low.html           Antarcticas Sea Ice at an Unprecedented Low Abraham                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/science
2023-08-02   2023-08-08 /whale-fossil-weight.html                    Scientists Behold a Mammoth of a Whale       By Carl Zimmer                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/science Shock Treatment Along Power Lines Birds
2023-08-03   2023-08-08 /birds-shot-power-lines.html                 Face Double Threat                           By Carolyn Wilke                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/well/fa
                        mily/friendship-intergenerational-age-
2023-08-03   2023-08-08 gap.html                                     The Joy of Intergenerational Friendship      By Catherine Pearson             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/movies/ Jess Search 54 Dynamic Force Behind
2023-08-04   2023-08-08 jess-search-dead.html                        Documentaries Is Dead                        By Neil Genzlinger               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/movies/
2023-08-04   2023-08-08 kids-movies-streaming.html                   Super Pets a ShapeShifter and a Ladybug      By Dina Gachman                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/science Brooding Species New Antarctic Starfish Are
2023-08-04   2023-08-08 /antarctica-starfish-brooding.html           Doting Parents and Vicious Predators         By Darren Incorvaia              TX 9-325-179   2023-10-02




                                                                                Page 5577 of 5793
                        https://www.nytimes.com/2023/08/04/us/beag For Many of 4000 Beagles Rescued From        By Lauren McCarthy and Johnny
2023-08-04   2023-08-08 les-rescue-adoption.html                   Research Facility Life Is Good               Diaz                               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/05/health/ Retiring in the Sun Belt Promises Lots of
2023-08-05   2023-08-08 heat-health-seniors.html                   Sweat                                        By Paula Span                      TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/05/science
2023-08-05   2023-08-08 /space-asteroids-rubin-heliolinc3d.html    Preventing Asteroid Collision                By Robin George Andrews            TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/05/travel/a New Frontier in Travel Scams Guidebooks
2023-08-05   2023-08-08 mazon-guidebooks-artificial-intelligence.html Generated by AI                              By Seth Kugel and Stephen Hiltner TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/us/polit Harris Is Taking On a Forceful New Role in
2023-08-06   2023-08-08 ics/kamala-harris-prosecutor.html             Bidens 2024 Campaign                         By Zolan KannoYoungs              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/arts/dan
2023-08-07   2023-08-08 ce/oshae-sibley-vogueing-memorial.html        Honoring the Dancer Who Wouldnt Stop         By Gia Kourlas                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/arts/mu
                        sic/cindy-birdsong-supremes-                                                               By Julia Jacobs and Christopher
2023-08-07   2023-08-08 conservatorship.html                           Court Weighs Conservators For Singer        Petkanas                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/arts/mu
2023-08-07   2023-08-08 sic/mostly-mozart-jonathon-heyward.html       A Broader Repertoire for Diverse Audiences By Oussama Zahr                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/arts/mu
2023-08-07   2023-08-08 sic/rhiannon-giddens-youre-the-one.html       Rhiannon Giddenss Mission Lightness          By Jon Pareles                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/books/b
                        ooksupdate/paramount-simon-and-schuster-                                                   By Elizabeth A Harris Lauren
2023-08-07   2023-08-08 kkr-sale.html                                 Equity Firm Buys a Giant In Publishing       Hirsch and Benjamin Mullin        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/busines
2023-08-07   2023-08-08 s/economy/interest-rates-lower-when.html      Puzzling Out When Rates Will Decline         By Jeanna Smialek                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/busines Rhoda Karpatkin 93 Who Bolstered
2023-08-07   2023-08-08 s/rhoda-karpatkin-dead.html                   Consumer Reports Power and Mission           By Sam Roberts                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/busines
2023-08-07   2023-08-08 s/saudi-aramco-profit-report-oil.html         Lower Profit 30 Billion For Aramco           By Kevin Granville                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/busines A Major Trucker Yellow Is Bankrupt While
2023-08-07   2023-08-08 s/trucking-industry-yellow.html               Rivals Prosper                               By Peter Eavis                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/busines
2023-08-07   2023-08-08 s/zoom-return-to-office.html                  Even Zoom Is Returning To the Office         By Emma Goldberg                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/climate Chasing Arrows Symbol In Recycling Is
2023-08-07   2023-08-08 /chasing-arrows-recycling-symbol-epa.html Misleading On Plastics EPA Says                  By Chang Che                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/climate Previous Study Overestimated Level of Plastic
2023-08-07   2023-08-08 /plastic-pollution-oceans.html                In the Oceans                                By Delger Erdenesanaa             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/movies/ William Friedkin HeadTurning Director of
2023-08-07   2023-08-08 william-friedkin-dead.html                    The Exorcist Dies at 87                      By William Grimes                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/nyregio
                        n/charles-mcgonigal-fbi-criminal-             ExFBI Official Accused of Aiding Oligarch Is
2023-08-07   2023-08-08 charges.html                                  in Talks to Resolve Charges                  By Michael Rothfeld               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/nyregio Why Some Women Continued to Defend
2023-08-07   2023-08-08 n/cuomo-women-sister-madeline.html            Cuomo                                        By Nicholas Fandos                TX 9-325-179   2023-10-02




                                                                                 Page 5578 of 5793
                        https://www.nytimes.com/2023/08/07/nyregio Doctor Charged With Assaulting Patients on    By Troy Closson and Nate
2023-08-07   2023-08-08 n/queens-doctor-rape-sexual-abuse.html      Camera                                       Schweber                         TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/nyregio
                        n/trump-carroll-defamation-suit-            Judge Tosses Countersuit Of Writer By
2023-08-07   2023-08-08 dismissed.html                              Trump                                        By Karen Zraick                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/opinion
2023-08-07   2023-08-08 /climate-is-now-a-culture-war-issue.html    Climate Is Now a Culture War Issue           By Paul Krugman                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/opinion Oil Companies Talk a Lot About Clean
2023-08-07   2023-08-08 /oil-fossil-fuels-clean-energy.html         Energy Then Keep Drilling                    By Jason Bordoff                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/opinion
2023-08-07   2023-08-08 /trump-indictment-pence-congress.html       If Pence Is a Big Hero Were in Big Trouble   By Gail Collins and Bret Stephens TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/opinion
2023-08-07   2023-08-08 /trump-indictment-republicans.html          Each Indictment Solidifies Trumps Base       By Rich Lowry                    TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/sports/b Being So Bad So Long Helped Make Orioles
2023-08-07   2023-08-08 aseball/baltimore-orioles.html              So Good                                      By Tyler Kepner                  TX 9-325-179    2023-10-02

                                                                    The US Womens Team Was Far More Than
                        https://www.nytimes.com/2023/08/07/sports/s A Millimeter From Being At Its BestDenying
2023-08-07   2023-08-08 occer/uswnt-sweden-rapinoe.html             That Will Guarantee More Failure             By Rory Smith                    TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/technol
2023-08-07   2023-08-08 ogy/amazon-ftc-antitrust.html               Amazon To Attend Last Rites Meeting          By David McCabe                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/technol
2023-08-07   2023-08-08 ogy/worldcoin-iris-scans.html               Crypto Concept Hopes to Scan 8 Billion Eyes By David YaffeBellany             TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/theater/ People People Who Made Funny Girl a Hit
2023-08-07   2023-08-08 funny-girl-broadway-recoupment.html         Revival                                      By Michael Paulson               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/theater/
2023-08-07   2023-08-08 international-puppet-fringe-festival.html   Global Folklore Brought to Life With Puppets By Laurel Graeber                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/theater/
2023-08-07   2023-08-08 toros-review.html                           The Character Study in the Garage            By Juan A Ramrez                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/us/bord Killing of Native American Man in Arizona
2023-08-07   2023-08-08 er-patrol-killing-raymond-mattia.html       Stirs Anger at Border Patrol                 By Jack Healy                    TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/us/min Final ExOfficer Is Sentenced for Role in
2023-08-07   2023-08-08 neapolis-police-sentence-george-floyd.html Floyd Killing                                 By Anna Betts                    TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/us/ohio-
2023-08-07   2023-08-08 special-election-legislature.html           Voters in Ohio Can Tilt Fight Over Abortion By Michael Wines                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/us/polit DeSantis Acknowledges Trumps Defeat Of By Nicholas Nehamas and
2023-08-07   2023-08-08 ics/desantis-trump-2020-election.html       Course He Lost                               Alexandra Berzon                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/us/polit Haley Fights to Stay Viable In a OneSided
2023-08-07   2023-08-08 ics/nikki-haley-president-2024.html         Primary                                      By Jazmine Ulloa                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/us/polit
2023-08-07   2023-08-08 ics/trump-indictment-protective-order.html  Dissecting Motion On Evidence In Jan 6 Case By Alan Feuer                     TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/07/us/polit
                        ics/trump-republican-primary-candidate-     Like Trump GOP Rivals Feed Distrust in
2023-08-07   2023-08-08 trust.html                                  Vital US Institutions                        By Jennifer Medina               TX 9-325-179    2023-10-02




                                                                                Page 5579 of 5793
                        https://www.nytimes.com/2023/08/07/us/polit
                        ics/trump-womens-soccer-megan-              Trump Faults Woke Team For US Loss At
2023-08-07   2023-08-08 rapinoe.html                                World Cup                                  By Maggie Astor                     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/07/world/a
2023-08-07   2023-08-08 sia/china-nuclear-military-xi.html          Xis ShakeUp Imperils Image Of the Military By Chris Buckley                    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/07/world/a City Soirees Encourage South Korean Singles
2023-08-07   2023-08-08 sia/south-korea-city-matchmaker.html        to Mingle                                  By John Yoon                        TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/07/world/a
                        sia/world-scout-jamboree-south-korea-       Scouts to Leave World Jamboree Campsite as
2023-08-07   2023-08-08 typhoon.html                                a Typhoon Nears South Korea                By Jin Yu Young                     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/07/world/e Britain Moves Migrants to Docked Barge
2023-08-07   2023-08-08 urope/uk-migrant-barge.html                 Stoking Criticism                          By Stephen Castle                   TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/07/world/e Ukraines Troops View Offensive As A             By Carlotta Gall Oleksandr Chubko
2023-08-07   2023-08-08 urope/ukraine-marines-counteroffensive.html Marathon                                       and Diego Ibarra Sanchez          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/world/ Gaza Protests Struggle Amid Police               By Patrick Kingsley and Iyad
2023-08-07   2023-08-08 middleeast/gaza-strip-protests-hamas.html      Crackdown                                   Abuheweila                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/live/2023/08/07/wo
                        rld/russia-ukraine-news/saudi-talks-give-
                        ukraine-a-direct-line-to-nations-with-ties-to-
2023-08-07   2023-08-08 russia                                         A Glimmer of Progress in Talks              By Vivek Shankar                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/us/uval Teen Cousin of Uvalde Gunman Is Arrested
2023-08-08   2023-08-08 de-gunman-cousin-arrested.html                 on Threat Charges                           By Edgar Sandoval                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/nyregio                                                 By Chelsia Rose Marcius and
2023-08-08   2023-08-08 n/kai-cenat-union-square-nyc-riot.html         How City Lost Control of Union Square Event Maria Cramer                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/science
2023-08-08   2023-08-08 /extreme-weather-chimpanzees.html               Safety at the Sanctuary                    By Emily Anthes and Emil T Lippe TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/01/nyregio
                        n/the-covid-test-company-that-got-into-the- At Hotel for Migrants Checking In on a
2023-08-01   2023-08-09 migrant-business.html                          Contract                                    By James Barron                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/article/upside-down-
2023-08-02   2023-08-09 peach-cobbler-recipe.html                      Peaches Come Out on Top in This Cobbler     By Melissa Clark                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/dining/
2023-08-03   2023-08-09 eggplant-parmesan-recipe.html                  It Takes Time but It Shouldnt Take Forever By Eric Kim                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/dining/
2023-08-03   2023-08-09 hard-juice.html                                Skip the Mixing Say Hello to Hard Juice     By Joshua M Bernstein             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/dining/ Combine Beer Lime and Salt and Just Be
2023-08-03   2023-08-09 michelada-recipe.html                          Chill                                       By Rebekah Peppler                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/dining/r
2023-08-04   2023-08-09 estaurants-heat-wave.html                      The Heats Brutal and Worse in the Kitchen   By Christina Morales              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/opinion
2023-08-05   2023-08-09 /gangstagrass-music-america.html               This Is the Music America Needs             By Farah Stockman                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/us/polit How to Catch Pandemic Fraud Try
2023-08-06   2023-08-09 ics/pandemic-fraud.html                        Something a Bit Different                   By Madeleine Ngo                  TX 9-325-179   2023-10-02




                                                                                 Page 5580 of 5793
                        https://www.nytimes.com/2023/08/07/books/
                        mona-susan-power-council-of-dolls-
2023-08-07   2023-08-09 indigenous-book.html                       Lost She Wrote Her Way Back Home             By Leah Greenblatt              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/busines
2023-08-07   2023-08-09 s/offshore-wind-costs-delays.html          High Costs Slow Offshore Wind Projects       By Stanley Reed and Ivan Penn   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/07/dining/
2023-08-07   2023-08-09 new-york-food-festival-spiedie-sandwich.html Where the Spiedie Stands Tall              By Robert Simonson              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/movies/
2023-08-07   2023-08-09 william-friedkin-streaming.html              Nine Stylish Friedkin Films To Stream      By Scott Tobias                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/nyregio A Canine Reign of Terror Stalks a Quaint
2023-08-07   2023-08-09 n/nyc-bookstore-dog-attack.html              Bookshop                                   By Andy Newman                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/opinion
2023-08-07   2023-08-09 /orkney-scotland-independence.html           For Scotland Leaving Is Always an Option   By Alex Massie                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/us/audu Rising Racial Tensions Shake a Tranquil
2023-08-07   2023-08-09 bon-society-birding-racism.html              Pastime                                    By Clyde McGrady                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/us/polit GOP Rivals Keep Courting Iowa but Whats
2023-08-07   2023-08-09 ics/republican-primary-2024-iowa.html        the Point                                  By Trip Gabriel                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/07/us/polit Pence Garners Enough Donors To Join
2023-08-08   2023-08-09 ics/mike-pence-republican-debate-trump.html Debate                                      By Maggie Haberman              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/arts/dan DJ Casper 58 His ChaCha Slide Got Bodies
2023-08-08   2023-08-09 ce/dj-casper-dead-cha-cha-slide.html        Moving                                      By Derrick Bryson Taylor        TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/08/arts/des
2023-08-08   2023-08-09 ign/switzerland-museum-cashier-theft.html    Swiss Museum Cashier Skims Over 1 Million By Christopher F Schuetze        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/arts/mu
                        sic/bard-music-festival-ralph-vaughan-       What a Composer of His Time Has to Say
2023-08-08   2023-08-09 williams.html                                Now                                       By David Allen                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/arts/mu
2023-08-08   2023-08-09 sic/hives-death-of-randy-fitzsimmons.html    Back in Black and White Its the Hives     By Caryn Ganz                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/arts/mu Kanye West Returns to the Stage With Travis
2023-08-08   2023-08-09 sic/kanye-west-performs-travis-scott.html    Scott                                     By Ben Sisario                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/arts/tele
                        vision/only-murders-murders-in-the-building- A Comedy Attracts Stars With a Theatrical
2023-08-08   2023-08-09 season-3.html                                Flair                                     By Esther Zuckerman              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/arts/tele Exploring the Human or Blue Alien
2023-08-08   2023-08-09 vision/strange-planet-review.html            Experience                                By Maya Phillips                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/arts/tor Rapper Who Shot Megan Thee Stallion Is     By Douglas Morino and Joe
2023-08-08   2023-08-09 y-lanez-megan-thee-stallion-sentence.html    Given 10 Years                            Coscarelli                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/busines
2023-08-08   2023-08-09 s/banks-fines-whatsapp-records.html          Banks Fined 549 Million For Apps Use      By Matthew Goldstein             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/busines
2023-08-08   2023-08-09 s/china-economy-exports.html                 Chinas Push to Revive Economy Lags        By J Edward Moreno               TX 9-325-179   2023-10-02




                                                                               Page 5581 of 5793
                        https://www.nytimes.com/2023/08/08/busines Students And Colleges Hunt for Jobs Across By Claire Fu and Daisuke
2023-08-08   2023-08-09 s/china-youth-unemployment.html             China                                       Wakabayashi                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/busines
                        s/energy-environment/gm-backup-electric-    EVs Will Soon Provide Backup Power GM
2023-08-08   2023-08-09 power.html                                  Says                                        By Jack Ewing                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/busines
2023-08-08   2023-08-09 s/espn-penn-entertainment-gambling.html     ESPN Dives Into Gambling For 2 Billion      By Kellen Browning            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/busines New York Times Increases Revenue and
2023-08-08   2023-08-09 s/media/new-york-times-q2-earnings.html     Adds Digital Subscribers                    By Katie Robertson            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/busines WeWork Says That It Doubts That It Can
2023-08-08   2023-08-09 s/wework-earnings-future.html               Stay in Business                            By Peter Eavis                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/climate 8 Nations Reach Pact to Protect Amazon       By Manuela Andreoni and Max
2023-08-08   2023-08-09 /amazon-rainforest-belem-protections.html   Rainforest                                  Bearak                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/dining/
2023-08-08   2023-08-09 best-nyc-pizza.html                         State of Pizza This Years Standout Slices   By Nikita Richardson          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/dining/r
2023-08-08   2023-08-09 estaurant-four-day-workweek.html            Now Serving the FourDay Workweek            By Regan Stephens             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/health/ Weight Loss Drug Cuts Patients Risk of Heart
2023-08-08   2023-08-09 wegovy-obesity-drugs-heart-disease.html     Problems Maker Says                         By Benjamin Mueller           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/nyregio Cricket Players Dislike Adamss Plan to Build
2023-08-08   2023-08-09 n/cricket-stadium-bronx-adams.html          Stadium in the Bronx                        By Dana Rubinstein            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/nyregio
                        n/drug-overdoses-supervised-consumption- Overdose Prevention Centers In New York
2023-08-08   2023-08-09 nyc.html                                    May Face Closure                            By Sharon Otterman            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/nyregio Head of Colombian Cartel Described as Most
2023-08-08   2023-08-09 n/otoniel-drug-trafficking-sentencing.html  Violent Is Sentenced to 45 Years            By Karen Zraick               TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/08/nyregio Shark Bites Swimmer in Queens in the Citys
2023-08-08   2023-08-09 n/rockaway-beach-closed-shark-attack.html First Known Attack Since the 1950s          By Lola Fadulu                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/sports/b Reinvesting In the Business Of a Special
2023-08-08   2023-08-09 aseball/shohei-ohtani-angels.html           Player                                    By Scott Miller                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/theater/
2023-08-08   2023-08-09 candide-rent-spamalot-revivals.html         Revivals Depend On a Pulse                By Jesse Green                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/theater/ Michael Boyd Dynamo at Royal Shakespeare
2023-08-08   2023-08-09 michael-boyd-dead.html                      Company Dies at 68                        By Neil Genzlinger              TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/08/us/ian- Soldier Who Exposed Torture in Iraq Is
2023-08-08   2023-08-09 fishback-army-burial-arlington-cemetery.html Buried at Arlington                       By C J Chivers                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/us/los-
2023-08-08   2023-08-09 angeles-city-strike.html                     Thousands Go On Strike In Los Angeles     By Jill Cowan                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/us/polit In National Monument Choice Biden Tries to By Zolan KannoYoungs Lisa
2023-08-08   2023-08-09 ics/biden-national-monument-election.html Balance Electoral Realities                  Friedman and David Iversen     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/us/polit
                        ics/censure-impeachment-congress-            Once a Solemn Last Resort Censure Becomes
2023-08-08   2023-08-09 republicans-biden.html                       a GoTo Move in Congress                   By Carl Hulse                  TX 9-325-179   2023-10-02



                                                                               Page 5582 of 5793
                        https://www.nytimes.com/2023/08/08/us/polit
                        ics/desantis-campaign-manager-generra-      DeSantis Shifts Another Gear by Replacing   By Nicholas Nehamas Shane
2023-08-08   2023-08-09 peck.html                                   His Campaign Manager                        Goldmacher and Maggie Haberman TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/08/us/supr Justices Temporarily Allow Regulation of
2023-08-08   2023-08-09 eme-court-biden-ghost-guns.html             Gun Kits                                    By Adam Liptak                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/us/trum Georgia Grand Jury Poised to Hear Trump      By Danny Hakim and Richard
2023-08-08   2023-08-09 p-georgia-election-grand-jury.html          Case                                        Fausset                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/world/a Leaders of Niger Coup Reject Numerous
2023-08-08   2023-08-09 frica/niger-coup-military-talks.html        Tries At Diplomatic Solution                By Elian Peltier and Eric Schmitt TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/08/world/a Two Men on a Mission to Take Back            By Christina Goldbaum and Najim
2023-08-08   2023-08-09 sia/afghanistan-taliban-resistance.html     Afghanistan                                 Rahim                             TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/08/world/e                                              By Marc Santora and Steven
2023-08-08   2023-08-09 urope/black-sea-russia-ukraine.html         In War Black Sea is a Powder Kegphotos      Erlanger                          TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/08/world/e Man Wounded in Knife Attack Near London      By Jenny Gross and Derrick Bryson
2023-08-08   2023-08-09 urope/british-museum-stabbing-uk.html       Museum                                      Taylor                            TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/08/world/e On the Heels of Extreme Heat Deluges and
2023-08-08   2023-08-09 urope/flood-wildfires-rain-weather.html     Wildfires Batter Europe                     By Emma Bubola                     TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/08/world/e In the Heart of a City Devastated by One
2023-08-08   2023-08-09 urope/russia-ukraine-pokrovsk-missiles.html Missile and Then Another                    By Galle Girbes and Marc Santora   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/world/e Ireland Says Farewell to OConnor a National
2023-08-08   2023-08-09 urope/sinead-oconnor-funeral-ireland.html    Treasure for All of Her Battles            By Ed OLoughlin                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/world/e
                        urope/tsmc-germany-chips-                    Taiwan Leader In Chip Making Will Add
2023-08-08   2023-08-09 semiconductors.html                          Plant In Germany                           By Melissa Eddy and John Liu       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/world/ Warming to Wests Rivals Emiratis Test Ties
2023-08-08   2023-08-09 middleeast/uae-russia-china-us.html          With US                                    By Vivian Nereim                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/article/typhoon-     As a Typhoon Nears Again Japan Braces for
2023-08-08   2023-08-09 khanun-japan-south-korea.html                Impact                                     By John Yoon                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/interactive/2023/08/
2023-08-08   2023-08-09 07/dining/cooking-videos-tiktok.html         How Cooking Videos Took Over the World By Priya Krishna and Umi Syam          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/busines
                        s/economy/biden-china-companies-             Biden Set to Clamp Down on Financial Flows
2023-08-09   2023-08-09 restrictions.html                            to China                                   By Ana Swanson                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/nyregio
                        n/oshae-sibley-stabbing-suspect-dimitriy-    Teenager Accused in Dancers Killing Is Not By Hurubie Meko and Wesley
2023-08-09   2023-08-09 popov.html                                   Muslim His Lawyer Says                     Parnell                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/us/ohio- Abortion Rights Get Lift in Ohio as GOP Bid
2023-08-09   2023-08-09 election-issue-1-results.html                Fails                                      By Michael Wines                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/us/polit
                        ics/trump-indictment-fake-electors-          Memo Outlines Trump Scheme To Flip         By Maggie Haberman Charlie
2023-08-09   2023-08-09 memo.html                                    Election                                   Savage and Luke Broadwater         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/us/polit Playing Indicted Martyr Trump Draws In His By Nick Corasaniti and Trip
2023-08-09   2023-08-09 ics/trump-indictments-2024-campaign.html Base                                           Gabriel                            TX 9-325-179   2023-10-02




                                                                                Page 5583 of 5793
                        https://www.nytimes.com/2023/08/09/busines
2023-08-09   2023-08-09 s/media/sag-waivers-strike.html              Deals Create Gray Zones In Hollywood        By Nicole Sperling    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/t-        This LA Diner Is a Time Machine That Still
2023-08-03   2023-08-10 magazine/apple-pan-los-angeles-diner.html Runs Like Clockwork                            By Rico Gagliano      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/style/ga
2023-08-05   2023-08-10 bbi-tuft.html                                An ExGladiator Builds a New Life            By Jacob Bernstein    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/style/os
2023-08-06   2023-08-10 hae-sibley-memorial-protest.html             A Defiant Tribute to a Resolute Dancer      By Alex Vadukul       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/style/ex-
2023-08-07   2023-08-10 dating-marriage-relationships.html           Finding a Future With a Lover From the Past By Gina Cherelus      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/arts/tele
2023-08-08   2023-08-10 vision/big-brother-season-25.html            25 Seasons Lots of Fans No Emmys            By Calum Marsh        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/busines For Taiwan a Unique Identity Is Being Forged
2023-08-08   2023-08-10 s/taiwan-cuisine.html                        in the Kitchen                              By Li Yuan            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/fashion
                        /watches-mbandf-stephen-mcdonnell-
2023-08-08   2023-08-10 chronograph.html                             How to create a groundbreaking watch        By Sandra Jordan      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/movies/
2023-08-08   2023-08-10 barbie-doll-collectors.html                  How a Dolls Biggest Fans Received Barbie By Esther Zuckerman      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/movies/ A Filmmakers Childhood Opened Doors to
2023-08-08   2023-08-10 justin-simien-haunted-mansion.html           Haunted Mansion                             By Melena Ryzik       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/opinion
                        /contributors/language-france-french-        From an Invisible Minority to an Audible
2023-08-08   2023-08-10 perception.html                              Majority                                    By Euny Hong          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/opinion The Prosecution of Trump May Have Terrible
2023-08-08   2023-08-10 /trump-indictment-cost-danger.html           Consequences                                By Jack Goldsmith     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/style/ij
2023-08-08   2023-08-10 bol-lol-lmao.html                            LOL Is Out IJBOL Is In                      By Shirley Wang       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/style/w The Pursuit of a Uniform That Suits the
2023-08-08   2023-08-10 omens-sports-uniforms-change.html            Athletes                                    By Vanessa Friedman   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/arts/aar Mockingbird Ruling Sides With Modern
2023-08-09   2023-08-10 on-sorkin-mockingbird-theater.html           Adaptation                                  By Christopher Kuo    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/arts/dan
                        ce/mark-morris-dance-group-joyce-
2023-08-09   2023-08-10 theater.html                                 A Presentation More Major Than Minor        By Gia Kourlas        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/arts/dan Simple Effective Steps Help Produce a
2023-08-09   2023-08-10 ce/taylor-swift-eras-tour-dancing.html       Memorable Performance                       By Brian Seibert      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/arts/mu Robbie Robertson the Lyrical Soul of
2023-08-09   2023-08-10 sic/robbie-robertson-dead.html               Americana Is Dead at 80                     By Jim Farber         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/arts/mu
2023-08-09   2023-08-10 sic/salzburg-festival-2023.html              The Rich Bounty at the Salzburg Festival    By Zachary Woolfe     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/arts/mu Rodriguez 81 Folk Singer Whose Career Hit
2023-08-09   2023-08-10 sic/sixto-rodriguez-dead.html                Its Stride Late Is Dead                     By Neil Genzlinger    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/busines China Faces New Threat To Economy Falling
2023-08-09   2023-08-10 s/china-economy-inflation.html               Prices                                      By Keith Bradsher     TX 9-325-179   2023-10-02



                                                                                Page 5584 of 5793
                        https://www.nytimes.com/2023/08/09/busines Another Chinese Developer Teeters
2023-08-09   2023-08-10 s/country-garden-china-real-estate.html     Threatening Broader Implications             By Alexandra Stevenson        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/busines For Disney Declines in Streaming and TV Are
2023-08-09   2023-08-10 s/media/disney-earnings.html                a OneTwo Punch                               By Brooks Barnes              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/busines
2023-08-09   2023-08-10 s/wework-explain.html                       WeWork Financial Filing Is a Distress Signal By Santul Nerkar              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/fashion
                        /jaeger-lecoultre-reverso-golden-ratio-
2023-08-09   2023-08-10 music.html                                  A watch symphony                             By Victoria Gomelsky          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/fashion
2023-08-09   2023-08-10 /jurmo-watches-customization-finland.html Custom pieces made to order                    By Penelope Colston           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/fashion
2023-08-09   2023-08-10 /watches-clocks-opera-.html                 Clocks take the spotlight                    By David Belcher              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/fashion
2023-08-09   2023-08-10 /watches-greubel-forsey-switzerland.html    Ticking the boxes on a plan                  By Anders Modig Davin         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/fashion
2023-08-09   2023-08-10 /watches-jn-shapiro.html                    Made in the USA                              By Kathleen Beckett           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/fashion
2023-08-09   2023-08-10 /watches-leica-camera.html                  Putting watches in the picture               By Alexandra Cheney           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/fashion
2023-08-09   2023-08-10 /watches-louvre-vacheron-constantin.html    Mini masterpieces                            By Nazanin Lankarani          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/fashion
2023-08-09   2023-08-10 /watches-manual-wind-oris.html              Relax and handwind                           By Ming Liu                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/fashion
2023-08-09   2023-08-10 /watches-music-audemars-piguet.html         Musicians lend some of their hype            By Victoria Gomelsky          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/fashion
2023-08-09   2023-08-10 /watches-rihanna-choker.html                Rihannas newest remix                        By Kathleen Beckett           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/health/a Alice Kahn Ladas 102 CoAuthor of a
2023-08-09   2023-08-10 lice-k-ladas-dead.html                      Celebrated Book on Female Sexuality          By Cindy Shmerler             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/movies/
                        justin-h-min-shortcomings-beef-umbrella-
2023-08-09   2023-08-10 academy.html                                It All Came Easy Till He Tried Acting        By Matt Stevens               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/nyregio Migrant Influx Will Cost the City 12 Billion
2023-08-09   2023-08-10 n/adams-nyc-migrants-cost.html              Over 3 Years Adams Says                      By Jeffery C Mays             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/nyregio De Blasios Security Chief Admits Hindering By Chelsia Rose Marcius and Kate
2023-08-09   2023-08-10 n/de-blasio-security-funds-misuse.html      Corruption Investigation                     Christobek                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/nyregio Melee in Union Square Shows the Real Power
2023-08-09   2023-08-10 n/kai-cenat-union-square.html               Of Popular Influencers                       By Jonah E Bromwich           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/nyregio Lack of Transparency Spurs Jails Suit Against
2023-08-09   2023-08-10 n/rikers-jail-watchdog-lawsuit.html         New York                                     By Jonah E Bromwich           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/opinion
2023-08-09   2023-08-10 /india-modi-conflict-zone.html              Modi Is Pushing India to the Brink           By Debasish Roy Chowdhury     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/opinion A Brawl That Was for Some a Clarifying
2023-08-09   2023-08-10 /montgomery-brawl.html                      Moment                                       By Charles M Blow             TX 9-325-179   2023-10-02




                                                                              Page 5585 of 5793
                        https://www.nytimes.com/2023/08/09/sports/b AweStruck In Mexico City Players Turn Into By James Wagner and Alejandro
2023-08-09   2023-08-10 aseball/mexico-basilica-guadalupe.html      Pilgrims                                   Cegarra                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/sports/f ExRaider Sentenced to at Least 3 Years for
2023-08-09   2023-08-10 ootball/henry-ruggs-crash-sentence.html     Crash That Killed a Woman                  By Emmanuel Morgan                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/style/sa
2023-08-09   2023-08-10 ndy-liang-baggu.html                        Whimsy With a Twist of Nostalgia           By Jessica Testa                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/technol
2023-08-09   2023-08-10 ogy/san-francisco-driverless-cars.html      Discord Over AI Drivers In Bay Area        By Yiwen Lu                        TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/09/theater/
2023-08-09   2023-08-10 operation-mincemeat-musical-west-end.html Theater of War Is a Comedy                   By Alexis Soloski                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/travel/ Travel Insurance What It Covers and When to
2023-08-09   2023-08-10 when-to-buy-travel-insurance.html           Buy It                                     By Elaine Glusac                   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/09/us/desa DeSantis Suspends a 2nd Elected Prosecutor By Patricia Mazzei and Frances
2023-08-09   2023-08-10 ntis-orlando-prosecutor.html                in Florida a Democrat in Orlando            Robles                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/us/hurri Fleeing Into Sea As Deadly Fires Overtake
2023-08-09   2023-08-10 cane-dora-hawaii-wildfires.html             Maui                                        By Thomas Fuller                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/us/kans A Kansas Harvest Scorched Soaked and
2023-08-09   2023-08-10 as-wheat-harvest-drought.html               Scrambled by a War                          By Mitch Smith                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/us/ohio- Ohio Voters Are Moved Not Just by Abortion By Campbell Robertson Rachel
2023-08-09   2023-08-10 voters-issue-1-constitution.html            But by Sneaky Tactic                        Richardson and Daniel McGraw      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/us/peac Overrun Miami Suburb to Clip Its Peacocks By Patricia Mazzei and Alfonso
2023-08-09   2023-08-10 ock-vasectomies-miami-pinecrest.html        Not the Feathers                            Duran                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/us/polit
2023-08-09   2023-08-10 ics/biden-ban-china-investment.html         Bidens Order Bans Investing In Chinese Tech By Peter Baker and David E Sanger TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/us/polit In Subtle Move Governor Masks SmallDollar By Rebecca Davis OBrien and
2023-08-09   2023-08-10 ics/desantis-small-dollar-donations.html    Donors                                      Shane Goldmacher                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/us/polit FBI Agent Kills Man Who Is Tied To Biden By Adam Goldman and Jesus
2023-08-09   2023-08-10 ics/fbi-shooting-utah-biden-threats.html    Threats                                     Jimnez                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/us/polit Feinstein Suffers Fall At Her Home In
2023-08-09   2023-08-10 ics/feinstein-fall-hospitalized.html        California                                  By Shawn Hubler                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/us/polit An Arcane Ballot Issue Shows Abortions
2023-08-09   2023-08-10 ics/ohio-election-abortion-voters.html      Potency to Reshape Elections                By Lisa Lerer                     TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/09/us/polit Twitter Account Of ExPresident Searched by
2023-08-09   2023-08-10 ics/trump-twitter-account-search-warrant.html US                                       By Alan Feuer                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/world/a Nigerias President Gave an Ultimatum Niger
2023-08-09   2023-08-10 frica/niger-coup-nigeria-military.html        Called His Bluff                         By Elian Peltier and Ismail Alfa   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/world/a
                        mericas/haiti-kidnapping-us-nurse-alix-       US Nurse and Her Child Released by Haiti By Simon Romero and Emiliano
2023-08-09   2023-08-10 dorsainvil.html                               Abductors                                Rodrguez Mega                      TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/09/world/a
2023-08-09   2023-08-10 sia/imran-khan-appeal-prison-sentence.html Pakistans ExLeader Appeals Prison Sentence By Christina Goldbaum               TX 9-325-179   2023-10-02



                                                                                Page 5586 of 5793
                        https://www.nytimes.com/2023/08/09/world/a 45 Convicted In 2 Countries In Online Ring
2023-08-09   2023-08-10 ustralia/child-abuse-fbi-agents-killed.html Of Pedophiles                               By Yan Zhuang                    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/09/world/a 3 Deaths and Questions About Mushrooms
2023-08-09   2023-08-10 ustralia/mushroom-poisoning-suspect.html    After a Family Lunch in Australia           By Yan Zhuang                    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/09/world/c Trudeaus Separation Complicates His Plan
2023-08-09   2023-08-10 anada/trudeau-wife-separation-image.html    To Seek Another Term                        By Norimitsu Onishi              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/09/world/e People With Disabilities Die In Fire at a    By Juliette GuronGabrielle and
2023-08-09   2023-08-10 urope/france-fire-vacation-home.html        House in France                             Claire Moses                     TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/09/world/e Dozens of Migrants Die After a Boat Capsizes
2023-08-09   2023-08-10 urope/migrants-boat-sinks-italy-tunisia.html In the Strait of Sicily                      By Emma Bubola                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/world/e
2023-08-09   2023-08-10 urope/russia-attack-romania-danube.html      Battle on Doorstep Rattles Nerves in Romania By Andrew Higgins                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/world/e
                        urope/russia-drones-moscow-warehouse-        Russia Destroys 2 Drones Near Moscow as By Enjoli Liston Valeriya
2023-08-09   2023-08-10 explosion.html                               Attacks Far From Front Intensify             Safronova and Paul Sonne         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/world/e The Rumble of Chariots No a Rap Concert in
2023-08-09   2023-08-10 urope/travis-scott-rome-earthquake.html      Rome                                         By Elisabetta Povoledo           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/world/e In Hard Times British Turn to a Friend From
2023-08-09   2023-08-10 urope/uk-peas-frozen.html                    the Past Peas                                By Stephen Castle                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/sports/b
                        aseball/michael-lorenzen-phillies-no-        Phillies Pitcher Goes Distance in 124Pitch
2023-08-10   2023-08-10 hitter.html                                  NoHitter                                     By Evan Easterling               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/us/polit Urging Patience Biden Says Plan Is Working
2023-08-10   2023-08-10 ics/biden-environment-southwest.html         on Southwest Tour                            By Zolan KannoYoungs             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/world/a
                        mericas/ecuador-presidential-candidate-      Presidential Candidate Is Assassinated In    By Jos Mara Len Cabrera Julie
2023-08-10   2023-08-10 killed.html                                  Ecuador Just Days Before Election            Turkewitz and Genevieve Glatsky TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/health/ The Extreme Heat May Be Getting to Your
2023-08-10   2023-08-10 heat-mental-health.html                      Head                                         By Apoorva Mandavilli            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/insider/ At Penn Station Searching for Sequins and     By Callie Holtermann and Amir
2023-08-10   2023-08-10 beyonce-fans-penn-station.html               Style                                        Hamja                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/sports/s Rejuvenated and Relentless Japan Says Its
2023-08-10   2023-08-10 occer/world-cup-japan.html                   Ready to Fight Against Anyone                By Jer Longman                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/world/a
                        mericas/fernando-villavicencio-ecuador-
2023-08-10   2023-08-10 candidate.html                               Long History as Journalist and Activist      By Genevieve Glatsky             TX 9-325-179   2023-10-02
                                                                                                                  By Adam Satariano Scott Reinhard
                        https://www.nytimes.com/interactive/2023/07/                                              Cade Metz Sheera Frenkel and
2023-07-28   2023-08-11 28/business/starlink.html                    Elon Musks Unmatched Power in the Stars      Malika Khurana                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/busines
                        s/economy/schumer-new-york-chips-            Using Clout Schumer Aims to Funnel Chip
2023-08-06   2023-08-11 funds.html                                   Funds to New York                            By Ana Swanson                   TX 9-325-179   2023-10-02




                                                                                Page 5587 of 5793
                        https://www.nytimes.com/2023/08/06/sports/s For Englands Striker A Knack for Scoring
2023-08-06   2023-08-11 occer/world-cup-alessia-russo-england.html Memorable Goals                               By Ella Braidwood          TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/08/books/ Martin Walser a Literary Titan Of Postwar
2023-08-08   2023-08-11 martin-walser-dead.html                     Germany Dies at 96                           By Clay Risen              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/09/arts/des
                        ign/barnes-foundation-loan-painting-
2023-08-09   2023-08-11 decision.html                               Ruling Allows the Barnes to Lend Works       By Ted Loos                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/09/movies/
2023-08-09   2023-08-11 vera-review.html                            Vera                                         By Austin Considine        TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/09/opinion
2023-08-09   2023-08-11 /trump-jack-smith-trial-television.html     Televising the Trump Trials Is a Bad Idea    By Nick Akerman            TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/09/technol
                        ogy/personaltech/venmo-privacy-             A Cautionary Tale From Venmo Your
2023-08-09   2023-08-11 oversharing.html                            Sensitive Data Is Out There                  By Brian X Chen            TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/arts/bri Brice Marden Who Rejuvenated Painting in
2023-08-10   2023-08-11 ce-marden-dead.html                         the 1960s Dies at 84                         By William Grimes          TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/arts/des
                        ign/gilder-center-museum-natural-history-
2023-08-10   2023-08-11 animals.html                                Gilder Center Flies Wriggles And Surprises By Laurel Graeber            TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/arts/des
2023-08-10   2023-08-11 ign/native-art-hessel-museum-bard.html      Indigenous Visions Along the Hudson          By Holland Cotter          TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/arts/des
                        ign/tuan-andrew-nguyen-new-museum-
2023-08-10   2023-08-11 vietnam.html                                In the Shadows of the Fight for Independence By Roberta Smith           TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/arts/mu
2023-08-10   2023-08-11 sic/robbie-robertson-songs.html             Robbie Robertsons 16 Essential Songs         By Jon Pareles             TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/arts/mu Surprise Taylor Swift Announces Fourth
2023-08-10   2023-08-11 sic/taylor-swift-1989-rerecord.html         Album Rerecording                            By Claire Moses            TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/10/arts/tele
2023-08-10   2023-08-11 vision/men-in-kilts-toast-of-tinseltown.html This Weekend I Have                         By Esther Zuckerman        TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/10/arts/tele
2023-08-10   2023-08-11 vision/telemarketers-hbo-documentary.html At a Call Center the Footage Isnt Flattering   By Coralie Kraft           TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/busines As Inflation Inches Up Silver Lining Is
2023-08-10   2023-08-11 s/economy/cpi-inflation-july-fed.html        Emerging                                    By Jeanna Smialek          TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/10/busines Epstein Victim May Pursue Claims Against 2
2023-08-10   2023-08-11 s/epstein-victims-carveout-settlements.html Wall St Executives Executor Said          By Matthew Goldstein           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/busines                                            By Eshe Nelson Ana Swanson and
2023-08-10   2023-08-11 s/global-food-prices-volatility.html        Food Prices Grow Dicey Analysts Say       Jeanna Smialek                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/10/busines Strikes in Hollywood Push Emmy Awards
2023-08-10   2023-08-11 s/media/emmy-awards-hollywood-strikes.html Into January 2024                             By John Koblin             TX 9-325-179    2023-10-02



                                                                                 Page 5588 of 5793
                        https://www.nytimes.com/2023/08/10/busines Herbert J Siegel 95 Billionaire Who Invested
2023-08-10   2023-08-11 s/media/herbert-j-siegel-dead.html         in the Entertainment Industry                By Sam Roberts                  TX 9-325-179    2023-10-02
                                                                   Wired Names a New Top Editor a Former
                        https://www.nytimes.com/2023/08/10/busines Intern Who Was a Senior Executive for Vice
2023-08-10   2023-08-11 s/media/wired-katie-drummond.html          Media                                        By Katie Robertson              TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/10/busines Writers and Studios Agree to Restart
2023-08-10   2023-08-11 s/media/writers-strike-movies-television.html Negotiations in Ongoing Labor Dispute     By Brooks Barnes and John Koblin TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/busines Russia Tries to Bolster Ruble as Inflation
2023-08-10   2023-08-11 s/russia-economy-ruble-inflation.html         Fears Add to Economic Woes                By Paul Sonne                   TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/10/busines                                             By Jordyn Holman and Elizabeth
2023-08-10   2023-08-11 s/tapestry-capri-merger-luxury-fashion.html 2 Big Names In Fashion Are Merging         Paton                            TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/health/c Research Halted at NY Psychiatric Center
2023-08-10   2023-08-11 olumbia-drug-trials-suicide.html            After Suicide                              By Ellen Barry                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/health/f FDA Rule To Regulate Some Cigars Is Struck
2023-08-10   2023-08-11 da-cigar-exemption.html                     Down                                       By Christina Jewett              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/movies/
2023-08-10   2023-08-11 all-up-in-the-biz-review.html               All Up in the Biz                          By Glenn Kenny                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/movies/
2023-08-10   2023-08-11 aporia-review.html                          Aporia                                     By Jeannette Catsoulis           TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/movies/
2023-08-10   2023-08-11 auroras-sunrise-review.html                 Auroras Sunrise                            By Teo Bugbee                    TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/movies/
                        between-two-worlds-review-juliette-
2023-08-10   2023-08-11 binoche.html                                Between Two Worlds                         By Beatrice Loayza               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/movies/ A Friend From Outer Space For Earths Aging
2023-08-10   2023-08-11 jules-review.html                           Outsiders                                  By Claire Shaffer                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/movies/
2023-08-10   2023-08-11 king-coal-review.html                       King Coal                                  By Robert Daniels                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/movies/
2023-08-10   2023-08-11 love-in-taipei-review.html                  Love in Taipei                             By Jourdain Searles              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/movies/
2023-08-10   2023-08-11 love-life-review-encounters-in-grief.html   Love Life                                  By Ben Kenigsberg                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/movies/ An Uninhibited and Gaudily Diverting
2023-08-10   2023-08-11 medusa-deluxe-review.html                   Mystery                                    By Jeannette Catsoulis           TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/movies/
2023-08-10   2023-08-11 red-white-royal-blue-review.html            Young Love in High Places                  By Amy Nicholson                 TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/10/movies/
2023-08-10   2023-08-11 sound-of-the-police-review-documentary.html Justice in the Country Of NoKnock Warrants By Lisa Kennedy                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/10/movies/
2023-08-10   2023-08-11 the-eternal-memory-review.html              The Eternal Memory                         By Ben Kenigsberg                TX 9-325-179    2023-10-02




                                                                                  Page 5589 of 5793
                        https://www.nytimes.com/2023/08/10/movies/
2023-08-10   2023-08-11 the-last-voyage-of-the-demeter-review.html The Last Voyage Of the Demeter              By Natalia Winkelman                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/movies/
2023-08-10   2023-08-11 the-pod-generation-review.html              The Pod Generation                         By Brandon Yu                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/nyregio New York Said It Had No More Beds Where By Andy Newman and Nate
2023-08-10   2023-08-11 n/migrants-homeless-asylum-nyc.html         Did Migrants Go                            Schweber                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/nyregio Hackers Stole 6 Million From Public School
2023-08-10   2023-08-11 n/new-haven-schools-hackers.html            System in Connecticut                      By Lola Fadulu                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/nyregio James Breaks With Hochul In Crisis Over     By Nicholas Fandos and Dana
2023-08-10   2023-08-11 n/perez-migrants-james-hochul.html          Migrant Care                               Rubinstein                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/nyregio Judge to Hear Arguments Over a Takeover of
2023-08-10   2023-08-11 n/rikers-island-jail-federal-takeover.html  Rikers                                     By Jonah E Bromwich                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/opinion
2023-08-10   2023-08-11 /national-mall-wildflower-meadow.html       Fill the National Mall With Wildflowers    By Alexander Nazaryan               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/opinion
2023-08-10   2023-08-11 /shoplifting-urban-safety.html              The Many Costs of Shoplifting              By Pamela Paul                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/opinion
2023-08-10   2023-08-11 /trauma-mental-health-culture-war.html      Hey America Grow Up                        By David Brooks                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/sports/g Working to End Rift With LIV But Not Exile
2023-08-10   2023-08-11 olf/trump-liv-golf-bedminster.html          Of Trump                                   By Alan Blinder                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/sports/s
                        occer/world-cup-lauren-james-suspension-
2023-08-10   2023-08-11 england.html                                FIFA Adds Second Game to Jamess Ban        By Oskar Garcia                     TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/10/us/flori Florida Schools Hustle To Adapt to New
2023-08-10   2023-08-11 da-schools-rules-transgender-pronouns.html Rules On Gender and More                      By Dana Goldstein                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/hot- Technology Can Save Children In Hot Cars It
2023-08-10   2023-08-11 car-deaths-sensors.html                     Isnt Mandated                                By Michael Levenson               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/hurri Anxiety Grows Among Coastal Residents as
2023-08-10   2023-08-11 cane-forecast-ocean-temperatures.html       Hurricane Season Predictions Worsen          By Judson Jones and Rick Rojas    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/maui With Breathtaking Speed Blast of Fire Erases
2023-08-10   2023-08-11 hawaii-wildfires-deaths-damage.html         a Town in Hawaii                             By Mike Baker and Thomas Fuller   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/pitts
2023-08-10   2023-08-11 burgh-synagogue-antisemitism-arrest.html    Synagogue Trial Over a New Arrest Is Made By Campbell Robertson                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/polit                                              By Peter Baker and Luke
2023-08-10   2023-08-11 ics/biden-ukraine-aid.html                  Biden Presses Congress For 24 Billion in Aid Broadwater                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/polit Biden Trumpets Bill For Veterans Benefits
2023-08-10   2023-08-11 ics/biden-utah-veterans-benefits.html       Despite Stack of Claims                      By Zolan KannoYoungs              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/polit USIran Prisoner Deal Brings Five Americans By Farnaz Fassihi and Michael D
2023-08-10   2023-08-11 ics/iran-us-prisoner-swap.html              A Step Closer to Home                        Shear                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/polit For Biden a Possible Step Forward in         By Michael Crowley Ronen
2023-08-10   2023-08-11 ics/iran-us-prisoners-nuclear-program.html  Containing Tehrans Nuclear Program           Bergman and Farnaz Fassihi        TX 9-325-179   2023-10-02




                                                                                Page 5590 of 5793
                        https://www.nytimes.com/2023/08/10/us/polit Trump and Aide Plead Not Guilty to New
2023-08-10   2023-08-11 ics/trump-arraignment-documents-case.html Counts                                         By Charlie Savage                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/polit ExPresident Says He Wont Sign Pledge
2023-08-10   2023-08-11 ics/trump-gop-debate-loyalty-pledge.html    Needed for Debate                            By Maggie Astor                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/polit Special Counsel Proposes Date in January for
2023-08-10   2023-08-11 ics/trump-jan-6-trial-date.html             Trial Defense Is Likely to Object            By Alan Feuer                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/polit In Iowa Where a Campaign Requirement Is
2023-08-10   2023-08-11 ics/trump-republicans-iowa-state-fair.html  the State Fair This Year Is Different        By Reid J Epstein and Lisa Lerer      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/russi Russia Is Making Its Own IranianStyle
2023-08-10   2023-08-11 a-iran-drones-ukraine.html                  Kamikaze Drones                              By John Ismay                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/supr
                        eme-court-purdue-pharma-opioid-             Justices Pause Deal on Opioids That Limited By Abbie VanSickle and Jan
2023-08-10   2023-08-11 settlement.html                             Sackler Lawsuits                             Hoffman                               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/world/a West African Bloc Activates Standby Force to
2023-08-10   2023-08-11 frica/niger-coup-ecowas-summit.html         Intervene Against Niger Coup                 By Elian Peltier                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/world/a
                        mericas/ecuador-fernando-villavicencio-     Ecuador Faces a Grim Turning Point After a By Julie Turkewitz and Jos Mara
2023-08-10   2023-08-11 assassination.html                          Candidates Assassination                     Len Cabrera                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/world/a Four Nigerians Stow Away on Random Ship
2023-08-10   2023-08-11 mericas/nigerian-migrants-brazil.html       and End Up in Brazil                         By Julia Vargas Jones                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/world/e Getting a Cab in Italy Is Hard But Remedying
2023-08-10   2023-08-11 urope/italy-taxi-lobby-tourism.html         That Isnt Easy                               By Elisabetta Povoledo                TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/10/world/e Going Behind Enemy Lines for BirdsEye           By Carlotta Gall and Diego Ibarra
2023-08-10   2023-08-11 urope/ukraine-drones-russia-war-zone.html View                                             Sanchez                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/world/
                        middleeast/israel-judicial-overhaul-supreme-
2023-08-10   2023-08-11 court.html                                   Israeli Justices Poised to Rule On Their Fate By Isabel Kershner                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/busines Air Taxi Rivals End Lawsuit And Agree to
2023-08-11   2023-08-11 s/archer-boeing-wisk-settlement.html         Collaborate                                   By Niraj Chokshi                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/movies/
2023-08-11   2023-08-11 heart-of-stone-review.html                   Hmm This AI Is the Good Guy                   By Calum Marsh                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/technol Spread of Driverless Cabs Is Approved in San
2023-08-11   2023-08-11 ogy/driverless-cars-san-francisco.html       Francisco                                     By Yiwen Lu                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/theater/
2023-08-11   2023-08-11 the-shark-is-broken-review.html              Great White Way Indeed                        By Jesse Green                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/insider/
                        a-chimp-sanctuary-with-a-new-urgency-to-
2023-08-11   2023-08-11 give-shelter.html                            Urgent Need for Shelter at a Chimp Sanctuary By Emmett Lindner                    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/11/sports/f The NFLs Betting Crackdown Has Some            By Emmanuel Morgan and Ken
2023-08-11   2023-08-11 ootball/nfl-sports-betting-training-camps.html Confused and in Trouble                     Belson                              TX 9-325-179   2023-10-02




                                                                                  Page 5591 of 5793
                        https://www.nytimes.com/2023/07/26/travel/i
2023-07-26   2023-08-12 n-milan-giving-the-aperitivo-a-new-twist.html In Milan a New Twist to the Aperitivo          By Robert Simonson         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/01/travel/g
2023-08-01   2023-08-12 rand-canyon-heat-search-rescue.html           Saving Lives One Salty Snack at a Time         By Rowan Moore Gerety      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/technol
2023-08-06   2023-08-12 ogy/indiana-chips-act.html                    Can a Chip Hub Grow In Indianas Heartland By Cecilia Kang and Ana Swanson TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/arts/des
2023-08-08   2023-08-12 ign/guggenheim-union-ratify.html              Guggenheim and Union Settle                    By Zachary Small           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/arts/des
                        ign/restitution-nepal-indonesia-democratic-
2023-08-09   2023-08-12 republic-of-congo-cameroon.html               Pulling Off a Homecoming                       By Catherine Hickley       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/arts/des
                        ign/wounded-indian-chrysler-museum-           Virginia Museum Will Return 19thCentury
2023-08-09   2023-08-12 boston.html                                   Statue to Boston                               By Tom Mashberg            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/arts/tele
                        vision/high-school-musical-series-finale-tim-
2023-08-09   2023-08-12 federle.html                                  At Series End Time for a Bow                   By Ashley Spencer          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/movies/ A Paranoid 70s Thriller Features Plenty of
2023-08-09   2023-08-12 winter-kills-all-of-the-plots-thicken.html    Plots                                          By J Hoberman              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/your-
                        money/student-loan-bankruptcy-                Student Debt Relief in Bankruptcy Progresses
2023-08-09   2023-08-12 discharge.html                                in Fits and Starts                             By Tara Siegel Bernard     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/arts/bar
2023-08-10   2023-08-12 bie-ban-kuwait-lebanon.html                   Two Countries Seek a Ban On Barbie             By Christopher Kuo         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/arts/mu
2023-08-10   2023-08-12 sic/robbie-robertson-the-last-waltz.html      The Bands Farewell Lives On                    By Rob Tannenbaum          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/arts/rus
2023-08-10   2023-08-12 t-armorer-trial.html                          December Trial Set For Rust Armorer            By Julia Jacobs            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/opinion
2023-08-10   2023-08-12 /asylum-seekers-immigration-reform.html       We Already Know What Works at the Border By Andrea R Flores               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/opinion
2023-08-10   2023-08-12 /trump-indictment-face-off.html               Imagining the FaceOff in Trumps Jan 6 Case By David French                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/science                                                   By Kenneth Chang and Anton
2023-08-10   2023-08-12 /russia-moon-launch.html                      Russians Launch Rocket To Moon                 Troianovski                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/world/e
2023-08-10   2023-08-12 urope/crooked-house-pub-fire.html             Crooked Pub Is Destroyed Coincidence           By Aaron Boxerman          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/arts/des Jamie Reid 76 Dies His Incendiary Art
2023-08-11   2023-08-12 ign/jamie-reid-dead.html                      Defined Sex Pistols                            By Alex Williams           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/busines
2023-08-11   2023-08-12 s/china-economy-trade-deflation.html          Slowdown In China Puts World On Notice         By Peter S Goodman         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/busines
2023-08-11   2023-08-12 s/country-garden-default-risk.html            Furor as Giant In Real Estate Totters in China By Alexandra Stevenson     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/busines
2023-08-11   2023-08-12 s/media/viet-dinh-fox-departing.html          Top Lawyer Leaving Fox In ShakeUp              By Jeremy W Peters         TX 9-325-179   2023-10-02



                                                                              Page 5592 of 5793
                        https://www.nytimes.com/2023/08/11/busines Britains Economy Grows Weakly but Exceeds
2023-08-11   2023-08-12 s/uk-gdp-economy.html                      Predictions                               By Kevin Granville               TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/11/busines
2023-08-11   2023-08-12 s/yellow-trucking-loan-bankruptcy.html     Yellows Plan To Pay Debt Meets Doubt      By Peter Eavis and Madeleine Ngo TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/11/climate US to Fund 12 Billion Plan to Vacuum
2023-08-11   2023-08-12 /carbon-dioxide-direct-capture.html        Carbon Pollution From the Sky             By Coral Davenport               TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/11/movies/
2023-08-11   2023-08-12 barbie-animated-nutcracker.html            Shes Been a Movie Star for Decades        By Sarah Bahr                    TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/11/nyregio
2023-08-11   2023-08-12 n/budega-weed-dispensary-copycats.html     Cannabis Complicates a Trademark Dispute By Ashley Southall                TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/11/nyregio New Yorks Soccer Fields Now Part of
2023-08-11   2023-08-12 n/nyc-migrant-crisis-eric-adams.html       Migrant Battleground                      By Andy Newman                   TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/11/nyregio
                        n/oshae-sibley-stabbing-dmitriy-popov-     A Teenager Pleads Not Guilty to a Hate
2023-08-11   2023-08-12 arraignment.html                           Crime Killing                             By Karen Zraick                  TX 9-325-179      2023-10-02

                        https://www.nytimes.com/2023/08/11/opinion
2023-08-11   2023-08-12 /wagner-russia-prigozhin-bazoum-niger.html Country in Chaos Enter the Wagner Group     By Colin P Clarke               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/11/sports/s A Premier League Love Story Has Heartbreak
2023-08-11   2023-08-12 occer/premier-league-luton-town.html        Ahead                                      By Rory Smith                   TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/11/sports/s A Game of WhatIfs Ends With a Shimmy
2023-08-11   2023-08-12 occer/spain-netherlands-world-cup.html      And Then a Spain Win                       By Rory Smith                   TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/11/sports/s Sweden Reaches Semifinals by Ousting
2023-08-11   2023-08-12 occer/womens-world-cup-japan-sweden.html Another Former Champion Japan                   By Jer Longman                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/technol BankmanFried Is Sent to Jail Accused of       By David YaffeBellany and
2023-08-11   2023-08-12 ogy/sam-bankman-fried-jail.html             Witness Tampering                            Matthew Goldstein               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/theater/
2023-08-11   2023-08-12 edinburgh-festival-theater.html             Ideas Abound in Edinburgh This Year          By Houman Barekat               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/us/broo Ice Cream Cups Are Recalled Over Concerns
2023-08-11   2023-08-12 klyn-ice-cream-recall-bacteria.html         About Listeria                               By Chang Che                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/us/illin Broad Limits On Firearms By Illinois Are
2023-08-11   2023-08-12 ois-supreme-court-guns.html                 Upheld                                       By Julie Bosman                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/us/lahai
2023-08-11   2023-08-12 na-fire.html                                A Town Is Left With Just Ash And Anguish By Mike Baker and Philip Cheung TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/11/us/polit Frustrated Iowa Democrats at a Loss to       By Anjali Huynh and Reid J
2023-08-11   2023-08-12 ics/democrats-iowa-state-fair.html          Explain How Bad It Is                        Epstein                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/us/polit Trump Is Facing A Cash Crunch As Bills       By Shane Goldmacher and Maggie
2023-08-11   2023-08-12 ics/donald-trump-legal-bills-campaign.html Mount                                         Haberman                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/us/polit
                        ics/garland-weiss-hunter-biden-special-     Prosecutor of Biden Son Is Now Special       By Glenn Thrush Luke Broadwater
2023-08-11   2023-08-12 counsel.html                                Counsel Making a Trial Likelier              and Michael S Schmidt           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/us/polit Freight Railroads Push to Overhaul a Federal
2023-08-11   2023-08-12 ics/ohio-train-railroad-safety.html         Safety Program Theyve Yet to Join            By Mark Walker                  TX 9-325-179   2023-10-02




                                                                               Page 5593 of 5793
                        https://www.nytimes.com/2023/08/11/us/polit Trump Warned By Jan 6 Judge No
2023-08-11   2023-08-12 ics/trump-judge-protective-order.html       Intimidation                                 By Glenn Thrush and Alan Feuer   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/world/a Ethiopias Army Battles Ethnic Militia Over
2023-08-11   2023-08-12 frica/ethiopia-fighting-war.html            200 Jews Flee to Israel                      By Abdi Latif Dahir              TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/11/world/a Overcrowding Keeps Zuma Out of Prison
2023-08-11   2023-08-12 frica/jacob-zuma-released-south-africa.html Riling Rivals                               By John Eligon                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/world/a With Increased Military Activity China       By Chris Buckley and Amy Chang
2023-08-11   2023-08-12 sia/china-taiwan-military.html              Encircles Taiwan More Closely               Chien                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/world/a It Tasted Like Nothing but the Fervor Around
2023-08-11   2023-08-12 sia/japan-flavorless-candy-lawsons.html     a Japanese Candy Was Something              By Hisako Ueno and Mike Ives      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/world/e
                        urope/ksenia-sobchak-putin-russia-ukraine- Shes Antiwar but Her Advice To Russians Is
2023-08-11   2023-08-12 war.html                                    to Just Accept It                           By Anton Troianovski              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/world/e
                        urope/kupiansk-ukraine-russia-              A City That Russian Troops Were Driven      By Valerie Hopkins and Emile
2023-08-11   2023-08-12 occupation.html                             From Fears They May Return                  Ducke                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/world/e
                        urope/uk-migrants-bibby-stockholm-          UK Evacuates Migrants From Barge Over
2023-08-11   2023-08-12 bacteria.html                               Legionnaires Worries                        By Stephen Castle                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/11/world/e Ukraine Fires Its Top Military Enlistment
2023-08-11   2023-08-12 urope/ukraine-fires-recruitment-chiefs.html Officers Over Draft Bribery Scheme           By Marc Santora                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/world/
                        middleeast/americans-prisoners-iran-        5 Americans Held Prisoner in Iran May Be
2023-08-11   2023-08-12 swap.html                                   Released as Early as September               By Farnaz Fassihi                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/world/ Decayed Tanker Off Yemen Has Been
2023-08-11   2023-08-12 middleeast/yemen-oil-tanker-un.html         Emptied of Oil Averting Catastrophic Spill   By Vivian Nereim                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/your-
2023-08-11   2023-08-12 money/fafsa-changes-college-aid.html        Changes Afoot for FAFSA and College Aid      By Ann Carrns                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/us/supr Purdue Pharma Ruling May Guide Other          By Abbie VanSickle and Jan
2023-08-12   2023-08-12 eme-court-purdue-case.html                  Cases                                        Hoffman                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/sports/b Hes Being Inducted Will He Ever Be
2023-08-12   2023-08-12 asketball/dwyane-wade-hall-of-fame.html     Inaugurated                                  By Sopan Deb                     TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/12/us/cons Target of Conservatives Progressive
2023-08-12   2023-08-12 ervatives-progressive-district-attorneys.html Prosecutors                                By J David Goodman               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/17/books/r
2023-06-17   2023-08-13 eview/craig-russell-devils-playground.html    Art of Darkness                            By Danielle Trussoni             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/20/books/c
2023-06-20   2023-08-13 lemence-michallon-the-quiet-tenant.html       The Neighborhood Serial Killer             By Jac Jemc                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/24/books/t
2023-06-24   2023-08-13 he-art-thief-michael-finkel.html              Knives Out                                 By Alex MarzanoLesnevich         TX 9-325-179   2023-10-02




                                                                                Page 5594 of 5793
                        https://www.nytimes.com/2023/06/25/books/r
                        eview/the-beach-at-summerly-beatriz-
2023-06-25   2023-08-13 williams.html                              Sun Sand and Spies                           By Leigh Haber            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/27/books/r
                        eview/a-thread-of-violence-mark-
2023-06-27   2023-08-13 oconnell.html                              The Journalist and the Murderer              By Christopher Benfey     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/02/books/r
2023-07-02   2023-08-13 eview/completely-mad-james-hansen.html     Different Strokes                            By Douglas Preston        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/04/books/r
                        eview/at-the-end-of-every-day-arianna-
2023-07-04   2023-08-13 reiche.html                                Thrill Ride                                  By Ben H Winters          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/09/books/r
2023-07-09   2023-08-13 eview/djuna-counterweight.html             Shaft                                        By Hari Kunzru            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/11/books/r
                        eview/juan-gomez-barcena-not-even-the-
2023-07-11   2023-08-13 dead.html                                  Sins of the Father                           By Randy Boyagoda         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/11/books/r
                        eview/under-the-eye-of-power-colin-
2023-07-11   2023-08-13 dickey.html                                Be Very Afraid                               By Elizabeth Williamson   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/12/books/r
2023-07-12   2023-08-13 eview/john-milas-militia-house.html        Haunted History                              By Daniel Woodrell        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/14/books/r
2023-07-14   2023-08-13 eview/dwyer-murphy-stolen-coast.html       Hidden Figures                               By Adam Sternbergh        TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/07/16/books/r
2023-07-16   2023-08-13 eview/the-anniversary-stephanie-bishop.html Overboard                                   By CJ Hauser              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/25/realesta A Curated Living Space or Art Gallery Its
2023-07-25   2023-08-13 te/maison-lune-gallery-venice.html          Both                                        By Anna Kod               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/25/realesta
2023-07-25   2023-08-13 te/paris-apartment-pied-a-terre.html        Her Husband Came With a Paris Apartment     By Tim McKeough           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/28/style/jo
2023-07-28   2023-08-13 nesa-wetsuits-surfing-shane-jones.html      For Surfers With an Evel Knievel Flair      By Molly Young            TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/01/books/r
2023-08-01   2023-08-13 eview/janet-wallach-flirting-with-danger.html Secret Weapon                             By Chloe Malle            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/realesta
2023-08-02   2023-08-13 te/innisfree-garden-design.html               Light Helps Create a Brilliant Effect     By Margaret Roach         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/books/r
                        eview/im-glad-my-mom-died-jennette-
2023-08-03   2023-08-13 mccurdy.html                                  Inside the List                           By Elisabeth Egan         TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/03/theater/
2023-08-03   2023-08-13 august-wilson-biography-patti-hartigan.html August Wilson on the Cusp of Stardom        By Patti Hartigan         TX 9-325-179   2023-10-02




                                                                                    Page 5595 of 5793
                        https://www.nytimes.com/interactive/2023/08/
                        03/nyregion/nyc-summer-quiz-rats-            Take the Quiz Pick the Worst New York City
2023-08-03   2023-08-13 roaches.html                                 Summer Plagues                             By Dodai Stewart                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/realesta Making the Most of Coveted Patios and
2023-08-04   2023-08-13 te/decorate-patio-summer.html                Terraces                                   By Tim McKeough                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/style/ju
2023-08-04   2023-08-13 stin-trudeaus-separation.html                The Split Decision                         By Elizabeth Paton                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/arts/tele Mike Epps Likes Wyoming Dirt and Detroit
2023-08-05   2023-08-13 vision/mike-epps-upshaws.html                Bling                                      By Chris Kornelis                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/books/r
2023-08-06   2023-08-13 eview/catherine-chidgey-pet.html             School Daze                                By Ruth Franklin                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/arts/mu
2023-08-07   2023-08-13 sic/nicolas-hodges-piano-parkinsons.html     Pianist Adapts His Life to Parkinsons      By Jeffrey Arlo Brown              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/movies/
2023-08-07   2023-08-13 neil-breen-films.html                        The Bewildering Films of Neil Breen        By Rumsey Taylor                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/opinion A Conversation With a Trans GOP Elected
2023-08-07   2023-08-13 /transgender-republicans-lgbt.html           Official                                   By Jane Coaston                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/magazi                                               By Daniel Levin Becker and Jessica
2023-08-08   2023-08-13 ne/bling-hip-hop.html                        Ice Ice Ice Ice Baby                       Pettway                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/magazi
2023-08-08   2023-08-13 ne/hip-hop-deaths.html                       Remembering the Rappers We Lost            By Danyel Smith                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/opinion
2023-08-08   2023-08-13 /biden-trump-political-rhetoric.html         The Adverbs That Define Biden and Trump By Carlos Lozada                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/opinion
2023-08-08   2023-08-13 /indigo-girls-barbie-cringe.html             The Wisdom of the Indigo Girls             By Lydia Polgreen                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/opinion
2023-08-08   2023-08-13 /trump-republican-primary-2024.html          The NeverAgain Trumper Sham                By Bret Stephens                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/style/co
2023-08-08   2023-08-13 rporate-journaling-workshops.html            To Improve Business Try Journaling         By Alyson Krueger                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/style/eu
2023-08-08   2023-08-13 rope-water-drinking-tiktok.html              Americans Are Thirsty                      By Jessica Roy                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/arts/am Amos Badertscher 86 Photographer Who
2023-08-09   2023-08-13 os-badertscher-dead.html                     Captured a Sexual Underground              By Richard Sandomir                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/arts/mu
2023-08-09   2023-08-13 sic/jon-batiste-world-music-radio.html       The Whole Music Worlds in His Hands        By Ben Sisario                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/arts/tele
2023-08-09   2023-08-13 vision/taylor-kitsch-painkiller.html         Taylor Kitsch Is Where He Wants to Be      By Alexis Soloski                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/books/r
                        eview/here-in-the-night-jackal-jackal-the-
                        beast-you-are-rebecca-turkewitz-tobi-
2023-08-09   2023-08-13 ogundiran-paul-tremblay.html                 Horror Stories                             By Chelsea Leu                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/magazi
2023-08-09   2023-08-13 ne/too-short-rap.html                        Too Shorts Long Shadow                     By Tom Breihan                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/opinion
2023-08-09   2023-08-13 /air-filter-covid-smoke-schools.html         Why Havent We Made Classrooms Safer        By Zeynep Tufekci                  TX 9-325-179   2023-10-02



                                                                                Page 5596 of 5793
                        https://www.nytimes.com/2023/08/09/opinion Why I Bring Up Climate Change On All My
2023-08-09   2023-08-13 /climate-change-dating-okcupid.html                Dates                                          By Erica Berry                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/opinion
2023-08-09   2023-08-13 /mortality-rate-pandemic.html                      Why Is America Such a Deadly Place             By David WallaceWells         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/realesta
                        te/3-million-dollar-homes-minnesota-north-
2023-08-09   2023-08-13 carolina-florida.html                              3 Million                                      By Angela Serratore           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/style/tip
2023-08-09   2023-08-13 ping-cosmetic-medical-procedures.html              A Gratuitous Gratuity                          By Philip Galanes             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/us/polit
                        ics/opioid-overdoses-prison-fentanyl-              Rehabilitation Starts on the Inside California By Noah Weiland and Rachel
2023-08-09   2023-08-13 california.html                                    Treats Inmates Addictions                      Bujalski                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/interactive/2023/08/
2023-08-09   2023-08-13 09/magazine/female-rappers.html                    The Future of Rap Is Female                    By Niela Orr                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/books/r
                        eview/amor-towles-cadaver-murder-
2023-08-10   2023-08-13 mystery.html                                       Body of Evidence                               By Amor Towles                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/climate Sobering Fact of Hawaii Fire As Planet                 By Christopher Flavelle and
2023-08-10   2023-08-13 /hawaii-fires-climate-change.html                  Warms No Place Is Safe                         Manuela Andreoni              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/magazi
2023-08-10   2023-08-13 ne/hip-hop-50-anniversary.html                     HipHops UnShakable Life Force                  By Wesley Morris              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/nyregio In the Next Scene the Painting Goes to
2023-08-10   2023-08-13 n/dog-walker-chuck-close-auction.html              Auction                                        By John Leland                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/nyregio Teen Denied a Drink Over and Over Took
2023-08-10   2023-08-13 n/mark-hotel-lawsuit-teenager.html                 Loud Revenge a Lawsuit Says                    By Liam Stack                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/opinion
2023-08-10   2023-08-13 /china-economy-decline.html                        Why Is Chinas Economy Stumbling                By Paul Krugman               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/opinion
                        /summer-camp-photographs-killooleet-
2023-08-10   2023-08-13 bunk1.html                                         The Fleeting Magic of Summer Camp              By Josephine Sittenfeld       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/opinion I Spent 5 Days in a Trench in Ukraine
2023-08-10   2023-08-13 /ukraine-war-bakhmut.html                          Waiting for Death                              By Artem Chekh                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/realesta
                        te/whats-the-best-state-to-retire-in-hint-its-not-
2023-08-10   2023-08-13 florida.html                                       Whats the Top State to Retire In               By Michael Kolomatsky         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/style/an
2023-08-10   2023-08-13 d-just-like-that-fashion.html                      Dressing for What You Want                     By The Styles Desk            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/style/ca The Campers Came Home Their Duffels
2023-08-10   2023-08-13 mp-trucking-shut-down.html                         Almost Didnt                                   By Abby Ellin                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/upshot/ GOP Abandons Reagan For Trumps Populist
2023-08-10   2023-08-13 reagan-trump-gop-stool.html                        Tenets                                         By Nate Cohn                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/trum Scholars Make Case That Constitution Bars
2023-08-10   2023-08-13 p-jan-6-insurrection-conservatives.html            Trump From Office                              By Adam Liptak                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/us/whit
2023-08-10   2023-08-13 e-shark-pairs-research.html                        Shark Buddies Defy Image as Loners             By Chang Che                  TX 9-325-179   2023-10-02



                                                                                     Page 5597 of 5793
                                                                     With a Grandchild on the Way Chicago
                        https://www.nytimes.com/interactive/2023/08/ Beckoned What Could They Get for Less        By CARISA CRAWFORD
2023-08-10   2023-08-13 10/realestate/chicago-evanston-homes.html Than 400000                                     CHAPPELL                       TX 9-325-179    2023-10-02
                        https://www.nytimes.com/interactive/2023/08/
2023-08-10   2023-08-13 10/realestate/gen-z-rent-homeowner.html      Gen Z Cant Afford the Rent                   By Anna Kod and Karen Hanley   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/11/arts/loo
2023-08-11   2023-08-13 ty-rosetta-stone-benin-bronzes.html          Reclaiming Old Artifacts With a Phone        By Farah Nayeri                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/11/books/r
                        eview/girl-detectives-middle-grade-
2023-08-11   2023-08-13 mysteries.html                               Unusual Suspects                             By Robin Stevens               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/11/books/r
2023-08-11   2023-08-13 eview/new-crime-mystery-novels.html          Murder Tourists                              By Sarah Weinman               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/11/books/r Richard J Whalen 87 Biographer of Kennedy
2023-08-11   2023-08-13 ichard-j-whalen-dead.html                    Familys Patriarch                            By Richard Sandomir            TX 9-325-179    2023-10-02

                                                                                                                  By Jeanna Smialek Jordyn Holman
                        https://www.nytimes.com/2023/08/11/busines Beyonc and Taylor Swift Make the Nation        DeSean McClintonHolland and
2023-08-11   2023-08-13 s/beyonce-taylor-swift-tour-spending.html  Shimmer                                        Maggie Shannon                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/busines Why US Bonds Are Still Essential
2023-08-11   2023-08-13 s/bonds-investing-debt-downgrade.html      Investments                                    By Jeff Sommer                 TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/11/busines Turning Over Control of Money Its a Tough
2023-08-11   2023-08-13 s/retirement-finances-power-of-attorney.html but Necessary Talk                           By Tammy LaGorce               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/11/health/
2023-08-11   2023-08-13 water-bottles-beverages.html                 Were All WaterBottle Freaks                  By Matt Richtel                TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/11/nyregio
2023-08-11   2023-08-13 n/christian-cooper-extraordinary-birder.html Connecting With Community and Nature         By Tammy LaGorce               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/11/nyregio
                        n/fire-island-beaches-army-corps-            Hard Work Washed Away With a Single
2023-08-11   2023-08-13 engineers.html                               Winter Storm                                 By Liam Stack                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/11/nyregio
2023-08-11   2023-08-13 n/kevin-aviance-oshae-sibley.html            An Incongruous yet Familiar Crime            By Ginia Bellafante            TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/11/opinion
2023-08-11   2023-08-13 /dementia-prisons.html                       Inside a Dementia Unit in a Federal Prison   By Katie Engelhart             TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/11/opinion Teens Will Make Mistakes Online Whats
2023-08-11   2023-08-13 /social-media-privacy-teenagers.html         Next Is Up to Us                             By Lux Alptraum                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/11/opinion
2023-08-11   2023-08-13 /vivek-ramaswamy-voting-rights.html          An Unserious Undemocratic Gimmick            By Jamelle Bouie               TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/11/realesta
2023-08-11   2023-08-13 te/brooklyn-small-condo-carroll-garden.html At 475 Square Feet Making Each Inch Work By Tim McKeough                     TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/11/science W Jason Morgan 87 Scientist Who Found
2023-08-11   2023-08-13 /jason-morgan-dead.html                     Tectonic Plates Dies                     By Clay Risen                       TX 9-325-179    2023-10-02




                                                                                  Page 5598 of 5793
                        https://www.nytimes.com/2023/08/11/style/e When the Matchmaker Made Herself the
2023-08-11   2023-08-13 mily-dobies-sal-steiner-wedding.html        Perfect Match                                 By Leslie Katz               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/style/ke A Happiness That Took Nine Decades to
2023-08-11   2023-08-13 nneth-felts-johnny-hau-wedding.html         Achieve                                       By Tammy LaGorce             TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/11/style/m
2023-08-11   2023-08-13 elissa-dandrea-karissa-sullivan-wedding.html Making Wedding Plans Before the First Date By Jenny Block                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/style/m
                        odern-love-never-give-your-child-five-
2023-08-11   2023-08-13 names.html                                   Together Untangling a Web of Five Names    By LaVonne Ellis               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/style/sa
                        chi-takahashi-rial-george-carollo-           They Mapped Out Their Future on a
2023-08-11   2023-08-13 wedding.html                                 Spreadsheet                                By Rosalie R Radomsky          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/style/th
2023-08-11   2023-08-13 e-frothy-saga-of-the-jacuzzi-family.html     A Jacuzzi Is a Person Not a Machine        By Saskia Solomon              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/us/polit
2023-08-11   2023-08-13 ics/president-biden-hunter.html              Political Burr Still Sticking To President By Peter Baker                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/interactive/2023/08/
                        11/magazine/hip-hop-language-dope-cake-      How HipHop Changed the English Language
2023-08-11   2023-08-13 woke.html                                    Forever                                    By Miles Marshall Lewis        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/nyregio Joan Kaplan Davidson 96 Philanthropist Who
2023-08-12   2023-08-13 n/joan-kaplan-davidson-dead.html             Helped New York Dies                       By Enid Nemy                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/us/migr Migrant 3 Dies on Bus During Trip To         By J David Goodman and Edgar
2023-08-12   2023-08-13 ant-child-abbott-bus.html                    Chicago                                    Sandoval                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/busines
2023-08-12   2023-08-13 s/asian-weddings-cash-gifts.html             At Asian Weddings Cash Is Still King       By Hahna Yoon                  TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/12/busines As Strike Thwarts Production Viewers Catch
2023-08-12   2023-08-13 s/media/hollywood-strikes-old-shows.html   Up on TV Glut                              By John Koblin                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/nyregio As Lifeguards Older Swimmers Are Saving
2023-08-12   2023-08-13 n/senior-lifeguards-shortage.html          the Summer                                 By Aidan Gardiner                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/opinion
2023-08-12   2023-08-13 /britain-stagnation-growth.html            Can Britain Both Boom And Bloom            By Ross Douthat                  TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/12/opinion
2023-08-12   2023-08-13 /exorcist-william-friedkin-catholicism.html Spiritual Lessons From The Exorcist           By Matthew Walther           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/opinion
2023-08-12   2023-08-13 /hunter-biden-clarence-thomas-trump.html    Wheres The Vicua Outrage                      By Maureen Dowd              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/opinion
2023-08-12   2023-08-13 /lahaina-maui-fires-climate-change.html     After the Fires Hawaii Will Reinvent Itself   By Lawrence Downes           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/realesta
                        te/my-neighbor-died-now-her-empty-house-is- If the Empty Home Next Door Smells And
2023-08-12   2023-08-13 breeding-rats-what-can-i-do.html            Attracts Rats What Can I Do                   By Jill Terreri Ramos        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/sports/b Rejuvenated Heyward Finds a Happy Home
2023-08-12   2023-08-13 aseball/jason-heyward-dodgers.html          With the Dodgers                              By Scott Miller              TX 9-325-179   2023-10-02



                                                                                 Page 5599 of 5793
                        https://www.nytimes.com/2023/08/12/sports/s We Always Find a Way Through England
2023-08-12   2023-08-13 occer/england-colombia-world-cup.html        Perseveres Against Colombia                 By Jenny Vrentas                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/sports/s Australia Outlasts France and a Nation
2023-08-12   2023-08-13 occer/world-cup-australia-france.html        Exhales                                     By Rory Smith                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/style/ny Married Amid a Blackout and Still Carrying a
2023-08-12   2023-08-13 c-blackout-2003-weddings.html                Torch                                       By Sadiba Hasan                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/style/rat
2023-08-12   2023-08-13 s-in-the-walls-baby-on-the-way.html          Rats in the Walls and a Baby on the Way     By Dina Gachman                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/style/su
2023-08-12   2023-08-13 nscreen-fda-regulation-aoc.html              US Sunscreen Is Stuck in the 90s            By Sandra E Garcia               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/us/guns-Gun Toll Grows As Simple Device Adds To By Ernesto Londoo and Glenn
2023-08-12   2023-08-13 switch-devices.html                          Carnage                                     Thrush                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/us/polit Democrats Dismiss Nerves Over Hunter         By Reid J Epstein and Jazmine
2023-08-12   2023-08-13 ics/democrats-hunter-biden.html              Bidens Case                                 Ulloa                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/us/polit
                        ics/republicans-hunter-biden-special-        Republicans Called for Inquiry Into Bidens  By Luke Broadwater and Maggie
2023-08-12   2023-08-13 counsel.html                                 Son Now Many Oppose It                      Haberman                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/us/polit                                              By Shane Goldmacher and Lisa
2023-08-12   2023-08-13 ics/trump-desantis-iowa-state-fair.html      A Day at the Fair Is Trumps Show            Lerer                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/us/trum Election Interference Case to Go to Grand
2023-08-12   2023-08-13 p-georgia-election-trial.html                Jury in Georgia                             By Richard Fausset               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/world/a
                        sia/kristin-harila-himalayas-dying-          Climber Defends Finishing K2 Ascent After
2023-08-12   2023-08-13 climber.html                                 Finding Dying Porter on a Trail             By Chris Cameron                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/world/a Pakistan Names Caretaker Prime Minister       By Salman Masood and Christina
2023-08-12   2023-08-13 sia/pakistan-prime-minister-elections.html   Paving the Way for Elections                Goldbaum                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/world/a FrontRunner in Taiwans Election Tries to      By Amy Chang Chien and Chris
2023-08-12   2023-08-13 sia/taiwan-us-china-lai-ching-te.html        Walk Fine Line on US Trip                   Buckley                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/world/e Revered Shrines Receive the Wishes and        By Ben Hubbard Gulsin Harman
2023-08-12   2023-08-13 urope/istanbul-turkey-sufi-shrines.html      Woes of a Modern City                       and Ivor Prickett                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/world/e Kyivs Offensive Makes Headway Forcing
2023-08-12   2023-08-13 urope/russia-ukraine-war.html                Russia to Redeploy Troops                   By Marc Santora                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/world/e
                        urope/ukraine-arms-dealer-serhiy-                                                        By Justin Scheck and Thomas
2023-08-12   2023-08-13 pashinsky.html                               In Ukraine a Criminal or a Godsend Or Both GibbonsNeff                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/world/ Women Worry as Israels Far Right Pushes
2023-08-12   2023-08-13 middleeast/israel-women-rights.html          Sex Segregation                             By Roni Caryn Rabin              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/busines
                        s/media/internet-archive-emergency-lending-
2023-08-13   2023-08-13 library.html                                 What Does It Mean to Own a Book             By David Streitfeld              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/insider/ Below Canyons Rim Finding a New
2023-08-13   2023-08-13 grand-canyon-rescue.html                     Perspective                                 By Rowan Moore Gerety            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/insider/
2023-08-13   2023-08-13 grind-defined.html                           The Grind Defined and Redefined             By Sarah Diamond                 TX 9-325-179   2023-10-02




                                                                                Page 5600 of 5793
                        https://www.nytimes.com/2023/08/13/nyregio New York City Shelters Are Overwhelmed By
2023-08-13   2023-08-13 n/nyc-animal-shelters-overcrowding.html    Flood of Animals                          By Erin Nolan                        TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/13/nyregio NYPDs Intelligence Chief Takes Reins of
2023-08-13   2023-08-13 n/rebecca-weiner-nypd-intelligence-unit.html Secretive Unit                             By Maria Cramer                   TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/13/style/bu
                        cks-rock-camp-steinberg-von-                                                              By Casey Schwartz and James
2023-08-13   2023-08-13 furstenberg.html                             Thats No Counselor Shes the Boss             Estrin                            TX 9-325-179   2023-10-02
                                                                                                                  By Kellen Browning Thomas Fuller
                        https://www.nytimes.com/2023/08/13/us/maui Why Islands Siren System Wasnt Used Stokes Ivan Penn and Nicholas
2023-08-13   2023-08-13 hawaii-wildfires-deadliest-century.html      Anger                                        BogelBurroughs                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/us/texa Anger Rises in Houston Over the States
2023-08-13   2023-08-13 s-houston-schools-libraries-takeover.html    Schools Takeover                             By J David Goodman                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/world/e
2023-08-13   2023-08-13 urope/rome-umbrella-pines-imperiled.html     Beloved Pine Trees Vanishing in Rome         By Elisabetta Povoledo            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/31/arts/tru Stories on Killers That Go Beyond The
2023-07-31   2023-08-14 e-crime-streaming-serial-killers.html        Monsters                                     By Maya Salam                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/02/movies/
                        passages-ranz-rogowski-ben-wishaw-adele-
2023-08-02   2023-08-14 exarchopoulos.html                           Pondering the Sex in a Post MeToo Movie      By Thomas Rogers                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/movies/
2023-08-03   2023-08-14 claire-simon.html                            The Focus Of a Film Becomes Personal         By Beatrice Loayza                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/busines For the Young Help Paves A Way to Buying a
2023-08-05   2023-08-14 s/buying-house-20s-mortgage.html             Home                                         By Jessica Fu                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/upshot/ Studying the Limits of Human Perfection
2023-08-05   2023-08-14 darts-sports-perfection.html                 Through Darts                                By Ben Blatt and Courtney Cox     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/explain/2023/birds-
2023-08-07   2023-08-14 science/birds-birdwatching-nature            Learning to See the Birds With My Bare Eyes By Jim Colgan                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/travel/s Whats Skiplagging Staying at a Layover
2023-08-08   2023-08-14 kiplagging-hidden-city-travel-layover.html   Airlines Are Not Fans                        By Christine Chung                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/sports/h
                        ockey/hockey-romance-booktok-
2023-08-09   2023-08-14 explainer.html                               A Messy Relationship With Romance Novels By Amanda Holpuch                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/technol
2023-08-10   2023-08-14 ogy/sweden-combat-disinformation.html        In Sweden Fighting Lies From Russia          By Steven Lee Myers               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/theater/
2023-08-10   2023-08-14 food-edinburgh-festival.html                 A Dinner Party Served as Spectacle           By Houman Barekat                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/arts/mu
                        sic/playlist-olivia-rodrigo-bad-idea-right-  Olivia Rodrigos Sassy PopRock Banger and
2023-08-11   2023-08-14 noname.html                                  More New Songs                               By Jon Pareles and Lindsay Zoladz TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/arts/tele Big Brother Contestant Is Expelled for Using
2023-08-11   2023-08-14 vision/big-brother-racial-slur.html          Racial Slur                                  By Maya Salam                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/climate A Haven for Hawaiis Endangered Birds Is
2023-08-11   2023-08-14 /birds-fire-hawaii.html                      Threatened by FastMoving Wildfires           By Catrin Einhorn                 TX 9-325-179   2023-10-02




                                                                                Page 5601 of 5793
                        https://www.nytimes.com/2023/08/11/movies/
2023-08-11   2023-08-14 red-white-royal-blue-booktok.html          BookTok Sensation Hits Screens              By Ashley Spencer                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/opinion Time Is a Hidden Currency of Incalculable
2023-08-11   2023-08-14 /time-poverty-money.html                   Worth                                       By Esau McCaulley                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/books/k Keith Waldrop 90 a Poet and Professor
2023-08-12   2023-08-14 eith-waldrop-dead.html                     Acclaimed for His Vivid Verbal Collages     By Neil Genzlinger                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/busines Wealthy Enthusiasts Continue to Buy         By Ephrat Livni Michael J de la
2023-08-12   2023-08-14 s/dealbook/yachts-submersibles.html        Submersibles Even After Titan Tragedy       Merced and Sarah Kessler          TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/12/sports/j
2023-08-12   2023-08-14 acob-kiplimo-joshua-cheptegei-uganda.html In Uganda Renaissance For Distance Running By Jonathan W Rosen                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/style/jo John Barrett New York Hairdresser the Stars
2023-08-12   2023-08-14 hn-barrett-dead.html                        Flocked to See Dies at 66                   By Clay Risen                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/theater/ Tom Jones Fantasticks Lyricist Behind
2023-08-12   2023-08-14 tom-jones-dead.html                         Record 42Year Run Dies at 95                By Neil Genzlinger               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/us/polit Heckled and Trolled at Iowa State Fair
2023-08-12   2023-08-14 ics/iowa-state-fair-desantis-trump.html     DeSantis Is Struggling to Gain Traction     By Nicholas Nehamas              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/us/hous 5 Are Killed By Explosion In a Suburb Of     By Eduardo Medina and Amanda
2023-08-13   2023-08-14 e-explosion-pennsylvania.html               Pittsburgh                                  Holpuch                          TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/13/arts/mu
2023-08-13   2023-08-14 sic/darmstadt-summer-course-germany.html At Darmstadt Rivaling Wagners Best            By Seth Colter Walls              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/busines
                        s/media/cbs-news-president-neeraj-          CBS News President Steps Down After a
2023-08-13   2023-08-14 khemlani.html                               2Year Stint                                By Rob Copeland                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/busines
                        s/media/kansas-marion-newspaper-police-                                                By Steven Lee Myers and Benjamin
2023-08-13   2023-08-14 raid.html                                   Police Raid Challenges Press Rights        Mullin                           TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/13/busines Zuckerberg Plans to Move On From Cage
2023-08-13   2023-08-14 s/zuckerberg-musk-cage-fight.html           Fight With Musk                            By Rob Copeland                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/nyregio After Queens Shark Bite Drones Monitor
2023-08-13   2023-08-14 n/rockaway-beach-shark-bite.html            Beaches                                    By Hurubie Meko                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/opinion How to Make Sure Federal Climate Money
2023-08-13   2023-08-14 /federal-climate-funds-ira.html             Helps Everyone                             By Farah Stockman                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/opinion
2023-08-13   2023-08-14 /masculinity-right-young-men.html           The Lost Boys of the American Right        By David French                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/opinion
2023-08-13   2023-08-14 /shakespeare-canceled-schools.html          Make Shakespeare Dirty Again               By Drew Lichtenberg               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/us/chic In Chicago New Leader Of the Police Is
2023-08-13   2023-08-14 ago-police-chief-larry-snelling.html        Announced                                  By Julie Bosman                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/us/polit Texas Becomes the Center of Dropped
2023-08-13   2023-08-14 ics/texas-medicaid-coverage-loss.html       Medicaid Coverage                          By Noah Weiland                   TX 9-325-179   2023-10-02
                                                                                                               By Jonathan Swan Ruth Igielnik
                        https://www.nytimes.com/2023/08/13/us/polit Indictments Became a Political Asset for   Shane Goldmacher and Maggie
2023-08-13   2023-08-14 ics/trump-indictment-effect.html            Trump                                      Haberman                          TX 9-325-179   2023-10-02



                                                                                 Page 5602 of 5793
                        https://www.nytimes.com/2023/08/13/us/west- Maui Residents Say Theyve Been Left to     By Kellen Browning and Mitch
2023-08-13   2023-08-14 maui-hawaii-wildfires-aid.html               Fend for Themselves                       Smith                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/world/a
                        frica/boat-accident-migrants-dakar-          Patrol to Stop Migrants Leads to a Deadly By Dionne Searcey and Mady
2023-08-13   2023-08-14 senegal.html                                 Boat Wreck Off Senegal                    Camara                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/world/e Making Counteroffensive Work Minus Air
2023-08-13   2023-08-14 urope/f-16s-ukraine-counteroffensive.html    Cover                                     By Lara Jakes                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/world/e
2023-08-13   2023-08-14 urope/italy-michela-murgia-dead.html         Italy Pays Tribute to Author and Activist By Elisabetta Povoledo          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/world/e Ceaseless Shelling by Russians Kills 7 In
2023-08-13   2023-08-14 urope/ukraine-russia-war.html                Already Battered Kherson Region           By Cassandra Vinograd           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/world/ Religious Ritual Turns Political Extending   By Farnaz Fassihi and Arash
2023-08-13   2023-08-14 middleeast/ashura-iran-protests.html         Protests in Iran                          Khamooshi                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/world/ Seeking Ties Saudi Arabia Names Envoy To
2023-08-13   2023-08-14 middleeast/saudi-envoy-palestinians.html     West Bank                                 By Patrick Kingsley             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/us/lahai                                            By Mike Baker Kellen Browning
2023-08-14   2023-08-14 na-water-failure.html                        Dry Hydrants Doomed Battle With Maui Fire and Nicholas BogelBurroughs     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/arts/tele
                        vision/whats-on-tv-this-week-the-weeknd-in-
2023-08-14   2023-08-14 concert-and-praise-petey.html                This Week on TV                           By Shivani Gonzalez             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/busines When Tragedy Strikes in China The
2023-08-14   2023-08-14 s/china-flooding-tragedy-mourning.html       Government Represses Grief                By Li Yuan                      TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/14/nyregio Fast Lifes Lure FBI Spy Hunters Rise and    By Michael Rothfeld Adam
2023-08-14   2023-08-14 n/fbi-mcgonigal-oligarch-nyc.html           Fall                                       Goldman and William K Rashbaum TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/14/us/trum Inside the Effort By Trump to Flip The      By Danny Hakim and Richard
2023-08-14   2023-08-14 p-georgia-election-results.html             Georgia Vote                               Fausset                        TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/02/well/m
2023-08-02   2023-08-15 ove/open-water-swimming.html                Dive Into an OpenWater Workout             By Amanda Loudin                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/03/well/liv
2023-08-03   2023-08-15 e/two-day-hangover.html                     Your Hangover Is Experiencing a Hangover   By Dani Blum                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/06/science
2023-08-06   2023-08-15 /rogue-planets-milky-way.html               Trillions Of Worlds At Large               By Katrina Miller               TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/07/science The Trumpetfishs Gambit Pulling a Couple of
2023-08-07   2023-08-15 /trumpetfish-hunting-stalking-horse.html    Strings to Save a Damselfish Some Distress By Annie Roth                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/well/liv Health Fads Your Doctor Probably Didnt
2023-08-07   2023-08-15 e/wellness-trends-2023.html                 Mention                                    By Dani Blum                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/science Survival Skills In an Era Known for Dying
2023-08-08   2023-08-15 /filter-feeding-reptile-whale.html          This Strange Reptile Lived On              By Kate Golembiewski            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/climate The World You Discover When You Garden By Daryln Brewer Hoffstot and
2023-08-08   2023-08-15 /night-gardening.html                       at Night                                   Kristian Thacker                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/science Hunger Pangs For Crocodiles a Babys Cry
2023-08-08   2023-08-15 /crocodiles-crying-babies.html              May Sound Like a Dinner Bell               By Elizabeth Preston            TX 9-325-179   2023-10-02




                                                                               Page 5603 of 5793
                        https://www.nytimes.com/2023/08/08/science
2023-08-08   2023-08-15 /hydrothermal-vent-animals.html               Odd Creatures Found Under Oceanic Vents By Robin George Andrews               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/well/eat
2023-08-08   2023-08-15 /travel-constipation.html                     Why Do I Get Constipated When I Travel      By Caroline Hopkins               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/well/fa
                        mily/vape-exposures-children-nicotine-        More Children Exposed To Toxic Vape
2023-08-08   2023-08-15 poisoning.html                                Nicotine                                    By Catherine Pearson              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/well/liv
2023-08-08   2023-08-15 e/covid-summer-surge.html                     Covid Skipped a Summer Vacation             By Dana G Smith                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/climate
                        /uruguay-wasnt-supposed-to-run-out-of-        The Shock of Drought in Uruguay Long
2023-08-10   2023-08-15 water.html                                    Enriched by Plenty of Water                 By Manuela Andreoni               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/science Physicists Move Closer To a Theoretical
2023-08-10   2023-08-15 /physics-muons-g2-fermilab.html               Duel                                        By Katrina Miller                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/science How Old Is That Polar Bear The Answer Is in
2023-08-10   2023-08-15 /wildlife-aging-epigenetic-clocks.html        Its Blood                                   By Carl Zimmer                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/busines
2023-08-11   2023-08-15 s/goldman-sachs-david-solomon.html            Goldmans CEO Is Stuck                       By Rob Copeland                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/busines
2023-08-12   2023-08-15 s/grindr-rto-union.html                       Move or Quit Grindr Calls Workers In        By Emma Goldberg                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/us/after-
                        the-maui-fires-locals-fear-being-shut-out-of- Residents Wonder if Lahaina Will Still Have
2023-08-12   2023-08-15 recovery.html                                 a Place for Them                            By Jill Cowan and Michael Corkery TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/arts/des
                        ign/museums-met-ceramics-pottery-native-
2023-08-13   2023-08-15 americans.html                                New Partners Broaden Arts Lens              By Patricia Leigh Brown           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/opinion
2023-08-13   2023-08-15 /american-expat-life-europe.html              I Live in the Europe of My American Dreams By Benjamin Moser                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/science Should a Hall of Human Curiosities Dial It
2023-08-13   2023-08-15 /mutter-medical-museum.html                   Down                                        By Franz Lidz                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/your-
                        money/cryptocurency-personal-finance-
2023-08-13   2023-08-15 bitcoin.html                                  Crypto Advice With No FingerWagging         By Ron Lieber                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/arts/des
2023-08-14   2023-08-15 ign/brice-marden-artist-legacy.html           Beyond the Monochromes                      By Roberta Smith                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/arts/des
                        ign/james-snyder-director-jewish-             New Jewish Museum Director Brings
2023-08-14   2023-08-15 museum.html                                   International Experience                    By Hilarie M Sheets               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/arts/mu Clarence Avant Mighty Engine Behind Black
2023-08-14   2023-08-15 sic/clarence-avant-dead.html                  Superstars Dies at 92                       By Neil Genzlinger                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/arts/mu
                        sic/louis-langree-mostly-mozart-lincoln-      A Farewell to Mostly Mozart And to the Man
2023-08-14   2023-08-15 center.html                                   in Charge                                   By Oussama Zahr                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/arts/mu
2023-08-14   2023-08-15 sic/pop-musics-middle-class.html              Pop Star Swagger But Without the Sales      By Shaad DSouza                   TX 9-325-179   2023-10-02



                                                                                Page 5604 of 5793
                        https://www.nytimes.com/2023/08/14/arts/mu Opportunity Knocks for Modern and
2023-08-14   2023-08-15 sic/time-spans-festival-new-music.html     Contemporary Works                         By Seth Colter Walls           TX 9-325-179          2023-10-02
                        https://www.nytimes.com/2023/08/14/books/r
                        eview/john-szwed-cosmic-scholar-harry-     The Artist and Mystic Who Collected the
2023-08-14   2023-08-15 smith.html                                 World                                      By Dwight Garner               TX 9-325-179          2023-10-02
                        https://www.nytimes.com/2023/08/14/busines CNN Revises Its Lineup With an Eye On
2023-08-14   2023-08-15 s/media/cnn-program-lineup.html            Ratings                                    By Benjamin Mullin             TX 9-325-179          2023-10-02
                        https://www.nytimes.com/2023/08/14/health/ Debates Over How to Use Opioid Settlement
2023-08-14   2023-08-15 opioids-settlement-money.html              Money Split US Communities                 By Jan Hoffman                 TX 9-325-179          2023-10-02
                        https://www.nytimes.com/2023/08/14/nyregio A Mayor Intensely Focused on the Medium of By Emma G Fitzsimmons and Dana
2023-08-14   2023-08-15 n/adams-fabien-levy-deputy.html            His Message                                Rubinstein                     TX 9-325-179          2023-10-02

                        https://www.nytimes.com/2023/08/14/nyregio Judge in New York Case Declines to Recuse
2023-08-14   2023-08-15 n/trump-manhattan-judge-juan-merchan.html Herself                                    By Jonah E Bromwich                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/opinion
                        /columnists/economists-disinflation-interest-
2023-08-14   2023-08-15 rates.html                                    3 Words Some Economists Wont Say       By Paul Krugman                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/opinion Why Are So Many of Trumps Alleged
2023-08-14   2023-08-15 /trump-indictment-lawyers.html                CoConspirators Lawyers                 By Deborah Pearlstein                  TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/14/sports/b MLB Is Investigating Rays Star Over
2023-08-14   2023-08-15 aseball/wander-franco-rays-investigation.html Accusations on Social Media               By Victor Mather                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/sports/b
                        asketball/wnba-40-points-breanna-             Scoring Feat Not Seen In WNBA Since 18 Is
2023-08-14   2023-08-15 stewart.html                                  Now Commonplace                           By Evan Easterling                  TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/14/sports/f Player Portrayed in Blind Side Sues the
2023-08-14   2023-08-15 ootball/michael-oher-blind-side-lawsuit.html Couple Who Took Him In                      By Santul Nerkar                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/us/bide White House Offers Advice To Keep
2023-08-14   2023-08-15 n-affirmative-action-diversity.html          Campuses Diverse                            By Anemona Hartocollis           TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/14/us/colle Colleges Want Applicants to Open Up in       By Anemona Hartocollis and Colbi
2023-08-14   2023-08-15 ge-applications-admissions-essay.html        Essays After Affirmative Action Ban         Edmonds                          TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/14/us/elect
                        ions/trump-georgia-election-audio-                                                       By Hailey Fuchs and Chris
2023-08-14   2023-08-15 raffensperger.html                           Fellas I Need 11000 Votes                   Cameron                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/us/haw For Families of Hawaiis Missing an             By Mitch Smith and Kellen
2023-08-14   2023-08-15 aii-missing-answers.html                     Agonizing Wait for Answers                  Browning                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/us/lahai After Fires Lahaina Church Finds Sanctuary
2023-08-14   2023-08-15 na-church-hawaii-wildfires.html              in a Cafe                                   By Mitch Smith                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/us/mon Montana Judge Rules for Youth In Climate
2023-08-14   2023-08-15 tana-youth-climate-ruling.html               Case                                        By David Gelles and Mike Baker     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/us/polit BidenTrump II Still in Previews Gets
2023-08-14   2023-08-15 ics/2024-trump-biden-rematch.html            Scathing Reviews in Iowa                    By Lisa Lerer and Reid J Epstein   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/us/polit New Congressional Map Drawn by Alabama
2023-08-14   2023-08-15 ics/alabama-redistricting-hearing.html       GOP To Get Another Set of Eyes              By Emily Cochrane                  TX 9-325-179   2023-10-02



                                                                                Page 5605 of 5793
                        https://www.nytimes.com/2023/08/14/us/polit Presidents Son Says Prosecutors Reneged on By Michael S Schmidt Glenn
2023-08-14   2023-08-15 ics/hunter-biden-plea-deal-weiss.html       Major Part of a Plea Deal                  Thrush and Luke Broadwater             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/us/polit Kennedy Backtracks On Backing Abortion
2023-08-14   2023-08-15 ics/rfk-jr-abortion-ban.html                Ban                                        By Maggie Astor                        TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/14/us/polit Peace Activists Decide Ukraine Is an
2023-08-14   2023-08-15 ics/ukraine-antiwar-activists-democrats.html Exception                                    By Michael Crowley                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/us/supr Biden Administration Asks Justices to Hear
2023-08-14   2023-08-15 eme-court-social-media-texas-florida.html    Social Media Cases                           By Adam Liptak                      TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/14/us/trum Prosecutors Wont Discuss Evidence at
2023-08-14   2023-08-15 p-classified-documents-evidence-florida.html MaraLago                                      By Alan Feuer                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/us/trum
                        p-indictment-georgia-new-hampshire-          Firm Trump Stronghold Worries About
2023-08-14   2023-08-15 presidential-election.html                   Winning                                       By Jenna Russell                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/world/a
2023-08-14   2023-08-15 frica/niger-president-treason.html           Elected Leader Of Niger Faces Treason Claim By Elian Peltier                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/world/a
                        mericas/argentina-javier-milei-president-    FarRight Libertarian Jolts Argentina With an By Jack Nicas Natalie Alcoba and
2023-08-14   2023-08-15 primary.html                                 Unexpected Primary Victory                    Luca Cholakian Herrera             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/world/a
2023-08-14   2023-08-15 sia/india-temple-landslide-monsoon.html      9 Dead After Temple Collapse in India         By Suhasini Raj and Sameer Yasir   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/world/a                                                 By Christina Goldbaum and Jim
2023-08-14   2023-08-15 sia/taliban-fighters-pakistan-jihad.html     Taliban Fighters Restless Seek Battles Abroad Huylebroek                         TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/14/world/e                                                By Anatoly Kurmanaev and
2023-08-14   2023-08-15 urope/russia-convicts-soldiers-ukraine.html Once Convicts Theyre Fodder In Putins War     Ekaterina Bodyagina                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/world/e Russian Military Fires a Warning Then          By Matthew Mpoke Bigg Jenny
2023-08-14   2023-08-15 urope/russia-freighter-black-sea.html       Boards a Black Sea Freighter                  Gross and Christiaan Triebert       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/world/ Barbie Brings Delight and Anger to Saudi
2023-08-14   2023-08-15 middleeast/barbie-movie-saudi-arabia.html   Arabia                                        By Vivian Nereim                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/live/2023/08/15/us/
                        trump-indictment-georgia/trump-             Trump Cases What They Are And Where           By Ben Protess Alan Feuer and
2023-08-14   2023-08-15 investigations-indictment-charges           They Now Stand                                Danny Hakim                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/busines Japans Economy Slow to Emerge From the
2023-08-15   2023-08-15 s/japan-economy-gdp.html                    Pandemic Comes Roaring Back                   By Ben Dooley                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/opinion
                        /columnists/gender-studies-ron-desantis-
2023-08-15   2023-08-15 florida.html                                Where Gender Studies Are Out Jocks Are In     By Michelle Goldberg                TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/14/technol Prosecutors Lay Out Evidence in Fraud Case
2023-08-15   2023-08-15 ogy/sam-bankman-fried-ftx-prosecutors.html Against BankmanFried                       By David YaffeBellany                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/us/polit FEMA Tells Fire Survivors To Register To
2023-08-15   2023-08-15 ics/fema-maui-hawaii-wildfires.html         Get Relief                                By Eileen Sullivan                      TX 9-325-179   2023-10-02




                                                                                 Page 5606 of 5793
                        https://www.nytimes.com/2023/08/15/headwa Teens Sentenced to Life Make a Case for          By Issie Lapowsky and Abdul
2023-08-15   2023-08-15 y/prison-life-sentence-release.html          Release                                       Kircher                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/science Majestic Forests Need Help To Thrive in a
2023-08-15   2023-08-15 /redwood-trees-logging-california.html       Changing World                                By Jim Robbins and Ian C Bates   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/sports/s A Tournament In the Outback Where the Goal By Jenny Vrentas and Isabella
2023-08-15   2023-08-15 occer/world-cup-australia-indigenous.html    Is Raising Hope                               Moore                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/04/12/arts/des
                        ign/money-in-art-monnaie-de-paris-paul-      Portrait of the Artist as an Investment
2023-04-12   2023-08-16 durand-ruel.html                             Opportunity                                   By Farah Nayeri                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/technol A Zoom Meeting Fake Names And an AI
2023-08-07   2023-08-16 ogy/ai-start-ups-competition.html            Demo Gone Awry                                By Erin Griffith                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/dining/
2023-08-09   2023-08-16 cucumber-dinner-recipe.html                  In the Heat a Cooling Cucumber Dinner         By Melissa Clark                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/dining/
2023-08-10   2023-08-16 drinks/layered-cocktails.html                Floats Sinkers and Good Flavor Too            By Robert Simonson               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/dining/
2023-08-10   2023-08-16 drinks/rias-baixas-albarino-white-wine.html Next Great White Wine Albario Perhaps          By Eric Asimov                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/dining/
2023-08-11   2023-08-16 penne-all-vodka-recipe.html                  Pasta Alla Vodkas Secret Its All in the Sauce By Eric Kim                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/movies/
2023-08-11   2023-08-16 action-movies-streaming.html                 Whirling Swordplay and Big Twisters           By Robert Daniels                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/obituari Frederick Eberstadt 97 Photographer of
2023-08-13   2023-08-16 es/frederick-eberstadt-dead.html             Glittery and Gritty New York Society          By Alex Williams                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/world/e Nechama Tec 92 Survivor and Scholar Of
2023-08-13   2023-08-16 urope/nechama-tec-dead.html                  Holocaust Is Dead                             By Richard Sandomir              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/arts/mu Magoo 50 Rapper Who Collaborated With
2023-08-14   2023-08-16 sic/magoo-rapper-dead.html                   Timbaland Missy Elliott and Pharrell          By Amanda Holpuch                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/arts/tele
                        vision/ooku-the-inner-chambers-netflix-
2023-08-14   2023-08-16 anime.html                                   When the Shogun Was a Woman                   By Maya Phillips                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/books/                                                  By Johanna Lemola and Saara
2023-08-14   2023-08-16 marika-maijala-harakka-island-finland.html Finding Her Voice A Boat Ride Away              Mansikkamaki                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/dining/
2023-08-14   2023-08-16 billion-oyster-project-party.html            New York Attempts An Oyster Record            By Florence Fabricant            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/dining/r
2023-08-14   2023-08-16 egional-hot-dog-styles-america.html          Americas Regions Dress Up Their Dogs          By J J Goode                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/dining/r
2023-08-14   2023-08-16 estaurant-credit-card-fees.html              Credit Card Fees Raise Expenses and Hackles By Christina Morales               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/movies/
2023-08-14   2023-08-16 barbie-hollywood-lessons.html                 Five Lessons To Learn From Barbie            By Kyle Buchanan                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/opinion
2023-08-14   2023-08-16 /ocean-temperature-climate-change.html       Soon Our Oceans Could Feel Like Jacuzzis By Diana Nyad                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/theater/ Checking Off a Bucket List After a Buckets
2023-08-14   2023-08-16 a-eulogy-for-roman-review.html               Been Kicked                                   By Elisabeth Vincentelli         TX 9-325-179   2023-10-02




                                                                                 Page 5607 of 5793
                        https://www.nytimes.com/2023/08/14/us/haw Eyes Turn to Electric Utility In Search for    By Peter Eavis Ivan Penn and
2023-08-15   2023-08-16 aiian-electric-maui-wildfire.html          Cause of Fire                                 Thomas Fuller                     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/15/arts/mu
2023-08-15   2023-08-16 sic/boston-symphony-tanglewood.html        Summer Escape Dogged by Questions             By David Allen                    TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/15/arts/mu
2023-08-15   2023-08-16 sic/metropolitan-opera-guild-opera-news.html Opera Guild Has Money Troubles               By Javier C Hernndez               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/busines
                        s/artificial-intelligence-construction-real-
2023-08-15   2023-08-16 estate.html                                    HighRises Built by Hard Hats and Drones    By Patrick Sisson                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/busines
2023-08-15   2023-08-16 s/china-youth-unemployment.html                China Scraps Jobs Report On the Young      By Claire Fu                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/busines Chinese Real Estate Giant Inches Toward
2023-08-15   2023-08-16 s/country-garden-china-property.html           Default                                    By Alexandra Stevenson             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/busines
                        s/energy-environment/first-solar-forced-labor- Solar Panel Company Says Audit Found
2023-08-15   2023-08-16 malaysia.html                                  Forced Labor in a Malaysian Factory        By Ivan Penn and Ana Swanson       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/busines
                        s/media/antigay-slur-wausau-pilot-             After Report on AntiGay Slur a Local News
2023-08-15   2023-08-16 review.html                                    Site Fights for Life                       By Jeremy W Peters                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/busines Joann Meyer a Writer and Editor At a Raided
2023-08-15   2023-08-16 s/media/joann-meyer-dead.html                  Newspaper Dies at 98                       By Clay Risen                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/busines
2023-08-15   2023-08-16 s/stocks-markets-china-fed.html                2 Biggest Economies Weigh on Wall Street By Joe Rennison                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/dining/
                        narcan-naloxone-restaurants-bartenders-
2023-08-15   2023-08-16 opioid-epidemic.html                           Serve a Drink Then Save a Life             By Priya Krishna and Eleanore Park TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/dining/
2023-08-15   2023-08-16 where-i-ate-in-new-york-city.html              Spreading Good News HeadlineWorthy Dishe By Nikita Richardson                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/health/a
2023-08-15   2023-08-16 ddiction-treatment-opioids.html                Addiction Help Eludes Many A Survey Finds By Noah Weiland                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/insider/
2023-08-15   2023-08-16 hawaii-wildfires.html                          In Hawaii Paradise Plagued by Disaster     By Sarah Bahr                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/nyregio Former Spy Hunter for FBI Pleads Guilty to a
2023-08-15   2023-08-16 n/charles-mcgonigal-fbi-plea.html              Reduced Charge                             By Michael Rothfeld                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/nyregio                                                By Mihir Zaveri and Wesley
2023-08-15   2023-08-16 n/private-equity-apartments-nyc.html           When the Landlord Is a Private Equity Firm Parnell                            TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/15/opinion
2023-08-15   2023-08-16 /editorials/trump-indictment-republicans.html A Crossroads for Trump Voters              By The Editorial Board            TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/15/opinion
2023-08-15   2023-08-16 /iran-hostage-swap.html                       How Much Is an American Hostage Worth      By Bret Stephens                  TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/15/opinion                                               By Norman Eisen and Amy Lee
2023-08-15   2023-08-16 /trump-indictment-georgia-fani-willis.html    This Indictment Does Something Ingenious   Copeland                          TX 9-325-179     2023-10-02




                                                                                 Page 5608 of 5793
                        https://www.nytimes.com/2023/08/15/sports/a ExNFL Running Back 28 Dies in Motorcycle
2023-08-15   2023-08-16 lex-collins-ravens-seahawks-dead.html       Crash                                      By Derrick Bryson Taylor           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/sports/b
                        asketball/james-harden-daryl-morey-         Hardens Unhappy Again So Are Sixers Fans
2023-08-15   2023-08-16 philadelphia-76ers.html                     Again                                      By Sopan Deb                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/sports/s Matildas Unite a Land Split Culturally and
2023-08-15   2023-08-16 occer/womens-world-cup-australia.html       Geographically Over Footy                  By Rory Smith                      TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/15/sports/s
2023-08-15   2023-08-16 occer/womens-world-cup-spain-sweden.html Spain Gets the Last Word                      By Rory Smith                    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/15/technol
2023-08-15   2023-08-16 ogy/x-delay-throttle.html                   X Slows Down Users Access To Rival Sites By Kate Conger                     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/15/travel/a FlipFlops Iced Coffee Europe Has Some Tips
2023-08-15   2023-08-16 mericans-europe-heat-wave.html              For American Visitors                      By Melina Delkic                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/15/us/alex- Sandy Hook Families Seek Full Damages
2023-08-15   2023-08-16 jones-bankruptcy-sandy-hook.html            From Jones                                 By Elizabeth Williamson          TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/15/us/elect
                        ions/trump-indictment-georgia-charges-      Indictment Of Trump And Allies In a        By Nicholas BogelBurroughs and
2023-08-15   2023-08-16 takeaways.html                              Nutshell                                   James C McKinley Jr              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/15/us/fani-
                        willis-donald-trump-georgia-                From Inquiry to Indictment Unrelenting     By Danny Hakim and Richard
2023-08-15   2023-08-16 investigation.html                          Challenges for DA                          Fausset                          TX 9-325-179     2023-10-02
                                                                                                               By Nicholas BogelBurroughs Serge
                        https://www.nytimes.com/2023/08/15/us/haw                                              F Kovaleski Shawn Hubler and
2023-08-15   2023-08-16 aii-maui-lahaina-fire.html                  Mere Minutes From a Wisp To an Inferno     Riley Mellen                     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/15/us/polit Biden Plans Visit Soon To Inspect Disaster By Reid J Epstein and Shawn
2023-08-15   2023-08-16 ics/biden-hawaii-maui-wildfires.html        Area                                       Hubler                           TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/15/us/polit In Wisconsin Biden Attacks a FarRight
2023-08-15   2023-08-16 ics/biden-wisconsin-trump-ron-johnson.html Senator but Avoids Talking About Trump      By Reid J Epstein                  TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/15/us/polit After Years of Lies Election Deniers Face
2023-08-15   2023-08-16 ics/election-deniers-charges-indictment.html Something New Consequences                  By Nick Corasaniti               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/us/polit Hunter Bidens Lawyer in Plea Talks Steps     By Michael S Schmidt and Glenn
2023-08-15   2023-08-16 ics/hunter-biden-lawyer.html                 Down                                        Thrush                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/us/polit Two Decades On No Justice in USS Cole
2023-08-15   2023-08-16 ics/uss-cole-bombing-case.html               Case                                        By Carol Rosenberg               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/us/trum Among Potential Jurors for Georgia Trial      By Sean Keenan Christian Boone
2023-08-15   2023-08-16 p-jury-fulton-county-georgia.html            Neutrality Might Be a Rare Quality          Anna Betts and Rick Rojas        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/us/trum Racketeering Act is Key in Georgia in Case vs By Richard Fausset and Danny
2023-08-15   2023-08-16 p-rico-charges-georgia.html                  Trump                                       Hakim                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/world/a Decades Later Brazils Barbie Has Some
2023-08-15   2023-08-16 mericas/brazil-barbie-xuxa.html              Regrets                                     By Ana Ionova                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/world/a
2023-08-15   2023-08-16 sia/north-korea-travis-king.html             Soldier Fled Injustice North Korea Says     By Choe SangHun                  TX 9-325-179   2023-10-02



                                                                                Page 5609 of 5793
                        https://www.nytimes.com/2023/08/15/world/e
                        urope/russia-ruble-economy-interest-         In Russia Central Bank Raises Rates To Aid
2023-08-15   2023-08-16 rates.html                                   Ruble                                        By Anatoly Kurmanaev             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/world/e Ukraines Unseen Army Keeps the Tanks           By Oleksandr Chubko and Carlotta
2023-08-15   2023-08-16 urope/ukraine-war-mechanics-tanks.html       Rolling                                      Gall                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/world/g As Rented Chairs Multiply Greeks Fight for a
2023-08-15   2023-08-16 reece-beach-towel-protests.html              Free Spot on the Sand                        By Niki Kitsantonis              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/article/trump-cases- Comparing the Criminal Cases Against the
2023-08-15   2023-08-16 counts-charges-strengths.html                Former President                             By Charlie Savage                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/arts/des Orlando Museum ExChief Sued Over Fake
2023-08-16   2023-08-16 ign/fake-basquiats-orlando-lawsuit.html      Basquiats                                    By Brett Sokol and Matt Stevens  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/us/polit
                        ics/trump-twitter-direct-messages-                                                        By Alan Feuer and Maggie
2023-08-16   2023-08-16 warrant.html                                 Prosecutors Got Trumps DMs Off His Twitter Haberman                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/busines
                        s/lebanon-former-central-bank-governor-riad- Lebanon Freezes ExBanking Officials Assets
2023-08-16   2023-08-16 salameh.html                                 in Graft Scandal                             By Liz Alderman                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/polit
                        ics/trump-chutkan-2020-election-truth-       Taunt by Taunt an ExPresident Is Testing a By Maggie Haberman Jonathan
2023-08-16   2023-08-16 social.html                                  Judge in Washington                          Swan and Alan Feuer              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/30/well/mi Here to Help How to Feel Happier at Work
2023-07-30   2023-08-17 nd/work-stress-quitting.html                 When Quitting Isnt an Option                 By Christina Caron               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/busines
                        s/sextortion-ai-app-danger-project-safety-
2023-08-10   2023-08-17 reviews.html                                 Parent Guide Helps Detect Risky Apps         By Tripp Mickle                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/style/tin Goodbye to the Shop but the Lessons Are
2023-08-10   2023-08-17 a-the-store-closing.html                     Valuable                                     By Guy Trebay                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/t-
                        magazine/frank-bowling-sfmoma-hauser-
2023-08-11   2023-08-17 wirth.html                                   Frank Bowlings Geographies                   By Lovia Gyarkye                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/t-
                        magazine/maxime-bousquet-paris-
2023-08-11   2023-08-17 apartment.html                               By Design Paris Fancies                      By Ellie Pithers                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/style/hi OldSchool Fans Celebrate That HipHop Didnt
2023-08-14   2023-08-17 p-hop-50-concert.html                        Stop                                         By Alex Vadukul                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/arts/mu Travis Scotts Utopia Holds On to Top Album
2023-08-14   2023-08-17 sic/travis-scott-utopia-billboard-chart.html Spot                                         By Ben Sisario                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/movies/
2023-08-15   2023-08-17 barbie-transgender.html                      Barbie and Ken and Nothing in Between        By Emily St James                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/movies/ Millions Follow Their Movie Reviews but
2023-08-15   2023-08-17 tiktok-movie-reviews-critics.html            Dont Call Them Critics                       By Reggie Ugwu                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/nyregio Philip L Sherman 67 a Maestro Of a Mohel
2023-08-15   2023-08-17 n/philip-l-sherman-dead.html                 for 45 Years Is Dead                         By Sam Roberts                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/nyregio
2023-08-15   2023-08-17 n/rudy-giuliani-trump-indictment.html        The Allegiance That Hastened Giulianis Slide By Dan Barry                     TX 9-325-179   2023-10-02



                                                                                Page 5610 of 5793
                        https://www.nytimes.com/2023/08/15/opinion Lebanons Nightmare Could Become Israels
2023-08-15   2023-08-17 /israel-benjamin-netanyahu.html             Future                                      By Thomas L Friedman               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/opinion
2023-08-15   2023-08-17 /madonna-career.html                        We Keep Getting Madonna Wrong               By Mary Gabriel                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/us/elect Federal and Georgia Cases Cover Same Issues By Glenn Thrush and Danny
2023-08-15   2023-08-17 ions/trump-indictments-willis-smith.html    in Parallel Prosecutions                    Hakim                              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/us/maui Inside Hawaiis Only Burn Unit a Crush of
2023-08-15   2023-08-17 fire-hawaii-burn-unit.html                  Maui Victims                                By Mitch Smith                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/arts/ale New Analysis of Rust Gun Disputes Actors
2023-08-16   2023-08-17 c-baldwin-gun-trigger-rust.html             Account                                     By Julia Jacobs                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/arts/des British Museum Fires Worker Suspected of
2023-08-16   2023-08-17 ign/british-museum-theft.html               Looting Gold and Gems From Storeroom        By Alex Marshall                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/arts/des
2023-08-16   2023-08-17 ign/fortnite-holocaust-museum.html          Video Game Tells Stories Of Holocaust       By Zachary Small                   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/16/arts/dre
2023-08-16   2023-08-17 w-gilpin-faust-harvard-necessary-trouble.html Reflections on a Southern Girlhood         By Jennifer Schuessler            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/arts/mu Renata Scotto 89 Opera Diva Who Held Court
2023-08-16   2023-08-17 sic/renata-scotto-dead.html                   at the Met Dies                            By Jonathan Kandell               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/books/a Authors and Booksellers Urge Inquiry Into
2023-08-16   2023-08-17 mazon-books-justice-department.html           Amazon                                     By Alexandra Alter                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/busines Chinas Stock Market Slumps As Economic
2023-08-16   2023-08-17 s/china-hong-kong-stocks.html                 Gloom Spreads                              By Vivek Shankar                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/busines Fed Officials Avoided Victory Lap at July
2023-08-16   2023-08-17 s/economy/federal-reserve-minutes.html        Meeting                                    By Jeanna Smialek                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/busines
2023-08-16   2023-08-17 s/intel-tower-semiconductor-china.html        China Scuttles Intels 54 Billion Chip Deal By Don Clark and Keith Bradsher   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/busines
                        s/media/authorities-return-items-kansas-                                                 By Kevin Draper and Benjamin
2023-08-16   2023-08-17 newspaper-raid.html                           Newspaper To Get Back Seized Gear          Mullin                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/busines Target Sales Hit by Backlash Over PrideTied
2023-08-16   2023-08-17 s/target-sales-pride-backlash.html            Merchandise                                By Jordyn Holman                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/busines Inflation in the UK Eases to 68 as Energy
2023-08-16   2023-08-17 s/uk-inflation-july.html                      Prices Decline                             By Liz Alderman                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/health/a US Appeals Court Upholds Restrictions on an
2023-08-16   2023-08-17 bortion-pill-ruling.html                      Abortion Pill                              By Pam Belluck and Adam Liptak    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/16/health/e After a Toxic Train Wreck Illness Exile and    By Emily Baumgaertner and Brian
2023-08-16   2023-08-17 ast-palestine-ohio-train-derailment-crisis.html Debt                                       Kaiser                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/movies/
2023-08-16   2023-08-17 arclight-theater-hollywood.html                 A Hollywood Ending Eludes a Landmark       By Adam Nagourney               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/movies/
2023-08-16   2023-08-17 crossfit-documentaries.html                     There Is Strength in Numbers               By Calum Marsh                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/movies/ Iran Imposes Prison Sentences on Director
2023-08-16   2023-08-17 iran-filmmaker-saeed-roustaee-jailed.html       and Producer of a Film Honored at Cannes   By Christopher Kuo              TX 9-325-179   2023-10-02



                                                                                  Page 5611 of 5793
                        https://www.nytimes.com/2023/08/16/nyregio
                        n/catholic-school-pregnant-teacher-fired-new- Court Sides With School That Fired Unwed
2023-08-16   2023-08-17 jersey.html                                   Teacher                                      By Erin Nolan                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/nyregio
                        n/flesh-eating-bacteria-new-york-             3 NY Area Deaths Linked to Bacteria in
2023-08-16   2023-08-17 connecticut.html                              Oysters and Seawater                         By Amelia Nierenberg               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/nyregio                                                 By Dana Rubinstein Nicholas
2023-08-16   2023-08-17 n/ny-migrants-adams-hochul-letter.html        Migrants Test Leaders Unity In New York      Fandos and Luis FerrSadurn         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/nyregio Santos Aide Who Impersonated McCarthy           By Michael Gold and Grace
2023-08-16   2023-08-17 n/sam-miele-charged-george-santos.html        Staff Member Faces Charges                   Ashford                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/nyregio Synagogues In 12 States Are Targeted In
2023-08-16   2023-08-17 n/synagogues-swatting-antisemitism.html       Hoax Calls                                   By Jeffery C Mays                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/opinion
                        /florida-prager-slavery-frederick-            Using Frederick Douglass to Rationalize
2023-08-16   2023-08-17 douglass.html                                 Slavery                                      By Charles M Blow                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/opinion
2023-08-16   2023-08-17 /georgia-trump-indictment.html                The Georgia Indictment Speaks to History     By David Firestone                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/sports/f Blind Side Lawsuit Questions Depictions Of
2023-08-16   2023-08-17 ootball/blind-side-lawsuit-movie.html         Black Athletes                               By Santul Nerkar                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/sports/s
                        occer/lionel-messi-inter-miami-philadelphia- Messis Wizardry Has Turned Miami Into a
2023-08-16   2023-08-17 union.html                                    New Team                                     By Victor Mather                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/sports/s
                        occer/womens-world-cup-australia-
2023-08-16   2023-08-17 england.html                                  Australias Dream Denied                      By Rory Smith                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/sports/s The Crowd Roared The Lionesses Had a
2023-08-16   2023-08-17 occer/world-cup-england.html                  Resounding Response                          By Jenny Vrentas                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/sports/u
                        swnt-coach-vlatko-andonovski-resigns-         Andonovski US Womens Coach Resigns
2023-08-16   2023-08-17 womens-world-cup.html                         After Teams Lackluster World Cup             By Claire Fahy and Andrew Das      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/style/fe
                        male-designers-metropolitan-museum-musee-
2023-08-16   2023-08-17 des-arts-decortifs.html                       Fashion Only Women Could Create              By Vanessa Friedman                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/style/hu
2023-08-16   2023-08-17 gh-findletar-glass-flowerheadz.html           From the Flames Vessels of Imagination       By Chantel Tattoli                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/technol For the Good Of Society Hackers Prod AI to
2023-08-16   2023-08-17 ogy/ai-defcon-hackers.html                    Be Bad                                       By Sarah Kessler and Tiffany Hsu   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/technol A Life Coach Is in Training One Caveat It
2023-08-16   2023-08-17 ogy/google-ai-life-advice.html                Isnt Alive                                   By Nico Grant                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/theater/
                        jennifer-simard-once-upon-a-one-more-
2023-08-16   2023-08-17 time.html                                     This Evil Stepmother Is in It for the Laughs By Juan A Ramrez                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/doro Dorothy Casterline 95 Researcher Helped
2023-08-16   2023-08-17 thy-casterline-dead.html                      Codify American Sign Language                By Clay Risen                      TX 9-325-179   2023-10-02




                                                                                 Page 5612 of 5793
                        https://www.nytimes.com/2023/08/16/us/maui On Maui Balancing Grief and a Need to Rise By Damien Cave and Michelle
2023-08-16   2023-08-17 recovery-wildfire.html                      Like the Sun                                  Mishina Kunz                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/maui After the Maui Fire A Slow Grim Effort To
2023-08-16   2023-08-17 wildfire-victims-deaths-search.html         Identify the Dead                             By Tim Arango                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/polit
2023-08-16   2023-08-17 ics/biden-hawaii-maui-wildfires.html        Bidens Plan Maui Visit To Meet Survivors      By Peter Baker                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/polit DeSantiss Travel Costs Increased Nearly 70 in By Neil Vigdor and Nicholas
2023-08-16   2023-08-17 ics/desantis-campaign-costs.html            a Year                                        Nehamas                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/polit IRS Says Funding Has Improved Customer
2023-08-16   2023-08-17 ics/irs-cash-influx-digital.html            Service                                       By Alan Rappeport                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/polit Niger Coup May Slow US Fight Against          By Eric Schmitt Declan Walsh and
2023-08-16   2023-08-17 ics/niger-coup-terrorism-russia.html        Terror Bolstering Russia                      Elian Peltier                    TX 9-325-179   2023-10-02
                                                                    A Backlog of Passport Applications Foils
                        https://www.nytimes.com/2023/08/16/us/polit Summer Plans and Puts Heat on the State
2023-08-16   2023-08-17 ics/passport-processing-delays.html         Department                                    By Michael Crowley               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/polit Leaders Agree Stopgap Bill Will Be
                        ics/schumer-mccarthy-stopgap-spending-      Necessary to Avoid Shutting Down
2023-08-16   2023-08-17 shutdown.html                               Government                                    By Annie Karni                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/polit With Optimism and Faith Scott Hits It Off
2023-08-16   2023-08-17 ics/tim-scott-stump-speech-iowa.html        With Iowa Fairgoers                           By Anjali Huynh                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/polit All the Former Presidents Lawyers And How
2023-08-16   2023-08-17 ics/trump-lawyers-fees.html                 Much They Charged Him                         By Chris Cameron                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/polit Charges Reopen Split Over Trump in            By Jonathan Weisman and Maya
2023-08-16   2023-08-17 ics/trumps-indictment-georgia-2024.html     Georgias GOP                                  King                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/trum Trump Allies Are Likely to Be Booked at        By Danny Hakim and Richard
2023-08-16   2023-08-17 p-georgia-indictment-atlanta-jail.html      Notorious Jail                                Fausset                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/trum Experts Think Georgia Trial In March Could By Richard Fausset Danny Hakim
2023-08-16   2023-08-17 p-georgia-trial-schedule.html               Be a Stretch                                  and Shaila Dewan                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/world/a                                                By SuiLee Wee and Muktita
2023-08-16   2023-08-17 sia/thailand-pita-court.html                Thai Court Rejects a Top Candidates Bid       Suhartono                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/world/e A Banks Glitch Entices Its Customers to Try
2023-08-16   2023-08-17 urope/bank-ireland-technical-glitch.html    Fraud                                         By Isabella Kwai                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/16/world/e Blair Long Reviled Over Iraq Returns to
2023-08-16   2023-08-17 urope/britain-tony-blair-labour-election.html Favor With Labour Party                      By Stephen Castle             TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/16/world/e
                        urope/chitty-chitty-bang-bang-windmill-
2023-08-16   2023-08-17 sale.html                                     English Windmill for Sale Without Flying Car By Claire Moses               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/16/world/e Closures Across France Threaten Its Pool
2023-08-16   2023-08-17 urope/france-public-pools.html                Parity                                       By Juliette GuronGabrielle    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/16/world/e Germanys Government Takes a Step Toward
2023-08-16   2023-08-17 urope/germany-legal-marijuana.html            Legalizing Marijuana                         By Catie Edmondson            TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/16/world/e British Prime Minister Gets Away With a
2023-08-16   2023-08-17 urope/uk-rishi-sunak-vacation.html            Getaway                                      By Mark Landler               TX 9-325-179     2023-10-02




                                                                                  Page 5613 of 5793
                        https://www.nytimes.com/2023/08/16/world/e As Black Seas Perils Grow a Bypass in
2023-08-16   2023-08-17 urope/ukraine-romania-danube-shipping.html Romania Keeps Grain Flowing                  By Andrew Higgins                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/world/e
                        urope/ukraine-urozhaine-village-russia-
2023-08-16   2023-08-17 war.html                                   Kyiv Reclaims Village After Russians Retreat By Marc Santora                  TX 9-325-179   2023-10-02

                        https://www.nytimes.com/article/tropical-
2023-08-16   2023-08-17 storm-hilary-hurricane-california-mexico.html Tropical Storm Heads Toward Baja California By Judson Jones                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/nort North Carolina Enacts Ban on Transgender
2023-08-17   2023-08-17 h-carolina-anti-trans-laws-override.html      Care                                        By Rick Rojas and Anna Betts   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/16/us/phila Body Camera Alters Account By the Police By Joel Wolfram and Campbell
2023-08-17   2023-08-17 delphia-police-shooting-eddie-irizarry.html Of a Shooting                              Robertson                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/polit
                        ics/woman-arrested-death-threat-judge-      Woman Held After Judge In 2020 Case Is
2023-08-17   2023-08-17 chutkan.html                                Threatened                                 By Alan Feuer                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/insider/
                        following-the-science-above-the-ground-and-
2023-08-17   2023-08-17 below.html                                  Following Science Above Ground and Below By Josh Ocampo                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/movies/
                        reinventing-elvis-the-68-comeback-
2023-08-15   2023-08-18 review.html                                 Reinventing Elvis The 68 Comeback          By Glenn Kenny                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/movies/
2023-08-15   2023-08-18 untold-hall-of-shame-review.html            Untold Hall of Shame                       By Calum Marsh                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/science Retraction Fuels Doubts About
2023-08-15   2023-08-18 /retraction-ranga-dias-rochester.html       Superconductor Claims                      By Kenneth Chang                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/arts/des
                        ign/berenice-abbott-photographs-new-        How an Artist Grew Along With the
2023-08-16   2023-08-18 york.html                                   Skyscrapers                                By Karen Rosenberg                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/movies/
2023-08-16   2023-08-18 blue-beetle-review.html                     A Hero Story Thats All in the Family       By Maya Phillips                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/movies/
                        bradley-cooper-prosthetic-nose-leonard-     Leonard Bernsteins Children Defend Maestro
2023-08-16   2023-08-18 bernstein.html                              Makeup                                     By Marc Tracy                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/movies/
2023-08-16   2023-08-18 miguel-wants-to-fight-review.html           Miguel Wants to Fight                      By Concepcin de Len               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/nyregio
                        n/nypd-gina-mestre-charged-shooting-        Officer Helped Gang Leader Flee Country
2023-08-16   2023-08-18 boys.html                                   The US Says                                By Ed Shanahan                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/opinion In Europe Mass Death Has Become
2023-08-16   2023-08-18 /europe-tunisia-migration.html              Normalized                                 By Sally Hayden                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/opinion
2023-08-16   2023-08-18 /maui-fire-lahaina-hawaii.html              The Age of the Urban Inferno Is Here       By David WallaceWells             TX 9-325-179   2023-10-02




                                                                                 Page 5614 of 5793
                        https://www.nytimes.com/2023/08/16/opinion Giuliani Faces the Reality That the Rules      By Andrew Kirtzman and David
2023-08-16   2023-08-18 /rudy-giuliani-georgia-indictment-trump.html Apply to Him                                 Holley                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/us/scott-ExTrainer at San Jose State Admits He
2023-08-16   2023-08-18 shaw-sjsu-trainer-touching-guilty.html       Groped Athletes                              By Chang Che                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/arts/des
                        ign/art-monuments-national-mall-monument- On the National Mall New Monuments Tell
2023-08-17   2023-08-18 lab.html                                     New Stories                                  By Blake Gopnik                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/arts/mu
2023-08-17   2023-08-18 sic/classical-music-outdoors-summer.html     Setting Free The Concertos And the Arias     By James Estrin and Joshua Barone TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/arts/mu Jerry Moss Founder and the M of AampM
2023-08-17   2023-08-18 sic/jerry-moss-dead.html                     Records Is Dead at 88                        By Ben Sisario                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/arts/mu
2023-08-17   2023-08-18 sic/renata-scotto-appraisal.html             She Spun an Actors Insight Into Vocal Gold   By Oussama Zahr                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/arts/tele Carol Duvall 97 a Television Pioneer Who
2023-08-17   2023-08-18 vision/carol-duvall-dead.html                Became Its Queen of Crafting                 By Neil Genzlinger                TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/17/arts/tele
2023-08-17   2023-08-18 vision/chris-fleming-peacock-taskmaster.html This Weekend I Have                           By Margaret Lyons                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/arts/tele The Swamp Is in Serious Need Of a Good
2023-08-17   2023-08-18 vision/killing-it-review-peacock.html        Cleaning                                      By James Poniewozik              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/busines
                        s/energy-environment/hawaiian-electric-maui- Hawaiian Electric Faces Rising Scrutiny and a
2023-08-17   2023-08-18 wildfire.html                                Plunging Stock Price                          By J Edward Moreno               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/busines Paul Brodeur 92 Who Exposed The Hazards
2023-08-17   2023-08-18 s/media/paul-brodeur-dead.html               of Asbestos Dies                              By Richard Sandomir              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/busines
2023-08-17   2023-08-18 s/mortgage-rates-housing-market.html         Mortgage Rates Hit Highest Level Since 2002 By Gregory Schmidt                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/busines Trump Media Is Facing More Delays Over
2023-08-17   2023-08-18 s/trump-media-merger-dwac.html               Merger                                        By Matthew Goldstein             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/busines
2023-08-17   2023-08-18 s/walmart-consumer-spending.html             Sales Growth At Walmart Is Barometer          By Jordyn Holman                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/climate Official Aims to Amp Up Enforcement At
2023-08-17   2023-08-18 /david-uhlmann-epa.html                      EPA and Hold Polluters Accountable            By Lisa Friedman                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/climate                                                 By Manuela Andreoni and Catrin
2023-08-17   2023-08-18 /ecuador-yasuni-drilling-referendum.html     Oil Drilling Ban in Ecuador Is Up for a Vote Einhorn                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/health/
                        weight-loss-drugs-obesity-ozempic-           Medical Mystery Shrouds Drugs for Weight
2023-08-17   2023-08-18 wegovy.html                                  Loss                                          By Gina Kolata                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/movies/
2023-08-17   2023-08-18 back-on-the-strip-review.html                Back on the Strip                             By Brandon Yu                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/movies/
2023-08-17   2023-08-18 bella-review-bella-abzug.html                Bella                                         By Nicolas Rapold                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/movies/
2023-08-17   2023-08-18 billion-dollar-heist-review.html             Billion Dollar Heist                          By Natalia Winkelman             TX 9-325-179   2023-10-02



                                                                                 Page 5615 of 5793
                        https://www.nytimes.com/2023/08/17/movies/
2023-08-17   2023-08-18 birth-rebirth-review.html                  BirthRebirth                                 By Jeannette Catsoulis              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/movies/
2023-08-17   2023-08-18 landscape-with-invisible-hand-review.html  Alien Overlords Who Like to Watch            By Claire Shaffer                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/movies/
2023-08-17   2023-08-18 madeleine-collins-review.html              Madeleine Collins                            By Beatrice Loayza                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/movies/
2023-08-17   2023-08-18 mutt-review.html                           Mutt                                         By Teo Bugbee                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/movies/
2023-08-17   2023-08-18 simone-woman-of-the-century-review.html Simone Woman Of the Century                     By Ben Kenigsberg                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/movies/
2023-08-17   2023-08-18 strays-review-will-ferrell-jamie-foxx.html Lassie Dont Come Home                        By Glenn Kenny                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/movies/
2023-08-17   2023-08-18 the-adults-review.html                     The Adults                                   By Amy Nicholson                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/movies/
2023-08-17   2023-08-18 the-monkey-king-review.html                Stuffing an Old Tale With Sights and Gags    By Amy Nicholson                    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/17/nyregio Adams Announces Plans to Convert Office
2023-08-17   2023-08-18 n/eric-adams-midtown-rezoning-housing.html Buildings to Housing                         By Mihir Zaveri                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/nyregio Crush of Migrants Tests Hochuls HandsOff
2023-08-17   2023-08-18 n/hochul-migrant-crisis.html               Approach to Governing                        By Luis FerrSadurn                  TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/17/nyregio Rockaway Shark Victim Faces Long
2023-08-17   2023-08-18 n/shark-attack-victim-rockaway-beach.html Recovery                                      By Erin Nolan                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/opinion
2023-08-17   2023-08-18 /prostitution-sex-work.html                 Its Not Sex Work Its Prostitution           By Pamela Paul                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/sports/c Some Transgender Women May Be Barred        By Claire Moses and Lauren
2023-08-17   2023-08-18 hess-transgender-women-ban-fide.html        From Top Womens Competitions                McCarthy                            TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/17/sports/n The Blind Side of Storytelling on Sports and
2023-08-17   2023-08-18 caafootball/the-blind-side-michael-oher.html Race                                        By Kurt Streeter                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/sports/s Will Matildas Madness Spin Into More
2023-08-17   2023-08-18 occer/australia-soccer-matildas.html          Passion For Womens Sports                  By Jenny Vrentas                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/sports/s In a Rite of Passage Messi Meets the Media
2023-08-17   2023-08-18 occer/messi-mls.html                          and the Result Is Happy Talk               By Patricia Mazzei                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/technol
                        ogy/personaltech/subtitles-streaming-shows- Huh What There Are Ways To Improve the
2023-08-17   2023-08-18 speech-enhancers.html                         Sound on Your TV                           By Brian X Chen                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/technol                                               By Nico Grant Natasha Singer and
2023-08-17   2023-08-18 ogy/youtube-google-children-privacy.html      YouTube Ads Raise Alarm On Kids Data       Aaron Krolik                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/us/driv A Driverless Car Gets Stuck in Wet Concrete
2023-08-17   2023-08-18 erless-car-accident-sf.html                   in San Francisco                           By Michael Levenson                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/us/little- Little Rock to Buck Arkansas And Offer AP
2023-08-17   2023-08-18 rock-ap-african-american-studies.html         Black Studies                              By Dana Goldstein                  TX 9-325-179   2023-10-02




                                                                                Page 5616 of 5793
                        https://www.nytimes.com/2023/08/17/us/maui Mad Scramble to Save Beloved Pets as Fire
2023-08-17   2023-08-18 pets-dogs-cats.html                         Charred Lahaina                           By Ernesto Londoo                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/us/polit Atlanta Reporters Scoop On Trump Was No
2023-08-17   2023-08-18 ics/chidi-trump-indictment.html             Fluke                                     By Robert Draper                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/us/polit
                        ics/democrats-election-officials-value-the- Group Aims to Raise 10 Million to Protect
2023-08-17   2023-08-18 vote.html                                   Election Officials                        By Nick Corasaniti                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/17/us/polit                                              By Jonathan Swan Shane
2023-08-17   2023-08-18 ics/desantis-debate-strategy.html           Debating Tips Pop Up Online For DeSantis     Goldmacher and Maggie Haberman TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/17/us/polit                                             By Chris Cameron and David A
2023-08-17   2023-08-18 ics/donor-fraud-telemarketing-schemes.html Two Charged With Duping PAC Donors           Fahrenthold                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/us/polit
                        ics/saudi-arabia-israel-senate-white-       A SaudiIsrael Pact Requires Delicate        By Karoun Demirjian and Mark
2023-08-17   2023-08-18 house.html                                  Brokering                                   Mazzetti                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/us/polit Majority of Americans Say Trump Charges
2023-08-17   2023-08-18 ics/trump-indictments-polls.html            Have Merit but His GOP Grip Grows           By Neil Vigdor and Ruth Igielnik TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/us/polit
                        ics/vivek-ramaswamy-desantis-               Super PAC Singles Out Ramaswamy For         By Jonathan Swan Shane
2023-08-17   2023-08-18 documents.html                              His Faith                                   Goldmacher and Maggie Haberman TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/17/us/scho
2023-08-17   2023-08-18 ols-bus-drivers-shortage-delays.html        Students Are Back Many Bus Drivers Are Not By Colbi Edmonds                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/us/trum In Georgia Bids to Deter Trump Case Go
2023-08-17   2023-08-18 p-georgia-fani-willis-republicans.html      Nowhere                                     By Rick Rojas                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/us/trum                                              By Anna Betts James C McKinley
2023-08-17   2023-08-18 p-georgia-grand-jurors.html                 Georgia Jurors Facing Threats In Trump Case Jr and Nicholas BogelBurroughs   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/us/trum Trump Lawyers Seek April 2026 Start Date
2023-08-17   2023-08-18 p-jan-6-trial-date-proposal.html            for Trial in Jan 6 Case                     By Alan Feuer                    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/17/world/a 60 Migrants Are Feared Dead As Boat Flips
2023-08-17   2023-08-18 frica/cape-verde-migrant-boat-capsizes.html in the Atlantic                              By Mike Ives                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/world/a
                        mericas/ecuador-drug-trafficking-           How Ecuadors Neighbors Unleashed Drug        By Genevieve Glatsky and Jos
2023-08-17   2023-08-18 election.html                               Violence on Its Soil                         Mara Len Cabrera                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/world/a
                        sia/camp-david-summit-japan-south-korea- Tokyo and Seoul Put Focus On Future Not
2023-08-17   2023-08-18 biden.html                                  Bitter Past                                  By Ben Dooley and Choe SangHun TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/17/world/c
                        anada/canada-wildfire-evacuation-           City in Canadas Far North Evacuates From
2023-08-17   2023-08-18 yellowknife.html                            Wildfire the Only Way It Can                 By Ian Austen and Vjosa Isai    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/world/e Iran Arrests 12 Proponents Of the Rights Of   By Leily Nikounazar and Aaron
2023-08-17   2023-08-18 urope/iran-women-activists-detained.html    Women                                        Boxerman                        TX 9-325-179   2023-10-02




                                                                                Page 5617 of 5793
                        https://www.nytimes.com/2023/08/17/world/e
                        urope/israel-germany-us-arrow-missile-     Germany Turns to Israel for Missile Defense
2023-08-17   2023-08-18 defense-system.html                        System                                      By Isabel Kershner                     TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/17/world/e As Dolphins Wash Ashore Ukraine Builds
2023-08-17   2023-08-18 urope/russia-war-dolphin-deaths-ukraine.html Ecocide Case Against Russia                     By Marc Santora                TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/17/world/e                                                   By Matthew Mpoke Bigg and Lara
2023-08-17   2023-08-18 urope/ukraine-f16-jets-nato.html             No F16s From Allies This Year Kyiv Says         Jakes                          TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/17/world/e Villages Hunker Down As Shells Rain
2023-08-17   2023-08-18 urope/ukraine-villages-front-russia-war.html Nonstop                                         By Oleksandr Chubko              TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/17/world/                                                    By Raja Abdulrahim and Russell
2023-08-17   2023-08-18 middleeast/libya-tripoli-violence-clashes.html Libya Clashes Reflect Power Of Its Militias   Goldman                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/article/maui-          Out of Ashes A List Grows Of the Names Of
2023-08-17   2023-08-18 wildfire-victims.html                          the Dead                                      By Jacey Fortin and Adeel Hassan TX 9-325-179   2023-10-02
                        https://www.nytimes.com/article/trump-         Applying PAC Donations Toward a Legal
2023-08-17   2023-08-18 donations-legal-bills.html                     Defense Raises Ethical Questions              By Rebecca Davis OBrien          TX 9-325-179   2023-10-02

                        https://www.nytimes.com/live/2023/08/17/wo
                        rld/russia-ukraine-news/russian-media-reports-
                        that-a-us-citizen-of-russian-origin-was-taken- US Citizen Said to Be Held On Spy Charges
2023-08-17   2023-08-18 into-custody-on-espionage-charges               in Moscow                                 By Gaya Gupta                   TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/17/busines Chinas Real Estate Problems Deepen As
2023-08-18   2023-08-18 s/china-evergrande-bankruptcy.html              Giant Developer Seeks Bankruptcy          By Rich Barbieri                TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/18/sports/b
                        aseball/darryl-strawberry-mets-addiction-       Strawberry Is Preaching 2nd Chances And
2023-08-18   2023-08-18 ministry.html                                   Hope                                      By Michael Bamberger            TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/18/us/polit Biden to Cement A 3Way Alliance To Check
2023-08-18   2023-08-18 ics/biden-japan-south-korea-sum.html            Beijing                                   By Peter Baker                  TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/07/15/sports/g Purses and Sponsorships on the Womens Tour
2023-07-15   2023-08-19 olf/women-sponsors-money.html                   Are Both Booming                          By Paul Sullivan                TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/07/31/travel/a
2023-07-31   2023-08-19 lbania-kala-music-festival.html                 Dancing Till Dawn on the Albanian Riviera By Valeriya Safronova           TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/07/travel/a
2023-08-07   2023-08-19 spen-for-budget-travelers.html                  A Summer Visit to Aspen on the Cheap      By Elaine Glusac                TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/10/travel/j Help JetBlue Left Our Boy Scout Troop
2023-08-10   2023-08-19 etblue-connecting-flight-delay.html             Stranded at JFK                           By Seth Kugel                   TX 9-325-179       2023-10-02
                                                                                                                  By David Gelles Brad Plumer Jim
                        https://www.nytimes.com/interactive/2023/08/ The Clean Energy Future Is Arriving Faster Tankersley Jack Ewing Leo
2023-08-13   2023-08-19 12/climate/clean-energy-us-fossil-fuels.html Than You Think                               Dominguez and Nadja Popovich    TX 9-325-179       2023-10-02
                        https://www.nytimes.com/interactive/2023/08/                                              By Jack Ewing Clifford Krauss
                        12/climate/electric-car-politics-chevy-general- The Clean Energy Future Is a Battle for   Lisa Friedman Leo Dominguez and
2023-08-13   2023-08-19 motors.html                                     Hearts and Minds                          Nadja Popovich                  TX 9-325-179       2023-10-02




                                                                                  Page 5618 of 5793
                                                                                                               By Jim Tankersley Brad Plumer
                        https://www.nytimes.com/interactive/2023/08/ The Clean Energy Future Is Roiling Both   Ana Swanson Ivan Penn Leo
2023-08-13   2023-08-19 12/climate/wind-solar-clean-energy.html      Friends and Foes                          Dominguez and Nadja Popovich       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/busines
                        s/women-chief-executives-retail-
2023-08-14   2023-08-19 companies.html                               Women Lose Top Spots in Retail            By Jordyn Holman                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/well/mi A Fallout For Families Using Drugs For
2023-08-15   2023-08-19 nd/adhd-adderall-shortage-children.html      ADHD                                      By Christina Caron                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/world/e
                        urope/ukraine-war-soldiers-trauma-           Waging War and Battling the Demons of the
2023-08-15   2023-08-19 therapy.html                                 Mind                                      By Nicole Tung                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/arts/mu
2023-08-16   2023-08-19 sic/maxime-pascal-le-balcon.html             He Engulfs His Listeners In Sound         By Joshua Barone                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/arts/mu
2023-08-16   2023-08-19 sic/metallica-set-list-interview.html        Masters of Mixing It Up                   By Austin Considine                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/busines Robert H Giles 90 AwardWinning Newspaper
2023-08-16   2023-08-19 s/media/robert-h-giles-dead.html             Editor and Nieman Curator                 By Sam Roberts                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/technol
2023-08-16   2023-08-19 ogy/ai-gpu-chips-shortage.html               The AI Industrys Desperate Hunt for Chips By Erin Griffith                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/climate Hawaii Caught Ill Equipped For Handling
2023-08-17   2023-08-19 /hawaii-climate-wildfire-prevention.html     Climate Crisis                            By Christopher Flavelle            TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/17/opinion Online Retailers Are Taking Advantage of a
2023-08-17   2023-08-19 /amazon-delivery-trucks-urban-planning.html Public Resource City Streets                 By Christopher Caldwell          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/theater/
2023-08-17   2023-08-19 edinburgh-fringe.html                        Lots of Energy at the Edinburgh Fringe      By Houman Barekat                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/travel/                                               By Christine Chung and Madison
2023-08-17   2023-08-19 maui-wildfires-travel-tourism.html           Hawaii Trips Good or Bad After Fires        Malone Kircher                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/us/polit
                        ics/stuart-delery-white-house-counsel-steps- Chief Counsel For President To Step Down In
2023-08-17   2023-08-19 down.html                                    September                                   By Peter Baker                   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/17/world/a Veteran Pilot Dies en Route To Santiago
2023-08-17   2023-08-19 mericas/pilot-death-flight-miami-chile.html From Miami                                 By Chang Che                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/arts/des
2023-08-18   2023-08-19 ign/lgdr-superstar-gallery-splits-up.html   A Superstar Gallery Falls Apart            By Robin Pogrebin                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/busines
2023-08-18   2023-08-19 s/hong-kong-stocks-bear-market.html         Hang Seng Has Entered Bear Market          By John Yoon                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/busines                                             By Peter S Goodman and Ulet
2023-08-18   2023-08-19 s/indonesia-nickel-sulawesi-china.html      For Indonesia Chinas Plants Bring Tradeoff Ifansasti                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/climate In 2020 Maui Sued Big Oil Over Fire Risks
2023-08-18   2023-08-19 /maui-fires-lawsuit.html                    Now the Suit Has New Weight                By Hiroko Tabuchi                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/movies/ A Filmmakers Ode to Motherhood And Chain
2023-08-18   2023-08-19 bad-things-shudder-stewart-thorndike.html   Saws                                       By Elisabeth Vincentelli           TX 9-325-179   2023-10-02




                                                                                Page 5619 of 5793
                        https://www.nytimes.com/2023/08/18/movies/
2023-08-18   2023-08-19 scrapper-charlotte-regan.html                A Debut Transcends A Genres Dreariness     By Simran Hans                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/movies/
                        uma-thurman-red-white-royal-blue-            Theres No Such Thing As a Bad Movie
2023-08-18   2023-08-19 accent.html                                  Accent                                     By Kyle Buchanan                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/nyregio James L Buckley 100 Conservative Senator in
2023-08-18   2023-08-19 n/james-buckley-dead.html                    Liberal New York Dies                      By Robert D McFadden                TX 9-325-179   2023-10-02
                                                                                                                By Benjamin Weiser Ben Protess
                        https://www.nytimes.com/2023/08/18/nyregio                                              Jonah E Bromwich and William K
2023-08-18   2023-08-19 n/trump-indictments-trial-2024-election.html 4 Trump Trials Can Any Beat Election Clock Rashbaum                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/opinion
                        /mark-meadows-trump-georgia-
2023-08-18   2023-08-19 indictment.html                              Mark Meadows Is Everywhere and Nowhere By Katherine Miller                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/opinion
                        /womens-world-cup-final-uswnt-megan-         Dont Celebrate the US Womens Soccer
2023-08-18   2023-08-19 rapinoe.html                                 Teams Loss                                 By Lindsay Crouse                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/sports/f
                        ootball/denver-broncos-sean-payton-russell- Disorganized in Denver Payton Aims To
2023-08-18   2023-08-19 wilson.html                                  Reset the Undisciplined Broncos            By Emmanuel Morgan                  TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/18/sports/s For FirstTime Finalists a Swift Rise Is Also a
2023-08-18   2023-08-19 occer/womens-world-cup-spain-england.html Warning                                          By Rory Smith                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/sports/ The Most Impressive Team Isnt a Country but
2023-08-18   2023-08-19 world-athletics-championships-oac.html      a Brand                                        By Scott Cacciola                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/theater/ Musical Set in Midwest RazzleDazzles
2023-08-18   2023-08-19 chicago-musical-arabic-lebanon.html         Mideast                                        By Sara Aridi                    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/18/us/hurri California and Mexico Residents Are Bracing
2023-08-18   2023-08-19 cane-hilary-flooding-california-mexico.html for Powerful Hurricane                       By Corina Knoll and Aline Corpus   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/us/maui Maui Official Who Did Not Sound Sirens
2023-08-18   2023-08-19 emergency-chief-resigns.html                Steps Down                                   By Victoria Kim                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/us/maui Resort Hotels Become Havens for Hawaii Fire By Damien Cave and Eileen
2023-08-18   2023-08-19 fires-refugees-hotels.html                  Survivors                                    Sullivan                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/us/polit                                              By Peter Baker and Zolan
2023-08-18   2023-08-19 ics/biden-japan-south-korea-summit.html     A 3Way Pact Forged to Act As a Bulwark       KannoYoungs                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/us/polit If DeSantis Defends Trump at Debate Christie
2023-08-18   2023-08-19 ics/christie-desantis-trump-debate.html     Says He Shouldnt Run at All                  By Patricia Mazzei                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/us/polit
                        ics/cyberattacks-russia-china-space-        Foreign Spies May Be Targeting Private US
2023-08-18   2023-08-19 companies.html                              Space Companies                              By Julian E Barnes                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/us/polit Debate Strategy Exposed Candidates
2023-08-18   2023-08-19 ics/desantis-republican-debate-memo.html    Daunting Task Becomes More So                By Nicholas Nehamas                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/us/polit
                        ics/guantanamo-cole-bombing-confession-     Judge Throws Out Confessions in USS Cole
2023-08-18   2023-08-19 torture.html                                Bombing Case                                 By Carol Rosenberg                 TX 9-325-179   2023-10-02



                                                                                  Page 5620 of 5793
                        https://www.nytimes.com/2023/08/18/us/polit Despite Rule Illegal Trips Across Border Rose
2023-08-18   2023-08-19 ics/illegal-border-crossings.html           in July                                       By Eileen Sullivan              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/18/us/polit TrumpAffiliated Lawyer Appeared to Be at By Alan Feuer and Maggie
2023-08-18   2023-08-19 ics/kenneth-chesebro-jan-6-trump.html       the Capitol on Jan 6                          Haberman                        TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/18/us/polit Trump Plans to Skip GOP Debate for            By Maggie Haberman and Jonathan
2023-08-18   2023-08-19 ics/trump-debate-tucker-carlson.html        Interview With Carlson                        Swan                            TX 9-325-179    2023-10-02
                                                                                                                  By Helene Cooper Thomas
                        https://www.nytimes.com/2023/08/18/us/polit Dead and Hurt In Ukraine War Nearing          GibbonsNeff Eric Schmitt and
2023-08-18   2023-08-19 ics/ukraine-russia-war-casualties.html      500000                                        Julian E Barnes                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/18/us/polit
                        ics/vivek-ramaswamy-ron-desantis-republican-Ramaswamy Rises Enough in Polling To
2023-08-18   2023-08-19 primary.html                                Prompt Attacks by DeSantis Allies             By Jonathan Weisman             TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/18/us/west- West Virginia University Cutting Majors and
2023-08-18   2023-08-19 virginia-university-budget-cuts-deficit.html Staff                                       By Anemona Hartocollis            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/world/a Junta Claims Nigers Captive President Will
2023-08-18   2023-08-19 frica/niger-coup-president.html              Not Be Harmed                               By Elian Peltier                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/world/a Deposed Leader Celebrated Abroad Dodged By Elian Peltier Declan Walsh and
2023-08-18   2023-08-19 frica/niger-president-bazoum-coup.html       Foes at Home                                Omar Hama Saley                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/world/a
                        mericas/canada-wildfires-yellowknife-        Evacuations Are Ordered As Wildfires Burn
2023-08-18   2023-08-19 kelowna.html                                 Canada                                      By Ian Austen and Vjosa Isai      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/world/a
                        mericas/guatemala-election-bernardo-arevalo- Anticorruption Fighter May Be President in
2023-08-18   2023-08-19 presidency.html                              Land of Sharks                              By Simon Romero and Jody Garca    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/world/a For Single Women in China Owning a Home
2023-08-18   2023-08-19 sia/china-single-women-homebuyers.html       Is a New Form of Resistance                 By Joy Dong                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/world/a Jet Crashes On Highway In Malaysia Killing
2023-08-18   2023-08-19 sia/malaysia-plane-crash-elmina.html         10                                          By Mike Ives                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/world/e
                        urope/british-nurse-newborn-deaths-lucy-     In a Case That Horrified Britain a Nurse Is By Megan Specia Isabella Kwai
2023-08-18   2023-08-19 letby.html                                   Convicted of Killing Seven Newborns         and Aaron Boxerman                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/world/e A Flock Needed a New Flight Route So a
2023-08-18   2023-08-19 urope/johannes-fritz-ibises-migration.html   Biologist Learned to Fly                    By Denise Hruby                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/world/e Thousands Forced to Flee Wildfire in Canary
2023-08-18   2023-08-19 urope/spain-tenerife-wildfires.html          Islands                                     By Isabella Kwai                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/your-
2023-08-18   2023-08-19 money/credit-card-debt.html                  Credit Card Balances Swell to a New High    By Ann Carrns                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/us/polit Giuliani Repeatedly Sought Financial Help    By Maggie Haberman and Ben
2023-08-19   2023-08-19 ics/giuliani-trump-legal-finances.html       From Trump                                  Protess                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/us/wisc                                               By Mario Koran and Jamie Kelter
2023-08-19   2023-08-19 onsin-prison-lockdown.html                   A Prison Goes And Remains On Lockdown Davis                                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/world/e Women Take Their Turn for England Craving
2023-08-19   2023-08-19 urope/england-world-cup-lionesses.html       a Title Since 1966                          By Mark Landler                   TX 9-325-179   2023-10-02




                                                                                Page 5621 of 5793
                        https://www.nytimes.com/2023/06/06/books/r
2023-06-06   2023-08-20 eview/the-dress-diary-kate-strasdin.html     Material World                              By Raissa Bretaa               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/09/books/r
2023-06-09   2023-08-20 eview/say-anarcha-jc-hallman.html            Rescued From the Shadows                    By Jen Gunter                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/27/books/r
2023-06-27   2023-08-20 eview/tom-rachman-imposters.html             Persons of Interest                         By Sloane Crosley              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/28/books/r The Slave Sale That Saved and Stained
2023-06-28   2023-08-20 eview/the-272-rachel-swarns.html             Georgetown                                  By David W Blight              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/01/books/r
                        eview/owner-of-a-lonely-heart-beth-
2023-07-01   2023-08-20 nguyen.html                                  Ripple Effect                               By Sara Austin                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/01/books/r
                        eview/pete-and-alice-in-maine-caitlin-
2023-07-01   2023-08-20 shetterly.html                               Journey of the Plague Year                  By Allegra Goodman             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/12/books/r
2023-07-12   2023-08-20 eview/blight-emily-monosson.html             The Fungus Among Us                         By Jennifer Szalai             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/13/books/r
                        eview/into-the-bright-sunshine-samuel-g-
2023-07-13   2023-08-20 freedman.html                                North Star                                  By Khalil Gibran Muhammad      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/14/books/r
2023-07-14   2023-08-20 eview/strip-tees-kate-flannery.html          Retail Reality                              By Estelle Tang                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/19/books/r
                        eview/girls-and-their-monsters-audrey-clare-
2023-07-19   2023-08-20 farley.html                                  Inherited Conditions                        By Jonathan Rosen              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/interactive/2023/07/
                        21/nyregion/nyc-developers-private-owned- New Yorkers Got Broken Promises                By Urvashi Uberoy and Keith
2023-07-22   2023-08-20 public-spaces.html                           Developers Got 20 Million Sq Ft             Collins                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/26/books/i
2023-07-26   2023-08-20 n-the-blood-charles-barber.html              The Home Front                              By Tom Mueller                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/27/books/r
2023-07-27   2023-08-20 eview/the-slip-prudence-peiffer.html         Artists in Residence                        By Walker Mimms                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/30/books/r
2023-07-30   2023-08-20 eview/ann-patchett-tom-lake.html             Stages                                      By Alexandra Jacobs            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/04/movies/
                        spider-man-versus-teenage-mutant-ninja-
2023-08-04   2023-08-20 turtles.html                                 How the SpiderVerse Influenced Animation    By Esther Zuckerman            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/t-
2023-08-07   2023-08-20 magazine/artists-mediums.html                Second Lives                                By Hanya Yanagihara            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/07/t-                                                    By Kurt Soller Luis Alberto
2023-08-07   2023-08-20 magazine/dua-lipa-service95.html             The Long Game                               Rodriguez and Carlos Nazario   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/arts/dan On a Mission And With Means To Get It
2023-08-08   2023-08-20 ce/jody-arnhold-dance-education.html         Done                                        By Brian Seibert               TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/08/realesta
2023-08-08   2023-08-20 te/judy-holliday-west-village-apartment.html A Bit Hollywood a Bit Alice in Wonderland   By Tim McKeough                TX 9-325-179   2023-10-02



                                                                                Page 5622 of 5793
                        https://www.nytimes.com/2023/08/08/t-                                                   By Isaac Butler and Mari Maeda
2023-08-08   2023-08-20 magazine/broadway-minimalist-sets.html      Nowhere To Hide                             and Yuji Oboshi                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/books/r
2023-08-09   2023-08-20 eview/dawson-candon-darwin.html             Ready for Battle                            By Amal ElMohtar                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/realesta
2023-08-09   2023-08-20 te/gardening-landscaping-ecological.html    More Plants More Life and More Pleasure     By Margaret Roach                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/t-
                        magazine/salima-boufelfel-roberto-cowan-                                                By Eviana Hartman Dean Kaufman
2023-08-09   2023-08-20 tucson-home.html                            Earth Works                                 and Colin King                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/09/t-
                        magazine/womens-fall-fashion-pleats-                                                    By Bharat Sikka and Raphael
2023-08-09   2023-08-20 india.html                                  Shape Wear                                  Hirsch                           TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/10/books/r What Do Breakfast of Champions and The
2023-08-10   2023-08-20 eview/joy-of-sex-breakfast-of-champions.html Joy of Sex Have in Common                  By Tina Jordan                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/style/do When to Have and to Hold Includes a Puppy
2023-08-10   2023-08-20 gs-weddings-ceremonies.html                  or Two                                     By Sarah Lyon                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/t-                                                   By Alice NewellHanson and Sean
2023-08-10   2023-08-20 magazine/martha-rosler.html                  The Witness                                Donnola                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/10/t-
                        magazine/minimalist-layers-womens-fall-                                                 By Valeria Herklotz and Marcus
2023-08-10   2023-08-20 fashion.html                                 More or Less                               Cuffie                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/books/r
                        eview/octagon-house-irvington-orson-
2023-08-11   2023-08-20 fowler.html                                  Essay Crazy Eights                         By Molly Young                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/t-
2023-08-11   2023-08-20 magazine/bucket-bags-classic.html            Bucket Bags                                By Mari Maeda and Yuji Oboshi    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/11/t-
                        magazine/ingegerd-raman-claes-soderquist-
2023-08-11   2023-08-20 sweden.html                                  A Space to Make Things                     By Nancy Hass and Mikael Olsson TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/12/arts/tele
                        vision/baratunde-thurston-america-           Baratunde Thurston Chills With LoFi and
2023-08-12   2023-08-20 outdoors.html                                Jenis                                      By Kathryn Shattuck              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/12/nyregio
                        n/ripped-bodice-brooklyn-romance-book-                                                  By Dodai Stewart and Adrienne
2023-08-12   2023-08-20 store.html                                   Romance Novels Theyve Got It Covered       Grunwald                         TX 9-325-179   2023-10-02

                        https://www.nytimes.com/interactive/2023/08/ The Worlds Happiest Man Shares His Three
2023-08-13   2023-08-20 13/magazine/matthieu-ricard-interview.html Rules for Life                               By David Marchese                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/realesta A Woman Walks a WellWorn Path to
2023-08-14   2023-08-20 te/renters-queens-housing-court.html         Housing Court                              By DW Gibson                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/style/vo Do Supermodels Age or Get Airbrushed
2023-08-14   2023-08-20 gue-supermodels-cover.html                   Instead                                    By Vanessa Friedman              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/style/w
2023-08-14   2023-08-20 erner-herzog-ai-poetry.html                  Voice of AI Verse Why Werner Herzog        By Joseph Bernstein              TX 9-325-179   2023-10-02



                                                                                Page 5623 of 5793
                        https://www.nytimes.com/2023/08/14/t-
2023-08-14   2023-08-20 magazine/auditioning-art-collectors.html       The Right to Buy                        By MH Miller                    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/14/t-
2023-08-14   2023-08-20 magazine/fall-fashion-black-red-stilettos.html Look Sharp                              By Mari Maeda and Yuji Oboshi  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/14/t-                                                  By Rose Courteau Ana Topoleanu
2023-08-14   2023-08-20 magazine/lucia-vidales-museo-cabanas.html Luca Vidales                                 and Jocelyn Corona             TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/15/arts/des
2023-08-15   2023-08-20 ign/zeitz-museum-south-africa-kouoh.html       Revitalizing a Cape Town Museum         By Roslyn Sulcas                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/arts/mu
                        sic/morgan-wade-psychopath-kyle-
2023-08-15   2023-08-20 richards.html                                  Touch of Reality Helps Lift a Career    By Jon Caramanica               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/arts/tele
                        vision/comedy-artificial-intelligence-
2023-08-15   2023-08-20 chatgpt.html                                   Are Comedian Bots Ready to Kill         By Jason Zinoman                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/books/r
                        eview/jimin-han-the-apology-don-gillmor-
                        breaking-and-entering-genevieve-plunkett-in-
2023-08-15   2023-08-20 the-lobby-of-the-dream-house.html              The Shortlist Fractured Families        By Wadzanai Mhute               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/magazi
2023-08-15   2023-08-20 ne/confidence-diving.html                      Diving Boards                           By Haley Howle                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/opinion
2023-08-15   2023-08-20 /clothes-plus-size-women.html                  Just Make It Toots                      By Elizabeth Endicott           TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/15/opinion Trumps Georgia Indictment Answers Two
2023-08-15   2023-08-20 /georgia-donald-trump-indictment-case.html Big Questions                               By David French                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/opinion In Prosecuting Trump Mind the Lessons of
2023-08-15   2023-08-20 /trump-indictment-georgia-history.html      Reconstruction                             By Anthony Michael Kreis        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/style/hu
2023-08-15   2023-08-20 ma-abedin-hamptons-dinner.html              Turning Heads On Long Island               By Katie Van Syckle             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/style/ja Librarians Approve of This New JayZ
2023-08-15   2023-08-20 y-z-brooklyn-library-cards.html             Collectible                                By Callie Holtermann            TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/15/style/ro A Poets View From Behind the Mets Help
2023-08-15   2023-08-20 byn-schiff-metropolitan-museum-of-art.html Desk                                        By Maggie Lange                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/t-
2023-08-15   2023-08-20 magazine/coats-fall-womens-fashion.html     The Big Cover Up                           By Johnny Dufort and Jane How   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/t-
                        magazine/low-ground-floral-                                                            By Alexa Brazilian and Kyoko
2023-08-15   2023-08-20 arrangements.html                           Hit the Floor                              Hamada                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/theater/
                        bread-and-puppet-theater-peter-
2023-08-15   2023-08-20 schumann.html                               Hes Still Kneading Art And Sourdough Rye   By Bob Morris                   TX 9-325-179   2023-10-02




                                                                                   Page 5624 of 5793
                        https://www.nytimes.com/2023/08/16/books/r
2023-08-16   2023-08-20 eview/children-picture-books-reflections.html Mirror Images                              By Sabrina Orah Mark              TX 9-325-179   2023-10-02
                                                                      Peach Perfect Even the most mundane stone
                        https://www.nytimes.com/2023/08/16/magazi fruit manages to thrill when wrapped in flaky
2023-08-16   2023-08-20 ne/peach-galette-recipe.html                  pastry                                     By Yotam Ottolenghi               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/magazi
2023-08-16   2023-08-20 ne/pfas-toxic-chemicals.html                  Everywhere Forever                         By Kim Tingley                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/magazi
2023-08-16   2023-08-20 ne/sean-paul.html                             Still Busy                                 By Iva Dixit                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/magazi
2023-08-16   2023-08-20 ne/welcome-to-wrexham-soccer.html             Own Goal                                   By Amos Barshad                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/opinion How Do We Fix the Scandal That Is             By Nicholas Kristof and September
2023-08-16   2023-08-20 /health-care-life-expectancy-poverty.html     American Health Care                       Dawn Bottoms                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/realesta
                        te/780000-dollar-homes-new-york-georgia-
2023-08-16   2023-08-20 texas.html                                                                        780000 By Angela Serratore               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/realesta
2023-08-16   2023-08-20 te/manasquan-new-jersey.html                  Home to Sea Sand and Childhood Freedom By Jill P Capuzzo                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/style/da
2023-08-16   2023-08-20 ting-app-confrontation.html                   GrowingUp Pains                            By Philip Galanes                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/16/t-
2023-08-16   2023-08-20 magazine/pharrell-williams-louis-vuitton.html Pharrell Williams                        By MH Miller                      TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/16/t-
                        magazine/upholstered-chairs-furniture-
2023-08-16   2023-08-20 design.html                                   Upholstered Chairs                       By Mari Maeda and Yuji Oboshi     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/16/us/mich Old Stargazing Site Is Found Underground in
2023-08-16   2023-08-20 igan-state-observatory.html                   Michigan                                 By Rebecca Carballo               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/17/busines
                        s/economy/colorado-rocky-mountain-            Can Affluence and Affordable Housing     By Talmon Joseph Smith and
2023-08-17   2023-08-20 housing.html                                  Coexist                                  Joanna Kulesza                    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/17/busines
                        s/generation-x-retirement-student-loan-       As Gen X Faces Retirement Student Loan
2023-08-17   2023-08-20 debt.html                                     Debt Looms                               By Martha C White                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/17/busines Michael Parkinson 88 British Mainstay
2023-08-17   2023-08-20 s/media/michael-parkinson-dead.html           Famous for Interviewing the Famous       By Neil Genzlinger                TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/17/magazi
                        ne/california-high-school-racist-
2023-08-17   2023-08-20 instagram.html                                The Betrayal                             By Dashka Slater                  TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/17/magazi
                        ne/judge-john-hodgman-texting-from-the-
2023-08-17   2023-08-20 bathroom.html                                 Bonus Advice From Judge John Hodgman     By John Hodgman                   TX 9-325-179     2023-10-02




                                                                                Page 5625 of 5793
                                                                  At first the pain in the college students hip
                                                                  seemed like an exercise injury Then it spread
                        https://www.nytimes.com/2023/08/17/magazi down her leg and it wouldnt go away What
2023-08-17   2023-08-20 ne/osteoid-osteoma-diagnosis.html         could it be                                   By Lisa Sanders MD                TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/17/magazi                                               By Ronald Johnson and Anne
2023-08-17   2023-08-20 ne/poem-from-letters-to-walt-whitman.html Poem From Letters to Walt Whitman             Boyer                         TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/17/nyregio Commuters in New York City Are Still         By Emma G Fitzsimmons and Ana
2023-08-17   2023-08-20 n/eric-adams-buses-nyc.html                 Waiting for the Bus Mayor                   Ley                           TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/17/opinion
2023-08-17   2023-08-20 /biden-green-ira-industrial-trade.html      Biden and Americas Big Green Push           By Paul Krugman               TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/17/opinion
2023-08-17   2023-08-20 /marriage-happiness-career.html             Marriage Not Career Brings Happiness        By David Brooks               TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/17/opinion
2023-08-17   2023-08-20 /social-media-algorithm-choice.html         Its Time to Push Back Against the Algorithm By Julia Angwin               TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/17/realesta
2023-08-17   2023-08-20 te/housing-prices.html                       NewBuild Houses Shrink a Little            By Michael Kolomatsky         TX 9-325-179       2023-10-02

                        https://www.nytimes.com/2023/08/17/t-
2023-08-17   2023-08-20 magazine/gay-villains-white-lotus-ripley.html Bad Gays                                  By Mark Harris                    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/17/t-                                                    By Jessica Madavo and Delphine
2023-08-17   2023-08-20 magazine/womens-fall-fashion-marseille.html Ladies Choice                                Danhier                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/us/polit Examining the Breadth Of Trumps Election
2023-08-17   2023-08-20 ics/trump-election-lies-fact-check.html      Lies                                        By Linda Qiu                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/us/yello New Hornet In Georgia Poses Threat To
2023-08-17   2023-08-20 w-legged-hornet-us.html                      Ecosystem                                   By Rebecca Carballo              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/world/e Aleksandar Matanovic 93 Grandmaster
2023-08-17   2023-08-20 urope/aleksandar-matanovic-dead.html         Whose Publishing Firm Changed Chess         By Dylan Loeb McClain            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/article/ebike-laws-
2023-08-17   2023-08-20 nyc.html                                     The Citys Plan to Limit EBike Battery Fires By Winnie Hu                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/interactive/2023/08/ Seeking a OneBedroom in a Quintessential
                        17/realestate/brooklyn-one-bedroom-          New York Brownstone How Far Would Their
2023-08-17   2023-08-20 apartment.html                               Budget Take Them                            By Debra Kamin                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/us/polic Police Corruption Charges Roil Two
2023-08-18   2023-08-20 e-officers-fbi-raid-antioch-california.html  California Cities                           By Eduardo Medina                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/arts/mu
2023-08-18   2023-08-20 sic/gerard-grisey.html                       A Final Piece Felt Like Something More      By Jeffrey Arlo Brown            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/arts/mu
                        sic/michael-jackson-sexual-abuse-            Appeals Court Revives Sex Abuse Suits
2023-08-18   2023-08-20 lawsuits.html                                Against Michael Jacksons Companies          By Christopher Kuo               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/busines
                        s/the-outlook-for-the-economy-has-improved-
2023-08-18   2023-08-20 and-yet.html                                 A Promising Outlook But Dont Relax Yet      By Jeff Sommer                   TX 9-325-179   2023-10-02




                                                                                 Page 5626 of 5793
                        https://www.nytimes.com/2023/08/18/opinion 47 Days in Extreme Heat and You Begin to    By Terry Tempest Williams and
2023-08-18   2023-08-20 /heat-wave-utah-climate-change.html        Notice Things                               Michael Lundgren                TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/18/opinion Insecuritys Insidious And Overwhelming
2023-08-18   2023-08-20 /inequality-insecurity-economic-wealth.html Power Over All of Us                       By Astra Taylor                 TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/18/opinion
2023-08-18   2023-08-20 /rudy-giuliani-trump-authoritarianism.html Rudy Giuliani Was Always Like This          By Jamelle Bouie                TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/18/realesta
2023-08-18   2023-08-20 te/mother-ame-zion-church-harlem-nyc.html Time Challenges a Harlem Fixture              By Mia Jackson                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/18/sports/o John Devitt 86 Australian Swimming
2023-08-18   2023-08-20 lympics/john-devitt-dead.html                Champion With Tarnished Gold Medal         By Frank Litsky                TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/18/style/ari A Walk Around the Lake Was Poetry to Their
2023-08-18   2023-08-20 a-aber-noah-warren-wedding.html              Ears                                       By John Otis                   TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/18/style/ev
2023-08-18   2023-08-20 a-mckend-cnn-dennis-bates-wedding.html       Finally Finding the Partner She Deserved   By Nia Decaille                TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/18/style/jo
2023-08-18   2023-08-20 an-winter-christopher-anderson-wedding.html For a FifthGrade Crush a FiveDecade Interval By Tammy LaGorce                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/style/m Their Moms and Long Bike Rides Drew
2023-08-18   2023-08-20 aria-antonaccio-harry-gural-wedding.html    Them Together                                By Julia Bozzone                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/style/m
                        odern-love-gay-immigrant-jamaica-
2023-08-18   2023-08-20 deportation.html                            Deeply Rooted Feelings of Self and Family By Christy DeGallerie              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/style/qu Some Birthday Greetings Now Call for
2023-08-18   2023-08-20 eer-men-birthday-nudes.html                 Birthday Suits                               By David Mack                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/style/st An Unlikely Landing Pad For Prestige Media
2023-08-18   2023-08-20 andard-industries-vanity-fair.html          Alumni                                       By Steven Kurutz                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/t-
                        magazine/st-louis-katherine-bernhardt-home-                                              By Kate Guadagnino and Emiliano
2023-08-18   2023-08-20 memphis-design.html                         Back to the Future                           Granado                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/t-
2023-08-18   2023-08-20 magazine/tag-heuer-skipper.html             First of its Kind Last of its Kind           By Lindsay Talbot               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/us/ada- Ada Deer 88 Dies Regained Sovereignty For
2023-08-18   2023-08-20 deer-dead.html                              Wisconsin Tribe                              By Clay Risen                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/us/maui A Seaside Oasis For Maui Elders Ends in a
2023-08-18   2023-08-20 wildfire-senior-complex-lahaina.html        Blaze                                        By Jack Healy                   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/18/world/e
2023-08-18   2023-08-20 urope/ukraine-conscientious-objectors.html Prosecuted in Ukraine for Refusing to Fight By Cassandra Vinograd           TX 9-325-179     2023-10-02
                        https://www.nytimes.com/article/nys-legal- Why New York Has So Few Legal Sellers of
2023-08-18   2023-08-20 marijuana-rollout-stalled.html             Cannabis                                    By Ashley Southall              TX 9-325-179     2023-10-02




                                                                                Page 5627 of 5793
                        https://www.nytimes.com/2023/08/18/technol
                        ogy/cruise-crash-driverless-car-san-         Cruise to Reduce Driverless Car Fleet in San
2023-08-19   2023-08-20 francisco.html                               Francisco                                      By Yiwen Lu                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/us/was Wildfires Menace Washington Prompting             By Eduardo Medina and Daniel
2023-08-19   2023-08-20 hington-wildfire-four-lakes.html             Evacuations                                    Walters                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/arts/tele Star Wars Spinoff Puts a Fan Favorite Front
2023-08-19   2023-08-20 vision/star-wars-ahsoka.html                 and Center                                     By Calum Marsh                  TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/19/busines
2023-08-19   2023-08-20 s/beekeeping-companies-colony-collapse.html Mind Your Own Bees but Dont Buy More     By David Segal and Ciril Jazbec        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/busines
                        s/media/kansas-newspaper-marion-county-     Raided Paper Hailed From Afar Gets Mixed
2023-08-19   2023-08-20 record.html                                 Reviews at Home                          By Kevin Draper                        TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/19/insider/
2023-08-19   2023-08-20 one-long-reporting-trip-around-the-world.html One Long Reporting Trip Around the World By Jer Longman                     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/19/nyregio At South Brooklyns Beaches a Battle of the
2023-08-19   2023-08-20 n/brooklyn-beach-buoys-jet-ski.html           Buoys                                      By Alyson Krueger                TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/19/nyregio
2023-08-19   2023-08-20 n/judy-gold-provincetown.html                 What Makes a Comics Bells Go Off           By Alix Strauss                  TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/19/opinion I Refuse the Graceful Slide Into Cultural
2023-08-19   2023-08-20 /aging-millennials-cool.html                  Irrelevance                                By Jessica Bennett               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/19/opinion
2023-08-19   2023-08-20 /rudy-giuliani-donald-trump-rico.html         Live by RICO Die by RICO                   By Maureen Dowd                  TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/19/realesta I Accidentally Violated My Lease Should I
2023-08-19   2023-08-20 te/apartment-lease-violation.html             Let the Landlord Know                      By Jill Terreri Ramos            TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/19/sports/n How a Nonbinary Runner Rose to the Top of
2023-08-19   2023-08-20 ikki-hiltz-world-championships.html           Track                                      By Talya Minsberg                TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/19/sports/o Before the Olympics Polynesia Celebrates Its By Andrew Keh and Tatsiana
2023-08-19   2023-08-20 lympics-surfing-2024-paris-tahiti.html        Own Games                                  Chypsanava                       TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/19/sports/s For Australias Best Female Athletes There Is
2023-08-19   2023-08-20 occer/australia-women-athletes.html           No Shortage of Opportunities               By Rory Smith                    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/19/style/ne
2023-08-19   2023-08-20 w-friend-children-conversation.html           We Just Met So Dont Try to Read My Mind By Sarah Miller                     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/19/us/polit                                              By Jonathan Swan Jeremy W Peters
2023-08-19   2023-08-20 ics/trump-fox-debate.html                     Trump Tussles With Fox News Before Debate and Maggie Haberman               TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/19/world/a                                                  By Jack Nicas and Manuela
2023-08-19   2023-08-20 mericas/brazil-amazon-tribe-piripkura.html 1000 Square Miles Preserved for a Tribe of 2     Andreoni                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/world/a
                        mericas/hurricane-hilary-mexico-baja-      Citizens in Baja Warned To Prepare Before        By Emiliano Rodrguez Mega Elda
2023-08-19   2023-08-20 california.html                            Storm                                            Cant and Aline Corpus          TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/19/world/a Artists Recreate a Bygone China One
2023-08-19   2023-08-20 sia/china-miniature-homes-nostalgia.html   Miniature Home at a Time                         By Vivian Wang and Qilai Shen   TX 9-325-179   2023-10-02




                                                                                  Page 5628 of 5793
                        https://www.nytimes.com/2023/08/19/world/c
                        anada/canada-wildfires-british-columbia-    Lasting Scar Once British Columbias Wildfire
2023-08-19   2023-08-20 kelowna.html                                Is Over                                      By Ian Austen                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/world/e Russian Missile Strikes Heart of Ukrainian
2023-08-19   2023-08-20 urope/chernihiv-ukraine-russia-strike.html  City Leaving at Least 7 Dead                 By Marc Santora                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/world/e
                        urope/france-climate-change-fresk-          Hot Ticket in Paris Crowds Are Flocking To
2023-08-19   2023-08-20 workshops.html                              Climate Workshop                             By Constant Mheut                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/world/e JeanLouis Georgelin 74 Dies Led NotreDame
2023-08-19   2023-08-20 urope/jean-louis-georgelin-dead.html        Reconstruction                               By Aurelien Breeden              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/world/e EU Leaders Confront A Terrifying Prospect
2023-08-19   2023-08-20 urope/trump-2024-election-europe.html       The Return of Trump                          By Steven Erlanger               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/world/
                        middleeast/syria-war-children-cluster-      12 Years of War in Syria Leave a Lethal      By Raja Abdulrahim and Nicole
2023-08-19   2023-08-20 bombs.html                                  Threat Underfoot                             Tung                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/nyregio More Scrutiny for a New York City Migrant
2023-08-20   2023-08-20 n/docgo-migrant-sexual-assaults.html        Contractor                                   By Jay Root                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/pageon In Times Past Exploring an Artifact From the
2023-08-20   2023-08-20 eplus/north-pole-cook-peary.html            Archives of The New York Times               By David W Dunlap                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/style/gr Theater Kids Are Older Now and Taking
2023-08-20   2023-08-20 own-up-theater-kids.html                    Over                                         By Madison Malone Kircher        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/style/ha                                              By Sarah Bahr and Mohamed
2023-08-20   2023-08-20 ptic-suits-deaf-music.html                  Really You Can Just Feel the Groove          Sadek                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/us/polic Think Police Should Wear Cameras Thats
2023-08-20   2023-08-20 e-body-cameras-pay.html                     Extra                                        By Shaila Dewan                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/us/trees-One City 90 Trees and an 82YearOld
2023-08-20   2023-08-20 heat-wave-new-haven-ct.html                 Crusader                                     By Colbi Edmonds                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/world/a
                        mericas/ecuador-election-assassination-     In Ecuador Security Issue Is Paramount as    By Genevieve Glatsky and Jos
2023-08-20   2023-08-20 explainer.html                              Voters Head to the Polls                     Mara Len Cabrera                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/t-
2023-08-22   2023-08-20 magazine/ice-luxury.html                    Cold Comfort                                 By Ligaya Mishan and Esther Choi TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/15/arts/dan
2023-08-15   2023-08-21 ce/morris-dancing-english-folk-tradition.html Old Moves Updated for New Sensibilities     By Genevieve Marks            TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/16/busines
                        s/economy/union-leaders-teamsters-uaw-        Propelled by Angry Union Members New
2023-08-16   2023-08-21 hollywood.html                                Leaders Are Taking a Harder Line            By Noam Scheiber              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/17/books/ Memoirs Tell the Other Side of The Blind
2023-08-17   2023-08-21 michael-oher-two-memoirs.html                 Side                                        By Elisabeth Egan             TX 9-325-179     2023-10-02

                        https://www.nytimes.com/interactive/2023/08/
2023-08-17   2023-08-21 17/upshot/six-kinds-of-republican-voters.html The 6 Kinds of Republican Voters            By Nate Cohn                  TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/18/arts/des Creating a Riot of Color in a Studio of Her
2023-08-18   2023-08-21 ign/yevonde-photography.html                  Own                                         By Emily LaBarge              TX 9-325-179     2023-10-02



                                                                                  Page 5629 of 5793
                        https://www.nytimes.com/2023/08/18/arts/mu
                        sic/playlist-dolly-parton-beatles-joni-                                                 By Jon Pareles Giovanni
2023-08-18   2023-08-21 mitchell.html                              Dolly Parton Enlivens Beatles Hit and More   Russonello and Lindsay Zoladz     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/movies/
2023-08-18   2023-08-21 horror-movies-summer.html                  Horrifying Options As Summer Fades           By Erik Piepenburg                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/opinion
2023-08-18   2023-08-21 /editorials/trump-not-doing-debate.html    The Elephant Not in the Room                 By Michelle Cottle                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/busines Companies Adding Care for Menopause To
2023-08-19   2023-08-21 s/corporate-benefits-menopause.html        Benefits Packages                            By Alisha Haridasani Gupta        TX 9-325-179   2023-10-02
                                                                                                                By Lauren Hirsch Alisha
                        https://www.nytimes.com/2023/08/19/busines Popular Pickleball Went Pro but Can the      Haridasani Gupta Ravi Mattu and
2023-08-19   2023-08-21 s/dealbook/pickleball-business.html          Sport Make Big Returns to Investors        Bernhard Warner                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/busines
                        s/energy-environment/hawaiian-electric-maui-
2023-08-19   2023-08-21 wildfire-climate-change.html                 Utility Knew Of Fire Risk In Hawaii      By Ivan Penn and Peter Eavis        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/busines For the Young a Windfall Can Mean Relief
2023-08-19   2023-08-21 s/financial-windfall-young-people.html       and Unease                               By Caitlin Kelly                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/sports/b
                        aseball/baseball-brooklyn-cyclones-coney-    Well at Least One Team In New York Is    By Matt Martell and Monique
2023-08-19   2023-08-21 island.html                                  Winning                                  Jaques                              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/us/polit How Plea Deal Went Off Track For Bidens By Michael S Schmidt Luke
2023-08-19   2023-08-21 ics/inside-hunter-biden-plea-deal.html       Son                                      Broadwater and Glenn Thrush         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/us/sout
2023-08-19   2023-08-21 hern-extreme-heat-summer.html                Not Just Heat But Humidity Plagues South By Rick Rojas                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/arts/dan Gus Solomons Jr a Towering Figure in
2023-08-20   2023-08-21 ce/gus-solomons-jr-dead.html                 Experimental Dance Dies at 84            By Gia Kourlas                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/arts/mu
                        sic/philadelphia-musicians-orchestra-
2023-08-20   2023-08-21 strike.html                                  Musicians Vote to Authorize Strike       By Javier C Hernndez                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/arts/tele Inga Swenson 90 Whose Talents Drew Raves
2023-08-20   2023-08-21 vision/inga-swenson-dead.html                on Broadway and Roars on Benson          By Neil Genzlinger                  TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/20/busines For China Danger Rises As Housing Turns      By Daisuke Wakabayashi and
2023-08-20   2023-08-21 s/china-property-crisis-country-garden.html Sour                                        Alexandra Stevenson               TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/20/busines Strays Joins Lineup of Films Affected by the
2023-08-20   2023-08-21 s/media/strays-blue-beetle-box-office.html Actors Strike                                By Nicole Sperling                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/crossw The Bond Between Clues Is Thicker Than
2023-08-20   2023-08-21 ords/daily-puzzle-2023-08-21.html          Water                                        By Deb Amlen                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/nyregio FastMoving Brooklyn Fires Hurt 13 Including By Erin Nolan and Chelsia Rose
2023-08-20   2023-08-21 n/brooklyn-fires-children-injuries.html    3 Children                                   Marcius                           TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/20/obituari Overlooked No More Robert M Budd Whose
2023-08-20   2023-08-21 es/overlooked-no-more-robert-m-budd.html Newsstand Was Unlike Any Other            By Ellen Gruber Garvey                 TX 9-325-179   2023-10-02




                                                                                Page 5630 of 5793
                        https://www.nytimes.com/2023/08/20/obituari Ron Cephas Jones 66 Soulful This Is Us Star
2023-08-20   2023-08-21 es/ron-cephas-jones-dead.html                  With Two Emmys Dies                         By Alex Traub                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/opinion
2023-08-20   2023-08-21 /camp-summer-campsickness.html                 Theres No Cure for Campsickness Thats OK By Sandra Fox                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/opinion
2023-08-20   2023-08-21 /donald-trump-republicans.html                 Is Trump Even Eligible for a Second Term    By David French                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/opinion
2023-08-20   2023-08-21 /kansas-press-freedom.html                     Courts Need to Protect Press Freedoms       By Gregory P Magarian            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/science Russian Lander Crashes Into the Moon            By Kenneth Chang Alina Lobzina
2023-08-20   2023-08-21 /russia-moon-space-crash.html                  Handing Moscow a New Setback                and Anton Troianovski            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/sports/b Swept by Boston Yankees Face the
2023-08-20   2023-08-21 aseball/yankees-red-sox.html                   Unthinkable Mediocrity                      By Tyler Kepner                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/sports/s
                        occer/womens-world-cup-win-spain-vilda-        For Spain a Title Built on Talent Not
2023-08-20   2023-08-21 bonmati.html                                   Harmony                                     By Rory Smith                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/sports/s England World Cups Great Survivor Finally
2023-08-20   2023-08-21 occer/world-cup-england.html                   Runs Out of Escape Hatches                  By Jenny Vrentas                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/us/maui Fire Highlights Hawaiis History of Water        By Michael Corkery Mike Baker
2023-08-20   2023-08-21 hawaii-water-supply.html                       Fights                                      and Shawn Hubler                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/us/polit
2023-08-20   2023-08-21 ics/biden-trump-republican-primary.html        For GOP Worries About Electability Fade     By Shane Goldmacher              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/us/polit New Speech By DeSantis Refocuses His
2023-08-20   2023-08-21 ics/desantis-stump-speech.html                 Approach                                    By Nicholas Nehamas              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/us/polit Pence Undercuts a Claim By Trump That the
2023-08-20   2023-08-21 ics/pence-trump-classified-documents.html      Files He Kept Were Declassified             By Peter Baker                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/us/polit                                                By Maggie Haberman Shane
2023-08-20   2023-08-21 ics/trump-biden-debates.html                   Trump Already Eager To Debate With Biden Goldmacher and Jonathan Swan        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/us/trum Rappers RICO Case in Georgia Hints at How By Richard Fausset and Danny
2023-08-20   2023-08-21 p-young-thug-rico.html                         Trumps May Go                               Hakim                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/world/e
                        urope/hermoso-kiss-world-cup-spain-            World Cup Victory Is Marred By an Intrusion
2023-08-20   2023-08-21 rubiales.html                                  of Machismo                                 By Constant Mheut                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/world/e Spain Lifts World Cup Trophy and the Hopes By Constant Mheut and Isabella
2023-08-20   2023-08-21 urope/spain-womens-world-cup.html              of Girls Back Home                          Kwai                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/world/e
                        urope/ukraine-counteroffensive-commanders- Ukraine Troops On Front Lines Laud
2023-08-20   2023-08-21 fighters.html                                  Offensive                                   By Carlotta Gall                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/world/e F16s From Denmark And Netherlands Are           By Matthew Mpoke Bigg and
2023-08-20   2023-08-21 urope/ukraine-war-f16-jets.html                Set                                         Vivek Shankar                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/us/stor A Rare Tropical Storm Drenches Dry
2023-08-21   2023-08-21 m-hilary-flooding-california.html              California Leaving at Least 1 Dead          By Thomas Fuller                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/arts/tele
                        vision/whats-on-tv-this-week-the-bachelorette-
2023-08-21   2023-08-21 and-riverdale.html                             This Week on TV                             By Shivani Gonzalez              TX 9-325-179   2023-10-02




                                                                                 Page 5631 of 5793
                        https://www.nytimes.com/2023/08/21/nyregio Amid Tension Adams Visits Israel a Rite of
2023-08-21   2023-08-21 n/eric-adams-nyc-israel-netanyahu.html      Passage for New York Mayors                 By Emma G Fitzsimmons               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/nyregio Rift Grows Over Casinos and Childrens        By Dana Rubinstein and Nicole
2023-08-21   2023-08-21 n/nyc-casino-marketing-children.html        Sports                                      Hong                                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/sports/b To Go the Distance in the Ring Fighters
2023-08-21   2023-08-21 oxing-larry-wade.html                       Practice Sprints at the Track               By Morgan Campbell                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/theater/
2023-08-21   2023-08-21 el-mago-pop-review-antonio-diaz.html        In His Hands Simplicity Does the Trick      By Alexis Soloski                   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/21/us/polit Governors Gun Proposal Spurned by GOP
2023-08-21   2023-08-21 ics/tennessee-gun-law-nashville-shooting.html Allies                                    By Emily Cochrane                   TX 9-325-179   2023-10-02
                                                                                                                By David Pierson Lynsey Chutel
                        https://www.nytimes.com/2023/08/21/world/a                                              Jack Nicas Alex Travelli and Paul
2023-08-21   2023-08-21 sia/brics-summit-members.html               BRICS Nations Debate Letting Others In      Sonne                               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/world/a
                        ustralia/caroline-kennedy-solomon-          Lifting the Kennedy Legacy With a Diplomats
2023-08-21   2023-08-21 islands.html                                Touch                                       By Damien Cave                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/09/well/m
2023-08-09   2023-08-22 ove/steps-walking-health-benefits.html      To Keep Doctor Away Try 4000 Steps a Day By Dani Blum                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/article/covid-
2023-08-09   2023-08-22 booster-fall.html                           Dont Get Your Next Covid Booster Quite Yet By Dana G Smith                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/article/covid-
2023-08-11   2023-08-22 variant.html                                Assessing the Risks of the EG5 Variant      By Dana G Smith                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/14/well/eat
2023-08-14   2023-08-22 /fiber-diet.html                            A FiberPoor Diet Is a Problem               By Alice Callahan                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/science Those Signals Can Show What Youre
2023-08-15   2023-08-22 /music-brain-pink-floyd.html                Hearing                                     By Hana Kiros                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/well/liv
2023-08-15   2023-08-22 e/sun-tan-burn-uv.html                      How Bad Is a Suntan Really                  By Melinda Wenner Moyer             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/busines
2023-08-16   2023-08-22 s/reinsurance-global-crises.html            Niche Industry Upends Disaster Insurance    By Emily Flitter                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/16/science Upwardly Mobile From an Ancient Rabbit
2023-08-16   2023-08-22 /pterosaur-fossil-brazil.html               Reptile Signs of an Evolutionary Leap       By Kate Golembiewski                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/article/marathon-
2023-08-16   2023-08-22 training-pace-miles.html                    Autumn Marathoners Sharpen Your Tools       By Amanda Loudin                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/nyregio
2023-08-17   2023-08-22 n/eric-adams-press.html                     For Eric Adams Its Been a Tough Summer      By James Barron                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/science Humans Stoked Fires Of Animals Extinction
2023-08-17   2023-08-22 /climate-paleontology-mammals.html          Long Ago Study Says                         By Katrina Miller                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/arts/des
2023-08-18   2023-08-22 ign/fake-basquiats-sentencing.html          Peddler of Bogus Art Avoids Prison Term     By Matt Stevens                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/busines                                              By Peter S Goodman and Ulet
2023-08-18   2023-08-22 s/indonesia-nickel-china-us.html            Geopolitics Snarls Clean Energy             Ifansasti                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/science Butterfly Vision Seeing Colors That Others
2023-08-18   2023-08-22 /butterfly-vision-genes.html                Can Only Imagine                            By Veronique Greenwood              TX 9-325-179   2023-10-02



                                                                                Page 5632 of 5793
                        https://www.nytimes.com/2023/08/19/health/ How Nursing Homes Failed on Covid
2023-08-19   2023-08-22 nursing-homes-covid.html                    Protection                                By Paula Span                    TX 9-325-179          2023-10-02
                        https://www.nytimes.com/2023/08/19/nyregio Judge Rosemary S Pooler 85 Backer Of
2023-08-19   2023-08-22 n/rosemary-s-pooler-dead.html               Consumers and Breaker of Barriers         By Sam Roberts                   TX 9-325-179          2023-10-02
                        https://www.nytimes.com/2023/08/19/science PlantLoving Dinosaur Discovering the
2023-08-19   2023-08-22 /india-fossil-discovery.html                Evidence Of a Very Early Vegetarian       By Meenakshi J                   TX 9-325-179          2023-10-02
                        https://www.nytimes.com/2023/08/20/arts/thi Thierry Despont 75 Elegant Hand Behind
2023-08-20   2023-08-22 erry-despont-dead.html                      Architectural Gems Dies                   By Alex Williams                 TX 9-325-179          2023-10-02
                        https://www.nytimes.com/2023/08/20/opinion What Just Happened at West Virginia
2023-08-20   2023-08-22 /west-virginia-university-cuts.html         University Should Worry All of Us         By Leif Weatherby                TX 9-325-179          2023-10-02
                        https://www.nytimes.com/2023/08/20/science Bees Whose Buzzing Was Abruptly Silenced
2023-08-20   2023-08-22 /mummified-bees-cocoons.html                Some 3000 Years Ago                       By Sarah Derouin                 TX 9-325-179          2023-10-02
                        https://www.nytimes.com/2023/08/20/us/polit The Elites He Now Targets Gave DeSantis a
2023-08-20   2023-08-22 ics/ron-desantis-education.html             Leg Up                                    By Nicholas Confessore           TX 9-325-179          2023-10-02
                        https://www.nytimes.com/article/tropical-   Tropical Storm Franklin Threatens the     By Judson Jones and Hogla Enecia
2023-08-20   2023-08-22 storm-franklin-hurricane.html               Dominican Republic Haiti and Puerto Rico  Prez                             TX 9-325-179          2023-10-02

                        https://www.nytimes.com/2023/08/20/world/a Crusader Against Graft Clinches Presidency
2023-08-21   2023-08-22 mericas/arevalo-wins-election-guatemala.html In Guatemala Runoff                           By Simon Romero and Jody Garca     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/world/a In Ecuador an Establishment Leftist and a       By Genevieve Glatsky Jos Mara
2023-08-21   2023-08-22 mericas/ecuador-election.html                Newcomer Businessman Will Face Off            Len Cabrera and Thale Ponce        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/arts/mu Bob Jones Dies at 86 Star Behind the Stage At
2023-08-21   2023-08-22 sic/bob-jones-dead.html                      Newports Festivals                            By Richard Sandomir                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/arts/mu
                        sic/rich-men-north-of-richmond-oliver-       Political Folk Song Strikes Chord and Hits No
2023-08-21   2023-08-22 anthony.html                                 1                                             By Joe Coscarelli and Marc Tracy   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/arts/mu
2023-08-21   2023-08-22 sic/the-armed-perfect-saviors.html           Anonymous Shredders Drop Secret Identities By Mike Isaac                         TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/21/arts/tele
2023-08-21   2023-08-22 vision/john-oliver-seth-meyers-comedy.html From LateNight Talk To a StandUp Gig            By Jason Zinoman                   TX 9-325-179   2023-10-02
                                                                     American Airlines Pilots Ratify Contract That
                        https://www.nytimes.com/2023/08/21/busines Raises Compensation by 46 Percent Over 4
2023-08-21   2023-08-22 s/american-airlines-pilots-union.html        Years                                         By Niraj Chokshi                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/busines
2023-08-21   2023-08-22 s/china-central-bank-rate-cut.html           Beijings Central Bank Cuts Key Interest Rate By Keith Bradsher                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/busines China Economy Shaken by Crisis In Real
2023-08-21   2023-08-22 s/china-economy-real-estate-crisis.html      Estate                                        By J Edward Moreno                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/busines Bloomberg Overhauls His Data Companys
2023-08-21   2023-08-22 s/media/bloomberg-lp-succession.html         Top Ranks                                     By Benjamin Mullin                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/nyregio New York to Investigate a Medical Contractor
2023-08-21   2023-08-22 n/nyc-migrants-docgo-investigation.html      for Migrants                                  By Jay Root                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/opinion
                        /columnists/china-financial-crisis-
2023-08-21   2023-08-22 economy.html                                 How Scary Is Chinas Crisis                    By Paul Krugman                    TX 9-325-179   2023-10-02



                                                                                 Page 5633 of 5793
                        https://www.nytimes.com/2023/08/21/opinion
                        /columnists/sohrab-ahmari-social-
2023-08-21   2023-08-22 democracy.html                             A RightWinger Calls for Social Democracy    By Michelle Goldberg              TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/21/opinion These Are Some of the Weirdest Years in
2023-08-21   2023-08-22 /maui-biden-trump-republican-debate.html    American History                           By Gail Collins and Bret Stephens TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/science
2023-08-21   2023-08-22 /nuclear-war-brain-neuroscience.html        Rethinking the Unthinkable                 By Sarah Scoles                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/sports/b As Orioles Soar Boss Eyes Deal To
2023-08-21   2023-08-22 aseball/john-angelos-orioles.html           Reimagine Their Stadium                    By Tyler Kepner                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/sports/f Maxie Baughan 85 Ferocious Linebacker of
2023-08-21   2023-08-22 ootball/maxie-baughan-dead.html             1960s                                      By Alex Williams                  TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/21/sports/s Richardson Is the Fastest Woman in the
2023-08-21   2023-08-22 hacarri-richardson-world-championships.html World                                      By Talya Minsberg                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/technol
2023-08-21   2023-08-22 ogy/chip-designer-arm-ipo-softbank.html     Huge IPO Is Anticipated For Chip Firm      By Santul Nerkar and Don Clark    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/technol
2023-08-21   2023-08-22 ogy/nvidia-ai-chips-gpu.html                How Nvidia Became AIs OneStop Shop         By Don Clark                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/theater/
                        here-you-come-again-and-on-cedar-
2023-08-21   2023-08-22 street.html                                 Two Musicals Sit On Lonely Street          By Laura CollinsHughes            TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/21/theater/
2023-08-21   2023-08-22 the-effect-review-national-theater-london.html Whats Chemistry Got to Do With It    By Houman Barekat                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/theater/
                        the-outsiders-musical-broadway-angelina-
2023-08-21   2023-08-22 jolie.html                                     The Outsiders Will Head To Broadway  By Sarah Bahr                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/us/alab Alabama Can Carry Out Transgender Care
2023-08-21   2023-08-22 ama-transgender-care-ban.html                  Ban Appeals Panel Says               By Mitch Smith                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/us/arch Facing Suits Archdiocese Says It Will
2023-08-21   2023-08-22 diocese-bankruptcy-san-francisco.html          Reorganize                           By Ruth Graham                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/us/geor Judge Blocks Georgia Ban On Hormones For
2023-08-21   2023-08-22 gia-transgender-ban-minors.html                Minors                               By Anna Betts                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/us/maui Risk of Wildfire Certain But Maui Wasnt  By Tim Arango Jack Healy and
2023-08-21   2023-08-22 wildfire-response.html                         Ready                                Damien Cave                          TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/21/us/polit President Tours Damage With Local Officials By Zolan KannoYoungs and Erica
2023-08-21   2023-08-22 ics/biden-maui-hawaii-wildfires.html        as the Search for Victims Continues         L Green                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/us/polit
2023-08-21   2023-08-22 ics/china-restrictions-distrust.html        States Clamps on China Alarm US Businesses By Alan Rappeport                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/us/polit Christie Loses Dream Foil With Trump Out of By Nick Corasaniti and Charles
2023-08-21   2023-08-22 ics/chris-christie-debate-trump.html        Debate                                      Homans                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/us/polit
2023-08-21   2023-08-22 ics/gop-republican-debate-democrats.html    Democrats Rooting for a Rowdy GOP Debate By Reid J Epstein                   TX 9-325-179   2023-10-02



                                                                                Page 5634 of 5793
                        https://www.nytimes.com/2023/08/21/us/polit
                        ics/hawaii-governor-josh-green-maui-        Maui Fires Are Huge Test for Hawaiis
2023-08-21   2023-08-22 fires.html                                  Governor                                     By Shawn Hubler                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/us/polit
                        ics/supreme-court-thomas-jefferson-high-    Supreme Court Is Asked to Hear New           By Stephanie Saul and Adam
2023-08-21   2023-08-22 school-admissions.html                      Admissions Case on Race                      Liptak                            TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/us/polit Trump Faces Criticism For Requesting His
2023-08-21   2023-08-22 ics/trump-jan-6-trial-date.html             Trial Be Postponed Until 2026                By Alan Feuer                     TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/us/polit Trumps Lead in Iowa Is Strong and Steady
2023-08-21   2023-08-22 ics/trump-poll-rating.html                  Latest Polling Shows                         By Anjali Huynh                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/us/trum                                               By Danny Hakim Maggie
2023-08-21   2023-08-22 p-bail-georgia-election-case.html           Trumps Bail In Georgia Set At 200000         Haberman and Richard Fausset      TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/world/a 12 Detained After a Cargo Of Fake Gold Is
2023-08-21   2023-08-22 frica/egypt-zambia-plane.html               Uncovered                                    By Lynsey Chutel and Vivian Yee TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/21/world/a
                        mericas/ecuador-guatemala-election-         In Latin Americas Elections the Unexpected   By Simon Romero Genevieve
2023-08-21   2023-08-22 takeaways.html                              Is the Rule                                  Glatsky and Jody Garca            TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/world/a Japans Plan for Its Tainted Reactor Water
2023-08-21   2023-08-22 sia/korea-japan-fukushima.html              Polarizes South Korea                        By Choe SangHun                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/world/e
                        urope/lucy-letby-sentence-nurse-babies-     Nurse Who Murdered 7 Newborns in Britain
2023-08-21   2023-08-22 killed.html                                 Is Given Life Sentence                       By Megan Specia                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/world/e
                        urope/spain-soccer-kiss-rubiales-hermoso-   Spanish Official Apologizes Sort of for
2023-08-21   2023-08-22 apology.html                                Kissing Player During Ceremony               By Rachel Chaundler               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/world/e Diplomacy on 2 Fronts As Ukraine War
2023-08-21   2023-08-22 urope/ukraine-greece-russia-iran.html       Draws New Map of Alliances                   By Niki Kitsantonis and Paul Sonne TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/world/e To Escape War Kyivs Soldiers Play a
2023-08-21   2023-08-22 urope/ukraine-russia-world-of-tanks.html    WarBased Video Game                          By Thomas GibbonsNeff             TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/21/world/ Palestinian Mans Lawyers Say Israeli Police
2023-08-21   2023-08-22 middleeast/israel-palestine-star-of-david.html Marked Star of David on His Face          By Raja Abdulrahim                TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/21/world/ Saudi Guards Killed African Migrants a         By Ben Hubbard and Shuaib
2023-08-21   2023-08-22 middleeast/saudi-arabia-migrants-yemen.html Rights Group Says                            Almosawa                          TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/us/hilar Southern California Surfaces From Big Storm
2023-08-22   2023-08-22 y-tropical-storm-flood-rain-california.html Drenched but Relieved                        By Jill Cowan and Thomas Fuller   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/22/arts/im Players Need a Magic Touch To Survive
2023-08-22   2023-08-22 mortals-of-aveum-sigils.html                Immortals of Aveum                           By Brian X Chen                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/22/books/y
2023-08-22   2023-08-22 unte-huang-daughter-of-the-dragon.html      Reviled Revered And Now Researched           By Casey Schwartz                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/22/nyregio Those Jailed Without Heat Could Settle for 10
2023-08-22   2023-08-22 n/nyc-jail-settlement-blackout.html         Million                                      By Karen Zraick                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/22/science
2023-08-22   2023-08-22 /menopause-vaginal-atrophy.html             Unending Indignities Of Vaginal Atrophy      By Rachel E Gross                 TX 9-325-179    2023-10-02



                                                                                Page 5635 of 5793
                        https://www.nytimes.com/2023/08/04/movies/
2023-08-04   2023-08-23 sci-fi-movies-streaming.html                The Future With Dinosaurs and Aliens        By Elisabeth Vincentelli        TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/17/dining/
2023-08-17   2023-08-23 psyllium-husks.html                         A HotSelling Supplement Is Also Old News By Priya Krishna                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/18/dining/
2023-08-18   2023-08-23 kosua-ne-meko-ghanaian-eggs.html            The Summery Way to Eat Boiled Eggs          By Yewande Komolafe             TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/18/nyregio Jerome Hauer 71 Helped New York and the
2023-08-18   2023-08-23 n/jerome-hauer-dead.html                    Nation Cope With Catastrophes               By Sam Roberts                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/19/climate Young Activists Taking On Climate Change
2023-08-19   2023-08-23 /young-climate-activists.html               Fight                                       By David Gelles                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/19/opinion
                        /enrique-tarrio-proud-boys-latinos-
2023-08-19   2023-08-23 racism.html                                 The Paradox of the Latino White Supremacist By Yarimar Bonilla              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/arts/des
2023-08-21   2023-08-23 ign/copyright-ai-artwork.html               Court Rejects AI Role As Creator            By Zachary Small                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/books/h Howard S Becker 95 Top Sociologist Who
2023-08-21   2023-08-23 oward-s-becker-dead.html                    Said Deviance Was Just a Label              By Elsa Dixler                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/dining/
                        new-york-city-wine-food-festival-hip-hop-
2023-08-21   2023-08-23 anniversary.html                            Wine and Food Event Includes a Steady Beat By Florence Fabricant            TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/21/health/s Study Links Screen Time to Delayed
2023-08-21   2023-08-23 creen-time-developmental-delays-babies.html Development in Babies                     By Matt Richtel                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/opinion
2023-08-21   2023-08-23 /elections-democracy.html                   To Improve Democracy Get Rid of Elections By Adam Grant                     TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/opinion If Republicans Thin the Field We Will Beat
2023-08-21   2023-08-23 /governor-sununu-republicans-trump.html     Trump                                     By Christopher T Sununu           TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/21/technol                                               By Tripp Mickle Yiwen Lu and
2023-08-21   2023-08-23 ogy/waymo-driverless-cars-san-francisco.html Waymo Goes Live in San Francisco            Mike Isaac                     TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/world/e Covid Silver Lining for Parisian Cafes and
2023-08-21   2023-08-23 urope/paris-cafes-summer-terraces.html       Patrons                                     By Liz Alderman                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/article/best-school- These Kids Lunches Check All the Right
2023-08-21   2023-08-23 lunch-ideas-bento-box.html                   Boxes                                       By J Kenji LpezAlt              TX 9-325-179   2023-10-02
                                                                                                                 By Sydney Ember Emily Steel
                        https://www.nytimes.com/interactive/2023/08/ Airline Close Calls Happen Far More Often   Leanne Abraham Eleanor Lutz and
2023-08-21   2023-08-23 21/business/airline-safety-close-calls.html  Than Previously Known                       Ella Koeze                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/us/polit GOP Debate Stage Will Have 8 Candidates      By Shane Goldmacher and Lisa
2023-08-22   2023-08-23 ics/gop-debate-candidates.html               and No Trump                                Lerer                           TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/21/world/a Cambodian Leaders Son Takes Reins From
2023-08-22   2023-08-23 sia/cambodia-hun-manet-prime-minister.html Father                                     By SuiLee Wee                  TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/21/world/a Japan to Release Water From Ruined Nuclear
2023-08-22   2023-08-23 sia/japan-fukushima-water-release.html     Plant Despite Objections                   By Motoko Rich and Hisako Ueno TX 9-325-179       2023-10-02




                                                                                 Page 5636 of 5793
                        https://www.nytimes.com/2023/08/21/world/a Thai Parliament Names Tycoon Prime           By SuiLee Wee and Muktita
2023-08-22   2023-08-23 sia/thailand-thaksin-prime-minister.html   Minister                                     Suhartono                   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/22/arts/des
2023-08-22   2023-08-23 ign/harlem-renaissance-met-exhibition.html Met Announces Harlem Renaissance Show        By Zachary Small            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/arts/des
                        ign/marcel-breuer-wellfleet-summer-
2023-08-22   2023-08-23 house.html                                    Architects Vulnerable Legacy              By Helen Stoilas            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/arts/mu
                        sic/ben-gibbard-postal-service-death-cab-for-
2023-08-22   2023-08-23 cutie.html                                    Honoring 2 LPs That Changed His Career    By Luke Winkie              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/arts/mu
2023-08-22   2023-08-23 sic/spatial-audio-classical-music.html        Giving Bach The Spatial Treatment         By Seth Colter Walls        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/arts/tele May the Force Be With You and You and
2023-08-22   2023-08-23 vision/ahsoka-review-star-wars.html           You                                       By Mike Hale                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/busines
2023-08-22   2023-08-23 s/china-economy-property.html                 Chinas Plan For Stimulus Loses Steam      By Keith Bradsher           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/busines
2023-08-22   2023-08-23 s/economy/gina-raimondo-china.html            Commerce Secretary Is Going To China      By Ana Swanson              TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/22/busines UPS Workers Approve New 5Year Contract
2023-08-22   2023-08-23 s/economy/ups-contract-vote-teamsters.html Averting Strike                              By Noam Scheiber            TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/22/busines After Downfall of Vice Its Top Journalists
2023-08-22   2023-08-23 s/media/404-media-vice-motherboard.html       Start Tech Site of Their Own              By Katie Robertson          TX 9-325-179   2023-10-02
                                                                      Lachlan Murdoch Pays 840000 to an
                        https://www.nytimes.com/2023/08/22/busines Australian Publisher He Had Sued for
2023-08-22   2023-08-23 s/media/lachlan-murdoch-crikey-libel.html     Defamation                                By Katie Robertson          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/busines Microsoft Offers Changes To Salvage
2023-08-22   2023-08-23 s/microsoft-activision-deal-uk.html           Activision Deal                           By Adam Satariano           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/climate Biden Revives Rules to Prevent Another
2023-08-22   2023-08-23 /biden-rules-deepwater-horizon.html           Deepwater Horizon                         By Lisa Friedman            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/climate Study Says Record Fires Were Fueled by
2023-08-22   2023-08-23 /canada-wildfires-climate-change.html         Warming                                   By Raymond Zhong            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/climate
                        /tropical-storm-california-maui-fire-extreme- Severe Weather Ravaging Globe and More
2023-08-22   2023-08-23 august.html                                   Looms                                     By Somini Sengupta          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/dining/
2023-08-22   2023-08-23 kristen-kish-top-chef.html                    Journey to the Top of Top Chef            By Kim Severson             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/dining/ Verano Brings Mexican Fare to Hudson
2023-08-22   2023-08-23 nyc-restaurant-news.html                      Yards Public Gardens                      By Florence Fabricant       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/health/ Panel of Experts Recommends Expanded
2023-08-22   2023-08-23 hiv-prep-truvada-descovy.html                 Options for HIV Prevention                By Apoorva Mandavilli       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/health/ 1 in 5 Report Being Mistreated While
2023-08-22   2023-08-23 pregnancy-mistreatment-health-care.html       Receiving Maternity Care                  By Roni Caryn Rabin         TX 9-325-179   2023-10-02



                                                                                Page 5637 of 5793
                        https://www.nytimes.com/2023/08/22/nyregio Betty Tyson Wrongly Imprisoned for 25
2023-08-22   2023-08-23 n/betty-tyson-dead.html                     Years in a Murder Dies at 75                By Sam Roberts                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/nyregio Adams Aims for Balance On Second Day in
2023-08-22   2023-08-23 n/eric-adams-netanyahu-israel.html          Israel                                      By Emma G Fitzsimmons              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/opinion
                        /japan-fukushima-radioactive-water-         Japan Is Setting an Awful Example With
2023-08-22   2023-08-23 dumping.html                                Fukushimas Water                            By Azby Brown                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/science Sliman Bensmaia Who Enabled Prosthetic
2023-08-22   2023-08-23 /sliman-bensmaia-dead.html                  Limbs to Feel Dies at 49                    By Clay Risen                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/sports/a Elite American Distance Runner Discovers
2023-08-22   2023-08-23 licia-monson-world-championships.html       the Benefits of Taking It Slowly            By Scott Cacciola                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/sports/b
                        aseball/wander-franco-rays-adminstrative-   MLB Puts Young Star For the Rays On
2023-08-22   2023-08-23 leave.html                                  Leave                                       By Benjamin Hoffman                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/sports/f This Might Be More Physical Than Actual
2023-08-22   2023-08-23 ootball/wheelchair-football-buffalo.html    Football                                    By Matt Higgins and Jalen Wright   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/sports/y For a Contender Dental School Will Have to
2023-08-22   2023-08-23 ared-nuguse-world-championships.html        Wait                                        By Talya Minsberg                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/us/heat- Smothering Heat in Central US Stands Out in By Mitch Smith Lauryn Higgins
2023-08-22   2023-08-23 wave-midwest-central-weather.html           Season of Climate Shocks                    and Ann Hinga Klein                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/us/polit One Price of Skipping the Debate No Access
2023-08-22   2023-08-23 ics/fox-news-trump-spin-room.html           to Fox Newss Spin Room                      By Maggie Astor                    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/22/us/polit                                          By Jonathan Swan Alan Feuer Luke
2023-08-22   2023-08-23 ics/mark-meadows-trump-legal-strategy.html For Meadows Delicate Dance With Inquiries Broadwater and Maggie Haberman TX 9-325-179          2023-10-02
                        https://www.nytimes.com/2023/08/22/us/polit With Their Odds for 24 Slim Why Run
2023-08-22   2023-08-23 ics/republican-2024-longshots-debate.html   Consolation Prizes                       By Trip Gabriel                  TX 9-325-179        2023-10-02

                        https://www.nytimes.com/2023/08/22/us/polit To Trump Foreign Business Is Scandalous
2023-08-22   2023-08-23 ics/trump-biden-hunter-foreign-business.html Unless Its His Own                        By Peter Baker                      TX 9-325-179   2023-10-02
                                                                                                               By Eric Schmitt Julian E Barnes
                        https://www.nytimes.com/2023/08/22/us/polit Troop Positions Preventing Gains By Kyiv   Helene Cooper and Thomas
2023-08-22   2023-08-23 ics/ukraine-counteroffensive-russia-war.html US Says                                   GibbonsNeff                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/us/rank Pathologists Raise Questions in Mississippi By Nate Rosenfield and Brian
2023-08-22   2023-08-23 in-mississipi-killing-police.html            Police Killing of Black Man               Howey                               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/us/trum 2 More CoDefendants in Georgia Case Ask     By Richard Fausset and Danny
2023-08-22   2023-08-23 p-georgia-meadows-booking.html               for It to Be Transferred to Federal Court Hakim                               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/us/tulsa-
                        superintendent-resign-ryan-waters-deborah- Schools Chief In Tulsa Okla Stepping Down
2023-08-22   2023-08-23 gist-oklahoma.html                           In State Clash                            By Sarah Mervosh                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/world/a At MuchWatched BRICS Summit Putin Tries
2023-08-22   2023-08-23 frica/putin-xi-brics-summit-russia.html      to Rally Support From Afar                By Lynsey Chutel                    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/22/world/a With Low Faith in Vote Skilled Zimbabweans
2023-08-22   2023-08-23 frica/zimbabwe-election-nurses-doctors.html Are Fleeing the Nation                    By Tendai Marima and John Eligon TX 9-325-179       2023-10-02



                                                                                Page 5638 of 5793
                        https://www.nytimes.com/2023/08/22/world/a Gifts Pose Another Peril For Brazils
2023-08-22   2023-08-23 mericas/bolsonaro-brazil-arrest-watches.html ExPresident                                By Jack Nicas                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/world/a Eight Are Rescued From Cable Car Dangling By Christina Goldbaum Zia
2023-08-22   2023-08-23 sia/pakistan-chairlift-broken-cable.html     Over Pakistan Valley                       urRehman and Salman Masood      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/world/a Taliban Killed Hundreds Affiliated With
2023-08-22   2023-08-23 sia/taliban-revenge-united-nations.html      ExGovernment UN Report Says                By Richard PrezPea              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/world/e 18 People Killed in Greek Wildfire May Be
2023-08-22   2023-08-23 urope/greece-wildfires-dead-bodies.html      Migrants                                   By Niki Kitsantonis             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/world/e Spewing Fear of an Invasion in a Bucolic Gap
2023-08-22   2023-08-23 urope/poland-suwalki-russia-belarus.html     on Polands Border                          By Andrew Higgins               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/your-
                        money/student-loans-income-driven-
2023-08-22   2023-08-23 repayment-save.html                          Students Get New Option To Pay Loans       By Tara Siegel Bernard          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/article/tropical-    Tropical Storm Rolls Ashore In Texas With By Judson Jones and Livia
2023-08-22   2023-08-23 storm-harold-hurricane-texas.html            Heavy Rains                                AlbeckRipka                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/us/polit Witness in Documents Case Changes Lawyers By Maggie Haberman and Alan
2023-08-23   2023-08-23 ics/witness-trump-documents-lawyer.html      and Testimony                              Feuer                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/busines In Hot Job Market Minimum Wage Isnt          By Ben Casselman and Lydia
2023-08-23   2023-08-23 s/economy/minimum-wage.html                  Enough to Lure Workers                     DePillis                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/pageon
                        eplus/the-first-big-stop-on-the-campaign-
2023-08-23   2023-08-23 trail.html                                   The First Big Stop on the Campaign Trail   By Terence McGinley             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/us/polit
                        ics/advertising-republican-candidates-       Looking Past Debate GOP Candidates Are
2023-08-23   2023-08-23 2024.html                                    Spending Big on Ads                        By Rebecca Davis OBrien         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/us/polit
                        ics/republican-debate-desantis-trump-        What to Watch for During the Televised     By Lisa Lerer and Shane
2023-08-23   2023-08-23 watch.html                                   Republican Event                           Goldmacher                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/world/a
                        frica/zimbabwe-election-emmerson-            Dubious PreElection Policies Cloud         By Jeffrey Moyo Tendai Marima
2023-08-23   2023-08-23 mnangagwa.html                               Zimbabwes Chances for a Fair Vote          and John Eligon                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/07/15/sports/t 50 Years After Winning Equal Pay King
2023-07-15   2023-08-24 ennis/billie-jean-king-us-open-equal-pay.html Keeps Pressing Her Causes                  By Liz Robbins                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/28/well/mi Here to Help Fighting With Your Partner Use
2023-07-28   2023-08-24 nd/make-up-fight-relationships.html           These 4 Phrases                            By Jancee Dunn                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/opinion
                        /skatepark-community-stlouis-sk8-             We Turned an Empty Church Into a Skatepark
2023-08-17   2023-08-24 liborius.html                                 Then Tragedy Struck                        By Rachel Chapman              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/theater/
2023-08-17   2023-08-24 lily-allen.html                               Lily Allens Second Act                     By Desiree Ibekwe              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/movies/
2023-08-18   2023-08-24 streaming-horror-movies.html                  Ghosts Are Scary An Angry Kid Too          By Erik Piepenburg             TX 9-325-179   2023-10-02




                                                                                Page 5639 of 5793
                        https://www.nytimes.com/2023/08/18/t-
                        magazine/anastasia-graff-frances-merrill-igor-
2023-08-18   2023-08-24 stravinsky-west-hollywood.html                 A Different Kind Of Fantasia               By Max Berlinger                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/20/opinion
2023-08-20   2023-08-24 /alaska-brown-bear-killing.html                Alaskas Slaughter of Bears Must Stop       By Jon Waterman                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/arts/mu
                        sic/rich-men-north-of-richmond-billboard-
2023-08-21   2023-08-24 chart.html                                     Rich Men Song Debuts At Top of US Charts   By Ben Sisario                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/busines Trapped in Spiral of Deflation Chinese
2023-08-21   2023-08-24 s/china-deflation.html                         Surrender to Despair                       By Li Yuan                      TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/opinion The Trump Indictments Are an Indictment of
2023-08-21   2023-08-24 /trump-lies-indictment-impeachment.html        America                                    By Carlos Lozada                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/style/da
2023-08-21   2023-08-24 ting-influencer-social-media.html              One Dating Turnoff Too Many Followers      By Gina Cherelus                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/t-
2023-08-21   2023-08-24 magazine/climate-change-movies-film.html On an EcoMission Impossible                      By Ella RileyAdams              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/21/theater/
2023-08-21   2023-08-24 britney-spears-broadway-closing.html           Britney Spears Musical Will Close Soon     By Michael Paulson              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/22/arts/des British Museum Was Warned About eBay
2023-08-22   2023-08-24 ign/british-museum-thefts.html                 Sales                                      By Alex Marshall                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/22/arts/ma Longtime Voice of Nintendos Mario to Step
2023-08-22   2023-08-24 rio-voice-charles-martinet-nintendo.html       Away                                       By Claire Moses                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/22/arts/tele
                        vision/bachelorette-finale-ravens-commanders Eager for Finale Bachelorette Fans in
2023-08-22   2023-08-24 abc.html                                       Washington Were Left Brokenhearted         By Mike Ives and Jin Yu Young   TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/22/climate Texas Sent Migrants Driving Into Californias
2023-08-22   2023-08-24 /texas-migrants-hilary.html                 Storm Emergency Relief Groups Say           By Somini Sengupta                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/22/style/pa High Art and Streetwear a Fruitful
2023-08-22   2023-08-24 csun-met-museum-collaboration.html          Combination                                 By Callie Holtermann              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/22/us/texa Second Thoughts About a Strict Crackdown
2023-08-22   2023-08-24 s-border-abbott-lone-star.html              at the Border                               By Edgar Sandoval                 TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/22/world/c Canadians Are Forced to Work Around
2023-08-22   2023-08-24 anada/canada-wildfires-meta-facebook.html Facebooks News Ban as Wildfires Burn            By Remy Tumin                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/22/us/maui With Hundreds Unaccounted For Search in
2023-08-23   2023-08-24 fires-missing-search.html                   Maui Grows Desperate                          By Jack Healy and Tim Arango    TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/23/arts/dan
2023-08-23   2023-08-24 ce/jodi-melnick-clarice-lispector.html      Floating In The Stream Of Life                By Marina Harss                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/23/busines Job Growth Is Shaved Downward By New
2023-08-23   2023-08-24 s/economy/us-job-growth.html                Data                                          By Ben Casselman                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/23/busines In an Unusual Step Hollywood Studios
                        s/media/hollywood-writers-strike-           Disclose Their Offer on Day 113 of Writers
2023-08-23   2023-08-24 negotiations.html                           Strike                                        By John Koblin and Brooks Barnes TX 9-325-179   2023-10-02




                                                                                 Page 5640 of 5793
                        https://www.nytimes.com/2023/08/23/busines
                        s/media/mark-thompson-cnn-new-york-                                                      By Benjamin Mullin and John
2023-08-23   2023-08-24 times.html                                  ExTimes Chief Is in the Hunt To Lead CNN Koblin                                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/busines Warren Hoge 82 Who Covered Wars and
2023-08-23   2023-08-24 s/media/warren-hoge-dead.html               Crises for The Times Dies                    By Robert D McFadden               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/busines Opioid Makers Plan Cuts Payments to
2023-08-23   2023-08-24 s/opioids-mallinckrodt-bankruptcy.html      Victims                                      By Rebecca Robbins                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/busines
                        s/pandemic-relief-fraud-justice-            US Accuses Thousands Of Pandemic Relief
2023-08-23   2023-08-24 department.html                             Fraud                                        By Madeleine Ngo                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/busines YouTube Used Targeted Ad Campaign On
2023-08-23   2023-08-24 s/youtube-ads-kids-children-privacy.html    Childrens Videos Watchdogs Say               By Nico Grant and Natasha Singer   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/climate Fish Get More Forgetful In Higher
2023-08-23   2023-08-24 /ocean-warming-fish.html                    Temperatures                                 By Rebecca Dzombak                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/health/a
2023-08-23   2023-08-24 i-stroke-speech-neuroscience.html           A Stroke Silenced Her AI Is Helping Her Talk By Pam Belluck                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/health/ A Relatively Speedy Therapy Using Writing
2023-08-23   2023-08-24 ptsd-writing-therapy.html                   Shows Promise for PTSD                       By Ellen Barry                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/health/t Gender Surgeries Rose As Laws Widened
2023-08-23   2023-08-24 ransgender-surgery.html                     Access To Care a Study Found                 By Emily Baumgaertner              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/movies/
2023-08-23   2023-08-24 spider-man-lotus-fan-film.html              Nothings Ever Easy For Spidey                By Christopher Kuo                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/nyregio
                        n/barbara-gustern-lauren-pazienza-guilty-   Guilty Plea in Fatal Shove Of Beloved
2023-08-23   2023-08-24 plea.html                                   Singing Coach                                By Jonah E Bromwich                TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/23/nyregio Judge Orders New Trials for 2 Men Convicted By Jesse McKinley Danny Hakim
2023-08-23   2023-08-24 n/dannemora-escape-murder-conviction.html in 93 Murder                                 and Ed Shanahan                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/opinion
2023-08-23   2023-08-24 /christianity-america-religion-secular.html Americans Are Losing Their Religious Faith By Nicholas Kristof                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/science                                             By Hari Kumar Alex Travelli
2023-08-23   2023-08-24 /chandrayaan-3-india-moon-landing.html      On the Moon And Over It India Rejoices     Mujib Mashal and Kenneth Chang       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/sports/b
                        asketball/aja-wilson-53-points-wnba-las-    53Point Explosion From Aces Wilson Ties
2023-08-23   2023-08-24 vegas-aces.html                             League Record                              By Victor Mather                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/style/ca
2023-08-23   2023-08-24 mpaign-merch-debate-virality.html           Candidates Sell More Than Ideas            By Vanessa Friedman                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/technol Nvidia Revenue Doubles on Demand for AI
2023-08-23   2023-08-24 ogy/nvidia-earnings-chips.html              Chips                                      By Don Clark                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/theater/ After 122 Years A Debut of a Play By Edith
2023-08-23   2023-08-24 edith-wharton-lost-play-debut.html          Wharton                                    By Eric Grode                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/us/flori
                        da-colleges-transgender-bathroom-law-       Florida Approves Penalties for Violating   By Dana Goldstein and Colbi
2023-08-23   2023-08-24 desantis.html                               Bathroom Law                               Edmonds                              TX 9-325-179   2023-10-02




                                                                                Page 5641 of 5793
                        https://www.nytimes.com/2023/08/23/us/haw Contained Brush Blaze Reignited as an         By Serge F Kovaleski and Mike
2023-08-23   2023-08-24 aii-maui-lahaina-fire-contained.html        Inferno                                     Baker                              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/23/us/mich Trial Opens for 3 in Plot to Kidnap Michigan
2023-08-23   2023-08-24 igan-whitmer-plot-trial.html                Governor                                    By Mitch Smith                     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/23/us/polit Bidens Incentives Shift Foreign Money to US
2023-08-23   2023-08-24 ics/biden-foreign-investment-factories.html Factories                                   By Jim Tankersley                  TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/23/us/sout
2023-08-23   2023-08-24 h-carolina-abortion-supreme-court.html      In S Carolina Court Upholds Abortion Ban    By Kate Zernike                    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/23/us/trum Giuliani Booked at Jail In Georgia Trump     By Danny Hakim Maggie
2023-08-23   2023-08-24 p-giuliani-georgia-surrender.html           Case                                        Haberman and Richard Fausset       TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/23/us/wor Should Strikers Get Jobless Pay Democratic
2023-08-23   2023-08-24 kers-strike-unemployment-california.html      Lawmakers in California Say Yes              By Jill Cowan                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/world/a
                        sia/brics-nations-new-members-                Here Are Some Key Nations Seeking to Join By Farnaz Fassihi Vivian Yee
2023-08-23   2023-08-24 expansion.html                                the Alternative Global Bloc                  Natalie Alcoba and Declan Walsh TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/23/world/a China Tries to Increase Its Clout in Africa     By David Pierson and Lynsey
2023-08-23   2023-08-24 sia/china-africa-brics-us.html                Amid Rivalry With the US                     Chutel                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/world/e                                                 By Matina StevisGridneff and Niki
2023-08-23   2023-08-24 urope/greece-wildfires-athens.html            Extreme Heat And Wildfires Ravage Greece Kitsantonis                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/world/e
                        urope/lucy-letby-murder-babies-nhs-           Multiple Warnings About Killer Nurse Went
2023-08-23   2023-08-24 warnings.html                                 Unheeded                                     By Megan Specia                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/world/e                                                 By Anton Troianovski Alina
                        urope/russia-war-military-recruitment-        Russia Recruiting Drive Real Men Join the    Lobzina Sarah Kerr and Natalie
2023-08-23   2023-08-24 campaign.html                                 Army                                         Reneau                            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/world/e Toto Cutugno 80 Singer and Songwriter
2023-08-23   2023-08-24 urope/toto-cutugno-dead.html                  Whose LItaliano Was a Worldwide Hit          By Gaia Pianigiani                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/live/2023/08/23/sci
                        ence/india-moon-landing-chandrayaan-
                        3/behind-indias-space-agency-a-private-space- Indias Private Space Sector Also Gaining
2023-08-23   2023-08-24 sector-is-ready-to-lift-off                   Notice                                       By Alex Travelli                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/live/2023/08/23/wo
                        rld/prigozhin-russia-ukraine-war-
                        news/surovikin-has-not-been-seen-in-public- Kremlin Demotes General With Ties to           By Valeriya Safronova and Anton
2023-08-23   2023-08-24 since-the-short-lived-wagner-mutiny           Warlord in Crackdown Over Mutiny             Troianovski                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/world/e
                        urope/prigozhin-wagner-plane-crash-           Mercenary Leader Listed As Aboard Doomed
2023-08-24   2023-08-24 russia.html                                   Flight                                       By Anton Troianovski              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/insider/
2023-08-24   2023-08-24 ecuador-election-assassination.html           Assassination as a Turning Point for Ecuador By Josh Ocampo                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/style/he An Uphill Promotional Battle for a New
2023-08-24   2023-08-24 stia-cigarettes-downtown.html                 Cigarette                                    By Magdalene J Taylor             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/style/w
2023-08-24   2023-08-24 ere-having-a-cowboy-moment.html               Cowboys Are Back in the Saddle Again         By Emma Goldberg                  TX 9-325-179   2023-10-02



                                                                                 Page 5642 of 5793
                        https://www.nytimes.com/2023/08/22/sports/o Tom Courtney 90 Runner Who Lunged For
2023-08-22   2023-08-25 lympics/tom-courtney-dead.html              Gold Medal Dies                            By Frank Litsky                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/arts/dan Johaar Mosaval 95 Splendid Artist Who
2023-08-23   2023-08-25 ce/johaar-mosaval-dead.html                 Broke Free of Apartheid for Ballet         By Penelope Green               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/arts/dan
                        ce/merce-cunningham-beach-birds-rockaway-
2023-08-23   2023-08-25 beach-sessions.html                         O Sun Ocean Sand and Dance                 By Gia Kourlas and Amir Hamja   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/23/arts/des Court Clears College That Covered Slavery
2023-08-23   2023-08-25 ign/vermont-law-school-slavery-murals.html Murals                                          By Christopher Kuo          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/movies/
2023-08-23   2023-08-25 bs-high-review.html                             BS High                                    By Robert Daniels           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/movies/
2023-08-23   2023-08-25 retribution-review.html                         Retribution                                By Amy Nicholson            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/movies/
2023-08-23   2023-08-25 scrapper-review.html                            Scrapper                                   By Claire Shaffer           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/nyregio A Filmmaker Celebrated Bella Abzug Her
2023-08-23   2023-08-25 n/bella-abzug-daughter-documentary.html         Daughter Says He Took Advantage            By Liam Stack               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/opinion We Cannot Escape What Weve Done to the
2023-08-23   2023-08-25 /canada-wildfires-climate-change.html           Planet                                     By Serge Schmemann          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/arts/des
2023-08-24   2023-08-25 ign/bruce-davidson-photography.html             What Was Overlooked Now Stands Out         By Arthur Lubow             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/arts/mu
                        sic/jaimie-branch-fly-or-die-fly-or-die-fly-or-
2023-08-24   2023-08-25 die-world-war-review.html                       Soaring Legacy Of Potent Invention         By Giovanni Russonello      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/arts/mu
2023-08-24   2023-08-25 sic/john-eliot-gardner-hit-apology.html         Conductor Apologizes For Outburst          By Javier C Hernndez        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/arts/tele
2023-08-24   2023-08-25 vision/first-republican-debate-trump.html       A Debate Starring 8 Candidates and a Ghost By James Poniewozik         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/arts/tele
                        vision/telemarketers-hbo-carlos-ghosn-
2023-08-24   2023-08-25 apple.html                                      This Weekend I Have                        By Margaret Lyons           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/busines Flimsiness Of Safety Net May Worsen Chinas
2023-08-24   2023-08-25 s/china-economy-safety-net.html                 Crisis                                     By Keith Bradsher           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/busines
                        s/economy/jackson-hole-economic-                How Jackson Hole Became An Economic
2023-08-24   2023-08-25 conference.html                                 Obsession                                  By Jeanna Smialek           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/busines GOP Debate Minus Trump Draws 128
2023-08-24   2023-08-25 s/media/republican-debate-ratings.html          Million Viewers                            By John Koblin              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/busines
                        s/media/warner-bros-discovery-cnn-streaming-Warner Bros Discovery Will Add a CNN
2023-08-24   2023-08-25 max.html                                        Streaming Channel on Max                   By John Koblin              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/busines Fed Seems Less Inclined to Inflict Economic By Jeanna Smialek and Joe
2023-08-24   2023-08-25 s/powell-jackson-hole-markets.html              Pain as It Works to Cool Inflation         Rennison                    TX 9-325-179   2023-10-02




                                                                                Page 5643 of 5793
                        https://www.nytimes.com/2023/08/24/busines FastFashion Leaders Shein And Forever 21
2023-08-24   2023-08-25 s/shein-forever-21.html                       Team Up                                     By Jordyn Holman                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/busines Turkeys Central Bank Raises Interest Rates to
2023-08-24   2023-08-25 s/turkey-central-bank-raises-rates.html       25 in Bid To Control Soaring Inflation      By Aaron Boxerman               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/climate For Antarctic Penguins A Bad Year for
2023-08-24   2023-08-25 /antarctic-sea-ice-emperor-penguin.html       Breeding                                    By Delger Erdenesanaa           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/health/a                                               By Sarah Kliff and Jessica
2023-08-24   2023-08-25 llina-health-medical-debt.html                Nonprofit Will Restore Care to Poor         SilverGreenberg                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/health/ Bad Readings Of Oxygen On Dark Skin
2023-08-24   2023-08-25 oxygen-covid-treatment-race.html              Delayed Care                                By Christina Jewett             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/movies/
2023-08-24   2023-08-25 bank-of-dave-review.html                      Bank of Dave                                By Brandon Yu                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/movies/
2023-08-24   2023-08-25 before-now-then-review.html                   Before Now amp Then                         By Devika Girish                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/movies/
2023-08-24   2023-08-25 blue-box-review.html                          Blue Box                                    By Ben Kenigsberg               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/movies/
2023-08-24   2023-08-25 bottoms-review.html                           Theyre Outcasts But With a Plan             By Elisabeth Vincentelli        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/movies/
                        brief-encounters-the-long-farewell-review-
2023-08-24   2023-08-25 kira-muratova.html                            Women Stifled By the Boxes That Trap Them By Natalia Winkelman              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/movies/
2023-08-24   2023-08-25 golda-review.html                             Golda                                       By Amy Nicholson                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/movies/
2023-08-24   2023-08-25 gran-turismo-review.html                      The Video Game Was Only the Beginning       By Nicolas Rapold               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/movies/
2023-08-24   2023-08-25 our-father-the-devil-review.html              Our Father the Devil                        By Beatrice Loayza              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/movies/
2023-08-24   2023-08-25 perpetrator-review.html                       Perpetrator                                 By Jeannette Catsoulis          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/movies/
2023-08-24   2023-08-25 piaffe-review.html                            Piaffe                                      By Jeannette Catsoulis          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/nyregio Adams Is the Latest New York Mayor to          By Dana Rubinstein and Emma G
2023-08-24   2023-08-25 n/adams-israel-politics-nyc.html              Make the Political Pilgrimage to Israel     Fitzsimmons                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/nyregio Carol RoblesRomn 60 Latina Champion for
2023-08-24   2023-08-25 n/carol-robles-roman-dead.html                Social Justice in New York                  By Sam Roberts                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/nyregio
                        n/casino-operators-and-children-the-strategy-
2023-08-24   2023-08-25 for-local-support.html                        When Casino Bids Collide With Youth Sports By James Barron                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/nyregio Plagued by Bears Connecticut Will Now Let
2023-08-24   2023-08-25 n/connecticut-bears.html                      Residents Shoot and Kill Them               By Amelia Nierenberg            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/nyregio
                        n/false-confessions-wrongful-conviction-      Three Men Exonerated After Police
2023-08-24   2023-08-25 nyc.html                                      Misconduct Led to False Confessions         By Hurubie Meko                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/nyregio                                                By Luis FerrSadurn and Grace
2023-08-24   2023-08-25 n/hochul-biden-migrants.html                  Hochul Presses Biden for Help With Migrants Ashford                         TX 9-325-179   2023-10-02



                                                                                Page 5644 of 5793
                        https://www.nytimes.com/2023/08/24/nyregio
2023-08-24   2023-08-25 n/marjorie-taylor-greene-threats-sentence.html Man Gets Prison Time for Harassing Greene By Ed Shanahan                    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/24/nyregio
                        n/nypd-sergeant-suspended-death-               Officer Is Suspended After Knocking Man
2023-08-24   2023-08-25 motorbike.html                                 Off Bike                                  By Chelsia Rose Marcius           TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/24/opinion
2023-08-24   2023-08-25 /desantis-ramaswamy-republican-debate.html DeSantis Isnt Rising but Someone Else Is     By Charles M Blow                  TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/24/opinion
2023-08-24   2023-08-25 /nikki-haley-republican-debate-winner.html Nikki Haley Is the Best Alternative to Trump By David Brooks                    TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/24/opinion In a Report From Afar I Glimpsed Our Brutal
2023-08-24   2023-08-25 /saudi-arabia-ethiopians-border-politics.html Future                                   By Lydia Polgreen                   TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/24/sports/b Ohtani Wont Pitch Again This Season After
2023-08-24   2023-08-25 aseball/shohei-ohtani-los-angeles-angels.html Tearing Ligament in Elbow                   By Victor Mather                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/sports/b
                        asketball/giannis-antetokounmpo-milwaukee- Skilled Leader Vast Experience Willing to
2023-08-24   2023-08-25 bucks-contract.html                           Relocate                                    By Tania Ganguli                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/sports/f Behind Blind Side an Unusual Deal and a
2023-08-24   2023-08-25 ootball/blind-side-michael-oher-tuohy.html FootballMad Culture                            By Santul Nerkar                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/sports/t
2023-08-24   2023-08-25 ennis/us-open-draw-matchups.html              An AlcarazDjokovic Final Its Possible       By Jesus Jimnez                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/technol John Warnock Adobe CoFounder Who
2023-08-24   2023-08-25 ogy/john-warnock-dead.html                    Invented the PDF Dies at 82                 By Clay Risen                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/theater/ Between Bed and Piano Searching for
2023-08-24   2023-08-25 review-new-brain-william-finn.html            Balance                                     By Jesse Green                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/upshot/                                                By Claire Cain Miller and Courtney
2023-08-24   2023-08-25 artificial-intelligence-jobs.html             Progress in AI Now Threatens Office Workers Cox                                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/us/haw Maui Officials Say Utility Is at Fault for
2023-08-24   2023-08-25 aii-lahaina-fire-lawsuit.html                 Deadly Fire                                 By Mitch Smith                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/us/polit
2023-08-24   2023-08-25 ics/congress-betting.html                     Wanna Bet On Control Of Congress            By Carl Hulse                      TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/24/us/polit Fulton County Prosecutor Targeted by House
2023-08-24   2023-08-25 ics/fani-willis-republicans-investigation.html GOP                                     By Luke Broadwater                  TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/24/us/polit Former Army Lawyer Is Picked to Oversee
2023-08-24   2023-08-25 ics/guantanamo-war-court-appointment.html Guantnamo War Court                           By Carol Rosenberg               TX 9-325-179       2023-10-02
                                                                                                                By Julian E Barnes Helene Cooper
                        https://www.nytimes.com/2023/08/24/us/polit                                             Eric Schmitt Riley Mellen Muyi
2023-08-24   2023-08-25 ics/plane-crash-prigozhin-explosion.html    US Suspects Putin Ordered Downing of Jet    Xiao and Robin Stein             TX 9-325-179       2023-10-02




                                                                                 Page 5645 of 5793
                        https://www.nytimes.com/2023/08/24/us/polit                                               By Shane Goldmacher Jonathan
2023-08-24   2023-08-25 ics/republican-debate-takeaways.html        How Ramaswamy Stole the Show                  Swan and Maggie Haberman         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/us/polit From Party Stronghold Debate Watchers
2023-08-24   2023-08-25 ics/republican-debate-voter-reaction.html   Cheered Signals From a PostTrump Era          By Jennifer Medina               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/us/polit
                        ics/trump-convicted-republican-debate-      Leaders Hold on the Race Becomes Clear
2023-08-24   2023-08-25 hands.html                                  With a Show of Hands                          By Jonathan Weisman              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/us/polit                                               By Glenn Thrush and Maggie
2023-08-24   2023-08-25 ics/trump-politicians-mug-shots.html        Why Are These CoDefendants Smiling            Haberman                         TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/24/us/polit Debate Offers Fleeting Vision of a Partys
2023-08-24   2023-08-25 ics/trumpism-trump-debate-republicans.html Future                                         By Lisa Lerer                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/us/shoo Retired Officer Kills Three In Shootout at a   By Shawn Hubler Mike Ives John
2023-08-24   2023-08-25 ting-cooks-corner-bar-orange-county.html    Biker Bar                                     Yoon and Livia AlbeckRipka       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/us/trum Trump Adds Heavy Hitter To Legal Team in       By Richard Fausset Maggie
2023-08-24   2023-08-25 p-georgia-lawyers.html                      Georgia                                       Haberman and Danny Hakim         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/us/tulsa-Facing State Takeover Tulsa Schools Keep
2023-08-24   2023-08-25 schools-takeover.html                       Control for Now                               By Sarah Mervosh                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/us/wild Firefighters in California Are Working With
2023-08-24   2023-08-25 fires-ai-detection-california.html          AI To Spot and Stop Fires                     By Thomas Fuller                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/24/world/a Ballot Delays In Zimbabwe Push Election
2023-08-24   2023-08-25 frica/zimbabwe-election-ballot-delays.html   Into 2nd Day                               By John Eligon                   TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/24/world/a
2023-08-24   2023-08-25 sia/australia-malka-leifer-sentence.html     ExPrincipal Gets Jail in Abuse Scandal     By Yan Zhuang                    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/24/world/a Dissident Is Said to Have Fled China on a
2023-08-24   2023-08-25 sia/china-jet-ski-dissident-escape.html      Personal Watercraft                        By John Yoon                     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/24/world/a
                        sia/india-chandrayaan-3-moon-landing-        For Other Countries Dreaming Big a
2023-08-24   2023-08-25 space.html                                   Blueprint From India                       By Mujib Mashal                  TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/24/world/a After Thais Vote to Move Forward the Old
2023-08-24   2023-08-25 sia/thailand-pheu-thai-prime-minister.html   Guard Just Shifts Its Grip                 By SuiLee Wee                    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/24/world/e Saudi Arabia and Iran Among 6 Nations to     By Steven Erlanger David Pierson
2023-08-24   2023-08-25 urope/brics-expansion-xi-lula.html           Join New Bloc                              and Lynsey Chutel                TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/24/world/e
                        urope/europe-heat-wave-spain-italy-          A Late Summer Heat Wave Is Baking Parts of By Rachel Chaundler and Aurelien
2023-08-24   2023-08-25 france.html                                  Italy France and Spain                     Breeden                          TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/24/world/e
                        urope/evan-gershkovich-wsj-reporter-detained Detention Is Extended For Reporter In
2023-08-24   2023-08-25 russia.html                                  Moscow                                     By Valeriya Safronova            TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/24/world/e
                        urope/greece-wildfires-athens-mount-         Wildfires Endanger Lungs of Athens as Many
2023-08-24   2023-08-25 parnitha.html                                Greeks Fear Dystopian Future               By Niki Kitsantonis              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/24/world/e Tycoons Fate Is Reminder of the Price Many
2023-08-24   2023-08-25 urope/prigozhin-putin-russia.html            Paid for Defying Putin                     By Paul Sonne                    TX 9-325-179     2023-10-02



                                                                                 Page 5646 of 5793
                        https://www.nytimes.com/2023/08/24/world/e Marking Another Independence Day as Fight By Thomas GibbonsNeff and Daria
2023-08-24   2023-08-25 urope/ukraine-independence-day-kyiv.html Persists                                     Mitiuk                         TX 9-325-179         2023-10-02
                        https://www.nytimes.com/2023/08/24/world/e Pentagon Plans to Train Ukrainians to Fly
2023-08-24   2023-08-25 urope/us-ukraine-f16-jets-training.html     F16s                                      By Eric Schmitt and Lara Jakes TX 9-325-179         2023-10-02
                        https://www.nytimes.com/2023/08/24/us/polit
2023-08-25   2023-08-25 ics/biden-vacation-tahoe.html               For Biden Every Vacation Is a Working One By Erica L Green               TX 9-325-179         2023-10-02

                        https://www.nytimes.com/2023/08/24/us/trum Trump is Booked at Jail in Atlanta in Election By Richard Fausset Danny Hakim
2023-08-25   2023-08-25 p-surrender-georgia-fulton-county-jail.html Case                                            and Thomas Fuller              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/travel/d
2023-08-08   2023-08-26 onegal-county-ireland.html                     A Fine Place in Irelands Forgotten County    By Tom Downey                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/travel/s                                                 By Mlissa Godin and David B
2023-08-15   2023-08-26 weden-foraging-eva-gunnare.html                Toward a Better World One Berry at a Time Torch                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/opinion
                        /skills-based-hiring-college-degree-job-market Lets Stop Pretending College Degrees Dont
2023-08-21   2023-08-26 wage-premium.html                              Matter                                       By Ben Wildavsky               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/movies/
2023-08-22   2023-08-26 offbeat-streaming-movies.html                  Its Women vs Men In Campus Comedy            By Jason Bailey                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/health/t
2023-08-23   2023-08-26 ransgender-youth-st-louis-jamie-reed.html      Youth Gender Clinic Lands in Political Storm By Azeen Ghorayshi             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/arts/des
                        ign/aziz-isham-museum-moving-image-            The Museum of the Moving Image Names a
2023-08-24   2023-08-26 director.html                                  New Leader                                   By Zachary Small               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/arts/net Those Final Netflix DVDs No Need to Return
2023-08-24   2023-08-26 flix-dvds.html                                 Them                                         By Reggie Ugwu                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/busines
2023-08-24   2023-08-26 s/schools-chatgpt-chatbot-bans.html            Schools Shift to Embrace ChatGPT             By Natasha Singer              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/health/s CDC Outlines New Standards For Care of
2023-08-24   2023-08-26 epsis-hospitals-cdc.html                       Sepsis at Hospitals                          By Emily Baumgaertner          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/nyregio Howard Hubbard 84 Longtime Bishop Of
2023-08-24   2023-08-26 n/howard-hubbard-dead.html                     Albany Who Was Tainted by Scandal            By Sam Roberts                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/opinion
2023-08-24   2023-08-26 /political-christianity-has-claws.html         Political Christianity Has Claws             By David French                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/opinion
2023-08-24   2023-08-26 /trump-tariff-geopolitical-impact.html         Trump Lord of the Ring Around the Collar     By Paul Krugman                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/theater/
2023-08-24   2023-08-26 julia-masli-clown-edinburgh-fringe.html        Your Problem Becomes Her Platform            By Alex Marshall               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/us/polit White House Says President Did Not Hear
2023-08-25   2023-08-26 ics/biden-maui-wildfire-no-comment.html        Fire Question                                By Erica L Green               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/us/ruffi The Remains of Ruffian an IllFated Hall of
2023-08-25   2023-08-26 an-race-horse-reburied-kentucky.html           Fame Filly Are Reburied in Kentucky          By Eduardo Medina              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/arts/tele David Jacobs 84 Who Spun a Soap Opera Into
2023-08-25   2023-08-26 vision/david-jacobs-dead.html                  PrimeTime Gold Dies                          By Richard Sandomir            TX 9-325-179   2023-10-02




                                                                                Page 5647 of 5793
                        https://www.nytimes.com/2023/08/25/books/r The BlueberryHunting Sal to Her Dad and
2023-08-25   2023-08-26 obert-mccloskey-books-maine.html           Millions of Others                            By Elisabeth Egan             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/busines In China Crisis Of Confidence Grips           By Daisuke Wakabayashi and
2023-08-25   2023-08-26 s/china-economy-confidence.html            Economy                                       Claire Fu                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/busines US Consumers Tilt Toward Thrift Shows
2023-08-25   2023-08-26 s/consumer-retail-shopping.html            Their Strain Retailers Say                    By Jordyn Holman              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/busines
                        s/economy/fed-powell-inflation-jackson-    More Progress Is Needed On Inflation Powell
2023-08-25   2023-08-26 hole.html                                  Says                                          By Jeanna Smialek             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/busines Tech Elite Bankroll Mystery Plan to Construct By Conor Dougherty and Erin
2023-08-25   2023-08-26 s/land-purchases-solano-county.html        City From Scratch                             Griffith                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/busines
2023-08-25   2023-08-26 s/solar-panels-tax-credits.html            At 30 Solar Panel Tax Credits Are at a Peak By Ann Carrns                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/busines UAW Votes to Authorize Strikes Against 3
2023-08-25   2023-08-26 s/uaw-strike-vote.html                     Companies if Talks Fail                       By Neal E Boudette            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/climate At Panama Canal Traffic Is Slowed by Lack
2023-08-25   2023-08-26 /panama-canal-drought-global-trade.html    of Rain                                       By Somini Sengupta            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/health/ Mental Health Spending Surged During
2023-08-25   2023-08-26 mental-health-spending.html                Pandemic                                      By Ellen Barry                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/movies/
2023-08-25   2023-08-26 bottoms-emma-seligman-ayo-edebiri.html     The Key To a Film Nailing The Tone            By Melena Ryzik               TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/25/movies/ Gran Turismo Drove a Teenager to
2023-08-25   2023-08-26 gran-turismo-game-jann-mardenborough.html Prominence                                    By Brandon Yu                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/movies/ This Destination May Be New but Everything
2023-08-25   2023-08-26 vacation-friends-2-review.html              Else Feels So Familiar                      By Calum Marsh                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/movies/
                        you-are-so-not-invited-to-my-bat-mitzvah-   Lessons About Friendship Are No Party for
2023-08-25   2023-08-26 review.html                                 Teenagers                                   By Teo Bugbee                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/nyregio In Foreign Land Far Away From Home
2023-08-25   2023-08-26 n/eric-adams-israel-nightlife.html          Adams Has Little Trouble Being Himself      By Emma G Fitzsimmons          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/nyregio Yales Campus Police Send Terrifying
2023-08-25   2023-08-26 n/yale-police-fliers.html                   Message to Incoming Students                By Amelia Nierenberg           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/obituari A Longtime Lieutenant to Prigozhin Whose
2023-08-25   2023-08-26 es/dmitri-utkin-dead-wagner.html            Work May Have Cost Him His Life             By Cassandra Vinograd          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/sports/b
2023-08-25   2023-08-26 aseball/batting-gloves.html                 The Gloves Fit So Players Wear Lots of Them By Zach Buchanan               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/style/tr Unprecedented Entry in the Record and Thats
2023-08-25   2023-08-26 ump-mugshot.html                            Just for Starters                           By Vanessa Friedman            TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/25/technol Instacart Reports Profit Ahead of Anticipated By Kellen Browning and Erin
2023-08-25   2023-08-26 ogy/instacart-profit-slowing-growth-ipo.html IPO                                         Griffith                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/us/heat- Scorching Heat Wave Shows Schools Arent By Ernesto Londoo Ann Hinga
2023-08-25   2023-08-26 wave-school-year.html                        Well Prepared                               Klein and Colbi Edmonds       TX 9-325-179   2023-10-02




                                                                                Page 5648 of 5793
                        https://www.nytimes.com/2023/08/25/us/jeffr
2023-08-25   2023-08-26 ey-clark-trump-georgia.html                 ExOfficial Under Trump Is Booked In Atlanta By Richard Fausset             TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/us/maui Tracking Down Mauis Missing Isnt So          By Tim Arango and Nicholas
2023-08-25   2023-08-26 fire-missing-list.html                      Simple                                      BogelBurroughs                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/us/polit The Dramatic and Unverifiable Story About By Lisa Lerer and Nicholas
2023-08-25   2023-08-26 ics/desantis-penny-abortion.html            an Abortion Survivor                        Nehamas                        TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/us/polit A Lawmaker Hid One Crucial Fact as He
2023-08-25   2023-08-26 ics/gun-control-atf-clyde-congress.html     Fought Checks on Gun Shops                  By Glenn Thrush                TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/us/polit With a Hidden Hand Russia Pushes Its Views
2023-08-25   2023-08-26 ics/russia-intelligence-propaganda.html     in the West Analysis Says                   By Julian E Barnes             TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/us/polit Man Accused In 911 Plot Is Declared Unfit
2023-08-25   2023-08-26 ics/september-11-guantanamo-shibh.html      for Trial                                   By Carol Rosenberg             TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/us/polit Scott Was Primed to Be a Debate Star Not an By Maya King and Shane
2023-08-25   2023-08-26 ics/tim-scott-debate-performance.html       Extra                                       Goldmacher                     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/us/polit After the Complaint Comes the Campaign      By Maggie Haberman and Shane
2023-08-25   2023-08-26 ics/trumps-mug-shot-fund-raising.html       FundRaising                                 Goldmacher                     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/us/polit Kyiv Is Aiming Drones At Russia but
2023-08-25   2023-08-26 ics/ukraine-drone-attacks-russia.html       Message Is for Ukraines People              By Julian E Barnes             TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/world/a
                        frica/wagner-group-africa-prigozhin-        After Death Of Prigozhin Africans Mull
2023-08-25   2023-08-26 russia.html                                 Wagners Fate                                By Elian Peltier               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/world/a
                        mericas/jair-candor-amazon-tribes-          Documenting Brazils Indigenous Groups       By Manuela Andreoni and Jack
2023-08-25   2023-08-26 indigenous.html                             From the Shadows                            Nicas                          TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/25/world/e 2 Are Arrested After UK Pub Known for Tilt
2023-08-25   2023-08-26 urope/crooked-house-pub-fire-arrests-uk.html Is Demolished                             By Derrick Bryson Taylor        TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/world/e Responding to Diplomatic Outrage Denmark
2023-08-25   2023-08-26 urope/denmark-quran-burning.html             Moves to Ban Quran Burnings               By Aaron Boxerman               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/world/e Dozens Arrested on Arson Charges as Greece
2023-08-25   2023-08-26 urope/greece-wildfire-arson.html             Battles 2 Big Fires                       By Niki Kitsantonis             TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/world/e For One Euro Heineken Keeps Promise to Sell
2023-08-25   2023-08-26 urope/heineken-russia-exit-sale.html         Russian Assets                            By Kevin Granville              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/world/e
                        urope/luis-rubiales-spain-soccer-hermoso-    Spanish Women Refuse to Play Until
2023-08-25   2023-08-26 kiss.html                                    Federation Chief Resigns                  By Rachel Chaundler             TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/25/world/e Kremlin and Its Allies Repeatedly Reject     By Paul Sonne Valeriya Safronova
2023-08-25   2023-08-26 urope/prigozhin-putin-killing-denial.html  Suggestion It Was Assassination              and Cassandra Vinograd           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/world/e                                              By Anton Troianovski and Valerie
2023-08-25   2023-08-26 urope/prigozhin-putin-russia-power.html    Mutineer Dead Putin Projects Image of Might Hopkins                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/world/e
                        urope/sarkozy-trial-france-libya-          ExHead of France to Face Trial on Corruption
2023-08-25   2023-08-26 corruption.html                            Charges                                      By Aurelien Breeden              TX 9-325-179   2023-10-02




                                                                               Page 5649 of 5793
                        https://www.nytimes.com/2023/08/25/world/e Tycoon and Putin Ally Who Led Mercenaries
2023-08-25   2023-08-26 urope/yevgeny-prigozhin-dead.html          And a Failed Rebellion                    By Valerie Hopkins                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/world/ Offer to Join Emerging Nations Counters
2023-08-25   2023-08-26 middleeast/iran-brics.html                 Irans Outcast Status                      By Farnaz Fassihi                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/busines
                        s/economy/raimondo-heads-to-china-to-both- Raimondo Heads to China To Push Trade and
2023-08-26   2023-08-26 promote-trade-and-restrict-it.html         Curb It                                   By Ana Swanson                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/busines High Mortgage Rates Are Cooling the
2023-08-26   2023-08-26 s/mortgage-rates-housing-market.html       Demand for New Homes                      By Gregory Schmidt                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/opinion Putin Had Every Reason to Want Prigozhin
2023-08-26   2023-08-26 /prigozhin-death-putin.html                Gone                                      By Tatiana Stanovaya              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/13/books/r
2023-06-13   2023-08-27 eview/young-and-restless-mattie-kahn.html Girl Power                                 By Garance FrankeRuta             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/17/books/r
2023-06-17   2023-08-27 eview/through-the-groves-anne-hull.html    Sunshine State                            By Carl Hiaasen                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/20/books/r
2023-06-20   2023-08-27 eview/k-patrick-mrs-s.html                 Butch Fatale                              By Kristen Arnett                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/20/books/r
2023-06-21   2023-08-27 eview/jenny-xie-holding-pattern.html       Close Encounters                          By Tammy Tarng                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/28/books/r
                        eview/a-terribly-serious-adventure-nikhil-
2023-06-28   2023-08-27 krishnan.html                              Words With Friends                        By Jennifer Szalai                TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/07/04/books/r
                        eview/the-madam-and-the-spy-master-by-urs-
2023-07-04   2023-08-27 brunner-nigel-jones-julia-schrammel.html     Inside a Nazi Brothel                      By Charlotte Shane             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/10/books/r
                        eview/the-parrot-and-the-igloo-david-
2023-07-10   2023-08-27 lipsky.html                                  Global Warmings Greatest Hits              By Zo Schlanger                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/interactive/2023/07/ In Guatemala A Collective of Young Artists By Juan Brenner and Isabella
2023-07-13   2023-08-27 13/style/guatemala-film-community.html       Finds Family Through Film                  Grulln Paz                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/20/books/r
                        eview/king-of-the-armadillos-wendy-chin-
2023-07-20   2023-08-27 tanner.html                                  Doctors Orders                             By Ernesto MestreReed          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/23/books/r
2023-07-23   2023-08-27 eview/somebodys-fool-richard-russo.html      Living in Limbo                            By Hamilton Cain               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/26/books/ Literary Destinations Read Your Way
2023-07-26   2023-08-27 maine-books-lily-king.html                   Through Maine                              By Lily King                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/07/29/books/r
                        eview/dh-lawrence-american-classics-         Nobody Ever Read American Literature Like
2023-07-29   2023-08-27 literature-soul.html                         This Guy Did                               By AO Scott                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/05/books/r
2023-08-05   2023-08-27 eview/hangman-maya-binyam.html               No Place Is Home                           By Katie Kitamura              TX 9-325-179   2023-10-02




                                                                                Page 5650 of 5793
                        https://www.nytimes.com/2023/08/06/books/r
                        eview/the-heaven-and-earth-grocery-store-
2023-08-06   2023-08-27 james-mcbride.html                           Community Roots                              By Danez Smith             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/08/books/r
2023-08-08   2023-08-27 eview/david-james-duncan-sun-house.html      Room to Roam                                 By David Gates             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/13/books/r
2023-08-13   2023-08-27 eview/william-boyd-romantic.html             Feeling His Way                              By Charles Finch           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/books/r
2023-08-15   2023-08-27 eview/new-thrillers.html                     Completely Obsessed                          By Sarah Lyall             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/15/realesta
2023-08-15   2023-08-27 te/kids-artwork-frame-display.html           Showcasing Personal Items as Art             By Tim McKeough            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/17/books/r
                        eview/everyone-here-is-lying-shari-
2023-08-17   2023-08-27 lapena.html                                  Shari Lapena Believes in the Feline Mystique By Elisabeth Egan          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/books/r
                        eview/john-lennon-paul-mccartney-this-boy-
2023-08-18   2023-08-27 early-lives-ilene-cooper.html                The Beatles Before the Band                  By Nick Hornby             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/nyregio Anxious for a Handle on the Electric Car
2023-08-19   2023-08-27 n/electric-vehicle-hire-nyc.html             Learning Curve                               By Hilary Howard           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/style/if- If Im Missing Start the Search by Looking
2023-08-19   2023-08-27 i-go-missing-folders-binders.html            Here                                         By Fortesa Latifi          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/19/theater/
2023-08-19   2023-08-27 lea-salonga-here-lies-love.html              Thats Lea Salonga in the Stewie Pajamas      By Sarah Bahr              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/20/busines
                        s/british-tourists-mallorca-drinking-local-  Where Young Britons Underwrite a Tourism
2023-08-20   2023-08-27 economy.html                                 of Excess                                    By David Segal             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/arts/mu
2023-08-22   2023-08-27 sic/pop-feminist-musicals-broadway.html      Supposed Feminism Set to a Pop Beat          By Alexis Soloski          TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/22/arts/tele Recalling Roper And Celebrating Her Wild
2023-08-22   2023-08-27 vision/mrs-roper-romp-threes-company.html Spirit                                        By Erik Piepenburg           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/books/r
2023-08-22   2023-08-27 eview/nick-mcdonell-quiet-street.html        Anxiety of Affluence                       By Jonathan Dee              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/magazi
2023-08-22   2023-08-27 ne/almanac-recommendation.html               Almanacs                                   By Jonathan Malesic          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/magazi
2023-08-22   2023-08-27 ne/immobility-rape-trauma-freeze.html        Paralyzed                                  By Jen Percy                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/nyregio What to Do As Covid19 Rises Again In New     By Lola Fadulu and Sharon
2023-08-22   2023-08-27 n/covid-nyc-explainer.html                   York                                       Otterman                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/opinion
2023-08-22   2023-08-27 /bama-rush-tiktok-race.html                  In Alabama White Tide Rushes On            By Tressie McMillan Cottom   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/22/opinion The Lines Between Red and Blue America
2023-08-22   2023-08-27 /red-blue-america-politics.html              Are Blurring                               By Jesse Nathan              TX 9-325-179   2023-10-02




                                                                                Page 5651 of 5793
                        https://www.nytimes.com/2023/08/22/realesta
2023-08-22   2023-08-27 te/berkshires-massachusetts-renovation.html Berkshires Dream House Takes Some Work By Tim McKeough                           TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/22/style/eli
2023-08-22   2023-08-27 se-loehnen-goop.html                         In Pursuit of Something Beyond Perfection By Sarah Lyall                        TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/22/style/gr
2023-08-22   2023-08-27 avetok-tiktok-gravestones.html               Graveside on TikTok                       By Jessica Lucas                      TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/23/health/r Robert Paulson 86 Patent Lawyer Who Lived
2023-08-23   2023-08-27 obert-paulson-dead.html                      for Decades With ALS                      By Richard Sandomir                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/23/magazi
2023-08-23   2023-08-27 ne/carmen-de-lavallade-film.html             Step Back                                 By Carina del Valle Schorske          TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/23/magazi Green With Envy A yearslong quest to
2023-08-23   2023-08-27 ne/pesto-pasta-shrimp-recipe.html           replicate a vibrant pesto ends with the recipe   By Eric Kim                     TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/23/magazi
2023-08-23   2023-08-27 ne/wildensteins-inheritance-case-art.html   The Wildenstein Way                              By Rachel Corbett               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/23/realesta
                        te/500000-dollar-homes-indiana-kentucky-    500000 Homes in Indiana Kentucky and
2023-08-23   2023-08-27 oregon.html                                 Oregon                                           By Angela Serratore             TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/23/science Under the Sea an Octopus Garden Thrives in
2023-08-23   2023-08-27 /biology-octopus-garden.html                the Shade of a Hot Spring                        By Katrina Miller               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/23/style/ex-
2023-08-23   2023-08-27 in-law-contact.html                         Limits for Grandma                               By Philip Galanes               TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/23/style/fai Pick Some Chores Any Chores With Your
2023-08-23   2023-08-27 r-play-cards-heterosexual-relationships.html Partner                                         By Susan Shain                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/23/style/w At the GOP Debate a Betsy Ross Sense of
2023-08-24   2023-08-27 hich-red-tie-did-the-most.html               Style                                           By Guy Trebay                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/24/arts/mu
2023-08-24   2023-08-27 sic/olivia-rodrigo-guts.html                 Teen Idols Charm and Riot Grrrls Edge           By Caryn Ganz                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/24/climate Planting Tiny Forests and Yielding Big
2023-08-24   2023-08-27 /tiny-forests-climate-miyawaki.html          Benefits                                        By Cara Buckley                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/24/magazi
2023-08-24   2023-08-27 ne/avi-loeb-alien-hunter.html                Galaxy Quest                                    By Seth Fletcher                TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/24/magazi
                        ne/judge-john-hodgman-on-the-confusing-
2023-08-24   2023-08-27 acronym.html                                 Bonus Advice From Judge John Hodgman            By John Hodgman                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/24/magazi
2023-08-24   2023-08-27 ne/untitled-poem-from-starlings.html         Poem                                            By Lisa Robertson and Anne Boyer TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/movies/
2023-08-24   2023-08-27 honey-i-blew-up-the-family-film.html         The Family Movie Doesnt Play Here               By Alexis Soloski               TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/24/opinion
                        /international-world/prigozhin-plane-crash-
2023-08-24   2023-08-27 putin.html                                   Prigozhins Fate Was Sealed                      By Serge Schmemann              TX 9-325-179    2023-10-02




                                                                                   Page 5652 of 5793
                        https://www.nytimes.com/2023/08/24/opinion
2023-08-24   2023-08-27 /republican-debate-trump-desantis.html       An Infuriating Display of Cowardice           By Frank Bruni                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/realesta                                                By Jill P Capuzzo and Alicia
2023-08-24   2023-08-27 te/housing-market-near-nyc.html              Homes for Sale in New York and New Jersey Napierkowski                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/realesta
2023-08-24   2023-08-27 te/housing-market-nyc.html                   Homes for Sale in Manhattan and the Bronx By Heather Senison                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/realesta
2023-08-24   2023-08-27 te/rent-mortgage-costs.html                  What Size House Your Rent Could Buy           By Michael Kolomatsky          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/style/an
2023-08-24   2023-08-27 d-just-like-that-fashion.html                Where to Next The Clothes Offer a Hint        By The Styles Desk             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/style/ni                                                By Callie Holtermann and
2023-08-24   2023-08-27 ke-mary-earps-jersey.html                    Upon Review Nike Concedes a Gaffe in Goal Elizabeth Paton                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/upshot/ Regulating AI Requires Congress to Act
2023-08-24   2023-08-27 artificial-intelligence-regulation.html      Nimbly                                        By Ian Prasad Philbrick        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/us/butte Inside the Butter Cow Sculpture at State Fairs
2023-08-24   2023-08-27 r-cows-state-fair.html                       Some Cant Believe Its Not Butter              By Amanda Holpuch              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/us/karo Karol Bobko First to Pilot the Challenger Into
2023-08-24   2023-08-27 l-bobko-dead.html                            Space Is Dead at 85                           By Richard Sandomir            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/us/polit Albert Quie 99 Fiscal Conservative Who Was
2023-08-24   2023-08-27 ics/albert-quie-dead.html                    Ahead of His Time in House                    By Alex Traub                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/interactive/2023/08/ In Orlando Looking for a MoveIn Ready
2023-08-24   2023-08-27 24/realestate/24hunt-orlando.html            House Near All the Fun                        By Frances Robles              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/arts/des
2023-08-25   2023-08-27 ign/araujo-brazil-shainman.html              Preserving the Legacy of a Brazilian Artist   By Jill Langlois               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/arts/mu A Maestros Vision Binds Musicians To an
2023-08-25   2023-08-27 sic/teddy-abrams-louisville-orchestra.html   Eager Public                                  By Javier C Hernndez           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/books/r
                        eview/an-indigenous-present-jeffrey-
2023-08-25   2023-08-27 gibson.html                                  Up Close Drawn From Life                      By Lauren Christensen          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/books/r
                        eview/funny-things-a-comic-strip-biography-
                        of-charles-m-schulz-luca-debus-francesco-
2023-08-25   2023-08-27 matteuzzi.html                               The Man Who Created Charlie Brown             By Jeff Smith                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/busines
                        s/affordable-housing-montgomery-
2023-08-25   2023-08-27 county.html                                  This Is Public Housing Just Dont Call It That By Conor Dougherty             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/busines A Bull or a Bear Market We Really Shouldnt
2023-08-25   2023-08-27 s/stock-market-august-slump.html             Care                                          By Jeff Sommer                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/health/ Obesity Drug May Relieve Heart Failure
2023-08-25   2023-08-27 weight-loss-drug-heart-failure.html          Symptoms                                      By Benjamin Mueller            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/movies/ La Garcia 90 Trailblazing Star Who Brought
2023-08-25   2023-08-27 lea-garcia-dead.html                         Respect to Black Actors in Brazil             By Alex Williams               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/opinion
2023-08-25   2023-08-27 /ai-art-intellectual-property.html           A Creator Me Made a Masterpiece With AI By Farhad Manjoo                     TX 9-325-179   2023-10-02




                                                                                  Page 5653 of 5793
                        https://www.nytimes.com/2023/08/25/opinion
2023-08-25   2023-08-27 /desires-good-person.html                   The Case Against Being a Good Person          By Jamieson Webster                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/opinion Life After Loss Is Awful I Need to Believe Its
2023-08-25   2023-08-27 /finding-beauty-after-death-loss.html       Also Beautiful                                By Sarah Wildman                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/opinion
2023-08-25   2023-08-27 /trump-mug-shot.html                        The Man In the Mug Shot                       By David Firestone                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/realesta A Little Bit of Old LA Retains a Lot of
2023-08-25   2023-08-27 te/bungalow-renovation-los-angeles.html     Charm                                         By Julie Lasky                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/realesta                                               By Gina Ryder and Photographs
                        te/superintendent-caregiver-senior-                                                       and additional reporting by Karen
2023-08-25   2023-08-27 tenants.html                                A Lifeline For Senior Tenants                 Dias                                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/style/br Embracing Distance and Their Differences
2023-08-25   2023-08-27 i-scalesse-sheldon-nguyen-wedding.html      With Ease                                     By Valeriya Safronova               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/style/ge
2023-08-25   2023-08-27 n-x-generation-discourse.html               Hate Gen X Then Get in Line                   By Sarah Miller                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/style/kh
2023-08-25   2023-08-27 aleeqa-rouse-warren-whyte-wedding.html      A First Date That Far Exceeded Expectations By Jenny Block                        TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/25/style/kr They Started Out With an Inbox Full of
2023-08-25   2023-08-27 isten-bateman-jason-mercado-wedding.html Questions                                         By Jenny Block                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/style/m
                        odern-love-putting-all-my-eggs-in-the-
2023-08-25   2023-08-27 boyfriend-basket.html                        Free to Float on a Feeling of Enlightenment   By Deborah Way                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/style/tin How Do I Love Thee Even More Than My
2023-08-25   2023-08-27 a-liu-michael-ghory-wedding.html             Sneakers                                      By Chloe Anello                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/us/polit Trying to Turn Those Debate Zingers Into
2023-08-25   2023-08-27 ics/republican-debate-donor-reactions.html   Cash                                          By Rebecca Davis OBrien            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/world/a Isabel Crook 107 Witness to a Century of
2023-08-25   2023-08-27 sia/isabel-crook-dead.html                   Change in China Dies                          By Clay Risen                      TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/25/world/e Still No Sign of Nessie Not for Lack of
2023-08-25   2023-08-27 urope/loch-ness-monster-search-timeline.html Trying                                        By Amanda Holpuch                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/arts/dan
                        ce/creative-administration-research-
2023-08-26   2023-08-27 akron.html                                   Choreography of the Spreadsheets              By Margaret Fuhrer                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/busines
                        s/the-moat-that-we-have-to-protect-the-
2023-08-26   2023-08-27 realreals-ceo-on-reviving-the-brand.html     Planning a Revival for a Flailing Business    By Jordyn Holman                   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/26/nyregio
2023-08-26   2023-08-27 n/denzel-rodriguez-sugar-hill-creamery.html HipHop Weights and Lots of Ice Cream           By Alix Strauss                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/nyregio
2023-08-26   2023-08-27 n/march-on-washington-harlem.html           A Moment In History Had Roots In Harlem        By John Leland                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/opinion
2023-08-26   2023-08-27 /biden-lina-khan-ftc.html                   Protecting Competition Is a Vital Goal         By The Editorial Board             TX 9-325-179   2023-10-02



                                                                                  Page 5654 of 5793
                        https://www.nytimes.com/2023/08/26/opinion
2023-08-26   2023-08-27 /china-economy-xi-jinping.html             What Ails Chinas Economy                       By Eswar Prasad                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/opinion
2023-08-26   2023-08-27 /donald-trump-mug-shot.html                Catch the Smug Mug on That Thug                By Maureen Dowd                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/opinion                                                By Joshua Dudley Greer and
2023-08-26   2023-08-27 /fulton-county-jail-media-trump.html       Trump Keeps Us Waiting                         Katherine Miller                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/opinion
2023-08-26   2023-08-27 /hiking-wilderness-urban-america.html      The Glories Of Americas Wilderness             By Nicholas Kristof               TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/26/opinion
2023-08-26   2023-08-27 /liberalism-trump-russia-china-cold-war.html Can Liberalism Save Itself                   By Samuel Moyn                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/opinion
                        /raymond-chandler-philip-marlowe-denise-     What I Learned Channeling Raymond
2023-08-26   2023-08-27 mina.html                                    Chandler                                     By Denise Mina                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/realesta Our Condo President May be Spying Are
2023-08-26   2023-08-27 te/condo-board-illegal-cameras.html          These New Cameras Legal                      By Jill Terreri Ramos             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/sports/t Could the US Open King of New York Do         By David Waldstein and Gabriela
2023-08-26   2023-08-27 ennis/us-open-queens-new-york.html           More for Queens                              Bhaskar                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/style/fo The Humblest of Chairs Quickly Becomes a
2023-08-26   2023-08-27 lding-chair-alabama-riverfront-brawl.html    Symbol                                       By Frank Rojas                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/style/ju
                        st-a-normal-girl-hiding-from-the-building-
2023-08-26   2023-08-27 inspector.html                               Time to Hide From the Building Inspector     By Micaela Macagnone              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/style/qa-
2023-08-26   2023-08-27 veil-designer.html                           The Woman Behind OhSoMany Veils              By Alix Strauss                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/us/cuba Infusing Louisville With the Distinct Flavor   By Miriam Jordan and David
2023-08-26   2023-08-27 ns-louisville-kentucky.html                  of Havana                                    Cabrera                           TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/26/us/dolla Florida Gunman Kills 3 He Hated Black        By Orlando Mayorquin and Nichole
2023-08-26   2023-08-27 r-general-shooting-jacksonville-florida.html People Jacksonville Sheriff Says            Manna                            TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/26/us/polit DeSantis Still Hesitates to Attack Trump
2023-08-26   2023-08-27 ics/iowa-voter-desantis-trump.html           Directly                                    By Nicholas Nehamas              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/26/us/polit Kremlin Considering Ways to Take Control of By Julian E Barnes and Eric
2023-08-26   2023-08-27 ics/prigozhin-wagner-russia-military.html    Mercenary Group                             Schmitt                          TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/26/us/polit A Young Candidates Favorite Topic Whats
2023-08-26   2023-08-27 ics/ramaswamy-millennial-republican.html     Wrong With His Peers                        By Jonathan Weisman              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/26/us/polit How a Judges Rejection of a Guantnamo
2023-08-26   2023-08-27 ics/torture-uss-cole-september-11.html       Confession Imperils a Legal Tactic          By Carol Rosenberg               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/26/us/polit
                        ics/vivek-ramaswamy-2024-campaign-fact- Ramaswamys Claims About Climate Change
2023-08-26   2023-08-27 check.html                                   and Jan 6 Draw Scrutiny                     By Linda Qiu                     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/26/world/a
                        frica/zimbabwe-election-mnangagwa-           Zimbabwes President Claims Election Victory
2023-08-26   2023-08-27 wins.html                                    Amid Fraud Accusations                      By John Eligon                   TX 9-325-179     2023-10-02




                                                                                 Page 5655 of 5793
                        https://www.nytimes.com/2023/08/26/world/a He Fled Repression but Chinas Long Arm
2023-08-26   2023-08-27 sia/china-rights-lawyer-arrested-laos.html Caught Him in Another Country                 By Tiffany May                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/world/e New Climate Standards Have Farmers in         By Monika Pronczuk and Claire
2023-08-26   2023-08-27 urope/europe-farmers-climate-change.html   Europe Bristling                              Moses                             TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/26/world/e
2023-08-26   2023-08-27 urope/prigozhin-ukraine-bakhmut-legacy.html For Prigozhin Legacy Lingers On Battlefields By Paul Sonne                TX 9-325-179        2023-10-02
                        https://www.nytimes.com/2023/08/26/world/e
                        urope/russia-ukraine-war-                   General Seeks More Troops To Counter
2023-08-26   2023-08-27 counteroffensive.html                       Russia in East                               By Thomas GibbonsNeff        TX 9-325-179        2023-10-02
                        https://www.nytimes.com/2023/08/26/world/e
                        urope/soccer-spain-luis-ruiables-jennifer-  FIFA Suspends Spain Official Over His Kiss By Aaron Boxerman and Constant
2023-08-26   2023-08-27 hermoso-kiss.html                           At World Cup                                 Mheut                        TX 9-325-179        2023-10-02

                        https://www.nytimes.com/2023/08/26/world/e
2023-08-26   2023-08-27 urope/ukraine-russia-prigozhin-wagner.html In a Gutted Village No Tears For Prigozhin    By Marc Santora and Tyler Hicks   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/world/
                        middleeast/egypt-cairo-city-construction-
2023-08-26   2023-08-27 demolition.html                            A Modern Cairo at Historys Expense            By Vivian Yee                     TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/26/world/ US Was Aware That Saudis Were Shelling         By Ben Hubbard and Edward
2023-08-26   2023-08-27 middleeast/saudi-killing-migrants-yemen.html and Abusing African Migrants at Border      Wong                              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/26/us/marc
                        h-on-washington-anniversary-mlk-             60 Years Later a March on Washington
2023-08-27   2023-08-27 speech.html                                  Renews a Call for Equality                  By Darren Sands                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/busines
                        s/thailands-weed-industry-is-poised-to-grow- Pot Business Is Booming In Thailand Risks
2023-08-27   2023-08-27 fast.html                                    Aside                                       By Mike Ives                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/health/s Bad Ventilation Remains Threat To US
2023-08-27   2023-08-27 chools-indoor-air-covid.html                 Students                                    By Apoorva Mandavilli             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/insider/ Explaining and Redefining a Response to
2023-08-27   2023-08-27 explaining-a-response-to-rape.html           Rape                                        By Sarah Bahr                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/insider/
2023-08-27   2023-08-27 the-makings-of-cringe-making.html            The Makings of Cringe Making                By Sarah Diamond                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/nyregio Neighbors Rarely Saw Gilgo Beach Suspects
2023-08-27   2023-08-27 n/gilgo-beach-heuermann-family-wife.html Family Until Now                                By Corey Kilgannon                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/nyregio Time Is Money but One Clock Hasnt Paid
2023-08-27   2023-08-27 n/trump-tower-clock-nyc.html                 Whats Due                                   By Sam Roberts                    TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/27/sports/t An Unlikely Love Story Resumes as Djokovic
2023-08-27   2023-08-27 ennis/us-open-novak-djokovic-new-york.html Returns to New York                         By Matthew Futterman                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/style/bu
2023-08-27   2023-08-27 ck-mason-t-shirt.html                       To Create the Ideal TShirt Start at Home   By Grace Cook                       TX 9-325-179   2023-10-02




                                                                                Page 5656 of 5793
                                                                                                                  By Jeremy White Pam Belluck
                        https://www.nytimes.com/interactive/2023/05/ An Inside Look at Covids Lasting Damage to Noah BassettiBlum Eleanor Lutz
2023-05-31   2023-08-28 31/health/covid-lung-damage.html             the Lungs                                    and Hang Do Thi Duc                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/18/travel/v Exploring the Mountains the Museums and
2023-08-18   2023-08-28 acation-rentals-kitchens.html                the Double Oven                              By Elaine Glusac                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/21/busines
                        s/carl-icahn-nathan-anderson-short-
2023-08-21   2023-08-28 selling.html                                 Turning the Tables On a Corporate Critic     By Maureen Farrell                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/23/obituari Terry Funk 79 Wrestling Star With Blood
2023-08-24   2023-08-28 es/terry-funk-wrestler-dead.html             Sweat and Chairs                             By Eduardo Medina                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/technol
                        ogy/how-teachers-and-students-feel-about-    Taking the Pulse of Teachers and Students on
2023-08-24   2023-08-28 ai.html                                      AI                                           By Natasha Singer                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/arts/des British Museum Director Quits Over
2023-08-25   2023-08-28 ign/british-museum-director-resigns.html     Handling of Thefts                           By Alex Marshall                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/arts/mu A Lot of Looking Back in Songs by Miley        By Jon Pareles Giovanni
2023-08-25   2023-08-28 sic/playlist-miley-cyrus-selena-gomez.html Cyrus Al Green and Others                      Russonello and Lindsay Zoladz      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/arts/mu
2023-08-25   2023-08-28 sic/ukrainian-freedom-orchestra.html         An Orchestras Ode To Ukrainian Freedom       By Ben Miller                      TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/busines
2023-08-25   2023-08-28 s/hawaii-fires-insurance.html                Insurers Will Reevaluate Hawaiis Risk        By Santul Nerkar and Emily Flitter TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/25/sports/t
2023-08-25   2023-08-28 ennis/jessica-pegula-united-states-open.html Jessica Pegula unleashed                   By Cindy Shmerler                  TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/25/sports/t
2023-08-25   2023-08-28 ennis/tennis-rankings-different-treatment.html In tennis its the haves and havenots       By Cindy Shmerler              TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/25/sports/t
2023-08-25   2023-08-28 ennis/us-open-tennis-balls.html                Not all tennis balls are equal             By Stuart Miller               TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/25/us/maui Native Hawaiians Seek Revival Through
2023-08-25   2023-08-28 hawaii-spiritual-healing.html                  Ritual                                     By Ruth Graham and Damien Cave TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/25/world/a
                        sia/fukushima-water-seafood-japan-             Seafood Is Safe Near Fukushima the UN Says By Mike Ives John Yoon Hisako
2023-08-25   2023-08-28 china.html                                     but Some Lose Their Appetite               Ueno and Olivia Wang           TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/26/arts/mu David LaFlamme 82 Whose Psychedelic
2023-08-26   2023-08-28 sic/david-laflamme-dead.html                   White Bird Captured a 1960s Dream          By Alex Williams               TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/26/arts/tele Bob Barker TV Titan With Priceless Charm
2023-08-26   2023-08-28 vision/bob-barker-dead.html                    For Decades Dies at 99                     By Richard Severo              TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/26/busines Chinas Woes Are Unlikely To Hamper US
2023-08-26   2023-08-28 s/economy/us-economy-china.html                Growth                                     By Lydia DePillis              TX 9-325-179       2023-10-02
                        https://www.nytimes.com/2023/08/26/opinion
                        /i-have-a-pretty-good-idea-why-michael-oher-
2023-08-26   2023-08-28 is-angry.html                                  I Understand Why Michael Oher Is Angry     By Elizabeth Spiers            TX 9-325-179       2023-10-02




                                                                                 Page 5657 of 5793
                        https://www.nytimes.com/2023/08/26/realesta
                        te/national-association-of-realtors-sexual-
2023-08-26   2023-08-28 harassment.html                             Realtors Chief Facing Claims Of Misconduct By Debra Kamin                    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/26/sports/s Mongolian Marathoner Has Secret for
2023-08-26   2023-08-28 er-od-bat-ochir-mongolia-marathon.html      Success Just Keep On Running               By Scott Cacciola                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/26/us/trum Georgia Defendants Spar Over Trial Dates    By Richard Fausset and Danny
2023-08-26   2023-08-28 p-georgia-trial.html                        and Sites                                  Hakim                             TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/26/world/e
2023-08-26   2023-08-28 urope/curzon-cinema-dogs-screenings.html Ears Perk Up And Tails Wag At Show Time       By Derrick Bryson Taylor          TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/26/nyregio Calls for Justice After Officer Throws Cooler By Erin Nolan Hurubie Meko and
2023-08-27   2023-08-28 n/nypd-sergeant-cooler-motorbike-death.html Killing Man                                    Nate Schweber                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/arts/cla Claude RuizPicasso Artists Son Who Ran
2023-08-27   2023-08-28 ude-ruiz-picasso-dead.html                   Vast Estate Dies at 76                        By Richard Sandomir             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/arts/mu
                        sic/gustavo-dudamel-simon-bolivar-symphony Maestro Waves the Baton Again With His
2023-08-27   2023-08-28 orchestra.html                               Venezuelan Orchestra                          By Javier C Hernndez            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/arts/mu
2023-08-27   2023-08-28 sic/the-strokes-latino-fans-juicebox.html    Same Songs but Entirely Different Strokes     By Eric Ducker                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/arts/tele
2023-08-27   2023-08-28 vision/bob-barker-the-price-is-right.html    America Came On Down Ever to His Delight By Alexis Soloski                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/busines On Trip to China US Commerce Secretary          By Ana Swanson Alan Rappeport
2023-08-27   2023-08-28 s/gina-raimondo-china-agenda.html            Has a Varied Agenda                           and Keith Bradsher              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/opinion
2023-08-27   2023-08-28 /family-together-health-scare.html           Three Generations Under One Roof              By David French                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/opinion A Legacy of Colonialism Set the Stage for
2023-08-27   2023-08-28 /maui-wildfire-colonialism.html              Mauis Wildfires                               By Yarimar Bonilla              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/sports/t
2023-08-27   2023-08-28 ennis/usopen-gauff-pegula.html               Theyre Peaking And Back At Home               By Matthew Futterman            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/us/jack                                                 By Nichole Manna Anna Betts and
2023-08-27   2023-08-28 sonville-shooting-victims-timeline.html      11 Fatal Minutes in the Jacksonville Shooting Patricia Mazzei                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/us/polit Unions Actions in Georgia Aim to Raise the
2023-08-27   2023-08-28 ics/georgia-hyundai-labor-biden.html         Heat On Biden and Automakers                  By Jonathan Weisman             TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/27/us/polit RamaswamyPence Clash Shows New Rights
2023-08-27   2023-08-28 ics/ramaswamy-pence-debate-new-right.html Break From Classic Reaganism                  By Jonathan Swan                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/27/us/uc- Noted Scholar Who Claimed To Be Cherokee
2023-08-27   2023-08-28 riverside-andrea-smith-resigns.html         Agrees to Quit                              By Vimal Patel                   TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/27/world/a Zimbabwe Neighbors Cast Doubt on
2023-08-27   2023-08-28 frica/zimbabwe-elections-mnangagwa.html Elections                                       By John Eligon and Tendai Marima TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/27/world/a 3 US Marines Are Killed In Aircraft Crash in
2023-08-27   2023-08-28 sia/marines-plane-crash-australia.html      Australia                                   By Yan Zhuang and Damien Cave TX 9-325-179        2023-10-02




                                                                                Page 5658 of 5793
                        https://www.nytimes.com/2023/08/27/world/c
                        anada/canada-wildfires-kelowna-british-    Using Indigenous Techniques to Slow
2023-08-27   2023-08-28 columbia.html                              Canadas Fires                                By Ian Austen                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/world/e
                        urope/blacklisted-oligarch-western-banks-                                               By Monika Pronczuk and Valerie
2023-08-27   2023-08-28 russia.html                                Western Banks Tied to Barred Oligarch        Hopkins                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/world/e Russia Says Ukraine Launched Drones At 3 By Vivek Shankar and Constant
2023-08-27   2023-08-28 urope/russia-ukraine-war.html              Regions Along the Countries Border           Mheut                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/world/e Wagner Future Is As Shadowy As Its
2023-08-27   2023-08-28 urope/russia-wagner-prigozhin-future.html  Business                                     By Paul Sonne and Valerie Hopkins TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/world/e As Kiss Debacle Persists a Soccer Chief Sees
2023-08-27   2023-08-28 urope/spain-luis-rubiales.html             His Defenders Slowly Backing Away            By Rachel Chaundler               TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/27/world/                                               By Raja Abdulrahim and Nicole
2023-08-27   2023-08-28 middleeast/syria-earthquake-rebuilding.html After War and Quakes Syrians Feel Forgotten Tung                            TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/28/arts/tele
                        vision/whats-on-tv-this-week-claim-to-fame- Whats on TV This Week Claim to Fame and
2023-08-28   2023-08-28 and-family-law.html                          Family Law                                 By Shivani Gonzalez             TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/28/arts/tru
2023-08-28   2023-08-28 e-crime-streaming-international.html         Criminal Stories From Beyond These Borders By Maya Salam                   TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/28/insider/
                        lungs-as-weve-never-published-them-
2023-08-28   2023-08-28 before.html                                  New Tools to Understand Covids Damage      By Vivian Ewing                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/28/nyregio US Drug Laws Threaten a Site That Aids
2023-08-28   2023-08-28 n/safe-injection-sites-drugs-nyc.html        Users                                      By Sharon Otterman              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/28/sports/t Djokovic Has Received a MuchNeeded Gift A
2023-08-28   2023-08-28 ennis/alcaraz-vs-djokovic-us-open.html       Worthy New Rival                           By Kurt Streeter                TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/28/sports/t
2023-08-28   2023-08-28 ennis/us-open-carlos-alcaraz.html            Rising Star Bends Game To His Will         By Matthew Futterman            TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/28/sports/t
2023-08-28   2023-08-28 ennis/us-open-guide.html                     A Field Guide To the Open                  By Jesus Jimnez                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/28/sports/t
2023-08-28   2023-08-28 ennis/us-open-ons-jabeur.html                Fan Favorite Tries To Top Last Hurdle      By David Waldstein              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/28/us/polit Hearings Set for Monday In Trump Election
2023-08-28   2023-08-28 ics/trump-hearings-jan-6-trial.html          Cases                                      By Alan Feuer                   TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/07/21/science
2023-07-21   2023-08-29 /birds-sketching.html                        The Joys of Sketching Birds                By The New York Times           TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/17/well/liv
2023-08-17   2023-08-29 e/blue-light-glasses-eyes-screens.html       How to Ease Eye Strain Some Tips           By Dani Blum                    TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/17/well/liv
2023-08-17   2023-08-29 e/heat-hydration-advice.html                 To Beat the Heat Look Around the World     By Apoorva Mandavilli           TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/18/well/mi
2023-08-18   2023-08-29 nd/mdma-ecstasy-risk.html                    MDMA Use Presents a Challenge              By Rachel Nuwer                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/article/wildfire-    When Wildfires Strike Birds Are Especially
2023-08-18   2023-08-29 smoke-birds.html                             at Risk                                    By Emily Anthes                 TX 9-325-179     2023-10-02



                                                                               Page 5659 of 5793
                        https://www.nytimes.com/2023/08/21/well/liv Glued to the Screen Try Catching Your
2023-08-21   2023-08-29 e/screen-apnea-breathing.html               Breath                                       By Alisha Haridasani Gupta     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/article/rsv-
2023-08-21   2023-08-29 vaccine.html                                RSV Immunizations Things Worth Knowing By Dana G Smith                      TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/24/technol
                        ogy/how-schools-can-survive-and-maybe-      How Schools Can Cope and Grow When
2023-08-24   2023-08-29 even-thrive-with-ai-this-fall.html          Their Students Are Using AI                  By Kevin Roose                 TX 9-325-179     2023-10-02
                                                                    Ive noticed I get a runny nose when theres
                        https://www.nytimes.com/2023/08/24/well/liv wildfire smoke in the air Should I be
2023-08-24   2023-08-29 e/wildfire-smoke-sinus-issues.html          concerned                                    By Dani Blum                   TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/arts/cul
2023-08-25   2023-08-29 ture-arts-jobs-salary-benefits.html         Dream Jobs in the Arts and What They Pay By Colin Moynihan                  TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/arts/cul
2023-08-25   2023-08-29 ture-museum-executives-perks.html           Rolling Back Museum Executives Perks         By Robin Pogrebin              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/25/world/e
2023-08-25   2023-08-29 urope/london-zoo-animals.html               Weighing All Creatures Great and Small       By Claire Moses                TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/26/nyregio In New York Rising Odds of Spotting a Rare
2023-08-26   2023-08-29 n/new-york-city-climate-birds.html          Species                                      By Lola Fadulu                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/26/science
2023-08-26   2023-08-29 /birds-birdwatching-nemesis.html            Quarry Is Out of Sight But Never Out of Mind By Joe Trezza                  TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/26/well/m
2023-08-26   2023-08-29 ove/errands-exercise.html                   Turn Errands Into Exercise                   By Andrew Leonard              TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/27/busines Studios Labor Negotiator Usually Coy Has
2023-08-27   2023-08-29 s/hollywood-strike-studios-lombardini.html Lead Role                                     By Brooks Barnes and John Koblin TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/world/e
                        urope/former-french-president-voice-
2023-08-27   2023-08-29 russia.html                                In Europe Pockets of ProRussia Voices Persist By Roger Cohen                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/article/tropical-  Idalia Forecast to Become a Hurricane as It By Patricia Mazzei Johnny Diaz
2023-08-27   2023-08-29 storm-idalia-hurricane.html                Bears Down on Florida                         and Judson Jones                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/27/sports/s After Two Years Biles Is at Peace And Back
2023-08-28   2023-08-29 imone-biles-gymnastics-championships.html on Top                                          By Carla Correa               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/28/arts/des
2023-08-28   2023-08-29 ign/hilma-af-klint-legacy.html               A Heralded Artist Is Being Reconsidered      By Zachary Small              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/28/arts/mu
2023-08-28   2023-08-29 sic/queer-club-fliers-getting-in-book.html   Queer History Captured In Advertising Fliers By Erik Piepenburg            TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/28/arts/tele
2023-08-28   2023-08-29 vision/invasion-simon-kinberg.html           Adding TouchyFeely to the CreepyCrawly       By Elisabeth Vincentelli      TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/28/books/f
2023-08-28   2023-08-29 rance-algeria-mathieu-belezi.html            Planting His Flag In France                  By Constant Mheut             TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/28/busines
                        s/economy/united-states-china-trade-talks-                                                By Ana Swanson and Keith
2023-08-28   2023-08-29 raimondo.html                                The US and China Agree to Broaden Talks      Bradsher                      TX 9-325-179     2023-10-02




                                                                                Page 5660 of 5793
                        https://www.nytimes.com/2023/08/28/busines
                        s/energy-environment/hawaiian-electric-maui- Hawaii Utility Pushes Back on Blame for
2023-08-28   2023-08-29 wildfire.html                                Wildfire                                   By Ivan Penn                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/busines
                        s/media/bon-appetit-editor-jamila-           Next Bon Apptit Leader Is Food and Culture
2023-08-28   2023-08-29 robinson.html                                Editor At Philadelphia Inquirer            By Katie Robertson             TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/28/climate Children Have a Right to Sue Nations Over
2023-08-28   2023-08-29 /united-nations-children-climate-lawsuit.html Climate Change a UN Panel Says           By Somini Sengupta              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/fashion
2023-08-28   2023-08-29 /diamond-museum-amsterdam.html                Romancing the stone                      By Susanne Fowler               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/fashion
2023-08-28   2023-08-29 /jewelry-anklets-dior-messika.html            Anklets go beyond the beach              By Milena Lazazzera             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/fashion
2023-08-28   2023-08-29 /jewelry-auctions-phillips-geneva.html        A new bid from Phillips                  By Jessica Bumpus               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/fashion
2023-08-28   2023-08-29 /jewelry-bees-chaumet.html                    Embracing the buzz                       By Jessica Bumpus               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/fashion
2023-08-28   2023-08-29 /jewelry-design-childhood.html                Its got diamonds But is it fun           By Victoria Gomelsky            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/fashion
2023-08-28   2023-08-29 /jewelry-escalator-jemma-wynne.html           An escalator but in gold                 By Jessica Bumpus               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/fashion
2023-08-28   2023-08-29 /jewelry-fair-artvendome-paris.html           A new fair open to all                   By Susanne Fowler               TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/28/fashion
2023-08-28   2023-08-29 /jewelry-gold-exhibition-chaumet-paris.html Highlighting gold designs                  By Sarah RoyceGreensill         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/fashion
2023-08-28   2023-08-29 /jewelry-greece-antiquities.html            Inspired by their discoveries              By Kathleen Beckett             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/fashion
                        /jewelry-jenny-walton-gioielleria-pennisi-
2023-08-28   2023-08-29 milan.html                                  Elevating the humble hairpin               By Kerry Olsen                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/fashion
2023-08-28   2023-08-29 /jewelry-john-hardy-reed-krakoff.html       More sinuous and sexy                      By Tanya Dukes                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/fashion
2023-08-28   2023-08-29 /jewelry-lenfant-paris.html                 An end to obscurity                        By Jill Newman                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/fashion
2023-08-28   2023-08-29 /jewelry-permanent-persee-paris.html        Like a tattoo but in gold                  By Vivian Morelli               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/fashion
2023-08-28   2023-08-29 /jewelry-rouvenat-luximpact-paris.html      Rediscovered treasures                     By Roxanne Robinson             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/fashion
2023-08-28   2023-08-29 /russia-diamond-sanctions.html              Russian diamonds Not for G7                By Elizabeth Paton              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/movies/ Nicholas Hitchon 65 Who Aged 7 Years at a
2023-08-28   2023-08-29 nicholas-hitchon-seven-up-dead.html         Time in the Up Documentaries               By Neil Genzlinger              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/nyregio Four Are Found Dead in Upper West Side      By Chelsia Rose Marcius Sarah
2023-08-28   2023-08-29 n/4-dead-upper-west-side-apartment.html     Apartment Including Two Children           Maslin Nir and Zachary Small    TX 9-325-179   2023-10-02



                                                                                Page 5661 of 5793
                        https://www.nytimes.com/2023/08/28/nyregio Crop of Eager Democrats Brings Primary
2023-08-28   2023-08-29 n/democratic-primary-gereghty-jones.html    Pileups                                      By Nicholas Fandos                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/nyregio 3 Hosts of a FundRaiser Held for Adams in By William K Rashbaum and Jonah
2023-08-28   2023-08-29 n/eric-adams-ulrich-fundraiser.html         2021 Are Said to Face Charges                E Bromwich                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/nyregio Madison Square Garden Faces a Shrinking
2023-08-28   2023-08-29 n/madison-square-garden-permit.html         Permit                                       By Dana Rubinstein                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/nyregio Administration Faults New Yorks Handling
2023-08-28   2023-08-29 n/migrants-crisis-mayorkas-nyc.html         of Migrants                                  By Luis FerrSadurn                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/nyregio Jersey City Police Kill Man Officers Had Shot
2023-08-28   2023-08-29 n/police-shooting-jersey-city.html          in 2012                                      By Lola Fadulu                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/opinion
                        /columnists/covid-climate-cryptocurrency-
2023-08-28   2023-08-29 plutocrats.html                             The Paranoid Style in American Plutocrats    By Paul Krugman                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/opinion
                        /columnists/vivek-ramaswamy-surging-
2023-08-28   2023-08-29 polls.html                                  Why Is This Irksome Candidate Surging        By Michelle Goldberg              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/opinion
2023-08-28   2023-08-29 /jimmy-carter-hospice.html                  A Fitting Final Gift From Jimmy Carter       By Daniela J Lamas                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/opinion Ramaswamy Is Suddenly Part of Our Political
2023-08-28   2023-08-29 /ramaswamy-haley-trump-biden.html           Life                                         By Gail Collins and Bret Stephens TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/science
2023-08-28   2023-08-29 /archaeology-birds-flute.html               Perhaps Hunters First Stab at a Duck Call    By Franz Lidz                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/science
2023-08-28   2023-08-29 /birds-flycatcher-migration.html            On Their Trail From Alaska to Peru           By Emily Anthes                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/sports/c In Cheating Dispute Chess Players Agree to a
2023-08-28   2023-08-29 hess-lawsuit-magnus-carlsen.html            Draw                                         By Dylan Loeb McClain             TX 9-325-179   2023-10-02
                                                                                                                 By John Branch Kassie Bracken
                        https://www.nytimes.com/2023/08/28/sports/n After Loss of Son Coach Faces a Terrible     Ben Laffin Alfredo Chiarappa and
2023-08-28   2023-08-29 caafootball/football-concussions-cte.html   Truth                                        Joe Ward                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/sports/p Mercury End Playoff Run Thats Not Often
2023-08-28   2023-08-29 layoff-streaks.html                         Matched                                      By Victor Mather                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/sports/t As Youth Player Had What Others Didnt A
2023-08-28   2023-08-29 ennis/frances-tiafoe-tennis.html            Passion for Playing                          By Tom Shroder                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/sports/t On Quiet Court A Star Provides His Own       By Matthew Futterman and
2023-08-28   2023-08-29 ennis/us-open-frances-tiafoe.html           Energy                                       Gabriela Bhaskar                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/us/calif
                        ornia-attorney-general-transgender-         California Challenges School on Transgender
2023-08-28   2023-08-29 policy.html                                 Policy                                       By Shawn Hubler                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/us/covi Uptick In Covid Brings Reminder Virus
2023-08-28   2023-08-29 d-cases-hospitalizations.html               Never Left                                   By Julie Bosman                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/us/flori Florida Warns Tainted Gasoline Could Snarl
2023-08-28   2023-08-29 da-gas-diesel-contamination-idalia.html     Evacuations Ahead of Storm                   By Rebecca Carballo               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/us/polit
                        ics/desantis-jacksonville-shooting-idalia-
2023-08-28   2023-08-29 florida.html                                DeSantis Faces Tests of Leadership at Home By Nicholas Nehamas                 TX 9-325-179   2023-10-02



                                                                                Page 5662 of 5793
                        https://www.nytimes.com/2023/08/28/us/polit Gains by the Chinese Spur the Pentagon to
2023-08-28   2023-08-29 ics/pentagon-drones-china.html              Seek StateoftheArt Tech                     By Eric Lipton                 TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/28/us/polit Republicans Scale Back AntiWoke             By Trip Gabriel and Nicholas
2023-08-28   2023-08-29 ics/republican-education-woke-2024.html     Messaging On Education Issues               Nehamas                        TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/28/us/polit
                        ics/samuel-wurzelbacher-joe-the-plumber-    Samuel Wurzelbacher a Symbol As Joe the
2023-08-28   2023-08-29 dead.html                                   Plumber Is Dead at 49                       By Sam Roberts                 TX 9-325-179      2023-10-02
                                                                    Transportation Dept Fines American Airlines
                        https://www.nytimes.com/2023/08/28/us/polit 41 Million for Tarmac Delays of Up to 6
2023-08-28   2023-08-29 ics/tarmac-delays-american-airlines.html    Hours                                       By Mark Walker                 TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/28/us/polit Trial for Trump Is Set for March In Federal
2023-08-28   2023-08-29 ics/trump-trial-date-jan-6.html             Case                                        By Alan Feuer and Glenn Thrush TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/28/us/trum Meadows Asks Judge To Shift Georgia Case By Richard Fausset and Danny
2023-08-28   2023-08-29 p-georgia-meadows.html                      To US Court System                          Hakim                          TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/28/us/univ Lab Shooter Kills Member Of Faculty At       By Michael Levenson and Amanda
2023-08-28   2023-08-29 ersity-north-carolina-shooting.html         UNC                                         Holpuch                        TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/28/world/a Cambodias Cyber Scam Mills Hide
2023-08-28   2023-08-29 sia/cambodia-cyber-scam.html                Trafficking in Plain Sight                  By SuiLee Wee                  TX 9-325-179      2023-10-02

                        https://www.nytimes.com/2023/08/28/world/e French Schools to Ban Robe Worn by
2023-08-28   2023-08-29 urope/france-ban-abaya-robes-schools.html Muslims                                        By Aurelien Breeden              TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/28/world/e Leader Is Asked to Resign As Officials Open By Rachel Chaundler and Jason
2023-08-28   2023-08-29 urope/luis-rubiales-spain-investigation.html Inquiry                                       Horowitz                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/world/e Popes Praise for Russian Legacy That Putin
2023-08-28   2023-08-29 urope/pope-francis-russia.html               Invokes Is Criticized                         By Gaia Pianigiani             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/world/e                                                 By Jason Horowitz and Rachel
2023-08-28   2023-08-29 urope/spain-kiss-sexism-rubiales.html        For Spaniards A Forced Kiss Tests Progress Chaundler                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/world/e British Air Traffic Issue Cancels or Delays     By Emma Bubola and Amanda
2023-08-28   2023-08-29 urope/uk-airport-flight-delays.html          Hundreds of Flights                           Holpuch                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/world/e
                        urope/ukraine-robotyne-russia-
2023-08-28   2023-08-29 counteroffensive.html                        Ukraine Reports a Grinding Gain in Its Attack By Constant Mheut              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/world/
                        middleeast/dubai-beaches-nighttime-global- Place to Be At Midnight The Beach Of            By Vivian Nereim and Andrea
2023-08-28   2023-08-29 warming.html                                 Course                                        DiCenzo                        TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/28/world/ Libya Official Flees Country After Meeting
2023-08-28   2023-08-29 middleeast/foreign-minister-libya-israel.html With Israeli                             By Vivian Yee and Isabel Kershner TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/28/us/jack Jacksonville Gunman Left Racist Rants and a
2023-08-29   2023-08-29 sonville-shooting-florida-hbcu.html           Suicide Note                             By Anna Betts and Nichole Manna TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/29/busines
                        s/tiktok-us-china-commerce-secretary-gina- Secretary of Commerce Visits China With     By Sapna Maheshwari and David
2023-08-29   2023-08-29 raimondo.html                                 Future Of TikTok Still in Limbo          McCabe                            TX 9-325-179    2023-10-02




                                                                                 Page 5663 of 5793
                        https://www.nytimes.com/interactive/2023/08/ For Migrating Birds Its the Flight of Their
2023-08-29   2023-08-29 29/science/bird-migration-connections.html Lives                                            By Emily Anthes               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/dining/
2023-08-24   2023-08-30 drinks/best-nyc-bars.html                      Welcome These Spots With a Drink             By Robert Simonson            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/24/dining/r
2023-08-24   2023-08-30 ose-shrimp-scampi-recipe.html                  Shrimp Scampi Gets a RosInfused Twist        By Eric Kim                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/dining/ Do Cocktail Glasses Have a Gender For
2023-08-25   2023-08-30 drinks/cocktail-glasses-gender.html            Some Men the Answer Is Clear                 By Becky Hughes               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/movies/ A Mexican Resort Thriller and Four More
2023-08-25   2023-08-30 international-movies-streaming.html            Picks                                        By Devika Girish              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/article/how-to-
2023-08-25   2023-08-30 make-macarons-claire-saffitz.html              A Foolproof Recipe for Precise Macarons      By Claire Saffitz             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/opinion
2023-08-27   2023-08-30 /nyc-rats-eric-adams.html                      Rats Do Run New York and Its Our Fault       By Jason MunshiSouth          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/27/us/polit
2023-08-27   2023-08-30 ics/ai-air-force.html                          Military Pilots Train to Fight Beside Robots By Eric Lipton                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/arts/mu
2023-08-28   2023-08-30 sic/florence-welch-emergency-surgery.html Singer Reveals an Emergency Surgery               By Rebecca Carballo           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/arts/mu
                        sic/rich-men-north-of-richmond-billboard-      Oliver Anthony Musics Rich Men Still Tops
2023-08-28   2023-08-30 chart.html                                     Hot 100                                      By Ben Sisario                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/busines
2023-08-28   2023-08-30 s/denmark-ozempic-wegovy.html                  Novo Nordisk Tilts GDP In Denmark            By Eshe Nelson                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/dining/
2023-08-28   2023-08-30 new-restaurants-nyc.html                       New Restaurants to Put on Your List          By Florence Fabricant         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/dining/t
                        he-fantastic-world-of-the-portuguese-
2023-08-28   2023-08-30 sardine.html                                   To Marvel Its Swimming With Sardines         By Florence Fabricant         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/opinion The Thing Is Most Republicans Really Like
2023-08-28   2023-08-30 /donald-trump-presidential-campaign.html       Trump                                        By Kristen Soltis Anderson    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/technol
                        ogy/tech-ai-regulations-listening-session-     Tech Chiefs to Meet in Washington on
2023-08-28   2023-08-30 lawmakers.html                                 Regulating AI                                By Cecilia Kang               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/realesta
                        te/kenny-parcell-resigns-national-association- President of Powerful Realtors Association
2023-08-29   2023-08-30 realtors.html                                  Resigns                                      By Debra Kamin and Anna Kod   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/arts/ro
2023-08-29   2023-08-30 ma-database-holocaust.html                     Roma Suffering Comes Into View               By Nina Siegal                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/arts/tele
2023-08-29   2023-08-30 vision/one-piece-eiichiro-oda-netflix.html     TV Series Puts a Face to the Manga           By Charles Solomon            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/busines
2023-08-29   2023-08-30 s/3m-earplug-litigation.html                   3M Settles Suit Over Earplugs Used in Battle By J Edward Moreno            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/busines
2023-08-29   2023-08-30 s/china-small-business.html                    Lifted and Crushed by China                  By Li Yuan                    TX 9-325-179   2023-10-02



                                                                                Page 5664 of 5793
                        https://www.nytimes.com/2023/08/29/busines Court Ruling Opens Door To a
2023-08-29   2023-08-30 s/cryptocurrency-grayscale-bitcoin-etf.html Cryptocurrency ETF                         By Ephrat Livni                   TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/29/busines A California Land Mystery Is Solved Now the By Conor Dougherty and Shawn
2023-08-29   2023-08-30 s/economy/california-land-solano-county.html Political Fight Begins                     Hubler                           TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/29/busines Job Openings Fell in July as Labor Market
2023-08-29   2023-08-30 s/economy/job-openings-layoffs-jolts.html    Cooled                                     By J Edward Moreno               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/29/busines Politicians Urge Scrutiny As Shein Considers
2023-08-29   2023-08-30 s/politicians-sec-shein-letter-ipo.html      IPO                                        By Jordyn Holman                 TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/29/busines Raimondo Tells Beijing US Values Trade        By Ana Swanson and Keith
2023-08-29   2023-08-30 s/us-china-raimondo-decouple-he-lifeng.html Ties                                         Bradsher                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/climate After Supreme Court Forces Its Hand EPA       By Lisa Friedman and Coral
2023-08-29   2023-08-30 /epa-wetlands-protection-rollback.html      Drops Protections for Wetlands               Davenport                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/climate Tepid Auction Might Be Sign Of Challenges
2023-08-29   2023-08-30 /gulf-mexico-wind-farm.html                 In Wind Power                                By Lisa Friedman                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/dining/
2023-08-29   2023-08-30 korean-fine-dining-restaurants-nyc.html     Fine Dinings New Guard Korean Chefs          By Pete Wells                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/health/e EBikes Leave Parents With Job of Balancing
2023-08-29   2023-08-30 bikes-teens-parents.html                    Their Fun and Danger                         By Matt Richtel                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/health/s
2023-08-29   2023-08-30 tuart-copperman-sexual-abuse.html           Former Doctor Is Told To Pay 22 Million      By Roni Caryn Rabin               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/movies/
2023-08-29   2023-08-30 venice-film-festival-what-to-watch.html     Little Star Power But Auteur Appeal          By Kyle Buchanan                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/nyregio A Toddlers Long Slow Road To Recovery
2023-08-29   2023-08-30 n/bronx-baby-shooting.html                  After a Shooting                             By Lola Fadulu and Kholood Eid TX 9-325-179      2023-10-02
                        https://www.nytimes.com/2023/08/29/nyregio Man Charged With Killing Boy 2 Who            By Hurubie Meko and Camille
2023-08-29   2023-08-30 n/brooklyn-child-death.html                 Disturbed His Sleep                          Baker                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/nyregio
                        n/family-killings-upper-west-side-          Family Killing Occurred in a Tight Circle of By Chelsia Rose Marcius and Sarah
2023-08-29   2023-08-30 superintendents.html                        Superintendents on the Upper West Side       Maslin Nir                        TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/opinion
2023-08-29   2023-08-30 /china-economy-decline.html                 How Do We Manage Chinas Decline              By Bret Stephens                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/opinion
2023-08-29   2023-08-30 /jacksonville-shooting-dollar-general.html  An American Tragedy at the Dollar General By Esau McCaulley                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/science To See a Blue Supermoon Look Tonight or in
2023-08-29   2023-08-30 /blue-supermoon.html                        2037                                         By Katrina Miller                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/sports/b Knocked Off Perch Rangers Hope To Climb
2023-08-29   2023-08-30 aseball/rangers-mets-max-scherzer.html      Back Up                                      By Tyler Kepner                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/sports/h Feud Over New Womens League Is Set to
2023-08-29   2023-08-30 ockey/pwhl-womens-hockey.html               Begin                                        By Victor Mather                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/sports/t Jabeur Struggles to Win as Her Rough Road
2023-08-29   2023-08-30 ennis/us-open-ons-jabeur.html               After Wimbledon Continues                    By David Waldstein                TX 9-325-179   2023-10-02




                                                                                Page 5665 of 5793
                        https://www.nytimes.com/2023/08/29/sports/t
2023-08-29   2023-08-30 ennis/us-open-tommy-paul.html               A Onetime Bad Boy Figures Things Out     By Matthew Futterman                TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/29/technol Metas Biggest Single Takedown Removes
2023-08-29   2023-08-30 ogy/meta-china-influence-campaign.html      Chinese Influence Push                   By Sheera Frenkel                   TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/29/technol Everybodys Talking About the New Folks In
2023-08-29   2023-08-30 ogy/solano-flannery-tech-city.html          Town and Worrying                        By Holly Secon                      TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/29/theater/
2023-08-29   2023-08-30 stratford-festival-canada-wedding-band.html Rejuvenation Energizes Stratford            By Jesse Green                   TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/29/theater/ Theaters Thrived on Subscribers Till They
2023-08-29   2023-08-30 theater-subscribers-losses.html             Quit                                        By Michael Paulson               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/29/theater/ Tina Howe Playwright Who Mixed
2023-08-29   2023-08-30 tina-howe-dead.html                         Heartache And Humor Dies at 85              By Neil Genzlinger               TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/29/us/batm
2023-08-29   2023-08-30 an-book-nobleman-georgia-school-gay.html Author Said Gay and His Talk Was Ended           By Anushka Patil               TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/29/us/flori Florida Island City in Idalias Path Has a Bad
2023-08-29   2023-08-30 da-cedar-key-hurricane-idalia.html          Feeling About This One                        By Abigail Geiger              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/29/us/maui Homes Lost Maui Struggles to Save Its
2023-08-29   2023-08-30 schools-lahaina.html                        Schools                                       By Nicholas BogelBurroughs     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/29/us/polit                                               By Erica L Green and Zolan
2023-08-29   2023-08-30 ics/biden-black-voters.html                 Biden Seeking to Ignite Black Voters Passion KannoYoungs                     TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/29/us/polit Biden Discusses Migration Challenges With
2023-08-29   2023-08-30 ics/biden-migration-costa-rica.html         Costa Rican Leader                            By Zolan KannoYoungs           TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/29/us/polit Suarez Ends 2024 Campaign After Failing to
2023-08-29   2023-08-30 ics/francis-suarez-presidential-race.html   Reach Debate                                  By Anjali Huynh                TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/29/us/polit US Names Drugs Selected to Face Price       By Sheryl Gay Stolberg and
2023-08-29   2023-08-30 ics/medicare-drug-pricing-negotiations.html Bargaining                                  Rebecca Robbins                  TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/29/us/polit GOPs No 2 In the House Says He Has Blood    By Annie Karni and Benjamin
2023-08-29   2023-08-30 ics/scalise-house-cancer-myeloma.html       Cancer                                      Mueller                          TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/29/us/polit Tennessee Session Ends in Chaos and No Gun
2023-08-29   2023-08-30 ics/tennessee-special-session-gun-control.html Laws                                        By Emily Cochrane               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/us/polit Trump Divides and Diminishes Michigan
2023-08-29   2023-08-30 ics/trump-michigan-republican-party.html       GOP                                         By Nick Corasaniti              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/us/polit Cases Against Trump Move at Different          By Glenn Thrush and Danny
2023-08-29   2023-08-30 ics/trump-prosecutors-strategy.html            Speeds                                      Hakim                           TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/us/polit
2023-08-29   2023-08-30 ics/trump-trial-date-appeal.html               Date Has Been Set Can It Be Changed         By Charlie Savage               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/us/unc-
2023-08-29   2023-08-30 chapel-hill-shooting-gunman-charges.html       UNC Student Charged In Killing of Professor By Michael Levenson             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/us/victi A Hopeful High School Graduate a Bright
2023-08-29   2023-08-30 ms-jacksonville-shooting.html                  Soul and a Doting Father                    By Nichole Manna and Anna Betts TX 9-325-179   2023-10-02




                                                                                 Page 5666 of 5793
                        https://www.nytimes.com/2023/08/29/us/wisc Falsehoods Fuel Push By GOP in Wisconsin
2023-08-29   2023-08-30 onsin-elections-republicans.html           To Oust Elections Chief                       By Neil Vigdor                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/world/a Ugandan 20 May Face Death Penalty Over
2023-08-29   2023-08-30 frica/uganda-anti-lgbtq-law-charges.html   Antigay Arrest                                By Emma Bubola                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/world/a
2023-08-29   2023-08-30 sia/china-economic-gloom.html              Beijing Dispels Economic Pain Felt on Streets By Vivian Wang                       TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/world/a Prison Term Is Suspended For ExLeader Of
2023-08-29   2023-08-30 sia/pakistan-imran-khan-appeal.html        Pakistan                                      By Christina Goldbaum                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/world/e Turmoil Over Forced Kiss Dogs Spain Soccer By Rachel Chaundler and Aaron
2023-08-29   2023-08-30 urope/luis-rubiales-spain-soccer.html      Chief                                         Boxerman                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/world/e Rumors and Misdirection Keep Crowds Away
2023-08-29   2023-08-30 urope/prigozhin-burial-rumors-russia.html  From Renegades Burial                         By Valerie Hopkins                   TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/29/world/e Totem Revered by Tribe Is Sent Back to
2023-08-29   2023-08-30 urope/totem-pole-nisga-a-nation-scotland.html Canada                                       By Emma Bubola                     TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/29/world/e Systems Glitch Will Disrupt Air Travel in UK
2023-08-29   2023-08-30 urope/uk-air-traffic-control-flight-delays.html for Days                                     By Emma Bubola                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/world/e
                        urope/ukraine-russia-kupiansk-                  Both Sides Face Puzzle Where to Put Their
2023-08-29   2023-08-30 deployment.html                                 Troops                                       By Constant Mheut                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/world/ Gangs and Gun Violence Surge in Israels
2023-08-29   2023-08-30 middleeast/israel-arab-gun-violence.html        Arab Communities                             By Isabel Kershner               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/dining/
                        standout-korean-spots-for-standbys-knife-cut-
2023-08-30   2023-08-30 noodles-and-more.html                           Delicious Korean for the BudgetMinded        By Pete Wells                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/us/trum
                        p-election-interference-georgia-harrison-       Last Defendant in Trump Election
2023-08-30   2023-08-30 floyd.html                                      Interference Case in Georgia Is Granted Bond By Richard Fausset               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/arts/des
2023-08-30   2023-08-30 ign/tubman-sculpture-philadelphia.html          Does the Race of a Tubman Sculptor Matter By Christopher Kuo                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/insider/
                        in-san-francisco-hope-for-rebirth-and-          In San Francisco Hope for Rebirth and
2023-08-30   2023-08-30 renewal.html                                    Renewal                                      By Thomas Fuller                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/06/12/well/fa Here to Help How to Have a Sexual State of
2023-06-12   2023-08-31 mily/smart-sex-emily-morse.html                 the Union                                    By Catherine Pearson             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/25/t-                                                        By Gisela Williams and Richard
2023-08-25   2023-08-31 magazine/majorca-spain-guide.html               People Places Things                         Pedaline                         TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/busines
                        s/energy-environment/electric-vehicle-          Why Plugging In Your EV May Soon
2023-08-28   2023-08-31 chargers-plugs-tesla.html                       Generate Confusion                           By Jack Ewing                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/climate A Race to Drill Baby Drill but This Time for
2023-08-28   2023-08-31 /geothermal-energy-projects.html                Clean Energy                                 By Brad Plumer                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/opinion Theres a Good Chance Trump Will Be Found
2023-08-28   2023-08-31 /trump-prosecution-free-speech.html             Willfully Blind                              By Burt Neuborne                 TX 9-325-179   2023-10-02



                                                                                  Page 5667 of 5793
                        https://www.nytimes.com/2023/08/28/style/lo Online Seduction Paid For by Suspicious
2023-08-28   2023-08-31 yalty-test-infidelity-cheating.html         Partners                                     By Gina Cherelus                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/28/style/pa They Never Took Their Eyes Off Patti
2023-08-28   2023-08-31 tti-lupone-sings-for-the-luponettes.html    LuPone                                       By Alex Vadukul                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/arts/mu
                        sic/till-lindemann-sexual-assault-
2023-08-29   2023-08-31 investigation.html                          Investigation of Rammstein Singer Is Dropped By Christopher F Schuetze         TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/29/opinion
2023-08-29   2023-08-31 /march-washington-king-randolph-rustin.html The Real Lesson of the March on Washington By Jamelle Bouie                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/style/tr
2023-08-29   2023-08-31 ump-mug-shot-marketing-merch.html           Buying and Selling the ExPresident           By Vanessa Friedman               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/29/world/a Australia Is Divided as Vote to Give Voice to
2023-08-30   2023-08-31 ustralia/voice-aboriginal-indigenous.html   Aboriginal People Looms                      By Yan Zhuang and Natasha Frost   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/arts/mu                                               By Javier C Hernndez and Robin
2023-08-30   2023-08-31 sic/henry-timms-lincoln-center.html         Its Time To Have More Fun                    Pogrebin                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/arts/mu
2023-08-30   2023-08-31 sic/speedy-ortiz-rabbit-rabbit.html         Memories Too Painful to Forget               By Jon Pareles                    TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/books/j Writing and Drawing A Love Letter to New
2023-08-30   2023-08-31 illian-tamaki-mariko-tamaki-roaming.html    York                                         By Robert Ito                     TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/busines
2023-08-30   2023-08-31 s/china-country-garden-share-sell.html      Losses Mount for Chinas Top Homebuilder By Daisuke Wakabayashi                 TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/30/busines
2023-08-30   2023-08-31 s/economy/inflation-cars-housing-prices.html Inflation Cools But Slow Pace Creates Pitfalls By Jeanna Smialek              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/busines
                        s/economy/labor-department-overtime-
2023-08-30   2023-08-31 rule.html                                    Biden Aims To Expand Overtime                  By Noam Scheiber               TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/busines Laszlo Birinyi StockPicking Guru And
2023-08-30   2023-08-31 s/laszlo-birinyi-dead.html                   Market Forecaster Dies at 79                   By Alex Traub                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/busines Sagging CNN Hires Leader With History Of By John Koblin Benjamin Mullin
2023-08-30   2023-08-31 s/media/cnn-mark-thompson-ceo.html           Upturns                                        and Katie Robertson            TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/busines
                        s/media/maui-idalia-disinformation-climate- After Summers Natural Disasters Cue the
2023-08-30   2023-08-31 change.html                                  Climate Conspiracies                           By Tiffany Hsu                 TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/busines Richard Ekstract 92 Maverick Magazine
2023-08-30   2023-08-31 s/media/richard-ekstract-dead.html           Publisher With Link to Warhol                  By Penelope Green              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/busines A Giant of Wind Energy Says Delays in the
2023-08-30   2023-08-31 s/orsted-write-down-wind-power.html          US Could Cost 2 Billion                        By Stanley Reed                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/busines New Recall for Trader Joes This Time
2023-08-30   2023-08-31 s/trader-joes-recall-tamales.html            Tainted Tamales                                By Eduardo Medina              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/dining/ Built on Rainbows an Ice Cream Sensation
2023-08-30   2023-08-31 big-gay-ice-cream-nyc.html                   Teeters Under a Cloud                          By Julia Moskin                TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/movies/ Presidential Politics a Hate Crime and
2023-08-30   2023-08-31 documentary-streaming.html                   Solitude                                       By Ben Kenigsberg              TX 9-325-179   2023-10-02



                                                                                Page 5668 of 5793
                        https://www.nytimes.com/2023/08/30/nyregio Trump Inflated Assets by 22 Billion New      By Jonah E Bromwich Ben Protess
2023-08-30   2023-08-31 n/trump-james-civil-lawsuit-trial.html      York Fraud Case Filing Says                 and William K Rashbaum          TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/30/opinion
                        /afghanistan-pullout-anniversary-
2023-08-30   2023-08-31 freedom.html                                Freedom Is a Word I No Longer Trust         By Sola Mahfouz                 TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/30/opinion Liberals on Their High Horse About Rich
2023-08-30   2023-08-31 /oliver-anthony-liberals.html               Men                                         By Nicholas Kristof             TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/30/science US Takes Legal Action to Determine Who
2023-08-30   2023-08-31 /titanic-shipwreck-lawsuit.html             Can Recover Titanics Relics                 By William J Broad              TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/30/sports/b
2023-08-30   2023-08-31 aseball/alex-cobb-giants.html               131 Pitches But One Hit Spoils Gem          By Benjamin Hoffman             TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/30/sports/t This Years Next Big Thing Could Be a
2023-08-30   2023-08-31 ennis/us-open-arthur-fils-jack-draper.html  19YearOld Frenchman                         By Matthew Futterman            TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/30/sports/t Going Behind The Curtain To See the Life Of By Jesus Jimnez and Hiroko
2023-08-30   2023-08-31 ennis/us-open-behind-the-scenes.html        a Tennis Pro                                Masuike                         TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/30/sports/t Gauff Now Something of a Veteran Shows a
2023-08-30   2023-08-31 ennis/us-open-gauff-andreeva.html           Youngster How Its Done                      By Lola Fadulu                  TX 9-325-179     2023-10-02
                        https://www.nytimes.com/2023/08/30/style/ta An Influencer Finds Her Match in a Tennis
2023-08-30   2023-08-31 ylor-fritz-morgan-riddle.html               Player                                      By Jessica Testa                TX 9-325-179     2023-10-02

                        https://www.nytimes.com/2023/08/30/style/w Visualize a HighWater Mark for a Fashion
2023-08-30   2023-08-31 et-style-water-droplet-kim-kardashian.html  Concept                                       By Erica Jean                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/technol
                        ogy/personaltech/mobile-apps-education-
2023-08-30   2023-08-31 learning.html                               Zoning Out These Apps Awaken Your Brain       By J D Biersdorfer              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/theater/
2023-08-30   2023-08-31 pay-the-writer-review.html                  A Portrait of the Artist at Different Ages    By Rhoda Feng                   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/us/cardi Former Cardinal 93 Found Unfit for Trial
2023-08-30   2023-08-31 nal-mccarrick-sexual-abuse-trial.html       Over Sexual Abuse Charges                     By Ruth Graham                  TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/us/idali Hurricane Slams Coastal Regions in West       By Patricia Mazzei and Thomas
2023-08-30   2023-08-31 a-damage-florida.html                       Florida                                       Fuller                          TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/us/polit
                        ics/abortion-birth-control-republican-
2023-08-30   2023-08-31 women.html                                  GOP Lawmakers Pivot to Birth Control          By Annie Karni                  TX 9-325-179   2023-10-02

                        https://www.nytimes.com/2023/08/30/us/polit 2 Years After a US Exit Biden Sees Zero
2023-08-30   2023-08-31 ics/biden-afghanistan-withdrawal-taliban.html Reason To Restore Any Support               By Michael Crowley              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/us/polit
                        ics/biden-medicare-drug-prices-2024-          Biden Hopes Voters Know About His
2023-08-30   2023-08-31 campaign.html                                 Successful Push To Lower Their Drug Costs   By Michael D Shear              TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/us/polit Judge Rules Giuliani Liable For Defamation
2023-08-30   2023-08-31 ics/giuliani-defamation-georgia.html          in Georgia                                  By Alan Feuer and Ben Protess   TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/30/us/polit
                        ics/jacksonville-desantis-black-              In Florida Black Allies Of DeSantis Are     By Nicholas Nehamas and Maya
2023-08-30   2023-08-31 community.html                                Scarce                                      King                            TX 9-325-179   2023-10-02



                                                                                 Page 5669 of 5793
                        https://www.nytimes.com/2023/08/30/us/polit McCarthy Warns GOP That a Shutdown          By Carl Hulse and Luke
2023-08-30   2023-08-31 ics/mccarthy-spending-shutdown.html         Would Stall Biden Impeachment Efforts       Broadwater                      TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/us/polit McConnell Freezes Up Again While Taking
2023-08-30   2023-08-31 ics/mitch-mcconnell-freeze-kentucky.html    Questions                                   By Annie Karni                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/us/polit Ramaswamys Repeated Aversion to the Facts By Neil Vigdor Jonathan Weisman
2023-08-30   2023-08-31 ics/ramaswamy-2024-lies.html                Mirrors Trumps Pattern                      and Maggie Haberman             TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/us/polit Test in New Hampshire Is Trump              By Nick Corasaniti and Jonathan
2023-08-30   2023-08-31 ics/trump-14th-amendment.html               Disqualified                                Weisman                         TX 9-325-179    2023-10-02
                                                                                                                By Reid J Epstein Maggie
                        https://www.nytimes.com/2023/08/30/us/polit Trump Could Clinch Nomination Before GOP Haberman Charlie Savage and
2023-08-30   2023-08-31 ics/trump-gop-calendar.html                 Knows if Hes a Felon                        Jonathan Swan                   TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/us/polit Focus on F16s Is Signal War Wont Be Over By Lara Jakes Eric Schmitt and
2023-08-30   2023-08-31 ics/ukraine-plane-f16.html                  Soon                                        Thomas GibbonsNeff              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/us/texa
2023-08-30   2023-08-31 s-death-star-law-court.html                 Judge Halts Law Meant to Control Cities     By J David Goodman              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/world/a Military Officers Seize Power in Gabon Hours
2023-08-30   2023-08-31 frica/gabon-coup-election.html              After a Disputed Election Win               By Declan Walsh                 TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/30/world/a
2023-08-30   2023-08-31 frica/nigeria-same-sex-wedding-arrests.html Nigerian Police Raid SameSex Wedding         By Emma Bubola                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/world/a
                        mericas/chile-military-coup-disappeared-     Chile to Search for Missing Decades After
2023-08-30   2023-08-31 search.html                                  They Vanished                               By Pascale Bonnefoy            TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/world/c In a Storied River on Vancouver Island Fish
2023-08-30   2023-08-31 anada/canada-wildfires-river-salmon.html     Are Dying in Droves                         By Norimitsu Onishi            TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/world/c Gay Canadians Warned That Some Parts of
2023-08-30   2023-08-31 anada/travel-warning-us-lgbtq.html           US May Not Be Safe to Visit                 By Ian Austen                  TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/world/e As Fires Ravage Greece European Union
2023-08-30   2023-08-31 urope/greece-fires-eu-climate.html           Crews Strengthen Front Lines                By Matina StevisGridneff       TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/world/e
                        urope/interpreter-rubiales-spain-soccer-
2023-08-30   2023-08-31 scandal.html                                 At Crossroad Scandal Can Be a Catalyst      By Amanda Taub                 TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/world/e Macron Reaches Out to His Critics but Few     By Roger Cohen and Aurelien
2023-08-30   2023-08-31 urope/macron-outreach-protests.html          Seem Interested in Talking                  Breeden                        TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/world/e
                        urope/poland-legionnaires-disease-           Legionnaires Is Blamed For 16 Deaths In
2023-08-30   2023-08-31 rzeszow.html                                 Poland                                      By Aaron Boxerman              TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/world/e
                        urope/pope-francis-american-                 Pope Says a Strong US Faction Offers A      By Jason Horowitz and Ruth
2023-08-30   2023-08-31 conservatives.html                           Backward Narrow View of the Church          Graham                         TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/30/world/e
                        urope/ukraine-russia-drone-missile-          Drones Explode Deep in Russia Kyiv Is Hit   By Andrew E Kramer and Victoria
2023-08-30   2023-08-31 attacks.html                                 Too                                         Kim                             TX 9-325-179   2023-10-02
                        https://www.nytimes.com/2023/08/31/arts/tele
2023-08-31   2023-08-31 vision/one-piece-review-netflix.html         Translation Sets Anime Adrift Again         By Mike Hale                   TX 9-325-179    2023-10-02



                                                                                Page 5670 of 5793
                        https://www.nytimes.com/2023/08/31/insider/
                        along-for-the-ride-with-no-one-behind-the-  Along for the Ride and No One Behind the       By Tripp Mickle Mike Isaac and
2023-08-31   2023-08-31 wheel.html                                  Wheel                                          Yiwen Lu                         TX 9-325-179    2023-10-02
                        https://www.nytimes.com/2023/08/31/sports/t Making an Impression at His First Grand
2023-08-31   2023-08-31 ennis/us-open-alex-michelsen.html           Slam                                           By David Waldstein               TX 9-325-179    2023-10-02

                        https://www.nytimes.com/2023/08/27/us/calif California Reconsiders Identity as Its Siren
2023-08-27   2023-09-01 ornia-population-decline-housing-crisis.html Song Fades                                    By Corina Knoll                  TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/08/29/busines                                                 By Ana Swanson and Jeanna
2023-08-29   2023-09-01 s/economy/china-us-trade-supply-chain.html Cutting Ties With China Isnt So Easy            Smialek                          TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/08/30/busines AI Copies Your Voice Then Calls Up Your
2023-08-30   2023-09-01 s/voice-deepfakes-bank-scams.html           Bank                                           By Emily Flitter and Stacy Cowley TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/health/i Women May Face Higher Risk of Stroke
2023-08-30   2023-09-01 nfertility-stroke.html                      After Treatment for Infertility Study Finds    By Roni Caryn Rabin              TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/08/30/nyregio Under Oath Combative Trump Says He              By Ben Protess Jonah E Bromwich
2023-08-30   2023-09-01 n/trump-deposition-excerpts.html            Averted Nuclear Holocaust                      and William K Rashbaum          TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/08/30/opinion Not Everything We Call Cancer Should Be         By Laura Esserman and Scott
2023-08-30   2023-09-01 /cancer-breast-prostate-treatment.html      Called Cancer                                  Eggener                         TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/08/31/arts/dav David Rowland 67 Who Won Back Looted
2023-08-31   2023-09-01 id-rowland-dead.html                        Art for Jewish Heirs Dies                      By Catherine Hickley             TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/08/31/arts/des
                        ign/forest-lawn-cemetery-crucifixion-
2023-08-31   2023-09-01 painting.html                               A Panorama Lives in an Unlikely Place          By Ethan Tate                    TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/08/31/arts/des
2023-08-31   2023-09-01 ign/frieze-seoul-second-year.html           Tapping into the potential of Asia             By Ted Loos                      TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/08/31/arts/des
2023-08-31   2023-09-01 ign/ghada-amer-frieze-seoul-bronzes.html    Spinning fury into fine art                    By Ted Loos                      TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/08/31/arts/des
2023-08-31   2023-09-01 ign/korean-experimental-art-guggenheim.html An Ephemeral Scene Thats Still Unforgettable By Andrew Russeth                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/08/31/arts/des
                        ign/korean-garments-christina-kim-
2023-08-31   2023-09-01 arumjigi.html                               Korean tradition inspires a homecoming       By Andrew Russeth                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/08/31/arts/des
                        ign/marcus-aurelius-seized-cleveland-       Bronze Antiquity Is Seized From Cleveland
2023-08-31   2023-09-01 museum.html                                 Museum                                       By Tom Mashberg                    TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/08/31/arts/des
2023-08-31   2023-09-01 ign/raja-deen-dayal.html                    Documenting Indian Royalty and British Rule By Will Heinrich                    TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/08/31/arts/des
2023-08-31   2023-09-01 ign/spora-climate-art-swiss-institute.html  Climate Crisis Taken Seriously Through Art By John Vincler                      TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/08/31/arts/mu
2023-08-31   2023-09-01 sic/john-eliot-gardiner-performances.html   Maestro Withdraws From Shows                 By Javier C Hernndez               TX 9-332-339    2023-11-02




                                                                                  Page 5671 of 5793
                        https://www.nytimes.com/2023/08/31/arts/tele
                        vision/how-much-watching-time-do-you-have-
2023-08-31   2023-09-01 this-weekend.html                            This Weekend I Have                        By Margaret Lyons                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/busines Wall Street Moguls Win Important Backer in
2023-08-31   2023-09-01 s/dealbook/sculptor-hedge-fund-sale.html     Their Fight Over Hedge Fund Sale           By Lauren Hirsch                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/busines UBS Reports Record 29 Billion Profit After
2023-08-31   2023-09-01 s/dealbook/ubs-profit-credit-suisse.html     Acquisition                                By Michael J de la Merced        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/busines Its Not Dead Yet A Gauge Of Inflation Sees a
2023-08-31   2023-09-01 s/economy/fed-inflation-july.html            Rise                                       By Jeanna Smialek                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/31/busines US and China Are Talking Again Where It          By Ana Swanson and Keith
2023-08-31   2023-09-01 s/economy/us-china-talks-gina-raimondo.html Leads Is Unclear                                Bradsher                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/busines Inflation Rate in Eurozone Is Holding Steady
2023-08-31   2023-09-01 s/europe-eurozone-inflation.html            at 53                                           By Eshe Nelson               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/busines Dutch EBike Maker Is Bought Out of
2023-08-31   2023-09-01 s/vanmoof-sale-lavoie-mclaren.html          Bankruptcy                                      By Claire Moses              TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/31/climate US Is Pumping 12 Billion Into Auto Industry
2023-08-31   2023-09-01 /biden-electric-vehicles-climate.html      for Shift To Making Electric Vehicles       By Coral Davenport                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/movies/
2023-08-31   2023-09-01 choose-love-review.html                    A RomCom With Choices To Be Made            By Claire Shaffer                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/movies/
2023-08-31   2023-09-01 fremont-review.html                        Alone and Adrift in a New World             By Beatrice Loayza                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/31/movies/
2023-08-31   2023-09-01 review-ernest-celestine-trip-to-gibberitia.html Ernest amp Celestine A Trip to Gibberitia   By Natalia Winkelman         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/movies/
                        the-equalizer-3-review-denzel-                  Back for a Third Round Of Brooding and
2023-08-31   2023-09-01 washington.html                                 Bloodshed                                   By Manohla Dargis            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/movies/
2023-08-31   2023-09-01 the-mountain-review.html                        The Mountain                                By Amy Nicholson             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/movies/
                        we-kill-for-love-review-what-they-did-in-
2023-08-31   2023-09-01 hollywoods-shadows.html                         From a Bygone Era Of Erotic Thrillers       By Ben Kenigsberg            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/nyregio As Migrant Crisis Worsens New York
2023-08-31   2023-09-01 n/migrant-messaging-nyc-adams.html              Leaders Press Biden                         By Jeffery C Mays            TX 9-332-339   2023-11-02
                                                                        Gang Member From El Salvador Pleads
                        https://www.nytimes.com/2023/08/31/nyregio Guilty in Brutal Murders of 2 Teenagers on       By Colin Moynihan and Nate
2023-08-31   2023-09-01 n/ms13-long-island-killings.html                Long Island                                 Schweber                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/opinion
2023-08-31   2023-09-01 /china-xi-jinping-policy-thrift.html            Why Is China in So Much Trouble             By Paul Krugman              TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/31/opinion The Simone Biles Victory That Redefines All
2023-08-31   2023-09-01 /culture/simone-biles-most-daring-move.html the Others                                 By Rachael Denhollander           TX 9-332-339   2023-11-02




                                                                                   Page 5672 of 5793
                        https://www.nytimes.com/2023/08/31/opinion People Are More Generous Than You May
2023-08-31   2023-09-01 /human-nature-good-bad-generous.html        Think                                        By David Brooks                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/sports/b What the NBA May Need A SoccerStyle Way
2023-08-31   2023-09-01 asketball/nba-soccer-relegation.html        to Banish the Worst Teams                    By Harvey Araton                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/sports/c A RecordBreaking Ultramarathoner Cherishes
2023-08-31   2023-09-01 ourtney-dauwalter-ultramarathon.html        the Pain Cave                                By Rebecca Byerly                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/sports/n Nebraska Fans Finally Leave The Football
2023-08-31   2023-09-01 ebraska-volleyball-record.html              Stadium Happy                                By Santul Nerkar                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/theater/
2023-08-31   2023-09-01 the-tempest-review-central-park.html        Farewells Past and Future                    By Jesse Green                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/travel/s
2023-08-31   2023-09-01 eoul-local-travel-guide.html                Eat drink and gallery hop like a Seoul local By Christy Choi                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/heat-
2023-08-31   2023-09-01 migrant-deaths-texas-mexico.html            Heat Turns Deadly for Migrants at the Border By Edgar Sandoval                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/idali Storm Leaves a Fishing Industry Feeling      By Emily Cochrane Patricia Mazzei
2023-08-31   2023-09-01 a-storm-damage-florida-big-bend.html        Fragile                                      and Jacey Fortin                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/mcc As McConnells Health Is Scrutinized
2023-08-31   2023-09-01 onnell-successor-senate-leader.html         Successors Emerge                            By Carl Hulse                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/nort
                        h-carolina-supreme-court-anita-earls-       North Carolina Justice Accuses State of
2023-08-31   2023-09-01 bias.html                                   Stifling Her Free Speech Rights              By Michael Wines                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/polit White House Tries to Close The Loophole Of
2023-08-31   2023-09-01 ics/biden-background-checks-guns.html       Gun Shows                                    By Glenn Thrush                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/polit Path Ahead If McConnell Cant Finish His
2023-08-31   2023-09-01 ics/mcconnell-freeze-resign-senate.html     Term                                         By Neil Vigdor                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/polit Senator Shares Doctors Letter Saying Hes     By Annie Karni and Benjamin
2023-08-31   2023-09-01 ics/mcconnell-letter-medically-clear.html   Medically Clear to Work                      Mueller                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/polit In Iowa Pence Extols OldSchool
2023-08-31   2023-09-01 ics/mike-pence-republicans-iowa.html        Conservatism to Dwindling Fans               By Jonathan Weisman               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/polit
                        ics/new-york-asylum-work-permits-           Ingrained Immigration Laws Stop Migrants
2023-08-31   2023-09-01 migrants.html                               From Getting Expedited Work Permits          By Eileen Sullivan                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/polit Trump Says He Knows How to Talk On
2023-08-31   2023-09-01 ics/peter-meijer-michigan-senate-race.html  Abortion                                     By Maggie Astor                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/polit
                        ics/proud-boys-joseph-biggs-sentenced-jan-
2023-08-31   2023-09-01 6.html                                      Stiff Sentences For 2 Leaders Of Proud Boys By Alan Feuer and Zach Montague TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/08/31/us/ralp Teen Who Rang Wrong Doorbell Takes The
2023-08-31   2023-09-01 h-yarl-shooting-testimony.html              Stand to Face the Man Who Shot Him           By Mitch Smith                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/tho Thomas Defends His Private Trips With
2023-08-31   2023-09-01 mas-financial-disclosures-scotus.html       Billionaire                                  By Abbie VanSickle                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/trum Trump Pleads Not Guilty in Georgia Case as By Danny Hakim and Richard
2023-08-31   2023-09-01 p-not-guilty-plea-georgia.html              He Waives His Arraignment                    Fausset                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/yale- Yales President Says He Will Step Down in
2023-08-31   2023-09-01 president-resigns-peter-salovey.html        June                                         By Stephanie Saul                 TX 9-332-339   2023-11-02



                                                                                Page 5673 of 5793
                        https://www.nytimes.com/2023/08/31/world/a Why a Swift Coup Caught Gabons Leader           By Declan Walsh and Dionne
2023-08-31   2023-09-01 frica/ali-bongo-ondimba-gabon-coup.html    OffGuard                                        Searcey                             TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/31/world/a Blaze Kills 74 In Urban Camp In South
2023-08-31   2023-09-01 frica/johannesburg-fire-derelict-building.html Africa                                      By John Eligon and Lynsey Chutel TX 9-332-339      2023-11-02

                        https://www.nytimes.com/2023/08/31/world/a Even With Blazes Cause Uncertain Clear          By Lauren Leatherby Lynsey
2023-08-31   2023-09-01 frica/johannesburg-fire-vulnerabilities.html Clues as to Why the Building Was a Firetrap   Chutel and John Eligon              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/world/a Bending Truth China Stokes Ire Against
2023-08-31   2023-09-01 sia/china-fukushima-water-protest.html       Japan                                         By Motoko Rich and John Liu         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/world/a Fire Kills 15 Inside House Used as Shop In
2023-08-31   2023-09-01 sia/philippines-manila-factory-fire.html     Philippines                                   By John Yoon and Jason Gutierrez TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/08/31/world/e This Tank Is Very Old But Ukraine Believes
2023-08-31   2023-09-01 urope/german-tank-ukraine-war.html           It Can Be Very Useful                         By Christopher F Schuetze           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/world/e
                        urope/scotland-labour-election-              Scotland May Be Springboard to Power for
2023-08-31   2023-09-01 parliament.html                              Resurgent Labour Party                        By Mark Landler                     TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/31/world/e
2023-08-31   2023-09-01 urope/uk-defense-secretary-grant-shapps.html In New UK Defense Minister a Big Shift        By Mark Landler                     TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/31/world/e Over 100 Schools Abruptly Closed As
2023-08-31   2023-09-01 urope/uk-england-schools-close-concrete.html England Sees Safety Hazards                   By Megan Specia                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/world/e
                        urope/ukraine-counteroffensive-robotyne-     Ukraine Regains Village And Its Soldiers      By Marc Santora Constant Mheut
2023-08-31   2023-09-01 verbove.html                                 Morale                                        and Eric Schmitt                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/world/ Protests in Syria Draw Comparisons to the
2023-08-31   2023-09-01 middleeast/syria-protests.html               Arab Spring Uprising                          By Raja Abdulrahim                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/insider/ A New Storm Tracker Designed Around
2023-09-01   2023-09-01 hurricane-tracker.html                       People                                        By Emmett Lindner                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/sports/t
                        ennis/us-open-one-handed-backhand-           Once Loved the OneHanded Backhand Is a
2023-09-01   2023-09-01 wawrinka.html                                Fading Shot                                   By Matthew Futterman                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/21/travel/f
                        ukuoka-japan-a-guide-to-food-and-
2023-08-21   2023-09-02 culture.html                                 A Gateway to Asia Opens Its Doors to All      By Erik Augustin Palm               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/25/travel/l Savoring Summers End at Five Country
2023-08-25   2023-09-02 ate-summer-getaways-trips.html               Getaways                                      By Stephanie Rosenbloom             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/28/busines
                        s/china-property-country-garden-
2023-08-28   2023-09-02 evergrande.html                              Developers In China Pay With IOUs             By Alexandra Stevenson              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/interactive/2023/08/                                               By Mira Rojanasakul Christopher
                        28/climate/groundwater-drying-climate-       America Is Using Up Its Groundwater Like      Flavelle Blacki Migliozzi and Eli
2023-08-28   2023-09-02 change.html                                  Theres No Tomorrow                            Murray                              TX 9-332-339   2023-11-02




                                                                                 Page 5674 of 5793
                        https://www.nytimes.com/2023/08/31/arts/des Christies Cancels Sale Connected to NaziEra
2023-08-31   2023-09-02 ign/christies-heidi-horten-sale.html        Fortune                                     By Zachary Small               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/31/arts/mu
2023-08-31   2023-09-02 sic/taylor-swift-eras-tour-concert-movie.html Taylor Swift Film in Theaters Next Month  By Joe Coscarelli              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/arts/tele
                        vision/standup-comedy-specials-               Laugh Your Way Through the Holiday
2023-08-31   2023-09-02 streaming.html                                Weekend                                   By Jason Zinoman               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/movies/
2023-08-31   2023-09-02 adam-driver-venice-film-festival.html         At Festival Adam Driver Backs Actors      By Kyle Buchanan               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/nyregio No Elevator To Subway New Yorkers Grow By Asmaa Elkeurti Ana Ley and
2023-08-31   2023-09-02 n/nyc-subway-accessible-disabled.html         Weary Of Waiting                          Juan Arredondo                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/opinion Cats Are Getting Bird Flu and We Arent
2023-08-31   2023-09-02 /bird-flu-h5n1.html                           Worrying Enough About It                  By Zeynep Tufekci              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/opinion Meadows Is a Warning About a Second
2023-08-31   2023-09-02 /mark-meadows-georgia-trump.html              Trump Term                                By Chris Whipple               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/busines Tracing Roots of Movement For a New City By Erin Griffith and Conor
2023-09-01   2023-09-02 s/california-solano-county-city.html          in California                             Dougherty                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/sports/t For Isner Its a Tough Ending to His Career
2023-09-01   2023-09-02 ennis/us-open-john-isner-retirement.html      but the Right Time to Move On             By Lola Fadulu                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/polit DeSantis Super PACs Plea We Need 50         By Jonathan Swan and Maggie
2023-09-01   2023-09-02 ics/desantis-super-pac-audio.html             Million Bucks                             Haberman                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/arts/dan
                        ce/sasha-waltz-and-guests-30th-               For 30 Years Giving Form to Feeling in
2023-09-01   2023-09-02 anniversary.html                              Berlin                                    By Roslyn Sulcas               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/arts/des                                             By Julia Halperin and Graham
2023-09-01   2023-09-02 ign/hezbollah-art-money-laundering.html       Money Laundering The Art Market Way       Bowley                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/arts/mu Her Resonantly Sad Voice Had a Life Story to
2023-09-01   2023-09-02 sic/tammy-wynette.html                        Match                                     By Lindsay Zoladz              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/busines Cable TV Model Broken A Giant of Cable
2023-09-01   2023-09-02 s/charter-disney-cable-fight.html             TV Says                                   By Benjamin Mullin             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/busines
                        s/chatbot-essays-harvard-yale-princeton-
2023-09-01   2023-09-02 dartmouth.html                                Um Lets NOT Talk About Sex                By Natasha Singer              TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/01/busines Personal Essay or Chatbot Colleges Wrestle
2023-09-01   2023-09-02 s/college-admissions-essay-ai-chatbots.html With AI                                     By Natasha Singer              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/busines Disney Changes Gears In Battle With
2023-09-01   2023-09-02 s/disney-desantis-lawsuit.html              DeSantis                                    By Brooks Barnes               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/01/busines Ripples of Hollywood Strikes Affect Other
2023-09-01   2023-09-02 s/economy/hollywood-strikes-jobs-report.html Jobs                                       By Lydia DePillis              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/busines US Job Market Cools To Status Before
2023-09-01   2023-09-02 s/economy/jobs-report-august.html            Pandemic                                   By Lydia DePillis              TX 9-332-339   2023-11-02




                                                                                Page 5675 of 5793
                        https://www.nytimes.com/2023/09/01/busines
                        s/economy/west-coast-dockworkers-
2023-09-01   2023-09-02 contract.html                              West Coast Dockworkers Ratify 6Year Deal      By Kurtis Lee           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/busines Mohamed alFayed 94 Tycoon Whose Son
2023-09-01   2023-09-02 s/mohamed-al-fayed-dead.html               Died With Diana Dies                          By Robert D McFadden    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/busines Walgreens Chief Steps Down After a Short
2023-09-01   2023-09-02 s/rosalind-brewer-walgreens.html           Tenure                                        By Jordyn Holman        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/climate As India Gets Even Warmer Groundwater Is
2023-09-01   2023-09-02 /india-groundwater-depletion.html          Imperiled                                     By Raymond Zhong        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/climate A Leaked Recording of UAE Officials
2023-09-01   2023-09-02 /uae-cop28-human-rights.html               Reveals a Focus on Public Image               By Hiroko Tabuchi       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/health/ McConnell May Be Having Small Seizures
2023-09-01   2023-09-02 mitch-mcconnell-health-seizures.html       Doctors Suggest                               By Benjamin Mueller     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/health/ Plan to Beef Up Nursing Homes Irks All
2023-09-01   2023-09-02 nursing-home-staffing-cms.html             Sides                                         By Jordan Rau           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/nyregio 52 Guards For Migrants Not Licensed
2023-09-01   2023-09-02 n/docgo-migrants-security-licenses.html    Officials Say                                 By Jay Root             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/nyregio Police Drones Will Monitor Big Crowds On
2023-09-01   2023-09-02 n/drones-labor-day-nypd.html               Labor Day                                     By Claire Fahy          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/opinion American Power Just Took a Hit Thats Not
2023-09-01   2023-09-02 /brics-expansion-america.html              Bad                                           By Sarang Shidore       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/opinion
2023-09-01   2023-09-02 /dianne-feinstein-caregiver.html           For Many of Us Feinsteins Story Is Personal   By Patti Davis          TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/01/sports/f ExTop Draft Pick Nearly Lost a Leg Then a
2023-09-01   2023-09-02 ootball/alex-smith-daughter-brain-tumor.html Daughter                                    By Jonathan Abrams      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/sports/k Death Preceded the Riot It Was Part of the
2023-09-01   2023-09-02 yrgyzstan-kok-boru-goat.html                 Game                                        By Victor Mather        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/sports/n
                        caafootball/college-football-preview-
                        realignment-big12-bigten-acc-pac12-          New College Sports Geography Puts
2023-09-01   2023-09-02 bigten.html                                  California on the Atlantic                  By Billy Witz           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/sports/s
2023-09-01   2023-09-02 ailing/flying-nikka-foils.html               The yacht that flies                        By Kimball Livingston   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/sports/s
2023-09-01   2023-09-02 ailing/maxi-yacht-rolex-cup-crews.html       Even racing yachts have pit crews           By Kimball Livingston   TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/01/sports/s
2023-09-01   2023-09-02 ailing/maxi-yacht-rolex-cup-multihulls.html Here come the catamarans                  By David Schmidt           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/sports/t Several Players Have Been Struggling With
2023-09-01   2023-09-02 ennis/us-open-players-sick.html             Illnesses                                 By Jesus Jimnez            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/technol AI Tools Might Hurt or Help When Applying
2023-09-01   2023-09-02 ogy/ai-chatbots-college-applications.html   to College                                By Natasha Singer          TX 9-332-339   2023-11-02




                                                                                Page 5676 of 5793
                        https://www.nytimes.com/2023/09/01/technol
                        ogy/child-sex-abuse-imagery-apple-safety-  In Monitoring Child Sex Abuse Apple Is
2023-09-01   2023-09-02 privacy.html                               Caught Between Safety and Privacy            By Tripp Mickle                    TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/01/technol
                        ogy/meta-instagram-facebook-ads-
2023-09-01   2023-09-02 europe.html                                Meta Weighs A Pay Model For Europe           By Mike Isaac and Adam Satariano TX 9-332-339       2023-11-02

                        https://www.nytimes.com/2023/09/01/theater/
2023-09-01   2023-09-02 penelope-musical-theater-alex-bechtel.html Bereft And Left At Home                       By Laura CollinsHughes            TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/01/theater/ From Circus Dances to Murder Whats on
2023-09-01   2023-09-02 theater-shows-september.html                Stages Nearby                               Laura CollinsHughes                TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/01/us/dane Manhunt Is Underway Outside Philadelphia By Joel Wolfram and Campbell
2023-09-01   2023-09-02 lo-cavalcante-prison-escape-philadelphia.html for an Escaped Murderer                       Robertson                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/us/haw Initial Message To Avoid Maui Now
2023-09-01   2023-09-02 aii-tourists-economy.html                     Revoked                                       By Nicholas BogelBurroughs       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/us/imm Hard Rights Border Demands Intensify
2023-09-01   2023-09-02 igration-spending-shutdown.html               Spending Standoff                             By Karoun Demirjian              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/us/polit
                        ics/dominic-pezzola-proud-boys-jan-6-         2 More Proud Boys Given Prison Time in Jan
2023-09-01   2023-09-02 sentenced.html                                6 Riot                                        By Alan Feuer and Zach Montague TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/01/us/polit Plea Deal May Be Near for One Defendant in By Charlie Savage and Carol
2023-09-01   2023-09-02 ics/guantanamo-bali-bombing.html              Bali Bombing Case                             Rosenberg                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/us/polit Illegal Entries Of Families At the Border Hit a By Zolan KannoYoungs and Eileen
2023-09-01   2023-09-02 ics/migrant-families-border-biden.html        Record                                        Sullivan                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/us/polit US Knew Last Summer That Saudis Were
2023-09-01   2023-09-02 ics/saudi-arabia-migrant-killings.html        Killing African Migrants at Border            By Edward Wong                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/us/pope-Popes Remarks on Reactionary US Catholics
2023-09-01   2023-09-02 francis-conservative.html                     Rankle and Resonate                           By Ruth Graham                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/us/texa Ruling Blocks Texas Minors From Getting
2023-09-01   2023-09-02 s-transgender-law.html                        Gender Care                                   By J David Goodman               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/world/a Vile Conditions Fueled a South African
2023-09-01   2023-09-02 frica/johannesburg-fire.html                  Firetrap                                      By John Eligon and Lynsey Chutel TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/world/a As US Officials Visit China Beijing Has Not By David Pierson Keith Bradsher
2023-09-01   2023-09-02 sia/china-us-biden-xi.html                    Reciprocated                                  and Olivia Wang                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/01/world/a Thai King Grants Pardon To Former Prime
2023-09-01   2023-09-02 sia/thailand-thaksin-shinawatra-prison.html Minister                                    By SuiLee Wee                      TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/01/world/a Qantas Sold Tickets for Routes It Never
2023-09-01   2023-09-02 ustralia/qantas-canceled-flights-lawsuit.html Intended to Fly Australian Watchdog Says By Natasha Frost                    TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/01/world/e A Macron Protg With Plans to Revive Frances
2023-09-01   2023-09-02 urope/france-politics-clement-beaune.html     CenterLeft                               By Roger Cohen                      TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/01/world/e Police Find Poets Body After Search In
2023-09-01   2023-09-02 urope/gboyega-odubanjo-dead.html              England                                  By Claire Moses                     TX 9-332-339     2023-11-02



                                                                                 Page 5677 of 5793
                        https://www.nytimes.com/2023/09/01/world/e
2023-09-01   2023-09-02 urope/paris-escooter-ban.html               Paris Outlaws Rented Electric Scooters     By Juliette GuronGabrielle      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/world/e Explaining the Battle for Kyiv to Russias
2023-09-01   2023-09-02 urope/russia-textbooks-ukraine-war.html     Teenage Students                           By Valeriya Safronova           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/world/e Fighting Has Stalled but Backing a
2023-09-01   2023-09-02 urope/ukraine-fight-negotiations.html       Negotiated End to the War Is Taboo         By Steven Erlanger              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/world/
                        middleeast/anniversary-iran-crackdown-      Iran Cracks Down as Womens Uprising
2023-09-01   2023-09-02 dissent.html                                Anniversary Nears                          By Farnaz Fassihi               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/sports/t
                        ennis/us-open-caroline-wozniacki-wawrinka- In a Land of Second Chances It Has Been a
2023-09-02   2023-09-02 svitolina.html                              Tournament of Comebacks                    By Matthew Futterman            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/sports/t Out of Nowhere A Late Bloomer Awes the
2023-09-02   2023-09-02 ennis/us-open-ben-shelton.html              Crowd                                      By Kurt Streeter                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/05/19/special-                                            By Joshua Needelman and Sasha
2023-05-19   2023-09-03 series/blacksmith-craig-kaviar-louisville.html Forging a Fine Craft in Kentucky        Arutyunova                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/06/27/books/r
                        eview/the-rachel-incident-caroline-
2023-06-27   2023-09-03 odonoghue.html                                 Early Chapters                          By Hamilton Cain                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/06/27/books/r
2023-06-27   2023-09-03 eview/the-rooster-house-victoria-belim.html Missing Pieces                             By Anya Yurchyshyn              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/07/07/books/r
2023-07-07   2023-09-03 eview/amy-rowland-inside-the-wolf.html      Giving Up the Ghost                        By Lauren LeBlanc               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/07/07/books/r
                        eview/ultra-processed-people-chris-van-
2023-07-07   2023-09-03 tulleken.html                               Junk Food Nation                           By Jacob E Gersen               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/07/09/books/r
2023-07-09   2023-09-03 eview/thunderclap-laura-cumming.html        A Life in Pictures                         By Ruth Bernard Yeazell         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/01/books/r
2023-08-01   2023-09-03 eview/edan-lepucki-times-mouth.html         Cult of Motherhood                         By Cree LeFavour                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/06/books/r
2023-08-06   2023-09-03 eview/on-wars-michael-mann.html             Peacemonger                                By Fred Kaplan                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/12/books/r
2023-08-12   2023-09-03 eview/the-bee-sting-paul-murray.html        Crisis Point                               By Jen Doll                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/16/books/r
2023-08-16   2023-09-03 eview/new-romance-books.html                Home Team                                  By Olivia Waite                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/19/style/w
                        edding-planning-extreme-weather-            Pretty Miserable Summer Weddings Climate
2023-08-19   2023-09-03 climate.html                                Challenges                                 By Britta Lokting               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/22/arts/mu
                        sic/sparklehorse-mark-linkous-bird-
2023-08-22   2023-09-03 machine.html                                An Album Once Lost Is Given New Life       By Grayson Haver Currin         TX 9-332-339   2023-11-02




                                                                                   Page 5678 of 5793
                        https://www.nytimes.com/2023/08/22/books/r
                        eview/necessary-trouble-drew-gilpin-faust-up-
2023-08-22   2023-09-03 home-ruth-simmons.html                        Climbing the Ivy                          By Martha Southgate       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/23/books/r
                        eview/yunte-huang-daughter-of-the-
2023-08-23   2023-09-03 dragon.html                                   The Cost of Glittering Fame               By Jennifer Szalai        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/23/realesta
2023-08-23   2023-09-03 te/frozen-herbs-garden-cooking.html           Prolong the Power of a Heady Harvest      By Margaret Roach         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/24/books/j
                        ames-mcbride-doesnt-read-reviews-heres-       James McBride Doesnt Read Reviews Heres
2023-08-24   2023-09-03 why.html                                      Why                                       By Elisabeth Egan         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/24/books/r
2023-08-24   2023-09-03 eview/american-literature-forgiveness.html    Forgiveness                               By Ayana Mathis           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/24/style/co
2023-08-24   2023-09-03 llege-campus-wedding.html                     Of School Ties and Vows                   By Emma Grillo            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/26/arts/jeff-
2023-08-26   2023-09-03 daniels-alive-well-enough-audio.html          How Jeff Daniels Unlocks His Creativity   By Chris Kornelis         TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/26/movies/
2023-08-26   2023-09-03 adam-sandler-sunny-sandler-bat-mitzvah.html Today You Are More or Less an Adult         By Esther Zuckerman       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/interactive/2023/08/ How to Live a Happy Life From a Leading
2023-08-27   2023-09-03 27/magazine/daniel-dennett-interview.html    Atheist                                    By David Marchese         TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/28/arts/dan
2023-08-28   2023-09-03 ce/chicago-black-dance-legacy-project.html Black Vision and Legacy in Chicago          By Emma R Cohen            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/28/books/r
                        eview/everything-nothing-someone-alice-
2023-08-28   2023-09-03 carriere.html                               Of Privilege and Pain                      By Jennifer Clement        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/28/opinion
2023-08-28   2023-09-03 /malria-polio-tb-prevention.html            We Can Eliminate These Deadly Diseases     By Richard Conniff         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/28/realesta
2023-08-28   2023-09-03 te/renters-upper-west-side.html             A Content Creator Extends Her Good Fortune By Victoria M Walker       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/28/well/mi Lisa Damour Has Some Advice on Raising
2023-08-28   2023-09-03 nd/teen-anxiety-school-lisa-damour.html     Teenagers                                  By Christina Caron         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/29/magazi
2023-08-29   2023-09-03 ne/brazilian-drum.html                      The Cuca                                   By Carolina Abbott Galvo   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/29/magazi
2023-08-29   2023-09-03 ne/ukraine-war-tennis.html                  The War on the Court                       By Michael Steinberger     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/29/nyregio
2023-08-29   2023-09-03 n/nyc-mosquitoes-west-nile.html             On the Hunt in a Mosquito Paradise         By Andy Newman             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/29/opinion What Fani Willis Got Wrong in Her Trump
2023-08-29   2023-09-03 /fani-willis-trump-indictment-georgia.html  Indictment                                 By Andrew Fleischman       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/29/realesta Giulianis Upper East Side Apartment Is for
2023-08-29   2023-09-03 te/rudy-giuliani-apartment-sale-nyc.html    Sale                                       By Anna Kod                TX 9-332-339   2023-11-02




                                                                                Page 5679 of 5793
                        https://www.nytimes.com/2023/08/29/style/us-
2023-08-29   2023-09-03 open-usta-gala-nyc.html                      Stellar Nights On the Courts             By Alyson Krueger               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/health/ Narcan Heads to Stores Heres How It Can Be
2023-08-30   2023-09-03 narcan-drug-stores.html                      Used                                     By Jan Hoffman and Noah Weiland TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/magazi
2023-08-30   2023-09-03 ne/hbo-righteous-gemstones-religion.html     Bad Faith                                By Elizabeth Nelson             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/magazi When Your Doppelganger Becomes a
2023-08-30   2023-09-03 ne/naomi-klein-doppelganger.html             Conspiracy Theorist                      By Jennifer Szalai              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/magazi A Meal in France Showed Me the Brilliance
2023-08-30   2023-09-03 ne/simple-salad-warm-cheese-recipe.html      of Simplicity                            By Ligaya Mishan                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/nyregio
                        n/coney-island-boardwalk-snakes-
2023-08-30   2023-09-03 wallaby.html                                 The Summer Of Snakes And More            By Michael Wilson               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/30/opinion                                              By Megan K Stack and Rob
2023-08-30   2023-09-03 /finucane-assassination-northern-ireland.html A Law That Ireland Doesnt Need or Want    Stothard                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/opinion
2023-08-30   2023-09-03 /how-to-accept-change.html                    Stop Resisting Change                     By Brad Stulberg              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/opinion
                        /trump-mug-shot-washington-presidential-      Trumps Mug Shot Is a Classic Presidential
2023-08-30   2023-09-03 portrait.html                                 Portrait                                  By Cara Finnegan              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/realesta A Waterfront Area Mixes Traditional and
2023-08-30   2023-09-03 te/astoria-queens-nyc-neighborhood.html       Trendy                                    By Kathleen Lynn              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/style/pe
2023-08-30   2023-09-03 t-custody-dog-cloning.html                    Custody of a Clone                        By Philip Galanes             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/style/si A Chill Hangout That Knows How to Heat
2023-08-30   2023-09-03 ngers-bar-bed-stuy.html                       Things Up                                 By Harron Walker              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/theater/
2023-08-30   2023-09-03 infinite-life-annie-baker.html                Her Precious Pauses Are Full of Meaning   By Darryn King                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/arts/des
2023-08-31   2023-09-03 ign/art-deco-advertisements-exhibit.html      Planes Trains and AvantGarde              By Eve M Kahn                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/arts/des
2023-08-31   2023-09-03 ign/plaster-design-trending.html              The Great Plaster Renaissance             By Yelena Moroz Alpert        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/arts/star                                            By Kellen Browning and Matt
2023-08-31   2023-09-03 field-bethesda-microsoft-xbox.html            On 1000 Planets High Expectations         Stevens                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/books/r
2023-08-31   2023-09-03 eview/marvel-avengers.html                    Help Wanted Superhero                     By Leigh Bardugo              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/climate
2023-08-31   2023-09-03 /new-york-hospitals-vegan-meals.html          Feeding Patients Cutting Emissions        By Cara Buckley               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/magazi The Dungeons amp Dragons Players of Death
2023-08-31   2023-09-03 ne/dungeons-dragons-death-row.html            Row                                       By Keri Blakinger             TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/31/magazi
2023-08-31   2023-09-03 ne/judge-john-hodgman-cheese-cookout.html Bonus Advice From Judge John Hodgman         By John Hodgman                TX 9-332-339   2023-11-02




                                                                               Page 5680 of 5793
                        https://www.nytimes.com/2023/08/31/magazi
                        ne/poem-from-this-energy-wasted-by-
2023-08-31   2023-09-03 flight.html                                 Poem Selected by Anne Boyer                 By Lotte LS                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/nyregio After Fox News Geraldo Rivera Sails Into the By Katherine Rosman and Lanna
2023-08-31   2023-09-03 n/geraldo-rivera-fox-erie-canal.html        Sunset                                      Apisukh                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/opinion The Real Reason Republicans Are So
2023-08-31   2023-09-03 /republican-candidates-china-russia.html    Obsessed With China                         By Peter Beinart                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/realesta
2023-08-31   2023-09-03 te/design-manuals.html                      Interior Design Advice for the Long Haul    By Alexandra Lange              TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/31/realesta
2023-08-31   2023-09-03 te/seattle-house-renovation-ship-captain.html A Norwegian House in Seattle             By Wendy Moonan                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/31/realesta
2023-08-31   2023-09-03 te/the-dirtiest-corners-of-new-york-city.html Where the Brooms Could Be Busier         By Michael Kolomatsky            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/style/de
2023-08-31   2023-09-03 sign-advice.html                              Making the Practical Pretty              By Stephen Treffinger            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/style/de
2023-08-31   2023-09-03 sign-engraving.html                           Engraving That Crosses Centuries         By Penelope Green                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/31/style/eli Elizabeth Graziolo Forges Ahead in an Open
2023-08-31   2023-09-03 zabeth-graziolo-architect-yellow-house.html Lane                                        By Jane Margolies               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/style/fu
2023-08-31   2023-09-03 ture-design-classics.html                    Classics of the Future                     By Arlene Hirst                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/31/style/mi
2023-08-31   2023-09-03 llennials-antiques-bicentennial-design.html   The Revivalists                          By Sarah Archer                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/us/nebr Why Hoof It on the Trail This Steer Rides
2023-08-31   2023-09-03 aska-watusi-bull-car.html                     Shotgun                                  By Michael Levenson              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/your- Theres Help for Revived Student Loan
2023-08-31   2023-09-03 money/student-loan-payments-resume.html Payments                                       By Tara Siegel Bernard           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/interactive/2023/08/ Lower Manhattan for Less Than 500000 A
                        31/realestate/apartment-east-village-lower-   Young Couple Knew Theyd Need to
2023-08-31   2023-09-03 east-side.html                                Compromise                               By Joyce Cohen                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/arts/mu
2023-09-01   2023-09-03 sic/emanuel-ax-piano.html                     He Wows the World if Not Himself         By David Allen                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/books/r
2023-09-01   2023-09-03 eview/big-cats-big-feelings.html              Big Cats Big Feelings                    By Matthew Cordell               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/books/r
                        eview/fly-the-big-book-of-basketball-fashion-
2023-09-01   2023-09-03 mitchell-s-jackson.html                       Court Records                            By Scoop Jackson                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/busines All That Empty Office Space Belongs to      By Emma Goldberg and Haruka
2023-09-01   2023-09-03 s/office-vacancies-gural-gfp.html             Someone                                  Sakaguchi                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/busines
2023-09-01   2023-09-03 s/roxane-gay-work-advice.html                 When a CoWorker Makes It All Up          By Roxane Gay                    TX 9-332-339   2023-11-02



                                                                                 Page 5681 of 5793
                        https://www.nytimes.com/2023/09/01/headwa Debunking the Recycling Myth Starting With
2023-09-01   2023-09-03 y/plastic-recycling-california-law.html    Its Symbol                                By Susan Shain                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/movies/ Nancy Buirski 78 Who Had Eye for Photos
2023-09-01   2023-09-03 nancy-buirski-dead.html                    And Documentary Films                     By Sam Roberts                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/01/nyregio
2023-09-01   2023-09-03 n/phyllis-graber-jensen-womens-tennis.html To Get on the Court She Went to Court        By Ginia Bellafante         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/opinion This Summer I Became the BookBanning
2023-09-01   2023-09-03 /book-ban-schools-iowa.html                 Monster of Iowa                             By Bridgette Exman          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/opinion
2023-09-01   2023-09-03 /kia-hyundai-tiktok.html                    A Crime Wave Carmakers Enabled              By Farhad Manjoo            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/opinion Partisan Politics Put A Huge Win for Public
2023-09-01   2023-09-03 /pepfar-abortion-republicans.html           Health At Risk                              By The Editorial Board      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/realesta At 80 Million the Most Expensive Closing of
2023-09-01   2023-09-03 te/central-park-south-duplex.html           the Year So Far                             By Vivian Marino            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/realesta                                             By Susan Hartman and Todd
2023-09-01   2023-09-03 te/sidewalk-vendors-brooklyn.html           A Future Staked On the Sidewalk             Heisler                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/sports/b
2023-09-01   2023-09-03 aseball/walk-off-celebrations.html          The Forgotten Man                           By David Waldstein          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/sports/f
2023-09-01   2023-09-03 ootball/gil-brandt-dead.html                Gil Brandt 91 Scout for the Dallas Cowboys By Richard Sandomir          TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/01/sports/h A Sport Facing Crisis and Decline Tries to
2023-09-01   2023-09-03 orse-racing/horse-racing-deaths-reforms.html Reform Before Its Too Late                   By Joe Drape              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/sports/s Bill Pinkney Sailor Who Rounded Five
2023-09-01   2023-09-03 ailing/bill-pinkney-dead.html                Majestic Capes Is Dead at 87                 By Penelope Green         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/style/a
                        manda-robson-vipin-chamakkala-               One Karaoke Kid Rock and a Surplus of
2023-09-01   2023-09-03 wedding.html                                 Sheryl Crows                                 By Alix Wall              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/style/el
2023-09-01   2023-09-03 orea-perfume.html                            Honoring Korean Culture Selling Perfume      By Miya Lee               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/style/je
2023-09-01   2023-09-03 nnifer-lee-sachin-jain-wedding.html          Lucky in Love but Not With Toyota Priuses    By Valeriya Safronova     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/style/m
                        aking-it-official-with-a-song-and-a-         Making It All Official With a Song and a
2023-09-01   2023-09-03 scroll.html                                  Scroll                                       By Jenny Block            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/style/m On Maui Couples Press Forward With
2023-09-01   2023-09-03 aui-weddings-wildfire.html                   Wedding Plans                                By Stephanie Cain         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/style/m
                        odern-love-drag-king-dress-and-act-like-a-
2023-09-01   2023-09-03 man.html                                     Why I Dress and Act Like a Man               By Maxine Swann           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/style/oli She Wasnt Interested Her Matchmaker
2023-09-01   2023-09-03 via-castor-austin-mcnair-wedding.html        Disagreed                                    By Anna Grace Lee         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/style/po
2023-09-01   2023-09-03 ttery-ceramics-hamptons.html                 In the Hamptons Potters Wheels by the Pool   By Alyson Krueger         TX 9-332-339   2023-11-02



                                                                                 Page 5682 of 5793
                        https://www.nytimes.com/2023/09/02/arts/jim
2023-09-02   2023-09-03 my-buffett-dead.html                        Jimmy Buffett 76 Margaritaville Singer Dies By Bill FriskicsWarren           TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/02/busines
2023-09-02   2023-09-03 s/media/montana-tiktok-ban.html             In Big Sky Country a Battle Against Big Tech By Sapna Maheshwari             TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/02/nyregio
2023-09-02   2023-09-03 n/l-jon-wertheim-sports-illustrated.html    Taking Time Out for New York                 By TM Brown                     TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/02/nyregio Swatting and Stomping in a Lanternfly
2023-09-02   2023-09-03 n/spotted-lanternfly-nyc.html               Summer                                       By Claire Fahy                  TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/02/opinion
2023-09-02   2023-09-03 /armenia-azerbaijan-nagorno-karabakh.html Are Armenians Being Ethnically Cleansed         By Nicholas Kristof              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/opinion
2023-09-02   2023-09-03 /columnists/anxiety-women-barbie.html         Anxiety In the Age Of Barbie                By Maureen Dowd                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/opinion                                                By Adam Frank and Marcelo
2023-09-02   2023-09-03 /cosmology-crisis-webb-telescope.html         The Crisis in Cosmology                     Gleiser                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/opinion
                        /i-spent-17-years-photographing-one-familys- 17 Years Photographing a Familys Grief and
2023-09-02   2023-09-03 grief-and-growth.html                         Growth                                      By Preston Gannaway              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/opinion
2023-09-02   2023-09-03 /should-right-wing-populists-despair.html     Why a RightWing Populist Gave Up            By Ross Douthat                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/opinion
                        /were-taking-new-york-citys-streets-back-and-
                        then-were-coming-for-the-rest-of-the-
2023-09-02   2023-09-03 country.html                                  Who Owns the City Streets                   By Henry Grabar                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/opinion
2023-09-02   2023-09-03 /yiddish-language-diaspora.html               Yiddish Is Having a Moment                  By Ilan Stavans                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/pageon
                        eplus/grief-and-remembrance-day-after-
2023-09-02   2023-09-03 day.html                                      Grief and Remembrance Day After Day         By David W Dunlap                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/realesta How Do I Make My Landlord Clean Our
2023-09-02   2023-09-03 te/landlord-renter-advice-cleaning.html       Messy Basement                              By Jill Terreri Ramos            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/sports/t Even the Ball Persons Have To Go Through By Talya Minsberg and Karsten
2023-09-02   2023-09-03 ennis/us-open-ball-crew.html                  Qualifying                                  Moran                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/sports/t As the Years and Drinks Roll On This Cup Is
2023-09-02   2023-09-03 ennis/us-open-honey-deuce.html                Always in Demand                            By Sara Ziegler                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/style/su
2023-09-02   2023-09-03 mmer-lazy.html                                One Final Opportunity to Be Lazy            By Steven Kurutz                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/us/ocea A Beach Town Grieves as Its Beach Washes
2023-09-02   2023-09-03 nside-california-sand.html                    Out to Sea                                  By Jill Cowan and Maggie Shannon TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/us/polit Biden Struggles to Sway Voters on the
2023-09-02   2023-09-03 ics/biden-economy-inflation-voters.html       Economy                                     By Reid J Epstein                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/us/polit In Florida Even a Hurricane Cant Sweep        By Michael D Shear and Nicholas
2023-09-02   2023-09-03 ics/biden-florida-idalia-desantis.html        Away Presidential Politics                  Nehamas                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/world/a                                                By John Eligon Lynsey Chutel and
2023-09-02   2023-09-03 frica/south-africa-fire-cause.html            Officials Knew Bad Building Before the Fire Jeffrey Gettleman                TX 9-332-339   2023-11-02



                                                                                Page 5683 of 5793
                        https://www.nytimes.com/2023/09/02/world/a
                        mericas/mexico-iguala-students-            Texts Tie Cartel and Police to Student        By Natalie Kitroeff and Ronen
2023-09-02   2023-09-03 kidnapping.html                            Massacre                                      Bergman                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/world/a Crackdown Could Put an End to Democracy
2023-09-02   2023-09-03 sia/bangladesh-democracy-election.html     in Bangladesh                                 By Mujib Mashal and Atul Loke      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/world/a Nation of Few Catholics Grandly Welcomes
2023-09-02   2023-09-03 sia/pope-francis-mongolia.html             Pope                                          By Jason Horowitz                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/02/world/e Russia Says It Thwarted Night Attack On
2023-09-02   2023-09-03 urope/russia-ukraine-kerch-strait-bridge.html Bridge                                     By Marc Santora                    TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/02/world/e
2023-09-02   2023-09-03 urope/ukraine-russia-counteroffensive.html House by House Village by Village              By Marc Santora and Tyler Hicks   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/world/ Jordan Is Backsliding On Freedoms Critics
2023-09-02   2023-09-03 middleeast/free-speech-jordan.html           Say                                          By Aaron Boxerman                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/us/burn Thousands Stuck at Burning Man As Rainfall
2023-09-03   2023-09-03 ing-man-storm-flood-mud.html                 Turns Desert Into Mud                        By Orlando Mayorquin              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/busines UAW and Big 3 Face Sizable Gap To Avoid a
2023-09-03   2023-09-03 s/economy/uaw-autoworkers-strike.html        Strike                                       By Neal E Boudette                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/insider/
2023-09-03   2023-09-03 venezuela-collapse.html                      In Venezuela a Mission Amid Heartbreak       By Adriana Loureiro Fernandez     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/style/ya-
2023-09-03   2023-09-03 authors-utah-mormon.html                     The Real YA Writers of Provo Utah            By Abby Aguirre                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/us/maui Maui Evacuation Alert Shows Limits of a        By Mike Baker Sergio Olmos and
2023-09-03   2023-09-03 wildfires-emergency-alerts.html              Warning System Dependent on Cellphones       Eileen Sullivan                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/world/e Social Media Magnifies Cultural Rifts
2023-09-03   2023-09-03 urope/italy-rape-women-violence.html         Exposed By Rape Cases in Italy               By Gaia Pianigiani                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/09/busines Job Hopping Looks Bad on the Rsum Gen Z
2023-08-09   2023-09-04 s/job-hopping-young-workers-gen-z.html       Doesnt Care                                  By Eilene Zimmerman               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/17/books/s Kennedy Scions Publisher Has a Zest for
2023-08-17   2023-09-04 kyhorse-robert-kennedy-jr-president.html     Conspiracy                                   By Elizabeth A Harris             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/29/opinion Sending People to Jail for Using Drugs
2023-08-29   2023-09-04 /arrest-drug-treatment-addiction.html        Doesnt Help                                  By Maia Szalavitz                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/29/sports/t
                        he-mountain-will-make-cowards-out-of-all-of-
2023-08-29   2023-09-04 us.html                                      100 Miles That Offer Little Joy In Leadville By Anna Katherine Clemmons        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/29/technol AI Revolution Is Coming Just When Is Hard
2023-08-29   2023-09-04 ogy/ai-revolution-time.html                  to Say                                       By Steve Lohr                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/busines Women Trace Struggles With Money to
2023-08-30   2023-09-04 s/women-adhd-money.html                      ADHD                                         By Paulette Perhach               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/books/j
2023-08-31   2023-09-04 ohn-green-books-ban-indiana.html             Author as Conscript in the BookBan War       By Alexandra Alter                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/nyregio Players on Court 17 Smell Something Out of By Erin Nolan and Joshua
2023-08-31   2023-09-04 n/weed-smell-us-open.html                    Place The Odor of Marijuana                  Needelman                         TX 9-332-339   2023-11-02




                                                                                 Page 5684 of 5793
                        https://www.nytimes.com/2023/08/31/obituari Overlooked No More Chick Strand Pioneering
2023-08-31   2023-09-04 es/chick-strand-overlooked.html              Experimental Filmmaker                    By Sean Malin                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/style/le
2023-09-01   2023-09-04 gacy-design-brands.html                      Keeping it in the family                  By Stephen Treffinger           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/arts/brit Scandal Adds to Woes Facing the British
2023-09-01   2023-09-04 ish-museum-thefts.html                       Museum                                    By Alex Marshall                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/arts/mu                                             By Jon Pareles Giovanni
2023-09-01   2023-09-04 sic/playlist-doja-cat-nicki-minaj.html       Doja Cats Horror Pop And 10 Other Songs   Russonello and Lindsay Zoladz   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/arts/the- Taking a Cue From Harlem Renaissance
2023-09-01   2023-09-04 conversations-project.html                   Salons                                    By Christopher Kuo              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/books/s
                        ergio-ramirez-dead-men-cast-no-              A Novelist Betrayed By What He Helped
2023-09-01   2023-09-04 shadows.html                                 Build                                     By Benjamin P Russell           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/movies/
                        emma-stone-poor-things-venice-film-          The Brain Swap Worked but There Are Some
2023-09-01   2023-09-04 festival.html                                Kinks                                     By Kyle Buchanan                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/realesta
2023-09-01   2023-09-04 te/puglia-italy-farmhouse-renovation.html    Falling in love with Puglia               By Stephen Wallis               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/theater/ Franne Lee Tony Winner Who Also
2023-09-01   2023-09-04 franne-lee-dead.html                         Costumed Coneheads Dies at 81             By Neil Genzlinger              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/us/takiy Released Video Shows Black Woman in Ohio
2023-09-01   2023-09-04 a-young-ohio-police-shooting.html            Being Killed by Officer                   By Michael Levenson             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/arts/mu
2023-09-02   2023-09-04 sic/jimmy-buffett.html                       Rendering More Than Beaches And Booze By Jon Pareles                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/busines TV Viewers Left in Dark By Squabble With
2023-09-02   2023-09-04 s/comcast-disney-spectrum-espn.html          Disney                                    By Benjamin Mullin              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/busines
                        s/dealbook/weight-loss-drugs-diet-companies- Disruptive Power of Weight Loss Drugs Is  By Vivienne Walt and Lauren
2023-09-02   2023-09-04 ozempic.html                                 Rippling Through Other Industries         Hirsch                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/sports/t His Students Include Agassi Roddick Gauff
2023-09-02   2023-09-04 ennis/us-open-coco-gauff-brad-gilbert.html and Zendaya                                 By Matthew Futterman            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/us/jim
2023-09-02   2023-09-04 my-buffett-tributes-key-west.html            In Key West Buffetts Muse Tributes Abound By Nancy Klingener              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/us/lake- Ship That Sank in 1881 Is Nearly Intact in
2023-09-02   2023-09-04 michigan-trinidad-shipwreck.html             Lake Michigan                             By Orlando Mayorquin            TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/02/us/polit For Politicians Vacations Are Mostly Work
2023-09-02   2023-09-04 ics/2024-campaign-labor-day-vacation.html and Almost No Play                           By Rebecca Davis OBrien         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/us/polit Biden on Attack As GOP Talks Of
2023-09-02   2023-09-04 ics/biden-impeachment-defense.html          Impeaching                                 By Peter Baker                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/us/polit Bill Richardson Champion of Americans Held
2023-09-02   2023-09-04 ics/bill-richardson-dead.html               Overseas Is Dead at 75                     By Sam Roberts                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/us/polit When Officials Balked The Dictator
2023-09-02   2023-09-04 ics/bill-richardson-dictators.html          Whisperer Reveled in Negotiations          By Michael Crowley              TX 9-332-339   2023-11-02




                                                                               Page 5685 of 5793
                        https://www.nytimes.com/2023/09/02/world/a Seeing Threats Everywhere China Enlists
2023-09-02   2023-09-04 sia/china-spies-campaign.html                 Public as Spy Catchers                      By Vivian Wang                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/02/nyregio Judge Voids Convictions In Broadcast Bribe     By Hurubie Meko and Ken
2023-09-03   2023-09-04 n/fox-employee-soccer-deal-bribes.html        Case                                        Bensinger                       TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/03/crossw
2023-09-03   2023-09-04 ords/daily-puzzle-2023-09-04.html             A Crossword That Reaches New Heights        By Sam Corbin                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/03/nyregio As Asylum Seekers Land In New York
2023-09-03   2023-09-04 n/migrants-house-races-ny.html                Politicians Make Them the Focus             By Nicholas Fandos              TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/03/opinion
                        /climate-change-summer-vacation-greece-
2023-09-03   2023-09-04 rhodes-maui.html                              Sunset for the SunSeeking Summer Vacation   By Henry Wismayer               TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/03/opinion
                        /international-world/russia-prigozhin-wagner- Prigozhins Real Legacy The Mercenary
2023-09-03   2023-09-04 mercenaries.html                              Blueprint                                   By Sean McFate                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/03/opinion
2023-09-03   2023-09-04 /porn-ban-kids.html                           Ban Online Porn for Kids                    By David French                 TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/03/sports/t
2023-09-03   2023-09-04 ennis/us-open-tiafoe-paul-fritz-shelton.html Fourth of July No Sept 3                     By Matthew Futterman            TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/03/theater/ After the New Ohio Theater A Leap Into the
2023-09-03   2023-09-04 new-ohio-theater-robert-lyons-interview.html Next Unknown                                 By Laura CollinsHughes           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/us/burn                                                By FinnOlaf Jones Anna Betts and
2023-09-03   2023-09-04 ing-man-death-rain-mud.html                  Muck Danger And Partying In the Desert       Amanda Holpuch                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/us/clust American Lives Forever Changed by a
2023-09-03   2023-09-04 er-weapons-ukraine-troops.html               Weapon Being Sent to Ukraine                 By John Ismay                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/03/us/polit Meet Mississippis First Openly LGBTQ
2023-09-03   2023-09-04 ics/fabian-nelson-mississippi-lgbtq.html     Lawmaker                                     By Maggie Astor                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/03/us/polit
                        ics/florida-congressional-map-black-voters- Florida Map Diminishes Black Vote Judge
2023-09-03   2023-09-04 desantis.html                                Rules                                        By Maggie Astor                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/03/us/polit
                        ics/vivek-ramaswamy-new-hampshire-           New Hampshire GOP Voters Like
2023-09-03   2023-09-04 2024.html                                    Ramaswamy but More as a No 2                 By Anjali Huynh                 TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/03/world/a Rebutting US South Africa Says Inquiry
2023-09-03   2023-09-04 frica/south-african-inquiry-russia-ship.html Finds Arms Werent Put on Russian Ship        By John Eligon and Lynsey Chutel TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/world/e A Plunge Into a Public Pool Is a Dive Into the
2023-09-03   2023-09-04 urope/paris-france-swimming-pools.html       French Psyche                                By Catherine Porter              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/world/e For Ukrainians Leveling of a Dam Has           By Jeffrey Gettleman and Finbarr
2023-09-03   2023-09-04 urope/ukraine-dam-flooding-damage.html       Unleashed Suffering That Has Lingered        OReilly                          TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/03/world/e Ukraine Removes Chief of Military As War
2023-09-03   2023-09-04 urope/zelensky-ukraine-defense-minister.html Drags On                                     By Andrew E Kramer              TX 9-332-339    2023-11-02




                                                                                 Page 5686 of 5793
                        https://www.nytimes.com/2023/09/03/world/
                        middleeast/netanyahu-deportations-eritreans- Netanyahu Wants Immigrants Expelled After By Patrick Kingsley and Abdi Latif
2023-09-03   2023-09-04 clash.html                                   Clash Between Groups of Eritreans           Dahir                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/world/
                        middleeast/saudi-death-sentence-social-      Saudis Sentence Dissidents Brother To Death
2023-09-03   2023-09-04 media.html                                   for Posts on Social Media                   By Vivian Nereim                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/world/ As Turkey Struggles Womens Volleyball          By Ben Hubbard and Gulsin
2023-09-03   2023-09-04 middleeast/turkey-womens-volleyball.html     Team Provides a Point of Pride              Harman                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/arts/tele
                        vision/whats-on-tv-this-week-minx-and-office-
2023-09-04   2023-09-04 race.html                                    This Week on TV                             By Shivani Gonzalez              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/nyregio Over 100 State Troopers In Connecticut
2023-09-04   2023-09-04 n/connecticut-false-tickets.html             Accused Of Faking Traffic Stops             By Amelia Nierenberg             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/nyregio Delivery Workers Can Trade In Dangerous
2023-09-04   2023-09-04 n/ebike-trade-in-lithium-batteries-nyc.html  EBikes Why Arent They                       By Winnie Hu                     TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/04/sports/h A Curtain Call for Summers Most Important   By Cindy Schultz and Victor
2023-09-04   2023-09-04 orse-racing/saratoga-horse-racing-track.html Meet                                       Mather                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/world/a A Revival of ProMilitary Music Supplies a
2023-09-04   2023-09-04 frica/niger-coup-music-videos.html           Soundtrack for the Coup in Niger           By Elian Peltier and Sarah Kerr   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/e
                        urope/earthquake-sensors-are-helping-
                        document-russian-bombings-in-new-            Measuring War Russian Barrage Set Off a
2023-09-05   2023-09-04 detail.html                                  Thousand Tiny Earthquakes                  By James Glanz and Josh Holder    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/18/science Solar Skyjacker In the Case of Neptunes
2023-08-18   2023-09-05 /neptune-clouds-sun.html                     Missing Clouds Theres One Clear Suspect    By Robin George Andrews           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/18/science Punctuation in Space Astronomys Biggest
                        /space/question-mark-space-webb-             Question Mark Its Between All Those
2023-08-18   2023-09-05 telescope.html                               Asterisks                                  By Dennis Overbye                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/22/science An Undying Vision Hogfish See With Their
2023-08-22   2023-09-05 /hogfish-skin-camouflage-dead.html           Skin Even After Theyre Dead                By Elizabeth Anne Brown           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/22/travel/j New Regulations Are Leaving Disabled
2023-08-22   2023-09-05 etblue-service-animal-dot-open-form.html     Travelers Stranded                         By Debra Kamin                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/23/busines
2023-08-23   2023-09-05 s/kohei-saito-degrowth-communism.html        A Marxist Best Seller Makes the Case       By Ben Dooley and Hisako Ueno     TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/23/well/liv
2023-08-23   2023-09-05 e/menopause-symptoms-women-of-color.html How Menopause Affects Women of Color          By Alisha Haridasani Gupta         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/24/science
2023-08-24   2023-09-05 /crocodile-dictionary-vocalizations.html    Dictionary Could Offer So Much to Chew On By Anthony Ham                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/25/health/c
2023-08-25   2023-09-05 ancer-microbes-debate.html                  Lively Debate About Microbes and Cancer    By Carl Zimmer                     TX 9-332-339   2023-11-02
                                                                    Life Assurance Plan This Geckos Camouflage
                        https://www.nytimes.com/2023/08/25/science Is So Good It Masqueraded as Another
2023-08-25   2023-09-05 /gecko-camouflage-tree-bark.html            Species                                    By Sofia Quaglia                   TX 9-332-339   2023-11-02



                                                                               Page 5687 of 5793
                        https://www.nytimes.com/2023/08/25/well/liv
                        e/rsv-vaccines-health-insurance-
2023-08-25   2023-09-05 medicare.html                                   Big Charge For Shots                         By Dana G Smith                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/28/sports/t Tiafoe Electrifies His Sport but Tries To Stay
2023-08-28   2023-09-05 ennis/frances-tiafoe-us-open.html               Grounded                                     By Lulu GarciaNavarro             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/28/us/calif Teens Hate and What Lurks Beneath the
2023-08-28   2023-09-05 ornia-instagram-bay-area.html                   Surface                                      By Soumya Karlamangla             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/28/well/mi
                        nd/insomnia-cognitive-behavioral-
2023-08-28   2023-09-05 therapy.html                                    Help for Insomnia No Pills Needed            By Christina Caron                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/29/well/eat Does Blending Fruit in a Smoothie Affect Its
2023-08-29   2023-09-05 /smoothies-blending-fruit-nutrients.html        Nutrients                                    By Alice Callahan                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/29/well/liv
2023-08-29   2023-09-05 e/covid-masks-guidance.html                     Masking Correctly                            By Dani Blum                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/realesta
2023-08-30   2023-09-05 te/paris-cities-neighbors.html                  Fostering Community Through Cheese           By Peter Yeung                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/science
2023-08-30   2023-09-05 /birds-flu-antarctica.html                      Avian Flu Might Head To Antarctica Next      By Emily Anthes                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/us/polit OcasioCortez Reflects On Her Evolution
2023-08-30   2023-09-05 ics/aoc-third-term-congress.html                Politically and Personally                   By Lulu GarciaNavarro             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/well/m In an Artful Workout for Aging Bodies              By Dorie Chevlen and Magdalena
2023-08-30   2023-09-05 ove/ballet-workout-aging.html                   Failure Is an Option                         Wosinska                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/movies/
                        maestro-bradley-cooper-venice-film-
2023-09-02   2023-09-05 festival.html                                   Billing Maestro as a Love Story Not a Biopic By Kyle Buchanan                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/arts/des
                        ign/manhattan-prosecutors-seize-3rd-century-
2023-09-03   2023-09-05 bust.html                                       Officials Seize Statue Valued At 5 Million   By Tom Mashberg                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/health/l
2023-09-03   2023-09-05 ong-covid-seniors.html                          Long Covids Dangers to Seniors               By Paula Span                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/movies/
2023-09-03   2023-09-05 nudity-onscreen-idol-oppenheimer.html           Nude Scenes Deconstructed                    By Maya Phillips                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/theater/
2023-09-04   2023-09-05 lea-michele-funny-girl.html                     Taking Her Bow A Star Basks In the Glow By Julia Jacobs                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/arts/des
                        ign/a-painting-looted-at-least-once-from-hitler
2023-09-04   2023-09-05 is-on-the-block.html                            A Paintings Murky Past Snarls an Auction     By Catherine Hickley              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/arts/des
2023-09-04   2023-09-05 ign/irving-blum-roy-lichtenstein.html           Roy Lichtensteins Biggest Fan                By Robin Pogrebin                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/arts/mu
                        sic/steve-harwell-smash-mouth-all-star-         Steve Harwell 56 Former Lead Singer Of
2023-09-04   2023-09-05 dead.html                                       Smash Mouth Dies                             By Claire Moses and Ben Sisario   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/books/e Edith Grossman Who Elevated The Art of
2023-09-04   2023-09-05 dith-grossman-dead.html                         Translation Dies at 87                       By Rebecca Chace                  TX 9-332-339   2023-11-02




                                                                                  Page 5688 of 5793
                        https://www.nytimes.com/2023/09/04/busines Gains by Black Workers Face Limits Study
2023-09-04   2023-09-05 s/black-workers-education-segregation.html Says                                         By Steve Lohr                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/busines                                              By Daisuke Wakabayashi and
2023-09-04   2023-09-05 s/china-country-garden-debt-crisis.html     In China Crisis Strikes Homebuilder         Claire Fu                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/busines
2023-09-04   2023-09-05 s/media/sag-aftra-strike-telluride.html     Telluride Goes On With Strike Caveats       By Nicole Sperling              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/climate Invasive Species Are Costing The Global
2023-09-04   2023-09-05 /invasive-species-cost-ipbes.html           Economy Billions                            By Manuela Andreoni             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/nyregio
                        n/west-indian-day-parade-carnival-jouvert-  West Indian Festival Marks Summers End      By Amelia Nierenberg and Nate
2023-09-04   2023-09-05 brooklyn.html                               And Celebrates Heritage                     Schweber                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/opinion
2023-09-04   2023-09-05 /college-students-school-work.html          College Is Not a Job Thats the Whole Point By Jonathan Malesic              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/opinion
                        /columnists/naomi-klein-wolf-               Naomi Klein Naomi Wolf And the Political
2023-09-04   2023-09-05 doppelganger.html                           Upside Down                                 By Michelle Goldberg            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/opinion Will Tensions With China Make Movies Less
2023-09-04   2023-09-05 /contributors/china-american-movies.html    Fun                                         By Kaj Larsen                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/opinion I Put My Money on the Weeping Mothers at
2023-09-04   2023-09-05 /tennesse-republicans-guns.html             the Tennessee State Capitol                 By Margaret Renkl               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/science
                        /astronomy-holmdel-antenna-                                                             By Dennis Overbye and Hiroko
2023-09-04   2023-09-05 microwaves.html                              Where The Universe Began                   Masuike                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/science As Cities Swelter Wildlife Cameras Capture
2023-09-04   2023-09-05 /cities-wildlife-climate-change.html        Declining Diversity                         By Emily Anthes                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/sports/b
                        aseball/julio-urias-dodgers-pitcher-arrest- Dodgers Urias Is Charged With Domestic
2023-09-04   2023-09-05 domestic-violence.html                      Violence Felony                             By Livia AlbeckRipka            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/sports/t Alcaraz Halts an Italians Jaunt Through the
2023-09-04   2023-09-05 ennis/us-open-alcaraz-arnaldi.html          Draw                                        By Matthew Futterman            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/sports/t
2023-09-04   2023-09-05 ennis/us-open-frances-tiafoe-shirt.html     Tiafoes Wins Pile Up So Does His Laundry By Jesus Jimnez                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/sports/t Keys to Gauffs Quarterfinal Clash With the
2023-09-04   2023-09-05 ennis/us-open-gauff-ostapenko.html          Powerful Ostapenko                          By Lola Fadulu                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/sports/t Swiatek Will Surrender Top Ranking After
2023-09-04   2023-09-05 ennis/us-open-swiatek-loss.html             Flaming Out in Fourth Round                 By Jesus Jimnez                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/sports/t Two of the Three Remaining US Men Meet in
2023-09-04   2023-09-05 ennis/us-open-tiafoe-shelton-fritz.html     the Quarters                                By Jesus Jimnez                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/technol Douglas Lenat 72 His Lifes Work Was Trying
2023-09-04   2023-09-05 ogy/douglas-lenat-dead.html                 to Make AI More Human                       By Cade Metz                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/upshot/ Ground Floors Offer Window Into Troubles
2023-09-04   2023-09-05 cities-downtowns-vacant-storefronts.html    of City Centers                             By Emily Badger                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/us/burn Muddy Exodus From Burning Man Festival By FinnOlaf Jones Jack Healy and
2023-09-04   2023-09-05 ing-man-festival-rain-mud-updates.html      Finally Gets Underway                       Derrick Bryson Taylor           TX 9-332-339   2023-11-02



                                                                              Page 5689 of 5793
                        https://www.nytimes.com/2023/09/04/us/ken-
                        paxton-impeachment-conservative-            Bid to Impeach In Texas Incites GOP
2023-09-04   2023-09-05 lobbying.html                               Division                                    By J David Goodman                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/us/leo- FBI Releases New Images Of Old Suspect In
2023-09-04   2023-09-05 burt-fbi-bomber.html                        Bombing                                     By Livia AlbeckRipka              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/us/mari Marilyn Lovell 93 She Lived in the Spotlight
2023-09-04   2023-09-05 lyn-lovell-dead.html                        as an Apollo 13 Astronauts Wife             By Alex Traub                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/us/polit
                        ics/putin-kim-meeting-russia-north-korea-   Putin Will Host N Korea Leader To Seek      By Edward Wong and Julian E
2023-09-04   2023-09-05 weapons.html                                Weapons                                     Barnes                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/us/polit As Threats Evolve the Navy Struggles to
2023-09-04   2023-09-05 ics/us-navy-ships.html                      Change                                      By Eric Lipton                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/world/a Xi Is Expected to Skip G20 Summit Snubbing
2023-09-04   2023-09-05 sia/china-g20-xi-snub.html                  India                                       By David Pierson and Sameer Yasir TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/04/world/e Nominees Background Is Finance Not           By Andrew E Kramer and Anushka
2023-09-04   2023-09-05 urope/defense-umerov-zelensky-ukraine.html Military                                     Patil                           TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/04/world/e Prigozhin Ally Who Vanished After Mutiny     By Paul Sonne Anatoly Kurmanaev
2023-09-04   2023-09-05 urope/general-sergei-surovikin-russia.html Reemerges                                    and Julian E Barnes             TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/04/world/e
                        urope/iran-sweden-prisoners-johan-
2023-09-04   2023-09-05 floderus.html                              Iran Holding EU Official From Sweden         By Matina StevisGridneff          TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/04/world/e
2023-09-04   2023-09-05 urope/paul-mccartneys-lost-bass-guitar.html Hunt Is On for McCartneys Missing Guitar      By Isabella Kwai                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/world/e
2023-09-04   2023-09-05 urope/pope-china-mongolia.html              Hoping for Inroads Pope Gives China Leeway By Jason Horowitz                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/world/e Erdogan and Putin Meet Reaffirming Friendly
2023-09-04   2023-09-05 urope/putin-erdogan-ukraine-grain.html      Ties                                          By Ben Hubbard and Paul Sonne   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/world/e
                        urope/spain-blackouts-illegal-marijuana-    Blackouts Pit a Utility Against Residents and
2023-09-04   2023-09-05 farms.html                                  Pot Farms                                     By Constant Mheut               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/world/e In Crisis Over Unsafe British Schools
2023-09-04   2023-09-05 urope/sunak-uk-schools-concrete.html        ExOfficial Pins the Blame on Sunak            By Mark Landler                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/world/e
                        urope/uk-rishi-sunak-conservatives-         Britains Conservatives Embrace Divisive
2023-09-04   2023-09-05 labour.html                                 Politics as Election Looms                    By Mark Landler                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/world/e
                        urope/ukraine-military-spending-            Graft Continues to Be a Fight and a Headache
2023-09-04   2023-09-05 corruption.html                             for Ukraine                                   By Andrew E Kramer              TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/04/sports/t
2023-09-05   2023-09-05 ennis/us-open-coco-gauff-quarterfinals.html Rising Royalty in Queens                    By Matthew Futterman              TX 9-332-339   2023-11-02




                                                                                Page 5690 of 5793
                        https://www.nytimes.com/2023/09/04/us/polit
                        ics/peter-navarro-trial-contempt-congress-jan- Navarro Who Tried to Keep Trump in Office
2023-09-05   2023-09-05 6.html                                         Faces Trial Over Defying Jan 6 Panel      By Zach Montague               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/05/science
2023-09-05   2023-09-05 /archaeology-burial-vampires-revenants.html An Ancient Corpse Locked to Its Grave       By Franz Lidz                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/us/polit A House Seat Is Open in Rhode Island and 11
2023-09-05   2023-09-05 ics/rhode-island-democrats-cicilline.html   Democrats Want the Job                      By Kayla Guo                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/e
                        urope/chinese-automakers-iaa-mobility-
2023-09-05   2023-09-05 german-auto-show.html                       In Munich Chinas Cars Outperform Germanys By Melissa Eddy                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/
                        middleeast/saudi-arabia-israel-talks-       As Saudis Consider a Deal With Israel       By Patrick Kingsley and Aaron
2023-09-05   2023-09-05 palestinians.html                           Palestinians Seek Sway in Talks             Boxerman                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/11/well/liv Here to Help How to Stop Committing to
2023-08-11   2023-09-06 e/events-scheduling-commitments.html        Events You Dont Want to Attend              By Jancee Dunn                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/arts/mu Ray Hildebrand 82 Who Sang Of Longing on
2023-08-30   2023-09-06 sic/ray-hildebrand-dead.html                Hey Paula Dies                              By Richard Sandomir             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/dining/
2023-08-31   2023-09-06 drinks/red-or-white-wine-spectrum.html      Wines Complicated Color Wheel               By Eric Asimov                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/world/c Keith Spicer 89 Backer Of 2 Canadian
2023-08-31   2023-09-06 anada/keith-spicer-dead.html                Tongues Who Rarely Held His                 By Sam Roberts                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/arts/des Norman Pfeiffer 82 Architect Who Enriched
2023-09-01   2023-09-06 ign/norman-pfeiffer-dead.html               Civic Life in LA and New York               By Sam Roberts                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/dining/i
2023-09-01   2023-09-06 talian-inspired-recipes.html                Garden Gifts With Mediterranean Flair       By David Tanis                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/dining/
2023-09-01   2023-09-06 summery-tomato-pasta-recipe-for-fall.html   Let Your Oven Make an Easy Pasta Sauce      By Alexa Weibel                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/02/busines When One Person Harbors Opposing Ideas of
2023-09-02   2023-09-06 s/iranian-americans-education-money.html     Success                                       By Sara Murphy               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/dining/
2023-09-02   2023-09-06 private-chefs-tiktok-instagram.html          Lonely at the Top                             By Amelia Nierenberg         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/sports/n
2023-09-02   2023-09-06 ew-zealand-rugby-world-cup.html              New Zealand is trying to shake off its losses By Pete McKenzie             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/sports/r
                        ugby/joy-neville-referee-rugby-world-
2023-09-02   2023-09-06 cup.html                                     A groundbreaking referee is there on merit    By Remy Tumin                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/sports/r
2023-09-02   2023-09-06 ugby/rugby-world-cup-pools.html              A tough draw for the favorites                By Joe Ritchie               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/sports/r
2023-09-02   2023-09-06 ugby/wales-rugby-world-cup.html              Turmoil takes its toll on Welsh rugby         By Jack Williams             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/movies/
                        david-fincher-michael-fassbender-the-killer-
2023-09-03   2023-09-06 venice-film-festival.html                    This Filmmaker Was Going for Dorky            By Kyle Buchanan             TX 9-332-339   2023-11-02



                                                                                 Page 5691 of 5793
                        https://www.nytimes.com/2023/09/03/nyregio It May Look Like A Furniture Shop But Its a
2023-09-03   2023-09-06 n/rosini-furniture-service-tennis-history.html Museum                                   By Corey Kilgannon              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/theater/ Nathan Louis Jackson Incisive Writer for
2023-09-03   2023-09-06 nathan-louis-jackson-dead.html                 Theater and TV Dies at 44                By Richard Sandomir             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/arts/mu
2023-09-04   2023-09-06 sic/folk-implosion-kids-soundtrack.html        Bringing Back the Sounds of Kids         By Jeremy Gordon                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/arts/mu
                        sic/jimmy-buffett-merkel-cell-skin-
2023-09-04   2023-09-06 cancer.html                                    Jimmy Buffett Died of a Rare Skin Cancer By Ben Sisario                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/arts/mu
2023-09-04   2023-09-06 sic/steve-harwell-all-star.html                A Bands Tune Rides On Waves of Memes     By Ben Sisario                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/climate Clean Energy on Rise Everywhere Except in
2023-09-04   2023-09-06 /climate-finance-congo-kenya-cop.html          Poor Nations                             By Max Bearak                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/opinion To Help Anxious Kids Give Them More          By Camilo Ortiz and Lenore
2023-09-04   2023-09-06 /anxiety-depression-teens.html                 Freedom                                  Skenazy                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/us/polit Haley Has a Playbook for Winning Tough
2023-09-04   2023-09-06 ics/nikki-haley-playbook-2024.html             Races but 2024 Is Different              By Jazmine Ulloa                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/world/a Frigid Rescue Of Ill Worker In Antarctic Is
2023-09-04   2023-09-06 sia/australia-rescue-antarctica.html           Successful                               By Yan Zhuang                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/arts/des
                        ign/washoe-baskets-louisa-keyser-native-
2023-09-05   2023-09-06 americans.html                                 Weaving Myths of Creation                By Marc Tracy                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/arts/mu Zach Bryan Crosses Genres on the Way to the
2023-09-05   2023-09-06 sic/zach-bryan-billboard-chart.html            Top                                      By Ben Sisario                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/books/h Hemingway Plane Crash Letter Fetches
2023-09-05   2023-09-06 emingway-plane-crash-letter-auction.html       237000 at Auction                        By Claire Moses                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/busines                                              By J Edward Moreno and Neal E
2023-09-05   2023-09-06 s/airbag-arc-nhtsa-recall.html                 US to Recall A Key Part For Airbags      Boudette                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/busines With a Late Payment Chinas Top Developer By Daisuke Wakabayashi and
2023-09-05   2023-09-06 s/china-country-garden-debt.html               Holds Default at Bay                     Claire Fu                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/busines
                        s/economy/economy-republicans-                 Wealth Gap Has Some on the Right Looking
2023-09-05   2023-09-06 inequality.html                                Left                                     By Talmon Joseph Smith          TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/05/busines How Will Buffetts Businesses Fare Without
2023-09-05   2023-09-06 s/jimmy-buffett-margaritaville-business.html Him                                       By Jordyn Holman and Tiffany Hsu TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/busines Chief at NPR Announces His Retirement At
2023-09-05   2023-09-06 s/media/npr-ceo-retire-john-lansing.html     Years End                                 By Katie Robertson               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/busines
2023-09-05   2023-09-06 s/salt-lake-city-real-estate-jobs.html       Evolving Salt Lake City Lures StartUps    By Miranda S Spivack             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/busines Saudi Arabia And Russia To Extend Oil
2023-09-05   2023-09-06 s/saudi-arabia-russia-oil-cuts.html          Cutbacks                                  By Stanley Reed                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/busines Buyer of Trumps Truth Social Gets Another
2023-09-05   2023-09-06 s/trump-truth-social-merger.html             Year to Complete Deal                     By Matthew Goldstein             TX 9-332-339   2023-11-02



                                                                               Page 5692 of 5793
                        https://www.nytimes.com/2023/09/05/dining/ To Shop BonBon Treats Hit The Upper East
2023-09-05   2023-09-06 bonbon-swedish-fish-upper-east-side.html   Side                                        By Florence Fabricant             TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/05/dining/
2023-09-05   2023-09-06 college-dining-halls-allergies-restrictions.html The Reeducation of the Dining Hall        By Priya Krishna                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/dining/ No Luck With Misi Reservations Cook Missy
2023-09-05   2023-09-06 misi-pasta-missy-robbins.html                    Robbinss Pasta at Home                    By Florence Fabricant           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/dining/r
                        estaurant-review-libertine-french-bistro-west- Inspiration Points Them in the Right
2023-09-05   2023-09-06 village.html                                     Direction                                 By Pete Wells                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/movies/
                        telluride-film-festival-emma-stone-andrew-
2023-09-05   2023-09-06 scott-colman-domingo.html                        Awards Talk At Telluride Film Festival    By Lisa Kennedy                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/movies/
                        the-color-purple-taraji-p-henson-fantasia-
2023-09-05   2023-09-06 barrino-first-look.html                          Color Purple Is Back as a Film Musical    By Melena Ryzik                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/nyregio City Begins Limiting AirbnbStyle Home
2023-09-05   2023-09-06 n/airbnb-regulations-nyc-housing.html            Rentals                                   By Mihir Zaveri                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/nyregio Santos Talks To Prosecutors In New Sign Of
2023-09-05   2023-09-06 n/george-santos-plea-trial.html                  Plea Deal                                 By Grace Ashford                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/nyregio Dye Drop via Drone Turns Pools in New
2023-09-05   2023-09-06 n/new-jersey-drones-pools.html                   Jersey Green                              By Claire Fahy                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/nyregio NYPD Agrees to Set New Rules for Protest
2023-09-05   2023-09-06 n/nypd-settlement-protesters-penning.html        Response                                  By Maria Cramer                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/opinion
2023-09-05   2023-09-06 /abortion-pepfar.html                            Its Not ProLife to Cut AIDS Programs      By Richard W Bauer              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/opinion The US and the Saudis Should Say No to
2023-09-05   2023-09-06 /biden-middle-east-deal.html                     Netanyahu                                 By Thomas L Friedman            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/opinion Why So Many Americans Are So Down on
2023-09-05   2023-09-06 /columnists/biden-unpopular-2024.html            Biden                                     By Bret Stephens                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/sports/t
2023-09-05   2023-09-06 ennis/us-open-gauff-ostapenko.html               Gauff Makes It Look Easy                  By David Waldstein              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/sports/t
2023-09-05   2023-09-06 ennis/us-open-zheng-qinwen-china.html            Budding Chinese Star Tries to Take Charge By Matthew Futterman            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/sports/u Spectator Removed After Remark Linked
2023-09-05   2023-09-06 s-open-fan-zverev-hitler-phrase.html             With Nazis                                By Christine Hauser             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/technol
                        ogy/crypto-collapse-lawyers-turnaround-                                                    By David YaffeBellany and Yiwen
2023-09-05   2023-09-06 specialists.html                                 Crypto Collapse Winners The Lawyers       Lu                              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/technol
                        ogy/sam-bankman-fried-jail-peanut-butter-                                                  By David YaffeBellany and
2023-09-05   2023-09-06 vegan.html                                       FTX Leader Protests Life Behind Bars      Matthew Goldstein               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/us/alex- Murdaughs Lawyers Say Court Clerk
2023-09-05   2023-09-06 murdaugh-clerk-rebecca-hill.html                 Tampered With Jury                        By Nicholas BogelBurroughs      TX 9-332-339   2023-11-02




                                                                                Page 5693 of 5793
                        https://www.nytimes.com/2023/09/05/us/cop- Over 60 Cop City Protesters Facing
2023-09-05   2023-09-06 city-atlanta-indictment.html                Racketeering Charges                        By Rick Rojas and Sean Keenan      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/us/paxt At Impeachment Trial Paxton Faces            By J David Goodman David
2023-09-05   2023-09-06 on-impeachment-trial-texas.html             Accusations From Fellow Republicans         Montgomery and Edgar Sandoval      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/us/polit Judges Rebuke Alabama GOP Over Latest
2023-09-05   2023-09-06 ics/alabama-congressional-map.html          Map                                         By Emily Cochrane                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/05/us/polit Biden Awards Medal of Honor to Vietnam
2023-09-05   2023-09-06 ics/biden-medal-of-honor-vietnam-pilot.html War Helicopter Pilot                        By Michael D Shear                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/05/us/polit
2023-09-05   2023-09-06 ics/enrique-tarrio-proud-boys-sentenced.html Former Leader Of Proud Boys Gets 22 Years By Alan Feuer                       TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/05/us/polit In 3 Southern Governors Races TV Ads
2023-09-05   2023-09-06 ics/governor-election-ads-trump-biden.html Mostly Steer Clear of Trump and Biden           By Nick Corasaniti              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/us/polit Biden Picks ExTreasury Secretary as Envoy to
2023-09-05   2023-09-06 ics/jack-lew-israel-biden.html              Israel in Time of Friction                     By Peter Baker                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/us/polit
                        ics/mcconnell-health-capitol-physician-
2023-09-05   2023-09-06 letter.html                                 McConnell Cleared of Stroke or Seizure         By Carl Hulse                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/us/polit A Progressive District Attorney Under Fire
2023-09-05   2023-09-06 ics/ted-cruz-mark-gonzalez-senate.html      Resigns and Will Run for Cruzs Senate Seat By Maggie Astor                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/a
                        mericas/haiti-jovenel-moise-assassination-  Suspect in Assassination of Haiti President Is
2023-09-05   2023-09-06 guilty-plea.html                            Set to Plead Guilty                            By David C Adams                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/a                                                 By Simon Romero Andre Paultre
2023-09-05   2023-09-06 mericas/haiti-kenya-force-gangs.html        Kenyas Ability To Pacify Haiti Is Questioned and Abdi Latif Dahir              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/a
2023-09-05   2023-09-06 sia/g20-india-promotional-blitz.html        As G20 Host India Aims the Spotlight at Itself By Suhasini Raj                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/a
2023-09-05   2023-09-06 sia/north-korea-russia-kim-jong-un.html     Ukraine War Puts a Lever In Kims Grip          By Choe SangHun                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/a South Korean Teachers Protest Behavior of
2023-09-05   2023-09-06 sia/south-korea-teachers-rally.html         Parents and Students                           By John Yoon                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/a Caught Between China and West Leader of By Natasha Frost and Christopher
2023-09-05   2023-09-06 sia/vanuatu-pm-australia-china-us.html      Pacific Island Nation Loses Post               Cottrell                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/c Free Speech Is Debated As Canada Tries
2023-09-05   2023-09-06 anada/trucker-protest-trial-ottawa.html     Truckers                                       By Ian Austen                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/e
                        urope/cuba-russia-war-human-                 Cuba Claims Traffickers Lure Recruits For
2023-09-05   2023-09-06 trafficking.html                            Russia                                         By Valeriya Safronova           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/e Major Floods in Greece Just as Wildfires Let
2023-09-05   2023-09-06 urope/greece-flooding-rain.html             Up                                             By Niki Kitsantonis             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/e Spain World Cup Team Wins Ouster of
2023-09-05   2023-09-06 urope/jorge-vilda-coach-spain-soccer.html   Coach                                          By Rachel Chaundler             TX 9-332-339   2023-11-02




                                                                                Page 5694 of 5793
                        https://www.nytimes.com/2023/09/05/world/e
                        urope/northern-ireland-police-simon-       Northern Ireland Police Chief Resigns Amid
2023-09-05   2023-09-06 byrne.html                                 Mounting Scandals                          By Megan Specia                   TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/05/world/e Ukraines Forces Try to Punch Second Hole in By Constant Mheut and Thomas
2023-09-05   2023-09-06 urope/ukraine-counteroffensive-zelensky.html Russian Lines                                GibbonsNeff                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/e
                        urope/ukraine-kamianka-russia-war-            Legacy of World War II Still Lingers in the
2023-09-05   2023-09-06 ww2.html                                     Soil Of a Strategic Village                  By Thomas GibbonsNeff           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/health/y Yale Eases Its Mental Health Policy After a By Anemona Hartocollis and Ellen
2023-09-06   2023-09-06 ale-mental-health.html                       Push                                         Barry                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/opinion
2023-09-06   2023-09-06 /seniors-tech-silicon-valley.html            Entrepreneurs Who Pay Attention              By Farhad Manjoo                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/sports/t A NonBlast From the Past Has Returned to
2023-09-06   2023-09-06 ennis/us-open-alcaraz-dropshot.html          the Forefront                                By Kurt Streeter                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/world/e
2023-09-06   2023-09-06 urope/asian-hornet-bees-uk.html              British Bees Face a Deadly Invasion          By Jenny Gross                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/t-
2023-08-30   2023-09-07 magazine/jatovia-gary-moma.html              JaTovia Gary Focuses on Love                 By Yasmina Price                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/t-
                        magazine/ilan-cohen-fire-island-pines-
2023-08-31   2023-09-07 house.html                                   By Design A Home for Art And the Artists     By Evan Moffitt                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/movies/ An Ultraviolent Horror Film Doesnt Mind If
2023-09-01   2023-09-07 making-beaten-to-death.html                  You Leave                                    By Erik Piepenburg              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/style/ji
2023-09-02   2023-09-07 mmy-buffett-fashion.html                     Pioneer of LaidBack Boatyard Chic            By Guy Trebay                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/opinion
                        /colleges-civics-core-curriculum-culture-     By Dropping Civics Colleges Gave Fuel to
2023-09-03   2023-09-07 wars.html                                    the Culture Wars                             By Debra Satz and Dan Edelstein TX 9-332-339   2023-11-02
                        https://www.nytimes.com/interactive/2023/09/
                        03/business/economy/strikes-union-sag-                                                    By Molly Cook Escobar and
2023-09-03   2023-09-07 uaw.html                                     A Summer of Strikes                          Christine Zhang                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/interactive/2023/09/ Big Farms and Flawless Fries Are Gulping   By Dionne Searcey and Mira
2023-09-03   2023-09-07 03/climate/minnesota-drought-potatoes.html Water in the Land of 10000 Lakes             Rojanasakul                     TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/04/arts/des
                        ign/hkw-berlin-bonaventure-soh-bejeng-
2023-09-04   2023-09-07 ndikung.html                                  For House Of Art a Man Of Science         By Siddhartha Mitter            TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/04/movies/
                        priscilla-presley-elvis-sofia-coppola-venice- New Elvis Movie Trades the Music For
2023-09-04   2023-09-07 film-festival.html                            Dissonance                                By Kyle Buchanan                TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/04/style/m Movers See All and Now They Have Their
2023-09-04   2023-09-07 overs-relationships.html                      Say                                       By Gina Cherelus                TX 9-332-339     2023-11-02




                                                                                Page 5695 of 5793
                        https://www.nytimes.com/2023/09/05/arts/mu
                        sic/ghostwriter-whiplash-travis-scott-21-   Ghostwriter Returns With a Song and
2023-09-05   2023-09-07 savage.html                                 Industry Allies                              By Joe Coscarelli             TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/05/arts/mu Gloria Coates 89 Who Composed 17
2023-09-05   2023-09-07 sic/gloria-coates-dead.html                 Symphonies and Defied Conventions            By Neil Genzlinger            TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/05/movies/
2023-09-05   2023-09-07 ava-duvernay-origin-caste-adaptation.html   Histories of Hierarchy Crafted Into a Film   By Kyle Buchanan              TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/05/nyregio New Yorkers Sweat It Out During PostLabor
2023-09-05   2023-09-07 n/nyc-heat-wave.html                        Day Heat Wave                                By Erin Nolan                 TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/05/style/fa
2023-09-05   2023-09-07 shion-week-shows-events.html                Prepare for the Surprises Ahead              By Vanessa Friedman           TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/05/world/a Two Workers Widen a Gap in the Great Wall By Livia AlbeckRipka Yan Zhuang
2023-09-05   2023-09-07 sia/great-wall-china-excavator-damage.html of China The Job Wasnt Authorized            and Siyi Zhao                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/world/a
                        sia/hong-kong-same-sex-partnership-court-    Hong Kong Court Orders Framework for
2023-09-05   2023-09-07 ruling.html                                  SameSex Marriages                          By Derrick Bryson Taylor         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/style/rb When Seeing This Pop Act Try to Dress the
2023-09-06   2023-09-07 d-tour-rebelde-uniforms-outfits.html         Part                                       By Frank Rojas                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/arts/dan
2023-09-06   2023-09-07 ce/alexis-blake-review.html                  Strength Fragility Hammers and Glass       By Brian Seibert                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/arts/des
                        ign/freddie-mercury-auction-queen-           Early Queen Lyrics and Mercurys Grand
2023-09-06   2023-09-07 sothebys.html                                Piano Are Hits at Auction                  By Scott Reyburn                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/arts/mu
                        sic/the-rolling-stones-hackney-diamonds-new-                                            By Alex Marshall and Christopher
2023-09-06   2023-09-07 album.html                                   Details on the Rolling Stones Next Album   Kuo                              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/arts/mu
2023-09-06   2023-09-07 sic/tyler-childers-rustin-in-the-rain.html   Rural Roots Sustain A Voice For Change     By Marissa R Moss                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/busines
                        s/economy/huawei-phone-us-china-             China Flexes Tech Muscles By Unveiling A
2023-09-06   2023-09-07 raimondo.html                                New Phone                                  By Ana Swanson                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/busines Comcast and Disney Agree To Speed Up
2023-09-06   2023-09-07 s/media/comcast-disney-hulu-deal.html        Hulu Deal                                  By Benjamin Mullin               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/busines WeWork Is Going to Try To Renegotiate Its
2023-09-06   2023-09-07 s/wework-leases.html                         Leases                                     By Peter Eavis                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/climate At Africas First Climate Summit a Clear Call
2023-09-06   2023-09-07 /africa-climate-summit.html                  to the World Invest in Us                  By Max Bearak                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/climate Biden Prepares to Tightly Limit Alaska
2023-09-06   2023-09-07 /biden-drilling-alaska-wildlife-refuge.html  Drilling                                   By Lisa Friedman                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/nyregio Comptroller Rejects Citys Contract for
2023-09-06   2023-09-07 n/docgo-migrants-contract-adams.html         Migrant Care                               By Jay Root                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/nyregio
2023-09-06   2023-09-07 n/school-bus-strike-nyc.html                 Bus Strike 80000 New York Students Wait    By Troy Closson                  TX 9-332-339   2023-11-02




                                                                                Page 5696 of 5793
                        https://www.nytimes.com/2023/09/06/nyregio
                        n/trump-e-jean-carroll-defamation-trial-      No Need to Prove Again That Trump
2023-09-06   2023-09-07 january.html                                  Defamed Her                                  By Benjamin Weiser                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/opinion Dignified Silence Doesnt Work Against the
2023-09-06   2023-09-07 /biden-trump-republican-primary.html          Last Guy                                     By Charles M Blow                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/opinion
2023-09-06   2023-09-07 /loneliness-epidemic-solutions.html           How We Can Fix Our Loneliness Epidemic By Nicholas Kristof                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/science Ferid Murad 86 Pharmacologist Who Shared
2023-09-06   2023-09-07 /ferid-murad-nobelist-dead.html               Nobel Prize Is Dead                          By Clay Risen                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/sports/b
                        asketball/breanna-stewart-wnba-points-record- Is That an Asterisk Next to Breanna Stewarts
2023-09-06   2023-09-07 liberty.html                                  Points Record                                By Victor Mather                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/sports/t At This Years Tournament Its Advantage
2023-09-06   2023-09-07 ennis/us-open-heat-medvedev-gauff.html        Heat                                         By Matthew Futterman              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/sports/t Osaka Discusses Mental Health and Her Plans
2023-09-06   2023-09-07 ennis/us-open-naomi-osaka.html                to Return                                    By Jesus Jimnez                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/sports/t
2023-09-06   2023-09-07 ennis/us-open-shelton-tiafoe-djokovic.html    Flashback Americans Rule Court For a Night By Matthew Futterman                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/style/be
                        yonce-renaissance-silver-etsy-small-
2023-09-06   2023-09-07 business.html                                 A Flurry of Activity From the BeyHive        By Sanam Yar                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/style/pi Pirellis Next Calendar Shines a Spotlight on
2023-09-06   2023-09-07 relli-calendar-prince-gyasi.html              Africa                                       By Elizabeth Paton                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/06/technol A Behemoth Turns to Its Ace In Its Biggest
2023-09-06   2023-09-07 ogy/google-antitrust-lawyer-kent-walker.html Antitrust Fight Yet                            By Nico Grant                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/technol
                        ogy/modern-internet-first-monopoly-trial-us- Google to Face Blistering Trial Over Its       By David McCabe and Cecilia
2023-09-06   2023-09-07 google-dominance.html                        Power                                          Kang                             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/technol
                        ogy/unesco-report-remote-learning-           Remote Class Exacerbated Inequalities
2023-09-06   2023-09-07 inequity.html                                Report Says                                    By Natasha Singer                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/theater/
                        jessica-lange-jim-parsons-paula-vogel-       Jessica Lange to Lead a Starry Cast in a New
2023-09-06   2023-09-07 broadway.html                                Vogel Family Drama                             By Michael Paulson               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/geor Gender Care For Minors Again Faces
2023-09-06   2023-09-07 gia-transgender-ban.html                     Georgia Ban                                    By Anna Betts                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/jail- Finding Clarity and Inspiration in Writing      By Ernesto Londoo and David
2023-09-06   2023-09-07 free-writing.html                            While Incarcerated                             Guttenfelder                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/ken-
                        paxton-texas-impeachment-                    ExDeputy Says Paxton Made Unusual Effort
2023-09-06   2023-09-07 whistleblower.html                           On Behalf of a Donor                           By J David Goodman               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/phila
                        delphia-fugitive-manhunt-danelo-             Hunt for Escaped Killer Brings Relentless      By Campbell Robertson and Joel
2023-09-06   2023-09-07 cavalcante.html                              Unease                                         Wolfram                          TX 9-332-339   2023-11-02



                                                                                  Page 5697 of 5793
                        https://www.nytimes.com/2023/09/06/us/polit Help for Risky Pregnancies Drops As Doctors
2023-09-06   2023-09-07 ics/abortion-obstetricians-maternity-care.html Flee Abortion Limits                       By Sheryl Gay Stolberg          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/polit
2023-09-06   2023-09-07 ics/biden-niger-coup-aid.html                  The Tricky Matter of Calling a Coup a Coup By Michael Crowley              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/polit
2023-09-06   2023-09-07 ics/enrique-tarrio-trump-jan-6.html            In Courtrooms Now Comes the Hard Part      By Alan Feuer                   TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/06/us/polit Justice Dept Plans to Indict Bidens Son on
2023-09-06   2023-09-07 ics/hunter-biden-indictment-gun-charges.html Gun Charges                                By Glenn Thrush                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/polit
                        ics/justice-protasiewicz-impeachment-        In Wisconsin Struggle for Power GOP Seeks
2023-09-06   2023-09-07 wisconsin.html                               to Impeach Judge                           By Reid J Epstein                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/polit
2023-09-06   2023-09-07 ics/pence-populism-speech.html               Pence Calls Trumps Populism a Road to Ruin By Jonathan Swan                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/polit
2023-09-06   2023-09-07 ics/peter-navarro-contempt-trial.html        Prosecutors Rest Case Against Navarro      By Zach Montague                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/polit
                        ics/trump-colorado-lawsuit-14-               Colorado Lawsuit Seeks To Keep Trump Off
2023-09-06   2023-09-07 amendment.html                               Ballot                                     By Maggie Astor                   TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/06/us/sat- Florida Colleges to Weigh Entrance Exam
2023-09-06   2023-09-07 alternative-florida-classical-learning-test.html Based on Classics                         By Dana Goldstein              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/sept- Biden Rejects Demands of Five Sept 11          By Charlie Savage and Carol
2023-09-06   2023-09-07 11-trial-plea-biden-guantanamo.html              Suspects in Exchange for Guilty Pleas     Rosenberg                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/texa Judge Tells Texas to Move Barrier on the Rio
2023-09-06   2023-09-07 s-border-rio-grande-lawsuit.html                 Grande As Threat to Human Life            By J David Goodman             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/trum Two Defendants in Georgia Will Get Early        By Richard Fausset and Danny
2023-09-06   2023-09-07 p-georgia-trial-powell-chesebro.html             Trial Together Judge Says                 Hakim                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/world/a
                        frica/nigeria-decision-presidential-             Court Rejects Challenges To Election In
2023-09-06   2023-09-07 election.html                                    Nigeria                                   By Elian Peltier               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/world/a
                        mericas/brazil-cyclone-floods-rio-grande-do- Brazil Cyclone Brings Floods Deluging
2023-09-06   2023-09-07 sol.html                                         Towns And Killing 22                      By John Yoon                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/world/a
                        mericas/mexico-abortion-decriminalize-           Mexico Court Strikes Down Criminal Code By Simon Romero and Emiliano
2023-09-06   2023-09-07 supreme-court.html                               For Abortion                              Rodrguez Mega                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/world/a Chinas Economic Woes Cast Doubt on Xis
2023-09-06   2023-09-07 sia/china-economy-xi-jinping.html                Plans                                     By Chris Buckley               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/world/a The G20 Keeps Failing Even So It Still
2023-09-06   2023-09-07 sia/g20-summit-india.html                        Matters                                   By Damien Cave                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/world/a Is a Name Change Possible Indias Dinner
2023-09-06   2023-09-07 sia/india-bharat-g20-summit.html                 Invitation to the G20 Uses Bharat Instead By Sameer Yasir                TX 9-332-339   2023-11-02




                                                                                 Page 5698 of 5793
                        https://www.nytimes.com/2023/09/06/world/c
                        anada/wildfire-yellowknife-evacuation-     Canadian City of 20000 Returns After Exile
2023-09-06   2023-09-07 return.html                                by Wildfire                                  By Ian Austen                     TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/06/world/e Blinken Visits Ukraine as a Russian Missile By Andrew E Kramer and Constant
2023-09-06   2023-09-07 urope/blinken-kyiv-russia-missile-strike.html Strike Kills 17 Civilians                Mheut                            TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/06/world/e Death Toll Reaches 14 in Flooding in Turkey By Niki Kitsantonis and Isabella
2023-09-06   2023-09-07 urope/greece-turkey-floods-bulgaria.html      Bulgaria and Greece                      Kwai                             TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/06/world/e In Mexico Drug Trade Flourished With States
2023-09-06   2023-09-07 urope/interpreter-mexico-drug-trade.html      Help                                     By Amanda Taub                   TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/06/world/e
                        urope/spain-kiss-rubiales-hermoso-            Player Levels Legal Charge Over Kiss At  By Emma Bubola and Rachel
2023-09-06   2023-09-07 complaint.html                                World Cup                                Chaundler                        TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/06/world/e Flight Chaos in Britain Caused by Fluky
2023-09-06   2023-09-07 urope/uk-flights-air-traffic-control-chaos.html Glitch                                  By Emma Bubola                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/06/world/e Bedtime Checks Verbal Abuse Womens Lot       By Rachel Chaundler Sarah Hurtes
2023-09-06   2023-09-07 urope/womens-soccer-spain-sexism.html           in Spanish Soccer                       and Jer Longman                  TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/06/world/                                                 By Nazeeha Saeed and Vivian
2023-09-06   2023-09-07 middleeast/bahrain-prison-hunger-strike.html In Bahrain an Echo Of the Arab Spring        Nereim                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/insider/
                        in-schools-an-invisible-threat-becomes-
2023-09-07   2023-09-07 clear.html                                   In Schools an Invisible Threat Becomes Clear By Josh Ocampo                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/sports/f
2023-09-07   2023-09-07 ootball/nfl-tv-streaming-schedule.html       It Borders on Rocket Science                 By Ken Belson                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/style/pe
2023-09-07   2023-09-07 ter-do-helmut-lang-nyfw.html                 High Hopes for a Prodigy Designers Debut     By Jessica Testa                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/07/style/w
2023-09-07   2023-09-07 oody-allen-movie-france-sexual-abuse.html France Is a Haven for Performers Under Fire By Steven Kurutz                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/interactive/2023/09/
                        02/sports/tennis/us-open-tennis-court-       Seen From Close Up How the US Open Dials By Helmuth Rosales and Geoff
2023-09-02   2023-09-08 speed.html                                   In Its Court Speed                         Macdonald                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/us/los-                                              By Jill Cowan Serge F Kovaleski
2023-09-03   2023-09-08 angeles-city-council-redistricting.html      Bid to Redraw Councils Map Got Ugly Fast and Leanne Abraham                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/movies/
2023-09-04   2023-09-08 office-race-review.html                      Office Race                                By Calum Marsh                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/interactive/2023/09/
                        05/upshot/medicare-budget-threat-            A Huge Threat to the US Budget Has Receded By Margot SangerKatz Alicia
2023-09-05   2023-09-08 receded.html                                 And No One Is Sure Why                     Parlapiano and Josh Katz          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/arts/mu Gary Wright 80 Dies Dream Weaver Singer
2023-09-06   2023-09-08 sic/gary-wright-dead.html                    Who Synthesized Pop                        By Alex Williams                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/arts/mu Musical Innovator To Push Forward From a
2023-09-06   2023-09-08 sic/terence-blanchard-sfjazz.html            New Perch                                  By Giovanni Russonello            TX 9-332-339   2023-11-02



                                                                                Page 5699 of 5793
                        https://www.nytimes.com/2023/09/06/arts/the-
2023-09-06   2023-09-08 battle-of-chile-bam.html                     Smuggled Images Of a Stunning Time            By J Hoberman                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/movies/
2023-09-06   2023-09-08 portrait-of-the-queen-review.html            Portrait of the Queen                         By Brandon Yu                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/movies/
                        scouts-honor-the-secret-files-of-the-boy-    Scouts Honor The Secret Files of the Boy
2023-09-06   2023-09-08 scouts-of-america-review.html                Scouts of America                             By Natalia Winkelman                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/06/opinion Alabama Cherishes Its History of Defying the
2023-09-06   2023-09-08 /alabama-congressional-district-ruling.html Federal Courts                                   By David Firestone                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/opinion Evaluating the Arguments Against
2023-09-06   2023-09-08 /medicare-drug-price-negotiation.html         Negotiating Drug Prices                        By Larry Levitt                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/science Japan Joins the New Moon Race And                 By Katrina Miller and Kenneth
2023-09-06   2023-09-08 /japan-launch-moon-xrism-slim.html            Launches an XRay Telescope                     Chang                              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/sports/t Near the US Open a Parallel Sporting             By David Waldstein and Gabriela
2023-09-06   2023-09-08 ennis/us-open-ecuador-volleyball.html         Universe                                       Bhaskar                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/burn Shoe Cemeteries Bikes And MudCaked Tents
2023-09-06   2023-09-08 ing-man-mud-photos-cleanup.html               A Cleanup Tests an Ethos                       By FinnOlaf Jones and Jack Healy   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/calif
                        ornia-school-transgender-notification-policy- District Cant Notify Parents If Their Child Is
2023-09-06   2023-09-08 blocked.html                                  Transgender                                    By Anna Betts                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/sara Sarah Wunsch 75 Dogged Defender Of Civil
2023-09-06   2023-09-08 h-wunsch-dead.html                            Liberties for Nearly 30 Years                  By Sam Roberts                     TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/06/world/e Slovakia Vote Will Test Its Unity Over
2023-09-06   2023-09-08 urope/slovakia-election-russia-ukraine.html Ukraine                                        By Andrew Higgins                    TX 9-332-339   2023-11-02

                        https://www.nytimes.com/interactive/2023/09/
2023-09-06   2023-09-08 06/sports/tennis/ben-shelton-phone-call.html Ben Shelton Is Dialed In                    By Sara Ziegler                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/arts/mu
                        sic/bruce-springsteen-peptic-ulcer-
2023-09-07   2023-09-08 disease.html                                 Illness Sidelines Springsteen               By Orlando Mayorquin                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/busines A Fresh Fleet of Ships To Move a Glut of
2023-09-07   2023-09-08 s/china-car-exports.html                     Cars                                        By Keith Bradsher                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/busines
2023-09-07   2023-09-08 s/china-exports-august.html                  China Sees Exports Drop Once Again          By Keith Bradsher                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/us/polit US Has Seized Iranian Oil Over Hijackings In By Charlie Savage and Ronen
2023-09-07   2023-09-08 ics/iran-oil-sanctions-violations.html       the Persian Gulf That Escalated Tensions    Bergman                                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/arts/des
2023-09-07   2023-09-08 ign/art-fairs-nyc.html                       Fairs for the Fall Season                   By Rachel Sherman                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/arts/des
2023-09-07   2023-09-08 ign/ed-ruscha-retrospective-moma.html        Arts Deadpan Laureate                       By Jason Farago                        TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/07/arts/des
2023-09-07   2023-09-08 ign/independent-art-fair-battery-maritime.html Unseen Masterpieces                         By Will Heinrich                     TX 9-332-339   2023-11-02



                                                                                  Page 5700 of 5793
                        https://www.nytimes.com/2023/09/07/arts/des A Market Champion in a BacktoSchool
2023-09-07   2023-09-08 ign/the-armory-show-javits-center.html       Edition                                  By Martha Schwendener            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/arts/tele
                        vision/dreaming-whilst-black-showtime-
2023-09-07   2023-09-08 infamy-netflix.html                          This weekend I have                      By Margaret Lyons                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/arts/tele
                        vision/tiny-toons-looniversity-reboot-max-   Freshmen Again With a Screwball
2023-09-07   2023-09-08 cartoon-network.html                         Curriculum                               By Laurel Graeber                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/busines For Mattel Success of Barbie Goes Far
2023-09-07   2023-09-08 s/barbie-movie-mattel-windfall.html          Beyond the Big Screen                    By James B Stewart               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/busines Agency in Japan Admits Founder Preyed on
2023-09-07   2023-09-08 s/japan-boyband-sexual-abuse.html            Boys Since the 1970s                     By Hisako Ueno and Ben Dooley TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/09/07/busines Warner Bros Suspends Deals With Top
                        s/media/warner-bros-writers-deals-           Television Creators As Writers Strike
2023-09-07   2023-09-08 suspended.html                               Continues                                By Brooks Barnes and John Koblin TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/busines Kerings Chief Strikes Deal For the Talent  By Lauren Hirsch and Vanessa
2023-09-07   2023-09-08 s/pinault-kering-majority-stake-caa.html     Agency CAA                               Friedman                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/climate Biden Cracks Down on Drilling Months After
2023-09-07   2023-09-08 /biden-drilling-climate-oil.html             Approving a Big Oil Project              By Lisa Friedman                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/fashion
2023-09-07   2023-09-08 /jewelry-annika-inez.html                    Jewelry with a Swedish touch             By Rachel Felder                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/fashion
                        /jewelry-auction-sothebys-wurttemberg-
2023-09-07   2023-09-08 geneva.html                                  A family treasure                        By Milena Lazazzera              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/fashion
2023-09-07   2023-09-08 /jewelry-chains-gold.html                    Chains move up in the world              By Nazanin Lankarani             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/fashion
                        /jewelry-gem-dealer-dave-bindra-los-
2023-09-07   2023-09-08 angeles.html                                 Color fills this gem dealers life        By Alexandra Cheney              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/fashion
2023-09-07   2023-09-08 /jewelry-harry-winston-biography.html        A story of jewelry royalty               By Melanie Abrams                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/07/fashion
2023-09-07   2023-09-08 /jewelry-piercings-hannah-martin-london.html An elevated but edgy style                    By Rachel Garrahan         TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/07/fashion
2023-09-07   2023-09-08 /jewelry-temple-st-clair.html                Minding the store                             By Tanya Dukes             TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/07/fashion
2023-09-07   2023-09-08 /jewelry-wire-london-exhibition.html         Precious Wire Draws Jewelers Into Its Coils   By Annabel Davidson        TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/07/fashion
2023-09-07   2023-09-08 /thailand-colored-gems.html                  Thailand gets ready to sparkle                By David Belcher           TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/07/health/c CPAP Maker Settles for 479 Million Over
2023-09-07   2023-09-08 pap-defect-recall-philips-respironics.html   Defects in Breathing Machines                 By Christina Jewett        TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/07/movies/
                        amerikatsi-review-a-prisoner-in-his-
2023-09-07   2023-09-08 homeland.html                                Amerikatsi                                    By Nicolas Rapold          TX 9-332-339    2023-11-02



                                                                                  Page 5701 of 5793
                        https://www.nytimes.com/2023/09/07/movies/
                        aristotle-and-dante-discover-the-secrets-of-the-Aristotle and Dante Discover the Secrets Of
2023-09-07   2023-09-08 universe-review.html                            the Universe                                By Erik Piepenburg           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/movies/
2023-09-07   2023-09-08 hello-dankness-review.html                      Hello Dankness                              By Ben Kenigsberg            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/movies/
                        joyce-carol-oates-a-body-in-the-service-of-     Joyce Carol Oates A Body in the Service Of
2023-09-07   2023-09-08 mind-review.html                                Mind                                        By Beatrice Loayza           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/movies/
                        my-big-fat-greek-wedding-3-review-
2023-09-07   2023-09-08 nopa.html                                       Their Family Message Is Clearly Heard       By Amy Nicholson             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/movies/
2023-09-07   2023-09-08 rotting-in-the-sun-review.html                  Rotting in the Sun                          By Elisabeth Vincentelli     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/movies/
2023-09-07   2023-09-08 the-first-year-review.html                      The First Year                              By Devika Girish             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/nyregio Adams Says Migrant Crisis Will Destroy the
2023-09-07   2023-09-08 n/adams-migrants-destroy-nyc.html               City                                        By Emma G Fitzsimmons        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/nyregio Learning to Read Gets Overhaul in New York
2023-09-07   2023-09-08 n/nyc-public-schools-reading.html               Schools                                     By Troy Closson              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/opinion The American Renaissance Is Already at
2023-09-07   2023-09-08 /economy-china-america-decline.html             Hand                                        By David Brooks              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/opinion
2023-09-07   2023-09-08 /elites-blm-police.html                         Do Elites Really Know Whats Best for Us     By Pamela Paul               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/technol
                        ogy/artificial-intelligence-framework-          2 Senators Propose Bipartisan Framework for
2023-09-07   2023-09-08 senate.html                                     Laws Regulating Artificial Intelligence     By Cecilia Kang              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/technol                                                  By David YaffeBellany and
2023-09-07   2023-09-08 ogy/ftx-guilty-plea.html                        4th Leader Pleads Guilty In FTX Case        Matthew Goldstein            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/theater/
2023-09-07   2023-09-08 charles-busch-leading-lady-memoir.html          A Legends Memoir Has Arrived Darling        By Ben Brantley              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/us/fani- Prosecutor in Georgia Rebukes Congressman By Richard Fausset and Danny
2023-09-07   2023-09-08 willis-jim-jordan-trump-georgia.html            Whos Investigating Her                      Hakim                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/us/flori Floridas Immigration Law May Affect
2023-09-07   2023-09-08 da-immigration-hurricane-cleanup.html           Hurricane Cleanup                           By Miriam Jordan             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/us/migr Migrants Headed North Long Before                By Miriam Jordan and Edgar
2023-09-07   2023-09-08 ant-buses-texas-nyc-los-angeles.html            Governors Began to Bus Them There           Sandoval                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/us/mur
                        daugh-clerk-attorney-general-                   Inquiry Into Whether Court Clerk Swayed
2023-09-07   2023-09-08 investigation.html                              Murdaugh Jury                               By Nicholas BogelBurroughs   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/us/polit Biden Says He Will Nominate a Former FAA
2023-09-07   2023-09-08 ics/biden-michael-whitaker-faa.html             Deputy to Lead the Agency                   By Mark Walker               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/07/us/polit
2023-09-07   2023-09-08 ics/mcconnell-democrats-senate-schumer.html McConnells Health Issues Worry Democrats By Carl Hulse                       TX 9-332-339   2023-11-02




                                                                                Page 5702 of 5793
                        https://www.nytimes.com/2023/09/07/us/polit Jurors Convict Navarro For Defying
2023-09-07   2023-09-08 ics/navarro-contempt-trial-jury.html        Subpoena                                       By Zach Montague                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/us/polit Pelosi Suggests Sexism Is at the Root of Calls
2023-09-07   2023-09-08 ics/pelosi-feinstein-age.html               For Feinstein to Resign                        By Anjali Huynh                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/us/priso Understaffing in Prisons May Factor Into       By Campbell Robertson Shaila
2023-09-07   2023-09-08 n-escape-chester-county-cavalcante.html     Escapes                                        Dewan and Joel Wolfram             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/world/a Gabon Military Ends Ousted Presidents
                        frica/gabon-coup-president-bongo-           House Arrest Saying Hes Free to Leave the
2023-09-07   2023-09-08 ondimba.html                                Nation                                         By Abdi Latif Dahir                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/world/a War Drives South Sudanese Back to an
2023-09-07   2023-09-08 frica/sudan-refugees-south-sudan.html       IllPrepared Homeland                           By Abdi Latif Dahir and Joao Silva TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/world/a Deepening Chasms Threaten Indias Mounting
2023-09-07   2023-09-08 sia/g20-india-modi.html                     Ambitions                                      By Mujib Mashal and Hari Kumar TX 9-332-339       2023-11-02
                        https://www.nytimes.com/2023/09/07/world/e Drone Strike Jolts Home Of Russian Military
2023-09-07   2023-09-08 urope/drone-strikes-rostov-russia.html      Base                                           By Marc Santora                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/world/e French Court Upholds Ban Of Abayas In
2023-09-07   2023-09-08 urope/france-abaya-muslims-school.html      Schools                                        By Aurelien Breeden                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/world/e Intense Rains Submerge Some Villages in
2023-09-07   2023-09-08 urope/greece-turkey-floods.html             Greece                                         By Niki Kitsantonis                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/world/e Wage Dispute In Spain Spurs Women to Skip By Sarah Hurtes and Rachel
2023-09-07   2023-09-08 urope/spain-women-soccer-strike.html        Soccer Games                                   Chaundler                          TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/07/world/e Teams in Turkey Try to Rescue Sick
2023-09-07   2023-09-08 urope/turkey-cave-rescue-american.html      American From Cave 3000 Feet Underground By Safak Timur and Emma Bubola TX 9-332-339             2023-11-02
                        https://www.nytimes.com/2023/09/07/world/e Ukraine Insists Cluster Arsenal Keeps it in
2023-09-07   2023-09-08 urope/ukraine-cluster-munitions.html        Fight                                       By Lara Jakes and Eric Schmitt    TX 9-332-339       2023-11-02
                        https://www.nytimes.com/2023/09/07/world/e Researchers Identify Jews Aided by Catholics
2023-09-07   2023-09-08 urope/world-war-2-pius-jews.html            in Nazi Era                                 By Elisabetta Povoledo            TX 9-332-339       2023-11-02
                        https://www.nytimes.com/2023/09/07/world/
                        middleeast/mahmoud-abbas-video-             Palestinian Leader Makes Antisemitic
2023-09-07   2023-09-08 antisemitic.html                            Comments                                    By Patrick Kingsley               TX 9-332-339       2023-11-02
                        https://www.nytimes.com/2023/09/07/sports/t
                        ennis/protest-stops-us-open-semifinal-      In Second Set Protesters Cause Bewildering
2023-09-08   2023-09-08 match.html                                  Delay                                       By Jesus Jimnez and Kurt Streeter TX 9-332-339       2023-11-02
                        https://www.nytimes.com/2023/09/07/sports/t
                        ennis/us-open-gauff-muchova-sabalenka-      It Took a Long Time but It Was Finally
2023-09-08   2023-09-08 keys.html                                   Gauffs Night                                By Matthew Futterman              TX 9-332-339       2023-11-02
                        https://www.nytimes.com/2023/09/08/insider/ At the US Open a Reporter on Familiar
2023-09-08   2023-09-08 us-open-tennis-reporter.html                Grounds                                     By Matthew Futterman              TX 9-332-339       2023-11-02
                        https://www.nytimes.com/2023/08/30/travel/f
2023-08-30   2023-09-09 aroe-islands-art-nature.html                Nature Shapes Life on the Faroe Islands     By Jeanine Barone                 TX 9-332-339       2023-11-02
                        https://www.nytimes.com/2023/08/31/travel/1
2023-08-31   2023-09-09 27-yard-sale.html                           Checking Out the Worlds Longest Yard Sale By Kendall Waldman                  TX 9-332-339       2023-11-02




                                                                                 Page 5703 of 5793
                        https://www.nytimes.com/2023/09/06/opinion
2023-09-06   2023-09-09 /columnists/forest-fires-climate-change.html Forests Wont Save Us From Climate Change By David WallaceWells                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/arts/des
2023-09-07   2023-09-09 ign/81st-street-studio-children-met.html     Where Artmakings Materials Are the Draw By Laurel Graeber                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/arts/loo
2023-09-07   2023-09-09 ted-artifacts-lebanon.html                   Looted Artifacts Returned to Lebanon         By Tom Mashberg                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/arts/pat Patricia Caulfield 91 Photographer Who Sued
2023-09-07   2023-09-09 ricia-caulfield-dead.html                    Warhol Over Her Flowers                      By Richard Sandomir               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/health/f Half a Century of Grief The Orphans of Flight
2023-09-07   2023-09-09 light-723-plane-crash-children.html          723                                          By Ellen Barry and Hilary Swift   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/movies/ That Old Demonic Force Is Off to Boarding
2023-09-07   2023-09-09 the-nun-ii-review-sequel.html                School                                       By Claire Shaffer                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/movies/ Trapped Women And Controlling Men At the
2023-09-07   2023-09-09 venice-film-festival.html                    Center of Stories                            By Jessica Kiang                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/nyregio A Professor Who Was in the Room Where
2023-09-07   2023-09-09 n/hillary-clinton-columbia-university.html   Foreign Policy Happened                      By Katherine Rosman               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/07/nyregio New Jersey Failed Veterans at CovidRavaged
2023-09-07   2023-09-09 n/nursing-homes-neglect-veterans-rights.html Nursing Homes US Says                    By Tracey Tully                TX 9-332-339          2023-11-02
                        https://www.nytimes.com/2023/09/07/opinion Republicans in Wyoming See Clearly Whats By Stephanie Muravchik and Jon A
2023-09-07   2023-09-09 /nationalization-politics-wyoming.html       Happening                                Shields                        TX 9-332-339          2023-11-02

                        https://www.nytimes.com/2023/09/07/us/polit From Hoover to Obama Presidential Centers
2023-09-07   2023-09-09 ics/presidential-centers-democracy-bush.html Issue Rare Call to Protect Democracy         By Nick Corasaniti                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/world/a Keeping Monkeys at Bay Part of G20
2023-09-07   2023-09-09 sia/g20-summit-monkeys-india-delhi.html      Preparations                                 By Sameer Yasir and Mike Ives     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/arts/mu
2023-09-08   2023-09-09 sic/olivia-rodrigo-guts-review.html          Shes Seen The World And Now Shes Livid       By Jon Caramanica                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/arts/mu Zach Bryan Apologizes After Arrest In
2023-09-08   2023-09-09 sic/zach-bryan-arrested.html                 Oklahoma                                     By Ben Sisario                    TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/08/arts/por
2023-09-08   2023-09-09 trait-mickalene-thomas-yale-university.html She Envisioned The Bigger Picture             By Hilarie M Sheets               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/arts/tele
2023-09-08   2023-09-09 vision/netflix-canceled.html                 TV Viewers Feel the Pain Of the Ax           By James Poniewozik               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/busines Bond Issues Show Signs Of Optimism On
2023-09-08   2023-09-09 s/bond-market-optimism.html                  Wall St                                      By Joe Rennison                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/busines Doing Business in China Is Risky but So Is
2023-09-08   2023-09-09 s/china-us-business.html                     Retreating                                   By Alexandra Stevenson            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/busines
2023-09-08   2023-09-09 s/dumb-money-wall-street-game-stop.html      Satirical Film Lampoons Trade Titans         By Brooks Barnes                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/08/busines Contract Deadline Near Union and
2023-09-08   2023-09-09 s/economy/uaw-autos-gm-stellantis-ford.html Automakers Still Far Apart in Talks           By Neal E Boudette                TX 9-332-339   2023-11-02



                                                                                 Page 5704 of 5793
                        https://www.nytimes.com/2023/09/08/busines Kroger Agrees to Pay 12 Billion to Settle
2023-09-08   2023-09-09 s/kroger-opioid-settlement.html             Claims That It Helped Fuel the Opioid Crisis By Rebecca Robbins                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/busines
                        s/media/jimmy-fallon-workplace-tonight-     Fallon Apologizes to Staff After Article
2023-09-08   2023-09-09 show.html                                   Described Show as a Toxic Workplace          By John Koblin                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/busines
                        s/no-bidders-in-british-offshore-wind-      An Offshore Wind Auction Fails to Attract
2023-09-08   2023-09-09 auction.html                                Any Bidders                                  By Stanley Reed                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/climate Climate Report Card Says Countries Are
2023-09-08   2023-09-09 /paris-agreement-stocktake.html             Trying but Progress Is Still Slow            By Brad Plumer                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/nyregio Casinos Deal Lets It Drop Trump Name At By Stefanos Chen and Dana
2023-09-08   2023-09-09 n/trump-links-golf-bronx-casino.html        Golf Course                                  Rubinstein                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/opinion Political Repression Wont Save Chinas
2023-09-08   2023-09-09 /china-youth-unemployment-xi.html           Economy                                      By HoFung Hung                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/opinion
2023-09-08   2023-09-09 /vivek-ramaswamy.html                       A LinkedIn Post Come to Life                 By Farhad Manjoo                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/sports/b Nine Years After Mone Mania Still Intrigued
2023-09-08   2023-09-09 aseball/mone-davis-columbia.html            by Sports                                    By Wayne Coffey                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/sports/b
                        asketball/fiba-united-states-germany-       Germany Ousts Inexperienced Undersized US
2023-09-08   2023-09-09 semifinals.html                             Team From World Cup                          By Sopan Deb                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/sports/f As Mahomes Magic Fails Detroit Manages to
2023-09-08   2023-09-09 ootball/lions-chiefs-score.html             Upset The Super Bowl Winners                 By Ken Belson                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/sports/t
                        ennis/us-open-medvedev-alcaraz-djokovic-    Sheltons Power and Touch Shine but Fall
2023-09-08   2023-09-09 shelton.html                                Short                                        By Matthew Futterman              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/sports/t Pair Achieves an Extraordinary Mens Doubles
2023-09-08   2023-09-09 ennis/us-open-mens-doubles.html             ThreePeat                                    By David Waldstein                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/sports/t Deep Run at US Open Comes With an Odd
2023-09-08   2023-09-09 ennis/us-open.html                          Reward Solitude                              By David Waldstein                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/flori Floridas Top Court Weighs Upholding
2023-09-08   2023-09-09 da-supreme-court-abortion.html              Abortion Limit                               By Patricia Mazzei                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/geor
                        gia-special-grand-jury-lindsey-graham-      Top Trump Allies Made Panels List Advising By Richard Fausset and Danny
2023-09-08   2023-09-09 trump.html                                  Charges                                      Hakim                             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/lahai A Month After Maui Inferno the Exact Death
2023-09-08   2023-09-09 na-fire-families.html                       Toll Is Still Undetermined                   By Tim Arango and Lisa L Schell   TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/08/us/mar Court Rejects Meadowss Bid To Put Case in By Richard Fausset and Danny
2023-09-08   2023-09-09 k-meadows-georgia-federal-court-denial.html Federal Court                           Hakim                                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/polit At G20 in India Biden Looks to Shore Up
2023-09-08   2023-09-09 ics/biden-g20.html                          Ties                                    By Katie Rogers and Peter Baker        TX 9-332-339   2023-11-02




                                                                                Page 5705 of 5793
                        https://www.nytimes.com/2023/09/08/us/polit
                        ics/desantis-florida-storm-climate-                As His State Reels DeSantis Shrugs Off   By Nicholas Nehamas and Patricia
2023-09-08   2023-09-09 change.html                                        Climate Threat                           Mazzei                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/polit                                                 By Jonathan Weisman and Nicholas
2023-09-08   2023-09-09 ics/gop-migrants-blue-cities.html                  Migrant Crisis Divides North Lifting GOP Fandos                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/polit
                        ics/irs-deploys-artificial-intelligence-to-target- To Hunt Wealthiest Tax Evaders IRS Uses
2023-09-08   2023-09-09 rich-partnerships.html                             Artificial Intelligence                  By Alan Rappeport                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/polit Pressed by Urban Allies Biden Seeks to Speed
2023-09-08   2023-09-09 ics/migrant-work-permits.html                      Up Moving Migrants to Jobs               By Michael D Shear               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/polit Pelosi Defying Speculation in Party Plans to
2023-09-08   2023-09-09 ics/nancy-pelosi-re-election.html                  Run for Reelection in 2024               By Annie Karni                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/polit Former Leader of Proud Boys Says
2023-09-08   2023-09-09 ics/tarrio-trump-jan-6.html                        Prosecutors Sought a Link to Trump       By Alan Feuer                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/priso Guard at Jail Is Dismissed In Connection        By Joel Wolfram Ana Ionova and
2023-09-08   2023-09-09 n-escape-chester-county-cavalcante.html            With Escape                              Campbell Robertson               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/world/a Vietnam and US Deepen Ties Amid Mutual
2023-09-08   2023-09-09 sia/biden-vietnam-china.html                       Unease of China                          By SuiLee Wee                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/world/a Hong Kong Faces Floods As Storms Batter
2023-09-08   2023-09-09 sia/china-hong-kong-floods.html                    Coast                                    By Chris Buckley                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/world/a Rock Star Bodyguard Myanmar Filmmaker in
2023-09-08   2023-09-09 sia/myanmar-lynn-lynn-profile.html                 Exile                                    By SuiLee Wee                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/world/a North Korea Says Its Sub Can Launch
2023-09-08   2023-09-09 sia/north-korea-submarine-nuclear.html             Nuclear Arms                             By Choe SangHun                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/08/world/e Musk Acknowledged Thwarting Ukraine            By Victoria Kim Richard PrezPea
2023-09-08   2023-09-09 urope/elon-musk-ukraine-starlink-drones.html Drone Attack                                 and Andrew E Kramer               TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/08/world/ Shabtai Shavit 84 Israeli Peacemaker and Top
2023-09-08   2023-09-09 middleeast/shabtai-shavit-dead.html          Spymaster Is Dead                            By Sam Roberts                    TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/08/world/
                        middleeast/turkey-cave-rescue-mark-          Rescuers Blast Open Passages to Extract Sick
2023-09-08   2023-09-09 dickey.html                                  Explorer                                     By Ben Hubbard and Safak Timur    TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/08/busines
                        s/appeals-court-first-amendment-social-      Appeals Court Rules the White House
2023-09-09   2023-09-09 media.html                                   Overstepped the First Amendment              By Steven Lee Myers               TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/09/sports/t
                        ennis/us-open-final-coco-gauff-              Two Players Making Debut In the Womens
2023-09-09   2023-09-09 sabalenka.html                               Singles Final                                By Jesus Jimnez                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/07/08/books/r
2023-07-08   2023-09-10 eview/nicole-flattery-nothing-special.html   Factory Worker                               By Alice Carrire                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/07/11/books/r
                        eview/when-crack-was-king-donovan-
2023-07-11   2023-09-10 ramsey.html                                  High Ground                                  By Jonathan Green                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/08/01/books/r
2023-08-01   2023-09-10 eview/dark-days-roger-reeves.html            Roots                                        By Ismail Muhammad                TX 9-332-339    2023-11-02



                                                                                 Page 5706 of 5793
                        https://www.nytimes.com/2023/08/02/books/r
2023-08-02   2023-09-10 eview/anansis-gold-yepoka-yeebo.html       The Scam King                                 By Anakwa Dwamena         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/13/books/t
                        he-marriage-question-george-eliot-clare-
2023-08-13   2023-09-10 carlisle.html                              The Two Georges                               By Alexandra Jacobs       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/26/books/r
                        eview/orwell-dj-taylor-wifedom-anna-
2023-08-26   2023-09-10 funder.html                                Mr and Mrs Orwell                             By Sarah Bakewell         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/28/books/r
2023-08-28   2023-09-10 eview/zadie-smith-the-fraud.html           A Tale of One City                            By Karan Mahajan          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/29/books/r
2023-08-29   2023-09-10 eview/fixer-edgar-kunz.html                What Work Is                                  By Jeff Gordinier         TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/29/realesta A Place to Plant Some Roots and Grow
2023-08-29   2023-09-10 te/marcia-gay-harden-home-catskills-ny.html Memories                                     By Anna Kod               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/30/realesta
2023-08-30   2023-09-10 te/seed-shortage-jennifer-jewell.html        Panic Then Questions in a Seed Shortage     By Margaret Roach         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/interactive/2023/08/
2023-08-30   2023-09-10 30/nyregion/bmcc-kayak-club.html             City Students Spend a Day Afloat            By Michelle Falkenstein   TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/31/books/r B Dylan Hollis is Bananas for Vintage
2023-08-31   2023-09-10 eview/baking-yesteryear-b-dylan-hollis.html SelfPublished Cookbooks                   By Elisabeth Egan            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/books/r
2023-09-01   2023-09-10 eview/stephen-king-holly.html                 Killing With Kindness                   By Flynn Berry               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/realesta Take Some Time to Decide And Leave Little
2023-09-01   2023-09-10 te/wall-paint-color-design.html               to Chance                               By Tim McKeough              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/arts/cod
2023-09-02   2023-09-10 y-rigsby-peloton-xoxo-cody.html               Cody Rigsby Needs Dessert And Cheetos   By Kathryn Shattuck          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/arts/tele
                        vision/pbs-school-integration-harvest-busing-
2023-09-02   2023-09-10 battleground.html                             Desegregation Myths Debunked            By Chris Vognar              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/books/r
2023-09-03   2023-09-10 eview/new-crime-mystery-books.html            Murder Jazz and Dessert                 By Sarah Weinman             TX 9-332-339   2023-11-02

                        https://www.nytimes.com/interactive/2023/09/ Anderson Cooper Is Still Learning to Live
2023-09-03   2023-09-10 03/magazine/anderson-cooper-interview.html With Loss                                     By David Marchese         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/arts/des
                        ign/land-art-environment-groundswell-
2023-09-04   2023-09-10 women.html                                   Not Just Cowboys and Bulldozers Anymore     By Travis Diehl           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/books/r
                        eview/do-you-remember-being-born-sean-
2023-09-04   2023-09-10 michaels.html                                Workflow                                    By Lincoln Michel         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/magazi
                        ne/affirmative-action-race-college-
2023-09-04   2023-09-10 admissions.html                              Applying Blind                              By Jessica Cheung         TX 9-332-339   2023-11-02



                                                                                 Page 5707 of 5793
                        https://www.nytimes.com/2023/09/05/arts/po Making Modern Dating A Bit Less
2023-09-05   2023-09-10 dcasts-dating-love-relationships.html       Mysterious                                    By Emma Dibdin                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/books/r
2023-09-05   2023-09-10 eview/beyond-the-wall-katja-hoyer.html      Life During Cold Wartime                      By Kati Marton                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/books/
                        what-you-are-looking-for-is-in-the-library-
2023-09-05   2023-09-10 michiko-aoyama.html                         Recommended Reading                           By Robin Sloan                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/briefing
2023-09-05   2023-09-10 /covid-school-absence.html                  At Schools Absenteeism Is the New Normal      By David Leonhardt                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/magazi
2023-09-05   2023-09-10 ne/college-worth-price.html                 Saying No to College                          By Paul Tough                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/magazi
2023-09-05   2023-09-10 ne/homework-recommendation.html             Homework                                      By Saul Austerlitz                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/opinion
2023-09-05   2023-09-10 /nfl-kickoff-rule-change.html               The NFLs New Kickoff Rule Is Terrible         By Matthew Walther                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/t-
                        magazine/anthony-vaccarello-saint-                                                        By Nick Haramis Lise Sarfati and
2023-09-05   2023-09-10 laurent.html                                The Heir                                      Delphine Danhier                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/t-
2023-09-05   2023-09-10 magazine/artists-designers-legacy.html      A Necessary Rebellion                         By Hanya Yanagihara                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/t-
2023-09-05   2023-09-10 magazine/gay-cowboys-masculinity.html       Go West                                       By Evan Moffitt                     TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/05/t-
2023-09-05   2023-09-10 magazine/mens-fashion-college-tailoring.html Cutting Class                                By Collier Schorr and Sasha Kelly TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/06/arts/mu
2023-09-06   2023-09-10 sic/romy-madley-croft-mid-air.html           No Longer Hiding Behind Her Guitar           By Foster Kamer                     TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/06/magazi Not on Bread Alone With the perfect baguette
2023-09-06   2023-09-10 ne/banh-mi-recipe.html                      a bnh m offers endless sandwich possibilities By Bryan Washington                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/magazi
2023-09-06   2023-09-10 ne/tiny-desk-concerts-authenticity.html     Post Rock                                     By Adlan Jackson                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/nyregio
2023-09-06   2023-09-10 n/doctoroff-new-york-als.html               His Perseverance Now Brings Him Peace         By Christopher Maag                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/opinion
2023-09-06   2023-09-10 /seniors-home-care-aging.html               Caregivers WhoAre Cared For                   By Michelle Cottle and Larry Fink   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/opinion
2023-09-06   2023-09-10 /seniors-housing-adus.html                  Flexible Housing                              By Michelle Cottle                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/realesta
                        te/850000-dollar-homes-texas-michigan-
2023-09-06   2023-09-10 pennsylvania.html                                                                850000 By Angela Serratore                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/style/fa
2023-09-06   2023-09-10 mily-holiday-travel-plans.html              Holiday Blues                                 By Philip Galanes                   TX 9-332-339   2023-11-02




                                                                                 Page 5708 of 5793
                        https://www.nytimes.com/2023/09/06/t-
                        magazine/egypt-siwa-oasis-india-mahdavi-                                               By Gisela Williams and Anthony
2023-09-06   2023-09-10 mounir-neamatalla.html                       A House of Sand and Salt                  Cotsifas                          TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/06/t-
2023-09-06   2023-09-10 magazine/olive-accessories-bags-shoes.html   Olive Accents                             By Mari Maeda and Yuji Oboshi     TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/06/t-
2023-09-06   2023-09-10 magazine/technical-classic-mens-fashion.html Outside Influence                            By Ilya Lipkin and Hisato Tasaka TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/t-
2023-09-06   2023-09-10 magazine/tights-mens-fashion-runways.html Thigh Masters                                   By Nick Haramis                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/style/tik
2023-09-07   2023-09-10 tok-missing-tabi-shoes.html                   Those Missing Tabis Go on an Adventure      By Jessica Roy                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/busines
2023-09-07   2023-09-10 s/toyota-hybrid-electric-vehicles.html        Toyotas Electric Vehicles Could Use a Boost By Jack Ewing and Ben Dooley     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/health/c Covid Continues to Rise But Presents Less
2023-09-07   2023-09-10 ovid-deaths-hospitalizations-vaccines.html    Danger                                      By Apoorva Mandavilli            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/magazi
2023-09-07   2023-09-10 ne/ben-sasse-university-florida.html          Intro to Political Science                  By Michael Sokolove              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/magazi
2023-09-07   2023-09-10 ne/judge-john-hodgman-flight-seat.html        Bonus Advice From Judge John Hodgman        By John Hodgman                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/magazi                                                 By Roque Raquel Salas Rivera and
2023-09-07   2023-09-10 ne/poem-from-algarabia.html                   Poem                                        Anne Boyer                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/realesta
                        te/buying-is-just-the-beginning-what-does-it-
2023-09-07   2023-09-10 really-cost-to-own-a-home.html                When Buying Is Just the Beginning           By Michael Kolomatsky            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/realesta                                               By Jill P Capuzzo and Claudia
2023-09-07   2023-09-10 te/housing-market-near-nyc.html               Homes for Sale in New York and New Jersey Gryvatz Copquin                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/realesta
2023-09-07   2023-09-10 te/housing-market-nyc.html                    Homes for Sale in Manhattan and Queens      By Heather Senison               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/sports/f On 4th and Long American Teams Frequently
2023-09-07   2023-09-10 ootball/australian-punters-football.html      Turn to an Australian                       By Jer Longman                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/sports/f
2023-09-07   2023-09-10 ootball/nfl-picks-week-1.html                 Thursdays Game                              By Benjamin Hoffman              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/style/mi
2023-09-07   2023-09-10 chael-kors-united-nations.html                Fashion and Feeding the World               By Ruth La Ferla                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/style/pe Theyre Making Grandmas Pearls Gleam
2023-09-07   2023-09-10 arls-jewelry-bride-wedding-day.html           Again                                       By Stephanie Cain                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/style/vi
2023-09-07   2023-09-10 ctorias-secret-fashion-show-return.html       A New Narrative Replaces the Angels         By Vanessa Friedman              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/t-
2023-09-07   2023-09-10 magazine/fall-mens-long-coats.html            Great Lengths                               By Bon Duke and Jordan Boothe TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/09/07/t-                                                     By Alexa Brazilian and Kyoko
2023-09-07   2023-09-10 magazine/glace-fruit-candy.html               Glazed Over                                 Hamada                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/t-
2023-09-07   2023-09-10 magazine/tomo-koizumi-painting.html           Swing Shift                                 By Kurt Soller                   TX 9-332-339   2023-11-02



                                                                                 Page 5709 of 5793
                        https://www.nytimes.com/2023/09/07/theater/
2023-09-07   2023-09-10 rebecca-gilman-swing-state.html              Of Omens Alarms and an Ailing World           By Laura CollinsHughes            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/interactive/2023/09/ The Top US Colleges With the Greatest         By David Leonhardt and Ashley
2023-09-07   2023-09-10 07/magazine/college-access-index.html        Economic Diversity                            Wu                                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/interactive/2023/09/ Why Does Duke Have So Few LowIncome
2023-09-07   2023-09-10 07/magazine/duke-economic-diversity.html Students                                            By David Leonhardt              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/interactive/2023/09/ Two New Yorkers Hiked Up to the Hudson
                        07/realestate/cape-house-poughkeepsie-       Valley With 700000 Which House Was the
2023-09-07   2023-09-10 hudson-valley.html                           Right Fit                                       By Karen Angel                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/arts/mu
2023-09-08   2023-09-10 sic/jorma-panula-finland-conductors.html     The Maestro Who Leads Maestros                  By Joshua Barone                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/books/r
2023-09-08   2023-09-10 eview/claudia-dey-daughter.html              Only You Understand Me                          By Meg Howrey                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/books/r
2023-09-08   2023-09-10 eview/lauren-groff-the-vaster-wilds.html     Into the Woods                                  By Fiona Mozley                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/books/r
                        eview/myriam-gurba-creep-jenn-shapland-
                        thin-skin-wang-xiaobo-pleasure-of-
2023-09-08   2023-09-10 thinking.html                                Essays                                          By Noor Qasim                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/books/r Dad Why Did The Wild Robot Have to Be
2023-09-08   2023-09-10 eview/the-wild-robot-peter-brown.html        Sad                                             By Craig Fehrman                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/books/s Sarah Young 77 Christian Author Whose
2023-09-08   2023-09-10 arah-young-dead.html                         Book Spawned an Empire                          By Clay Risen                   TX 9-332-339   2023-11-02
                                                                     At first she would get a fever for a day once a
                                                                     month Before long the fevers were constant
                        https://www.nytimes.com/2023/09/08/magazi Then her feet started to swell Why were all
2023-09-08   2023-09-10 ne/bartonella-henselae-diagnosis.html        her tests normal                                By Lisa Sanders MD              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/magazi
2023-09-08   2023-09-10 ne/men-college-enrollment.html               Gone Guys                                       By Susan Dominus                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/nyregio Congestion Pricing Will Exist in a
2023-09-08   2023-09-10 n/congestion-pricing-.html                   Complicated Ecosystem                           By Ginia Bellafante             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/nyregio As an Artist Shrinks a City New Possibilities
2023-09-08   2023-09-10 n/ice-box-model-nyc.html                     Expand                                          By Liza Weisstuch               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/nyregio New Jersey Governor Names Next
2023-09-08   2023-09-10 n/tahesha-way-nj-lieutenant-governor.html    SecondinCommand                                 By Tracey Tully                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/opinion
2023-09-08   2023-09-10 /sept-11-attacks-survivor-trauma.html        We Can All Mourn on Sept 11                     By Gabriella Ferrigine          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/opinion                                                   By Steven Levitsky and Daniel
2023-09-08   2023-09-10 /trump-republicans-spain-brazil.html         Trump Is Nothing Without Accomplices            Ziblatt                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/opinion
                        /wisconsin-judge-impeachment-
2023-09-08   2023-09-10 democracy.html                               Breathtaking Contempt In Wisconsin              By Jamelle Bouie                TX 9-332-339   2023-11-02




                                                                                   Page 5710 of 5793
                        https://www.nytimes.com/2023/09/08/realesta
                        te/downsizing-boston-ashton-carter-
2023-09-08   2023-09-10 widow.html                                  Downsizing in Grief to Clear a Way Forward By Tim McKeough                  TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/08/realesta
2023-09-08   2023-09-10 te/nurses-seaview-hospital-staten-island.html Black Nurses Were the Front Line         By John Freeman Gill             TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/08/style/ha On Valentines Day a First Kiss Broke the
2023-09-08   2023-09-10 nnah-collins-james-tate-wedding.html          Rules                                    By Sadiba Hasan                  TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/08/style/je When Even a Cheesy Love Song Can Make
2023-09-08   2023-09-10 ssica-bendit-dickran-jebejian-wedding.html You Cry                                     By Alix Wall                     TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/08/style/ki
2023-09-08   2023-09-10 mberly-alexander-ladi-fatade-wedding.html Academic Girl Connects With Popular Guy      By Tammy LaGorce                 TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/08/style/kj-
2023-09-08   2023-09-10 smith-skyh-black-wedding.html                Offscreen They Got Their Perfect Ending   By Emma Grillo                   TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/08/style/lo
2023-09-08   2023-09-10 ckheed-martin-fashion.html                   Its MilitaryGrade Style                   By Jessica Roy                   TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/08/style/m
2023-09-08   2023-09-10 odern-love-who-deserves-to-have-a-child.html That Feeling of Emptiness Remains Untreated By Daniel Lam                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/style/qu
                        il-lemons-wants-to-be-the-robert-
2023-09-08   2023-09-10 mapplethorpe-of-his-community.html           Photographs Intended To Melt Calcified Ideas By Ruth La Ferla                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/t-
                        magazine/carrie-mae-weems-george-c-
2023-09-08   2023-09-10 wolfe.html                                   Carrie Mae Weems and George C Wolfe          By Jenny Comita                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/t-                                                     By PhilipDaniel Ducasse and Jay
2023-09-08   2023-09-10 magazine/mens-80s-fall-fashion.html          The New Wave                                 Massacret                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/t-
                        magazine/van-cleef-arpels-bridal-crown-
2023-09-08   2023-09-10 ring.html                                    First of Its Kind Last of Its Kind           By Lindsay Talbot               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/t-                                                     By Ligaya Mishan and Melody
2023-09-08   2023-09-10 magazine/vanilla-spice-blandness.html        The Richest Flavor                           Melamed                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/flori Florida Approves New Test For College
2023-09-08   2023-09-10 da-classical-learning-test-approval.html     Admissions Use                               By Dana Goldstein               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/polit As Manchin Considers the Future Democrats By Luke Broadwater and Jonathan
2023-09-08   2023-09-10 ics/joe-manchin-future.html                  Hang on His Every Word                       Weisman                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/ucla- Diversity Statements by Faculty Complicate
2023-09-08   2023-09-10 dei-statement.html                           Hiring on Campus                             By Michael Powell               TX 9-332-339   2023-11-02
                                                                                                                  By Anton Troianovski Declan
                        https://www.nytimes.com/2023/09/08/world/e Prigozhins Death Sets Off A Scramble for His Walsh Eric Schmitt Vivian Yee and
2023-09-08   2023-09-10 urope/prigozhin-wagner-russia-africa.html    Empire                                       Julian E Barnes                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/arts/dan
                        ce/george-balanchine-new-york-city-ballet-
2023-09-09   2023-09-10 legacy.html                                  Butterflies That Will Fly Forever            By Brian Seibert                TX 9-332-339   2023-11-02



                                                                               Page 5711 of 5793
                        https://www.nytimes.com/2023/09/09/arts/dan
2023-09-09   2023-09-10 ce/new-york-city-ballet-75th-anniversary.html A Revival Takes Shape Amid Chaos          By Javier C Hernndez          TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/09/arts/dan
2023-09-09   2023-09-10 ce/new-york-city-ballet-dancers-1948.html   Present At the Dawn Of a New Light          By Gia Kourlas                TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/09/busines A Lingering Debt Subdued By Time and a
2023-09-09   2023-09-10 s/private-student-loans-debt-collection.html Little Luck                                By Nick Keppler               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/09/busines Juggling Caregiving Costs And Saving for
2023-09-09   2023-09-10 s/retirement-paid-leave-caregiving.html      the Future                                 By Constance Sommer           TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/09/fashion Marc Bohan Head Designer for Dior for
2023-09-09   2023-09-10 /marc-bohan-dead.html                        Three Decades Dies at 97                   By Alex Williams              TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/09/nyregio
2023-09-09   2023-09-10 n/ghetto-gastro-pierre-serrao.html           A Chefs Full Day Is Wrapped Around a Nap   By Ilana Kaplan               TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/09/nyregio Migrants Are Eager to Work and Businesses By Jesse McKinley and Luis
2023-09-09   2023-09-10 n/migrants-work-permits.html                Are Eager to Hire Them They Cant         FerrSadurn                       TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/09/opinion
2023-09-09   2023-09-10 /jimmy-buffett-friendship.html              Living and Dying in Time                 By Maureen Dowd                  TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/09/opinion
2023-09-09   2023-09-10 /joe-biden-unpopular.html                   Why Biden Remains So Unpopular           By Ross Douthat                  TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/09/opinion What Obesity Drugs and Antidepressants
2023-09-09   2023-09-10 /weight-loss-antidepressants-stigma.html    Have in Common                           By Aaron E Carroll               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/09/realesta
                        te/windows-cleaners-apartment-landlord-     How Can I Get My Windows Clean When My
2023-09-09   2023-09-10 nyc.html                                    Landlord Refuses to Help                 By Jill Terreri Ramos            TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/09/sports/t
                        ennis/us-open-alcaraz-djokovic-final-       Could Medvedev Possibly Defeat Djokovic
2023-09-09   2023-09-10 preview.html                                Look at the 2021 Final                   By Jesus Jimnez                  TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/09/style/ge
2023-09-09   2023-09-10 t-the-baby-to-the-doctor.html               Its Just You and Me Baby                 By Yael GoldsteinLove            TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/09/technol
2023-09-09   2023-09-10 ogy/google-facebook-facial-recognition.html Anonymity Is Over Big Tech Tried to Save It By Kashmir Hill                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/us/miss A Miracle in Missouri One Nun Put Her
2023-09-09   2023-09-10 ouri-nun-habit.html                         Abbey on the Map                            By Ruth Graham and Katie Currid TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/us/polit Trumps Resilience Makes Big GOP Donors
2023-09-09   2023-09-10 ics/gop-donors-trump-primary.html           Anxious                                     By Rebecca Davis OBrien         TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/09/us/polit Tech Worker Is Stuck at Center of Documents By Ben Protess Adam Goldman
2023-09-09   2023-09-10 ics/yuscil-taveras-trump-documents-case.html Case                                       Alan Feuer and Maggie Haberman TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/09/world/a Mangosuthu Buthelezi 95 Zulu Nationalist
2023-09-09   2023-09-10 frica/mangosuthu-buthelezi-dead.html         and a Mandela Rival Dies                   By Robert D McFadden           TX 9-332-339    2023-11-02




                                                                                Page 5712 of 5793
                                                                                                                    By Catie Edmondson Aida Alami
                        https://www.nytimes.com/2023/09/09/world/a                                                  Aurelien Breeden and Constant
2023-09-09   2023-09-10 frica/morocco-earthquake-marrakesh.html      Over 2000 Killed in Morocco                    Mheut                              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/world/a G20 Declaration Omits Condemnation of
2023-09-09   2023-09-10 sia/g20-biden-russia-ukraine-war.html        Russia a Rollback From Last Year               By Katie Rogers                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/world/a Vietnam in Secret Talks To Buy Russian
2023-09-09   2023-09-10 sia/vietnam-russia-arms-deal.html            Arms                                           By Hannah Beech                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/world/e Newest Green Space in Paris An Overgrown
2023-09-09   2023-09-10 urope/paris-little-belt-climate-change.html  Rail Line                                      By Juliette GuronGabrielle         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/world/e
                        urope/soldier-prison-escape-daniel-khalife-
2023-09-09   2023-09-10 uk.html                                      Escaped Prisoner Captured in Britain           By Mark Landler                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/world/e
                        urope/ukraine-military-arms-dealer-          With Ties to Kyiv and Pentagon Cash Arms By Justin Scheck and Thomas
2023-09-09   2023-09-10 pentagon.html                                Dealer Finds a Fortune                         GibbonsNeff                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/world/
                        middleeast/palestinian-embroidery-indigenous
2023-09-09   2023-09-10 crafts.html                                  Pulling at the Thread Of Palestinian Identity By Raja Abdulrahim                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/live/2023/09/09/spo
                        rts/us-open-gauff-sabalenka/us-open-gauff- At Open Gauff Grabs the Title And the
2023-09-09   2023-09-10 sabalenka-final                              Mantle                                         By Matthew Futterman               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/busines
2023-09-10   2023-09-10 s/ai-learning-classrooms.html                Taking Notes on the AI Learning Hype           By Natasha Singer                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/insider/
2023-09-10   2023-09-10 a-hacker-by-many-other-names.html            A Hacker by Many Other Names                   By Sarah Diamond                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/sports/f 11 Things You Should Know About This
2023-09-10   2023-09-10 ootball/2023-nfl-season-start.html           NFL Season                                     By Jenny Vrentas                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/style/gi
2023-09-10   2023-09-10 rls-internet-gender.html                     On the Internet Everyone Wants to Be a Girl By Marie Solis                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/style/ne
                        w-york-city-ballet-costumes-pari-            Capturing Looks Beyond the Leotard and
2023-09-10   2023-09-10 dukovic.html                                 Tutu                                           By Ruth La Ferla                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/style/sa
2023-09-10   2023-09-10 lvation-mountain-california.html             Go Paint It on the Mountain                    By Emma Grillo and Kitra Cahana    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/us/migr In Massachusetts Towns Are Welcoming to
2023-09-10   2023-09-10 ant-crisis-massachusetts-woburn.html         Migrants but Overwhelmed                       By Jenna Russell and Sophie Park   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/us/polit
2023-09-10   2023-09-10 ics/joe-biden-hunter-relationship.html       The Peril in Bidens Inability to Say No to Son By Katie Rogers                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/live/2023/09/10/wo
                        rld/earthquake-morocco-marrakesh-news/here-Residents and Tourists On Uncharted Ground
2023-09-10   2023-09-10 is-the-latest-on-the-earthquake              After a Deadly Quake                           By Vivian Yee and Aida Alami       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/books/r
                        eview/cara-fitzpatrick-death-of-public-
2023-09-11   2023-09-10 school.html                                  A Class Apart                                  By Dale Russakoff                  TX 9-332-339   2023-11-02




                                                                                  Page 5713 of 5793
                        https://www.nytimes.com/2023/09/05/busines
2023-09-05   2023-09-11 s/pork-prices-california.html                Pork Rules Cause Industry Whiplash          By Julie Creswell              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/busines AIPowered Shopping Tool Aims to FineTune
2023-09-06   2023-09-11 s/lily-ai-retail-shopping.html               Searches                                    By Teri Agins                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/busines Minimum Corporate Tax Is Big Challenge for
2023-09-07   2023-09-11 s/corporate-minimum-tax-impact.html          Biden                                       By Alan Rappeport              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/interactive/2023/09/ Abortions Rose in Most States This Year New By Amy Schoenfeld Walker and
2023-09-07   2023-09-11 07/us/abortion-data-bans-laws.html           Data Shows                                  Allison McCann                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/arts/des
                        ign/climate-protest-gardner-museum-          Threat of ClimateChange Protest Closes
2023-09-08   2023-09-11 boston.html                                  Museum                                      By Zachary Small               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/08/arts/jaw
2023-09-08   2023-09-11 an-pathaan-shah-rukh-khan-bollywood.html Bollywoods King Breaks Record Again             By Jason M Bailey              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/movies/ African Women Are the Center Of Auteurs
2023-09-08   2023-09-11 ousmane-sembene-film-retrospective.html     Films                                        By Kelli Weston                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/nyregio Trumps Trial In Fraud Case Could Go On For By Jonah E Bromwich and Ben
2023-09-08   2023-09-11 n/donald-trump-civil-trial-date.html        3 Months                                     Protess                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/nyregio William R Phillips 92 Who Exposed
2023-09-08   2023-09-11 n/william-r-phillips-dead.html              Corruption in Police Ranks Dies              By Robert D McFadden           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/theater/
2023-09-08   2023-09-11 rachel-bloom-off-broadway-theater.html      Rachel Bloom Enjoys the Ride                 By Alexis Soloski              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/calif California May Be First In US to Ban Caste
2023-09-08   2023-09-11 ornia-caste-discrimination.html             Bias                                         By Amy Qin                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/lucy- Embattled Literacy Project Loses Columbias
2023-09-08   2023-09-11 calkins-teachers-college.html               Support                                      By Dana Goldstein              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/polit Justice Dept Asks Justices to Hear Case Over
2023-09-08   2023-09-11 ics/supreme-court-abortion-pill.html        Limiting Distribution of Abortion Pill       By Abbie VanSickle             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/us/polit Upgrade Has White House Situation Room
2023-09-08   2023-09-11 ics/white-house-situation-room.html         Looking Just Like in the Movies              By Michael D Shear             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/arts/mu
2023-09-09   2023-09-11 sic/talking-heads-stop-making-sense.html    Part Period Piece Part Prophecy              By Jon Pareles                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/09/busines Saudi Arabia Is Pouring Money Into Sports By Lauren Hirsch Michael J de la
2023-09-09   2023-09-11 s/dealbook/tennis-business-saudi-arabia.html Could It Be Setting Its Sights on Tennis Next Merced and Ravi Mattu        TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/09/movies/
2023-09-09   2023-09-11 venice-film-festival-winner-poor-things.html Poor Things Movie Receives Golden Lion     By Nicolas Rapold               TX 9-332-339   2023-11-02
                                                                     Citing Financial Strain of Migrant Care on
                        https://www.nytimes.com/2023/09/09/nyregio New York City Adams Calls for More Budget
2023-09-09   2023-09-11 n/nyc-budget-cuts-adams-migrants.html        Cuts                                       By Hurubie Meko                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/nyregio Can the NYPD Overhaul How It Responds to By Corey Kilgannon and Maria
2023-09-09   2023-09-11 n/protest-nypd-deal.html                     Protests                                   Cramer                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/opinion
2023-09-09   2023-09-11 /trump-rubiales-misogyny.html                Beware the Men Who Double Down             By Elizabeth Spiers             TX 9-332-339   2023-11-02



                                                                               Page 5714 of 5793
                        https://www.nytimes.com/2023/09/09/us/depo
                        rtation-pennsylvania-fugitive-danelo-      In Major Crimes Deportation Is Often
2023-09-09   2023-09-11 cavalcante.html                            Delayed                                      By Miriam Jordan                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/09/us/polit Haley Is Running as an Envoy For New GOP
2023-09-09   2023-09-11 ics/haley-abortion-2024-presidential-race.html Abortion Path                              By Lisa Lerer                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/your-
                        money/bed-bath-beyond-employees-               If a Company Goes Bankrupt There Are Risks
2023-09-09   2023-09-11 401k.html                                      to 401k Accounts                           By Ann Carrns                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/sports/t Gauff Already a Champion at 19 Feels Ready
2023-09-10   2023-09-11 ennis/us-open-gauff-fame.html                  for Fames Bright Lights                    By David Waldstein              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/us/guns-New Mexico Governor Pauses Carrying of
2023-09-10   2023-09-11 ban-new-mexico-albuquerque.html                Guns in Public                             By Colbi Edmonds                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/us/polit At Iowas Biggest Game Football Collides       By Anjali Huynh and Nicholas
2023-09-10   2023-09-11 ics/iowa-football-trump-desantis.html          With Politics                              Nehamas                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/arts/des
                        ign/diplomatic-reception-rooms-state-
2023-09-10   2023-09-11 department.html                                Diplomatic Treasures And What They Say     By Julie Lasky                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/arts/mu Singer Denounced Over Video She Made in
2023-09-10   2023-09-11 sic/chinese-singer-mariupol-ukraine.html       Ukraine                                    By Javier C Hernndez            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/busines
2023-09-10   2023-09-11 s/media/alibaba-daniel-zhang.html              Top Executive Of Alibaba Steps Aside       By John Koblin                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/opinion Musks Antisemitism Problem Isnt About Free
2023-09-10   2023-09-11 /musk-free-speech.html                         Speech                                     By David French                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/opinion Our Supposedly Glorious Past Existed Only
2023-09-10   2023-09-11 /small-town-racism.html                        for Some                                   By Esau McCaulley               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/10/sports/t
2023-09-10   2023-09-11 ennis/djokovic-wins-us-open-medvedev.html No 24 Like Clockwork                          By Matthew Futterman              TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/10/sports/t USTA Is Criticized Over How Its Dealing
2023-09-10   2023-09-11 ennis/tennis-usta-kylie-mckenzie-court.html With a Sex Abuse Suit                       By Matthew Futterman              TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/10/sports/t At the US Open as Legends Yield the Court
2023-09-10   2023-09-11 ennis/us-open-gauff-shelton-tiafoe-fritz.html Energy Is Rising                          By Kurt Streeter                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/sports/t
2023-09-10   2023-09-11 ennis/us-open-infrared-photography.html       Seeing The Open Through Infrared Light    By Karsten Moran                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/us/dane Escaped Pennsylvania Killer Sighted Beyond By Joel Wolfram and Campbell
2023-09-10   2023-09-11 lo-cavalcante-pennsylvania-search.html        Search Area                               Robertson                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/us/mel-
                        tucker-michigan-football-sexual-              Michigan State Suspends Coach Amid Claims By Chris Cameron and Orlando
2023-09-10   2023-09-11 harassment.html                               Of Harassment                             Mayorquin                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/us/polit
2023-09-10   2023-09-11 ics/biden-vietnam-hanoi.html                  Forging New Ties With an Old Foe          By Peter Baker and Katie Rogers   TX 9-332-339   2023-11-02




                                                                                 Page 5715 of 5793
                        https://www.nytimes.com/2023/09/10/us/polit FarRight Vows to Block Spending Bill as
2023-09-10   2023-09-11 ics/congress-spending-battle.html           Government Shutdown Looms                     By Carl Hulse                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/world/a Moroccan Towns Struck by Quake Cut Off         By Vivian Yee Aida Alami and
2023-09-10   2023-09-11 frica/morocco-earthquake-rescues.html       From Aid                                      Jenny Gross                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/world/e
                        urope/iran-sweden-prisoners-johan-          Family of EU Official Details Harsh
2023-09-10   2023-09-11 floderus.html                               Conditions He Faces in Iran Prison            By Matina StevisGridneff          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/world/e Chief Soccer Official of Spain Resigns Over    By Michael Wolgelenter and
2023-09-10   2023-09-11 urope/luis-rubiales-resigns-spain-kiss.html Unwanted Kiss                                 Rachel Chaundler                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/10/world/e After US Prison Term Russian Arms
2023-09-10   2023-09-11 urope/russia-bout-arms-dealing-politics.html Trafficker Turns to Local Politics           By Valerie Hopkins                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/world/e
2023-09-10   2023-09-11 urope/russia-ukraine-kyiv-drones.html        Russia Targets Kyiv With Barrage of Drones   By Constant Mheut                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/world/e
2023-09-10   2023-09-11 urope/russian-ukraine-torture.html           Expert Says Torture Is Endorsed in Moscow    By Carlotta Gall                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/arts/tele
                        vision/whats-on-tv-this-week-welcome-to-
                        wrexham-and-the-mtv-video-music-
2023-09-11   2023-09-11 awards.html                                  This Week on TV                              By Shivani Gonzalez               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/11/busines Chinas Latest Power Move Control What
2023-09-11   2023-09-11 s/china-fashion-proposal-hurt-feelings.html People Wear                                   By Li Yuan                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/nyregio Child Care Is a Strain for Most in New York    By Eliza Shapiro Asmaa Elkeurti
2023-09-11   2023-09-11 n/child-care-nyc.html                       City                                          and Maansi Srivastava             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/nyregio An Ocean From Ground Zero A Peaceful
2023-09-11   2023-09-11 n/sept-11-memorial-ireland-kinsale.html     Grove Recalls 911                             By Claire Fahy                    TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/11/sports/f Cobb Knows Rodgers Well and Hes Got
2023-09-11   2023-09-11 ootball/aaron-rodgers-randall-cobb-jets.html Some Insights for Jets                     By Emmanuel Morgan                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/world/ Displaced by War but Taking Their Mate
2023-09-11   2023-09-11 middleeast/yerba-mate-tea-syria.html         Wherever They Go                           By Raja Abdulrahim                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/17/science Frequency Shifts Mars Lander Serves Up
2023-08-17   2023-09-12 /mars-days-rotation-insight.html             Surprise The Red Planet Is Spinning Faster By Kenneth Chang                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/29/science Patients Baffling Illness Is Attributed to a
2023-08-29   2023-09-12 /live-brain-worm-australia.html              Worm                                       By Amanda Holpuch                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/science Serious Gapes In the Snake Kingdom a Small
2023-08-31   2023-09-12 /egg-eating-snake-prey.html                  Species Has a Really Big Mouth             By Kate Golembiewski                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/well/eat Seeking to Prevent Dementia With the MIND
2023-08-31   2023-09-12 /mind-diet-dementia.html                     Diet                                       By Alice Callahan                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/31/well/ret
2023-08-31   2023-09-12 inol-skin-benefits.html                      How to Use Retinol Correctly               By Melinda Wenner Moyer             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/movies/
2023-09-01   2023-09-12 science-fiction-movies-streaming.html        Surreal Adventures and CuteRobot Charm     By Elisabeth Vincentelli            TX 9-332-339   2023-11-02




                                                                                Page 5716 of 5793
                        https://www.nytimes.com/2023/09/01/well/liv
2023-09-01   2023-09-12 e/tampon-tax-texas.html                      Tampon Fairness                             By Alisha Haridasani Gupta     TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/05/well/toe
2023-09-05   2023-09-12 nail-fungus-treatment.html                   How Do I Get Rid of Toenail Fungus          By Caroline Hopkins            TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/06/climate
2023-09-06   2023-09-12 /wildfire-lookouts-fire-towers.html          Spotting Wildfires With a Sharp Human Lens By Raymond Zhong and Mark Felix TX 9-332-339     2023-11-02
                                                                     Arboreal Adaptations What Goes Up a Tree
                        https://www.nytimes.com/2023/09/06/science Must Evolve The Ability to Climb Back
2023-09-06   2023-09-12 /chimpanzees-trees-evolution.html            Down                                        By Miriam Fauzia               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/interactive/2023/09/
2023-09-06   2023-09-12 06/well/move/morning-yoga-beginner.html 5Minute Morning Yoga                             By Melinda Wenner Moyer        TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/07/well/liv
2023-09-07   2023-09-12 e/covids-heart-health.html                   Covids Effects on Your Heart                By Dana G Smith                TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/08/arts/ai- Giving ChatGPT Free Rein to Curate an Art
2023-09-08   2023-09-12 chatgpt-curators-museums.html                Show                                        By Zachary Small               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/08/world/a After Fire AntiImmigrant Backlash Intensifies
2023-09-08   2023-09-12 frica/south-africa-fire-immigrants.html      in South Africa                             By John Eligon                 TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/09/arts/mu Richard Davis Luminous Bassist Across a
2023-09-09   2023-09-12 sic/richard-davis-dead.html                  Galaxy of Genres Dies at 93                 By Andrey Henkin               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/09/books/l
2023-09-09   2023-09-12 auren-groff-vaster-wilds.html                When a Writer Tells You to Take a Hike      By Elizabeth A Harris          TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/09/busines Max Gomez 72 Medical Reporter on TV for 4
2023-09-09   2023-09-12 s/media/max-gomez-dead.html                  Decades                                     By Richard Sandomir            TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/09/us/polit
                        ics/gavin-newsom-democrats-white-            Newsom Urges Democrats to Buck Up and
2023-09-09   2023-09-12 house.html                                   Back Biden in 2024                          By Adam Nagourney              TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/09/us/polit JFK Assassination Witness Breaks Silence
2023-09-09   2023-09-12 ics/jfk-assassination-witness-paul-landis.html and Raises New Questions                 By Peter Baker                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/health/
2023-09-10   2023-09-12 hiv-aging-statins.html                         New Hope for the Silver Tsunami          By Benjamin Ryan                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/us/polit Trailing Trump DeSantis Seeks Edge by
2023-09-10   2023-09-12 ics/desantis-covid-trump-2024-iowa.html        Reviving Pandemic Politics               By Nicholas Nehamas               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/arts/dan
                        ce/review-tanztheater-wuppertal-boris-
2023-09-11   2023-09-12 charmatz.html                                  Close Bodies Soaring Space               By Roslyn Sulcas                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/arts/mu Met Commissions An Opera About
2023-09-11   2023-09-12 sic/met-opera-ukrainian-opera.html             Abducted Children                        By Javier C Hernndez              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/arts/tele
2023-09-11   2023-09-12 vision/the-other-black-girl.html               At the Office A Sisterhood Doesnt Click  By LeighAnn Jackson               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/busines                                              By Keith Bradsher Chris Buckley
2023-09-11   2023-09-12 s/apple-china-iphones.html                     China Said To Repress IPhone Use         and Tripp Mickle                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/busines
                        s/consumer-financial-protection-bureau-banks-US Judge Blocks Efforts To Check Banks for
2023-09-11   2023-09-12 discrimination.html                            Bias                                     By Emily Flitter                  TX 9-332-339   2023-11-02



                                                                                Page 5717 of 5793
                        https://www.nytimes.com/2023/09/11/busines
2023-09-11   2023-09-12 s/media/disney-charter-agreement-cable.html Charter Ends Stalemate With Disney           By Benjamin Mullin               TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/11/busines
2023-09-11   2023-09-12 s/mini-electric-britain-bmw.html            BMW Plans to Build Electric Minis in Britain By Stanley Reed                  TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/11/busines JM Smucker Buys Hostess and 900 Million
2023-09-11   2023-09-12 s/smucker-twinkies-hostess-brands-deal.html Debt                                      By J Edward Moreno                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/11/health/c
                        ovid-vaccine-boosters-fda-pfizer-           Given FDA Approval Latest Covid Vaccines By Christina Jewett and Noah
2023-09-11   2023-09-12 moderna.html                                Expected in Coming Days                   Weiland                             TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/11/insider/
2023-09-11   2023-09-12 delta-flight-723-crash.html                 50 Years After Tragedy Finding Connection By Emmett Lindner                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/11/movies/
                        new-york-fiscal-crisis-documentary-
2023-09-11   2023-09-12 rohatyn.html                                Revisiting New York On the Edge of Ruin   By Sam Roberts                      TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/11/nyregio 22 Years On Mourners at Ground Zero Honor
2023-09-11   2023-09-12 n/september-11-memorial-event.html          Victims of 911 Terror Attacks             By Claire Fahy                      TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/11/opinion
2023-09-11   2023-09-12 /biden-trump-immigration-hunter.html        Which Crisis Should We Talk About First   By Gail Collins and Bret Stephens   TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/11/opinion
2023-09-11   2023-09-12 /columnists/democracies-minority-rule.html The Straitjacket of Minority Rule              By Michelle Goldberg            TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/11/opinion
2023-09-11   2023-09-12 /elon-musk-adl.html                        Musk Has Crossed a Line                        By David Austin Walsh           TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/11/opinion
                        /inflation-unemployment-phillips-
2023-09-11   2023-09-12 recession.html                             How Goldilocks Came to the US Economy          By Paul Krugman                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/11/science
                        /paul-henri-nargeolet-titanic-titan-                                                      By William J Broad and Catherine
2023-09-11   2023-09-12 submersible.html                           Risky Dives to the Titanic Were Irresistible   Porter                           TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/11/science
2023-09-11   2023-09-12 /space/astronomy-universe-simulations.html The Universes Unpredictability                 By Dennis Overbye               TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/11/sports/b
2023-09-11   2023-09-12 aseball/joey-votto-reds.html                The Meticulously Viral Joey Votto             By Zach Buchanan                TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/11/sports/b It Wasnt a First But for a Father It Was
2023-09-11   2023-09-12 aseball/yankees-brewers.html                Merely the Best                               By Benjamin Hoffman             TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/11/sports/b From Friend in a Violent Sport A Message of
2023-09-11   2023-09-12 asketball/jamal-murray-denver-nuggets.html Calm for Murray                              By Tania Ganguli                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/11/sports/f
2023-09-11   2023-09-12 ootball/giants-cowboys-nfl.html             Giants Opener It Was a Bad Game             By Victor Mather                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/11/technol How the iPhone Defied Gravity and
2023-09-11   2023-09-12 ogy/apple-iphone-17.html                    Dominated                                   By Tripp Mickle                   TX 9-332-339    2023-11-02



                                                                                  Page 5718 of 5793
                        https://www.nytimes.com/2023/09/11/technol Conspiracies Gain Traction As Infections
2023-09-11   2023-09-12 ogy/covid-19-uptick-conspiracy-theorists.html Tick Higher                             By Stuart A Thompson              TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/11/technol Why the Justice Dept Is Suing the Search
2023-09-11   2023-09-12 ogy/google-monopoly-justice-dept-trial.html Engine Giant                                 By David McCabe and Nico Grant TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/11/technol Guide to Key Figures Inside the Courtroom
2023-09-11   2023-09-12 ogy/google-trial-judge-plaintiffs.html      At an Antitrust Trial                        By Cecilia Kang                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/technol Likening Googles Antitrust Trial to
2023-09-11   2023-09-12 ogy/microsoft-google-antitrust.html         Microsofts                                   By Steve Lohr                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/theater/ Rachel McAdams to Star in Mary Jane on
2023-09-11   2023-09-12 rachel-mcadams-mary-jane-broadway.html      Broadway                                     By Michael Paulson               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/us/cava
                        lcante-brazil-escaped-prisoner-             Escapee Had Been Fugitive In Brazil Before
2023-09-11   2023-09-12 pennsylvania.html                           Jailbreak From Pennsylvania Prison           By Ana Ionova                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/us/polit For Biden Part of Neither A War Nor Its
2023-09-11   2023-09-12 ics/biden-vietnam-veteran-visit.html        Protests A Visit Offers Opportunity          By Peter Baker                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/us/polit                                              By David E Sanger and Steven Lee
2023-09-11   2023-09-12 ics/china-disinformation-ai.html             China Uses AI to Spread Lies About US Fire Myers                             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/us/polit Some in GOP Oppose Ukraine Aid Even as
2023-09-11   2023-09-12 ics/ukraine-aid-republicans.html            Districts Benefit                            By Karoun Demirjian              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/us/polit Virginia a Test Case for Voter Priorities in
2023-09-11   2023-09-12 ics/virginia-youngkin-elections.html        2024                                         By Trip Gabriel                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/us/polit
                        ics/youngkin-pardon-scott-smith-
2023-09-11   2023-09-12 loudoun.html                                Youngkin Pardons Man Arrested at Meeting By Stephanie Saul                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/world/a                                               By Mohammed Abdusamee and
2023-09-11   2023-09-12 frica/libya-flooding.html                   Hundreds Are Feared Dead in Libya Flooding Isabella Kwai                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/world/a
2023-09-11   2023-09-12 sia/biden-age.html                          Whirlwind Trip for 80YearOld President       By Katie Rogers                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/11/world/a At Oceans Court Tribunal Island Nations
2023-09-11   2023-09-12 sia/island-nations-ocean-court-climate.html Speak Up About Climate Change Toll        By Marlise Simons                 TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/11/world/a Kim Has Something Putin Urgently Needs     By Paul Sonne and Valeriya
2023-09-11   2023-09-12 sia/putin-kim-russia-north-korea.html       And Thats a New Twist                     Safronova                         TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/11/world/e US Cave Expert Is Rescued After Becoming
2023-09-11   2023-09-12 urope/mark-dickey-rescued-turkey-cave.html Ill in Turkey                              By Kaly Soto and Safak Timur      TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/11/world/e                                            By Vivian Yee Aida Alami Yassine
2023-09-11   2023-09-12 urope/morocco-earthquake.html              Daughter Lost A Father Digs In Desperation Oulhiq and Sergey Ponomarev      TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/09/11/world/e Womens Soccer in Spain Has Troubles Even
2023-09-11   2023-09-12 urope/rubiales-spain-quit-soccer.html      After National Federation Chief Quits      By Rachel Chaundler              TX 9-332-339      2023-11-02




                                                                                Page 5719 of 5793
                        https://www.nytimes.com/2023/09/11/world/e An Arrest Fuels Calls to Toughen Britains
2023-09-11   2023-09-12 urope/uk-suspected-china-spy-beijing.html    Stance on China                             By Mark Landler          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/sports/a Rodgers in First Jets Game Leaves With an
2023-09-12   2023-09-12 aron-rodgers-jets-injury.html                Ankle Injury                                By Emmanuel Morgan       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/busines TikTok Shop Aims to Turn Influencing Into
2023-09-12   2023-09-12 s/tiktok-shop-e-commerce.html                Sales                                       By Sapna Maheshwari      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/dining/
2023-09-12   2023-09-12 michelin-star-restaurants-america.html       Michelin Stars Bring Prestige But at a Cost By Julia Moskin          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/science
2023-09-12   2023-09-12 /trout-big-hole-river-climate-change.html    Zombie Trout Unsettle Montana               By Jim Robbins           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/us/polit US Seeks to Bring Home Americans Trapped
2023-09-12   2023-09-12 ics/syria-family-repatriate.html             in Syria                                    By Charlie Savage        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/upshot/ Consistent Signs of Erosion in Black and
2023-09-05   2023-09-13 biden-trump-black-hispanic-voters.html       Hispanic Support for Biden                  By Nate Cohn             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/dining/r
2023-09-06   2023-09-13 osh-hashana-recipes.html                     A Special Ingredient Thats Also a Symbol    By Joan Nathan           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/arts/tele Arleen Sorkin 67 Soap Opera Jokester Who
2023-09-07   2023-09-13 vision/arleen-sorkin-dead.html               Voiced a Sidekick to the Joker              By Neil Genzlinger       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/dining/
2023-09-07   2023-09-13 best-french-fries-nyc.html                   Crunchiness Thats Not Easy to Come By       By Pete Wells            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/dining/
2023-09-07   2023-09-13 green-salad-tomato-dressing.html             Tomatoes Are Your Juicy Secret Weapon       By Melissa Clark         TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/08/arts/mu
2023-09-08   2023-09-13 sic/james-p-johnson-mary-lou-williams.html Revisiting the Corner of Jazz and Classical    By Seth Colter Walls    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/dining/
2023-09-08   2023-09-13 concord-grape-jelly-recipe.html              Spread the Joy With a Delicious Preserve     By Yewande Komolafe     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/opinion
2023-09-10   2023-09-13 /motherhood-bodily-autonomy.html             Mothers Want to Be Left Alone                By Amanda Montei        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/opinion Corruption Remains an Existential Threat to
2023-09-10   2023-09-13 /ukraine-war-corruption.html                 Ukraine                                      By Farah Stockman       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/world/e Concrete Crisis in UK Schools Jumbles
2023-09-10   2023-09-13 urope/uk-schools-raac-concrete.html          Families Lives                               By Megan Specia         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/arts/tele
                        vision/drew-barrymore-show-return-
2023-09-11   2023-09-13 strike.html                                  Drew Barrymores Talk Show Is Picketed        By Julia Jacobs         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/arts/tele
2023-09-11   2023-09-13 vision/the-morning-show-mimi-leder.html      A Director Endorses Taking Big Swings        By Alexis Soloski       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/busines
                        s/economy/california-restaurant-union-       Unions and Restaurants In California Reach
2023-09-11   2023-09-13 deal.html                                    Deal                                         By Santul Nerkar        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/dining/f
2023-09-11   2023-09-13 ood-fashion-fit.html                         Front Burner                                 By Florence Fabricant   TX 9-332-339   2023-11-02




                                                                                 Page 5720 of 5793
                        https://www.nytimes.com/2023/09/11/nyregio Cuomo Wins Book Lawsuit Leaving an
2023-09-11   2023-09-13 n/andrew-cuomo-book-jcope.html              Ethics Panel in Limbo                     By Grace Ashford                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/opinion
2023-09-11   2023-09-13 /biden-trump-age.html                       Trump Is Really Old Too                   By Frank Bruni                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/opinion Rich Countries Get Good Medicine and the
2023-09-11   2023-09-13 /india-medicine-safety.html                 Poor Sometimes Get Poison                 By Vidya Krishnan                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/science Ian Wilmut Who Cloned a Sheep and Stunned By Clay Risen and Amanda
2023-09-11   2023-09-13 /ian-wilmut-dead.html                       the World Dies at 79                      Holpuch                                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/us/israe Americans Are Joining Israeli Protests
2023-09-11   2023-09-13 l-protests-americans.html                   Against Judicial Changes                  By Marc Tracy                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/us/polit Biden Campaign Tries To Highlight His
2023-09-11   2023-09-13 ics/biden-campaign-age-approval.html        Vigor As Partys Jitters Grow              By Reid J Epstein and Lisa Lerer         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/us/polit Federal Contractor Charged With Being Spy By Adam Goldman and Glenn
2023-09-11   2023-09-13 ics/ethiopia-leak-classified.html           for Ethiopia                              Thrush                                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/us/robe Robert S Bennett 84 Lawyer for Politicians
2023-09-11   2023-09-13 rt-s-bennett-dead.html                      In Scandals Is Dead                       By Neil A Lewis                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/world/e
                        urope/ukraine-counteroffensive-russia-      Along Jagged 1000Mile Front Unrelenting
2023-09-11   2023-09-13 war.html                                    Battles in Ukraine                        By Marc Santora                          TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/11/world/ Israelis Feeling Pain of Discord In Daily           By Patrick Kingsley and Moises
2023-09-11   2023-09-13 middleeast/israel-protests-judicial-crisis.html Lives                                         Saman                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/health/t
                        ransgender-minors-washington-                   University to Stop Offering Gender Drugs to
2023-09-12   2023-09-13 university.html                                 Minors Citing New Law                         By Virginia Hughes               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/movies/
                        talking-heads-stop-making-sense-spike-          Talking Heads Reunite for Stop Making
2023-09-12   2023-09-13 lee.html                                        Sense                                         By Jason Bailey                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/world/a
                        sia/kim-jong-un-armored-train-north-                                                          By Choe SangHun and Russell
2023-09-12   2023-09-13 korea.html                                      North Korean Dynasts Mystery Train            Goldman                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/arts/des Pioneer Works Names A New Chief
2023-09-12   2023-09-13 ign/mara-manus-pioneer-works.html               Executive                                     By Melena Ryzik                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/arts/mu Curtis Fowlkes 73 Playful Magician Of
2023-09-12   2023-09-13 sic/curtis-fowlkes-dead.html                    AvantJazz Who Lifted Rock Stars               By Alex Williams                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/arts/mu Insightful Interpretations From a Sensitive
2023-09-12   2023-09-13 sic/julia-bullock-soprano-review.html           Soprano                                       By Joshua Barone                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/arts/mu
                        sic/review-rheingold-ring-wagner-royal-opera-
2023-09-12   2023-09-13 met.html                                        This London Ring Is on New Yorks Radar        By Zachary Woolfe                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/arts/tele
                        vision/dreaming-whilst-black-the-other-black- Representing in the Office Can Be an
2023-09-12   2023-09-13 girl.html                                       Absolute Horror                               By James Poniewozik              TX 9-332-339   2023-11-02




                                                                                   Page 5721 of 5793
                        https://www.nytimes.com/2023/09/12/busines
                        s/economy/income-poverty-health-                                                        By Ben Casselman and Lydia
2023-09-12   2023-09-13 insurance.html                             Poverty Rate Rose in 2022 As Aid Ended       DePillis                         TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/12/busines
2023-09-12   2023-09-13 s/lyft-women-connect.html                  Lyft Offers App Match For Women              By Kellen Browning               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/12/busines New York Pension Funds Sue Fox Over
2023-09-12   2023-09-13 s/media/fox-shareholder-lawsuit.html       Falsehoods                                   By Katie Robertson               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/12/busines                                              By Maureen Farrell and Anupreeta
2023-09-12   2023-09-13 s/softbank-arm-ipo-chips.html              SoftBank Needing a Win Is Betting on Arm     Das                              TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/12/climate BillionDollar Disasters Hit a Record 23 in
2023-09-12   2023-09-13 /billion-dollar-disasters.html             2023                                         By Christopher Flavelle          TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/12/climate
2023-09-12   2023-09-13 /mining-federal-lands-metals.html          Update for an 1872 Mining Law Is Urged       By Lisa Friedman                 TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/12/climate
2023-09-12   2023-09-13 /mount-rainier-glaciers-climate-change.html The Glaciers of Rainier Are Forever No More By Somini Sengupta                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/dining/
2023-09-12   2023-09-13 small-nyc-apartments-kitchens.html          New Yorks Quirky Kitchens                   By Jess Eng                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/health/a Lawsuits Seek Guarantee of Abortion Access
2023-09-12   2023-09-13 bortion-rights-lawsuits.html                for Emergency Cases                         By Pam Belluck                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/health/c Decongestant In Cold Cures Is Ineffective   By Christina Jewett and Roni Caryn
2023-09-12   2023-09-13 old-medicine-decongestant-fda.html          Panel Finds                                 Rabin                              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/health/c Latest Covid Vaccines Endorsed for Almost
2023-09-12   2023-09-13 ovid-cdc-vaccines.html                      All                                         By Apoorva Mandavilli              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/insider/
2023-09-12   2023-09-13 japan-lgbtq-rights.html                     A JPop Star Shines Light on LGBTQ Rights By Josh Ocampo                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/nyregio
                        n/ny-jets-aaron-rodgers-injury-sports-      High Hopes Are ShortLived In City That Cant
2023-09-12   2023-09-13 fans.html                                   Catch Break                                 By Christopher Maag                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/nyregio SUNY Expands Program to Aid Students
2023-09-12   2023-09-13 n/suny-college-financial-support-asap.html  With Fees and Transit Costs                 By Sharon Otterman                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/12/sports/f                                             By Victor Mather and Emmanuel
2023-09-12   2023-09-13 ootball/aaron-rodgers-achilles-injury-jets.html Well That Was Quick                     Morgan                           TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/12/sports/f ExNFL Network Reporter Charges Bias in      By Ken Belson and Katherine
2023-09-12   2023-09-13 ootball/jim-trotter-nfl-network-lawsuit.html Lawsuit                                    Rosman                           TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/12/sports/h
                        orse-racing/churchill-downs-horse-deaths-    Report Finds No Clear Reason for Equine
2023-09-12   2023-09-13 report.html                                  Deaths at Churchill Downs                  By Joe Drape                     TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/12/sports/t Panel Gives Halep FourYear Suspension For
2023-09-12   2023-09-13 ennis/halep-suspended-doping.html            Doping Violation                           By Matthew Futterman             TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/12/technol Apple Unveils iPhone 15 With a New USBC
2023-09-12   2023-09-13 ogy/apple-iphone-15-usb-c.html               Port                                       By Tripp Mickle                  TX 9-332-339     2023-11-02




                                                                                  Page 5722 of 5793
                        https://www.nytimes.com/2023/09/12/technol Semiconductor Firm Juggles Issues Before
2023-09-12   2023-09-13 ogy/arm-ipo-chips-softbank.html                 2023s Biggest IPO                           By Don Clark                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/technol Government Casts Google As a Bully Of            By David McCabe and Cecilia
2023-09-12   2023-09-13 ogy/google-monopoly-antitrust-trial.html        Rivals                                      Kang                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/theater/
2023-09-12   2023-09-13 water-for-elephants-broadway.html               Water for Elephants to Broadway             By Michael Paulson             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/upshot/
2023-09-12   2023-09-13 maiden-names-change.html                        Most Brides Still Take Their Husbands Name By Claire Cain Miller           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/us/dane
2023-09-12   2023-09-13 lo-cavalcante-armed-pennsylvania.html           Escapee Is Now Armed After Stealing a Rifle By Campbell Robertson          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/us/dane
                        lo-cavalcante-mother-pennsylvania-              Fugitives Mother Says Her Son Has Been
2023-09-12   2023-09-13 fugitive.html                                   Trained for Survival                        By Ana Ionova and Jack Nicas   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/us/penn
                        sylvania-fugitive-joins-long-history-of-notable Pennsylvania Fugitive Joins List Of Notable
2023-09-12   2023-09-13 manhunts.html                                   Manhunts in History                         By Anna Betts                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/12/us/polit McCarthy Opens Inquiry of Biden Appeasing By Carl Hulse Luke Broadwater
2023-09-12   2023-09-13 ics/mccarthy-biden-impeachment-inquiry.html Right                                       and Annie Karni                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/us/polit
                        ics/senior-biden-aide-who-quietly-helped-
2023-09-12   2023-09-13 shape-economic-agenda-is-leaving.html       Economic Aide To the President Is Departing By Jim Tankersley                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/us/polit
                        ics/tyre-nichols-memphis-officers-federal-  Officers Face New Charges In the Death Of
2023-09-12   2023-09-13 indictment.html                             Nichols                                     By Emily Cochrane                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/us/texa
                        s-paxton-impeachment-lawyers-buzbee-        Titans of Texas Law Face Off in an          By J David Goodman and David
2023-09-12   2023-09-13 hardin.html                                 Impeachment Trial                           Montgomery                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/world/a Even in Remote Areas Civilians Lead Rescue
2023-09-12   2023-09-13 frica/morocco-earthquake-rescues.html       in Wake of Earthquake                       By Catherine Porter                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/12/world/a Court Acquits Top Journalist In Philippines
2023-09-12   2023-09-13 sia/philippines-maria-ressa-tax-acquitted.html In Tax Case                                By John Yoon and Camille Elemia TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/12/world/e Putin Denounces Persecution of Trump and       By Paul Sonne and Michael C
2023-09-12   2023-09-13 urope/putin-trump-musk.html                    Calls Musk Outstanding                     Bender                          TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/12/world/
                        middleeast/israel-supreme-court-power-         Israeli Supreme Court Begins Considering
2023-09-12   2023-09-13 limit.html                                     Law to Curb Its Power                      By Patrick Kingsley              TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/12/world/                                             By Mohammed Abdusamee Vivian
2023-09-12   2023-09-13 middleeast/libya-floods-dams-collapse.html Floods Kill Over 5000 in Libya             Nereim and Isabella Kwai     TX 9-332-339           2023-11-02
                        https://www.nytimes.com/2023/09/12/world/
                        middleeast/morocco-earthquake-king-        Morocco Quake Puts Spotlight On a Powerful
2023-09-12   2023-09-13 mohammed-vi.html                           Secretive King                             By Steven Erlanger           TX 9-332-339           2023-11-02




                                                                                  Page 5723 of 5793
                        https://www.nytimes.com/2023/09/12/theater/
2023-09-13   2023-09-13 infinite-life-review.html                    Life in the Fasting Lane                   By Jesse Green                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/us/polit State Dept Backs Swap Of Iran Funds For
2023-09-13   2023-09-13 ics/biden-iran-prisoners-deal.html           Prisoners                                  By Michael Crowley                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/busines Modis Bold Plan for India A ChipMaking
2023-09-13   2023-09-13 s/india-semiconductors.html                  Superpower                                 By Alex Travelli                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/sports/b
2023-09-13   2023-09-13 asketball/wnba-playoff-preview.html          Can Any Team Stop the Liberty And the Aces By Victor Mather                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/t-
                        magazine/villa-lena-tuscany-dinner-mqbmbq- In Tuscany a Dinner to Celebrate Artists Who
2023-09-05   2023-09-14 jordan-anderson.html                         Are Black and Queer                        By Laura May Todd                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/style/fa                                             By Katie Van Syckle and Melissa
2023-09-08   2023-09-14 shion-week-new-york-eric-adams.html          Follow the Stars Across the City           Guerrero                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/style/he
                        lmut-lang-peter-do-new-york-fashion-
2023-09-09   2023-09-14 week.html                                    Helmut Langs Legacy Constricts a Designer By Vanessa Friedman                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/sports/b Theyre Losing Sleep But Not About
2023-09-10   2023-09-14 aseball/dodgers-babies.html                  Ballgames                                  By Scott Miller                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/arts/tele
2023-09-11   2023-09-14 vision/special-ops-lioness.html              Special Ops Lioness A Reconsideration      By Mike Hale                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/fashion
2023-09-11   2023-09-14 /steven-meisel-party-supermodels.html        Models Present Guest of Honor Not          By Jacob Bernstein                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/style/ral
                        ph-lauren-coach-khaite-new-york-fashion-
2023-09-11   2023-09-14 week.html                                    Gathering All the Tribes of New York       By Vanessa Friedman               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/upshot/                                              By Nate Cohn and Alicia
2023-09-11   2023-09-14 electoral-college-trump-2024.html            Trumps Teetering Electoral College Edge    Parlapiano                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/us/los-
2023-09-11   2023-09-14 angeles-redistricting-process.html           Revealing Truth Behind Redistricting in LA By Soumya Karlamangla             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/world/a Nelia Sancho 71 Who Saw Execution And
2023-09-11   2023-09-14 sia/nelia-sancho-dead.html                   Found Calling as a Rights Activist         By Sara Tardiff                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/opinion America Already Knows How to Make
2023-09-12   2023-09-14 /maternal-health-childbirth.html             Childbirth Safer                           By Mara Gay                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/arts/mu
                        sic/desmond-child-livin-on-a-prayer-
2023-09-12   2023-09-14 book.html                                    Desmond Childs Life Is a Pop Hit Too       By Jim Farber                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/arts/mu
                        sic/new-york-philharmonic-gift-oscar-tang- New York Philharmonic Receives 40 Million
2023-09-12   2023-09-14 agnes-hsu-tang.html                          Donation                                   By Javier C Hernndez              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/books/p Pulitzer Prizes to Embrace A Broader
2023-09-12   2023-09-14 ulitzer-prizes-eligibility-noncitizens.html  Candidate Pool                             By Alexandra Alter                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/busines
                        s/economy/europe-defense-military-
2023-09-12   2023-09-14 spending.html                                A Messy Boom to Build Arms                 By Patricia Cohen                 TX 9-332-339   2023-11-02




                                                                                Page 5724 of 5793
                        https://www.nytimes.com/2023/09/12/nyregio Howard Safir Commissioner of NYPD Under
2023-09-12   2023-09-14 n/howard-safir-dead.html                     Giuliani Dies at 81                         By Clyde Haberman               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/nyregio New York State Weighs Migrant Work
2023-09-12   2023-09-14 n/migrants-work-permits-ny.html              Permits As the Influx Worsens               By Luis FerrSadurn              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/opinion Wheres the Impeachment Evidence Mr
2023-09-12   2023-09-14 /biden-impeachment-mccarthy.html             McCarthy                                    By David French                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/style/an
2023-09-12   2023-09-14 na-delvey-nyfw-fashion-show.html             House Arrest Cant Stop a Host               By Vanessa Friedman             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/style/co-
2023-09-12   2023-09-14 workers-texting-work.html                    Whos Texting You Now Work at All Hours By Callie Holtermann                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/style/ral
2023-09-12   2023-09-14 ph-lauren-fashion.html                       This Land Is Ralph Laurens                  By Jessica Testa                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/style/to
                        ugh-times-for-mens-wear-designers-find-a- Mens Wear Designers Struggle to Seize the
2023-09-12   2023-09-14 workaround.html                              Spotlight                                   By Guy Trebay                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/theater/ For Americans a Day to Connect With a
2023-09-12   2023-09-14 arts-for-everybody.html                      Unifying Mantra                             By Michael Paulson              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/theater/
                        moonlight-tarell-alvin-mccraney-geffen-      Moonlight Writer Tarell Alvin McCraney to
2023-09-12   2023-09-14 playhouse.html                               Lead Geffen Playhouse                       By Michael Paulson              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/travel/t Ethical Considerations For Tourists in Areas
2023-09-12   2023-09-14 ourism-morocco-maui.html                     Affected by a Disaster                      By Ceylan Yeginsu               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/world/a                                               By Damien Cave Mujib Mashal and
2023-09-12   2023-09-14 sia/india-china-global-south.html            India May Rival China To Lead Global South David Pierson                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/world/e Hops Savored by Beer Drinkers Face Climate
2023-09-12   2023-09-14 urope/beer-taste-hops-climate-change.html    Threat                                      By Catie Edmondson              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/world/e Tourists Will Face a Fee On Some Venice
2023-09-12   2023-09-14 urope/venice-tourist-fee-italy.html          Visits                                      By Elisabetta Povoledo          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/us/polit
                        ics/pandemic-fraud-unemployment-             Fraud May Have Robbed 135 Billion in Covid
2023-09-13   2023-09-14 insurance.html                               Aid                                         By Madeleine Ngo                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/world/e
                        urope/sevastopol-explosion-black-sea-        Ukrainian Attack Strikes Russian Ships in   By Marc Santora and Andrs R
2023-09-13   2023-09-14 ukraine.html                                 Crimea                                      Martnez                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/arts/dan
2023-09-13   2023-09-14 ce/filling-station-matthew-lutz-kinoy.html   Stop for Gas Then Stay For a Show           By Brian Seibert                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/arts/des
                        ign/jim-nutt-drawing-david-nolan-
2023-09-13   2023-09-14 gallery.html                                 Portraits That Pose Decades of Questions    By Max Lakin                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/arts/des
                        ign/perelman-performing-arts-center-         A Dazzling Arts Haven Blossoms at Ground
2023-09-13   2023-09-14 review.html                                  Zero                                        By Michael Kimmelman            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/arts/mu Len Chandler Folk Voice Beside Dylan Baez
2023-09-13   2023-09-14 sic/len-chandler-dead.html                   and Seeger Dies at 88                       By Neil Genzlinger              TX 9-332-339   2023-11-02




                                                                               Page 5725 of 5793
                        https://www.nytimes.com/2023/09/13/arts/tele He Learned To Shut Up And Listen To
2023-09-13   2023-09-14 vision/wrestlers-netflix-greg-whiteley.html  People                                         By Chris Vognar                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/busines
2023-09-13   2023-09-14 s/august-inflation-report.html               Latest Rise In Inflation Keeps Fed On Its Toes By Jeanna Smialek                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/busines
                        s/birkenstock-ipo-new-york-stock-
2023-09-13   2023-09-14 exchange.html                                Birkenstock Files for IPO In New York          By Melissa Eddy                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/busines
2023-09-13   2023-09-14 s/china-apple-iphone-ban.html                China Denies IPhone Curbs But Cites Flaws By David Pierson                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/busines Citi Plans Changes and Layoffs as It
2023-09-13   2023-09-14 s/citi-layoffs.html                          Acknowledges Struggles                         By Rob Copeland                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/busines
2023-09-13   2023-09-14 s/economy/autoworkers-strike-biden.html      Union Push On EV Pay Tests Biden               By Noam Scheiber                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/busines
                        s/economy/california-legislature-food-       Food Safety Bill Has Employers Cover
2023-09-13   2023-09-14 training.html                                Training                                       By Talmon Joseph Smith           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/busines                                                  By Matina StevisGridneff and
2023-09-13   2023-09-14 s/eu-china-electric-vehicles.html            EV Subsidies By China Rouse Interest of EU Melissa Eddy                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/busines Top TV Writers Push for Talks but Their          By John Koblin Nicole Sperling
2023-09-13   2023-09-14 s/media/writers-strike-showrunners.html      Clout May Have Limits                          and Brooks Barnes                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/busines
2023-09-13   2023-09-14 s/surge-pricing-drinks-slug-lettuce.html     Unhappy Hour in UK As Pubs Vary Pricing By Jenny Gross                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/busines
2023-09-13   2023-09-14 s/uaw-strike-shawn-fain.html                 Union Girds For a Strike In Detroit            By Neal E Boudette               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/13/climate California Legislation Would Require Large
2023-09-13   2023-09-14 /california-emissions-businesses-climate.html Companies to Report Emissions                By Coral Davenport                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/fashion
2023-09-13   2023-09-14 /artime-creations-art01.html                  This watch was a group effort                By Melanie Abrams                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/fashion
2023-09-13   2023-09-14 /aventurine-materials-watchmaking.html        Watches meant to mesmerize                   By Alexandra Cheney               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/fashion
                        /only-watch-auction-duchenne-muscular-
2023-09-13   2023-09-14 dystrophy.html                                Timepieces with a mission                    By Anders Modig Davin             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/fashion
2023-09-13   2023-09-14 /pieces-of-art-on-the-wrist.html              Collecting art for the wrist                 By Rachel Garrahan                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/fashion
2023-09-13   2023-09-14 /watch-straps-exotic-skins.html               The complications of crocodile               By Rachel Felder                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/fashion
2023-09-13   2023-09-14 /watches-aggregation-app-massena.html         Watch this space                             By Robin Swithinbank              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/fashion
                        /watches-breuget-clockmakers-museum-
2023-09-13   2023-09-14 london.html                                   Precious objects                             By Milena Lazazzera               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/fashion
2023-09-13   2023-09-14 /watches-cartier-baignoire.html               Cartiers Baignoire is having a moment        By Jill Newman                    TX 9-332-339   2023-11-02



                                                                                  Page 5726 of 5793
                        https://www.nytimes.com/2023/09/13/fashion
2023-09-13   2023-09-14 /watches-charles-oudin-paris.html           A French brand focuses on femininity         By Rachel Felder                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/fashion
2023-09-13   2023-09-14 /watches-clocks.html                        Time as a design feature                     By Alexandra Cheney             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/fashion
2023-09-13   2023-09-14 /watches-fleming-entrepreneur.html          A new brand comes knocking                   By Rachel Felder                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/fashion
2023-09-13   2023-09-14 /watches-francoise-resale-site-paris.html   Resale with a feminine touch                 By Vivian Morelli               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/fashion
                        /watches-justin-reis-jason-gong-
2023-09-13   2023-09-14 conversation.html                           Forging great relationships                  By Victoria Gomelsky            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/fashion
2023-09-13   2023-09-14 /watches-luxury-high-price.html             The price of luxury                          By Milena Lazazzera             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/fashion
2023-09-13   2023-09-14 /watches-new-stores-breitling-zenith.html   Boutiques blossom in the digital age         By Victoria Gomelsky            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/nyregio Expecting Cannabis Boom New York Sets Up
2023-09-13   2023-09-14 n/cannabis-marijuana-regulations-ny.html    the Rules                                    By Ashley Southall              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/nyregio TradeIn Program Aims To Prevent EBike
2023-09-13   2023-09-14 n/ebikes-nyc-battery-trade-in.html          Fires                                        By Winnie Hu                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/nyregio                                               By Jonah E Bromwich and William
2023-09-13   2023-09-14 n/eric-ulrich-surrender-bribery.html        Bribery Claims Of Mets Seats Cash and a Suit K Rashbaum                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/nyregio Iconic Green Mesh Is Sent To the Trash Bin
2023-09-13   2023-09-14 n/new-york-city-trash-cans.html             of History                                   By Dodai Stewart                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/nyregio
2023-09-13   2023-09-14 n/suny-fredonia-professor-lawsuit.html      SUNY Professor Banned From Campus Sues By Vimal Patel                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/opinion
2023-09-13   2023-09-14 /birmingham-sarah-collins-rudolph.html      What We Owe Survivors of Racial Terror       By Charles M Blow               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/opinion
2023-09-13   2023-09-14 /single-parent-poverty.html                 The One Privilege Liberals Ignore            By Nicholas Kristof             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/sports/b
                        aseball/lucas-giolito-reynaldo-lopez-       Two Pitchers Cant Escape Each Other No
2023-09-13   2023-09-14 guardians.html                              Matter What                                  By Scott Miller                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/sports/b
                        aseball/matt-olson-braves-home-run-         A Braves Home Run Record Was Not Set by
2023-09-13   2023-09-14 record.html                                 Who You Think                                By Victor Mather                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/13/sports/g
2023-09-13   2023-09-14 olf/nick-faldo-bmw-pga-championship.html Home on the ranges                            By Michael Arkush               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/13/sports/g
2023-09-13   2023-09-14 olf/players-bmw-pga-championship.html       Five players to watch                      By Michael Arkush               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/13/sports/g
2023-09-13   2023-09-14 olf/pro-golfers-course-architecture.html    Pros still play a role in course design    By Paul Sullivan                TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/13/technol Former Google Employee Details History of
2023-09-13   2023-09-14 ogy/google-search-antitrust.html            Deals                                      By David McCabe                 TX 9-332-339     2023-11-02




                                                                               Page 5727 of 5793
                        https://www.nytimes.com/2023/09/13/technol
                        ogy/silicon-valley-ai-washington-
2023-09-13   2023-09-14 schumer.html                               Tech Titans Visit the Hill To Talk AI       By Cecilia Kang                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/us/dane A Tripped Alarm a Heat Signal and the
2023-09-13   2023-09-14 lo-cavalcante-captured-pennsylvania.html   Capturing of a Fugitive                     By Campbell Robertson               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/13/us/polit Judge Unclear on Where Trump May Discuss
2023-09-13   2023-09-14 ics/cannon-trump-scif-secret-documents.html Secrets                                  By Alan Feuer                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/us/polit
                        ics/mccarthy-reversal-impeachment-          McCarthy Justifies Shift on Impeachment
2023-09-13   2023-09-14 inquiry.html                                Inquiry by Pointing to Pelosi            By Luke Broadwater                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/us/polit Abortion Stand By One Senator Stalls
2023-09-13   2023-09-14 ics/military-promotions-tuberville.html     Pentagon                                 By Helene Cooper                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/us/polit Romney Hopes to Lead the Way Into
2023-09-13   2023-09-14 ics/mitt-romney-retirement.html             Retirement                               By Annie Karni                        TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/13/us/polit                                              By Julian E Barnes Eric Schmitt
2023-09-13   2023-09-14 ics/russia-sanctions-missile-production.html Defying West Russia Extends Missile Arsenal and Thomas GibbonsNeff            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/us/polit Visit to China By Senators Will Be Led By
2023-09-13   2023-09-14 ics/schumer-china-visit-senate.html          Schumer                                     By Karoun Demirjian               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/us/polit Trump Held Private Talks Urging GOP To       By Jonathan Swan Maggie
2023-09-13   2023-09-14 ics/trump-gop-biden-impeachment.html         Impeach                                     Haberman and Alyce McFadden       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/us/polit
                        ics/vivek-ramaswamy-dismantle-                                                           By Chris Cameron and Charlie
2023-09-13   2023-09-14 government.html                              Ramaswamy Vows to Shutter Agencies          Savage                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/world/a Moroccans in Travel Destination Worry
2023-09-13   2023-09-14 frica/morocco-earthquake-tourism.html        About Their Livelihoods After Quake         By Vivian Yee and Aida Alami      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/world/a Putin and Kim Bond Over Their Hostility
2023-09-13   2023-09-14 sia/putin-kim-russia-north-korea.html        Toward the West                             By Paul Sonne and Choe SangHun    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/world/
                        middleeast/israel-tv-news-channel-14-        A TV Station for Netanyahu Fans Rapidly
2023-09-13   2023-09-14 netanyahu.html                               Gains Influence                             By Isabel Kershner                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/world/ Cries of Save Us Save Us As Homes Fill With By Aaron Boxerman and Raja
2023-09-13   2023-09-14 middleeast/libya-flooding-aid.html           Water                                       Abdulrahim                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/world/ To Deter Iran US Deepens Security Ties
2023-09-13   2023-09-14 middleeast/us-bahrain-security-pact.html     With Bahrain                                By Vivian Nereim                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/sports/f
                        ootball/nfl-sportsbook-washington-           NFL Tightens Its Embrace of Gambling
2023-09-14   2023-09-14 commanders.html                              Except by Players                           By Jenny Vrentas                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/obituari Alfredo Martinez 56 Who Fused Art World
2023-09-11   2023-09-15 es/alfredo-martinez-dead.html                And Underworld Dies                         By Alex Traub                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/world/a The Coup That Shattered Democracy in Chile
2023-09-11   2023-09-15 mericas/chile-coup-50-anniversary.html       50 Years Ago                                By Pascale Bonnefoy               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/science Satellite Data Yields Clues About Quake In
2023-09-12   2023-09-15 /morocco-earthquake-satellite-fault.html     Morocco                                     By Maya WeiHaas                   TX 9-332-339   2023-11-02



                                                                                Page 5728 of 5793
                        https://www.nytimes.com/2023/09/12/technol
                        ogy/personaltech/apple-iphone-lightning-usb- The Pluses and Minuses To Plugging In Your
2023-09-12   2023-09-15 c.html                                       New iPhone                                 By Brian X Chen         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/arts/mu Larry Chance 82 Bronx Bandleader Who Kept
2023-09-13   2023-09-15 sic/larry-chance-dead.html                   DooWop Alive for Decades                   By Sam Roberts          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/climate Recipe of Factors Including Geography
2023-09-13   2023-09-15 /floods-derna-libya.html                     Affects Floods Fast Deadly Turns           By Delger Erdenesanaa   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/movies/
2023-09-13   2023-09-15 a-haunting-in-venice-review.html             LockedRoom Mystery With a Horror Twist By Jason Zinoman            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/theater/
2023-09-13   2023-09-15 rochester-fringe-festival.html               A Piano Will Dangle From a Big Balloon     By Eric Grode           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/us/maui What the Wildfire Stole From One Maui
2023-09-13   2023-09-15 lahaina-fire-family-escape.html              Family                                     By Corina Knoll         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/us/polit Christie Says Icy Rapport With the Boss Is
2023-09-13   2023-09-15 ics/chris-christie-bruce-springsteen.html    Thawing                                    By Nick Corasaniti      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/us/polit US Treasury Official to Visit Nigeria His
2023-09-13   2023-09-15 ics/wally-adeyemo-nigeria-treasury.html      Birthplace to Bolster Economic Ties        By Alan Rappeport       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/world/c Peter C Newman 94 Canadian Maverick And
2023-09-13   2023-09-15 anada/peter-c-newman-dead.html               Journalist Who Skewered the Elite          By Sam Roberts          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/arts/des
                        ign/nairy-baghramian-met-museum-
2023-09-14   2023-09-15 facade.html                                  Rubble Rouser                              By Roberta Smith        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/arts/des
                        ign/ruth-asawa-whitney-sculpture-drawings- Drawn to Intersections And Indifferent to
2023-09-14   2023-09-15 review.html                                  Boundaries                                 By Nancy Princenthal    TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/14/arts/des Making Bricks Do What They Dont Want to
2023-09-14   2023-09-15 ign/storm-king-puryear-brick-sculpture.html Do                                          By Ted Loos             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/arts/mu Whats Opera Without a Brewery and an
2023-09-14   2023-09-15 sic/komische-oper-berlin.html                Airport Hangar                             By Ben Miller           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/arts/tele
                        vision/adventure-time-fionna-and-cake-
2023-09-14   2023-09-15 wilderness.html                              This Weekend I Have                        By Margaret Lyons       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/busines Europes Central Bank Raises Rates for the
2023-09-14   2023-09-15 s/european-central-bank-rates.html           10th Time                                  By Eshe Nelson          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/busines
2023-09-14   2023-09-15 s/ftc-drug-patents-inhalers.html             Drug Patenting Tactic May Be Illegal       By Rebecca Robbins      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/busines Maher Says His HBO Show Will Return
2023-09-14   2023-09-15 s/media/bill-maher-writers-strike.html       Despite Writers Strike                     By John Koblin          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/busines
                        s/peoples-bank-of-china-reserve-             China Frees Banks to Lend More in Latest
2023-09-14   2023-09-15 requirement.html                             Effort to Spur Economy                     By Keith Bradsher       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/busines
2023-09-14   2023-09-15 s/uaw-strike-detroit-auto-show.html          Strike Threat Is Shadowing Auto Show       By Neal E Boudette      TX 9-332-339   2023-11-02




                                                                               Page 5729 of 5793
                        https://www.nytimes.com/2023/09/14/climate The Person Behind What Will Power the        By Max Bearak and Sergey
2023-09-14   2023-09-15 /sultan-al-jaber-uae-cop28.html            Planet                                       Ponomarev                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-15 a-million-miles-away-review.html           A Migrant Farmworker Reaches for the Stars   By Concepcin de Len              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-15 canary-review.html                         Canary                                       By Nicolas Rapold                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-15 dumb-money-review.html                     The Stock Play That Began as a Reddit Joke   By Ben Kenigsberg                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-15 el-conde-review.html                       He Used His Fangs To Drain A Nation          By Amy Nicholson                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-15 invisible-beauty-review.html               Invisible Beauty                             By Teo Bugbee                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-15 lift-review.html                           Lift                                         By Claire Shaffer                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-15 love-at-first-sight-review.html            Love at First Sight                          By Natalia Winkelman             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-15 mr-jimmy-zeppelin-obsessed.html            Mr Jimmy                                     By Glenn Kenny                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-15 outlaw-johnny-black-review.html            Outlaw Johnny Black                          By Brandon Yu                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-15 radical-wolfe-review.html                  Radical Wolfe                                By Devika Girish                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-15 rebel-review-islamic-state.html            Rebel                                        By Beatrice Loayza               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-15 remembering-every-night-review.html        Remembering Every Night                      By Austin Considine              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-15 satanic-hispanics-review.html              Satanic Hispanics                            By Erik Piepenburg               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-15 the-inventor-review.html                   The Inventor                                 By Lisa Kennedy                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/nyregio
2023-09-14   2023-09-15 n/sermon-coach-rabbis.html                 The Rabbi Whisperer                          By Sarah Maslin Nir              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/opinion Want to Fight Antisemitism Embrace Jewish
2023-09-14   2023-09-15 /antisemitism-jewish-pride.html            Traditions                                   By Deborah E Lipstadt            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/opinion
2023-09-14   2023-09-15 /child-poverty-america.html                America Betrays Its Children Again           By Paul Krugman                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/opinion These Women Refused to Let Their Pasts
2023-09-14   2023-09-15 /ivy-league-presidents.html                Dictate Their Futures                        By Pamela Paul                   TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/14/opinion
2023-09-14   2023-09-15 /mitt-romney-senate-trump-mcconnell.html Romney Has Given Us a Gift                     By David Brooks                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/science NASA Announces a New Mission
2023-09-14   2023-09-15 /nasa-ufo-uap-report.html                  Researching UFOs                             By Kenneth Chang                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/technol
2023-09-14   2023-09-15 ogy/arm-ipo-stock-market.html              Strong IPO For Arm Engenders Optimism        By Erin Griffith and Don Clark   TX 9-332-339   2023-11-02



                                                                               Page 5730 of 5793
                        https://www.nytimes.com/2023/09/14/technol Profitable Instacart Veers From Gig Economy By Kellen Browning and Erin
2023-09-14   2023-09-15 ogy/instacart-public-ads.html               Roots                                      Griffith                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/theater/
2023-09-14   2023-09-15 nicole-ari-parker-the-refuge-plays.html     Returning To Theater Lost In The Magic     By Alexis Soloski                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/us/arka Lawmakers Resist Effort By Governor of
2023-09-14   2023-09-15 nsas-foia-huckabee-sanders.html             Arkansas To Curb Transparency Law          By Rick Rojas                      TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/14/us/dane
2023-09-14   2023-09-15 lo-cavalcante-custody-sci-phoenix-prison.html Former Fugitive Moved to HighTech Prison By Anna Betts                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/us/polit President Accuses GOP Of Hurting Working
2023-09-14   2023-09-15 ics/biden-republicans-economy.html            Class                                    By Peter Baker                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/us/polit
                        ics/biden-ukraine-penny-pritzker-             Biden Creates Role to Buoy Investment In
2023-09-14   2023-09-15 economy.html                                  Ukraine                                  By Michael Crowley                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/14/us/polit
2023-09-14   2023-09-15 ics/chris-christie-new-hampshire-trump.html Staking It All on the Race in New Hampshire By Nick Corasaniti                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/us/polit
2023-09-14   2023-09-15 ics/cia-argo-ed-johnson.html                CIA Reveals Second Officer In Argo Affair By Julian E Barnes                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/us/polit
2023-09-14   2023-09-15 ics/desantis-covid-vaccine-booster.html     DeSantis Disputes CDC Vaccine Advice        By Anjali Huynh                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/us/polit US Approves 235 Million in Military Aid for By Michael Crowley and Vivian
2023-09-14   2023-09-15 ics/egypt-biden-military-aid.html           Egypt Despite Pleas From Activists          Yee                               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/14/us/polit Hunter Biden Indicted On Three Gun           By Michael S Schmidt and Glenn
2023-09-14   2023-09-15 ics/hunter-biden-indictment-gun-charges.html Felonies After Failed Plea Deal             Thrush                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/us/polit Congress Nears Shutdown Cliff As GOP
2023-09-14   2023-09-15 ics/mccarthy-spending-bill-pentagon.html     Feuds                                       By Carl Hulse                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/us/polit
                        ics/mitt-romney-mckay-coppins-               Romneys Book Airs Senate Gossip and
2023-09-14   2023-09-15 takeaways.html                               Laughter Behind Trumps Back                 By Annie Karni                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/us/polit
                        ics/senate-committee-taiwan-double-
2023-09-14   2023-09-15 taxation.html                                Senate Bill Would Pare Taiwan Tax           By Alan Rappeport                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/14/us/polit
2023-09-14   2023-09-15 ics/white-house-strategy-impeachment.html Game Plan for Biden Discredit Impeachment      By Peter Baker                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/us/trum Judge Orders Two Trials for Defendants in     By Richard Fausset and Danny
2023-09-14   2023-09-15 p-chesebro-powell-trial-georgia.html        Georgia Election Case                        Hakim                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/us/wisc
2023-09-14   2023-09-15 onsin-abortion-planned-parenthood.html      Clinics Will Resume Abortions in Wisconsin   By Julie Bosman                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/world/a
2023-09-14   2023-09-15 sia/north-south-korea-ukraine.html          Koreas Aiding Ukraine War                    By Choe SangHun                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/world/e va Fahidi 97 Is Dead A Holocaust Survivor
2023-09-14   2023-09-15 urope/eva-fahidi-dead.html                  Who Delayed Speaking                         By Neil Genzlinger               TX 9-332-339   2023-11-02



                                                                                Page 5731 of 5793
                        https://www.nytimes.com/2023/09/14/world/e Players in Spains Womens League Reach Pay
2023-09-14   2023-09-15 urope/spain-womens-soccer-strike.html      Deal and Call Off Strike                  By Rachel Chaundler                   TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/14/world/e Ukraine Intensifies Attacks on Russia in
2023-09-14   2023-09-15 urope/ukraine-russia-crimea-black-sea.html Crimea and Black Sea                         By Marc Santora                    TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/14/world/e Venice Will Not Be Included on List Of
2023-09-14   2023-09-15 urope/venice-unesco-danger-list-tourism.html Endangered World Heritage Sites             By Elisabetta Povoledo            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/world/ Help Reaches Libyas Flood Zone but in a        By Raja Abdulrahim and Isabella
2023-09-14   2023-09-15 middleeast/libya-floods.html                 Chaotic Scramble                            Kwai                              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/world/
                        middleeast/morocco-earthquake-survivor-      Pregnant Scared but Grateful to Walk Out of
2023-09-14   2023-09-15 baby-family.html                             Moroccos Rubble                             By Catherine Porter               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/busines Studios and Striking Writers May Resume
2023-09-15   2023-09-15 s/hollywood-strike-studios-writers.html      Talks Next Week                             By Brooks Barnes                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/theater/
2023-09-15   2023-09-15 review-death-let-me-do-my-show.html          May as Well Turn Dread on Its Head          By Elisabeth Vincentelli          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/insider/
2023-09-15   2023-09-15 lessons-learned-from-the-print-hub.html      So Many Hurdles to Fit the News in Print    By Sarah Bahr                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/sports/s
2023-09-15   2023-09-15 epak-takraw-world-cup.html                   Its Like Volleyball But Look No Hands       By David Gardner                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/travel/it No List Can Capture the Best of             By Sheila Yasmin Marikar and
2023-09-06   2023-09-16 aly-emilia-romagna-bologna-modena.html       EmiliaRomagna                               Susan Wright                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/opinion Tokyo the Big City Where Housing Isnt Crazy By Binyamin Appelbaum and
2023-09-11   2023-09-16 /editorials/tokyo-housing.html               Expensive                                   Andrew Faulk                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/arts/des                                              By Francheska Melendez and
2023-09-13   2023-09-16 ign/picasso-guernica-photograph-ban.html     Antiwar Masterpiece Now a Photo Op          Kathleen Massara                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/arts/mu
                        sic/alexandre-kantorow-gilmore-artist-
2023-09-13   2023-09-16 award.html                                   French Pianist Wins Gilmore Award           By Javier C Hernndez              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/arts/mu
2023-09-13   2023-09-16 sic/pharoah-sanders.html                     How Pharoah Sanders Beckoned the Gods       By Giovanni Russonello            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/theater/
2023-09-13   2023-09-16 lauren-boebert-ejected-beetlejuice.html      Theater Removes Rep Boebert                 By Michael Paulson                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/theater/
                        no-good-things-dwell-in-the-flesh-
2023-09-13   2023-09-16 review.html                                  A Business Anchors The Block                By Laura CollinsHughes            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/theater/
2023-09-13   2023-09-16 wine-roses-broadway.html                     Days of Wine And Roses To Broadway          By Michael Paulson                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/arts/des Authorities Seize Schiele Works From US
2023-09-14   2023-09-16 ign/nazi-stolen-schiele-works-seized.html    Museums                                     By Tom Mashberg                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/arts/des
2023-09-14   2023-09-16 ign/moma-ticket-admission-raise.html         MoMA Raises Price of Admission to 30        By Zachary Small                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/busines Cable TV Is on Life Support But a New
2023-09-14   2023-09-16 s/media/cable-tv-bundle-streaming.html       Bundle Is Coming Alive                      By Benjamin Mullin                TX 9-332-339   2023-11-02



                                                                                 Page 5732 of 5793
                        https://www.nytimes.com/2023/09/14/health/ The Drug MDMA Is Criminalized But
2023-09-14   2023-09-16 mdma-ptsd-psychedelics.html                Researchers Say It May Save Lives           By Rachel Nuwer                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/opinion
2023-09-14   2023-09-16 /jimmy-fallon-talk-shows.html              Where the Jimmy Fallon Story Really Started By Bill Carter                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/technol
                        ogy/sam-bankman-fried-ftx-twitter-
2023-09-14   2023-09-16 thread.html                                FTX Leader Explains All In 250 Pages        By David YaffeBellany               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/14/us/polit Fearing Fraud IRS Freezes PandemicEra Tax
2023-09-14   2023-09-16 ics/irs-pandemic-employee-credit-fraud.html Credit                                       By Alan Rappeport               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/14/us/polit Lauch Faircloth 95 Senator Who Targeted DC
2023-09-14   2023-09-16 ics/lauch-faircloth-dead.html               Home Rule Dies                               By Robert D McFadden            TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/14/world/a                                               By Julie Turkewitz and Federico
2023-09-14   2023-09-16 mericas/migrant-business-darien-gap.html    Profits to Be Made in Treacherous Darin Gap Rios                             TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/14/arts/per
2023-09-15   2023-09-16 elman-performing-arts-center.html           A Hopeful Haven For Creativity               By Julia Jacobs                 TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/14/nyregio Trump Sues Judge in Bid That Could Delay By Jonah E Bromwich Ben Protess
2023-09-15   2023-09-16 n/trump-james-trial-lawsuit.html            Civil Trial                                  and Alan Feuer                  TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/15/arts/dan Erik Aschengreen 88 Dance Critic Who
2023-09-15   2023-09-16 ce/erik-aschengreen-dead.html               Elevated Rich Danish Tradition               By Alastair Macaulay            TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/15/arts/dre
2023-09-15   2023-09-16 am-podcast-coaching-scams.html              Sounding an Alarm On Scams and Swindles By Alexis Soloski                    TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/15/arts/fer Fernando Botero 91 Known for Whimsically
2023-09-15   2023-09-16 nando-botero-dead.html                      Large Figures Dies                           By Stephen Kinzer               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/15/arts/mu
                        sic/lise-davidsen-recital-metropolitan-
2023-09-15   2023-09-16 opera.html                                  Personal and Playful in an Expansive Program By Oussama Zahr                 TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/15/busines Britain and Tata to Spend 16 Billion on Steel
2023-09-15   2023-09-16 s/britain-tata-steel-package.html           Plant                                        By Stanley Reed                 TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/15/busines What the Latest Data Shows About Chinas
2023-09-15   2023-09-16 s/economy/china-economy-retail-sales.html Slumping Economy                              By Keith Bradsher                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/busines TikTok Is Fined 370 Million For Lax Usage
2023-09-15   2023-09-16 s/tiktok-european-union-fine.html          Of Child Data                                By Adam Satariano                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/15/busines TikTok Rankles Employees With                 By Sapna Maheshwari and Emma
2023-09-15   2023-09-16 s/tiktok-return-to-office-tracking-tools.html ReturntoOffice Tracking Tools              Goldberg                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/busines Autoworkers Determined To Hold Out For        By Neal E Boudette and Brittany
2023-09-15   2023-09-16 s/uaw-ford-plant-strike.html                  Big Win                                    Greeson                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/busines Union Workers At Detroits Big 3 Hit Picket
2023-09-15   2023-09-16 s/uaw-strike-gm-ford-stellantis.html          Lines                                      By Jack Ewing                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/busines
                        s/wells-fargo-former-executive-avoids-        Former Wells Fargo Executive Avoids Prison
2023-09-15   2023-09-16 prison.html                                   Time in Sham Accounts Scandal              By Stacy Cowley                   TX 9-332-339   2023-11-02




                                                                                Page 5733 of 5793
                        https://www.nytimes.com/2023/09/15/movies/
                        toronto-international-film-festival-
2023-09-15   2023-09-16 highlights.html                             Moving Pictures Fill the Lineup           By Manohla Dargis                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/nyregio
2023-09-15   2023-09-16 n/derby-connecticut-mayoral-race.html       A Jan 6 Protester Could Become a Mayor    By Amelia Nierenberg                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/nyregio Rules on Buildings Carbon Emissions In New
2023-09-15   2023-09-16 n/law-97-building-pollution-nyc.html        York City Exasperate Both Sides           By Hilary Howard                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/nyregio New York City Residents Amp Up Protests
2023-09-15   2023-09-16 n/migrant-protests-nyc.html                 Against Migrants                          By Claire Fahy and Ral Vilchis      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/nyregio
2023-09-15   2023-09-16 n/migrant-shelter-roosevelt-hotel-aoc.html  Democrats Tour New York Migrant Shelter By Andy Newman                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/sports/a
2023-09-15   2023-09-16 utoracing/f1-daniel-ricciardo.html          Daniel Ricciardo fights his way back      By Ian Parkes                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/sports/a
2023-09-15   2023-09-16 utoracing/f1-mclaren-oscar-piastri.html     A bright future for this rookie           By Ian Parkes                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/sports/a The Schedule of the Formula 1 Season Is
2023-09-15   2023-09-16 utoracing/f1-schedule-new-races.html        Expanding So Is Its Geography             By Phillip Horton                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/sports/n
                        caabasketball/union-dartmouth-
2023-09-15   2023-09-16 basketball.html                             Dartmouth Players File Petition for Union By Santul Nerkar                    TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/15/sports/n A Remarkable Odyssey From the Bronx to the
2023-09-15   2023-09-16 caafootball/bishop-sycamore-louisville.html ACC                                         By Billy Witz                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/sports/s World Cup Is Coming but Across North
2023-09-15   2023-09-16 occer/2026-world-cup.html                   America Questions Abound                    By Tariq Panja                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/facin
2023-09-15   2023-09-16 g-a-shutdown-congress-melts-down.html       Congress Falters as Shutdown Looms          By Carl Hulse                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/hurri In Coastal New England a MatterofFact       By Jenna Russell Alicia Anstead
2023-09-15   2023-09-16 cane-lee-maine-massachusetts.html           Girding for Hurricane Lee                   and Colleen Cronin                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/ken- Texas Senators Begin Their Deliberations On
2023-09-15   2023-09-16 paxton-impeachment-texas.html               Whether to Remove Attorney General          By J David Goodman                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/mich Three Acquitted of Aiding In Plot to Kidnap
2023-09-15   2023-09-16 igan-whitmer-plot-acquittal.html            Whitmer                                     By Mitch Smith                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/polit Witnesses Before Biden Impeachment Panel
2023-09-15   2023-09-16 ics/biden-impeachment.html                  Contradict Key Allegations by GOP           By Luke Broadwater                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/polit President Strongly Defends Striking
2023-09-15   2023-09-16 ics/biden-uaw-strike.html                   Autoworkers                                 By Michael D Shear                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/polit Bidens Tough Week Has Not Hampered His
2023-09-15   2023-09-16 ics/bidens-bad-week.html                    Hopes for 2024                              By Peter Baker                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/polit
                        ics/brian-monahan-capitol-attending-        At the Capitol Even the Attending Physician
2023-09-15   2023-09-16 physician.html                              Cant Escape Politics                        By Kayla Guo                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/polit Charges vs Bidens Son Make for Unusual
2023-09-15   2023-09-16 ics/hunter-biden-gun-charges.html           Case                                        By Glenn Thrush                   TX 9-332-339   2023-11-02




                                                                                Page 5734 of 5793
                        https://www.nytimes.com/2023/09/15/us/polit A Call in Birmingham For a Nation to Recall   By Erica L Green and Abbie
2023-09-15   2023-09-16 ics/kentanji-brown-jackson-racism.html      Ugly Truths of the Past                       VanSickle                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/polit Biden Administration Attempts to              By Jonathan Swan Charlie Savage
2023-09-15   2023-09-16 ics/trump-biden-schedule-f.html             TrumpProof the Federal Work Force             and Maggie Haberman             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/polit Trump and DeSantis Making Plays For           By Shane Goldmacher and Chris
2023-09-15   2023-09-16 ics/trump-desantis-events-washington.html   Support of Social Conservatives               Cameron                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/polit Prosecutors Seek to Limit Comments By
2023-09-15   2023-09-16 ics/trump-gag-order.html                    Trump                                         By Alan Feuer                  TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/15/world/a Chinas Defense Minister Has Not Been Seen By Chris Buckley and Julian E
2023-09-15   2023-09-16 sia/xi-china-military-general-li-shangfu.html in Public in Weeks and Beijing Isnt Talking Barnes                         TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/world/e US Ambassador Visits Reporter Jailed in
2023-09-15   2023-09-16 urope/evan-gershkovich-wsj-jail.html          Russia                                      By Anushka Patil               TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/world/e Muslim Students Robes Are Latest Fault Line
2023-09-15   2023-09-16 urope/france-abaya-ban-attal.html             for French Identity                         By Roger Cohen                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/world/e
                        urope/france-germany-uk-iran-sanctions-       Europeans to Keep Some Missile Sanctions
2023-09-15   2023-09-16 missiles.html                                 on Iran                                     By Steven Erlanger             TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/world/e Kims Tour of Russia Escalates Concern
2023-09-15   2023-09-16 urope/putin-kim-russia-ukraine.html           About Axis of Authoritarians                By Paul Sonne                  TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/15/world/e Spanish World Cup Winners Issue Demands
2023-09-15   2023-09-16 urope/spain-womens-soccer-rubiales.html     For More Changes in the National Federation By Rachel Chaundler              TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/world/e We Are Accidentally Alive A Muslim Cleric
2023-09-15   2023-09-16 urope/ukraine-russia-muslims.html           Reflects on War                             By Carlotta Gall                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/world/ Libya Closes Off FloodDamaged City as
2023-09-15   2023-09-16 middleeast/libya-floods-graves-dead.html    Crews Strain to Help Victims                By Aaron Boxerman                TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/your- Be Wary of Companies Selling Credit Repair
2023-09-15   2023-09-16 money/credit-score-repair.html              Services                                    By Ann Carrns                    TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/16/crossw
2023-09-16   2023-09-16 ords/wordle-review-answer-819.html          A Monday Crossword That Speaks for Itself By Sam Corbin                      TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/16/sports/g GPS Watch No Way Some Elite Runners Are
2023-09-16   2023-09-16 ps-watches-professional-runners.html        Ditching the Data                           By Scott Cacciola                TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/06/24/books/r
2023-06-24   2023-09-17 eview/little-monsters-adrienne-brodeur.html Family Politics                               By Mary Pols                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/07/08/books/r
2023-07-08   2023-09-17 eview/rachel-ingalls-in-the-act.html        GoGo Gadget                                   By Audrey Wollen               TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/07/10/books/r
2023-07-10   2023-09-17 eview/the-centre-ayesha-manazir-siddiqi.html NotSoFree Speech                             By Rafael Frumkin              TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/07/12/books/r
2023-07-12   2023-09-17 eview/jews-in-the-garden-judy-rakowsky.html History in Hiding                             By Richard J Evans             TX 9-332-339    2023-11-02




                                                                                Page 5735 of 5793
                        https://www.nytimes.com/2023/07/16/books/r
2023-07-16   2023-09-17 eview/cristina-garcia-vanishing-maps.html    Generations in Diaspora                    By Gabriela Garcia             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/07/17/books/s
2023-07-17   2023-09-17 ilvia-moreno-garcia-silver-nitrate.html      Movie Magic                                By Miguel Salazar              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/07/18/books/r
                        eview/the-fourth-turning-is-here-neil-howe-
2023-07-18   2023-09-17 end-times-peter-turchin.html                 Future Historians                          By Francis Fukuyama            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/01/books/r
                        eview/waiting-to-be-arrested-at-night-tahir-
2023-08-01   2023-09-17 hamut-izgil.html                             A Uyghurs Lament                           By Barbara Demick              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/07/books/r
2023-08-07   2023-09-17 eview/bridge-lauren-beukes.html              Far Out                                    By Ainslie Hogarth             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/09/books/b Literary Destinations Read Your Way
2023-08-09   2023-09-17 arbara-kingsolver-appalachia-books.html      Through Appalachia                         By Barbara Kingsolver          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/15/books/r
                        eview/the-good-virus-tom-ireland-the-master-
2023-08-15   2023-09-17 builder-alfonso-martinez-arias.html          Going Viral                                By Alex Johnson                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/19/books/r
2023-08-19   2023-09-17 eview/birth-control-allison-yarrow.html      The Labor Problem                          By Susan Dominus               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/01/arts/des An Artists Masterwork Made Out of
2023-09-01   2023-09-17 ign/ed-ruscha-chocolate-room-moma.html       Chocolate                                  By Travis Diehl                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/arts/des
                        ign/holland-cotter-art-exhibitions-museums-
2023-09-02   2023-09-17 fall.html                                    Place and Time Through Prisms              By Holland Cotter              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/arts/des
                        ign/roberta-smith-art-exhibitions-museums-
2023-09-02   2023-09-17 fall.html                                    With Exuberance Fresh Ways to See          By Roberta Smith               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/books/r
2023-09-02   2023-09-17 eview/new-thrillers.html                     Fear Factor                                By Sarah Lyall                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/03/arts/mu
                        sic/ailyn-perez-soprano-florencia-met-       The Met Was Just Waiting For a Star Like
2023-09-03   2023-09-17 opera.html                                   Her                                        By Joshua Barone               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/03/books/r
2023-09-03   2023-09-17 eview/the-witching-tide-margaret-meyer.html Fear and Loathing                           By Elizabeth Graver            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/arts/cla                                             By Joshua Barone and Zachary
2023-09-04   2023-09-17 ssical-music-opera-fall.html                Classical Listings                          Woolfe                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/arts/dan Dance Performances Festivals and More
2023-09-04   2023-09-17 ce-ballet-fall.html                         Coming This Fall                            By Margaret Fuhrer             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/arts/des Design Worlds Second Looks And Second
2023-09-04   2023-09-17 ign/architecture-fall-preview.html          Acts                                        By Christopher Hawthorne       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/arts/des
2023-09-04   2023-09-17 ign/art-shows-exhibits-fall.html            Art Listings                                By Will Heinrich               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/04/arts/vid
2023-09-04   2023-09-17 eo-game-releases-fall.html                  Video Games Listings                        By Jason M Bailey              TX 9-332-339   2023-11-02



                                                                                 Page 5736 of 5793
                        https://www.nytimes.com/2023/09/04/realesta
2023-09-04   2023-09-17 te/tiny-homes-detroit.html                   In Detroit an Eviction Rattles a Housing Plan By Allan Lengel          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/arts/tele
                        vision/fall-tv-schedule-strike-reality-game-
2023-09-05   2023-09-17 shows.html                                   Lineups That Reflect A Numbing Sameness By Margaret Lyons              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/realesta
                        te/austin-texas-interior-design-70s-
2023-09-05   2023-09-17 hollywood.html                               Searching for a Groovy Opium Den              By Tim McKeough          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/05/theater/
2023-09-05   2023-09-17 wiz-pal-joey-revivals-nyc-fall.html          Oh My Collaborator I Work With a Ghost        By Jesse Green           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/arts/des
                        ign/nairy-baghramian-met-facade-nyc-
2023-09-06   2023-09-17 sculpture.html                               Taking Down Walls With Her Sculptures         By Siddhartha Mitter     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/realesta
2023-09-06   2023-09-17 te/forcing-bulbs-flowers-winter.html         Forcing Bulbs for Fresh Flowers in Winter     By Margaret Roach        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/06/theater/
                        broadway-gutenberg-josh-gad-andrew-
2023-09-06   2023-09-17 rannells.html                                Theyre Reunited for a New Mission             By Alexis Soloski        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/arts/des
                        ign/jade-kuriki-olivo-puppies-puppies-new-
2023-09-07   2023-09-17 museum.html                                  Driven To Push Limits Even If Terrified       By Zachary Small         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/books/r How Does a BestSelling Author Name Her
2023-09-07   2023-09-17 eview/none-of-this-is-true-lisa-jewell.html  Characters                                    By Elisabeth Egan        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/movies/ A Look at Oscar Season Amid the Two
2023-09-07   2023-09-17 oscars-season-strikes-predictions.html       Strikes                                       By Kyle Buchanan         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/arts/tele
2023-09-08   2023-09-17 vision/deadlocked-dawn-porter.html           Those Who Built the Supreme Court             By Robert Ito            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/arts/tele
2023-09-08   2023-09-17 vision/fall-tv-shows.html                    Television Listings                           By Mike Hale             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/movies/
2023-09-08   2023-09-17 new-movies-fall.html                         Film Listings                                 By Ben Kenigsberg        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/nyregio What Keeps the Citys Climate Chief Awake
2023-09-08   2023-09-17 n/nyc-climate-rohit-aggarwala.html           at Night                                      By Hilary Howard         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/theater/
2023-09-08   2023-09-17 musicals-plays-broadway-fall.html            The New Season                                By Steven McElroy        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/arts/des
                        ign/olympia-manet-degas-new-york-met-
2023-09-09   2023-09-17 museum.html                                  Scandalous in 1865 New York Bound Today By Jason Farago                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/arts/spi
2023-09-09   2023-09-17 der-man-2-playstation.html                   Spidey Will Need More Web Fluid               By Zachary Small         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/books/r
2023-09-09   2023-09-17 ouge-mona-awad.html                          Mirror Mirror                                 By Megan OGrady          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/10/arts/mu
2023-09-10   2023-09-17 sic/ambrose-akinmusire-owl-song.html         Learning to Let Go and Grow                   By Giovanni Russonello   TX 9-332-339   2023-11-02




                                                                                 Page 5737 of 5793
                        https://www.nytimes.com/2023/09/10/arts/tele
                        vision/gilded-age-lessons-in-chemistry-       Faking the Past Until a Camera Sees It as
2023-09-10   2023-09-17 production-design.html                       Real                                         By Alexis Soloski        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/interactive/2023/09/ Roz Chast Knows Youll Always Regret
2023-09-10   2023-09-17 10/magazine/roz-chast-interview.html         Leaving the City for the Suburbs             By David Marchese        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/arts/des
2023-09-11   2023-09-17 ign/hammer-museum-los-angeles.html           Once Discarded Now on Display                By Jori Finkel           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/arts/mu
2023-09-11   2023-09-17 sic/jamila-woods-water-made-us.html          Jamila Woodss Songs Have Many Loves          By Lindsay Zoladz        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/books/c
2023-09-11   2023-09-17 at-bohannon-eve.html                         What Eve Can Teach Us About Women            By Sarah Lyall           TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/11/opinion The Man Who Named the Underground
2023-09-11   2023-09-17 /man-who-named-underground-railroad.html Railroad                                            By Scott Shane        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/realesta Taking a New Place Requires Her to Turn the
2023-09-11   2023-09-17 te/brooklyn-studio-williamsburg.html           Page                                          By DW Gibson          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/style/ro Opening Up About the Gift That Is Their
2023-09-11   2023-09-17 bin-roberts-amber-laign-wedding.html           Relationship                                  By Sadiba Hasan       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/arts/dan
                        ce/la-horde-ballet-national-de-marseille-dance-
2023-09-12   2023-09-17 reflections.html                               It Just Might Be Punk to Seek a Bright Future By Gia Kourlas        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/magazi Is there a popular backlash to the Supreme
2023-09-12   2023-09-17 ne/abortion-laws-states.html                   Courts Dobbs decision                         By Emily Bazelon      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/magazi
2023-09-12   2023-09-17 ne/club-music-remix.html                       Club Remixes                                  By Craig Seymour      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/magazi
2023-09-12   2023-09-17 ne/greek-tragedy.html                          Crossing Over                                 By Teju Cole          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/magazi
2023-09-12   2023-09-17 ne/los-angeles-destruction.html                Water World                                   By Ismail Muhammad    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/magazi
2023-09-12   2023-09-17 ne/maneskin-rock-band.html                     More Than a Feeling                           By Dan Brooks         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/theater/
2023-09-12   2023-09-17 merrily-we-roll-along-broadway.html            Three Actors One Unshakable Bond              By Ben Brantley       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/books/
2023-09-13   2023-09-17 michael-cunningham-day.html                    A Pandemic Novel of Ordinary Moments          By Alexandra Alter    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/books/r Two Debuts That Drive Latino Kids to Their
2023-09-13   2023-09-17 eview/kids-books-latino-heritage.html          Roots                                         By Matt de la Pea     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/magazi How Yotam Ottolenghi Was Seduced by Soba
2023-09-13   2023-09-17 ne/cold-soba-noodle-recipe.html                Noodles                                       By Yotam Ottolenghi   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/opinion
2023-09-13   2023-09-17 /kevin-mccarthy-impeachment.html               Kevin McCarthy Faces His Puppet Master        By Michelle Cottle    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/opinion
2023-09-13   2023-09-17 /libya-flooding-responsibility.html            The Unimaginable Has Happened in Libya        By Ethan Chorin       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/opinion To Know Yourself Consider Your
2023-09-13   2023-09-17 /naomi-klein-wolf-doppelganger.html            Doppelgnger                                   By Naomi Klein        TX 9-332-339   2023-11-02



                                                                                  Page 5738 of 5793
                        https://www.nytimes.com/2023/09/13/opinion
2023-09-13   2023-09-17 /power-ukraine-foreign-aid.html              Can Samantha Power Change Ukraines Future By Bret Stephens                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/realesta An Urban Oasis at the Foot of the
2023-09-13   2023-09-17 te/saratoga-springs-ny.html                  Adirondacks                                  By Jill P Capuzzo                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/style/da
2023-09-13   2023-09-17 ting-parents-newly-separated.html            Too Much Too Soon                            By Philip Galanes                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/style/gr
2023-09-13   2023-09-17 oup-text-thread-name.html                    Threads That Bind                            By Alyson Krueger                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/theater/
                        aubrey-plaza-christopher-abbott-off-
2023-09-13   2023-09-17 broadway.html                                Palpable Chemistry Years in the Making       By Julia Jacobs                   TX 9-332-339   2023-11-02
                                                                                                                  By Laura CollinsHughes Alexis
                        https://www.nytimes.com/2023/09/13/theater/                                               Soloski Brittani Samuel and Rhoda
2023-09-13   2023-09-17 four-theater-artists-to-watch-this-fall.html Now Getting Their Turns In the Spotlight     Feng                              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/us/polit
                        ics/cornel-west-campaign-manager-peter-daou Campaign Chameleon Takes Turn From Blue
2023-09-13   2023-09-17 green-party-democrats.html                   to Green                                     By Charles Homans                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/arts/lisa-Lisa Lyon 70 Artist Bodybuilding Trailblazer
2023-09-14   2023-09-17 lyon-dead.html                               And Mapplethorpe Muse                        By Penelope Green                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/arts/mu
2023-09-14   2023-09-17 sic/rolling-stones-hackney-diamonds.html     Just More Proof Theyll Never Stop            By Jon Pareles                    TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/14/books/r An Illustrated Guide to Toppling the
2023-09-14   2023-09-17 eview/50-years-of-ms-katherine-spillar.html Patriarchy                                    By Anna Holmes                  TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/14/busines
                        s/bernard-arnault-lvmh-family-                                                            By Liz Alderman and Vanessa
2023-09-14   2023-09-17 succession.html                             At the Top of an Empire Built on Desirability Friedman                        TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/14/magazi
2023-09-14   2023-09-17 ne/judge-john-hodgman-ordering-accent.html Bonus Advice From Judge John Hodgman        By John Hodgman                    TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/14/magazi
                        ne/poem-fourth-poem-from-the-second-
2023-09-14   2023-09-17 continuation.html                           Fourth poem from the second continuation   By Olga Ravn and Anne Boyer        TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-17 artificial-intelligence-hollywood.html      Do Studios Dream Of Android Stars          By Manohla Dargis                  TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/14/movies/
2023-09-14   2023-09-17 killers-of-the-flower-moon-costumes.html    Wedding Finery at a Wrenching Time         By Melena Ryzik                    TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/14/realesta
2023-09-14   2023-09-17 te/home-value-calculator-cost.html          The Inequality of Price Increases          By Michael Kolomatsky              TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/14/realesta
                        te/homes-for-sale-in-manhattan-and-
2023-09-14   2023-09-17 brooklyn.html                               Homes for Sale in Manhattan and Brooklyn By Heather Senison                   TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/14/realesta                                            By Claudia Gryvatz Copquin and
2023-09-14   2023-09-17 te/housing-market-near-nyc.html             Homes for Sale in New York and Connecticut Alicia Napierkowski                TX 9-332-339     2023-11-02




                                                                                Page 5739 of 5793
                        https://www.nytimes.com/2023/09/14/sports/b After Defying Death A Woke Hillbilly
2023-09-14   2023-09-17 aseball/tim-flannery-lunatic-fringe.html       Embraces Life Anew                             By Scott Miller                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/14/sports/f The AFC North Becomes the HighRent
2023-09-14   2023-09-17 ootball/nfl-picks-week-2.html                  Quarterback District                           By Emmanuel Morgan               TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/14/style/co
2023-09-14   2023-09-17 mpetitive-boat-docking-md-va.html              Now Watch Me Park This Boat                    By Jason Nark and Kent Nishimura TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/14/style/lu
2023-09-14   2023-09-17 xury-bridal-robes.html                         It Starts With the Robe                        By Chloe Anello                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/14/style/ny
                        fw-party-oprah-kylie-jenner-timothee-                                                         By Melissa Guerrero and Katie Van
2023-09-14   2023-09-17 chalamet.html                                  Answering Calls On the Party Line              Syckle                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/style/to
                        ry-burch-willy-chavarria-new-york-fashion-
2023-09-14   2023-09-17 week.html                                      Past the Doldrums Into a World of Choices      By Vanessa Friedman              TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/14/world/a Hugo Blanco 88 Tireless Advocate For
2023-09-14   2023-09-17 mericas/hugo-blanco-dead.html                  Environment and the Oppressed                  By Clay Risen                    TX 9-332-339    2023-11-02
                                                                       A New York Firefighter Left the City for the
                        https://www.nytimes.com/interactive/2023/09/ Long Island Suburbs Which House Did He
2023-09-14   2023-09-17 14/realestate/long-island-houses-sale.html     Choose                                         By Joyce Cohen                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/arts/mu Bobby Schiffman Guiding Force Of the
2023-09-15   2023-09-17 sic/bobby-schiffman-dead.html                  Apollo Theater Dies at 94                      By Alex Williams                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/books/r
                        eview/i-hear-youre-rich-diane-williams-
                        elsewhere-yan-ge-lets-go-lets-go-lets-go-cleo-
2023-09-15   2023-09-17 qian.html                                      Story Collections                              By Sindya N Bhanoo               TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/busines Irelands Headache Is Spending Its Budget
2023-09-15   2023-09-17 s/ireland-fiscal-budget-surplus.html           Surplus                                        By Ed OLoughlin                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/magazi
2023-09-15   2023-09-17 ne/elijah-mcclain-aurora.html                  The Trials of Aurora                           By Audra D S Burch               TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/nyregio
2023-09-15   2023-09-17 n/migrant-delivery-unlicensed-moped.html       Making Deliveries Promise And Peril            By Andrew Silverstein            TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/opinion
                        /romney-republicans-constitution-
2023-09-15   2023-09-17 democracy.html                                 Mitt Romney Has It Half Right                  By Jamelle Bouie                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/opinion How to Support Ukraine Beyond the Next
2023-09-15   2023-09-17 /ukraine-russia-negotiations.html              Election                                       By The Editorial Board           TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/opinion I Saw Firsthand How Much Is at Stake In
2023-09-15   2023-09-17 /ukraine-war-putin.html                        Ukraine                                        By Thomas L Friedman             TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/opinion
2023-09-15   2023-09-17 /wildfires-treeplanting-timebomb.html          We Were Planting a Time Bomb                   By Claire Cameron                TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/realesta
2023-09-15   2023-09-17 te/branded-real-estate-miami.html              A Name Brand as an Amenity                     By Debra Kamin                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/style/fo An Ice Cream Parlor and Wine Bar With a
2023-09-15   2023-09-17 lderol-paris-tiktok-fame.html                  Bouncer Oui                                    By Natasha Frid                  TX 9-332-339    2023-11-02




                                                                                   Page 5740 of 5793
                        https://www.nytimes.com/2023/09/15/style/ha
2023-09-15   2023-09-17 rvey-goldberg-freda-levenson-wedding.html In the Right Office for Matters of the Heart   By Anna Grace Lee                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/style/mi
2023-09-15   2023-09-17 llie-tran-brian-rosenthal-wedding.html      All Systems Go After a Series of CheckIns    By Rosalie R Radomsky               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/style/m
                        odern-love-pinned-under-the-bodies-of-      Empowered Through the Strength of His
2023-09-15   2023-09-17 men.html                                    Devotion                                     By Jerrine Tan                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/style/m
2023-09-15   2023-09-17 organ-hoit-dylan-pager-wedding.html         Card Games Helped Set the Table for Love     By Tammy LaGorce                    TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/15/theater/                                               By Tiffany Martinbrough and
2023-09-15   2023-09-17 jocelyn-bioh-jajas-african-hair-braiding.html In This Comedy The Braids Are the Thing     Michelle V Agins                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/theater/ Michael McGrath 65 A Spamalot Veteran
2023-09-15   2023-09-17 michael-mcgrath-dead.html                     Who Won a Tony Dies                         By Neil Genzlinger                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/btk- Serial Killers Daughter Is Helping Authorities
2023-09-15   2023-09-17 daughter-dennis-rader-kerri-rawson.html       Close More Cold Cases                       By Remy Tumin                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/polit How Bidens View of Presidential Military      By Charlie Savage Maggie
2023-09-15   2023-09-17 ics/biden-war-powers.html                     Authority Has Broadened                     Haberman and Jonathan Swan         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/polit
                        ics/special-counsel-trump-twitter-            Special Counsel Obtained 32 Private
2023-09-15   2023-09-17 messages.html                                 Messages From Trumps Twitter                By Alan Feuer and Charlie Savage   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/world/e 7 Sentenced For Bombings That Shook
2023-09-15   2023-09-17 urope/brussels-bombings-sentences.html        Belgium in 16                               By Monika Pronczuk                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/kans Kansas Will Stop Changing Gender IDs on
2023-09-16   2023-09-17 as-transgender-birth-certificates.html        Documents                                   By Anna Betts                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/us/maui
2023-09-16   2023-09-17 fire-death-toll-drops.html                    DNA Review Reduces Maui Death Toll to 97 By Corina Knoll                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/arts/fall-
2023-09-16   2023-09-17 preview-editors-letter.html                   Much to Reflect On More to Escape Into      By Andrew LaVallee                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/arts/mu Jann Wenner Removed From Rock Hall
2023-09-16   2023-09-17 sic/jann-wenner-removed-rock-hall.html        Board After Times Interview                 By Ben Sisario                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/busines
                        s/electric-vehicles-uaw-gm-ford-              Key to Walkout Industrys Shift To Electric
2023-09-16   2023-09-17 stellantis.html                               Cars                                        By Jack Ewing                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/busines
2023-09-16   2023-09-17 s/roxane-gay-work-advice.html                 Indispensable Yet Replaceable               By Roxane Gay                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/busines
                        s/stock-market-federal-reserve-interest-
2023-09-16   2023-09-17 rates.html                                    The Stock Market Is in a Holding Pattern    By Jeff Sommer                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/busines
2023-09-16   2023-09-17 s/uaw-strike-ford-stellantis-gm.html          3 Automakers And UAW Resume Talks           By Neal E Boudette                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/insider/ The Times Levels Up on the Video Game
2023-09-16   2023-09-17 leveling-up-on-the-video-game-beat.html       Beat                                        By Sarah Bahr                      TX 9-332-339   2023-11-02




                                                                                 Page 5741 of 5793
                        https://www.nytimes.com/2023/09/16/nyregio City Crackdown on Airbnb Causes Housing
2023-09-16   2023-09-17 n/airbnb-nyc-housing-rentals.html           Scramble                                    By Mihir Zaveri                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/nyregio Opioids Are Suspected in Death of Toddler at
2023-09-16   2023-09-17 n/bronx-daycare-child-death.html            a Bronx Day Care                            By Hurubie Meko and Claire Fahy   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/nyregio
2023-09-16   2023-09-17 n/connecticut-sea-chanteys.html             Through Song Landlubbers Hoist Their Sails By Amelia Nierenberg               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/nyregio
2023-09-16   2023-09-17 n/nadya-okamoto-august-period.html          A Leader Learns the Value of Slowing Down By Devorah LevTov                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/nyregio To Heal Migrant Children Need Mental
2023-09-16   2023-09-17 n/nyc-migrant-crisis-mental-health.html     Health Services                             By Ginia Bellafante               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/opinion
2023-09-16   2023-09-17 /joe-biden-old.html                         Go With The Flow Joe                        By Maureen Dowd                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/opinion Museums Should Never Have Hoarded
2023-09-16   2023-09-17 /museum-artifacts-looting.html              Looted Artifacts                            By Jason Felch                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/opinion
2023-09-16   2023-09-17 /peak-woke-antiracism-canceled.html         Is Peak Woke Behind Us                      By Ross Douthat                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/opinion
2023-09-16   2023-09-17 /un-sustainability-goals-poverty.html       So Much for Promises to End Hunger          By Nicholas Kristof               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/realesta
                        te/mice-in-my-apartment-and-the-building- Mice Have Invaded My Apartment The
2023-09-16   2023-09-17 cant-fix-it.html                            Building Wont Fix It What Now               By Jill Terreri Ramos             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/sports/b                                             By Amir Hamja Monique Jaques
2023-09-16   2023-09-17 asketball/new-york-liberty-playoffs.html    Carrying the Torch for the Liberty          and Sara Ziegler                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/style/ny
2023-09-16   2023-09-17 fw-street-style-spring-2024.html            Caution Signs On the Street                 By Simbarashe Cha                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/us/hurri Lee Makes Landfall in Canada Whipping       By Jenna Russell and Meagan
2023-09-16   2023-09-17 cane-lee-tropical-storm-canada.html         High Winds and Rain                         Campbell                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/us/ken-                                              By J David Goodman Edgar
2023-09-16   2023-09-17 paxton-impeachment.html                     Texas Senate Acquits Paxton By Big Margin Sandoval and David Montgomery       TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/16/us/us- Rebellion Against College Rankings Fails to
2023-09-16   2023-09-17 news-rankings-medical-schools-colleges.html Muster Many Followers                      By Alan Blinder                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/world/a PutinKim Cooperation Could Place Xi in
2023-09-16   2023-09-17 sia/china-putin-kim.html                    Bind                                       By David Pierson                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/world/a Russia Displays Arsenal To North Koreas
2023-09-16   2023-09-17 sia/kim-jong-un-north-korea-russia.html     Leader                                     By Choe SangHun                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/world/e That Feeling of Climate Doom Its Called
2023-09-16   2023-09-17 urope/italy-greece-eco-anxiety.html         EcoAnxiety                                 By Jason Horowitz                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/world/e
2023-09-16   2023-09-17 urope/pope-pius-holocaust.html              1942 Letter Told Papacy of Holocaust       By Elisabetta Povoledo             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/world/e
                        urope/ukraine-grain-ban-poland-hungary-
2023-09-16   2023-09-17 slovakia.html                               3 Countries Ban Ukrainian Grain Defying EU By Mike Ives and Gaya Gupta        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/world/                                              By Aaron Boxerman and James
2023-09-16   2023-09-17 middleeast/libya-dams-warnings.html         Libya Ignored Dire Warnings About Its Dams Glanz                              TX 9-332-339   2023-11-02



                                                                               Page 5742 of 5793
                        https://www.nytimes.com/2023/09/16/world/
                        middleeast/mahsa-amini-iran-protests-hijab- Honoring an Ordinary Young Woman in Iran
2023-09-16   2023-09-17 profile.html                                a Year After Her Death                   By Farnaz Fassihi                       TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/16/world/
2023-09-16   2023-09-17 middleeast/morocco-earthquake-heritage.html Revered for Centuries Shattered in an Instant By Vivian Yee and Aida Alami       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/crossw
2023-09-17   2023-09-17 ords/daily-puzzle-2023-09-18.html           A Monday Crossword That Speaks for Itself By Sam Corbin                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/nyregio                                                By Jesse McKinley and Lauren
2023-09-17   2023-09-17 n/new-york-landfill-seneca-meadows.html     How Much Bigger Can It Get                    Petracca                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/style/ge Red or Blue They Want to Dress Like
2023-09-17   2023-09-17 n-z-politicians-style.html                  Themselves                                    By Rachel Janfaza                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/style/m
                        arcus-aurelius-roman-emperor-stoic-         Giving Peace a Chance With the Help of a
2023-09-17   2023-09-17 philosophy.html                             Stoic                                         By Megan Margulies                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/us/polit Biden 2024 Has Party Leaders Bullish But in
2023-09-17   2023-09-17 ics/biden-democrats-voter-concerns.html     Poll After Poll Voters Are Wary               By Lisa Lerer and Reid J Epstein   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/us/polit Global Espionage Grows Between US and         By Julian E Barnes and Edward
2023-09-17   2023-09-17 ics/us-china-global-spy-operations.html     China                                         Wong                               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/us/yale- Yale Rape Case Turned Accused Into the
2023-09-17   2023-09-17 rape-case-defamation.html                   Accuser                                       By Vimal Patel                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/world/a A Painful Past Behind South Korean
2023-09-17   2023-09-17 sia/south-korea-adoption.html               Adoptions                                     By Choe SangHun                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/us/polit Climate Law Is Reshaping Investment In the
2023-09-13   2023-09-18 ics/biden-climate-law-investment.html       US                                            By Jim Tankersley                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/world/e Coups Are Increasingly Common Have They
2023-09-13   2023-09-18 urope/interpreter-coups-web.html            Lost Their Taboo                              By Amanda Taub                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/arts/des New Name and Home for NYUs Gallery
2023-09-14   2023-09-18 ign/grey-art-gallery-nyu-renamed.html       Space                                         By Hilarie M Sheets                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/arts/mu
                        sic/corinne-bailey-rae-black-rainbows-
2023-09-14   2023-09-18 review.html                                 Pop Songwriter Breaks Free                    By Jon Pareles                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/nyregio A Montauk Fisherman Grapples the Sea and By Karen Zraick and Karsten
2023-09-14   2023-09-18 n/chris-winkler-gosmans-montauk.html        the Law                                       Moran                              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/obituari Overlooked No More Molly Nelson Steward
2023-09-14   2023-09-18 es/molly-nelson-overlooked.html             of Penobscot Culture                          By Will Dudding                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/realesta Tiny Homes Are Popular on TikTok But in
2023-09-14   2023-09-18 te/tiny-house-apartment-uk-nyc.html         Real Life                                     By Farah Nayeri                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/sports/s
                        occer/afghanistan-womens-soccer-khalida-    They Shot at Her They Forced Her From Her
2023-09-14   2023-09-18 popal.html                                  Home She Wont Stop Fighting for Girls         By Juliet Macur                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/arts/cen Now Everyone Can See Brooklyn Face to
2023-09-15   2023-09-18 ter-for-brooklyn-history.html               Face                                          By Jennifer Schuessler             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/arts/tad Tadaaki Kuwayama 91 Artist Who Painted
2023-09-15   2023-09-18 aaki-kuwayama-dead.html                     His Own Path Dies                             By Will Heinrich                   TX 9-332-339   2023-11-02



                                                                                  Page 5743 of 5793
                        https://www.nytimes.com/2023/09/15/arts/tele
                        vision/the-changeling-review-bye-bye-
2023-09-15   2023-09-18 baby.html                                    Baby Brings A Bundle Of Trouble            By Mike Hale                       TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/15/busines                                              By Jordyn Holman Jeanna Smialek
2023-09-15   2023-09-18 s/economy/restart-student-loan-payments.html Another Squeeze on Consumers               and Jason Karaian               TX 9-332-339        2023-11-02

                        https://www.nytimes.com/2023/09/15/busines
2023-09-15   2023-09-18 s/ray-dalio-succession-clash-bridgewater.html Hedge Fund Sees a Clash Of Succession        By Rob Copeland                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/health/f It Took Decades To Act on Drug Found
2023-09-15   2023-09-18 da-cold-medicine-decongestant.html            Lacking                                      By Christina Jewett               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/opinion In This Strike Autoworkers Have the Higher
2023-09-15   2023-09-18 /united-auto-workers-strike.html              Ground                                       By Peter Coy                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/world/a After Its Coup Niger Struggles With
2023-09-15   2023-09-18 frica/junta-niger-sanctions-food.html         Sanctions                                    By Elian Peltier                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/world/e Island Packed With Migrants Tests Italys
2023-09-15   2023-09-18 urope/lampedusa-meloni-migrants.html          Push to Halt Tide                            By Gaia Pianigiani                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/world/e Britain to Ban Dog Breed After Brutal
2023-09-15   2023-09-18 urope/uk-ban-bully-xl-dog.html                Attacks and Fierce Debate                    By Mark Landler                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/busines In Strikes Across Industries Workers Fear       By Sarah Kessler Ephrat Livni and
2023-09-16   2023-09-18 s/dealbook/uaw-strike-tech-ai-unions.html     New Technologies Will Cost Jobs              Michael J de la Merced            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/climate Biden Plans a Crackdown On Industries
2023-09-16   2023-09-18 /biden-climate-second-term.html               Emissions                                    By Coral Davenport                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/us/dane Desperate but Also Resourceful a Fugitive
2023-09-16   2023-09-18 lo-cavalcante-pennsylvania.html               Eluded the Police for 13 Days                By Nicholas BogelBurroughs        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/us/dela Principals Made and Shared Meme of
2023-09-16   2023-09-18 ware-principal-meme-lawsuit.html              Students Exposed Breast Lawsuit Says         By Eduardo Medina                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/us/port Portable Generators Recalled Over Fire and
2023-09-16   2023-09-18 able-generators-recall-generac.html           Burn Hazards                                 By Rebecca Carballo               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/your-
                        money/daffy-donor-advised-funds-chai-         To Increase Giving Nonprofits May Need
2023-09-16   2023-09-18 hebrew.html                                   That Lucky Number                            By Ron Lieber                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/arts/cur Vigilance Or Hysteria Over Origins Of
2023-09-17   2023-09-18 ator-fired-provenance.html                    Artifacts                                    By Graham Bowley                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/arts/dan
2023-09-17   2023-09-18 ce/balanchine-jewels-original-cast.html       Balanchines Gems Recollect Jewels            By Roslyn Sulcas                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/arts/des Patriarch of Art Dynasty Faces Trial in France
2023-09-17   2023-09-18 ign/wildenstein-art-tax-trial.html            Again                                        By Aurelien Breeden               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/arts/mu
                        sic/anna-netrebko-lady-macbeth-berlin-state-
2023-09-17   2023-09-18 opera.html                                    Receiving Boos and an Ovation                By Zachary Woolfe                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/climate Fingers Pointed at President Protesters         By Somini Sengupta Hilary Howard
2023-09-17   2023-09-18 /climate-protests-new-york.html               Demand End to Fossil Fuels                   and Delger Erdenesanaa            TX 9-332-339   2023-11-02




                                                                                 Page 5744 of 5793
                        https://www.nytimes.com/2023/09/17/nyregio
                        n/opioid-bronx-daycare-fentanyl-murder-     2 Charged With Murder In Bronx Day Care
2023-09-17   2023-09-18 charge.html                                 Death                                        By Maria Cramer                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/opinion The Most Interesting Part of the Hunter Biden
2023-09-17   2023-09-18 /hunter-biden-gun-indictment.html           Case                                         By David French                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/opinion Maybe Theyre All Losing Because They All
2023-09-17   2023-09-18 /republican-primary-candidates-alike.html   Sound the Same                               By Katherine Miller              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/opinion
                        /solano-county-flannery-associates-         Tech Titans Want to Build a New City Cant
2023-09-17   2023-09-18 billionaires-build-cities.html              They Just Fix What Weve Already Got          By Molly Turner                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/reader-
2023-09-17   2023-09-18 center/a-desk-fit-for-a-founder.html        A Desk Fit for a Founder                     By David W Dunlap                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/sports/f Wilson Returns as Starter With a Familiar
2023-09-17   2023-09-18 ootball/jets-cowboys-score.html             Result                                       By Ken Belson                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/sports/                                               By Patricia Leigh Brown and
2023-09-17   2023-09-18 markelle-taylor-running-coach-prison.html   ExInmate Returns to Prison but as a Coach    Marlena Sloss                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/sports/s A Look Inside the Best Pickup Game in the
2023-09-17   2023-09-18 occer/premier-league-pickup-game.html       World                                        By Rory Smith and Kieran Dodds   TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/17/sports/t Gauff Embodies the Biggest Sports Story
2023-09-17   2023-09-18 ennis/coco-gauff-women-sports-streeter.html Female Athletes Rise                       By Kurt Streeter                TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/09/17/us/jules-Jules Melancon Oyster Farmer Who Changed
2023-09-17   2023-09-18 melancon-dead.html                          Industry Dies at 65                        By Clay Risen                   TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/09/17/us/los-                                             By Anna Betts Vik Jolly and
2023-09-17   2023-09-18 angeles-sheriff-deputy-shooting.html        Sheriffs Deputy in LA Is Shot and Killed   Orlando Mayorquin               TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/09/17/us/new- New Mexico Governor Modifies Firearms
2023-09-17   2023-09-18 mexico-governor-gun-ban.html                Order                                      By Colbi Edmonds                TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/09/17/us/polit
                        ics/ed-siskel-white-house-counsel-          New White House Counsel With Good
2023-09-17   2023-09-18 impeachment.html                            Ballast Is Plunged Into Partisan Attacks   By Katie Rogers                 TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/09/17/us/polit
2023-09-17   2023-09-18 ics/mccarthy-gop-spending-impasse.html      A Plan to Break GOPs Spending Deadlock     By Carl Hulse                   TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/09/17/us/polit Trump Says He Is Hoping Meadows Stays      By Maggie Haberman and Jonathan
2023-09-17   2023-09-18 ics/trump-meadows-meet-the-press.html       Loyal                                      Swan                            TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/09/17/us/polit
                        ics/trump-meet-the-press-abortion-          Terrible Mistake Trump Criticizes DeSantis By Jonathan Swan and Maggie
2023-09-17   2023-09-18 desantis.html                               on 6Week Abortion Ban                      Haberman                        TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/09/17/us/polit US and Chinese Officials Meet in Malta to
2023-09-17   2023-09-18 ics/us-china-meeting.html                   Discuss Ukraine and Other Flashpoints      By Edward Wong                  TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/09/17/us/texa Win for Paxton Puts Hard Right On Top in
2023-09-17   2023-09-18 s-republicans-paxton-impeachment.html       Texas                                      By J David Goodman              TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/09/17/world/a
                        sia/ukraine-rosh-hashana-uman-hasidic-      Ukraine Still Hosts Hasidims Party of the  By Jeffrey Gettleman and Daniel
2023-09-17   2023-09-18 jews.html                                   Year                                       Berehulak                       TX 9-332-339      2023-11-02




                                                                                Page 5745 of 5793
                        https://www.nytimes.com/2023/09/17/world/e
                        urope/finland-president-russia-
2023-09-17   2023-09-18 complacency.html                           Finnish Leader Warns Europe About Russia By Steven Erlanger                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/world/e Germanys FarRight Extremists Use Mixed
2023-09-17   2023-09-18 urope/germany-far-right-mma.html           Martial Arts to Train and Recruit           By Catie Edmondson             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/world/e                                             By Matthew Mpoke Bigg
                        urope/ukraine-russia-war-klishchiivka-                                                 Cassandra Vinograd and Vivek
2023-09-17   2023-09-18 bakhmut.html                               Ukraine Claims Second Village in Three Days Shankar                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/world/ After Catastrophic Flood Libya Relief Effort
2023-09-17   2023-09-18 middleeast/libya-flooding-derna.html       Shifts to Disease Prevention                By Isabella Kwai               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/18/arts/tele
                        vision/whats-on-tv-this-week-american-horror-
2023-09-18   2023-09-18 story-and-global-citizens-festival.html      This Week on TV                            By Shivani Gonzalez           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/07/upshot/ Why the OnceVaunted Running Backs Value
2023-09-07   2023-09-19 nfl-running-backs-pay.html                   Fell                                       By Ben Blatt                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/08/well/mi
2023-09-08   2023-09-19 nd/brain-function-memory-dementia.html       Phone Keys Wallet Brain                    By Jancee Dunn                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/well/m
2023-09-11   2023-09-19 ove/fascia-muscle-health.html                A Connective Tissue Gets Lots of Attention By Danielle Friedman          TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/12/science Outliving the Dinosaurs When an Apocalypse
2023-09-12   2023-09-19 /flowers-dinosaurs-extinction.html          Struck a World of Flowers Bloomed          By Jack Tamisiea               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/science Just When You Thought It Was Safe to Play
2023-09-12   2023-09-19 /sharks-golf-course-australia.html          Golf                                       By Annie Roth                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/science
2023-09-12   2023-09-19 /ukraine-mathematics-yulia.html             Scholars at Work With a Bomb Shelter Below By Siobhan Roberts             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/well/eat I Drink Alcohol Regularly What Can I Do to
2023-09-12   2023-09-19 /alcohol-health-risks.html                  Mitigate the Risks                         By Dani Blum                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/world/a Conceivably Cuter A 25MillionYearOld
2023-09-12   2023-09-19 ustralia/australia-koala-cat-size.html      Koala You Could Cuddle Like a Cat          By Natasha Frost               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/science Beam Them Up Scotty Meet Kirk McCoy
2023-09-13   2023-09-19 /star-trek-spider-species.html              and Spock Three Explorers 24 Legs          By Christine Hauser            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/busines
                        s/economy/michael-barr-federal-reserve-                                                By Jeanna Smialek and Emily
2023-09-14   2023-09-19 banks.html                                  Proposal Has Banks In Outrage              Flitter                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/climate Settlement To Tighten Regulation Of
2023-09-14   2023-09-19 /epa-pesticides-settlement.html             Pesticides                                 By Catrin Einhorn              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/science Absorbing Habitats SpongeBob Lives in a
2023-09-14   2023-09-19 /sponges-sharks.html                        Pineapple These Sharks Live in Sponges     By Darren Incorvaia            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/article/marathon-
2023-09-14   2023-09-19 training-20-miles.html                      Its Now Time for the Big Test 20 Miles     By Amanda Loudin               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/arts/jan
2023-09-15   2023-09-19 n-wenner-the-masters-interview.html         History Will Speak as Well as Sing         By David Marchese              TX 9-332-339   2023-11-02




                                                                                Page 5746 of 5793
                        https://www.nytimes.com/2023/09/15/arts/mu Charles Gayle Whose Saxophone Wailed Like
2023-09-15   2023-09-19 sic/charles-gayle-dead.html                  a Preacher Dies at 84                      By Andrey Henkin               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/science A Fireball Hit Jupiter Astronomers Got It on
2023-09-15   2023-09-19 /jupiter-comet-flashes.html                  Video                                      By Katrina Miller              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/well/vit
2023-09-15   2023-09-19 amin-c-skin-care.html                        Fact Check On Vitamin C                    By Melinda Wenner Moyer        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/arts/tele
                        vision/shane-gillis-beautiful-dogs-netflix-  A Political Divide Is an Easy Line To Walk
2023-09-16   2023-09-19 comedy.html                                  Across                                     By Jason Zinoman               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/books/
2023-09-16   2023-09-19 matthew-mcconaughey-just-because.html        A Manifesto for Kids                       By Sadie Stein                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/health/a
2023-09-16   2023-09-19 id-in-dying-new-jersey.html                  A Lawsuit Aims to Expand Aid in Dying      By Paula Span                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/health/
2023-09-16   2023-09-19 brain-surgery-skull-acrylic-window.html      Doctors Study Brain Via Window in Skull    By Gina Kolata                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/world/e In Moscow War in Background but              By Valerie Hopkins and Nanna
2023-09-16   2023-09-19 urope/moscow-russia-mood-war.html            EverPresent                                Heitmann                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/arts/dan
2023-09-17   2023-09-19 ce/heart-of-brick-review.html                A Homebody Hits the Dance Floor            By Brian Seibert               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/arts/rus
2023-09-17   2023-09-19 sell-brand-sexual-assault-allegations.html   Russell Brand Denies Sexual Assault Claims By Julia Jacobs                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/books/b
2023-09-17   2023-09-19 artleby-and-me-review-gay-talese.html        The Man Who Wrote Just About Everything By Alexandra Jacobs               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/climate California Governor Says He Will Sign
2023-09-17   2023-09-19 /california-climate-disclosure-law.html      Landmark Climate Disclosure Bill           By Coral Davenport             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/sports/b
2023-09-18   2023-09-19 razilian-jujitsu-safety.html                 Bruising Reality of the Gentle Art         By John Wiegand                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/theater/
                        swing-state-review-all-is-not-well-in-
2023-09-18   2023-09-19 wisconsin.html                               On the Prairie the Personal Is Political   By Jesse Green                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/arts/mu New Yorks Gleaming Arts Center Welcomes
2023-09-18   2023-09-19 sic/perelman-arts-center-opens.html          the World                                  By Jon Pareles                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/arts/tele
2023-09-18   2023-09-19 vision/fallon-barrymore-strike.html          Talk Shows Reaching Point of Some Returns By James Poniewozik             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/busines HBO Talk Show Host Reverses Plan to
2023-09-18   2023-09-19 s/bill-maher-hollywood-strike.html           Restart Despite Strike                     By Santul Nerkar               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/busines Some Businesses Are Trying AntiWoke
2023-09-18   2023-09-19 s/companies-conservative.html                Messaging                                  By Santul Nerkar               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/busines
2023-09-18   2023-09-19 s/google-antitrust-trial-data.html           Data Edge Of Google Is Key Issue           By Steve Lohr                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/busines Wasserman Buys Brillstein In a Change of
2023-09-18   2023-09-19 s/wasserman-brillstein-acquisition.html      Philosophy                                 By Brooks Barnes               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/18/insider/
2023-09-18   2023-09-19 a-second-look-at-those-who-came-first.html A Second Look at Those Who Came First       By Amisha Padnani               TX 9-332-339   2023-11-02



                                                                               Page 5747 of 5793
                        https://www.nytimes.com/2023/09/18/nyregio Migrant Aid Firm Faces Audit by New York
2023-09-18   2023-09-19 n/docgo-lander-audit-contract.html         City                                     By Jay Root                              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/nyregio Sudanese Mourn 2 Teens Shot Dead by
2023-09-18   2023-09-19 n/syracuse-teens-sheriff-shooting.html     Deputy                                   By Jesse McKinley                        TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/18/nyregio Vassar College a Pioneer In Gender Equity Is By Sharon Otterman and Erin
2023-09-18   2023-09-19 n/vassar-college-lawsuit-gender-pay-gap.html Sued For Paying Women Less                  Nolan                               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/obituari Overlooked No More Margaret Chung Doctor
2023-09-18   2023-09-19 es/margaret-chung-overlooked.html             Who Was Different From Others              By Nina Chhita                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/opinion
                        /columnists/progessive-fundraising-
2023-09-18   2023-09-19 downturn.html                                 Where Has All the LeftWing Money Gone      By Michelle Goldberg                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/opinion The Google Antitrust Trial Is Really About
2023-09-18   2023-09-19 /contributors/google-antitrust-trial.html     the Future of AI                           By Tim Wu                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/opinion
2023-09-18   2023-09-19 /economic-conservatives-extremism.html        The Road From Romney to MAGA               By Paul Krugman                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/opinion Its Not an Excuse to Say the Trumps Did
2023-09-18   2023-09-19 /trump-biden-hunter-impeachment.html          Worse                                      By Gail Collins and Bret Stephens   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/science
2023-09-18   2023-09-19 /ai-computers-consciousness.html              Is Your AI Conscious Follow This Checklist By Oliver Whang                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/sports/r Pacific Island Nations Punching Above
2023-09-18   2023-09-19 ugby/fiji-australia-rugby-world-cup.html      Weight                                     By Victor Mather                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/elija Trial Set for 2 Officers Charged In Death of
2023-09-18   2023-09-19 h-mcclain-death-trial.html                    Black Man in 2019                          By Audra D S Burch                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/los- Police in LA Arrest Suspect In the Killing Of
2023-09-18   2023-09-19 angeles-ambush-arrest-clinkunbroomer.html a Deputy                                       By Adeel Hassan                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/mar Star Witness Against Meadows Maybe             By Richard Fausset and Danny
2023-09-18   2023-09-19 k-meadows-georgia-trump-case.html             Himself                                    Hakim                               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/polit
                        ics/david-mccormick-pennsylvania-             Businessman to Again Seek Senate Seat in   By Anjali Huynh and Michael C
2023-09-18   2023-09-19 senate.html                                   Pennsylvania                               Bender                              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/polit DeSantis Straddled Line of GOPs Election     By Alexandra Berzon and Sharon
2023-09-18   2023-09-19 ics/desantis-trump-2020-election.html         Rift                                       LaFraniere                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/polit Hunter Biden Sues IRS Saying Agents
2023-09-18   2023-09-19 ics/hunter-biden-irs-lawsuit.html             Violated Privacy                           By Michael S Schmidt                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/polit Five Americans Freed as Tehran Gets Oil      By Michael D Shear and Farnaz
2023-09-18   2023-09-19 ics/iran-us-prisoner-release.html             Revenue                                    Fassihi                             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/polit IRS Change Aims to Solve Race Disparity In
2023-09-18   2023-09-19 ics/irs-audits-black-taxpayers.html           Audit Rates                                By Alan Rappeport                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/polit
                        ics/jennifer-wexton-progressive-supranuclear- Lawmaker Citing Illness Wont Seek
2023-09-18   2023-09-19 palsy.html                                    Reelection                                 By Rebecca Carballo                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/polit McCarthys Plan to Avoid Shutdown Hits Stiff
2023-09-18   2023-09-19 ics/mccarthy-shutdown-spending.html           GOP Opposition                             By Carl Hulse                       TX 9-332-339   2023-11-02




                                                                                 Page 5748 of 5793
                        https://www.nytimes.com/2023/09/18/us/polit The Senate Dress Code Gets a Casual
2023-09-18   2023-09-19 ics/senate-dress-code.html                  Overhaul                                   By Robert Jimison               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/polit In Reversal Law Professor Says Former
2023-09-18   2023-09-19 ics/trump-calabresi-14th-amendment.html     President Can Run After All                By Adam Liptak                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/polit Lawmakers in California Testing Trumps
2023-09-18   2023-09-19 ics/trump-california-ballot.html            Eligibility                                By Maggie Astor                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/polit UAW Members Skeptical of Bidens
2023-09-18   2023-09-19 ics/uaw-strike-biden.html                   Commitment to Their Cause                  By Trip Gabriel                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/texa After Paxtons Acquittal Federal Charges
2023-09-18   2023-09-19 s-ken-paxton-legal-problems.html            Remain                                     By Edgar Sandoval               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/us- US News Reworks Its College Ranking
2023-09-18   2023-09-19 news-college-ranking.html                   Formula Lifting Some State Universities    By Alan Blinder                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/well/oz
2023-09-18   2023-09-19 empic-weight-loss-plateau.html              Losing Weight on Ozempic Isnt Forever      By Dani Blum                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/world/a                                             By Amy Chang Chien and Chris
2023-09-18   2023-09-19 sia/china-taiwan-military-planes.html       China Ramps Up Aircraft Near Taiwan        Buckley                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/world/a
                        sia/south-korea-hunger-strike-lee-jae-
2023-09-18   2023-09-19 myung.html                                  Legislator on Hunger Strike Faces Arrest   By Choe SangHun                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/world/c Trudeau Says Indian Government Killed Sikh
2023-09-18   2023-09-19 anada/canada-india-sikh-killing.html        Leader                                     By Ian Austen and Vjosa Isai    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/world/e
                        urope/ukraine-zelensky-united-nations-      Change in Tone To Accompany Zelenskys
2023-09-18   2023-09-19 congress.html                               Visit                                      By Andrew E Kramer              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/world/
                        middleeast/american-detainees-iran-us-      Who Are the 10 People Involved in the Swap By Isabella Kwai Emma Bubola
2023-09-18   2023-09-19 swap.html                                   Between 2 Countries                        and Farnaz Fassihi              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/world/ Iraqs Leader Pitches Himself as the Face of
2023-09-18   2023-09-19 middleeast/iraq-al-sudani-un.html           Change                                     By Alissa J Rubin               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/world/ Netanyahu and Musk Use Social Media Chat
2023-09-18   2023-09-19 middleeast/netanyahu-musk-meeting.html      To Deflect Criticisms                      By Patrick Kingsley             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/world/
                        middleeast/united-nations-global-south-     As World Arrives At UN Session Rivals and
2023-09-18   2023-09-19 general-assembly.html                       Allies Of US Opt Out                       By Farnaz Fassihi               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/busines
2023-09-19   2023-09-19 s/economy/strike-autoworkers-labor.html     UAW Strike Places Labor At Crossroads      By Noam Scheiber                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/busines
                        s/hollywood-strikes-uk-filmmaking-
2023-09-19   2023-09-19 industry.html                               US Strikes Are Felt in UK                  By Eshe Nelson                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/busines
                        s/hudson-river-park-development-                                                       By Jane Margolies and Luca
2023-09-19   2023-09-19 manhattan.html                              Shiny Towers an Island and a Beach Too     Vzquez                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/science                                             By Brendan Borrell and Joshua
2023-09-19   2023-09-19 /punan-borneo-nomadic-clan.html             The Nomads of Borneo                       Irwandi                         TX 9-332-339   2023-11-02




                                                                               Page 5749 of 5793
                        https://www.nytimes.com/2023/09/19/us/polit
                        ics/biden-united-nations-general-           Biden Plans to Use UN Speech to Urge         By Michael D Shear and Peter
2023-09-19   2023-09-19 assembly.html                               Nations to Nurture Democracy                 Baker                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/arts/des
2023-09-12   2023-09-20 ign/tank-museum-youtube.html                Museum Scores a Hit Crushing Competition By Alex Marshall                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/dining/
2023-09-13   2023-09-20 easy-vegetarian-corn-pasta-recipe.html      A Pasta Dish We Can All Agree On             By Melissa Clark                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/dining/ 20 Bottles for All Seasons And All of Them
2023-09-14   2023-09-20 drinks/wines-under-20-dollars.html          Under 20                                     By Eric Asimov                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/dining/t
                        hree-seashore-restaurants-for-summers-      Savor the Tastes of Summer Near the
2023-09-14   2023-09-20 end.html                                    Seashore                                     By Pete Wells                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/well/fa Here to Help How to Care for Your Kids
2023-09-14   2023-09-20 mily/teeth-dentist-children.html            Teeth                                        By Melinda Wenner Moyer          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/opinion
                        /single-parent-families-income-inequality-  The Rise of SingleParent Families Is Bad for
2023-09-17   2023-09-20 college.html                                Kids                                         By Melissa S Kearney             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/arts/mu
                        sic/review-komische-oper-berlin-tempelhof-
2023-09-18   2023-09-20 medusa.html                                 Turning a Tale Into a Spectacle              By Zachary Woolfe                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/busines Even HardWon Gains Cant Free Poor Nations
2023-09-18   2023-09-20 s/economy/ghana-debt-imf.html               From Cycle of Debt                           By Patricia Cohen                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/dining/t
                        hieboudienne-rice-recipe-senegal-national-
2023-09-18   2023-09-20 dish.html                                   The Queen of West African OnePot Recipes By Yewande Komolafe                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/dining/t
2023-09-18   2023-09-20 iktok-cookbook-authors.html                 TikTok Stars Reshape the Cookbook World By Priya Krishna                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/dining/
2023-09-18   2023-09-20 yakgwa-korean-honey-cookies.html            From Ancient Korea With Timeless Flavor      By Eric Kim                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/dining/ To Participate Learn to Make Bagels For the
2023-09-18   2023-09-20 yom-kippur-break-fast-bagels.html           End of the Fast                              By Florence Fabricant            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/movies/ With Actors on Strike Directors Take
2023-09-18   2023-09-20 hollywood-strike-directors.html             Spotlight                                    By Julia Jacobs                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/meth Methuselah Who Is Old and Full of Days May
2023-09-18   2023-09-20 uselah-fish-san-francisco.html              Have Set an Aquarium Record                  By Soumya Karlamangla            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/miss                                               By Michael Levenson and Rebecca
2023-09-18   2023-09-20 ing-f35-military-jet-charleston.html        Debris From Missing Fighter Jet Is Found     Carballo                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/polit Trump Plans to Skip Debate to Speak in       By Shane Goldmacher and Maggie
2023-09-18   2023-09-20 ics/trump-detroit-debate.html               Detroit                                      Haberman                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/us/polit Milestone for National Debt as Congress
2023-09-18   2023-09-20 ics/us-national-debt.html                   Battles Over Spending                        By Alan Rappeport                TX 9-332-339   2023-11-02
                                                                                                                 By John Ismay Thomas
                        https://www.nytimes.com/2023/09/18/world/e                                               GibbonsNeff Haley Willis Malachy
                        urope/ukraine-missile-kostiantynivka-       Missile That Killed 15 at a Market May Have Browne Christoph Koettl and
2023-09-18   2023-09-20 market.html                                 Come From Ukraine                            Alexander Cardia                 TX 9-332-339   2023-11-02



                                                                               Page 5750 of 5793
                        https://www.nytimes.com/2023/09/18/world/ From FloodStruck Ruins Libyans Demand         By Raja Abdulrahim Vivian
2023-09-18   2023-09-20 middleeast/libya-floods-protests-derna.html Official Accountability                     Nereim and Hwaida Saad            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/arts/dan
                        ce/new-york-city-ballet-75th-anniversary-   At City Ballet Birthday Bash a Mix of Old
2023-09-19   2023-09-20 party.html                                  and New                                     By Julia Jacobs                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/arts/des
                        ign/new-red-order-creative-time-queens-
2023-09-19   2023-09-20 worlds-unfair.html                          Indigenous Provocation                      By Travis Diehl                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/arts/des Yemen Reclaims 2 Artifacts but the Met Will
2023-09-19   2023-09-20 ign/yemen-met-artifacts.html                Still Display Them                          By Zachary Small                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/arts/mu BehindtheScenes Hitmaker Leads Latin
2023-09-19   2023-09-20 sic/latin-grammy-nominations.html           Grammy Nominations                          By Joe Coscarelli                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/arts/mu Roger Whittaker Singer Whose Charm
2023-09-19   2023-09-20 sic/roger-whittaker-dead.html               Spanned Continents Is Dead at 87            By Robert D McFadden              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/busines
                        s/american-european-chamber-commerce-       US Companies Flustered By Chinas            By Keith Bradsher and Alexandra
2023-09-19   2023-09-20 china.html                                  Contradictions                              Stevenson                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/busines Cyberattack May Cause A Shortage Of
2023-09-19   2023-09-20 s/clorox-cyberattack-shortage.html          Clorox                                      By Christine Hauser               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/busines
                        s/economy/fed-meeting-interest-rates-
2023-09-19   2023-09-20 inflation.html                              Fed Meeting May Signal Next Phase           By Jeanna Smialek                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/19/busines IllGotten Gains FTX Sues Parents of
2023-09-19   2023-09-20 s/ftx-sam-bankman-fried-parents-sued.html BankmanFried                                 By David YaffeBellany              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/busines
2023-09-19   2023-09-20 s/media/disney-parks-expansion.html         Disney Bets Big on Parks and Cruises       By Brooks Barnes                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/busines Max to Stream Live Sports At No Extra Cost
2023-09-19   2023-09-20 s/media/max-pro-sports-streaming.html       for Now                                    By John Koblin                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/busines SEC Charges Funds Manager Tied to
2023-09-19   2023-09-20 s/sec-concord-abramovich.html               Oligarch                                   By Matthew Goldstein               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/climate UN Chief Implores Leaders to Improve on
2023-09-19   2023-09-20 /guterres-climate-summit.html               Climate                                    By Somini Sengupta                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/dining/ BondSt Opens a Roomier Splashier Sushi
2023-09-19   2023-09-20 nyc-restaurant-news.html                    Spot in Hudson Yards                       By Florence Fabricant              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/dining/r Find Yourself Seated Where the Wild Things
2023-09-19   2023-09-20 estaurant-review-foxface-natural.html       Are                                        By Pete Wells                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/nyregio Giving a Traitor His Just Deserts for 242
2023-09-19   2023-09-20 n/benedict-arnold-connecticut.html          Years                                      By Amelia Nierenberg               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/19/nyregio Suspect in Day Care Death Called Her           By Benjamin Weiser and Claire
2023-09-19   2023-09-20 n/bronx-day-care-fentanyl-death-charges.html Husband Twice Before 911 Prosecutors Say Fahy                                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/nyregio
2023-09-19   2023-09-20 n/floyd-bennett-migrants-lawsuit.html        Suit Filed to Block Brooklyn Migrant Shelter By Nicholas Fandos              TX 9-332-339   2023-11-02




                                                                                 Page 5751 of 5793
                        https://www.nytimes.com/2023/09/19/nyregio Giulianis Defense Lawyer Sues for Unpaid
2023-09-19   2023-09-20 n/giuliani-suit-lawyer.html                 Legal Fees                                      By Ben Protess                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/opinion
2023-09-19   2023-09-20 /biden-netanyahu-meeting-saudis.html        What Biden Should Ask Bibi                      By Thomas L Friedman              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/opinion America Still Stands in the Way of Solving
2023-09-19   2023-09-20 /climate-summit-2023-un.html                Climate Change                                  By Lydia Millet                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/opinion How to Make Russia Pay for Invading
2023-09-19   2023-09-20 /ukraine-russia-united-states-funding.html  Ukraine                                         By Bret Stephens                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/style/pr Nothing Less Than Royalty For Oysters In
2023-09-19   2023-09-20 ince-william-new-york-east-river.html       New York                                        By Callie Holtermann              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/technol Internet Law in UK Shields Children and
2023-09-19   2023-09-20 ogy/britain-online-safety-law.html          Targets Illicit Content                         By Adam Satariano                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/technol
                        ogy/google-bard-ai-chatbot-youtube-
2023-09-19   2023-09-20 gmail.html                                  Google Links Chatbot Bard To Other Apps         By Nico Grant                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/technol                                                  By Erin Griffith and Kellen
2023-09-19   2023-09-20 ogy/instacart-ipo-stock-shares.html         Instacart Soars 40 In Its IPO                   Browning                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/theater/ Its Pretty Hard to Ignore the Cannibal in the
2023-09-19   2023-09-20 philadelphia-fringe-festival.html           Room                                            By Alexis Soloski                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/us/affir
2023-09-19   2023-09-20 mative-action-west-point.html               Policy on Race At West Point Is Challenged      By Anemona Hartocollis            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/us/migr
2023-09-19   2023-09-20 ants-buses-la-nyc.html                      In Los Angeles Migrant Buses but No Crisis      By Jill Cowan and Miriam Jordan   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/us/nort Northern Lights Put On a Show Across the
2023-09-19   2023-09-20 hern-lights-map-tonight.html                US                                              By Mike Ives                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/us/polit US Officials and Saudis Are Exploring a         By Edward Wong and Mark
2023-09-19   2023-09-20 ics/biden-saudi-defense-treaty.html         Mutual Defense Treaty                           Mazzetti                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/us/polit Trailing Trump in Iowa DeSantis Faces
2023-09-19   2023-09-20 ics/desantis-iowa-trump.html                Growing Urgency                                 By Nicholas Nehamas               TX 9-332-339   2023-11-02
                                                                    After TwoYear Delay 911 Hearings Resume
                        https://www.nytimes.com/2023/09/19/us/polit as Judge Announces He Will Retire Before
2023-09-19   2023-09-20 ics/judge-sept-11-case-retirement.html      Trial Begins                                    By Carol Rosenberg                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/us/polit
                        ics/pennsylvania-automatic-voter-           Pennsylvania Will Begin to Register New
2023-09-19   2023-09-20 registration.html                           Voters Automatically                            By Neil Vigdor                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/us/polit 5 FarRight GOP Members Frustrate
2023-09-19   2023-09-20 ics/pentagon-gop-bill.html                  McCarthy on Pentagon Spending Bill              By Carl Hulse                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/us/polit
                        ics/ray-epps-jan-6-conspiracy-theory-       Conspiracy Story Target Charged in Jan 6
2023-09-19   2023-09-20 charged.html                                Attack                                          By Alan Feuer                     TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/19/us/polit For Some Senators New Relaxed Dress Code
2023-09-19   2023-09-20 ics/senate-dress-code-fetterman-schumer.html Is Just Uncomfortable                       By Annie Karni                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/us/polit Scott Takes Harsh Line Against Auto Strikers
2023-09-19   2023-09-20 ics/tim-scott-uaw-strike.html                Citing Reagans Dictum                       By Maggie Astor                      TX 9-332-339   2023-11-02



                                                                                  Page 5752 of 5793
                        https://www.nytimes.com/2023/09/19/us/polit Trump Said to Press Aide To Stay Mum        By Maggie Haberman and Alan
2023-09-19   2023-09-20 ics/trump-aide-classified-documents.html    About Boxes                                 Feuer                            TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/19/us/sacr County Prosecutor Sues Sacramento Over       By Shawn Hubler and Soumya
2023-09-19   2023-09-20 amento-homeless-lawsuit.html                Homeless Encampments                        Karlamangla                      TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/19/us/spec Voters Let Democrats Keep Control Of Pa
2023-09-19   2023-09-20 ial-election-pennsylvania.html              House                                       By David W Chen                  TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/19/us/texa My Vote Was Rejected Trial Underway in
2023-09-19   2023-09-20 s-voting-rights-trial.html                  Texas Over New Voting Law                   By Edgar Sandoval              TX 9-332-339       2023-11-02
                        https://www.nytimes.com/2023/09/19/world/a CanadaIndia Tension Boils After Murder       By Mujib Mashal Hari Kumar and
2023-09-19   2023-09-20 sia/trudeau-canada-india-separatists.html   Claim                                       Suhasini Raj                   TX 9-332-339       2023-11-02
                        https://www.nytimes.com/2023/09/19/world/a Australian Region Sees Catastrophic Fire
2023-09-19   2023-09-20 ustralia/elnino-fires-nsw.html              Conditions                                  By Yan Zhuang                    TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/19/world/c Sikh Separatist at Heart Of CanadaIndia
2023-09-19   2023-09-20 anada/who-is-hardeep-singh-nijjar-india.html Dispute                                      By Suhasini Raj                TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/19/world/e
                        urope/azerbaijan-military-nagorno-           Azerbaijan Begins Military Operation Against
2023-09-19   2023-09-20 karabakh.html                                an Armenian Enclave                          By Ivan Nechepurenko           TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/19/world/e Biden Urges Global Unity In Sticking Up for By Michael D Shear and Peter
2023-09-19   2023-09-20 urope/biden-speech-un-general-assembly.html Ukraine                                    Baker                             TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/19/world/e
                        urope/switzerland-belarus-trial-            Belarus Man Begins Trial For His Role In
2023-09-19   2023-09-20 lukashenko.html                             Abductions                                 By Nick CummingBruce              TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/19/world/e Ukraine Tries New Route Along Black Sea to
2023-09-19   2023-09-20 urope/ukraine-grain-ship.html               Get Its Grain Out to the World             By Matthew Mpoke Bigg             TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/19/world/e Ukraines War Is Worlds Cause Zelensky Tells By Richard PrezPea Andrew E
2023-09-19   2023-09-20 urope/zelensky-ukraine-united-nations.html the UN                                      Kramer and Farnaz Fassihi         TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/19/world/ Strongman in East Libya Puts a Grip on Flood
2023-09-19   2023-09-20 middleeast/libya-flood-aid-khalifa-hifter.html Aid                                       By Ben Hubbard                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/live/2023/09/19/wo
                        rld/russia-ukraine-news/the-arrival-of-the-
                        abrams-tanks-will-bring-a-powerful-new-        US Defense Secretary Says Ukraine Will
2023-09-19   2023-09-20 weapon-to-the-battlefield                      Soon Receive Abrams Tanks                 By Lara Jakes and Steven Erlanger TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/03/crossw An Editor Finds Scrabble Is More Than
2023-08-03   2023-09-21 ords/scrabble-strategy-math.html               Words                                     By Isaac Aronow                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/style/bl
2023-09-14   2023-09-21 oomingdales-big-brown-bag.html                 A Branding Milestone in a Brown Paper Bag By Hilary Reid                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/opinion One Million Tibetan Children Indoctrinated
2023-09-15   2023-09-21 /china-tibet-boarding-school.html              by China                                  By Gyal Lo                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/style/dil Why a Buzzy Fashion Show Suddenly Got
2023-09-15   2023-09-21 ara-findikoglu-london-fashion-week.html        Canceled                                  By Elizabeth Paton                TX 9-332-339   2023-11-02




                                                                                Page 5753 of 5793
                        https://www.nytimes.com/2023/09/15/style/wr
2023-09-15   2023-09-21 iters-strike-auction.html                   Lena Dunham Will Paint a Mural for You         By Jessica Roy                    TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/17/busines Masks Off Lipstick On Foreign Cosmetics         By Keith Bradsher and Elizabeth
2023-09-17   2023-09-21 s/china-cosmetic-imports.html               Makers Out                                     Paton                             TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/18/arts/des That NC Wyeth Will Look Very Nice in My
2023-09-18   2023-09-21 ign/wyeth-painting-thrift-store-auction.html Bedroom                                       By Matt Stevens                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/18/arts/mu                                                 By Orlando Mayorquin and Alex
2023-09-18   2023-09-21 sic/irish-grinstead-702-dead.html            Irish Grinstead 43 of RampB Girl Group 702    Traub                             TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/18/arts/ray Raymond Moriyama Designer of Humane
2023-09-18   2023-09-21 mond-moriyama-dead.html                      Public Spaces Dies at 93                      By Penelope Green                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/18/style/si                                                By Gina Cherelus and Jackie
2023-09-18   2023-09-21 ngles-events.html                            Taking a Look at the Singles Events Horizon   Molloy                            TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/18/t-
                        magazine/portugal-alentejo-eddie-roschi-
2023-09-18   2023-09-21 house.html                                   When The Art Is The View                      By Gisela Williams and Jos F Costa TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/arts/des
                        ign/jens-haaning-take-the-money-and-
2023-09-19   2023-09-21 run.html                                     Conceptual Art Real Lawsuit                   By Marc Tracy                     TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/19/arts/lies-
2023-09-19   2023-09-21 of-p-pinocchio-video-game.html               Meet Pinocchio the Warrior No Fib             By Justin Porter                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/19/arts/mu
                        sic/jann-wenner-rock-and-roll-hall-of-
2023-09-19   2023-09-21 fame.html                                    His Reign Was Toppled In Minutes              By Ben Sisario                    TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/19/arts/mu Songs of Hope and Sorrow Now Sung by One
2023-09-19   2023-09-21 sic/os-tincoas-canto-coral-afrobrasileiro.html Man                                   By Carlos Albuquerque                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/19/arts/tele Prestige TV Toxic Male Power and Ornery
2023-09-19   2023-09-21 vision/difficult-men.html                      Mavericks                             By Marc Tracy                           TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/19/opinion
2023-09-19   2023-09-21 /kevin-mccarthy-gaetz.html                     Maybe Matt Gaetz Is Right             By Michelle Cottle                      TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/19/style/br
2023-09-19   2023-09-21 ooke-shields-cabaret-broadway.html             Fame Is Weird and She Knows It        By Jacob Bernstein                      TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/19/style/bu And Suddenly Its Time to Focus on Life in
2023-09-19   2023-09-21 rberry-daniel-lee-london-fashion-week.html the Trenches                                    By Vanessa Friedman               TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/19/style/lo
2023-09-19   2023-09-21 ndon-fashion-week.html                      In London Fresh Ideas Rise Above the Fray      By Elizabeth Paton                TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/19/t-
                        magazine/jean-michel-othoniel-dior-perfume-
2023-09-19   2023-09-21 dinner.html                                 Flower Power                                   By Emilia Petrarca                TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/19/us/polit Billions to Give Rural America Fast Internet
2023-09-19   2023-09-21 ics/high-speed-internet-biden.html          May Fall Far Short                             By Madeleine Ngo                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/19/world/e
2023-09-19   2023-09-21 urope/soldiers-ukraine-donbas.html          Load Fire Get to Cover                         By Tyler Hicks                    TX 9-332-339    2023-11-02



                                                                                  Page 5754 of 5793
                        https://www.nytimes.com/2023/09/19/obituari James Hoge 87 Dies The Editor and
2023-09-20   2023-09-21 es/james-hoge-dead.html                      Publisher Of Two Big City Tabloids            By Clyde Haberman                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/arts/dan
                        ce/city-ballet-jewels-season-opener-onstage-
2023-09-20   2023-09-21 reunion.html                                 A Fabled Troupe Celebrates Its 75th           By Gia Kourlas                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/arts/has
2023-09-20   2023-09-21 an-minhaj-comedy.html                        Can a Comic Stretch the Truth Too Far         By Jason Zinoman                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/arts/mu
                        sic/doppelganger-armory-jonas-kaufmann-
2023-09-20   2023-09-21 claus-guth.html                               Solo Sung In Isolation Fills Space With Life By Joshua Barone                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/arts/sch Schiele Artworks Looted by Nazis Are           By Tom Mashberg and Graham
2023-09-20   2023-09-21 iele-fritz-grunbaum-nazis.html               Returned                                      Bowley                           TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/20/books/a                                               By Alexandra Alter and Elizabeth
2023-09-20   2023-09-21 uthors-openai-lawsuit-chatgpt-copyright.html Franzen Grisham and Others Sue OpenAI       A Harris                           TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/20/busines Ford Averts Strike in Canada As Talks in US
2023-09-20   2023-09-21 s/economy/ford-canada-labor-deal-unifor.html Inch Along                                  By Neal E Boudette                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/busines
                        s/fed-meeting-september-inflation-           Aiming for Soft Landing Fed Tries Rate
2023-09-20   2023-09-21 economy.html                                 Pause                                       By Jeanna Smialek                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/busines
2023-09-20   2023-09-21 s/gas-prices.html                            Why Price Of Gasoline Is Still Rising       By Santul Nerkar                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/busines
2023-09-20   2023-09-21 s/uk-inflation.html                          Inflation Rate In the UK Slips to 67        By Eshe Nelson                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/busines
                        s/unions-jobs-maine-biden-climate-           A Collaboration to Make RenewableEnergy
2023-09-20   2023-09-21 agenda.html                                  Projects Work for Workers                   By Jim Tankersley                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/climate
2023-09-20   2023-09-21 /climate-foward-profiles.html                The Many Ways to Combat Climate Change      By Jim Colgan                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/climate
2023-09-20   2023-09-21 /experts-qna-obstacles-priorities-hope.html  Obstacles Priorities and Hope               By The New York Times              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/climate
2023-09-20   2023-09-21 /extreme-weather-climate-change.html         Hope and Despair On a Boiling Planet        By David Gelles                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/climate US and China Shunned At UN Climate
2023-09-20   2023-09-21 /guterres-un-climate-summit.html             Summit                                      By Max Bearak                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/climate
2023-09-20   2023-09-21 /high-seas-treaty-united-nations.html        Protecting Ocean Life                       By Tatiana Schlossberg             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/climate
                        /michael-blooomberg-climate-
2023-09-20   2023-09-21 petrochemicals.html                          Michael Bloombergs War on Plastics          By David Gelles                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/climate
2023-09-20   2023-09-21 /space-solar-power-energy.html               Looking Above for Energy Solutions Below    By Nell Gallogly                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/climate
2023-09-20   2023-09-21 /trains-rail-climate-change.html             Weather Is Challenging Rail Lines           By Ellen Rosen                     TX 9-332-339   2023-11-02



                                                                                Page 5755 of 5793
                        https://www.nytimes.com/2023/09/20/climate Smoke From Wildfires Reverses Progress      By Delger Erdenesanaa and Noah
2023-09-20   2023-09-21 /wildfire-smoke-air-pollution.html          Made on Cleaning Air                       Weiland                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/health/r Unproven Therapy At Major Hospital Got     By Ellen Gabler Steve Eder and
2023-09-20   2023-09-21 egenerative-medicine-risks-ethics.html      FDA Warning                                Allie Pitchon                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/movies/ Robert Klane 81 Irreverent Writer Who
2023-09-20   2023-09-21 robert-klane-dead.html                      Created Weekend at Bernies                 By Richard Sandomir              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/nyregio New York City Loses a Contentious Bid For a
2023-09-20   2023-09-21 n/cricket-stadium-bronx-long-island.html    Cricket Stadium to Long Island             By Dana Rubinstein               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/nyregio Rabbis Who Started Fire at Nursing Home
2023-09-20   2023-09-21 n/nursing-home-fire-rabbis-probation.html   Are Spared Jail Time                       By Erin Nolan and Ed Shanahan    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/opinion Will Republicans Abandon This Medical
2023-09-20   2023-09-21 /republicans-pepfar-aids.html               Triumph                                    By Nicholas Kristof              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/opinion
2023-09-20   2023-09-21 /young-voters-2024.html                     Young Voters Are Frustrated but Engaged    By Charles M Blow                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/realesta
                        te/building-construction-emissions-climate-
2023-09-20   2023-09-21 change.html                                 Finding a Better Way to Build              By Debra Kamin                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/science
2023-09-20   2023-09-21 /climate-birds-conservation.html            BirdWatching With a Purpose                By Emily Anthes                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/science Astronaut Ready for Silence After Year in
2023-09-20   2023-09-21 /nasa-frank-rubio-space-record.html         Space                                      By Amanda Holpuch                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/20/sports/s
2023-09-20   2023-09-21 tadiums-sustainability-climate-change.html A Team Effort to Reduce Waste                 By Ken Belson                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/style/m
2023-09-20   2023-09-21 atthieu-blazy-bottega-veneta.html           The Man Who Transformed Bottega Veneta       By Vanessa Friedman            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/technol A New Tool for Speaking an Image Into
2023-09-20   2023-09-21 ogy/chatgpt-dalle3-images-openai.html       Existence                                    By Cade Metz and Tiffany Hsu   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/technol
2023-09-20   2023-09-21 ogy/google-bard-extensions.html             Google Bard Is Still Erratic After a Boost   By Kevin Roose                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/20/theater/
2023-09-20   2023-09-21 ai-stories-theater-prometheus-firebringer.html AIScripted Stories Are Taking the Stage   By Laura CollinsHughes         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/theater/
2023-09-20   2023-09-21 carole-rothman-second-stage.html               Second Stage CoFounder To Make Exit       By Michael Paulson             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/lahai A Sign of Hope in Lahaina Sprouts on a
2023-09-20   2023-09-21 na-banyan-tree-hawaii-fire-growth.html         Beloved Tree                              By Livia AlbeckRipka           TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/20/us/polit
2023-09-20   2023-09-21 ics/defense-chips-taiwan-semiconductors.html US to Grant 238 Million For Chip Hubs      By Ana Swanson                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/polit DeSantis Denounces Biden And Touts Energy
2023-09-20   2023-09-21 ics/desantis-climate-energy-biden.html       in Texas                                   By Anjali Huynh                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/polit
                        ics/doug-burgum-asa-hutchinson-republican- Two Candidates Straddle Eligibility Ahead of
2023-09-20   2023-09-21 debate.html                                  the Second GOP Debate                      By Neil Vigdor                  TX 9-332-339   2023-11-02



                                                                                   Page 5756 of 5793
                        https://www.nytimes.com/2023/09/20/us/polit US Plans to Resume Program Offering
2023-09-20   2023-09-21 ics/free-covid-tests-biden.html                VirusTest Kits by Mail                         By Sheryl Gay Stolberg          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/polit
                        ics/garland-house-judiciary-committee-justice-
2023-09-20   2023-09-21 dept.html                                      Angry Garland Rebuffs GOP On Biden Case By Glenn Thrush                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/polit House Republicans Inch Closer to Spending
2023-09-20   2023-09-21 ics/house-spending-bills-stalled.html          Deal                                           By Carl Hulse and Annie Karni   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/polit McCarthy Declines to Allow Ukraine Leader
2023-09-20   2023-09-21 ics/mccarthy-zelensky-republicans.html         to Address House                               By Karoun Demirjian             TX 9-332-339   2023-11-02
                                                                       Abortion Rights Group Renames Itself as
                        https://www.nytimes.com/2023/09/20/us/polit Mission Grows Beyond ProChoice in the
2023-09-20   2023-09-21 ics/naral-name-change.html                     PostRoe Era                                    By Lisa Lerer                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/polit Target of Jan 6 Conspiracy Theory Pleads
2023-09-20   2023-09-21 ics/ray-epps-pleads-guilty.html                Guilty to Single Misdemeanor                   By Alan Feuer and Zach Montague TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/polit The Five in the House Who Are Giving the
2023-09-20   2023-09-21 ics/republicans-mccarthy-spending.html         Speaker Fits                                   By Annie Karni                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/polit
                        ics/senate-military-nominations-               Senate Skirts Blockade by Confirming           By Karoun Demirjian and Kayla
2023-09-20   2023-09-21 tuberville.html                                Chairman of Joint Chiefs of Staff              Guo                             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/polit
2023-09-20   2023-09-21 ics/trump-iowa-republicans-2024.html           Trump Moves To Lock Up Iowa Support            By Michael Gold                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/polit Hurd Proposes AI Policy A First in the GOP
2023-09-20   2023-09-21 ics/will-hurd-ai-plan.html                     Field                                          By Maggie Astor                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/trum Lawyers Hint at Defense Strategy for Trump By Richard Fausset and Danny
2023-09-20   2023-09-21 p-georgia-electors-defense.html                Electors in Georgia Case                       Hakim                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/world/a
                        frica/portraits-of-fire-victims-two-toddlers-
                        named-memory-and-a-teacher-about-to-           Giving a Final Voice to the Victims Of a Fatal
2023-09-20   2023-09-21 wed.html                                       Fire in South Africa                           By Lynsey Chutel                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/world/c Canadas Allegations Further Divide Its Indian
2023-09-20   2023-09-21 anada/hardeep-singh-nijjar-killed.html         Diaspora                                       By Vjosa Isai and Ian Austen    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/world/e Azerbaijan Says It Has Regained Control of a By Ivan Nechepurenko and Anton
2023-09-20   2023-09-21 urope/azerbaijan-armenia-cease-fire.html       Breakaway Armenian Enclave                     Troianovski                     TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/20/world/e Offered Reform Spain Womens Soccer Team
2023-09-20   2023-09-21 urope/spain-women-soccer-sweden-uefa.html Agrees to Return to Competition          By Rachel Chaundler               TX 9-332-339            2023-11-02
                        https://www.nytimes.com/2023/09/20/world/e
                        urope/uk-police-murder-charges-chris-      London Police Officer Is Charged With
2023-09-20   2023-09-21 kaba.html                                  Murder in Shooting of a Black Driver    By Aaron Boxerman                 TX 9-332-339            2023-11-02
                        https://www.nytimes.com/2023/09/20/world/e Sunak Softens Britains Climate Change
2023-09-20   2023-09-21 urope/uk-sunak-climate-change.html         Targets as Election Approaches          By Stephen Castle                 TX 9-332-339            2023-11-02
                        https://www.nytimes.com/2023/09/20/world/e                                         By Richard PrezPea Farnaz Fassihi
2023-09-20   2023-09-21 urope/zelensky-un-security-council.html    Ukraine Implores UN to Get Tough        and Michael Crowley               TX 9-332-339            2023-11-02




                                                                                 Page 5757 of 5793
                        https://www.nytimes.com/2023/09/20/world/
                        middleeast/atlas-mountains-pass-morocco-      A Perilous Moroccan Road May Offer a        By Catherine Porter Aida Alami
2023-09-20   2023-09-21 earthquake.html                               Lifeline                                    and Nariman ElMofty              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/world/
                        middleeast/biden-netanyahu-meet-iran-         Biden in Meeting With Netanyahu Spotlights By Patrick Kingsley and Michael D
2023-09-20   2023-09-21 saudi.html                                    Unity                                       Shear                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/polit Canadas Claims About a Killing Catch the US
2023-09-21   2023-09-21 ics/biden-canada-india.html                   Between Allies                              By Peter Baker                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/interactive/2023/09/
                        16/realestate/home-sales-north-carolina-wall- What Happens When Wall Street Buys Most
2023-09-16   2023-09-22 street.html                                   of the Homes on Your Block                  By Ronda Kaysen and Ella Koeze TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/18/movies/
2023-09-18   2023-09-22 superpower-review.html                        Superpower                                  By Ben Kenigsberg                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/movies/
2023-09-19   2023-09-22 the-saint-of-second-chances-review.html       The Saint Of Second Chances                 By Glenn Kenny                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/arts/dan
2023-09-20   2023-09-22 ce/trajal-harrell.html                        StrippedDown Style And a Full Dance Card By Laura Cappelle                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/arts/des
                        ign/stairway-mural-roy-lichtenstein-
2023-09-20   2023-09-22 gagosian.html                                 In the Age of Athleisure No Room for Pop    By Deborah Solomon               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/arts/sot
2023-09-20   2023-09-22 hebys-pier-24-photography.html                Sothebys Sale of Mug Shots and Other Images By Arthur Lubow                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/movies/
2023-09-20   2023-09-22 fear-and-desire-stanley-kubrick.html          A Study of Men Under Stress                 By J Hoberman                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/movies/
2023-09-20   2023-09-22 paul-robeson-review.html                      Paul Robeson Im a Negro Im an American By Lisa Kennedy                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/opinion
2023-09-20   2023-09-22 /culture/timed-tests-biased-kids.html         Timed Tests Are Biased Against Your Kids By Adam Grant                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/sports/a
                        utoracing/massa-2008-f1-world-championship Driver Aims To Capture The F1 Title Of
2023-09-20   2023-09-22 appeal.html                                   2008                                        By Victor Mather                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/style/mi Michael Leva 62 Dies A Designer Who
2023-09-20   2023-09-22 chael-leva-dead.html                          Found Fame Had a Downside                   By Penelope Green                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/mich
2023-09-20   2023-09-22 igan-uaw-strike-economy.html                  Identity Crisis for an Automotive Heartland By Mitch Smith                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/us/los- Los Angeles Councilman to Run Again
2023-09-21   2023-09-22 angeles-de-leon-tape.html                     Despite Racist Audio                        By Shawn Hubler                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/arts/des
2023-09-21   2023-09-22 ign/manet-degas-met-museum.html               Manet and Degas Pas de Deux                 By Holland Cotter                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/arts/tele
                        vision/game-changer-knight-fight-
2023-09-21   2023-09-22 deadlocked.html                               This Weekend I Have                         By Margaret Lyons                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/books/b Efforts to Ban Books Are Rapidly Increasing By Elizabeth A Harris and
2023-09-21   2023-09-22 ook-ban-rise-libraries.html                   at Public Libraries                         Alexandra Alter                  TX 9-332-339   2023-11-02




                                                                                Page 5758 of 5793
                        https://www.nytimes.com/2023/09/21/books/g Gita Mehta 80 Writer Who Offered A
2023-09-21   2023-09-22 ita-mehta-dead.html                        Womans Opinion of Modern India               By Neil Genzlinger            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/busines In Split Decision Bank of England Hits Pause
2023-09-21   2023-09-22 s/bank-england-interest-rates.html         on Rising Rates                              By Eshe Nelson                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/21/busines Cisco Will Buy Splunk a Software Company
2023-09-21   2023-09-22 s/cisco-splunk-deal.html                    That Analyzes Data for 28 Billion in Cash  By Michael J de la Merced      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/busines
2023-09-21   2023-09-22 s/fortnite-refund-ftc-settlement.html       Applications For Refunds For Fortnite      By Derrick Bryson Taylor       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/busines
2023-09-21   2023-09-22 s/hong-kong-stocks-financial-hub.html       Hong Kong Reaches Out To Reassure          By Alexandra Stevenson         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/busines                                             By Ben Casselman and Jeanna
2023-09-21   2023-09-22 s/interest-rates-federal-reserve.html       Fed Officials Expect High Rates Will Last  Smialek                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/busines Murdoch to End Career as Titan In Global
2023-09-21   2023-09-22 s/media/rupert-murdoch-fox-retire.html      Media                                      By Jim Rutenberg               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/busines How a Media Behemoth Was Built Over 7
2023-09-21   2023-09-22 s/rupert-murdoch-media-empire.html          Decades                                    By J Edward Moreno             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/busines Big 3 Strike Offers Tesla Opportunity And
2023-09-21   2023-09-22 s/tesla-musk-auto-union.html                Pitfalls                                   By Jack Ewing                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/climate Biden Compels Federal Agencies to Factor
2023-09-21   2023-09-22 /biden-climate-change-economic-cost.html    Climate Change Into Budgets                By Coral Davenport             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/climate In New York This Week Burning Man for
2023-09-21   2023-09-22 /climate-week-new-york.html                 Climate Geeks                              By Cara Buckley                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/climate Hottest August on Record Caps a Scorching
2023-09-21   2023-09-22 /hottest-august-on-record.html              Summer                                     By Delger Erdenesanaa          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/health/c Female Health Workers Tired of Scant Pay   By Stephanie Nolen and Tiksa
2023-09-21   2023-09-22 ommunity-health-worker-pay.html             Learn Organizing Brings Gains              Negeri                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/health/ Health Insurance Restored For Nearly 500000
2023-09-21   2023-09-22 medicaid-disenrollments-children.html       People                                     By Noah Weiland                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/movies/
2023-09-21   2023-09-22 26-2-to-life-review.html                    262 to Life                                By Calum Marsh                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/movies/
2023-09-21   2023-09-22 cassandro-review.html                       Fighting to Be Free In the Ring and Out    By Natalia Winkelman           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/movies/
2023-09-21   2023-09-22 expend4bles-review.html                     Brawn Brigade Trudges On                   By Amy Nicholson               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/movies/
2023-09-21   2023-09-22 it-lives-inside-review.html                 It Lives Inside                            By Brandon Yu                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/movies/
2023-09-21   2023-09-22 my-sailor-my-love-review.html               My Sailor My Love                          By Amy Nicholson               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/movies/
2023-09-21   2023-09-22 neither-confirm-nor-deny-review.html        Neither Confirm Nor Deny                   By Nicolas Rapold              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/movies/
2023-09-21   2023-09-22 something-you-said-last-night-review.html   Something You Said Last Night              By Erik Piepenburg             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/movies/
2023-09-21   2023-09-22 still-film-review.html                      Still Film                                 By Robert Daniels              TX 9-332-339   2023-11-02



                                                                                Page 5759 of 5793
                        https://www.nytimes.com/2023/09/21/movies/
2023-09-21   2023-09-22 the-storms-of-jeremy-thomas-review.html    The Storms Of Jeremy Thomas                By Claire Shaffer              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/movies/
                        the-trial-review-seeking-justice-for-
2023-09-21   2023-09-22 argentina.html                             The Trial                                  By Nicolas Rapold              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/nyregio
                        n/bronx-day-care-child-death-fentanyl-     At Bronx Day Care a Trap Door Hid a Cache
2023-09-21   2023-09-22 drugs.html                                 of Drugs Where a Child Died                By Hurubie Meko                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/nyregio City Development Plan Could Lead to
2023-09-21   2023-09-22 n/nyc-housing-plan-adams.html              Construction of 100000 New Homes           By Mihir Zaveri                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/nyregio
                        n/republicans-trump-china-ramaswamy-       GOP Candidates Focus on China to Exhibit
2023-09-21   2023-09-22 pence.html                                 Foreign Policy Chops                       By Michael Gold                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/nyregio The Hotel That Has Become the Ellis Island By Joseph Goldstein and Todd
2023-09-21   2023-09-22 n/roosevelt-hotel-migrant-crisis.html      for Thousands of Arriving Migrants         Heisler                        TX 9-332-339   2023-11-02
                                                                   Democratic Leaders Praise Migrant Work
                        https://www.nytimes.com/2023/09/21/nyregio Permits but Will It Draw More From
2023-09-21   2023-09-22 n/tps-venezuelan-migrants.html             Venezuela                                  By Andy Newman                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/nyregio New York Weighs Impact of New Protections
2023-09-21   2023-09-22 n/venezuelans-migrants-work-nyc.html       for Venezuelan Migrants                    By Nicholas Fandos             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/opinion
2023-09-21   2023-09-22 /biden-republicans-impeachment.html        The Borking of Biden                       By Pamela Paul                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/opinion
2023-09-21   2023-09-22 /elon-musk-ambition.html                   A Theory of Musks Maniacal Drive           By David Brooks                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/21/opinion
2023-09-21   2023-09-22 /kevin-mccarthy-gingrich-house-speaker.html Why Kevin McCarthy Cant Do His Job       By Paul Krugman                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/sports/t
2023-09-21   2023-09-22 ennis/frances-tiafoe-laver-cup.html         Frances Tiafoes motivations              By Cindy Shmerler               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/21/sports/t
2023-09-21   2023-09-22 ennis/laver-cup-generational-shift-tennis.html A Generational Shift at the Laver Cup     By Cindy Shmerler           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/sports/t
2023-09-21   2023-09-22 ennis/vancouver-laver-cup.html                 Vancouver lands a big one                 By Liz Robbins              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/technol Tangled History of Lawyers In the Rise and By David YaffeBellany and
2023-09-21   2023-09-22 ogy/ftx-sam-bankman-fried-lawyers.html         Fall of FTX                               Matthew Goldstein           TX 9-332-339   2023-11-02
                                                                       Chief Executive of a Tech David Testifies
                        https://www.nytimes.com/2023/09/21/technol About Obstacles to Competing With a Goliath
2023-09-21   2023-09-22 ogy/google-antitrust-duckduckgo.html           Google                                    By Cecilia Kang             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/theater/
2023-09-21   2023-09-22 dig-review-theresa-rebeck.html                 Green Thumbs Tortured Souls               By Laura CollinsHughes      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/theater/ Grief Comes Out at Night And Tears Often
2023-09-21   2023-09-22 lunar-eclipse-review-reed-birney.html          Follow                                    By Jesse Green              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/us/goog Family Files Suit Over Google Maps After
2023-09-21   2023-09-22 le-maps-lawsuit-collapsed-bridge.html          Man Drives Off Collapsed Bridge           By Jenny Gross              TX 9-332-339   2023-11-02



                                                                              Page 5760 of 5793
                        https://www.nytimes.com/2023/09/21/us/polit
                        ics/biden-immigration-eric-adams-                                                            By Michael D Shear and Luis
2023-09-21   2023-09-22 venezuela.html                              Biden Offers Step to Relieve Migrant Crisis      FerrSadurn                       TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/us/polit
                        ics/david-mccormick-pennsylvania-senate-    Tired of Losing Pennsylvania GOP Aims to
2023-09-21   2023-09-22 gop.html                                    Avoid Senate Infighting                          By Michael C Bender              TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/us/polit
2023-09-21   2023-09-22 ics/desantis-new-hampshire-poll.html        Recent Polls Show Losses For DeSantis            By Maggie Astor                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/us/polit Nearly 99 Carter Savors Life And Peanut
2023-09-21   2023-09-22 ics/jimmy-carter-hospice.html               Butter Ice Cream                                 By Peter Baker                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/us/polit
                        ics/mccarthy-spending-house-                HardRight Republicans Rebuke McCarthy
2023-09-21   2023-09-22 republicans.html                            Again                                            By Annie Karni and Carl Hulse    TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/21/us/polit 3 Promotions For Generals Get Through
2023-09-21   2023-09-22 ics/senate-tuberville-military-blockade.html Senator Hold                                    By Karoun Demirjian              TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/us/polit Sanity Ruling Favors One Of 5 Accused In
2023-09-21   2023-09-22 ics/september-11-guantanamo-torture.html     911 Trial                                       By Carol Rosenberg               TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/us/polit
                        ics/state-department-classified-documents-   Contractor Said to Steal Satellite Imagery of
2023-09-21   2023-09-22 ethiopia.html                                Africa                                          By Adam Goldman                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/us/polit President Tells Zelensky the US Stands With
2023-09-21   2023-09-22 ics/zelensky-washington-biden-visit.html     Kyiv                                            By Erica L Green and Katie Rogers TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/world/a Left Broken Into Pieces As Darfur Clashes
2023-09-21   2023-09-22 frica/sudan-war-darfur.html                  Force New Generation to Flee                    By Abdi Latif Dahir              TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/world/a A New Tack on Migrant Crisis Processing           By Genevieve Glatsky and Zolan
2023-09-21   2023-09-22 mericas/border-migrants-biden-plan.html      Centers in Latin America                        KannoYoungs                      TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/world/a Syrias President Pays a Visit to China To         By Tiffany May and Raja
2023-09-21   2023-09-22 sia/assad-china-syria.html                   Seek Financial Support and Allyship             Abdulrahim                       TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/world/a India Suspending Visas For Canadians
2023-09-21   2023-09-22 sia/india-canada-visas.html                  Nationals After Killing of Sikh Man             By Suhasini Raj and Yan Zhuang   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/world/e
                        urope/russia-armenia-azerbaijan-             Despite Putins Boast Ukraine War Distracts
2023-09-21   2023-09-22 karabakh.html                                From Friends Fight                              By Andrew Higgins                TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/world/
                        middleeast/libya-floods-derna-
2023-09-21   2023-09-22 crackdown.html                               After Floods Libya Appears to Target Critics    By Vivian Yee                    TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/22/movies/
2023-09-22   2023-09-22 the-origin-of-evil-review.html               The Origin of Evil                              By Beatrice Loayza               TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/14/travel/p
2023-09-14   2023-09-23 alatial-hotels-in-rome.html                  In Rome Its Luxury vs Squalor                   By Jason Horowitz                TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/15/movies/
2023-09-15   2023-09-23 branaghs-poirot-mustache-venice.html         The Many Mustaches Of Branaghs Poirot           By Calum Marsh                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/18/opinion Alabamas Horrible New Way of Killing
2023-09-18   2023-09-23 /alabama-executions-botched.html             People on Death Row                             By Bernard E Harcourt            TX 9-332-339    2023-11-02



                                                                                   Page 5761 of 5793
                        https://www.nytimes.com/2023/09/19/arts/des
                        ign/octagon-earthworks-ohio-world-heritage-
2023-09-19   2023-09-23 site.html                                    Ohio Site Named a Treasure                  By Sarah Bahr                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/arts/mu
                        sic/opera-san-carlo-stephane-lissner-carlo-
2023-09-19   2023-09-23 fuortes.html                                 An Operatic Mess Offstage in Italy          By Elisabetta Povoledo             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/opinion
2023-09-20   2023-09-23 /donald-trump-ronna-mcdaniel.html            Ronna McDaniel Gets the Trump Treatment By Frank Bruni                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/arts/mu
2023-09-21   2023-09-23 sic/lizzo-lawsuit-wardrobe-designer.html     Designer Files Suit Against Lizzo           By Julia Jacobs and Matt Stevens   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/arts/tele
2023-09-21   2023-09-23 vision/rupert-murdoch-fox.html               Murdochs Grievance Machine                  By James Poniewozik                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/books/b Booker Prize Shortlist Reflects the Unease of
2023-09-21   2023-09-23 ooker-prize-shortlist.html                   Our Moment                                  By Alex Marshall                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/busines After Murdoch Succession Empires Future Is By Katie Robertson and Jeremy W
2023-09-21   2023-09-23 s/media/lachlan-murdoch.html                 Unclear                                     Peters                             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/health/f FTC Files Antitrust Suit Against Group       By Reed Abelson and Margot
2023-09-21   2023-09-23 tc-antitrust-healthcare.html                 Backed by Private Equity                    SangerKatz                         TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/21/nyregio She Fights for Migrants and the Homeless
2023-09-21   2023-09-23 n/christine-quinn-nyc-homeless-migrants.html Could It Kill Her Dream                     By Eliza Shapiro                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/opinion The Only Way College Sports Can Begin to
2023-09-21   2023-09-23 /college-sports-broken.html                  Make Sense Again                            By Jordan Acker                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/world/a Mexico Feeling Pressure of Relentless
2023-09-21   2023-09-23 mericas/mexico-migrants-darien-gap.html      Migration                                   By James Fredrick                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/world/a Indian Lawmakers Pass Bill to Reserve
2023-09-21   2023-09-23 sia/india-parliament-women.html              OneThird of Seats in Parliament for Women By Sameer Yasir and Hari Kumar       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/busines Judge Denies States Bid To Block Rule on
2023-09-22   2023-09-23 s/texas-judge-esg-biden.html                 ESG                                         By Benjamin Mullin                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/us/polit
                        ics/iran-prisoner-swap-biden-                                                            By Michael D Shear and Farnaz
2023-09-22   2023-09-23 administration.html                          USIran Deal To Free Captives Almost Fizzled Fassihi                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/arts/mu
2023-09-22   2023-09-23 sic/dead-man-walking-met-opera.html          The Met Refocuses To Expand Its Appeal      By Javier C Hernndez               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/arts/mu Stephen Gould 61 Tenor Who Tackled
2023-09-22   2023-09-23 sic/stephen-gould-dead.html                  Wagner                                      By Neil Genzlinger                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/arts/tele
                        vision/matthew-a-cherry-young-love-
2023-09-22   2023-09-23 max.html                                     Millennial Parenting In Chicago Animated    By Christopher Kuo                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/busines
2023-09-22   2023-09-23 s/amazon-prime-video-ads.html                Coming Soon To Prime Video Commercials By Jenny Gross                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/busines
                        s/china-economy-trusts-zhongrong-            Chinas Real Estate Crisis Strikes Shadow    By Daisuke Wakabayashi and
2023-09-22   2023-09-23 zhongzhi.html                                Banks                                       Claire Fu                          TX 9-332-339   2023-11-02




                                                                                Page 5762 of 5793
                        https://www.nytimes.com/2023/09/22/busines
                        s/media/rupert-murdoch-lachlan-murdoch-fox- Some Predict a Merger and a Clash of
2023-09-22   2023-09-23 news-corp.html                              Siblings                                     By Benjamin Mullin              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/busines Reversal in Britain Favors
2023-09-22   2023-09-23 s/microsoft-activision-blizzard-uk.html     MicrosoftActivision Deal                     By Adam Satariano               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/busines As Interest Rates Stay High Investors Rethink
2023-09-22   2023-09-23 s/stocks-bonds-rates.html                   Their Strategy                               By Joe Rennison                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/22/busines
2023-09-22   2023-09-23 s/uaw-strike-general-motors-stellantis.html Car Parts Halted As Strike Widens          By Neal E Boudette                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/health/ Genetically Altered Pigs Heart Transplanted
2023-09-22   2023-09-23 pig-heart-transplant-faucette.html          Into 2nd Patient                           By Roni Caryn Rabin               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/nyregio Free Bus Rides Start Sunday on Five New
2023-09-22   2023-09-23 n/free-bus-nyc.html                         York City Routes One in Each Borough       By Ana Ley                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/nyregio
                        n/mcgreevey-new-jersey-mayor-jersey-        Governor Who Quit After Scandal Ponders
2023-09-22   2023-09-23 city.html                                   New Jersey Mayoral Run                     By Tracey Tully                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/nyregio A 400Pound NYPD Robot Will Get A Tryout
2023-09-22   2023-09-23 n/police-robot-times-square-nyc.html        in the Times Square Station                By Jeffery C Mays                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/nyregio Senator Peddled Clout For Money Prosecutors By Benjamin Weiser Tracey Tully
2023-09-22   2023-09-23 n/robert-menendez-indicted.html             Say                                        and William K Rashbaum            TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/22/nyregio Investigators Examine Bus Crash That Killed
2023-09-22   2023-09-23 n/wawayanda-bus-crash-orange-county.html 2                                             By Lola Fadulu and Hurubie Meko TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/22/nyregio Five People Face Charges In a Federal
2023-09-22   2023-09-23 n/who-is-robert-menendez.html               Investigation                              By Tracey Tully                 TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/22/opinion Famous People Dont Know How to Say Im
2023-09-22   2023-09-23 /famous-people-sorry-apology.html           Sorry                                      By Elizabeth Spiers             TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/22/theater/
2023-09-22   2023-09-23 job-review.html                             Sometimes It Costs a Lot to Earn a Living  By Juan A Ramrez                TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/22/us/john- Last Charge Is Dismissed In Inmates Death in
2023-09-22   2023-09-23 neville-charges-dropped-north-carolina.html 2019                                         By Michael Levenson             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/us/polit
                        ics/aimee-harris-ashley-biden-diary-        Woman Who Stole Ashley Bidens Diary
2023-09-22   2023-09-23 sentencing.html                             Faces Sentencing                             By Adam Goldman                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/22/us/polit First Batch of Emails Undercuts Claims by
2023-09-22   2023-09-23 ics/biden-emails-alias.html                 Republicans of Wrongdoing by the President By Luke Broadwater                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/22/us/polit Biden Forms A New Office To Address Gun
2023-09-22   2023-09-23 ics/biden-office-gun-violence-prevention.html Violence                              By Erica L Green                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/us/polit Biden Sharpens His Focus On Trump as He By Shane Goldmacher and Reid J
2023-09-22   2023-09-23 ics/biden-trump-2024-election-polls.html      Strives To ReEnergize Democrats       Epstein                              TX 9-332-339   2023-11-02




                                                                                Page 5763 of 5793
                        https://www.nytimes.com/2023/09/22/us/polit
                        ics/clarence-thomas-koch-donor-             Clarence Thomas Attended Two Koch
2023-09-22   2023-09-23 summits.html                                Network Events                              By Zach Montague                  TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/22/us/polit Washington Dusts Off WellWorn Plans for
2023-09-22   2023-09-23 ics/dc-government-shutdown-congress.html Government Shutdown                             By Robert Jimison and Kayla Guo TX 9-332-339      2023-11-02
                        https://www.nytimes.com/2023/09/22/us/polit Gaetz Wields Major Sway In Stalemate on
2023-09-22   2023-09-23 ics/house-republicans-shutdown-gaetz.html Spending                                       By Annie Karni                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/us/polit
                        ics/menendez-indictment-republicans-garland- Menendez Indictment Could Undercut GOP
2023-09-22   2023-09-23 justice.html                                 Attacks on Justice Dept                     By Glenn Thrush                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/us/polit
2023-09-22   2023-09-23 ics/nikki-haley-republican-debate.html       Donors Note Haleys Rise Her Rivals Will Too By Jazmine Ulloa                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/us/polit Little Precedent For Gag Order In Trump
2023-09-22   2023-09-23 ics/trump-gag-order-free-speech.html         Case                                        By Charlie Savage                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/us/polit Biden to Visit Autoworkers On Michigan       By Reid J Epstein Katie Rogers and
2023-09-22   2023-09-23 ics/uaw-biden-shawn-fain.html                Picket Line                                 Shane Goldmacher                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/us/polit US Envoys Focus on Series of Crises in
2023-09-22   2023-09-23 ics/un-biden-africa-coups.html               Africa                                      By Michael Crowley                 TX 9-332-339   2023-11-02
                                                                     In Effort to Improve Communication US and
                        https://www.nytimes.com/2023/09/22/us/polit China Agree to Regular Dialogue and          By Alan Rappeport and Keith
2023-09-22   2023-09-23 ics/us-china-economic-dialogue.html          Meetings                                    Bradsher                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/us/polit US Sets Chip Fund Rules So China Doesnt
2023-09-22   2023-09-23 ics/us-final-rules-chip-makers-china.html    Benefit                                     By Ana Swanson                     TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/22/us/polit Zelenskys Visit Reveals Strategy Divide     By Helene Cooper and Julian E
2023-09-22   2023-09-23 ics/zelensky-biden-ukraine-war-strategy.html Between Ukraine and US                     Barnes                            TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/22/us/supr Kagan Calls for Supreme Court To Put an
2023-09-22   2023-09-23 eme-court-kagan-ethics.html                  Ethics Code in Place                       By Adam Liptak                    TX 9-332-339     2023-11-02
                                                                     New Covid Shot Rollout Causing Confusion
                        https://www.nytimes.com/2023/09/22/well/co as It Is Slowed by Insurance and Supply
2023-09-22   2023-09-23 vid-vaccine-booster-insurance.html           Snags                                      By Dani Blum                      TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/22/world/a Indias Lake Man Uses Ancient Ways to Ease
2023-09-22   2023-09-23 sia/bengaluru-india-lake-reclamation.html    a Water Crisis                             By Sameer Yasir                 TX 9-332-339       2023-11-02
                        https://www.nytimes.com/2023/09/22/world/a MeToo Advocate Faces Subversion Trial in     By Alexandra Stevenson and Zixu
2023-09-22   2023-09-23 sia/china-metoo-journalist-trial.html        China                                      Wang                            TX 9-332-339       2023-11-02

                        https://www.nytimes.com/2023/09/22/world/a Scary Time for Women in New Zealand
2023-09-22   2023-09-23 sia/jacinda-ardern-new-zealand-election.html Politics                                  By Natasha Frost                TX 9-332-339        2023-11-02
                        https://www.nytimes.com/2023/09/22/world/a Older Subway Riders Find Joy Is in the
2023-09-22   2023-09-23 sia/south-korea-seoul-subways-aging.html     Journey                                   By Victoria Kim and Chang W Lee TX 9-332-339        2023-11-02
                        https://www.nytimes.com/2023/09/22/world/e
                        urope/france-marine-le-pen-                  Embezzlement Charges Are Requested for Le
2023-09-22   2023-09-23 embezzlement.html                            Pen                                       By Roger Cohen                  TX 9-332-339        2023-11-02




                                                                                Page 5764 of 5793
                        https://www.nytimes.com/2023/09/22/world/e Giorgio Napolitano Who Guided Italy Out of
2023-09-22   2023-09-23 urope/giorgio-napolitano-dead.html         Crisis Is Dead at 98                       By Robert D McFadden      TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/22/world/e In Marseille Pope Defends the Plight of
2023-09-22   2023-09-23 urope/pope-macron-migrants-marseille.html Migrants Ahead of a Meeting with Macron   By Aurelien Breeden         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/world/e Armored Vehicles Breach Russian Defenses
2023-09-22   2023-09-23 urope/ukraine-counteroffensive.html        in Southeast                             By Andrew E Kramer          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/world/ On Tour in US Netanyahu Revives His Image
2023-09-22   2023-09-23 middleeast/netanyahu-israel-us-un.html     as a Statesman                           By Patrick Kingsley         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/your-
2023-09-22   2023-09-23 money/car-ownership-costs-increase.html    The Rising Costs of Owning a Car         By Ann Carrns               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/live/2023/09/22/wo
                        rld/russia-ukraine-news/zelensky-meets-with- Russia Guilty Of Genocide Zelensky Says To
2023-09-22   2023-09-23 trudeau-before-addressing-canadas-parliament Canadians                                   By Ian Austen          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/04/01/arts/des
                        ign/nyc-metropolitan-museum-visible-         Finding Peace in the City That Never Quiets
2023-04-01   2023-09-24 storage.html                                 Down                                        By Aubrey Nolan        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/07/15/books/r
                        eview/robert-harris-returning-light-skellig-
2023-07-15   2023-09-24 michael.html                                 Bright Island                               By Margaret Renkl      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/07/18/books/r
                        eview/caleb-azumah-nelson-small-
2023-07-18   2023-09-24 worlds.html                                  In the Mood                                 By John Self           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/07/22/books/r
                        eview/diana-athill-dont-look-at-me-like-
2023-07-22   2023-09-24 that.html                                    London Calling                              By Sadie Stein         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/01/books/
2023-08-01   2023-09-24 my-name-is-iris-brando-skyhorse.html         Surveillance State                          By Erika L Snchez      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/08/books/r
2023-08-08   2023-09-24 eview/shark-heart-emily-habeck.html          Mutant Mayhem                               By Edan Lepucki        TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/08/22/books/r
2023-08-22   2023-09-24 eview/empire-of-the-sum-keith-houston.html Add It Up                                    By Alexander Nazaryan   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/23/books/r
2023-08-23   2023-09-24 eview/angie-kim-happiness-falls.html       Family Remains                               By Jennifer Reese       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/26/books/r
2023-08-26   2023-09-24 eview/jill-lepore-the-deadline.html        The History Detective                        By Sloane Crosley       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/08/29/books/r
2023-08-29   2023-09-24 eview/hilary-leichter-terrace-story.html   Bonus Room                                   By Lauren Christensen   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/02/books/r
2023-09-02   2023-09-24 eview/times-echo-jeremy-eichler.html       Quartet                                      By Kira Thurman         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/09/books/r
2023-09-09   2023-09-24 eview/elon-musk-walter-isaacson.html       SelfDriving Czar                             By Jennifer Szalai      TX 9-332-339   2023-11-02




                                                                                Page 5765 of 5793
                        https://www.nytimes.com/2023/09/11/books/r
                        eview/exit-interview-kristi-coulter-
2023-09-11   2023-09-24 amazon.html                                  Performance Evaluation                      By Leah Reich                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/books/r
2023-09-11   2023-09-24 eview/jm-coetzee-the-pole.html               Soul Music                                  By Dwight Garner                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/11/t-
2023-09-11   2023-09-24 magazine/fiber-art-textiles.html             A Tangled Web                               By Julia Halperin                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/arts/mu
2023-09-12   2023-09-24 sic/sean-combs-diddy-the-love-album.html     Sean Combs Scales a New Mountain            By Jon Caramanica                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/realesta More Storage Space for Stuff Where Dreams
2023-09-12   2023-09-24 te/bedroom-storage.html                      Are Made                                    By Tim McKeough                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/t-
                        magazine/fall-womens-fashion-classic-                                                    By Jeano Edwards and Jasmine
2023-09-12   2023-09-24 patterns-twist.html                          Fresh Cuts                                  Hassett                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/t-
                        magazine/mosie-romney-major-jackson-ayana
2023-09-12   2023-09-24 mathis.html                                  Page 76                                     By Jenny Comita                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/realesta
2023-09-13   2023-09-24 te/native-grass-lawn.html                    The Ideal Lawn Needs Little Mowing          By Margaret Roach                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/t-                                                    By Alexa Brazilian and Sharon
2023-09-13   2023-09-24 magazine/cigarettes-food-art.html            Smoke This                                  Radisch                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/13/t-
2023-09-13   2023-09-24 magazine/marco-ribeiro.html                  T Introduces Marco Ribeiro                  By Alexandra Marshall            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/books/r
2023-09-14   2023-09-24 eview/happiness-falls-angie-kim.html         Inside the List                             By Elisabeth Egan                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/t-
                        magazine/artists-costume-identity-           For These Artists Their Medium Is Their
2023-09-14   2023-09-24 performance.html                             Identity                                    By Nick Haramis                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/14/t-
2023-09-14   2023-09-24 magazine/frame-bags.html                     Frame Bags                                  By Mari Maeda and Yuji Oboshi    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/books/r
2023-09-15   2023-09-24 eview/new-historical-fiction.html            Dwelling in the Past                        By Alida Becker                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/fashion
                        /weddings/disabled-couples-marriage-equality-Call to Alter Laws That Make Marriage Risky By Tammy LaGorce and Kyna
2023-09-15   2023-09-24 rally.html                                   for Disabled People                         Uwaeme                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/movies/
                        actors-turned-directors-anna-kendrick-chris-
2023-09-15   2023-09-24 pine-toronto-film-festival.html              More Actors Step Behind the Camera          By Soraya Roberts                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/style/ro                                              By Callie Holtermann and Frank
2023-09-15   2023-09-24 man-empire-men-tiktok-instagram.html         The Roman Empire Strikes Back for Men       Rojas                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/t-
2023-09-15   2023-09-24 magazine/ernie-barnes.html                   The Triumph Of Ernie Barnes                 By Adam Bradley                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/15/t-
2023-09-15   2023-09-24 magazine/terrazzo-craft-artisans.html        Everything All At Once                      By Zoey Poll                     TX 9-332-339   2023-11-02




                                                                                Page 5766 of 5793
                        https://www.nytimes.com/2023/09/16/books/r
2023-09-16   2023-09-24 eview/anne-enright-the-wren-the-wren.html Birds on a Wire                                 By Ada Calhoun                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/books/r
                        eview/karl-ove-knausgaard-wolves-of-
2023-09-16   2023-09-24 eternity.html                              Star Crossed                                   By Sven Birkerts                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/16/theater/
2023-09-16   2023-09-24 melissa-etheridge-my-window-broadway.html For Melissa Etheridge Lifes a Unique Puzzle     By Sarah Bahr                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/arts/tele
2023-09-17   2023-09-24 vision/live-with-kelly-and-mark.html         Their Marriage Is Real and Also for Show     By Alexis Soloski               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/books/r
2023-09-18   2023-09-24 eview/jhumpa-lahiri-and-me.html              Essay Under the Influence                    By Vauhini Vara                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/opinion
2023-09-18   2023-09-24 /trump-elon-musk-twitter.html                A Strategy to Take Control of the Internet   By Yoel Roth                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/t-
                        magazine/matthieu-blazy-bottega-veneta-
2023-09-18   2023-09-24 inspirations.html                            Matthieu Blazy                               By Laura May Todd               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/theater/
                        purlie-victorious-broadway-leslie-odom-
2023-09-18   2023-09-24 jr.html                                      His Gospel to Humanity Returns               By Salamishah Tillet            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/interactive/2023/09/
                        18/opinion/human-population-global-          All of the Predictions Agree on One Thing
2023-09-18   2023-09-24 growth.html                                  Humanity Peaks Soon                          By Dean Spears                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/18/magazi                                                 By Hannah Dreier and Meridith
2023-09-19   2023-09-24 ne/child-labor-dangerous-jobs.html           Lost in Dreamland                            Kohut                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/magazi
2023-09-19   2023-09-24 ne/music-not-streaming.html                  Offline Listening                            By Denise Lu                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/magazi
2023-09-19   2023-09-24 ne/oppenheimer-movie-girls.html              Smart Bomb                                   By Iva Dixit                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/nyregio
                        n/latino-voters-disenfranchisement-          Latino Residents Challenge a Towns Voting
2023-09-19   2023-09-24 lawsuit.html                                 System                                       By Grace Ashford                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/opinion
2023-09-19   2023-09-24 /biden-political-power-2024.html             Biden Is Not Just Going To Give Up           By Jamelle Bouie                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/19/realesta
2023-09-19   2023-09-24 te/sustainable-home-renovation-brooklyn.html Timber Embraced as Part of the Family        By Tim McKeough                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/t-
                        magazine/manhattan-chinatown-
2023-09-19   2023-09-24 neighborhood.html                            Our Town                                     By Ligaya Mishan and David Chow TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/well/liv                                               By Dani Blum and Callie
2023-09-19   2023-09-24 e/mri-prenuvo-full-body-scan.html            Been Scanned Yet Its All the Rage            Holtermann                      TX 9-332-339   2023-11-02




                                                                                 Page 5767 of 5793
                                                                                                               By Brett Anderson Sara Bonisteel
                                                                                                               Melissa Clark Brian Gallagher
                                                                                                               Priya Krishna Ligaya Mishan Julia
                                                                                                               Moskin Julia OMalley Eleanore
                        https://www.nytimes.com/interactive/2023/din                                           Park Tejal Rao Nikita Richardson
2023-09-19   2023-09-24 ing/best-restaurants-america.html            The Restaurant List 2023                  Kim Severson and Pete Wells       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/arts/dan
                        ce/dancer-retirement-new-york-city-
2023-09-20   2023-09-24 ballet.html                                  A Bow of Gratitude to My Body               By Russell Janzen              TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/20/magazi
2023-09-20   2023-09-24 ne/animal-communication.html                 A Manner of Speaking                        By Sonia Shah                  TX 9-332-339    2023-11-02
                                                                     Red Gold Real Tunisian harissa is an anchor
                        https://www.nytimes.com/2023/09/20/magazi to the motherland and a bright specific accent
2023-09-20   2023-09-24 ne/harissa-chicken-wings.html                to countless dishes                         By Eric Kim                    TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/20/nyregio
2023-09-20   2023-09-24 n/james-dolan-las-vegas-sphere.html          James Dolans Moonshot                       By Katherine Rosman            TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/20/opinion
2023-09-20   2023-09-24 /walk-and-talk-meetings.html                 No I Dont Want to Go for a Walk With You By Lydia Polgreen                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/20/realesta
                        te/400000-dollar-homes-indiana-virginia-new- 400000 Homes in Indiana Virginia and New
2023-09-20   2023-09-24 york.html                                    York                                        By Angela Serratore            TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/20/style/ex
2023-09-20   2023-09-24 pensive-gifts-anxiety-handbag.html           Parents Pricey Gifts                        By Philip Galanes              TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/20/style/ju
2023-09-20   2023-09-24 lia-allison-noah-feldman.html                Worlds Collide and Then Blend               By Joseph Bernstein            TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/20/t-
                        magazine/alberto-kalach-architecture-                                                    By Suleman Anaya and Fabian
2023-09-20   2023-09-24 mexico.html                                  The House Is a Garden the Garden Is a House Martinez                       TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/20/t-
2023-09-20   2023-09-24 magazine/textured-bags-shoes.html            A Gentle Touch                              By Anthony Cotsifas            TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/20/world/e Jango Edwards 73 Who Turned Clowning
2023-09-20   2023-09-24 urope/jango-edwards-dead.html                Around                                      By Clay Risen                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/busines Victor R Fuchs 99 the Dean Of Health Care
2023-09-21   2023-09-24 s/victor-r-fuchs-dead.html                   Economists Dies                             By Clay Risen                  TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/21/magazi
                        ne/judge-john-hodgman-on-your-partner-
2023-09-21   2023-09-24 turning-off-the-lights-you-just-turned-on.html Bonus Advice From Judge John Hodgman    By John Hodgman                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/magazi
2023-09-21   2023-09-24 ne/poem-cain.html                              Poem                                    By Ariana Reines and Anne Boyer TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/21/opinion The Rights New Boogeymen and
2023-09-21   2023-09-24 /abortion-trans-rights-republicans.html        Boogeywomen                             By Jennifer Finney Boylan        TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/21/opinion
2023-09-21   2023-09-24 /china-underground-historians.html             Chinas Underground Historians           By Ian Johnson                   TX 9-332-339    2023-11-02




                                                                               Page 5768 of 5793
                        https://www.nytimes.com/2023/09/21/opinion
2023-09-21   2023-09-24 /rupert-murdoch-fox-news.html                 The Ludicrous Agony of Rupert Murdoch      By Michelle Goldberg          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/realesta
2023-09-21   2023-09-24 te/parking-costs-us-cities.html               Love New York but Park in Tulsa            By Michael Kolomatsky         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/us/redis In Three Southern States A Legal Battle Over
2023-09-21   2023-09-24 tricting-alabama-georgia-louisiana.html       Maps Of Congressional Districts            By Michael Wines              TX 9-332-339   2023-11-02
                                                                      In Phoenix a Classics Professor Goes on a
                        https://www.nytimes.com/interactive/2023/09/ HomeBuying Odyssey Which One Did She
2023-09-21   2023-09-24 21/realestate/phoenix-arizona-house-sale.html Choose                                     By Jack Healy                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/arts/des
2023-09-22   2023-09-24 ign/laurence-des-cars-louvre.html             Shes Hoping To Overhaul The Louvre         By Farah Nayeri               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/arts/er Erwin Olaf 64 Dies Artist Who Let People
2023-09-22   2023-09-24 win-olaf-dead.html                            Express Themselves                         By Nina Siegal                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/books/r
                        eview/childrens-ghost-stories-ben-hatke-remy-
2023-09-22   2023-09-24 lai-rebecca-stead-wendy-mass.html             The Ghost in the Mirror                    By Soman Chainani             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/busines                                               By Julia Rothman and Shaina
2023-09-22   2023-09-24 s/email-scam-fraud.html                       Scratch                                    Feinberg                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/busines Makers of Meat in Labs Try for Halal and
2023-09-22   2023-09-24 s/lab-grown-meat-kosher-halal.html            Kosher Approval                            By Rebecca Carballo           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/busines
                        s/religion-work-diversity-equity-             At Work Whole Selves Increasingly Include
2023-09-22   2023-09-24 inclusion.html                                Religion                                   By Jennifer Miller            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/busines
2023-09-22   2023-09-24 s/us-dollar-inflation-economy.html            The Dollar Still Has Plenty of Swagger     By Jeff Sommer                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/magazi
2023-09-22   2023-09-24 ne/hank-asher-data.html                       The Man Who Trapped Us in Databases        By McKenzie Funk              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/nyregio Children Are Casualties in New Yorkers
2023-09-22   2023-09-24 n/children-housing-nyc.html                   Struggle for Space                         By Ginia Bellafante           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/nyregio
2023-09-22   2023-09-24 n/lou-reed-king-of-new-york.html              The Year Lou Reed Gave Up On Music         By Will Hermes                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/opinion
2023-09-22   2023-09-24 /climate-change-turtles-refugees.html         What Do We Owe Turtles                     By Robin Wall Kimmerer        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/opinion
2023-09-22   2023-09-24 /identity-politics.html                       How to Avoid the Reactionary Trap          By Yascha Mounk               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/opinion
2023-09-22   2023-09-24 /sikh-canada-india-assassination.html         A Murder in Canada Is a US Problem         By Nicholas Kristof           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/opinion
2023-09-22   2023-09-24 /union-manufacturing-jobs-wages.html          Are Good Jobs Coming Back                  By Paul Krugman               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/realesta
2023-09-22   2023-09-24 te/dogs-small-apartment.html                  A Woof Over Their Heads                    By Julie Lasky                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/science Lunar Lander Stays Silent Threatening India
2023-09-22   2023-09-24 /india-moon-landing-chandrayaan-3.html        Mission                                    By Kenneth Chang              TX 9-332-339   2023-11-02




                                                                                Page 5769 of 5793
                        https://www.nytimes.com/2023/09/22/style/do
                        menico-montanaro-courtney-norris-           She Flirted He Issued Unobjectionable
2023-09-22   2023-09-24 wedding.html                                Responses                                  By Tammy LaGorce                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/style/e
2023-09-22   2023-09-24 milio-quines-jr-angie-cruz-wedding.html     You Are Never Too Old to Find True Love    By Rosalie R Radomsky             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/style/ki For Kindergarten Classmates No Rush to Get
2023-09-22   2023-09-24 m-hirsh-jonathan-fingerhut-wedding.html     Serious                                    By Vivian Ewing                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/style/m
                        odern-love-our-34-year-age-gap-was-         Relationships Evolve Some Seasoning
2023-09-22   2023-09-24 showing.html                                Required                                   By Sonja Falck                    TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/22/style/sa Their Journey Began Amid Snow and High
2023-09-22   2023-09-24 sha-digiulian-erik-osterholm-wedding.html    Winds                                     By Hilary Sheinbaum               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/style/to
2023-09-22   2023-09-24 m-ford-prada-milan-fashion-week.html         For Tom Ford Time Travel Is a Trap        By Vanessa Friedman               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/style/tra Long Connected Online and Finally Swiping
2023-09-22   2023-09-24 vis-cronin-kevin-barlowski-wedding.html      Right                                     By Hilary Sheinbaum               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/t-
2023-09-22   2023-09-24 magazine/chanel-brooch-tweed.html            First Of Its Kind Last Of Its Kind        By Lindsay Talbot                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/t-
                        magazine/gael-garcia-bernal-perla-
2023-09-22   2023-09-24 valtierra.html                               Gael Garca Bernal and Perla Valtierra     By Elda Cant                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/us/eric- Dallas Mayor Joins GOP And Attacks His
2023-09-22   2023-09-24 johnson-dallas-mayor-republican.html         Old Party                                 By J David Goodman                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/us/migr 8900 Migrants Arrested in Day at Border     By Miriam Jordan Jack Healy and
2023-09-22   2023-09-24 ant-crisis-border-surge.html                 With More on the Way                      Eileen Sullivan                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/us/new- College Makeover of DeSantiss Urging
2023-09-22   2023-09-24 college-florida-desantis.html                Brings Friction and Lawsuits              By Patricia Mazzei                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/us/polit For Many Democrats the Immigrant Influx
2023-09-22   2023-09-24 ics/migrant-crisis-democrats-cities.html     Starts to Hit Close to Home               By Lisa Lerer and Trip Gabriel    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/world/a Making the Planet Glisten With Gold While By Fabian Federl Jack Nicas and
2023-09-22   2023-09-24 mericas/gold-mercury-mining-poison.html      Poisoning It in the Process               Ian Cheibub                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/world/e For Spains Team World Cup Glory Is
2023-09-22   2023-09-24 urope/spain-sweden-women-soccer.html         Swiftly Stolen                            By Rory Smith                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/world/e Kyivs Budget Drones Prove Their Value in a By Andrew E Kramer and Lynsey
2023-09-22   2023-09-24 urope/ukraine-budget-drones-russia.html      BillionDollar War                         Addario                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/nyregio To Hide Graft Gold Ingots Hold A Special
2023-09-23   2023-09-24 n/gold-bars-bob-menendez-bribery.html        Luster                                    By Ed Shanahan                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/arts/lati Smithsonians Latino Museum Unbuilt Raises
2023-09-23   2023-09-24 no-museum-american-smithsonian.html          Political Furor                           By Jennifer Schuessler            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/arts/mu
2023-09-23   2023-09-24 sic/john-cage-japan-society.html             A Cultural Exchange Reverberates Still    By Zachary Woolfe                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/23/busines As Young People Stream Away Networks Bet
2023-09-23   2023-09-24 s/media/tv-networks-streaming-boomers.html on Boomer Taste                          By John Koblin                       TX 9-332-339   2023-11-02



                                                                               Page 5770 of 5793
                        https://www.nytimes.com/2023/09/23/busines
                        s/uaw-strike-ford-general-motors-           Union Deal With Ford Could Put Added
2023-09-23   2023-09-24 stellantis.html                             Pressure on Other 2 Detroit Automakers       By Jack Ewing                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/climate Melting Ice in Norway Reveals Ancient
2023-09-23   2023-09-24 /arrow-glacier-melting-norway.html          Arrow                                        By Livia AlbeckRipka               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/insider/
2023-09-23   2023-09-24 knicks-owner-dolan.html                     A Profile Subject Worth a Full Court Press   By Katherine Rosman                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/nyregio
2023-09-23   2023-09-24 n/anne-levin-brooklyn-cat-cafe.html         Cats Rabbits Dogs Rats and More Cats         By Abby Ellin                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/nyregio
                        n/bob-menendez-indictment-bribery-          Senators Case Reveals a Trail Of Lavish
2023-09-23   2023-09-24 investigation.html                          Gifts                                        By Nicole Hong                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/nyregio A Deadline for Migrants In New York City
2023-09-23   2023-09-24 n/migrants-shelters-nyc.html                Shelters                                     By Hurubie Meko                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/nyregio Does Menendez Have Enough Teflon to
2023-09-23   2023-09-24 n/robert-menendez-political-future.html     Survive the New Charges                      By Nicholas Fandos                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/opinion
2023-09-23   2023-09-24 /migration-crisis-europe-us.html            The Permanent Migration Crisis               By Ross Douthat                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/opinion The Danger of Pulling Too Far Back From
2023-09-23   2023-09-24 /us-china-trade.html                        China                                        By The Editorial Board             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/realesta
                        te/co-op-maintenance-managing-agent-        When the Coop Problems Mount Can We
2023-09-23   2023-09-24 advice.html                                 Oust Our Managing Agent                      By Jill Terreri Ramos              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/style/lo
                        ndon-fashion-week-street-style-spring-
2023-09-23   2023-09-24 2024.html                                   Street Tutorials In How to Dress             By Simbarashe Cha                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/23/style/th
2023-09-23   2023-09-24 e-mystery-of-my-mothers-prayer-book.html My Mothers Prayer Book Returns                  By Ken Schlager                    TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/23/us/ibra Antiracism Center Faces Layoffs and an
2023-09-23   2023-09-24 m-x-kendi-antiracism-boston-university.html Inquiry                                     By Stephanie Saul                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/us/polit In an Ohio Town Bidens Clean Energy and
2023-09-23   2023-09-24 ics/biden-electric-vehicles-uaw.html        Union Agendas Clash                         By Jonathan Weisman                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/us/polit
                        ics/canada-sikh-leader-killing-             US Spy Agencies Said to Aid Ottawa After
2023-09-23   2023-09-24 intelligence.html                           Killing of Separatist                       By Julian E Barnes and Ian Austen   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/us/polit Former Aide Emerges From Rabbit Hole With
2023-09-23   2023-09-24 ics/cassidy-hutchinson-trump.html           Trump Stories to Tell                       By Robert Draper                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/us/tyso Tyson and Perdue Face Inquiries Into Child
2023-09-23   2023-09-24 n-perdue-child-labor.html                   Labor at Slaughterhouses                    By Hannah Dreier                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/world/c Three Witnesses Describe Final Moments of By Norimitsu Onishi and Ian
2023-09-23   2023-09-24 anada/canada-india-sikhs.html               Sikh Leader                                 Austen                              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/world/e
2023-09-23   2023-09-24 urope/eu-ukraine-war-ammunition.html        Artillery Delivery Is Easier Said Than Done By Lara Jakes                       TX 9-332-339   2023-11-02



                                                                                 Page 5771 of 5793
                        https://www.nytimes.com/2023/09/23/world/e
                        urope/fears-armenians-nagorno-karabakh-
2023-09-23   2023-09-24 azerbaijan.html                             Fears Grow in Enclave Retaken by Azerbaijan By Ivan Nechepurenko              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/world/e
2023-09-23   2023-09-24 urope/pope-macron-marseille.html            Pope Condemns Apathy on Migrants              By Aurelien Breeden             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/world/e Kyiv Targets Crimea Sites For 2nd Time In
2023-09-23   2023-09-24 urope/russia-ukraine-crimea.html            Two Days                                      By Constant Mheut               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/world/e Tea Is in Britains Soul but Is Coffee Filling
2023-09-23   2023-09-24 urope/uk-coffee-tea.html                    More of Its Cups                              By Megan Specia                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/world/ After Floods Protest and Grief in Libyas City
2023-09-23   2023-09-24 middleeast/libya-floods-derna.html          of Poets                                      By Raja Abdulrahim              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/insider/
2023-09-24   2023-09-24 candid-language.html                        A Candid View of Our Changing Language By Sarah Diamond                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/nyregio                                                By Sharon Otterman Maria Cramer
2023-09-24   2023-09-24 n/bronx-day-care-death-fentanyl-nyc.html    No Clear Plan To Fight or Fix Fentanyl Crisis and Wesley Parnell              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/sports/f
                        ootball/nfl-women-assistant-coach-          Women Rise in the NFL and Help Others
2023-09-24   2023-09-24 scouts.html                                 Climb                                         By Emmanuel Morgan              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/style/ke
2023-09-24   2023-09-24 lly-wearstler-interior-design.html          To Kelly Wearstler Design Is About Love       By Jessica Testa                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/16/movies/
2023-09-16   2023-09-25 bottoms-movie-fight-scene.html              A Different Script For a Violent Story        By Maya Phillips                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/climate
                        /outrage-and-hope-on-the-streets-of-new-    In New York Hope and Grief Amid Climate
2023-09-19   2023-09-25 york.html                                   Change                                        By David Gelles                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/19/travel/d
2023-09-19   2023-09-25 elta-airlines-meteorologist.html            For Delta Forecaster Data Is Everything       By Christine Chung              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/world/e After Years of Prominent Sex Abuse Scandals
2023-09-20   2023-09-25 urope/interpreter-metoo-russell-brand.html  Is Anything Changing                          By Amanda Taub                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/opinion
                        /international-world/feminist-foreign-
2023-09-21   2023-09-25 policy.html                                 Feminist Foreign Policy Has Become a Force By Lyric Thompson                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/21/theater/
2023-09-21   2023-09-25 tiananmen-musical-china-zachary-piser.html Tiananmen Stirs Concern Of Retaliation       By Christopher Kuo              TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/21/travel/s Police Seized My Rental Car and Avis Wont
2023-09-21   2023-09-25 tolen-rental-car-avis-refund.html           Refund Me                                   By Seth Kugel                   TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/22/arts/des
                        ign/campos-pons-behold-brooklyn-
2023-09-22   2023-09-25 museum.html                                 Guided By Spirits                           By Siddhartha Mitter            TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/22/arts/mu Capturing John Zorn at 70 One Concert Is
2023-09-22   2023-09-25 sic/john-zorn-70-miller-theater.html        Just a Start                                By Seth Colter Walls            TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/22/arts/mu The Musician Who Energized Jazz in New
2023-09-22   2023-09-25 sic/sam-rivers-centennial-studio-rivbea.html York                                       By Richard Scheinin             TX 9-332-339     2023-11-02



                                                                               Page 5772 of 5793
                        https://www.nytimes.com/2023/09/22/busines
                        s/food-companies-emissions-climate-
2023-09-22   2023-09-25 pledges.html                                Emissions Are Taking Wrong Turn For Some By Julie Creswell                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/climate A Voyage Across the Arctics EverShrinking By Henry Fountain and Esther
2023-09-22   2023-09-25 /arctic-sea-ice-minimum.html                Frozen Seas                                Horvath                               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/sports/h
                        ockey/nhl-nilan-boston-study-cte-           A Former Enforcer Searches For Some
2023-09-22   2023-09-25 concussions.html                            Answers on CTE                             By David Waldstein                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/theater/ A Departure Will End an Era at Lincoln
2023-09-22   2023-09-25 andre-bishop-lincoln-center-theater.html    Center Theater                             By Michael Paulson                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/theater/
                        broadway-equity-production-assistants-      Actors Equity Seeks to Unionize Production
2023-09-22   2023-09-25 union.html                                  Assistants                                 By Michael Paulson                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/us/brig Now Arriving Passenger Trains in Florida of By Patricia Mazzei and Niraj
2023-09-22   2023-09-25 htline-train-rail-florida.html              All Places                                 Chokshi                               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/your-
2023-09-22   2023-09-25 money/car-insurance-spousal-liability.html  Car Insurance Costs Are Up in New York     By Tara Siegel Bernard                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/23/busines
2023-09-23   2023-09-25 s/australia-qantas-scandals-reputation.html Why Australians Feel Betrayed By Qantas       By Natasha Frost                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/busines
                        s/dealbook/california-fossil-fuels-         Lawsuit Against Fossil Fuels Mirrors Strategy By Vivienne Walt Michael J de la
2023-09-23   2023-09-25 cigarettes.html                             Used to Take On Big Tobacco                   Merced and Bernhard Warner         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/health/ In Hospitals Viruses Are Everywhere Mask
2023-09-23   2023-09-25 hospitals-masking-mandates.html             Mandates Are Not                              By Apoorva Mandavilli              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/opinion The AI Overlords Are Already Ruining the
2023-09-23   2023-09-25 /ai-internet-lawsuit.html                   Internet                                      By Julia Angwin                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/opinion In the Crickets Song Thoreau Heard Take
2023-09-23   2023-09-25 /henry-david-thoreau-time-crickets.html     Your Time                                     By Lewis Hyde                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/sports/f Buddy Teevens 66 Coach Pioneer in Football
2023-09-23   2023-09-25 ootball/buddy-teevens-dead.html             Safety                                        By Richard Sandomir                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/us/louis 32 Years After Attempted Murder Conviction
2023-09-23   2023-09-25 iana-fugitive-greg-lawson-mexico.html       a Fugitive Is Captured                        By Orlando Mayorquin               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/us/polit Dick Clark 95 Iowan Who Walked 1300
2023-09-23   2023-09-25 ics/dick-clark-dead.html                    Miles for a Senate Seat Dies                  By Clay Risen                      TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/23/us/polit Kennedy May Press On With White House
2023-09-23   2023-09-25 ics/robert-f-kennedy-jr-libertarian-party.html Bid As Libertarian Instead            By Nicholas Nehamas               TX 9-332-339         2023-11-02
                        https://www.nytimes.com/2023/09/23/us/repu
2023-09-23   2023-09-25 blicans-congress-freedom-caucus.html           Hard Right In Congress Sows Havoc     By Carl Hulse                     TX 9-332-339         2023-11-02
                        https://www.nytimes.com/2023/09/23/us/us- US Army Hospital Quietly Aids Americans
2023-09-23   2023-09-25 soldiers-ukraine-hospital-germany.html         Fighting for Ukraine                  By Dave Philipps and Eric Schmitt TX 9-332-339         2023-11-02
                        https://www.nytimes.com/2023/09/23/world/a China Muscles In Using Bullhorns And Fake
2023-09-23   2023-09-25 sia/china-sea-philippines-us.html              Islands                               By Hannah Beech and Jes Aznar     TX 9-332-339         2023-11-02




                                                                                 Page 5773 of 5793
                        https://www.nytimes.com/2023/09/23/world/
                        middleeast/egypt-robert-menendez-          Worried by Criticism in US Egypt Turned to   By Vivian Yee and Karoun
2023-09-23   2023-09-25 indictment.html                            Bribery Prosecutors Say                      Demirjian                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/us/salt Saltwater Flows Into the Mississippi
2023-09-24   2023-09-25 water-mississippi-new-orleans.html         Threatening the New Orleans Water Supply     By Colbi Edmonds                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/arts/mu
                        sic/usher-super-bowl-halftime-show-
2023-09-24   2023-09-25 2024.html                                  Super Bowls Halftime Performer Its Usher     By Emmanuel Morgan               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/busines
2023-09-24   2023-09-25 s/dana-perino-fox-news.html                At Debate Fox Anchor Faces a Test            By Jeremy W Peters               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/fashion
2023-09-24   2023-09-25 /how-to-take-better-watch-photos.html      How to take better photos                    By Victoria Gomelsky             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/fashion
2023-09-24   2023-09-25 /watch-clubs-proliferate.html              A good reason to get together                By Victoria Gomelsky             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/fashion
2023-09-24   2023-09-25 /watch-winder-debate.html                  Do you need a winder                         By Alexandra Cheney              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/fashion
2023-09-24   2023-09-25 /watches-events-horology.html              Autumn horology events                       By Victoria Gomelsky             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/nyregio
                        n/robert-menendez-indictment-              Four Key Things to Note In Menendez
2023-09-24   2023-09-25 takeaways.html                             Indictment                                   By Erin Nolan                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/nyregio
                        n/united-nations-general-assembly-         Happy Himalayan Kingdom Is Driving Its
2023-09-24   2023-09-25 bhutan.html                                Neighbors Nuts                               By Andrew Keh                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/opinion
2023-09-24   2023-09-25 /friendship-loneliness.html                The Importance of Being There                By David French                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/24/us/new Governor Vetoes Bill On Gender And
2023-09-24   2023-09-25 som-veto-bill-child-gender-affirmation.html Custody                                     By Anna Betts                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/us/nort Republican Lawmakers Pass LongSought Bill
2023-09-24   2023-09-25 h-carolina-elections-general-assembly.html For N Carolina Elections                     By Michael Wines                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/us/polit                                             By Matthew Rosenberg and Carol
2023-09-24   2023-09-25 ics/desantis-guantanamo-bay.html            Inside Baseless Claim DeSantis Was Abuser Rosenberg                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/us/polit
                        ics/erwin-prison-reform-trump-gohmert-
2023-09-24   2023-09-25 texas.html                                  Inmate Is Left Behind By Sentencing Reforms By Robert Draper                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/us/polit GOP Fashion Trend Candidates Become         By Reid J Epstein and Vanessa
2023-09-24   2023-09-25 ics/republicans-2024-fashion.html           Human Billboards                            Friedman                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/us/polit White House Warns of Consequences of
2023-09-24   2023-09-25 ics/white-house-shutdown-deadline.html      Shutdown as Deadline Nears                  By Carl Hulse and Annie Karni    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/world/a France to Pull Its Troops From Niger After   By Elian Peltier and Aurelien
2023-09-24   2023-09-25 frica/france-troops-ambassador-niger.html   Military Coup                               Breeden                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/world/a
                        mericas/why-are-so-many-venezuelans-going- How Venezuelas Crisis Pushes Many to         By Julie Turkewitz and Isayen
2023-09-24   2023-09-25 to-the-united-states.html                   Migrate                                     Herrera                          TX 9-332-339   2023-11-02



                                                                               Page 5774 of 5793
                        https://www.nytimes.com/2023/09/24/world/a Sikhs in India Left in Limbo Amid Canada
2023-09-24   2023-09-25 sia/india-canada-sikh-punjab.html            Dispute                                      By Suhasini Raj                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/world/a Striving to Be South Koreas Newest Pop Idols
2023-09-24   2023-09-25 sia/kpop-lgbtq-qix-korea.html                While Being Out and Proud                    By Chang W Lee and Jin Yu Young TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/world/a Missing Uyghur Scholar Is Jailed for Life in
2023-09-24   2023-09-25 sia/rahile-dawut-uyghur-china.html           China                                        By Tiffany May                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/world/e
                        urope/armenians-nagorno-karabakh-            Refugees Flee After Military Takes Action In By Ivan Nechepurenko and Nyree
2023-09-24   2023-09-25 azerbaijan.html                              Azerbaijan                                   Abrahamian                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/world/e Built on Clams One Town Feels Invaders
2023-09-24   2023-09-25 urope/italy-crabs-clams.html                 Pinch                                        By Jason Horowitz               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/world/e Fugitive Oligarch Gains Surprise Foothold in
2023-09-24   2023-09-25 urope/moldova-russia-ukraine-war.html        Moldova                                      By Andrew Higgins               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/world/e Amid Black Sea Threats Ukraine Steps Up
2023-09-24   2023-09-25 urope/ukraine-russia-news.html               Use of New Shipping Route                    By Matthew Mpoke Bigg           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/arts/tele
                        vision/whats-on-tv-this-week-the-golden-
2023-09-25   2023-09-25 bachelor-and-the-irrational.html             This Week on TV                              By Shivani Gonzalez             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/12/well/liv
                        e/decongestant-phenylephrine-cold-medicine-
2023-09-12   2023-09-26 alternative.html                             Options To Battle Congestion                 By Dani Blum                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/article/flu-covid-
2023-09-12   2023-09-26 vaccines.html                                2 Shots One Appointment                      By Knvul Sheikh and Dani Blum TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/13/well/tur
2023-09-13   2023-09-26 meric-health-benefits.html                   Looking Into the Benefits of Turmeric        By Alice Callahan               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/14/arts/des A Monumental Tribute to Time And Its
2023-09-14   2023-09-26 ign/wemding-time-pyramid-zeitpyramide.html Passage                                      By Richard Fisher               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/15/science
2023-09-15   2023-09-26 /european-whales-extinction.html            Whatever Happened To Europes Whales         By Kate Golembiewski            TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/19/science Supercontinental Split After an Ancient
2023-09-19   2023-09-26 /pink-diamonds-australia-supercontinent.html Breakup An Arrival of New Gems             By Maya WeiHaas                 TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/19/science Neuron Blueprint You May Have This Blobby
2023-09-19   2023-09-26 /placazoans-neurons-evolution.html           Creature To Thank for Your Nervous System By Sam Jones                     TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/19/science Gray Area in Debate on Salvaging Titanics
2023-09-19   2023-09-26 /titanic-james-cameron-titan.html            Artifacts                                   By William J Broad             TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/19/well/bo
2023-09-19   2023-09-26 dy-acne-treatments.html                      Whats the Best Way to Treat Body Acne       By Erica Sweeney               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/20/science The Earliest Example of Human
2023-09-20   2023-09-26 /ancient-human-woodworking.html              Woodworking                                 By Carl Zimmer                 TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/20/technol
                        ogy/personaltech/google-search-engine-trial- Switching Search Is Not as Simple As Google
2023-09-20   2023-09-26 antitrust.html                               Asserts                                     By Brian X Chen                TX 9-332-339     2023-11-02



                                                                                Page 5775 of 5793
                        https://www.nytimes.com/2023/09/20/well/liv
2023-09-20   2023-09-26 e/sleep-covid-symptoms.html                  Disrupted Sleep Is Linked to Covid19        By Dani Blum               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/well/mi
2023-09-20   2023-09-26 nd/aging-health-benefits.html                Optimism on Aging Can Help Your Health      By Holly Burns             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/well/m
2023-09-20   2023-09-26 ove/workout-progress-plateau.html            Move Beyond a Stalled Workout               By Connie Chang            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/arts/tele
                        vision/kim-kardashian-american-horror-story- In Horror Story Kim Kardashian Skims the
2023-09-21   2023-09-26 delicate.html                                Surface                                     By Alexis Soloski          TX 9-332-339   2023-11-02
                                                                     Drilling Down To Uncover Wasps
                        https://www.nytimes.com/2023/09/21/science Superpower Teen Thinks Outside the Petri
2023-09-21   2023-09-26 /parasitoid-wasp-drill-plastic.html          Dish                                        By Darren Incorvaia        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/theater/
2023-09-21   2023-09-26 9-kinds-of-silence-review.html               In an Antiwar Play The Ears Have It         By Naveen Kumar            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/arts/des
2023-09-22   2023-09-26 ign/croatia-restitution-holocaust.html       Croatian Museums Return Stolen Art          By Catherine Hickley       TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/22/arts/tele
2023-09-22   2023-09-26 vision/the-continental-review-john-wick.html Back to the Beginning In a Cycle of Mayhem By Mike Hale                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/science Educated JellyFish Its Brainless Sure But Not
2023-09-22   2023-09-26 /jellyfish-learning-neurons.html             Exactly Dimwitted                           By Veronique Greenwood     TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/22/sports/c In Britain a Female Umpire Breaks Ground in
2023-09-22   2023-09-26 ricket/female-umpire-cricket-sue-redfern.html a TraditionLaden League                   By Victor Mather            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/opinion What Really Happened at the
2023-09-23   2023-09-26 /biden-netanyahu-meeting.html                 BidenNetanyahu Meeting                    By Thomas L Friedman        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/science Arsenic Preserved the Animals but Killed a
2023-09-23   2023-09-26 /museums-taxidermy-arsenic.html               Taxidermy Museum                          By Katrina Miller           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/us/phila The Lessons of the Crime Wave That Never
2023-09-23   2023-09-26 delphia-crime-children-prison.html            Was                                       By Matthew Thompson         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/arts/dan
2023-09-24   2023-09-26 ce/a-disguised-welcome-review.html            Song and Darkness And the Pain of Arrival By Brian Seibert            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/arts/des
                        ign/frankel-video-moynihan-station-           Creativity Runs on Time at Moynihan Train
2023-09-24   2023-09-26 animation.html                                Hall                                      By Laura van Straaten       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/arts/mu
2023-09-24   2023-09-26 sic/doppelganger-review.html                  A Dying Soldiers Emotional Last Journey   By Anastasia Tsioulcas      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/books/p
2023-09-24   2023-09-26 eople-collide-isle-mcelroy.html               To Shake Things Up They Swapped Bodies By Alexandra Jacobs            TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/24/science
2023-09-24   2023-09-26 /nasa-osiris-rex-asteroid-sample-landing.html Spacecraft Returns With an Asteroid Gift   By Katrina Miller          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/theater/ Who Says Bloodsuckers Dont Have a Sense
2023-09-24   2023-09-26 dracula-a-comedy-of-terrors-review.html       of Humor                                   By Elisabeth Vincentelli   TX 9-332-339   2023-11-02




                                                                                Page 5776 of 5793
                        https://www.nytimes.com/2023/09/24/us/louis Baton Rouge Police Used Torture Warehouse
2023-09-24   2023-09-26 iana-police-brave-cave-abuse.html            to Interrogate Suspects Suit Says            By Livia AlbeckRipka             TX 9-332-339    2023-11-02
                                                                                                                  By Michael S Schmidt Adam
                        https://www.nytimes.com/2023/09/24/us/polit Heated Language Around Trump Raises           Goldman Alan Feuer Maggie
2023-09-24   2023-09-26 ics/trump-prosecutions-threats-violence.html Worries of Deadly Dissent                    Haberman and Glenn Thrush        TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/24/us/plant 6 on the Way to a Birthday Party Are Killed
2023-09-25   2023-09-26 city-florida-train-suv-crash.html            After a Train Hits an SUV in Florida         By Orlando Mayorquin             TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/arts/bab
2023-09-25   2023-09-26 ies-cheese-eggs-tiktok.html                  Keeping Babys Noggin EggFree                 By Amanda Hess                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/arts/mu Doja Cat Mines HipHops Past in Her Own
2023-09-25   2023-09-26 sic/doja-cat-scarlet-review.html             Frisky Way                                   By Jon Caramanica                TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/arts/mu
2023-09-25   2023-09-26 sic/met-opera-mariusz-trelinski.html         Psychoanalyst in chief                       By Rebecca Schmid                TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/arts/mu
2023-09-25   2023-09-26 sic/opera-seokjong-baek-tenor.html           After a vocal change a Met debut             By David Belcher                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/arts/mu Electronic Trailblazers ShapeShift Once
2023-09-25   2023-09-26 sic/tangerine-dream.html                     Again                                        By Steve Smith                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/busines Air Taxis Have Landed Vertically and Quietly
2023-09-25   2023-09-26 s/air-force-joby-electric-air-taxi.html      First Stop The Air Force                     By Niraj Chokshi                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/busines
                        s/energy-environment/ford-battery-plant-     Ford Says It Is Suspending Work on a Battery
2023-09-25   2023-09-26 michigan.html                                Plant                                        By Jack Ewing                    TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/busines                                                By John Koblin Nicole Sperling
2023-09-25   2023-09-26 s/media/actors-strike-negotiations.html      A Strike Ends And Eyes Turn To the Actors and Brooks Barnes                   TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/nyregio
2023-09-25   2023-09-26 n/bronx-day-care-fentanyl-arrest.html        3rd Arrest in Boys Death at Bronx Day Care By Chelsia Rose Marcius            TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/nyregio Menendez Says He Will Not Quit Amid
2023-09-25   2023-09-26 n/menendez-bribery-charges.html              Bribery Charges                              By Tracey Tully                  TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/25/nyregio A Rare Element Surfaces In a Federal
2023-09-25   2023-09-26 n/menendez-indictment-gold-bars-senate.html Indictment                                   By Tracey Tully                   TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/25/nyregio Trump Lawyers Make LastDitch Bid To            By Ben Protess Jonah E Bromwich
2023-09-25   2023-09-26 n/trump-letitia-james-fraud-lawsuit-trial.html Delay His Fraud Trial in New York          and William K Rashbaum            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/opinion
                        /columnists/kendi-center-antiracist-
2023-09-25   2023-09-26 research.html                                  The Problem of Celebrity FundRaising       By Michelle Goldberg              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/opinion
                        /columnists/republicans-populism-soft-
2023-09-25   2023-09-26 corruption.html                                Soft Corruption and the Limits of Populism By Paul Krugman                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/opinion There Are Two Types of Politicians Stainless
2023-09-25   2023-09-26 /menendez-mccarthy-biden-trump.html            and Shameless                              By Gail Collins and Bret Stephens TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/science
2023-09-25   2023-09-26 /archaeology-whales-egypt.html                 An Ancient Leviathan but MobyDinky in Size By Franz Lidz                     TX 9-332-339   2023-11-02



                                                                                 Page 5777 of 5793
                        https://www.nytimes.com/2023/09/25/science Fusion Leap Lasers Ignite Bigger Burst Of
2023-09-25   2023-09-26 /nuclear-laser-fusion-nif.html              Energy                                       By Kenneth Chang                TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/technol
2023-09-25   2023-09-26 ogy/amazon-anthropic-ai-deal.html           Amazon Invests Up to 4 Billion In AI StartUp By Adam Satariano and Cade Metz TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/technol Human Touch on AI Has Unpredictable
2023-09-25   2023-09-26 ogy/chatgpt-rlhf-human-tutors.html          Outcomes                                     By Cade Metz                    TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/technol Look Whos Talking Now ChatGPT Finds Its By Cade Metz Brian X Chen and
2023-09-25   2023-09-26 ogy/chatgpt-talk-digital-assistance.html    Voice                                        Karen Weise                     TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/us/polit Biden Hosts Pacific Islands Summit Hoping
2023-09-25   2023-09-26 ics/biden-pacific-islands-china.html        to Deepen Ties                               By Michael Crowley              TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/25/us/polit As Haley and Ramaswamy Rise Mixed
2023-09-25   2023-09-26 ics/haley-ramaswamy-indian-americans.html Feelings for Indian Americans                  By Jazmine Ulloa                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/us/polit Rivals to Face Each Other In a Debate If Not By Shane Goldmacher and Maggie
2023-09-25   2023-09-26 ics/newsom-desantis-debate.html             a Vote                                       Haberman                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/us/polit Aid for Ukraine Stokes US Feud Over the      By Carl Hulse and Catie
2023-09-25   2023-09-26 ics/senate-shutdown-ukraine.html            Budget                                       Edmondson                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/us/polit How a LittleKnown Group Helped Resurgent
2023-09-25   2023-09-26 ics/states-project-democrats.html           Democrats Wield Power                        By Nick Corasaniti               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/us/polit Scott Is a Bachelor Is That a Campaign Issue
2023-09-25   2023-09-26 ics/tim-scott-girlfriend-marriage-2024.html Who Cares                                    By Maya King                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/us/polit                                              By Maggie Haberman and Alan
2023-09-25   2023-09-26 ics/trump-glock-gun-south-carolina.html     Uproar Over Trumps Stop at Gun Store         Feuer                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/us/san- On the Mend San Francisco Is Ready for a
2023-09-25   2023-09-26 francisco-reputation.html                   Better Headline                              By Heather Knight and Jim Wilson TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/25/world/a As Policies Shift American Women Are       By Zolan KannoYoungs and Edyra
2023-09-25   2023-09-26 mericas/mexico-abortion-women-border.html Turning to Mexico for Abortions             Espriella                      TX 9-332-339        2023-11-02

                        https://www.nytimes.com/2023/09/25/world/a Philippines Removes Barrier China Had
2023-09-25   2023-09-26 sia/philippines-chinese-fishing-barrier.html Placed Undersea                          By Eric Nagourney                 TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/25/world/e
                        urope/azerbaijan-nagorno-karabakh-           Hundreds Hurt in Fuel Depot Blast in
2023-09-25   2023-09-26 explosion.html                               NagornoKarabakh                          By Ivan Nechepurenko              TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/25/world/e
2023-09-25   2023-09-26 urope/finland-nato-integration-nordics.html Finland Finds Being in NATO Is Complicated By Steven Erlanger               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/25/world/e
                        urope/irish-gymnast-black-medal-            Furor Erupts Over Video Of Gymnast Denied
2023-09-25   2023-09-26 apology.html                                Medal                                      By Emma Bubola                   TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/25/world/e Some Police in London Refuse to Carry
2023-09-25   2023-09-26 urope/london-police-murder-chris-kaba.html Weapons                                    By Megan Specia                   TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/25/world/e Matteo Messina Denaro Brutal Mafia Boss    By Elisabetta Povoledo and Gaia
2023-09-25   2023-09-26 urope/matteo-messina-denaro-dead.html      Caught After 3 Decades Dies at 61          Pianigiani                        TX 9-332-339     2023-11-02



                                                                               Page 5778 of 5793
                        https://www.nytimes.com/2023/09/25/world/e Struggling for Justice in Romania Decades
2023-09-25   2023-09-26 urope/romania-1989-revolution.html              After Revolution                             By Andrew Higgins                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/world/e Ukraine Says It Killed Leader of Black Sea By Matthew Mpoke Bigg and
2023-09-25   2023-09-26 urope/ukraine-russia-black-sea-fleet.html       Fleet                                        Andrew E Kramer                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/article/government-
2023-09-25   2023-09-26 shutdown.html                                   If Government Closes The Effects Ripple Out By Zach Montague                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/climate Clean Technologies Are Spreading but Maybe
2023-09-26   2023-09-26 /iea-road-map-renewable-energy.html             Not Fast Enough                              By Brad Plumer                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/science
2023-09-26   2023-09-26 /paleontology-whales-peru.html                  Trampling Earths Past                        By Mitra Taj and Marco Garro       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/dining/r
                        oasted-chickpeas-with-peppers-and-goat-
2023-09-20   2023-09-27 cheese-recipe.html                              Pepper Preparation Try This Shortcut         By Melissa Clark                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/20/opinion Why You Should Want Child Care Even if
2023-09-20   2023-09-27 /child-care-cliff.html                          You Hate Kids and Moms                       By Jessica Grose                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/arts/ma Marvin Newman Whose Lens Captured
2023-09-21   2023-09-27 rvin-newman-dead.html                           Magic Moments Is Dead at 95                  By Richard Sandomir                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/dining/
2023-09-21   2023-09-27 canned-fish-sardines-tiktok.html                Tinned Seafood Is Actually Quite a Catch     By Christina Morales               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/dining/
2023-09-21   2023-09-27 drinks/best-wine-hudson-valley.html             Where the Wine Is Fine in Hudson NY          By Eric Asimov                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/dining/t
                        he-east-village-restaurants-where-a-restaurant-
2023-09-21   2023-09-27 critic-cut-his-teeth.html                       From Hungry and Broke in the East Village By Pete Wells                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/dining/
2023-09-22   2023-09-27 cantonese-style-steamed-fish-recipe.html        One Chef Offers His WholeFish Catalog        By J Kenji LpezAlt                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/arts/tele
2023-09-23   2023-09-27 vision/golden-bachelor-gerry-turner.html        A Bachelor The AARP Finds Dreamy             By Julia Jacobs                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/busines                                                   By Nicole Sperling and Mark
2023-09-23   2023-09-27 s/media/netflix-dvds.html                       Shipping the Last Red Envelope               Abramson                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/opinion
2023-09-24   2023-09-27 /alaska-salmon-mine-court.html                  The Worlds Largest Salmon Fishery Is at Risk By Carl Safina and Joel Reynolds   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/arts/des Art Institutes Last 8 Campuses Abruptly
2023-09-25   2023-09-27 ign/art-institutes-closures.html                Close                                        By Zachary Small                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/arts/des
                        ign/kehinde-wiley-africa-presidential-
2023-09-25   2023-09-27 portraits.html                                  Images of a Continents Presidents            By Dionne Searcey                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/arts/mu
2023-09-25   2023-09-27 sic/opera-philadelphia-023-festival.html        Trimming the Budget Not the Ambition         By Joshua Barone                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/arts/mu
2023-09-25   2023-09-27 sic/rod-wave-billboard-chart.html               Whats New Rod Wave Reaches No 1              By Ben Sisario                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/arts/tele David McCallum 90 Indelible Actor On Man
2023-09-25   2023-09-27 vision/david-mccallum-dead.html                 From UNCLE and NCIS                          By Leslie Kaufman                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/dining/
2023-09-25   2023-09-27 climate-change-fruits-vegetables.html           ClimateDefying Produce of the Future         By Kim Severson                    TX 9-332-339   2023-11-02



                                                                                   Page 5779 of 5793
                        https://www.nytimes.com/2023/09/25/dining/ To Sip Dassais Sake Brewery Opens in
2023-09-25   2023-09-27 dassai-blue-sake-brewery-hudson-valley.html Hudson Valley                              By Florence Fabricant               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/dining/
2023-09-25   2023-09-27 drinks/pumpkin-spice-latte.html             Long Live the Pumpkin Spice Latte          By Ella Quittner                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/dining/
2023-09-25   2023-09-27 nyc-best-fake-steakhouse.html               Youve Been Had How Was Your Steak          By Becky Hughes                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/opinion Egypt Is Exhuming the Dead and Evicting the
2023-09-25   2023-09-27 /egypt-cairo-sisi-development.html          Living                                     By Hussein Omar                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/theater/ Contemplations of God Identity and Lack of
2023-09-25   2023-09-27 mary-gets-hers-review.html                  Deodorant                                  By Rhoda Feng                       TX 9-332-339   2023-11-02

                        https://www.nytimes.com/interactive/2023/09/ Monster Fracks Are Getting Far Bigger And      By Hiroko Tabuchi and Blacki
2023-09-25   2023-09-27 25/climate/fracking-oil-gas-wells-water.html Far Thirstier                                  Migliozzi                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/arts/mu
                        sic/armand-hammer-we-buy-diabetic-test-
2023-09-26   2023-09-27 strips.html                                  A Foot in the Past but Eyes on the Future      By Marcus J Moore              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/arts/phi Smithsonian Acquires Collection About
2023-09-26   2023-09-27 llis-wheatley-smithsonian.html               Enslaved Poet                                  By Jennifer Schuessler         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/arts/tay
2023-09-26   2023-09-27 lor-swift-travis-kelce-dating.html           Swift Sends NFL Star Into Another Orbit        By Emmanuel Morgan             TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/26/busines
2023-09-26   2023-09-27 s/jpmorgan-jeffrey-epstein-virgin-islands.html Bank Settles Epstein Suits For 75 Million    By Matthew Goldstein           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/busines
                        s/media/new-york-public-radio-job-cuts-
2023-09-26   2023-09-27 wnyc.html                                      WNYC Parent to Cut 12 of Its Work Force      By Benjamin Mullin             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/busines Target Citing Theft and Safety to Close 9
2023-09-26   2023-09-27 s/target-store-closures-theft.html             Stores Across 4 States                       By Jordyn Holman               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/busines
2023-09-26   2023-09-27 s/truck-stops-electric-vehicles.html           Pull Over Its the Great Truck Stop Revival   By Joe Gose                    TX 9-332-339   2023-11-02
                                                                       Annual Survey Suggests an Explosion of
                        https://www.nytimes.com/2023/09/26/climate Green Sea Turtle Nests Across Florida
2023-09-26   2023-09-27 /florida-green-sea-turtles-nesting-female.html Beaches                                      By Elizabeth Anne Brown        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/dining/
2023-09-26   2023-09-27 nyc-restaurant-news.html                       Off the Menu                                 By Florence Fabricant          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/movies/
2023-09-26   2023-09-27 academy-gala-hollywood-strike.html             Gala to Accept Stars But Not Studio Bosses   By Robin Pogrebin              TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/26/nyregio Columbia and NYU Expand but Pay Little           By Matthew Haag and Meredith
2023-09-26   2023-09-27 n/columbia-university-property-tax-nyc.html Tax                                             Kolodner                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/nyregio Judge Closes Off Former School to Migrants
2023-09-26   2023-09-27 n/staten-island-migrant-shelter-judge.html  on Staten Island                                By Andy Newman                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/nyregio Fraud by Trump Found as Judge Issues             By Jonah E Bromwich and Ben
2023-09-26   2023-09-27 n/trump-james-fraud-trial.html              Penalties                                       Protess                        TX 9-332-339   2023-11-02



                                                                                   Page 5780 of 5793
                        https://www.nytimes.com/2023/09/26/nyregio Businessman Returns to US To Face Charges
2023-09-26   2023-09-27 n/wael-hana-arrested-menendez.html          With Senator                                 By Benjamin Weiser             TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/26/opinion
2023-09-26   2023-09-27 /clarence-thomas-koch-ethics.html           Thomas Should Not Get Away With It           By Jamelle Bouie               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/26/sports/b Brooks Robinson Vacuum Cleaner at Third
2023-09-26   2023-09-27 aseball/brooks-robinson-dead.html           Base for Orioles Dies at 86                  By Richard Goldstein           TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/26/sports/b Phil Sellers 69 Fiery Scorer Who Led Rutgers
2023-09-26   2023-09-27 asketball/phil-sellers-dead.html            to Final Four                                By Richard Sandomir            TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/26/technol Cleanup Job Gets Bigger For Chief At
2023-09-26   2023-09-27 ogy/andy-jassy-amazon-ftc-lawsuit.html      Amazon                                       By Karen Weise                 TX 9-332-339     2023-11-02

                        https://www.nytimes.com/2023/09/26/technol Apple Executive Defends Deals Favoring
2023-09-26   2023-09-27 ogy/apple-executive-google-trial-iphones.html Google                                    By Cecilia Kang and Tripp Mickle TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/26/technol US Sues Amazon Saying It Stifles Rivals
2023-09-26   2023-09-27 ogy/ftc-amazon.html                           Illegally                                 By David McCabe                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/technol                                              By Nico Grant Cecilia Kang and
2023-09-26   2023-09-27 ogy/google-antitrust-trial-secrecy.html       Google Trial Is Shrouded In Secrecy       Tripp Mickle                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/technol
                        ogy/net-neutrality-rules-broadband-internet-
2023-09-26   2023-09-27 biden.html                                    FCC Looks to Revive Net Neutrality Rules  By Steve Lohr                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/us/polit
                        ics/abortion-jan-6-democrats-                 Democrats Ad for State Post Points to
2023-09-26   2023-09-27 pennsylvania.html                             Abortion and Jan 6                        By Trip Gabriel                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/us/polit
                        ics/biden-commander-biting-secret-            Once Again A Biden Dog Gives a Bite To an
2023-09-26   2023-09-27 service.html                                  Agent                                     By Michael D Shear                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/us/polit
2023-09-26   2023-09-27 ics/biden-uaw-strike-picket-michigan.html     Biden Joins Autoworkers As a Picketer     By Katie Rogers and Erica L Green TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/us/polit More Democrats Calling on Menendez to
2023-09-26   2023-09-27 ics/democrats-menendez-senate.html            Resign                                    By Annie Karni                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/us/polit Despite Negative Polls on Biden Democrats
2023-09-26   2023-09-27 ics/democrats-special-elections-biden.html    Notch Wins at Ballot Box                  By Reid J Epstein                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/us/polit Giuliani Sued Over Role In Leak of Laptop By Michael S Schmidt and Maggie
2023-09-26   2023-09-27 ics/hunter-biden-giuliani-lawsuit.html        Data                                      Haberman                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/us/polit                                             By Shane Goldmacher Maggie
2023-09-26   2023-09-27 ics/second-gop-debate-preview.html            Second GOP Debate Is Not a Race for First Haberman and Jonathan Swan        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/us/polit Senate Reaches Deal to Head Off Government By Carl Hulse and Catie
2023-09-26   2023-09-27 ics/senate-bill-government-shutdown.html      Shutdown                                  Edmondson                         TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/26/us/polit Supreme Court Refuses Request to Reinstate
2023-09-26   2023-09-27 ics/supreme-court-alabama-voting-map.html Alabama Voting Map                           By Abbie VanSickle               TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/26/us/san- Saying Hes Bullish on San Francisco Levi
2023-09-26   2023-09-27 francisco-mayor-levis-daniel-lurie.html     Strauss Heir Wants to Be Mayor             By Heather Knight                TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/26/us/texa Texans Pay High Prices To Preserve Power
2023-09-26   2023-09-27 s-energy-grid-ercot.html                    Grid                                       By J David Goodman               TX 9-332-339     2023-11-02



                                                                                Page 5781 of 5793
                        https://www.nytimes.com/2023/09/26/us/uaw- A Father Has Spent His Whole Career at Ford
2023-09-26   2023-09-27 union-ford-michigan-generations.html        His Son Might Not                            By Jenna Russell                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/world/a
                        mericas/nicaragua-political-prisoners-      In Nicaragua Traitors Lose Their Citizenship
2023-09-26   2023-09-27 housing.html                                and Now Their Houses                         By Frances Robles                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/world/a With the Snip of a Rope the Philippines
2023-09-26   2023-09-27 sia/china-philippines-sea.html              Elevates Resistance to China                 By SuiLee Wee                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/world/c
                        anada/peter-nygard-toronto-sexual-assault-  Trial Begins in Toronto for Head of Womens
2023-09-26   2023-09-27 trial.html                                  Fashion Empire Accused of Sex Crimes         By Vjosa Isai and Mathew Silver    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/world/e
                        urope/azerbaijan-nagorno-karabakh-          At Least 68 Are Dead in NagornoKarabakh
2023-09-26   2023-09-27 explosion.html                              Explosion                                    By Ivan Nechepurenko               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/world/e
                        urope/bulgarian-spying-charges-uk-          Five in Britain Charged With Spying for
2023-09-26   2023-09-27 russia.html                                 Russia                                       By Stephen Castle                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/world/e                                               By Matthew Mpoke Bigg Andrew
                        urope/russia-black-sea-commander-death-     Death of Russian Admiral Is Questioned After E Kramer Valeriya Safronova and
2023-09-26   2023-09-27 ukraine.html                                Moscow Releases Video                        Eric Nagourney                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/world/e Yearning for a Life at Sea Young Ukrainians By Marc Santora and Laetitia
2023-09-26   2023-09-27 urope/ukraine-russia-war-odesa.html         Stare Into a Void                            Vancon                             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/polit
                        ics/republican-debate-watch-time-
2023-09-26   2023-09-27 channel.html                                When and Where to Watch It                   By Maggie Astor                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/article/best-
2023-09-26   2023-09-27 restaurants-los-angeles.html                Whats Fresh and Exciting in Los Angeles      By Tejal Rao                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/insider/ Highlights From More Than a Century of
2023-09-27   2023-09-27 sports-desk-coverage.html                   Sports                                       By Sarah Bahr                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/polit Trumps Mixed Legacy on Unions Both
2023-09-27   2023-09-27 ics/trump-united-auto-workers-strike.html   Appeasing and Seeking to Stiff Them          By Russ Buettner                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/17/opinion Its Only a Matter of Time Before More Dams By Josh Klemm and Isabella
2023-09-17   2023-09-28 /libya-floods-dams.html                     Fail                                         Winkler                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/21/style/fe
2023-09-21   2023-09-28 ndi-milan-fashion-week.html                 Fendi Beyond the Baguette                    By Vanessa Friedman                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/style/sa
2023-09-22   2023-09-28 bato-de-sarno-gucci.html                    A Debut 21 Questions for a Creative Director By Vanessa Friedman                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/style/se What We Lose When a Senator Can Dress
2023-09-22   2023-09-28 nate-dress-code-politics.html               Like a Slob                                  By Rhonda Garelick                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/22/t-                                                    By Jessica Battilana and Richard
2023-09-22   2023-09-28 magazine/portland-maine-locals-guide.html People Places Things                           Pedaline                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/23/opinion
2023-09-23   2023-09-28 /teach-music-better.html                    Were Teaching Music in Schools All Wrong By Sammy Miller                        TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/23/style/gu
2023-09-23   2023-09-28 cci-sabato-de-sarno-milan-fashion-week.html The Great Gucci Reset Is Here               By Vanessa Friedman                 TX 9-332-339   2023-11-02



                                                                                Page 5782 of 5793
                        https://www.nytimes.com/2023/09/24/style/bo
                        ttega-veneta-versace-diesel-milan-fashion-  Who Scored a Perfect 10 at Milan Fashion
2023-09-24   2023-09-28 week.html                                   Week                                          By Vanessa Friedman        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/arts/dan
2023-09-25   2023-09-28 ce/black-sabbath-ballet.html                Precise Movements Sharpened by Metal          By Alex Marshall           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/arts/des
                        ign/marina-abramovic-royal-academy-         What Shocked in the 70s Is Toned Down
2023-09-25   2023-09-28 imponderabilia.html                         Today                                         By Alex Marshall           TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/25/style/a- Family Fight With Pierre Cardins Legacy at
2023-09-25   2023-09-28 tale-of-family-intrigue-and-inheritance.html Issue                                       By Dana Thomas              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/style/di Why Everyones Breaking Up but No One
2023-09-25   2023-09-28 vorce-breakup-announcements.html             Seems Bitter                                By Gina Cherelus            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/25/style/ju
2023-09-25   2023-09-28 lia-fox-memoir-down-the-drain.html           Through the Looking Glass                   By Jessica Testa            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/arts/am
2023-09-26   2023-09-28 os-gitai-israel.html                         A filmmaker who emerged from war            By Farah Nayeri             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/arts/mu Terry Kirkman 83 Who Wrote Cherish as a
2023-09-26   2023-09-28 sic/terry-kirkman-dead.html                  Founder of the Association Dies             By Alex Williams            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/movies/ Pearl Bowser 92 Who Shined a Spotlight On
2023-09-26   2023-09-28 pearl-bowser-dead.html                       Early Overlooked Black Filmmakers           By Neil Genzlinger          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/technol
2023-09-26   2023-09-28 ogy/amazon-ftc-lawsuit-antitrust.html        FTC Cites 2 Main Tactics By Amazon          By Karen Weise              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/us/linco
                        ln-assassination-our-american-cousin-fords- Two Tickets to American History Sell for Six
2023-09-26   2023-09-28 theater.html                                 Figures                                     By Victor Mather            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/us/scho
2023-09-26   2023-09-28 ol-mass-shootings-trauma.html                Make Sure You Duck Behind Your Backpack By Eli Saslow and Erin Schaff   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/world/a
2023-09-26   2023-09-28 re-universal-values-really-universal.html    Are universal values really universal       By Steven Erlanger          TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/26/world/a
2023-09-26   2023-09-28 sia/china-us-tensions-keyu-jin-interview.html An author defends Chinas stance             By Farah Nayeri            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/world/e
2023-09-26   2023-09-28 urope/democracy-struggle-ukraine.html         The battle for democracy is far from over   By Serge Schmemann         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/26/busines Actors Await Breakthrough As Writers
2023-09-27   2023-09-28 s/hollywood-writers-return.html               Return to Work                              By Brooks Barnes           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/arts/mu
                        sic/berlin-state-opera-christian-
2023-09-27   2023-09-28 thielemann.html                               Berlin Opera Names Barenboim Successor      By Javier C Hernndez       TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/27/arts/mu
2023-09-27   2023-09-28 sic/review-dead-man-walking-met-opera.html Letting The New Be Heard                       By Zachary Woolfe          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/books/r
2023-09-27   2023-09-28 eview/germany-1923-volker-ullrich.html     When Democracy Held Nazism at Bay              By Jennifer Szalai         TX 9-332-339   2023-11-02



                                                                                  Page 5783 of 5793
                        https://www.nytimes.com/2023/09/27/busines
2023-09-27   2023-09-28 s/britain-north-sea-oil-drilling.html      Britain Allows Big Oil Field in North Sea  By Stanley Reed                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/busines
                        s/economy/crypto-lobbying-washington-      Doors Close on Crypto After Its Star Is    By Jeanna Smialek and David
2023-09-27   2023-09-28 ftx.html                                   Tarnished                                  YaffeBellany                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/busines
                        s/economy/las-vegas-strip-strike-          Union Members Authorize Strike at Las
2023-09-27   2023-09-28 authorization.html                         Vegas Resorts                              By Kurtis Lee                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/busines
                        s/economy/uaw-strikes-gm-ford-
2023-09-27   2023-09-28 stellantis.html                            UAW Says Auto Strike Could Grow            By Neal E Boudette                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/busines With Saudis Starving Oil Market Prices
2023-09-27   2023-09-28 s/oil-price-100-barrel.html                Approach 100 a Barrel                      By Stanley Reed                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/health/ As Covid Cases Rise Nursing Homes Wait for
2023-09-27   2023-09-28 nursing-homes-covid-vaccines.html          Shots                                      By Jordan Rau and Tony Leys        TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/27/movies/
2023-09-27   2023-09-28 emma-thompson-writers-strike-content.html Nobody Ever Won an Oscar for Content         By Jason Bailey                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/movies/
                        wes-anderson-roald-dahl-wonderful-story-
2023-09-27   2023-09-28 henry-sugar.html                           Roald Dahls Prose Spoken in Character       By Kyle Buchanan                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/nyregio
2023-09-27   2023-09-28 n/bob-menendez-career-nj.html              As Menendez Soared So Did The Suspicions By Nicholas Fandos                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/nyregio Abbott Calls Crisis Calm And Orderly In New
2023-09-27   2023-09-28 n/governor-abbott-migrants-nyc.html        York                                        By Claire Fahy                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/nyregio
                        n/menendez-arraignments-bribery-           Senator and His Wife Facing Bribery Charges By Tracey Tully Benjamin Weiser
2023-09-27   2023-09-28 charges.html                               Plead Not Guilty                            and Lola Fadulu                   TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/27/nyregio Trumps Lawyers Try to Grasp the             By Ben Protess Jonah E Bromwich
2023-09-27   2023-09-28 n/trump-fraud-lawyers.html                  Implications of a Fraud Ruling             and William K Rashbaum          TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/27/opinion Cliven Bundy and His Cows Still Defy the
2023-09-27   2023-09-28 /bundy-battle-federal-government.html       Government                                 By Christopher Ketcham            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/opinion
2023-09-27   2023-09-28 /trump-followers-support.html               Trumps People Means His People             By Charles M Blow                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/science Nothings the Matter With Antimatter a New
2023-09-27   2023-09-28 /physics-universe-antimatter.html           Experiment by Physicists Confirms          By Dennis Overbye                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/style/ge
2023-09-27   2023-09-28 rry-turner-golden-bachelor.html             Seeking Love as The Golden Bachelor        By Callie Holtermann              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/technol UserMade Images Could Bring The Social
2023-09-27   2023-09-28 ogy/ai-images-social-media-sharing.html     Back to Social Media                       By Yiwen Lu                       TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/27/technol New EU Law Forces Big Tech To Police
2023-09-27   2023-09-28 ogy/disinformation-law-european-union.html Truth                                       By Steven Lee Myers               TX 9-332-339   2023-11-02




                                                                               Page 5784 of 5793
                        https://www.nytimes.com/2023/09/27/technol Antitrust Clash Is True Cage Match For Big
2023-09-27   2023-09-28 ogy/lina-khan-jeff-bezos-ftc-amazon.html    Tech                                      By David Streitfeld                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/technol Jane Austen on Facebook Meta Weaves AI in
2023-09-27   2023-09-28 ogy/meta-ai-celebrities.html                Apps                                      By Mike Isaac and Cade Metz           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/technol
                        ogy/personaltech/meta-quest-3-vr-
2023-09-27   2023-09-28 headset.html                                Mixed Reality Is Here So Now What         By Brian X Chen                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/theater/ Juilliard to Make Its Graduate Acting
2023-09-27   2023-09-28 juilliard-drama-tuition-free.html           Program TuitionFree                       By Michael Paulson                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/theater/ The Journey Of a Show Didnt End After a
2023-09-27   2023-09-28 sondheim-musical-shed.html                  Loss                                      By Michael Paulson                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/amer Blown Off Course a Flock of North
2023-09-27   2023-09-28 ican-birds-sightings-uk-ireland.html        Americans Delights the UK                 By Derrick Bryson Taylor              TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/27/us/in-
                        rare-alliance-democrats-and-republicans-seek- A Rare Alliance Forms to Clear Homeless
2023-09-27   2023-09-28 legal-power-to-clear-homeless-camps.html      Camps                                     By Shawn Hubler                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/mon Court Ruling Keeps Intact Minors Care For
2023-09-27   2023-09-28 tana-transgender-ban.html                     Transition                                By Ernesto Londoo                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/polit Biden Allows Israelis to Enter US Without   By Edward Wong and Eileen
2023-09-27   2023-09-28 ics/biden-israel-visa-program.html            Visa                                      Sullivan                            TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/polit Government Shutdown Could Disrupt Air
2023-09-27   2023-09-28 ics/government-shutdown-air-travel.html       Travel Officials Warn                     By Mark Walker                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/polit
                        ics/house-republicans-biden-hunter-           House GOP Struggling To Connect Any
2023-09-27   2023-09-28 impeachment.html                              Evidence In Impeachment Inquiry           By Luke Broadwater                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/27/us/polit House Votes to Strip Defense Secretary Of
2023-09-27   2023-09-28 ics/house-republicans-lloyd-austin-salary.html Salary as Right Wing Flexes Muscles      By Catie Edmondson                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/polit These Are the Republicans Steering Congress By Robert Jimison and Catie
2023-09-27   2023-09-28 ics/republicans-congress-shutdown.html         Toward a Shutdown                        Edmondson                           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/polit Man Accused in 911 Plot Asked About a
2023-09-27   2023-09-28 ics/sept-11-torture-confession.html            Lawyer Before He Confessed               By Carol Rosenberg                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/polit Meet Trump UAW Leader Says He Sees No
2023-09-27   2023-09-28 ics/shawn-fain-trump-uaw.html                  Point                                    By Neil Vigdor                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/polit Ruling Against Trump Cuts to the Heart of   By Maggie Haberman and Alan
2023-09-27   2023-09-28 ics/trump-fraud-ruling.html                    His Identity                             Feuer                               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/polit Trial Judge In Trump Case Rejects a Bid For
2023-09-27   2023-09-28 ics/trump-jan-6-chutkan-recusal.html           Recusal                                  By Alan Feuer                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/rank Sheriff Tapped Subpoena Power To Spy on
2023-09-27   2023-09-28 in-county-mississippi-sheriff-abuse.html       His Married Girlfriend                   By Ilyssa Daly and Jerry Mitchell   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/texa Migrants Are Straining Traditionally         By Reyes Mata III and J David
2023-09-27   2023-09-28 s-migrants-border-el-paso.html                 Welcoming Border City                    Goodman                             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/world/a An American Soldier Held in North Korea Is By Choe SangHun and Michael D
2023-09-27   2023-09-28 sia/north-korea-travis-king-expel.html         Released to the US                       Shear                               TX 9-332-339   2023-11-02



                                                                                 Page 5785 of 5793
                        https://www.nytimes.com/2023/09/27/world/e                                              By Andrew Higgins Ivan
                        urope/nagorno-karabakh-armenia-               In the Caucasus a Stunning Collapse Ends  Nechepurenko and Nanna
2023-09-27   2023-09-28 azerbaijan.html                               Decades of Conflict                       Heitmann                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/world/e Russia Releases a New Video of Admiral       By Valeriya Safronova and Oleg
2023-09-27   2023-09-28 urope/russia-admiral-sokolov-video.html       Ukraine Claims to Have Killed             Matsnev                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/world/ About 100 Killed in Wedding Hall Blaze in
2023-09-27   2023-09-28 middleeast/iraq-wedding-hall-fire.html        Iraq                                      By Alissa J Rubin                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/world/
                        middleeast/libya-flooding-derna-              In Flooded Libya City Thousands Pay for
2023-09-27   2023-09-28 corruption.html                               Corruption With Their Lives               By Vivian Yee                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/world/
                        middleeast/saudi-arabia-israel-netanyahu-west Visits Symbolize FastWarming SaudiIsraeli
2023-09-27   2023-09-28 bank.html                                     Ties                                      By Patrick Kingsley              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/world/
                        middleeast/united-nations-security-council-
2023-09-27   2023-09-28 reform.html                                   As World Changes Not Much Has at UN       By Farnaz Fassihi                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/theater/
2023-09-28   2023-09-28 purlie-victorious-review.html                 A Comic Funeral for Racism                By Jesse Green                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/insider/ A Reporter Digs Through a Landfill for
2023-09-28   2023-09-28 seneca-meadows-landfilll.html                 Answers                                   By Josh Ocampo                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/24/busines When Japan Sheds Its Stuffy Dark Suits And
2023-09-24   2023-09-29 s/japan-cool-biz.html                         Goes Casual                               By Ben Dooley and Hisako Ueno    TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/27/arts/des
2023-09-27   2023-09-29 ign/jacolby-satterwhite-met-great-hall.html Offering a Prayer With Its Own Soundtrack By Ted Loos                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/arts/des
                        ign/new-york-french-artists-villa-
2023-09-27   2023-09-29 albertine.html                              Strengthening the French Connection          By Wendy Moonan                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/arts/mu Springsteen Postpones Tour for the Rest of
2023-09-27   2023-09-29 sic/bruce-springsteen-postpones-tour.html   2023                                         By Ben Sisario                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/opinion The SecondBest Time to Slay Amazon Is
2023-09-27   2023-09-29 /amazon-ftc-antitrust-monopoly.html         Now                                          By Cory Doctorow                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/technol
2023-09-27   2023-09-29 ogy/new-chatgpt-can-see-hear.html           A ChatGPT With Eyes And a Voice              By Kevin Roose                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/technol
                        ogy/sonys-playstation-chief-to-retire-next- PlayStation Chief Will Retire Next Year Sony
2023-09-27   2023-09-29 year.html                                   Says                                         By Kellen Browning              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/blac Fighting to Save Sacred Parts of Black
2023-09-27   2023-09-29 k-cemeteries.html                           History                                      By Elizabeth Williamson         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/us/polit ExPresident Tries to Court Workers at
2023-09-27   2023-09-29 ics/trump-autoworkers-detroit.html          Nonunion Plant                               By Trip Gabriel                 TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/27/us/polit Federal Shutdown Unlikely to Cause an       By Jim Tankersley and Madeleine
2023-09-27   2023-09-29 ics/us-government-shutdown-recession.html Immediate Recession                           Ngo                             TX 9-332-339    2023-11-02




                                                                                Page 5786 of 5793
                        https://www.nytimes.com/2023/09/27/world/e Surprise Raids in Germany Reel In 2         By Aishvarya Kavi and Christopher
2023-09-27   2023-09-29 urope/germany-far-right-raids.html           Extremist Groups                          F Schuetze                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/world/e Germany Tightens Border Checks to Control
2023-09-27   2023-09-29 urope/germany-immigration-control.html       Migration                                 By Graham Bowley                  TX 9-332-339   2023-11-02
                                                                                                               By Karen Zraick William K
                        https://www.nytimes.com/article/trump-fraud- Judge Ruled Before Trial Trump Lied About Rashbaum Jonah E Bromwich and
2023-09-27   2023-09-29 ruling.html                                  Assets                                    Kate Christobek                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/busines Actor Union And Studios Start Talks On
2023-09-28   2023-09-29 s/media/sag-aftra-actors-strike-talks.html   Monday                                    By Nicole Sperling                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/27/nyregio Ghost Guns Found at a Day Care Site         By Ed Shanahan and Sharon
2023-09-28   2023-09-29 n/ghost-guns-day-care-harlem-nyc.html        Officials Say                             Otterman                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/arts/dan The Pangs of Love and the Throb of
2023-09-28   2023-09-29 ce/review-ballet-x-jamar-roberts.html        Nightclubs                                By Gia Kourlas                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/arts/des
2023-09-28   2023-09-29 ign/barkley-hendricks-frick-portraits.html   Venerating Black Lives                    By Yinka Elujoba                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/arts/du Making Dumbledore His Own Sly and a Little
2023-09-28   2023-09-29 mbledore-michael-gambon.html                 Scary                                     By Julia Jacobs                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/arts/mi A Spellbinding Actor at Hogwarts and
2023-09-28   2023-09-29 chael-gambon-dead.html                       Beyond                                    By Benedict Nightingale           TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/arts/mu
2023-09-28   2023-09-29 sic/arthur-russell-city-park.html            A Lost Work Finds a New Audience          By Joshua Barone                  TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/28/arts/mu
2023-09-28   2023-09-29 sic/jorja-smith-falling-or-flying-review.html Minimalist Riffs And Aching Vocals        By Jon Pareles                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/arts/tele
                        vision/glow-up-netflix-crazy-fun-park-
2023-09-28   2023-09-29 hulu.html                                     This Weekend I Have                       By Margaret Lyons               TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/busines
2023-09-28   2023-09-29 s/china-evergrande-trading-halted.html        New Crisis Entangles Developer In China   By Alexandra Stevenson          TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/28/busines Delay in Economic Data Could Leave Fed
2023-09-28   2023-09-29 s/economy/shutdown-government-data.html Blind                                           By Ben Casselman                TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/busines
                        s/economy/uaw-strike-dealerships-parts-    UAW Strike Puts Strain on Fragile Auto       By J Edward Moreno and Santul
2023-09-28   2023-09-29 suppliers.html                             Supply Chain                                 Nerkar                          TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/busines
                        s/european-central-bank-artificial-        The European Central Bank Is Studying Use
2023-09-28   2023-09-29 intelligence.html                          of AI                                        By Eshe Nelson                  TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/28/busines Gridlock May Hurt Home Sales In Regions
2023-09-28   2023-09-29 s/government-shutdown-flood-insurance.html Prone to Flooding                            By Emily Flitter                TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/28/busines                                            By Michael Levenson and Christine
2023-09-28   2023-09-29 s/government-shutdown-small-business.html Small Businesses Fear Ripples in Washington Hauser                            TX 9-332-339    2023-11-02




                                                                                 Page 5787 of 5793
                        https://www.nytimes.com/2023/09/28/busines IBM Tries Assuring Customers Generative
2023-09-28   2023-09-29 s/ibm-ai-data.html                         AI Is a Safe Bet                          By Steve Lohr                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/busines Swedish Battery Maker To Build Quebec
2023-09-28   2023-09-29 s/northvolt-battery-factory-quebec.html    Factory With Help From Subsidies          By Jack Ewing                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/movies/
2023-09-28   2023-09-29 carlos-the-santana-journey-review.html     Carlos                                    By Chris Azzopardi            TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/movies/
2023-09-28   2023-09-29 dancing-in-the-dust-review.html            Dancing in the Dust                       By Ben Kenigsberg             TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/movies/
2023-09-28   2023-09-29 fire-through-dry-grass-review.html         Fire Through Dry Grass                    By Concepcin de Len           TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/movies/ When a Heroine And Her Ballad Grow on
2023-09-28   2023-09-29 flora-and-son-review.html                  You                                       By Amy Nicholson              TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/movies/
2023-09-28   2023-09-29 mami-wata-review-obasi.html                Mami Wata                                 By Brandon Yu                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/movies/
2023-09-28   2023-09-29 nowhere-review.html                        Nowhere                                   By Teo Bugbee                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/movies/
2023-09-28   2023-09-29 paw-patrol-the-mighty-movie-review.html    Paw Patrol The Mighty Movie               By Claire Shaffer             TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/movies/
2023-09-28   2023-09-29 reptile-review.html                        Treachery Abounds in a Maine Town         By Natalia Winkelman          TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/movies/
2023-09-28   2023-09-29 story-ave-review.html                      Story Ave                                 By Ben Kenigsberg             TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/movies/
                        the-creator-review-john-david-
2023-09-28   2023-09-29 washington.html                            On the Lam With a BabyFaced Robot         By Nicolas Rapold             TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/movies/
2023-09-28   2023-09-29 the-kill-room-review.html                  The Kill Room                             By Glenn Kenny                TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/28/nyregio Judge Affirms Pay Raise For Food Delivery
2023-09-28   2023-09-29 n/food-delivery-workers-pay-raise-nyc.html Work                                      By Kellen Browning and Ana Ley TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/nyregio
                        n/menendez-indictment-charges-             Justices Rulings On Graft Are Key In
2023-09-28   2023-09-29 corruption.html                            Menendez Case                             By Benjamin Weiser             TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/28/nyregio Broker Is Sentenced to House Arrest in
2023-09-28   2023-09-29 n/nyc-homeless-shelter-levin-sentenced.html HomelessShelter Bribery Case                By Amy Julia Harris        TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/nyregio Trumps Civil Fraud Case Can Move Ahead By Jonah E Bromwich and Ben
2023-09-28   2023-09-29 n/trump-fraud-judge-appeal.html             Court Finds                                 Protess                    TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/nyregio
                        n/von-hassell-heirlooms-storage-lockers-    An Aristocrats Grandson a Precious Desk and
2023-09-28   2023-09-29 nyc.html                                    a Storage Unit                              By Chelsia Rose Marcius    TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/opinion
2023-09-28   2023-09-29 /donald-trump-fraud-case.html               Hail to the Fraudster in Chief              By Paul Krugman            TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/opinion None of Wednesdays Debaters Will Topple
2023-09-28   2023-09-29 /republican-debate-donald-trump.html        Trump                                       By Frank Bruni             TX 9-332-339    2023-11-02



                                                                             Page 5788 of 5793
                        https://www.nytimes.com/2023/09/28/opinion
2023-09-28   2023-09-29 /sympathy-empathy.html                      Have Some Sympathy                          By Pamela Paul                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/sports/g
2023-09-28   2023-09-29 olf/ryder-cup-history.html                  A competition with decades of drama         By Michael Arkush                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/sports/g
2023-09-28   2023-09-29 olf/ryder-cup-zach-johnson.html             Bringing the Cup home                       By Paul Sullivan                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/technol
                        ogy/china-disinformation-us-state-
2023-09-28   2023-09-29 department.html                             China Accused of Spreading Disinformation   By Steven Lee Myers              TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/28/technol                                               By Adam Satariano and Eliza
2023-09-28   2023-09-29 ogy/huawei-greece-lobbying-campaign.html How Huawei Outmaneuvers US in Europe            Triantafillou                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/technol
                        ogy/openai-apple-silicon-valley-supergroup- Forget the Phone Tech Pioneers Seek the Next
2023-09-28   2023-09-29 create-ai-device.html                       Great Device                                 By Tripp Mickle and Cade Metz   TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/28/us/polit With a Shutdown Looming Biden Points to
2023-09-28   2023-09-29 ics/biden-government-shutdown-strategy.html Republican Discord                         By Michael D Shear                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/us/polit Impeachment Hearing Showcases Witnesses
2023-09-28   2023-09-29 ics/biden-impeachment-hearing.html          With Little to Present                     By Luke Broadwater                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/us/polit In Blistering Attack Biden Accuses His
2023-09-28   2023-09-29 ics/biden-mccain-library.html               Predecessor of Seeking Unfettered Power    By Peter Baker                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/us/polit In Michigan Two Candidates Offer Preview
2023-09-28   2023-09-29 ics/biden-trump-michigan.html               of the 2024 Race                           By Katie Rogers                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/us/polit DeSantis Clears Debate Hurdle Will It Be
2023-09-28   2023-09-29 ics/desantis-debate-republican.html         Enough to Build On                         By Nicholas Nehamas               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/us/polit
                        ics/government-shutdown-house-
2023-09-28   2023-09-29 republicans.html                            On Shutdown GOP Sweats In Swing Seats      By Kayla Guo                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/us/polit
                        ics/republican-debate-candidates-           Takeaways From Debate That Again Was       By Shane Goldmacher Maggie
2023-09-28   2023-09-29 takeaways.html                              Missing The GOP FrontRunner                Haberman and Jonathan Swan        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/us/polit
                        ics/shutdown-mccarthy-immigration-          Stymied on Funding McCarthy Tries To Shift By Catie Edmondson Carl Hulse
2023-09-28   2023-09-29 border.html                                 the Debate to Border Security              and Karoun Demirjian              TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/us/polit
                        ics/special-counsel-biden-aides-            Top Aides and Advisers Are Questioned In
2023-09-28   2023-09-29 documents.html                              Biden Classified Documents Inquiry         By Glenn Thrush                   TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/28/us/polit
2023-09-28   2023-09-29 ics/trump-documents-justice-department.html Trumps Lawyers Accused of FootDragging      By Alan Feuer                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/us/watc Watchdog Urges US to Extend Surveillance
2023-09-28   2023-09-29 hdog-surveillance-law-extension.html        Law With New Limits                         By Charlie Savage              TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/28/world/a Chinese Activist Camps Out at Taiwan         By Amy Chang Chien and Tiffany
2023-09-28   2023-09-29 sia/china-activist-taiwan-asylum.html       Airport in Bid for Asylum in West           May                            TX 9-332-339     2023-11-02



                                                                                Page 5789 of 5793
                        https://www.nytimes.com/2023/09/28/world/a Sikh Separatism Is a Nonissue in India Except By Suhasini Raj Mujib Mashal and
2023-09-28   2023-09-29 sia/india-punjab-separatism.html           as a Political Illusion                       Hari Kumar                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/world/a M S Swaminathan 98 Scientist Who Helped
2023-09-28   2023-09-29 sia/ms-swaminathan-dead.html               End Famine in India Is Dead                   By Keith Schneider               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/world/a North Korea Likely Expelled US Soldier Over
2023-09-28   2023-09-29 sia/north-korea-travis-king-soldier.html   His Low Value Analysts Say                    By Choe SangHun                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/world/e NagornoKarabakh Government States It Is
2023-09-28   2023-09-29 urope/nagorno-karabakh-government.html     Ending Decades of Separatist Rule             By Ivan Nechepurenko             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/world/e Beloved Tree in England Is Cut Down in Act
2023-09-28   2023-09-29 urope/sycamore-gap-tree-uk.html            of Vandalism                                  By Jenny Gross                   TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/28/world/e Western Leaders Urge Kyiv to Expand Its
2023-09-28   2023-09-29 urope/ukraine-arms-manufacturing-nato.html Manufacturing of Weapons                     By Constant Mheut and Lara Jakes TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/28/theater/
2023-09-29   2023-09-29 melissa-etheridge-my-window-review.html Shrinking the Arena To the Size of Life         By Laura CollinsHughes           TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/29/insider/ Strikes and Deep Roots Good Stories in
2023-09-29   2023-09-29 united-auto-workers-strikes.html             Detroit                                    By Emmett Lindner                TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/08/travel/p Vistas That Soothe the Eye If Not Quite the
2023-09-08   2023-09-30 rince-edward-island-hike.html                Feet                                       By Elaine Glusac                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/19/travel/o
2023-09-19   2023-09-30 ff-season-travel.html                        The Incredible Shrinking OffSeason         By Elaine Glusac                 TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/24/dining/
2023-09-24   2023-09-30 goulash-recipe.html                          What to Make Next Week                     By Sam Sifton                    TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/24/opinion Sink Your Feet Into the Dirt and Engage With
2023-09-24   2023-09-30 /nature-gardening-spirituality.html          the World                                  By Raquel Vasquez Gilliland      TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/25/busines
2023-09-25   2023-09-30 s/greece-economy-eurozone.html               A New Era of Prosperity for Greece         By Liz Alderman                  TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/27/arts/tele
2023-09-27   2023-09-30 vision/reservation-dogs-finale.html          In the End a Community Eases the Pain      By James Poniewozik              TX 9-332-339    2023-11-02
                        https://www.nytimes.com/2023/09/27/busines
2023-09-27   2023-09-30 s/samsung-hynix-south-korea.html             USChina Chip War Tests Critical Ally       By John Liu and Jin Yu Young     TX 9-332-339    2023-11-02

                        https://www.nytimes.com/2023/09/27/science Endel Tulving 96 Whose Work Transformed
2023-09-27   2023-09-30 /endel-tulving-dead.html                    the Field of Cognitive Psychology             By Clay Risen                 TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/28/arts/des
                        ign/celebrity-memorabilia-auctions-barbara- Celebrity Treasures Bolster the Auction
2023-09-28   2023-09-30 walters.html                                Business                                      By Zachary Small              TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/28/arts/mu
2023-09-28   2023-09-30 sic/gram-parsons.html                       The Byrd Who Died Young                       By Lindsay Zoladz             TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/28/busines Ed Fancher 100 Dies Founder and Publisher
2023-09-28   2023-09-30 s/media/ed-fancher-dead.html                Of The Village Voice                          By Richard Sandomir           TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/28/climate Biden Vowed to End Drilling Its Not All Up
2023-09-28   2023-09-30 /biden-drilling-leases.html                 to Him                                        By Lisa Friedman              TX 9-332-339     2023-11-02
                        https://www.nytimes.com/2023/09/28/opinion
2023-09-28   2023-09-30 /aging-public-health-healthspan.html        Focus on Living Healthier Instead of to 100   By Dave A Chokshi             TX 9-332-339     2023-11-02



                                                                                 Page 5790 of 5793
                        https://www.nytimes.com/2023/09/28/opinion Todays Cardinals Are This Popes Men Or Are
2023-09-28   2023-09-30 /pope-francis-catholic-church-cardinals.html They                                     By Massimo Franco                       TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/opinion
2023-09-28   2023-09-30 /trump-debate-milley.html                    Trumps Promise of Lawlessness            By Alex Kingsbury                       TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/28/sports/g HomeTeam Advantage Is Taken Seriously at
2023-09-28   2023-09-30 olf/ryder-cup-home-course-advantage.html     the Ryder Cup                               By Paul Sullivan                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/theater/
2023-09-28   2023-09-30 disney-broadway-schumacher.html              At Disney Leader Gets A New Role            By Michael Paulson                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/theater/ Onstage a Depth That Transcended the
2023-09-28   2023-09-30 michael-gambon-theater-appraisal.html        Unspoken                                    By Ben Brantley                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/us/natio National Parks and Their Towns Brace for
2023-09-28   2023-09-30 nal-parks-shutdown.html                      Shutdown                                    By Jack Healy                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/world/e
                        urope/belarus-disappearance-opposition-swiss-Belarusian Is Acquitted In Vanishing Of
2023-09-28   2023-09-30 trial.html                                   Dissidents                                  By Nick CummingBruce                 TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/world/e The UK Is Investigating A TV Pundits Sexist
2023-09-28   2023-09-30 urope/laurence-fox-gb-news-ofcom.html        Rant                                        By Aaron Boxerman                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/world/ Prayer Meeting Splits Israeli Jews on Their
2023-09-28   2023-09-30 middleeast/israel-yom-kippur-protests.html Holiest Day                                   By Patrick Kingsley                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/28/movies/ Blood Guts and a Little Heart From a Known
2023-09-29   2023-09-30 saw-x-review.html                            Psychopath                                  By Beatrice Loayza                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/arts/da
2023-09-29   2023-09-30 wn-powell-hart-island.html                   No Pilgrimages to Her Gravesite             By Jillian Rayfield                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/arts/mu Man Who Admitted Role in Death of Rapper
2023-09-29   2023-09-30 sic/tupac-shakur-murder-charge-arrest.html Is Indicted                                   By Joe Coscarelli and Julia Jacobs   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/arts/mu
                        sic/verdi-nabucco-requiem-met-opera-         Two Nights of Verdi Showcase the Met
2023-09-29   2023-09-30 review.html                                  Operas Chorus                               By Oussama Zahr                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/busines
2023-09-29   2023-09-30 s/economy/pce-inflation-fed-august.html      Key Measure Of Inflation Cools Notably      By Jeanna Smialek                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/busines
2023-09-29   2023-09-30 s/economy/uaw-strike.html                    The UAW Escalates Its Strikes               By Neal E Boudette                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/busines
2023-09-29   2023-09-30 s/eurozone-inflation-september.html          Eurozone Sees Inflation Rate On the Decline By Patricia Cohen                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/busines Letterboxd an Online Haven for Film Nerds
2023-09-29   2023-09-30 s/media/letterboxd-new-owner.html            Gets a New Owner                            By Benjamin Mullin                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/busines Judge Ends Conservatorship Of Oher After
2023-09-29   2023-09-30 s/michael-oher-conservatorship.html          Nearly 20 Years                             By Santul Nerkar                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/busines
2023-09-29   2023-09-30 s/wall-street-stocks-bonds.html              Worst Month Of the Year For Wall St         By Joe Rennison                      TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/climate US to Limit Gulf of Mexico Offshore Oil and
2023-09-29   2023-09-30 /biden-offshore-drilling-plan.html           Gas Leases                                  By Lisa Friedman                     TX 9-332-339   2023-11-02




                                                                                 Page 5791 of 5793
                        https://www.nytimes.com/2023/09/29/movies/
2023-09-29   2023-09-30 new-york-film-festival-may-december.html Where Premieres Arent Everything                By Manohla Dargis               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/nyregio                                               By Dana Rubinstein and Emma G
2023-09-29   2023-09-30 n/adams-nyc-services-performance.html      Social Services Have Lagged Under Adams       Fitzsimmons                     TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/nyregio Adams Is Criticized For Citys Response To     By Emma G Fitzsimmons Dana
2023-09-29   2023-09-30 n/mayor-adams-flooding-response.html       Severe Weather                                Rubinstein and Jeffery C Mays   TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/29/nyregio Climate Change Is Supercharging Storms and By Patrick McGeehan and Hilary
2023-09-29   2023-09-30 n/nyc-sewer-system-infrastructure.html      New York Citys Drainpipes Cant Keep Up        Howard                         TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/us/geor CoDefendant of Trumps Pleads Guilty in         By Richard Fausset and Danny
2023-09-29   2023-09-30 gia-trump-scott-hall-guilty-plea.html       Georgia Election Interference Case            Hakim                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/us/navy-
2023-09-29   2023-09-30 seal-drug-testing.html                      After a Death SEALs to Face Doping Checks By Dave Philipps                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/us/new- In Louisiana an Infusion of Saltwater
2023-09-29   2023-09-30 orleans-saltwater-intrusion.html            Threatens the Drinking Supply                 By Jacey Fortin                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/us/polit Dianne Feinstein Trailblazing Senate Stalwart
2023-09-29   2023-09-30 ics/dianne-feinstein-obituary.html          Dies at 90                                    By Robert D McFadden           TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/29/us/polit Vacant Seat Sets the Stage For a Fierce      By Adam Nagourney and Shawn
2023-09-29   2023-09-30 ics/dianne-feinstein-replacement-senate.html Election Battle                             Hubler                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/us/polit Judge Rules Freedmen Are Eligible To Join
2023-09-29   2023-09-30 ics/freedmen-muscogee-creek-nation.html      Tribe                                       By Chris Cameron                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/us/polit Air Force General Sworn In as Joint Chiefs
2023-09-29   2023-09-30 ics/general-cq-brown-joint-chiefs.html       Chairman                                    By Helene Cooper                TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/29/us/polit Trump Rivals Hope to Sway Megadonors To By Maggie Haberman and Shane
2023-09-29   2023-09-30 ics/haley-desantis-megadonor-meeting.html Their Side                                 Goldmacher                          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/us/polit McCarthy Aims to Mollify GOP as Deadline
2023-09-29   2023-09-30 ics/mccarthy-government-shutdown.html       Looms                                    By Annie Karni                      TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/29/us/polit
2023-09-29   2023-09-30 ics/pandemic-economy-surge-start-ups.html New StartUps Surged During Pandemic            By Jim Tankersley               TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/29/us/polit
2023-09-29   2023-09-30 ics/republican-debate-latinos-hispanics.html Latinos See Missed Shot By GOP At Debate    By Jazmine Ulloa                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/us/polit Shutdown Looms as Flank of GOP Votes         By Catie Edmondson Kayla Guo
2023-09-29   2023-09-30 ics/shutdown-mccarthy.html                   Down Plan                                   and Carl Hulse                  TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/us/polit Trumps Comments Complicate Debt Dispute      By Maggie Haberman and Jonathan
2023-09-29   2023-09-30 ics/trump-shutdown.html                      for McCarthy                                Swan                            TX 9-332-339   2023-11-02

                        https://www.nytimes.com/2023/09/29/us/supr Supreme Court to Hear Challenges to Florida
2023-09-29   2023-09-30 eme-court-social-media-first-amendment.html and Texas Laws on Social Media             By Adam Liptak                    TX 9-332-339   2023-11-02




                                                                                 Page 5792 of 5793
                        https://www.nytimes.com/2023/09/29/world/a
                        frica/sudan-war-united-arab-emirates-                                                By Declan Walsh Christoph Koettl
2023-09-29   2023-09-30 chad.html                                  While Talking Peace UAE Fuels Sudan Fight and Eric Schmitt                 TX 9-332-339       2023-11-02
                        https://www.nytimes.com/2023/09/29/world/a At Least 52 Dead After Bomb Explodes At a By Zia urRehman and Christina
2023-09-29   2023-09-30 sia/pakistan-bombing.html                  Religious Gathering in Pakistan           Goldbaum                         TX 9-332-339       2023-11-02

                        https://www.nytimes.com/2023/09/29/world/c 2 Countries Investigating 102 Suicides Linked
2023-09-29   2023-09-30 anada/canada-uk-kenneth-law-suicides.html to Toxic Salt Sold by a Canadian Man           By Vjosa Isai                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/world/e Ajax and the Fragile Business of Champions
2023-09-29   2023-09-30 urope/ajax-feyenoord-soccer.html             League Soccer                               By Rory Smith                    TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/world/e
                        urope/armenia-azerbaijan-nagorno-            Armenia Finds Itself Cast Adrift in a Tough
2023-09-29   2023-09-30 karabakh.html                                Neighborhood                                By Andrew Higgins                TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/world/e A Sri Lankan Bakers Baguette Is Fit for the
2023-09-29   2023-09-30 urope/france-baguette.html                   French President                            By Roger Cohen                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/world/e Vote to Partly Lift Soccer Ban on Russia
2023-09-29   2023-09-30 urope/soccer-uefa-russia.html                Draws Anger                                 By Tariq Panja                   TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/29/world/e Russians Left City a Year Ago but a Feeling By Valerie Hopkins Dzvinka
2023-09-29   2023-09-30 urope/ukraine-russia-izium.html              of Total Fear Has Yet to Fade               Pinchuk and Emile Ducke          TX 9-332-339   2023-11-02
                        https://www.nytimes.com/live/2023/09/29/nyr
                        egion/nyc-rain-flash-flooding/new-york-rain-                                             By Michael Wilson and Hurubie
2023-09-29   2023-09-30 flooding                                     LifeThreatening Rainfall Event Slams Region Meko                             TX 9-332-339   2023-11-02
                        https://www.nytimes.com/live/2023/09/29/wo
                        rld/russia-ukraine-news/russia-to-call-up-
                        another-130000-men-in-its-annual-            Putin Asks ExExecutive From Wagner To       By Neil MacFarquhar and Valeriya
2023-09-29   2023-09-30 conscription                                 Join Fight                                  Safronova                        TX 9-332-339   2023-11-02
                        https://www.nytimes.com/live/2023/09/29/wo
                        rld/russia-ukraine-news/ukraine-is-updating-
                        its-military-industry-to-build-precision-    Kyiv Convenes Conference To Promote Arms
2023-09-29   2023-09-30 weaponry-and-armaments                       Industry                                    By Andrew E Kramer               TX 9-332-339   2023-11-02
                        https://www.nytimes.com/2023/09/30/us/polit Menendezs Troubles May Clear Roadblocks By Michael Crowley and Karoun
2023-09-30   2023-09-30 ics/biden-menendezs-foreign-policy.html      On Foreign Policy                           Demirjian                        TX 9-332-339   2023-11-02




                                                                               Page 5793 of 5793
